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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF NEBRASKA

                                                                              )
    In re:                                                                    ) Chapter 11
                                                                              )
    SPECIALTY RETAIL SHOPS HOLDING CORP., et al., 1                           ) Case No. 19-80064 (TLS)
                                                                              )
                                       Debtors.                               ) (Jointly Administered)
                                                                              )



                     SCHEDULE OF ASSETS AND LIABILITIES FOR
                SHOPKO STORES OPERATING CO., LLC (CASE NO. 19-80075)




1     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, are: Specialty Retail Shops Holding Corp. (0029); Pamida Stores Operating Co., LLC (6157); Pamida
      Transportation, LLC (4219); Penn-Daniels, LLC (0040); Place’s Associates’ Expansion, LLC (7526); Retained
      R/E SPE, LLC (6679); Shopko Finance, LLC (1152); Shopko Gift Card Co., LLC (2161); ShopKo Holding
      Company, LLC (0171); ShopKo Institutional Care Services Co., LLC (7112); ShopKo Optical Manufacturing,
      LLC (6346); ShopKo Properties, LLC (0865); ShopKo Stores Operating Co., LLC (6109); SVS Trucking, LLC
      (0592). The location of the Debtors’ service address is: 700 Pilgrim Way, Green Bay, Wisconsin 54304.
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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF NEBRASKA

                                                                )
In re:                                                          ) Chapter 11
                                                                )
SPECIALTY RETAIL SHOPS HOLDING CORP., et al.,                   ) Case No. 19-80064-TLS
                                                                )
                      Debtors.                                  ) (Jointly Administered)
                                                                )

                           GLOBAL NOTES AND
               STATEMENT OF LIMITATIONS, METHODOLOGY,
          AND DISCLAIMERS REGARDING THE DEBTORS’ SCHEDULES
     OF ASSETS AND LIABILITIES AND STATEMENTS OF FINANCIAL AFFAIRS

        Specialty Retail Shops Holding Corp. and certain of its affiliates, as debtors and debtors in
possession in the above-captioned chapter 11 cases, (the “Debtors”) have filed their respective
Schedules of Assets and Liabilities (the “Schedules”) and Statements of Financial Affairs
(the “Statements”) in the United States Bankruptcy Court for the District of Nebraska
(the “Bankruptcy Court”). The Debtors, with the assistance of their legal and financial advisors,
prepared the Schedules and Statements in accordance with section 521 of chapter 11 of title 11 of
the United States Code (the “Bankruptcy Code”) and Rule 1007 of the Federal Rules of Bankruptcy
Procedure.

       Russell L. Steinhorst has signed each set of the Schedules and Statements. Mr. Steinhorst
serves as the Chief Executive Officer at Debtor Specialty Retail Shops Holding Corp., and he is
an authorized signatory for each of the Debtors. In reviewing and signing the Schedules and
Statements, Mr. Steinhorst has necessarily relied upon the efforts, statements, advice, and
representations of personnel of the Debtors and the Debtors’ legal and financial advisors. Given
the scale of the Debtors’ business and the hundreds of stores covered by the Schedules and
Statements, Mr. Steinhorst has not (and could not have) personally verified the accuracy of each
such statement and representation, including statements and representations concerning amounts
owed to creditors.

       In preparing the Schedules and Statements, the Debtors relied on financial data derived
from their books and records that was available at the time of such preparation. Although the
Debtors have made every reasonable effort to ensure the accuracy and completeness of the
Schedules and Statements, subsequent information or discovery may result in material changes to
the Schedules and Statements. As a result, inadvertent errors or omissions may exist. For the
avoidance of doubt, the Debtors hereby reserve their rights to amend and supplement the Schedules
and Statements as may be necessary or appropriate.

        The Debtors and their agents, attorneys, and financial advisors do not guarantee or warrant
the accuracy or completeness of the data that is provided herein, and shall not be liable for any loss
or injury arising out of or caused in whole or in part by the acts, errors, or omissions, whether
negligent or otherwise, in procuring, compiling, collecting, interpreting, reporting,
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communicating, or delivering the information contained herein. While commercially reasonable
efforts have been made to provide accurate and complete information herein, inadvertent errors or
omissions may exist. The Debtors and their agents, attorneys, and financial advisors expressly do
not undertake any obligation to update, modify, revise, or re-categorize the information provided
herein, or to notify any third party should the information be updated, modified, revised, or re-
categorized, except as required by applicable law. In no event shall the Debtors or their agents,
attorneys, and financial advisors be liable to any third party for any direct, indirect, incidental,
consequential, or special damages (including, but not limited to, damages arising from the
disallowance of a potential claim against the Debtors or damages to business reputation, lost
business, or lost profits), whether foreseeable or not and however caused, even if the Debtors or
their agents, attorneys, and financial advisors are advised of the possibility of such damages.

                          Global Notes and Overview of Methodology

1.     Description of Cases. On January 16, 2019, (the “Petition Date”), each of the Debtors
       filed voluntary petitions for relief under chapter 11 of the Bankruptcy Code. The Debtors
       are operating their businesses and managing their property as debtors in possession
       pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. On January 16, 2019, an
       order was entered directing procedural consolidation and joint administration of these
       chapter 11 cases [Docket No. 25]. Notwithstanding the joint administration of the Debtors’
       cases for procedural purposes, each Debtor has filed its own Schedules and Statements.
       The information provided herein, except as otherwise noted, is reported as of the close of
       business on the Petition Date.

2.     Global Notes Control. These Global Notes pertain to and comprise an integral part of
       each of the Debtors’ Schedules and Statements and should be referenced in connection
       with any review thereof. In the event that the Schedules and Statements conflict these
       Global Notes, these Global Notes shall control.

3.     Reservations and Limitations. Reasonable efforts have been made to prepare and file
       complete and accurate Schedules and Statements; however, as noted above, inadvertent
       errors or omissions may exist. The Debtors reserve all rights to amend and supplement the
       Schedules and Statements as may be necessary or appropriate. Nothing contained in the
       Schedules and Statements constitutes a waiver of any of the Debtors’ rights or an admission
       of any kind with respect to these chapter 11 cases, including, but not limited to, any rights
       or claims of the Debtors against any third party or issues involving substantive
       consolidation, equitable subordination, or defenses or causes of action arising under the
       provisions of chapter 5 of the Bankruptcy Code or any other relevant applicable bankruptcy
       or non-bankruptcy laws to recover assets or avoid transfers. Any specific reservation of
       rights contained elsewhere in the Global Notes does not limit in any respect the general
       reservation of rights contained in this paragraph.

       (a)     No Admission. Nothing contained in the Schedules and Statements is intended or
               should be construed as an admission or stipulation of the validity of any claim
               against the Debtors, any assertion made therein or herein, or a waiver of the
               Debtors’ rights to dispute any claim or assert any cause of action or defense against
               any party.


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     (b)   Recharacterization. Notwithstanding that the Debtors have made reasonable
           efforts to correctly characterize, classify, categorize, or designate certain claims,
           assets, executory contracts, unexpired leases, and other items reported in the
           Schedules and Statements, the Debtors nonetheless may have improperly
           characterized, classified, categorized, or designated certain items. The Debtors thus
           reserve all rights to recharacterize, reclassify, recategorize, or redesignate items
           reported in the Schedules and Statements at a later time as is necessary and
           appropriate.

     (c)   Classifications. Listing (i) a claim on Schedule D as “secured,” (ii) a claim on
           Schedule E/F as “priority” or “unsecured,” or (iii) a contract on Schedule G as
           “executory” or “unexpired” does not constitute an admission by the Debtors of the
           legal rights of the claimant or contract counterparty, or a waiver of the Debtors’
           rights to recharacterize or reclassify such claim or contract.

     (d)   Claims Description. Any failure to designate a claim on a given Debtor’s
           Schedules and Statements as “disputed,” “contingent,” or “unliquidated” does not
           constitute an admission by the Debtor that such amount is not “disputed,”
           “contingent,” or “unliquidated.” The Debtors reserve all rights to dispute, or assert
           offsets or defenses to, any claim reflected on their respective Schedules and
           Statements on any grounds, including, without limitation, liability or classification,
           or to otherwise subsequently designate such claims as “disputed,” “contingent,” or
           “unliquidated” or object to the extent, validity, enforceability, priority, or
           avoidability of any claim. Moreover, listing a claim does not constitute an
           admission of liability by the Debtor against which the claim is listed or by any of
           the Debtors. The Debtors reserve all rights to amend their Schedules and
           Statements as necessary and appropriate, including, but not limited to, with respect
           to claim description and designation.

     (e)   Estimates and Assumptions. The preparation of the Schedules and Statements
           required the Debtors to make reasonable estimates and assumptions with respect to
           the reported amounts of assets and liabilities, the amount of contingent assets and
           contingent liabilities on the date of the Schedules and Statements, and the reported
           amounts of revenues and expenses during the applicable reporting periods. Actual
           results could differ from such estimates.

     (f)   Causes of Action. Despite reasonable efforts, the Debtors may not have identified
           and/or set forth all of their causes of action (filed or potential) against third parties
           as assets in their Schedules and Statements, including, without limitation,
           avoidance actions arising under chapter 5 of the Bankruptcy Code and actions under
           other relevant bankruptcy and non-bankruptcy laws to recover assets. The Debtors
           reserve all rights with respect to any causes of action, and nothing in these Global
           Notes or the Schedules and Statements should be construed as a waiver of any such
           causes of action.

     (g)   Intellectual Property Rights. Exclusion of certain intellectual property should not
           be construed to be an admission that such intellectual property rights have been


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           abandoned, have been terminated or otherwise expired by their terms, or have been
           assigned or otherwise transferred pursuant to a sale, acquisition, or other
           transaction. Conversely, inclusion of certain intellectual property should not be
           construed to be an admission that such intellectual property rights have not been
           abandoned, have not been terminated or otherwise expired by their terms, or have
           not been assigned or otherwise transferred pursuant to a sale, acquisition, or other
           transaction.

     (h)   Insiders. In the circumstance where the Schedules and Statements require
           information regarding “insiders” the Debtors have included information with
           respect to the individuals who the Debtors believe are included in the definition of
           “insider” set forth in section 101(31) of the Bankruptcy Code during the relevant
           time periods. Such individuals may no longer serve in such capacities. In the
           interest of additional disclosure, the Debtors have also included certain individuals
           who may have officer titles in their responses to Statements, Part 13, Question 28.

           The listing of a party as an insider for purposes of the Schedules and Statements is
           not intended to be, nor should it be, construed an admission of any fact, right, claim,
           or defense, and all such rights, claims, and defenses are hereby expressly reserved.
           Information regarding the individuals listed as insiders in the Schedules and
           Statements has been included for informational purposes only and such information
           may not be used for the purposes of determining control of the Debtors, the extent
           to which any individual exercised management responsibilities or functions,
           corporate decision-making authority over the Debtors, or whether such individual
           could successfully argue that he or she is not an insider under applicable law,
           including the Bankruptcy Code and federal securities laws, or with respect to any
           theories of liability or any other purpose.

4.   Methodology.

     (a)   Basis of Presentation. The Schedules and Statements do not purport to represent
           financial statements prepared in accordance with Generally Accepted Accounting
           Principles in the United States (“GAAP”), nor are they intended to be fully
           reconciled to the financial statements of each Debtor. The Schedules and
           Statements contain unaudited information that is subject to further review and
           potential adjustment. The Schedules and Statements reflect the Debtors’
           reasonable efforts to report the assets and liabilities of each Debtor on an
           unconsolidated basis.

     (b)   Confidential Information. There may be instances in the Schedules and
           Statements where the Debtors deemed it necessary and appropriate to redact from
           the public record information such as names, addresses, or amounts. Typically, the
           Debtors have used this approach because of an agreement between the Debtors and
           a third party, concerns of confidentiality and protection of sensitive commercial
           information (e.g., names of customers), or concerns for the privacy of an individual.




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     (c)   Duplication. Certain of the Debtors’ assets, liabilities, and prepetition payments
           may properly be disclosed in response to multiple parts of the Statements and
           Schedules. To the extent these disclosures would be duplicative, the Debtors have
           determined to only list such assets, liabilities and prepetition payments once.

     (d)   Net Book Value. In certain instances, current market valuations for individual
           items of property and other assets are neither maintained by, nor readily available
           to, the Debtors. Accordingly, unless otherwise indicated, the Debtors’ Schedules
           and Statements reflect net book values as of January 15, 2019. Market values may
           vary, at certain times materially, from net book values. The Debtors believe that it
           would be an inefficient use of estate assets for the Debtors to obtain the current
           market values of their property. Accordingly, the Debtors have indicated in the
           Schedules and Statements that the values of certain assets and liabilities are
           undetermined. Also, assets that have been fully depreciated or that were expensed
           for accounting purposes either do not appear in these Schedules and Statements or
           are listed with a zero-dollar value, as such assets have no net book value. The
           omission of an asset from the Schedules and Statements does not constitute a
           representation regarding the ownership of such asset, and any such omission does
           not constitute a waiver of any rights of the Debtors with respect to such asset.

     (e)   Property and Equipment. Unless otherwise indicated, owned property and
           equipment are valued at net book value. The Debtors may lease furniture, fixtures,
           and equipment from certain third-party lessors. To the extent possible, any such
           leases are listed in the Schedules and Statements. Nothing in the Schedules and
           Statements is, or should be construed as, an admission as to the determination of
           the legal status of any lease (including whether any lease is a true lease or a
           financing arrangement), and the Debtors reserve all rights with respect thereto.

     (f)   Allocation of Liabilities. The Debtors allocated liabilities between the prepetition
           and postpetition periods based on the information and research conducted in
           connection with the preparation of the Schedules and Statements. As additional
           information becomes available and further research is conducted, the allocation of
           liabilities between the prepetition and postpetition periods may change.

     (g)   Undetermined Amounts. The description of an amount as “undetermined” is not
           intended to reflect upon the materiality of such amount.

     (h)   Unliquidated Amounts. Amounts that could not be fairly quantified by the
           Debtors are scheduled as “unliquidated.”

     (i)   Totals. All totals that are included in the Schedules and Statements represent totals
           of all known amounts. To the extent there are unknown or undetermined amounts,
           the actual total may be different than the listed total.

     (j)   Paid Claims. The Debtors have authority to pay certain outstanding prepetition
           payables pursuant to bankruptcy or other court order; as such, outstanding liabilities
           may have been reduced by any court-approved postpetition payments made on



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           prepetition payables. Where and to the extent these liabilities have been satisfied,
           they are not listed in the Schedules and Statements with the exception that liabilities
           with respect to the Debtors’ prepetition vendors may be listed at the amount
           outstanding as of the Petition Date, regardless of whether such claims have been
           settled and paid postpetition in accordance with the Order (I) Authorizing the
           Debtors to Pay Prepetition Claims of Lien Claimants, Import Claimants, and
           503(B)(9) Claimants, (II) Confirming Administrative Expense Priority of
           Outstanding Orders, and (III) Granting Related Relief [Docket No. 74] (the “Lien
           Claimants Order”). To the extent the Debtors later pay any amount of the claims
           listed in the Schedules and Statements pursuant to any orders entered by the
           Bankruptcy Court, the Debtors reserve all rights to amend or supplement the
           Schedules and Statements or to take other action, such as filing claims objections,
           as is necessary and appropriate to avoid overpayment or duplicate payments for
           liabilities. Nothing contained herein should be deemed to alter the rights of any
           party in interest to contest a payment made pursuant to an order of the Bankruptcy
           Court where such order preserves the right to contest.

     (k)   Intercompany Claims. Receivables and payables among the Debtors and among
           the Debtors and their non-Debtor affiliates are used for accounting purposes only
           and are never settled in cash. Furthermore, as these claims net to zero on a
           consolidated basis, they are not included in the Statements and Schedules.

     (l)   Guarantees and Other Secondary Liability Claims. The Debtors have exercised
           reasonable efforts to locate and identify guarantees in their executory contracts,
           unexpired leases, secured financings, and other such agreements. Where
           guarantees have been identified, they have been included in the relevant Schedules
           G and H for the affected Debtor or Debtors. The Debtors may have inadvertently
           omitted guarantees embedded in their contractual agreements and may identify
           additional guarantees as they continue their review of their books and records and
           contractual agreements. The Debtors reserve their rights, but are not required, to
           amend the Schedules and Statements if additional guarantees are identified.

     (m)   Excluded Assets and Liabilities. The Debtors have excluded the following
           categories of assets and liabilities from the Schedules and Statements: certain
           deferred charges, accounts, or reserves recorded only for purposes of complying
           with the requirements of GAAP; deferred tax assets and liabilities; goodwill and
           other intangibles; deferred revenue accounts; and certain accrued liabilities
           including, but not limited to, accrued salaries and employee benefits. Other
           immaterial assets and liabilities may also have been excluded.

     (n)   Liens. The inventories, property and equipment listed in the Schedules and
           Statements are presented without consideration of any liens.

     (o)   Currency. Unless otherwise indicated, all amounts are reflected in U.S. dollars.

     (p)   Setoffs. The Debtors routinely incur setoffs and net payments in the ordinary
           course of business. Such setoffs and nettings may occur due to a variety of



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            transactions or disputes including, but not limited to, intercompany transactions,
            counterparty settlements, pricing discrepancies, rebates, returns, warranties,
            refunds, and negotiations and/or disputes between Debtors and their customers
            and/or suppliers. These normal, ordinary course setoffs and nettings are common
            to the retail industry. Due to the voluminous nature of setoffs and nettings, it would
            be unduly burdensome and costly for the Debtors to list each such transaction.
            Therefore, although such setoffs and other similar rights may have been accounted
            for when scheduling certain amounts, these ordinary course setoffs are not
            independently accounted for, and as such, are or may be excluded from the Debtors’
            Schedules and Statements. In addition, some amounts listed in the Schedules and
            Statements may have been affected by setoffs or nettings by third parties of which
            the Debtors are not yet aware. The Debtors reserve all rights to challenge any setoff
            and/or recoupment rights that may be asserted.

5.   Specific Schedules Disclosures.

     (a)    Schedule A/B, Part 1, Question 4. The Debtors consider credit card A/R as a “cash
            equivalent” and such amounts are listed in Schedule A/B, Part 1, Question 4 rather
            than A/B Part 3, Question 11.

     (b)    Schedule A/B, Parts 1 and 2 – Cash and Cash Equivalents; Deposits and
            Prepayments. Details with respect to the Debtors’ cash management system and
            bank accounts are provided in the Debtors’ Motion for Entry of a Final Order (I)
            Authorizing the Debtors to (A) Continue to Operate their Cash Management
            System, (B) Honor Certain Prepetition Obligations Related Thereto, (C) Maintain
            Existing Business Forms, and (D) Perform Intercompany Transactions, and (II)
            Granting Related Relief [Docket No. 18] (the “Cash Management Motion”) and
            any orders of the Bankruptcy Court granting the Cash Management Motion.

            As described in the Cash Management Motion, the Debtors have 285 non-
            consolidated store-level deposit accounts, all of which are swept daily to a zero
            balance. For purposes of the Schedules and Statements, therefore, the Debtors have
            listed such balances at the amount as of January 15, 2019.

            Additionally, the Bankruptcy Court, pursuant to the Order (I) Approving the
            Debtors’ Proposed Adequate Assurance of Payment for Future Utility Services, (II)
            Prohibiting Utility Companies from Altering, Refusing, or Discontinuing
            Services,(III) Approving the Debtors’ Proposed Procedures for Resolving
            Additional Assurance Requests, and (IV) Granting Related Relief [Docket No. 71],
            has authorized the debtors to provide adequate assurance of payment for future
            utility services, including an initial deposit in the aggregate amount of $1.29
            million. Such deposits are not listed on Schedule A/B, Part 2, which has been
            prepared as of the Petition Date.

     (c)    Schedule A/B, Part 3, Question 11. No doubtful or uncollectible amounts are
            listed in either Question 11a or 11b. The Debtors’ accounting practice is to list the




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           full value of the receivable and write that amount off to the extent it becomes
           uncollectable.

     (d)   Schedule A/B, Part 4 – Investments; Non-Publicly Traded Stock and Interests
           in Incorporated and Unincorporated Businesses, including any Interest in an
           LLC, Partnership, or Joint Venture. Ownership interests in subsidiaries,
           partnerships, and joint ventures have been listed in Schedule A/B, Part 4, as
           undetermined amounts on account of the fact that the fair market value of such
           ownership is dependent on numerous variables and factors, and may differ
           significantly from their net book value.

     (e)   Schedule A/B, Part 7 – Office Furniture, Fixtures, and Equipment; and
           Collectibles. Dollar amounts are presented net of accumulated depreciation and
           other adjustments.

     (f)   Schedule A/B, Part 11 – All Other Assets. Dollar amounts are presented net of
           impairments and other adjustments.

           Additionally, the Debtors may receive refunds for sales and use tax at various times
           throughout their fiscal year. As of the Petition Date, however, certain of these
           amounts are unknown to the Debtors, and accordingly, may not be listed in
           Schedule A/B.

           Other Contingent and Unliquidated Claims or Causes of Action of Every Nature,
           including Counterclaims of the Debtor and Rights to Setoff Claims. In the
           ordinary course of their businesses, the Debtors may have accrued, or may
           subsequently accrue, certain rights to counter-claims, cross-claims, setoffs, refunds
           with their customers and suppliers, or potential warranty claims against their
           suppliers. Additionally, certain of the Debtors may be party to pending litigation
           in which the Debtors have asserted, or may assert, claims as a plaintiff or counter-
           claims and/or cross-claims as a defendant. Because certain of these claims are
           unknown to the Debtors and not quantifiable as of the Petition Date, they may not
           be listed on Schedule A/B, Part 11.

           Interests in Insurance Policies or Annuities. A list of the Debtors’ insurance
           policies and related information is available in the Debtors’ Motion for Entry of an
           Order (I) Authorizing the Debtors to (A) Continue and Renew their Liability,
           Property, Casualty, and Other Insurance Policies and Honor all Obligations in
           Respect Thereof, (B) Continue and Renew their Prepetition Insurance Premium
           Financing Agreements, and (C) Continue the Surety Bond Programs, and (II)
           Granting Related Relief [Docket No. 13]. The Debtors believe that there is little or
           no cash value to the vast majority of such insurance policies. To the extent an
           insurance policy is determined to have value, it will be included in Schedule A/B.

           Executory Contracts and Unexpired Leases. Because of the large number of the
           Debtors’ executory contracts and unexpired leases, as well as the size and scope of




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           such documents, the Debtors have not attached such agreements to Schedule A/B.
           Instead, the Debtors have only listed such agreements in Schedule G.

     (g)   Schedule A/B, Part 11, Question 72. The amounts listed reflect a tax effective rate
           that is an estimate for the go-forward used NOLs and tax refunds assuming a change
           in control.

     (h)   Schedule D – Creditors Who Have Claims Secured by Property. Except as
           otherwise agreed pursuant to a stipulation or order entered by the Bankruptcy Court,
           the Debtors reserve their rights to dispute or challenge the validity, perfection, or
           immunity from avoidance of any lien purported to be granted or perfected in any
           specific asset to a secured creditor listed on Schedule D. Moreover, although the
           Debtors have scheduled claims of various creditors as secured claims, the Debtors
           reserve all rights to dispute or challenge the secured nature of any such creditor’s
           claim or the characterization of the structure of any such transaction or any
           document or instrument related to such creditor’s claim.

           The descriptions provided in Schedule D are intended only to be a summary.
           Reference to the applicable agreements and other related relevant documents is
           necessary for a complete description of the collateral and the nature, extent, and
           priority of any liens. In certain instances, a Debtor may be a co-obligor, co-
           mortgagor, or guarantor with respect to scheduled claims of other Debtors, and no
           claim set forth on Schedule D of any Debtor is intended to acknowledge claims of
           creditors that are otherwise satisfied or discharged by other entities.

           The Debtors have not included on Schedule D parties that may believe their claims
           are secured through setoff rights or inchoate statutory lien rights. Although there
           are multiple parties that hold a portion of the debt included in the secured facilities,
           only the administrative agents have been listed for purposes of Schedule D.

           Additionally, the treatment of certain secured creditors’ claims listed in Schedule
           D are subject to the payment priority set forth in that certain Third Amended and
           Restated Loan and Security Agreement, dated as of February 7, 2012 (as amended
           by that certain Ratification and Amendment Agreement, dated as of January 16,
           2019, and as further amended, restated, supplemented, or otherwise modified from
           time to time).

     (i)   Schedule E/F – Creditors Who Have Unsecured Claims.

           Part 1 - Creditors with Priority Unsecured Claims. Pursuant to the Order (I)
           Authorizing the Payment of Certain Prepetition and Postpetition Taxes and Fees
           and (II) Granting Related Relief [Docket No. 68] (the “Taxes Order”), the Debtors
           have been granted the authority to pay, in their discretion, certain tax liabilities that
           accrued prepetition. Accordingly, any unsecured priority claims based upon
           prepetition tax accruals that have been paid pursuant to the Taxes Order are not
           listed in Schedule E.




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           Moreover, in lieu of listing all of the Debtors’ possible taxing authorities for notice
           purposes in Schedule E/F—a list that numbers in the thousands—the Debtors have
           only listed those taxing authorities with which the Debtors have pending audits.

     (j)   Furthermore, pursuant to the Order (I) Authorizing the Debtors to (A) Pay
           Prepetition Wages, Salaries, Other Compensation, and Reimbursable Expenses,
           and (B) Continue Employee Benefits Programs and (II) Granting Related Relief
           [Docket No. 98] (the “Wages Order”) the Debtors received final authority to pay
           certain prepetition obligations, including to pay employee wages and other
           employee benefits, in the ordinary course of business. The Debtors have not listed
           on Schedule E/F any wage or wage-related obligations for which the Debtors have
           been granted authority to pay pursuant to the Employee Wage Order or other order
           that may be entered by the Bankruptcy Court. The Debtors believe that any
           non-insider employee claims for prepetition amounts related to ongoing payroll and
           benefits, whether allowable as a priority or nonpriority claim, have been or will be
           satisfied, and such satisfied amounts are not listed.

           The listing of a claim on Schedule E/F, Part 1, does not constitute an admission by
           the Debtors that such claim or any portion thereof is entitled to priority status.

           Part 2 - Creditors with Nonpriority Unsecured Claims. The liabilities identified
           in Schedule E/F, Part 2, are derived from the Debtors’ books and records. The
           Debtors made a reasonable attempt to set forth their unsecured obligations,
           although the actual amount of claims against the Debtors may vary from those
           liabilities represented on Schedule E/F, Part 2. The listed liabilities may not reflect
           the correct amount of any unsecured creditor’s allowed claims or the correct
           amount of all unsecured claims.

           The Debtors generally allocate individual liabilities to particular Debtors.
           However, in certain cases, it would be a time-consuming and inefficient use of
           estate resources, or impracticable, to assign a given liability to a particular Debtor
           based on a contractual obligation. Instead, the Schedules reflect the liability based
           on the Debtors books and records.

           Schedule E/F, Part 2, contains information regarding certain compensation-related
           claims of insiders of the Debtors, with such claims being listed as both “contingent”
           and “unliquidated.” In scheduling such claims, the Debtors make no representation
           or assertion as to the validity of such claims, and the Debtors reserve all rights,
           claims, and defenses in connection therewith.

           Schedule E/F, Part 2, contains information regarding threatened or pending
           litigation involving the Debtors. The amounts for these potential claims are listed
           as “undetermined” and are marked as contingent, unliquidated, and disputed in the
           Schedules and Statements. For the avoidance of doubt, demand letters received
           from potential litigants as a result of alleged injuries sustained at one of the Debtors’
           stores that do not list a specific Debtor are listed on Debtor Specialty Retail Shops




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           Holding Corp.’s (“Specialty Retail”) Schedules as Specialty Retail is the signatory
           to all store leases.

           Schedule E/F, Part 2, reflects certain prepetition amounts owing to counterparties
           to executory contracts and unexpired leases. Such prepetition amounts, however,
           may be paid in connection with the assumption or assumption and assignment of
           an executory contract or unexpired lease. In addition, Schedule E/F, Part 2, does
           not include claims that may arise in connection with the rejection of any executory
           contracts and unexpired leases, if any, that may be or have been rejected.

           In many cases, the claims listed on Schedule E/F, Part 2, arose, accrued, or were
           incurred on various dates or on a date or dates that are unknown to the Debtors or
           are subject to dispute. Where the determination of the date on which a claim arose,
           accrued, or was incurred would be unduly burdensome and costly to the Debtors’
           estates, the Debtors have not listed a specific date or dates for such claim.

           As of the time of filing of the Schedules and Statements, the Debtors had not
           received all invoices for payables, expenses, and other liabilities that may have
           accrued prior to the Petition Date. Accordingly, the information contained in
           Schedules D and E/F may be incomplete. The Debtors reserve their rights, but
           undertake no obligations, to amend Schedules D and E/F if and as they receive such
           invoices.

     (k)   Schedule G – Executory Contracts and Unexpired Leases. While reasonable
           efforts have been made to ensure the accuracy of Schedule G, inadvertent errors or
           omissions may have occurred. Additionally, relationships between the Debtors and
           its customers are often governed by a master services agreement, under which
           customers also place work and purchase orders, which may be considered
           executory contracts. Disclosure of all of these purchase and work orders, however,
           is impracticable and unduly burdensome. Accordingly, to the extent the Debtors
           have determined to disclose master services agreements in Schedule G, purchase
           and work orders placed thereunder may have been omitted.

           Listing a contract or agreement on Schedule G does not constitute an admission
           that such contract or agreement is an executory contract or unexpired lease or that
           such contract or agreement was in effect on the Petition Date or is valid or
           enforceable. The Debtors hereby reserve all of their rights to dispute the validity,
           status, or enforceability of any contracts, agreements, or leases set forth in Schedule
           G and to amend or supplement such Schedule as necessary. Certain of the leases
           and contracts listed on Schedule G may contain renewal options, guarantees of
           payment, indemnifications, options to purchase, rights of first refusal and other
           miscellaneous rights. Such rights, powers, duties and obligations are not set forth
           separately on Schedule G. In addition, the Debtors may have entered into various
           other types of agreements in the ordinary course of their business, such as
           supplemental agreements and letter agreement, which documents may not be set
           forth in Schedule G.




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            The Debtors reserve all rights to dispute or challenge the characterization of any
            transaction or any document or instrument related to a creditor’s claim.

            In some cases, the same supplier or provider may appear multiple times in Schedule
            G. Multiple listings, if any, reflect distinct agreements between the applicable
            Debtor and such supplier or provider.

            The listing of any contract on Schedule G does not constitute an admission by the
            Debtors as to the validity of any such contract. The Debtors reserve the right to
            dispute the effectiveness of any such contract listed on Schedule G or to amend
            Schedule G at any time to remove any contract.

            Omission of a contract or agreement from Schedule G does not constitute an
            admission that such omitted contract or agreement is not an executory contract or
            unexpired lease. The Debtors’ rights under the Bankruptcy Code with respect to
            any such omitted contracts or agreements are not impaired by the omission. Certain
            Debtors are guarantors and parties to guaranty agreements regarding the Debtors’
            prepetition credit facility. The guaranty obligations arising under these agreements
            are reflected on Schedules D and F only.

     (l)    Schedule H – Co-Debtors. For purposes of Schedule H, only the agent under the
            prepetition credit facility or counterparties that are subject to a guaranty are listed
            as Co-Debtors on Schedule H. The Debtors have not listed any litigation-related
            Co-Debtors on Schedule H. Instead, all such listings can be found on the Debtors’
            Schedule E/F.

6.   Specific Statements Disclosures.

     (a)    To the extent: (i) a person qualified as an “insider” in the year prior to the Petition
            Date, but later resigned their insider status or (ii) did not begin the year as an insider,
            but later became an insider, the Debtors have only listed those payments made
            while such person was defined as an insider in Statements, Part 2, Question 4.

     (b)    Statements, Part 2, Question 6 – Setoffs. For a discussion of setoffs and nettings
            incurred by the Debtors, refer to paragraph 4(p) of these Global Notes.

     (c)    Statements, Part 5, Question 10 – Certain Losses. Given the scale of the
            Debtors’ store footprint, certain losses, including those losses attributable to theft,
            are unable to be tracked by the Debtors with complete accuracy, and accordingly,
            such losses have not been listed on the Debtors’ Statements. Additionally, the
            Debtors only account for general recoveries of such losses, with this general amount
            being the recovery listed in the Statements for the 1 year immediately before the
            Petition Date.

     (d)    Statements, Part 6, Question 11 – Payments Related to Bankruptcy. The
            attachment to Question 11 on all Statements reflect payments to professionals on
            behalf of the Debtors on a consolidated basis. The Debtors believe that it would be



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           an inefficient use of the assets of the Debtors’ estates for the Debtors to allocate
           these payments on a Debtor-by-Debtor basis.

     (e)   Statements, Part 6, Question 13 – Transfers not Already Listed on Statements.
           In the ordinary course of their business, the Debtors often close or remodel store
           locations, and in the process of doing so, may give away certain fixtures possessing
           little to no economic value. Given the frequency of such gifts and the difficulty in
           accounting for them, the Debtors have not listed such transfers in their Statements.

     (f)   Statements, Part 11, Question 21 – Property Held for Another. The Debtors
           are obligated under various agreements and programs to remit certain funds held
           for third parties to those parties, and have received authorization to do so under
           both the Lien Claimants Order and Wages Order. To the extent that any of the
           funds described above are held or paid for the benefit of third parties, such funds
           may not constitute property of the Debtors’ estates, and the Debtors therefore have
           not included such amounts in their responses to Statement Question 21. The
           Debtors further reserve all rights they have as to whether any such funds constitute
           property of the estate.

     (g)   Statements, Part 7, Question 14 – Prior Locations. The Debtors operate a
           national enterprise with locations throughout the U.S. The Debtors have not
           disclosed the addresses of all of these locations. Rather, the address of each
           Debtor’s main center of operations or headquarters was included in the Debtors’
           Voluntary Petitions. For most of these locations, the dates of occupancy are not
           readily available.

     (h)   Statements, Part 12, Questions 22-24 – Details About Environmental
           Information. The Debtors have endeavored to disclose all applicable information
           in response to Statements, Part 12, Questions 22–24.

     (i)   Statements, Part 13, Question 26 – Books, Records, and Financial Statements.
           The Debtors provide certain parties, such as banks, auditors, potential investors,
           vendors, and financial advisors, with financial statements that may not be part of a
           public filing. The Debtors do not maintain complete lists or other records tracking
           such disclosures. Therefore, the Debtors have not provided full lists of these parties
           in their Responses to Statement Question 26.

     (j)   Statements, Part 13, Question 28 – Current Partners, Officers, Directors, and
           Shareholders. The Debtors incorporate by reference the List of Equity Security
           Holders filed as part of their Voluntary Petitions.

     (k)   Statements, Part 13, Question 30 – Payments, Distributions, or Withdrawals
           Credited or Given to Insiders. Distributions by the Debtors to their directors and
           officers are listed on the attachment to Question 4. Certain directors and executive
           officers of Shopko are also directors and executive officers of certain of Shopko’s
           Debtor and non-Debtor affiliates. To the extent payments to such individuals are
           not listed in the response to Question 4 on the Statements for such Debtor affiliates,



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           they did not receive payment for their services as directors or executive officers of
           these entities. Certain of the Debtors’ directors and executive officers received
           distributions net of tax withholdings in the year preceding the Petition Date. The
           amounts listed under Question 4 reflect the gross amounts paid to such directors
           and executive officers, rather than the net amounts after deducting for tax
           withholdings.



                             *       *       *      *       *




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 Debtor name            6KRS.R6WRUHV2SHUDWLQJ&R//&

 United States Bankruptcy Court for the:                       DISTRICT OF NEBRASKA

 Case number (if known)               
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Official Form 206Sum
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 Part 1:      6XPPDU\RI$VVHWV


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

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       1b. 7RWDOSHUVRQDOSURSHUW\
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 Part 2:      6XPPDU\RI/LDELOLWLHV


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $     


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

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 4.    7RWDOOLDELOLWLHV.......................................................................................................................................................
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 Debtor name          6KRS.R6WRUHV2SHUDWLQJ&R//&

 United States Bankruptcy Court for the:            DISTRICT OF NEBRASKA

 Case number (if known)         
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Official Form 206A/B
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       No.   Go to Part 3.
       Yes Fill in the information below.
 7.         'HSRVLWVLQFOXGLQJVHFXULW\GHSRVLWVDQGXWLOLW\GHSRVLWV
            Description, including name of holder of deposit


            7.1.     6HH$WWDFKHG6FKHGXOH$%3DUW4XHVWLRQ                                                                                   


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                                page 1
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           FRPPXQLFDWLRQV\VWHPVHTXLSPHQWDQGVRIWZDUH
           2IILFH(TXLSPHQWLQFOXGLQJ&RPSXWHUV
           6RIWZDUH/HDVHG6RIWZDUH                                                   %RRNYDOXH                      



        &ROOHFWLEOHV Examples$QWLTXHVDQGILJXULQHVSDLQWLQJVSULQWVRURWKHUDUWZRUN
           ERRNVSLFWXUHVRURWKHUDUWREMHFWVFKLQDDQGFU\VWDOVWDPSFRLQRUEDVHEDOOFDUG
           FROOHFWLRQVRWKHUFROOHFWLRQVPHPRUDELOLDRUFROOHFWLEOHV

        7RWDORI3DUW                                                                                                          
           $GGOLQHVWKURXJK&RS\WKHWRWDOWROLQH

        ,VDGHSUHFLDWLRQVFKHGXOHDYDLODEOHIRUDQ\RIWKHSURSHUW\OLVWHGLQ3DUW"
           1R
            <HV
        +DVDQ\RIWKHSURSHUW\OLVWHGLQ3DUWEHHQDSSUDLVHGE\DSURIHVVLRQDOZLWKLQWKHODVW\HDU"
            1R
2IILFLDO)RUP$%                                          6FKHGXOH$%$VVHWV5HDODQG3HUVRQDO3URSHUW\                                    SDJH
6RIWZDUH&RS\ULJKWF%HVW&DVH//&ZZZEHVWFDVHFRP                                                                      %HVW&DVH%DQNUXSWF\
            Case 19-80075-TLS                         Doc 9           Filed 02/22/19 Entered 02/22/19 18:08:20                   Desc Main
                                                                     Document     Page 20 of 1015
 Debtor         6KRS.R6WRUHV2SHUDWLQJ&R//&                                               Case number (If known) 
                Name


            Yes
 Part 8:        0DFKLQHU\HTXLSPHQWDQGYHKLFOHV
46.'RHVWKHGHEWRURZQRUOHDVHDQ\PDFKLQHU\HTXLSPHQWRUYHKLFOHV"

     No.    Go to Part 9.
     Yes Fill in the information below.
           *HQHUDOGHVFULSWLRQ                                                 1HWERRNYDOXHRI      9DOXDWLRQPHWKRGXVHG       &XUUHQWYDOXHRI
           Include year, make, model, and identification numbers               GHEWRU
VLQWHUHVW      IRUFXUUHQWYDOXH           GHEWRU
VLQWHUHVW
           (i.e., VIN, HIN, or N-number)                                       (Where available)

 47.       $XWRPRELOHVYDQVWUXFNVPRWRUF\FOHVWUDLOHUVDQGWLWOHGIDUPYHKLFOHV

           47.1.     6HH$WWDFKHG6FKHGXOH$%3DUW
                     4XHVWLRQV                                                    6HH$WWDFKHG                      



 48.       :DWHUFUDIWWUDLOHUVPRWRUVDQGUHODWHGDFFHVVRULHVExamples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       $LUFUDIWDQGDFFHVVRULHV


 50.       2WKHUPDFKLQHU\IL[WXUHVDQGHTXLSPHQWH[FOXGLQJIDUP
           PDFKLQHU\DQGHTXLSPHQW

 51.       7RWDORI3DUW                                                                                                         
           Add lines 47 through 50. Copy the total to line 87.

 52.       ,VDGHSUHFLDWLRQVFKHGXOHDYDLODEOHIRUDQ\RIWKHSURSHUW\OLVWHGLQ3DUW"
            No
            Yes
 53.       +DVDQ\RIWKHSURSHUW\OLVWHGLQ3DUWEHHQDSSUDLVHGE\DSURIHVVLRQDOZLWKLQWKHODVW\HDU"
            No
            Yes
 Part 9:        5HDOSURSHUW\
54.'RHVWKHGHEWRURZQRUOHDVHDQ\UHDOSURSHUW\"

     No.    Go to Part 10.
     Yes Fill in the information below.
 55.       $Q\EXLOGLQJRWKHULPSURYHGUHDOHVWDWHRUODQGZKLFKWKHGHEWRURZQVRULQZKLFKWKHGHEWRUKDVDQLQWHUHVW

           'HVFULSWLRQDQGORFDWLRQRI                    1DWXUHDQG           1HWERRNYDOXHRI      9DOXDWLRQPHWKRGXVHG      &XUUHQWYDOXHRI
           SURSHUW\                                       H[WHQWRI            GHEWRU
VLQWHUHVW      IRUFXUUHQWYDOXH          GHEWRU
VLQWHUHVW
           Include street address or other                GHEWRU
VLQWHUHVW    (Where available)
           description such as Assessor                   LQSURSHUW\
           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
           apartment or office building, if
           available.
           55.1. 6HH$WWDFKHG
                     6FKHGXOH$%3DUW
                     4XHVWLRQV                                                    6HH$WWDFKHG                     




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                       page 4
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                       Best Case Bankruptcy
            Case 19-80075-TLS                         Doc 9           Filed 02/22/19 Entered 02/22/19 18:08:20                   Desc Main
                                                                     Document     Page 21 of 1015
 Debtor         6KRS.R6WRUHV2SHUDWLQJ&R//&                                               Case number (If known) 
                Name


 56.        7RWDORI3DUW                                                                                                        
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        ,VDGHSUHFLDWLRQVFKHGXOHDYDLODEOHIRUDQ\RIWKHSURSHUW\OLVWHGLQ3DUW"
             No
             Yes
 58.        +DVDQ\RIWKHSURSHUW\OLVWHGLQ3DUWEHHQDSSUDLVHGE\DSURIHVVLRQDOZLWKLQWKHODVW\HDU"
             No
             Yes
 Part 10:       ,QWDQJLEOHVDQGLQWHOOHFWXDOSURSHUW\
59. 'RHVWKHGHEWRUKDYHDQ\LQWHUHVWVLQLQWDQJLEOHVRULQWHOOHFWXDOSURSHUW\"

     No.    Go to Part 11.
     Yes Fill in the information below.
            *HQHUDOGHVFULSWLRQ                                                1HWERRNYDOXHRI       9DOXDWLRQPHWKRGXVHG     &XUUHQWYDOXHRI
                                                                               GHEWRU
VLQWHUHVW       IRUFXUUHQWYDOXH         GHEWRU
VLQWHUHVW
                                                                               (Where available)

 60.        3DWHQWVFRS\ULJKWVWUDGHPDUNVDQGWUDGHVHFUHWV

 61.        ,QWHUQHWGRPDLQQDPHVDQGZHEVLWHV

 62.        /LFHQVHVIUDQFKLVHVDQGUR\DOWLHV

 63.        &XVWRPHUOLVWVPDLOLQJOLVWVRURWKHUFRPSLODWLRQV
            3KDUPDF\&XVWRPHU/LVWV                                                       $SSUDLVDO                      



 64.        2WKHULQWDQJLEOHVRULQWHOOHFWXDOSURSHUW\

 65.        *RRGZLOO

 66.        7RWDORI3DUW                                                                                                       
            Add lines 60 through 65. Copy the total to line 89.

 67.        'R\RXUOLVWVRUUHFRUGVLQFOXGHSHUVRQDOO\LGHQWLILDEOHLQIRUPDWLRQRIFXVWRPHUV(as defined in 11 U.S.C.§§ 101(41A) and 107"
             No
             Yes
 68.        ,VWKHUHDQDPRUWL]DWLRQRURWKHUVLPLODUVFKHGXOHDYDLODEOHIRUDQ\RIWKHSURSHUW\OLVWHGLQ3DUW"
             No
             Yes
 69.        +DVDQ\RIWKHSURSHUW\OLVWHGLQ3DUWEHHQDSSUDLVHGE\DSURIHVVLRQDOZLWKLQWKHODVW\HDU"
             No
             Yes
 Part 11:       $OORWKHUDVVHWV
70. 'RHVWKHGHEWRURZQDQ\RWKHUDVVHWVWKDWKDYHQRW\HWEHHQUHSRUWHGRQWKLVIRUP"
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

     No.    Go to Part 12.
     Yes Fill in the information below.
                                                                                                                                 &XUUHQWYDOXHRI
                                                                                                                                 GHEWRU
VLQWHUHVW


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                    page 5
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 Debtor         6KRS.R6WRUHV2SHUDWLQJ&R//&                                             Case number (If known) 
                Name



 71.       1RWHVUHFHLYDEOH
           Description (include name of obligor)

 72.       7D[UHIXQGVDQGXQXVHGQHWRSHUDWLQJORVVHV12/V
           Description (for example, federal, state, local)

 73.       ,QWHUHVWVLQLQVXUDQFHSROLFLHVRUDQQXLWLHV
           &DVK6XUUHQGHU9DOXHRI/LIH,QVXUDQFH3ROLFLHVWKURXJK
           3UXGHQWLDO                                                                                                               



 74.       &DXVHVRIDFWLRQDJDLQVWWKLUGSDUWLHVZKHWKHURUQRWDODZVXLW
           KDVEHHQILOHG

           6HH$WWDFKHG6FKHGXOH$%3DUW4XHVWLRQ                                                                                 8QNQRZQ
           1DWXUHRIFODLP
           $PRXQWUHTXHVWHG                                      8QNQRZQ



 75.       2WKHUFRQWLQJHQWDQGXQOLTXLGDWHGFODLPVRUFDXVHVRIDFWLRQRI
           HYHU\QDWXUHLQFOXGLQJFRXQWHUFODLPVRIWKHGHEWRUDQGULJKWVWR
           VHWRIIFODLPV

           6HH$WWDFKHG6FKHGXOH$%3DUW4XHVWLRQ                                                                                 8QNQRZQ
           1DWXUHRIFODLP
           $PRXQWUHTXHVWHG                                      8QNQRZQ



 76.       7UXVWVHTXLWDEOHRUIXWXUHLQWHUHVWVLQSURSHUW\

 77.       2WKHUSURSHUW\RIDQ\NLQGQRWDOUHDG\OLVWHGExamples: Season tickets,
           country club membership

 78.       7RWDORI3DUW                                                                                                      
           Add lines 71 through 77. Copy the total to line 90.

 79.       +DVDQ\RIWKHSURSHUW\OLVWHGLQ3DUWEHHQDSSUDLVHGE\DSURIHVVLRQDOZLWKLQWKHODVW\HDU"
            No
            Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 6
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             Case 19-80075-TLS                            Doc 9         Filed 02/22/19 Entered 02/22/19 18:08:20                                          Desc Main
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 Debtor          6KRS.R6WRUHV2SHUDWLQJ&R//&                                                                    Case number (If known) 
                 Name



 Part 12:        6XPPDU\

,Q3DUWFRS\DOORIWKHWRWDOVIURPWKHHDUOLHUSDUWVRIWKHIRUP
      7\SHRISURSHUW\                                                                               &XUUHQWYDOXHRI                    &XUUHQWYDOXHRIUHDO
                                                                                                     SHUVRQDOSURSHUW\                   SURSHUW\

 80. &DVKFDVKHTXLYDOHQWVDQGILQDQFLDODVVHWV
     Copy line 5, Part 1                                                                                      

 81. 'HSRVLWVDQGSUHSD\PHQWVCopy line 9, Part 2.                                                             

 82. $FFRXQWVUHFHLYDEOHCopy line 12, Part 3.                                                               

 83. ,QYHVWPHQWVCopy line 17, Part 4.                                                                                      

 84. ,QYHQWRU\Copy line 23, Part 5.                                                                      

 85. )DUPLQJDQGILVKLQJUHODWHGDVVHWVCopy line 33, Part 6.                                                               

 86. 2IILFHIXUQLWXUHIL[WXUHVDQGHTXLSPHQWDQGFROOHFWLEOHV
     Copy line 43, Part 7.                                                                                    

 87. 0DFKLQHU\HTXLSPHQWDQGYHKLFOHVCopy line 51, Part 8.                                                

 88. 5HDOSURSHUW\Copy line 56, Part 9.........................................................................................!                     

 89. ,QWDQJLEOHVDQGLQWHOOHFWXDOSURSHUW\Copy line 66, Part 10.                                            

 90. $OORWKHUDVVHWVCopy line 78, Part 11.                                                                  

 91. 7RWDOAdd lines 80 through 90 for each column                                                                   91b.           


 92. 7RWDORIDOOSURSHUW\RQ6FKHGXOH$%. Add lines 91a+91b=92                                                                                             




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                         page 7
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                           re Shopko Stores Operating
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                                Case No. 19-80075 (TLS)
                    Schedule A/B: Part 1, Question 2 - Cash on Hand

                                                       Current Value of
                     Description of Property           Debtor's Interest
              Gen Office Petty Cash - L00000                        $950.00
              Petty Cash on Hand - L00000                           $250.00
              Sample Sale Cash - L00000                             $728.00
              Store Safe Balance - L00001                         $9,000.00
              Store Safe Balance - L00002                        $15,000.00
              Store Safe Balance - L00003                        $10,000.00
              Store Safe Balance - L00004                        $10,000.00
              Store Safe Balance - L00005                         $8,000.00
              Store Safe Balance - L00007                         $9,000.00
              Store Safe Balance - L00008                        $10,000.00
              Store Safe Balance - L00009                        $10,000.00
              Store Safe Balance - L00012                        $13,000.00
              Store Safe Balance - L00014                         $9,000.00
              Store Safe Balance - L00015                        $13,000.00
              Store Safe Balance - L00017                        $10,000.00
              Store Safe Balance - L00018                         $9,000.00
              Store Safe Balance - L00019                         $8,000.00
              Store Safe Balance - L00020                         $9,000.00
              Store Safe Balance - L00022                        $10,000.00
              Store Safe Balance - L00023                         $8,000.00
              Store Safe Balance - L00024                        $13,000.00
              Store Safe Balance - L00025                         $9,000.00
              Store Safe Balance - L00026                         $9,000.00
              Store Safe Balance - L00027                        $10,000.00
              Store Safe Balance - L00028                        $10,000.00
              Store Safe Balance - L00029                        $12,000.00
              Store Safe Balance - L00030                        $10,000.00
              Store Safe Balance - L00031                        $11,000.00
              Store Safe Balance - L00032                         $8,000.00
              Store Safe Balance - L00033                        $10,000.00
              Store Safe Balance - L00037                        $10,000.00


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Case 19-80075-TLS   Doc 9     Filed 02/22/19       Entered 02/22/19 18:08:20   Desc Main
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                                Case No. 19-80075 (TLS)
                    Schedule A/B: Part 1, Question 2 - Cash on Hand

                                                       Current Value of
                     Description of Property           Debtor's Interest
              Store Safe Balance - L00040                         $9,000.00
              Store Safe Balance - L00042                        $10,000.00
              Store Safe Balance - L00044                         $2,000.00
              Store Safe Balance - L00048                         $8,000.00
              Store Safe Balance - L00050                        $10,000.00
              Store Safe Balance - L00051                         $8,000.00
              Store Safe Balance - L00052                        $10,000.00
              Store Safe Balance - L00053                         $8,000.00
              Store Safe Balance - L00054                         $9,000.00
              Store Safe Balance - L00055                         $8,000.00
              Store Safe Balance - L00056                         $8,000.00
              Store Safe Balance - L00059                         $8,000.00
              Store Safe Balance - L00060                         $8,000.00
              Store Safe Balance - L00063                         $8,000.00
              Store Safe Balance - L00076                        $10,000.00
              Store Safe Balance - L00078                         $9,000.00
              Store Safe Balance - L00079                        $10,000.00
              Store Safe Balance - L00080                         $9,000.00
              Store Safe Balance - L00082                         $8,000.00
              Store Safe Balance - L00083                         $8,000.00
              Store Safe Balance - L00084                         $8,000.00
              Store Safe Balance - L00085                         $8,000.00
              Store Safe Balance - L00087                         $8,000.00
              Store Safe Balance - L00088                         $8,000.00
              Store Safe Balance - L00090                         $8,000.00
              Store Safe Balance - L00091                         $8,000.00
              Store Safe Balance - L00092                         $9,000.00
              Store Safe Balance - L00093                         $9,000.00
              Store Safe Balance - L00096                        $10,000.00
              Store Safe Balance - L00097                         $8,000.00
              Store Safe Balance - L00098                         $8,000.00


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                                Case No. 19-80075 (TLS)
                    Schedule A/B: Part 1, Question 2 - Cash on Hand

                                                       Current Value of
                     Description of Property           Debtor's Interest
              Store Safe Balance - L00099                        $10,000.00
              Store Safe Balance - L00100                         $9,000.00
              Store Safe Balance - L00101                         $8,000.00
              Store Safe Balance - L00102                        $11,000.00
              Store Safe Balance - L00104                         $8,000.00
              Store Safe Balance - L00105                         $8,000.00
              Store Safe Balance - L00106                        $10,000.00
              Store Safe Balance - L00108                         $8,000.00
              Store Safe Balance - L00109                         $8,000.00
              Store Safe Balance - L00111                         $9,000.00
              Store Safe Balance - L00112                         $9,000.00
              Store Safe Balance - L00113                         $8,000.00
              Store Safe Balance - L00114                        $10,000.00
              Store Safe Balance - L00116                         $8,000.00
              Store Safe Balance - L00119                         $8,000.00
              Store Safe Balance - L00120                         $9,000.00
              Store Safe Balance - L00122                         $8,000.00
              Store Safe Balance - L00125                         $9,000.00
              Store Safe Balance - L00127                         $8,000.00
              Store Safe Balance - L00128                         $9,000.00
              Store Safe Balance - L00129                         $8,000.00
              Store Safe Balance - L00130                        $10,000.00
              Store Safe Balance - L00132                         $9,000.00
              Store Safe Balance - L00133                        $13,000.00
              Store Safe Balance - L00134                         $8,000.00
              Store Safe Balance - L00164                         $8,000.00
              Store Safe Balance - L00170                         $8,000.00
              Store Safe Balance - L00171                         $8,000.00
              Store Safe Balance - L00172                         $8,000.00
              Store Safe Balance - L00175                         $8,000.00
              Store Safe Balance - L00177                         $9,000.00


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                                Case No. 19-80075 (TLS)
                    Schedule A/B: Part 1, Question 2 - Cash on Hand

                                                       Current Value of
                     Description of Property           Debtor's Interest
              Store Safe Balance - L00178                         $8,000.00
              Store Safe Balance - L00179                         $9,000.00
              Store Safe Balance - L00200                             $0.00
              Store Safe Balance - L00201                         $2,500.00
              Store Safe Balance - L00202                             $0.00
              Store Safe Balance - L00203                         $3,000.00
              Store Safe Balance - L00205                         $2,500.00
              Store Safe Balance - L00206                         $4,000.00
              Store Safe Balance - L00207                         $3,500.00
              Store Safe Balance - L00208                             $0.00
              Store Safe Balance - L00209                             $0.00
              Store Safe Balance - L00211                         $3,000.00
              Store Safe Balance - L00212                             $0.00
              Store Safe Balance - L00213                             $0.00
              Store Safe Balance - L00214                             $0.00
              Store Safe Balance - L00215                         $1,500.00
              Store Safe Balance - L00216                         $2,000.00
              Store Safe Balance - L00217                         $1,000.00
              Store Safe Balance - L00218                         $1,000.00
              Store Safe Balance - L00501                         $3,000.00
              Store Safe Balance - L00502                         $3,500.00
              Store Safe Balance - L00503                         $3,000.00
              Store Safe Balance - L00504                         $3,000.00
              Store Safe Balance - L00505                         $3,500.00
              Store Safe Balance - L00509                             $0.00
              Store Safe Balance - L00510                         $1,500.00
              Store Safe Balance - L00512                         $2,500.00
              Store Safe Balance - L00520                         $5,000.00
              Store Safe Balance - L00523                         $3,000.00
              Store Safe Balance - L00526                         $4,000.00
              Store Safe Balance - L00528                         $2,000.00


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                                                       Current Value of
                     Description of Property           Debtor's Interest
              Store Safe Balance - L00529                         $1,500.00
              Store Safe Balance - L00532                         $6,000.00
              Store Safe Balance - L00533                             $0.00
              Store Safe Balance - L00534                         $2,500.00
              Store Safe Balance - L00535                         $2,500.00
              Store Safe Balance - L00536                         $2,500.00
              Store Safe Balance - L00537                         $2,500.00
              Store Safe Balance - L00538                         $2,500.00
              Store Safe Balance - L00539                         $6,500.00
              Store Safe Balance - L00540                         $5,000.00
              Store Safe Balance - L00541                         $2,500.00
              Store Safe Balance - L00542                         $4,000.00
              Store Safe Balance - L00543                         $2,500.00
              Store Safe Balance - L00545                         $4,000.00
              Store Safe Balance - L00546                         $2,500.00
              Store Safe Balance - L00547                         $2,500.00
              Store Safe Balance - L00548                         $2,500.00
              Store Safe Balance - L00549                             $0.00
              Store Safe Balance - L00550                         $1,500.00
              Store Safe Balance - L00551                         $2,500.00
              Store Safe Balance - L00552                         $2,500.00
              Store Safe Balance - L00553                         $2,500.00
              Store Safe Balance - L00554                         $5,000.00
              Store Safe Balance - L00555                         $2,500.00
              Store Safe Balance - L00556                         $3,000.00
              Store Safe Balance - L00557                         $3,000.00
              Store Safe Balance - L00558                         $2,500.00
              Store Safe Balance - L00559                         $3,000.00
              Store Safe Balance - L00560                         $2,500.00
              Store Safe Balance - L00561                         $3,000.00
              Store Safe Balance - L00562                         $3,000.00


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                                                       Current Value of
                     Description of Property           Debtor's Interest
              Store Safe Balance - L00563                         $3,000.00
              Store Safe Balance - L00564                         $3,000.00
              Store Safe Balance - L00565                         $3,000.00
              Store Safe Balance - L00566                         $2,500.00
              Store Safe Balance - L00567                         $3,000.00
              Store Safe Balance - L00568                         $2,500.00
              Store Safe Balance - L00569                         $2,500.00
              Store Safe Balance - L00570                         $2,500.00
              Store Safe Balance - L00571                         $2,500.00
              Store Safe Balance - L00572                         $3,000.00
              Store Safe Balance - L00573                         $3,000.00
              Store Safe Balance - L00574                         $3,000.00
              Store Safe Balance - L00575                         $5,000.00
              Store Safe Balance - L00576                         $5,000.00
              Store Safe Balance - L00577                             $0.00
              Store Safe Balance - L00578                         $3,500.00
              Store Safe Balance - L00579                         $2,500.00
              Store Safe Balance - L00580                         $3,000.00
              Store Safe Balance - L00581                         $2,500.00
              Store Safe Balance - L00582                         $3,000.00
              Store Safe Balance - L00583                         $2,500.00
              Store Safe Balance - L00584                         $2,500.00
              Store Safe Balance - L00585                         $3,000.00
              Store Safe Balance - L00586                         $3,000.00
              Store Safe Balance - L00587                         $3,000.00
              Store Safe Balance - L00588                         $3,000.00
              Store Safe Balance - L00589                         $2,500.00
              Store Safe Balance - L00592                             $0.00
              Store Safe Balance - L00593                             $0.00
              Store Safe Balance - L00594                         $3,000.00
              Store Safe Balance - L00596                         $2,500.00


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                                                       Current Value of
                     Description of Property           Debtor's Interest
              Store Safe Balance - L00597                         $3,000.00
              Store Safe Balance - L00598                             $0.00
              Store Safe Balance - L00600                         $2,500.00
              Store Safe Balance - L00601                         $3,500.00
              Store Safe Balance - L00602                         $4,000.00
              Store Safe Balance - L00603                             $0.00
              Store Safe Balance - L00604                         $4,500.00
              Store Safe Balance - L00605                         $5,000.00
              Store Safe Balance - L00606                         $4,500.00
              Store Safe Balance - L00607                         $4,000.00
              Store Safe Balance - L00608                         $3,000.00
              Store Safe Balance - L00609                         $3,500.00
              Store Safe Balance - L00610                         $5,000.00
              Store Safe Balance - L00611                         $3,500.00
              Store Safe Balance - L00613                         $2,500.00
              Store Safe Balance - L00615                         $3,000.00
              Store Safe Balance - L00616                         $4,000.00
              Store Safe Balance - L00617                         $3,000.00
              Store Safe Balance - L00618                         $2,500.00
              Store Safe Balance - L00619                         $2,500.00
              Store Safe Balance - L00620                         $3,500.00
              Store Safe Balance - L00621                         $3,000.00
              Store Safe Balance - L00622                         $2,500.00
              Store Safe Balance - L00623                         $2,500.00
              Store Safe Balance - L00624                         $2,500.00
              Store Safe Balance - L00625                         $2,500.00
              Store Safe Balance - L00626                         $2,500.00
              Store Safe Balance - L00627                         $3,000.00
              Store Safe Balance - L00628                         $3,500.00
              Store Safe Balance - L00629                         $3,000.00
              Store Safe Balance - L00630                         $2,500.00


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                                                       Current Value of
                     Description of Property           Debtor's Interest
              Store Safe Balance - L00632                         $3,000.00
              Store Safe Balance - L00633                         $3,000.00
              Store Safe Balance - L00635                         $2,500.00
              Store Safe Balance - L00637                         $2,500.00
              Store Safe Balance - L00638                         $2,500.00
              Store Safe Balance - L00639                         $2,500.00
              Store Safe Balance - L00640                         $2,500.00
              Store Safe Balance - L00641                         $2,500.00
              Store Safe Balance - L00642                         $3,000.00
              Store Safe Balance - L00643                         $2,500.00
              Store Safe Balance - L00644                         $2,500.00
              Store Safe Balance - L00646                         $2,500.00
              Store Safe Balance - L00647                         $2,500.00
              Store Safe Balance - L00648                         $2,500.00
              Store Safe Balance - L00649                         $2,500.00
              Store Safe Balance - L00650                         $3,000.00
              Store Safe Balance - L00651                         $2,500.00
              Store Safe Balance - L00652                         $3,000.00
              Store Safe Balance - L00653                         $3,000.00
              Store Safe Balance - L00656                         $2,500.00
              Store Safe Balance - L00658                         $2,500.00
              Store Safe Balance - L00659                         $2,500.00
              Store Safe Balance - L00660                             $0.00
              Store Safe Balance - L00661                         $2,500.00
              Store Safe Balance - L00662                         $2,500.00
              Store Safe Balance - L00664                         $2,500.00
              Store Safe Balance - L00665                         $2,500.00
              Store Safe Balance - L00667                         $2,500.00
              Store Safe Balance - L00668                         $2,500.00
              Store Safe Balance - L00669                         $2,500.00
              Store Safe Balance - L00670                         $2,500.00


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                                                       Current Value of
                     Description of Property           Debtor's Interest
              Store Safe Balance - L00671                         $2,500.00
              Store Safe Balance - L00672                         $2,500.00
              Store Safe Balance - L00673                         $2,500.00
              Store Safe Balance - L00674                         $2,500.00
              Store Safe Balance - L00675                         $2,500.00
              Store Safe Balance - L00676                         $2,500.00
              Store Safe Balance - L00677                         $3,000.00
              Store Safe Balance - L00678                             $0.00
              Store Safe Balance - L00679                         $2,500.00
              Store Safe Balance - L00680                         $2,500.00
              Store Safe Balance - L00681                         $2,500.00
              Store Safe Balance - L00682                         $2,500.00
              Store Safe Balance - L00683                         $2,500.00
              Store Safe Balance - L00684                         $2,500.00
              Store Safe Balance - L00685                         $2,500.00
              Store Safe Balance - L00686                         $2,500.00
              Store Safe Balance - L00687                         $1,500.00
              Store Safe Balance - L00688                         $2,500.00
              Store Safe Balance - L00689                         $2,500.00
              Store Safe Balance - L00690                         $2,500.00
              Store Safe Balance - L00691                             $0.00
              Store Safe Balance - L00692                         $2,500.00
              Store Safe Balance - L00693                         $2,500.00
              Store Safe Balance - L00694                         $2,500.00
              Store Safe Balance - L00695                         $2,500.00
              Store Safe Balance - L00696                         $2,500.00
              Store Safe Balance - L00697                         $2,500.00
              Store Safe Balance - L00698                         $2,500.00
              Store Safe Balance - L00699                         $2,500.00
              Store Safe Balance - L00700                         $2,500.00
              Store Safe Balance - L00701                         $2,500.00


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                                                        Current Value of
                     Description of Property            Debtor's Interest
              Store Safe Balance - L00702                          $2,500.00
              Store Safe Balance - L00703                          $2,500.00
              Store Safe Balance - L00704                          $2,500.00
              Store Safe Balance - L00705                          $2,500.00
              Store Safe Balance - L00706                          $2,500.00
              Store Safe Balance - L00707                          $2,500.00
              Store Safe Balance - L00708                          $2,500.00
              Store Safe Balance - L00709                          $2,500.00
              Store Safe Balance - L00710                          $2,500.00
              Store Safe Balance - L00711                          $2,500.00
              Store Safe Balance - L00712                              $0.00
              Store Safe Balance - L00716                          $2,500.00
              Store Safe Balance - L00717                          $2,500.00
              Store Safe Balance - L00719                          $2,500.00
              Store Safe Balance - L00720                          $2,500.00
              Store Safe Balance - L00729                          $2,500.00
              Store Safe Balance - L00732                          $2,500.00
              Store Safe Balance - L00733                          $2,500.00
              Store Safe Balance - L00734                          $2,500.00
              Store Safe Balance - L00735                          $2,500.00
              Store Safe Balance - L00736                          $3,000.00
              Store Safe Balance - L00737                          $2,500.00
              Store Safe Balance - L00738                          $4,000.00
              Store Safe Balance - L00739                          $2,500.00
              Store Safe Balance - L00740                          $3,000.00
              Store Safe Balance - L00741                          $3,000.00
              Store Safe Balance - L00742                          $2,500.00
              Store Safe Balance - L00743                          $2,500.00
              Store Safe Balance - L00744                          $3,000.00
              Store Safe Balance - L00745                          $3,500.00
              Store Safe Balance - L00746                          $2,500.00


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                                                        Current Value of
                     Description of Property            Debtor's Interest
              Store Safe Balance - L00747                          $2,500.00
              Store Safe Balance - L00748                          $3,000.00
              Store Safe Balance - L00749                          $2,500.00
              Store Safe Balance - L00750                          $2,500.00
              Store Safe Balance - L00751                          $3,500.00
              Store Safe Balance - L00752                          $3,000.00
              Store Safe Balance - L00753                          $3,000.00
              Store Safe Balance - L00755                          $3,500.00
              Store Safe Balance - L00756                          $2,500.00
              Store Safe Balance - L00757                          $3,000.00
              Store Safe Balance - L00758                          $3,000.00
              Store Safe Balance - L00759                          $3,000.00
              Store Safe Balance - L00760                          $2,500.00
              Store Safe Balance - L00761                          $3,000.00
              Store Safe Balance - L00762                          $2,500.00
              Store Safe Balance - L00763                          $2,500.00
              Store Safe Balance - L00764                          $2,500.00
              Store Safe Balance - L00765                          $2,500.00
              Store Safe Balance - L00766                          $3,500.00
              Store Safe Balance - L00767                          $3,000.00
              Store Safe Balance - L00768                          $5,000.00
              Store Safe Balance - L00769                          $4,000.00
              Store Safe Balance - L00771                          $2,500.00
              Store Safe Balance - L00772                          $3,000.00
              Store Safe Balance - L00773                          $4,000.00
              Store Safe Balance - L00774                          $3,000.00
              Store Safe Balance - L00775                          $3,000.00
              Store Safe Balance - L00776                          $2,500.00
              Store Safe Balance - L00786                          $2,500.00
              Store Safe Balance - L00788                          $3,000.00
              Store Safe Balance - L00789                          $4,000.00


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                                                      Current Value of
                     Description of Property          Debtor's Interest
              Store Safe Balance - L00790                        $4,500.00
              Store Safe Balance - L00791                        $2,500.00
              Store Safe Balance - L00792                        $6,000.00
              Store Safe Balance - L00793                        $3,500.00
              Store Safe Balance - L00794                        $6,000.00
              Store Safe Balance - L00795                        $3,500.00
              Store Safe Balance - L00796                        $3,500.00
              Store Safe Balance - L00797                        $3,000.00
              Store Safe Balance - L00798                        $2,500.00
              Store Safe Balance - L00799                        $2,500.00
                                           TOTAL:           $1,517,428.00




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                                                                               Last 4 digits of    Current Value of Debtor's
             Name of Institution                   Type of Account            account number               Interest
1st Bank & Trust                             Demand Deposit                                   3320                $5,899.31
1st Farmers & Merchants Bank                 Demand Deposit                                   6744                $5,412.35
1st Montana Bank                             Demand Deposit                                   6458               $10,380.70
1st State Bank (Gothenburg)                  Demand Deposit                                   2168                $3,938.23
Adams Community Bank                         Demand Deposit                                   5204                $6,971.19
American State Bank and Trust Co             Demand Deposit                                   8002                $7,477.03
American Trust & Savings                     Demand Deposit                                   2638                $5,756.27
Arcola/Tuscola First National Bank           Demand Deposit                                   3555                $4,861.13
Associated Bank                              Demand Deposit                                   4807             $718,497.43
Associated Bank                              Demand Deposit                                   4647                $6,241.96
Associated Bank                              Demand Deposit                                   4662            $2,481,048.59
Associated Bank                              Demand Deposit                                   4654             $186,223.13
Associated Bank                              Demand Deposit                                   9416             $123,007.34
Associated Bank                              Demand Deposit                                   0366             $148,385.55
Associated Bank                              Demand Deposit                                   5654               $30,777.31
Associated Bank                              Demand Deposit                                   3485                $5,219.22
Associated Bank                              Demand Deposit                                   4102                $3,549.88
Associated Bank                              Demand Deposit                                   2794                    $0.00
Audubon State Bank                           Demand Deposit                                   2178                $3,437.45
Banc Central                                 Demand Deposit                                   5202                $4,629.35
Bank First National                          Demand Deposit                                   3200                $9,236.40
Bank Iowa                                    Demand Deposit                                   2937                $5,451.39
Bank of America                              Demand Deposit                                   0719             $233,833.25
Bank of America                              Demand Deposit                                   2403                    $0.00
Bank of America                              Demand Deposit                                   7337             $268,064.54
Bank of America                              Demand Deposit                                   6347                    $0.00
Bank of America                              Demand Deposit                                   0151                    $0.00
Bank of America                              Demand Deposit                                   0778             $435,544.67
Bank of America                              Controlled Disbursement                          1670                    $0.00
Bank of America                              Controlled Disbursement                          1688                    $0.00
Bank of America                              Controlled Disbursement                          1696                    $0.00


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                                                                             Last 4 digits of    Current Value of Debtor's
              Name of Institution                 Type of Account           account number               Interest
Bank of America                             Controlled Disbursement                         6134                    $0.00
Bank of Greybull                            Demand Deposit                                  1859               $12,666.18
Bank of the West                            Demand Deposit                                  3172                $3,911.95
Bank of the West                            Demand Deposit                                  7476                $5,319.67
BankNorth                                   Demand Deposit                                  5796                $5,652.19
Bethany Trust Co                            Demand Deposit                                  5001                $2,481.06
Black Hills Federal Credit Union            Demand Deposit                                  9002               $13,565.57
Carroll County Trust                        Demand Deposit                                  4369                $9,016.40
Central Bank & Trust                        Demand Deposit                                  6287                $8,004.84
Central Illinois Bank                       Demand Deposit                                  3154                $2,568.86
Central National Bank                       Demand Deposit                                  1179                $8,480.73
Central National Bank                       Demand Deposit                                  0740                $3,464.37
Chemical Bank                               Demand Deposit                                  6820                $4,998.01
Chemical Bank                               Demand Deposit                                  5042                $5,589.81
Chemical Bank & Trust Co.                   Demand Deposit                                  7117               $12,324.53
Choice One Bank                             Demand Deposit                                  6185                $6,348.09
Citizens State Bank                         Demand Deposit                                  6708                $8,553.07
Cobalt Credit Union                         Demand Deposit                                  4613                $8,321.38
Consumer National Bank                      Demand Deposit                                  7664                $2,291.90
CP Federal Credit Union                     Demand Deposit                                  8543                $4,729.91
Dacotah Bank                                Demand Deposit                                  5829                $5,803.22
Dacotah Bank                                Demand Deposit                                  1763                $5,559.26
DeMotte State Bank                          Demand Deposit                                  9403                $4,485.23
Exchange Bank of NE MO                      Demand Deposit                                  0287                $4,129.14
Farmers & Merchants National Bank           Demand Deposit                                  3492                $3,719.55
FCN Bank                                    Demand Deposit                                  8162                $5,047.20
Fidelity Bank                               Demand Deposit                                  3124                $5,795.97
First Bank of Kansas                        Demand Deposit                                  5692                $3,889.58
First Bank of Lyon                          Demand Deposit                                  3550                $5,653.50
First Dakota National Bank                  Demand Deposit                                  1317                $6,072.84
First National Bank (Ainsworth)             Demand Deposit                                  6139                $5,690.46


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                                                                                Last 4 digits of    Current Value of Debtor's
              Name of Institution                 Type of Account              account number               Interest
First National Bank (Greenfield IA)           Demand Deposit                                   9414                $4,141.54
First National Bank (Scott City)              Demand Deposit                                   2550                $4,738.17
First National Bank of Allendale              Demand Deposit                                   2210               $13,977.30
First National Bank of Beloit                 Demand Deposit                                   6700                $4,100.23
First National Bank of Buffalo                Demand Deposit                                   1952                $7,161.50
First National Bank of Hampton                Demand Deposit                                   1291                $5,544.75
First Natl Bank of Moose Lake                 Demand Deposit                                   2201                $6,645.78
First Presidio Bank                           Demand Deposit                                   8339               $16,772.39
First State Bank (Ida Grove)                  Demand Deposit                                   1696                $5,521.00
First State Bank of Newcastle                 Demand Deposit                                   6113                $6,636.98
Fountain Trust                                Demand Deposit                                   9901                $4,892.81
Fountain Trust                                Demand Deposit                                   3901                $8,313.50
Glenwood State Bank                           Demand Deposit                                   1428                $6,407.42
Grant County Bank                             Demand Deposit                                   8834                $5,305.96
Great Western Bank                            Demand Deposit                                   4073                $5,085.14
Great Western Bank                            Demand Deposit                                   4145                $5,264.11
Great Western Bank                            Demand Deposit                                   4110                $7,168.74
Great Western Bank                            Demand Deposit                                   4217                $5,501.13
Great Western Bank                            Demand Deposit                                   4161                $2,388.97
Great Western Bank                            Demand Deposit                                   4209                $6,489.10
Great Western Bank                            Demand Deposit                                   4081                $3,136.59
Great Western Bank                            Demand Deposit                                   4153                $4,190.63
Great Western Bank                            Demand Deposit                                   4196                $3,753.32
Great Western Bank                            Demand Deposit                                   1188                $6,004.36
Houghton State Bank                           Demand Deposit                                   2494                $4,244.95
Johnson Bank                                  Demand Deposit                                   7398                $6,128.68
Lake City Bank                                Demand Deposit                                   5615                $4,613.40
Little Horn State Bank                        Demand Deposit                                   3018                $7,106.72
mBank                                         Demand Deposit                                   9457                $9,390.01
Merchantile Bank of MI                        Demand Deposit                                   4945                $5,573.02
Merchants Bank                                Demand Deposit                                   9227                $5,920.06


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                                                                               Last 4 digits of    Current Value of Debtor's
              Name of Institution                Type of Account              account number               Interest
Mid-Missouri Bank                            Demand Deposit                                   2156                $2,948.65
Miners State Bank                            Demand Deposit                                   0309               $10,392.31
Nebraska State Bank                          Demand Deposit                                   7185                $5,097.39
Northwestern Bank                            Demand Deposit                                   7737                $4,632.18
Old National Bank                            Demand Deposit                                   0113                $5,006.98
People State Bank                            Demand Deposit                                   7169               $14,403.79
Peoples Bank of Kewaunee                     Demand Deposit                                   9108                $5,567.60
Pioneer Bank                                 Demand Deposit                                   5411                $6,298.36
Points West Community Bank                   Demand Deposit                                   9706                $6,660.75
Points West Community Bank                   Demand Deposit                                   1724                $5,408.63
Savanna Thomson State Bank                   Demand Deposit                                   8652                $7,072.20
Security Bank & Trust Co.                    Demand Deposit                                   9844                $5,880.45
Security State Bank                          Demand Deposit                                   3781                $6,285.78
Security State Bank                          Demand Deposit                                   5668                $5,174.19
Shelby County State Bank                     Demand Deposit                                   9502                $6,244.76
State Bank of Arcadia                        Demand Deposit                                   5756               $13,416.57
State Bank of Toledo                         Demand Deposit                                   1278                $6,256.38
State Nebraska Bank & Trust                  Demand Deposit                                   4142                $6,885.18
Stockman Bank                                Demand Deposit                                   3139                $7,302.13
Superior National Bank & Trust               Demand Deposit                                   1775                $7,492.78
TBK Bank                                     Demand Deposit                                   4528                $6,108.65
The Citizens National Bank                   Demand Deposit                                   8560               $12,452.12
The First State Bank (Norton)                Demand Deposit                                   0717                $6,318.26
Titonka Savings Bank                         Demand Deposit                                   2504                $4,118.66
Union State Bank                             Demand Deposit                                   9791                $3,801.41
United Bank & Trust                          Demand Deposit                                   9860                $4,370.06
United Community Bank                        Demand Deposit                                   0397                $8,337.49
United Prairie Bank                          Demand Deposit                                   5143                $8,325.21
United Valley Bank                           Demand Deposit                                   1140                $5,565.71
United Valley Bank                           Demand Deposit                                   4201                $7,945.48
US Bank                                      Demand Deposit                                   2253             $224,683.13


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                                                                             Last 4 digits of     Current Value of Debtor's
             Name of Institution               Type of Account              account number                Interest
WACHOVIA BOC- Back Office Check Acct       Demand Deposit                                   3108                $33,936.73
Waukon State Bank                          Demand Deposit                                   4051                 $7,969.45
Wells Fargo Bank                           Demand Deposit                                   8789             $1,044,267.34
WesBanco                                   Demand Deposit                                   0020                 $3,263.80
West Shore Bank                            Demand Deposit                                   9556                 $8,776.75
Western Bank of Wolf Point                 Demand Deposit                                   5528                $19,657.22
Wisconsin Bank & Trust                     Demand Deposit                                   5890                 $7,146.46
                                                                                           Total:            $6,645,567.39




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         Schedule A/B: Part 2, Question 7: Deposits, including security deposits and utility deposits

                                                                                           Current Value of
 Name of Holder of the Deposit                 Description of the Deposit                  Debtor's Interest
Albion City Utilities            Deposit for L00520 Albion, NE Hometown                                $100.00
Alpine City Utilities            Deposit for L00576 Alpine, TD Hometown                                $200.00
BalBoa                           Deposit on Equipment                                            $108,168.27
Beaver City Utilities            Deposit for L00588 Beaver, UT Hometown                                $300.00
Bonners Ferry City Utilities     Deposit for L00584 Bonners Ferry, ID Hometown                       $8,000.00
Bowman City Utilities            Deposit for L00535 Bowman, ND Hometown                              $5,400.00
Buena Vista City Utilities       Deposit for L00578 Buena Vista, CO Hometown                           $515.00
Burlington City Utilities        Deposit for L00546 Burlington, CO Hometown                          $1,500.00
Canadian City Utilities          Deposit for L00577 Canadian, TX Hometown                              $250.00
Cigna Imprest                    Insurance                                                         $30,001.85
Clarinda City Utilities          Deposit for L00587 Clarinda, IA Hometown                               $75.00
Clifton City Utilities           Deposit for L00202 Clifton, TX Hometown                               $100.00
Dalhart City Utilities           Deposit for L00541 Dalhart, TX Hometown                                $75.00
Dillon City Utilities            Deposit for L00550 Dillon, MT #2 Hometown                             $100.00
Ely City Utilities               Deposit for L00206 Ely, NV Hometown                                 $8,000.00
Fairview City Utilities          Deposit for L00560 Fairview, OK Hometown                            $3,000.00
Gallagher Basset                 Claims Service                                                  $186,000.00
Jacksboro City Utilities         Deposit for L00203 Jacksboro, TX Hometown                             $200.00
Kermit City Utilities            Deposit for L00540 Kermit, TX Hometown                                $200.00
Liberty Mutual                   Insurance                                                       $210,000.00
Lovington City Utilities         Deposit for L00575 Lovington, NM Hometown                              $80.00
Lowell City Utilities            Deposit for L00574 Lowell, IN Hometown                                 $50.00
Milbank City Utilities           Deposit for L00569 Milbank, SD Hometown                               $300.00
Moose Lake City Utilities        Deposit for L00547 Moose Lake, MN Hometown                          $1,500.00
NEOPOST                          Postage                                                           $35,064.76
New Town City Utilities          Deposit for L00532 New Town, ND Hometown                            $7,450.00
Ord City Utililities             Deposit for L00597 Ord, NE Hometown                                   $100.00
Phillipsburg City Utilities      Deposit for L00586 Phillipsburg, KS Hometown                        $3,090.00
Presidio City Utilities          Deposit for L00582 Presidio, TX Hometown                              $155.00
Redfield City Utilities          Deposit for L00558 Redfield, SD Hometown                              $110.00
Roosevelt City Utilities         Deposit for L00798 Roosevelt, UT Hometown                             $225.00


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         Schedule A/B: Part 2, Question 7: Deposits, including security deposits and utility deposits

                                                                                           Current Value of
 Name of Holder of the Deposit                  Description of the Deposit                 Debtor's Interest
Russell City Utilities           Deposit for L00573 Russell, KS Hometown                             $4,167.00
Sentry Insurance                 Insurance                                                         $40,000.00
Seymour City Utilities           Deposit for L00208 Seymour, TX Hometown                             $1,350.00
Springerville City Utilities     Deposit for L00598 Springerville, AZ Hometown                       $5,670.00
Tioga City Utilities             Deposit for L00533 Tioga, ND Hometown                             $15,101.00
UHC                              Prepaid Medical Insurance                                       $110,000.00
Ulysses City Utilities           Deposit for L00536 Ulysses, KS Hometown                             $8,000.00
USPS                             Postage                                                         $119,984.05
WageWorks                        FSA Initial Funding                                               $26,589.07
Wagner City Utilities            Deposit for L00570 Wagner, SD Hometown                                $150.00
Webster City Utilities           Deposit for L00571 Webster, SD Hometown                               $100.00
Yuma City Utilities              Deposit for L00579 Yuma, CO Hometown                                $5,010.00
                                                                              TOTAL:             $946,431.00




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Schedule A/B: Part 2, Question 8 - Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent

                                                                                                    Current Value of
               Name of Holder of the Prepayment               Description of the Prepayment         Debtor's Interest
          IA Dept of Revenue                           Sales and Use Tax                                 $369,995.00
          IA Dept of Revenue                           Sales and Use Tax                                 $369,995.00
          IA Dept of Revenue                           Sales and Use Tax                                 $369,995.00
          IA Dept of Revenue                           Sales and Use Tax                                 $369,995.00
          IA Dept of Revenue                           Sales and Use Tax                                 $369,995.00
          IA Dept of Revenue                           Sales and Use Tax                                 $307,617.00
          IL Dept of Revenue                           Sales and Use Tax                                 $135,383.00
          IL Dept of Revenue                           Sales and Use Tax                                 $135,383.00
          IL Dept of Revenue                           Sales and Use Tax                                 $135,383.00
          IL Dept of Revenue                           Sales and Use Tax                                 $135,383.00
          IL Dept of Revenue                           Sales and Use Tax                                  $56,928.00
          IL Dept of Revenue                           Sales and Use Tax                                  $56,928.00
          KS Dept of Revenue                           Sales and Use Tax                                 $178,841.13
          KS Dept of Revenue                           Sales and Use Tax                                  $98,598.11
          KY Dept of Revenue                           Sales and Use Tax                                   $6,844.49
          KY Dept of Revenue                           Sales and Use Tax                                  $13,403.81
          MI Dept of Revenue                           Sales and Use Tax                                 $310,835.81
          MI Dept of Revenue                           Sales and Use Tax                                 $137,986.90
          MO Dept of Revenue                           Sales and Use Tax                                  $14,050.00
          MO Dept of Revenue                           Sales and Use Tax                                  $14,050.00
          MO Dept of Revenue                           Sales and Use Tax                                  $14,050.00
          MO Dept of Revenue                           Sales and Use Tax                                  $14,050.00
          MO Dept of Revenue                           Sales and Use Tax                                  $14,050.00
          MO Dept of Revenue                           Sales and Use Tax                                  $14,050.00
          OH Dept of Revenue                           Sales and Use Tax                                  $37,848.80
          OH Dept of Revenue                           Sales and Use Tax                                  $16,363.28
          Stamps.com                                   Prepaid stamps                                     $96,546.32
          AFCO                                         D&O Insurance                                      $41,178.01
          AFCO                                         Medicare/Medicaid Bond                             $17,625.66
          AFCO                                         WC, GL, Umbrella, Auto, etc Insurance             $146,139.37
          Premium Assignment Corp                      Property Insurance                                $304,423.08


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                                                                                                    Current Value of
                Name of Holder of the Prepayment              Description of the Prepayment         Debtor's Interest
          Deschutes County, OR                         Prepaid RE & PP Taxes                              $52,896.65
          Lane County, OR                              Prepaid RE & PP Taxes                              $80,720.46
          Marion County, OR                            Prepaid RE & PP Taxes                              $98,923.40
          Shasta County, CA                            Prepaid RE & PP Taxes                               $2,555.73
          White Pine County, NV                        Prepaid RE & PP Taxes                               $3,886.38
          Berkeley Research Group                      Retainer                                          $628,238.42
          Conway, Olejniczak & Jerry                   Retainer                                            $5,000.00
          CoStar Real Estate Manager                   Portfolio Module - License                          $2,347.79
          Ducera                                       Retainer                                          $200,000.00
          Fashion Snoops                               Subscription                                        $9,742.84
          First American Title Insurance Company       Title Policy Fee                                    $4,751.48
          Gordon Brothers                              Retainer                                          $264,432.00
          Hilco                                        Retainer                                           $50,000.00
          Idaho Lottery                                Lottery                                            $23,996.05
          Indiana Lottery                              Lottery                                             $8,345.55
          Infowerks                                    Deposit for Statement of Work                      $95,625.00
          Iowa Lottery                                 Lottery                                            $42,235.12
          IPD Analytics                                Subscription                                        $4,702.40
          Jobin, Brian J                               Prepaid Airfare                                        $487.60
          Kirkland Ellis                               Retainer                                        $1,433,985.29
          Larson, Brianna A                            Prepaid Airfare                                        $487.60
          Meridian                                     Subscription                                       $79,475.02
          Michigan Bureau Of State Lottery             Lottery                                             $4,269.40
          Minnesota Lottery                            Lottery                                                 $73.51
          Nebraska Lottery                             Lottery                                             $3,242.10
          New Relic, Inc.                              Subscription                                        $1,182.86
          Paradigm Tax Group                           Professional Fees                                  $31,019.97
          Parata                                       Maintenance                                       $102,852.87
          PMI                                          Shopko Hall Sponsorship                            $40,125.00
          Prepaid Supplies - Checks                    Prepaid Supplies                                   $11,388.01
          Prepaid Supplies - Hangers                   Prepaid Supplies                                   $66,313.95


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                                                                                                    Current Value of
               Name of Holder of the Prepayment               Description of the Prepayment         Debtor's Interest
          Prepaid Supplies - Script Cards              Prepaid Supplies                                    $1,874.07
          Prime Clerk                                  Retainer                                           $40,000.00
          QuadGraphics                                 February Circulars                                $207,811.45
          SalesForce.com Inc                           Digital Marketing Subscription                    $160,115.69
          SAS Institute Inc-363376                     Marketmax Maintenance Fees                         $34,390.51
          Schinker, Mallory L                          Prepaid Airfare                                     $5,784.03
          Schinker, Mallory L                          Prepaid Airfare                                        $199.70
          SDS-363446/363377                            Annual Support                                    $112,113.44
          SEDANI/DILIP                                 Prepaid Airfare                                        $739.60
          Smart Solutions-363445                       Hardware Maintenance                                $5,222.59
          Smart Solutions-363446                       Software Maintenance                                $6,932.28
          Stibo Systems-356582                         ODBA Support                                        $4,726.41
          Storeworks-363447                            Warranty Extension                                $123,405.61
          Syncsort-363376                              Software Maintenance                              $106,956.68
          SynerComm, Inc.                              Maintenance                                         $5,924.88
          Synercomm-363376                             Premium Maintenance                                $45,643.25
          Synercomm-363377                             WiFi Security                                       $1,377.91
          Synercomm-364350                             SecurID Software                                    $6,686.35
          Texas Lottery                                Lottery                                            $12,794.04
          Therapeutic Research Center                  Subscription                                       $13,617.49
          Thomson Reuters-363376                       OneSource Proper Tax                               $32,185.41
          TraceLink, Inc-363377                        Product track subscription                         $23,024.57
          Trintech-363376                              Support and Maintenance                            $32,256.50
          Vertical-363376                              Software Maintenance and Support                    $7,751.99
          Vertiv-361408                                Preventative Maintenance                            $2,402.85
          Volumatic-363470                             Extended Warranty                                   $5,707.75
          Washington Lottery                           Lottery                                            $58,265.80
          Willkie Farr and Gal                         Retainer                                          $100,000.00
          Wisconsin Lottery                            Lottery                                            $41,859.91
          Yusen Logistics-363376                       iCIS Maintenance                                    $5,550.00
          Zixcorp-363376                               ZixGateway Corporate License                        $3,002.01


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                                                                                                Current Value of
               Name of Holder of the Prepayment              Description of the Prepayment      Debtor's Interest
          2J Investment Group LLC                      L00752 Torrington, WY Hometown                  $2,385.33
          Bridgeport Retail Utah LLC                   Prepaid Rent L00097 West Valley, UT            $29,924.09
          David Bolger Revocable Trust                 L00669 Oelwein, IA Hometown                     $2,071.13
          David Bolger Revocable Trust                 L00670 Wayne, NE Hometown                       $1,766.10
          David Bolger Revocable Trust                 L00767 Worland, WY Hometown                     $2,385.32
                                                                                         TOTAL:    $8,904,071.96




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                                                                                                         Doubtful or Uncollectible    Current Value of Debtor's
                         Description                            Accounts receivable     Face Amount             Accounts                      Interest
1st Farm Credit Services                                       90 days old or less             $35.95                         $0.00                       $35.95
21st Century Cooperative                                       90 days old or less             $34.73                         $0.00                       $34.73
4th Corporation                                                90 days old or less            $811.56                         $0.00                     $811.56
A W A R E Inc                                                  90 days old or less         $26,153.36                         $0.00                  $26,153.36
A/P Vendors with Debit Balances                                90 days old or less      $5,750,664.00                         $0.00               $5,750,664.00
Abbotsford Housing Authority                                   90 days old or less             $40.97                         $0.00                       $40.97
Abbott House                                                   90 days old or less             $38.69                         $0.00                       $38.69
ABCM Corporation dba Bloomfield Care Center                    90 days old or less            $242.02                         $0.00                     $242.02
ABCM Corporation dba Grandview Healthcare Center               90 days old or less            $721.85                         $0.00                      $721.85
ABCM Corporation dba Northgate Care Center                     90 days old or less             $67.89                         $0.00                       $67.89
ABCM Corporation dba Oelwein Health Care                       90 days old or less            $183.37                         $0.00                     $183.37
ABCM Corporation dba Willow Dale Wellness Village              90 days old or less             $17.36                         $0.00                       $17.36
Aberdeen Health and Rehab                                      90 days old or less            $761.33                         $0.00                      $761.33
Abilene USD 435                                                90 days old or less            $643.16                         $0.00                      $643.16
Able Inc                                                       90 days old or less             $74.38                         $0.00                       $74.38
Achievements Inc                                               90 days old or less          $1,144.92                         $0.00                    $1,144.92
Achievements Inc Flower Creek Group Home                       90 days old or less            $186.46                         $0.00                     $186.46
Achievements Inc Montana Ave Group Home                        90 days old or less            $434.74                         $0.00                     $434.74
Adams County Fire District                                     90 days old or less             $39.55                         $0.00                       $39.55
Adams County Health and Human Services                         90 days old or less            $200.00                         $0.00                     $200.00
Adams County Sheriffs Office                                   90 days old or less             $77.97                         $0.00                       $77.97
Adheris, LLC                                                   90 days old or less          $1,611.48                         $0.00                    $1,611.48
Admiral Beverage Corp                                          90 days old or less            $239.99                         $0.00                      $239.99
Adult Learning Systems UP                                      90 days old or less          $1,581.88                         $0.00                    $1,581.88
Advocates Against Domestic Abuse                               90 days old or less            $634.43                         $0.00                      $634.43
Ag Processing Inc                                              90 days old or less            $176.40                         $0.00                      $176.40
AG Systems Inc                                                 90 days old or less             $83.73                         $0.00                       $83.73
Agresource                                                     90 days old or less             $15.48                         $0.00                       $15.48
Agrex Inc                                                      90 days old or less             $38.46                         $0.00                       $38.46
Aicota Health Care Center Inc                                  90 days old or less             $69.42                         $0.00                       $69.42
Ainsworth Community Schools                                    90 days old or less            $400.35                         $0.00                      $400.35
Ainsworth Motors Inc                                           90 days old or less            $154.13                         $0.00                      $154.13
Aitkin County DAC                                              90 days old or less             $49.99                         $0.00                       $49.99
Alger Schoolcraft MDHHS                                        90 days old or less             $23.96                         $0.00                       $23.96


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                                                                                                      Doubtful or Uncollectible    Current Value of Debtor's
                            Description                      Accounts receivable     Face Amount             Accounts                      Interest
Allamakee Co Conservation Board                             90 days old or less             $35.98                         $0.00                      $35.98
Allamakee Community School District                         90 days old or less            $318.24                         $0.00                     $318.24
Allamakee County                                            90 days old or less             $41.33                         $0.00                      $41.33
Allamakee County Engineers Office                           90 days old or less             $40.98                         $0.00                      $40.98
Allamakee Substance Abuse Prevention                        90 days old or less             $23.99                         $0.00                      $23.99
Allegan General Hospital                                    90 days old or less            $142.16                         $0.00                     $142.16
Alpha Inc dba Golden Acres Manor                            90 days old or less             $43.97                         $0.00                      $43.97
Altru Clinic Roseau                                         90 days old or less              $9.48                         $0.00                        $9.48
American Implement Inc                                      90 days old or less             $15.78                         $0.00                      $15.78
American Legion 96                                          90 days old or less            $272.56                         $0.00                     $272.56
AMVC Management Services                                    90 days old or less            $233.64                         $0.00                     $233.64
AMVC Veterinary Services PLC                                90 days old or less            $450.09                         $0.00                     $450.09
Andbe Home Inc                                              90 days old or less            $151.08                         $0.00                     $151.08
Angeli Foods Co                                             90 days old or less             $37.07                         $0.00                      $37.07
Animal Clinic Ltd                                           90 days old or less             $72.90                         $0.00                      $72.90
Anselmo Merna Public School                                 90 days old or less            $119.43                         $0.00                     $119.43
Anthony Police Department                                   90 days old or less             $41.98                         $0.00                      $41.98
Antrim Inn Management LLC DBA Wild Eagle Lodge              90 days old or less            $110.70                         $0.00                     $110.70
Armstrong Ringsted School                                   90 days old or less              $9.99                         $0.00                        $9.99
Arnies Ford Inc                                             90 days old or less            $195.83                         $0.00                     $195.83
Arrowhead Economic Opportunity Agency Inc                   90 days old or less            $173.86                         $0.00                     $173.86
Aspirus Iron River Hospital and Clinic                      90 days old or less            $215.83                         $0.00                     $215.83
Auburn Housing Authority                                    90 days old or less            $202.72                         $0.00                     $202.72
Audubon Chamber of Commerce                                 90 days old or less             $66.84                         $0.00                      $66.84
Audubon Comm School District                                90 days old or less            $691.85                         $0.00                     $691.85
Audubon County Sheriffs Department                          90 days old or less            $128.70                         $0.00                     $128.70
Aurora Plains Academy                                       90 days old or less            $874.76                         $0.00                     $874.76
Avera Medical Group Windom                                  90 days old or less             $62.68                         $0.00                      $62.68
Avera Medical Group Winner                                  90 days old or less             $56.31                         $0.00                      $56.31
Avera Medical Group Worthington                             90 days old or less             $22.20                         $0.00                      $22.20
Avera St Anthonys Hospital                                  90 days old or less            $353.96                         $0.00                     $353.96
Aveyron Homes Inc                                           90 days old or less             $95.39                         $0.00                      $95.39
B and G Industries LLC                                      90 days old or less             $37.61                         $0.00                      $37.61
Bank Forward                                                90 days old or less            $233.66                         $0.00                     $233.66


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                                                                                                    Doubtful or Uncollectible    Current Value of Debtor's
                          Description                      Accounts receivable     Face Amount             Accounts                      Interest
Bank of America                                           90 days old or less        $167,397.53                         $0.00                 $167,397.53
Bank of America                                           90 days old or less            $138.41                         $0.00                      $138.41
Bank of Plentywood                                        90 days old or less             $12.50                         $0.00                       $12.50
Bank of Thermopolis                                       90 days old or less            $672.44                         $0.00                     $672.44
Bank of Ulysses Branch of Johnson State Bank              90 days old or less             $95.17                         $0.00                       $95.17
Baraga County Memorial Hospital                           90 days old or less             $44.94                         $0.00                       $44.94
Baraga County Road Commission                             90 days old or less            $147.42                         $0.00                     $147.42
Barnes County Correction Center                           90 days old or less             $69.95                         $0.00                       $69.95
Bartlett Grain Co LP                                      90 days old or less             $23.28                         $0.00                       $23.28
Bay Port High School                                      90 days old or less             $13.56                         $0.00                       $13.56
Bear Grove dba Greenflash II Inc                          90 days old or less            $347.65                         $0.00                      $347.65
Beatrice Public Schools                                   90 days old or less             $43.45                         $0.00                       $43.45
Beaver Dam Community Hospital                             90 days old or less            $656.14                         $0.00                      $656.14
Behavior Managemnt Systems                                90 days old or less             $86.07                         $0.00                       $86.07
Bejot Feed Lots LLC                                       90 days old or less             $49.17                         $0.00                       $49.17
Belcourt School District 7                                90 days old or less            $802.13                         $0.00                      $802.13
Bell Hospital                                             90 days old or less              $9.52                         $0.00                        $9.52
Belle Fourche Healthcare Center                           90 days old or less            $573.57                         $0.00                     $573.57
Belle Fourche School Dist                                 90 days old or less          $1,162.03                         $0.00                    $1,162.03
Bellevue Public Schools                                   90 days old or less          $1,544.73                         $0.00                    $1,544.73
Bellin Health Foundation                                  90 days old or less          $1,517.18                         $0.00                    $1,517.18
Beloit Health System                                      90 days old or less             $67.44                         $0.00                       $67.44
Benedictine Manor                                         90 days old or less             $47.96                         $0.00                       $47.96
Benedictine Villa                                         90 days old or less             $66.93                         $0.00                       $66.93
Benjamins House Emergency Shelter                         90 days old or less            $590.24                         $0.00                      $590.24
Benton County Human Services                              90 days old or less            $115.64                         $0.00                      $115.64
Bert and Wetta                                            90 days old or less              $0.27                         $0.00                        $0.27
Bertrand Nursing Home                                     90 days old or less            $105.13                         $0.00                     $105.13
Bessette Motors Inc                                       90 days old or less              $9.62                         $0.00                        $9.62
Bestland Of Coeurd'Alene ID LLC                           90 days old or less             $25.80                         $0.00                       $25.80
Bethany Lutheran Homes                                    90 days old or less            $416.78                         $0.00                      $416.78
Bethesda Home                                             90 days old or less             $23.41                         $0.00                       $23.41
Bethune School District R 5                               90 days old or less             $14.99                         $0.00                       $14.99
Beulah School District No 27                              90 days old or less             $19.60                         $0.00                       $19.60


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                                                                                                         Doubtful or Uncollectible    Current Value of Debtor's
                         Description                            Accounts receivable     Face Amount             Accounts                      Interest
Big Horn County                                                90 days old or less              $37.97                        $0.00                       $37.97
Big Horn Enterprises Inc                                       90 days old or less              $12.98                        $0.00                       $12.98
Big Horn Tire Inc                                              90 days old or less              $80.23                        $0.00                       $80.23
Big Spring Spa Inc dba Days Inn                                90 days old or less              $90.06                        $0.00                       $90.06
Birchwood Chevrolet Buick                                      90 days old or less            $151.93                         $0.00                      $151.93
Black Hills Special Services                                   90 days old or less            $864.28                         $0.00                     $864.28
Blackhawk Network                                              90 days old or less         $10,665.00                         $0.00                  $10,665.00
Bloomfield Police Dept                                         90 days old or less              $25.93                        $0.00                       $25.93
Blu Mountain LLC                                               90 days old or less            $154.97                         $0.00                     $154.97
Blue Mound Tower Luverne HRA                                   90 days old or less              $40.47                        $0.00                       $40.47
Blue Mountain Action Council                                   90 days old or less              $57.97                        $0.00                       $57.97
Blue Rock Products Co Admin Offices                            90 days old or less              $81.60                        $0.00                       $81.60
Blue Valley Community Action Inc                               90 days old or less          $3,333.72                         $0.00                    $3,333.72
Blue Waters Devel Corp DBA Superior Shores Resort              90 days old or less            $105.60                         $0.00                     $105.60
Board of Public Works                                          90 days old or less              $86.01                        $0.00                       $86.01
Board of Trustees of John Wood Community College               90 days old or less            $193.96                         $0.00                      $193.96
Bongards Creameries                                            90 days old or less              $92.22                        $0.00                       $92.22
Boone Central Schools                                          90 days old or less            $336.61                         $0.00                      $336.61
Boone County Conservation District                             90 days old or less              $47.07                        $0.00                       $47.07
Boone County Health Center                                     90 days old or less            $219.89                         $0.00                     $219.89
Border State Bank                                              90 days old or less               $9.61                        $0.00                        $9.61
Borg Pioneer Memorial Home                                     90 days old or less              $39.98                        $0.00                       $39.98
Boulder Estates                                                90 days old or less               $5.81                        $0.00                        $5.81
Boundary Waters Care Center                                    90 days old or less            $166.61                         $0.00                      $166.61
Bowman County                                                  90 days old or less              $20.37                        $0.00                       $20.37
Bowman Lodge LLC                                               90 days old or less              $69.50                        $0.00                       $69.50
Bremer Bank                                                    90 days old or less              $68.01                        $0.00                       $68.01
Brickner Woolen Mills                                          90 days old or less            $200.89                         $0.00                     $200.89
Bridgeview Estates                                             90 days old or less           $2,305.60                        $0.00                    $2,305.60
Brockway Company                                               90 days old or less            $122.28                         $0.00                      $122.28
Brockway Mechanical and Roofing Inc                            90 days old or less            $101.00                         $0.00                     $101.00
Brodstone Memorial Hospital                                    90 days old or less              $47.61                        $0.00                       $47.61
Broken Bow Police Department                                   90 days old or less              $20.27                        $0.00                       $20.27
Broken Bow Public School                                       90 days old or less            $200.54                         $0.00                     $200.54


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                            Description                     Accounts receivable     Face Amount             Accounts                      Interest
Brown Co                                                   90 days old or less             $39.72                         $0.00                       $39.72
Brown County                                               90 days old or less             $71.96                         $0.00                       $71.96
Brown County Hospital                                      90 days old or less             $77.25                         $0.00                       $77.25
Brown County Sheriffs Office                               90 days old or less             $34.22                         $0.00                       $34.22
Browns Accents                                             90 days old or less            $301.41                         $0.00                      $301.41
Brule County                                               90 days old or less              $8.98                         $0.00                        $8.98
Brule County Cooperative                                   90 days old or less             $34.04                         $0.00                       $34.04
Buffalo Bulletin                                           90 days old or less             $17.04                         $0.00                       $17.04
Bulldog Media Group Inc                                    90 days old or less             $80.90                         $0.00                       $80.90
Burgess Health Center                                      90 days old or less            $892.62                         $0.00                      $892.62
Burlington Elementary School                               90 days old or less            $148.96                         $0.00                      $148.96
Burlington School District 244 Central Office              90 days old or less             $25.27                         $0.00                       $25.27
Burns Insurance Agency Inc Torrington                      90 days old or less            $286.64                         $0.00                      $286.64
Burr Plumbing and Heating Inc                              90 days old or less            $119.06                         $0.00                      $119.06
Butte County                                               90 days old or less            $286.70                         $0.00                     $286.70
Butte County Ambulance Service                             90 days old or less            $180.10                         $0.00                      $180.10
BW of Wheatland                                            90 days old or less              $5.98                         $0.00                        $5.98
C and B Operations LLC                                     90 days old or less            $230.76                         $0.00                     $230.76
Cactus Family Farms LLC                                    90 days old or less            $157.65                         $0.00                     $157.65
Cahill Funeral Chapel Inc                                  90 days old or less            $104.76                         $0.00                     $104.76
Canby Developmental Achievement Center                     90 days old or less             $79.98                         $0.00                       $79.98
Canyon County Ambulance District                           90 days old or less             $67.97                         $0.00                       $67.97
Cardinal IG                                                90 days old or less             $11.16                         $0.00                       $11.16
Cardinal of Minnesota                                      90 days old or less          $6,571.82                         $0.00                    $6,571.82
Career Solutions                                           90 days old or less            $127.98                         $0.00                     $127.98
Carl Zeiss                                                 90 days old or less         $34,722.23                         $0.00                  $34,722.23
Carls Repair                                               90 days old or less             $19.22                         $0.00                       $19.22
Carrington Health Center Auxiliary                         90 days old or less            $288.94                         $0.00                      $288.94
Carrington School District 49                              90 days old or less            $124.97                         $0.00                      $124.97
Carroll County Area YMCA                                   90 days old or less             $90.06                         $0.00                       $90.06
Carroll County Clerks Office                               90 days old or less            $223.43                         $0.00                     $223.43
Carroll County Memorial Hospital                           90 days old or less             $32.16                         $0.00                       $32.16
Carroll County Trust Company                               90 days old or less            $144.56                         $0.00                      $144.56
Carrollton Municipal Utilities                             90 days old or less             $75.96                         $0.00                       $75.96


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                             Description                         Accounts receivable     Face Amount             Accounts                      Interest
Carrollton R VII School District                                90 days old or less            $182.49                         $0.00                      $182.49
Catholic Charities of the Diocese of Yakima                     90 days old or less          $2,020.32                         $0.00                    $2,020.32
Cavalier Baptist Church                                         90 days old or less             $24.60                         $0.00                       $24.60
CBH Cooperative                                                 90 days old or less             $52.05                         $0.00                       $52.05
CBH Cooperative Sturgis                                         90 days old or less            $215.17                         $0.00                      $215.17
CBH Cooperative Belle Fourche                                   90 days old or less            $166.80                         $0.00                      $166.80
Cedar Shore Resort                                              90 days old or less            $464.63                         $0.00                     $464.63
Cedar Valley Services Inc                                       90 days old or less             $80.00                         $0.00                       $80.00
CELCO                                                           90 days old or less             $38.80                         $0.00                       $38.80
Celebration Baptist Church                                      90 days old or less             $45.99                         $0.00                       $45.99
Center Creek Pork Inc                                           90 days old or less            $225.51                         $0.00                      $225.51
Center for People in Need Inc                                   90 days old or less         $18,685.78                         $0.00                  $18,685.78
Center Mutual Insurance Company                                 90 days old or less             $12.98                         $0.00                       $12.98
Central Minnesota Jobs and Training Services                    90 days old or less            $117.97                         $0.00                      $117.97
Central National Bank                                           90 days old or less             $80.37                         $0.00                       $80.37
Central Nebraska Community Action Partnership Inc               90 days old or less             $32.12                         $0.00                       $32.12
Central Nebraska Public Power and Irrigation Distr              90 days old or less             $30.46                         $0.00                       $30.46
Central Plains Center for Services                              90 days old or less             $83.42                         $0.00                       $83.42
Central WI Plumbing Heating and Electrical                      90 days old or less             $35.06                         $0.00                       $35.06
Chaddock                                                        90 days old or less          $1,441.36                         $0.00                    $1,441.36
Chamberlain School Dist                                         90 days old or less            $105.94                         $0.00                     $105.94
Chargeback Credits                                              90 days old or less          $5,125.94                         $0.00                    $5,125.94
Chelsea Public Library                                          90 days old or less             $16.40                         $0.00                       $16.40
Cherokee Specialty Care                                         90 days old or less             $50.27                         $0.00                       $50.27
Cherry County NE                                                90 days old or less             $48.37                         $0.00                       $48.37
Cherry Hills Estates LLC                                        90 days old or less            $115.41                         $0.00                     $115.41
Cheryl Loatsch Studio                                           90 days old or less            $109.43                         $0.00                     $109.43
Child Development Services                                      90 days old or less              $5.88                         $0.00                        $5.88
Childrens Corner                                                90 days old or less            $421.24                         $0.00                      $421.24
Children's Home Society                                         90 days old or less            $140.83                         $0.00                      $140.83
Children's Home Society                                         90 days old or less            $491.45                         $0.00                      $491.45
Chippewa Valley Free Clinic                                     90 days old or less              $8.99                         $0.00                        $8.99
Chosen Valley Care Center                                       90 days old or less             $16.14                         $0.00                       $16.14
Christ the King                                                 90 days old or less             $14.65                         $0.00                       $14.65


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                             Description                   Accounts receivable     Face Amount             Accounts                      Interest
Christ The King Free Lutheran Church                      90 days old or less             $31.97                         $0.00                       $31.97
Christian Church of Burlington                            90 days old or less             $17.96                         $0.00                       $17.96
Christian Homes Inc                                       90 days old or less             $69.92                         $0.00                       $69.92
Christian Life Center                                     90 days old or less             $30.94                         $0.00                       $30.94
Christian Park Village                                    90 days old or less          $4,763.27                         $0.00                    $4,763.27
Church of Christ                                          90 days old or less             $67.87                         $0.00                       $67.87
Church of St Catherine                                    90 days old or less            $411.23                         $0.00                     $411.23
Citizen Publishing Co Inc                                 90 days old or less             $52.53                         $0.00                       $52.53
City County Health District                               90 days old or less             $30.80                         $0.00                       $30.80
City of Aberdeen                                          90 days old or less            $262.70                         $0.00                     $262.70
City of Albany                                            90 days old or less            $138.36                         $0.00                     $138.36
City of Albion                                            90 days old or less             $40.96                         $0.00                       $40.96
City of Anthony                                           90 days old or less             $76.67                         $0.00                       $76.67
City of Arcadia                                           90 days old or less             $33.97                         $0.00                       $33.97
City of Attica                                            90 days old or less              $9.09                         $0.00                        $9.09
City of Audubon                                           90 days old or less             $22.77                         $0.00                       $22.77
City of Austin Park and Recreation                        90 days old or less             $60.75                         $0.00                       $60.75
City of Belle Fourche                                     90 days old or less            $618.00                         $0.00                     $618.00
City of Beloit                                            90 days old or less             $19.99                         $0.00                       $19.99
City of Blencoe                                           90 days old or less             $99.53                         $0.00                       $99.53
City of Broken Bow                                        90 days old or less             $19.67                         $0.00                       $19.67
City of Buffalo                                           90 days old or less             $48.05                         $0.00                       $48.05
City of Burlington City Hall                              90 days old or less            $134.25                         $0.00                     $134.25
City of Burlington Police Dept                            90 days old or less             $96.65                         $0.00                       $96.65
City of Carrington                                        90 days old or less          $2,325.61                         $0.00                    $2,325.61
City of Cavalier                                          90 days old or less             $11.57                         $0.00                       $11.57
City of Chamberlain                                       90 days old or less             $98.09                         $0.00                       $98.09
City of Chippewa Falls                                    90 days old or less            $208.98                         $0.00                     $208.98
City of Clintonville                                      90 days old or less             $42.02                         $0.00                       $42.02
City of Coeurd'Alene                                      90 days old or less             $29.99                         $0.00                       $29.99
City of Cokato                                            90 days old or less             $15.38                         $0.00                       $15.38
City of Dillon                                            90 days old or less            $226.50                         $0.00                     $226.50
City of Dixon Fire Department                             90 days old or less            $658.61                         $0.00                     $658.61
City of Doniphan                                          90 days old or less             $19.99                         $0.00                       $19.99


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                           Description                    Accounts receivable     Face Amount             Accounts                      Interest
City of Emerson                                          90 days old or less             $47.04                         $0.00                      $47.04
City of Estherville                                      90 days old or less            $259.98                         $0.00                     $259.98
City of Fairview                                         90 days old or less            $123.86                         $0.00                     $123.86
City of Falls City General                               90 days old or less             $68.07                         $0.00                      $68.07
City of Forest City IA                                   90 days old or less            $110.12                         $0.00                     $110.12
City of Fort Madison                                     90 days old or less             $52.98                         $0.00                      $52.98
City of Gallatin Police                                  90 days old or less            $106.56                         $0.00                     $106.56
City of Glenwood                                         90 days old or less             $73.22                         $0.00                      $73.22
City of Gothenburg                                       90 days old or less            $119.82                         $0.00                     $119.82
City of Grafton                                          90 days old or less             $66.64                         $0.00                      $66.64
City of Hardin                                           90 days old or less             $14.99                         $0.00                      $14.99
City of Harlan                                           90 days old or less             $54.10                         $0.00                      $54.10
City of Harpers Ferry                                    90 days old or less             $73.94                         $0.00                      $73.94
City of Helena                                           90 days old or less             $24.98                         $0.00                      $24.98
City of Holdrege                                         90 days old or less            $193.20                         $0.00                     $193.20
City of Holdrege Electric and Water                      90 days old or less             $11.50                         $0.00                      $11.50
City of Hot Springs                                      90 days old or less             $37.26                         $0.00                      $37.26
City of Humboldt                                         90 days old or less            $255.63                         $0.00                     $255.63
City of Ishpeming                                        90 days old or less            $125.10                         $0.00                     $125.10
City of Kenosha                                          90 days old or less            $101.91                         $0.00                     $101.91
City of Kermit                                           90 days old or less             $23.33                         $0.00                      $23.33
City of Lovington                                        90 days old or less            $212.10                         $0.00                     $212.10
City of Luverne                                          90 days old or less             $38.87                         $0.00                      $38.87
City of Manistique                                       90 days old or less             $61.92                         $0.00                      $61.92
City of Marquette                                        90 days old or less            $262.37                         $0.00                     $262.37
City of Marshfield                                       90 days old or less             $17.99                         $0.00                      $17.99
City of Missoula                                         90 days old or less            $121.91                         $0.00                     $121.91
City of Missouri Valley                                  90 days old or less             $70.31                         $0.00                      $70.31
City of Mitchell                                         90 days old or less              $8.72                         $0.00                        $8.72
City of Monmouth                                         90 days old or less             $32.94                         $0.00                      $32.94
City of Monticello                                       90 days old or less             $48.33                         $0.00                      $48.33
City of Moose Lake                                       90 days old or less             $13.47                         $0.00                      $13.47
City of Morris                                           90 days old or less             $59.99                         $0.00                      $59.99
City of Mt Carmel                                        90 days old or less            $158.12                         $0.00                     $158.12


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                            Description                     Accounts receivable     Face Amount             Accounts                      Interest
City of Neillsville Library                                90 days old or less              $9.99                         $0.00                        $9.99
City of Neillsville Water and Sewer Utilities              90 days old or less            $193.05                         $0.00                     $193.05
City of Newcastle                                          90 days old or less            $101.15                         $0.00                     $101.15
City of Norton                                             90 days old or less            $283.92                         $0.00                     $283.92
City of O Neill                                            90 days old or less              $1.52                         $0.00                        $1.52
City of Odebolt                                            90 days old or less             $84.98                         $0.00                      $84.98
City of Omaha                                              90 days old or less             $15.99                         $0.00                      $15.99
City of Perham                                             90 days old or less            $116.33                         $0.00                     $116.33
City of Perry                                              90 days old or less            $128.53                         $0.00                     $128.53
City of Pipestone                                          90 days old or less             $25.98                         $0.00                      $25.98
City of Plentywood                                         90 days old or less             $23.96                         $0.00                      $23.96
City of Prosser                                            90 days old or less            $249.77                         $0.00                     $249.77
City of Redfield                                           90 days old or less              $2.34                         $0.00                        $2.34
City of Rochester                                          90 days old or less            $191.06                         $0.00                     $191.06
City of Rushmore                                           90 days old or less             $53.95                         $0.00                      $53.95
City of Russell Non Taxable                                90 days old or less             $22.09                         $0.00                      $22.09
City of Scott City                                         90 days old or less             $52.98                         $0.00                      $52.98
City of Seneca                                             90 days old or less            $392.10                         $0.00                     $392.10
City of Sheldon                                            90 days old or less            $134.88                         $0.00                     $134.88
City of Sioux City                                         90 days old or less              $9.00                         $0.00                        $9.00
City of Sisseton                                           90 days old or less            $542.44                         $0.00                     $542.44
City of St James Government                                90 days old or less            $106.97                         $0.00                     $106.97
City of Steamboat Rock                                     90 days old or less             $11.98                         $0.00                      $11.98
City of Sturgis                                            90 days old or less            $612.15                         $0.00                     $612.15
City of Superior                                           90 days old or less             $18.32                         $0.00                      $18.32
City of Superior Utilities                                 90 days old or less             $86.67                         $0.00                      $86.67
City of Tama                                               90 days old or less             $40.46                         $0.00                      $40.46
City of Tecumseh                                           90 days old or less             $15.00                         $0.00                      $15.00
City of Toledo                                             90 days old or less              $6.49                         $0.00                        $6.49
City of Veblen                                             90 days old or less            $839.43                         $0.00                     $839.43
City of Watertown                                          90 days old or less            $145.43                         $0.00                     $145.43
City of Wayne                                              90 days old or less            $117.11                         $0.00                     $117.11
City of Winner                                             90 days old or less            $125.50                         $0.00                     $125.50
City of Winner Police Dept                                 90 days old or less            $817.90                         $0.00                     $817.90


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                          Description                           Accounts receivable     Face Amount             Accounts                      Interest
City of Winterset                                              90 days old or less            $466.57                         $0.00                     $466.57
City of Wisconsin Rapids                                       90 days old or less            $192.36                         $0.00                     $192.36
City of Worthington                                            90 days old or less             $94.26                         $0.00                       $94.26
City of Yuma                                                   90 days old or less             $62.97                         $0.00                       $62.97
City Warroad                                                   90 days old or less             $27.99                         $0.00                       $27.99
Clarinda Chamber of Commerce                                   90 days old or less             $25.97                         $0.00                       $25.97
Clarion Goldfield Dows Community School District               90 days old or less            $261.42                         $0.00                     $261.42
Clarion Public Library                                         90 days old or less             $58.97                         $0.00                       $58.97
Clark Co Forestry and Parks                                    90 days old or less             $22.36                         $0.00                       $22.36
Clark County Rehab Living Center Resident Account              90 days old or less             $24.30                         $0.00                       $24.30
Clark County Rehabilitation and Living Center                  90 days old or less            $502.40                         $0.00                     $502.40
Clark County Social Services                                   90 days old or less            $170.55                         $0.00                     $170.55
Clay Center Carnegie Library                                   90 days old or less             $51.98                         $0.00                       $51.98
Clay Center Municipal Fire Department                          90 days old or less             $86.32                         $0.00                       $86.32
Clean Harbors                                                  90 days old or less            $681.28                         $0.00                     $681.28
Clearview Estates                                              90 days old or less            $171.75                         $0.00                      $171.75
Clearview Home                                                 90 days old or less             $58.78                         $0.00                       $58.78
Clearwater Care Center                                         90 days old or less             $15.25                         $0.00                       $15.25
Client Community Services Inc 216                              90 days old or less            $182.81                         $0.00                     $182.81
Clintonville Firemans Association                              90 days old or less             $58.82                         $0.00                       $58.82
Clintonville Public School District                            90 days old or less            $195.26                         $0.00                     $195.26
Cloud Peak Counseling Center                                   90 days old or less             $12.28                         $0.00                       $12.28
Coeurd'Alene School District 271                               90 days old or less             $83.95                         $0.00                       $83.95
Coffey County Courthouse                                       90 days old or less             $23.55                         $0.00                       $23.55
Coffey County Extension Council                                90 days old or less             $74.75                         $0.00                       $74.75
Coffey County Sheriffs Office                                  90 days old or less             $19.50                         $0.00                       $19.50
Coinstar, LLC                                                  90 days old or less        $147,284.51                         $0.00                 $147,284.51
Colby Abbotsford Police Department                             90 days old or less             $79.98                         $0.00                       $79.98
Colome Cons School Dist 59 3                                   90 days old or less             $49.90                         $0.00                       $49.90
Colonial Center                                                90 days old or less             $18.98                         $0.00                       $18.98
Columbus Catholic Schools                                      90 days old or less            $240.00                         $0.00                     $240.00
Communicare Inc                                                90 days old or less          $2,286.86                         $0.00                    $2,286.86
Community Action Coalition for South Central WI                90 days old or less            $744.62                         $0.00                     $744.62
Community Ambulance Dist of Daviess County                     90 days old or less             $83.77                         $0.00                       $83.77


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Community Ambulance Service Inc                                 90 days old or less            $117.68                         $0.00                      $117.68
Community Care Center of Monmouth                               90 days old or less            $137.23                         $0.00                     $137.23
Community Connections Inc                                       90 days old or less            $471.63                         $0.00                     $471.63
Community Entry Services Inc                                    90 days old or less            $132.62                         $0.00                      $132.62
Community Hospital                                              90 days old or less            $745.07                         $0.00                     $745.07
Community Medical Center                                        90 days old or less            $139.96                         $0.00                     $139.96
Community Medical Center Inc                                    90 days old or less             $23.94                         $0.00                       $23.94
Community Opportunities dba New Opportunities                   90 days old or less          $1,034.11                         $0.00                    $1,034.11
Community Options and Resources                                 90 days old or less            $273.90                         $0.00                     $273.90
Community Services of Franklin County                           90 days old or less             $45.46                         $0.00                       $45.46
Community Springs Healthcare                                    90 days old or less            $125.89                         $0.00                      $125.89
Compass Behavioral Health                                       90 days old or less             $59.33                         $0.00                       $59.33
Comprehensive Systems Inc Resident Trust Account                90 days old or less            $159.97                         $0.00                     $159.97
Concerned Inc                                                   90 days old or less            $369.23                         $0.00                     $369.23
Confederated Tribes and Bands of the Yakama Nation              90 days old or less         $19,549.41                         $0.00                  $19,549.41
Consolidated Edison Development                                 90 days old or less             $46.96                         $0.00                       $46.96
Converse Co School Dist No One                                  90 days old or less             $78.07                         $0.00                       $78.07
Converse County Extension                                       90 days old or less              $5.00                         $0.00                        $5.00
Converse County Library                                         90 days old or less            $139.25                         $0.00                      $139.25
Corn Belt Power Cooperative                                     90 days old or less             $45.98                         $0.00                       $45.98
COT Enterprise dba Shell Southside Travel Center                90 days old or less             $16.28                         $0.00                       $16.28
Coteau des Prairies Hospital                                    90 days old or less             $24.99                         $0.00                       $24.99
Cottonwood County Attorney                                      90 days old or less             $85.93                         $0.00                       $85.93
Counterpoint Inc                                                90 days old or less             $20.98                         $0.00                       $20.98
Country Pride Coop Inc                                          90 days old or less            $215.78                         $0.00                      $215.78
County of Boone Nebraska Courthouse                             90 days old or less             $17.93                         $0.00                       $17.93
County of Daviess                                               90 days old or less             $66.00                         $0.00                       $66.00
County of Grant Orchard Manor                                   90 days old or less            $205.58                         $0.00                      $205.58
County of Grant Orchard Manor Residents                         90 days old or less            $235.34                         $0.00                      $235.34
County of Platte                                                90 days old or less             $17.98                         $0.00                       $17.98
County of Rock                                                  90 days old or less             $93.95                         $0.00                       $93.95
County of Sauk                                                  90 days old or less             $64.14                         $0.00                       $64.14
CoVantage Credit Union                                          90 days old or less            $216.58                         $0.00                     $216.58
Crest Services                                                  90 days old or less             $60.95                         $0.00                       $60.95


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                         Description                    Accounts receivable     Face Amount             Accounts                      Interest
Croell Inc                                             90 days old or less             $48.14                         $0.00                       $48.14
Crossix Solutions                                      90 days old or less         $12,208.81                         $0.00                  $12,208.81
Crosspoint Alliance Church                             90 days old or less            $145.69                         $0.00                     $145.69
Crossroads of Western Iowa                             90 days old or less             $14.99                         $0.00                       $14.99
Crossroads of Western Iowa Cherokee                    90 days old or less            $158.83                         $0.00                      $158.83
Current River Nursing Center                           90 days old or less            $183.33                         $0.00                      $183.33
Custer Care                                            90 days old or less             $69.48                         $0.00                       $69.48
Custer County Highway Dept                             90 days old or less             $11.16                         $0.00                       $11.16
Custer County Jail                                     90 days old or less             $23.90                         $0.00                       $23.90
Custer Regional Hospital                               90 days old or less            $745.51                         $0.00                     $745.51
Custer School District 16 1                            90 days old or less             $22.30                         $0.00                       $22.30
CVS                                                    90 days old or less        $337,350.00                         $0.00                 $337,350.00
Dacotah Bank Inc                                       90 days old or less             $47.78                         $0.00                       $47.78
Dakota Central Telecommunications                      90 days old or less            $148.17                         $0.00                      $148.17
Dakota Community Bank and Trust                        90 days old or less             $34.56                         $0.00                       $34.56
Dakota Connection Casino                               90 days old or less             $66.60                         $0.00                       $66.60
Dakota Growers Pasta Company Inc                       90 days old or less             $64.37                         $0.00                       $64.37
Dakota Plains Ag                                       90 days old or less             $30.52                         $0.00                       $30.52
Dakota Prairie Community Action                        90 days old or less             $52.00                         $0.00                       $52.00
Dakota Western Corporation                             90 days old or less            $425.99                         $0.00                      $425.99
Dakotabilities                                         90 days old or less            $805.92                         $0.00                      $805.92
Daviess County Health Department                       90 days old or less             $13.01                         $0.00                       $13.01
Daviess County Nursing and Rehab                       90 days old or less            $922.83                         $0.00                      $922.83
Davis County Auditor                                   90 days old or less              $5.99                         $0.00                        $5.99
Davis County Community School Dist                     90 days old or less             $69.99                         $0.00                       $69.99
Davis County Extension Service                         90 days old or less             $27.84                         $0.00                       $27.84
Davis County Highway Department                        90 days old or less              $2.66                         $0.00                        $2.66
Davis County Hospital                                  90 days old or less              $1.89                         $0.00                        $1.89
Davis County Recorder                                  90 days old or less             $23.99                         $0.00                       $23.99
Davis County Sheriffs Office                           90 days old or less            $911.89                         $0.00                      $911.89
DDO-Utah, LLC                                          90 days old or less          $6,743.22                         $0.00                    $6,743.22
Delta County Department of Human Services              90 days old or less          $1,789.21                         $0.00                    $1,789.21
DeMotte Elementary School                              90 days old or less             $36.14                         $0.00                       $36.14
Dept of Child and Family Services                      90 days old or less            $284.89                         $0.00                     $284.89


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                            Description                          Accounts receivable     Face Amount             Accounts                      Interest
Dept of Correctional Services                                   90 days old or less             $46.95                         $0.00                       $46.95
Dept of Public Health and Human Serv Child and Fam              90 days old or less            $141.95                         $0.00                      $141.95
Des Moines Valley Health and Human Services                     90 days old or less            $121.72                         $0.00                      $121.72
DHS Dickinson County                                            90 days old or less          $1,080.80                         $0.00                    $1,080.80
Dickinson County                                                90 days old or less              $9.99                         $0.00                        $9.99
Discovery Center                                                90 days old or less             $10.57                         $0.00                       $10.57
Diversified Services Inc                                        90 days old or less             $86.10                         $0.00                       $86.10
Diversified Services Inc Payee Fund                             90 days old or less            $440.33                         $0.00                      $440.33
Dixon Community Fire Protection District                        90 days old or less             $22.44                         $0.00                       $22.44
Dixon Correctional Center                                       90 days old or less             $15.99                         $0.00                       $15.99
DNA Production LLC                                              90 days old or less             $79.95                         $0.00                       $79.95
DO NOT USE ACCOUNT CLOSED                                       90 days old or less             $46.41                         $0.00                       $46.41
DO NOT USE INACTIVATED                                          90 days old or less             $67.45                         $0.00                       $67.45
DO NOT USE INACTIVATED USE ACCT 1760017                         90 days old or less             $12.99                         $0.00                       $12.99
Dodge County Clearview LTC and Rehabilitation                   90 days old or less            $133.33                         $0.00                      $133.33
Dodge County Human Services and Health Dept                     90 days old or less             $99.92                         $0.00                       $99.92
Dodge County Sheriffs Office                                    90 days old or less             $48.92                         $0.00                       $48.92
Domestic Violence and Abuse Center                              90 days old or less            $138.91                         $0.00                      $138.91
Doniphan R 1 School                                             90 days old or less            $290.41                         $0.00                     $290.41
Douglas Care Center                                             90 days old or less            $537.18                         $0.00                      $537.18
Douglas Housing Authority                                       90 days old or less            $111.41                         $0.00                      $111.41
Dove Healthcare West                                            90 days old or less              $2.82                         $0.00                        $2.82
DPHHS Vocation Rehabilitation                                   90 days old or less            $199.71                         $0.00                     $199.71
DPHHS Vocational Rehabilitation                                 90 days old or less            $145.52                         $0.00                     $145.52
DPHHS Vocational Rehabilitation                                 90 days old or less            $604.41                         $0.00                     $604.41
DRCC                                                            90 days old or less          $1,219.29                         $0.00                    $1,219.29
DRM Waste Management                                            90 days old or less         $40,472.71                         $0.00                  $40,472.71
DSHS                                                            90 days old or less            $926.81                         $0.00                     $926.81
DSHS Childrens Administration                                   90 days old or less          $9,155.49                         $0.00                    $9,155.49
Duckwater Shoshone Tribe                                        90 days old or less          $3,094.73                         $0.00                    $3,094.73
Dupont Pioneer Pioneer Hi Bred                                  90 days old or less             $41.99                         $0.00                       $41.99
Dynamic Dimensions Inc                                          90 days old or less            $297.31                         $0.00                      $297.31
East Central Family Support Life Quest                          90 days old or less             $32.92                         $0.00                       $32.92
East Grand Forks ISD No 595                                     90 days old or less             $71.95                         $0.00                       $71.95


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East Grand Forks Water and Light                            90 days old or less             $47.54                         $0.00                       $47.54
East Helena Public Schools                                  90 days old or less            $139.40                         $0.00                     $139.40
East Otter Tail Telephone Co Inc dba Arvig                  90 days old or less            $151.31                         $0.00                      $151.31
Eastern Montana Community Mental Health Center              90 days old or less            $317.89                         $0.00                     $317.89
Eastern Shoshone Tribe                                      90 days old or less            $636.12                         $0.00                     $636.12
Eastern Wyoming College                                     90 days old or less            $196.07                         $0.00                      $196.07
Economy Oil Inc                                             90 days old or less             $72.57                         $0.00                       $72.57
Educational Service Unit No 1                               90 days old or less              $4.98                         $0.00                        $4.98
Educational Service Unit No 11                              90 days old or less              $6.28                         $0.00                        $6.28
Elder Inn                                                   90 days old or less            $506.98                         $0.00                     $506.98
Eldora New Providence CSD                                   90 days old or less             $88.96                         $0.00                       $88.96
Eldora Specialty Care                                       90 days old or less             $90.87                         $0.00                       $90.87
ElDorado Springs R2 School                                  90 days old or less            $289.91                         $0.00                     $289.91
Elite Payee Services                                        90 days old or less          $5,024.63                         $0.00                    $5,024.63
Ellsworth Community High School                             90 days old or less             $49.98                         $0.00                       $49.98
Ellsworth Fire Service Association                          90 days old or less            $122.28                         $0.00                     $122.28
Elm Crest Retirement                                        90 days old or less             $32.08                         $0.00                       $32.08
Ely Bloomenson Community Hospital                           90 days old or less            $319.67                         $0.00                     $319.67
Ely Community Resource Inc                                  90 days old or less            $645.41                         $0.00                      $645.41
EmBe                                                        90 days old or less             $24.50                         $0.00                       $24.50
Emmanuel Lutheran Church                                    90 days old or less             $69.03                         $0.00                       $69.03
Emmetsburg Care Center                                      90 days old or less            $753.18                         $0.00                      $753.18
Emmetsburg Police Department                                90 days old or less          $1,874.20                         $0.00                    $1,874.20
Empowering Kids Perham                                      90 days old or less             $19.68                         $0.00                       $19.68
Enfield Funeral Home Inc                                    90 days old or less            $272.33                         $0.00                     $272.33
Enterprise Sales Co                                         90 days old or less             $45.12                         $0.00                       $45.12
Erickson Implement Inc                                      90 days old or less             $73.73                         $0.00                       $73.73
Escanaba Area Public Schools                                90 days old or less             $36.50                         $0.00                       $36.50
ESU 17                                                      90 days old or less            $169.99                         $0.00                     $169.99
Exchange Bank of NE MO                                      90 days old or less             $86.79                         $0.00                       $86.79
Express Scripts Holding Company                             90 days old or less        $481,824.00                         $0.00                 $481,824.00
F and M Bank                                                90 days old or less            $117.50                         $0.00                     $117.50
Fairleigh Corporation                                       90 days old or less              $4.89                         $0.00                        $4.89
Fairmont Artificial Breeders                                90 days old or less            $244.97                         $0.00                      $244.97


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Fairview Fellowship Home                                  90 days old or less            $237.55                         $0.00                      $237.55
Fairview Mennonite Brethren Church                        90 days old or less             $67.11                         $0.00                       $67.11
Fairview Public Schools                                   90 days old or less             $29.72                         $0.00                       $29.72
Faith Community Church                                    90 days old or less             $13.96                         $0.00                       $13.96
Faith Lutheran Church                                     90 days old or less          $1,088.66                         $0.00                    $1,088.66
Fall River County                                         90 days old or less             $73.34                         $0.00                       $73.34
Fall River Health Services                                90 days old or less            $368.43                         $0.00                      $368.43
Falls City Public Schools                                 90 days old or less            $116.61                         $0.00                      $116.61
Family Health Center                                      90 days old or less             $77.33                         $0.00                       $77.33
Fantasy Floral and Accents For You LLC                    90 days old or less              $6.99                         $0.00                        $6.99
Farm Credit Services of ND PCA                            90 days old or less             $80.36                         $0.00                       $80.36
Farmers Bank of Northern MO                               90 days old or less             $18.96                         $0.00                       $18.96
Farmers Bank of Northern MO Gallatin                      90 days old or less            $152.70                         $0.00                      $152.70
Farmers Mutual Insurance                                  90 days old or less             $70.17                         $0.00                       $70.17
Farmers Ranchers Cooperative Assn                         90 days old or less            $285.39                         $0.00                      $285.39
Farmway Co-Op Inc                                         90 days old or less          $2,161.47                         $0.00                    $2,161.47
Fergus County Sheriffs Office                             90 days old or less             $69.99                         $0.00                       $69.99
First Assembly of God Church                              90 days old or less            $359.24                         $0.00                      $359.24
First Bank and Trust                                      90 days old or less            $284.79                         $0.00                      $284.79
First Bank of Wyoming Div Glacier Bank                    90 days old or less             $25.18                         $0.00                       $25.18
First Bank Upper Michigan                                 90 days old or less             $45.43                         $0.00                       $45.43
First Bank Upper Michigan Marquette                       90 days old or less            $103.60                         $0.00                      $103.60
First Baptist Church                                      90 days old or less             $36.46                         $0.00                       $36.46
First Baptist Church                                      90 days old or less             $76.00                         $0.00                       $76.00
First Baptist Church                                      90 days old or less             $81.90                         $0.00                       $81.90
First Baptist Church                                      90 days old or less            $103.47                         $0.00                      $103.47
First Baptist Church of Ulysses KS                        90 days old or less             $38.06                         $0.00                       $38.06
First Christian Church Disciples of Christ                90 days old or less             $92.64                         $0.00                       $92.64
First Christian Church DOC                                90 days old or less             $21.66                         $0.00                       $21.66
First Christian Church DOC                                90 days old or less            $240.17                         $0.00                      $240.17
First Citizens Bank                                       90 days old or less             $35.28                         $0.00                       $35.28
First Comm Credit Union                                   90 days old or less             $16.45                         $0.00                       $16.45
First Dakota National Bank                                90 days old or less             $63.31                         $0.00                       $63.31
First General Baptist Church                              90 days old or less             $38.99                         $0.00                       $38.99


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                             Description                        Accounts receivable     Face Amount             Accounts                      Interest
First International Bank Trust                                 90 days old or less            $454.71                         $0.00                      $454.71
First Lutheran Church                                          90 days old or less             $46.67                         $0.00                       $46.67
First Lutheran Church                                          90 days old or less             $99.99                         $0.00                       $99.99
First Mid Illinois Bank and Trust NA                           90 days old or less            $138.88                         $0.00                     $138.88
First National Bank and Trust                                  90 days old or less             $72.03                         $0.00                       $72.03
First National Bank at St James                                90 days old or less             $17.06                         $0.00                       $17.06
First National Bank of Omaha                                   90 days old or less            $473.17                         $0.00                     $473.17
First Presbyterian Church                                      90 days old or less             $13.99                         $0.00                       $13.99
First Presbyterian Church                                      90 days old or less             $43.18                         $0.00                       $43.18
First Presbyterian Church                                      90 days old or less            $114.93                         $0.00                      $114.93
First Presbyterian Church                                      90 days old or less            $277.05                         $0.00                      $277.05
First State Bank                                               90 days old or less             $70.15                         $0.00                       $70.15
First State Bank                                               90 days old or less            $140.70                         $0.00                     $140.70
First State Bank                                               90 days old or less            $274.73                         $0.00                     $274.73
First State Bank of Newcastle                                  90 days old or less            $105.87                         $0.00                      $105.87
First State Bank of Shelby                                     90 days old or less            $298.15                         $0.00                     $298.15
First United Methodist Church                                  90 days old or less             $21.80                         $0.00                       $21.80
First United Methodist Church                                  90 days old or less             $35.83                         $0.00                       $35.83
First United Methodist Church                                  90 days old or less            $132.09                         $0.00                     $132.09
Flambeau River Papers                                          90 days old or less             $83.30                         $0.00                       $83.30
Florence School District 14 1                                  90 days old or less            $649.99                         $0.00                     $649.99
Fond du Lac Reservation                                        90 days old or less          $8,550.32                         $0.00                    $8,550.32
Forest City Ambulance Services                                 90 days old or less             $50.24                         $0.00                       $50.24
Formation Capital Corporation US                               90 days old or less             $72.57                         $0.00                       $72.57
Fort Healthcare Inc                                            90 days old or less             $29.02                         $0.00                       $29.02
Fort Madison Community Hospital                                90 days old or less            $774.66                         $0.00                     $774.66
Forty Eighth Circuit Court Family Divsion                      90 days old or less            $480.57                         $0.00                     $480.57
Forward Service Corporation                                    90 days old or less          $1,975.30                         $0.00                    $1,975.30
Foster County Soil Conservation District                       90 days old or less             $36.49                         $0.00                       $36.49
Fountain Terrace Condominiums Inc                              90 days old or less             $35.96                         $0.00                       $35.96
Fox Valley Technical College                                   90 days old or less             $10.48                         $0.00                       $10.48
Franklin County Conservation Board                             90 days old or less             $47.89                         $0.00                       $47.89
Franklin County RACE dba Franklin Wellness Center              90 days old or less             $34.72                         $0.00                       $34.72
Fraternal Order of Eagles                                      90 days old or less            $206.95                         $0.00                     $206.95


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Freeborn County Sheriffs Office                           90 days old or less            $113.85                         $0.00                     $113.85
Fremont County School District No 1                       90 days old or less             $61.96                         $0.00                       $61.96
Friendship Home Association                               90 days old or less            $181.29                         $0.00                     $181.29
Ft Madison Community School District                      90 days old or less             $87.61                         $0.00                       $87.61
Fuchs Orthodontics DDS PC                                 90 days old or less            $225.15                         $0.00                      $225.15
G4C LLC dba Cobblestone Hotel                             90 days old or less            $880.95                         $0.00                     $880.95
Gavilon Grain Minto                                       90 days old or less             $11.98                         $0.00                       $11.98
Genesis Development                                       90 days old or less             $41.72                         $0.00                       $41.72
Gentry County                                             90 days old or less              $4.49                         $0.00                        $4.49
George Young Recreational Complex                         90 days old or less            $198.90                         $0.00                      $198.90
Gerard Treatment Programs LLC                             90 days old or less            $742.57                         $0.00                      $742.57
GFWC Escanaba Womens Club                                 90 days old or less            $275.31                         $0.00                     $275.31
GJW LLC                                                   90 days old or less            $229.57                         $0.00                      $229.57
Glacial Ridge Hospital District                           90 days old or less          $3,158.27                         $0.00                    $3,158.27
Glasgow School District 1A                                90 days old or less             $23.96                         $0.00                       $23.96
Glencoe Regional Health Services                          90 days old or less             $51.98                         $0.00                       $51.98
Glenwood Community School                                 90 days old or less            $524.28                         $0.00                     $524.28
Glory Baptist Church                                      90 days old or less            $173.75                         $0.00                      $173.75
Golden Manor Inc                                          90 days old or less             $33.57                         $0.00                       $33.57
Golden Prairie Manor                                      90 days old or less             $85.08                         $0.00                       $85.08
Goldfinch Estates                                         90 days old or less             $17.99                         $0.00                       $17.99
Gomaco Corporation                                        90 days old or less            $139.23                         $0.00                      $139.23
Good News of Christmas                                    90 days old or less          $7,710.67                         $0.00                    $7,710.67
Good News Radio                                           90 days old or less             $48.32                         $0.00                       $48.32
Good Samaritan Society Oakes                              90 days old or less             $46.11                         $0.00                       $46.11
Good Samaritan Society St James                           90 days old or less             $26.96                         $0.00                       $26.96
Good Shephard Lutheran Church                             90 days old or less             $72.04                         $0.00                       $72.04
Good Shepherd Geriatric Center                            90 days old or less            $551.64                         $0.00                      $551.64
Goodview Activity Group                                   90 days old or less            $120.16                         $0.00                      $120.16
Goodwill Industries                                       90 days old or less            $568.06                         $0.00                     $568.06
Goshen County School District No 1                        90 days old or less            $667.48                         $0.00                      $667.48
Gospel Kingdom Church                                     90 days old or less             $97.01                         $0.00                       $97.01
Gothenburg Public Schools                                 90 days old or less            $862.52                         $0.00                     $862.52
Grace Lutheran Church                                     90 days old or less             $33.94                         $0.00                       $33.94


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Grace Lutheran Church                                   90 days old or less             $50.76                         $0.00                       $50.76
Grafton Public School District No 3                     90 days old or less             $24.54                         $0.00                       $24.54
Grand County                                            90 days old or less            $142.87                         $0.00                     $142.87
Grand Ely Lodge LLC                                     90 days old or less              $9.26                         $0.00                        $9.26
Grand Island Public School District                     90 days old or less            $448.79                         $0.00                     $448.79
Granite City Real Estate                                90 days old or less             $37.72                         $0.00                       $37.72
Grant Co Holiday Project                                90 days old or less            $300.97                         $0.00                      $300.97
Grant County                                            90 days old or less             $69.40                         $0.00                       $69.40
Grant County Cemetery Dist                              90 days old or less             $21.46                         $0.00                       $21.46
Grant County Christian Service Council                  90 days old or less             $78.70                         $0.00                       $78.70
Grant County Extension Service                          90 days old or less             $83.53                         $0.00                       $83.53
Grant County Recreation Commission                      90 days old or less             $34.98                         $0.00                       $34.98
Graymont Western Lime Inc                               90 days old or less            $136.39                         $0.00                      $136.39
Great Dane Trailers LP                                  90 days old or less            $617.15                         $0.00                      $617.15
Great Lakes InterTribal Council                         90 days old or less             $66.42                         $0.00                       $66.42
Great Lakes Recovery Center                             90 days old or less             $59.79                         $0.00                       $59.79
Great Plains Health                                     90 days old or less            $108.99                         $0.00                      $108.99
Green Flash II Inc                                      90 days old or less            $168.26                         $0.00                      $168.26
Greenfield Manor Inc                                    90 days old or less            $282.10                         $0.00                      $282.10
Grotberg Electric Inc                                   90 days old or less            $138.49                         $0.00                      $138.49
Grundy County Ambulance                                 90 days old or less             $39.12                         $0.00                       $39.12
Guardian Inn Motel LLC                                  90 days old or less            $202.42                         $0.00                     $202.42
Gundersen Lutheran                                      90 days old or less          $1,020.24                         $0.00                    $1,020.24
H and L Orthodontics PLLC                               90 days old or less            $187.72                         $0.00                     $187.72
Haaland Estates                                         90 days old or less            $766.36                         $0.00                     $766.36
Habeck Trucking Inc                                     90 days old or less             $91.44                         $0.00                       $91.44
Hair Out There                                          90 days old or less             $50.73                         $0.00                       $50.73
Hampton Dumont Comm School Dist                         90 days old or less            $380.28                         $0.00                     $380.28
Hampton Lenzini and Renwick Inc                         90 days old or less            $292.10                         $0.00                     $292.10
Handlos South                                           90 days old or less            $164.68                         $0.00                     $164.68
Hannahville Indian Community                            90 days old or less          $1,278.20                         $0.00                    $1,278.20
Harper County Sheriffs Office                           90 days old or less             $29.99                         $0.00                       $29.99
Hatteras LLC                                            90 days old or less            $371.75                         $0.00                     $371.75
Hawkeye Care Center Cresco                              90 days old or less            $142.76                         $0.00                      $142.76


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                          Description                            Accounts receivable     Face Amount             Accounts                      Interest
Hawkeye Sow Centers                                             90 days old or less             $92.66                         $0.00                      $92.66
Hawkeye Systems                                                 90 days old or less            $365.69                         $0.00                     $365.69
Heart of America Library                                        90 days old or less             $11.27                         $0.00                      $11.27
Heart of America Med Center                                     90 days old or less             $95.43                         $0.00                      $95.43
Heartland Motor Company                                         90 days old or less            $410.52                         $0.00                     $410.52
Heinrich Cattle Company                                         90 days old or less            $634.74                         $0.00                     $634.74
Helena Agri Enterprises Inc                                     90 days old or less            $423.80                         $0.00                     $423.80
Heritage Health                                                 90 days old or less             $11.89                         $0.00                      $11.89
Heritage Homes of Nebraska Inc                                  90 days old or less            $352.69                         $0.00                     $352.69
Heritage Manufacturing Inc dba Heritage Industries              90 days old or less            $903.61                         $0.00                     $903.61
Heritage Square                                                 90 days old or less             $22.49                         $0.00                      $22.49
Herman L Rowley Memorial Trust                                  90 days old or less            $510.21                         $0.00                     $510.21
Heron Lake Okabena ISD 330                                      90 days old or less             $78.19                         $0.00                      $78.19
Hiawatha Homes Inc                                              90 days old or less            $285.84                         $0.00                     $285.84
High Plains Educational Cooperative                             90 days old or less             $26.24                         $0.00                      $26.24
High Point Ltd                                                  90 days old or less            $439.61                         $0.00                     $439.61
Hillcrest Care Center                                           90 days old or less            $434.91                         $0.00                     $434.91
Hills Stainless Steel and Equip                                 90 days old or less             $55.33                         $0.00                      $55.33
Hilltop Estates                                                 90 days old or less             $37.48                         $0.00                      $37.48
Hilltop Swine Inc                                               90 days old or less            $129.99                         $0.00                     $129.99
Hineline Home Furnishings Inc                                   90 days old or less            $270.13                         $0.00                     $270.13
Holdrege Housing Authority                                      90 days old or less             $71.43                         $0.00                      $71.43
Holdrege Memorial Homes Inc                                     90 days old or less            $192.77                         $0.00                     $192.77
Holdrege Public Schools                                         90 days old or less            $235.04                         $0.00                     $235.04
Holiday Inn Express and Suites                                  90 days old or less            $553.77                         $0.00                     $553.77
Holland Contracting Corp                                        90 days old or less             $97.74                         $0.00                      $97.74
Homeless Connections Inc                                        90 days old or less            $240.34                         $0.00                     $240.34
Hoovestol Inc                                                   90 days old or less             $92.37                         $0.00                      $92.37
Horizon Equipment                                               90 days old or less             $96.13                         $0.00                      $96.13
Horizon Properties Inc                                          90 days old or less            $164.97                         $0.00                     $164.97
Horn Memorial Hospital                                          90 days old or less             $73.99                         $0.00                      $73.99
Hospital District No 6 of Harper Co KS                          90 days old or less             $37.17                         $0.00                      $37.17
Hot Springs Ambulance Service Inc                               90 days old or less             $16.28                         $0.00                      $16.28
Hot Springs County Memorial Hospital                            90 days old or less            $282.96                         $0.00                     $282.96


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                          Description                            Accounts receivable     Face Amount             Accounts                      Interest
Hot Springs School District                                     90 days old or less            $422.81                         $0.00                      $422.81
Hot Springs United Churches                                     90 days old or less             $27.67                         $0.00                       $27.67
Houghton State Bank                                             90 days old or less             $33.39                         $0.00                       $33.39
Howard Winneshiek Community School District                     90 days old or less             $49.96                         $0.00                       $49.96
Humboldt Care Center South                                      90 days old or less             $73.26                         $0.00                       $73.26
Humboldt Community School                                       90 days old or less          $1,126.96                         $0.00                    $1,126.96
Humboldt Dakota City Noon Kiwanis                               90 days old or less            $366.29                         $0.00                     $366.29
Hunter Publishing dba Madison Daily Leader                      90 days old or less             $75.15                         $0.00                       $75.15
Huyen Hoang                                                     90 days old or less          $1,231.66                         $0.00                    $1,231.66
Hy Vee                                                          90 days old or less            $255.19                         $0.00                      $255.19
Ida County Conservation Board                                   90 days old or less             $95.21                         $0.00                       $95.21
Ida County Engineers Office                                     90 days old or less             $65.48                         $0.00                       $65.48
Ida County Sheriffs Office                                      90 days old or less            $150.79                         $0.00                      $150.79
Idaho Department of Health and Welfare                          90 days old or less          $3,953.71                         $0.00                    $3,953.71
Idaho Department of Health and Welfare                          90 days old or less          $4,282.68                         $0.00                    $4,282.68
Idaho Department of Labor                                       90 days old or less          $1,138.65                         $0.00                    $1,138.65
Idaho Dept Health Welfare Children Family Service               90 days old or less          $1,020.13                         $0.00                    $1,020.13
Idaho Dept Health and Welfare                                   90 days old or less          $4,092.62                         $0.00                    $4,092.62
Idaho Dept Health Welfare Children Family Services              90 days old or less            $119.82                         $0.00                     $119.82
Idaho Dept Health Welfare Children Family Services              90 days old or less            $165.39                         $0.00                     $165.39
Idaho Dept Health Welfare Children Family Services              90 days old or less            $364.19                         $0.00                     $364.19
Idaho Dept Health Welfare Children Family Services              90 days old or less          $1,293.50                         $0.00                    $1,293.50
Idaho Dept Health Welfare Children Family Services              90 days old or less          $1,867.04                         $0.00                    $1,867.04
Idaho Dept Health Welfare Children Family Services              90 days old or less          $2,321.22                         $0.00                    $2,321.22
Idaho Dept Health Welfare Mental Health Services                90 days old or less            $139.93                         $0.00                      $139.93
Idaho Division of Vocational Rehabilitation                     90 days old or less             $77.19                         $0.00                       $77.19
Idaho Division of Vocational Rehabilitation                     90 days old or less          $1,146.31                         $0.00                    $1,146.31
Illinois Eastern Community Colleges Dist 529                    90 days old or less             $29.94                         $0.00                       $29.94
Immaculate Conception Church                                    90 days old or less             $66.49                         $0.00                       $66.49
Immanuel Baptist Church                                         90 days old or less            $337.47                         $0.00                      $337.47
Independent School District 0435                                90 days old or less             $77.43                         $0.00                       $77.43
Independent School District 1                                   90 days old or less             $65.97                         $0.00                       $65.97
Independent School District 173                                 90 days old or less            $192.36                         $0.00                      $192.36
Independent School District No 696                              90 days old or less             $39.75                         $0.00                       $39.75


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                             Description                         Accounts receivable     Face Amount             Accounts                      Interest
Indianhead Community Action Agency                              90 days old or less             $49.98                         $0.00                       $49.98
Information Resources, Inc                                      90 days old or less          $5,405.75                         $0.00                    $5,405.75
INH                                                             90 days old or less          $1,040.87                         $0.00                    $1,040.87
Inland Cellular Telephone Company                               90 days old or less            $131.79                         $0.00                      $131.79
Inmar - Coupon Receivables                                      90 days old or less        $114,180.94                         $0.00                 $114,180.94
Interlakes Community Action                                     90 days old or less            $797.20                         $0.00                      $797.20
Iowa Department of Transportation                               90 days old or less              $6.37                         $0.00                        $6.37
Iowa Specialty Hospital Clarion                                 90 days old or less             $82.52                         $0.00                       $82.52
Iron County Medical Care Auxiliary                              90 days old or less            $120.00                         $0.00                      $120.00
Iron County Medical Care Facility                               90 days old or less          $4,998.01                         $0.00                    $4,998.01
Iron Mountain Kingsford Community Credit Union                  90 days old or less             $30.97                         $0.00                       $30.97
Iron Mountain Kingsford Wastewater Treatment Plant              90 days old or less             $29.97                         $0.00                       $29.97
Irvin Inc and Mico Inc dba I and T Transfer                     90 days old or less             $10.99                         $0.00                       $10.99
ISD 204 Kasson Manterville Public Schools                       90 days old or less            $137.84                         $0.00                      $137.84
ISD 518                                                         90 days old or less            $523.53                         $0.00                      $523.53
J Bar J                                                         90 days old or less            $185.53                         $0.00                      $185.53
Jack Mabley Dev Center                                          90 days old or less            $754.19                         $0.00                      $754.19
Jackson Dental Prof LLC                                         90 days old or less            $442.59                         $0.00                     $442.59
Jasper County Public Library                                    90 days old or less            $115.69                         $0.00                      $115.69
Jenkins Living Center                                           90 days old or less            $151.77                         $0.00                      $151.77
Jennie M Melham Memorial Medical Center                         90 days old or less             $65.16                         $0.00                       $65.16
Jerry Remus                                                     90 days old or less             $11.55                         $0.00                       $11.55
Jim Baier Inc                                                   90 days old or less             $53.71                         $0.00                       $53.71
Johnson Co School Dist No 1                                     90 days old or less             $15.99                         $0.00                       $15.99
Johnson Controls Inc                                            90 days old or less              $7.69                         $0.00                        $7.69
Johnson County Hospital District                                90 days old or less             $21.32                         $0.00                       $21.32
Jonesbrook Estates LLC                                          90 days old or less            $828.20                         $0.00                     $828.20
Kairos Youth Services Inc                                       90 days old or less            $248.47                         $0.00                      $248.47
Kalispel Tribe of Indians                                       90 days old or less            $299.03                         $0.00                      $299.03
Kanabec County                                                  90 days old or less          $4,995.08                         $0.00                    $4,995.08
Kankakee Valley Middle School                                   90 days old or less             $63.36                         $0.00                       $63.36
Kelley Bean Company                                             90 days old or less             $42.79                         $0.00                       $42.79
Kenosha Estates Living and Care Center                          90 days old or less            $450.75                         $0.00                      $450.75
Kenosha Unified School District No 1                            90 days old or less            $217.50                         $0.00                      $217.50


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Kewaunee Fabrications                                           90 days old or less             $57.91                         $0.00                       $57.91
Keweenaw Bay Indian Community                                   90 days old or less          $7,383.60                         $0.00                    $7,383.60
KHBT                                                            90 days old or less             $59.65                         $0.00                       $59.65
Kiel Area School District                                       90 days old or less            $100.00                         $0.00                     $100.00
Kit Carson County Landfill                                      90 days old or less             $41.88                         $0.00                       $41.88
Kit Carson County Sheriffs Office                               90 days old or less            $948.93                         $0.00                     $948.93
Knife River Care Center                                         90 days old or less            $132.91                         $0.00                      $132.91
Knuttila Financial Services Inc                                 90 days old or less             $19.51                         $0.00                       $19.51
Koeppens Medical Transports Ltd                                 90 days old or less            $123.78                         $0.00                     $123.78
Kozlowski Ins Agency and Financial Services Inc                 90 days old or less             $18.14                         $0.00                       $18.14
KSFY TV                                                         90 days old or less             $15.39                         $0.00                       $15.39
Lac du Flambeau Band Lake Superior Chippewa Indian              90 days old or less             $52.52                         $0.00                       $52.52
Lake Andes Senior Living                                        90 days old or less          $1,292.25                         $0.00                    $1,292.25
Lake Country Chevrolet                                          90 days old or less             $35.21                         $0.00                       $35.21
Lake County Auditor                                             90 days old or less             $17.49                         $0.00                       $17.49
Lake County Food Pantry Inc                                     90 days old or less            $108.79                         $0.00                     $108.79
Lake Linden Housing Commission                                  90 days old or less            $132.36                         $0.00                     $132.36
Lake Superior School District 381                               90 days old or less             $88.63                         $0.00                       $88.63
Lake View Memorial Hospital Inc                                 90 days old or less             $30.15                         $0.00                       $30.15
Lakes Area Cooperative                                          90 days old or less             $63.90                         $0.00                       $63.90
Lambert Public Schools                                          90 days old or less             $97.44                         $0.00                       $97.44
Lancaster United Methodist Church                               90 days old or less              $5.99                         $0.00                        $5.99
Laramie Peak Motors LLC                                         90 days old or less             $33.44                         $0.00                       $33.44
Law Jones Funeral Homes Inc                                     90 days old or less             $14.35                         $0.00                       $14.35
Leading Edge Equipment                                          90 days old or less            $112.74                         $0.00                     $112.74
Lee County Engineer                                             90 days old or less             $86.36                         $0.00                       $86.36
Lee County Health Department                                    90 days old or less             $13.08                         $0.00                       $13.08
Leevers Foods                                                   90 days old or less              $0.74                         $0.00                        $0.74
Lemhi County                                                    90 days old or less            $393.65                         $0.00                     $393.65
Lewistown Eagles Manor                                          90 days old or less            $202.86                         $0.00                     $202.86
Lewistown Rural Fire District                                   90 days old or less             $36.66                         $0.00                       $36.66
Life Care Center of Carrollton                                  90 days old or less            $360.02                         $0.00                      $360.02
Life Quest Mitchell Family Support                              90 days old or less            $427.80                         $0.00                     $427.80
LifeCare Center of Burlington                                   90 days old or less            $779.70                         $0.00                      $779.70


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Lifehouse Liberty Court                                         90 days old or less            $450.48                         $0.00                     $450.48
Lincoln County School District 2                                90 days old or less            $111.26                         $0.00                     $111.26
Lincoln Federal Savings Bank of NE                              90 days old or less             $49.19                         $0.00                      $49.19
Lincoln Fire and Rescue                                         90 days old or less            $387.74                         $0.00                     $387.74
Lindahl Healthcare Inc dba Careage of Wayne                     90 days old or less            $996.88                         $0.00                     $996.88
Little Shell Home For Youth                                     90 days old or less            $208.38                         $0.00                     $208.38
Lloyd Dale Herder OD                                            90 days old or less              $7.58                         $0.00                        $7.58
Lock Steel Building Co Inc                                      90 days old or less             $20.45                         $0.00                      $20.45
Lowell Healthcare                                               90 days old or less              $6.06                         $0.00                        $6.06
LR C Store LLC                                                  90 days old or less              $7.98                         $0.00                        $7.98
Luther Memorial Home                                            90 days old or less              $5.37                         $0.00                        $5.37
Lutheran Social Services                                        90 days old or less            $895.02                         $0.00                     $895.02
Lyons Recreation Commission                                     90 days old or less             $16.96                         $0.00                      $16.96
M J McGuire Company                                             90 days old or less            $333.83                         $0.00                     $333.83
Madison County Ambulance                                        90 days old or less             $54.86                         $0.00                      $54.86
Madison County Conservation Board                               90 days old or less             $62.21                         $0.00                      $62.21
Madison County Sheriffs Dept                                    90 days old or less             $25.98                         $0.00                      $25.98
Madison Farmers Elevator                                        90 days old or less             $50.85                         $0.00                      $50.85
Madison Regional Health Systems                                 90 days old or less             $19.99                         $0.00                      $19.99
Magic Valley Mall LLC                                           90 days old or less             $79.37                         $0.00                      $79.37
Major County Conservation District                              90 days old or less            $147.50                         $0.00                     $147.50
Major County Sheriffs Office                                    90 days old or less            $139.80                         $0.00                     $139.80
Mammoth Site of Hot Springs SD Inc                              90 days old or less             $14.90                         $0.00                      $14.90
Mankato Area Public Schools                                     90 days old or less            $605.04                         $0.00                     $605.04
Mapleton Community Home                                         90 days old or less             $61.08                         $0.00                      $61.08
Marias Healthcare Services                                      90 days old or less             $94.94                         $0.00                      $94.94
Marimn Health                                                   90 days old or less            $746.99                         $0.00                     $746.99
Martin County Probation Department                              90 days old or less              $9.99                         $0.00                        $9.99
Martin County West School                                       90 days old or less             $49.99                         $0.00                      $49.99
Marty Indian School Board                                       90 days old or less            $757.99                         $0.00                     $757.99
Mary Immaculate Catholic Church                                 90 days old or less            $117.40                         $0.00                     $117.40
Maxwell Agri Service LLC dba Madisons Great Wester              90 days old or less            $105.57                         $0.00                     $105.57
Mayville Public Library                                         90 days old or less            $107.25                         $0.00                     $107.25
McColleys Chapels of The Hills Inc                              90 days old or less             $98.60                         $0.00                      $98.60


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                        Description                      Accounts receivable     Face Amount             Accounts                      Interest
McDonalds                                               90 days old or less             $88.00                         $0.00                       $88.00
McKesson                                                90 days old or less        $863,578.83                         $0.00                 $863,578.83
Meade County                                            90 days old or less              $8.98                         $0.00                        $8.98
Meade School District 46 1                              90 days old or less            $213.80                         $0.00                     $213.80
Memorial Health System                                  90 days old or less             $43.57                         $0.00                       $43.57
Memorial Hospital Inc                                   90 days old or less            $630.82                         $0.00                      $630.82
Memorial Hospital of Converse County                    90 days old or less            $867.09                         $0.00                      $867.09
Mequon Thiensville School District                      90 days old or less            $599.56                         $0.00                      $599.56
Mercer Co Warc                                          90 days old or less            $136.79                         $0.00                      $136.79
Mercer County Ambulance Service Inc                     90 days old or less             $98.90                         $0.00                       $98.90
Mercy Hospital                                          90 days old or less             $33.92                         $0.00                       $33.92
Metro Plains Management                                 90 days old or less             $46.17                         $0.00                       $46.17
MHA Energy Department                                   90 days old or less             $73.07                         $0.00                       $73.07
Michael Foods Inc                                       90 days old or less          $1,490.20                         $0.00                    $1,490.20
Michigan Dept of Human Serv Arenac County               90 days old or less            $195.20                         $0.00                      $195.20
Michigan Dept of Human Serv Gladwin County              90 days old or less            $202.56                         $0.00                     $202.56
Michigan Rehabilitation Services                        90 days old or less            $683.01                         $0.00                     $683.01
Michigan Works                                          90 days old or less            $226.94                         $0.00                     $226.94
Mid Nebraska Individual Services Clients                90 days old or less             $84.59                         $0.00                       $84.59
Mid Nebraska Individual Services Oxford                 90 days old or less            $167.98                         $0.00                     $167.98
Mid Rivers Communications                               90 days old or less             $86.79                         $0.00                       $86.79
Mid States School Bus Inc                               90 days old or less             $77.07                         $0.00                       $77.07
Midway Extension District 15                            90 days old or less             $11.99                         $0.00                       $11.99
Midwest Farms LLC                                       90 days old or less            $378.88                         $0.00                     $378.88
Midwest Industries                                      90 days old or less             $81.58                         $0.00                       $81.58
Milk River Inc                                          90 days old or less          $1,070.08                         $0.00                    $1,070.08
Mill Street Residence                                   90 days old or less            $130.60                         $0.00                      $130.60
Millers Health Systems                                  90 days old or less            $574.69                         $0.00                      $574.69
Mills County Agricultural Extension                     90 days old or less             $37.44                         $0.00                       $37.44
Mills County Public Health                              90 days old or less            $171.69                         $0.00                      $171.69
Millwright Service Inc                                  90 days old or less            $548.25                         $0.00                      $548.25
Mine Street Developers LLC                              90 days old or less             $42.39                         $0.00                       $42.39
Minnesota Chippewa Tribe                                90 days old or less            $242.21                         $0.00                      $242.21
Minnesota Valley Action Council Inc                     90 days old or less          $1,384.55                         $0.00                    $1,384.55


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Minnesota Veterans Home                                 90 days old or less            $131.97                         $0.00                      $131.97
Minnesota Veterans Home Fergus Falls                    90 days old or less            $112.90                         $0.00                      $112.90
Minnesota West Community Technical College              90 days old or less            $344.62                         $0.00                      $344.62
Minnewaska Area Schools                                 90 days old or less          $3,298.93                         $0.00                    $3,298.93
Missouri Valley Community Action Agency                 90 days old or less             $12.99                         $0.00                       $12.99
Mitchell Area Safehouse                                 90 days old or less             $46.95                         $0.00                       $46.95
Mitchell Clinic LTD                                     90 days old or less             $82.43                         $0.00                       $82.43
Mitchell County Hospital Health System                  90 days old or less             $79.99                         $0.00                       $79.99
Mitchell School District                                90 days old or less            $103.26                         $0.00                     $103.26
MN Correctional Facility St Cloud                       90 days old or less            $449.85                         $0.00                     $449.85
MN Veterans Home                                        90 days old or less             $59.98                         $0.00                       $59.98
MNB Bank                                                90 days old or less             $59.35                         $0.00                       $59.35
MNIS Client Trust                                       90 days old or less            $859.82                         $0.00                      $859.82
MNIS Client Trust Ord                                   90 days old or less             $44.92                         $0.00                       $44.92
Mobridge Pollock School District 62 6                   90 days old or less            $183.63                         $0.00                      $183.63
Mobridge Regional Hospital                              90 days old or less             $80.50                         $0.00                       $80.50
Modern Hair Designers                                   90 days old or less            $549.28                         $0.00                     $549.28
Mondell Heights Retirement Community                    90 days old or less             $86.29                         $0.00                       $86.29
Money Matters AKA Benefit Payment Services              90 days old or less            $397.45                         $0.00                      $397.45
Monmouth Roseville CUSD 238                             90 days old or less            $193.77                         $0.00                      $193.77
Monona County Conservation                              90 days old or less              $6.98                         $0.00                        $6.98
Monona County Engineer                                  90 days old or less             $16.99                         $0.00                       $16.99
Monona County Sanitary Landfill Agency                  90 days old or less             $95.51                         $0.00                       $95.51
Monona County Sheriff Office                            90 days old or less             $49.84                         $0.00                       $49.84
Monroe Womens Club                                      90 days old or less          $6,377.06                         $0.00                    $6,377.06
Montana Aviation Research Co                            90 days old or less              $7.98                         $0.00                        $7.98
Montana Mental Health Nursing Care Center               90 days old or less          $1,486.98                         $0.00                    $1,486.98
Monticello Twp Comm Bldg                                90 days old or less             $42.95                         $0.00                       $42.95
Monticello United Methodist Church                      90 days old or less             $55.00                         $0.00                       $55.00
Morasko Insurance Agency Inc                            90 days old or less            $365.00                         $0.00                      $365.00
Moravian Mt Morris Center Inc                           90 days old or less             $14.97                         $0.00                       $14.97
Morningside Assisted Living                             90 days old or less            $109.69                         $0.00                      $109.69
Morris Area School District                             90 days old or less            $616.05                         $0.00                      $616.05
Morris Newspapers of Wisconsin                          90 days old or less             $38.94                         $0.00                       $38.94


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                         Description                             Accounts receivable     Face Amount             Accounts                      Interest
MRCI                                                            90 days old or less             $30.00                         $0.00                      $30.00
MRCI                                                            90 days old or less            $159.53                         $0.00                     $159.53
Mt Adams School District 209                                    90 days old or less            $507.36                         $0.00                     $507.36
Mt Carmel Junior High School                                    90 days old or less            $124.97                         $0.00                     $124.97
Mt Wheeler Power Inc                                            90 days old or less             $80.44                         $0.00                      $80.44
Multi Pig Inc                                                   90 days old or less            $323.92                         $0.00                     $323.92
Munising Township                                               90 days old or less             $23.97                         $0.00                      $23.97
Murphys Creek Townhomes                                         90 days old or less            $145.51                         $0.00                     $145.51
Myers Steel Fab Company Inc                                     90 days old or less             $11.74                         $0.00                      $11.74
Napa of Perham                                                  90 days old or less             $45.71                         $0.00                      $45.71
NDSU Carrington Research Extension Center                       90 days old or less             $13.98                         $0.00                      $13.98
Nebraska Health and Human Services                              90 days old or less            $381.12                         $0.00                     $381.12
Nebraska Health and Human Services Children Family              90 days old or less             $42.95                         $0.00                      $42.95
Nebraska Rural Radio Assn KTIC                                  90 days old or less             $10.68                         $0.00                      $10.68
Nebraska State Bank and Trust Company                           90 days old or less             $18.97                         $0.00                      $18.97
Nebraska Vocational Rehabilitation Lincoln Centenn              90 days old or less             $32.39                         $0.00                      $32.39
Nebraska Vocational Rehabilitation Norfolk                      90 days old or less             $39.96                         $0.00                      $39.96
Nelson Bauer Funeral Home Inc                                   90 days old or less             $81.85                         $0.00                      $81.85
Nemaha Central Schools USD 115                                  90 days old or less             $67.15                         $0.00                      $67.15
Nemaha County Cooperative Association                           90 days old or less             $53.34                         $0.00                      $53.34
Nemaha County Hospital                                          90 days old or less             $30.85                         $0.00                      $30.85
Nemaha County Solid Waste Recycling                             90 days old or less             $22.46                         $0.00                      $22.46
New Age Industrial                                              90 days old or less             $19.52                         $0.00                      $19.52
New Hampton Nursing and Rehabilitation                          90 days old or less            $320.98                         $0.00                     $320.98
New Horizon Grain LLC                                           90 days old or less            $178.98                         $0.00                     $178.98
New Life Treatment Center                                       90 days old or less             $69.20                         $0.00                      $69.20
New Town Ambulance Service Inc                                  90 days old or less            $222.18                         $0.00                     $222.18
Newcastle Regional Medical Clinic                               90 days old or less            $120.35                         $0.00                     $120.35
Newport Laboratories                                            90 days old or less            $397.18                         $0.00                     $397.18
Nez Perce Tribe                                                 90 days old or less            $989.06                         $0.00                     $989.06
Nobles County                                                   90 days old or less            $139.99                         $0.00                     $139.99
Nobles County Jail                                              90 days old or less             $44.94                         $0.00                      $44.94
Nodaway Valley Community School District                        90 days old or less             $29.68                         $0.00                      $29.68
Noon Rotary Club                                                90 days old or less             $60.00                         $0.00                      $60.00


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                        Description                          Accounts receivable     Face Amount             Accounts                      Interest
Norder Supply Inc                                           90 days old or less            $451.88                         $0.00                     $451.88
Norman M Mell and Associates PC                             90 days old or less             $84.09                         $0.00                       $84.09
Norse LLC                                                   90 days old or less             $15.25                         $0.00                       $15.25
North Central Grain Coop                                    90 days old or less             $16.04                         $0.00                       $16.04
North Central Kansas Technical College                      90 days old or less             $56.95                         $0.00                       $56.95
North Central Sheltered Work shop                           90 days old or less            $181.93                         $0.00                     $181.93
North Idaho College                                         90 days old or less            $188.76                         $0.00                     $188.76
North Platte Care Center LLC                                90 days old or less          $1,816.58                         $0.00                    $1,816.58
North Star Community Credit Union                           90 days old or less            $140.37                         $0.00                     $140.37
North Star Community Credit Union                           90 days old or less            $681.47                         $0.00                     $681.47
North Star Coop                                             90 days old or less             $15.02                         $0.00                       $15.02
North Star Services Valentine                               90 days old or less             $41.94                         $0.00                       $41.94
North Star Services Wayne Area                              90 days old or less             $15.98                         $0.00                       $15.98
Northbridge Mall                                            90 days old or less             $71.50                         $0.00                       $71.50
Northeast Family Support                                    90 days old or less             $44.93                         $0.00                       $44.93
Northeast Iowa Community Action Corp                        90 days old or less          $1,541.46                         $0.00                    $1,541.46
Northeast Nebraska Community Action Partnership             90 days old or less             $63.22                         $0.00                       $63.22
Northeast Nebraska Public Health Dept                       90 days old or less            $377.73                         $0.00                     $377.73
Northeastern Mental Health Center                           90 days old or less            $152.27                         $0.00                     $152.27
Northern California Rehab Hospital                          90 days old or less              $1.79                         $0.00                        $1.79
Northern Cheyenne Employment and Training Programs          90 days old or less             $87.89                         $0.00                       $87.89
Northern Equipment Inc                                      90 days old or less            $200.00                         $0.00                     $200.00
Northern Lights Inn                                         90 days old or less             $28.29                         $0.00                       $28.29
Northlakes Community Clinic                                 90 days old or less             $82.30                         $0.00                       $82.30
Northland Counseling Center                                 90 days old or less             $98.03                         $0.00                       $98.03
Northland Mall LLC                                          90 days old or less            $258.39                         $0.00                     $258.39
Northpointe Behavioral Healthcare Systems                   90 days old or less            $170.59                         $0.00                     $170.59
Northstar Services O'Neill                                  90 days old or less             $14.99                         $0.00                       $14.99
Northwest Bank                                              90 days old or less             $39.60                         $0.00                       $39.60
Northwest Childrens Home Inc                                90 days old or less            $551.81                         $0.00                      $551.81
Northwest Community Action                                  90 days old or less              $9.62                         $0.00                        $9.62
Northwest Community Action Inc                              90 days old or less            $321.87                         $0.00                      $321.87
Northwest Wisconsin CEP Inc                                 90 days old or less            $126.95                         $0.00                      $126.95
Northwood Childrens Services                                90 days old or less         $13,958.57                         $0.00                  $13,958.57


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                          Description                        Accounts receivable     Face Amount             Accounts                      Interest
Norton Co Senior Center                                     90 days old or less             $26.02                         $0.00                       $26.02
Norton Community Schools                                    90 days old or less            $143.69                         $0.00                     $143.69
Norton Correctional Facility Employee Use Fund              90 days old or less             $16.16                         $0.00                       $16.16
Norton County EMS                                           90 days old or less             $21.15                         $0.00                       $21.15
Norton County Hospital                                      90 days old or less            $206.08                         $0.00                     $206.08
Norton County Noxious Weed Dept                             90 days old or less             $11.98                         $0.00                       $11.98
Norton Public Library                                       90 days old or less             $27.47                         $0.00                       $27.47
Norton Sheriffs Office                                      90 days old or less             $42.37                         $0.00                       $42.37
Nortons                                                     90 days old or less             $40.42                         $0.00                       $40.42
NSEA Childrens Fund                                         90 days old or less          $4,065.62                         $0.00                    $4,065.62
Nuckolls County                                             90 days old or less            $147.98                         $0.00                      $147.98
Nuckolls County Road Department                             90 days old or less             $38.97                         $0.00                       $38.97
O Neill Public School District No 7                         90 days old or less             $23.94                         $0.00                       $23.94
O Neill Valley Hope                                         90 days old or less             $41.04                         $0.00                       $41.04
OABCIG Community School District                            90 days old or less            $111.00                         $0.00                      $111.00
Oak Park Place                                              90 days old or less            $109.29                         $0.00                      $109.29
Oakridge Residential and Support Svcs                       90 days old or less             $92.34                         $0.00                       $92.34
OCCK Inc                                                    90 days old or less            $234.45                         $0.00                      $234.45
Oconto Gospel Chapel                                        90 days old or less             $75.93                         $0.00                       $75.93
Oconto School District                                      90 days old or less             $24.96                         $0.00                       $24.96
Off Broadway Apts                                           90 days old or less            $246.63                         $0.00                     $246.63
Olmsted County Social Services                              90 days old or less          $3,401.06                         $0.00                    $3,401.06
Olson Associates                                            90 days old or less            $130.18                         $0.00                      $130.18
One Vision                                                  90 days old or less          $4,032.35                         $0.00                    $4,032.35
One World Distribution                                      90 days old or less             $11.97                         $0.00                       $11.97
Oneida Tribe of Indians                                     90 days old or less          $3,624.17                         $0.00                    $3,624.17
Open Door Center DAC                                        90 days old or less            $133.32                         $0.00                      $133.32
Open Door Center Group Home 1                               90 days old or less            $858.28                         $0.00                      $858.28
Open Door Center Group Home 2                               90 days old or less            $480.70                         $0.00                      $480.70
Open Door Center Group Home 3                               90 days old or less            $215.28                         $0.00                      $215.28
Open Door Center Group Home 4                               90 days old or less            $479.17                         $0.00                      $479.17
Open Door Center Group Home 5                               90 days old or less            $712.82                         $0.00                      $712.82
Open Door Center ILP                                        90 days old or less            $100.93                         $0.00                      $100.93
Open Door Center Ranch                                      90 days old or less            $308.86                         $0.00                      $308.86


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                         Description                             Accounts receivable     Face Amount             Accounts                      Interest
Open Door Center WAC                                            90 days old or less            $190.01                         $0.00                     $190.01
Ophthalmology Ltd                                               90 days old or less            $160.71                         $0.00                     $160.71
Opportunity Enterprises                                         90 days old or less             $85.76                         $0.00                       $85.76
Opportunity Matters Inc                                         90 days old or less            $612.90                         $0.00                     $612.90
Optical A/R - 1st party                                         90 days old or less      $2,599,744.01                         $0.00               $2,599,744.01
Oregon Department of Human Services                             90 days old or less             $66.89                         $0.00                       $66.89
OSF Healthcare System dba OSF Holy Family Med Cntr              90 days old or less            $113.67                         $0.00                     $113.67
OSF St Francis Hospital                                         90 days old or less            $983.03                         $0.00                     $983.03
Our Lady of Assumption Church                                   90 days old or less             $24.94                         $0.00                       $24.94
Our Lady Queen of Peace Parish                                  90 days old or less             $25.56                         $0.00                       $25.56
Our Saviors Lutheran Church                                     90 days old or less             $34.82                         $0.00                       $34.82
Pac N Save Inc                                                  90 days old or less            $349.78                         $0.00                      $349.78
Packaging Corp of America                                       90 days old or less              $2.72                         $0.00                        $2.72
Park County Rural Fire District No 1                            90 days old or less          $1,559.55                         $0.00                    $1,559.55
Park County School District No 1                                90 days old or less            $233.92                         $0.00                     $233.92
Park Falls Public Library                                       90 days old or less             $26.54                         $0.00                       $26.54
Park Lane Nursing Home                                          90 days old or less             $65.00                         $0.00                       $65.00
Park Manor Ltd                                                  90 days old or less            $195.04                         $0.00                     $195.04
Park View Assisited Living                                      90 days old or less             $63.44                         $0.00                       $63.44
PDR                                                             90 days old or less         $59,932.88                         $0.00                  $59,932.88
Peak Wellness Center                                            90 days old or less             $26.24                         $0.00                       $26.24
Peak Wellness Center Inc                                        90 days old or less             $96.94                         $0.00                       $96.94
Pembina County                                                  90 days old or less              $5.88                         $0.00                        $5.88
Pembina County Council on Aged                                  90 days old or less              $4.47                         $0.00                        $4.47
Pembina County Memorial Hospital Assoc                          90 days old or less             $64.81                         $0.00                       $64.81
Peninsula Pharmacy Inc                                          90 days old or less            $582.82                         $0.00                      $582.82
Pepsi Cola Bottling Company                                     90 days old or less            $889.11                         $0.00                     $889.11
Pepsi Cola Memphis Bottling Co                                  90 days old or less          $1,034.85                         $0.00                    $1,034.85
Perham Hosptial District                                        90 days old or less            $608.35                         $0.00                      $608.35
Perham Public School                                            90 days old or less              $7.58                         $0.00                        $7.58
Perry Community Schools                                         90 days old or less            $967.09                         $0.00                     $967.09
Perry Family Dentistry                                          90 days old or less             $92.31                         $0.00                       $92.31
Perry Lutheran Home                                             90 days old or less             $41.62                         $0.00                       $41.62
Pettibone Traverse Lift LLC                                     90 days old or less            $419.64                         $0.00                      $419.64


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                            Description                         Accounts receivable     Face Amount             Accounts                      Interest
Pharmacies Plus Inc dba The Medicine Shoppe                    90 days old or less             $34.01                         $0.00                       $34.01
Pharmacy A/R - 1st party                                       90 days old or less        $116,741.61                         $0.00                 $116,741.61
Pharmacy A/R - 3rd party                                       90 days old or less     $13,879,028.88                         $0.00              $13,879,028.88
Phelps Memorial Health Center                                  90 days old or less            $302.02                         $0.00                      $302.02
Piatt County Nursing Home                                      90 days old or less            $101.06                         $0.00                     $101.06
Pierce County Sheriff Department                               90 days old or less             $20.65                         $0.00                       $20.65
Pierce Cty and Pierce Cty Law Enforcement Center               90 days old or less             $27.98                         $0.00                       $27.98
Pine Hills Inc                                                 90 days old or less          $1,034.96                         $0.00                    $1,034.96
Pine Ridge Homes Inc                                           90 days old or less             $25.86                         $0.00                       $25.86
Pinecrest Medical Care Facility                                90 days old or less              $9.98                         $0.00                        $9.98
Pinewood Apartments                                            90 days old or less             $56.69                         $0.00                       $56.69
Pioneer Bank and Trust                                         90 days old or less            $141.16                         $0.00                      $141.16
Pioneer Care and Rehab                                         90 days old or less            $296.40                         $0.00                      $296.40
Pioneer Care and Rehabilitation                                90 days old or less             $54.26                         $0.00                       $54.26
Pioneer Home Inc                                               90 days old or less             $20.96                         $0.00                       $20.96
Pipestone Building Materials Inc                               90 days old or less             $41.72                         $0.00                       $41.72
Pipestone County                                               90 days old or less             $36.32                         $0.00                       $36.32
Pipestone County Medical Center and Family Clinic              90 days old or less             $88.95                         $0.00                       $88.95
Pipestone Veterinary Clinic                                    90 days old or less             $75.59                         $0.00                       $75.59
Pizza Corner                                                   90 days old or less             $49.42                         $0.00                       $49.42
Pizza Ranch                                                    90 days old or less             $55.62                         $0.00                       $55.62
Plains Equipment Group                                         90 days old or less             $31.70                         $0.00                       $31.70
Platte County Fair Board                                       90 days old or less             $73.97                         $0.00                       $73.97
Platte County Legacy Home                                      90 days old or less            $143.71                         $0.00                      $143.71
Platte County Parks and Recreation                             90 days old or less             $28.67                         $0.00                       $28.67
Platte County Record Times                                     90 days old or less             $70.07                         $0.00                       $70.07
Platte County School District No 1                             90 days old or less            $457.46                         $0.00                     $457.46
Platte Valley Bank                                             90 days old or less             $82.20                         $0.00                       $82.20
Plattsmouth Community Schools                                  90 days old or less            $214.19                         $0.00                     $214.19
Pocatello Chubbuck School District 25                          90 days old or less            $842.11                         $0.00                     $842.11
Polk County Social Services                                    90 days old or less            $115.68                         $0.00                     $115.68
Ponca Tribe of Nebraska                                        90 days old or less          $4,256.84                         $0.00                    $4,256.84
Pony Express Chevrolet                                         90 days old or less             $20.19                         $0.00                       $20.19
Pope County Highway Dept                                       90 days old or less            $143.96                         $0.00                     $143.96


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Portage County Health and Human Services                    90 days old or less            $141.33                         $0.00                     $141.33
Power Wash USA                                              90 days old or less              $65.39                        $0.00                       $65.39
Prairie Comm Serv Inc Courtwood                             90 days old or less            $236.28                         $0.00                      $236.28
Prairie Comm Serv Inc Crosswood                             90 days old or less            $109.22                         $0.00                      $109.22
Prairie Comm Serv Inc Elkwood                               90 days old or less            $190.25                         $0.00                     $190.25
Prairie Comm Serv Inc Glenwood                              90 days old or less            $110.82                         $0.00                     $110.82
Prairie Comm Serv Inc Ravenwood                             90 days old or less            $374.19                         $0.00                      $374.19
Prairie Comm Serv Inc Tigerwood                             90 days old or less             $151.33                        $0.00                      $151.33
Prairie Community Services Knollwood                        90 days old or less            $261.86                         $0.00                     $261.86
Prairie Community Services Autumnwood Summerwood            90 days old or less          $1,648.23                         $0.00                    $1,648.23
Prairie Community Services Brentwood                        90 days old or less            $424.73                         $0.00                     $424.73
Prairie Community Services Cherrywood                       90 days old or less            $203.36                         $0.00                      $203.36
Prairie Community Services Eaglewood Home                   90 days old or less            $219.62                         $0.00                     $219.62
Prairie Community Services Inc Crestwood                    90 days old or less            $676.20                         $0.00                     $676.20
Prairie Community Services Inc Driftwood                    90 days old or less              $32.74                        $0.00                       $32.74
Prairie Community Services Inc Everwood                     90 days old or less              $96.36                        $0.00                       $96.36
Prairie Community Services Inc Fergus Falls                 90 days old or less              $59.12                        $0.00                       $59.12
Prairie Community Services Inc Parkview                     90 days old or less              $45.90                        $0.00                       $45.90
Prairie Community Services Inglewood                        90 days old or less            $245.62                         $0.00                     $245.62
Prairie Community Services Sagewood                         90 days old or less            $365.23                         $0.00                     $365.23
Prairie Community Services Valewood                         90 days old or less            $635.22                         $0.00                     $635.22
Prairie Community Services Windwood                         90 days old or less              $58.87                        $0.00                       $58.87
Prairie Creek LLC                                           90 days old or less            $168.28                         $0.00                     $168.28
Prairie Homes Management LLC                                90 days old or less               $8.01                        $0.00                        $8.01
Prairie Investors LLc dba Cottonwood Villa                  90 days old or less            $245.04                         $0.00                     $245.04
Prairie Payee Services Inc                                  90 days old or less           $1,420.71                        $0.00                    $1,420.71
Prairie Ridge Integrated Behavioral Healthcare              90 days old or less              $36.71                        $0.00                       $36.71
Prairie Ridge Village                                       90 days old or less            $176.31                         $0.00                      $176.31
Premier Estates of Toledo LLC                               90 days old or less          $1,649.40                         $0.00                    $1,649.40
Premier Real Estate Management LLC                          90 days old or less           $1,837.61                        $0.00                    $1,837.61
Presbyterian Manors Inc dba Clay Center Presbyteri          90 days old or less              $51.95                        $0.00                       $51.95
Presentation Medical Center                                 90 days old or less            $541.93                         $0.00                      $541.93
Pro Point Coop                                              90 days old or less              $13.23                        $0.00                       $13.23
Productive Alternatives Perham                              90 days old or less              $13.48                        $0.00                       $13.48


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Progress Enterprises Rolla Crisis Residential Unit              90 days old or less            $196.88                         $0.00                     $196.88
Progressive Windows and Doors                                   90 days old or less            $241.20                         $0.00                     $241.20
Project Safe Inc                                                90 days old or less             $17.98                         $0.00                       $17.98
Prosser School District                                         90 days old or less            $157.21                         $0.00                     $157.21
Providence Medical Center                                       90 days old or less            $193.51                         $0.00                     $193.51
ProviderPay (PPS Data LLC)                                      90 days old or less        $227,681.94                         $0.00                 $227,681.94
QHC Madison Square LLC                                          90 days old or less            $129.99                         $0.00                     $129.99
QHC Winterset North LLC                                         90 days old or less             $32.83                         $0.00                       $32.83
Quincy School District 172                                      90 days old or less            $111.96                         $0.00                     $111.96
Quincy Valley Medical Center                                    90 days old or less             $83.81                         $0.00                       $83.81
R and Q Trucking Inc                                            90 days old or less            $177.34                         $0.00                      $177.34
Rainbow Rider Transit Board                                     90 days old or less            $148.70                         $0.00                     $148.70
Ransom County Gazette                                           90 days old or less            $228.05                         $0.00                     $228.05
Reedsburg Area Medical Center                                   90 days old or less            $156.40                         $0.00                     $156.40
Reel Core Inc                                                   90 days old or less              $7.48                         $0.00                        $7.48
Regency Retirement Assisted Living                              90 days old or less            $127.24                         $0.00                      $127.24
Region II Human Services                                        90 days old or less            $201.96                         $0.00                     $201.96
Region V Sends                                                  90 days old or less             $49.74                         $0.00                       $49.74
Rehabilitation Center of Hampton                                90 days old or less             $60.08                         $0.00                       $60.08
Rehabilitation Services                                         90 days old or less            $123.92                         $0.00                      $123.92
Renewal Unlimited Inc                                           90 days old or less             $80.21                         $0.00                       $80.21
Rental Income Optometrist                                       90 days old or less         $15,591.06                         $0.00                  $15,591.06
Representative Payee Services Inc                               90 days old or less            $410.73                         $0.00                      $410.73
RestorU                                                         90 days old or less            $105.95                         $0.00                      $105.95
Richland Co Health Dept                                         90 days old or less            $215.64                         $0.00                     $215.64
Richland County Coalition Against Domestic Violenc              90 days old or less            $167.86                         $0.00                      $167.86
Richland County Extension Office                                90 days old or less              $3.87                         $0.00                        $3.87
Richland County Fair and Rodeo                                  90 days old or less             $59.64                         $0.00                       $59.64
Richland County Sheriffs Office                                 90 days old or less            $203.70                         $0.00                     $203.70
Richland Opportunities Inc                                      90 days old or less          $3,665.64                         $0.00                    $3,665.64
Ridgeview Place                                                 90 days old or less            $211.41                         $0.00                      $211.41
Riley Ford Mercury                                              90 days old or less             $23.63                         $0.00                       $23.63
Ringgold County Conservation Board                              90 days old or less            $179.38                         $0.00                      $179.38
Ringgold County Supportive Services                             90 days old or less             $66.14                         $0.00                       $66.14


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                         Description                             Accounts receivable     Face Amount             Accounts                      Interest
River Falls Healthcare LLC                                      90 days old or less            $488.31                         $0.00                      $488.31
Riverdale Inc                                                   90 days old or less          $1,165.97                         $0.00                    $1,165.97
Riverland Community College MnSCU                               90 days old or less             $79.96                         $0.00                       $79.96
Rivers Edge Apartments of La Crosse                             90 days old or less            $224.12                         $0.00                     $224.12
Riverside Developers DBA Americ Inn of Iron River               90 days old or less             $50.00                         $0.00                       $50.00
Roanoke LLC                                                     90 days old or less            $394.02                         $0.00                     $394.02
Roberts County Sheriffs Office                                  90 days old or less            $440.85                         $0.00                      $440.85
Rolette County Public Health                                    90 days old or less             $25.98                         $0.00                       $25.98
Roseau County Highway Department                                90 days old or less             $20.75                         $0.00                       $20.75
Roseau County Sheriffs Office                                   90 days old or less             $56.95                         $0.00                       $56.95
Rosebud Casino                                                  90 days old or less            $431.64                         $0.00                     $431.64
Rosebud Sioux Tribe Alcohol Program                             90 days old or less            $741.16                         $0.00                      $741.16
Rosebud Sioux Tribe Health Administration                       90 days old or less          $1,597.98                         $0.00                    $1,597.98
Roseville Township of Warren County                             90 days old or less             $36.97                         $0.00                       $36.97
Rugby Broadcaster Inc                                           90 days old or less             $29.38                         $0.00                       $29.38
Rugby Eagles                                                    90 days old or less             $28.31                         $0.00                       $28.31
Rugby Homes and RV Center Inc                                   90 days old or less             $20.78                         $0.00                       $20.78
Rugby Hotel Group LLC dba Cobblestone Inn and Suit              90 days old or less            $181.64                         $0.00                     $181.64
Rugby Lions Club                                                90 days old or less            $890.01                         $0.00                      $890.01
Rural Minnesota CEP Inc Fergus Falls                            90 days old or less            $203.66                         $0.00                     $203.66
Rural Office of Community Services Inc                          90 days old or less             $72.78                         $0.00                       $72.78
Rural Resource Community Action Agency                          90 days old or less            $223.08                         $0.00                     $223.08
Rush Creek Coop                                                 90 days old or less            $599.53                         $0.00                     $599.53
Russell Regional Hospital                                       90 days old or less            $103.94                         $0.00                     $103.94
Saint Josephs Children Home                                     90 days old or less            $166.40                         $0.00                      $166.40
Salem Lutheran Church                                           90 days old or less             $25.98                         $0.00                       $25.98
Salvation Army Northern Div Service Extension                   90 days old or less          $2,287.22                         $0.00                    $2,287.22
Sandhills Elite Genetics LLC                                    90 days old or less            $576.57                         $0.00                     $576.57
Sanford Luverne Medical Center                                  90 days old or less             $65.99                         $0.00                       $65.99
Santa Cop and Kids                                              90 days old or less            $515.83                         $0.00                     $515.83
Santiam Memorial Hospital                                       90 days old or less            $190.37                         $0.00                     $190.37
Saputo Cheese                                                   90 days old or less            $463.98                         $0.00                      $463.98
Sargent County Courthouse                                       90 days old or less            $123.67                         $0.00                     $123.67
Sartell School District 748                                     90 days old or less            $188.81                         $0.00                      $188.81


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                                                                                                          Doubtful or Uncollectible    Current Value of Debtor's
                          Description                            Accounts receivable     Face Amount             Accounts                      Interest
Savage School                                                   90 days old or less             $69.54                         $0.00                       $69.54
Scharnweber Water Cond Inc                                      90 days old or less            $191.52                         $0.00                     $191.52
Schildberg Construction Company Inc                             90 days old or less             $14.84                         $0.00                       $14.84
Schiltz Foods Inc                                               90 days old or less             $87.81                         $0.00                       $87.81
School Dist No 29 Nemaha Co dba Auburn Public Sch               90 days old or less            $379.99                         $0.00                      $379.99
School District of Abbotsford                                   90 days old or less             $35.93                         $0.00                       $35.93
School District of Arcadia                                      90 days old or less            $167.60                         $0.00                     $167.60
School District of Auburndale                                   90 days old or less          $1,654.48                         $0.00                    $1,654.48
School District of Fort Atkinson                                90 days old or less             $44.31                         $0.00                       $44.31
School District of Holmen                                       90 days old or less             $29.99                         $0.00                       $29.99
School District of Neillsville                                  90 days old or less            $168.91                         $0.00                      $168.91
School District of Reedsburg                                    90 days old or less             $48.17                         $0.00                       $48.17
School District of Waupaca                                      90 days old or less            $260.69                         $0.00                     $260.69
Schultz Plumbing and Heating                                    90 days old or less            $362.40                         $0.00                     $362.40
Schwartz Farms Inc                                              90 days old or less            $266.27                         $0.00                     $266.27
Schweitzer Engineering Laboratories Inc                         90 days old or less            $435.32                         $0.00                     $435.32
Scotland Co R One School District                               90 days old or less             $77.73                         $0.00                       $77.73
Scotland County Care Center                                     90 days old or less             $55.00                         $0.00                       $55.00
Scotland County Department of Social Services                   90 days old or less             $46.94                         $0.00                       $46.94
Scotland County Memorial Hospital                               90 days old or less             $17.64                         $0.00                       $17.64
Scott Community High School                                     90 days old or less            $662.50                         $0.00                     $662.50
Scott Peterson Motors Inc                                       90 days old or less            $164.63                         $0.00                      $164.63
SD Dept of Labor and Regulation Madison                         90 days old or less            $121.33                         $0.00                     $121.33
SD Dept of Social Services Child Protection                     90 days old or less            $778.43                         $0.00                     $778.43
SD Dept of Social Services Child Protection Srvcs               90 days old or less            $297.55                         $0.00                     $297.55
Security First Bank                                             90 days old or less            $115.48                         $0.00                     $115.48
Seneca Operating LLC dba Life Care Center of Senec              90 days old or less            $482.60                         $0.00                     $482.60
Service Options for Seniors Inc                                 90 days old or less            $456.67                         $0.00                     $456.67
Sewright Rentals                                                90 days old or less            $561.32                         $0.00                      $561.32
Shared Magnetic Resonance Imaging Facility Inc                  90 days old or less            $119.50                         $0.00                     $119.50
Sheldon Chamber and Dev Corp                                    90 days old or less             $10.57                         $0.00                       $10.57
Sheldon Community Schools                                       90 days old or less            $584.64                         $0.00                     $584.64
Sheridan County Council on Aging                                90 days old or less             $32.56                         $0.00                       $32.56
Sherwood Inn Apartments Inc                                     90 days old or less             $42.46                         $0.00                       $42.46


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                                                                                                     Doubtful or Uncollectible    Current Value of Debtor's
                           Description                      Accounts receivable     Face Amount             Accounts                      Interest
Sheyenne Care Center Operations                            90 days old or less          $2,618.22                         $0.00                    $2,618.22
Sheyenne Care Center Residents                             90 days old or less            $291.01                         $0.00                      $291.01
Shippers Rental Company                                    90 days old or less            $105.81                         $0.00                      $105.81
Shippers Rental dba Formad Warehouse                       90 days old or less             $79.49                         $0.00                       $79.49
Shooting Star Casino Hotel and Events                      90 days old or less             $18.38                         $0.00                       $18.38
Sibley Public Library                                      90 days old or less             $39.98                         $0.00                       $39.98
Sidney Public Schools                                      90 days old or less          $3,000.00                         $0.00                    $3,000.00
Sidney Richland County Library                             90 days old or less             $34.55                         $0.00                       $34.55
Sisbro Inc                                                 90 days old or less            $265.42                         $0.00                     $265.42
Sisseton Flower Shop                                       90 days old or less             $45.83                         $0.00                       $45.83
Sisseton School District                                   90 days old or less            $235.04                         $0.00                     $235.04
Sisseton Wahpeton Housing Authority                        90 days old or less             $56.94                         $0.00                       $56.94
Skylight Garden Apartments                                 90 days old or less            $474.66                         $0.00                     $474.66
SL Clinton House LLC                                       90 days old or less            $330.21                         $0.00                     $330.21
Sleep Inn and Suites                                       90 days old or less          $1,507.28                         $0.00                    $1,507.28
Smee School District 15 3                                  90 days old or less            $215.73                         $0.00                      $215.73
Smithfield                                                 90 days old or less            $108.35                         $0.00                     $108.35
Snowy Mountain Ind Resource Support and Developmen         90 days old or less             $45.97                         $0.00                       $45.97
Sodexo School Services                                     90 days old or less            $172.83                         $0.00                     $172.83
Solutions For Life                                         90 days old or less             $53.97                         $0.00                       $53.97
Source Healthcare, LLC                                     90 days old or less         $13,643.28                         $0.00                  $13,643.28
South Big Horn Cty Hospital Bonnie Blue Jacket             90 days old or less            $203.07                         $0.00                     $203.07
South Central Child Development                            90 days old or less            $178.06                         $0.00                      $178.06
South Central Iowa Community Action Inc                    90 days old or less          $2,111.73                         $0.00                    $2,111.73
South Dakota Department of Labor and Regulation            90 days old or less            $289.50                         $0.00                     $289.50
South Dakota Dept of Labor                                 90 days old or less          $1,453.96                         $0.00                    $1,453.96
South Dakota Dept of Labor and Regulation                  90 days old or less            $323.81                         $0.00                     $323.81
South Dakota Dept of Social Services                       90 days old or less          $3,952.85                         $0.00                    $3,952.85
South Dakota Dept of Vocational Rehabilitation             90 days old or less            $422.94                         $0.00                     $422.94
South Dakota Developmental Center                          90 days old or less            $810.11                         $0.00                     $810.11
South Dakota Developmental Center Trust Account            90 days old or less            $122.81                         $0.00                     $122.81
South Dakota Rehabilitation                                90 days old or less             $67.13                         $0.00                       $67.13
South Dakota Veterans Home                                 90 days old or less            $439.70                         $0.00                     $439.70
South Tama County Schools                                  90 days old or less            $148.33                         $0.00                     $148.33


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                                                                                                          Doubtful or Uncollectible    Current Value of Debtor's
                            Description                          Accounts receivable     Face Amount             Accounts                      Interest
Southeast Nebraska Community Action Falls City                  90 days old or less            $266.02                         $0.00                     $266.02
Southeast Region Career and Technology Center                   90 days old or less            $137.45                         $0.00                      $137.45
Southern Hills Veterinary Services                              90 days old or less            $122.39                         $0.00                     $122.39
Southern Plains Behavioral Health                               90 days old or less             $31.78                         $0.00                       $31.78
Southwest Crisis Center                                         90 days old or less             $55.97                         $0.00                       $55.97
Southwest Healthcare Services                                   90 days old or less             $79.75                         $0.00                       $79.75
Southwest Wisconsin Workforce Development Board                 90 days old or less            $109.48                         $0.00                      $109.48
Southwestern Mental Health Center Inc                           90 days old or less            $354.50                         $0.00                      $354.50
Spady Buick Pontiac GMC Inc dba Spady Sales Servic              90 days old or less             $12.98                         $0.00                       $12.98
Spencer Public Schools                                          90 days old or less             $64.17                         $0.00                       $64.17
Spirit of Christmas of Chippewa County Inc                      90 days old or less          $1,479.06                         $0.00                    $1,479.06
Spokane Tribe of Indians                                        90 days old or less          $4,256.05                         $0.00                    $4,256.05
Spooner Police Dept                                             90 days old or less             $35.96                         $0.00                       $35.96
Spring Manor                                                    90 days old or less            $155.83                         $0.00                      $155.83
Springsteel Resort Inc                                          90 days old or less            $522.13                         $0.00                      $522.13
St Andrews Episcopal Church                                     90 days old or less             $19.98                         $0.00                       $19.98
St Anne Conference of St Vincent dePaul                         90 days old or less          $1,148.47                         $0.00                    $1,148.47
St Anthonys Catholic Church                                     90 days old or less             $17.99                         $0.00                       $17.99
St Clare Living Community of Mora                               90 days old or less             $58.62                         $0.00                       $58.62
St James Bus Service Inc                                        90 days old or less             $86.29                         $0.00                       $86.29
St James Manor                                                  90 days old or less             $80.94                         $0.00                       $80.94
St James Public Schools ISD No 840                              90 days old or less              $6.93                         $0.00                        $6.93
St James Women of Today                                         90 days old or less          $2,450.98                         $0.00                    $2,450.98
St John Catholic Church                                         90 days old or less             $11.20                         $0.00                       $11.20
St John Parish                                                  90 days old or less            $136.25                         $0.00                     $136.25
St John School District 3                                       90 days old or less            $188.76                         $0.00                      $188.76
St Johns Lutheran Church                                        90 days old or less             $58.77                         $0.00                       $58.77
St Johns Lutheran Community                                     90 days old or less            $489.32                         $0.00                      $489.32
St Josephs Indian School                                        90 days old or less          $3,237.99                         $0.00                    $3,237.99
St Louis County Public Health and Human Services                90 days old or less          $2,782.92                         $0.00                    $2,782.92
St Lukes of Trenton dba Wright Memorial Hospital                90 days old or less            $427.81                         $0.00                     $427.81
St Marks Lutheran Home                                          90 days old or less            $155.92                         $0.00                      $155.92
St Marys Church                                                 90 days old or less            $153.78                         $0.00                     $153.78
St Marys Church of Montgomery County                            90 days old or less             $26.06                         $0.00                       $26.06


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                          Description                            Accounts receivable     Face Amount             Accounts                      Interest
St Patrick Catholic Church                                      90 days old or less             $21.79                         $0.00                       $21.79
St Patricks Church                                              90 days old or less             $26.59                         $0.00                       $26.59
St Patricks Church                                              90 days old or less            $260.77                         $0.00                      $260.77
St Peter The Fisherman Parish                                   90 days old or less             $42.23                         $0.00                       $42.23
St Peters Church                                                90 days old or less             $32.49                         $0.00                       $32.49
St Thomas Aquinas Church                                        90 days old or less             $50.99                         $0.00                       $50.99
St Vincent de Paul                                              90 days old or less             $34.97                         $0.00                       $34.97
St Vincent de Paul Society                                      90 days old or less            $581.00                         $0.00                     $581.00
St Vincent de Paul St Cecilia Back to School Chris              90 days old or less             $50.94                         $0.00                       $50.94
St Vincent de Paul St Cecilia Conference                        90 days old or less             $12.48                         $0.00                       $12.48
St Vincent DePaul Society Mid Willamette Valley                 90 days old or less          $3,166.68                         $0.00                    $3,166.68
Stanley Boyd School District                                    90 days old or less            $470.94                         $0.00                      $470.94
Stanley Community Public School District                        90 days old or less            $265.96                         $0.00                     $265.96
Star Valley Medical Center                                      90 days old or less             $61.03                         $0.00                       $61.03
Starion Financial                                               90 days old or less            $107.74                         $0.00                     $107.74
State Bank of Toledo                                            90 days old or less            $113.81                         $0.00                      $113.81
State of IL Dept of Child and Family Services                   90 days old or less            $276.89                         $0.00                     $276.89
State of Montana Dept of Vocational Rehabilitation              90 days old or less             $30.94                         $0.00                       $30.94
State of Nebraska District No 8 Probation                       90 days old or less             $16.98                         $0.00                       $16.98
State of South Dakota Dept of Human Services                    90 days old or less             $49.98                         $0.00                       $49.98
State of South Dakota Dept of Social Services                   90 days old or less          $4,782.34                         $0.00                    $4,782.34
State of South Dakota Mission CPS                               90 days old or less             $97.09                         $0.00                       $97.09
State of South Dakota Rehab Services                            90 days old or less            $287.52                         $0.00                     $287.52
State of South Dakota Winner CPS                                90 days old or less            $341.84                         $0.00                     $341.84
State of Wisconsin Dept of Workforce Development                90 days old or less          $7,285.99                         $0.00                    $7,285.99
State of Wy Dept of Family Services Converse Count              90 days old or less            $194.29                         $0.00                     $194.29
State of Wy Dept of Family Services Torrington                  90 days old or less            $202.82                         $0.00                     $202.82
Steen Funeral Home Inc                                          90 days old or less             $84.03                         $0.00                       $84.03
STEP Inc                                                        90 days old or less             $54.39                         $0.00                       $54.39
Stevens Community Medical Center                                90 days old or less             $77.14                         $0.00                       $77.14
Strand Kjorsvig Community Rest Home                             90 days old or less            $388.25                         $0.00                     $388.25
Sturgis Regional Hospital                                       90 days old or less            $105.23                         $0.00                     $105.23
Summit School District 54 6                                     90 days old or less             $15.96                         $0.00                       $15.96
Sunny Hill Care Center                                          90 days old or less            $178.87                         $0.00                     $178.87


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                            Description                       Accounts receivable     Face Amount             Accounts                      Interest
Sunnyview Nursing Home and Apts                              90 days old or less             $34.11                         $0.00                       $34.11
Superior Alliance for Independent Living                     90 days old or less             $51.96                         $0.00                       $51.96
Superior Liquor Stores                                       90 days old or less          $5,990.39                         $0.00                    $5,990.39
Superior National Bank and Trust                             90 days old or less            $109.90                         $0.00                      $109.90
Surescripts                                                  90 days old or less        $107,509.83                         $0.00                 $107,509.83
SW MN Private Industry Council                               90 days old or less             $53.18                         $0.00                       $53.18
Sweetwater County School Dist No 2                           90 days old or less             $53.15                         $0.00                       $53.15
Switzerland of Ohio Local School District                    90 days old or less             $79.42                         $0.00                       $79.42
Tama County Agricultural Extension District                  90 days old or less             $34.96                         $0.00                       $34.96
Tama County Public Health and Home Care                      90 days old or less            $715.00                         $0.00                     $715.00
Taproot PC dba Eastside Animal Center                        90 days old or less            $292.68                         $0.00                     $292.68
TAT North Segment                                            90 days old or less          $4,249.24                         $0.00                    $4,249.24
Team Automotive                                              90 days old or less            $378.90                         $0.00                     $378.90
Tellurian UCAN Inc CIT                                       90 days old or less            $304.91                         $0.00                     $304.91
Temperance Lake Ridge                                        90 days old or less          $1,808.54                         $0.00                    $1,808.54
The Achievement Center                                       90 days old or less             $84.87                         $0.00                       $84.87
The Arc of Freeborn County                                   90 days old or less             $30.00                         $0.00                       $30.00
The Arrow Hotel                                              90 days old or less            $138.91                         $0.00                      $138.91
The Bank                                                     90 days old or less            $183.90                         $0.00                     $183.90
The Childrens Christmas Fund                                 90 days old or less          $3,023.39                         $0.00                    $3,023.39
The City of Plattsmouth PCC Pool                             90 days old or less             $21.44                         $0.00                       $21.44
The City of Plattsmouth Water Sewer                          90 days old or less             $49.77                         $0.00                       $49.77
The Coeurd'Alene Resort                                      90 days old or less            $105.99                         $0.00                     $105.99
The Coeurd'Alene Tribe                                       90 days old or less          $4,673.64                         $0.00                    $4,673.64
The Evangelical Lutheran Good Samaritan Society              90 days old or less             $74.68                         $0.00                       $74.68
The Kensington Fort Madison LLC                              90 days old or less            $390.71                         $0.00                     $390.71
The Lodge                                                    90 days old or less            $222.50                         $0.00                     $222.50
The Majestic Theatre                                         90 days old or less            $206.46                         $0.00                      $206.46
The Nebraska Masonic Home                                    90 days old or less             $17.97                         $0.00                       $17.97
The Premonstratensian Fathers                                90 days old or less          $2,673.38                         $0.00                    $2,673.38
The Salvation Army                                           90 days old or less             $49.99                         $0.00                       $49.99
The Salvation Army                                           90 days old or less            $122.23                         $0.00                      $122.23
The Salvation Army                                           90 days old or less            $139.99                         $0.00                      $139.99
The Salvation Army                                           90 days old or less            $249.93                         $0.00                      $249.93


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                                                                                                         Doubtful or Uncollectible    Current Value of Debtor's
                          Description                           Accounts receivable     Face Amount             Accounts                      Interest
The Salvation Army                                             90 days old or less            $511.38                         $0.00                      $511.38
The Salvation Army                                             90 days old or less            $997.73                         $0.00                      $997.73
The Salvation Army                                             90 days old or less          $1,196.26                         $0.00                    $1,196.26
The Salvation Army                                             90 days old or less         $14,000.00                         $0.00                  $14,000.00
The Salvation Army Northern Division TCSS                      90 days old or less            $705.53                         $0.00                     $705.53
The Salvation Army Rice Lake                                   90 days old or less             $50.00                         $0.00                       $50.00
The Village Health Care Center                                 90 days old or less            $352.91                         $0.00                     $352.91
The Wayne Herald Morning Shopper                               90 days old or less             $27.66                         $0.00                       $27.66
Thomas Livestock Co Inc                                        90 days old or less            $309.06                         $0.00                      $309.06
Thorne Crest Retirement Center                                 90 days old or less            $234.91                         $0.00                      $234.91
Thrifty White Drug                                             90 days old or less         $63,833.24                         $0.00                  $63,833.24
Thunderstik Lodge                                              90 days old or less             $19.16                         $0.00                       $19.16
Timber Products Michigan LP                                    90 days old or less            $690.57                         $0.00                     $690.57
Toole Co Hospital dba Marias Medical Ctr                       90 days old or less            $179.99                         $0.00                     $179.99
Torrington Apartments A Limited Partnership                    90 days old or less             $90.59                         $0.00                       $90.59
Town of Arcadia                                                90 days old or less             $22.99                         $0.00                       $22.99
Town of Carrollton Fire Dept                                   90 days old or less             $57.35                         $0.00                       $57.35
Town of Carrollton Park Dept                                   90 days old or less            $117.95                         $0.00                     $117.95
Town of Carrollton Police Dept and Animal Control              90 days old or less            $124.90                         $0.00                     $124.90
Town of De Motte                                               90 days old or less            $239.81                         $0.00                     $239.81
Town of Greybull                                               90 days old or less             $15.90                         $0.00                       $15.90
Town of Lowell                                                 90 days old or less            $138.98                         $0.00                      $138.98
Town of Syracuse Police Department                             90 days old or less             $31.49                         $0.00                       $31.49
Town of Thermopolis                                            90 days old or less             $59.46                         $0.00                       $59.46
Town of Wheatland                                              90 days old or less             $90.89                         $0.00                       $90.89
Town of Williamsport                                           90 days old or less            $118.85                         $0.00                      $118.85
Travel advance to a Shopko employee                            90 days old or less          $5,000.00                         $0.00                    $5,000.00
TREC Badlands Head Start Prenatal to Five                      90 days old or less             $25.11                         $0.00                       $25.11
Trempealeau County Health Dept                                 90 days old or less            $444.94                         $0.00                     $444.94
Trenton R 1X Schools                                           90 days old or less            $318.22                         $0.00                     $318.22
Trenton Ready Mix                                              90 days old or less             $44.74                         $0.00                       $44.74
Tri Basin Natural Resources District                           90 days old or less              $6.98                         $0.00                        $6.98
Tri County Opportunities Council                               90 days old or less          $2,456.86                         $0.00                    $2,456.86
Tri Rivers Broadcasting Company Inc                            90 days old or less             $75.82                         $0.00                       $75.82


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                                                                                                         Doubtful or Uncollectible    Current Value of Debtor's
                          Description                           Accounts receivable     Face Amount             Accounts                      Interest
Tri State Construction LLC                                     90 days old or less             $27.98                         $0.00                       $27.98
Trinity Evangelical Free Church                                90 days old or less             $68.16                         $0.00                       $68.16
Trinity Lutheran Church                                        90 days old or less             $46.04                         $0.00                       $46.04
Tripp County Library Grossenburg Memorial                      90 days old or less             $25.97                         $0.00                       $25.97
Trotter Inc                                                    90 days old or less             $11.75                         $0.00                       $11.75
Turtle Mountain Child Welfare and Family Services              90 days old or less            $916.37                         $0.00                      $916.37
Turtle Mountain Commodity Warehouse                            90 days old or less             $80.50                         $0.00                       $80.50
Turtle Mountain Employment and Training                        90 days old or less            $247.40                         $0.00                      $247.40
Twin State Inc dba Twin State Hampton                          90 days old or less            $164.82                         $0.00                      $164.82
Two Rivers Regional Council of Public Officials                90 days old or less             $50.00                         $0.00                       $50.00
U S Water Services Corp                                        90 days old or less            $131.56                         $0.00                      $131.56
UAW Local 1237                                                 90 days old or less            $465.87                         $0.00                      $465.87
Unified School District 273                                    90 days old or less            $599.71                         $0.00                      $599.71
United Bank and Trust                                          90 days old or less             $42.53                         $0.00                       $42.53
United Church of Christ Congregational                         90 days old or less             $55.60                         $0.00                       $55.60
United Community Action Partnership                            90 days old or less             $67.93                         $0.00                       $67.93
United Methodist Church                                        90 days old or less             $22.97                         $0.00                       $22.97
United Presbyterian Church                                     90 days old or less            $251.25                         $0.00                      $251.25
University of Minnesota Morris                                 90 days old or less             $29.00                         $0.00                       $29.00
Upper DesMoines Opportunity Inc                                90 days old or less          $2,422.64                         $0.00                    $2,422.64
Upper Valley Special Education                                 90 days old or less              $9.99                         $0.00                        $9.99
USD 214                                                        90 days old or less            $364.93                         $0.00                      $364.93
USD 405 Lyons                                                  90 days old or less            $156.19                         $0.00                      $156.19
USD 407 Russell County                                         90 days old or less             $29.93                         $0.00                       $29.93
Utah Div of Child and Family Services Ogden                    90 days old or less          $5,371.38                         $0.00                    $5,371.38
Utah State Developmental Center                                90 days old or less          $1,498.33                         $0.00                    $1,498.33
Utah State Office of Rehabilitation                            90 days old or less          $2,568.61                         $0.00                    $2,568.61
UW River Falls Residence Hall Association                      90 days old or less            $110.68                         $0.00                      $110.68
Valiant Living                                                 90 days old or less            $348.85                         $0.00                      $348.85
Valley City Park District                                      90 days old or less              $6.99                         $0.00                        $6.99
Valley City Public Schools                                     90 days old or less            $153.38                         $0.00                      $153.38
Valley City Veterinary Hospital PC                             90 days old or less            $126.72                         $0.00                      $126.72
Valley Edinburg School                                         90 days old or less             $39.99                         $0.00                       $39.99
Valley Hope Association                                        90 days old or less             $24.57                         $0.00                       $24.57


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                          Description                    Accounts receivable     Face Amount             Accounts                      Interest
Valley Realty Inc                                       90 days old or less             $79.06                         $0.00                       $79.06
Valley View Home                                        90 days old or less          $1,848.98                         $0.00                    $1,848.98
Valley View Investors LLC                               90 days old or less            $147.26                         $0.00                      $147.26
Vendor Allowance Receivables                            90 days old or less     $12,660,684.83                         $0.00              $12,660,684.83
Veterans Memorial Hospital                              90 days old or less            $145.82                         $0.00                      $145.82
Vetter Equipment Company                                90 days old or less             $33.14                         $0.00                       $33.14
VIA Trading Corporation                                 90 days old or less         $14,360.22                         $0.00                  $14,360.22
Victory Ford Inc                                        90 days old or less             $35.04                         $0.00                       $35.04
Vilas County Social Services                            90 days old or less             $10.77                         $0.00                       $10.77
Villa Pines Living Center                               90 days old or less            $321.20                         $0.00                      $321.20
Village Northwest Unlimited                             90 days old or less          $1,002.49                         $0.00                    $1,002.49
Village of Beemer Colonial Haven                        90 days old or less             $11.17                         $0.00                       $11.17
Village of Ephraim                                      90 days old or less             $69.99                         $0.00                       $69.99
Village of Grafton                                      90 days old or less             $66.93                         $0.00                       $66.93
Village of Little Chute                                 90 days old or less             $22.56                         $0.00                       $22.56
Village of Rothschild                                   90 days old or less             $90.47                         $0.00                       $90.47
Village of Weston                                       90 days old or less          $2,465.32                         $0.00                    $2,465.32
Village of Woodsfield                                   90 days old or less             $62.47                         $0.00                       $62.47
Vision 20 20 DBA Vision Inn                             90 days old or less             $17.08                         $0.00                       $17.08
Vision Care Associates                                  90 days old or less             $36.03                         $0.00                       $36.03
VistaPrairie at Fieldcrest                              90 days old or less             $16.99                         $0.00                       $16.99
Wabash Community Unit School District 348               90 days old or less            $622.48                         $0.00                      $622.48
Wabash County Highway Department                        90 days old or less             $17.03                         $0.00                       $17.03
Wabash County Senior Citizens                           90 days old or less            $120.07                         $0.00                     $120.07
Wabash County Sheriffs Office                           90 days old or less             $69.56                         $0.00                       $69.56
Wabash General Hospital District                        90 days old or less            $234.11                         $0.00                     $234.11
Wakefield Community School                              90 days old or less             $66.69                         $0.00                       $66.69
Wakefield Health Care Center                            90 days old or less             $22.98                         $0.00                       $22.98
Walsh County Farm Bureau                                90 days old or less             $69.37                         $0.00                       $69.37
Walsh County Sheriffs Office                            90 days old or less            $159.29                         $0.00                     $159.29
Wapato School District                                  90 days old or less             $25.00                         $0.00                       $25.00
Warren Achievement Center Inc                           90 days old or less            $370.77                         $0.00                      $370.77
Warren County Sheriffs Office                           90 days old or less             $59.93                         $0.00                       $59.93
Washakie County Senior Citizens Center Inc              90 days old or less             $21.50                         $0.00                       $21.50


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                                                                                                         Doubtful or Uncollectible    Current Value of Debtor's
                           Description                          Accounts receivable     Face Amount             Accounts                      Interest
Washington Division of Vocational Rehabilitation               90 days old or less             $47.68                         $0.00                      $47.68
Washington State University                                    90 days old or less            $432.73                         $0.00                     $432.73
Washington State University Residential Education              90 days old or less            $626.94                         $0.00                     $626.94
Watonwan County Feeder Pig Coop                                90 days old or less            $253.69                         $0.00                     $253.69
Watonwan County Human Services                                 90 days old or less             $88.66                         $0.00                      $88.66
Watonwan County Jail                                           90 days old or less            $169.99                         $0.00                     $169.99
Watonwan County St James Library                               90 days old or less            $119.58                         $0.00                     $119.58
Watson Children's Shelter                                      90 days old or less             $61.86                         $0.00                      $61.86
Waukon Area Fire Protection District                           90 days old or less            $208.59                         $0.00                     $208.59
Waukon Chamber of Commerce                                     90 days old or less             $13.90                         $0.00                      $13.90
Wayne Community School Dist No 17                              90 days old or less             $59.43                         $0.00                      $59.43
Wayne Eagles Club Aerie 3757                                   90 days old or less              $9.29                         $0.00                        $9.29
Wayne Hospitality Group LLC dba Cobblestone Hotel              90 days old or less             $26.93                         $0.00                      $26.93
Wayne Municipal Airport                                        90 days old or less             $25.12                         $0.00                      $25.12
Wayne State College                                            90 days old or less            $356.21                         $0.00                     $356.21
WCG Land and Cattle LLC                                        90 days old or less             $86.49                         $0.00                      $86.49
Wedgewood Manor Resident Acct Only                             90 days old or less             $88.79                         $0.00                      $88.79
Wee Kare Preschool                                             90 days old or less              $9.21                         $0.00                        $9.21
Wenatchee School District                                      90 days old or less             $68.27                         $0.00                      $68.27
Wesco Operatng Inc                                             90 days old or less             $51.27                         $0.00                      $51.27
West Central Community Action                                  90 days old or less             $10.99                         $0.00                      $10.99
West Central Community Services                                90 days old or less            $645.40                         $0.00                     $645.40
West Central FS                                                90 days old or less             $88.41                         $0.00                      $88.41
West Central Linen Services Inc                                90 days old or less            $605.98                         $0.00                     $605.98
West Central NE Area Agency on Aging                           90 days old or less            $104.92                         $0.00                     $104.92
West Iron Co School District                                   90 days old or less             $34.24                         $0.00                      $34.24
West Point Care Center                                         90 days old or less            $120.60                         $0.00                     $120.60
West Texas National Bank                                       90 days old or less            $147.06                         $0.00                     $147.06
West Wind Village                                              90 days old or less            $418.31                         $0.00                     $418.31
Westendorf Mfg Co Inc                                          90 days old or less             $69.93                         $0.00                      $69.93
Western Dairyland EOC Inc                                      90 days old or less             $25.03                         $0.00                      $25.03
Weston Co School Dist 1                                        90 days old or less            $282.36                         $0.00                     $282.36
Weston County Courthouse                                       90 days old or less             $93.95                         $0.00                      $93.95
Weston County Fire Protection District                         90 days old or less             $94.88                         $0.00                      $94.88


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                           Description                           Accounts receivable     Face Amount             Accounts                      Interest
Weston County Homeland Security                                 90 days old or less             $59.40                         $0.00                       $59.40
Weston County Humane Society Inc                                90 days old or less             $22.98                         $0.00                       $22.98
Weston County Manor Residents                                   90 days old or less             $64.92                         $0.00                       $64.92
Weston County Museum Dist                                       90 days old or less             $93.24                         $0.00                       $93.24
Weston County Peace Officers Association                        90 days old or less             $44.84                         $0.00                       $44.84
Weston County Senior Services                                   90 days old or less            $187.00                         $0.00                      $187.00
Weston County Sheriffs Office                                   90 days old or less            $141.93                         $0.00                      $141.93
Wheatland Bible Church                                          90 days old or less             $39.98                         $0.00                       $39.98
Wheatland Electric Coop Inc                                     90 days old or less             $64.33                         $0.00                       $64.33
Wheatland Rural Electric Assoc                                  90 days old or less             $88.94                         $0.00                       $88.94
Whispering Pines                                                90 days old or less            $718.71                         $0.00                      $718.71
White Earth Tribal Council                                      90 days old or less            $151.90                         $0.00                     $151.90
White Pine Public Museum                                        90 days old or less            $112.54                         $0.00                      $112.54
Wiconi Wawokiya Inc                                             90 days old or less             $43.95                         $0.00                       $43.95
Wil Mar Rentals                                                 90 days old or less            $300.06                         $0.00                      $300.06
Wildlife Recapture Taxidermy                                    90 days old or less             $67.92                         $0.00                       $67.92
William H and Carrie Gottsche Foundation                        90 days old or less            $192.18                         $0.00                     $192.18
Williams Cleaners                                               90 days old or less          $1,262.46                         $0.00                    $1,262.46
Windom Area Schools ISD No 177                                  90 days old or less            $321.66                         $0.00                     $321.66
Winkler County Appraisal District                               90 days old or less             $45.11                         $0.00                       $45.11
Winkler County Memorial Hospital                                90 days old or less              $4.99                         $0.00                        $4.99
Winnebago County Conservation Board                             90 days old or less              $4.79                         $0.00                        $4.79
Winnebago County Sheriffs Office                                90 days old or less          $2,452.33                         $0.00                    $2,452.33
Winnebago Tribe AIHRC                                           90 days old or less            $533.35                         $0.00                      $533.35
Winner Community Thrift Store                                   90 days old or less             $40.97                         $0.00                       $40.97
Winner Physical Therapy Inc                                     90 days old or less             $89.83                         $0.00                       $89.83
Winner Regional Health Care Center                              90 days old or less             $69.39                         $0.00                       $69.39
Winner Regional Healthcare Center Long Term Care F              90 days old or less             $27.24                         $0.00                       $27.24
Winner Resource Center For Families                             90 days old or less             $18.46                         $0.00                       $18.46
Winner United Methodist Church                                  90 days old or less             $30.81                         $0.00                       $30.81
Winona Community Foundation co Goodfellows Fund                 90 days old or less          $2,541.66                         $0.00                    $2,541.66
Winona County                                                   90 days old or less            $650.15                         $0.00                     $650.15
Winona County Developmental Achievement Center                  90 days old or less             $41.34                         $0.00                       $41.34
Winona State University                                         90 days old or less              $8.35                         $0.00                        $8.35


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Winterset Community School District                   90 days old or less           $304.13                          $0.00                      $304.13
Winterset Lions Club                                  90 days old or less           $474.63                          $0.00                     $474.63
Wisconsin Rapids Public Schools                       90 days old or less         $1,903.62                          $0.00                    $1,903.62
Wood County Human Services                            90 days old or less           $532.73                          $0.00                      $532.73
Woodard Curran                                        90 days old or less           $464.81                          $0.00                     $464.81
Woodcraft Industries Inc                              90 days old or less            $11.79                          $0.00                       $11.79
Workforce Development                                 90 days old or less            $97.57                          $0.00                       $97.57
Workforce Innovation and Opportunity Act              90 days old or less            $78.39                          $0.00                       $78.39
Workforce Resource                                    90 days old or less            $48.48                          $0.00                       $48.48
Worland Healthcare and Rehab Center                   90 days old or less            $41.46                          $0.00                       $41.46
Worthington Cable 3 Television                        90 days old or less           $191.90                          $0.00                      $191.90
Wright County Agriculture Extension                   90 days old or less           $146.62                          $0.00                      $146.62
Wright County Engineer                                90 days old or less            $59.45                          $0.00                       $59.45
Wright County Motel Investors                         90 days old or less           $309.16                          $0.00                      $309.16
WVA                                                   90 days old or less         $3,428.74                          $0.00                    $3,428.74
Wyoming Child and Family Development Inc              90 days old or less           $161.52                          $0.00                     $161.52
Wyoming Department of Transportation                  90 days old or less            $87.95                          $0.00                       $87.95
Wyoming Dept of Workforce Services                    90 days old or less            $38.92                          $0.00                       $38.92
Wyoming Life Resource Center Client Fund              90 days old or less            $81.87                          $0.00                       $81.87
Wyoming Pioneer Home                                  90 days old or less            $32.77                          $0.00                       $32.77
Yakima Neighborhood Health                            90 days old or less           $978.72                          $0.00                     $978.72
Yankton Sioux Tribe                                   90 days old or less            $60.58                          $0.00                       $60.58
YMCA of Rapid City                                    90 days old or less           $117.09                          $0.00                     $117.09
YMCA of the Prairie                                   90 days old or less             $6.31                          $0.00                        $6.31
YMCA of Worthington                                   90 days old or less             $9.48                          $0.00                        $9.48
Youth Development Services                            90 days old or less           $192.42                          $0.00                     $192.42
Yuma District Hospital                                90 days old or less            $54.77                          $0.00                       $54.77
Zion Evangelical Lutheran Church                      90 days old or less            $31.62                          $0.00                       $31.62
Zips Truck Equipment Inc                              90 days old or less           $337.88                          $0.00                     $337.88
                                                                      TOTAL: $38,345,574.34                          $0.00              $38,345,574.34




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2DF No.2, L.C. & ORBIT 1, LLC                                 Over 90 days old              $1,058.02                        $0.00                    $1,058.02
Aberdeen Health and Rehab                                     Over 90 days old                $312.42                        $0.00                      $312.42
Adair County Memorial Hospital                                Over 90 days old             $1,642.73                         $0.00                    $1,642.73
Alegent Health Com Mem Hospital co CHI Acct Pay               Over 90 days old                  $5.79                        $0.00                        $5.79
American Eagle Nursing Home Company of Arpin LLC              Over 90 days old                 $19.06                        $0.00                       $19.06
Appleton Area School District                                 Over 90 days old                  $3.74                        $0.00                        $3.74
ARCP SH Valentine NE, LLC                                     Over 90 days old            $34,754.00                         $0.00                  $34,754.00
ARCP SH Valentine NE, LLC                                     Over 90 days old           $317,422.90                         $0.00                 $317,422.90
ARG Lumar, LLC                                                Over 90 days old           $248,650.25                         $0.00                 $248,650.25
ARG Lumar, LLC                                                Over 90 days old           $180,834.01                         $0.00                 $180,834.01
Argus Health                                                  Over 90 days old            $10,093.44                         $0.00                  $10,093.44
Ascension - Our Lady of Victory                               Over 90 days old               $152.04                         $0.00                     $152.04
Ascension Saint Mary's Hospital                               Over 90 days old                $547.58                        $0.00                      $547.58
Aspirus Keweenaw Hospital                                     Over 90 days old              $6,143.61                        $0.00                    $6,143.61
Atlas Shopko Owner, LLC                                       Over 90 days old              $6,240.00                        $0.00                    $6,240.00
Avera McKennan Hospital                                       Over 90 days old             $4,246.81                         $0.00                    $4,246.81
Bank of America                                               Over 90 days old                $995.00                        $0.00                      $995.00
Bank of Birmingham                                            Over 90 days old            $30,558.79                         $0.00                  $30,558.79
Belle Fourche Healthcare Center                               Over 90 days old                $148.42                        $0.00                      $148.42
Bentron Rural Electric Association                            Over 90 days old            $10,822.07                         $0.00                  $10,822.07
Big Muddy Co-Op                                               Over 90 days old              $2,887.12                        $0.00                    $2,887.12
Blackner-Hughes, Sally                                        Over 90 days old            $10,000.00                         $0.00                  $10,000.00
Blue Rock Products Co Admin Offices                           Over 90 days old                 $76.77                        $0.00                       $76.77
Burlington Conservation Dist                                  Over 90 days old                $130.12                        $0.00                     $130.12
Central Dakota Investment, Inc                                Over 90 days old            $23,400.00                         $0.00                  $23,400.00
Central Dakota Investment, Inc                                Over 90 days old            $55,895.01                         $0.00                  $55,895.01
Central Electric Cooperative                                  Over 90 days old            $11,440.41                         $0.00                  $11,440.41
CGP Seymour, Ltd.                                             Over 90 days old            $56,943.88                         $0.00                  $56,943.88
CGP Seymour, Ltd.                                             Over 90 days old           $104,615.54                         $0.00                 $104,615.54
CGSK Tulia, Ltd.                                              Over 90 days old              $6,458.00                        $0.00                    $6,458.00
CGSK Tulia, Ltd.                                              Over 90 days old              $9,933.37                        $0.00                    $9,933.37
Cherry County NE                                              Over 90 days old                $155.95                        $0.00                      $155.95
City of Falls City General                                    Over 90 days old                $118.14                        $0.00                      $118.14
City of St James Government                                   Over 90 days old                 $98.88                        $0.00                       $98.88


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Citzen's Mutual TEL                                             Over 90 days old              $3,129.17                        $0.00                    $3,129.17
Clark Electric Cooperative                                      Over 90 days old            $18,630.47                         $0.00                  $18,630.47
Cloverland Electric Cooperative                                 Over 90 days old              $2,697.99                        $0.00                    $2,697.99
CMTEL - Bloomfield                                              Over 90 days old              $7,629.38                        $0.00                    $7,629.38
Colonial Center                                                 Over 90 days old                $450.69                        $0.00                      $450.69
Community Connections Inc                                       Over 90 days old                $549.53                        $0.00                      $549.53
Community Hospital                                              Over 90 days old                $464.96                        $0.00                      $464.96
Confederated Tribe of Warm Springs                              Over 90 days old              $5,629.94                        $0.00                    $5,629.94
Confederated Tribes and Bands of the Yakama Nation              Over 90 days old              $1,917.87                        $0.00                    $1,917.87
Cornelsen Leasing Co                                            Over 90 days old              $6,000.00                        $0.00                    $6,000.00
Cornelsen Leasing Co                                            Over 90 days old            $25,500.00                         $0.00                  $25,500.00
Cresco Shopko LLC                                               Over 90 days old              $8,400.00                        $0.00                    $8,400.00
Cresco Shopko LLC                                               Over 90 days old            $59,065.04                         $0.00                  $59,065.04
CRG Boise LLC & The Ridge, L.P.                                 Over 90 days old                $320.00                        $0.00                      $320.00
Crossroads of Western Iowa Cherokee                             Over 90 days old                  $0.34                        $0.00                        $0.34
Dakota Sioux Casino                                             Over 90 days old                $201.55                        $0.00                      $201.55
Davis County Hospital                                           Over 90 days old             $9,899.20                         $0.00                    $9,899.20
Department of Family Services                                   Over 90 days old                $223.03                        $0.00                      $223.03
Dickey Rural Networks                                           Over 90 days old              $4,122.71                        $0.00                    $4,122.71
Dixon Correctional Center                                       Over 90 days old                $258.81                        $0.00                      $258.81
DO NOT USE                                                      Over 90 days old              $1,488.24                        $0.00                    $1,488.24
Don Levin Trust                                                 Over 90 days old            $84,000.00                         $0.00                  $84,000.00
Don Levin Trust                                                 Over 90 days old            $62,898.20                         $0.00                  $62,898.20
Don Levin Trust                                                 Over 90 days old           $336,000.00                         $0.00                 $336,000.00
Don Levin Trust                                                 Over 90 days old           $479,280.06                         $0.00                 $479,280.06
DPHHS Vocation Rehabilitation                                   Over 90 days old                 $30.77                        $0.00                       $30.77
East Central Elec - Capital Credit                              Over 90 days old            $36,472.13                         $0.00                  $36,472.13
East Dakota Properties                                          Over 90 days old            $27,499.00                         $0.00                  $27,499.00
East Dakota Properties                                          Over 90 days old            $33,148.39                         $0.00                  $33,148.39
East Med LLC                                                    Over 90 days old            $60,000.00                         $0.00                  $60,000.00
East Med LLC                                                    Over 90 days old           $180,000.00                         $0.00                 $180,000.00
Encinal Shopko Redding, LLC                                     Over 90 days old              $1,000.00                        $0.00                    $1,000.00
ENJG, Ltd.                                                      Over 90 days old           $144,688.41                         $0.00                 $144,688.41
Envision                                                        Over 90 days old                $564.21                        $0.00                      $564.21


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                                                                                                        Doubtful or Uncollectible    Current Value of Debtor's
                           Description                         Accounts receivable     Face Amount             Accounts                      Interest
Express Scripts Holding Company                               Over 90 days old           $424,754.00                         $0.00                 $424,754.00
Falthead Electric Coop                                        Over 90 days old            $10,411.53                         $0.00                  $10,411.53
Farmers Union Oil                                             Over 90 days old             $2,124.19                         $0.00                    $2,124.19
Farmers Union Oil Company                                     Over 90 days old               $481.28                         $0.00                     $481.28
Farmers Union Oil Company Partner Stock Dividend Cenex        Over 90 days old              $5,014.22                        $0.00                    $5,014.22
Federated Telephone                                           Over 90 days old               $349.06                         $0.00                      $349.06
Flathead Electric Co-Op                                       Over 90 days old            $48,049.93                         $0.00                  $48,049.93
Golden Manor Inc                                              Over 90 days old                 $69.10                        $0.00                       $69.10
Golden West Telecom Co-Op                                     Over 90 days old            $92,126.19                         $0.00                  $92,126.19
Goodwill Working Solutions                                    Over 90 days old               $293.73                         $0.00                     $293.73
Gordon Chamber of Commerce                                    Over 90 days old               $124.12                         $0.00                     $124.12
Great Lakes Energy                                            Over 90 days old             $2,031.41                         $0.00                    $2,031.41
Guardian Inn Motel LLC                                        Over 90 days old               $196.16                         $0.00                     $196.16
Halla, Kristen                                                Over 90 days old             $3,000.00                         $0.00                    $3,000.00
Hamstra Builders, Inc.                                        Over 90 days old             $1,997.21                         $0.00                    $1,997.21
Hawkeye Care Center Cresco                                    Over 90 days old                 $21.54                        $0.00                       $21.54
Heart of Iowa Communication Cooperative                       Over 90 days old             $8,540.67                         $0.00                    $8,540.67
Ida County Engineers Office                                   Over 90 days old                 $24.98                        $0.00                       $24.98
Idaho Dept Health Welfare Children Family Services            Over 90 days old                 $94.44                        $0.00                       $94.44
Idaho Division of Vocational Rehabilitation                   Over 90 days old               $736.64                         $0.00                     $736.64
INACTIVE Test Customer                                        Over 90 days old                  $0.01                        $0.00                        $0.01
Iron County Dept of Human Services                            Over 90 days old                 $78.40                        $0.00                       $78.40
Iron County Medical Care Auxiliary                            Over 90 days old                 $76.29                        $0.00                       $76.29
Jay, Inc.                                                     Over 90 days old            $35,600.00                         $0.00                  $35,600.00
Jay, Inc.                                                     Over 90 days old            $47,903.12                         $0.00                  $47,903.12
JO-Carroll Energy                                             Over 90 days old            $26,101.39                         $0.00                  $26,101.39
Johnson Controls Inc                                          Over 90 days old                 $10.48                        $0.00                       $10.48
Johnson County Hospital District                              Over 90 days old                 $14.96                        $0.00                       $14.96
Js Sights and Sounds                                          Over 90 days old                 $85.20                        $0.00                       $85.20
Knife River Care Center                                       Over 90 days old               $180.96                         $0.00                      $180.96
LCN                                                           Over 90 days old             $5,502.00                         $0.00                    $5,502.00
LCN                                                           Over 90 days old             $1,500.00                         $0.00                    $1,500.00
Lea Country Electric Cooperative, Inc                         Over 90 days old             $4,100.07                         $0.00                    $4,100.07
Lee County Health Department                                  Over 90 days old                  $4.98                        $0.00                        $4.98


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                                                                                                          Doubtful or Uncollectible    Current Value of Debtor's
                         Description                             Accounts receivable     Face Amount             Accounts                      Interest
LEECO Properties, Inc                                           Over 90 days old              $5,817.52                        $0.00                    $5,817.52
Lewis Clark State College                                       Over 90 days old               $484.41                         $0.00                      $484.41
Lindahl Healthcare Inc dba Careage of Wayne                     Over 90 days old               $217.81                         $0.00                      $217.81
Linsay, Adam                                                    Over 90 days old            $12,236.93                         $0.00                  $12,236.93
Little Shell Home For Youth                                     Over 90 days old               $329.86                         $0.00                     $329.86
Lower Valley Energy                                             Over 90 days old              $3,610.08                        $0.00                    $3,610.08
Lucky 13, LLC                                                   Over 90 days old            $57,117.00                         $0.00                  $57,117.00
Lucky 13, LLC                                                   Over 90 days old           $482,701.69                         $0.00                 $482,701.69
Marias River Electric Co-Op                                     Over 90 days old            $26,649.92                         $0.00                  $26,649.92
Marty Indian School Board                                       Over 90 days old               $104.93                         $0.00                      $104.93
Mcclellan, Ebony                                                Over 90 days old            $20,957.15                         $0.00                  $20,957.15
McKessen                                                        Over 90 days old         $1,932,801.09                         $0.00               $1,932,801.09
Medici Rossmore LLC                                             Over 90 days old                $759.20                        $0.00                      $759.20
MHA Energy Department                                           Over 90 days old                 $42.46                        $0.00                       $42.46
Michigan Rehabilitation Services                                Over 90 days old               $282.75                         $0.00                      $282.75
Mid Rivers Communications                                       Over 90 days old              $8,272.05                        $0.00                    $8,272.05
Midwest Energy Inc                                              Over 90 days old              $9,295.88                        $0.00                    $9,295.88
Modern Hair Designers                                           Over 90 days old                 $34.56                        $0.00                       $34.56
Mohave Valley DG, LLC                                           Over 90 days old            $14,550.00                         $0.00                  $14,550.00
Mohave Valley DG, LLC                                           Over 90 days old            $31,379.63                         $0.00                  $31,379.63
Mondell Heights Retirement Community                            Over 90 days old                $296.35                        $0.00                      $296.35
Mountrail-Willaims Electric Cooperative - MWEC                  Over 90 days old            $32,111.83                         $0.00                  $32,111.83
Mt. Wheeler Power                                               Over 90 days old              $5,919.60                        $0.00                    $5,919.60
Nebraska Health and Human Services Children Family              Over 90 days old                 $54.22                        $0.00                       $54.22
Nebraska Medial Center                                          Over 90 days old             $3,833.13                         $0.00                    $3,833.13
Nemont Telephone Communications                                 Over 90 days old            $33,989.92                         $0.00                  $33,989.92
Next Generation Properties of Nebraska, LLC                     Over 90 days old           $160,000.00                         $0.00                 $160,000.00
Next Generation Properties of Nebraska, LLC                     Over 90 days old           $160,000.00                         $0.00                 $160,000.00
North Lincoln County Hospital District                          Over 90 days old              $8,254.56                        $0.00                    $8,254.56
North Valley Homes                                              Over 90 days old                  $0.03                        $0.00                        $0.03
Northeast Family Support                                        Over 90 days old                $123.42                        $0.00                      $123.42
Northeast Missouri Rural Telephone                              Over 90 days old              $7,093.97                        $0.00                    $7,093.97
Nuernberger, Alissa                                             Over 90 days old            $10,000.00                         $0.00                  $10,000.00
Optical A/R - 1st party                                         Over 90 days old           $158,020.52                         $0.00                 $158,020.52


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                                                                                                          Doubtful or Uncollectible    Current Value of Debtor's
                             Description                         Accounts receivable     Face Amount             Accounts                      Interest
OSF Healthcare System dba OSF Holy Family Med Cntr              Over 90 days old                  $5.98                        $0.00                        $5.98
Outagamie Co-Op Services, Inc                                   Over 90 days old               $564.94                         $0.00                      $564.94
PAL, Inc. and H. Lauren Lewis Living Trust                      Over 90 days old              $2,808.68                        $0.00                    $2,808.68
PALCO Investments, LLC                                          Over 90 days old              $1,190.00                        $0.00                    $1,190.00
Passey, Camerin                                                 Over 90 days old            $10,000.00                         $0.00                  $10,000.00
Peterson Ventures, LLC                                          Over 90 days old              $7,584.00                        $0.00                    $7,584.00
Pharmacy A/R - 1st party                                        Over 90 days old            $17,986.47                         $0.00                  $17,986.47
Pharmacy A/R - 3rd party                                        Over 90 days old           $427,137.43                         $0.00                 $427,137.43
Pierce Pepin Cooperative Services                               Over 90 days old            $13,079.94                         $0.00                  $13,079.94
Pioneer Care and Rehabilitation                                 Over 90 days old                 $32.05                        $0.00                       $32.05
Pioneer Electric Cooperative, Inc                               Over 90 days old             $9,047.18                         $0.00                    $9,047.18
Polar Communications                                            Over 90 days old             $7,200.92                         $0.00                    $7,200.92
Prairie Land Electric Co-Op                                     Over 90 days old             $9,894.28                         $0.00                    $9,894.28
Quality Cooperative (United Prairie Cooperative)                Over 90 days old             $1,640.27                         $0.00                    $1,640.27
RCAA Owner, LLC                                                 Over 90 days old             $9,206.75                         $0.00                    $9,206.75
Ready Set School Winona County                                  Over 90 days old               $319.30                         $0.00                     $319.30
Realty Income Corporation                                       Over 90 days old            $23,300.00                         $0.00                  $23,300.00
Realty Income Corporation                                       Over 90 days old            $60,000.00                         $0.00                  $60,000.00
Realty Income Corporation                                       Over 90 days old            $51,349.26                         $0.00                  $51,349.26
Realty Income Corporation                                       Over 90 days old           $180,000.00                         $0.00                 $180,000.00
Richland County Fair and Rodeo                                  Over 90 days old               $136.36                         $0.00                     $136.36
Rockstep Alpine, LLC                                            Over 90 days old             $1,846.00                         $0.00                    $1,846.00
Rosebud Casino                                                  Over 90 days old                 $26.25                        $0.00                       $26.25
Rosebud Sioux Tribe Health Administration                       Over 90 days old               $303.84                         $0.00                      $303.84
Roughrider Electric Cooperative                                 Over 90 days old           $108,163.03                         $0.00                 $108,163.03
Roundup Memorial Hospital                                       Over 90 days old             $3,707.29                         $0.00                    $3,707.29
Rural Office of Community Services Inc                          Over 90 days old               $552.74                         $0.00                     $552.74
School District of La Crosse                                    Over 90 days old               $397.90                         $0.00                      $397.90
SD Dept of Social Services Child Protection Srvcs               Over 90 days old             $1,549.03                         $0.00                    $1,549.03
Shelby Gas Association                                          Over 90 days old             $5,696.66                         $0.00                    $5,696.66
Sheridan Medical Complex                                        Over 90 days old             $1,041.73                         $0.00                    $1,041.73
Shopko Dell LLC                                                 Over 90 days old            $48,078.82                         $0.00                  $48,078.82
Shopko Dell LLC                                                 Over 90 days old           $106,490.18                         $0.00                 $106,490.18
ShopkoCham LLC                                                  Over 90 days old            $81,131.40                         $0.00                  $81,131.40


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                                                                                                         Doubtful or Uncollectible    Current Value of Debtor's
                          Description                           Accounts receivable     Face Amount             Accounts                      Interest
ShopkoCham LLC                                                 Over 90 days old           $318,868.60                         $0.00                 $318,868.60
SKHT Tomahawk LLC                                              Over 90 days old             $50,678.00                        $0.00                  $50,678.00
SKHT Tomahawk LLC                                              Over 90 days old           $236,644.00                         $0.00                 $236,644.00
Slope Electric Cooperative                                     Over 90 days old              $7,192.54                        $0.00                    $7,192.54
Solberg, Matthew                                               Over 90 days old              $5,000.00                        $0.00                    $5,000.00
South Tama County Schools                                      Over 90 days old                 $18.73                        $0.00                       $18.73
Southern Iowa Electric                                         Over 90 days old             $15,055.46                        $0.00                  $15,055.46
Spirit SPE Portfolio 2006-2, LLC                               Over 90 days old              $4,300.00                        $0.00                    $4,300.00
Spirit SPE Portfolio 2006-3, LLC                               Over 90 days old               $830.00                         $0.00                     $830.00
Spirit SPE Portfolio 2006-3, LLC                               Over 90 days old              $4,125.00                        $0.00                    $4,125.00
Spirit SPE Portfolio 2006-3, LLC                               Over 90 days old              $1,753.36                        $0.00                    $1,753.36
Spirit SPE Portfolio 2006-3, LLC                               Over 90 days old               $350.00                         $0.00                     $350.00
Spirit SPE Portfolio 2006-3, LLC                               Over 90 days old              $4,235.65                        $0.00                    $4,235.65
Spring Valley Inc                                              Over 90 days old                 $72.13                        $0.00                       $72.13
St Francis Memorial Hospital                                   Over 90 days old            $12,670.38                         $0.00                  $12,670.38
State of South Dakota Dept of Human Services                   Over 90 days old               $154.94                         $0.00                     $154.94
Stettinger Enterprises                                         Over 90 days old                 $40.00                        $0.00                       $40.00
The Salvation Army                                             Over 90 days old                 $62.25                        $0.00                       $62.25
The Salvation Army Rice Lake                                   Over 90 days old                 $94.98                        $0.00                       $94.98
The Village Health Care Center                                 Over 90 days old              $1,138.13                        $0.00                    $1,138.13
Three Rivers Communications                                    Over 90 days old               $182.91                         $0.00                      $182.91
Todd County School District Sixty Six One                      Over 90 days old               $139.43                         $0.00                     $139.43
Turtle Mountain Child Welfare and Family Services              Over 90 days old                  $0.05                        $0.00                        $0.05
Upper Great Lakes Family Health Center                         Over 90 days old              $3,887.54                        $0.00                    $3,887.54
USD No 466 Scott County Schools                                Over 90 days old                 $76.84                        $0.00                       $76.84
Vendor Allowance Receivables                                   Over 90 days old           $520,341.74                         $0.00                 $520,341.74
Ventrue Communications                                         Over 90 days old             $20,166.09                        $0.00                  $20,166.09
VEREIT SH Cherokee IA, LLC                                     Over 90 days old             $55,223.58                        $0.00                  $55,223.58
VEREIT SH Cherokee IA, LLC                                     Over 90 days old           $193,656.47                         $0.00                 $193,656.47
VEREIT SH Cokato MN, LLC                                       Over 90 days old             $75,000.00                        $0.00                  $75,000.00
VEREIT SH Cokato MN, LLC                                       Over 90 days old           $537,939.21                         $0.00                 $537,939.21
VEREIT, SH Webster City IA, LLC                                Over 90 days old             $97,500.00                        $0.00                  $97,500.00
VEREIT, SH Webster City IA, LLC                                Over 90 days old           $486,213.06                         $0.00                 $486,213.06
VG Supplies                                                    Over 90 days old              $6,552.00                        $0.00                    $6,552.00


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                                                                                                 Doubtful or Uncollectible    Current Value of Debtor's
                            Description                 Accounts receivable   Face Amount               Accounts                      Interest
Wakefield Health Care Center                           Over 90 days old               $59.95                          $0.00                       $59.95
Waterford at Park Falls                                Over 90 days old                $7.08                          $0.00                        $7.08
Waukon Area Fire Protection District                   Over 90 days old              $142.08                          $0.00                      $142.08
Wayne County Hospital                                  Over 90 days old             $363.73                           $0.00                      $363.73
Wellington Meadows                                     Over 90 days old           $1,489.83                           $0.00                    $1,489.83
Wellington Place at Ft Atkinson                        Over 90 days old           $1,496.73                           $0.00                    $1,496.73
West River Telecommunications                          Over 90 days old            $9,289.42                          $0.00                    $9,289.42
WG REG Clifton LLC                                     Over 90 days old          $30,430.00                           $0.00                  $30,430.00
WG REG Clifton LLC                                     Over 90 days old         $132,400.68                           $0.00                 $132,400.68
Winnebago Cooperative Telecom Association              Over 90 days old          $13,299.05                           $0.00                  $13,299.05
Worland Healthcare and Rehab Center                    Over 90 days old               $58.17                          $0.00                       $58.17
Wynn, Nickolas                                         Over 90 days old          $20,841.70                           $0.00                  $20,841.70
Wyoming Life Resource Center Client Fund               Over 90 days old               $75.90                          $0.00                       $75.90
Yankton Sioux Tribe                                    Over 90 days old               $27.99                          $0.00                       $27.99
                                                                      TOTAL: $10,709,518.75                           $0.00              $10,709,518.75




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                                 General Description of Property
                                     (Raw Materials, Work in                                                       Valuation Method
                                 Progress, Finished Goods, Other Date of Last Physical Net Book Value of Debtor's Used for Current     Current Value of Debtor's
              Location                Inventory or Supplies)          Inventory                 Interest                 Value                 Interest
712 - Palmyra, MO                Finished Goods                       7/27/2017                             $76.61        LIFO                             $74.46
712 - Palmyra, MO                Other Inventory                      7/27/2017                              $5.38        LIFO                              $5.23
213 - Littlefield, TX            Finished Goods                       9/11/2017                        $12,925.58         LIFO                        $12,729.32
691 - Ogallala, NE               Finished Goods                       9/11/2017                        $12,105.68         LIFO                        $12,002.24
213 - Littlefield, TX            Other Inventory                      9/11/2017                            $476.38        LIFO                           $469.14
691 - Ogallala, NE               Other Inventory                      9/11/2017                            $247.07        LIFO                           $244.96
212 - Gordon, NE                 Finished Goods                      10/16/2017                        $11,186.18         LIFO                        $10,943.99
212 - Gordon, NE                 Other Inventory                     10/16/2017                            $597.24        LIFO                           $584.31
720 - Batesville, IN             Finished Goods                      10/18/2017                      $686,305.27          LIFO                       $667,155.49
720 - Batesville, IN             Other Inventory                     10/18/2017                        $47,962.31         LIFO                        $46,624.03
706 - Doniphan, MO               Finished Goods                       1/8/2018                       $898,059.41          LIFO                       $873,173.28
706 - Doniphan, MO               Other Inventory                       1/8/2018                        $62,299.58         LIFO                        $60,573.19
540 - Kermit, TX                 Finished Goods                       1/9/2018                       $737,345.09          LIFO                       $717,495.90
659 - Auburn, NE                 Finished Goods                       1/9/2018                       $754,545.85          LIFO                       $733,771.16
540 - Kermit, TX                 Other Inventory                       1/9/2018                        $49,591.94         LIFO                        $48,256.94
659 - Auburn, NE                 Other Inventory                       1/9/2018                        $51,983.85         LIFO                        $50,552.59
22 - Mitchell, SD                Finished Goods                      1/10/2018                      $2,010,134.71         LIFO                     $1,953,323.47
610 - Ishpeming, MI              Finished Goods                       1/10/2018                      $911,953.11          LIFO                       $885,786.88
702 - Larned, KS                 Finished Goods                      1/10/2018                       $367,935.83          LIFO                       $357,485.89
22 - Mitchell, SD                Other Inventory                     1/10/2018                       $142,417.03          LIFO                       $138,391.98
610 - Ishpeming, MI              Other Inventory                      1/10/2018                        $65,665.49         LIFO                        $63,781.39
702 - Larned, KS                 Other Inventory                      1/10/2018                        $26,205.53         LIFO                        $25,461.26
108 - Spanish Fork, UT           Finished Goods                      1/11/2018                      $1,562,136.69         LIFO                     $1,518,162.70
487 - Store 70 SFS Pick Center   Finished Goods                       1/11/2018                        $32,567.97         LIFO                        $31,670.24
539 - Monahans, TX               Finished Goods                      1/11/2018                       $761,608.18          LIFO                       $741,181.39
548 - Mahnomen, MN               Finished Goods                      1/11/2018                       $521,466.02          LIFO                       $507,399.34
621 - Manistique, MI             Finished Goods                      1/11/2018                      $1,134,180.42         LIFO                     $1,102,058.25
635 - Savanna, IL                Finished Goods                      1/11/2018                      $1,003,426.00         LIFO                       $975,434.83
662 - Plattsmouth, NE            Finished Goods                       1/11/2018                      $714,618.88          LIFO                       $694,755.59
108 - Spanish Fork, UT           Other Inventory                      1/11/2018                      $110,204.95          LIFO                       $107,102.69
487 - Store 70 SFS Pick Center   Other Inventory                      1/11/2018                          $2,246.55        LIFO                          $2,184.62
539 - Monahans, TX               Other Inventory                      1/11/2018                        $51,022.40         LIFO                        $49,653.95


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                              General Description of Property
                                  (Raw Materials, Work in                                                      Valuation Method
                              Progress, Finished Goods, Other Date of Last Physical Net Book Value of Debtor's Used for Current     Current Value of Debtor's
             Location              Inventory or Supplies)          Inventory                 Interest                Value                  Interest
548 - Mahnomen, MN            Other Inventory                     1/11/2018                         $35,149.58        LIFO                         $34,201.42
621 - Manistique, MI          Other Inventory                     1/11/2018                         $80,537.37        LIFO                         $78,256.40
635 - Savanna, IL             Other Inventory                     1/11/2018                         $70,105.09        LIFO                         $68,149.47
662 - Plattsmouth, NE         Other Inventory                     1/11/2018                         $49,736.01        LIFO                         $48,353.57
25 - Marshall, MN             Finished Goods                      1/15/2018                      $1,851,156.70        LIFO                      $1,798,823.44
50 - Fond du Lac, WI          Finished Goods                      1/15/2018                      $1,903,540.15        LIFO                      $1,849,092.01
175 - Lincoln Southeast, NE   Finished Goods                      1/15/2018                      $1,777,790.01        LIFO                      $1,727,426.65
588 - Beaver, UT              Finished Goods                      1/15/2018                       $471,891.63         LIFO                        $458,986.17
624 - L'Anse, MI              Finished Goods                      1/15/2018                       $764,523.05         LIFO                        $742,924.09
25 - Marshall, MN             Other Inventory                     1/15/2018                       $131,194.12         LIFO                        $127,485.19
50 - Fond du Lac, WI          Other Inventory                     1/15/2018                       $136,609.94         LIFO                        $132,702.41
175 - Lincoln Southeast, NE   Other Inventory                     1/15/2018                       $126,274.34         LIFO                        $122,697.09
588 - Beaver, UT              Other Inventory                     1/15/2018                         $32,278.02        LIFO                         $31,395.27
624 - L'Anse, MI              Other Inventory                     1/15/2018                         $54,143.78        LIFO                         $52,614.13
12 - Wisconsin Rapids, WI     Finished Goods                      1/16/2018                      $1,753,591.31        LIFO                      $1,703,700.36
26 - Beloit, WI               Finished Goods                      1/16/2018                      $1,375,605.04        LIFO                      $1,338,711.65
31 - Kenosha, WI              Finished Goods                      1/16/2018                      $1,647,098.98        LIFO                      $1,600,861.35
82 - Murray, UT               Finished Goods                      1/16/2018                      $1,456,556.89        LIFO                      $1,415,372.03
542 - Perryton, TX            Finished Goods                      1/16/2018                       $645,361.84         LIFO                        $627,676.76
633 - Park Falls, WI          Finished Goods                      1/16/2018                      $1,214,167.07        LIFO                      $1,180,382.80
653 - Gladwin, MI             Finished Goods                      1/16/2018                       $746,868.76         LIFO                        $726,801.97
12 - Wisconsin Rapids, WI     Other Inventory                     1/16/2018                       $125,128.02         LIFO                        $121,568.04
26 - Beloit, WI               Other Inventory                     1/16/2018                         $92,152.77        LIFO                         $89,681.26
31 - Kenosha, WI              Other Inventory                     1/16/2018                       $115,855.36         LIFO                        $112,603.05
82 - Murray, UT               Other Inventory                     1/16/2018                       $103,247.48         LIFO                        $100,328.11
542 - Perryton, TX            Other Inventory                     1/16/2018                         $44,238.50        LIFO                         $43,026.22
633 - Park Falls, WI          Other Inventory                     1/16/2018                         $84,599.23        LIFO                         $82,245.25
653 - Gladwin, MI             Other Inventory                     1/16/2018                         $50,129.11        LIFO                         $48,782.25
102 - Marinette, WI           Finished Goods                      1/17/2018                      $1,874,385.13        LIFO                      $1,821,724.52
128 - Kalispell, MT           Finished Goods                      1/17/2018                      $1,730,506.28        LIFO                      $1,682,103.38
102 - Marinette, WI           Other Inventory                     1/17/2018                        $131,956.60        LIFO                        $128,249.30
128 - Kalispell, MT           Other Inventory                     1/17/2018                       $121,249.86         LIFO                        $117,858.45


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                              General Description of Property
                                  (Raw Materials, Work in                                                      Valuation Method
                              Progress, Finished Goods, Other Date of Last Physical Net Book Value of Debtor's Used for Current     Current Value of Debtor's
             Location              Inventory or Supplies)          Inventory                 Interest                Value                  Interest
24 - Eau Claire, WI           Finished Goods                      1/18/2018                      $2,724,200.02        LIFO                      $2,647,776.47
27 - Racine, WI               Finished Goods                      1/18/2018                      $1,439,795.01        LIFO                      $1,399,325.57
84 - West Jordan, UT          Finished Goods                      1/18/2018                      $1,666,796.80        LIFO                      $1,620,729.94
134 - Pullman, WA             Finished Goods                      1/18/2018                      $1,443,480.06        LIFO                      $1,402,978.66
541 - Dalhart, TX             Finished Goods                      1/18/2018                       $729,286.43         LIFO                        $709,333.24
641 - Dwight, IL              Finished Goods                      1/18/2018                       $401,654.50         LIFO                        $390,341.24
751 - Sisseton, SD            Finished Goods                      1/18/2018                       $898,029.24         LIFO                        $872,674.54
24 - Eau Claire, WI           Other Inventory                     1/18/2018                        $191,481.81        LIFO                        $186,110.06
27 - Racine, WI               Other Inventory                     1/18/2018                        $101,411.35        LIFO                         $98,560.90
84 - West Jordan, UT          Other Inventory                     1/18/2018                       $115,302.03         LIFO                        $112,115.32
134 - Pullman, WA             Other Inventory                     1/18/2018                        $101,478.82        LIFO                         $98,631.51
541 - Dalhart, TX             Other Inventory                     1/18/2018                         $49,906.66        LIFO                         $48,541.22
641 - Dwight, IL              Other Inventory                     1/18/2018                         $28,353.80        LIFO                         $27,555.17
751 - Sisseton, SD            Other Inventory                     1/18/2018                         $63,555.78        LIFO                         $61,761.36
14 - Beaver Dam, WI           Finished Goods                      1/22/2018                      $1,839,060.36        LIFO                      $1,787,949.58
554 - Andrews, TX             Finished Goods                      1/22/2018                       $776,073.82         LIFO                        $754,906.84
619 - Adams, WI               Finished Goods                      1/22/2018                      $1,444,256.57        LIFO                      $1,403,888.60
14 - Beaver Dam, WI           Other Inventory                     1/22/2018                       $127,975.89         LIFO                        $124,419.21
554 - Andrews, TX             Other Inventory                     1/22/2018                         $52,931.27        LIFO                         $51,487.60
619 - Adams, WI               Other Inventory                     1/22/2018                        $101,117.26        LIFO                         $98,290.96
90 - Grafton, WI              Finished Goods                      1/23/2018                      $1,653,108.05        LIFO                      $1,605,957.29
129 - Spokane South, WA       Finished Goods                      1/23/2018                       $991,060.32         LIFO                        $962,276.49
170 - Rhinelander, WI         Finished Goods                      1/23/2018                      $1,768,177.96        LIFO                      $1,718,520.62
546 - Burlington, CO          Finished Goods                      1/23/2018                       $670,616.72         LIFO                        $651,803.61
555 - Moab, UT                Finished Goods                      1/23/2018                       $634,267.14         LIFO                        $616,516.14
640 - Tuscola, IL             Finished Goods                      1/23/2018                       $748,761.84         LIFO                        $727,606.46
709 - El Dorado Springs, MO   Finished Goods                      1/23/2018                       $591,905.68         LIFO                        $575,362.52
732 - Glencoe, MN             Finished Goods                      1/23/2018                       $873,002.13         LIFO                        $848,250.79
795 - Salmon, ID              Finished Goods                      1/23/2018                      $1,050,057.28        LIFO                      $1,020,757.67
90 - Grafton, WI              Other Inventory                     1/23/2018                       $118,276.80         LIFO                        $114,903.25
129 - Spokane South, WA       Other Inventory                     1/23/2018                         $72,298.20        LIFO                         $70,198.40
170 - Rhinelander, WI         Other Inventory                     1/23/2018                       $124,427.65         LIFO                        $120,933.23


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                              General Description of Property
                                  (Raw Materials, Work in                                                      Valuation Method
                              Progress, Finished Goods, Other Date of Last Physical Net Book Value of Debtor's Used for Current     Current Value of Debtor's
             Location              Inventory or Supplies)          Inventory                 Interest                Value                  Interest
546 - Burlington, CO          Other Inventory                     1/23/2018                         $47,136.89        LIFO                         $45,814.53
555 - Moab, UT                Other Inventory                     1/23/2018                         $44,468.29        LIFO                         $43,223.77
640 - Tuscola, IL             Other Inventory                     1/23/2018                         $53,032.13        LIFO                         $51,533.77
709 - El Dorado Springs, MO   Other Inventory                     1/23/2018                         $41,438.58        LIFO                         $40,280.41
732 - Glencoe, MN             Other Inventory                     1/23/2018                         $62,061.73        LIFO                         $60,302.15
795 - Salmon, ID              Other Inventory                     1/23/2018                         $73,383.46        LIFO                         $71,335.85
747 - Luverne, MN             Finished Goods                      2/19/2018                       $851,364.55         LIFO                        $827,147.35
747 - Luverne, MN             Other Inventory                     2/19/2018                         $60,736.60        LIFO                         $59,008.94
19 - Watertown, WI            Finished Goods                      2/20/2018                      $1,539,940.57        LIFO                      $1,496,498.78
19 - Watertown, WI            Other Inventory                     2/20/2018                       $108,887.57         LIFO                        $105,815.85
85 - Taylorsville, UT         Finished Goods                      2/26/2018                      $1,220,597.83        LIFO                      $1,185,876.24
616 - Sister Bay, WI          Finished Goods                      2/26/2018                      $1,191,648.50        LIFO                      $1,157,858.00
85 - Taylorsville, UT         Other Inventory                     2/26/2018                         $87,081.82        LIFO                         $84,604.66
616 - Sister Bay, WI          Other Inventory                     2/26/2018                         $84,727.48        LIFO                         $82,324.94
9 - Marshfield, WI            Finished Goods                      2/27/2018                      $1,882,203.38        LIFO                      $1,828,240.97
96 - Redding, CA              Finished Goods                      2/27/2018                      $1,727,158.69        LIFO                      $1,678,292.66
748 - Pipestone, MN           Finished Goods                      2/27/2018                      $1,107,155.00        LIFO                      $1,076,208.06
9 - Marshfield, WI            Other Inventory                     2/27/2018                        $135,413.74        LIFO                        $131,531.46
96 - Redding, CA              Other Inventory                     2/27/2018                       $122,508.91         LIFO                        $119,042.80
748 - Pipestone, MN           Other Inventory                     2/27/2018                         $77,518.84        LIFO                         $75,352.05
33 - Menasha, WI              Finished Goods                      2/28/2018                      $1,443,012.11        LIFO                      $1,401,775.62
91 - Logan, UT                Finished Goods                      2/28/2018                      $1,712,099.24        LIFO                      $1,663,658.38
172 - Lincoln Northwest, NE   Finished Goods                      2/28/2018                      $1,183,898.96        LIFO                      $1,150,672.96
639 - Rockville, IN           Finished Goods                      2/28/2018                       $620,095.02         LIFO                        $602,625.44
739 - Glenwood, MN            Finished Goods                      2/28/2018                       $940,800.05         LIFO                        $914,136.74
746 - Madison, SD             Finished Goods                      2/28/2018                       $887,836.09         LIFO                        $862,809.99
33 - Menasha, WI              Other Inventory                     2/28/2018                       $103,455.04         LIFO                        $100,498.64
91 - Logan, UT                Other Inventory                     2/28/2018                       $121,443.17         LIFO                        $118,007.15
172 - Lincoln Northwest, NE   Other Inventory                     2/28/2018                         $83,251.24        LIFO                         $80,914.81
639 - Rockville, IN           Other Inventory                     2/28/2018                         $43,783.68        LIFO                         $42,550.18
739 - Glenwood, MN            Other Inventory                     2/28/2018                         $66,853.99        LIFO                         $64,959.28
746 - Madison, SD             Other Inventory                     2/28/2018                         $62,724.85        LIFO                         $60,956.78


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                               General Description of Property
                                   (Raw Materials, Work in                                                      Valuation Method
                               Progress, Finished Goods, Other Date of Last Physical Net Book Value of Debtor's Used for Current     Current Value of Debtor's
             Location               Inventory or Supplies)          Inventory                 Interest                Value                  Interest
622 - Wetmore, MI              Finished Goods                       3/1/2018                       $620,521.03         LIFO                        $602,949.41
771 - Plentywood, MT           Finished Goods                       3/1/2018                       $184,998.47         LIFO                        $179,977.95
622 - Wetmore, MI              Other Inventory                      3/1/2018                         $44,055.42        LIFO                         $42,807.88
771 - Plentywood, MT           Other Inventory                      3/1/2018                         $12,550.31        LIFO                         $12,209.72
28 - Kimberly, WI              Finished Goods                       3/5/2018                      $1,661,861.50        LIFO                      $1,615,249.23
753 - Hot Springs, SD          Finished Goods                       3/5/2018                      $1,035,730.99        LIFO                      $1,007,188.93
28 - Kimberly, WI              Other Inventory                      3/5/2018                       $116,787.07         LIFO                        $113,511.40
753 - Hot Springs, SD          Other Inventory                      3/5/2018                         $71,424.31        LIFO                         $69,456.04
606 - Calumet, MI              Finished Goods                       3/6/2018                      $1,024,745.20        LIFO                        $995,985.61
606 - Calumet, MI              Other Inventory                      3/6/2018                         $72,060.23        LIFO                         $70,037.85
5 - De Pere, WI                Finished Goods                       3/7/2018                      $1,982,799.27        LIFO                      $1,927,212.61
87 - Ogden, UT                 Finished Goods                       3/7/2018                      $1,514,967.34        LIFO                      $1,472,354.55
5 - De Pere, WI                Other Inventory                      3/7/2018                        $139,267.61        LIFO                        $135,363.32
87 - Ogden, UT                 Other Inventory                      3/7/2018                       $106,787.69         LIFO                        $103,783.98
620 - Eagle River, WI          Finished Goods                       3/8/2018                       $838,602.84         LIFO                        $814,494.27
750 - Windom, MN               Finished Goods                       3/8/2018                       $740,551.28         LIFO                        $719,563.27
620 - Eagle River, WI          Other Inventory                      3/8/2018                         $60,510.19        LIFO                         $58,770.61
750 - Windom, MN               Other Inventory                      3/8/2018                         $52,624.09        LIFO                         $51,132.67
607 - Seymour, WI              Finished Goods                      3/12/2018                       $442,203.26         LIFO                        $429,332.59
629 - Ely, MN                  Finished Goods                      3/12/2018                       $969,848.35         LIFO                        $942,462.29
749 - Saint James, MN          Finished Goods                      3/12/2018                       $795,447.00         LIFO                        $773,171.62
607 - Seymour, WI              Other Inventory                     3/12/2018                         $32,333.14        LIFO                         $31,392.06
629 - Ely, MN                  Other Inventory                     3/12/2018                         $68,648.34        LIFO                         $66,709.89
749 - Saint James, MN          Other Inventory                     3/12/2018                         $55,804.74        LIFO                         $54,242.01
30 - Janesville, WI            Finished Goods                      3/13/2018                      $1,373,822.93        LIFO                      $1,334,306.90
55 - Stevens Point North, WI   Finished Goods                      3/13/2018                      $1,359,678.32        LIFO                      $1,320,976.19
646 - Standish, MI             Finished Goods                      3/13/2018                       $525,912.93         LIFO                        $511,122.30
745 - Winner, SD               Finished Goods                      3/13/2018                      $1,098,360.07        LIFO                      $1,067,578.53
769 - Sidney, MT               Finished Goods                      3/13/2018                       $882,052.23         LIFO                        $857,271.23
30 - Janesville, WI            Other Inventory                     3/13/2018                         $99,185.20        LIFO                         $96,332.28
55 - Stevens Point North, WI   Other Inventory                     3/13/2018                         $97,069.39        LIFO                         $94,306.39
646 - Standish, MI             Other Inventory                     3/13/2018                         $37,064.94        LIFO                         $36,022.53


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                                     (Raw Materials, Work in                                                       Valuation Method
                                 Progress, Finished Goods, Other Date of Last Physical Net Book Value of Debtor's Used for Current     Current Value of Debtor's
             Location                 Inventory or Supplies)          Inventory                 Interest                 Value                 Interest
745 - Winner, SD                 Other Inventory                     3/13/2018                         $77,118.69         LIFO                        $74,957.44
769 - Sidney, MT                 Other Inventory                     3/13/2018                         $62,096.03         LIFO                        $60,351.46
625 - Dyersville, IA             Finished Goods                      3/14/2018                       $750,330.67          LIFO                       $729,106.42
625 - Dyersville, IA             Other Inventory                     3/14/2018                         $53,209.15         LIFO                        $51,704.04
109 - Riverdale, UT              Finished Goods                      3/15/2018                      $1,767,319.89         LIFO                     $1,718,878.39
658 - Beatrice, NE               Finished Goods                      3/15/2018                       $688,603.20          LIFO                       $669,231.29
738 - Perham, MN                 Finished Goods                      3/15/2018                       $794,298.00          LIFO                       $771,661.22
109 - Riverdale, UT              Other Inventory                     3/15/2018                       $121,176.33          LIFO                       $117,854.93
658 - Beatrice, NE               Other Inventory                     3/15/2018                         $48,546.55         LIFO                        $47,180.83
738 - Perham, MN                 Other Inventory                     3/15/2018                         $56,780.62         LIFO                        $55,162.42
78 - Rapid City, SD              Finished Goods                       4/3/2018                      $1,862,355.74         LIFO                     $1,810,021.44
83 - Sandy City, UT              Finished Goods                       4/3/2018                      $1,426,478.69         LIFO                     $1,386,160.24
113 - Lacey, WA                  Finished Goods                       4/3/2018                      $1,321,691.91         LIFO                     $1,283,977.95
538 - Anthony, KS                Finished Goods                       4/3/2018                       $460,222.07          LIFO                       $447,288.85
604 - Abbotsford, WI             Finished Goods                       4/3/2018                      $1,050,235.60         LIFO                     $1,020,978.58
671 - Waukon, IA                 Finished Goods                       4/3/2018                       $860,750.46          LIFO                       $836,430.95
705 - Trenton, MO                Finished Goods                       4/3/2018                       $778,641.25          LIFO                       $757,075.23
78 - Rapid City, SD              Other Inventory                      4/3/2018                       $131,141.01          LIFO                       $127,455.80
83 - Sandy City, UT              Other Inventory                      4/3/2018                        $101,072.64         LIFO                        $98,215.89
113 - Lacey, WA                  Other Inventory                      4/3/2018                         $94,607.65         LIFO                        $91,908.06
538 - Anthony, KS                Other Inventory                      4/3/2018                         $32,408.56         LIFO                        $31,497.82
604 - Abbotsford, WI             Other Inventory                      4/3/2018                         $73,268.49         LIFO                        $71,227.40
671 - Waukon, IA                 Other Inventory                      4/3/2018                         $60,963.97         LIFO                        $59,241.51
705 - Trenton, MO                Other Inventory                      4/3/2018                         $53,986.18         LIFO                        $52,490.93
32 - Monona, WI                  Finished Goods                       4/4/2018                      $1,734,145.98         LIFO                     $1,685,335.09
486 - Store 32 SFS Pick Center   Finished Goods                       4/4/2018                         $16,104.25         LIFO                        $15,646.33
644 - Clare, MI                  Finished Goods                       4/4/2018                       $686,726.72          LIFO                       $667,169.81
759 - Sturgis, SD                Finished Goods                       4/4/2018                       $977,215.24          LIFO                       $949,844.47
32 - Monona, WI                  Other Inventory                      4/4/2018                       $122,325.98          LIFO                       $118,882.88
486 - Store 32 SFS Pick Center   Other Inventory                      4/4/2018                           $1,148.41        LIFO                          $1,115.76
644 - Clare, MI                  Other Inventory                      4/4/2018                         $49,052.71         LIFO                        $47,655.77
759 - Sturgis, SD                Other Inventory                      4/4/2018                         $68,570.74         LIFO                        $66,650.15


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                             General Description of Property
                                 (Raw Materials, Work in                                                      Valuation Method
                             Progress, Finished Goods, Other Date of Last Physical Net Book Value of Debtor's Used for Current     Current Value of Debtor's
              Location            Inventory or Supplies)          Inventory                 Interest                Value                  Interest
569 - Milbank, SD            Finished Goods                       4/5/2018                       $613,510.36         LIFO                        $596,054.38
768 - Glasgow, MT            Finished Goods                       4/5/2018                       $792,915.76         LIFO                        $770,062.65
569 - Milbank, SD            Other Inventory                      4/5/2018                         $43,780.34        LIFO                         $42,534.67
768 - Glasgow, MT            Other Inventory                      4/5/2018                         $57,369.65        LIFO                         $55,716.16
80 - Madison Northeast, WI   Finished Goods                       4/9/2018                      $1,723,337.20        LIFO                      $1,674,263.51
615 - Clintonville, WI       Finished Goods                       4/9/2018                       $960,594.51         LIFO                        $933,565.28
632 - Spooner, WI            Finished Goods                       4/9/2018                       $824,897.64         LIFO                        $801,249.54
80 - Madison Northeast, WI   Other Inventory                      4/9/2018                       $123,086.08         LIFO                        $119,581.08
615 - Clintonville, WI       Other Inventory                      4/9/2018                         $67,736.99        LIFO                         $65,831.00
632 - Spooner, WI            Other Inventory                      4/9/2018                         $59,342.48        LIFO                         $57,641.26
93 - Bend, OR                Finished Goods                      4/10/2018                      $1,672,571.20        LIFO                      $1,626,550.74
686 - Glenwood, IA           Finished Goods                      4/10/2018                       $774,055.14         LIFO                        $753,018.04
93 - Bend, OR                Other Inventory                     4/10/2018                       $115,150.42         LIFO                        $111,982.08
686 - Glenwood, IA           Other Inventory                     4/10/2018                         $52,593.78        LIFO                         $51,164.40
29 - Madison West, WI        Finished Goods                      4/11/2018                      $1,879,127.75        LIFO                      $1,825,564.52
40 - Sioux City, IA          Finished Goods                      4/11/2018                      $2,006,927.73        LIFO                      $1,950,665.98
97 - West Valley City, UT    Finished Goods                      4/11/2018                      $1,446,231.41        LIFO                      $1,405,160.15
114 - Duluth, MN             Finished Goods                      4/11/2018                      $1,888,185.58        LIFO                      $1,834,704.15
608 - Brillion, WI           Finished Goods                      4/11/2018                       $891,319.78         LIFO                        $866,262.36
742 - East Grand Forks, MN   Finished Goods                      4/11/2018                       $881,022.90         LIFO                        $856,328.74
29 - Madison West, WI        Other Inventory                     4/11/2018                       $134,356.23         LIFO                        $130,526.50
40 - Sioux City, IA          Other Inventory                     4/11/2018                       $140,958.75         LIFO                        $137,007.15
97 - West Valley City, UT    Other Inventory                     4/11/2018                       $102,994.55         LIFO                        $100,069.63
114 - Duluth, MN             Other Inventory                     4/11/2018                       $134,090.50         LIFO                        $130,292.48
608 - Brillion, WI           Other Inventory                     4/11/2018                         $62,791.52        LIFO                         $61,026.28
742 - East Grand Forks, MN   Other Inventory                     4/11/2018                         $61,868.24        LIFO                         $60,134.14
677 - Onawa, IA              Finished Goods                      4/12/2018                       $731,708.98         LIFO                        $711,123.22
677 - Onawa, IA              Other Inventory                     4/12/2018                         $51,588.69        LIFO                         $50,137.30
120 - Monroe, WI             Finished Goods                      4/16/2018                      $1,687,811.84        LIFO                      $1,639,986.57
627 - Neillsville, WI        Finished Goods                      4/16/2018                      $1,269,744.12        LIFO                      $1,233,871.80
735 - Aitkin, MN             Finished Goods                      4/16/2018                      $1,095,517.44        LIFO                      $1,064,318.77
120 - Monroe, WI             Other Inventory                     4/16/2018                       $119,912.60         LIFO                        $116,514.80


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                               General Description of Property
                                   (Raw Materials, Work in                                                      Valuation Method
                               Progress, Finished Goods, Other Date of Last Physical Net Book Value of Debtor's Used for Current     Current Value of Debtor's
              Location              Inventory or Supplies)          Inventory                 Interest                Value                  Interest
627 - Neillsville, WI          Other Inventory                     4/16/2018                         $89,923.95        LIFO                         $87,383.45
735 - Aitkin, MN               Other Inventory                     4/16/2018                         $78,252.65        LIFO                         $76,024.14
106 - Billings, MT             Finished Goods                      4/17/2018                      $1,986,523.68        LIFO                      $1,930,719.80
578 - Buena Vista, CO          Finished Goods                      4/17/2018                       $387,182.72         LIFO                        $376,708.94
638 - Monticello, IL           Finished Goods                      4/17/2018                       $703,876.54         LIFO                        $684,036.80
744 - Roseau, MN               Finished Goods                      4/17/2018                       $887,230.66         LIFO                        $862,258.64
106 - Billings, MT             Other Inventory                     4/17/2018                       $139,831.74         LIFO                        $135,903.70
578 - Buena Vista, CO          Other Inventory                     4/17/2018                         $26,176.67        LIFO                         $25,468.56
638 - Monticello, IL           Other Inventory                     4/17/2018                         $49,725.71        LIFO                         $48,324.12
744 - Roseau, MN               Other Inventory                     4/17/2018                         $62,582.76        LIFO                         $60,821.30
2 - Ashwaubenon, WI            Finished Goods                      4/18/2018                      $2,269,007.09        LIFO                      $2,204,280.93
628 - Two Harbors, MN          Finished Goods                      4/18/2018                       $783,908.53         LIFO                        $761,507.49
2 - Ashwaubenon, WI            Other Inventory                     4/18/2018                        $162,365.87        LIFO                        $157,734.18
628 - Two Harbors, MN          Other Inventory                     4/18/2018                         $56,200.15        LIFO                         $54,594.17
570 - Wagner, SD               Finished Goods                      4/19/2018                       $533,786.17         LIFO                        $519,291.25
708 - Carrollton, MO           Finished Goods                      4/19/2018                       $509,360.02         LIFO                        $495,047.55
570 - Wagner, SD               Other Inventory                     4/19/2018                         $36,235.94        LIFO                         $35,251.96
708 - Carrollton, MO           Other Inventory                     4/19/2018                         $35,864.44        LIFO                         $34,856.69
42 - Oshkosh, WI               Finished Goods                      4/23/2018                      $1,819,751.57        LIFO                      $1,768,436.47
63 - Pocatello, ID             Finished Goods                      4/23/2018                      $1,736,473.62        LIFO                      $1,687,711.68
605 - Mora, MN                 Finished Goods                      4/23/2018                       $898,605.94         LIFO                        $872,070.72
42 - Oshkosh, WI               Other Inventory                     4/23/2018                       $128,618.60         LIFO                        $124,991.69
63 - Pocatello, ID             Other Inventory                     4/23/2018                       $122,183.10         LIFO                        $118,752.08
605 - Mora, MN                 Other Inventory                     4/23/2018                         $66,731.64        LIFO                         $64,761.10
8 - Rothschild, WI             Finished Goods                      4/24/2018                      $1,710,162.10        LIFO                      $1,661,634.42
8 - Rothschild, WI             Other Inventory                     4/24/2018                        $121,686.07        LIFO                        $118,233.10
100 - Neenah, WI               Finished Goods                      4/25/2018                      $1,442,317.15        LIFO                      $1,401,256.32
648 - Tecumseh, MI             Finished Goods                      4/25/2018                       $685,369.16         LIFO                        $666,062.14
100 - Neenah, WI               Other Inventory                     4/25/2018                        $102,986.43        LIFO                        $100,054.54
648 - Tecumseh, MI             Other Inventory                     4/25/2018                         $48,388.56        LIFO                         $47,025.44
20 - La Crosse North, WI       Finished Goods                      4/26/2018                      $1,582,654.02        LIFO                      $1,538,116.29
623 - Iron River, MI           Finished Goods                      4/26/2018                       $667,594.24         LIFO                        $648,461.13


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                                 General Description of Property
                                     (Raw Materials, Work in                                                      Valuation Method
                                 Progress, Finished Goods, Other Date of Last Physical Net Book Value of Debtor's Used for Current     Current Value of Debtor's
             Location                 Inventory or Supplies)          Inventory                 Interest                Value                  Interest
711 - Memphis, MO                Finished Goods                      4/26/2018                       $598,060.20         LIFO                        $581,158.26
740 - Morris, MN                 Finished Goods                      4/26/2018                       $817,776.50         LIFO                        $794,521.19
20 - La Crosse North, WI         Other Inventory                     4/26/2018                       $111,615.29         LIFO                        $108,474.31
623 - Iron River, MI             Other Inventory                     4/26/2018                         $48,011.60        LIFO                         $46,635.59
711 - Memphis, MO                Other Inventory                     4/26/2018                         $42,370.44        LIFO                         $41,172.99
740 - Morris, MN                 Other Inventory                     4/26/2018                         $58,323.03        LIFO                         $56,664.49
104 - Brigham City, UT           Finished Goods                      4/30/2018                      $1,428,482.51        LIFO                      $1,388,060.38
125 - Freeport, IL               Finished Goods                      4/30/2018                      $1,080,915.75        LIFO                      $1,049,645.34
130 - River Falls, WI            Finished Goods                      4/30/2018                      $2,018,478.68        LIFO                      $1,961,400.24
571 - Webster, SD                Finished Goods                      4/30/2018                       $419,919.39         LIFO                        $408,060.54
630 - Arcadia, WI                Finished Goods                      4/30/2018                      $1,237,144.93        LIFO                      $1,202,300.27
637 - Attica, IN                 Finished Goods                      4/30/2018                       $670,182.44         LIFO                        $651,312.71
737 - Grafton, ND                Finished Goods                      4/30/2018                       $735,718.07         LIFO                        $715,449.18
104 - Brigham City, UT           Other Inventory                     4/30/2018                        $101,340.90        LIFO                         $98,473.23
125 - Freeport, IL               Other Inventory                     4/30/2018                         $78,521.44        LIFO                         $76,249.85
130 - River Falls, WI            Other Inventory                     4/30/2018                       $143,092.42         LIFO                        $139,046.06
571 - Webster, SD                Other Inventory                     4/30/2018                         $29,726.69        LIFO                         $28,887.18
630 - Arcadia, WI                Other Inventory                     4/30/2018                         $87,328.96        LIFO                         $84,869.31
637 - Attica, IN                 Other Inventory                     4/30/2018                         $47,290.91        LIFO                         $45,959.39
737 - Grafton, ND                Other Inventory                     4/30/2018                         $50,720.39        LIFO                         $49,323.05
76 - Sioux Falls South, SD       Finished Goods                       5/2/2018                      $1,929,278.55        LIFO                      $1,874,980.64
98 - Eugene North, OR            Finished Goods                       5/2/2018                      $1,686,853.78        LIFO                      $1,639,629.64
112 - Helena, MT                 Finished Goods                       5/2/2018                      $1,893,837.17        LIFO                      $1,841,159.95
116 - Sheboygan, WI              Finished Goods                       5/2/2018                      $1,752,809.83        LIFO                      $1,703,172.62
76 - Sioux Falls South, SD       Other Inventory                      5/2/2018                       $136,076.15         LIFO                        $132,246.40
98 - Eugene North, OR            Other Inventory                      5/2/2018                       $118,304.47         LIFO                        $114,992.49
112 - Helena, MT                 Other Inventory                      5/2/2018                       $131,905.75         LIFO                        $128,236.78
116 - Sheboygan, WI              Other Inventory                      5/2/2018                       $124,450.39         LIFO                        $120,926.12
757 - Belle Fourche, SD          Finished Goods                       5/3/2018                       $954,095.12         LIFO                        $927,232.44
757 - Belle Fourche, SD          Other Inventory                      5/3/2018                         $67,322.49        LIFO                         $65,427.02
568 - New Prague, MN             Finished Goods                       5/7/2018                       $628,739.40         LIFO                        $611,008.16
568 - New Prague, MN             Other Inventory                      5/7/2018                         $44,442.68        LIFO                         $43,189.34


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                             General Description of Property
                                 (Raw Materials, Work in                                                      Valuation Method
                             Progress, Finished Goods, Other Date of Last Physical Net Book Value of Debtor's Used for Current     Current Value of Debtor's
             Location             Inventory or Supplies)          Inventory                 Interest                Value                  Interest
574 - Lowell, IN             Finished Goods                       5/8/2018                       $668,837.69         LIFO                        $650,134.44
574 - Lowell, IN             Other Inventory                      5/8/2018                         $46,851.10        LIFO                         $45,540.96
119 - Dixon, IL              Finished Goods                      5/10/2018                      $1,654,281.64        LIFO                      $1,607,449.80
684 - Bloomfield, IA         Finished Goods                      5/10/2018                       $597,533.21         LIFO                        $580,667.23
774 - Livingston, MT         Finished Goods                      5/10/2018                      $1,152,301.84        LIFO                      $1,119,041.73
119 - Dixon, IL              Other Inventory                     5/10/2018                        $117,414.07        LIFO                        $114,090.14
684 - Bloomfield, IA         Other Inventory                     5/10/2018                         $42,276.55        LIFO                         $41,083.26
774 - Livingston, MT         Other Inventory                     5/10/2018                         $83,503.90        LIFO                         $81,093.64
48 - Norfolk, NE             Finished Goods                      5/14/2018                      $1,703,397.07        LIFO                      $1,655,281.50
59 - Fairmont, MN            Finished Goods                      5/14/2018                      $1,475,362.01        LIFO                      $1,434,033.89
88 - Layton, UT              Finished Goods                      5/14/2018                      $1,623,089.04        LIFO                      $1,577,780.53
132 - Rice Lake, WI          Finished Goods                      5/14/2018                      $1,821,644.91        LIFO                      $1,770,095.88
48 - Norfolk, NE             Other Inventory                     5/14/2018                       $120,613.63         LIFO                        $117,206.67
59 - Fairmont, MN            Other Inventory                     5/14/2018                       $103,538.29         LIFO                        $100,637.96
88 - Layton, UT              Other Inventory                     5/14/2018                       $113,482.60         LIFO                        $110,314.73
132 - Rice Lake, WI          Other Inventory                     5/14/2018                       $129,237.03         LIFO                        $125,579.87
532 - New Town, ND           Finished Goods                      5/15/2018                       $704,961.78         LIFO                        $685,811.83
661 - West Point, NE         Finished Goods                      5/15/2018                       $863,023.79         LIFO                        $838,848.90
532 - New Town, ND           Other Inventory                     5/15/2018                         $47,874.22        LIFO                         $46,573.74
661 - West Point, NE         Other Inventory                     5/15/2018                         $60,564.66        LIFO                         $58,868.14
105 - Orem, UT               Finished Goods                      5/16/2018                      $1,350,342.76        LIFO                      $1,312,571.23
105 - Orem, UT               Other Inventory                     5/16/2018                         $94,618.49        LIFO                         $91,971.84
609 - Kiel, WI               Finished Goods                      5/17/2018                       $895,788.24         LIFO                        $870,434.77
609 - Kiel, WI               Other Inventory                     5/17/2018                         $63,563.72        LIFO                         $61,764.68
99 - Onalaska, WI            Finished Goods                      5/21/2018                      $2,007,157.92        LIFO                      $1,950,483.32
566 - Warroad, MN            Finished Goods                      5/21/2018                       $637,575.99         LIFO                        $619,691.88
99 - Onalaska, WI            Other Inventory                     5/21/2018                       $142,065.17         LIFO                        $138,053.78
566 - Warroad, MN            Other Inventory                     5/21/2018                         $44,808.88        LIFO                         $43,551.98
4 - Green Bay East, WI       Finished Goods                      5/22/2018                      $2,045,432.55        LIFO                      $1,987,563.33
122 - Wenatchee, WA          Finished Goods                      5/22/2018                      $1,667,724.35        LIFO                      $1,620,750.92
4 - Green Bay East, WI       Other Inventory                      5/22/2018                       $145,079.95        LIFO                        $140,975.36
122 - Wenatchee, WA          Other Inventory                     5/22/2018                       $117,726.75         LIFO                        $114,410.83


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                             General Description of Property
                                 (Raw Materials, Work in                                                      Valuation Method
                             Progress, Finished Goods, Other Date of Last Physical Net Book Value of Debtor's Used for Current     Current Value of Debtor's
              Location            Inventory or Supplies)          Inventory                 Interest                Value                  Interest
550 - Dillon, MT #2          Finished Goods                      5/30/2018                       $663,198.65         LIFO                        $644,298.73
602 - Oconto, WI             Finished Goods                      5/30/2018                      $1,073,673.06        LIFO                      $1,043,134.29
656 - Kalkaska, MI           Finished Goods                      5/30/2018                       $600,007.56         LIFO                        $583,119.26
682 - Harlan, IA             Finished Goods                      5/30/2018                       $710,224.71         LIFO                        $690,100.04
550 - Dillon, MT #2          Other Inventory                     5/30/2018                         $47,407.19        LIFO                         $46,056.18
602 - Oconto, WI             Other Inventory                     5/30/2018                         $76,590.69        LIFO                         $74,412.20
656 - Kalkaska, MI           Other Inventory                     5/30/2018                         $42,324.09        LIFO                         $41,132.81
682 - Harlan, IA             Other Inventory                     5/30/2018                         $50,458.73        LIFO                         $49,028.95
23 - Hutchinson, MN          Finished Goods                      5/31/2018                      $1,759,003.80        LIFO                      $1,709,713.91
594 - Chamberlain, SD        Finished Goods                      5/31/2018                       $597,837.72         LIFO                        $580,818.34
733 - Fergus Falls, MN       Finished Goods                      5/31/2018                       $698,764.47         LIFO                        $678,743.90
775 - Libby, MT              Finished Goods                      5/31/2018                       $861,205.03         LIFO                        $836,767.68
793 - Mayville, WI           Finished Goods                      5/31/2018                       $878,790.17         LIFO                        $853,902.20
23 - Hutchinson, MN          Other Inventory                     5/31/2018                       $123,487.57         LIFO                        $120,027.27
594 - Chamberlain, SD        Other Inventory                     5/31/2018                         $42,686.98        LIFO                         $41,471.76
733 - Fergus Falls, MN       Other Inventory                     5/31/2018                         $50,237.49        LIFO                         $48,798.12
775 - Libby, MT              Other Inventory                     5/31/2018                         $61,278.07        LIFO                         $59,539.26
793 - Mayville, WI           Other Inventory                     5/31/2018                         $62,399.41        LIFO                         $60,632.22
179 - North Branch, MN       Finished Goods                      6/13/2018                      $1,714,197.25        LIFO                      $1,666,028.41
761 - Newcastle, WY          Finished Goods                      6/13/2018                       $955,156.65         LIFO                        $928,528.37
179 - North Branch, MN       Other Inventory                     6/13/2018                       $120,702.71         LIFO                        $117,310.97
761 - Newcastle, WY          Other Inventory                     6/13/2018                         $66,688.80        LIFO                         $64,829.62
998 - DC Omaha, NE           Finished Goods                      6/15/2018                    $14,511,143.97         LIFO                     $14,104,599.98
999 - DC DePere, WI          Finished Goods                      6/15/2018                    $14,236,337.28         LIFO                     $13,837,492.28
998 - DC Omaha, NE           Other Inventory                     6/15/2018                      $1,018,513.97        LIFO                        $989,979.30
999 - DC DePere, WI          Other Inventory                     6/15/2018                       $999,225.73         LIFO                        $971,231.43
54 - Watertown, SD           Finished Goods                      6/18/2018                      $1,663,423.70        LIFO                      $1,616,840.06
681 - Ida Grove, IA          Finished Goods                      6/18/2018                       $810,095.17         LIFO                        $786,531.87
54 - Watertown, SD           Other Inventory                     6/18/2018                       $116,702.60         LIFO                        $113,434.38
681 - Ida Grove, IA          Other Inventory                     6/18/2018                         $59,191.91        LIFO                         $57,470.20
171 - Plover, WI             Finished Goods                      6/19/2018                      $1,489,690.48        LIFO                      $1,447,778.17
626 - Lancaster, WI          Finished Goods                      6/19/2018                       $933,727.96         LIFO                        $907,839.03


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                              General Description of Property
                                  (Raw Materials, Work in                                                      Valuation Method
                              Progress, Finished Goods, Other Date of Last Physical Net Book Value of Debtor's Used for Current     Current Value of Debtor's
             Location              Inventory or Supplies)          Inventory                 Interest                Value                  Interest
650 - Dowagiac, MI            Finished Goods                      6/19/2018                       $640,056.32         LIFO                        $622,141.07
701 - Lyons, KS               Finished Goods                      6/19/2018                       $374,484.69         LIFO                        $363,844.52
171 - Plover, WI              Other Inventory                     6/19/2018                       $105,034.14         LIFO                        $102,079.01
626 - Lancaster, WI           Other Inventory                     6/19/2018                         $64,812.46        LIFO                         $63,015.45
650 - Dowagiac, MI            Other Inventory                     6/19/2018                         $44,880.15        LIFO                         $43,623.95
701 - Lyons, KS               Other Inventory                     6/19/2018                         $26,683.32        LIFO                         $25,925.17
679 - Toledo, IA              Finished Goods                      6/20/2018                       $796,309.61         LIFO                        $774,211.28
679 - Toledo, IA              Other Inventory                     6/20/2018                         $55,326.17        LIFO                         $53,790.82
597 - Ord, NE                 Finished Goods                      6/21/2018                       $395,497.92         LIFO                        $384,622.85
736 - Valley City, ND         Finished Goods                      6/21/2018                       $774,222.33         LIFO                        $752,368.42
597 - Ord, NE                 Other Inventory                     6/21/2018                         $27,209.92        LIFO                         $26,461.72
736 - Valley City, ND         Other Inventory                     6/21/2018                         $54,779.52        LIFO                         $53,233.26
3 - Manitowoc, WI             Finished Goods                      6/25/2018                      $1,856,913.37        LIFO                      $1,804,406.89
7 - La Crosse South, WI       Finished Goods                      6/25/2018                      $1,830,927.91        LIFO                      $1,779,315.79
18 - West Bend, WI            Finished Goods                      6/25/2018                      $1,768,826.29        LIFO                      $1,719,010.91
127 - Delavan, WI             Finished Goods                      6/25/2018                      $1,628,003.08        LIFO                      $1,582,360.55
567 - Paynesville, MN         Finished Goods                      6/25/2018                       $449,718.79         LIFO                        $437,002.19
758 - Douglas, WY             Finished Goods                      6/25/2018                       $872,824.57         LIFO                        $848,296.75
3 - Manitowoc, WI             Other Inventory                     6/25/2018                        $131,630.21        LIFO                        $127,908.21
7 - La Crosse South, WI       Other Inventory                     6/25/2018                       $129,359.84         LIFO                        $125,713.31
18 - West Bend, WI            Other Inventory                     6/25/2018                       $124,848.36         LIFO                        $121,332.26
127 - Delavan, WI             Other Inventory                     6/25/2018                        $114,353.87        LIFO                        $111,147.86
567 - Paynesville, MN         Other Inventory                     6/25/2018                         $31,879.72        LIFO                         $30,978.27
758 - Douglas, WY             Other Inventory                     6/25/2018                         $61,462.69        LIFO                         $59,735.49
558 - Redfield, SD            Finished Goods                      6/26/2018                       $431,322.21         LIFO                        $419,161.23
558 - Redfield, SD            Other Inventory                     6/26/2018                         $30,480.52        LIFO                         $29,621.13
683 - Audubon, IA             Finished Goods                      6/27/2018                       $684,945.21         LIFO                        $665,750.47
741 - Rugby, ND               Finished Goods                      6/27/2018                       $668,153.69         LIFO                        $649,235.04
755 - Wheatland, WY           Finished Goods                      6/27/2018                       $942,535.13         LIFO                        $915,720.78
683 - Audubon, IA             Other Inventory                     6/27/2018                         $48,089.49        LIFO                         $46,741.84
741 - Rugby, ND               Other Inventory                     6/27/2018                         $47,432.37        LIFO                         $46,089.33
755 - Wheatland, WY           Other Inventory                     6/27/2018                         $67,250.94        LIFO                         $65,337.71


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                                General Description of Property
                                    (Raw Materials, Work in                                                       Valuation Method
                                Progress, Finished Goods, Other Date of Last Physical Net Book Value of Debtor's Used for Current     Current Value of Debtor's
             Location                Inventory or Supplies)          Inventory                 Interest                 Value                 Interest
1 - Green Bay West, WI          Finished Goods                      6/28/2018                      $1,552,641.29         LIFO                     $1,509,011.73
485 - Store 1 SFS Pick Center   Finished Goods                      6/28/2018                         $30,520.44         LIFO                        $29,684.69
1 - Green Bay West, WI          Other Inventory                      6/28/2018                       $109,328.12         LIFO                       $106,255.97
485 - Store 1 SFS Pick Center   Other Inventory                     6/28/2018                           $2,090.48        LIFO                          $2,033.24
111 - Salem, OR                 Finished Goods                       7/9/2018                      $1,842,328.65         LIFO                     $1,789,784.53
164 - Dubuque, IA               Finished Goods                       7/9/2018                      $1,562,549.92         LIFO                     $1,518,436.91
562 - Stanley, ND               Finished Goods                       7/9/2018                       $516,932.15          LIFO                       $502,793.60
676 - Chariton, IA              Finished Goods                       7/9/2018                       $622,575.51          LIFO                       $605,200.50
692 - Superior, NE              Finished Goods                       7/9/2018                       $997,251.69          LIFO                       $969,188.39
111 - Salem, OR                 Other Inventory                      7/9/2018                       $131,805.28          LIFO                       $128,046.13
164 - Dubuque, IA               Other Inventory                      7/9/2018                       $110,575.95          LIFO                       $107,454.23
562 - Stanley, ND               Other Inventory                      7/9/2018                         $35,362.37         LIFO                        $34,395.17
676 - Chariton, IA              Other Inventory                      7/9/2018                         $43,517.86         LIFO                        $42,303.35
692 - Superior, NE              Other Inventory                      7/9/2018                         $70,328.89         LIFO                        $68,349.79
596 - Dell Rapids, SD           Finished Goods                      7/10/2018                       $377,138.96          LIFO                       $366,482.65
643 - Newaygo, MI               Finished Goods                      7/10/2018                       $717,439.92          LIFO                       $697,114.39
596 - Dell Rapids, SD           Other Inventory                     7/10/2018                         $26,713.26         LIFO                        $25,958.46
643 - Newaygo, MI               Other Inventory                     7/10/2018                         $50,961.68         LIFO                        $49,517.91
92 - Kennewick, WA              Finished Goods                      7/11/2018                      $1,865,411.76         LIFO                     $1,813,533.72
92 - Kennewick, WA              Other Inventory                     7/11/2018                       $129,903.09          LIFO                       $126,290.42
549 - Hardin, MT                Finished Goods                      7/12/2018                       $981,596.52          LIFO                       $954,312.72
552 - Oakes, ND                 Finished Goods                      7/12/2018                       $467,630.69          LIFO                       $454,375.30
688 - Missouri Valley, IA       Finished Goods                      7/12/2018                       $550,499.51          LIFO                       $535,089.76
549 - Hardin, MT                Other Inventory                     7/12/2018                         $68,316.29         LIFO                        $66,417.42
552 - Oakes, ND                 Other Inventory                     7/12/2018                         $33,236.17         LIFO                        $32,294.07
688 - Missouri Valley, IA       Other Inventory                     7/12/2018                         $38,603.74         LIFO                        $37,523.13
201 - Emmetsburg, IA            Finished Goods                      7/16/2018                       $924,664.60          LIFO                       $899,081.05
716 - Mt. Carmel, IL            Finished Goods                      7/16/2018                       $604,876.30          LIFO                       $587,907.99
772 - Powell, WY                Finished Goods                      7/16/2018                       $955,470.19          LIFO                       $928,534.32
201 - Emmetsburg, IA            Other Inventory                     7/16/2018                         $64,038.60         LIFO                        $62,266.79
716 - Mt. Carmel, IL            Other Inventory                     7/16/2018                         $42,514.58         LIFO                        $41,321.93
772 - Powell, WY                Other Inventory                     7/16/2018                         $67,512.04         LIFO                        $65,608.79


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                              General Description of Property
                                  (Raw Materials, Work in                                                      Valuation Method
                              Progress, Finished Goods, Other Date of Last Physical Net Book Value of Debtor's Used for Current     Current Value of Debtor's
             Location              Inventory or Supplies)          Inventory                 Interest                Value                  Interest
556 - Prosser, WA             Finished Goods                      7/18/2018                       $904,001.49         LIFO                        $878,604.05
579 - Yuma, CO                Finished Goods                      7/18/2018                       $610,855.03         LIFO                        $593,656.90
556 - Prosser, WA             Other Inventory                     7/18/2018                         $63,640.66        LIFO                         $61,852.71
579 - Yuma, CO                Other Inventory                     7/18/2018                         $43,101.39        LIFO                         $41,887.90
133 - Belvidere, IL           Finished Goods                      7/19/2018                      $1,758,632.64        LIFO                      $1,709,156.50
544 - Sidney, MT #2           Finished Goods                      7/19/2018                       $706,937.94         LIFO                        $686,749.48
690 - Holdrege, NE            Finished Goods                      7/19/2018                       $839,184.43         LIFO                        $816,069.42
133 - Belvidere, IL           Other Inventory                     7/19/2018                       $123,988.92         LIFO                        $120,500.71
544 - Sidney, MT #2           Other Inventory                     7/19/2018                         $50,646.86        LIFO                         $49,200.51
690 - Holdrege, NE            Other Inventory                     7/19/2018                         $57,841.68        LIFO                         $56,248.45
56 - Omaha West, NE           Finished Goods                      7/23/2018                      $1,827,695.83        LIFO                      $1,776,094.31
667 - Sheldon, IA             Finished Goods                      7/23/2018                       $696,905.33         LIFO                        $677,245.47
669 - Oelwein, IA             Finished Goods                      7/23/2018                       $856,302.45         LIFO                        $832,274.63
719 - Woodsfield, OH          Finished Goods                      7/23/2018                       $688,924.26         LIFO                        $669,909.18
56 - Omaha West, NE           Other Inventory                     7/23/2018                       $129,347.55         LIFO                        $125,695.67
667 - Sheldon, IA             Other Inventory                     7/23/2018                         $49,277.78        LIFO                         $47,887.65
669 - Oelwein, IA             Other Inventory                     7/23/2018                         $60,203.47        LIFO                         $58,514.16
719 - Woodsfield, OH          Other Inventory                     7/23/2018                         $47,588.98        LIFO                         $46,275.47
694 - Alliance, NE            Finished Goods                      7/24/2018                       $586,938.12         LIFO                        $570,512.46
694 - Alliance, NE            Other Inventory                     7/24/2018                         $41,148.03        LIFO                         $39,996.49
649 - Imlay City, MI          Finished Goods                      7/25/2018                       $708,419.34         LIFO                        $688,360.68
707 - Albany, MO              Finished Goods                      7/25/2018                       $349,855.14         LIFO                        $340,079.33
649 - Imlay City, MI          Other Inventory                     7/25/2018                         $50,290.58        LIFO                         $48,866.62
707 - Albany, MO              Other Inventory                     7/25/2018                         $24,486.79        LIFO                         $23,802.57
576 - Alpine, TX              Finished Goods                      7/26/2018                       $700,108.34         LIFO                        $680,745.38
601 - Kewaunee, WI            Finished Goods                      7/26/2018                      $1,251,342.56        LIFO                      $1,216,265.54
576 - Alpine, TX              Other Inventory                     7/26/2018                         $48,466.39        LIFO                         $47,125.95
601 - Kewaunee, WI            Other Inventory                     7/26/2018                         $87,881.82        LIFO                         $85,418.36
37 - Chippewa Falls, WI       Finished Goods                      7/30/2018                      $2,015,142.10        LIFO                      $1,958,343.85
51 - Fort Atkinson, WI        Finished Goods                      7/30/2018                      $1,570,495.19        LIFO                      $1,526,164.25
53 - North Platte, NE         Finished Goods                      7/30/2018                      $1,525,323.20        LIFO                      $1,482,820.24
512 - Ellsworth, WI           Finished Goods                      7/30/2018                       $942,097.04         LIFO                        $915,188.08


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                              General Description of Property
                                  (Raw Materials, Work in                                                      Valuation Method
                              Progress, Finished Goods, Other Date of Last Physical Net Book Value of Debtor's Used for Current     Current Value of Debtor's
             Location              Inventory or Supplies)          Inventory                 Interest                Value                  Interest
564 - Webster City, IA        Finished Goods                      7/30/2018                       $427,782.72         LIFO                        $415,703.50
37 - Chippewa Falls, WI       Other Inventory                     7/30/2018                       $142,357.10         LIFO                        $138,344.66
51 - Fort Atkinson, WI        Other Inventory                     7/30/2018                       $111,121.06         LIFO                        $107,984.41
53 - North Platte, NE         Other Inventory                     7/30/2018                       $106,442.30         LIFO                        $103,476.29
512 - Ellsworth, WI           Other Inventory                     7/30/2018                         $67,507.47        LIFO                         $65,579.26
564 - Webster City, IA        Other Inventory                     7/30/2018                         $30,278.78        LIFO                         $29,423.81
17 - St. Cloud West, MN       Finished Goods                      7/31/2018                      $2,166,198.28        LIFO                      $2,105,046.83
526 - Afton, WY               Finished Goods                      7/31/2018                      $1,232,013.16        LIFO                      $1,197,178.54
611 - Saint Peter,MN          Finished Goods                      7/31/2018                       $930,119.56         LIFO                        $903,963.49
693 - Clay Center, KS         Finished Goods                      7/31/2018                       $441,739.31         LIFO                        $429,133.13
773 - Lewistown, MT           Finished Goods                      7/31/2018                       $962,319.85         LIFO                        $935,179.37
17 - St. Cloud West, MN       Other Inventory                     7/31/2018                       $153,284.76         LIFO                        $148,957.56
526 - Afton, WY               Other Inventory                     7/31/2018                         $87,327.69        LIFO                         $84,858.54
611 - Saint Peter,MN          Other Inventory                     7/31/2018                         $65,546.05        LIFO                         $63,702.82
693 - Clay Center, KS         Other Inventory                     7/31/2018                         $31,623.57        LIFO                         $30,721.11
773 - Lewistown, MT           Other Inventory                     7/31/2018                         $68,026.90        LIFO                         $66,108.32
796 - Kasson, MN              Finished Goods                       8/1/2018                       $742,910.02         LIFO                        $721,845.57
796 - Kasson, MN              Other Inventory                      8/1/2018                         $52,817.47        LIFO                         $51,319.89
613 - Winneconne, WI          Finished Goods                       8/2/2018                       $835,254.39         LIFO                        $811,716.56
734 - Cavalier, ND            Finished Goods                       8/2/2018                       $673,910.44         LIFO                        $654,917.65
613 - Winneconne, WI          Other Inventory                      8/2/2018                         $58,993.60        LIFO                         $57,331.14
734 - Cavalier, ND            Other Inventory                      8/2/2018                         $47,602.52        LIFO                         $46,260.94
572 - Leadville, CO           Finished Goods                      8/15/2018                       $406,875.28         LIFO                        $395,566.94
582 - Presidio, TX            Finished Goods                      8/15/2018                       $399,139.47         LIFO                        $388,035.43
642 - Allegan, MI             Finished Goods                      8/15/2018                       $735,123.29         LIFO                        $714,427.09
572 - Leadville, CO           Other Inventory                     8/15/2018                         $28,314.93        LIFO                         $27,527.97
582 - Presidio, TX            Other Inventory                     8/15/2018                         $27,805.29        LIFO                         $27,031.75
642 - Allegan, MI             Other Inventory                     8/15/2018                         $51,868.02        LIFO                         $50,407.76
15 - Appleton, WI             Finished Goods                      8/16/2018                      $2,082,417.38        LIFO                      $2,023,608.42
553 - Abilene, KS             Finished Goods                      8/16/2018                       $690,493.83         LIFO                        $671,196.65
618 - Reedsburg, WI           Finished Goods                      8/16/2018                       $750,827.35         LIFO                        $729,488.95
786 - Red Oak, IA             Finished Goods                      8/16/2018                       $711,938.91         LIFO                        $692,175.74


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                              General Description of Property
                                  (Raw Materials, Work in                                                      Valuation Method
                              Progress, Finished Goods, Other Date of Last Physical Net Book Value of Debtor's Used for Current     Current Value of Debtor's
             Location              Inventory or Supplies)          Inventory                 Interest                Value                  Interest
15 - Appleton, WI             Other Inventory                     8/16/2018                       $147,417.00         LIFO                        $143,253.84
553 - Abilene, KS             Other Inventory                     8/16/2018                         $48,336.83        LIFO                         $46,985.96
618 - Reedsburg, WI           Other Inventory                     8/16/2018                         $53,513.21        LIFO                         $51,992.37
786 - Red Oak, IA             Other Inventory                     8/16/2018                         $49,480.88        LIFO                         $48,107.31
589 - Cresco, IA              Finished Goods                      8/20/2018                       $624,251.33         LIFO                        $606,546.52
699 - Scott City, KS          Finished Goods                      8/20/2018                       $667,908.11         LIFO                        $649,266.70
765 - Mountain View, WY       Finished Goods                      8/20/2018                       $947,235.53         LIFO                        $920,690.43
589 - Cresco, IA              Other Inventory                     8/20/2018                         $44,394.27        LIFO                         $43,135.18
699 - Scott City, KS          Other Inventory                     8/20/2018                         $46,689.91        LIFO                         $45,386.79
765 - Mountain View, WY       Other Inventory                     8/20/2018                         $66,504.69        LIFO                         $64,640.98
680 - Perry, IA               Finished Goods                      8/21/2018                       $724,831.60         LIFO                        $704,485.53
680 - Perry, IA               Other Inventory                     8/21/2018                         $50,979.89        LIFO                         $49,548.88
52 - Mason City, IA           Finished Goods                      8/22/2018                      $2,154,923.32        LIFO                      $2,094,341.08
580 - Carrington, ND          Finished Goods                      8/22/2018                       $625,319.36         LIFO                        $607,608.59
697 - Seneca, KS              Finished Goods                      8/22/2018                       $791,848.39         LIFO                        $769,532.86
752 - Torrington, WY          Finished Goods                      8/22/2018                       $924,016.11         LIFO                        $898,161.41
52 - Mason City, IA           Other Inventory                     8/22/2018                       $151,813.65         LIFO                        $147,545.65
580 - Carrington, ND          Other Inventory                     8/22/2018                         $44,404.90        LIFO                         $43,147.23
697 - Seneca, KS              Other Inventory                     8/22/2018                         $55,930.28        LIFO                         $54,354.08
752 - Torrington, WY          Other Inventory                     8/22/2018                         $64,768.03        LIFO                         $62,955.77
60 - Albert Lea, MN           Finished Goods                      8/27/2018                      $1,413,370.36        LIFO                      $1,373,467.14
79 - Wausau, WI               Finished Goods                      8/27/2018                      $1,938,846.51        LIFO                      $1,883,892.81
703 - Burlington, KS          Finished Goods                      8/27/2018                       $576,275.48         LIFO                        $560,082.20
760 - Green River, WY         Finished Goods                      8/27/2018                       $745,224.93         LIFO                        $724,333.27
60 - Albert Lea, MN           Other Inventory                     8/27/2018                        $100,023.76        LIFO                         $97,199.82
79 - Wausau, WI               Other Inventory                     8/27/2018                       $137,788.45         LIFO                        $133,883.05
703 - Burlington, KS          Other Inventory                     8/27/2018                         $40,577.53        LIFO                         $39,437.31
760 - Green River, WY         Other Inventory                     8/27/2018                         $52,342.20        LIFO                         $50,874.84
178 - Sussex, WI              Finished Goods                      8/28/2018                      $1,556,778.62        LIFO                      $1,513,197.37
203 - Jacksboro, Tx           Finished Goods                      8/28/2018                         $64,856.25        LIFO                         $62,883.87
675 - Winterset, IA           Finished Goods                      8/28/2018                       $753,238.26         LIFO                        $732,087.25
178 - Sussex, WI              Other Inventory                     8/28/2018                       $109,178.15         LIFO                        $106,121.76


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                                  (Raw Materials, Work in                                                       Valuation Method
                              Progress, Finished Goods, Other Date of Last Physical Net Book Value of Debtor's Used for Current     Current Value of Debtor's
             Location              Inventory or Supplies)          Inventory                 Interest                 Value                 Interest
203 - Jacksboro, Tx           Other Inventory                     8/28/2018                           $4,971.25        LIFO                          $4,820.07
675 - Winterset, IA           Other Inventory                     8/28/2018                         $52,998.10         LIFO                        $51,509.91
177 - Suamico, WI             Finished Goods                       9/5/2018                      $2,167,791.53         LIFO                     $2,106,780.67
598 - Springerville, AZ       Finished Goods                       9/5/2018                           $3,037.49        LIFO                          $2,809.83
600 - Vinton, IA              Finished Goods                       9/5/2018                       $612,134.44          LIFO                       $595,056.84
647 - Syracuse, IN            Finished Goods                       9/5/2018                       $726,780.57          LIFO                       $706,314.34
764 - Buffalo, WY             Finished Goods                       9/5/2018                       $692,645.20          LIFO                       $672,924.67
788 - Columbus, WI            Finished Goods                       9/5/2018                       $840,248.52          LIFO                       $816,637.90
794 - Quincy, WA              Finished Goods                       9/5/2018                      $1,003,450.60         LIFO                       $975,292.26
177 - Suamico, WI             Other Inventory                      9/5/2018                       $152,899.54          LIFO                       $148,596.29
598 - Springerville, AZ       Other Inventory                      9/5/2018                             $646.39        LIFO                           $597.94
600 - Vinton, IA              Other Inventory                      9/5/2018                         $42,771.88         LIFO                        $41,578.61
647 - Syracuse, IN            Other Inventory                      9/5/2018                         $51,292.53         LIFO                        $49,848.13
764 - Buffalo, WY             Other Inventory                      9/5/2018                         $49,462.23         LIFO                        $48,053.98
788 - Columbus, WI            Other Inventory                      9/5/2018                         $59,164.04         LIFO                        $57,501.56
794 - Quincy, WA              Other Inventory                      9/5/2018                         $70,553.08         LIFO                        $68,573.25
536 - Ulysses, KS             Finished Goods                       9/6/2018                       $652,406.20          LIFO                       $634,199.43
587 - Clarinda, IA            Finished Goods                       9/6/2018                       $635,802.15          LIFO                       $617,923.93
665 - Hampton, IA             Finished Goods                       9/6/2018                       $614,765.51          LIFO                       $597,497.18
790 - Stanley, WI             Finished Goods                       9/6/2018                      $1,185,681.80         LIFO                     $1,152,383.19
536 - Ulysses, KS             Other Inventory                      9/6/2018                         $45,600.96         LIFO                        $44,328.37
587 - Clarinda, IA            Other Inventory                      9/6/2018                         $44,801.87         LIFO                        $43,542.08
665 - Hampton, IA             Other Inventory                      9/6/2018                         $43,270.27         LIFO                        $42,054.84
790 - Stanley, WI             Other Inventory                      9/6/2018                         $83,437.16         LIFO                        $81,093.91
535 - Bowman, ND              Finished Goods                      9/10/2018                       $713,385.12          LIFO                       $693,500.40
763 - Custer, SD              Finished Goods                      9/10/2018                       $608,028.00          LIFO                       $590,958.54
792 - Tomahawk, WI            Finished Goods                      9/10/2018                      $1,271,015.42         LIFO                     $1,235,524.20
535 - Bowman, ND              Other Inventory                     9/10/2018                         $49,799.39         LIFO                        $48,411.30
763 - Custer, SD              Other Inventory                     9/10/2018                         $42,770.25         LIFO                        $41,569.54
792 - Tomahawk, WI            Other Inventory                     9/10/2018                         $88,895.52         LIFO                        $86,413.24
557 - Nephi, UT               Finished Goods                      9/11/2018                       $533,354.54          LIFO                       $518,521.39
664 - Humboldt, IA            Finished Goods                      9/11/2018                       $601,118.28          LIFO                       $584,168.17


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                                 General Description of Property
                                     (Raw Materials, Work in                                                      Valuation Method
                                 Progress, Finished Goods, Other Date of Last Physical Net Book Value of Debtor's Used for Current     Current Value of Debtor's
              Location                Inventory or Supplies)          Inventory                 Interest                Value                  Interest
557 - Nephi, UT                  Other Inventory                     9/11/2018                         $37,142.38        LIFO                         $36,109.41
664 - Humboldt, IA               Other Inventory                     9/11/2018                         $42,484.42        LIFO                         $41,286.46
689 - Mount Ayr, IA              Finished Goods                      9/12/2018                       $920,398.48         LIFO                        $894,831.25
700 - Kimball, NE                Finished Goods                      9/12/2018                       $413,071.32         LIFO                        $401,437.15
689 - Mount Ayr, IA              Other Inventory                     9/12/2018                         $64,015.44        LIFO                         $62,237.19
700 - Kimball, NE                Other Inventory                     9/12/2018                         $29,157.96        LIFO                         $28,336.72
668 - New Hampton, IA            Finished Goods                      9/13/2018                      $1,056,186.69        LIFO                      $1,026,762.32
756 - Lander, WY                 Finished Goods                      9/13/2018                       $416,520.08         LIFO                        $404,784.52
799 - Tremonton, UT              Finished Goods                      9/13/2018                       $809,719.04         LIFO                        $787,126.63
668 - New Hampton, IA            Other Inventory                     9/13/2018                         $73,687.84        LIFO                         $71,634.97
756 - Lander, WY                 Other Inventory                     9/13/2018                         $29,412.81        LIFO                         $28,584.10
799 - Tremonton, UT              Other Inventory                     9/13/2018                         $56,584.51        LIFO                         $55,005.72
547 - Moose Lake, MN             Finished Goods                      9/17/2018                       $689,191.91         LIFO                        $669,737.93
581 - Lisbon, ND                 Finished Goods                      9/17/2018                       $477,117.01         LIFO                        $463,773.75
776 - Greybull, WY               Finished Goods                      9/17/2018                       $218,144.88         LIFO                        $211,899.71
547 - Moose Lake, MN             Other Inventory                     9/17/2018                         $48,763.83        LIFO                         $47,387.36
581 - Lisbon, ND                 Other Inventory                     9/17/2018                         $33,424.70        LIFO                         $32,489.93
776 - Greybull, WY               Other Inventory                     9/17/2018                         $15,670.06        LIFO                         $15,221.45
537 - Beloit, KS                 Finished Goods                      9/18/2018                       $626,295.12         LIFO                        $608,718.49
537 - Beloit, KS                 Other Inventory                     9/18/2018                         $44,040.06        LIFO                         $42,804.10
670 - Wayne, NE                  Finished Goods                      9/19/2018                       $826,539.88         LIFO                        $803,300.66
670 - Wayne, NE                  Other Inventory                     9/19/2018                         $58,235.82        LIFO                         $56,598.44
101 - Sioux Falls East, SD       Finished Goods                      9/20/2018                      $1,764,348.40        LIFO                      $1,715,137.05
543 - Wolf Point, MT             Finished Goods                      9/20/2018                       $672,388.35         LIFO                        $653,661.52
565 - Cherokee, IA               Finished Goods                      9/20/2018                       $355,478.38         LIFO                        $345,459.38
583 - Blanding, UT               Finished Goods                      9/20/2018                       $499,234.93         LIFO                        $485,425.20
687 - Greenfield, IA             Finished Goods                      9/20/2018                       $746,961.60         LIFO                        $726,114.02
729 - Brandenburg, KY            Finished Goods                      9/20/2018                       $609,508.97         LIFO                        $592,557.21
101 - Sioux Falls East, SD       Other Inventory                     9/20/2018                       $123,250.85         LIFO                        $119,813.13
543 - Wolf Point, MT             Other Inventory                     9/20/2018                         $46,896.95        LIFO                         $45,590.82
565 - Cherokee, IA               Other Inventory                     9/20/2018                         $25,111.17        LIFO                         $24,403.42
583 - Blanding, UT               Other Inventory                     9/20/2018                         $34,566.81        LIFO                         $33,610.63


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                            General Description of Property
                                (Raw Materials, Work in                                                       Valuation Method
                            Progress, Finished Goods, Other Date of Last Physical Net Book Value of Debtor's Used for Current     Current Value of Debtor's
             Location            Inventory or Supplies)          Inventory                 Interest                 Value                 Interest
687 - Greenfield, IA        Other Inventory                      9/20/2018                        $52,215.52         LIFO                        $50,758.19
729 - Brandenburg, KY       Other Inventory                      9/20/2018                        $42,447.56         LIFO                        $41,267.00
673 - Ainsworth, NE         Finished Goods                       9/24/2018                      $892,157.44          LIFO                       $867,106.39
673 - Ainsworth, NE         Other Inventory                      9/24/2018                        $62,770.30         LIFO                        $61,007.77
523 - Valentine, NE         Finished Goods                      9/25/2018                      $1,016,763.64         LIFO                       $988,210.01
789 - Waupaca, WI           Finished Goods                      9/25/2018                       $996,892.82          LIFO                       $969,178.36
523 - Valentine, NE         Other Inventory                      9/25/2018                        $71,547.36         LIFO                        $69,538.10
789 - Waupaca, WI           Other Inventory                      9/25/2018                        $69,395.57         LIFO                        $67,466.32
211 - Estherville, IA       Finished Goods                      9/26/2018                       $610,533.70          LIFO                       $593,291.99
585 - Mayville, ND          Finished Goods                      9/26/2018                       $458,314.52          LIFO                       $445,363.09
672 - O'Neill, NE           Finished Goods                      9/26/2018                       $755,960.54          LIFO                       $734,524.27
717 - Minerva, OH           Finished Goods                      9/26/2018                       $668,801.58          LIFO                       $649,992.74
211 - Estherville, IA       Other Inventory                      9/26/2018                        $43,219.93         LIFO                        $41,999.38
585 - Mayville, ND          Other Inventory                      9/26/2018                        $32,466.94         LIFO                        $31,549.46
672 - O'Neill, NE           Other Inventory                      9/26/2018                        $53,750.06         LIFO                        $52,225.91
717 - Minerva, OH           Other Inventory                      9/26/2018                        $47,134.42         LIFO                        $45,808.85
762 - Thermopolis, WY       Finished Goods                       9/27/2018                      $732,677.32          LIFO                       $712,114.33
762 - Thermopolis, WY       Other Inventory                      9/27/2018                        $51,522.83         LIFO                        $50,076.82
206 - Ely, NV               Finished Goods                      10/10/2018                      $661,379.23          LIFO                       $642,873.94
215 - Shawano, WI RX        Finished Goods                      10/10/2018                        $93,050.43         LIFO                        $90,453.79
509 - Marinette RX          Finished Goods                      10/10/2018                        $60,594.79         LIFO                        $58,634.74
685 - Eldora, IA            Finished Goods                      10/10/2018                      $374,094.33          LIFO                       $363,528.48
206 - Ely, NV               Other Inventory                     10/10/2018                        $46,357.08         LIFO                        $45,060.01
215 - Shawano, WI RX        Other Inventory                     10/10/2018                          $6,503.56        LIFO                          $6,322.08
509 - Marinette RX          Other Inventory                     10/10/2018                          $4,964.37        LIFO                          $4,803.79
685 - Eldora, IA            Other Inventory                     10/10/2018                        $26,485.70         LIFO                        $25,737.65
207 - Oldtown, ID           Finished Goods                      10/11/2018                      $608,279.13          LIFO                       $591,026.11
743 - Beulah, ND            Finished Goods                      10/11/2018                      $753,425.08          LIFO                       $732,206.43
797 - Whitefish, MT         Finished Goods                      10/11/2018                      $780,051.87          LIFO                       $758,169.60
207 - Oldtown, ID           Other Inventory                     10/11/2018                        $43,261.64         LIFO                        $42,034.59
743 - Beulah, ND            Other Inventory                     10/11/2018                        $53,178.61         LIFO                        $51,680.94
797 - Whitefish, MT         Other Inventory                     10/11/2018                        $54,826.61         LIFO                        $53,288.60


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                               General Description of Property
                                   (Raw Materials, Work in                                                      Valuation Method
                               Progress, Finished Goods, Other Date of Last Physical Net Book Value of Debtor's Used for Current     Current Value of Debtor's
              Location              Inventory or Supplies)          Inventory                 Interest                Value                  Interest
534 - Rolla, ND                Finished Goods                      10/15/2018                      $699,591.02         LIFO                        $679,985.81
560 - Fairview, OK             Finished Goods                      10/15/2018                      $650,059.05         LIFO                        $631,918.26
573 - Russell, KS              Finished Goods                      10/15/2018                      $368,192.01         LIFO                        $357,795.73
698 - Gothenburg, NE           Finished Goods                      10/15/2018                      $934,045.56         LIFO                        $907,813.05
767 - Worland, WY              Finished Goods                      10/15/2018                      $869,630.47         LIFO                        $845,246.50
534 - Rolla, ND                Other Inventory                     10/15/2018                        $49,117.87        LIFO                         $47,741.40
560 - Fairview, OK             Other Inventory                     10/15/2018                        $45,435.61        LIFO                         $44,167.67
573 - Russell, KS              Other Inventory                     10/15/2018                        $26,060.16        LIFO                         $25,324.33
698 - Gothenburg, NE           Other Inventory                     10/15/2018                        $65,731.58        LIFO                         $63,885.52
767 - Worland, WY              Other Inventory                     10/15/2018                        $61,092.72        LIFO                         $59,379.71
205 - Delta, UT                Finished Goods                      10/16/2018                      $572,532.82         LIFO                        $556,750.98
584 - Bonners Ferry, ID        Finished Goods                      10/16/2018                      $558,066.68         LIFO                        $542,541.51
205 - Delta, UT                Other Inventory                     10/16/2018                        $39,493.60        LIFO                         $38,404.96
584 - Bonners Ferry, ID        Other Inventory                     10/16/2018                        $38,876.06        LIFO                         $37,794.54
563 - Mauston, WI              Finished Goods                      10/17/2018                      $381,521.32         LIFO                        $370,798.40
704 - Falls City, NE           Finished Goods                      10/17/2018                      $822,044.83         LIFO                        $798,716.77
563 - Mauston, WI              Other Inventory                     10/17/2018                        $26,870.16        LIFO                         $26,114.96
704 - Falls City, NE           Other Inventory                     10/17/2018                        $58,496.84        LIFO                         $56,836.81
545 - Mobridge, SD             Finished Goods                      10/22/2018                      $875,335.81         LIFO                        $850,724.17
551 - Demotte, IN              Finished Goods                      10/22/2018                      $657,055.99         LIFO                        $638,533.09
617 - Wautoma, WI              Finished Goods                      10/22/2018                     $1,135,787.35        LIFO                      $1,103,592.66
695 - Broken Bow, NE           Finished Goods                      10/22/2018                      $929,283.44         LIFO                        $903,206.34
791 - Forest City, IA          Finished Goods                      10/22/2018                      $854,854.57         LIFO                        $830,854.22
545 - Mobridge, SD             Other Inventory                     10/22/2018                        $61,675.09        LIFO                         $59,940.98
551 - Demotte, IN              Other Inventory                     10/22/2018                        $46,425.72        LIFO                         $45,116.95
617 - Wautoma, WI              Other Inventory                     10/22/2018                        $80,723.99        LIFO                         $78,435.81
695 - Broken Bow, NE           Other Inventory                     10/22/2018                        $65,338.35        LIFO                         $63,504.86
791 - Forest City, IA          Other Inventory                     10/22/2018                        $60,136.99        LIFO                         $58,448.62
505 - Appleton North, WI       Finished Goods                      10/23/2018                      $360,409.79         LIFO                        $350,261.40
561 - Cokato, MN               Finished Goods                      10/23/2018                      $985,549.49         LIFO                        $957,852.38
586 - Phillipsburg, KS         Finished Goods                      10/23/2018                      $379,066.81         LIFO                        $368,364.08
652 - Brooklyn, MI             Finished Goods                      10/23/2018                      $638,983.05         LIFO                        $620,953.55


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                                General Description of Property
                                    (Raw Materials, Work in                                                      Valuation Method
                                Progress, Finished Goods, Other Date of Last Physical Net Book Value of Debtor's Used for Current     Current Value of Debtor's
              Location               Inventory or Supplies)          Inventory                 Interest                Value                  Interest
710 - Gallatin, MO              Finished Goods                      10/23/2018                      $501,946.02         LIFO                        $487,791.14
766 - Shelby, MT                Finished Goods                      10/23/2018                     $1,054,820.72        LIFO                      $1,024,869.89
798 - Ballard, UT               Finished Goods                      10/23/2018                      $755,090.41         LIFO                        $733,779.32
505 - Appleton North, WI        Other Inventory                     10/23/2018                        $25,433.80        LIFO                         $24,717.63
561 - Cokato, MN                Other Inventory                     10/23/2018                        $69,404.69        LIFO                         $67,454.19
586 - Phillipsburg, KS          Other Inventory                     10/23/2018                        $26,828.21        LIFO                         $26,070.73
652 - Brooklyn, MI              Other Inventory                     10/23/2018                        $45,191.91        LIFO                         $43,916.78
710 - Gallatin, MO              Other Inventory                     10/23/2018                        $35,478.56        LIFO                         $34,478.07
766 - Shelby, MT                Other Inventory                     10/23/2018                        $75,106.93        LIFO                         $72,974.33
798 - Ballard, UT               Other Inventory                     10/23/2018                        $53,418.39        LIFO                         $51,910.75
651 - Hart, MI                  Finished Goods                      10/24/2018                      $783,792.64         LIFO                        $761,844.31
674 - Clarion, IA               Finished Goods                      10/24/2018                      $597,717.55         LIFO                        $580,857.07
651 - Hart, MI                  Other Inventory                     10/24/2018                        $54,985.27        LIFO                         $53,445.54
674 - Clarion, IA               Other Inventory                     10/24/2018                        $42,260.87        LIFO                         $41,068.77
502 - Howard, WI                Finished Goods                      10/25/2018                      $611,665.06         LIFO                        $594,681.67
503 - Port Washington, WI       Finished Goods                      10/25/2018                      $527,102.43         LIFO                        $512,375.55
520 - Albion, NE                Finished Goods                      10/25/2018                      $637,243.80         LIFO                        $619,271.08
529 - Dillon, MT                Finished Goods                      10/25/2018                      $344,006.73         LIFO                        $334,405.16
559 - Orofino, ID               Finished Goods                      10/25/2018                     $1,102,501.85        LIFO                      $1,071,734.12
575 - Lovington, NM             Finished Goods                      10/25/2018                      $372,077.52         LIFO                        $361,577.81
696 - Norton, KS                Finished Goods                      10/25/2018                     $1,032,422.97        LIFO                      $1,003,402.47
502 - Howard, WI                Other Inventory                     10/25/2018                        $42,521.80        LIFO                         $41,341.15
503 - Port Washington, WI       Other Inventory                     10/25/2018                        $36,888.15        LIFO                         $35,857.52
520 - Albion, NE                Other Inventory                     10/25/2018                        $45,048.23        LIFO                         $43,777.69
529 - Dillon, MT                Other Inventory                     10/25/2018                        $24,048.49        LIFO                         $23,377.27
559 - Orofino, ID               Other Inventory                     10/25/2018                        $77,061.34        LIFO                         $74,910.78
575 - Lovington, NM             Other Inventory                     10/25/2018                        $26,318.31        LIFO                         $25,575.63
696 - Norton, KS                Other Inventory                     10/25/2018                        $72,722.00        LIFO                         $70,677.85
501 - Ledgeview, WI             Finished Goods                      10/29/2018                      $707,933.28         LIFO                        $688,102.32
528 - Roundup, MT               Finished Goods                      10/29/2018                      $351,639.71         LIFO                        $341,867.83
501 - Ledgeview, WI             Other Inventory                     10/29/2018                        $49,682.05        LIFO                         $48,290.33
528 - Roundup, MT               Other Inventory                     10/29/2018                        $24,467.59        LIFO                         $23,787.65


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                             General Description of Property
                                 (Raw Materials, Work in                                                       Valuation Method
                             Progress, Finished Goods, Other Date of Last Physical Net Book Value of Debtor's Used for Current     Current Value of Debtor's
             Location             Inventory or Supplies)          Inventory                 Interest                 Value                 Interest
504 - Appleton East, WI      Finished Goods                      10/31/2018                      $362,587.05          LIFO                       $351,698.07
510 - Waupaca RX             Finished Goods                      10/31/2018                        $76,754.52         LIFO                        $74,624.18
504 - Appleton East, WI      Other Inventory                     10/31/2018                        $27,418.59         LIFO                        $26,595.17
510 - Waupaca RX             Other Inventory                     10/31/2018                          $5,333.66        LIFO                          $5,185.62
44 - Omaha Southwest, NE     Finished Goods                       12/6/2018                        $27,845.02         LIFO                        $27,056.27
44 - Omaha Southwest, NE     Other Inventory                      12/6/2018                          $1,977.58        LIFO                          $1,921.56
498 - E-Commerce Drop Ship   Finished Goods                          N/A                           $31,237.00         LIFO                        $31,237.00
970 - Import Department      Finished Goods                          N/A                        $5,239,605.91         LIFO                     $5,239,605.91
989 - Return Center          Finished Goods                          N/A                         $543,441.41          LIFO                       $508,377.29
0 - Corp Balance Sheet       Other Inventory                         N/A                         $880,447.49          LIFO                       $880,447.49
216 - Mequon Opt             Finished Goods                       New Store                        $30,801.68         LIFO                        $29,935.77
217 - Waukesha, WI Opt       Finished Goods                       New Store                        $29,050.29         LIFO                        $28,234.83
218 - Oshkosh, WI Opt        Finished Goods                       New Store                        $28,831.93         LIFO                        $28,022.48
216 - Mequon Opt             Other Inventory                      New Store                          $2,169.89        LIFO                          $2,108.89
217 - Waukesha, WI Opt       Other Inventory                      New Store                          $2,043.27        LIFO                          $1,985.91
218 - Oshkosh, WI Opt        Other Inventory                      New Store                          $2,028.23        LIFO                          $1,971.29
                                                                           TOTAL:            $388,643,818.60                                 $377,865,704.93




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 General Description of Property (Automobiles, Vans, Trucks, etc.; Watercraft, Trailers,
 Motors and Related Accessories; Aircraft and Accessories; Other Machinery, Fixtures,          Net Book Value of       Valuation Method Used for   Current Value of
                                    and Equpment)                                              Debtor's Interest             Current Value         Debtor's Interest
Corporate level Trade Fixtures / Equipment / Warehouse Equipment                                        $556,028.40            Book Value                  $556,028.40
Store 001 Trade Fixtures / Equipment / Warehouse Equipment                                              $166,800.36            Book Value                  $166,800.36
Store 002 Trade Fixtures / Equipment / Warehouse Equipment                                              $273,905.97            Book Value                  $273,905.97
Store 003 Trade Fixtures / Equipment / Warehouse Equipment                                              $121,886.09            Book Value                  $121,886.09
Store 004 Trade Fixtures / Equipment / Warehouse Equipment                                              $243,875.50            Book Value                  $243,875.50
Store 005 Trade Fixtures / Equipment / Warehouse Equipment                                              $162,854.98            Book Value                  $162,854.98
Store 007 Trade Fixtures / Equipment / Warehouse Equipment                                              $124,860.12            Book Value                  $124,860.12
Store 008 Trade Fixtures / Equipment / Warehouse Equipment                                              $136,251.43            Book Value                  $136,251.43
Store 009 Trade Fixtures / Equipment / Warehouse Equipment                                              $200,805.54            Book Value                  $200,805.54
Store 012 Trade Fixtures / Equipment / Warehouse Equipment                                              $120,870.14            Book Value                  $120,870.14
Store 014 Trade Fixtures / Equipment / Warehouse Equipment                                                $75,929.66           Book Value                    $75,929.66
Store 015 Trade Fixtures / Equipment / Warehouse Equipment                                              $235,451.08            Book Value                  $235,451.08
Store 017 Trade Fixtures / Equipment / Warehouse Equipment                                              $159,811.60            Book Value                  $159,811.60
Store 018 Trade Fixtures / Equipment / Warehouse Equipment                                              $116,765.07            Book Value                  $116,765.07
Store 019 Trade Fixtures / Equipment / Warehouse Equipment                                              $158,621.07            Book Value                  $158,621.07
Store 020 Trade Fixtures / Equipment / Warehouse Equipment                                                $80,761.12           Book Value                    $80,761.12
Store 022 Trade Fixtures / Equipment / Warehouse Equipment                                              $131,299.58            Book Value                  $131,299.58
Store 023 Trade Fixtures / Equipment / Warehouse Equipment                                              $111,223.61            Book Value                  $111,223.61
Store 024 Trade Fixtures / Equipment / Warehouse Equipment                                              $150,526.67            Book Value                  $150,526.67
Store 025 Trade Fixtures / Equipment / Warehouse Equipment                                                $99,080.32           Book Value                    $99,080.32
Store 026 Trade Fixtures / Equipment / Warehouse Equipment                                              $107,690.33            Book Value                  $107,690.33
Store 027 Trade Fixtures / Equipment / Warehouse Equipment                                              $106,713.71            Book Value                  $106,713.71
Store 028 Trade Fixtures / Equipment / Warehouse Equipment                                              $118,086.87            Book Value                  $118,086.87
Store 029 Trade Fixtures / Equipment / Warehouse Equipment                                              $180,102.38            Book Value                  $180,102.38
Store 030 Trade Fixtures / Equipment / Warehouse Equipment                                              $127,509.75            Book Value                  $127,509.75
Store 031 Trade Fixtures / Equipment / Warehouse Equipment                                              $107,634.05            Book Value                  $107,634.05
Store 032 Trade Fixtures / Equipment / Warehouse Equipment                                              $196,939.64            Book Value                  $196,939.64
Store 033 Trade Fixtures / Equipment / Warehouse Equipment                                                     $0.00           Book Value                         $0.00
Store 037 Trade Fixtures / Equipment / Warehouse Equipment                                              $153,809.00            Book Value                  $153,809.00
Store 040 Trade Fixtures / Equipment / Warehouse Equipment                                              $109,568.77            Book Value                  $109,568.77
Store 042 Trade Fixtures / Equipment / Warehouse Equipment                                              $140,021.80            Book Value                  $140,021.80
Store 044 Trade Fixtures / Equipment / Warehouse Equipment                                              $103,319.21            Book Value                  $103,319.21
Store 048 Trade Fixtures / Equipment / Warehouse Equipment                                              $107,493.32            Book Value                  $107,493.32
Store 050 Trade Fixtures / Equipment / Warehouse Equipment                                              $125,199.93            Book Value                  $125,199.93
Store 051 Trade Fixtures / Equipment / Warehouse Equipment                                              $121,266.66            Book Value                  $121,266.66


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 General Description of Property (Automobiles, Vans, Trucks, etc.; Watercraft, Trailers,
 Motors and Related Accessories; Aircraft and Accessories; Other Machinery, Fixtures,          Net Book Value of       Valuation Method Used for   Current Value of
                                   and Equpment)                                               Debtor's Interest             Current Value         Debtor's Interest
Store 052 Trade Fixtures / Equipment / Warehouse Equipment                                              $117,752.62            Book Value                  $117,752.62
Store 053 Trade Fixtures / Equipment / Warehouse Equipment                                              $127,299.51            Book Value                  $127,299.51
Store 054 Trade Fixtures / Equipment / Warehouse Equipment                                              $118,307.88            Book Value                  $118,307.88
Store 055 Trade Fixtures / Equipment / Warehouse Equipment                                                $92,665.07           Book Value                    $92,665.07
Store 056 Trade Fixtures / Equipment / Warehouse Equipment                                              $121,112.18            Book Value                  $121,112.18
Store 059 Trade Fixtures / Equipment / Warehouse Equipment                                              $102,064.34            Book Value                  $102,064.34
Store 060 Trade Fixtures / Equipment / Warehouse Equipment                                              $107,370.05            Book Value                  $107,370.05
Store 063 Trade Fixtures / Equipment / Warehouse Equipment                                              $137,344.84            Book Value                  $137,344.84
Store 076 Trade Fixtures / Equipment / Warehouse Equipment                                              $114,739.26            Book Value                  $114,739.26
Store 078 Trade Fixtures / Equipment / Warehouse Equipment                                              $109,594.35            Book Value                  $109,594.35
Store 079 Trade Fixtures / Equipment / Warehouse Equipment                                              $143,141.87            Book Value                  $143,141.87
Store 080 Trade Fixtures / Equipment / Warehouse Equipment                                              $210,487.02            Book Value                  $210,487.02
Store 082 Trade Fixtures / Equipment / Warehouse Equipment                                                $86,098.69           Book Value                    $86,098.69
Store 083 Trade Fixtures / Equipment / Warehouse Equipment                                                     $0.00           Book Value                         $0.00
Store 084 Trade Fixtures / Equipment / Warehouse Equipment                                                 $2,080.76           Book Value                     $2,080.76
Store 085 Trade Fixtures / Equipment / Warehouse Equipment                                              $113,408.91            Book Value                  $113,408.91
Store 087 Trade Fixtures / Equipment / Warehouse Equipment                                                $92,409.03           Book Value                    $92,409.03
Store 088 Trade Fixtures / Equipment / Warehouse Equipment                                                $81,005.32           Book Value                    $81,005.32
Store 090 Trade Fixtures / Equipment / Warehouse Equipment                                                 $7,196.89           Book Value                     $7,196.89
Store 091 Trade Fixtures / Equipment / Warehouse Equipment                                              $100,563.68            Book Value                  $100,563.68
Store 092 Trade Fixtures / Equipment / Warehouse Equipment                                              $123,815.18            Book Value                  $123,815.18
Store 093 Trade Fixtures / Equipment / Warehouse Equipment                                                     $0.00           Book Value                         $0.00
Store 096 Trade Fixtures / Equipment / Warehouse Equipment                                              $140,175.25            Book Value                  $140,175.25
Store 097 Trade Fixtures / Equipment / Warehouse Equipment                                              $129,864.42            Book Value                  $129,864.42
Store 098 Trade Fixtures / Equipment / Warehouse Equipment                                              $119,728.19            Book Value                  $119,728.19
Store 099 Trade Fixtures / Equipment / Warehouse Equipment                                              $131,479.44            Book Value                  $131,479.44
Store 100 Trade Fixtures / Equipment / Warehouse Equipment                                              $135,658.67            Book Value                  $135,658.67
Store 101 Trade Fixtures / Equipment / Warehouse Equipment                                              $128,014.43            Book Value                  $128,014.43
Store 102 Trade Fixtures / Equipment / Warehouse Equipment                                              $159,824.60            Book Value                  $159,824.60
Store 104 Trade Fixtures / Equipment / Warehouse Equipment                                                $82,323.17           Book Value                    $82,323.17
Store 105 Trade Fixtures / Equipment / Warehouse Equipment                                                $91,514.91           Book Value                    $91,514.91
Store 106 Trade Fixtures / Equipment / Warehouse Equipment                                              $167,798.45            Book Value                  $167,798.45
Store 108 Trade Fixtures / Equipment / Warehouse Equipment                                              $110,496.42            Book Value                  $110,496.42
Store 109 Trade Fixtures / Equipment / Warehouse Equipment                                              $116,991.61            Book Value                  $116,991.61
Store 111 Trade Fixtures / Equipment / Warehouse Equipment                                              $112,945.98            Book Value                  $112,945.98


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 General Description of Property (Automobiles, Vans, Trucks, etc.; Watercraft, Trailers,
 Motors and Related Accessories; Aircraft and Accessories; Other Machinery, Fixtures,          Net Book Value of       Valuation Method Used for   Current Value of
                                   and Equpment)                                               Debtor's Interest             Current Value         Debtor's Interest
Store 112 Trade Fixtures / Equipment / Warehouse Equipment                                              $107,923.67            Book Value                  $107,923.67
Store 113 Trade Fixtures / Equipment / Warehouse Equipment                                                $50,482.86           Book Value                    $50,482.86
Store 114 Trade Fixtures / Equipment / Warehouse Equipment                                              $143,590.14            Book Value                  $143,590.14
Store 116 Trade Fixtures / Equipment / Warehouse Equipment                                              $111,933.95            Book Value                  $111,933.95
Store 119 Trade Fixtures / Equipment / Warehouse Equipment                                                $97,012.17           Book Value                    $97,012.17
Store 120 Trade Fixtures / Equipment / Warehouse Equipment                                              $121,358.67            Book Value                  $121,358.67
Store 122 Trade Fixtures / Equipment / Warehouse Equipment                                              $124,898.83            Book Value                  $124,898.83
Store 125 Trade Fixtures / Equipment / Warehouse Equipment                                                $84,810.89           Book Value                    $84,810.89
Store 127 Trade Fixtures / Equipment / Warehouse Equipment                                                $91,982.96           Book Value                    $91,982.96
Store 128 Trade Fixtures / Equipment / Warehouse Equipment                                              $110,151.57            Book Value                  $110,151.57
Store 129 Trade Fixtures / Equipment / Warehouse Equipment                                                 $8,836.12           Book Value                     $8,836.12
Store 130 Trade Fixtures / Equipment / Warehouse Equipment                                              $139,143.52            Book Value                  $139,143.52
Store 132 Trade Fixtures / Equipment / Warehouse Equipment                                              $140,034.50            Book Value                  $140,034.50
Store 133 Trade Fixtures / Equipment / Warehouse Equipment                                              $108,057.69            Book Value                  $108,057.69
Store 134 Trade Fixtures / Equipment / Warehouse Equipment                                                 $7,121.26           Book Value                     $7,121.26
Store 164 Trade Fixtures / Equipment / Warehouse Equipment                                              $110,655.60            Book Value                  $110,655.60
Store 170 Trade Fixtures / Equipment / Warehouse Equipment                                              $118,070.62            Book Value                  $118,070.62
Store 171 Trade Fixtures / Equipment / Warehouse Equipment                                              $137,278.68            Book Value                  $137,278.68
Store 172 Trade Fixtures / Equipment / Warehouse Equipment                                                     $0.00           Book Value                         $0.00
Store 175 Trade Fixtures / Equipment / Warehouse Equipment                                                $12,344.23           Book Value                    $12,344.23
Store 177 Trade Fixtures / Equipment / Warehouse Equipment                                              $130,768.76            Book Value                  $130,768.76
Store 178 Trade Fixtures / Equipment / Warehouse Equipment                                                $52,933.05           Book Value                    $52,933.05
Store 179 Trade Fixtures / Equipment / Warehouse Equipment                                                $60,498.34           Book Value                    $60,498.34
Store 201 Trade Fixtures / Equipment / Warehouse Equipment                                              $270,102.04            Book Value                  $270,102.04
Store 203 Trade Fixtures / Equipment / Warehouse Equipment                                              $276,814.58            Book Value                  $276,814.58
Store 205 Trade Fixtures / Equipment / Warehouse Equipment                                              $296,345.55            Book Value                  $296,345.55
Store 206 Trade Fixtures / Equipment / Warehouse Equipment                                              $322,769.15            Book Value                  $322,769.15
Store 207 Trade Fixtures / Equipment / Warehouse Equipment                                              $299,160.76            Book Value                  $299,160.76
Store 211 Trade Fixtures / Equipment / Warehouse Equipment                                              $258,245.30            Book Value                  $258,245.30
Store 213 Trade Fixtures / Equipment / Warehouse Equipment                                                     $0.00           Book Value                         $0.00
Store 214 Trade Fixtures / Equipment / Warehouse Equipment                                                 $5,982.59           Book Value                     $5,982.59
Store 215 Trade Fixtures / Equipment / Warehouse Equipment                                                 $5,568.48           Book Value                     $5,568.48
Store 216 Trade Fixtures / Equipment / Warehouse Equipment                                              $124,830.67            Book Value                  $124,830.67
Store 217 Trade Fixtures / Equipment / Warehouse Equipment                                              $122,249.22            Book Value                  $122,249.22
Store 218 Trade Fixtures / Equipment / Warehouse Equipment                                              $138,487.48            Book Value                  $138,487.48


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 General Description of Property (Automobiles, Vans, Trucks, etc.; Watercraft, Trailers,
 Motors and Related Accessories; Aircraft and Accessories; Other Machinery, Fixtures,          Net Book Value of       Valuation Method Used for   Current Value of
                                   and Equpment)                                               Debtor's Interest             Current Value         Debtor's Interest
Store 485 Trade Fixtures / Equipment / Warehouse Equipment                                                   $609.43           Book Value                       $609.43
Store 501 Trade Fixtures / Equipment / Warehouse Equipment                                                   $813.59           Book Value                       $813.59
Store 502 Trade Fixtures / Equipment / Warehouse Equipment                                                $24,223.22           Book Value                    $24,223.22
Store 503 Trade Fixtures / Equipment / Warehouse Equipment                                                 $5,967.96           Book Value                     $5,967.96
Store 504 Trade Fixtures / Equipment / Warehouse Equipment                                                $11,801.71           Book Value                    $11,801.71
Store 505 Trade Fixtures / Equipment / Warehouse Equipment                                                $95,501.07           Book Value                    $95,501.07
Store 509 Trade Fixtures / Equipment / Warehouse Equipment                                                $22,824.77           Book Value                    $22,824.77
Store 510 Trade Fixtures / Equipment / Warehouse Equipment                                                   $161.92           Book Value                       $161.92
Store 512 Trade Fixtures / Equipment / Warehouse Equipment                                              $121,652.77            Book Value                  $121,652.77
Store 520 Trade Fixtures / Equipment / Warehouse Equipment                                              $211,582.41            Book Value                  $211,582.41
Store 523 Trade Fixtures / Equipment / Warehouse Equipment                                              $212,675.49            Book Value                  $212,675.49
Store 523 Trade Fixtures / Equipment / Warehouse Equipment                                                     $0.00           Book Value                         $0.00
Store 526 Trade Fixtures / Equipment / Warehouse Equipment                                              $203,144.48            Book Value                  $203,144.48
Store 528 Trade Fixtures / Equipment / Warehouse Equipment                                                 $1,156.53           Book Value                     $1,156.53
Store 529 Trade Fixtures / Equipment / Warehouse Equipment                                                 $4,400.17           Book Value                     $4,400.17
Store 532 Trade Fixtures / Equipment / Warehouse Equipment                                              $140,638.22            Book Value                  $140,638.22
Store 534 Trade Fixtures / Equipment / Warehouse Equipment                                              $146,402.40            Book Value                  $146,402.40
Store 535 Trade Fixtures / Equipment / Warehouse Equipment                                              $132,654.35            Book Value                  $132,654.35
Store 536 Trade Fixtures / Equipment / Warehouse Equipment                                              $136,077.44            Book Value                  $136,077.44
Store 537 Trade Fixtures / Equipment / Warehouse Equipment                                              $128,249.85            Book Value                  $128,249.85
Store 538 Trade Fixtures / Equipment / Warehouse Equipment                                                     $0.00           Book Value                         $0.00
Store 539 Trade Fixtures / Equipment / Warehouse Equipment                                              $199,718.30            Book Value                  $199,718.30
Store 540 Trade Fixtures / Equipment / Warehouse Equipment                                              $168,641.98            Book Value                  $168,641.98
Store 541 Trade Fixtures / Equipment / Warehouse Equipment                                              $156,720.43            Book Value                  $156,720.43
Store 542 Trade Fixtures / Equipment / Warehouse Equipment                                              $150,421.73            Book Value                  $150,421.73
Store 543 Trade Fixtures / Equipment / Warehouse Equipment                                              $137,114.51            Book Value                  $137,114.51
Store 544 Trade Fixtures / Equipment / Warehouse Equipment                                              $150,103.52            Book Value                  $150,103.52
Store 545 Trade Fixtures / Equipment / Warehouse Equipment                                              $144,818.43            Book Value                  $144,818.43
Store 546 Trade Fixtures / Equipment / Warehouse Equipment                                              $140,956.70            Book Value                  $140,956.70
Store 547 Trade Fixtures / Equipment / Warehouse Equipment                                              $136,262.37            Book Value                  $136,262.37
Store 548 Trade Fixtures / Equipment / Warehouse Equipment                                                $39,111.55           Book Value                    $39,111.55
Store 549 Trade Fixtures / Equipment / Warehouse Equipment                                              $252,726.33            Book Value                  $252,726.33
Store 550 Trade Fixtures / Equipment / Warehouse Equipment                                              $156,661.35            Book Value                  $156,661.35
Store 551 Trade Fixtures / Equipment / Warehouse Equipment                                              $134,450.58            Book Value                  $134,450.58
Store 552 Trade Fixtures / Equipment / Warehouse Equipment                                                $57,254.09           Book Value                    $57,254.09


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 General Description of Property (Automobiles, Vans, Trucks, etc.; Watercraft, Trailers,
 Motors and Related Accessories; Aircraft and Accessories; Other Machinery, Fixtures,          Net Book Value of       Valuation Method Used for   Current Value of
                                   and Equpment)                                               Debtor's Interest             Current Value         Debtor's Interest
Store 553 Trade Fixtures / Equipment / Warehouse Equipment                                              $148,807.65            Book Value                  $148,807.65
Store 554 Trade Fixtures / Equipment / Warehouse Equipment                                              $180,515.97            Book Value                  $180,515.97
Store 555 Trade Fixtures / Equipment / Warehouse Equipment                                              $153,052.89            Book Value                  $153,052.89
Store 556 Trade Fixtures / Equipment / Warehouse Equipment                                              $257,842.24            Book Value                  $257,842.24
Store 557 Trade Fixtures / Equipment / Warehouse Equipment                                              $231,096.93            Book Value                  $231,096.93
Store 558 Trade Fixtures / Equipment / Warehouse Equipment                                                $12,387.61           Book Value                    $12,387.61
Store 559 Trade Fixtures / Equipment / Warehouse Equipment                                              $327,773.48            Book Value                  $327,773.48
Store 560 Trade Fixtures / Equipment / Warehouse Equipment                                              $193,226.71            Book Value                  $193,226.71
Store 561 Trade Fixtures / Equipment / Warehouse Equipment                                              $225,702.79            Book Value                  $225,702.79
Store 562 Trade Fixtures / Equipment / Warehouse Equipment                                              $236,839.69            Book Value                  $236,839.69
Store 563 Trade Fixtures / Equipment / Warehouse Equipment                                              $232,483.51            Book Value                  $232,483.51
Store 564 Trade Fixtures / Equipment / Warehouse Equipment                                              $209,600.49            Book Value                  $209,600.49
Store 565 Trade Fixtures / Equipment / Warehouse Equipment                                              $210,263.01            Book Value                  $210,263.01
Store 566 Trade Fixtures / Equipment / Warehouse Equipment                                              $162,082.69            Book Value                  $162,082.69
Store 567 Trade Fixtures / Equipment / Warehouse Equipment                                                     $0.00           Book Value                         $0.00
Store 568 Trade Fixtures / Equipment / Warehouse Equipment                                              $145,243.52            Book Value                  $145,243.52
Store 569 Trade Fixtures / Equipment / Warehouse Equipment                                              $167,690.48            Book Value                  $167,690.48
Store 570 Trade Fixtures / Equipment / Warehouse Equipment                                                     $0.00           Book Value                         $0.00
Store 571 Trade Fixtures / Equipment / Warehouse Equipment                                                $17,035.34           Book Value                    $17,035.34
Store 572 Trade Fixtures / Equipment / Warehouse Equipment                                                 $1,336.49           Book Value                     $1,336.49
Store 573 Trade Fixtures / Equipment / Warehouse Equipment                                                     $0.00           Book Value                         $0.00
Store 574 Trade Fixtures / Equipment / Warehouse Equipment                                              $162,231.26            Book Value                  $162,231.26
Store 575 Trade Fixtures / Equipment / Warehouse Equipment                                                     $0.00           Book Value                         $0.00
Store 576 Trade Fixtures / Equipment / Warehouse Equipment                                              $197,124.65            Book Value                  $197,124.65
Store 578 Trade Fixtures / Equipment / Warehouse Equipment                                                 $6,947.19           Book Value                     $6,947.19
Store 579 Trade Fixtures / Equipment / Warehouse Equipment                                              $185,134.48            Book Value                  $185,134.48
Store 580 Trade Fixtures / Equipment / Warehouse Equipment                                              $188,348.65            Book Value                  $188,348.65
Store 581 Trade Fixtures / Equipment / Warehouse Equipment                                                 $6,503.84           Book Value                     $6,503.84
Store 582 Trade Fixtures / Equipment / Warehouse Equipment                                                $11,684.21           Book Value                    $11,684.21
Store 583 Trade Fixtures / Equipment / Warehouse Equipment                                                     $0.00           Book Value                         $0.00
Store 584 Trade Fixtures / Equipment / Warehouse Equipment                                              $231,795.78            Book Value                  $231,795.78
Store 585 Trade Fixtures / Equipment / Warehouse Equipment                                                 $1,600.91           Book Value                     $1,600.91
Store 586 Trade Fixtures / Equipment / Warehouse Equipment                                                $18,047.05           Book Value                    $18,047.05
Store 587 Trade Fixtures / Equipment / Warehouse Equipment                                              $204,739.54            Book Value                  $204,739.54
Store 588 Trade Fixtures / Equipment / Warehouse Equipment                                                $15,056.75           Book Value                    $15,056.75


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 Motors and Related Accessories; Aircraft and Accessories; Other Machinery, Fixtures,          Net Book Value of       Valuation Method Used for   Current Value of
                                   and Equpment)                                               Debtor's Interest             Current Value         Debtor's Interest
Store 589 Trade Fixtures / Equipment / Warehouse Equipment                                              $203,566.90            Book Value                  $203,566.90
Store 594 Trade Fixtures / Equipment / Warehouse Equipment                                              $246,188.93            Book Value                  $246,188.93
Store 596 Trade Fixtures / Equipment / Warehouse Equipment                                              $259,459.78            Book Value                  $259,459.78
Store 597 Trade Fixtures / Equipment / Warehouse Equipment                                              $218,712.44            Book Value                  $218,712.44
Store 600 Trade Fixtures / Equipment / Warehouse Equipment                                              $220,084.58            Book Value                  $220,084.58
Store 601 Trade Fixtures / Equipment / Warehouse Equipment                                                $68,133.88           Book Value                    $68,133.88
Store 602 Trade Fixtures / Equipment / Warehouse Equipment                                              $102,259.56            Book Value                  $102,259.56
Store 604 Trade Fixtures / Equipment / Warehouse Equipment                                                $70,302.87           Book Value                    $70,302.87
Store 605 Trade Fixtures / Equipment / Warehouse Equipment                                                $79,562.66           Book Value                    $79,562.66
Store 606 Trade Fixtures / Equipment / Warehouse Equipment                                                $70,856.33           Book Value                    $70,856.33
Store 607 Trade Fixtures / Equipment / Warehouse Equipment                                              $170,144.31            Book Value                  $170,144.31
Store 608 Trade Fixtures / Equipment / Warehouse Equipment                                              $170,801.88            Book Value                  $170,801.88
Store 609 Trade Fixtures / Equipment / Warehouse Equipment                                              $143,616.20            Book Value                  $143,616.20
Store 610 Trade Fixtures / Equipment / Warehouse Equipment                                                $95,314.22           Book Value                    $95,314.22
Store 611 Trade Fixtures / Equipment / Warehouse Equipment                                              $183,824.20            Book Value                  $183,824.20
Store 612 Trade Fixtures / Equipment / Warehouse Equipment                                                    $57.95           Book Value                        $57.95
Store 613 Trade Fixtures / Equipment / Warehouse Equipment                                              $155,776.13            Book Value                  $155,776.13
Store 615 Trade Fixtures / Equipment / Warehouse Equipment                                              $108,706.52            Book Value                  $108,706.52
Store 616 Trade Fixtures / Equipment / Warehouse Equipment                                                $72,331.61           Book Value                    $72,331.61
Store 617 Trade Fixtures / Equipment / Warehouse Equipment                                              $137,473.89            Book Value                  $137,473.89
Store 618 Trade Fixtures / Equipment / Warehouse Equipment                                                $76,648.18           Book Value                    $76,648.18
Store 619 Trade Fixtures / Equipment / Warehouse Equipment                                                $87,415.18           Book Value                    $87,415.18
Store 620 Trade Fixtures / Equipment / Warehouse Equipment                                                $80,366.34           Book Value                    $80,366.34
Store 621 Trade Fixtures / Equipment / Warehouse Equipment                                                $88,793.91           Book Value                    $88,793.91
Store 622 Trade Fixtures / Equipment / Warehouse Equipment                                                $39,903.25           Book Value                    $39,903.25
Store 623 Trade Fixtures / Equipment / Warehouse Equipment                                                $62,013.27           Book Value                    $62,013.27
Store 624 Trade Fixtures / Equipment / Warehouse Equipment                                                $79,238.53           Book Value                    $79,238.53
Store 625 Trade Fixtures / Equipment / Warehouse Equipment                                                $71,198.85           Book Value                    $71,198.85
Store 626 Trade Fixtures / Equipment / Warehouse Equipment                                                $92,147.61           Book Value                    $92,147.61
Store 627 Trade Fixtures / Equipment / Warehouse Equipment                                                $72,814.78           Book Value                    $72,814.78
Store 628 Trade Fixtures / Equipment / Warehouse Equipment                                                $81,483.84           Book Value                    $81,483.84
Store 629 Trade Fixtures / Equipment / Warehouse Equipment                                                $83,771.50           Book Value                    $83,771.50
Store 630 Trade Fixtures / Equipment / Warehouse Equipment                                                $85,369.35           Book Value                    $85,369.35
Store 632 Trade Fixtures / Equipment / Warehouse Equipment                                                $93,855.06           Book Value                    $93,855.06
Store 633 Trade Fixtures / Equipment / Warehouse Equipment                                                $92,950.79           Book Value                    $92,950.79


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 Motors and Related Accessories; Aircraft and Accessories; Other Machinery, Fixtures,          Net Book Value of       Valuation Method Used for   Current Value of
                                   and Equpment)                                               Debtor's Interest             Current Value         Debtor's Interest
Store 635 Trade Fixtures / Equipment / Warehouse Equipment                                                $38,971.73           Book Value                    $38,971.73
Store 637 Trade Fixtures / Equipment / Warehouse Equipment                                                $69,146.82           Book Value                    $69,146.82
Store 638 Trade Fixtures / Equipment / Warehouse Equipment                                                $68,913.67           Book Value                    $68,913.67
Store 639 Trade Fixtures / Equipment / Warehouse Equipment                                                 $3,065.15           Book Value                     $3,065.15
Store 640 Trade Fixtures / Equipment / Warehouse Equipment                                                $58,686.36           Book Value                    $58,686.36
Store 641 Trade Fixtures / Equipment / Warehouse Equipment                                                 $3,186.51           Book Value                     $3,186.51
Store 642 Trade Fixtures / Equipment / Warehouse Equipment                                                $77,364.23           Book Value                    $77,364.23
Store 643 Trade Fixtures / Equipment / Warehouse Equipment                                                $66,529.68           Book Value                    $66,529.68
Store 644 Trade Fixtures / Equipment / Warehouse Equipment                                                $33,360.54           Book Value                    $33,360.54
Store 646 Trade Fixtures / Equipment / Warehouse Equipment                                                 $3,800.30           Book Value                     $3,800.30
Store 647 Trade Fixtures / Equipment / Warehouse Equipment                                                $76,479.98           Book Value                    $76,479.98
Store 648 Trade Fixtures / Equipment / Warehouse Equipment                                                $80,745.76           Book Value                    $80,745.76
Store 649 Trade Fixtures / Equipment / Warehouse Equipment                                                $75,055.71           Book Value                    $75,055.71
Store 650 Trade Fixtures / Equipment / Warehouse Equipment                                                 $5,400.01           Book Value                     $5,400.01
Store 651 Trade Fixtures / Equipment / Warehouse Equipment                                                $80,633.13           Book Value                    $80,633.13
Store 652 Trade Fixtures / Equipment / Warehouse Equipment                                                $78,167.55           Book Value                    $78,167.55
Store 653 Trade Fixtures / Equipment / Warehouse Equipment                                                $12,853.17           Book Value                    $12,853.17
Store 656 Trade Fixtures / Equipment / Warehouse Equipment                                              $104,692.33            Book Value                  $104,692.33
Store 658 Trade Fixtures / Equipment / Warehouse Equipment                                                $41,872.42           Book Value                    $41,872.42
Store 659 Trade Fixtures / Equipment / Warehouse Equipment                                                $61,804.40           Book Value                    $61,804.40
Store 661 Trade Fixtures / Equipment / Warehouse Equipment                                                $97,873.51           Book Value                    $97,873.51
Store 662 Trade Fixtures / Equipment / Warehouse Equipment                                              $174,618.16            Book Value                  $174,618.16
Store 664 Trade Fixtures / Equipment / Warehouse Equipment                                                $66,799.32           Book Value                    $66,799.32
Store 665 Trade Fixtures / Equipment / Warehouse Equipment                                                $72,353.21           Book Value                    $72,353.21
Store 667 Trade Fixtures / Equipment / Warehouse Equipment                                                $80,478.38           Book Value                    $80,478.38
Store 668 Trade Fixtures / Equipment / Warehouse Equipment                                                $73,882.85           Book Value                    $73,882.85
Store 669 Trade Fixtures / Equipment / Warehouse Equipment                                              $114,065.11            Book Value                  $114,065.11
Store 670 Trade Fixtures / Equipment / Warehouse Equipment                                                $73,721.60           Book Value                    $73,721.60
Store 671 Trade Fixtures / Equipment / Warehouse Equipment                                                $97,345.85           Book Value                    $97,345.85
Store 672 Trade Fixtures / Equipment / Warehouse Equipment                                                $93,809.16           Book Value                    $93,809.16
Store 673 Trade Fixtures / Equipment / Warehouse Equipment                                                $67,826.12           Book Value                    $67,826.12
Store 674 Trade Fixtures / Equipment / Warehouse Equipment                                                $57,790.46           Book Value                    $57,790.46
Store 675 Trade Fixtures / Equipment / Warehouse Equipment                                                $83,111.67           Book Value                    $83,111.67
Store 676 Trade Fixtures / Equipment / Warehouse Equipment                                                $80,274.10           Book Value                    $80,274.10
Store 677 Trade Fixtures / Equipment / Warehouse Equipment                                                $82,983.96           Book Value                    $82,983.96


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 Motors and Related Accessories; Aircraft and Accessories; Other Machinery, Fixtures,          Net Book Value of       Valuation Method Used for   Current Value of
                                   and Equpment)                                               Debtor's Interest             Current Value         Debtor's Interest
Store 679 Trade Fixtures / Equipment / Warehouse Equipment                                                $76,150.70           Book Value                    $76,150.70
Store 680 Trade Fixtures / Equipment / Warehouse Equipment                                                $85,061.89           Book Value                    $85,061.89
Store 681 Trade Fixtures / Equipment / Warehouse Equipment                                                $44,863.77           Book Value                    $44,863.77
Store 682 Trade Fixtures / Equipment / Warehouse Equipment                                                $73,368.59           Book Value                    $73,368.59
Store 683 Trade Fixtures / Equipment / Warehouse Equipment                                                $71,031.37           Book Value                    $71,031.37
Store 684 Trade Fixtures / Equipment / Warehouse Equipment                                                $69,834.57           Book Value                    $69,834.57
Store 685 Trade Fixtures / Equipment / Warehouse Equipment                                                     $0.00           Book Value                         $0.00
Store 686 Trade Fixtures / Equipment / Warehouse Equipment                                                $83,639.27           Book Value                    $83,639.27
Store 687 Trade Fixtures / Equipment / Warehouse Equipment                                                $82,252.89           Book Value                    $82,252.89
Store 688 Trade Fixtures / Equipment / Warehouse Equipment                                                $69,266.80           Book Value                    $69,266.80
Store 689 Trade Fixtures / Equipment / Warehouse Equipment                                                $47,735.72           Book Value                    $47,735.72
Store 690 Trade Fixtures / Equipment / Warehouse Equipment                                                $86,389.57           Book Value                    $86,389.57
Store 692 Trade Fixtures / Equipment / Warehouse Equipment                                                $90,562.94           Book Value                    $90,562.94
Store 693 Trade Fixtures / Equipment / Warehouse Equipment                                                 $9,041.81           Book Value                     $9,041.81
Store 694 Trade Fixtures / Equipment / Warehouse Equipment                                                $77,143.86           Book Value                    $77,143.86
Store 695 Trade Fixtures / Equipment / Warehouse Equipment                                                $79,862.11           Book Value                    $79,862.11
Store 696 Trade Fixtures / Equipment / Warehouse Equipment                                                $69,478.60           Book Value                    $69,478.60
Store 697 Trade Fixtures / Equipment / Warehouse Equipment                                                $75,502.35           Book Value                    $75,502.35
Store 698 Trade Fixtures / Equipment / Warehouse Equipment                                                $68,900.69           Book Value                    $68,900.69
Store 699 Trade Fixtures / Equipment / Warehouse Equipment                                                $74,700.14           Book Value                    $74,700.14
Store 700 Trade Fixtures / Equipment / Warehouse Equipment                                                $39,981.65           Book Value                    $39,981.65
Store 701 Trade Fixtures / Equipment / Warehouse Equipment                                                $60,855.23           Book Value                    $60,855.23
Store 702 Trade Fixtures / Equipment / Warehouse Equipment                                                $42,159.24           Book Value                    $42,159.24
Store 703 Trade Fixtures / Equipment / Warehouse Equipment                                                $58,876.66           Book Value                    $58,876.66
Store 704 Trade Fixtures / Equipment / Warehouse Equipment                                                $82,002.37           Book Value                    $82,002.37
Store 705 Trade Fixtures / Equipment / Warehouse Equipment                                                $69,148.35           Book Value                    $69,148.35
Store 706 Trade Fixtures / Equipment / Warehouse Equipment                                                $83,383.95           Book Value                    $83,383.95
Store 707 Trade Fixtures / Equipment / Warehouse Equipment                                                     $0.00           Book Value                         $0.00
Store 708 Trade Fixtures / Equipment / Warehouse Equipment                                                $63,677.83           Book Value                    $63,677.83
Store 709 Trade Fixtures / Equipment / Warehouse Equipment                                                $52,509.59           Book Value                    $52,509.59
Store 710 Trade Fixtures / Equipment / Warehouse Equipment                                                $15,837.60           Book Value                    $15,837.60
Store 711 Trade Fixtures / Equipment / Warehouse Equipment                                                $55,131.94           Book Value                    $55,131.94
Store 716 Trade Fixtures / Equipment / Warehouse Equipment                                                     $0.00           Book Value                         $0.00
Store 717 Trade Fixtures / Equipment / Warehouse Equipment                                                $81,395.67           Book Value                    $81,395.67
Store 719 Trade Fixtures / Equipment / Warehouse Equipment                                                $82,152.37           Book Value                    $82,152.37


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 Motors and Related Accessories; Aircraft and Accessories; Other Machinery, Fixtures,          Net Book Value of       Valuation Method Used for   Current Value of
                                   and Equpment)                                               Debtor's Interest             Current Value         Debtor's Interest
Store 720 Trade Fixtures / Equipment / Warehouse Equipment                                                $77,977.70           Book Value                    $77,977.70
Store 729 Trade Fixtures / Equipment / Warehouse Equipment                                                $73,700.45           Book Value                    $73,700.45
Store 732 Trade Fixtures / Equipment / Warehouse Equipment                                              $136,052.81            Book Value                  $136,052.81
Store 733 Trade Fixtures / Equipment / Warehouse Equipment                                                $83,314.66           Book Value                    $83,314.66
Store 734 Trade Fixtures / Equipment / Warehouse Equipment                                              $103,426.13            Book Value                  $103,426.13
Store 735 Trade Fixtures / Equipment / Warehouse Equipment                                                $89,844.11           Book Value                    $89,844.11
Store 736 Trade Fixtures / Equipment / Warehouse Equipment                                                $94,779.80           Book Value                    $94,779.80
Store 737 Trade Fixtures / Equipment / Warehouse Equipment                                                $79,534.42           Book Value                    $79,534.42
Store 738 Trade Fixtures / Equipment / Warehouse Equipment                                                $93,602.30           Book Value                    $93,602.30
Store 739 Trade Fixtures / Equipment / Warehouse Equipment                                                $83,961.99           Book Value                    $83,961.99
Store 740 Trade Fixtures / Equipment / Warehouse Equipment                                                $85,297.72           Book Value                    $85,297.72
Store 741 Trade Fixtures / Equipment / Warehouse Equipment                                                $96,755.94           Book Value                    $96,755.94
Store 742 Trade Fixtures / Equipment / Warehouse Equipment                                                $41,182.09           Book Value                    $41,182.09
Store 743 Trade Fixtures / Equipment / Warehouse Equipment                                                $78,260.22           Book Value                    $78,260.22
Store 744 Trade Fixtures / Equipment / Warehouse Equipment                                              $105,217.26            Book Value                  $105,217.26
Store 745 Trade Fixtures / Equipment / Warehouse Equipment                                                $96,164.41           Book Value                    $96,164.41
Store 746 Trade Fixtures / Equipment / Warehouse Equipment                                                $68,989.04           Book Value                    $68,989.04
Store 747 Trade Fixtures / Equipment / Warehouse Equipment                                                $89,401.35           Book Value                    $89,401.35
Store 748 Trade Fixtures / Equipment / Warehouse Equipment                                                $71,735.77           Book Value                    $71,735.77
Store 749 Trade Fixtures / Equipment / Warehouse Equipment                                                $64,890.22           Book Value                    $64,890.22
Store 750 Trade Fixtures / Equipment / Warehouse Equipment                                              $104,490.83            Book Value                  $104,490.83
Store 751 Trade Fixtures / Equipment / Warehouse Equipment                                                $72,682.28           Book Value                    $72,682.28
Store 752 Trade Fixtures / Equipment / Warehouse Equipment                                                $80,215.24           Book Value                    $80,215.24
Store 753 Trade Fixtures / Equipment / Warehouse Equipment                                                $83,064.32           Book Value                    $83,064.32
Store 755 Trade Fixtures / Equipment / Warehouse Equipment                                              $117,381.61            Book Value                  $117,381.61
Store 756 Trade Fixtures / Equipment / Warehouse Equipment                                                $75,950.59           Book Value                    $75,950.59
Store 757 Trade Fixtures / Equipment / Warehouse Equipment                                                $88,588.57           Book Value                    $88,588.57
Store 758 Trade Fixtures / Equipment / Warehouse Equipment                                                $89,624.99           Book Value                    $89,624.99
Store 759 Trade Fixtures / Equipment / Warehouse Equipment                                              $104,804.72            Book Value                  $104,804.72
Store 760 Trade Fixtures / Equipment / Warehouse Equipment                                                $93,868.71           Book Value                    $93,868.71
Store 761 Trade Fixtures / Equipment / Warehouse Equipment                                                $84,790.84           Book Value                    $84,790.84
Store 762 Trade Fixtures / Equipment / Warehouse Equipment                                              $103,077.11            Book Value                  $103,077.11
Store 763 Trade Fixtures / Equipment / Warehouse Equipment                                                $70,402.73           Book Value                    $70,402.73
Store 764 Trade Fixtures / Equipment / Warehouse Equipment                                                $86,047.14           Book Value                    $86,047.14
Store 765 Trade Fixtures / Equipment / Warehouse Equipment                                                $88,438.57           Book Value                    $88,438.57


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 Motors and Related Accessories; Aircraft and Accessories; Other Machinery, Fixtures,          Net Book Value of       Valuation Method Used for   Current Value of
                                   and Equpment)                                               Debtor's Interest             Current Value         Debtor's Interest
Store 766 Trade Fixtures / Equipment / Warehouse Equipment                                              $103,355.07            Book Value                  $103,355.07
Store 767 Trade Fixtures / Equipment / Warehouse Equipment                                                $83,014.76           Book Value                    $83,014.76
Store 768 Trade Fixtures / Equipment / Warehouse Equipment                                                $82,766.68           Book Value                    $82,766.68
Store 769 Trade Fixtures / Equipment / Warehouse Equipment                                                $82,807.07           Book Value                    $82,807.07
Store 771 Trade Fixtures / Equipment / Warehouse Equipment                                                 $1,887.73           Book Value                     $1,887.73
Store 772 Trade Fixtures / Equipment / Warehouse Equipment                                                $89,305.13           Book Value                    $89,305.13
Store 773 Trade Fixtures / Equipment / Warehouse Equipment                                                $79,417.14           Book Value                    $79,417.14
Store 774 Trade Fixtures / Equipment / Warehouse Equipment                                              $108,795.98            Book Value                  $108,795.98
Store 775 Trade Fixtures / Equipment / Warehouse Equipment                                                $88,096.05           Book Value                    $88,096.05
Store 776 Trade Fixtures / Equipment / Warehouse Equipment                                                 $7,060.73           Book Value                     $7,060.73
Store 786 Trade Fixtures / Equipment / Warehouse Equipment                                                $96,457.22           Book Value                    $96,457.22
Store 788 Trade Fixtures / Equipment / Warehouse Equipment                                              $168,864.84            Book Value                  $168,864.84
Store 789 Trade Fixtures / Equipment / Warehouse Equipment                                              $175,219.69            Book Value                  $175,219.69
Store 790 Trade Fixtures / Equipment / Warehouse Equipment                                              $143,992.33            Book Value                  $143,992.33
Store 791 Trade Fixtures / Equipment / Warehouse Equipment                                                $82,853.56           Book Value                    $82,853.56
Store 792 Trade Fixtures / Equipment / Warehouse Equipment                                              $192,025.39            Book Value                  $192,025.39
Store 793 Trade Fixtures / Equipment / Warehouse Equipment                                              $202,363.48            Book Value                  $202,363.48
Store 794 Trade Fixtures / Equipment / Warehouse Equipment                                              $249,170.79            Book Value                  $249,170.79
Store 795 Trade Fixtures / Equipment / Warehouse Equipment                                              $248,107.84            Book Value                  $248,107.84
Store 796 Trade Fixtures / Equipment / Warehouse Equipment                                              $211,662.68            Book Value                  $211,662.68
Store 797 Trade Fixtures / Equipment / Warehouse Equipment                                              $232,780.76            Book Value                  $232,780.76
Store 798 Trade Fixtures / Equipment / Warehouse Equipment                                              $258,906.48            Book Value                  $258,906.48
Store 799 Trade Fixtures / Equipment / Warehouse Equipment                                              $243,350.53            Book Value                  $243,350.53
Store 998 Trade Fixtures / Equipment / Warehouse Equipment                                            $1,461,302.88            Book Value                $1,461,302.88
Store 999 Trade Fixtures / Equipment / Warehouse Equipment                                            $1,261,101.40            Book Value                $1,261,101.40
2233HP RAM ProMaster 1500 Low Roof Cargo Van 136 in. WB 3C6TRVAG8GE136803                                 $26,477.75          Present Value                  $26,477.75
2233JF RAM ProMaster 1500 Low Roof Cargo Van 136 in. WB 3C6TRVAG8GE136798                                 $28,045.93          Present Value                  $28,045.93
2233JM RAM ProMaster 1500 Low Roof Cargo Van 136 in. WB 3C6TRVAG5GE136807                                 $25,981.35          Present Value                  $25,981.35
2233JP RAM ProMaster 1500 Low Roof Cargo Van 136 in. WB 3C6TRVAG3GE136806                                 $27,398.96          Present Value                  $27,398.96
2233K3 RAM ProMaster 1500 Low Roof Cargo Van 136 in. WB 3C6TRVAG2GE136795                                 $25,960.22          Present Value                  $25,960.22
2233K4 RAM ProMaster 1500 Low Roof Cargo Van 136 in. WB 3C6TRVAG7GE136808                                 $27,963.81          Present Value                  $27,963.81
2233K8 RAM ProMaster 1500 Low Roof Cargo Van 136 in. WB 3C6TRVAGXGE136804                                 $25,841.16          Present Value                  $25,841.16
2233K9 RAM ProMaster 1500 Low Roof Cargo Van 136 in. WB 3C6TRVAG6GE136802                                 $27,065.73          Present Value                  $27,065.73
2233KC RAM ProMaster 1500 Low Roof Cargo Van 136 in. WB 3C6TRVAGXGE136799                                 $27,633.75          Present Value                  $27,633.75
2233KF RAM ProMaster 1500 Low Roof Cargo Van 136 in. WB 3C6TRVAG1GE136805                                 $26,756.49          Present Value                  $26,756.49


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 Motors and Related Accessories; Aircraft and Accessories; Other Machinery, Fixtures,          Net Book Value of       Valuation Method Used for   Current Value of
                                   and Equpment)                                               Debtor's Interest             Current Value         Debtor's Interest
2233KH RAM ProMaster 1500 Low Roof Cargo Van 136 in. WB 3C6TRVAG4GE136801                                 $27,056.61          Present Value                  $27,056.61
2233KL RAM ProMaster 1500 Low Roof Cargo Van 136 in. WB 3C6TRVAG4GE136796                                 $27,159.10          Present Value                  $27,159.10
2233KN RAM ProMaster 1500 Low Roof Cargo Van 136 in. WB 3C6TRVAG6GE136797                                 $28,047.18          Present Value                  $28,047.18
2233KP RAM ProMaster 1500 Low Roof Cargo Van 136 in. WB 3C6TRVAG2GE136800                                 $28,098.97          Present Value                  $28,098.97
229W25 Nissan Altima 2.5 SV 4dr Sedan 1N4AL3APXHC215975                                                   $22,540.00          Present Value                  $22,540.00
229W2N Nissan Rogue SV 4dr All-wheel Drive KNMAT2MVXHP555084                                              $23,434.00          Present Value                  $23,434.00
229W3Q Nissan Altima 2.5 SV 4dr Sedan 1N4AL3AP2HC232026                                                   $22,806.00          Present Value                  $22,806.00
229W44 Nissan Altima 2.5 SV 4dr Sedan 1N4AL3AP0HC199365                                                   $22,836.00          Present Value                  $22,836.00
229W49 Nissan Rogue SV 4dr All-wheel Drive KNMAT2MV2HP554737                                              $23,434.00          Present Value                  $23,434.00
229W55 Nissan Altima 2.5 SV 4dr Sedan 1N4AL3AP8HC228093                                                   $22,806.00          Present Value                  $22,806.00
22FJG7 Nissan Rogue SV 4dr All-wheel Drive 2017.5 JN8AT2MV5HW274403                                       $23,657.00          Present Value                  $23,657.00
22FJS3 Nissan Rogue SV 4dr All-wheel Drive 2017.5 JN8AT2MV2HW274312                                       $23,657.00          Present Value                  $23,657.00
22FJS7 Nissan Rogue SV 4dr All-wheel Drive 2017.5 KNMAT2MV9HP597181                                       $23,657.00          Present Value                  $23,657.00
22FJSB Nissan Rogue SV 4dr All-wheel Drive 2017.5 JN8AT2MV6HW278329                                       $23,657.00          Present Value                  $23,657.00
22FJSD Nissan Rogue SV 4dr All-wheel Drive 2017.5 KNMAT2MV8HP585832                                       $23,657.00          Present Value                  $23,657.00
22FJSL Nissan Rogue SV 4dr All-wheel Drive 2017.5 KNMAT2MVXHP585668                                       $23,657.00          Present Value                  $23,657.00
22FJSM Nissan Rogue SV 4dr All-wheel Drive 2017.5 JN8AT2MV4HW278510                                       $23,797.00          Present Value                  $23,797.00
22FJSP Nissan Altima 2.5 SV 4dr Sedan 1N4AL3AP9HC285922                                                   $23,177.00          Present Value                  $23,177.00
22FJSQ Nissan Altima 2.5 SV 4dr Sedan 1N4AL3AP0HC283394                                                   $23,177.00          Present Value                  $23,177.00
22FJST Nissan Altima 2.5 SV 4dr Sedan 1N4AL3AP0HC283119                                                   $23,177.00          Present Value                  $23,177.00
22FJSV Nissan Altima 2.5 SV 4dr Sedan 1N4AL3AP1HC285266                                                   $23,177.00          Present Value                  $23,177.00
22FJSW Nissan Altima 2.5 SV 4dr Sedan 1N4AL3AP3HC284927                                                   $23,304.87          Present Value                  $23,304.87
22FJSZ Nissan Altima 2.5 SV 4dr Sedan 1N4AL3AP5HC283083                                                   $22,642.00          Present Value                  $22,642.00
22FJT3 Nissan Altima 2.5 SV 4dr Sedan 1N4AL3AP5HC284038                                                   $23,177.00          Present Value                  $23,177.00
22FJTC Nissan Rogue SV 4dr All-wheel Drive 2017.5 KNMAT2MV7HP585773                                       $23,657.00          Present Value                  $23,657.00
22FJTG Nissan Rogue SV 4dr All-wheel Drive 2017.5 JN8AT2MVXHW278463                                       $23,657.00          Present Value                  $23,657.00
22FTRF Nissan Rogue SV 4dr All-wheel Drive JN8AT2MV5HW022439                                              $24,284.00          Present Value                  $24,284.00
22G6BP Nissan Altima 2.5 SV 4dr Sedan 2017.5 1N4AL3APXHC492917                                            $23,850.00          Present Value                  $23,850.00
22G8VJ Nissan Altima 2.5 SV 4dr Sedan 2017.5 1N4AL3AP5HC472834                                            $23,177.00          Present Value                  $23,177.00
22G8VT Nissan Altima 2.5 SV 4dr Sedan 2017.5 1N4AL3AP3HC472296                                            $23,177.00          Present Value                  $23,177.00
22GPSX Nissan Altima 2.5 SV 4dr Sedan 1N4AL3AP8HC174276                                                   $24,285.00          Present Value                  $24,285.00
22LD8W Nissan Altima 2.5 SV 4dr Sedan 1N4AL3AP0JC197265                                                   $22,384.00          Present Value                  $22,384.00
22LD98 Nissan Rogue SV 4dr All-wheel Drive 5N1AT2MV4JC769805                                              $23,985.00          Present Value                  $23,985.00
22LD9F Nissan Rogue SV 4dr All-wheel Drive 5N1AT2MV9JC770089                                              $23,985.00          Present Value                  $23,985.00
22LD9H Nissan Rogue SV 4dr All-wheel Drive KNMAT2MV4JP563347                                              $23,985.00          Present Value                  $23,985.00


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 Motors and Related Accessories; Aircraft and Accessories; Other Machinery, Fixtures,         Net Book Value of       Valuation Method Used for   Current Value of
                                   and Equpment)                                              Debtor's Interest             Current Value         Debtor's Interest
22LD9K Nissan Rogue SV 4dr All-wheel Drive KNMAT2MV1JP561958                                             $23,635.00          Present Value                  $23,635.00
22LD9N Nissan Rogue SV 4dr All-wheel Drive KNMAT2MV2JP550807                                             $23,985.00          Present Value                  $23,985.00
22PSC3 Nissan Rogue SV 4dr All-wheel Drive KNMAT2MV0JP587256                                             $23,985.00          Present Value                  $23,985.00
22PSCN Nissan Rogue SV 4dr All-wheel Drive KNMAT2MV2JP587288                                             $23,985.00          Present Value                  $23,985.00
22PSDF Nissan Rogue SV 4dr All-wheel Drive KNMAT2MV8JP584850                                             $23,635.00          Present Value                  $23,635.00
22PSDJ Nissan Rogue SV 4dr All-wheel Drive 5N1AT2MV8JC793332                                             $23,985.00          Present Value                  $23,985.00
22PSGH Nissan Rogue SV 4dr All-wheel Drive 5N1AT2MV7JC793970                                             $23,985.00          Present Value                  $23,985.00
22PSK3 Nissan Altima 2.5 SV 4dr Sedan 1N4AL3AP5JC246265                                                  $22,384.00          Present Value                  $22,384.00
22PSRM Nissan Rogue SV 4dr All-wheel Drive KNMAT2MV4JP585641                                             $23,635.00          Present Value                  $23,635.00
22PSRP Nissan Rogue SV 4dr All-wheel Drive KNMAT2MV9JP593184                                             $23,635.00          Present Value                  $23,635.00
22PSRT Nissan Rogue SV 4dr All-wheel Drive 5N1AT2MV4JC795773                                             $23,985.00          Present Value                  $23,985.00
22PT3K Nissan Altima 2.5 SV 4dr Sedan 1N4AL3AP4JC158713                                                  $23,952.00          Present Value                  $23,952.00
                                                                                TOTAL:              $39,973,392.90                                     $39,973,392.90




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                                                                 Debtor's Interest In     Net Book Value of    Used for Current Current Value of
            Description and Location of Property                     Property             Debtor's Interest         Value       Debtor's Interest
                                                              LEASEHOLD
1 NORTH 5TH AVE. BELLE FOURCHE, SD 57717                      IMPROVEMENTS                         $76,690.85 NET BOOK VALUE           $76,690.85
                                                              LEASEHOLD
10 E BROAD ST L' ANSE, MI 49946                               IMPROVEMENTS                         $23,796.21 NET BOOK VALUE           $23,796.21
                                                              LEASEHOLD
100 CROSS COUNTY PLAZA BATESVILLE, IN 47006                   IMPROVEMENTS                              $0.00 NET BOOK VALUE                $0.00
                                                              LEASEHOLD
100 EAST HELENA STREET DILLON, MT 59725-2611                  IMPROVEMENTS                              $0.00 NET BOOK VALUE                $0.00
                                                              LEASEHOLD
100 S 20TH STREET WORLAND, WY 82401                           IMPROVEMENTS                         $75,047.24 NET BOOK VALUE           $75,047.24

100 S 20TH STREET WORLAND, WY 82401                           OWNED LAND                                $0.00 NET BOOK VALUE                $0.00
                                                              LEASEHOLD
100 TEXAS TRAIL DRIVE OGALLALA, NE 69153                      IMPROVEMENTS                         $23,123.00 NET BOOK VALUE           $23,123.00
                                                              LEASEHOLD
100 W WASHINGTON LIVINGSTON, MT 59047                         IMPROVEMENTS                         $52,117.95 NET BOOK VALUE           $52,117.95
                                                              LEASEHOLD
1000 US BUSINESS 67 PRESIDIO , TX 79845                       IMPROVEMENTS                         $18,800.48 NET BOOK VALUE           $18,800.48
                                                              LEASEHOLD
1000 WEST NORTHLAND AVENUE APPLETON , WI 54914-1419           IMPROVEMENTS                       $273,385.77 NET BOOK VALUE           $273,385.77
                                                              LEASEHOLD
1001 NORTH CENTER AVENUE HARDIN, MT 59034                     IMPROVEMENTS                         $49,503.19 NET BOOK VALUE           $49,503.19
                                                              LEASEHOLD
1001 SOUTH HIGHWAY 15 FAIRMONT , MN 56031-4456                IMPROVEMENTS                       $197,875.38 NET BOOK VALUE           $197,875.38
                                                              LEASEHOLD
1002 7TH STREET SE PIPESTONE, MN 56164                        IMPROVEMENTS                          $2,567.59 NET BOOK VALUE            $2,567.59
                                                              LEASEHOLD
1003 CENTRAL AVE. WEST CLARION, IA 50525                      IMPROVEMENTS                         $39,159.01 NET BOOK VALUE           $39,159.01
                                                              LEASEHOLD
1004 N ELM STREET JEFFERSON, IA 50129                         IMPROVEMENTS                              $0.00 NET BOOK VALUE                $0.00


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                                                                  Debtor's Interest In     Net Book Value of    Used for Current Current Value of
             Description and Location of Property                     Property             Debtor's Interest         Value       Debtor's Interest
                                                               LEASEHOLD
1006 S COUNTY ROAD TOLEDO, IA 52342                            IMPROVEMENTS                         $55,194.44 NET BOOK VALUE           $55,194.44
                                                               LEASEHOLD
1008 E DIVISION NEILLSVILLE, WI 54456-2121                     IMPROVEMENTS                         $56,373.97 NET BOOK VALUE           $56,373.97
                                                               LEASEHOLD
1009 7TH AVE. TWO HARBORS, MN 55616                            IMPROVEMENTS                       $103,364.72 NET BOOK VALUE           $103,364.72
                                                               LEASEHOLD
101 S POLK ALBANY, MO 64402                                    IMPROVEMENTS                          $1,995.26 NET BOOK VALUE            $1,995.26
                                                               LEASEHOLD
1010 S. MAINLINE DR. SEYMOUR, WI 54165-1451                    IMPROVEMENTS                         $24,676.92 NET BOOK VALUE           $24,676.92
                                                               LEASEHOLD
1010 W. RYAN STREET BRILLION , WI 54110-1079                   IMPROVEMENTS                         $30,594.06 NET BOOK VALUE           $30,594.06
                                                               LEASEHOLD
1011 E. SPRUCE STREET ABBOTSFORD, WI 54405-9647                IMPROVEMENTS                         $15,421.51 NET BOOK VALUE           $15,421.51
1011 N. WISCONSIN STREET PORT WASHINGTON, WI 53074-            LEASEHOLD
1207                                                           IMPROVEMENTS                         $31,583.82 NET BOOK VALUE           $31,583.82
                                                               LEASEHOLD
1018 WASHINGTON BLVD OGDEN , UT 84404-4949                     IMPROVEMENTS                       $226,827.79 NET BOOK VALUE           $226,827.79
                                                               LEASEHOLD
102 COLLEGE DRIVE NEWTOWN, ND 58763-9114                       IMPROVEMENTS                         $26,368.04 NET BOOK VALUE           $26,368.04
                                                               LEASEHOLD
1026 N. INDEPENDENCE AVENUE BELOIT, KS 67420-2147              IMPROVEMENTS                         $38,142.16 NET BOOK VALUE           $38,142.16
                                                               LEASEHOLD
1026 SOUTH CHALLIS STREET SALMON , ID 83467-5441               IMPROVEMENTS                         $68,339.58 NET BOOK VALUE           $68,339.58
                                                               LEASEHOLD
106 SMITH STREET BLOOMFIELD, IA 52537                          IMPROVEMENTS                         $76,737.31 NET BOOK VALUE           $76,737.31
                                                               LEASEHOLD
1080 HWY 414 MOUNTAIN VIEW, WY 82939                           IMPROVEMENTS                         $24,286.40 NET BOOK VALUE           $24,286.40
                                                               LEASEHOLD
10808 SOUTH 132ND STREET OMAHA , NE 68138-3905                 IMPROVEMENTS                         $44,016.48 NET BOOK VALUE           $44,016.48


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                                                                 Debtor's Interest In     Net Book Value of        Used for Current Current Value of
            Description and Location of Property                     Property             Debtor's Interest             Value       Debtor's Interest
                                                              LEASEHOLD
109 N MARKET STREET AUDUBON, IA 50025                         IMPROVEMENTS                              $692.72 NET BOOK VALUE                $692.72
                                                              LEASEHOLD
10996 N PORT WASHINGTON RD MEQUON, WI 53092-5031              IMPROVEMENTS                       $126,995.42 NET BOOK VALUE               $126,995.42
                                                              LEASEHOLD
110 WATTERS DRIVE DWIGHT, IL 60420                            IMPROVEMENTS                          $3,534.24 NET BOOK VALUE                $3,534.24
                                                              LEASEHOLD
1100 E VALLEY ROAD TORRINGTON, WY 82240                       IMPROVEMENTS                         $60,869.98 NET BOOK VALUE               $60,869.98
1100 EAST RIVERVIEW EXPRESSWAY WISCONSIN RAPIDS , WI          LEASEHOLD
54494-5483                                                    IMPROVEMENTS                       $414,461.27 NET BOOK VALUE               $414,461.27
1100 EAST RIVERVIEW EXPRESSWAY WISCONSIN RAPIDS , WI
54494-5483                                                    OWNED LAND                                  $0.00     LISTED VALUE          $250,000.00
                                                              LEASEHOLD
1101 N INDIANA AVE. SYRACUSE, IN 46567                        IMPROVEMENTS                         $76,424.90 NET BOOK VALUE               $76,424.90
                                                              LEASEHOLD
1105 BRIDGER DRIVE GREEN RIVER, WY 82935                      IMPROVEMENTS                       $138,761.80 NET BOOK VALUE               $138,761.80
                                                              LEASEHOLD
1105 EAST GRAND AVENUE ROTHSCHILD , WI 54474-1024             IMPROVEMENTS                         $98,436.69 NET BOOK VALUE               $98,436.69
                                                              LEASEHOLD
1135 MOUNT RUSHMORE ROAD CUSTER, SD 57730                     IMPROVEMENTS                         $30,731.50 NET BOOK VALUE               $30,731.50
                                                              LEASEHOLD
114 WEST COMMERCIAL STREET LYONS, KS 67554                    IMPROVEMENTS                          $6,669.99 NET BOOK VALUE                $6,669.99
                                                              LEASEHOLD
1140 E 5TH STREET WINNER, SD 57580                            IMPROVEMENTS                       $176,611.42 NET BOOK VALUE               $176,611.42
                                                              LEASEHOLD
1145 SOUTH U.S. HIGHWAY 191 MOAB, UT 84532-3062               IMPROVEMENTS                       $160,302.02 NET BOOK VALUE               $160,302.02
                                                              LEASEHOLD
115 LEROUX STREET DONIPHAN, MO 63935                          IMPROVEMENTS                         $14,575.53 NET BOOK VALUE               $14,575.53
                                                              LEASEHOLD
1150 NORTH MAIN LAYTON , UT 84041-4853                        IMPROVEMENTS                       $168,897.14 NET BOOK VALUE               $168,897.14


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                                                                 Debtor's Interest In     Net Book Value of      Used for Current Current Value of
            Description and Location of Property                     Property             Debtor's Interest           Value       Debtor's Interest
                                                              LEASEHOLD
11571 N MISSION ROAD CLARE, MI 48858                          IMPROVEMENTS                         $24,651.14 NET BOOK VALUE             $24,651.14

11571 N MISSION ROAD CLARE, MI 48858                          OWNED LAND                                $0.00 NET BOOK VALUE                  $0.00
                                                              LEASEHOLD
1159 S CENTRAL AVE. SIDNEY, MT 59270                          IMPROVEMENTS                          $3,702.94 NET BOOK VALUE              $3,702.94
                                                              LEASEHOLD
116 STATE HWY 28 MORRIS, MN 56267                             IMPROVEMENTS                         $54,963.43 NET BOOK VALUE             $54,963.43
1166 WEST SUNSET DR - SUITE F 100 WAUKESHA , WI 53189-        LEASEHOLD
8420                                                          IMPROVEMENTS                       $173,331.67 NET BOOK VALUE             $173,331.67
                                                              LEASEHOLD
1174 NORTH MAIN STREET NEPHI, UT 84648-1008                   IMPROVEMENTS                         $22,373.43 NET BOOK VALUE             $22,373.43
                                                              LEASEHOLD
1180 SOUTH 16TH STREET CLARINDA, IA 51632-2917                IMPROVEMENTS                         $43,266.30 NET BOOK VALUE             $43,266.30
                                                              LEASEHOLD
1200 EAST SOUTHVIEW AVENUE MARSHALL , MN 56258-2580           IMPROVEMENTS                       $209,538.59 NET BOOK VALUE             $209,538.59

1200 EAST SOUTHVIEW AVENUE MARSHALL , MN 56258-2580           OWNED LAND                                $0.00     LISTED VALUE          $226,500.00
                                                              LEASEHOLD
1200 MAIN STREET STEVENS POINT , WI 54481-2863                IMPROVEMENTS                         $88,286.84 NET BOOK VALUE             $88,286.84
                                                              LEASEHOLD
1201 12TH AVE SE DYERSVILLE, IA 52040                         IMPROVEMENTS                         $35,507.71 NET BOOK VALUE             $35,507.71
                                                              LEASEHOLD
1203 N. MAIN STREET ANDREWS, TX 79714-3630                    IMPROVEMENTS                         $75,331.89 NET BOOK VALUE             $75,331.89
                                                              LEASEHOLD
1208 N. HWY 77 DELL RAPIDS, SD 57022                          IMPROVEMENTS                         $15,029.70 NET BOOK VALUE             $15,029.70
                                                              LEASEHOLD
1215 E MAIN STREET ATTICA, IN 47918                           IMPROVEMENTS                       $157,183.58 NET BOOK VALUE             $157,183.58
                                                              LEASEHOLD
1217 S HIGHWAY 71 KIMBALL, NE 69145                           IMPROVEMENTS                              $0.00 NET BOOK VALUE                  $0.00


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                                                                 Debtor's Interest In     Net Book Value of    Used for Current Current Value of
            Description and Location of Property                     Property             Debtor's Interest         Value       Debtor's Interest
                                                              LEASEHOLD
123 N 24TH STREET BEATRICE, NE 68310                          IMPROVEMENTS                         $47,528.83 NET BOOK VALUE           $47,528.83
                                                              LEASEHOLD
1230 LANCASTER DRIVE SE SALEM , OR 97317-5800                 IMPROVEMENTS                       $462,641.42 NET BOOK VALUE           $462,641.42
                                                              LEASEHOLD
124 LUMAR DRIVE JACKSBORO , TX 76458                          IMPROVEMENTS                         $16,081.65 NET BOOK VALUE           $16,081.65
                                                              LEASEHOLD
125 EAST GLENDALE DILLON, MT 59725                            IMPROVEMENTS                              $28.62 NET BOOK VALUE              $28.62
                                                              LEASEHOLD
125 MAIN STREET NORTH HUTCHINSON , MN 55350-1807              IMPROVEMENTS                       $211,488.51 NET BOOK VALUE           $211,488.51
                                                              LEASEHOLD
125 SOUTH STATE STREET OREM , UT 84058-5419                   IMPROVEMENTS                               $0.00 NET BOOK VALUE               $0.00
                                                              LEASEHOLD
1255 W MAIN STREET LANDER, WY 82520                           IMPROVEMENTS                         $88,207.28 NET BOOK VALUE           $88,207.28
                                                              LEASEHOLD
126 CHARLES STREET OCONTO , WI 54153-9446                     IMPROVEMENTS                         $81,519.23 NET BOOK VALUE           $81,519.23
                                                              LEASEHOLD
129 HARMONY BUFFALO, WY 82834                                 IMPROVEMENTS                         $73,793.11 NET BOOK VALUE           $73,793.11
                                                              LEASEHOLD
1300 E CENTRAL AVE COMANCHE, TX 76442-2806                    IMPROVEMENTS                         $62,195.84 NET BOOK VALUE           $62,195.84
                                                              LEASEHOLD
1300 KOELLER ROAD OSHKOSH , WI 54902-6169                     IMPROVEMENTS                       $455,055.09 NET BOOK VALUE           $455,055.09
                                                              LEASEHOLD
1301 S. MAIN STREET PERRYTON, TX 79070-4709                   IMPROVEMENTS                         $55,312.01 NET BOOK VALUE           $55,312.01
                                                              LEASEHOLD
1305 141ST STREET PERRY, IA 50220                             IMPROVEMENTS                       $176,374.48 NET BOOK VALUE           $176,374.48
                                                              LEASEHOLD
1306 NORTH CENTRAL AVENUE MARSHFIELD , WI 54449-1507          IMPROVEMENTS                       $273,079.45 NET BOOK VALUE           $273,079.45
                                                              LEASEHOLD
1307 STATE HWY 32 SOUTH EL DORADO SPRINGS, MO 64744           IMPROVEMENTS                         $17,393.64 NET BOOK VALUE           $17,393.64


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            Description and Location of Property                     Property             Debtor's Interest           Value       Debtor's Interest
                                                              LEASEHOLD
133 TROTTER AVE ORD , NE 68862                                IMPROVEMENTS                         $42,276.59 NET BOOK VALUE             $42,276.59
                                                              LEASEHOLD
1333 S 4TH AVE. PARK FALLS, WI 54552-1926                     IMPROVEMENTS                         $30,719.64 NET BOOK VALUE             $30,719.64
1340 NORTH WENATCHEE AVENUE WENATCHEE , WA 98801-             LEASEHOLD
1558                                                          IMPROVEMENTS                       $253,302.80 NET BOOK VALUE             $253,302.80
                                                              LEASEHOLD
1341 NORTH MAIN STREET LOGAN , UT 84341-2221                  IMPROVEMENTS                       $372,063.15 NET BOOK VALUE             $372,063.15
                                                              LEASEHOLD
1345 S FREDERICK OELWEIN, IA 50662                            IMPROVEMENTS                              $0.00 NET BOOK VALUE                  $0.00

1345 S FREDERICK OELWEIN, IA 50662                            OWNED LAND                                $0.00     LISTED VALUE        $1,100,000.00
                                                              LEASEHOLD
1350 NORTH GALENA AVENUE DIXON , IL 61021-1010                IMPROVEMENTS                       $141,817.55 NET BOOK VALUE             $141,817.55
                                                              LEASEHOLD
1370 HIGHWAY 2 EAST KALISPELL , MT 59901-3221                 IMPROVEMENTS                       $198,298.86 NET BOOK VALUE             $198,298.86
                                                              LEASEHOLD
13TH & STONE STREET FALLS CITY, NE 68355                      IMPROVEMENTS                          $9,718.49 NET BOOK VALUE              $9,718.49
                                                              LEASEHOLD
1400 BIG THUNDER BLVD BELVIDERE , IL 61008-1726               IMPROVEMENTS                       $198,234.83 NET BOOK VALUE             $198,234.83
                                                              LEASEHOLD
1400 MORNINGSIDE DR MILBANK, SD 57252-1532                    IMPROVEMENTS                         $62,952.90 NET BOOK VALUE             $62,952.90
                                                              LEASEHOLD
1401 STATE STREET PHILLIPSBURG, KS 67661                      IMPROVEMENTS                         $15,646.95 NET BOOK VALUE             $15,646.95
                                                              LEASEHOLD
1420 NORTH 7TH STREET OAKES, ND 58474                         IMPROVEMENTS                         $14,110.68 NET BOOK VALUE             $14,110.68
                                                              LEASEHOLD
1425 EDGINGTON AVE. ELDORA, IA 50627                          IMPROVEMENTS                              $0.00 NET BOOK VALUE                  $0.00
                                                              LEASEHOLD
1425 JANESVILLE AVENUE FORT ATKINSON , WI 53538-2705          IMPROVEMENTS                       $137,268.66 NET BOOK VALUE             $137,268.66


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                                                              LEASEHOLD
14445 WEST CENTER ROAD OMAHA , NE 68144-5401                  IMPROVEMENTS                       $218,899.75 NET BOOK VALUE             $218,899.75
                                                              LEASEHOLD
145 BROADWAY AVENUE N COKATO, MN 55321-4376                   IMPROVEMENTS                         $13,669.37 NET BOOK VALUE             $13,669.37
                                                              LEASEHOLD
1450 EAST GENEVA STREET DELAVAN , WI 53115-2025               IMPROVEMENTS                       $382,996.01 NET BOOK VALUE             $382,996.01
                                                              LEASEHOLD
148 MAIN ST. ROUNDUP, MT 59072                                IMPROVEMENTS                              $0.00 NET BOOK VALUE                  $0.00
                                                              LEASEHOLD
1500 E SHERIDAN ELY, MN 55731                                 IMPROVEMENTS                       $147,172.91 NET BOOK VALUE             $147,172.91
                                                              LEASEHOLD
1501 PARK STREET SHELDON, IA 51201                            IMPROVEMENTS                         $69,932.03 NET BOOK VALUE             $69,932.03
                                                              LEASEHOLD
1511 EAST 4TH AINSWORTH, NE 69210                             IMPROVEMENTS                         $12,020.88 NET BOOK VALUE             $12,020.88
                                                              LEASEHOLD
1515 E MAIN STREET REEDSBURG, WI 53959-1406                   IMPROVEMENTS                              $0.00 NET BOOK VALUE                  $0.00
                                                              LEASEHOLD
1520 W 9TH STREET MOUNT CARMEL, IL 62863                      IMPROVEMENTS                         $14,094.60 NET BOOK VALUE             $14,094.60
                                                              LEASEHOLD
1533 BURLINGTON HOLDREGE, NE 68949                            IMPROVEMENTS                              $0.00 NET BOOK VALUE                  $0.00
                                                              LEASEHOLD
1553 WEST 9000 SOUTH WEST JORDAN , UT 84088-9219              IMPROVEMENTS                         $70,413.90 NET BOOK VALUE             $70,413.90
                                                              LEASEHOLD
1578 APPLETON ROAD MENASHA , WI 54952-1104                    IMPROVEMENTS                         $76,804.96 NET BOOK VALUE             $76,804.96
                                                              LEASEHOLD
1600 HWY 2 W LIBBY, MT 59923                                  IMPROVEMENTS                       $175,688.34 NET BOOK VALUE             $175,688.34

1600 HWY 2 W LIBBY, MT 59923                                  OWNED LAND                                $0.00     LISTED VALUE          $165,000.00
                                                              LEASEHOLD
1601 WEST 41ST STREET SIOUX FALLS , SD 57105-6371             IMPROVEMENTS                       $508,313.36 NET BOOK VALUE             $508,313.36


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                                                              LEASEHOLD
1610 NORTH 2ND STREET CHEROKEE , IA 51012-2230                IMPROVEMENTS                         $13,095.05 NET BOOK VALUE             $13,095.05
                                                              LEASEHOLD
1625 BLASCHKO AVE. ARCADIA, WI 54612-1835                     IMPROVEMENTS                         $45,041.21 NET BOOK VALUE             $45,041.21

1625 BLASCHKO AVE. ARCADIA, WI 54612-1835                     OWNED LAND                                $0.00     LISTED VALUE           $40,000.00
                                                              LEASEHOLD
1625 HIGHTWAY 61 N LANCASTER, WI 53813-9448                   IMPROVEMENTS                         $99,464.45 NET BOOK VALUE             $99,464.45
                                                              LEASEHOLD
1635 EAST HIGHWAY 40 BALLARD , UT 84066                       IMPROVEMENTS                         $55,816.97 NET BOOK VALUE             $55,816.97
                                                              LEASEHOLD
1701 16TH ST WHEATLAND, WY 82201                              IMPROVEMENTS                       $183,047.71 NET BOOK VALUE             $183,047.71
                                                              LEASEHOLD
1710 MAIN STREET WEST BEND , WI 53095-4938                    IMPROVEMENTS                       $201,935.00 NET BOOK VALUE             $201,935.00
                                                              LEASEHOLD
1710 NORTH STREET SENECA, KS 66538                            IMPROVEMENTS                         $29,279.00 NET BOOK VALUE             $29,279.00
                                                              LEASEHOLD
1712 SD HIGHWAY 10 SISSETON, SD 57262                         IMPROVEMENTS                         $54,435.41 NET BOOK VALUE             $54,435.41
                                                              LEASEHOLD
1717 LAWERNCE DRIVE DEPERE, WI 54115-9129                     IMPROVEMENTS                       $896,777.57 NET BOOK VALUE             $896,777.57
                                                              LEASEHOLD
174 JAMES ROBERTSON DRIVE GLADWIN, MI 48624                   IMPROVEMENTS                         $12,040.30 NET BOOK VALUE             $12,040.30
                                                              LEASEHOLD
1771 WISCONSIN AVENUE GRAFTON , WI 53024-2437                 IMPROVEMENTS                         $47,945.65 NET BOOK VALUE             $47,945.65
                                                              LEASEHOLD
1777 PAULSON ROAD RIVER FALLS , WI 54022-8299                 IMPROVEMENTS                       $337,035.58 NET BOOK VALUE             $337,035.58
                                                              LEASEHOLD
1800 PLOVER ROAD PLOVER , WI 54467-3978                       IMPROVEMENTS                         $72,211.81 NET BOOK VALUE             $72,211.81
                                                              LEASEHOLD
1809 MAIN STREET LISBON, ND 58054                             IMPROVEMENTS                         $10,625.27 NET BOOK VALUE             $10,625.27


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                                                              LEASEHOLD
1810 JACKSON STREET OSHKOSH , WI 54901-2204                   IMPROVEMENTS                       $122,661.57 NET BOOK VALUE             $122,661.57
                                                              LEASEHOLD
1845 HAINES AVENUE RAPID CITY , SD 57701-0663                 IMPROVEMENTS                       $521,746.56 NET BOOK VALUE             $521,746.56
                                                              LEASEHOLD
1900 HWY 49 N BEULAH, ND 58523                                IMPROVEMENTS                              $0.00 NET BOOK VALUE                  $0.00
                                                              LEASEHOLD
1900 NORTH MAIN STREET MITCHELL , SD 57301-1160               IMPROVEMENTS                       $250,154.61 NET BOOK VALUE             $250,154.61

1900 NORTH MAIN STREET MITCHELL , SD 57301-1160               OWNED LAND                                $0.00     LISTED VALUE          $196,000.00
                                                              LEASEHOLD
1901 W COURT CHARITON, IA 50049                               IMPROVEMENTS                       $126,643.49 NET BOOK VALUE             $126,643.49
                                                              LEASEHOLD
1903 N. BUCKEYE AVENUE ABILENE, KS 67410-1505                 IMPROVEMENTS                         $48,558.31 NET BOOK VALUE             $48,558.31
                                                              LEASEHOLD
1907 S. STOCKTON MONAHANS, TX 79756-6507                      IMPROVEMENTS                       $214,505.26 NET BOOK VALUE             $214,505.26
                                                              LEASEHOLD
1950 E RICHARDS DOUGLAS, WY 82633                             IMPROVEMENTS                         $60,425.31 NET BOOK VALUE             $60,425.31
                                                              LEASEHOLD
1950 N. HWY 89 CHINO VALLEY , AZ 86323-5643                   IMPROVEMENTS                         $47,076.87 NET BOOK VALUE             $47,076.87
                                                              LEASEHOLD
1950 ROOSEVELT HWY SHELBY, MT 59474                           IMPROVEMENTS                              $0.00 NET BOOK VALUE                  $0.00
                                                              LEASEHOLD
1951 E. KING AVENUE CHAMBERLAIN, SD 57325                     IMPROVEMENTS                         $15,034.00 NET BOOK VALUE             $15,034.00
                                                              LEASEHOLD
1995 S CEDAR IMLAY CITY, MI 48444                             IMPROVEMENTS                       $129,505.60 NET BOOK VALUE             $129,505.60
                                                              LEASEHOLD
200 10TH AVE SE NEW PRAGUE, MN 56071-1975                     IMPROVEMENTS                         $38,270.96 NET BOOK VALUE             $38,270.96
                                                              LEASEHOLD
200 COMMERCE DRIVE COLUMBUS, WI 53925-9567                    IMPROVEMENTS                         $14,544.44 NET BOOK VALUE             $14,544.44


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                                                              LEASEHOLD
200 RED BULL DIVISION DR WEBSTER CITY, IA 50595-7505          IMPROVEMENTS                         $13,095.05 NET BOOK VALUE            $13,095.05
                                                              LEASEHOLD
200 SOUTH 18TH AVENUE WAUSAU , WI 54401-4252                  IMPROVEMENTS                              $161.11 NET BOOK VALUE             $161.11
                                                              LEASEHOLD
200 W BURNSIDE DRIVE MONTICELLO, IL 61856                     IMPROVEMENTS                       $153,913.93 NET BOOK VALUE            $153,913.93
                                                              LEASEHOLD
2001 E 9TH STREET TRENTON, MO 64683                           IMPROVEMENTS                       $253,637.51 NET BOOK VALUE            $253,637.51
                                                              LEASEHOLD
2005 KRENZIEN STREET NORFOLK , NE 68701-4601                  IMPROVEMENTS                       $109,545.17 NET BOOK VALUE            $109,545.17
                                                              LEASEHOLD
2008 WEST HWY 12 MOBRIDGE , SD 57601-4801                     IMPROVEMENTS                         $51,353.98 NET BOOK VALUE            $51,353.98
                                                              LEASEHOLD
201 N. FILLMORE MOUNT AYR, IA 50854                           IMPROVEMENTS                         $21,965.07 NET BOOK VALUE            $21,965.07
                                                              LEASEHOLD
201 S 3RD STREET ST PETER, MN 56082                           IMPROVEMENTS                         $21,586.27 NET BOOK VALUE            $21,586.27
                                                              LEASEHOLD
202 S. W. KENT GREENFIELD, IA 50849                           IMPROVEMENTS                                $0.00 NET BOOK VALUE               $0.00
                                                              LEASEHOLD
202 SUSAN LAWRENCE PLAZA IDA GROVE, IA 51445                  IMPROVEMENTS                       $122,899.11 NET BOOK VALUE            $122,899.11
                                                              LEASEHOLD
205 BOYD AVE. NEWCASTLE, WY 82701                             IMPROVEMENTS                       $101,313.12 NET BOOK VALUE            $101,313.12
                                                              LEASEHOLD
2050 HORICON STREET MAYVILLE, WI 53050-1423                   IMPROVEMENTS                         $20,088.15 NET BOOK VALUE            $20,088.15
                                                              LEASEHOLD
2052 E COMMERCIAL AVE LOWELL, IN 46356-2116                   IMPROVEMENTS                         $59,621.75 NET BOOK VALUE            $59,621.75
                                                              LEASEHOLD
207 S MOUNTAIN AVE SPRINGERVILLE, AZ 85938-5100               IMPROVEMENTS                         $18,918.89 NET BOOK VALUE            $18,918.89
                                                              LEASEHOLD
2101 EAST EVERGREEN DRIVE APPLETON , WI 54913-9001            IMPROVEMENTS                         $84,500.18 NET BOOK VALUE            $84,500.18


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                                                              LEASEHOLD
2101 WEST BROADWAY MONONA , WI 53713-1638                     IMPROVEMENTS                       $175,737.59 NET BOOK VALUE           $175,737.59
                                                              LEASEHOLD
2105 LAZELL STREET STURGIS, SD 57785                          IMPROVEMENTS                         $72,966.91 NET BOOK VALUE           $72,966.91
                                                              LEASEHOLD
211 S 23RD STREET PLATTSMOUTH, NE 68048                       IMPROVEMENTS                         $57,348.53 NET BOOK VALUE           $57,348.53
                                                              LEASEHOLD
212 N MAIN GALLATIN, MO 64640                                 IMPROVEMENTS                              $0.00 NET BOOK VALUE                $0.00
                                                              LEASEHOLD
2155 1ST AVE. WINDOM, MN 56101                                IMPROVEMENTS                         $58,502.60 NET BOOK VALUE           $58,502.60
                                                              LEASEHOLD
216 MAIN AVE NE WARROAD , MN 56763-2344                       IMPROVEMENTS                         $55,073.46 NET BOOK VALUE           $55,073.46
                                                              LEASEHOLD
216 SOUTH MILITARY AVENUE GREEN BAY , WI 54303-2412           IMPROVEMENTS                         $11,188.43 NET BOOK VALUE           $11,188.43
                                                              LEASEHOLD
2165 EAST 9400 SOUTH SANDY , UT 84093-3201                    IMPROVEMENTS                         $27,402.70 NET BOOK VALUE           $27,402.70
                                                              LEASEHOLD
220 LINCOLN STREET ADAMS, WI 53910-9459                       IMPROVEMENTS                       $139,782.02 NET BOOK VALUE           $139,782.02
                                                              LEASEHOLD
2200 LINCOLN STREET RHINELANDER , WI 54501-3631               IMPROVEMENTS                         $18,012.55 NET BOOK VALUE           $18,012.55
                                                              LEASEHOLD
2201 ZEIER ROAD MADISON , WI 53704-7415                       IMPROVEMENTS                       $291,547.74 NET BOOK VALUE           $291,547.74
                                                              LEASEHOLD
2220 HWY 175 W ONAWA, IA 51040                                IMPROVEMENTS                       $144,677.00 NET BOOK VALUE           $144,677.00
                                                              LEASEHOLD
22422 HIGHWAY 9 CRESCO , IA 52136-8267                        IMPROVEMENTS                         $52,257.09 NET BOOK VALUE           $52,257.09
                                                              LEASEHOLD
225 HWY 2 SE RUGBY, ND 58368                                  IMPROVEMENTS                          $2,057.48 NET BOOK VALUE            $2,057.48
                                                              LEASEHOLD
226 E LINCOLN FERGUS FALLS, MN 56538                          IMPROVEMENTS                         $46,332.13 NET BOOK VALUE           $46,332.13


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                                                              LEASEHOLD
2278 N COMFORT DRIVE HART, MI 49420                           IMPROVEMENTS                         $38,575.80 NET BOOK VALUE           $38,575.80
                                                              LEASEHOLD
230 NORTH WISCONSIN STREET DEPERE, WI 54115-2735              IMPROVEMENTS                       $250,232.92 NET BOOK VALUE           $250,232.92
                                                              LEASEHOLD
2320 LINEVILLE ROAD SUAMICO, WI 54313-8836                    IMPROVEMENTS                         $91,385.07 NET BOOK VALUE           $91,385.07
                                                              LEASEHOLD
2353 SOUTH E STREET BROKEN BOW, NE 68822                      IMPROVEMENTS                         $62,867.85 NET BOOK VALUE           $62,867.85
                                                              LEASEHOLD
2402 CENTRAL AVENUE ESTHERVILLE , IA 51334-2770               IMPROVEMENTS                         $94,068.42 NET BOOK VALUE           $94,068.42
                                                              LEASEHOLD
2410 DAHLKE AVE. AUBURN, NE 68305                             IMPROVEMENTS                              $0.00 NET BOOK VALUE                $0.00
                                                              LEASEHOLD
2430 EAST MASON STREET GREEN BAY , WI 54302-3759              IMPROVEMENTS                       $380,386.23 NET BOOK VALUE           $380,386.23
                                                              LEASEHOLD
2500 E HIGHWAY 90 ALPINE , TX 79830-4107                      IMPROVEMENTS                         $69,752.45 NET BOOK VALUE           $69,752.45
                                                              LEASEHOLD
2500 ROSE STREET LACROSSE, WI 54603-1612                      IMPROVEMENTS                          $9,049.39 NET BOOK VALUE            $9,049.39
                                                              LEASEHOLD
2500 US HWY 14 JANESVILLE , WI 53545-0309                     IMPROVEMENTS                       $142,563.22 NET BOOK VALUE           $142,563.22
                                                              LEASEHOLD
251 S 4TH STREET SAVANNA, IL 61074                            IMPROVEMENTS                       $106,562.45 NET BOOK VALUE           $106,562.45
                                                              LEASEHOLD
2541 S. BAY SHORE DRIVE SISTER BAY, WI 54234-8158             IMPROVEMENTS                              $0.00 NET BOOK VALUE                $0.00
                                                              LEASEHOLD
255 JOHN F KENNEDY ROAD DUBUQUE, IA 52002-5313                IMPROVEMENTS                              $0.00 NET BOOK VALUE                $0.00
                                                              LEASEHOLD
2585 LINEVILLE ROAD GREEN BAY, WI 54313-7122                  IMPROVEMENTS                              $0.00 NET BOOK VALUE                $0.00
                                                              LEASEHOLD
2585 STATE HWY 14 NE ALBION, NE 68620-2820                    IMPROVEMENTS                         $64,285.65 NET BOOK VALUE           $64,285.65


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                                                              LEASEHOLD
2610 NORTH BRIDGE AVENUE ALBERT LEA , MN 56007-2075           IMPROVEMENTS                         $67,153.16 NET BOOK VALUE             $67,153.16

2610 NORTH BRIDGE AVENUE ALBERT LEA , MN 56007-2075           OWNED LAND                                $0.00     LISTED VALUE          $234,787.00
                                                              LEASEHOLD
2655 W. CHICAGO BLVD TECUMSEH, MI 49286                       IMPROVEMENTS                       $112,203.89 NET BOOK VALUE             $112,203.89
                                                              LEASEHOLD
2677 STATE HWY 53 CHIPPEWA FALLS , WI 54729-7506              IMPROVEMENTS                       $277,347.13 NET BOOK VALUE             $277,347.13

2677 STATE HWY 53 CHIPPEWA FALLS , WI 54729-7506              OWNED LAND                                $0.00     LISTED VALUE          $380,000.00
                                                              LEASEHOLD
2701 HWY 18 W HOT SPRINGS, SD 57747                           IMPROVEMENTS                       $141,755.18 NET BOOK VALUE             $141,755.18
                                                              LEASEHOLD
272 NORTH MAIN STREET VALENTINE, NE 69201                     IMPROVEMENTS                         $27,701.82 NET BOOK VALUE             $27,701.82
                                                              LEASEHOLD
2741 ROOSEVELT ROAD MARINETTE , WI 54143-3833                 IMPROVEMENTS                       $328,035.52 NET BOOK VALUE             $328,035.52
                                                              LEASEHOLD
2761 PRAIRIE AVENUE BELOIT , WI 53511-2246                    IMPROVEMENTS                       $313,584.16 NET BOOK VALUE             $313,584.16

2761 PRAIRIE AVENUE BELOIT , WI 53511-2246                    OWNED LAND                                $0.00     LISTED VALUE          $250,000.00
                                                              LEASEHOLD
2815 CHAD DRIVE EUGENE , OR 97408-7335                        IMPROVEMENTS                       $240,672.36 NET BOOK VALUE             $240,672.36
                                                              LEASEHOLD
2820 ROOSEVELT RD MARINETTE , WI 54143-3834                   IMPROVEMENTS                          $1,978.68 NET BOOK VALUE              $1,978.68
                                                              LEASEHOLD
291 S MAIN CLINTONVILLE, WI 54929-1604                        IMPROVEMENTS                       $142,717.42 NET BOOK VALUE             $142,717.42
                                                              LEASEHOLD
300 CROSS STREET BURLINGTON, KS 66839                         IMPROVEMENTS                         $26,225.95 NET BOOK VALUE             $26,225.95

300 CROSS STREET BURLINGTON, KS 66839                         OWNED LAND                                $0.00     LISTED VALUE           $30,000.00


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            Description and Location of Property                     Property             Debtor's Interest           Value       Debtor's Interest
                                                              LEASEHOLD
300 JAKE STREET SE PERHAM, MN 56573                           IMPROVEMENTS                              $0.00 NET BOOK VALUE                  $0.00
                                                              LEASEHOLD
301 1ST AVE. S SAINT JAMES, MN 56081                          IMPROVEMENTS                          $2,227.64 NET BOOK VALUE              $2,227.64

301 1ST AVE. S SAINT JAMES, MN 56081                     OWNED LAND                                $91,304.50     LISTED VALUE           $75,000.00
                                                         LEASEHOLD
301 BAY PARK SQUARE GREEN BAY , WI 54304-5104            IMPROVEMENTS                            $544,418.65 NET BOOK VALUE             $544,418.65
                                                         LEASEHOLD
301 E HIGHWAY 20 GORDON , NE 69343-1650                  IMPROVEMENTS                               $7,910.44 NET BOOK VALUE              $7,910.44
                                                         LEASEHOLD
301 SOUTH MANTORVILLE AVENUE KASSON, MN 55944            IMPROVEMENTS                            $331,721.69 NET BOOK VALUE             $331,721.69
                                                         LEASEHOLD
3025 HAMILTON BLVD SIOUX CITY , IA 51104-2407            IMPROVEMENTS                              $38,365.81 NET BOOK VALUE             $38,365.81
                                                         LEASEHOLD
3044 S 84TH ST SUITE #1- OPTICAL CENTER OMAHA , NE 68124 IMPROVEMENTS                            $104,378.54 NET BOOK VALUE             $104,378.54
                                                         LEASEHOLD
308 S 2ND STREET CANADIAN , TX 79014-2506                IMPROVEMENTS                              $90,767.42 NET BOOK VALUE             $90,767.42
                                                         LEASEHOLD
3101 MONTANA AVENUE HELENA , MT 59602-7813               IMPROVEMENTS                            $210,777.01 NET BOOK VALUE             $210,777.01
                                                         LEASEHOLD
316 EAST HIGHWAY 20 O'NEILL, NE 68763                    IMPROVEMENTS                            $165,125.91 NET BOOK VALUE             $165,125.91
                                                         LEASEHOLD
320 HIGHWAY 12 EAST BOWMAN, ND 58623                     IMPROVEMENTS                              $36,371.51 NET BOOK VALUE             $36,371.51
                                                         LEASEHOLD
320 HIGHWAY O RICE LAKE , WI 54868-0289                  IMPROVEMENTS                            $173,949.64 NET BOOK VALUE             $173,949.64
                                                         LEASEHOLD
3225 10TH ST E GLENCOE, MN 55336                         IMPROVEMENTS                            $105,978.05 NET BOOK VALUE             $105,978.05
                                                         LEASEHOLD
333 S. LINCOLN BURLINGTON , CO 80807-2104                IMPROVEMENTS                              $38,456.23 NET BOOK VALUE             $38,456.23


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            Description and Location of Property                     Property             Debtor's Interest         Value       Debtor's Interest
                                                              LEASEHOLD
334 E. HIGHWAY 302 KERMIT, TX 79745-5105                      IMPROVEMENTS                       $169,509.41 NET BOOK VALUE           $169,509.41
                                                              LEASEHOLD
334 N. HALLEK STREET DE MOTTE , IN 46310-9419                 IMPROVEMENTS                         $23,902.16 NET BOOK VALUE           $23,902.16
                                                              LEASEHOLD
340 S HWY 65 MORA, MN 55051                                   IMPROVEMENTS                              $0.00 NET BOOK VALUE                $0.00
                                                              LEASEHOLD
3400 NORTH 27TH STREET LINCOLN , NE 68521-1314                IMPROVEMENTS                         $33,115.89 NET BOOK VALUE           $33,115.89
                                                              LEASEHOLD
3402 MAIN STREET EMMETSBURG, IA 50536-1515                    IMPROVEMENTS                         $13,681.35 NET BOOK VALUE           $13,681.35
                                                              LEASEHOLD
3415 CALUMET AVENUE MANITOWOC , WI 54220-5427                 IMPROVEMENTS                       $367,255.79 NET BOOK VALUE           $367,255.79

3415 CALUMET AVENUE MANITOWOC , WI 54220-5427                 OWNED LAND                                $0.00 NET BOOK VALUE                $0.00
                                                              LEASEHOLD
3705 MONROE ROAD DEPERE, WI 54115-4020                        IMPROVEMENTS                         $11,736.16 NET BOOK VALUE           $11,736.16
                                                              LEASEHOLD
3825 S HURON ROAD STANDISH, MI 48658                          IMPROVEMENTS                          $4,840.34 NET BOOK VALUE            $4,840.34
                                                              LEASEHOLD
3RD & FLACK ST. ALLIANCE, NE 69301                            IMPROVEMENTS                              $0.00 NET BOOK VALUE                $0.00
                                                              LEASEHOLD
400 S MAIN STREET BROOKLYN, MI 49230                          IMPROVEMENTS                         $33,488.66 NET BOOK VALUE           $33,488.66
                                                              LEASEHOLD
401 US HIGHWAY 24 LEADVILLE, CO 80461-3974                    IMPROVEMENTS                         $10,432.78 NET BOOK VALUE           $10,432.78
                                                              LEASEHOLD
402 E HWY 92 / P O BOX 558 WINTERSET, IA 50273                IMPROVEMENTS                         $59,745.85 NET BOOK VALUE           $59,745.85
                                                              LEASEHOLD
405 W INTERSTATE DRIVE LUVERNE, MN 56156                      IMPROVEMENTS                              $0.00 NET BOOK VALUE                $0.00
                                                              LEASEHOLD
405 WEST EIGHTH STREET MONROE , WI 53566-1063                 IMPROVEMENTS                       $542,536.51 NET BOOK VALUE           $542,536.51


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                                                              LEASEHOLD
406 GATEWAY AVENUE MAUSTON , WI 53948-1401                    IMPROVEMENTS                         $19,292.91 NET BOOK VALUE           $19,292.91
                                                              LEASEHOLD
4060 RIVERDALE ROAD RIVERDALE , UT 84405-1518                 IMPROVEMENTS                       $412,318.54 NET BOOK VALUE           $412,318.54
                                                              LEASEHOLD
409 JUNCTION AVENUE STANLEY, WI 54768-8011                    IMPROVEMENTS                         $14,149.88 NET BOOK VALUE           $14,149.88
                                                              LEASEHOLD
413 HURON STREET MISSOURI VALLEY, IA 51555                    IMPROVEMENTS                         $26,632.49 NET BOOK VALUE           $26,632.49
                                                              LEASEHOLD
415 US HIGHWAY 24 N BUENA VISTA , CO 81211-9651               IMPROVEMENTS                          $6,822.69 NET BOOK VALUE            $6,822.69
                                                              LEASEHOLD
416 U.S. HWY 59 MAHNOMEN, MN 56557-4630                       IMPROVEMENTS                          $8,938.75 NET BOOK VALUE            $8,938.75
                                                              LEASEHOLD
4161 SECOND STREET SOUTH ST CLOUD , MN 56301-3761             IMPROVEMENTS                       $301,488.00 NET BOOK VALUE           $301,488.00
                                                              LEASEHOLD
421 GATEWAY DRIVE EAST GRAND FORKS, MN 56721-1619             IMPROVEMENTS                              $0.00 NET BOOK VALUE                $0.00
                                                              LEASEHOLD
4215 YELLOWSTONE HWY CHUBBUCK , ID 83202-2419                 IMPROVEMENTS                       $227,749.17 NET BOOK VALUE           $227,749.17
                                                              LEASEHOLD
429 SE MICHIGAN AVE OROFINO, ID 83544                         IMPROVEMENTS                         $12,800.36 NET BOOK VALUE           $12,800.36
                                                              LEASEHOLD
4344 MORMON COULEE ROAD LACROSSE, WI 54601-7908               IMPROVEMENTS                       $266,634.12 NET BOOK VALUE           $266,634.12
                                                              LEASEHOLD
440 WEST MAIN STREET TREMONTON, UT 84337                      IMPROVEMENTS                         $19,937.47 NET BOOK VALUE           $19,937.47
                                                              LEASEHOLD
4501 EAST ARROWHEAD PKWY SIOUX FALLS , SD 57110-2701          IMPROVEMENTS                         $52,090.47 NET BOOK VALUE           $52,090.47
                                                              LEASEHOLD
4515 SOUTH REGAL STREET SPOKANE (CITY), WA 99223-7938         IMPROVEMENTS                         $55,860.72 NET BOOK VALUE           $55,860.72
                                                              LEASEHOLD
471 WINE COUNTRY ROAD PROSSER , WA 99350-9555                 IMPROVEMENTS                         $15,641.71 NET BOOK VALUE           $15,641.71


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                                                              LEASEHOLD
4791 COUNTY ROAD 10 MOOSELAKE, MN 55767-9221                  IMPROVEMENTS                         $43,033.29 NET BOOK VALUE            $43,033.29
                                                              LEASEHOLD
4801 WASHINGTON AVENUE RACINE , WI 53406-4219                 IMPROVEMENTS                       $516,689.62 NET BOOK VALUE            $516,689.62
                                                              LEASEHOLD
4850 WEST 3500 SOUTH WEST VALLEY CITY , UT 84120-2927         IMPROVEMENTS                       $222,627.85 NET BOOK VALUE            $222,627.85
                                                              LEASEHOLD
491 US HWY 41 ISHPEMING, MI 49849                             IMPROVEMENTS                       $129,259.49 NET BOOK VALUE            $129,259.49
                                                              LEASEHOLD
500 PLAZA DRIVE WEST POINT, NE 68788                          IMPROVEMENTS                         $24,446.69 NET BOOK VALUE            $24,446.69
                                                              LEASEHOLD
502 E 8TH AVENUE YUMA , CO 80759-2140                         IMPROVEMENTS                         $60,199.00 NET BOOK VALUE            $60,199.00
                                                              LEASEHOLD
505 W HOLMES NORTON, KS 67654                                 IMPROVEMENTS                              $922.58 NET BOOK VALUE             $922.58
                                                              LEASEHOLD
509 BLAIR STREET DALHART, TX 79022-2557                       IMPROVEMENTS                         $56,398.06 NET BOOK VALUE            $56,398.06
                                                              LEASEHOLD
510 EAST PHILLIP AVENUE NORTH PLATTE , NE 69101-5538          IMPROVEMENTS                       $219,784.92 NET BOOK VALUE            $219,784.92
                                                              LEASEHOLD
515 E. OKLAHOMA ULYSSES, KS 67880-2817                        IMPROVEMENTS                         $10,695.61 NET BOOK VALUE            $10,695.61
                                                              LEASEHOLD
518 SOUTH TAYLOR DRIVE SHEBOYGAN , WI 53081-4253              IMPROVEMENTS                       $321,473.56 NET BOOK VALUE            $321,473.56
                                                              LEASEHOLD
5300 52ND STREET KENOSHA , WI 53144-2310                      IMPROVEMENTS                       $546,434.24 NET BOOK VALUE            $546,434.24
                                                              LEASEHOLD
5350 STATION DRIVE CALUMET, MI 49913                          IMPROVEMENTS                         $84,369.30 NET BOOK VALUE            $84,369.30
                                                              LEASEHOLD
540 JENNER DRIVE ALLEGAN, MI 49010                            IMPROVEMENTS                         $29,677.15 NET BOOK VALUE            $29,677.15
                                                              LEASEHOLD
55 LAKE BOULEVARD REDDING , CA 96003-2500                     IMPROVEMENTS                       $364,102.09 NET BOOK VALUE            $364,102.09


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            Description and Location of Property                     Property             Debtor's Interest             Value       Debtor's Interest
                                                              LEASEHOLD
5500 MARTIN WAY LACEY , WA 98516-6326                         IMPROVEMENTS                         $82,403.66 NET BOOK VALUE               $82,403.66
                                                              LEASEHOLD
555 WEST SOUTH STREET FREEPORT , IL 61032-6792                IMPROVEMENTS                       $277,431.51 NET BOOK VALUE               $277,431.51

555 WEST SOUTH STREET FREEPORT , IL 61032-6792                OWNED LAND                                 $0.00      LISTED VALUE          $745,000.00
                                                              LEASEHOLD
5630 ST.CROIX TRAIL NORTH BRANCH, MN 55056                    IMPROVEMENTS                         $44,369.32 NET BOOK VALUE               $44,369.32
                                                              LEASEHOLD
56419 POKAGON STREET DOWAGIAC, MI 49047                       IMPROVEMENTS                          $6,301.98 NET BOOK VALUE                $6,301.98
                                                              LEASEHOLD
598 LUCAS LANE ELLSWORTH, WI 54011-2800                       IMPROVEMENTS                         $90,331.09 NET BOOK VALUE               $90,331.09
                                                              LEASEHOLD
60 NE BEND RIVER MALL AVENUE BEND, OR 97701-7528              IMPROVEMENTS                         $43,989.16 NET BOOK VALUE               $43,989.16
                                                              LEASEHOLD
600 US HWY 2E WOLFPOINT , MT 59201                            IMPROVEMENTS                         $30,687.64 NET BOOK VALUE               $30,687.64
                                                              LEASEHOLD
601 DIVISION AVE. N CAVALIER, ND 58220                        IMPROVEMENTS                               $73.89 NET BOOK VALUE                 $73.89
                                                              LEASEHOLD
602 MAIN AVENUE WEST ROLLA, ND 58367-7606                     IMPROVEMENTS                         $47,206.99 NET BOOK VALUE               $47,206.99
                                                              LEASEHOLD
611 10TH AVE. N HUMBOLDT, IA 50548                            IMPROVEMENTS                              $638.42 NET BOOK VALUE                $638.42
                                                              LEASEHOLD
614 WEST 3RD STREET REDFIELD , SD 57469-1042                  IMPROVEMENTS                          $8,107.33 NET BOOK VALUE                $8,107.33
                                                              LEASEHOLD
615 DEARBORN WAYNE, NE 68787                                  IMPROVEMENTS                         $13,296.22 NET BOOK VALUE               $13,296.22
                                                              LEASEHOLD
615 SOUTH MONROE AVENUE MASON CITY , IA 50401-5061            IMPROVEMENTS                       $598,343.97 NET BOOK VALUE               $598,343.97

615 SOUTH MONROE AVENUE MASON CITY , IA 50401-5061            OWNED LAND                                  $0.00     LISTED VALUE          $550,000.00


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                                                              LEASEHOLD
616 HWY 9 FOREST CITY, IA 50436                               IMPROVEMENTS                              $0.00 NET BOOK VALUE                 $0.00
                                                              LEASEHOLD
616 WEST JOHNSON STREET FOND DU LAC , WI 54935-3134           IMPROVEMENTS                       $380,804.92 NET BOOK VALUE            $380,804.92
                                                              LEASEHOLD
620 E HIGHWAY 12 WEBSTER , SD 57274-1135                      IMPROVEMENTS                          $8,568.82 NET BOOK VALUE             $8,568.82
                                                              LEASEHOLD
6355 MAIN STREET BONNERS FERRRY , ID 83805-8519               IMPROVEMENTS                         $13,652.08 NET BOOK VALUE            $13,652.08
                                                              LEASEHOLD
6475 HWY 93 SOUTH, SUITE #15 WHITEFISH, MT 59937-8265         IMPROVEMENTS                         $12,357.32 NET BOOK VALUE            $12,357.32
                                                              LEASEHOLD
650 W BEAVERBOOK AVE. SPOONER, WI 54801-7674                  IMPROVEMENTS                         $91,517.76 NET BOOK VALUE            $91,517.76

6527 HIGHWAY 40 TIOGA, ND 58852-9213                          OWNED BUILDING                   $2,801,338.08     LISTED VALUE        $1,775,000.00

6527 HIGHWAY 40 TIOGA, ND 58852-9213                          OWNED LAND                         $286,841.36 NET BOOK VALUE            $286,841.36
                                                              LEASEHOLD
660 NORTH MAIN BEAVER, UT 84713-7725                          IMPROVEMENTS                         $13,234.73 NET BOOK VALUE            $13,234.73
                                                              LEASEHOLD
660 W MILWAUKEE NEW HAMPTON, IA 50659                         IMPROVEMENTS                         $36,996.19 NET BOOK VALUE            $36,996.19
                                                              LEASEHOLD
67 SELKIRK WAY OLDTOWN , ID 83822-8546                        IMPROVEMENTS                          $8,405.63 NET BOOK VALUE             $8,405.63
                                                              LEASEHOLD
6717 HIGHWAY 200 CARRINGTON, ND 58421-8701                    IMPROVEMENTS                       $131,568.00 NET BOOK VALUE            $131,568.00
                                                              LEASEHOLD
679 S. WASHINGTON STREET AFTON, WY 83110                      IMPROVEMENTS                         $22,817.60 NET BOOK VALUE            $22,817.60
                                                              LEASEHOLD
6845 SOUTH 27TH STREET LINCOLN , NE 68512-4823                IMPROVEMENTS                         $25,765.83 NET BOOK VALUE            $25,765.83
                                                              LEASEHOLD
699 GREEN BAY ROAD NEENAH , WI 54956-3153                     IMPROVEMENTS                       $413,249.79 NET BOOK VALUE            $413,249.79


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                                                              LEASEHOLD
700 9TH AVENUE SE WATERTOWN , SD 57201-5222                   IMPROVEMENTS                       $171,972.69 NET BOOK VALUE             $171,972.69

700 9TH AVENUE SE WATERTOWN , SD 57201-5222             OWNED LAND                                      $0.00     LISTED VALUE          $348,500.00
                                                        LEASEHOLD
700 PILGRIM WAY, P O BOX 19060 GREEN BAY, WI 54307-9060 IMPROVEMENTS                             $985,344.59 NET BOOK VALUE             $985,344.59

700 PILGRIM WAY, P O BOX 19060 GREEN BAY, WI 54307-9060 OWNED LAND                                      $0.00 NET BOOK VALUE                  $0.00
                                                        LEASEHOLD
700 PROGRESS BLVD. TUSCOLA, IL 61953                    IMPROVEMENTS                             $119,461.76 NET BOOK VALUE             $119,461.76

700 PROGRESS BLVD. TUSCOLA, IL 61953                   OWNED LAND                                       $0.00     LISTED VALUE          $275,000.00
                                                       LEASEHOLD
701 GREAT BASIN BLVD ELY , NV 89301-2069               IMPROVEMENTS                              $174,405.87 NET BOOK VALUE             $174,405.87
                                                       LEASEHOLD
701 SOUTH CHURCH STREET WATERTOWN , WI 53094-6213      IMPROVEMENTS                              $678,916.30 NET BOOK VALUE             $678,916.30
                                                       LEASEHOLD
702 WESTVIEW LANE STANLEY, ND 58784                    IMPROVEMENTS                                $12,709.58 NET BOOK VALUE             $12,709.58
                                                       LEASEHOLD
705 W MARSHALL HOWARD BLVD LITTLEFIELD , TX 79339-5540 IMPROVEMENTS                                $21,344.10 NET BOOK VALUE             $21,344.10
                                                       LEASEHOLD
710 COUNTY ROAD 21 S GLENWOOD, MN 56334                IMPROVEMENTS                                $51,715.08 NET BOOK VALUE             $51,715.08
                                                       LEASEHOLD
710 N LL AND G AVENUE ANTHONY , KS 67003-2814          IMPROVEMENTS                                 $6,520.35 NET BOOK VALUE              $6,520.35
                                                       LEASEHOLD
711 S. MAIN STREET SEYMOUR , TX 76380-3011             IMPROVEMENTS                                     $0.00 NET BOOK VALUE                  $0.00
                                                       LEASEHOLD
718 4TH STREET GOTHENBURG, NE 69138                    IMPROVEMENTS                                $35,587.29 NET BOOK VALUE             $35,587.29
                                                       LEASEHOLD
727 14TH AVE SW VALLEY CITY, ND 58072                  IMPROVEMENTS                                 $2,929.49 NET BOOK VALUE              $2,929.49


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                                                              LEASEHOLD
7401 MINERAL POINT ROAD MADISON , WI 53717-1703               IMPROVEMENTS                       $511,487.74 NET BOOK VALUE             $511,487.74
                                                              LEASEHOLD
747 SOUTH MAIN BRIGHAM CITY , UT 84302-3359                   IMPROVEMENTS                       $458,197.70 NET BOOK VALUE             $458,197.70
                                                              LEASEHOLD
777 BYPASS ROAD BRANDENBURG, KY 40108                         IMPROVEMENTS                         $68,425.69 NET BOOK VALUE             $68,425.69
                                                              LEASEHOLD
784 S CEDAR STREET KALKASKA, MI 49646                         IMPROVEMENTS                         $24,989.84 NET BOOK VALUE             $24,989.84
                                                              LEASEHOLD
79 HOMETOWN DR TOMAHAWK , WI 54487-3301                       IMPROVEMENTS                         $19,447.83 NET BOOK VALUE             $19,447.83
                                                              LEASEHOLD
800 EAST MAES STREET KIMBERLY, WI 54136-1527                  IMPROVEMENTS                       $319,217.36 NET BOOK VALUE             $319,217.36
                                                              LEASEHOLD
800 S WASHINGTON AVE. MADISON, SD 57042                       IMPROVEMENTS                         $69,920.39 NET BOOK VALUE             $69,920.39
                                                              LEASEHOLD
801 BROADWAY RED OAK, IA 51566                                IMPROVEMENTS                              $0.00 NET BOOK VALUE                  $0.00
                                                              LEASEHOLD
801 WEST CENTRAL ENTRANCE DULUTH , MN 55811-5468              IMPROVEMENTS                       $358,457.76 NET BOOK VALUE             $358,457.76

801 WEST CENTRAL ENTRANCE DULUTH , MN 55811-5468              OWNED LAND                                $0.00     LISTED VALUE          $517,484.00
                                                              LEASEHOLD
802 NORTH MAIN STREET KEWAUNEE, WI 54216-1046                 IMPROVEMENTS                         $15,893.14 NET BOOK VALUE             $15,893.14

802 NORTH MAIN STREET KEWAUNEE, WI 54216-1046                 OWNED LAND                                $0.00     LISTED VALUE           $60,000.00
                                                              LEASEHOLD
804 HWY 2 W GLASGOW, MT 59230                                 IMPROVEMENTS                         $71,464.13 NET BOOK VALUE             $71,464.13

804 HWY 2 W GLASGOW, MT 59230                                 OWNED LAND                                $0.00     LISTED VALUE           $59,000.00
                                                              LEASEHOLD
810 DIEKMANN DR PAYNESVILLE, MN 56362-4657                    IMPROVEMENTS                          $6,233.62 NET BOOK VALUE              $6,233.62


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                                                              LEASEHOLD
810 N RAILROAD STREET EAGLE RIVER, WI 54521-8834              IMPROVEMENTS                       $163,477.98 NET BOOK VALUE             $163,477.98
                                                              LEASEHOLD
812 HARVEST HILLS DRIVE CARROLLTON, MO 64633                  IMPROVEMENTS                         $28,721.18 NET BOOK VALUE             $28,721.18
                                                              LEASEHOLD
814 13TH AVENUE SW QUINCY , WA 98848                          IMPROVEMENTS                         $37,054.88 NET BOOK VALUE             $37,054.88
                                                              LEASEHOLD
815 E LAKESHORE DRIVE MANISTIQUE, MI 49854                    IMPROVEMENTS                         $76,624.15 NET BOOK VALUE             $76,624.15
                                                              LEASEHOLD
816 E STATE ROAD FAIRVIEW , OK 73737-2601                     IMPROVEMENTS                         $80,338.60 NET BOOK VALUE             $80,338.60
                                                              LEASEHOLD
819 11TH AVE. SW WAUKON, IA 52172                             IMPROVEMENTS                       $127,996.92 NET BOOK VALUE             $127,996.92

819 11TH AVE. SW WAUKON, IA 52172                             OWNED LAND                                $0.00     LISTED VALUE           $40,000.00
                                                              LEASEHOLD
821 W CRAWFORD CLAY CENTER, KS 67432                          IMPROVEMENTS                         $10,237.69 NET BOOK VALUE             $10,237.69
                                                              LEASEHOLD
822 PARK AVENUE BEAVER DAM , WI 53916-2206                    IMPROVEMENTS                         $54,120.94 NET BOOK VALUE             $54,120.94
                                                              LEASEHOLD
825 NE MAIN LEWISTOWN, MT 59457                               IMPROVEMENTS                       $120,827.22 NET BOOK VALUE             $120,827.22
                                                              LEASEHOLD
825 VALLEY STREET MINERVA, OH 44657                           IMPROVEMENTS                         $45,952.10 NET BOOK VALUE             $45,952.10

825 VALLEY STREET MINERVA, OH 44657                           OWNED LAND                                $0.00     LISTED VALUE          $600,000.00
                                                              LEASEHOLD
825 WEST FULTON STREET WAUPACA, WI 54981-1471                 IMPROVEMENTS                         $13,603.17 NET BOOK VALUE             $13,603.17
                                                              LEASEHOLD
860 S MAIN STREE BLANDING , UT 84511-3911                     IMPROVEMENTS                         $11,783.35 NET BOOK VALUE             $11,783.35
867 NORTH COLUMBIA CENTER BLVD KENNEWICK , WA 99336-          LEASEHOLD
7771                                                          IMPROVEMENTS                       $315,932.37 NET BOOK VALUE             $315,932.37


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                                                                  Debtor's Interest In     Net Book Value of    Used for Current Current Value of
             Description and Location of Property                     Property             Debtor's Interest         Value       Debtor's Interest
                                                               LEASEHOLD
87 S FOSSIL ST RUSSELL , KS 67665-3007                         IMPROVEMENTS                          $7,534.67 NET BOOK VALUE            $7,534.67
                                                               LEASEHOLD
890 RIVERSIDE PLAZA IRON RIVER, MI 49935                       IMPROVEMENTS                         $24,862.94 NET BOOK VALUE           $24,862.94
                                                               LEASEHOLD
902 SOUTH LOCUST GLENWOOD, IA 51534                            IMPROVEMENTS                         $12,516.16 NET BOOK VALUE           $12,516.16
                                                               LEASEHOLD
905 SOUTH 24 WEST BILLINGS , MT 59102-7408                     IMPROVEMENTS                       $528,976.10 NET BOOK VALUE           $528,976.10
                                                               LEASEHOLD
908 NW 6TH STREET TULIA , TX 79088-1510                        IMPROVEMENTS                              $0.00 NET BOOK VALUE                $0.00
                                                               LEASEHOLD
908 W AVENUE D LOVINGTON , NM 88260-3808                       IMPROVEMENTS                          $4,800.13 NET BOOK VALUE            $4,800.13
                                                               LEASEHOLD
91 PINE LAKE DRIVE NEWAYGO, MI 49337                           IMPROVEMENTS                         $42,771.85 NET BOOK VALUE           $42,771.85
                                                               LEASEHOLD
911 SOUTH K AVENUE VINTON, IA 52349-1073                       IMPROVEMENTS                         $70,522.64 NET BOOK VALUE           $70,522.64
                                                               LEASEHOLD
916 E MAIN STREET WINNECONNE, WI 54986-9782                    IMPROVEMENTS                         $40,111.90 NET BOOK VALUE           $40,111.90
                                                               LEASEHOLD
925 NORTH 6TH STREET GREYBULL, WY 82426                        IMPROVEMENTS                          $4,804.19 NET BOOK VALUE            $4,804.19
                                                               LEASEHOLD
927 NORTH AVENUE G CLIFTON , TX 76634-1013                     IMPROVEMENTS                          $7,973.28 NET BOOK VALUE            $7,973.28
                                                               LEASEHOLD
932 12TH STREET W GRAFTON, ND 58237                            IMPROVEMENTS                          $1,583.89 NET BOOK VALUE            $1,583.89
                                                               LEASEHOLD
935 3RD STREET, SE MAYVILLE, ND 58257-1630                     IMPROVEMENTS                         $30,924.21 NET BOOK VALUE           $30,924.21
                                                               LEASEHOLD
9366 STATE HIGHWAY 16 ONALASKA , WI 54650-9800                 IMPROVEMENTS                       $460,193.26 NET BOOK VALUE           $460,193.26
                                                               LEASEHOLD
94 NORTH 900 EAST DELTA , UT 84624-9467                        IMPROVEMENTS                          $8,456.54 NET BOOK VALUE            $8,456.54


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            Description and Location of Property                     Property             Debtor's Interest           Value       Debtor's Interest
                                                              LEASEHOLD
95 W SD HIGHWAY 46 WAGNER , SD 57380-9376                     IMPROVEMENTS                         $10,474.62 NET BOOK VALUE             $10,474.62
                                                              LEASEHOLD
955 CLAIREMONT AVENUE EAU CLAIRE , WI 54701-6103              IMPROVEMENTS                       $220,657.04 NET BOOK VALUE             $220,657.04
                                                              LEASEHOLD
955 NORTH MAIN STREET SPANISH FORK, UT 84660-1150             IMPROVEMENTS                       $178,394.64 NET BOOK VALUE             $178,394.64
                                                              LEASEHOLD
9916 E M 28 WETMORE, MI 49895                                 IMPROVEMENTS                         $22,873.42 NET BOOK VALUE             $22,873.42

ARCHBOLD, OH (TAX PARCEL NOT IDENTIFIED)                      OWNED LAND                                $0.00 NET BOOK VALUE                  $0.00

ASHLAND, WI (TAX PARCEL 201-03428-0100)                       OWNED LAND                                $0.00     LISTED VALUE           $75,000.00

BLOOMFIELD, IN (TAX PARCEL 28-08-26-000-019.004)              OWNED LAND                                $0.00     LISTED VALUE           $52,900.00

HODGENVILLE, KY (TAX PARCEL 029-03-01-001.20)                 OWNED LAND                                $0.00 NET BOOK VALUE                  $0.00
                                                              LEASEHOLD
HWY 11 W ROSEAU, MN 56751                                     IMPROVEMENTS                         $20,157.80 NET BOOK VALUE             $20,157.80
                                                              LEASEHOLD
HWY 14 W POWELL, WY 82435                                     IMPROVEMENTS                         $37,193.41 NET BOOK VALUE             $37,193.41
                                                              LEASEHOLD
HWY 169 S AITKIN, MN 56431                                    IMPROVEMENTS                         $16,333.98 NET BOOK VALUE             $16,333.98
                                                              LEASEHOLD
HWY 65 S HAMPTON, IA 50441                                    IMPROVEMENTS                         $88,296.55 NET BOOK VALUE             $88,296.55
                                                              LEASEHOLD
HWY 8 & NOREN SUPERIOR, NE 68978                              IMPROVEMENTS                       $134,354.13 NET BOOK VALUE             $134,354.13
                                                              LEASEHOLD
HWYS 44 & 59 HARLAN, IA 51537                                 IMPROVEMENTS                       $193,065.12 NET BOOK VALUE             $193,065.12
L00044 OMAHA, NE (84TH & CENTER) - 3020 S 84TH ST OMAHA,
NE 68124                                                 CAPITAL LEASE                             $23,050.00 PRESENT VALUE              $23,050.00


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                                                              Debtor's Interest In     Net Book Value of      Used for Current Current Value of
             Description and Location of Property                  Property            Debtor's Interest           Value       Debtor's Interest
L00108 SPANISH FORK, UT - 955 NORTH MAIN STREET SPANISH
FORK, UT 84660                                             CAPITAL LEASE                             $0.00         N/A                     $0.00
L00128 KALISPELL, MT - 1370 US HWY 2 EAST KALISPELL, MT
59901                                                      CAPITAL LEASE                        $44,295.31 PRESENT VALUE              $44,295.31
L00170 RHINELANDER, WI - 2200 LINCOLN STREET
RHINELANDER, WI 54501                                      CAPITAL LEASE                             $0.00         N/A                     $0.00

L00171 PLOVER, WI - 1800 PLOVER ROAD PLOVER, WI 54467      CAPITAL LEASE                             $0.00         N/A                     $0.00
L00172 LINCOLN, NE (NO 27TH ST) - 3400 NORTH 27TH STREET
LINCOLN, NE 68521                                          CAPITAL LEASE                             $0.00         N/A                     $0.00
L00175 LINCOLN, NE (SO 27TH ST) - 6845 SOUTH 27TH STREET
LINCOLN, NE 68512                                          CAPITAL LEASE                             $0.00         N/A                     $0.00
L00529 DILLON, MT EXPRESS - 125 EAST GLENDALE DILLON, MT
59725                                                      CAPITAL LEASE                      $221,318.88 PRESENT VALUE              $221,318.88
L00604 ABBOTSFORD, WI HOMETOWN - 1011 E. SPRUCE ST.
ABBOTSFORD, WI 54405                                       CAPITAL LEASE                      $676,338.77 PRESENT VALUE              $676,338.77
L00610 ISHPEMING, MI HOMETOWN - 650 US HWY 41 WEST
ISHPEMING, MI 49849                                        CAPITAL LEASE                      $772,645.52 PRESENT VALUE              $772,645.52
L00646 STANDISH, MI HOMETOWN - 3825 S. HURON ROAD
STANDISH, MI 48658                                         CAPITAL LEASE                      $891,157.52 PRESENT VALUE              $891,157.52
L00652 BROOKLYN, MI HOMETOWN - 400 SOUTH MAIN STREET
BROOKLYN, MI 49230                                         CAPITAL LEASE                             $0.00         N/A                     $0.00
L00662 PLATTSMOUTH, NE HOMETOWN - 211 S. 23RD STREET
PLATTSMOUTH, NE 68048                                      CAPITAL LEASE                    $2,377,638.51 PRESENT VALUE            $2,377,638.51
L00667 SHELDON, IA HOMETOWN - 1501 PARK STREET
SHELDON, IA 51201                                          CAPITAL LEASE                      $467,685.97 PRESENT VALUE              $467,685.97
L00679 TOLEDO, IA HOMETOWN - 1006 S. COUNTY ROAD
TOLEDO, IA 52342                                           CAPITAL LEASE                      $496,592.22 PRESENT VALUE              $496,592.22
L00691 OGALLALA, NE HOMETOWN - 100 TEXAS TRAIL DR
OGALLALA, NE 69153                                         CAPITAL LEASE                             $0.00         N/A                     $0.00


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              Description and Location of Property                  Property            Debtor's Interest           Value       Debtor's Interest
L00696 NORTON, KS HOMETOWN - 505 W. HOLME ST. NORTON,
KS 67654                                                    CAPITAL LEASE                    $1,068,402.35 PRESENT VALUE            $1,068,402.35
L00705 TRENTON, MO HOMETOWN - 2001 EAST 9TH STREET
TRENTON, MO 64683                                           CAPITAL LEASE                             $0.00         N/A                     $0.00
L00735 AITKIN, MN HOMETOWN - 190 SOUTHGATE DRIVE
AITKIN, MN 56431                                            CAPITAL LEASE                      $830,499.60 PRESENT VALUE              $830,499.60
L00736 VALLEY CITY, ND HOMETOWN - 727 15TH AVENUE SW
VALLEY CITY, ND 58072                                       CAPITAL LEASE                      $454,400.00 PRESENT VALUE              $454,400.00
L00740 MORRIS, MN HOMETOWN - 116 EAST STATE HWY 28
MORRIS, MN 56267                                            CAPITAL LEASE                      $880,703.17 PRESENT VALUE              $880,703.17
L00742 EAST GRAND FORKS, MN HOMETOWN - 421 GATEWAY
DRIVE NE EAST GRAND FORKS, MN 56721                         CAPITAL LEASE                    $1,057,954.18 PRESENT VALUE            $1,057,954.18
L00744 ROSEAU, MN HOMETOWN - 1087 3RD STREET NW
ROSEAU, MN 56751                                            CAPITAL LEASE                    $1,051,909.09 PRESENT VALUE            $1,051,909.09
L00761 NEWCASTLE, WY HOMETOWN - 205 BOYD AVENUE
NEWCASTLE, WY 82701                                         CAPITAL LEASE                             $0.00         N/A                     $0.00
L00774 LIVINGSTON, MT HOMETOWN - 100 WASHINGTON
STREET LIVINGSTON, MT 59047                                 CAPITAL LEASE                    $1,972,006.09 PRESENT VALUE            $1,972,006.09
L00775 LIBBY, MT HOMETOWN - 31071 US HIGHWAY 2 LIBBY,
MT 59923                                                    CAPITAL LEASE                             $0.00         N/A                     $0.00
L00791 FOREST CITY, IA HOMETOWN - 616 E US HWY 9 FOREST
CITY, IA 50436                                              CAPITAL LEASE                      $509,440.68 PRESENT VALUE              $509,440.68

LIBERTY, KY (TAX PARCEL 0L3-02-05D)                         OWNED LAND                                $0.00 NET BOOK VALUE                  $0.00

LOOGOOTEE, IN (TAX PARCEL NOT IDENTIFIED)                   OWNED LAND                                $0.00     LISTED VALUE           $74,900.00
                                                            LEASEHOLD
N 2585 PLAZA ROAD WAUTOMA, WI 54982-7706                    IMPROVEMENTS                         $96,641.90 NET BOOK VALUE             $96,641.90
                                                            LEASEHOLD
N66W25201 CTH "V V" SUSSEX, WI 53089-2677                   IMPROVEMENTS                         $32,170.27 NET BOOK VALUE             $32,170.27


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            Description and Location of Property                     Property             Debtor's Interest           Value       Debtor's Interest
                                                              LEASEHOLD
OLD STREET ROUTE 78 WOODSFIELD, OH 43793                      IMPROVEMENTS                         $59,926.01 NET BOOK VALUE             $59,926.01

OLD STREET ROUTE 78 WOODSFIELD, OH 43793                      OWNED LAND                                $0.00     LISTED VALUE           $15,000.00
                                                              LEASEHOLD
PO BOX 1351 THERMOPOLIS, WY 82443                             IMPROVEMENTS                       $164,727.33 NET BOOK VALUE             $164,727.33
                                                              LEASEHOLD
PO BOX 20 ROCKVILLE, IN 47872                                 IMPROVEMENTS                         $10,705.60 NET BOOK VALUE             $10,705.60

PO BOX 20 ROCKVILLE, IN 47872                                 OWNED LAND                                $0.00     LISTED VALUE           $49,900.00
                                                              LEASEHOLD
PO BOX 450 LARNED, KS 67550                                   IMPROVEMENTS                              $0.00 NET BOOK VALUE                  $0.00

RAWLINS, WY (TAX PARCEL 21876555)                             OWNED LAND                                $0.00     LISTED VALUE           $59,000.00
                                                              LEASEHOLD
ROUTE 1 BOX 139 B HWY 136 E MEMPHIS, MO 63555                 IMPROVEMENTS                         $30,611.85 NET BOOK VALUE             $30,611.85
                                                              LEASEHOLD
SOUTH 1450 GRANDE AVENUE PULLMAN , WA 99163-4900              IMPROVEMENTS                         $59,152.61 NET BOOK VALUE             $59,152.61

SOUTH 1450 GRANDE AVENUE PULLMAN , WA 99163-4900              OWNED LAND                                $0.00     LISTED VALUE          $344,995.00
                                                              LEASEHOLD
W3208 VAN ROY ROAD APPLETON , WI 54915-4086                   IMPROVEMENTS                             $0.00 NET BOOK VALUE                   $0.00
                                                                                 TOTAL:       $52,508,592.13                         $58,204,915.54




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                                                                                                                                  Current Value of Debtor's
                        Description of Cause of Action                            Nature of Claim       Amount requested                  Interest
Aggrenox (100.196) - Consumers and third party payors are alleging that
Boehringer Ingelheim unlawfully paid Teva, as part of a settlement of
patent infringement litigation, to delay the launch of a generic Aggrenox
product.                                                                      Class Action Suit                         Unknown                    Unknown
Ahold USA, Inc. v Allergan, PLC, et al.
1:16-cv-11498 D. Mass
Fully Executed Assignments / McKesson Claims Review re: Asacol                Class Action Suit                         Unknown                    Unknown
Ahold USA, Inc. v. Lannett Company, Inc., et al.
In re Generic Pharmaceuticals Pricing Antitrust Litigation
2:16-cv-03844 E.D. PA
17-3768 is the civil action
Fully Executed Assignments / McKesson Claims Review re: Digoxin and
Doxycycline                                                                   Class Action Suit                         Unknown                    Unknown

AndroGel Antitrust Litigation
N.D. GA 09 MD 02084
1:09-cv-00956 TWT
*Make sure to follow the direct purchase case.
Fully Executed Assignments / McKesson Claims Review re: AndroGel          Class Action Suit                             Unknown                    Unknown
Automotive Parts - End Payor Class Settlement - Defendants unlawfully
raised the price of certain vehicle component parts. Therefore, those who
purchased or leased new vehicles may have paid more than they should
have.                                                                     Class Action Suit                             Unknown                    Unknown

Capacitors Indirect - Defendants, Hitachi, Soshin Electronics, Rubycon,
Holy Stone and Nippon/United Chemi-Con have agreed to Seettlement
resolving claims that they allegedly fixed the prices of certain capacitors
(components that store electric charges between one or more pairs of
conductors separated by a insulator)                                          Class Action Suit                         Unknown                    Unknown




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                                                                                                                                  Current Value of Debtor's
                       Description of Cause of Action                             Nature of Claim       Amount requested                  Interest
Capacitors Indirect Purchaser - In re Capacitors Antitrust Litigation – All
Indirect Purchaser Actions, Master File No. 3:14-cv-03264-JD - Entities
that purchased capacitors, manufactured by defendants, from a third
party distributor                                                             Class Action Suit                         Unknown                    Unknown
Cathode Ray Tube - Alleged conspiracy by defendants to fix, raise,
maintain or stabilize prices of CRT Products resulting in overcharges to
consumers.                                                                    Class Action Suit                         Unknown                    Unknown
Climate Master's Heating & Cooling, LLC, v. United Rentals - Plaintiff's
allege that Climate Master's collected refueling service charges and
environmental service charges which were in excess of United Rental's
costs for providing those services.                                           Class Action Suit                         Unknown                    Unknown
Containerboard Products Antitrust Class Action - Linerboard, corrugated
medium, corrugated sheets, and corrugated products                            Class Action Suit                         Unknown                    Unknown

Doctors Club Unsolicited Fax - Certify that we received unsolicited faxes     Class Action Suit                         Unknown                    Unknown
Domestic Airline Travel Antitrust Litigation - Airline tickets purchased
through certain airlines                                                      Class Action Suit                         Unknown                    Unknown

Effexor XR Antitrust Litigation
11 CV 05479 D.NJ
15-1184 3rd Cir
Fully Executed Assignments / McKesson Claims Review re: Effexor XR      Class Action Suit                               Unknown                    Unknown
Emery Wilson Corporation Unsolicited Faxes Class Action - Emery Wilson
Corporation was sending unsolicited faxes, for advertising purposes,
without prior constent. This violates the Telephone Consumer Protection
Act.                                                                    Class Action Suit                               Unknown                    Unknown

Federal Trade Commission v. Abbvie Inc et al.
2:14-cv-05151-HB E.D. PA
Fully Executed Assignments / McKesson Claims Review re: Androgel              Class Action Suit                         Unknown                    Unknown




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                                                                                                                                 Current Value of Debtor's
                       Description of Cause of Action                           Nature of Claim        Amount requested                  Interest
Flash Memory - Entities that purchased final flash products driectly from
SanDisk, or from its controlled and licensed joint venture with Toshiba
Corp., while residing in U.S.                                               Class Action Suit                          Unknown                    Unknown
Foreign Exchange Antitrust Litigation - FX-Instrument / FX Exchange
Traded Instrument                                                           Class Action Suit                          Unknown                    Unknown
Impax Laboratories, Inc. - Unsolicited Faxes Class Action - Impax
Laboratories was sending unsolicited faxes for advertising purposes,
without prior consent or business relationship. This violates the
Telephone Consumer Protection Act.                                          Class Action Suit                          Unknown                    Unknown

In re Celebrex Antitrust Litigation

14 CV 00361; 00396
E.D. VA

Claims administrator:
Thomas Sobol
HAGENS BERMAN SOBOL SHAPIRO LLP
55 Cambridge Parkway Suite 301
Cambridge, MA 02142
1-617-482-3700
Fully Executed Assignments / McKesson Claims Review re: Celebrex            Class Action Suit                          Unknown                    Unknown

In Re Niaspan Antitrust Litigation
13 MD 02460 E.D. PA
Fully Executed Assignments / McKesson Claims Review re: Niaspan             Class Action Suit                          Unknown                    Unknown

In re Opana ER Antitrust Litigation
ND Illinois
1:14-cv-10150
Fully Executed Assignments / McKesson Claims Review re: Opana ER            Class Action Suit                          Unknown                    Unknown



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                                                                                                                                  Current Value of Debtor's
                       Description of Cause of Action                           Nature of Claim         Amount requested                  Interest

In re Solodyn Antitrust Litigation -
13 CV 12225 D. Mass.
info@SolodynCase.com

Thomas Sobol
HAGENS BERMAN SOBOL SHAPIRO LLP
55 Cambridge Parkway Suite 301
Cambridge, MA 02142

Edward Notargiacomo <EdwardNotargiacomo@hbsslaw.com>
 Fully Executed Assignments / McKesson Claims Review re: Solodyn            Class Action Suit                           Unknown                    Unknown
In Re: Actos Direct Purchaser Antitrust Litigation
Southern District of New York
1:15-cv-03278-RA-RLE
Fully Executed Assignments / McKesson Claims Review re: Actos               Class Action Suit                           Unknown                    Unknown

ISDA Fix Instruments - Entities who entered into or made payments on,
terminated, transacted in, or held an ISDA fix instrument             Class Action Suit                                 Unknown                    Unknown
JM Smith Corp v. Actavis
15-cv-7488 SDNY - Fully Executed Assignments / McKesson Claims Review
re: Namenda – Alzheimer’s drug                                        Class Action Suit                                 Unknown                    Unknown
Lamictal Antitrust Litigation
12 CV 995 NJ
3rd Circuit Court of Appeals
14-1243
Fully Executed Assignments / McKesson Claims Review re: Lamictal
(Tablets and Chewables)                                               Class Action Suit                                 Unknown                    Unknown

Libor-Based Financial Instruments Antitrust Litigation - 1. Eurodollar
futures or options 2. U.S. Dollar Libor-based instrument in U.S.            Class Action Suit                           Unknown                    Unknown



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                                                                                                                                 Current Value of Debtor's
                      Description of Cause of Action                            Nature of Claim        Amount requested                  Interest
Lidoderm (100.199) - Consumers and third party payors are alleging that
Endo and Teikoku unlawfully paid Watson, as part of a settlement of
patent infringement litigation, to delay the launch of a generic Lidoderm
product.                                                                    Class Action Suit                          Unknown                    Unknown

Lidoderm Antitrust Litigation
3:14-md-02521 N.D. CA
By Phone at 1-866-742-4955
By Email at: By Mail at: info@rg2claims.com
Lidoderm Direct Purchaser Antitrust Settlement
PO Box 59479
Philadelphia, PA 19102-9479
Lidodermantitrustdppsettlement.com
Fully Executed Assignments / McKesson Claims Review re: Lidoderm            Class Action Suit                          Unknown                    Unknown
Lipitor Antitrust Litigation
MDL Docket No. 2332 D.NJ
14-4202 3rd Cir.
Fully Executed Assignments / McKesson Claims Review re: Lipitor             Class Action Suit                          Unknown                    Unknown

Lithium Ion Batteries Direct Purchaser - Entities that purchased a Lithium
Ion Battery or Lithium Ion Battery Product directly from defendant         Class Action Suit                           Unknown                    Unknown
Lithium Ion Batteries Indirect Purchaser - Entities that purchased a
Lithium Ion Battery or Lithium Ion Battery Product from third party for
own use                                                                    Class Action Suit                           Unknown                    Unknown

Loestrin Antitrust Litigation
13 MD 02472 D.RI
1st Circuit – 14-2071
Fully Executed Assignments / McKesson Claims Review re: Loestrin 24 Fe Class Action Suit                               Unknown                    Unknown

Marion HealthCare, LLC, et al. v. Becton Dickinson, et al.
3:2018cv01059 - Defendants overcharged on syringes and IV catheters.        Class Action Suit                          Unknown                    Unknown


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                                                                                                                                 Current Value of Debtor's
                       Description of Cause of Action                           Nature of Claim        Amount requested                  Interest
McKesson Corporation and Affiliates -- Debtors are investigating
whether they may have causes of action related to pricing issues and
releasing confidential information.                                         Under Investigation                        Unknown                    Unknown
Optical Disk Drive Indirect Purchaser - Purchased ODD Devices such as
desktop, mobile or laptop computers, videogame consoles, CD players/
recorders, DVD players/recorders, and Blu-Ray disc
players/records for personal use from 3rd party                             Class Action Suit                          Unknown                    Unknown
PACER Class Action
National Veterans Legal Services Program, et al. v. United States,
Case No. 1:16-CV-00745-ESH- Nonprofit groups filed this lawsuit against
the U.S. government claiming that it unlawfully charged PACER users
more than necessary to cover the costs of providing public access to
federal court records through PACER.                                        Class Action Suit                          Unknown                    Unknown

Payment Card Interchange Fee-Mastercard/Visa 1:05-md-1720 -
Proposed class of merchants who purchased credit card processing
services directly from defendants, Visa and MasterCard, as well as their
member banks. Plaintiffs allege that defendants fixed the price of
interchange fees charged to merchants.                                      Class Action Suit                          Unknown                    Unknown

Precision Associates Inc., et al. v. Panalpina World Transport (Holding)
Ltd., et al. a/k/a Freight Forwarders Class Action Settlement - Defendant
companies conspired to fix the prices for freight forwarding services.      Class Action Suit                          Unknown                    Unknown

Rochester Drug Co-Operative Inc. v. Shire LLC et al.
Case No. 16-cv-12653-ADB D. Mass.
Fully Executed Assignments / McKesson Claims Review re: Intuniv (ADHD) Class Action Suit                               Unknown                    Unknown

Solodyn (100.197) - Plaintiffs in lawsuit claim that Defendants hurt
competition and violated state laws. Defendants allegedly delayed the
availability of generic versions of Solodyn and therefore caused
consumers and third-party payors to pay too much.                           Class Action Suit                          Unknown                    Unknown


                                                                            6 of 7
                         Case 19-80075-TLS           Doc 9 Filed 02/22/19 Entered 02/22/19 18:08:20                     Desc Main
                                                         In re ShopKo Stores
                                                          Document           Operating
                                                                          Page  165 of Co., LLC
                                                                                         1015
                                                                 Case No. 19-80075 (TLS)
                                         Schedule A/B: Part 11, Question 74 - Causes of action against third parties

                                                                                                                                 Current Value of Debtor's
                       Description of Cause of Action                          Nature of Claim         Amount requested                  Interest
Suboxone Antitrust Litigation
13 MD 2445 E.D. PA
Fully Executed Assignments / McKesson Claims Review re: Suboxone
(Tablets and Film Strips)                                                  Class Action Suit                           Unknown                    Unknown
Transpacific Passenger Air Transportation Antitrust Litigation - Airline
tickets purchased through certain airlines                                 Class Action Suit                           Unknown                    Unknown
United Healthcare Services Inc. v. Cephalon Inc. et al.
17-cv-00555 E.D. PA
2:17-cv-00555 - Fully Executed Assignments / McKesson Claims Review
re: Provigil                                                               Class Action Suit                           Unknown                    Unknown
Urethane Direct Purchaser Antitrust Class Action - Polyether Polyol
Products: foam used in furniture, bedding, car seats, etc                  Class Action Suit                           Unknown                   Unknown
                                                                                            TOTAL:                     Unknown                   Unknown




                                                                           7 of 7
                       Case 19-80075-TLS          Doc 9 Filed 02/22/19 Entered 02/22/19 18:08:20                 Desc Main
                                                      In re ShopKo Stores
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                                                                                    1015LLC
                                                              Case No. 19-80075 (TLS)
                          Schedule A/B: Part 11, Question 75 - Other contingent and unliquidated claims or causes of action
                                                                                                                        Current Value of Debtor's
       Description of Contingent and Unliquidated Claims                    Nature of Claim           Amount requested          Interest
Ashley Pflager                                                   Litigation/Pharmacy                          Concluded                     None
Bath & Body Works - Trademark/Patent Litigation                  Trademark/Patent Litigation                   Unknown                  Unknown
                                                                 Professional
Bernard Crisman - Professional Liability/Pharmacy/GL             Liability/Pharmacy/GL                          Unknown                 Unknown
Carol Kraft - General Liability                                  General Liability                              Unknown                 Unknown
Carol Lee Dallager - General Liability                           General Liability                              Unknown                 Unknown
Christine Buck - General Liability                               General Liability                              Unknown                 Unknown
Cynthia Cole - General Liability                                 General Liability                              Unknown                 Unknown
Darlene Bekius - General Liability                               General Liability                              Unknown                 Unknown
David Krist                                                      Litigation                                    Concluded                   None
Dawn Baird - General Liability                                   General Liability                              Unknown                 Unknown
Denise Tuttle - Litigation/GL                                    Litigation/GL                                  Unknown                 Unknown
Earl Gaudio & Son, Inc. - Merchandising                          Merchandising                                  Unknown                 Unknown
Elizabeth Ramirez - General Liability                            General Liability                              Unknown                 Unknown
EMC Insurance Companies - Miscellaneous                          Miscellaneous                                  Unknown                 Unknown
Galen Rowell - Trademark/Patent Litigation                       Trademark/Patent Litigation                    Unknown                 Unknown
Global Intellectual Property Services
"Deere & Company" - Trademark/Patent Litigation                  Trademark/Patent Litigation                    Unknown                 Unknown
Horizon Group USA, Inc. - Trademark/Patent Litigation            Trademark/Patent Litigation                    Unknown                 Unknown
IDL Worldwide - Merchandising                                    Merchandising                                  Unknown                 Unknown
J.S. International - Merchandising                               Merchandising                                  Unknown                 Unknown
Jonelle Perhus - General Liability                               General Liability                              Unknown                 Unknown
                                                                 Professional
Kathleen Mancinelli - Professional Liability/Pharmacy/GL         Liability/Pharmacy/GL                          Unknown                 Unknown
Kinzie Hager - Health Services/GL                                Health Services/GL                             Unknown                 Unknown

Kirra Sumner - EEOC Claims/Admin./Demands                        EEOC Claims/Admin./Demands                     Unknown                 Unknown
Lila Johnson - General Liability                                 General Liability                              Unknown                 Unknown
                                                                 Professional
Marc Sundermeier - Professional Liability/Pharmacy/GL            Liability/Pharmacy/GL                          Unknown                 Unknown
Misty Cabello - General Liability                                General Liability                              Unknown                 Unknown
Neale Johnson - Health Services/GL                               Health Services/GL                             Unknown                 Unknown


                                                                       1 of 2
                      Case 19-80075-TLS         Doc 9 Filed 02/22/19 Entered 02/22/19 18:08:20                  Desc Main
                                                    In re ShopKo Stores
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                                                                                  1015LLC
                                                             Case No. 19-80075 (TLS)
                         Schedule A/B: Part 11, Question 75 - Other contingent and unliquidated claims or causes of action
                                                                                                                             Current Value of Debtor's
       Description of Contingent and Unliquidated Claims                  Nature of Claim            Amount requested                Interest
Nebraska Department of Environmental Quality - Real
Estate/Construction                                             Real Estate/Construction                       Unknown                       Unknown
                                                                Professional
Ryan Comstock - Professional Liability/Pharmacy/GL              Liability/Pharmacy/GL                          Unknown                      Unknown
Sally Jentges - General Liability                               General Liability                              Unknown                      Unknown
Stephen Danahy - General Liability                              General Liability                              Unknown                      Unknown
                                                                                            TOTAL:             Unknown                      Unknown




                                                                      2 of 2
             Case 19-80075-TLS                        Doc 9 Filed 02/22/19 Entered 02/22/19 18:08:20                                        Desc Main
                                                           Document    Page 168 of 1015
 )LOOLQWKLVLQIRUPDWLRQWRLGHQWLI\WKHFDVH

 'HEWRUQDPH          6KRS.R6WRUHV2SHUDWLQJ&R//&

 8QLWHG6WDWHV%DQNUXSWF\&RXUWIRUWKH            ',675,&72)1(%5$6.$

 &DVHQXPEHULINQRZQ              
                                                                                                                                           &KHFNLIWKLVLVDQ
                                                                                                                                            DPHQGHGILOLQJ

2IILFLDO)RUP'
6FKHGXOH'&UHGLWRUV:KR+DYH&ODLPV6HFXUHGE\3URSHUW\                                                                                                   
%HDVFRPSOHWHDQGDFFXUDWHDVSRVVLEOH
'RDQ\FUHGLWRUVKDYHFODLPVVHFXUHGE\GHEWRU
VSURSHUW\"
       1R&KHFNWKLVER[DQGVXEPLWSDJHRIWKLVIRUPWRWKHFRXUWZLWKGHEWRU
VRWKHUVFKHGXOHV'HEWRUKDVQRWKLQJHOVHWRUHSRUWRQWKLVIRUP
        <HV)LOOLQDOORIWKHLQIRUPDWLRQEHORZ
 3DUW      /LVW&UHGLWRUV:KR+DYH6HFXUHG&ODLPV
                                                                                                                  Column A                    Column B
 /LVWLQDOSKDEHWLFDORUGHUDOOFUHGLWRUVZKRKDYHVHFXUHGFODLPV,IDFUHGLWRUKDVPRUHWKDQRQHVHFXUHG
 FODLPOLVWWKHFUHGLWRUVHSDUDWHO\IRUHDFKFODLP                                                              $PRXQWRIFODLP             9DOXHRIFROODWHUDO
                                                                                                                                              WKDWVXSSRUWVWKLV
                                                                                                                  'RQRWGHGXFWWKHYDOXH     FODLP
                                                                                                                  RIFROODWHUDO
     6HH$WWDFKHG6FKHGXOH'                       'HVFULEHGHEWRU
VSURSHUW\WKDWLVVXEMHFWWRDOLHQ                             8QNQRZQ
        &UHGLWRU
V1DPH




        &UHGLWRU
VPDLOLQJDGGUHVV                    'HVFULEHWKHOLHQ

                                                      ,VWKHFUHGLWRUDQLQVLGHURUUHODWHGSDUW\"

                                                     
                                                      1R
        &UHGLWRU
VHPDLODGGUHVVLINQRZQ           <HV
                                                      ,VDQ\RQHHOVHOLDEOHRQWKLVFODLP"
        'DWHGHEWZDVLQFXUUHG                        1R
                                                     <HV)LOORXWSchedule H: Codebtors2IILFLDO)RUP+
                                                     
        /DVWGLJLWVRIDFFRXQWQXPEHU

        'RPXOWLSOHFUHGLWRUVKDYHDQ                 $VRIWKHSHWLWLRQILOLQJGDWHWKHFODLPLV
        LQWHUHVWLQWKHVDPHSURSHUW\"                &KHFNDOOWKDWDSSO\
        1R                                          &RQWLQJHQW
        <HV6SHFLI\HDFKFUHGLWRU                 8QOLTXLGDWHG
        LQFOXGLQJWKLVFUHGLWRUDQGLWVUHODWLYH      'LVSXWHG
        SULRULW\




       7RWDORIWKHGROODUDPRXQWVIURP3DUW&ROXPQ$LQFOXGLQJWKHDPRXQWVIURPWKH$GGLWLRQDO3DJHLIDQ\      
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 3DUW     /LVW2WKHUVWR%H1RWLILHGIRUD'HEW$OUHDG\/LVWHGLQ3DUW
 /LVWLQDOSKDEHWLFDORUGHUDQ\RWKHUVZKRPXVWEHQRWLILHGIRUDGHEWDOUHDG\OLVWHGLQ3DUW([DPSOHVRIHQWLWLHVWKDWPD\EHOLVWHGDUHFROOHFWLRQDJHQFLHV
 DVVLJQHHVRIFODLPVOLVWHGDERYHDQGDWWRUQH\VIRUVHFXUHGFUHGLWRUV

 ,IQRRWKHUVQHHGWRQRWLILHGIRUWKHGHEWVOLVWHGLQ3DUWGRQRWILOORXWRUVXEPLWWKLVSDJH,IDGGLWLRQDOSDJHVDUHQHHGHGFRS\WKLVSDJH
         1DPHDQGDGGUHVV                                                                                    2QZKLFKOLQHLQ3DUWGLG        /DVWGLJLWVRI
                                                                                                              \RXHQWHUWKHUHODWHGFUHGLWRU"    DFFRXQWQXPEHUIRU
                                                                                                                                                 WKLVHQWLW\




2IILFLDO)RUP'                                 6FKHGXOH'&UHGLWRUV:KR+DYH&ODLPV6HFXUHGE\3URSHUW\                                               SDJH RI
6RIWZDUH&RS\ULJKWF%HVW&DVH//&ZZZEHVWFDVHFRP                                                                                   %HVW&DVH%DQNUXSWF\
                                  Case 19-80075-TLS                        Doc 9 Filed    02/22/19
                                                                                    In re ShopKo              Entered
                                                                                                 Stores Operating Co., LLC 02/22/19 18:08:20                                                            Desc Main
                                                                                DocumentCase No. Page         169 of 1015
                                                                                                    19-80075 (TLS)
                                                                              Schedule D: Part 1 - Creditors Who Have Claims Secured by Property




                                                                                                                                       Insider or Related Party?
                                                                                                                                                                              Date Debt was Incurred,




                                                                                                                                                                                                                     Unliquidated
                                                                                                                                                                              Description of Debtor's                                           Amount of Claim




                                                                                                                                                                                                        Contingent
                                                                                                                                                                   CoDebtor




                                                                                                                                                                                                                                    Disputed
                                                                                                                                                                              Property Subject to the                                          (Do not deduct the Value of Collateral
                                                                                                                                                                               Lien and the Nature of                                             value of the    that Supports this
         Creditor Name                 Address1                 Address2             City   State       Zip      Description                                                            Lien                                                       collateral)          Claim
                               Attn: Special Handling                                                          Master Lease
IBM Credit LLC                 Group                     7100 Highlands Pkwy         Smyrna GA      30082-4859 001368083G             No Yes                                                4/16/2014                                               $6,937,640.00           Unknown
                                                         One Boston Place,
Wells Fargo Bank, National     Attn: Portfolio Manager - Suite 1800 /                Boston MA      02108                                                                                    2/7/2012
Association and                Shopko                    227 North Harwood St, Suite                              Revolving and                                                                     &
Spirit Realty L.P. as Agents                             300                         Dallas TX      75201         Term Loan Debt      No Yes                                                1/16/2018                                            $401,467,122.50            Unknown
                                                                                                                                                                                               TOTAL:                                            $408,404,762.50            Unknown




                                                                                                              1 of 1
             Case 19-80075-TLS                        Doc 9 Filed 02/22/19 Entered 02/22/19 18:08:20                                              Desc Main
                                                           Document    Page 170 of 1015
 )LOOLQWKLVLQIRUPDWLRQWRLGHQWLI\WKHFDVH

 Debtor name         6KRS.R6WRUHV2SHUDWLQJ&R//&

 United States Bankruptcy Court for the:            DISTRICT OF NEBRASKA

 Case number (if known)          
                                                                                                                                                 Check if this is an
                                                                                                                                                  amended filing


Official Form 206E/F
6FKHGXOH()&UHGLWRUV:KR+DYH8QVHFXUHG&ODLPV                                                                                                                  
%HDVFRPSOHWHDQGDFFXUDWHDVSRVVLEOH8VH3DUWIRUFUHGLWRUVZLWK35,25,7<XQVHFXUHGFODLPVDQG3DUWIRUFUHGLWRUVZLWK12135,25,7<XQVHFXUHGFODLPV
/LVWWKHRWKHUSDUW\WRDQ\H[HFXWRU\FRQWUDFWVRUXQH[SLUHGOHDVHVWKDWFRXOGUHVXOWLQDFODLP$OVROLVWH[HFXWRU\FRQWUDFWVRQSchedule A/B: Assets - Real and
Personal Property2IILFLDO)RUP$%DQGRQSchedule G: Executory Contracts and Unexpired Leases2IILFLDO)RUP*1XPEHUWKHHQWULHVLQ3DUWVDQG
LQWKHER[HVRQWKHOHIW,IPRUHVSDFHLVQHHGHGIRU3DUWRU3DUWILOORXWDQGDWWDFKWKH$GGLWLRQDO3DJHRIWKDW3DUWLQFOXGHGLQWKLVIRUP

 3DUW      /LVW$OO&UHGLWRUVZLWK35,25,7<8QVHFXUHG&ODLPV

        'RDQ\FUHGLWRUVKDYHSULRULW\XQVHFXUHGFODLPV"(See 11 U.S.C. § 507)

           No. Go to Part 2.
           Yes. Go to line 2.
        /LVWLQDOSKDEHWLFDORUGHUDOOFUHGLWRUVZKRKDYHXQVHFXUHGFODLPVWKDWDUHHQWLWOHGWRSULRULW\LQZKROHRULQSDUW If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                    7RWDOFODLP           3ULRULW\DPRXQW

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                
           ,GDKR7D[&RPPLVVLRQ                                      Check all that apply.
           32%R[                                                 
                                                                      Contingent
           3DUN%OYG3OD]D,9                                   
                                                                      Unliquidated
           %RLVH,'                                       Disputed
           Date or dates debt was incurred                           Basis for the claim:
                                                            7D[GXHRQFRQVWUXFWLRQFRQWUDFW

           Last 4 digits of account number                       Is the claim subject to offset?

           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                  
           0DXUHHQ6FKPLGW                                           Check all that apply.
           3LOJULP:D\                                           
                                                                      Contingent
           *UHHQ%D\:,                                       
                                                                      Unliquidated
                                                                     
                                                                      Disputed
           Date or dates debt was incurred                           Basis for the claim:
           9DULRXV                                                   9DULRXV

           Last 4 digits of account number                       Is the claim subject to offset?

           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (5)
                                                                      Yes


 3DUW      /LVW$OO&UHGLWRUVZLWK 12135,25,7<8QVHFXUHG&ODLPV
        /LVWLQDOSKDEHWLFDORUGHUDOORIWKHFUHGLWRUVZLWKQRQSULRULW\XQVHFXUHGFODLPV. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      $PRXQWRIFODLP




Official Form 206E/F                                          6FKHGXOH()&UHGLWRUV:KR+DYH8QVHFXUHG&ODLPV                                                    page 1 of 2
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            Case 19-80075-TLS                         Doc 9 Filed 02/22/19 Entered 02/22/19 18:08:20                                               Desc Main
                                                           Document    Page 171 of 1015
 Debtor       6KRS.R6WRUHV2SHUDWLQJ&R//&                                                        Case number (if known)            
              Name

 3.1       1RQSULRULW\FUHGLWRU
VQDPHDQGPDLOLQJDGGUHVV                   $VRIWKHSHWLWLRQILOLQJGDWHWKHFODLPLV Check all that apply.       
           6HH$WWDFKHG6FKHGXOH()3DUW                                   Contingent
                                                                              Unliquidated
           'DWHVGHEWZDVLQFXUUHG                                         Disputed
           /DVWGLJLWVRIDFFRXQWQXPEHU                                  %DVLVIRUWKHFODLP

                                                                             Is the claim subject to offset?    No  Yes

 3DUW      /LVW2WKHUVWR%H1RWLILHG$ERXW8QVHFXUHG&ODLPV

/LVWLQDOSKDEHWLFDORUGHUDQ\RWKHUVZKRPXVWEHQRWLILHGIRUFODLPVOLVWHGLQ3DUWVDQGExamples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   ,IQRRWKHUVQHHGWREHQRWLILHGIRUWKHGHEWVOLVWHGLQ3DUWVDQGGRQRWILOORXWRUVXEPLWWKLVSDJH,IDGGLWLRQDOSDJHVDUHQHHGHGFRS\WKHQH[WSDJH

           1DPHDQGPDLOLQJDGGUHVV                                                                   2QZKLFKOLQHLQ3DUWRU3DUWLVWKH        /DVWGLJLWVRI
                                                                                                      UHODWHGFUHGLWRULIDQ\OLVWHG"              DFFRXQWQXPEHULI
                                                                                                                                                     DQ\

 3DUW      7RWDO$PRXQWVRIWKH3ULRULW\DQG1RQSULRULW\8QVHFXUHG&ODLPV

$GGWKHDPRXQWVRISULRULW\DQGQRQSULRULW\XQVHFXUHGFODLPV
                                                                                                                        7RWDORIFODLPDPRXQWV
 D7RWDOFODLPVIURP3DUW                                                                            5a.        $                     
 E7RWDOFODLPVIURP3DUW                                                                            5b.       $                 

 F7RWDORI3DUWVDQG
     Lines 5a + 5b = 5c.                                                                                 5c.        $                    




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                                  Case 19-80075-TLS                         Doc 9 FiledIn re02/22/19ShopKo Stores OperatingEntered
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                                                                                                                19-80075 (TLS)        of  1015
                                                                                 Schedule E/F: Part 2 - Creditors With Nonpriority Unsecured Claims




                                                                                                                                                                                                                                              Claim subject to offset?
                                                                                                                                                                                                                    Unliquidated
                                                                                                                                                                                                       Contingent


                                                                                                                                                                                                                                   Disputed
                                                                                                                                                              Last 4 Digits of     Date Debt was
                                                                                                                                                                 Account         Incurred, Basis for
             Creditor Name                       Address1               Address2         Address3             City            State           Zip   Country      Number                Claim                                                                             Total Claim
                                      9191 TOWNE CENTRE DRIVE
1ST AVENUE SELF STORAGE LLC           SUITE 180                                                       SAN DIEGO          CA           92122                   0773               Various                                                                                        $11,750.00
2585 LINEVILLE GREEN BAY LLC          25 GLEN COVE AVE                                                GLEN COVE          NY           11542                   6555               Various                                                                                         $8,444.97
2J INVESTMENT GROUP LLC               763 2ND STREET SUITE 100                                        ENCINITAS          CA           92024                   4886               Various                                                                                         $8,856.05
4 CZECHS LLC                          117 FAIRWAY COURT                                               BISMARK            ND           58501                   8804               Various                                                                                         $7,054.00
4G FUTURES                            PO BOX 2845                                                     DUBLIN             CA           94568-0845                                 Various                                                                                          $540.00
4KLIFT                                PO BOX 3239                                                     WENATCHEE          WA           98807                                      Various                                                                                          $728.33
5 GS CORPORATION                      10561 WEST HIGHWAY 140                                          ATWATER            CA           95301                   3017               Various                                                                                        $12,375.00
                                      A SUBSIDIARY OF THREE EAST    6 WEST 18TH
905 SOUTH 24TH STREET WEST OWN        THIRD CORP                    STREET UNIT 2D                    NEW YORK           NY           10011                   2765               Various                                                                                        $32,480.64
A ALVARADO HERNANDEZ                  PO BOX 73                                                       DUBOIS             ID           83423                   6004               Various                                                                                          $396.00
A G OBRIEN PLUMBING & HEATING         4907 LIGHTNING DR                                               HERMANTOWN         MN           55811                                      12/26/2018                                                                                       $113.00
A ONE STORAGE & CRANE SERVICE         2482 197TH AVENUE                                               MANCHESTER         IA           52057                   2772               Various                                                                                            $94.24
A P EQUIPMENT INCORPORATED            2147 W MAIN                                                     VALLEY CITY        ND           58072                   0118               Various                                                                                          $750.00
A TO Z WORLD LANGUAGES INCORPO        PO BOX 971                                                      SIOUX FALLS        SD           57101                   5439               Various                                                                                          $625.68

A UNITED AUTOMATIC DOORS & GLASS, INC. 1410 N. SADDLE CREEK ROAD                                      OMAHA              NE           68132                                      Various                                                                                         $9,314.81
A. COLLEEN WISE                        516 MAPLE DR                                                   KALISPELL          MT           59901                   6002               Various                                                                                             $2.88
                                       103 W COLLEGE AVENUE SUITE
A2Z DESIGN LLC                         905                                                            APPLETON           WI           54911                   4486               Various                                                                                        $27,754.13
AA FASHIONS INC                        2741 S ALAMEDA ST                                              LOS ANGELES        CA           90058                   4577               Various                                                                                          $385.20
AAA PHARMACEUTICAL INCORPORATE         681 MAIN STREET                                                LUMBERTON          NJ           08048                   5326               Various                                                                                        $84,712.53
AAA PLUMBING                           1401 OREGON ST                                                 RAPID CITY         SD           57701                                      10/4/2018                                                                                        $322.69
AADAM HENDRICKS                        810 THIRD STREET                                               GREEN BAY          WI           54304                   6004               Various                                                                                             $3.00
AALIYAH BRIAN                          41744 ROAD 764                                                 WILLOW ISLAND      NE           69171                   6002               Various                                                                                             $4.60
AALIYAH MOSS                           1518 BRYNWOOD DR                                               MADISON            WI           53716                   6004               Various                                                                                            $20.00
AALIYAH PERNELL                        245 BEACH ST.                                                  BELOIT             WI           53511                   6004               Various                                                                                             $2.00
AALIYAH PRESCOTT                       5714 33 AVE                                                    KENOSHA            WI           53144                   6004               Various                                                                                            $20.00

AARCO                                 4788 WEST GARDEN VISTA COVE                                     WEST VALLEY        UT           84120                                      Various                                                                                         $1,611.75
AARON A DOELGER                       2807 FENMORE LN                                                 GREEN BAY          WI           54313                   6002               Various                                                                                             $1.62
AARON ADEL                            12386 IRMA AVE                                                  BLAIR              NE           68008                   6004               Various                                                                                            $20.00
AARON ALEXANDER                       1200 CENTENNIAL PARKWAY                                         WAUNAKEE           WI           53597                   6004               Various                                                                                             $5.70
AARON ANKNEY                          919 E. HAWK ST                                                  MERIDIAN           ID           83646                   6004               Various                                                                                            $99.98
AARON ASH                             919 ROLLING MEADOW DRIVE                                        LITTLE CHUTE       WI           54140                   6004               Various                                                                                             $3.27
AARON B BRAATEN                       38188 CASSELBERRY DR                                            NORTH BRANCH       MN           55056                   6002               Various                                                                                             $7.89
AARON BARNETT                         3002 JELINEK AVE                                                SCHOFIELD          WI           54476                   6002               Various                                                                                             $6.19
AARON BARRETT                         600 4TH ST UMM # 1033                                           MORRIS             MN           56267                   6002               Various                                                                                            $10.00
AARON BARTH                           3928 N 29TH ST                                                  SHEBOYGAN          WI           53083                   6004               Various                                                                                            $25.00
AARON BASLER                          1317 INVERNESS LN                                               NEENAH             WI           54956                   6002               Various                                                                                             $8.14
AARON BELKNAP                         1860 118TH ST                                                   CHIPPEWA FALLS     WI           54729                   6002               Various                                                                                             $6.00
AARON BELL                            522 FAIRWEATHER ST                                              WOLF POINT         MT           59201                   6002               Various                                                                                             $4.41

AARON BRAINARD                        831 WILLIAMS STREET                                             WISCONSIN RAPIDS   WI           54494                   6004               Various                                                                                                $3.00
AARON BROEGE                          206 NORTH MERNITZ AVE                                           FREEPORT           IL           61032                   6004               Various                                                                                               $15.00
AARON BUCHBERGER                      2019 MAYFLOWER ST                                               KAUKAUNA           WI           54130                   6004               Various                                                                                               $19.00
AARON BURNHAM HOEFT                   804 8TH AVE SE                                                  ROCHESTER          MN           55904                   6004               Various                                                                                                $3.00
AARON C AYALA                         320 CDA LAKE DR                                                 COEUR D ALENE      ID           83814                   6002               Various                                                                                                $8.58
AARON CAMPBELL                        P.O. BOX 995                                                    IDAHO CITY         ID           83631                   6004               Various                                                                                                $3.65
AARON COLE                            1575 MAIN ST N                                                  PINE CITY          MN           55063                   6004               Various                                                                                               $15.80
AARON CONN                            565 3RD AVE SW                                                  HUTCHINSON         MN           55350                   6002               Various                                                                                                $8.88
AARON COUDEYRAS                       420 NORTH 18TH STREET                                           BEATRICE           NE           68310                   6004               Various                                                                                                $4.00
AARON DAMYEN                          1420 N MCCARTHY RD APT 2                                        APPLETON           WI           54913                   6002               Various                                                                                                $3.26
AARON DAYLEY                          257 W 1600 N                                                    HARRISVILLE        UT           84404                   6004               Various                                                                                               $29.00




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                                                                                                                                                                                                    Unliquidated
                                                                                                                                                                                       Contingent


                                                                                                                                                                                                                   Disputed
                                                                                                                                              Last 4 Digits of     Date Debt was
                                                                                                                                                 Account         Incurred, Basis for
             Creditor Name                 Address1        Address2         Address3             City          State           Zip   Country     Number                Claim                                                                             Total Claim
AARON ESPEY                   2607 VINE AVE                                              HARTLEY            IA         51346                 6002                Various                                                                                                $4.00
AARON FAMILY                  2122 22ND AVE                                              KENOSHA            WI         53140                 6002                Various                                                                                                $5.92
AARON FISHER                  2137 WOOD ST                                               LA CROSSE          WI         54603                 6002                Various                                                                                                $2.14
AARON FONTAINE                1320 SOUTH COLORADO                                        BOISE              ID         83706                 6004                Various                                                                                                $3.00
AARON FREDRICKSON             721 W AVE                                                  ZUMBROTA           MN         55992                 6002                Various                                                                                                $3.18
AARON FRYDRYCH                527 ALEXANDER AVE        APT 1                             REEDSBURG          WI         53959                 6004                Various                                                                                                $2.00
AARON GEIWITZ                 2501 THOMAS CT                                             ONALASKA           WI         54650                 6002                Various                                                                                                $7.10
AARON GILPIN                  16 REDROCK STAGE RD                                        SALMON             ID         83467                 6002                Various                                                                                                $7.01
AARON GONZALEZ                112 WALLACE AVE                                            NORTH SIOUX CIT    SD         57049                 6002                Various                                                                                                $4.49
AARON GOVE                    809 WEST STREET                                            STOUGHTON          WI         53589                 6004                Various                                                                                               $10.00
AARON GREEN                   138 S. LEE ST                                              APPLETON           WI         54915                 6004                Various                                                                                               $22.50
AARON GREER                   3518 7TH STREET                                            LEWISTON           ID         83501                 6004                Various                                                                                                $6.18
AARON H WITTKOWSKE            917 W 6TH AVE                                              OSHKOSH            WI         54902                 6002                Various                                                                                                $0.47
AARON HADDON                  7841 HOYOKE LOOP                                           COEUR D ALENE      ID         83815                 6004                Various                                                                                               $25.00
AARON HAGGERTY                5011 US HWY 16                                             NEWCASTLE          WY         82701                 6002                Various                                                                                                $2.41
AARON HICKS                   1802 AXEL AVE APT 4                                        MADISON            WI         53711                 6004                Various                                                                                                $3.00
AARON J HYING                 4537 PARKWOOD DR                                           MILTON             WI         53563                 6002                Various                                                                                                $3.75
AARON JOHNSON                 7554 386TH ST.                                             NORTH BRANCH       MN         55056                 6004                Various                                                                                                $1.60
AARON JONES                   4091 FOREST LANE                                           RHINELANDER        WI         54501                 6004                Various                                                                                                $7.22
AARON JORDAN                  629 CEMETARY RD #2                                         RIVER FALLS        WI         54022                 6004                Various                                                                                                $2.00
AARON JOSEPH HEIDEN           706 WERNER ST                                              WATERTOWN          WI         53098                 6002                Various                                                                                                $2.19
AARON JOSEPH LOEW             218 W CEDAR ST                                             PULASKI            WI         54162                 6002                Various                                                                                                $7.29
AARON KING                    266 E. FOLLETT ST                                          FOND DU LAC        WI         54935                 6004                Various                                                                                               $12.01

AARON LINDGREN                3010 GENEVA COURT                                          WISCONSIN RAPIDS   WI         54494                  6004               Various                                                                                                $1.00
AARON LOLLAR                  1718 E. LINCOLN RD                                         SPOKANE            WA         99217                  6004               Various                                                                                               $25.00
AARON LOSING                  PO BOX 7754                                                KALISPELL          MT         59904                  6002               Various                                                                                                $6.49
AARON MAGNUSSON               34154 330TH AVE                                            ROSEAU             MN         56751                  6002               Various                                                                                                $8.22
AARON MARTI                   1018 BURCH HAVEN CRL                                       MONONA             WI         53716                  6004               Various                                                                                               $20.00
AARON MARTIN                  1155 LEXINGTON WAY                                         WATERLOO           WI         53594                  6004               Various                                                                                               $21.00
AARON MATTICKS                10261 BLUEBERRY ROAD                                       MILLADORE          WI         54454                  6004               Various                                                                                               $12.00
AARON MESSENGER               6754 COUNTY ROAD S                                         LITTLE SUAMICO     WI         54141                  6004               Various                                                                                               $25.00
AARON NELSON                  PO BOX 182                                                 KALISPELL          MT         59903                  6002               Various                                                                                                $3.15
AARON ORTIZ RUIZ              5015 SOUTH 49TH STREET                                     OMAHA              NE         68117                  6004               Various                                                                                                $4.00
AARON PACHECO                 645 S 300 E                                                BRIGHAM CITY       UT         84302                  6004               Various                                                                                               $24.00
AARON PETERSON                6974 MOWERY AVE SW                                         HOWARD LAKE        MN         55349                  6002               Various                                                                                                $9.81
AARON PLUMMER                 218 DOUGLAS DR                                             BELLEVUE           NE         68005                  6002               Various                                                                                                $5.56
AARON POPPEN                  1423 HILLCREST AVE                                         WORTHINGTON        MN         56187                  6002               Various                                                                                                $9.59
AARON POTTER                  3130 BENNETT CT                                            OSHKOSH            WI         54904                  6004               Various                                                                                               $32.12
AARON REICHERT                1409 GOLD COAST RD #96                                     PAPILLION          NE         68046                  6004               Various                                                                                                $5.98
AARON REMBISZ                 843 W AVON ST                                              FREEPORT           IL         61032                  6002               Various                                                                                                $4.55
AARON RITENOUR                804 NORTH JEFFERSON                                        MOUNT CARROLL      IL         61053                  6004               Various                                                                                               $10.97
AARON ROBBINS                 33 N SPRUCE ST                                             LANSE              MI         49946                  6002               Various                                                                                                $8.08
AARON SAVELA                  138 FRONT ST                                               LAKE LINDEN        MI         49945                  6002               Various                                                                                                $9.29
AARON SCHMIERER               1734 ARCADIA DRIVE                                         BILLINGS           MT         59102                  6004               Various                                                                                                $5.03
AARON SCHMITT                 5875 WOODLAND DR                                           WAUNAKEE           WI         53597                  6004               Various                                                                                               $23.00
AARON SHANNON                 4077 BLUEBIRD DR                                           STEVENS POINT      WI         54482                  6002               Various                                                                                                $8.63
AARON SIGSWORTH               699 N 5TH ST.                                              NEW RICHMOND       WI         54017                  6004               Various                                                                                                $2.00
AARON SORENSEN                165 N MAIN ST                                              ORANGEVILLE        UT         84537                  6002               Various                                                                                                $6.90
AARON STANTON                 302 N UNIVERISTY AVE                                       BEAVERDAM          WI         53916                  6004               Various                                                                                                $3.00

AARON SWIRES                  3011 1ST ST S                                              WISCONSIN RAPIDS   WI         54495                  6004               Various                                                                                                $1.00
AARON T MUELLER               215 S MAIN ST                                              KIMBERLY           WI         54136                  6002               Various                                                                                                $9.81
AARON TULLIS                  931 12TH ST                                                MONROE             WI         53566                  6002               Various                                                                                                $0.77




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                                                                                                                                                                                           Contingent


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                                                                                                                                                     Account         Incurred, Basis for
              Creditor Name                Address1                Address2        Address3             City        State         Zip    Country     Number                Claim                                                                             Total Claim
AARON TURLEY                   36 E COLOMBIA AVE.                                               SALT LAKE CITY   UT         84107                6004                Various                                                                                            $41.00
AARON ULISHNEY                 3030 GRIZZLY TRAIL                                               LAUREL           MT         59044                6004                Various                                                                                             $5.00
AARON VARNEY                   129 W LOCUST ST                                                  BELVIDERE        IL         61008                6004                Various                                                                                             $3.90
AARON VOLBRIGHT                565 ELHERT CT                                                    WHITEWATER       WI         53190                6004                Various                                                                                            $24.00
AARON WAKEFIELD                4219 AUTUMN CT APT C201                                          SHEBOYGAN        WI         53081                6004                Various                                                                                             $6.00
AARON WARD                     536 N WOODRUFF AVE                                               IDAHO FALLS      ID         83401                6002                Various                                                                                             $2.22
AARON WICKHAM                  909 GARFIELD RD S                                                TRAVERSE CITY    MI         49696                6002                Various                                                                                             $4.77
AARON WIEBE                    412 SOLBERG DR                                                   KALISPELL        MT         59901                6002                Various                                                                                             $3.18
AARON ZASTROW                  822 S FRANKLIN ST                                                SHAWANO          WI         54166                6002                Various                                                                                             $7.26
AARONS LAND CARE               PO BOX 396                                                       CLINTON          WI         53525                5706                Various                                                                                            $68.58
AARYN HICKS                    18 WOODRIDGE CT #6                                               MADISON          WI         53704                6004                Various                                                                                             $4.00
AASHEETA PARIKH                3126 MAPLE DR                #207                                LA CROSSE        WI         54601                6004                Various                                                                                             $1.00
ABAKAR IBN-OUMAR               2410 S RIVERROCK DR                                              PAPILLION        NE         68046                6004                Various                                                                                             $3.00
ABARTA COCA COLA BEVERAGE      VICE PRESIDENT OF SALES      200 ALPHA DRIVE                     PITTSBURGH       PA         15238-2906           4036                Various                                                                                           $373.04
ABBEY BUTLER                   W4520 570TH AVE                                                  ELLSWORTH        WI         54011                6002                Various                                                                                             $2.93
ABBEY MISKIMEN                 405 N. MAIN ST.                                                  LODI             WI         53555                6004                Various                                                                                             $1.00
ABBEY PREISER                  301 GAYLEE                                                       ROTHSCHILD       WI         54474                6004                Various                                                                                           $108.00
ABBIE ANDERSON                 1188 SWAN RD                                                     DE PERE          WI         54115                6002                Various                                                                                             $3.40
ABBIE BERGNER                  7245 BITTERN RD NE                                               BEMIDJI          MN         56601                6004                Various                                                                                             $3.00
ABBIE LAVOIE                   7011 HELEN WITT DR APT 806                                       LINCOLN          NE         68512                6004                Various                                                                                            $14.51
ABBIE MARIE KOENIGS            903 MILLER LN                                                    KAUKAUNA         WI         54130                6002                Various                                                                                             $6.74
ABBIGAIL LUSTIG                394 SUBSTATION RD                                                COTTONWOOD       ID         83522                6004                Various                                                                                            $30.00
ABBY BEISNER                   508 E WISCONSIN ST                                               WEYAUWEGA        WI         54983                6002                Various                                                                                             $3.10
ABBY BREWER                    78 SUNNYSIDE ESTATES                                             CLOQUET          MN         55720                6004                Various                                                                                             $1.33
ABBY CODERE                    1668 W. MAIN CIR.            APT 43                              DEPERE           WI         54115                6004                Various                                                                                             $1.08
ABBY DIESTLER                  2408 PINEVIEW LN                                                 JANESVILLE       WI         53546                6004                Various                                                                                             $2.06
ABBY E KESSLER                 1215 WOLF RIVER DR                                               FREMONT          WI         54940                6002                Various                                                                                             $4.63
ABBY EHLERT                    1203 ALBION AVE                                                  FAIRMONT         MN         56031                6004                Various                                                                                             $3.00
ABBY JOHNSON                   2204 CRAIG LN W                                                  ONALASKA         WI         54650                6002                Various                                                                                             $3.29
ABBY MALONEY                   2101 GRANT DRIVE                                                 WATERTOWN        SD         57201                6004                Various                                                                                            $20.00
ABBY PORTNER                   1912 CRESTVIEW DR                                                NEW ULM          MN         56073                6004                Various                                                                                             $3.06
ABBY SERVANTEZ                 300 5TH STREET                                                   RUDD             IA         50471                6004                Various                                                                                            $30.00
ABBY TRUDEAU                   23991 HIGHWAY 37                                                 LETCHER          SD         57359                6002                Various                                                                                             $5.62
ABBY VALLEJO                   107 WOODSIDE LANE                                                NEENAH           WI         54956                6004                Various                                                                                            $54.00
ABBY VAN ALSTINE               2145 DICKENSON RD # 11                                           DE PERE          WI         54115                6002                Various                                                                                             $7.40
ABBYGAILE JADIN                203 JAMES COURT                                                  PULASKI          WI         54162                6004                Various                                                                                            $25.00
ABC DISPOSAL                   113 REYNOLDS PLACE                                               HIAWATHA         IA         52233                                    Various                                                                                           $815.79
ABC MOBILE STORAGE LLC         1806 E OMAHA AVENUE          PO BOX 461                          NORFOLK          NE         68702                 3692               Various                                                                                           $374.52
ABDALE ABDI                    355 2ND AVE. S.              APT. 104                            WAITE PARK       MN         56387                 6004               Various                                                                                             $3.00
ABDALLA YAGOUB                 107 S 38TH ST                                                    OMAHA            NE         68131                 6004               Various                                                                                             $4.00
ABDALLAH ABUSNAINEH            1415 NORTH 22ND STREET                                           LINCOLN          NE         68503                 6004               Various                                                                                             $2.00
ABDIA ISSA                     950 11TH AVE NW                                                  ROCHESTER        MN         55901                 6004               Various                                                                                             $3.00
ABDIKAAMIL MAHAD               3402 22ND ST S #221                                              SAINT CLOUD      MN         56301                 6004               Various                                                                                             $3.00
ABDIRAHMAN ALI                 421 6TH AVE NW 101                                               ROCHESTER        MN         55901                 6004               Various                                                                                             $3.00
ABDIRISAQ H BARRE              1455 MARION RD               APT 204                             ROCHESTER        MN         55904                 6004               Various                                                                                            $22.00
ABDOULAH SAVAGE                1836 W WEILAND LN APT 3                                          APPLETON         WI         54914                 6002               Various                                                                                             $9.48
ABDUL MOHAMMADI                181 W COLBY LN                                                   BOISE            ID         83706                 6002               Various                                                                                             $3.07
ABDULAHI JIMALE                320 31ST ST NE APT 320                                           ROCHESTER        MN         55906                 6004               Various                                                                                             $3.00
ABDULKADIR DHUCUL              423 27TH AVE N                                                   SAINT CLOUD      MN         56303                 6004               Various                                                                                             $3.00
ABDULLAHI ABA OSMAN            403 1 2 MCCLELLAN ST                                             TAMA             IA         52339                 6002               Various                                                                                             $1.66
ABDULLAHI HUSSEIN              509 3RD AVE SW               APT. 19                             ROCHESTER        MN         55902                 6004               Various                                                                                             $6.00
ABDULRAHMAN NAGRO              498 N 600TH W                                                    OREM             UT         84057                 6002               Various                                                                                             $7.84
ABE GAY                        1509 S PROSPECT ST                                               GALLATIN         MO         64640                 6002               Various                                                                                             $8.44
ABEBA ADDIS ADELA              1505 MILLER ST                                                   WORTHINGTON      MN         56187                 6002               Various                                                                                             $6.77




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              Creditor Name                   Address1               Address2         Address3             City        State         Zip    Country     Number                Claim                                                                             Total Claim
ABEBA ADELA                       1505 MILLER AVE                                                  WORTHINGTON      MN         56187                6004                Various                                                                                             $3.00
ABEL ALEXANDER                    501 GREENE AVENUE, APT. 7                                        GREEN BAY        WI         54301                6004                Various                                                                                            $44.00
ABEL GUARDADO                     805 GREELEY AVE N                                                GLENCOE          MN         55336                6002                Various                                                                                             $2.27
ABEL HERNANDEZ                    628 CAROLINE ST                                                  JANESVILLE       WI         53545                6004                Various                                                                                            $25.00
ABEL IRISH                        1918 8 1/2 ST SE                                                 ROCHESTER        MN         55904                6002                Various                                                                                             $6.38
ABEL VALDEZ                       369 CATHERINE ST                                                 WALLA WALLA      WA         99362                6004                Various                                                                                            $41.25
ABELARDO FLORES                   110 EAST 8TH                   PO BOX 121                        FAIRMONT         MN         56031                6004                Various                                                                                             $6.00
ABELARDO VAZQUEZ                  755 N TRATT ST LOT 123                                           WHITEWATER       WI         53190                6002                Various                                                                                             $9.81
ABF FREIGHT SYSTEMS INCORPORAT    PO BOX 10048                                                     FORT SMITH       AR         72917-0048           8033                Various                                                                                        $11,528.32
ABG ACCESSORIES INC DIV ELEGAN    1000 JEFFERSON AVE                                               ELIZABETH        NJ         07201-1307           0713                Various                                                                                          $204.00
ABIGAIL ADAMS                     1473 ANNEX ROAD                                                  JEFFERSON        WI         53549                6004                Various                                                                                             $2.00
ABIGAIL CARLISLE                  44 N HARMON DR                                                   MITCHELL         SD         57301                6002                Various                                                                                             $6.08
ABIGAIL CROTTY                    827 WATER ST                                                     CHIPPEWA FALLS   WI         54729                6004                Various                                                                                            $25.00
ABIGAIL DOWTY                     903 7TH AVE                                                      GRAFTON          WI         53024                6002                Various                                                                                             $7.56
ABIGAIL DUESCHER                  N4215 KILLARNEY LN                                               KAUKAUNA         WI         54130                6002                Various                                                                                             $3.40
ABIGAIL DUSSEAU                   1888 BUCHOLTZ HWY                                                DEERFIELD        MI         49238                6002                Various                                                                                             $4.99
ABIGAIL GARVEY                    1209 DAHLIA LN                                                   GRAFTON          WI         53024                6004                Various                                                                                             $2.60
ABIGAIL HAMBERG                   73007 180TH ST                                                   ALBERT LEA       MN         56007                6002                Various                                                                                             $1.07
ABIGAIL HENDRICKSON               2603 RIVERSIDE LN NE                                             ROCHESTER        MN         55906                6002                Various                                                                                             $3.26
ABIGAIL JOHNSON                   1657 TONYA TRAIL                                                 NEENAH           WI         54956                6004                Various                                                                                             $4.32
ABIGAIL JUNTTILA                  2661 UNION ST                                                    CALUMET          MI         49913                6002                Various                                                                                             $1.23
ABIGAIL LISKA                     2758 1/2 STREET                                                  MONROE           WI         53566                6002                Various                                                                                             $8.47
ABIGAIL MANJARREZ                 211 SEIPPLE BLVD               APT 7                             BEAVER DAM       WI         53916                6004                Various                                                                                             $2.00
ABIGAIL MESERVE                   622 MINNESOTA AVE                                                GLADSTONE        MI         49837                6002                Various                                                                                             $1.89
ABIGAIL MILLER                    320 FOREST PARK BLVD                                             JANESVILLE       WI         53545                6004                Various                                                                                             $1.84
ABIGAIL MUELLER                   1126 SOUTH 17TH                                                  MANITOWOC        WI         54220                6004                Various                                                                                            $30.98
ABIGAIL MUNDT                     6083 RIVERROAD                                                   WAUNAKEE         WI         53597                6004                Various                                                                                            $27.98
ABIGAIL PECORA                    202 JENNIFER LANE                                                FALL RIVER       WI         53932                6004                Various                                                                                            $43.15
ABIGAIL PETERSON                  1061 S 885 E                                                     OGDEN            UT         84404                6004                Various                                                                                            $26.00
ABIGAIL R. INGERSOLL              520 SO MISSISSIPPI ST                                            LACROSSE         WI         54601                6002                Various                                                                                             $6.38
ABIGAIL ROCKWELL                  812 E NORA AVE                                                   SPOKANE          WA         99207                6004                Various                                                                                            $28.01
ABIGAIL SCHERZINGER               1195 W 8680TH S                                                  WEST JORDAN      UT         84088                6002                Various                                                                                             $3.95
ABIGAIL SCHMIDT                   410 HARTWOOD LANE                                                HARTLAND         WI         53029                6004                Various                                                                                             $3.40
ABIGAIL SEE                       1114 WEST CENTER ST                                              ROCHESTER        MN         55902                6004                Various                                                                                             $3.00
ABIGAIL SEYMER                    1821 SUNSET RIDGE DR                                             WEST BEND        WI         53090                6004                Various                                                                                             $4.00
ABIGAIL SHIMANEK                  1361 S VANDENBERG RD                                             GREEN BAY        WI         54311                6002                Various                                                                                             $6.55
ABIGAIL STOLZMAN                  3680 N ONEIDA ST                                                 APPLETON         WI         54911                6002                Various                                                                                             $3.23
ABIGAIL TALKINGTON                6828 NORTH 55TH STREET                                           OMAHA            NE         68152                6004                Various                                                                                             $6.00
ABIGAIL THOMSON                   5937 SCHUMANN DRIVE                                              MADISON          WI         53711                6004                Various                                                                                             $5.03
ABIGAIL URBASCHEK                 1327 LAKE                                                        LINCOLN          NE         68502                6004                Various                                                                                             $4.00
ABIGAIL VODICKA                   2268 K ROAD                                                      UNADILLA         NE         68454                6004                Various                                                                                            $20.00
ABIGAIL WIERSEMA                  E908 CTY RD V                                                    SCANDINAVIA      WI         54977                6004                Various                                                                                            $23.00
ABIMAR FOODS INC                  5425 NORTH FIRST STREET                                          ABILENE          TX         79603                4536                Various                                                                                        $34,518.64
ABIR MANUS                        2205 6TH AVE N                                                   GREAT FALLS      MT         59401                6004                Various                                                                                            $10.02
                                  DIV OF ATLANTIC BUSINESS       7930 ARJONS DR
ABO PHARMACEUTICALS               ORGANIZATIONS                  STE A                             SAN DIEGO        CA         92126                  8247              Various                                                                                         $2,300.00
ABRA EGAH                         106 HASTINGS WAY                                                 MONMOUTH         IL         61462                  6002              Various                                                                                             $8.74
ABRAHAM FRANCISCO                 1005 MERIDIAN ST                                                 CURTISS          WI         54422                  6002              Various                                                                                             $6.33

ABRAHAM I DWELLEY                 3775 WESTON PINES LN APT 204                                     SCHOFIELD        WI         54476                  6002              Various                                                                                                $3.21
ABRAHAM R KAUFERT                 1007 E MAIN STAVE                                                LITTLE CHUTE     WI         54140                  6002              Various                                                                                                $0.27
ABRAHAM SANDERSON                 49 W 1880 NO                                                     OREM             UT         84057                  6004              Various                                                                                               $23.00
ABRAHAM VELAZQUEZ HERNAND         306 MAIN ST                                                      CARROLL          NE         68723                  6002              Various                                                                                                $8.44
ABRAHIM SALEX                     1903 17TH ST SE APT 306                                          ROCHESTER        MN         55904                  6004              Various                                                                                                $3.00




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                                                                                                                                                                                               Contingent


                                                                                                                                                                                                                           Disputed
                                                                                                                                                      Last 4 Digits of     Date Debt was
                                                                                                                                                         Account         Incurred, Basis for
              Creditor Name                  Address1                  Address2        Address3              City       State         Zip    Country     Number                Claim                                                                             Total Claim
ABRIELLE ELI GULLICKSON           45344 GALAXY AVE                                                  HARRIS           MN         55032                6002                Various                                                                                             $4.47
ABSAI WILBARD                     318 SHERMAN STREET                                                WAUSAU           WI         54401                6002                Various                                                                                             $5.40
ABUBAKER A ELKALIFA               6520 CASCADE DR                                                   LINCOLN          NE         68504                6002                Various                                                                                             $8.66
ABUBAKR KARAMALA                  905 E BRIDGEPORT AVE                                              SPOKANE          WA         99207                6004                Various                                                                                            $40.00
ABYAH DOTSON                      2160 CHESAPEAKE DRIVE                                             MADISON          WI         53719                6004                Various                                                                                             $2.00
ABYGALE HARPOLD                   37 WASHINGTON ST #12                                              BILLINGS         MT         59102                6004                Various                                                                                             $7.02
ACASIA WEGNER                     215 ALTEN HILLS DR NW          #45                                ROCHESTER        MN         55901                6004                Various                                                                                             $3.00
ACCENTURE LLP                     PO BOX 70629                                                      CHICAGO          IL         60673-0629           7816                Various                                                                                       $291,998.44
ACCESSORIES DIRECT INTL USA       1450 BROADWAY 22ND FLOOR                                          NEW YORK         NY         10018                3383                Various                                                                                       $124,534.74
ACCO BRANDS INCORPORATED          PO BOX 203415                                                     DALLAS           TX         75320-3415           0535                Various                                                                                       $113,096.84
                                                                 1001 AVENUE OF
ACCUTIME WATCH CORPORATION        VICE PRESIDENT OF SALES        THE AMERICAS                       NEW YORK         NY         10018                  0107              Various                                                                                       $121,849.20
ACE DISPOSAL                      PO BOX 2608                                                       SALT LAKE CITY   UT         84110                                    Various                                                                                         $2,560.95
ACE DRAIN & SEWER OF GREEN BAY    DEEP IN IT LLC                 PO BOX 8025                        GREEN BAY        WI         54308-8025            3863               Various                                                                                          $255.00
ACE EQUIPMENT COMPANY INCORPOR    W9112 CHERRY ROAD                                                 ANTIGO           WI         54409                 5347               Various                                                                                        $13,589.85
ACE FIRE PROTECTION INCORPORAT    706 NAVCO DRIVE                                                   LAFAYETTE        IN         47905-0000            4905               Various                                                                                            $83.95
ACE HARDWARE                      410 S BETTY AVENUE                                                MONAHANS         TX         79756                 1369               Various                                                                                          $129.87
ACE RECYCLING & DISPOSAL          PO BOX 2608                                                       SALT LAKE CITY   UT         84110                                    Various                                                                                          $884.70
ACELIN HUNT                       34 MEADOWLARK                                                     KALISPELL        MT         59901                  6004              Various                                                                                            $26.00
                                  13594 COLLECTIONS CENTER
ACI WORLDWIDE CORPORATION         DRIVE                                                             CHICAGO          IL         60693                 2245               Various                                                                                        $14,796.94
ACME UNITED CORPORATION           PO BOX 932607                                                     ATLANTA          GA         31193-2607            9281               Various                                                                                         $8,007.95
ACRYLIC DESIGNERS & FABRICATOR    101 DOUGHTY ROAD W                                                LADYSMITH        WI         54848                 5200               Various                                                                                         $5,143.27
ACYNE YRJANA                      17899 US HIGHWAY 41 W                                             CHAMPION         MI         49814                 6002               Various                                                                                             $3.10
ADA CAMPBELL                      16921 PATTERSON DR                                                OMAHA            NE         68135                 6002               Various                                                                                             $6.90
ADA CONNER                        846 E GRAND AVE                                                   BELOIT           WI         53511                 6004               Various                                                                                             $1.00
ADA H PETEFISH                    200 N BUCKEYE ST                                                  BLOOMFIELD       IA         52537                 6002               Various                                                                                             $3.51
ADA IRON                          HC36 BOX 361                                                      SAINT XAVIER     MT         59075                 6004               Various                                                                                            $22.00
ADA WISE                          1117 ORCHARD AVE                                                  OGDEN            UT         84404                 6002               Various                                                                                             $7.15
ADAEZE NEELY                      720 LONG HOLLOW DR                                                SISSETON         SD         57262                 6004               Various                                                                                            $80.00
ADAH NISTLER                      31458 JULLIARD ST NE                                              NORTH BRANCH     MN         55056                 6002               Various                                                                                             $9.51
ADALIA ALVARADO                   522 7TH STREET EAST                                               GLENCOE          MN         55336                 6004               Various                                                                                             $3.06
ADALINE PANGRAZI                  3920 N GREENBAY RD UNIT 65                                        RACINE           WI         53404                 6002               Various                                                                                             $4.49
ADALY ISABEL CAZARES              304 W 7TH ST                                                      SANBORN          IA         51248                 6002               Various                                                                                             $1.18
ADALYN STODOLA                    663 E MAIN ST                                                     ELLSWORTH        WI         54011                 6002               Various                                                                                             $6.93
ADAM ALTENBURG                    N9201 DONALD LN                                                   WATERTOWN        WI         53094                 6002               Various                                                                                             $5.40
ADAM AMDALL                       1220 15TH ST                                                      CHETEK           WI         54728                 6002               Various                                                                                             $8.79
ADAM AURICH                       1467 N FOWLER AVENUE                                              OGDEN            UT         84404                 6004               Various                                                                                            $15.02
ADAM BIDDLE                       8283 KELLOM ROAD                                                  BEAVER DAM       WI         53916                 6004               Various                                                                                             $2.00
ADAM BLANCHARD                    2509 N RAPIDS ROAD                                                MANITOWOC        WI         54220                 6004               Various                                                                                            $39.95
ADAM BRIGGS                       1730 W QUINN # 233                                                POCATELLO        ID         83202                 6004               Various                                                                                            $57.96
ADAM BUNDERMAN                    700 SHOSHONE AVE UNIT 44                                          GREEN RIVER      WY         82935                 6002               Various                                                                                             $8.88
ADAM CARRINGTON                   25 RANCHETTS DR                                                   BIGFORK          MT         59911                 6002               Various                                                                                             $1.67
ADAM CHRISTIANS                   14 E 1ST ST                                                       MORRIS           MN         56267                 6002               Various                                                                                             $7.95
ADAM CORBIN                       3114 ROSE HEIGHTS DR SE                                           ROCHESTER        MN         55904                 6002               Various                                                                                             $4.03
ADAM D MAIDHOFF                   2002 E LAKESIDE AVE                                               COEUR D ALENE    ID         83814                 6002               Various                                                                                             $6.25
ADAM DEHKES                       16135 EVERGREEN RD                                                PINE CITY        MN         55063                 6002               Various                                                                                             $4.22
ADAM DEWITT                       495 GLENVIEW WAY                                                  LITTLE SUAMICO   WI         54141                 6002               Various                                                                                             $8.63
ADAM DUNHAM                       332 N WASSON LANE                                                 RIVER FALLS      WI         54022                 6004               Various                                                                                             $5.00
ADAM DZIEDZIC                     10 N LIVINGSTON ST                                                MADISON          WI         53703                 6004               Various                                                                                          $121.00
ADAM ENLOE                        401 10TH AVE CR NW                                                KASSON           MN         55944                 6002               Various                                                                                             $6.41

ADAM ESSER                        507 WEST WILSON ST. APT. 502                                      MADISON          WI         53703                  6004              Various                                                                                               $42.00
ADAM FIELDS                       2885 MATT DRIVE                                                   EUGENE           OR         97408                  6004              Various                                                                                               $30.00




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             Creditor Name                Address1              Address2         Address3              City      State           Zip   Country     Number                Claim                                                                             Total Claim
ADAM FRYE                     2928 CURRY PARKWAY APT. 25                                      MADISON         WI         53713                 6004                Various                                                                                               $30.00
ADAM GARDNER                  634 1/2 WERLE AVE                                               WAUSAU          WI         54401                 6002                Various                                                                                                $4.90
ADAM GIBBS                    2720 LA SALLE ST                                                EAU CLAIRE      WI         54703                 6002                Various                                                                                                $2.93
ADAM GRISWOLD                 N6931 BANES CT                                                  BEAVER DAM      WI         53916                 6004                Various                                                                                               $55.00
ADAM GROCHOWSKI               3323 SPRUCE ST                                                  JANESVILLE      WI         53546                 6004                Various                                                                                                $2.00
ADAM GUTIERREZ                233 5TH ST NW                                                   MASON CITY      IA         50401                 6002                Various                                                                                                $9.42
ADAM HAY                      1507 DALLAS STREET                                              CHETEK          WI         54728                 6004                Various                                                                                                $9.99
ADAM HIGGINS                  7554 HWY 12 #6                                                  SAUK CITY       WI         53583                 6004                Various                                                                                                $1.00
ADAM HOCKGIEGER               2620 N CHERRY ST                                                MOUNT CARMEL    IL         62863                 6002                Various                                                                                                $0.38
ADAM J CLEMENS                512 CLIFF ST NE                                                 CHATFIELD       MN         55923                 6002                Various                                                                                                $3.59
ADAM J. MERONK                2017 BOYINGTON AVE                                              STEVENS POINT   WI         54481                 6002                Various                                                                                                $0.47
ADAM JENSEN                   510 OAK CT                                                      DENMARK         WI         54208                 6002                Various                                                                                                $6.58
ADAM KAVAN                    5318 STONE CLIFFE DR.                                           LINCOLN         NE         68516                 6004                Various                                                                                                $3.00
ADAM KING                     500 N JOSSART                                                   LUXEMBURG       WI         54217                 6004                Various                                                                                                $5.02
ADAM KLOEHN                   N1248 KRANDON CRT                                               GREENVILLE      WI         54942                 6004                Various                                                                                                $7.59
ADAM KLUSMEIER                1243 MAIN AVE                                                   SHEBOYGAN       WI         53083                 6002                Various                                                                                                $6.08
ADAM KOVASH                   406 S 4TH ST                                                    FOREST CITY     IA         50436                 6004                Various                                                                                               $15.00
ADAM KREIKEMEIER              943 HIGHWAY 32                                                  WEST POINT      NE         68788                 6002                Various                                                                                                $2.33
ADAM L MILKENT                W246N6707 CHAMPENY CT                                           SUSSEX          WI         53089                 6002                Various                                                                                                $7.29
ADAM LARSON                   2038 THOMAS RD                                                  BELOIT          WI         53511                 6002                Various                                                                                                $4.44
ADAM LYNN                     931 SADDLE CT                                                   POWELL          WY         82435                 6002                Various                                                                                                $3.81
ADAM M JEFFERS                9187 BOYD ST                                                    OMAHA           NE         68134                 6002                Various                                                                                                $5.51
ADAM M SMITH                  1005 VALLEYWAY DR                                               GLENWOOD        IA         51534                 6002                Various                                                                                                $2.85
ADAM MCALLISTER               130 1ST AVE NW                                                  ELGIN           MN         55932                 6002                Various                                                                                                $1.95
ADAM MELLIES                  109 MCCLELLAN ST                                                TAMA            IA         52339                 6002                Various                                                                                                $2.90
ADAM MINTEN                   1503 COMMANCHE AVE                                              GREEN BAY       WI         54313                 6004                Various                                                                                               $25.00
ADAM MOFFITT                  608 FREEBORN                                                    ALBERT LEA      MN         56007                 6004                Various                                                                                               $22.64
ADAM MOORE                    611 1ST ST W                                                    KALISPELL       MT         59901                 6002                Various                                                                                                $9.21
ADAM MORRISON                 455 HIGH ST NE APT 19                                           HUTCHINSON      MN         55350                 6002                Various                                                                                                $8.68
ADAM N VOIGHT                 315 N WASHINGTON AVE                                            MEDFORD         WI         54451                 6002                Various                                                                                                $6.16
ADAM NIELSEN                  137 4TH AVE NE                                                  OELWEIN         IA         50662                 6002                Various                                                                                                $5.56
ADAM PANGERL                  4814 N CEDAR                                                    SPOKANE         WA         99205                 6004                Various                                                                                               $27.00
ADAM PAPIERNIAK               1517 EMERY ST                                                   EAU CLAIRE      WI         54701                 6004                Various                                                                                               $20.00
ADAM PARKES                   N8408 CTY RD BB                                                 SPRING VALLEY   WI         54767                 6004                Various                                                                                                $6.50
ADAM PATTEN                   788 S. RIVER RD.             APT. 8                             WEST BEND       WI         53095                 6004                Various                                                                                               $22.50
ADAM PAVELCHIK                426 SHELLEY DR.                                                 RACINE          WI         53405                 6004                Various                                                                                               $10.00
ADAM PRINCE                   5 WINONNA WOODS CT APT 5                                        MADISON         WI         53713                 6004                Various                                                                                                $3.00
ADAM RALSTON                  1409 11TH AVE                                                   LEWISTON        ID         83501                 6002                Various                                                                                                $8.60
ADAM RIETMANN                 514 1ST AVE SW                                                  PINE ISLAND     MN         55963                 6002                Various                                                                                                $5.92
ADAM ROBARGE                  700 CO RD # 550                                                 MARQUETTE       MI         49855                 6002                Various                                                                                                $2.63
ADAM SCHANEY                  140 E WALNUT                                                    CEDARVILLE      IL         61013                 6004                Various                                                                                                $5.00
ADAM SCHRAEDER                504 RIDGELAND AVE.                                              SCHOFIELD       WI         54476                 6004                Various                                                                                                $5.00
ADAM SCHULTZ                  N7728 540TH ST                                                  MENOMONIE       WI         54751                 6004                Various                                                                                               $30.00
ADAM SCHUMER                  1213 HACKETT ST.                                                BELOIT          WI         53511                 6004                Various                                                                                               $15.00
ADAM SNOOK                    P O BOX 193                                                     ADAMS           NE         68301                 6004                Various                                                                                                $6.00
ADAM SOLDNER                  107 GREENVIEW DR                                                COLUMBUS        WI         53925                 6002                Various                                                                                               $11.99
ADAM STORY                    2613 N RIVER BLUFF DR                                           JANESVILLE      WI         53545                 6004                Various                                                                                               $24.00
ADAM SYLVIA                   3228 WEST QUEEN PLACE                                           SPOKANE         WA         99205                 6004                Various                                                                                                $6.00
ADAM THOMAS                   109 MYRON ST                                                    WAUSAU          WI         54401                 6002                Various                                                                                                $5.75
ADAM TOFIL                    1079 FOREST HILLS DR SW                                         ROCHESTER       MN         55902                 6004                Various                                                                                               $75.00
ADAM TOPP                     147 CAROLINE RD                                                 KALISPELL       MT         59901                 6004                Various                                                                                               $23.00
ADAM TUTTLE                   3801 STONEHEDGE WAY                                             CALDWELL        ID         83605                 6002                Various                                                                                                $5.81
ADAM VELASQUEZ                680 SIERRA RD W                                                 HELENA          MT         59602                 6002                Various                                                                                                $3.53
ADAM VERHASSELT               N5201 MCCABE RD.                                                DE PERE         WI         54115                 6004                Various                                                                                                $1.00




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ADAM WILSON                          412 PRESTON LN                                                    REDGRANITE       WI         54970                6004                Various                                                                                            $10.00
ADAM WINN                            982 BOARDMAN RD SW                                                SOUTH BOARDMAN   MI         49680                6002                Various                                                                                             $2.79
ADAM ZERTUCHE                        W2121 RAYGO RD.                                                   MARINETTE        WI         54143                6004                Various                                                                                            $23.99
ADAM ZIEHER                          1767 PINES ST                APT 2                                STEVENS POINT    WI         54481                6004                Various                                                                                            $25.00
ADAMA JARBOH                         1245 COMMERCIAL AVE                                               MADISON          WI         53704                6004                Various                                                                                            $23.00
ADAMS FAMILY                         954 N 23RD ST                                                     MANITOWOC        WI         54220                6002                Various                                                                                             $6.63
ADAMS FRIENDSHIP WRESTLING           1109 EAST NORTH STREET                                            ADAMS            WI         53910                6534                Various                                                                                          $500.00
ADAMS ISC                            2090 DEADWOOD AVENUE                                              RAPID CITY       SD         57702                                    Various                                                                                          $674.13
ADAMSON DISTRIBUTING COMPANY I       VICE PRESIDENT OF SALES      PO BOX 226                           O NEILL          NE         68763                 6654               Various                                                                                         $3,505.22
ADAN FARAH                           1834 34TH ST NW                                                   ROCHESTER        MN         55901                 6004               Various                                                                                             $3.00
ADAN OCHOA                           3515 48TH STREE                                                   KENOSHA          WI         53144                 6004               Various                                                                                            $32.02
ADDIE DANIELS                        2319 CTY TRUNK PP                                                 STEVENS POINT    WI         54481                 6004               Various                                                                                            $23.00
ADDISON FIELDING                     302 VERONA DR                                                     ROCKFORD         IL         61107                 6004               Various                                                                                            $10.00
ADDIYAAT HASSAN                      2017 HARRISON AVE                                                 BELOIT           WI         53511                 6002               Various                                                                                             $8.99
ADECCO EMPLOYMENT SERVICES           DEPARTMENT CH 14091                                               PALATINE         IL         60055-4091            7737               Various                                                                                        $21,034.98
ADELA HUITRON                        5025 18TH AVE                                                     KENOSHA          WI         53140                 6004               Various                                                                                            $15.00
ADELE DOUGHTY                        1018 PONDEROSA CT                                                 POWELL           WY         82435                 6002               Various                                                                                             $6.58
ADELE GARCIA                         415 W SECOND ST                                                   WAYNE            NE         68787                 6002               Various                                                                                             $3.26
ADELE SNYDER                         3120 LANE # 35                                                    GREYBULL         WY         82426                 6002               Various                                                                                             $7.86
ADELIA GODFREY                       14 KEOKE ST                                                       SISSETON         SD         57262                 6002               Various                                                                                             $7.12
ADELINA DEVORA                       2408 S 19TH ST                                                    OMAHA            NE         68127                 6004               Various                                                                                             $4.00
ADELINE A. NUEHSE                    302 COLLEGE AVE N                                                 FULDA            MN         56131                 6002               Various                                                                                             $5.84
ADELINE DAVIS                        231 REUTER AVE APT 231                                            RICE LAKE        WI         54868                 6002               Various                                                                                             $6.85
ADELINE KRAMER                       140 BESSIE OHALLORAN LN                                           MENASHA          WI         54952                 6002               Various                                                                                             $4.27
ADELINE MATTIOLI                     92 ALLEN ST                                                       IRON RIVER       MI         49935                 6002               Various                                                                                             $4.25
ADELINE RANNEY                       855 E. LAKE STREET - TRL 7                                        LAKE MILLS       WI         53551                 6004               Various                                                                                             $4.00
ADELLA KELLEY                        270 LINDEN DR                                                     IDAHO FALLS      ID         83401                 6002               Various                                                                                             $1.53
ADELYN KRAUTHEIM                     31577 CABBAGE RD                                                  PELKIE           MI         49958                 6002               Various                                                                                             $2.30
ADELYNN R HILLEGAS                   6641 OSCEDA CT                                                    ARVADA           CO         80003                 6002               Various                                                                                             $9.64
ADEN & ANAIS INCORPORATED            20 JAY STREET STE 600                                             BROOKLYN         NY         11201                 1477               Various                                                                                         $7,735.59
ADEN JAMA                            3225 MAINE PRAIRIE RD        APT. 316                             SAINT CLOUD      MN         56301                 6004               Various                                                                                             $3.00
ADEWUMI ADEWOLE                      239 CRESTWOOD LANE                                                ONALASKA         WI         54650                 6004               Various                                                                                            $20.00
ADIDAS AMERICA INCORPORATED          PO BOX 100384                                                     ATLANTA          GA         30384                 3218               Various                                                                                       $845,575.22

ADILENE SANCHEZ                      2425 BUCKINGHAM RD APT. 2D                                        FREMONT          NE         68025                 6004               Various                                                                                               $10.00
ADILSON DESOUZA                      1484 HIGHWAY 35 # 219                                             KALISPELL        MT         59901                 6002               Various                                                                                                $5.92
ADILYNE ENGLERT                      108 S MAIN ST                                                     TRENTON          MO         64683                 6002               Various                                                                                                $8.44
ADISON BOYNTON                       118 RENEE DR                                                      ST CHARLES       MN         55972                 6002               Various                                                                                                $4.96
ADLAI J KILMER                       W6105 SLADICH RD                                                  GREENWOOD        WI         54437                 6002               Various                                                                                                $0.74
ADLEAN THOMAS                        535 E SHAWNEE ST                                                  FREEPORT         IL         61032                 6002               Various                                                                                                $2.90

ADLER/ BRIAN                         STORE 4-178                  SHOPKO EMPLOYEE                      GREEN BAY        WI         54307-9060            6783               Various                                                                                               $62.15

ADMIRAL PLUMBING HEATING & COOLING   676 W 1340 S                                                      PAYSON           UT         84651                                    11/6/2018                                                                                        $946.99
ADNILSON MERLIN                      1835 W PERSHING ST APT 118                                        APPLETON         WI         54914                 6002               Various                                                                                             $1.15
ADOLF KOTSCHI                        1303 KENSINGTON AVE                                               OSHKOSH          WI         54902                 6002               Various                                                                                             $0.36
ADOLFO MAHE LOPEZ                    62060 310TH ST                                                    CHOKIO           MN         56221                 6002               Various                                                                                             $6.71
ADOLPH MIRELES                       700 NE AVE                                                        ANDREWS          TX         79714                 6002               Various                                                                                             $3.56
ADOLPHE MAGLOIRE                     APT # 213                                                         HOWARD LAKE      MN         55349                 6002               Various                                                                                             $6.60
ADP INCORPORATED                     PO BOX 842875                                                     BOSTON           MA         02284-2875            1825               Various                                                                                       $119,295.78
ADREANNE RHINEHART                   2051 S DIVISION AVE                                               BOISE            ID         83706                 6002               Various                                                                                             $0.44
ADRENALATION INC                     PO BOX 48099                                                      PHILADELPHIA     PA         19144                 2712               Various                                                                                          $455.10
ADRIA LEHNDORF                       4120 COUNTY ROAD A           APT 405                              OSHKOSH          WI         54901                 6004               Various                                                                                             $4.32
ADRIAN ALEMAN                        1065 WALL AVE TRLR # 102                                          HARRISVILLE      UT         84404                 6002               Various                                                                                             $6.68




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ADRIAN ALONZO                       1538 MARYLAND CT                                                  BELVIDERE        IL         61008                 6004                Various                                                                                             $3.90
ADRIAN DEZHAM                       2990 E WASATCH BLVD                                               SANDY            UT         84092                 6002                Various                                                                                             $8.90
ADRIAN GARCIA                       508 MAIN ST                                                       WAKEFIELD        NE         68784                 6002                Various                                                                                             $9.67
ADRIAN HARRIS                       7361 S. 53RD COURT                                                LINCOLN          NE         68516                 6004                Various                                                                                            $11.86
ADRIAN HINES                        9218 LARIMORE AVE                                                 OMAHA            NE         68134                 6004                Various                                                                                             $4.00
ADRIAN HOWEY                        105 2 MAIN ST APT 19A                                             STEWARTVILLE     MN         55976                 6002                Various                                                                                             $5.45
ADRIAN MAURISAK                     124 E MONTELLO ST                                                 MONTELLO         WI         53949                 6004                Various                                                                                             $3.00
ADRIAN MYERS                        375 N MAIN ST                                                     DIETRICH         ID         83324                 6002                Various                                                                                             $6.68
ADRIAN PRITCHARD                    536 HIGHLAND AVE                                                  BELOIT           WI         53511                 6004                Various                                                                                             $5.00
ADRIAN REYES-BUENO                  130 EAST WALWORTH AVE                                             DELAVAN          WI         53115                 6004                Various                                                                                             $6.00
ADRIAN SILVA                        409 S 10TH ST                                                     YAKIMA           WA         98901                 6004                Various                                                                                            $46.00
ADRIAN TEATS                        4525 GILBERT GRADE                                                OROFINO          ID         83544                 6002                Various                                                                                             $1.15
ADRIAN WENGERT                      2611 S COBBLE WAY                                                 MERIDIAN         ID         83642                 6002                Various                                                                                             $3.26
ADRIANA BARREZUETA                  5075 W 4700 S #34                                                 SALT LAKE CITY   UT         84118                 6004                Various                                                                                            $63.00
ADRIANA CHAVEZ                      113 1ST ST APT 2                                                  THOMPSON         IA         50478                 6002                Various                                                                                             $5.86
ADRIANA CRUZ                        435 S GOLF COURSE RD                                              FOREST CITY      IA         50436                 6002                Various                                                                                             $3.81
ADRIANA GUZMAN                      969 S 300TH W                                                     OGDEN            UT         84404                 6002                Various                                                                                             $1.97
ADRIANA MARTINEZ                    1715 SOUTH 7TH AVE.                                               YAKIMA           WA         98902                 6004                Various                                                                                            $22.71
ADRIANA MARTINEZ GARCIA             1913 3RD AVE. NE                                                  AUSTIN           MN         55912                 6004                Various                                                                                             $6.00
ADRIANA MARTINEZCOPADO              1226 N DANZ AVE LOT C                                             GREEN BAY        WI         54302                 6002                Various                                                                                             $4.19
ADRIANA SANCHEZ                     7133 FAHLEY RD                                                    OSHKOSH          WI         54904                 6004                Various                                                                                             $1.00
ADRIANA TIJERINA                    5246 HARDING AVE # 238                                            WAUTOMA          WI         54982                 6002                Various                                                                                            $10.00
ADRIANA TIZAPA                      1209 SHERWOOD LANE APT D                                          JEFFERSON        WI         53549                 6004                Various                                                                                            $24.94
ADRIANNA AVILA                      2557 W TYLER RD                                                   HART             MI         49420                 6002                Various                                                                                             $0.47
ADRIANNA DELEON                     22198 PALM AVE                                                    WORTHINGTON      MN         56187                 6004                Various                                                                                            $23.00
ADRIANNA PRITCHARD                  536 HIGHLAND AVE                                                  BELOIT           WI         53511                 6004                Various                                                                                             $4.00
ADRIANNA WARTA                      438 E HADDONSTONE DR                                              APPLETON         WI         54913                 6002                Various                                                                                             $9.12
ADRIANNE BICE                       1639 LAKESHORE DR                                                 LA CROSSE        WI         54603                 6002                Various                                                                                             $1.63
ADRIANNE JACOBSEN                   901 PORTAGE ST APT B105                                           HOUGHTON         MI         49931                 6002                Various                                                                                             $4.16
ADRIENNE CHRISTIAN                  42598 PARADISE RD                                                 CHASSELL         MI         49916                 6002                Various                                                                                             $3.61
ADRIENNE CONLEY                     600 E 4TH ST                                                      MORRIS           MN         56267                 6002                Various                                                                                             $8.79
ADRIENNE FLORES                     715 N WASHINGTON ST                                               CASPER           WY         82601                 6002                Various                                                                                             $3.07
ADRIENNE KUNDE                      201 N 21ST ST                                                     COEUR D ALENE    ID         83814                 6002                Various                                                                                             $1.67
ADRIENNE RAMIREZ                    809 S 4TH AVE #12                                                 POCATELLO        ID         83201                 6004                Various                                                                                            $25.00
ADTN INTERNATIONAL LTD              95 GINCE STREET                                                   ST LAURANT       QC         H4N 1J7      CANADA 3870                  Various                                                                                        $62,172.20
ADULLAHI ADOW                       2201 17TH ST SE                APT 51                             ROCHESTER        MN         55904                 6004                Various                                                                                            $22.00
ADVANCED DISPOSAL                   PO BOX 74008053                                                   CHICAGO          IL         60674-8053                                Various                                                                                        $74,341.37
                                                                   4501 FEMRITE
ADVANCED PROJECT SOLUTIONS LLP      RICHARD PYPER                  DRIVE                              MADISON          WI         53716-0000              5271              Various                                                                                          $818.84
ADVANCED SERVICE SOLUTIONS, INC.    P.O. BOX 573                                                      HAMMONTON        NJ         08037                                     10/19/2018                                                                                      $3,342.73
ADVANCED SERVICE TECHNOLOGIES       885 MOUND ROAD                                                    MIAMISBURG       OH         45342                   2502              Various                                                                                          $398.33
ADVANCED VISION RESEARCH            3950 PAYSPHERE CIRCLE                                             CHICAGO          IL         60674                   8339              Various                                                                                         $8,743.23

ADVANTUS CORPORATION                75 REMITTANCE DRIVE STE 3142                                      CHICAGO          IL         60675-3142              6928              Various                                                                                         $5,945.71
ADVERTISER COMMUNITY NEWS LLC       PO BOX 100                                                        SEYMOUR          WI         54165                   1427              Various                                                                                          $125.00
ADVISOR                             1112 WEST STATE STREET                                            ALBION           NE         68620                   2208              Various                                                                                            $67.75
AECOM INCORPORATED                  1178 PAYSPHERE CIRCLE                                             CHICAGO          IL         60674-0000              8477              Various                                                                                         $9,947.40
AERIK MOYER                         1003 KANSAS ST                                                    LARNED           KS         67550                   6002              Various                                                                                             $2.79
AESLYN SZAJKOL-MOY                  1315 HAWTHORNE ST                                                 EAU CLAIRE       WI         54703                   6004              Various                                                                                             $4.00
                                                                   15950 WEST DODGE
AETNA BETTER HEALTH OF NE           OVERPAYMENT DEPARTMENT         RD                                 OMAHA            NE         68118                   6004              Various                                                                                            $43.07
AETNA FELT CORPORATION              2401 W EMAUS AVENUE                                               ALLENTOWN        PA         18103                   9538              Various                                                                                        $12,924.60
AETNA VISION                        PO BOX 749075                                                     DALLAS           TX         75374                   6004              Various                                                                                            $45.00
AFAF ALSWEADY                       7403 PORTIA                                                       LINCOLN          NE         68521                   6004              Various                                                                                             $4.00




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                                                                                                                                                                                                          Unliquidated
                                                                                                                                                                                             Contingent


                                                                                                                                                                                                                         Disputed
                                                                                                                                                    Last 4 Digits of     Date Debt was
                                                                                                                                                       Account         Incurred, Basis for
             Creditor Name                Address1                 Address2         Address3            City         State         Zip     Country     Number                Claim                                                                             Total Claim
AFS LLC                        ATTN ACCOUNTS RECEIVABLE       PO BOX 18410                       SHREVEPORT       LA         71138-1410            4741                Various                                                                                          $3,302.62
AFTERSORT INCORPORATED         4700 DARR HILL ROAD                                               JONESBORO        AR         72404                 3169                Various                                                                                          $8,072.00
AFW MONTANA LLC                4015 ROSS ROAD                                                    AMES             IA         50014                 5121                Various                                                                                          $3,699.36
AGE GROUP LIMITED              2 PARK AVE 18TH FLOOR                                             NEW YORK         NY         10016                 7693                Various                                                                                         $22,117.37
AGNES JOHNSON                  1507 MARIE DR.                                                    MISSOULA         MT         59808                 6004                Various                                                                                             $12.32
AGNES PAHNKE                   124 E TOBACNOIR ST                                                KAUKAUNA         WI         54130                 6002                Various                                                                                              $8.49

AGNES T JORDAN                 908 MEADOWVIEW DR DELIVERY                                        TUSCOLA          IL         61953                   6002              Various                                                                                             $4.71
AGNES THEDIN                   PO BOX 3571                                                       LEWISTOWN        MT         59457                   6002              Various                                                                                             $0.47
AGRON INCORPORATED             PO BOX 51708                                                      LOS ANGELES      CA         90051-6008              3770              Various                                                                                       $500,988.44
AGUSTIN AGUILAR                708 MILWAUKEE ST                                                  MENASHA          WI         54952                   6004              Various                                                                                             $4.32
AGUSTIN GARIBAY                2348 32ND AVE NE                                                  SALEM            OR         97301                   6004              Various                                                                                             $7.50
AGUSTIN MARTINEZ               1644 DECKNER AVE                                                  GREEN BAY        WI         54302                   6002              Various                                                                                             $3.67
AGUSTIN MEDINA                 207 FRANKLIN ST                                                   SANBORN          IA         51248                   6002              Various                                                                                             $2.90
AHERN-GROSS PLUMBING           218 S. MAIN STREET                                                FOND DU LAC      WI         54935                                     Various                                                                                         $1,651.66
AHMAD KADIR                    4041 NORTHLUND DR APT 108                                         LINCOLN          NE         68504                  6002               Various                                                                                             $4.60
AHMED AL QARAGHULI             4109 CLUB HOUSE DR                                                TAYLORSVILLE     UT         84123                  6004               Various                                                                                             $7.84
AHMED SABRIYE                  1525 4TH AVE SE                                                   ROCHESTER        MN         55904                  6004               Various                                                                                             $3.00
AHNIKA COLLINS                 335 WALNUT CT                                                     ST MARIE         MT         59231                  6002               Various                                                                                             $0.60
AIDA MUNN                      3741 PATTI DR                                                     PLOVER           WI         54467                  6004               Various                                                                                            $16.00
AIDAN GREENE                   1361 WAYLAND ST                                                   BEAVER DAM       WI         53916                  6004               Various                                                                                             $6.00
AIDAN HOWELL                   1016 NETTIE ST                                                    BELVIDERE        IL         61008                  6004               Various                                                                                             $3.90
AIDAN MURPHY                   2306 N 80TH STREET         APT 2                                  WAUWATOSA        WI         53213                  6004               Various                                                                                            $10.00
AIDE ALVARADO                  274 RIVERBEND RD APT 1                                            LOGAN            UT         84321                  6002               Various                                                                                             $6.96
AIDEN CHALENBURG               2505 CHESIRE N                                                    LINCOLN          NE         68512                  6004               Various                                                                                            $23.00
AIDEN REMTER                   107 1/2 N MAPLE ST                                                BLACK CREEK      WI         54106                  6002               Various                                                                                            $10.00
AIDEN SANCHEZ-PALMER           264 N 7TH AVE                                                     CASPER           WY         82604                  6002               Various                                                                                             $3.75
AIDEN VODICKA                  BOX 53                                                            UNADILLA         NE         68454                  6004               Various                                                                                          $112.98
AIERYANNA WATKINS              PO BOX 2111                                                       COLUMBIA FALLS   MT         59912                  6004               Various                                                                                             $3.00
AILED PEREZ-REYES              1775 KIMBALL ST                                                   GREEN BAY        WI         54302                  6002               Various                                                                                             $9.45
AILEEN L. MOREAUX              2042 COUNTY ROAD C                                                GREEN BAY        WI         54313                  6002               Various                                                                                             $5.84
AIMEE CHAPLEAU                 212 1/2 WATER ST                                                  MENASHA          WI         54952                  6002               Various                                                                                             $9.48
AIMEE CUPP                     2872 BERKAN ST.                                                   MADISON          WI         53711                  6004               Various                                                                                             $2.00
AIMEE ENOS                     1250 LARIAT RD                                                    HELENA           MT         59602                  6004               Various                                                                                            $10.00
AIMEE ERICKSON                 1304 10TH AVE NW                                                  AUSTIN           MN         55912                  6004               Various                                                                                             $3.00
AIMEE JUTZ                     W7703 S/D TOWNLINE ROAD                                           DARIEN           WI         53114                  6004               Various                                                                                             $2.00
AIMEE L BARBER                 4402 TAFT RD                                                      KENOSHA          WI         53142                  6004               Various                                                                                             $6.00
AIMEE LYNN BACH                406 8TH ST                                                        MOSINEE          WI         54455                  6002               Various                                                                                             $2.74
AIMEE NELSON                   2664 N 270TH E                                                    LOGAN            UT         84341                  6002               Various                                                                                             $9.21
AIMEE REYES (NICHOLS)          306 E 28TH STREET, LOT 248                                        SIOUX CITY       NE         68776                  6004               Various                                                                                            $57.49
AIMEE WILKINSON                11 W 1285TH S                                                     LOGAN            UT         84321                  6002               Various                                                                                             $6.55
AINSLEY PEDERSON               BOX 197                                                           SPRAGUE          MB         R0A1Z        CANADA    6002               Various                                                                                             $7.15
AINSWORTH COMMUNITY SCHOOLS    PO BOX 65                                                         AINSWORTH        NE         69210                  3040               Various                                                                                          $100.00
AINSWORTH PET NUTRITION        PO BOX 536204                                                     PITTSBURGH       PA         15253-5904             9556               Various                                                                                       $136,883.30

AIR FILTERS NOW (C-HUB)        9800 I 65 SERVICE ROAD NORTH                                      CREOLA           AL         36525                  0086               Various                                                                                         $1,491.73
AIREYANNA BARKLEY              3564 DOUGLAS AVE. APT324                                          RACINE           WI         53402                  6004               Various                                                                                            $29.00
AIRLEA DEFOE                   10128 PINE VIEW DRIVE E                                           NETT LAKE        MN         55772                  6004               Various                                                                                             $3.00
AISHA BASHIR                   1426 4TH AVE SE APT 305                                           ROCHESTER        MN         55904                  6004               Various                                                                                             $3.00
AISHA GUULEED                  220 IVERSON ST W                                                  SAINT JOSEPH     MN         56374                  6004               Various                                                                                             $3.00
AISHA OSMAN                    1927 S VILLAGE DR SE                                              ROCHESTER        MN         55904                  6004               Various                                                                                             $3.00
AISHA SABIR                    11 UNIVERSITY HOUSES           APT. C                             MADISON          WI         53705                  6004               Various                                                                                             $1.00
AISLINN EMELE                  2199 CONSTANTINE AVE                                              BOISE            ID         83705                  6004               Various                                                                                             $6.60
AJ JOHNSON                     1808 PARK AVE                                                     STURGIS          SD         57785                  6002               Various                                                                                             $7.70




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                                                                                                                                                  Last 4 Digits of     Date Debt was
                                                                                                                                                     Account         Incurred, Basis for
             Creditor Name                 Address1                Address2        Address3             City        State         Zip    Country     Number                Claim                                                                             Total Claim
AJ MAGES RENTAL LLC            9880 60TH STREET SW            PO BOX 635                        HOWARDS LAKE     MN         55349                5583                Various                                                                                            $584.38
AKAMAI TECHNOLOGIES INC        GENERAL POST OFFICE            PO BOX 26590                      NEW YORK         NY         10087-6590           0717                Various                                                                                         $41,318.68
AKAYLA JONES                   2411 CONANT                                                      STEVENS POINT    WI         54481                6004                Various                                                                                              $3.00
AKIVA BENAVRAHAM               112 S WAYLAND AVE                                                SIOUX FALLS      SD         57103                6002                Various                                                                                              $3.95
AKMAL ORIPOV                   8505 OHERN ST #9                                                 OMAHA            NE         68127                6002                Various                                                                                              $4.25
AL BEZANSON                    157 RED BUTTE DR BOX                                             LANDER           WY         82520                6002                Various                                                                                              $0.41
AL GALARZA                     1903 E 1ST STREET                                                MERRILL          WI         54452                6004                Various                                                                                              $2.60
AL KAABI HANAN                 2312 GRAND ISLE AVE SW                                           ROCHESTER        MN         55902                6002                Various                                                                                              $8.85
AL LINDSAY                     3011 LOSEY BLVD S                                                LA CROSSE        WI         54601                6002                Various                                                                                              $1.15
ALADINO GURULE                 6308 S 1300TH S                                                  SALT LAKE CITY   UT         84123                6002                Various                                                                                              $2.19
ALAGAMMAI PALANIAPPAN          39 OXEN PASTURE RD                                               DONIPHAN         MO         63935                6002                Various                                                                                              $0.58
ALAMANCE FOODS INCORPORATED    PO BOX 402048                                                    ATLANTA          GA         30384-2048           6565                Various                                                                                          $5,000.00
ALAN ANTHOLZ                   168 S 5TH ST                                                     DAVID CITY       NE         68632                6004                Various                                                                                             $10.00
ALAN BARTLING                  5205 MILL RD                                                     RAPID CITY       SD         57702                6004                Various                                                                                             $22.00
ALAN BEATON                    4832 SERRA CT NE                                                 SALEM            OR         97305                6004                Various                                                                                             $15.00
ALAN BLUSKE                    3321 28TH ST S                                                   LA CROSSE        WI         54601                6002                Various                                                                                              $2.22
ALAN CARROLL                   2080 ALLEN BLVD #23                                              MIDDLETON        WI         53562                6004                Various                                                                                              $2.00
ALAN CZARNIECKI                1447 RACINE RD                                                   MENASHA          WI         54952                6004                Various                                                                                              $1.00
ALAN DOBROWA                   N1701 NEWBERGER RD                                               REESEVILLE       WI         53579                6004                Various                                                                                             $49.00
ALAN GEISTHARDT                547 MUSTANG LN                                                   FOND DU LAC      WI         54935                6004                Various                                                                                             $16.00
ALAN GIBSON                    W3276 CREEKVIEW LN                                               APPLETON         WI         54915                6002                Various                                                                                              $6.52

ALAN GROSSET                   485 BRICKELL AVENUE APT 4410                                     MIAMI            FL         33131                 6004               Various                                                                                            $35.00
ALAN HAWKINS                   12217 T STREET                                                   OMAHA            NE         68137                 6004               Various                                                                                            $25.00
ALAN HEBERLEIN                 17361 STATE # 76                                                 CALEDONIA        MN         55921                 6002               Various                                                                                             $9.48
ALAN HOLLON                    17555 FORD FARM RD                                               LANSE            MI         49946                 6002               Various                                                                                             $0.66
ALAN JACOBSON                  1929 NORTHWESTERN AVE                                            MADISON          WI         53704                 6004               Various                                                                                             $2.00
ALAN JOLLEY                    862 E PRESTO RD                                                  FIRTH            ID         83236                 6002               Various                                                                                             $1.21
ALAN KERR                      50 SLATER RD                                                     ROUNDUP          MT         59072                 6002               Various                                                                                             $7.67
ALAN LIEN                      18601 CO HIGHWAY 33                                              FERGUS FALLS     MN         56537                 6002               Various                                                                                             $6.03
ALAN LUTZ                      1705 ELLEN AVE                                                   MADISON          WI         53716                 6004               Various                                                                                            $10.00
ALAN MENTH                     928 8TH AVE SE                                                   SAINT CLOUD      MN         56304                 6004               Various                                                                                            $52.98
ALAN PALOVAARA                 PO BOX 293                                                       CALUMET          MI         49913                 6002               Various                                                                                             $3.89
ALAN PEPPER                    1707 MARY ST                                                     SALMON           ID         83467                 6002               Various                                                                                             $7.34
ALAN POUPORE DO NOT USE        N13566 CTY RD 551                                                WILSON           MI         49896                 6004               Various                                                                                            $30.00
ALAN PRINGLE                   2330 W 1125TH S                                                  SYRACUSE         UT         84075                 6002               Various                                                                                             $2.68
ALAN REID                      1745 BIRCHWOOD LN                                                MISSOULA         MT         59804                 6002               Various                                                                                             $0.79
ALAN ROGERS                    PO BOX 241                                                       TORRINGTON       WY         82240                 6002               Various                                                                                             $7.78
ALAN ROTAR                     2102 EXCALIBUR DR                                                JANESVILLE       WI         53545                 6004               Various                                                                                            $25.00
ALAN STEINERT                  328 N HARTH AVE                                                  MADISON          SD         57042                 6002               Various                                                                                             $7.73
ALAN SYDOW                     1804 W 10TH ST                                                   GRAND ISLAND     NE         68803                 6002               Various                                                                                             $0.58
ALAN TIEGS                     N93 W6240 ARBOR                                                  CEDARBURG        WI         53012                 6002               Various                                                                                             $0.96
ALAN WARDELL                   20 DICKINSON HILL RD                                             WHEATLAND        WY         82201                 6002               Various                                                                                             $2.74
ALAN YOWELL                    506 S SUPERIOR AVE                                               BARAGA           MI         49908                 6002               Various                                                                                            $10.00
ALANA JONES                    534 14TH AVE SW                                                  ROCHESTER        MN         55902                 6004               Various                                                                                             $6.00

ALANA LITTLEBIRD               320 TATANKA AVE PO BOX # 513                                     WAUBAY           SD         57273                 6002               Various                                                                                             $5.26
ALANIS HARRIS                  N15911 LAFAVE LANE                                               WILSON           MI         49896                 6004               Various                                                                                            $23.00
ALANNA RANISATE                208 ELM ST                                                       HENRY            SD         57243                 6002               Various                                                                                            $10.00
ALANNAH FORD                   35910 N. ELK CHATTAROY RD                                        ELK              WA         99009                 6004               Various                                                                                            $28.00
ALARM SYSTEMS INCORPORATED     PO BOX 5208                                                      QUINCY           IL         62305                 3512               Various                                                                                           $284.24
ALAYNA ADAMS                   2106 TULIP LANE                                                  BELLEVUE         NE         68005                 6004               Various                                                                                            $30.00
ALAYNA HARTWICH                3320 MORGAN AVE                                                  EAU CLAIRE       WI         54703                 6004               Various                                                                                             $3.00
ALAYNA WERNER                  218 SOUTH CHRISTINE STREET                                       APPLETON         WI         54915                 6004               Various                                                                                            $10.00




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                                                                                                                                                         Account         Incurred, Basis for
            Creditor Name                     Address1               Address2          Address3             City       State        Zip     Country      Number                Claim                                                                             Total Claim

                                                                 129 SOUTH
ALBAAD USA INCORPORATED             AFG WIPES                    TECHNOLOGY DRIVE                   REIDSVILLE        NC       27320-1563             6142               Various                                                                                        $35,543.60
ALBANESE CONFECTIONERY GROUP        PO BOX 71885                                                    CHICAGO           IL       60694-1885             4264               Various                                                                                         $4,566.60
ALBANY/ CITY OF                     106 E CLAY STREET                                               ALBANY            MO       64402                  7333               Various                                                                                          $125.00
ALBERT ADAMS                        GENERAL DELIVERY                                                SAINT CLOUD       MN       56301                  6004               Various                                                                                             $3.00
ALBERT BUNDICK                      105 W SPRUCE ST                                                 ABBOTSFORD        WI       54405                  6002               Various                                                                                             $6.19
ALBERT FALLANG                      422 N 6TH ST                                                    LIVINGSTON        MT       59047                  6002               Various                                                                                             $2.08
ALBERT FELTON                       PO BOX 594                                                      BATTLE LAKE       MN       56515                  6002               Various                                                                                             $7.75
ALBERT GALLION                      HC 6 BOX 319                                                    DONIPHAN          MO       63935                  6002               Various                                                                                             $5.40
ALBERT GRAHAM                       77667 JACKPINE LANE                                             WESTON            OR       97886                  6004               Various                                                                                            $53.76
ALBERT HILL                         887 STRANBERG CT PCS                                            DIXON             IL       61021                  6002               Various                                                                                             $2.41
ALBERT HODAPP                       340 S YORKTOWN PLACE         APT 1E                             MASON CITY        IA       50401                  6004               Various                                                                                            $13.90
ALBERT LEA ELECTRIC COMPANY, INC    1410 OLSEN DRIVE                                                MN                MN       56007                                     Various                                                                                          $849.78
ALBERT LEROY LANTZ                  317 N SUNNYLANE                                                 MONMOUTH          IL       61462                  6002               Various                                                                                             $0.60
ALBERT MARSHALL                     51698 SUNSET PL                                                 ATLANTIC MINE     MI       49905                  6002               Various                                                                                             $1.01
ALBERT MCCARTHY                     204 DEWEY DRIVE                                                 JACKSONVILLE      IL       62650                  6002               Various                                                                                             $6.89
ALBERT MEDIANO                      2014 WOLLMER STREET                                             MANITOWOC         WI       54220                  6004               Various                                                                                            $10.80
ALBERT MERWIN                       PO BOX 882                                                      STURGIS           SD       57785                  6002               Various                                                                                            $29.45
ALBERT OLIGMUELLER                  722 N COLFAX ST                                                 WEST POINT        NE       68788                  6002               Various                                                                                             $0.38
ALBERT OWENS                        1004 W 31ST AVE                                                 BELLEVUE          NE       68005                  6002               Various                                                                                             $6.36
ALBERT PARNELL                      140 US HIGHWAY 56                                               ELLINSWOOD        KS       67526                  6002               Various                                                                                             $2.08
ALBERT PARVU                        2510 WILSON ST                                                  SIOUX CITY        IA       51103                  6002               Various                                                                                             $6.03
ALBERT PERRY JR                     4016 NAKOOSA TRAIL APT 204                                      MADISON           WI       53714                  6004               Various                                                                                             $2.00
ALBERT R BRANDON                    HC 1 BOX 66A                                                    GRANDIN           MO       63943                  6002               Various                                                                                             $5.23
ALBERTA A WILD                      8262 S GAMBLE HILL RD                                           HANOVER           IL       61041                  6002               Various                                                                                             $6.19
ALBERTA GRAHAM                      W2750 HIGHWAY 156                                               PULASKI           WI       54162                  6002               Various                                                                                             $5.92
ALBERTA PULLAM                      2011 PLUM ST                                                    JACKSONVILLE      IL       62650                  6002               Various                                                                                             $7.18
ALBERTA TOSH                        3711 E 6TH AVE                                                  SPOKANE           WA       99202                  6004               Various                                                                                            $66.91
ALBERTO CHAVEZ-SAUSEDO              405 SCHOOL ST APT 3                                             WRIGHTSTOWN       WI       54180                  6002               Various                                                                                             $2.90
ALBERTO GONZALEZ DIAZ               253 S 4TH ST APT A                                              DORCHESTER        WI       54425                  6002               Various                                                                                             $5.07
ALBERTO LOPEZ LOPEZ                 N5092 STATE ROAD 73                                             WAUTOMA           WI       54982                  6002               Various                                                                                            $10.00
ALBERTO VELEZVELAZQUEZ              432 CLARENCE ST                                                 FORT ATKINSON     WI       53538                  6002               Various                                                                                             $4.41
ALBIERO PLUMBING INC.               1940 N MAIN STREET                                              WEST BEND         WI       53090                                     Various                                                                                         $1,031.50
ALBY SATTER                         2719 COLLEGE ST                                                 LACEY             WA       98503                  6004               Various                                                                                            $25.00
ALCO MANUFACTURING COMPANY          VICE PRESIDENT OF SALES      PO BOX 13710                       NEW IBERIA        LA       70562-3510             0446               Various                                                                                       $312,961.64
ALCON LABORATORIES INCORPORATE      3700 SOLUTIONS CENTER                                           CHICAGO           IL       60677-3077             9614               Various                                                                                       $179,188.93
ALE BROWN                           PO BOX 2311                                                     FORT WASHAKIE     WY       82514                  6002               Various                                                                                             $9.95
ALEA BURKS                          3210 SOUTH 90TH ST                                              OMAHA             NE       68124                  6004               Various                                                                                             $4.00
ALEAH STRENG                        W5449 HILL VIEW ROAD                                            ELKHORN           WI       53121                  6004               Various                                                                                             $1.95
ALEC GILBERTSON                     22127 FOX WOOD RD.                                              REEDSVILLE        WI       54230                  6004               Various                                                                                            $10.00
ALEC KLEIN                          2517 WILDER COURT                                               GREEN BAY         WI       54311                  6004               Various                                                                                             $2.00
ALEC MARQUARDT                      406 LONE EAGLE DRIVE                                            MADISON           WI       53713                  6004               Various                                                                                             $5.02
ALEC REID                           921 HOLSCHUA LANE                                               GREEN BAY         WI       54311                  6004               Various                                                                                            $64.41
ALEC SZUCH                          418 N COEUR D ALENE                                             COEUR D ALENE     ID       83814                  6002               Various                                                                                            $10.00
ALEC WISWELL                        N6788 CLUB HOUSE DR.                                            ELKHORN           WI       53121                  6004               Various                                                                                            $15.00
ALECIA JONES                        217 BRIGHTON ST                                                 LOLO              MT       59847                  6004               Various                                                                                             $2.00
ALECIA M. ALLEN                     6545 HIGHWAY 93 S # 20                                          WHITEFISH         MT       59937                  6002               Various                                                                                             $4.05
ALECIA MCADAMS                      15318 N NEPTUNE                                                 MEAD              WA       99021                  6004               Various                                                                                             $5.00
ALECK JONAS                         209 PIUTE DR                                                    STAR VALLEY RAN   WY       83127                  6002               Various                                                                                             $2.49
ALEECEA GARFOOT                     296 S MAIN STREET                                               FOND DU LAC       WI       54935                  6004               Various                                                                                            $27.00
ALEISHA DELONG                      422 N WALNUT ST                                                 MOUNT CARMEL      IL       62863                  6002               Various                                                                                             $5.37
ALEISHA TAYLOR                      500 E WINNEBAGO ST APT 203                                      APPLETON          WI       54911                  6004               Various                                                                                             $1.00
ALEJANDR CONTRERAS DELACRU          1618 MARION RD SE TRLR 153                                      ROCHESTER         MN       55904                  6002               Various                                                                                             $9.95




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                                                                                                                                                                                                         Unliquidated
                                                                                                                                                                                            Contingent


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                                                                                                                                                   Last 4 Digits of     Date Debt was
                                                                                                                                                      Account         Incurred, Basis for
             Creditor Name               Address1              Address2           Address3             City         State           Zip   Country     Number                Claim                                                                             Total Claim
ALEJANDRA ALMAZAN             1118 W BREWSTER ST                                               APPLETON          WI         54914                 6002                Various                                                                                                $9.53
ALEJANDRA AMARO GARCIA        3400 NORTH 27TH STREET                                           LINCOLN           NE         68521                 6004                Various                                                                                                $2.00
ALEJANDRA GOMEZ               1404 4TH AVE NW                                                  AUSTIN            MN         55912                 6004                Various                                                                                                $5.95
ALEJANDRA MENDEZ              563 BREAR AVE                                                    CRETE             NE         68333                 6004                Various                                                                                               $10.00
ALEJANDRA SERNA               146 S LOCUST LN                                                  WHITEWATER        WI         53190                 6004                Various                                                                                                $2.00
ALEJANDRA VILLARREAL          PO AVE # 2240TH                                                  ALEXIS            IL         61412                 6002                Various                                                                                                $6.66

ALEJANDRO BECERRA             8602 WESTOWN PKWY APT 3008                                       WEST DES MOINES   IA         50266                  6002               Various                                                                                                $2.58
ALEJANDRO CERVANTEZS          1250 SR 821                                                      YAKIMA            WA         98901                  6004               Various                                                                                               $26.00
ALEJANDRO DURAN SANCHEZ       1249 HARVEY ST               UPPER                               GREEN BAY         WI         54302                  6004               Various                                                                                                $2.00
ALEJANDRO ESPARZA             210 HAMDEN                   APT 207                             MARSHALL          MN         56258                  6004               Various                                                                                                $7.00
ALEJANDRO MARTINEZ            151 7TH ST SW                                                    MASON CITY        IA         50401                  6002               Various                                                                                                $5.84
ALEJANDRO MONTANO             45622 TIOSPA ZINA DR                                             SISSETON          SD         57262                  6002               Various                                                                                                $5.07
ALEJANDRO MORALES             W9706 COTTONVILLE DR                                             WAUTOMA           WI         54982                  6002               Various                                                                                                $3.48
ALEJANDRO NUNEZ               7422 RD O NW                 PO BOX 1046                         QUINCY            WA         98848                  6002               Various                                                                                                $2.10
ALEJANDRO VALDEZ-CONTRERAS    1217 ARNDT STREET                                                FORT ATKINSON     WI         53538                  6004               Various                                                                                               $25.00
ALEKSANDRIA BROWN             800 18TH ST SW                                                   AUSTIN            MN         55912                  6004               Various                                                                                               $20.00
ALENE GATTI                   5437 FRIENDSWOOD CT                                              ROCKFORD          IL         61114                  6002               Various                                                                                                $8.85
ALERIA ALEXANDER              1409 22ND                                                        AUBURN            NE         68305                  6004               Various                                                                                                $5.00
ALESHA AYERS                  3790 BEECHNUT ST                                                 EAST HELENA       MT         59635                  6002               Various                                                                                                $3.95
ALESHIA WINSKY                302 23RD ST NW                                                   STEWARTVILLE      MN         55976                  6004               Various                                                                                                $3.00
ALESIA ZARUBA                 4611 CHRISTOPHER CT                                              LINCOLN           NE         68516                  6004               Various                                                                                                $2.94
ALETA TYLER                   4619 52ND ST                                                     KENOSHA           WI         53144                  6004               Various                                                                                                $5.91
ALETHA ARNOLD                 303 ROGERS ST                                                    FORT ATKINSON     WI         53538                  6002               Various                                                                                                $4.77
ALEX BEAVER                   1226 HILLSIDE DR             APT 1                               JEFFERSON         WI         53549                  6004               Various                                                                                               $14.00
ALEX BONILLA                  1034 LEWELLEN ST                                                 MARSHALL          WI         53559                  6004               Various                                                                                                $2.00
ALEX BROCKEVELT               1006 SIXTH ST                                                    GOTHENBURG        NE         69138                  6002               Various                                                                                                $2.58
ALEX BROEHM                   2273 COUNTRY LANE                                                NEENAH            WI         54956                  6004               Various                                                                                                $2.00
ALEX BULLARD                  322 ORIOLE LANE                                                  MADISON           WI         53704                  6004               Various                                                                                                $1.00
ALEX CRANEY                   W5749 APACHE AVE                                                 WILD ROSE         WI         54984                  6002               Various                                                                                                $1.23
ALEX D ROZELLE                4620 N MORRIS BLVD                                               MILWAUKEE         WI         53211                  6002               Various                                                                                                $5.84
ALEX DEPESTEL                 508 KENNEDY ST.                                                  MINNEOTA          MN         56264                  6004               Various                                                                                               $20.00
ALEX DOMINGUEZ                PO BOX 114                                                       HOWELLS           NE         68641                  6002               Various                                                                                                $7.18
ALEX ELLER                    1411 RIPON AVE                                                   LEWISTON          ID         83501                  6004               Various                                                                                               $13.02
ALEX ESSELMAN                 511 NORTH 2ND AVENUE                                             WAUSAU            WI         54401                  6004               Various                                                                                               $23.00
ALEX FEERO                    104 S OAK                    APT 1                               SPOKANE           WA         99201                  6004               Various                                                                                                $9.97
ALEX FLYTE                    105 S 6TH ST                                                     HOT SPRINGS       SD         57747                  6002               Various                                                                                                $8.44
ALEX HAFFERKAMP               W8721 TERRITORIAL ROAD                                           WHITEWATER        WI         53190                  6004               Various                                                                                               $15.02
ALEX HALL                     23826 HOLLY RD                                                   LANESBORO         MN         55949                  6004               Various                                                                                                $3.00
ALEX HARRINGTON               PO BOX 225                                                       SIDNEY            MT         59270                  6002               Various                                                                                                $5.95
ALEX HYNE                     1570 ELM STREET                                                  GREEN BAY         WI         54302                  6666               Various                                                                                               $44.00
ALEX J KRIPPNER               205 ADAMS ST SE                                                  HUTCHINSON        MN         55350                  6002               Various                                                                                                $6.36
ALEX J SOHRWEIDE              5294 W SILVER LAKE RD                                            LAONA             WI         54541                  6002               Various                                                                                                $2.68
ALEX J. BRESTER               2856 CAROLINA CHERRY DR                                          GREEN BAY         WI         54313                  6002               Various                                                                                                $6.55
ALEX JINKINSON                1940 E 9TH ST                                                    SHELDON           IA         51201                  6002               Various                                                                                                $0.63
ALEX KOELLER                  300 INDIAN SUMMER RD                                             MARSHALL          WI         53559                  6004               Various                                                                                               $57.00
ALEX LASINSKI                 W8626 QUIET LANE                                                 HORTONVILLE       WI         54944                  6004               Various                                                                                               $10.00
ALEX LONDO                    1003 PARK ST APT 4                                               HARLAN            IA         51537                  6002               Various                                                                                                $3.10
ALEX LOROFF                   270 SOUTH OAKBROOK DR                                            LAKE MILLS        WI         53551                  6004               Various                                                                                                $1.95
ALEX LUKATS                   PO BOX 95                                                        FELCH             MI         49831                  6004               Various                                                                                               $48.80
ALEX M TILL                   422 E PARK ST                                                    WINNER            SD         57580                  6002               Various                                                                                                $9.86
ALEX MADDOX                   1124 S 8TH ST                                                    PLATTSMOUTH       NE         68048                  6002               Various                                                                                                $0.36
ALEX MARTIN                   12739 HARTFORD AVE                                               OROFINO           ID         83544                  6002               Various                                                                                                $6.68
ALEX MILLER                   534 W SOUTH PARK AVE                                             OSHKOSH           WI         54902                  6002               Various                                                                                                $3.73




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                                                                                                                                                     Account         Incurred, Basis for
             Creditor Name               Address1              Address2         Address3             City          State           Zip   Country     Number                Claim                                                                             Total Claim
ALEX MODER                    1217 SO 15TH                                                   MANITOWOC          WI         54220                 6004                Various                                                                                                $4.30
ALEX PAREZ RAMIREZ            10961 STATE HIGHWAY 42                                         SISTER BAY         WI         54234                 6002                Various                                                                                                $9.59
ALEX PARRISH                  16417 N NAPA LN                                                SPOKANE            WA         99208                 6002                Various                                                                                                $4.44
ALEX PETERS                   2640 CHARLES CORT NW                                           ROCHESTER          MN         55901                 6004                Various                                                                                                $3.00

ALEX POLIVKA                  351 MADISON STREET                                             WISCONSIN RAPIDS   WI         54494                  6004               Various                                                                                               $24.00
ALEX ROSA                     209 W CARGILL ST                                               SHERBURN           MN         56171                  6002               Various                                                                                                $4.88
ALEX ROSZKOWSKI               422 DANBURY LANE                                               RACINE             WI         53403                  6004               Various                                                                                                $6.00

ALEX RUEDIGER                 1001 LINCOLN ST                                                WISCONSIN RAPIDS   WI         54494                  6004               Various                                                                                            $26.00
ALEX SANTO                    PO BOX 1312                                                    GRAFTON            WI         53024                  6002               Various                                                                                             $7.21
ALEX SCHAUER                  987 N. RIDGEVIEW COURT                                         SOBIESKI           WI         54171                  6004               Various                                                                                             $1.20
ALEX SCHIZAS                  15405 NORTH C.                                                 LINCOLN            NE         68543                  6004               Various                                                                                             $3.00
ALEX SMITH                    1259 EATON AVE                                                 BELOIT             WI         53511                  6004               Various                                                                                            $20.00
ALEX SQUIRES                  120 HIGHWOOD DR                                                EDGERTON           WI         53534                  6004               Various                                                                                             $5.80
ALEX TOYS                     PANLINE USA INC              PO BOX 3908                       BOSTON             MA         02241-3908             9314               Various                                                                                        $93,624.48
ALEX VANGHEEM                 W10692 COUNTY ROAD X                                           CRIVITZ            WI         54114                  6002               Various                                                                                             $0.30
ALEX WAGNER                   645 N LINCOLN ST                                               WEST POINT         NE         68788                  6002               Various                                                                                             $1.15
ALEX WOLCOTT                  158 S 5TH STREET                                               LOUP CITY          NE         68853                  6004               Various                                                                                             $2.00
ALEX WOLFE                    2040 N REDWOOD # 22                                            CANBY              OR         97013                  6004               Various                                                                                            $34.97
ALEX YAPIAS                   3026 W 1060 N                                                  PROVO              UT         84601                  6004               Various                                                                                            $20.00
ALEX YORK                     426 WEST SHERMAN STREEET                                       BOISE              ID         83702                  6004               Various                                                                                            $20.00
ALEXA CHAVEZ                  881 SUNFLOWER DR                                               OGDEN              UT         84404                  6002               Various                                                                                             $2.74
ALEXA ECKHOFF                 1309 GRANT ST                                                  BEATRICE           NE         68310                  6004               Various                                                                                             $2.50
ALEXA HERBECK                 1208 N WASHINGTON ST                                           JANESVILLE         WI         53548                  6002               Various                                                                                             $7.12
ALEXA KIRSCHENMANN            316 11TH ST NE APT 33                                          WATERTOWN          SD         57201                  6004               Various                                                                                            $23.00
ALEXA LANDFAIR                270 PARKMEADOW DR                                              HYDE PARK          UT         84318                  6002               Various                                                                                             $7.73
ALEXA NUTTER                  1820 KENNEDY ST                                                FENNIMORE          WI         53809                  6002               Various                                                                                             $7.34
ALEXA RUTLEDGE                947 GENIE ST SE                                                SALEM              OR         97306                  6004               Various                                                                                            $12.98
ALEXA SIEGENTHALER            325 EAST LAKE                                                  MONTICELLO         WI         53570                  6004               Various                                                                                             $2.00

ALEXA TASHIA BOWEN            3308 N LAKEHARBOR LN APT 201                                   BOISE              ID         83703                  6002               Various                                                                                             $1.12
ALEXA WEISS                   5924 COUNTY RD 16 SE                                           ROCHESTER          MN         55904                  6004               Various                                                                                            $24.98
ALEXANDER & BISHOP 1 LLC      300 N MAIN STREET            PO BOX 800                        OSHKOSH            WI         54903-0800             8540               Various                                                                                         $1,523.17
ALEXANDER BAIN                800A NORTH CLOVER LANE                                         COTTAGE GROVE      WI         53527                  6004               Various                                                                                             $2.00
ALEXANDER BORELLI             621 RUSSELL ST                                                 DE FOREST          WI         53532                  6004               Various                                                                                             $1.00
ALEXANDER BOWMAN              606 CONNOR CT. E.                                              RICHLAND           WA         99352                  6004               Various                                                                                            $10.00
ALEXANDER BROCKMANN           1210 ANTHONY AVE                                               JANESVILLE         WI         53546                  6004               Various                                                                                             $1.00
ALEXANDER CHUOP               634 30TH ST NE                                                 ROCHESTER          MN         55906                  6002               Various                                                                                             $4.66
ALEXANDER CLIFFORD            W3566 STEVENSON RD                                             IRMA               WI         54442                  6002               Various                                                                                             $8.99
ALEXANDER CYMBALAK            3025 THINNES ST                                                CROSS PLAINS       WI         53528                  6004               Various                                                                                            $11.40
ALEXANDER DALEBROUX           2763 BAY SETTLEMENT RD                                         GREEN BAY          WI         54311                  6002               Various                                                                                             $4.38
ALEXANDER DEBLIECK            115 QUAL RIDGE DR                                              ZUMBROTA           MN         55992                  6004               Various                                                                                             $6.12
ALEXANDER DO RUELLE           855 SMITH ST                                                   WAUPACA            WI         54981                  6002               Various                                                                                             $5.53
ALEXANDER ERDMAN              855 WATER ST                                                   WHEATLAND          WY         82201                  6002               Various                                                                                             $3.53
ALEXANDER GIBSON              2702 JOSEPH AVE                                                WESTON             WI         54476                  6004               Various                                                                                             $3.00
ALEXANDER HANDO               N7562 TOWNLINE RD                                              FOND DU LAC        WI         54937                  6004               Various                                                                                             $3.27
ALEXANDER HANS                5302 RUSTLING OAKS LN                                          MC FARLAND         WI         53558                  6004               Various                                                                                            $55.70
ALEXANDER HEIN                1520 CLARK ST APT B                                            MANITOWOC          WI         54220                  6004               Various                                                                                             $3.00
ALEXANDER HURD                1236 S. DEWEY ST.                                              EAU CLAIRE         WI         54703                  6004               Various                                                                                            $25.00
ALEXANDER IMMENDORF           1326 VIENNA LANE                                               MADISON            WI         53718                  6004               Various                                                                                             $5.70
ALEXANDER JERDE               W5974 GLAZING STAR DR.                                         APPLETON           WI         54915                  6004               Various                                                                                            $56.75
ALEXANDER KING                31841 FRONTIER AVE                                             STACY              MN         55079                  6004               Various                                                                                             $4.16
ALEXANDER KNAPP               8740 FRAME RD                                                  BLUE MOUNDS        WI         53517                  6004               Various                                                                                             $5.00




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             Creditor Name               Address1               Address2           Address3             City        State           Zip   Country     Number                Claim                                                                             Total Claim
ALEXANDER KRESS               17 S. HANCOCK ST APT 5                                            MADISON          WI         53703                 6004                Various                                                                                                $5.40
ALEXANDER KRONFORST           115 APT B NORTH 10TH STREET                                       MANITOWOC        WI         54220                 6004                Various                                                                                               $23.00
ALEXANDER KRUEGER             919 N DREW ST                                                     APPLETON         WI         54911                 6004                Various                                                                                               $67.00
ALEXANDER KWASNY              712 GRANT ST                                                      DE PERE          WI         54115                 6002                Various                                                                                                $9.40
ALEXANDER LANGE               N6340 CONSERVATION RD                                             ALBANY           WI         53502                 6004                Various                                                                                                $5.00
ALEXANDER LOWE                2024 111TH ST                                                     THURMAN          IA         51654                 6002                Various                                                                                               $10.00
ALEXANDER MCGUIRE             316 SOUTH MOORE ST.                                               ALGONA           IA         50511                 6004                Various                                                                                               $16.00
ALEXANDER MCLAUGHLIN          300 E 54TH AVE                                                    MITCHELL         SD         57301                 6004                Various                                                                                               $10.00
ALEXANDER MERCER              1711 HUNT AVE                                                     RICHLAND         WA         99354                 6004                Various                                                                                               $10.00
ALEXANDER MOSELER             2737 13TH ST                                                      TWO RIVERS       WI         54241                 6004                Various                                                                                                $6.00
ALEXANDER NITARDY             450 WHISTLE DR                                                    HARTFORD         WI         53027                 6004                Various                                                                                                $5.95
ALEXANDER OLSON               606 S MAPLE                   APT 504                             MARSHFIELD       WI         54449                 6004                Various                                                                                               $15.99
ALEXANDER PORTER              318 LINDEN ST.                                                    FOND DU LAC      WI         54935                 6004                Various                                                                                                $1.62
ALEXANDER PYATSKOWIT          617 EAST RANDALL ST                                               SHAWANO          WI         54166                 6004                Various                                                                                                $1.00
ALEXANDER RAMIREZ             4920 SOUTH 30TH ST APT 411                                        OMAHA            NE         68107                 6004                Various                                                                                               $25.00
ALEXANDER ROBERTS             109 N MAPLE ST                                                    WATERTOWN        WI         53094                 6004                Various                                                                                                $2.00
ALEXANDER SCHNEIDER           525 WOODSIDE CT                                                   SEYMOUR          WI         54165                 6002                Various                                                                                                $3.73

ALEXANDER SEVERINO            911 HOMESTEAD VILLAGE LN SE                                       ROCHESTER        MN         55904                  6002               Various                                                                                                $4.44
ALEXANDER SHEY                4533 NE 26TH CT                                                   RENTON           WA         98059                  6004               Various                                                                                               $19.99
ALEXANDER SPIROS              555 VETERANS AVE #216                                             WEST BEND        WI         53090                  6004               Various                                                                                                $1.00
ALEXANDER STUPLICH            926 BRUNER ST                 APT 6                               RHINELANDER      WI         54501                  6004               Various                                                                                                $5.02
ALEXANDER THOMPSON            165 N 300TH TRL # 12                                              TREMONTON        UT         84337                  6002               Various                                                                                                $3.70
ALEXANDER TREVINO             4946 N WAYNE AVE                                                  PENTWATER        MI         49449                  6002               Various                                                                                                $5.07
ALEXANDER VALENZUELA          533 1/2 W PERRY ST                                                BELVIDERE        IL         61008                  6004               Various                                                                                                $3.90
ALEXANDER VANRYZIN            3117 E BONA AVE                                                   APPLETON         WI         54915                  6004               Various                                                                                               $10.00
ALEXANDER VAYSERBERG          2636 SOUTH STOUGHTON RD                                           MADISON          WI         53716                  6004               Various                                                                                               $25.00
ALEXANDER VISSERS             1341 MC CORMICK ST                                                GREEN BAY        WI         54301                  6004               Various                                                                                                $7.08
ALEXANDER WALKER              318 N 9TH ST                                                      MONMOUTH         IL         61462                  6002               Various                                                                                                $0.44
ALEXANDER WEAR                1108 22ND ST APT 3                                                GOTHENBURG       NE         69138                  6002               Various                                                                                                $2.96
ALEXANDER WINKLER             626 N SUPERIOR ST                                                 DE PERE          WI         54115                  6002               Various                                                                                                $4.19
ALEXANDER WITT                68 US HIGHWAY 16 E SPC 3                                          BUFFALO          WY         82834                  6002               Various                                                                                                $2.14
ALEXANDER YURSKE              925 MAIN ST                                                       BELGIUM          WI         53004                  6002               Various                                                                                                $2.77
ALEXANDER ZAHN                2473 SUN VALLEY CT                                                GREEN BAY        WI         54304                  6002               Various                                                                                               $25.29
ALEXANDER ZARNEKE             3234 E GREENLEAF DR                                               APPLETON         WI         54913                  6002               Various                                                                                                $8.71

ALEXANDER/ BRONSON            STORE 145                     SHOPKO EMPLOYEE                     GREEN BAY        WI         54307-9060             7674               Various                                                                                               $54.57
ALEXANDEREA KIRSCHENMANN      PO BOX 513                                                        IPSWICH          SD         57451                  6004               Various                                                                                               $20.00
ALEXANDRA ALLARD              701 BRIDGE ST                                                     CORNELL          WI         54732                  6004               Various                                                                                               $23.00
ALEXANDRA ANDRES              1737 SPRING CREEK RD                                              BELVIDERE        IL         61008                  6004               Various                                                                                                $3.90
ALEXANDRA BACHMANN            734 SOUTH FANCHER ROAD                                            RACINE           WI         53406                  6004               Various                                                                                                $7.05
ALEXANDRA BARNES              817 N . LOCUSTS                                                   GRAND ISLAND     NE         68801                  6004               Various                                                                                                $4.00
ALEXANDRA CARR                2430 MARY ST LOT 66                                               MARINETTE        WI         54143                  6002               Various                                                                                               $10.00
ALEXANDRA COPE                1224 3RD AVE NE APT 24                                            ABERDEEN         SD         57401                  6002               Various                                                                                                $6.79
ALEXANDRA DEGAN               826 E POST ROAD                                                   BELOIT           WI         53511                  6004               Various                                                                                                $2.02
ALEXANDRA EBNER               1401 MCKENNA BLVD APT 2                                           MADISON          WI         53711                  6002               Various                                                                                                $4.58
ALEXANDRA GALLENTINE          2044 HIGHWAY 275 LOT 18                                           WEST POINT       NE         68788                  6002               Various                                                                                                $2.68
                              2685 SO RICHLAND PARK DRIVE
ALEXANDRA GODINEZ             APT 3                                                             SALT LAKE CITY   UT         84119                   6004              Various                                                                                                $1.99
ALEXANDRA HENNEN              15593 CTY RD 159                                                  AVON             MN         56310                   6004              Various                                                                                               $23.00
ALEXANDRA HERMANSON           1331 VILLAGE DR APT 305                                           RAPID CITY       SD         57701                   6004              Various                                                                                                $5.00
ALEXANDRA HOUGH               4069 MYLIUS RD                                                    WENATCHEE        WA         98801                   6004              Various                                                                                                $3.95
ALEXANDRA KENYON              16 PATTERSON SPRINGS RD                                           CAMARGO          IL         61919                   6002              Various                                                                                                $0.82
ALEXANDRA M WILSON            302 W MOSES ST                                                    LYONS            KS         67554                   6002              Various                                                                                                $0.77




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                                                                                                                                                                                                                                   Claim subject to offset?
                                                                                                                                                                                                         Unliquidated
                                                                                                                                                                                            Contingent


                                                                                                                                                                                                                        Disputed
                                                                                                                                                   Last 4 Digits of     Date Debt was
                                                                                                                                                      Account         Incurred, Basis for
             Creditor Name                Address1               Address2         Address3             City         State           Zip   Country     Number                Claim                                                                             Total Claim
ALEXANDRA MARTEN              2262 PIEHLS POINT RD                                             RHINELANDER     WI           54501                 6002                Various                                                                                                $6.96
ALEXANDRA OVERBY              106 JANESVILLE STREET                                            OREGON          WI           53575                 6004                Various                                                                                                $1.00
ALEXANDRA REEVES              110 N STATE HWY 13                                               STETSONVILLE    WI           54480                 6004                Various                                                                                                $3.00
ALEXANDRA ROEMEN              912 N. IOWA AVE             APT.10                               DELL RAPIDS     SD           57022                 6004                Various                                                                                                $6.95
ALEXANDRA ROSE                435 NORTH 44TH STREET       APT 1420                             LINCOLN         NE           68503                 6004                Various                                                                                                $9.00
ALEXANDRA SCHACHTNER          1368 PINEVIEW TRAIL                                              HOULTON         WI           54082                 6004                Various                                                                                               $23.00
ALEXANDRA SIMPSON             19026 B ST                                                       OMAHA           NE           68130                 6002                Various                                                                                                $7.53
ALEXANDRA SOTO                1113 COLORADO ST                                                 BELLEVUE        NE           68005                 6004                Various                                                                                                $4.00
ALEXANDRA UNRUH               R3172 TOWNHALL RD           APT A                                RINGLE          WI           54471                 6004                Various                                                                                               $25.00
ALEXANDRA VRANEY              4506 AUGUSTINE AVE                                               WESTON          WI           54476                 6004                Various                                                                                               $23.00
ALEXANDRIA ADAMS              15005 EUREUX STREET                                              BELLEVUE        NE           68123                 6004                Various                                                                                               $11.75
ALEXANDRIA CARLSON            2444 SAND DOLLAR CT                                              GREEN BAY       WI           54313                 6004                Various                                                                                               $22.00
ALEXANDRIA FORBES             211 HUBBARD ST                                                   RACINE          WI           53402                 6004                Various                                                                                                $3.00
ALEXANDRIA FREAND             2937 MAGNOLIA ST APT 201                                         LEWISTON        ID           83501                 6004                Various                                                                                                $5.00
ALEXANDRIA GILSON             3104 GLENNMORE RD                                                GREEN BAY       WI           54311                 6004                Various                                                                                               $13.80
ALEXANDRIA HICKEY             N11562 AUTUMN ST                                                 ANIWA           WI           54408                 6004                Various                                                                                               $25.00
ALEXANDRIA JANSEN             2339 PECAN ST. APT. #2                                           GREEN BAY       WI           54311                 6004                Various                                                                                                $1.41
                              400 NORTH PORT WASHINGTON
ALEXANDRIA SARTER             ROAD                                                             MILWAUKEE       WI           53217                  6004               Various                                                                                                $5.40
ALEXANDRIA THOMPSON           204 18TH AVE NW                                                  GREAT FALLS     MT           59404                  6004               Various                                                                                                $5.00
ALEXANDRIA TOBIN              936 WALLUA AVE.                                                  WALLA WALLA     WA           99362                  6004               Various                                                                                                $9.97
ALEXANDRIA WELCH              6223 SHEPHERD RD. E                                              SHEPHERD        MT           59079                  6004               Various                                                                                               $10.00
ALEXANNE PARKS                1215 JACKSON ST.            #201                                 STOUGHTON       WI           53589                  6004               Various                                                                                                $2.00
ALEXCIS HATFIELD              BOX 434                                                          LAKEFIELD       MN           56150                  6004               Various                                                                                                $3.00
ALEXI LAFLAMME                221 HAVEL RD.                                                    RICE LAKE       WI           54868                  6004               Various                                                                                               $20.00
ALEXIA MARTINEZ               502 1/2 NORTH SPRING ST                                          BEAVER DAM      WI           53916                  6004               Various                                                                                                $1.00
ALEXIA R WENTWORTH            1714 N 5TH ST                                                    SAINT PETER     MN           56082                  6002               Various                                                                                                $3.92
ALEXIA ROBINSON               320 HEMLOCK ST                                                   RHINELANDER     WI           54501                  6004               Various                                                                                                $5.00
ALEXIS ANGE                   2108 N 6TH ST               APT 3                                WAUSAU          WI           54403                  6004               Various                                                                                                $3.00
ALEXIS BACHUS                 5403 DENNIS DR                                                   MC FARLAND      WI           53558                  6004               Various                                                                                                $2.00
ALEXIS BAKKER                 605 S MULBERRY ST                                                ELLSWORTH       MN           56129                  6002               Various                                                                                                $7.40
ALEXIS CARVER                 5968 CHRISTINE COURT                                             BURLINGTON      WI           53105                  6004               Various                                                                                                $3.00
ALEXIS CHRISTMAN              5263 CORNER COURT                                                WAUNAKEE        WI           53597                  6004               Various                                                                                                $3.00
ALEXIS COORDES                PO BOX 183                                                       PIERCE          ID           83546                  6002               Various                                                                                                $1.73
ALEXIS DREWEL                 404 N 5TH AVE                                                    ALBANY          WI           53502                  6004               Various                                                                                                $1.00
ALEXIS ELDOR BOSCHEE          39526 132ND ST                                                   BATH            SD           57427                  6002               Various                                                                                                $0.77
ALEXIS EVERSDYK               311 W FRANKLIN ST                                                THORP           WI           54771                  6002               Various                                                                                                $2.22
ALEXIS FRAZIER                5421 DAY TRIPPER DRIVE                                           MADISON         WI           53718                  6004               Various                                                                                               $25.00
ALEXIS GARCIA                 516 WARREN AVE                                                   BELVIDERE       IL           61008                  6004               Various                                                                                                $3.90
ALEXIS GERDES                 1840 MAINE STREET                                                QUINCY          IL           62301                  6004               Various                                                                                                $2.04
ALEXIS GRABLE                 153 GILLETT ST                                                   FOND DU LAC     WI           54935                  6004               Various                                                                                                $1.00
ALEXIS HALVORSON              1700 30TH AVE #46                                                MONROE          WI           53566                  6004               Various                                                                                               $25.00
ALEXIS HANSON                 502 N MAIN ST                                                    BLACK CREEK     WI           54106                  6004               Various                                                                                               $10.00
ALEXIS HAUGE                  217 10TH AVE SW APT #2                                           ABERDEEN        SD           57401                  6004               Various                                                                                                $8.00
ALEXIS HOGUE                  208 S LEXINGTON DR                                               JANESVILLE      WI           53545                  6004               Various                                                                                               $10.02
ALEXIS HUELSMAN               400 W MACKIE ST                                                  BEAVER DAM      WI           53916                  6004               Various                                                                                               $20.00
ALEXIS JOHNSON                606 KENDALL ST.                                                  MARSHALL        MN           56258                  6004               Various                                                                                               $78.67
ALEXIS KAMPPI                 920 HACKETT ST                                                   BELOIT          WI           53511                  6004               Various                                                                                                $1.00
ALEXIS KOTILA                 650 MOOERS AVE SE                                                COKATO          MN           55321                  6002               Various                                                                                                $8.82
ALEXIS KRAMER                 1011 N LEXINGTON DR                                              JANESVILLE      WI           53545                  6004               Various                                                                                                $4.00
ALEXIS KULHANEK               731 WEST 3RD STREET                                              APPLETON        WI           54914                  6004               Various                                                                                                $2.00
ALEXIS L RODAS-CHICAS         2224 1/2 CIRCLE DR                                               WORTHINGTON     MN           56187                  6002               Various                                                                                                $9.18
ALEXIS LATCH                  1539 N JEFFERSON AVE                                             MASON CITY      IA           50401                  6002               Various                                                                                                $3.92
ALEXIS LAURY                  2352 E. CLIFTON DRIVE                                            MERIDIAN        ID           83642                  6004               Various                                                                                               $10.02




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                                                                                                                                                                                            Contingent


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               Creditor Name                Address1            Address2           Address3             City         State         Zip    Country     Number                Claim                                                                             Total Claim
ALEXIS MACKIN                   2920 HUNTERS RUN RD                                             KAUKAUNA          WI         54130                6002                Various                                                                                            $10.00
ALEXIS MAHLOCH                  4101 N 44TH                                                     LINCOLN           NE         68504                6004                Various                                                                                             $4.00
ALEXIS MARIE MCCARTHY           26049 E STATE HIGHWAY 112                                       LE CENTER         MN         56057                6002                Various                                                                                             $3.26
ALEXIS MIRON                    E2947 H-44                                                      TRAUNIK           MI         49891                6002                Various                                                                                             $6.99
ALEXIS MONROE                   508 E MAPLE ST                                                  SISSETON          SD         57262                6002                Various                                                                                             $0.66
ALEXIS NYHOLM                   15217 Y ST                                                      OMAHA             NE         68137                6002                Various                                                                                             $2.99
ALEXIS P DUMARCE                12307 3RD ST                                                    SISSETON          SD         57262                6002                Various                                                                                             $1.40
ALEXIS PEAK                     4117 SOUTH RESERVE STREET                                       MISSOULA          MT         59803                6004                Various                                                                                             $5.00
ALEXIS R ZUNKER                 E2436 COUNTY ROAD A                                             LUXEMBURG         WI         54217                6002                Various                                                                                             $0.63
ALEXIS RUTHERFORD               1711 BURTON                                                     BELOIT            WI         53511                6004                Various                                                                                             $5.50
ALEXIS SCHULTZ                  1909 GREEN TREE RD                                              WEST BEND         WI         53090                6004                Various                                                                                             $2.00
ALEXIS SELL                     1715 ESTATES CT                                                 GREEN BAY         WI         54304                6002                Various                                                                                             $6.03
ALEXIS SHIPLEY                  961 HILCREST HEIGHTS                                            GREEN BAY         WI         54313                6004                Various                                                                                             $1.00
ALEXIS VANN                     3821 FORT ST                                                    OMAHA             NE         68111                6004                Various                                                                                             $2.00
ALEXIS WILLIAMS                 3517 PARKER ST                                                  OMAHA             NE         68111                6004                Various                                                                                             $4.00
ALEXIS WORKMAN                  210 BENNETT ST                                                  CLINTONVILLE      WI         54929                6002                Various                                                                                             $1.95
ALEXIS WYRICK                   417 S. WASSON LANE          APT 204                             RIVER FALLS       WI         54022                6004                Various                                                                                             $1.00
ALEXUS BUCKINGHAM               1910 PIKE DRIVE APT. 6                                          MADISON           WI         53713                6004                Various                                                                                             $3.00
ALEXY ARANDA                    1227 S. ROOSEVELT ST                                            GREEN BAY         WI         54301                6004                Various                                                                                             $1.00
ALEYAH KAHL                     556 FROSTFIELD DR                                               KAUKAUNA          WI         54130                6002                Various                                                                                             $2.22
ALFONSO A MESA                  1605 16TH ST UNIT 1D                                            WHEATLAND         WY         82201                6002                Various                                                                                             $2.30
ALFONSO MESA                    120 S 5TH ST APT 303                                            DOUGLAS           WY         82633                6002                Various                                                                                             $1.94
ALFONZO RAMIREZ                 905 14TH ST                                                     WISNER            NE         68791                6002                Various                                                                                             $4.44
ALFRED B BOUNDS                 HC 1 BOX 66B                                                    GRANDIN           MO         63943                6002                Various                                                                                             $0.85
ALFRED BERRY                    109-42 167TH STR                                                JAMAICA           NY         11433                6004                Various                                                                                            $30.01
ALFRED CIARLETTA                3627 SHERWOOD PL SE                                             ROCHESTER         MN         55901                6004                Various                                                                                            $11.45
ALFRED GROHOLSKI                383 CLINTON CT APT 6                                            AMHERST           WI         54406                6002                Various                                                                                             $3.12
ALFRED HINTZ                    5201 PLOVER RD                                                  WISCONSIN RAPID   WI         54494                6002                Various                                                                                             $8.90
ALFRED MILLER                   4368 BUSH VALLEY RD                                             LA CRESCENT       MN         55947                6002                Various                                                                                             $0.60
ALFRED SLOVER                   508 13TH ST                                                     WHEATLAND         WY         82201                6002                Various                                                                                             $4.47
ALFREDO MARTINEZ                114 CHATHAM ST                                                  BEAVER DAM        WI         53916                6002                Various                                                                                             $8.16
ALFREDO RODRIGUEZ               3309 CHERRY LANE                                                BELLEVUE          NE         68147                6004                Various                                                                                            $17.50
ALGOMA NET COMPANY (C-HUB)      GLEASON CORP                PO BOX 776213                       CHICAGO           IL         60677-6213           6603                Various                                                                                           $667.36
ALI AL'HAJAMI                   2890 HAZELNUT CIR                                               TAYLORSVILLE      UT         84118                6004                Various                                                                                            $20.00
ALI ALJAFF                      2140 ELIZABETH BLVD 29A                                         TWIN FALLS        ID         83301                6004                Various                                                                                            $34.99
ALI CARLSON                     4236 ORION DR                                                   JANESVILLE        WI         53546                6002                Various                                                                                             $5.73
ALI ELABEDI                     1223 ABEL ST.                                                   WORTHINGTON       MN         56187                6004                Various                                                                                            $16.00
ALI NEFF                        1195 CHRISTOPHER DR         APT 5                               NEENAH            WI         54956                6004                Various                                                                                            $13.80
ALIA RHINEHART                  4700 S 5TH #27                                                  POCATELLO         ID         83204                6004                Various                                                                                            $34.97
ALICE BRUSS                     1337 S. BUCHANAN ST.                                            APPLETON          WI         54915                6004                Various                                                                                             $2.00
ALICE BURKS                     4024 PAXTON BLVD                                                OMAHA             NE         68111                6004                Various                                                                                             $2.00
ALICE DERRA                     4800 TURNER AVE.                                                MADISON           WI         53716                6004                Various                                                                                             $1.95
ALICE DOHMANN                   703 BLAIR ST P O BOX # 6                                        LOWELL            WI         53557                6002                Various                                                                                             $3.51
ALICE F HUMPHREY                522 N SPRING ST                                                 PALMYRA           MO         63461                6002                Various                                                                                             $6.77
ALICE F WILLIAMS                PO BOX 788                                                      BOULDER           MT         59632                6002                Various                                                                                             $8.47
ALICE GROVER                    35622 OLD HOMER ROAD                                            WINONA            MN         55987                6004                Various                                                                                            $59.16
ALICE HARYCKI                   N16734 TIEMAN AVE                                               THORP             WI         54771                6002                Various                                                                                            $10.00
ALICE HAUSMANN                  726 2ND ST                                                      HANCOCK           MN         56244                6002                Various                                                                                             $9.32
ALICE HEIMERDINGER              15772 PLEASANT VALLEY RD                                        CALEDONIA         MN         55921                6002                Various                                                                                             $5.56
ALICE J GARCZYNSKI              1540 W RIDGE ST APT 22                                          MARQUETTE         MI         49855                6002                Various                                                                                             $1.15
ALICE JAMESON                   206 SE 2ND ST                                                   GREENFIELD        IA         50849                6002                Various                                                                                             $0.49
ALICE JEAN NELSON               W8112 COUNTY ROAD K                                             HAGER CITY        WI         54014                6002                Various                                                                                             $9.10
ALICE KEHRING                   316A 2ND ST                                                     STEVENS POINT     WI         54481                6002                Various                                                                                             $8.16




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             Creditor Name              Address1                Address2           Address3             City        State           Zip   Country      Number                Claim                                                                             Total Claim
                                                           2806 N 68TH
ALICE KNITTER                 C/O KRISTINE KNITTER         STREET                               MILWAUKEE          WI       53210                   6002               Various                                                                                               $21.26
ALICE KRIEHN                  111 MAIN ST                                                       KINGSLEY           IA       51028                   6002               Various                                                                                                $2.47
ALICE LANDER                  PO BOX 34                                                         JOLIET             MT       59041                   6002               Various                                                                                                $6.14
ALICE LESSILA                 W9962 COUNTY ROAD W                                               PHILLIPS           WI       54555                   6002               Various                                                                                                $0.85
ALICE M ROLLINS               130 E ANDERSON ST                                                 RHINELANDER        WI       54501                   6002               Various                                                                                                $7.15
ALICE MARTIN                  BOX 152                                                           NEW YORK MILLS     MN       56567                   6002               Various                                                                                                $1.89
ALICE MLEJNEK                 1020 SAINT CLAIR AVE                                              SHEBOYGAN          WI       53081                   6002               Various                                                                                                $6.52
ALICE MUNN                    2340 W SELTICE WAY           APT 256A                             COEUR D ALENE      ID       83814                   6002               Various                                                                                               $20.82
ALICE SCHUPPE                 1310 WITTMANN DR                                                  MENASHA            WI       54952                   6002               Various                                                                                               $10.00
                              1660 COUNTRY MANOR BLVD
ALICE SHOTGUNN                APT 120B                                                          BILLINGS           MT       59102                   6004               Various                                                                                                $2.00
ALICE WHITMER                 872 NICKWALL RD                                                   WOLF POINT         MT       59201                   6002               Various                                                                                                $0.49
ALICE WOODBURN                218 N 23RD ST                                                     COEUR D ALENE      ID       83814                   6002               Various                                                                                                $2.58
ALICIA A SALTZMAN             833 S 13TH ST APT 4                                               LINCOLN            NE       68508                   6002               Various                                                                                                $5.73
ALICIA BAUER                  1907 AVE B                                                        GOTHENBURG         NE       69138                   6002               Various                                                                                                $8.63
ALICIA BEAGLEY                PO BOX 1157                                                       DUCHESNE           UT       84021                   6002               Various                                                                                               $10.00
                              1129 NORTH LIBERTY STREET
ALICIA BECKER                 #317                                                              BOISE              ID       83704                   6004               Various                                                                                                $2.70
ALICIA BETHEL                 170 CLAY ST                                                       NEWAYGO            MI       49337                   6002               Various                                                                                                $0.27
ALICIA BUCHANAN               1420 E HARRIET ST                                                 APPLETON           WI       54915                   6004               Various                                                                                                $3.80
ALICIA CERVANTES              1820 S. 8TH AVE                                                   YAKIMA             WA       98902                   6004               Various                                                                                                $3.00
ALICIA CHURCH                 530 JACKSON STREET                                                FORT ATKINSON      WI       53538                   6004               Various                                                                                               $18.90
ALICIA CRUZ                   445 N 500TH W APT A                                               LOGAN              UT       84341                   6002               Various                                                                                                $7.07
ALICIA FISHLOCK               846 GRANT ST                                                      BELOIT             WI       53511                   6004               Various                                                                                                $2.00

ALICIA FRIEDERS               N3951 WASHINGTON AVE APT 4                                        KAUKAUNA           WI       54130                   6002               Various                                                                                                $8.74
ALICIA GETTIS                 608 W KNOLL AVE                                                   WENATCHEE          WA       98801                   6004               Various                                                                                               $24.00

ALICIA JACKS                  861 CENTER ST                                                     WISCONSIN RAPIDS   WI       54494                   6004               Various                                                                                               $22.00
ALICIA KEEHN                  403 1ST AVE SE APT 4                                              STEWARTVILLE       MN       55976                   6004               Various                                                                                                $9.00
ALICIA KELLY                  1487 QUATTARA                                                     IDAHO FALLS        ID       83404                   6004               Various                                                                                                $3.65
ALICIA L DORRIS               612 S GRAND AVE                                                   LYONS              KS       67554                   6002               Various                                                                                                $6.14
ALICIA LACEY                  20677 HILLCREST RD                                                FERGUS FALLS       MN       56537                   6002               Various                                                                                                $1.70
ALICIA LIMONES                104 EAST WALWORTH 301                                             DELAVAN            WI       53115                   6004               Various                                                                                               $10.00
ALICIA LOPEZ                  1315 6TH AVE                                                      WORTHINGTON        MN       56187                   6004               Various                                                                                               $23.00
ALICIA M OCONNELL             1101 S WASHINGTON AVE                                             SPRING VALLEY      MN       55975                   6002               Various                                                                                                $5.01
ALICIA M RENON                444 S ST BERNARD DR                                               DE PERE            WI       54115                   6002               Various                                                                                                $1.67
ALICIA PILARCZYK              1452 W. 1200 N.                                                   LAYTON             UT       84041                   6004               Various                                                                                               $35.00
ALICIA POWERS                 80706 EAST TABLE ROAD                                             MERNA              NE       68856                   6004               Various                                                                                               $16.00
ALICIA REED                   627A E. TAYLOR STREET                                             MEDFORD            WI       54451                   6004               Various                                                                                               $23.84
ALICIA SCHOEN                 1831 CAREFUL LANE                                                 LITTLE SUAMICO     WI       54141                   6004               Various                                                                                               $25.00
ALICIA SCHOLTING              3958 S 39TH ST                                                    OMAHA              NE       68107                   6004               Various                                                                                                $5.02
ALICIA SHULL                  1430 24TH AVE SE                                                  ROCHESTER          MN       55904                   6004               Various                                                                                                $3.00
ALICIA SMERDON                7 CYPRESS DR                                                      DULUTH             MN       55810                   6004               Various                                                                                                $6.00
ALICIA STROJNY                232 SOUTH MAPLE AVE                                               OCONTO FALLS       WI       54154                   6004               Various                                                                                               $52.96
ALICIA SWAIN                  13615 POLK PLAZA APT #706                                         OMAHA              NE       68137                   6004               Various                                                                                                $4.00
ALICIA TRACY                  1569 HIGHWAY 28                                                   SALMON             ID       83467                   6002               Various                                                                                                $0.99
ALICIA VANEVENHOVEN           1893 CTY RD J                                                     KAUKAUNA           WI       54130                   6002               Various                                                                                               $10.00
ALICIA WALTERS                3327 W BASS CREEK RD                                              BELOIT             WI       53511                   6004               Various                                                                                               $20.00
ALICIA WARD                   3641 HILLIARD ST                                                  POCATELLO          ID       83201                   6004               Various                                                                                                $4.41
ALICIA ZULEGER                516 E VERMONT AVE                                                 APPLETON           WI       54911                   6002               Various                                                                                                $8.33
ALIJA KREHO                   4934 N MONTICELLO AVE                                             CHICAGO            IL       60625                   6002               Various                                                                                                $1.45
ALINA M OSBORN                1953 WASHINGTON ST APT 2                                          LINCOLN            NE       68502                   6002               Various                                                                                                $6.41




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ALINA MORRISON                   2313 WASHINGTON STREET                                        TWO RIVERS       WI         54241                  6004                Various                                                                                             $3.00
ALINA POPA                       3203 N 4TH ST                                                 COEUR D ALENE    ID         83815                  6002                Various                                                                                             $0.60
ALISA D HELMS                    1572 E 1100TH S                                               SPANISH FORK     UT         84660                  6002                Various                                                                                             $1.56
ALISA K ANDERSON                 401 1ST ST W APT 5                                            ROUNDUP          MT         59072                  6002                Various                                                                                             $0.44
ALISA KEIDEL                     922 N PARK ST                                                 FERGUS FALLS     MN         56537                  6002                Various                                                                                             $6.68
ALISA KOLONGOWSKI                1439 5TH AVW SW                                               ROCHESTER        MN         55902                  6004                Various                                                                                             $3.00
ALISA MARTIN                     1863 154TH RD                                                 GARLAND          NE         68360                  6004                Various                                                                                             $3.00
ALISA TAYLOR                     500 E WINNEBAGO ST APT 203                                    APPLETON         WI         54911                  6004                Various                                                                                             $1.00
ALISA VULLIET                    PO BOX 693                                                    COLFAX           WA         99111                  6004                Various                                                                                             $5.00
ALISHA BELLAVANCE                356 THAIN RD                                                  LEWISTON         ID         83501                  6002                Various                                                                                             $7.73
ALISHA D LEGGE                   402 E 3RD ST                                                  WINNER           SD         57580                  6002                Various                                                                                             $8.99
ALISHA GARTON                    1024 N. HIGH POINT RD                                         MADISON          WI         53717                  6004                Various                                                                                            $40.00
ALISHA POSTLEWAITE               2117 WYOMING AVE APT 5                                        SUN PRAIRIE      WI         53590                  6004                Various                                                                                            $20.39
ALISHA VARNI                     2707 N FRUITLAND LN APT E31                                   COEUR D ALENE    ID         83815                  6002                Various                                                                                             $5.70
ALISON BERGMARK                  1036 ORCHARD ROAD                                             MANKATO          MN         56001                  6004                Various                                                                                             $2.50
ALISON BROADBENT                 4139 FAIRVIEW DR                                              IDAHO FALLS      ID         83406                  6002                Various                                                                                             $9.67
ALISON DEWERS                    N4988 SINNISSIPPI POINT RD.                                   JUNEAU           WI         53039                  6004                Various                                                                                             $1.00
ALISON FARRELL                   3380 DICKENSON RS                                             DEPERE           WI         54115                  6002                Various                                                                                             $0.74
ALISON FEICKERT                  10635 CEDAR RD                                                LONG LAKE        SD         57457                  6002                Various                                                                                             $2.11
ALISON GUEST                     626 E BADGER RD                                               MADISON          WI         53713                  6004                Various                                                                                            $35.00
ALISON GUSTAFSON                 614 WINTER ST                                                 WAKEFIELD        NE         68784                  6002                Various                                                                                             $5.23
ALISON KORTEFAY                  4220 N ST                                                     LINCOLN          NE         68510                  6004                Various                                                                                             $3.75
ALISON LANGEL                    701 16TH ST SW APT 37                                         WAVERLY          IA         50677                  6002                Various                                                                                             $9.75
ALISON LEINO                     4446 HILLCREST DR #5                                          MADISON          WI         53705                  6004                Various                                                                                            $54.00
ALISON MILEK                     525 3RD ST SW                                                 WATERTOWN        SD         57201                  6002                Various                                                                                             $9.42
ALISON SCHMIDT                   107 CANAL ST                                                  LITTLE CHUTE     WI         54140                  6002                Various                                                                                             $4.85
ALISSA ARNOTT                    1041 JEFFERSON ST                                             OSHKOSH          WI         54901                  6002                Various                                                                                             $4.14
ALISSA BARBRE                    5535 W 4260 SO                                                SALT LAKE CITY   UT         84120                  6004                Various                                                                                            $23.00
ALISSA BERNER                    6400 ROSELAWN AVE           #2                                MONONA           WI         53716                  6004                Various                                                                                             $2.00
ALISSA CASTANEDA                 1337 WEST LAWN AVE                                            RACINE           WI         53405                  6004                Various                                                                                            $19.00
ALISSA DUHON                     W2988 CREEKSIDE CT.                                           APPLETON         WI         54915                  6004                Various                                                                                             $4.00
ALISSA LEE                       2020 MEADOWVIEW ST                                            KAUKAUNA         WI         54130                  6002                Various                                                                                             $6.33
ALISSA MCCULLOCH                 826 N 12TH ST                                                 LIVINGSTON       MT         59047                  6002                Various                                                                                             $2.55
ALISSA REDDING                   802 ELIZABETH ST                                              MARSHALL         MN         56258                  6002                Various                                                                                             $3.92
ALISSA WINKLER                   3693 ROBERT PL                                                STEVENS POINT    WI         54481                  6004                Various                                                                                             $2.00
ALISSON HERNANDEZ                7545 PACIFIC ST                                               OMAHA            NE         68114                  6004                Various                                                                                             $2.00
ALITHEA HUNT                     41584 328TH LN                                                AITKIN           MN         56431                  6002                Various                                                                                             $9.21
ALIVIA HELLER                    302 W CIRCLE DR                                               COCHRANE         WI         54622                  6004                Various                                                                                            $13.00
ALIVIA LALUZERNE                 5160 LADE BEACH RD                                            LITTLE SUAMICO   WI         54141                  6004                Various                                                                                             $1.00
ALIXANDRIA LADD                  825 W WYETH ST                                                POCATELLO        ID         83204                  6002                Various                                                                                            $10.00
ALL AMERICAN ADVERTISING         PO BOX 306                                                    CLEARWATER       MN         55320                  6416                Various                                                                                           $125.00
                                 FLAT/ROOM 302, 3/F., LEE    4 QUEEN VICTORIA                                                            HONG
ALL COURTESY                     LOONG BUILDING              STREET                            CENTRAL                                   KONG     8707                Various                                                                                        $88,128.60
                                 355 EISENHOWER PARKWAY STE
ALL THE RAGES INCORPORATED (C    101                                                           LIVINGSTON       NJ         07039                    5801              Various                                                                                         $2,121.36
ALLAN CHUDOMELKA                 109 N SPRUCE ST                                               DODGE            NE         68633                    6002              Various                                                                                             $1.07
ALLAN DEL REAL                   1695 DANESFIELD                                               BELVIDERE        IL         61008                    6004              Various                                                                                             $3.90
ALLAN FISHER                     211 SE 4TH ST                                                 MADISON          SD         57042                    6002              Various                                                                                             $1.53
ALLAN JOKISAARI                  PO BOX 1522                                                   LEWISTON         ID         83501                    6004              Various                                                                                            $12.00
ALLAN KASPRAK                    110 KUHLMANN AVE                                              HATLEY           WI         54440                    6002              Various                                                                                             $6.49
ALLAN KRALEY                     200 MAPLE ST                                                  SHELBY           MI         49455                    6002              Various                                                                                             $0.58
ALLAN MATHIE                     175 PROSPECT                                                  ISHPEMING        MI         49849                    6004              Various                                                                                            $55.98
ALLAN R WENDLAND                 508 ST PAUL ST                                                STEVENS POINT    WI         54481                    6002              Various                                                                                             $8.82
ALLAN RODENSAL                   180 W 12TH ST                                                 FOND DU LAC      WI         54935                    6002              Various                                                                                             $7.59




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                                                                                                                                                                                                   Contingent


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                                                                                                                                                          Last 4 Digits of     Date Debt was
                                                                                                                                                             Account         Incurred, Basis for
             Creditor Name                      Address1               Address2            Address3            City         State         Zip    Country     Number                Claim                                                                             Total Claim
ALLAN S NODDLE                       A S NODDLE REALTY            PO BOX 24169                         OMAHA             NE         68124-0169           6259                Various                                                                                          $3,200.00
ALLAN TAYLOR                         445 E MULBERRY ST                                                 LENORA            KS         67645                6002                Various                                                                                              $5.73
ALLAN WALLA                          201 NANCY LN                                                      PULASKI           WI         54162                6002                Various                                                                                              $2.05
ALLAN WARREN                         806 NW 3RD ST                                                     ANDREWS           TX         79714                6002                Various                                                                                              $5.81
ALLANA MATUSE                        606 E IOWA ST                                                     GREENFIELD        IA         50849                6002                Various                                                                                              $4.79
ALLARD FAMILY                        119 CENTER ST                                                     OCONTO            WI         54153                6002                Various                                                                                              $7.48
ALLEGIANCE                           2806 S GARFIELD ST STE 101                                        MISSOULA          MT         59801                6004                Various                                                                                            $150.00

ALLEGIANCE BENEFIT PLAN MANAGEMENT   2806 S GARFIELD ST STE 101                                        MISSOULA          MT         59801                 6004               Various                                                                                           $105.00
ALLEGIANCE BENEFIT PLAN MGMT         2510 S RESERVE ST                                                 MISSOULA          MT         59801                 6004               Various                                                                                           $137.98
ALLEN ALDIS                          1205 UPPER FORD CREEK RD                                          OROFINO           ID         83544                 6002               Various                                                                                            $10.06
ALLEN ANDERSON                       505 E MURRAY ST                                                   BOYD              WI         54726                 6002               Various                                                                                             $8.33
ALLEN C LAPLANTE                     974 PARK ST                                                       STURGIS           SD         57785                 6002               Various                                                                                             $3.95
ALLEN CHRISTIANSON                   506 S. UNION ST.                                                  DODGEVILLE        WI         53533                 6004               Various                                                                                             $3.00
ALLEN E KINDALL                      605 W WASHINGTON ST                                               NORTON            KS         67654                 6002               Various                                                                                             $0.44
ALLEN EDMONDS LLC                    PAYMENT RECOVERY             PO BOX 30098                         COLLEGE STATION   TX         77842                 6004               Various                                                                                           $189.13
ALLEN F DAMMANN                      13001 10TH AVE S                                                  ZIMMERMAN         MN         55398                 6002               Various                                                                                             $6.00
ALLEN G SCHULZ                       4309 INDIAN SPRINGS DR                                            WAUSAU            WI         54401                 6002               Various                                                                                             $2.55
ALLEN G THURMAN                      937 ARAPAHOE ST                                                   THERMOPOLIS       WY         82443                 6002               Various                                                                                            $10.00
ALLEN GUSTAFSON                      E9382 SUNNYVIEW CT                                                NEW LONDON        WI         54961                 6002               Various                                                                                             $9.04
ALLEN GUTHMILLER                     1612 N. 20TH ST.                                                  ABERDEEN          SD         57401                 6004               Various                                                                                            $60.80
ALLEN HAGER                          5124 N 13 ST                                                      OMAHA             NE         68110                 6004               Various                                                                                            $99.99
ALLEN HARTMAN                        11108 PT CREEK RD                                                 NEWTON            WI         53063                 6002               Various                                                                                             $6.93
ALLEN HATTEN                         200 RUBY STREET                                                   VILLE GROVE       IL         61956                 6002               Various                                                                                             $4.99
ALLEN J DIMON                        309 S ORANGE ST                                                   KALKASKA          MI         49646                 6002               Various                                                                                             $0.79
ALLEN KENT HOLDEN                    916 S HANSING ST                                                  SYRACUSE          IN         46567                 6002               Various                                                                                             $9.07
ALLEN KIME                           1411 ALDER AVE TRLR 5                                             LEWISTON          ID         83501                 6002               Various                                                                                             $8.38
ALLEN KISER                          1608 GATEWAY BLVD.           APT. 12                              BELOIT            WI         53511                 6004               Various                                                                                            $48.50
ALLEN LEWIS                          500 ST PAUL AVE              SMB 4059                             LINCOLN           NE         68504                 6004               Various                                                                                            $24.00
ALLEN MARTINEZ                       5451 W. WILD OAK DR                                               WEST JORDAN       UT         84081                 6004               Various                                                                                            $12.96
ALLEN MC QUADE                       209 PINE ST.                                                      MANAWA            WI         54949                 6004               Various                                                                                             $3.00
ALLEN NALIPINSKI                     10215 475TH ST                                                    HARRIS            MN         55032                 6004               Various                                                                                             $3.00
ALLEN OLSON                          1107 E. SYLVAN AVE.                                               APPLETON          WI         54915                 6004               Various                                                                                            $25.00
ALLEN PETSCHOW                       321 W 3RD ST                                                      WINONA            MN         55987                 6002               Various                                                                                             $8.22
ALLEN RASK                           811 E 7TH ST                                                      ALLIANCE          NE         69301                 6002               Various                                                                                             $5.45
ALLEN ROLLINS                        2872 BUTTE ST                                                     POCATELLO         ID         83201                 6002               Various                                                                                             $1.64
ALLEN SCHENK                         151 W 200TH N                                                     SMITHFIELD        UT         84335                 6002               Various                                                                                             $6.33
ALLEN TAFT                           2419 HAANSTAD RD                                                  EAU CLAIRE        WI         54703                 6002               Various                                                                                             $5.56
ALLEN THOMPSON                       N14262 COUPENAVER AVE                                             STANLEY           WI         54768                 6002               Various                                                                                             $7.73
ALLEN UMENTUM                        PO BOX 135                                                        PULASKI           WI         54162                 6002               Various                                                                                             $1.01
ALLEN W HAYGOOD                      PO BOX 278                                                        GLENDO            WY         82213                 6002               Various                                                                                             $7.01

ALLEN/ DUANE                         STORE 2-656                  SHOPKO EMPLOYEE PO BOX 2035          KALKASKA          MI         49646-0000             8542              Various                                                                                           $882.80

ALLEN/ MELISSA                       STORE 775                    SHOPKO EMPLOYEE 31071 US HIGHWAY 2   LIBBY             MT         59923                 4979               Various                                                                                             $8.13
ALLENDA F CAMPBELL                   196 W HAYCRAFT AVE                                                COEUR D ALENE     ID         83815                 6002               Various                                                                                             $3.07
ALLENE ROBINSON                      BOX 324                                                           BEDFORD           WY         83112                 6002               Various                                                                                             $7.15
ALLERGAN USA                         PO BOX 740901                                                     LOS ANGELES       CA         90074-0901            7521               Various                                                                                        $40,153.62
ALLEY VOPALENSKY                     7420 HIDDEN VALLEY DR                                             LINCOLN           NE         68526                 6002               Various                                                                                             $5.10
ALLI WALZ                            4 GROVE STREET                                                    EVANSVILLE        WI         53536                 6004               Various                                                                                             $2.00
ALLIANCE BEVERAGE DISTRIBUTING       FINTECH                      SHOPKO STORES      PO BOX 19060      GREEN BAY         WI         54307-9060            5469               Various                                                                                          $363.91
ALLIANCE/ CITY OF                    PO BOX D                                                          ALLIANCE          NE         69301                 6667               Various                                                                                            $60.00
                                                                                                                                                                             12/4/2018 -
ALLIANT ENERGY/IPL                   PO BOX 3060                                                       CEDAR RAPIDS      IA         52406-3060             0000              1/4/2019                                                                                       $27,779.45




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                                                                                                                                                       Account         Incurred, Basis for
            Creditor Name                  Address1                Address2         Address3            City        State           Zip   Country      Number                Claim                                                                             Total Claim
                                                                                                                                                                       12/13/2018 -
ALLIANT ENERGY/WP&L              PO BOX 3060                                                     CEDAR RAPIDS      IA       52406-3060              0000               1/14/2019                                                                                      $52,545.81
ALLIE BLECKE                     1818 LINCOLN AVE                                                PLATTSMOUTH       NE       68048                   6002               Various                                                                                             $5.95
ALLIE HAGBERG                    9124 M AVE.                                                     WAPELLO           IA       52653                   6004               Various                                                                                            $10.00
ALLIE JANE KOZUB                 7157 S CHASE RD                                                 SOBIESKI          WI       54171                   6002               Various                                                                                             $2.85
ALLIE LONG                       7717 SHILOH RD.                                                 VIRGINIA          IL       62691                   6004               Various                                                                                            $53.24
ALLISEN SMITH                    5096 S JEDEDIAH DR                                              KEARNS            UT       84118                   6004               Various                                                                                            $44.99
ALLISON ACEVEDO CARINO           3119 VINTON ST                                                  OMAHA             NE       68105                   6004               Various                                                                                            $60.00
ALLISON AFUOLA                   3175 FINALE CT NE                                               SALEM             OR       97301                   6004               Various                                                                                            $16.00
ALLISON BENEDICT                 2704 OLD SKYLINE RD                                             INKOM             ID       83245                   6004               Various                                                                                            $10.04
ALLISON BLOOM                    621 COPERNICUS WAY                                              MADISON           WI       53718                   6004               Various                                                                                             $1.00
ALLISON BROWN-CORSON             14185 PINE ST                                                   OMAHA             NE       68144                   6002               Various                                                                                             $4.03
ALLISON CAMPBELL                 705 ELDORADO STREET SE        APT 5                             OWATONNA          MN       55060                   6004               Various                                                                                            $20.00
ALLISON CASANOVA                 3200 MAPLE AVE                                                  SLAYTON           MN       56172                   6004               Various                                                                                             $3.00
ALLISON CURTIS                   506 5TH AVE                                                     EAU CLAIRE        WI       54703                   6004               Various                                                                                            $60.00
ALLISON ELIS COYLE               704 HARDING ST                                                  BELLE FOURCHE     SD       57717                   6002               Various                                                                                             $3.04
ALLISON EPPENS                   1603 SOUTH DELAWARE                                             MASON CITY        IA       50401                   6004               Various                                                                                             $1.90
ALLISON GILL                     5020 CTY RD T                                                   WHITELAW          WI       54247                   6004               Various                                                                                            $34.00
ALLISON HAUKAPP                  404 EAST GREEN STREET                                           AUGUSTA           IL       62311                   6004               Various                                                                                            $29.76
ALLISON J. CRONK                 1721 WILLOW CREEK PRKWAY                                        CHIPPEWA FALLS    WI       54729                   6002               Various                                                                                             $6.71
ALLISON KRAUSE                   119 EAST 3RD STREET                                             WINONA            MN       55987                   6004               Various                                                                                             $3.00
ALLISON LINAHON                  PO BOX 312                                                      VENTURA           IA       50482                   6004               Various                                                                                             $3.00
ALLISON LOCK                     639 DAUPHIN ST                                                  GREEN BAY         WI       54301                   6004               Various                                                                                             $2.00
ALLISON M FISCHER                916 9TH AVE S                                                   PARK FALLS        WI       54552                   6002               Various                                                                                             $5.40
ALLISON M. BROWN                 122 HARMONY ST UNIT 1B                                          BUFFALO           WY       82834                   6002               Various                                                                                             $6.00
ALLISON MONTES DE OCA            555 2ND ST E                                                    COKATO            MN       55321                   6002               Various                                                                                             $2.14
ALLISON MORGAN                   390 FISHBURN DRIVE                                              BRIGHAM CITY      UT       84302                   6004               Various                                                                                            $48.00
ALLISON MOTE                     737 NORTH ST                                                    RACINE            WI       53402                   6004               Various                                                                                             $7.00
ALLISON NASH                     3978 SEWARD ST                                                  OMAHA             NE       68111                   6004               Various                                                                                             $4.00
ALLISON SLOAN                    203 STIER LANE PO BOX # 311                                     GRAND MEADOW      MN       55936                   6002               Various                                                                                             $8.96
ALLISON SVENDSGAARD              638 W CAVOUR AVE                                                FERGUS FALLS      MN       56537                   6002               Various                                                                                             $9.62
ALLISON SWANSON                  N1313 KELLER RD.                                                MARINETTE         WI       54143                   6004               Various                                                                                            $10.00
ALLISON ZIRNHELT                 1201 E 27TH STREET                                              MARSHFIELD        WI       54449                   6004               Various                                                                                             $6.02
ALLSTAR MARKETING GROUP L L C    2 SKYLINE DRIVE                                                 HAWTHORNE         NY       10532                   6525               Various                                                                                        $36,494.62
ALLURE EYEWEAR                   28243 NETWORK PLACE                                             CHICAGO           IL       60673-1282              2228               Various                                                                                         $8,777.08

ALLY ANN BICHLER                 W168 N9221 GRAND AVE                                            MENOMONEE FALLS   WI       53051                   6002               Various                                                                                                $9.21
ALLYSA WOLTER                    3658 FLINTLOCK RD                                               SUAMICO           WI       54173                   6004               Various                                                                                                $1.20
ALLYSE BELANGER                  226 WHETSTONE RD.                                               MARQUETTE         MI       49855                   6004               Various                                                                                               $40.00
ALLYSON ARCHAMBO                 1942 COUNTY HIGHWAY C                                           GREEN BAY         WI       54313                   6002               Various                                                                                                $6.08
ALLYSON FRENCH                   1801 CEMETARY RD.                                               MEREDOSIA         IL       62665                   6004               Various                                                                                                $5.00
ALLYSON GROHER                   1702 PREBLE AVE                                                 GREEN BAY         WI       54302                   6004               Various                                                                                                $4.40
ALLYSON J LOCH                   1911 GOLDEN BELL DR                                             GREEN BAY         WI       54313                   6002               Various                                                                                                $6.25
ALLYSON RUTTEN                   1303 GALETA AVE #D                                              NORFOLK           NE       68701                   6004               Various                                                                                                $4.89
ALLYSON VALDOVINOS               225 N MAIN ST                                                   JUNEAU            WI       53039                   6004               Various                                                                                               $12.66
ALLYSSA HUCK                     130 CUSTER AVENUE #1                                            BILLINGS          MT       59101                   6004               Various                                                                                               $76.00
ALMA ALLEN                       231 1ST AVE SE                                                  SHELBY            MT       59474                   6002               Various                                                                                                $1.53
ALMA ANAYA                       345 PARKVIEW CT                                                 WAUTOMA           WI       54982                   6004               Various                                                                                                $2.00
ALMA CERVANTES                   320 RIDGEVIEW LANE                                              WAPATO            WA       98951                   6004               Various                                                                                               $10.02
ALMA GONZALEZ                    4003 SUNNYBROOKE DR.                                            POCATELLO         ID       83202                   6004               Various                                                                                               $33.00
ALMA ROBLES                      261 W A AVE                                                     WENDELL           ID       83355                   6004               Various                                                                                                $3.65
ALMA ROGEL                       4714 SOUTH 13TH ST.                                             OMAHA             NE       68107                   6004               Various                                                                                                $4.00
ALMA SALAZAR                     2396 SYCAMORE DR APT 2                                          GREEN BAY         WI       54311                   6002               Various                                                                                                $7.07
ALMA SHAFER                      708 N DELAWARE                                                  MASON CITY        IA       50401                   6004               Various                                                                                               $10.00




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                                                                                                                                                        Account       Incurred, Basis for
            Creditor Name                     Address1            Address2         Address3             City          State           Zip   Country     Number              Claim                                                                             Total Claim
ALMEADA CALDWELL                  1301 B ST                                                     OMAHA            NE           68108                 6004              Various                                                                                               $4.00
                                                             18948 N RAMSEY
ALMOND BLOSSOM LLC                JACK BEUKELMAN             RD                                 RATHDRUM         ID           83858                   6070            Various                                                                                         $6,812.50
ALONDRA GONZALEZ                  5760 STATE ROUTE 22                                           TOPPENISH        WA           98948                   6004            Various                                                                                             $7.01
ALONDRA PINEDA                    1036 MEADOW STREET         APT 2                              WATERTOWN        WI           53094                   6004            Various                                                                                             $3.00
ALONDRA ZUNIGA WANGNET            723 MAIN ST                UNIT 7                             NEENAH           WI           54956                   6004            Various                                                                                             $4.00
ALONDRA ZUNIGA-WANGNET            723 MAIN ST                UNIT 7                             NEENAH           WI           54956                   6004            Various                                                                                             $2.00
ALONSO FERNANDEZ                  214 E TAYLOR ST                                               LYONS            KS           67554                   6002            Various                                                                                             $8.60
ALONZO JONES                      2214 S BROADWAY RM 604                                        ROCHESTER        MN           55904                   6004            Various                                                                                             $3.00
ALORA LAVENWAY                    2275 CONRAD RANCH RD                                          KALISPELL        MT           59901                   6002            Various                                                                                            $10.00
ALOY HAVERKAMP                    421 192ND RD                                                  BAILEYVILLE      KS           66404                   6002            Various                                                                                             $1.34
ALOYSIUS BOHR                     3502 13TH AVE NW                                              ROCHESTER        MN           55901                   6002            Various                                                                                             $5.53
ALPINE CORPORATION                PO BOX 911609                                                 LOS ANGELES      CA           90091                   7913            Various                                                                                         $5,000.00
ALPINE HIGH SCHOOL BAND BOOSTE    4 DOVE ROAD                                                   ALPINE           TX           79830                   0489            Various                                                                                          $150.00
ALPINE HIGH SCHOOL JUNIORETTES    704 W SUL ROSS                                                ALPINE           TX           79830                   5267            Various                                                                                          $100.00
ALS UPHOLSTERING COMPANY          JEFFREY LAMBERT            1141 MAIN STREET                   GREEN BAY        WI           54301                   9504            Various                                                                                          $490.00
ALSCO BILLINGS                    AMERICAN LINEN DIVISION    PO BOX 30496                       BILLINGS         MT           59107-0496              5932            Various                                                                                          $590.13
                                                             3370 WEST 1820
ALSCO SALT LAKE CITY              AMERICAN LINEN DIVISION    SOUTH                              SALT LAKE CITY   UT           84104-0000              8552            Various                                                                                         $3,367.23
ALSION MATTSON                    N13287 970TH STREET                                           NEW AUBURN       WI           54757                   6004            Various                                                                                            $20.00
ALTAIR EYEWEAR                    PO BOX 45036                                                  SAN FRANCISCO    CA           94145-0036              2636            Various                                                                                        $61,757.37
ALTHEA FRASIER                    PO BOX 975                                                    JEFFREY CITY     WY           82310                   6002            Various                                                                                             $4.49
ALTON D CORNING                   205 E YATES ST                                                NEWMAN           IL           61942                   6002            Various                                                                                             $9.37
ALTON SOVEREIGN                   10520 W FLATLAND ST                                           BOISE            ID           83709                   6002            Various                                                                                             $6.08
ALTRA INDUSTRIAL MOTION           ATTN: MICHELLE IMPASTATO   P.O. BOX 531                       SOUTH BELOIT     IL           61080                   6004            Various                                                                                          $173.98
ALVA COOPER                       BOX 782                                                       OROFINO          ID           83544                   6002            Various                                                                                             $3.62
ALVA ENEMARK                      1650 120TH AVE                                                TYLER            MN           56178                   6004            Various                                                                                             $7.08
ALVAN J SMITH                     25151 RIDGE AVE                                               GALLATIN         MO           64640                   6002            Various                                                                                             $7.10
ALVARADO MANUFACTURING COMPANY    12660 COLONY STREET                                           CHINO            CA           91710-0000              7411            Various                                                                                          $986.04
ALVARO JAVIE BAUTISTA             222 N 1200TH W # 194                                          OREM             UT           84057                   6002            Various                                                                                             $0.68
ALVARO JR QUINTANA                26 NORTH BORAH WAY                                            NAMPA            ID           83651                   6004            Various                                                                                             $1.02
ALVERNA BUZICK                    335 MCKINLEY                                                  NORTH MANKATO    MN           56003                   6002            Various                                                                                             $7.00
ALVIN BORK                        322 DAHL DR                                                   MANLY            IA           50456                   6002            Various                                                                                             $5.75
ALVIN FRANKS                      28653 218TH ST                                                GALLATIN         MO           64640                   6002            Various                                                                                             $9.56
ALVIN MAU                         100 KING ST                                                   IDA GROVE        IA           51445                   6002            Various                                                                                             $8.30
ALVIN WALD                        1617 15TH AVE                                                 MONROE           WI           53566                   6004            Various                                                                                            $30.02
ALVIN WESTENDORF                  3000 240TH ST                                                 FREDERICKSBURG   IA           50630                   6002            Various                                                                                             $4.11
ALVINA JOHNSON                    40851 140TH ST                                                GROTON           SD           57445                   6002            Various                                                                                             $0.71
ALVINO JR MESA                    1326 BELLEVUE BLVD N                                          BELLEVUE         NE           68005                   6004            Various                                                                                             $6.00
ALVINO MERLOS                     3601 78TH ST                                                  KENOSHA          WI           53143                   6004            Various                                                                                            $31.00
ALWAYS                            REFUNDS/CLAIMS             PO BOX 14389                       BATON ROUGE      LA           70989                   6004            Various                                                                                            $27.00
ALYCE HERMANSON                   2125 GRAND PRIX DR                                            RACINE           WI           53406                   6004            Various                                                                                            $15.00
ALYCIA MASON                      2522 ARLENE AVENUE                                            LINCOLN          NE           68502                   6004            Various                                                                                             $4.00
A'LYN DILWORTH                    1070 E CANYON RD                                              SPANISH FORK     UT           84660                   6002            Various                                                                                             $9.89
ALYNA J ROSE                      523 W CARLISLE AVE                                            SPOKANE          WA           99205                   6002            Various                                                                                             $2.16
ALYSA CIEPLUCH                    1420 NORTH 23RD STREET     APT. D                             WIS RAPIDS       WI           54494                   6004            Various                                                                                             $2.00
ALYSA FINNEGAN                    1108 17TH STR N.E                                             AUSTIN           MN           55912                   6004            Various                                                                                             $3.00
ALYSAN BROWN                      2147 NICHOLS LN                                               MURRAYVILLE      IL           62668                   6002            Various                                                                                             $7.59
ALYSHA RUHMSHOTTEL                319 E INDIANA AVE                                             COEUR D ALENE    ID           83814                   6004            Various                                                                                             $7.82
ALYSHA ZOELLER                    3478 FAGERVILLE WAY                                           GREEN BAY        WI           54311                   6002            Various                                                                                             $1.32
ALYSHIA SCHOELL                   732 SHERIDAN RD                                               KENOSHA          WI           53140                   6004            Various                                                                                             $9.55
ALYSHIA WOODRUFF                  N8283 KELLOM RD                                               BEAVER DAM       WI           53916                   6004            Various                                                                                             $4.75
ALYSON CAMPBELL                   2017 S 138TH AVE CIRCLE                                       OMAHA            NE           68144                   6004            Various                                                                                            $10.00




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                                                                                                                                                                                       Contingent


                                                                                                                                                                                                                   Disputed
                                                                                                                                              Last 4 Digits of     Date Debt was
                                                                                                                                                 Account         Incurred, Basis for
           Creditor Name             Address1               Address2          Address3             City       State           Zip   Country      Number                Claim                                                                             Total Claim

ALYSON CONYERS              14314 S SHAGGY MOUNTIAN RD                                     HERRIMAN         UT        84091                   6002               Various                                                                                             $7.53
ALYSON DUNHAM               209 WEBSTER ST             APT 24                              BEAVER DAM       WI        53916                   6004               Various                                                                                            $23.00
ALYSON GOLDBACH             11016 CTY RD H                                                 STRATFORD        WI        54484                   6002               Various                                                                                             $7.95
ALYSON LUCAS                2990 W. 4745 S.                                                SALT LAKE CITY   UT        84129                   6004               Various                                                                                            $50.00
ALYSON RICH                 4938 B WILSHIRE CT SE                                          LACEY            WA        98503                   6004               Various                                                                                             $2.00
ALYSON STRAUBE              3708 80TH ST                                                   FRANKSVILLE      WI        53126                   6004               Various                                                                                             $3.20
ALYSSA (M) BIDDLE           3911 65TH AVE N APT 105                                        MINNEAPOLIS      MN        55429                   6002               Various                                                                                             $1.81
ALYSSA ABEL                 2808 S ASSEMBLY RD                                             SPOKANE          WA        99224                   6004               Various                                                                                            $55.00
ALYSSA BARTH                S7705 CTY ROAD JJ                                              FALL CREEK       WI        54742                   6004               Various                                                                                             $1.99
ALYSSA BEEHLER              1587 S 2050 E                                                  SPANISH FORK     UT        84660                   6004               Various                                                                                            $12.00
ALYSSA BOLLES               418 E 9TH ST                                                   WAYNE            NE        68787                   6002               Various                                                                                             $3.92
ALYSSA BORGELT              1183 RIVER RD                                                  BEEMER           NE        68716                   6002               Various                                                                                             $0.27
ALYSSA BORREGO              3606 SCHOFIELD AVENUE      APT # 6                             SCHOFIELD        WI        54476                   6004               Various                                                                                            $15.00
ALYSSA CAREN                139 NORTH GARDEN COURT                                         LEWISTON         ID        83501                   6004               Various                                                                                           $500.00
ALYSSA CHERNEY              W1110 COUNTY RD D                                              BIRCHWOOD        WI        54817                   6004               Various                                                                                            $25.00
ALYSSA CICHOCKI             2317 WASHINGTON AVE                                            RACINE           WI        53402                   6004               Various                                                                                            $23.00
ALYSSA CIOCHON              5536 N MC NICHOLS DRIVE                                        MILTON           WI        53563                   6004               Various                                                                                            $20.00
ALYSSA CONWAY               2290 WISCONSIN STREET                                          OSHKOSH          WI        54901                   6004               Various                                                                                            $25.00
ALYSSA GERNSTEIN            10719 12TH AVE.                                                PLATTSMOUTH      NE        68048                   6004               Various                                                                                            $15.00
ALYSSA HANOLD               503 AVERD DRIVE                                                HOLMAN           NM        87723                   6004               Various                                                                                             $9.90
ALYSSA HANSON               1718 MOLE AVE                                                  JANESVILLE       WI        53548                   6002               Various                                                                                             $7.37
ALYSSA HARTSHORNE           3813 DENNETT DR.                                               MADISON          WI        53714                   6004               Various                                                                                             $2.00
ALYSSA HODGES               1994 DAVIS DR              APT 1                               BELVIDERE        IL        61008                   6004               Various                                                                                             $3.90
ALYSSA J RIEDL              815 E CADY ST                                                  WATERTOWN        WI        53094                   6002               Various                                                                                             $6.25
ALYSSA JOHNSON              1607 6TH RD                                                    WISNER           NE        68791                   6002               Various                                                                                             $2.85
ALYSSA JULSETH              331 BIRCH CT                                                   OREGON           WI        53575                   6004               Various                                                                                             $1.00
ALYSSA KING                 N4827 ROCKY RIDGE RD                                           LADYSMITH        WI        54848                   6004               Various                                                                                            $25.00
ALYSSA LEFEVRE              801 GREENE AVE                                                 GREEN BAY        WI        54301                   6002               Various                                                                                             $4.85
ALYSSA LUCERO               1601 W FOX PARK DR APT 3U                                      WEST JORDAN      UT        84088                   6002               Various                                                                                             $3.42
ALYSSA M DEVENER            925 JACKSON ST                                                 BILLINGS         MT        59101                   6002               Various                                                                                             $8.44
ALYSSA N JONES              500 N 17TH AVE E                                               ELY              MN        55731                   6002               Various                                                                                             $0.96
ALYSSA PEPLINSKI            302A WEST SOMNER STREET                                        HARTFORD         WI        53027                   6004               Various                                                                                            $10.00
ALYSSA R GARSKE             628 RANDALL AVE                                                RHINELANDER      WI        54501                   6002               Various                                                                                             $4.82
ALYSSA REED                 212 18TH ST SW                                                 ROCHESTER        MN        55902                   6004               Various                                                                                             $3.00
ALYSSA RODRIGUEZ            537 UNIVERISTY AVE                                             HOT SPRINGS      SD        57747                   6002               Various                                                                                             $4.96
ALYSSA SCHMITT              407 11TH AVE NE                                                ROCHESTER        MN        55906                   6002               Various                                                                                             $5.15
ALYSSA SCHULTZ              118 MAIN STREET - #3                                           FORT ATKINSON    WI        53538                   6004               Various                                                                                             $5.06
ALYSSA SMEJKAL              2004 ONTARIO DR                                                JANESVILLE       WI        53545                   6002               Various                                                                                             $2.93
ALYSSA SOHRWEIDE            6905 SOHRWEIDE RD                                              WINNECONNE       WI        54986                   6002               Various                                                                                             $7.89
ALYSSA STURZL               811 GRANDVIEW RD                                               HORTONVILLE      WI        54944                   6004               Various                                                                                             $6.00
ALYSSA TEASDALE             2122 16TH AVE                                                  MONROE           WI        53566                   6002               Various                                                                                             $2.30
ALYSSA WALDVOGEL            9109 BUSKA ST                                                  SCHOFIELD        WI        54476                   6004               Various                                                                                            $30.00
ALYSSA ZACHE                813 S 3RD APT 5                                                WATERTOWN        WI        53094                   6004               Various                                                                                             $1.00
ALYSSIA KANGAS              320 W SOUTH STREET APT 208                                     RICE LAKE        WI        54868                   6002               Various                                                                                             $6.33
AMADEO RODRIGUEZ            170 MANOR HILL DRIVE                                           EDEN             WI        53019                   6004               Various                                                                                            $13.00
AMADO-CATTANEO FAMILY       5378 GLACIER POINT LOOP                                        HELENA           MT        59602                   6002               Various                                                                                             $2.66
AMADOR GOMEZ                1030 WHITEWATER AVE                                            FORT ATKINSON    WI        53538                   6004               Various                                                                                             $1.00
AMAL MOHAMED                851 ROLLING RIDGE AVE SE                                       ROCHESTER        MN        55904                   6004               Various                                                                                             $3.00
AMALIA ANGUEVE-PEDROZA      13 MANOR HILL DR                                               EDEN             WI        53019                   6002               Various                                                                                             $0.82
AMALIA GARCIA               516 WARREN AVE                                                 BELVIDERE        IL        61008                   6004               Various                                                                                             $3.90
AMALIA PEREZ GONZALEZ       23621 WASHINGTON ST                                            INDEPENDENCE     WI        54747                   6002               Various                                                                                             $6.33
AMANDA A PETRUSKY           2601 INDIANA AVE APT 37                                        STEVENS POINT    WI        54481                   6002               Various                                                                                             $2.36
AMANDA ANDERSON             360 SHERMAN ST                                                 FOND DU LAC      WI        54935                   6004               Various                                                                                             $1.00




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                                                                                                                                                    Last 4 Digits of     Date Debt was
                                                                                                                                                       Account         Incurred, Basis for
            Creditor Name                Address1              Address2           Address3             City          State           Zip   Country     Number                Claim                                                                             Total Claim
AMANDA B BACHMAN             722 W 12TH ST                                                     TRENTON            MO         64683                 6002                Various                                                                                                $9.48
AMANDA B SCHMOLL             706 CAROL LN                                                      PULASKI            WI         54162                 6002                Various                                                                                                $9.10
AMANDA B. ANDERSON           412 N JAY ST                                                      ABERDEEN           SD         57401                 6002                Various                                                                                                $1.15
AMANDA BAKER                 817 1/2 ROBERTSON AVE                                             WORLAND            WY         82401                 6002                Various                                                                                               $10.00
AMANDA BALANE                1748 GOLF BRIDGE DR APT 11                                        NEENAH             WI         54956                 6002                Various                                                                                                $8.74
AMANDA BARTELS               N2076 GREENVILLE DR.                                              GREENVILLE         WI         54942                 6004                Various                                                                                               $37.00
AMANDA BASSETT-SWANSON       140 SPYGLASS DR.                                                  MANKATO            MN         56001                 6004                Various                                                                                                $1.31
AMANDA BAUER                 827 SOUTH KEENAN ST                                               RHINELANDER        WI         54501                 6004                Various                                                                                                $1.00
AMANDA BEDDINGFIELD          1025 HOOTS RD                                                     WINCHESTER         IL         62694                 6004                Various                                                                                               $10.00
AMANDA BENSON                1504 WEST 9TH AVE                                                 OSHKOSH            WI         54902                 6004                Various                                                                                                $5.40
AMANDA BIESECKER             2324 PETERS DR                                                    EAU CLAIRE         WI         54703                 6002                Various                                                                                                $2.68
AMANDA BLANKENSHIP-WHALEN    235 MCMILLEN COURT            APT 201                             CORTLAND           IL         60112                 6004                Various                                                                                               $16.00
AMANDA BLOCK                 W4001 120TH AVE                                                   MAIDEN ROCK        WI         54750                 6002                Various                                                                                                $0.47
AMANDA BLUME                 C4763 HOLTON RD                                                   STRATFORD          WI         54484                 6004                Various                                                                                               $30.00

AMANDA BOBBE                 9408 N. WOODLAND CIR.                                             AMHERST JUNCTION   WI         54407                  6004               Various                                                                                               $25.00
AMANDA BOLDT                 3353 N RIFLE ROAD                                                 RHINELANDER        WI         54501                  6004               Various                                                                                               $30.00
AMANDA BRADLEY               329 PARK ST                                                       MARINETTE          WI         54143                  6004               Various                                                                                               $20.00
AMANDA BRITT                 385 COUNTY HWY H                                                  MOUNT HOREB        WI         53572                  6004               Various                                                                                               $22.00
AMANDA BROWN                 63837 HWY 63 N                                                    ZUMBRO FALLS       MN         55991                  6004               Various                                                                                                $6.00

AMANDA BRUHY                 2389 COUNTRY WALK DR UNIT 3                                       SISTER BAY         WI         54234                  6002               Various                                                                                                $1.70
AMANDA BRUNETTE              N1131 LANEY RD                                                    SEYMOUR            WI         54165                  6004               Various                                                                                               $25.00
AMANDA BUCKLIN               124 1ST ST S                                                      PEEVER             SD         57257                  6002               Various                                                                                                $6.22
AMANDA BURGESS               N2946 CTY RD M                                                    MONROE             WI         53566                  6004               Various                                                                                                $2.00
AMANDA BURLEY                605 IMPERIAL WAY APT 33                                           SALMON             ID         83467                  6002               Various                                                                                                $0.38
AMANDA C COOK                501 E INDAIANA AVE                                                COEUR D ALENE      ID         83814                  6002               Various                                                                                                $0.66
AMANDA CABOT                 W9362 BLUFF LN                                                    CAMBRIDGE          WI         53523                  6004               Various                                                                                                $2.00
AMANDA CARLSON               1135 E PROMONTORY WAY         APT #D305                           SANDY              UT         84094                  6004               Various                                                                                               $25.00
AMANDA CHENEY FRANZEN        N4773 HIGHWAY 63                                                  ELLSWORTH          WI         54011                  6002               Various                                                                                                $6.99
AMANDA CHEVALIER             20823B ROYCE RD                                                   HANCOCK            MI         49930                  6002               Various                                                                                                $0.85
AMANDA CLOSNER               600 NORTH MAIN STREET         APT5                                PINE ISLAND        MN         55963                  6004               Various                                                                                                $3.00
AMANDA COLLINS               100 EDWARD STREET             UNIT 2                              FT. ATKINSON       WI         53538                  6004               Various                                                                                               $27.00
AMANDA CONLEY                2126 BRACKETT AVE                                                 EAU CLAIRE         WI         54701                  6004               Various                                                                                               $18.00
AMANDA CONNER                623 N SPRING ST                                                   PALMYRA            MO         63461                  6002               Various                                                                                                $0.41
AMANDA COREY                 8119 HIGHWAY 64                                                   POUND              WI         54161                  6002               Various                                                                                                $4.49
AMANDA D BIGGS               57257 225TH ST                                                    GLENWOOD           IA         51534                  6002               Various                                                                                                $5.04
AMANDA DANBERRY              401 S. MAIN ST. APT 1                                             JANESVILLE         MN         56048                  6004               Various                                                                                                $3.06
AMANDA DIAZ                  2315 PARK LN SE                                                   ROCHESTER          MN         55904                  6004               Various                                                                                                $3.00
AMANDA DRAHOTA               1203 TAYLOR AVE                                                   NORFOLK            NE         68701                  6002               Various                                                                                                $3.95
AMANDA DUNN                  1435 E TETON BLVD                                                 GREEN RIVER        WY         82935                  6002               Various                                                                                                $7.07
AMANDA DUNWIDDIE             N1904 HONEYCREEK RD                                               MONROE             WI         53566                  6004               Various                                                                                               $18.54
AMANDA EDDINS                224 N CHATFIELD STREET        PO BOX 142                          DOVER              MN         55929                  6004               Various                                                                                                $6.00
AMANDA ERB                   810 NE MUSTANG DR                                                 ANDREWS            TX         79714                  6002               Various                                                                                                $6.77
AMANDA EWALD                 302 POPLAR ST                                                     MOUNT CARMEL       IL         62863                  6002               Various                                                                                                $6.30
AMANDA FAIRBANKS             21 GREENHAVEN CIRCLE                                              MADISON            WI         53717                  6004               Various                                                                                               $25.00
AMANDA FANKHAUSER            521 MARQUETTE BLVD                                                KINGSFORD          MI         49802                  6002               Various                                                                                                $3.04
AMANDA FAUST                 918 4TH ST APT 207                                                FOND DU LAC        WI         54935                  6002               Various                                                                                                $1.45
AMANDA FETCHIK               4508 22ND AVE SE                                                  LACEY              WA         98503                  6004               Various                                                                                                $5.00
AMANDA FINDLAY               1121 TALCOTT AVENUE                                               FORT ATKINSON      WI         53538                  6004               Various                                                                                                $2.00
AMANDA FORTUNE               701 4TH. AVE                                                      STERLING           IL         61081                  6004               Various                                                                                               $22.00
AMANDA FRANK                 714 PARK AVE                                                      BEAVER DAM         WI         53916                  6002               Various                                                                                                $6.90
AMANDA FUDGE                 1513 2ND AVE N                                                    GREAT FALLS        MT         59401                  6004               Various                                                                                               $82.67
AMANDA FULLMER               2497 S 1000 W                                                     NIBLEY             UT         84321                  6004               Various                                                                                                $9.99




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            Creditor Name               Address1              Address2          Address3             City       State           Zip   Country     Number                Claim                                                                             Total Claim
AMANDA GESCH                 4918 W WILKINS ST                                               LINCOLN         NE         68524                 6004                Various                                                                                                $2.00
AMANDA GLASSMEYER            POB # 65                                                        EMERSON         NE         68733                 6002                Various                                                                                                $6.74
AMANDA GLEITER               W1983 COUNTY ROAD D                                             NELSON          WI         54756                 6002                Various                                                                                                $4.27
AMANDA GRANT                 362 JEFFERSON AVE                                               POCATELLO       ID         83201                 6002                Various                                                                                                $4.74
AMANDA GUNDERSON             930 AUSTIN AVE                                                  IDAHO FALLS     ID         83404                 6002                Various                                                                                                $1.89
AMANDA GUSE                  PO BOX 335                                                      LAKE CRYSTAL    MN         56055                 6002                Various                                                                                               $15.00
AMANDA HALVERSON             220 3RD ST W                                                    DALLAS          WI         54733                 6002                Various                                                                                                $4.93
AMANDA HANLEY                4909 COUNTY ROAD 628                                            FISK            MO         63940                 6002                Various                                                                                                $2.96
AMANDA HANSEN                103 S HIGHWAY 65                                                MC GRATH        MN         56350                 6002                Various                                                                                                $4.44
AMANDA HANSON                2312 SOUTH 142 CRT           APT 3                              OMAHA           NE         68144                 6004                Various                                                                                                $4.00
AMANDA HART                  PO # 573                                                        RAWLINS         WY         82301                 6002                Various                                                                                                $6.88
AMANDA HARVEY                1802 GREEN VALLEY DR.                                           JANESVILLE      WI         53546                 6004                Various                                                                                               $25.00
AMANDA HATCH                 111 VINCENT STREET                                              FOND DU LAC     WI         54935                 6004                Various                                                                                                $1.92
AMANDA HENDRICKS             6208 COUNTY D                                                   ABRAMS          WI         51101                 6002                Various                                                                                                $3.56
AMANDA HENRY                 206 NORTH I STREET                                              MONMOUTH        IL         61462                 6004                Various                                                                                               $30.00
AMANDA HERNANDEZ             802 6TH AVE SE                                                  AUSTIN          MN         55912                 6002                Various                                                                                                $3.84
AMANDA HEYN                  112 DOVER ST N                                                  DOVER           MN         55929                 6002                Various                                                                                                $2.71
AMANDA HOCK                  PO BOX 711                                                      LAKEFIELD       MN         56150                 6004                Various                                                                                                $3.00

AMANDA HOFF                  5205 SOUTH LAKESHORE DRIVE                                      RACINE          WI         53403                  6004               Various                                                                                                $2.68
AMANDA HOFMEISTER            502 SUNNYVIEW LANE                                              MARSHALL        WI         53559                  6004               Various                                                                                                $5.70
AMANDA HOLLAND               729 N FEDERAL AVE                                               MASON CITY      IA         50401                  6002               Various                                                                                                $3.01
AMANDA J MAHNKE              830 N MAIN ST                                                   WEST POINT      NE         68788                  6002               Various                                                                                                $4.85
AMANDA J ROLSTON             1117 E 9TH ST                                                   WINNER          SD         57580                  6002               Various                                                                                                $2.96
AMANDA J. HALE               412 OGDEN ST                                                    GALLATIN        MO         64640                  6002               Various                                                                                                $3.07
AMANDA JENSON                2127 12TH ST.                                                   IDAHO FALLS     ID         83404                  6004               Various                                                                                                $4.73
AMANDA JOHNSON               1340 RIPON AVE                                                  LEWISTON        ID         83501                  6004               Various                                                                                               $18.41
AMANDA JONES                 3910 S 17TH ST                                                  LINCOLN         NE         68502                  6004               Various                                                                                               $14.05
AMANDA K CERINO              34 N WALNUT ST                                                  DILLON          MT         59725                  6002               Various                                                                                                $3.12
AMANDA K STANEK              812 WINDOM ST APT C                                             WAYNE           NE         68787                  6002               Various                                                                                                $9.56
AMANDA KEESER                P.O. BOX 221                                                    JOHNSON CREEK   WI         53038                  6004               Various                                                                                                $1.95
AMANDA KITTLESON             714 VLIET ST                                                    KEWAUNEE        WI         54216                  6002               Various                                                                                                $9.62
AMANDA KOISTINEN             18714 450TH AVE                                                 HAYTI           SD         57241                  6002               Various                                                                                                $9.04
AMANDA KORTZ                 1609 ROOSEVELT ST                                               LITTLE CHUTE    WI         54140                  6002               Various                                                                                                $6.38
AMANDA KRUSE                 1980 COUNTRY ROAD            LOT 95                             RAPID CITY      SD         57701                  6004               Various                                                                                               $11.02
AMANDA LAGRED                314 W S ST APT 101                                              RICE LAKE       WI         54868                  6004               Various                                                                                                $7.01
AMANDA LARA                  1207 CONESTOGA LN                                               GREEN RIVER     WY         82935                  6002               Various                                                                                                $4.47
AMANDA LARSEN                3429 S 8920TH W                                                 MAGNA           UT         84044                  6002               Various                                                                                                $3.51
AMANDA LARSON                45188 189TH ST                                                  HAYTI           SD         57241                  6004               Various                                                                                               $23.00
AMANDA LAUDERT-CAHHAL        287 S WYOMING AVE                                               BUFFALO         WY         82834                  6002               Various                                                                                                $6.33
AMANDA LAWTON                12506 WEST WHITE EAGEL RD                                       FORRESTON       IL         61030                  6004               Various                                                                                                $5.00
AMANDA LE                    305 N FOSS AVE                                                  SIOUX FALLS     SD         57110                  6004               Various                                                                                               $20.00
AMANDA LEFFLER               136 KENNEDY HEIGHTS                                             MADISON         WI         53704                  6004               Various                                                                                                $2.00
AMANDA LEIPOLD               1122 MELBY DR.                                                  MADISON         WI         53704                  6004               Various                                                                                               $24.00
AMANDA LINSKENS              W3392 SIEVERT ROAD                                              SEYMOUR         WI         54165                  6004               Various                                                                                                $1.20
AMANDA LUX                   922 CHANDLER LN                                                 SUN PRAIRIE     WI         53590                  6004               Various                                                                                               $50.00
AMANDA M CROTTS              303 N CARROLL ST                                                MOUNT CARROLL   IL         61053                  6002               Various                                                                                                $0.99
AMANDA M SHADY               446 LINDEN ST                                                   FOND DU LAC     WI         54935                  6002               Various                                                                                                $0.58
AMANDA M TOCCO               W1391 FUR FARM RD                                               NEW HOLSTEIN    WI         53061                  6002               Various                                                                                                $6.16
AMANDA M WAGNER              506 CENTRAL AVE W APT 4                                         GREAT FALLS     MT         59404                  6002               Various                                                                                                $6.36
AMANDA MARTINEZ              700 NORTH CENTRAL AVE.                                          CRANDON         WI         54520                  6004               Various                                                                                                $2.00
AMANDA MASTEL                3301 N. 60TH ST.                                                OMAHA           NE         68104                  6004               Various                                                                                                $2.00
AMANDA MC GOWEN              307 E. OAK ST                                                   LAKE MILLS      WI         53551                  6004               Various                                                                                                $1.00
AMANDA MCANDREW              1550 50TH ST NW APT 6                                           ROCHESTER       MN         55901                  6002               Various                                                                                                $0.36




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                                                                  Schedule E/F: Part 2 - Creditors With Nonpriority Unsecured Claims




                                                                                                                                                                                                                           Claim subject to offset?
                                                                                                                                                                                                 Unliquidated
                                                                                                                                                                                    Contingent


                                                                                                                                                                                                                Disputed
                                                                                                                                           Last 4 Digits of     Date Debt was
                                                                                                                                              Account         Incurred, Basis for
             Creditor Name                Address1        Address2        Address3             City         State           Zip   Country     Number                Claim                                                                             Total Claim
AMANDA MCGREGOR               PO BOX 111                                               GENOA             WI         54632                 6002                Various                                                                                             $3.37
AMANDA MICKELSON              12341 CHISAGO BLVD                                       CHISAGO CITY      MN         55013                 6004                Various                                                                                             $3.00
AMANDA MONTGOMERY             226 PALMETTO SPRING ST                                   DEABARY           FL         32713                 6002                Various                                                                                           $103.57
AMANDA MORTENSEN              4519 SIGGLEKOW ROAD                                      MCFARLAND         WI         53558                 6004                Various                                                                                             $9.04
AMANDA MOSIER                 4010 C STREET                                            LINCOLN           NE         68510                 6004                Various                                                                                             $2.00
AMANDA NELSON                 48155 325TH ST                                           SALOL             MN         56756                 6002                Various                                                                                             $3.62
AMANDA NUGENT                 1630 23RD AVE S APT 102                                  WISCONSIN RAPID   WI         54495                 6002                Various                                                                                             $0.88
AMANDA NYGAARD                1408 COUNTY RD J                                         RIVER FALLS       WI         54022                 6004                Various                                                                                             $2.00
AMANDA O'BOYLE                517 E SHERIDAN ST                                        ELY               MN         55731                 6002                Various                                                                                             $7.86
AMANDA OLIVER                 604 S NIPHON ST                                          WEST POINT        NE         68788                 6002                Various                                                                                             $1.56
AMANDA PARK                   380 N 1020TH E                                           PROVO             UT         84606                 6002                Various                                                                                             $0.79
AMANDA PARKE                  313 TANGLEWOOD DR                                        STREAMWOOD        IL         60107                 6004                Various                                                                                             $2.00
AMANDA PATON-KOESTER          625 ACKER PARKWAY                                        DE FOREST         WI         53532                 6004                Various                                                                                            $21.00
AMANDA PEER                   1604 GATEWAY BLVD APT 12                                 BELOIT            WI         53511                 6004                Various                                                                                            $15.00
AMANDA PERRY-DOLLAR           101 E SAGOLA AVE                                         KINGSFORD         MI         49802                 6002                Various                                                                                             $4.55
AMANDA POLENZ                 1132 W HARRIS ST                                         APPLETON          WI         54914                 6002                Various                                                                                             $0.41
AMANDA R WALENTA              629 KINGWOOD AVE                                         CRETE             NE         68333                 6002                Various                                                                                             $5.01
AMANDA RADAN                  8610 W MEADOBROOK CR                                     RATHDRUM          ID         83858                 6002                Various                                                                                             $0.82
AMANDA REEDER                 25 E 200TH S                                             LEWISTON          UT         84320                 6002                Various                                                                                             $0.38
AMANDA REYES                  712 S JOHN ST                                            KIMBERLY          WI         54136                 6004                Various                                                                                            $25.00
AMANDA RIOPELLE               N7029 SHADY LANE DR                                      PORTERFIELD       WI         54159                 6002                Various                                                                                             $7.53
AMANDA RIVERS                 1101 6TH ST W                                            ASHLAND           WI         54806                 6002                Various                                                                                             $6.52
AMANDA ROLIN                  305 CHESTNUT ST NE                                       KALKASKA          MI         49646                 6002                Various                                                                                             $6.60
AMANDA ROSNER                 506 MONROE ST                                            REEDSVILLE        WI         54230                 6004                Various                                                                                            $12.40
AMANDA SALEWSKI               2700 S MEMORIAL DR                                       GREEN BAY         WI         54313                 6004                Various                                                                                            $84.97
AMANDA SALZMAN                3745 HIMEBAUGH AVE                                       OMAHA             NE         68111                 6004                Various                                                                                             $4.00
AMANDA SCHOFIELD              905 MORNING STAR LANE                                    DENMARK           WI         54208                 6004                Various                                                                                            $12.97
AMANDA SCHULD                 490 SUNLITE DR                                           ONEIDA            WI         54155                 6004                Various                                                                                            $22.00
AMANDA SEESE                  PO BOX 413                                               PULASKI           WI         54162                 6002                Various                                                                                             $2.30
AMANDA SESOCK                 120 SADDLE LOOP                                          BIGFORK           MT         59911                 6004                Various                                                                                             $1.00
AMANDA SPOLARICH              31853 414TH PLACE                                        AITKIN            MN         56431                 6002                Various                                                                                            $47.04
AMANDA SPURLING               405 NORTH 5TH STREET #214                                MANKATO           MN         56001                 6004                Various                                                                                             $6.00
AMANDA STEEVES                3054 GREEN MEDOW DR                                      APPLETON          WI         54914                 6004                Various                                                                                             $3.00
AMANDA STENGER                1606 3RD ST N                                            SAINT CLOUD       MN         56303                 6004                Various                                                                                             $3.00
AMANDA STERNHAGEN             11063 SD HIGHWAY 34                                      BELLE FOURCHE     SD         57717                 6002                Various                                                                                             $3.12
AMANDA SYLVIA                 441 HUBBELL ST                                           MARSHALL          WI         53559                 6004                Various                                                                                             $2.00
AMANDA TALBOT                 152 S 200TH E                                            BRIGHAM CITY      UT         84302                 6002                Various                                                                                             $2.99
AMANDA TARBUCK                610 W REDNOUR ST.                                        OAKESDALE         WA         99158                 6004                Various                                                                                            $23.00
AMANDA TESTER                 303 BLUFF ST                                             MANKATO           MN         56001                 6004                Various                                                                                             $3.00
AMANDA TINDORE                PO BOX 5363                                              POCATELLO         ID         83202                 6004                Various                                                                                             $5.02
AMANDA UHL                    3207 E 3225 N                                            TWIN FALLS        ID         83301                 6004                Various                                                                                            $20.00
AMANDA UHLMANN                12713 EDEN RD                                            STURGIS           SD         57785                 6002                Various                                                                                             $1.04
AMANDA USTICH                 120 CLOUD MIST CT                                        CAPRON            IL         61012                 6004                Various                                                                                             $3.02
AMANDA WAGNER                 708 MACARTHUR DR                                         BEAVER DAM        WI         53916                 6002                Various                                                                                             $8.79
AMANDA WALTERS                M36 85 CNTY RD G                                         MERRILL           WI         54452                 6004                Various                                                                                             $3.00
AMANDA WARE                   210 CLARENCE STREET                                      FORT ATKINSON     WI         53538                 6002                Various                                                                                             $4.16
AMANDA WAY                    405 7TH AVE                                              NEW GLARUS        WI         53574                 6002                Various                                                                                             $6.49
AMANDA WAYER                  925 MEADOW ST                                            STEVENS POINT     WI         54481                 6002                Various                                                                                             $5.97
AMANDA WIECZOREK              513 LAMPLIGHTER LOOP SE                                  POPLAR GROVE      IL         61065                 6002                Various                                                                                             $2.96
AMANDA WITT                   1320 N SHAWANO DRIVE                                     MARSHFIELD        WI         54449                 6004                Various                                                                                            $26.00
AMANDA WITTIG                 1126 N WASHINGTON ST                                     MONDOVI           WI         54755                 6004                Various                                                                                             $2.00
AMANDA YAGER                  211 LAPEL BVLD APT # 7                                   BEAVER DAM        WI         53916                 6004                Various                                                                                            $20.02
AMANDA YOUNGREN               5421 HIGHWAY 23 NE                                       SAUK RAPIDS       MN         56379                 6002                Various                                                                                             $7.53
AMANDA ZILISCH                W5777 PRIMROSE LANE                                      FORT ATKINSON     WI         53538                 6004                Various                                                                                            $30.00




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                                                                                                                                                 Last 4 Digits of     Date Debt was
                                                                                                                                                    Account         Incurred, Basis for
              Creditor Name                Address1                Address2        Address3              City      State         Zip    Country     Number                Claim                                                                             Total Claim
AMANDO MAZON PEREZ             1301 IMPALA DR A                                                 NORFOLK         NE         68701                6666                Various                                                                                            $19.99
AMANOLLAH MOTAMEDI             7447 386TH ST.                                                   NORTH BRANCH    MN         55056                6004                Various                                                                                             $3.00
AMARA BROWN                    5909 BIRCH CANYON DR                                             WEST JORDAN     UT         84081                6004                Various                                                                                             $9.00
AMARU CAMPBELL                 PO BOX 46115                                                     MADISON         WI         53744                6004                Various                                                                                             $3.00
AMAYA YURCZYK                  614 5TH AVE. S                                                   SARTELL         MN         56377                6004                Various                                                                                            $29.98
AMAZON CAPITAL SERVICES        PO BOX 035184                                                    SEATTLE         WA         98124-5184           4599                Various                                                                                            $56.49
AMAZON WEB SERVICES INC        PO BOX 84023                                                     SEATTLE         WA         98124-8423           2602                Various                                                                                        $40,639.43
AMBER ALLEN                    439 LINDEN DRIVE             APT 7                               LEWISTON        ID         83501                6004                Various                                                                                             $5.85
AMBER B VOIGT                  108 E ORCHARD BEACH LN                                           RICE LAKE       WI         54868                6002                Various                                                                                             $6.60
AMBER B. THORSFELDT            PO BOX 316                                                       COEUR D ALENE   ID         83816                6002                Various                                                                                             $6.90
AMBER BAHA SUBBA               2011 OHIO ST                                                     OMAHA           NE         68111                6004                Various                                                                                             $4.00
AMBER BAROUN                   12504 PALM GROVE DR                                              TWO RIVERS      WI         54241                6004                Various                                                                                             $4.00
AMBER BARTZ                    301 EUGENE STREET                                                MERRILL         WI         54452                6004                Various                                                                                            $35.00
AMBER BASCOVSKY                803 W. KING ST.                                                  WINONA          MN         55987                6004                Various                                                                                             $3.00
AMBER BAYSINGER                PO BOX 101                                                       WOONSOCKET      SD         57385                6002                Various                                                                                             $4.82
AMBER BESSENT                  PO BOX 65                                                        DONIPHAN        MO         63935                6002                Various                                                                                             $3.64
AMBER BILJAN                   PO BOX 57                                                        REESEVILLE      WI         53579                6004                Various                                                                                            $25.00
AMBER BODOH                    150 ROBERT ST                                                    CLINTONVILLE    WI         54929                6002                Various                                                                                             $2.68
AMBER BOURASSA                 3391 WOODVIEW RD                                                 OCONTO          WI         54153                6002                Various                                                                                             $9.18
AMBER BREDEMEIER               324 BAKER ST PO BOX # 85                                         BERN            KS         66408                6002                Various                                                                                             $4.58
AMBER BRIGHTWINGS              P.O. BOX 257                                                     LODGE GRASS     MT         59050                6004                Various                                                                                             $2.00
AMBER BROGAN                   15 2ND ST SE                 APT7                                CHATFIELD       MN         55923                6004                Various                                                                                             $3.00
AMBER BURNS                    36990 HEMINGWAY AVE                                              NORTH BRANCH    MN         55056                6004                Various                                                                                             $3.00
AMBER CLARK                    561 N. WATER                 APT. 4                              IDAHO FALLS     ID         83402                6004                Various                                                                                             $4.80
AMBER CORCORRAN                365 MARKET ST                                                    LANDER          WY         82520                6002                Various                                                                                             $6.19
AMBER CULLISON                 709 N WALNUT ST APT A                                            GLENWOOD        IA         51534                6002                Various                                                                                             $3.48
AMBER CUSHMAN                  1510 MANATT STREET                                               LINCOLN         NE         68521                6004                Various                                                                                             $2.00
AMBER D MCNALLY                355 N ELM ST                                                     AINSWORTH       NE         69210                6002                Various                                                                                             $3.75
AMBER DAHL                     119 TERRACE AVE.                                                 MARINETTE       WI         54143                6004                Various                                                                                            $15.00
AMBER DAMERON                  3321 N 45TH ST                                                   OMAHA           NE         68104                6004                Various                                                                                             $2.00
AMBER DAWN WOODY               80 SPEYER DR                                                     LANDER          WY         82520                6002                Various                                                                                             $5.53
AMBER DESCY                    30775 REED AVE                                                   SHAFER          MN         55074                6004                Various                                                                                             $3.00
AMBER DRESANG                  3645 FERNWOOD AVE                                                GREEN BAY       WI         54301                6002                Various                                                                                             $8.66
AMBER DUCHATEAU                200 OAK STREET                                                   GREEN BAY       WI         54303                6004                Various                                                                                            $17.00
AMBER DWYER                    1842 8TH AVE                                                     CHETEK          WI         54728                6004                Various                                                                                             $5.00
AMBER ERDMAN                   821 PERSHING BLVD                                                WORTHINGTON     MN         56187                6004                Various                                                                                             $3.16
AMBER ERICKSON                 32451 HIGHWAY 16                                                 AMITE           LA         70422                6002                Various                                                                                             $9.32
AMBER FILIPAK                  210 S RUSSELL ST                                                 UNITY           WI         54488                6002                Various                                                                                             $3.26
AMBER FINK                     N424 MCKAY AVE.                                                  SPRING VALLEY   WI         54767                6004                Various                                                                                             $3.00
AMBER GANNON                   PO BOX 5641                                                      KALISPELL       MT         59903                6002                Various                                                                                             $7.78
AMBER GIBSON                   PO BOX 313                                                       LITTLE LAKE     MI         49833                6004                Various                                                                                            $23.00
AMBER GLASER                   1048 BARRON DUNN AVE.                                            RIDGELAND       WI         54763                6004                Various                                                                                             $1.00
AMBER GRIGGEL                  3225 ATWOOD AVE                                                  MADISON         WI         53704                6004                Various                                                                                            $11.21
AMBER GROSCH                   3843 CLIFFSIDE PL                                                LA CROSSE       WI         54601                6002                Various                                                                                             $1.34
AMBER GRULKOWSKI               2631 SANDRA ROSE LANE                                            NEW FRANKEN     WI         54229                6004                Various                                                                                             $1.00
AMBER HALEY                    514 1/2 W COMMERCIAL ST                                          APPLETON        WI         54911                6002                Various                                                                                             $5.45
AMBER HALL                     29081 132ND STREET                                               WASECA          MN         56093                6004                Various                                                                                             $3.06
AMBER HARLES-KEEBLE            212 4TH AVE E                                                    WAHPETON        ND         58075                6002                Various                                                                                             $9.10
AMBER HELMICK                  30001 NW 52 STREET                                               LINCOLN         NE         68524                6004                Various                                                                                             $2.00
AMBER HICKS                    845 W 8700 S #9                                                  WILLARD         UT         84340                6004                Various                                                                                            $24.00
AMBER HOPP                     103 MAPLE AVE                APT 611                             BEAVER DAM      WI         53916                6004                Various                                                                                             $2.00
AMBER HOTZLER                  1611 COUNTRY RD # 4 PMB SW                                       COKATO          MN         55321                6002                Various                                                                                             $5.01
AMBER HULTQUIST                213 E 13TH ST                                                    LARNED          KS         67550                6002                Various                                                                                             $9.29
AMBER IMHOLT                   736 26TH AVE NE                                                  GREAT FALLS     MT         59404                6002                Various                                                                                             $0.47




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                                                                            Schedule E/F: Part 2 - Creditors With Nonpriority Unsecured Claims




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                                                                                                                                                     Last 4 Digits of     Date Debt was
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             Creditor Name               Address1                   Address2        Address3             City         State           Zip   Country     Number                Claim                                                                             Total Claim
AMBER JEAN GALLEGOS           157 W 600TH N                                                      SPANISH FORK      UT         84660                 6002                Various                                                                                                $0.82
AMBER JOHNSON                 PO BOX 641                                                         TOMAHAWK          WI         54487                 6002                Various                                                                                                $4.00
AMBER JONES                   PO BOX 51                                                          LYLE              MN         55953                 6004                Various                                                                                                $3.00
AMBER KLOSS                   8967 HWY 25                                                        PIERZ             MN         56364                 6004                Various                                                                                                $5.00
AMBER KRUEGER                 1219 N BURLINGTON                                                  HASTINGS          NE         68901                 6004                Various                                                                                                $4.00
AMBER L BOEDER                225 GALE ST                                                        OCONTO            WI         54153                 6002                Various                                                                                                $5.45
AMBER L CHISM                 118 W AVE                                                          LYONS             KS         67554                 6002                Various                                                                                                $4.77
AMBER L FALKENA               406 ELM ST                                                         TABOR             IA         51653                 6002                Various                                                                                                $8.82
AMBER LEWALLEN                N1311 CTY.RD D                                                     CHIPPEWA FALLS    WI         54729                 6004                Various                                                                                               $15.00
AMBER LIKENS                  1418 21ST AVE S                                                    WISCONSIN RAPID   WI         54495                 6002                Various                                                                                                $0.79
AMBER LONG                    3465 NORTH GILLETT ST                                              APPLETON          WI         54914                 6004                Various                                                                                               $75.00
AMBER LUMAYE                  1049 E NORTH ST                                                    APPLETON          WI         54911                 6002                Various                                                                                                $3.67
AMBER LYNN FENDE              404 LYMAN ST                                                       KINGSFORD         MI         49802                 6002                Various                                                                                                $6.25
AMBER M COLLINS               4294 YELLOWSTONE DR                                                AUBURNDALE        WI         54412                 6002                Various                                                                                                $3.10
AMBER MAHLE                   1550 SEGER DR LOT 113                                              RAPID CITY        SD         57701                 6002                Various                                                                                                $7.12
AMBER MARTINEZ                607 S GRAND AVE APT 4                                              LYONS             KS         67554                 6002                Various                                                                                                $4.38
AMBER MAYFIELD                1119 6TH ST.                                                       BELOIT            WI         53511                 6004                Various                                                                                               $39.00
AMBER MCCANN                  2924 BUCCANEER DR                                                  MAGNA             UT         84044                 6004                Various                                                                                               $20.02
AMBER MCNAMEE                 262 BLACK TAIL LN                                                  GRANGEVILLE       ID         83530                 6002                Various                                                                                                $4.38
AMBER MENGHE                  8500 S SPRINGBROOK BLVD        APT 215                             OAK CREEK         WI         53154                 6004                Various                                                                                               $10.00
AMBER MILLER                  1656 PLEASANT CT DR                                                SHELDON           IA         51201                 6002                Various                                                                                                $6.14
AMBER NELSON                  1749 N CHARLOTTE ST                                                APPLETON          WI         54911                 6002                Various                                                                                               $45.00
AMBER O'BERRY                 701 6TH ST NE APT 23                                               ROSEAU            MN         56751                 6002                Various                                                                                                $7.73
AMBER PLASKY                  920 GARFILED AVE                                                   BELOIT            WI         53511                 6004                Various                                                                                               $15.00
AMBER REED                    5313 CTY RD N                                                      OCONTO            WI         54153                 6002                Various                                                                                                $0.79
AMBER ROSE ( FOELLMI          1315 LA CRESCENT ST                                                LA CROSSE         WI         54603                 6002                Various                                                                                                $5.07
AMBER ROSSMILLER              365 N JEFFERSON ST                                                 WHITEWATER        WI         53190                 6004                Various                                                                                               $10.00
AMBER RUDA                    301 MARY LN                                                        HARTFORD          SD         57033                 6002                Various                                                                                                $3.59
AMBER S MELLONE               2318 N 8TH ST                                                      COEUR D ALENE     ID         83814                 6002                Various                                                                                                $0.55
AMBER SCHMELZER               3217 W CARTHAGE DR                                                 FREEPORT          IL         61032                 6002                Various                                                                                                $4.11
AMBER SCHWIETERS              4024 E 2ND AVE APT A                                               POST FALLS        ID         83854                 6002                Various                                                                                                $6.66
AMBER SKRABA                  N6652 BALLRD RD                                                    SEYMOUR           WI         54165                 6004                Various                                                                                               $25.00
AMBER SPARKS                  213 E MICHIGAN AVE                                                 NORFOLK           NE         68701                 6004                Various                                                                                                $4.00
AMBER STONE                   1158 PIXLER CT                                                     WISCONSIN RAPID   WI         54494                 6002                Various                                                                                                $7.10
AMBER STRICKLAND              62811 SNOWCAP CT                                                   BEND              OR         97701                 6004                Various                                                                                               $15.00
AMBER SWISHER                 1241 TALCOTT STREET - #8                                           FORT ATKINSON     WI         53538                 6004                Various                                                                                               $47.20
AMBER SYSEL                   5702 N 16TH ST                 #11C                                OMAHA             NE         68110                 6004                Various                                                                                                $4.00

AMBER THORNTON                1019 15TH STREET N PRERELEAS                                       GREAT FALLS       MT         59401                  6002               Various                                                                                                $0.47
AMBER THYSSEN                 328 S MAIN ST                                                      SEYMOUR           WI         54165                  6004               Various                                                                                               $10.00
AMBER TRAMONTE                1521 N 2ND AVE                                                     WAUSAU            WI         54401                  6002               Various                                                                                                $5.29
AMBER TUCK                    1900 W. QUINN RD #168                                              POCATELLO         ID         83202                  6004               Various                                                                                                $2.00
AMBER TURNER                  N4229 16TH RD                                                      WAUTOMA           WI         54982                  6002               Various                                                                                                $3.95
AMBER UMENTUM                 1700 DUBLIN TRL                APT 212                             NEENAH            WI         54956                  6004               Various                                                                                               $20.00

AMBER VANDAN                  W6521 NORTH LAKESHORE DRIVE                                        ELKHORN           WI         53121                  6004               Various                                                                                            $10.00
AMBER VILUMS                  319 E WATER ST                                                     WATERTOWN         WI         53094                  6004               Various                                                                                            $15.00
AMBER VONHEEDER               2708 W KOENIG ST                                                   GRAND ISLAND      NE         68803                  6002               Various                                                                                             $9.97
AMBER WAECHTER                3528 HIGH CLIFF CIRCLE                                             SHEBOYGAN         WI         53081                  6004               Various                                                                                            $20.00
AMBER WALENTON                135 DEER CREEK CT #3                                               JEFFERSON         WI         53549                  6004               Various                                                                                           $122.05
AMBER WARD                    529 10TH AVE N                                                     CLEAR LAKE        IA         50428                  6002               Various                                                                                             $6.30
AMBER WEISNICHT               1955 LEAH RD                APT 208                                WAUSAU            WI         54455                  6004               Various                                                                                            $30.00
AMBER WILSON                  W4949 CTY RD J                                                     WESTFIELD         WI         53964                  6004               Various                                                                                             $5.60
AMBER WOOD                    605 GROVE AVE                                                      NEWCASTLE         WY         82701                  6002               Various                                                                                             $7.59




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AMBER YATCHAK                      89 STATE HIGHWAY M35                                                   MARQUETTE        MI         49855                 6002                Various                                                                                                $8.08
AMBERLEE N PIERCE                  393 N 900TH E                                                          PAYSON           UT         84651                 6002                Various                                                                                                $2.27
AMBERLY EVANS                      PO BOX 442                                                             FAIRVIEW         UT         84629                 6002                Various                                                                                                $4.77
AMBERLY HANCOCK                    18315 N 4400TH W                                                       FIELDING         UT         84311                 6002                Various                                                                                                $2.47
AMBERLYN CREWS                     214 N LUND ST                                                          VEBLEN           SD         57270                 6002                Various                                                                                                $9.75
AMBIYO MUHUMAD                     402 31ST ST NE APT. 145                                                ROCHESTER        MN         55906                 6004                Various                                                                                                $3.00
AMBRA MARSHALL                     PO BOX 624                                                             OSHKOSH          NE         69154                 6002                Various                                                                                                $2.19
AMBRIA VANDELEYGRAAF               8205 WINK RD                                                           KAUKAUNA         WI         54130                 6004                Various                                                                                                $3.00
                                   9735 GREEN PARK INDUSTRIAL
AMCON LABORATORIES INCORPORATE     DRIVE                                                                  ST LOUIS         MO         63123                  7136               Various                                                                                         $9,546.26
AMELIA ALMARAZ                     416 W MONTANA AVE                                                      HOMEDALE         ID         83628                  6002               Various                                                                                             $9.21
AMELIA COCHRAN                     1832 BIRCH COURT                                                       LEWISTON         ID         83501                  6004               Various                                                                                            $20.01
AMELIA GRAHN                       1022 PAINTED POST DR                                                   MADISON          WI         53716                  6004               Various                                                                                             $5.70
AMELIA LILLI WAKKURI               PO BOX 253 PMB                                                         PALMER           MI         49871                  6002               Various                                                                                             $9.97
AMELIA P MEDINA                    3551 WAYSIDE RD                                                        GREENLEAF        WI         54126                  6002               Various                                                                                             $9.18
                                                                                                                                                                                12/11/2018 -
AMEREN ILLINOIS                    PO BOX 88034                                                           CHICAGO          IL         60680-1034             0000               1/13/2019                                                                                       $3,025.12
AMERICA E FRANCO                   843 OAK AVE                                                            CRETE            NE         68333                  6002               Various                                                                                             $4.96
AMERICAN ASPHALT OF WISCONSIN      PO BOX 98                                                              MOSINEE          WI         54455-0098             3480               Various                                                                                       $215,961.60
AMERICAN BAPTIST HOMES OF THE                                                        14850 SCIENCE HEIGHTS
MIDWEST                            ATTN MELISSA LACOMPTE         SUITE 125           ROAD                  EDEN PRAIRIE    MN         55344                  6666               Various                                                                                          $136.94
AMERICAN BAR ASSOCIATION SERVI     321 N CLARK STREET                                                      CHICAGO         IL         60654-0000             2083               Various                                                                                         $1,096.00
                                                                 125 VARNFIELD
AMERICAN BIOTECH SUPPLY            HORIZON SCIENTIFIC INC        DRIVE               PO BOX 1797          SUMMERVILLE      SC         29484-1797             7125               Various                                                                                          $305.45
AMERICAN BOTTLING COMPANY          23214 NETWORK PLACE                                                    CHICAGO          IL         60673-1232             1007               Various                                                                                       $112,830.42
AMERICAN GREET SBT                 PO BOX 676701                                                          DALLAS           TX         75267-6701             9118               Various                                                                                       $548,893.29
AMERICAN HERITAGE TEXTILES-CHU     1315 CEDAR GROVE RD                                                    SHEPHERDSVILLE   KY         40165                  6076               Various                                                                                         $1,313.58
AMERICAN LICORICE COMPANY          PO BOX 843242                                                          KANSAS CITY      MO         64184-3242             0819               Various                                                                                        $35,225.52
AMERICAN NUTRITION INC             PO BOX 1405                                                            OGDEN            UT         84402-1405             3840               Various                                                                                       $194,201.35

AMERICAN OVERHEAD DOOR             1911 WEST WISCONSIN AVENUE                                             APPLETON         WI         54914                                     Various                                                                                         $2,714.86
AMERICAN PLASTIC TOYS              799 LADD ROAD                                                          WALLED LAKE      MI         48390-0000             9311               Various                                                                                        $76,299.07

AMERICAN PROMOTIONAL EVENTS        VICE PRESIDENT OF SALES       4511 HELTON DRIVE                        FLORENCE         AL         35630                  7910               Various                                                                                        $48,287.29
AMERICAN RECYCLING & SANITATION    PO BOX 9                                                               ROCK PORT        MO         64482-0009                                Various                                                                                          $852.00

AMERICAN RUG                       VICE PRESIDENT OF SALES       3090 SUGAR VALLEY                        SUGAR VALLEY     GA         30746-5166             3697               Various                                                                                     $1,909,605.48
AMERICAN SPORTING GOODS CORPOR     NW 5638                       PO BOX 1450                              MINNEAPOLIS      MN         55485-5638             8426               Various                                                                                        $37,336.60
AMERICAN TEXTILE COMPANY           10 NORTH LINDEN STREET        RIDC RIVERPLACE                          DUQUESNE         PA         15110                  3624               Various                                                                                      $130,510.84
                                                                                                          RANCHO
AMERICAN TRAVELER INC              9509 FERON BLVD                                                        CUCAMONGA        CA         91730                   6466              Various                                                                                        $40,724.41
AMERICAN WASTE                     PO BOX 1030                                                            KALKASKA         MI         49646                                     Various                                                                                          $540.00
AMERIGAS BILLINGS                  PO BOX 371473                                                          PITTSBURGH       PA         15250-7473             1065               Various                                                                                          $402.75
AMERIGAS NATIONAL ACCOUNTS         DEPT CH 10525                                                          PALATINE         IL         60055-0525             4168               Various                                                                                         $1,787.94
AMERIGAS PROPANE LP                PO BOX 371473                                                          PITTSBURGH       PA         15250-7473             2123               Various                                                                                          $402.75
AMERIPLUS INCORPORATED             535 S HERCULES AVE STE 201                                             CLEARWATER       FL         33764                  5029               Various                                                                                        $16,761.08
AMERIPRIDE SERVICES                PO BOX 950                                                             BEMIDJI          MN         56619-0950             3034               Various                                                                                          $552.05
AMERIPRIDE SERVICES INCORPORAT     PO BOX 190                                                             BEMIDJI          MN         56619-0190             2267               Various                                                                                          $145.29
AMERITAS                           PO BOX 82520                                                           LINCOLN          NE         68501                  6004               Various                                                                                            $42.78
                                   7910 SOUTH CANDLESTICK LANE
AMERLIA FINAU                      #201                                                                   MIDVALE          UT         84047                  6004               Various                                                                                               $10.49
AMERLIA SOLIS GONZALEZ             3292 SELINA AVE NE APT #147                                            SALEM            OR         97301                  6004               Various                                                                                               $25.00
AMERON ATEN                        43 KIM ST                                                              LANSE            MI         49946                  6002               Various                                                                                               $10.00
AMERY SMOCK                        1322 S. 4TH AVE.                                                       POCATELLO        ID         83201                  6004               Various                                                                                                $3.00




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                                                                                                                                                                                                                 Unliquidated
                                                                                                                                                                                                    Contingent


                                                                                                                                                                                                                                Disputed
                                                                                                                                                           Last 4 Digits of     Date Debt was
                                                                                                                                                              Account         Incurred, Basis for
             Creditor Name                    Address1                  Address2        Address3             City           State           Zip   Country     Number                Claim                                                                             Total Claim
AMETHYST LEACH                    231 W TREEHAVEN DR                                                 LINCOLN           NE           68521                 6004                Various                                                                                                $4.00
AMHMAT ISSA                       3036 N 97TH ST APT #3                                              OMAHA             NE           68134                 6004                Various                                                                                                $2.00
AMI DORTCH                        316 N HIGH ST                                                      FORT ATKINSON     WI           53538                 6002                Various                                                                                                $6.90
AMI MROCZENSKI                    1502 BUREK AVE                                                     WAUSAU            WI           54401                 6002                Various                                                                                                $0.85
AMIA AARON                        1405 TRAILS WAY #5                                                 MADISON           WI           53704                 6004                Various                                                                                                $1.00
AMIE ADKINS                       3107 GOLDRUSH RD                                                   COUNCIL BLUFFS    IA           51501                 6002                Various                                                                                                $7.67
AMIE BOLIN                        423 N. MAIN STREET                                                 JEFFERSON         WI           53549                 6004                Various                                                                                                $2.15
AMIE BOMBER                       1314 ALICE DR                 APT F                                GREEN BAY         WI           54304                 6004                Various                                                                                                $3.40
AMIE GILBERT                      640 10TH ST S                                                      WISCONSIN RAPID   WI           54494                 6002                Various                                                                                                $9.40
AMIE TOWNE                        N3224 FEATHER RIDGE DR                                             APPLETON          WI           54913                 6002                Various                                                                                                $6.79
                                  STERLING FACTORS
AMIEE LYNN INCORPORATED           CORPORATION                   PO BOX 742         MIDTOWN STATION   NEW YORK          NY           10018-0000             8640               Various                                                                                        $12,470.37
AMIGO MOBILITY INTERNATIONAL I    6693 DIXIE HIGHWAY                                                 BRIDGEPORT        MI           48722                  3907               Various                                                                                         $1,445.30
AMILET MOLINA                     3798 SHADY CURV SW                                                 ROCHESTER         MN           55902                  6002               Various                                                                                             $0.47
AMILLI ON HARVEY                  2971 IRIS DR                                                       BELOIT            WI           53511                  6004               Various                                                                                             $2.00
AMINA ABDALLA                     3417 S. 200 E. APT. B                                              SALT LAKE CITY    UT           84115                  6004               Various                                                                                            $20.00
AMINA GELE                        625 3RD STREET SW                                                  ROCHESTER         MN           55904                  6004               Various                                                                                             $3.00
AMINADAB MAX TORRES               PO BOX 244                                                         PEEVER            SD           57257                  6002               Various                                                                                             $9.37
AMINCO INTERNATIONAL (USA) INC    20571 CRESCENT BAY DRIVE                                           LAKE FOREST       CA           92630                  1040               Various                                                                                        $26,560.25
AMIR AL-SOWITI                    2604 13TH STREET                                                   WAUSAU            WI           54403                  6004               Various                                                                                             $3.00
AMITY MILES                       4570 SEDONA DRIVE                                                  EUGENE            OR           97404                  6004               Various                                                                                             $1.96
AMIYHA JOHNSON                    2402 OLD CAMDEN SQUARE                                             MADISON           WI           53718                  6004               Various                                                                                             $2.00

AMLOID CORPORATION                7 RIDGEDALE AVENUE SUITE 1A                                        CEDAR KNOLLS      NJ           07927                   9600              Various                                                                                        $93,900.57
AMMON CLOWARD                     2100 S 1155TH E                                                    SALT LAKE CITY    UT           84106                   6002              Various                                                                                             $1.37

AMO SALES & SERVICE INC           75 REMITTANCE DRIVE STE 1310                                       CHICAGO           IL           60675-1310             0308               Various                                                                                        $18,915.34
AMORINA INGRAM                    1311 E 23RD STREET                                                 SPOKANE           WA           99216                  6004               Various                                                                                          $235.00
AMOS AMES                         1612 RANDOLPH APT 5                                                JANESVILLE        WI           53545                  6004               Various                                                                                             $3.00
AMRA DURANCEAU                    611 N POPLAR ST.                                                   MERRILL           WI           54452                  6004               Various                                                                                            $23.00
AMRAPUR OVERSEAS DBA COLONIAL     1560 E 6TH STREET SUITE 101                                        CORONA            CA           92879                  2033               Various                                                                                         $3,983.13
AMUEL BOLES                       6665 SULLIVAN CROSS RDS                                            COLUMBIA FALLS    MT           59912                  6002               Various                                                                                             $2.68
AMUEL D EUBANKS                   18699 W RIVERVIEW DR                                               POST FALLS        ID           83854                  6002               Various                                                                                             $0.85
AMY A KORDUS                      345 HILLSIDE RD                                                    COLGATE           WI           53017                  6002               Various                                                                                             $6.77
AMY A LESTER                      3149 CRABTREE DR                                                   TECUMSEH          MI           49286                  6002               Various                                                                                             $9.21
AMY A. NEAL                       814 S MELCORN CR                                                   DE PERE           WI           54115                  6002               Various                                                                                             $2.00
AMY ADDAMS                        4101 MAHER RD                                                      MADISON           WI           53716                  6004               Various                                                                                             $9.50
AMY AERTS                         325 SCHOOL ST                                                      WRIGHTSTOWN       WI           54180                  6002               Various                                                                                            $10.00
AMY AMSCHLER                      2229 PREBLE AVE                                                    GREEN BAY         WI           54302                  6004               Various                                                                                             $5.00
AMY ANDERSEN                      6524 NEWPORT AVE                                                   OMAHA             NE           68152                  6004               Various                                                                                             $5.00
AMY ASHWORTH                      599 S 750TH W                                                      SPANISH FORK      UT           84660                  6002               Various                                                                                             $9.10
AMY AYALA                         307 O' NEEIL ST                                                    LAKE MILLS        WI           53551                  6004               Various                                                                                            $15.00
AMY BENNETT                       6709 CHESTER HEIGHTS ST SE                                         ROCHESTER         MN           55904                  6002               Various                                                                                             $0.30
AMY BERSCHIED                     172 LONE RIDGE LANE                                                FOLEY             MN           56329                  6004               Various                                                                                             $2.02
AMY BIRCH                         515 E COTTONWOOD DR                                                KALISPELL         MT           59901                  6002               Various                                                                                             $7.15
AMY BODILY MACAVINTA              1232 W 1750TH S                                                    LOGAN             UT           84321                  6002               Various                                                                                             $9.97
AMY BOOTS PEDERSON                400 NORTH FOSS AVE                                                 SIOUX FALLS       SD           57110                  6004               Various                                                                                            $20.50
AMY BOYD                          518 S 2ND ST                                                       HOWELLS           NE           68641                  6004               Various                                                                                            $30.02
AMY BRICKEY                       1100 N CARROLL ST                                                  ARNOLD            NE           69120                  6002               Various                                                                                             $5.40
                                  4600 ROBINSON PARK ROAD
AMY BROGAN                        TRAILER 141                                                        MOSCOW            ID           83843                   6004              Various                                                                                               $10.02
AMY BUCHANAN                      1540 NE MERMAN               APT 157                               PULLMAN           WA           99163                   6004              Various                                                                                               $21.25
AMY CAYER                         PO BOX 52                                                          PERKINS           MI           49872                   6002              Various                                                                                                $1.97
AMY CHAVEZ                        2599 WEST HARVEST LANE                                             WEST JORDAN       UT           84084                   6004              Various                                                                                               $24.00




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                                                                                                                                                    Account         Incurred, Basis for
             Creditor Name                Address1              Address2        Address3              City        State           Zip   Country     Number                Claim                                                                             Total Claim
AMY CLENNON                   711 6TH AVE NW                                                 AUSTIN            MN         55912                 6004                Various                                                                                                $6.00
AMY CONNER                    340 N NEWCOMB ST D1                                            WHITEWATER        WI         53190                 6004                Various                                                                                                $2.00
AMY COUGHLIN                  1882 PHOENIX DR                                                POCATELLO         ID         83202                 6002                Various                                                                                                $7.26
AMY CRAWFORD                  PO BOX 045                                                     AINSWORTH         NE         69210                 6004                Various                                                                                               $10.00
AMY CUSTARD                   16206 CAMDEN AVE                                               OMAHA             NE         68116                 6004                Various                                                                                               $10.00
AMY DEVILLERS                 6663 CHEYENNE DR                                               ABRAMS            WI         54101                 6002                Various                                                                                                $1.42
AMY DITTMER                   345 EDGEWOOD DR                                                GLENCOE           MN         55336                 6002                Various                                                                                                $2.30
AMY DOHERTY                   712 1ST AVE SE                                                 PINE ISLAND       MN         55963                 6002                Various                                                                                                $6.74
AMY DURAND                    712 S 6TH ST                                                   WATERTOWN         WI         53094                 6004                Various                                                                                                $3.00
AMY E JOHNSON                 4510 BROOKSHIRE CT                                             WISCONSIN RAPID   WI         54494                 6002                Various                                                                                                $0.99
AMY E MILLER                  566 COUNTY ROAD 200N                                           PESOTUM           IL         61863                 6002                Various                                                                                                $5.97
AMY EICKHOFF                  21280 PIONEERVIEW RD                                           ALBANY            MN         56307                 6002                Various                                                                                                $0.99
AMY ENGEL                     2317 ELK RD                                                    STURGIS           SD         57785                 6002                Various                                                                                                $0.47
AMY ERICKSON                  1705 MAIN ST.                                                  EAU CLAIRE        WI         54701                 6004                Various                                                                                                $1.00
AMY EVARTS                    295 HIGHWAY 28                                                 SALMON            ID         83467                 6002                Various                                                                                               $10.00
AMY FAY                       407 3RD ST SW                                                  BRITT             IA         50423                 6002                Various                                                                                                $6.55
AMY FORS                      110 61ST AVE NE APT 3                                          MINNEAPOLIS       MN         55432                 6002                Various                                                                                                $2.36
AMY FORSTNER                  434 ARTHUR CT                                                  KIMBERLY          WI         54136                 6002                Various                                                                                                $3.56
AMY GALDA                     2022 W 4TH ST                                                  GRAND ISLAND      NE         68803                 6002                Various                                                                                                $9.01
AMY GENNERMAN                 401 ARNOLD ST                                                  ROTHSCHILD        WI         54474                 6002                Various                                                                                                $8.68
AMY GILDERNICK                2709 WILLIAMS GRANT DRIVE                                      DE PERE           WI         54115                 6004                Various                                                                                               $15.00
AMY GOLDSBERRY                92 AZTEK DR                                                    ROCK SPRINGS      WY         82901                 6002                Various                                                                                                $7.07
AMY GOLICH                    424 ROBERT STREET                                              FORT ATKINSON     WI         53538                 6004                Various                                                                                               $14.00
AMY HAMILTON                  P O BOX 576                                                    BURLINGTON        IA         52601                 6004                Various                                                                                               $10.00
AMY HARDINGER                 24 ROOSEVELT RD                                                SALMON            ID         83467                 6002                Various                                                                                                $9.67
                                                            314 MILWAUKEE
AMY HART                      APT 3                         STREET                           MENASHA           WI         54952                  6002               Various                                                                                                $7.20
AMY HICKERSON                 5346 COLFAX                                                    LINCOLN           NE         68504                  6004               Various                                                                                                $4.00
AMY HOBBS                     W3205 STATE ROAD 37                                            EAU CLAIRE        WI         54701                  6002               Various                                                                                                $0.60
AMY HOMMER                    4603 TEAL ST                                                   BIG LAKE          MN         55309                  6004               Various                                                                                                $6.73
AMY HOOCK                     125 E WARREN ST                                                THERMOPOLIS       WY         82443                  6002               Various                                                                                                $0.27
AMY HORNING                   PO BOX 205                                                     TECUMSEH          MI         49286                  6002               Various                                                                                                $1.95
AMY HULS                      2124 VILLA STREET                                              SIOUX CITY        IA         51104                  6004               Various                                                                                               $10.00
AMY ISRAEL                    2409 SEWELL ST                                                 LINCOLN           NE         68502                  6004               Various                                                                                                $5.00
AMY J WALDO                   217 E CLAY ST                                                  ONEILL            NE         68763                  6002               Various                                                                                                $0.47
AMY J. CHERESKIN              4742 TOWN RD W                                                 FLORENCE          WI         54121                  6002               Various                                                                                                $7.12
AMY JO BASSETT-SCHAMS         N2262 COUNTY ROAD YY                                           LA CROSSE         WI         54601                  6002               Various                                                                                                $6.30
AMY JO HARRIS                 2837 RALPH ST                                                  GRANITE CITY      IL         62040                  6002               Various                                                                                                $3.29
AMY JONES                     601 N MAIN ST                                                  FORT ATKINSON     WI         53538                  6002               Various                                                                                                $7.12
AMY JUHL                      342 S MADISON ST                                               EVANSVILLE        WI         53536                  6002               Various                                                                                                $0.71
AMY KAMARA                    212 TERRACE DR.                                                MANKATO           MN         56001                  6004               Various                                                                                                $3.00
AMY KAUFMANN                  5 B BAXTER PLACE                                               JACKSONVILLE      IL         62650                  6004               Various                                                                                               $10.00
AMY KISTER                    140 9TH AVE WEST #21                                           KALISPELL         MT         59901                  6004               Various                                                                                                $2.00
AMY KNOBLAUCH                 1024 WINDSOR ST                                                OSHKOSH           WI         54902                  6002               Various                                                                                                $9.32
AMY KOMER                     128 E BEACON HILL RD                                           ELY               MN         55731                  6002               Various                                                                                                $7.54
AMY KROLL                     21485 ARCADIAN HILL RD                                         HANCOCK           MI         49930                  6002               Various                                                                                                $1.56
AMY KRUEGER                   N382 MAPLERIDGE DR                                             APPLETON          WI         54915                  6002               Various                                                                                                $5.23
AMY KRUZICKI                  1312 W RIVER DRIVE                                             STEVENS POINT     WI         54481                  6004               Various                                                                                               $10.00
AMY L. POORE                  106 GIBSON ST                                                  CLINTON           MI         49236                  6002               Various                                                                                                $5.84
AMY LANPHIER                  1004 GOMER DR                                                  BEAVER DAM        WI         53916                  6002               Various                                                                                                $7.56
AMY LAY                       9134 MASON DR                                                  NEWAYGO           MI         49337                  6002               Various                                                                                               $10.00
AMY LENHART                   856 REDMAN ST                                                  POCATELLO         ID         83202                  6002               Various                                                                                                $1.84

AMY LIMONES                   1504 WHISPERING PINES DRIVE                                    DELAVAN           WI         53115                   6004              Various                                                                                               $10.00




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                                                                                                                                          Last 4 Digits of     Date Debt was
                                                                                                                                             Account         Incurred, Basis for
             Creditor Name                Address1      Address2        Address3              City         State           Zip   Country     Number                Claim                                                                             Total Claim
AMY LO                        5817 S DREXEL DR                                       SIOUX FALLS        SD         57106                 6002                Various                                                                                                $7.67
AMY LORENTZ                   440 WEST BROADWAY                                      PLAINVIEW          MN         55964                 6004                Various                                                                                                $3.06
AMY LOVELACE                  N8602 CTY Q Q                                          MALONE             WI         53049                 6004                Various                                                                                               $41.30
AMY LYSY                      2643 KENORA PKWY                                       EAU CLAIRE         WI         54703                 6002                Various                                                                                                $3.42
AMY MAGILL                    704 N 980TH W # B                                      OREM               UT         84097                 6002                Various                                                                                                $6.03
AMY MAHLER                    817 VALLEY STREEET                                     MIDDLETON          ID         83644                 6004                Various                                                                                               $20.00
AMY MARIE GANZEL              2301 W CORTLAND DR                                     APPLETON           WI         54914                 6002                Various                                                                                                $3.81
AMY MARSH                     45 ASPEN CT                                            KALISPELL          MT         59901                 6002                Various                                                                                                $0.44
AMY MARTENS                   404 NEVADA AVE                                         ADRIAN             MN         56110                 6002                Various                                                                                                $2.55
AMY MARTIN                    917 AVE                                                PLATTSMOUTH        NE         68048                 6002                Various                                                                                                $1.12
AMY MATSCHE                   W3121 HWY 21                                           BERLIN             WI         54923                 6004                Various                                                                                                $9.00
AMY MATZEK                    W7595 STATE ROAD 65                                    BELDENVILLE        WI         54003                 6002                Various                                                                                                $5.37
AMY MCKEETH                   W6015 BUCKLIN RD                                       ONALASKA           WI         54650                 6004                Various                                                                                                $3.87
AMY MCNAMARA                  9480 CTY HWY K                                         CADOTT             WI         54727                 6004                Various                                                                                                $1.00
AMY MEYER                     814 8TH AVE SW.                                        AUSTIN             MN         55912                 6004                Various                                                                                                $3.00
AMY MILLER                    1538 TOWNSEND AVE                                      HELENA             MT         59601                 6002                Various                                                                                                $7.29
AMY MINSER                    430A NANCY LANE APT 2                                  PULASKI            WI         54162                 6004                Various                                                                                               $25.00
AMY MOHR                      140 WITTE RD #12                                       AUGUSTA            WI         54722                 6004                Various                                                                                                $1.00
AMY MOLDENHAUER               S 10200 MINNESOTA DR                                   ELEVA              WI         54738                 6004                Various                                                                                               $16.00
AMY MONTOYA                   160 E 600TH S                                          WILLARD            UT         84340                 6002                Various                                                                                               $19.10
AMY MUMMA                     6918 CHARLES STREET                                    OMAHA              NE         68132                 6004                Various                                                                                               $10.00
AMY NARHI                     PO BOX 95                                              NISULA             MI         49952                 6004                Various                                                                                               $30.00
AMY NELSON                    1226 PONDEROSA DR                                      STURGIS            SD         57785                 6002                Various                                                                                                $0.47
AMY O'KROLEY                  623 COLUMBUS STREET                                    SUN PRAIRIE        WI         53590                 6004                Various                                                                                                $5.40
AMY OLSEN                     322 BURLINGTON AVE                                     BILLINGS           MT         59101                 6002                Various                                                                                                $0.68
AMY OLSON                     326 GRANT STREET                                       FORT ATKINSON      WI         53538                 6004                Various                                                                                               $27.00
AMY PAINE                     1050 BYRD AVE                                          NEENAH             WI         54956                 6004                Various                                                                                                $8.64
AMY PARNELL                   368 OLD CEMETARY RD                                    RIVER FALLS        WI         54022                 6002                Various                                                                                                $8.44
AMY PAUL                      18818 N THOMAS SHORE DR                                CYPRESS            TX         77433                 6004                Various                                                                                               $25.00
AMY PENTERMAN                 3185 N SUNRIDGE DR                                     APPLETON           WI         54914                 6002                Various                                                                                                $2.93
AMY PETERSEN                  112 WEST MAPLE STREET                                  MARSHALL           MN         56258                 6004                Various                                                                                                $3.00
AMY PETZ                      19063 62ND AVE                                         CHIPPEWA FALLS     WI         54729                 6002                Various                                                                                                $3.32
AMY PIEPER                    1236 S. EAST ST.                                       JACKSONVILLE       IL         62650                 6004                Various                                                                                               $14.98
AMY PILTZ                     2919 RAYNO RD SW                                       SOUTH BOARDMAN     MI         49680                 6002                Various                                                                                                $3.53
AMY POOLE                     2312 W HEATHERGLEN DR                                  SALT LAKE CITY     UT         84129                 6002                Various                                                                                                $7.34
AMY PRESSLEY                  2610 22ND ST                                           SLAYTON            MN         56172                 6004                Various                                                                                                $1.95
AMY PRICE                     1133 E HARVARD AVE                                     SALT LAKE CITY     UT         84105                 6002                Various                                                                                                $2.88
AMY RAMON                     3542 EVERGREEN DR                                      PLOVER             WI         54467                 6002                Various                                                                                                $4.03
AMY RAYMOND                   4552 M SE # 72                                         KALKASKA           MI         49646                 6002                Various                                                                                                $0.38
AMY REBECCA BONE              590 TWEED LN                                           LANDER             WY         82520                 6002                Various                                                                                                $6.71
AMY ROBINO                    329 NO. 91ST STREET                                    OMAHA              NE         68114                 6004                Various                                                                                                $4.00
AMY RODRIGUEZ-ASHLEY          152 N 500TH W                                          CLEARFIELD         UT         84015                 6002                Various                                                                                                $9.70
AMY ROSER                     5337 WOODLAND CIRCLE                                   STEVENS POINT      WI         54482                 6004                Various                                                                                                $1.00
AMY SANCHEZ                   514 HASTINGS AVE                                       NORFOLK            NE         68701                 6002                Various                                                                                                $4.85
AMY SANTTI                    222 ZOBERLEIN ST                                       ISHPEMING          MI         49849                 6004                Various                                                                                               $23.00
AMY SCHNITZLER                1318 GRAND AVE                                         MANITOWOC          WI         54220                 6004                Various                                                                                               $67.00
AMY SCHROTH                   220 HARMONY RD TRLR B                                  KALISPELL          MT         59901                 6002                Various                                                                                               $10.00
AMY SCHWISOW                  222 N MAIN ST                                          WILBER             NE         68465                 6002                Various                                                                                                $2.93
AMY SECORD                    3310 W PINEHILL DRIVE                                  COEUR D ALENE      ID         83815                 6002                Various                                                                                                $2.77
AMY SMITH                     1809 160TH AVENUE                                      ALGONA             IA         50511                 6004                Various                                                                                               $83.73
AMY SOLLAND                   PO BOX 81554                                           BILLINGS           MT         59108                 6004                Various                                                                                                $2.00

AMY SOSIN                     5321 WYATTT AVE                                        WISCONSIN RAPIDS   WI         54494                   6004              Various                                                                                               $62.00
AMY STEINMEYER                2170 7TH RD                                            WISNER             NE         68791                   6002              Various                                                                                                $0.38




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                                                                                                                                                                                                Contingent


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                                                                                                                                                          Account         Incurred, Basis for
             Creditor Name                   Address1              Address2            Address3           City          State           Zip   Country     Number                Claim                                                                             Total Claim
AMY TENNEY                        3293 ARBOR DR                                                    HELENA            MT         59602                 6002                Various                                                                                             $3.42
AMY THESING                       213 QUINCY ST                                                    ONALASKA          WI         54650                 6002                Various                                                                                             $2.99
AMY TIMMERMEYER                   4237 LAKE ST                                                     OMAHA             NE         68111                 6004                Various                                                                                             $2.00
AMY TORSTVEIT                     PO BOX 130                                                       UPTON             WY         82730                 6002                Various                                                                                             $3.45
AMY TREROTOLA                     806 3RD AVE NE                                                   EAST GRAND FORK   MN         56721                 6002                Various                                                                                             $5.53
AMY TRZEBIATOWSKI                 925 S 16TH AVE                                                   WAUSAU            WI         54401                 6004                Various                                                                                            $19.00
AMY VAN DE YACHT                  1112 CHAPEL HILL CIR                                             GREEN BAY         WI         54313                 6004                Various                                                                                             $2.02
AMY WAGNER                        2603 MILLSTONE DR                                                DUBUQUE           IA         52002                 6004                Various                                                                                           $192.36
AMY WENSEL                        808 MCCOMBER ST APT 6                                            CHIPPEWA FALLS    WI         54729                 6004                Various                                                                                             $2.00
AMY WESTHUIS                      1047 PRIMROSE LANE APT. 11                                       FOND DU LAC       WI         54935                 6004                Various                                                                                             $2.00

AMY WHITE                         1934 PARKNOLL LN                                                 PORT WASHINGTON   WI         53074                  6002               Various                                                                                                $4.27
AMY WOOD                          1415 MISSOULA AVE #59                                            HELENA            MT         59601                  6004               Various                                                                                               $74.25
AMY WOODS                         734 BIRCH DR                                                     MASON CITY        IA         50401                  6002               Various                                                                                                $2.49
AMY WOOSENCRAFT                   3180 COUNTY ROAD J                                               ABRAMS            WI         54101                  6002               Various                                                                                                $1.15
AMY YUNTO                         1171 BRECKENRIDGE ST APT 4                                       MAYVILLE          WI         53050                  6002               Various                                                                                               $10.00
AMY ZOMMERS                       W2767 HIGHWAY 67                                                 CAMPBELLSPORT     WI         53010                  6002               Various                                                                                                $7.18
ANA CORDOVA DE ABREGO             6650 S 86TH ST                                                   OMAHA             NE         68127                  6004               Various                                                                                               $19.98
ANA GUERRERO                      6444 FURNACE CREEK                                               SALT LAKE CITY    UT         84118                  6004               Various                                                                                                $5.02
ANA L DELEON VAZQUEZ              11216 ST CROIX TRL                                               NORTH BRANCH      MN         55056                  6002               Various                                                                                                $7.10
ANA MARTINEZ                      409 STARK ST                 APT 1                               BEAVER DAM        WI         53916                  6004               Various                                                                                                $1.00
ANA MIRANDA                       1430 NETTIE ST               APT 6                               BELVIDERE         IL         61008                  6004               Various                                                                                                $3.90
ANA MIRELES AGUILERA              201 LEIDERS ST APT E                                             COLBY             WI         54421                  6002               Various                                                                                                $5.37
ANA ORNELAS                       2015 MARTHA ST                                                   OMAHA             NE         68108                  6004               Various                                                                                               $20.00
ANA R PEREZ                       261 N FAIRFIELD AVE                                              JUNEAU            WI         53039                  6002               Various                                                                                                $3.42
ANA RAMIREZ                       368 MYRTLE ST                                                    WALLA WALLA       WA         99362                  6004               Various                                                                                               $40.00
ANA RODRIGUEZ                     610 SE 1300TH                                                    ANDREWS           TX         79714                  6002               Various                                                                                                $3.10
ANA VILLAGOMEZ-MORENO             5701 BJELDE LN #1                                                MONONA            WI         53716                  6004               Various                                                                                               $15.00
ANA.MARIA NAJAR                   183 S MEADOW RD                                                  MANTUA            UT         84324                  6002               Various                                                                                                $9.21
ANABELLE GREEN                    257 KINNIKINNICK LANE                                            COLUMBIA FALLS    MT         59912                  6004               Various                                                                                                $3.00
ANADA MENDOZA                     2216 WARFORD ST                                                  PERRY             IA         50220                  6002               Various                                                                                                $0.88
ANAHI VAZQUEZ                     1020 MILLER ST.                                                  OMAHA             NE         68107                  6004               Various                                                                                                $4.00
ANALINA SCHMIDT                   W3106 CTY RD B                                                   WEST SALEM        WI         54669                  6004               Various                                                                                                $1.00
ANALISE DRYDEN                    5660 190TH AVE                                                   BLOOMER           WI         54724                  6004               Various                                                                                               $52.75
ANALISSA TREMOYA                  205 WILLARD ST                                                   LIME SPRINGS      IA         52155                  6002               Various                                                                                                $2.96
ANALLELI FLORES-ORTIZ             100 S 2ND W APT 4                                                RIGBY             ID         83442                  6002               Various                                                                                                $6.93
ANAMARIE LOEH                     16419 HARPTS LAKE ROAD                                           MISHICOT          WI         54228                  6004               Various                                                                                               $20.00
ANARIA GUYTON                     609 NORTH IRWIN AVENUE                                           GREEN BAY         WI         54302                  6004               Various                                                                                                $3.00
ANASTAISHA BUSHNELL               946 W 630 S                  UNIT 47                             PLEASANT GROVE    UT         84062                  6004               Various                                                                                               $27.00
ANASTASIA HAMPTON                 1016 1ST ST E                                                    ROUNDUP           MT         59072                  6002               Various                                                                                                $6.63
ANASTASIA MACHADO                 164 ST CLAIR RD                                                  IDAHO FALLS       ID         83401                  6002               Various                                                                                                $4.27
ANASTASIA MARTINEZ                437 EAST BRYAN AVE                                               SALT LAKE CITY    UT         84115                  6004               Various                                                                                               $20.00
ANASTASIA REED                    98 UINTA DR LOT 33                                               GREEN RIVER       WY         82935                  6002               Various                                                                                                $4.77
ANAYELI RUIZ                      1423 10TH AVE                                                    BELVIDERE         IL         61008                  6004               Various                                                                                                $3.90
                                                               ANCHOR HOME       2630 RELIABLE
ANCHOR HOCKING OPERATING COMPA    DIV OF ONEIDA GROUP          COLLECTION        PARKWAY           CHICAGO           IL         60686-0000             5939               Various                                                                                       $331,118.29
ANCY D PAWLOWSKI                  PO BOX 277                                                       BARAGA            MI         49908                  6002               Various                                                                                             $1.01
ANDERS ANDERSON                   714 S 12TH ST                                                    ESCANABA          MI         49829                  6002               Various                                                                                             $5.81
ANDERSON (K9) FAMILY              2635 SOUTHHILLS DR                                               MISSOULA          MT         59803                  6002               Various                                                                                             $1.04
ANDERSON DISTRIBUTING COMPANY     VICE PRESIDENT OF SALES      144 W PORTER ST                     JACKSON           MI         49204                  2648               Various                                                                                          $258.00
ANDERSON FAMILY                   26930 LYONS ST NE                                                NORTH BRANCH      MN         55056                  6002               Various                                                                                             $2.19
                                                               C/O AUDUBON
ANDERSON SCHMIDT ACCOUNT          DARRELL ANDERSON             STATE BANK                          AUDUBON           IA         50025                   6736              Various                                                                                         $1,750.00
ANDRA NYMAN                       8917 S HIGHLAND RD                                               FISH CREEK        WI         54212                   6002              Various                                                                                             $8.66




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                                                                                                                                                        Account         Incurred, Basis for
             Creditor Name                Address1                 Address2        Address3             City          State           Zip   Country     Number                Claim                                                                             Total Claim
ANDRANETTE WATTS              516 4TH AVE SE                APT2                                ROCHESTER          MN         55904                 6004                Various                                                                                                $3.00
ANDRE EVINS-MCDONALD          3401 MCCULLOCH ST                                                 STEVENS POINT      WI         54481                 6002                Various                                                                                                $6.58
ANDRE GEBREMARIAM             407 10TH AVE                                                      WORTHINGTON        MN         56187                 6004                Various                                                                                                $2.85
ANDRE GONZALEZ-MARTINEZ       677 E. LAKE STREET - LOT 20                                       FORT ATKINSON      WI         53538                 6004                Various                                                                                                $2.00
ANDREA ALVARADO               2320 W. 14TH ST.                                                  NORTH PLATTE       NE         69101                 6004                Various                                                                                                $2.00
ANDREA BAIRD                  1522 WHITNEY DR                                                   APPLETON           WI         54914                 6004                Various                                                                                                $2.00
ANDREA BARRIOS                1701 SOUTH 26TH STREET                                            NAMPA              ID         83686                 6004                Various                                                                                                $3.65
ANDREA BAUMGARTNER            709 SMITH AVE                                                     WORTHINGTON        MN         56187                 6004                Various                                                                                                $3.00
ANDREA BURKE                  12845 DREXEL ST                                                   OMAHA              NE         68137                 6004                Various                                                                                               $10.00
ANDREA BURRELL                327 EAST NORTH STREET                                             STRONGHURST        IL         61480                 6004                Various                                                                                                $5.00
ANDREA CAREY                  411 WESTERN AVE                                                   WATERTOWN          WI         53094                 6004                Various                                                                                                $1.00
ANDREA CAZEL-BERGER           311 S CHERRY ST                                                   KALKASKA           MI         49646                 6002                Various                                                                                                $6.77
ANDREA CHURCH                 530 JACKSON ST                                                    FORT ATKINSON      WI         53538                 6004                Various                                                                                               $18.30
ANDREA COLLINS                305 HILLCREST DR                                                  PLATTSMOUTH        NE         68048                 6004                Various                                                                                               $39.60
ANDREA DATTA                  539 W SOUTH PARK AVE          APT A                               OSHKOSH            WI         54902                 6004                Various                                                                                               $10.00
ANDREA FISCHER                52 MIDDLE FORK LN                                                 LANDER             WY         82520                 6002                Various                                                                                                $7.37
ANDREA FOSTER                 2902 HANCOCK ST #146                                              BELLEVUE           NE         68005                 6004                Various                                                                                               $23.00
ANDREA G THOMPSON             1220 N 7TH ST                                                     COEUR D ALENE      ID         83814                 6002                Various                                                                                                $9.59
ANDREA GEORGE                 2407 KILMARY DR                                                   RAWLINS            WY         82301                 6002                Various                                                                                                $5.15
ANDREA GOSS                   3124 SWAN HWY                                                     BIGFORK            MT         59911                 6002                Various                                                                                                $4.08
ANDREA GREENSLADE             159 106TH ST UNIT 3                                               OROFINO            ID         83544                 6002                Various                                                                                                $3.86

ANDREA GRIMM                  122 OAKBROOK COURT                                                WISCONSIN RAPIDS   WI         54495                  6004               Various                                                                                                $3.00
ANDREA GRISSOM                108 S FOREST                                                      OROFINO            ID         83544                  6002               Various                                                                                                $8.99
ANDREA HAMILTON               725 RIDGE AVE NE APT 201                                          HUTCHINSON         MN         55350                  6002               Various                                                                                                $6.68
ANDREA HASLAM                 1275 E. LOFER VIEW DR                                             PAYSON             UT         84651                  6004               Various                                                                                               $16.00
ANDREA HAWKER                 40296 486TH ST                                                    NORTH MANKATO      MN         56003                  6004               Various                                                                                                $9.44
ANDREA HOLST                  3876 SUMMERSET WAY                                                OSHKOSH            WI         54901                  6002               Various                                                                                                $4.16
ANDREA J. BAIRD               707 S CHRISTINE ST                                                APPLETON           WI         54915                  6002               Various                                                                                                $1.34
ANDREA JAKUSZ                 1800 BLUEBELL LN                                                  STEVENS POINT      WI         54482                  6002               Various                                                                                                $2.41
ANDREA JOSE' ESTABAN          3518 GRANDVIEW BLVD                                               SIOUX CITY         IA         51104                  6004               Various                                                                                               $15.00
ANDREA KELLY                  20071 BLANCHE ST                                                  JULIAETTA          ID         83535                  6002               Various                                                                                                $1.89
ANDREA LAMANNA                PO BOX 353                                                        LINCOLN            MT         59639                  6004               Various                                                                                                $8.00
ANDREA LAURIE                 PO BOX 461                                                        MOHAWK             MI         49950                  6002               Various                                                                                                $1.18
ANDREA LYNN FULTON            1400 W PROSPECT AVE                                               APPLETON           WI         54914                  6002               Various                                                                                                $9.29
ANDREA M GRAU                 605 10TH ST APT 203                                               WINDOM             MN         56101                  6002               Various                                                                                                $3.75
ANDREA M MCLEAN               37344 EAGLE CT                                                    NORTH BRANCH       MN         55056                  6002               Various                                                                                                $0.52
ANDREA MAUSETH                1417 N 51ST ST                                                    OMAHA              NE         68132                  6004               Various                                                                                               $27.00
ANDREA MC ALLASTER            212 W AVE NORTH                                                   LYONS              KS         67554                  6002               Various                                                                                                $3.73
ANDREA MCFARLANDE             702 N MAPLE                                                       MARSHFIELD         WI         54449                  6004               Various                                                                                                $5.00
ANDREA MONTGOMERY             255 E ARNDT ST                                                    FOND DU LAC        WI         54935                  6002               Various                                                                                                $1.34
ANDREA NOVAK                  5931 N ROSEWOOD DR                                                APPLETON           WI         54913                  6002               Various                                                                                                $8.79
ANDREA O'HEARN                1120 NO. 23RD. STREET                                             MANITOWOC          WI         54220                  6002               Various                                                                                                $4.90
ANDREA OLWELL                 4100 E SHENANDOAH TR                                              SIOUX FALLS        SD         57103                  6002               Various                                                                                                $7.29
ANDREA OTTUM                  2644 S 21ST ST                                                    MANITOWOC          WI         54220                  6002               Various                                                                                                $4.19
ANDREA POON                   937 5TH STREET                                                    WESTBROOK          MN         56183                  6004               Various                                                                                                $5.00
ANDREA PRICE                  1794 HONEY RD                                                     HELENA             MT         59602                  6002               Various                                                                                                $7.07
ANDREA R. COLEMAN             RR 3 BOX 3270                                                     DONIPHAN           MO         63935                  6002               Various                                                                                                $5.48
ANDREA RAE FRAZIER            904 WASHAKIE ST                                                   LANDER             WY         82520                  6002               Various                                                                                                $4.03
ANDREA RHOAN                  1528 NW 5TH ST                                                    BEND               OR         97703                  6004               Various                                                                                               $25.00
ANDREA S POWERS               3257 LANNING RD                                                   EAST HELENA        MT         59635                  6002               Various                                                                                                $6.27
ANDREA SAATZER                209 E ASH ST                                                      SAINT JOSEPH       MN         56374                  6004               Various                                                                                                $3.00
ANDREA SCHMUNK                5430 FISK AVE                                                     OSHKOSH            WI         54904                  6004               Various                                                                                               $12.00
ANDREA SIMS                   624 CENTER ST                                                     KEWAUNEE           WI         54216                  6002               Various                                                                                                $9.56




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             Creditor Name               Address1              Address2          Address3             City        State           Zip   Country     Number                Claim                                                                             Total Claim
ANDREA SIPE                   3110 LAZELLE ST LOT 309                                         STURGIS          SD         57785                 6002                Various                                                                                                $9.21
ANDREA SMITH                  1069 N ANGEL ST                                                 LAYTON           UT         84041                 6002                Various                                                                                                $2.71
ANDREA SNIDER                 10903 E MAIN                                                    SPOKANE          WA         99206                 6004                Various                                                                                                $1.65
ANDREA SPURLOCK               PO BOX 864                                                      LANDER           WY         82520                 6002                Various                                                                                                $2.33
ANDREA STLAURENT              2979 BLUE SPRUCE DR                                             GREEN BAY        WI         54311                 6002                Various                                                                                                $5.04
ANDREA UTLEY                  1341 COLUMBUS AVE                                               HOWARDS GROVE    WI         53083                 6004                Various                                                                                               $20.00
ANDREA VAGNONI                8837 45TH AVENUE                                                KENOSHA          WI         53142                 6004                Various                                                                                                $2.00
ANDREA VENTEICHER             210 3RD ST NE                                                   WAUKON           IA         52172                 6002                Various                                                                                                $4.68
ANDREA WILCHER                2315 PARK LN SE              TRAILER 110                        ROCHESTER        MN         55904                 6004                Various                                                                                                $3.00
ANDREA ZONICK                 1625 N LILAS DR                                                 APPLETON         WI         54914                 6002                Various                                                                                                $2.88

ANDREAS BRAUN/ KATINA         STORE 2-179                  SHOPKO EMPLOYEE                    GREEN BAY        WI         54307-9060             0820               Various                                                                                               $50.76
ANDREINA GARCIA               2004 18 1/2 AVE NW APT 4                                        ROCHESTER        MN         55901                  6002               Various                                                                                                $7.51
ANDREIZ BANUELOS              20 SAYNER COURT #41                                             MADISON          WI         53717                  6004               Various                                                                                                $3.00
ANDREMEO WILLIAMS             1611 SCHAEFER CIR APT 16                                        APPLETON         WI         54915                  6004               Various                                                                                                $3.00
ANDRES ACOSTA                 3595 PINEVALE COURT                                             SALT LAKE CITY   UT         84120                  6004               Various                                                                                               $23.00
ANDRES ALVARADO               328 PALACE LN                                                   NAMPA            ID         83687                  6004               Various                                                                                                $5.00
ANDRES DELGADO                614 5TH AVE NW                                                  PLAINVIEW        MN         55964                  6004               Various                                                                                                $3.06
ANDRES GONZALEZ               924 SUNSET ROAD                                                 MONMOUTH         IL         61462                  6004               Various                                                                                               $31.08
ANDRES MEDINA                 3761 ORIOLE AVE                                                 POCATELLO        ID         83201                  6002               Various                                                                                                $7.70
ANDRES MORA                   221 HUTH ST.                                                    GREEN BAY        WI         54301                  6004               Various                                                                                                $4.00
ANDREW ARMSTRONG              1335 WYOMING ST                                                 MISSOULA         MT         59801                  6004               Various                                                                                                $2.00
ANDREW ASMUS                  8440 MARKET STREET APT 300                                      MIDDLETON        WI         53562                  6004               Various                                                                                                $5.00
ANDREW AUGUSTYN               PO BOX 761                                                      ELY              MN         55731                  6002               Various                                                                                                $6.36
ANDREW B LEIBENGUTH           704 CONTINENTAL WAY                                             MISSOULA         MT         59803                  6002               Various                                                                                                $3.78
ANDREW BAEB                   2970 MOSSY OAK CIRCLE                                           GREEN BAY        WI         54311                  6004               Various                                                                                                $1.71
ANDREW BARNARD                1398 JOHNSON ROAD                                               NEZ PERCE        ID         83543                  6004               Various                                                                                               $55.00
ANDREW BARNICK                818 W BROADWAY AVE                                              SAINT PETER      MN         56082                  6002               Various                                                                                                $3.81
ANDREW BENEDUM                4130 CLOVER RD APT A                                            MANITOWOC        WI         54220                  6002               Various                                                                                                $4.85
ANDREW BERTRAM                119 EAST 11TH STREET                                            FOND DU LAC      WI         54935                  6004               Various                                                                                               $43.98
ANDREW BEST                   6118 SPAULDING ST                                               OMAHA            NE         68104                  6004               Various                                                                                                $2.00
ANDREW BIRLING                N514 WILLOW CREST CT                                            APPLETON         WI         54915                  6004               Various                                                                                                $2.00
ANDREW BLY                    612 #H LINDEN AVE                                               LEWISTON         ID         83501                  6002               Various                                                                                                $1.89
ANDREW BOWEN                  232 W JOHNSON ST                                                RIVER FALLS      WI         54022                  6004               Various                                                                                                $2.50
ANDREW BRADFORD               1333 MAIN ST                 APT 3                              LA CROSSE        WI         54601                  6004               Various                                                                                               $25.00
ANDREW BRASK                  1900 HIGHLAND ST                                                HELENA           MT         59601                  6002               Various                                                                                                $5.84
ANDREW BRENT ELLIS            2417 E 1170TH S                                                 SPANISH FORK     UT         84660                  6002               Various                                                                                                $9.89
ANDREW BROHAUGH               2415 RANDOLPH ST.                                               CALEDONIA        IL         61011                  6004               Various                                                                                               $40.00
ANDREW C CRANER               N1659 SHORE DR                                                  MARINETTE        WI         54143                  6002               Various                                                                                                $6.60
ANDREW CABANAS                31536 LOCH ALINE DR                                             WESLEY CHAPEL    FL         33545                  6002               Various                                                                                                $7.78
ANDREW CAREY                  PO BOX 285                                                      EDGAR            WI         54426                  6002               Various                                                                                                $5.45
ANDREW COOLEY                 4560 SCHRODER DR                                                OMAHA            NE         68157                  6004               Various                                                                                               $10.00
ANDREW COUTURE                7101 LEIGHTON AVE                                               LINCOLN          NE         68507                  6004               Various                                                                                               $30.00
ANDREW COX                    2020 S 33RD ST                                                  LINCOLN          NE         68506                  6002               Various                                                                                               $16.27
ANDREW CRAWFORD               2502 OLD 36                                                     JACKSONVILLE     IL         62650                  6004               Various                                                                                               $29.00
ANDREW DIRING                 4001 LANGES CORNER ROAD                                         DE PERE          WI         54115                  6004               Various                                                                                                $3.00
ANDREW DRAGON                 6138 PRATT ST                                                   OMAHA            NE         68104                  6002               Various                                                                                                $2.58
ANDREW ELLENBECKER            1301 20TH STREET SOUTH                                          LA CROSSE        WI         54601                  6004               Various                                                                                               $25.00
ANDREW ENGLISH                4601 POWERHOUSE ROAD 63                                         YAKIMA           WA         98908                  6004               Various                                                                                                $5.20
ANDREW EVANS                  1820 GRELLE AVE                                                 LEWISTON         ID         83501                  6004               Various                                                                                                $8.12
ANDREW FINLINSON              1901 CARDINAL ST                                                WORLAND          WY         82401                  6002               Various                                                                                                $7.84
ANDREW FLORA                  595 PAPA LN                                                     KALISPELL        MT         59901                  6002               Various                                                                                                $4.77
ANDREW FORSTNER               212 W BERT ST PO BOX 452                                        LAKE CRYSTAL     MN         56055                  6004               Various                                                                                               $25.50
ANDREW FOSS                   2159 13TH AVE # 12 1/2                                          CAMERON          WI         54822                  6002               Various                                                                                                $3.07




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            Creditor Name                Address1              Address2        Address3             City        State           Zip    Country     Number                Claim                                                                             Total Claim
ANDREW GAMEZ                 1620 VOGT DR APT 203                                           WEST BEND        WI         53095                  6002                Various                                                                                             $3.67
ANDREW GENE NORDMAN          1010 W 1445TH N                                                OREM             UT         84057                  6002                Various                                                                                             $3.18
ANDREW GESSLER               629 DEER RIDGE RD                                              KEWASKUM         WI         53040                  6666                Various                                                                                            $15.00
ANDREW GRUNOW                2016 N12 TH STREET                                             SHEBOYGAN        WI         53081                  6004                Various                                                                                            $10.00
ANDREW HALBUR                137 BRYCE LANE                                                 KALISPELL        MT         59901                  6004                Various                                                                                             $9.00
ANDREW HEIMERMAN             1875 VERLIN RD              #3                                 GREEN BAY        WI         54302                  6004                Various                                                                                             $2.60
ANDREW HOARD                 660 SE GLENEDEN PL                                             BEND             OR         97702                  6004                Various                                                                                             $9.86
ANDREW HOYT                  953 WOOD RD APT 110                                            KENOSHA          WI         53144                  6002                Various                                                                                             $0.49
ANDREW HURLEY                N2758 US HIGHWAY 41                                            MENOMINEE        MI         49858                  6004                Various                                                                                             $2.40
ANDREW J DONEGAN             7464 CO RD # 612                                               KALKASKA         MI         49646                  6002                Various                                                                                             $5.29
ANDREW J WILLIAMS            2100 S ONEIDA ST                                               GREEN BAY        WI         54304                  6002                Various                                                                                             $3.26
ANDREW JARVIS                1624 NORTHPOINT ST                                             OSHKOSH          WI         54901                  6004                Various                                                                                            $28.78
ANDREW JOHNSTON              303 W SPRING ST                                                LOYAL            WI         54446                  6002                Various                                                                                             $2.90
ANDREW KARVEL                650 S 2ND ST APT 1                                             LANSING          IA         52151                  6002                Various                                                                                             $9.12
ANDREW KASLON                1004 S EUGENE                                                  GRAND ISLAND     NE         68801                  6004                Various                                                                                            $15.02
ANDREW KAZMER                559 LORRAINE LN                                                GREEN BAY        WI         54311                  6002                Various                                                                                             $2.16
ANDREW KELLY                 1915 MONT HWY # 206                                            COLUMBIA FALLS   MT         59912                  6002                Various                                                                                             $0.99
ANDREW KIMOSE                1831 N 2300TH W                                                FARR WEST        UT         84404                  6002                Various                                                                                             $8.38
ANDREW KLINGFORTH            2410 STATE STREET                                              LA CROSSE        WI         54603                  6004                Various                                                                                            $25.00
ANDREW KRAUSE                3641 ANN MARIE DR. #1                                          PLOVER           WI         54467                  6004                Various                                                                                           $164.98
ANDREW KRECH                 257 N PIETY ST                                                 ELLSWORTH        WI         54011                  6002                Various                                                                                             $4.63
ANDREW KREKLOW               331 N. ELIZABETH AVENUE                                        JEFFERSON        WI         53549                  6004                Various                                                                                             $2.00
ANDREW KRUPP                 21914 WILMOT RD.                                               SALEM            WI         53168                  6004                Various                                                                                            $50.00
ANDREW KUNSTMAN              2109 W CAPITAL DR                                              APPLETON         WI         54914                  6002                Various                                                                                             $7.42
ANDREW L DUBRAY              BOX 437                                                        WINNER           SD         57580                  6002                Various                                                                                             $2.60
ANDREW L MCCLAIN             2731 DUCK VIEW CIR                                             BROOK PARK       MN         55007                  6002                Various                                                                                             $8.99
ANDREW LANDSVERK             521 SEYMOUR ST                                                 SEYMOUR          WI         54165                  6004                Various                                                                                             $3.27
ANDREW LARSEN                6437 S 2700 W                                                  WEST JORDAN      UT         84084                  6004                Various                                                                                             $9.99
ANDREW LAURIN                511 1ST STREET              #25                                MENOMINEE        MI         49858                  6004                Various                                                                                            $16.00
ANDREW LEE                   919 AMBERLY TRL                                                GREEN BAY        WI         54311                  6002                Various                                                                                            $14.57
ANDREW LOOSBROCK             708 HONEYSUCKLE DRIVE                                          HARRISBURG       SD         57032                  6004                Various                                                                                            $30.00
ANDREW LOYAL GLAWE           W6150 COUNTY BB LOT 96                                         APPLETON         WI         54915                  6002                Various                                                                                             $0.36
ANDREW LULLOFF               4405 OAK RIDGE CIR                                             DE PERE          WI         54115                  6002                Various                                                                                             $2.88
ANDREW LYNWOOD               1510 1/2 NEWBERRY AVE                                          MARINETTE        WI         54143                  6002                Various                                                                                             $4.79
ANDREW M NELSON              5735 CTY RD # 140                                              FAIRVIEW         WY         83119                  6002                Various                                                                                             $6.16
ANDREW MACIEJEWSKI           W 8386 COUNTY RD M                                             SHAWANO          WI         54166                  6004                Various                                                                                            $10.00
ANDREW MARSDEN               1259 E MILWAUKEE ST                                            JANESVILLE       WI         53545                  6004                Various                                                                                            $24.00
ANDREW MASKO-LEE             1 O'BRIEN CT                                                   MADISON          WI         53714                  6004                Various                                                                                             $1.00
ANDREW MCDONALD              3015 LENNON LN                                                 NEENAH           WI         54956                  6004                Various                                                                                            $20.00
ANDREW MOXLEY                37 N 6TH ST                                                    HILBERT          WI         54129                  6004                Various                                                                                            $25.00
ANDREW MULHERN               4521 ARMISTICE LN                                              MADISON          WI         53704                  6004                Various                                                                                             $5.70
ANDREW MYSHACK               4398 SUNSHINE LAKE RD                                          DULUTH           MN         55803                  6004                Various                                                                                            $23.88
ANDREW NAVARRO               2402 18TH AVE NW                                               ROCHESTER        MN         55901                  6002                Various                                                                                             $5.23
ANDREW NEBEL                 346 WASHBURN RD                                                DEERFIELD        WI         53531                  6004                Various                                                                                             $5.00
ANDREW NEKUDA                3703 MARIE DRIVE                                               BELLEVUE         NE         68147                  6004                Various                                                                                            $45.00
ANDREW NUENKE                1469 BENTON ST              APT 18                             IDAHO FALLS      ID         83401                  6004                Various                                                                                             $9.50
ANDREW OWEN                  3415 HARRISON BLVD APT 20                                      OGDEN            UT         84403                  6002                Various                                                                                             $2.16
ANDREW PETERS                2609 N MIDDLETON RD                                            NAMPA            ID         83651                  6002                Various                                                                                             $2.82
ANDREW PETKOVSEK             215 S WEST ST                                                  LOYAL            WI         54446                  6002                Various                                                                                             $6.16
ANDREW PETTEGREW             301 PARK STREET - APT 1                                        FORT ATKINSON    WI         53538                  6004                Various                                                                                             $2.00
ANDREW POPP                  106 FLORENCE ST POB # 64                                       RAKE             IA         50465                  6002                Various                                                                                             $8.36
ANDREW RADLOFF               120 S JACKSON STREET                                           ELKHORN          WI         53121                  6004                Various                                                                                             $6.02
ANDREW RAE                   BOW 154                                                        SPRAGUE          MB                       CANADA 6002                  Various                                                                                             $4.58
ANDREW REINKE                6630 CARLTON DR                                                MADISON          WI         53718                  6004                Various                                                                                             $4.00




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                                                                                                                                                                                                                                Claim subject to offset?
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                                                                                                                                                                                         Contingent


                                                                                                                                                                                                                     Disputed
                                                                                                                                                Last 4 Digits of     Date Debt was
                                                                                                                                                   Account         Incurred, Basis for
             Creditor Name                Address1               Address2        Address3              City      State           Zip   Country     Number                Claim                                                                             Total Claim
ANDREW RETTERATH              1906 3RD AVE SW                                                 AUSTIN          MN         55912                 6004                Various                                                                                            $17.00
ANDREW RHOADES                913 S. ANNWAY                                                   SIOUX FALLS     SD         57103                 6004                Various                                                                                             $3.00
ANDREW RICHA KELLY            1114 WAMBLI CT DR                                               RAPID CITY      SD         57702                 6002                Various                                                                                             $5.23
ANDREW ROBERTS                690 SCHILLING CIRCLE                                            FOREST LAKE     MN         55025                 6004                Various                                                                                            $25.50
ANDREW SACKSTEDER             1416 LAKESHORE DR                                               GLADSTONE       MI         49837                 6002                Various                                                                                             $2.16
ANDREW SCHALLER               8095 COLEMAN RDG                                                NEENAH          WI         54956                 6002                Various                                                                                             $6.58
ANDREW SCHMITZ                N2863 EVERGREEN LN                                              APPLETON        WI         54913                 6004                Various                                                                                            $30.00
ANDREW SCHUESSLER             1463 SLIVERCLIFF CT                                             GREEN BAY       WI         54313                 6002                Various                                                                                             $4.99
ANDREW SCHUMAN                923 CARNOUSTIE WAY                                              OREGON          WI         53575                 6004                Various                                                                                            $23.00
ANDREW SEIDL                  2924 AQUARIUS RD                                                GREEN BAY       WI         54311                 6002                Various                                                                                             $9.95
ANDREW SHELSTAD               105 N. 4TH ST.                                                  MOUNT HOREB     WI         53572                 6004                Various                                                                                             $1.00
ANDREW SHOCKEY                101 W BRIAR LN                                                  GREEN BAY       WI         54301                 6002                Various                                                                                             $0.96
ANDREW SILL                   932 KENTUCKY STREET                                             QUINCY          IL         62301                 6004                Various                                                                                            $13.13
ANDREW SIPPEL                 N3405 OTSEGO RD                                                 RIO             WI         53960                 6002                Various                                                                                             $6.30
ANDREW SNITKA                 318 HUSTSVILLE RIDGE                                            SUN PRAIRIE     WI         53590                 6004                Various                                                                                            $15.00
ANDREW SOLEY                  3002 DARCY DR NE                                                ROCHESTER       MN         55906                 6002                Various                                                                                             $7.92
ANDREW SPRINGER               W5846 CTY RD P                                                  MONROE          WI         53566                 6004                Various                                                                                            $43.00
ANDREW STEFFENS               1162 VANDERBRAAK ST                                             GREEN BAY       WI         54302                 6002                Various                                                                                             $2.77
ANDREW STEIN                  229 W. PLEASANT ST.           #4                                PORTAGE         WI         53901                 6004                Various                                                                                             $1.00
ANDREW STEMPLE                1674 SHAWANO                                                    GREEN BAY       WI         54303                 6004                Various                                                                                            $22.00
ANDREW STUEBER                1120 ELMORE ST                                                  GREEN BAY       WI         54303                 6004                Various                                                                                             $1.02
ANDREW SYRJALA                1312 E FOOT ST                                                  WATTON          MI         49970                 6002                Various                                                                                             $0.49
ANDREW THOMA STANAWAY         N5898 STATE HIGHWAY 180                                         MARINETTE       WI         54143                 6002                Various                                                                                            $10.00
ANDREW TINDALL                216 E. NORTH ST.                                                HUMBOLDT        SD         57035                 6004                Various                                                                                            $10.00
ANDREW UZZELL                 2821 TIERRA DR., APT # #312                                     LINCOLN         NE         68516                 6004                Various                                                                                           $129.99
ANDREW VAN BRUNT              628 HARVEY RD                                                   GREEN BAY       WI         54311                 6002                Various                                                                                             $6.27
ANDREW VAN LUVEN              1008 SYCAMORE TREE DR                                           FOND DU LAC     WI         54935                 6004                Various                                                                                             $2.00
ANDREW VILA                   8670 N REGENT RD                                                MILWAUKEE       WI         53217                 6004                Various                                                                                            $54.00
ANDREW VOGES                  451 N 6TH ST                                                    MANKATO         MN         56001                 6004                Various                                                                                             $3.00
ANDREW W BERN                 201 N SUNNYLANE                                                 MONMOUTH        IL         61462                 6002                Various                                                                                             $7.84
ANDREW W JOHNSTON             2010 WISCONSIN AVE                                              PLOVER          WI         54467                 6002                Various                                                                                             $7.51
ANDREW WAGNER                 N8231 SMITH ROAD                                                BROOKLYN        WI         53521                 6004                Various                                                                                            $37.00
ANDREW WALEJKO                21 WEST VAN ALTENA AVE                                          CEDAR GROVE     WI         53013                 6004                Various                                                                                            $11.37
ANDREW WEIGAND                319 FOSTER ST.                                                  OSHKOSH         WI         54902                 6004                Various                                                                                             $2.00
ANDREW WEILER                 3215 VILLAGE LANE                                               PLOVER          WI         54467                 6004                Various                                                                                             $4.00
ANDREW WELLS                  709 N 2ND AVE                                                   NORTON          KS         67654                 6002                Various                                                                                             $4.63
ANDREW WELTY                  3911 WORTHINGTON                                                LINCOLN         NE         68502                 6004                Various                                                                                            $20.00
ANDREW WENK                   1017 DRAKE ST                                                   MADISON         WI         53715                 6004                Various                                                                                             $6.40
ANDREW WIEGAND                821 S DEWEY ST                                                  NORTH PLATTE    NE         69101                 6002                Various                                                                                             $8.33
ANDREW WILLEY                 154 PANORAMA DRIVE                                              LEXINGTON       SC         29072                 6004                Various                                                                                            $13.00
ANDREW WILLIAMS               916 14TH AVE SE                                                 AUSTIN          MN         55912                 6002                Various                                                                                             $6.90
ANDREW WYATT                  22130 690TH ST                                                  KASSON          MN         55944                 6004                Various                                                                                             $3.06
ANDREW YOUNG                  1308 FERN LN                                                    WAUSAU          WI         54401                 6002                Various                                                                                             $1.23
ANDREY TOLMACHEV              1503 TAFT AVE                                                   SALMON          ID         83467                 6002                Various                                                                                             $1.23
ANDRIA BROWN                  1986 N 4900 W                                                   PLAIN CITY      UT         84404                 6004                Various                                                                                            $13.52
ANDRIA CORRIELL               51504 N WHAN RD.                                                BENTON CITY     WA         99320                 6004                Various                                                                                            $22.50
ANDRIA PERRY                  140 NORTH RIDGELY STREET                                        KASOTA          MN         56050                 6004                Various                                                                                             $6.00
ANDRIA RIDDLE                 3713 14TH STREET C                                              LEWISTON        ID         83501                 6004                Various                                                                                            $10.02
ANDRIA RUSCH                  1663 BLACKJACK WAY                                              GREEN BAY       WI         54313                 6002                Various                                                                                             $0.36
ANDRIA VOLTIN                 411 GLENWOOD AVE                                                MANKATO         MN         56001                 6004                Various                                                                                             $2.50
ANDRIANA PILIOURAS            5304 SCHLUTER RD.                                               MONONA          WI         53713                 6004                Various                                                                                            $15.00

ANDY DAVIDSON                 2200 GREAT NORTHERN AVE #12                                     MISSOULA        MT         59808                  6004               Various                                                                                               $6.00




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                                                                                                                                                                                         Contingent


                                                                                                                                                                                                                     Disputed
                                                                                                                                                Last 4 Digits of     Date Debt was
                                                                                                                                                   Account         Incurred, Basis for
             Creditor Name              Address1               Address2         Address3            City        State           Zip   Country      Number                Claim                                                                             Total Claim

ANDY GREENE                   N88W16152 PARK BLVD                                            MENOMONEE FALLS   WI       53051                   6004               Various                                                                                             $5.00
ANDY GUTHRIE                  15 1/2 W CENTRAL ST                                            CHIPPEWA FALLS    WI       54729                   6002               Various                                                                                             $8.47
ANDY KING                     1748 FIESTA LANE                                               GREEN BAY         WI       54302                   6004               Various                                                                                            $15.00
ANDY MOUA                     905 PARROT LANE                                                WAUSAU            WI       54401                   6004               Various                                                                                            $10.00
ANDY PEARA                    410 EAST 34TH AVE                                              EUGENE            OR       97405                   6004               Various                                                                                             $5.00
ANDY POAST                    402 GROVE ST                                                   FORT ATKINSON     WI       53538                   6002               Various                                                                                             $2.33
ANDY RADLOFF                  513 WALNUT AVE                                                 MADISON LAKE      MN       56063                   6004               Various                                                                                             $6.00
ANDY VIDAL                    1011 CHERYL COURT                                              PORT EDWARDS      WI       54469                   6004               Various                                                                                            $10.00
ANDY WATERMAN                 1222 HASTINGS ST                                               GREEN BAY         WI       54301                   6004               Various                                                                                            $25.40
ANDY WOLD                     170 E CLAYBOURNE AVE                                           SALT LAKE CITY    UT       84115                   6002               Various                                                                                             $2.33
ANDY YANG                     2121 GLENDALE RD                                               MOSINEE           WI       54455                   6004               Various                                                                                            $40.00
ANEEP JASPAL                  3002 SUNRISE CT                                                MIDDLETON         WI       53562                   6002               Various                                                                                             $1.51
ANETTA SETNES                 308 HILLVIEW RD                                                SISSETON          SD       57262                   6002               Various                                                                                             $7.26
ANETTE MC COY                 PO BOX 703                                                     WELLPINIT         WA       99040                   6004               Various                                                                                            $30.00
ANGALEKA J. SIROSHTON         1114 W CLEARVIEW CT                                            HAYDEN            ID       83835                   6002               Various                                                                                             $4.82
ANGEL BEVERLY                 114 WEST PLEASANT ST                                           GARDEN CITY       MN       56034                   6004               Various                                                                                             $3.00
ANGEL CORONA                  1065 WALL AVE TRLR # 110                                       OGDEN             UT       84404                   6002               Various                                                                                             $1.62
ANGEL EZEQUI ORTIZ PEREZ      1538 SPRING AVE TRLR 105                                       WORTHINGTON       MN       56187                   6002               Various                                                                                             $6.38
ANGEL FERNANDO                2133 BUNKER LN                                                 SAINT PETER       MN       56082                   6002               Various                                                                                             $5.75
ANGEL HEIKKINEN               N1652 RAUWERDINK ROAD                                          CEDAR GROVE       WI       53013                   6004               Various                                                                                             $1.00
ANGEL ISHERWOOD               426 MAIN STREET             P.O. BOX 356                       BROWNSVILLE       WI       53006                   6004               Various                                                                                             $5.00
ANGEL LEAR-LUX                2425 S 15TH LOT 59                                             PLATTSMOUTH       NE       68048                   6004               Various                                                                                            $20.00
ANGEL LIND DAIRY INC          4092 US HWY 87 S                                               ROUNDUP           MT       59072                   1557               Various                                                                                         $1,372.17
ANGEL LUCIA                   517 E BROADWAY #5                                              HELENA            MT       59601                   6004               Various                                                                                             $2.00
ANGEL MARTINEZ                6920 Y ST                                                      LINCOLN           NE       68505                   6004               Various                                                                                            $23.00
ANGEL OCHOA                   706 N 1ST STREET                                               SELAH             WA       98942                   6004               Various                                                                                            $11.68
ANGEL OKSUITA                 175 CIMMARON CT APT A                                          OSHKOSH           WI       54902                   6004               Various                                                                                            $25.00
ANGEL QUINONES                997 CHRISTIANA ST                                              GREEN BAY         WI       54303                   6004               Various                                                                                             $5.00
ANGEL RAMIREZ                 813 LINDENWOOD LN APT 4                                        BELVIDERE         IL       61008                   6004               Various                                                                                             $3.90
ANGEL SCHUETZE                1750 MARISSA CRT                                               DE PERE           WI       54115                   6004               Various                                                                                            $33.00
ANGEL SHILTS                  316 HARVEST LN                                                 ALTOONA           WI       54720                   6002               Various                                                                                             $6.49
ANGEL STEVENS                 PO BOX 75                                                      KALKASKA          MI       49646                   6002               Various                                                                                             $1.34
ANGEL WESTER                  1544 6TH AVE WEST                                              KALISPELL         MT       59901                   6004               Various                                                                                             $2.00
ANGELA A LAMBERT              1507 2ND AVE E                                                 SPENCER           IA       51301                   6002               Various                                                                                             $3.53
ANGELA ALLAN                  358 N GATEWAY DR UNIT 311                                      PROVIDENCE        UT       84332                   6002               Various                                                                                             $8.66
ANGELA AYALA                  W3266 EAST GATE DR                                             WATERTOWN         WI       53094                   6004               Various                                                                                            $20.00
ANGELA BAKER                  803 CHICKADEE DRIVE                                            CAMBRIDGE         WI       53523                   6004               Various                                                                                             $4.00
ANGELA BAUMGART               1306 3RD AVE NE                                                WATERTOWN         SD       57201                   6002               Various                                                                                             $9.45
ANGELA BELL                   128 E SECOND                                                   FOND DU LAC       WI       54935                   6002               Various                                                                                             $8.14
ANGELA BINO                   826 18TH ST                                                    SIOUX CITY        IA       51105                   6002               Various                                                                                             $3.89
ANGELA BORGEN                 29 VAIL CIR                                                    GRAND FORKS       ND       58201                   6002               Various                                                                                             $2.52
ANGELA BRUNNER                5858 S. 107ST STREET                                           OMAHA             NE       68127                   6004               Various                                                                                            $25.00
ANGELA BURGER                 604 N. WALNUT                                                  MARSHFIELD        WI       54449                   6004               Various                                                                                             $2.00
ANGELA BURT                   226 11 1/2 ST SE                                               ROCHESTER         MN       55904                   6004               Various                                                                                             $6.00
ANGELA CABRERA                504 10TH ST                                                    BREWSTER          MN       56119                   6002               Various                                                                                             $8.99
ANGELA CARDINAL               W6222 CEMETERY ROAD                                            VAN DYNE          WI       54979                   6004               Various                                                                                            $40.00
ANGELA CHRISTENSEN            373 N WOODWARD ST                                              AINSWORTH         NE       69210                   6002               Various                                                                                             $8.44
ANGELA COLES                  307 E FRONT ST                                                 ANACONDA          MT       59711                   6002               Various                                                                                             $2.14
ANGELA CZAJA                  607 SANITORIUM ROAD                                            KAUKAUNA          WI       54130                   6004               Various                                                                                             $1.54
ANGELA D. ROBINSON            2114 PARK AVE                                                  GRAND ISLAND      NE       68803                   6002               Various                                                                                             $3.89
ANGELA DOMINA                 124 W CAMBRIA ST                                               NEWCASTLE         WY       82701                   6002               Various                                                                                             $0.85
ANGELA EISCHEID               200 SPRUCE AVE NW                                              MONTGOMERY        MN       56069                   6002               Various                                                                                             $6.60
ANGELA EMERSON                1615 18TH AVE S                                                MOORHEAD          MN       56560                   6002               Various                                                                                             $0.74




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                                                                                                                                                                                                 Contingent


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                                                                                                                                                        Last 4 Digits of     Date Debt was
                                                                                                                                                           Account         Incurred, Basis for
             Creditor Name               Address1                 Address2            Address3             City          State           Zip   Country     Number                Claim                                                                             Total Claim
ANGELA ENGLISH                616 AVE D                                                            GOTHENBURG         NE         69138                 6002                Various                                                                                               $12.39
ANGELA ERICKSON               1509 AGNES RD                                                        FORT ATKINSON      WI         53538                 6002                Various                                                                                                $8.27
ANGELA ERIN SMITH             1019 15TH ST N PRE RELEASE                                           GREAT FALLS        MT         59401                 6002                Various                                                                                                $5.15
ANGELA ESPERES                1117 TALCOTT STREET                                                  FORT ATKINSON      WI         53538                 6004                Various                                                                                                $1.00
ANGELA FILLAUS                PO BOX 104                                                           MOUNT VERNON       SD         57363                 6004                Various                                                                                               $10.02
ANGELA FINNEY                 8204 W BURNEAU AVE                                                   KENNWICK           WA         99336                 6004                Various                                                                                                $5.00
ANGELA FOREMAN                370 COLLEGE AVE                                                      KALISPELL          MT         59901                 6004                Various                                                                                               $20.00
ANGELA G BRENNA               1518 S WASSON LN APT 2                                               RIVER FALLS        WI         54022                 6002                Various                                                                                                $3.40
ANGELA GARZA                  302 PARKWAY DR #3                                                    MARSHALL           WI         53559                 6004                Various                                                                                                $2.00
ANGELA GLODOWSKI              4202 MONONA DRIVE                                                    MONONA             WI         53716                 6004                Various                                                                                                $3.00
ANGELA GOLBERG                89032 OAKLAND AVE                                                    OAKLAND            MN         56007                 6004                Various                                                                                                $3.00
ANGELA GONZALEZ               6819 SO 28TH ST                                                      OMAHA              NE         68107                 6004                Various                                                                                                $4.00
ANGELA GREEN                  2002 S. WOODLAWN                                                     SPOKANE            WA         99216                 6004                Various                                                                                                $4.31

ANGELA GRUSCZYNSKI            1823 26TH ST N                                                       WISCONSIN RAPIDS   WI         54494                  6004               Various                                                                                               $26.00
ANGELA HALLETT                2270 MAPLE DR                                                        SISTER BAY         WI         54234                  6002               Various                                                                                                $8.22
ANGELA HANSON                 N3286 CTY RD C                                                       PULASKI            WI         54162                  6004               Various                                                                                                $5.02
ANGELA HAUN                   740 W GROVE ST                                                       WEST POINT         NE         68788                  6002               Various                                                                                                $5.97
ANGELA HESER                  1719 BROADWAY                  PO BOX 83                             BIGELOW            MN         56117                  6004               Various                                                                                                $3.00
ANGELA HILLESTAD              104 N MANORVILLE AVENUE                                              KASSON             MN         55944                  6004               Various                                                                                               $11.22

ANGELA HOEKEMA                12411 E MANSFIELD AVE APT 16                                         SPOKANE VALLEY     WA         99216                  6004               Various                                                                                               $45.02
ANGELA HOEKSEMA               1753 SUNNYSIDE LN                                                    DE PERE            WI         54115                  6002               Various                                                                                                $9.81
ANGELA HOLBROOK               76641 ROAD 416                                                       GOTHENBURG         NE         69138                  6002               Various                                                                                                $1.62
ANGELA HOLZMAN                1614 N 24TH ST                                                       CLEAR LAKE         IA         50428                  6002               Various                                                                                                $2.19
ANGELA HORNE                  921 JAMES ST                                                         EAU CLAIRE         WI         54703                  6004               Various                                                                                               $25.00
ANGELA HORTON                 620 N 32ND NO5                                                       BILLINGS           MT         59101                  6004               Various                                                                                               $25.00
ANGELA HULCE                  105 W NORTH ST                                                       BOSCOBEL           WI         53505                  6002               Various                                                                                               $10.11
ANGELA IGNARSKI               2803 CTY C                                                           KRAKOW             WI         54137                  6004               Various                                                                                               $25.50
ANGELA ISADORE                W11007 SUNSET VALLEY RD                                              CRIVITZ            WI         54114                  6004               Various                                                                                               $16.00
ANGELA J LONGSHORE            159 BALDWIN CT                                                       APPLETON           WI         54915                  6002               Various                                                                                                $8.08
ANGELA JUNKO-GIESE            1514 N WASHINGTON                                                    MASON CITY         IA         50401                  6004               Various                                                                                                $1.02
ANGELA KAUFMAN                315 3RD AVE W                                                        SISSETON           SD         57262                  6002               Various                                                                                                $7.53
ANGELA KETTERLING             1302 4TH AVE SW                                                      ABERDEEN           SD         57401                  6002               Various                                                                                                $0.77
ANGELA L BATES                815 17TH RD                                                          LYONS              KS         67554                  6002               Various                                                                                                $4.82
ANGELA LAMB                   344 POLK STREET                APT 201 C                             FOND DU LAC        WI         54937                  6004               Various                                                                                                $6.06
ANGELA LEHMANN                30608 565TH ST                                                       MILLVILLE          MN         55957                  6002               Various                                                                                                $1.89
ANGELA LINCOLN                5519 N 5TH ST                                                        OMAHA              NE         68110                  6004               Various                                                                                                $2.00
ANGELA M BARDEAUX             4437 6TH ST NE                                                       MINNEAPOLIS        MN         55421                  6002               Various                                                                                                $7.56
ANGELA M DIMAGGIO             6311 PHEASANT RUN                                                    MC FARLAND         WI         53558                  6002               Various                                                                                                $5.15
ANGELA M FLOR                 41376 HARDER AVE                                                     HARRIS             MN         55032                  6002               Various                                                                                                $5.40
ANGELA M. BACKMAN             306 LINDA DR                                                         EAGLE LAKE         MN         56024                  6002               Various                                                                                                $7.53
ANGELA MAISCH                 1511 LAKE BLAINE RD                                                  KALISPELL          MT         59901                  6002               Various                                                                                                $9.26
ANGELA MARTIN                 1920 MARY ST TRLR 17                                                 SALMON             ID         83467                  6002               Various                                                                                                $0.93
ANGELA MARTINEZ               4965 BIRCH VIEW CRT                                                  W.V.C.             UT         84120                  6004               Various                                                                                               $10.00
ANGELA MCWAIN                 209 KANSAS                                                           HUDSON             WY         82515                  6002               Various                                                                                                $6.55
ANGELA MEYERING               1006 KRAMME DR                                                       FORT DODGE         IA         50501                  6002               Various                                                                                                $7.84
ANGELA MULLINS                929 CLAYTON PLACE                                                    GREEN BAY          WI         54302                  6004               Various                                                                                               $37.50

ANGELA NICHOLS                BOX 888 THAYNE WY 83127 5555                                         FREEDOM            WY         83120                   6002              Various                                                                                                $6.22
ANGELA OTTMANN                6211 BERKSHIRE LN                                                    RACINE             WI         53406                   6002              Various                                                                                               $16.64
ANGELA PHIPPS                 3220 NO. 26TH PLZ.                                                   OMAHA              NE         68111                   6004              Various                                                                                                $4.00
ANGELA POPP                   854 N 9TH ST                                                         MANITOWOC          WI         54220                   6004              Various                                                                                               $28.90
ANGELA QUAYLE                 1295 S 2300TH E                                                      SPANISH FORK       UT         84660                   6002              Various                                                                                                $5.40




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                                                                                                                                                                                              Contingent


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                                                                                                                                                     Last 4 Digits of     Date Debt was
                                                                                                                                                        Account         Incurred, Basis for
             Creditor Name                   Address1               Address2        Address3             City         State           Zip   Country     Number                Claim                                                                             Total Claim
ANGELA QUINN                     1435 WESTERN AVENUE           APT 20                            BONDUEL           WI         54107                 6004                Various                                                                                                $3.00
ANGELA R KLEINMANN               N425 CTY RD X                                                   PULASKI           WI         54162                 6002                Various                                                                                                $5.62
ANGELA RAASCH                    4434 SODA CREEK ROAD          APT 2                             OSHKOSH           WI         54901                 6004                Various                                                                                               $25.00
ANGELA REYES                     2087 LEXIS LANE               #104                              NAMPA             ID         83686                 6004                Various                                                                                                $8.02
ANGELA ROBINSON                  2 HIGH VIEW DRIVE                                               JACKSONVILLE      IL         62650                 6004                Various                                                                                               $60.00
ANGELA RODGERS                   5320 STUART AVE                                                 POCATELLO         ID         83202                 6002                Various                                                                                                $9.67
ANGELA SCHEIDER                  1718 MICHIGAN AVENUE                                            MANITOWOC         WI         54220                 6002                Various                                                                                               $62.54
ANGELA SOTELO                    2633 W 1540 N                                                   LEHI              UT         84043                 6004                Various                                                                                               $35.00
ANGELA SPADE                     522 7TH ST                                                      IRON MOUNTAIN     MI         49801                 6002                Various                                                                                                $0.74
ANGELA STAVEN                    179 LEWIS ST APT 2                                              ELKHORN           WI         53121                 6002                Various                                                                                                $3.56
ANGELA STEELE                    809 1/2 HOLLISTER AVENUE                                        TOMAH             WI         54660                 6004                Various                                                                                                $1.00
ANGELA SWANSON                   1512 TRI PARK WAY UNIT 4                                        APPLETON          WI         54914                 6002                Various                                                                                                $6.16
ANGELA TOBAR                     1335 BOSWELL AVE APT 103                                        CRETE             NE         68333                 6002                Various                                                                                                $2.47
ANGELA TREDER                    510 NINTH AVE N                                                 WISC RAPIDS       WI         54495                 6002                Various                                                                                                $5.23
ANGELA TRICE                     748 CRIST RD                                                    BELOIT            WI         53511                 6002                Various                                                                                                $5.92
ANGELA VAN GROLL                 518 TESSERVILLE RD                                              NEKOOSA           WI         54457                 6004                Various                                                                                                $2.99
ANGELA VAN LIERE                 306 W 5TH ST                                                    HARTFORD          SD         57033                 6004                Various                                                                                               $13.02
ANGELA VORTHERMS                 105 WEST 5TH ST BOX 31                                          ADRIAN            MN         56110                 6004                Various                                                                                                $3.00
ANGELA WARMAN                    8909 S 134TH AVE                                                OMAHA             NE         68138                 6004                Various                                                                                               $23.00
ANGELA WEAVER                    4546 STEIN AVE                                                  MADISON           WI         53704                 6004                Various                                                                                                $2.00
ANGELA WILCOX                    883 11TH ST                                                     IDAHO FALLS       ID         83404                 6002                Various                                                                                                $6.63
ANGELA WILHITE                   1504 15TH ST                                                    MONROE            WI         53566                 6002                Various                                                                                                $9.95
ANGELA WILKINSON                 8579 CTY RD GG                                                  ALMOND            WI         54909                 6002                Various                                                                                                $7.15
ANGELA WILLIAMS                  209 HILLCREST DR                                                CLARKS GROVE      MN         56016                 6004                Various                                                                                                $3.49
ANGELA WOODWARD                  12437 CEDAR DELL LN                                             ELLISON BAY       WI         54210                 6002                Various                                                                                                $9.78
ANGELA YOUNGBERG                 1129 MAPLE ST                                                   NORTH BRANCH      MN         55056                 6002                Various                                                                                                $0.52
                                 8669 WEST MINERAL POINT
ANGELA ZIEHME                    ROAD                                                            MOUNT HOREB       WI         53572                  6004               Various                                                                                            $25.00
ANGELEC MAY BROWN                625 6TH AVE NE                                                  OELWEIN           IA         50662                  6002               Various                                                                                             $7.34
ANGELI MANAGEMENT CORPORATION    833 RIVERSIDE PLAZA                                             IRON RIVER        MI         49935                  4455               Various                                                                                         $4,936.78
ANGELIA REYNOLDS                 HIGHWAY 21 N # 16A                                              DONIPHAN          MO         63935                  6002               Various                                                                                             $6.11
ANGELIA SCHULTZ                  713 N 16TH CT                                                   CLEAR LAKE        IA         50428                  6002               Various                                                                                             $5.75
ANGELIA SEIBERT                  1108 CEDAR ST                                                   MOUNT CARMEL      IL         62863                  6002               Various                                                                                             $0.63
ANGELICA AGENA                   701 E ELDORA                                                    LINCOLN           NE         68505                  6004               Various                                                                                             $4.00

ANGELICA BYBEE                   2706 PHEASANT RIDGE TRL APT                                     MADISON           WI         53713                  6002               Various                                                                                                $0.36
ANGELICA DESPENAS                1008 2ND ST NW                                                  MASON CITY        IA         50401                  6002               Various                                                                                                $2.49
ANGELICA ESPINOZA                371 KNOWLTON ST APT 18                                          LAYTON            UT         84041                  6002               Various                                                                                                $5.81
ANGELICA M PENA                  PO BOX 194                                                      EDEN VALLEY       MN         55329                  6002               Various                                                                                                $8.79
ANGELICA PACHECO                 4110 X ST                                                       OMAHA             NE         68107                  6004               Various                                                                                                $2.00
ANGELICA R HEITZIG               2713 THOMAS DR APT B201                                         EAU CLAIRE        WI         54701                  6002               Various                                                                                                $4.27
ANGELICA RAMOS                   171 HOKANSON                                                    THAYNE            WY         83127                  6002               Various                                                                                                $8.27
ANGELICA TIMBUSH                 12 RIVERCREST DR #301                                           SAINT CLOUD       MN         56303                  6004               Various                                                                                                $6.00
ANGELIKA ASHLEY                  48 QUEENS BLVD                                                  POWELL            WI         82435                  6002               Various                                                                                                $4.16
ANGELINA AYERS                   RR 8 BOX 6147                                                   DONIPHAN          MO         63935                  6002               Various                                                                                                $0.49
ANGELINA COLON                   1610 NW DEANE ST                                                PULLMAN           WA         99163                  6004               Various                                                                                               $29.20

ANGELINA DURAN                   650 W PIERRE LN                                                 PORT WASHINGTON   WI         53074                  6002               Various                                                                                                $9.42
ANGELINA ESCOBEDO LOZANA         PO BOX 294                                                      KERKHOVEN         MN         56252                  6002               Various                                                                                                $5.53
ANGELINA GASPAR                  716 E DENVER ST                                                 CALDWELL          ID         83605                  6004               Various                                                                                                $7.30
ANGELINA KOCH                    223 SW 6TH ST                                                   COLLEGE PLACE     WA         99324                  6004               Various                                                                                                $2.23
ANGELINA PARSONS                 867 MAIN ST APT A                                               STURGIS           SD         57785                  6002               Various                                                                                                $7.51
ANGELINA PEREZ                   347 SOUTH 25TH STREET                                           LINCOLN           NE         68510                  6004               Various                                                                                                $2.00
ANGELINA WELCH                   1461 WEDGEWOOD RD                                               ALBERT LEA        MN         56007                  6004               Various                                                                                               $13.27




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                                                                                                                                                         Account         Incurred, Basis for
             Creditor Name                  Address1              Address2          Address3            City           State           Zip   Country     Number                Claim                                                                             Total Claim
ANGELINAJAYN STEARNSWOLF         20038 E HARDWOOD LN                                             BROOK PARK         MN         55007                 6002                Various                                                                                                $5.84
ANGELINE M LACEY                 1417 E BEECH ST                                                 CALDWELL           ID         83605                 6002                Various                                                                                                $9.21
ANGELINE SCHLOSSER               N5177 THOMPSON RD                                               SHIOCTON           WI         54170                 6002                Various                                                                                                $7.12
ANGELIQUE BECHT                  603 23 AVE SW                                                   ROCHESTER          MN         55902                 6004                Various                                                                                                $3.00
ANGELIQUE PHILLIPS               7507 CRESTFIELD RD                                              YAKIMA             WA         98903                 6004                Various                                                                                                $5.00
ANGELITA CHAVEZ                  1244 5TH AVE SE                                                 ROCHESTER          MN         55904                 6004                Various                                                                                                $6.00

ANGELNIA WHITEHEAD               404 CLYDE AVENUE                                                WISCONSIN RAPIDS   WI         54494                  6004               Various                                                                                            $12.50
ANGELO GARCIA                    1020 N 425 E                                                    OGDEN              UT         84404                  6004               Various                                                                                             $4.00
ANGELO HERNANDEZ                 1945 HARRISON BLVD                                              OGDEN              UT         84404                  6004               Various                                                                                             $5.00
ANGELO TAFEAMALII                TRIUMPH                                                         BRIGHAM CITY       UT         84302                  6002               Various                                                                                            $19.21
ANGIE (DEREK BILLINGS            5305 16TH ST APT 23                                             RACINE             WI         53406                  6002               Various                                                                                             $7.40
ANGIE ANDERSEN                   1493 W 660TH S                                                  LOGAN              UT         84321                  6002               Various                                                                                             $6.05
ANGIE CARLON                     611 2ND ST SE                                                   ROSEAU             MN         56751                  6002               Various                                                                                             $5.18
ANGIE GIORGIS                    3677 CT RD # 217                                                FORT BRIDGER       WY         82933                  6002               Various                                                                                             $8.90
ANGIE GUTIERREZ                  7362 GREAT NORTHERN TRAIL                                       UNION              IL         60180                  6004               Various                                                                                            $81.00
ANGIE MONTGOMERY                 4009 RAYNOR PARKWAY #2405                                       BELLEVUE           NE         68123                  6004               Various                                                                                            $18.75
ANGIE SKINNER                    11600 HWY 2 W.                                                  MARION             MT         59925                  6004               Various                                                                                            $25.00
ANGIE ST LOUIS                   N1212 COUNTY LINE ROAD                                          CHETEK             WI         54728                  6004               Various                                                                                            $15.00
ANGIE WHITE                      1121 S 600TH W                                                  TREMONTON          UT         84337                  6002               Various                                                                                             $6.60
ANGIE YANG                       500 DEWEY ST                                                    WALNUT GROVE       MN         56180                  6004               Various                                                                                             $3.00
ANGINETTE BROMLIE                6580 CANYON FERRIE                                              HELENA             MT         59602                  6004               Various                                                                                             $2.00
ANGUS KINSEY                     2165 TOWN HALL ROAD                                             MOUNT HOREB        WI         53572                  6004               Various                                                                                             $1.00
ANI ALLEN                        917 E SOUTH RD                                                  STOUGHTON          WI         53589                  6004               Various                                                                                             $2.00
ANIBAL MADRID                    2408 LILLION STREET         APT # 2                             OMAHA              NE         68147                  6004               Various                                                                                            $27.00
ANIKA K HAUGEN                   10986 HILLCREST RD                                              SISTER BAY         WI         54234                  6002               Various                                                                                             $9.48
ANIKET NAVALKAR                  110 S 84TH COURT #302                                           ELKHORN            NE         68022                  6004               Various                                                                                            $15.00
ANIMAL ADVENTURE INCORPORATED    VICE PRESIDENT OF SALES     1114 5TH STREET S                   HOPKINS            MN         55343-7837             7117               Various                                                                                       $189,596.04
ANISA BROOKS                     52 BENSON DR.                                                   LEWISTON           MN         55952                  6004               Various                                                                                             $3.00
ANISHRAJ UMAPATHY                4522 RED BARN RUN                                               MC FARLAND         WI         53558                  6004               Various                                                                                            $54.90
ANISSA GODINA                    570 BECKER ROAD                                                 TOPPENISH          WA         98948                  6004               Various                                                                                             $5.00
ANISSA M MOUSSA                  1320 N 5TH ST APT 14                                            SAINT PETER        MN         56082                  6002               Various                                                                                             $0.55
ANITA A ENGLUND                  620 BURLINGTON ST APT 106                                       HOLDREGE           NE         68949                  6002               Various                                                                                             $5.10
ANITA AIELLO RUFFOLO             1103 87TH AVENUE                                                KENOSHA            WI         53144                  6004               Various                                                                                             $1.00
ANITA BECKER                     5743 DEBBIE LN                                                  WEST BEND          WI         53095                  6002               Various                                                                                             $7.67
ANITA BOELTER                    5924 N PRESERVATION TRL                                         APPLETON           WI         54913                  6002               Various                                                                                             $7.10
ANITA BYTENDORP                  2981 W TIVOLI LN                                                SALT LAKE CITY     UT         84129                  6002               Various                                                                                             $5.04
ANITA C NEURER                   42181 HARDER AVE                                                HARRIS             MN         55032                  6002               Various                                                                                             $4.96
ANITA CASH                       815 CASSIE DR                                                   OGDEN              UT         84405                  6002               Various                                                                                             $5.59
ANITA E OLSON                    123 1/2 E CHESTNUT ST                                           SISSETON           SD         57262                  6002               Various                                                                                             $6.74
ANITA EDLING                     11215 115TH AVE SE                                              CLEAR LAKE         MN         55319                  6002               Various                                                                                             $9.59
ANITA GREEN                      120 PARK ST.                                                    FAIRCHILD          WI         54741                  6002               Various                                                                                             $9.75
ANITA HOPGOOD                    3467 PRATT ST                                                   OMAHA              NE         68111                  6004               Various                                                                                            $40.00
ANITA MARIA LEGARDYE             3824 PACE BLVD                                                  LINCOLN            NE         68502                  6002               Various                                                                                             $3.23
ANITA MOORE                      1734 TULLIS AVE                                                 COEUR D'ALENE      ID         83814                  6002               Various                                                                                            $10.00
ANITA PEDERSON*                  10979 GRANGE CREEK DR                                           DENVER             CO         80233                  6002               Various                                                                                             $4.27
ANITA PERKINS                    1908 2ND AVE SW                                                 AUSTIN             MN         55912                  6004               Various                                                                                             $3.00
ANITA RASNER                     1012 NE 5TH ST                                                  MARION             WI         54950                  6002               Various                                                                                             $3.64
                                 N62 W23408 SILVER SPRING
ANITA SAMUEL JR                  DRIVE                                                           SUSSEX             WI         53089                   6004              Various                                                                                               $26.50
ANITA STEKAR                     3009 JANSMA                                                     BILLINGS           MT         59101                   6004              Various                                                                                               $30.00
ANITA WARNER                     4314 S 850TH E                                                  OGDEN              UT         84403                   6002              Various                                                                                                $4.08
ANITA WINBURN                    204 CORA ST                                                     JOHNSON CREEK      WI         53038                   6004              Various                                                                                                $5.00
ANITA ZENNER                     2198 JACOBS ROAD                                                NEZPERCE           ID         83543                   6004              Various                                                                                                $8.02




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                                                                                                                                                   Last 4 Digits of     Date Debt was
                                                                                                                                                      Account         Incurred, Basis for
              Creditor Name                 Address1           Address2          Address3             City         State           Zip    Country     Number                Claim                                                                             Total Claim
ANIZZA SEALS                   395C N. PETERS AVE.                                            FOND DU LAC       WI         54935                  6004                Various                                                                                                $4.00
ANJA PARISIEN                  BOX 200                                                        SPRAGUE           MB         R0A1Z         CANADA 6002                  Various                                                                                                $3.48
ANJANETE SARTAIN               PO BOX 911                                                     KIMBERLY          ID         83341                  6004                Various                                                                                               $30.00
ANJANETTE KINDELSPIRE          10526 365TH AVE                                                FORBES            ND         58439                  6002                Various                                                                                                $1.53
ANJELICA ROSARIO               206 E FRONT STREET                                             FULDA             MN         56131                  6004                Various                                                                                                $3.00
ANJELIQUE GRANNA               1805 7TH AVE                                                   BELVIDERE         IL         61008                  6004                Various                                                                                                $3.90
ANJELLICA SEARLES              112 W 42ND ST                                                  SIOUX FALLS       SD         57105                  6002                Various                                                                                                $6.58
ANJULETTE ERTEL                341 ELLIS ST                                                   FOND DU LAC       WI         54935                  6002                Various                                                                                               $15.32
ANN ADAIR                      4226 SO 147 PLZ            APT 304                             OMAHA             NE         68137                  6004                Various                                                                                                $2.00
ANN ALLOWAY                    115 S BROADWAY                                                 DE PERE           WI         54115                  6002                Various                                                                                                $7.97
ANN ASCHENBRENNER              3701 FOREST KNOLL DRIVE                                        EAU CLAIRE        WI         54701                  6004                Various                                                                                                $4.00
ANN BARNETTE                   116 BLUE BIRD PATH                                             MANKATO           MN         56001                  6004                Various                                                                                                $3.00
ANN BAUTISTA                   405 13TH AVE NORTH                                             BUHL              ID         83316                  6004                Various                                                                                                $3.65
ANN BENNETT                    506 W FLESHIEM ST                                              IRON MOUNTAIN     MI         49801                  6002                Various                                                                                                $7.59
ANN BERENS                     1200 S. WEBER AVE          LOT 216                             STRATFORD         WI         54484                  6004                Various                                                                                               $10.00
ANN CARSTENS                   1520 S INDIANA AVE                                             WEST BEND         WI         53095                  6002                Various                                                                                                $6.60
                                                          1264 LEONARD
ANN CHRISTENSEN                C/O DESIRE CHRISTENSEN     POINT ROAD                          OSHKOSH           WI         54904                    6002              Various                                                                                               $14.43
ANN CLARK                      25 1/2 E CHARLES ST                                            OELWEIN           IA         50662                    6002              Various                                                                                                $5.45
ANN CONRAD                     6220 S 39TH ST                                                 OMAHA             NE         68107                    6002              Various                                                                                                $0.82
ANN CRANEY                     N7004 SHADY LANE DRIVE                                         PORTERFIELD       WI         54159                    6004              Various                                                                                               $59.99
ANN DAVIS                      334 EAGLENEST RD                                               MARQUETTE         MI         49855                    6002              Various                                                                                                $5.23
ANN DEPREY                     7831 FROGTOWN RD                                               BAILEYS HARBOR    WI         54202                    6002              Various                                                                                                $9.26
ANN DIXON                      1207 6TH ST SW                                                 AUSTIN            MN         55912                    6004              Various                                                                                               $15.00
ANN E KLEPPER                  1204 SHADOW LN                                                 GREEN BAY         WI         54304                    6002              Various                                                                                                $3.95
ANN E WECKMAN-FOLZ             38 W CHAPMAN ST                                                ELY               MN         55731                    6002              Various                                                                                                $6.14
ANN ECKES                      D1805 CTY ROAD C                                               STRATFORD         WI         54484                    6004              Various                                                                                               $25.00
ANN ELISE HUTCHINGS            1408 EMERSON AVE                                               SALT LAKE CITY    UT         84105                    6002              Various                                                                                                $0.47
ANN EVERSON                    936 HOWE AVE                                                   MORA              MN         55051                    6002              Various                                                                                                $0.96
ANN GAMBLE                     W6021 CTY TRK HWY OS                                           ONALASKA          WI         54650                    6002              Various                                                                                                $0.41
ANN GRELL                      8507 TEMPLETON DR                                              OMAHA             NE         68134                    6002              Various                                                                                                $7.18
ANN GRUBER                     671 OAK ST.                                                    NEENAH            WI         54956                    6004              Various                                                                                                $4.32
ANN HANSEN                     946 DETROIT AVENUE                                             HOT SPRINGS       SD         57747                    6002              Various                                                                                                $2.08
ANN HAROLDSON                  751 KNOLL ROAD             PO BOX 175                          EMMONS            MN         56029                    6004              Various                                                                                                $3.00
ANN HART                       11627 HESSELROTH AVE                                           WILMONT           MN         56185                    6004              Various                                                                                                $3.00
ANN HENJUM                     901 9 TH AVE N W                                               WASECA            MN         56093                    6004              Various                                                                                               $10.00
ANN HOUGAARD                   282 POPLAR DRIVE                                               BRIGHAM CITY      UT         84302                    6002              Various                                                                                                $3.61
ANN JARMAN                     1660 MURPHY DR                                                 GREEN BAY         WI         54303                    6002              Various                                                                                                $5.62
ANN KALBUS                     214 2ND ST                                                     MOSINEE           WI         54455                    6002              Various                                                                                                $1.42
ANN KOONS                      3409 S SQUIREWOOD DR                                           WEST VALLEY CIT   UT         84120                    6002              Various                                                                                                $2.82
ANN LEMMERS                    3906 EVERGREEN CT                                              APPLETON          WI         54913                    6002              Various                                                                                                $2.49
ANN LUOMANEN                   1924 22-22 1/4 ST APT 10                                       RICE LAKE         WI         54868                    6002              Various                                                                                                $4.08
ANN M KRUPECKI                 W6350 PROSPECT AVE                                             BEAVER DAM        WI         53916                    6002              Various                                                                                                $2.71
ANN MACMILLAN                  500 W STATE ST APT 2T                                          JACKSONVILLE      IL         62650                    6002              Various                                                                                                $7.18
ANN MARIE BARROS               43368 N BOEDINGHIEMER DR                                       PERHAM            MN         56573                    6002              Various                                                                                                $7.95
ANN MARIE BELL                 141 NW PORTLAND            #5                                  BEND              OR         97703                    6004              Various                                                                                                $3.58
ANN MARIE COPELAND             P O BOX 1032                                                   YELM              WA         98597                    6004              Various                                                                                               $14.10
ANN MARIE HUGHES               4909 ASCOT LANE # R1                                           MADISON           WI         53711                    6004              Various                                                                                                $1.00
ANN MCLAIN                     500 NICOLET BOLEVARD                                           MENASHA           WI         54952                    6004              Various                                                                                                $2.00
ANN MENCHESKI                  840 MATHER ST                                                  GREEN BAY         WI         54303                    6002              Various                                                                                                $7.75
ANN MURPHY                     12710 W ROCKABY                                                DENTON            NE         68339                    6004              Various                                                                                               $59.14
ANN PAULET                     5901 MAPLE ST                                                  NORTH BRANCH      MN         55056                    6002              Various                                                                                                $6.58
ANN PETERS                     7721 CTY RD BB                                                 DENMARK           WI         54208                    6002              Various                                                                                               $16.72
ANN POLENSKI                   629 AUTUMN CREST DRIVE                                         WATERTOWN         WI         53094                    6004              Various                                                                                                $1.95




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                                                                                                                                                                                                                                    Claim subject to offset?
                                                                                                                                                                                                          Unliquidated
                                                                                                                                                                                             Contingent


                                                                                                                                                                                                                         Disputed
                                                                                                                                                      Last 4 Digits of   Date Debt was
                                                                                                                                                         Account       Incurred, Basis for
            Creditor Name               Address1               Address2           Address3            City             State           Zip   Country     Number              Claim                                                                             Total Claim
ANN REEL                     1711 24TH STREET                                                  TWO RIVERS         WI           54241                 6004              Various                                                                                               $14.00

ANN REYNOLDS                 714 W 1ST ST PMB WASHINGTON                                       WAYNE              NE           68787                   6002            Various                                                                                                $2.77
ANN ROSE                     31326 271ST ST                                                    WINNER             SD           57580                   6002            Various                                                                                                $7.70
ANN SINCAVAGE                302 S CEDAR ST                                                    TOWNSEND           MT           59644                   6002            Various                                                                                                $2.11
ANN STEINBERG                303 1ST AVE NE                                                    KASSON             MN           55944                   6002            Various                                                                                                $6.14
ANN VATARICH                 628 OLIVE CT APT 6A                                               BELVIDERE          IL           61008                   6004            Various                                                                                                $6.45
ANN WEIDEMAN LEHMAN          4621 S 46TH                                                       LINCOLN            NE           68516                   6004            Various                                                                                                $3.00
ANN WETZEL-MAW               706 15TH STREET SOUTH                                             GREAT FALLS        MT           59401                   6002            Various                                                                                                $4.49
ANN WIRKUTY                  1830 WESLEY AVE                                                   JANESVILLE         WI           53545                   6004            Various                                                                                               $49.58
ANN WOODWARD                 26879 RAVEN RD                                                    SPRING VALLEY      MN           55975                   6002            Various                                                                                                $4.36
ANN ZELNIK                   915 GEORGIA ST                                                    STURGEON BAY       WI           54235                   6004            Various                                                                                                $3.00
ANNA AGUILAR                 2820 NORTH ST PAUL ROAD                                           GRAND ISLAND       NE           68801                   6004            Various                                                                                                $2.00

ANNA ANNIS-PLAYTER           APT 313                       815 CHAPIN STREET                   EAU CLAIRE         WI           54701                   6002            Various                                                                                                $5.01
ANNA BAUMAN                  C/O SUE HENNINGFIELD          417 S KENDRICK                      BURLINGTON         WI           53105                   6002            Various                                                                                                $2.55
ANNA BERGSCHNEIDER           127 WESTMINSTER                                                   JACKSONVILLE       IL           62650                   6004            Various                                                                                               $29.00
ANNA BERTHA IBARRA           412 E KILDARE DR                                                  ONEILL             NE           68763                   6002            Various                                                                                                $3.10
ANNA BLODGETT                PO BOX 193                                                        WHITE SWAN         WA           98952                   6004            Various                                                                                               $20.03
ANNA BORMAN                  306 ELM ST                                                        SNYDER             NE           68664                   6002            Various                                                                                               $10.00
ANNA BORSON                  W2342 GUDEX LN                                                    CAMPBELLSPORT      WI           53010                   6002            Various                                                                                                $2.47
ANNA BRIENZO                 168 INDIAN TERRACE                                                BURLINGTON         IA           52601                   6004            Various                                                                                               $32.00
ANNA C HORGAS                915 E CONAN ST                                                    ELY                MN           55731                   6002            Various                                                                                                $2.68
ANNA C. WOLF                 4000 FOSSIL CREEK CR                                              LINCOLN            NE           68516                   6002            Various                                                                                                $5.23
ANNA CHRIST                  625 SKYLINE DR NE                                                 GREAT FALLS        MT           59404                   6002            Various                                                                                                $1.07
ANNA CHRISTOPHERSEN          103 BROAD ST                                                      MENASHA            WI           54952                   6004            Various                                                                                                $3.00
ANNA COLLINS                 2240 VAN BUREN STREET                                             EUGENE             OR           97405                   6004            Various                                                                                                $8.48
ANNA CUNNINGHAM              8763 C STREET                                                     OMAHA              NE           68124                   6004            Various                                                                                                $4.00
ANNA DAY                     5046 W DEER PATH TRL                                              COEUR D ALENE      ID           83814                   6002            Various                                                                                                $5.73
ANNA DEBAUCHE                215 SOUTH WATER ST            UPPER UNIT                          COLUMBUS           WI           53925                   6004            Various                                                                                                $5.00

ANNA DEVITT                  300 S EDWARDS BOULEVARD #11                                       LAKE GENEVA        WI           53147                   6004            Various                                                                                               $40.30
ANNA DOBBS                   PO BOX 56                                                         ARTHUR             IA           51431                   6002            Various                                                                                                $2.33
ANNA ESCALERA                631 N BAKER                 APT A                                 EAST WENATCHEE     WA           98802                   6004            Various                                                                                               $76.02
ANNA GARCIA                  N719 MEADS AVE                                                    NEILLSVILLE        WI           54456                   6002            Various                                                                                                $2.58

ANNA GONZALEZ-WILLIAMS       2926 CROW CREEK RD PO BOX #                                       FAIRVIEW           WY           83119                   6002            Various                                                                                                $5.56
ANNA HALEY                   210 N MITCHELL AVE APT 202                                        HARDIN             MT           59034                   6002            Various                                                                                                $6.94
ANNA HANSEN                  405 S MAPLE ST                                                    WEST POINT         NE           68788                   6002            Various                                                                                                $9.62
ANNA HAUS                    1131 1ST AVE. N.              APT 201                             SAUK RAPIDS        MN           56379                   6004            Various                                                                                                $2.55
ANNA HERIBACKA               264 C R # 550                                                     MARQUETTE          MI           49855                   6002            Various                                                                                                $8.58
ANNA JAHN                    2112 PINE RIDGE CT                                                GRAFTON            WI           53024                   6002            Various                                                                                               $82.55

ANNA JO WEBB                 84189 EASTIDE RD.                                                 MILTON-FREEWATER   OR           97862                   6004            Various                                                                                               $13.60
ANNA JUSTMANN                4908 PIERCEVILLE RD                                               COTTAGE GROVE      WI           53527                   6004            Various                                                                                               $25.00
ANNA KAY WHITE               1223 14TH AVE                                                     LEWISTON           ID           83501                   6002            Various                                                                                                $4.22
ANNA KEENAN                  726 E CAMP ST APT 4                                               ELY                MN           55731                   6002            Various                                                                                                $7.92
ANNA KEILER                  2099 GARDEN GROVE                                                 GREEN BAY          WI           54301                   6004            Various                                                                                               $12.00
ANNA KIENOL                  4269 450TH AVE                                                    EMMETSBURG         IA           50536                   6002            Various                                                                                                $9.95
ANNA KNUTSON                 131 EAST WILSON STREET                                            VALDERS            WI           54245                   6004            Various                                                                                               $28.00
ANNA L CLARK                 222 S 800TH W                                                     SPANISH FORK       UT           84660                   6002            Various                                                                                                $7.70
ANNA LARSEN                  679 W. 2400 N.                                                    LAYTON             UT           84041                   6004            Various                                                                                               $25.00
ANNA LEE BOWHOLTZ            2021 FREMONT ST                                                   STEVENS POINT      WI           54481                   6002            Various                                                                                                $5.40
ANNA LOWMAN                  5774 STATE HIGHWAY 29                                             DENMARK            WI           54208                   6002            Various                                                                                                $0.99




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                                                                       Schedule E/F: Part 2 - Creditors With Nonpriority Unsecured Claims




                                                                                                                                                                                                                               Claim subject to offset?
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                                                                                                                                                                                        Contingent


                                                                                                                                                                                                                    Disputed
                                                                                                                                               Last 4 Digits of     Date Debt was
                                                                                                                                                  Account         Incurred, Basis for
            Creditor Name                Address1           Address2           Address3             City        State           Zip   Country     Number                Claim                                                                             Total Claim
ANNA M. TUTTLE               855 S FOX HILL DR                                              SPANISH FORK     UT         84660                 6002                Various                                                                                               $10.00
ANNA MARIE DAVIS             7420 W MACAW LN                                                RATHDRUM         ID         83858                 6002                Various                                                                                                $1.62
ANNA MARIE HANNEMANN         N311 HILLSIDE DR                                               APPLETON         WI         54915                 6002                Various                                                                                                $6.85
ANNA MCKIBBEN                802 N SUMMIT AVE                                               MADISON          SD         57042                 6002                Various                                                                                                $3.51
ANNA MISITANO                102 W PARK ST                                                  POPLAR GROVE     IL         61065                 6004                Various                                                                                                $3.90
ANNA MURPHY                  2025 W CHARLES ST                                              APPLETON         WI         54914                 6002                Various                                                                                                $6.88
ANNA NIESS                   6845 LITTLEMORE DR #308                                        MADISON          WI         53704                 6004                Various                                                                                                $1.00
ANNA PECK                    800 RIVER RD W                                                 PRESTON          MN         55965                 6002                Various                                                                                                $9.23
ANNA PETERSEN                1849 21RST RD                                                  BANCROFT         NE         68004                 6002                Various                                                                                                $0.74
ANNA REIMER                  320 BORADWAY ST APT#2                                          RIVER FALLS      WI         54022                 6004                Various                                                                                                $7.00
ANNA ROMERO                  459 PARRIMAN ST                                                HELENA           MT         59602                 6004                Various                                                                                               $23.00
                             1927 OLD WOODEN BRIDGE
ANNA SCHAD                   ROAD                                                           MANITOWOC        WI         54220                  6004               Various                                                                                               $62.00
ANNA SCHEPP                  W4854 CTY RD GG                                                CAMBIRA          WI         53923                  6004               Various                                                                                                $6.71
ANNA SCHINGLEDECKER          ASSISTED LIVING                                                ELLSWORTH        WI         54011                  6002               Various                                                                                                $0.41
ANNA SCHMIDTMAN              1 HAMILTON DT                                                  TWO RIVER        WI         54241                  6002               Various                                                                                               $17.99
ANNA SCHORSE                 1224 ALGOMA BLD                                                OSHKOSH          WI         54901                  6002               Various                                                                                                $5.23
ANNA SWARTZENTRUBER          W3436 MANN RD                                                  LOYAL            WI         54446                  6002               Various                                                                                                $1.23
ANNA TORRES                  114 MCDOWELL STREET                                            DELAVAN          WI         53115                  6004               Various                                                                                               $10.00
ANNA TOSH                    332 DAVID COURT                                                MISSOULA         MT         59802                  6004               Various                                                                                               $75.00
ANNA VANDERWEGEN             96 RUBINA LN #2                                                FOND DU LAC      WI         54935                  6004               Various                                                                                               $25.00
ANNA WAKOW                   1308 MARGRETHA                                                 ALBERT LEA       MN         56007                  6004               Various                                                                                                $3.00
ANNA WHITNEY                 61590 NUTMEG RD.                                               MADISON LAKE     MN         56063                  6004               Various                                                                                                $6.94
ANNA WOLF                    4000 FOSSIL CREEK CIR                                          LINCOLN          NE         68516                  6004               Various                                                                                               $15.00
ANNA ZIMMERMAN               5110 JACKS DR                                                  STEVENS POINT    WI         54482                  6002               Various                                                                                                $1.81
ANNABELLE FRISTOE            1751 N POLK EXT. #54                                           MOSCOW           ID         83843                  6004               Various                                                                                               $50.00
ANNAH YEAGER                 295 N 2ND E                                                    GREEN RIVER      WY         82935                  6002               Various                                                                                                $9.18
ANNALEIGH NITZEL             4837 SPITH STREET                                              LINCOLN          NE         68506                  6004               Various                                                                                               $16.25
ANNALISE FLORANCE            110 E 11TH ST                                                  COZAD            NE         69130                  6002               Various                                                                                                $6.74
ANNALYSIA SHARP              454 N 100TH W                                                  SPANISH FORK     UT         84660                  6002               Various                                                                                                $0.79
ANNASTACIA KORTH             38578 490TH AVE                                                ST. EDWARD       NE         68660                  6002               Various                                                                                                $4.44
ANNASTAYSHA HARRISON         525 N WAHANNA RD                                               SEASIDE          OR         97138                  6002               Various                                                                                                $3.45
ANNE BENNETT                 #6 BUCKINGHAM PL                                               POWELL           WY         82435                  6002               Various                                                                                               $10.00
ANNE CIZA                    3336 N. 34TH ST.                                               BOISE            ID         83703                  6004               Various                                                                                               $20.00
ANNE CLARK                   519 ONEIDA ST                                                  BEAVER DAM       WI         53916                  6004               Various                                                                                               $10.00
ANNE DETJEN                  1049 MARY JO WAY                                               GREEN BAY        WI         54311                  6004               Various                                                                                               $25.00
ANNE FAIT                    2171 TRAILSIDES LANE                                           DE PERE          WI         54115                  6004               Various                                                                                                $1.20
ANNE FERGUSON                2323 CENTER ST                                                 MARQUETTE        MI         49855                  6002               Various                                                                                                $0.68
ANNE GLINES                  1511 POLY DR                                                   BILLINGS         MT         59102                  6004               Various                                                                                               $80.00
ANNE HAHM                    165 HILL RD                                                    CHILI            WI         54420                  6002               Various                                                                                                $4.49
ANNE HELMER                  265 6TH ST                                                     FOND DU LAC      WI         54935                  6002               Various                                                                                                $7.34

ANNE HERBERT                 159 WEST WASHINGTON AVENUE                                     SALT LAKE CITY   UT         84107                  6004               Various                                                                                                $4.75
ANNE HORYZA                  330 N ARLINGTON AVE        APT 713                             DULUTH           MN         55811                  6004               Various                                                                                                $3.00
ANNE JOHNSON                 6305 O STREET #305                                             LINCOLN          NE         68510                  6004               Various                                                                                               $12.91
ANNE L ARNOLD                19756 490TH AVE                                                MORRIS           MN         56267                  6002               Various                                                                                                $0.36
ANNE MARIE MICHAELS          PO BOX 264                                                     MISSION          SD         57555                  6002               Various                                                                                                $1.07
ANNE MARIE WEBER             1209 CHAPEL HILL ROAD                                          MADISON          WI         53711                  6004               Various                                                                                                $4.00
ANNE MONTOYA                 5009 RICHEY RD                                                 YAKIMA           WA         98908                  6004               Various                                                                                                $5.00
ANNE MULLVAIN                1429 EXCALIBUR DR                                              JANESVILLE       WI         53546                  6002               Various                                                                                                $6.79
ANNE NELSON                  10255 185TH AVE SE                                             BECKER           MN         55308                  6004               Various                                                                                                $3.00
ANNE PETERSON                W14531 POLLEY LN                                               GILMAN           WI         54433                  6002               Various                                                                                                $0.38
ANNE RAMSEY                  471 CHESAPEAKE                                                 CHUBBUCK         ID         83202                  6004               Various                                                                                               $13.00
ANNE RANEY                   3000 HIGHWAY 70 E                                              EAGLE RIVER      WI         54521                  6002               Various                                                                                                $6.16




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                                                                                                                                                                                          Contingent


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                                                                                                                                                 Last 4 Digits of     Date Debt was
                                                                                                                                                    Account         Incurred, Basis for
            Creditor Name               Address1               Address2          Address3            City        State           Zip   Country      Number                Claim                                                                             Total Claim

ANNE RISMEYER                 430 W WALTERS ST                                                PORT WASHINGTON   WI       53074                   6002               Various                                                                                                $1.04
ANNE S. DUMBLE                57594 ROCKLAND ST                                               CALUMET           MI       49913                   6002               Various                                                                                                $8.71
ANNE SCHAEFER                 PO BOX 51028                                                    BILLINGS          MT       59105                   6004               Various                                                                                                $5.00
ANNE SPATA                    224 RAY STREET                                                  DELAVAN           WI       53115                   6004               Various                                                                                               $19.80
ANNE SUTHERLAND ESTATE        5127 HOMAN FALLS DR                                             QUINCY            IL       62301                   6002               Various                                                                                                $7.52
ANNE THILL                    259 N MAIN ST                                                   CEDAR GROVE       WI       53013                   6002               Various                                                                                                $6.77
ANNE THORNTON                 13988 W CORTINA CT                                              BOISE             ID       83713                   6004               Various                                                                                                $5.00
ANNE URBANSKI                 521 SHADY WOOD WAY                                              MADISON           WI       53714                   6004               Various                                                                                                $5.40
ANNE VAN DE LOO               N2310 MALONEY                                                   KAUKAUNA          WI       54130                   6004               Various                                                                                               $12.00
ANNE WELLMAN                  W5462 COLIN ST                                                  APPLETON          WI       54915                   6004               Various                                                                                                $7.98
ANNELIES L SLACK              2390 RIDGEVIEW DR APT 308                                       EAU CLAIRE        WI       54701                   6002               Various                                                                                                $0.36
ANNEMARIE COYLE               5866 S 2550 W                                                   ROY               UT       84067                   6004               Various                                                                                                $5.00
ANNEMARIE MOORE               1380 W MAIN ST APT 120                                          WHITEWATER        WI       53190                   6002               Various                                                                                                $6.71
ANNETTA MCNEAL                105 ARDMORE DR                                                  MADISON           WI       53713                   6002               Various                                                                                                $7.37
ANNETTE (TONI) LOOMIS MEMO    BOX 133                                                         GREAT FALLS       MT       59403                   6004               Various                                                                                               $86.42
ANNETTE ALRAND                6475 CTY H                                                      STURGEON BAY      WI       54235                   6002               Various                                                                                                $1.12
ANNETTE BAKER                 5458 SAND BUNKER STREET                                         SAINT CLOUD       MN       56304                   6004               Various                                                                                               $17.00
ANNETTE BELT                  411 WISCONSIN DR APT 100                                        JEFFERSON         WI       53549                   6002               Various                                                                                                $7.70
ANNETTE BOOMGAARN             1529 VALLEY ST                                                  PLATTSMOUTH       NE       68048                   6002               Various                                                                                                $2.77
ANNETTE BRUBAKER              2522 BALSAM CRT                                                 EAU CLAIRE        WI       54703                   6004               Various                                                                                                $5.20
ANNETTE FLASCH                W4333 SKYLINE DR                                                CAMPBELLSPORT     WI       53010                   6002               Various                                                                                                $8.60
ANNETTE HANSON                21582 485TH ST                                                  LAKE MILLS        IA       50450                   6004               Various                                                                                                $8.06
ANNETTE HOUG                  15076 15TH AVE NW                                               RICE              MN       56367                   6002               Various                                                                                                $8.82
ANNETTE KOERNER               121 S ST CHARLES RD                                             SALMON            ID       83467                   6002               Various                                                                                                $2.88
ANNETTE MINOR                 118 STATE ST                APT 203                             ROLLINGSTONE      MN       55969                   6004               Various                                                                                                $3.00
ANNETTE NEWMAN                1138 W. RIDGETOP COVE                                           SOUTH JORDAN      UT       84095                   6004               Various                                                                                                $1.80
ANNETTE SHEEHY                316 MILL ST                                                     REEDSVILLE        WI       54230                   6002               Various                                                                                                $1.18
ANNICKA BRISTOL               62 W GRANNIS RD                                                 LIVINGSTON        MT       59047                   6002               Various                                                                                                $7.10
ANNIE ARNESON                 4 BASS LN                                                       OROFINO           ID       83544                   6002               Various                                                                                                $1.21
ANNIE 'CANIN BEVIER           1119 12TH AVE                                                   BELLE FOURCHE     SD       57717                   6002               Various                                                                                                $0.47
ANNIE GREENWOOD               348 CATHERINE LN                                                SALMON            ID       83467                   6002               Various                                                                                                $0.41
ANNIE JACOBSON                3133 STRATTON WAY #203                                          MADISON           WI       53719                   6004               Various                                                                                               $40.96
ANNIE JOHNSON                 850 HIGHWAY 42                                                  ELLISON BAY       WI       54210                   6002               Various                                                                                                $4.11
ANNIE OLSEN                   5433 W SIERRA ROSE DR                                           HERRIMAN          UT       84096                   6002               Various                                                                                                $1.42
ANNIE PANKONIN                1215 E 3RD ST                                                   NORTH PLATTE      NE       69101                   6002               Various                                                                                                $4.05
ANNIKA RUSSELL                600 W 15TH AVE APT 10                                           MITCHELL          SD       57301                   6002               Various                                                                                                $9.21
ANNIKA WALKER                 400 W HOLLAND ST                                                BUFFALO           WY       82834                   6002               Various                                                                                                $9.48
ANNITE TAMAR GONZALAS         2713 W GLEN PARK DR                                             APPLETON          WI       54914                   6002               Various                                                                                                $5.62

ANOIKUMAR MUNUSWAMY           W704 N BROOKRIDGE LN UNIT D                                     APPLETON          WI       54913                   6002               Various                                                                                                $0.27
ANORA D HENDERSON             32540 263RD ST                                                  WINNER            SD       57580                   6002               Various                                                                                                $8.63
ANORA S LARSON                100 DAVID DR                                                    STURGIS           SD       57785                   6002               Various                                                                                                $0.74
ANOSHIRVAN MAZHARI            1959 ALPHA RD                                                   PRINCETON         MN       55371                   6002               Various                                                                                                $5.07
ANPO A STONEMAN               420 S PARK ST                                                   WINNER            SD       57580                   6002               Various                                                                                                $7.32
ANSLEE OSTERGARD              77251 ROAD 416                                                  GOTHENBURG        NE       69138                   6002               Various                                                                                               $10.00
ANSLEY SELL                   922 W COMMERCIAL ST                                             APPLETON          WI       54914                   6004               Various                                                                                               $10.00
ANSON WEATHERS                PMB 2003 91 CAMPUS DRIVE                                        MISSOULA          MT       59801                   6004               Various                                                                                               $38.00
ANTHONY ABBOTT                1034 E WALNUT ST                                                GREEN BAY         WI       54301                   6004               Various                                                                                                $1.00
ANTHONY AITKEN                300 1ST ST SE               #1                                  AUSTIN            MN       55912                   6004               Various                                                                                                $5.95
ANTHONY ALDERIN               1565 E 775 S                #6                                  OGDEN             UT       84404                   6004               Various                                                                                               $48.00
ANTHONY ANDREWS               PO BOX 165                                                      WHITE SWAN        WA       98952                   6004               Various                                                                                               $35.02
ANTHONY AUSTRENG              W5892 CHICAGO AVE                                               WAUTOMA           WI       54982                   6004               Various                                                                                                $2.50
ANTHONY BAKER                 741 HIGGINS AVE.                                                NEENAH            WI       54956                   6004               Various                                                                                                $3.00




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            Creditor Name               Address1              Address2         Address3            City        State           Zip   Country     Number                Claim                                                                             Total Claim
ANTHONY BANNIS               2822 COLLEGE ST SE                                             LACEY           WA         98503                 6004                Various                                                                                               $19.99
ANTHONY BEAN                 57550 ROCKLAND ST                                              CALUMET         MI         49913                 6002                Various                                                                                                $1.07
ANTHONY BENNETT              1217 SUYDAM STREET                                             GREEN BAY       WI         54301                 6004                Various                                                                                                $7.95
ANTHONY BEVERS               854 1/2 2ND ST                                                 MENASHA         WI         54952                 6004                Various                                                                                                $3.80
ANTHONY BOHRINGER            4954 GLENMORRIE CIRCLE                                         BELLEVUE        NE         68157                 6004                Various                                                                                               $20.00
                                                         E5672 507TH
ANTHONY BRUNNER              C/O JULIE MEYER             AVENUE                             MENOMONIE       WI         54751                  6002               Various                                                                                                $7.67
ANTHONY BURKE                1923 HARRISON ST            APT 3                              NEENAH          WI         54956                  6004               Various                                                                                               $23.00
ANTHONY CHILSON              709 8TH STREET                                                 ROCHESTER       MN         55904                  6004               Various                                                                                                $3.00
ANTHONY CHIRIGOTIS           2520 IRIS CT                                                   RACINE          WI         53402                  6002               Various                                                                                                $5.53
ANTHONY COLE                 1105 SCHUMAN STREET                                            SUN PRAIRIE     WI         53590                  6004               Various                                                                                                $3.00
ANTHONY COMSTOCK             2844 N. IVY LANE                                               POST FALLS      ID         83854                  6004               Various                                                                                               $12.02
ANTHONY COX                  1075 CTY HWY Z APT 2                                           ARKDALE         WI         54613                  6002               Various                                                                                                $4.41
ANTHONY CURRIE               P.O. BOX 416                                                   DONNELLY        ID         83615                  6004               Various                                                                                               $19.98
ANTHONY D STRADLEY           281 FIRST AVE                                                  ALPINE          WY         83128                  6002               Various                                                                                                $2.71
ANTHONY DAVIS                6433 BRIDGE RD                                                 MADISON         WI         53713                  6004               Various                                                                                                $2.00
ANTHONY DERKS                4656 E BEND LN                                                 NEWAYGO         MI         49337                  6002               Various                                                                                                $9.62
ANTHONY EHLERT               5711 HEMLOCK RD                                                VESPER          WI         54489                  6002               Various                                                                                                $9.56
ANTHONY ERDMANN              5467 W. WINDMILL DR.                                           WEST JORDAN     UT         84081                  6004               Various                                                                                               $16.00
ANTHONY ERICKSON             504 SHOUP ST                                                   SALMON          ID         83467                  6002               Various                                                                                                $3.51
ANTHONY FLATEN               2921 E RIVER RD NE                                             ROCHESTER       MN         55906                  6002               Various                                                                                                $9.78
ANTHONY G PATTERSON          7515 CASSELBERRY DR                                            NORTH BRANCH    MN         55056                  6002               Various                                                                                                $2.93
ANTHONY GAULRAPP             627 FLEMING AVE                                                EAU CLAIRE      WI         54701                  6002               Various                                                                                                $7.51
ANTHONY GIETMAN              809 E FIRST ST                                                 KIMBERLY        WI         54136                  6002               Various                                                                                                $7.07
ANTHONY GLUCH                N2992 SIDNEY AVE                                               NEILLSVILLE     WI         54456                  6002               Various                                                                                                $7.18
ANTHONY GRAHAM               108 7TH ST NW               #2                                 ROCHESTER       MN         55901                  6004               Various                                                                                                $3.00
ANTHONY GRIFFIN              209 MAIN ST PO BOX # 157                                       BLACK CREEK     WI         54106                  6002               Various                                                                                                $0.44
ANTHONY GRUBER               1626 SEQUIOA LN                                                NEW RICHMOND    WI         54017                  6002               Various                                                                                                $6.82
ANTHONY GUZZARDO             1751 SOUTH GALENA           LOT 11                             FREEPORT        IL         61032                  6004               Various                                                                                               $57.60
ANTHONY HABECK               1948 DECKNER AVE                                               GREEN BAY       WI         54302                  6004               Various                                                                                                $1.00
ANTHONY HADLEY               526 N MAIN ST                                                  HANCOCK         WI         54943                  6002               Various                                                                                                $9.04
ANTHONY HAGENSON             1623 10TH AVE SW                                               ABERDEEN        SD         57401                  6002               Various                                                                                                $6.71
ANTHONY HANEY                601 7TH ST NW                                                  AUSTIN          MN         55912                  6004               Various                                                                                               $15.00
ANTHONY HARRISON             225 HIGHLINE ST APT 7                                          BELVIDERE       IL         61008                  6002               Various                                                                                                $7.32
ANTHONY HIGGINS              112 S JOSEPHINE AVE APT 3                                      MADISON         SD         57042                  6002               Various                                                                                                $3.84
ANTHONY HINRICHS             246 N MARQUETTE ST                                             MADISON         WI         53704                  6004               Various                                                                                                $3.00
ANTHONY HOWARD               396 S PINE                                                     PAVILLION       WY         82523                  6002               Various                                                                                                $1.34
ANTHONY HYDE                 313 WOOD AVE                                                   NEKOOSA         WI         54457                  6004               Various                                                                                                $2.00
ANTHONY ISAACSON             27787 FOX RD                                                   WOOD            SD         57585                  6002               Various                                                                                                $7.29
ANTHONY J ANTONIDES          5802 SAINT PAUL AVE                                            LINCOLN         NE         68507                  6002               Various                                                                                                $2.68
ANTHONY J CRANE              508 S BRADLEY ST                                               PALMYRA         MO         63461                  6002               Various                                                                                                $6.77
ANTHONY JOHN SCHWEBACH       1518 DOVER ST                                                  WORTHINGTON     MN         56187                  6002               Various                                                                                                $3.51
ANTHONY JOHN STEVER          748 W GALLAHAR ST                                              BOISE           ID         83706                  6002               Various                                                                                                $2.14
ANTHONY JONES                42440 WILSON MEMORIAL DR                                       CHASSELL        MI         49916                  6004               Various                                                                                               $50.00
ANTHONY JR KING              214 S CHESTNUT AVE                                             GREEN BAY       WI         54303                  6004               Various                                                                                                $6.00
ANTHONY JR. ECKER            127 S LAPEER ST                                                STANDISH        MI         48658                  6002               Various                                                                                                $1.23
ANTHONY KLEE                 4563 CONESTOGA TRAIL                                           COTTAGE GROVE   WI         53527                  6004               Various                                                                                                $5.40
ANTHONY KNUTESON             3206 ATWOOD AVE                                                MADISON         WI         53704                  6004               Various                                                                                                $2.00
ANTHONY KUHNKE               7212 DEPOT STREET                                              SPRINGFIELD     WI         53176                  6004               Various                                                                                                $5.00
ANTHONY LABLANC              1009 MALLARD WAY                                               MARINETTE       WI         54143                  6002               Various                                                                                                $1.67
ANTHONY LIPINSKI             3216 PLEASANT STREET                                           HANNIBAL        MO         63401                  6004               Various                                                                                               $23.00
ANTHONY LOPEZ                900 W MAIN ST TRLR 27                                          TREMONTON       UT         84337                  6002               Various                                                                                                $9.10
ANTHONY LOWE                 520 S LEE ST                                                   APPLETON        WI         54915                  6004               Various                                                                                                $3.00
ANTHONY LUEK                 206 LINN ST                                                    JANESVILLE      WI         53548                  6004               Various                                                                                                $2.00




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                                                                                                                                                                                             Contingent


                                                                                                                                                                                                                         Disputed
                                                                                                                                                    Last 4 Digits of     Date Debt was
                                                                                                                                                       Account         Incurred, Basis for
             Creditor Name                Address1              Address2            Address3             City        State           Zip   Country     Number                Claim                                                                             Total Claim
ANTHONY LUND                  N9659 LAKESHORE DR                                                 VAN DYNE         WI         54979                 6004                Various                                                                                               $25.00
ANTHONY M BETZ                PO BOX 263                                                         SPENCER          WI         54479                 6002                Various                                                                                                $4.63
ANTHONY M.J. NELSON           309 W PRAIRIE AVE                                                  NORFOLK          NE         68701                 6002                Various                                                                                                $4.82
ANTHONY MARCHENKUSKI          175 S NATIONAL AVE 1                                               FOND DU LAC      WI         54935                 6004                Various                                                                                                $2.00
ANTHONY MCMAHON               812 9TH ST                                                         GREEN BAY        WI         54304                 6002                Various                                                                                                $6.44
ANTHONY PELTONEN              613 S RIDGE DR                                                     STRATFORD        WI         54484                 6002                Various                                                                                                $0.63
ANTHONY PERROTTO              127 N JOHN ST                                                      MAYVILLE         WI         53050                 6002                Various                                                                                                $2.93
ANTHONY PERSONS               33 RD                                                              DURAND           WI         54736                 6004                Various                                                                                               $20.00
ANTHONY PIEL                  7163 407TH ST                                                      NORTH BRANCH     MN         55056                 6004                Various                                                                                                $3.00
ANTHONY PISCITELLO            1932 S MEMORIAL DR                                                 APPLETON         WI         54915                 6002                Various                                                                                                $1.42
ANTHONY PISHL                 PO BOX 871                                                         OROFINO          ID         83544                 6002                Various                                                                                                $3.10
ANTHONY PRICE                 3101 WASHINGTON ST TRLR 76                                         BELLEVUE         NE         68005                 6002                Various                                                                                                $1.78
ANTHONY RAY                   HC 6 BOX 345                                                       DONIPHAN         MO         63935                 6002                Various                                                                                                $5.15
ANTHONY RONALDO               2250 LION CREEK RD                                                 MISSOULA         MT         59804                 6002                Various                                                                                                $0.76
ANTHONY RYLAND                135 CENTRAL AVE                                                    WATERTOWN        SD         57201                 6002                Various                                                                                                $1.34
ANTHONY SANDERS               355 N 1025TH W                                                     HYRUM            UT         84319                 6002                Various                                                                                                $1.81
ANTHONY SANSHEZ               4724 MUCKCREEK DR                                                  OLYMPIA          WA         98513                 6004                Various                                                                                               $20.00
ANTHONY SATTERWHITE           542 E 2ND ST                                                       SUPERIOR         NE         68978                 6002                Various                                                                                                $4.30
ANTHONY SCHMIDT               3389 TOWNHALL RD                                                   ABBOTSFORD       WI         54405                 6002                Various                                                                                                $2.66
ANTHONY SCHMITT               1302 GILBERT ST                                                    WAUSAU           WI         54403                 6002                Various                                                                                                $1.70
ANTHONY SIKORA                606 E 2ND ST                                                       NEILLSVILLE      WI         54456                 6002                Various                                                                                                $8.36
ANTHONY SNYDER                725 CANDICE ST                                                     VALENTINE        NE         69201                 6002                Various                                                                                                $9.75
ANTHONY TASIOR                615 ROOSEVELT ST                                                   NEENAH           WI         54956                 6004                Various                                                                                                $1.00
ANTHONY TAYLOR                316 BABALEE LN                                                     WEST BEND        WI         53090                 6002                Various                                                                                               $15.78
ANTHONY THAO                  1703 SILVER LANE                                                   WAUSAU           WI         54403                 6004                Various                                                                                               $25.00
ANTHONY TRENTZ                1707 LINCOLN AVE                                                   DUBUQUE          IA         52001                 6004                Various                                                                                               $10.02
                              2034 LONDONDERRY DRIVE APT
ANTHONY UKADIBIA              209                                                                MADISON          WI         53704                  6004               Various                                                                                               $10.00
ANTHONY VAN ELZEN             606 HOMESTEAD TRL                                                  KIMBERLY         WI         54136                  6002               Various                                                                                                $1.45
ANTHONY VOCKE                 2096 JUNIOR TERRACE                                                DELAVAN          WI         53115                  6004               Various                                                                                                $9.99
ANTHONY WASHINES              201 COUCH LANE                                                     WAPATO           WA         98951                  6004               Various                                                                                                $8.78
ANTHONY WEINANDT              4012 TOWNE LAKES CIR          APT 8101                             GRAND CHUTE      WI         54913                  6004               Various                                                                                                $2.00
ANTHONY WILLMETH              635 26 1/2 AVE                                                     CUMBERLAND       WI         54829                  6004               Various                                                                                               $70.00
ANTHONY WILSON                932 NORTHLAND DR                                                   MARQUETTE        MI         49855                  6004               Various                                                                                               $33.00
ANTHONY WOLD                  104 N GROVE ST                                                     CHIPPEWA FALLS   WI         54729                  6004               Various                                                                                               $23.00
ANTHONY ZWICK                 1560 FOELLER DRIVE                                                 GREEN BAY        WI         54302                  6004               Various                                                                                                $6.20
ANTIONNE SMITH                PO BOX 1                                                           COLUMBUS         WI         53925                  6004               Various                                                                                                $4.00
ANTOINETTE BARTON             1010 N 6TH STREET                                                  MONMOUTH         IL         61462                  6002               Various                                                                                                $4.49
ANTOINETTE CHRISTENSEN        3777 W 5250 S                                                      ROY              UT         84067                  6004               Various                                                                                               $68.99
ANTOINETTE JENNINGS           PO BOX 50247                                                       BOISE            ID         83705                  6002               Various                                                                                                $9.18
ANTOINETTE LUCEI              600 DRAINBANK RD.                                                  GRANGER          WA         98932                  6004               Various                                                                                               $30.11
ANTOINETTE MORRIS             1958 MOUND AVE                                                     BELOIT           WI         53511                  6004               Various                                                                                                $5.00
ANTOINEYA RICHARD             8888 REDICK AVE                                                    OMAHA            NE         68122                  6004               Various                                                                                                $4.00
ANTOINIC BRYANT               300 SOUTH BIRD ST.                                                 SUN PRAIRIE      WI         53590                  6004               Various                                                                                                $1.00
ANTON H HANK                  460 N LEWISTON ST                                                  WENDELL          ID         83355                  6002               Various                                                                                                $2.08
ANTON PIETROSKE               5931 CTY V                                                         TWO RIVERS       WI         54241                  6004               Various                                                                                               $36.00
ANTON R. ANDERSON             80 WILLIAMS ST PO BOX # 492                                        LEWISTON         MN         55952                  6002               Various                                                                                                $1.64
ANTON TONY KRSULIC            9305 CAMDEN AVE                                                    OMAHA            NE         68134                  6002               Various                                                                                                $1.12
ANTONE CATALDO                156 E JOHNSON ST                                                   FOND DU LAC      WI         54935                  6002               Various                                                                                                $6.68
ANTONE J WOLOSEK              8384 OCONNELLS RESORT RD                                           WINNECONNE       WI         54986                  6002               Various                                                                                                $6.58
ANTONE OURADNIK               N16108 D RD # 1                                                    WILSON           MI         49896                  6002               Various                                                                                                $0.27
ANTONIA GOMEZ                 109 JOHNSON ST                                                     WAKEFIELD        NE         68784                  6002               Various                                                                                                $5.56
ANTONIA MARKEY                621 E 12TH ST                                                      NORTH PLATTE     NE         69101                  6002               Various                                                                                                $9.21
ANTONIA MERRITT               10340A MICHIGAN AVE                                                SHEBOYGAN        WI         53081                  6004               Various                                                                                                $5.02




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              Creditor Name                   Address1           Address2            Address3             City        State         Zip     Country     Number                Claim                                                                             Total Claim
ANTONIA MUNOZ                     117 ROUND TABLE COURT                                           CALDWELL         ID         83605                 6004                Various                                                                                            $45.47
ANTONIA SALZER                    938 DOUSMAN STREET                                              GREEN BAY        WI         54303                 6004                Various                                                                                             $2.00
ANTONINO DIPIETRA                 761 TRUMANN ST.                                                 OREGON           WI         53575                 6004                Various                                                                                            $22.50
ANTONIO BROWN                     38871 2ND AVE                                                   NORTH BRANCH     MN         55056                 6004                Various                                                                                             $3.00
ANTONIO C MARTINEZ                1212 RUSSELL AVE                                                WORLAND          WY         82401                 6002                Various                                                                                             $8.68
ANTONIO DENIZ                     820 S 3RD ST                                                    WORLAND          WY         82401                 6002                Various                                                                                             $9.56
ANTONIO DIAZ                      302 KLOCK STREET                                                GRANDVIEW        WA         98930                 6004                Various                                                                                            $12.05
ANTONIO FLORES                    PO BOX 1124                                                     WAPATO           WA         98951                 6004                Various                                                                                            $50.02
ANTONIO GARCIA-LOPEZ              210 HIGHLINE ST APT 6                                           BELVIDERE        IL         61008                 6002                Various                                                                                             $0.27
ANTONIO GOMEZ                     1601 24 STREET                                                  SIOUX CITY       IA         51105                 6004                Various                                                                                            $18.25
ANTONIO GONZALEZ                  1149 MEYER ST                                                   ELGIN            IL         60123                 6002                Various                                                                                             $3.89
ANTONIO JURADO                    NEED INFO POWELL                                                POWELL           WY         82435                 6002                Various                                                                                             $5.01
ANTONIO LEBEAU                    1545 PROPER ST                                                  GREEN BAY        WI         54302                 6004                Various                                                                                             $3.00
ANTONIO LOPE VAL                  307 S 4TH ST                                                    DORCHESTER       WI         54425                 6002                Various                                                                                             $2.71
ANTONIO MENDOZA                   5808 W PARADISE PL                                              SIOUX FALLS      SD         57107                 6002                Various                                                                                             $9.42
ANTONIO MERCADO                   8410 REDGRANITE RD                                              MADISON          WI         53719                 6004                Various                                                                                            $10.02
ANTONIO PENA                      103 3RD. STREET APT #2                                          FOND DU LAC      WI         54935                 6004                Various                                                                                             $1.00
ANTONIO RAMIREZ CASTANEDA         3005 S 23RD STREET                                              OMAHA            NE         68108                 6004                Various                                                                                            $19.00
ANTONIO TORRES                    118 CLARENCE ST                                                 FORT ATKINSON    WI         53538                 6002                Various                                                                                             $0.60
ANWEN KUMLIN                      47 EAST WYOMING                                                 KALISPELL        MT         59901                 6004                Various                                                                                             $3.00
ANYA BRADLEY                      325 S ASH ST                                                    WEST POINT       NE         68788                 6002                Various                                                                                             $2.90
ANYA CLUTTER                      1300 TURTLE CREEK ROAD     APT #331                             LINCOLN          NE         68521                 6004                Various                                                                                             $4.00
ANZETTE HOWARD                    205 HANSEN #4                                                   IDAHO FALLS      ID         83402                 6004                Various                                                                                             $3.65
APEX PRINT TECHNOLOGIES LLC       MI 35                      PO BOX 9201                          MINNEAPOLIS      MN         55480-9201            1822                Various                                                                                         $3,087.50
APL - AMERICAN PRESIDENT LINES    16220 N. SCOTTSDALE ROAD                                        SCOTTSDALE       AZ         85254                 3021                Various                                                                                       $149,740.00
APOLLO HEALTH & BEAUTY CARE       1 APOLLO PLACE                                                  TORONTO          ON         M3J 0H2      CANADA 4430                  Various                                                                                        $45,871.22
APOLONIA JIMENEZ                  2473 PARKER PLACE.                                              MADISON          WI         53713                 6004                Various                                                                                            $20.00
APOTHECARY PRODUCTS INCORPORAT    PO BOX 856810                                                   MINNEAPOLIS      MN         55485-6810            3926                Various                                                                                        $30,013.04
APOTHECARY PRODUCTS LLC           PO BOX 856810                                                   MINNEAPOLIS      MN         55485-6810            3926                Various                                                                                        $14,079.27
APPALONIA BLAZER                  815 11TH ST                                                     RAWLINS          WY         82301                 6002                Various                                                                                             $0.44
APPLIED PREDICTIVE TECHNOLOGIE    4250 N FAIRFAX DRIVE       11TH FLOOR                           ARLINGTON        VA         22203                 2120                Various                                                                                       $148,333.25
APPRISS INCORPORATED              ATTN ACCOUNTS RECEIVABLE   PO BOX 639034                        CINCINNATI       OH         45263-9034            6430                Various                                                                                         $8,750.00
APRIL A MARTINEZ                  617 MEADOW VIEW LN                                              TWIN FALLS       ID         83301                 6002                Various                                                                                             $6.22
APRIL ANN MEVISSEN                26257 560TH AVE                                                 ALBERTA          MN         56207                 6002                Various                                                                                             $4.85
APRIL CHRISTENSEN                 20105 N 5200TH W                                                PLYMOUTH         UT         84330                 6002                Various                                                                                             $2.14
APRIL CISEWSKI                    705 SUMNER STREET                                               WAUSAU           WI         54403                 6004                Various                                                                                             $3.00
APRIL D PARRISH                   2229 S 141ST CT APT 11                                          OMAHA            NE         68144                 6002                Various                                                                                             $8.22
APRIL DECKER                      2102 ROOSEVELT AVENUE                                           TWO RIVERS       WI         54241                 6004                Various                                                                                            $10.00
APRIL EBEL                        445 S BRUNER ST                                                 WEST POINT       NE         68788                 6002                Various                                                                                             $3.10
APRIL EITLER                      1012 WEST SHAW COURT #22                                        WHITEWATER       WI         53190                 6004                Various                                                                                             $4.02
APRIL GAMACHE                     234 7TH ST SE                                                   MASON CITY       IA         50401                 6002                Various                                                                                             $5.23
APRIL GORDON                      260 S STATE ST                                                  CLEARFIELD       UT         84015                 6002                Various                                                                                            $10.03
APRIL HABERER                     812 BROADWAY AVE                                                VALLEY SPRINGS   SD         57068                 6002                Various                                                                                             $6.71
APRIL HOUSTON                     1000 S 50TH AVE APT 2                                           WAUSAU           WI         54401                 6002                Various                                                                                             $9.04
APRIL HUREAUX                     7556 THORNTON DR                                                MISSOULA         MT         59808                 6004                Various                                                                                             $2.00
APRIL ISAACS                      784 NORTH 22ND ROAD                                             UNADILLA         NE         68454                 6004                Various                                                                                            $10.00
APRIL J EAMES                     1379 ASHLEY DR                                                  TWIN FALLS       ID         83301                 6002                Various                                                                                             $2.14
APRIL JANSSEN                     5710 BIGHORN DR                                                 LINCOLN          NE         68516                 6002                Various                                                                                             $0.47
APRIL JOHNSON                     PO BOX 94                                                       BABB             MT         59411                 6004                Various                                                                                             $2.00
APRIL K JOHNSON                   RR 3 BOX 5133                                                   DONIPHAN         MO         63935                 6002                Various                                                                                             $4.66
APRIL L. WEINERT                  1113 W MAIN ST                                                  WATERTOWN        WI         53094                 6002                Various                                                                                             $5.56
APRIL LARSON                      304 N 9TH AVE                                                   WOONSOCKET       SD         57385                 6004                Various                                                                                            $10.72
APRIL LAYTON                      11329 S 1ST E                                                   IDAHO FALLS      ID         83404                 6002                Various                                                                                             $3.73
APRIL LINDQUIST                   1750 MOON RD                                                    MOSINEE          WI         54455                 6002                Various                                                                                             $1.86




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APRIL LOVE                           2122 WAUGH STREET                                                  GRAND ISLAND      NE         68803                6004                Various                                                                                            $29.98
APRIL M. TECHE                       731 W 17TH ST                                                      MARSHFIELD        WI         54449                6002                Various                                                                                             $1.15
APRIL MARSHALL                       117 OAKLAND AVE                                                    JANESVILLE        WI         53545                6004                Various                                                                                            $50.00
APRIL MATHER                         2213 SCARBOROUGH DR                                                BELLEVUE          NE         68123                6002                Various                                                                                             $6.14
APRIL MCCABE                         29499 STATE HIGHWAY 112                                            LE SUEUR          MN         56058                6002                Various                                                                                             $3.70
APRIL MCQUILLEN                      217 S LOCUST AVE                                                   NEW HAMPTON       IA         50659                6002                Various                                                                                             $6.38
APRIL MEYERS                         5101 W PARTRIDGE LN                                                LINCOLN           NE         68528                6002                Various                                                                                             $1.26
APRIL MILLER                         1217 N 1100 E                                                      SHELLEY           ID         83274                6004                Various                                                                                            $20.02
APRIL MURDOCK                        HC 6 BOX 99                                                        DONIPHAN          MO         63935                6002                Various                                                                                             $9.37
APRIL NEWMAN                         522 HALE ST                                                        ANSLEY            NE         68814                6002                Various                                                                                             $7.51
APRIL NOYES                          8706 S 620TH E                                                     SANDY             UT         84070                6002                Various                                                                                             $5.40
APRIL PANKO                          135 WANDER WAY SE                                                  SALEM             OR         97301                6004                Various                                                                                            $24.00
APRIL PAYNE                          405 S. 16TH STREET           APT. 502                              OMAHA             NE         68102                6004                Various                                                                                            $25.00
APRIL REILLY                         3717 STATE HWY 54 W # 20                                           NEKOOSA           WI         54457                6004                Various                                                                                             $4.00
APRIL RICKL                          6329 HILLTOP LANE                                                  ARPIN             WI         54410                6004                Various                                                                                            $76.20
APRIL SEVILLA                        7107 S 145TH ST APT 12                                             OMAHA             NE         68138                6002                Various                                                                                             $2.55
APRIL SOLMS                          6727 101ST AVE                                                     KENOSHA           WI         53142                6004                Various                                                                                             $7.88
APRIL SOUMIS                         18082 50TH AVENUE                                                  CHIPPEWA FALLS    WI         54729                6002                Various                                                                                             $2.68
APRIL SPENCER                        2441 PRATT ST                                                      OMAHA             NE         68111                6004                Various                                                                                            $29.98
APRIL STAFFEY                        RT BOX # 85048                                                     DONIPHAN          MO         63935                6002                Various                                                                                             $7.56
APRIL STASKO                         308 1ST ST NE                                                      HAYFIELD          MN         55940                6002                Various                                                                                             $4.14
APRIL STEVENS                        323 COTTONVILLE AVE                                                WAUTOMA           WI         54982                6002                Various                                                                                             $1.92
APRIL STILES                         8716 CTY RD B B                                                    PLAINFIELD        WI         54966                6004                Various                                                                                            $24.00
APRIL VOIGT                          312 E LAKE ST                                                      LAKE MILLS        WI         53551                6002                Various                                                                                             $9.18
APRIL ZELENKA                        5440 WILLOW RD #10                                                 WAUNAKEE          WI         53597                6004                Various                                                                                            $10.00
APRIL ZEMAN                          3924 WINONA WAY APT 4                                              SIOUX CITY        IA         51104                6002                Various                                                                                             $0.47
A-PRIME HANDLING, INC.               1 NEW BOSTON DRIVE                                                 CANTON            MA         02021                                    Various                                                                                         $8,842.32
APRYL BASTIAN                        336 COLLEGE AVE.                                                   DE PERE           WI         54115                 6004               Various                                                                                             $4.91
AQUARIUS LIMITED                     3200 SOUTH KINGSHIGHWAY                                            ST LOUIS          MO         63139-0000            7311               Various                                                                                         $3,403.63
AQUILINO SEMANA                      2813 16TH ST S                                                     GREAT FALLS       MT         59405                 6004               Various                                                                                             $4.00
ARABELLE ORVICK                      6218 HARVEST LN.                                                   DE FOREST         WI         53532                 6004               Various                                                                                            $21.00
ARACELI CANOLEON                     506 MILLER ST                                                      KEWAUNEE          WI         54216                 6002               Various                                                                                             $3.89
ARACELI LEAL SANCHEZ                 4826 43RD LN SE                                                    LACEY             WA         98503                 6004               Various                                                                                             $8.96
ARACELI QUIROS                       8104 1/2 LAKITA AVE                                                YAKIMA            WA         98903                 6004               Various                                                                                            $28.06
ARACELI SANCHEZ                      8990 COTTONVILLE DR                                                WAUTOMA           WI         54982                 6002               Various                                                                                             $8.71
ARACELI VERA                         220 WEST 3RD APT 3                                                 SIOUX CITY        IA         51103                 6004               Various                                                                                            $20.00
ARAMARK UNIFORM & CAREER APPAR       22808 NETWORK PLACE                                                CHICAGO           IL         60673-1228            0709               1/8 to 1/15                                                                                   $132,395.13
ARAYLIUS CORNELIUS                   1197 SHEPERDS PATH                                                 GREEN BAY         WI         54313                 6004               Various                                                                                             $4.00
ARBA TURNER                          1978 TOWNLINE RD APT V12                                           WASHINGTON ISLA   WI         54246                 6002               Various                                                                                             $5.18
ARBARA MILLER                        W10115 CZECH RD                                                    COLOMA            WI         54930                 6002               Various                                                                                             $1.73
ARBLE (TOM) SPEAKER                  239 NORTH GLEN AVE                                                 ROODHOUSE         IL         62082                 6004               Various                                                                                            $10.00

ARBON EQUIPMENT CORP - NORTHCENTRAL 9071 N DEERBROOK TRAIL                                              MILWUAKEE         WI         53223                                    Various                                                                                           $500.00
ARBON EQUIPMENT CORPORATION         25464 NETWORK PLACE                                                 CHICAGO           IL         60673-1254             2529              Various                                                                                           $371.47
                                                                  415 SOBOTTA
ARCADIA BEVERAGE COMPANY INC         VICE PRESIDENT OF SALES      STREET                                ARCADIA           WI         54612                 4871               Various                                                                                          $383.30
ARCELIA VAZQUEZ MENDOZA              310 MANITOWOC ST                                                   REEDSVILLE        WI         54230                 6002               Various                                                                                             $6.11
ARCH CHEMICALS INC                   PO BOX 945582                                                      ATLANTA           GA         30394-5582            1553               Various                                                                                        $16,000.00
ARCHER VALLEY ENERGY                 1686 PETERSON ROAD                                                 PRIEST RIVER      ID         83856                 4729               Various                                                                                          $640.00
ARCHIE DURAND                        401 LINCOLN AVE                                                    REESEVILLE        WI         53579                 6002               Various                                                                                             $6.41
ARCHIE HOLTZ                         2116 9TH AVE SE                                                    SAINT CLOUD       MN         56304                 6002               Various                                                                                             $6.03
                                     COLE OPERATING PARTNERSHIP   C/O PROPERTY       2325 E CAMELBACK
ARCP SH BROKEN BOW NE LLC            IV LP                        ACCOUNTANT         ROAD STE 1100      PHOENIX           AZ         85016                  7493              Various                                                                                         $8,903.48




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                                                                                                                                                             Account         Incurred, Basis for
             Creditor Name                   Address1             Address2              Address3            City          State           Zip   Country      Number                Claim                                                                             Total Claim
                                  COLE REAL ESTATE INCOME     ATTN PROPERTY      2325 E CAMELBACK
ARCP SH LARNED KS LLC             STRATEGY                    ACCOUNTANT         ROAD SUITE 1100    PHOENIX          AZ           85016                   7575               Various                                                                                         $9,521.19

                                                              2325 E CAMELBACK
ARCP SH VALENTINE NE LLC          SUITE 1100                  ROAD                                  PHOENIX          AZ           85016                   7632               Various                                                                                        $15,952.59
                                                              1654 MARTHALER
ARCTIC GLACIER PREMIUM ICE        NEBRASKA REGION             LANE                                  WEST ST PAUL     MN           55118                   6212               Various                                                                                         $3,110.54
ARDELLA GAEDTKE                   5812 WEST CUSTER                                                  MANITOWOC        WI           54220                   6004               Various                                                                                          $183.00
ARDELLE BOARDMAN                  3200 NORTH 92ND STREET                                            LINCOLN          NE           68507                   6004               Various                                                                                             $2.00
ARDEN ALEXANDER                   215 S BELL AVE APT 301                                            LYONS            KS           67554                   6002               Various                                                                                             $6.33
ARDEN KOLAR                       10798 STATE HIGHWAY 73                                            PITTSVILLE       WI           54466                   6002               Various                                                                                             $0.44
ARDIS MCFARLAND                   120 WINTERCREST DR                                                KALISPELL        MT           59901                   6004               Various                                                                                             $2.00
ARDIS PETERSON                    1120 NIOBRARA AVENUE                                              ALLIANCE         NE           69301                   6002               Various                                                                                             $6.17
ARDIS R MCKINSTRY                 715 HICKORY LN                                                    LEWISTOWN        MT           59457                   6002               Various                                                                                             $8.11
ARDIS STERR                       460 N HENNINGER ST                                                MAYVILLE         WI           53050                   6002               Various                                                                                             $2.27
ARDYS ALFERNESS                   413 S RUM RIVER DR APT 3                                          PRINCETON        MN           55371                   6002               Various                                                                                             $1.42
ARELI ESTRADA                     512 N 10TH ST APT 40                                              DE PERE          WI           54115                   6002               Various                                                                                             $0.82
AREN BARANCZYK                    W590 NICHOLS DR                                                   KRAKOW           WI           54137                   6002               Various                                                                                             $8.52
ARENDI RODRIGUEZ                  808 FRANCIS ST                                                    OMAHA            NE           68108                   6004               Various                                                                                            $23.00
ARG LUMAR LLC                     7762 SUGAR BEND DRIVE                                             ORLANDO          FL           32819                   6465               Various                                                                                        $14,004.21
                                  101 LARKSPUR LANDING CIRCLE
ARGO WHITEFISH LLC                SUITE 120                                                         LARKSPUR         CA           94939                   3676               Various                                                                                        $17,367.64
ARIAL HENDERSON                   115 N PEARL ST                                                    JANESVILLE       WI           53545                   6004               Various                                                                                             $1.00
                                  2290 NE WESTWOOD DRIVE APT
ARIAN KARIMITAR                   I204                                                              PULLMAN          WA           99163                   6004               Various                                                                                            $15.97
ARIANA CRIBBS                     3004 PORTAGE RD                                                   MADISON          WI           53711                   6004               Various                                                                                            $13.00
ARIANA RAMIREZ                    388 EASTMONT AVE APT #1                                           EAST WENATCHEE   WA           98802                   6004               Various                                                                                            $20.00
ARIANA WALKER                     925 GORMAN ST APT 6                                               ELKHORN          WI           53121                   6004               Various                                                                                             $6.00
ARIANNA BUCKINGHAM                5010 TRAFALGER PL                                                 MADISON          WI           53714                   6004               Various                                                                                             $3.00
ARIANNA COLLEY                    1227 ERIE ST                                                      RACINE           WI           53402                   6004               Various                                                                                             $3.00
ARIANNA EBERT                     925 KEENAN LANE                                                   STOUGHTON        WI           53589                   6004               Various                                                                                             $5.70
ARIANNA FIELDS                    E2361 CRYSTAL RD APT 2                                            WAUPACA          WI           54981                   6002               Various                                                                                             $4.96
ARIANNA GRANNA                    1805 7TH AVE                                                      BELVIDERE        IL           61008                   6004               Various                                                                                             $3.90
ARIANNA R ANDERSON                PMB 143: 24695 US HWY 85                                          FOUR CORNERS     WY           82715                   6002               Various                                                                                             $6.16
ARIANNA SHAY                      615 JEFFERSON                                                     BENNET           NE           68317                   6004               Various                                                                                            $18.00
ARIANNA SIMPLOT                   2050 FAIRFAX AVE                                                  BELOIT           WI           53511                   6004               Various                                                                                            $20.00
ARIANNA VALLADARES                1113 OAK ST.                                                      BEARDSTOWN       IL           62618                   6004               Various                                                                                            $20.00
ARIC DUFFECK                      KEW CT JAIL                                                       KEWAUNEE         WI           54216                   6002               Various                                                                                             $6.88
ARIEA MORRELL                     2380 COTTONWOOD LN                                                SALT LAKE CITY   UT           84117                   6002               Various                                                                                             $5.42
ARIEL DAUPHINAIS                  20 E JOHN ST APT 8                                                RICE LAKE        WI           54868                   6002               Various                                                                                             $3.97
ARIEL ESPINOZA                    14088 S CANDY PULL DR                                             DRAPER           UT           84020                   6002               Various                                                                                             $5.29
ARIEL FRIED                       W3954 VISTA LANE                                                  BELLEVILLE       WI           53508                   6004               Various                                                                                             $4.00
ARIEL MACKEY                      739 EAST SOUTH STREET                                             GALESBURG        IL           61401                   6004               Various                                                                                             $4.00
ARIEL PHAN                        2017 1ST AVE S.E                                                  AUSTIN           MN           55912                   6004               Various                                                                                             $3.00
ARIELLE EDMONDS                   1148 MORRAINE VIEW DR 305                                         MADISON          WI           53719                   6004               Various                                                                                             $2.00
ARIELLE HAFERMANN                 1800 KNOX                   APT 4                                 LINCOLN          NE           68521                   6004               Various                                                                                            $19.96
ARIELLE KUNZ                      859 SOUTH 300 EAST                                                SALT LAKE CITY   UT           84111                   6004               Various                                                                                            $19.99
ARIK LITTLEFIELD                  315 PINE AVE SE                                                   EYOTA            MN           55934                   6002               Various                                                                                             $2.16
ARIN VOGELPOHL                    18011 CSAH # 18                                                   DASSEL           MN           55325                   6002               Various                                                                                             $1.23
ARISBE FRANCO                     1650 CHICAGO ST                                                   GREEN BAY        WI           54302                   6002               Various                                                                                             $6.11
ARISTA BAUERLY                    2119 JEFFERSON                                                    QUINCY           IL           62301                   6004               Various                                                                                            $25.99
ARISTEO GONZALEZ                  200 MATHISON ST                                                   MENASHA          WI           54952                   6004               Various                                                                                             $2.00
ARIZO GAJEWSKI                    4017 NO. LONG AVE,                                                CHICAGO          IL           60637                   6004               Various                                                                                            $20.00
ARIZONA BEVERAGE COMPANY L L C    24877 NETWORK PLACE                                               CHICAGO          IL           60673-1877              4096               Various                                                                                        $19,566.32




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              Creditor Name                   Address1              Address2         Address3             City        State         Zip    Country     Number                Claim                                                                             Total Claim
ARK JARRETT                       18493 W HOLLIDAY WAY                                            POST FALLS       ID         83854                6002                Various                                                                                             $9.42
ARK URBAN                         132 ZIEBACH ST                                                  BELLE FOURCHE    SD         57717                6002                Various                                                                                             $1.78
ARKADY LITTLEGEORGE               6089 KENNEDY ST LOT7                                            AUBURNDALE       WI         54412                6004                Various                                                                                             $3.00
ARL HARRMANN                      606 E NORTH LAKE ST                                             HANCOCK          WI         54943                6002                Various                                                                                             $8.63
ARLA VAN ROEKEL                   3910 210TH ST                                                   GEORGE           IA         51237                6002                Various                                                                                             $2.49
ARLAN C. LAURITSEN                15007 WILLOW CREEK DR                                           OMAHA            NE         68138                6002                Various                                                                                             $5.81
ARLAN ZILLS                       617 E BANK STREET                                               FOND DU LAC      WI         54935                6666                Various                                                                                            $31.68
ARLEE HOME FASHIONS INCORPORAT    261 5TH AVE 6TH FLOOR                                           NEW YORK         NY         10016-0000           4908                Various                                                                                        $15,035.83
ARLENE A PISCHNER                 PO BOX 33                                                       COEUR D ALENE    ID         83816                6002                Various                                                                                             $7.53
ARLENE BATEMAN                    810 1ST AVE SW                                                  OELWEIN          IA         50662                6002                Various                                                                                             $3.61
ARLENE CARPENTER                  615 JANET ST APT 210                                            HELENA           MT         59601                6002                Various                                                                                             $8.82
ARLENE CRAMER                     888 AMORETTI ST                                                 LANDER           WY         82520                6002                Various                                                                                             $7.12
ARLENE CRESS                      3742 SW 2ND ST                                                  CAPE CORAL       FL         33991                6002                Various                                                                                             $7.78
ARLENE E. SEMRAU                  N4613 BLACKBIRD RD                                              BEAVER DAM       WI         53916                6002                Various                                                                                             $1.37
ARLENE GULL                       884 W 5000TH S                                                  SPANISH FORK     UT         84660                6002                Various                                                                                             $5.64
ARLENE HATTERSLEY                 1241 W 14TH ST APT 7                                            ALLIANCE         NE         69301                6002                Various                                                                                             $7.26
ARLENE HEINS                      2003 4TH STREET APT 110                                         MONROE           WI         53566                6002                Various                                                                                            $19.28
ARLENE KENNEDY                    419 N 6TH ST                                                    CAMERON          WI         54822                6002                Various                                                                                             $2.08
ARLENE LAUDERMILCH                4430 HALL RD                                                    OROFINO          ID         83544                6002                Various                                                                                             $1.34
ARLENE LETO                       317 N MAIN ST                                                   WEIPPE           ID         83553                6002                Various                                                                                             $1.62
ARLENE R. DOEDEN                  PO BOX 24                                                       ROUND LAKE       MN         56167                6002                Various                                                                                             $4.14
ARLENE REINBOLT                   2805 VESTA CIRCLE                                               IDAHO FALLS      ID         83402                6004                Various                                                                                            $70.00
ARLENE WEYER                      153 LUBY AVE                                                    OCONTO           WI         54153                6002                Various                                                                                             $4.16
ARLENE YLINEN                     130 ARBUTUS ST                                                  ISHPEMING        MI         49849                6002                Various                                                                                             $9.10
ARLETA M PETTY                    2740 7TH ST                                                     TWO RIVERS       WI         54241                6002                Various                                                                                             $4.49
ARLETTE M HALL                    3316 PAINTBRUSH LANE                                            WORLAND          WY         82401                6002                Various                                                                                             $2.08
ARLINE HOEFT                      103 BROCKWAY AVE                                                OSHKOSH          WI         54902                6002                Various                                                                                            $10.00
ARLIS KABBLE                      E11251 CASS ROAD                                                CLINTONVILLE     WI         54929                6002                Various                                                                                             $1.00
ARLISS IRON HEART                 BOX 1784                                                        WINNER           SD         57580                6002                Various                                                                                             $4.19
ARLO MICHEL                       913 BUENA DR                                                    GREAT FALLS      MT         59404                6002                Various                                                                                             $6.90
ARLON PETERS                      701 E 800TH N                                                   OGDEN            UT         84404                6002                Various                                                                                             $5.81
ARLOS HERNANDEZ                   N5093 STATE ROAD 73                                             WAUTOMA          WI         54982                6002                Various                                                                                             $9.23
ARLYN GROTH                       14 ERIE LANE                                                    WINONA           MN         55987                6004                Various                                                                                             $3.00
ARMANDO AGUIRRE-PEREZ             2510 46AVE                                                      KENOSHA          WI         53140                6004                Various                                                                                            $30.02
ARMANDO ALLENDRE                  7318 S 33RD STREET                                              BELLEVUE         NE         68147                6004                Various                                                                                            $23.00
ARMANDO CASTELLANOS               1207 W 5TH ST                                                   BELVIDERE        IL         61008                6004                Various                                                                                            $30.02
ARMANDO MAHE                      202 OAK ST                                                      VEBLEN           SD         57270                6002                Various                                                                                             $0.63
ARMANDO RUIZ                      203 30TH ST                                                     OGDEN            UT         84401                6002                Various                                                                                             $6.14
ARMANI CRANSHAW                   206 BANBERRY CT APT 8                                           DEFOREST         WI         53532                6004                Various                                                                                             $3.00
ARMINDA MERAZ                     9924 U STREET 1C                                                OMAHA            NE         68127                6004                Various                                                                                            $12.00
ARMINE ROTRAMEL                   1039 COUNTY ROAD 600 N                                          BROWNS           IL         62818                6002                Various                                                                                            $91.02
ARMINTA ANDERSON                  4632 ARBOR STREET                                               SALT LAKE CITY   UT         84120                6004                Various                                                                                            $41.10
ARMINTA CORNETT                   2870 JUNIPER DR                                                 LEWISTON         ID         83501                6004                Various                                                                                            $60.00
                                                               6015 LITTLE NECK
ARMITRON CORPORATION              E GLUCK CORPORATION          PARKWAY                            LITTLE NECK      NY         11362                 5212               Various                                                                                        $27,239.16
ARMONI ALANIZ                     607 4TH AVE EAST                                                JEROME           ID         83338                 6004               Various                                                                                             $3.65
ARMONNIE JOHNSON                  1251 BIEMERT ST                                                 GREENBAY         WI         54304                 6004               Various                                                                                             $3.00
ARMOR PORK                        35737 COUNTY HIGHWAY 1                                          BATTLE LAKE      MN         56515                 3616               Various                                                                                          $578.25
ARMPOCKET ENTERPRISES LLC         12399 SW 53RD ST SUITE 103                                      COOPER CITY      FL         33330                 6223               Various                                                                                        $41,964.34
ARNALDO JIMENEZ-LAINEZ            330 3RD ST                                                      CHANDLER         MN         56122                 6002               Various                                                                                             $9.29
ARNDT FAMILY                      216 GRAND AVE                                                   NEILLSVILLE      WI         54456                 6002               Various                                                                                             $4.52
ARNOLD (MIKE) SCHULTZ             1900 EASLAN DR                                                  PLOVER           WI         54467                 6004               Various                                                                                            $16.49
ARNOLD BOSTWICK                   W8790 CHANNEL DR                                                ELCHO            WI         54428                 6004               Various                                                                                            $25.00
ARNOLD CUMPTON                    3285 N SAGE CIRCLE DR                                           NEWCASTLE        WY         82701                 6002               Various                                                                                             $5.67




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ARNOLD FOBIAN JR.                 1118 KING ST APT 7 F                                            DELAVAN           WI         53115                 6004                Various                                                                                            $19.01
ARNOLD L PELC                     90137 481ST AVE                                                 BUTTE             NE         68722                 6002                Various                                                                                             $3.73
ARNOLD STOUGH                     2492 239TH ST                                                   NEW HAMPTON       IA         50659                 6002                Various                                                                                             $6.52
ARNULFO PONCE PEREZ               13609 120TH ST                                                  HOFFMAN           MN         56339                 6002                Various                                                                                             $9.95
ARON SALTER                       218 E AVENUE B                                                  NEWBERRY          MI         49868                 6004                Various                                                                                            $20.00
ARRIANA S BRUCE                   636 N PEAL ST                                                   RIVER FALLS       WI         54022                 6002                Various                                                                                             $8.30
ARROWHEAD DISTRIBUTING COMPANY    PO BOX 118                                                      GERING            NE         69341                 6417                Various                                                                                          $392.60
ARRY SCHUSTER                     5444 E ELM RD                                                   PICKRELL          NE         68422                 6002                Various                                                                                             $8.60
ART COCHRELL                      2071 HJALMAR JOHNSON RD                                         WEIPPE            ID         83553                 6002                Various                                                                                             $2.68
ART OPTICAL                       CONTACT LENS DIVISION INC   PO BOX 1848                         GRAND RAPIDS      MI         49509                 6622                Various                                                                                        $16,739.25
ARTEMIA GARCIA DE PELEAZ          PO BOX 668                                                      JACKPOT           NV         89825                 6004                Various                                                                                            $22.00
ARTEMIO LOPEZ                     8615S HIGHWAY 59 TRLR 13                                        WILLARD           UT         84303                 6002                Various                                                                                             $4.38
ARTEMIO MORENO                    8511 21ST AVE                                                   KENOSHA           WI         53143                 6004                Various                                                                                             $4.00
ARTEMISIA WIGGINS                 108 1ST ST                                                      BEAMER            NE         68555                 6002                Various                                                                                            $10.00
ARTHUR BERNARD                    7535 CTY RD # 1                                                 MOORETON          ND         55555                 6002                Various                                                                                             $8.27
ARTHUR CRAGUN                     1359 DALLAS                                                     SYRACUSE          UT         84075                 6004                Various                                                                                             $3.00
ARTHUR DARWI LUEDKE               935 8TH ST                                                      MENASHA           WI         54952                 6002                Various                                                                                             $7.32
ARTHUR DERGE                      N7844 CTY TRUNK TW                                              MAYVILLE          WI         53050                 6002                Various                                                                                             $5.84
ARTHUR DOWNING                    215 W MOHAWK DRIVE          APT 119                             TOMAHAWK          WI         54487                 6002                Various                                                                                            $10.41
ARTHUR HERMAN                     9109 N LAKE DR                                                  MANITOWOC         WI         54220                 6002                Various                                                                                             $7.29
ARTHUR HERNANDEZ                  1210 NW 13TH ST                                                 ANDREWS           TX         79714                 6002                Various                                                                                             $6.36
ARTHUR HYSELL                     P O BOX 518                                                     ATKINSON          NE         68713                 6002                Various                                                                                             $1.65
ARTHUR MARTINEZ                   310 E CENTER ST                                                 RAWLINS           WY         82301                 6002                Various                                                                                             $1.42
ARTHUR MERTINS                    1433 N 6TH STREET                                               MANITOWOC         WI         54220                 6004                Various                                                                                            $13.54
ARTHUR NERGENAH                   1272 SUNNYSIDE RD                                               CHAPIN            IL         62628                 6002                Various                                                                                             $3.51
ARTHUR O SEYDEL                   443 GREENWOOD DR SE                                             EAST GRAND FORK   MN         56721                 6002                Various                                                                                             $8.33
ARTHUR RANDLES                    511 3RD ST S                                                    WISCONSIN RAPID   WI         54494                 6002                Various                                                                                             $7.32
ARTHUR SCHMITZ                    6276 JONES ROAD                                                 BURLINGTON        WI         53105                 6004                Various                                                                                            $35.20
ARTHUR TEFO                       PO BOX 2631                                                     OSHKOSH           WI         54903                 6002                Various                                                                                             $5.15
ARTHUR VOGELPOHL                  18011 CHS 18                                                    DASSEL            MN         55325                 6002                Various                                                                                             $1.01
ARTISSIMO DESIGNS (SAN DIEGO)     1501 SAINT PATRICK                                              MONTREAL          QC         H3K 2B7      CANADA 6345                  Various                                                                                         $4,000.00
ARTURO ALVARADO                   2318 F ST                                                       OMAHA             NE         68107                 6004                Various                                                                                            $23.00
ARTURO RODRIGUEZ                  9134 ELM RD                                                     BANCROFT          WI         54921                 6002                Various                                                                                             $1.89
ARTURO VALENZUELA                 5608 LARAMORE AVE.                                              OMAHA             NE         68104                 6004                Various                                                                                            $42.00
ARVETA WALKER                     401 4TH STR S.W                                                 AUSTIN            MN         55912                 6004                Various                                                                                             $3.00
ARVICE M LEWIS                    120 9TH ST                                                      PEEVER            SD         57257                 6002                Various                                                                                             $0.44
ARVIN GORDON                      5737 N 78TH AVE                                                 OMAHA             NE         68134                 6002                Various                                                                                             $9.26
ARY ROBBILARD                     HERMAN ROAD                                                     LANSE             MI         49946                 6002                Various                                                                                             $1.95
ARYBELLA DENTON-PARRY             1020 E KEMP                                                     WATERTOWN         SD         57201                 6002                Various                                                                                             $6.77
ARYE LOPEZ-LEON                   1215 KISHWAUKEE ST                                              BELVIDERE         IL         61008                 6004                Various                                                                                             $3.90
ARYL NELSON                       39639 CTY RD NE                                                 WANNASKA          MN         56761                 6002                Various                                                                                             $4.63
ARYN BLAESING                     116 W FOREST ST                                                 BEARDSLEY         MN         56211                 6002                Various                                                                                             $0.88
ASAAD A. MAHDI                    15909 BANCROFT CT                                               OMAHA             NE         68130                 6002                Various                                                                                             $7.10
ASCENCION MELENDEZ                1413 NW AVE B                                                   ANDREWS           TX         79714                 6002                Various                                                                                             $6.77

ASCENSION PRODUCTS GROUP          HOTMOCS                     1055 PRUITT ROAD                    SPRING            TX         77380                   7005              Various                                                                                          $250.00
ASCENT CONSUMER PRODUCTS INC      105 BAYLIS ROAD                                                 MELVILLE          NY         11747                   7305              Various                                                                                         $3,665.10
ASH C TALBOT                      1020 SYRINGA DR                                                 IDAHO FALLS       ID         83401                   6002              Various                                                                                             $8.47
ASHA MOHAMUD                      2844 PARK ST SE                                                 ROCHESTER         MN         55904                   6004              Various                                                                                             $3.00
ASHA PARKER                       RR 2 BOX 4502                                                   DONIPHAN          MO         63935                   6002              Various                                                                                             $2.93
ASHANTI ELVORD                    505 ALAN DRIVE #7                                               MOUNT HOREB       WI         53572                   6004              Various                                                                                             $5.00
ASHELY UNDERWOOD                  356 88TH ST W                                                   BILLINGS          MT         59106                   6002              Various                                                                                             $7.78
ASHERS CHOCOLATE CO               PO BOX 95000 1875                                               PHILADELPHIA      PA         19195-1875              5616              Various                                                                                        $10,832.60
ASHIYA PAGE                       3244 ROSE CT                                                    BELOIT            WI         53511                   6002              Various                                                                                             $7.92




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                                                                                                                                                   Last 4 Digits of     Date Debt was
                                                                                                                                                      Account         Incurred, Basis for
             Creditor Name                Address1                 Address2        Address3             City        State           Zip   Country     Number                Claim                                                                             Total Claim
ASHLEE BALLINGHAM             6575 S 2175 E                                                     OGDEN            UT         84405                 6004                Various                                                                                               $35.00
ASHLEE CLEMENT                2066 S BOULEVARD                                                  IDAHO FALLS      ID         83402                 6002                Various                                                                                                $1.26
ASHLEE GRIMMETT               1975 MCKENZIE AVE                                                 IDAHO FALLS      ID         83404                 6002                Various                                                                                                $6.11
ASHLEE KOLTER                 709 CHATFIELD ST NW            #13                                PRESTON          MN         55965                 6004                Various                                                                                                $6.00
ASHLEE LAKE                   1574 4 AVE E                                                      TWIN FALLS       ID         83301                 6004                Various                                                                                                $1.25
ASHLEE MCCAY                  11620 375TH ST                                                    NORTH BRANCH     MN         55056                 6002                Various                                                                                                $3.29
ASHLEE OTTERNESS              3842 9TH AVE SW                                                   ROCHESTER        MN         55902                 6002                Various                                                                                                $4.65
ASHLEE PAIGE                  PO BOX 42                                                         IONA             MN         56141                 6004                Various                                                                                                $3.00
ASHLEE PASOWICZ               PO BOX 234                                                        LINDSAY          NE         68644                 6002                Various                                                                                                $6.14
ASHLEE PONTILLO               29231 STATE HWY 43                                                RUSHFORD         MN         55971                 6004                Various                                                                                                $3.00
ASHLEE SCHNEIDER              421 E DIVISION ST                                                 GRAND ISLAND     NE         68801                 6004                Various                                                                                                $4.00
ASHLEE WADDOUPS               57 W 200 N                                                        MALAD            ID         83252                 6004                Various                                                                                                $9.50
ASHLEI ANDREWS                407 S ST CHARLES                                                  SALMON           ID         83467                 6002                Various                                                                                                $0.85
ASHLEIGH EDWARDS              35 N 1ST ST APT 18                                                COUNCIL BLUFFS   IA         51503                 6004                Various                                                                                               $12.55
ASHLEIGH SCHNEIDER            400 W PENN AVE                                                    ROSEVILLE        IL         61473                 6002                Various                                                                                                $3.56

ASHLEIGH TRUBY                1307 WEST PHILLIP ST, APT # 103                                   RHINELANDER      WI         54501                  6004               Various                                                                                                $1.00
ASHLEY A OLESON               20385 GRAVEL RD                                                   STURGIS          SD         57785                  6002               Various                                                                                               $10.00
ASHLEY ADAMS                  306 CHOTEAU ST                                                    SHELBY           MT         59474                  6002               Various                                                                                                $3.84
ASHLEY ANGLES                 3825 AVENUE B #24                                                 BILLINGS         MT         59102                  6004               Various                                                                                               $10.02
ASHLEY BARKER                 1813 E COEUR D ALENE AVE                                          COEUR D ALENE    ID         83814                  6002               Various                                                                                                $6.88
ASHLEY BARNETT                33187 480TH AVE                                                   OTTERTAIL        MN         56571                  6002               Various                                                                                                $5.37
ASHLEY BEERS                  2211 NOTTINGHAM DR                                                BELLEVUE         NE         68123                  6004               Various                                                                                                $4.00
ASHLEY BENSON                 110 SOO AVENUE                                                    CAMERON          WI         54822                  6004               Various                                                                                                $3.00
ASHLEY BINDL                  2285 DYRESON RD                                                   MC FARLAND       WI         53558                  6004               Various                                                                                               $15.40
ASHLEY BLANCHARD              1807 HOLLYWOOD ST                                                 OROFINO          ID         83544                  6002               Various                                                                                                $0.38
ASHLEY BLOCZYNSKI             504 W. BLODGETT                                                   MARSHFIELD       WI         54449                  6004               Various                                                                                               $25.00
ASHLEY BRACHLE                301 S 2ND ST                                                      EMMET            NE         68734                  6002               Various                                                                                                $9.64
ASHLEY BRESSETTE              124 OJIBWA TRL                                                    MARQUETTE        MI         49855                  6002               Various                                                                                                $2.08
ASHLEY BROOKS                 354 E WALL ST                                                     ELLSWORTH        WI         54011                  6002               Various                                                                                                $6.44
ASHLEY BUNGE                  109 SUMMER ST                                                     SCHOFIELD        WI         54476                  6004               Various                                                                                               $22.00
ASHLEY BURNS                  520 MORGAN ST                   PO BOX 304                        CHAPIN           IL         62628                  6004               Various                                                                                               $25.00
ASHLEY BURRIS                 614 W PINE ST APT 2                                               LEWISTOWN        MT         59457                  6002               Various                                                                                                $9.18

ASHLEY BYE                    504 WEST VETERANS MEMORIA                                         KASSON           MN         55944                  6004               Various                                                                                                $6.12
ASHLEY COLLINS                943 CLARA CT                                                      IDAHO FALLS      ID         83406                  6002               Various                                                                                                $0.85
ASHLEY COPLEY                 2127 8TH AVE NE                                                   ROCHESTER        MN         55906                  6002               Various                                                                                                $8.49

ASHLEY CORALLINO              1887 N LEGENDS PKWY APT 202                                       COEUR D ALENE    ID         83815                  6002               Various                                                                                                $0.85
ASHLEY CORDLE                 1045 1ST ST NE                                                    MASON CITY       IA         50401                  6002               Various                                                                                                $5.56
ASHLEY DARY                   479 S. GOOD HOPE RD                                               DE PERE          WI         54115                  6004               Various                                                                                               $10.00
ASHLEY DELEEUW                1132 ROLAND LANE APT 12                                           GREEN BAY        WI         54303                  6004               Various                                                                                                $4.02
ASHLEY DEROO                  N2052 STATE RD 49                                                 BERLIN           WI         54923                  6004               Various                                                                                                $5.70
ASHLEY DESPRES                W9994 COUNTY RD T C                                               WAUPUN           WI         53963                  6004               Various                                                                                               $45.00
ASHLEY DEVINE                 2208 BELLEWOOD AVE                                                WESTON           WI         54476                  6004               Various                                                                                                $1.00
ASHLEY DICKENSON              4331 E SUPERIOR ST                                                DULUTH           MN         55804                  6004               Various                                                                                                $3.00
ASHLEY DUCHEMIN               220 REMER ROAD UNIT 403                                           ELKHORN          WI         53121                  6004               Various                                                                                               $25.00
ASHLEY E LANDEEN              38824 KOST TRL                                                    NORTH BRANCH     MN         55056                  6002               Various                                                                                                $2.96
ASHLEY ELLINGHUYSEN           210 2ND AVE NW APT 3                                              STEWARTVILLE     MN         55976                  6004               Various                                                                                                $3.00
ASHLEY ELLIS                  4400 N 7TH ST APT 204                                             LINCOLN          NE         68521                  6002               Various                                                                                                $6.66
ASHLEY ENGELHARDT             704 KEMP ST                                                       LANSE            MI         49946                  6002               Various                                                                                                $6.58
ASHLEY EVANS                  135 W BROCK ST                                                    BUFFALO          WY         82834                  6002               Various                                                                                                $0.36
ASHLEY FERGUSON               14322 QUENTIN                                                     WAVERLY          NE         68462                  6004               Various                                                                                                $2.00
ASHLEY FERGUSSON              164 BISON MDW                                                     THAYNE           WY         83127                  6002               Various                                                                                                $9.07




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                                                                        Schedule E/F: Part 2 - Creditors With Nonpriority Unsecured Claims




                                                                                                                                                                                                                                  Claim subject to offset?
                                                                                                                                                                                                        Unliquidated
                                                                                                                                                                                           Contingent


                                                                                                                                                                                                                       Disputed
                                                                                                                                                  Last 4 Digits of     Date Debt was
                                                                                                                                                     Account         Incurred, Basis for
              Creditor Name               Address1              Address2        Address3             City          State           Zip   Country     Number                Claim                                                                             Total Claim
ASHLEY FEUERHAMMER             110 B INDUSTRIAL DRIVE      APT. 605                          BEAVER DAM         WI         53916                 6004                Various                                                                                               $30.00
ASHLEY FIELD                   505 WINNEBAGO ST.                                             LA CROSSE          WI         54601                 6004                Various                                                                                               $44.80
ASHLEY FIRKUS                  810 E HARRISON ST APT 310                                     MARSHFIELD         WI         54449                 6002                Various                                                                                                $1.32
ASHLEY FLEISCHMAN              S3386 FAIRHAVEN AVE                                           SPENCER            WI         54479                 6002                Various                                                                                                $1.23
ASHLEY FRAPPIER                5303 12TH ROAD                                                ESCANABA           MI         49829                 6004                Various                                                                                               $10.00
ASHLEY FROEBER                 270 ALLEN BLVD APT. 22                                        MIDDLETON          WI         53562                 6004                Various                                                                                                $2.00
ASHLEY GARRISON                510 W CANYON RD                                               YAKIMA             WA         98908                 6004                Various                                                                                               $35.00
ASHLEY GARVEY                  N5076 CTY RD E                                                DEPERE             WI         54115                 6002                Various                                                                                                $8.44
ASHLEY GEORGIA                 804 SE BIRCH AVE                                              COLLEGE PLACE      WA         99324                 6004                Various                                                                                               $40.00
ASHLEY GERMAN                  UNIT 283 RENVILLE ST                                          PEEVER             SD         57257                 6002                Various                                                                                                $2.58
ASHLEY GRACIA                  121 S WALNUT AVE                                              NEW HAMPTON        IA         50659                 6002                Various                                                                                                $2.93
ASHLEY GROSSOEHME              2015 LONGYEAR AVE                                             MARQUETTE          MI         49855                 6002                Various                                                                                                $9.56
ASHLEY HAMMOCK                 PO BOX 1051                                                   VAN BUREN          MO         63965                 6002                Various                                                                                                $5.23
ASHLEY HANSEN                  1648 S NICOLET RD                                             APPLETON           WI         54914                 6002                Various                                                                                                $7.32

ASHLEY HENKE                   3484 CTY RD K                                                 AMHERST JUNCTION   WI         54407                  6004               Various                                                                                               $59.98
ASHLEY HENRY                   815 GRAND ST SE APT 7                                         CHATFIELD          MN         55923                  6002               Various                                                                                                $2.74
ASHLEY HERRIMAN                2332 MALMAISON                                                BELVIDERE          IL         61008                  6004               Various                                                                                                $3.90
ASHLEY HERSANT                 6136 ANDREW DR                                                EAU CLARIE         WI         54701                  6004               Various                                                                                               $20.00
ASHLEY HIATT                   720 TURNER ST               APT C                             MISSOULA           MT         59802                  6004               Various                                                                                                $2.00
ASHLEY HILL                    459 13TH AVE NW                                               ROCHESTER          MN         55901                  6002               Various                                                                                                $1.45
ASHLEY HILLIGOSS               222 S PHILIP RD                                               NILES              MI         49120                  6002               Various                                                                                                $4.60
ASHLEY HOELZEL                 N196 CTY RD N                                                 APPLETON           WI         54915                  6002               Various                                                                                                $1.12
ASHLEY HOLLERAN                904 1/2 PARK AVE                                              WAUSAU             WI         54403                  6002               Various                                                                                                $0.74
ASHLEY HOOTON                  1832 W. COLLEGE AVE                                           SPOKANE            WA         99201                  6004               Various                                                                                               $10.00
ASHLEY HOPWOOD                 1914 S 15TH ST APT 22                                         PLATTSMOUTH        NE         68048                  6002               Various                                                                                                $2.68
ASHLEY HOUSE                   929 LINCOLN AVE S APT 12                                      SIDNEY             MT         59270                  6002               Various                                                                                                $2.85
ASHLEY HUDSON                  RR 8 BOX 9690                                                 DONIPHAN           MO         63935                  6002               Various                                                                                                $5.15
ASHLEY J STELLMACHER           617 4TH ST                                                    OCONTO             WI         54153                  6002               Various                                                                                                $3.48
ASHLEY JOHNSON                 3308 MARTIN AVE                                               OMAHA              NE         68112                  6004               Various                                                                                                $4.00
ASHLEY JONES                   314 PASQUE ST.                                                SUN PRAIRIE        WI         53590                  6004               Various                                                                                                $6.17
ASHLEY KEIRNES                 1870 N DUCK HAWK AVE                                          KUNA               ID         83634                  6004               Various                                                                                               $35.00
ASHLEY KELLY                   1829 ROXBURY RD                                               JANESVILLE         WI         53545                  6002               Various                                                                                                $4.71
ASHLEY KEMP                    525 7TH ST                                                    STURGIS            SD         57785                  6002               Various                                                                                                $0.82
ASHLEY KERNAN                  6449 192ND ST                                                 CHIPPEWA FALLS     WI         54729                  6004               Various                                                                                               $25.00
ASHLEY KLEIBER                 2515 CLARK ST                                                 MANITOWOC          WI         54220                  6002               Various                                                                                                $6.99
ASHLEY KOLF                    1750 DELAWARE DRIVE APT 1                                     SUN PRAIRIE        WI         53590                  6004               Various                                                                                               $25.00
ASHLEY KOZAK                   6034 S 36TH ST                                                OMAHA              NE         68107                  6004               Various                                                                                                $4.00
ASHLEY KREBS                   740 S 1ST E                                                   PRESTON            ID         83263                  6002               Various                                                                                                $1.26
ASHLEY KRUEGER                 412 LAKE ST                                                   PARDEEVILLE        WI         53954                  6004               Various                                                                                                $1.00
ASHLEY L. PELL                 602 N BROADWAY ST                                             ARNOLD             NE         69120                  6002               Various                                                                                                $0.85
ASHLEY LAMB                    1175 CO RD # 533                                              POPLAR BLUFF       MO         63901                  6002               Various                                                                                                $5.18
ASHLEY LEAHY                   17972 182ND AVE                                               JIM FALLS          WI         54748                  6004               Various                                                                                               $16.96
ASHLEY LEE                     13474 LOHRE RD                                                WAUBAY             SD         57273                  6002               Various                                                                                                $8.22
ASHLEY LIEBERGEN               208 CHICAGO ST                                                OCONTO             WI         54153                  6002               Various                                                                                                $5.73
ASHLEY LIEBERS                 4843 HILLSIDE                                                 LINCOLN            NE         68506                  6004               Various                                                                                                $2.00
ASHLEY LOVELY                  402 CORBETT AVE                                               LADYSMITH          WI         54848                  6004               Various                                                                                                $2.00

ASHLEY LYNN                    2511 COUNTRY CT                                               WISCONSIN RAPIDS   WI         54494                  6004               Various                                                                                             $7.70
ASHLEY M CAMPO                 114 E RANDOLPH ST                                             WAUSAU             WI         54401                  6002               Various                                                                                            $10.00
ASHLEY M KUHN                  3603 CHERRYVALE CIR                                           APPLETON           WI         54913                  6002               Various                                                                                             $2.55
ASHLEY M MEGAL                 4909 LIME LAKE ROAD                                           AMHERST            WI         54406                  8020               Various                                                                                         $1,050.00
ASHLEY MARIE CITTERMAN         817 S 10TH ST                                                 ABERDEEN           SD         57401                  6002               Various                                                                                             $1.53
ASHLEY MARTIN                  W3240SCHMITZ RD                                               MOUNT CALVARY      WI         53057                  6004               Various                                                                                            $24.44




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                                                                                                                                                      Last 4 Digits of     Date Debt was
                                                                                                                                                         Account         Incurred, Basis for
              Creditor Name                Address1                Address2           Address3             City        State           Zip   Country     Number                Claim                                                                             Total Claim
ASHLEY MCBRIDE                 324 N ELIZABETH AVE                                                 JEFFERSON        WI         53549                 6004                Various                                                                                                $2.00
ASHLEY MCCLUSKEY               11375 EVANS ST                 APT 1                                OMAHA            NE         68164                 6004                Various                                                                                                $4.00
ASHLEY MEDINA                  403 HIGHWAY 35S # 44                                                HUDSON           WI         54016                 6002                Various                                                                                                $2.77
ASHLEY MENNIG                  W8823 SPRINGHILL DRIVE                                              BEAVER DAM       WI         53916                 6004                Various                                                                                               $23.00
ASHLEY MOORE                   1545 GARRET LN APT 209                                              LINCOLN          NE         68512                 6002                Various                                                                                                $7.15
ASHLEY MOSHER                  1000 COPELAND AVE                                                   LA CROSSE        WI         54603                 6002                Various                                                                                               $16.53
ASHLEY MURSCHEL                450 FAIRFIELD AVE S            UNIT 20                              RUSH CITY        MN         55069                 6004                Various                                                                                                $3.00
ASHLEY N BURTON                29041 W STATE HIGHWAY EE                                            NEW HAMPTON      MO         64471                 6002                Various                                                                                                $2.90
ASHLEY N CALLAHAN              2496 JADE ST                                                        MORA             MN         55051                 6002                Various                                                                                                $2.08
ASHLEY N HATHCOCK              301 SBOOTH ST                                                       JAMESPORT        MO         64648                 6002                Various                                                                                                $1.59
ASHLEY N. BLADL                719 DECLARK ST                                                      BEAVER DAM       WI         53916                 6002                Various                                                                                                $3.45
ASHLEY NETT                    135 NORTH PETERS AVE #3                                             FOND DU LAC      WI         54935                 6004                Various                                                                                                $5.00
ASHLEY NEUBAUER                1021 LUCERNE DR                APT. 3A                              MENASHA          WI         54952                 6004                Various                                                                                                $3.98
                               5521 SOUTH JORDAN CANAL
ASHLEY NEWSOME                 ROAD                                                                SALT LAKE CITY   UT         84129                  6004               Various                                                                                               $17.00
ASHLEY NIES                    3961 CTY RD PP                                                      DEPERE           WI         54115                  6002               Various                                                                                                $1.15
ASHLEY OMANS                   634 PERSHING AVE                                                    POCATELLO        ID         83201                  6002               Various                                                                                                $6.36
ASHLEY OTTESON                 W6581 RAMSEY RD                                                     ARLINGTON        WI         53911                  6004               Various                                                                                               $73.00
ASHLEY PETERSON                2917 1/2 SANTA FE TRAIL                                             RACINE           WI         53404                  6004               Various                                                                                                $2.16
ASHLEY PFUND                   207 KOHLER ST                                                       WHITELAW         WI         54247                  6004               Various                                                                                               $25.00
ASHLEY PIKE                    739 VALLEY VIEW CT NE                                               BYRON            MN         55920                  6002               Various                                                                                                $5.21
ASHLEY POTTER                  1710 WEST 7TH STREET           APT B                                WINONA           MN         55987                  6004               Various                                                                                                $3.00
ASHLEY PYNAKER                 1512 41ST AVE UPPER                                                 KENOSHA          WI         53144                  6004               Various                                                                                               $31.85
ASHLEY R SCHILAWSKI            2789 W KENLAR CIR                                                   GREEN BAY        WI         54313                  6002               Various                                                                                                $9.42
ASHLEY RAETHER                 855 SMITH ST APT D                                                  WAUPACA          WI         54981                  6002               Various                                                                                                $4.77
ASHLEY REW                     26828 535TH ST                                                      PINE ISLAND      MN         55963                  6002               Various                                                                                                $1.45
ASHLEY RICKERT                 508 NORTH ST                                                        KIEL             WI         53042                  6004               Various                                                                                               $27.20
ASHLEY SCHEFCIK                6825 COLFAX APT.25                                                  LINCOLN          NE         68501                  6004               Various                                                                                                $2.00
ASHLEY SCHLUTER                309 LOUVA DRIVE                                                     MANKATO          MN         56001                  6004               Various                                                                                                $3.00
ASHLEY SCHMIDT                 310 W BLACKHAWK DR - #8                                             FORT ATKINSON    WI         53538                  6004               Various                                                                                                $3.00
                               W220 N 1285 SPRING DALE ROAD
ASHLEY SCHULDES                APT 202                                                             WAUKESHA         WI         53186                  6004               Various                                                                                               $50.00
ASHLEY SHARBONO                922 YELLOWSTONE RIVER RD                                            BILLINGS         MT         59105                  6002               Various                                                                                                $0.85
ASHLEY SHUM                    6235 HOLDREGE ST C 2                                                LINCOLN          NE         68505                  6004               Various                                                                                                $2.00
ASHLEY SKENANDORE              1000 PLANK RD 2                                                     MENASHA          WI         54952                  6004               Various                                                                                                $6.00
ASHLEY SMITH                   6819 S 28TH STREET                                                  OMAHA            NE         68107                  6004               Various                                                                                                $4.00
ASHLEY STAHL                   316 EBERT AVE                                                       ALDEN            MN         56009                  6004               Various                                                                                                $3.00
ASHLEY STOLL                   N1661 MADISON ST                                                    MANCHESTER       WI         53946                  6004               Various                                                                                               $15.00
ASHLEY STREED                  121 WILSON AVENUE NE                                                SAINT CLOUD      MN         56304                  6002               Various                                                                                                $5.00
ASHLEY TAFT                    209 DEER VALLEY RD #8                                               MADISON          WI         53713                  6004               Various                                                                                                $2.00
ASHLEY TAYLOR                  820 MONROE #14                                                      OGDEN            UT         84404                  6004               Various                                                                                                $1.00
ASHLEY THOMPSON                506 8TH ST N                                                        NORTHWOOD        IA         50459                  6004               Various                                                                                               $10.62
ASHLEY TIBBETS                 N5857 CTY RD KK                                                     PLAINFIELD       WI         54966                  6004               Various                                                                                                $5.00
ASHLEY TIFT                    120 W 3RD ST                                                        DULUTH           MN         55806                  6004               Various                                                                                                $3.00
ASHLEY TINDEL                  9923 N NORTHVIEW LN                                                 SPOKANE          WA         99208                  6004               Various                                                                                               $62.49
ASHLEY TOOMBS                  3625 JERSEY LANE                                                    BILLINGS         MT         59101                  6004               Various                                                                                                $8.00
ASHLEY TRAPPE                  N3648 STATE HWY59                                                   MONROE           WI         53566                  6004               Various                                                                                                $1.00
ASHLEY VAN DYKE                1725 ROOSEVELT ST                                                   LITTLE CHUTE     WI         54140                  6004               Various                                                                                                $7.03
ASHLEY VANBUSKIRK              632 WARSAW ST                                                       MENASHA          WI         54952                  6002               Various                                                                                                $6.66
ASHLEY VANDERVORT              262 W MAIN ST                                                       EVANSVILLE       WI         53536                  6004               Various                                                                                               $10.00
ASHLEY VAZQUEZ                 2951 N 4000 E                                                       HANSEN           ID         83334                  6004               Various                                                                                                $3.65
ASHLEY VOLLBRACHT              833 S 3RD ST                                                        MONMOUTH         IL         61462                  6002               Various                                                                                                $2.03
ASHLEY VOSS                    W6611 CTY RD B                                                      BURNETT          WI         53922                  6002               Various                                                                                                $9.07
ASHLEY WADE                    1501 PARK AVE                  UNIT 803                             OMAHA            NE         68105                  6004               Various                                                                                                $2.00




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                                                                            Schedule E/F: Part 2 - Creditors With Nonpriority Unsecured Claims




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                                                                                                                                                     Last 4 Digits of     Date Debt was
                                                                                                                                                        Account         Incurred, Basis for
              Creditor Name                Address1                 Address2        Address3             City          State         Zip    Country     Number                Claim                                                                             Total Claim
ASHLEY WALTER                  226 N LINCOLN ST                                                  WEST POINT         NE         68788                6002                Various                                                                                             $4.88
ASHLEY WALTHER                 7832-7TH AVE                                                      KENO               WI         53143                6004                Various                                                                                            $24.65
ASHLEY WATERS                  915 REINHOLD ST                                                   WATERTOWN          WI         53094                6004                Various                                                                                             $1.00
ASHLEY WERRLINE                W5759 MINDS RD                                                    MONROE             WI         53566                6004                Various                                                                                            $23.00
ASHLEY WEST                    6995 W 3100TH S                                                   WEST VALLEY        UT         84128                6002                Various                                                                                             $8.52
ASHLEY WILLIS                  506 8TH ST N                                                      NORTHWOOD          IA         50459                6004                Various                                                                                            $13.00
ASHLEY WILSON                  841 WATER ST                  APT 1                               SAUK CITY          WI         53583                6004                Various                                                                                             $2.00
ASHLEY WOLFF                   246 E CHURCH ST                                                   JEFFERSON          WI         53549                6002                Various                                                                                            $28.19
ASHLEY WRIEDT                  915 HARVEY ST                                                     GREEN BAY          WI         54302                6004                Various                                                                                            $27.40
ASHLEY ZWEIFEL                 435 N 13TH                                                        POCATELLO          ID         83201                6004                Various                                                                                             $5.97
ASHLIE ANZALDI                 1635 GROVE AVE                                                    RACINE             WI         53405                6004                Various                                                                                            $29.00
ASHLIE BOND                    1610 ELM ST                                                       BELLEVUE           NE         68005                6004                Various                                                                                            $20.00
ASHLIE COFFEY                  P.O. BOX 412                                                      OSAGE              WY         82723                6002                Various                                                                                             $7.75
ASHLIE N MCNEFF                1849 EASTBORNE DR                                                 VIRGINIA BEACH     VA         23454                6002                Various                                                                                             $6.41
ASHLIE PARKS                   418 7TH ST SE APT 2                                               OELWEIN            IA         50662                6002                Various                                                                                             $3.07
ASHLIE WEIDNER                 34 MERGENETHALER                                                  CLANCY             MT         59634                6004                Various                                                                                             $3.00
ASHLY E FAUVER                 1204 6TH ST                                                       MENOMINEE          MI         49858                6002                Various                                                                                             $3.42
ASHLYN BURDICK                 109 CIRCLE DR                                                     AFTON              WY         83110                6002                Various                                                                                             $8.22
ASHLYN R GREEN                 N4239 LAIRD RD                                                    BLACK CREEK        WI         54106                6002                Various                                                                                             $1.59
ASHTIN COTTER                  254 3RD ST. NE                                                    BLOOMING PRAIRIE   MN         55917                6004                Various                                                                                             $6.00
ASHTON ARCHER                  120 OAK ST APT 15                                                 PESHTIGO           WI         54157                6004                Various                                                                                             $5.02
ASHTON BARRICK                 310 MENOMONIE ST                                                  ELK MOUND          WI         54739                6004                Various                                                                                            $30.00
ASHTON E ANDERSEN              3375 WYLIE DR TRLR 10                                             HELENA             MT         59602                6002                Various                                                                                             $3.07
ASHTON J SCHULZ                2425 CARLETON AVE                                                 APPLETON           WI         54915                6002                Various                                                                                             $9.07
ASHTON NELSON                  343 E GEORGE ST               APT 7                               IVANHOE            MN         56142                6004                Various                                                                                             $3.00
ASHTON SHEIL                   305 S TAYLOR ST                                                   MOUNT AYR          IA         50854                6002                Various                                                                                             $1.59
ASHTON ZWITTER                 416 W PARKWAY BLVD                                                APPLETON           WI         54911                6002                Various                                                                                             $9.45
ASHVINI ACHARYA                512 SOUTH 201ST AVE                                               ELKHORN            NE         68022                6004                Various                                                                                             $4.00
ASHWAUBENON/ VILLAGE OF        2155 HOLMGREN WAY                                                 GREEN BAY          WI         54304-4605           7560                Various                                                                                            $25.00
ASIA CHEVEZ                    965 VELP AVE                                                      GREEN BAY          WI         54303                6004                Various                                                                                             $1.00
ASIA NARED                     6224 VANE STREET                                                  OMAHA              NE         68152                6004                Various                                                                                            $17.96
ASICS AMERICA CORPORATION      PO BOX 827483                                                     PHILADELPHIA       PA         19182-7483           6832                Various                                                                                       $212,315.10
ASIF RIAZ                      N64W24518 MAIN ST             AP 7                                SUSSEX             WI         53089                6004                Various                                                                                            $15.00
ASIYADETH JIMENEZ              602 E EVERETT ST                                                  ONEILL             NE         68763                6002                Various                                                                                             $2.33
ASMA ALKILANI                  2115 CHARDONNAY LANE N                                            ROCHESTER          MN         55901                6004                Various                                                                                            $28.00
ASO L L C                      PO BOX 404906                                                     ATLANTA            GA         30384-4906           3969                Various                                                                                        $75,678.60
ASON EDWARDS                   1216 8TH ST W                                                     KALISPELL          MT         59901                6002                Various                                                                                             $1.10

ASPEN AVERILL                  831 TAMMARACK DRIVE APT 202                                       LEWISTON           ID         83501                  6004              Various                                                                                            $56.88
ASPEN CARROLL                  1029 OHIO                                                         OSHKOSH            WI         54902                  6004              Various                                                                                            $25.00
ASPEN KRCMA                    10311 NR GRAZING LN                                               VALDERS            WI         54245                  6002              Various                                                                                             $2.60
ASPEN PRODUCTS INCORPORATED    PO BOX 2298                                                       SHAWNEE MISSION    KS         66201-0000             7605              Various                                                                                       $101,004.85
                                                             1006 CROCKER
ASPIRE BRANDS LLC              ATTN ACCOUNTS RECEIVABLE      ROAD                                WESTLAKE           OH         44145                 9124               Various                                                                                        $23,125.62
ASRAA HUSSAIN                  2820 S STREET                                                     LINCOLN            NE         68503                 6004               Various                                                                                             $2.00
ASTEC ASPHALT INCORPORATED     4270 TOMAN ROAD                                                   BROWN CITY         MI         48416                 5988               Various                                                                                        $95,823.04
ASTRO HYDRAULICS               1130 ASHWAUBENON STREET                                           GREEN BAY          WI         54304                                    Various                                                                                         $1,013.29
                                                             648 GRASSMERE
ASURION SERVICES LLC SBT       ATTN AR                       PARK STE 300                        NASHVILLE          TN         37211-3667            3551               Various                                                                                       $238,062.38
AT & S INCORPORATED            6900 EAST 39TH STREET                                             KANSAS CITY        MO         64129                 3878               Various                                                                                          $172.56
ATEB INCORPORATED              PO BOX 890231                                                     CHARLOTTE          NC         28289-0231            9664               Various                                                                                       $107,899.50
ATHAN BELL                     8220 S 2420TH E                                                   SOUTH WEBER        UT         84405                 6002               Various                                                                                             $1.04
ATHAN MAGNANT                  214 MOUNTAIN VIEW DR                                              SANTA MARIA        CA         93455                 6002               Various                                                                                             $8.85
ATHAN TROSKA                   1629 30TH ST                                                      BROOKINGS          SD         57006                 6002               Various                                                                                             $1.21




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                                                                                                                                                                                               Contingent


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                                                                                                                                                      Last 4 Digits of     Date Debt was
                                                                                                                                                         Account         Incurred, Basis for
             Creditor Name                   Address1              Address2          Address3             City          State         Zip    Country     Number                Claim                                                                             Total Claim
ATHENA BLUEMEL                    248 N 200TH W                                                   TREMONTON          UT         84337                6002                Various                                                                                             $1.95
ATHENA SMITH                      408 GROVER ST                                                   OMAHA              NE         68108                6004                Various                                                                                             $4.00
ATHENA WRIGHT                     372 MICHAELS RD                                                 HINSDALE           MA         01235                6002                Various                                                                                             $1.75
ATINA WOLF                        4681 HILLTOP RD                                                 RHINELANDER        WI         54501                6004                Various                                                                                             $1.00
ATKINS NUTRITIONALS INCORPORAT    PO BOX 9402                                                     UNIONDALE          NY         11555-9402           8684                Various                                                                                        $21,594.88
ATLANTIC BOTTLING COMPANY         PO BOX 110                                                      ATLANTIC           IA         50022                0045                Various                                                                                        $19,327.41
ATLANTIC INCORPORATED             PO BOX 2399                                                     SANTE FE SPRINGS   CA         90670-0000           7817                Various                                                                                        $17,072.88
ATLAS ARMSTRONG                   1362 W. GORDON AVE.                                             LAYTON             UT         84041                6004                Various                                                                                            $24.00
                                  C/O RTG PROPERTY            808 SW ALDER
ATLAS SHOPKO OWNER LLC            MANAGEMENT                  STREET SUITE 200                    PORTLAND           OR         97205                 1295               Various                                                                                       $123,982.22
                                                                                                                                                                         12/12/2018 -
ATMOS ENERGY/790311               PO BOX 790311                                                   ST LOUIS           MO         63179-0311            4906               1/11/2019                                                                                       $1,958.12
ATONIA KAMARA                     117 DIVISION ST                                                 NEENAH             WI         54956                 6004               Various                                                                                            $44.00
ATSON TAYLOR                      22 9TH ST E                                                     KALISPELL          MT         59901                 6002               Various                                                                                             $0.82
                                                                                                                                                                         11/14/2018 -
ATTICA UTILITIES                  305 EAST MAIN STREET                                            ATTICA             IN         47918                 2227               12/17/2018                                                                                        $105.00
ATTICUS GAMBLE                    2542 CHAMBERLAIN AVE                                            MADISON            WI         53705                 6004               Various                                                                                             $1.00
ATUAIA FAMILY                     1447 W 4020TH S                                                 WVC                UT         84123                 6002               Various                                                                                             $1.73
AUBREE ALEXANDER                  3725 MARIGOLD CIRCLE                                            MIDDLETON          WI         53562                 6004               Various                                                                                            $25.00
AUBREE ESPARZA                    1203 SUMMIT AVE                                                 RACINE             WI         53404                 6004               Various                                                                                             $1.00
AUBREY BALFOUR                    2145 MIDDLEFIELD RD.                                            BOISE              ID         83704                 6004               Various                                                                                            $10.02
AUBREY HARRIS                     4758 N. MIRTH PL                                                BOISE              ID         83713                 6004               Various                                                                                             $5.00
AUBREY NIEBUHR                    56193 165TH STREET                                              WELLS              MN         56097                 6004               Various                                                                                             $1.31
AUBREY STENERSON                  933 BARLEY CT                                                   POWELL             WY         82435                 6002               Various                                                                                             $8.11
AUBREY TILLER                     111 S CEDAR DR TRLR 29                                          KALISPELL          MT         59901                 6002               Various                                                                                             $1.56
AUBREY VULK                       10798 W CORY ST                                                 BOISE              ID         83704                 6002               Various                                                                                             $0.47
AUBREY WALKER                     201 E BERRY ST                                                  GALLATIN           MO         64640                 6002               Various                                                                                             $6.79
AUBRIE WILLIAMS                   1179 E SKYLINE DR                                               COEUR D ALENE      ID         83814                 6002               Various                                                                                             $3.07
AUBRIE ZOHNER                     PO BOX 1066                                                     FRENCHTOWN         MT         59834                 6004               Various                                                                                             $1.00
AUDRA DATES                       15 PARK VIEW CIRCLE         APT 16                              COLUMBUS           WI         53925                 6004               Various                                                                                             $2.00
AUDRA GONION                      224 IRENE ST                                                    GREEN BAY          WI         54302                 6002               Various                                                                                             $1.37
AUDRA R. PAULSEN                  1044 6TH ST SW                                                  MASON CITY         IA         50401                 6002               Various                                                                                             $4.77
AUDREY ANDERSON                   311 DAWN AVE                                                    ROCKFORD           IL         61107                 6002               Various                                                                                             $6.05
AUDREY ARNESON                    2740 CTY RD C                                                   KRAKOW             WI         54137                 6002               Various                                                                                             $0.47
AUDREY CHUGG                      4366 N 175 W                                                    OGDEN              UT         84414                 6004               Various                                                                                            $12.02
AUDREY CRONKRIGHT                 BOX 125                                                         SIDNAW             MI         49961                 6002               Various                                                                                             $9.40
AUDREY KELLY                      3940 PINE LAKE RS                                               LINCOLN            NE         68516                 6004               Various                                                                                             $4.00
AUDREY KEY                        100 DUBLIN RD APT 2235                                          MANKATO            MN         56001                 6002               Various                                                                                             $5.73
AUDREY MCCOY                      500 FRANKLIN ST N APT 117                                       GLENWOOD           MN         56334                 6002               Various                                                                                            $67.41
AUDREY MYLER                      3856 HAWTHORNE RD                                               POCATELLO          ID         83201                 6002               Various                                                                                             $0.30
AUDREY OCHS                       261 FISH HATCHERY RD                                            HAMILTON           MT         59840                 6004               Various                                                                                            $13.50
AUDREY OTTO                       W5700 HEMLOCK DR                                                MONDOVI            WI         54755                 6002               Various                                                                                             $3.23
AUDREY POWERS                     1310 ADAMS AVE              APT 308                             FAIRMONT           MN         56031                 6004               Various                                                                                             $1.64
AUDREY RISSE                      330 W PARK RIDGE AVE                                            APPLETON           WI         54911                 6002               Various                                                                                             $2.27
AUDREY ROBERTS                    BOX 854                                                         DILLON             MT         59725                 6002               Various                                                                                             $4.16
AUDREY RORRER                     521 N 19TH STREET                                               ESCANABA           MI         49829                 6004               Various                                                                                             $5.00
AUDREY SHARP                      1917 67TH ST NW                                                 ROCHESTER          MN         55901                 6002               Various                                                                                             $4.55
AUDREY SHERLINE                   484 BUCHANAN STREET                                             TWIN FALLS         ID         83301                 6004               Various                                                                                            $40.00
AUDREY SHERMAN                    23644 HALL RD                                                   CHESHIRE           OR         97419                 6004               Various                                                                                            $10.00
AUDREY TAPPENDORF                 1541A MAIN AVE                                                  SHEBOYGAN          WI         53083                 6004               Various                                                                                            $10.00
AUDREY THURN                      909 B ARBUTIS ST                                                RHINELANDER        WI         54501                 6002               Various                                                                                             $7.84
AUDREY WHITEMAN                   30TH ST. W #26                                                  BILLINGS           MT         59102                 6004               Various                                                                                             $2.00
AUDREY WOHLER                     812 A SEVENTH STREET                                            KIEL               WI         53042                 6004               Various                                                                                            $20.00
AUDREY ZENDER                     1000 2ND STREET SOUTH                                           SAINT JAMES        MN         56081                 6002               Various                                                                                            $30.00




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                                                                                                                                                      Account         Incurred, Basis for
              Creditor Name                 Address1                Address2      Address3             City         State           Zip   Country     Number                Claim                                                                             Total Claim
AUDRIANNA TANKHAMVANG           839 44TH AVE NW                                                ROCHESTER         MN         55901                 6002                Various                                                                                             $9.78
AUDUBON COUNTY EXTENSION        608 MARKET STREET                                              AUDUBON           IA         50025                 6666                Various                                                                                             $1.60
AUGUST HARTIGAN                 2009 SLEEPY HOLLOW ROAD                                        JUNCTION CITY     WI         54443                 6004                Various                                                                                            $10.00
AUGUST KRUGER                   5101 LINDEN PARKWAY                                            MCFARLAND         WI         53558                 6004                Various                                                                                            $20.00
AUGUST OMAN                     1020 N 43RD AVE E                                              DULUTH            MN         55804                 6004                Various                                                                                             $3.00
AUGUST SWENSON                  W8477 HWY 86                                                   TOMAHAWK          WI         54487                 6002                Various                                                                                             $9.74
AUGUST TAHLIER                  2234 N 75TH CT                                                 ELMWOOD PARK      IL         60707                 6002                Various                                                                                          $123.19
AUGUST TERRI BAHN               212 7TH AVE SE APT 1                                           ABERDEEN          SD         57401                 6002                Various                                                                                             $6.68
AUGUST ZARLING                  25 N 12TH ST APT 116                                           CLINTONVILLE      WI         54929                 6002                Various                                                                                             $9.10
AUGUSTINE TATUS                 905 TWIN PINES DRIVE                                           MADISON           WI         53704                 6004                Various                                                                                            $10.00
AULDEY TOYS OF NORTH AMERICA    2100 E GRAND AVE SUITE 500                                     EL SEGUNDO        CA         90245                 4660                Various                                                                                        $52,831.64
AUNABELLA CHRISTENSON           100 CONNIE LANE                                                EAGLE LAKE        MN         56024                 6002                Various                                                                                             $5.38
AURORA GAYTAN                   210 N LOCUST AVE APT 3                                         NEW HAMPTON       IA         50659                 6002                Various                                                                                             $9.01
AURORA M HUBBS                  PO BOX 922                                                     UPTON             WY         82730                 6002                Various                                                                                             $9.01
AURORA PASSMAN-SMITH            1238 W CENTER ST APT 2                                         ROCHESTER         MN         55902                 6002                Various                                                                                             $8.47
AURORA SULLIVAN                 3418 E LEXINGTON DR                                            APPLETON          WI         54915                 6004                Various                                                                                             $2.00
AURORA TORRES                   106 S YORK AVE                                                 MASON CITY        IA         50401                 6002                Various                                                                                             $2.55
AURORA VALENZUELA               406 W 4TH ST                                                   WAKEFIELD         NE         68784                 6002                Various                                                                                             $6.71
AUSTEN GREENIER                 407 1/2 S MARCELLA ST                                          KIMBERLY          WI         54136                 6004                Various                                                                                             $3.00
AUSTEN THOMPSON                 520 BOYD STREET                                                OSHKOSH           WI         54901                 6004                Various                                                                                             $6.00
AUSTIN A FRIBANCE               PO BOX 97                                                      AMHERST JUNCTIO   WI         54407                 6002                Various                                                                                             $9.21
AUSTIN ABILDSKOV                1077 WEST 1200 NORTH                                           OREM              UT         84057                 6004                Various                                                                                             $1.00
AUSTIN ANDERSON                 10913 W. SIXTH AVE. # G331                                     AIRWAY HEIGHTS    WA         99001                 6004                Various                                                                                            $10.00
AUSTIN ASHTON                   10785 W 10400TH N                                              THATCHER          UT         84337                 6002                Various                                                                                             $2.71
AUSTIN BALABAN                  2206 11TH AVE SE                                               ROCHESTER         MN         55905                 6004                Various                                                                                             $3.00
AUSTIN BALOG                    514 1ST AVE                                                    EAU CLAIRE        WI         54701                 6004                Various                                                                                             $3.00
AUSTIN BARANOWSKI               128 1/2 N 5TH AVE             C/O JACQUELINE                   WAUSAU            WI         54401                 6004                Various                                                                                             $1.00
AUSTIN BRUENING                 314 S QUINCY                                                   GREEN BAY         WI         54302                 6004                Various                                                                                             $1.00
AUSTIN CASE                     1121 RIVERDRIVE                                                SIOUX CITY        IA         51109                 6004                Various                                                                                            $16.88
AUSTIN CHEENEY                  7153 IL ROUTE 73 N                                             LENA              IL         61048                 6004                Various                                                                                            $14.98
                                1529 COLUMBIA PARK TRAIL APT.
AUSTIN COOPER                   C224                                                           RICHLAND          WA         99352                  6004               Various                                                                                                $2.00
AUSTIN CORNELISSEN              2009 SCHOOL RD.                                                GREENLEAF         WI         54126                  6004               Various                                                                                                $5.96
AUSTIN DELAPLANE                284 MADRONA ST APT 2                                           TWIN FALLS        ID         83301                  6004               Various                                                                                               $20.00
AUSTIN FUCHS                    N2482 ROCK RIVER RD                                            FORT ATKINSON     WI         53538                  6004               Various                                                                                                $3.00
AUSTIN GAGNE                    402 DELTA AVE                                                  GLADSTONE         MI         49837                  6002               Various                                                                                                $8.44
AUSTIN GAMEZ                    953 S 41ST STREET                                              MANITOWOC         WI         54220                  6004               Various                                                                                                $2.00
AUSTIN GANN                     13119 BROOKSIDE DRIVE                                          BELLEVUE          NE         68123                  6004               Various                                                                                               $44.00
AUSTIN GEHM                     406 3RD ST                                                     DE SMET           SD         57231                  6004               Various                                                                                               $23.00
AUSTIN GIBBONS                  131 HIGHWAY 32                                                 LOVELL            WY         82431                  6002               Various                                                                                               $13.45
AUSTIN GOWER                    2129 GREEN ST                                                  RACINE            WI         53402                  6004               Various                                                                                               $19.99
AUSTIN HIKES                    6917 SPRING GROVE CT                                           MIDDLETON         WI         53562                  6004               Various                                                                                                $3.00
AUSTIN JACKSON                  834 S A ST                                                     MONMOUTH          IL         61462                  6002               Various                                                                                                $6.41
AUSTIN JOHNSON                  619 N MOONLIGHT DR                                             ALTOONA           WI         54720                  6004               Various                                                                                               $20.00
AUSTIN JONES                    220 LINCOLN ST                                                 KIMBERLY          ID         83341                  6004               Various                                                                                               $10.00
                                                              SEE MEMO BEFORE
                                                              ANY
AUSTIN KING                     308A WEST STREET              ORDERS*********                  STEVENS POINT     WI         54481                  6004               Various                                                                                                $1.00
AUSTIN KRAMER                   359 N ROYAL TROON DR                                           NORTH SIOUX CIT   SD         57049                  6002               Various                                                                                                $3.95
AUSTIN LINDSEY                  4515 18TH ST                                                   KENOSHA           WI         53144                  6004               Various                                                                                                $1.00
AUSTIN MADSEN                   424 W CHERRY LANE             # 132                            MERIDIAN          ID         83642                  6004               Various                                                                                                $3.65
AUSTIN MEZA                     2332 CARMEN AVE               APT 7H                           SHEBOYGAN         WI         53081                  6004               Various                                                                                                $1.00
AUSTIN MILLER                   2101 BLUE HERON CT                                             STOUGHTON         WI         53589                  6004               Various                                                                                               $18.00
AUSTIN MONDAY                   1216 MULLER RD.                                                MARSHALL          WI         53559                  6004               Various                                                                                                $3.00




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                                                                                                                                                              Account         Incurred, Basis for
              Creditor Name                      Address1              Address2          Address3             City          State           Zip   Country     Number                Claim                                                                             Total Claim
AUSTIN OSHEIM                        1609A ONTARIO ST                                                 OSHKOSH            WI         54901                 6004                Various                                                                                                $3.00
AUSTIN P. PAPE                       4710 18TH AVE NW APT 5                                           ROCHESTER          MN         55901                 6002                Various                                                                                                $8.11
AUSTIN PEREZ                         3606 SO 4240 W                APT H4                             WEST VALLEY        UT         84120                 6004                Various                                                                                               $36.00
AUSTIN PIERCE                        18 REBECCA DRIVE                                                 LOUISIANA          MO         63353                 6004                Various                                                                                               $68.16
AUSTIN POWELL                        46147 227TH ST                                                   RUTLAND            SD         57057                 6002                Various                                                                                                $2.96
AUSTIN PRICE                         N4294 ALPINE VILLAGE LN                                          CAMBRIDGE          WI         53523                 6002                Various                                                                                                $4.11
AUSTIN REED                          4100 N GILLETT ST                                                APPLETON           WI         54913                 6002                Various                                                                                                $2.05
AUSTIN RUDE                          1853 BAIRD STREET                                                MADISON            WI         53713                 6004                Various                                                                                               $10.02
AUSTIN SAINIO                        HC 1 BOX 479                                                     FAIRDEALING        MO         63939                 6002                Various                                                                                                $6.30
AUSTIN SCHULTZ                       615 ROOSEVELT ST                                                 WAUPUN             WI         53963                 6004                Various                                                                                                $3.00
AUSTIN SCOTT                         240 N BELLIN RD                                                  IDAHO FALLS        ID         83402                 6002                Various                                                                                                $4.41
AUSTIN SUING                         308 N FELTS RD UNIT B                                            SPOKANE            WA         99206                 6004                Various                                                                                               $30.00
AUSTIN SUNDEEN                       PO BOX 335                                                       FORT PECK          MT         59223                 6002                Various                                                                                                $6.55
AUSTIN T FORTH                       PO BOX 497                                                       SNOHOMISH          WA         98291                 6002                Various                                                                                                $1.56
AUSTIN ULLMAN                        2124 S 9 ST                                                      MANITOWOC          WI         54220                 6004                Various                                                                                               $10.00
AUSTIN VANDERMAUSE                   N3074 COUNTY C                                                   KEWAUNEE           WI         54216                 6002                Various                                                                                                $2.33
AUSTIN WAGGONER                      201 SOUTH 3RD STREET                                             CAMERON            WI         54822                 6004                Various                                                                                               $10.00

AUSTIN WALKER                        3256 HEMLOCK TRAIL                                               WISCONSIN RAPIDS   WI         54495                  6004               Various                                                                                               $28.60
AUSTON MCMAHON                       311 EAST CARROLL                                                 PORTAGE            WI         53901                  6004               Various                                                                                                $5.00
AUSTYN CHAPPELL                      3501 N BLUE RIDGER DR                                            APPLETON           WI         54914                  6002               Various                                                                                                $9.01

AUTHENTIC SPORTS GEAR LLC (CHU       2101 EAST COAST HIGHWAY 200                                      CORONA DEL MAR     CA         92625                  4874               Various                                                                                               $60.00
AUTHOR K GRENSHAW                    848 LINDEN DR                                                    GREEN BAY          WI         54311                  6002               Various                                                                                                $7.78
AUTOMATIC ENTRANCES OF WISCONSIN,
INC.                                 1712 PARAMOUNT CT.                                               WAUKESHA           WI         53186                                     Various                                                                                        $13,837.65
AUTUM THOMPSON                       PO BOX 88                                                        FORBES             ND         58439                  6002               Various                                                                                             $9.37
AUTUMN ARCHULETA                     700 W GATCHELL ST                                                BUFFALO            WY         82834                  6002               Various                                                                                             $1.84
AUTUMN BARNEY                        267 TAYLOR ST                                                    TWIN FALLS         ID         83301                  6004               Various                                                                                            $23.00
AUTUMN BARTLETT                      5439 MARY LAKE ROAD                                              WAUNAKEE           WI         53597                  6004               Various                                                                                             $2.00
AUTUMN CRAFT                         5046 S 86TH PRKW              APT#1                              OMAHA              NE         68127                  6004               Various                                                                                             $4.00
AUTUMN DILLER                        PO BOX 558                                                       PABLO              MT         59855                  6002               Various                                                                                             $3.21
AUTUMN EDDINGS                       965 PLACER CRT                                                   HAYDEN             ID         83835                  6004               Various                                                                                            $15.01
AUTUMN ENNIS                         PO BOX 282                                                       FROMBERG           MT         59029                  6002               Various                                                                                             $8.90
AUTUMN GINKE                         1519 OSHKOSH AVE                                                 OSHKOSH            WI         54902                  6004               Various                                                                                            $34.00
AUTUMN H TRICE                       965 GROVE ST                                                     MENASHA            WI         54952                  6002               Various                                                                                             $1.56
AUTUMN HELGESON                      13135 35TH AVE                                                   CHIPPEWA FALLS     WI         54729                  6002               Various                                                                                             $7.70
AUTUMN JENSEN                        6219 HWY 51 S 80                                                 JANESVILLE         WI         53546                  6004               Various                                                                                             $1.00
AUTUMN JONES                         128 THIRD AVE.                                                   PULASKI            WI         54162                  6004               Various                                                                                            $10.00
AUTUMN LAPIN                         N5815 W. OLD ARGYLE RD.                                          MONROE             WI         53566                  6004               Various                                                                                             $2.00
AUTUMN LARSEN                        304 COLUMBIAN BLVD                                               ARMSTRONG          IA         50514                  6004               Various                                                                                             $4.00
AUTUMN METOXEN                       2417 W 5TH ST #E                                                 DULUTH             MN         55806                  6004               Various                                                                                             $3.00
AUTUMN N RETFORD                     181 1/2 1ST ST                                                   IDAHO FALLS        ID         83401                  6002               Various                                                                                             $1.75
AUTUMN PAYNES                        910 PARK VIEW DRIVE                                              SUN PRAIRIE        WI         53590                  6004               Various                                                                                             $5.00
AUTUMN PETERS                        429 GREENWOOD                                                    BILLINGS           MT         59101                  6004               Various                                                                                            $12.00
AUTUMN STEES                         W10107 500TH AVE                                                 HAGER CITY         WI         54014                  6002               Various                                                                                             $4.33
AUTUMN SULENTIC                      3369 W ST                                                        OMAHA              NE         68107                  6004               Various                                                                                             $4.00
AUTUMN WILSON                        1227 S 75TH AVE #B                                               YAKIMA             WA         98908                  6004               Various                                                                                          $224.97
AUTUMN WORRALL                       421 ALMERON ST                                                   EVANSVILLE         WI         53536                  6004               Various                                                                                            $25.00
AUTUMNROSE LAYTON                    1805 JOSLYN ST TRLR 12                                           HELENA             MT         59601                  6002               Various                                                                                             $7.12
AVA BENASH                           N9110 DOHM DRIVE                                                 BELLEVILLE         WI         53508                  6004               Various                                                                                            $61.00
AVA BEYES                            9613 MARKET ST BOX # 93                                          KEENSBURG          IL         62852                  6002               Various                                                                                             $2.93
AVA FLAMENCO                         1407 E DAKOTA AVE                                                NAMPA              ID         83686                  6004               Various                                                                                             $3.65
AVA HAFEMAN                          1012 SOUTH WESTWIND DRIVE                                        APPLETON           WI         54914                  6004               Various                                                                                             $7.00




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                                                                                                                                                                                             Contingent


                                                                                                                                                                                                                         Disputed
                                                                                                                                                    Last 4 Digits of     Date Debt was
                                                                                                                                                       Account         Incurred, Basis for
              Creditor Name                  Address1               Address2         Address3            City         State         Zip    Country     Number                Claim                                                                             Total Claim
AVA HELLENBRAND                   1119 LEWELLEN ST                                                MARSHALL         WI         53559                6004                Various                                                                                             $2.00
AVALARA INCORPORATED              DEPT CH 16781                                                   PALATINE         IL         60055-6781           5499                Various                                                                                          $259.53
AVANELLE E PARISH                 390 BELLVUE AVE                                                 LANDER           WY         82520                6002                Various                                                                                             $9.26
AVANTI LINENS                     234 MOONACHIE ROAD                                              MOONACHIE        NJ         07074-0000           9499                Various                                                                                         $2,286.73
AVECIA JAMES                      125 N WALBRIDGE AVE                                             MADISON          WI         53714                6004                Various                                                                                             $1.00
AVENDT FAMILY                     406 HURON ST                                                    HOUGHTON         MI         49931                6002                Various                                                                                             $5.23
AVERA MCKENNAN HOSPITAL           400 PARK AVENUE                                                 GREGORY          SD         57533                7569                Various                                                                                       $122,191.58
AVERY ANN BRIGHTER                4989 E BEARGRASS CT                                             ATHOL            ID         83801                6002                Various                                                                                             $4.27
AVERY BRADSHAW                    107 W SPRUCE ST #4                                              MISSOULA         MT         59802                6004                Various                                                                                             $6.00
                                  OFFICE PRODUCTS NORTH
AVERY DENNISON                    AMERICA                      PO BOX 96672                       CHICAGO          IL         60693                  0018              Various                                                                                        $57,982.46
                                  15178 COLLECTIONS CENTER
AVERY DENNISON INCORPORATED       DRIVE                                                           CHICAGO          IL         60693                 2701               Various                                                                                         $4,140.00
AVERY MATTHEWS                    177 MAIN ST APT 203                                             MENASHA          WI         54952                 6004               Various                                                                                            $15.00
AVERY OLMSTEAD                    650 SEWELL RD                                                   HELENA           MT         59602                 6002               Various                                                                                             $3.89
AVERY SMITH                       416 S 14TH AVE                                                  YAKIMA           WA         98902                 6004               Various                                                                                            $34.94
AVERY WEST                        4931 SPRUCE ST APT 1                                            LINCOLN          NE         68516                 6002               Various                                                                                             $3.84
AVIANNA MARTINEZ LAYMAN           6611 CONNER DAVIS DRIVE                                         WAUSAU           WI         54401                 6004               Various                                                                                            $60.00
AVID YNOSTROSA                    138 S FORK                                                      FORT WASHAKIE    WY         82514                 6002               Various                                                                                             $9.95

AVIS FREDERICK                    3461 KENOSHA DR NW APT 302                                      ROCHESTER        MN         55901                 6002               Various                                                                                               $7.51
AVIS HENDERSEN                    4522 S 1300TH E                                                 SLC              UT         84117                 6002               Various                                                                                               $4.41
                                                                                                                                                                       12/7/2018 -
AVISTA UTILITIES                  1411 E MISSION AVE                                              SPOKANE          WA         99252                 0000               1/8/2019                                                                                       $17,305.44
AVYNLEE BURTON                    278 COUNTY ROAD 130                                             GROVER           WY         83122                 6002               Various                                                                                             $5.78
A-WASTE                           9672 COLONIAL AVE                                               GRANT            MI         49327                                    Various                                                                                          $460.00
AXEL CROFT                        N301 HOOD ST                                                    STEPHENSON       MI         49887                 6002               Various                                                                                             $7.07
AXEL GOERKE                       7995 S CHASE RD                                                 PULASKI          WI         54162                 6002               Various                                                                                             $2.22
AXEL SAYRE                        19875 15TH AVE                                                  CHIPPEWA FALLS   WI         54729                 6004               Various                                                                                             $1.00
                                                               239 OAK GROVE
AXIUM FOODS                       PO BOX 187                   AVENUE                             SOUTH BELOIT     IL         61080-0187            0868               Various                                                                                        $22,110.87
                                                               804 EASTGATE
AXTMAN LAWN SERVICE               MICHAEL AXTMAN               DRIVE SE                           RUGBY            ND         58368                 5999               Various                                                                                          $130.00
AYAD MOHAMMAD                     5641 SOUTH 31 STREET #21                                        LINCOLN          NE         68516                 6004               Various                                                                                             $2.00
AYDAN DEWILDE                     736 WILSON                                                      MENASHA          WI         54952                 6004               Various                                                                                             $2.00
AYDAN LEOPOLD                     W6703 FRANKLIN RD                                               MONROE           WI         53566                 6002               Various                                                                                             $1.32
AYDEN ZASTROW                     1303 3RD ST                                                     HUDSON           WI         54016                 6004               Various                                                                                             $1.00
AYLA GOMEZ                        12635 ELM PLAZA                                                 OMAHA            NE         68144                 6004               Various                                                                                            $20.00
AYLA SCOLET                       17823 KILDEER RD                                                PRESTON          MN         55965                 6002               Various                                                                                             $2.90
AYUB OSMAN                        1425 WESTERN AVE                                                GREEN BAY        WI         54303                 6004               Various                                                                                            $16.00
AYYUB HARRISON                    11 UNIVERSITY HOUSES         APT. C                             MADISON          WI         53705                 6004               Various                                                                                             $1.00
AZAR WEBB                         4911 CAPITOL AVE                                                OMAHA            NE         68132                 6004               Various                                                                                             $4.00
AZHAR HARRIS                      3031 GATES ST                                                   RACINE           WI         53403                 6004               Various                                                                                             $1.00
AZIA SUMICH                       1138 24 1/4 STREET                                              CAMERON          WI         54822                 6004               Various                                                                                             $2.00
AZZALEA PETERSON                  UPDATE                                                          MARQUETTE        MI         49855                 6002               Various                                                                                             $3.48
B & N SALES                       BOX 575                                                         HUMBOLDT         IA         50548                 6666               Various                                                                                             $3.00
B&D MOTORS INC                    300 S PARK STREET                                               MERRILL          WI         54452                 4788               Various                                                                                          $300.00
BA MCLEOD-ASTER                   11071 LUND SCHOOL RD SW                                         FIFE LAKE        MI         49633                 6002               Various                                                                                             $2.33
BABRAK NIAZI                      6743 WILDRYE RD                                                 LINCOLN          NE         68521                 6004               Various                                                                                            $10.00
BABY TREND INCORPORATED           1607 S CAMPUS AVENUE                                            ONTARIO          CA         91761                 3745               Various                                                                                         $6,670.66
BABYTIME INTERNATIONAL INC (C-    2247 EAST 66TH STREET                                           BROOKLYN         NY         11234                 4786               Various                                                                                         $1,552.65
BACHER LAWN & LANDSCAPE CONTRA    4170 STATE RD 83                                                HARTFORD         WI         53027                 5865               Various                                                                                          $612.48
BACKFLOW PREVENTION SERVICES      PO BOX 8                                                        BRODHEAD         WI         53520                 6625               Various                                                                                          $145.00
BACKYARD PROPERTIES OF ROCK CO    1171 N PARKER DRIVE                                             JANESVILLE       WI         53545                 0052               Various                                                                                        $10,827.07




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BACOVA GUILD LIMITED              1000 COMMERCE CENTER DRIVE                                      COVINGTON        VA           24426-0000              1427               Various                                                                                       $105,583.35
BADER ALOTAIBI                    18 BASIN COMPASS CIRCLE                                         TALLAHASSEE      FL           32304                   6004               Various                                                                                            $40.29
BADGER GRAPHIC SALES INCORPORA    PO BOX 46                                                       KAUKAUNA         WI           54130                   7542               Various                                                                                          $101.26
BADGER LANDSCAPING & LAWN CARE    5120 21ST AVE                                                   KENOSHA          WI           53140                   5704               Various                                                                                         $1,050.00
BADGER LIQUOR COMPANY INCORPOR    PO BOX 1137                                                     FOND DU LAC      WI           54936-1137              1709               Various                                                                                        $24,327.89
BADMAN FAMILY                     404 S NEIL ST                                                   CAMARGO          IL           61919                   6002               Various                                                                                             $0.74
BADRI MOJABI                      5332 S KNOLLCREST ST                                            SALT LAKE CITY   UT           84107                   6002               Various                                                                                             $6.36
BAILEY BAUSKA                     121 SPRINGCREEK DR                                              KALISPELL        MT           59901                   6002               Various                                                                                             $7.10
BAILEY BURKETT                    3612 E PINEHILL DR                                              COEUR D ALENE    ID           83815                   6002               Various                                                                                             $5.64
BAILEY DAVIDSON                   479 E 1525 N                                                    OGDEN            UT           84414                   6004               Various                                                                                            $11.00
BAILEY DENKER                     621 MAGNET                                                      NORFOLK          NE           68701                   6004               Various                                                                                            $20.00
BAILEY GRUBER                     2248 17TH ST.                                                   MONROE           WI           53566                   6004               Various                                                                                             $7.29
BAILEY HENRY                      419 N 4TH ST                                                    PLATTSMOUTH      NE           68048                   6004               Various                                                                                            $30.99
BAILEY JANE WALTERS               W8111 BURDELL RD                                                WAUSAUKEE        WI           54177                   6002               Various                                                                                             $7.53
BAILEY KERR                       504 N WASHINGTON ST                                             WATERTOWN        WI           53098                   6002               Various                                                                                             $6.19
BAILEY KLOEPFER                   306 GALENA RD                                                   JANESVILLE       WI           53548                   6004               Various                                                                                             $2.00
BAILEY LARKIN                     3737 NO 1020 E                                                  PROVO            UT           84604                   6004               Various                                                                                            $65.00
BAILEY LAWN & YARD CARE LLC       PO BOX 3                                                        RIVERSIDE        UT           84334                   2046               Various                                                                                          $830.63
BAILEY PACK                       4753 NORTH 5TH WEST                                             IDAHO FALLS      ID           83401                   6004               Various                                                                                            $26.00
BAILEY WISHAU                     3618 VERMONT STREET                                             RACINE           WI           53406                   6004               Various                                                                                            $25.00
BAILEY-ANN HOLLATZ                313 MAGEE ST                                                    MARSHFIELD       WI           54449                   6004               Various                                                                                             $3.60
BAILIE COPELAND                   2460 4TH AVE                                                    CLARKSTON        WA           99403                   6004               Various                                                                                            $35.40
BAKER FAMILY                      2136 9TH AVE NE                                                 ROCHESTER        MN           55906                   6002               Various                                                                                             $5.07
                                                                                                                                                                           12/1/2018 -
BALLARD W&S IMPROVEMENT DIST.     2381 E. 1000 S.                                                 BALLARD          UT           84066                   917                12/31/2018                                                                                        $551.40

BALLET GROUP INC                  VICE PRESIDENT OF SALES      389 5TH AVE # 1007                 NEW YORK         NY           10016                   4031               Various                                                                                        $52,015.50
                                  6739 NEW CALHOUN HWY
BALTA USA INCORPORATED            BUILDING 100                                                    ROME             GA           30161-0000              0620               Various                                                                                        $39,789.24
BAM DOCUMENT DESTRUCTION & REC    PATRICK JAY LACEY            5 BRONCO LANE                      NEWCASTLE        WY           82701                   4291               Various                                                                                          $492.00
BAMBI LOEFFLER                    2622 SANDRA ROSE LN                                             NEW FRANKEN      WI           54229                   6004               Various                                                                                             $1.00
BAMBI SUZANN LINT                 1519 N PERKINS ST                                               APPLETON         WI           54914                   6002               Various                                                                                             $8.22
BANG NGUYEN                       7228 S 81ST ST                                                  LA VISTA         NE           68128                   6004               Various                                                                                            $30.00
BAO KHANG                         2251 RANGER ROAD                                                WIS RAPIDS       WI           54494                   6004               Various                                                                                            $25.00
BAO NHIA MOUA                     502 N FRANCES ST 927                                            MADISON          WI           53703                   6004               Various                                                                                             $2.00
BAOMING SHI                       301 S ST APT 301                                                MORRIS           MN           56267                   6002               Various                                                                                             $6.19
BARAK GALD                        632 AVON ST                                                     LA CROSSE        WI           54603                   6002               Various                                                                                             $0.63
BARB BEAUDRY                      706 MAIN AVE S APT 217                                          ROSEAU           MN           56751                   6002               Various                                                                                            $10.00
BARB DANEK                        1021 9TH AVE SW #1                                              ABERDEEN         SD           57401                   6004               Various                                                                                            $47.36
BARB DIERCKS                      6414 WYDOWN CIR                                                 MIDDLETON        WI           53562                   6002               Various                                                                                             $7.15
BARB GREEN                        123 HIGH ST                                                     HOLDREGE         NE           68949                   6002               Various                                                                                             $6.14
BARB HURTH                        N5500 BLACKBIRD RD                                              BEAVER DAM       WI           53916                   6002               Various                                                                                             $1.23
BARB KOLLATH                      83930 560TH AVE                                                 NORFOLK          NE           68701                   6002               Various                                                                                             $2.55
BARB MALCOM                       5000 SW 12TH                                                    LINCOLN          NE           68523                   6004               Various                                                                                            $23.00
BARB MURPHY                       3357 STIRRUP ST                                                 NEWCASTLE        WY           82701                   6002               Various                                                                                             $6.19
BARB PETERSON                     14122 SW 142ND RD                                               DE WITT          NE           68341                   6002               Various                                                                                             $5.59
BARB SANDERS                      6925 LOWER RD                                                   SOBIESKI         WI           54171                   6002               Various                                                                                             $0.77
BARB SANKOVITCH                   1835 GARY LN                                                    GREEN BAY        WI           54303                   6004               Various                                                                                             $5.00
BARB SCHACHT                      2115 KANE ST                                                    LA CROSSE        WI           54603                   6002               Various                                                                                             $9.59
BARB VAN-EVERY                    209 1ST AVE                                                     NEWCASTLE        WY           82701                   6002               Various                                                                                             $7.51
BARB WACHSMUTH                    W3223 BRIDGE ROAD                                               OWEN             WI           54460                   6002               Various                                                                                             $7.37
BARB WASHINGTON                   1627 VIVIO DR                                                   FLORENCE         WI           54121                   6002               Various                                                                                             $6.25
BARB YOUNG                        1501 9TH ST S APT 411                                           GREAT FALLS      MT           59405                   6002               Various                                                                                             $8.49




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             Creditor Name                Address1        Address2        Address3              City        State           Zip   Country     Number                Claim                                                                             Total Claim
BARBARA A BIEKER              1420 BRYDEN AVE                                          LEWISTON          ID         83501                 6002                Various                                                                                             $0.38
BARBARA A KRUEGER             N9581 CEMETERY ROAD                                      BRILLION          WI         54110                 2590                Various                                                                                         $5,500.00
BARBARA A. GAFFORD            1404 W JEFFERSON ST                                      BOISE             ID         83702                 6002                Various                                                                                             $7.73
BARBARA A. LAYLAND            146 SESSIONS BOX # 1201                                  AFTON             WY         83110                 6002                Various                                                                                             $5.18
BARBARA ADAMS                 3331 APRIL LN                                            STEVENS POINT     WI         54481                 6002                Various                                                                                             $0.49
BARBARA AMOS                  4377 E DODD RD                                           HAYDEN            ID         83835                 6004                Various                                                                                             $1.55
BARBARA ARTSCHWAGER           302 ROSE ST                                              LA CROSSE         WI         54603                 6002                Various                                                                                             $7.42
BARBARA B TESSER              860 HIGHWAY 73S                                          WISC RAPIDS       WI         54494                 6002                Various                                                                                             $6.11
BARBARA BAKER                 322 DEPOT AVE APT 105                                    DIXON             IL         61021                 6002                Various                                                                                             $1.34
BARBARA BALLEW                1104 WOODRUFF ST                                         GALLATIN          MO         64640                 6002                Various                                                                                             $9.59
BARBARA BARANCZYK             222 13TH AVE                                             GREEN BAY         WI         54303                 6002                Various                                                                                             $3.40
BARBARA BERG                  3312 RENO DR #30                                         EAU CLAIRE        WI         54703                 6004                Various                                                                                            $12.20
BARBARA BLAND                 307 PHEASANT DR                                          KALISPELL         MT         59901                 6002                Various                                                                                             $6.36
BARBARA BORDEN                518 HILLVIEW DR.                                         BOISE             ID         83712                 6004                Various                                                                                            $13.02
BARBARA BOUCHER               7038 LOWER RD                                            SOBIESKI          WI         54171                 6002                Various                                                                                             $1.48
BARBARA BOWEN                 164 S HIGH ST                                            MAYVILLE          WI         53050                 6002                Various                                                                                             $4.25
BARBARA BURDICK               845 BADER ST APT 303                                     GREEN BAY         WI         54302                 6002                Various                                                                                             $1.12
BARBARA BUTTS                 6020 BALLARD AVE                                         LINCOLN           NE         68507                 6004                Various                                                                                             $8.83
BARBARA BUTZER                4356 SHETLAND PLACE NE                                   ROCHESTER         MN         55901                 6004                Various                                                                                             $3.00
BARBARA BYLER                 11745 FROBERG RD                                         BARAGA            MI         49908                 6002                Various                                                                                             $7.84
BARBARA CARLSON               260 NW GOLDEN HILLS DRIVE                                PULLMAN           WA         99163                 6004                Various                                                                                            $29.20
BARBARA COOKSON               4211 MAINE                                               QUINCY            IL         62305                 6002                Various                                                                                            $42.97
BARBARA COSTANTINO            501 22ND AVE NE                                          GREAT FALLS       MT         59404                 6002                Various                                                                                             $8.16
BARBARA CUNNINGHAM            3329 WORTH JONES PL                                      BOISE             ID         83704                 6002                Various                                                                                             $6.71
BARBARA D SCHROEDER           PO BOX 151 PMB 16281                                     WINNECONNE        WI         54986                 6002                Various                                                                                             $2.96
BARBARA DANIEL                84070 569 AVE                                            STANTON           NE         68779                 6004                Various                                                                                            $20.00
BARBARA DEFRIES               240 PACIFIC AVE W                                        DASSEL            MN         55325                 6002                Various                                                                                             $4.41
BARBARA DERRICKS              12 B EISENHOWER                                          JACKSONVILLE      IL         62650                 6002                Various                                                                                             $5.73
BARBARA DUNGAN                1011 CORAL ST APT 1                                      DE PERE           WI         54115                 6002                Various                                                                                             $4.99
BARBARA EBERSOLE              N2788 CTY RD S                                           WAUTOMA           WI         54982                 6002                Various                                                                                             $3.92
BARBARA EDIGAR                43 COLTER LOOP                                           HELENA            MT         59602                 6002                Various                                                                                             $8.14
BARBARA ELLERY                953W 600TH N                                             TREMONTON         UT         84337                 6002                Various                                                                                            $16.64
BARBARA FALK                  403 E 1ST ST                                             WHITE LAKE        SD         57383                 6002                Various                                                                                             $7.40
BARBARA FINK                  2303 6TH ST                                              HARLAN            IA         51537                 6002                Various                                                                                             $6.05
BARBARA FIX                   2201 ELLIS STREET                                        STEVENS POINT     WI         54481                 6004                Various                                                                                             $2.00
BARBARA FOWLER                420 S ALTONA ST                                          HOLSTEIN          IA         51025                 6002                Various                                                                                             $6.58
BARBARA GARCIA                3321 N 106TH PLAZA #1219                                 OMAHA             NE         68134                 6004                Various                                                                                             $2.00
BARBARA GARDNER               346 S 3RD W #103                                         RIGBY             ID         83442                 6004                Various                                                                                          $172.00
BARBARA GARFIELD              221 5TH ST N                                             WISCONSIN RAPID   WI         54494                 6002                Various                                                                                             $3.89
BARBARA GILMAN                N50W25094 WILLIAM DR                                     PEWAUKEE          WI         53072                 6002                Various                                                                                             $6.68
BARBARA GLASGOW               8427 WESTRIDGE DR                                        OMAHA             NE         68124                 6002                Various                                                                                             $3.26
BARBARA GREENWAY              343 BLEMBUBER                                            MARQUETTE         MI         49855                 6004                Various                                                                                            $10.02
BARBARA GRIFFIN               441 WARBLER LN                                           MADISON           WI         53704                 6004                Various                                                                                             $8.00
BARBARA HAMILTON              95 LAKE CREEK RD                                         SALMON            ID         83467                 6002                Various                                                                                             $6.74
BARBARA HANAWAY               312 CARDINAL CRES                                        MADISON           WI         53716                 6002                Various                                                                                             $2.08
BARBARA HANSEN                N3771 CTY RD G                                           WAUTOMA           WI         54982                 6002                Various                                                                                             $1.70
BARBARA HARVEY                613 HOWELL AVE                                           WORLAND           WY         82401                 6002                Various                                                                                             $4.41
BARBARA HAYES                 325 55TH ST NE TRLR 3                                    ROCHESTER         MN         55906                 6002                Various                                                                                             $0.44
BARBARA HIPPLE                1953 B ST                                                LINCOLN           NE         68502                 6002                Various                                                                                             $3.10
BARBARA HUSBY                 2832 NORTH COUNTY ROAD F                                 BIRCHWOOD         WI         54817                 6004                Various                                                                                             $5.00
BARBARA HYSER                 1314 UNION AVE                                           BELVIDERE         IL         61008                 6002                Various                                                                                             $8.88
BARBARA J DENFELD             T900 WISCONSIN RIVER RD                                  WAUSAU            WI         54403                 6002                Various                                                                                            $10.00
BARBARA J KELLY DRISCOLL      2106 10TH ST SE                                          EAST GRAND FORK   MN         56721                 6002                Various                                                                                             $5.37
BARBARA J LECLAIRE            2701 1ST AVE S APT 502                                   ESCANABA          MI         49829                 6002                Various                                                                                             $1.48




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BARBARA J. ADAMS               1211 SYLVAN ST                                                   GRAND ISLAND     NE         68801                 6002                Various                                                                                                $5.81
BARBARA J. SACHS               2878 NANDINA WAY                                                 GREEN BAY        WI         54313                 6002                Various                                                                                                $0.27
BARBARA JAHFETSON              15956 BELLAIRE RD                                                BARAGA           MI         49908                 6002                Various                                                                                                $6.36
BARBARA JEAN CHURCH            N18011 LINDQUIST LAKE RD                                         DUNBAR           WI         54119                 6002                Various                                                                                                $4.30
BARBARA JOHNSON                2517 W GUNLOCK DR                                                SALT LAKE CITY   UT         84129                 6002                Various                                                                                                $6.68
BARBARA JOHNSTON               2010 WISCONSIN AVE                                               PLOVER           WI         54467                 6002                Various                                                                                                $3.42
BARBARA JULSON                 3886 110TH STREET                                                CHIPPEWA FALLS   WI         54729                 6002                Various                                                                                                $4.51
BARBARA K MERTES               1033 17TH AVE                                                    GRAFTON          WI         53024                 6002                Various                                                                                                $9.51
BARBARA KAUFFMAN               W639 HEINTOWN RD                                                 CHILI            WI         54420                 6002                Various                                                                                                $9.21
BARBARA KILLPACK               2030 NEVADA PL                                                   GREEN RIVER      WY         82935                 6002                Various                                                                                                $6.38
BARBARA KISER                  3340 DANS DR                                                     STEVENS POINT    WI         54481                 6002                Various                                                                                                $0.93
BARBARA KLAAS                  2717 S MEMORIAL DR                                               GREEN BAY        WI         54313                 6002                Various                                                                                                $9.48

BARBARA L JOHNSON              4080 E LAURELBROOK DR UNIT 1                                     POST FALLS       ID         83854                  6002               Various                                                                                                $4.25
BARBARA L PLATO                29 LONGHORN DR                                                   BUFFALO          WY         82834                  6002               Various                                                                                                $3.62
BARBARA L. WIECZOREK           BOX 142                                                          BOELUS           NE         68820                  6002               Various                                                                                                $2.99
                               2944 MAYOWOOD COMMON CIR
BARBARA LAJOIE                 SW                                                               ROCHESTER        MN         55902                  6002               Various                                                                                                $1.37
BARBARA LAPACZ                 3126 E BREEZE LN                                                 GREEN BAY        WI         54311                  6002               Various                                                                                                $0.41
BARBARA LAUCK                  450 E OAK ST SPC 9                                               WHEATLAND        WY         82201                  6002               Various                                                                                                $7.29
BARBARA LOCKE                  1870 E SUMMER PARK CIR                                           SANDY            UT         84093                  6002               Various                                                                                                $9.23
BARBARA M HARRIS               208 ELM ST                                                       ANITA            IA         50020                  6002               Various                                                                                                $9.10
BARBARA M SCHULTZE             201 4TH AVE NW                                                   HUTCHINSON       MN         55350                  6002               Various                                                                                                $9.23
BARBARA MARTEN                 8845 GREEN ACRES CT                                              FALL CREEK       WI         54742                  6004               Various                                                                                                $4.00
BARBARA MEADE                  108 23RD ST NW                                                   STEWARTVILLE     MN         55976                  6004               Various                                                                                                $6.00
BARBARA MEESKE                 104 N 28TH ST                                                    BEATRICE         NE         68310                  6002               Various                                                                                                $4.25
BARBARA MILLER                 2008 FIRST ST APT 2                                              PRINCETON        MN         55371                  6002               Various                                                                                               $11.10
BARBARA MUCK                   1818 NE BERG WAY                                                 REDMOND          OR         97756                  6002               Various                                                                                                $4.49
BARBARA MULGRAVE               301 S DODGE STREET                                               BLOOMFIELD       IA         52537                  6002               Various                                                                                                $2.08
BARBARA OBYRNE                 10009 CTY RD # 31 PMB NW                                         ORONOCO          MN         55960                  6002               Various                                                                                                $0.33
BARBARA OLIVER                 505 WITHWORTH AVENUE                                             KINGSFORD        MI         49802                  6004               Various                                                                                               $37.76
BARBARA OLSON TEATES           PO BOX 393                                                       MOHAWK           MI         49950                  6002               Various                                                                                                $0.63
BARBARA OTTO                   556 3RD ST E                                                     GAYLORD          MN         55334                  6002               Various                                                                                                $9.75
BARBARA PALS                   718 N PENNSYLVANIA AVE                                           MASON CITY       IA         50401                  6002               Various                                                                                                $6.14
BARBARA PARNOW                 201 CAMPBELL CT                                                  LA CROSSE        WI         54603                  6002               Various                                                                                                $3.07
BARBARA PETTERSON              129 S LAPEER ST                                                  STANDISH         MI         48658                  6002               Various                                                                                                $9.01
BARBARA PHELPS                 N4964 CEDAR RD                                                   KEWAUNEE         WI         54216                  6002               Various                                                                                                $5.95
BARBARA PIEHL                  4800 378TH STREET                                                NORTH BRANCH     MN         55056                  6004               Various                                                                                               $10.60
BARBARA PRZEKURAT              102 WEST IRVING AVENUE                                           OSHKOSH          WI         54901                  6004               Various                                                                                               $37.00
BARBARA RAU                    667 BELMONT ST                                                   ALLIANCE         NE         69301                  6002               Various                                                                                                $6.88
BARBARA RICE                   1770 LESLIE RD               APT 114                             RICHLAND         WA         99352                  6004               Various                                                                                               $24.73
BARBARA ROBLES                 708 17TH STREET NE                                               MASON CITY       IA         50401                  6004               Various                                                                                                $3.58
BARBARA ROCHESTER              1217 NORTH STREET                                                LA CROSSE        WI         54603                  6002               Various                                                                                                $1.00
BARBARA ROCKWELL               59546 M51S                                                       DOWAGIAC         MI         49047                  6002               Various                                                                                                $8.08
BARBARA RUPPRECHT              8155 SW 102ND AVE                                                ELLENDALE        MN         56026                  6004               Various                                                                                               $10.00
BARBARA RUSSELL                89 W 400TH N                                                     MENDON           UT         84325                  6002               Various                                                                                                $9.84
BARBARA RYMER                  P.O. BOX 46172                                                   MADISON          WI         53744                  6004               Various                                                                                                $2.00
BARBARA SABAITIS               741 W 600TH N                                                    CLEARFIELD       UT         84015                  6002               Various                                                                                                $4.71
BARBARA SAPP                   800 E 21ST ST APT 52                                             FALLS CITY       NE         68355                  6002               Various                                                                                                $5.59
BARBARA SCHRAM                 218 7TH AVE.                                                     IRON RIVER       MI         49935                  6004               Various                                                                                               $39.04

                                                            10554 APPLEWOOD
BARBARA SCHREIBER              APT 221                      DRIVE                               SISTER BAY       WI         54234                  6002               Various                                                                                               $10.89
BARBARA SCHVETZ                3048 10TH LANE                                                   GRAND MARSH      WI         53936                  6004               Various                                                                                               $42.24




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                                                                                                                                                                                              Contingent


                                                                                                                                                                                                                          Disputed
                                                                                                                                                     Last 4 Digits of     Date Debt was
                                                                                                                                                        Account         Incurred, Basis for
             Creditor Name                Address1                Address2           Address3             City         State         Zip    Country     Number                Claim                                                                             Total Claim
BARBARA SCHWAB                 BOX 17                                                             SMOOT             WY         83126                6002                Various                                                                                             $6.36
BARBARA SPROLES                113 GREENWOOD                                                      HELENA            MT         59601                6004                Various                                                                                            $44.98
BARBARA STEELE                 W223N7292 HAMILTON DR                                              SUSSEX            WI         53089                6002                Various                                                                                             $7.51
BARBARA STEPHENS               2224 AFTON RD                                                      BELOIT            WI         53511                6002                Various                                                                                             $7.56
BARBARA SULLIVAN               1223 DEPERE ST                                                     MENASHA           WI         54952                6002                Various                                                                                             $6.60
BARBARA THOMPSON               4337 BRITTA DRIVE 1                                                MADISON           WI         53711                6004                Various                                                                                            $33.49
BARBARA THRONE                 NH NORTH HALL                                                      WHEATLAND         WY         82201                6002                Various                                                                                             $6.88
BARBARA TOMPKINS               2311 MCDONALD DR                                                   EAST HELENA       MT         59635                6004                Various                                                                                             $2.00
BARBARA TRANISI                1205 TERRY DR                                                      BELLEVUE          NE         68123                6002                Various                                                                                             $8.05
BARBARA VANDERS                184 BERNARD RD                                                     KALISPELL         MT         59901                6002                Various                                                                                             $2.87
BARBARA VANEPERN               N2176 WEYERS RD                                                    KAUKAUNA          WI         54130                6002                Various                                                                                             $9.10
BARBARA W. KAUTH               1910 HILLTOP DR                                                    WEST BEND         WI         53095                6002                Various                                                                                             $3.48
BARBARA WAGNER                 422 W 6TH ST                                                       MOUNT CARMEL      IL         62863                6002                Various                                                                                             $0.85
BARBARA WALL                   1528 MEADOWLARK DR                                                 GREAT FALLS       MT         59404                6002                Various                                                                                             $4.49
BARBARA WEYER                  727 GREEN TREE RD                                                  WEST BEND         WI         53090                6002                Various                                                                                             $1.66
BARBARA WHITAKER               1075 HISLOP DR                                                     OGDEN             UT         84404                6002                Various                                                                                             $9.56
BARBARA WHITING                43954 348TH LN                                                     AITKIN            MN         56431                6002                Various                                                                                             $8.66
BARBARA WOLVERTON              198 JEFFERSON ST                                                   TWIN FALLS        ID         83301                6002                Various                                                                                             $1.89
BARBARA WORKMAN                W4667 N PEARL LAKE RD                                              REDGRANITE        WI         54970                6002                Various                                                                                            $10.00
BARBARA ZEHOSKI                10334 55TH ST                                                      CLEAR LAKE        MN         55319                6002                Various                                                                                             $0.38
BARCODES INCORPORATED          PO BOX 0776                                                        CHICAGO           IL         60690-0776           9134                Various                                                                                         $2,582.16
BARDO LOPEZ                    1346 COTTONWOOD RD                                                 OROFINO           ID         83544                6002                Various                                                                                             $2.60
BARE SNACKS                    PO BOX 31001-2579                                                  PASADENA          CA         91110                4275                Various                                                                                         $7,775.50
BARLEE LEONARD                 4925 N APPLEBEND DR                                                APPLETON          WI         54913                6002                Various                                                                                             $4.14

BARLOW/ HILLAREE               STORE 2-710                    SHOPKO EMPLOYEE 212 N MAIN STREET   GALLATIN          MO         64640                 8065               Various                                                                                               $15.53
BARNARD FAMILY                 1150 W 3000TH S                                                    PERRY             UT         84302                 6002               Various                                                                                                $1.34

BARRETT/ DON                   STORE 178                      SHOPKO EMPLOYEE                     GREEN BAY         WI         54307-9060            4622               Various                                                                                          $103.22
BARRY "CUB" NESJA              12610 21ST AVE                                                     CHIPPEWA FALLS    WI         54729                 6004               Various                                                                                            $15.00
BARRY BAUMAN                   2425 4TH ST                    APT 6                               MONROE            WI         53566                 6004               Various                                                                                             $3.00
BARRY BRAUN                    1422 COLUMBUS ST                                                   MANITOWOC         WI         54220                 6002               Various                                                                                             $0.99
BARRY CARRICK                  2403 W 6TH ST                                                      GRAND ISLAND      NE         68803                 6002               Various                                                                                             $6.19
BARRY EMANUELSON               1323 CARDINAL LANE                                                 GREEN BAY         WI         54313                 6004               Various                                                                                             $1.00
BARRY HAGGARD                  123 ERIN DR                                                        MOUNT CARMEL      IL         62863                 6002               Various                                                                                             $8.88
BARRY JOHNSON                  6310 ASHBURY DR                                                    WISCONSIN RAPID   WI         54494                 6002               Various                                                                                             $9.67
BARRY MCLEMORE                 205 1/2 S LOCUST AVE                                               NEW HAMPTON       IA         50659                 6002               Various                                                                                             $5.59
BARRY MIYA                     3370 W GENTILE ST                                                  LAYTON            UT         84041                 6004               Various                                                                                            $78.00
BARRY RASKIN                   3421 CAMINO ALEGRE                                                 CARLSBAD          CA         92009                 4885               Various                                                                                         $6,286.30
BARRY STAMPS                   2519 FISH HATCHERY RD. APT 6                                       MADISON           WI         53713                 6004               Various                                                                                             $8.00
BARRY WRIGHT                   PO BOX 205                                                         MANCHESTER        IL         62663                 6002               Various                                                                                             $6.33
BARRY ZWIEFELHOFER             8597 CTY HWY N                                                     CHIPPEWA FALLS    WI         54729                 6004               Various                                                                                            $25.00
BART ALBERTSON                 5812 N 26TH W                                                      IDAHO FALLS       ID         83402                 6002               Various                                                                                             $2.22
BART AMBOS                     900 ROLLING MEADOWS DR                                             LITTLE CHUTE      WI         54140                 6002               Various                                                                                             $1.18
BART TOWNSEND                  1328 N 1600TH AVE                                                  FOWLER            IL         62338                 6002               Various                                                                                             $6.00
BARTINGALE MECHANICAL, INC.    3213 LOUIS AVENUE, SUITE G                                         EAU CLAIRE        WI         54703                                    Various                                                                                          $732.22
BARTON RASMUSSEN               50829 BRANCH TRL                                                   PINE ISLAND       MN         55963                 6002               Various                                                                                             $4.74
BARTON SMITH                   3842 PALMER CANYON RD                                              WHEATLAND         WY         82201                 6002               Various                                                                                             $1.56
BASIC FUN INC                  301 YAMATO ROAD STE 2112                                           BOCA RATON        FL         33431                 2002               Various                                                                                        $63,765.84

BASIC RESEARCH                 5742 WEST HAROLD GATTY DRIVE                                       SALT LAKE CITY    UT         84116                 5596               Various                                                                                         $7,732.50
BASIL FRYE                     1490 MICHIGAN AVENUE                                               OROFINO           WY         83544                 6002               Various                                                                                             $2.08
BASIM LAZIM                    2810 CHARLES CT. NW                                                ROCHESTER         MN         55901                 6004               Various                                                                                             $3.00
BASS SECURITY SERVICES INC     PO BOX 901805                                                      CLEVELAND         OH         44190-1805            8524               Various                                                                                         $6,014.24




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                                                                                                                                                                  Last 4 Digits of     Date Debt was
                                                                                                                                                                     Account         Incurred, Basis for
             Creditor Name                      Address1                  Address2           Address3           City            State           Zip    Country       Number                Claim                                                                             Total Claim
                                                                                                                                                                                     11/21/2018 -
BATESVILLE WATER & GAS UTILITY IN    P.O. BOX 97                                                        BATESVILLE         IN           47006                    37 01               12/19/2018                                                                                       $374.44
BATTEN SANITATION                    PO BOX 415                      418 E REED ST                      RED OAK            IA           51566                                        Various                                                                                          $995.10
BAUER FAMILY                         301 N SCOTT ST                                                     POST FALLS         ID           83854                    6002                Various                                                                                             $2.66
BAUM BROTHERS IMPORTS INC            PO BOX 930823                                                      ATLANTA            GA           31193-0823               9591                Various                                                                                        $55,793.47
BAUSCH & LOMB OTC                    PHARMACY OTC ACCT CO            PO BOX 75128                       CHICAGO            IL           60675-5128               7821                Various                                                                                       $217,874.31
BAUSING HER                          1117 IMPERIAL CIRCLE APT 416                                       EAU CLAIRE         WI           54701                    6004                Various                                                                                            $35.00
BAW YEH                              2315 E AVE UNIT 9                                                  WORTHINGTON        MN           56187                    6004                Various                                                                                             $3.00
BAXTER MCPHERSON                     PO BOX 292                                                         STURGIS            SD           57785                    6002                Various                                                                                             $5.78
BAYCOM INCORPORATED                  2040 RADISSON STREET                                               GREEN BAY          WI           54302                    2953                Various                                                                                          $674.00
BAYER                                PO BOX 650512                                                      DALLAS             TX           75265-0512               2500                Various                                                                                       $202,737.23
BAYLEE REED                          13510 W. DUBLIN RD                                                 KENT               IL           61044                    6004                Various                                                                                            $30.00
                                                                     C/O THEISEN       1808 BRACKETT
BAYVIEW ASSET MANAGEMENT LLC         BAYVIEW LOAN SERVICING LLC      REALTY INC        AVENUE           EAU CLAIRE         WI           54701                    1945                Various                                                                                        $56,274.08
BAZIL WENZEL                         1700 2ND CORSO                                                     NEBRASKA CITY      NE           68410                    6004                Various                                                                                          $100.98
                                                                     10165 EXCELSIOR
BB17 LLC                             C/O GLENN ABRAHAMSON            AVE                                HANFORD            CA           93230                    3888                Various                                                                                         $3,092.02
BBLUV GROUP COM (CHUB)               2820 DUCHESNE                                                      ST LAURANT         QC           H4R 1J4       CANADA     4847                Various                                                                                          $747.45

BC COMMERCIAL LAUNDRY SERVICE        MARK WHITE                 611 E JOHN STREET                       MARKESAN           WI           53946                    2142                Various                                                                                         $1,208.10
                                                                REDDING SALES
BCI COCA-COLA BOTTLING COMPANY       C/O COCA COLA REFRESHMENTS CENTER            PO BOX 740214         LOS ANGELES        CA           90074-0214               4475                Various                                                                                         $4,201.54
BDULLAH ESMAEEL                      34 13TH ST NW                                                      ROCHESTER          MN           55901                    6002                Various                                                                                             $0.41
BEACH HOUSE GROUP SALES LLC          2210 E MAPLE AVE                                                   EL SEGUNDO         CA           90245                    3678                Various                                                                                        $15,342.01
BEACON ENGINEERING & ELECTRIC        2131 S. WEST TEMPLE                                                SALT LAKE CITY     UT           84115                                        Various                                                                                        $10,488.26
BEANCA THAI                          6019 E 6TH AVE             L205                                    SPOKANE            WA           99212                    6004                Various                                                                                            $38.98

BEANITOS INC                         3601 S CONGRESS AVE STE B-500                                      AUSTIN             TX           78704                    2354                Various                                                                                         $5,410.47
BEAR RIVER CHAMBER OF COMMERCE       PO BOX 311                                                         TREMONTON          UT           84337                    0335                Various                                                                                          $300.00
                                                                                                                                                                                     11/26/2018 -
BEATRICE BOARD OF PUBLIC WORKS NE    P.O. BOX 279                                                       BEATRICE           NE           68310-0279               8000                12/25/2018                                                                                      $2,263.15
BEATRICE HENKE                       451 PEPPER AVE                                                     WISCONSIN RAPID    WI           54494                    6002                Various                                                                                             $6.60
BEATRICE HOME FASHIONS INCORPO       PO BOX 86                                                          SOUTH PLAINFIELD   NJ           07080-0000               6850                Various                                                                                        $10,963.14
BEATRICE REYNA                       4120 S 20TH ST                                                     OMAHA              NE           68107                    6004                Various                                                                                             $2.00
BEATRICE THOMPSON                    9318 GAELIC CIR                                                    WEST JORDAN        UT           84088                    6002                Various                                                                                             $9.89
BEATRICE WEYMOUTH                    4600 52ND AVE                                                      KENOSHA            WI           53144                    6002                Various                                                                                             $2.00
BEATRIZ BURGOS                       917 JOHNSON COURT                                                  BELVIDERE          IL           61008                    6004                Various                                                                                             $5.00
BEATRIZ RODRIQUEZ                    406 NE AVE K                                                       ANDREWS            TX           79714                    6002                Various                                                                                             $5.18
BEATRIZ SERRANO                      119 S OXFORD ST APT 6                                              WAUTOMA            WI           54982                    6002                Various                                                                                             $9.42
BEAU CHAVEZ                          29 SHIPTON LN                                                      FT. WASHAKIE       WY           82514                    6002                Various                                                                                             $4.88
BEAU HESS                            4200 MOHAWK                                                        LINCOLN            NE           68510                    6004                Various                                                                                            $10.00
BEAU HOWE                            506 16TH AVE NE                                                    ROSEAU             MN           56751                    6002                Various                                                                                             $5.21
BEAU MIELKE                          2034 POWERS AVE #15                                                LEWISTON           ID           83501                    6004                Various                                                                                          $155.00
BEAU TEGEN                           33250 N TAHOE DR                                                   SPIRIT LAKE        ID           83869                    6004                Various                                                                                             $3.05
BEAUCHAMP FAMILY                     618 MESNARD ST                                                     MARQUETTE          MI           49855                    6002                Various                                                                                             $1.84
                                     14 VANDERVENTER AVE SUITE
BEAUTY IDEAS GROUP LLC               129                                                                PORT WASHINGTON NY              11050                    3677                Various                                                                                         $7,229.49
BEAUTY TWENTY ONE COSMETICS IN       2021 S ARCHBOLD AVENUE                                             ONTARIO         CA              91761                    4437                Various                                                                                       $231,537.44
                                                                                                                                                                                     12/1/2018 -
BEAVER CITY CORPORATION, UT          P.O. BOX 271                                                       BEAVER             UT           84713-0271               57.0.2              12/31/2018                                                                                      $1,786.03
BEAVER DEVELOPMENT LLC               PO BOX 791                                                         DILLON             MT           59725                    8563                Various                                                                                         $1,458.34
BECCA BIRCH                          3400 RANDOLPH                                                      LINCOLN            NE           68510                    6004                Various                                                                                            $40.00
BECCA GREEN                          2498 150TH ST                                                      MARSHALL           MN           56258                    6004                Various                                                                                            $11.02
BECCA TREADWAY                       133 GRANDVIEW DR                                                   SPEARFISH          SD           57783                    6002                Various                                                                                             $0.60




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                                                                                                                                                     Last 4 Digits of     Date Debt was
                                                                                                                                                        Account         Incurred, Basis for
             Creditor Name                   Address1             Address2         Address3             City          State        Zip     Country      Number                Claim                                                                             Total Claim
                                  ATTN ACCOUNTS PAYABLE
BECK ALUMINUM RACINE              REFUND                      7505 DURAND AVE                   MOUNT PLEASANT   WI           53177                  6004               Various                                                                                            $78.87
BECKIE SEEHAVER                   N5282 ELM VALLEY RD                                           OGDENSBURG       WI           54962                  6004               Various                                                                                            $24.00
BECKY A FIRNEKAS                  PO BOX 313                                                    KAYCEE           WY           82639                  6002               Various                                                                                             $1.89
BECKY GNEITING                    418 W ELKHORN RD                                              SALMON           ID           83467                  6002               Various                                                                                             $1.97
BECKY GREEN                       800 S PARK AVE                                                NEENAH           WI           54956                  6004               Various                                                                                             $7.30
BECKY HOYT                        105 WENDY ST                                                  LANDER           WY           82520                  6002               Various                                                                                             $1.21
BECKY JACOBSON                    1634 110TH ST                                                 SIOUX CITY       IA           51108                  6002               Various                                                                                             $3.84
BECKY JOHNSON                     140 E CENTER ST                                               LINDON           UT           84042                  6004               Various                                                                                            $51.00
BECKY JONES                       2916 BERWICK PLACE                                            WEST VALLEY      UT           84119                  6004               Various                                                                                            $10.00
BECKY MATTHEWSON                  PO BOX 1251                                                   WHEATLAND        WY           82201                  6002               Various                                                                                            $10.00
BECKY MEMMOTT                     36 N 100TH W                                                  GARLAND          UT           84312                  6002               Various                                                                                            $10.00
BECKY REID                        2495 WITTI LANE                                               COLUMBIA FALLS   MT           59912                  6004               Various                                                                                            $17.00
BECKY RENGSTORF                   750 NORTH MAIN                                                BRITT            IA           50423                  6004               Various                                                                                            $13.34
BECKY SAHULKA                     303 W D ST                                                    WEEPING WATER    NE           68463                  6002               Various                                                                                             $2.27
BECKY SOUZA                       12/26/1963 PO BOX 366                                         WHEATLAND        WY           82201                  6002               Various                                                                                             $3.81
BEE YANG                          1705 N 12TH STREET                                            SHEBOYGAN        WI           53081                  6004               Various                                                                                             $1.99
BEECHWOOD SALES & SERVICE         PO BOX 510946                                                 NEW BERLIN       WI           53151-0946             5835               Various                                                                                         $7,068.55
BEHLE OTT                         501 NE ELM ST                                                 GREENFIELD       IA           50849                  6002               Various                                                                                             $2.08
BEHR D ROULEAU                    419 W NELSON ST                                               ELLSWORTH        WI           54011                  6002               Various                                                                                             $6.16

BEHRMANN/ KELLY                   STORE 4-100                 SHOPKO EMPLOYEE                   GREEN BAY        WI           54307-9060             5694               Various                                                                                            $12.21
BEHZAD GHAZANFARI                 1401 NE MERMAN DR APT 112                                     PULLMAN          WA           99163                  6004               Various                                                                                            $20.00
BEIERSDORF INCORPORATED #59718    PO BOX 751807                                                 CHARLOTTE        NC           28275-1807             2926               Various                                                                                        $18,875.28
BEKAH FRANKE                      551 WAGON WHEEL COURT                                         HUDSON           WI           54016                  6004               Various                                                                                             $5.00
BELEN VIEYRA                      5321 52ND AVENUE                                              KENOSHA          WI           53144                  6004               Various                                                                                             $2.99
BELINDA HARRINGTON                614 11TH ST                                                   CLARKSTON        WA           99403                  6004               Various                                                                                            $15.00
BELINDA LOCKE                     44189 TIMBER TRAIL RD                                         ONAMIA           MN           56359                  6002               Various                                                                                            $10.00
BELINDA MORAN                     141 ROOSEVELT                                                 POCATELLO        ID           83201                  6004               Various                                                                                            $13.50
BELINDA PRAEST                    894 PRAEST RD                                                 OROFINO          ID           83544                  6002               Various                                                                                             $1.37
BELINDA S. GOODWILL               469 N RIDGE AVE                                               IDAHO FALLS      ID           83402                  6002               Various                                                                                             $6.00
BELINDA STADTMUELLER              988 3RD ST APT 32                                             MENASHA          WI           54952                  6002               Various                                                                                             $2.49
BELINDA ZAVALA                    814 S 11TH                                                    NORFOLK          NE           68701                  6004               Various                                                                                             $5.40
BELIZA ROMERO                     3002 12TH ST APT 32                                           HARLAN           IA           51537                  6002               Various                                                                                             $7.56
BELL PHARMACEUTICALS INCORPORA    PO BOX 128                                                    BELLE PLAINE     MN           56011                  9910               Various                                                                                         $7,674.86
                                  32835 COLLECTION CENTER
BELL SPORTS INCORPORATED (BIKE    DRIVE                                                         CHICAGO          IL           60693-0000             8027               Various                                                                                         $9,338.65
BELLA HECK                        7639 RICHFIELD DR                                             ARPIN            WI           54410                  6002               Various                                                                                             $2.68
BELLA RAY (K EPSTEIN              222 N 5TH ST                                                  SAINT PETER      MN           56082                  6002               Various                                                                                             $8.36
BELLA ROSE FAY                    9588 YUREK RD                                                 PULASKI          WI           54162                  6002               Various                                                                                             $2.41
BELLA SCOTT                       303 S MILL ST                                                 COLFAX           WA           99111                  6002               Various                                                                                             $2.27
BELLAMARIE KINGSLEY               PO BOX 761                                                    PARK VALLEY      UT           84329                  6002               Various                                                                                             $6.74
BELLE A LODEL                     12210 N STAGE RD                                              HUMBIRD          WI           54746                  6002               Various                                                                                             $4.68
BELLE FOURCHE/ CITY OF            511 6TH AVENUE                                                BELLE FOURCHE    SD           57717                  2635               Various                                                                                          $115.20
                                  C/O ALARM TRACKING AND
BELLEVUE/ CITY OF                 BILLING SERVICES            PO BOX 26364                      COLORADO SPRINGS CO           80936                  3671               Various                                                                                           $250.00
BELLIN MEMORIAL HOSPITAL          PO BOX 23400                                                  GREEN BAY        WI           54305-3400             4509               Various                                                                                           $686.25

BELLOWS/ SANDRA                   STORE 2-040                 SHOPKO EMPLOYEE                   GREEN BAY        WI           54307-9060             0918               Various                                                                                             $1.40
BELVA SEAMANN                     47454 857TH RD                                                ATKINSON         NE           68713                  6002               Various                                                                                             $6.79
BELVA STALEY                      1021 AURORA ST LOT 2                                          BELLE FOURCHE    SD           57717                  6002               Various                                                                                             $1.81
BEMELMAN FAMILY                   PO BOX 82                                                     RICE             MN           56367                  6002               Various                                                                                             $0.44
BEMIS MANUFACTURING               ACCOUNTS RECEIVABLE         BIN 88383                         MILWAUKEE        WI           53288-0383             4344               Various                                                                                         $4,729.55
BEN APPLEBY                       14232 FURUBY ROAD                                             CENTER CITY      MN           55012                  6004               Various                                                                                             $3.00




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                                                                                                                                                                                      Contingent


                                                                                                                                                                                                                  Disputed
                                                                                                                                               Last 4 Digits of   Date Debt was
                                                                                                                                                  Account       Incurred, Basis for
             Creditor Name                   Address1         Address2        Address3            City          State           Zip   Country     Number              Claim                                                                             Total Claim
BEN BOUCHE                       2778 HAZELWOOD LA                                         GREEN BAY       WI           54304                 6004              Various                                                                                               $1.22
                                 848 CENTENICAL CENTER BLVD
BEN BURDICK                      APT 66                                                    ONEIDA          WI           54155                   6004            Various                                                                                             $8.97
BEN CARLSON                      14904 ECHO HILLS DR                                       OMAHA           NE           68138                   6004            Various                                                                                             $2.00
BEN CLARK                        12301 NE 117TH ST                                         KEARNEY         MO           64060                   6002            Various                                                                                             $9.26
BEN CLOWARD                      648 MITCHELL DR                                           SPANISH FORK    UT           84660                   6002            Various                                                                                             $7.84
BEN CONRAD                       119 S 6TH ST                                              ALBION          IL           62806                   6002            Various                                                                                            $10.00
BEN COOPER                       509 W RACINIE ST                                          JEFFERSON       WI           53549                   6004            Various                                                                                             $6.66
BEN DICKSION                     PO BOX 1499                                               OROFINO         ID           83544                   6002            Various                                                                                             $5.10
BEN FREDRICKSON                  547 KARCIO CT                                             PULLMAN         WA           99163                   6004            Various                                                                                            $25.00
BEN GLOVER                       W210 LAKE STREET                                          GENOA CITY      WI           53128                   6004            Various                                                                                             $4.00
BEN GORANS                       14035 FRANCES ST                                          OMAHA           NE           68144                   6002            Various                                                                                             $1.89
BEN GRITZMAKER                   1806 EAST 2ND AVE                                         BRODHEAD        WI           53520                   6004            Various                                                                                             $1.00
BEN HELMERS                      274 MAIN ST                                               MELVIN          IA           51350                   6002            Various                                                                                            $10.00
BEN HOEFLER                      2518 CHESHIRE N                                           LINCOLN         NE           68512                   6004            Various                                                                                            $25.00
BEN JR HOLBROOK                  1609 W WILLOW DR                                          KAYSVILLE       UT           84037                   6004            Various                                                                                            $19.98
BEN M PREBLE                     1012 ARLINGTON AVE SW                                     BILLINGS        MT           59101                   6002            Various                                                                                             $8.71
BEN MEYERHOFER                   P.O. BOX 14                                               WESLEY          IA           50483                   6004            Various                                                                                            $10.00
BEN POLMANTE                     618 BARSTOW ST                                            EAU CLAIRE      WI           54703                   6004            Various                                                                                             $3.00
BEN ROSCAMP                      1015 N 7TH ST                                             RAPID CITY      SD           57701                   6002            Various                                                                                             $4.25
BEN STIVARIUS                    102 BOMMER ST                                             WATERTOWN       WI           53094                   6004            Various                                                                                            $29.00
BEN STROOISMA                    707 HOLLY AVE                                             MARSHFIELD      WI           54449                   6002            Various                                                                                             $1.89
BEN WENDT                        813 CHICAGO AVE                                           WAUSAU          WI           54403                   6004            Various                                                                                            $15.00
BEN WINTER                       410 HEMLOCK                                               BOVILLE         ID           83806                   6004            Various                                                                                            $37.60
BENCK FAMILY                     262 KRUGER LN                                             ELLSWORTH       WI           54011                   6002            Various                                                                                             $8.49
BEND LOCK & SAFE INCORPORATED    204 NE FRANKLIN AVENUE                                    BEND            OR           97701                   3510            Various                                                                                           $230.00
BENEDICT KILGAS                  307 PARK ST                                               KAUKAUNA        WI           54130                   6002            Various                                                                                             $7.15
BENITA J MILLER                  700 8TH AVE APT 211                                       MONROE          WI           53566                   6002            Various                                                                                             $7.64
BENITA WOOLEY                    521 HANCOCK ST                                            BELVIDERE       IL           61008                   6004            Various                                                                                            $25.32
BENJAMIN A RETEL                 770 VICTORY LN                                            LANDER          WY           82520                   6002            Various                                                                                             $0.36
BENJAMIN ALBERTO-RUIZ            1432 N. VIRGINIA AVE                                      MASON CITY      IA           50401                   6004            Various                                                                                            $25.00
BENJAMIN ANDERSON                2104 AVE F                                                GOTHENBURG      NE           69138                   6002            Various                                                                                             $1.51
BENJAMIN ARETZ                   715 HARBOR TERRENCE LANE                                  MARINETTE       WI           54143                   6004            Various                                                                                            $10.25
BENJAMIN BEDUZE                  W5483 PLANTATION ROAD                                     ELKHORN         WI           53121                   6004            Various                                                                                            $10.00
BENJAMIN BIGGERSTAFF             6735 PINELAKE DR APT 102                                  MADISON         WI           53719                   6002            Various                                                                                             $4.49
BENJAMIN BLAUMAN                 717 GRANDVIEW AVE                                         WENATCHEE       WA           98801                   6004            Various                                                                                            $30.00
BENJAMIN BRADLEY                 2933 S 102ND STREET                                       OMAHA           NE           68124                   6004            Various                                                                                            $70.00
BENJAMIN BRONKHORST              1327 ADAMS ST                                             LA CROSSE       WI           54601                   6004            Various                                                                                            $20.00
BENJAMIN CAMPBELL                328 BENTON ST                                             BOONE           IA           50036                   6004            Various                                                                                             $5.00
BENJAMIN CARRERA                 8056 GOLD ST                                              OMAHA           NE           68124                   6004            Various                                                                                            $32.00
BENJAMIN CRAWFORD                2794 BALBOA DR                                            DUBUQUE         IA           52001                   6004            Various                                                                                            $30.00
BENJAMIN DICK                    1705 W. 4575 S.                                           ROY             UT           84067                   6004            Various                                                                                             $5.00
BENJAMIN DICKEY                  5085 SCHROEDEL RD                                         VESPER          WI           54489                   6004            Various                                                                                             $7.90
BENJAMIN E WIPF                  MILFORD COLONY                                            WOLF CREEK      MT           69648                   6002            Various                                                                                             $5.84
BENJAMIN ESTEP                   107 CSACADE                                               NEWCASTLE       WY           82701                   6002            Various                                                                                             $2.16
BENJAMIN FREDRICKSON             46216 SUN FISH RD                                         VERGAS          MN           56587                   6002            Various                                                                                             $8.03
BENJAMIN H SASNETT               567 W 149TH ST APT 54                                     NEW YORK        NY           10031                   6002            Various                                                                                             $8.79
BENJAMIN HANSON                  646 EDGEWOOD AVENUE                                       ELKHORN         WI           53121                   6004            Various                                                                                            $49.00
BENJAMIN KAFTON                  439 N MAIN ST                                             BRIGHAM CITY    UT           84302                   6002            Various                                                                                             $2.49
BENJAMIN LAASER                  25 6TH ST NW                                              ROCHESTER       MN           55901                   6002            Various                                                                                             $7.48
BENJAMIN LAMB                    10515 HOLLYWOOD RD                                        NEKOOSA         WI           54457                   6002            Various                                                                                             $7.32
BENJAMIN LIEBZEIT                W3730 WILLOW BROOK CT                                     APPLETON        WI           54913                   6002            Various                                                                                             $6.41
BENJAMIN LUND                    311 MAPLE STREET                                          FORT ATKINSON   WI           53538                   6004            Various                                                                                             $2.00
BENJAMIN MADILL                  637 E 600TH S                                             LAYTON          UT           84041                   6002            Various                                                                                             $0.96




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            Creditor Name                    Address1                Address2           Address3            City        State           Zip   Country     Number                Claim                                                                             Total Claim
BENJAMIN MARQUEZ                  220 HOSSER RD                                                      WAPATO          WA         98951                 6004                Various                                                                                               $15.02
BENJAMIN MARTINELLI               PO BOX 1567                                                        OROFINO         ID         83544                 6002                Various                                                                                                $2.30
BENJAMIN MILLER                   1903 17TH ST SE               APT. 120                             ROCHESTER       MN         55904                 6004                Various                                                                                                $5.00
BENJAMIN N WRIGHT                 7 N MONROE AVE                                                     MASON CITY      IA         50401                 6002                Various                                                                                                $2.16

BENJAMIN P. SMYTH                 118 S WASHINGTON ST STE 115B                                       GREEN BAY       WI         54301                  6002               Various                                                                                             $7.89
BENJAMIN PARIS                    1224 SUNSET DRIVE                                                  WAUSAU          WI         54401                  6004               Various                                                                                             $2.00
BENJAMIN PETERSEN                 779 E 300TH S                                                      SPANISH FORK    UT         84660                  6002               Various                                                                                             $4.42
BENJAMIN POLLEY                   114 GREEN MEADOWS ST                                               NEENAH          WI         54956                  6002               Various                                                                                             $6.14
BENJAMIN PRIEST                   343 WOODLAKE DR SE                                                 ROCHESTER       MN         55904                  6004               Various                                                                                             $6.00
BENJAMIN RABE                     15246 IL RT 76                                                     POPLAR GROVE    IL         61065                  6004               Various                                                                                             $2.94
BENJAMIN RANKIN                   9442 380TH STREET                                                  NORTH BRANCH    MN         55056                  6004               Various                                                                                             $3.00
BENJAMIN RUSKIN                   2469 DAWES PLACE UNIT E                                            RIVER FALLS     WI         54022                  6004               Various                                                                                            $10.00
BENJAMIN SCOTT                    N69W25869 COVENTRY COURT                                           SUSSEX          WI         53089                  6004               Various                                                                                            $10.00
BENJAMIN SEIFERT                  PO BOX 364                                                         REDGRANITE      WI         54970                  6002               Various                                                                                             $4.79
BENJAMIN SHAW                     2564 WILDFLOWER ROW                                                GREEN BAY       WI         54311                  6002               Various                                                                                             $2.00
BENJAMIN SNAVELY                  715 KENSINGTON SUITE 24 B                                          MISSOULA        MT         59802                  6004               Various                                                                                             $2.00
BENJAMIN ST JOHN                  1717 CHADBORN AVE                                                  MADISON         WI         53726                  6004               Various                                                                                            $12.20
BENJAMIN SULLIVAN                 1526 N CLARMONT DRIVE                                              JANESVILLE      WI         53545                  6004               Various                                                                                            $10.00
BENJAMIN SWENSON                  3495 W 15200TH N                                                   COLLINSTON      UT         84306                  6002               Various                                                                                             $2.79
BENJAMIN THOMPSON                 APT 211                      13320 E MISSION                       SPOKANE         WA         99216                  6004               Various                                                                                             $3.00
BENJAMIN VANDEHEY                 3994 N TRAILWAY LN                                                 APPLETON        WI         54913                  6002               Various                                                                                             $4.41
BENJAMIN VANROSSUM                N3490 HOOYMAN CT                                                   APPLETON        WI         54913                  6002               Various                                                                                             $9.48
BENJAMIN VERSAW                   4196 MASON AVE                                                     GRAND ISLAND    NE         68803                  6004               Various                                                                                            $17.00
BENJAMIN VOGLTANZ                 2509 18TH ST                                                       MENOMINEE       MI         49858                  6004               Various                                                                                             $7.99
BENJAMIN WALSTROM                 1040 FOREST ST                                                     NIAGARA         WI         54151                  6004               Various                                                                                            $23.00
BENJAMIN WALTHER                  2208 LLOYD ST                                                      BELLEVUE        NE         68005                  6004               Various                                                                                            $23.00
BENJAMIN WELCH                    109 MORNING SIDE CT                                                MISSOULA        MT         59803                  6004               Various                                                                                             $6.00
BENJAMIN WHITE                    7510 TREE LN #4                                                    MADISON         WI         53717                  6004               Various                                                                                            $31.40
BENJAMIN WIEGAND                  402 S SUPERIOR ST                                                  DE PERE         WI         54115                  6004               Various                                                                                            $27.00
BENJAMIN WRIGHT                   1116 MORRIS AVE                                                    GREEN BAY       WI         54304                  6004               Various                                                                                             $6.60
BENJAMINE G DEAN                  717 W 3RD ST                                                       VALENTINE       NE         69201                  6002               Various                                                                                            $10.00
BENJIE HAYEK                      2858 DUNN RD                                                       MAYVILLE        WI         53050                  6002               Various                                                                                            $14.44
BENNETT ANSELL                    810 10TH AVENUE                                                    GRANITE FALLS   MN         56241                  6004               Various                                                                                             $1.01
BENNETT MONCRIEF                  4788 RIVER RD                                                      BUHL            ID         83316                  6004               Various                                                                                             $3.65
BENNY ZAVALA                      111 HAMILTON PLACE APT 2                                           FOND DU LAC     WI         54935                  6004               Various                                                                                             $5.00
BENO PLUMBING & HEATING INC       PO BOX 8025                                                        GREENBAY        WI         54308                                     Various                                                                                         $1,604.24
BENO PLUMBING & HEATING INCORP    PO BOX 8025                                                        GREEN BAY       WI         54308                   2467              Various                                                                                          $721.09

BENOIT/ MARISSA                   STORE 2-602                   SHOPKO EMPLOYEE 126 CHARLES STREET   OCONTO          WI         54153-9446             3951               Various                                                                                               $21.80
BENT J POUTTU                     32122 CABBAGE RD                                                   PELKIE          MI         49958                  6002               Various                                                                                                $2.16
BENTLEI L DAVIS                   3850 NORHT SHORE DR # APT8                                         MENOMINEE       MI         49858                  6002               Various                                                                                                $4.77
BENTLEY HAWKINS                   N1056 FREMONT RD                                                   WHITEWATER      WI         53190                  6002               Various                                                                                                $1.18
BENTLEY SWEEN                     325 4TH AVE NE                                                     STEWARTVILLE    MN         55976                  6002               Various                                                                                                $2.11
BENTLEY THE WEST                  W246N5797 PARTRIDGE LN                                             WAUKESHA        WI         53189                  6002               Various                                                                                               $10.00
BENTLY O'REILLY                   808 MARGARET ST                                                    RHINELANDER     WI         54501                  6002               Various                                                                                                $5.67
BENTLY REDHEART                   2021 RIPON AVE                                                     LEWISTON        ID         83501                  6002               Various                                                                                                $8.33

BENTON BIRDWELL                   54346 WALLA WALLA RIVER RD.                                        MILTON FREEWATER OR        97862                   6004              Various                                                                                            $23.00
BENTON FRANKLIN HEALTH DISTRIC    7102 W OKANOGAN PLACE                                              KENNEWICK        WA        99336                   0009              Various                                                                                           $200.00
BENTON ROWE                       757 SE MANLEY PL                                                   BEND             OR        97702                   6004              Various                                                                                            $20.00
                                                                                                                                                                          11/21/2018 -
BENTON RURAL ELECTRIC             PO BOX 6270                                                        KENNEWICK       WA         99336-0270             5501               12/20/2018                                                                                      $2,698.73
BERDINA MICHENER                  840 ERICA CT                                                       LINCOLN         NE         68522                  6004               Various                                                                                            $64.50




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            Creditor Name                    Address1             Address2           Address3            City          State           Zip   Country     Number                Claim                                                                             Total Claim
BERDINYA NOVAK                    49889 CTY RD # 132                                              SALOL             MN         56756                 6002                Various                                                                                             $2.38
BERG FAMILY                       124 W MT MORRIS AVE                                             WAUTOMA           WI         54982                 6002                Various                                                                                             $5.45
BERGENSONS PROPERTY SERVICES I    1575 HENTHORNE DRIVE                                            MAUMEE            OH         43537                 7785                Various                                                                                     $1,151,863.35
BERGER FAMILY                     50 SHADY RIVER WAY                                              COLUMBIA FALLS    MT         59912                 6002                Various                                                                                             $7.18
BERGSTROM ELECTRIC INC            PO BOX 13152                                                    GRAND FORKS       ND         58208                                     Various                                                                                          $362.30

BERGSTROM/ BRIDGET                STORE 4-025                 SHOPKO EMPLOYEE                     GREEN BAY         WI         54307-9060             1080               Various                                                                                          $211.86
BERKSHIRE FASHIONS                420 FIFTH AVENUE FLOOR 28                                       NEW YORK          NY         10018-0000             9013               Various                                                                                         $9,235.38
BERLINDA SPEARS                   1500 JUNCTION AVE                                               RACINE            WI         53403                  6002               Various                                                                                             $2.00
BERNADETTE PETERSON               1224 6TH AVE                                                    BELLE FOURCHE     SD         57717                  6002               Various                                                                                             $2.00
BERNADETTE SCHMIDT                1790 GREEN ACRES RD                                             MOSINEE           WI         54455                  6004               Various                                                                                            $13.99
BERNADINE JOHN                    9636 S WASATCH BLVD                                             SANDY             UT         84092                  6002               Various                                                                                             $1.84
BERNADINE LINDEN                  1840 12TH RD                                                    ALDEN             KS         67512                  6002               Various                                                                                             $0.99
BERNADINE PESICKA                 2222 3RD AVE SE #51                                             ABERDEEN          SD         57401                  6004               Various                                                                                            $12.16
BERNARD BARRIE                    11 WINTERBERRY TRAIL                                            MADISON           WI         53717                  6004               Various                                                                                            $53.01
BERNARD COURCHAINE                2167 HILLTOP DR                                                 GREEN BAY         WI         54313                  6002               Various                                                                                             $9.12
BERNARD COX                       6417 23RD AVE                                                   KENOSHA           WI         53143                  6004               Various                                                                                            $16.00
BERNARD KAYSER                    611 SPRUCE ST                                                   ALEXANDRIA        SD         57311                  6002               Various                                                                                             $7.18
BERNARD KNIGHT                    601 S RIDGE ST                                                  SHANNON           IL         61078                  6002               Various                                                                                             $5.92
BERNARD KOMER                     154 W NICKLAUS AVE                                              KALISPELL         MT         59901                  6002               Various                                                                                             $2.93
BERNARD L KAISER                  209 S VINE AVE                                                  MARSHFIELD        WI         54449                  6002               Various                                                                                             $1.92
BERNARD LANGAN                    4115 S 27TH STREET                                              LINCOLN           NE         68502                  6004               Various                                                                                            $44.00
BERNARD LEECE                     2600 DIAMOND AVE                                                WEBBER            KS         66970                  6002               Various                                                                                             $3.73
BERNARD LINCKS                    N7766 TOPPE RD                                                  WATERLOO          WI         53551                  6004               Various                                                                                            $27.00
BERNARD LOWIS                     1719 BELLEVUE BLVD N                                            BELLEVUE          NE         68005                  6004               Various                                                                                             $5.02
BERNARD TRENT                     34201 ARBOR LANE                                                BURLINGTON        WI         53105                  6002               Various                                                                                          $102.58
BERNETTA RILEY                    128 N 9TH ST                                                    MISSOURI VALLEY   IA         51555                  6002               Various                                                                                             $3.62
BERNICE BOSSELL                   W8645 OLD 54 RD                                                 SHIOCTON          WI         54170                  6004               Various                                                                                            $48.00
BERNICE COLO                      6611 20TH AVE                                                   KENOSHA           WI         53143                  6002               Various                                                                                             $4.16
BERNICE HESS                      1022 S SUMMIT AVE                                               NEWCASTLE         WY         82701                  6002               Various                                                                                             $9.26
BERNICE INSKEEP                   PO BOX 417                                                      SALMON            ID         83467                  6002               Various                                                                                             $6.58
BERNICE JOCHUM                    555 VICTORY AVE                                                 SARTELL           MN         56377                  6002               Various                                                                                             $6.05
BERNICE KUGEL                     130 BADGER LANE             APT 134                             GREEN BAY         WI         54303                  6004               Various                                                                                            $12.00
BERNICE LOVEKAMP                  203 STANTON ST                                                  BLUFFS            IL         62621                  6002               Various                                                                                            $10.32
BERNICE MAY                       3828 17TH STREET C                                              LEWISTON          ID         83501                  6002               Various                                                                                            $12.95
BERNICE SEITZ                     222 NORTH 2ND                                                   ARTESIAN          SD         57314                  6004               Various                                                                                             $8.23
                                                              2006 GOLDEN BELL
BERNICE VANDERMUSS                C/O CHAD C SRENASKI         DR                                  GREEN BAY         WI         54313                  6002               Various                                                                                            $48.90
BERNICE WHITEMAN                  1126 MAIN ST APT 68                                             ONALASKA          WI         54650                  6002               Various                                                                                             $6.82
BERNICK COMPANIES OF ST CLOUD     PO BOX 7457                                                     ST CLOUD          MN         56302-7457             9615               Various                                                                                        $15,735.28
BERNIE BUCHNER, INC.              224 CAUSEWAY BLVD.                                              LA CROSSE         WI         54603                                     Various                                                                                          $604.06
BERNIE DOCKINS                    103 SHAMROCK DR                                                 YAKIMA            WA         98908                   6004              Various                                                                                            $27.74
BERNIES EQUIPMENT CO              307 NORTH STAR ROAD                                             HOLMEN            WI         54636                                     Various                                                                                          $265.00
BERNITA ETERNICKA                 N11857 HIGHWAY 17 PMB S                                         RHINELANDER       WI         54501                  6002               Various                                                                                             $4.49
BERNITA FARMER                    BOX 1102                                                        MISSION           SD         57555                  6002               Various                                                                                             $5.81
BERONICA VALADEZ                  416 MUELLER ST                                                  ATHENS            WI         54411                  6002               Various                                                                                             $7.40
BERT LILLA                        S3473 COLDBLUFF LANE                                            FOUNTAIN CITY     WI         54629                  6004               Various                                                                                             $6.00
BERT PARKER                       38 1/2 N MAIN ST APT 3                                          RICE LAKE         WI         54868                  6004               Various                                                                                             $1.00
BERTA MILLS                       432 N 200TH E                                                   SPANISH FORK      UT         84660                  6002               Various                                                                                             $6.58
BERTHA ARANDA                     2025 VINE ST                                                    GREEN BAY         WI         54302                  6002               Various                                                                                             $9.67
BERTHA GONZALEZ MARTINEZ          2214 S BROADWAY                                                 ROCHESTER         MN         55904                  6002               Various                                                                                             $2.30
BERTHA LOZAND                     922 STAR RD                                                     JEFFERSON         WI         53549                  6002               Various                                                                                             $4.41
BERTHA NYIRARUHANGA               529 N 40TH ST                                                   OMAHA             NE         68131                  6004               Various                                                                                             $4.00
BERTHA SANCHEZ                    412 N. ELM ST.                                                  TOPPENISH         WA         98948                  6004               Various                                                                                          $100.00




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BERTHINA WILLIAMS              1420 ALICE AVE APT 4                                           IDAHO FALLS        ID         83402                 6002                Various                                                                                             $1.89
BERTLING FAMILY                40 N PIONEER PKWY                                              FOND DU LAC        WI         54935                 6002                Various                                                                                             $0.55
BERTRUCE BEALS                 PO BOX 22                                                      NEWBURG            WI         53060                 6002                Various                                                                                             $6.93
BES COFFEE & VENDING           3330 S RIDGE ROAD                                              GREEN BAY          WI         54304-0000            0436                Various                                                                                          $681.75
BESSIE FRAMSTAD                C/O MARY ATKINSON            113 PUFFIN LANE                   WILLIAMSBURG       VA         23188                 6002                Various                                                                                             $2.58
BEST MADE TOYS                 120 ST. REGIS CRES. NORTH,                                     TORONTO            ON         M3J 1Z3      CANADA 6412                  Various                                                                                        $40,711.92
BESTCO INCORPORATED            2980 MOMENTUM PLACE                                            CHICAGO            IL         60689-5329            5516                Various                                                                                         $7,867.32

BESTUL/ TAMMY                  STORE 2-733                  SHOPKO EMPLOYEE 226 E LINCOLN     FERGUS FALLS       MN         56537                   2497              Various                                                                                            $13.91
BESTWAY DISPOSAL               2314 MILLER ROAD                                               KALAMAZOO          MI         49001                                     Various                                                                                         $1,130.00
BETH A BATES                   417 PLEASURE ST                                                CHETEK             WI         54728                   6002              Various                                                                                             $8.58
BETH BARTELL                   301 CHURCH ST A                                                WATERTOWN          WI         53094                   6002              Various                                                                                             $6.00
BETH BENZSCHAWEL               1830 MILL RD                                                   GREENLEAF          WI         54126                   6002              Various                                                                                             $8.90
BETH CARLSON                   115 N MAIN ST                                                  JANESVILLE         MN         56048                   6002              Various                                                                                             $1.12
BETH COOK                      BOX 337                                                        BELLE FOURCHE      SD         57717                   6002              Various                                                                                             $1.75
BETH DJUPLIN                   2124 25TH STREET                                               KENOSHA            WI         53140                   6004              Various                                                                                            $10.00
BETH ELDRIDGE                  468 E BOUNDARY DRIVE                                           WEST SALEM         WI         54669                   6002              Various                                                                                             $1.00
BETH EMMONS                    1708 W 44TH ST                                                 SIOUX FALLS        SD         57105                   6004              Various                                                                                            $13.97
BETH FAUVER                    125 GRACE AVE                                                  WORLAND            WY         82401                   6002              Various                                                                                             $7.92
BETH GREER                     433 N TERRACE                                                  JANESVILLE         WI         53545                   6004              Various                                                                                             $8.98
BETH HANSEN                    W8668 SMITH CREEK RD                                           CRIVITZ            WI         54114                   6002              Various                                                                                            $10.00
BETH HURST                     1144 E 250TH N                                                 OREM               UT         84097                   6002              Various                                                                                             $1.84
BETH INGALLS-LEISSES           104 FAKES COURT, APT 319                                       BEAVER DAM         WI         53916                   6004              Various                                                                                            $21.96
BETH KETTWIG                   RR 1 BOX 2080                                                  DONIPHAN           MO         63935                   6002              Various                                                                                             $2.60
BETH KNAPP                     1624 N VIOLA ST                                                APPLETON           WI         54911                   6002              Various                                                                                             $6.82
BETH LOHMEYER                  PO BOX 43                                                      BLUE SPRINGS       NE         68318                   6002              Various                                                                                             $0.74
BETH MARSH                     9230 W METCALF PLACE                                           MILWAUKEE          WI         53222                   6004              Various                                                                                            $48.00
BETH PARRETT                   1348 1/2 OAKS ST                                               MARINETTE          WI         54143                   6002              Various                                                                                             $0.85

BETH PETERS                    411 STRODMAN AVENUE                                            WISCONSIN RAPIDS   WI         54494                   6004              Various                                                                                                $4.37
BETH PIESCHKE                  1112 13TH ST NE                                                WATERTOWN          SD         57201                   6002              Various                                                                                                $0.33
BETH PLAGGEMEYER               973 HOWARD ST                                                  STURGIS            SD         57785                   6002              Various                                                                                                $8.08
BETH PLUMMER                   N7245 LEIBEL COURT                                             HOLMEN             WI         54636                   6004              Various                                                                                               $32.00
BETH PROPP                     2585 LINEVILLE RD                                              GREEN BAY          WI         54313                   6002              Various                                                                                                $8.52
BETH ROGGE                     2680 ST ANNE DRIVE                                             GREEN BAY          WI         54311                   6004              Various                                                                                               $17.06
BETH SCHRUPP                   49693 397TH PL                                                 PALISADE           MN         56469                   6002              Various                                                                                                $2.30
BETH STROM                     318 W MAPLE AVE                                                FERGUS FALLS       MN         56537                   6002              Various                                                                                                $5.56
BETH THOMPSON                  26780 541ST. AVE.                                              AUSTIN             MN         55912                   6004              Various                                                                                               $25.50
BETH TOMLIN                    2802 DRIDEN DRIVE #104                                         MADISON            WI         53704                   6004              Various                                                                                               $25.00
BETH WOLSKE                    1963 HILL RD                                                   GREENLEAF          WI         54126                   6002              Various                                                                                                $2.79
BETH ZUEGE-GILBERTSON          923 MILLER ST                                                  KEWAUNEE           WI         54216                   6002              Various                                                                                                $0.68
BETHANIE VICTOR RAMES          120 S 90TH ST                                                  OMAHA              NE         68114                   6004              Various                                                                                               $43.00
BETHANNE BISSELL               192 S LARKIN LANE                                              KAYSVILLE          UT         84037                   6004              Various                                                                                               $26.00
BETHANY A STONE                5055 CATALINA CT                                               MANITOWOC          WI         54220                   6002              Various                                                                                                $4.60
BETHANY BARNES                 146 RIVERVIEW D                                                GREAT FALLS        MT         59404                   6002              Various                                                                                                $1.53
BETHANY BUESCHER               2245 DEARBORN                                                  MISSOULA           MT         59801                   6004              Various                                                                                               $75.00
BETHANY COX                    PO BOX 3                                                       AHSAHKA            ID         83520                   6002              Various                                                                                                $5.01
BETHANY ELVIN                  N7384 MARINER HILLS CIRCLE                                     ELKHORN            WI         53121                   6004              Various                                                                                               $30.00
BETHANY HANSON                 5249 381ST LANE                                                NORTH BRANCH       MN         55056                   6004              Various                                                                                                $5.00
BETHANY HARTWIG                1520 EDGEWOOD CT APT 2                                         PLATTEVILLE        WI         53818                   6004              Various                                                                                               $34.98
BETHANY HUBBLE                 417 EAST FIRST AVE           #6                                ELKHORN            WI         53121                   6004              Various                                                                                               $15.00
BETHANY L LENTZ                175 SILSBEE AVE                                                HELENA             MT         59602                   6002              Various                                                                                                $4.77
BETHANY M BABINEC              154 LONE OAK LN APT 2                                          HARTFORD           WI         53027                   6002              Various                                                                                                $4.27
BETHANY MILLIGAN               18200 51ST AVE                                                 CHIPPEWA FALLS     WI         54729                   6002              Various                                                                                                $9.56




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                                                                                                                                                                                              Contingent


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                                                                                                                                                        Account         Incurred, Basis for
               Creditor Name                Address1                Address2        Address3             City         State           Zip   Country     Number                Claim                                                                             Total Claim
BETHANY NEIS                    732 MECHANIC ST                                                  OSAGE             IA         50461                 6004                Various                                                                                               $22.50
BETHANY PENROSE                 1830 MAPLE ST NE             #503                                STEWARTVILLE      MN         55976                 6004                Various                                                                                                $3.00
BETHANY SCHOENER                38238 436TH ST                                                   SAINT PETER       MN         56082                 6002                Various                                                                                                $3.10
BETHANY SEARLE                  573 SAFSTROM AVE                                                 IDAHO FALLS       ID         83401                 6002                Various                                                                                                $9.37
BETHANY SHEPHERD                1116 1/20 EAST KEMP AVE      APT 20                              WATERTOWN         SD         57201                 6004                Various                                                                                               $30.00
BETHANY VOELKER                 2255 SAMANTHA STREET         APT 17                              DE PERE           WI         54115                 6004                Various                                                                                               $25.00
BETHEL JORDAN                   HC 6 BOX 228B                                                    GATEWOOD          MO         63942                 6002                Various                                                                                                $2.33
BETH-SHUA CANO                  207 BUTTERNUT DRIVE                                              DELAVAN           WI         53115                 6004                Various                                                                                               $10.00
BETSY ARENAS                    424 NORTH 6TH STREET                                             MARHSHALL         MN         56258                 6004                Various                                                                                               $10.00
BETSY BROWN                     251 8TH AVENUE E                                                 TWIN FALLS        ID         83301                 6004                Various                                                                                                $5.00
BETSY L FRISCH                  401 E 6TH ST                                                     NEILLSVILLE       WI         54456                 6002                Various                                                                                                $4.05
BETSY LATHAM                    9935 W SUSSEX DR                                                 BOISE             ID         83704                 6002                Various                                                                                                $0.93
BETTE HINZ                      1825 GRANT ST                                                    BEATRICE          NE         68310                 6002                Various                                                                                                $8.32
BETTE NOREN                     5006 MALLORY LN                                                  LOLO              MT         59847                 6004                Various                                                                                               $13.44
                                                             19808 NORDHOFF
BETTER OFFICE PRODUCTS          DEM HOLDINGS INC             PLACE                               CHATSWORTH        CA         91311-0000             7381               Various                                                                                         $9,998.68
BETTIE FARMER                   431 LABOR DR                                                     JACKSONVILLE      IL         62650                  6002               Various                                                                                            $12.10
BETTINA SCHULTZ                 412 E SALEM HILLS CIR                                            SALEM             UT         84660                  6002               Various                                                                                             $5.97
BETTY A MERCADO                 36242 COUNTY ROAD 63                                             SAINT PETER       MN         56082                  6002               Various                                                                                             $4.79
BETTY A USELDINGER              44536 150TH ST SW                                                EAST GRAND FORK   MN         56721                  6002               Various                                                                                             $6.41
BETTY A. SLABAUGH               1111 GORES ST                                                    LA CROSSE         WI         54603                  6002               Various                                                                                             $7.26
BETTY ANDING                    427 ALLEY ST                                                     MAYVILLE          WI         53050                  6002               Various                                                                                             $6.22
BETTY ANN JONES                 180 Y-O RD                                                       WHEATLAND         WY         82201                  6002               Various                                                                                             $8.88
BETTY AUSTIN                    8691 SHIRLEY RD                                                  CHERRY VALLEY     IL         61016                  6004               Various                                                                                            $19.73
BETTY BENNER                    1475 17TH ST APT 3F                                              WINDOM            MN         56101                  6004               Various                                                                                             $3.00
BETTY CAMPBELL                  827 N GRANDRIDGE DR                                              SALT LAKE CITY    UT         84103                  6002               Various                                                                                             $6.41
BETTY DALLAS                    PO BOX 91 PMB 200                                                THORP             WI         54771                  6002               Various                                                                                             $7.70

BETTY ESLINGER                  1515 VANDENBROEK RD LOT 79                                       LITTLE CHUTE      WI         54140                  6002               Various                                                                                             $7.48
BETTY FINN                      3706 DAMON STREET 35                                             EAU CLAIRE        WI         54703                  6002               Various                                                                                             $1.07
BETTY FITZGERALD                2041 MAIN AVE                                                    CRETE             NE         68333                  6002               Various                                                                                             $1.84
BETTY G HUDSON                  4946 W 17TH S                                                    IDAHO FALLS       ID         83402                  6002               Various                                                                                             $1.42
BETTY GEARY                     406 N MAIN APT 5                                                 MADISON           NE         68748                  6004               Various                                                                                            $25.00
BETTY GUNVILLE                  2016 TOWN RD N                                                   FLORENCE          WI         54121                  6002               Various                                                                                             $7.18
BETTY GUYETTE                   W4480 CALNIN RD                                                  BLACK CREEK       WI         54106                  6002               Various                                                                                             $3.04
BETTY HARMON                    RR 1 BOX 2165                                                    DONIPHAN          MO         63935                  6002               Various                                                                                             $3.04
BETTY HENDRICKSON               2908 HARMONY CT                                                  MISSOULA          MT         59801                  6002               Various                                                                                             $0.60
BETTY J CHRISTOFFERSON          145 N CEDAR ST                                                   NEKOOSA           WI         54457                  6002               Various                                                                                             $6.55
BETTY J HAUCK                   12 PARADISE LN                                                   HELENA            MT         59602                  6002               Various                                                                                             $6.03
BETTY J. GRICE                  826 MOORE ST                                                     BELOIT            WI         53511                  6002               Various                                                                                             $8.93
BETTY J. HALVERSON              23695 SUNRISE RD NE                                              STACY             MN         55079                  6002               Various                                                                                             $3.56
BETTY J. MURPHY                 1405 CRYSTAL LAKE CIR                                            GREEN BAY         WI         54311                  6002               Various                                                                                             $0.79
BETTY J. SELLERS                4159 NEVADA AVE                                                  GRAND ISLAND      NE         68803                  6002               Various                                                                                             $5.26
BETTY KEITH                     1142 ROCKWELL RD                                                 GREEN BAY         WI         54313                  6002               Various                                                                                             $5.18
BETTY KELLNER                   135 LAUREL LN                                                    GREEN BAY         WI         54311                  6002               Various                                                                                             $4.88
BETTY KEMPER                    GARDEN SQ                                                        CRETE             NE         68333                  6002               Various                                                                                            $10.00
BETTY KOHLBECK                  W231N7418 FIELD DR                                               SUSSEX            WI         53089                  6002               Various                                                                                             $5.75
BETTY KOONS                     2938 9TH COURT                                                   FRIENDSHIP        WI         53934                  6002               Various                                                                                             $8.68
BETTY KRCMA                     PO BOX 9414                                                      GREEN BAY         WI         54308                  6002               Various                                                                                             $7.07
BETTY KRUEGER                   901 LINCOLN AVE                                                  WAUSAU            WI         54403                  6002               Various                                                                                             $8.32
BETTY L BEARY                   1327 FIRST AVENUE EAST                                           NEWTON            IA         50208-4095             5977               Various                                                                                         $7,884.59
BETTY LEVANDOSKI                21343 WOLF RUN LN # 38                                           GALESVILLE        WI         54630                  6002               Various                                                                                            $10.00
BETTY LOMINYO                   3613 N CAREER AVE APT 101                                        SIOUX FALLS       SD         57107                  6002               Various                                                                                             $9.56
BETTY LONG                      9377 HWY N WEST                                                  SAYNER            WI         54560                  6004               Various                                                                                            $20.00




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BETTY LOU WELTY                   1600 RIVERVIEW DR                                               KINGSFORD         MI         49802                 6002                Various                                                                                                $8.25
BETTY M SMITH                     5515 S 1025TH E                                                 OGDEN             UT         84405                 6002                Various                                                                                                $2.49
BETTY MARBLE                      6404 29 AVE                                                     KENOSHA           WI         53143                 6004                Various                                                                                                $9.99
BETTY MCKINLEY                    PO BOX 88                                                       LYMAN             WY         82937                 6002                Various                                                                                                $6.90
BETTY MCMANUS                     2544 SOUTHWOOD DR                                               APPLETON          WI         54915                 6002                Various                                                                                                $8.82
BETTY MURPHY                      RR 8 BOX 8508                                                   DONIPHAN          MO         63935                 6002                Various                                                                                                $1.94
BETTY OBRIEN                      19 WATER ST                                                     RICE LAKE         WI         54868                 6002                Various                                                                                                $1.14
BETTY OLSEM                       36863 380TH ST.                                                 HERON LAKE        MN         56137                 6004                Various                                                                                                $3.00
BETTY OSTERGARD                   407 S WALNUT                                                    FORRESTON         IL         61030                 6002                Various                                                                                                $9.92
BETTY OSTROWSKI                   292 S MAIN STREET                                               AMHERST           WI         54406                 6002                Various                                                                                               $40.01
BETTY PEARSON                     413 STEWART AVE                                                 PERU              IA         50222                 6002                Various                                                                                                $8.36
BETTY PRICE                       PO BOX 225                                                      OSAGE             WY         82723                 6002                Various                                                                                                $4.82
                                                                2100 NORTH
                                                                WSSCONSIN APT
BETTY PULSE                       COUNTRY SIDE LIVING           137                               MITCHELL          SD         57301                  6004               Various                                                                                               $10.20
BETTY R OLSON                     1101 DODGE ST                                                   EAU CLAIRE        WI         54701                  6002               Various                                                                                                $6.27
BETTY RAMSEY                      13402 E. 4TH                                                    SPOKANE           WA         99216                  6004               Various                                                                                               $18.38
BETTY RESS                        W 682 WILLARD RD                                                SPENCER           WI         54479                  6002               Various                                                                                                $2.79
BETTY RING                        933 EUREKA RIDGE LOOP                                           OROFINO           ID         83544                  6002               Various                                                                                                $0.66
BETTY ROOK                        45284 SD HIGHWAY 34                                             MADISON           SD         57042                  6002               Various                                                                                                $1.26
BETTY SCHMITZ                     W4133 GILLS COULEE RD S                                         WEST SALEM        WI         54669                  6002               Various                                                                                                $0.27
BETTY SCHOCK                      W28686 RAINY VALLEY RD                                          ARCADIA           WI         54612                  6002               Various                                                                                                $6.44
BETTY STANISLOWSKI                W26191 STATE ROAD 54/35                                         TREMPEALEAU       WI         54661                  6002               Various                                                                                                $3.00
BETTY STINSON                     5021 SINGING TREE DR                                            RACINE            WI         53406                  6002               Various                                                                                                $8.65
BETTY STRAIGHT                    201 E CAMERON ST                                                ALBANY            MO         64402                  6002               Various                                                                                                $6.82
BETTY SUSAN TULL                  506 W MILL ST                                                   GALLATIN          MO         64640                  6002               Various                                                                                                $0.82
BETTY THOMPSON                    1401 10TH AVE N                                                 WISCONSIN RAPID   WI         54495                  6002               Various                                                                                                $7.10
BETTY THOMS                       PO BOX 489                                                      BAILEYS HARBOR    WI         54202                  6002               Various                                                                                                $8.44
BETTY UVAAS                       7113 CTY RD II                                                  LARSEN            WI         54947                  6002               Various                                                                                                $1.21
BETTY WALBORN                     4993 W LAMAR WAY                                                WVC               UT         84120                  6002               Various                                                                                               $10.00
                                                                131 W WALNUT
BETTY WHIPPLE                     C/O JEFF WHIPPLE              PLACE                             STURGEON BAY      WI         54235                  6002               Various                                                                                                $2.00
BETTY WICKESBERG                  N6631 STATE ROAD                                                BLACK CREEK       WI         54106                  6002               Various                                                                                                $7.86
BETTY WILLIAMS                    13969 LENNON SCHOOL RD                                          OELRICHS          SD         57763                  6002               Various                                                                                                $3.37
BETTY WILSON                      45909 BLUEBERRY RD                                              NEWPORT           NE         68759                  6002               Various                                                                                                $4.47

BETTY WODILL                      EAST 2585 SOUTHWOOD DRIVE                                       WAUPACA           WI         54981                  6004               Various                                                                                            $17.29
BETZABEL RODRIGUEZ-SERNA          335 N. WAKELY STREET                                            WHITEWATER        WI         53190                  6004               Various                                                                                             $2.00
BETZY GONZALEZ MARTIN             1208 WISCONSIN DRIVE APT B                                      JEFFERSON         WI         53549                  6004               Various                                                                                             $2.00
BETZY GONZALEZ-MARTINEZ           677 E. LAKE STREET - LOT 20                                     LAKE MILLS        WI         53551                  6004               Various                                                                                             $2.00
BEULAH CHAMBER OF COMMERCE        PO BOX 730                                                      BEULAH            ND         58523-0730             9716               Various                                                                                          $160.00
BEV DILSAVER                      1860 N 81ST                                                     LINCOLN           NE         68505                  6004               Various                                                                                             $9.70
BEV HALAGARDA                     603 MAIN ST APT 2                                               PLATTSMOUTH       NE         68048                  6002               Various                                                                                             $4.85
BEV KIELER                        64426 735TH RD                                                  PERU              NE         68421                  6002               Various                                                                                             $2.27
BEV LARDINOIS                     1076 VALLEY VIEW RD                                             GREEN BAY         WI         54304                  6002               Various                                                                                             $7.97
BEV NELSON                        BOX 327                                                         HUDSON            WY         82515                  6002               Various                                                                                             $7.92
BEVCO SALES DIV OF SHASTA BEVE    SHASTA BEVERAGES              PO BOX 281335                     ATLANTA           GA         30384                  8402               Various                                                                                         $8,138.60
BEVERLEY OSBORNE                  1214 E ADAMS AVE APT 2                                          RIVERTON          WY         82501                  6002               Various                                                                                             $1.18
BEVERLY ## SAMPLEY                2505 S 153RD CIR                                                OMAHA             NE         68144                  6002               Various                                                                                             $8.25

BEVERLY BEACH                     304 3RD ST NE SHALOM TOWERS                                     MASON CITY        IA         50401                   6002              Various                                                                                                $2.77
BEVERLY CLARK                     1680 CALKINS AVE APT 1                                          IDAHO FALLS       ID         83402                   6002              Various                                                                                                $8.63
BEVERLY COENEN                    3581 PINE FOREST DR                                             GREEN BAY         WI         54313                   6002              Various                                                                                                $3.51
BEVERLY DUKE                      7140 S 1190TH W                                                 WEST JORDAN       UT         84084                   6002              Various                                                                                                $6.79




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              Creditor Name                   Address1            Address2           Address3              City        State         Zip     Country     Number                Claim                                                                             Total Claim
BEVERLY EWALT                     14130 439TH AVE.                                                WEBSTER           SD         57274                 6004                Various                                                                                            $10.72
BEVERLY FELLOWS                   722 W 18TH ST                                                   ROCK FALLS        IL         61071                 6002                Various                                                                                             $6.63
BEVERLY HARRIS                    13284 FALL RIVER RD                                             HOT SPRINGS       SD         57747                 6002                Various                                                                                             $8.99
BEVERLY HAWKES                    4195 BASIN GARDEN ROAD                                          BASIN             WY         82410                 6002                Various                                                                                             $2.08
BEVERLY HYDEN                     223 S 100TH W                                                   TREMONTON         UT         84337                 6002                Various                                                                                             $3.73
BEVERLY J MARTY                   7350 DODD RD                                                    SIREN             WI         54872                 6002                Various                                                                                             $6.41
BEVERLY JOHNSON                   208 DEER VALLEY RD.         APT 1                               MADISON           WI         53713                 6004                Various                                                                                             $2.00
BEVERLY JUNE EGEMO                821 RIDGEVIEW ST                                                BELLE FOURCHE     SD         57717                 6002                Various                                                                                             $2.77
BEVERLY JUNGERT                   PO BOX 504                                                      ASOTIN            WA         99402                 6004                Various                                                                                            $10.00
BEVERLY K WILLIAMSON              RR 2 BOX 5012                                                   DONIPHAN          MO         63935                 6002                Various                                                                                             $4.77
BEVERLY K. WHITNEY                108 MAIN ST E                                                   ROCKWELL          IA         50469                 6002                Various                                                                                             $1.01
BEVERLY KIRST                     11221 80 TH ST S                                                WIS RAPIDS        WI         54494                 6004                Various                                                                                             $6.82
BEVERLY LADIN                     1409 S 15TH ST                                                  ESCANABA          MI         49829                 6002                Various                                                                                             $0.41
BEVERLY M DOUGLAS                 1127 E 5150TH S                                                 SOUTH OGDEN       UT         84403                 6002                Various                                                                                             $7.95
BEVERLY MARKEGARD                 BOX 311                                                         HOUSTON           MN         55943                 6002                Various                                                                                             $2.08
BEVERLY MILLER                    1031 CHANTELL                                                   GREEN BAY         WI         54304                 6002                Various                                                                                             $6.19
BEVERLY MOCK                      W5294 HEFTY RD                                                  MONTICELLO        WI         53570                 6004                Various                                                                                            $15.00
BEVERLY PORZNER                   17 E GATE RD                                                    GARDINER          MT         59030                 6002                Various                                                                                             $0.79
BEVERLY PRALLE                    425 MAYFAIR PL                                                  ONALASKA          WI         54650                 6002                Various                                                                                             $2.90
BEVERLY ROBERTSON                 1220 S SPRING STREET                                            PALMYRA           MO         63461                 6002                Various                                                                                             $1.66
BEVERLY SCHOFF                    31-18 MEDINAH DR                                                LANARK            IL         61046                 6002                Various                                                                                             $7.15
BEVERLY SCHULTZ                   114 S 6TH ST APT 2                                              PLATTSMOUTH       NE         68048                 6002                Various                                                                                             $8.68
BEVERLY SHAUL                     810 20TH ST APT 33                                              GOTHENBURG        NE         69138                 6002                Various                                                                                             $6.99
BEVERLY TAYLOR                    5700 FREMONT #113                                               LINCOLN           NE         68507                 6004                Various                                                                                            $72.00
BEVERLY TILLOTSON                 PO BOX 372                                                      LAVA HOT SPRING   ID         83246                 6002                Various                                                                                             $0.99
BEVERLY WINTERS                   1608 N 2ND AVE                                                  WAUSAU            WI         54401                 6002                Various                                                                                             $7.95
BEVIN BEAVER                      5936 450TH ST                                                   HARRIS            MN         55032                 6004                Various                                                                                            $20.00
BG DISTRIBUTION & MARKETING       42 LAIRD DRIVE                                                  TORONTO           ON         M4G 3T2      CANADA 1463                  Various                                                                                         $2,195.13
BGL                               6075 STATE STREET                                               SALEM             OR         97317                                     Various                                                                                         $2,126.45
BHAVNA CHAUDHARI                  902 E HIGHWAY 44                                                WINNER            SD         57580                   6002              Various                                                                                             $6.90
BIA CORDON BLEU INC               PO BOX 395                                                      GALT              CA         95632-0395              9260              Various                                                                                         $9,062.90
BIANCA ASPERO                     2887 CHURCH ST.                                                 COTTAGE GROVE     WI         53527                   6004              Various                                                                                             $1.00
BIANCA DAVIS                      948 JOHN DR                                                     BILLINGS          MT         59101                   6004              Various                                                                                            $66.02
BIANCA SANCHEZ                    14 KIVELL DR NE                                                 CHATFIELD         MN         55923                   6002              Various                                                                                             $0.38
BIBIANA HESSELMAN                 1830 EAGLE DR                                                   NEENAH            WI         54956                   6004              Various                                                                                             $3.20
BIBIANA SEGURA                    3654 WILLOW RIGDE-DR SW     TRLR 23                             ROCHESTER         MN         55902                   6004              Various                                                                                             $6.00
BIC CORPORATION                   PO BOX 40000 DEPT 399                                           HARTFORD          CT         06151-0399              2217              Various                                                                                        $62,020.02
BI-CO DISPOSAL                    2022 325TH AVE                                                  DYERSVILLE        IA         52040                                     Various                                                                                         $1,407.25

BIDDEFORD BLANKETS L L C          VICE PRESIDENT OF SALES     300 TERRACE DRIVE                   MUNDELEIN         IL         60060-3836              7754              Various                                                                                         $6,680.31

BIERBOWER/ SAMANTHA               STORE 2-670                 SHOPKO EMPLOYEE 615 DEARBORN STREET WAYNE             NE         68787                   2692              Various                                                                                               $12.31
                                                              1600 AMERICAN
BIG APPLE BAGELS                  BAGELS & COFFEE LLC         DRIVE                               PLOVER            WI         54467                   9288              Various                                                                                               $71.72
                                  115 WEST 30TH STREET 8TH
BIG JEWELRY COMPANY LLC (C-HUB    FLOOR                                                           NEW YORK          NY         10001                   0384              Various                                                                                         $4,685.70
BIG MAC DISPOSAL                  3333 W 900 N                                                    TANGIER           IN         47952                                     Various                                                                                          $480.00
                                                                                                                                                                         11/29/2018 -
BIG MUDDY CO-OP                   301 WEST FIRST AVENUE                                           PLENTYWOOD        MT         59254                   9024              12/31/2018                                                                                      $1,625.00
BIG POND PROPERTIES LLC           THOMAS J & DENISE B MOYLE   PO BOX 414                          HOUGHTON          MI         49931                   2603              Various                                                                                         $5,429.09
                                                              E10972 HANSON
BIG R PAINTING SERVICES LLC       RANDALL VAN ENKEVORT        ROAD                                CLINTONVILLE      WI         54929                   6185              Various                                                                                        $38,371.20




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                                                                                                                                                        Account         Incurred, Basis for
            Creditor Name                    Address1              Address2           Address3             City       State        Zip     Country      Number                Claim                                                                             Total Claim

                                                               N59 W14053
BIG SYSTEMS LLC                   JOSEPH Y JONES               BOBOLINK AVENUE                     MENOMONEE FALLS   WI       53051-5901             1808               Various                                                                                         $1,083.78
BIGFOOT BEVERAGES                 PO BOX 10728                                                     EUGENE            OR       97440-0000             1725               Various                                                                                         $4,068.95
BIKO GOODE                        1521 TRAILSWAY APT 5                                             MADISON           WI       53704                  6004               Various                                                                                             $7.85
BILAD IBRAHIM                     590 PARK MEADOWS DR          APT 207                             WAITE PARK        MN       56387                  6004               Various                                                                                             $3.00
BILAL HASSAN                      1069 ROLAND LN               APT 8                               GREEN BAY         WI       54303                  6004               Various                                                                                             $1.00
BILL BOLGREN                      627 3RD ST SE                                                    MASON CITY        IA       50401                  6002               Various                                                                                            $10.76
BILL COFFEN                       N9044 LANETTA DR                                                 BRILLION          WI       54110                  6002               Various                                                                                             $6.99
BILL CUNDIFF                      35058 COUNTY ROAD 129                                            SIDNEY            MT       59270                  6002               Various                                                                                             $2.00
BILL DRIESSEN                     116 E NATIONAL AVE APT 6                                         BRILLION          WI       54110                  6004               Various                                                                                            $40.00
BILL HERRINGTON                   46200 BENTON RD                                                  BASSETT           NE       68714                  6002               Various                                                                                             $5.23
BILL HERROLD                      316 WADLEIGH ST                                                  STEVENS POINT     WI       54481                  6002               Various                                                                                             $1.51
BILL KABACINSKI                   1825 SHAWANO AVE                                                 GREEN BAY         WI       54303                  6002               Various                                                                                             $9.81
BILL KONOPIK                      2701 EDWARDS                                                     BELLEVUE          NE       68005                  6004               Various                                                                                            $10.00
BILL NEWELL                       875 E 200TH S                                                    OREM              UT       84057                  6002               Various                                                                                             $6.14
BILL P LOOKINGBILL                660 WASHAKIE ST                                                  LANDER            WY       82520                  6002               Various                                                                                             $6.58
BILL PELSTER                      2162 120TH ST                                                    PETERSBURG        NE       68652                  6002               Various                                                                                            $10.00
BILL ROBBINS                      PO BOX 276                                                       KEVIN             MT       59454                  6002               Various                                                                                            $10.00
BILL STAGEMEYER                   BOX 873                                                          UPTON             WY       82730                  6002               Various                                                                                             $4.38
BILL VANSICKEL                    20220 AVALANCHE RD                                               WHITEWOOD         SD       57793                  6002               Various                                                                                             $7.34
BILL WILKINSON                    19 YORK RANCH RD                                                 DOUGLAS           WY       82633                  6002               Various                                                                                             $6.05
BILLIE BELL                       1113 SCHOOL ST                                                   TWO RIVERS        WI       54241                  6004               Various                                                                                             $1.00
BILLIE FLYNN                      PO BOX 103                                                       ELLIS             ID       83235                  6002               Various                                                                                             $2.11
BILLIE HARPOLE                    4199 HIGHWAY 11                                                  OROFINO           ID       83544                  6002               Various                                                                                             $6.11
BILLIE JEAN PAJAK                 21640 IBIS ST NW                                                 CEDAR             MN       55011                  6002               Various                                                                                             $7.18
BILLIE JO LUNDEQUAM               310 S SECOND ST                                                  CAMERON           WI       54822                  6002               Various                                                                                            $10.00
BILLIE MIZE                       793 N ADAMS AVE SPC 17                                           BUFFALO           WY       82834                  6002               Various                                                                                             $3.32
BILLIE WHITFORD                   PO BOX 23162                                                     BILLINGS          MT       59104                  6004               Various                                                                                             $2.00
BILLIELYN SHAFER                  364 THOMAS CT                                                    NEENAH            WI       54956                  6002               Various                                                                                             $9.89

BILLODEAU/ BETH                   STORE 733                    SHOPKO EMPLOYEE 226 E LINCOLN       FERGUS FALLS      MN       56538                  4437               Various                                                                                            $18.37
BILLS DISTRIBUTING LIMITED        5900 PACKER DRIVE                                                MENOMONIE         WI       54751-0000             5903               Various                                                                                         $4,209.10
BILLY C. ARNDT                    301 S MARKET ST                                                  GALLATIN          MO       64640                  6002               Various                                                                                             $8.27
BILLY COBB                        1716 HOWE STREET                                                 RACINE            WI       53403                  6002               Various                                                                                             $8.49
BILLY DAVIS                       129 W NORTH ST TRLR # 1                                          WEST POINT        NE       68788                  6002               Various                                                                                             $8.66
BILLY DE MOSS                     5504 ROZA HILL DRIVE                                             YAKIMA            WA       98901                  6004               Various                                                                                            $15.00
BILLY DILL                        11791 E 960TH LN                                                 MOUNT CARMEL      IL       62863                  6002               Various                                                                                             $7.37
BILLY GERMEN                      917 W FAIRVIEW ST. APT. 5C                                       COLFAX            WA       99111                  6004               Various                                                                                             $3.00
BILLY HORNUNG                     1400 SW 84TH                                                     LINCOLN           NE       68532                  6004               Various                                                                                            $15.00
BILLY JO PETERSON                 604 BARTELS #3                                                   MONONA            WI       53716                  6004               Various                                                                                            $34.60
BILLY LEMKE                       317 1/2 N 6TH AVE                                                WAUSAU            WI       54401                  6004               Various                                                                                            $20.00
BILLY SUMRALL                     1411 GOVERMENT ST                                                MOBILE            AL       36604                  6002               Various                                                                                             $5.75
BILLY WHITE                       3121 N DAFFADILL                                                 BILLINGS          MT       59102                  6002               Various                                                                                             $1.75
BILYANA IVANOVA                   KOESSEL LN                                                       SISTER BAY        WI       54234                  6002               Various                                                                                             $8.85
BINKS COCA COLA BOTTLING COMPA    3001 DANFORTH ROAD                                               ESCANABA          MI       49829                  4312               Various                                                                                         $7,593.18
BINTI YUSUF                       811 7TH ST. S.               APT 102                             WAITE PARK        MN       56387                  6004               Various                                                                                             $3.00
BIO CREATIVE ENTERPRISES INC      350 KALMUS DRIVE                                                 COSTA MESA        CA       92626                  5236               Various                                                                                        $11,935.57
BIOFILM INCORPORATED              3225 EXECUTIVE RIDGE                                             VISTA             CA       92081                  6947               Various                                                                                         $5,851.55
BIOFIRE DIAGNOSTICS LLC           ACCOUNTS PAYABLE             515 COLOROW DR                      SALT LAKE CITY    UT       84108                  6004               Various                                                                                            $22.88
BIPES(CANINE) FAMILY              202 E MAIN APT 1                                                 NORWOOD           MN       55368                  6002               Various                                                                                             $3.12
BIRCHWOOD TRADING                 718 Maryland Street                                              Columbia          SC       29201                  7139               Various                                                                                         $2,000.00
BIRDSEYE DAIRY INC                2325 MEMORIAL DRIVE                                              GREEN BAY         WI       54303                  0245               Various                                                                                          $951.05
BISHARO ISMAIL                    1240 15TH ST N               APT 28                              SAINT CLOUD       MN       56303                  6004               Various                                                                                            $25.00




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             Creditor Name                 Address1                    Address2        Address3            City          State         Zip    Country     Number              Claim                                                                             Total Claim
BISSELL HOMECARE INTERNATIONAL    DEPT AR                         PO BOX 1888                       GRAND RAPIDS      MI         49501-1888           9102              Various                                                                                          $7,253.41
BITTERROOT WELDING                1909 WYOMING STREET                                               MISSOULA          MT         59801                                  Various                                                                                            $628.50

BJORKMAN/ BARRY                   APPAREL                         SHOPKO EMPLOYEE                   GREEN BAY         WI         54307                  9155            Various                                                                                            $41.11
BLACH DISTRIBUTING                131 MAIN STREET                                                   ELKO              NV         89801                  2788            Various                                                                                           $836.20
BLACK HAWK                        PO BOX 2592                                                       WATERLOO          IA         50704                                  Various                                                                                           $363.80
                                                                                                                                                                        12/5/2018 -
BLACK HILLS ENERGY                PO BOX 6001                                                       RAPID CITY        SD         57709-6001             21 40           1/4/2019                                                                                        $7,604.29
BLACK HILLS GOLD BY COLEMAN CO    PO BOX 6400                                                       RAPID CITY        SD         57709-6400             3760            Various                                                                                          $279.73
BLACKBIRD PRODUCTS GROUP LLC      PO BOX 906                                                        DEXTER            MO         63841                  4532            Various                                                                                        $28,728.10
BLACKHAWK ENGAGEMENT SOLUTIONS    PARAGO                          PO BOX 678341                     DALLAS            TX         75267-8341             7205            Various                                                                                      $310,312.40
BLACKHAWK NETWORK (GIFT CARD)     SHOPKO STORES                   PO BOX 19060                      GREEN BAY         WI         54307-9060             7205            Various                                                                                     $2,553,707.19
BLACKTHORN D STEFFEL              55011 CANAL RD                                                    HOUGHTON          MI         49931                  6002            Various                                                                                             $1.62
BLAIN BESSO                       12 SOLITUDE CT PO BOX # 7054                                      STAR VALLEY RAN   WY         83127                  6002            Various                                                                                             $1.56
BLAINE BEADERSTADT                2644 SURREY LANE                                                  IDAHO FALLS       ID         83404                  6004            Various                                                                                             $5.00
BLAINE CIARDO                     225 CRESENT ST                                                    RHINELANDER       WI         54501                  6004            Various                                                                                            $31.20
BLAINE GARD                       PO BOX 206                                                        KEVIN             MT         59454                  6002            Various                                                                                            $16.64
BLAINE KALLESTAD                  2025 17 1/2 ST NW                                                 ROCHESTER         MN         55901                  6004            Various                                                                                             $3.00
BLAIR D BROWN                     309 S OHIO ST                                                     CHRISMAN          IL         61924                  6002            Various                                                                                             $5.45

BLAIR FAMILY                      W201N16628 HEMLOCK ST APT 5                                       JACKSON           WI         53037                  6002            Various                                                                                             $7.37
BLAIR FIX                         PO BOX 297                                                        JACKSON           WY         83001                  6002            Various                                                                                             $1.42
BLAIR NELSON                      36 SENTER                                                         AHMEEK            MI         49934                  6002            Various                                                                                             $1.62
BLAIR RIDER                       1225 S HIGGINS AVE APT C                                          MISSOULA          MT         59801                  6002            Various                                                                                             $5.00
BLAIRS MARKET                     331 WEST COULTER AVENUE                                           POWELL            WY         82435                  5001            Various                                                                                           $450.00

BLAISE HINTZE                     4000 S. REDWOOD RD APT # 2217                                     SALT LAKE CITY    UT         84123                  6004            Various                                                                                            $15.02
BLAKE (MARVI ODOM                 BOX 687                                                           LYMAN             WY         82937                  6002            Various                                                                                            $10.00
BLAKE BARRY                       1359 NORTH 1403 ROAD                                              FOWLER            IL         62338                  6004            Various                                                                                             $5.01
BLAKE BECKETT                     1250 INDIAN HOLLOW DR                                             IDAHO FALLS       ID         83401                  6004            Various                                                                                            $23.00
BLAKE DENNIS                      S2044 GRANDVIEW DR.                                               ALMA              WI         54610                  6004            Various                                                                                             $3.00
BLAKE DRAEGER                     122 S 5TH AVE                                                     WAUSAU            WI         54401                  6002            Various                                                                                             $0.30
BLAKE GILSON-NELSON               6604 SOUTH 140TH AVENUE                                           OMAHA             NE         68137                  6004            Various                                                                                            $32.40
BLAKE GOENS                       2108 WHITTED DRIVE                                                BELLEVUE          NE         68123                  6004            Various                                                                                             $5.00
BLAKE J WALL                      N465 MAPLERIDGE DR                                                APPLETON          WI         54915                  6002            Various                                                                                             $3.04
BLAKE JACKSON                     500 S 8TH ST                                                      WYMORE            NE         68466                  6002            Various                                                                                             $1.12
BLAKE MARTIN                      2440 23RD ST                                                      CLARKSTON         WA         99403                  6004            Various                                                                                            $25.01
BLAKE MICHAE HANNAN               404 VAN DAELE ST                                                  FAIRBANK          IA         50629                  6002            Various                                                                                             $7.12
BLAKE MILLER                      220 DENTARIA DIVE                                                 COTTAGE GROVE     WI         53527                  6004            Various                                                                                            $15.00
BLAKE NUZZO                       108 E BUFFALO ST                                                  RAWLINS           WY         82301                  6002            Various                                                                                             $3.95
BLAKE PETERSON                    894 HOWARD ST                                                     GREEN BAY         WI         54303                  6004            Various                                                                                             $1.00
BLAKE SANDALL                     771 E MAIN ST                                                     TREMONTON         UT         84337                  6002            Various                                                                                             $5.01
BLAKE SCHWARZ                     138 SOUTH WALNUT                                                  FRANKLIN GROVE    IL         61031                  6004            Various                                                                                             $9.98
BLAKE WHITE                       720 W LYON ST                                                     LYONS             KS         67554                  6002            Various                                                                                             $0.58
BLAKE ZIMMERMAN                   208 SOUTH 6TH STREET                                              FORT ATKINSON     WI         53538                  6004            Various                                                                                             $4.00
BLAKELEY SCULLEY                  660 5TH AVE NW                                                    PINE CITY         MN         55063                  6002            Various                                                                                             $4.16
BLANCA BARRERA ESQUIVEL           157 MERRILL                                                       BELOIT            WI         53511                  6004            Various                                                                                            $58.97
BLANCA DUARTE                     218 9TH AVE SE APT 3                                              ROCHESTER         MN         55904                  6004            Various                                                                                             $3.00
BLANCA GARCIA DE GOMEZ            4222 S. 22ND ST.                                                  OMAHA             NE         68107                  6004            Various                                                                                             $4.00
BLANCA MENDEZ PERALES             309 N CHERRY ST                                                   VALENTINE         NE         69201                  6002            Various                                                                                             $9.26
BLANCA MONTES                     1629 UNIVERSITY DR SE APT 30                                      SAINT CLOUD       MN         56304                  6002            Various                                                                                             $7.70
BLANCHE NEDREAU                   420 25TH AVE N                                                    SAINT CLOUD       MN         56303                  6004            Various                                                                                             $3.00
BLANCHE RUSH                      3500 NW SATINWOOD CT                                              LINCOLN           NE         68521                  6002            Various                                                                                             $0.58
BLAND FAMILY                      1350 N GALENA AVE                                                 DIXON             IL         61021                  6002            Various                                                                                             $3.51




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               Creditor Name                  Address1              Address2             Address3           City          State           Zip   Country     Number                Claim                                                                             Total Claim
BLAS ZEGARRA                       PO BOX 2217                                                      PROVO              UT         84603                 6002                Various                                                                                             $6.96
BLAS ZUNIGA HUERTA                 150 N 200TH W                                                    JEROME             ID         83338                 6002                Various                                                                                             $6.71
BLAYNE VANDERLOOP                  4130 CLOVER RD                                                   MANITOWOC          WI         54220                 6002                Various                                                                                             $5.10
BLAYSE FOWLER                      1216 SIOUX TRAIL                                                 FORT ATKINSON      WI         53538                 6004                Various                                                                                             $1.00
BLAZE BEYER                        1116 SWAN RD APT 3                                               DE PERE            WI         54115                 6004                Various                                                                                            $25.00
BLAZE GUGIN                        201 EAST KALB                                                    GREEN BAY          WI         54301                 6004                Various                                                                                             $2.00
BLAZEK ELECTRIC INC                115 8TH STREET SE                                                MASON CITY         IA         50401                                     Various                                                                                          $972.68
BLCK-SINAK FAMILY                  1506 WEATHERHILL CT SW                                           ROCHESTER          MN         55902                   6002              Various                                                                                             $3.89
BLESSING KARMO                     2175 NOBLES ST                                                   WORTHINGTON        MN         56187                   6002              Various                                                                                             $5.21
BLIP LLC (YANTIAN)                 15245 MINNETONKA BLVD                                            MINNETONKA         MN         55345                   9310              Various                                                                                         $2,738.50
                                                               4576 SOLUTIONS
BLISTEX INCORPORATED               LOCK BOX 774576             CENTER                               CHICAGO            IL         60677-4005              9919              Various                                                                                        $12,960.53
BLIXT CONTAINERS                   2390 RAIN ROAD                                                   CHAPMAN            KS         67431                                     Various                                                                                          $395.00

BLOCH FAMILY 2005 PARTNERSHIP      CO ANDY GOLDBERG            640 W 57TH STREET                    KANSAS CITY        MO         64113                  8601               Various                                                                                         $7,026.71

BLOEMENDAAL/ LUANN                 STORE 748                   SHOPKO EMPLOYEE 1002 7TH STREET SE   PIPESTONE          MN         56164                  3895               Various                                                                                            $16.20
BLONG LEE                          4717 MEREDITHE AVE                                               MADISON            WI         53716                  6004               Various                                                                                            $25.00
BLUE BUFFALO COMPANY LTD           PO BOX 21607                                                     NEW YORK           NY         10087-1607             5555               Various                                                                                       $207,831.20
BLUE DIAMOND GROWERS               BANK OF AMERICA             CH LOCKBOX          PO BOX 96269     CHICAGO            IL         60693-0000             1809               Various                                                                                       $129,974.67
BLUE DOG BAKERY                    3302 FUHRMAN AVE EAST 202                                        SEATTLE            WA         98102                  3207               Various                                                                                        $32,528.93
BLUE HILLS ENVIRONMENTAL           74 N MAIN - STE 3                                                EAGAR              AZ         85925                                     Various                                                                                         $1,311.31
BLUE RHINO CORPORATION             FERRELGAS LLP               PO BOX 281956                        ATLANTA            GA         30384-1956              2073              Various                                                                                        $36,790.50
BLUE ROCK PRODUCTS                 PO BOX 1708                                                      SIDNEY             MT         59270                   8176              Various                                                                                        $32,327.27
                                   7050 NEW HORIZONS
BLUEBERRY BOULEVARD LLC            BOULEVARD                                                        NORTH AMITYVILLE   NY         11701-0000              8573              Various                                                                                        $63,309.78
BLUEBOX OPCO LLC DBA INFANTINO     THE STEP2 COMPANY LLC       PO BOX 603049                        CHARLOTTE          NC         28260-3049              4045              Various                                                                                        $71,842.23
                                                                                                                                                                            11/27/2018 -
BOARD OF PUBLIC WORKS-AUBURN,NE    P.O. BOX 288                                                     AUBURN             NE         68305                   0.02              12/26/2018                                                                                      $5,188.07
BOB & BUCKS ELECTRIC INC           406 PLUMBER ST                                                   WAUSAU             WI         54403                                     11/27/2018                                                                                       $159.66
BOB & DAVES LAWN & LANDSCAPE I     PO BOX 828                                                       KAUKAUNA           WI         54130-0000             5108               Various                                                                                          $218.90
BOB BREITWEISER                    PO BOX 1143                                                      GLASGOW            MT         59230                  6002               Various                                                                                             $2.66
BOB HILTON                         RR 2 BOX 3505                                                    DONIPHAN           MO         63935                  6002               Various                                                                                             $7.01
BOB MARTELLI                       611 E 2ND ST                                                     OGALLALA           NE         69153                  6002               Various                                                                                             $9.81
BOB MOSER                          BOX 213                                                          SALMON             ID         83467                  6002               Various                                                                                             $2.19
BOB PHAM                           6516 S 108 AVE                                                   OMAHA              NE         68137                  6004               Various                                                                                             $3.02
BOB WISDOM                         PO BOX 75                                                        PIERCE             ID         83546                  6002               Various                                                                                             $7.59
BOBBI GRIEPENTROG                  1200 S WEBER AVENUE         LOT 324                              STRATFORD          WI         54484                  6004               Various                                                                                            $20.00
BOBBI GRIEVE                       430 20TH ST                                                      OGDEN              UT         84401                  6002               Various                                                                                             $4.16
BOBBI HARTLEY                      2415 S HIGHWAY 89                                                PERRY              UT         84302                  6002               Various                                                                                             $8.03
BOBBI J HOENE                      13616W W 1ST AVE                                                 OROFINO            ID         83544                  6002               Various                                                                                             $9.97
BOBBI JO BARTELS                   417 ROHRER ST                                                    ROUND LAKE         MN         56167                  6004               Various                                                                                             $3.00
BOBBI KAY SWANGER                  414 N 4TH ST                                                     MISSOURI VALLEY    IA         51555                  6002               Various                                                                                             $6.30
BOBBI LAABS                        838 NORTH THOMPSON DR.      4                                    MADISON            WI         53704                  6004               Various                                                                                             $4.40
BOBBI RASMUSSEN                    3135 W 3200TH N                                                  BRIGHAM CITY       UT         84302                  6002               Various                                                                                             $6.36
BOBBI RUFFALO                      607 S MAIN ST                                                    PLAINFIELD         WI         54966                  6002               Various                                                                                             $9.84
BOBBIE DEAN WILSON                 333 S OAK ST                                                     AINSWORTH          NE         69210                  6002               Various                                                                                             $3.86
BOBBIE EPLIN                       630 W 4TH ST                                                     MOUNT CARMEL       IL         62863                  6002               Various                                                                                             $6.63
BOBBIE GOIN                        332 1ST AVE W                                                    ROUNDUP            MT         59072                  6002               Various                                                                                             $1.04
BOBBIE GOODWIN                     507 WILSHIRE DR             #5                                   BELLEVUE           NE         68005                  6004               Various                                                                                             $4.00
BOBBIE JO KAIN                     1104 MAIN AVE                                                    KAUKAUNA           WI         54130                  6004               Various                                                                                             $2.00
BOBBIE L MUNDT                     3253 DEREK RD                                                    HELENA             MT         59602                  6002               Various                                                                                             $6.36
BOBBIE LESTER                      251 TAYLOR LN                                                    COKEVILLE          WY         83114                  6002               Various                                                                                             $6.79
BOBBIE THOMPSON                    407 COMFORTCOVE ST                                               ORFORDVILLE        WI         53576                  6004               Various                                                                                             $5.00




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                                                                             Schedule E/F: Part 2 - Creditors With Nonpriority Unsecured Claims




                                                                                                                                                                                                                                      Claim subject to offset?
                                                                                                                                                                                                            Unliquidated
                                                                                                                                                                                               Contingent


                                                                                                                                                                                                                           Disputed
                                                                                                                                                      Last 4 Digits of     Date Debt was
                                                                                                                                                         Account         Incurred, Basis for
             Creditor Name                    Address1               Address2         Address3              City       State         Zip     Country     Number                Claim                                                                             Total Claim
BOBBIE WHALEN                     29 E PAINE                    APT 4                               KIEL            WI         53042                 6004                Various                                                                                             $1.00
BOBBIE WHITE                      35498 160TH ST                                                    BREWSTER        MN         56119                 6004                Various                                                                                            $59.00
BOBBILYNN H CHIASSON              BOX 116                                                           SPRAGUE         MB         R0A1Z        CANADA 6002                  Various                                                                                            $10.00
BOBBY ANSLEY                      300 S LINCOLN                                                     MULLEN          NE         69152                 6002                Various                                                                                             $1.04
BOBBY CAHILL                      PO BOX 193                                                        MAXWELL         NE         69151                 6004                Various                                                                                            $64.96
BOBBY DYE                         639 BETA ST                                                       TWIN FALLS      ID         83301                 6004                Various                                                                                             $8.00
BOBBY EARL                        PO BOX 85                                                         PLATTSMOUTH     NE         68048                 6002                Various                                                                                             $3.67
BOBBY LEE GROENEWOLD              27534 JONES AVE                                                   RUSHMORE        MN         56168                 6002                Various                                                                                             $0.96
BOBBY O KUSCHEL                   621 CIRCLE CT SW                                                  ROCHESTER       MN         55902                 6002                Various                                                                                             $7.40
BOBBY SIMMONS                     1525 WISCONSIN AVENUE         APT 6                               GRAFTON         WI         53024                 6004                Various                                                                                             $3.00
BODENSTEINER IMPLEMENT COMPANY    1900 S FREDERICK AVENUE                                           OELWEIN         IA         50662                 6104                Various                                                                                          $483.58
BOELTER COMPANIES                 PO BOX 8741                                                       CAROL STREAM    IL         60197-0000            0663                Various                                                                                       $102,943.31

BOHL/ CHELSEA                     STORE 2-790                   SHOPKO EMPLOYEE 409 JUNCTION AVENUE STANLEY         WI         54768                   5353              Various                                                                                           $101.16
BOHLMANN'S                        101 MARKET ST                                                     AUDUBON         IA         50025                                     Various                                                                                           $945.08
                                                                                6475 US HIGHWAY 93
BOHM/ MICHAEL                     STORE 797                     SHOPKO EMPLOYEE SOUTH 15            WHITEFISH       MT         59937                   2717              Various                                                                                          $155.80
BOISE CITY UTLILTY BILLING        PO BOX 2600                                                       BOISE           ID         83701-2600              9005              Various                                                                                         $2,015.43
BOISE COLD STORAGE                495 S 15TH STREET                                                 BOISE           ID         83702                   9488              Various                                                                                            $64.00
BOLEY CORPORATION                 14042 CENTRAL AVENUE                                              CHINO           CA         91710-0000              3752              Various                                                                                         $7,890.00

BOLIN/ ROGER                      STORE 2-105                   SHOPKO EMPLOYEE                     GREEN BAY       WI         54307                   1716              Various                                                                                          $102.63
BOLTE'S SUNRISE SANITARY          PO BOX 7                                                          WORTHING        SD         57077                                     Various                                                                                         $1,223.29
BON PHILLIPS                      5600 EBB WAY UNIT B                                               MISSOULA        MT         59803                   6004              Various                                                                                          $108.00

BONFIT AMERICA INCORPORATED       5741 BUCKINGHAM PKWY STE A                                        CULVER CITY     CA         90230                   9266              Various                                                                                         $3,065.76
BONITA BEAUDRY                    18 15TH ST SE                                                     WATERTOWN       SD         57201                   6002              Various                                                                                             $6.36
BONITA BELL                       734 WHITEHAWK DR                                                  ETHETE          WY         82520                   6002              Various                                                                                             $5.81
BONITA CZAPLEWSKI                 325 55TH ST NE TRLR 54                                            ROCHESTER       MN         55906                   6002              Various                                                                                             $9.67
BONITA PROSISE                    317 W 2ND ST                                                      MOUNT CARMEL    IL         62863                   6002              Various                                                                                             $0.36
BONITA SIMONS                     1114 WESTWOOD LANE                                                MANITOWOC       WI         54220                   6004              Various                                                                                            $17.00
BONNERS FERRY CHAMBER OF COMME    PO BOX X                                                          BONNERS FERRY   ID         83805                   5016              Various                                                                                          $300.00
BONNETT FAMILY                    2601 S 14TH ST                                                    LINCOLN         NE         68502                   6002              Various                                                                                             $0.41
BONNIE A JOHNSON                  3633 FAIRFAX ST APT 211                                           EAU CLAIRE      WI         54701                   6002              Various                                                                                             $3.10
BONNIE A KRANING                  1942 CTY HWY Y                                                    SEYMOUR         WI         54165                   6002              Various                                                                                             $1.04
BONNIE A. BRADEN                  PO BOX 307                                                        POST FALLS      ID         83877                   6002              Various                                                                                             $5.75
BONNIE ANDERSON                   600 3RD ST NE                                                     ROSEAU          MN         56751                   6002              Various                                                                                             $1.15
BONNIE BABCOCK                    2274 LAKE NOKOMIS RD                                              TOMAHAWK        WI         54487                   6002              Various                                                                                             $3.81
BONNIE BAENEN                     1009 CARNEY BLVD                                                  MARINETTE       WI         54143                   6004              Various                                                                                            $10.00
BONNIE BARCLAY                    6219 S HIGHWAY 51 # 35                                            JANESVILLE      WI         53546                   6002              Various                                                                                             $6.36
BONNIE BLUMEYER                   7202 S LOWDEN ROAD                                                OREGON          IL         61061                   6002              Various                                                                                            $47.25
BONNIE CHURCH                     PO BOX 88                                                         DRYDEN          WA         98821                   6002              Various                                                                                            $13.24
BONNIE CZOSCHKE                   409 E NORTH ST PO BOX # 477                                       BROWNSVILLE     WI         53006                   6002              Various                                                                                             $2.77
BONNIE DEARTH                     410 HART DR                                                       CLINTON         WI         53525                   6004              Various                                                                                            $10.00
BONNIE DEKREY                     2033 CROOKED AVE                                                  HOLMEN          WI         54636                   6002              Various                                                                                             $1.42
BONNIE DESJARDIN                  834 14TH ST                                                       CLARKSTON       WA         99403                   6004              Various                                                                                          $234.00
BONNIE DOMASK                     936 ELM STREET                                                    FONTANA         WI         53125                   6004              Various                                                                                            $39.00
BONNIE FRANCIS                    1312 IUKA ST                                                      TAMA            IA         52339                   6002              Various                                                                                             $8.52
BONNIE GRACE                      303 N PLEASANT ST                                                 CAMBRIDGE       WI         53523                   6002              Various                                                                                             $7.15
BONNIE HAHN                       N2028 CTY G                                                       REESEVILLE      WI         53579                   6002              Various                                                                                             $5.45
BONNIE HALLMAN                    1709 BRENDA DR                                                    BELLEVUE        NE         68005                   6002              Various                                                                                             $8.25
BONNIE HASZARD                    114 N ASH ST                                                      AINSWORTH       NE         69210                   6002              Various                                                                                             $0.38
BONNIE HICKS                      753 MAIN ST                                                       DE SOTO         WI         54624                   6002              Various                                                                                             $2.05
BONNIE HUTCHINS                   704 WOODS RD                                                      WEIPPE          ID         83553                   6002              Various                                                                                             $1.32




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                                                                               Schedule E/F: Part 2 - Creditors With Nonpriority Unsecured Claims




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BONNIE J OLSON                    440 PINE ST                                                       NEWCASTLE        WY         82701                 6002                Various                                                                                             $9.48
BONNIE J. MASTELLER               510 W DAVIDSON AVE                                                COEUR D ALENE    ID         83814                 6002                Various                                                                                             $5.73
BONNIE JAMES                      1251 N 580TH W                                                    OREM             UT         84057                 6002                Various                                                                                             $1.37
BONNIE JOHNSON                    28 S 4TH AVE                                                      WINNECONNE       WI         54986                 6002                Various                                                                                             $0.96
BONNIE JOHNSTON-BEHRENS           E 8122 JACKSON                                                    SPOKANE VALLEY   WA         99212                 6004                Various                                                                                           $104.43
BONNIE JORGENSEN                  10970 S 700TH E # 108                                             SANDY            UT         84070                 6002                Various                                                                                             $3.37
BONNIE KAMRATH                    423 N CLARK ST                                                    MAYVILLE         WI         53050                 6002                Various                                                                                             $5.59
BONNIE KASPRZYCKI                 609 N PLATTEN ST                                                  GREEN BAY        WI         54303                 6002                Various                                                                                             $2.93
BONNIE KINDRED                    14615 HIGHWAY 12 # SPC-7                                          OROFINO          ID         83544                 6002                Various                                                                                             $1.32
BONNIE KIRKEGAARD                 5208 BROKEN KETTLE RD                                             SIOUX CITY       IA         51108                 6002                Various                                                                                             $0.82
BONNIE KIRSCHMAN                  1056 LAVERNE DR                                                   GREEN BAY        WI         54311                 6002                Various                                                                                             $0.33

BONNIE KLOMPIEN                   3978 OLD YELLOWSTONE TRAIL N                                      LIVINGSTON       MT         59047                  6002               Various                                                                                             $1.84
BONNIE KRUEGER                    N4593 HAZELWOOD RD                                                HUSTISFORD       WI         53034                  6004               Various                                                                                             $7.51
BONNIE M JACOBSEN                 609 W IOWA ST                                                     GREENFIELD       IA         50849                  6002               Various                                                                                             $0.66
BONNIE MAGEE                      N11034 MEADOW LN                                                  CLINTONVILLE     WI         54929                  6002               Various                                                                                             $5.29
BONNIE MARSING                    PO BOX 85                                                         SALMON           ID         83467                  6002               Various                                                                                             $1.32
BONNIE MASON-PRICE                1029 ROLLINS                                                      MISSOULA         MT         59801                  6004               Various                                                                                          $438.99
BONNIE MCGEE                      212 ALVINA ST APT 5                                               GREEN BAY        WI         54303                  6002               Various                                                                                             $1.51
BONNIE NELSON                     3421 LENVILLE                                                     MOSCOW           ID         83843                  6004               Various                                                                                            $11.04
BONNIE OLSON                      4057 W 2550TH S                                                   TAYLOR           UT         84401                  6002               Various                                                                                             $3.53
BONNIE PEDERSON                   107 PALMER DR                                                     KALISPELL        MT         59901                  6002               Various                                                                                             $3.53
BONNIE PODRY                      2706 3RD AVE N                                                    GREAT FALLS      MT         59401                  6004               Various                                                                                             $8.00
BONNIE SCHAFER                    508 BELMONT ST                                                    LAKEFIELD        MN         56150                  6004               Various                                                                                             $3.00
BONNIE SEDITA                     1535 LIBERTY LN #207                                              MISSOULA         MT         59808                  6004               Various                                                                                             $2.00
BONNIE SMITH                      934 S MAIN ST STE 5                                               LAYTON           UT         84041                  6002               Various                                                                                             $7.51
BONNIE STEVENS                    1710 17TH STREET                                                  LEWISTON         ID         83501                  6004               Various                                                                                            $15.19
BONNIE STEWART                    719 N FRANKLIN ST                                                 STANLEY          WI         54768                  6002               Various                                                                                             $7.73
BONNIE TRIPP-LEDESMA              806 SIXTH ST                                                      IRON MOUNTAIN    MI         49801                  6002               Various                                                                                             $9.70
BONNIE VANCE                      684 TOWER DR                                                      SUN PRAIRIE      WI         53590                  6002               Various                                                                                             $6.00
BONNIE VANDEROFF                  2540 N IRIS PL                                                    BOISE            ID         83704                  6002               Various                                                                                             $4.08
BONNIE VIERNES                    2836 COMSTOCK PLZ APT H                                           BELLEVUE         NE         68123                  6002               Various                                                                                             $6.05
BONNIE WILLIAMSON                 1219 14TH ST                                                      AUBURN           NE         68305                  6002               Various                                                                                             $5.07
BOOMER LEMMONS                    50288 STATE HIGHWAY 11                                            SALOL            MN         56756                  6002               Various                                                                                             $6.58
BOONE CENTRAL CENTRACARD          PO BOX 391                                                        ALBION           NE         68620                  6394               Various                                                                                            $50.00
BOPPY COMPANY LLC                 DEPARTMENT 705                                                    DENVER           CO         80291-0705             5193               Various                                                                                         $5,092.29
BORDAN SHOE CO                    4335 E VALLEY BLVD                                                LOS ANGELES      CA         90032                  6197               Various                                                                                       $128,273.98
BORGER FAMILY                     3509 14TH ST                                                      LEWISTON         ID         83501                  6002               Various                                                                                             $8.82

BOSE/ NANCY                       STORE 018                      SHOPKO EMPLOYEE                    GREEN BAY        WI         54307                  1681               Various                                                                                            $43.87
BOSTEYO MOHAMED                   970 11TH AVE NW                APT 106                            ROCHESTER        MN         55901                  6004               Various                                                                                             $3.00
BOSTON AMERICA CORP               55 SIXTH ROAD UNIT 8                                              WOBURN           MA         01801                  9509               Various                                                                                        $18,009.60
BOSTON WAREHOUSE TRADING COMPA    VICE PRESIDENT OF SALES        59 DAVIS AVENUE                    NORWOOD          MA         02062-3031             4050               Various                                                                                        $56,931.04
BOTANICAL INTERESTS INC           660 COMPTON STREET UNIT A                                         BROOMFIELD       CO         80020                  0774               Various                                                                                             $0.68
BOUALAY PHAXAYSENG                113 14TH ST SE                                                    AUSTIN           MN         55912                  6004               Various                                                                                             $3.00
BOUNMY TONSAY                     1603 DARLING DR                                                   WORTHINGTON      MN         56187                  6002               Various                                                                                             $1.18
BOUNTANE CHANTHAPHONE             1007 EAST 9TH ST                                                  SIOUX FALLS      SD         57103                  6004               Various                                                                                            $23.00
BOWEN XU                          2716 THOMAS DR                                                    EAU CLAIRE       WI         54701                  6002               Various                                                                                            $10.00
BOWIES PIT STOP                   N6321 PIT ROAD                                                    MT CALVARY       WI         53057                                     Various                                                                                          $500.00
BOYD EGAN                         590 HEART CORD DR                                                 TWIN FALLS       ID         83301                  6004               Various                                                                                            $23.00
BOYD MCKINNEY                     1930 CHARLES ST                                                   DE PERE          WI         54115                  6002               Various                                                                                             $4.16
BOYD MEEKS                        1460 BRIDGER BUTLANE                                              FORT BRIDGER     WY         82933                  6002               Various                                                                                            $10.00
                                                                 101 SOUTH 200
BOYER OREM ASSOCIATES             C/O BOYER COMPANY              EAST SUITE 200                     SALT LAKE CITY   UT         84111-3104              7840              Various                                                                                        $14,055.82




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              Creditor Name                Address1            Address2         Address3              City       State           Zip   Country     Number                Claim                                                                             Total Claim
BOYLEN FAMILY                  920 4TH AVE                                                   GRAFTON          WI         53024                 6002                Various                                                                                             $1.04
BP CLAIMS WC WEST              ACCOUNTING DEPARTMENT       PO BOX 8032                       STEVENS POINT    WI         54481                 6004                Various                                                                                           $150.00
BPO ELKS 407 PERRY LODGE       2823 WILLIS AVENUE                                            PERRY            IA         50220                 6666                Various                                                                                            $11.31
BRAD BACH                      44939 165TH ST                                                WATERTOWN        SD         57201                 6004                Various                                                                                            $16.00
BRAD CHWALA                    N8874 JEFFERSON ROAD                                          WATETOWN         WI         53094                 6004                Various                                                                                             $1.95
BRAD DOGGETT                   3233 DUSTY MAIDEN DR                                          HELENA           MT         59602                 6002                Various                                                                                             $1.00
BRAD DRINKWINE                 1887 COUNTY RD O                                              NEW RICHMOND     WI         54017                 6004                Various                                                                                            $12.50
BRAD ERICKSON                  824 GUTHRIE RD                                                HELENA           MT         59602                 6002                Various                                                                                             $1.42
BRAD ESTES                     1031 SHERIDAN LN                                              CLINTON          MI         49236                 6002                Various                                                                                             $2.16
BRAD FOSTER                    32 SHEEP CREEK RD                                             NORTH FORK       ID         83466                 6002                Various                                                                                             $0.99
BRAD HALL                      572 W QUAIL RUN RD                                            SPANISH FORK     UT         84660                 6002                Various                                                                                             $6.33
BRAD HAVERFIELD                1426 S. WEST                                                  JACKSONVILLE     IL         62650                 6004                Various                                                                                             $8.73
BRAD HEITZMAN                  N4603 CRESTWOOD LANE                                          ONALASKA         WI         54650                 6004                Various                                                                                            $24.63
BRAD HON                       1424 PIEDMONT RD                                              EAU CLAIRE       WI         54703                 6002                Various                                                                                             $3.18
BRAD KAYS                      44235 157TH ST                                                FLORENCE         SD         57235                 6002                Various                                                                                             $3.97
BRAD MACKINAW                  5114 ARNOLD ROAD                                              DULUTH           MN         55803                 6004                Various                                                                                             $1.22
BRAD OLSON                     2433 E RICE RD NE                                             ROCHESTER        MN         55906                 6002                Various                                                                                             $5.01
BRAD PETRON                    31513 NAPLES ST NE                                            CAMBRIDGE        MN         55008                 6004                Various                                                                                             $7.96
BRAD S LEIGH                   1405 S DENVER ST                                              SALT LAKE CITY   UT         84115                 6002                Various                                                                                             $8.68
BRAD VANGORDEN                 86364 SANDFORD ROAD                                           EUGENE           OR         97402                 6004                Various                                                                                            $80.00
BRAD WARDLE                    1819 W EAGLECREST DR                                          NAMPA            ID         83651                 6002                Various                                                                                             $6.27
BRAD WEEG                      1124 176TH ST                                                 GOODWIN          SD         57238                 6004                Various                                                                                            $10.00
BRAD WEINZATL                  191 S MAIN STREET                                             UNITY            WI         54488                 6004                Various                                                                                           $137.00
BRAD WILSON                    305 CAPE COD #3                                               BILLINGS         MT         59102                 6004                Various                                                                                            $10.02
BRADEN HAUSEN                  308 HILLTOP TRAIL WEST                                        FORT ATKINSON    WI         53538                 6004                Various                                                                                            $37.00
BRADEN SHRADER                 230 FARVIEW DR APT 2                                          KALISPELL        MT         59901                 6002                Various                                                                                             $3.81
BRADFORD DAHLENBURG            29 7TH ST NE 7906                                             ROCHESTER        MN         55906                 6004                Various                                                                                             $6.00
BRADFORD STORTI                203 MEESKE AVE APT 20                                         MARQUETTE        MI         49855                 6002                Various                                                                                             $7.86
BRADLEY ALLE BECKER            635 WOODLAND CIR                                              WAUPACA          WI         54981                 6002                Various                                                                                            $10.00
BRADLEY ANTHONY                1008 ARLINGTON AVE. SW                                        BILLINGS         MT         59101                 6004                Various                                                                                            $33.00
BRADLEY BOZEMAN                821 COLUMBIA AVE                                              GREEN BAY        WI         54303                 6004                Various                                                                                             $4.00
BRADLEY BROWN                  W6966 CTY RD N                                                BELDENVILLE      WI         54003                 6002                Various                                                                                             $7.95
BRADLEY BUFTON                 455 SCENIC DR                                                 SPANISH FORK     UT         84660                 6002                Various                                                                                             $4.41
BRADLEY BURKARD                1048 TRABOH COURT                                             DEPERE           WI         54115                 6004                Various                                                                                             $8.00
BRADLEY CHAUNCEY               1019 15HT ST N PRERELEASE                                     GREAT FALLS      MT         59404                 6002                Various                                                                                             $8.25
BRADLEY CHRISTMAN              3033 W HIAWATHA DR                                            APPLETON         WI         54914                 6002                Various                                                                                             $9.67
BRADLEY DEFORGE                1221 CARLOS ST                                                LAKE LINDEN      MI         49945                 6002                Various                                                                                             $6.55
BRADLEY DERKS                  2626 BEECHWOOD CT                                             APPLETON         WI         54911                 6004                Various                                                                                            $48.50
BRADLEY E FINKEN               13734 HIGHWAY 8                                               TRIPOLI          WI         54564                 6002                Various                                                                                             $8.52
BRADLEY GASWINT                31938 HIGHWAY 12                                              SIOUX CITY       IA         51109                 6002                Various                                                                                             $4.25
BRADLEY GONZALEZ               131 LAMPLIGHTER LOOP                                          POPLAR GROVE     IL         61065                 6004                Various                                                                                             $3.90
BRADLEY H ERICKSON             10272 387TH ST                                                NORTH BRANCH     MN         55056                 6002                Various                                                                                             $6.27
BRADLEY HAHN                   611 E CORRINE ST                                              GALLATIN         MO         64640                 6002                Various                                                                                             $8.03
BRADLEY HALTER                 535 CHITKO CT                                                 ARCADIA          WI         54612                 6002                Various                                                                                             $8.90
BRADLEY HENNINGER              503S IOKA                                                     MT PROSPECT      IL         50056                 6002                Various                                                                                             $8.33
BRADLEY HINCKLEY               340 N 100TH W                                                 SPRINGVILLE      UT         84663                 6002                Various                                                                                             $2.55
BRADLEY HOELSCHER              23012 21ST AVE                                                SAINT CLOUD      MN         56301                 6002                Various                                                                                             $5.95
BRADLEY HUGDAHL                3228 MARS AVE                                                 EAU CLAIRE       WI         54703                 6002                Various                                                                                             $0.63
BRADLEY J KURKOWSKI            6375 FIRST ST                                                 PLOVER           WI         54467                 6002                Various                                                                                             $8.90
BRADLEY J RYAN                 2723 Q ST                                                     OMAHA            NE         68107                 6002                Various                                                                                             $7.89
BRADLEY J VOGT                 633 W BLUFF ST                                                CASSVILLE        WI         53806                 6002                Various                                                                                             $9.32
BRADLEY JACOBSON               2335 CATHEDRAL FOREST DR                                      GREEN BAY        WI         54313                 6002                Various                                                                                            $10.00
BRADLEY JOHNSON                360 WEST BERT ST                                              LAKE CRYSTAL     MN         56055                 6004                Various                                                                                           $125.00
BRADLEY KAPHINGST              311 NORTH WATER STREET                                        WATERTOWN        WI         53094                 6004                Various                                                                                            $38.00




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BRADLEY KETTERING JR              12074 200TH ST                                                 GLENWOOD         MN         56334                 6002                Various                                                                                                $1.70
BRADLEY KNIGHT                    17 LEON ST                                                     MADISON          WI         53714                 6004                Various                                                                                               $22.50
BRADLEY LAWSON                    1500 W 6TH ST APT 50                                           BELVIDERE        IL         61008                 6002                Various                                                                                                $9.56
BRADLEY MAHNER                    1428 WESTLAKE DR.                                              WINNECONNE       WI         54986                 6004                Various                                                                                               $25.00
BRADLEY MAY                       503 MAIN ST PO BOX # 484                                       HOLSTEIN         IA         51025                 6002                Various                                                                                                $7.48
BRADLEY MERWALD                   13974 BIRCHWOOD AVE                                            OMAHA            NE         68137                 6004                Various                                                                                               $25.00
BRADLEY MOLDENHAUER               220 LAKE SHORE DR                                              LAKE MILLS       WI         53551                 6002                Various                                                                                                $7.84
BRADLEY NOEL                      412 SOUTH SIXTH STREET                                         DE PERE          WI         54115                 6004                Various                                                                                               $19.98
BRADLEY PRAHL                     E 110 SHEFCHIK RD                                              LUXEMBURG        WI         54217                 6004                Various                                                                                               $44.00
BRADLEY RANNEY                    104 MULBERRY ST                                                MASSENA          IA         50853                 6002                Various                                                                                                $9.04
BRADLEY RIENDEAU                  W12709 CHICAGO AVE                                             HANCOCK          WI         54943                 6002                Various                                                                                                $2.93
BRADLEY ROYER                     RR 8 BOX 1308                                                  DONIPHAN         MO         63935                 6002                Various                                                                                                $7.84
BRADLEY SAVAGE                    1124 WEDGEWOOD AVE                                             WENATCHEE        WA         98801                 6004                Various                                                                                               $53.94
BRADLEY SCHUBERT                  N4746 15TH DRIVE                                               WAUTOMA          WI         54982                 6004                Various                                                                                               $35.00
BRADLEY SCOT LARKIN               503 S GRANT ST                                                 JAMESPORT        MO         64648                 6002                Various                                                                                                $7.59
BRADLEY SODERGREN                 1828 DIVISION ST                                               MARINETTE        WI         54143                 6004                Various                                                                                               $15.00
BRADLEY SPRINGSTON                901 N FIR AVE                                                  GILLETTE         WY         82716                 6002                Various                                                                                                $6.03
BRADLEY T. WINTER                 E5167 6TH RD                                                   ALGOMA           WI         54201                 6002                Various                                                                                                $5.40
BRADLEY THIEMAN                   1724 220TH AVE                                                 PETERSBURG       NE         68652                 6004                Various                                                                                               $20.00
BRADLEY TOLSON                    3613 KIPLIN DRIVE APT C                                        MADISON          WI         53704                 6004                Various                                                                                               $20.00
BRADLEY TRULOCK                   205 CLEVELAND AVE                                              KINGSFORD        MI         49802                 6002                Various                                                                                                $8.44
BRADLEY TURNER                    3361 W 4850TH S                                                SALT LAKE CITY   UT         84118                 6002                Various                                                                                                $5.84
BRADLEY WATSON                    211 S. WHIPPLE RD           APT 1                              SPOKANE          WA         99206                 6004                Various                                                                                                $2.00
BRADLY ELSHERE                    4206 11TH AVE NW                                               WATERTOWN        SD         57201                 6004                Various                                                                                               $10.00
BRADLY MURDOCK                    8728 LAKEVIEW DRIVE                                            OMAHA            NE         68127                 6004                Various                                                                                               $33.00
                                                                                                 RANCHO
BRADSHAW INTERNATIONAL INCORPO    9409 BUFFALO AVE                                               CUCAMONGA        CA         91730                  4487               Various                                                                                       $575,915.17
BRADY BALL                        7647 KENTWELL LN                                               LINCOLN          NE         68516                  6004               Various                                                                                            $23.00
BRADY BIRCHER                     1602 N. 7TH ST. APT. 3                                         COEUR D' ALENE   ID         83814                  6004               Various                                                                                            $10.95
BRADY CONNELL                     E9441 CTY RD. E                                                ELK MOUND        WI         54739                  6004               Various                                                                                            $79.99
BRADY DAVIS                       2215 1ST STREET APT 102                                        MONROE           WI         53566                  6004               Various                                                                                            $25.00
BRADY HAYWORTH                    245 WEST 4TH ST                                                GARNER           IA         50438                  6004               Various                                                                                            $20.00
BRADY KEPLER                      4608 TRILLUM RD                                                SPRINGFIELD      IL         62703                  6004               Various                                                                                            $24.10

BRADY LANGE                       W3130 E BROADWAY DR TRLR 42                                    APPLETON         WI         54913                  6002               Various                                                                                             $5.64
BRADY LEWALLEN                    N1311 CTY. RD D                                                BOYD             WI         54726                  6004               Various                                                                                            $15.00
BRADY MCKEOWN                     1118 2ND ST                                                    STURGIS          SD         57785                  6002               Various                                                                                             $9.07
BRADY MORGAN                      390 FISHBURN                                                   BRIGHAM CITY     UT         84302                  6004               Various                                                                                            $31.98
BRADY REETZ                       147 WEST PINE ST                                               NEW AUBURN       WI         54757                  6004               Various                                                                                            $13.05
BRADY SHAW                        493 EAST SOUTH AVE          APT 11                             CHIPPEWA FALLS   WI         54729                  6004               Various                                                                                            $36.00
BRADY THIERING                    1973 LANE DR.                                                  BELOIT           WI         53511                  6004               Various                                                                                            $39.00
BRADY TLOUGAN                     2615 22ND AVE SE                                               ROCHESTER        MN         55904                  6002               Various                                                                                             $2.44
BRADY WARWICK                     208 PARSLEY RD                                                 HELENA           MT         59602                  6002               Various                                                                                             $4.14
BRADY WRIGHT                      137 GROVE ST                                                   BEAVER DAM       WI         53916                  6004               Various                                                                                            $20.00
BRAEDEN DEBNAM                    4414 N 156 AVE CIR                                             OMAHA            NE         68116                  6004               Various                                                                                            $10.00
BRAIDEN PENSHORN                  535 TRILLIUM LN                                                HUDSON           WI         54016                  6004               Various                                                                                          $229.97
BRAINSTORM PRODUCTS               1011 S ANDREASEN DRIVE 100                                     ESCONDIDO        CA         92029                  4045               Various                                                                                         $4,213.00
BRAKKIN BRIGGS                    W5844 DUERST RD                                                NEW GLARUS       WI         53574                  6004               Various                                                                                            $25.00
BRALENBETTY PETERS                348 N KENSINGTON DR APT 6                                      APPLETON         WI         54915                  6002               Various                                                                                             $4.44
BRAND ADVANTAGE GROUP             3443 MOMENTUM PLACE                                            CHICAGO          IL         60689-5334             0282               Various                                                                                            $28.49
BRANDEN GIBSON                    1040 11TH. ST.                                                 BELOIT           WI         53511                  6004               Various                                                                                             $1.00
BRANDEN LEWIS                     406 OAKLAND AVE                                                SUN PRAIRIE      WI         53590                  6004               Various                                                                                             $4.50
BRANDEN NESS                      1189 COUNTY J                                                  LITTLE SUAMICO   WI         54141                  6002               Various                                                                                             $5.40
BRANDEN ROBBINS                   999 S. LAKE ST.                                                NEENAH           WI         54956                  6004               Various                                                                                             $2.00




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                                                                                                                                                                                                                                  Claim subject to offset?
                                                                                                                                                                                                        Unliquidated
                                                                                                                                                                                           Contingent


                                                                                                                                                                                                                       Disputed
                                                                                                                                                  Last 4 Digits of     Date Debt was
                                                                                                                                                     Account         Incurred, Basis for
              Creditor Name                Address1              Address2        Address3             City         State           Zip   Country     Number                Claim                                                                             Total Claim
BRANDEN WRIGHT                 LOT # 89 PMB 924                                               HOWARD LAKE       MN         55349                 6002                Various                                                                                                $8.52
BRANDI BANNACH                 E1788 GARFIELD LN                                              WAUPACA           WI         54981                 6002                Various                                                                                                $3.26
BRANDI BRANDSRUD               45594 176TH ST                                                 WATERTOWN         SD         57201                 6002                Various                                                                                                $1.42
BRANDI DUBOIS                  W7802 490TH AVE                                                ELLSWORTH         WI         54011                 6002                Various                                                                                                $0.66
BRANDI GUERZON                 475 POPO AGIE ST                                               LANDER            WY         82520                 6002                Various                                                                                                $5.26
BRANDI HOLMES                  4157 N 44TH ST                                                 OMAHA             NE         68110                 6004                Various                                                                                                $4.00
BRANDI HUBERTY                 115 21ST AVE APT 10                                            ROCK VALLEY       IA         51247                 6002                Various                                                                                                $9.12
BRANDI JACKSON                 6717 MILL RD                                                   PLATTSMOUTH       NE         68048                 6002                Various                                                                                                $5.10
BRANDI JACOBY-DEISHER          PO BOX 224                                                     BELLMONT          IL         62811                 6002                Various                                                                                                $0.66
BRANDI JONES                   1009 BETHEL ST NE                                              OLYMPIA           WA         98506                 6004                Various                                                                                               $25.00
BRANDI LIVINGSTON              25405 S. FINLEY RD                                             ROYAL CITY        WA         99357                 6004                Various                                                                                               $23.00
BRANDI LOPEZ                   8 NAVAJO                                                       GRAND ISLAND      NE         68803                 6004                Various                                                                                                $4.00
BRANDI MCCARSON                PO BOX 787                                                     NEWCASTLE         WY         82701                 6002                Various                                                                                                $8.33
BRANDI MCMANIGAL               13302 EMILINE                                                  OMAHA             NE         68138                 6004                Various                                                                                               $19.00
BRANDI MILLER                  901 W. 4TH ST.                                                 DIXON             IL         61021                 6004                Various                                                                                               $23.00
BRANDI N MANNING               1410 DIXON ST                                                  ATLANTA           NE         68923                 6002                Various                                                                                                $9.01
BRANDI NCRG KIEFABER           7430 BOND CT                                                   PALMYRA           MO         63461                 6002                Various                                                                                                $9.62
BRANDI NYMAN                   19 CYPRESS BLVD                                                BABBITT           MN         55706                 6002                Various                                                                                                $7.67
BRANDI PENNER                  16 E. OMENA ST                                                 WATERTOWN         WI         53094                 6004                Various                                                                                                $1.00
BRANDI PHILLIPS                214 HIGHLAND AVE                                               NEWCASTLE         WY         82701                 6002                Various                                                                                                $2.08
BRANDI PICKERING               1205 SPRUCE ST                                                 STURGIS           SD         57785                 6002                Various                                                                                                $5.95
BRANDI RABY                    318 LUMM ST                                                    GLADWIN           MI         48624                 6002                Various                                                                                                $5.42
BRANDI SHIPWASH                3409 TASHA CIRCLE                                              OMAHA             NE         68123                 6004                Various                                                                                               $65.00
BRANDI SIDDONS                 627 UNITY RD                 #2                                CHIPPEWA FALLS    WI         54729                 6004                Various                                                                                               $25.00
BRANDI TENNY                   929 3RD STREET                                                 CLARKSTON         WA         99403                 6004                Various                                                                                               $10.00
BRANDI THIYANG                 3221 WOOLWORTH AVE APT 3                                       OMAHA             NE         68105                 6004                Various                                                                                                $4.00
BRANDI TOLMAN                  2719 SHERRY LN                                                 GREEN BAY         WI         54302                 6002                Various                                                                                                $6.79
BRANDIE LOWELL                 1110 WEST MARYLAND LANE                                        LAUREL            MT         59044                 6004                Various                                                                                                $5.00
BRANDIE VEJRASKA               PO BOX 129                                                     DORCHESTER        NE         68343                 6002                Various                                                                                                $5.56
BRANDON AMSRUD                 917 MILLIGAN AVE                                               WABASHA           MN         55981                 6004                Various                                                                                                $3.06
BRANDON ANDERSON               2024 BURNHAM STREET                                            LINCOLN           NE         68502                 6004                Various                                                                                                $3.75
BRANDON BARROW                 1291 273RD NE AVE                                              ISANTI            MN         55040                 6004                Various                                                                                                $7.96
BRANDON BENNETT                624 W 2ND ST                                                   VALENTINE         NE         69201                 6002                Various                                                                                                $1.12
BRANDON BENSON                 206 BEVERLY HILLS LN                                           EDINBURG          TX         78542                 6002                Various                                                                                                $2.88
BRANDON BEYREIS                N3735 HWY 40                                                   BRUCE             WI         54819                 6004                Various                                                                                                $2.00
BRANDON BLOCK                  115 JEFFERSON STREET S. E.   APT 609                           HUTCHINSON        MN         55350                 6004                Various                                                                                                $3.06
                                                            2600 WESTSIDE
BRANDON BRAY                   APT 318                      PLAZA DRIVE                       NORFOLK           NE         68701                  6002               Various                                                                                                $1.25
BRANDON BURNETT                2039 ROUND TABLE ROAD                                          NORTH MANKATO     MN         56003                  6004               Various                                                                                                $3.00
BRANDON CHAR GALKIN            1420 S HAMPSHIRE AVE                                           MASON CITY        IA         50401                  6002               Various                                                                                                $7.92
BRANDON CHILD                  1116 22ND ST                                                   MONROE            WI         53566                  6004               Various                                                                                               $25.00
BRANDON CLARK                  1320 BRANDING IRON CT                                          WISCONSIN RAPID   WI         54494                  6002               Various                                                                                                $0.77
BRANDON CUSACK                 2375 GREEN TREE RD APT C                                       WEST BEND         WI         53090                  6002               Various                                                                                                $8.47
BRANDON DAHLE                  930 MEADOW BROOK DRIVE                                         LOGAN             UT         84321                  6002               Various                                                                                                $2.30
BRANDON DEBROUX                1245 S 6TH AVE                                                 WAUSAU            WI         54401                  6004               Various                                                                                               $19.98
BRANDON DEMEUSE                3035 WARM SPRINGS DRIVE                                        GREEN BAY         WI         54311                  6004               Various                                                                                               $55.00
BRANDON DICKAMORE              154 S 400TH W                                                  BRIGHAM CITY      UT         84302                  6002               Various                                                                                                $9.62
BRANDON DIEMEL                 W3567 STATE HIGHWAY 156                                        PULASKI           WI         54162                  6002               Various                                                                                                $0.88
BRANDON DOTEN                  325 9TH STREET NO8                                             HOWARD LAKE       MN         55349                  6002               Various                                                                                                $1.00
BRANDON ENDERS                 372 1/2 W 9TH ST                                               FOND DU LAC       WI         54935                  6004               Various                                                                                               $23.00
BRANDON EULER                  10726 N HULBERT RD                                             MC CONNELL        IL         61050                  6004               Various                                                                                                $5.02
BRANDON FABIAN                 1213 CAMBRIDGE CT                                              PLATTSMOUTH       NE         68048                  6004               Various                                                                                               $54.98
BRANDON FELIX                  11491 18TH AVE                                                 CHIPPEWA FALLS    WI         54729                  6004               Various                                                                                                $1.00
BRANDON FIRKUS                 855 E LAKE ST TRLR # 39                                        LAKE MILLS        WI         53551                  6002               Various                                                                                                $8.68




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                                                                                                                                                    Account         Incurred, Basis for
            Creditor Name                Address1             Address2           Address3             City        State           Zip   Country     Number                Claim                                                                             Total Claim
BRANDON FLORES               4941 CONE AVENUE                                                 EUGENE           OR         97402                 6004                Various                                                                                               $25.00
BRANDON GAGNON               9219 S TERRY LYNN DR                                             SANDY            UT         84094                 6004                Various                                                                                               $29.75
BRANDON GREGOIRE             PO BOX 2114                                                      BIGFORK          MT         59911                 6002                Various                                                                                                $4.79
BRANDON HAGENOW              1992 W ROBERTS AVE                                               APPLETON         WI         54914                 6002                Various                                                                                                $4.19
BRANDON HALL                 RT.2 N. BOX33P                                                   POCATELLO        ID         83202                 6002                Various                                                                                                $8.25
BRANDON HARDIN               N14289 ARNDT RD                                                  FAIRCHILD        WI         54741                 6002                Various                                                                                                $5.64
BRANDON HARRIS               724 CHERRY STREET            APT 4                               GREEN BAY        WI         54301                 6004                Various                                                                                                $2.00
BRANDON HILLOCK              1127 E960 S #20                                                  PROVO            UT         84606                 6004                Various                                                                                                $5.98
BRANDON HORAK                6558 7TH AVENUE                                                  KENOSHA          WI         53143                 6004                Various                                                                                               $40.00
BRANDON HYATT                5808 170TH AVE                                                   WOOD LAKE        MN         56297                 6004                Various                                                                                                $1.26
BRANDON J DURON              208 OXFORD AVE                                                   OSHKOSH          WI         54901                 6002                Various                                                                                                $5.81
BRANDON JENSEN               135 NICKEL RD                                                    COURTLAND        KS         66939                 6002                Various                                                                                                $4.79
BRANDON JERUE                5184 COUNTY ROAD NN                                              FLORENCE         WI         54121                 6004                Various                                                                                               $65.98
BRANDON JOHNSON              2355 BALBOA DR                                                   IDAHO FALLS      ID         83404                 6002                Various                                                                                                $8.33
BRANDON KAMMERER             181 HIDDEN VALLEY RD                                             MINNESOTA CITY   MN         55959                 6002                Various                                                                                                $8.47
BRANDON KELLEY               1575 E BLASCHKO AVE                                              ARCADIA          WI         54612                 6002                Various                                                                                                $0.96
BRANDON KRAUSE               324 JOSEPH ST                                                    NEENAH           WI         54956                 6002                Various                                                                                                $4.22
BRANDON L MEYERS             85015 HIGHWAY 16                                                 WAKEFIELD        NE         68784                 6002                Various                                                                                                $0.47
BRANDON LAFLAMME             5019 N. BROOKLYN LN.                                             PASCO            WA         99301                 6004                Various                                                                                               $45.02
BRANDON LETTERMAN            N7340 MARSHAL BLUFF ROAD                                         MONTICELLO       WI         53570                 6004                Various                                                                                               $25.00
BRANDON LEWIS                PO BOX 213                                                       DAVIS JUNCTION   IL         61020                 6004                Various                                                                                                $3.90
BRANDON LYNN RAYBURN         1043 NORTHWOOD DR                                                SHAWNO           WI         54166                 6002                Various                                                                                                $7.21
BRANDON M KESNER-GIFFORD     7902 BOCKS RD                                                    GREENLEAF        WI         54126                 6002                Various                                                                                                $8.85
BRANDON M MUELLER            36539 LINCOLN TRL                                                NORTH BRANCH     MN         55056                 6002                Various                                                                                                $3.84
BRANDON M. BARTON            3105 N 17TH ST                                                   COEUR D ALENE    ID         83815                 6002                Various                                                                                                $3.53
BRANDON MAAS                 2589 HAVEN RD.                                                   GREEN BAY        WI         54313                 6004                Various                                                                                               $25.00
BRANDON MANTHEY              476 S PARK AVE                                                   FOND DU LAC      WI         54935                 6004                Various                                                                                               $39.98
BRANDON MCFERRIN             1354 PARADE LOOP APT 271                                         WALLA WALLA      WA         99362                 6004                Various                                                                                               $38.50
BRANDON MINER                135 LLANOS STREET                                                VERONA           WI         53593                 6004                Various                                                                                                $3.00
BRANDON MONSALVE             732 3RD STREET                                                   LEWISTON         ID         83501                 6004                Various                                                                                                $5.00
BRANDON MULLINS              14003 ROCKLAND ST                                                REEDSVILLE       WI         54230                 6002                Various                                                                                                $6.71
BRANDON NEBE                 312 1/2 SPRING                                                   QUINCY           IL         62301                 6004                Various                                                                                               $20.00
BRANDON NEGRETRIOS           229 BELLMONT RD                                                  MADISON          WI         53714                 6004                Various                                                                                                $2.00
BRANDON PALMER               202 SOUTH CROSS              BOX 164                             CEYLON           MN         56121                 6004                Various                                                                                                $3.00
BRANDON PATE                 1327 LAKE                                                        LINCOLN          NE         68502                 6004                Various                                                                                                $4.00
BRANDON PINNON               2335 WOOD DR.                                                    BELOIT           WI         53511                 6004                Various                                                                                               $39.98
BRANDON POLICH               9 KINGS MILL CIRCLE                                              MADISON          WI         53718                 6004                Various                                                                                               $25.00
BRANDON PURCELLA             24 UPPER CREEK RD                                                BUFFALO          WY         82834                 6002                Various                                                                                                $0.93
BRANDON RUST                 1546 OXBOW CIR                                                   SALT LAKE CITY   UT         84123                 6002                Various                                                                                                $8.08
BRANDON SCOTT                2201 W 1ST ST                                                    DULUTH           MN         55806                 6004                Various                                                                                                $3.00
BRANDON SHOLES               218 CENTER ST S                                                  UTICA            MN         55979                 6002                Various                                                                                                $6.03
BRANDON SHULTIS              1600 BRIGGS ST                                                   STEVENS POINT    WI         54481                 6002                Various                                                                                                $5.89
BRANDON SMITH                205 S WEST ST                                                    ARTHUR           IA         51431                 6002                Various                                                                                                $6.44
BRANDON SOLORIO              820 E ST # 71                                                    HOLDREGE         NE         68949                 6002                Various                                                                                                $9.07
                             3715 MORMON COULEE RD APT
BRANDON SOMMERS              11                                                               LA CROSSE        WI         54601                  6002               Various                                                                                                $6.30
BRANDON STEINAGEL            1435 WILLIAMSBURG ROAD                                           HELENA           MT         59602                  6004               Various                                                                                               $20.00
BRANDON STEWART              718 RIVERSIDE DRIVE                                              FORT ATKINSON    WI         53538                  6004               Various                                                                                               $55.95
BRANDON STRENG               W5449 HILL VIEW ROAD                                             ELKHORN          WI         53121                  6004               Various                                                                                                $1.95
BRANDON TAYLOR               29 S SENECA AVE APT 7                                            NEWCASTLE        WY         82701                  6002               Various                                                                                                $3.86
BRANDON THURK                W6860 BLUE HERON BLVD # 15                                       FOND DU LAC      WI         54937                  6002               Various                                                                                                $8.05
BRANDON WILLIAMS             329 CTY RD A                                                     ALMOND           WI         54909                  6002               Various                                                                                                $6.11
BRANDON WILLS                706 CIRCLE DRIVE                                                 WABASHA          MN         55981                  6004               Various                                                                                               $10.00
BRANDON WOODHOUSE            1879 VIRGINIA AVE                                                IDAHO FALLS      ID         83404                  6002               Various                                                                                                $3.67




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                                                                                                                                                          Account       Incurred, Basis for
           Creditor Name                    Address1                Address2         Address3               City        State           Zip   Country     Number              Claim                                                                             Total Claim
BRANDON WRIGHT                    215 WASHINGTON ST                                               STANLEY          WI           54768                 6004              Various                                                                                               $21.25

BRANDON YOUNGFLESH                75 NORTH PLEASANTVILLE DRIVE                                    NAMPA            ID           83651                   6004            Various                                                                                               $11.02
BRANDON ZUEHLKE                   1133 PARK AVE                                                   BELOIT           WI           53511                   6004            Various                                                                                                $1.00
BRANDT ROUTH                      PO BOX 142                                                      WINNER           SD           57580                   6002            Various                                                                                                $9.81
BRANDY BANZHAF                    609 PACIFIC #3 PO BOX 116                                       LOOMIS           NE           68958                   6002            Various                                                                                                $9.62
BRANDY BRITAIN                    PO BOX 181                                                      GUERNSEY         WY           82214                   6002            Various                                                                                                $6.74
BRANDY BURKOWSKI                  806 1/2 12TH ST S                                               GREAT FALLS      MT           59405                   6002            Various                                                                                                $3.89
BRANDY BUSCHER                    820 N PRAIRE TRACE RD                                           SUTHERLAND       NE           69165                   6004            Various                                                                                               $10.00
BRANDY COON                       2538 SPENCER RD SE                                              KALKASKA         MI           49646                   6002            Various                                                                                                $5.97
BRANDY GIBBS                      245 S 830TH W                                                   TREMONTON        UT           84337                   6002            Various                                                                                                $5.75
BRANDY HARRIS                     36 WEST KLUBERTANZ RD.                                          SUN PRAIRIE      WI           53590                   6004            Various                                                                                                $2.00
BRANDY HUGHES                     1443 W 1650TH N # 3                                             LAYTON           UT           84041                   6002            Various                                                                                                $6.90
BRANDY MCFETRIDGE                 1010 PINE ST                                                    MANITOWOC        WI           54220                   6002            Various                                                                                                $5.84
BRANDY MONTGOMERY                 3404 2ND AVE N APT 6                                            BILLINGS         MT           59101                   6002            Various                                                                                                $2.90
BRANDY MORGAN                     142 KRAUSE LANE                                                 KALISPELL        MT           59901                   6004            Various                                                                                               $38.49
BRANDY PAZDERNIK                  1502 N B ST                                                     BROKEN BOW       NE           68822                   6002            Various                                                                                                $1.32

BRANDY PIDGEON                    64 NORTH BROWN STREET APT 4                                     RHINELANDER      WI           54501                   6004            Various                                                                                               $42.00
BRANDY PORTER                     3242 S. BROADWAY ST                                             MAGNA            UT           84044                   6004            Various                                                                                                $5.00
BRANDY RAMMINGER                  709 VERNON AVE                                                  MADISON          WI           53714                   6004            Various                                                                                                $3.00
BRANDY SHIPMAN                    3200N 45 ST                                                     LINCOLN          NE           68504                   6004            Various                                                                                                $4.00
BRANDY SMITH                      800 E 17TH ST                                                   IDAHO FALLS      ID           83404                   6002            Various                                                                                               $10.00
BRANDY TEFFT                      12326 ACE LN                                                    STURGIS          SD           57785                   6002            Various                                                                                                $9.18
BRANISHA HAWKINS                  2855 SPRAGUE ST                                                 OMAHA            NE           68111                   6004            Various                                                                                                $6.00
BRANNON REID                      2641 GLENDALE RD                                                COUNCIL          ID           83612                   6004            Various                                                                                                $3.65
BRANT GRYNIEWSKI                  1289 CANTERBERRY RD                                             GREEN BAY        WI           54304                   6004            Various                                                                                                $3.00
BRAQUEL GILMAN                    P.O.BOX 142                                                     LOYAL            WI           54446                   6004            Various                                                                                                $7.98
                                  1601 COLUMBIA PARK TRAIL, STE
BRASHEAR ELECTRIC INC             204                                                             RICHLAND         WA           99352                                   11/29/2018                                                                                        $784.14
                                  32206 COLLECTION CENTER
BRAVADO INTERNATIONAL MERCHAND    DRIVE                                                           CHICAGO          IL           60693-0322              8408            Various                                                                                        $33,936.34
BRAVO SPORTS                      PO BOX 847224                                                   LOS ANGELES      CA           90084-7224              1207            Various                                                                                        $19,320.77
BRAXTON BARNETT                   12557 S 1ST E                                                   IDAHO FALLS      ID           83404                   6002            Various                                                                                            $10.00
BRAXTON JOHNSTON                  916 W STATE ST APT 5                                            FRIENDSHIP       WI           53934                   6002            Various                                                                                             $5.04
BRAY TORSTENSON                   310 CALDWELL AVE.                                               BELOIT           WI           53511                   6004            Various                                                                                             $7.00
BRAYAN AGATON-HERNANDEZ           2111 CHRISTI LANE             APT 8                             BELVIDERE        IL           61008                   6004            Various                                                                                             $3.90
BRAYDON DEWITT-JACKSON            414 CHESTNUT ST                                                 WIS RAPIDS       WI           54494                   6004            Various                                                                                             $2.00
BRAYLE SVENDSEN                   2004 7TH ST                                                     MONROE           WI           53566                   6004            Various                                                                                            $16.00
BRAYLEE BORTON                    217 5TH AVE                                                     NEWCASTLE        WY           82701                   6002            Various                                                                                             $4.85
BREA ALEXANDER                    1019 MEADOW LAKE DR.                                            MASON CITY       IA           50401                   6004            Various                                                                                            $58.80
BREADSMITH                        670 N WESTHILL BOULEVARD                                        APPLETON         WI           54914                   8940            Various                                                                                         $1,324.39
BREAKTHROUGH FUEL LLC             400 S WASHINGTON STREET                                         GREEN BAY        WI           54301                   4550            Various                                                                                         $3,761.43
BREAKTHRU BEVERAGE (DEX)          PO BOX 78465                                                    MILWAUKEE        WI           53278-0000              5940            Various                                                                                         $5,905.59
BREANA ROBSON                     3741 DUDLEY ST.                                                 EAST HELENA      MT           59635                   6004            Various                                                                                            $11.00
BREANA YORK DYER                  909 PINE ST                                                     SUN PRAIRIE      WI           53590                   6004            Various                                                                                             $8.00
BREANN SUDAN                      95 HIGHWOOD DR                                                  WHITEFISH        MT           59937                   6002            Various                                                                                             $9.81
BREANN WILLS                      2604 NOTTINGHAM CT                                              LINCOLN          NE           68512                   6002            Various                                                                                             $2.60
BREANNA BARAJAS                   638 S 31ST ST                                                   MANITOWOC        WI           54220                   6002            Various                                                                                             $3.29
BREANNA BEST                      1631 N. RACINE STREET                                           APPLETON         WI           54911                   6004            Various                                                                                             $3.00
BREANNA BRESTER                   310 33RD AVE                                                    MISSOULA         MT           59804                   6004            Various                                                                                            $23.00
BREANNA DAHLMAN                   434 ADAMS ST                                                    NEENAH           WI           54956                   6004            Various                                                                                            $11.00
BREANNA ERICKSON                  211 E 7 TH ST                                                   DIXON            IL           61021                   6004            Various                                                                                            $20.00
BREANNA GELVIN                    1109 L ST                                                       TEKAMAH          NE           68061                   6004            Various                                                                                             $4.00




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                                                                                                                                                                                                                                   Claim subject to offset?
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                                                                                                                                                                                            Contingent


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                                                                                                                                                   Last 4 Digits of     Date Debt was
                                                                                                                                                      Account         Incurred, Basis for
             Creditor Name                Address1               Address2         Address3              City        State           Zip   Country     Number                Claim                                                                             Total Claim
BREANNA HINTZE                6300 BIRCH ST TRLR 52                                            SCHOFIELD         WI         54476                 6002                Various                                                                                             $5.64
BREANNA HOFFART               201 N WEST ST                                                    PLAINVIEW         NE         68769                 6004                Various                                                                                             $2.00
BREANNA K SCHRANTZ            BOX 366                                                          SPRINGVIEW        NE         68778                 6002                Various                                                                                             $6.52
BREANNA KILLIN                P O BOX 145                                                      CERESCO           NE         68017                 6004                Various                                                                                             $2.00
BREANNA L. COLE               2901 MONAD RD APT 146                                            BILLINGS          MT         59102                 6002                Various                                                                                             $0.74
BREANNA LARUE                 741 HERON DR                 APT 103                             MANKATO           MN         56001                 6004                Various                                                                                             $3.16
BREANNA MAKI                  40919 GREYSTONE AVE                                              NORTH BRANCH      MN         55056                 6666                Various                                                                                            $20.28
BREANNA MARTIN                603 W HOUGHTON AVE                                               HOUGHTON          MI         49931                 6002                Various                                                                                             $8.68
BREANNA NEWSOM                244 S 260TH E                                                    OREM              UT         84058                 6002                Various                                                                                             $9.40
BREANNA NICO HART-DILLEY      750 E CHAMBERS ST                                                JACKSONVILLE      IL         62650                 6002                Various                                                                                             $8.14
BREANNA OTTLEY                381 N WASHINGTON BLVD        APT 207                             OGDEN             UT         84404                 6004                Various                                                                                            $23.00
BREANNA RUSS                  5063 LEVENWORTH ST                                               OMAHA             NE         68106                 6004                Various                                                                                             $6.00
BREANNA RUTH HURST            W1388 JEWETT RD                                                  BANGOR            WI         54614                 6002                Various                                                                                             $3.29
BREANNA TSOSIE                656 S 170 W                  #A                                  SPRINGVILLE       UT         84663                 6004                Various                                                                                             $9.98
BREANNE BEYER                 421 GREEN HAVEN LN                                               KAUKAUNA          WI         54130                 6004                Various                                                                                             $4.32
BREAUNA JENKINS               2435 ROBINSON AVE                                                GREEN BAY         WI         54311                 6004                Various                                                                                            $20.00
BRECKELLE BRADLEY             1056 N 2100TH W                                                  LAYTON            UT         84041                 6002                Various                                                                                             $8.47
BRECKEN CROSS                 2060 PATRICK CT                                                  WEST BEND         WI         53095                 6002                Various                                                                                             $0.58
BREE SAUTTER                  311 E KEARNEY ST                                                 AVOCA             IA         51521                 6002                Various                                                                                             $9.21
BREENA HAGEROTT               6319 N CALISPEL ST. APT. A                                       SPOKANE           WA         99208                 6004                Various                                                                                            $10.00
BREEZY DOWD                   4661 COOPER AVE 5                                                LINCOLN           NE         68508                 6004                Various                                                                                            $27.50
BREI GRER                     10896 WASHINGTON AVENUE                                          MARSHFIELD        WI         54449                 6004                Various                                                                                            $29.00
BREK BLACK                    W 2303 CTY K                                                     JUDA              WI         53550                 6004                Various                                                                                            $19.99
BREKKEN WIRT                  20 CEDAR LN                                                      LEWISTON          MN         55952                 6004                Various                                                                                            $10.00
BRENDA ADAMSKI                164 BLUE JAY LN                                                  STEVENS POINT     WI         54481                 6002                Various                                                                                             $9.67
BRENDA ARGALL                 131 SNOWFIELD RD                                                 NEGAUNEE          MI         49866                 6002                Various                                                                                             $2.71
BRENDA ASKEE                  2539 S GREEN ST                                                  SALT LAKE CITY    UT         84106                 6002                Various                                                                                             $0.60
BRENDA BARNEY                 260 N 3RD E                                                      GREEN RIVER       WY         82935                 6002                Various                                                                                             $5.92
BRENDA BEYAL                  1669 W 1320 N                                                    MAPLETON          UT         84664                 6004                Various                                                                                             $9.99
BRENDA BEYL                   313 1/2 S 28TH ST                                                BILLINGS          MT         59101                 6004                Various                                                                                             $2.00
BRENDA BLOOM                  1203 20TH ST                                                     WHEATLAND         WY         82201                 6002                Various                                                                                             $5.84
BRENDA BRUNET                 1431 MARICOPA DR                                                 OSHKOSH           WI         54904                 6002                Various                                                                                             $7.59
BRENDA CASTELLANOS            1414 ST PAUL RD NO 18                                            GRAND ISLAND      NE         68801                 6004                Various                                                                                             $5.00
BRENDA CASTIGLIONE            220 COURT ST N                                                   STANDISH          MI         48658                 6002                Various                                                                                             $4.63
BRENDA CHOUNDA                806 MAIN STREET                                                  WRIGHTSTOWN       WI         54180                 6004                Various                                                                                            $12.98
BRENDA CONTRERAS              1425 E MURRAY ST LOT 141                                         RAWLINS           WY         82301                 6002                Various                                                                                             $6.14
BRENDA DALE                   PO BOX 82                                                        DONIPHAN          MO         63935                 6002                Various                                                                                             $4.03
BRENDA DANDURAND              127 SPRUCE DR                                                    MARSHALL          MN         56258                 6004                Various                                                                                             $3.00
BRENDA DAVISON                PO BOX 351                                                       LOWELL            WI         53557                 6004                Various                                                                                             $2.00
BRENDA DEMAROIS DOZER         PO BOX 36                                                        MOHAWK            MI         49950                 6002                Various                                                                                             $4.19
BRENDA DYRDAHL MARSHALL       20331 430TH AE SW                                                EAST GRAND FOR    MN         56721                 6002                Various                                                                                             $7.15
BRENDA EDMONDS                314 RD WEST 70                                                   OGALLALA          NE         69153                 6004                Various                                                                                            $55.92
BRENDA EICHELT                203 W MAIN ST                                                    THORP             WI         54771                 6002                Various                                                                                             $4.08
BRENDA ESSMANN                886 SECURITY DR. APT.H108                                        FOND DU LAC       WI         54935                 6004                Various                                                                                           $208.01
BRENDA EVANS                  5329 COLLAGEVIEW DR                                              OOLTEWAH          TN         37363                 6002                Various                                                                                             $0.93
BRENDA FAYE PATRIDGE          592 NW HIGHWAY # A                                               TRENTON           MO         64683                 6002                Various                                                                                             $0.38
BRENDA G PARKS (AMM)          RR 3 BOX 7822                                                    DONIPHAN          MO         63935                 6002                Various                                                                                             $2.00
BRENDA GILBERT                808 S LINCOLN AVE APT 201                                        BEAVER DAM        WI         53916                 6002                Various                                                                                             $0.85
BRENDA GRANDJEAN              627 23RD STREET              APT. 1                              OGDEN             UT         84401                 6004                Various                                                                                             $1.00
BRENDA GRAY                   PO BOX 7043                                                      KALISPELL         MT         59904                 6002                Various                                                                                             $3.64
BRENDA GREEN                  W3475 CTY TRUNK S                                                APPLETON          WI         54915                 6002                Various                                                                                             $5.21
BRENDA HAUGEN                 2315 PARK LN SE              #86                                 ROCHESTER         MN         55904                 6004                Various                                                                                             $3.00
BRENDA HOWE                   925 MINNESOTA ST                                                 OSHKOSH           WI         54902                 6002                Various                                                                                             $8.14
BRENDA J LARSON               W10124 RUSH RD                                                   BLACK RIVER FAL   WI         54615                 6002                Various                                                                                             $8.33




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             Creditor Name               Address1              Address2         Address3            City         State           Zip   Country     Number              Claim                                                                             Total Claim
BRENDA JANVRIN                425 2ND AVE SW                                                 ORONOCO           MN        55960                 6002              Various                                                                                                $5.15
BRENDA JEAN TREADWAY          PO BOX 152                                                     ROBERTSON         WY        82944                 6002              Various                                                                                                $4.03

BRENDA JEFFERS                N76W23644 MAJESTIC HEIGHTS T                                   SUSSEX            WI        53089                   6002            Various                                                                                                $8.14
BRENDA JONES                  2850 ORCHARD ST                                                LINCOLN           NE        68503                   6002            Various                                                                                                $3.04
BRENDA K ROMANS               602 N GOVERNMENT WAY                                           COEUR D ALENE     ID        83814                   6002            Various                                                                                                $6.90
BRENDA KENDEMA                958 HOMESTEAD VILLAGE        APT B                             ROCHESTER         MN        55904                   6004            Various                                                                                                $3.00
BRENDA KENNEDY                910 RICHARD DR APT 6                                           EAU CLAIRE        WI        54701                   6002            Various                                                                                                $3.33
BRENDA KILLIAN                2533 E. 95 N.                                                  IDAHO FALLS       ID        83401                   6004            Various                                                                                               $10.00
BRENDA KLOEHN                 236 SOUTH 34TH STREET                                          SPRINGFIELD       OR        97478                   6004            Various                                                                                               $15.00
BRENDA KNUTSON                1265 CHRISTOPHER DRIVE       APT 5                             NEENAH            WI        54956                   6004            Various                                                                                                $2.00
BRENDA KRINGS                 7711 TOWNLINE RD                                               WISCONSIN RAPID   WI        54494                   6002            Various                                                                                                $4.27
BRENDA KROKEN                 N8283 KELLOM RD LOT 142                                        BEAVER DAM        WI        53916                   6004            Various                                                                                                $2.00
BRENDA L BENSON               1220 CRESTON HATCHERY RD                                       KALISPELL         MT        59901                   6002            Various                                                                                                $3.81
BRENDA L LOCKMAN              37 KINDOM RD                                                   WHEATLAND         WY        82201                   6002            Various                                                                                                $1.32
BRENDA L LOPEZ                153 S 200TH E                                                  OREM              UT        84058                   6002            Various                                                                                                $5.45
BRENDA L PETERSON             30637 OLSON ST APT 318                                         PEQUOT LAKES      MN        56472                   6002            Various                                                                                                $8.27
BRENDA L WILLIAMS             PO BOX 611                                                     ASOTIN            WA        99402                   6002            Various                                                                                                $8.33
BRENDA LEONARD                4003 N 127 CT                # 363                             OMAHA             NE        68164                   6004            Various                                                                                               $25.00
BRENDA LYNN NELSON            1834 W MARQUETTE ST                                            APPLETON          WI        54914                   6002            Various                                                                                                $9.18
BRENDA MALINOWSKI-WISCH       5134 CURRY COURT                                               MADISON           WI        53711                   6004            Various                                                                                                $4.00
BRENDA MANSON                 435 FUR LANE                                                   WISCONSIN DELLS   WI        54494                   6004            Various                                                                                               $19.00
BRENDA MARISCAL JIMENEZ       1704 EAST AVE                                                  WORTHINGTON       MN        56187                   6004            Various                                                                                                $3.00
BRENDA MCCOY                  520 E WINNEBAGO ST                                             APPLETON          WI        54911                   6002            Various                                                                                                $5.48
BRENDA MEISTER                3409 W COUNTY ROAD M                                           EDGERTON          WI        53534                   6002            Various                                                                                                $8.30
BRENDA MERRYFIELD             N4302 THOMPSON RD                                              SHIOCTON          WI        54170                   6002            Various                                                                                                $0.47
BRENDA MOMMAERTS              3438 YORKSHIRE DRIVE                                           GREEN BAY         WI        54311                   6004            Various                                                                                               $20.00
BRENDA NAHRGANG               190 4TH AVE NW BOX # 131                                       MAZEPPA           MN        55956                   6002            Various                                                                                                $5.56
BRENDA NEVINS                 612 EAST LINDBERGH STREET                                      APPLETON          WI        54911                   6004            Various                                                                                                $5.00
BRENDA NIKKILA                2020 PARK AVE                                                  STURGIS           SD        57785                   6002            Various                                                                                                $0.44
BRENDA OGUIN                  204 4TH ST                                                     FRAZER            MT        59225                   6002            Various                                                                                                $3.95
BRENDA OLSEN                  1334 E. 2300 N.                                                NORTH LOGAN       UT        84341                   6004            Various                                                                                               $10.00
BRENDA OTTO                   501 W DIEL ST                                                  OTIS              KS        67565                   6002            Various                                                                                                $2.66
BRENDA PERKINS                232 W PENNSYLVANIA                                             JACKSONVILLE      IL        62650                   6004            Various                                                                                               $20.00
BRENDA PUDVAH                 705 VERNON AVE                                                 BELLEVUE          NE        68005                   6002            Various                                                                                                $1.78
BRENDA PYNAKER                1512 41ST AVE UPPER                                            KENOSHA           WI        53144                   6004            Various                                                                                               $17.20
BRENDA REED                   320 W 4675TH S                                                 OGDEN             UT        84405                   6002            Various                                                                                                $3.86
BRENDA REINKE                 935 TAYCO ST APT 3                                             MENASHA           WI        54952                   6002            Various                                                                                                $0.58
BRENDA ROBINSON               1618 MARION RD SE LOT 207                                      ROCHESTER         MN        55904                   6004            Various                                                                                                $3.00
BRENDA ROTH                   157 CTY RD # 1600                                              DORCHESTER        NE        68343                   6002            Various                                                                                                $3.42
BRENDA SECKMAN                1147 ROAD 14                                                   POWELL            WY        82435                   6002            Various                                                                                                $5.97
BRENDA SEWELL                 BOX 697                                                        NEWCASTLE         WY        82701                   6002            Various                                                                                               $15.84
BRENDA SHADDON                PO BOX 1421                                                    KALKASKA          MI        49646                   6002            Various                                                                                                $7.95
BRENDA SINGLETON              507 E MILL ST                                                  GALLATIN          MO        64640                   6002            Various                                                                                                $3.67
BRENDA SONNENTAG              4508 139TH ST                                                  CHIPPEWA FALLS    WI        54729                   6002            Various                                                                                                $1.42
BRENDA SOSNOVSKE              P O BOX 272                                                    KEWAUNEE          WI        54216                   6004            Various                                                                                               $10.00
BRENDA STEWART                5564 CTY RD N                                                  OCONTO            WI        54153                   6004            Various                                                                                                $2.00
BRENDA STILL                  3418 EAGLESON RD                                               GLADWIN           MI        48624                   6002            Various                                                                                                $2.00
BRENDA SUE LASHMET            1042 E MORTON AVE                                              JACKSONVILLE      IL        62650                   6002            Various                                                                                                $8.47
BRENDA UDD                    1309 N 3RD AVE                                                 WAUSAU            WI        54401                   6004            Various                                                                                                $2.00
BRENDA VALENTINE              3960 N SAND LAKE DR                                            FLORENCE          WI        54121                   6002            Various                                                                                                $7.01
BRENDA VILLA ESTRADA          408 W AVENUE                                                   GRAND ISLAND      NE        68803                   6004            Various                                                                                               $15.00
BRENDA VOLL                   5 MOORE LN                                                     NEWCASTLE         WY        82701                   6002            Various                                                                                                $5.53
BRENDA WALKER                 ROUTE 1 BOX 1982                                               DONIPHAN          MO        63935                   6002            Various                                                                                                $4.77




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             Creditor Name                Address1          Address2        Address3             City       State           Zip   Country     Number                Claim                                                                             Total Claim
BRENDA WATERS                 915 REINHOLD ST                                            WATERTOWN       WI         53094                 6004                Various                                                                                                $2.00
BRENDA WATSON                 W10681 HICKORY LN                                          FOX LAKE        WI         53933                 6002                Various                                                                                                $4.19
BRENDA WELCH                  5088 SO E # 1450                                           OGDEN           UT         84403                 6002                Various                                                                                                $1.07
BRENDA WILLIAMS               603 CORDES DR                                              PAPILLION       NE         68046                 6002                Various                                                                                                $6.88
BRENDA WORMAN                 465 N 310 E                                                SHOSHONE        ID         83352                 6004                Various                                                                                               $50.00
BRENDA** WILLIAMS             PO BOX 611                                                 ASOTIN          WA         99402                 6002                Various                                                                                                $2.68
BRENDAN LAVIGNE               302 BONNELL AVE                                            REDGRANITE      WI         54970                 6004                Various                                                                                               $39.98
BRENDAN O'FLYNN               14736 ARBOR STREET                                         OMAHA           NE         68144                 6004                Various                                                                                               $32.00
BRENDAN PADILLA               101 WILSON AVE NE                                          SAINT CLOUD     MN         56304                 6004                Various                                                                                                $3.00
BRENDAN T BAHUN               1726 ROBERTS LN                                            ABRAMS          WI         54101                 6002                Various                                                                                                $5.73
BRENDEN DONAHUE               34321 LANESBORO CT                                         NORTH BRANCH    MN         55056                 6002                Various                                                                                                $5.18
BRENDEN PAQUETTE              9427 67TH ST                                               KENOSHA         WI         53142                 6002                Various                                                                                               $10.00
BRENDEN WAUGH                 108 W 2ND ST NORTH                                         MADISON         NE         68748                 6004                Various                                                                                               $10.02
BRENDON BARNES                6336 OACK CRST                                             LOVES PARK      IL         61111                 6002                Various                                                                                                $6.74
BRENDON DALE                  3397 LAVENDER DR                                           HELENA          MT         59602                 6002                Various                                                                                                $5.81
BRENDT RISKE                  7624 COUNTY ROAD C                                         MANITOWOC       WI         54220                 6004                Various                                                                                               $35.00
BRENNA BATES                  2214 PETERS DR #113                                        EAU CLAIRE      WI         54703                 6004                Various                                                                                                $2.00
BRENNA BLACKBONNET CHASE      2820 NW 3RD                                                LINCOLN         NE         68521                 6004                Various                                                                                               $24.37
BRENNA COLLINS                202 2ND AV E NW                                            KASSON          MN         55944                 6004                Various                                                                                                $3.00
BRENNA JONES                  2613 FAIRFIELD PLACE                                       MADISON         WI         53704                 6004                Various                                                                                                $2.00
BRENNA SCOTT                  216 S. BOWDISH                                             SPOKANE         WA         99206                 6004                Various                                                                                                $2.15
BRENNA WADSWORTH              316 ELK CT                                                 RAWLINS         WY         82301                 6002                Various                                                                                                $8.88
BRENNAH CONLEY                4946 MORRIS THOMAS ROAD                                    DULUTH          MN         55811                 6004                Various                                                                                                $1.34
BRENNAN J SHIMIC              PO BOX 157                                                 YODER           WY         82244                 6002                Various                                                                                                $4.49
BRENNAN JACQUART              702 SUNRISE LN                                             GREEN BAY       WI         54301                 6004                Various                                                                                                $3.00
BRENNON RANDALL               100 INDUS ST                                               FAIRMONT        MN         56031                 6004                Various                                                                                                $3.00
BRENT ALBERTS                 6848 COUNTY B                                              OCONTO FALLS    WI         54154                 6002                Various                                                                                                $9.18
BRENT ANDERSON                403 W 12TH ST                                              MCCAMMON        ID         83250                 6002                Various                                                                                                $7.04
BRENT BELL                    1210 S 7TH AVE                                             WAUSAU          WI         54401                 6002                Various                                                                                                $6.22
BRENT CARLSON                 2035 SMITH RD                                              RICE LAKE       WI         54868                 6004                Various                                                                                               $25.00
BRENT DARNELL                 W14471 STATE HIGHWAY 73                                    LUBLIN          WI         54447                 6002                Various                                                                                                $4.03
BRENT HEATON                  209 E GREEENWOOD STR                                       JACKSONVILLE    IL         62650                 6004                Various                                                                                               $10.00
BRENT HOYT                    2744 N RENOWAY                                             BOISE           ID         83704                 6002                Various                                                                                                $9.42
BRENT JOHNSON                 1099 W. CRESCENT ST                                        MERIDIAN        ID         83646                 6004                Various                                                                                               $26.50
BRENT M THOMPSON              420 LIBERTY ST APT 33                                      KALISPELL       MT         59901                 6002                Various                                                                                                $4.55
BRENT OEBSER                  E6185 810TH AVE                                            COLFAX          WI         54730                 6004                Various                                                                                               $24.50
BRENT OLSON                   13846 382ND AVE                                            ABERDEEN        SD         57401                 6004                Various                                                                                               $23.00
BRENT ROBERTSON               887 FAIR MONT LP                                           COEUR D ALENE   ID         83814                 6002                Various                                                                                                $1.89
BRENT ROSNER                  506 MONROE ST                                              REEDSVILLE      WI         54230                 6004                Various                                                                                               $12.40
BRENT SCHEUMAN                N3890 GRAHL ST                                             MEDFORD         WI         54451                 6002                Various                                                                                                $6.19
BRENT SCHULTZ                 494 PARK LN                                                HUDSON          WI         54016                 6004                Various                                                                                               $25.00
BRENT STROMBERG               6900 400TH ST                                              NORTH BRANCH    MN         55056                 6002                Various                                                                                                $1.18
BRENT TUTTLE                  117 NEW YORK ST                                            ISHPEMING       MI         49849                 6004                Various                                                                                               $80.00
BRENT W EDMOND                920 W BARBER RD                                            CANTRALL        IL         62625                 6002                Various                                                                                                $0.79
BRENT WADE                    3268 SHERWOOD DRIVE                                        BELLEVUE        NE         68147                 6004                Various                                                                                                $8.00
BRENT WILLIAMS                488 E 800 S                                                SPRINGVILLE     UT         84663                 6004                Various                                                                                                $5.53
BRENTON MARTELL               209 PANTHER TRAIL                                          MONONA          WI         53716                 6004                Various                                                                                               $20.00
BRENTON WHITE                 9501 OLD SPRING ST                                         RACINE          WI         53406                 6004                Various                                                                                               $11.00
                                                        20639 SOUTH
BRENTWOOD ORIGINALS           BOMAINE CORPORATION       FORDYCE AVENUE                   CARSON          CA         90810-1019             7001               Various                                                                                        $80,049.73
BREONNA OMMODT                215 ELLIS AVE                                              MANKATO         MN         56001                  6002               Various                                                                                             $8.71
BRET JOHNSON                  1600 MARION RD SE RM 4                                     ROCHESTER       MN         55904                  6004               Various                                                                                             $6.00
BRET KLEVEN                   431 7TH ST                                                 CALUMET         MI         49913                  6002               Various                                                                                             $3.42
BRETT ANDERSON                392 W HARBOR VIEW DR                                       COEUR D ALENE   ID         83814                  6002               Various                                                                                             $5.89




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BRETT ARNOLD                      743 FRANKLIN ST                                             OSHKOSH           WI         54901                 6004                Various                                                                                               $10.00
BRETT BERG                        14802 E. WELLESLEY AVE.                                     SPOKANE           WA         99216                 6004                Various                                                                                                $5.00
BRETT BURGAN                      328 S 300 E                                                 BRIGHAM CITY      UT         84302                 6004                Various                                                                                               $10.00
BRETT BURNS                       149 LAKE ST                                                 PESHTIGO          WI         54157                 6004                Various                                                                                               $17.00
BRETT C CHRISTENSEN               201 PARK ROW APT 203                                        SAINT PETER       MN         56082                 6002                Various                                                                                                $9.21
BRETT CARLSON                     328 S WALNUT AVE                                            NEW HAMPTON       IA         50659                 6002                Various                                                                                                $6.79
BRETT DECCY                       1478 E MASON ST                                             GREEN BAY         WI         54301                 6004                Various                                                                                               $10.00
BRETT DEGROOT                     983 7TH ST                                                  MENASHA           WI         54952                 6004                Various                                                                                                $3.00
BRETT ECKMAN                      184 9TH ST                                                  AFTON             WY         83110                 6002                Various                                                                                                $2.66
BRETT EVANS                       N5812 GUNLOCK RD                                            GLEN FLORA        WI         54526                 6004                Various                                                                                               $45.00
BRETT FAUCETT                     4548 W 3950TH S                                             WEST VALLEY CIT   UT         84120                 6002                Various                                                                                                $5.34
BRETT FINBERG                     1921 47TH ST SE                                             SAINT CLOUD       MN         56304                 6002                Various                                                                                                $7.10
BRETT HALLER                      227 S GRANT ST                                              ELLSWORTH         WI         54011                 6002                Various                                                                                                $2.30
BRETT HEAPS                       PO BOX 1191 PMB 703                                         SALMON            ID         83467                 6002                Various                                                                                                $8.47
BRETT HOUSER                      310 KEENE ST                                                ANSLEY            NE         68814                 6002                Various                                                                                                $3.26
BRETT LAVELLE                     2736 CHANDLER RD                                            OMAHA             NE         68137                 6002                Various                                                                                                $8.30
BRETT LEANNA                      N1209 LUCERNE LAKE RD                                       NESHKORO          WI         54960                 6004                Various                                                                                               $34.00
BRETT LEE DENNEY                  46 EMS LN # W16A                                            NORTH WEBSTER     IN         46555                 6002                Various                                                                                                $9.26
BRETT MATHEWS                     508 W 2ND ST                                                LAREDO            MO         64652                 6002                Various                                                                                               $10.00
BRETT MILLING                     644 S MAIN ST                                               SEYMOUR           WI         54165                 6002                Various                                                                                                $5.95
BRETT MOORE                       3617 CUSTER AVENUE                                          BILLINGS          MT         59102                 6004                Various                                                                                               $50.00
BRETT OLEHY                       677 HOLLBROOK DR.                                           IDAHO FALLS       ID         83401                 6004                Various                                                                                               $30.00
BRETT RUCKER                      501 SANDLAKE RD                                             ONALASKA          WI         54650                 6002                Various                                                                                                $2.22
BRETT SANDAU                      3885 N 2600TH E                                             TWIN FALLS        ID         83301                 6002                Various                                                                                                $7.73
BRETT SHUFELT                     94 GARFIELD AVE                                             CLINTONVILLE      WI         54929                 6002                Various                                                                                                $8.88
BRETT SMOOT                       2142 W 9TH AVE            APT 5                             OSHKOSH           WI         54904                 6004                Various                                                                                               $10.00
BRETT TESTROOTE                   8180 OWL CT                                                 HELENA            MT         59602                 6002                Various                                                                                                $8.33
BRETT VERHEIN                     1528 JEFFERSON STREET                                       WEST BEND         WI         53090                 6004                Various                                                                                                $7.99
BRETT VOLKMEIER                   1983 LANCELOT LANE                                          NORTH MANKATO     MN         56003                 6004                Various                                                                                                $3.00
BRETT WILKE                       N640 WESTHAVEN DR                                           FOND DU LAC       WI         54935                 6004                Various                                                                                               $25.00
BRETT WOOLLEY                     3142 W HAVEA CIR                                            SALT LAKE CITY    UT         84129                 6002                Various                                                                                                $5.95
BREWSTER BUILDING CENTER INCOR    2023 SD HIGHWAY 10                                          SISSETON          SD         57262                 3338                Various                                                                                               $26.63
BRIA CAMILLE KETTENHOFEN          2632 W SUNNYVIEW CIR                                        APPLETON          WI         54914                 6002                Various                                                                                                $9.04
BRIAN A. DELANEY                  1610 BOLES ST                                               WISCONSIN RAPID   WI         54495                 6002                Various                                                                                                $0.63
BRIAN ABEL                        805 AURORA DRIVE                                            BILLINGS          MT         59102                 6004                Various                                                                                               $10.02
BRIAN ALLARD                      152 BERNARD RD                                              KALISPELL         MT         59901                 6002                Various                                                                                                $1.75
BRIAN ANDERSON                    509 EDGEWOOD                                                ALBERT LEA        MN         56007                 6004                Various                                                                                                $3.00
BRIAN BAKER                       85940 HIGHWAY 35                                            WAKEFIELD         NE         68784                 6002                Various                                                                                                $2.41
BRIAN BAKKE                       7483 100 MILE GROVE RD                                      DANE              WI         53529                 6004                Various                                                                                                $5.00
BRIAN BARTELS                     1541 118TH ST                                               CHIPPEWA FALLS    WI         54729                 6002                Various                                                                                                $3.10
BRIAN BAU                         812 2ND ST SE                                               PIPESTONE         MN         56164                 6002                Various                                                                                                $6.88
BRIAN BECK                        304 WEST 1ST ST                                             ATKINSON          NE         68713                 6004                Various                                                                                               $20.00
BRIAN BEHLING                     755 MADISON ST                                              NEENAH            WI         54956                 6004                Various                                                                                               $25.00
BRIAN BENKERT                     1023 W. LANGDEN PLACE                                       FREEPORT          IL         61032                 6004                Various                                                                                                $5.00
BRIAN BLACKNO                     W MICHIGAN AVE LOT 118                                      CLINTON           MI         49236                 6002                Various                                                                                                $9.64
BRIAN BLANSETTE                   123 N CHERRY STREET                                         HORTONVILLE       WI         54944                 6004                Various                                                                                               $65.00
BRIAN BOCK                        1086 1ST RD                                                 PALMYRA           NE         68418                 6002                Various                                                                                                $1.40
BRIAN BOYINGTON                   17848-93RD STREET                                           BRISTOL           WI         53104                 6002                Various                                                                                                $3.97
BRIAN BRANDON                     55000 195TH ST                                              PACIFIC JUNCTIO   IA         51561                 6002                Various                                                                                                $2.93
BRIAN BROWNING                    761 E. HOLLY ST.                                            BOISE             ID         83712                 6004                Various                                                                                                $3.65
BRIAN CALDWELL                    2207 E FOREST ST APT 4                                      MARSHFIELD        WI         54449                 6002                Various                                                                                                $9.48
BRIAN CARLISLE                    N1299 CTY G                                                 BANGOR            WI         54614                 6002                Various                                                                                                $7.04
BRIAN CARTWRIGHT                  41 E 14TH ST                                                CLINTONVILLE      WI         54929                 6002                Various                                                                                                $1.45
BRIAN CONNOLLY                    105 RICHLAND LN                                             MADISON           WI         53705                 6002                Various                                                                                                $1.81




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                                                                                                                                                                                             Contingent


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                                                                                                                                                    Last 4 Digits of     Date Debt was
                                                                                                                                                       Account         Incurred, Basis for
             Creditor Name               Address1               Address2           Address3             City         State           Zip   Country     Number                Claim                                                                             Total Claim
BRIAN CRONAN                  206 N 2ND ST, PO BOX 314                                          SARGENT           NE         68874                 6002                Various                                                                                             $3.89
BRIAN DECOTEAU                12469 BIA HWY # 700 PMB BOX                                       SISSETON          SD         57262                 6002                Various                                                                                            $10.00
BRIAN DICKSON                 807 RIDGE DR                  APT 710                             DEKALB            IL         60115                 6004                Various                                                                                           $195.00
BRIAN DILLMAN                 3399 JENNESS AVE                                                  MC FARLAND        WI         53558                 6004                Various                                                                                             $7.00
BRIAN DOMBROSKI               1167 ALICE DRIVE                                                  GREEN BAY         WI         54304                 6004                Various                                                                                            $15.00
BRIAN DRAPER                  2967 DUNLAP LANE SE                                               ROCHESTER         MN         55904                 6004                Various                                                                                            $31.00
BRIAN DUBRAY                  1019 15TH ST N PRE RELEASE                                        GREAT FALLS       MT         59401                 6002                Various                                                                                             $2.49
BRIAN DULEK                   750 W BROADWAY ST                                                 WINONA            MN         55987                 6004                Various                                                                                             $3.00
BRIAN DURNING                 2227 ATLANTA ST                                                   GRAND ISLAND      NE         68803                 6002                Various                                                                                             $2.79

BRIAN E DAVIS                 W9170 S AND D TOWNLINE RD #                                       DARIEN            WI         53114                  6002               Various                                                                                                $6.16
BRIAN ED LEAKE                1404 AVE B NW                                                     GREAT FALLS       MT         59404                  6002               Various                                                                                                $1.59
BRIAN EGERBRECHT              1014 PRAIRIE RD                                                   PLYMOUTH          WI         53073                  6002               Various                                                                                                $8.85
BRIAN F KNORR                 236 W ROAD                                                        BOWDOIN           ME         04287                  6002               Various                                                                                                $6.93
BRIAN FILKINS                 134 PAULSON RD                                                    RIVER FALLS       WI         54022                  6004               Various                                                                                               $64.97
BRIAN FINCH                   2689 CAVALRY LN                                                   NEENAH            WI         54956                  6004               Various                                                                                               $25.00
BRIAN FLEMMING                1943 GREENTREE RD                                                 WEST BEND         WI         53090                  6002               Various                                                                                                $1.59
BRIAN GALASSO                 704 CREEK EDGE DR                                                 DEFOREST          MT         53532                  6002               Various                                                                                                $1.59
BRIAN GEMPELER                17531 RT 72                                                       SHANNON           IL         61078                  6004               Various                                                                                               $49.50
BRIAN GETZLOFF                N6938 FAVILLE RD                                                  LAKE MILLS        WI         53551                  6002               Various                                                                                                $2.16
BRIAN GOEBEL                  6488 GILLIE LANE                                                  GRATIOT           WI         53541                  6004               Various                                                                                               $35.00
BRIAN GRADY                   9768 LINCOLN RD W                                                 CANYON CREEK      MT         59633                  6002               Various                                                                                                $7.12
BRIAN GRIESBACK               310 FULTON ST                                                     SEYMOUR           WI         54165                  6002               Various                                                                                                $1.97
BRIAN GROSSEN                 N6175 CTY E                                                       ALBANY            WI         53502                  6004               Various                                                                                               $40.00
BRIAN GROVES                  1430 SILVERSTONE TRL APT 4                                        DE PERE           WI         54115                  6002               Various                                                                                                $7.23
BRIAN GUELFF                  1739 BENCH BLVD                                                   BILLINGS          MT         59105                  6004               Various                                                                                               $23.00
BRIAN GUSTAFSUN               GREAT RIVER ESTATES         APT 101                               WAITE PARK        MN         56387                  6004               Various                                                                                               $16.00
BRIAN HANES                   303 N 5TH ST                                                      SARGENT           NE         68874                  6002               Various                                                                                                $4.05
BRIAN HAYHURST MCGONIGAL      3434 N ELMSTONE AVE                                               MERIDIAN          ID         83646                  6004               Various                                                                                               $47.96
BRIAN HIATT                   580 N 600TH E                                                     BRIGHAM CITY      UT         84302                  6002               Various                                                                                                $9.29
BRIAN HICKMAN                 420 N 6TH STREET                                                  MISSOURI VALLEY   IA         51555                  6004               Various                                                                                               $30.00
BRIAN HILL                    1901 N. LINCOLN AVE         APT 313                               URBANA            IL         61801                  6004               Various                                                                                               $84.00
BRIAN INMAN                   2170 RYAN RD                                                      DE PERE           WI         54115                  6002               Various                                                                                                $6.27
BRIAN J LOES                  911 N MONROE AVE                                                  MASON CITY        IA         50401                  6002               Various                                                                                                $2.85
BRIAN JACQUET                 324 STATE ST                                                      WAUPACA           WI         54981                  6004               Various                                                                                               $24.00
BRIAN JOHNSON                 18721 KODIAK RD                                                   JAMESON           MO         64647                  6002               Various                                                                                               $18.71
BRIAN JOSEPH JEFFREY          9045 HIGHWAY 287                                                  LANDER            WY         82520                  6002               Various                                                                                                $9.26
BRIAN JOSLIN                  2578 CTY RD L                                                     TOMAHAWK          WI         54487                  6002               Various                                                                                                $1.42
BRIAN KENNEDY                 4647 ATHENS TRL                                                   NORTH BRANCH      MN         55056                  6002               Various                                                                                                $7.15
BRIAN KERBS                   1003 12TH AVE                                                     GRAFTON           WI         53024                  6002               Various                                                                                                $5.26
BRIAN KIRKLAND                526 3RD ST. NW                                                    ROCHESTER         MN         55904                  6004               Various                                                                                                $3.00
BRIAN KIRT                    526 N PACKER DRIVE                                                MANITOWOC         WI         54220                  6004               Various                                                                                               $37.70
BRIAN KLIMCZYK                1209 WILSON AVE                                                   GREEN BAY         WI         54303                  6002               Various                                                                                                $2.96
BRIAN KOSS                    2125 CEDAR PARK CT SE                                             ROCHESTER         MN         55904                  6002               Various                                                                                                $6.96
BRIAN L RIPLEY                1286 W LEISURE DR                                                 HAYDEN            ID         83835                  6002               Various                                                                                                $4.08
BRIAN L VAN ERT               W10781 CTY RD X                                                   STANLEY           WI         54768                  6002               Various                                                                                                $6.99
BRIAN LAMBERT                 1149 W 3RD ST LOT 36                                              MOUNT CARMEL      IL         62863                  6002               Various                                                                                                $5.81
BRIAN LANGLEY                 101E E WAYNE ST                                                   DOWAGIAC          MI         49047                  6002               Various                                                                                                $0.36
BRIAN LEESER                  207 S 7TH P O BOX # 36                                            LA GRANGE         MO         63448                  6002               Various                                                                                               $10.00
BRIAN LERCH                   W276 N4862 LYNNDALE LANE                                          PEWAUKEE          WI         53072                  6004               Various                                                                                               $25.00
BRIAN LOOP                    PO BOX 33                                                         ASOTIN            WA         99402                  6004               Various                                                                                               $10.00
BRIAN LOYD                    200 ORAGON ST                                                     RACINE            WI         53405                  6004               Various                                                                                               $20.00
BRIAN LYSNE                   1309 JACKSON ST                                                   STOUGHTON         WI         53589                  6004               Various                                                                                                $2.00
BRIAN M FOSTER                137 S WALTER AVE                                                  APPLETON          WI         54915                  6002               Various                                                                                                $6.60




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                                                                                                                                                  Last 4 Digits of     Date Debt was
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BRIAN M MUMM                 620 1ST ST                                                        BLOOMINGTON      WI         53804                 6002                Various                                                                                                $8.14
BRIAN MAFFETT                326 E BURT ST                                                     MARTINSBURG      WV         25404                 6002                Various                                                                                                $0.77
BRIAN MARKO                  1930 3RD AVE NW                                                   WATERTOWN        SD         57201                 6004                Various                                                                                                $5.30
BRIAN MCGRATH                10465 WINDMILL RIDGE LN                                           BELLE FOURCHE    SD         57717                 6002                Various                                                                                                $9.67
BRIAN MEYER                  447 GREYS RIVER LOOP BOX #                                        ALPINE           WY         83128                 6002                Various                                                                                                $4.11
BRIAN MICHAUD                1520 N 35TH ST                                                    SHEBOYGAN        WI         53081                 6002                Various                                                                                                $6.16
BRIAN MIDDENDORF             903 1/2 THIRD AVE                                                 UPTON            WY         82730                 6002                Various                                                                                                $6.03
BRIAN MOOCK                  1320 ABERDEEN AVE                                                 LINCOLN          NE         68512                 6002                Various                                                                                                $3.51
BRIAN MOYLE                  824 FRONT ST                                                      LAKE LINDEN      MI         49945                 6002                Various                                                                                                $4.05
BRIAN MUDGETT                1223 GEORGE ST                                                    LA CROSSE        WI         54603                 6002                Various                                                                                                $7.70
BRIAN NOH                    705C LEMHI AVE                                                    SALMON           ID         83467                 6002                Various                                                                                                $7.12

BRIAN NOVITSKI               APT 2 B                       2748 VIKING DRIVE                   GREEN BAY        WI         54304                  6002               Various                                                                                           $199.99
BRIAN NOWAK                  N7011 820TH ST                                                    RIVER FALLS      WI         54022                  6002               Various                                                                                            $10.00
BRIAN OLSTINSKI              N7608 HIGHWAY 73                                                  GREENWOOD        WI         54437                  6002               Various                                                                                             $6.77
BRIAN PECHA                  N15057 HART AVE                                                   STANLEY          WI         54768                  6002               Various                                                                                             $8.11
BRIAN PETERSON               4830 N. SOUR APPLE DR.                                            APPLETON         WI         54915                  6004               Various                                                                                            $10.00
BRIAN PLUCKER                N6855 WOOD DUCK LN                                                CRIVITZ          WI         54114                  6004               Various                                                                                             $2.98
BRIAN POMERANSKI             231 KAMPS ST                                                      COMBINED LOCKS   WI         54113                  6004               Various                                                                                             $4.32
BRIAN PREUSKAR               1564 19TH RD                                                      BANCROFT         NE         68004                  6002               Various                                                                                             $2.96
BRIAN RAATZ                  549 91ST ST                                                       PIPESTONE        MN         56164                  6002               Various                                                                                             $8.93
BRIAN RADLOFF                855 E LAKE ST TRLR # 60                                           LAKE MILLS       WI         53551                  6002               Various                                                                                             $6.58
BRIAN REDMAN                 ROUTE1 COUNTY P                                                   POUND            WI         54161                  6004               Various                                                                                            $37.97
BRIAN RICHMOND               523 N 7TH ST                                                      CHARITON         IA         50049                  6002               Various                                                                                             $4.00
BRIAN ROBERTS                1107 BLACK OAK TRAIL                                              DEERFIELD        WI         53531                  6004               Various                                                                                            $20.00
BRIAN ROBERTSON              2975 US HIGHWAY 87 S                                              ROUNDUP          MT         59072                  6002               Various                                                                                             $4.49
BRIAN ROUSE                  2418 ROUSE LANE                                                   PLATTSMOUTH      NE         68048                  6004               Various                                                                                           $210.98
BRIAN RUCKER                 1800 PLOVER RD                                                    PLOVER           WI         54467                  6004               Various                                                                                            $15.99
BRIAN RUEBENSTAHL            1515 E. COLLEGE AVENUE                                            APPLETON         WI         54915                  6004               Various                                                                                            $30.00
BRIAN RUETHER                530 S 3RD AVE                                                     WAUSAU           WI         54401                  6004               Various                                                                                            $25.00
BRIAN RUPPERT                112 SUNNYSIDE LN                                                  WINONA           MN         55987                  6002               Various                                                                                             $5.64
BRIAN S SZAFRYK              1115 4TH AVE SE                                                   WATERTOWN        SD         57201                  6002               Various                                                                                             $0.96
BRIAN SAUNDERS               707 MCMILLEN STREET                                               FORT ATKINSON    WI         53538                  6004               Various                                                                                            $14.00
BRIAN SCHOTT                 2565 RYMER RD                                                     DE PERE          WI         54115                  6004               Various                                                                                            $23.00

BRIAN SCHULTZ                345 EAST MC WILLIAMS STREET                                       FOND DU LAC      WI         54935                  6004               Various                                                                                               $17.00
BRIAN SEGRIN                 2020 WHISTLING SWAN CIR                                           DE PERE          WI         54115                  6002               Various                                                                                                $1.73
BRIAN SHATEK                 103 E CLARK ST                                                    CALMAR           IA         52132                  6002               Various                                                                                                $6.49

BRIAN SKIBINSKI              423 WEST CAPITAL DRIVE APT 13                                     HARTLAND         WI         53029                  6004               Various                                                                                               $27.50
BRIAN SMITH                  602 E CLARK ST                                                    STANBERRY        MO         64489                  6002               Various                                                                                                $0.66
BRIAN SOULES                 1113 GRAND AVE                                                    WORTHINGTON      MN         56187                  6004               Various                                                                                                $3.00
BRIAN SOWINSKI               148 DEBBY LN                                                      COLGATE          WI         53017                  6002               Various                                                                                                $0.58
BRIAN STEINKE                3137 LESLIE LN                                                    EAU CLAIRE       WI         54703                  6002               Various                                                                                                $4.47
BRIAN STOCKWELL              4450 HICKORY ST                                                   RED WING         MN         55066                  6002               Various                                                                                                $1.75
BRIAN TACKETT                314 HILLWAY DR                                                    GLENWOOD         IA         51534                  6002               Various                                                                                                $2.41
BRIAN TOCKEY                 RT-1 BOX # 314                                                    GLIDDEN          WI         54527                  6002               Various                                                                                                $7.48
BRIAN TORGERSON              808 RIVERSIDE CT                                                  FERGUS FALLS     MN         56537                  6002               Various                                                                                                $9.10
BRIAN TRYGSTAD               69840 220TH AVE                                                   KASSON           MN         55944                  6002               Various                                                                                                $1.40
BRIAN TURRITTIN JOHNS        709 JANETTE STREET                                                FORT ATKINSON    WI         53538                  6004               Various                                                                                                $2.00
BRIAN VACEK                  10270 380TH ST                                                    NORTH BRANCH     MN         55056                  6002               Various                                                                                                $3.89
BRIAN VANBEEK                1209 EMILY CIR                                                    RIVER FALLS      WI         54022                  6002               Various                                                                                                $6.96
BRIAN VANDENBUSH             E773 JJ RD                                                        LUXEMBURG        WI         54217                  6002               Various                                                                                                $6.88
BRIAN VOGELSANG              110 15TH ST. COURT            APT 206                             SAUK RAPIDS      MN         56379                  6004               Various                                                                                                $3.00




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BRIAN WAGENAAR                 1637 MILLER                                                     WORTHINGTON       MN         56187                 6004                Various                                                                                               $70.84
BRIAN WALSKE                   234 E CHURCH ST                                                 MISHICOT          WI         54228                 6004                Various                                                                                               $19.98
BRIAN WASHINGTON               PO BOX 14338                                                    MADISON           WI         53703                 6004                Various                                                                                                $3.95
BRIAN WEBER                    11903 18TH AVE                                                  CHIPPEWA FALLS    WI         54729                 6002                Various                                                                                                $0.38
BRIAN WESTMAN                  120 7TH ST S                                                    SAINT JAMES       MN         56081                 6002                Various                                                                                                $7.15
BRIAN WEYENBERG                101 PLUM CREEK TRAIL                                            WRIGHTSTOWN       WI         54180                 6004                Various                                                                                               $10.00
BRIAN WILL                     314 N. FOURTH STREET                                            FORT ATKINSON     WI         53538                 6004                Various                                                                                                $2.00
BRIAN WILLETT                  3250 N ALTA CT                                                  COEUR D ALENE     ID         83815                 6002                Various                                                                                                $1.62
BRIAN WINKLER                  1001 3RD AVE N                                                  WOLF POINT        MT         59201                 6002                Various                                                                                                $7.70
BRIAN WITHERS                  618 N BROADWAY              APT #1                              WATERTOWN         SD         57201                 6004                Various                                                                                                $1.00
BRIAN ZABEL                    1960 LINCOLN ST                                                 WISCONSIN RAPID   WI         54494                 6002                Various                                                                                                $9.73
BRIAN ZESSIN                   PO BOX 1223                                                     MADISON           NE         68748                 6004                Various                                                                                                $7.99
BRIAN ZOSS                     1235 WILMINGTON AVE                                             SALT LAKE CITY    UT         84106                 6004                Various                                                                                               $22.00
BRIANA ALDRICH                 105 TRUMAN ST                                                   EDGEMONT          SD         57735                 6002                Various                                                                                               $10.00
BRIANA FERRIER                 202 W 3RD ST                                                    AXTELL            NE         68924                 6002                Various                                                                                                $5.23
BRIANA GONZALEZ RODRIG         N5316 COUNTY ROAD E                                             KEWAUNEE          WI         54216                 6002                Various                                                                                                $9.23
BRIANA M KLEIN                 2887 COUNTY N                                                   RHINELANDER       WI         54501                 6002                Various                                                                                                $2.71
BRIANA MAGUIRE                 4209 E 12TH STEET           APT 5                               SIOUX FALLS       SD         57103                 6004                Various                                                                                               $10.00
BRIANA STAMPER                 88 ALPINE DR                                                    OROFINO           ID         83544                 6002                Various                                                                                                $1.97
BRIANA STENGER                 7537 285TH AVE NE                                               NORTH BRANCH      MN         55056                 6004                Various                                                                                                $3.00
BRIANA STUBBS                  1475 4TH AVE SE                                                 DICKINSON         ND         58601                 6002                Various                                                                                                $1.12
BRIANA WEIK                    314 S RAILROAD AVE                                              UNIONTOWN         WA         99179                 6004                Various                                                                                               $19.02
BRIANN WINNING                 124 GEORGE ST                                                   RANDOLPH          WI         53956                 6004                Various                                                                                               $19.55
BRIANNA BERTH                  1142 BOUGHTON ST            APT 10                              WATERTOWN         WI         53098                 6004                Various                                                                                                $1.00

BRIANNA BIRR                   N9186 CHERRY MEADOW DRIVE                                       APPLETON          WI         54915                  6004               Various                                                                                             $3.50
BRIANNA BOLLMAN                56587 200TH ST                                                  MANKATO           MN         56001                  6004               Various                                                                                             $3.00
BRIANNA BOWCUT                 344 CASWELL AVE W                                               TWIN FALLS        ID         83301                  6002               Various                                                                                             $6.66
BRIANNA BUZZELL                228 E INDUSTRIAL DR 5                                           BEAVER DAM        WI         53916                  6004               Various                                                                                             $1.00
BRIANNA BYRUM                  3728 E. 12TH                                                    SPOKANE           WA         99202                  6004               Various                                                                                             $5.00
BRIANNA CARLSON                798B S MARR ST                                                  FOND DU LAC       WI         54935                  6004               Various                                                                                             $3.00
BRIANNA CLAPHAM                420 S EGAN AVE                                                  MADISON           SD         57042                  6002               Various                                                                                             $4.27
BRIANNA FINN-PUETZ             4917 WALLS AVE                                                  MADISON           WI         53716                  6004               Various                                                                                            $10.80
BRIANNA GARCIA                 207 E 6TH ST APT 4                                              WAKEFIELD         NE         68784                  6002               Various                                                                                             $3.07
BRIANNA HAMPTON                13420 EMELINE ST                                                OMAHA             NE         68138                  6004               Various                                                                                             $2.00
BRIANNA HEAPS                  930 GARBER AVE              APT 5                               LINCOLN           NE         68521                  6004               Various                                                                                             $2.00
BRIANNA HOOK                   1001 SPRUCE ST.                                                 MARINETTE         WI         54143                  6004               Various                                                                                            $31.00
BRIANNA KITTELSON              4809 KEM LANE APT 4                                             MADISON           WI         53704                  6004               Various                                                                                             $5.00
BRIANNA LEHR-LEITZKE           316 WEST MEAD ST                                                LITTLE CHUTE      WI         54140                  6004               Various                                                                                            $25.00
BRIANNA MALUEG                 1052 6TH AVE                APT 102                             GRAFTON           WI         53024                  6004               Various                                                                                            $23.00
BRIANNA MILLER                 2248 24TH AVE                                                   RICE LAKE         WI         54868                  6002               Various                                                                                             $6.93
BRIANNA NICHOLS                41907 BOBBET BENCH RD                                           OROFINO           ID         83544                  6002               Various                                                                                             $1.45
BRIANNA NOWAK                  1744 MARTINWOOD CT                                              DE PERE           WI         54115                  6002               Various                                                                                             $9.84
BRIANNA REIMANN                809 3RD STREET NE                                               SARTELL           MN         56377                  6004               Various                                                                                             $5.02
BRIANNA TRUITT                 3119 PHOENIX AVE                                                EAU CLAIRE        WI         54703                  6002               Various                                                                                             $7.40
BRIANNA WING                   340 OLD TERRITORIAL RD      APT 3                               CHATFIELD         MN         55923                  6004               Various                                                                                             $3.00
BRIANNE BAYERL                 1214 MILLER ST APT 3                                            KEWAUNEE          WI         54216                  6002               Various                                                                                             $1.12
BRIANNE NOACK                  2739 WHITE PINE RD                                              GREEN BAY         WI         54313                  6002               Various                                                                                             $3.59
BRIANNE SCOTT                  110 WESTRIDGE AVE                                               BELLEVUE          NE         68005                  6004               Various                                                                                             $6.00
BRIANNE SONNLEITNER            909 E FREEMONT ST                                               APPLETON          WI         54915                  6004               Various                                                                                             $4.98
BRIANNON WERINGA               819 10TH ST APT 613                                             WORTHINGTON       MN         56187                  6004               Various                                                                                            $15.00
BRICE DENEVAN                  7645 HIGHWAY 789S                                               LANDER            WY         82520                  6002               Various                                                                                             $6.19
BRICHELLE BIERING              5106 S 124TH ST                                                 OMAHA             NE         68127                  6004               Various                                                                                            $15.00
BRIDGEPORT RETAIL UTAH LLC     PO BOX 428                                                      LAKE OSWEGO       OR         97034                  2628               Various                                                                                           $430.70




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                                                                                                                                                                                                   Contingent


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                                                                                                                                                            Last 4 Digits of   Date Debt was
                                                                                                                                                               Account       Incurred, Basis for
            Creditor Name                        Address1               Address2         Address3             City           State           Zip   Country     Number              Claim                                                                             Total Claim
BRIDGER GREAVES                       255 S 5900TH W                                                  OGDEN             UT           84404                 6002              Various                                                                                               $5.84
                                                                                                                                                                             11/22/2018 -
BRIDGER VALLEY ELECTRIC ASSN - 399    PO BOX 399                                                      MOUNTAIN VIEW     WY           82939                 9001              12/20/2018                                                                                      $1,635.50
BRIDGET BOCOOK                        2910 E FAIRCHILD ST                                             LA CROSSE         WI           54601                 6002              Various                                                                                             $4.79
BRIDGET BURTON                        420 5TH ST                                                      NEENAH            WI           54956                 6004              Various                                                                                            $29.99
BRIDGET FAIR                          540 TROY DRIVE                                                  MADISON           WI           53704                 6004              Various                                                                                             $3.00
BRIDGET HORAN                         193 PRARIE GRASS RD                                             OREGON            WI           53575                 6004              Various                                                                                             $2.00
BRIDGET J ROBERSON                    PO BOX 124                                                      OXLY              MO           63955                 6002              Various                                                                                             $0.44
BRIDGET JOHNSON                       61590 NUTMEG ROAD                                               MADISON LAKE      MN           56063                 6004              Various                                                                                             $6.94
BRIDGET KELLEY                        7781 ELMWOOD AVE #214                                           MIDDLETON         WI           53562                 6004              Various                                                                                             $5.60
BRIDGET LALONDE                       PO BOX 249                                                      WEIPPE            ID           83553                 6002              Various                                                                                             $3.12
BRIDGET RICE                          156 S CHESTNUT ST                                               ELLSWORTH         WI           54011                 6004              Various                                                                                            $29.00
BRIDGETT HERA                         344 FOLSOM ST                                                   EAU CLAIRE        WI           54703                 6002              Various                                                                                             $3.86
BRIDGETT NORDBY                       19 3RD ST                                                       CHIPPEWA FALLS    WI           54729                 6004              Various                                                                                             $3.00
BRIDGETTE HORAK                       1967 THOMAS ST                                                  MOSINEE           WI           54455                 6004              Various                                                                                            $23.00
BRIDGETTE PINEDA-HERNANDEZ            1508 OLIN AVE.                                                  OMAHA             NE           68108                 6004              Various                                                                                             $2.00
BRIDGETTE WILHOIT                     2706 CHARLES CT NW                                              ROCHESTER         MN           55901                 6004              Various                                                                                             $3.00
BRIDGFORD MARKETING COMPANY           VICE PRESIDENT OF SALES       PO BOX 3773                       ANAHEIM           CA           92803                 1545              Various                                                                                        $24,734.84
BRIELLE MCCLUNG                       222 3RD ST SW                                                   MADELIA           MN           56062                 6004              Various                                                                                            $23.00
BRIGGS DISTRIBUTING COMPANY IN        3545 HESPER ROAD                                                BILLINGS          MT           59102                 6201              Various                                                                                          $490.32
                                                                                                                                                                             11/22/2018 -
BRIGHAM CITY CORPORATION              P.O. BOX 1005                                                   BRIGHAM CITY      UT           84302-1005            95.1              12/21/2018                                                                                      $6,457.75
BRIGHTZ LTD                           8000 YANKEE RD SUITE 225                                        OTTAWA LAKE       MI           49267                 5802              Various                                                                                         $3,666.00
BRIGID MALUEG                         121 E HIGH ST                                                   SEYMOUR           WI           54165                 6002              Various                                                                                             $1.59
BRIGITTE D HARNED                     115 S CHESTNUT AVE APT 3                                        NEW HAMPTON       IA           50659                 6002              Various                                                                                             $0.66
BRIGITTE JANSSEN                      101 ELLISON ST PO BOX # 78                                      PACIFIC JUNCTIO   IA           51561                 6002              Various                                                                                             $1.81
BRIGITTE RUTH                         311 FORIO AVE                                                   MOUNT CARMEL      IL           62863                 6002              Various                                                                                             $8.27
BRILEY MOORE                          1930 FAIRFIELD ST                                               LINCOLN           NE           68521                 6004              Various                                                                                             $4.00
BRILLE MALCHOW                        717 FAIRWOOD DR                                                 NEENAH            WI           54956                 6002              Various                                                                                             $3.84
BRIONNA PERRY                         2221 N 39TH                                                     OMAHA             NE           68111                 6004              Various                                                                                             $4.00
BRIONNE ELM                           1008 CHERRY ST APT 3                                            GREEN BAY         WI           54301                 6004              Various                                                                                            $20.00
                                                                    224 W JAMES
BRIOT                                 LUNEAU TECHNOLOGY USA INC     STREET                            BENSENVILLE       IL           60106                   0108            Various                                                                                           $596.82
BRISA ANTUNEZ                         PO BOX 21                                                       WAKEFIELD         NE           68784                   6002            Various                                                                                             $8.14
BRITA BANDLE                          W666 CTY TK DD                                                  THERESA           WI           53091                   6002            Various                                                                                             $1.01
BRITA HAAPALA                         PO BOX 241                                                      MOHAWK            MI           49950                   6002            Various                                                                                             $2.99
BRITA MURRA                           445 TANAGER PATH                                                MANKATO           MN           56001                   6004            Various                                                                                             $3.00
BRITANY JORGENSEN                     40 S 300TH W                                                    SMITHFIELD        UT           84335                   6002            Various                                                                                             $5.37
BRITANY TURPIN                        1403 JENA DR                                                    POCATELLO         ID           83202                   6002            Various                                                                                             $1.04
BRITANY WEAVER                        1795 N SYCAMORE AVE                                             WHITE CLOUD       MI           49349                   6002            Various                                                                                             $3.70
BRITNEY ALBRIGHT                      9762 N HIGHLAND                                                 EDGERTON          WI           53534                   6004            Various                                                                                             $4.00
BRITNEY BRIES                         2701 BITTERSWEET AVE                                            GREEN BAY         WI           54301                   6004            Various                                                                                            $20.00
BRITNEY CARPENTER                     W997 TAYLOR TRL                                                 BRODHEAD          WI           53520                   6002            Various                                                                                             $3.51
BRITNEY GIRARD                        8695 141ST ST                                                   CHIPPEWA FALLS    WI           54729                   6004            Various                                                                                            $25.00
BRITNEY MCALMOND                      20 WONDER RD                                                    CLANCY            MT           59634                   6002            Various                                                                                             $9.84
BRITNEY PARKER                        2251 HAGLEY RD                                                  STANDISH          MI           48658                   6002            Various                                                                                             $6.55
BRITNI WEEKLUND                       6001 COUNTY ROAD 5 NE                                           CAMBRIDGE         MN           55008                   6002            Various                                                                                             $6.11
BRITNY MULLIN                         1301 KIBBONS DR APT 4                                           BELLEVUE          NE           68005                   6004            Various                                                                                             $4.00
BRITTA GUSE                           6903 LITTLEMORE DRIVE APT 2                                     MADISON           WI           53718                   6004            Various                                                                                             $1.95
BRITTA NYBORG                         6559 S ELMCREST DR UNIT 13L                                     MURRAY            UT           84107                   6004            Various                                                                                            $39.99
BRITTAN DODGE                         10324 COSTER RD SW                                              FIFE LAKE         MI           49633                   6002            Various                                                                                             $6.77
BRITTANE K RINALDI                    2823 N JULIA ST                                                 COEUR D ALENE     ID           83815                   6002            Various                                                                                             $5.95
BRITTANI FOX                          2 BONNIE LN                                                     GLASGOW           MT           59230                   6002            Various                                                                                             $0.68
BRITTANIA J JEPPESEN                  991 W 3450TH S UNIT B                                           PERRY             UT           84302                   6002            Various                                                                                             $1.34




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                                                                                                                                                      Account         Incurred, Basis for
              Creditor Name                Address1              Address2         Address3              City        State           Zip   Country     Number                Claim                                                                             Total Claim
BRITTANIE JOHNSON              2020 NORTH 48TH AVE                                             OMAHA             NE         68104                 6004                Various                                                                                                $4.00
BRITTANNI A WALFALL            PO BOX 823                                                      SISTER BAY        WI         54234                 6002                Various                                                                                                $8.99
BRITTANY A LUNDERMAN           107 SPOTTED TAIL ST                                             WINNER            SD         57580                 6002                Various                                                                                                $6.71
BRITTANY ANDRYSIK              5805 WHITMORE ST                                                OMAHA             NE         68152                 6002                Various                                                                                                $7.34
BRITTANY BAKER                 14816 NORMANDY BLVD #15                                         BELLEVUE          NE         68123                 6004                Various                                                                                                $3.98
BRITTANY BARTOSZEWSKI          684 S FOX RUN DR                                                SAUKVILLE         WI         53080                 6002                Various                                                                                                $0.90
BRITTANY BENZSHAWEL            1603 CHARLES DR                                                 LUXEMBURG         WI         54217                 6004                Various                                                                                               $25.00
BRITTANY BERRY                 307 GENEVA AVE                                                  HAMILTON          MT         59840                 6002                Various                                                                                                $4.03
BRITTANY BOWMAN                154 N RIDING RD                                                 KALISPELL         MT         59901                 6002                Various                                                                                                $8.27
BRITTANY BURLACK               1320 6TH AVE S               APT #3                             SAINT CLOUD       MN         56301                 6004                Various                                                                                                $3.00
BRITTANY BURY                  929 W 8TH ST                                                    WINNER            SD         57580                 6002                Various                                                                                               $10.00
BRITTANY CARLE                 101 S 11TH ST                                                   MONMOUTH          IL         61462                 6002                Various                                                                                                $5.04
BRITTANY CATES                 HC 7 BOX 401K                                                   DONIPHAN          MO         63935                 6002                Various                                                                                                $4.25
BRITTANY CERVANTES             1235 14TH ST #18                                                CLARKSTON         WA         99403                 6004                Various                                                                                               $15.00
BRITTANY CRAWFORD              1254 ROWLEY ST                                                  WHEATLAND         WY         82201                 6002                Various                                                                                                $4.38
BRITTANY DEAN                  N7181 SHADY LANE                                                PORTERFIELD       WI         54159                 6004                Various                                                                                                $1.00
BRITTANY DIVINE                814 HARLOW                                                      HELENA            MT         59601                 6004                Various                                                                                                $2.00
BRITTANY EVERSON               3205 SEYMOUR RD              APT 3                              EAU CLAIRE        WI         54703                 6004                Various                                                                                                $5.00
BRITTANY FIECKE                145 5TH AVENUE NE                                               HUTCHINSON        MN         55350                 6004                Various                                                                                               $38.00
BRITTANY FORBES                1630 DOEMEL ST                                                  OSHKOSH           WI         54901                 6004                Various                                                                                               $30.00
BRITTANY GAUSTAD               502 BIRCH ST                                                    ONALASKA          WI         54650                 6002                Various                                                                                                $7.21
BRITTANY GREEN                 1817 S 12TH STREET                                              SHEBOYGAN         WI         53081                 6004                Various                                                                                               $17.22
BRITTANY GROSKREUTZ            1014 A 3RD ST.                                                  NICOLLET          MN         56074                 6004                Various                                                                                               $20.00
BRITTANY HANSON                114 SOUTH BOULDER AVE.       PO BOX 661                         NORA SPRINGS      IA         50458                 6004                Various                                                                                               $20.00
BRITTANY HAWK                  1425 E MURRAY ST LOT 105                                        RAWLINS           WY         82301                 6002                Various                                                                                                $6.30
BRITTANY HENRY                 1097 IRVING RD                                                  DOUGLAS           WY         82633                 6002                Various                                                                                                $4.82
BRITTANY J DAMJANOVIC          510 3RD ST E                                                    CRESCO            IA         52136                 6002                Various                                                                                                $4.85
BRITTANY JAIN                  3134 HIDDEN PLACE            #3                                 EAU CLAIRE        WI         54701                 6004                Various                                                                                                $3.00
BRITTANY JENKINS               PO BOX 1162 PMB 1007                                            WHEATLAND         WY         82201                 6002                Various                                                                                                $4.44
BRITTANY JOB                   543 14TH ST LOT 13                                              STURGIS           SD         57785                 6002                Various                                                                                                $6.77
BRITTANY KAMM                  201 5TH AVE NE APT 7                                            ABERDEEN          SD         57401                 6002                Various                                                                                                $9.45
BRITTANY KLABUNDE              446 SULLIVAN ST APT 3                                           OSHKOSH           WI         54902                 6002                Various                                                                                                $7.64
BRITTANY L KLEINA              127 MERCURY DR                                                  EAST GRAND FORK   MN         56721                 6002                Various                                                                                                $0.66
BRITTANY LEMKE                 W 311CTY HWY # 54                                               ONIEDA            WI         54155                 6002                Various                                                                                                $2.03
BRITTANY LINDQUIST             724 GRAND ST                                                    MUNISING          MI         49862                 6002                Various                                                                                                $1.81
BRITTANY M ENGSTLER            1427 1/2 BELLINGER ST                                           EAU CLAIRE        WI         54703                 6002                Various                                                                                                $6.00
BRITTANY M PETERSON            16823 RIVER RD                                                  NORTH BRANCH      MN         55056                 6002                Various                                                                                                $8.49
BRITTANY MCCRACKIN             1701 THIRD ST                                                   WAUSAU            WI         54401                 6002                Various                                                                                                $0.79
BRITTANY MCDERMOTT             419 LAUDEN AVE                                                  BEAVER DAM        WI         53916                 6004                Various                                                                                                $2.00
BRITTANY MERZ                  24600 NORTH CASCADE RD                                          CASCADE           IA         52033                 6004                Various                                                                                               $10.00
BRITTANY MOORE                 5055 EMILY CT                                                   STACY             MN         55079                 6002                Various                                                                                                $2.60
BRITTANY MULLEN                1616 E. 4TH. ST. 55812                                          DULUTH            MN         55812                 6004                Various                                                                                                $6.00
BRITTANY N WISEMAN             1060 S MAIN TRAILER 19                                          BRIGHAM CITY      UT         84302                 6004                Various                                                                                               $24.00
BRITTANY NOONAN                309 LOMBARD ST                                                  SALMON            ID         83467                 6002                Various                                                                                                $7.73
BRITTANY OHLMANN               4741 SOUTHWOOD DR                                               LINCOLN           NE         68512                 6004                Various                                                                                                $4.00
BRITTANY OSBORNE               3292 N SAGE CIRCLE DR                                           NEWCASTLE         WY         82701                 6002                Various                                                                                                $3.45
BRITTANY PENROSE               812 SOUTH MAIN STREET                                           CHATFIELD         MN         55923                 6004                Various                                                                                                $6.00
BRITTANY POGRANT               990 SCHOOL PLACE                                                GREEN BAY         WI         54303                 6004                Various                                                                                               $24.96
BRITTANY RADDE                 413 OAK AVE S                                                   ONALASKA          WI         54650                 6002                Various                                                                                                $7.37
BRITTANY RINGMEIER             530 PIERCE AVE                                                  LITTLE CHUTE      WI         54140                 6002                Various                                                                                                $5.32
BRITTANY ROULETTE              2055 44TH ST NW                                                 ROCHESTER         MN         55901                 6002                Various                                                                                                $2.82
BRITTANY SABACKE               827 5TH AVENUE                                                  ANTIGO            WI         54409                 6004                Various                                                                                               $28.00
BRITTANY SAR BARANCZYK         3818 AIRPORT RD                                                 OCONTO            WI         54153                 6002                Various                                                                                                $1.70
BRITTANY SCHAFER               8300 ARPIN RIDGEVILLE ROAD                                      ARPIN             WI         54410                 6004                Various                                                                                               $20.00




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                                                                                                                                                            Last 4 Digits of     Date Debt was
                                                                                                                                                               Account         Incurred, Basis for
             Creditor Name                       Address1                  Address2        Address3             City         State           Zip   Country     Number                Claim                                                                             Total Claim
BRITTANY SIMS                        1003 SCHOOL PLACE                                                  GREEN BAY         WI         54303                 6004                Various                                                                                               $1.00
BRITTANY SMITH                       633 LEE AVE                                                        BRILLION          WI         54110                 6002                Various                                                                                               $2.49
BRITTANY STERLING                    1005 13TH ST                                                       WHEATLAND         WY         82201                 6002                Various                                                                                               $4.08
BRITTANY TURLEY                      107 LONDON RD                                                      POPLAR GROVE      IL         61065                 6004                Various                                                                                               $3.02

BRITTANY WARPINSKI                   4018 TOWN LAKE AVE APT 6309                                        APPLETON          WI         54913                  6004               Various                                                                                            $13.92
BRITTANY WILDE                       611 E. CHURCH STREET                                               JEFFERSON         WI         53549                  6004               Various                                                                                             $7.05
BRITTANY WURTZ                       20282 STATE HWY K                                                  GALLATIN          MO         64640                  6002               Various                                                                                             $1.78
BRITTIN A ERB                        PO BOX 454                                                         BELLE FOURCHE     SD         57717                  6002               Various                                                                                            $10.00
BRITTNEE PEOTTER                     400 CONEMAC ST                                                     MENASHA           WI         54952                  6004               Various                                                                                            $20.99
BRITTNEY BALL                        1807 25TH AVE NW                                                   ROCHESTER         MN         55901                  6002               Various                                                                                             $9.26
BRITTNEY BEDORE                      736 W WATER ST                                                     HANCOCK           MI         49930                  6002               Various                                                                                             $1.81
BRITTNEY BRANDL                      N3604 SHATTUCK ST                                                  MEDFORD           WI         54451                  6004               Various                                                                                            $13.00
BRITTNEY COX                         126 HEMLOCK                                                        BILLINGS          MT         59101                  6004               Various                                                                                            $10.00
BRITTNEY DOSCH                       1425 RALLY LANE                                                    BILLINGS          MT         59105                  6004               Various                                                                                             $2.00
BRITTNEY FLYNN                       14555 SHIRLEY ST                                                   OMAHA             NE         68144                  6004               Various                                                                                             $2.00
BRITTNEY HELLEM                      731 SUNSET BLVD LOT 54                                             WISCONSIN DELLS   WI         53965                  6004               Various                                                                                            $23.00
BRITTNEY KAUL                        808 N SHAWNEE AVE                                                  SIOUX FALLS       SD         57103                  6004               Various                                                                                            $17.00
BRITTNEY MEYER                       1113 BIRCH STREET #2                                               MARSHALL          MN         56258                  6004               Various                                                                                             $6.00
BRITTNEY SCHLEINING                  1605 REHBERG LANE                                                  BILLINGS          MT         59102                  6004               Various                                                                                             $2.00
BRITTNEY STEWART                     621 SOUTH SECOND STREET                                            MANKATO           MN         56001                  6004               Various                                                                                             $3.00
BRITTNEY WAGNER                      126 GILBERT AVE                                                    EAU CLAIRE        WI         54701                  6002               Various                                                                                             $1.37
BRITTNEY ZACHRISON                   5006 400TH ST                                                      NORTH BRANCH      MN         55056                  6004               Various                                                                                             $3.00
BRITTNIE PAQUIN                      1104 S 43RD AVE A                                                  YAKIMA            WA         98908                  6004               Various                                                                                             $3.59
BRITTNY SHELTON                      248 S 760TH W                                                      TREMONTON         UT         84337                  6002               Various                                                                                             $8.90
BRIXMOR OPERATING PARTNERSHIP        BRIXMOR SPE 1 LLC              PO BOX 645346                       CINCINNATI        OH         45264-5346             6063               Various                                                                                         $1,890.41
BRIXON MARTIN                        2041 HILL TOP DRIVE                                                GREEN BAY         WI         54313                  6004               Various                                                                                             $1.00
BROCK ANCHUSTEGUI                    10148 IDLEWOOD DR                                                  BOISE             ID         83709                  6004               Various                                                                                            $27.00
BROCK HYATT                          11282 WOODHILL DRIVE                                               SANDY             UT         84092                  6004               Various                                                                                             $5.00
BROCK PALMER                         BOX 128 125 CENTER ST                                              ELGIN             MN         55932                  6002               Various                                                                                             $0.33
BROCK POMMERENING                    526 3RD ST NW                                                      ROCHESTER         MN         55901                  6004               Various                                                                                             $3.00
BROCK REIDT                          27009 E HOXIE RD                                                   ROCKFORD          WA         99030                  6004               Various                                                                                            $10.00
BROCK WILLERANDT                     500 E BYRD ST                                                      APPLETON          WI         54911                  6002               Various                                                                                             $3.51
BROCTON MATHEWS                      3250W 330 N                                                        MOORE             ID         83255                  6004               Various                                                                                             $3.65
BRODIE HART                          1005 CHARLO ST                 APT C                               MISSOULA          MT         59802                  6004               Various                                                                                            $10.00
BRODIE OLSON                         20117 410TH AVE                                                    ROSEAU            MN         56751                  6002               Various                                                                                             $5.42
BRODY RABEHL                         254 GROVE ST                                                       RANDOLPH          WI         53956                  6002               Various                                                                                             $7.42
BRODY SANDBERG                       3013 CHAIN DR                  APT 16                              MENASHA           WI         54952                  6004               Various                                                                                             $2.00
BROGAN KOTT                          13211 HIGHWAY 42                                                   NEWTON            WI         53063                  6002               Various                                                                                             $9.04
BROGAN SCHWEGEL                      WILLIAM ST                                                         WATERTOWN         WI         53094                  6004               Various                                                                                            $23.00
                                                                                                                                                                               11/16/2018 -
BROKEN BOW MUNICIPAL UTILITIES/NE    P.O. BOX 567                                                       BROKEN BOW        NE         68822                  3430               12/14/2018                                                                                      $2,948.70
BROM FAMILY                          713 JACKSON ST                                                     FORT ATKINSON     WI         53538                  6002               Various                                                                                             $9.89
BRONNA LUTHER                        3510 HANCOCK ST                #116                                BELLEVUE          NE         68005                  6004               Various                                                                                            $10.00
BRONWYN MILLER                       522 S MAIN ST                                                      BELVIDERE         IL         61008                  6004               Various                                                                                            $80.00
BROOK ANDERSEN                       10472 S 2200TH W                                                   SOUTH JORDAN      UT         84095                  6002               Various                                                                                             $1.23
BROOK GEHRING                        2215 RIVERSIDE DR                                                  CLARKSTON         WA         99403                  6002               Various                                                                                             $6.99
BROOK V FOWLKE                       170 W LOAFER RD                                                    SALEM             UT         84653                  6002               Various                                                                                             $2.85
BROOKE ANCHONDO                      1520 ILLINIOS ST                                                   RACINE            WI         53405                  6004               Various                                                                                            $83.60
BROOKE ANNE BOSTEDT                  112 N CHESTNUT AVE                                                 OCONTO FALLS      WI         54154                  6002               Various                                                                                             $0.79
BROOKE APLARA                        2032 MAY STREET P O BOX # 43                                       SILVER CITY       IA         51571                  6002               Various                                                                                             $1.23
BROOKE ASSARSSON                     550 N MAPLE ST                                                     AINSWORTH         NE         69210                  6002               Various                                                                                             $5.53
BROOKE BRAEMER                       737 MANCHESTER RD                                                  NEENAH            WI         54956                  6004               Various                                                                                             $8.96
BROOKE ERDMAN                        35720 GRAND AVE                                                    NORTH BRANCH      MN         55056                  6004               Various                                                                                             $3.00




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                                                                                                                                                                                                            Unliquidated
                                                                                                                                                                                               Contingent


                                                                                                                                                                                                                           Disputed
                                                                                                                                                      Last 4 Digits of     Date Debt was
                                                                                                                                                         Account         Incurred, Basis for
             Creditor Name                    Address1              Address2           Address3             City       State           Zip   Country     Number                Claim                                                                             Total Claim
BROOKE FREESE                     5205 SHERMAN ST              APT 56                               WAUSAU          WI         54401                 6004                Various                                                                                               $30.00
BROOKE HARTLEY                    423 S 6TH AVENUE                                                  POCATELLO       ID         83201                 6004                Various                                                                                               $25.00
BROOKE HENDRICKSON                1021 W 40TH S                                                     OREM            UT         84057                 6002                Various                                                                                                $6.68
BROOKE KNAPP                      4101 N 7TH ST                APT 102                              LINCOLN         NE         68521                 6004                Various                                                                                               $34.00
BROOKE KOWALESKI                  W8665 BAKER AVE                                                   LADYSMITH       WI         57848                 6004                Various                                                                                               $49.00
BROOKE KURKOWSKI                  7484 WELLINGTON DR                                                NORTH BRANCH    MN         55056                 6002                Various                                                                                                $5.56
BROOKE MANDERFIELD                1735 NORTHWAY DRIVE          UNIT 202                             NORTH MANKATO   MN         56003                 6004                Various                                                                                                $3.00
BROOKE MARIE WOODS                N3311 MCHUGH RD                                                   KAUKAUNA        WI         54130                 6002                Various                                                                                                $5.07
BROOKE MCGEE                      816 1ST AVE S                                                     ESCANABA        MI         49829                 6002                Various                                                                                                $7.32
BROOKE MCINTYRE                   4508 W 36TH ST                                                    MINNEAPOLIS     MN         55416                 6002                Various                                                                                               $16.93
BROOKE MERCIER                    1804 15.5 ROAD                                                    BARK RIVER      MI         49807                 6004                Various                                                                                                $7.99
BROOKE MILLER                     9805 MADISON PLZ             APT 10                               OMAHA           NE         68127                 6004                Various                                                                                               $25.00
BROOKE SCHELD                     2428 EDMUND ROAD                                                  NEW FRANKEN     WI         54229                 6004                Various                                                                                                $3.00
BROOKE SHEBUSKI                   419 N 3RD AVE                                                     WAUSAU          WI         54401                 6004                Various                                                                                               $25.00
BROOKE STEBER                     4753 PINE LN                                                      GREEN BAY       WI         54313                 6002                Various                                                                                                $4.63
BROOKE WAVRUNEK                   4414 MENASHA AVE                                                  MANITOWOC       WI         54220                 6002                Various                                                                                                $2.38
BROOKE WENDT                      2331 PECAN STREET APT. B10                                        GREEN BAY       WI         54311                 6004                Various                                                                                               $25.00
BROOKE WOLFF                      201 TANAGER PATH                                                  MANKATO         MN         56001                 6002                Various                                                                                                $9.37
BROOKE WUBBENA                    4037 ALBERTA DRIVE NE                                             ROCHESTER       MN         55906                 6004                Various                                                                                               $70.38
BROOKLYN KLINE                    606 S CLAY ST                                                     GALLATIN        MO         64640                 6002                Various                                                                                                $8.66
BROOKLYN MITCHELL                 1503 W ROGERS AVE                                                 APPLETON        WI         54914                 6002                Various                                                                                                $1.70
BROOKLYN PATCHIN                  5317 BREMER ROAD                                                  MCFARLAND       WI         53558                 6004                Various                                                                                               $21.00
BROOKLYN WATERS                   809 MERRILL ST.                                                   BELOIT          WI         53511                 6004                Various                                                                                                $6.00
BROOKLYN WYATT                    961 N 100TH W APT 103                                             LOGAN           UT         84321                 6002                Various                                                                                                $8.82
BROOKLYNN B PRICE                 1922 WISCONSIN AVE                                                BELOIT          WI         53511                 6002                Various                                                                                                $2.79
BROOKLYNN OLSEN                   234 DESCHANE PL                                                   GREEN BAY       WI         54302                 6004                Various                                                                                               $30.00
BROWN COUNTY CRIME PREVENTION
FOUNDATION                        PO BOX 22003                                                      GREEN BAY       WI         54305                   6666              Various                                                                                         $1,284.00
BROWN COUNTY GRAPHICS INCORPOR    PO BOX 12497                                                      GREEN BAY       WI         54307-2497              1561              Various                                                                                          $142.43
                                                                                                                                                                         2/27/18, Final
                                                                                                                                                                         termination
BROWN COUNTY HOSPITAL             945 E ZERO ST                                                     AINSWORTH       NE         69210                                     settlement                                                                                      $3,443.85
BROWN FAMILY                      114 CHEYENNE AVE                                                  NEWCASTLE       WY         82701                  6002               Various                                                                                             $8.90
BROWNMED                          280 SUMMER STREET STE 400                                         BOSTON          MA         02210                  0537               Various                                                                                         $2,287.00
BRUCE A MCILNAY                   2134 CHATEAU CT                                                   GRAFTON         WI         53024                  6002               Various                                                                                             $6.47
BRUCE ALAN DEKEYSER               1800 GEORGE ST                                                    LA CROSSE       WI         54603                  6002               Various                                                                                             $4.63
BRUCE ALAN WILLIAMS               1819 N MORRISON ST                                                APPLETON        WI         54911                  6002               Various                                                                                             $1.89
BRUCE BARKER                      PO BOX 424, 1000 E 4TH ST                                         AINSWORTH       NE         69210                  6002               Various                                                                                             $5.07
BRUCE BESAW                       1334 OREGON ST                                                    GREEN BAY       WI         54303                  6002               Various                                                                                             $0.52
BRUCE BOATMAN                     6195 JOSEPH ST SE                                                 SALEM           OR         97317                  6004               Various                                                                                            $35.00
BRUCE CAMPSHURE                   716 E PULASKI STREET                                              PULASKI         WI         54162                  6004               Various                                                                                            $14.02
BRUCE CARLSON                     822 LONGVIEW AVE                                                  GREEN BAY       WI         54301                  6002               Various                                                                                             $9.84
BRUCE CONFORTI                    1938 ENGLE AVE                                                    FRIENDSHIP      WI         53934                  6002               Various                                                                                             $6.22
BRUCE CORNEY                      2160 N RAYMOND ST                                                 BOISE           ID         83704                  6002               Various                                                                                             $5.95
BRUCE COWAN                       2138 SAINT JAMES AVE                                              BELVIDERE       IL         61008                  6004               Various                                                                                             $1.00
BRUCE COX                         2315 235TH TRL                                                    LOGAN           IA         51546                  6002               Various                                                                                             $3.67
BRUCE DAVIDSON                    202 EASTWOOD LN                                                   BELVIDERE       IL         61008                  6002               Various                                                                                             $9.07
BRUCE FERRIS                      69 W ST                                                           CLINTONVILLE    WI         54929                  6002               Various                                                                                             $3.62
BRUCE FESSENDEN                   2750 VIKING DRIVE            APT. 2A                              GREEN BAY       WI         54304                  6004               Various                                                                                            $34.00
BRUCE FLEMING                     W7670 US HIGHWAY 10                                               ELLSWORTH       WI         54011                  6002               Various                                                                                             $8.71
BRUCE GRAHAM                      1641 GRANDRIDGE                                                   GRANDVIEW       WA         98930                  6004               Various                                                                                            $25.00
BRUCE HASS                        1141 W HOSMER ST                                                  MARINETTE       WI         54143                  6002               Various                                                                                             $2.71
BRUCE HILL                        1936 POWERS AVE                                                   LEWISTON        ID         83501                  6004               Various                                                                                             $6.30
BRUCE HURLBERT                    301 E MAIN BOX # 67                                               COMSTOCK        NE         68828                  6002               Various                                                                                             $2.00




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                                                                                                                                                                                           Contingent


                                                                                                                                                                                                                       Disputed
                                                                                                                                                  Last 4 Digits of     Date Debt was
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             Creditor Name                   Address1           Address2         Address3              City        State           Zip   Country     Number                Claim                                                                             Total Claim
BRUCE JACOBS                     N472 KILSDONK COURT                                          APPLETON          WI         54915                 6004                Various                                                                                               $56.18
BRUCE KENISON                    PO BOX 63                                                    CLEAR LAKE        IA         50428                 6002                Various                                                                                                $2.47
BRUCE KNUTSON                    630 SUSIE STREET                                             DELAVAN           WI         53115                 6004                Various                                                                                               $10.00
BRUCE L ANDERSON                 98 CROIX ST APT 266                                          NEGAUNEE          MI         49866                 6002                Various                                                                                               $10.00
BRUCE LARSON                     903 EDWARDS ST APT 6                                         SALMON            ID         83467                 6002                Various                                                                                                $0.63
BRUCE MARTIN                     W1014 REFORMATORY RD                                         SEYMOUR           WI         54165                 6002                Various                                                                                                $4.41
BRUCE MCCONNELL                  100 COTTOM LN                                                LEADORE           ID         83464                 6002                Various                                                                                                $1.15
BRUCE MCFARLAND                  6412 ODONNELL LN                                             BILLINGS          MT         59106                 6002                Various                                                                                                $6.76
BRUCE MIDDLETON                  414 E 6TH ST                                                 NORTH PLATTE      NE         69101                 6002                Various                                                                                                $1.42
BRUCE MONTAMBO                   1255 MICH AVE                                                OROFINO           ID         83544                 6002                Various                                                                                                $3.70
BRUCE NEUBAUER                   524 3RD ST                                                   MENASHA           WI         54952                 6004                Various                                                                                                $1.00
BRUCE NIHAN                      1519 BUTTE AVE                                               HELENA            MT         59601                 6002                Various                                                                                                $1.32
BRUCE NORMAN                     43320 DECKER AVE                                             HARRIS            MN         55032                 6004                Various                                                                                                $3.00
BRUCE OLSON                      2048 LANCASTER HEIGHT RD                                     FREEPORT          IL         61032                 6004                Various                                                                                                $1.33
BRUCE REYNOLDS                   N54W26326 LISBON RD                                          SUSSEX            WI         53089                 6002                Various                                                                                                $7.56
BRUCE RICHARDSON                 1907 5TH AVE SW                                              AUSTIN            MN         55912                 6002                Various                                                                                               $19.97
BRUCE SAMPLE                     7040 VINE STREET                                             LINCOLN           NE         68505                 6004                Various                                                                                                $2.00

BRUCE SELL                       317 E NORPORT DR APT 110                                     PORT WASHINGTON   WI         53074                  6002               Various                                                                                                $9.10
BRUCE SMITH                      1623 HIGHWAY 47                                              OGILVIE           MN         56358                  6002               Various                                                                                                $6.44
BRUCE SOBOLEWSKI                 W8249 MAIN STREET                                            HOLMEN            WI         54636                  6004               Various                                                                                               $10.00
BRUCE SOCKNESS                   1648 19TH ST                                                 RICE LAKE         WI         54868                  6002               Various                                                                                                $6.14
BRUCE STARK                      11910 SST                                                    TREMPEALEAU       WI         54661                  6002               Various                                                                                                $0.38
BRUCE STEED                      538 W 5350TH S                                               OGDEN             UT         84405                  6002               Various                                                                                                $7.89
BRUCE THOMPSON                   2810 9TH AVENUE N                                            GREAT FALLS       MT         59401                  6004               Various                                                                                               $20.00
BRUCE THORFINNSON                2780 SHERRY LN                                               GREEN BAY         WI         54302                  6002               Various                                                                                                $7.34
BRUCE TRUSKOWSKI                 3532 N WINTERSET DR                                          APPLETON          WI         54911                  6002               Various                                                                                                $0.36
BRUCE W. DUNN                    N2502 BOURGOIS RD                                            VULCAN            MI         49892                  6002               Various                                                                                                $5.42
BRUCE WEIGHALL                   PO BOX 1364                                                  AFTON             WY         83110                  6004               Various                                                                                                $8.02
BRUCE ZAHN                       38889 2ND AVE                                                NORTH BRANCH      MN         55056                  6002               Various                                                                                                $8.58
BRUNETT FAMILY                   7630 HIGH VIEW DR                                            COEUR D ALENE     ID         83814                  6002               Various                                                                                                $7.75

                                                            1065 E BROADWAY
BRUNSWICK DISTRIBUTING (BEER)    VICE PRESIDENT OF SALES    STREET                            BRUNSWICK         MO         65236                  8660               Various                                                                                               $82.20
BRUSSO LENOIR                    5269 SPRINGDALE AVE                                          PLEASANTON        CA         94588                  6004               Various                                                                                               $15.00
BRYAN A COOLEY                   2521 N BUNCHGRASS DR                                         POST FALLS        ID         83854                  6002               Various                                                                                                $1.81
BRYAN A. BIALAS                  2621 N ST PAUL RD                                            GRAND ISLAND      NE         68801                  6002               Various                                                                                                $0.49
BRYAN BAKER                      16810 58TH AVE                                               CHIPPEWA FALLS    WI         54729                  6004               Various                                                                                               $23.00
BRYAN BJERKE                     1156 WEST CARRIAGE DR      APT 5                             WHITEWATER        WI         53190                  6004               Various                                                                                               $20.00
BRYAN BRANDER                    1119 MARTIN CREEK LAN                                        WHITEFISH         MT         59937                  6002               Various                                                                                                $3.97
BRYAN BRAZEE                     3241 BREEZEWOOD LN                                           NEENAH            WI         54956                  6002               Various                                                                                                $4.52
BRYAN BRENNAN                    2001 S. DRIFTWOOD LANE                                       APPLETON          WI         54915                  6004               Various                                                                                               $27.00
BRYAN CAMPBELL                   702 N 7TH ST                                                 BEATRICE          NE         68310                  6002               Various                                                                                                $0.77
BRYAN D BECKER                   RR 8 BOX 7048                                                DONIPHAN          MO         63935                  6002               Various                                                                                                $6.44
BRYAN DOYLE                      1778 LAMAR DRIVE                                             NORTH MANKATO     MN         56003                  6004               Various                                                                                               $20.18
BRYAN DUCANE                     PO BOX 164                                                   COLEMAN           WI         54112                  6002               Various                                                                                                $9.89
BRYAN ERICKSON                   1743 CONN ROAD                                               COLUMBIA FALLS    MT         59912                  6004               Various                                                                                               $39.97
BRYAN FOGG                       906 MILLIGAN AVE                                             WABASHA           MN         55981                  6002               Various                                                                                                $7.15
BRYAN GARCIA                     206 THOMAS AVE                                               WORTHINGTON       MN         56187                  6004               Various                                                                                               $23.00
BRYAN HAWKINS                    939 193RD ST                                                 BALDWIN           WI         54002                  6004               Various                                                                                                $1.97
BRYAN HELZER                     13910 NEWGATE                                                WAVERLY           NE         68462                  6004               Various                                                                                               $10.00
BRYAN HOVE                       115 SQUIRE CT                                                HOLMEN            WI         54636                  6002               Various                                                                                                $9.95
BRYAN JEPSEN                     5723 414TH ST                                                NORTH BRANCH      MN         55056                  6002               Various                                                                                                $9.23
BRYAN KIENHOLZ                   507 MICHAEL ST                                               LUVERNE           MN         56156                  6002               Various                                                                                                $0.49




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             Creditor Name               Address1            Address2          Address3              City          State           Zip   Country     Number                Claim                                                                             Total Claim
BRYAN KOERNER                 1374 WEDGEWOOD LN                                              NEENAH             WI         54956                 6002                Various                                                                                                $1.59
BRYAN L FROMHOLTZ             835 S TIMMERS LN APT 10                                        APPLETON           WI         54914                 6002                Various                                                                                                $4.88
BRYAN MADSEN                  PO BOX 64                                                      AHSAHKA            ID         83520                 6002                Various                                                                                                $5.01
BRYAN MC CABE                 4020 TANGLEWOOD CT                                             JANESVILLE         WI         53546                 6004                Various                                                                                               $33.15
BRYAN MICHAELIS               3009 M ST                                                      VANCOUVER          WA         98663                 6004                Various                                                                                                $2.00
BRYAN MICKELSON               1654 SESAME ST                                                 WORLAND            WY         82401                 6002                Various                                                                                                $4.60
BRYAN MONTAG                  1131 19TH AVE SO APT 6                                         WISC RAPIDS        WI         54495                 6002                Various                                                                                                $6.30
BRYAN OLVERA ORGANIST         516 FAIRVIEW CT                                                WAUTOMA            WI         54982                 6002                Various                                                                                                $4.22
BRYAN RAYMOND                 112 WEST 19TH AVE                                              LEWISTON           ID         83501                 6004                Various                                                                                                $5.00
BRYAN ROBERT BEAL             5170 LINDEE LN                                                 IDAHO FALLS        ID         83401                 6002                Various                                                                                                $6.25
BRYAN SCHROEDER               10449 RAILROAD RD                                              HECLA              SD         57446                 6002                Various                                                                                                $8.14
BRYAN SMITH                   3212 N MEADE ST                                                APPLETON           WI         54911                 6002                Various                                                                                                $5.92
BRYAN SYMONS                  2015 NS HWY RM 3                                               LEWISTON           ID         83501                 6002                Various                                                                                                $9.42
BRYAN TRIEB                   BOX 113                                                        WEIPPE             ID         83553                 6002                Various                                                                                                $2.60
BRYAN VALENZUELA              533 W PERRY ST                                                 BELVIDERE          IL         61008                 6004                Various                                                                                                $3.90
BRYAN WHEELER                 2 ARBOR CT                                                     WAUNAKEE           WI         53597                 6004                Various                                                                                                $5.70
BRYAN WIELD                   3712 S 17TH STREET                                             SHEBOYGAN          WI         53081                 6004                Various                                                                                               $15.04
BRYANNA KUBISIAK              534 1ST STREET             APT A                               MENASHA            WI         54952                 6004                Various                                                                                                $1.00
BRYANNA SPRANGE               1807 BOND STREET                                               GREEN BAY          WI         54303                 6004                Various                                                                                                $3.00
BRYANNE TRACY                 29 HORN BLVD                                                   SILVER BAY         MN         55614                 6004                Various                                                                                                $3.00
BRYANT HARRIS                 UPDATE                                                         BEAVER DAM         WI         53916                 6002                Various                                                                                                $6.63
BRYANT LATOURELLE             1262 277TH LANE NW                                             ISANTI             MN         55040                 6004                Various                                                                                                $3.00
BRYANT WILLIAMS               2014B SHERRI CT                                                WISCONSIN RAPID    WI         54494                 6002                Various                                                                                                $3.40
BRYCE 704896 DUENOW           25493 CTY HWY # 1                                              FERGUS FALLS       MN         56537                 6002                Various                                                                                                $1.23
BRYCE BJORK                   1116 6TH AVE NW                                                ROCHESTER          MN         55901                 6004                Various                                                                                               $12.00
BRYCE DESLAURIERS             210 NORTH IDAHO                                                CLARK              SD         57225                 6004                Various                                                                                                $7.99
BRYCE ECKSTROM                55763 HIWAY 98                                                 RANDOLPH           NE         68771                 6004                Various                                                                                               $25.00
BRYCE HALE                    P O BOX 161                                                    STEVENSVILLE       MT         59870                 6004                Various                                                                                                $2.00
BRYCE HARRIS                  173 S OAK ST                                                   ELLSWORTH          WI         54011                 6002                Various                                                                                                $9.59
BRYCE HINDMAN                 1405 EAST BROADWAY #H206                                       MISSOULA           MT         59802                 6004                Various                                                                                               $80.00
BRYCE MEYER                   930 RIVERVIEW DR                                               LANDER             WY         82520                 6002                Various                                                                                                $0.93
BRYCE MILLER                  1401 SHORE HEIGHTS RD                                          GREEN BAY          WI         54313                 6004                Various                                                                                                $1.00
BRYCE PIPER                   1761 24TH AVE S                                                WISCONSIN RAPID    WI         54495                 6002                Various                                                                                                $0.47
BRYCE QUIGLEY                 1249 W CAMBRIA WAY                                             PLEASANT GROVE     UT         84062                 6002                Various                                                                                                $6.11
BRYCE REYNOLDS                4405 UPLAND COURT                                              MIDDLETON          WI         53562                 6004                Various                                                                                               $16.00
BRYCE ROGERS                  429 E PARKWAY BLVD                                             APPLETON           WI         54911                 6002                Various                                                                                                $7.95
BRYCE SCHWAB                  21443 598TH AVENUE                                             EAGLE LAKE         MN         56024                 6004                Various                                                                                                $1.31
BRYCE TAUER                   395 PHEASANT LANE                                              GRAFTON            WI         53204                 6004                Various                                                                                               $25.00
BRYCE THIBAULT                N3531 TRIELOFF ROAD                                            FORT ATKINSON      WI         53538                 6004                Various                                                                                                $3.00
BRYCE WEBB                    2781 MONACO DR                                                 GREEN BAY          WI         54311                 6004                Various                                                                                                $1.00

BRYDON STRAKA                 1431 29TH AVE S            APT A                               WISCONSIN RAPIDS   WI         54495                  6004               Various                                                                                             $1.00
BRYN WEISBROD                 8505 WHITE PINE COURT                                          WAUSAU             WI         54403                  6004               Various                                                                                             $1.00
BRYNNE LANNING                7341 SUNBURST LANE                                             NEENAH             WI         54956                  6004               Various                                                                                             $5.00
BRYON MARTIN                  445 3RD AVE N                                                  TWIN FALLS         ID         83301                  6002               Various                                                                                             $1.15
BRYSON SMILEY                 510 LOCUST STREET                                              BELOIT             WI         53511                  6004               Various                                                                                             $3.00
BRYTON BUSKA                  W6902 PROSPECT RD                                              BEAVER DAM         WI         53916                  6002               Various                                                                                             $4.82
BTI TOOLS LLC                 PO BOX 95000 5975                                              PHILADELPHIA       PA         19195-5975             7181               Various                                                                                        $18,293.79
                                                         C/O AMERICAN
                                                         MANAGEMENT
BTS PROPERTIES LLC AND        TRIP INVESTMENTS LLC       GROUP INC       3305C N BALLARD ROAD APPLETON          WI         54911                  5752               Various                                                                                         $9,506.64
BUCK NORRIS                   907 LANE # 7                                                    POWELL            WY         82435                  6002               Various                                                                                             $1.42
BUCKY BLASER                  2060 TRISSINO WAY                                               GREEN BAY         WI         54313                  6004               Various                                                                                            $20.80
BUDDY JUNIOR OLSON            58 LILY LN W                                                    ALTOONA           WI         54720                  6002               Various                                                                                             $0.49




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BUD'S CLEANUP SERVICE              PO BOX 386                                                    MADISON            SD           57042                                      Various                                                                                          $1,086.86
                                                                                                                                                                            12/1/2018 -
BUENA VISTA SANITATION DISTRICT    PO BOX 3069                                                   BUENA VISTA        CO           81211                   0874               12/31/2018                                                                                         $46.80
                                                               13607 OGDEN
BUENO OF CALIFORNIA                VICE PRESIDENT OF SALES     DRIVE                             SANTE FE SPRINGS   CA           90670-0000              3784               Various                                                                                        $30,564.78
BUFFALO GAMES LLC                  220 JAMES E CASEY DRIVE                                       BUFFALO            NY           14208                   7021               Various                                                                                       $269,418.87
BUFFY ASPITTLE                     1900 EAST TABLE ROCK ROAD                                     BOISE              ID           83712                   6004               Various                                                                                            $24.00
BUFFY BATHKE                       15529 KIWI RD                                                 PRESTON            MN           55965                   6002               Various                                                                                             $9.42
BUHLER INCORPORATED                28064 NETWORK PLACE                                           CHICAGO            IL           60673-1280              1188               Various                                                                                         $4,827.57
BUILD RITE LUMBER                  PO BOX 297                                                    RAWLINS            WY           82301                   0770               Various                                                                                            $16.10
                                   1201 E WILMINGTON AVENUE
BULLEN FAMILY ENTERPRISES LLC      SUITE 115                                                     SALT LAKE CITY     UT           84106                   1120               Various                                                                                         $8,808.61
                                                               PO BOX 5935
BUMKINS FINER BABY PRODUCTS IN     CRESTMARK FINANCIAL CORP    DRAWER 1021                       TROY               MI           48007-5935              1002               Various                                                                                         $5,490.96
BURDINE HARRISON                   BOX 174                                                       CHADWICK           IL           61014                   6002               Various                                                                                             $2.14

BURKE FAMILY                       1018 N WEBSTER ST                                             PORT WASHINGTON    WI           53074                   6002               Various                                                                                             $0.49
BURLEN CORPORATION FITZGERALD      1904 MCCORMICK DRIVE                                          TIFTON             GA           31794-8231              1300               Various                                                                                       $397,366.29
BURLINGTON HOME CENTER INCORPO     111 HOLLOWELL STREET                                          BURLINGTON         CO           80807                   9273               Various                                                                                          $241.82
BURMAN FAMILY                      3127 8TH ST                                                   LEWISTON           ID           83501                   6002               Various                                                                                             $8.19
BURNES & BROTHERS PLLC             425 15TH STREET                                               LEWISTON           ID           83501                   6655               Various                                                                                          $310.00
BURNES HOEFER                      710 BARTON RD                                                 DONIPHAN           MO           63935                   6002               Various                                                                                             $3.53
BURTON HARRISON                    602 23RD AVE                                                  LEWISTON           ID           83501                   6002               Various                                                                                            $13.66
BUSHEE FAMILY                      1534 B ILLINOIS AVE                                           STEVENS POINT      WI           54481                   6002               Various                                                                                             $9.70
BUSHIRA QASEM                      1493 AUTUMN SAGE CT SW                                        ROCHESTER          MN           55902                   6002               Various                                                                                             $1.62
BUSTER EAST                        8210 W 10400TH N                                              TREMONTON          UT           84337                   6002               Various                                                                                             $9.26

BUSTER PIERRINGER                  914 N BENJAMIN ST                                             PORT WASHINGTON    WI           53074                   6002               Various                                                                                             $9.26
BUTCH (FELIN TITSWORTH             25947 GASTON AVE                                              GLENWOOD           IA           51534                   6002               Various                                                                                             $6.96
BUTCH HOSELEY                      19030 E CLEFT ROAD                                            BOISE              ID           83716                   6002               Various                                                                                             $4.03
BUTCH WOLF                         1222 CLARY ST                                                 BELOIT             WI           53511                   6002               Various                                                                                             $1.40
BUXTON COMPANY                     WELLS FARGO BANK NA         PO BOX 223636                     PITTSBURGH         PA           15251-2636              5319               Various                                                                                        $17,226.52

                                                               5915 S MOORLAND
BUYSEASONS ENTERPRISES LLC (C-     ATTN ACCOUNTS RECEIVABLE    ROAD                              NEW BERLIN         WI           53151                   5825               Various                                                                                         $2,007.10
BX CIVIL & CONSTRUCTION INC        24663 475TH AVENUE          PO BOX 187                        DELL RAPIDS        SD           57022                   3061               Various                                                                                          $716.21
                                   62685 COLLECTION CENTER
BYER CALIFORNIA                    DRIVE                                                         CHICAGO            IL           60693-0626              3907               Various                                                                                       $183,914.90
BYRE BROTHER                       PO BOX 601                                                    CHAMBERLAIN        SD           57325                                      Various                                                                                          $651.80

BYRON DEERR                        250 W CHESTNUT ST                                             PORT WASHINGTON    WI           53074                   6002               Various                                                                                            $10.00
BYRON REECE                        212 FULTON ST                                                 EAU CLAIRE         WI           54703                   6002               Various                                                                                             $5.21
BYRON RILEY                        1744 KENTUCKY STREET                                          RACINE             WI           53405                   6002               Various                                                                                             $6.58
BYRON W WOODS                      913 CANNON ST                                                 HELENA             MT           59601                   6002               Various                                                                                             $2.85
C B WILLIAMS                       74 ECLIPSE CTR                                                BELOIT             WI           53511                   6004               Various                                                                                             $2.00
C BLAINE MCVICKER                  PO BOX 7152                                                   PUEBLO WEST        CO           81007                   6504               Various                                                                                         $1,531.54
C E GROOMS                         513 SOLITUDE PL                                               WORLAND            WY           82401                   6002               Various                                                                                             $2.08
                                                               404 BNA DRIVE
                                                               BUILDING 100 6TH
C R GIBSON L L C                   VICE PRESIDENT OF SALES     FL                                NASHVILLE          TN           37217-0000              2242               Various                                                                                        $25,197.52
C&C CUSTOM CYCLE                   130 EAST LINCOLN                                              CHARITON           IA           50049                   4435               Various                                                                                          $535.00
C&M REFUSE                         PO BOX 234                                                    WASHINGON          KS           66968                                      Various                                                                                          $504.00
C.H.N. GARBAGE SERVICE             302 S 1ST ST                                                  MAPLETON           IA           52040                                      Various                                                                                         $1,030.32
C.J. DEBORAH THIEL                 629 12TH ST PO BOX # 43                                       MENASHA            WI           54952                   6002               Various                                                                                             $7.53




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                                                                                                                                                                                                        Unliquidated
                                                                                                                                                                                           Contingent


                                                                                                                                                                                                                       Disputed
                                                                                                                                                  Last 4 Digits of     Date Debt was
                                                                                                                                                     Account         Incurred, Basis for
              Creditor Name                Address1             Address2           Address3              City       State         Zip    Country     Number                Claim                                                                             Total Claim
CA INCORPORATED                PO BOX 933316                                                    ATLANTA          GA         31193-3316           2993                Various                                                                                         $13,225.08
CADE ANDERSON                  7926 SOUTH 155TH AVE                                             OMAHA            NE         68138                6004                Various                                                                                             $14.00
CADE SPAULDING                 432 WADLEIGH ST                                                  STEVENS POINT    WI         54481                6004                Various                                                                                             $45.00
CADEAU FAMILY                  309 MICHIGAN AVE                                                 BARAGA           MI         49908                6002                Various                                                                                             $10.00
CADEN FROEBER                  1900 MANCHESTER XING                                             WAUNAKEE         WI         53597                6004                Various                                                                                              $1.00
CADEN HANDLEY                  RR 3 BOX 151                                                     FALLS CITY       NE         68355                6002                Various                                                                                              $8.68
CADEN HOCHSTETLER              2702 MEMORIAL DRIVE RM 16                                        TWO RIVERS       WI         54241                6004                Various                                                                                              $3.00
CADEN KOLOSSO                  N1649 MEDINA DRIVE                                               GREENVILLE       WI         54942                6004                Various                                                                                              $3.00
CADEN MILLER                   1615 ASPEN ST #521                                               HELENA           MT         59601                6004                Various                                                                                              $3.00
CADEN PRICE                    1948 FIR DR #30                                                  BELOIT           WI         53511                6004                Various                                                                                              $2.00
CADEN SIMONSON                 724 22ND ST NE                                                   ROCHESTER        MN         55906                6002                Various                                                                                              $6.05
CADEN STOEGER                  403 N STATE ST                                                   ARGYLE           WI         53504                6004                Various                                                                                              $2.96
CAELEN FRIEDOW                 215 WEST 3RD                                                     KANAWHA          IA         50447                6004                Various                                                                                             $67.98
CAELI JACKSON                  3506 N 114TH PLZ            APT # 9                              OMAHA            NE         68164                6004                Various                                                                                              $4.00
CAESAR MARSHALL                5556 ELDORADO CRT                                                HELENA           MT         59601                6002                Various                                                                                              $2.49
CAID FLAGET                    1038 GILBERT CRT                                                 EAST WENATCHEE   WA         98802                6004                Various                                                                                             $30.00
CAIDEN AUGUSTINE               N1329 STATE HIGHWAY 42                                           KEWAUNEE         WI         54216                6004                Various                                                                                              $1.00
CAIDEN HAAS                    4195 STEWART RD                                                  OMER             MI         48749                6002                Various                                                                                              $4.66
CAIDON CONNER                  1732 BRAMBLE CT.                                                 BELOIT           WI         53511                6004                Various                                                                                              $2.00
CAILEN ANDREWS                 6413 BRIDGE RD              APT #103                             MADISON          WI         53713                6004                Various                                                                                              $3.00
CAIRA NEHRING                  1013 21ST ST                                                     TWO RIVERS       WI         54241                6002                Various                                                                                              $6.11
C'AIRA TAYLOR                  4660 COUNTY ROAD 122                                             BEDFORD          WY         83112                6002                Various                                                                                              $9.10
CAISIDE LAST                   313 CHURCH ST                                                    CLINTON          WI         53525                6004                Various                                                                                              $7.00
CAITLIN CAMPBELL               1327 D ST APT 7                                                  LINCOLN          NE         68502                6002                Various                                                                                              $4.47
CAITLIN CHANDA                 604 ARNOLD PLACE                                                 DELAVAN          WI         53115                6004                Various                                                                                             $39.00
CAITLIN CURTICE                E10714 GIBBS RD                                                  SKANDIA          MI         49885                6004                Various                                                                                              $6.30
CAITLIN HANOUSEK               E1444 HIGHLAND RD                                                RINGLE           WI         54471                6004                Various                                                                                             $39.97
CAITLIN HARLOW                 26921 STATE HIGHWAY 13                                           GALLATIN         MO         64640                6002                Various                                                                                              $7.92
CAITLIN HAWTHORNE              2001 BARTON AVE.            APT. 203                             WEST BEND        WI         53090                6004                Various                                                                                              $3.00
CAITLIN KENDRICK               1141 S 11TH ST              APT D-2                              LINCOLN          NE         68502                6004                Various                                                                                             $40.00
CAITLIN M LAVERDURE            1701 20TH ST S APT B7                                            GREAT FALLS      MT         59405                6002                Various                                                                                              $2.77
CAITLIN REISEN                 8662 S HIGHLAND RD                                               FISH CREEK       WI         54212                6002                Various                                                                                              $9.81
CAITLIN ROCK                   2480 S YELLOWSTONE HWY                                           IDAHO FALLS      ID         83402                6002                Various                                                                                              $4.35
CAITLIN RUBLE                  1116 SUGAR LOAF RD          APT 309                              WINONA           MN         55987                6004                Various                                                                                              $3.00
CAITLYN A. SCHULTZ             1013 CLEMENT ST APT C                                            WATERTOWN        WI         53094                6002                Various                                                                                              $1.40
CAITLYN BOSANIC                219 LAKE ST                                                      MANISTIQUE       MI         49854                6002                Various                                                                                              $7.10
CAITLYN KOLLER                 13725 JAMBO CREEK ROAD                                           MISHICOT         WI         54228                6004                Various                                                                                             $29.98
CAITLYN PERRY                  150 SHADY LN SPC 418                                             KALISPELL        MT         59901                6002                Various                                                                                              $4.30
CAITLYN THORP                  2002 16TH AVE                                                    MONROE           WI         53566                6004                Various                                                                                             $25.00
CAITLYN TOTZKE                 2410 MAIN ST                                                     BELLEVUE         NE         68005                6004                Various                                                                                              $4.00
CAITLYNN SULLIVAN              4550 W GRAY TOWERS ST                                            MERIDIAN         ID         83642                6004                Various                                                                                              $3.65
CAKE GALLERY                   8247 HASCALL                                                     OMAHA            NE         68124                7451                Various                                                                                             $28.99
CALASIA DAVIS                  52 LAKEWOOD GARDENS LANE                                         MADISON          WI         53704                6004                Various                                                                                              $2.00
CALE CHARLES HUDSON            2509 WOODS BLVD                                                  LINCOLN          NE         68502                6002                Various                                                                                             $10.00
CALE DOBSON                    2827 S CYPRSS ST                                                 SIOUX CITY       IA         51106                6004                Various                                                                                              $3.98
CALE NEFF                      206 E. VIRGINIA RD.                                              ARENZVILLE       IL         62611                6004                Various                                                                                             $45.00
CALEB ADERSON                  1717 W. 2ND ST                                                   DIXON            IL         61021                6004                Various                                                                                             $15.00
CALEB BAUMANN                  3909 JAMES LEE ST                                                SCHOFIELD        WI         54476                6004                Various                                                                                             $57.49
CALEB CORNETT                  811 NORTH 4TH ST                                                 BELLEVUE         NE         68005                6004                Various                                                                                             $41.77
CALEB DREY                     15017 CEDAR CIRCLE                                               OMAHA            NE         68144                6004                Various                                                                                              $2.00
CALEB DUNHAM                   8818 75TH ST NE                                                  ELGIN            MN         55932                6002                Various                                                                                              $7.48
CALEB GOODIN                   2835 20TH AVE S                                                  GRAND FORKS      ND         58201                6002                Various                                                                                              $7.34
CALEB HANEY                    310 NORTH MAIN ST           #4                                   STODDARD         WI         54658                6004                Various                                                                                             $40.00
CALEB J KINDLER                2460B WILOW DR                                                   PLOVER           WI         54467                6002                Various                                                                                              $3.29




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            Creditor Name                    Address1               Address2          Address3               City         State           Zip    Country     Number                Claim                                                                             Total Claim
CALEB MACER                       327 W 10TH ST                                                     MOUNT CARMEL       IL         62863                  6002                Various                                                                                                $4.05
CALEB MINER                       7325 LAWNDALE DR                                                  OMAHA              NE         68134                  6002                Various                                                                                                $8.47
CALEB OAKS                        704 1ST AVE WEST                                                  KALISPELL          MT         59901                  6004                Various                                                                                               $28.00
CALEB PUTZ                        132 WEST 9TH STREET                                               FOND DU LAC        WI         54935                  6004                Various                                                                                                $2.00
CALEB ROBSON                      1323 CONCORD DR                                                   BILLINGS           MT         59101                  6004                Various                                                                                                $3.00
CALEB ROUX                        2247 COLLEGE AVE                                                  QUINCY             IL         62301                  6002                Various                                                                                                $1.84
                                  1120 NORTH 14TH STREET ROOM
CALEB SCHMIDT                     502                                                               LINCOLN            NE         68505                   6004               Various                                                                                                $4.96
CALEB WEAVER                      N14377 BLUFF AVE                                                  STANLEY            WI         54768                   6002               Various                                                                                                $4.25
CALEB WILLIAMS                    728 NORTH DELAWARE AVE.                                           MASON CITY         IA         50401                   6004               Various                                                                                               $46.58
CALEN SCHRUENDER                  2706 E SUNDANCE DR                                                APPLETON           WI         54913                   6002               Various                                                                                                $2.33
CALI C MILLER                     1170 PEREGRINE DR SE                                              ROCHESTER          MN         55904                   6002               Various                                                                                                $2.85
CALI WILSON CLUFF                 1118 N 2375TH W                                                   LAYTON             UT         84041                   6002               Various                                                                                                $6.49

CALIFORNIA INNOVATIONS INC        VICE PRESIDENT OF SALES       36 DUFFLAW ROAD                     TORONTO            ON         M6A 2W1       CANADA     3474              Various                                                                                         $9,099.47

                                                                UNCLAIMED         10600 WHITE ROCK RD
CALIFORNIA STATE CONTROLLER       ATTN BETTY T YEE              PROPERTY DIVISION SUITE 141           RANCHO CORDOVA   CA         95670                   1624               Various                                                                                        $34,156.24
CALLA MARTYSZ                     2445 NORWOOD ST                                                     MARQUETTE        MI         49855                   6002               Various                                                                                             $6.88
CALLIE CONLEY                     17556 HICKORY AVE                                                   LE MARS          IA         51031                   6004               Various                                                                                            $10.00
CALLIE HELLENBRAND                706 HUBBELL STREET                                                  MARSHALL         WI         53559                   6004               Various                                                                                            $19.00
CALLIE LUNDIN                     19055 455TH AVE                                                     MORRIS           MN         56267                   6002               Various                                                                                             $6.03
CALLIE MAROHN                     2398 150TH AVE                                                      BRAHAM           MN         55006                   6002               Various                                                                                             $1.12
CALLIE NORLEN                     1111 N PARK                                                         FAIRMONT         MN         56031                   6004               Various                                                                                             $3.00
CALLIE S NITZ                     229 MCMILLAN HALL                                                   RIVER FALLS      WI         54022                   6002               Various                                                                                             $0.74
CALLIE WILDE                      330 W 250 S                                                         PERRY            UT         84302                   6004               Various                                                                                            $10.00
CALLY COLBERT                     2080 CEDARWOOD AVE                                                  SPARTA           WI         54656                   6002               Various                                                                                             $9.37
CALTHA SCHREURS                   4301 NORMAL #13                                                     LINCOLN          NE         68506                   6004               Various                                                                                            $11.98
CALVIN BECKER                     N5063 HIGHWAY 67                                                    IRON RIDGE       WI         53035                   6002               Various                                                                                             $8.32
CALVIN BEECHY                     23225 320TH ST                                                      JAMESPORT        MO         64648                   6002               Various                                                                                             $5.56
CALVIN BURDICK                    136 FORD RD                                                         MARQUETTE        MI         49855                   6004               Various                                                                                            $16.00
CALVIN D SR MAX                   617 W ASH ST                                                        SISSETON         SD         57262                   6002               Various                                                                                             $8.49
CALVIN EASTMAN                    461 FALCON DRIVE                                                    PULASKI          WI         54162                   6004               Various                                                                                             $5.00
CALVIN ELGER                      90 AMORETTI ST                                                      LANDER           WY         82520                   6002               Various                                                                                             $6.88
CALVIN GEISHIRT                   2159 INDEPENDENCE CIRCLE                                            COTTAGE GROVE    WI         53527                   6004               Various                                                                                             $3.13
CALVIN GROSSKOPF                  806 2ND AVE N                                                       ONALASKA         WI         54650                   6002               Various                                                                                             $4.16
CALVIN HARRIS                     2321 13TH ST.                                                       MENOMINEE        MI         49858                   6004               Various                                                                                            $20.00
CALVIN MYHRE                      729 S BROADWAY ST                                                   MANLY            IA         50456                   6002               Various                                                                                             $0.60
CALVIN POPPE                      2656 GILMORE AVE                                                    IONIA            IA         50645                   6002               Various                                                                                             $1.75
CALVIN SMITH                      1221 9TH AVE S                                                      SAINT CLOUD      MN         56301                   6004               Various                                                                                             $3.00

CALVIN WAKEFIELD                  2041 SOUTH POWERLINE ROAD                                         MELBA              ID         83641                   6004               Various                                                                                             $5.00
CAMBRIA GERRITTS                  N4123 MURPHY RD                                                   FREEDOM            WI         54130                   6004               Various                                                                                            $18.88
CAMBRIDGE SILVERSMITHS LTD (ON    PO BOX 828668                                                     PHILADELPHIA       PA         19182-8668              4295               Various                                                                                       $493,837.28
CAMDEN BENNETT                    601 38TH AVE NE                                                   AUSTIN             MN         55912                   6002               Various                                                                                             $4.00
CAMDEN TAE SCHMIDT                4810 N LATITUDE LN UNIT F                                         APPLETON           WI         54913                   6002               Various                                                                                             $5.59
CAMELBAK PRODUCTS                 PO BOX 860485                                                     MINNEAPOLIS        MN         55486-0485              3820               Various                                                                                        $89,230.70
CAMERA CORNER                     PO BOX 248                                                        GREEN BAY          WI         54305-0248              2041               Various                                                                                        $20,402.49
CAMERON CLEGG                     2190 CAROLYN ST                                                   BOUNTIFUL          UT         84010                   6004               Various                                                                                            $10.00
CAMERON CRAFT                     158 SOUTH 5TH STREET                                              CRESWELL           OR         97426                   6004               Various                                                                                            $30.00
CAMERON EDMINSTER                 1319 N. ONEIDA                                                    APPLETON           WI         54911                   6004               Various                                                                                            $20.00
CAMERON ELMER                     N1985 ALPHORN RD                                                  MONROE             WI         53566                   6004               Various                                                                                            $14.40
CAMERON HATCH                     8510 S STATE ST APT 72                                            MIDVALE            UT         84047                   6002               Various                                                                                             $0.79
CAMERON HOGAN                     420 N FRONT ST                                                    DOWAGIAC           MI         49047                   6002               Various                                                                                             $1.89




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                                                                                                                                                 Last 4 Digits of     Date Debt was
                                                                                                                                                    Account         Incurred, Basis for
            Creditor Name               Address1             Address2         Address3              City         State           Zip    Country     Number                Claim                                                                             Total Claim
CAMERON JOHNSEN              33183 479TH STREET                                            JEFFERSON          SD         57038                  6004                Various                                                                                            $20.00
CAMERON LINDSAY              110 HILLCREST DR                                              ROCK CITY          IL         61070                  6004                Various                                                                                            $10.00
CAMERON SAMSON               410 E PEARL ST                                                SEYMOUR            WI         54165                  6004                Various                                                                                             $3.50
CAMERON STACKHOUSE           1150 MCKINLEY AVE                                             BELOIT             WI         53511                  6004                Various                                                                                            $25.00
CAMERONS COFFEE              5700 12TH AVENUE EAST                                         SHAKOPEE           MN         55379                  7598                Various                                                                                        $19,457.68
CAMI LARSON                  243 PHEASANT DR                                               KALISPELL          MT         59901                  6002                Various                                                                                             $6.49
CAMIKA WORTHAM               222 N FRANKLIN ST                                             JANESVILLE         WI         53548                  6004                Various                                                                                             $3.00
CAMILA LAMBARRI              509 S MAIN ST                                                 FORT ATKINSON      WI         53538                  6004                Various                                                                                             $2.00
CAMILA QUEZADA               2232 W LONG MEDOW DR                                          WEST JORDAN        UT         84084                  6004                Various                                                                                            $22.00
CAMILLA GOODWIN              PO BOX 1766 PMB 4                                             SALMON             ID         83467                  6002                Various                                                                                             $0.85
                                                                                           WASHINGTON
CAMILLA SIMONSEN             4611 S. 200 W.                                                TERRACE            UT         84405                   6004               Various                                                                                                $1.97
CAMILLA VOSS                 3311 N. 93RD AVE. APT 2                                       OMAHA              NE         68134                   6004               Various                                                                                                $4.00
CAMILLA ZIEBER               3335 W HECTOR DR                                              WEST VALLEY CITY   UT         84119                   6002               Various                                                                                               $13.31
CAMILLE BRUEGGEN             W3342 COUNTY RD B                                             HILBERT            WI         54129                   6004               Various                                                                                               $14.91
CAMILLE DIAL                 4095 W 9200 S                                                 PAYSON             UT         84651                   6004               Various                                                                                               $23.00
CAMILLE DOCTA                2451 N MAIN STREET APT 5                                      OSHKOSH            WI         54901                   6004               Various                                                                                                $5.00
CAMILLE E LEE                7850 SCOTCH BLF SW                                            FIFE LAKE          MI         49633                   6002               Various                                                                                                $8.99
CAMILLE NICHOLS              216 N JACKSON ST                                              GREEN BAY          WI         54301                   6004               Various                                                                                                $2.00
CAMILLE WALSH                5505 OSBOURN DR.                                              MC FARLAND         WI         53558                   6004               Various                                                                                                $1.00
CAMILLE WHITE                417 OKANOGAN AVE                                              WENATCHEE          WA         98801                   6004               Various                                                                                               $56.00
CAMILO GUZMAN                314 E 21ST STREET                                             SOUTH SIOUX CITY   NE         68776                   6004               Various                                                                                                $5.00

CAMISHA PEAREDEZ             10840 COTTONWOOD LANE #57                                     OMAHA              NE         68164                   6004               Various                                                                                             $4.00
CAMMIE HUPP                  1904 BRIDGE AVE APT 104                                       ALBERT LEA         MN         56007                   6002               Various                                                                                             $5.32
CAMPBELL SALES COMPANY       PO BOX 641505                                                 PITTSBURGH         PA         15264-1505              3847               Various                                                                                        $27,163.03
CAMREN GRUBE                 15 NO HIGH ST APT3                                            JANESVILLE         WI         53548                   6004               Various                                                                                             $3.00
CAMRIN FRYE                  804 WILDERNESS TRL                                            GREEN RIVER        WY         82935                   6002               Various                                                                                             $5.97
CAMRYN RUTLEDGE              947 GENIE ST SE                                               SALEM              OR         97306                   6004               Various                                                                                             $2.99
CANADIAN GROUP               430 SIGNET DRIVE STE A                                        TORONTO            ON         M9L 2T6       CANADA    2075               Various                                                                                         $7,748.01
CANDACE APPLE                2522 FINGER RD                                                GREEN BAY          WI         54302                   6002               Various                                                                                             $4.82
CANDACE GROMOWSKI            630 S MAIN ST.                                                CLYMAN             WI         53016                   6004               Various                                                                                             $5.00
CANDACE HELGESON             269 P RD                                                      WISNER             NE         68791                   6002               Various                                                                                             $3.23
CANDACE STURKEY              17 IKI DR APT 5                                               EDGERTON           WI         53534                   6004               Various                                                                                             $2.00
CANDACE VINSON               3123 SPRUCE STREET                                            HOLMEN             WI         54636                   6002               Various                                                                                            $13.64
CANDACE WATTERS              1124 GROVE ST                                                 MENASHA            WI         54952                   6002               Various                                                                                             $8.33
CANDACE WEEKS                204 NORTH STREET                                              GOLDEN             IL         62339                   6004               Various                                                                                            $49.98
CANDACE ZIEGLER              1330 STETSON RD                                               HELENA             MT         59602                   6002               Various                                                                                             $0.77
CANDELARIA IBARRA            1004 7TH AVE N                                                SAINT JAMES        MN         56081                   6002               Various                                                                                             $6.25
CANDI DAVIS                  10 WAGONHAMMER LN                                             LANDER             WY         82520                   6002               Various                                                                                             $7.07
CANDI JARRETT                7415 CLARK AVE                                                BILLINGS           MT         59106                   6002               Various                                                                                             $6.90
CANDICE A LUNDGREN           417 S WASSON LN APT 201                                       RIVER FALLS        WI         54022                   6002               Various                                                                                             $1.59
CANDICE ANDERSON             N9468 COTTAGE LANE                                            WAUSAUKEE          WI         54177                   6002               Various                                                                                             $3.20
CANDICE CLAY FAIT            707 NIOBRARA AVE                                              ALLIANCE           NE         69301                   6002               Various                                                                                             $3.75
CANDICE COULTER              2303 HANSEN AVE                                               RACINE             WI         53405                   6002               Various                                                                                             $8.82
CANDICE HANSEN               87578 591 AVENUE                                              WATERBURY          NE         68785                   6004               Various                                                                                             $3.70
CANDICE HILEY                802 WEST STREET                                               BEAVER DAM         WI         53916                   6004               Various                                                                                             $2.00
CANDICE MATUSZAK             3919 NORWAY COURT                                             PULASKI            WI         54162                   6004               Various                                                                                             $6.50
CANDICE S MANN               729 N CEDAR ST                                                LUVERNE            MN         56156                   6002               Various                                                                                            $10.00
CANDICE STOUT                PO BOX 1287                                                   BOULDER            MT         59632                   6002               Various                                                                                             $2.33
CANDICE STRAHL               315 EAST AVE                                                  SPRING VALLEY      MN         55975                   6004               Various                                                                                             $6.00
CANDIE GODWIN                109 WASHINGTON ST                                             RIVER FALLS        WI         54022                   6002               Various                                                                                             $7.84
CANDIS BRYAN                 111 5TH AVE                                                   NEWCASTLE          WY         82701                   6002               Various                                                                                             $1.18
CANDLE WARMERS ETC INC       B & B ACQUISITION INC       PO BOX 1024                       LAYTON             UT         84041                   4673               Various                                                                                        $63,271.18




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            Creditor Name                    Address1               Address2           Address3             City          State           Zip   Country     Number              Claim                                                                             Total Claim
CANDON FRAHM                      1706 N WINESAP LN                                                 APPLETON           WI         54914                 6002              Various                                                                                                $2.99
CANDY BADILLO                     148 CHURCH AVE TRLR 6                                             SAINT CHARLES      MN         55972                 6002              Various                                                                                                $5.89
CANDY GOHL                        510 3RD AVE E                                                     SISSETON           SD         57262                 6002              Various                                                                                                $6.88

CANDY HAYES                       462 N ANDREWS ST PO BOX 302                                       MERNA              NE         68856                   6002            Various                                                                                             $3.81
CANDY MARTINEZ                    209 CARTERST                                                      CLIUTIER           IA         52217                   6002            Various                                                                                             $3.64
CANDY RATLIFF                     4179S 4080TH W # 233                                              WEST VALLEY        UT         84120                   6002            Various                                                                                             $6.58
CANDYRIFIC LLC                    PO BOX 638952                                                     CINCINNATI         OH         45263-8952              2810            Various                                                                                        $13,900.89
CANINE FAMILY                     14425 293RD AVE NW                                                PRINCETON          MN         55371                   6002            Various                                                                                             $2.19

CANTERBURY POTTERIES LTD          SKY BUSINESS CREDIT           DEPARTMENT 4996                     CAROL STREAM       IL         60122-4996              3069            Various                                                                                         $5,000.00
CAP HOLTER                        278 CUT A CROSS RD                                                GLASGOW            MT         59230                   6002            Various                                                                                             $1.37
CAPELLI OF NEW YORK INC           1 EAST 33RD ST                                                    NEW YORK           NY         10016                   8313            Various                                                                                        $84,934.25
CAPITAL HUSTING COMPANY INCORP    12001 W CARMEN AVENUE                                             MILWAUKEE          WI         53225-2195              9916            Various                                                                                         $1,556.72
CAPRI OPTICS INCORPORATED         1421 38TH STREET                                                  BROOKLYN           NY         11218                   0502            Various                                                                                            $15.25
CAPROCK WASTE                     5813 E F M 40-E C R 6800                                          LUBBOCK            TX         79401                                   Various                                                                                          $282.49
CAPTIVATING HEADGEAR              TOP OF THE WORLD              PO BOX 721210                       NORMAN             OK         73070                   7181            Various                                                                                        $51,632.10
                                  5910 N CENTRAL EXPRESSWAY
CAPVIEW INCOME & VALUE FUND IV    SUITE 1625                                                        DALLAS             TX         75206                   3694            Various                                                                                        $72,791.84
CARA E BROCKMANN                  928 FARNHAM ST                                                    COLUMBUS           WI         53925                   6002            Various                                                                                             $5.56
CARA JERDEE                       815 8TH ST                    APT 112                             RACINE             WI         53403                   6004            Various                                                                                            $12.40

CARDIAC SCIENCE                   ACCOUNTS PAYABLE              500 BURDICK PKWY                    DEERFIELD          WI         53531                   6004            Various                                                                                          $535.38
CARDINAL INDUSTRIES (CA)          BOX 392677                                                        PITTSBURGH         PA         15251-9677              7117            Various                                                                                        $20,448.77
CARE INITIATIVES                  1611 W LAKES PARKWAY                                              WEST DES MOINES    IA         50266                   6666            Various                                                                                          $226.20
CARELENE WALLOCH                  2322 W RUDDY WAY APT 9-1                                          SALT LAKE CITY     UT         84119                   6004            Various                                                                                             $4.00
CAREN HANTEN                      922 3RD AVE SW                                                    WATERTOWN          SD         57201                   6004            Various                                                                                            $29.50
CARESSE BROWN                     4232 COTTONWOOD RD                                                OROFINO            ID         83544                   6002            Various                                                                                             $1.15
CARETAS REV SA DE CV              230 FIFTH AVENUE STE 308                                          NEW YORK           NY         10001                   9158            Various                                                                                             $0.95
CAREY BLOCK                       1022 N BAIRD ST                                                   GREEN BAY          WI         54302                   6002            Various                                                                                             $7.21
CAREY DEGEN                       209 W 2ND AVE APT 6 PMB                                           MITCHELL           SD         57301                   6002            Various                                                                                             $7.29
CARI ALLEN                        128 WE 880 S                                                      SANTAQUIN          UT         84655                   6004            Various                                                                                            $26.00
CARI BECKER                       1610 23RD AVE SO APT 101                                          WISC RAPIDS        WI         54495                   6002            Various                                                                                             $0.47
CARI BUTCHER                      PO BOX 45                                                         SMOOT              WY         83126                   6002            Various                                                                                             $7.73
CARI COYLE                        108 RIDGELINE DR                                                  COLUMBUS           WI         53925                   6002            Various                                                                                             $9.62
CARIDAD ARCE BERNAL               1601 BLOCKI CT                                                    SHEBOYGAN          WI         53081                   6004            Various                                                                                             $1.00
CARIDAD GARRUCHO                  2225 NATIONAL SEWING AVE                                          BELVIDERE          IL         61008                   6004            Various                                                                                            $48.95
CARIE COFFEY                      6930 SOLARIAN DR SE                                               TURNER             OR         97392                   6004            Various                                                                                            $70.00
CARIEDO NOT USE COFFEY            7407 EVERWOOD ST. NE                                              KEIZER             OR         97303                   6004            Various                                                                                            $46.00
CARISSA BLUM                      801 W. 2ND AVE.                                                   BRODHEAD           WI         53520                   6004            Various                                                                                            $24.00
CARISSA CUMBERLAND                8434 OHERN ST                                                     OMAHA              NE         68127                   6004            Various                                                                                             $4.00

CARISSA KLEVEN                    620 13TH STREET S                                                 WISCONSIN RAPIDS   WI         54494                   6004            Various                                                                                                $3.00
CARISSA SOKOL                     216 W 12TH ST                                                     WAYNE              NE         68787                   6002            Various                                                                                                $2.33
CARL (RALPH) LARSON               112 N 8TH AVE                                                     WINNECONNE         WI         54986                   6002            Various                                                                                                $2.71
CARL ABBOTT                       40665 LOUDEN AVE                                                  NORTH BRANCH       MN         55056                   6002            Various                                                                                                $4.68
CARL BECKER                       1795 HIGHWAY 123                                                  ALEXANDER          IL         62601                   6002            Various                                                                                               $29.52
CARL BERGER                       2311 STADIUM BLVD                                                 TWIN FALLS         ID         83301                   6002            Various                                                                                                $0.63
CARL BINDER                       11750 EAGLE RD                                                    MARSHFIELD         WI         54449                   6002            Various                                                                                                $8.93
CARL BREMER                       650 7TH LN NE                                                     FAIRFIELD          MT         59436                   6002            Various                                                                                                $1.00
CARL DRAPEAU                      542 W 11TH ST                                                     WINNER             SD         57580                   6002            Various                                                                                                $6.14
CARL DUNN                         2707 DAWN DRIVE                                                   GREAT FALLS        MT         59404                   6004            Various                                                                                                $8.00
CARL ESCUE                        207 BENTON ST W                                                   HAZLETON           IA         50641                   6002            Various                                                                                                $3.95
CARL GOEPFERT                     516 DEFOREST ST                                                   DE FOREST          WI         53532                   6002            Various                                                                                                $7.53




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CARL HICKERSON                    5346 COLFAX                                                    LINCOLN           NE         68504                 6004                Various                                                                                                $4.00
CARL HILL                         201 LAKE AVE.                                                  FAIRMONT          MN         56031                 6002                Various                                                                                                $4.11
CARL HOPE                         PO BOX 373                                                     HYSHAM            MT         59038                 6002                Various                                                                                               $10.00
CARL HOWARD                       510 SW 3RD ST                                                  ANDREWS           TX         79714                 6002                Various                                                                                                $6.77
CARL JESSEPH                      BOX 104                                                        CHASE             KS         67524                 6002                Various                                                                                                $4.38
CARL JONES                        5630 163RD ST E                                                PUYALLUP          WA         98375                 6002                Various                                                                                                $1.21
CARL LASHLEY                      PO BOX 132                                                     BERTRAND          NE         68927                 6002                Various                                                                                                $7.95
CARL LEAPLEY                      201 COMMERICAL ST            PO BOX 217                        PALMER            NE         68864                 6004                Various                                                                                                $4.00
CARL LIPP                         28246 HEY # 6                                                  WOLLCOTT          CO         81655                 6002                Various                                                                                                $6.36
CARL LISTUG                       415 EIDE CIRCLE DR                                             GLENWOOD          MN         56334                 6002                Various                                                                                                $0.27
CARL LUDEMANN                     BOX 188                                                        NAPIER            NE         68755                 6002                Various                                                                                               $14.66
CARL MARTIN                       N4435 HIGHWAY # G                                              FORT ATKINSON     WI         53538                 6002                Various                                                                                                $7.15
CARL MCCULLOUGH                   4919 NORTH 61 STREET                                           OMAHA             NE         68104                 6004                Various                                                                                                $4.00
CARL MILLER                       225 PARK ST                                                    COLBY             WI         54421                 6002                Various                                                                                                $6.88
CARL OLSEN                        22625 WASHINGTON ST                                            ETTRICK           WI         54627                 6002                Various                                                                                                $6.49
CARL PETERSON                     3436 HIGHWAY 12                                                OROFINO           ID         83544                 6002                Various                                                                                                $4.77
CARL REINTS                       726 E AMELIA ST                                                CASSVILLE         WI         53806                 6002                Various                                                                                                $1.40
CARL RINGER                       12341 52ND ST S                                                WISCONSIN RAPID   WI         54494                 6002                Various                                                                                                $0.52
CARL ROWAN                        67 COUNTRY MANOR COURT                                         EAGLE LAKE        MN         56024                 6004                Various                                                                                                $3.00
CARL ROY                          BOX 1606                                                       OROFINO           ID         83544                 6002                Various                                                                                                $2.30

CARL SCHOWALTER                   201 S SPRING ST                                                PORT WASHINGTON   WI         53074                  6002               Various                                                                                             $8.14
CARL SMITH                        213 PINE DR                                                    ORANGEVILLE       IL         61060                  6002               Various                                                                                             $2.88
CARL STAMM                        6575 LASLEY SHORE DR                                           WINNECONNE        WI         54986                  6002               Various                                                                                             $3.23
CARL STRINGFIELD                  PARKVIEW AVE F # 1919                                          GOTHENBURG        NE         69138                  6002               Various                                                                                             $0.63
CARL STUHR                        6303 GRANITE RD                                                WAUSAU            WI         54403                  6004               Various                                                                                             $5.02
CARL VINSON                       2917 CAYMEN LN                                                 BELVIDERE         IL         61008                  6002               Various                                                                                             $2.90
CARL W COLEMAN                    5210 S 40TH ST APT 256                                         LINCOLN           NE         68516                  6002               Various                                                                                             $0.55
CARL WAGNER                       1105 N. WATER ST                                               SHEBOYGAN         WI         53081                  6004               Various                                                                                            $41.78
CARL WANSERSKI                    606 BURNS STREET                                               WAUSAU            WI         54401                  6004               Various                                                                                            $10.00
CARL WILLIAMSON                   9300 S REDWOOD RD APT809                                       WEST JORDAN       UT         84088                  6004               Various                                                                                            $15.00
CARL WOLFE                        70632 CORP RD 22                                               REPUBLICAN CITY   NE         68971                  6004               Various                                                                                            $16.38
CARL ZEISS MEDITEC INCORPORATE    PO BOX 100372                                                  PASADENA          CA         91189-0372             4037               Various                                                                                         $1,802.95
CARL ZEISS VISION INCORPORATED    28684 NETWORK PLACE                                            CHICAGO           IL         60673-1286             0415               Various                                                                                       $131,583.55

CARL(ANDY) STOFFERAN              3531 REDWOOD AVE BOX # 214                                     SANBORN           IA         51248                  6002               Various                                                                                                $2.66
CARLA BAKER                       18417 51ST AVE                                                 BLOOMER           WI         54724                  6004               Various                                                                                               $58.00
CARLA BUERGER                     200 SE 5TH ST                                                  ANDREWS           TX         79714                  6002               Various                                                                                                $7.51
CARLA BUSSE                       2001 HENDRICKS AVE                                             KAUKAUNA          WI         54130                  6004               Various                                                                                                $1.20
CARLA CAZARES                     210 MAIN AVE                                                   CHANDLER          MN         56122                  6002               Various                                                                                                $9.23
CARLA CONKLIN                     1108 SCHEFELKER LANE                                           STOUGHTON         WI         53589                  6004               Various                                                                                                $2.50
CARLA DOHRER                      591 N MAPLE ST APT B                                           ELLSWORTH         WI         54011                  6002               Various                                                                                                $6.03
CARLA FINKLEY                     1186 MOORELAND RD #201                                         MADISON           WI         53713                  6004               Various                                                                                               $30.00
CARLA FOUST                       2888 CLAIRVILLE ROAD                                           OSHKOSH           WI         54904                  6004               Various                                                                                                $6.00
CARLA FUA                         122 1/2 GOULD ST                                               BEAVER DAM        WI         53916                  6002               Various                                                                                                $1.48
CARLA GOLLNICK                    100 SE 1700                                                    ANDREWS           TX         79714                  6002               Various                                                                                               $10.00
CARLA GORECKI                     N437 BASS LAKE RD                                              HATLEY            WI         54440                  6002               Various                                                                                                $2.14
CARLA J CANNON                    8 PINNACLE PL                                                  SAINT CHARLES     MO         63303                  6002               Various                                                                                                $9.42
CARLA J OLSON                     5238 DRAKE CT                                                  OMRO              WI         54963                  6002               Various                                                                                                $0.60
CARLA J SERUMGARD                 804 CAMELLOT CT APT 511                                        HELENA            MT         59601                  6002               Various                                                                                                $9.21
CARLA JEAN WEGNER                 N5078 TACKMAN LN                                               SHIOCTON          WI         54170                  6002               Various                                                                                                $9.56
CARLA M KUKLA                     1517 1/2 N SUPERIOR ST                                         APPLETON          WI         54911                  6002               Various                                                                                                $7.70
CARLA MORGAN                      8159 W HILLVIEW DR                                             MEQUON            WI         53097                  6002               Various                                                                                                $8.36
CARLA PETERS                      PO BOX 1022                                                    HARRISON          AR         72602                  6002               Various                                                                                                $0.79




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CARLA ROBINSON                    15005 MASON ST                                                      OMAHA             NE         68154                6002                Various                                                                                            $10.00
CARLA RUSSELL                     675 S OAK DR                                                        SALEM             UT         84653                6002                Various                                                                                             $1.84
CARLA SMITH                       PO BOX 1367                                                         BOULDER           MT         59632                6002                Various                                                                                             $1.01
CARLA TRENTZ                      2300 S WASHINGTON AVE                                               MARSHFIELD        WI         54449                6002                Various                                                                                             $6.41
CARLA VALDEZ                      167 EVERGREEN EST                                                   ELLSWORTH         WI         54011                6002                Various                                                                                             $8.11
CARLA WARRICK                     19126 YARROW TRL                                                    BELLE FOURCHE     SD         57717                6002                Various                                                                                             $6.25
CARLA WEINERT                     2019 HEMLOCK ST                                                     WEST BEND         WI         53090                6002                Various                                                                                             $4.38
CARLEE WILKEN                     N1011 COUNTY RD DM                                                  RIO               WI         53960                6004                Various                                                                                            $25.00
CARLEEN HARTUNG                   6013 S MCKENZIE PL                                                  SIOUX FALLS       SD         57106                6002                Various                                                                                             $5.81
CARLEIGH KLIPP                    N4537 MEADOWWOOD RD                                                 ONALASKA          WI         54650                6002                Various                                                                                             $1.04
CARLENE MARKSBURY                 3510 LINDENWOOD ST                                                  SIOUX CITY        IA         51104                6002                Various                                                                                            $33.28
CARLEY LARSON                     1900 ASPEN DRIVE APT 302                                            HUDSON            WI         54016                6004                Various                                                                                             $2.00
CARLEY MERRILL                    N7457 CTY RD C                                                      CASCO             WI         54205                6002                Various                                                                                             $1.73
CARLEY PETERSON                   270 S JACKSON ST                                                    IOLA              WI         54945                6004                Various                                                                                            $25.00
CARLEY POLSTON                    910 14TH ST                                                         CENTRAL CITY      NE         68826                6004                Various                                                                                            $24.98
CARLEY YEAGER                     26265 274TH ST                                                      HOLCOMBE          WI         54745                6004                Various                                                                                            $35.00
CARLI DANLEY                      622 S BROADWAY                                                      WATERTOWN         SD         57201                6002                Various                                                                                             $4.60
CARLIN LOOMIS                     4208 125TH ST                                                       CHIPPEWA FALLS    WI         54729                6002                Various                                                                                             $7.12
CARLISLE ROOFING SYSTEMS          21485 NETWORK PLACE                                                 CHICAGO           IL         60673-1227                               Various                                                                                         $1,066.18
CARLOS DE PEREDA                  1106 E GRANT ST                                                     APPLETON          WI         54911                 6004               Various                                                                                             $3.00
CARLOS GARCIA                     608 THOMPSON AVE                                                    WORTHINGTON       MN         56187                 6004               Various                                                                                            $18.00
CARLOS GONZALEZ                   2501 FOREST DR TRLR # 192                                           PLOVER            WI         54467                 6002               Various                                                                                             $1.51
CARLOS HERNANDEZ                  318 NORTH D ST.                                                     TOPPENISH         WA         98948                 6004               Various                                                                                            $84.98
CARLOS JEREZ GONZALEZ             4980 W ODELL DR                                                     WEST VALLEY CIT   UT         84120                 6002               Various                                                                                             $1.07
CARLOS JOSE                       114 S 3RD ST W APT A                                                FORT ATKINSON     WI         53538                 6002               Various                                                                                             $0.82
CARLOS KREIBICH                   622 SUNSET LN                                                       RIVER FALLS       WI         54022                 6002               Various                                                                                             $9.64
CARLOS LOPEZ                      7607 MANITOU DRIVE                                                  TWO RIVERS        WI         54241                 6004               Various                                                                                             $1.00
CARLOS MARTINEZ                   755 N TRATT ST LOT 185                                              WHITEWATER        WI         53190                 6002               Various                                                                                             $6.44
CARLOS MIRELES                    519 10TH AVE                                                        WORTHINGTON       MN         56187                 6004               Various                                                                                            $52.51
CARLOS MORENO                     1726 CEDAR CORNERS RD                                               ALGOMA            WI         54201                 6002               Various                                                                                             $5.40
CARLOS ONETTI                     6425 BRIDGE RD. APT. 104                                            MADISON           WI         53713                 6004               Various                                                                                            $61.00
CARLOS ORTEGA                     306 LINCOLN                                                         AFTON             WY         83110                 6002               Various                                                                                             $5.42
CARLOS ORTEZ                      1103 S SUMMIT AVE LOT 136                                           NEWCASTLE         WY         82701                 6002               Various                                                                                            $10.00
CARLOS PEREZ                      857 E 2700TH S # 4                                                  SALT LAKE CITY    UT         84106                 6002               Various                                                                                             $0.77
CARLOS R MAYO HABER               917 GROVE AVE                                                       CRETE             NE         68333                 6002               Various                                                                                             $3.48
CARLOS SANTIAGO GONZAL            205 W BUTTERNUT ST                                                  ABBOTSFORD        WI         54405                 6002               Various                                                                                             $5.64
CARLOTTA SAWLE                    PO BOX 344                                                          NEWMAN GROVE      NE         68758                 6002               Various                                                                                             $0.60
CARLSON STORAGE                   C CARLSON COMPANIES             912 1ST STREET N                    HUMBOLDT          IA         50548                 9867               Various                                                                                          $125.00
                                  STEIN INDUSTRIES
CARLSON STORE FIXTURES COMPANY    INCORPORATED                    NW 7334            PO BOX 1450      MINNEAPOLIS       MN         55485-7334            3599               Various                                                                                         $9,121.43
CARLTON CRIDER                    63 W SUNSHINE RD                                                    ROUNDUP           MT         59072                 6002               Various                                                                                             $8.68
CARLTON KLEMP                     408 W GLENDALE AVE                                                  APPLETON          WI         54911                 6002               Various                                                                                             $4.99
CARLTON WEIRICH                   2028 136TH AVE H                                                    HART              MI         49420                 6002               Various                                                                                             $6.00
CARLY BRADBERRY DAHL              206 5TH AVE SW                                                      WATERTOWN         SD         57201                 6004               Various                                                                                             $8.04
CARLY BURNETT                     2073 245TH AVE                                                      MORA              MN         55051                 6002               Various                                                                                             $0.85
CARLY COONS                       1335 MARICOPA DRIVE.                                                OSHKOSH           WI         54904                 6004               Various                                                                                            $25.00
CARLY GEBERS                      841 IDAHO ST                                                        SUPERIOR          NE         68978                 6002               Various                                                                                            $26.27
CARLY JO BATEMAN                  2326 W 4400 S                                                       ROY               UT         84067                 6004               Various                                                                                            $51.00
CARLY PERKINS                     29587 380TH AVE                                                     ROSEAU            MN         56751                 6002               Various                                                                                             $1.53
CARLY PHILLIPS                    40 W SPRING DR                                                      SALEM             UT         84653                 6002               Various                                                                                             $3.48

CARLY WAHL                        813 E GLENDALE AVENUE, APT #3                                       MILWAUKEE         WI         53211                 6004               Various                                                                                             $2.39
CARLY WRZESINSKI                  1910 N WOODBRIDGE ST                                                SAGINAW           MI         48602                 6002               Various                                                                                             $7.48
CARMA LABORATORIES INCORPORATE    9750 S FRANKLIN DRIVE                                               FRANKLIN          WI         55132                 9005               Various                                                                                        $33,407.64




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CARMA SHEEHAN                     1403 3RD AVE SW                                                  ROCHESTER           MN         55902                 6004              Various                                                                                               $25.00
CARMEL ZACHARY                    65560 BAYTOWN HILLS RTOAD                                        KENTWOOD            LA         70444                 6002              Various                                                                                                $0.60

CARMELO MELGAR                    209 E 24TH STREET                                                SOUTH SIOUX FALLS   NE         68776                   6004            Various                                                                                             $5.00
CARMEN AVALOS                     220 W BOSTON AVE                                                 MONMOUTH            IL         61462                   6002            Various                                                                                             $6.66
CARMEN CARDONA                    821 FLORENCE ST                                                  FORT ATKINSON       WI         53538                   6002            Various                                                                                             $8.25
CARMEN FERNANDEZ CARBALLO         2016 WEST 10TH STREET                                            GRAND ISLAND        NE         68803                   6004            Various                                                                                             $2.00
CARMEN GOMEZ                      887 PLEASANT ST                                                  WALLA WALLA         WA         99362                   6004            Various                                                                                            $60.00
CARMEN GONZALEZ                   1153 BOUGHTON ST 22D                                             WATERTOWN           WI         53094                   6004            Various                                                                                             $4.00
CARMEN GUZMAN                     1850 OAKDALE AVE                                                 GREEN BAY           WI         54302                   6002            Various                                                                                             $5.59
CARMEN HEARD                      1220 7TH ST NE                                                   ROCHESTER           MN         55906                   6004            Various                                                                                             $3.00
CARMEN M BURTH                    36875 HEMINGWAY AVE                                              NORTH BRANCH        MN         55056                   6002            Various                                                                                             $5.73
CARMEN NELSON                     1315 GRAND AVE                                                   HARLAN              IA         51537                   6002            Various                                                                                             $8.55
CARMEN NITZSCHE                   901 14TH ST                                                      WISNER              NE         68791                   6002            Various                                                                                             $1.81
CARMEN ROSA WETZEL                423 N ASHLAND AVE                                                GREEN BAY           WI         54303                   6004            Various                                                                                             $3.00
CARMEN SIMMONDS                   518 MAIN AVE                                                     CRETE               NE         68333                   6002            Various                                                                                             $8.27
CARMEN SOSA                       327 N. MAIN STREET                                               JEFFERSON           WI         53549                   6004            Various                                                                                             $2.00
CARMEN TORRES                     319 S GREEN BAY AVE LOT 19                                       GILLETT             WI         54124                   6002            Various                                                                                             $3.64
CARMEN VALLE-RIESTRA              211 N TERRACE ST                                                 SALMON              ID         83467                   6002            Various                                                                                            $14.52
CARMEN ZENDEJAS                   4208 SOUTH 21ST STREET                                           OMAHA               NE         68107                   6004            Various                                                                                            $27.00
CARMICHAEL INTERNATIONAL SERVI    533 GLENDALE BOULEVARD                                           LOS ANGELES         CA         90026-5097              8370            Various                                                                                        $10,767.19
CARMIN BERNARD                    221 FORREST DR                                                   KALISPELL           MT         59901                   6002            Various                                                                                             $6.03
CARMINA BAGNISAL                  917 27TH AVE NE APT 215                                          ABERDEEN            SD         57401                   6004            Various                                                                                            $10.14
CARMYN STELLA                     708 FULTON ST APT 127                                            WAUSAU              WI         54403                   6002            Various                                                                                             $0.77
CAROL A CHASE                     54828 EADS RD                                                    PACIFIC JUNCTIO     IA         51561                   6002            Various                                                                                             $8.49
CAROL A COURCHAINE                403 SCHERER AVE                                                  OCONTO              WI         54153                   6002            Various                                                                                             $2.52
CAROL A KNAPP                     903 E DAY RD                                                     COEUR D'ALENE       ID         83814                   6002            Various                                                                                             $6.49
CAROL A TOLER                     764 LOGAN ST                                                     JANESVILLE          WI         53545                   6002            Various                                                                                             $0.33
CAROL ABILDSKOV                   1077 W 1200 N                                                    OREM                UT         84057                   6004            Various                                                                                             $1.00
CAROL ANDERSON                    1826 FOOTHILL AVE                                                SCHOFIELD           WI         54476                   6004            Various                                                                                            $19.00
CAROL ANN GUNDERSON               652 SUNSET DR                                                    BRIGHAM CITY        UT         84302                   6002            Various                                                                                             $9.67
CAROL ANN HOSMER                  507 W MAPLE ST                                                   SISSETON            SD         57262                   6002            Various                                                                                             $6.36
CAROL ANN NAYLOR                  13695 HIGHWAY 212                                                ALZADA              MT         59311                   6002            Various                                                                                             $4.22
CAROL ANN PUTNAM                  120 1ST ST                                                       AUBURN              WY         83111                   6002            Various                                                                                             $5.34
CAROL BARTLESON                   4 3RD ST NW APT 618                                              MASON CITY          IA         50401                   6002            Various                                                                                             $4.60
CAROL BAUCUM                      PO BOX 1462                                                      CARMEN              ID         83462                   6002            Various                                                                                             $7.48
CAROL BEGROW                      211 SE 1ST ST                                                    MARION              WI         54950                   6002            Various                                                                                             $0.96
CAROL BELLIS                      511 S MAIN ST                                                    ATKINSON            NE         68713                   6002            Various                                                                                             $2.55
CAROL BENNETT                                                                                      MOSINEE             WI         54455                   6002            Various                                                                                            $10.41
CAROL BERGSTROM                   1419 TULLAR RD APT 3                                             NEENAH              WI         54956                   6002            Various                                                                                             $2.55
CAROL BERREAU                     1038 S CRAILSHEIM RD                                             WORTHINGTON         MN         56187                   6004            Various                                                                                             $7.08
CAROL BUCKLAND                    1166 IOWA SE                                                     HURON               SD         57350                   6004            Various                                                                                            $16.00
CAROL BUEHLER                     921 MEADOW RD                                                    WAUSAU              WI         54403                   6002            Various                                                                                             $1.97
CAROL BUTLER                      3230 BONOW AVE                                                   WISCONSIN RAPID     WI         54495                   6002            Various                                                                                             $2.27
CAROL CARLSON                     3884 FROELICK RD                                                 ABRAMS              WI         54101                   6002            Various                                                                                             $7.75
CAROL CARNEY                      1500 13TH STREET                                                 CLARKSTON           WA         99403                   6004            Various                                                                                            $12.80
CAROL CHRISTENSEN                 W62 N393 HANOVER AVENUE                                          CEDARBURG           WI         53012                   6004            Various                                                                                             $2.00
CAROL CISNEROS                    763 NORTH SANDY LANE                                             ELKHORN             WI         53121                   6004            Various                                                                                             $4.79
CAROL CLARK                       210 WEST BROADWAY            APT 211                             MADISON             WI         53713                   6004            Various                                                                                            $30.00
CAROL CODERE                      1502 FRONT ST                                                    LAKE LINDEN         MI         49945                   6002            Various                                                                                             $4.47
CAROL CODREY                      436 MARGRETTHE RD                                                KALISPELL           MT         59901                   6002            Various                                                                                             $0.63
CAROL COLE                        P.O. BOX 262                                                     POYNETTE            WI         53955                   6004            Various                                                                                             $5.40
CAROL COURTNEY                    BOX 127                                                          RUTHTON             MN         56170                   6004            Various                                                                                            $73.44
CAROL CRAIG                       110 W ROCK RIVER ST                                              THERESA             WI         53091                   6002            Various                                                                                             $0.63




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                                                                                                                                                     Account         Incurred, Basis for
              Creditor Name                Address1            Address2          Address3             City         State           Zip   Country     Number                Claim                                                                             Total Claim
CAROL CRAWFORD                 9155 LAKESHORE DR                                              PLEASANT PRAIRI   WI         53158                 6002                Various                                                                                                $1.73
CAROL CROGHAN                  639 N G ST                                                     BROKEN BOW        NE         68822                 6002                Various                                                                                                $6.88
CAROL CROSS                    640 S MARKET ST                                                MOOREFIELD        NE         69039                 6002                Various                                                                                                $4.19
CAROL DAUSS                    W71 N905 HARRISON CT                                           CEDARBURG         WI         53012                 6002                Various                                                                                                $0.66
CAROL DERUYTER                 3912 E 20TH ST                                                 SIOUX FALLS       SD         57103                 6002                Various                                                                                                $7.95
CAROL DETHURY                  1813 S GLENDALE AVE                                            SIOUX FALLS       SD         57105                 6002                Various                                                                                                $8.60
CAROL DOWNIE                   W2355 NORTHSIDE DR                                             WATERTOWN         WI         53094                 6004                Various                                                                                                $5.70
CAROL E MOTZ                   23010 PARTRIDGE DR                                             FERGUS FALLS      MN         56537                 6002                Various                                                                                                $5.95
CAROL EVINS                    1515 E MONTANA AVE                                             COEUR D ALENE     ID         83814                 6002                Various                                                                                                $2.33
CAROL GEISLER                  6027 43RD AVE                                                  KENOSHA           WI         53142                 6002                Various                                                                                                $0.52
CAROL GERNANT                  575 HWY 20 PMB S                                               GREYBULL          WY         82426                 6002                Various                                                                                                $3.61
CAROL GOETHE                   4709 SOUTH 14TH STREET                                         OMAHA             NE         68107                 6004                Various                                                                                               $15.10
                               W239 N5384 NORTH VIEW
CAROL GORTMAKER VONN           COURT                                                          SUSSEX            WI         53089                  6004               Various                                                                                            $82.00
CAROL GOULD                    2209 2ND AVENUE                                                GREAT FALLS       MT         59404                  6002               Various                                                                                            $20.82
CAROL HACKNER                  N 6930 GAYNOR DR                                               HOLMEN            WI         54636                  6002               Various                                                                                             $0.77
CAROL HAIDER                   1125 3RD AVE NW                                                WATERTOWN         SD         57201                  6004               Various                                                                                            $55.20
CAROL HANSEN                   2007 HILLCREST DRIVE                                           DELAVAN           WI         53115                  6004               Various                                                                                            $38.78
CAROL HEITLAND                 735 N 7TH ST                                                   FOREST CITY       IA         50436                  6002               Various                                                                                             $3.62
CAROL HUNTER                   269 E 800TH N                                                  SPANISH FORK      UT         84660                  6002               Various                                                                                             $3.62
CAROL J MOEHRING               N64W24480 MAIN ST APT 7                                        SUSSEX            WI         53089                  6002               Various                                                                                             $1.59
CAROL J WILSON                 1608 WESTFIELD AVE                                             GREEN BAY         WI         54303                  6002               Various                                                                                             $5.64
CAROL JACQUES                  6954 RHYNER RD                                                 NEENAH            WI         54956                  6002               Various                                                                                             $3.73
CAROL K JACOBSON               N65W22201 ST JAMES PKWY #                                      SUSSEX            WI         53089                  6002               Various                                                                                             $9.81
CAROL KEAIRNES                 2007 TWIN RIDGE DR                                             BELLEVUE          NE         68005                  6002               Various                                                                                             $0.68
CAROL KELLERMAN                615 W SMITH AVE                                                OSHKOSH           WI         54901                  6002               Various                                                                                             $5.86
CAROL KONITZER                 6615 COUNTY D                                                  ABRAMS            WI         54101                  6002               Various                                                                                             $4.16
CAROL KOSTKA                   1920 FLORIDA ST                                                STURGEON BAY      WI         54235                  6002               Various                                                                                             $3.26
CAROL LAMB                     W3839 LITTLE PRAIRIE RD                                        EAST TROY         WI         53120                  6002               Various                                                                                             $6.79
CAROL LEWIN                    BOX 541                                                        SHOSHONE          ID         83352                  6002               Various                                                                                             $2.30
CAROL LITCHFIELD               1415 LOGAN AVE                                                 MARINETTE         WI         54143                  6002               Various                                                                                             $8.68
CAROL LUCEI                    PO BOX 63                                                      WAPATO            WA         98951                  6004               Various                                                                                          $188.07
CAROL MAXWELL                  2021 RIGGS RD                                                  LAKEPORT          CA         95453                  5591               Various                                                                                         $4,125.00
CAROL MCBRIDE                  271 DRAVO AVE                                                  BEAVER            PA         15009                  6002               Various                                                                                             $8.30
CAROL MCCOY                    7301 Q ST # 226                                                OMAHA             NE         68127                  6004               Various                                                                                            $70.00
CAROL MILLER                   319 POKAGON ST                                                 DOWAGIAC          MI         49047                  6002               Various                                                                                             $6.49
CAROL NICKERSON                8114 WEBER PLZ                                                 OMAHA             NE         68122                  6002               Various                                                                                             $1.42
CAROL OESTREICH                175 FAIRWAY DR                                                 CLINTONVILLE      WI         54929                  6002               Various                                                                                             $6.60
                                                           1105 CHAPEL HILL
CAROL OETTINGER                C/O TERRY OETTINGER         CIRCLE                             GREEN BAY         WI         54313                  6002               Various                                                                                             $0.50
CAROL OLSEN                    575 ROAD 11                                                    POWELL            WY         82435                  6002               Various                                                                                             $4.68
CAROL OLSON                    37748 240TH ST                                                 ROSEAU            MN         56751                  6002               Various                                                                                             $6.19
CAROL ORTGIESEN                841 RIVERSIDE DR                                               DIXON             IL         61021                  6002               Various                                                                                             $7.95
CAROL OSBORNE                  514 N MACOMB ST                                                VALENTINE         NE         69201                  6002               Various                                                                                             $4.11
CAROL PAULSEN                  13137 OHMAN RD                                                 SKANEE            MI         49962                  6002               Various                                                                                             $1.63
CAROL PERSONS                  23029 COUNTY ROAD 39                                           SAINT CHARLES     MN         55972                  6002               Various                                                                                             $6.96
CAROL PETERSON                 1212 BURRELL AVE.                                              LEWISTON          ID         83501                  6004               Various                                                                                           $150.00
CAROL PLUMMER                  BOX 836                                                        LYMAN             WY         82937                  6002               Various                                                                                             $7.92
CAROL PRATT                    6390 E CARRIGAN DR                                             NEWAYGO           MI         49337                  6002               Various                                                                                             $9.67
CAROL RENEE MASTRONARDI        24407 E DALKE                                                  OTIS ORCHARDS     WA         99027                  6004               Various                                                                                             $1.50
CAROL RUSSELL                  321 MARION STREET                                              JACKSONVILLE      IL         62650                  6002               Various                                                                                             $4.16
CAROL SALINAS                  905 FOUR SEASONS DR                                            LANDER            WY         82520                  6002               Various                                                                                             $7.95
CAROL SMITH                    361 S FAIRFIELD AVE                                            JUNEAU            WI         53039                  6004               Various                                                                                            $24.14
CAROL SPIES                    2920 Y AVE                                                     MANILLA           IA         51454                  6002               Various                                                                                             $1.53




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CAROL STOLTENBERG                 5912 N 92ND AVE                                                    OMAHA           NE         68134                 6002                Various                                                                                             $7.42
CAROL VALENTI                     1843 HEIKKALA DR                                                   MARQUETTE       MI         49855                 6002                Various                                                                                             $3.18
CAROL VOGEL                       201 S 4TH ST W                                                     FORT ATKINSON   WI         53538                 6002                Various                                                                                             $7.53
CAROL WADE                        8786 VANDERSTEL DR                                                 NEWAYGO         MI         49337                 6002                Various                                                                                             $1.70
CAROL WEST                        1114 N. UNION STREET                                               APPLETON        WI         54911                 6004                Various                                                                                             $8.95
CAROL WHITTLE                     7622 SPEAR DR                                                      SHEPHERD        MT         59079                 6002                Various                                                                                             $7.92
CAROL WINKELMAN                   1314 6TH ST N                                                      ST CLOUD        MN         56303                 6004                Various                                                                                             $3.00
CAROL YOUNGBERG                   2010 OAKBROOK DR                                                   BELVIDERE       IL         61008                 6002                Various                                                                                             $4.77
CAROLE ACCESSORIES INCORPORATE    1607 S GRAND AVE                                                   LOS ANGELES     CA         90015                 5438                Various                                                                                        $37,092.99
CAROLE BAKKE                      610 E 8TH ST                                                       DULUTH          MN         55805                 6002                Various                                                                                            $20.00
CAROLE BOSSERT                    1437 TALL GRASS                                                    HUDSON          WI         54016                 6002                Various                                                                                             $0.60
CAROLE BURSELL                    2085 70TH ST                                                       FAIRMONT        MN         56031                 6002                Various                                                                                             $0.60
CAROLE CHRISTIANSEN               298 N 850TH W                                                      OREM            UT         84057                 6002                Various                                                                                             $7.48
CAROLE HASTIE                     24224 PATHFIELD RD                                                 GLENWOOD        IA         51534                 6002                Various                                                                                             $8.33
CAROLE HOFFMAN                    BOX 107 706 2ND ST                                                 AUDUBON         IA         50025                 6002                Various                                                                                             $7.18
CAROLE ROWE                       1110 E DOEGE ST                                                    MARSHFIELD      WI         54449                 6002                Various                                                                                            $17.40
CAROLE STEFFEN                    3950 JEFFERSON ST                                                  SIOUX CITY      IA         51108                 6002                Various                                                                                             $9.10
CAROLE TYERS                      145 N EAGLE                    APT 364                             OSHKOSH         WI         54902                 6004                Various                                                                                             $5.00
CAROLE WILLIAMS                   23540 WARBLER AVE                                                  PLYMOUTH        IA         50464                 6002                Various                                                                                             $2.66
CAROLINA AGUILERA-PEREZ           721 SOUTH B ST                                                     MONMOUTH        IL         61462                 6004                Various                                                                                            $23.00
CAROLINA FELDMANN                 12432 BURT PLZ APT 10                                              OMAHA           NE         68154                 6002                Various                                                                                             $5.18
                                                                 2240 TUCKER
CAROLINA HOSIERY                  VICE PRESIDENT OF SALES        STREET            PO BOX 850        BURLINGTON      NC         27215                  3668               Various                                                                                       $184,072.98
CAROLINA OCAMPO                   933 E MAYFIELD DR                                                  APPLETON        WI         54911                  6002               Various                                                                                             $3.12
CAROLINA PAD                      C P P INTERNATIONAL LLC        PO BOX 60806                        CHARLOTTE       NC         28260-0860             6238               Various                                                                                          $555.67
CAROLINA PEREZ                    475 12TH RD                                                        WEST POINT      NE         68788                  6002               Various                                                                                             $8.44
CAROLINA PET COMPANY LLC (C-HU    90 OLD SCHOOL RD                                                   PROSPERITY      SC         29127                  2812               Various                                                                                          $954.43
CAROLINA TORRES                   946 FONTELLE ST                                                    LINCOLN         NE         68503                  6004               Various                                                                                            $23.00
CAROLINE ABRAHAM                  523 4TH ST N                                                       BROWNS VALLEY   MN         56219                  6002               Various                                                                                             $1.18
CAROLINE BALL                     3427 18TH STREET                                                   LEWISTON        ID         83501                  6004               Various                                                                                            $10.00
CAROLINE CARPIAUX                 174 VIEW POINT RD                                                  GREEN BAY       WI         54303                  6002               Various                                                                                             $1.51
CAROLINE CARRIERA                 39 W 300TH N                                                       TREMONTON       UT         84302                  6002               Various                                                                                             $0.77
CAROLINE CHUDY                    100 RAYMBAULT DR                                                   MARQUETTE       MI         49855                  6002               Various                                                                                            $10.00
CAROLINE DIAMOND                  11784 GRAY ST BOX # 374                                            TREMPEALEAU     WI         54661                  6002               Various                                                                                             $9.89
CAROLINE GLEASON MANAGEMENT LL    690 LINCOLN ROAD SUITE 301                                         MIAMI BEACH     FL         33139                  5927               Various                                                                                         $3,300.00
CAROLINE HAAS                     106 N SECTION LINE ST                                              HOWARD          SD         57349                  6004               Various                                                                                            $10.00

CAROLINE HOBBS                    10018 BRAKEWATER BLVD APT. D                                       BELLEVUE        NE         68123                  6004               Various                                                                                             $4.00
CAROLINE IVACKO                   W745 SUNNYSIDE RD                                                  GREEN LAKE      WI         54941                  6004               Various                                                                                            $10.00
CAROLINE L MAROSI                 2237 W OCONNELL AVE                                                RATHDRUM        ID         83858                  6002               Various                                                                                             $6.36
CAROLINE M GROSS                  PO BOX 86                                                          PULASKI         WI         54162                  6002               Various                                                                                             $3.32
CAROLINE SMITH                    490 CLERMONT DR                                                    RICHLAND        WA         99352                  6004               Various                                                                                            $23.00
CAROLL BRITT                      1527 E IOANIA ST                                                   MERIDIAN        ID         83642                  6004               Various                                                                                           $121.06
CAROLL CONTRYMAN                  NH SOUTH HALL                                                      WHEATLAND       WY         82201                  6002               Various                                                                                             $1.70
CAROLLYNN MONTES-DEOCA            73751 190TH ST                                                     DASSEL          MN         55325                  6002               Various                                                                                             $3.73
CAROLYN B GORDON                  26423 COLE TRACE LN                                                KATY            TX         77494                  6002               Various                                                                                             $8.90
CAROLYN BEBO                      2989 HOLMGREN WAY APT 8                                            GREEN BAY       WI         54304                  6002               Various                                                                                             $7.18
CAROLYN BEDDINGFIELD              #8 WINDRUSH                                                        JACKSONVILLE    IL         62650                  6002               Various                                                                                             $6.30
CAROLYN CHERRY                    26900 E PINK HILL RD                                               INDEPENDENCE    MO         64057                  6002               Various                                                                                             $7.73
CAROLYN COSTANTINO                3260 SHERWOOD DR                                                   BELLEVUE        NE         68147                  6004               Various                                                                                            $10.58
CAROLYN CRANE                     10861 S 1300TH W                                                   SOUTH JORDAN    UT         84065                  6002               Various                                                                                             $0.30
CAROLYN DIEM                      14801 CTY HWY X                                                    KIEL            WI         53042                  6002               Various                                                                                             $6.14
CAROLYN DOCKERY                   305 N ROWLEY ST                                                    MITCHELL        SD         57301                  6002               Various                                                                                             $6.41
CAROLYN ERDMANN                   3105 E 33RD ST                                                     SIOUX FALLS     SD         57103                  6002               Various                                                                                             $2.03




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                                                                                                                                            Account         Incurred, Basis for
             Creditor Name                Address1       Address2        Address3              City        State         Zip    Country     Number                Claim                                                                             Total Claim
CAROLYN FOUNTAIN              4120 SOUTH 19TH ST                                      OMAHA             NE         68110                6004                Various                                                                                            $17.00
CAROLYN GOLDBECK              1720 HOLLEY ST                                          HOLMEN            WI         54636                6002                Various                                                                                             $8.27
CAROLYN HAGEN                 4401 S COUNTY H                                         ORFORDVILLE       WI         53576                6002                Various                                                                                             $0.60
CAROLYN KRAMLICH              PO BOX 203                                              KAKE              AK         99830                6004                Various                                                                                            $75.00
CAROLYN KROMER                3521 PRAIRIE ROAD                                       BELVIDERE         IL         61008                6004                Various                                                                                             $7.00
CAROLYN LEE LAILER            917 N BRIARCLIFF DR                                     APPLETON          WI         54915                6002                Various                                                                                             $1.18
CAROLYN M BAUGHMAN            411 E CRESTVIEW CIR                                     BLOOMFIELD        IA         52537                6002                Various                                                                                             $1.04
CAROLYN MACFARLANE            1572 E HARVARD AVE                                      SALT LAKE CITY    UT         84105                6002                Various                                                                                             $7.04
CAROLYN NULL                  5926 ALBURG AVE                                         RACINE            WI         53406                6002                Various                                                                                             $7.12
CAROLYN PAULE                 2395 PITCHER CANYON ROAD                                WENATCHEE         WA         98801                6004                Various                                                                                            $15.01
CAROLYN PRICE                 2018 S 25TH RD                                          CORTLAND          NE         68331                6004                Various                                                                                            $40.53
CAROLYN SAUDER                1128 BURRELL AVE APT 8                                  LEWISTON          ID         83501                6002                Various                                                                                             $1.15
CAROLYN SCHMIDT               8922 MORGAN RD                                          ALMOND            WI         54909                6002                Various                                                                                            $10.00
CAROLYN SCHUSTER              1735 TRENT CR                                           GREEN BAY         WI         54313                6004                Various                                                                                            $10.00
CAROLYN SETTERSTEN            5228 ATHENS AVENUE                                      RACINE            WI         53406                6004                Various                                                                                            $15.00
CAROLYN SMUCK                 627 S MONROE CT                                         MASON CITY        IA         50401                6002                Various                                                                                             $2.05
CAROLYN STEWART               805 IDA ST                                              MENASHA           WI         54952                6004                Various                                                                                             $2.00
CAROLYN THESING               811 BIRCH ST                                            LA CRESCENT       MN         55947                6002                Various                                                                                             $6.41
CAROLYN WHEATON               6206 S SMITH LANE                                       SPOKANE           WA         99223                6004                Various                                                                                            $54.84
CAROLYN WORLEY                HC 73 BOX 1980                                          FAIRDEALING       MO         63939                6002                Various                                                                                             $3.42
CAROLYNE SCOUTT               15 E WENTWORTH ST                                       NEWCASTLE         WY         82701                6002                Various                                                                                             $8.79
CAROLYNNE QUIGLEY             19050 66TH AVE                                          CHIPPEWA FALLS    WI         54729                6002                Various                                                                                             $0.44
CARPENTER COMPANY             PO BOX 75252                                            CHARLOTTE         NC         28275-0252           7418                Various                                                                                        $82,670.43
CARRALEE THOMPSON             718 S 31ST ST                                           BILLINGS          MT         59101                6004                Various                                                                                            $17.00
CARRI SUE FORSGREN            4555 ORCHARD AVE                                        OGDEN             UT         84403                6002                Various                                                                                             $2.55
CARRIE BELL                   207 FAIRMONT ST                                         SALMON            ID         83467                6002                Various                                                                                             $9.62
CARRIE BROESDER               1205 MCDONALD AVE UNITD                                 MISSOULA          MT         59801                6002                Various                                                                                             $8.74
CARRIE BROUILLETTE            600 ROSEHILL RD                                         KAUKAUNA          WI         54130                6002                Various                                                                                             $2.74
CARRIE ENGA                   610 KENDALL ST                                          MARSHALL          MN         56258                6004                Various                                                                                             $3.00
CARRIE FISCHER                105 S 5TH ST                                            WINNECONNE        WI         54986                6002                Various                                                                                             $2.08
CARRIE FLETCHER               N5078 TACKMAN LN                                        SHIOCTON          WI         54170                6004                Various                                                                                             $2.97
CARRIE GERTSEMA               918 38TH ST SW                                          WATERTOWN         SD         57201                6002                Various                                                                                             $1.70
CARRIE GHENT                  1241 MISSISSIPPI ST                                     LA CROSSE         WI         54601                6002                Various                                                                                             $0.41
CARRIE HANZEK                 946 EVANS STREET                                        NEENAH            WI         54956                6004                Various                                                                                            $10.00
CARRIE HELMS                  815 CLEMNT STREET                                       WORTHINGTON       MN         56187                6004                Various                                                                                             $1.22
CARRIE HILL                   49089 COAL DOCK RD                                      HANCOCK           MI         49930                6002                Various                                                                                             $1.84
CARRIE KIES                   5136 ST RD 150                                          LARSEN            WI         54947                6004                Various                                                                                            $15.00
CARRIE KLAWITTER              701 S MOUNTIN DR                                        MAYVILLE          WI         53050                6002                Various                                                                                             $2.49
CARRIE KLUNA                  1900 E ST APT 4                                         LINCOLN           NE         68510                6002                Various                                                                                             $1.97
CARRIE KUEHL-WEISSER          303 E LOCUST DRIVE                                      WEST BEND         WI         53095                6004                Various                                                                                             $5.00
CARRIE LARSEN                 7542 OAK HILLS DR                                       ALMOND            WI         54909                6004                Various                                                                                             $3.84
CARRIE LEFEVRE                PO BOX 135                                              GROVER            WY         83122                6002                Various                                                                                             $8.05
CARRIE M SCHUH                497 E DALE ST                                           BROWNTOWN         WI         53522                6002                Various                                                                                             $8.08

CARRIE MACHA                  417 E NORPORT DR                                        PORT WASHINGTON   WI         53074                 6002               Various                                                                                                $7.59
CARRIE MAZZARISI              1308 KRIEDEMAN DRIVE                                    STOUGHTON         WI         53589                 6004               Various                                                                                               $16.88
CARRIE MCCOY                  1046 GALVESTON AVE APT 4                                HOT SPRINGS       SD         57747                 6002               Various                                                                                                $8.27
CARRIE OLSON                  6200 RAELENE COURT                                      MISSOULA          MT         59803                 6004               Various                                                                                               $60.50
CARRIE PESONEN                1024 ROCK CRUSH ROAD                                    CRYSTAL FALLS     MI         49920                 6004               Various                                                                                               $35.20
CARRIE PHELPS                 407 HAZEL HURST DR SE                                   TUMWATER          WA         98501                 6004               Various                                                                                                $9.97
CARRIE PORTER                 334 1/2 N 300TH E # 1                                   LOGAN             UT         84321                 6002               Various                                                                                                $8.11
CARRIE SCHMIDT                123 W MCKINLEY                                          OWATONNA          MN         55060                 6004               Various                                                                                               $40.00
CARRIE SCHWAB                 203 1ST AVE                                             AUDUBON           IA         50025                 6002               Various                                                                                                $8.03
CARRIE SHEAR-HENSLEY          309 10TH ST N                                           GREAT FALLS       MT         59401                 6002               Various                                                                                                $5.78




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                                                                                                                                                                                                 Contingent


                                                                                                                                                                                                                             Disputed
                                                                                                                                                        Last 4 Digits of     Date Debt was
                                                                                                                                                           Account         Incurred, Basis for
              Creditor Name                  Address1              Address2         Address3            City             State           Zip   Country     Number                Claim                                                                             Total Claim
CARRIE SINNER                     2119 W 12TH                                                    HASTINGS           NE           68901                 6004                Various                                                                                               $10.00
CARRIE STECKEL                    3238 PRINGLE RD                                                SALEM              OR           97302                 6004                Various                                                                                                $5.00
CARRIE STELLA                     1630 S HURON RD                                                GREEN BAY          WI           54311                 6002                Various                                                                                                $4.00
CARRIE STONER                     2604-11TH STREET                                               KENOSHA            WI           53140                 6004                Various                                                                                               $10.00
CARRIE T OLSON                    4620 BROOKSIDE RD                                              ABRAMS             WI           54101                 6002                Various                                                                                                $3.73

CARRIE TATE                       512 SUNRISE DR                                                 PORT WASHINGTON    WI           53074                  6002               Various                                                                                             $7.75
CARRIE WALBRUN                    829 ZEMLOCK AVE                                                NEENAH             WI           54956                  6004               Various                                                                                             $3.00
CARRIE WALTERS                    1122 S 13TH STREET                                             MANITOWOC          WI           54220                  6004               Various                                                                                            $10.00
CARRIE WENDT                      3550 N. MASON                                                  APPLETON           WI           54914                  6004               Various                                                                                             $2.79
CARROLL ELECTRIC                  4209 COMMERCIAL DRIVE                                          JANESVILLE         WI           53545                                     Various                                                                                         $1,724.45
CARROLL FAMILY                    PO BOX 171                                                     HUBBELL            MI           49934                  6002               Various                                                                                             $8.33
                                                                                                                                                                           11/11/2018 -
CARROLLTON MUNICIPAL UTILITIES    P.O. BOX 460                                                   CARROLLTON         MO           64633                  Jul-00             12/10/2018                                                                                      $3,114.02
CARRY BANKEY                      47 GARDEN TER                                                  GLASGOW            MT           59230                  6002               Various                                                                                             $2.33
CARSON FLAGET                     211 STONEYBROOKE LN                                            WENATCHEE          WA           98801                  6004               Various                                                                                            $30.00
CARSON GOSSEN                     3000 S HURON RD                                                GREEN BAY          WI           54311                  6002               Various                                                                                             $3.45
CARSON REVOLINSKI                 1088 CORMIER RD                                                GREEN BAY          WI           54304                  6004               Various                                                                                             $4.50
CARSON SCHABOT                    PO BOX 904                                                     UPTON              WY           82730                  6002               Various                                                                                             $1.95
CARTAVIUS MCKINNEY                825 W SILVER LAKE DR NE                                        ROCHESTER          MN           55906                  6002               Various                                                                                             $9.07
CARTER A FREITAG                  7332 SOD RD                                                    BROOK PARK         MN           55007                  6002               Various                                                                                             $3.48

CARTER AUSTIN                     7011 BLUE JAY DRIVE                                            WISCONSIN RAPIDS   WI           54494                  6004               Various                                                                                            $10.00
CARTER DARY                       2704 MILITARY RD APT 15                                        CROSS PLAINS       WI           53528                  6002               Various                                                                                             $1.73
CARTER FORD                       380 THOMAS RD SW                                               SOUTH BOARDMAN     MI           49680                  6002               Various                                                                                             $1.32
CARTER GUTHARD TRANT              18018 EDNA ST                                                  OMAHA              NE           68136                  6002               Various                                                                                             $5.75
CARTER JOHN DENCH                 3125 N DORIS LN                                                APPLETON           WI           54911                  6002               Various                                                                                             $5.04
CARTER LEMONS                     2644 SENECA CT                                                 GREEN BAY          WI           54313                  6004               Various                                                                                            $20.00
CARTER M KRUEGER                  405 W 17TH ST                                                  NEILLSVILLE        WI           54456                  6002               Various                                                                                             $7.84
CARTER MORROW                     501 CROOK AVE APT #4                                           CURTIS             NE           69025                  6004               Various                                                                                            $10.00
CARTER RYAN                       968 N JEFFERSON AVE                                            OGDEN              UT           84404                  6002               Various                                                                                             $3.84
CARTER WOODY                      1017 E. PARK RIDGE AV                                          APPLETON           WI           54911                  6004               Various                                                                                             $1.00
CARY BINSFELD                     6346 CTY RD KB                                                 DENMARK            WI           54208                  6002               Various                                                                                             $1.04
CARY CRAWFORD                     1324 W 15TH ST                                                 SIOUX FALLS        SD           57104                  6004               Various                                                                                            $25.00
CARY HAMLIN                       627 NE ROCKY CREEK DR # 14                                     ROCHESTER          MN           55906                  6002               Various                                                                                             $5.23
CARY HEAVERLOW                    2805 NELSON RD                                                 YAKIMA             WA           98903                  6004               Various                                                                                            $14.99
CARY SHERWOOD                     368 W BARTON ST                                                NEWAYGO            MI           49337                  6002               Various                                                                                             $4.33
CARY WAUBANASCUM                  1008 SQUARE TERRACE                                            GREEN BAY          WI           54313                  6004               Various                                                                                            $26.92
CARYL MOBLEY                      10560 M-26                                                     EAGLE HARBOR       MI           49950                  6002               Various                                                                                             $0.44
CARYN COVINGTON                   860 E 9600TH S                                                 SALEM              UT           84653                  6002               Various                                                                                             $5.04
CARYN DOYLE                       1250 S HALSTED 375A                                            CHICAGO            IL           60607                  6004               Various                                                                                             $1.80
CARYN HETLAND                     1101 WINDCHESTER             APT 9                             MARSHALL           MN           56258                  6004               Various                                                                                             $3.00
CARYN SCHULZ-PASSELL              524 LINCOLN AVE                                                EAU CLAIRE         WI           54701                  6002               Various                                                                                             $6.14
CAS                               PO BOX 3070                                                    BELLINGHAM         WA           98227                  6004               Various                                                                                           $363.19
                                                               155 BAY RIDGE
CASA INNOVATIONS GROUP LLC        ATTN ACCOUNTING              AVENUE                            BROOKLYN           NY           11220                  7279               Various                                                                                        $21,342.40
CASANDRA HODEL                    5222 165TH AVE                                                 BECKER             MN           55308                  6004               Various                                                                                            $66.00
                                                               4001 PACKARD
CASCADE TISSUE GROUP              VICE PRESIDENT OF SALES      ROAD                              NIAGARA FALLS      NY           14303                  2988               Various                                                                                        $52,069.95
CASEN GROSSEN                     326W W MENOMONIE ST                                            BELVIDERE          IL           61008                  6002               Various                                                                                             $3.29
CASEY A MEURER                    805 20TH ST NE                                                 BYRON              MN           55920                  6002               Various                                                                                             $4.19
CASEY BERGET                      1293 STATE RD 11                                               SOUTH WAYNE        WI           53587                  6004               Various                                                                                            $25.00
CASEY BLOHM                       W3263 KORTNEY LN                                               SEYMOUR            WI           54165                  6002               Various                                                                                             $7.56
CASEY CALL                        7 CORTE ABEJA BOX # 61                                         SAN CLEMENTE       CA           92673                  6002               Various                                                                                             $5.42




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                                                                                                                                                     Account         Incurred, Basis for
              Creditor Name                 Address1            Address2          Address3             City         State         Zip    Country     Number                Claim                                                                             Total Claim
CASEY DIRKSEN                   202 WEST RIVER STREET                                          ROCK FALLS        IA         50467                6004                Various                                                                                            $15.00
CASEY EVANS                     1010 GLADE VIEW CT.                                            SAINT CLOUD       MN         56303                6004                Various                                                                                             $5.02
CASEY HANSEN                    711 SCHILLING                                                  MISSOULA          MT         59801                6004                Various                                                                                             $4.00
CASEY HOYER                     29394 N CARIBOU AVE                                            ATHOL             ID         83801                6002                Various                                                                                             $5.92
CASEY HUNT                      800 URBAN ST                                                   ROTHSCHILD        WI         54474                6004                Various                                                                                            $15.00
CASEY HURNER                    527 DONNER PASS                                                WAYNE             NE         68787                6002                Various                                                                                             $0.58
CASEY INCE                      1782 FORDEM AVE            APT 103                             MADISON           WI         54704                6004                Various                                                                                            $25.00
CASEY J SMITH                   121 N SUMNER AVE                                               NEWCASTLE         WY         82701                6002                Various                                                                                             $1.92
CASEY JACKMAN                   2660 LONE PINE DR.                                             IDAHO FALLS       ID         83404                6004                Various                                                                                             $5.02
CASEY JURCO                     920 1/2 E ELDERADO ST                                          APPLETON          WI         54911                6002                Various                                                                                             $4.41
CASEY KAUFMAN                   580 BROWN ST SW                                                HUTCHINSON        MN         55350                6002                Various                                                                                             $8.05
CASEY LAFFIN                    6111 THOMAS AVE                                                SCHOFIELD         WI         54476                6004                Various                                                                                             $5.00
CASEY MARIE ALDERSON            1488 12TH ST APT 8                                             IDAHO FALLS       ID         83404                6002                Various                                                                                             $7.26
CASEY MCCORMICK                 50 W DIVISION ST                                               AMBOY             IL         61310                6002                Various                                                                                             $7.75
CASEY MEILAHN                   650 JEFFERSON ST                                               OSHKOSH           WI         54901                6004                Various                                                                                            $50.00
CASEY MUECKE                    29661 K49                                                      HINTON            IA         51024                6004                Various                                                                                            $31.50
CASEY PARK                      644 LA SALLE DR                                                SALT LAKE CITY    UT         84123                6002                Various                                                                                             $7.86
CASEY PARR                      53 TROUT CREEK RD                                              REPUBLIC          WA         99166                6004                Various                                                                                            $20.00
CASEY QUAALE                    PO BOX 501                                                     NEWMAN LAKE       WA         99025                6004                Various                                                                                            $12.05
CASEY RIESBERG                  6404 SHIRLEY ST.                                               OMAHA             NE         68106                6004                Various                                                                                            $22.98
CASEY RODABAUGH                 434 E HUGUS ST                                                 RAWLINS           WY         82301                6002                Various                                                                                             $7.26
CASEY SCHWEITZER                N1560 HWY H H                                                  LYNDON STATION    WI         53944                6004                Various                                                                                            $35.00
CASEY SEYMOUR                   914 W HARRIS STREET                                            APPLETON          WI         54914                6004                Various                                                                                           $108.00
CASEY STEFFENSMEIER             321 N HARRIS ST                                                WILBER            NE         68465                6002                Various                                                                                             $5.42
CASEY WATSON                    4647 S SOLANO CIR                                              WEST VALLEY CIT   UT         84120                6002                Various                                                                                             $9.10
CASEY WEBER                     840 SECURITY DR                                                OSHKOSH           WI         54903                6002                Various                                                                                             $8.66
CASEY WILLIAMS                  18418 120TH ST                                                 BRISTOL           WI         53104                6004                Various                                                                                            $30.00
CASEYS GENERAL STORE            110 N CLAY                                                     MEMPHIS           MO         63555                1049                Various                                                                                           $100.00
CASEYS PIZZA                    222 CENTRAL AVENUE W                                           CLARION           IA         50525                6888                Various                                                                                            $38.48
CASH WA DISTRIBUTING COMPANY    PO BOX 309                                                     KEARNY            NE         68848-0309           4002                Various                                                                                           $160.38
CASH WISE FOODS                 1020 HWY 15                                                    HUTCHINSON        MN         55350                3121                Various                                                                                            $85.69

CASHCO DISTRIBUTOR              6430 NE COLUMBIA BOULEVARD                                     PORTLAND          OR         97218                 2566               Various                                                                                       $226,382.26
CASIE MCDONALD                  325 SOO MARIE AVE          #6                                  STEVENS POINT     WI         54481                 6004               Various                                                                                             $9.00
CASIMIR CZEKAJLO                7329 W EDGEWOOD RD                                             DIXON             IL         61021                 6002               Various                                                                                             $0.58
CASIMIR SLIWA                   W10578 HICKORY PT RD                                           BEAVER DAM        WI         53916                 6002               Various                                                                                             $3.26
CASIMIRO WEDELL                 643 S EVERGREEN ST                                             WAUTOMA           WI         54982                 6002               Various                                                                                             $3.53
CASIO AMERICA INCORPORATED      PO BOX 643601                                                  PITTSBURGH        PA         15264-3601            4100               Various                                                                                        $21,407.84
CASS INFORMATION SYSTEMS        13001 HOLLENBERG DR                                            BRIDGETON         MO         63044                 5699               Various                                                                                       $158,112.84
CASS SHIMANEK                   2005 29TH ST                                                   TWO RIVERS        WI         54241                 6004               Various                                                                                            $32.00
CASSANDRA BEHRENDT              1226 E 3RD ST                                                  DULUTH            MN         55805                 6004               Various                                                                                             $9.00
CASSANDRA BLAJOS                211 HASTINGS WAY SW                                            POPLAR GROVE      IL         61065                 6004               Various                                                                                             $3.90
CASSANDRA BOOTH                 665 E 300TH S                                                  HYRUM             UT         84319                 6002               Various                                                                                             $9.10
CASSANDRA BOYD                  202 E GROVE ST                                                 CHASE             KS         67524                 6002               Various                                                                                             $2.58
CASSANDRA BUSHKIE               1407 BINGHAM DR                                                DE PERE           WI         54115                 6002               Various                                                                                             $0.27
CASSANDRA C MADDEN              710 N 21ST ST APT 1                                            COEUR D ALENE     ID         83814                 6002               Various                                                                                             $8.85
CASSANDRA CAPEK                 1153 BOUGHTON ST APT 11H                                       WATERTOWN         WI         53098                 6004               Various                                                                                             $4.50
CASSANDRA CHRISTNOT             831 S ROOSEVELT ST                                             GREEN BAY         WI         54301                 6002               Various                                                                                             $1.89
CASSANDRA CLEMENT               3434 SPEED SKATE CR                                            WEST JORDAN       UT         84084                 6002               Various                                                                                             $6.71
CASSANDRA COOK                  201 13TH AVE NE                                                OELWEIN           IA         50662                 6002               Various                                                                                             $1.32
CASSANDRA CORNELIUS             953 ALTA STREET                                                GREEN BAY         WI         54313                 6004               Various                                                                                            $22.00
CASSANDRA D HURTADO             101 N LAKE ST                                                  HUSTISFORD        WI         53034                 6002               Various                                                                                             $8.05
CASSANDRA DE LA VEGA            115 BETZER ROAD                                                DELAVAN           WI         53115                 6004               Various                                                                                             $5.00
CASSANDRA ELBE                  3289 NORTHWOOD RD                                              GREEN BAY         WI         54313                 6002               Various                                                                                             $7.07




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            Creditor Name              Address1              Address2           Address3            City             State           Zip    Country     Number                Claim                                                                             Total Claim
CASSANDRA ELSON              226 NORTH LANE                                                  GRAND ISLAND       NE           68803                  6004                Various                                                                                                $4.00
CASSANDRA FORD               POB # 14                                                        DIXON              NE           68732                  6002                Various                                                                                                $2.79
CASSANDRA GLEASON            N 7593 GEMINI WAY                                               FOND DU LAC        WI           54937                  6004                Various                                                                                               $27.00
CASSANDRA HAEN               N5249 VALLEY RD                                                 LUXEMBURG          WI           54217                  6004                Various                                                                                               $37.00

CASSANDRA HAESSLY            110 OAK BROOK CT                                                WISCONSIN RAPIDS   WI           54495                   6004               Various                                                                                                $3.00
CASSANDRA HANSEN             N2248 COUNTY ROAD D                                             FORT ATKINSON      WI           53538                   6002               Various                                                                                                $1.51
CASSANDRA J SOLEM            2805 4TH ST                                                     EAU CLAIRE         WI           54703                   6002               Various                                                                                                $1.92
CASSANDRA JE AESOPH          428 GRANT ST                                                    LEOLA              SD           57456                   6002               Various                                                                                                $1.34
                             W161N10417 HOLLOWBROOK
CASSANDRA KEMMEL             DRIVE                                                           GERMANTOWN         WI           53022                   6004               Various                                                                                               $36.00
CASSANDRA KENNEDY            445 N MADISON ST                                                WAUPUN             WI           53963                   6002               Various                                                                                                $0.77
CASSANDRA L MEIERS           423 E FLORIDA AVE                                               APPLETON           WI           54911                   6002               Various                                                                                                $6.79
CASSANDRA LENTZ              37932 133RD ST                                                  ABERDEEN           SD           57401                   6002               Various                                                                                                $5.56
CASSANDRA M HENDERSON        N5958 APPLE BLOSSOM TR                                          ONALASKA           WI           54650                   6002               Various                                                                                                $2.77
CASSANDRA MCCULLEN           1050 PROSPECT AVE                                               FOND DU LAC        WI           54937                   6004               Various                                                                                               $25.00
CASSANDRA MONTES             15427 ADAMS ST              APT 203                             OMAHA              NE           68137                   6004               Various                                                                                                $4.00
CASSANDRA ORTMANN            9877 170TH STREET                                               CHIPPEWA FALLS     WI           54729                   6004               Various                                                                                               $14.98
CASSANDRA PARRELL            1324 SENTRY ST                                                  BLACK EARTH        WI           53515                   6004               Various                                                                                                $1.00
CASSANDRA REIMANN            809 3RD AVE NE                                                  SARTELL            MN           56377                   6004               Various                                                                                                $5.00
CASSANDRA RENDON             400 GRANT STREET                                                FORT ATKINSON      WI           53538                   6004               Various                                                                                                $2.00
CASSANDRA ROSADO             322 N LINCOLN AVE                                               BEAVER DAM         WI           53916                   6004               Various                                                                                                $2.00
CASSANDRA SCHAUER            1224 ST CLAIR AVE                                               SHEBOYGAN          WI           53081                   6004               Various                                                                                                $5.00
CASSANDRA SCHULTE            911 38TH ST SW                                                  WATERTOWN          SD           57201                   6004               Various                                                                                                $9.20
CASSANDRA SUETTINGER         2730 TOWER RD                                                   MCFARLAND          WI           53558                   6004               Various                                                                                               $20.00
CASSANDRA TAPLIN             25 CONSTANCE BLVD                                               WILLIAMS BAY       WI           53191                   6004               Various                                                                                                $2.60
CASSANDRA TERRY              1525 CURTIS AVE #3                                              IDAHO FALLS        ID           83401                   6004               Various                                                                                               $19.97
CASSANDRA TRUMPY             W5108 WASHINGTON RD                                             MONTICELLO         WI           53570                   6004               Various                                                                                                $2.00
CASSANDRA URBANEK            223 GALE ST                                                     OCONTO             WI           54153                   6004               Various                                                                                               $23.00
CASSANDRA WIERZBA            510 LEPAK STREET                                                HATLEY             WI           54440                   6004               Various                                                                                               $30.00
CASSANDRA WILLIAMS           387 PINTO LANEPO                                                JACKSON            WY           83001                   6002               Various                                                                                                $4.38
CASSANDRA YOUNGER            140N N LINDEN ST                                                COLOMA             WI           54930                   6002               Various                                                                                                $3.07
CASSEY PANNELL               PO BOX 202                                                      GENESEE            ID           83832                   6002               Various                                                                                                $8.33
CASSI MOSSBURGH              12317 N ST.                                                     OMAHA              NE           68137                   6004               Various                                                                                               $10.00
CASSIDY ANDERSON             510 1/2 S SENECA AVE                                            NEWCASTLE          WY           82701                   6002               Various                                                                                                $3.45
CASSIDY BAILEY               384 WINDWORD ROAD                                               GREEN BAY          WI           54302                   6004               Various                                                                                               $34.00
CASSIDY BEDWELL              2235 12TH ST                APT D 125                           IDAHO FALLS        ID           83404                   6004               Various                                                                                               $23.00
CASSIDY DAVIS                60 SANDY CRES                                                   VASSAR             MB           R0A 2J0       CANADA    6002               Various                                                                                                $3.86
CASSIDY JOHNSON              5 HARVEST CR                                                    MADISON            WI           53713                   6004               Various                                                                                                $2.00
CASSIDY KEMMERLING           516 N. MONTGOMERY ST                                            WATERTOWN          WI           53098                   6004               Various                                                                                                $5.00
CASSIDY MCCOY                1020 18TH AVE                                                   MONROE             WI           53566                   6004               Various                                                                                                $1.00
CASSIDY PAIGE                413 N. CHERRY ST. APT. #2                                       TOWNSEND           MT           59644                   6004               Various                                                                                                $2.00
CASSIDY PARKIN               10078 550TH ST                                                  RUSH CITY          MN           55069                   6002               Various                                                                                                $4.68
CASSIDY PIGEON               1741 FIESTA LN                                                  GREEN BAY          WI           54302                   6004               Various                                                                                               $20.00
CASSIDY STRUVE               W6785 CEDARVIEW DRIVE                                           ELKHART LAKE       WI           53020                   6004               Various                                                                                               $29.98
CASSIDY TEMPEL               6351 W LORAN RD                                                 FREEPORT           IL           61032                   6004               Various                                                                                               $29.96
CASSIDY ULMER                112 W 25 S                                                      JEROME             ID           83338                   6004               Various                                                                                                $3.65
CASSIDY WISLER               700 WILLOW CREEK ROAD                                           ESCANABA           MI           49829                   6004               Various                                                                                                $1.96
CASSIE ANDERSON              3827 LANCASTER                                                  MISSOULA           MT           59808                   6004               Various                                                                                                $2.50
CASSIE CLARK                 3411 N SUMMERCREST WAY                                          MERIDIAN           ID           83646                   6002               Various                                                                                                $7.75
CASSIE GARMAN                1311 JOHNSON ST             APT C                               FAIRMONT           MN           56031                   6004               Various                                                                                                $3.00
CASSIE GORDON                15 TAFT # B                                                     POCATELLO          ID           83201                   6002               Various                                                                                                $9.67
CASSIE HOEBELHEINRICH        5531 NW TUDOR LANE                                              LINCOLN            NE           68521                   6004               Various                                                                                               $20.00
CASSIE NEWBERRY              238 E 4650TH S                                                  OGDEN              UT           84405                   6002               Various                                                                                                $7.64




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                                                                                                                                                                                             Contingent


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                                                                                                                                                       Account         Incurred, Basis for
             Creditor Name               Address1                 Address2         Address3             City         State           Zip   Country     Number                Claim                                                                             Total Claim
CASSIE RODRIGUEZ              403A 12 PL NW                                                     AUSTIN            MN         55912                 6004                Various                                                                                                $3.00
CASSIE THORSON                101 DOUGHERTY CT                                                  RIDGEWAY          WI         53582                 6004                Various                                                                                               $15.00
CASSIUS PARSONS               1412 3RD STREET WEST                                              KALISPELL         MT         59901                 6004                Various                                                                                               $15.30
CASSONDRA GUERNSEY            4821 N LATITUDE LN UNIT E                                         APPLETON          WI         54913                 6002                Various                                                                                                $2.30
CASSY GAMBELL                 546 N 4TH ST                                                      FOREST CITY       IA         50436                 6002                Various                                                                                                $9.59
CASTALIA WYATT                274 W 2050TH S                                                    PERRY             UT         84302                 6002                Various                                                                                                $2.99

CASTULO BARRERA MUNOZ         627 ROCKY CREEK DR NE TRLR 6                                      ROCHESTER         MN         55906                  6002               Various                                                                                                $0.49
CATALINA BAUTISTA             2517 BUTLIN DR                                                    BELOIT            WI         53511                  6002               Various                                                                                                $4.68
CATALINA DOMINGUEZ            1012 E 4100 N                                                     BUHL              ID         83316                  6004               Various                                                                                                $3.65
CATALINA LIMON-RAMIREZ        36650 ROUND LAKE LN                                               OTTERTAIL         MN         56571                  6002               Various                                                                                                $6.22
CATE STOCKMAN                 4630 LUX AVE                                                      BILLINGS          MT         59101                  6004               Various                                                                                                $4.00
CATELYNN THU                  1310 WEST 51ST                                                    SIOUX FALLS       SD         57105                  6004               Various                                                                                                $8.00
CATHARINA D BLASER            1314 WILLIS AVE APT 2                                             PERRY             IA         50220                  6002               Various                                                                                                $5.64
CATHARINE CLARK               1458 S 400 W                                                      PAYSON            UT         84651                  6004               Various                                                                                                $3.00

CATHERINE BROWN               1713 TERRACE DR                                                   PORT WASHINGTON   WI         53074                  6002               Various                                                                                                $3.51
CATHERINE CLEMONS             1600 BRIGGS STREET                                                STEVENS POINT     WI         54481                  6004               Various                                                                                                $1.00
CATHERINE CULLEN              202 BUCKINGHAM LN                                                 MADISON           WI         53714                  6004               Various                                                                                               $10.80
CATHERINE DOOLEY              114 W 12TH ST                                                     MOUNT CARMEL      IL         62863                  6002               Various                                                                                                $6.63
CATHERINE DREW                909 N CUSTER AVE APT 102                                          HARDIN            MT         59034                  6002               Various                                                                                                $3.61
CATHERINE EHLERS              1816 IVES AVE                                                     GLENCOE           MN         55336                  6004               Various                                                                                               $33.00
CATHERINE EHRGOTT             1050 TULLAR RD                                                    NEENAH            WI         54956                  6002               Various                                                                                               $10.00

CATHERINE EVANS               C/O KENLYN HARRIS               425 W LINCOLN DR                  DE FOREST         WI         53532                  6002               Various                                                                                                $6.00
CATHERINE EZENWUGO            5669 KING JAMES CT APT 206                                        MADISON           WI         53719                  6002               Various                                                                                                $6.77
CATHERINE FASANO              718 EAST 2ND                                                      MONMOUTH          IL         61462                  6004               Various                                                                                               $10.00
CATHERINE GRIFFIN             582 EAST BOISE AVENUE #157                                        BOISE             ID         83706                  6004               Various                                                                                                $2.00
CATHERINE HALVERSON           2235 12TH STREET H#158                                            IDAHO FALLS       ID         83404                  6004               Various                                                                                                $5.00
CATHERINE HEISINGER           657 YUKON WAY                                                     WHITEWOOD         SD         57793                  6002               Various                                                                                                $2.36
CATHERINE HIMMEL              2125 MEADFOOD RD                                                  CARROLLTON        TX         75007                  6002               Various                                                                                                $1.29
CATHERINE J. MEYER            837 ERNST DR                                                      GREEN BAY         WI         54304                  6002               Various                                                                                                $5.40
CATHERINE L REESON            235 14TH ST                                                       FOND DU LAC       WI         54935                  6002               Various                                                                                                $2.05
CATHERINE L. FLEISCHER        431 CAPTAINS CT                                                   WINNECONNE        WI         54986                  6002               Various                                                                                                $6.00
CATHERINE LAFROMBOIS          1255 CHRISTOPHER DR                                               NEENAH            WI         54956                  6002               Various                                                                                                $5.45
CATHERINE MCKINNON            5265 SAINT LOUIS RIVER RD                                         DULUTH            MN         55810                  6002               Various                                                                                                $0.99
CATHERINE MESSENGER           18081 HIGHWAY # US41                                              LANSE             MI         49946                  6002               Various                                                                                                $9.89
CATHERINE NOLDE               810 WEST CLARK STREET                                             SPENCER           WI         54479                  6004               Various                                                                                               $25.00
CATHERINE PAEPCKE             11927 W. OAKWOOD DR                                               FRANKLIN          WI         53132                  6004               Various                                                                                                $5.00
CATHERINE PEGEE               802 CHESHIRE CT APT 3                                             FREEPORT          IL         61032                  6002               Various                                                                                                $2.88
CATHERINE RICHARDS            718 JEAN ELLEN DR                                                 BELOIT            WI         53511                  6002               Various                                                                                                $4.27
CATHERINE SCHULTZ             401 AND 1/2 PROSPECT AVE                                          WAUSAU            WI         54403                  6002               Various                                                                                                $4.27
CATHERINE THIBADEAU           2105 ADMIRAL ST                                                   DUBUQUE           IA         52002                  6004               Various                                                                                                $3.00
CATHERINE TINNEY              179 1ST ST SW                                                     BRITT             IA         50423                  6004               Various                                                                                               $10.00
CATHERINE TOWER               206 RIDGEVIEW RD                                                  DE SOTO           WI         54624                  6002               Various                                                                                                $0.99
CATHERINE W STEWART           1285 N FREEDOM BLVD APT 54                                        PROVO             UT         84604                  6002               Various                                                                                                $1.34
CATHERINE WEBSTER             1508 GATEWAY CIR                                                  GLENWOOD          IA         51534                  6002               Various                                                                                                $2.30

CATHERINE WILSON              1118 PRINCE HALL DR APT 1103                                      BELOIT            WI         53511                  6002               Various                                                                                                $0.66
CATHERINE ZUIDEMA             73265 420TH STREET                                                FRANKLIN          MN         55333                  6004               Various                                                                                                $3.06
CATHIE CHAPEK                 204 ALBERT ST                                                     MYRTLE            MN         56036                  6004               Various                                                                                               $20.00
                              2604 PHEASANT RIDGE TRL. APT.
CATHRINE SULLIVAN             1                                                                 MADISON           WI         53713                   6004              Various                                                                                               $36.00
CATHRYN STRICKLER             1688 JUNIPER DR                                                   GREEN BAY         WI         54302                   6002              Various                                                                                                $0.99




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CATHY BALDRY                      1012 WAUGOO AVENUE                                              OSHKOSH          WI         54901                 6004                Various                                                                                                $6.02
CATHY BLASIUS                     23283 453RD AVE                                                 MADISON          SD         57042                 6002                Various                                                                                                $6.99
CATHY BRONSON                     819 FREEBORN AVE                                                ALBERT LEA       MN         56007                 6002                Various                                                                                                $7.37
CATHY COOKE                       505 1/2 N RIVER ST APT                                          HOT SPRINGS      SD         57747                 6002                Various                                                                                                $7.10
CATHY CORTEZ                      1028 1/2 PARK AVE.                                              BELOIT           WI         53511                 6004                Various                                                                                               $20.00
CATHY FIDLER                      216 W ROLLIN ST                                                 EDGERTON         WI         53534                 6004                Various                                                                                                $2.00
CATHY HARRIS                      3123 E GARWOOD RD                                               HAYDEN           ID         83835                 6002                Various                                                                                                $2.49
CATHY HSU                         1003 N POLK AVE                                                 MASON CITY       IA         50401                 6002                Various                                                                                                $5.29
CATHY J ESTES                     602 W 8TH ST                                                    LARNED           KS         67550                 6002                Various                                                                                                $5.04
CATHY L MORGAN                    9036 CO RD # 5 PMB NE                                           NORTH BRANCH     MN         55056                 6002                Various                                                                                                $9.75
CATHY LOVELY                      7615 MERIDITH AVE                                               OMAHA            NE         68134                 6004                Various                                                                                               $76.00
CATHY MCKINLEY                    300 N 25TH ST APT 404                                           BILLINGS         MT         59101                 6002                Various                                                                                               $15.86
CATHY MORNING                     18186 STATE HWY 124                                             BLOOMER          WI         54724                 6004                Various                                                                                               $25.00
CATHY RETZLAFF                    PO BOX 115                                                      WINNECONNE       WI         54986                 6004                Various                                                                                                $4.06
CATHY SIKES                       111 CARYLE ST                                                   ALMA             NE         68920                 6002                Various                                                                                                $0.47
CATHY SOLMA                       703 4TH AVE SW                                                  PIPESTONE        MN         56164                 6002                Various                                                                                                $2.49
CATHY STAROSKA                    821 W 4TH ST                                                    NORTH PLATTE     NE         69101                 6002                Various                                                                                                $0.96
CATHY VALADEZ-DOMINGUEZ           214 N 4TH ST                                                    WATERTOWN        WI         53094                 6004                Various                                                                                               $14.95
CATHY ZARLING                     703 WANDA AVENUE                                                NEENAH           WI         54956                 6004                Various                                                                                                $5.80
CATINA MENARD                     338 SOUTH 26TH               APT 2                              LINCOLN          NE         68510                 6004                Various                                                                                                $4.00
CATRINA STARKS                    5511 S 28TH AVE                                                 OMAHA            NE         68107                 6004                Various                                                                                                $4.00

CATRON/ RACHAEL                   STORE 4-026                  SHOPKO EMPLOYEE                    GREEN BAY        WI         54307-9060             4212               Various                                                                                               $12.84
                                                               829 WEST MAIN
CATTS REALTY COMPANY              SUITE C                      STREET                             GAYLORD          MI         49735                  2467               Various                                                                                         $6,565.17
CAULON ANDERSON                   54 W 500TH N                                                    SPANISH FORK     UT         84660                  6002               Various                                                                                             $3.70
CAVALIER DO IT BEST HOME & LUM    501 DIVISION AVENUE SOUTH    PO BOX 395                         CAVALIER         ND         58220                  0099               Various                                                                                          $504.83
CAVALIER IMPROVEMENTS INCORPOR    PO BOX 131                                                      CAVALIER         ND         58220                  0409               Various                                                                                         $2,066.84
                                                                                                                                                                        11/26/2018 -
CAVALIER MUNICIPAL UTILITIES      P.O. BOX 750                                                    CAVALIER         ND         58220-0750             4-00-8             12/25/2018                                                                                      $1,673.48
CAYCEE C MARTINDALE               50 PINEVIEW DR                                                  HYDE PARK        UT         84318                  6002               Various                                                                                             $6.88
CAYDEN AHLSTROM                   11321 21ST AVE                                                  CHIPPEWA FALLS   WI         54729                  6002               Various                                                                                             $3.37
CAYLEN VAN ZANDT                  3783 W VIEW CT                                                  POST FALLS       ID         83854                  6002               Various                                                                                             $9.04
CAZDIEL WILSON                    1800 SCOTT ST APT 24                                            BEATRICE         NE         68310                  6002               Various                                                                                             $7.78
                                  CHAIN DRUG MARKETING         43157 W NINE MILE
CDMA                              ASSOCIATION INC              ROAD              PO BOX 995       NOVI             MI         48376-0995              5933              Various                                                                                        $25,444.99

CEARA WOLDT                       1052 NEWCASTLE APARTMENTS                                       NEWCASTLE        WY         82701                  6002               Various                                                                                                $3.37
CECELIA COLLINGWOOD               3355 ROAD 30 1/2                                                GREYBULL         WY         82426                  6002               Various                                                                                                $7.64
CECELIA FONTAINE                  8411 PRINE VILLA LN SW #26                                      OLYMPIA          WA         98512                  6004               Various                                                                                                $5.02
CECELIA HARSHFIELD                24876 N PRARIE TRACE RD                                         SUTHERLAND       NE         69165                  6002               Various                                                                                                $2.27
CECELIA HERDA                     111 N 9TH                                                       NORFOLK          NE         68701                  6004               Various                                                                                                $4.00

CECELIA KENNEDY                   3808 S HAWTHORNE AVE APT 7                                      SIOUX FALLS      SD         57105                  6002               Various                                                                                                $8.96
CECELIA PANCRATZ                  830 S 2ND ST UNIT 9                                             DELAVAN          WI         53115                  6002               Various                                                                                                $6.44
CECELIA RICE                      2119 US BUSINESS 20                                             BELVIDERE        IL         61008                  6004               Various                                                                                               $11.20
CECELIA STAMM                     W6316 BIGHORN LN                                                WAUTOMA          WI         54982                  6002               Various                                                                                                $7.84
CECELIA SYDLEWSKI                 1348 EDGEWOOD DR                                                KAUKAUNA         WI         54130                  6004               Various                                                                                                $8.00
CECELIA TAYLOR                    517 38TH ST                                                     SIOUX CITY       IA         51104                  6002               Various                                                                                                $9.42

CECELIA VANDENLANGENBERG          APT 201                      1740 CONDOR LANE                   GREEN BAY        WI         54313                  6002               Various                                                                                                $1.94
CECELIA ZACCARD                   605 OAKLAND AVENUE                                              JANESVILLE       WI         53545                  6004               Various                                                                                                $2.00
CECIL BRYCE POLLEY                5627 327TH ST                                                   ALBANY           MO         64402                  6002               Various                                                                                                $1.78
CECIL STANGELAND                  PO BOX 15                                                       NEW EFFINGTON    SD         57255                  6002               Various                                                                                                $7.07




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CECIL THARP                          5849 ROAD 31                                                        VETERAN            WY         82243                6002                Various                                                                                             $8.32
CECILA RUSSELL                       BOX 80                                                              VALIER             MT         59486                6004                Various                                                                                             $4.00
CECILIA ACOSTA                       1226 NORTH DANZ AVE LOT 17                                          GREEN BAY          WI         54302                6004                Various                                                                                             $3.00
CECILIA ARAYA GONZALEZ               7620 S SUNRISE PLACE                                                WEST JORDAN        UT         84084                6004                Various                                                                                            $14.00
CECILIA DEEG                         3602 E MADISON ST                                                   SIOUX FALLS        SD         57103                6004                Various                                                                                            $20.00
CECILIA MCKEE                        330 OAK CT                                                          LOMIRA             WI         53048                6004                Various                                                                                             $3.00
CECILIA N. MILLER                    301 W WEILAND AVE                                                   APPLETON           WI         54911                6002                Various                                                                                             $4.08
CECILIA OLSON                        3905 13TH STREET                                                    MENOMINEE          MI         49858                6004                Various                                                                                            $16.00
CECILIA RIGGS                        1151 NETTIE ST                  APT 405                             BELVIDERE          IL         61008                6004                Various                                                                                             $4.10
CECILIA TELLEZ                       920 SOUTH 16TH STREET                                               SHEBOYGAN          WI         53081                6004                Various                                                                                            $34.98
CECILY TALARICO                      136 N. CAPRON ST. APT. 208                                          BERLIN             WI         54923                6004                Various                                                                                             $3.00
CEDAR CREST SPECIALITIES             PO BOX 260                                                          CEDARBURG          WI         53012-0000           6180                Various                                                                                           $173.64
CEDAR P CHAPMAN                      3067 S VIRGINIA AVE                                                 BOISE              ID         83705                6002                Various                                                                                             $4.85
CEDAR VALLEY LUMBER CO ALBION        200 WEST MAIN STREET                                                ALBION             NE         68620                5437                Various                                                                                            $26.75
CEDRIC TURNER                        6134 N 78TH TERRACE DR                                              OMAHA              NE         68134                6002                Various                                                                                             $4.38
CEEV SUE XIONG                       1770 TAFT AVE.                                                      OSHKOSH            WI         54902                6004                Various                                                                                            $10.00
CEHILA QUINTERO-GALLARZO             3733 15TH ST                    APT2A                               KENOSHA            WI         53144                6004                Various                                                                                             $7.99
CEILIA PATTERSON                     11031 82ND ST                                                       PLEASANT PRAIRIE   WI         53158                6004                Various                                                                                             $1.00
CEILYA ELIZA PAEZ                    6929 WOODMAN RD SW                                                  SOUTH BOARDMAN     MI         49680                6002                Various                                                                                             $6.41
CEIRI CONNORS                        917 CLEVELAND AVE APT 4                                             MARQUETTE          MI         49855                6002                Various                                                                                             $6.25
                                                                     1800 SW 1ST
CELARTEM INCORPORATED                SUITE 500                       AVENUE                              PORTLAND           OR         97201                 4285               Various                                                                                                $1.08
CELERINO BAUTISTA SANTIAGO           106 2ND LN APT 2                                                    ABBOTSFORD         WI         54405                 6002               Various                                                                                                $2.71
CELESTA HERNANDEZ                    996 W 3020 S                                                        NIBLEY             UT         84321                 6004               Various                                                                                               $23.00
CELESTE CARTER                       1080 S 1500TH E APT 51                                              CLEARFIELD         UT         84015                 6002               Various                                                                                                $4.41
CELESTE CHRISTENSEN                  BOX 174                                                             FERTILE            IA         50434                 6002               Various                                                                                                $3.86

CELESTE DAL PRA                      11387 CROSS CREEK ESTATES LN.                                       BELVIDERE          IL         61008                 6004               Various                                                                                            $32.09
CELESTE HOLLEY                       1457 STONE MEADOW DR                                                WEST JORDAN        UT         84088                 6002               Various                                                                                             $3.07
CELESTE JACOBS                       968 EAST SOUTH UNION AVE                                            MIDVALE            UT         84047                 6004               Various                                                                                            $17.02
CELESTE KENNEDY                      1337 W STARLING AVE                                                 HAYDEN             ID         83835                 6002               Various                                                                                             $2.55
CELESTE LEMARR                       435 E 1ST N                                                         SAINT ANTHONY      ID         83445                 6002               Various                                                                                             $0.60
CELESTE MOSS                         PO BOX 1150                                                         MARION             MT         59925                 6002               Various                                                                                             $7.95
CELESTE SANCHEZ                      1109 N PEARL ST                                                     WAYNE              NE         68787                 6002               Various                                                                                             $7.75
CELESTE STEVENS                      550 W 1800TH N APT E202                                             LOGAN              UT         84341                 6002               Various                                                                                             $9.86
CELESTINO DURAN ROJAS                3798 SHADY CURV SW                                                  ROCHESTER          MN         55902                 6002               Various                                                                                             $9.75
CELIA BIGNELL                        9 HILLCREST MANOR                                                   WANAMINGO          MN         55983                 6004               Various                                                                                             $3.06
CELIA ESPITIA                        280 NORTH OAKRIDGE COURT                                            WAUTOMA            WI         54982                 6004               Various                                                                                            $30.00
CELIA SALASAR                        1025 ROYAL AVE                                                      IDAHO FALLS        ID         83401                 6004               Various                                                                                             $2.10
CELIA STORTON                        520 LEWIS AVE                                                       BILLINGS           MT         59101                 6004               Various                                                                                             $7.02
CELINA HALL                          447 N LINCOLN ST                                                    WEST POINT         NE         68788                 6002               Various                                                                                             $6.49
CELINA MARTINEZ BONILLA              4128 T STREET                                                       OMAHA              NE         68107                 6004               Various                                                                                            $10.50
CENTAUR ELECTRIC INC.                6905 N. 94 PLZ                                                      OMAHA              NE         68122                                    Various                                                                                         $1,472.00

CENTENNIAL DISTRIBUTING (072)        VENTURE SOUTH DISTRIBUTORS      PO BOX 2928                         HAYDEN             ID         83835-0000             6029              Various                                                                                           $613.28
                                                                     3709 N HARRISON
CENTENNIAL PROPERTIES FUND II        C/O CTL PROPERTY LTD            ST                                  DAVENPORT          IA         52806                 0966               Various                                                                                         $1,750.00
CENTER CRISIS                        2195 IRONWOOD CT                                                    COEUR D ALENE      ID         83814                 6002               Various                                                                                             $4.58
                                                                                                                                                                                12/8/2018 -
CENTERPOINT ENERGY MINNEGASCO/4671   PO BOX 4671                                                         HOUSTON            TX         77210-4671             973-5             1/9/2019                                                                                        $4,815.45
                                                                                                                                                                                12/4/2018 -
CENTERPOINT ENERGY/1325/4981/2628    P.O. BOX 4981                                                       HOUSTON            TX         77210-4981             787-3             1/4/2019                                                                                         $687.93
CENTIMARK CORPORATION                12 GRANDVIEW CIRCLE                                                 CANONSBURG         PA         15317                                    Various                                                                                         $9,553.38
CENTRAL CITY DISTRIBUTION CO         3029 N 112TH STREET                                                 WAUWATOSA          WI         53222                  6161              Various                                                                                         $3,529.70




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CENTRAL CITY H20+                  1360 4TH STREET SOUTH                                               CARRINGTON       ND        58421                1143              Various                                                                                            $28.90
CENTRAL DAKOTA INVESTMENT          655 N 2ND STREET                                                    CARRINGTON       ND        58421-1614           0100              Various                                                                                         $2,416.67
                                                                                                                                                                         12/2/2018 -
CENTRAL ELECTRIC COOPERATIVE/SD    PO BOX 850                                                          MITCHELL         SD        57301-0130           0                 1/1/2019                                                                                        $2,884.80
CENTRAL UTAH DOOR                  1042 S GENEVA RD                                                    OREM             UT        84058                                  11/21/2018                                                                                         $95.00
CENTRIC BEAUTY LLC (NJ)            463 7TH AVENUE 4TH FLOOR                                            NEW YORK         NY        10018-0000           2807              Various                                                                                       $131,261.42
CERA WHITE                         W3604 BADGER LANE                                                   MALONE           WI        53049                6004              Various                                                                                            $10.00
CEREATHA LOFTON                    2501 POST RD                                                        MADISON          WI        53713                6002              Various                                                                                             $7.15
CERTCO                             ATTN: DAVID RYMAN              5321 VERONA RD                       MADISON          WI        53711                6666              Various                                                                                         $2,009.15
CERTCO INCORPORATED                PO BOX 7368                                                         MADISON          WI        53707-7368           9607              Various                                                                                       $195,107.74
CERTEGY CHECK SERVICES INCORPO     BANK OF AMERICA                PO BOX 4535                          CAROL STREAM     IL        60197-4535           9084              Various                                                                                        $31,155.00
CERTIFIED INC                      350 SUNDAY DR.                                                      ALTOONA          WI        54720                                  10/17/2018                                                                                       $323.50
CERTIFIED RECOVERY INC             1280 W CLAIREMONT AVE          SUITE #1                             EAU CLAIRE       WI        54701                6004              Various                                                                                            $10.00
CERTIFIED RECOVERY INCORPORATE     PO BOX 808                                                          EAU CLAIRE       WI        54702                1091              Various                                                                                            $27.99
CERTIFIED RECOVERY, INC.           P.O. BOX 808                                                        EAU CLAIRE       WI        54702                6004              Various                                                                                            $27.33
CERYCK KRENKE                      7262 CTY RD R                                                       OSHKOSH          WI        54902                6004              Various                                                                                             $4.00
CESAR AMAYA                        4720 NW 8TH                                                         LINCOLN          NE        68521                6004              Various                                                                                            $10.00

CESAR LUNA                         427 WEST MAIN STREET APT 312                                        MADISON          WI        53703                  6004            Various                                                                                             $1.00
CESAR MONTAS                       PO BOX 608                                                          WAKEFIELD        NE        68784                  6002            Various                                                                                            $10.00
CESAR NOLASCO                      3544 S 700 W                                                        RIVERDALE        UT        84405                  6004            Various                                                                                            $29.99
CESAR RIVERA                       511 E MAIN ST                                                       DODGE CENTER     MN        55927                  6002            Various                                                                                             $0.36
CESAR SANCHEZ                      7028 SOUTH 41ST AVE                                                 BELLEVUE         NE        68147                  6004            Various                                                                                            $45.05
CG (PET) PEMPER                    1123 PETERSON ST                                                    FORT ATKINSON    WI        53538                  6002            Various                                                                                             $5.86
CG SERVICES LLC                    PO BOX 700386                                                       OOSTBURG         WI        53070-0386             8527            Various                                                                                         $2,459.22
CGP SEYMOUR LTD                    361 SUMMIT BLVD SUITE 110                                           BIRMINGHAM       AL        35243                  0426            Various                                                                                        $93,570.10
CH AG LLC                          3690 SUMMIT DRIVE                                                   POCATELLO        ID        83201                  2392            Various                                                                                        $12,422.00
CHACO STEINMAN                     1162 E GARFIELD AVE                                                 SALT LAKE CITY   UT        84105                  6002            Various                                                                                             $7.73
CHAD BACON                         10560 NORTHLOCH                                                     WAVERLY          NE        68462                  6004            Various                                                                                            $10.00
CHAD BRADLEY                       PO BOX 30                                                           PIERCE           ID        83546                  6002            Various                                                                                             $9.51
CHAD BRECKETT                      501 GRAND AVE                                                       WAUSAU           WI        54403                  6002            Various                                                                                             $8.03
CHAD BRENDENMUEHL                  107 STAFFORDSHIRE DR NE                                             POPLAR GROVE     IL        61065                  6004            Various                                                                                            $39.68
CHAD BROWN                         3331 HOFFMAN DRIVE                                                  PLOVER           WI        54467                  6004            Various                                                                                            $20.00
CHAD BUFFINGTON                    808 HOWARD ST                                                       CHARLES CITY     IA        50616                  6004            Various                                                                                            $23.00
CHAD C GREEN                       2221 1ST ST APT 301                                                 MONROE           WI        53566                  6002            Various                                                                                             $5.78
CHAD CARTER                        186 HAWTHORNE ST                                                    LAYTON           UT        84041                  6002            Various                                                                                             $3.75
CHAD CASHMAN                       BOX 8                                                               FAIRVIEW         MT        59221                  6002            Various                                                                                             $6.25
CHAD CURRIER                       102 S CAPITAL AVE                                                   SIOUX FALLS      SD        57110                  6002            Various                                                                                             $2.55
CHAD DOERNEMAN                     6733 N 105TH AVE                                                    OMAHA            NE        68122                  6004            Various                                                                                            $10.02
CHAD DOWE                          2615 FINGER RD                                                      GREEN BAY        WI        54302                  6002            Various                                                                                             $0.38
CHAD DUEL                          1003 MICHIGAN AVE                                                   N FOND DU LAC    WI        54935                  6004            Various                                                                                             $5.90
CHAD ENCHEFF                       106 SEQUOYAH CT SW                                                  POPLAR GROVE     IL        61065                  6002            Various                                                                                             $0.79
CHAD ERICKSON                      2165 WOODLAND RD                                                    KAMIAH           ID        83536                  6002            Various                                                                                             $1.01
CHAD FEYERHERM                     1493 HIGHWAY 275 LOT 9                                              WEST POINT       NE        68788                  6002            Various                                                                                            $10.00
CHAD FURE                          215 W FRONT ST                                                      ALBERT LEA       MN        56007                  6004            Various                                                                                            $53.74
CHAD HARTZ                         814 SPATES                                                          JACKSONVILLE     IL        62650                  6004            Various                                                                                            $45.00
CHAD HEUSER                        302 KILBOURN STREET                                                 HOUSTON          MN        55943                  6004            Various                                                                                            $20.00
CHAD HOERSTER                      723 3RD AVE S                                                       GLASGOW          MT        59230                  6002            Various                                                                                             $8.33
CHAD JACOBS                        2432 SUN RISE CT                                                    GREEN BAY        WI        54302                  6002            Various                                                                                             $0.52
CHAD JOHNSON                       6328 73 ST UNIT 208                                                 KENOSHA          WI        53142                  6004            Various                                                                                             $3.51
CHAD KIRK                          166 N 3675TH W                                                      LAYTON           UT        84041                  6002            Various                                                                                             $1.51
CHAD KOSTUHOSKI                    2716 SUNSET BLVD                                                    STEVENS POINT    WI        54481                  6002            Various                                                                                             $2.38
CHAD KREBS                         308 W MAPLE AVE                                                     BEAVER DAM       WI        53916                  6004            Various                                                                                            $20.00
CHAD L PERKINS                     1250 FAYETTE AVE                                                    ALTA VISTA       IA        50603                  6002            Various                                                                                             $3.42




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                                                                                                                                                          Account         Incurred, Basis for
             Creditor Name                    Address1             Address2          Address3              City         State           Zip   Country     Number                Claim                                                                             Total Claim
CHAD LOOMIS                       2104 40 TH AVE. S.E.                                             ROCHESTER         MN         55904                 6004                Various                                                                                                $9.00
CHAD M TERZINSKI                  718 COON ST                                                      RHINELANDER       WI         54501                 6002                Various                                                                                                $9.73
CHAD MILLER                       1513 GRAHAM AVE                                                  OSHKOSH           WI         54902                 6002                Various                                                                                                $4.88
CHAD NAVIS                        430 W SPRING ST                                                  WAUPUN            WI         53963                 6004                Various                                                                                                $6.43
CHAD PRENTICE                     19948 240TH ST                                                   JAMESON           MO         64647                 6002                Various                                                                                                $7.07
CHAD REITMEIER                    1516 RIPON                                                       LEWISTON          ID         83501                 6004                Various                                                                                               $56.45
CHAD REITMEIRER                   1516 RIPON                                                       LEWISTON          ID         83501                 6004                Various                                                                                               $15.05
CHAD RUPP                         6100 N 4350TH W                                                  BEAR RIVER CITY   UT         84301                 6002                Various                                                                                               $10.00
CHAD SCIPION                      6873 CTY TT                                                      AMHERST           WI         54406                 6004                Various                                                                                               $30.00
CHAD SKIPPER                      57660 ROCKLAND ST                                                CALUMET           MI         49913                 6002                Various                                                                                                $2.71
CHAD STUEWE                       12245 ECHO AVE                                                   GLENCOE           MN         55336                 6002                Various                                                                                                $7.75
CHAD THOMPSON                     320 W. BROADWAY, #221                                            MONONA            WI         53716                 6004                Various                                                                                                $3.40
CHAD TOLMAN                       405 HAMPTON                                                      CHUBBUCK          ID         83202                 6004                Various                                                                                               $33.00
CHAD TRONSTAD                     5176 MT HIGHWAY 200 E                                            LINCOLN           MT         59639                 6002                Various                                                                                               $10.00
CHAD TUDAHL                       1400 2ND ST NW                                                   KASSON            MN         55944                 6002                Various                                                                                                $6.05
CHAD VANASTEN                     1801 GREEN BAY RD                                                KAUKAUNA          WI         54130                 6002                Various                                                                                                $4.44
CHAD VANHORN                      1604 POWERS AVE                                                  LEWISTON          ID         83501                 6004                Various                                                                                               $85.16
CHAD VINCENT CASSIANI             N3909 CTY RD EE                                                  APPLETON          WI         54913                 6002                Various                                                                                                $9.23
CHAD WALDERA                      6815 WEST CAMERON STREET                                         EAU CLAIRE        WI         54703                 6004                Various                                                                                                $2.00
CHAD WHITLOCK                     5166 W 8820TH S                                                  WEST JORDAN       UT         84088                 6002                Various                                                                                                $8.00
CHAD WINKKA                       1856 ADLER WAY                                                   GREEN BAY         WI         54303                 6002                Various                                                                                                $3.73
CHAD WOLTER                       1725 S MADISON ST                                                APPLETON          WI         54915                 6004                Various                                                                                               $22.00
CHAD WOUNDEDFACE                  1019 15TH ST N PRERELEASE                                        GREAT FALLS       MT         59401                 6002                Various                                                                                                $8.36
CHADWICK DURAN                    377 M-66 SE                                                      KALKASKA          MI         49646                 6002                Various                                                                                                $2.00
CHADWICK KRONER                   918 TAYCO ST                                                     MENASHA           WI         54952                 6002                Various                                                                                                $0.44
CHADWICK SCIAME                   W6315 HACKBARTH RD                                               FORT ATKINSON     WI         53538                 6004                Various                                                                                                $2.60

CHADWICK/ KAREN                   STORE 2-697                  SHOPKO EMPLOYEE 1710 NORTH STREET   SENECA            KS         66538                  5453               Various                                                                                          $476.74
CHAERICIA STEWART                 3209 N 61ST ST               APT 3                               OMAHA             NE         68104                  6004               Various                                                                                             $4.00
CHAFFEE COUNTY TREASURER          104 CRESTONE AVENUE                                              SALIDA            CO         81201                  1289               Various                                                                                        $10,862.15
CHAFFEE COUNTY WASTE              PO BOX 7257                                                      WOODLAND PARK     CO         80863                                     Various                                                                                         $6,760.00
CHAFONNA LANDRUM                  2910 N 28TH CIRCLE                                               OMAHA             NE         68111                   6004              Various                                                                                             $2.00
CHAIN STORE MAINTENANCE, INC.     PO BOX 2008                                                      ATTLEBORO         MA         02703                                     Various                                                                                         $2,086.64
CHAINALEE DREW                    3599 MARATHON RD                                                 MARATHON          WI         54448                  6002               Various                                                                                             $0.55
CHAINELLE M RODRIGUES             1801 W PERSHING ST APT 509                                       APPLETON          WI         54914                  6002               Various                                                                                             $4.05
CHAKI VANG                        2756 HAMILTON ST.                                                OSHKOSH           WI         54901                  6004               Various                                                                                            $10.00
CHALEA FUENTES                    93 21ST ST                                                       WHEATLAND         WY         82201                  6002               Various                                                                                             $3.67
CHALEAH ROBINSON                  900 14TH ST NW                                                   ROCHESTER         MN         55901                  6002               Various                                                                                             $2.47
CHAMBER OF COMMERCE BRILLION      PO BOX 123                                                       BRILLION          WI         54110                  1635               Various                                                                                          $200.00
CHAMBER OF COMMERCE BUFFALO       55 NORTH MAIN STREET                                             BUFFALO           WY         82834                  6232               Various                                                                                          $335.00
CHAMBER OF COMMERCE DYERSVILLE    1100 16TH AVENUE SE                                              DYERSVILLE        IA         52040                  7294               Various                                                                                            $19.15
CHAMBER OF COMMERCE FORT ATKIN    244 N MAIN STREET                                                FORT ATKINSON     WI         53538                  4855               Various                                                                                            $39.04
                                  ECONOMIC DEVELOPMENT
CHAMBER OF COMMERCE GLENWOOD      FOUNDATION                   5 NORTH VINE ST                     GLENWOOD          IA         51534                  1647               Various                                                                                            $20.83
CHAMBER OF COMMERCE GREEN RIVE    1155 W FLAMING GORGE                                             GREEN RIVER       WY         82935                  1679               Various                                                                                            $11.25
CHAMBER OF COMMERCE GREENFIELD    201 S 1ST STREET                                                 GREENFIELD        IA         50849                  0658               Various                                                                                            $14.58
CHAMBER OF COMMERCE HARDIN        PO BOX 446                                                       HARDIN            MT         59034                  5420               Various                                                                                             $6.25
CHAMBER OF COMMERCE KASSON        PO BOX 326                                                       KASSON            MN         55944                  9337               Various                                                                                             $8.95
CHAMBER OF COMMERCE KEWAUNEE A    PO BOX 243                                                       KEWAUNEE          WI         54216                  9702               Various                                                                                            $40.00
CHAMBER OF COMMERCE LIBBY         905 W 9TH STREET             PO BOX 704                          LIBBY             MT         59923                  8999               Various                                                                                             $9.59
CHAMBER OF COMMERCE NORTH BRAN    6063 MAIN STREET SUITE B                                         NORTH BRANCH      MN         55056                  6956               Various                                                                                            $24.58
CHAMBER OF COMMERCE O NEILL       125 S 4TH STREET                                                 O NEILL           NE         68763                  7013               Various                                                                                            $79.74
CHAMBER OF COMMERCE OCONTO ARE    PO BOX 174                                                       OCONTO            WI         54153                  9701               Various                                                                                             $5.41
CHAMBER OF COMMERCE SENECA        PO BOX 135                                                       SENECA            KS         66538                  3674               Various                                                                                           $260.00




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                                                                                                                                                          Account       Incurred, Basis for
            Creditor Name                   Address1               Address2          Address3             City          State           Zip   Country     Number              Claim                                                                             Total Claim
CHAMBER OF COMMERCE SPOONER       122 NORTH RIVER STREET                                          SPOONER            WI         54801                 1688              Various                                                                                            $308.54
CHAMBER OF COMMERCE VALLEY CIT    BOX 724                                                         VALLEY CITY        ND         58072                 0687              Various                                                                                            $115.18
                                                              10006 SANTA FE
CHAMPION POWER EQUIPMENT          VICE PRESIDENT OF SALES     SPRINGS RD                          SANTE FE SPRINGS   CA         90670                   1661            Various                                                                                        $21,316.51
CHAN VONGKHAMSA                   2016 8 1/2 ST. SE           APT. G                              ROCHESTER          MN         55904                   6004            Various                                                                                             $3.00
CHANCE BARTOL                     137 S IRWIN AVE                                                 GREEN BAY          WI         54301                   6004            Various                                                                                             $1.00
CHANCE COE                        2300 E PHILIP LOT 7A                                            NORTH PLATTE       NE         69101                   6004            Various                                                                                            $10.00
CHANCE FULLEN DAVIS               6954 W HAMPTON AVE                                              MILWAUKEE          WI         53218                   6004            Various                                                                                            $25.00
CHANCE GILDEA                     41276 CAREFREE LANE                                             ARLINGTON          MN         55307                   6004            Various                                                                                             $6.12
CHANCE JACKSON-STILLE             320 PINE ST                                                     JACKSONVILLE       IL         62650                   6002            Various                                                                                             $9.95
CHANCE MOESCH                     N7998 MORGAN ROAD           P. O,. BOX 192                      GRESHAM            WI         54128                   6004            Various                                                                                             $1.00
CHANCE RIVERSON                   2764 VIKING DR                                                  GREEN BAY          WI         54304                   6002            Various                                                                                             $7.78
CHANCE STEWART                    35 HARVARD DR                                                   GILLETTE           WY         82716                   6004            Various                                                                                            $50.00
CHANCE WERNLUND                   19662 MUDLAKE ST                                                CASSOPOLIS         MI         49031                   6002            Various                                                                                             $1.34
CHANDLER KIRKEGAARD               1212 CLEVELAND ST APT 1                                         MISSOULA           MT         59801                   6004            Various                                                                                             $6.00
CHANDLER PARRY                    2001 NO 650 W                                                   PROVO              UT         84604                   6004            Various                                                                                            $24.00
CHANDLER PULLMAN                  BX 186                                                          ROSCOE             SD         57471                   6004            Various                                                                                             $5.00
CHANDNI PATEL                     656 ANNE STREET                                                 DELAVAN            WI         53115                   6004            Various                                                                                             $2.00
CHANDRA ALLEN                     4420 W SHAWNEE AVE                                              SPOKANE            WA         99208                   6004            Various                                                                                            $20.00
CHANDRA BHUJEL                    828 S 29TH ST                                                   OMAHA              NE         68104                   6004            Various                                                                                            $25.00
CHANDRA GRIFFEY                   2110 S JEFFERSON AVE                                            MASON CITY         IA         50401                   6002            Various                                                                                             $6.30
CHANDRA GURUNG                    4515 E 3RD ST               APT #17                             SIOUX FALLS        SD         57110                   6004            Various                                                                                             $2.00
CHANDRA HELTON                    1450 S WASSON LANE LOT 72                                       RIVER FALLS        WI         54022                   6004            Various                                                                                             $2.00
CHANDRA JUAN CLAVER               1060 WASHBURN AVE                                               IDAHO FALLS        ID         83402                   6002            Various                                                                                             $4.41
CHANDRA MILLER                    66900 FRYREAR RD                                                BEND               OR         97703                   6004            Various                                                                                            $20.00
CHANDRA NOKES                     325 HAPPY VALLEY LN                                             AFTON              WY         83110                   6002            Various                                                                                             $4.30
CHANDRA SUBBA                     800 S CHARLOTTE AVE                                             SIOUX FALLS        SD         57103                   6002            Various                                                                                             $0.88
CHANEL CASE                       3603 S. MERCY CT                                                SPOKANE            WA         99206                   6004            Various                                                                                             $9.00
CHANEL STRICKLAND                 227 NORTH 5TH STREET                                            MONTPELIER         ID         83254                   6004            Various                                                                                            $44.50
CHANELLE BAKER                    111 S 88TH ST                                                   OMAHA              NE         68114                   6004            Various                                                                                             $4.00
CHANELLE JUNTUNEN                 61 LEMHI RD                                                     SALMON             ID         83467                   6002            Various                                                                                             $7.64
CHANELLE MOORE                    817 N HARRINGTON AV                                             SIOUX FALLS        SD         57103                   6004            Various                                                                                             $5.00
CHANEY INSTRUMENT COMPANY         PO BOX 775494                                                   CHICAGO            IL         60677-5494              3811            Various                                                                                        $24,208.44
CHANGE HEALTHCARE LLC             PO BOX 98347                                                    CHICAGO            IL         60693-8347              2750            Various                                                                                        $13,592.15
CHANGE HEALTHCARE SOLUTIONS LL    PO BOX 572490                                                   MURRAY             UT         84157-2490              4848            Various                                                                                          $383.10
CHANGES                           88 36 77TH AVENUE                                               GLENDALE           NY         11385                   0272            Various                                                                                        $34,179.06
CHANKHAM THAMPHIA                 422 S 800TH E                                                   HYRUM              UT         84319                   6002            Various                                                                                             $2.49
CHANNING COTTER                   1447 RACINE RD.                                                 MENASHA            WI         54952                   6004            Various                                                                                             $2.00
CHANNING MODSCHIEDLER             W6499 BIRCH CREEK RD                                            MENOMINEE          MI         49858                   6004            Various                                                                                            $25.00
CHANNON COLLINS                   1117 4TH AVE S                                                  GREAT FALLS        MT         59405                   6002            Various                                                                                             $6.00
CHANSAMONE MANIVANH               3071 SO TIMERON DRIVE                                           SALT LAKE CITY     UT         84128                   6004            Various                                                                                            $24.00
CHANTAE BROWN                     119 N SVERDRUP                                                  JACKSON            MN         56143                   6004            Various                                                                                             $3.00
CHANTAL VANCE                     5474 BROCK WAY DR                                               SLC                UT         84117                   6002            Various                                                                                             $4.38
CHANTEL CHANEY                    4654 SPRING ST                                                  OMAHA              NE         68106                   6002            Various                                                                                             $4.71
CHANTEL THUMANN                   205 S 7TH ST                                                    PLATTSMOUTH        NE         68048                   6002            Various                                                                                             $0.66
                                  1825 S. YELLOWCREEK COURT
CHANTELLIA COLEMAN                APT 212                                                         FREEPORT           IL         61032                   6004            Various                                                                                           $107.00
CHANTHAKHAN THAO                  1126 GLACIER HILL DR                                            MADISON            WI         53704                   6004            Various                                                                                             $3.95
CHAPARRAL HIGH SCHOOL             467 N STATE ROAD 14                                             ANTHONY            KS         67003                   3706            Various                                                                                           $170.00
CHARCY BULLOCK                    334 HARRISON BLVD #3                                            KALISPELL          MT         59901                   6004            Various                                                                                            $23.00
CHAREL PITTS                      25385 GILLETTE CANYON RD                                        NEWCASTLE          WY         82701                   6002            Various                                                                                             $8.68
CHARICE ROBINSON                  5237 MESQUITE DR APT 1                                          POCATELLO          ID         83202                   6002            Various                                                                                             $2.74
CHARISSE M JORDAN                 2303 HIGHWAY 116                                                UPTON              WY         82730                   6002            Various                                                                                             $3.67




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                                                                                                                                                     Account         Incurred, Basis for
            Creditor Name                  Address1            Address2           Address3            City        State           Zip   Country      Number                Claim                                                                             Total Claim
                                                                                                                                                                     11/16/2018 -
CHARITON MUNICIPAL WATER DEPT    P.O. BOX 866                                                  CHARITON         IA        50049                   6001               12/17/2018                                                                                            $63.00
CHARITY JORDAN                   3886 W CALZADO DR                                             COEUR D ALENE    ID        83815                   6002               Various                                                                                                $6.22
CHARITY RHODE                    908 LAKE SUMMERSET RD                                         DAVIS            IL        61019                   6002               Various                                                                                                $7.67
CHARITY WATSON                   1114 1/2 WELLS ST.                                            MARINETTE        WI        54143                   6004               Various                                                                                               $10.00
CHARLA OVIEDO                    602 N HUNTINGTON ST                                           SYRACUSE         IN        46567                   6002               Various                                                                                                $7.73
CHARLA RATLIFF                   320 NW 68TH AVE                                               TRENTON          MO        64683                   6002               Various                                                                                                $8.68
CHARLAIE L BRANDON               3737 FM 253 RD                                                BUNA             TX        77612                   6002               Various                                                                                                $9.84
CHARLANE MEADOWS                 1646 E M-28 PC                                                MARQUETTE        MI        49855                   6002               Various                                                                                                $2.08
CHARLEEN FICK                    N15073 NBC LN                                                 AMBERG           WI        54102                   6004               Various                                                                                               $34.00
CHARLEEN HENRY                   507 WILSHIRE DR APT 2                                         BELLEVUE         NE        68005                   6002               Various                                                                                                $2.88
CHARLEEN MELLOTT                 24561 348TH AVE.                                              CHAMBERLAIN      SD        57325                   6004               Various                                                                                               $33.00
CHARLENE HANSEN                  24116 454TH AVE                                               MADISON          SD        57042                   6002               Various                                                                                                $2.52
CHARLENE JOHNSON                 16563 W CTY HWY DD                                            BIRCHWOOD        WI        54817                   6004               Various                                                                                                $5.00
CHARLENE M. BUCK                 442 POINT BASSE AVE                                           NEKOOSA          WI        54457                   6002               Various                                                                                                $0.27
CHARLENE MCCONNELL               PO BOX 189                                                    PIERCE           ID        83546                   6002               Various                                                                                                $2.41
CHARLENE MUSSER                  179 FOREST RD NE                                              KALKASKA         MI        49646                   6002               Various                                                                                                $0.44
CHARLENE PERRI                   5907 31ST AVE                                                 KENOSHA          WI        53144                   6002               Various                                                                                                $5.97
CHARLENE PITTMAN                 1882 12 3/4 AVE                                               CAMERON          WI        54822                   6002               Various                                                                                                $7.64
CHARLENE TIMM                    53 WESTMINSTER AVE                                            HOLMEN           WI        54636                   6002               Various                                                                                                $7.50
CHARLENE VANCAMP                 101 S 4TH ST                                                  DRAYTON          ND        58225                   6002               Various                                                                                                $8.05
CHARLENE ZYCHOWICZ               R461 COUNTY HIGHWAY U                                         EDGAR            WI        54426                   6004               Various                                                                                               $25.00
CHARLES A BIERMAN                PO BOX 46                                                     BREDA            IA        51436                   6002               Various                                                                                                $3.04
CHARLES A MCCUE                  9939 PRAIRIE ST                                               SAVANNA          IL        61074                   6002               Various                                                                                                $3.92
CHARLES A REYNOLDS               309 LOCUST ST                                                 DONIPHAN         MO        63935                   6002               Various                                                                                                $2.19
CHARLES A. CRABB                 408 W VAN BUREN ST                                            GALLATIN         MO        64640                   6002               Various                                                                                                $6.38
CHARLES A. JANECEK               22 ROBIN ST                                                   ALDA             NE        68810                   6002               Various                                                                                                $1.01
CHARLES ALBERTS                  307 SEIDL STREET                                              LUXEMBURG        WI        54217                   6004               Various                                                                                               $25.00
CHARLES ALLEN                    24905 COUNTY RD 75        APT 202                             SAINT AUGUSTA    MN        56301                   6004               Various                                                                                               $14.96
CHARLES BAKER                    15681 LAKESIDE DR                                             STERLING         IL        61081                   6002               Various                                                                                                $4.33
CHARLES BANNISTER                208 ELM ST                                                    ANITA            IA        50020                   6002               Various                                                                                                $3.92
CHARLES BAUMANN                  N2554 CTY KK                                                  MONROE           WI        53566                   6004               Various                                                                                               $25.00
CHARLES BECKER                   2442 27 1/2 AVE.                                              RICE LAKE        WI        54868                   6004               Various                                                                                               $25.00
CHARLES BELLAND                  40347 GRISLEY LN                                              NORTH BRANCH     MN        55056                   6004               Various                                                                                                $4.08
CHARLES BERG                     512 RIDGEWOOD DR                                              BELLEVUE         NE        68005                   6004               Various                                                                                               $50.80
CHARLES BERGLUND                 6256W U S HWY # 2                                             MANISTIQUE       MI        49854                   6002               Various                                                                                                $4.85
CHARLES BOOKS-STACHOSKI          4615 GLACIER VIEW DRIVE                                       MILTON           WI        53563                   6004               Various                                                                                               $20.00
CHARLES BORDEAUX                 PO BOX 1101                                                   MISSION          SD        57555                   6002               Various                                                                                                $6.90
CHARLES BOYER                    2047 HILLTOP DR                                               ARNOLD           MO        63010                   6002               Various                                                                                                $9.07
CHARLES BRIDENSTINE              3181 HUDSON DR                                                BRENTWOOD        CA        94513                   6002               Various                                                                                                $2.41
CHARLES BROWN                    1116 ROOSEVELT AVE                                            SALMON           ID        83467                   6002               Various                                                                                                $4.19
CHARLES BRUMITT                  408 S MICHIGAN AVE                                            NORCATUR         KS        67653                   6002               Various                                                                                                $6.03
CHARLES BUNNELL                  604 BEL AIR CT                                                KAUKAUNA         WI        54130                   6002               Various                                                                                                $8.52
CHARLES C BOYER                  RR 2 BOX 4748                                                 DONIPHAN         MO        63935                   6002               Various                                                                                                $5.84
CHARLES C FINLEY                 339 WESTERN AVE                                               BUFFALO          WY        82834                   6002               Various                                                                                                $0.68
CHARLES CARLSON                  4310 PARKWOOD DR                                              JANESVILLE       WI        53545                   6002               Various                                                                                                $5.01
CHARLES CICHA                    N4229 POPLAR ROAD                                             TONY             WI        54563                   6002               Various                                                                                                $2.03
CHARLES COLE                     1303 E 10TH STREET                                            TRENTON          MO        64683                   6002               Various                                                                                                $4.49
CHARLES COREY                    9293 ARROWHEAD DR                                             SAVANNA          IL        61074                   6002               Various                                                                                                $2.49
CHARLES CORMIER                  3925 AGAMAIPE ROAD                                            GREEN BAY        WI        54313                   6004               Various                                                                                                $4.00
CHARLES DAVID BENHAM             621 SPIKE STREET                                              NEWAYGO          MI        49337                   6002               Various                                                                                               $10.58
CHARLES DEWITT                   PO BOX 12345                                                  COLLEGE PLACE    WA        99324                   6004               Various                                                                                               $81.82
CHARLES DICKINSON                5667 S TREEBEARD RD                                           SALT LAKE CITY   UT        84129                   6002               Various                                                                                                $4.63
CHARLES DIETZ                    234 GARDEN DR                                                 BELVIDERE        IL        61008                   6002               Various                                                                                                $1.59




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                                                                                                                                                                                                Contingent


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                                                                                                                                                          Account         Incurred, Basis for
              Creditor Name                  Address1               Address2          Address3             City         State           Zip   Country     Number                Claim                                                                             Total Claim
CHARLES DUPREEZ                  3040 S 72ND ST APT 80                                             LINCOLN         NE           68506                 6002                Various                                                                                                $1.48
CHARLES E BISHOP                 409 SUPERIOR AVE                                                  OCONTO          WI           54153                 6002                Various                                                                                                $8.60
CHARLES E BURK                   1081 N ALLUMBAUGH ST                                              BOISE           ID           83704                 6002                Various                                                                                                $9.64
CHARLES E RADOLL                 636 WALKER ST                                                     POUND           WI           54161                 6002                Various                                                                                               $10.00
CHARLES FAZIO                    PO BOX 2035                                                       HAYDEN          ID           83835                 6004                Various                                                                                               $27.00
CHARLES FORCE                    171 LOCUST ST                                                     CHANDLERVILLE   IL           62627                 6004                Various                                                                                               $30.30
CHARLES FRASCHT                  1988 290TH ST                                                     GARNER          IA           50438                 6002                Various                                                                                                $4.90
CHARLES FULLER                   402 SOUTH GARFIELD                                                BURLINGTON      IA           52601                 6004                Various                                                                                               $19.00
CHARLES FULTS                    2140 CARNEY DR                                                    OROFINO         ID           83544                 6002                Various                                                                                                $0.58
CHARLES GARMON                   506 PINE STREET                                                   DELAVAN         WI           53115                 6004                Various                                                                                               $49.50
                                 650 WESTWOOD AVENUE APT
CHARLES GEB                      B01                                                               KINGSFORD       MI           49802                  6004               Various                                                                                            $21.00
CHARLES GERDES                   1112 7TH ST                                                       AUBURN          NE           68305                  6002               Various                                                                                             $2.19
CHARLES GILMORE                  2360 MICHIGAN AVE                                                 OROFINO         ID           83544                  6002               Various                                                                                             $1.51
CHARLES GOUCHENOUR               921 CEDAR AVE                                                     SHELBY          MT           59474                  6002               Various                                                                                             $2.90
CHARLES GRAY                     309 N CLAY ST                                                     GALLATIN        MO           64640                  6002               Various                                                                                             $2.99
CHARLES GRINDEY                  205 E MAIN                                                        WARREN          IL           61087                  6004               Various                                                                                           $251.52
CHARLES GUETZKE                  23216 U S HWY 151                                                 CHILTON         WI           53014                  6004               Various                                                                                            $32.00
CHARLES HAWS                     W929 COUNTY RD B                                                  MARINETTE       WI           54143                  6004               Various                                                                                            $23.00
CHARLES HODGE                    RR 1 BOX 2307                                                     DONIPHAN        MO           63935                  6002               Various                                                                                             $5.97
CHARLES HULL                     W3088 KRUEGER RD                                                  SEYMOUR         WI           54165                  6002               Various                                                                                             $0.55
CHARLES HULLET                   7930 S. 36TH SDT                                                  LINCOLN         NE           68516                  6004               Various                                                                                            $24.98

CHARLES III HOOVER               109 E COUNTRY RIDGE CT APT 5                                      HAYDEN          ID           83835                  6002               Various                                                                                                $4.52
CHARLES J MONIZ                  N10514 N PINE RD                                                  TOMAHAWK        WI           54487                  6002               Various                                                                                                $2.99
CHARLES JACKSON                  36689 410TH AVE                                                   AITKIN          MN           56431                  6002               Various                                                                                                $4.85
CHARLES JAMES                    5035 FORT KEARNEY RD                                              GRAND ISLAND    NE           68801                  6004               Various                                                                                               $12.07
CHARLES JOHNSON                  1569 CTY RD D                                                     GLENWOOD CITY   WI           54013                  6004               Various                                                                                                $1.00
CHARLES K REYNOLDS               309 LOCUST ST                                                     DONIPHAN        MO           63935                  6002               Various                                                                                                $5.62
CHARLES KELLER                   5626 SORREL DR                                                    CHUBBUCK        ID           83202                  6004               Various                                                                                               $15.00
CHARLES KNEATH                   930 PARNELL ST                                                    MARINETTE       WI           54143                  6004               Various                                                                                                $7.99
CHARLES L GASSNER                7303 LAUREL RD                                                    WAUSAU          WI           54401                  6002               Various                                                                                                $9.01
CHARLES L JOHNSON (AMM)          RR 8 BOX 8839                                                     DONIPHAN        MO           63935                  6002               Various                                                                                                $2.30
CHARLES L RAY                    103 S MILL ST                                                     CAMARGO         IL           61919                  6002               Various                                                                                                $9.86
CHARLES LARSON                   20 NORTH ELLIOT AVE.           APT 23                             RUSH CITY       MN           55069                  6004               Various                                                                                                $3.00
CHARLES LAWSON                   1666 PUMP FACTORY RD                                              DIXON           IL           61021                  6002               Various                                                                                                $2.06
CHARLES LECY                     1836 610TH ST                                                     ECHO            MN           56237                  6004               Various                                                                                               $23.00
CHARLES LIENEMANN                1002 TOWNSEND ST                                                  GLENWOOD        IA           51534                  6002               Various                                                                                                $2.74
CHARLES M MOORE                  564 S DAY ST                                                      POWELL          WY           82435                  6002               Various                                                                                                $8.33
CHARLES MARQUEZ                  3591 COUNTY EE                                                    FISH CREEK      WI           54212                  6002               Various                                                                                                $2.90
CHARLES MARSALLA                 2931 MYRTLE DR                                                    BILLINGS        MT           59102                  6002               Various                                                                                                $0.63
CHARLES MARYOTT                  3325 L AVE                                                        WALTHILL        NE           68067                  6002               Various                                                                                                $4.96
CHARLES MC INTYRE                2827 VIKING DRIVE                                                 GREEN BAY       WI           54304                  6004               Various                                                                                                $1.00
CHARLES MILLER                   PO BOX 73                                                         COPPER HARBOR   MI           49918                  6002               Various                                                                                                $8.99
CHARLES MITCHELL                 5100 BRANSFORD RD                                                 COLLEYVILLE     TX           76034                  6002               Various                                                                                               $10.00
CHARLES MIX COUNTY COURTHOUSE    PO BOX 490                                                        LAKE ANDES      SD           57356                  6666               Various                                                                                               $13.98
CHARLES MULLEN                   762 RIVERSIDE DR                                                  SUAMICO         WI           54173                  6002               Various                                                                                                $6.55
CHARLES N VEATCH                 1703 E 4TH ST                                                     TRENTON         MO           64683                  6002               Various                                                                                                $6.16
CHARLES NELSON                   1909 LAKE POINT DR APT 3                                          MADISON         WI           53713                  6002               Various                                                                                               $13.28
CHARLES OESTREICH                2008 MAPLE RD                                                     RUDOLPH         WI           54475                  6002               Various                                                                                               $10.00
CHARLES OPELA                    59 AVE # 40                                                       STAPLETON       NE           69163                  6002               Various                                                                                                $0.82
CHARLES OSTRANDER                12855 JEROME AVE                                                  OROFINO         ID           83544                  6002               Various                                                                                                $1.70
CHARLES PARR                     411 EAST LIBERTY STREET                                           ADAMS           WI           53910                  6002               Various                                                                                                $4.49
CHARLES PESOLA                   1928 DARLINGTON DR                                                KALISPELL       MT           59901                  6002               Various                                                                                                $1.75




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CHARLES PETE                   914 10TH AVE                                                       BELVIDERE         IL         61008                 6002                Various                                                                                                $8.14
CHARLES PIKALEK                212 GROVE ST                                                       FREDERICKSBURG    IA         50630                 6002                Various                                                                                                $3.95
CHARLES POSPISIL               605 SOUTH SCHOOL ST.                                               WILBER            NE         68465                 6004                Various                                                                                               $10.00
CHARLES PUTNAM                 BOX 514                                                            AFTON             WY         83110                 6002                Various                                                                                                $7.86
CHARLES R NICHOLS              5760 HURON ST BOX # 80                                             BUTTE DES MORTS   WI         54927                 6002                Various                                                                                                $7.84
CHARLES R PHILLIPS             424 W 13TH ST                                                      LARNED            KS         67550                 6002                Various                                                                                                $8.49
CHARLES R SWEEZEY              6620 GREEN HWY                                                     TECUMSEH          MI         49286                 6002                Various                                                                                                $7.18
CHARLES R. CAMPBELL            714 S 6 1/2 TH ST                                                  MONMOUTH          IL         61462                 6002                Various                                                                                                $2.27
CHARLES RAMSEY                 1124 24 STREET                                                     CAMERON           WI         54822                 6004                Various                                                                                                $3.00
CHARLES REV. HIEBL             417 CAROLINE POBOX # 206                                           ATHENS            WI         54411                 6002                Various                                                                                                $2.52
                                                              W7356 LEE ANN
CHARLES RUDE                   C/O CRAIG NIEMAS               LANE                                ELKHORN           WI         53121                  6002               Various                                                                                            $10.43
CHARLES SAUSEN                 W6985 NEWLAND RD                                                   BLACK CREEK       WI         54106                  6004               Various                                                                                            $19.00
CHARLES SCHALOW                PO BOX 92                                                          WILMONT           MN         56185                  6002               Various                                                                                             $0.99
CHARLES SCHRAM                 18306 18TH ST                                                      PLATTSMOUTH       NE         68048                  6002               Various                                                                                             $3.53
CHARLES SCHRIVER               126 E CHURCH AVE                                                   STEEN             MN         56173                  6004               Various                                                                                            $61.60
CHARLES SELF                   1121 S 600TH W                                                     TREMONTON         UT         84337                  6002               Various                                                                                             $1.18
CHARLES SHEPARD                PO BOX 180                                                         NISLAND           SD         57762                  6002               Various                                                                                             $0.41
CHARLES SIMONO                 6139 HWY 32 N                                                      ARGONNE           WI         54511                  6004               Various                                                                                           $167.97
CHARLES SITZWOHL               75 E 14TH ST                                                       CLINTONVILLE      WI         54929                  6002               Various                                                                                             $6.49
CHARLES SOUTH                  200 W 17TH ST APT 105                                              LARNED            KS         67550                  6002               Various                                                                                             $1.95
CHARLES SPRAGUE                2402 RIDGEVIEW DR              APT 106                             EAU CLAIRE        WI         54701                  6004               Various                                                                                             $2.00
CHARLES SR HEMPHILL            RR 8 BOX 7068                                                      DONIPHAN          MO         63935                  6002               Various                                                                                             $2.85
CHARLES STENHJEM               834 8TH AVENUE                                                     HELENA            MT         59601                  6004               Various                                                                                             $2.00
CHARLES STUCKMAN               8783 E HATCHERY RD                                                 SYRACUSE          IN         46567                  6002               Various                                                                                             $9.42
CHARLES TAYLOR                 3639 N 6TH STREET              APT. 3                              WAUSAU            WI         54403                  6004               Various                                                                                            $18.44
CHARLES THOMPKINS              5902 55TH ST APT 13                                                KENOSHA           WI         53144                  6002               Various                                                                                             $6.14
CHARLES TOCKEY                 200 E PARK                                                         HASTINGS          NE         68901                  6004               Various                                                                                            $16.00
CHARLES TRUSCON JR             623 SPRUCE ST                                                      MARQUETTE         MI         49855                  6002               Various                                                                                             $5.40
CHARLES VANAUSDOLL             1920 MARY ST TRLR 10                                               SALMON            ID         83467                  6002               Various                                                                                             $9.48
CHARLES VASAPOLLI              403 GILLETTE ST APT 212                                            LA CROSSE         WI         54603                  6002               Various                                                                                             $0.74
CHARLES VOSHELL                1601 E F ST LOT 76                                                 TORRINGTON        WY         82240                  6002               Various                                                                                             $7.37
CHARLES W HAMPSHIRE            633 W JAMES ST APT G16                                             COLUMBUS          WI         53925                  6002               Various                                                                                             $8.88
CHARLES WAUDA                  N144 ROGERS LN                                                     APPLETON          WI         54915                  6002               Various                                                                                             $6.60
CHARLES WENNING                PO BOX 346                                                         CONNER            MT         59827                  6002               Various                                                                                             $5.64

CHARLES WESTERGEREN            3487 S JOLES PARKWAYS LOT 34                                       CHIPPEWA FALLS    WI         54729                  6004               Various                                                                                                $4.00
CHARLES WILLIAMS               617 MARCLARE STREET            APT 5                               DIXON             IL         61021                  6002               Various                                                                                                $4.49
CHARLES WOODINGS               4094 WISTERIA WAY                                                  BOISE             ID         83713                  6004               Various                                                                                               $11.00
CHARLES WORRICK III            964 WALKERS ST                                                     JANESVILLE        WI         53545                  6004               Various                                                                                                $1.00
CHARLETTE GALSTER              1526 FREDERICK ST                                                  JANESVILLE        WI         53548                  6002               Various                                                                                                $4.82
CHARLI DOBSON                  PO 1447                                                            COLUMBIA FALLS    MT         59912                  6004               Various                                                                                               $10.00
CHARLICE YOUNG                 109 E 11TH ST                                                      DULUTH            MN         55805                  6004               Various                                                                                                $3.00
CHARLIE ANDERSON               61259 KIMBELE COURT                                                MADISON LAKE      MN         56063                  6004               Various                                                                                                $5.60
CHARLIE BARKER                 1528 BURRELL AVE                                                   LEWISTON          ID         83501                  6002               Various                                                                                                $1.67
CHARLIE BRADY                  21930 581ST AVE #27                                                AUSTIN            MN         55912                  6004               Various                                                                                                $3.00
CHARLIE R KOLOSSO              1516 N BENNETT ST                                                  APPLETON          WI         54914                  6002               Various                                                                                                $2.96
CHARLIE THOR                   2739 DIVISON ST                                                    SIOUX CITY        IA         51104                  6004               Various                                                                                               $25.00
CHARLOTTE ACKERMAN             616 8TH AVE APT 108                                                MONROE            WI         53566                  6002               Various                                                                                                $5.81
CHARLOTTE ANDY                 4305 AHTANUM RD.                                                   YAKIMA            WA         98903                  6004               Various                                                                                               $30.02
CHARLOTTE BAKER                601 N LINCOLN ST                                                   THORP             WI         54771                  6004               Various                                                                                                $4.00
CHARLOTTE BALLIEU              35 SKULL CREEK RD                                                  OSAGE             WY         82723                  6002               Various                                                                                                $2.49
CHARLOTTE BENNETT              PO BOX 566                                                         TOPPENISH         WA         98948                  6004               Various                                                                                               $49.00
CHARLOTTE BEYER                521 BURTON CIR                                                     ELLSWORTH         WI         54011                  6002               Various                                                                                               $12.49




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              Creditor Name                Address1                Address2         Address3             City          State         Zip     Country     Number                Claim                                                                             Total Claim
CHARLOTTE CLARK                614 W HURLBUT AVE                                                 BELVIDERE          IL         61008                 6002                Various                                                                                             $8.36
CHARLOTTE FISHER               832 FREDRICK ST                                                   OSHKOSH            WI         54901                 6002                Various                                                                                             $4.79
CHARLOTTE FORSYTH              2504 W LAKE RD H                                                  HART               MI         49420                 6002                Various                                                                                             $6.55
CHARLOTTE GREEN                545 E 2ND ST APT 325                                              WEISER             ID         83672                 6002                Various                                                                                             $1.10
CHARLOTTE HARTWIG              N2595 CARNIE RD                                                   MONROE             WI         53566                 6002                Various                                                                                             $6.36
CHARLOTTE HUSSLI               212 SEIPPEL BLVD APT 310                                          BEAVER DAM         WI         53916                 6002                Various                                                                                             $5.45
CHARLOTTE KINGSBURY            118 N CHERRY ST                                                   MOUNT CARMEL       IL         62863                 6002                Various                                                                                            $10.00
CHARLOTTE LANDERS              3457 HWY # 12 PMB 431                                             OROFINO            ID         83544                 6002                Various                                                                                             $0.82
CHARLOTTE PARDOWSKY            1910 MELODY LN                                                    TWO RIVERS         WI         54241                 6002                Various                                                                                             $2.96
CHARLOTTE PATRICK              903 GREENFIELD P O BOX # 941                                      POWELL             WY         82435                 6002                Various                                                                                             $9.37
CHARLOTTE PLOTTS               201 E ONEONTA BOX # 58                                            NORCATUR           KS         67653                 6002                Various                                                                                             $3.75
CHARLOTTE RATZ                 201 N PARK LN                                                     CLINTONVILLE       WI         54929                 6002                Various                                                                                             $4.60
CHARLOTTE RUCHTI               1000 MORNING VIEW RD                                              LANCASTER          WI         53813                 6002                Various                                                                                             $6.58
CHARLOTTE SHADDEN              2741 320TH ST                                                     CHELSEA            IA         52215                 6002                Various                                                                                             $0.66
CHARLOTTE SPECHT               813 3RD AVE SW                                                    GREAT FALLS        MT         59404                 6002                Various                                                                                             $8.03
CHARLOTTE THOMAS               PO BOX 5594                                                       MISSOULA           MT         59801                 6004                Various                                                                                            $59.99
CHARLOTTE VANCUICK             W3793 W HIGHVIEW DR                                               APPLETON           WI         54914                 6002                Various                                                                                             $6.49
CHARLTON VANCE                 208 E MUTTON HOLLOW ROAD                                          KAYSVILLE          UT         84037                 6004                Various                                                                                            $29.97
CHARLYNE FANTH                 43709 260TH LN                                                    AITKIN             MN         56431                 6002                Various                                                                                             $6.55
CHARMAINE NORLANDER            1300 50TH ST NW                                                   ROCHESTER          MN         55901                 6002                Various                                                                                             $7.12
CHARMAINE SMITH                2826 U AVE                                                        OMAHA              NE         68107                 6004                Various                                                                                             $2.00
CHARMAINE SUBERLA              1444 BROWNDEER AVE                                                ARKDALE            WI         54613                 6002                Various                                                                                             $6.19
CHARNA MRSNY                   323 S MAIN ST                                                     WAYNE              NE         68787                 6002                Various                                                                                             $7.84
CHASE AUSTIN                   1314 S SUMMER RANGE RD                                            DE PERE            WI         54115                 6002                Various                                                                                             $9.10
CHASE EVERSON                  629 1/2 RUBLE AVE                                                 ALBERT LEA         MN         56007                 6004                Various                                                                                             $3.00
CHASE JENSEN                   63 N 200TH E                                                      BRIGHAM CITY       UT         84302                 6002                Various                                                                                             $1.51
CHASE JOHNSON                  203 WASHINGTON ST                                                 ALBANY             WI         53502                 6004                Various                                                                                             $2.00
CHASE KELCH                    1514 BEECHWOOD DR                                                 WAUSAU             WI         54401                 6004                Various                                                                                             $3.00
CHASE KEPLINGER                UPDATE                                                            UPDATE             MI         12345                 6002                Various                                                                                             $9.29
CHASE KETTERING                795 GREEN OAKS DR,                                                SALT LAKE CITY     UT         84123                 6004                Various                                                                                            $25.00
CHASE KLEIN                    872 E. 1100 N.                                                    OGDEN              UT         84404                 6004                Various                                                                                            $10.00
CHASE PETERS                   407 SENECA ST                                                     MOHAWK             MI         49950                 6002                Various                                                                                            $10.00
CHASE SIEBERT                  1373 SWAN RD                                                      DE PERE            WI         54115                 6004                Various                                                                                            $44.00
CHASE WINGFIELD                4756 MONTROSE DR                                                  MISSOULA           MT         59808                 6004                Various                                                                                          $295.95
CHASTA RINIKER                 1307 AVON ST                                                      LA CROSSE          WI         54603                 6002                Various                                                                                            $10.00
CHASTITY MCCHARGUE             851 E RIVER RD                                                    THERMOPOLIS        WY         82443                 6002                Various                                                                                             $5.34
CHASTITY SLEETER               7903 AZALEA ROAD                                                  WAUSAU             WI         54401                 6004                Various                                                                                            $39.49
CHATANIA RICHIE                1761 POOLE COURT                                                  BELOIT             WI         53511                 6004                Various                                                                                            $60.00
CHATEAU BODYWEAR USA INC       215 ST ZOTIQUE WEST                                               MONTREAL           QC         H2V 1A2      CANADA 1039                  Various                                                                                        $14,242.91
CHATTEM LABORATORIES           PO BOX 100770                                                     ATLANTA            GA         30384-0770            9804                Various                                                                                       $121,026.37
CHAUNNETTA THOMAS              213 NORTH BREARLY ST.          APT. 3                             MADISON            WI         53703                 6004                Various                                                                                             $2.00
CHAVINTINA GADZINSKI           1726 A N9TH STREET                                                SHEBOYGAN          WI         53081                 6004                Various                                                                                             $1.00
CHAWENGCHAI SRITHUMMAWONG      345 BUCHANNAN                                                     POCATELLO          ID         83201                 6002                Various                                                                                             $4.25
CHAY PARSONS                   1822 LAKE AVE                                                     GOTHENBURG         NE         69138                 6002                Various                                                                                             $5.15
CHAY YANG                      322 W 15TH AVE                                                    OSHKOSH            WI         54901                 6004                Various                                                                                             $8.02
CHAYA HERA                     909 SUMMER ST.                                                    EAU CLAIRE         WI         54701                 6004                Various                                                                                             $9.99

CHAYANE SARVER                 491 PEPPER AVENUE                                                 WISCONSIN RAPIDS   WI         54494                   6004              Various                                                                                               $11.00

CHAYLEE BRISON                 1711 SPENCER ST                APT. B                             WISCONSIN RAPIDS   WI         54495                   6004              Various                                                                                                $3.00
CHAYNE HALLBERG                3545 GOLD DUST DR                                                 HELENA             MT         59602                   6002              Various                                                                                                $7.12
CHAZ NEAL                      104 1ST ST SW                                                     GRAND MEADOW       MN         55936                   6004              Various                                                                                                $3.00

CHAZ ROBERTS                   10123 S RIVERCREEK RUNWAY #                                       SOUTH JORDAN       UT         84070                   6002              Various                                                                                                $1.95




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             Creditor Name                          Address1            Address2          Address3              City       State         Zip    Country     Number                Claim                                                                             Total Claim
CHAZ T BENBOE                           37 WASHINGTON ST TRLR 47                                       BILLINGS         MT         59101                6002                Various                                                                                             $3.62
CHAZ WILLIAMS                           1951 E. 5685 S.                                                SALT LAKE CITY   UT         84121                6004                Various                                                                                            $10.02
CHAZZ TOLZMANN                          N7721 CARIMAUNEE DRIVE                                         PORTAGE          WI         53901                6004                Various                                                                                             $3.00
CHEE YANG                               3921 NASSAU BLVD                                               PLOVER           WI         54467                6004                Various                                                                                            $25.00
CHEETAH DIGITAL INC                     22807 NETWORK PLACE                                            CHICAGO          IL         60673-1228           5907                Various                                                                                        $52,250.00
                                                                                                                                                                            11/29/2018 -
CHELAN COUNTY PUBLIC UTILITY DISTRICT   P.O. BOX 1231                                                  WENATCHEE        WA         98807-1231            0                  12/26/2018                                                                                      $2,489.25
CHELCIE BEAUCHAINE                      210 E CONGRESS ST                                              NORA SPRINGS     IA         50458                 6002               Various                                                                                             $1.32
CHELISE ROBSON                          3741 DUDLEY                                                    EAST HELENA      MT         59635                 6004               Various                                                                                            $11.00
CHELLEY JENNINGS                        265 E ELVA ST                                                  IDAHO FALLS      ID         83402                 6002               Various                                                                                             $6.00
CHELSEA BARNICK                         908 ELIZABETH AVE                                              MARINETTE        WI         54143                 6002               Various                                                                                             $5.75
CHELSEA BRIDGES                         1725 WEIMER                                                    BURLINGTON       IA         52601                 6004               Various                                                                                            $20.00
CHELSEA DAUN                            N8947 WILLOW LN                                                MENASHA          WI         54952                 6004               Various                                                                                            $10.00
CHELSEA DAVIS                           P O BOX 130                                                    LAKE DELTON      WI         53940                 6004               Various                                                                                            $21.00
CHELSEA FABBRI                          406 NORTH COLBY ST                                             BESSEMER         MI         49911                 6004               Various                                                                                            $53.00
CHELSEA GOAD                            310 NORTH SCOTT STREET                                         ALEXIS           IL         61412                 6004               Various                                                                                            $26.00
CHELSEA GRAHN                           N8498 ARCADE GLEN                                              RIPON            WI         54971                 6004               Various                                                                                             $6.50
CHELSEA GRUSCZYNSKI                     4454 ANSTON RD                                                 GREEN BAY        WI         54313                 6002               Various                                                                                             $3.59
CHELSEA JENNINGS                        1924 E ST MARIES AVE                                           COEUR D ALENE    ID         83814                 6002               Various                                                                                             $8.44
CHELSEA JESKE-MCDOWELL                  PO BOX 793                                                     HELENA           MT         59624                 6004               Various                                                                                            $22.00
CHELSEA LETSON                          2321 E PINE TREE CT                                            MILTON           WI         53563                 6002               Various                                                                                             $5.53
CHELSEA LOWTHER                         BOX 303                                                        MC CAMMON        ID         83250                 6002               Various                                                                                             $1.40
CHELSEA M MICKE                         114 LAMINE LN                                                  APPLETON         WI         54915                 6002               Various                                                                                             $1.92
CHELSEA MORDEN                          210 S 2ND AVE                                                  OSHKOSH          WI         54901                 6002               Various                                                                                             $8.11
CHELSEA PHALEN                          13633 HASKELL ST                                               OMAHA            NE         68144                 6004               Various                                                                                             $2.00
CHELSEA SCHWAEGERL                      1406 WALDORF BLVD                                              MADISON          WI         53719                 6004               Various                                                                                             $2.00
CHELSEA T BLIETZ                        260 S PLUM ST                                                  ELLSWORTH        WI         54011                 6002               Various                                                                                             $6.14
CHELSEA WATTS                           433 MAPLE ST APT 1                                             IDAHO FALLS      ID         83402                 6002               Various                                                                                             $3.84
CHELSEA WEBBER                          RR 9 BOX 1060                                                  GATEWOOD         MO         63942                 6002               Various                                                                                             $4.38
CHELSEA WELLES                          2709 TEAL AVE.                                                 WAUSAU           WI         54403                 6004               Various                                                                                            $23.00
CHELSEA WILSON                          2443 FM 1488 APT 1722                                          CONROE           TX         77384                 6002               Various                                                                                             $0.85
CHELSEY ADAMS                           3254 W KATHY LOOP APT 121                                      COEUR D ALENE    ID         83815                 6002               Various                                                                                             $7.70
CHELSEY BURROS                          917 E MARK ST                                                  WINONA           MN         55987                 6004               Various                                                                                             $3.00
CHELSEY CONIGLIARO                      1409 SUPERIOR AVE                                              OCONTO           WI         54153                 6004               Various                                                                                            $25.00
CHELSEY DETERMAN                        50009 W SPARROW LN                                             LINCOLN          NE         68528                 6004               Various                                                                                            $31.00
CHELSEY IMM                             1020 S SUNNYVALE LN         UNIT G                             MADISON          WI         53713                 6004               Various                                                                                            $25.00
CHELSEY ISDER                           704 2ND AVENUE                                                 BREWSTER         MN         56119                 6004               Various                                                                                             $3.00
CHELSEY KAUFFMAN                        691 6TH STREET SW                                              WELLS            MN         56097                 6004               Various                                                                                             $3.00
CHELSEY L CRAVEN                        210 E DIVISION ST LOT 22                                       NEILLSVILLE      WI         54456                 6002               Various                                                                                             $6.58
CHELSEY L SWIGGUM                       721 S 23RD ST                                                  MANITOWOC        WI         54220                 6002               Various                                                                                            $10.00
CHELSEY LEHNHERR                        1008 4TH ST SE                                                 ROCHESTER        MN         55904                 6004               Various                                                                                             $3.00
CHELSEY NICKOLITE                       19700 W KELLY AVE                                              HERSHEY          NE         69143                 6002               Various                                                                                             $1.34
CHELSEY SCHEEVEL                        803 3 1/2 AVE NW                                               BYRON            MN         55920                 6004               Various                                                                                             $3.00
CHELSEY SOBOTTA                         4212 SAPPHIRE LN NW                                            ROCHESTER        MN         55901                 6002               Various                                                                                             $2.63
CHELSEY SWENSON                         405 12TH AVE SW                                                AUSTIN           MN         55912                 6004               Various                                                                                             $3.00
CHELSEY TIFFT                           13179 SD HIGHWAY 79                                            REVA             SD         57651                 6002               Various                                                                                             $2.90
CHELSEY VERTZ                           2174 BALSAM WAY                                                GREEN BAY        WI         54313                 6004               Various                                                                                             $8.00
CHELSI MARISCAL                         2015 AVE B                                                     PLATTSMOUTH      NE         68048                 6004               Various                                                                                            $10.00
CHELSIE FREDRICKSON                     504 W CLARK ST                                                 LYMAN            WY         82937                 6002               Various                                                                                            $10.00
CHELSIE THORNTON                        901 1/2 6TH ST NW                                              AUSTIN           MN         55912                 6004               Various                                                                                            $24.00
CHELT DEVELOPMENT LLC                   PO BOX 992                                                     WAUSAU           WI         54403                 0818               Various                                                                                         $4,432.00
CHENG FENG HER                          602 W STROWBRIDGE ST                                           WAUSAU           WI         54401                 6004               Various                                                                                             $3.00
CHEOL HAN                               7 S BIRCH ST                                                   LANSE            MI         49946                 6002               Various                                                                                             $9.37
CHER DAVIDSON-WATHNE                    28538 350TH AVE                                                ROSEAU           MN         56751                 6002               Various                                                                                             $7.78




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                                                                                                                                                                                                                                     Claim subject to offset?
                                                                                                                                                                                                           Unliquidated
                                                                                                                                                                                              Contingent


                                                                                                                                                                                                                          Disputed
                                                                                                                                                     Last 4 Digits of     Date Debt was
                                                                                                                                                        Account         Incurred, Basis for
              Creditor Name                   Address1              Address2          Address3             City        State         Zip    Country     Number                Claim                                                                             Total Claim
CHEREE OAKES                      97 LAKE CREEK RD                                                 SALMON           ID         83467                6002                Various                                                                                             $2.66
CHERI CHEECHOV                    1581 S 2000 W                 UNIT A                             SYRACUSE         UT         84075                6004                Various                                                                                            $15.00
CHERI DIMICK                      3003 CTY RD N                                                    MILLADORE        WI         54454                6002                Various                                                                                             $8.60
CHERI GUY                         N4512 HWY S                                                      PLYMOUTH         WI         53073                6004                Various                                                                                            $62.00
CHERI HOFF                        PO BOX 284                                                       WEST GLACIER     MT         59936                6002                Various                                                                                             $7.86
CHERI HURLEY                      PO BOX 474                                                       VALIER           MT         59486                6002                Various                                                                                             $1.40
CHERI JENSEN                      1150 E RUSTIC RD                                                 APPLETON         WI         54911                6002                Various                                                                                             $4.58
CHERI LOFTUS                      6685 W DOUGLAS ST                                                BOISE            ID         83704                6002                Various                                                                                             $5.95
CHERI MCHARGUE                    503 TOWN AND COUNTRY LN                                          TRENTON          MO         64683                6002                Various                                                                                             $0.66
CHERI STEWART                     203 MAIN ST PO BOX # 403                                         WEIPPE           ID         83553                6002                Various                                                                                             $1.40
CHERI TINGEY                      405 S 4TH AVE                                                    POCATELLO        ID         83201                6002                Various                                                                                             $1.95
CHERI TRUSSLER                    165 S WALWORTH STREET                                            DARIEN           WI         53114                6004                Various                                                                                            $20.00
CHERIE BRYANT                     4459 REDCHERRY CIR                                               SALT LAKE CITY   UT         84120                6004                Various                                                                                            $10.98
CHERIE D. BENDIX                  405 7TH ST PO BOX # 343                                          ALMA             NE         68920                6002                Various                                                                                             $9.04
CHERIE L BLIGH                    107 E 7TH ST APT 4                                               STUART           NE         68780                6002                Various                                                                                             $9.64
CHERIE L ESTON                    323 E LAFAYETTE ST                                               PALMYRA          MO         63461                6002                Various                                                                                             $8.05
CHERIE PETERSON                   10185 N 20TH AVE                                                 MERRILL          WI         54452                6002                Various                                                                                             $7.73
CHERIE SCHMACKLE                  W240 N7181 MAPLE AVE                                             SUSSEX           WI         53089                6002                Various                                                                                             $5.81
CHERIE SPARKMAN                   1001 ROSE HILL RD                                                KAUKAUNA         WI         54130                6002                Various                                                                                             $9.32
CHERIE WIIK                       929 AIRWAY AVE                                                   LEWISTON         ID         83501                6004                Various                                                                                            $58.00
CHERILYN REN HEXUM                3900 S 11TH ST APT 101                                           GRAND FORKS      ND         58201                6002                Various                                                                                             $5.23
CHERILYN SEARLS                   245 N COLUMBIA ST                                                POST FALLS       ID         83854                6002                Various                                                                                             $1.84
CHERISE MCGEHEE                   BOX 852                                                          MT VIEW          WY         82939                6002                Various                                                                                             $8.22
CHERISH PORTILLO                  2315 PARK LN SE                                                  ROCHESTER        MN         55904                6004                Various                                                                                             $3.00
CHEROL BRANCH                     1023 COOPER ST                                                   MISSOULA         MT         59802                6004                Various                                                                                            $20.00
CHERRELL HEROUX                   1787 LOST LANE                                                   GREEN BAY        WI         54302                6004                Various                                                                                            $21.85
CHERRI FRY                        310 OLD HWY 16 EAST                                              RIO              WI         53960                6004                Various                                                                                          $140.80
CHERRI SEPPALA                    45248 SD HIGHWAY 28                                              LAKE NORDEN      SD         57248                6002                Various                                                                                             $0.96
CHERRIE MARTIN                    1827 295TH AVENUE                                                MORA             MN         55051                6002                Various                                                                                             $4.16
CHERRIE ROUTHIER                  APT #12                       9060 7TH STREET                    PORTWING         WI         54865                6002                Various                                                                                            $17.29
CHERRIE STANGER                   57 SUNSET DR                                                     LAYTON           UT         84041                6002                Various                                                                                             $9.97
CHERRISSE A ANDERSON              404 S 200TH E                                                    BRIGHAM CITY     UT         84302                6002                Various                                                                                             $2.14
CHERRY CENTRAL COOPERATIVE INC    PO BOX 988                                                       TRAVERSE CITY    MI         49685-0988           0199                Various                                                                                        $55,204.66
CHERRY OPTICAL INCORPORATED       1604B FIRE LANE DRIVE                                            GREEN BAY        WI         54311                8505                Various                                                                                        $18,496.84
CHERRY S ALLEN                    HC 7 BOX 59                                                      DONIPHAN         MO         63935                6002                Various                                                                                             $0.55
CHERYL A KEEN                     304 4TH ST                                                       WAUNAKEE         WI         53597                6002                Various                                                                                             $6.11
CHERYL A SCHOONOVER               3724 HALSEY ST                                                   EAU CLAIRE       WI         54701                6002                Various                                                                                             $0.66
CHERYL A WALTON                   710 W MAPLE ST                                                   LANCASTER        WI         53813                6002                Various                                                                                             $4.66
CHERYL A. SCHWARTZ                N2586 RICHLAND RD                                                MONROE           WI         53566                6002                Various                                                                                             $0.44
CHERYL ALLEN                      517 EAST 4TH STREEET APT 11                                      ALBERT LEA       MN         56007                6004                Various                                                                                             $3.00
CHERYL ANN CHARLES                39127 HARDER PKWY                                                NORTH BRANCH     MN         55056                6002                Various                                                                                             $3.23
CHERYL BLACKBURN-HOLDEN           2362 HIGHWAY 93 N                                                NORTH FORK       ID         83466                6002                Various                                                                                             $3.26
CHERYL BOHN                       813 MEMORIAL DRIVE                                               KEWASKUM         WI         53040                6004                Various                                                                                             $2.31
CHERYL BREITKREUTZ                1301 AVE J                                                       WISNER           NE         68791                6002                Various                                                                                             $9.81
CHERYL BRODSHO                    385 10TH STREET               PO BOX311                          WELLS            NV         89835                6004                Various                                                                                             $5.00
CHERYL BURGAN                     328 S. 300 E.                                                    BRIGHAM CITY     UT         84302                6004                Various                                                                                            $10.00
CHERYL C. BROWN                   109 CANAL DR                                                     LINDON           UT         84042                6002                Various                                                                                             $5.81
CHERYL CARPENTER                  1000 TRAILS END RD TRLR # 4                                      HELENA           MT         59602                6002                Various                                                                                             $0.66
CHERYL CHAPMAN                    1312 ROOSEVELT DRIVE                                             WEST BEND        WI         53095                6004                Various                                                                                            $25.00
CHERYL CLAEYS                     3217 MAPLEWOOD ST                                                SIOUX CITY       IA         51104                6002                Various                                                                                             $8.00
CHERYL CLARENBACH                 498 RUGGLES ST                                                   FOND DU LAC      WI         54935                6004                Various                                                                                            $44.00
CHERYL COLLINS                    327 W GRAND AVE APT 12                                           BELOIT           WI         53511                6002                Various                                                                                             $0.66
CHERYL DEMKE                      17809 N. ASTOR CT.                                               COLBERT          WA         99005                6004                Various                                                                                            $26.24
CHERYL ELLEDGE                    1455 N DAKOTA ST                                                 SUPERIOR         NE         68978                6002                Various                                                                                             $3.81




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                                                                                                                                               Last 4 Digits of     Date Debt was
                                                                                                                                                  Account         Incurred, Basis for
              Creditor Name                 Address1          Address2         Address3             City        State           Zip   Country     Number                Claim                                                                             Total Claim
CHERYL FALKNER                 615 GILBERT ST                                               EAU CLAIRE       WI         54703                 6004                Various                                                                                               $25.00
CHERYL HARRISON                1265 W 1150TH S                                              PROVO            UT         84601                 6002                Various                                                                                                $6.36
CHERYL HERBISON                2894 GREEN VIEW DR                                           EAU CLAIRE       WI         54703                 6002                Various                                                                                                $6.14
CHERYL HOEPER                  1194 BURNETTE ST                                             NEENAH           WI         54956                 6002                Various                                                                                                $2.52
CHERYL HOFFMAN                 PO BOX 262                                                   ATHENS           WI         54411                 6002                Various                                                                                                $4.47
CHERYL HUTCHINSON              BOX 1360                                                     OROFINO          ID         83544                 6002                Various                                                                                                $9.48
CHERYL HUTTON                  7013 KRISTY DR                                               GARNER           NC         27529                 6002                Various                                                                                                $5.67
CHERYL JANICKE                 810 CHERRY ST                                                NEENAH           WI         54956                 6004                Various                                                                                                $2.00
CHERYL JEFFRIES                1519 S HOOVER AVE                                            MASON CITY       IA         50401                 6002                Various                                                                                                $6.30
CHERYL KUNESH                  PO BOX 743                                                   ONAMIA           MN         56359                 6002                Various                                                                                                $2.77
CHERYL L CICHE                 22620 ROCKVILLE RD                                           KIEL             WI         53042                 6002                Various                                                                                                $2.88
CHERYL L FIRKUS                322 MAPLE AVE                                                COLUMBUS         WI         53925                 6002                Various                                                                                                $0.90
CHERYL LEFFEL                  F1784 HIGHWAY # P                                            STRATFORD        WI         54481                 6002                Various                                                                                                $0.27
CHERYL LINDNER                 2619 SOUTH 10TH                                              LINCOLN          NE         68510                 6004                Various                                                                                               $10.00
CHERYL MC DONALD               1340 WILLOWGLEN DR #8                                        KALISPELL        MT         59901                 6004                Various                                                                                                $2.00
CHERYL MEULEBROECK             705 S 8TH AVE APT 306                                        BRANDON          SD         57005                 6002                Various                                                                                                $0.30
CHERYL MIX                     816 A S 8 ST                                                 MANITOWOC        WI         54220                 6004                Various                                                                                               $10.00
CHERYL NELSON                  218 21ST PL S                                                LA CROSSE        WI         54601                 6002                Various                                                                                                $3.89
CHERYL OLINGER                 941 TANGLEWOOD DRIVE                                         PLOVER           WI         54467                 6004                Various                                                                                                $5.00
CHERYL PADGEN                  3242 JOHN ADAMS PRKWY                                        AMMON            ID         83406                 6002                Various                                                                                                $5.62
CHERYL REED                    15415 SALT CREEK RD                                          DALLAS           OR         97338                 6004                Various                                                                                               $23.00
CHERYL REETZ                   540 WEST PRAIRIE                                             WAUTOMA          WI         54982                 6004                Various                                                                                                $5.00
CHERYL RICHARD                 P.O. BOX 24                                                  RALPH            MI         49877                 6004                Various                                                                                               $44.00
CHERYL RICKEL                  PO BOX 76                                                    PEMBINE          WI         54156                 6002                Various                                                                                                $0.63
CHERYL ROBINSON                2568 STEPHENSON DRIVE                                        FREEPORT         IL         61032                 6002                Various                                                                                                $4.16
CHERYL SCHROEDER               1525 N PEACH AVE                                             MARSHFIELD       WI         54449                 6002                Various                                                                                                $4.03
CHERYL SCHUFF                  327 EDGEWOOD DR                                              KALISPELL        MT         59901                 6002                Various                                                                                                $6.90
CHERYL SCHULTZ                 W6700 PORTERS LAKE ROAD                                      WAUTOMA          WI         54982                 6004                Various                                                                                               $15.00
CHERYL SHANKS                  8414 BROWNE ST                                               OMAHA            NE         68134                 6002                Various                                                                                                $8.08
CHERYL SWANSON                 2130 16TH AVE                                                BLOOMER          WI         54724                 6004                Various                                                                                               $31.95
CHERYL TYLER                   724 LOMBARD ST                                               SALMON           ID         83467                 6002                Various                                                                                                $1.92
CHERYL VANDENBUSSCHE           580 121ST ST                                                 LUVERNE          MN         56156                 6002                Various                                                                                                $9.97
CHERYL WALSH                   204 HARMONY RD                                               KALISPELL        MT         59901                 6002                Various                                                                                                $5.04
CHERYL WENHAM                  N1753 HIGHWAY 12                                             FORT ATKINSON    WI         53538                 6002                Various                                                                                                $8.82
CHERYL WEST                    327 24TH ST SW                                               MASON CITY       IA         50401                 6002                Various                                                                                                $2.66
CHERYL WOOD                    1906 W RIPS CT                                               RIVERTON         UT         84065                 6002                Various                                                                                                $8.25
CHERYL WUENSCH                 3321 26TH ST SO                                              LA CROSSE        WI         54601                 6002                Various                                                                                                $3.45
CHERYL ZECHIN                  533 MOUNTAIN VIEW DR                                         KALISPELL        MT         59901                 6002                Various                                                                                                $9.07
CHERYLL BROOKS                 W1372 CTY RD H H                                             NEW HOLSTEIN     WI         53061                 6004                Various                                                                                               $44.98
CHESTER EDWARDS                13198 DODGEVILLE ROAD                                        SPERRY           IA         52650                 6004                Various                                                                                               $30.00
CHESTER POLL                   946 WASHAKIE ST                                              LANDER           WY         82520                 6002                Various                                                                                                $4.11
CHESTER SCHNEIDER              9261 FALCON PARK CIR                                         SANDY            UT         84093                 6002                Various                                                                                                $0.85
CHESTER W BORDEAUX             412 S THOMPSON AVE APT 4                                     SIOUX FALLS      SD         57103                 6002                Various                                                                                                $2.14
                                                          4700 SOUTH LEWIS
CHESTERMAN COMPANY             PREMIUM WATERS             BLVD                              SIOUX CITY       IA         51106                  0819               Various                                                                                        $33,053.51
CHESTON ROULAIN                42 DEL RAY DR                                                LANDER           WY         82520                  6002               Various                                                                                             $1.37
CHET BALSEWICZ                 4748 HIGHWAY 47 N                                            RHINELANDER      WI         54501                  6002               Various                                                                                            $10.00
CHET GIBSON                    2894 W DUNLOP DR                                             WEST JORDAN      UT         84088                  6002               Various                                                                                             $2.74
CHEV BASTIAN                   5111 BALL PARK RD                                            LITTLE SUAMICO   WI         54141                  6002               Various                                                                                             $1.70
CHEVELLE BRYAN                 203 STAMPEDE ST                                              NEWCASTLE        WY         82701                  6002               Various                                                                                             $7.18
CHEVON COOK                    W5456 CARNES ROAD                                            FORT ATKINSON    WI         53538                  6004               Various                                                                                             $1.00
CHEVY BROWN                    910 RAMSEY ST                                                ALBERT LEA       MN         56007                  6004               Various                                                                                             $3.00
CHEVYLEE M FRANK               970 W HAMILTON AVE APT 7                                     EAU CLAIRE       WI         54701                  6002               Various                                                                                             $6.99
CHEYANN DOYLE                  612 STEWART AVE                                              LEWISTON         ID         83501                  6004               Various                                                                                            $34.98




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                                                                                                                                                                                                      Unliquidated
                                                                                                                                                                                         Contingent


                                                                                                                                                                                                                     Disputed
                                                                                                                                                Last 4 Digits of     Date Debt was
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             Creditor Name                Address1            Address2         Address3             City          State         Zip    Country     Number                Claim                                                                             Total Claim
CHEYANN RAUENZAHN             127 22 STREET                                                 LEWISTON           ID         83501                6004                Various                                                                                             $3.65
CHEYANNE CORDES               1206 NORHT 68TH ST                                            LINCOLN            NE         68505                6004                Various                                                                                             $4.00
CHEYANNE DIXEY                PO BOX 334                                                    FORT HALL          ID         83203                6004                Various                                                                                             $9.00
CHEYANNE LONEY                3733 HELBERG                                                  HELENA             MT         59602                6004                Various                                                                                             $3.00
CHEYANNE RASE                 408 LAWRENCE AVE                                              ROTHSCHILD         WI         54474                6002                Various                                                                                             $7.73
CHEYEANNE MILLER              1720 WESTERN AVE APT 9                                        GREEN BAY          WI         54303                6002                Various                                                                                             $3.62
CHEYENE OVNICEK               624 SNOWBERRY TRL                                             KALISPELL          MT         59901                6002                Various                                                                                            $10.00
CHEYENNE ALLEN                147 LABOR DR.                                                 JACKSONVILLE       IL         62650                6004                Various                                                                                            $14.65
CHEYENNE CURTIS               519 E 4TH ST                                                  ALTAMONT           MO         64620                6002                Various                                                                                            $10.00
CHEYENNE IHM                  388 PRAIRIE STREET                                            PRAIRE DU SAC      WI         53578                6004                Various                                                                                             $1.00
CHEYENNE KIRK                 16114 DREXEL CIR                                              OMAHA              NE         68135                6004                Various                                                                                            $20.00
CHEYENNE MCNETT               1940 BROWN WOOD AVE                                           FENNIMORE          WI         53809                6004                Various                                                                                            $21.96
CHEYENNE POWELL               1506 W. WASHINGTON STREET                                     APPLETON           WI         54914                6004                Various                                                                                             $4.00
CHEYENNE SANITATION           13366 CHEYENNE DR                                             HOT SPRINGS        SD         57747                                    Various                                                                                         $1,226.75
CHEYENNE STARKEY              1705 SO E ST                                                  BROKEN BOW         NE         68822                 6002               Various                                                                                             $5.64
CHHAYA COCASSE                4517 ARBOR DR NW                                              ROCHESTER          MN         55901                 6002               Various                                                                                             $3.10
CHI HOME                      FAROUK SYSTEMS              PO BOX 207204                     DALLAS             TX         75320                 1084               Various                                                                                         $5,922.48
CHIA LOR                      1036 E SUNNYVIEW ROAD                                         OSHKOSH            WI         54901                 6004               Various                                                                                             $5.00
CHIARA CERRETANI              3168 WARM SPRINGS DR                                          GREEN BAY          WI         54311                 6002               Various                                                                                             $9.62
CHICKIE SHUR                  515 PARTRIDGE DR            APT 4                             NEW LONDON         WI         54961                 6004               Various                                                                                             $1.00
CHIKYE CANNON                 4813 FORT STREET                                              OMAHA              NE         68104                 6004               Various                                                                                             $5.02
CHILDRENS APPAREL NETWORK     77 SOUTH FIRST STREET                                         ELIZABETH          NJ         07206-0000            8118               Various                                                                                         $9,986.22
CHIRSTINE WOLNICK             W7518 COUNTY LINE ROAD                                        FORT ATKINSON      WI         53538                 6002               Various                                                                                            $42.58
                              3910 TELEGRAPH ROAD SUITE
CHL NEENAH LLC                200                                                           BLOOMFIELD HILLS   MI         48302                 2937               Various                                                                                        $59,163.70
CHLOE (TAMMY CASPER           4713 CHATHAM LN                                               SIOUX CITY         IA         51104                 6002               Various                                                                                             $3.73
CHLOE BENNETT                 312 N PIONEER AVE                                             LYONS              KS         67554                 6002               Various                                                                                             $1.56
CHLOE BUCK                    4995 N MONTANA AVE                                            HELENA             MT         59602                 6002               Various                                                                                             $9.12
CHLOE CZARNECKI               206 WEST HIDDEN TRAIL                                         ELKHORN            WI         53121                 6004               Various                                                                                            $25.00
CHLOE KLEYMANN                3018 SO 30 ST                                                 OMAHA              NE         68105                 6004               Various                                                                                             $4.00
CHLOE LARSON                  2447 DECKNER AVE                                              GREEN BAY          WI         54302                 6004               Various                                                                                             $1.22
CHLOE ROCKTESCHEL             2610 CLOVER STREET                                            OSHKOSH            WI         54901                 6004               Various                                                                                             $3.80
CHOL ALUONG                   824 S MENLO #6                                                SIOUX FALLS        SD         57104                 6004               Various                                                                                             $5.00
CHOL KHAT                     108 SWAN LANE                                                 MANKATO            MN         56001                 6004               Various                                                                                             $3.00
CHONDRA CARLSON               660 PINE RIDGE TERRACE                                        RIVER FALLS        WI         54022                 6004               Various                                                                                            $29.00
CHOU VANG                     523 DIVISION ST                                               LA CROSSE          WI         54601                 6004               Various                                                                                             $3.00
CHRIS ALBUS                   1674 HIGHWAY 9                                                WEST POINT         NE         68788                 6002               Various                                                                                             $3.37
CHRIS ALECKSON                202 RIVER ST                                                  PAYNESVILLE        MN         56362                 6002               Various                                                                                             $2.44
CHRIS AMAN                    E 10820 MAIN                                                  SPOKANE            WA         99206                 6004               Various                                                                                             $1.56
CHRIS ANDERSON                641 N 8TH AVE                                                 BLACKFOOT          ID         83221                 6002               Various                                                                                             $2.19
CHRIS ANTHONY                 700 MERRILL DR.                                               BELVIDERE          IL         61008                 6004               Various                                                                                            $59.00
CHRIS ARTHUR                  22 SOUTH SEYMOUR STREET                                       FOND DU LAC        WI         54935                 6004               Various                                                                                             $2.00
CHRIS AXTMAN                  619 E PICO ST                                                 SANDY              UT         84070                 6002               Various                                                                                             $3.92
CHRIS BACKHAUS                W7911 MCTRUSTY LANE                                           AMBERG             WI         54102                 6004               Various                                                                                            $93.99
CHRIS BARTELT                 1392 SOUTH LAKE DRIVE                                         WATERTOWN          WI         57201                 6004               Various                                                                                            $10.02
CHRIS BEATTY                  2100 W 31ST ST                                                SIOUX FALLS        SD         57106                 6004               Various                                                                                            $30.00
CHRIS BERGERON                2251 HAGLEY RD                                                STANDISH           MI         48658                 6002               Various                                                                                             $6.82
CHRIS BERGHORST               2898 US HWY 59 N                                              MARSHALL           MN         56258                 6004               Various                                                                                             $6.00
CHRIS BOETTGER                208 S OAK ST                                                  NORTH PLATTE       NE         69101                 6002               Various                                                                                             $4.88
CHRIS BOSEL                   1504 N 2ND ST                                                 COEUR D ALENE      ID         83814                 6002               Various                                                                                             $1.04
CHRIS BREDE                   2018 W 5TH ST                                                 NORTH PLATTE       NE         69101                 6002               Various                                                                                             $6.99
CHRIS C MORRISON              RT BOX SILER RD # 257                                         POCATELLO          ID         83202                 6002               Various                                                                                             $7.15
CHRIS CARLSON                 307 S OAK ST                                                  LACRESCENT         MN         55947                 6004               Various                                                                                            $40.00
CHRIS CRUZ                    18977 KINGSBARN ALCOVE                                        BIG LAKE           MN         55309                 6004               Various                                                                                            $23.00




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                                                                                                                                                                                              Contingent


                                                                                                                                                                                                                          Disputed
                                                                                                                                                     Last 4 Digits of     Date Debt was
                                                                                                                                                        Account         Incurred, Basis for
               Creditor Name                Address1            Address2           Address3             City          State           Zip   Country     Number                Claim                                                                             Total Claim
CHRIS DAWES                     BOX 904                                                         SEILING            OK         73663                 6002                Various                                                                                                $9.53
CHRIS DEGRAVE                   P.O. BOX 141                                                    HARRIS             MI         49845                 6004                Various                                                                                               $22.00
CHRIS DETTMER                   407 CARTER ST.                                                  AVOCA              NE         68307                 6004                Various                                                                                               $16.00
CHRIS E KEEL                    2225 JEFFERSON ST                                               STEVENS POINT      WI         54481                 6002                Various                                                                                                $2.77
CHRIS E PETTIT                  1887 260TH ST                                                   WINTERSET          IA         50273                 6002                Various                                                                                                $2.33
CHRIS GAMM                      205 E. PARK ST.                                                 BONDUEL            WI         54107                 6004                Various                                                                                                $2.60
CHRIS HAGGITH                   283 PENNY LN                                                    BELGIUM            WI         53004                 6002                Various                                                                                                $1.64
CHRIS HARTSUIKER                917 W 8TH ST                                                    OGALLALA           NE         69153                 6002                Various                                                                                                $9.10
CHRIS HETHERMAN                 2826 MAPLE RIDGE RAOD                                           STEVENS POINT      WI         54481                 6004                Various                                                                                               $46.00
CHRIS HUBBELL                   PO BOX 391                                                      ALLIANCE           NE         69301                 6002                Various                                                                                                $6.49
CHRIS HUELSKAMP                 1415 N RANKIN ST APT 3                                          APPLETON           WI         54911                 6002                Various                                                                                                $5.40
CHRIS HYSELL                    106 W BENTON ST                                                 ONEILL             NE         68763                 6002                Various                                                                                                $2.00
CHRIS JAPE                      2335 MARATHON AVE                                               NEENAH             WI         54956                 6004                Various                                                                                                $1.57
CHRIS KAPOR                     PO BOX 852                                                      COLUMBUS           MT         59109                 6004                Various                                                                                               $19.00
CHRIS KELLOGG                   PO BOX 341                                                      STURGIS            SD         57785                 6002                Various                                                                                                $1.84
CHRIS KUNKEL                    13532 SKIPPERLING LN.                                           RIVERTON           UT         84096                 6004                Various                                                                                               $35.40
CHRIS LACHNER                   4640 COUNTY LINE RD                                             COLGATE            WI         53051                 6002                Various                                                                                                $0.60
CHRIS LUEBKE                    N1102 CTY RD G                                                  KEWAUNEE           WI         54216                 6004                Various                                                                                               $11.00
CHRIS MUELLER                   1929 E APPLE CREEK RD                                           APPLETON           WI         54913                 6002                Various                                                                                                $2.03
CHRIS MULKEY                    235 FAIRVIEW AVE                                                MISSOULA           MT         59801                 6002                Various                                                                                                $8.93
CHRIS MURFITT                   P.O. BOX 254                                                    BEARCREEK          MT         59007                 6004                Various                                                                                                $5.00
CHRIS NORSKOG                   PO BOX 51                                                       WINIFRED           MT         59489                 6002                Various                                                                                                $9.48
CHRIS PAGE                      N13644 ARBIAN LANE                                              TREMPEALEAU        WI         54661                 6004                Various                                                                                               $40.80
CHRIS PARKER                    18638 469TH AVE                                                 CLEAR LAKE         SD         57226                 6004                Various                                                                                                $5.00
CHRIS PAULSON                   744 RABBIT RD                                                   SAINT PETER        MN         56082                 6002                Various                                                                                                $3.92
CHRIS RABE                      RR 1, BOX 219                                                   OQUAWKA            IL         61469                 6004                Various                                                                                               $14.00
CHRIS RANDAL CHAMPAGNE          1111 GARFIELD ST AF                                             NIAGARA            WI         54121                 6002                Various                                                                                                $5.26
CHRIS REINMUTH                  4406 DRAKE DR                                                   YAKIMA             WA         98908                 6004                Various                                                                                               $23.70
CHRIS ROGERS                    109 E 9TH ST                                                    WAYNE              NE         68787                 6002                Various                                                                                                $6.41
CHRIS ROLLETTE                  690 GERALD AVE                                                  SUN PRAIRIE        WI         53590                 6004                Various                                                                                               $25.00
CHRIS SCHMELZER                 911 BRISTOL LANE NE                                             ROCHESTER          MN         55906                 6004                Various                                                                                                $4.79

CHRIS SPRANGER                  1231 OAK ST                                                     WISCONSIN RAPIDS   WI         54494                  6004               Various                                                                                            $39.98
CHRIS STAVROPOLUS               W8927 GOSSFELD LN                                               BEAVER DAM         WI         53916                  6002               Various                                                                                             $8.63
CHRIS TALLEY                    1607 WASHINGTON ST                                              BELLEVUE           NE         68005                  6004               Various                                                                                            $18.56
CHRIS TYNI                      4143 CTY J                                                      OCONTO             WI         54153                  6002               Various                                                                                             $8.49
CHRIS W JOHNSON                 N6652 31ST DR                                                   WEYAUWEGA          WI         54983                  6002               Various                                                                                             $9.86
CHRIS W SOLBERG                 2177 S WOODLAND DR                                              KALISPELL          MT         59901                  6002               Various                                                                                             $6.44
CHRIS WENTZ                     1369 WEBER RD                                                   GLADWIN            MI         48624                  6002               Various                                                                                             $0.38
CHRIS WOJTALEWICZ               317 11TH STREET                                                 BYRON              MN         55920                  6004               Various                                                                                           $296.80
CHRIS ZIEGEL                    325 HENRY DRIVE 7                                               PORTAGE            WI         53901                  6004               Various                                                                                            $10.00
CHRIS ZORZA                     1620 LAKESHORE DRIVE                                            GLADSTONE          MI         49837                  6004               Various                                                                                             $2.00
CHRISANN HART                   2403 ATCHINSON DRIVE                                            LAUREL             MT         59044                  6004               Various                                                                                             $8.02
CHRISHAWN DOWARD                500 E THOMAS STREET        APT. 306                             WAUSAU             WI         54403                  6004               Various                                                                                             $4.00
CHRIST ELSNER                   218 N. MAIN STREET - #10                                        FORT ATKINSON      WI         53538                  6004               Various                                                                                             $1.95
CHRISTA BOWDEN                  722 LUDVIG ST                                                   ROCK SPRINGS       WY         82901                  6002               Various                                                                                            $10.00
CHRISTA COURTRIGHT              3500 STONE PARK BLVD                                            SIOUX CITY         IA         51104                  6002               Various                                                                                             $7.51
CHRISTA FEIGHNER                1221 CHASE ST                                                   FALLS CITY         NE         68355                  6002               Various                                                                                             $5.18
CHRISTA KETTNER                 48820 COUNTY 55 BVLD                                            PINE ISLAND        MN         55963                  6004               Various                                                                                             $6.06
CHRISTA MACOMBER                2033 MCKENNA BLVD                                               MADISON            WI         53711                  6004               Various                                                                                            $25.00
CHRISTA RAGER                   1320 WILLOW SWAMP RD                                            MOUNT CARMEL       IL         62863                  6002               Various                                                                                             $2.30
CHRISTA TOWERY                  33043 HARNISCH DR NE                                            ALBANY             OR         97321                  6004               Various                                                                                            $16.00
CHRISTA VERMULLEN               4109 E BRAEBURN DR                                              APPLETON           WI         54913                  6002               Various                                                                                             $3.21
CHRISTAL BOYD                   #11 MEADOWLARK LANE                                             DONIPHAN           MO         63935                  6002               Various                                                                                             $3.48




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              Creditor Name               Address1                Address2           Address3             City        State           Zip   Country     Number                Claim                                                                             Total Claim
CHRISTAL CHAMPHAGNE            27402 N FALL ST                                                    ATHOL            ID         83801                 6002                Various                                                                                                $9.92
CHRISTEL JACKSON               1403 S. MAIN ST.                                                   BURLINGTON       IA         52601                 6004                Various                                                                                               $20.00
CHRISTEN BRANDT                1827 N ERB ST                                                      APPLETON         WI         54911                 6002                Various                                                                                                $3.34
CHRISTEN CHANCELLOR            2744 BIG HORN DR                                                   ALLIANCE         NE         69301                 6002                Various                                                                                                $6.99
CHRISTEN D LOENDORF            PO BOX 1154                                                        EAST HELENA      MT         59635                 6002                Various                                                                                                $4.00
CHRISTEN DUQUAINE              719 FREDERICK CT APT 4                                             GREEN BAY        WI         54313                 6002                Various                                                                                                $2.30
CHRISTEN MURPHY                8600 GOSSMAN LN NW                                                 ROCHESTER        MN         55901                 6002                Various                                                                                                $7.86
CHRISTEN SAGON                 92795 LIHAU                                                        KAPOLEI          HI         96707                 6004                Various                                                                                               $35.00
CHRISTEN VILLENA               10361 PARKWAY ROAD            PO BOX 66                            LENA             WI         54139                 6004                Various                                                                                                $1.00

CHRISTENSEN & JENSEN PC        257 EAST 200 SOUTH SUITE 1100                                      SALT LAKE CITY   UT         84111                  0788               Various                                                                                          $116.00
CHRISTENSEN CORPORATION        2501 S FAIRFAX PLACE                                               DENVER           CO         80222                  6468               Various                                                                                        $16,400.00
CHRISTI CASSIDY                723 SPANISH FIELD DRIVE                                            SPANISH FORK     UT         84660                  6004               Various                                                                                            $14.00
CHRISTI FOLLSTAD               N10136 ZENITH TOWER RD                                             TOMAHAWK         WI         54487                  6004               Various                                                                                             $2.16
CHRISTI LYNN SOLIS             2314 AVE L DEERFIELD                                               GOTHENBURG       NE         69138                  6002               Various                                                                                             $1.56
CHRISTI M MANSFIELD            PO BOX 221                                                         DE PERE          WI         54115                  6002               Various                                                                                             $3.29
CHRISTI MILLEN                 2066 E 1050TH S                                                    SPANISH FORK     UT         84660                  6002               Various                                                                                             $0.55
CHRISTI SKAMFER                E2928 690TH AVE.                                                   MENOMONIE        WI         54751                  6004               Various                                                                                          $195.00
CHRISTI WOLFF                  1020 S 16 AV                                                       OMAHA            NE         68008                  6004               Various                                                                                            $28.00
CHRISTIAAN H BISSCHOFF         202 S MAIN ST                                                      RAKE             IA         50465                  6002               Various                                                                                             $6.55
CHRISTIAN B HEDBLOM            511 MINNEHAHA LN                                                   WATERLOO         WI         53594                  6002               Various                                                                                             $8.36
CHRISTIAN B MERCHANT           1101 W NORFOLK AVE APT 1                                           NORFOLK          NE         68701                  6002               Various                                                                                             $0.63
CHRISTIAN BELETZUY IBARRA      3640 BRECKENRIDGE CT #21                                           MADISON          WI         53713                  6004               Various                                                                                             $4.00
CHRISTIAN BORER                2307 HYACINTH DRIVE                                                BILLINGS         MT         59105                  6004               Various                                                                                             $5.00
CHRISTIAN COLE                 903 MAPLE ST                                                       DONIPHAN         MO         63935                  6002               Various                                                                                             $5.01
CHRISTIAN HENNING              633 7TH AVE N                                                      GLASGOW          MT         59230                  6002               Various                                                                                             $0.63
CHRISTIAN HILDRETH             404 HIGH POINTE DR                                                 ELLSWORTH        WI         54011                  6002               Various                                                                                             $2.16
CHRISTIAN J. BEDWELL           14417 W HIGHWAY 53                                                 RATHDRUM         ID         83858                  6002               Various                                                                                             $6.36
CHRISTIAN KAUFFELD             13544 HWY.27                                                       CADOTT           WI         54727                  6004               Various                                                                                             $1.00
CHRISTIAN LOPEZ                1906 S 3RD ST W               #65                                  MISSOULA         MT         59801                  6004               Various                                                                                             $2.00
CHRISTIAN NORINE               PO BOX 677                                                         BOULDER          MT         59632                  6002               Various                                                                                             $4.63
CHRISTIAN ORSBURNE             3453 ANSON DR                                                      MILTON           WI         53563                  6004               Various                                                                                            $10.00
CHRISTIAN PAYAN ESPINO         913 N SYCAMORE STREET                                              GRAND ISLAND     NE         68801                  6004               Various                                                                                          $114.97
CHRISTIAN POPE                 190 MEADOWVIEW LN             APT. 502                             TWIN FALLS       ID         83301                  6004               Various                                                                                             $3.65
CHRISTIAN PULLIAM              2405 TRUNBERRY DR                                                  BELOIT           WI         53511                  6004               Various                                                                                             $7.00
CHRISTIAN REYES                3631 S. 4750 W                                                     SALT LAKE CITY   UT         84120                  6004               Various                                                                                            $23.00
CHRISTIAN RZEPKA               1532 10 STREET                                                     CLARKSTON        WA         99403                  6004               Various                                                                                            $25.00
CHRISTIAN SHAFFER              PO BOX 975                                                         FRENCHTOWN       MT         59834                  6004               Various                                                                                            $20.00
CHRISTIAN SIMONSON             340 BARNEY ST C                                                    HELENA           MT         59602                  6004               Various                                                                                            $20.00
CHRISTIAN SUTTER               7606 N HWY 73                                                      LENA             IL         61048                  6004               Various                                                                                            $25.00
CHRISTIAN SUTTON FOR HAILEY    5605 DOVE COURT                                                    IOLO             MT         59847                  6004               Various                                                                                             $5.50
CHRISTIAN VAN SCOYK            916 MICHIGAN AVE.                                                  STEVENS POINT    WI         54481                  6004               Various                                                                                            $35.00
CHRISTIAN VICENTE MORALES      518 10TH AVE                                                       WORTHINGTON      MN         56187                  6004               Various                                                                                            $23.00
CHRISTIAN WALKER               1005 EAST PINECREST LANE                                           ELKHORN          WI         53121                  6004               Various                                                                                             $1.00
CHRISTIAN WEBER                8905 E. KNOX AVE.                                                  SPOKANE          WA         99212                  6004               Various                                                                                            $30.00
CHRISTIAN ZELLER               713 S COURTLAND ST                                                 HART             MI         49420                  6002               Various                                                                                             $8.05
CHRISTIANA AHRENS              2211 N 10TH STREET                                                 SHEBOYGAN        WI         53081                  6004               Various                                                                                            $32.00
CHRISTIANE FULLER              647 JOHNS DRIVE               #5                                   STEVENS POINT    WI         54481                  6004               Various                                                                                            $25.00
CHRISTIE A BAKER               1287 N MARKEL RD                                                   RIDOTT           IL         61067                  6002               Various                                                                                             $1.89
CHRISTIE ATWOOD                890 N 300TH E                                                      SPANISH FORK     UT         84660                  6002               Various                                                                                             $0.68
CHRISTIE CARLSON               6360 DANFORTH BLVD M.15                                            ESCANABA         MI         49829                  6004               Various                                                                                             $3.20
CHRISTIE FLEGAL                3987 W WINTHROPE DR                                                WEST JORDAN      UT         84088                  6002               Various                                                                                             $6.99
CHRISTIE JOHNSTON              731 CENTER ST                                                      MINERAL POINT    WI         53565                  6004               Various                                                                                            $30.00
CHRISTIE KOKESH                1308 HANOVER CT                                                    WAUNAKEE         WI         53597                  6004               Various                                                                                            $17.01




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                                                                                                                                                    Last 4 Digits of     Date Debt was
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              Creditor Name                Address1            Address2            Address3              City        State           Zip   Country     Number                Claim                                                                             Total Claim
CHRISTIE R BAUKNIGHT           620 AIRWAY DR                                                    LEWISTON          ID         83501                 6002                Various                                                                                               $18.08
CHRISTIE SMITH                 1608 S. PENN                                                     MASON CITY        IA         50401                 6002                Various                                                                                                $9.64
CHRISTIE WALBRIDGE             407 N 30TH                                                       ASHLAND           NE         68003                 6004                Various                                                                                                $3.00
CHRISTIE WILKINS               2109 18 1/2 AVE NW APT #2                                        ROCHESTER         MN         55901                 6004                Various                                                                                                $3.00
CHRISTIE WILZ                  N3274 WHITE LAKE ST                                              WEYAUWEGA         WI         54983                 6002                Various                                                                                                $1.26
CHRISTIE WORNKEY               PO BOX 1031                                                      GILLETTE          WY         82717                 6002                Various                                                                                               $10.00
CHRISTIENNE GRISSMAN           514 PARK ST                                                      SUPERIOR          NE         68978                 6002                Various                                                                                                $4.27
CHRISTIFER M ANDREASSEN        1716 E PENNSYLVANIA AVE                                          COEUR D ALENE     ID         83814                 6002                Various                                                                                                $1.95
CHRISTIN COLE                  430 PARK AVE                                                     LEWISTON          ID         83501                 6002                Various                                                                                                $0.88
CHRISTINA AN BUNCH             5337 380TH ST                                                    DARLINGTON        MO         64438                 6002                Various                                                                                                $6.36
CHRISTINA BEACH                6217 PECAN ST                                                    NORTH BRANCH      MN         55056                 6004                Various                                                                                                $3.00
CHRISTINA BOLTEN               1231 N UNION ST                                                  KENNEWICK         WA         99336                 6004                Various                                                                                               $10.00
CHRISTINA BONHAM               36596 ALDER BRANCH RD                                            SPRINGFIELD       OR         97478                 6004                Various                                                                                                $9.00
CHRISTINA BRUGGER              675 SUMAC ST.                                                    OREGON            WI         53575                 6004                Various                                                                                               $25.00
CHRISTINA BUCKLAND             4161 S FRASER CRT # A                                            AURORA            CO         80014                 6002                Various                                                                                                $0.47
CHRISTINA BUDLONG              2827 KANSAS AVE                                                  BELLEVUE          NE         68005                 6004                Various                                                                                                $4.00
CHRISTINA BUEGE                2119 STARBURST DR SW                                             ROCHESTER         MN         55902                 6002                Various                                                                                                $0.85
CHRISTINA BURTON               PO BOX 17370                LOT 1577                             SAINT PAUL        MN         55117                 6004                Various                                                                                                $3.00
CHRISTINA CARMONA              304 WASHINGTON ST                                                RAWLINS           WY         82301                 6002                Various                                                                                                $8.68
CHRISTINA CASSIDY              330 3RD AVE                                                      VICTOR            MT         59875                 6004                Various                                                                                                $2.00
CHRISTINA CHIAPUZIO            40 HILLCREST DRIVE                                               STEVENS POINT     WI         54481                 6004                Various                                                                                                $5.00
CHRISTINA CHYNOWETH            928 MACARTHUR DR                                                 MANITOWOC         WI         54220                 6004                Various                                                                                                $6.00
CHRISTINA D PRUE               PO BOX 65                                                        CENTRALIA         KS         66415                 6002                Various                                                                                                $2.68
CHRISTINA EDMONSON             1010 CEDAR AVE                                                   LEWISTON          ID         83501                 6004                Various                                                                                               $10.02
CHRISTINA ENSZER               417 PARK ST                                                      CHILTON           WI         53014                 6004                Various                                                                                                $1.00
CHRISTINA FERGUSON             4437 BROCKMAN RD                                                 VESPER            WI         54489                 6002                Various                                                                                                $0.93
CHRISTINA GAINES               3367 TAMARACK ST                                                 KAMIAH            ID         83536                 6002                Various                                                                                                $0.58
CHRISTINA HARRISON             PO BOX 94                                                        LYMAN             WY         82937                 6002                Various                                                                                                $4.44
CHRISTINA HUGGINS              6711 LORELL AVENUE                                               OMAHA             NE         68104                 6004                Various                                                                                               $26.00
CHRISTINA JAREN                NH NORTH HALL                                                    WHEATLAND         WY         82201                 6002                Various                                                                                                $6.74
CHRISTINA JOSWICK              604 WEST 7TH STREE                                               WINONA            MN         55987                 6004                Various                                                                                                $3.00
CHRISTINA KAUTHER              310 7TH AVE NE                                                   PLAINVIEW         MN         55964                 6002                Various                                                                                                $7.01
CHRISTINA KIRKHAM              3568 S LILLOET ST                                                WEST VALLEY CIT   UT         84120                 6002                Various                                                                                               $10.00
CHRISTINA LANG                 108 MINNESOTA AVE           APT 2                                STEVENS POINT     WI         54481                 6004                Various                                                                                                $8.00
CHRISTINA LIVERNASH            1150 19TH AVE S APT 5                                            WISCONSIN RAPID   WI         54495                 6002                Various                                                                                                $2.79
CHRISTINA M ANDERSON           816 MORGAN STREET                                                CHAPIN            IL         62628                 6004                Various                                                                                                $1.60
CHRISTINA MA BOTTLEMY          N2379 PELSDORF AVE                                               NEILLSVILLE       WI         54456                 6002                Various                                                                                                $9.78
CHRISTINA MALMGREN             222 BUNTING LANE                                                 MANKATO           MN         56001                 6004                Various                                                                                               $30.60
CHRISTINA METCALF              N891803RD ST                                                     MONDOVI           WI         54755                 6004                Various                                                                                                $3.00
CHRISTINA MEYER                S4617 ERICKSON LN                                                VIROQUA           WI         54665                 6004                Various                                                                                               $30.00
CHRISTINA MEZA                 831 SOUTH FOURTH AVE                                             ALBERT LEA        MN         56007                 6004                Various                                                                                                $3.00
CHRISTINA NAIDOO               1043 ELIZABETH ST                                                GREEN BAY         WI         54302                 6002                Various                                                                                                $1.04
CHRISTINA NEAL                 N8653 GRANDY RD                                                  BLACK CREEK       WI         54106                 6004                Various                                                                                               $40.98
CHRISTINA NEUMAN               545 MONTANA HIGHWAY 431                                          FAIRFIELD         MT         59436                 6004                Various                                                                                                $3.00
CHRISTINA NUCKLES              1015 E 2ND ST                                                    BELVIDERE         IL         61008                 6004                Various                                                                                               $25.02
CHRISTINA PETERSON             25 E BROADWAY                                                    PLAINVIEW         MN         55964                 6004                Various                                                                                                $3.06
CHRISTINA PHILLIPS             214 S ST JOHN                                                    LYONS             KS         67554                 6002                Various                                                                                                $8.68

CHRISTINA R WALLACE            389 CRAZY WOMAN CANYON RD                                        BUFFALO           WY         82834                  6002               Various                                                                                                $9.37
CHRISTINA RALSTON              223 W COLLEGE APT 7                                              JACKSONVILLE      IL         62650                  6004               Various                                                                                                $9.98
CHRISTINA REYES                5122 LORUTH TERRACE                                              MADISON           WI         53711                  6004               Various                                                                                                $5.70
CHRISTINA ROBERTS              120 GOULD                                                        BEAVER DAM        WI         53916                  6004               Various                                                                                                $2.00
CHRISTINA RODRIGUEZ            1526 MARYLAND COURT                                              BELVIDERE         IL         61008                  6004               Various                                                                                                $3.41
CHRISTINA RUIZ                 136 REDTAIL DR            APT 02                                 SHEBOYGAN FALLS   WI         53085                  6004               Various                                                                                               $34.02




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                                                                                                                                                                                                                                 Claim subject to offset?
                                                                                                                                                                                                       Unliquidated
                                                                                                                                                                                          Contingent


                                                                                                                                                                                                                      Disputed
                                                                                                                                                 Last 4 Digits of     Date Debt was
                                                                                                                                                    Account         Incurred, Basis for
               Creditor Name                Address1            Address2         Address3             City       State           Zip    Country     Number                Claim                                                                             Total Claim
CHRISTINA S FONS                635 E HIGH ST                                                 MILTON          WI         53563                  6002                Various                                                                                                $7.89
CHRISTINA SCOTT                 BOX 126                                                       SOMERS          MT         59923                  6004                Various                                                                                               $31.00
CHRISTINA SENNE                 3650 TERRA VISTA DR                                           HELENA          MT         59602                  6002                Various                                                                                                $3.51
CHRISTINA SERGEANT              824 WESLYN CRT APT 7                                          WEST BEND       WI         53090                  6004                Various                                                                                                $3.00
CHRISTINA STINSON               304 4TH AVE. N.E.                                             SAINT CLOUD     MN         56304                  6004                Various                                                                                               $25.00
CHRISTINA TERRY                 PO BOX 17366                                                  MISSOULA        MT         59808                  6004                Various                                                                                               $28.00
CHRISTINA THOMPSON              1415 2ND ST. N                                                NAMPA           ID         83687                  6004                Various                                                                                                $5.02
CHRISTINA TOWERY                74 FERN LN                                                    DILLON          MT         59725                  6002                Various                                                                                                $2.58
CHRISTINA WALKER                7933-20TH AVE                                                 KENOSHA         WI         53140                  6002                Various                                                                                                $6.03
CHRISTINA WOOD                  339 RAMSEY AVE                                                WHITEFISH       MT         59937                  6002                Various                                                                                                $6.68
CHRISTINA ZINK                  1502 GREENWICH LN                                             JANESVILLE      WI         53545                  6002                Various                                                                                                $3.32
CHRISTINE ANDREWS               1506 MICK-J ST                                                SALMON          ID         83467                  6002                Various                                                                                                $9.86
CHRISTINE ANTONIO               4580 E FOUNTAIN WAY                                           FRESNO          CA         93726                  6002                Various                                                                                                $1.15
CHRISTINE BAKER                 E1838 STATE ROAD 82                                           DE SOTO         WI         54624                  6002                Various                                                                                                $2.00
CHRISTINE BAUMANN               1514 ALDEN RD                                                 JANESVILLE      WI         53545                  6004                Various                                                                                               $15.00
CHRISTINE BAUMGARTNER           916 LARSON DR              APT 85                             ZUMBROTA        MN         55992                  6004                Various                                                                                                $3.06
CHRISTINE BEEBE                 N 5796TH ST # 770TH                                           ELLSWORTH       WI         54011                  6002                Various                                                                                                $6.58
CHRISTINE BENSON                9076 360TH ST                                                 STANLEY         WI         54768                  6002                Various                                                                                                $4.38
CHRISTINE BOHN                  2658 N BREMEN ST                                              MILWAUKEE       WI         53212                  6004                Various                                                                                               $41.00
CHRISTINE BOILEAU               917 LINA ST                                                   MAYVILLE        WI         53050                  6002                Various                                                                                                $5.40
CHRISTINE BRINDLE               BOX 6                                                         SPRAGUE         MB         R0A1Z         CANADA 6002                  Various                                                                                                $6.03
CHRISTINE BUTCHER               4600 ROBINSON PARK ROAD    #215                               MOSCOW          ID         83843                  6004                Various                                                                                               $21.25
CHRISTINE BUTLER                212 TURNER ST. #B                                             STEVENSVILLE    MT         59870                  6004                Various                                                                                                $2.00
CHRISTINE CANAS                 1428 9TH AVE #A                                               LEWISTON        ID         83501                  6004                Various                                                                                               $49.28
CHRISTINE CHRISTOPHERSON        1134 11TH ST                                                  BELOIT          WI         53511                  6004                Various                                                                                               $12.00
CHRISTINE CHURCHILL             753 EMMER ST.                                                 MAYVILLE        WI         53050                  6004                Various                                                                                                $3.95
CHRISTINE CURRIE                64 BEAVERHEAD LN                                              DILLON          MT         59725                  6002                Various                                                                                                $1.97
CHRISTINE CUTTILL               990 E BLACK WOLF AVE                                          OSHKOSH         WI         54902                  6004                Various                                                                                                $4.32
CHRISTINE D SOPER               1175 S LIBERTY ST                                             BROWNTOWN       WI         53522                  6002                Various                                                                                                $2.58
CHRISTINE DETTMANN              E9308 TERRYTOWN                                               BARABOO         WI         53913                  6004                Various                                                                                                $5.70
CHRISTINE DIEKMANN              1111 S STATE ST                                               FAIRMONT        MN         56031                  6002                Various                                                                                                $8.16
CHRISTINE DOERFLINGER           7204 34 AVE                                                   KENOSHA         WI         53142                  6004                Various                                                                                               $20.00
CHRISTINE E HARTKE              206 NEUMAN ST                                                 ALBERTA         MN         56207                  6002                Various                                                                                                $4.30
CHRISTINE FELDSCHNEIDER         W195N16247 EASTWOOD CR.                                       JACKSON         WI         53037                  6004                Various                                                                                               $12.27
CHRISTINE FERGUSON              116 OLIVE STREET                                              WEST CONCORD    MN         55985                  6004                Various                                                                                                $3.06
CHRISTINE GALYARDT              202 SESSIONS ST                                               WAUPACA         WI         54981                  6002                Various                                                                                                $3.29
CHRISTINE GEURINK               1906 E MCMILLAN                                               MARSHFIELD      WI         54449                  6004                Various                                                                                               $95.00
CHRISTINE GRANDAHL              815 5TH AVE S                                                 ESCANABA        MI         49829                  6002                Various                                                                                                $4.85
CHRISTINE GROLEAU               404 W DRESDEN ST                                              KALKASKA        MI         49646                  6002                Various                                                                                                $0.27
CHRISTINE HAGER                 5551 SHERMAN ST APT 102                                       WAUSAU          WI         54401                  6002                Various                                                                                               $27.03
CHRISTINE HARDING               3639 W PINERIDGE DR                                           COEUR D ALENE   ID         83815                  6002                Various                                                                                                $7.78
CHRISTINE HARDY                 558 S STATE                                                   PROVO           UT         84606                  6004                Various                                                                                                $5.00
CHRISTINE HAVEMEIER             206 FOURTH ST                                                 NICOLLET        MN         56074                  6004                Various                                                                                               $15.00
CHRISTINE HENRY                 E1691 S BAD AXE RD                                            DE SOTO         WI         54624                  6002                Various                                                                                                $2.11
CHRISTINE HERMAN                3764 HALLERS CREEK ROD                                        GREEN BAY       WI         54313                  6004                Various                                                                                               $44.00
CHRISTINE HIATT                 5243 MCHUGH LN                                                HELENA          MT         59602                  6002                Various                                                                                                $1.84
CHRISTINE I JACOBSON            243 W 5TH ST                                                  GRAFTON         ND         58237                  6002                Various                                                                                                $8.85
CHRISTINE IRVINE                685 S WAUPACA ST APT 10                                       WAUTOMA         WI         54982                  6002                Various                                                                                                $4.85
CHRISTINE JANOVITZ              116 LAKECREST DR APT 25                                       BEAVER DAM      WI         53916                  6002                Various                                                                                                $8.88
CHRISTINE JEREMIAS              607 SPRUCE ST                                                 NORTH PLATTE    NE         69101                  6002                Various                                                                                                $6.71
CHRISTINE JOHNSON               2721 N BENNETT ST                                             APPLETON        WI         54914                  6002                Various                                                                                                $5.10
CHRISTINE KNUTSON               1933 21ST TER S                                               LA CROSSE       WI         54601                  6002                Various                                                                                                $6.33
                                3150 S STONEMEADOW WAY APT
CHRISTINE KURKOWSKI             1                                                             APPLETON        WI         54915                    6002              Various                                                                                                $4.19




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                                                                                                                                                   Last 4 Digits of     Date Debt was
                                                                                                                                                      Account         Incurred, Basis for
              Creditor Name                Address1              Address2        Address3              City         State           Zip   Country     Number                Claim                                                                             Total Claim
CHRISTINE L DELASKY            N8468 N WORCESTER RD                                           PHILLIPS           WI         54555                 6002                Various                                                                                                $8.82
CHRISTINE L MANNO              532 EST ELM ST                                                 STRATFORD          WI         54484                 6002                Various                                                                                                $1.84
CHRISTINE L SAMIETZ            845 FORT ST                                                    BUFFALO            WY         82834                 6002                Various                                                                                                $4.27
CHRISTINE LANGFORD             1165 BEAR AVE                                                  IDAHO FALLS        ID         83402                 6002                Various                                                                                                $0.44
CHRISTINE LEHMAN               815 13TH AVE NE                                                ROCHESTER          MN         55906                 6002                Various                                                                                                $6.08
CHRISTINE LEONARD              8906 CTY HWY B                                                 TWO RIVERS         WI         54241                 6004                Various                                                                                               $15.25
CHRISTINE LIND                 P O BOX 1268                                                   SPIRIT LAKE        ID         83869                 6004                Various                                                                                               $18.00
CHRISTINE LISON                931 MILLBROOK DR                                               NEENAH             WI         54956                 6002                Various                                                                                                $9.10
CHRISTINE LOPAS                2055 W PACKER AVE                                              OSHKOSH            WI         54901                 6002                Various                                                                                                $1.07
CHRISTINE M RANVIK             1301 GREEN BAY ST # 19                                         ONALASKA           WI         54650                 6002                Various                                                                                                $6.82
CHRISTINE M. CATHRO            12025 PIERCE PLZ APT 323                                       OMAHA              NE         68144                 6002                Various                                                                                                $6.22
CHRISTINE MACKAY               15603 COUNTY RD X                                              KIEL               WI         53042                 6004                Various                                                                                               $30.00
CHRISTINE MAHANEY              1703 S HOOVER AVE                                              MASON CITY         IA         50401                 6002                Various                                                                                                $2.66
CHRISTINE MALLOW               400 WILLOW ST                                                  BATTLE CREEK       IA         51006                 6002                Various                                                                                                $6.41
CHRISTINE MARTIN               403 WOOD HEIGHTS TERRACE                                       RHINELANDER        WI         54501                 6004                Various                                                                                                $2.00
CHRISTINE MEURETT              1030 LEMESSUIER ST                                             WAUSAU             WI         54403                 6002                Various                                                                                                $6.90
CHRISTINE MOCK                 16102 E BROADWAY AVE       J106                                VERADALE           WA         99037                 6004                Various                                                                                               $21.20
CHRISTINE MONTAG               1001 SUMMIT AVE N #221                                         SAUK RAPIDS        MN         56379                 6004                Various                                                                                                $3.00
CHRISTINE MUELLER              3154 TORTEUR LANE                                              GREEN BAY          WI         54311                 6004                Various                                                                                                $3.00
CHRISTINE MUSIEL               PO BOX 43                                                      COPPER HARBOR      MI         49918                 6002                Various                                                                                                $2.16
CHRISTINE N. ZWIEBEL           4089 CANNON RD                                                 GRAND ISLAND       NE         68803                 6002                Various                                                                                                $7.67
CHRISTINE OLSON                703 BERG BUVD                                                  STEWARTVILLE       MN         55976                 6004                Various                                                                                                $3.00
CHRISTINE ORR                  13918 N MANNING LN                                             POCATELLO          ID         83202                 6002                Various                                                                                               $10.00
CHRISTINE PAPLHAM              N6811 COUNTY D                                                 ALGOMA             WI         54201                 6002                Various                                                                                                $4.85
CHRISTINE PONGRATZ             W1779 HEATH RD                                                 SPENCER            WI         54479                 6002                Various                                                                                                $5.45
CHRISTINE PRUEHER              GENERAL DELIVERY                                               EAU CLAIRE         WI         54701                 6004                Various                                                                                                $2.00
CHRISTINE QUIAMBOA             738 7TH ST                                                     STURGIS            SD         57785                 6002                Various                                                                                                $6.36
CHRISTINE R. DAVIS             1428 N 1ST ST                                                  COEUR D ALENE      ID         83814                 6002                Various                                                                                                $0.60
CHRISTINE RODRIGUEZ            W 5467 HIDDEN TRAIL LN                                         APPLETON           WI         54915                 6002                Various                                                                                                $0.36
CHRISTINE SCHMIDT              206 S 12TH AVE                                                 WEST BEND          WI         53095                 6002                Various                                                                                                $1.04
CHRISTINE SCHULTZ              1202 1/2 17TH ST                                               BRODHEAD           WI         53520                 6004                Various                                                                                               $30.00
CHRISTINE SHERRATT             223 8TH AVE N E                                                MAPLETON           MN         56065                 6004                Various                                                                                                $3.00
CHRISTINE SKINNER              55 S DIVISION ST                                               WALLA WALLA        WA         99362                 6004                Various                                                                                               $25.00

CHRISTINE SLUCAS               2650 PLOVER RD                                                 WISCONSIN RAPIDS   WI         54494                  6004               Various                                                                                                $9.76
CHRISTINE SMITS                2767 CHARLESTON DR                                             GREEN BAY          WI         54304                  6002               Various                                                                                                $5.81
CHRISTINE STERN                W389 MADISON AVE                                               IXONIA             WI         53036                  6002               Various                                                                                                $6.66
CHRISTINE TAYLOR               122 E BORAH AVE APT 3                                          COEUR D ALENE      ID         83814                  6002               Various                                                                                                $9.45
CHRISTINE TAYSAN               621 N 19TH ST                                                  COEUR D ALENE      ID         83814                  6002               Various                                                                                                $6.27
CHRISTINE THIBODAUX            916 MAIN ST                                                    CLYMAN             WI         53016                  6004               Various                                                                                                $2.00
CHRISTINE THIEME               728 MONROE AVE                                                 RACINE             WI         53405                  6004               Various                                                                                               $47.00
CHRISTINE THOMA                304 E FIRST ST                                                 KIMBERLY           WI         54136                  6002               Various                                                                                                $2.60
CHRISTINE THOMPSON             316 EAST KENT                                                  MISSOULA           MT         59801                  6004               Various                                                                                                $2.00
CHRISTINE TOW                  1124 MCMANNAMY DRAW                                            KALISPELL          MT         59901                  6002               Various                                                                                                $2.33
CHRISTINE VANOOSTEN            5099 W MURRAY DRIVE                                            DIXON              IL         61021                  6004               Various                                                                                               $38.00
CHRISTINE WALSVIK              5913 FERGE ST                                                  SCHOFIELD          WI         54476                  6002               Various                                                                                                $6.33
CHRISTINE WATTS                1535 OAK ST.                                                   BELOIT             WI         53511                  6004               Various                                                                                               $10.00
CHRISTINE WEITZ                1030 LAAGER LN                                                 OSHKOSH            WI         54902                  6002               Various                                                                                                $0.66
CHRISTINE WOOLUMS              1008 COTTON GROVE DR                                           BRIGHAM CITY       UT         84302                  6002               Various                                                                                                $2.85
CHRISTINE ZEMKE                5311 BOARDMAN ST SW                                            SOUTH BOARDMAN     MI         49680                  6002               Various                                                                                                $1.32

CHRISTINEMURPHY                203 W GRAND AVENUE APT 4                                       PORT WASHINGTON WI            53074                  6002               Various                                                                                                $2.41
CHRISTION DAVIS                4017 HAMILTON ST                                               OMAHA           NE            68131                  6004               Various                                                                                                $4.00
CHRISTLE FLINK                 1401 G ST., APT A                                              LINCOLN         NE            68508                  6004               Various                                                                                                $4.00




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                                                                                                                                                                                               Contingent


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                                                                                                                                                      Last 4 Digits of     Date Debt was
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             Creditor Name                Address1                  Address2        Address3             City          State           Zip   Country     Number                Claim                                                                             Total Claim
CHRISTOFFEL BADENHORST         215 LINDEN ST SW                                                  SLEEPY EYE         MN         56085                 6004                Various                                                                                                $3.06
CHRISTOFFER DEL ANGEL          236 ELM ST                                                        TRACY              MN         56175                 6004                Various                                                                                                $3.00
CHRISTOPH M HICKEY             605 SUPERIOR ST                                                   CHIPPEWA FALLS     WI         54729                 6002                Various                                                                                                $8.25
CHRISTOPHE GAULTIER            5233 SCHOOL ST SW                                                 SOUTH BOARDMAN     MI         49680                 6002                Various                                                                                                $0.47
CHRISTOPHE NIERENHAUSEN        11000 HWY 10 NW #7                                                RICE               MN         56367                 6004                Various                                                                                                $1.00
CHRISTOPHER ABRAHAMSON         701 DELLWOOD ST S                                                 CAMBRIDGE          MN         55008                 6002                Various                                                                                                $5.23
CHRISTOPHER ANDERSON           714 SOUTH FORK DR                                                 RIVER FALLS        WI         54022                 6004                Various                                                                                               $46.34

CHRISTOPHER ARAND              6807 W STEPHENSON STREET RD                                       FREEPORT           IL         61032                  6002               Various                                                                                                $8.66
CHRISTOPHER ARMIGER            2931 S 158TH CIR                                                  OMAHA              NE         68130                  6002               Various                                                                                                $6.30
CHRISTOPHER ARMSTRONG          W7081 OAKWOOD DR.                                                 WAUTOMA            WI         54982                  6004               Various                                                                                               $25.00
CHRISTOPHER AUSTAD             106 N 6TH ST                                                      HOT SPRINGS        SD         57747                  6002               Various                                                                                                $6.88
CHRISTOPHER BAINS              N10669 CTY RD Y                                                   CLINTONVILLE       WI         54929                  6002               Various                                                                                                $6.41

CHRISTOPHER BELETZUY IBARRA    3640 BRECKENBRIDGE CT APT. 21                                     MADISON            WI         53713                  6004               Various                                                                                                $2.00
CHRISTOPHER BELL               7211 40TH AVE                                                     KENOSHA            WI         53142                  6004               Various                                                                                                $8.00
CHRISTOPHER BERGERON           N6957 ROMADKA AVENUE                                              GRANTON            WI         54436                  6004               Various                                                                                                $1.00
CHRISTOPHER BOATMAN            4020 CROFTON RD SW                                                SOUTH BOARDMAN     MI         49680                  6002               Various                                                                                                $7.70
CHRISTOPHER BOUSHON            507 N. CHESTNUT AVE                                               MARSHFIELD         WI         54449                  6004               Various                                                                                                $3.00
CHRISTOPHER BRANHAM            820 WOODLAND CIR                                                  WAUPACA            WI         54981                  6002               Various                                                                                                $5.26
CHRISTOPHER BREMER             2024 W 3RD ST                                                     DULUTH             MN         55806                  6004               Various                                                                                                $3.00
CHRISTOPHER BRISSETTE          54 W MADISON ST                                                   MILTON             WI         53563                  6004               Various                                                                                               $30.00
CHRISTOPHER BROOKS             817 LINCOLN AVE                                                   BELOIT             WI         53511                  6004               Various                                                                                                $3.00
CHRISTOPHER BURCHETT           1117 BARLAND ST                                                   EAU CLAIRE         WI         54701                  6002               Various                                                                                                $2.44
CHRISTOPHER BURK               204 JACKSON ST                                                    DONIPHAN           MO         63935                  6002               Various                                                                                                $0.47
CHRISTOPHER BURKLUND           2633 BAYPORT LN                                                   GREEN BAY          WI         54313                  6002               Various                                                                                                $3.34
CHRISTOPHER BUSKIRK            1001 W EMMA AVE                                                   COEUR D ALENE      ID         83814                  6002               Various                                                                                                $9.01
CHRISTOPHER CARUSO             108 OAK ST                                                        NISLAND            SD         57762                  6002               Various                                                                                                $6.99
CHRISTOPHER CAWTHON            1215A ALABAMA AVE                                                 SHEBOYGAN          WI         53081                  6002               Various                                                                                                $0.47
CHRISTOPHER CHERNOCK           412 DIXON PATH                                                    SOUTH SIOUX CITY   NE         68776                  6004               Various                                                                                               $13.48
CHRISTOPHER COOKSEY            201 RIDGELINE DR                                                  COLUMBUS           WI         53925                  6004               Various                                                                                                $3.00
CHRISTOPHER COULOMBE           428 LILAC LN                                                      DE PERE            WI         54115                  6002               Various                                                                                                $6.88
CHRISTOPHER CRAIG              31083 420TH AVE OMTC LOT 21                                       ROSEAU             MN         56751                  6002               Various                                                                                                $0.85
CHRISTOPHER CRAWFORD           5254 BRINDISI CT. #7                                              MIDDLETON          WI         53562                  6004               Various                                                                                                $1.00
CHRISTOPHER DODGE              5695 MEIR CT                                                      LA CROSSE          WI         54601                  6002               Various                                                                                                $7.34
CHRISTOPHER DORSEY             1407 E POPLAR ST                                                  POCATELLO          ID         83201                  6002               Various                                                                                                $6.85
CHRISTOPHER EDWARDS            310 S 3RD STREET                                                  WINNECONNE         WI         54986                  6004               Various                                                                                               $25.00
CHRISTOPHER EIDE               21765 VIKING BLVD NE                                              WYOMING            MN         55092                  6002               Various                                                                                               $10.00
CHRISTOPHER EILTS-DRISCOLL     7104 WEST JACOB ST                                                SIOUX FALLS        SD         57106                  6004               Various                                                                                                $4.00
CHRISTOPHER EIS                1309 BUCHANAN RD                                                  KAUKAUNA           WI         54130                  6004               Various                                                                                                $3.80
CHRISTOPHER ELVIN              N7384 MARINER HILLS CIRCLE                                        ELKHORN            WI         53121                  6004               Various                                                                                               $30.00
CHRISTOPHER EMERSON            815 3RD AVE EAST                                                  KALISPELL          MT         59901                  6004               Various                                                                                                $3.00
CHRISTOPHER EMMERLING          N8283 KELLOM RD               LOT 38                              BEAVER DAM         WI         53916                  6004               Various                                                                                                $2.00

CHRISTOPHER ENGELIEN           4231 WOODHAVEN LANE                                               WISCONSIN RAPIDS   WI         54494                  6004               Various                                                                                               $15.00
CHRISTOPHER ERICKSON           W3850 FOX RANCH RD                                                TOMAHAWK           WI         54487                  6004               Various                                                                                               $70.00
CHRISTOPHER EVANS              301 MOUND AVE                                                     MANKATO            MN         56001                  6002               Various                                                                                                $3.33
CHRISTOPHER FAHLEY             429 HIGH ST                                                       CAMBRIDGE          WI         53523                  6004               Various                                                                                                $5.00
CHRISTOPHER FARRIS             RR 1 BOX 31                                                       WHITE HALL         IL         62092                  6002               Various                                                                                                $6.52
CHRISTOPHER FAUSER             W1298 FEILD RD                                                    FALL RIVER         WI         53932                  6004               Various                                                                                               $25.00
CHRISTOPHER FERNANDEZ          33 N MAIN ST                  #306                                FOND DU LAC        WI         54935                  6004               Various                                                                                                $3.00
CHRISTOPHER FORLER             281 RIVER DR                                                      APPLETON           WI         54915                  6004               Various                                                                                                $3.99
CHRISTOPHER FRANK              602 HAROLD WAY                                                    APPLETON           WI         54915                  6002               Various                                                                                                $0.71
CHRISTOPHER GADKE              W3969 HEINTOWN RD                                                 LOYAL              WI         54446                  6002               Various                                                                                                $4.85




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                                                                          Schedule E/F: Part 2 - Creditors With Nonpriority Unsecured Claims




                                                                                                                                                                                                                                    Claim subject to offset?
                                                                                                                                                                                                          Unliquidated
                                                                                                                                                                                             Contingent


                                                                                                                                                                                                                         Disputed
                                                                                                                                                      Last 4 Digits of   Date Debt was
                                                                                                                                                         Account       Incurred, Basis for
            Creditor Name                Address1               Address2          Address3            City             State           Zip   Country     Number              Claim                                                                             Total Claim
CHRISTOPHER GAMBARO          PO BOX 24153                                                      EUGENE             OR           97402                 6004              Various                                                                                               $75.00
CHRISTOPHER GLAPA            600 E WOODCREST DR                                                APPLETON           WI           54915                 6002              Various                                                                                                $2.33
CHRISTOPHER GRAY             716 17TH ST                                                       GOTHENBURG         NE           69138                 6002              Various                                                                                                $2.38

CHRISTOPHER GRIMALDI         303 NW 7TH AVE                                                    MILTON FREEWATER   OR           97862                   6004            Various                                                                                               $26.25
CHRISTOPHER GUDGEL           248 W 5TH ST                                                      AINSWORTH          NE           69210                   6002            Various                                                                                                $5.07
CHRISTOPHER HACKEL           621 N MEADE ST APT 1                                              APPLETON           WI           54911                   6002            Various                                                                                                $3.81
CHRISTOPHER HALL             7011 WOODY CREEK CIRCLE                                           LINCOLN            NE           68516                   6004            Various                                                                                                $3.85
CHRISTOPHER HANSON           PO BOX 214                                                        SPRAGUE            MB           56751                   6002            Various                                                                                                $9.45
CHRISTOPHER HARMON           3506 W ZACKS COVE                                                 SOUTH JORDAN       UT           84095                   6004            Various                                                                                               $26.44
CHRISTOPHER HARRIS           1435 IDAHO ST                                                     SUPERIOR           NE           68978                   6002            Various                                                                                                $4.77
CHRISTOPHER HATHAWAY         1081 ROLAND LANE              APT. 25                             GREEN BAY          WI           54303                   6004            Various                                                                                                $8.00
CHRISTOPHER HELLAND          N4965 GUTZMER RD                                                  MONROE             WI           53566                   6004            Various                                                                                               $25.50
CHRISTOPHER HERBER           426 S ERIE ST                                                     DE PERE            WI           54115                   6002            Various                                                                                                $3.97
CHRISTOPHER HERNANDEZ        332 1ST AVE N                                                     GREYBULL           WY           82426                   6002            Various                                                                                                $6.49
CHRISTOPHER HESS             3026 NW FAIRMONT CT                                               BEND               OR           97701                   6004            Various                                                                                               $20.00
CHRISTOPHER HOCK             PO BOX 711                                                        LAKEFIELD          MN           56150                   6004            Various                                                                                                $3.00
CHRISTOPHER HUGHES           5073 S 159TH CIR                                                  OMAHA              NE           68135                   6002            Various                                                                                                $3.95
CHRISTOPHER HUNZIKER         7318 S 70TH STREET                                                LA VISTA           NE           68128                   6004            Various                                                                                               $39.99
CHRISTOPHER IVY              1623 10TH AVE SW LOT 1227                                         ABERDEEN           SD           57401                   6002            Various                                                                                                $6.74
CHRISTOPHER JENSEN           2323 HILLSIDE DR                                                  STURGIS            SD           57785                   6002            Various                                                                                                $9.64
CHRISTOPHER JONES            602 N. 13TH ST                                                    WAUSAU             WI           54403                   6004            Various                                                                                               $11.63
CHRISTOPHER KELTZ            6538 LIPSCOMB ST SE                                               SALEM              OR           97317                   6004            Various                                                                                               $25.00
CHRISTOPHER KERWIN           1282 GLENVIEW DR                                                  NEENAH             WI           54956                   6004            Various                                                                                                $5.27
CHRISTOPHER KING             2304 ARLINGTON AVE                                                RACINE             WI           53403                   6004            Various                                                                                               $12.00
CHRISTOPHER KLEIN            567 VILA STREET                                                   WINONA             MN           55987                   6004            Various                                                                                                $3.00
CHRISTOPHER KNECHTEL         291 S SIXTH ST APT 8                                              WINNECONNE         WI           54986                   6002            Various                                                                                                $7.92
CHRISTOPHER KOBISHOP         918 APACHE AVE                                                    NEKOOSA            WI           54457                   6004            Various                                                                                               $26.00
CHRISTOPHER KORTH            86679 560TH AVE                                                   RANDOLPH           NE           68771                   6004            Various                                                                                                $3.00
CHRISTOPHER KUCERA           930 NANCY LN                                                      MADISON            WI           53704                   6004            Various                                                                                               $12.20
CHRISTOPHER KURTZ            29353 STATE HIGHWAY NN                                            JAMESPORT          MO           64648                   6002            Various                                                                                                $1.15
CHRISTOPHER LEAHY            1034 HABEY RD.                                                    MADISON            WI           53704                   6004            Various                                                                                                $4.00
CHRISTOPHER LEITH            121 W MICHIGAN ST                                                 MARQUETTE          MI           49855                   6002            Various                                                                                                $0.66
CHRISTOPHER LEONHARDT        6914 PLEASANT VALLEY RD                                           GRAFTON            WI           53024                   6002            Various                                                                                                $7.21
CHRISTOPHER LEPAK            1314 TEMKIN AVE                                                   MADISON            WI           53705                   6002            Various                                                                                                $8.82
CHRISTOPHER LESLIE           1019 15TH ST N -PRERELEASE                                        GREAT FALLS        MT           59401                   6002            Various                                                                                                $0.55
CHRISTOPHER LILLIS           38385 460TH AVE                                                   PERHAM             MN           56573                   6002            Various                                                                                                $8.33
CHRISTOPHER LOPEZ            1453 E BRIDGER                                                    POCATELLO          ID           83201                   6004            Various                                                                                               $20.00
CHRISTOPHER MADER            2414 BLUEBIRD CT                                                  MARSHFIELD         WI           54449                   6004            Various                                                                                               $16.00
CHRISTOPHER MARIANA          120 S PIETY ST                                                    ELLSWORTH          WI           54011                   6002            Various                                                                                                $4.27
CHRISTOPHER MASTELLER        953 WILCOX STREET #103                                            WAUPUN             WI           53963                   6004            Various                                                                                                $3.00
CHRISTOPHER MAYS             5481 D SWENSON RD.                                                DEER PARK          WA           99006                   6004            Various                                                                                               $30.00
CHRISTOPHER MCBRIDE          2924 W. 43RD. CT.                                                 KENNEWICK          WA           99337                   6004            Various                                                                                                $5.01
CHRISTOPHER MEIER            2509 OAK ST                                                       NAMPA              ID           83687                   6004            Various                                                                                                $7.30
CHRISTOPHER MICOL            3128 N BALLARD RD APT 22                                          APPLETON           WI           54911                   6002            Various                                                                                                $3.92
CHRISTOPHER MONK             709 1/2 2ND ST NE                                                 SIDNEY             MT           59270                   6002            Various                                                                                                $3.75
CHRISTOPHER MOORE            635 S. 68TH AVE.              APT. 7                              WAUSAU             WI           54401                   6004            Various                                                                                               $70.00
CHRISTOPHER MOORMAN          805 N GARFIELD AVE                                                POCATELLO          ID           83204                   6002            Various                                                                                                $8.63
CHRISTOPHER MOSHER           902 2ND AVE S                                                     SAINT JAMES        MN           56081                   6002            Various                                                                                                $2.90
CHRISTOPHER NASH             326 E VERNON AVE                                                  FERGUS FALLS       MN           56537                   6002            Various                                                                                                $2.71

CHRISTOPHER NELSON           3600 SOUTHWEST 112TH STREET                                       DENTON             NE           68339                   6004            Various                                                                                               $35.00
CHRISTOPHER NEU              1780 ARDELLA DR.                                                  POCATELLO          ID           83201                   6004            Various                                                                                               $20.00




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                                                                                                                                                                                         Contingent


                                                                                                                                                                                                                     Disputed
                                                                                                                                                Last 4 Digits of     Date Debt was
                                                                                                                                                   Account         Incurred, Basis for
            Creditor Name              Address1                Address2        Address3            City         State           Zip   Country      Number                Claim                                                                             Total Claim

CHRISTOPHER NIELS            14632 WHISPERING WINDS WAY                                     SOUTH BELOIT       IL       61080                   6004               Various                                                                                               $11.98
CHRISTOPHER OHM              57263 280TH AVE                                                PINE ISLAND        MN       55963                   6004               Various                                                                                                $3.00
CHRISTOPHER OLIN             1203 WEST 2ND AVE                                              BRODHEAD           WI       53520                   6004               Various                                                                                                $4.02
CHRISTOPHER OLSEN            125 SUMMERFIELD TRL                                            MANKATO            MN       56001                   6004               Various                                                                                                $6.94
CHRISTOPHER OTTO             N239 HICKORY MEADOWS LN                                        APPLETON           WI       54914                   6004               Various                                                                                               $22.00
CHRISTOPHER PARKER           231 APPLE ST W                                                 TRIMONT            MN       56176                   6004               Various                                                                                                $6.00
CHRISTOPHER PATTY            346 S. 980 E.                                                  SMITHFIELD         UT       84335                   6004               Various                                                                                               $20.00
CHRISTOPHER PAULSON          744 RABBIT ROAD                                                ST PETER           MN       56082                   6002               Various                                                                                               $10.00
CHRISTOPHER PEFFER           N64 W24480 MAIN ST APT 16                                      SUSSEX             WI       53089                   6002               Various                                                                                                $5.78
CHRISTOPHER PIPKINS          2405 JACKSON ST                                                BELLEVUE           NE       68005                   6004               Various                                                                                               $30.00
CHRISTOPHER PRINGLE          1046 E OLYMPUS RIDGE CV                                        SALT LAKE CITY     UT       84117                   6002               Various                                                                                                $1.45
CHRISTOPHER RAMIREZ          2025 E WHITE OAK CRT                                           NAMPA              ID       83687                   6004               Various                                                                                               $35.00
CHRISTOPHER RASMUSSEN        331 NORTHBROOK RD.                                             LUXEMBURG          WI       54217                   6004               Various                                                                                                $6.27
CHRISTOPHER RIDDLE           247 BROADWAY DR                                                SUN PRAIRIE        WI       53590                   6004               Various                                                                                                $3.00
CHRISTOPHER RIDPATH          215 N BROADWAY AVE                                             NEW HAMPTON        IA       50659                   6002               Various                                                                                                $7.64
CHRISTOPHER ROBOTKA          1697 21ST AVE                                                  RICE LAKE          WI       54868                   6002               Various                                                                                                $0.99
CHRISTOPHER ROCHELLE         925 MALIBU WAY UNIT 1                                          BILLINGS           MT       59106                   6002               Various                                                                                                $0.49
CHRISTOPHER ROUSH            8427 8TH AVE                                                   NEW AUBURN         MN       55366                   6004               Various                                                                                                $3.06
CHRISTOPHER RYAN             1948 BROOKSTONE CIRCLE                                         HUDSON             WI       54016                   6004               Various                                                                                               $23.00
CHRISTOPHER SANCHEZ          906 N SPOKANE ST                                               POST FALLS         ID       83854                   6002               Various                                                                                                $7.01
CHRISTOPHER SCHIZAS          4210 MAIN STREET           PO BOX 27                           ROCA               NE       68430                   6004               Various                                                                                               $39.00
CHRISTOPHER SEILER           206 STATZ LANE                                                 DANE               WI       53529                   6004               Various                                                                                               $20.00
CHRISTOPHER SHELTON          2487 SCOTCH PINE TRL                                           SUAMICO            WI       54313                   6002               Various                                                                                                $4.49
CHRISTOPHER SHIPWASH         3409 TASHA CIR                                                 BELLEVUE           NE       68123                   6004               Various                                                                                                $5.00

CHRISTOPHER SIELSKI          7850 LONESOME ROAD                                             WISCONSIN RAPIDS   WI       54495                   6004               Various                                                                                                $3.00
CHRISTOPHER SMITH            3220 8TH ST N                                                  SAINT CLOUD        MN       56303                   6004               Various                                                                                                $3.06
CHRISTOPHER SNELL            1140 MORAINE WAY            #25                                GREEN BAY          WI       54303                   6004               Various                                                                                               $20.00
CHRISTOPHER ST. CLAIR        806 BRIGEWATER AVE                                             CHIPPEWA FALLS     WI       54729                   6004               Various                                                                                                $1.00
CHRISTOPHER STACKS           950 S MAIN ST APT 13B                                          RIVER FALLS        WI       54022                   6002               Various                                                                                                $5.56
CHRISTOPHER STANESCU         775 B 54TH AVENUE                                              WINONA             MN       55987                   6004               Various                                                                                                $3.00
CHRISTOPHER STEWART          1016 TOMMARK ST                                                GREEN BAY          WI       54304                   6002               Various                                                                                                $3.07
CHRISTOPHER TENNANT          6961 DOUGLAS AVE                                               RACINE             WI       53402                   6002               Various                                                                                                $1.42
CHRISTOPHER THIEL            2312 BONA AVE                                                  APPLETON           WI       54915                   6004               Various                                                                                               $27.98
CHRISTOPHER TIBBITS          1828 LLOYD AVE                                                 EAU CLAIRE         WI       54701                   6002               Various                                                                                                $3.21
CHRISTOPHER TURK             750 BALSAM ST                                                  RHINELANDER        WI       54501                   6002               Various                                                                                                $6.63
CHRISTOPHER UNSER            1205 S 38TH AVENUE                                             YAKIMA             WA       98902                   6004               Various                                                                                               $15.00
CHRISTOPHER VERFUERTH        3014 POPP AVENUE                                               MARSHFIELD         WI       54449                   6004               Various                                                                                               $45.00
CHRISTOPHER WALKER           1792 SUSAN LN                                                  GREEN BAY          WI       54303                   6004               Various                                                                                                $9.75
CHRISTOPHER WALLACE          325 N INGALLS ST                                               POWELL             WY       82435                   6002               Various                                                                                               $12.11
CHRISTOPHER WALLBERG         845 IRVINGTON ST                                               GREEN BAY          WI       54304                   6002               Various                                                                                                $6.71
CHRISTOPHER WALTERS          7826 LAKE BLUFF 19.4 ROAD                                      GLADSTONE          MI       49837                   6002               Various                                                                                                $1.93
CHRISTOPHER WASHACK          8405 ALPINE WAY                                                YAKIMA             WA       98908                   6004               Various                                                                                               $30.00
CHRISTOPHER WELSHINGER       11662 BURT ST #L15                                             OMAHA              NE       68154                   6004               Various                                                                                                $4.00
CHRISTOPHER WESENDORF        614 WASHINGTON ST                                              SHEBOYGAN FALLS    WI       53085                   6004               Various                                                                                               $10.00
CHRISTOPHER WHITE            10 S ADAMS AVE APT 12                                          MASON CITY         IA       50401                   6002               Various                                                                                                $5.67
CHRISTY A BOULE              3109 TOOLE DR                                                  HELENA             MT       59602                   6002               Various                                                                                                $0.41
CHRISTY BENING               2045 330TH ST                                                  IVANHOE            MN       56142                   6002               Various                                                                                                $8.99
CHRISTY BURKETT              BOX 648                                                        MT VIEW            WY       82939                   6002               Various                                                                                                $5.73
CHRISTY CASTELLON            105 WEST DAVIS ST.                                             BEAVER DAM         WI       53916                   6004               Various                                                                                                $6.00
CHRISTY CAUDEL               1092 GARDEN GULCH RD                                           PRINCETON          ID       83857                   6004               Various                                                                                               $12.00
CHRISTY HARPER               168 1/2 CAROLINE RD                                            KALISPELL          MT       59901                   6002               Various                                                                                                $8.03
CHRISTY HOEFLING             406 W 5TH STREET                                               FRIENDSHIP         WI       53934                   6002               Various                                                                                                $6.41




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                                                                       Schedule E/F: Part 2 - Creditors With Nonpriority Unsecured Claims




                                                                                                                                                                                                                                   Claim subject to offset?
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                                                                                                                                                                                            Contingent


                                                                                                                                                                                                                        Disputed
                                                                                                                                                   Last 4 Digits of     Date Debt was
                                                                                                                                                      Account         Incurred, Basis for
              Creditor Name                Address1            Address2          Address3            City           State           Zip   Country     Number                Claim                                                                             Total Claim
CHRISTY LINSE                  W5106 MESKE ROAD                                               WHITEWATER         WI         53190                 6004                Various                                                                                               $30.00
CHRISTY M WALKER               2480 E BROADWAY ST APT 3A                                      HELENA             MT         59601                 6002                Various                                                                                                $3.81
CHRISTY MARTIN                 333 E 1050 N HARRIVILLE                                        OGDEN              UT         84404                 6004                Various                                                                                               $44.22
CHRISTY OVERSON                3327 S 1350 W                                                  BRIGHAM CITY       UT         84302                 6004                Various                                                                                               $10.70
CHRISTY SCHUH                  3015 S GLADYS ST                                               APPLETON           WI         54915                 6004                Various                                                                                               $55.00
CHRISTY THOMAS                 PO BOX 922                                                     WHEATLAND          WY         82201                 6002                Various                                                                                                $5.37
CHRISTY ULMEN                  7112 W POMONA RD                                               BOISE              ID         83704                 6002                Various                                                                                                $0.82
                                                                           1950 W ROOSEVELT
CHRISTY/ HELEN                 STORE 2-766                 SHOPKO EMPLOYEE HIGHWAY            SHELBY             MT         59474                  6739               Various                                                                                             $2.80
CHRISTYNE HANSON               1060 JAQUETTE RD                                               KALISPELL          MT         59901                  6002               Various                                                                                             $7.92
CHRYSTAL GETZFREID             421 N 9TH ST                                                   WORLAND            WY         82401                  6002               Various                                                                                             $9.21
CHRYSTAL HAYES                 510 N 600 E                                                    OREM               UT         84097                  6004               Various                                                                                            $23.00
CHRYSTAL JERSILD               1706 W BURBANK AVE                                             JANESVILLE         WI         53546                  6004               Various                                                                                            $19.50
CHRYSTAL RUIZ                  3402 SWAN AVE                                                  WAUSAU             WI         54401                  6002               Various                                                                                             $6.66
CHRYSTAL SLINDEE               410 8TH AVE SE                                                 AUSTIN             MN         55912                  6004               Various                                                                                             $3.00
CHRYSTAL THOMPSON              PO BOX 103 PMB NW                                              ROCKWELL           IA         50469                  6002               Various                                                                                             $5.15
CHRYSTIN ROUFLEY               212 EUTOPIA RD                                                 LAVINA             MT         59046                  6004               Various                                                                                             $2.00
CHUCK BAECHLER                 PO BOX 413                                                     WATERTOWN          SD         57201                  6004               Various                                                                                            $20.00
CHUCK BERGLUND                 1180 N 1300TH W                                                LAYTON             UT         84041                  6002               Various                                                                                             $6.58
CHUCK HENRY SALES              525 N POPLAR                                                   SOLOMON            KS         67480                  4059               Various                                                                                          $392.40
CHUCK PHIPPS                   P.O. BOX 267                                                   RICHMOND           MN         56368                  6004               Various                                                                                             $3.00
CHUE MOUA                      5509 HERRO LANE                                                MADISON            WI         53716                  6004               Various                                                                                             $1.00
CHUMS CHISCO                   2424 SOUTH 2570 WEST                                           SALT LAKE CITY     UT         84119-0000             0147               Various                                                                                        $10,202.46
CHURCH & DWIGHT                PO BOX 95055                                                   CHICAGO            IL         60694                  3201               Various                                                                                       $209,492.00
CHYENNE SMITH                  24 SMITH RANCH RD                                              CARMEN             ID         83462                  6002               Various                                                                                             $1.37

CHYLER DEWITT                  414 CHESTNUT STREET                                            WISCONSIN RAPIDS   WI         54494                  6004               Various                                                                                                $1.00
CIAN CASTLEBERRY               628 W. 5750 S.                                                 MURRAY             UT         84123                  6004               Various                                                                                               $20.00
CIARA WILDE                    1212 20 TH AVE                                                 MONROE             WI         53566                  6004               Various                                                                                                $1.59
CIELO SALAS                    2316 MARSHALL STREET                                           MANITOWOC          WI         54220                  6004               Various                                                                                                $3.00
CIERRA JENSEN                  908 MIDDLEBROOK CIR APT 3                                      MILBANK            SD         57252                  6002               Various                                                                                                $0.58
CIERRA KNOELK                  2030 ROSS AVE                                                  AMMON              ID         83406                  6004               Various                                                                                               $18.50
CIERRA MORRIS                  150 NW ANN, ST APT # 2                                         PULLMAN            WA         99163                  6004               Various                                                                                               $20.00
CINDA OHLMAN-KUBE              53851 844TH RD                                                 MEADOW GROVE       NE         68752                  6002               Various                                                                                                $0.66
CINDA RIDDLE                   213 FORREST AVE                                                LAUREL             MT         59044                  6004               Various                                                                                               $10.00
CINDI PANCHERI                 2107 CASCADE DR                                                IDAHO FALLS        ID         83401                  6002               Various                                                                                                $5.92
CINDY ALLRED                   8313 S GRAMBLING WAY                                           SANDY              UT         84094                  6002               Various                                                                                                $3.70
CINDY ARCHIBALD                3980 W 3000TH N                                                BENSON             UT         84335                  6002               Various                                                                                                $9.42
CINDY BAKER                    2221 W MULBERRY ST.                                            LINCOLN            NE         68522                  6004               Various                                                                                                $4.79
CINDY BALDWIN                  PO BOX 472                                                     OCCIDENTAL         CA         95465                  6002               Various                                                                                                $1.45
CINDY BARDEN                   491 WAKEFIELD                                                  FOND DU LAC        WI         54935                  6004               Various                                                                                               $89.97
CINDY BEASON                   4425 S WORMWOOD DR                                             SALT LAKE CITY     UT         84120                  6004               Various                                                                                                $3.00
CINDY BELDEN                   3111 RUNWAY AVE                                                EAU CLAIRE         WI         54703                  6002               Various                                                                                                $6.38
CINDY BIRGE                    10278 SOUTH APEX ROAD                                          BINGHAM CANYON     UT         84006                  6004               Various                                                                                               $10.00
CINDY BLASTOCK                 2356 FILER AVE E                                               TWIN FALLS         ID         83301                  6002               Various                                                                                                $9.42
CINDY BORGEN                   W2750 STATE HWY 156                                            PULASKI            WI         54162                  6004               Various                                                                                               $10.00
CINDY BOSS                     PO BOX 325                                                     DELAVAN            WI         53115                  6002               Various                                                                                                $0.96
CINDY BUCKMAN                  801 STH 28TH ST. APT #!F                                       BILLINGS           MT         59101                  6004               Various                                                                                                $2.00
CINDY CHARLTON                 103 TOWER CREEK RD                                             CARMEN             ID         83462                  6002               Various                                                                                                $9.42
CINDY COFFEY                   8905 FLORANCE DR                                               BELLEVUE           NE         68147                  6002               Various                                                                                                $9.51
CINDY CRABTREE                 3033 SW 6TH STREET                                             LINCOLN            NE         68522                  6004               Various                                                                                                $4.00
CINDY DAVIS                    2811 AVENUE M                                                  FORT MADISON       IA         52627                  6002               Various                                                                                                $1.00
CINDY DAY                      10351 55TH ST                                                  CLEAR LAKE         MN         55319                  6002               Various                                                                                                $6.58




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            Creditor Name              Address1                 Address2         Address3            City        State           Zip    Country      Number                Claim                                                                             Total Claim

CINDY DELAY                  2386 FOX LANE RR # 4 PMB BOX                                     JACKSONVILLE      IL       62650                    6002               Various                                                                                             $9.97
CINDY DOSH                   3131 SQUIRE CT                                                   GREEN BAY         WI       54313                    6004               Various                                                                                             $5.02
CINDY EDWARDS                540 SMITH ST                                                     LANDER            WY       82520                    6002               Various                                                                                             $5.92
CINDY EPPERSON               PO BOX 242                                                       PAYSON            IL       62360                    6002               Various                                                                                            $10.00
CINDY ESPARZA                2119 S. 2ND AVE                                                  YAKIMA            WA       98903                    6004               Various                                                                                             $8.02
CINDY GOKEY                  N2049 KELLER RD                                                  MARINETTE         WI       54143                    6002               Various                                                                                             $2.00
CINDY GRATON                 302 1ST AVE                                                      AUDUBON           IA       50025                    6002               Various                                                                                             $8.27
CINDY GREATENS               969 MATHER ST                                                    GREEN BAY         WI       54303                    6004               Various                                                                                             $4.98
CINDY HARDING                1832 S 1100TH E                                                  SALT LAKE CITY    UT       84105                    6002               Various                                                                                             $0.47
CINDY HAWKINS                870 SHORELINE DRIVE                                              HOWARD LAKE       MN       55349                    6004               Various                                                                                             $3.00
CINDY HELKE                  6460 STATE # 26                                                  LA CRESCENT       MN       55947                    6002               Various                                                                                            $10.00
CINDY INGE-JENNINGS          11611 E SINTO AVENUE                                             SPOKANE           WA       99206                    6004               Various                                                                                             $1.95
CINDY JALBERT                BOX 117                                                          PINEY             MB       R0A1K         CANADA     6002               Various                                                                                             $9.18
CINDY JOHNSON                102 E 5200TH S                                                   OGDEN             UT       84405                    6002               Various                                                                                             $6.82
CINDY K HAUF                 87309 493RD AVE                                                  ONEILL            NE       68763                    6002               Various                                                                                             $5.34
CINDY L GRIMM                5486 E SHORE DR NE                                               KALKASKA          MI       49646                    6002               Various                                                                                             $1.70
CINDY LIEBERS                477 WINDING WATERS WAY                                           DE PERE           WI       54115                    6004               Various                                                                                           $190.78
CINDY LINDSTROM              4617 KOSKI LANE                                                  FLORENCE          WI       54121                    6004               Various                                                                                            $65.00
CINDY LOPEZ                  535 NO 200 E                                                     OREM              UT       84057                    6004               Various                                                                                             $2.00
CINDY M EKBLAD               N1577 CTY HWY MD                                                 SARONA            WI       54870                    6002               Various                                                                                             $4.60
CINDY M HALDEMAN             3348 FERN CT                                                     EAU CLAIRE        WI       54703                    6002               Various                                                                                             $7.67
CINDY M LEMMONS              527 ALBATROSS DR                                                 POCATELLO         ID       83202                    6002               Various                                                                                             $1.15
CINDY MATHEWS                1943 VIRGINIA AVE                                                IDAHO FALLS       ID       83404                    6002               Various                                                                                             $2.30
CINDY MCKAHAN                3739 S 4400TH W                                                  WEST VALLEY CIT   UT       84120                    6002               Various                                                                                             $6.00
CINDY MILLER                 3638 SUSSEX LN.                                                  MADISON           WI       53714                    6004               Various                                                                                            $25.00
CINDY MULLIGAN               520 TILDEN                                                       FAIRMONT          MN       56031                    6004               Various                                                                                             $3.00
CINDY MUNIZ                  13163 C PLAZA                                                    OMAHA             NE       68144                    6004               Various                                                                                             $5.00
CINDY OLIVAS                 PO BOX 1313                                                      MOXEE             WA       98936                    6004               Various                                                                                             $4.20
CINDY PARKS                  RR 8 BOX 480                                                     DONIPHAN          MO       63935                    6002               Various                                                                                             $5.62
CINDY PERKINS                252 OAK ST                                                       MAYVILLE          WI       53050                    6002               Various                                                                                             $0.79
CINDY PETERSON               1379 W 8580TH S                                                  WEST JORDAN       UT       84088                    6002               Various                                                                                             $0.82
CINDY PHILLIPS               1503 BALSAM ST                 APT 2                             RHINELANDER       WI       54501                    6004               Various                                                                                            $74.98
CINDY PORTER                 1331 3RD ST NE                                                   ROCHESTER         MN       55906                    6002               Various                                                                                             $0.68
CINDY REMM                   310 FITCH ST                                                     HERMAN            NE       68029                    6002               Various                                                                                             $3.73
CINDY RUSSELL                3178 N 7TH ST                                                    COEUR D ALENE     ID       83815                    6002               Various                                                                                             $1.73
CINDY SALO                   PO BOX 9155                                                      BOISE             ID       83707                    6002               Various                                                                                             $0.96
CINDY SCHMITT                809 B ROBERTS RD                                                 SARTELL           MN       56377                    6004               Various                                                                                             $5.68
CINDY SCHWINDT               67 EL RANCHO RD                                                  WHEATLAND         WY       82201                    6002               Various                                                                                             $5.95
CINDY SHANNON                23343 COVERED BRIDGE DR                                          RICHLAND CENTER   WI       53581                    6004               Various                                                                                             $9.98
CINDY SMITH                  1220 CEDAR ST APT 315                                            STURGIS           SD       57785                    6002               Various                                                                                             $7.07
CINDY STEELE                 316 BROADWAY ST APT#3                                            TOWNSEND          MT       59644                    6004               Various                                                                                             $2.00

CINDY SUE JOHNSON            777 S EISENHOWER AVE TRLR 41                                     MASON CITY        IA       50401                    6002               Various                                                                                               $7.70
CINDY TORRES                 1706 S DAYTON PL                                                 KENNEWICK         WA       99337                    6004               Various                                                                                               $4.99
CINDY VACEK                  1049 COUNTY ROAD 45                                              OMAHA             NE       68122                    6002               Various                                                                                               $8.52
CINDY VETROVSKY              1929 COUNTY ROAD 1900                                            DE WITT           NE       68341                    6002               Various                                                                                               $0.96
CINDY WALKER                 1542 170TH AVE                                                   LARNED            KS       67550                    6002               Various                                                                                               $2.71
CINDY WHITE                  26150 ALLOUEZ ST                                                 CALUMET           MI       49913                    6002               Various                                                                                               $8.52
CINDY WOLF                   112 W GRANT ST                                                   LAKE MILLS        WI       53551                    6002               Various                                                                                               $4.90
CINDY ZIMMERMAN              N5374 HIGHWAY 55                                                 HILBERT           WI       54129                    6002               Various                                                                                               $4.79
                             1128 MORRAINE VIEW DRIVE
CINE HILL                    #308                                                             MADISON           WI       53719                    6004               Various                                                                                               $3.00
CINNAMON FULGHUM             723 4TH AVE N                                                    GLASGOW           MT       59230                    6002               Various                                                                                               $1.81




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              Creditor Name                         Address1                  Address2         Address3             City         State         Zip    Country     Number                Claim                                                                             Total Claim
CINNAMON TROEMNER                       119 MERCURY DR                                                      EAST GRAND FORK   MN         56721                6002                Various                                                                                             $2.49
CINNAMYN PUDWILL                        102 WEST ST                                                         NORTHVILLE        SD         57465                6004                Various                                                                                            $16.00
CINTAS FIRE PROTECTION                  FAS LOCKBOX 636525                PO BOX 636525                     CINCINNATI        OH         45263-6525           5960                Various                                                                                        $16,621.98
CINTHIA BINGHAM                         591 W RAILROAD AVE                                                  GREEN RIVER       WY         82935                6002                Various                                                                                             $7.01
CINTHIA CASTILLO                        400 N DIVISION ST                                                   APPLETON          WI         54911                6002                Various                                                                                             $6.33
CINTHIA TORRES-CAMARILLO                1700 COUNTY ROAD W42                                                OSSIAN            IA         52161                6002                Various                                                                                             $6.30
CIOX HEALTH                             PO BOX 409669                                                       ATLANTA           GA         30384                8843                Various                                                                                         $6,347.97
CIPRIANO VEGA                           501 CULBERTSON AVE                                                  WORLAND           WY         82401                6002                Various                                                                                             $5.34
CIRCLE SANITATION                       4700 46TH AVE NW                                                    MINOT             ND         58703                                    Various                                                                                          $348.10
CISCO SYSTEMS CAPITAL CORPORAT          PO BOX 311746                                                       NEW BRAUNFELS     TX         78131-1746            7729               Various                                                                                            $27.52
CIT GROUP COMMERCIAL SERVICES INC       PO BOX 1036                                                         CHARLOTTE         NC         28201-1036            Various            Various                                                                                     $4,120,147.35
CITLALI SOSA                            1706 INDIANA ST                                                     RACINE            WI         53405                 6004               Various                                                                                            $10.00
CITRA RAHARDJO                          419 S WESTHAVEN DR                APT H105                          OSHKOSH           WI         54904                 6004               Various                                                                                            $15.00
                                                                          19 GROSVENOR AVE
CITY BY CITY                            AMERICAN RING COMPANY             STE 555                           E PROVIDENCE      RI         02914                 0436               Various                                                                                       $140,793.22
                                                                                                                                                                                  11/21/2018 -
CITY OF ABILENE, KS                     P.O. BOX 519                                                        ABILENE           KS         67410-0519             5-00-0            12/19/2018                                                                                        $159.88
                                                                                                                                                                                  10/1/2018 -
CITY OF ADAMS, WI                       P.O. BOX 1009                                                       ADAMS             WI         53910                  6                 12/31/2018                                                                                        $515.98
                                                                                                                                                                                  11/21/2018 -
CITY OF ALBANY, MO                      106 EAST CLAY                                                       ALBANY            MO         64402                  0-05              12/20/2018                                                                                      $1,892.20
                                                                                                                                                                                  11/6/2018 -
CITY OF ALBERT LEA, MN                  221 E CLARK                                                         ALBERT LEA        MN         56007-2496            0                  12/3/2018                                                                                         $341.82
CITY OF ALBION                          420 W MARKET STREET                                                 ALBION            NE         68620                                    Various                                                                                           $684.00
                                                                                                                                                                                  11/14/2018 -
CITY OF ALPINE, TX                      100 NORTH 13TH ST                                                   ALPINE            TX         79830                  75.02             12/10/2018                                                                                      $1,115.43
                                                                                                                                                                                  10/30/2018 -
CITY OF ANTHONY, KS                     PO BOX 504                                                          ANTHONY           KS         67003-0504             1001              11/28/2018                                                                                      $2,307.29
                                                                                                                                                                                  9/2/2018 -
CITY OF APPLETON, WI                    P.O. BOX 1217                                                       APPLETON          WI         54912                  2-200             12/27/2018                                                                                      $6,778.48
                                                                                                                                                                                  12/1/2018 -
CITY OF ARCADIA, WI                     203 WEST MAIN                                                       ARCADIA           WI         54612                  0-02              12/31/2018                                                                                      $3,572.53
CITY OF BILLINGS                        2251 BELKNAP AVE                                                    BILLINGS          MT         59101                                    Various                                                                                          $459.89
                                        P.O. BOX 30958 PUBLIC UTILITIES                                                                                                           11/22/2018 -
CITY OF BILLINGS, MT-30958              DEPARTMENT                                                          BILLINGS          MT         59111                  8506              12/21/2018                                                                                        $310.46
                                                                                                                                                                                  11/6/2018 -
CITY OF BLANDING, UT                    50 WEST 100 SOUTH                                                   BLANDING          UT         84511                  42473             12/12/2018                                                                                      $1,976.66
CITY OF BOWMAN                          PO BOX 12                                                           BOWMAN            ND         58623-0012                               Various                                                                                         $1,283.50
                                                                                                                                                                                  11/28/2018 -
CITY OF BOWMAN, ND                      P.O. BOX 12                                                         BOWMAN            ND         58623-0012             Sep-00            12/26/2018                                                                                            $41.88
                                                                                                                                                                                  11/15/2018 -
CITY OF BRANDENBURG, KY                 P.O. BOX 305                                                        BRANDENBURG       KY         40108                 20-002             12/19/2018                                                                                        $127.60
CITY OF BURLINGTON                      PO BOX 366                                                          BURLINGTON        CO         80807                                    Various                                                                                           $944.16
                                                                                                                                                                                  11/2/2018 -
CITY OF BURLINGTON, CO                  PO BOX 366                                                          BURLINGTON        CO         80807                  0.02              12/3/2018                                                                                       $2,591.50
                                                                                                                                                                                  11/16/2018 -
CITY OF CLARION, IA                     P.O. BOX 266                                                        CLARION           IA         50525                  2                 12/14/2018                                                                                        $103.41
                                        PO BOX 37 BILLING &                                                                                                                       11/27/2018 -
CITY OF CLAY CENTER PUBLIC UTILITIES    COLLECTION DEPT                                                     CLAY CENTER       KS         67432                  Jun-00            12/21/2018                                                                                      $3,032.91
                                                                                                                                                                                  11/9/2018 -
CITY OF CLIFTON, TX                     P.O. BOX 231                                                        CLIFTON           TX         76634                  1234              12/10/2018                                                                                      $1,059.56
                                                                                                                                                                                  11/14/2018 -
CITY OF CLINTONVILLE, WI                50 10TH ST                                                          CLINTONVILLE      WI         54929-1513            1-May              12/13/2018                                                                                      $4,797.17
CITY OF COMANCHE                        200 N AUSTIN                                                        COMANCHE          TX         76442                                    Various                                                                                          $821.58




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              Creditor Name                         Address1           Address2        Address3               City          State           Zip   Country       Number                Claim                                                                             Total Claim
                                                                                                                                                                                11/3/2018 -
CITY OF DALHART, TX                   P.O. BOX 2005                                                 DALHART            TX           79022-2005              80-03               12/9/2018                                                                                         $110.67
CITY OF DONIPHAN                      124 W. JEFFERSON ST                                           DONIPHAN           MO           63935                                       Various                                                                                           $320.00
                                                                                                                                                                                11/14/2018 -
CITY OF DONIPHAN, MO                  124 JEFFERSON ST                                              DONIPHAN           MO           63935                   247                 12/13/2018                                                                                            $51.19
                                                                                                                                                                                12/1/2018 -
CITY OF DOUGLAS, WY                   P.O. BOX 1030                                                 DOUGLAS            WY           82633                   .00.1               12/31/2018                                                                                        $525.53
                                                                                                                                                                                11/16/2018 -
CITY OF DYERSVILLE, IA                340 FIRST AVE E                                               DYERSVILLE         IA           52040                   00-03               12/15/2018                                                                                        $295.58
                                                                                                                                                                                11/21/2018 -
CITY OF EL DORADO SPRINGS, MO         135 WEST SPRING                                               EL DORADO SPRINGS MO            64744                   3102                12/20/2018                                                                                      $2,007.62
                                                                                                                                                                                11/27/2018 -
CITY OF ELDORA, IA                    1442 WASHINGTON                                               ELDORA             IA           50627                   00-01               12/26/2018                                                                                            $56.18
                                                                                                                                                                                12/1/2018 -
CITY OF ELY, NV                       501 MILL ST                                                   ELY                NV           89301-1940              30.3                12/31/2018                                                                                        $188.47
                                                                                                                                                                                11/16/2018 -
CITY OF ESTHERVILLE, IA               P.O. BOX 417                                                  ESTHERVILLE        IA           51334                   5-Nov               12/17/2018                                                                                      $2,908.51
                                                                                                                                                                                11/29/2018 -
CITY OF FAIRMONT, MN                  100 DOWNTOWN PLAZA                                            FAIRMONT           MN           56031-1709              0                   12/27/2018                                                                                      $8,438.96
                                                                                                                                                                                12/2/2018 -
CITY OF FERGUS FALLS, MN              112 W WASHINGTON AVE                                          FERGUS FALLS       MN           56537                   480                 1/1/2019                                                                                          $537.76
                                                                                                                                                                                11/16/2018 -
CITY OF FOREST CITY, IA               P.O. BOX 346                                                  FOREST CITY        IA           50436                   1                   12/15/2018                                                                                      $2,254.03
                                                                                                                                                                                11/3/2018 -
CITY OF GALLATIN, MO                  112 EAST GRAND                                                GALLATIN           MO           64640                   1002                12/4/2018                                                                                       $2,793.04
                                                                                                                                                                                11/16/2018 -
CITY OF GLADWIN, MI                   1000 WEST CEDAR AVENUE                                        GLADWIN            MI           48624                   1615                12/15/2018                                                                                        $129.85
                                                                                                                                                                                12/1/2018 -
CITY OF GORDON, NE                    PO BOX 310                                                    GORDON             NE           69343                   10355               12/31/2018                                                                                        $203.56
                                                                                                                                                                                11/24/2018 -
CITY OF GOTHENBURG, NE                409 9TH STREET                                                GOTHENBURG         NE           69138                   69.02               12/24/2018                                                                                      $2,760.95
                                                                                                                                                                                11/20/2018 -
CITY OF GREEN RIVER, WY               50 EAST 2ND NORTH                                             GREEN RIVER        WY           82935                   -2                  12/17/2018                                                                                            $71.94
                                                                                                                                                                                11/16/2018 -
CITY OF HAMPTON, IA                   122 1ST AVENUE NW                                             HAMPTON            IA           50441-1705              1                   12/15/2018                                                                                            $73.32
                                                                                                                                                                                11/9/2018 -
CITY OF HELENA, MT                    316 NORTH PARK AVENUE                                         HELENA             MT           59623                   7-974               12/5/2018                                                                                         $313.66
                                                                                                                                                                                11/1/2018 -
CITY OF HOT SPRINGS, SD               303 NORTH RIVER                                               HOT SPRINGS        SD           57747                   0-00-2              11/30/2018                                                                                        $232.18
                                                                                                                                                                                11/11/2018 -
CITY OF HUMBOLDT, IA                  29 5TH ST S                                                   HUMBOLDT           IA           50548                   00-01               12/10/2018                                                                                            $82.74
                                                                                                                                                                                12/1/2018 -
CITY OF HUTCHINSON, MN                111 HASSAN STREET SE UTILITIES                                HUTCHINSON         MN           55350                   May-00              12/31/2018                                                                                        $435.80
                                                                                                                                                                                11/13/2018 -
CITY OF IRON RIVER WATER DEPARTMENT   106 WEST GENESEE STREET                                       IRON RIVER         MI           49935                   000-01              12/12/2018                                                                                        $514.10
                                                                                                                                                                                11/18/2018 -
CITY OF JACKSBORO                     112 WEST BELKNAP                                              JACKSBORO          TX           76458                   0-01                12/17/2018                                                                                        $959.36
                                                                                                                                                                                11/16/2018 -
CITY OF KASSON, MN                    401 5TH STREET SE                                             KASSON             MN           55944                   21-00               12/14/2018                                                                                      $3,489.41
                                                                                                                                                                                11/17/2018 -
CITY OF KERMIT, TX                    110 SOUTH TORNILLO ST                                         KERMIT             TX           79745-2612              1-Oct               12/19/2018                                                                                        $317.81
CITY OF KIMBALL                       223 SOUTH CHESTNUT STREET                                     KIMBALL            NE           69145                                       Various                                                                                           $594.00
                                                                                                                                                                                11/24/2018 -
CITY OF LACEY, WA                     PO BOX 34210                                                  SEATTLE            WA           98124-1210              28178               12/28/2018                                                                                      $1,527.48




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               Creditor Name                     Address1             Address2         Address3               City        State           Zip   Country       Number                Claim                                                                             Total Claim
                                                                                                                                                                              11/22/2018 -
CITY OF LANDER, WY                    240 LINCOLN STREET                                            LANDER           WY           82520                   880.2               12/21/2018                                                                                            $62.34
                                                                                                                                                                              11/16/2018 -
CITY OF LITCHFIELD, MN                126 N MARSHALL                                                LITCHFIELD       MN           55355                   0                   12/15/2018                                                                                        $274.39
                                                                                                                                                                              11/2/2018 -
CITY OF LITTLEFIELD, TX               P.O. BOX 1267                                                 LITTLEFIELD      TX           79339                   5-Jun               12/3/2018                                                                                        $490.23
CITY OF LOGAN                         153 N 1400 W                                                  LOGAN            UT           84321                                       Various                                                                                          $537.32
CITY OF LOVINGTON                     214 S LOVE                                                    LOVINGTON        NM           88260                                       Various                                                                                         $1,428.27
                                                                                                                                                                              12/2/2018 -
CITY OF LUVERNE, MN                   P.O. BOX 659                                                  LUVERNE          MN           56156-0659              2-Feb               1/1/2019                                                                                        $3,398.64
                                                                                                                                                                              11/15/2018 -
CITY OF LYONS, KS                     P.O. BOX 808                                                  LYONS            KS           67554                   5908                12/15/2018                                                                                        $458.61
                                                                                                                                                                              10/1/2018 -
CITY OF MAHNOMEN, MN                  PO BOX 250                                                    MAHNOMEN         MN           56557                   0-00-7              12/26/2018                                                                                        $120.33
CITY OF MARQUETTE/44 NORTH            1406 N MITCHELL STREET      PO BOX 700                        CADILLAC         MI           49601                   6002                Various                                                                                            $31.20
CITY OF MAYVILLE                      PO BOX                                                        MAYVILLE         ND           58257                                       Various                                                                                           $614.68
                                                                                                                                                                              11/27/2018 -
CITY OF MAYVILLE UTILITES, WI         400 KEKOSKEE ST                                               MAYVILLE         WI           53050                   0-00                12/21/2018                                                                                        $241.56
                                                                                                                                                                              12/7/2018 -
CITY OF MAYVILLE, ND                  P.O. BOX 220                                                  MAYVILLE         ND           58257                   Oct-00              1/6/2019                                                                                           $82.33
CITY OF MEMPHIS                       125 W JEFFERSIN ST                                            MEMPHIS          MO           63555                                       Various                                                                                           $600.00
                                                                                                                                                                              1/1/2019 -
CITY OF MOBRIDGE, SD                  114 1ST AVE EAST                                              MOBRIDGE         SD           57601-2604              5-00-2              1/31/2019                                                                                             $64.90
                                                                                                                                                                              9/6/2018 -
CITY OF MONROE, WI                    1110 18TH AVENUE                                              MONROE           WI           53566                   0-00                12/5/2018                                                                                       $2,213.97
                                                                                                                                                                              11/14/2018 -
CITY OF MOUNT AYR, IA                 200 SOUTH TAYLOR                                              MOUNT AYR        IA           50854                   3002                12/13/2018                                                                                        $201.12
                                                                                                                                                                              9/7/2018 -
CITY OF NEILLSVILLE WI                118 WEST 5TH ST CITY HALL                                     NEILLSVILLE      WI           54456                   Apr-00              12/7/2018                                                                                         $835.61
                                                                                                                                                                              10/27/2018 -
CITY OF NEW HAMPTON UTILITIES DEPT    112 EAST SPRING STREET                                        NEW HAMPTON      IA           50659                   -1                  11/28/2018                                                                                         $33.48
CITY OF NEW TOWN                      PO BOX 309                                                    NEW TOWN         ND           58763                                       Various                                                                                           $600.00
                                                                                                                                                                              11/27/2018 -
CITY OF NEWCASTLE, WY                 10 WEST WARWICK                                               NEWCASTLE        WY           82701                   78-00               12/26/2018                                                                                        $359.17
                                                                                                                                                                              11/15/2018 -
CITY OF NORTON, KS                    P.O. BOX 160                                                  NORTON           KS           67654                   1261                12/12/2018                                                                                      $2,196.03
                                                                                                                                                                              12/1/2018 -
CITY OF O NEILL, NE                   401 EAST FREMONT                                              O'NEILL          NE           68763                   0                   12/31/2018                                                                                        $395.71
CITY OF OAKES                         124 S 5TH ST                                                  OAKES            ND           58474                                       Various                                                                                           $847.00
                                                                                                                                                                              12/1/2018 -
CITY OF OAKES, ND                     124 S 5TH ST                                                  OAKES            ND           58474                   1-00-0              12/31/2018                                                                                        $102.50
                                                                                                                                                                              11/21/2018 -
CITY OF OELWEIN, IA                   20 2ND AVE SW                                                 OELWEIN          IA           50662                   0-01                12/20/2018                                                                                        $177.13
                                                                                                                                                                              9/5/2018 -
CITY OF ONALASKA,WI                   415 MAIN STREET                                               ONALASKA         WI           54650                   Jan-00              12/5/2018                                                                                       $2,530.83
                                                                                                                                                                              12/1/2018 -
CITY OF ONAWA, IA                     914 DIAMOND STREET                                            ONAWA            IA           51040                   1001                12/31/2018                                                                                      $2,827.19
                                                                                                                                                                              11/28/2018 -
CITY OF OROFINO, ID                   P.O. BOX 312                                                  OROFINO          ID           83544                   0                   12/19/2018                                                                                        $301.39
                                                                                                                                                                              10/1/2018 -
CITY OF OSHKOSH, WI                   P.O. BOX 1128                                                 OSHKOSH          WI           54903                   0000.00             12/31/2018                                                                                        $170.84
                                                                                                                                                                              9/29/2018 -
CITY OF PAYNESVILLE, MN               221 WASHBURNE AVE                                             PAYNESVILLE      MN           56362-1697              2-Oct               12/27/2018                                                                                            $88.40




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              Creditor Name                   Address1       Address2        Address3               City        State           Zip   Country      Number                Claim                                                                             Total Claim
                                                                                                                                                                   11/22/2018 -
CITY OF PERHAM, MN              PO BOX 130                                                PERHAM           MN           56573                   2-Apr              12/20/2018                                                                                      $1,021.62
CITY OF PERRYTON                PO BOX 849                                                PERRYTON         TX           79070                                      Various                                                                                          $448.45
                                                                                                                                                                   11/15/2018 -
CITY OF PHILLIPSBURG, KS        P.O. BOX 447                                              PHILLIPSBURG     KS           67661                   000-03             12/18/2018                                                                                        $199.58
                                P.O. BOX 140 WATER & SEWER                                                                                                         3/2/2019 -
CITY OF PLATTSMOUTH, NE         DEPT                                                      PLATTSMOUTH      NE           68048-0140              May-00             6/1/2019                                                                                          $227.91
                                                                                                                                                                   11/28/2018 -
CITY OF PRESIDIO, TX            P.O. BOX 1899                                             PRESIDIO         TX           79845                   43586              12/27/2018                                                                                        $790.65
                                                                                                                                                                   11/17/2018 -
CITY OF QUINCY, WA              P.O. BOX 338                                              QUINCY           WA           98848                   98.1               12/19/2018                                                                                        $563.19
                                                                                                                                                                   11/8/2018 -
CITY OF RED OAK, IA             P.O. BOX 475                                              RED OAK          IA           51566-0475              1                  12/7/2018                                                                                             $69.89
                                                                                                                                                                   1/1/2019 -
CITY OF REDFIELD, SD            626 MAIN STREET                                           REDFIELD         SD           57469                   8-00-2             1/31/2019                                                                                             $55.50
                                                                                                                                                                   10/1/2018 -
CITY OF RHINELANDER, WI         135 S STEVENS ST                                          RHINELANDER      WI           54501-3434              75                 12/31/2018                                                                                        $174.00
                                                                                                                                                                   11/27/2018 -
CITY OF ROLLA, ND               BOX 1200                                                  ROLLA            ND           58367                   1-00-0             12/27/2018                                                                                        $474.89
                                                                                                                                                                   12/1/2018 -
CITY OF ROSEAU, MN              BOX 307                                                   ROSEAU           MN           56751                   0-00-7             12/31/2018                                                                                      $5,960.57
CITY OF ROUNDUP/ALLIED WASTE    PO BOX 660                                                ROUNDUP          MT           59072-0660                                 Various                                                                                          $239.64
                                                                                                                                                                   11/16/2018 -
CITY OF RUSSELL, KS             P.O. BOX 112                                              RUSSELL          KS           67665-0112              0-03               12/27/2018                                                                                      $3,594.27
                                                                                                                                                                   12/6/2018 -
CITY OF SALMON, ID              200 MAIN ST                                               SALMON           ID           83467                   2.02               1/4/2019                                                                                          $286.74
                                                                                                                                                                   11/2/2018 -
CITY OF SAVANNA, IL             333 CHICAGO AVE                                           SAVANNA          IL           61074                   6130               12/1/2018                                                                                         $165.50
                                                                                                                                                                   11/15/2018 -
CITY OF SENECA, KS              P.O. BOX 40                                               SENECA           KS           66538                   1502               12/14/2018                                                                                      $2,117.16
                                                                                                                                                                   11/16/2018 -
CITY OF SHELDON, IA             P.O. BOX 276                                              SHELDON          IA           51201                   2                  12/17/2018                                                                                            $78.41
                                                                                                                                                                   11/21/2018 -
CITY OF SIOUX CITY, IA/3572     PO BOX 3572                                               SIOUX CITY       IA           51102-3572              59530              12/21/2018                                                                                        $668.11
                                                                                                                                                                   11/10/2018 -
CITY OF ST. PETER, MN           227 SOUTH FRONT ST                                        ST. PETER        MN           56082                   0-01               12/10/2018                                                                                      $4,539.01
                                                                                                                                                                   11/29/2018 -
CITY OF STANDISH, MI            P.O. BOX 726                                              STANDISH         MI           48658                   000-03             12/26/2018                                                                                        $120.64
                                                                                                                                                                   11/22/2018 -
CITY OF STANLEY, ND             PO BOX 249                                                STANLEY          ND           58784                   1-00-2             12/26/2018                                                                                            $39.73
                                                                                                                                                                   11/23/2018 -
CITY OF TOLEDO, IA              P.O. BOX 234                                              TOLEDO           IA           52342                   70-01              12/20/2018                                                                                         $89.11
CITY OF TORRINGTON              436 EAST 22ND AVE                                         TORRINGTON       WY           82240                                      Various                                                                                           $681.20
                                                                                                                                                                   11/17/2018 -
CITY OF TULIA, TX               PO BOX 847                                                TULIA            TX           79088                   0-05               12/27/2018                                                                                        $941.27
                                                                                                                                                                   11/24/2018 -
CITY OF TWO HARBORS, MN         522 1ST AVENUE                                            TWO HARBORS      MN           55616                   00-01              12/20/2018                                                                                      $6,684.85
CITY OF ULYSSES                 115 W GRANT                                               ULYSSES          KS           67880                                      Various                                                                                          $330.22
                                                                                                                                                                   12/1/2018 -
CITY OF ULYSSES, KS             115 W GRANT                                               ULYSSES          KS           67880                   2                  1/1/2019                                                                                           $66.01
CITY OF WARROD                  121 MAIN AVE NE                                           WARROAD          MN           56763                                      Various                                                                                         $3,276.00
                                                                                                                                                                   11/27/2018 -
CITY OF WAUKON, IA              101 ALLAMAKEE                                             WAUKON           IA           52172                   00-01              12/18/2018                                                                                            $71.65




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                                                                                                                                                                                                   Contingent


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                                                                                                                                                             Account         Incurred, Basis for
             Creditor Name                  Address1                 Address2        Address3             City            State           Zip   Country      Number                Claim                                                                             Total Claim
                                                                                                                                                                             11/17/2018 -
CITY OF WAUPACA, WI            111 SOUTH MAIN                                                     WAUPACA            WI           54981                   8.02               12/18/2018                                                                                        $288.28
                                                                                                                                                                             11/14/2018 -
CITY OF WAYNE, NE              P.O. BOX 8                                                         WAYNE              NE           68787                   1-Jan              12/14/2018                                                                                      $2,427.10
                                                                                                                                                                             12/1/2018 -
CITY OF WEBSTER, SD            PO BOX 539                                                         WEBSTER            SD           57274-0539              0-00-1             12/31/2018                                                                                        $108.40
                                                                                                                                                                             12/1/2018 -
CITY OF WENATCHEE, WA          P.O. BOX 519                                                       WENATCHEE          WA           98807-0519              00-01              12/31/2018                                                                                      $1,152.24
                                                                                                                                                                             11/20/2018 -
CITY OF WEST JORDAN, UT        PO BOX 550                                                         WEST JORDAN CITY   UT           84084-5020              3378               12/17/2018                                                                                        $603.32
CITY OF WOLF POINT             201 4TH AVE S                                                      WOLF POINT         MT           59201                                      Various                                                                                           $569.07
                                                                                                                                                                             11/16/2018 -
CITY OF YUMA, CO               P.O. BOX 265                                                       YUMA               CO           80759                   20.03              12/17/2018                                                                                      $1,956.63
CITY SALES                     CT SALES OF IM LLC             PO BOX 158                          IRON MOUNTAIN      MI           49801                   2633               Various                                                                                            $40.55
                                                                                                                                                                             11/21/2018 -
CITY TREASURER MADISON - WI    P.O. BOX 2997 CITY TREASURER                                       MADISON            WI           53701                   8742               12/20/2018                                                                                        $969.00
CLAIR HAMMERAND                5716 E CREEK RD                                                    BELOIT             WI           53511                   6002               Various                                                                                             $7.59
CLAIR HORNING                  C1998 ROCK RD                                                      STRATFORD          WI           54484                   6002               Various                                                                                             $5.29
CLAIRE BENNETT                 5039 MEADOWSIDE LANE                                               WAUNAKEE           WI           53597                   6004               Various                                                                                             $6.10
CLAIRE BRYAN                   2877 MELODY RD                                                     HELENA             MT           59602                   6004               Various                                                                                             $2.00
CLAIRE CARPENTER               222 MERRY ST APT 8                                                 MADISON            WI           53704                   6004               Various                                                                                            $20.00
CLAIRE GABERELL                4710 CARTER STREET                                                 OREGON             WI           53575                   6004               Various                                                                                            $11.80
CLAIRE HILL                    474 BIRCH DRIVE                                                    ALTOONA            WI           54720                   6004               Various                                                                                            $89.58
CLAIRE LARSON                  1201 3RD AVE NE APT D403                                           ABERDEEN           SD           57401                   6002               Various                                                                                             $1.15
CLAIRE POST                    614 N MAPLE AVE                                                    GREEN BAY          WI           54303                   6004               Various                                                                                             $9.00
CLAIRE SCHROEDER               N5528 CTY RD # 607                                                 IRON MOUNTAIN      MI           49801                   6002               Various                                                                                             $4.00
CLAIRE TEAGUE                  1475 N MAIN ST #E201                                               LAYTON             UT           84041                   6002               Various                                                                                             $3.04
CLAIRE VANHORN                 N 14087 PRICE RD                                                   FAIRCHILD          WI           54741                   6002               Various                                                                                             $6.22
CLAIRE WADLEY                  1331 1/2 N 2ND ST                                                  WAUSAU             WI           54403                   6004               Various                                                                                             $3.00
CLAIRE WALKER                  1721 N 400TH W                                                     LAYTON             UT           84041                   6002               Various                                                                                             $6.44
CLARA BEYER                    1355 TIMBER TRAIL                                                  SUAMICO            WI           54173                   6004               Various                                                                                            $22.79
CLARA MCVEY                    PO BOX 44                                                          BIGGSVILLE         IL           61418                   6002               Various                                                                                             $1.10
CLARA PIONKE                   11008 CTY V                                                        HANCOCK            WI           54943                   6002               Various                                                                                             $4.66
CLARA ROSE FAIST               659 E JEFFERSON ST             #110                                FREEPORT           IL           61032                   6004               Various                                                                                           $128.04
CLARA WALKER                   BOX 243                                                            FORT BRIDGER       WY           82933                   6002               Various                                                                                             $0.36
CLARABELL (C JACKSON           W3490 ROCK CREEK RD                                                LOYAL              WI           54446                   6002               Various                                                                                             $3.26
CLARE DUPRE                    1019 15TH ST N PRE RELEASE                                         GREAT FALLS        MT           59404                   6002               Various                                                                                             $0.63
CLARE LEWANDOWSKI              2330 PROSPECT ST.                                                  LA CROSSE          WI           54603                   6004               Various                                                                                             $5.70
CLARE SCHULZ                   2461 N LYNNDALE DRIVE                                              APPLETON           WI           54914                   6004               Various                                                                                             $2.04
CLARENCE BLANKENSHIP           PO BOX 534                                                         WHITE PINE         MI           49971                   6002               Various                                                                                             $1.94
CLARENCE BRUTON                617 JEFFERSON STREET #3                                            WAUSAU             WI           54403                   6004               Various                                                                                             $1.00
CLARENCE CAR TRIEGLAFF         3228 N BARKWOOD LN                                                 APPLETON           WI           54914                   6002               Various                                                                                             $2.14
CLARENCE COURIER               42592 GREAT RIVER RD                                               AITKIN             MN           56431                   6002               Various                                                                                             $2.11
CLARENCE HEIDENREICH           1803 20TH STREET CT                                                MONROE             WI           53566                   6002               Various                                                                                             $2.58
CLARENCE MILLIKEN              NH NORTH HALL                                                      WHEATLAND          WY           82201                   6002               Various                                                                                             $7.56
CLARENCE NORCUTT               7511 MT HIGHWAY 42                                                 GLASGOW            MT           59230                   6002               Various                                                                                             $2.00
CLARENCE RICHARDS              834 N 6TH STREET                                                   DOUGLAS            WY           82633                   6002               Various                                                                                             $4.16
CLARENCE SERVAIS               416 BRODY AVE                                                      CASHTON            WI           54619                   6002               Various                                                                                             $1.86
CLARICE BERGMAN                N589 HOWARD ROAD                                                   WHITEWATER         WI           53190                   6004               Various                                                                                            $15.00
CLARICE CLIFFORD               103 13TH STR SE                                                    WATERTOWN          SD           57201                   6004               Various                                                                                            $47.00
CLARICE SIMICH                 1620 N PRAIRIE AVE                                                 FAIRMONT           MN           56031                   6002               Various                                                                                             $0.85
CLARICE WINQUIST               912 N STEVENS ST                                                   RHINELANDER        WI           54501                   6002               Various                                                                                             $9.98

CLARISSA GRIES                 531 N WEBSTER ST                                                   PORT WASHINGTON WI              53074                   6002               Various                                                                                               $8.71




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CLARISSA MOSCHKAU                 PO BOX 174                                                     NEW AUBURN       WI           54757                 6004                Various                                                                                             $9.98
CLARISSA PAGE                     145 SO EASTWOOD DR                                             OREM             UT           84097                 6004                Various                                                                                            $23.00
CLARISSE STELZL                   1784 SHERIDAN RD LOT 2                                         KENOSHA          WI           53140                 6004                Various                                                                                             $3.00
CLARITY INCORPORATED              224 NORTH PARK AVENUE                                          FREMONT          NE           68025                 6254                Various                                                                                         $1,207.25

                                                               517 COURT STREEN
CLARK COUNTY UW EXTENSION         LORI HENDRICKSON             ROOM 104                          NEILLSVILLE      WI           54456                   6666              Various                                                                                               $15.96
                                                                                                                                                                         12/2/2018 -
CLARK ELECTRIC COOPERATIVE, WI    PO BOX 190                                                     GREENWOOD        WI           54437-0190             0604               1/1/2019                                                                                        $3,461.67
CLARK HURD                        22219 SO FAWN DR                                               PECULIAR         MO           64078                  6004               Various                                                                                             $6.00
CLARK KEUP                        208 S JOHN ST                                                  NEENAH           WI           54956                  6002               Various                                                                                             $2.30
CLARK OVERBEY                     2211 N STATE ST                                                ABERDEEN         SD           57401                  6004               Various                                                                                            $46.08
CLARK W. WRIGHT                   2036 N WESTWIND DR                                             POST FALLS       ID           83854                  6002               Various                                                                                             $0.90
CLARKE KNUDSON                    795 W CREST LN                                                 ELLSWORTH        WI           54011                  6002               Various                                                                                             $1.62
CLARKE SEAQUIST                   2427 HIGHWAY AVE SW                                            ROCHESTER        MN           55902                  6004               Various                                                                                             $3.00
CLARON PECK                       5024 THEATRE RD                                                DELAVAN          WI           53115                  6002               Various                                                                                            $10.00
                                  21655 TROLLEY INDUSTRIAL
CLASSIC JERKY COMPANY             DRIVE                                                          TAYLOR           MI           48180                  5459               Various                                                                                        $36,695.63
CLASSIC OPTICAL LABORATORIES I    PO BOX 1341                                                    YOUNGSTOWN       OH           44501                  6060               Various                                                                                         $1,518.17
CLAUDE J (SA LEMERT               614 W CHINOOK ST                                               LIVINGSTON       MT           59047                  6002               Various                                                                                             $7.37
CLAUDE MILLER                     217 S RIVER ROAD                                               JANESVILLE       WI           53546                  6004               Various                                                                                             $2.32
                                  21200 E COUNTRY VISTA RD C
CLAUDETTE BECKER                  205                                                            LIBERTY LAKE     WA           99019                  6004               Various                                                                                            $15.00
CLAUDETTE GASSNER                 25 N EWALD ST                                                  MAYVILLE         WI           53050                  6002               Various                                                                                            $10.00
CLAUDETTE GIVENS                  905 E 4TH ST                                                   BEARDSTOWN       IL           62618                  6002               Various                                                                                             $9.75
CLAUDIA ANDRADE                   6 S. DELEWARE STREET                                           WENATCHEE        WA           98801                  6004               Various                                                                                             $7.02
CLAUDIA CABLE                     3301 W 2ND ST LOT 31                                           NORTH PLATTE     NE           69101                  6002               Various                                                                                             $1.53
CLAUDIA CASTRO                    2000 W 7800TH S APT 24                                         WEST JORDAN      UT           84088                  6002               Various                                                                                             $5.37
CLAUDIA CHAVARRIA                 5803 S 84TH AVE                                                OMAHA            NE           68117                  6004               Various                                                                                            $33.00
CLAUDIA DOMINGUEZ                 PO BOX 588                                                     WAKEFIELD        NE           68784                  6002               Various                                                                                             $1.37
CLAUDIA DORADO                    121 NORTH MARIGOLD LN                                          WEST SALEM       WI           54669                  6004               Various                                                                                            $25.00
CLAUDIA EAVES                     13950 W 2ND AVE                                                OROFINO          ID           83544                  6002               Various                                                                                             $8.71
CLAUDIA ESTRADA                   1501 W ROSE APT 17                                             WALLA WALLA      WA           99362                  6004               Various                                                                                             $9.60
CLAUDIA FLORES ALONSO             510 S 3RD                                                      NORFOLK          NE           68701                  6004               Various                                                                                            $60.00
CLAUDIA JIMENEZ                   1917 S 17 ST                                                   OMAHA            NE           68108                  6004               Various                                                                                             $2.00
CLAUDIA KLAGES                    17613 536TH LN                                                 GOOD THUNDER     MN           56037                  6002               Various                                                                                             $7.48
CLAUDIA LANE                      1301 OLD STAGE WAY                                             YAKIMA           WA           98908                  6004               Various                                                                                            $11.00
CLAUDIA ORTEGA                    330 7TH ST APT 3                                               OGDEN            UT           84404                  6002               Various                                                                                             $0.55
CLAUDIA ROWE                      1258 WASHBURN AVE                                              IDAHO FALLS      ID           83402                  6002               Various                                                                                             $2.47
CLAUDIA SANTACRUZ                 4481 HILLSDALE AV                                              OMAHA            NE           68107                  6004               Various                                                                                             $4.00
CLAUDIA SKALECKI                  49 STUMP LAKE RD                                               CHIPPEWA FALLS   WI           54729                  6004               Various                                                                                             $2.00
CLAUDIA SMITH                     38118 CONGER CIR                                               NORTH BRANCH     MN           55056                  6002               Various                                                                                             $8.33
CLAUDIA TRYON                     701 BRUCE STREET                                               FOND DU LAC      WI           54935                  6004               Various                                                                                             $3.68
CLAUDIA WALDMANN                  109 EAST HARRIER                                               VALLEY           NE           68064                  6004               Various                                                                                            $30.00
CLAUDIA YOUNG                     50 E 3RD S                                                     GREEN RIVER      WY           82935                  6002               Various                                                                                             $5.97
CLAUSEN SANITARY                  1125 E 6TH AVE                                                 REDFIELD         SD           57469                                     Various                                                                                         $2,556.00
CLAVE HIEBERT                     610 FIRING CENTER RD                                           YAKIMA           WA           98901                  6004               Various                                                                                            $12.00
CLAY BONENBERGER                  608 13TH ST                                                    WISNER           NE           68791                  6002               Various                                                                                             $0.77
CLAY BROOKS                       2119 DENVER AVENUE                                             BOISE            ID           83706                  6004               Various                                                                                            $20.00
CLAY C CARLTON                    522 33RD AVE NW                                                SIDNEY           MT           59270                  6002               Various                                                                                             $6.16
CLAY COLLETT                      795 E 400TH N                                                  SPRINGVILLE      UT           84663                  6002               Various                                                                                             $9.04
CLAY DETTMANN                     N4144 CTY HWY A                                                RIO              WI           53960                  6004               Various                                                                                            $30.00
CLAYLEEN PIPINICH                 1460 MILL RD                                                   HELENA           MT           59602                  6002               Various                                                                                             $7.12
CLAYTON ANTILLA                   1 PARK AVE APT 109                                             CALUMET          MI           49913                  6002               Various                                                                                             $2.00




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CLAYTON CARRELL                   4939 STATE ROUTE 12                                             ELMA              WA         98541                 6004                Various                                                                                                $4.15
CLAYTON J RICHTER                 28 1/2 S 4TH ST                                                 TOMAHAWK          WI         54487                 6002                Various                                                                                                $4.30
CLAYTON JACOBSON                  218 N HOLLY AVE                                                 ELK MOUND         WI         54739                 6002                Various                                                                                                $8.05
CLAYTON KITCHIN                   1483 W MORY WOOD CT                                             SOUTH JORDAN      UT         84095                 6002                Various                                                                                                $7.64
CLAYTON L DOUGLAS                 2820 SAND DRAW RD                                               WORLAND           WY         82401                 6002                Various                                                                                                $0.77
CLAYTON LIDDIARD                  1214 W MICHELSEN WAY                                            WEST JORDAN       UT         84088                 6004                Various                                                                                               $20.99
CLAYTON LOWDER                    267 EAST WHITBECK STREET                                        KUNA              ID         83634                 6004                Various                                                                                               $29.99
CLAYTON M KUEHL                   4806 N DRIVER LN APT 115                                        COEUR D ALENE     ID         83815                 6002                Various                                                                                                $2.60
CLAYTON OVERMAN                   107 STETSON DR                                                  GILLETTE          WY         82716                 6002                Various                                                                                                $3.04
CLAYTON SCHULZ                    506 S TENNESSEE PL                                              MASON CITY        IA         50401                 6002                Various                                                                                                $2.55
CLAYTON SMITH                     906 1ST ST W                                                    ROUNDUP           MT         59072                 6002                Various                                                                                                $0.99
CLAYTON SVENSON                   1128 WINFORD AVE APT. 1                                         GREEN BAY         WI         54303                 6004                Various                                                                                                $1.00
CLEA LEVINE                       18539 HIGHWAY 85                                                BELLE FOURCHE     SD         57717                 6002                Various                                                                                                $6.90

CLEAN CUT MOWING                  CHAD SUTHERLAND              1109 ETHEL AVENUE                  OGALLALA          NE         69153                  9908               Various                                                                                          $250.00
CLEARWATER COUNTY TAX COLLECTO    BOX 707                                                         OROFINO           ID         83544                  0895               Various                                                                                        $22,342.41
CLEL FAY                          1801 MICHIGAN AVE                                               OROFINO           ID         83544                  6002               Various                                                                                             $0.38
CLEMENCE BRAA                     BOX 545                                                         FREDERICK         SD         57441                  6004               Various                                                                                            $11.84
CLEMENT HUGENROTH                 2536 JUNIPER RIDGE RD                                           BAILEYS HARBOR    WI         54202                  6002               Various                                                                                            $18.00
CLEMENT MOGER                     42377 E BIG MCDONALD DRIVE                                      DENT              MN         56528                  6002               Various                                                                                             $2.08
CLEMENT PAUL VALANDRA             381 TODD ST                                                     MISSION           SD         57555                  6002               Various                                                                                             $6.93
CLEMENT T GREGO-HERR              1711 129TH ST                                                   CHIPPEWA FALLS    WI         54729                  6002               Various                                                                                             $6.38
CLEON THIEL                       125 W FRONT ST APT 2                                            MISSOULA          MT         59802                  6004               Various                                                                                            $75.00
CLETE BURSKEY                     1002 10TH STREET                                                MOSINEE           WI         54455                  6002               Various                                                                                             $4.16
CLIFF GARNESS                     5901 WESTERN DR                                                 GREAT FALLS       MT         59404                  6004               Various                                                                                            $30.02
CLIFF KRIESE                      17083 445TH AVE                                                 HENRY             SD         57243                  6002               Various                                                                                             $0.93
CLIFF PELISHEK                    10921 BELMAR AVE                                                MARIBEL           WI         54227                  6004               Various                                                                                            $25.00
CLIFF STOVALL                     13102 SOUTH 24TH ST                                             BELLEVUE          NE         68123                  6004               Various                                                                                             $3.00
CLIFF SULLIVAN                    3539 150TH ST                                                   CORRECTIONVILLE   IA         51016                  6004               Various                                                                                             $8.00
CLIFF WEINKAUF                    515 W. FOND DU LAC ST.                                          RIPON             WI         54971                  6004               Various                                                                                            $34.00
                                                               44 E MIFFLIN
CLIFFORD & RAIHALA S C            ATTORNEYS AT LAW             STREET SUITE 800                   MADISON           WI         53703-2800             8120               Various                                                                                         $1,052.31
CLIFFORD C ADAMSON                13816 ROOSEVELT AVE                                             NAMPA             ID         83686                  6002               Various                                                                                             $0.38
CLIFFORD D. FOUTIN                267 E 1000TH S                                                  OREM              UT         84058                  6002               Various                                                                                             $0.60
CLIFFORD FLAXBEARD                13520 605TH ST                                                  KELLOGG           MN         55945                  6002               Various                                                                                             $4.99
CLIFFORD HAKES                    23061 120TH AVE.                                                CADOTT            WI         54727                  6004               Various                                                                                             $3.00
CLIFFORD JACOBS                   1626 S DEMETER DR                                               FREEPORT          IL         61032                  6002               Various                                                                                             $6.03
CLIFFORD MCKIM                    5230 SCHFIELD ST.                                               OMAHA             NE         68152                  6004               Various                                                                                            $52.00
CLIFFORD NESSETH                  419V EAST TAYLOR AVENUE                                         BARRON            WI         54812                  6004               Various                                                                                            $34.12
CLIFFORD PATTERSON                HC 4 BOX 162                                                    DONIPHAN          MO         63935                  6002               Various                                                                                             $5.92
CLIFFORD PETERSON                 695 CO RD # 492                                                 MARQUETTE         MI         49855                  6002               Various                                                                                             $9.84
CLIFFORD SCHREIER                 2969 GRANITE RD                                                 MOSINEE           WI         54455                  6002               Various                                                                                             $8.03
CLIFFORD ZIERLEIN                 13960 1ST AVE W                                                 OROFINO           ID         83544                  6002               Various                                                                                             $1.40
CLIFTON MANUAL JR                 5776 CROCKER COURT                                              ROSCOE            IL         61073                  6002               Various                                                                                             $4.16
CLIFTON NG JOHNS                  5960 COUNTY ROAD 270                                            PALMYRA           MO         63461                  6002               Various                                                                                             $6.41
CLINESHA PULLIAM                  1108 5TH AVE NW                                                 ROCHESTER         MN         55901                  6004               Various                                                                                             $6.00
CLINT CASTERLINE                  374 RIVER RD                                                    WOLF POINT        MT         59201                  6002               Various                                                                                             $4.33
CLINT DEY                         N11074 BUCKBEE RD                                               CLINTONVILLE      WI         54929                  6002               Various                                                                                             $8.33
CLINT PATTON                      N6834 CTY RD U U                                                FOND DU LAC       WI         54937                  6004               Various                                                                                            $15.00
CLINT THOMPSON                    522 LILLY RD APT539                                             OLYMPIA           WA         98506                  6004               Various                                                                                          $126.98
CLINTON CALL                      2024 E EMMERSON AVE                                             SALT LAKE CITY    UT         84108                  6002               Various                                                                                             $5.75
CLINTON CARLSON                   529 SOUTH 12TH                                                  ESCANABA          MI         49829                  6004               Various                                                                                             $8.13
CLINTON CLARK                     190 MOLLY LN                                                    CHALLIS           ID         83226                  6002               Various                                                                                             $2.85
CLINTON EASTMAN                   214 8TH AVE SE                                                  ROCHESTER         MN         55904                  6002               Various                                                                                             $4.41




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              Creditor Name                   Address1                  Address2          Address3            City       State           Zip   Country     Number                Claim                                                                             Total Claim
CLINTON J PRINDLE                   208 HAROLDS DR                                                    GLENWOOD        IA         51534                 6002                Various                                                                                                $9.89
CLINTON SCHULTZ                     600 UNION                      APT. A                             STEVENS POINT   WI         54481                 6004                Various                                                                                                $3.00
CLINTON WELCH                       6223 SHEPHERD RD. E                                               SHEPHERD        MT         59079                 6004                Various                                                                                               $20.00
CLINTON WOIDYLA                     84 WHITE WATER COURT                                              WINONA          MN         55987                 6004                Various                                                                                                $1.96
                                                                   600 INDUSTRIAL
CLINTONVILLE TRIBUNE GAZETTE        VICE PRESIDENT OF SALES        DRIVE                              WAUPACA         WI         54981                  0429               Various                                                                                          $736.25
CLOE FRANKLIN                       3441 MUELLER RD                                                   DEFOREST        WI         53532                  6004               Various                                                                                             $1.00
CLOE FREUDENSTEIN                   417 E 1ST AVE.                 APT. 7                             ELKHORN         WI         53121                  6004               Various                                                                                             $1.00
CLOROX SALES COMPANY                PO BOX 951015                                                     DALLAS          TX         75395-1015             9221               Various                                                                                       $262,886.11

CLOSSER/ ROBERT                     STORE 684                      SHOPKO EMPLOYEE 106 SMITH STREET   BLOOMFIELD      IA         52537-2140             2494               Various                                                                                            $33.31
CLOVER TECHNOLOGIES GROUP LLC       PO BOX 775576                                                     CHICAGO         IL         60677-5576             9803               Various                                                                                        $74,201.88
                                                                                                                                                                           12/1/2018 -
CLOVERLAND ELECTRIC CO-OP/DAFTER    2916 WEST M-28                                                    DAFTER          MI         49724                  6302               12/28/2018                                                                                      $2,975.48
CLYDE BRACKEN                       1024 AVE B                                                        PLATTSMOUTH     NE         68048                  6002               Various                                                                                             $9.37
CLYDE CLAYTON                       2138 170TH ST                                                     LAWTON          IA         51030                  6002               Various                                                                                             $0.74
CLYDE DEBOOM                        606 OMAHA                                                         WORTHINGTON     MN         56187                  6004               Various                                                                                             $7.08

CLYDE J RILLIET                     5712 N GOVERNMENT WAY STE A                                       COEUR D ALENE   ID         83815                  6002               Various                                                                                                $7.97

CLYDE JOHNSON                       27208 MEMORIAL RD PO BOX # 6                                      HOT SPRINGS     SD         57747                  6002               Various                                                                                                $7.37
                                                                   440 HOWARD BLVD
CLYDE WEBER                         C/O JAN WEBER                  UNIT 300                           GREEN BAY       WI         54313                   6002              Various                                                                                                $3.93

COACHS LAWN SERVICE LLC             RICHARD & RACHELLE STEPHENS PO BOX 40                             BURKE           SD         57523                  0008               Various                                                                                           $298.20
                                                                18011 MITCHELL
COASTAL COCKTAILS INC               DBA MODERN GOURMET FOODS SOUTH SUITE B                            IRVINE          CA         92614                   7090              Various                                                                                        $24,379.15
                                                                3430 TORINGDON
COATS & CLARK                       VICE PRESIDENT OF SALES     WAY STE 301                           CHARLOTTE       NC         28277                   8034              Various                                                                                       $135,444.69
COBURN TECHNOLOGIES INCORPORAT      PO BOX 842839                                                     BOSTON          MA         02284-2839              5415              Various                                                                                          $270.96
COCA COLA BOTTLING CO HIGH COU      PO BOX 912903                                                     DENVER          CO         80291-2903              1422              Various                                                                                       $119,992.46
COCA COLA BOTTLING COMPANY CON      PO BOX 751257                                                     CHARLOTTE       NC         28275-1257              6946              Various                                                                                         $8,344.40
COCA COLA BOTTLING OF DICKINSO      4150 3RD AVENUE WEST                                              DICKINSON       ND         58601                   8554              Various                                                                                         $4,342.38
                                                                2931 W 15TH
COCA COLA BOTTLING OF EMPORIA       VICE PRESIDENT OF SALES     AVENUE                                EMPORIA         KS         66801                   8302              Various                                                                                          $779.03
COCA COLA BOTTLING OF GLASGOW       109 2ND STREET S                                                  GLASGOW         MT         59230                   3207              Various                                                                                          $487.66
COCA COLA BOTTLING OF LAS VEGA      ATTN ACCOUNTS RECEIVABLE    PO BOX 840232                         DALLAS          TX         75284                   4456              Various                                                                                          $831.11
COCA COLA BOTTLING WILLISTON(S      PO BOX 820                                                        WILLISTON       ND         58802-0820              0199              Various                                                                                         $5,461.83
COCA COLA BOTTLING WINONA           102 FRANKLIN STREET                                               WINONA          MN         55987                   1300              Various                                                                                         $1,717.02
COCA COLA BOTTLING YAKIMA           PO BOX 2905                                                       YAKIMA          WA         98907-2905              1528              Various                                                                                         $2,065.08
                                                                1502 EAST CARROLL
COCA COLA BOTTLNG COMPANY           VICE PRESIDENT OF SALES     STREET                                TULLAHOMA       TN         37388                  0215               Various                                                                                          $563.17
COCA COLA COMPANY SOUTHWEST         FILE 53158                                                        LOS ANGELES     CA         90074-3158             9841               Various                                                                                         $8,104.61
                                                                100 DE BARTOLO
COCCA HOLDINGS LLC                  FIDC XXXVI LLC              PLACE SUITE 400                       BOARDMAN        OH         44512                  9805               Various                                                                                        $21,583.75
CODEE SIERRAS                       PO BOX 682                                                        SISSETON        SD         57262                  6002               Various                                                                                             $4.77
CODEY LAWSON                        411 5TH ST                                                        STEVENSVILLE    MT         59870                  6002               Various                                                                                             $0.27
CODI ROBERTS                        2598 HIGHWAY 35                                                   KALISPELL       MT         59901                  6002               Various                                                                                             $6.96
CODI TRUELOVE                       401 S SWIFT                                                       LITCHFIELD      MN         55355                  6004               Various                                                                                             $3.00
CODI ZUFELT                         106 E GORDON AVE                                                  LAYTON          UT         84041                  6002               Various                                                                                             $8.14
CODIE MILLER                        715 8TH AVE. SE                                                   AUSTIN          MN         55912                  6004               Various                                                                                             $3.00
CODIE SCHOLZ                        PO BOX 4102                                                       DILLON          CO         80435                  6002               Various                                                                                             $5.42
CODY ALLEN                          230 N MONITOR ST                                                  WEST POINT      NE         68788                  6002               Various                                                                                             $6.90
CODY BONNER                         642 HALLOWELL LANE                                                BILLINGS        MT         59101                  6004               Various                                                                                            $30.00




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             Creditor Name                  Address1               Address2           Address3              City         State           Zip   Country     Number                Claim                                                                             Total Claim
CODY BUCHER                      304 N 5TH AVE                                                     SHELDON            IA         51201                 6002                Various                                                                                                $1.78
CODY CAGLE                       1453 ZORN ST                                                      WHEATLAND          WY         82201                 6002                Various                                                                                                $4.77
CODY CLELAND                     1677 OAKWOOD DRIVE                                                WORTHINGTON        MN         56187                 6004                Various                                                                                                $3.00
CODY D WALLS                     5788 N MORLEAU LN                                                 COEUR D ALENE      ID         83815                 6002                Various                                                                                                $8.90
CODY DAVIS                       120 W STATE ST                                                    BRADY              NE         69123                 6002                Various                                                                                                $6.19
CODY DEHART                      71 HAWTHORNE AVE # 7                                              KALISPELL          MT         59901                 6002                Various                                                                                                $2.58
CODY DENNIS                      9421 HIMBAUGH CIR                                                 OMAHA              NE         68134                 6004                Various                                                                                                $8.00
CODY ELLIG                       213 NEWTON AVE                APT 207                             WATERTOWN          MN         55388                 6004                Various                                                                                                $3.00
CODY EMERY                       2199 US HWY2                                                      FLORENCE           WI         54121                 6004                Various                                                                                               $12.20
CODY EUERLE                      2308 8TH ST S                                                     GREAT FALLS        MT         59405                 6004                Various                                                                                               $23.00
CODY FRY                         2933 PADDOCK PLAZA #157B                                          OMAHA              NE         68124                 6004                Various                                                                                                $1.00
CODY GUMZ                        303 CHURCH ST                                                     FALL RIVER         WI         53932                 6004                Various                                                                                                $1.02
CODY HALE                        111 LAKECREST DR                                                  BEAVER DAM         WI         53916                 6004                Various                                                                                               $30.00
CODY HARRIS                      150 E 100TH S                                                     GARLAND            UT         84312                 6002                Various                                                                                                $0.85
CODY HODGE                       759 JIMMY CARTER PLACE                                            WINONA             MN         55987                 6004                Various                                                                                                $3.00
CODY HUMBORG                     4508 PEYOTE                                                       PASCO              WA         99301                 6004                Various                                                                                               $20.00
CODY IMBERI                      201 NORTH 9TH ST                                                  EUREKA             SD         57437                 6004                Various                                                                                               $23.00
CODY ISAACSON                    4534 COUNTY ROAD G                                                REEDSVILLE         WI         54230                 6002                Various                                                                                                $8.33
CODY J JOHANSON                  521 1ST AVE NE                                                    GLENWOOD           MN         56334                 6002                Various                                                                                                $9.23
CODY JOHNSON                     3114 S MARTIN LN                                                  HOLMEN             WI         54636                 6004                Various                                                                                               $25.00
CODY JONES                       256 OWSLEY FORK RD                                                BIG HILL           KY         40405                 6002                Various                                                                                                $1.04
CODY KREPLINE                    625 COLUMBUS AVE                                                  BRILLION           WI         54110                 6004                Various                                                                                               $34.98
CODY L NACHTSHEIM                108 BONNIE BRAE AVE                                               NEWCASTLE          WY         82701                 6002                Various                                                                                                $3.73
CODY LARSON                      2925 IDAHO AVE                                                    SIOUX CITY         IA         51103                 6002                Various                                                                                                $2.63
CODY MCKINNEY                    BOX 858 6258 HWY 28                                               LANDER             WY         82520                 6002                Various                                                                                                $2.68
CODY MELLOTT                     27 SUNNYSIDE BENCH RD                                             OROFINO            ID         83544                 6002                Various                                                                                                $7.84
CODY MICHAEL SUTTON              2020 FRAHM RD                                                     ATHENS             WI         54411                 6002                Various                                                                                                $1.32
CODY NIELSEN                     23 LOLA LN                                                        HULETT             WY         82720                 6002                Various                                                                                                $8.79

CODY PAVLOSKI                    1631 23RD AVE                                                     WISCONSIN RAPIDS   WI         54494                  6004               Various                                                                                            $20.00
CODY PETERSON                    312 1/2 8TH AVE SE                                                ABERDEEN           SD         57401                  6002               Various                                                                                             $7.07
CODY SAMS                        5433 DANFORD RD                                                   BILLINGS           MT         59106                  6004               Various                                                                                            $20.00
CODY SIOLKA                      1630 S HURON RD APT 14                                            GREEN BAY          WI         54311                  6004               Various                                                                                            $30.00
CODY SMOLTZ                      1566 ST CHARLES AVE                                               SAINT CHARLES      MN         55972                  6004               Various                                                                                             $3.00
CODY STYER                       17617 NACHTWEY RD.                                                MARIBEL            WI         54227                  6004               Various                                                                                             $1.59
CODY VERCH                       10296 CTY RD V                                                    MARSHFIELD         WI         54449                  6002               Various                                                                                             $3.81
CODY WAGNER                      9701 230TH ST                                                     CADOTT             WI         54727                  6004               Various                                                                                             $2.00
CODY WALKER                      521 1/2 COCHRANE                                                  EAU CLAIRE         WI         54703                  6004               Various                                                                                             $1.00
CODY WILLSON                     42463 COUNTY HIGHWAY 14                                           PERHAM             MN         56573                  6002               Various                                                                                             $6.19
CODY WILSON                      749 S. WISCONSIN DR.                                              JEFFERSON          WI         53549                  6004               Various                                                                                             $3.00
CODY WOOD                        106 HAMPTON ST                P.O.BOX 172                         RUDD               IA         50471                  6004               Various                                                                                             $4.00
COFFEY COUNTY REPUBLICAN         PO BOX A                                                          BURLINGTON         KS         66839                  0126               Various                                                                                          $260.40
COLBY BAILEY                     2108 E 133RD CT                                                   BIXBY              OK         74008                  6002               Various                                                                                             $5.37
COLD FRONT DISTRIBUTION LLC      7301 FEDERAL BLVD SUITE 200                                       WESTMINSTER        CO         80030                  2710               Various                                                                                         $1,209.60
COLE BRIDGES                     121 PARK AVE S                                                    SAINT CLOUD        MN         56301                  6002               Various                                                                                             $3.48
COLE BUBLITZ                     106 BISMARK ST                                                    CARPENTER          IA         50426                  6004               Various                                                                                            $15.02
COLE CHESBRO                     150 E WARREN ST                                                   THERMOPOLIS        WY         82443                  6002               Various                                                                                             $9.40
                                                               2325 EAST
                                                               CAMELBACK ROAD
COLE CREDIT PROPERTY TRUST IV    COLE SH WEBSTER CITY IA LLC   SUITE 1100                          PHOENIX            AZ         85016                  1009               Various                                                                                        $64,757.44
COLE GERBER                      265 TAMARACK DRIVE - UNIT 2                                       LAKE MILLS         WI         53551                  6004               Various                                                                                             $3.00
COLE GERMAN                      5811 W CHRISTOPHER PL #16                                         SIOUX FALLS        SD         57106                  6004               Various                                                                                            $25.00
COLE HOFSTEE                     1202 E MAXWELL AVE                                                SPOKANE            WA         99206                  6004               Various                                                                                            $24.30
COLE INGRAM                      200 9TH AVE SW                                                    SIDNEY             MT         59270                  6002               Various                                                                                             $6.88




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COLE KINSON                     7428 TERRITORIAL RD                                              ELKHORN           WI         53121                6004                Various                                                                                            $98.00
COLE M. TOTZKE                  5210 PLOVER RD                                                   WISCONSIN RAPID   WI         54494                6002                Various                                                                                             $0.38
COLE MCNICHOLS                  W6653 EMERALD LANE                                               GREENVILLE        WI         54942                6004                Various                                                                                             $4.32
COLE MINDT                      226 2ND STREET NW                                                VALLEY CITY       ND         58072                5677                Various                                                                                          $255.00
COLE OLSON                      149 AMSTAR DR.                                                   CHIPPEWA FALLS    WI         54729                6004                Various                                                                                             $1.00
COLE REIT                       4300 W 59TH ST                                                   SIOUX FALLS       SD         57108                6004                Various                                                                                            $11.25
COLE SEAMAN                     20021 E. MICA VIEW                                               GREEN ACRES       WA         99016                6004                Various                                                                                            $27.00
COLE SH LANSE MI LLC            ID AC0178                      PO BOX 847390                     DALLAS            TX         75284-7390           7333                Various                                                                                         $8,977.95
COLE VANDERMEY                  2315 PARK LN SE LOT 1A                                           ROCHESTER         MN         55904                6004                Various                                                                                             $3.00
COLE ZWIEFELHOFER               1252 PARKLAND DR APT 2                                           CHIPPEWA FALLS    WI         54729                6002                Various                                                                                             $2.08
COLEEN BANDEROB                 PO BOX 82                                                        DARBY             MT         59829                6004                Various                                                                                            $11.20
COLEEN HOUSER                   414 W 18TH                                                       LARNED            KS         67550                6002                Various                                                                                             $0.96
COLEMAN COMPANY INCORPORATED    5550 PAYSPHERE CIRCLE                                            CHICAGO           IL         60674-0000           7916                Various                                                                                     $1,008,133.25
COLETTE BERDING                 14223 CHEREKEE LANE                                              COUNCIL BLUFFS    IA         51503                6004                Various                                                                                            $36.00
COLETTE RIEMER                  PO BOX 82                                                        HORTONVILLE       WI         54944                6002                Various                                                                                             $3.73
COLETTE WARE                    20372 HUDSON ST                                                  BURNEY            CA         96013                6004                Various                                                                                            $10.00
                                2092 COLLECTIONS CENTER
COLGATE PALMOLIVE COMPANY       DRIVE                                                            CHICAGO           IL         60693                 3903               Various                                                                                       $197,081.09
COLIN BALTZ                     924 HARDING ST                                                   MENASHA           WI         54952                 6004               Various                                                                                             $1.00
COLIN S LAMAR                   32114 20TH LN SW                                                 FEDERAL WAY       WA         98023                 6002               Various                                                                                             $9.21
COLIN SMITH                     1317 ROSEWOOD TRL                                                ONALASKA          WI         54650                 6002               Various                                                                                             $9.86
COLIN WELCH                     1517 MARIA DRIVE                                                 STEVENS POINT     WI         54481                 6004               Various                                                                                            $21.25
COLIN WHITEHEAD                 1917 FOREST AVE APT A                                            BELOIT            WI         53511                 6004               Various                                                                                             $3.00
COLLEEN ANDERSON                2776 RIDGEWAY AVE                                                FREDERICKSBURG    IA         50630                 6002               Various                                                                                             $0.66
COLLEEN BARTA                   630 BOYD DR                                                      GRAND FORKS       ND         58203                 6002               Various                                                                                             $6.90
COLLEEN BURDICK                 816 N MINNESOTA ST APT 109                                       MITCHELL          SD         57301                 6002               Various                                                                                             $4.99
COLLEEN CARTWRIGHT              7 VALLEY DRIVE                                                   TOWNSEND          MT         59644                 6004               Various                                                                                            $10.00
COLLEEN DANNER                  2110 EVENSON DR                                                  ONALASKA          WI         54650                 6002               Various                                                                                             $6.55
COLLEEN ELMQUIST                116 RIVERVIEW 3E                                                 GREAT FALLS       MT         59404                 6002               Various                                                                                             $8.93
COLLEEN FERRY                   1755 CARRIAGE CT                                                 GREEN BAY         WI         54304                 6002               Various                                                                                             $1.75
COLLEEN HJORTAAS                11183 485TH ST                                                   KENYON            MN         55946                 6002               Various                                                                                             $4.27
COLLEEN HUERTA                  612 SHAMROCK DR                                                  BRIGHAM CITY      UT         84302                 6002               Various                                                                                             $2.63

COLLEEN KAPELS                  8610 EP TRUE PKWY UNIT 13012                                     WEST DES MOINES   IA         50266                 6002               Various                                                                                                $9.56
COLLEEN LAVIN                   2730 OAK RIDGE AVE                                               MADISON           WI         53704                 6004               Various                                                                                               $34.00
COLLEEN LEWIS                   6364 OAK ST                                                      GLADWIN           MI         48624                 6002               Various                                                                                                $2.08
COLLEEN LUCHT                   610 SEMINOLE WAY                                                 DE FOREST         WI         53532                 6002               Various                                                                                                $1.56
COLLEEN M HASLER                2003 4TH ST APT 217                                              MONROE            WI         53566                 6002               Various                                                                                                $8.03
COLLEEN M. RUEB                 949 7TH AVE SE                                                   ROCHESTER         MN         55904                 6002               Various                                                                                                $4.27
COLLEEN MACDONALD               2090 RIVER MEADOW DRPT                                           SUAMICO           WI         54313                 6002               Various                                                                                                $8.44
COLLEEN MCCLONE                 N11916 CTY G                                                     SHAWANO           WI         54166                 6002               Various                                                                                                $3.81
COLLEEN MCGINN                  916 GROVE ST                                                     FORT ATKINSON     WI         53538                 6002               Various                                                                                                $6.63
COLLEEN OLIVER                  2913 E 3600TH N                                                  TWIN FALLS        ID         83301                 6002               Various                                                                                                $7.34
COLLEEN OWENS                   1544 ROSEWOOD CIRCLE                                             STEVENS POINT     WI         54481                 6004               Various                                                                                               $75.00
COLLEEN PEAR THOMPSON           501 ARCHER ST                                                    ONEILL            NE         68763                 6002               Various                                                                                                $6.16
COLLEEN PERCIVAL                1404 5TH AVE. N. W.                                              AUSTIN            MN         55912                 6004               Various                                                                                               $27.76
COLLEEN PIESCHEK                4122 PINE GROVE RD                                               GREEN BAY         WI         54311                 6004               Various                                                                                               $20.00
COLLEEN R OLESEN                121 BALSAM ST                                                    BUFFALO           WY         82834                 6002               Various                                                                                                $4.49

COLLEEN ROBINSON                2105 W SUGAR FACTORY RD APT                                      WEST JORDAN       UT         84088                 6002               Various                                                                                                $9.84
COLLEEN S INGERSOLL             6050 HIGHWAY 200                                                 WOLF CREEK        MT         59648                 6002               Various                                                                                                $4.05
COLLEEN SCHOCK                  201 MARY ST                                                      GRANADA           MN         56039                 6002               Various                                                                                                $2.30
COLLEEN SMITH                   1076 E 820TH N                                                   PROVO             UT         84606                 6002               Various                                                                                                $4.08
COLLEEN VINDHURST               4806 W WILDFLOWER LN                                             APPLETON          WI         54914                 6002               Various                                                                                                $0.60




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COLLEEN WINBERG                     3632 13.7 DRIVE                                                   ESCANABA        MI         49829                6002                Various                                                                                             $1.75
COLLENE GEARY                       1304 PULLIAM AVE                                                  WORLAND         WY         82401                6002                Various                                                                                             $1.92
COLLIN ARMSTRONG                    705 TAYLOR AVE                                                    RAPID CITY      SD         57701                6004                Various                                                                                            $16.00
COLLIN GOSSETT                      4680 MOUNT LAKE                                                   POCATELLO       ID         83202                6004                Various                                                                                            $17.00
COLLIN HAGAN                        33687 LAKE GERALD ROAD                                            TOIVOLA         MI         49965                6004                Various                                                                                            $25.00
COLLIN METTELKA                     2250 TRAIL SIDE LN                                                DE PERE         WI         54115                6004                Various                                                                                             $1.00
COLLIN MILLER                       5688 CRESTWOOD DRIVE                                              OGDEN           UT         84405                6004                Various                                                                                            $16.00
COLLIN R THURLEY                    615 W NORTH ST                                                    PLAINFIELD      WI         54966                6002                Various                                                                                             $9.45
COLLIN RADAKOVICH                   PO BOX 501                                                        COLSTRIP        MT         59323                6004                Various                                                                                            $37.00
COLLIN ROEMMICH                     1019 15TH ST N PRERELEASE                                         GREAT FALLS     MT         59401                6002                Various                                                                                             $5.67
COLLIN RUCINSKI                     9101 MARGARET STREET                                              ROTHSCHILD      WI         54474                6004                Various                                                                                             $1.00
COLLIN SIZEMORE                     55 S 500TH W                                                      LOGAN           UT         84321                6002                Various                                                                                             $5.81
COLLIN TODALEN                      9667 BERRY PLAZA              APT 185                             OMAHA           NE         68138                6004                Various                                                                                            $74.00
COLONIAL CANDLE MVP GROUP INT       1031 LEGRAND BOULEVARD                                            CHARLESTON      SC         29492-0000           5073                Various                                                                                       $670,640.47
COLONIAL CENTER                     702 DOLF STREET                                                   COLBY           WI         54421                6666                Various                                                                                            $10.54
COLT A WEILER                       259 MITCHELL RD SE                                                KALKASKA        MI         49646                6002                Various                                                                                             $6.74
COLT JAMES BUCHANAN                 120 N MORTON ST                                                   WAUPACA         WI         54981                6002                Various                                                                                             $9.81
COLTEN KITTLE                       216 W. NORTH ST                                                   POYNETTE        WI         53955                6004                Various                                                                                             $1.00
COLTER J WHEELER                    1325 HOOPES AVE APT 48                                            IDAHO FALLS     ID         83404                6002                Various                                                                                             $6.93
COLTER LARSEN                       2236 E 3500 N                                                     FILER           ID         83328                6004                Various                                                                                             $3.65
COLTON HARMAN                       11464 S CHAPLE RIM WAY                                            SOUTH JORDAN    UT         84095                6002                Various                                                                                             $6.19
COLTON HILL                         515 N 13TH ST APT 202                                             BEATRICE        NE         68310                6002                Various                                                                                             $3.29
COLTON JOHNSON                      362 N 500TH W                                                     BRIGHAM CITY    UT         84302                6002                Various                                                                                             $0.74
COLTON KRAHN                        150 6TH ST                                                        FOND DU LAC     WI         54935                6004                Various                                                                                             $1.00
COLTON RASCHKA                      2000 RED OAK DR.                                                  PLOVER          WI         54467                6004                Various                                                                                             $4.97
COLTON RAUSCHENBERGER               4807 TWELVE OAKS DR                                               MILTON          WI         53563                6004                Various                                                                                            $60.00
COLUMBIA DISTRIBUTING               255 APPLEYARD DRIVE                                               WENATCHEE       WA         98801-0000           6034                Various                                                                                         $8,641.45
                                                                                                                                                                          12/1/2018 -
COLUMBIA GAS OF OHIO                PO BOX 742510                                                     CINCINNATI      OH         45274-2510            000 8              1/3/2019                                                                                         $732.25
COLUMBIA TOWNSHIP FIRE DEPARTM      8500 JEFFERSON ROAD                                               BROOKLYN        MI         49230                 6575               Various                                                                                            $75.00
COLUMBIAN HOME PRODUCTS             550 N RAND ROAD                                                   LAKE ZURICH     IL         60047-0000            8018               Various                                                                                       $103,365.03
                                                                                                                                                                          12/11/2018 -
COM ED                              PO BOX 6111                                                       CAROL STREAM    IL         60197-6111            1043               1/11/2019                                                                                        $668.65
COMANCHE CHIEF INC                  PO BOX 927                                                        COMANCHE        TX         76442                 1737               Various                                                                                          $378.00
COMBE INCORPORATED                  PO BOX 500641                                                     ST LOUIS        MO         63150                 6104               Various                                                                                        $37,766.25
COMET CLOTHING COMPANY              PO BOX 417800                                                     BOSTON          MA         02241-7800            7418               Various                                                                                             $0.33
COMFORT RESEARCH                    1719 ELIZABETH NW                                                 GRAND RAPIDS    MI         49504-0000            8123               Various                                                                                        $29,575.24
                                    2655 FORTUNE CIRCLE WEST
COMFORT SYSTEMS USA                 SUITE E                                                           INDIANAPOLIS    IN         46251                                    1-8 to -1-15                                                                                   $24,809.31
                                                                  2655 FORTUNE
                                                                  CIRCLE W SUITES
COMFORT SYSTEMS USA NAT ACCTS       ACCU TEMP LLC                 E&F STE E                           INDIANAPOLIS    IN         46241                  4747              Various                                                                                       $914,215.20
COMFORT SYSTEMS USA STRATEGIC
ACCOUNTS, LLC                       2655 FORTUNE CIRCLE WEST                                          INDIANAPOLIS    IN         46241                                    Various                                                                                          $905.00
COMFORT WEHYEE                      958 HOMESTEAD VILLAGE         APT B                               ROCHESTER       MN         55904                 6004               Various                                                                                             $3.00
COMMERCE TECHNOLOGIES INCORPOR      25736 NETWORK PLACE                                               CHICAGO         IL         60673-1257            2156               Various                                                                                        $28,707.50
COMMERCIAL FIRE, LLC                2465 ST. JOHNS BLUFF RD. S.                                       JACKSONVILLE    FL         32246                                    Various                                                                                        $15,599.00
COMMERCIAL GLASS INC                113 E 33RD STREET                                                 BOISE           ID         83714                 0347               Various                                                                                          $260.00
COMMERCIAL SOLUTIONS FKA: G         21 INDUSTRIAL DRIVE                                               SMITHFIELD      RI         02917                                    Various                                                                                        $28,968.96

COMMUNITY DEVELOPMENT CORP OF       C/O FIRST NATIONAL BANK       ATTN: JULIE HARTER 101 NE HAYES     GREENFIELD      IA         50849                 6716               Various                                                                                        $14,393.88
COMMUNITY MEDICAL CENTER            2827 FORT MISSOULA ROAD                                           MISSOULA        MT         59804                 8548               Various                                                                                         $1,535.29
COMMUNITY TRANSIT INCORPORATED      420 SECOND AVENUE EAST        PO BOX 27                           SISSETON        SD         57262                 3292               Various                                                                                            $63.00
COMPACTION & RECYCLING EQUIPMENT    12250 SE CAPPS RD                                                 CLACKAMAS       OR         97015                                    Various                                                                                         $1,020.30




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                                                                                                                                                                                                  Contingent


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                                                                                                                                                            Account         Incurred, Basis for
            Creditor Name                    Address1                Address2         Address3             City           State         Zip    Country      Number                Claim                                                                             Total Claim
COMPLETE FACILITY SOLUTIONS       2230 N. RIDGE ROAD                                               WICHITA           KS           67205                                     Various                                                                                        $115,345.14
COMPLETE OFFICE OF WISCONSIN      N115 W 18500 EDISON DRIVE                                        GERMANTOWN        WI           53022                  2633               Various                                                                                          $1,058.21
COMPUMARK                         PO BOX 71892                                                     CHICAGO           IL           60694-1892             1886               Various                                                                                            $141.00
                                                                 11 CONAGRA DRIVE
CONAGRA                           VICE PRESIDENT OF SALES        11-210                            OMAHA             NE           68102                  0690               Various                                                                                       $104,378.65
CONAIR CORPORATION                PO BOX 932059                                                    ATLANTA           GA           31193-2059             7200               Various                                                                                       $310,874.79
CONCEPCION SANTOS                 6226 53 ST                                                       KENOSHA           WI           53144                  6004               Various                                                                                             $3.00
                                  119 WEST 40TH STREET 3RD
CONCEPT ONE ACCESSORIES DBA US    FLOOR                                                            NEW YORK          NY           10018                  3407               Various                                                                                         $8,877.77
CONCEPTION TAPIE                  1756 S HIGHWAY 61 TRLR 69                                        LAKE CITY         MN           55041                  6002               Various                                                                                             $0.74
                                  10580 N PORT WASHINGTON
CONCORD SIX LLC                   ROAD                                                             MEQUON            WI           53092                  1272               Various                                                                                        $34,863.18
CONGER INDUSTRIES INCORPORATED    PO BOX 13507                                                     GREEN BAY         WI           54307-3507             2303               Various                                                                                        $20,650.00
CONNAR SPARBY                     1801 CZECH AVENUE                                                ARKDALE           WI           54613                  6004               Various                                                                                             $5.60
CONNER BOOSTER                    64624 BOONESBOROUGH DR                                           BEND              OR           97701                  6004               Various                                                                                            $30.00
CONNER KIRCHNER                   1511 S TELULAH AVE                                               APPLETON          WI           54915                  6004               Various                                                                                             $1.00
CONNER PUYEAR                     12011 S GOSS RD                                                  CHENEY            WA           99004                  6004               Various                                                                                            $48.98

CONNER RUOSCH                     3023 MAPLE VALLEY DR APT 301                                     MADISON           WI           53719                  6004               Various                                                                                            $50.00
CONNER SMITH                      W6305 COUNTY ROAD A                                              JOHNSON CREEK     WI           53038                  6004               Various                                                                                             $2.00
CONNIE ARMSTRONG                  206 W MARSHALL ST                                                TOLEDO            IA           52342                  6002               Various                                                                                             $2.00
CONNIE ARROYO                     416 NW 13TH ST                                                   LINCOLN           NE           68528                  6002               Various                                                                                             $3.07
CONNIE BARNES                     155 NORTHSIDE DR                                                 LANDER            WY           82520                  6002               Various                                                                                             $7.34
CONNIE BELANGER                   5000 LANE 17.7 DRIVE                                             ESCANABA          MI           49829                  6004               Various                                                                                            $10.00
CONNIE BRIDGE                     1181 3RD ST NW                                                   WATERTOWN         SD           57201                  6004               Various                                                                                            $42.41
CONNIE BRUNEAU                    3276 W CHESTER PARK DR                                           WEST VALLEY CIT   UT           84119                  6002               Various                                                                                             $0.30
CONNIE BYOM                       W6648 GRANDVIEW RD                                               HORTONVILLE       WI           54944                  6002               Various                                                                                             $0.82
CONNIE CATES                      2690 S CHADWICK ST                                               SALT LAKE CITY    UT           84106                  6002               Various                                                                                             $0.33
CONNIE COX                        14455 HARRISON ST                                                OMAHA             NE           68138                  6004               Various                                                                                             $4.00
CONNIE DIVIS                      288 21ST ST NE                                                   EAST WENATCHEE    WA           98802                  6004               Various                                                                                            $20.00
CONNIE DOMINGUEZ                  307 W 1ST ST                                                     WAYNE             NE           68787                  6002               Various                                                                                            $10.00

CONNIE EGLE                       120 E DOUGLAS ST                                                 PORT WASHINGTON   WI           53074                  6002               Various                                                                                             $0.96
CONNIE ENDVICK                    1012 NINA AVE                                                    WAUSAU            WI           54403                  6002               Various                                                                                             $7.62
CONNIE ERVIN                      RR 61 BOX 1640                                                   NAYLOR            MO           63953                  6002               Various                                                                                             $2.58
CONNIE ESTERLINE                  270 COUNTY ROAD AF                                               CHAMPION          MI           49814                  6002               Various                                                                                             $1.59
CONNIE FREIBURGER                 5528 CIRCLE DR                                                   STANDISH          MI           48658                  6002               Various                                                                                             $7.32
CONNIE G HALE                     409 4TH AVE W                                                    ROUNDUP           MT           59072                  6002               Various                                                                                             $2.74
CONNIE GUNTER                     PO BOX 1043                                                      WHEATLAND         WY           82201                  6002               Various                                                                                             $2.49
CONNIE GURULE                     1425 E MURRAY ST LOT 73                                          RAWLINS           WY           82301                  6002               Various                                                                                             $2.77
CONNIE HARMS                      871 S 5TH ST                                                     LANDER            WY           82520                  6002               Various                                                                                             $7.12
CONNIE HAWKER                     912 MCKINLEY AVE                                                 POCATELLO         ID           83201                  6002               Various                                                                                             $2.11
CONNIE HILLESHEIM                 624 S 21ST ST                                                    ESCANABA          MI           49829                  6002               Various                                                                                             $9.45
CONNIE HINTZ                      55275 837 RD                                                     NORFOLK           NE           68701                  6004               Various                                                                                            $11.88
CONNIE HIRN                       3602 14.75 DR                                                    ESCANABA          MI           49829                  6002               Various                                                                                             $0.66
CONNIE HOLLENBECK                 363 RIVERSIDE DR                                                 GLASGOW           MT           59230                  6002               Various                                                                                             $0.93
CONNIE HOSEY                      5815 SUMAC LN NE                                                 ROCHESTER         MN           55906                  6002               Various                                                                                             $6.90
CONNIE JACOBSON                   1434 PARNELL STREET                                              MARINETTE         WI           54143                  6004               Various                                                                                            $25.00
CONNIE JO JENKINS                 1515 E 25TH ST                                                   IDAHO FALLS       ID           83404                  6002               Various                                                                                             $0.99
CONNIE JOHNSON                    1150 W WASHINGTON                                                MARQUETTE         MI           49855                  6004               Various                                                                                            $84.00
CONNIE KAI                        11 W 2ND ST                                                      WAKEFIELD         NE           68784                  6002               Various                                                                                             $4.14
CONNIE KAMMERZELT                 813 S 6 ST                                                       SILVER LAKE       WI           53170                  6004               Various                                                                                            $44.98
CONNIE KARL                       106 S 6TH ST                                                     BALTIC            SD           57003                  6004               Various                                                                                            $10.00
CONNIE KNOWLTON                   217 N 100TH W                                                    BRIGHAM CITY      UT           84302                  6002               Various                                                                                             $8.08




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                                                                                                                                                          Account         Incurred, Basis for
              Creditor Name                   Address1                Address2         Address3              City       State           Zip   Country     Number                Claim                                                                             Total Claim
CONNIE L BIEGLER                  321 W DOUGLAS AVE                                                 FERGUS FALLS     MN         56537                 6002                Various                                                                                                $2.19
CONNIE LANE                       133 W 7TH AVENUE                                                  HOLDREGE         NE         68949                 6002                Various                                                                                                $8.00
CONNIE LEWIS                      2406 E 12TH ST                                                    SIOUX FALLS      SD         57103                 6004                Various                                                                                               $13.85
CONNIE LILLA                      27638 472ND AVE                                                   HARRISBURG       SD         57032                 6004                Various                                                                                               $25.00
CONNIE LUNDERS                    252 HARDY LN                                                      OROFINO          ID         83544                 6002                Various                                                                                                $1.97
CONNIE M JOHNSON                  1421 OAK ST                                                       WATERTOWN        WI         53098                 6002                Various                                                                                                $7.92
CONNIE MAGGARD                    21 MARIA LN.                                                      FOND DU LAC      WI         54935                 6004                Various                                                                                               $67.00
CONNIE MASON                      2276 HOBBS DR                                                     SOUTH JORDAN     UT         84095                 6002                Various                                                                                                $0.27
CONNIE MAY                        200 S GARFIELD ST #2                                              MISSOULA         MT         59801                 6004                Various                                                                                                $2.00
CONNIE MCCALLSON                  304 GARLAND ST W                                                  WEST SALEM       WI         54669                 6002                Various                                                                                                $8.88
CONNIE MOORE                      443 S EVARTS ST                                                   POWELL           WY         82435                 6002                Various                                                                                                $8.08
CONNIE MURRAY                     298 NORTH MILITARY RD                                             FOND DU LAC      WI         54935                 6004                Various                                                                                               $89.00
CONNIE NELSON                     BOX 208                                                           ELGIN            NE         68636                 6004                Various                                                                                               $10.78
CONNIE NOVAK                      65264 703RD LOOP                                                  FALLS CITY       NE         68355                 6002                Various                                                                                                $1.34
CONNIE ORGAN                      811 BROADWAY ST                                                   HOLDREGE         NE         68949                 6002                Various                                                                                                $9.51
CONNIE PHILPOT                    400 WHITETAIL WAY                                                 DEERFIELD        WI         53531                 6004                Various                                                                                               $20.00
CONNIE RETHAMEL                   308 6TH ST NW                                                     NORA SPRINGS     IA         50458                 6002                Various                                                                                                $7.12
CONNIE ROSE JOHNSON               5959 10TH ST SE                                                   SAINT CLOUD      MN         56304                 6002                Various                                                                                                $8.74
CONNIE RYAN                       4226 NEW YORK AVE                                                 GRAND ISLAND     NE         68803                 6004                Various                                                                                               $31.40
CONNIE RYNES                      223 DIVISION ST                                                   BROOKLYN         WI         53521                 6004                Various                                                                                                $1.00
CONNIE S GLASS                    136 EVERGREEN EST                                                 ELLSWORTH        WI         54011                 6002                Various                                                                                                $8.93
CONNIE SCHOCK                     1103 OMAHA AVE                                                    WORTHINGTON      MN         56187                 6004                Various                                                                                                $5.00
CONNIE SMITH                      12459 66TH AVENUE               NORTH                             CHIPPEWA FALLS   WI         54729                 6004                Various                                                                                               $25.00
CONNIE SOMMERS                    10410 HIGHWAY 12 # 7                                              OROFINO          ID         83544                 6002                Various                                                                                                $6.60
CONNIE SPANGLER                   24269 ISLE VIEW TRL                                               PELICAN RAPIDS   MN         56572                 6002                Various                                                                                                $7.70
CONNIE STRAND                     217 E 12TH                                                        GRAND ISLAND     NE         66801                 6004                Various                                                                                               $20.00
CONNIE TOMPKINS                   1934 ROSE LN                                                      COEUR D ALENE    ID         83814                 6002                Various                                                                                                $7.78
CONNIE UBBEN                      2501 W STATE ST APT 7                                             MASON CITY       IA         50401                 6002                Various                                                                                                $7.97
CONNIE WALKER                     919 5TH ST                                                        HUMBOLDT         NE         68376                 6002                Various                                                                                                $8.03
CONNIE WHITMARSH                  PO BOX 159                                                        CHATHAM          MI         49816                 6002                Various                                                                                                $2.90
CONNIE WOIAK                      N4510 HIGHWAY A - TRLR 7B                                         CAMBRIDGE        WI         53523                 6004                Various                                                                                                $2.00
                                                                  17 PEESIDENTIAL
CONNOISSEURS PRODUCTS CORPORAT    VICE PRESIDENT OF SALES         WAY                               WOBURN           MA         01801-1040             5990               Various                                                                                         $9,502.25
CONNOR ALBRIGHT                   1545 ARBOREDUM DRIVE            APT 407                           WINNECONNE       WI         54986                  6004               Various                                                                                            $20.40
CONNOR JORGENSEN                  3591 SO ATLAS WAY                                                 SALT LAKE CITY   UT         84120                  6004               Various                                                                                            $10.00
CONNOR KAPHINGST                  1513 WOODRIDGE RD                                                 WEST BEND        WI         53095                  6004               Various                                                                                            $44.00
CONNOR KOUNNAS                    400 NIXON DRIVE                                                   AUSTIN           TX         78746                  6004               Various                                                                                            $35.00
CONNOR MCCULLOUGH                 9229 W MICHAEL WAY                                                COEUR D ALENE    ID         83814                  6004               Various                                                                                          $100.00
CONNOR MILLET                     293 S LOAFER VIEW DR                                              PAYSON           UT         84651                  6002               Various                                                                                             $2.52
CONNOR NELSON                     3531 N. COLE RD. #303                                             BOISE            ID         83704                  6004               Various                                                                                            $37.34
CONNOR PHILLIPS                   727 MAPLE AVE                                                     WILD ROSE        WI         54984                  6004               Various                                                                                            $23.00
                                  TO THE PARENT(S) OF CONNOR      1646 DAVENPORT
CONNOR TERZINSKI                  TERZINSKI                       STEET APT #2                      RHINELANDER      WI         54501                  6004               Various                                                                                               $23.00
CONRAD SKEET MILLER               PO BOX 494                                                        IPSWICH          SD         57451                  6002               Various                                                                                                $6.16

CONRADO ARANDA                    APT 4 BUILDING 305 27TH ST SW                                     AUSTIN           MN         55912                   6004              Various                                                                                               $15.00
                                  153 TECHNOLOGY DRIVE SUITE
CONSOLIDATED FIRE PROTECTION      200                                                               IRVINE           CA         92618                                     Various                                                                                        $12,642.81
CONSTANCE ALTMAN                  440 CTY RD # 510                                                  NEGAUNEE         MI         49855                  6002               Various                                                                                             $3.04
CONSTANCE BARTELS                 1024 S KUNKLE BLVD                                                FREEPORT         IL         61032                  6002               Various                                                                                             $3.07
CONSTANCE DOBBERPUHL              1029 HONEYSUCKLE LN                                               NEENAH           WI         54956                  6002               Various                                                                                             $8.49
CONSTANCE FALASCHI                311 BLAINE AVE                                                    RACINE           WI         53405                  6004               Various                                                                                             $3.00
CONSTANCE H. SCHRIMPF             N7186 450TH ST                                                    BELDENVILLE      WI         54003                  6002               Various                                                                                             $6.49
CONSTANCE HIGGINS                 1810 MARY PL                                                      EAU CLAIRE       WI         54701                  6004               Various                                                                                            $25.00




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             Creditor Name                       Address1              Address2          Address3            City       State           Zip   Country     Number                Claim                                                                             Total Claim
CONSTANCE HUFF                       703 W BERRY ST                                                  HAMILTON        MO         64644                 6002                Various                                                                                             $9.07
CONSTANCE J WANG                     N3074 COUNTY ROAD N                                             KENNAN          WI         54537                 6002                Various                                                                                             $7.37
CONSTANCE JE MANSKE                  1801 W PERSHING ST                                              APPLETON        WI         54914                 6002                Various                                                                                             $3.29
CONSTANCE JONES                      2723 Q ST                                                       OMAHA           NE         68107                 6002                Various                                                                                             $0.96
CONSTANCE L HUGGETT                  1211D 11TH AVE SE                                               OLYMPIA         WA         98501                 6002                Various                                                                                             $9.86
CONSTANCE LARSON                     4347 STEBNER RD                                                 DULUTH          MN         55811                 6004                Various                                                                                             $1.33
CONSTANCE MAC CARTHY                 3446 FOREST EDGE DR                                             GREEN BAY       WI         54313                 6004                Various                                                                                             $1.02
CONSTANCE N BRUESEWITZ               509 1ST ST BOX # 333                                            GRAFTON         IA         50440                 6002                Various                                                                                             $1.10
CONSTANCE NEWMAN                     4853 NW RADIO HWY                                               OMAHA           NE         68104                 6004                Various                                                                                            $31.90
CONSTANCE PATZ                       2957 YONDER CT.                                                 GREEN BAY       WI         54313                 6004                Various                                                                                             $8.25
CONSTANCE RAYMOND                    3211 BEVERLY LN                                                 SCHOFIELD       WI         54476                 6002                Various                                                                                             $1.79
CONSTANCE VONCH                      1324 SPRUCE ST                                                  RIVER FALLS     WI         54022                 6004                Various                                                                                             $1.00
CONSTANTIN IVASCHIN                  2636 S. STOUGHTON ROAD                                          MADISON         WI         53716                 6004                Various                                                                                            $25.00
CONSTATINO PRIETO                    56 E CHARLES ST                                                 BEAVER DAM      WI         53916                 6002                Various                                                                                             $9.45
CONSTRUCTORS INCORPORATED            PO BOX 80268                                                    LINCOLN         NE         68501                 1649                Various                                                                                        $57,768.00
CONSUELO GUERRERO                    7 W WINDSOR ST                                                  KASSON          MN         55944                 6002                Various                                                                                             $6.77
CONSUELO HIDALGO                     2315 PARKLANE SE 88                                             ROCHESTER       MN         55904                 6004                Various                                                                                             $3.00
                                                                                                                                                                          12/12/2018 -
CONSUMERS ENERGY                     PO BOX 740309                                                   CINCINNATI      OH         45274-0309              9813              1/11/2019                                                                                      $18,165.30

CONTINENTAL LIFE INSURANCE COMPANY   C O ASSET PROTECTION UNIT INC PO BOX 30969                      AMARILLO        TX         79120                   6002              Various                                                                                               $65.40
                                                                   3651 WEST IRVING
CONTINENTAL OPTICAL                  BEN-GLO OPTICAL LIMITED       PARK ROAD                         CHICAGO         IL         60618                   8717              Various                                                                                       $328,516.34
                                                                   180 WESTGATE
CONTINENTAL SALES COMPANY OF A       OPTICS EAST INC               DRIVE                             WATSONVILLE     CA         95076                  9512               Various                                                                                            $17.70
CONTOUR FINE TOOLING INCORPORA       143 JAFFREY ROAD                                                MARLBOROUGH     NH         03455                  1053               Various                                                                                         $3,570.00
CONTRACTORS LABORERS TEAMSTERS       10334 ELLISON CIR                                               OMAHA           NE         68134                  6004               Various                                                                                            $68.64
CONTREAL TRAMBLE                     714 SOUTH MAPLE AVE                                             GREEN BAY       WI         54304                  6004               Various                                                                                             $2.00
COOKIE ROBINSON                      1607 NORTH 21 ST                                                LINCOLN         NE         68503                  6004               Various                                                                                             $2.00
COOKWARE COMPANY                     PO BOX 21125                                                    NEW YORK        NY         10087-1125             5585               Various                                                                                        $57,240.18
COOPER FAMILY                        UPDATE                                                          ISHPEMING       MI         49849                  6002               Various                                                                                             $9.64
COOPER JAMES NACK                    218 S 3RD ST                                                    ABERDEEN        SD         57401                  6002               Various                                                                                             $1.18
COOPER MOHATT                        436 SOUTH 40TH                                                  LINCOLN         NE         68510                  6004               Various                                                                                            $15.02
COOPER PLUMBING                      PO BOX 714                                                      NAMPA           ID         83653                                     Various                                                                                          $282.00
                                                                                  1159 S CENTRAL
COOPER/ HOLLY                        STORE 769                    SHOPKO EMPLOYEE AVENUE             SIDNEY          MT         59270                  0151               Various                                                                                          $249.14
COPESAN SERVICES INCORPORATED        PO BOX 8442                                                     CAROL STREAM    IL         60197-8442             7473               Various                                                                                        $24,501.33
COPIA PARTNERS LLC                   3276 DEMOCRAT ROAD STE 7-9                                      MEMPHIS         TN         38118                  9968               Various                                                                                         $2,119.37
COPPER CANIN BECKER                  11489 N ADELINE RD                                              GERMAN VALLEY   IL         61039                  6002               Various                                                                                             $0.85
CORA PEHL                            1011 S. CARROL AVE                                              FREEPORT        IL         61032                  6004               Various                                                                                            $19.26
CORA RUND                            3617 RUGER AVE                                                  JANESVILLE      WI         53546                  6004               Various                                                                                            $25.00
CORAL BRUCE                          PO BOX 103                                                      OROFINO         ID         83544                  6002               Various                                                                                             $0.85
CORAL JOHNSEN                        PO BOX 1005                                                     LIBBY           MT         59923                  6004               Various                                                                                            $50.03
CORAL LAMM                           5164 E. LAMM RD                                                 FREEPORT        IL         61032                  6004               Various                                                                                            $35.00
CORAL LEE                            3122 UP FORDS CRK                                               OROFINO         ID         83544                  6002               Various                                                                                             $0.41
CORALIS GILLETTE                     920 245TH AVE                                                   GERLAW          IL         61435                  6002               Various                                                                                             $4.16
CORALYN FRANSEN                      1041 ARAPAHO DR                                                 FREEPORT        IL         61032                  6002               Various                                                                                             $6.60
CORANA CULVER                        302 S HIGHWAY 6 TRLR 9                                          MILFORD         NE         68405                  6002               Various                                                                                             $4.96
CORBAN BARBUTO                       3879 S. 4000 W.                                                 WEST VALLEY     UT         84120                  6004               Various                                                                                            $23.00
CORBIN CHRISTENSEN                   641 TOMAHAWK DR                                                 PAYSON          UT         84651                  6004               Various                                                                                            $23.00
CORBIN LYNN                          520 WILCOX ST                                                   FORT ATKINSON   WI         53538                  6004               Various                                                                                            $30.00
CORBIN MOSHER                        9418 NORTH GREEN BAY ROAD    APT329                             MILWAUKEE       WI         53209                  6004               Various                                                                                            $22.00
CORBIN SIEFERT                       917 N. HENRY                                                    GREEN BAY       WI         54302                  6004               Various                                                                                             $1.00
CORDELL DIETZ                        2008 TOLUKA WAY                                                 BOISE           ID         83712                  6002               Various                                                                                             $4.88




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                                                                                                                                                        Account       Incurred, Basis for
            Creditor Name                Address1              Address2          Address3            City             State           Zip   Country     Number              Claim                                                                             Total Claim
CORDRE RUCKER                440 S. LIBERTY                                                   FREEPORT           IL           61032                 6004              Various                                                                                               $27.49
                                                           247 W 38TH STREET
CORE BAMBOO                  BRUMIS IMPORTS                STE 501                            NEW YORK           NY           10018                   5024            Various                                                                                         $1,000.28
                                                           1035 NATHAN LANE
CORE MARK INTERNATIONAL      MINTER WEISMAN COMPANY        NORTH                              PLYMOUTH           MN           55441                   7197            Various                                                                                       $359,598.30
COREEN CENTENO               8003 NINA ST                                                     OMAHA              NE           68124                   6002            Various                                                                                             $3.48
CORENE WILEY                 1005 WILDERNESS TRL                                              GREEN RIVER        WY           82935                   6002            Various                                                                                             $4.85
COREY A GUMZ                 2426 OLD CAMDEN SQ                                               MADISON            WI           53718                   6002            Various                                                                                             $5.26

COREY ABRAMSON               901-7TH STREET SOUTH, APT 204                                    WAITE PARK         MN           56387                   6004            Various                                                                                                $5.02
COREY AGUIRRE                508 8TH AVE                                                      EDGEMONT           SD           57735                   6002            Various                                                                                                $3.86
COREY BATLEY                 229 BOND ST                                                      NEENAH             WI           54956                   6004            Various                                                                                                $4.32
COREY BLOMBERG               2707 E SHAKER CT                                                 SPOKANE            WA           99223                   6004            Various                                                                                                $9.60
COREY D PRATT                8487 PINE ST                                                     BANCROFT           WI           54921                   6002            Various                                                                                                $6.63
COREY DRACE-GWIAZDA          16810 50TH AVE                                                   CHIPPEWA FALLS     WI           54729                   6004            Various                                                                                               $23.00
COREY DRAKE                  302 E IOWA ST                                                    GREENFIELD         IA           50849                   6002            Various                                                                                                $1.84
COREY EDWARDS                524 S 1600 E                                                     SPANISH FORK       UT           84660                   6004            Various                                                                                               $19.98
COREY ERSTAD                 610 N FAIRFIELD AVENUE                                           JUNEAU             WI           53039                   6004            Various                                                                                               $20.00
COREY FAKEN                  5130 EXPO DR                                                     WHITELAW           WI           54247                   6002            Various                                                                                                $5.48
COREY FELIX                  N38576 US HWY 53                                                 WHITEHALL          WI           54773                   6004            Various                                                                                               $32.35
COREY GILLIAM                3895 KILGORE RD                                                  CROSWELL           MI           48422                   6004            Various                                                                                               $15.00
COREY GREIG                  622 HOPE AVE                                                     SALMON             ID           83467                   6002            Various                                                                                                $7.32
COREY J JOHNSON              190 CLEVELAND AVE APT 1                                          GREEN ISLE         MN           55338                   6002            Various                                                                                                $4.68
COREY JAGER                  PO BOX 151                                                       HAYTI              SD           57241                   6002            Various                                                                                                $0.99
COREY KRULL                  W18626 CTY RD N                                                  BIRNAMWOOD         WI           54441                   6004            Various                                                                                                $5.50
COREY LA CHANCE              2465 HWY 206                                                     COLUMBIA FALLS     MT           59912                   6004            Various                                                                                               $40.00
COREY LARSEN                 2112 WOODRUFF BLVD                                               JANESVILLE         WI           53548                   6004            Various                                                                                                $6.00
COREY LEMKE                  1592 ROCKWELL COURT                                              GREEN BAY          WI           54313                   6004            Various                                                                                               $34.00
COREY MEVERDEN               310 W VALLEY RD APT 11                                           APPLETON           WI           54915                   6002            Various                                                                                                $7.42
COREY MORROW                 1007 W 13TH                   UNIT B                             SPOKANE            WA           99204                   6004            Various                                                                                                $5.02
COREY MURPHY                 1812 E ROBIN WAY APT F                                           APPLETON           WI           54915                   6002            Various                                                                                                $4.66
COREY PETTIT                 3109 SO 122ND AVE                                                OMAHA              NE           68144                   6004            Various                                                                                               $39.98
COREY PRINGLE                3535 PARK PLACE                                                  HIBBING            MN           55746                   6004            Various                                                                                                $3.00
COREY REMINGTON              20160 WEYRICH LN                                                 WHITEWOOD          SD           57793                   6002            Various                                                                                                $4.08
COREY SENSE                  227 MOHAWK RD                                                    JANESVILLE         WI           53545                   6004            Various                                                                                               $24.00
COREY TABB                   102 DEER VALLEY RD APT 1                                         MADISON            WI           53713                   6004            Various                                                                                                $1.00
COREY TISHMACK               3430 LYNN AVE                                                    BILLINGS           MT           59102                   6002            Various                                                                                                $1.15
COREY WILLIAMS               3316 KING AVE. E                                                 BILLINGS           MT           59101                   6004            Various                                                                                               $30.00
CORI EMLER                   814 WEBSTER ST                                                   FAIRMONT           MN           56031                   6002            Various                                                                                                $3.89
CORI GRANDT                  1207 15TH ST.                                                    BRODHEAD           WI           53520                   6004            Various                                                                                               $37.00
CORI HAMELINK                10210 63 AVE                                                     PLEASANT PRAIRIE   WI           53158                   6004            Various                                                                                                $7.20
CORI M ZASTROW               N9869 HIGHWAY 151                                                BEAVER DAM         WI           53916                   6002            Various                                                                                                $9.67
CORI PICARD                  1709 REGENT ST                                                   MADISON            WI           53726                   6002            Various                                                                                                $0.27
CORI SASSER                  716 ADAMS                                                        AFTON              WY           83110                   6002            Various                                                                                                $5.01
CORIE FREIMUTH               809 GODFREY ST                                                   WORTHINGTON        MN           56187                   6004            Various                                                                                                $3.00
CORIE JO JACKSON             617 W. CEDAR                                                     MITCHELL           SD           57301                   6004            Various                                                                                               $23.00
CORIN HENDGES                715 EAST 10TH                                                    KAUKAUNA           WI           54130                   6004            Various                                                                                                $1.00
CORINA DALRAMPLE             1402 TAFT AVE                                                    SALMON             ID           83467                   6002            Various                                                                                                $1.23
CORINE LABERE                2485 HOLT STAGE                                                  KALISPELL          MT           59901                   6002            Various                                                                                                $6.41
CORINNE COFFEY               PO BOX 666 AMSVILE                                               AUMSVILLE          OR           97325                   6004            Various                                                                                               $23.00
CORINNE JOHNSON              4414 JAY DRIVE.                                                  MADISON            WI           53704                   6004            Various                                                                                               $34.00
CORINNE PAPKE                W3244 COUNTY ROAD WH                                             FOND DU LAC        WI           54937                   6002            Various                                                                                                $7.12
CORINNE POWERS               1501 LOWELL PARK RD APT 2L                                       DIXON              IL           61021                   6002            Various                                                                                                $2.47
CORINNE SAIDLA               2491 N MAIN ST APT 1                                             OSHKOSH            WI           54901                   6002            Various                                                                                                $7.32




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CORINNE SILVERTON                   PO BOX 188                                                         AHMEEK           MI           49901                 6002                Various                                                                                                $6.90
CORINNE STEPHANY                    2258 RED OAK DR                                                    GREEN BAY        WI           54304                 6002                Various                                                                                                $3.84
CORINNE WAGA                        2390 S FARHRION RD                                                 ELIZABETH        IL           61028                 6004                Various                                                                                               $40.00
CORISSA DAINES                      103 CLARK ST                                                       WATERTOWN        WI           53094                 6002                Various                                                                                               $10.00

CORLISS DAVIS                       110 BEARLAKE DR PO BOX # 141                                       STAR VALLEY RA   WY           83127                  6002               Various                                                                                             $8.11
CORNEL JOHNSON                      6707 DOUGLAS AVE                                                   RACINE           WI           53402                  6004               Various                                                                                             $5.00
CORNELIA SHRYOCK                    403 SE AVENUE C                                                    ANDREWS          TX           79714                  6002               Various                                                                                             $4.58
CORNELIUS COLEMAN                   511 KELLOG ST                                                      JANESVILLE       WI           53546                  6004               Various                                                                                             $2.00
CORNELL STOREFRONT SYSTEMS, INC.    140 MAFFET STREET                                                  WILKES BARRE     PA           18705                                     12/25/2018                                                                                      $1,027.72
CORNELSEN LEASING COMPANY           PO BOX 495                                                         FAIRVIEW         OK           73737                  8705               Various                                                                                         $2,083.34
CORNER II LIMITED (C-HUB)           3665A ROUTE 112                                                    CORAM            NY           11727                  1380               Various                                                                                          $213.92
CORRALS IRRIGATION & LAWN CARE      511 ST HILAIRE RD                                                  YAKIMA           WA           98901                  5612               Various                                                                                          $194.76
CORRECTIONAL INDUSTRIES ACCOUN      PO BOX 41116 MS41116                                               OLYMPIA          WA           98504-1116             9093               Various                                                                                            $44.00
CORRENE MCENTEE                     920 W 8TH ST                                                       OGALLALA         NE           69153                  6002               Various                                                                                             $7.29
CORRIE ORTIZ                        423 SOUTH BROAD ST.                                                MANKATO          MN           56001                  6004               Various                                                                                             $3.00
CORRIN P KRAMER                     N16112 CTY RD K                                                    GALESVILLE       WI           54630                  6002               Various                                                                                             $9.75
CORRIN SUDWEEKS                     604 LANE ST                                                        FALLS CITY       NE           68355                  6002               Various                                                                                             $6.96
CORRINA BROWN                       740 14TH AVE N                                                     GREYBULL         WY           82426                  6002               Various                                                                                             $9.70
CORRINE COLLINS                     5126 CAMDEN RD                                                     MADISON          WI           53716                  6004               Various                                                                                             $3.00
CORRINE E STERLING                  1005 LINCOLN ST                                                    KEWAUNEE         WI           54216                  6002               Various                                                                                             $4.63
CORRINE GERDES                      623 N DEMENT AVE                                                   DIXON            IL           61021                  6002               Various                                                                                             $0.66
CORRINE PRIVOZNIK                   868 HARMEL AVE                                                     OSHKOSH          WI           54902                  6002               Various                                                                                             $8.14
CORRINE STEWART                     110 N BEEBE AVE,.                                                  PESHTIGO         WI           54157                  6004               Various                                                                                             $9.99
CORRINE WHEELOCK                    1230 PERSHING RD UNIT 50                                           DE PERE          WI           54115                  6002               Various                                                                                             $0.41
CORTNEY HOSEY                       9 N HANCOCK ST                                                     MADISON          WI           53703                  6004               Various                                                                                             $2.50
CORTNEY WARNER                      6280 MEANDER AVE                                                   WEST VALLEY      UT           84128                  6004               Various                                                                                            $15.02
CORTNI HANSEN                       11364 N HEIGHTS DR NW                                              MINNEAPOLIS      MN           55433                  6004               Various                                                                                             $3.00
CORTNY JARED                        315 DUNLAP RD                                                      OROFINO          ID           83544                  6002               Various                                                                                             $9.75
CORY A THOMAS                       12 BUCK RAIL LN                                                    ALPINE           WY           83128                  6002               Various                                                                                             $8.85
CORY AHLF                           4215 DANCER AVE                                                    SAINT ANSGAR     IA           50472                  6004               Various                                                                                            $40.00
CORY ANDEL                          7905 E. OAKMONT PLACE                                              SIOUX FALLS      SD           57110                  6004               Various                                                                                             $2.50
CORY AUER                           123 N CHURCH ST                                                    ORANGEVILLE      IL           61060                  6002               Various                                                                                             $0.88
CORY BETTINGER                      N6677 HWY 187                                                      SHIOCTON         WI           54170                  6004               Various                                                                                            $25.00
CORY BOITEAU                        3740 SOLEY LANE                                                    EAU CLAIRE       WI           54703                  6004               Various                                                                                             $6.02
                                                                   7408 W STONEY
CORY BUCHANAN                       APT 3                          CREEK                               SIOUX FALLS      SD           57106                  6004               Various                                                                                            $46.99
CORY BUELOW                         3594 BUELOW LANE                                                   JUNCTION CITY    WI           54443                  6004               Various                                                                                            $46.00
CORY CLARK                          1615 N ASHLAND AVE                                                 EAST WENATCHEE   WA           98802                  6004               Various                                                                                            $28.82
CORY COLLINSON                      2115 E LAKESIDE AVE                                                COEUR D ALENE    ID           83814                  6002               Various                                                                                             $3.89
CORY DAN                            1985 RIDGEMONT AVE                                                 HAYDEN           ID           83835                  6004               Various                                                                                           $119.95
CORY DORN                           710 E ALFRED ST LOT 3                                              WEYAUWEGA        WI           54983                  6004               Various                                                                                             $5.99
CORY GERVAIS                        11913 PLANTATION CT                                                NAMPA            ID           83651                  6002               Various                                                                                             $9.51
CORY GUSTAFSON                      2116 WALNUT ST                                                     BUTTE            MT           59701                  6002               Various                                                                                             $5.01
CORY HANDLEN                        2885 FERNDALE DR.                                                  GREEN BAY        WI           54313                  6004               Various                                                                                             $5.48
CORY HANUS                          635 WILLOWBROOK TR                                                 SUN PRAIRIE      WI           53590                  6004               Various                                                                                            $30.00
CORY HOFFMAN                        W4434 SHAEFER RD                                                   MENASHA          WI           54952                  6004               Various                                                                                            $48.00
CORY JONES                          3220 VETRANS DR.                                                   SAINT CLOUD      MN           56301                  6004               Various                                                                                             $3.00
CORY KAMM                           211 15TH ST NE                 APT 103                             ROCHESTER        MN           55906                  6004               Various                                                                                             $3.00
CORY LAURENCE                       3338 LATIGO ST                                                     NEWCASTLE        WY           82701                  6002               Various                                                                                             $1.81
CORY LEARNED                        1316 E MAPLE BEACH DR                                              EDGERTON         WI           53534                  6004               Various                                                                                             $9.00
CORY MCCARTY*                       828 GOULD ST.                                                      LA CROSSE        WI           54603                  6004               Various                                                                                            $25.00
CORY MERCURE                        2201 ERIE AVENUE APT D109                                          SHEBOYGAN        WI           53081                  4000               Various                                                                                           $105.96
CORY MUHM                           219 N 6TH AVE                                                      BELLE FOURCHE    SD           57717                  6002               Various                                                                                             $8.85




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            Creditor Name                    Address1                 Address2         Address3            City           State           Zip   Country     Number              Claim                                                                             Total Claim
CORY NIMMER                       E1760 COUNTY ROAD J                                               KEWAUNEE         WI           54216                 6002              Various                                                                                               $7.12
CORY PALMCOOK                     3412 E CANARY ST APT 8                                            APPLETON         WI           54915                 6002              Various                                                                                               $1.75

CORY PARKIN                       11042 S ROCHESTER AVE APT 25                                      SOUTH JORDAN     UT           84095                   6002            Various                                                                                             $9.86
CORY PFEIFER                      204 N 10TH ST                                                     PLATTSMOUTH      NE           68048                   6002            Various                                                                                             $4.49
CORY RENNER                       1935 CENTER AVE                                                   SAINT MARIES     ID           83861                   6002            Various                                                                                             $6.05
CORY ROLACK                       PO BOX 516                                                        STEVENS POINT    WI           54481                   6002            Various                                                                                             $6.74
CORY SCHALINSKE                   N1021 SUGARBUSH RD                                                AUGUSTA          WI           54722                   6002            Various                                                                                             $3.45
CORY TEMPLE                       1402 E LAKESIDE AVE                                               COEUR D ALENE    ID           83814                   6002            Various                                                                                             $7.15
CORY WITT                         6119 S 151ST ST                                                   OMAHA            NE           68137                   6002            Various                                                                                             $4.60
CORY WOODRICH                     1404 W. 15TH AVE.                                                 KENNEWICK        WA           99337                   6004            Various                                                                                            $20.00
COSETTE A LANDON                  877 E 1200TH N                                                    SHELLEY          ID           83274                   6002            Various                                                                                             $0.47
COSMAS UFO                        2021 CENTURY HILLS DR NE                                          ROCHESTER        MN           55906                   6004            Various                                                                                            $15.00
COSMETIC INDUSTRIES               13489 SLOVER AVE                                                  FONTANA          CA           92337                   5361            Various                                                                                          $923.40
COSMOS CORPORATION                103 ENTERPRISE DR                                                 WENTZVILLE       MO           63385                   3398            Various                                                                                         $4,297.14
COTTON PINKERTON                  2391 N 13TH RD                                                    WORDEN           MT           59088                   6004            Various                                                                                            $78.00
COTULLA LASALLE COUNTY            CHAMBER OF COMMERCE            290 N IH 35                        COTULLA          TX           78014                   1455            Various                                                                                          $150.00
                                  75 REMITTANCE DRIVE SUITE
COTY US LLC                       6435                                                              CHICAGO          IL           60675-6435              5603            Various                                                                                       $175,573.34
COUGHLIN LAWN & LANDSCAPE         MARTIN COUGHLIN                PO BOX 931                         STANDISH         MI           48658                   9956            Various                                                                                          $405.00
COULTER HEWETT                    4850 WANDA ST                                                     AMMON            ID           83406                   6002            Various                                                                                             $8.63
COUNTRY PRIDE COOPERATIVE INCO    PO BOX 529                                                        WINNER           SD           57580-0529              7943            Various                                                                                          $849.99
                                                                                                                                                                          11/27/2018 -
COUNTRY PRIDE COOPERATIVE, SD     P.O. BOX 529                                                      WINNER           SD           57580                   6610            12/18/2018                                                                                        $862.80
COURISTAN (C-HUB)                 PO BOX 9464                                                       UNIONDALE        NY           11555-9464              3785            Various                                                                                           $437.10
COURTLYN SOCWELL                  W2108 CTY RD V V                                                  SEYMOUR          WI           54165                   6004            Various                                                                                            $10.00
COURTNAY LEE WYNGAARD             2602 N BENNETT ST APT 1                                           APPLETON         WI           54914                   6002            Various                                                                                             $7.51
COURTNEY A ERWIN                  PO BOX 283                                                        SERGEANT BLUFF   IA           51054                   6002            Various                                                                                             $6.38
COURTNEY A. ANDERSON              416 E JOHNSON ST                                                  RIVER FALLS      WI           54022                   6002            Various                                                                                             $4.41
COURTNEY A. DOUGLAS               4513 4TH ST NW                                                    ROCHESTER        MN           55901                   6002            Various                                                                                             $6.88
COURTNEY ANGER                    1806 REDWOOD DRIVE                                                EAU CLAIRE       WI           54703                   6004            Various                                                                                             $3.00
COURTNEY ARGYLE                   51 A S 350 W                                                      JEROME           ID           83338                   6004            Various                                                                                            $20.00
COURTNEY CALL                     839 MEDOWLAND DR                                                  BRIGHAM CITY     UT           84302                   6002            Various                                                                                             $2.96
COURTNEY CAMPTON                  102981 SCACHT RD                                                  PESHTIGO         WI           54157                   6004            Various                                                                                             $3.00
COURTNEY CASEY                    3311 IDLEWOOD ST                                                  SIOUX CITY       IA           51104                   6002            Various                                                                                             $9.67
COURTNEY CLINE                    802 W STONINGTON CT                                               COEUR D ALENE    ID           83815                   6002            Various                                                                                             $7.37
COURTNEY CONN                     3904 BROADWAY                                                     PLATTSMOUTH      NE           68048                   6002            Various                                                                                             $5.95
COURTNEY DAVIS                    7443 S 4850 W                                                     SPANISH FORK     UT           84660                   6004            Various                                                                                            $23.00
COURTNEY DUERST                   1849 DUERST VALLEY RD                                             MOUNT HOREB      WI           53572                   6004            Various                                                                                            $12.20
COURTNEY ERNST                    9834 N VALLEY HILL DR                                             MEQUON           WI           53092                   6004            Various                                                                                            $45.00
COURTNEY FALK                     1433 MEDINA CT                                                    NEKOOSA          WI           54457                   6002            Various                                                                                             $8.25
COURTNEY FALLON                   PO BOX 304                                                        DOLLAR BAY       MI           49922                   6004            Various                                                                                            $30.00
COURTNEY FOURNIER                 3519 17TH AVE                                                     KENOSHA          WI           53140                   6002            Various                                                                                             $7.86
COURTNEY GATES                    533 E 6TH AVE                                                     HELENA           MT           59601                   6002            Various                                                                                             $3.92
COURTNEY GLENN                    3554 BURGANDY DR                                                  IDAHO FALLS      ID           83404                   6002            Various                                                                                             $5.92
COURTNEY HOUY                     1175 HIGH BLUFF                                                   DUBUQUE          IA           52001                   6004            Various                                                                                            $25.00
COURTNEY JACKSON                  273 S WALNUT ST                                                   MAYVILLE         WI           53050                   6002            Various                                                                                             $4.38
COURTNEY K. THOMPSON              2825 N JULIA ST F101                                              COEUR D ALENE    ID           83815                   6002            Various                                                                                             $8.08
COURTNEY KEYS                     818 BURR RD SE SP #4                                              OLYMPIA          WA           98501                   6004            Various                                                                                            $10.00
COURTNEY LANIGAN                  421 INDIAN HILLS DR                                               WATERLOO         WI           53594                   6002            Various                                                                                             $2.08

COURTNEY LEONARD                  C/O MARCIE LEONARD             1512 CHERRY ROAD                   MANITOWOC        WI           54220                   6002            Various                                                                                               $6.00
COURTNEY LILLEHOLM                849 S 40TH                                                        LINCOLN          NE           68510                   6004            Various                                                                                               $2.00
COURTNEY LOOKER-JORDAK            6120 CENTURY AVE #203                                             MIDDLETON        WI           53562                   6004            Various                                                                                               $1.00




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COURTNEY M LEMKE                  N9612 LAWN RD                                                    SEYMOUR           WI         54165                  6002                Various                                                                                                $7.67
COURTNEY MCINTOSH                 804 8TH AVE SE                                                   AUSTIN            MN         55912                  6004                Various                                                                                               $23.00
COURTNEY MCLEOD                   829 E 3RD ST                                                     AINSWORTH         NE         69210                  6002                Various                                                                                                $5.07
COURTNEY MILLER                   314 4TH ST                                                       RUSHMORE          MN         56168                  6002                Various                                                                                                $0.41
COURTNEY NELSON                   808 2ND ST                                                       MANKATO           MN         56001                  6002                Various                                                                                               $26.24
COURTNEY P MADDOX                 27182 E SCHOOLHOUSE LOOP                                         CATALDO           ID         83810                  6002                Various                                                                                                $4.38
COURTNEY REAGLES                  562 BRAUND ST APT 6                                              ONALASKA          WI         54650                  6002                Various                                                                                                $0.71
COURTNEY ROOYAKKERS               3202 HILL RD                                                     KAUKAUNA          WI         54130                  6002                Various                                                                                                $2.00
COURTNEY ROSINSKI                 1030 EAST WASHINGTON AVE                                         MADISON           WI         53716                  6004                Various                                                                                                $1.00
COURTNEY ROSS                     2251 MAPLEWOOD DR                                                PLOVER            WI         54467                  6004                Various                                                                                               $10.00
COURTNEY SEITZ                    202 W. 41ST. ST.                                                 GARDEN CITY       ID         83714                  6004                Various                                                                                               $34.01
COURTNEY SEITZ-PRESCOTT           202 41ST STREET                                                  GARDEN CITY       ID         83714                  6004                Various                                                                                               $31.00
COURTNEY SHELSTAD                 105 N, 4TH ST.                                                   MOUNT HOREB       WI         53572                  6004                Various                                                                                                $1.00
COURTNEY SIEH                     51431 COUNTY ROAD 21                                             COURTLAND         MN         56021                  6004                Various                                                                                               $25.50
COURTNEY SMALL                    4407 DAVENPORT ST                                                OMAHA             NE         68111                  6004                Various                                                                                                $4.00
COURTNEY STOUT                    P O BOX 64                                                       SEELEY LAKE       MT         59868                  6004                Various                                                                                                $4.00
COURTNEY VANDE VREDE              2002 MANOR CT                                                    EAU CLAIRE        WI         54703                  6004                Various                                                                                               $10.00
COURTNEY WAGNER PERKINS           4413 SOUTH 21ST                                                  OMAHA             NE         68107                  6004                Various                                                                                                $4.00
COURTNEY WALLACE                  610 WILHORN RD LOT 17                                            NEKOOSA           WI         54457                  6004                Various                                                                                                $7.85
COURTNEY WIEMER                   913 E 10TH ST N                                                  LADYSMITH         WI         54848                  6004                Various                                                                                               $20.00
COURTNEY WOODY                    2333 RIDGEVIEW DR             #3                                 EAU CLAIRE        WI         54701                  6004                Various                                                                                                $1.00
COURTNEY WUBBENA                  241 PARKER CT                                                    LANARK            IL         61046                  6002                Various                                                                                                $6.63
COURTNEY YETTER                   4857 WALLACE RD                                                  PITTSVILLE        WI         54466                  6004                Various                                                                                               $37.00
                                  16 FL., NO. 95, MINQUAN ROAD,                                                                               TAIWAN
COURTYARD CREATIONS               XIANDIAN DIST.,                                                  NEW TAIPEI CITY              23141         R.O.C.   5998                Various                                                                                       $674,875.80
COWBOY HORSE BURGIN               7910 W COUGAR GULCH RD                                           COEUR D ALENE     ID         83814                  6002                Various                                                                                             $4.36
COY DALTON RODEN                  1121 HAYES AVE.                                                  RACINE            WI         53405                  6004                Various                                                                                             $9.00

COZY COMFORT COMPANY LLC          REPUBLIC BUSINESS CREDIT LLC   PO BOX 203152                     DALLAS            TX         75320-3152               5378              Various                                                                                        $66,647.25
CPT NETWORK SOLUTIONS             1062 THORNDALE AVENUE                                            BENSENVILLE       IL         60106                    2241              Various                                                                                        $12,550.99
CR HOLLAND CRANE SERVICES INCO    35545 HWY 69                                                     FOREST CITY       IA         50436                    3881              Various                                                                                          $400.00
CRAFTS INC.                       3403 MENASHA AVENUE                                              MANITOWOC         WI         54221-0190                                 10/22/2018                                                                                       $619.31
CRAIG ALT                         2319 JOYCE STREET                                                KAUKAUNA          WI         54130                    6004              Various                                                                                             $4.32
CRAIG AUTREY                      604 S 30TH AVE                                                   YAKIMA            WA         98902                    6004              Various                                                                                            $11.11
CRAIG BAYNE                       PO BOX 638                                                       NEWCASTLE         WY         82701                    6002              Various                                                                                             $6.22
CRAIG BENNETT                     171 YES PLAZA                                                    TEN SLEEP         WY         82401                    6002              Various                                                                                             $3.33
CRAIG BLOCK                       119 S JOSEPH ST                                                  APPLETON          WI         54915                    6002              Various                                                                                             $9.34
CRAIG CARLIN                      1713 S 179TH ST                                                  OMAHA             NE         68130                    6002              Various                                                                                             $9.89
CRAIG CHECKETTS                   1501 MONROE BLVD APT 93                                          OGDEN             UT         84404                    6002              Various                                                                                             $9.34
CRAIG D PERKINS                   218 W MAIN ST                                                    FREEPORT          IL         61032                    6002              Various                                                                                             $8.68
CRAIG DAHL                        6411 12TH CT                                                     ALMOND            WI         54909                    6002              Various                                                                                             $1.56
CRAIG DELEURY                     2727 SOUTHSIDE BLVD                                              NAMPA             ID         83686                    6002              Various                                                                                             $3.84
CRAIG DOLPHAY                     BOX 528                                                          UPTON             WY         82730                    6002              Various                                                                                             $4.96
CRAIG DRESS                       1039 CALYPSO DR                                                  WINNECONNE        WI         54986                    6002              Various                                                                                             $2.33
CRAIG DUNCAN                      405 NORTH 5TH STREET #214                                        MANKATO           MN         56003                    6004              Various                                                                                             $3.00
CRAIG ELECTRONICS INC             1160 NW 163RD DRIVE                                              MIAMI             FL         33169                    4169              Various                                                                                          $500.00

CRAIG ENERSON                     3812 KINGBIRD LANE POB # 201                                     WAUSAU            WI         54401                    6002              Various                                                                                                $6.55
CRAIG FIELDS                      1623 DENNIS DRIVE                                                PLOVER            WI         54467                    6004              Various                                                                                               $25.00
CRAIG FILIPI                      510 E 24TH ST                                                    CRETE             NE         68333                    6002              Various                                                                                                $2.90
CRAIG FRIELL                      W5229 INNSBRUCK RD                                               WEST SALEM        WI         54669                    6002              Various                                                                                                $6.41
CRAIG FRINK                       734 MILLER ST                                                    HOLDREGE          NE         68949                    6002              Various                                                                                                $5.64
CRAIG GREENWALD                   N7229 CANE DR.                                                   ELKHORN           WI         53121                    6004              Various                                                                                                $3.00
CRAIG GROEN                       336 HUDSON AVE S                                                 MANKATO           MN         56001                    6004              Various                                                                                                $3.00




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                                                                                                                                                                                                 Contingent


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                                                                                                                                                        Last 4 Digits of     Date Debt was
                                                                                                                                                           Account         Incurred, Basis for
              Creditor Name                   Address1          Address2               Address3             City         State           Zip   Country     Number                Claim                                                                             Total Claim
CRAIG HANSEN                      555 OLD BUTTE HWY        APT 306                                  IDAHO FALLS       ID         83402                 6004                Various                                                                                               $27.00
CRAIG HARTMAN                     6135 NE RIVER RD                                                  SAUK RAPIDS       MN         56379                 6004                Various                                                                                               $25.50
CRAIG HAVEN                       10821 EAST 29TH AVENUE                                            SPOKANE           WA         99206                 6004                Various                                                                                               $30.00
CRAIG HECKENBACH                  28763 UNITY AVE                                                   GALLATIN          MO         64640                 6002                Various                                                                                                $0.36
CRAIG HICKSON                     19004 E SHANNON LANE                                              SPOKAN VALLEY     WA         99016                 6004                Various                                                                                               $24.99
CRAIG HILL                        1394 O'KEEFE RD                                                   DE PERE           WI         54115                 6004                Various                                                                                                $2.00
CRAIG HOLMES                      N 8727 COUNTY RDC                                                 ELDORADO          WI         54932                 6004                Various                                                                                                $6.00
CRAIG HOLZEM                      1620 CTY HWY O SOUTH                                              MOSINEE           WI         54455                 6004                Various                                                                                               $51.70
CRAIG HULINSKY                    4867 W 3185TH S                                                   W. VALLEY CITY    UT         84120                 6002                Various                                                                                                $7.51
CRAIG JANSEN                      7423 CTY ROAD B                                                   TWO RIVERS        WI         54241                 6004                Various                                                                                               $20.00
CRAIG JOHANNSEN                   4000 S WEST AVE                                                   SIOUX FALLS       SD         57109                 6002                Various                                                                                                $3.51
CRAIG KEIL                        5612 PHEASANT CIRCLE                                              MANITOWOC         WI         54220                 6004                Various                                                                                               $10.00
CRAIG KIMBALL                     8409 AUBURN CT                                                    PLATTSMOUTH       NE         68048                 6002                Various                                                                                                $5.92
CRAIG L OWEN                      107 E BUCKNER ST                                                  TUSCOLA           IL         61953                 6002                Various                                                                                                $3.48
CRAIG LAFFERTY                    3530 ASPENWOOD ST                                                 SIOUX CITY        IA         51104                 6002                Various                                                                                                $8.44
CRAIG LILLEY                      400 HWY 10 S                                                      SAINT CLOUD       MN         56304                 6004                Various                                                                                                $6.00
CRAIG LINDEROTH                   432 ALGER AVE                                                     MANISTIQUE        MI         49854                 6004                Various                                                                                               $65.00
CRAIG LUISIER                     4516 IRA LN                                                       LENA              WI         54139                 6002                Various                                                                                                $0.27
CRAIG M TUNKS                     1829 INSKIP AVE                                                   CENTRAL CITY      NE         68826                 6002                Various                                                                                               $10.00
CRAIG M. PANSIER                  4501 ROCKLEDGE CT                                                 DE PERE           WI         54115                 6002                Various                                                                                                $3.70
CRAIG MEYERS                      PO BOX 3011                                                       MISSOULA          MT         59806                 6002                Various                                                                                                $7.37
CRAIG MOORE                       8424 OHERN ST                                                     OMAHA             NE         68127                 6002                Various                                                                                                $1.15
CRAIG MORZ                        547 W FACTORY ST                                                  SEYMOUR           WI         54165                 6002                Various                                                                                                $1.75
                                  1225 COMMONWEALTH DR APT
CRAIG MOSURINJOHN                 5                                                                 FORT ATKINSON     WI         53538                  6002               Various                                                                                                $8.52
CRAIG MURRAY                      505 VULCAN ST APT 1                                               IRON MOUNTAIN     MI         49801                  6002               Various                                                                                                $5.04
CRAIG MYERS                       16252 RIGGS ST                                                    OMAHA             NE         68135                  6002               Various                                                                                                $0.36
CRAIG ROEHL                       1015 MILL ST                                                      NEW LONDON        WI         54961                  6002               Various                                                                                                $3.73
CRAIG SCHILLER                    2511 17TH STREET                                                  MONROE            WI         53566                  6004               Various                                                                                               $25.00
CRAIG SHEFFIELD                   1360 SHOREWOOD DRIVE                                              LA CROSSE         WI         54601                  6002               Various                                                                                                $1.50
CRAIG SOBOLEWSKI                  W11164 VAN BUREN ROAD                                             COLUMBUS          WI         53925                  6004               Various                                                                                                $5.00
CRAIG STEINSHOUER                 11855 US HIGHWAY 136                                              REPUBLICAN CITY   NE         68971                  6002               Various                                                                                                $8.71
CRAIG STEVENS                     3437 SO BAMBURGH WAY                                              SALT LAKE CITY    UT         84128                  6004               Various                                                                                                $4.00
CRAIG T WAGNER                    31653 284TH ST                                                    COLOME            SD         57528                  6002               Various                                                                                                $0.96
CRAIG TAYLOR                      83941 HWY 45                                                      TILDEN            NE         68781                  6004               Various                                                                                                $7.00
CRAIG TOSTENSON                   HC 60 BOX 51A                                                     COPPER CENTER     AK         99573                  6002               Various                                                                                                $2.58
CRAIG WAGAMON                     624 RIVER AVE                                                     DE PERE           WI         54115                  6002               Various                                                                                                $1.59
CRAIG WAGNER JR                   1103 PIERCE AVE                                                   MARINETTE         WI         54143                  6004               Various                                                                                                $3.00

CRAIG WARD                        1077 E DRIFTWOOD HEIGHTS DR                                       HARRISON          ID         83833                  6002               Various                                                                                             $3.75
CRAIG WELCH                       302 B MISNER ST.                                                  WITTENBERG        WI         54499                  6004               Various                                                                                            $32.80
CRAIG ZUTZ                        14986 UPPER FALLS RD                                              REEDSVILLE        WI         54230                  6002               Various                                                                                             $7.26
CRANE USA INC                     1015 HAWTHORN DRIVE                                               ITASCA            IL         60143                  2548               Various                                                                                         $6,789.77

CRAWFORD/ AMY                     STORE 673                     SHOPKO EMPLOYEE 1511 E 4TH STREET   AINSWORTH         NE         69210                  3075               Various                                                                                           $214.28

CRAYOLA L L S                     BOX 93210                     525 WEST MONROE                     CHICAGO           IL         60673-3210              4406              Various                                                                                        $29,223.08
CREATIVE BIOSCIENCE               381 WEST IRONWOOD DRIVE                                           SOUTH LAKE CITY   UT         84115                   4969              Various                                                                                         $1,567.20

CREATIVE CONVERTING DIV OF HOF    VICE PRESIDENT OF SALES       255 SPRING STREET                   CLINTONVILLE      WI         54929                  3610               Various                                                                                       $494,072.08
                                  WELLS FARGO TRADE CAPITAL
CREEDENCE HOLDINGS LLC DBA WES    SERVICES INC                  PO BOX 842674                       BOSTON            MA         02284-2674             1206               Various                                                                                         $5,001.57
CREIGHTON WINEGAR                 11360 N ELLICOTT HWY                                              CALHAN            CO         80808                  6002               Various                                                                                             $5.78
CRESCO SHOPPER INCORPORATED       PO BOX 117                                                        CRESCO            IA         52136                  7843               Various                                                                                          $240.00




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             Creditor Name                    Address1             Address2         Address3              City          State         Zip    Country     Number              Claim                                                                             Total Claim
CRESCO TIMES PLAIN DEALER & EX    214 N ELM STREET                                               CRESCO            IA           52136-0000           3557              Various                                                                                               $25.00
CRICKET THOMPSON                  1213 W TARGEE ST                                               BOISE             ID           83706                6002              Various                                                                                                $5.21
                                  575 MOROSGO DRIVE NE SUITE
CRICKET WIRELESS LLC              10G57                                                          ATLANTA           GA           30324                  4399            Various                                                                                        $54,581.27
CRISPIN FRANCK                    417 VANBUREN                                                   BELVIDERE         IL           61008                  6002            Various                                                                                             $2.85
CRISTA DANIELS                    145 N WASHIGHTON BLVD        APT83                             OGDEN             UT           84404                  6004            Various                                                                                            $10.00
CRISTA L GREEN                    709 14TH AVE SW                                                AUSTIN            MN           55912                  6002            Various                                                                                             $5.92
CRISTEN PRODL                     131 BROADWAY AVENUE                                            WAUSAU            WI           54403                  6002            Various                                                                                            $15.28
CRISTI STARR                      695 S 100TH E                                                  SALEM             UT           84653                  6002            Various                                                                                             $7.89
CRISTIE HUTTER                    W382 ALBANY II                                                 MONDOVI           WI           54755                  6004            Various                                                                                            $50.00
CRISTINA ANTILLON                 702 NW 6TH                                                     ANDREWS           TX           79714                  6002            Various                                                                                             $7.56
CRISTINA BOLANOS                  620 S SPRING ST                                                BEAVER DAM        WI           53916                  6002            Various                                                                                            $10.00
CRISTINA MURILLO                  328 HIGHLAND AVE                                               BERTRAND          NE           68927                  6002            Various                                                                                             $2.66
CRISTINA TERRAZAS                 904 11TH ST                                                    GRAND ISLAND      NE           68801                  6004            Various                                                                                             $4.00
CRISTINE GONZALES                 502 E AVENUE                                                   LYONS             KS           67554                  6002            Various                                                                                             $4.03
CRISTY FRYZEK                     5738 CHATSWORTH LN                                             LINCOLN           NE           68516                  6004            Various                                                                                            $12.00
CRISTY LEAVITT                    109 3RD AVE BOX # 937                                          AFTON             WY           83110                  6002            Various                                                                                             $7.75
CRITEO CORP                       PO BOX 123520                                                  DALLAS            TX           75312-3520             4285            Various                                                                                        $57,302.29
CROELL PROPERTIES INC             2010 KENWOOD AVENUE          PO BOX 430                        NEW HAMPTON       IA           50659-0430             3498            Various                                                                                         $7,076.00
CROSMAN CORPORATION               VICE PRESIDENT OF SALES      RTS 5 & 20                        EAST BLOOMFIELD   NY           14443                  2336            Various                                                                                        $29,044.09
CROSSMARK GRAPHICS                16100 WEST OVERLAND DRIVE                                      NEW BERLIN        WI           53151                  9563            Various                                                                                        $98,188.64
CROW RIVER FLORAL & GIFTS         136 HASSAN ST SE                                               HUTCHINSON        MN           55350                  6657            Various                                                                                            $51.00
CROWN DISTRIBUTING INC            VICE PRESIDENT OF SALES      PO BOX 255                        SALINA            KS           67402-0255             9008            Various                                                                                          $634.86
CROWN EQUIPMENT CORPORATION       PO BOX 641173                                                  CINCINNATI        OH           45264-1173             3323            Various                                                                                        $77,114.30
CRYSTAL ANCELL                    1105 W PEAR AVE                                                SELAH             WA           98942                  6004            Various                                                                                             $7.90
CRYSTAL ARCHER                    2308 WOOD STREET                                               LA CROSSE         WI           54603                  6004            Various                                                                                             $2.00
CRYSTAL ART GALLERY RGGD INC      RGGD INCORPORATED            DEPT CH 16738                     PALATINE          IL           60055-6738             7913            Various                                                                                       $493,479.01
CRYSTAL ARZOLA                    6519 SOUTH 32ND STREET                                         OMAHA             NE           68107                  6004            Various                                                                                            $20.00
CRYSTAL BACA                      922 FAIRBANK AVE                                               POCATELLO         ID           83201                  6004            Various                                                                                            $20.00
CRYSTAL BARTSCH                   529 LINDA DR                                                   EAGLE LAKE        MN           56024                  6004            Various                                                                                            $26.80
CRYSTAL BAUER                     691 15TH ST SE                                                 MASON CITY        IA           50401                  6002            Various                                                                                             $7.29
CRYSTAL BERGET                    702 16TH AVE                                                   MONROE            WI           53566                  6004            Various                                                                                            $14.40
CRYSTAL BOTTINE                   303 HEWITT ST                                                  NEENAH            WI           54956                  6004            Various                                                                                            $10.00
CRYSTAL BRISTOL                   3929 1/2 AVE                                                   OMAHA             NE           68111                  6004            Various                                                                                             $4.00
CRYSTAL BRYANT                    1604 POWERS AVE                                                LEWISTON          ID           83501                  6004            Various                                                                                          $202.32
CRYSTAL CABRERA                   922 FAIRBANKS AVE                                              POCATELLO         ID           83201                  6004            Various                                                                                            $23.00
CRYSTAL CHANDLER                  4016 CUMMING ST #1                                             OMAHA             NE           68131                  6004            Various                                                                                             $4.00
CRYSTAL CLAUSSEN                  22094 TROUT AVE                                                ALBERT LEA        MN           56007                  6002            Various                                                                                             $5.01
CRYSTAL CORNELIUS                 1823 CORMIER RD                                                GREEN BAY         WI           54313                  6004            Various                                                                                            $33.69
CRYSTAL CORRY                     1015 E 1ST AVE                                                 MONMOUTH          IL           61462                  6002            Various                                                                                             $5.64
CRYSTAL D HARRIS                  102 N 3RD STREET                                               WINNECONNE        WI           54986                  6002            Various                                                                                             $3.04
CRYSTAL D MARTINEZ                88658 HIGHWAY 183                                              LONG PINE         NE           69217                  6002            Various                                                                                             $7.26
CRYSTAL DENSLOW                   355 S LESTER ST                                                WHITE CLOUD       MI           49349                  6002            Various                                                                                             $5.45
CRYSTAL DOWNEY                    3100 WASHBURN ST APT 19                                        MISSOULA          MT           59801                  6002            Various                                                                                             $3.70
CRYSTAL EICHORN                   931 W VILLAGE CIR SE                                           ROCHESTER         MN           55904                  6002            Various                                                                                             $3.42
CRYSTAL FETTIG                    423 N 20TH ST                                                  COEUR D ALENE     ID           83814                  6002            Various                                                                                             $6.41
CRYSTAL FRANKLIN                  624 KNOWLTON STREET APT 2                                      WATERLOO          WI           53594                  6004            Various                                                                                             $2.00
CRYSTAL FRANZWA                   3660 SERVICE DR                                                WINONA            MN           55987                  6004            Various                                                                                            $34.00
CRYSTAL G WILLIS                  522 KIMBALL ST                                                 DOUGLAS           WY           82633                  6002            Various                                                                                             $5.73
CRYSTAL GALIK                     201 SOUTH JOSEPH STREET                                        APPLETON          WI           54915                  6004            Various                                                                                          $235.00
CRYSTAL GEHRMANN                  215 WASHINGTON STREET                                          BEAVER DAM        WI           53916                  6004            Various                                                                                             $1.00
CRYSTAL HAKARI                    5664 GABLES DR               APT 3                             EAU CLAIRE        WI           54701                  6004            Various                                                                                             $8.00
CRYSTAL HEDMAN                    1220 6TH AVE NW                                                WATERTOWN         SD           57201                  6004            Various                                                                                            $20.00




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            Creditor Name                   Address1                    Address2        Address3             City        State           Zip   Country      Number                Claim                                                                             Total Claim
                                  3870 WILLOW HEIGHTS DRIVE
CRYSTAL HELLKAMP                  SW                                                                 ROCHESTER          MN       55902                   6004               Various                                                                                                $6.00
CRYSTAL HIGGINS                   411 N WOOD ST                                                      VALENTINE          NE       69201                   6002               Various                                                                                               $10.00

CRYSTAL HUNTER                    2941 PLOVER RD                                                     WISCONSIN RAPIDS   WI       54494                   6004               Various                                                                                                $3.00
CRYSTAL HYSELL                    13887 ROUTE 2                                                      STEWARTVILLE       MN       55976                   6004               Various                                                                                                $6.00
CRYSTAL ICE COMPANY               VICE PRESIDENT OF SALES       PO BOX 875                           WHEATLAND          WY       82201                   4825               Various                                                                                               $90.00
CRYSTAL JEAN ELMERGREEN           W4004 KROPP RD                                                     SEYMOUR            WI       54165                   6002               Various                                                                                                $7.10
CRYSTAL KAYSER                    4966 W 5320TH S                                                    SALT LAKE CITY     UT       84118                   6002               Various                                                                                                $8.90
CRYSTAL KIMBER                    244 PRAIRIE DR.                                                    WAUKON             IA       52172                   6004               Various                                                                                               $15.00
CRYSTAL KOTHBAUER                 3321 MILLER ST                                                     EAU CLAIRE         WI       54701                   6004               Various                                                                                               $12.75
CRYSTAL L DEL CAMPO               1201 LINCOLN WAY APT 16                                            COEUR D ALENE      ID       83814                   6002               Various                                                                                                $6.49
CRYSTAL L TRUNDY                  1728 N 8TH ST                                                      COEUR D ALENE      ID       83814                   6002               Various                                                                                                $7.12
CRYSTAL MAHLUM                    1100 FIR COURT                                                     JANESVILLE         WI       53546                   6004               Various                                                                                               $25.00
CRYSTAL MARLATT                   31529 ROBERTS AVE                                                  WORTHINGTON        MN       56187                   6004               Various                                                                                                $3.00
CRYSTAL MARTINEZ                  210 E DIVISION STREET         LST 5                                NEILLSVILLE        WI       54456                   6004               Various                                                                                                $1.00
CRYSTAL MOORE                     507 WARFORD ST                                                     PERRY              IN       50220                   6002               Various                                                                                                $6.52
CRYSTAL NMI LEIGH                 BOX 128                                                            SPRAGUE            MB       56751                   6002               Various                                                                                                $7.37
CRYSTAL OSBORNE                   1904 N WISCONSIN ST                                                RACINE             WI       53402                   6004               Various                                                                                               $29.00

CRYSTAL PATTON                    5285 W FANNIN LANE APT I106                                        SALT LAKE CITY     UT       84120                   6004               Various                                                                                             $5.00
CRYSTAL PENCE                     N3584 AEBLY ROAD                                                   MONROE             WI       53566                   6004               Various                                                                                            $70.00
CRYSTAL PHILLIPS                  204 W 10TH ST                                                      LARNED             KS       67550                   6002               Various                                                                                             $2.49
CRYSTAL R PAULI                   6610 LENOLA HTS                                                    WENTWORTH          SD       57075                   6002               Various                                                                                             $0.60
CRYSTAL ROMINE                    1724 HAVEN CT                                                      KALISPELL          MT       59901                   6002               Various                                                                                             $4.03
CRYSTAL SCHMITT                   924 WATER ST                  APT. 3                               EAU CLAIRE         WI       54701                   6004               Various                                                                                             $5.02
CRYSTAL SMITH                     PO BOX 115                                                         OROFINO            ID       83544                   6002               Various                                                                                             $5.10
CRYSTAL SWANSON                   702 3RD AVE SE                                                     ROCKFORD           IA       50468                   6002               Various                                                                                             $3.67
CRYSTAL TAYLOR                    2082 CHRISTINE DRIVE                                               GALESBURG          IL       61401                   6004               Various                                                                                            $45.00
CRYSTAL TROTTER                   1211 W 14TH ST                                                     LITTLEFIELD        TX       79339                   6002               Various                                                                                             $3.84
CRYSTAL VANTOOR                   W9876 FORMAN RD                                                    DEERBROOK          WI       54424                   6002               Various                                                                                             $4.88
CRYSTAL WEIR HEINEMAN             12281 320TH ST                                                     BOYD               WI       54726                   6004               Various                                                                                             $1.00
CRYSTAL WEST                      45 PURPLE SAGE RD LOT 163                                          ROCK SPRINGS       WY       82901                   6002               Various                                                                                             $7.92
CRYSTAL WILLIS                    PO BOX 2164                                                        OROFINO            ID       83544                   6002               Various                                                                                             $5.45
CRYSTAL WOOD                      12887 PLEASANT VALLEY DR                                           ABERDEEN           SD       57401                   6002               Various                                                                                             $1.18
CSB DIV C STEIN (067)             4719 MARKET STREET STE 100                                         BOISE              ID       83705                   6203               Various                                                                                         $1,315.70

                                                                200 E WASHINGTON
CSC, LLC                          C/O PFEFFERLE MANAGEMENT      STREET SUITE 2A                      APPLETON           WI       54911                   3082               Various                                                                                        $10,103.67
CSG APPAREL                       VICE PRESIDENT OF SALES       57 W 38TH STREET                     NEW YORK           NY       10018                   0089               Various                                                                                        $41,797.22
CUDD LAWN AND SNOW SERVICES LL    PO BOX 620                                                         RIVER FALLS        WI       54022                   6180               Various                                                                                          $337.60
CULLIGAN OF BOONE COUNTY          PO BOX 797                                                         LEBANON            IN       46052-0797              6766               Various                                                                                             $5.22
CULLIGAN OF PINE CITY             DEPARTMENT 8940               PO BOX 77043                         MINNEAPOLIS        MN       55480-7743              2757               Various                                                                                            $44.53
CULLIGAN OF ST CLOUD              DEPARTMENT 8952               PO BOX 77043                         MINNEAPOLIS        MN       55480-7743              4810               Various                                                                                            $21.45
CULVERS WATERTOWN                 1722 S CHURCH STREET                                               WATERTOWN          WI       53094                   0836               Various                                                                                          $200.00
CUMMINGS FAMILY                   318 S 10TH ST                                                      ESCANABA           MI       49829                   6002               Various                                                                                             $5.73
CURENE WATSON                     609 STATE STREET SOUTH        APT 23                               WASECA             MN       56093                   6004               Various                                                                                            $12.00
CURLEY CREEK LAWN CARE LLC        N6082 CURLEY CREEK AVENUE                                          NEILLSVILLE        WI       54456                   4043               Various                                                                                          $379.80
CURRAN FAMILY                     PO BOX 2631                                                        FORT WASHAKIE      WY       82514                   6002               Various                                                                                             $2.33
CURT A BLOCK                      N12293 OWEN AVE                                                    OWEN               WI       54460                   6002               Various                                                                                             $1.53
CURT FORSMAN                      1627 8TH AVE N                                                     GREAT FALLS        MT       59401                   6002               Various                                                                                             $2.14
CURT IGNACIO                      207 FAIRWAY DR                                                     CLINTONVILLE       WI       54929                   6002               Various                                                                                             $8.22
CURT MESSER                       N9544 JERSEY RD                                                    BEAVER DAM         WI       53916                   6004               Various                                                                                            $29.00
CURT RUPP                         UPDATE                                                             LYONS              KS       67554                   6002               Various                                                                                             $0.93




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                                                                                                                                                         Last 4 Digits of     Date Debt was
                                                                                                                                                            Account         Incurred, Basis for
           Creditor Name                     Address1                    Address2        Address3            City        State           Zip   Country      Number                Claim                                                                             Total Claim

CURT WADINA                       N55W21688 ADAMDALE DR                                               MENOMONEE FALLS   WI       53051                   6002               Various                                                                                             $0.36
CURTIS ALDRICH                    180 N APT # 14                                                      FOND DU LAC       WI       54935                   6002               Various                                                                                             $8.22
CURTIS ARCHAMBEAU                 21315 BROEMER RD                                                    CHASSELL          MI       49916                   6002               Various                                                                                            $10.00
CURTIS BIESTER                    14825 BLUE MTN R                                                    MT CARROLL        IL       61053                   6002               Various                                                                                             $9.10
CURTIS BJORNDAL                   611 INDIAN TRAIL                                                    BILLINGS          MT       59105                   6004               Various                                                                                             $2.00
CURTIS C HOEHN                    1112 N 665TH W                                                      BRIGHAM CITY      UT       84302                   6002               Various                                                                                             $3.92
CURTIS C KLUENER                  2002 E FRONT AVE                                                    COEUR D ALENE     ID       83814                   6002               Various                                                                                             $7.51
CURTIS E ANDERSEN                 2526 LARK AVE                                                       EXIRA             IA       50076                   6002               Various                                                                                             $6.63
CURTIS ECKSTEIN                   353 S VANDENBERGH RD                                                GREEN BAY         WI       54311                   6002               Various                                                                                             $1.23
CURTIS GENE DUVALL                PO BOX 582                                                          IPSWICH           SD       57451                   6002               Various                                                                                             $7.21
CURTIS GREAVES                    1722 GENEVA ST                                                      DE PERE           WI       54115                   6002               Various                                                                                             $9.26
CURTIS HEISE                      1100 S 2000 E                                                       CLEARFIELD        UT       84015                   6002               Various                                                                                            $10.00
CURTIS HESS                       8848 SO W # 2070                                                    WEST JORDAN       UT       84088                   6002               Various                                                                                             $6.90
CURTIS HOOD                       115 E H ST                                                          OGALLALA          NE       69153                   6002               Various                                                                                             $7.51
CURTIS JEROM DOMASK               802 BARTLETT ST                                                     WAUPACA           WI       54981                   6002               Various                                                                                             $1.34
CURTIS KEINER                     112 LAKE CREST DRIVE APT 208                                        BEAVER DAM        WI       53916                   6004               Various                                                                                             $2.00
CURTIS KLAUS                      5005 BLAZING STAR ST                                                WAUSAU            WI       54401                   6004               Various                                                                                            $10.00
CURTIS KUEHL                      1002 ALPINE DR                                                      GREEN BAY         WI       54311                   6002               Various                                                                                             $5.62
CURTIS LEE KAMP                   411 BAXTER ST                                                       MARINETTE         WI       54143                   6002               Various                                                                                             $0.60
CURTIS M PETERSON                 5385 STACY TRL TRLR 112                                             STACY             MN       55079                   6002               Various                                                                                             $7.37
CURTIS MENSINK                    1700 THUNDERBIRD RD            STE 1                                MARSHALL          MN       56258                   6004               Various                                                                                            $14.39
CURTIS OLAND                      11756 530TH AVE                                                     DONNELLY          MN       56235                   6002               Various                                                                                             $8.52
CURTIS R MOORE                    HC 73 BOX 1960                                                      FAIRDEALING       MO       63939                   6002               Various                                                                                             $1.18
CURTIS SILVEIRA                   33732 POW WOW ROAD                                                  ARLEE             MT       59821                   6004               Various                                                                                             $2.00
CURTIS SIMPLOT                    1921 ST LAWRENCE AVE                                                BELOIT            WI       53511                   6004               Various                                                                                            $46.00
CURTIS W. MORRISON                841 N 3RD ST APT 7                                                  COEUR D ALENE     ID       83814                   6002               Various                                                                                             $6.74
CURTIS WILLIAMS                   10293 N CEDAR CT                                                    HAYDEN            ID       83835                   6002               Various                                                                                             $4.99
CURTIS WOODS                      2019 PIERCE ST                                                      SIOUX CITY        IA       51104                   6004               Various                                                                                            $33.02
CURTISS FARM & AUTO               203 E 1ST AVENUE                                                    PLENTYWOOD        MT       59254                   6661               Various                                                                                           $645.00
CURTISS JUST                      111 COTEAU BLVD                                                     SISSETON          SD       57262                   6002               Various                                                                                             $2.85
CURTUS LANE                       9616 SOUTH 171ST AVENUE                                             OMAHA             NE       68136                   6004               Various                                                                                            $45.00
                                                                                                                                                                            12/18/2018 -
CUSTER GAS SERVICE - 7179         PO BOX 660288                                                       DALLAS            TX       75266-0288              23714              1/1/2019                                                                                        $1,246.33
CUSTER SCHOOL DISTRICT            VOLLEYBALL TEAM                147 N 5TH STREET                     CUSTER            SD       57730                   3900               Various                                                                                          $200.00
CUSTER WALLULATUM                 P.O. BOX 65                                                         BROWNSTOWN        WA       98920                   6004               Various                                                                                            $60.00
CUSTER/ CITY OF                   622 CROOK STREET                                                    CUSTER            SD       57730                   2173               Various                                                                                          $200.20
CUSTOM ACCESSORIES INC            5900 AMI DRIVE                                                      RICHMOND          IL       60071                   5534               Various                                                                                        $16,714.44
CUSTOM QUEST INC                  PO BOX 193                                                          SPRINGBORO        OH       45066                   3534               Various                                                                                        $30,402.84
CUSTOMER MINDED ASSOCIATES        PO BOX 66509                                                        ST PETERSBURG     FL       33736                   6723               Various                                                                                         $1,101.12
                                                                 34 WEST 33RD
                                                                 STREET 9TH FLOOR
CUTIE PIE BABY INCORPORATED       VICE PRESIDENT OF SALES        SOUTH                                NEW YORK          NY       10001                   7454               Various                                                                                       $115,337.48
CUTTIN EDGE LANDSCAPING           BLAKE R BECKER                 PO BOX 615                           MORRIS            IL       60450                   5605               Various                                                                                          $140.00
CUTTING EDGE LANDSCAPE COMPANY    5407 ALWORTH ST                                                     BOISE             ID       83714-0000              3053               Various                                                                                         $3,017.00
CX NORTHWEST INCORPORATED         PO BOX 522                                                          NAMPA             ID       83653-0522              1920               Various                                                                                         $1,598.14
CY CORLETT                        44 WILLOW TREE LANE                                                 DRUMMOND          MT       59832                   6004               Various                                                                                            $13.12
CY OLSON                          229 MILWAUKEE AVE E                                                 FORT ATKINSON     WI       53538                   6002               Various                                                                                             $8.05
CYBERSOURCE CORPORATION           PO BOX 742842                                                       LOS ANGELES       CA       90074-2842              5650               Various                                                                                       $138,057.17
CYBORSKI FAMILY                   N7655 LAKESHORE DR                                                  FOND DU LAC       WI       54937                   6002               Various                                                                                             $6.25
CYDNEY EATON                      500 W NEVADA AVE                                                    OSHKOSH           WI       54901                   6002               Various                                                                                             $4.99
CYLE JOHNSON                      418 W QUAIL RUN RD                                                  SPANISH FORK      UT       84660                   6002               Various                                                                                             $1.70
CYLE THOMAS                       713 BUCHANAN ST                                                     BELVIDERE         IL       61008                   6004               Various                                                                                             $3.90
CYNDA SHEPHERD                    5383 HIGHWAY 7                                                      LESTER PRAIRIE    MN       55354                   6002               Various                                                                                             $0.58




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             Creditor Name                Address1             Address2           Address3             City        State           Zip   Country     Number                Claim                                                                             Total Claim
CYNDRA ORCHARD                3717 E 19TH N                                                    IDAHO FALLS      ID         83401                 6004                Various                                                                                            $44.64
CYNDY NORRIS                  2867 W 7380TH                                                    WEST JORDAN      UT         84088                 6002                Various                                                                                             $6.05
CYNTHIA ANN MCCRORY           1231 ARTHUR AVE                                                  RACINE           WI         53405                 6002                Various                                                                                             $0.38
CYNTHIA AYERS                 2904 N JULIA ST                                                  COEUR D ALENE    ID         83815                 6002                Various                                                                                             $6.16
CYNTHIA BACKMAN               41271 496TH ST                                                   MANKATO          MN         56003                 6002                Various                                                                                             $8.68
CYNTHIA BAKER                 115 TAFT AVE                                                     POCATELLO        ID         83201                 6002                Various                                                                                             $8.79
CYNTHIA BECKER                1214 3RD AVE                                                     WORTHINGTON      MN         56187                 6004                Various                                                                                           $161.37
CYNTHIA BLAHA                 1180 BENJAMIN AVE                                                RUSH CITY        MN         55069                 6004                Various                                                                                             $3.00
CYNTHIA BRAMMEIER             1937 F ST. APT. 2                                                LINCOLN          NE         68510                 6004                Various                                                                                            $10.00
CYNTHIA BRANDON               300 S POTASH AVE APT 19                                          ALLIANCE         NE         69301                 6002                Various                                                                                             $3.33
CYNTHIA BROWN                 2723 Q ST APT 331                                                OMAHA            NE         68107                 6002                Various                                                                                             $0.38
CYNTHIA C RAMSEY              3993 HIGHWAY 24                                                  ALADDIN          WY         82710                 6002                Various                                                                                             $6.68
CYNTHIA CAMACHO               507 KENWOOD AVENUE                                               BELOIT           WI         53511                 6004                Various                                                                                            $12.50
CYNTHIA CARR                  921 E 9TH ST                                                     WINNER           SD         57580                 6002                Various                                                                                             $4.96
CYNTHIA CHELCUN               2065 WINDSOR CT APT 5                                            PLOVER           WI         54467                 6002                Various                                                                                             $0.36
CYNTHIA COOKSLEY              40461 GOOSE CREEK RD HC 37                                       VALENTINE        NE         69201                 6002                Various                                                                                             $3.61
CYNTHIA COY                   848 LUCILLE DR NE                                                KALKASKA         MI         49646                 6002                Various                                                                                             $6.19

CYNTHIA CROSS                 1001 BAY SHORE DRIVE APT 204                                     OSHKOSH          WI         54901                  6004               Various                                                                                               $10.99
CYNTHIA D KIRCHNER            3011 N MORRISON ST                                               APPLETON         WI         54911                  6002               Various                                                                                                $2.19
CYNTHIA DEWITT                201 MANITOWOC ST                                                 MENASHA          WI         54952                  6002               Various                                                                                                $2.82
CYNTHIA DIAZ                  309 N MAIN ST                                                    GREENWOOD        WI         54437                  6002               Various                                                                                                $1.84
CYNTHIA DIETZEL               3476 N HURON RD                                                  PINCONNING       MI         48650                  6002               Various                                                                                                $4.03
CYNTHIA DURAN                 551 E 4080TH S # 6H                                              SLC              UT         84107                  6002               Various                                                                                                $7.84
CYNTHIA ERICKSON              PO BOX 282                                                       NORTH BRANCH     MN         55056                  6002               Various                                                                                                $2.77
CYNTHIA G ELDRIDGE            206 N SILKWOOD DR                                                POST FALLS       ID         83854                  6002               Various                                                                                                $2.93
CYNTHIA GIBBS                 142 PEMBROKE RD SW                                               POPLAR GROVE     IL         61065                  6002               Various                                                                                                $3.37
CYNTHIA GIBSON                1116 MELROSE CT APT 5                                            NEENAH           WI         54956                  6002               Various                                                                                                $1.84
CYNTHIA GRAHAM                1019 8TH NE AVE                                                  AUSTIN           MN         55912                  6004               Various                                                                                                $6.00

CYNTHIA GRAVES                1767 EAST SOUTH WOODSIDE DR                                      SALT LAKE CITY   UT         84124                  6004               Various                                                                                                $1.80
CYNTHIA GROSS                 542 N 720 E                 AP T 318                             PROVO            UT         84606                  6004               Various                                                                                               $16.00
CYNTHIA HICKS                 PO BOX 1202                                                      PINEHURST        ID         83850                  6002               Various                                                                                                $9.86
CYNTHIA HOPE                  4225 N STARR RD                                                  OTIS ORCHARDS    WA         99027                  6004               Various                                                                                                $9.00
CYNTHIA HOSKINS               PO BOX 94                                                        NEWCASTLE        WY         82701                  6002               Various                                                                                                $0.27
CYNTHIA J. VANBEEK            502 N HURON ST                                                   DE PERE          WI         54115                  6002               Various                                                                                                $1.70
CYNTHIA JANSEN                1300 ORIOLE DR                                                   KAUKAUNA         WI         54130                  6002               Various                                                                                                $7.92
CYNTHIA JEAN HERB             N4841 REXFORD RD                                                 SHIOCTON         WI         54170                  6002               Various                                                                                                $9.81
CYNTHIA JORDAHL               2813 S PRARIE AVE                                                SIOUX FALLS      SD         57105                  6004               Various                                                                                               $10.00
CYNTHIA KALINSKI              269 WILSON STREET                                                WINONA           MN         55987                  6004               Various                                                                                               $34.98
CYNTHIA KEYES                 516 CHATHAM CRT                                                  NEENAH           WI         54956                  6002               Various                                                                                                $1.01
                              4625 MORMON COULEE RD TRLR
CYNTHIA KIND                  1                                                                LA CROSSE        WI         54601                  6002               Various                                                                                                $9.62
CYNTHIA KIRKPATRICK           65932 707TH RD                                                   RULO             NE         68431                  6002               Various                                                                                                $2.16
CYNTHIA KISER                 821 W BUFFALO ST                                                 RAWLINS          WY         82301                  6002               Various                                                                                                $6.33
CYNTHIA KLEINSCHMIDT          737 W FRANKLIN ST                                                APPLETON         WI         54914                  6002               Various                                                                                                $2.19
CYNTHIA KUBAN                 879 3RD ST                                                       MENASHA          WI         54952                  6002               Various                                                                                                $7.37
CYNTHIA L HEWITT              35709 ROSE LAKE DR                                               FRAZEE           MN         56544                  6002               Various                                                                                                $3.51
CYNTHIA LAMB                  2754 CANYON BLUFF RD                                             GREEN BAY        WI         54302                  6002               Various                                                                                                $3.18
CYNTHIA LIGHT                 18386 BUCKEYE AVE                                                NAMPA            ID         83687                  6004               Various                                                                                               $20.00
CYNTHIA LIGHTFORD             385 SHAMROCK                                                     DUBLIN           TX         76446                  6002               Various                                                                                                $7.10
CYNTHIA MARI POFF             1710 STATE ROAD 22 # AND                                         WAUPACA          WI         54981                  6002               Various                                                                                                $3.64
CYNTHIA MAY CAUTHERS          120 W MAIN ST                                                    LEWISTON         MN         55952                  6002               Various                                                                                                $1.94
CYNTHIA MCEACHERN             104 19TH ST SE              APT B                                ROCHESTER        MN         55904                  6004               Various                                                                                               $40.00




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CYNTHIA MCKILLIPS                1969 MASTERS ST                                                    BELOIT          WI           53511                 6002              Various                                                                                                $1.95

CYNTHIA MCKINNEY                 18 DUTCH ED LANEPO BOX # 112                                       LANDER          WY           82520                   6002            Various                                                                                                $8.79
CYNTHIA MEYER                    1810 E                                                             LINCOLN         NE           68508                   6004            Various                                                                                               $30.23
CYNTHIA MILZ                     B BADGER AVE # 13086                                               COLBY           WI           54421                   6002            Various                                                                                                $0.38
CYNTHIA NEUMANN                  710 14TH ST NE                                                     AUSTIN          MN           55912                   6004            Various                                                                                                $3.00
CYNTHIA NEWCOMB                  300 E. AMBER LAKE DR                                               FAIRMONT        MN           56031                   6004            Various                                                                                               $10.00
CYNTHIA OSMON                    19642 E 1530TH RD                                                  ALLENDALE       IL           62410                   6002            Various                                                                                                $3.48
CYNTHIA OWENS                    3419 CTY RD C                                                      FLORENCE        WI           54121                   6002            Various                                                                                                $8.36
CYNTHIA PARKER                   N12473 CTY RD AC                                                   ATHELSTANE      WI           54104                   6002            Various                                                                                                $3.21
CYNTHIA PATTEN                   45 LASALLE AVENUE                                                  SIOUX CITY      IA           51104                   6004            Various                                                                                               $23.00
CYNTHIA PETERSON                 154 25 1/2 STREET                                                  NEW AUBURN      WI           54757                   6004            Various                                                                                               $10.00
CYNTHIA PETRINI                  710 6TH AVE N                                                      GREAT FALLS     MT           59401                   6002            Various                                                                                                $6.85

CYNTHIA R. BURT                  800 WASHINGTON ST PO BOX # 5                                       CLEVELAND       MN           56017                   6002            Various                                                                                                $9.10
CYNTHIA RASMUSSEN                2919 WAUSAU RD                                                     RHINELANDER     WI           54501                   6002            Various                                                                                                $7.18
CYNTHIA RECANATI                 2343 N 12TH ST                                                     COEUR D ALENE   ID           83814                   6002            Various                                                                                                $9.95
CYNTHIA RICHARDSON               3810 37TH ST SO                                                    WIS RAPIDS      WI           54494                   6002            Various                                                                                                $4.11
CYNTHIA ROBINSON                 6203 S SHAGBARK AVE                                                BOISE           ID           83716                   6002            Various                                                                                                $6.03
CYNTHIA RUZICKA                  541 S 11TH AVE APT 1                                               BROKEN BOW      NE           68822                   6002            Various                                                                                                $1.53
CYNTHIA S SHERLOCK               7539 SPENCER ST                                                    OMAHA           NE           68134                   6002            Various                                                                                                $0.27
CYNTHIA SCHLOTE                  PO BOX 202                                                         PLAINVIEW       NE           68769                   6004            Various                                                                                               $20.00
CYNTHIA SCHULTZ                  289 CLEVELAND H                                                    ROTHBURY        MI           49452                   6002            Various                                                                                                $7.73
CYNTHIA SECAUR                   256 CRESTVIEW DR                                                   TWIN FALLS      ID           83301                   6004            Various                                                                                                $3.00
CYNTHIA SIEBERT                  1373 SWAN RD                                                       DE PERE         WI           54115                   6004            Various                                                                                               $44.00
CYNTHIA SIEVERT                  W2421 TWINPINE LANE                                                PORTERFIELD     WI           54159                   6004            Various                                                                                                $3.62
CYNTHIA STRASSBURG               904 EISENHOWER COURT                                               HOWARDS GROVE   WI           53083                   6004            Various                                                                                                $1.42
CYNTHIA WESTFALL                 2916 SAMPSON STREET                                                SOUTH BEND      IN           46614                   6002            Various                                                                                                $7.29

CYR/ ANDREW                      STORE 2-559                    SHOPKO EMPLOYEE 429 MICHIGAN AVE    OROFINO         ID           83544                   7493            Various                                                                                                $3.22
CYRIL C HOLTHAUS                 1733 F RD                                                          SENECA          KS           66538                   6002            Various                                                                                                $4.44
CYRIL WIMBERGER                  N2808 BUCKHORN DR                                                  APPLETON        WI           54913                   6002            Various                                                                                                $3.51
CYRUS MASKE                      675 SOUTHTOWNE DR                                                  BELVIDERE       IL           61008                   6004            Various                                                                                                $3.90

CZECZOH FAMILY                   CHECK IF MAIL TO SCHOOL ADDR                                       LA CROSSE       WI           54601                   6002            Various                                                                                             $6.90
D & D LANDSCAPING & NURSERY      3875 PACKERLAND DRIVE                                              DE PERE         WI           54115                   5522            Various                                                                                        $14,670.00
                                                                922 W GROVE
D & D MAINTENANCE                DAVID KORTH                    STREET                              APPLETON        WI           54915                   4938            Various                                                                                            $89.25
D & D MAINTENANCE LLC            505 VALLEY RD                                                      MENASHA         WI           54952                   5647            Various                                                                                          $246.75
D & E LAWN SERVICE LLC           13288 384TH AVE                                                    ABERDEEN        SD           57401                   9934            Various                                                                                          $422.81
D & L DEVELOPMENT COMPANY LLC    ATTN DAVE BAUMERT              PO BOX 127                          WEST POINT      NE           68788                   2588            Various                                                                                         $7,250.92
D ANNA DACAMARA                  173 E MAIN ST                                                      LANDER E        WY           82180                   6002            Various                                                                                             $4.79
D JEANETTE KRAUSE                926 LINCOLN AVE                                                    BELOIT          WI           53511                   6004            Various                                                                                          $110.00
                                                                201 17TH STREET
D S BEVERAGES INCORPORATED       VICE PRESIDENT OF SALES        NO                                  MOORHEAD        MN           56560                   3178            Various                                                                                            $42.70
DA LONICA GRIGGS                 1308 N 48TH AVE APT 107                                            OMAHA           NE           68107                   6004            Various                                                                                             $4.00
DA MILLER                        N7478 FAIRGROUND AVE                                               GREENWOOD       WI           54437                   6002            Various                                                                                             $6.16
DAARON BAROS                     77 31ST ST                                                         WHEATLAND       WY           82201                   6002            Various                                                                                             $5.75
DAC VISION                       PO BOX 840406                                                      DALLAS          TX           75284-0406              6163            Various                                                                                        $20,038.06

DAEVON TAVARRES                  2727 PARK PLACE LANE APT 303                                       JANESVILLE      WI           53545                   6004            Various                                                                                                $2.00
DAGMAR SARNO                     14 MONUMENT RD                                                     BUFFALO         WY           82834                   6002            Various                                                                                                $1.92
DAHABO ADAM                      1060 7TH ST SE                 APT 105                             SAINT CLOUD     MN           56304                   6004            Various                                                                                                $3.00
DAHIRO UTRO                      2429 15TH ST. N.                                                   SAINT CLOUD     MN           56303                   6004            Various                                                                                                $3.00




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                                                                                Schedule E/F: Part 2 - Creditors With Nonpriority Unsecured Claims




                                                                                                                                                                                                                                         Claim subject to offset?
                                                                                                                                                                                                               Unliquidated
                                                                                                                                                                                                  Contingent


                                                                                                                                                                                                                              Disputed
                                                                                                                                                         Last 4 Digits of     Date Debt was
                                                                                                                                                            Account         Incurred, Basis for
             Creditor Name                   Address1                 Address2          Address3            City          State           Zip   Country     Number                Claim                                                                             Total Claim
DAHLHEIMER DISTRIBUTING           VICE PRESIDENT OF SALES        PO BOX 336                          MONTICELLO        MN         55362                 0243                Various                                                                                               $48.80
DAHLIA GOIN                       309 W WILLIOW ST                                                   CHIPPEWA FALLS    WI         54729                 6004                Various                                                                                                $2.00
DAHLTON YOUNG                     655 MAIN ST                                                        RIRIE             ID         83443                 6002                Various                                                                                                $6.44
DAISY ABAD CASTILLA               346 KENT LANE                  101                                 MADISON           WI         53713                 6004                Various                                                                                                $1.00
DAISY BARRERA                     415 MOORLAND ROAD              APT 202                             MADISON           WI         53713                 6004                Various                                                                                               $25.00
DAISY GARCIA                      507 4TH AVE NW                                                     PERHAM            MN         56573                 6002                Various                                                                                                $9.37
DAISY MOSQUEDA                    810 W 10TH #2                                                      GRAND ISLAND      NE         68801                 6004                Various                                                                                               $10.00
DAISY RIVERA                      153 STATE RD 69                                                    NEW GLARUS        WI         53574                 6004                Various                                                                                                $4.00

DAISY(FELINE JENSEN               2919 NORTHERN SLOPES LN NE                                         ROCHESTER         MN         55906                  6002               Various                                                                                             $5.92
DAJANAE JONES                     314 1/2 4TH ST                                                     BEAVER DAM        WI         53916                  6004               Various                                                                                             $3.00
DAKARAI CLAY                      1 SAGE CIR                                                         MADISON           WI         53704                  6004               Various                                                                                             $3.00
DAKAYA LEATHERWOOD                242 N LOCUST ST                                                    GREEN BAY         WI         54303                  6004               Various                                                                                             $1.00
DAKE GREEN                        1055 JELLISON RD. B 4                                              COLUMBIA FALLS    MT         59912                  6004               Various                                                                                            $40.00
DAKODA COLE                       66955 LANCE RD                                                     BEND              OR         97701                  6004               Various                                                                                             $7.02
DAKOTA BRASS                      41117 90TH AVE                                                     THOMPSON          IA         50478                  6004               Various                                                                                             $3.53
DAKOTA BUTT                       3756 N 41ST ST                                                     OMAHA             NE         68111                  6004               Various                                                                                             $8.00
DAKOTA CONTAINERS LLC             PO BOX 56                                                          WEBSTER           SD         57274                  1574               Various                                                                                           $158.69
DAKOTA CURTIS                     20409 MIDWAY AVE                                                   GALLATIN          MO         64640                  6002               Various                                                                                             $3.51
DAKOTA DRAHEIM                    1680 200TH ST                                                      NEW HAMPTON       IA         50659                  6002               Various                                                                                             $0.49
DAKOTA FLUID POWER                3409 N. LEWIS AVENUE                                               SIOUX FALLS       SD         57104                                     Various                                                                                           $332.81
DAKOTA HAJENGA                    1912 W. RUSSET COURT           APT 2                               APPLETON          WI         54914                   6004              Various                                                                                             $3.00
DAKOTA HEINCIG                    25024 ROUT 173                                                     HARVARD           IL         60033                   6004              Various                                                                                            $10.00
DAKOTA JOHNSON                    10264 SOUTH 2165 EAST                                              SANDY             UT         84092                   6004              Various                                                                                            $24.00
DAKOTA JONES                      1515 CHASE ST                                                      FALLS CITY        NE         68355                   6002              Various                                                                                             $2.90
DAKOTA LONG                       1700 8TH AVE E                                                     KALISPELL         MT         59901                   6002              Various                                                                                             $0.77
DAKOTA MARINO                     1415 KABY AVE                                                      CRIVITZ           WI         54114                   6002              Various                                                                                             $4.96
DAKOTA OLINSKE                    627 W. NANCY AVE                                                   BRUCE             WI         54819                   6004              Various                                                                                             $5.00
DAKOTA OSMON                      1040 Y STREET                                                      LINCOLN           NE         68505                   6004              Various                                                                                             $2.00
DAKOTA SHAW                       HC 7 BOX 316                                                       DONIPHAN          MO         63935                   6002              Various                                                                                             $1.95
DAKOTA STRIETER                   N7439 MANSKE RD                                                    LAKE MILLS        WI         53551                   6004              Various                                                                                             $2.00
DAKOTA TEPIEW                     1514 S 9TH STREET                                                  MANITOWOC         WI         54220                   6004              Various                                                                                             $4.00

DAKOTA UPREIT LIMITED PARTNERS    3003 32ND AVENUE S SUITE 250                                       FARGO             ND         58103                  8799               Various                                                                                        $10,665.74
DAKOTA WELTER                     1226 S PERKINS ST                                                  APPLETON          WI         54914                  6004               Various                                                                                             $3.00
DAKOTA WERKMEISTER                4401 S. 27TH                                                       LINCOLN           NE         68502                  6004               Various                                                                                            $28.00
DAKOTA WRIGHT                     955 N WALTS                                                        SIOUX FALLS       SD         57104                  6004               Various                                                                                             $8.00
DALE A ELLEGAARD                  3160 AMES AVE                                                      TITONKA           IA         50480                  6002               Various                                                                                             $5.59
DALE A GRUNEWALD                  41621 COUNTY HIGHWAY 41                                            DENT              MN         56528                  6002               Various                                                                                             $5.01
DALE BALDWIN                      E1281 HENDERSON RD                                                 SCANDINAVIA       WI         54977                  6002               Various                                                                                             $1.04
DALE BARTELS                      BOX 6                                                              CHESTER           SD         57016                  6002               Various                                                                                             $2.33
DALE BREDEMANN                    8906 ST HIGHWAY # 73-80                                            PITTSVILLE        WI         54466                  6002               Various                                                                                             $8.96
DALE BURNINGHAM                   4172 W BENVIEW DR                                                  WEST VALLEY CIT   UT         84120                  6002               Various                                                                                             $2.71
DALE COX                          2530 DEER CRK RD                                                   OROFINO           ID         83544                  6002               Various                                                                                             $1.12
DALE DAFOE                        205 1/2 1ST ST                 APT. 3                              JACKSON           MN         56143                  6004               Various                                                                                             $3.00
DALE DAVIS                        551 18TH AVE S                                                     WISCONSIN RAPID   WI         54495                  6002               Various                                                                                             $3.23
DALE DRNJEVIC                     PO BOX 435                                                         SALMON            ID         83467                  6002               Various                                                                                             $6.74
DALE ENG                          511 7TH ST                                                         HARLAN            IA         51537                  6002               Various                                                                                             $9.56
DALE ENGELHART                    2813 BADGER LANE                                                   MADISON           WI         53713                  6004               Various                                                                                             $5.40
DALE ERDMANN                      1136 S 36TH ST                                                     MANITOWOC         WI         54220                  6002               Various                                                                                             $6.63
DALE F. MOUL                      112 LAKEVIEW CIR APT 5                                             GRAND ISLAND      NE         68803                  6002               Various                                                                                             $0.93
DALE FISCHER                      600 WOLLAN ST.                 APT 208                             STARBUCK          MN         56381                  6004               Various                                                                                             $6.67
DALE G. SPANEL                    301 N CHALMERS ST                                                  ANSELMO           NE         68813                  6002               Various                                                                                             $6.77
DALE HALEY                        580 HIGHWAY 31                                                     MANDERSON         WY         82432                  6002               Various                                                                                             $8.16




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                                                                    Schedule E/F: Part 2 - Creditors With Nonpriority Unsecured Claims




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                                                                                                                                                                                                   Unliquidated
                                                                                                                                                                                      Contingent


                                                                                                                                                                                                                  Disputed
                                                                                                                                             Last 4 Digits of     Date Debt was
                                                                                                                                                Account         Incurred, Basis for
             Creditor Name                Address1          Address2        Address3             City         State           Zip   Country     Number                Claim                                                                             Total Claim
DALE HALL                     PO BOX 785                                                 GLASGOW           MT         59230                 6002                Various                                                                                             $9.97
DALE HARRIS                   N15911 LAFAVE LANE                                         WILSON            MI         49896                 6004                Various                                                                                           $120.00
DALE HUMBERT                  4870 TIMBERHILLS DRIVE                                     HARSHAW           WI         54529                 6004                Various                                                                                            $28.23
DALE HUNTINGTON               3412 MORMON COULEE RD                                      LA CROSSE         WI         54601                 6002                Various                                                                                             $8.26
DALE JOHNS                    28531 MAYFLOWER RD                                         CALUMET           MI         49913                 6002                Various                                                                                             $6.96
DALE K DOWNS                  1502 E DAVIS AVE                                           COEUR D ALENE     ID         83815                 6002                Various                                                                                             $6.14
DALE K JONES                  116 W 3RD ST APT 7                                         WINNER            SD         57580                 6002                Various                                                                                             $7.07
DALE KOHL                     1040 E. CAPITOL DR.                                        APPLETON          WI         54911                 6004                Various                                                                                            $10.00
DALE L SHATTO                 2711 YORK AVE                                              ORIENT            IA         50858                 6002                Various                                                                                             $4.49

DALE LANDE                    HOMELESS LIVING IN A CAMPER                                WINONA            MN         55987                  6004               Various                                                                                                $3.00
DALE LANGFOSS                 6287 FIVE MILE POINT RD                                    ALLOUEZ           MI         49805                  6002               Various                                                                                                $9.64
DALE LIVINGSTON               4930 CHURCH RD                                             NEW FRANKEN       WI         54229                  6002               Various                                                                                                $7.21
DALE MILLER                   330 W 10TH ST #604                                         MOUNT CARMEL      IL         62863                  6002               Various                                                                                                $2.93
DALE MUELLER                  N1071 HICKORY DR                                           NESHKORO          WI         54960                  6002               Various                                                                                                $5.10
DALE NEES                     6256 BALD EAGLE RD                                         MT PLEASANT       WI         53406                  6004               Various                                                                                               $16.00
DALE PETERS                   1400 ROAD WEST # B                                         OGALLALA          NE         69153                  6002               Various                                                                                                $2.79
DALE PRESTON                  43967 200TH AVE                                            MCGREGOR          MN         55760                  6002               Various                                                                                                $9.10

DALE RISSE                    1401 GARAY LN                                              PORT WASHINGTON   WI         53074                  6002               Various                                                                                                $4.11
DALE ROEN                     181 EVERETTE ST                                            FOND DU LAC       WI         54935                  6004               Various                                                                                               $30.00
DALE ROTHAMER                 M101 MEADOW AVE                                            MARSHFIELD        WI         54449                  6002               Various                                                                                                $4.41
DALE RUPPELT                  2804 11TH STREET                                           EAU CLAIRE        WI         54703                  6002               Various                                                                                                $4.29
DALE SANDLAND                 2119 W MEAD ST                                             EAU CLAIRE        WI         54703                  6002               Various                                                                                                $0.55
DALE SATRAN                   2832 3RD ST NW                                             SIDNEY            MT         59270                  6002               Various                                                                                                $3.70
DALE SCHUETTE                 367 HOMESTEAD TRL                                          GRAFTON           WI         53024                  6002               Various                                                                                                $4.36
DALE SLETVOLD                 172 S CEDAR DR                                             KALISPELL         MT         59901                  6002               Various                                                                                                $3.07
DALE SMITH                    529 BIG HORN ST                                            THERMOPOLIS       WY         82443                  6002               Various                                                                                                $7.18
DALE SPEISER                  1230 16TH ST SW                                            SIDNEY            MT         59270                  6002               Various                                                                                                $5.29
DALE TIMM                     5313 N FRENCH RD                                           APPLETON          WI         54913                  6002               Various                                                                                                $7.01
DALE TITUS                    201 S RIVER ST APT 510                                     HOT SPRINGS       SD         57747                  6002               Various                                                                                                $2.99
DALE TRIELOFF                 1437 ENDL BLVD                                             FORT ATKINSON     WI         53538                  6002               Various                                                                                                $1.48
DALE WALDHAUSER               W3056 26TH RD                                              LOYAL             WI         54446                  6002               Various                                                                                                $2.55
DALE WELLMAN                  3596 K RD                                                  BARK RIVER        MI         49807                  6002               Various                                                                                                $6.05
DALE WORKMAN                  514 S PURDY AVE                                            LYONS             KS         67554                  6002               Various                                                                                                $4.58
DALERI MOLLER                 717 W 3RD ST                                               VALENTINE         NE         69201                  6002               Various                                                                                                $1.18
DALIA LOPEZ                   990 N GRANGER ROAD                                         GRANGER           WA         98932                  6004               Various                                                                                               $79.99
DALIYAH ANDERSON              314 BONNIE RD                                              COTTAGE GROVE     WI         53527                  6004               Various                                                                                                $6.00
DALLAS BOCHEK                 18272 430 AVE                                              VIENNA            SD         57271                  6004               Various                                                                                               $30.95
DALLAS BREWER                 11605 STUMP RD                                             YAKIMA            WA         98908                  6002               Various                                                                                                $1.66
DALLAS GREEN                  2250 W3875 S                                               ROY               UT         84067                  6004               Various                                                                                               $14.00
DALLAS GUNTER                 15702 VENUS CT                                             CALDWELL          ID         83607                  6004               Various                                                                                               $20.00
DALLAS LOUDENBURG             22691 435TH AVE                                            HOWARD            SD         57349                  6002               Various                                                                                                $0.99
DALLAS MOE                    W4334 EAGLE RIDGE LANE                                     MERRILL           WI         54452                  6004               Various                                                                                               $25.00
DALLAS PETERSON               1310 GOODRICH DR                                           LANDER            WY         82520                  6002               Various                                                                                                $8.11
DALLAS ROLAND                 8600 CORPORATE DRIVE                                       RACINE            WI         53406                  6002               Various                                                                                                $2.04
DALLAS SPLINTER               123 ANY ST                                                 ADAMS             WI         53910                  6002               Various                                                                                                $0.49
DALLAS STUDLEY                PO BOX 201                                                 WOLBACH           NE         68882                  6004               Various                                                                                               $15.00
DALLAS TEICHMEIER             860 S 3RD AVE                                              BROKEN BOW        NE         68822                  6002               Various                                                                                                $6.33
DALLAS WAAGMEESTER            8001 W. STONEYCREEK                                        SIOUX FALLS       SD         57106                  6004               Various                                                                                               $24.94
DALLAS YOCUM                  205 N FRANKLIN AVE                                         POLO              IL         61064                  6002               Various                                                                                                $5.95
DALLON VANLEUVEN              2416 N 6TH ST                                              COEUR D ALENE     ID         83814                  6002               Various                                                                                                $2.85
DALNA KEINZ                   16837 SKANEE RD                                            LANSE             MI         49946                  6002               Various                                                                                                $0.93
DALTON FLESSERT               1917 S 13TH ST                                             SHEBOYGAN         WI         53081                  6004               Various                                                                                                $3.00




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                                                                                                                                                                                       Contingent


                                                                                                                                                                                                                   Disputed
                                                                                                                                              Last 4 Digits of     Date Debt was
                                                                                                                                                 Account         Incurred, Basis for
             Creditor Name                Address1           Address2         Address3             City        State           Zip   Country     Number                Claim                                                                             Total Claim
DALTON HIGGINS                1119 4TH ST                                                  CHETEK           WI         54728                 6004                Various                                                                                                $3.00
DALTON JOHNSON                9106 E OLIVE RD                                              BLUE SPRINGS     NE         68318                 6002                Various                                                                                                $0.93
DALTON L DYNE                 21 HERBERT ST                                                BEATRICE         NE         68310                 6002                Various                                                                                                $5.01
DALTON MOODY                  392 N WATER                                                  IDAHO FALLS      ID         83401                 6004                Various                                                                                               $26.00
DALTON REANS                  206 NORTH WAPSIE ST.                                         NEW HAMPTON      IA         50659                 6004                Various                                                                                               $30.00
DALTON REINDL                 468 OVERLAND TRL                                             GRAFTON          WI         53024                 6002                Various                                                                                                $2.22
DALTON ROY MILLER             W3610 COUNTY ROAD N                                          OWEN             WI         54460                 6002                Various                                                                                                $8.90
DALTON RYKAL                  PO BOX 992                                                   BOULDER          MT         59632                 6004                Various                                                                                                $3.00
DALTON VOEPEL                 2928 CURRY PARKWAY                                           MADISON          WI         53713                 6004                Various                                                                                                $5.70
DAMAION FALKNER               4116 WIRT ST                                                 OMAHA            NE         68111                 6004                Various                                                                                                $9.98
DAMEON DWIGHT CROSSFIELD      37 9TH ST NW                                                 BYRON            MN         55920                 6004                Various                                                                                                $3.00
DAMEON SWEAT                  RR 3 BOX 106                                                 ALBANY           MO         64402                 6002                Various                                                                                                $8.27
DAMIAN KARLA                  PO BOX 251                                                   PERRY            IA         50220                 6002                Various                                                                                                $0.99
DAMIAN KREGER                 2708 AS. TELULAHAVE                                          APPLETON         WI         54915                 6004                Various                                                                                                $1.00

DAMIAN PAQUE                  N3935 WASHINGTON AVE APT 2                                   KAUKAUNA         WI         54130                  6004               Various                                                                                               $39.71
DAMIAN SCHAFFER               6017 W STATE ST            TRL #20                           BOISE            ID         83703                  6004               Various                                                                                                $3.65
DAMIEN BRITTEN                25024 OAK ST                                                 CALUMET          MI         49913                  6002               Various                                                                                                $5.86
DAMIEN E WALDRON              N3395 490TH ST                                               ELLSWORTH        WI         54011                  6002               Various                                                                                                $4.25
                                                         # 8 C/O DAWN
DAMIEN MARIN                  3222 ELDORADO BLVD         MARIN                             EAU CLAIRE       WI         54701                  6004               Various                                                                                             $3.00
DAMIEN YANDA                  1713 12TH STREET                                             TWO RIVERS       WI         54241                  6004               Various                                                                                             $6.00
DAMION ROEDER                 2604 GRANGEMONT RD                                           OROFINO          ID         83544                  6002               Various                                                                                             $4.99
DAMON BLIESE                  4103 EVERGREEN RD                                            WAUSAU           WI         54403                  6002               Various                                                                                             $2.38
DAMON COOPER                  412 N 6TH ST                                                 THERMOPOLIS      WY         82443                  6002               Various                                                                                             $5.56
DAMON CROCKETT                1510 N CELIA WAY                                             LAYTON           UT         84041                  6002               Various                                                                                             $8.44
DAMON DYRLAND                 2525 E 53RD AVE APT D 102                                    SPOKANE          WA         99223                  6004               Various                                                                                            $60.00
DAMON JEFFERSON               723 MAIN ST.               APT. 4                            NEENAH           WI         54956                  6004               Various                                                                                             $2.00
DAMON ROBERTS                 1730 ACORN CT                                                MENASHA          WI         54952                  6002               Various                                                                                             $8.85
DAMON WASHBURN                316 2ND AVE NW                                               AITKIN           MN         56431                  6002               Various                                                                                             $7.67
DAN ANDRE                     1021 15TH STREET                                             MENOMINEE        MI         49858                  6004               Various                                                                                            $20.00
DAN ATCHLEY                   PO BOX 641                                                   POMEROY          WA         99347                  6004               Various                                                                                             $5.00
DAN BECKER                    1725 24TH AVE                                                GRANADA          MN         56039                  6002               Various                                                                                             $3.84
DAN BEYER                     10856 285TH ST                                               MASON CITY       IA         50401                  6004               Various                                                                                            $20.00
DAN BUROW                     P.O. BOX 293                                                 CAPRON           IL         61012                  6004               Various                                                                                             $9.99
DAN CLITES                    1340 BUSH AVE                                                GARNER           IA         50438                  6004               Various                                                                                            $25.00
DAN CLOWES                    177 KIMBALL AVE APT B                                        BOZEMAN          MT         59718                  6002               Various                                                                                             $8.25
DAN COVOLO                    BOX 789                                                      LYMAN            WY         82937                  6002               Various                                                                                             $7.51
DAN DAUL                      1019 CORAL ST              #4                                DE PERE          WI         54115                  6004               Various                                                                                            $37.00
DAN DEE                       106 HARBOR DRIVE                                             JERSEY CITY      NJ         07305                  2411               Various                                                                                       $376,089.24
DAN DELKA                     1046 STATE CIR                                               SALT LAKE CITY   UT         84104                  6002               Various                                                                                             $9.56
DAN DOWDY                     PO BOX 533                                                   UPTON            WY         82730                  6002               Various                                                                                             $6.52
DAN ECKERT                    N6038 CTY D                                                  KEWAUNEE         WI         54216                  6002               Various                                                                                             $2.90
DAN FINE                      NEED ADDRESS                                                 OROFINO          ID         83544                  6002               Various                                                                                             $3.29
DAN G RICHARD                 215 S STATE AVE                                              MARSHFIELD       WI         54449                  6002               Various                                                                                            $10.00
DAN GUNDLACH                  4364 MARIAH DR SO                                            LA CROSSE        WI         54601                  6002               Various                                                                                             $3.75
DAN HENDRICKS                 1364 MAYER ST                                                MENASHA          WI         54952                  6002               Various                                                                                             $7.56
DAN HOKANSON                  256 BURTON LN                                                AFTON            WY         83110                  6002               Various                                                                                             $7.67
DAN JACOBSON                  PO BOX 481                                                   LAKE GENEVA      WI         53147                  6004               Various                                                                                            $10.00
DAN K LEIGH                   2745 1250TH E                                                JEROME           ID         83338                  6002               Various                                                                                             $4.63
DAN KRAUSE                    W5892 LINTNER RD                                             PARDEEVILLE      WI         53954                  6004               Various                                                                                            $16.80
DAN KREMER                    2007 SO 163 CR                                               OMAHA            NE         68130                  6004               Various                                                                                            $10.00
DAN LOFGREN                   466 S MONITOR ST                                             WEST POINT       NE         68788                  6002               Various                                                                                             $6.22
DAN M PAYSTRUP                719 W 60TH N                                                 SPANISH FORK     UT         84660                  6002               Various                                                                                             $6.49




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DAN MCGILL                    843 PINEWOOD ST                                                    POCATELLO       ID         83202                 6002                Various                                                                                                $6.90
DAN MEYERS                    1965 BROADMOOR ROAD                                                ROCKTON         IL         61072                 6004                Various                                                                                               $55.00
DAN MILLWARD                  417 MOBLEY DR                                                      BOISE           ID         83712                 6004                Various                                                                                               $25.00
DAN O'NEILL                   1207 N LAMBERT LN                                                  COEUR D ALENE   ID         83814                 6002                Various                                                                                                $7.53
DAN PASTORI                   1009 NORTH JACKSON ST          APT. 2206B                          MILWAUKEE       WI         53202                 6004                Various                                                                                                $5.00
DAN PECAUT                    1 N HIDDEN ACRES DR                                                SIOUX CITY      IA         51108                 6002                Various                                                                                                $7.21
DAN RUDOLF                    3005 VALLEY AVE                                                    WEST BEND       WI         53095                 6002                Various                                                                                                $3.95
DAN SCOTT                     95 S 100TH E                                                       FIELDING        UT         84311                 6002                Various                                                                                                $0.41
DAN SMITH                     PO BOX 53                                                          PORT WING       WI         54865                 6004                Various                                                                                                $9.64
DAN STOCKDALE                 PO BOX 221                                                         HARRIMAN        TN         37748                 6002                Various                                                                                                $2.00
DAN T LINDEN                  30150 ZODIACK ST NE                                                NORTH BRANCH    MN         55056                 6002                Various                                                                                                $3.29
DAN TOMKINSON                 335 N 650TH E                                                      OREM            UT         84058                 6002                Various                                                                                                $3.48
                              155 COUNTY WAY # 152 PMB
DAN W. JENSEN                 SMO                                                                AFTON           WY         83110                  6002               Various                                                                                                $9.97
DAN WEIGEL                    3026 HIGHWAY 25                                                    ORIENT          IA         50858                  6002               Various                                                                                                $0.77
DAN WILLIAMS                  550 CHEERY LYNN RD                                                 KALISPELL       MT         59901                  6002               Various                                                                                                $6.77
DAN ZIPPERIAN                 124 N MAPLE                                                        TOWNSEND        MT         59644                  6004               Various                                                                                               $10.00
DANA BARNICOAT                3 CENTURY CT                                                       HELENA          MT         59601                  6004               Various                                                                                               $48.00
DANA BLOEDORN                 1180 W EVERGREEN DR APT 4                                          APPLETON        WI         54913                  6002               Various                                                                                                $0.38
DANA C BISTRUP                202 N 4TH ST                                                       SAINT PETER     MN         56082                  6002               Various                                                                                                $8.22
DANA CHENEY                   PO BOX 34                                                          AUGUSTA         IL         62311                  6002               Various                                                                                                $3.61
DANA DAMERON                  565 N DIVISION ST                                                  POWELL          WY         82435                  6002               Various                                                                                                $0.74
DANA DIETRICH                 15212 CARTER LP SE                                                 YELM            WA         98597                  6004               Various                                                                                               $35.02
DANA DOBBS                    RR 9 BOX 876                                                       GATEWOOD        MO         63942                  6002               Various                                                                                                $0.99
DANA DUPREY                   N4511 12 CORNERS RD                                                BLACK CREEK     WI         54106                  6004               Various                                                                                               $40.02
DANA ECKER                    13 GRAND AVE                                                       NEILLSVILLE     WI         54456                  6004               Various                                                                                                $1.00
DANA FIECK                    24659 710TH AVE                                                    GRAND MEADOW    MN         55936                  6004               Various                                                                                                $6.00
DANA FRANZEN                  619 R ST                                                           LOUP CITY       NE         68853                  6002               Various                                                                                                $1.21
DANA GARLAND                  2456 DOOR CREEK RD                                                 STOUGHTON       WI         53589                  6004               Various                                                                                                $4.00
DANA GETTIS                   145 OHIO STREET                                                    RACINE          WI         53405                  6002               Various                                                                                                $4.49
DANA GROSSMAN                 203 FOX TRAIL                                                      FALL RIVER      WI         53932                  6004               Various                                                                                                $7.00
DANA HANSEN                   W252N9153 TOMAHAWK CT                                              SUSSEX          IL         53089                  6002               Various                                                                                                $6.08
DANA HARRIS                   1779 TARGHEE DR                                                    TWIN FALLS      ID         83301                  6002               Various                                                                                                $0.74
DANA HASUSE                   RR 3 BOX 207A                                                      BLACKFOOT       ID         83221                  6002               Various                                                                                                $0.82
DANA HERMAN                   3104 JELINEK AVE APT 2                                             SCHOFIELD       WI         54476                  6002               Various                                                                                                $7.29

DANA HONICK                   1723 HARRISON STREET APT 125                                       NEENAH          WI         54956                  6004               Various                                                                                                $3.00
DANA J ORDONEZ                8252 S 48TH ST APT 1                                               OMAHA           NE         68157                  6002               Various                                                                                                $6.90
DANA L HIERONIMUS             517 W HALE ST                                                      NEW HAMPTON     IA         50659                  6002               Various                                                                                                $3.62
DANA LANGHOFF                 1226 BRUSSELS RD                                                   BRUSSELS        WI         54204                  6002               Various                                                                                                $8.60
DANA MARSHALL                 505 W 500TH S                                                      BRIGHAM CITY    UT         84302                  6002               Various                                                                                                $5.62
DANA MATTINSON                390 E 400TH N                                                      SPANISH FORK    UT         84660                  6002               Various                                                                                               $10.00
DANA MC KILLIPS               2381 WEST CREEDY RD                                                BELOIT          WI         53511                  6004               Various                                                                                                $1.00

DANA MEACHAM                  1101 W VETERANS PKWY APT 4                                         MARSHFIELD      WI         54449                  6002               Various                                                                                                $8.79
DANA MEIER                    617 JEFFERSON STREET           APT2                                WAUSAU          WI         54403                  6004               Various                                                                                                $4.00
DANA MILLER                   9865 ILLINOIS RTE 84 SOUTH                                         HANOVER         IL         61041                  6004               Various                                                                                               $30.34
DANA NORENBERG                W9526 ZIMMERMAN DR                                                 BEAVER DAM      WI         53916                  6002               Various                                                                                                $4.00
DANA PECORA                   2233 MOUNT AVE #B                                                  MISSOULA        MT         59801                  6004               Various                                                                                               $63.00
DANA SEAQUIST                 1844 JOHNSON ST.                                                   BELOIT          WI         53511                  6004               Various                                                                                                $2.00
DANA SEERING                  983 SHAWANO AVE APT 4                                              GREEN BAY       WI         54303                  6002               Various                                                                                                $0.58
DANA SKIME                    46615 CTY RD # 18                                                  ROSEAU          MN         56751                  6002               Various                                                                                                $6.60
DANA VANDEN BOOGART           W3021 EMONS ROAD                                                   APPLETON        WI         54915                  6004               Various                                                                                               $10.00
DANA WAGNER                   106 KNOLL CREST DRIVE                                              NORTH MANKATO   MN         56003                  6004               Various                                                                                                $3.00




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                                                                                                                                                                                                                                Claim subject to offset?
                                                                                                                                                                                                      Unliquidated
                                                                                                                                                                                         Contingent


                                                                                                                                                                                                                     Disputed
                                                                                                                                                Last 4 Digits of     Date Debt was
                                                                                                                                                   Account         Incurred, Basis for
              Creditor Name                Address1             Address2         Address3              City       State         Zip    Country     Number                Claim                                                                             Total Claim
DANA WALKER                    #6 FOX DR                                                      DONIPHAN         MO         63935                6002                Various                                                                                             $1.32
DANA WEISNICHT                 N 9504 VAN DYNE RD                                             VAN DYNE         WI         54979                6002                Various                                                                                             $0.96
DANE CARLSON                   6936 PUGET BEACH RD NE                                         OLYMPIA          WA         98516                6004                Various                                                                                            $25.02
DANE JENSEN                    1414 S WILLARD AVE                                             JANESVILLE       WI         53546                6004                Various                                                                                             $1.00
DANE KARNITZ JR                2086 MINNIE LANE                                               GREEN BAY        WI         54313                6004                Various                                                                                             $5.00
DANE LARSON                    2816 LANE # 33 PMB AND 1/2                                     GREYBULL         WY         82426                6002                Various                                                                                             $7.07
DANECRAFT                      VICE PRESIDENT OF SALES      1 BAKER STREET                    PROVIDENCE       RI         02905-4417           3867                Various                                                                                       $120,535.33
DANEE AVILA                    2909 GARFIELD                                                  LINCOLN          NE         68502                6004                Various                                                                                            $10.00
DANELL WHEAT                   7709 WHITNEY AVE NE                                            OLYMPIA          WA         98516                6004                Various                                                                                            $70.00
DANELLE LIND                   6433 BITTERCREEK RD                                            FAIRVIEW         WY         83119                6002                Various                                                                                             $4.22
DANETTE GORDON                 469 E 800TH N APT F4                                           OGDEN            UT         84404                6002                Various                                                                                             $0.82
DANETTE L LEIBRAND             301 W SECOND AVE                                               SALMON           ID         83467                6002                Various                                                                                             $8.11
DANG NGUYEN                    7228 S 81ST ST                                                 LA VISTA         NE         68128                6004                Various                                                                                            $17.00
DANI MCLAUGHLIN                524 FIRST IDAHO NORTH                                          HAGERMAN         ID         83332                6004                Various                                                                                            $20.00
DANI OLSON                     15845 428TH AVE                                                BRADLEY          SD         57217                6002                Various                                                                                             $4.22
DANI REPS                      59319 307TH ST                                                 WALTHAM          MN         55982                6004                Various                                                                                             $3.00
DANI SCHOBER                   943 MC KINLEY AVE                                              BELOIT           WI         53511                6004                Various                                                                                             $9.99
DANIAL A SCHULTE               45783 CAMBRIDGE DR                                             HARRIS           MN         55032                6002                Various                                                                                             $1.34
DANIAL ZONDLO                  44560 MAPLE LN                                                 HARRIS           MN         55032                6002                Various                                                                                             $9.18
DANIALLE WOOD                  1618 GAULT ST                                                  ST PETER         MN         55962                6002                Various                                                                                             $4.35
DANICA CALDWELL                144 E CENTER ST                                                SPANISH FORK     UT         84660                6002                Various                                                                                             $9.84
DANICA CHENEY                  BOX 106                      505 WALNUT AVE                    UPSALA           MN         56384                6004                Various                                                                                            $66.00
DANICA IVKOVIC                 9946 W. IRVING                                                 BOISE            ID         83704                6004                Various                                                                                             $7.63
DANIE SILVA                    1787 SADLE DR                                                  ARCADIA          WI         54612                6002                Various                                                                                             $6.60
DANIEL A NEUBAUER              825 LOWER # JOHNSON                                            ST. PETER        MN         56082                6002                Various                                                                                             $8.74
DANIEL AL JUBOORI              834 N 35TH STREET                                              OMAHA            NE         68104                6004                Various                                                                                            $16.00
DANIEL ANDERSON                2281 E ANDERMATT CIR                                           SANDY            UT         84093                6002                Various                                                                                             $8.47
DANIEL ARMSTRONG               1560 PRINCETON DRIVE                                           TWIN FALLS       ID         83301                6004                Various                                                                                            $23.00
DANIEL ASTON                   257 S 100TH E                                                  SPANISH FORK     UT         84660                6002                Various                                                                                             $6.03
DANIEL BARBER                  206 HILLSIDE RD                                                RHINELANDER      WI         54501                6002                Various                                                                                             $7.59
DANIEL BARTUSIEWICZ            4710 18TH AVE NW APT 8                                         ROCHESTER        MN         55901                6002                Various                                                                                             $8.77
DANIEL BAZATA                  57476 830TH RD                                                 HOWELLS          NE         68641                6002                Various                                                                                             $2.96
DANIEL BENNETT                 1313 9TH AVENUE                                                HELENA           MT         59601                6004                Various                                                                                             $2.26
DANIEL BLACKBOURN              2060 WEST LAURAL                                               FREEPORT         IL         61032                6004                Various                                                                                            $21.00
DANIEL BLASHER                 1805 ARDEN AVE APT8                                            EUGENE           OR         97403                6004                Various                                                                                            $25.00
DANIEL BLOHM                   227 E FACTORY                                                  SEYMOUR          WI         54165                6004                Various                                                                                            $35.03
DANIEL BOOME DAVIS             PO BOX 253                                                     ORANGEVILLE      IL         61060                6002                Various                                                                                             $6.60
DANIEL BRAULT                  1602 COLUMBUS ST                                               MANITOWOC        WI         54220                6002                Various                                                                                             $4.63
DANIEL BRAXTON                 206 N 8TH AVE                                                  BELLE FOURCHE    SD         57717                6002                Various                                                                                             $7.59
DANIEL BRUEGGEN                410 EVERGREEN AVE                                              MARSHFIELD       WI         54449                6004                Various                                                                                             $5.00
DANIEL BUNTING                 3711 RANDOLPH ROAD                                             JANESVILLE       WI         53545                6004                Various                                                                                             $1.00
DANIEL CAMPBELL                705 N BAKER                                                    EAST WENATCHEE   WA         98802                6004                Various                                                                                             $5.55
DANIEL CAPES                   3943 S 6285 W                                                  SALT LAKE CITY   UT         84120                6004                Various                                                                                            $13.00
DANIEL CHAMBERLIN              11971 NORTH METAL CURVE                                        LINDSTROM        MN         55045                6004                Various                                                                                             $1.44
DANIEL CLEMENT                 3901 MILWAUKEE ST                                              MADISON          WI         53714                6002                Various                                                                                             $8.79
DANIEL COLLADO                 2105 4TH AVENUE NE                                             AUSTIN           MN         55912                6002                Various                                                                                             $2.08
DANIEL COMER                   540 S 100TH E APT B                                            BRIGHAM CITY     UT         84302                6002                Various                                                                                             $8.68
DANIEL COMPTON                 412 NE MAPLE PO BOX # 73                                       BRIDGEWATER      IA         50837                6002                Various                                                                                             $6.16
DANIEL COURTIER                1655 MONTCLAIR PLACE                                           FORT ATKINSON    WI         53538                6004                Various                                                                                             $1.95
DANIEL CUAHUEY                 1513 WYOMING WAY                                               MADISON          WI         53704                6004                Various                                                                                             $1.95
DANIEL D LISH                  21 CHAPERRO LN                                                 GROVER           WY         83122                6002                Various                                                                                             $4.90
DANIEL DAHL                    1515 OLIVE ST                                                  WALLA WALLA      WA         99362                6004                Various                                                                                            $54.99
DANIEL DALESKE                 103 N MARKET ST                                                NEW HAMPTON      MO         64471                6002                Various                                                                                             $6.77
DANIEL DAVIDSON                308 10TH ST SW                                                 AUSTIN           MN         55912                6004                Various                                                                                             $3.00




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                                                                                                                                                        Account         Incurred, Basis for
              Creditor Name                  Address1                 Address2        Address3             City       State           Zip   Country     Number                Claim                                                                             Total Claim
DANIEL DAVIS                      135 1ST AVE NW                                                   HUTCHINSON      MN         55350                 6002                Various                                                                                                $6.88
DANIEL DE PAZ                     915 E MAIN ST                                                    ARCADIA         WI         54612                 6002                Various                                                                                                $5.78
DANIEL DEROCHA                    103 ISABELLA AVE.              PO BOX 135                        PALMER          MI         49871                 6004                Various                                                                                               $10.00
DANIEL DILNY                      1502 CALUMET ST                                                  LAKE LINDEN     MI         49945                 6002                Various                                                                                                $4.52
DANIEL DUNCAN                     2624 GRANGEMONT RD                                               OROFINO         ID         83544                 6002                Various                                                                                                $7.97

DANIEL DUVAL                      1019 15TH STREET N PRERELEAS                                     GREAT FALLS     MT         59404                  6002               Various                                                                                             $6.22
DANIEL EASTERDAY                  102 SOUTH 5TH STREET                                             BEAVER CREEK    MN         56116                  6004               Various                                                                                            $75.00
DANIEL EDWAR TREMBLEY             1623 N SUMMIT ST                                                 APPLETON        WI         54914                  6002               Various                                                                                             $2.71
DANIEL EURESTI                    331 GARDNER AVE                                                  TWIN FALLS      ID         83301                  6002               Various                                                                                             $9.78
DANIEL EVEANS                     14927 SHIRLEY CIR                                                OMAHA           NE         68144                  6002               Various                                                                                             $1.18
DANIEL FEYEN                      744 TWIN HARBOR DR                                               WINNECONNE      WI         54986                  6002               Various                                                                                             $1.29
DANIEL FISHER                     2041/2 E CEDAR                                                   RAWLINS         WY         82301                  6002               Various                                                                                             $6.82
DANIEL FITCHETT                   1442 WILLOW GLEN DR                                              KALISPELL       MT         59901                  6002               Various                                                                                             $2.38
DANIEL FITZGERALD                 2810 BRENTWOOD BLVD                                              GRAND ISLAND    NE         68801                  6002               Various                                                                                             $2.85
DANIEL FITZMAURICE                PO BOX 35                                                        HUMBIRD         WI         54746                  6002               Various                                                                                             $5.97
DANIEL FRANCOIS                   W2736 FONDA LN                                                   BELLEVILLE      WI         53508                  6004               Various                                                                                            $30.00
DANIEL FREDERIKSEN                885 ZOBELL DR                                                    OREM            UT         84097                  6002               Various                                                                                             $2.14
DANIEL FRIEVALT                   811 SUNNY LANE                                                   GREEN BAY       WI         54304                  6004               Various                                                                                             $1.00
DANIEL FRISBIE                    31 N BAILEY AVENUE                                               FREEPORT        IL         61032                  6002               Various                                                                                            $11.99
DANIEL FRITH                      1631 N RACINE ST                                                 APPLETON        WI         54911                  6004               Various                                                                                             $3.00
DANIEL FULLER                     1120 E MAIN ST                                                   SIDNEY          MT         59270                  6002               Various                                                                                             $3.29
DANIEL G ANDERSON                 290 W MAPLE ST                                                   SHELLEY         ID         83274                  6002               Various                                                                                            $10.00
DANIEL G KAMIN MINNESOTA ENTER    PO BOX 10234                                                     PITTSBURGH      PA         15232                  0812               Various                                                                                        $13,713.04
DANIEL G KAMIN STANDISH LLC       PO BOX 10234                                                     PITTSBURGH      PA         15232                  2159               Various                                                                                         $6,209.88
DANIEL G KEEHN                    BOX 975                                                          AFTON           WY         83110                  6002               Various                                                                                             $1.53
DANIEL GARCIA                     1108 9TH AVE SW                                                  AUSTIN          MN         55912                  6004               Various                                                                                             $3.00

DANIEL GERBLICK                   701 NORTH SANDY LANE APT 508                                     DELAVAN         WI         53115                  6004               Various                                                                                               $20.40
DANIEL GETLINGER                  107 E BECKER ST                                                  NEW LONDON      WI         54961                  6002               Various                                                                                               $15.84
DANIEL GOMEZ-SANTIAGO             215 HIGH LINE ST             APT7                                BELVIDERE       IL         61008                  6004               Various                                                                                                $3.90
DANIEL GOUDREAU                   PO BOX 263                                                       KAUKAUNA        WI         54130                  6002               Various                                                                                                $0.79
DANIEL GREGORY                    303 N ELM ST                                                     DODGE           NE         68633                  6002               Various                                                                                                $6.14
DANIEL HAMMILL                    8004 170TH ST                                                    MILACA          MN         56353                  6004               Various                                                                                               $10.71
DANIEL HANKEL                     1535 3RD AVE SW                                                  GREAT FALLS     MT         59404                  6002               Various                                                                                                $1.89
DANIEL HAYES                      PO BOX 332                                                       STRATFORD       WI         54484                  6002               Various                                                                                                $7.70
DANIEL HEATH                      PO BOX 947 PMB N3722                                             WAUTOMA         WI         54982                  6002               Various                                                                                                $6.19
DANIEL HECHT                      C2410 BALSAM RD                                                  STRATFORD       WI         54484                  6002               Various                                                                                                $3.29
DANIEL HELBACH                    E1042 CYRSTAL LAKE RD                                            WAUPACA         WI         54981                  6002               Various                                                                                                $0.96
DANIEL HERNANDEZ                  404 E 11TH ST                                                    COZAD           NE         69130                  6002               Various                                                                                                $8.52
DANIEL HIGGINS                    600 PIPER CT                                                     DUBUQUE         IA         52001                  6004               Various                                                                                               $10.00
DANIEL HIPKE                      248 FOREST DR                                                    SOBIESKI        WI         54171                  6002               Various                                                                                                $8.55
DANIEL HOKANSON                   12 SALT CREEK RD                                                 NEWCASTLE       WY         82701                  6002               Various                                                                                                $6.33
DANIEL HOLTY                      6203 N EAGLE RD                                                  JANESVILLE      WI         53548                  6004               Various                                                                                                $8.01
DANIEL HOOYMAN                    2134 W MELCORN CIR                                               DE PERE         WI         54115                  6002               Various                                                                                                $1.92
DANIEL HUANG                      5834 SCHUMANN DR                                                 FITCHBURG       WI         53711                  6004               Various                                                                                               $20.00
DANIEL HUMPHREY                   W16688 HWY 121                                                   HIXTON          WI         54635                  6666               Various                                                                                               $17.00
DANIEL IRELAND                    102 S SALLIE AVE                                                 FOND DU LAC     WI         54935                  6002               Various                                                                                                $1.73
DANIEL J DAVENPORT                PO BOX 152                                                       ARNOLD          NE         69120                  6002               Various                                                                                                $0.58
DANIEL J DEBING                   709 N WASHINGTON AVE                                             SAINT PETER     MN         56082                  6002               Various                                                                                                $6.68
DANIEL J KING                     2608 BAUMGARTNER DR                                              LA CROSSE       WI         54603                  6002               Various                                                                                                $7.37
DANIEL J OLIVER                   211 WILLOW DR TRLR 45                                            SPENCER         WI         54479                  6002               Various                                                                                                $4.68
DANIEL J SIMON                    2789 VIKING DR APT 1D                                            GREEN BAY       WI         54304                  6002               Various                                                                                                $1.37
DANIEL J. WAGNER                  15505 BORMAN ST                                                  OMAHA           NE         68138                  6002               Various                                                                                                $5.64




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                                                                                                                                                 Account         Incurred, Basis for
               Creditor Name                Address1         Address2        Address3             City         State           Zip   Country     Number                Claim                                                                             Total Claim
DANIEL JOHN RETLICK             29 HILLOCK CT                                             APPLETON          WI         54914                 6002                Various                                                                                               $10.00
DANIEL JOHNSON                  2001 LARK LN NW                                           STEWARTVILLE      MN         55976                 6002                Various                                                                                                $2.66
DANIEL JONES                    2420 E. 39TH AVE.                                         SPOKANE           WA         99223                 6004                Various                                                                                               $10.00
DANIEL JORDAN                   337 11TH ST                                               IDAHO FALLS       ID         83404                 6002                Various                                                                                               $10.00
DANIEL JORE                     609 LINWOOD AVE                                           ST.POINT          WI         54481                 6004                Various                                                                                               $54.00
DANIEL JUDD                     309 S MAIN ST                                             WAYNE             NE         68787                 6002                Various                                                                                                $3.89
DANIEL JUMER                    125 FLAGSTAFF WAY                                         BUFFALO           WY         82834                 6002                Various                                                                                                $8.33
DANIEL JUNGBLUTH                109 S MAIN ST                                             REESEVILLE        WI         53579                 6002                Various                                                                                                $3.73
DANIEL K HANSON                 16937 350TH ST                                            FOREST CITY       IA         50436                 6002                Various                                                                                                $7.97
DANIEL K. ZELLER                204 POTTER ST                                             MADISON           WI         53715                 6002                Various                                                                                                $7.84
DANIEL KARPOWICZ                N1945 EASTSIDE RD                                         BIRCHWOOD         WI         54817                 6002                Various                                                                                                $6.96
DANIEL KIRSCH                   5865 BRILOWSKI AVE                                        STEVENS POINT     WI         54482                 6004                Various                                                                                               $16.40
DANIEL KOLTER                   328 N.8TH ST.                                             CORNELL           WI         54732                 6004                Various                                                                                               $23.00
DANIEL KROHE                    10061 SAINT PETERS RD                                     ARENZVILLE        IL         62611                 6002                Various                                                                                                $9.15
DANIEL KUOL                     320 31ST ST NE APT 120                                    ROCHESTER         MN         55906                 6002                Various                                                                                                $7.34
DANIEL LAPLANT                  1783 GRANT ST #5                                          DEPERE            WI         54115                 6004                Various                                                                                               $26.05
DANIEL LAWRENCE                 419 N TURNER ST                                           DAVIS             IL         61019                 6004                Various                                                                                               $34.98
DANIEL LEE CAMPTON              1312 N WASHINGTON ST                                      ABERDEEN          SD         57401                 6002                Various                                                                                               $10.00
DANIEL LIDDICK                  302 4TH ST                                                GLENWOOD          IA         51534                 6002                Various                                                                                                $5.92
DANIEL LIPP                     2606 24TH AVE NW                                          ABERDEEN          SD         57401                 6002                Various                                                                                                $8.11
DANIEL LOCK                     905 SUSAN PL                                              LA CROSSE         WI         54603                 6002                Various                                                                                                $2.58
DANIEL LOPEZ                    602 GLENN ST                                              MARSHALL          MN         56258                 6002                Various                                                                                                $9.48
                                N87W16458 APPLETON AVE STE
DANIEL M CURRAN                 C                                                         MENOMONEE FALLS   WI         53051                  6002               Various                                                                                             $6.27
DANIEL M NIEMI                  180 W SUPERIOR ST                                         ISHPEMING         MI         49849                  6002               Various                                                                                             $3.75
DANIEL MALICKI                  5815 RAYMOND RD                                           MADISON           WI         53711                  6002               Various                                                                                             $5.01
DANIEL MANDICH                  4291 LUEDKE LN                                            ABRAMS            WI         54101                  6002               Various                                                                                             $6.00
DANIEL MARQUEZ                  2317 ROCKPORT RD                                          JANESVILLE        WI         53548                  6004               Various                                                                                             $3.26
DANIEL MARR                     1906 VIRGINA AVE                                          BELLEVUE          NE         68005                  6004               Various                                                                                            $20.00
DANIEL MATHIAS                  6890 SO CHASE ROAD                                        SOBIESKI          WI         54171                  6004               Various                                                                                             $1.50
DANIEL MATTHEWS                 N6686 CLUBHOUSE CIRCLE                                    ELKHORN           WI         53121                  6004               Various                                                                                           $132.00
DANIEL MAURER                   1007 BLUE BIRD ST                                         DE PERE           WI         54115                  6004               Various                                                                                            $23.00
DANIEL MCGUIRE                  2566 LEWIS AVE                                            BILLINGS          MT         59102                  6002               Various                                                                                             $2.77
DANIEL MCNEIL                   78 RENO RD                                                BUFFALO           WY         82834                  6002               Various                                                                                             $8.93
DANIEL MCQUILLAN                1455 TULLAR RD APT 12                                     NEENAH            WI         54956                  6002               Various                                                                                             $0.47
DANIEL METCALF                  2839 E WHEELBARROW ROAD                                   POST FALLS        ID         83854                  6004               Various                                                                                            $16.56
DANIEL MEYER                    304 E OAK ST                                              STANLEY           WI         54768                  6002               Various                                                                                             $3.48
DANIEL MILES                    5859 N RAPID CREEK ROAD                                   INKOM             ID         83245                  6004               Various                                                                                            $10.00
DANIEL MINER                    9833 230TH ST                                             CADOTT            WI         54727                  6002               Various                                                                                             $0.96
DANIEL MOFFITT                  2774 SPRIGGS DR                                           LANDER            WY         82520                  6002               Various                                                                                             $7.53
DANIEL MUNOZ                    2824 E 3575TH N                                           LAYTON            UT         84040                  6002               Various                                                                                             $7.86
DANIEL N WEIGEL                 907 N ADAMS RD                                            SPOKANE           WA         99216                  6002               Various                                                                                             $2.85
DANIEL NERSESIAN                WAYLAND SCHOOL                                            BEAVER DAM        WI         53916                  6004               Various                                                                                            $10.00
DANIEL NIMZ                     1602 EMERSON STREET                                       WAUSAU            WI         54403                  6004               Various                                                                                             $5.70
DANIEL NOBLE                    730 ELM ST APT R                                          BELOIT            WI         53511                  6002               Various                                                                                             $2.38
DANIEL NUNO                     2258 S 525TH W                                            PERRY             UT         84302                  6002               Various                                                                                             $6.68
DANIEL OBRIEN                   1720 LEXINGTON PL                                         WENATCHEE         WA         98801                  6002               Various                                                                                             $4.16
DANIEL OCHOA                    318 5TH ST BOX CA                                         ABBOTSFORD        WI         54405                  6002               Various                                                                                             $0.38
DANIEL ONEIL                    103 COUNTY ROAD C                                         ELLSWORTH         WI         54011                  6002               Various                                                                                             $0.88
DANIEL P. SCHMITT               624 DECKER ST                                             RUDD              IA         50471                  6002               Various                                                                                             $4.00
DANIEL PANTOVICH                991 HIGHBERGER LP                                         AUMSVILLE         OR         97325                  6004               Various                                                                                            $85.00
DANIEL PERRY                    N3010 N 13 TH RD                                          COLEMAN           WI         54112                  6004               Various                                                                                             $4.00
DANIEL PETERSEN                 301 EAST C ST                                             ELMWOOD           NE         68349                  6004               Various                                                                                            $32.25
DANIEL PFLUGHOFT                PO BOX 18098                                              MISSOULA          MT         59808                  6004               Various                                                                                             $5.00




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                                                                                                                                                                                                            Unliquidated
                                                                                                                                                                                               Contingent


                                                                                                                                                                                                                           Disputed
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                                                                                                                                                           Account       Incurred, Basis for
             Creditor Name               Address1                   Address2        Address3                City         State           Zip   Country     Number              Claim                                                                             Total Claim
DANIEL POPELKA                7309 S. 93RD ST.                                                   LA VISTA           NE           68128                 6004              Various                                                                                               $15.00
DANIEL PRATT                  5062 S 108TH ST                #235                                OMAHA              NE           68137                 6004              Various                                                                                               $30.00

DANIEL PUTZ                   2030 RAINBOW LAKE LN APT 317                                       WEST BEND          WI           53090                   6002            Various                                                                                                $0.49
DANIEL R DIEDRICH             922 ROYALTON ST                                                    WAUPACA            WI           54981                   6002            Various                                                                                                $4.19
DANIEL R RILEY                409 AMY AVE                                                        ROUND LAKE         MN           56167                   6002            Various                                                                                                $4.44
DANIEL R WILLIAMS             805 MARION ST SW                                                   ISANTI             MN           55040                   6002            Various                                                                                                $9.10
DANIEL R. BATH                PO BOX 843                                                         CAMPBELLSPORT      WI           53010                   6002            Various                                                                                                $8.30
DANIEL RAREY                  624 RACINE ST                                                      MENASHA            WI           54952                   6002            Various                                                                                                $1.56
DANIEL RIEMERT                174 PARK ST                                                        BELGIUM            WI           53004                   6004            Various                                                                                                $5.00

DANIEL ROOS                   1310 N BENJAMIN ST APT 106                                         PORT WASHINGTON    WI           53074                   6002            Various                                                                                                $2.00
DANIEL RUFF                   218 EAST MCKINLEY AVE                                              FALL CREEK         WI           54742                   6004            Various                                                                                                $4.00
DANIEL RUST                   245 COUNTRY CLUB DR                                                LAKE PARK          IA           51347                   6002            Various                                                                                                $5.23
DANIEL SALM                   3919 WOODLAWN COURT                                                MANITWOOC          WI           54220                   6004            Various                                                                                               $90.00
DANIEL SANDOVAL               21 ROCKY DR                                                        LENORE             ID           83541                   6002            Various                                                                                                $1.40
DANIEL SANFT                  116 FARGO ST                                                       LAKE MILLS         WI           53551                   6002            Various                                                                                                $4.68
DANIEL SAXTON                 9009 W SUNSET BLVD                                                 WEST HOLLYWOOD     CA           90069                   6002            Various                                                                                               $10.00
DANIEL SCANLON                443 MARQUETTE ST                                                   ISHPEMING          MI           49849                   6002            Various                                                                                                $0.55
DANIEL SCHMIDT                W3086 SIEVERT RD                                                   SEYMOUR            WI           54165                   6002            Various                                                                                                $3.92
DANIEL SCHMITT                64402 S STATE ROUTE 221                                            PROSSER            WA           99350                   6002            Various                                                                                                $1.66
DANIEL SCHWARTZ               304 QUEENS STREET                                                  SUN PRAIRIE        WI           53590                   6004            Various                                                                                               $99.99
DANIEL SCHWULST               75 MORNING DOVE DR                                                 WATERTOWN          WI           53098                   6004            Various                                                                                               $46.00

DANIEL SHAURETTE              820 MCKINLEY ST                                                    WISCONSIN RAPIDS   WI           54494                   6004            Various                                                                                               $20.00
DANIEL SLUDER                 1115 E CLARK                                                       POCATELLO          ID           83201                   6004            Various                                                                                               $20.00
DANIEL SMITH                  1016 E. D STREET                                                   DEER PARK          WA           99006                   6004            Various                                                                                               $19.05
DANIEL STECKER                5116 MICHIGAN AVE                                                  MANITOWOC          WI           54220                   6004            Various                                                                                                $1.00
DANIEL STEINHOFER             12342 215TH ST                                                     BROOTEN            MN           56316                   6002            Various                                                                                                $6.79
DANIEL STREGE                 1109 COUNTY ZZ                                                     ELLISON BAY        WI           54210                   6002            Various                                                                                                $7.48
DANIEL SYMONS                 5225 N PINEGROVE CT                                                COEUR D ALENE      ID           83815                   6002            Various                                                                                                $3.95
DANIEL SZCEPANSKI             4214 BAYSIDE RD                                                    SUAMICO            WI           54173                   6002            Various                                                                                                $8.05
DANIEL T BATES                17500 E SPRAGUE AVE TRLR 23                                        GREENACRES         WA           99016                   6002            Various                                                                                                $7.42
DANIEL T HASE                 N3844 990TH ST                                                     EAU CLAIRE         WI           54703                   6002            Various                                                                                                $9.42
DANIEL THOMPSON               275 N 1200TH E                                                     OREM               UT           84097                   6002            Various                                                                                               $10.00
DANIEL VINYARD                201 LAKE AVE STE 304                                               FAIRMONT           MN           56031                   6002            Various                                                                                                $6.74
DANIEL WATERS                 303 W. BOSWORTH                                                    MANLY              IA           50456                   6004            Various                                                                                               $12.00
DANIEL WATT                   2798 MEADOWFLOWER LN                                               SUAMICO            WI           54313                   6002            Various                                                                                                $0.66
DANIEL WAYNE JOHNSON          1347 E ROSEWOOD LN APT 19                                          LAYTON             UT           84040                   6002            Various                                                                                                $7.34
DANIEL WEBER                  2306 5TH ST SW                                                     ROCHESTER          MN           55902                   6002            Various                                                                                                $1.40
DANIEL WHEELER                2001 CALIFORNIA AVE.                                               STEVENS POINT      WI           54481                   6004            Various                                                                                               $85.78
DANIEL WHITNEY                522 YORK ST                                                        NEWCASTLE          WY           82701                   6002            Various                                                                                                $9.81
DANIEL WILSON                 6443 W SOLDIER CREEK AVE                                           RATHDRUM           ID           83858                   6004            Various                                                                                               $12.90
DANIEL WISE                   1145 HIGHWAY 73 # SO                                               WISC RAPIDS        WI           54494                   6002            Various                                                                                                $1.01
DANIEL WOLF                   N3218 HICKORY DRIVE                                                WAUPUN             WI           53963                   6004            Various                                                                                               $14.00

DANIEL YOUNG                  1312 WASHINGTON BLVD APT 2                                         OGDEN              UT           84404                   6002            Various                                                                                             $7.37
DANIEL YOUNGBAUER             755 POWERS STREET                                                  OSHKOSH            WI           54901                   6004            Various                                                                                             $6.00
DANIEL ZAMORA                 216 W CENTER ST                                                    JUNEAU             WI           53039                   6004            Various                                                                                           $117.88
DANIEL ZETTELMEIER            17 1/2 WATER ST                                                    EVANSVILLE         WI           53536                   6004            Various                                                                                            $37.00
DANIELA ARCE                  372 ARBOR DR                                                       JUNEAU             WI           53039                   6002            Various                                                                                             $3.12
DANIELA BEDOLLA               PO BOX 43                                                          HAZELTON           ID           83335                   6004            Various                                                                                             $3.65
DANIELA CORTESE               4904 HANSCHE RD                                                    RACINE             WI           53403                   6004            Various                                                                                             $1.00
DANIELA SANTIAGO              24727 S. FINLEY RD.                                                KENNEWICK          WA           99337                   6004            Various                                                                                            $18.02




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DANIELA SCOTTIBELLI           126 STARFIRE CT                                                    KALISPELL         MT        59901                 6002              Various                                                                                               $8.74

                                                           1038 WASHINGTON
DANIELA VELAZQUEZ             GOVEA GARDENS                STREET                                BAKERSFIELD       CA        93307                   6004            Various                                                                                            $14.00
DANIELLA ESPINOZA             250 3RD AVE NE                                                     SIDNEY            MT        59270                   6002            Various                                                                                             $4.85
DANIELLE BAADE                3140 CRUSADE LANE                                                  GREEN BAY         WI        54313                   6004            Various                                                                                            $25.00
DANIELLE BENSON               514 N WEST CAPTAL ST.                                              SALT LAKE CITY    UT        84103                   6004            Various                                                                                           $108.00
DANIELLE BOLAND               2310 WEST RED OAK RD                                               FREEPORT          IL        61032                   6004            Various                                                                                            $10.91
DANIELLE BRUNI                1046 EAST STREET #3                                                FORT ATKINSON     WI        53538                   6004            Various                                                                                             $2.00
DANIELLE BURKE                2031 CTY Q                                                         POUND             WI        54161                   6002            Various                                                                                             $9.37
DANIELLE CADWALLADER          5230 S 40TH ST APT 99                                              LINCOLN           NE        68516                   6004            Various                                                                                            $14.00
DANIELLE CHRISTENSEN          580 DEXTER DR APT 107                                              NORTH SIOUX CIT   SD        57049                   6002            Various                                                                                            $10.00
DANIELLE CLAYTON              3245 SECTION LINE RD                                               NEWCASTLE         WY        82701                   6002            Various                                                                                             $2.33
DANIELLE EDWARDS              179 ELLSWORTH WAY                                                  STEVENSVILLE      MT        59870                   6004            Various                                                                                           $195.98
DANIELLE ENDERBY              2674 CRYSTAL SPRINGS DRIVE                                         GREEN BAY         WI        54311                   6004            Various                                                                                             $5.80
DANIELLE FELTEN               14453 610 AVE                                                      ROSE CREEK        MN        55970                   6004            Various                                                                                             $6.00
DANIELLE GARCEAU              1113 33RD STREET                                                   TWO RIVERS        WI        54241                   6004            Various                                                                                            $25.00
DANIELLE HAAS                 501 BROOKSTONE PASS                                                MT. HOREB         WI        53517                   6004            Various                                                                                            $21.00
DANIELLE HALL                 609 N ALMON                  #3016                                 MOSCOW            ID        83843                   6004            Various                                                                                            $11.04
DANIELLE HAMMITT              1111 N 50TH STREET                                                 OMAHA             NE        68132                   6004            Various                                                                                             $1.50
DANIELLE HARRISON             171 WYOMING                                                        BILLINGS          MT        59101                   6004            Various                                                                                            $43.50
DANIELLE HECKMAN              624 ST JOHNS AVE                                                   MILTON            WI        53563                   6004            Various                                                                                            $15.00
DANIELLE HERNANDEZ            4027 D STREET                                                      OMAHA             NE        68107                   6004            Various                                                                                             $4.00
DANIELLE HIGHTREE             728 WALNUT DR                                                      WAYNE             NE        68787                   6002            Various                                                                                             $6.93
DANIELLE HOWSDEN              1950 S. 10TH ST                                                    OMAHA             NE        68108                   6004            Various                                                                                             $4.00
DANIELLE JACOBS               450 W GRIFFITH RD TRLR 4                                           POCATELLO         ID        83201                   6002            Various                                                                                             $5.67
DANIELLE JEZESKI              903 COON STREET                                                    RHINELANDER       WI        54501                   6004            Various                                                                                             $3.00
DANIELLE KAMBITSCH            3436 9TH ST E                                                      LEWISTON          ID        83501                   6004            Various                                                                                            $40.00
DANIELLE KENNEDY              545 JEFFERSON DR                                                   ZUMBROTA          MN        55992                   6004            Various                                                                                             $3.06
DANIELLE KIMBER               19210 E. VALLEY WAY                                                GREENACRES        WA        99016                   6004            Various                                                                                             $9.00
DANIELLE KOWALKOWSKI          10714 252ND COURT                                                  TREVOR            WI        53179                   6004            Various                                                                                             $1.00
DANIELLE KVITHYLL             2725 34TH STREET                                                   TWO RIVERS        WI        54241                   6004            Various                                                                                            $20.02
DANIELLE L. REED              4224 N GALAXY DR                                                   JANESVILLE        WI        53546                   6002            Various                                                                                             $2.74
DANIELLE LANGWORTHY           4960 PINE DR NE                                                    KALKASKA          MI        49646                   6002            Various                                                                                             $4.30
DANIELLE LARSON               1129 IZES AVE N                                                    GLENCOE           MN        55336                   6002            Various                                                                                             $6.49
DANIELLE LAUTENSCHLAGER       344 ROYAL SAINT PATS DR                                            WRIGHTSTOWN       WI        54180                   6004            Various                                                                                            $25.00
DANIELLE LEONARD              3840 NORTH 17TH                                                    LINCOLN           NE        68521                   6004            Various                                                                                             $2.00
DANIELLE LIEGL                N11472 HIGHWAY 175                                                 BROWNSVILLE       WI        53006                   6004            Various                                                                                             $4.50
DANIELLE MILLER               1501 FOX PARK DR             APT. 13-O                             WEST JORDAN       UT        84088                   6004            Various                                                                                             $6.00
DANIELLE MOORE                620 WEST MACARTHUR AVE                                             EAU CLAIRE        WI        54701                   6004            Various                                                                                            $16.00
DANIELLE MORGAN               903 7TH PLACE N.E                                                  AUSTIN            MN        55912                   6004            Various                                                                                             $6.00
DANIELLE MORK                 602 H25TH AVE                                                      AUSTIN            MN        55912                   6004            Various                                                                                             $3.00
DANIELLE OLSEN                370 OLD CEMETERY RD                                                RIVER FALLS       WI        54022                   6004            Various                                                                                            $64.70
DANIELLE OMUNDSON             416 E MAIN ST                                                      THORP             WI        54771                   6002            Various                                                                                             $2.25
DANIELLE OSTROWSKI            816 DIVISION ST                                                    WITHEE            WI        54498                   6002            Various                                                                                             $1.97
DANIELLE PETERSIK             1902 VIEBAHN ST                                                    MANITOWOC         WI        54220                   6002            Various                                                                                             $0.58
DANIELLE R NESS               1601 ROYALE CIR UNIT 5B                                            MASON CITY        IA        50401                   6002            Various                                                                                             $9.07
DANIELLE RUDE                 W411 HILDEBRAND LAKE RD                                            RHINELANDER       WI        54501                   6004            Various                                                                                            $25.00
DANIELLE SEABOLT              7856 CHERRY TREE ST NE                                             KALKASKA          MI        49646                   6002            Various                                                                                             $9.42
DANIELLE STOKES               2851 FLETCHER AVE            APT 111                               LINCOLN           NE        68504                   6004            Various                                                                                            $25.00
DANIELLE SVOBODNY             1014 11TH AVE SW                                                   AUSTIN            MN        55912                   6004            Various                                                                                             $3.00
DANIELLE TARESH               378 ROSEVELT AVE                                                   POCATELLO         ID        83201                   6002            Various                                                                                             $8.27
DANIELLE TATSAKRON            1007 LEWIS                                                         BILLINGS          MT        59102                   6004            Various                                                                                            $17.00
DANIELLE TREINEN              W9638 OLSON RD                                                     POYNETTE          WI        53955                   6004            Various                                                                                             $5.40




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DANIELLE WAY                   3212 125TH AVE                                                ALLEGAN           MI         49010                 6004                Various                                                                                            $17.50
DANIELLE WILLIAMS              14 HENRIETTE AVE. APT. 1                                      CRIVITZ           WI         54114                 6004                Various                                                                                             $1.00
DANIELLE WILSON                5351 GLACIER PT LOOP                                          HELENA            MT         59602                 6002                Various                                                                                             $0.85
DANIELLE WOERNER               5697 ZION ROAD                                                DE PERE           WI         54115                 6002                Various                                                                                            $70.79
DANIELLE ZIRKLE                108 S 23RD ST APT 3-7                                         HOT SPRINGS       SD         57747                 6002                Various                                                                                             $0.47
DANIELLE ZUKAITIS              5645 WASAUKEE RD                                              WEST BEND         WI         53095                 6002                Various                                                                                             $3.40
DANIELLE ZWIEFELHOFER          3130 BRADFORD LANE                                            SUN PRAIRIE       WI         53590                 6004                Various                                                                                            $15.00
DANILLE GRAHAM                 940 SILVERBELL CIRCLE                                         BILLINGS          MT         59105                 6004                Various                                                                                          $100.00
DANINE JACOBSON                326 N MAPLE                                                   WATERTOWN         SD         57201                 6002                Various                                                                                             $3.23
DANNA L SHIELDS                807 N 7TH ST                                                  ALBANY            MO         64402                 6002                Various                                                                                             $7.73
DANNA TRUEX                    1457 S 1300TH E                                               SPANISH FORK      UT         84660                 6002                Various                                                                                             $5.75
DANNA WALLING                  1444 S 1195 E                                                 OGDEN             UT         84404                 6004                Various                                                                                            $16.00
DANNIE LINK                    22061 13TH ST W UNIT 102                                      ZIMMERMAN         MN         55398                 6002                Various                                                                                             $1.40
DANNIELLE ANGELL               242 CENTER ST E                                               ZUMBRO FALLS      MN         55991                 6002                Various                                                                                             $3.59
DANNIKA VANDE BRAKE            1539 180 AVE                                                  CANBY             MN         56220                 6004                Various                                                                                             $3.00
DANNY ANDERSON                 7 DRY GULCH RD                                                NORTH FORK        ID         83466                 6002                Various                                                                                             $0.85
DANNY BELL                     35455 HIGHWAY 16                                              LANESBORO         MN         55949                 6002                Various                                                                                             $7.73
DANNY BREITKREUTZ              2026 H RD                                                     WEST POINT        NE         68788                 6002                Various                                                                                             $0.36
DANNY CAMACHO                  834 WILSON STREET                                             MANITOWOC         WI         54220                 6004                Various                                                                                             $4.00
DANNY HERNANDEZ                426 W EXCHANGE ST                                             FREEPORT          IL         61032                 6004                Various                                                                                            $36.00
DANNY HESCHKE                  218 E 4TH. ST. APT. 1                                         DULUTH            MN         55805                 6004                Various                                                                                             $6.00
DANNY J BELLINGER              1900 KNOX ST APT 25                                           LINCOLN           NE         68521                 6002                Various                                                                                             $2.11
DANNY J TUCKER                 324 N WHITFORD ST                                             FERGUS FALLS      MN         56537                 6002                Various                                                                                             $9.64
DANNY JOHNSON                  1347 E ROSEWOOD LN                                            LAYTON            UT         84040                 6002                Various                                                                                             $2.49
DANNY L KERN                   527 S 32ND ST W                                               BILLINGS          MT         59102                 6002                Various                                                                                             $5.59
DANNY MORGER                   293114 US HIGHWAY 101                                         QUILCENE          WA         98376                 6002                Various                                                                                             $4.66
DANNY MYRVOLD                  PO BOX 183                                                    HERON LAKE        MN         56137                 6004                Various                                                                                             $3.00
DANNY R SICKELS                103 NW ST                                                     MOUNT AYR         IA         50854                 6002                Various                                                                                             $6.88
DANNY RAE BURIK                105 DEER VALLEY RD., #4                                       MADISON           WI         53713                 6004                Various                                                                                             $1.00
DANNY SCOTT                    RR 3 BOX 9755                                                 DONIPHAN          MO         63935                 6002                Various                                                                                             $1.92
DANNY SHERLOCK                 1284 SHANNON DR                                               NORTH AUGUSTA     SC         29860                 6002                Various                                                                                             $7.95
DANNY STEFFENHAGEN             843 MARQUETTE AVE                                             GREEN BAY         WI         54304                 6002                Various                                                                                             $1.78
DANNY THOMPSON                 5372 SCENIC VIEW DR SW                                        SOUTH BOARDMAN    MI         49680                 6002                Various                                                                                             $8.11
DANNY WHITWORTH                257 HENRY                                                     CHUBBUCK          ID         83202                 6004                Various                                                                                            $13.00
DAN'S R US SANITATION          PO BOX 1016                                                   MCCOOK            NE         69001                                     Various                                                                                          $846.00
DANTAY BAEZA                   9228 US RT 20                                                 GARDEN PRAIRIE    IL         61038                  6004               Various                                                                                             $3.90
DANTE LUNA                     604 JULIEN ST                                                 BELVIDERE         IL         61008                  6004               Various                                                                                             $3.90
DANTE LUNDERVILLE              4400 LA SALLEST            LOT 98                             EAU CLAIRE        WI         54703                  6004               Various                                                                                             $3.00
DANTI BROWN                    1114 MAIN ST                                                  WAYNE             NE         68787                  6002               Various                                                                                             $2.11
DANY MONZON                    4937 S 99TH ST                                                OMAHA             NE         68127                  6002               Various                                                                                             $4.79
DANYA L. HENELY                20897 220TH ST                                                ROCKFORD          IA         50468                  6002               Various                                                                                             $9.62
DANYELL PICOTTE                318 N IRWIN                                                   GREEN BAY         WI         54301                  6004               Various                                                                                             $1.00
DAP PRODUCTS INC               PNC BANK                   PO BOX 931021                      CLEVELAND         OH         44193                  4574               Various                                                                                        $33,481.82
DAPHNE MAXFIELD                7661 S 2550 W                                                 WEST JORDAN       UT         84084                  6004               Various                                                                                            $23.00
DAPHNEY-CANI LAUGHLIN          3544 S 4960TH W                                               WEST VALLEY CIT   UT         84120                  6002               Various                                                                                             $5.78
DAQUAN COTTON                  728 N DIVISION ST                                             APPLETON          WI         54911                  6004               Various                                                                                             $2.00
DARA M HARWOOD                 10420 454TH AVE                                               SISSETON          SD         57262                  6002               Various                                                                                             $1.78
DARAE JONES                    11460 425TH AVE                                               BRITTON           SD         57430                  6004               Various                                                                                            $28.00
DARALYN HERRALD                2102 5TH AVE. NE                                              AUSTIN            MN         55912                  6004               Various                                                                                             $6.00
DARAND FREDRICKSON             809 PARK AVE                                                  WAUPACA           WI         54981                  6002               Various                                                                                             $6.00
DARCEY SHOOK                   821 ROGERS ST                                                 MILTON            WI         53563                  6004               Various                                                                                             $9.95
DARCIA MATTSON                 PO BOX 153 PMB ZZZZ                                           GWINN             MI         49841                  6002               Various                                                                                            $10.00
DARCIE FRANZ                   221 S PINE ST                                                 KIMBERLY          WI         54136                  6002               Various                                                                                             $5.37
DARCIE GARCIA                  8474 HARDING RD                                               BANCROFT          WI         54921                  6004               Various                                                                                            $25.02




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DARCIE LEVAUSSER              20 N SENECA AVE                                                NEWCASTLE        WY         82701                 6002                Various                                                                                                $2.11
DARCIE MARTINSON              121 W WOODHAVEN LN                                             IDAHO FALLS      ID         83404                 6002                Various                                                                                                $0.41
DARCIE SHARP                  600 LINDBERGH AVE LOT 39                                       RAPID CITY       SD         57701                 6002                Various                                                                                                $5.67
DARCY CORNELL                 8032 EAST AVON LANE                                            LINCOLN          NE         68505                 6004                Various                                                                                                $2.00
DARCY DRAKE-TAPP              63541 265TH STREET                                             DEXTER           MN         55926                 6004                Various                                                                                               $17.21
DARCY PFEUFFER                401 S FEE ST APT A                                             HELENA           MT         59601                 6002                Various                                                                                                $1.81
DARCY POPESCU                 301 THOMPSON AVE                                               HOT SPRINGS      SD         57747                 6002                Various                                                                                                $0.58
DARCY REMINGTON               PO BOX 863                                                     UPTON            WY         82730                 6002                Various                                                                                                $5.73
DARCY SIMMONS                 310 12TH AVE SW                                                AUSTIN           MN         55912                 6004                Various                                                                                                $1.00
DAREN MARON                   302 E. MAIN STREET                                             CAMBRIDGE        WI         53523                 6004                Various                                                                                                $2.00
DAREN ROSIAK                  402 2ND ST N APT 4                                             SARTELL          MN         56377                 6002                Various                                                                                                $2.00
DARIAN HARRIS                 724 CHERRY STREET                                              GREEN BAY        WI         54301                 6004                Various                                                                                                $3.00
DARIAN RENIER                 N8871 JEFFERSON RD                                             WATERTOWN        WI         53094                 6002                Various                                                                                                $0.60
                                                          13000 DARICE
DARICE INC                    LAMRITE WEST INC            PARKWAY                            STRONGSVILLE     OH         44149-6699             3395               Various                                                                                       $130,652.76
DARIELA MARTINEZ              607 EAST MILWAUKEE STREET                                      WATERTOWN        WI         53094                  6004               Various                                                                                            $56.00
DARIN JACOBSEN                35 2ND AVE NE                                                  ELGIN            MN         55932                  6002               Various                                                                                             $5.56
DARIN S BLOMQUIST             N42W22657 BRIGHTON CT                                          PEWAUKEE         WI         53072                  6002               Various                                                                                             $6.82
DARIN SPICKLER                2324 8TH AVE                                                   LEWISTON         ID         83501                  6004               Various                                                                                            $29.00
DARIO MONTALVO                PO BOX 25                                                      SHEFFIELD        IA         50475                  6004               Various                                                                                            $59.13
DARIUS MESSER                 805 CORNELL AVE                                                YAKIMA           WA         98902                  6004               Various                                                                                            $40.00
DARIUS RIPP                   111 ST. LAWERANCE ST                                           BELOIT           WI         53511                  6004               Various                                                                                            $10.00
DARLA BUSKIRK                 6825 56 COURT                                                  KENOSHA          WI         53142                  6004               Various                                                                                            $17.00
DARLA GORRINGE                398 EAST HWY 81                                                BURLEY           ID         83318                  6004               Various                                                                                            $15.00
DARLA HOOPER                  181 SOUTH HILLTOP ROAD                                         COLUMBIA FALLS   MT         59912                  6004               Various                                                                                            $55.00
DARLA JARCHOW                 220 E WASHINGTON ST                                            NEW HAMPTON      IA         50659                  6002               Various                                                                                             $0.77
DARLA S ISHLER                PO BOX 406                                                     OROFINO          ID         83544                  6002               Various                                                                                             $0.96
DARLA SANDOVAL                1011 W 450TH S                                                 LAYTON           UT         84041                  6002               Various                                                                                             $6.58
DARLEEN F RIGHTMAN            141 S MAPLE ST APT 119                                         ELLSWORTH        WI         54011                  6002               Various                                                                                             $3.42
DARLENE (BUN CARLEN           340 6TH ST SW                                                  COKATO           MN         55321                  6002               Various                                                                                             $1.34
DARLENE A ELLIOTT             400 S PARKE ST APT 1                                           TUSCOLA          IL         61953                  6002               Various                                                                                             $1.45
DARLENE BERA-GITTER           1461 CEDAR CREEK PKWY                                          GRAFTON          WI         53024                  6002               Various                                                                                             $9.45
DARLENE BERG                  700 FAIRWAY DR              APT 2                              BRILLION         WI         54110                  6004               Various                                                                                            $25.00
DARLENE BERNIZER-ALLEN        24905 COUNTY RD 75          APT 202                            SAINT AUGUSTA    MN         56301                  6004               Various                                                                                             $8.00
                                                          1750 S. 20TH
DARLENE CASTENEDA             SUMNER PLACE                STREET                             LINCOLN          NE         68502                  6004               Various                                                                                                $2.00
DARLENE CURBY                 930 N 23RD NUMBER 14                                           BILLINGS         MT         59101                  6004               Various                                                                                                $4.00
DARLENE DAUGHERTY             138 BURNHAM DRIVE                                              ALLIANCE         NE         69301                  6002               Various                                                                                                $2.63
DARLENE DEL HALL              2420 PETERSON COURT                                            ALLIANCE         NE         69301                  6002               Various                                                                                               $14.28
DARLENE DREVS                 445 LAVERNE DR. #5                                             GREEN BAY        WI         54311                  6004               Various                                                                                               $25.00
DARLENE GILL                  2222 GEORGE ST                                                 LA CROSSE        WI         54603                  6002               Various                                                                                                $0.99
DARLENE GUTH                  3036 SO 68TH COURT                                             OMAHA            NE         68106                  6004               Various                                                                                                $4.00
DARLENE GUTTING               RR 1 BOX 62                                                    ALEXANDRIA       MO         63430                  6004               Various                                                                                               $79.98
DARLENE HALE                  815 BROADMOOR DR                                               MOUNT CARMEL     IL         62863                  6002               Various                                                                                                $0.47
DARLENE HELLER                1196 HILL DR                                                   ONEIDA           WI         54155                  6002               Various                                                                                                $1.89
DARLENE J BROWN               614 CHICAGO AVE                                                PLATTSMOUTH      NE         68048                  6002               Various                                                                                                $5.04
DARLENE JOHNSON               414 N HARTH AVE                                                MADISON          SD         57042                  6002               Various                                                                                                $1.12
DARLENE KLEER                 12877 HARTFORD AVE                                             OROFINO          ID         83544                  6002               Various                                                                                                $7.75
DARLENE LARSON                1535 90TH AVE                                                  SHERBURN         MN         56171                  6002               Various                                                                                                $3.45
DARLENE LEFEVRE               1709 RIDGEWAY DR                                               DE PERE          WI         54115                  6002               Various                                                                                                $9.29
DARLENE M FOSS                160 JUNIPER ST APT 3                                           WINNER           SD         57580                  6002               Various                                                                                                $4.52
DARLENE MOSER                 721 N 5TH AVE                                                  BROKEN BOW       NE         68822                  6002               Various                                                                                                $5.29
DARLENE NOVELLO               131 N 200TH                                                    HURRICANE        UT         84737                  6002               Various                                                                                                $0.66
DARLENE OLSON                 648 W DALE ST                                                  ELLSWORTH        WI         54011                  6002               Various                                                                                               $10.00




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                                                                                                                                                                                            Contingent


                                                                                                                                                                                                                        Disputed
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                                                                                                                                                      Account         Incurred, Basis for
               Creditor Name                Address1               Address2         Address3              City      State           Zip   Country     Number                Claim                                                                             Total Claim
DARLENE PATTERSON               13849 S COUNTY LINE RD                                           SYRACUSE        IN         46567                 6002                Various                                                                                                $7.37
DARLENE ROEDL                   311 COLLEGE AVE                                                  WATERTOWN       WI         53094                 6002                Various                                                                                                $5.75
DARLENE SCHIFFER                711 LIBERTY ST                                                   LA CROSSE       WI         54603                 6002                Various                                                                                                $4.16
DARLENE WAAGE                   926 WASHINGTON ST              APT 2                             LINCOLN         NE         68502                 6004                Various                                                                                                $2.00
DARLENE WAGGONER                500 SW 98TH ST                                                   LINCOLN         NE         68502                 6004                Various                                                                                                $8.83
DARLENE WEBERG                  2531 SHERWOOD DR                                                 JANESVILLE      WI         53545                 6002                Various                                                                                                $6.79
DARLENE WHITTEN                 PO BOX 74                                                        KALISPELL       MT         59903                 6002                Various                                                                                                $4.30
DARLENE WOLFF                   55898 OLD HIGHWAY 8                                              NORFOLK         NE         68701                 6004                Various                                                                                                $7.00
DARLENE WOOD                    1148 W LAROSIER CT                                               WEST JORDAN     UT         84088                 6002                Various                                                                                                $1.59
DARLINE ARTERBERRY              25081 407TH AVE                                                  MITCHELL        SD         57301                 6002                Various                                                                                                $5.73
DARLINE RADABAH                 728 9TH AVE W                                                    KALISPELL       MT         59901                 6002                Various                                                                                                $1.94
DARLYN HINTZ                    745 N. COLLAGE ST.                                               PRESCOTT        WI         54021                 6004                Various                                                                                               $11.70
DARLYS CLEMENSEN                13323 311TH AVE                                                  PRINCETON       MN         55371                 6002                Various                                                                                                $2.08
DARNELL LEWIS                   4218 VALOR WAY                                                   MADISON         WI         53718                 6004                Various                                                                                                $9.26
DAROLD WUBBENA                  17704 W WHITE OAK RD                                             SHANNON         IL         61078                 6002                Various                                                                                                $7.56
DARON SANDBERGH                 W4327 THRUSH RD                                                  WATERTOWN       WI         53098                 6004                Various                                                                                               $25.00
DARONICA RAY                    2858 COHO STREET APT.6                                           FITCHBURG       WI         53713                 6004                Various                                                                                                $1.00
DARRA WEINBERGER                N10450 MEADOW LN                                                 LOMIRA          WI         53048                 6002                Various                                                                                                $1.15
DARRAL ROWBURY                  3113 ISABELLA                                                    SIOUX CITY      IA         51103                 6004                Various                                                                                               $12.05
DARRAZZIO BAUMANN               413 ROCKPORT RD                                                  JANESVILLE      WI         53548                 6004                Various                                                                                                $2.00
DARREL CAMPBELL                 300 1ST AVE. SE                                                  PINE ISLAND     MN         55963                 6004                Various                                                                                                $3.06
DARREL E CUNNINGHAM             982 NE 70TH AVE                                                  SPICKARD        MO         64679                 6002                Various                                                                                                $8.44
DARREL HOUSLEY                  2297 N 1125TH E                                                  LAYTON          UT         84040                 6002                Various                                                                                                $5.95
DARREL JACOX                    2013 AVENUE I                                                    SCOTTSBLUFF     NE         69361                 6002                Various                                                                                                $9.23
DARREL LAFFERTY                 1138 GILBERT ST.                                                 NEENAH          WI         54956                 6004                Various                                                                                                $2.00
DARREL MONTGOMERY               14410 MCAULEY RD.                                                YAKIMA          WA         98908                 6004                Various                                                                                               $26.85
DARREL OLSON                    2118 NEBRASKA ST APT 5                                           SIOUX CITY      IA         51104                 6002                Various                                                                                                $8.68
DARREL WARD                     3637 W HILLCREST DR                                              COEUR D ALENE   ID         83815                 6002                Various                                                                                                $0.33
DARRELL BARRETT                 P.O. BOX 22                                                      MADISON         NE         68748                 6004                Various                                                                                               $12.98
DARRELL BILLINGS                9252 W CALICO ST                                                 BOISE           ID         83709                 6002                Various                                                                                                $1.75
DARRELL BRENKE                  1802 VIKING AVE                                                  ALBERT LEA      MN         56007                 6004                Various                                                                                                $3.06
DARRELL D DETTMAN               131 NW FRONT ST                                                  PESHTIGO        WI         54157                 6002                Various                                                                                                $0.36
DARRELL DUNCAN                  188 W 100TH S                                                    MANTUA          UT         84302                 6002                Various                                                                                                $2.14
DARRELL ELME LOGES              902 MORNINGSIDE ST                                               BOYDEN          IA         51234                 6002                Various                                                                                                $2.71
DARRELL F HILL                  9684 FAIRVIEW RD                                                 LANCASTER       WI         53813                 6002                Various                                                                                                $2.33
DARRELL IRON SHOOTER            BOX363                                                           WINNER          SD         57580                 6002                Various                                                                                                $7.10
DARRELL LEISSES                 N 4260TH HWY # 73                                                COLUMBUS        WI         53925                 6002                Various                                                                                                $2.41
DARRELL LOVELAND                143 S 300TH W                                                    BRIGHAM CITY    UT         84302                 6002                Various                                                                                                $3.86
DARRELL PALMER                  15275 WITTWER ROAD                                               SOUTH BELOIT    IL         61080                 6004                Various                                                                                               $60.00
DARRELL PETE CURTIS             204 W ORANGE ST APT 7                                            TABOR           IA         51653                 6002                Various                                                                                                $2.90
DARRELL R RAMBERG               6810 SUNRISE RD P O BOX # 23                                     HARRIS          MN         55032                 6002                Various                                                                                                $2.85
DARRELL ROBBINS                 1754 BIRCH RD APT 203                                            KENOSHA         WI         53140                 6004                Various                                                                                               $17.50
DARRELL SAGE JR                 621 SOUTH 9TH STREET                                             MONMOUTH        IL         61462                 6004                Various                                                                                               $10.00
DARRELL SCHUMACHER              1500 LAKESIDE TER APT 3                                          WATERTOWN       WI         53094                 6002                Various                                                                                                $6.90
DARRELL THIELE                  1229 SINGLE AVE                                                  WAUSAU          WI         54403                 6002                Various                                                                                                $6.36
DARRELL TUCKER                  6925 100TH AVE SE                                                CLEAR LAKE      MN         55319                 6002                Various                                                                                               $10.00
DARRELL WHITT                   308 S COTTONWOOD ST                                              JAMESPORT       MO         64648                 6002                Various                                                                                                $5.04
DARREN A BRENTWOOD              5514 RAYMOND RD                                                  MADISON         WI         53711                 6002                Various                                                                                                $6.74
DARREN ALLEY                    469 KIMBERLY DR                                                  IDAHO FALLS     ID         83401                 6002                Various                                                                                                $0.58

DARREN ANDERSON                 330 N ARLINGTON AVE APT. 703                                     DULUTH          MN         55811                  6004               Various                                                                                                $3.00
DARREN CAMERENA                 3000 VILLARD AVE TRLR 120                                        HELENA          MT         59601                  6002               Various                                                                                                $8.99
DARREN DAMON                    110 LARSON RD                                                    YAKIMA          WA         98908                  6004               Various                                                                                               $23.00
DARREN DAUPHIN                  109 W TURNBAUGH AVE                                              MOUNT CARROLL   IL         61053                  6002               Various                                                                                                $8.55




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             Creditor Name                   Address1            Address2            Address3             City        State         Zip    Country     Number                Claim                                                                             Total Claim
DARREN DOMINIACK                 208 S 8TH ST                                                     NORFOLK          NE         68701                6002                Various                                                                                             $2.08
DARREN GILBERT                   5485 N 250TH W                                                   PROVO            UT         84604                6002                Various                                                                                             $2.14
DARREN GROLEAU                   706 MULLEN STREET                                                QUINNESEC        MI         49876                6004                Various                                                                                            $10.02
DARREN KARPINEN                  57390 MINE ST                                                    CALUMET          MI         49913                6002                Various                                                                                             $5.26
DARREN MARTIUS                   30061 140TH STR                                                  LAMBERTON        MN         56152                6004                Various                                                                                             $3.00
DARREN SCOTT CONDER              9391 S 1300TH W                                                  SOUTH JORDAN     UT         84095                6002                Various                                                                                            $10.00
DARREN T JONES                   5701 ODANA RD                                                    MADISON          WI         53719                6004                Various                                                                                            $30.00
DARREN TAYLOR                    2109 MONROE ST                                                   MADISON          WI         53711                6002                Various                                                                                             $6.03
DARREN UGOLINI                   840 W. CORA AVE.           APT. C1-2                             SPOKANE          WA         99216                6004                Various                                                                                            $19.00
DARRIAN DELL                     7610 E. BALDWIN AVE.                                             SPOKANE          WA         99212                6004                Various                                                                                            $15.00
DARRICK PARKER                   2621 WEST 1ST                                                    NORTH PLATTE     NE         69101                6004                Various                                                                                             $5.00
DARRIN BEHNE                     1010 VICTORIAN LN                                                PLOVER           WI         54467                6004                Various                                                                                            $15.00
DARRIN FARRELLY                  1015 BLUE LAKE LN                                                KALISPELL        MT         59901                6002                Various                                                                                             $3.48
DARRIN JOHNSON                   1011 ORION WAY                                                   EAU CLAIRE       WI         54703                6002                Various                                                                                             $0.27
DARRIN WILSON                    PO BOX 323                                                       WEIPPE           ID         83553                6002                Various                                                                                             $3.62
DARRYL BATES                     N3655 MONROESYLVESTER RD                                         MONROE           WI         53566                6002                Various                                                                                             $9.75
DARRYL BRAUN                     N6581 HIGHWAY 67                                                 IRON RIDGE       WI         53035                6002                Various                                                                                             $8.33
DARRYL ERICKSON                  405 APLETS WAY                                                   CASHMERE         WA         98815                6004                Various                                                                                            $15.00
DARRYL SCHOCK                    201 MARY ST                                                      GRANADA          MN         56039                6002                Various                                                                                             $2.11
DARRYL SCHULTZ                   5350 CASCADE DR                                                  WEST BEND        WI         53095                6002                Various                                                                                             $0.41
DARRYL WIRKULA                   503 CO RD S                                                      GWINN            MI         49841                6002                Various                                                                                             $2.74
DARRYLE LAROCQUE                 216 CARSTEN ST SE                                                WATERTOWN        SD         57201                6002                Various                                                                                             $9.34
DARRYN POTTER                    240 E 600TH N                                                    SPANISH FORK     UT         84660                6002                Various                                                                                             $6.58
DARTAGNAN HER                    1403 S 20TH                                                      SHEBOYGAN        WI         53081                6004                Various                                                                                             $7.00
DARTON BROWN                     226 VALLEY VIEW DR APT 3                                         LANDER           WY         82520                6002                Various                                                                                             $6.82
DARVIN SEIBERT                   112 PLEASENT ST                                                  BEAVER DAM       WI         53916                6002                Various                                                                                             $0.41
DARWIN JANTZEN                   26559 ROCKFORD DR                                                BEATRICE         NE         68310                6002                Various                                                                                             $2.19
DARWIN LEE THOMAS                RR 2 BOX 6816                                                    DONIPHAN         MO         63935                6002                Various                                                                                             $2.08
DARWIN MYHRE                     N58 W23777 HASTING COURT   UNIT 20                               SUSSEX           WI         53089                6004                Various                                                                                             $5.00
DARWIN OSBORN                    135 N CANYON RD                                                  SALT LAKE CITY   UT         84103                6002                Various                                                                                             $5.40
DARWIN PURVIS                    2416 F RD                                                        OAKLAND          NE         68045                6002                Various                                                                                            $10.00
DARYL ASBURY                     PO BOX 624                                                       FISH CREEK       WI         54212                6002                Various                                                                                             $6.79
DARYL BURGARD                    803 TAYLOR DR                                                    ABERDEEN         SD         57401                6002                Various                                                                                             $8.82
DARYL HALVERSON                  107 N ERMINA AVE                                                 ALBERT LEA       MN         56007                6004                Various                                                                                             $3.00
DARYL PAYNE                      8348 BINDSEIL LN                                                 SAN ANTONIO      TX         78266                6002                Various                                                                                             $9.86
DARYL ROBERT RISTOW              4708 N CHADWICKE CT                                              APPLETON         WI         54913                6002                Various                                                                                             $0.41
DARYL TRYTTEN                    113 S JEFFERSON AVE                                              MASON CITY       IA         50401                6002                Various                                                                                             $5.26
DARYL WILCOX                     814 MAIN ST                                                      WAYNE            NE         68787                6002                Various                                                                                             $6.79
DARYL WOLD                       557 BERGEN AVENUE                                                EAU CLAIRE       WI         54703                6002                Various                                                                                            $25.09
DARYN ALDRED                     1894 SKYLINE DR                                                  OREM             UT         84097                6004                Various                                                                                            $73.00
DARYN BRUNKEN                    80276 ROAD 444                                                   BROKEN BOW       NE         68822                6002                Various                                                                                             $5.15
DARYN M DOBRAFF                  217 N GERMAN ST                                                  MAYVILLE         WI         53050                6002                Various                                                                                             $1.56
DASH ENTERPRISES INCORPORATED    PO BOX 43                                                        POWELL           WY         82435                4314                Various                                                                                          $587.40
DASH HILL                        2809 LAGUNA                                                      IDAHO FALLS      ID         83404                6004                Various                                                                                             $3.65
DASHA MAK                        8920 CTY RD F                                                    FISH CREEK       WI         54212                6002                Various                                                                                             $9.37
DATA SALES COMPANY               PO BOX 1450 NW 7305                                              MINNEAPOLIS      MN         55485-7305           4390                Various                                                                                        $18,497.65
DAUBNER FAMILY                   2129 W CUYLER AVE                                                CHICAGO          IL         60618                6002                Various                                                                                             $0.49

DAUBNER/ PAUL                    STORE 2-008                SHOPKO EMPLOYEE                       GREEN BAY        WI         54307-9060            1272               Various                                                                                               $33.60
DAVADEAN JOHNSTON                817 AUBURN AVE                                                   CHARITON         IA         50049                 6002               Various                                                                                                $1.92
DAVAN EVANS                      537 COCHRANE ST                                                  EAU CLAIRE       WI         54703                 6004               Various                                                                                                $8.00
DAVANE CHANTHAKHOUN              7415 HIGHWAY 63 N TRLR 3                                         ROCHESTER        MN         55906                 6002               Various                                                                                                $5.97
DAVE ANDERSEN                    611 E 1280TH N                                                   NORTH LOGAN      UT         84341                 6002               Various                                                                                                $0.68
DAVE BARTHEL                     N95W25344 NORWAUK RD                                             COLGATE          WI         53017                 6002               Various                                                                                                $0.82




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              Creditor Name                Address1            Address2         Address3              City       State           Zip    Country     Number                Claim                                                                             Total Claim
DAVE BENSON                    1075 MILL RD                                                  HELENA           MT         59602                  6002                Various                                                                                             $6.19
DAVE CORY                      P.O. BOX 45                                                   APPLE RIVER      IL         60001                  6004                Various                                                                                            $12.79
DAVE COTTON                    57070 LOUKUS RD                                               CALUMET          MI         49913                  6002                Various                                                                                             $9.34
DAVE DAVIS                     E3612 TANNER RD                                               OGDENSBURG       WI         54962                  6002                Various                                                                                             $1.92
DAVE DREWEK                    4061 PARTRIDGE LANE                                           MARATHON         WI         54448                  6004                Various                                                                                            $61.47
DAVE FEHR                      BOX 19                                                        SOUTH JUNCTION   MB         R0A1Y         CANADA 6002                  Various                                                                                             $0.55
DAVE GUTHRIE                   2105 S ROCKWOOD BLVD                                          SPOKANE          WA         99203                  6004                Various                                                                                            $20.00
DAVE HARBECK                   2516 PRESCOTT ST                                              SIOUX CITY       IA         51103                  6002                Various                                                                                             $6.25
DAVE HENDRICKS                 23145 530TH ST                                                CHARITON         IA         50049                  6002                Various                                                                                             $3.51
DAVE KING                      2958 RUDO                                                     OROFINO          ID         83544                  6002                Various                                                                                             $1.40
DAVE L DIESBURG                108 E HAMILTON ST APT 6                                       NEW HAMPTON      IA         50659                  6002                Various                                                                                             $9.21
DAVE LARSEN                    1433 E 2700TH S                                               SALT LAKE CITY   UT         84106                  6002                Various                                                                                             $7.48
DAVE LE CLAIR                  2137 GRANDVIEW BLVD.                                          SIOUX CITY       IA         51104                  6004                Various                                                                                            $37.50
DAVE LINTNER                   N6048 HWY 180                                                 MARINETTE        WI         54143                  6004                Various                                                                                            $25.00
DAVE MARGICANO                 2233 S EUCLID AVE                                             BOISE            ID         83705                  6666                Various                                                                                            $15.66
DAVE MCRAE                     2020W 2125 N                                                  OGDEN            UT         84404                  6004                Various                                                                                             $5.60
DAVE MOHANEY                   1013 SOUTH THOMPSON DR.                                       MADISON          WI         53716                  6004                Various                                                                                            $21.00
DAVE REVAI                     930 BERLIN ST                                                 WAUPACA          WI         54981                  6002                Various                                                                                             $6.60
DAVE VANDEHEY                  2771 SCHOOL RD                                                GREENLEAF        WI         54126                  6002                Various                                                                                             $7.56
DAVE WADE                      32464 FALCON AVE                                              STACY            MN         55079                  6002                Various                                                                                             $7.48
DAVE-ANNA LEE                  201 SABLE DR                                                  ARABI            LA         70032                  6002                Various                                                                                             $3.07
DAVEN GARDNER                  1321 KENTUCKY ST                                              RACINE           WI         53405                  6002                Various                                                                                             $8.25
DAVETTE TAYLOR                 102 KENNEDY HEIGHTS                                           MADISON          WI         53704                  6004                Various                                                                                             $2.00
DAVEY PERREAULT                26576 AMYGDALOID ST                                           CALUMET          MI         49913                  6002                Various                                                                                             $5.59
DAVID A BAKER                  71800 COUNTY ROAD 33                                          SYRACUSE         IN         46567                  6002                Various                                                                                             $8.14
DAVID A KILL                   109 1ST AVE N                                                 CHOKIO           MN         56221                  6002                Various                                                                                             $9.10
DAVID A KING                   22413 CAPRON RD                                               CAPRON           IL         61012                  6002                Various                                                                                             $1.56
DAVID A PETERSEN               1783 190TH ST                                                 AUDUBON          IA         50025                  6002                Various                                                                                             $9.42
DAVID A SHILLINGS              35 IVYWOOD DR                                                 JACKSONVILLE     IL         62650                  6002                Various                                                                                             $6.99
DAVID A. VEHLING               1033 E MAIN ST                                                WATERTOWN        WI         53094                  6002                Various                                                                                             $7.70
DAVID ALLEN SKUMATZ            1004 WASHINGTON AVE                                           OSHKOSH          WI         54901                  6002                Various                                                                                             $6.33
DAVID ALLEN SMITH              616 E ST                                                      TABOR            IA         51653                  6002                Various                                                                                             $2.19
DAVID ALLENDORFER              13930 FLOYD ST                                                OVERLAND PARK    KS         66223                  6004                Various                                                                                            $27.00
DAVID ALOIS BEYER              814 15TH ST S                                                 LA CROSSE        WI         54601                  6002                Various                                                                                             $0.58
DAVID AND YOUNG GROUP CORP     903 CASTLE RD                                                 SECAUCUS         NJ         07094                  1933                Various                                                                                        $42,174.00
DAVID ANDERSON                 729 E GORHAM ST.#2                                            MADISON          WI         53703                  6004                Various                                                                                             $2.85
DAVID ARCANGEL                 2004 JACKSON ST                                               BELLEVUE         NE         68005                  6004                Various                                                                                             $6.00
DAVID ARGALL                   940 RUFFED GROUSE ST                                          GREEN BAY        WI         54311                  6002                Various                                                                                             $0.44
DAVID ARKINS                   923 S MINNESOTA AVE                                           ST PETER         MN         56088                  6002                Various                                                                                             $1.01
DAVID ARRIAGA                  941 E AIRPORT RD                                              MENASHA          WI         54952                  6004                Various                                                                                             $4.00
DAVID ATCHISON                 415 E HINMAN                                                  MANCELONA        MI         49659                  6002                Various                                                                                             $0.36
DAVID AYERS                    PO BOX 739                                                    FISH CREEK       WI         54212                  6002                Various                                                                                             $6.11
DAVID BADILLA                  18 TILBURY CT                                                 APPLETON         WI         54913                  6002                Various                                                                                             $4.22
DAVID BARNETT                  #8 MEEKS CT.                                                  OROFINO          ID         83544                  6002                Various                                                                                             $1.15
DAVID BARNHART                 680 JOHNSON AVE SW                                            COKATO           MN         55321                  6002                Various                                                                                             $2.93
DAVID BARTKOWIAK               447 MILL VALLEY ROAD                                          PALATINE         IL         60074                  6004                Various                                                                                            $20.00
DAVID BASKIN                   400 N DALLAS PLAZA                                            KEMP             TX         75143                  6002                Various                                                                                             $1.32
DAVID BATTIGE                  717 MAIN STREET                                               REDGRANITE       WI         54970                  6002                Various                                                                                            $12.79
DAVID BAUER                    601 N WALNUT AVE APT 1101                                     FREEPORT         IL         61032                  6002                Various                                                                                             $4.68
DAVID BEECHER                  1610 JAMES ST                                                 PLATTSMOUTH      NE         68048                  6002                Various                                                                                             $7.73
DAVID BEECK                    205 OCONNOR STREET          PO BOX 873                        LAKEFIELD        MN         56150                  6004                Various                                                                                             $5.85
DAVID BEHNKE-SEPER             8642 COUNTY ROAD V                                            CHILI            WI         54420                  6002                Various                                                                                             $0.60
DAVID BELL                     504 N 22ND ST TRLR 12                                         PLATTSMOUTH      NE         68048                  6002                Various                                                                                             $5.97




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                                                                                                                                                                                             Contingent


                                                                                                                                                                                                                         Disputed
                                                                                                                                                    Last 4 Digits of     Date Debt was
                                                                                                                                                       Account         Incurred, Basis for
             Creditor Name              Address1                  Address2          Address3            City        State           Zip   Country      Number                Claim                                                                             Total Claim

DAVID BERGEY                  2748 PLUM VALLEY RD PO # 101                                       KALKASKA         MI        49646                   6002               Various                                                                                                $1.59
DAVID BERTHIAUME              1555 W 8600TH S                                                    WEST JORDAN      UT        84088                   6002               Various                                                                                                $7.59
DAVID BIAS                    400 THELMA ST APT 12                                               BROKEN BOW       NE        68822                   6002               Various                                                                                                $3.73
DAVID BICKFORD                59 E 14TH ST                                                       CLINTONVILLE     WI        54929                   6002               Various                                                                                                $3.53
DAVID BIRDWELL                RR 1 BOX 1867                                                      LEWISTOWN        MT        59457                   6002               Various                                                                                                $0.47
DAVID BIRR                    616 RIVER DR                                                       MAYVILLE         WI        53050                   6002               Various                                                                                                $0.55
DAVID BLACK                   380 CHATEAU DR                                                     IDAHO FALLS      ID        83404                   6002               Various                                                                                                $3.70
DAVID BOOTH                   142 JANELL AVE                                                     LA CRESCENT      MN        55947                   6002               Various                                                                                                $4.11
DAVID BREMER                  6473 110TH STREET                                                  OCHEYEDAN        IA        51354                   6002               Various                                                                                               $17.26
DAVID BRENNA                  700 LEROY LN                                                       RIVER FALLS      WI        54022                   6004               Various                                                                                               $11.52
DAVID BREWER                  399 E 2700 N                                                       NORTH LOGAN      UT        84341                   6004               Various                                                                                               $35.00
DAVID BROITZMAN               PO BOX 881                                                         ALBERT LEA       MN        56007                   6002               Various                                                                                                $1.84
DAVID BROWN                   619 W WALNUT ST                APT 306                             SISSETON         SD        57262                   6004               Various                                                                                               $61.74
DAVID BULL                    966 COPPENS RD                                                     GREEN BAY        WI        54303                   6002               Various                                                                                                $1.21
DAVID BURLINGHAM              W2951 SCHUMACHER RD                                                MALONE           WI        53049                   6002               Various                                                                                                $6.52
DAVID BYRD                    W8091 ALP LN                                                       WILD ROSE        WI        54984                   6002               Various                                                                                                $6.44
DAVID C PETERSON              941 22ND ST SE                                                     ROCHESTER        MN        55904                   6002               Various                                                                                                $6.11
DAVID CAMPSURE                3435 E. RIVER DRIVE                                                GREEN BAY        WI        54301                   6004               Various                                                                                               $15.00
DAVID CHACHANKO               4513 S GLENVIEW RD                                                 SIOUX FALLS      SD        57103                   6004               Various                                                                                               $17.00
DAVID CHEATUM                 86799 521ST AVENUE                                                 ROYAL            NE        68773                   6002               Various                                                                                               $66.38
DAVID CHERRY                  1412 WHIPPLE ST.                                                   EAU CLAIRE       WI        54703                   6004               Various                                                                                                $4.01
DAVID CHIARINI                2615 25TH ST NW                                                    ROCHESTER        MN        55901                   6002               Various                                                                                                $8.19
DAVID CLAYTON                 2033 S 160TH ST                                                    OMAHA            NE        68130                   6002               Various                                                                                                $3.45
DAVID CLEGG                   PO BOX 362                                                         HORTONVILLE      WI        54944                   6002               Various                                                                                                $9.84
DAVID COBURN                  3964 W 4100TH N                                                    MACKAY           ID        83251                   6002               Various                                                                                                $6.63
DAVID CONNOR                  1501 MADISON ST                                                    BELLEVUE         NE        68005                   6002               Various                                                                                                $6.47
DAVID COOK                    7855 INDIAN LORE RD            14                                  WEST BEND        WI        53090                   6004               Various                                                                                               $23.22
DAVID COOLEY                  160 RIVERVIEW DR                                                   KALISPELL        MT        59901                   6002               Various                                                                                                $4.16
DAVID COPPO                   58676 US HIGHWAY 41                                                CALUMET          MI        49913                   6002               Various                                                                                                $6.36
DAVID CORWIN                  PO BOX 1642                                                        E HELENA         MT        59635                   6004               Various                                                                                               $16.02
DAVID COX                     1620 MT HIGHWAY 35                                                 KALISPELL        MT        59901                   6002               Various                                                                                                $7.07
DAVID CROSS                   315 1/2 N PRAIRIE ST                                               CHIPPEWA FALLS   WI        54729                   6002               Various                                                                                                $3.32
DAVID CROVETTI                W4053 SCENIC RD                                                    CAMPBELLSPORT    WI        53010                   6004               Various                                                                                               $26.00
DAVID D KAUFFMAN              101 S MAIN ST                                                      MOULTON          IA        52572                   6002               Various                                                                                                $4.11
DAVID D KLEINSASSER           3006 13TH ST S                                                     GREAT FALLS      MT        59405                   6002               Various                                                                                                $9.37
DAVID D. TAYLOR               227 W 5500TH S                                                     OGDEN            UT        84405                   6002               Various                                                                                                $7.48
DAVID DAHLBERG                416 7TH ST E                                                       GLENCOE          MN        55336                   6004               Various                                                                                               $20.40
DAVID DANIEL                  9879 ROSECROFT CT #102                                             BOISE            ID        83704                   6004               Various                                                                                                $6.50
DAVID DANIELS                 4207 MADISON ST                                                    QUINCY           IL        62301                   6002               Various                                                                                                $5.42
DAVID DANTONO                 311 WASHINGTON ST                                                  ALMENA           KS        67622                   6002               Various                                                                                                $2.19
DAVID DAVIS                   5327 55TH AVE                                                      KENOSHA          WI        53144                   6004               Various                                                                                                $5.42
DAVID DEMERS                  PO BOX 275                                                         HOPE             ID        83836                   6002               Various                                                                                                $5.45
DAVID DOHERTY                 2450 SHADOWVIEW CR                                                 PLOVER           WI        54467                   6002               Various                                                                                                $2.55
DAVID DOMBEK                  1903 CEIL ST                                                       LITTLE CHUTE     WI        54140                   6004               Various                                                                                               $30.00
DAVID DOMINGUEZ               1619 CLARY ST                                                      WORTHINGTON      MN        56187                   6004               Various                                                                                               $23.00
DAVID DOSTAL                  1638 23 1/2 AVE                                                    RICE LAKE        WI        54868                   6004               Various                                                                                               $10.00
DAVID DR. POWERS              423 RIVER BLUFF DR                                                 DIXON            IL        61021                   6002               Various                                                                                                $4.88
DAVID DRZAIC                  1324 S 35TH AVE                                                    OMAHA            NE        68105                   6004               Various                                                                                               $17.50
DAVID DUCHAINE                335 N BROADWAY AVE                                                 COKATO           MN        55321                   6002               Various                                                                                                $1.26
DAVID DUNLAVY                 E7693 HIGHWAY # C                                                  CLINTONVILLE     WI        54929                   6002               Various                                                                                                $2.93
DAVID DUNN                    1431 ELIZABETH BLVD                                                TWIN FALLS       ID        83301                   6004               Various                                                                                               $20.75
DAVID DUTRO                   2828 HUCKLEBERRY B                                                 OROFINO          ID        83544                   6002               Various                                                                                                $7.12
DAVID E MCINTYRE              670 N MAIN ST                                                      ROSEVILLE        IL        61473                   6002               Various                                                                                                $5.73




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DAVID E MORGAN                 1119 LISBON ST                                                   WATERTOWN          WI         53098                 6002                Various                                                                                                $6.88
DAVID EDWARD JOHNSON           4711 EVERBREEZE CIR UNIT C                                       APPLETON           WI         54913                 6002                Various                                                                                                $5.56
DAVID EHLERT                   1125 N PARK ST                                                   FAIRMONT           MN         56031                 6002                Various                                                                                                $9.07
DAVID EKERN                    16648 S 12TH ST                                                  GALESVILLE         WI         54630                 6002                Various                                                                                                $7.29
DAVID ELMQUIST                 116 RIVERVIEW 3E                                                 GREAT FALLS        MT         59404                 6004                Various                                                                                               $24.00
DAVID ERICKSON                 6882 108TH AVE                                                   CLEAR LAKE         MN         55319                 6004                Various                                                                                               $23.00
DAVID ESPARZA                  PO BOX 42                                                        BROOTEN            MN         56316                 6002                Various                                                                                                $9.21
DAVID ESSE                     1810 2ND AVE SE                                                  AUSTIN             MN         55912                 6002                Various                                                                                                $9.81
DAVID EVANS                    1138 MAYER ST                                                    MENASHA            WI         54952                 6002                Various                                                                                                $5.42
DAVID F SMITH                  708 S LAKE AVE                                                   PHILLIPS           WI         54555                 6002                Various                                                                                                $3.73
DAVID FANK                     719 S VAN BUREN AVE                                              MASON CITY         IA         50401                 6002                Various                                                                                                $2.71
DAVID FARLINGER                188 PENNY LANE                                                   LEROY              MN         55951                 6004                Various                                                                                               $20.00
DAVID FENTRESS                 809 ELLA ST                                                      BEATRICE           NE         68310                 6002                Various                                                                                                $2.30
DAVID FINLEY                   53861 270TH ST.                                                  LANSING            MN         55950                 6004                Various                                                                                                $6.00
DAVID FINNELL                  303 N MAIN ST                                                    MITCHELL           SD         57301                 6004                Various                                                                                               $27.00
DAVID FLICK                    11769 SHELBURNE ST                                               CALDWELL           ID         83605                 6004                Various                                                                                                $5.00
DAVID FLOWER                   768 8TH AVE                                                      GRAFTON            WI         53024                 6002                Various                                                                                                $5.75
DAVID FLYNN                    4124 SE PARDEE ST APT B                                          PORTLAND           OR         97202                 6002                Various                                                                                                $0.96
DAVID FRANK                    W10184 CTY TK FF                                                 RIVER FALLS        WI         54022                 6002                Various                                                                                                $2.88
DAVID G THOMPSON               308 SPRUCE AVE                                                   CAMERON            WI         54822                 6002                Various                                                                                                $8.25
DAVID GALDICK                  1217 N 23RD ST                                                   MANITOWOC          WI         54220                 6002                Various                                                                                                $2.08
DAVID GERBENSKEY               811 DIVISION STREET                                              WAUSAUKEE          WI         54177                 6004                Various                                                                                               $12.50
DAVID GERBITZ                  2314 AVENUE L APT 4                                              GOTHENBURG         NE         69138                 6002                Various                                                                                                $9.21
DAVID GILLETTE                 3086 SEAFARER WAY                                                SUAMICO            WI         54173                 6002                Various                                                                                                $6.22
DAVID GINK                     1039 LINCOLN DR E.                                               WEST BEND          WI         53095                 6004                Various                                                                                               $10.00
DAVID GORDON                   321 WEST PUALSKI ST                                              PULASKI            WI         54162                 6004                Various                                                                                                $1.45

DAVID GORSKI                   5811 SCHROEDER DRIVE                                             WISCONSIN RAPIDS   WI         54494                  6004               Various                                                                                               $50.00
DAVID GRAHAM                   1747 GOLF BRIDGE DR APT 8                                        NEENAH             WI         54956                  6002               Various                                                                                                $8.58
DAVID GROSENICK                N9656 OAK HILL RD                                                WATERTOWN          WI         53094                  6002               Various                                                                                                $7.07
DAVID GUITTERREZ               PARK VILLA                                                       GOTHENBURG         NE         69138                  6002               Various                                                                                               $16.36
                               309 W. WASHINGTON AVE UNIT
DAVID GULLICKSON               705                                                              MADISON            WI         53703                  6004               Various                                                                                               $30.00
DAVID GUSTAFSON                762 E 125 N                                                      OREM               UT         84058                  6004               Various                                                                                               $25.00
DAVID GUTIERREZ                2016 N18TH STREET                                                SHEBOYGAN          WI         53081                  6004               Various                                                                                               $42.00
DAVID HAGUE                    229 FELAN GULTCH                                                 DRUMMOND           MT         59832                  6002               Various                                                                                                $4.05
DAVID HALSNE                   4985 COUNTY ROAD 4 SW                                            COKATO             MN         55321                  6002               Various                                                                                                $8.74
DAVID HAMMERS                  1800 CROOKED AVE                                                 HOLMEN             WI         54636                  6002               Various                                                                                                $6.99
DAVID HANSEN                   602 NORTHERN HILLS DR NE     APT 87                              ROCHESTER          MN         55906                  6004               Various                                                                                               $29.92
DAVID HANSON                   120 8TH ST E                                                     JASPER             MN         56144                  6002               Various                                                                                                $5.34
DAVID HARINGS                  4311 DANBURY LN                                                  RACINE             WI         53403                  6002               Various                                                                                                $2.03
DAVID HARSWICK                 1968 BELLVUE ST APT 4                                            GREEN BAY          WI         54311                  6002               Various                                                                                                $1.40
DAVID HEINDEL                  922 WHITE PINE AVE                                               DE PERE            WI         54115                  6002               Various                                                                                                $0.36
DAVID HENNESSEY                245 E WOLCOTT ST                                                 JACKSONVILLE       IL         62650                  6002               Various                                                                                                $8.90
DAVID HICKS                    1315 43RD ST NE                                                  WATERTOWN          SD         57201                  6004               Various                                                                                                $9.01
DAVID HINTEN                   1221 N JEFFERSON AVE                                             MASON CITY         IA         50401                  6002               Various                                                                                                $3.86
DAVID HOLLENBECK               78761 500TH ST                                                   HECTOR             MN         55342                  6002               Various                                                                                                $9.62
DAVID HOLMAN                   7256 N FREEZE OUT CRT                                            COEUR D ALENE      ID         83815                  6004               Various                                                                                               $11.30
DAVID HOOPER                   1246 BIG PINE LANE                                               MISSOULA           MT         59802                  6004               Various                                                                                               $15.00
DAVID HOPF                     906 S UNIVERSITY AVE                                             BEAVER DAM         WI         53916                  6002               Various                                                                                                $2.85
DAVID HOPPENJAN                307 HILL STREET                                                  DARLINGTON         WI         53530                  6004               Various                                                                                               $25.00
DAVID HOWAK                    7100 HOLMES PARK ROAD        APT 205                             LINCOLN            NE         68506                  6004               Various                                                                                               $52.00
DAVID HUCKSTEP                 1917 SHERWOOD AVE SE                                             GRAND RAPIDS       MI         49506                  6004               Various                                                                                               $19.99
DAVID HUGGINS                  6711 LAUREL AVENUE                                               OMAHA              NE         68104                  6004               Various                                                                                               $97.00




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DAVID HUGHES                      3606 DRYDEN DR.                                              MADISON           WI         53704                6004                Various                                                                                             $2.50
DAVID HUMMEL                      3440 11TH AVE S                                              GREAT FALLS       MT         59405                6002                Various                                                                                             $3.18
DAVID HUNEYCUTT                   108 HARPETH HILLS DR                                         FRANKLIN          TN         37069                6004                Various                                                                                            $55.00
DAVID HUNTER                      812 BRENTWOOD CIRCLE                                         RIVER FALLS       WI         54022                6004                Various                                                                                             $6.90
DAVID ISRAEL                      802 W COLLEGE AVE                                            JACKSONVILLE      IL         62650                6002                Various                                                                                            $10.00
DAVID J BERNARD                   421 7TH AVE E                                                SISSETON          SD         57262                6002                Various                                                                                             $7.29
DAVID J FRANK LANDSCAPE CONTRA    PO BOX 70                                                    GERMANTOWN        WI         53022-0070           1281                Various                                                                                         $1,788.86
DAVID J GINGERICH                 19041 180TH ST                                               BLOOMFIELD        IA         52537                6002                Various                                                                                             $4.27
DAVID J GRANGER                   1225 DODGE ST                                                KEWAUNEE          WI         54216                6002                Various                                                                                             $3.81
DAVID J HULTGREN                  PO BOX 25                                                    SNYDER            NE         68664                6002                Various                                                                                             $6.77

DAVID J KORTHALS                  1065 WESTPORT DR APT 144                                     PORT WASHINGTON   WI         53074                 6002               Various                                                                                                $2.68
DAVID J MCNURLIN                  1548 W WILBUR AVE                                            COEUR D ALENE     ID         83815                 6002               Various                                                                                                $7.86
DAVID J SMITH                     N2418 18TH AVE                                               WAUTOMA           WI         54982                 6002               Various                                                                                                $3.26
DAVID JAKE                        4213 54TH AVE                                                KENOSHA           WI         53144                 6002               Various                                                                                                $8.33
DAVID JOHNSON                     N12584 KOSER AVE                                             STANLEY           WI         54768                 6002               Various                                                                                                $2.08
DAVID JORGENSON                   1228 LAKE ST                                                 WAUBAY            SD         57273                 6004               Various                                                                                               $13.26
DAVID KAISER                      BOX 72                                                       ALVA              WY         82711                 6002               Various                                                                                                $3.73
DAVID KASPER                      216 CLIFF ST.                                                CHIPPEWA FALLS    WI         54729                 6004               Various                                                                                               $23.84
DAVID KERSTEN                     408 3RD AVE SE                                               AUSTIN            MN         55912                 6004               Various                                                                                               $35.00
DAVID KIDNER                      1514 SANDY LN                                                WATERTOWN         WI         53098                 6004               Various                                                                                                $9.99
DAVID KINJERSKI                   3531 KROK RD                                                 KEWAUNEE          WI         54216                 6002               Various                                                                                                $0.93
DAVID KLINE                       11376 WEST CARNAHAN                                          ZION              IL         60099                 6004               Various                                                                                               $10.00
DAVID KNEPEL                      1957 THREE BEAR RD                                           KENDRICK          ID         83537                 6002               Various                                                                                                $3.10
DAVID KOBER                       1716 29 STREET                                               KENOSHA           WI         53140                 6004               Various                                                                                                $9.00
DAVID KOEPP                       1917 MICHIGAN ST                                             OSHKOSH           WI         54902                 6002               Various                                                                                                $0.33
DAVID KOHLS                       103 1/2 HERSCHEL, ST                                         CHIPPEWA FALLS    WI         54729                 6004               Various                                                                                                $9.97
DAVID KONOPACKI                   3651 HAGA DR                                                 PLOVER            WI         54467                 6002               Various                                                                                                $8.36
DAVID KORTH                       2601 S PEACH AVE                                             MARSHFIELD        WI         54449                 6002               Various                                                                                                $1.92
DAVID KRAMER                      N5428 24TH. AV. LOT 212                                      WILD ROSE         WI         54984                 6004               Various                                                                                               $20.04
DAVID KUEHN                       1010 10 1/2 ST SE          APT 2                             ROCHESTER         MN         55904                 6004               Various                                                                                                $9.00
DAVID L PETERSEN                  205 W HARRISON ST                                            EXIRA             IA         50076                 6002               Various                                                                                                $2.96
DAVID L THOMAS                    13985 W CHATSWORTH CT                                        BOISE             ID         83713                 6002               Various                                                                                                $4.66
DAVID L YOUNT                     1051 E DIVISION ST                                           SAINT CLOUD       MN         56304                 6002               Various                                                                                                $6.93
DAVID LAGUNAS-FERNAN JR           1305 15TH AVE                                                BELVIDERE         IL         61008                 6004               Various                                                                                                $3.90
DAVID LANE                        2677 HUMBOLT RD APT 19                                       GREEN BAY         WI         54311                 6004               Various                                                                                               $45.97
DAVID LARSEN                      15852 US HIGHWAY 85                                          BELLE FOURCHE     SD         57717                 6002               Various                                                                                                $9.48
DAVID LATHROP                     305 QUARTERLINE ST                                           NEWAYGO           MI         49337                 6002               Various                                                                                                $1.64
DAVID LAUGHLIN                    501 N MECHANIC ST                                            ALBANY            WI         53502                 6004               Various                                                                                                $2.00
DAVID LEATHERMAN                  2801 MONTCLAIRE PLACE                                        OSHKOSH           WI         54904                 6004               Various                                                                                               $25.00
DAVID LESTER FORSBERG             1604 28TH AVE                                                MENOMINEE         MI         49858                 6002               Various                                                                                                $3.23
DAVID LLOYD                       302 N 40 E                                                   SANTAQUIN         UT         84655                 6004               Various                                                                                               $35.00
DAVID LOCKLEAR                    3390 CANYON DR UNIT E3                                       BILLINGS          MT         59102                 6002               Various                                                                                                $6.33
DAVID LOMES                       PO # 627                                                     HANCOCK           MI         49930                 6002               Various                                                                                                $5.92
DAVID LORENTZ                     203 CHATHAM ST                                               BEAVER DAM        WI         53916                 6002               Various                                                                                                $9.48
DAVID LYNCH                       3 VALLEY RD                                                  BELOIT            WI         53511                 6004               Various                                                                                               $25.00
DAVID M AUSLOOS                   3309 E EDGEMERE DR APT 1                                     APPLETON          WI         54915                 6002               Various                                                                                                $0.38
DAVID M KURTH                     11976 MINK RIVER RD                                          ELLISON BAY       WI         54210                 6002               Various                                                                                                $7.73
DAVID M SCHNELLBACHER             513 HAMPSHIRE ST APT 308                                     QUINCY            IL         62301                 6002               Various                                                                                                $4.63
DAVID M WHATLEY                   38725 12TH AVE TRLR 43                                       NORTH BRANCH      MN         55056                 6002               Various                                                                                                $4.30
DAVID MAAS                        312 19TH AVE NE                                              WASECA            MN         56093                 6004               Various                                                                                               $30.18
DAVID MAGANA                      1552 COLLEGEWAY APT 5                                        WORTHINGTON       MN         56187                 6002               Various                                                                                                $8.82
DAVID MARKS                       N1259 CTY RD N                                               NESHKORO          WI         54960                 6002               Various                                                                                                $8.52
DAVID MARQUARDT                   9443 TOWNLINE RD                                             LARSEN            WI         54947                 6002               Various                                                                                                $5.37




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                                                                                                                                                                                            Contingent


                                                                                                                                                                                                                        Disputed
                                                                                                                                                   Last 4 Digits of     Date Debt was
                                                                                                                                                      Account         Incurred, Basis for
             Creditor Name               Address1               Address2          Address3             City         State           Zip   Country     Number                Claim                                                                             Total Claim
DAVID MARTIN                  W2150 EDDY RD                                                    CURTISS           WI         54422                 6002                Various                                                                                               $11.65
DAVID MATTSEN                 452 1ST AVE                                                      BIRNAMWOOD        WI         54414                 6002                Various                                                                                                $6.85
DAVID MCGUIRE                 2008 E BARABOO CIR                                               DE PERE           WI         54115                 6002                Various                                                                                                $3.40
DAVID MCLEAN                  442 SIDNEY STREET                                                MADISON           WI         53703                 6004                Various                                                                                               $25.00
DAVID MCQUAIN                 1513 MAGNOLIA STREET                                             LACEY             WA         98503                 6004                Various                                                                                                $1.40

DAVID MCSHERRY                5715 PLEASANT HOLLOW TRAIL                                       SHEPHERD          MT         59079                  6004               Various                                                                                               $30.00
DAVID MEASE                   3011 PERU RD                                                     TRURO             IA         50257                  6002               Various                                                                                                $5.92

DAVID MEEUWSEN                1034 N WEBSTER ST                                                PORT WASHINGTON   WI         53074                  6002               Various                                                                                                $3.40
DAVID MEURETT                 3376 ALDER ST                                                    STEVENS POINT     WI         54481                  6004               Various                                                                                               $10.00
DAVID MIELKE                  3756 COUNTY ROAD A                                               OCONTO            WI         54153                  6004               Various                                                                                               $56.00
DAVID MILLER                  92 MANET RD                                                      CHESTNUT HILL     MA         02467                  6004               Various                                                                                               $55.33
DAVID MILLIRON                3833 N GALAXY LN                                                 SIOUX FALLS       SD         57107                  6002               Various                                                                                                $8.11
DAVID MILLS                   407 S 600 W                                                      BRIGHAM CITY      UT         84302                  6004               Various                                                                                               $20.00
DAVID MOGA                    25357 385TH AVE                                                  AITKIN            MN         56431                  6002               Various                                                                                                $2.66
DAVID MONGIELLO               1265 RIVERBEND DR                                                DOUGLAS           WY         82633                  6002               Various                                                                                                $3.81
DAVID MOORE                   8 LASAR DR                                                       GLASGOW           MT         59230                  6002               Various                                                                                                $8.99
DAVID MOSER                   8615 BIRCH SPRING ROAD                                           SAYNER            WI         54560                  6004               Various                                                                                               $65.00
DAVID MULLINS                 33943 SETTLERS LN                                                LENORE            ID         83541                  6002               Various                                                                                                $2.91
DAVID MUSE                    5075 SPYGLASS HILL APT 2703                                      LAS VEGAS         NV         89142                  6004               Various                                                                                               $24.65
DAVID NAU                     1878 CENTENNIAL BLVD                                             SARATOGA SPRING   UT         84045                  6002               Various                                                                                                $9.62
DAVID NEIGHBORS               312 S 8TH ST                                                     COUNCIL BLUFFS    IA         51501                  6002               Various                                                                                                $2.16
DAVID NELSON                  610 N COTTAGE GROVE AVE                                          LUVERNE           MN         56156                  6002               Various                                                                                                $3.29
DAVID NICHOLS                 14073 JULIEN CV.                                                 BLUFFDALE         UT         84065                  6004               Various                                                                                               $47.00
DAVID NIEDFELDT               918 N 21ST ST                                                    BEATRICE          NE         68310                  6002               Various                                                                                                $1.73
DAVID NIEMELA                 648 JOPLING ST                                                   ISHPEMING         MI         49849                  6004               Various                                                                                               $25.00
DAVID NUNEZ                   2735 E 46TH                                                      SPOKANE           WA         99223                  6004               Various                                                                                                $2.00
DAVID OLSON                   221 SHERRY ST                                                    NEENAH            WI         54956                  6002               Various                                                                                                $8.55
DAVID ORR                     1615 CHARLOTT AVE                                                MISSOULA          MT         59801                  6002               Various                                                                                                $2.16
DAVID OTT                     919 5TH ST                                                       HUMBOLDT          NE         68376                  6002               Various                                                                                                $3.84
DAVID P GERMAN                N1035 COUNTY ROAD D                                              OWEN              WI         54460                  6002               Various                                                                                                $5.42
DAVID PEREZ                   P.O. BOX 3434                                                    KALISPELL         MT         59903                  6004               Various                                                                                                $3.40
DAVID PERRY                   2260 TASMAN                                                      IDAHO FALLS       ID         83404                  6004               Various                                                                                               $23.00
DAVID PESINA                  2258 MILL RD                                                     SISTER BAY        WI         54234                  6002               Various                                                                                                $3.73
DAVID POMPA                   2132 TWIN PINES LANE                                             IDAHO FALLS       ID         83401                  6004               Various                                                                                                $3.65
DAVID POOLE                   923 10TH AVE                                                     HELENA            MT         59601                  6002               Various                                                                                                $2.55
DAVID PORTER                  215 N 100TH W                                                    TREMONTON         UT         84337                  6002               Various                                                                                                $9.18
DAVID PUEPPKE                 4310 MERIDETH                                                    LINCOLN           NE         68506                  6002               Various                                                                                                $9.67
DAVID QUISTORF                1416 HAMANN RD                                                   MANITOWOC         WI         54220                  6004               Various                                                                                               $25.00
DAVID R DOBBS                 425 STURGES ST                                                   COLUMBUS          WI         53925                  6002               Various                                                                                                $4.05
DAVID R PRICE                 2844 5TH ST                                                      EAU CLAIRE        WI         54703                  6002               Various                                                                                                $3.62
DAVID RAETHER                 1643 S GRANT AVE                                                 JANESVILLE        WI         53546                  6004               Various                                                                                               $18.00
DAVID RAMIREZ                 1630 N 9TH ST                 APT 56                             LINCOLN           NE         68508                  6004               Various                                                                                                $4.00
DAVID RASMUSSEN               1704 W 860 S                                                     OREM              UT         84058                  6004               Various                                                                                               $19.99
DAVID REESE                   425 N WASSON LN                                                  RIVER FALLS       WI         54022                  6002               Various                                                                                                $9.95
DAVID REEVES                  970 W FETTERMAN ST UNIT B                                        BUFFALO           WY         82834                  6002               Various                                                                                                $3.53
DAVID REICH                   628 9TH ST NW                                                    MASON CITY        IA         50401                  6002               Various                                                                                                $2.99
DAVID REITZ                   8988 KOLB ROAD                                                   BERLIN            WI         54923                  6004               Various                                                                                                $5.20
DAVID REYES                   414 BLUFF AVE                                                    SHEBOYGAN         WI         53081                  6004               Various                                                                                               $82.00
DAVID RICHARDSON              978 BLUFF AVE                                                    SAINT CHARLES     MN         55972                  6004               Various                                                                                                $3.00
DAVID RICO                    20240 REED LN #A103                                              BEND              OR         97701                  6004               Various                                                                                               $20.00
DAVID RING                    6375 IRVING DR                                                   SUN PRARIE        WI         53590                  6004               Various                                                                                                $5.00
DAVID ROBERTS                 1317 SHERMAN ST                                                  WAUSAU            WI         54401                  6004               Various                                                                                                $1.00




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DAVID ROBINSON                 16068 N RADIAN RD                                              RATHDRUM          ID         83858                  6004                Various                                                                                                $2.14
DAVID RODRIGUEZ                1209 FERN ST                                                   NAMPA             ID         83686                  6004                Various                                                                                               $11.37
DAVID ROGERS                   5413-58 AVE                                                    KENOSHA           WI         53144                  6004                Various                                                                                               $17.00
DAVID ROGNE                    3732 PATTI DR                                                  PLOVER            WI         54467                  6004                Various                                                                                               $23.00
DAVID RONNIE                   507 5TH ST SE APT 44                                           GLENWOOD          MN         56334                  6002                Various                                                                                                $2.08
DAVID ROSSIGNOL                1908 S. 41ST AVE.                                              YAKIMA            WA         98903                  6004                Various                                                                                                $2.00
DAVID RUEDEN                   209 N 2ND AVE                                                  ABBOTSFORD        WI         54405                  6002                Various                                                                                                $4.22
DAVID RUSCHER                  1823 KANE STREET                                               LACROSSE          WI         54603                  6004                Various                                                                                                $4.00
DAVID RYAN                     114 COUNTRY CLUB PL                                            TRENTON           MO         64683                  6002                Various                                                                                                $8.11
DAVID SALICK                   611 CRYSTAL AVE #2                                             LOGAN             UT         84321                  6004                Various                                                                                                $9.99
DAVID SAUTTER                  1012 BIRDIE BLVD                                               CAIRO             NE         68824                  6002                Various                                                                                                $6.58
DAVID SAWYER                   12380 STATE ROAD 42                                            ELLISON BAY       WI         54210                  6002                Various                                                                                                $7.89
DAVID SCHENDEL                 112 4TH AVE SE                                                 SAINT STEPHEN     MN         56375                  6004                Various                                                                                                $2.40
DAVID SCHILTZ                  115 HODGEMAN AVE                                               FAIRMONT          MN         56031                  6002                Various                                                                                                $2.19
DAVID SCHMITZ                  16040 GEBHARDT RD                                              BROOKFIELD        WI         53005                  6002                Various                                                                                                $6.41
DAVID SCHOTT                   961 GAY DR.                                                    NEENAH            WI         54956                  6004                Various                                                                                               $23.00
DAVID SCHUTTE                  1925 JEFFERSN ST           APT D                               DULUTH            MN         55812                  6004                Various                                                                                                $3.00
DAVID SCHWARTZ                 333 E DOTY AVE                                                 NEENAH            WI         54956                  6002                Various                                                                                                $9.62
DAVID SCIBORSKI                2614 JACKSON ST                                                LA CROSSE         WI         54601                  6002                Various                                                                                                $6.25
DAVID SESSIONS                 1221 GREENHILL DR                                              WAUSAU            WI         54401                  6004                Various                                                                                                $9.00
DAVID SIBLEY                   PO BOX 142                                                     HERMAN            MN         56248                  6002                Various                                                                                                $9.64
DAVID SILER                    1035 WILDER AVE                                                HELENA            MT         59601                  6002                Various                                                                                                $5.84
DAVID SIMON                    210 WEST DIVISON                                               SHANNON           IL         61078                  6004                Various                                                                                               $20.00
DAVID SIMS                     W6135 VALLEY PL                                                HOLMEN            WI         54636                  6002                Various                                                                                                $8.03
DAVID SLACK                    533 E ALLOUEZ AVE                                              GREEN BAY         WI         54301                  6004                Various                                                                                               $15.00
DAVID SMALE                    1922 COUNTY ROAD NN                                            ELKHORN           WI         53121                  6002                Various                                                                                               $65.18
DAVID SMALL                    2015 MELODY CIR                                                MISSOURI VALLEY   IA         51555                  6002                Various                                                                                                $4.49
DAVID SMITH                    3998 FRANKLIN BLVD # 18                                        SPRINGFIELD       OR         97478                  6004                Various                                                                                               $57.14
DAVID SNIEG                    N7278 CO RD O                                                  RIVER FALLS       WI         54022                  6004                Various                                                                                                $1.02
DAVID SOBESKI                  618 EAST COUNTRYSIDE DR.                                       EVANSVILLE        WI         53536                  6004                Various                                                                                               $60.16
DAVID SPARAPANI                102 OLD ORCHARD LN.                                            NEENAH            WI         54956                  6004                Various                                                                                               $25.00
DAVID SPETH                    1015 W HIGHWAY 218                                             SMITHFIELD        UT         84335                  6002                Various                                                                                                $9.48
DAVID SPRINGER                 110 23RD ST N                                                  LA CROSSE         WI         54601                  6002                Various                                                                                                $6.12
DAVID SR ROG FRIDAY            N4863 WAUPACA ST                                               PINE RIVER        WI         54965                  6002                Various                                                                                                $3.92
DAVID STAHL                    412 W MILWAUKEE AVE                                            FORT ATKINSON     WI         53538                  6004                Various                                                                                               $20.00
DAVID STARCKE                  3629 SO RICHFIELD CIRCLE                                       SALT LAKE CITY    UT         84120                  6004                Various                                                                                               $39.47
DAVID STEVENSON                2602 RUSTIC MEADOWS CIR                                        SOUTH JORDAN      UT         84095                  6002                Various                                                                                                $0.38
DAVID STRAND                   301 MAPLE ST.              BOX 147                             CLEVELAND         MN         56017                  6004                Various                                                                                                $3.00
DAVID STRECKER                 2030 CTY RD C                                                  RUDOLPH           WI         54475                  6002                Various                                                                                                $1.62
DAVID STRITTMATER              1241 MOORINGS DR                                               LA CROSSE         WI         54603                  6002                Various                                                                                                $3.42
DAVID STRUCK                   301 E ALLYN ST                                                 JANESVILLE        MN         56048                  6002                Various                                                                                                $4.75
DAVID STUBNER                  701 VIEW CREST CRT.                                            SELAH             WA         98942                  6004                Various                                                                                               $39.98
DAVID STUTZMAN                 N6045 ROMADKA AVE                                              GRANTON           WI         54436                  6002                Various                                                                                                $0.74
DAVID SUTHERLAND               6343 WALDON DR SE                                              OLYMPIA           WA         98513                  6004                Various                                                                                               $11.40
DAVID T. MULLIGAN              BOX 722                                                        CRESTON           BC         00A1A         CANADA 6002                  Various                                                                                                $1.81
DAVID TAYLOR                   204 E 6TH ST                                                   WAYNE             NE         68787                  6002                Various                                                                                                $6.79
DAVID TEGTMEIER                PO BOX 1862                                                    EAU CLAIRE        WI         54702                  6004                Various                                                                                               $53.00
DAVID TEKELL                   1509 E 6225TH S                                                OGDEN             UT         84405                  6002                Various                                                                                                $5.04
DAVID THELEN                   902 W 3RD ST                                                   NORTH PLATTE      NE         69101                  6002                Various                                                                                               $10.00
DAVID THOMPSON                 PO BOX 139                                                     DIXON             IL         61021                  6002                Various                                                                                                $9.64
DAVID THORESON                 514 ISLE ROAYAL DR                                             MADISON           WI         53705                  6002                Various                                                                                                $9.48
DAVID TIMM                     4113 S 49TH AVE                                                OMAHA             NE         68107                  6004                Various                                                                                                $4.00
DAVID TISAI                    1454 BARTON AVE                                                WEST BEND         WI         53090                  6002                Various                                                                                                $5.97
DAVID TOPLE                    41565 128TH ST.                                                ANDOVER           SD         57422                  6004                Various                                                                                               $70.08




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DAVID TROON                    150 ROMAR DRIVE                                                 MILTON          WI         53563                 6004                Various                                                                                               $57.00
DAVID TROTTIER                 10884 HIGHWAY 41                                                RAPID RIVER     MI         49874                 6002                Various                                                                                                $3.89
DAVID TRUCKEY                  3733 HALF CROWN RUN                                             DE PERE         WI         54115                 6004                Various                                                                                               $49.99
DAVID UFKEN                    1648 WOOD RD                                                    NEKOOSA         WI         54457                 6002                Various                                                                                                $1.45
DAVID VALQUIER                 433 NORTH 39TH                                                  OMAHA           NE         68131                 6004                Various                                                                                                $2.00
DAVID VAN FRANKENHUIJSEN       9173 S RIVER RIDGE DR                                           WEST JORDAN     UT         84088                 6004                Various                                                                                                $1.00
DAVID VANOSS                   2410 GLENWOOD PL                                                LA CROSSE       WI         54601                 6002                Various                                                                                                $2.99
DAVID VEHLING                  106 ADAM COURT                                                  WATERTOWN       WI         53094                 6004                Various                                                                                               $20.00
DAVID W BAIR                   1518 S 25TH ST                                                  LINCOLN         NE         68502                 6002                Various                                                                                                $0.47
DAVID W LYNCH                  1380 SIENNA XING                                                JANESVILLE      WI         53546                 6002                Various                                                                                                $8.85
DAVID W SCAGGS                 6815 COLFAX AVE                                                 LINCOLN         NE         68507                 6002                Various                                                                                                $6.41
DAVID W. BRUEMMER              1004 WHISPERING WINDS PL N                                      ONALASKA        WI         54650                 6002                Various                                                                                                $8.38
DAVID WAGNON                   803 BARRYMAN                                                    POCATELLO       ID         83201                 6002                Various                                                                                                $2.77
DAVID WALKER                   HC 1 BOX 478                                                    FAIRDEALING     MO         63939                 6002                Various                                                                                                $7.70
DAVID WALSH                    300 E CASTLEBURY LN                                             APPLETON        WI         54913                 6004                Various                                                                                               $94.49
DAVID WANIGER                  2214 NICOLET DR.              APT 8                             GREEN BAY       WI         54311                 6004                Various                                                                                               $13.48
DAVID WARD                     3388 ROSE HAVEN TRL                                             GREEN BAY       WI         54313                 6002                Various                                                                                                $6.03
DAVID WEISS                    4383 MONROE RD                                                  TIPTON          MI         49287                 6002                Various                                                                                                $7.10
DAVID WERMEDAL                 W2255 CTY HWY B                                                 WEST SALEM      WI         54669                 6004                Various                                                                                               $23.99
DAVID WHITEWATER               2553 2ND AVE E                                                  LA CROSSE       WI         54603                 6002                Various                                                                                                $0.68
DAVID WICKMAN                  W4410 PANSKE RD                                                 PORTERFIELD     WI         54159                 6002                Various                                                                                                $6.22
DAVID WICTOR                   29 PLEASANT PL APT 204                                          DAKOTA DUNES    SD         57044                 6002                Various                                                                                                $4.16
DAVID WIERSCHEM                1204 E KENSINGTON                                               SHOREWOOD       WI         53211                 6004                Various                                                                                               $10.00
DAVID WILLIA KNUTSON           2903 HALLIE LN                                                  EAU CLAIRE      WI         54703                 6002                Various                                                                                                $5.81
DAVID WILLIA WATSON            6200 N CLIFF AVE LOT 139                                        SIOUX FALLS     SD         57104                 6002                Various                                                                                                $6.77
DAVID WILSON MARTIN            N11413 COUNTY HYW K                                             LOYAL           WI         54446                 6002                Various                                                                                                $6.52
DAVID WIMMER                   46 NORTHWOODS AVE NE                                            HUTCHINSON      MN         55350                 6002                Various                                                                                                $8.88
DAVID WITTE                    N1521 PLEASANT ROAD                                             FORT ATKINSON   WI         53538                 6004                Various                                                                                               $61.00
DAVID WOLLNER                  W4160 CENTER STREET                                             FREDONIA        WI         53021                 6004                Various                                                                                               $10.00
DAVID WOOD                     11501 SOUTH 5TH STREET                                          ROCA            NE         68430                 6004                Various                                                                                                $3.00
DAVID WYMAN                    730 WHITEWATER AVE                                              SAINT CHARLES   MN         55972                 6004                Various                                                                                                $3.00
DAVID ZELLER                   1551 KUHLE DRIVE                                                SUN PRAIRIE     WI         53590                 6004                Various                                                                                                $6.75
DAVID ZROWKA                   301 21ST AVE SOUTH                                              GREAT FALLS     MT         59405                 6004                Various                                                                                               $10.00
DAVID-BRUCE HAMACHEK           1110 W 5TH ST                                                   APPLETON        WI         54914                 6002                Various                                                                                                $2.85
                                                             3754 FORT
DAVIDSON CHILDRENS TRUST I     C/O NATHAN DAVIDSON           DONELSON DR                       STOCKTON        CA         95219                  6470               Various                                                                                         $7,500.00
DAVIN BLAZEK                   4602 TREICHEL ST                                                MADISON         WI         53718                  6004               Various                                                                                             $2.00
DAVIN D SCHWAB                 1118 MTN DELL                                                   AFTON           WY         83110                  6002               Various                                                                                             $8.79
DAVINA MCGILVRA                3530 ASHUE RD.                                                  WAPATO          WA         98951                  6004               Various                                                                                            $72.48
DAVIS FAMILY                   722 HIGH ST                                                     MARQUETTE       MI         49855                  6002               Various                                                                                             $4.10
                                                             365 N PETERS
DAVIS PARROTT                  APT A1                        AVENUE                            FOND DU LAC     WI         54935                   6004              Various                                                                                               $25.00

DAVIS REINKE                   N65W22201 ST JAMES PKWY LOT                                     SUSSEX          WI         53089                  6002               Various                                                                                                $3.67
DA'VITRIUS PERKINS             4902 GREENWOOD ST                                               LINCOLN         NE         68504                  6004               Various                                                                                                $3.05
DAVONNAH GREEN                 150 N MILL ST                                                   SAUKVILLE       WI         53080                  6004               Various                                                                                                $4.00
DAVYD P DUBRAY DOUVILLE        PO BOX 46                                                       WHITE RIVER     SD         57579                  6002               Various                                                                                                $5.42
DAWN ADAMSON                   1124 2ND ST W                                                   ROUNDUP         MT         59072                  6002               Various                                                                                                $1.59
DAWN ASHBAUGH                  801 NW 12TH                                                     ANDREWS         TX         79714                  6002               Various                                                                                                $4.79
DAWN BAKER                     616 SOUTH HAVEN DR                                              MANKATO         MN         56001                  6004               Various                                                                                                $3.00
DAWN BALLINGER                 203 E CARLETON STREET                                           TOLEDO          IA         52342                  6002               Various                                                                                                $3.49
DAWN BANERDT-ADAMS             713 S RAILROAD ST APT 5                                         KIMBERLY        WI         54136                  6002               Various                                                                                                $0.30
DAWN BORCHARDT                 11979 HIGHWAY 16 LOT 3                                          CUSTER          SD         57730                  6002               Various                                                                                               $10.00
DAWN BOWES                     4012 NAKOOSA TRAIL                                              MADISON         WI         53704                  6004               Various                                                                                                $1.00




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DAWN CARNAHAN                 1199 CYNTHIA ST                                               CLARE            MI         48617                 6002                Various                                                                                                $0.79
DAWN DOKKEN                   115 DIVINCI DR                                                MANKATO          MN         56001                 6004                Various                                                                                                $3.00
DAWN DRAGONE                  W104 AMIDON RD                                                BROOKLYN         WI         53521                 6004                Various                                                                                                $1.00
DAWN DUNCAN                   185 HEATHER LANE                                              MANKATO          MN         56001                 6004                Various                                                                                                $3.00
DAWN DUNKEL                   325 E 2ND ST                                                  VALENTINE        NE         69201                 6002                Various                                                                                                $2.33
DAWN E. FARSON                525 N INDIANA ST                                              ATWOOD           IL         61913                 6002                Various                                                                                                $0.79
DAWN ELIZABE MICHAELS         5428 W CLEARVIEW CT                                           BOISE            ID         83703                 6002                Various                                                                                                $7.34
DAWN EVANS                    2835 S 136TH ST                                               OMAHA            NE         68144                 6002                Various                                                                                                $1.29
DAWN FEDERMAN                 924 LONG BIRD LANE         APT D7                             STEVENS POINT    WI         54482                 6004                Various                                                                                               $25.00
DAWN FOLKESTAD                407 HELLER RD.             APT 4                              MENOMONIE        WI         54751                 6004                Various                                                                                               $30.00
DAWN FORMANEK                 1212 AVON ST                                                  LA CROSSE        WI         54603                 6002                Various                                                                                                $2.68
DAWN FRITSCHLE                2428 PORT NEAL RD                                             SERGEANT BLUFF   IA         51054                 6002                Various                                                                                                $9.73
DAWN GAMEZ                    1620 VOLT DRIVE APT 203                                       WEST BEND        WI         53095                 6004                Various                                                                                               $10.00
DAWN GUNNARI                  5006 PARK AVE                                                 CALUMET          MI         49913                 6002                Various                                                                                                $9.07
DAWN HALVERSON                546 5TH ST SW                                                 PINE ISLAND      MN         55963                 6004                Various                                                                                                $6.12
DAWN HODGES SIMS              611 S 200TH W                                                 LOGAN            UT         84321                 6002                Various                                                                                                $9.67
DAWN HOFFMAN                  8006 WALL ST                                                  SCHOFIELD        WI         54476                 6002                Various                                                                                                $8.36
DAWN JENSEN                   226 PLUMB ST                                                  MILTON           WI         53563                 6004                Various                                                                                               $49.99
DAWN KETTENRING               22 RUBY MNT RD                                                CLANCY           MT         59634                 6002                Various                                                                                               $10.00
DAWN KING                     871 S MAIN ST TRLR 91                                         FOND DU LAC      WI         54935                 6002                Various                                                                                                $0.36
DAWN KRAMER                   1001 INDUS ST                                                 FAIRMONT         MN         56031                 6004                Various                                                                                                $3.00
DAWN LADWIG                   124 9TH STREET NE APT B                                       ROCHESTER        MN         55906                 6004                Various                                                                                               $25.00
DAWN M HOYT                   PO BOX 1921                                                   PAHOA            HI         96778                 6002                Various                                                                                                $0.38
DAWN M MIRKES                 N1797 MEDINA DR                                               GREENVILLE       WI         54942                 6002                Various                                                                                                $6.19
DAWN M MYERS                  614 W WASHINGTON ST                                           AVOCA            IA         51521                 6002                Various                                                                                               $10.00
DAWN M OLSON                  2483 11 3/4 AVE                                               CAMERON          WI         54822                 6002                Various                                                                                                $4.08
DAWN M THORP                  936 N. DIAMOND                                                JACKSONVILLE     IL         62650                 6002                Various                                                                                                $5.84
DAWN M. POE                   PO BOX 327                                                    WABENO           WI         54566                 6002                Various                                                                                                $7.86
DAWN MAKURAT                  1771 CROWN DRIVE                                              OSHKOSH          WI         54904                 6004                Various                                                                                               $34.00
DAWN MARTINEZ                 358 HARMONY HEIGHTS LOOP                                      OROFINO          ID         83544                 6002                Various                                                                                                $5.84
DAWN MARWITZ                  833 JEFFERSON ST                                              OSHKOSH          WI         54901                 6002                Various                                                                                                $1.37
DAWN MASSOPUST                26185 QUINCY ST                                               CALUMET          MI         49913                 6002                Various                                                                                                $0.79
DAWN MCKENZIE                 775 CTY RD D                                                  NEKOOSA          WI         54457                 6002                Various                                                                                                $0.82
DAWN MOORE                    W5083 WEGE RD                                                 APPLETON         WI         54913                 6002                Various                                                                                                $9.89
DAWN MORRISON                 W10545 521ST STREET                                           PRESCOTT         WI         54021                 6004                Various                                                                                               $13.58
DAWN NELSON                   210 E MAIN ST                                                 MOUNT HOREB      WI         53572                 6004                Various                                                                                                $2.00
DAWN NIELSEN                  5477 60TH ST SE                                               SAINT CLOUD      MN         56304                 6002                Various                                                                                                $8.14
DAWN NORMAN                   408 E HOLME ST                                                NORTON           KS         67654                 6002                Various                                                                                                $1.89
DAWN OLSON                    815 ELMIRA AVE                                                NEWELL           SD         57760                 6002                Various                                                                                                $6.96
DAWN PELL                     4803 W 112TH ST                                               GRANT            MI         49327                 6002                Various                                                                                                $0.66
DAWN POTTHOFF                 243 60TH ST.                                                  DUNNELL          MN         56127                 6004                Various                                                                                                $8.00
DAWN RIDPATH                  114 N ELM                                                     MARSHFIELD       WI         54449                 6004                Various                                                                                                $1.00
DAWN ROTHSCHADL               1808 DOVER DR                                                 WAUNAKEE         WI         53597                 6004                Various                                                                                               $25.00
DAWN RYAN                     11729 BIA # HWY801                                            SISSETON         SD         57262                 6002                Various                                                                                                $3.81
DAWN SCHNELL                  6868 GUELIG RD                                                LENA             WI         54139                 6002                Various                                                                                                $7.37
DAWN SCHROEDER                N7462 CTY RD V                                                MAYVILLE         WI         53050                 6002                Various                                                                                                $5.67
DAWN SCHULTZ                  223 WOODLAND DR APT 10                                        BEAVER DAM       WI         53916                 6002                Various                                                                                                $0.74
DAWN SECORD                   811 SCENIC DRIVE                                              COLUMBIA FALLS   MT         59912                 6004                Various                                                                                               $10.02
DAWN SELLECK                  540 WEST BROADWAY                                             WINONA           MN         55987                 6004                Various                                                                                               $10.00
DAWN SIMPSON                  723 1ST ST E                                                  ROUNDUP          MT         59072                 6002                Various                                                                                                $4.11
DAWN SMITH                    3500 BUSH ST               APT 6                              STEVENS POINT    WI         54481                 6004                Various                                                                                               $19.79
DAWN STEFFEL                  2797 SUNRAY LN                                                GREEN BAY        WI         54313                 6002                Various                                                                                                $8.60
DAWN VANDERLINDEN             925 E PACIFIC ST                                              APPLETON         WI         54911                 6002                Various                                                                                                $0.47
DAWN VOSS                     448 N MAIN STREET                                             AMHERST          WI         54406                 6004                Various                                                                                                $4.00




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                                                                                                                                                                                             Contingent


                                                                                                                                                                                                                         Disputed
                                                                                                                                                    Last 4 Digits of     Date Debt was
                                                                                                                                                       Account         Incurred, Basis for
              Creditor Name                  Address1             Address2           Address3             City       State           Zip   Country     Number                Claim                                                                             Total Claim
DAWN WASHINGTON                  1012 S 24                   APT 116                              OMAHA           NE         68107                 6004                Various                                                                                             $2.00
DAWN WISEMAN                     112 VALLEY ST                                                    HORICON         WI         53032                 6002                Various                                                                                             $0.88
DAWN WOOD                        718 E SHERMAN ST                                                 WEST POINT      NE         68788                 6002                Various                                                                                             $0.96
DAWN WOOTERS                     87857 430TH AVE                                                  AINSWORTH       NE         69210                 6002                Various                                                                                             $2.00
DAWNA HATCHER                    818 PEARL STREET                                                 ELBA            NE         68835                 6004                Various                                                                                             $4.00
DAWNA M ESTERS                   747 NORCREST ST                                                  POCATELLO       ID         83202                 6002                Various                                                                                             $8.30
DAWNALEE CRIER                   2265 BRICK DR                                                    GREEN BAY       WI         54303                 6002                Various                                                                                             $3.92
DAWNELL BURNETT                  711 S 15TH AVE                                                   BROKEN BOW      NE         68822                 6002                Various                                                                                             $2.93
DAWSON FAMILY                    1604 WILDROSE DR                                                 BELVIDERE       IL         61008                 6002                Various                                                                                             $3.75
DAWSON GIBSON                    1606 ELMWOOD                                                     JACKSONVILLE    IL         62650                 6004                Various                                                                                            $29.00
DAWSON HIZER                     110 24TH ST S ST B                                               WIS RAPIDS      WI         54494                 6004                Various                                                                                             $1.00
DAXTYN OSTERLIN                  1210 S 2000TH W                                                  LOGAN           UT         84321                 6002                Various                                                                                             $5.59
DAY COUNTY SHERIFF               710 W 2ND STREET                                                 WEBSTER         SD         57274                 6666                Various                                                                                            $52.00
DAYLE STEVENS                    2198 BITTERROOT DR                                               TWIN FALLS      ID         83301                 6004                Various                                                                                             $5.00
DAYLENE LOPEZ                    4601 ATTICUS WAY            APT. 106                             MADISON         WI         53711                 6004                Various                                                                                             $1.00
DAYMON THOMAS                    810 GREGORY WAY SE                                               OLYMPIA         WA         98513                 6004                Various                                                                                            $25.00
DAYNA FRANKS                     2305 SCHNEIDER AVE APT 3                                         AUBURN          NE         68305                 6002                Various                                                                                             $2.03
DAYNA HARHAY                     1740 HIGHLAND DRIVE                                              HASTINGS        NE         68901                 6004                Various                                                                                            $31.00
DAYNA JAEGER                     1715 BERGE COURT                                                 MANITOWOC       WI         54220                 6004                Various                                                                                            $93.96
DAYNA LEE                        W5499 HAMON ST                                                   SHELDON         WI         54766                 6004                Various                                                                                            $25.00
DAYNA MATTSON                    4409 BEL RIDGE DRIVE                                             LINCOLN         NE         68521                 6004                Various                                                                                            $52.00
DAYNA PERKINS                    895 SW LEVENS ST                                                 DALLAS          OR         97338                 6004                Various                                                                                            $25.00
DAYNA RENFROW                    833 8TH ST                                                       CLARKSTON       WA         99403                 6002                Various                                                                                            $10.00
DAYNA SCHWARTZ                   9 HILLTOP DR                                                     CLANCY          MT         59634                 6002                Various                                                                                             $0.44
DAYNE SCHLAMANN                  23060 KALVIN COURT                                               EAGLE           NE         68347                 6004                Various                                                                                            $25.00
DAYONA LANAGAN                   1206 PLUS CIRCLE                                                 SUN PRAIRIE     WI         53590                 6004                Various                                                                                             $1.00
DAYSHA LUEBBE                    112 HELLER ST                                                    BEAVER DAM      WI         53916                 6004                Various                                                                                             $3.00
DAYTON LUEBBE                    112 HELLER ST.                                                   BEAVER DAM      WI         53916                 6004                Various                                                                                             $3.00
DAYTON RINALDI                   302 3RD. ST                                                      LYLE            MN         55953                 6004                Various                                                                                             $6.00
DAZIE L PETERSON                 4834 210TH ST N                                                  FOREST LAKE     MN         55025                 6002                Various                                                                                             $7.86
DAZIYAH CLARK                    334 CONNELL ST.                                                  FOND DU LAC     WI         54935                 6004                Various                                                                                             $4.00
DBK CONCEPTS INCORPORATED        12905 SW 129 AVENUE                                              MIAMI           FL         33186                 9868                Various                                                                                         $1,260.00
DCT TECHNOLOGIES INCORPORATED    DBA DMI STUDIOS             PO BOX 10094                         GREEN BAY       WI         54307                 4405                Various                                                                                          $720.00
DE ANDRE WOODS                   2510 TAYLOR AVENUE                                               RACINE          WI         53404                 6004                Various                                                                                            $12.80
DE ANN LUDWIG                    54 CUMBERLAND LN                                                 MADISON         WI         53714                 6004                Various                                                                                             $3.00
DE KRUIF DISPOSAL                1200 15TH ST                                                     SHELDON         IA         51201                                     Various                                                                                          $470.00
DE LONICA WALKER                 4127 N 104TH PLZ                                                 OMAHA           NE         68134                   6004              Various                                                                                             $4.00

DE RIGO REM                      10941 LA TUNA CANYON ROAD                                        SUN VALLEY      CA         91352-2012             3650               Various                                                                                        $20,250.42
DEAGESHA SMITH                   635 N 45TH # 3                                                   OMAHA           NE         68132                  6004               Various                                                                                             $4.00
DEAN BECHTEL                     800 VOLNEY RD                                                    MONONA          IA         52159                  6002               Various                                                                                             $2.52
DEAN BERTLING                    1002 ROOSEVELT RD                                                OCONOMOWOC      WI         53066                  6002               Various                                                                                             $0.82
DEAN CASTLE                      955 WILDWOOD DR                                                  BRIGHAM CITY    UT         84302                  6002               Various                                                                                             $4.60
DEAN FOODS                       NW 6068                     PO BOX 1450                          MINNEAPOLIS     MN         55485-0000             5126               Various                                                                                        $14,591.37
DEAN GASSITTIE                   2 PARK AVE APT 23                                                CALUMET         MI         49913                  6002               Various                                                                                             $6.60
DEAN H WHEELER                   426 SO MAIN ST                                                   WAUPACA         WI         54981                  6002               Various                                                                                             $5.95
DEAN HATZINGER                   6127 EXCHANGE ST                                                 MC FARLAND      WI         53558                  6004               Various                                                                                             $5.02
DEAN HEALTH PLAN INC             RECOVERY DEPARTMENT         PO BOX 56099                         MADISON         WI         53705                  6004               Various                                                                                            $33.78
DEAN HERR                        34169 530TH AVE                                                  SALOL           MN         56756                  6002               Various                                                                                             $2.00
DEAN JACKSON                     1231 PARK RD                                                     WAUKON          IA         52172                  6002               Various                                                                                             $8.32
DEAN JANOUSEK                    811 ROAD R                                                       CLARKSON        NE         68629                  6002               Various                                                                                             $9.64
DEAN JULIUS                      W3784 ARCHER AVE                                                 PINE RIVER      WI         54965                  6004               Various                                                                                            $22.50
DEAN KAETTERHENRY                1043 MEEHAN DR.                                                  PLOVER          WI         54467                  6004               Various                                                                                             $5.00
DEAN KONOP                       22962 VINTAGE LN                                                 BEND            OR         97701                  6004               Various                                                                                             $8.16




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                                                                                                                                                                                     Contingent


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                                                                                                                                              Last 4 Digits of   Date Debt was
                                                                                                                                                 Account       Incurred, Basis for
           Creditor Name               Address1           Address2        Address3             City            State           Zip   Country     Number              Claim                                                                             Total Claim
DEAN LAB                    105 E VALLEY VIEW WAY                                      SALEM              UT           84653                 6002              Various                                                                                                $8.14

DEAN LANGHOLFF              918 WEEPING WILLOW COURT                                   WISCONSIN RAPIDS   WI           54494                   6004            Various                                                                                               $51.20
DEAN LAUX                   511 W SENECA DR                                            APPLETON           WI           54911                   6002            Various                                                                                                $5.29
DEAN LEACH                  448 N 300TH E                                              BRIGHAM CITY       UT           84302                   6002            Various                                                                                                $3.32
DEAN LEWIS                  5002 RIVER BEND ROAD                                       WESTON             WI           54476                   6004            Various                                                                                               $16.00
DEAN LOBSIGER               3115 N 65TH ST                                             LINCOLN            NE           68507                   6002            Various                                                                                                $2.14
DEAN LUTHER                 1303 BLUEBIRD LANE                                         ELK MOUND          WI           54739                   6004            Various                                                                                               $10.00
DEAN NEUBERT                2537 S TELULAH AVE                                         APPLETON           WI           54915                   6002            Various                                                                                                $0.27
DEAN PANZER                 210 TAMRACK DR                                             LAKE MILLS         WI           53551                   6002            Various                                                                                                $1.15
DEAN R LANTOW               1139 130TH ST                                              PLAINFIELD         IA           50666                   6002            Various                                                                                                $4.52
DEAN RAATI                  54 BIRCH BLVD                                              BABBITT            MN           55706                   6002            Various                                                                                                $5.37
DEAN SCHEIDECKER            5660 190TH AVE                                             BLOOMER            WI           54724                   6004            Various                                                                                               $25.00
DEAN SCHLITTER              606 2ND ST SW                                              WAUKON             IA           52172                   6002            Various                                                                                                $3.37
DEAN SIMON                  N5905 STRAWFLOWER DR                                       APPLETON           WI           54915                   6002            Various                                                                                                $8.47
DEAN SPANGLER               W7895 OLD NA RD                                            HOLMEN             WI           54636                   6002            Various                                                                                                $5.95
DEAN TELTHOESTER            336 MCGRANN STREET                                         GREEN ISLE         MN           55338                   6004            Various                                                                                               $20.00
DEAN VAN DREEL              8396 SOUTH CHASE RD                                        PULASKI            WI           54162                   6004            Various                                                                                                $7.40
DEAN WEGNER                 1822 P RD                                                  WEST POINT         NE           68788                   6002            Various                                                                                                $7.70
DEANA BRUCKNER              3136 MASON ST                                              OMAHA              NE           68105                   6004            Various                                                                                               $12.80
DEANA KOLB                  2806 S FELKER AVE                                          MARSHFIELD         WI           54449                   6002            Various                                                                                                $9.95
DEANA LEDOUX                311 MONK ST                                                SALMON             ID           83467                   6002            Various                                                                                                $1.12
DEANA M ELLEFSON            3769 GLENDALE AVE                                          GREEN BAY          WI           54313                   6002            Various                                                                                                $1.75
DEANA POHTO                 121 SALMON MEADOWS ST                                      SALMON             ID           83467                   6002            Various                                                                                                $2.14
DEANA ROBERTS               1200 S 5TH ST LOT 12                                       HOT SPRINGS        SD           57747                   6002            Various                                                                                                $9.86
DEANDRE R MCCOY             1530 E ST GERMAIN APT 104                                  ST. CLOUD          MN           56304                   6002            Various                                                                                                $4.68
DEANN ASTLE                 147 ASTLE RD BOX # 1534 PMB                                BEDFORD            WY           83112                   6002            Various                                                                                                $0.41
DEANN BINGHAM               327 E 2025TH S                                             CLEARFIELD         UT           84015                   6002            Various                                                                                                $2.93
DEANN CARLSON               1304 E HARVEY ST                                           ELY                MN           55731                   6002            Various                                                                                                $6.74
DEANN DAVIS                 425 NORTH MAIN                                             ADAMS              WI           53910                   6004            Various                                                                                               $51.20
DEANN MATHISEN              215 JOHNSON ST                                             RHINELANDER        WI           54501                   6002            Various                                                                                                $5.12
DEANN VASSEAU               3757 HURON LN                                              GREEN BAY          WI           54311                   6002            Various                                                                                                $3.42
DEANNA ADAMS                809 FOREST DR                                              NORFOLK            NE           68701                   6002            Various                                                                                                $0.99
DEANNA ANDERSON             435 N STREET # 22                                          WAUPACA            WI           54981                   6002            Various                                                                                                $1.15
DEANNA AVALOS               607 SO 18TH AVE                                            YAKIMA             WA           98902                   6004            Various                                                                                               $10.05
DEANNA CHADWICK             4881 TOWERLINE ROAD                                        MARSHALL           WI           53559                   6004            Various                                                                                               $21.00
DEANNA CORNELL              531 9TH ST N                                               GLASGOW            MT           59230                   6002            Various                                                                                                $3.48
DEANNA ELMQUIST             538 LINCOLN AVE                                            HOT SPRINGS        SD           57747                   6002            Various                                                                                                $3.67
DEANNA EMMETT               2705 AUGUSTA LANE                                          BILLINGS           MT           59102                   6004            Various                                                                                               $10.00
DEANNA GRAHN                1022 PAINTED POST DR                                       MADISON            WI           53716                   6004            Various                                                                                                $5.70
DEANNA HITSHEW              2487 SINKS CANYON RD                                       LANDER             WY           82520                   6002            Various                                                                                                $8.74
DEANNA HOENDERZOOGT         340 ELM STREET                                             BURLINGTON         WI           53105                   6004            Various                                                                                               $45.00
DEANNA LMRS BOTELLO         2664 HWY29                                                 ABBOTSFORD         WI           54405                   6002            Various                                                                                                $6.68
DEANNA LOPEZ                1118 8TH AVE                                               GRAFTON            WI           53024                   6004            Various                                                                                               $10.00
DEANNA LOU CLARK            28425 326TH AVE                                            DALLAS             SD           57529                   6002            Various                                                                                                $1.89
DEANNA MARIE MOSES          N5559 MEADOW RD                                            KEWAUNEE           WI           54216                   6002            Various                                                                                                $7.29
DEANNA MOERLAND             125 COLUMBIA ST                                            BELVIDERE          IL           61008                   6002            Various                                                                                                $9.10
DEANNA OLIN                 1534 SW 40TH ST                                            PENDLETON          OR           97801                   6004            Various                                                                                               $17.00
DEANNA OLINGER              1103 ALDER ST                                              RAWLINS            WY           82301                   6002            Various                                                                                                $4.47
DEANNA OLSON                3100 N SPRUCE ST                                           APPLETON           WI           54914                   6002            Various                                                                                                $7.18
DEANNA PIERCE               310 W. BURNETT ST.                                         BEAVER DAM         WI           53916                   6004            Various                                                                                               $46.80
DEANNA R JUETTEN            471 W CHURCH ST                                            ELLSWORTH          WI           54011                   6002            Various                                                                                                $6.55
DEANNA SCOTT                2705 SPORTSMAN RD                                          TRENTON            MO           64683                   6002            Various                                                                                                $8.66
DEANNA VOLLMAN              459 N 30RD RD                                              SYRACUSE           NE           68446                   6004            Various                                                                                               $12.57




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                                                                                                                                                                                          Contingent


                                                                                                                                                                                                                      Disputed
                                                                                                                                                 Last 4 Digits of     Date Debt was
                                                                                                                                                    Account         Incurred, Basis for
             Creditor Name               Address1              Address2        Address3             City          State           Zip   Country     Number                Claim                                                                             Total Claim
DEANNA WACH                   15076 DALTON RD                                               DALTON             MN         56324                 6002                Various                                                                                             $6.55
DEANNE TRIPP                  233 28TH AVE N                                                SAINT CLOUD        MN         56303                 6004                Various                                                                                           $126.88
DEANTRAE WOODS                2510 TAYLOR AVE                                               RACINE             WI         53404                 6004                Various                                                                                            $26.10
DEAVION GOSTAS                203 WHITENACK CT                                              NEENAH             WI         54956                 6004                Various                                                                                            $34.00
DEB CHICHANOWSKI              1534 4TH AVE SE           APT4                                ROCHESTER          MN         55904                 6004                Various                                                                                             $6.00

DEB CLEWORTH                  415 STRODMAN AVE                                              WISCONSIN RAPIDS   WI         54494                  6004               Various                                                                                               $97.00
DEB HATTENDORF                109 FAIRMAN                                                   LEWELLEN           NE         69147                  6004               Various                                                                                               $10.00
DEB JANES                     521 12TH ST S LOT 26                                          BROOKINGS          SD         57006                  6002               Various                                                                                                $3.81
DEB L. FLODMAN                3227 PONCA CIR                                                GRAND ISLAND       NE         68803                  6002               Various                                                                                                $8.58
DEB LOHMEYER                  391 N OAK ST                                                  AINSWORTH          NE         69210                  6002               Various                                                                                                $2.90
DEB ROBINSON                  1114 E 6TH ST                                                 WINNER             SD         57580                  6002               Various                                                                                                $4.11
DEB SAYLOR                    2913 CHEYENNE BLVD                                            SIOUX CITY         IA         51104                  6002               Various                                                                                                $1.73
DEB STEELE                    12866 HOPE RD                                                 NEWELL             SD         57760                  6002               Various                                                                                                $6.00
DEBBIE A. KORENKO             16 W MEADOWS DR                                               BILLINGS           MT         59102                  6002               Various                                                                                                $6.14
DEBBIE BAILEY                 1307 17TH AVE                                                 PLATTSMOUTH        NE         68048                  6002               Various                                                                                                $0.77
DEBBIE BAKER                  W962 SCHOEPPS VALLEY RD                                       COCHRANE           WI         54622                  6002               Various                                                                                                $6.71
DEBBIE BAYLEY                 7721 E RUTTER AVE                                             SPOKANE            WA         99212                  6004               Various                                                                                                $2.44
DEBBIE CARSON                 77016 NELLIE LN                                               COTTAGE GROVE      OR         97424                  6004               Various                                                                                               $51.82
DEBBIE DENSLEY                9665 MORYWOOD ON                                              SOUTH JORDAN       UT         84095                  6002               Various                                                                                                $5.84
DEBBIE FORD                   2001 W SUPERIOR ST #204                                       DULUTH             MN         55806                  6004               Various                                                                                                $3.00
DEBBIE HAGEN                  38504 365TH ST                                                AITKIN             MN         56431                  6002               Various                                                                                                $9.04
DEBBIE HALL                   1855 CAMROSE ST                                               IDAHO FALLS        ID         83402                  6002               Various                                                                                                $2.77
DEBBIE HESSELINK              N3949 EDWARDS ST                                              LEOPOLIS           WI         54948                  6002               Various                                                                                                $5.64
DEBBIE HOLSTE                 711 LOGAN ST                                                  HOLDREGE           NE         68949                  6002               Various                                                                                                $5.75
DEBBIE HOWELL                 12 REBA LN                                                    SALMON             ID         83467                  6002               Various                                                                                                $2.08
DEBBIE J PADGETT              522 35TH AVE NW                                               SIDNEY             MT         59270                  6002               Various                                                                                                $0.74
DEBBIE K MAY                  BOX# 661                                                      ASHLAND            MT         59003                  6002               Various                                                                                                $3.95
DEBBIE LEPAK                  2571 TELLURIDE TRL                                            GREEN BAY          WI         54313                  6002               Various                                                                                                $2.90
DEBBIE NORDLUND               724 BURLINGTON                                                BILLINGS           MT         59102                  6004               Various                                                                                               $80.00
DEBBIE RODEMEIER              3909 HENRY ST                                                 WAUSAU             WI         54403                  6002               Various                                                                                                $0.38
DEBBIE ROLLINGER              3660 SERVICE DRIVE                                            WINONA             MN         55987                  6004               Various                                                                                               $20.00
DEBBIE STEADMAN               4263 E MILWAUKEE ST                                           JANESVILLE         WI         53546                  6002               Various                                                                                                $2.19
DEBBIE SULLIVAN               14245 WADDELL RD SE                                           RAINIER            WA         98576                  6004               Various                                                                                               $37.18
DEBBIE THONE                  11709 E EMPIRE                                                SPOKANE            WA         99206                  6004               Various                                                                                                $1.58
DEBBIE WHITT                  306 E 21ST ST                                                 WAYNE              NE         68787                  6002               Various                                                                                                $0.88
DEBBRA SELVES                 3929 MARTIN RD                                                MOSINEE            WI         54455                  6002               Various                                                                                                $6.33
DEBBRA WRIGHT                 7074 E 68TH ST                                                NEWAYGO            MI         49337                  6002               Various                                                                                                $9.40
DEBBY EASTERLING              720 5TH AVE                                                   PLATTSMOUTH        NE         68048                  6002               Various                                                                                                $6.16
DEBBY WENDEL                  1045 CONRAD DR SPC 50                                         KALISPELL          MT         59901                  6002               Various                                                                                                $6.71
DEBI ADAMS                    221 E 400TH N                                                 OREM               UT         84057                  6002               Various                                                                                                $1.23
DEBORA BARR                   5920 LAKE EDGE ROAD                                           MC FARLAND         WI         53558                  6004               Various                                                                                               $21.00
DEBORA COVERT                 5 E CONAN ST                                                  ELY                MN         55731                  6002               Various                                                                                                $0.38
DEBORA HUNTER                 1212 TIBBALS ST APT 108                                       HOLDREGE           NE         68949                  6002               Various                                                                                                $0.47
DEBORA NELSON                 687 E 950 N                                                   SHELLEY            ID         83274                  6004               Various                                                                                                $5.00
DEBORA WICKINGSON             7004 ALLEN ROAD                                               SOBIESKI           WI         54171                  6004               Various                                                                                               $75.98
DEBORAH A CROWNHART           EP1031 EQUITY ST                                              STRATFORD          WI         54484                  6002               Various                                                                                                $1.59
DEBORAH A GRUBER              N5842 ALBANY N                                                MONDOVI            WI         54755                  6002               Various                                                                                                $9.01
DEBORAH ADAMS                 8450 S REDWOOD RD                                             WEST JORDAN        UT         84088                  6002               Various                                                                                                $8.33
DEBORAH ANN DRONGOWSKI        6440 GREEN HWY                                                TECUMSEH           MI         49286                  6002               Various                                                                                                $8.05
DEBORAH B ZEITNER             5 N LOBBAN AVE APT 4                                          BUFFALO            WY         82834                  6002               Various                                                                                                $0.85
DEBORAH BARTELT               2425 N MASON ST APT 204                                       APPLETON           WI         54914                  6004               Various                                                                                               $12.00
DEBORAH BENSON                552 BELOIT RD.            APT. 1                              BELVIDERE          IL         61008                  6004               Various                                                                                               $11.80
DEBORAH BERLIN                14225 W STONE AVE                                             POST FALLS         ID         83854                  6002               Various                                                                                                $0.27




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                                                                                                                                                                                                                                    Claim subject to offset?
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                                                                                                                                                    Last 4 Digits of     Date Debt was
                                                                                                                                                       Account         Incurred, Basis for
             Creditor Name                Address1             Address2          Address3             City           State           Zip   Country     Number                Claim                                                                             Total Claim
DEBORAH BILLUPS               PO BOX 194                                                      PIERCE              ID         83546                 6002                Various                                                                                                $1.04
DEBORAH BLAIN                 9790 S JORDAN RIDGE CIR                                         SOUTH JORDAN        UT         84095                 6002                Various                                                                                                $7.40
DEBORAH BRICKNER              2643 CAINE RD.                                                  EAU CLAIRE          WI         54703                 6004                Various                                                                                               $25.00
DEBORAH BROST                 2671 AUGUSTA AVE                                                CHANDLER            AZ         85249                 6002                Various                                                                                                $9.98
DEBORAH BRUNNER               N3087 SCHOENROCK LAKE RD                                        SHAWANO             WI         54166                 6002                Various                                                                                                $9.48
DEBORAH BURNS                 27807 URUS AVENUE                                               PULASKI             IA         52584                 6002                Various                                                                                               $11.36
DEBORAH CARLINO               206 6TH ST SE               APT 203                             STEWARTVILLE        MN         55976                 6004                Various                                                                                               $12.00
DEBORAH CHAPMAN               8400 W LEXINGTON PL #12                                         PLEASANT PRAIRIE    WI         53158                 6004                Various                                                                                               $25.00
DEBORAH CONLEY                4708 N 45TH ST                                                  OMAHA               NE         68104                 6004                Various                                                                                                $3.00
DEBORAH CORKERY               11391 729TH RD                                                  HOLDREGE            NE         68949                 6002                Various                                                                                                $2.11
DEBORAH DAHIR                 15507 JOSEPHINE ST                                              OMAHA               NE         68138                 6004                Various                                                                                                $7.00
DEBORAH DITZENBERGER          1943 STATE ROAD 11 WEST                                         SOUTH WAYNE         WI         53587                 6004                Various                                                                                               $32.98
DEBORAH E KITCHEN             2722 S ALDEN ST                                                 SALT LAKE CITY      UT         84106                 6002                Various                                                                                                $2.19
DEBORAH EBERLING              409 SCHNICK RD                                                  ONALASKA            WI         54650                 6002                Various                                                                                                $7.73
DEBORAH ETHERIDGE             PO BOX 1555                                                     ZILLAH              WA         98953                 6004                Various                                                                                               $13.15
DEBORAH FARR                  711 N 6TH                                                       MANITOWOC           WI         54220                 6004                Various                                                                                                $2.00
DEBORAH FARRINGTON            1916 WASHINGTON AVE                                             HOT SPRINGS         SD         57747                 6002                Various                                                                                                $2.27
DEBORAH FLEMING               943 DALMAR DR                                                   KINGSFORD           MI         49802                 6002                Various                                                                                                $0.85

DEBORAH FREDRICKSON           2911 INVERNESS WAY                                              STEAMBOAT SPRINGS   CO         80487                  6522               Various                                                                                         $4,040.63
DEBORAH GIESLER               N6926 GARDEN ST                                                 HOLMEN              WI         54636                  6002               Various                                                                                             $8.55
DEBORAH GREGG                 PO BOX 22                                                       BANCROFT            NE         68004                  6002               Various                                                                                             $9.01
DEBORAH HANSEN                106 N PREECE ST                                                 BATTLE CREEK        NE         68715                  6002               Various                                                                                             $2.93
DEBORAH HILL                  910 VANDAL DRIVE                                                MOSCOW              ID         83843                  6004               Various                                                                                             $6.00
DEBORAH J OPPERMAN            PO BOX 404                                                      WINNECONNE          WI         54986                  6002               Various                                                                                             $1.97
DEBORAH J VENHUIZEN           1409 VINEYARD DR APT 2                                          LEWISTON            ID         83501                  6002               Various                                                                                             $6.33
DEBORAH JIRASEK               2337 W JOHN LOOP                                                COEUR D ALENE       ID         83814                  6002               Various                                                                                             $3.10
DEBORAH JOHNSON               135 N PETERS AVE APT 5                                          FOND DU LAC         WI         54935                  6002               Various                                                                                             $9.92
DEBORAH JORDAN                W633 FISH CREEK RD                                              DE PERE             WI         54115                  6002               Various                                                                                             $3.07
DEBORAH KIMURA                PO BOX 56                                                       WHEATLAND           WY         82201                  6002               Various                                                                                             $4.44
DEBORAH KURCZEK               2255 BROOKVIEW CT APT E                                         OSHKOSH             WI         54904                  6004               Various                                                                                             $1.49
DEBORAH L MCCULLOUGH          508 AUGUSTA AVE                                                 BASSETT             NE         68714                  6002               Various                                                                                             $2.74
DEBORAH L MCLLARKY            E2199 HEAVENS WAY                                               WAUPACA             WI         54981                  6002               Various                                                                                             $6.90
DEBORAH LEMON                 2310 4TH AVE                                                    CLARKSTON           WA         99403                  6004               Various                                                                                            $28.00
DEBORAH LILLIE                2452 BOISE ST                                                   SIOUX CITY          IA         51109                  6002               Various                                                                                             $0.96
DEBORAH LOCH                  6756 SOUTH 88TH STREET                                          LINCOLN             NE         68526                  6004               Various                                                                                             $5.00
DEBORAH LYNN ACKERMAN         313 HATTIE ST                                                   MARINETTE           WI         54143                  6002               Various                                                                                             $6.11
                              IN C/O SHOPKO EYECARE CENTER 9520 N. NEWPORT
DEBORAH MENZIA                #4066                        HIGHWAY                            SPOKANE             WA         99218                   6004              Various                                                                                               $15.00
DEBORAH NORTON                1082 WELLS BENCH RD                                             OROFINO             ID         83544                   6002              Various                                                                                                $0.49
DEBORAH OLLIE                 216 SO 98TH AVE                                                 YAKIMA              WA         98908                   6004              Various                                                                                                $1.99
DEBORAH PHILLIPS              PO BOX 923                                                      BUFFALO             WY         82834                   6002              Various                                                                                                $7.15
DEBORAH PIEPER                45027 161ST ST                                                  WATERTOWN           SD         57201                   6002              Various                                                                                                $6.44

DEBORAH REANO                 MARCELLUS HIGHWAY # MILLER                                      DOWAGIAC            MI         49047                  6002               Various                                                                                                $0.63
DEBORAH REDDEN                1801 E 1ST STREET APT 30                                        OGALLALA            NE         69153                  6002               Various                                                                                               $12.67
DEBORAH RICH                  824 8TH AVE                                                     PLATTSMOUTH         NE         68048                  6004               Various                                                                                               $19.49
DEBORAH RICHARDS              N57W24610 NIGHTHAWK CT                                          SUSSEX              WI         53089                  6002               Various                                                                                                $0.79
DEBORAH RISTOW                442 S PIETY ST                                                  ELLSWORTH           WI         54011                  6002               Various                                                                                                $8.63
DEBORAH ROSSER                333 5TH AVE S                                                   GREYBULL            WY         82426                  6002               Various                                                                                               $91.47
DEBORAH SAYRE                 6511 CEDAR ST              APT 3                                NORTH BRANCH        MN         55056                  6004               Various                                                                                                $3.00
DEBORAH SERREYN               204 CARROW ST                                                   MARSHALL            MN         56258                  6004               Various                                                                                                $3.00
DEBORAH SLIMM                 418 HIGH ST                                                     RHINELANDER         WI         54501                  6002               Various                                                                                                $8.47
DEBORAH TERRY                 26330 FLANDERS ST                                               DOWAGIAC            MI         49047                  6002               Various                                                                                                $0.99




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             Creditor Name                Address1                 Address2        Address3             City       State           Zip   Country     Number                Claim                                                                             Total Claim
DEBORAH TINKER                9293 SPIRIT HAVEN RD                                              TOMAHAWK        WI         54487                 6002                Various                                                                                                $1.64
DEBORAH VESELY                1715 E SONATA DR                                                  GREEN BAY       WI         54311                 6002                Various                                                                                                $8.08
DEBORAH WATERS                9248 RUGGLES ST                                                   OMAHA           NE         68134                 6002                Various                                                                                                $2.52
DEBORAH WIEDERHOEFT           719 KOTTKE DR                                                     MADISON         WI         53719                 6002                Various                                                                                                $4.71
DEBORAH WILLER                W4966 CTY RD F                                                    LA CROSSE       WI         54603                 6002                Various                                                                                                $5.78
DEBORAH WORKMAN               1210 WELLS COURT APT 8                                            LINCOLN         NE         68505                 6002                Various                                                                                                $4.49
DEBORAH ZELLER                W1325 CENTER ROAD                                                 DORCHESTER      WI         54425                 6004                Various                                                                                               $83.75
DEBORAHLEE HOFFMAN            E881 COBB TOWN RD                                                 WAUPACA         WI         54981                 6004                Various                                                                                                $8.00
DEBRA A BRIGGS                2225 HORIZON DR                                                   POCATELLO       ID         83201                 6002                Various                                                                                                $6.66
DEBRA ADAMS                   1210 BURRELL AVE                                                  LEWISTON        ID         83501                 6002                Various                                                                                               $10.44
DEBRA ADOLPH                  148 MAIN ST                                                       ROUNDUP         MT         59072                 6002                Various                                                                                                $0.44
DEBRA BALTS                   144 VIKING PL                                                     EAU CLAIRE      WI         54703                 6004                Various                                                                                                $3.00
DEBRA BARRETTE                2827 WHITE PINE RD                                                GREEN BAY       WI         54313                 6002                Various                                                                                                $3.64
DEBRA BARTMAN                 9116 E SPRAGUE AVE            #227                                SPOKANE         WA         99206                 6004                Various                                                                                               $85.80
DEBRA BONTJES                 726 S 18TH                                                        FREEPORT        IL         61032                 6004                Various                                                                                                $1.20
DEBRA BORCK                   207 SEIPPEL BLVD              APT 6                               BEAVER DAM      WI         53916                 6004                Various                                                                                                $2.00
DEBRA BOWERS                  1463 TULLAR RD                APT 7                               NEENAH          WI         54956                 6004                Various                                                                                               $34.00

DEBRA CAMPBELL                224 EAST ORCHARD BEACH LANE                                       RICE LAKE       WI         54868                  6004               Various                                                                                            $25.00
DEBRA CARLSON                 W1979 LAPOINTE ROAD                                               FOSTER CITY     MI         49834                  6004               Various                                                                                            $13.73
DEBRA COLE                    BOX 401                                                           FORT BRIDGER    WY         82933                  6002               Various                                                                                             $6.52
DEBRA COULSTON                44 W WASHINGTON AVE                                               RED OAK         IA         51566                  6002               Various                                                                                             $0.82
DEBRA CROUCH                  25965 DEPOT ST                                                    CALUMET         MI         49913                  6002               Various                                                                                             $7.95
DEBRA DANIELEWICZ             1409 BRADY STREET                                                 WAUSAU          WI         54401                  6004               Various                                                                                           $200.00
DEBRA DANNER                  1715 S 15TH ST LOT 51                                             PLATTSMOUTH     NE         68048                  6002               Various                                                                                             $8.63
DEBRA DAVIDSON                20707 HIGHWAY 248 UNIT B                                          ROLLONGSTONE    MN         57754                  6002               Various                                                                                             $8.55
DEBRA DIENGER-LOEW            2461 28TH AVE                                                     BIRCHWOOD       WI         54817                  6004               Various                                                                                           $165.00
DEBRA DOUGLAS                 1008 N GREEN ST                                                   VALENTINE       NE         69201                  6002               Various                                                                                             $1.70
DEBRA DUCAN                   34477 590TH ST                                                    ZUMBRO FALLS    MN         55991                  6004               Various                                                                                             $3.06
DEBRA E HUTCHISON             10 SHILOH DR                                                      JACKSONVILLE    IL         62650                  6002               Various                                                                                             $6.03
DEBRA EGGENBERGER             535 1ST AVE NE                                                    PLAINVIEW       MN         55964                  6004               Various                                                                                            $64.00
DEBRA FECK                    H15603 MILL RD                                                    WAUSAU          WI         54403                  6002               Various                                                                                             $1.78
DEBRA FRANKS                  1004 N WILLIAMS AVE TRLR 2                                        SIOUX FALLS     SD         57104                  6002               Various                                                                                             $7.32
DEBRA GIBBONS                 2425 PEACH ST                                                     BRIGHAM CITY    UT         84302                  6002               Various                                                                                             $8.52
DEBRA GOODIER                 1938 KNOLLWOOD CIR                                                SAINT CLOUD     MN         56303                  6002               Various                                                                                             $0.36
DEBRA GROSS                   N1957 31ST AVE                                                    BERLIN          WI         54923                  6004               Various                                                                                             $3.20
DEBRA HALBAKKEN               17832 QUINCY RD NE                                                SAINT CHARLES   MN         55972                  6004               Various                                                                                             $6.00
DEBRA HAMMOND                 W1719 STRUPP RD                                                   CECIL           WI         54111                  6002               Various                                                                                             $4.79
DEBRA HEINS                   726 BEWICK DR                                                     MADISON         WI         53714                  6004               Various                                                                                             $4.00
DEBRA HOPE                    6027 S 25TH ST                                                    LINCOLN         NE         68512                  6002               Various                                                                                             $1.64
DEBRA J JENNINGS              N4977 HURRICANE CT                                                ONALASKA        WI         54650                  6002               Various                                                                                             $7.73
DEBRA J. SCHLUTER             W8219 BRIDLE PATH                                                 LAKE MILLS      WI         53551                  6002               Various                                                                                             $0.27
DEBRA JACKSON                 712 ARNOLD ST                                                     GLENWOOD        IA         51534                  6002               Various                                                                                             $0.77
DEBRA JEAN JANSSEN            N4116 SPRING BROOK RD                                             TIGERTON        WI         54486                  6002               Various                                                                                             $0.36
DEBRA JO POULSON              N4031 BASS LAKE RD                                                IRON MOUNTAIN   MI         49801                  6002               Various                                                                                             $1.51
DEBRA JOHNSON                 804 7TH AVE                                                       DEARY           ID         83823                  6002               Various                                                                                             $7.48
DEBRA JORDAN                  6 S MINNESOTA ST                                                  CONRAD          MT         59425                  6002               Various                                                                                             $6.41
DEBRA K WRIGHT-RUSSELL        BOX 134                                                           BROWNVILLE      NE         68321                  6002               Various                                                                                             $2.16
DEBRA KUNDERT                 7243 W WINSLOW RD                                                 WINSLOW         IL         61089                  6002               Various                                                                                            $13.20
DEBRA L KIMPEL                1809 MARSHALL ST                                                  MANITOWOC       WI         54220                  6002               Various                                                                                             $5.59
DEBRA L NACEY                 215 3RD ST SE                                                     AITKIN          MN         56431                  6002               Various                                                                                             $0.55
DEBRA L REED                  1751 S GALENA AVE LOT 16                                          FREEPORT        IL         61032                  6002               Various                                                                                             $5.62
DEBRA LANE                    1712 NEMAHA AVE                                                   FALLS CITY      NE         68355                  6002               Various                                                                                             $9.89
DEBRA LAWRENCE                515 W 9TH ST                                                      MOUNT CARMEL    IL         62863                  6002               Various                                                                                             $2.33




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             Creditor Name                Address1        Address2        Address3             City         State           Zip   Country     Number                Claim                                                                             Total Claim
DEBRA LOGER                   41190 1ST ST                                             NORTH BRANCH      MN         55056                 6002                Various                                                                                                $2.68
DEBRA LOLLEY                  146 N MAIN ST                                            OCONTO FALLS      WI         54154                 6002                Various                                                                                                $3.26
DEBRA LOPEZ                   BOX 97                                                   LYMAN             WY         82937                 6002                Various                                                                                                $1.66
DEBRA LUBINSKI                1341 ALPINE LN                                           NEENAH            WI         54956                 6004                Various                                                                                               $15.00
DEBRA LUDEMAN                 28 SANDBAR RD                                            TRACY             MN         56175                 6002                Various                                                                                                $0.55
DEBRA LYNN LUKES              3562 LOCUST LN                                           EAU CLAIRE        WI         54703                 6002                Various                                                                                                $3.51
DEBRA M ASHLOCK               807 E BARKER ST                                          TUSCOLA           IL         61953                 6002                Various                                                                                                $3.33
DEBRA MANCUSI                 311 CREEKSIDE PL                                         DELAVAN           WI         53115                 6002                Various                                                                                                $0.49
DEBRA MATTHEWS                2723 Q ST                                                OMAHA             NE         68107                 6004                Various                                                                                                $2.80
DEBRA MCNABB                  PO BOX 269                                               LENA              WI         54139                 6004                Various                                                                                                $1.00
DEBRA MILLER                  2541 WORTHINGTON AVE                                     LINCOLN           NE         68502                 6002                Various                                                                                                $5.64
DEBRA MITCHELL                2348 N 65TH AVE                                          OMAHA             NE         68104                 6004                Various                                                                                                $8.00
DEBRA MORGAN                  1251 BEECHWOOD DR                                        CEDARBURG         WI         53012                 6002                Various                                                                                                $3.32
DEBRA MORRISON                917 S 5TH AVE                                            WAUSAU            WI         54401                 6004                Various                                                                                                $1.00
DEBRA MYERS                   9503 LOCUST AVE                                          NEWAYGO           MI         49337                 6002                Various                                                                                               $10.00
DEBRA NALDER                  690 E 800TH S                                            LEWISTON          UT         84320                 6002                Various                                                                                                $8.14
DEBRA NEIDERHISER             5501 WEST 46TH ST APT 118                                SIOUX FALLS       SD         57106                 6004                Various                                                                                               $11.20
DEBRA NELSON                  1505 JUNIPER DR                                          IDAHO FALLS       ID         83404                 6002                Various                                                                                                $6.82
DEBRA ORTEGA                  2403 W FOREST AVE                                        BELOIT            WI         53511                 6004                Various                                                                                                $2.00
DEBRA PACHOLKE                16 E BRACKLIN ST                                         RICE LAKE         WI         54868                 6004                Various                                                                                                $4.00
DEBRA PIJANOWSKI              BOX 4                                                    RANDOLPH          IA         51649                 6002                Various                                                                                                $1.56
DEBRA PILTZ                   541 ELM ST                                               WISCOSIN RAPIDS   WI         54494                 6004                Various                                                                                                $1.34
DEBRA PORTER                  1407 PARKSIDE DR                                         MARSHALL          MN         56258                 6002                Various                                                                                               $72.89
DEBRA PRAZAK                  1738 S COURT ST                                          FERGUS FALLS      MN         56537                 6002                Various                                                                                                $7.56
DEBRA RAINEY                  PO BOX 714                                               HANNA             WY         82327                 6002                Various                                                                                                $6.82
DEBRA RAITH                   W238N7037 MICHELLE LN                                    SUSSEX            WI         53089                 6002                Various                                                                                                $1.18
DEBRA RANDALL                 3216 N 80TH ST                                           OMAHA             NE         68134                 6002                Various                                                                                                $7.51
DEBRA RAYE                    N7830 KETTLEMORAINE DRIVE                                WHITEWATER        WI         53190                 6004                Various                                                                                               $36.80
DEBRA RICHARDS                464 S 450TH E                                            FARMINGTON        UT         84025                 6002                Various                                                                                                $0.41
DEBRA RITTMANN                2228 SYLVAN WAY APT 8                                    WEST BEND         WI         53095                 6002                Various                                                                                                $3.75
DEBRA ROBINSON                900 MORRIS AVE APT 8                                     LARNED            KS         67550                 6002                Various                                                                                                $3.86
DEBRA ROEMER                  719 MAPLE AVE                                            WILD ROSE         WI         54984                 6002                Various                                                                                                $2.11
DEBRA ROSS                    759 NE 72ND ST                                           TRENTON           MO         64683                 6002                Various                                                                                                $7.12
DEBRA ROYER                   1375 COUNTY ROAD 275                                     NEELYVILLE        MO         63954                 6002                Various                                                                                                $4.47
DEBRA SANCHEZ                 PO BOX 1008                                              WORLAND           WY         82401                 6002                Various                                                                                                $5.01
DEBRA SCHUBERT                409 PEARL LN APT Q103                                    FOND DU LAC       WI         54935                 6002                Various                                                                                                $0.33
DEBRA SCHUMACHER              1006 CHESTNUT                                            MARATHON          WI         54448                 6004                Various                                                                                                $5.40
DEBRA SCORGIE                 225 S TELLULAH                                           APPLETON          WI         54915                 6002                Various                                                                                                $5.86
DEBRA SHADEL                  824 E EDGE WATER                                         PORTAGE           WI         53901                 6004                Various                                                                                                $5.40
DEBRA SIMONSON                420 W HICKORY ST                                         SISSETON          SD         57262                 6002                Various                                                                                                $5.95
DEBRA SLAYTON                 105 7TH STREET                                           CALUMENT          MI         49913                 6002                Various                                                                                                $4.16
DEBRA SMETANA                 700 N WILLOW AVE                                         MARSHFIELD        WI         54449                 6002                Various                                                                                                $2.74
DEBRA SMITH                   514 4 SHORT RD                                           RACINE            WI         53402                 6002                Various                                                                                                $5.01
DEBRA STEINBACH               1284 HONEYSUCKLE LN                                      NEENAH            WI         54956                 6002                Various                                                                                                $5.73
DEBRA URBAN                   2553 LAREDO AVE                                          MISSOURI VALLEY   IA         51555                 6002                Various                                                                                                $8.11
DEBRA VIETHS                  VALLEYVIEW CT NE APT 734                                 BYRON             MN         55920                 6002                Various                                                                                                $4.44
DEBRA WALKER                  3009 W SHADOW PARK DR                                    WEST VALLEY CIT   UT         84119                 6002                Various                                                                                                $5.62
DEBRA WEATHERS                4420 UNIVERSITY DR                                       SPRINGFIELD       IL         62712                 6002                Various                                                                                                $0.60
DEBRA WEYENBERG               214 G PARKSIDE CT                                        KIMBERLY          WI         54136                 6002                Various                                                                                               $10.00
DEBRA WRIGHT                  111 C ST                                                 WOLF POINT        MT         59201                 6002                Various                                                                                                $2.90
DEBRA YAUN                    930 11TH ST                                              BELOIT            WI         53511                 6002                Various                                                                                                $8.60
DEBRA(USE) CHRISTIANSEN       34946 COUNTY ROAD 140                                    FAIRVIEW          MT         59221                 6002                Various                                                                                                $3.92
DEE ANN SCHENK                151 W 200TH N                                            SMITHFIELD        UT         84335                 6002                Various                                                                                                $5.23
DEE BREWSTER                  1816 2ND AVE N                                           GREAT FALLS       MT         59401                 6002                Various                                                                                                $5.07




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                                                                                                                                                  Last 4 Digits of     Date Debt was
                                                                                                                                                     Account         Incurred, Basis for
             Creditor Name                Address1            Address2            Address3           City          State           Zip   Country     Number                Claim                                                                             Total Claim
DEE JOHNSTONE                 1303 E 6TH ST 1                                                LAUREL             MT         59044                 6004                Various                                                                                               $19.16
DEE LUMSDEN                   2232 CASTLEWOOD DR                                             WORTHINGTON        MN         56187                 6002                Various                                                                                                $3.21
DEEANN INGRAHAM               BOX 1758                                                       BROWNING           MT         59417                 6004                Various                                                                                                $6.98
DEEANNE MASON                 3230 N 14TH ST                                                 COEUR D ALENE      ID         83815                 6002                Various                                                                                               $10.00
DEENA DIAZ                    1805 W. 2ND                 APT 1                              GRANDVIEW          WA         98930                 6004                Various                                                                                                $5.00
DEENA RANSON                  418 S MCDONALD                                                 SPOKANE            WA         99216                 6004                Various                                                                                               $20.50
DEENA SAUER                   426 7TH AVE. NE                                                PLAINVIEW          MN         55964                 6004                Various                                                                                                $3.00
DEEONTRE BATCHELOR            926 SECOND ST                                                  BELOIT             WI         53511                 6004                Various                                                                                                $3.00
DEEP AGGARWAL                 1701 HIGHWAY 52 N APT 12                                       ROCHESTER          MN         55901                 6004                Various                                                                                                $3.00
DEIDRA HORTON                 W3755 COUNTY ROAD K                                            MONTELLO           WI         53949                 6004                Various                                                                                                $3.00
DEIDRA REDFORD                2573 E 6600TH S                                                SLC                UT         84121                 6002                Various                                                                                                $8.93
DEIDRE ERNEST                 1004 E CAMP ST APT 2                                           ELY                MN         55731                 6002                Various                                                                                               $12.00
DEIDRE LEE                    719 3RD AVE SW                                                 OELWEIN            IA         50662                 6002                Various                                                                                                $8.52
DEIDRE SLOWINSKI              11852 750TH ST                                                 BLOOMING PRAIRI    MN         55917                 6002                Various                                                                                                $0.85
DEJA BENTON                   114 WEST PLEASANT ST                                           GARDEN CITY        MN         56034                 6004                Various                                                                                                $6.06
DEJAUNARA TORRES              3023 HAMILTON STREET                                           OMAHA              NE         68131                 6004                Various                                                                                               $25.00

DEKLIN CHRISTIANSON           210 11TH SST SO                                                WISCONSIN RAPIDS   WI         54494                  6004               Various                                                                                             $3.00
DEKOTA WESL GAMBLING          RR 1 BOX 1177                                                  DONIPHAN           MO         63935                  6002               Various                                                                                             $5.40
DEL HAMACHER                  W2819 US HIGHWAY 2                                             VULCAN             MI         49892                  6002               Various                                                                                             $3.92
DELANEY DISTRIBUTORS INC      COD                         SHOPKO STORES     PO BOX 19060     GREEN BAY          WI         54307-9060             9564               Various                                                                                           $394.26
DELANEY FAMILY                5108 MESA RD                                                   MADISON            WI         53716                  6002               Various                                                                                             $5.92
DELBERT BRUNER                501 1ST ST                                                     BARNESTON          NE         68309                  6002               Various                                                                                             $0.77
DELBERT CHRISTIAENS           PO BOX 445                                                     VALIER             MT         59486                  6002               Various                                                                                             $0.63
                                                          3200 S THEODORE
DELBERT CONN                  APT 321                     AVENUE                             SIOUX FALLS        SD         57106                  6004               Various                                                                                               $56.00
DELBERT DICKMAN               223 S 2ND ST                                                   INDIANOLA          NE         69034                  6002               Various                                                                                                $5.26
DELBERT L CHRISTENSEN         550 IRIS AVE                                                   CRETE              NE         68333                  6002               Various                                                                                                $1.95
DELBERT OLSEN                 490 E MAIN ST                                                  TREMONTON          UT         84337                  6002               Various                                                                                                $5.45
DELENIA ADAMS                 PO BOX 946                                                     DONIPHAN           MO         63935                  6002               Various                                                                                                $3.07
DELETE FULLER                 129 CROSS STREET                                               OCONTO             WI         54153                  6004               Various                                                                                                $4.40
DELFONSA BAUTISTA             1453 1ST AVE                                                   COLOMA             WI         54930                  6002               Various                                                                                                $8.63
DELFORD BECK                  201 VERDE CREEK RD                                             SUPERIOR           MT         59872                  6002               Various                                                                                               $14.69
DELIA GODINEZ DUQUE           240 CARLTON AVE                                                CHANDLER           MN         56122                  6002               Various                                                                                                $7.18
DELIA REYES MALDONADO         3156 RIDGER WAY #105                                           MADISON            WI         53704                  6004               Various                                                                                                $5.00
DELILAH STAGRAY               2385 NINE MILE RD                                              STERLING           MI         48659                  6002               Various                                                                                                $6.71
DELISIA MONTANO               PO BOX 174                                                     ABERDEEN           ID         83210                  6004               Various                                                                                               $10.00
                                                          1108 N HIGHWAY
DELL RAPIDS ACE               J W NIEDERAUER INCORPORATED 77                                 DELL RAPIDS        SD         57022                  4059               Various                                                                                               $53.25
                                                                                                                                                                     11/21/2018 -
DELL RAPIDS UTILITIES         P.O. BOX 10                                                    DELL RAPIDS        SD         57022                  56001              12/20/2018                                                                                         $58.22
DELL RAPIDS/ CITY OF          PO BOX 10                                                      DELL RAPIDS        SD         57022                  1194               Various                                                                                           $408.12
DELLA HARPER                  6314 N SHILOH RD APT 1437                                      GARLAND            TX         75044                  6002               Various                                                                                             $2.47
DELLA SANDERS                 9663 SUFFOLKK                                                  OMAHA              NE         68127                  6004               Various                                                                                            $25.00
DELLARAE WALKER               2782 MONUMETN PARK RD.                                         DODSON             MT         59524                  6004               Various                                                                                             $2.00
DELMA BARRON                  114 WEST PLEASANT ST                                           GARDEN CITY        MN         56034                  6004               Various                                                                                             $3.00
DELMAR BARTSCH                515 PLAINVIEW RD                                               LA CROSSE          WI         54603                  6002               Various                                                                                             $0.96
DELMAR LEEPER                 811 6TH AVE SE                                                 AUSTIN             MN         55912                  6004               Various                                                                                             $3.00
DELMAR PLAMP                  2531 S HWY 37                                                  MITCHELL           SD         57301                  6004               Various                                                                                             $8.23
DELMAR ROSCHEN                N9241 1015TH STREET                                            RIVER FALLS        WI         54022                  6004               Various                                                                                             $7.50
DELMER HENNING                1800 N MASON ST                                                APPLETON           WI         54914                  6002               Various                                                                                             $4.74
DELMER LIEBENOW               54785 HIGHWAY 42                                               PLAINVIEW          MN         55964                  6002               Various                                                                                             $4.44
DELMIA SANCHEZ EUCEDA         618 BRISTOL STREET                                             WORTHINGTON        MN         56187                  6004               Various                                                                                             $3.00
DELMY OROZCO                  321 NEBRASKA ST                                                WAYNE              NE         68787                  6002               Various                                                                                             $6.03




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                                                                          Schedule E/F: Part 2 - Creditors With Nonpriority Unsecured Claims




                                                                                                                                                                                                                                    Claim subject to offset?
                                                                                                                                                                                                          Unliquidated
                                                                                                                                                                                             Contingent


                                                                                                                                                                                                                         Disputed
                                                                                                                                                    Last 4 Digits of     Date Debt was
                                                                                                                                                       Account         Incurred, Basis for
             Creditor Name                  Address1             Address2           Address3           City          State           Zip   Country     Number                Claim                                                                             Total Claim
DELONNA REED                    115 E MACKIE ST                                                BEAVER DAM         WI         53916                 6002                Various                                                                                                $6.16
DELORES BEAMS                   #3 CATALINA CT                                                 JACKSONVILLE       IL         62650                 6002                Various                                                                                                $5.62
DELORES COLLICOTT               6219 HIGHWAY 51 S LOT 1120                                     JANESVILLE         WI         53546                 6002                Various                                                                                                $7.80
DELORES DARDINE                 5975 CHIPPEWA TRL                                              NORTH BRANCH       MN         55056                 6004                Various                                                                                                $3.00
DELORES GOUGE                   203 PINE ST                                                    STANLEY            WI         54768                 6002                Various                                                                                                $3.33
DELORES GROSHEK                 550 W IOLA ST # APT5F                                          IOLA               WI         54945                 6002                Various                                                                                                $9.23
DELORES HORNIG                  1686 NORTHRIDGE CT                                             MENASHA            WI         54952                 6004                Various                                                                                                $5.00
DELORES HUFF                    1202 WEST 3RD ST.                                              SIOUX CITY         IA         51103                 6004                Various                                                                                               $36.93
DELORES JORDAN                  10785 462ND AVE                                                NEW EFFINGTON      SD         57255                 6002                Various                                                                                                $1.15
DELORES KNAPP                   24 E 3RD ST                                                    CLINTONVILLE       WI         54929                 6002                Various                                                                                                $8.68
DELORES LORENZ                  2621 E RENWICK COURT                                           SPOKANE            WA         99223                 6004                Various                                                                                               $79.69
DELORES ORTON                   PO BOX 254                                                     BROOTEN            MN         56316                 6002                Various                                                                                                $6.79
DELORES PALMER                  PO BOX 121                                                     DELTA              UT         84624                 6002                Various                                                                                               $10.66
DELORES PETERSON                933 MARSHALL ST                                                EAU CLAIRE         WI         54703                 6002                Various                                                                                                $2.22
DELORES SCHARFF                 8930 S CREEK RD                                                BELOIT             WI         53511                 6002                Various                                                                                                $9.07
DELORES SPICKLER                720 CEDAR AVENUE                                               LEWISTON           ID         83501                 6004                Various                                                                                               $11.20
DELORES USELMAN                 762 NELSON LANE                                                WATERTOWN          WI         53098                 6004                Various                                                                                                $4.00
                                                             1000 WASHINTON
DELORES VROMAN                  APT 607                      AVENUE                            DIXON              IL         61021                   6002              Various                                                                                                $7.82
DELOY MEPPEN                    1881 W 49TH S                                                  IDAHO FALLS        ID         83402                   6002              Various                                                                                                $7.67
                                76 NORTH 200 WEST UTILITY                                                                                                              12/1/2018 -
DELTA CITY, UT                  BILLING                                                        DELTA              UT         84624                   95                12/31/2018                                                                                        $135.40
                                                             114 WEST 26TH
DELTA ENTERPRISE CORPORATION    VICE PRESIDENT OF SALES      STREET                            NEW YORK           NY         10001                   4457              Various                                                                                         $8,968.41
DELTA GARBAGE SERVICE           PO BOX 591                                                     DELTA              UT         84624                                     Various                                                                                         $1,860.00
DELTA KASTNER                   3850 HOEPKER RD                                                MADISON            WI         53718                  6004               Various                                                                                             $4.00
DELTON CRAWFORD                 1625 EAST INMAN PKWY 3                                         BELOIT             WI         53511                  6004               Various                                                                                             $2.00
DELTON GILBERT                  140 9TH AVE N                                                  TWIN FALLS         ID         83301                  6004               Various                                                                                             $3.65
DELUXE IMPORT TRADING INC       17025 KINGSVIEW AVE                                            CARSON             CA         90746                  6403               Various                                                                                         $3,000.00
DELWIN PETTIS                   PO BOX                       761 1ST AVE NW                    BROWNS VALLEY      MN         56219                  6004               Various                                                                                            $10.72
DELWIN RESPALJE                 N1411 SPRING LAKE DRIVE                                        DALTON             WI         53926                  6004               Various                                                                                             $5.50
DEMARA BARKES                   384 EASTLAND DRIVE NORTH                                       TWIN FALLS         ID         83301                  6004               Various                                                                                             $3.65

DEMARS/ LORI                    STORE 551                    SHOPKO EMPLOYEE 344 N HALLECK     DEMOTTE            IN         46310                  5754               Various                                                                                            $17.44
DEMATIC CORPORATION             684125 NETWORK PLACE                                           CHICAGO            IL         60673-1684             1410               Various                                                                                       $211,199.85
DEMERT BRANDS INCORPORATED      PO BOX 82163                                                   TAMPA              FL         33682                  1451               Various                                                                                        $16,505.88
DEMETRIA HAMILTON               3241 N28TH ST                                                  OMAHA              NE         68111                  6004               Various                                                                                             $4.00
DEMETRIA JACKSON                811 12TH AVE SE                                                AUSTIN             MN         55912                  6004               Various                                                                                             $3.00
DEMETRIA WESTBROOK              1616 LOTHROP ST                                                OMAHA              NE         68110                  6004               Various                                                                                             $7.00
DEMETRICE JONES                 614 CENTER STREET                                              MADISON            WI         53713                  6004               Various                                                                                             $1.00
DEMETRIS BUMGARDNER             3523 HAMILTON ST                                               OMAHA              NE         68131                  6002               Various                                                                                             $2.00
DENA CZLAPINSKI                 1011 INDIAN DANCER TR                                          BELVIDERE          IL         01008                  6002               Various                                                                                             $8.55
DENA HEJLIK                     2390 LAKE AVE                                                  BRITT              IA         50423                  6004               Various                                                                                            $10.00
DENAE CARLSON                   1084 COOPER LINE RD                                            ISHPEMIMG          MI         49849                  6002               Various                                                                                             $0.79
DENAE JUILLERAT                 79060 STATE LINE RD                                            GLENVILLE          MN         56036                  6004               Various                                                                                             $3.00
DENEICE CARTER                  210 FILER AVENUE W                                             TWIN FALLS         ID         83301                  6004               Various                                                                                             $5.00
DENG HER                        122 NORTH 1ST AVE                                              WAUSAU             WI         54401                  6004               Various                                                                                             $3.75

DENIJAH HAIRSTON                1040 2ND ST N                                                  WISCONSIN RAPIDS   WI         54494                  6004               Various                                                                                               $10.00
DENIS BROWN                     34563 E 253 COURT                                              GROVE              OK         74344                  6004               Various                                                                                               $25.00
DENIS KOWALESKI                 N1983 EVERGREEN LANE                                           WAUPACA            WI         54981                  6004               Various                                                                                                $1.64
DENIS LIEBERGEN                 2573 SUN TER                                                   GREEN BAY          WI         54311                  6002               Various                                                                                                $1.01
DENIS OBLENESS                  2518 STRAND AVE TRLR 18                                        MISSOULA           MT         59804                  6002               Various                                                                                                $8.77
DENISE A. WOJTASZEK             2610 LILLIAN ST                                                BELLEVUE           NE         68147                  6002               Various                                                                                                $1.45




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                                                                                                        19-80075 (TLS)        of  1015
                                                                         Schedule E/F: Part 2 - Creditors With Nonpriority Unsecured Claims




                                                                                                                                                                                                                                 Claim subject to offset?
                                                                                                                                                                                                       Unliquidated
                                                                                                                                                                                          Contingent


                                                                                                                                                                                                                      Disputed
                                                                                                                                                 Last 4 Digits of     Date Debt was
                                                                                                                                                    Account         Incurred, Basis for
              Creditor Name                Address1             Address2         Address3              City       State           Zip   Country     Number                Claim                                                                             Total Claim
DENISE AMUNDSON                310 S HILL AVE                                                 OGILVIE          MN         56358                 6002                Various                                                                                               $13.25
DENISE ATHEY                   1291 MELISSA BLVD                                              LITTLE SUAMICO   WI         54141                 6002                Various                                                                                                $6.55
DENISE BELT                    PO 10127                                                       KALISPELL        MT         59904                 6004                Various                                                                                               $30.00
DENISE BIRKENHOLZ              7149 NE RONTER WAY 618                                         HILLSBORO        OR         97124                 6004                Various                                                                                               $10.00
DENISE BIRMAN                  14331 ASPEN AVE                                                TRACY            MN         56175                 6004                Various                                                                                               $10.00
DENISE BOYLES                  715 WASHINGTON ST APT 11                                       RAWLINS          WY         82301                 6002                Various                                                                                                $7.48
DENISE BURBANK                 811 FREEBORN                                                   ALBERT LEA       MN         56007                 6004                Various                                                                                                $3.00
DENISE C HAYES                 9121 N TORREY LN                                               HAYDEN           ID         83835                 6002                Various                                                                                                $9.56
DENISE CASTELLANO              315 8TH AVE E                                                  TWIN FALLS       ID         83301                 6002                Various                                                                                                $1.78

DENISE CLOUD-COOPER            45657 VETERANS MEMORIAL DR                                     SISSETON         SD         57262                  6002               Various                                                                                                $7.07
DENISE D WOOTEN                3941 LOCUST ST                                                 LINCOLN          NE         68516                  6002               Various                                                                                                $0.82
DENISE DUKE                    6961 COUNTRY OAKS DR                                           SOBIESKI         WI         54171                  6004               Various                                                                                                $1.50
DENISE E KOZUCH                E5316 1ST RD                                                   KEWAUNEE         WI         54216                  6002               Various                                                                                                $1.04
DENISE FARLEY                  14466 46TH AVE                                                 CHIPPEWA FALLS   WI         54729                  6004               Various                                                                                                $2.40
DENISE FULK                    7562 CTY TRK HH                                                ARPIN            WI         54410                  6002               Various                                                                                                $1.21
DENISE FUNDERBURG              400 SO W # 147                                                 JEROME           ID         83338                  6002               Various                                                                                                $1.92
DENISE GARCIA                  9306 SOUTH 27TH ST                                             BELLEVUE         NE         68147                  6004               Various                                                                                               $10.00
DENISE HAGUE                   N6971 COUNTYR RD CC                                            SPRING VALLEY    WI         54767                  6004               Various                                                                                               $22.00
                               16206 WEST BELOIT NEWARK
DENISE HANSON                  ROAD                                                           BRODHEAD         WI         53520                  6004               Various                                                                                               $15.00
DENISE HARMON                  929 5TH AVE NW                                                 GREAT FALLS      MT         59404                  6002               Various                                                                                                $6.36
DENISE HOERNKE                 1305 E HARRIET ST APT 4                                        APPLETON         WI         54915                  6002               Various                                                                                                $4.08
DENISE HOGAN THOSTENSON        31016 361ST LANE                                               LE SUEUR         MN         56058                  6004               Various                                                                                                $3.06
DENISE HUFFMAN                 N4002 CTY J                                                    MONROE           WI         53566                  6002               Various                                                                                                $5.81
DENISE JONES                   1109 13TH AVE                                                  GRAFTON          WI         53024                  6002               Various                                                                                                $1.59
DENISE L CARROLL               418 N 4TH ST                                                   DOUGLAS          WY         82633                  6002               Various                                                                                                $6.79
DENISE LABORE                  412 S ELMWOOD AVE                                              SIOUX FALLS      SD         57104                  6002               Various                                                                                                $3.48
DENISE M 777 RISBRUDT          2416 LAKEVIEW DR                                               FERGUS FALLS     MN         56537                  6002               Various                                                                                                $9.81
DENISE MAIMAN                  5222 COUNTY ROAD T                                             AMHERST          WI         54406                  6002               Various                                                                                                $0.66
DENISE MELLOR                  3349 S ISLAND WAY                                              W. VALLEY CITY   UT         84120                  6002               Various                                                                                                $7.84
DENISE SANDERS                 PO BOX 415                                                     LYONS            OR         97358                  6004               Various                                                                                               $17.00
DENISE STANSBURY               1131 STUHR CRT                                                 ONALASKA         WI         54650                  6004               Various                                                                                                $3.00
DENISE STOFFEL                 W 4305 HIGHWAY 67                                              CAMPBELLSPORT    WI         53010                  6004               Various                                                                                                $3.00
DENISE WILSON                  701 W 6TH ST                                                   MOUNT CARMEL     IL         62863                  6002               Various                                                                                                $4.05
DENISSE RAMIREZ                4362 S 4970TH W                                                SALT LAKE        UT         84120                  6002               Various                                                                                                $8.05
DENNICE JANZ                   4550 HARTZELL LA #4                                            EAU CLAIRE       WI         54703                  6004               Various                                                                                               $10.00
DENNIS ALKA                    6402 N 1220TH BLVD                                             MT. CARMEL       IL         62863                  6002               Various                                                                                                $8.11
DENNIS BALL                    12847 CTY RD A                                                 WAUSAU           WI         54401                  6002               Various                                                                                                $6.30

DENNIS BARNES                  CO DONOHUE FOSTER SERVICES   5975 CHIPPEWA TRL                 NORTH BRANCH     MN         55056                  6002               Various                                                                                                $1.66
DENNIS BAROS                   77 31ST ST                                                     WHEATLAND        WY         82201                  6002               Various                                                                                                $3.53
DENNIS BEHNKE                  4680 S. US HWY 45                                              OSHKOSH          WI         54902                  6004               Various                                                                                                $5.00
DENNIS BIGHAIR                 P.O. BOX 414                                                   LODGE GRASS      MT         59050                  6004               Various                                                                                                $2.00
DENNIS BROOKS                  RR 8 BOX 2047                                                  DONIPHAN         MO         63935                  6002               Various                                                                                                $3.23
DENNIS BRUSCHER                814 CEDARE AVE                                                 WESTBROOK        MN         56183                  6004               Various                                                                                                $3.00
DENNIS BUTLER                  406 W DAKOTA ST                                                JEFFERSON        SD         57038                  6002               Various                                                                                                $9.37
DENNIS BUZARD                  PO BOX 307                                                     BUTTE            NE         68722                  6002               Various                                                                                                $3.10
DENNIS CAPRON                  2901 MYRTLE                                                    SIOUX CITY       IA         51103                  6004               Various                                                                                                $3.25
DENNIS CLOUGH                  402 BROADWAY                                                   WHEATON          MN         56296                  6002               Various                                                                                                $1.26
DENNIS COLE                    4029 W HAYES RD                                                SHELBY           MI         49455                  6002               Various                                                                                                $7.56
DENNIS COLLINS                 410 S 11TH ST                                                  BEATRICE         NE         68310                  6002               Various                                                                                                $0.88
DENNIS CROOKS                  12990 N SEIDEL RD                                              ORANGEVILLE      IL         61060                  6002               Various                                                                                                $9.40
DENNIS DAVIDOFF                1145 SHERMAN STREET                                            HOT SPRINGS      SD         57747                  6002               Various                                                                                                $3.61




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             Creditor Name              Address1                Address2         Address3            City         State           Zip   Country      Number                Claim                                                                             Total Claim

DENNIS DAVIS                  441 18TH AVE S                                                  WISCONSIN RAPIDS   WI       54495                   6004               Various                                                                                               $58.80
DENNIS DEAN                   715 LYNN STREET                                                 WENATCHEE          WA       98801                   6004               Various                                                                                               $27.89
DENNIS DECKER                 5928 N PINEGROVE DR                                             COEUR D ALENE      ID       83815                   6002               Various                                                                                                $0.36
DENNIS DEFFERDING             W6565 CEDAR DR                                                  APPLETON           WI       54914                   6002               Various                                                                                               $10.00
DENNIS DENK                   817 S 23RD ST                                                   MANITOWOC          WI       54220                   6002               Various                                                                                                $7.59
DENNIS DIXON                  N21289 COUNTY O                                                 NIAGARA            WI       54151                   6002               Various                                                                                                $1.51
DENNIS DORAN                  483 E 100 S                                                     SPANISH FORK       UT       84660                   6004               Various                                                                                                $4.00
DENNIS DRUDIK                 865 S 44TH                                                      LINCOLN            NE       68510                   6004               Various                                                                                               $24.00
DENNIS DUNMIRE                420 E GREEN ST                                                  WINTERSET          IA       50273                   6002               Various                                                                                                $0.63
DENNIS EHRHARDT               714 SE MOCKINGBIRD DR                                           COLLEGE PLACE      WA       99324                   6004               Various                                                                                               $92.00
DENNIS FINK                   1427 BAXTER AVE N                                               GLENCOE            MN       55336                   6002               Various                                                                                                $5.84
DENNIS FOSTER                 5760 5TH ST H                                                   MEARS              MI       49436                   6002               Various                                                                                                $6.33
DENNIS FRY                    9837 N CLEARLAKE RD                                             MILTON             WI       53563                   6002               Various                                                                                                $6.14
DENNIS GEIST                  3308 RUDOLF RD                                                  EAU CLAIRE         WI       54701                   6002               Various                                                                                                $2.16
DENNIS GINTHER                310 2ND AVE NW                                                  ROCKFORD           IA       50468                   6002               Various                                                                                                $2.60
DENNIS GUSTAFSON              111 NORTH ST                                                    POPLAR GROVE       IL       61065                   6004               Various                                                                                                $3.75

DENNIS HILL                   2887 29 1/4 SOMERSET WAY PO                                     BIRCHWOOD          WI       54817                   6002               Various                                                                                                $7.59
DENNIS HOMMEN                 214 POTTER ROAD UNIT 102                                        ELKHORN            WI       53121                   6004               Various                                                                                               $17.39
DENNIS HOWARD                 571 N 750TH E                                                   OREM               UT       84057                   6002               Various                                                                                                $1.89
DENNIS HUGHES                 W802 HIGHWAY E                                                  BRODHEAD           WI       53520                   6002               Various                                                                                                $5.95
DENNIS J POKORNEY             W3085 51ST ST                                                   MAUSTON            WI       53948                   6002               Various                                                                                                $8.33
DENNIS JENSEN                 10640 BUCKHORN LN                                               SISTER BAY         WI       54234                   6002               Various                                                                                                $7.70
DENNIS KERNS                  839 SOMERSET DR                                                 JANESVILLE         WI       53546                   6004               Various                                                                                               $25.00
DENNIS KOCH                   1400 HOWELL AVE                                                 WORLAND            WY       82401                   6002               Various                                                                                                $8.66
DENNIS KOENEKE                405 S ST                                                        RULO               NE       68431                   6002               Various                                                                                                $9.62
DENNIS KOSTUCH                PO BOX 549                                                      WISCONSIN RAPID    WI       54495                   6002               Various                                                                                                $6.55
DENNIS KUESTER                1312 14TH ST                                                    MONROE             WI       53566                   6002               Various                                                                                                $7.81
DENNIS L HANSEN               7986 S LAGUNA DR                                                WEST JORDAN        UT       84088                   6002               Various                                                                                                $9.10
DENNIS L. PETERSON            641 S 400TH E                                                   BRIGHAM CITY       UT       84302                   6002               Various                                                                                                $4.47
DENNIS LATIMER                1609 WINNEBAGO ST                                               LA CROSSE          WI       54601                   6002               Various                                                                                                $4.96
DENNIS LUNDGREEN              950 E STERLING DR                                               SPANISH FORK       UT       84660                   6002               Various                                                                                                $0.96
DENNIS M. ADAMS               1470 8TH AVE                                                    DANNEBROG          NE       68831                   6002               Various                                                                                                $1.26
DENNIS MALLORY                530 E BROADWAY                PO BOX 6725                       HELENA             MT       59604                   6002               Various                                                                                                $2.08
DENNIS MAXAM                  936 6TH ST APT 216                                              MENASHA            WI       54952                   6004               Various                                                                                                $1.00
DENNIS MCCAIN                 76780 ROAD 415                                                  GOTHENBURG         NE       69138                   6002               Various                                                                                                $8.14
DENNIS MCCLUSKEY              136 JUDSON DR APT H                                             BEAVER DAM         WI       53916                   6002               Various                                                                                                $3.73
DENNIS MECHELKE               1320 HENNEPIN AVE N                                             GLENCOE            MN       55336                   6002               Various                                                                                                $2.90
DENNIS MONDAY                 3208 N MORRISON ST                                              APPLETON           WI       54911                   6004               Various                                                                                                $3.80
DENNIS MONNIER                32 22ND ST                                                      CHETEK             WI       54728                   6004               Various                                                                                                $3.00
DENNIS PAKE                   2700 BROWN RD                                                   BENTLEY            MI       48613                   6002               Various                                                                                                $2.74
DENNIS PATT                   N5421 MEADOWLARK RD                                             SHEBOYGAN          WI       53081                   6004               Various                                                                                               $10.00
DENNIS PATTERSON              N 5770 CTY RD G                                                 GILMAN             WI       54433                   6004               Various                                                                                                $4.00

DENNIS PIERCE                 1231 SOUTH BIRON DR                                             WISCONSIN RAPIDS   WI       54494                   6004               Various                                                                                               $24.00
DENNIS PISCHER                14386 43RD AVE                                                  CHIPPEWA FALLS     WI       54729                   6002               Various                                                                                                $1.81
DENNIS POSEY                  4655 POTTER PARK LOOP                                           MISSOULA           MT       59808                   6004               Various                                                                                                $5.02
DENNIS PRICE                  39 E KING ST                                                    MERIDIAN           ID       83642                   6002               Various                                                                                                $4.71
DENNIS QUINZE                 2707 SOUTH 50TH STREET                                          OMAHA              NE       68106                   6004               Various                                                                                               $10.04
DENNIS R CULLEY               329 S 3RD ST                                                    SAINT MARIES       ID       83861                   6002               Various                                                                                                $5.59
DENNIS R GEPHART              1837 WINDRUSH DR                                                GRAFTON            WI       53024                   6002               Various                                                                                                $1.92
DENNIS R LUCHT                220 E UNION ST                                                  WAUPACA            WI       54981                   6002               Various                                                                                                $4.49
DENNIS R. TIEDT               W3649 COUNTY ROAD 0                                             APPLETON           WI       54912                   6002               Various                                                                                                $2.49




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                                                                              Schedule E/F: Part 2 - Creditors With Nonpriority Unsecured Claims




                                                                                                                                                                                                                                     Claim subject to offset?
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                                                                                                                                                                                              Contingent


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                                                                                                                                                     Last 4 Digits of     Date Debt was
                                                                                                                                                        Account         Incurred, Basis for
             Creditor Name                      Address1           Address2           Address3              City       State         Zip    Country     Number                 Claim                                                                            Total Claim
DENNIS RACKLEY                      257 DAUPHIN STREET                                             GREEN BAY        WI         54301                6004                Various                                                                                            $130.00
DENNIS RASMUSSEN                    5025 INDIAN RIDGE RD                                           BILLINGS         MT         59101                6002                Various                                                                                              $7.01
DENNIS RICH                         57378 CALUMET AVE.                                             CALUMET          MI         49913                6004                Various                                                                                             $25.00
DENNIS ROLFE                        P O BOX 608                                                    CRESWELL         OR         97426                6004                Various                                                                                             $50.00
DENNIS ROOF                         8541 ORCHARD AVE                                               OMAHA            NE         68127                6002                Various                                                                                              $2.88
DENNIS SABOL                        29397 410TH PL                                                 AITKIN           MN         56431                6002                Various                                                                                              $1.23
DENNIS SCHULZE                      10170 SCHOOL STREET                                            GRATIOT          WI         53541                6004                Various                                                                                             $30.00
DENNIS SCHWARTZ                     705 E STREET                                                   DARLINGTON       WI         53530                6002                Various                                                                                             $10.00
DENNIS SCOTT                        290 W MAIN BOX # 423                                           HYRUM            UT         84319                6002                Various                                                                                              $6.30
DENNIS SEILHAMER                    3216 SOUTH 10TH AVENUE                                         CALDWELL         ID         83605                6004                Various                                                                                              $6.40
DENNIS SHUFELT                      2719 113TH ST                                                  CHIPPEWA FALLS   WI         54729                6004                Various                                                                                            $255.30
DENNIS SIEBERS                      2331 E SIENNA WAY                                              APPLETON         WI         54913                6002                Various                                                                                              $6.55
DENNIS SMITH                        1704 LINCOLN RD                                                BELLEVUE         NE         68005                6002                Various                                                                                              $4.44
DENNIS T ZARAGOZA                   3720 STATE ST APT J4                                           GRAND ISLAND     NE         68803                6002                Various                                                                                              $0.96
DENNIS TREINEN                      2714 MYRTLE STREET                                             MADISON          WI         53704                6004                Various                                                                                              $3.95
DENNIS TULLBERG                     57970 858TH RD                                                 WAYNE            NE         68787                6002                Various                                                                                              $4.14
DENNIS VANDEN WYNGAARD              209 W FOURTH ST                                                KAUKAUNA         WI         54130                6004                Various                                                                                             $30.00
DENNIS VAUGHN                       1459 N 4300TH W                                                PLAIN CITY       UT         84404                6002                Various                                                                                              $6.77
DENNIS VIET                         319 9TH PL NW                                                  HAMPTON          IA         50441                6002                Various                                                                                              $5.92
DENNIS WARREN                       HC 1 BOX 3765                                                  OXLY             MO         63955                6002                Various                                                                                              $0.30
DENNIS WEICK                        1120 MCKINNLEY # 13                                            POCATELLO        ID         83201                6002                Various                                                                                              $9.32
DENNIS WEISS                        1308 KAY LYNN DR                                               BELLEVUE         NE         68005                6002                Various                                                                                              $5.40
DENNIS WHITAKER                     104 W 5000 S                                                   OGDEN            UT         84405                6004                Various                                                                                            $129.99
DENNIS WHITING                      400 MONROE AVE             APT 403                             GREEN BAY        WI         54301                6004                Various                                                                                             $28.23
DENNIS YANK                         544 LINDEN AVE                                                 CRETE            NE         68333                6002                Various                                                                                              $0.38
DENNIS YOTTER                       89844 240TH ST                                                 AUSTIN           MN         55912                6004                Various                                                                                              $5.00
DENNIS ZABAWA                       1120 EMERALD DRIVE                                             PLOVER           WI         54467                6004                Various                                                                                             $24.00
DENNIS ZEIGLER                      1416 15.45 LANE                                                BARK RIVER       MI         49807                6004                Various                                                                                             $42.54
DENTCO                              1161 E. CLARK ROAD                                             DEWITT           MI         48820                                    1-4 to 1-15-19                                                                                 $150,689.73
DENTCO EXTERIOR SERVICES MANAG      7059 SOLUTION CENTER                                           CHICAGO          IL         60677-7000            4673               Various                                                                                        $497,117.93

DENTON/ COREY                       STORE 2-773                 SHOPKO EMPLOYEE 825 NE MAIN        LEWISTOWN        MT         59457                 7209               Various                                                                                            $16.95
DENYEL ENGEL                        N 5799 CTY. RD. C                                              CECIL            WI         54111                 6004               Various                                                                                            $22.00
DENZEHL JACKSON                     14 KANAZAWA CIRCLE                                             MADISON          WI         53718                 6004               Various                                                                                             $1.00
                                    2108 EAST WHISPERING WILLOW
DENZEL EVANS-FLUELLEN               LANE                        APT 102                            NAMPA            ID         83687                 6004               Various                                                                                            $32.00
DEOLA MCDONALD                      73 N GREENFIELD DR                                             FREEPORT         IL         61032                 6002               Various                                                                                             $8.47
DEON ARD                            3700 28TH ST SPC 400                                           SIOUX CITY       IA         51105                 6002               Various                                                                                             $9.45
DEONTE BOLDEN                       1821 BINNEY ST                                                 OMAHA            NE         68110                 6004               Various                                                                                             $2.00
DEONTE BRAXTON                      540 W. OLIN AVE #114                                           MADISON          WI         53715                 6004               Various                                                                                             $3.00
DEONTE CARLTON                      3323 EAST RIVER DR                                             GREEN BAY        WI         54301                 6004               Various                                                                                             $2.00
DEPARTMENT OF LABOR & INDUSTRY      L & I ELEVATOR SECTION      PO BOX 44480                       OLYMPIA          WA         98504-4480            0732               Various                                                                                           $129.00
                                                                4190 AUMSVILLE
DEPARTMENT OF PUBLIC SAFETY ST      TRAINING                    HIGHWAY SE                         SALEM            OR         97317                  3380              Various                                                                                          $435.75
DEPENDABLE                          PO BOX 378                                                     ABERDEEN         SD         57402-0378                               Various                                                                                         $3,679.53
                                                                                                                                                                        9/6/2018 -
DEPERE WATER DEPT. WI               PO BOX 247                                                     GREEN BAY        WI         54305                 80-00              12/4/2018                                                                                       $4,836.66
DEPT OF CORRECTIONS                 PO BOX 201301                                                  HELENA           MT         59620                 6002               Various                                                                                            $31.14
DEPT OF HEALTH AND HUMAN SERVICE    501 CT SQ                  BOX 9                               GLASGOW          MT         59230                 6666               Various                                                                                          $109.88
                                                                                                                                                                        11/16/2018 -
DEPT OF PUBLIC UTILITIES, IN        P.O. BOX 157                                                   LOWELL           IN         46356-0157             3 00              12/18/2018                                                                                        $618.58
                                                               2500 OVERLOOK
DEPT OF VETERANS AFFAIRS            FEE BASIS                  TERRACE                             MADISON          WI         53705                  6004              Various                                                                                            $63.74




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            Creditor Name                  Address1                   Address2        Address3             City        State           Zip   Country      Number                Claim                                                                             Total Claim

DEPT OF WORKFORCE DEVELOPMENT    340 WEST GRAND AVE                                                WISCONSIN RAPIDS   WI       54495                   6004               Various                                                                                               $20.98
DER LEE                          2421 DONS DRIVE                                                   PLOVER             WI       54467                   6004               Various                                                                                               $18.00
DERALD KERN                      400 8TH AVE NW                                                    ABERDEEN           SD       57401                   6004               Various                                                                                               $11.52
DERECK MINTER                    416 E HUGUS ST APT 110                                            RAWLINS            WY       82301                   6002               Various                                                                                                $7.26
DEREK BARNES                     1304 N 1900TH PL                                                  FOWLER             IL       62338                   6002               Various                                                                                                $7.70
DEREK BATTERTON                  825 W 6TH ST                                                      MOUNT CARMEL       IL       62863                   6002               Various                                                                                                $9.18
DEREK BEARDSLEY                  1685 PALMER RD                                                    STANDISH           MI       48658                   6002               Various                                                                                                $7.53
DEREK BLACK                      1786 E RAMONA AVE                                                 SALT LAKE CITY     UT       84108                   6002               Various                                                                                                $4.47
DEREK CARLSON                    305 COURT ST                                                      NEILLSVILLE        WI       54456                   6002               Various                                                                                                $8.03
DEREK DRURY                      707 BENNING DR                                                    HOLSTEIN           IA       51025                   6002               Various                                                                                                $7.86
DEREK GORDON                     504 SANTA MARIA DR.                                               ARLINGTON          WI       53911                   6004               Various                                                                                                $5.00
DEREK GRANT                      2526 N. 48TH ST                                                   OMAHA              NE       68104                   6004               Various                                                                                               $15.00
DEREK JAMES                      6389 A RIVERVIEW RD                                               THOMSON            IL       61285                   6002               Various                                                                                                $4.25
DEREK KOHL                       5720 S VIEW DR                                                    HELENA             MT       59602                   6002               Various                                                                                                $3.53
DEREK KRUPPSTADT                 763 MAURICE ST APT 4                                              ISHPEMING          MI       49849                   6004               Various                                                                                               $10.00
DEREK KRZANOWSKI                 N2520 SPRUCE LANE                                                 MERRILL            WI       54452                   6004               Various                                                                                               $10.00
DEREK MERKEL                     11766 364TH AVE                                                   LEOLA              SD       57456                   6002               Various                                                                                                $5.81
DEREK PRESTHOLT                  417 6TH ST NW                                                     MASON CITY         IA       50401                   6002               Various                                                                                                $9.42
DEREK RUCK                       11 LA CRESENTA CIRCLE                                             MADISON            WI       53716                   6004               Various                                                                                               $25.00
DEREK SCHULTZ                    W7201 HAZEL RIDGE RD                                              DELEVAN            WI       53114                   6002               Various                                                                                                $4.90
DEREK SLECHTA                    19513 ADAMS ST                                                    OMAHA              NE       68135                   6004               Various                                                                                               $72.00
DEREK SULLIVAN                   1403 N 30TH                                                       LINCOLN            NE       68503                   6004               Various                                                                                               $20.00
DEREK THOMASON                   273 N 3900TH E                                                    RIGBY              ID       83442                   6002               Various                                                                                                $0.63

DEREK TONEY                      5820 N MONTANA AVE TRLR F6                                        HELENA             MT       59602                   6002               Various                                                                                                $7.12
DEREK TRAUSCH                    3230 SOUTH GATE CIRCLE                                            LINCOLN            NE       68502                   6004               Various                                                                                               $28.00
DEREK V GEISE                    3845 J ST                                                         LINCOLN            NE       68510                   6002               Various                                                                                                $5.84
DEREK YOUNG                      2172 SPRADLIN RD.                                                 JACKSONVILLE       IL       62650                   6004               Various                                                                                               $20.00
DEREL SMITH                      168 E IDEAL LN                                                    SALT LAKE CITY     UT       84115                   6002               Various                                                                                                $5.97

DERICK WINKWORTH                 630 N HOLDEN ST                                                   PORT WASHINGTON    WI       53074                   6002               Various                                                                                             $8.30
DERIK CRAWFORD                   1416 GRELLE AVE.                                                  LEWISTON           ID       83501                   6004               Various                                                                                            $10.02
DERIK MERRITT                    BOX 440                                                           THAYNE             WY       83127                   6002               Various                                                                                            $10.00
DERREK HEATH                     1523 17TH ST                                                      LEWISTON           ID       83501                   6004               Various                                                                                             $4.00
DERRICK ALLSOP                   2039 CANYON RD                                                    SMITHFIELD         UT       84335                   6002               Various                                                                                             $7.34
DERRICK HARTSE                   1718 LYNN AVE                                                     BILLINGS           MT       59102                   6004               Various                                                                                            $17.00
DERRICK HAWS                     10750 S CARRINGTON ST                                             SANDY              UT       84094                   6002               Various                                                                                             $8.52
DERRICK HOHENSEE                 430 4TH ST N                                                      WATKINS            MN       55389                   6004               Various                                                                                            $10.00
DERRICK JOHNSON                  802 W-M-35                                                        GWINN              MI       49841                   6002               Various                                                                                             $0.68
DERRICK LARSEN                   11239 WEST 5 MILE ROAD                                            FRANKSVILLE        WI       53126                   6004               Various                                                                                             $1.13
DERRICK LUDTKE                   W3135 CTY RD TW                                                   MAYVILLE           WI       53050                   6002               Various                                                                                             $6.30
DERRICK STEINKE                  968 SUND ST                                                       NEENAH             WI       54956                   6002               Various                                                                                             $7.64
DERRICK SWANSON                  1618 MARION RD SE LOT 198                                         ROCHESTER          MN       55904                   6002               Various                                                                                             $3.73
DERRICK WEIN                     204 2ND STREET               APT C                                SPENCER            WI       54479                   6004               Various                                                                                             $1.00
DERRICK WHITEHEAD                525 KANE ST                                                       LA CROSSE          WI       54603                   6002               Various                                                                                             $7.56
DERWOOD BURCHETT                 PO BOX 306                                                        MEAD               WA       99021                   6004               Various                                                                                            $72.00
DESEAN BERNARD-ANTELL            PO BOX 851                                                        SISSETON           SD       57262                   6002               Various                                                                                             $1.40
DESERAE KILL EAGLE               1808 EMIGRANT CT                                                  MISSOULA           MT       59801                   6004               Various                                                                                             $2.00
DESEREE SIMMONS                  2001 W 3RD ST                APT F                                DULUTH             MN       55806                   6004               Various                                                                                             $3.00
DESERII DAVIES                   2390 CABILERO                                                     IDAHO FALLS        ID       83406                   6004               Various                                                                                            $23.00
DESHAUN HOGUE                    P O BOX 1076                                                      BROWNING           MT       59417                   6004               Various                                                                                             $3.00
DESHUNTAY POPE                   395C N. PETERS AVE.                                               FOND DU LAC        WI       54935                   6004               Various                                                                                             $3.00
DESIGN PAC INC                   PO BOX 26508                                                      NEW YORK           NY       10087-6508              5678               Various                                                                                        $15,248.83




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                                                                                                                                                Account         Incurred, Basis for
            Creditor Name              Address1              Address2        Address3            City        State           Zip   Country      Number                Claim                                                                             Total Claim
                                                        488 MADISON
DESIGNER PROTEIN LLC         ACCOUNTS RECEIVABLE DEPT   AVENUE STE 800                    NEW YORK          NY       10022                   7783               Various                                                                                         $3,430.62
DESIRAE BACH                 613 SOUTH 3RD STREET #1                                      LESEUER           MN       56058                   6004               Various                                                                                             $6.12
DESIRAE JUAREZ               W13279 COUNTY RD.C                                           HANCOCK           WI       54943                   6004               Various                                                                                            $15.00
DESIRAE NUHSBAUMER           3217 S HARMONY CT                                            SIOUX FALLS       SD       57110                   6002               Various                                                                                             $6.99
DESIRAY N GONZALES           1708 E CDA AVE                                               COEUR D ALENE     ID       83814                   6002               Various                                                                                             $2.16
DESIREAH DAY                 15205 N ATLAS RD                                             RATHDRUM          ID       83858                   6002               Various                                                                                             $4.63
DESIREE E DAVIS              PO BOX 254                                                   HARRIS            MN       55032                   6002               Various                                                                                             $4.68
DESIREE JOHNSON              5100 FLORANCE BLV                                            OMAHA             NE       68110                   6004               Various                                                                                             $2.00
DESIREE JOHNSON-DEACE        5763 D RD                                                    BARK RIVER        MI       49807                   6002               Various                                                                                             $1.04
DESIREE KLEIST               109 MAPLE ST                                                 WAUPACA           WI       54981                   6004               Various                                                                                             $3.00
DESIREE LAKMAN               3112 E 42ND AVE                                              SPOKANE           WA       99223                   6004               Various                                                                                            $75.00
DESIREE LEATHERS                                                                                                                             4000               Various                                                                                          $100.88
DESIREE RAMIREZ              2690 HUMBOLDT RD APT. 15                                     GREEN BAY         WI       54311                   6004               Various                                                                                             $7.49
DESIREE SEHR                 2395 PINKERTON DR                                            E HELENA          MT       59635                   6004               Various                                                                                            $65.00
DESMOND KIPP                 38 UMATILLA LOOP                                             PENDLETON         OR       97801                   6004               Various                                                                                            $58.00
DESTANNIE L NOTEBOOM         101 W 6TH ST                                                 WINNER            SD       57580                   6002               Various                                                                                             $1.56
DESTIN MARTINEZ              4664 SCHROEDER DR                                            OMAHA             NE       68157                   6002               Various                                                                                             $0.79
DESTIN OWENS                 130 SOUTH BELL ST                                            FOND DU LAC       WI       54935                   6004               Various                                                                                            $12.00
DESTINIE BUSKE               255 E COLUMBIAN AVE                                          NEENAH            WI       54956                   6004               Various                                                                                             $1.00
DESTINIE RODRIQUEZ           705 NE 2ND ST                                                ANDREWS           TX       79714                   6002               Various                                                                                             $5.37
DESTINY CLARK                733 BOULDER RIDGE TRAIL                                      COLUMBIA FALLS    MT       59912                   6004               Various                                                                                             $6.00
DESTINY EDWARDS              814 A REDFIN COURT                                           MANITOWOC         WI       54220                   6004               Various                                                                                            $46.99
DESTINY FINLEY               6251 ARROWHEAD TRIAL                                         SUN PRAIRIE       WI       53590                   6004               Various                                                                                             $7.00
DESTINY GILES                1123 W15TH AVE                                               ARKDALE           WI       54613                   6004               Various                                                                                             $3.00
DESTINY J ELLIS              1175 CLAIM JUMPER DR                                         HELENA            MT       59602                   6002               Various                                                                                             $7.64
DESTINY JUMPING EAGLE        509 KLINE AVE                                                FLORENCE          SD       57235                   6002               Various                                                                                             $5.81
DESTINY KUBIK                624 E SHERMAN ST                                             WEST POINT        NE       68788                   6002               Various                                                                                             $2.93
DESTINY LAUER                N1481 WILDWOOD DR.                                           GREENVILLE        WI       54942                   6004               Various                                                                                             $1.00
DESTINY LAW                  212 W ST                                                     FRANKLIN          IL       62638                   6002               Various                                                                                             $4.68
DESTINY LEE                  BOX 2215                                                     OROFINO           ID       83544                   6002               Various                                                                                             $1.40
DESTINY SCHAEFER             306 CENTER LN                                                FORT PIERRE       SD       57532                   6002               Various                                                                                             $5.67
DEUSTEN WHITE                108 7TH ST NW APT 4                                          ROCHESTER         MN       55901                   6002               Various                                                                                             $7.84

DEUTSCH FAMILY               637 W PIERRE LN                                              PORT WASHINGTON   WI       53074                   6002               Various                                                                                             $0.74
DEVAIN KERR                  309 1ST AVE SW                                               WAUKON            IA       52172                   6002               Various                                                                                             $0.44
DEVAN BROUSE                 1234 9TH ST                                                  CLARKSTON         WA       99403                   6004               Various                                                                                             $1.00
DEVAN DYKSTER                820 E 650TH S                                                OGDEN             UT       84404                   6002               Various                                                                                             $1.73
DEVAN L PETERSEN             65 1/2 THOMSEN AVE APT 7                                     DILLON            MT       59725                   6002               Various                                                                                             $9.59
DEVAN WAKEFIELD              22477 STATE HIGHWAY 11                                       GREENBUSH         MN       56726                   6002               Various                                                                                             $2.85
DEVAUGHN GUENTHER            5547 BYRD AVE              3                                 RACINE            WI       53406                   6004               Various                                                                                             $1.00
DEVAUNTE WRIGHT              702 N 11TH ST                                                COEUR D ALENE     ID       83814                   6002               Various                                                                                             $8.60
DEVELOPLUS INCORPORATED      1575 MAGNOLIA AVENUE                                         CORONA            CA       92879                   8456               Various                                                                                        $19,383.76
DEVEN CIESLEWICZ             W11188 ANIWA LN                                              PLAINFIELD        WI       54966                   6004               Various                                                                                             $3.00
DEVEN DUTY                   PO BOX 255                                                   JEFFERSON CITY    MT       59638                   6002               Various                                                                                             $3.26
DEVEN GRANT                  2526 N. 48TH ST                                              OMAHA             NE       68104                   6004               Various                                                                                            $15.00
DEVEN SCHAER                 310 N GEORGIA AVE                                            MASON CITY        IA       50401                   6002               Various                                                                                             $2.93
DEVI RAI                     1101 N MOSSY OAK AVE                                         SIOUX FALLS       SD       57103                   6004               Various                                                                                             $2.00
DEVIN BUOL                   627 19TH AVE                                                 MONROE            WI       53566                   6002               Various                                                                                             $0.49
DEVIN CHRISTIAN              486 HUSTLER ST                                               GWINN             MI       49841                   6002               Various                                                                                             $8.79
DEVIN CHURCH                 414 STEWART AVENUE                                           LEWISTON          ID       83501                   6004               Various                                                                                          $234.26
DEVIN CONNOR                 14305 MARINDA PLZ                                            OMAHA             NE       68144                   6002               Various                                                                                             $3.73
DEVIN GARCIA                 700 WHITEWATER AVE                                           FORT ATKINSON     WI       53538                   6004               Various                                                                                             $2.00
DEVIN JAMES DENT             429 LINCOLN ST                                               HORTONVILLE       WI       54944                   6002               Various                                                                                             $5.23




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                                                                                                                                                        Account         Incurred, Basis for
            Creditor Name                 Address1               Address2          Address3            City          State           Zip   Country      Number                Claim                                                                             Total Claim

DEVIN LOEHNER                   4300 CORNHUSKER HWY APT A3                                      LINCOLN         NE           68504                   6002               Various                                                                                                $5.75
DEVIN NUTT                      N14853 LANFEAR ROAD                                             AMBERG          WI           54102                   6004               Various                                                                                                $1.00
DEVIN REED                      302 LOUIS ST                                                    LAKE MILLS      WI           53551                   6004               Various                                                                                               $15.00
DEVIN ROCHESTER                 2407 HAWAII DR.R           LOT 27                               JANESVILLE      WI           53548                   6004               Various                                                                                                $3.00
DEVIN ROZELL                    1959 COLONY COURT          APT 1                                BELOIT          WI           53511                   6004               Various                                                                                                $6.00
DEVIN RUST                      780 W 3925 N                                                    OGDEN           UT           84414                   6004               Various                                                                                               $13.00
DEVIN SHELSTAD                  105 N. 4TH ST.                                                  MOUNT HOREB     WI           53572                   6004               Various                                                                                                $1.00
DEVIN SMITH                     3927 CURTIS AVE                                                 OMAHA           NE           68111                   6004               Various                                                                                                $2.99
DEVLINTHAJYEE BENTON            2461 HE-NIS-RA LN                                               GREEN BAY       WI           54304                   6004               Various                                                                                                $1.00

DEVMAR PARTNERS LLC             2034 COTNER AVENUE SUITE 200                                    LOS ANGELES     CA           90025                   4415               Various                                                                                        $15,080.11
DEVON CAELWAERTS                711 S DEWEY ST                                                  EAU CLAIRE      WI           54701                   6004               Various                                                                                            $35.00
DEVON CAHOON                    608 8TH AVE                                                     TWO HARBORS     MN           55616                   6002               Various                                                                                            $30.00
DEVON FOWLER                    2832 S 9050 W                                                   MAGNA           UT           84044                   6004               Various                                                                                             $5.00
DEVON HANDLEY                   1332 N F ST                                                     BROKEN BOW      NE           68822                   6002               Various                                                                                             $8.52
DEVON KOEHNTOPP                 831 EAST COUNTY ROAD F                                          ATHENS          WI           54411                   6004               Various                                                                                            $17.00
DEVON MCCOWN                    1528 GERSHWIN DRIVE                                             JANESVILLE      WI           53545                   6004               Various                                                                                            $61.00
DEVON VAVEREK                   6135 S. 34TH, APT # 325                                         LINCOLN         NE           68516                   6004               Various                                                                                            $33.00
DEVONA DEDE BROWN               PO BOX 207                                                      WOLBACH         NE           68882                   6002               Various                                                                                             $3.67
DEVONA MARSHALL                 125 N 8TH AVE                                                   WEST BEND       WI           53095                   6002               Various                                                                                             $6.14
DEVONCI COMBS                   6710 S 153RD CIRCLE                                             OMAHA           NE           68137                   6004               Various                                                                                             $4.00
DEVONNA SAUCEDO                 627 GARDEN DR                APT 77                             BELVIDERE       IL           61008                   6004               Various                                                                                            $23.00
DEWANE MROTEK                   10802 LAKESHORE RD                                              CLEVELAND       WI           53015                   6002               Various                                                                                             $3.84
DEWAYNE BANGLE                  418 S SECOND                                                    NORTON          KS           67654                   6002               Various                                                                                             $6.52
DEWAYNE FEEHRER                 3406 HALDER DR                                                  MOSINEE         WI           54455                   6002               Various                                                                                             $0.47
DEWAYNE MCMURRIN                11607 SE 225TH DR                                               HAWTHORNE       FL           32640                   6002               Various                                                                                             $3.29
DEWAYNE WILLIAMS                212 CARVER ST APT 3                                             WINSLOW         IL           61089                   6002               Various                                                                                             $1.18
DEWEY ARTHUR                    3594 N CEDERBLOM ST APT                                         COEUR D ALENE   ID           83815                   6002               Various                                                                                             $0.41
DEXTER KAETTERHENRY             1043 MEEHAN DR.                                                 PLOVER          WI           54467                   6004               Various                                                                                             $2.02
DEYDRA SCHMILL                  140 WILSON ST                                                   LANDER          WY           82520                   6002               Various                                                                                             $2.49

DEYETTE KRAEMER                 6659 WEST MOCKING BIRD WAY                                      FLORENCE        AZ           85132                   6004               Various                                                                                            $10.00
DEYSI RINCON PEREZ              506 E 8TH ST                                                    MORRIS          MN           56267                   6002               Various                                                                                             $6.49
DEZARAE GONZALEZ                POX 422                                                         HAYFIELD        MN           55940                   6004               Various                                                                                             $6.00
DEZERAE MCDUFFY                 826 S 11TH AVE                                                  WAUSAU          WI           54401                   6002               Various                                                                                             $2.05
DEZINE NEWS INCORPORATED        3901 LA REUNION PARKWAY                                         DALLAS          TX           75212-0000              4891               Various                                                                                        $60,708.06
DEZIRAE MURPHY                  123 TALON PL                                                    SUN PRAIRIE     WI           53590                   6004               Various                                                                                            $10.00
DEZIRAE ZOOK                    560 W 21ST ST LOT 80                                            MONROE          WI           53566                   6002               Various                                                                                             $9.86
DEZMOND ALLEN                   316 E HEPBURN ST                                                PRAIRIE FARM    WI           54762                   6002               Various                                                                                             $0.47
DH PACE COMPANY                 1901 E 119TH STREET                                             OLATHE          KS           66061                                      Various                                                                                        $71,605.71
DH PACE COMPANY INCORPORATED    1901 E 119TH STREET                                             OLATHE          KS           66061                   7313               Various                                                                                        $14,546.56
DHAN BHATTARAI                  5110 E 9TH ST                                                   SIOUX FALLS     SD           57110                   6004               Various                                                                                             $2.00
DHANESH PERSAUD                 1114 FRISCH ROAD                                                MADISON         WI           53711                   6004               Various                                                                                             $2.00
DHEKRA HADI                     402 31ST ST NE APT 129                                          ROCHESTER       MN           55906                   6002               Various                                                                                             $2.55
DIAMOND BERGMAN                 202 N MAIN ST                                                   KIMBERLY        WI           54136                   6004               Various                                                                                             $3.00
DIAMOND COOLEY                  208 PARK CIR                                                    SUN PRAIRIE     WI           53590                   6004               Various                                                                                             $2.00
DIANA BAGETT                    217 GLEN DR                                                     FARMINGTON      UT           84025                   6004               Various                                                                                            $29.97
DIANA BALL                      2749 N 700TH E                                                  MONTEVIEW       ID           83435                   6002               Various                                                                                             $2.08
DIANA BLOM                      W7692 ELM ST                                                    SHIOCTON        WI           54170                   6002               Various                                                                                             $0.38
DIANA CAMERON                   215 6TH PL SE                                                   MASON CITY      IA           50401                   6002               Various                                                                                             $0.85
DIANA CARRIZAL                  5542 HEIDI DR                                                   ROCKFORD        IL           61109                   6004               Various                                                                                             $3.90
DIANA CLARK                     401 E COATES AVE LOT 10                                         MONTICELLO      WI           53570                   6002               Various                                                                                             $5.45
DIANA CLAYPOOL                  2211 E SIENNA WAY                                               APPLETON        WI           54913                   6002               Various                                                                                             $0.44




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                                                                         Schedule E/F: Part 2 - Creditors With Nonpriority Unsecured Claims




                                                                                                                                                                                                                                 Claim subject to offset?
                                                                                                                                                                                                       Unliquidated
                                                                                                                                                                                          Contingent


                                                                                                                                                                                                                      Disputed
                                                                                                                                                 Last 4 Digits of     Date Debt was
                                                                                                                                                    Account         Incurred, Basis for
              Creditor Name                Address1            Address2            Address3           City        State           Zip   Country     Number                Claim                                                                             Total Claim
DIANA COLLINS                  913 STARR AVE                                                  EAU CLAIRE       WI         54703                 6004                Various                                                                                             $2.00
DIANA CRUZ                     4794 DIAMOND CT SE                                             SALEM            OR         97305                 6004                Various                                                                                            $10.00
DIANA D ALVAREZ                320 S 6TH ST                                                   MARSHALL         MN         56258                 6002                Various                                                                                             $8.71
DIANA DANCIL                   1452 S 3RD AVE                                                 POCATELLO        ID         83201                 6002                Various                                                                                             $6.38
DIANA DANDRIDGE                3818 J ST                                                      OMAHA            NE         68107                 6004                Various                                                                                             $7.00
DIANA FLESNER                  1025 N 63RD ST             APT C65                             LINCOLN          NE         68505                 6004                Various                                                                                           $214.96
DIANA GUY                      5042 S 95TH AVE                                                OMAHA            NE         68127                 6004                Various                                                                                            $15.00
DIANA HEFLIN                   712 W H ST                                                     OGALLALA         NE         69153                 6002                Various                                                                                             $2.77
DIANA HERNANDEZ                6111 SHERIDAN RD           APT. 1                              KENOSHA          WI         53140                 6004                Various                                                                                             $2.00
DIANA HUERTA                   126 BROOK LANE                                                 DELAVAN          WI         53115                 6004                Various                                                                                            $16.00
DIANA JIMENEZ BARAJAS          4535 THURSTON LANE         APT 8                               FITCHBURG        WI         53713                 6004                Various                                                                                             $1.00
DIANA JORGENSON                BOX 24                                                         WENTWORTH        SD         57075                 6002                Various                                                                                             $6.68
DIANA L STAGGS                 415 S OGLE APT 23                                              MT MORRIS        IL         61061                 6002                Various                                                                                             $1.64
DIANA LAPORTE                  32017 CRYSTAL SPRINGS ST                                       DOWAGIAC         MI         49047                 6002                Various                                                                                             $3.95
DIANA LAURETIC                 129 WEST ST APT 6                                              STOUGHTON        WI         53589                 6004                Various                                                                                            $37.00
DIANA LEWIS                    13104 MILBERG RD                                               NEWELL           SD         57760                 6002                Various                                                                                             $8.03
DIANA LONGORIA                 PO BOX 291                                                     WAKEFIELD        NE         68784                 6002                Various                                                                                             $5.01
DIANA M. KANGAS                1507 FRONT ST                                                  LAKE LINDEN      MI         49945                 6002                Various                                                                                             $9.23
DIANA MILLER                   300 FLORIDA ST                                                 CALUMET          MI         49913                 6002                Various                                                                                             $6.00
DIANA MOSQUEDA                 7151 ARABIAN WAY                                               SALT LAKE CITY   UT         84128                 6004                Various                                                                                            $10.02
DIANA PETERS                   129 N 6TH ST APT 2                                             PLATTSMOUTH      NE         68048                 6002                Various                                                                                             $2.38
DIANA R CANKU                  BOX 283                                                        SISSETON         SD         57262                 6002                Various                                                                                             $4.82
DIANA R MCNICOL                459 W HARRISON ST                                              COLUMBUS         WI         53925                 6002                Various                                                                                             $0.66
DIANA REYES                    612 S. RIDGE DRIVE                                             SO SIOUX CITY    NE         68776                 6004                Various                                                                                           $130.00
DIANA RING                     1024 BANCROFT AVE                                              COEUR D' ALENE   ID         83814                 6004                Various                                                                                            $33.98
DIANA RODRIGUEZ                591 CIRCLE CT                                                  ROCHESTER        MN         55902                 6004                Various                                                                                            $68.34
DIANA ROGERS                   1213 N PEACH AVE, LOT 70                                       MARSHFIELD       WI         54449                 6004                Various                                                                                            $20.00
DIANA RUBI LELAND              1502 1/2 PARK AVE                                              EAU CLAIRE       WI         54701                 6002                Various                                                                                            $10.00
DIANA SARAZEN                  7673 197TH ST                                                  CHIPPEWA FALLS   WI         54729                 6004                Various                                                                                             $2.00
DIANA SHARP                    1077 BIG CREEK CIR                                             NAMPA            ID         83686                 6002                Various                                                                                             $9.81
DIANA SOU                      1917 PIKE DRIVE, #4                                            FITCHBURG        WI         53713                 6004                Various                                                                                             $2.00
DIANA TONJES                   1556 ELLIOTT ST LOT 1                                          WHEATLAND        WY         82201                 6002                Various                                                                                             $6.99
DIANA TRACY                    P.O BOX 491                                                    IONA             ID         83427                 6004                Various                                                                                            $10.02
DIANA TURNER                   117 FROMAN DR                                                  MOUNT CARMEL     IL         62863                 6002                Various                                                                                             $3.07
DIANA VELASQUEZ                206 ROSEWOOD CIR                                               LOGAN            UT         84321                 6002                Various                                                                                             $5.59
DIANA VICE                     950 BRIDGE STREET                                              SCRIBNER         NE         68057                 6002                Various                                                                                             $4.49
DIANA WASHINGTON               929 E 19TH                                                     SPOKANE          WA         99203                 6004                Various                                                                                            $11.85
DIANA WHITE                    5609 N HIGHWAY 23                                              CACHE JUNCTION   UT         84304                 6002                Various                                                                                             $6.74
DIANA WOOD                     6646 JOHN 17.3 AVE                                             WELLS            MI         49894                 6004                Various                                                                                            $16.00
DIANA ZITLOW                   503 YORKTOWN RD                                                DE FOREST        WI         53532                 6004                Various                                                                                             $5.70
DIANE ALLEN                    21861 CREAMERY ROAD                                            CHASSELL         MI         49916                 6004                Various                                                                                             $6.81
DIANE ALM                      35432 COUSIN LANE RD                                           DENT             MN         56528                 6002                Various                                                                                             $7.86
DIANE BORZOBOHATY              8766 FOWLER AVE                                                OMAHA            NE         68134                 6004                Various                                                                                             $2.00
DIANE BROEKHUIZEN              320 4TH AVE SE                                                 PIPESTONE        MN         56164                 6002                Various                                                                                             $3.75
DIANE C. HOFFMAN               N4751 ELM GROVE LN                                             KEWAUNEE         WI         54216                 6002                Various                                                                                             $7.78
DIANE CHERUBINI                301 W DOUGLASS AVE                                             HOUGHTON         MI         49931                 6002                Various                                                                                             $9.07
                               ATTN ERIC JENKINS,
DIANE CONDER                   CHRISTENSEN & JENSEN       SUITE 1100        257 E 200 S       SALT LAKE CITY   UT         84111                  6666               Various                                                                                           $100.00
DIANE CORRING                  5805 S 92ND CIR                                                OMAHA            NE         68127                  6004               Various                                                                                             $5.02
DIANE CREA                     557 PARK STREET            UNIT 16                             LEWISTON         ID         83501                  6004               Various                                                                                           $150.00
DIANE CROSS                    111 S JOSEPHINE AVE                                            MADISON          SD         57042                  6002               Various                                                                                             $1.12
DIANE DEMERATH                 874 IRISH RD                                                   NEENAH           WI         54956                  6002               Various                                                                                             $6.19
DIANE E JORDAN                 2247SEARCHLIGHT LANE                                           COEUR D ALENE    ID         83814                  6002               Various                                                                                             $4.79
DIANE ENGLISH                  5974 MISTY WAY                                                 SALT LAKE CITY   UT         84118                  6002               Various                                                                                             $1.42




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                                                                                                                                                                                              Unliquidated
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                                                                                                                                        Last 4 Digits of     Date Debt was
                                                                                                                                           Account         Incurred, Basis for
              Creditor Name                Address1    Address2        Address3              City        State           Zip   Country     Number                Claim                                                                             Total Claim
DIANE FISHER                   BOX 155                                              GROTON            SD         57445                 6004                Various                                                                                               $11.84
DIANE FOREST                   2326 HARMONY HTS                                     OROFINO           ID         83544                 6002                Various                                                                                                $1.59
DIANE FROH                     E8601 STEENBOCK RD                                   CLINTONVILLE      WI         54929                 6002                Various                                                                                                $0.68
DIANE GAEDE                    N2183 OWEN AVE                                       NEILLSVILLE       WI         54456                 6004                Various                                                                                                $9.99
DIANE GRIFFITH                 1965 CURLEW                                          IDAHO FALLS       ID         83406                 6004                Various                                                                                                $2.64
DIANE GRUBA                    940 39TH ST SW                                       WATERTOWN         SD         57201                 6002                Various                                                                                                $6.49
DIANE HAYES                    1190 TURQUOISE WAY                                   SANDY             UT         84094                 6004                Various                                                                                                $4.75
DIANE HEINDEL                  5010 TANYA ST                                        SCHOFIELD         WI         54476                 6002                Various                                                                                               $12.91
DIANE HOLMSTADT                32637 LAKEVIEW DR                                    LAKE CITY         MN         55041                 6002                Various                                                                                                $3.66
DIANE HOWELL                   3607 E 3892 N                                        KIMBERLY          ID         83341                 6004                Various                                                                                               $12.44
DIANE J JANISCH                303 FRANKLIN ST S                                    GLENWOOD          MN         56334                 6002                Various                                                                                                $7.92
DIANE JACOBSON                 2636 SETTLEMENT RD                                   SISTER BAY        WI         54234                 6002                Various                                                                                                $3.29
DIANE JACOBSON-SCHWECKE        9854 RIVEREDGE DR                                    MARSHFIELD        WI         54449                 6002                Various                                                                                                $4.05
DIANE JOHANSEN                 685 CEDAR STREET                                     LANDER            WY         82520                 6002                Various                                                                                                $4.16
DIANE JOHNSON                  3098 MERCEDES DR                                     GREEN BAY         WI         54313                 6002                Various                                                                                                $1.01
DIANE K SICKLER                PO BOX 41                                            RICHMOND          UT         84333                 6002                Various                                                                                                $7.18
DIANE K. WEBB                  2716 N 8TH ST                                        COEUR D ALENE     ID         83815                 6002                Various                                                                                                $8.30
DIANE KARTCHNER                795 RIVERHEIGHTS BLVD                                RIVERHEIGHTS      UT         84321                 6002                Various                                                                                                $0.60
DIANE KOHL                     916 W PACKARD ST                                     APPLETON          WI         54914                 6002                Various                                                                                                $0.90
DIANE LABIER                   2147 E NEWCASTLE DR                                  SANDY             UT         84093                 6002                Various                                                                                                $7.75
DIANE LARSON                   18020 N LAKE AVE                                     CHASSELL          MI         49916                 6002                Various                                                                                                $2.22
DIANE LEE                      2207 N SUMAC DRIVE                                   JANESVILLE        WI         53545                 6004                Various                                                                                               $30.02
DIANE LEGO                     410 W COLE ST                                        MOUNT CARROLL     IL         61053                 6002                Various                                                                                                $0.58
DIANE LYNDA BARNES             1315 LAKE MANOR DR                                   TRENTON           MO         64683                 6002                Various                                                                                               $10.00
DIANE M HANE                   536 GROVE ST S                                       MORA              MN         55051                 6002                Various                                                                                                $0.47
DIANE M. MURRAY                1938 HOGAN ST                                        COEUR D ALENE     ID         83815                 6002                Various                                                                                                $0.82
DIANE M. WALDHAUSER            1107A EST BLODGETT ST                                MARSHFIELD        WI         54449                 6002                Various                                                                                                $0.66
DIANE MAHONEY                  981 VALLEY RD                                        MARQUETTE         MI         49855                 6002                Various                                                                                                $1.04
DIANE MARTIN                   3227 PHEASANT AVE                                    ROCKWELL          IA         50469                 6002                Various                                                                                                $3.78
DIANE MCFARLANE                300 RACE ST                                          WISCONSIN DELLS   WI         53965                 6002                Various                                                                                               $65.25
DIANE MEYERS                   406 E HOOVER AVE                                     APPLETON          WI         54915                 6004                Various                                                                                               $65.02
DIANE MICHAUD                  2423 SUGAR CANE DR                                   NAMPA             ID         83687                 6004                Various                                                                                               $10.00
DIANE MUELLER                  1024 ARTHUR AVER                                     OSHKOSH           WI         54902                 6002                Various                                                                                                $2.77
DIANE MURPHY                   11606 SO 207 ST                                      GRETNA            NE         68028                 6004                Various                                                                                               $20.04
DIANE NEITZEL                  118 AMYGDALOID ST                                    CALUMET           MI         49913                 6002                Various                                                                                                $7.86
DIANE NELSEN                   500 VERGES AVE #4A                                   NORFOLK           NE         68701                 6004                Various                                                                                               $46.96
DIANE NEUMANN                  331 TOWNLINE RD APT 4                                EITZEN            MN         55931                 6002                Various                                                                                               $10.00
DIANE O SHASKY                 312 HWY 66                                           RUDOLPH           WI         54475                 6004                Various                                                                                               $46.00
DIANE PECHE                    5076 BROWN RD                                        LITTLE SUAMICO    WI         54141                 6002                Various                                                                                                $6.96
DIANE PINCKLEY                 4104 N STAPLES AVE                                   COEUR D ALENE     ID         83815                 6002                Various                                                                                                $6.03
DIANE POKRANDT                 3609 WINTERGREEN CT                                  EAU CLAIRE        WI         54701                 6002                Various                                                                                                $1.62
DIANE PRICE                    9118 MULLEN RD SE                                    OLYMPIA           WA         98506                 6004                Various                                                                                               $10.00
DIANE RATKE                    139 LONE RIDGE LANE                                  FOLEY             MN         56329                 6004                Various                                                                                                $7.01
DIANE RISLER                   1862 18 1/2 ST NW                                    ROCHESTER         MN         55901                 6004                Various                                                                                                $6.00
DIANE RUDLONG                  408 3RD AVE SE                                       PINE ISLAND       MN         55963                 6004                Various                                                                                                $3.06
DIANE SCHULTZ                  546 5TH ST. NW                                       PINE ISLAND       MN         55963                 6004                Various                                                                                                $3.06
DIANE SHOPTEAU                 8912 VALLEY HIGH NW                                  BYRON             MN         55920                 6004                Various                                                                                                $6.00
DIANE SIMMONS                  BOX 106                                              HOLBROOK          NE         68948                 6002                Various                                                                                                $6.05
DIANE SMITH                    1549 386TH ST                                        OSAGE             IA         50461                 6004                Various                                                                                               $10.00
DIANE SNIDER                   2964 KANSAS DRIVE                                    BELLEVUE          NE         68005                 6004                Various                                                                                                $2.00
DIANE SOLAAS                   543 14TH ST LOT 5                                    STURGIS           SD         57785                 6002                Various                                                                                                $6.58
DIANE STANICH                  309 10TH STREET                                      STEVENSVILLE      MT         59870                 6004                Various                                                                                               $11.20
DIANE UIMARI                   1 FAIRWAY DR                                         MARQUETTE         MI         49855                 6002                Various                                                                                                $1.15
DIANE VANLANDINGHAM            3845 SPUR LN                                         RHINELANDER       WI         54501                 6002                Various                                                                                                $6.19




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                                                                                                                                                                                                Contingent


                                                                                                                                                                                                                            Disputed
                                                                                                                                                       Last 4 Digits of     Date Debt was
                                                                                                                                                          Account         Incurred, Basis for
             Creditor Name                   Address1                Address2         Address3             City         State           Zip   Country     Number                Claim                                                                             Total Claim
DIANE W CARLISLE                  97 E WOODWAY BOX # 1395                                          THAYNE            WY         83127                 6002                Various                                                                                                $1.78
DIANE WELLS                       N98 W6245 ORIOLE LN                                              CEDARBURG         WI         53012                 6002                Various                                                                                                $7.01
DIANE WYSS                        3754 SUNDET RD                                                   CHIPPEWA FALLS    WI         54729                 6004                Various                                                                                               $59.66
DIANN CLASSEN                     606 8TH AVE SW APT 304                                           ROSEAU            MN         56751                 6002                Various                                                                                                $0.47
DIANNA GENTRY                     PO BOX 81623                                                     LINCOLN           NE         68501                 6004                Various                                                                                               $37.00
DIANNA KEEBLE                     218 W OAK ST                                                     SISSETON          SD         57262                 6002                Various                                                                                                $6.38

DIANNA L BLACK                    1905 W APPLEWAY AVE APT E61                                      COEUR D ALENE     ID         83814                  6002               Various                                                                                             $6.22
DIANNA RAINS                      948 HIGHWAY # NN                                                 SPICKARD          MO         64679                  6002               Various                                                                                             $9.48
DIANNE BITTENBINDER               650 EMBASSY RD                                                   FAIRMONT          MN         56031                  6002               Various                                                                                             $6.99
DIANNE F RAWSON                   6390W HILLCREST DR                                               MANISTIQUE        MI         49854                  6002               Various                                                                                             $1.62
DIANNE GROTEFEND                  1066 E MADISON ST                                                POWELL            WY         82435                  6002               Various                                                                                             $8.25
DIANNE HUFSTEDLER                 604 4TH ST NE APT. 1                                             MASON CITY        IA         50401                  6004               Various                                                                                             $5.00
DIANNE LATZEL                     5618 MERRILL MISSION RD                                          OMAHA             NE         68133                  6004               Various                                                                                            $19.67
DIANNE M MILLER                   313 E MAIN ST                                                    FAIRFIELD         WA         99012                  6002               Various                                                                                             $8.82
DIANNE MEYER                      7019 CTY E                                                       ABRAMS            WI         54101                  6002               Various                                                                                             $4.90
DIANNE POOLE                      117 3RD ST                                                       ROCKWELL          IA         50469                  6004               Various                                                                                            $25.00
DICK PARSONS                      308 6TH ST                                                       GOTHENBURG        NE         69138                  6002               Various                                                                                             $3.81
DICKS MARKET                      1121 S MAIN                                                      RIVER FALLS       WI         54022                  6355               Various                                                                                           $257.57
DICKSON LENSS                     4778 CHRISTIAN DR                                                MISSOULA          MT         59803                  6004               Various                                                                                            $20.00

DIDIER FAMILY                     1832 TERRACE DR                                                  PORT WASHINGTON   WI         53074                   6002              Various                                                                                             $3.04
DIEBOLD, INCORPORATED             5995 MAYFAIR ROAD                                                NORTH CANTON      OH         44720                                     10/23/2018                                                                                        $376.64
DIEGO BENITEZ VILLAN              6953 HYER RD.                                                    WAUNAKEE          WI         53597                  6004               Various                                                                                             $1.00
DIEGO JIMENEZ JIMENEZ             205 CHEROKEE AVE                                                 GRAND ISLAND      NE         68803                  6004               Various                                                                                            $20.00
DIEGO VILLANUEVA                  4788 SKYLINE RD S APT 28                                         SALEM             OR         97306                  6004               Various                                                                                            $22.00
DIENE PATTERSON                   N5170 CTY RD G                                                   GILMAN            WI         54433                  6004               Various                                                                                             $4.00
DIESTA ROUBIDOUX                  4620 TETON ST                                                    POCATELLO         ID         83202                  6002               Various                                                                                             $4.22
DIETRICH DISTRIBUTING COMPANY     102 LAKEVIEW ROAD                                                GERING            NE         69341                  4115               Various                                                                                           $210.38

DIFFLEY/ RICHARD                  STORE 017                     SHOPKO EMPLOYEE                    GREEN BAY         WI         54307-9060             2874               Various                                                                                            $13.50
DIKSHA GURUNG                     3 CHESTNUT ST NE                                                 KALKASKA          MI         49646                  6002               Various                                                                                             $4.05
DILDAY DORIS                      1319 2ND ST W                                                    ROUNDUP           MT         59072                  6002               Various                                                                                            $17.32
DILJWAN MOHAMMAD                  5641 SOUTH 31 STREET #21                                         LINCOLN           NE         68516                  6004               Various                                                                                             $2.00
DILLAN WALTERS                    1310 20TH AVE                                                    MONROE            WI         53566                  6004               Various                                                                                             $4.00
DILLON DISPOSAL                   PO BOX 1334                                                      DILLON            MT         59725                                     Various                                                                                         $3,215.00
DILLON DOUBEK                     1114 3RD AVE N                                                   GREAT FALLS       MT         59401                  6002               Various                                                                                             $9.70
DILLON FORD                       128 CAMBRIGE AVE                                                 WAUKESHA          WI         53188                  6004               Various                                                                                             $4.00
DILLON NYGAARD                    421 BUNTING LANE                                                 MADISON           WI         53704                  6004               Various                                                                                            $20.60

DILLON ODLE                       18811 WHITEWOOD VALLEY RD                                        NISLAND           SD         57762                  6002               Various                                                                                                $7.26
DILLON OLSON                      126 WATER ST.                                                    MENASHA           WI         54952                  6004               Various                                                                                                $3.00
DILLON RUELAS                     630 G STR                                                        EAGLE             NE         68347                  6004               Various                                                                                               $20.00
DILLON S LEDESMA                  1019 15TH AVE N PRERELEASE                                       GREAT FALLS       MT         59404                  6002               Various                                                                                               $10.22
DILLON TALBERG                    907 DALE ST SW APT 131                                           HUTCHINSON        MN         55350                  6004               Various                                                                                                $4.11

DILLON TOYOTA-LIFT INCORPORATE    STE G                         1117 E PLAZA DRIVE                 EAGLE             ID         83616                  1963               Various                                                                                           $185.35
DILLON VALENTINE                  616 W 4TH ST                                                     NORTH PLATTE      NE         69101                  6002               Various                                                                                             $0.66
DILSON ROSS                       17822 LILLIAN ST                                                 OMAHA             NE         68136                  6004               Various                                                                                            $15.00
DIMA FAROOQ                       3149 S. TIMERON DR.                                              SALT LAKE CITY    UT         84128                  6004               Various                                                                                            $13.93
DINA FRYE                         208 E CHAMBERLIN                                                 DIXON             IL         61021                  6004               Various                                                                                            $12.00
DINA NELSON                       918 RIVERSIDE DR SE                                              SAINT CLOUD       MN         56304                  6002               Various                                                                                             $1.78
DINAH GRONVALL                    5140 WEST 7TH STREET          APT 7                              WINONA            MN         55987                  6004               Various                                                                                             $3.00
DINESH KESAVAN                    921 CHICAGO ST                                                   DE PERE           WI         54115                  6004               Various                                                                                            $23.00




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                                                                                                                                                                                                  Contingent


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                                                                                                                                                         Last 4 Digits of     Date Debt was
                                                                                                                                                            Account         Incurred, Basis for
             Creditor Name                  Address1                 Address2         Address3             City          State           Zip    Country     Number                Claim                                                                             Total Claim
DINO GUGLIELMINETTI              615 CLARK RD                                                      ROCKFORD           IL         61107                  6002                Various                                                                                                $7.92
DINO VALENTE                     2456 W DEE PARK DR                                                SALT LAKE CITY     UT         84129                  6002                Various                                                                                               $10.00
DION JONES                       6609 TOTTENHAM RD                                                 MADISON            WI         53711                  6004                Various                                                                                                $1.00
DION PAJIMOLA                    1508 NORTH PARK ROAD                                              SPOKANE            WA         99212                  6004                Various                                                                                               $14.65
DIONA HARGETT                    421 6TH AVE NW APT 112                                            ROCHESTER          MN         55901                  6004                Various                                                                                                $3.00
DIONE CUMMINGS                   1688 W CRYSTAL AVE                                                HOLLADAY           UT         84106                  6002                Various                                                                                                $9.97
DIONISIO HERNANDEZ               206 1/2 E MAIN ST APT 3                                           WATERTOWN          WI         53094                  6004                Various                                                                                               $34.98

DIONN POSTON                     680 E LANE LN # 670 PMB WEST                                      LANDER             WY         82520                    6002              Various                                                                                                $6.14
DIONNE DONELSON                  425 DRAKE STREET                                                  MADISON            WI         53703                    6004              Various                                                                                                $4.50
DIP ASH                          N7707 CTY RD N                                                    ELLSWORTH          WI         54011                    6002              Various                                                                                                $1.89

DIRECT DISTRIBUTION LLC          3015 BLOOMFIELD SHORES DRIVE                                      WEST BLOOMFIELD    MI         48323                   3633               Various                                                                                               $92.58
                                                                                                                                                                            11/20/2018 -
DIRECT ENERGY/70220              PO BOX 70220                                                      PHILADELPHIA       PA         19176-0220              4058               12/20/2018                                                                                     $11,130.22
DIRK BEALHEN                     W3196 STATE RD 59                                                 WHITEWATER         WI         53190                   6004               Various                                                                                            $20.00
DIRK DEVEY                       1995 W 350TH N # 96                                               PROVO              UT         84601                   6002               Various                                                                                             $6.05
DIRK LARRY HUGHES                18A SCOTLAND DR                                                   GLASGOW            MT         59230                   6002               Various                                                                                             $2.49
DISCOVER HISTORIC BUFFALO        PO BOX 383                                                        BUFFALO            WY         82834                   0716               Various                                                                                          $100.00
DITO LLC                         PO BOX 398452                                                     SAN FRANCISCO      CA         94139-8452              4601               Various                                                                                         $1,209.75
DITTENBER FAMILY                 3020 RHODES RD                                                    RHODES             MI         48652                   6002               Various                                                                                             $3.26
DIVA INTERNATIONAL INC           222 MCINTYRE DRIVE                                                KITCHENER          ON         N2R 1E8       CANADA    9267               Various                                                                                         $5,286.65
                                 1101 ARROW POINT DRIVE STE
DIVERSYS LEARNING INC            302                                                               CEDAR PARK         TX         78613                   7020               Various                                                                                         $1,932.30
DIXIE ADAMSKI                    602 S BIRCH AVE                                                   MARSHFIELD         WI         54449                   6002               Various                                                                                             $6.52
DIXIE ADKINS                     6146 WOODSTOCK RD                                                 POPLAR GROVE       IL         61065                   6004               Various                                                                                            $11.20
DIXIE CRAGUN                     1359 DALLAS                                                       SYRACUSE           UT         84075                   6004               Various                                                                                            $68.00
DIXIE TORKE                      203 N SECTION STREET                                              NEKOOSA            WI         54457                   6004               Various                                                                                            $45.00
DIXIE TUMBERG                    835 HICKORY LN                                                    MANTORVILLE        MN         55955                   6002               Various                                                                                             $0.66
DIXON DAHLBERG                   218 SUNSET AVE                                                    BUFFALO            WY         82834                   6002               Various                                                                                             $1.12
DIXON TICONDEROGA COMPANY        POST OFFICE BOX 60684                                             CHARLOTTE          NC         28260                   7027               Various                                                                                       $115,404.41
DIYENEIRA CAMARENA               3040 STOWELL AVE                                                  MILWAUKEE          WI         53211                   6004               Various                                                                                            $42.00
DJO GLOBAL                       PO BOX 650777                                                     DALLAS             TX         75265-0777              1677               Various                                                                                         $1,484.31
DM MERCHANDISING INCORPORATED    835 M CHURCH COURT                                                ELMHURST           IL         60126-0000              7612               Various                                                                                        $98,289.26
                                                                1130 SYLVERTIS
DMF BAIT                         VICE PRESIDENT OF SALES        ROAD                               WATERFORD          MI         48328-0000              3697               Various                                                                                         $1,044.86
DNA DIAGNOSTICS CENTER (DDC)     1 DDC WAY                                                         FAIRFIELD          OH         45014                   4938               Various                                                                                            $94.08
DOBBERSTEIN ROOFING CO INC       PO BOX 1555                                                       KEARNEY            NE         68848                   6583               Various                                                                                          $650.00
DOBBERT SIGN AND LIGHTING        W4011 POINT RD.                                                   BROWNSVILLE        WI         53006                                      Various                                                                                         $1,423.60

DOCU SHRED INCORPORATED          42424 240TH STREET SW                                             EAST GRAND FORKS   MN         56721                   0098               Various                                                                                               $50.24
                                 ACCOUNTS RECEIVABLE
DODD COMPANY INCORPORATED        DEPARTMENT                     2077 E 30TH STREET                 CLEVELAND          OH         44115-2643              8262               Various                                                                                         $1,827.84
DODIE CLARMONT                   420 GREEN BAY AVE                                                 OCONTO FALLS       WI         54154                   6004               Various                                                                                             $9.99
DOGGETT FAMILY                   3233 DUSTY MAIDEN DR                                              HELENA             MT         59602                   6002               Various                                                                                            $13.32
DOLL DISTRIBUTING INC            3501 23RD AVENUE                                                  COUNCIL BLUFFS     IA         51501-0000              8977               Various                                                                                          $282.65
DOLORES ATTAWAY                  330 CEDAR SPRINGS DR                                              THAYNE             WY         83127                   6002               Various                                                                                             $7.64
DOLORES BENZSCHAWEL              430 S 4TH AVE                                                     OWEN               WI         54460                   6004               Various                                                                                            $25.00
DOLORES BLASING                  43 HILLVIEW LN                                                    FREEPORT           IL         61032                   6002               Various                                                                                             $6.38
DOLORES CHEVRETTE                PO BOX 147                                                        ISHPEMING          MI         49849                   6002               Various                                                                                             $5.86
DOLORES CHRISTIANSON             631 HAZEL ST APT 321                                              OSHKOSH            WI         54901                   6002               Various                                                                                             $2.14
DOLORES DUCKWORTH                1916 LOMBARD CT                                                   LA CROSSE          WI         54603                   6002               Various                                                                                             $5.27
DOLORES HARTZLER                 14037 COUNTY ROAD 50                                              SYRACUSE           IN         46567                   6002               Various                                                                                             $5.95
DOLORES LIESCH                   1537 BUCHANAN ST                                                  LITTLE CHUTE       WI         54140                   6002               Various                                                                                             $0.82




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DOLORES MOST                     9626 MIAMI ST                                                     OMAHA            NE         68134                 6002              Various                                                                                               $6.63
DOLORES PATIK                    495 MARKET ST                                                     LANDER           WY         82520                 6002              Various                                                                                               $3.32

DOLORES SCHMITT                  530 N SILVERBROOK DR UNIT 307                                     WEST BEND        WI         53090                   6002            Various                                                                                             $8.32
DOLORES SOLKOWSKI                1802 HAMILTON ST                                                  MANITOWOC        WI         54220                   6002            Various                                                                                             $2.08
DOLORES WIATER                   N11142 CTY ROAD U                                                 TOMAHAWK         WI         54487                   6002            Various                                                                                             $2.08
DOLORES YEAGER                   270 MAPLE DRIVE                                                   FOLEY            MN         56329                   6004            Various                                                                                           $125.00
DOMBROSKI FAMILY                 520 DAWSON ST                                                     WOLF POINT       MT         59201                   6002            Various                                                                                             $0.38
DOMENIC BLACKBULL                714 SOUTHHAVEN DR                                                 MANKATO          MN         56001                   6004            Various                                                                                             $3.00
DOMINGA AGUILAR LUCAS            1534 KINGWOOD AVE                                                 CRETE            NE         68333                   6002            Various                                                                                             $7.64
DOMINGA FERNANDEZ                301 COUNTRYVIEW ST                                                KASSON           MN         55944                   6002            Various                                                                                             $1.07
DOMINGUEZ FAMILY                 256 E 800TH S                                                     BRIGHAM CITY     UT         84302                   6002            Various                                                                                             $6.30
DOMINIC P CILIBERTO              1029 S 24TH ST                                                    MANITOWOC        WI         54220                   6002            Various                                                                                             $2.68
DOMINIC PAGNANO                  721 NEMAHA ST                                                     DAWSON           NE         68337                   6002            Various                                                                                             $3.56
DOMINIC PIPPIN                   406 E BEGLEY ST                                                   GREENWOOD        WI         54437                   6002            Various                                                                                             $4.82
DOMINIC SHAFFER                  134 W 17TH AVE                                                    OSHKOSH          WI         54902                   6004            Various                                                                                            $10.00
DOMINIC SHONK                    1119 EAST WALNUT ST           APT A                               GREEN BAY        WI         54301                   6004            Various                                                                                            $46.00
DOMINIC WATERS                   858 JOHNSON                                                       BELOIT           WI         53511                   6004            Various                                                                                             $7.00
DOMINIC WILLIS                   1006 PARK CIRCLE                                                  SUN PRAIRIE      WI         53590                   6004            Various                                                                                             $1.00
DOMINICK COSTA                   P.O. BOX 47                                                       PRYOR            MT         59066                   6004            Various                                                                                             $2.00
DOMINICK JONGBLOED               719 54TH ST SW                                                    WATERTOWN        SD         57201                   6004            Various                                                                                            $23.00
DOMINICK KEETON                  2472 MAIN STREET              APT 113                             EAST TROY        WI         53120                   6004            Various                                                                                             $1.00
DOMINICK LUCENTI                 P.O. BOX 373                                                      HAYWARD          MN         56047                   6004            Various                                                                                             $3.00
DOMINIK LOWE                     2012 N MEADE ST                                                   APPLETON         WI         54911                   6002            Various                                                                                             $4.22
DOMINIK OSMON                    414 WASHINGTON ST                                                 OCONTO           WI         54153                   6002            Various                                                                                             $0.99
                                                                                                                                                                       12/8/2018 -
DOMINION ENERGY/45841            PO BOX 45841                                                      SALT LAKE CITY   UT         84139-0001              0               1/8/2019                                                                                        $9,023.60
DOMINIQUA GRAVES                 1809 N 121ST ST              #207                                 OMAHA            NE         68154                   6004            Various                                                                                             $4.00
DOMINIQUE BURTON                 6790 P ROAD                                                       GLADSTONE        MI         49837                   6004            Various                                                                                             $7.00
DOMINIQUE D VAGNONI              1626 WALNUT ST                                                    HELENA           MT         59601                   6002            Various                                                                                             $4.60
DOMINIQUE HATCH                  185 E 45TH N                                                      RICHMOND         UT         84333                   6002            Various                                                                                             $7.97
DOMINIQUE VAILE                  545 WAXWING LN                                                    MADISON          WI         53704                   6004            Various                                                                                             $2.00
DOMINIQUE WALKER                 2744 KANSAS DR                                                    BELLEVUE         NE         68005                   6004            Various                                                                                             $2.00
DOMITILA MOHEDANO BAHENA         1105 1/2 8TH AVE                                                  WINDOM           MN         56101                   6002            Various                                                                                             $5.12
DOMONIC ROTH                     5301 BROOKLYN BLVD                                                MINNEAPOLIS      MN         55429                   6004            Various                                                                                             $3.00
DON ANDERS                       412 SALEM ST                                                      WHITING          IA         51063                   6002            Various                                                                                             $2.49
DON BAILEY                       3080 PETTY CREEK RD                                               ALBERTON         MT         59820                   6002            Various                                                                                             $0.63
DON BATY                         5487 RD O SW                                                      QUINCY           WA         98848                   6004            Various                                                                                            $10.02
DON BIGGINS                      2501 E 6TH ST                                                     SHELDON          IA         51201                   6002            Various                                                                                             $0.60
DON BURTON                       2376 N 1220 W                                                     CLINTON          UT         84015                   6004            Various                                                                                            $10.00
DON D MILLER                     2301 HALLERS CREEK LN                                             GREEN BAY        WI         54313                   6002            Various                                                                                             $0.85
DON DAY                          182 CARSON RD                                                     YAKIMA           WA         98903                   6004            Various                                                                                             $8.40
DON FARRELL                      414 3RD AVE                                                       MARENGO          IL         60152                   6004            Various                                                                                            $23.00
DON FAUSS                        725 8TH AVE. S E                                                  ABERDEEN         SD         57401                   6004            Various                                                                                            $11.84
DON FERGUSON                     650 BIRCH GROVE ROAD                                              KALISPELL        MT         59901                   6004            Various                                                                                             $2.00
DON GRIFFITH                     1965 CURLEW                                                       IDAHO FALLS      ID         83406                   6004            Various                                                                                             $3.01
DON J. MARTIN                    4108 N WINDOVER CT                                                APPLETON         WI         54913                   6002            Various                                                                                             $7.42
DON JOHNSON                      285 MARTINSBURG LN                                                IDAHO FALLS      ID         83404                   6002            Various                                                                                             $1.10
DON KUTSCH                       3549 ROAD 62                                                      TORRINGTON       WY         82240                   6002            Various                                                                                            $10.00
DON LAKE                         BROOKDALE LIVING CENTER                                           LEWISTON         ID         83501                   6004            Various                                                                                            $11.20
DON LEE DISTRIBUTORS DBA WEST    FINTECH                      SHOPKO STORES      PO BOX 19060      GREEN BAY        WI         54307-9060              4851            Various                                                                                          $240.20
                                 11300 W OLYMPIC BLVD SUITE
DON LEVIN TRUST                  770                                                               LOS ANGELES      CA         90064                   2854            Various                                                                                        $53,850.00
DON MAJERUS                      73549 375TH AVE                                                   LAKEFIELD        MN         56150                   6004            Various                                                                                            $20.40




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                                                                                                                                           Last 4 Digits of     Date Debt was
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              Creditor Name                Address1        Address2        Address3             City         State         Zip    Country     Number                Claim                                                                             Total Claim
DON MITCH KOTTAS               RR 1 BOX 1861                                            LEWISTOWN         MT         59457                6002                Various                                                                                             $1.73
DON MOLITOR                    610 N MINOR AVE                                          EAST WENATCHEE    WA         98802                6004                Various                                                                                            $23.00
DON MONTGOMERY                 530 23RD STREET NE                                       SALEM             OR         97301                6004                Various                                                                                            $25.00
DON NELSON                     3242 LENVILLE RD                                         MOSCOW            ID         83843                6004                Various                                                                                            $11.04
DON OURADA                     205 DARBOY RD                                            COMBINED LOCKS    WI         54113                6002                Various                                                                                             $6.05
DON PANSEGRAU                  306 MILLION ONE MILE                                     FORT PECK         MT         59223                6002                Various                                                                                             $0.47
DON PHILLIPS                   718 W 9TH ST                                             WINNER            SD         57580                6002                Various                                                                                             $0.74
DON R BELLMORE                 4502 HIGHWAY 35                                          KALISPELL         MT         59901                6002                Various                                                                                             $2.66
DON REDICAN DISTRIBUTING       PO BOX 9361                                              NAMPA             ID         83652-0000           3178                Various                                                                                         $1,048.92
DON RUGGLE                     2640 WILLIS AVE                                          PERRY             IA         50220                6002                Various                                                                                             $1.62
DON SCHWENK                    408 W HOUGHTON AVE                                       HOUGHTON          MI         49931                6002                Various                                                                                             $6.99
DON SHERARD                    88 ALPINE DR                                             OROFINO           ID         83544                6002                Various                                                                                             $9.18
DON SHRINER                    2735 O'REILLY DR                                         LINCOLN           NE         68502                6004                Various                                                                                            $44.92
DON SUMMERFORD                 43655 ROAD 801                                           BROKEN BOW        NE         68822                6002                Various                                                                                             $2.16
DON TAYLOR                     331 GRANT                                                DIXON             IL         61021                6004                Various                                                                                            $10.00
DON TELLOCK                    8079 COUNTY ROAD MM                                      LARSEN            WI         54947                6004                Various                                                                                             $3.88
DON TRAMONTIN                  204 BALSAM ST                                            KINGSFORD         MI         49802                6002                Various                                                                                             $8.25
DON TURBES                     1306 3RD AVE SW                                          WATERTOWN         SD         57201                6004                Various                                                                                            $81.50
DON VIEIRA                     240 POND ROAD                                            CAMERON           MT         59720                6004                Various                                                                                             $3.00
DON WELLS                      3725 S 254TH PL                                          KENT              WA         98032                6002                Various                                                                                             $9.42
DON WICKSTRUM                  N4712 FENDER ROAD                                        MONROE            WI         53566                6004                Various                                                                                            $10.00
DON WILHELMS                   61 W 12TH ST                                             FOND DU LAC       WI         54935                6002                Various                                                                                             $6.49
DONA HUMMEL                    2214 15TH ST SE                                          AUSTIN            MN         55912                6004                Various                                                                                             $6.00
DONA J ALLARD                  634 N CHERRY ST APT A                                    VALENTINE         NE         69201                6002                Various                                                                                             $2.68
DONA MCKINNEY                  155 BOLDER DR                                            OROFINO           ID         83544                6002                Various                                                                                             $2.41
DONAL BUTLER                   1574 CANYON RD                                           OGDEN             UT         84404                6002                Various                                                                                             $6.71
DONAL HOBSON                   433 22ND AVE N                                           SAINT CLOUD       MN         56303                6004                Various                                                                                             $3.00
DONALD (D.J. VYHLIDAL          85089 549TH                                              PIERCE            NE         68767                6002                Various                                                                                             $3.64
DONALD (JEFF VANBUSKIRK        4665 N PHEASANT RIDGE TRL                                LEHI              UT         84043                6002                Various                                                                                             $5.53
DONALD ALBER NELSON            713 E LAKE ST                                            WAUPACA           WI         54981                6002                Various                                                                                             $9.67
DONALD ANDERSON                6401 COUNTY HIGHWAY X                                    CHIPPEWA FALLS    WI         54729                6002                Various                                                                                             $0.04
DONALD B MASSOPUST             26185 QUINCY ST                                          CALUMET           MI         49913                6002                Various                                                                                             $7.34
DONALD BABCOCK                 PO. BOX 170137                                           BOISE             ID         83717                6004                Various                                                                                            $65.00
DONALD BAGBY                   408 S WORKMAN ST                                         LYONS             KS         67554                6002                Various                                                                                             $8.71
DONALD BEBEE                   511 CIRCLE CT SW                                         ROCHESTER         MN         55902                6002                Various                                                                                             $6.52
DONALD BEHRENDT                N 7126 RIDGEVIEW COURT                                   CRIVITZ           WI         54114                6004                Various                                                                                          $139.97
DONALD BISHOP                  303 ROCK CREEK RD                                        BUFFALO           WY         82834                6002                Various                                                                                             $5.84
DONALD BLACK                   11816 N ATLANTIC ST                                      SPOKANE           WA         99218                6004                Various                                                                                            $15.80
DONALD BLAKE                   225 111TH ST                                             OROFINO           ID         83544                6002                Various                                                                                             $2.08
DONALD BURBY                   3020 N MILWAUKEE AVE                                     IRON MOUNTAIN     MI         49801                6002                Various                                                                                             $2.49
DONALD BUSSE                   807 SOUTH WEIMAR                                         APPLETON          WI         54915                6004                Various                                                                                            $10.00
DONALD C HAWKINS               514 N EVANS ST                                           TECUMSEH          MI         49286                6002                Various                                                                                             $2.60
DONALD C PETERSON              3084 N DURROW LP                                         POST FALLS        ID         83854                6002                Various                                                                                             $3.81
DONALD COLLINS                 318 HILLCREST DR                                         LOGAN             IA         51546                6002                Various                                                                                             $3.64
DONALD COWANS                  200 NEW CREATION ROAD                                    BETHEL            MO         63434                6004                Various                                                                                            $15.00
DONALD CRAFT                   1274 TOWNLINE RD                                         WASHINGTON ISLA   WI         54246                6002                Various                                                                                             $4.99
DONALD CROOKS                  1215 VIRGINIA AVE                                        WORTHINGTON       MN         56187                6002                Various                                                                                             $0.63
DONALD D DUFFIELD              BOX 129                                                  JOHNSTOWN         NE         69214                6002                Various                                                                                             $0.27
DONALD D JAQUISH               S5550 CEMETARY RD                                        EAU CLAIRE        WI         54701                6002                Various                                                                                             $3.67
DONALD DEAN                    4628 WILDWOOD RD                                         ALGER             MI         48610                6002                Various                                                                                             $3.62
DONALD E KAY                   W7996 HIGHWAY 11                                         BROWNTOWN         WI         53522                6002                Various                                                                                             $6.68
DONALD E KEIRNS                RR 3 BOX 6485                                            DONIPHAN          MO         63935                6002                Various                                                                                             $5.64
DONALD E PETERSON              24015 HAZEL RD                                           PELKIE            MI         49958                6002                Various                                                                                             $1.21
DONALD ELDREDGE                PO BOX 1226                                              OROFINO           ID         83544                6002                Various                                                                                             $0.74




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                                                                              Schedule E/F: Part 2 - Creditors With Nonpriority Unsecured Claims




                                                                                                                                                                                                                                        Claim subject to offset?
                                                                                                                                                                                                              Unliquidated
                                                                                                                                                                                                 Contingent


                                                                                                                                                                                                                             Disputed
                                                                                                                                                        Last 4 Digits of     Date Debt was
                                                                                                                                                           Account         Incurred, Basis for
            Creditor Name                     Address1               Address2         Address3            City           State           Zip   Country     Number                Claim                                                                             Total Claim
DONALD F HUGHES                   1047 SHIRKEY LN                                                  OMER             MI           48749                 6002                Various                                                                                             $5.01
DONALD FISCHER                    6710 N COUNTY KK                                                 MILTON           WI           53563                 6002                Various                                                                                          $315.43
DONALD G HERMAN                   20185 SNEAD DRIVE                                                BURLINGTON       CO           80807                 8805                Various                                                                                         $2,666.67
DONALD G OTTO                     1035 IDA ST                                                      MENASHA          WI           54952                 6002                Various                                                                                             $7.73
DONALD GALE HENDRIKSEN            4240 E BOTT LN                                                   MERIDIAN         ID           83642                 6002                Various                                                                                             $7.12
DONALD GEORG MOOSBRUGGER          218 E RANDALL ST APT 208                                         APPLETON         WI           54911                 6002                Various                                                                                             $3.73
DONALD GOFF III                   494 APT A CLINTON AV                                             CHUBBUCK         ID           83204                 6004                Various                                                                                            $20.00
DONALD GOODWEILER                 6214 SCHROEDER RD                                                MADISON          WI           53711                 6002                Various                                                                                             $1.97

DONALD GROVER                     MOT-PRIVATE-HOME-MAIL-------                                     GALESVILLE       WI           54630                  6002               Various                                                                                                $2.66
DONALD GULLICKSON                 1077 MEADOW LN                                                   NEENAH           WI           54956                  6002               Various                                                                                                $7.75
DONALD HANNEMAN                   5440 100TH AVE                                                   CLEAR LAKE       MN           55319                  6002               Various                                                                                                $2.74
DONALD HANSEN                     55147 307TH ST                                                   MALVERN          IA           51551                  6002               Various                                                                                                $1.92
DONALD HIBBERT                    846 6TH ST                                                       MENASHA          WI           54952                  6002               Various                                                                                                $5.37
DONALD HILGER                     3000 VILLARD AVE                                                 HELENA           MT           59601                  6002               Various                                                                                               $12.06
DONALD HOLDEN                     4211 STORM AVE                                                   YAKIMA           WA           98908                  6004               Various                                                                                               $14.19
DONALD HOSTAK                     327 2ND STREET                                                   KEWAUNEE         WI           54216                  6002               Various                                                                                                $4.16
                                                                 145 W CHICAGO
DONALD J MARTIN FAM LIMITED PA    DONALD J MARTIN                BLVD                              TECUMSEH         MI           49286                  4486               Various                                                                                         $6,300.00
DONALD J MCMANN                   73262 HIGHWAY 67                                                 PERU             NE           68421                  6002               Various                                                                                             $2.55
DONALD J STAEBELL                 2097 16TH AVE                                                    CAMERON          WI           54822                  6002               Various                                                                                             $3.84
DONALD J. FISHER                  401 CASS AVE                                                     KINGSFORD        MI           49802                  6002               Various                                                                                             $3.86
DONALD JACAK                      N989 BOLTONVILLE RD                                              RANDOM LAKE      WI           53075                  6002               Various                                                                                             $6.90
DONALD JAMES ALLISON              710 S PIERCE AVE APT 113B                                        MASON CITY       IA           50401                  6002               Various                                                                                             $1.42
DONALD JERRY                      1005 E AVE # B                                                   ONALASKA         WI           54650                  6002               Various                                                                                             $9.04
DONALD JEZWINSKI                  PO BOX 1481                                                      OROFINO          ID           83544                  6002               Various                                                                                             $3.18
DONALD JOBELIUS                   3337 SCOTTWOOD DR                                                GREEN BAY        WI           54311                  6004               Various                                                                                             $3.01
DONALD JONES                      21 BLM DR                                                        SALMON           ID           83467                  6004               Various                                                                                            $20.00
DONALD JONGELING                  721 N BROADWAY                                                   WATERTOWN        SD           57201                  6002               Various                                                                                             $7.53
DONALD KELLY                      208 SARAH LN                                                     BEAVER DAM       WI           53916                  6002               Various                                                                                             $8.58
DONALD KINGEN                     PO BOX 302                                                       WEIPPE           ID           83553                  6002               Various                                                                                             $1.97
DONALD KLINETOBE                  2805 N EASTWOOD                                                  NORFOLK          NE           68701                  6004               Various                                                                                            $10.98
DONALD KNOX                       1580 REDWING DR                                                  NEENAH           WI           54956                  6002               Various                                                                                             $5.21
DONALD KRINGS                     109 W CONAN ST                                                   ELY              MN           55731                  6002               Various                                                                                            $10.00
DONALD KROCZALESKI                1488 DEEP RIVER RD                                               STERLING         MI           48659                  6002               Various                                                                                             $6.11
DONALD KUMM                       509 S BISMARK ST                                                 WAUSA            NE           68786                  6004               Various                                                                                             $5.00
DONALD L MILLER                   160 ANNE ST                                                      CLINTONVILLE     WI           54929                  6002               Various                                                                                             $0.60
DONALD LECHNER                    51 S CTY TRUNCK Y                                                MAYVILLE         WI           53050                  6004               Various                                                                                             $5.00
DONALD LEHMER                     2401 SCOTCH PINE TRL                                             LINCOLN          NE           68512                  6002               Various                                                                                             $0.41
DONALD LONG                       1136 DRY CREEK RD PO BOX #                                       AFTON            WY           83110                  6002               Various                                                                                             $0.44
DONALD LUNDGREN                   115 WISHART RD                                                   COLUMBIA FALLS   MT           59912                  6004               Various                                                                                             $2.00
DONALD LYBARGER                   416 W DETROIT AVE                                                MONMOUTH         IL           61462                  6002               Various                                                                                             $4.66
DONALD MAASCH                     507 1/2 3RD AVE NW                                               ROCHESTER        MN           55901                  6002               Various                                                                                             $5.45
DONALD MAHLUM                     PO BOX 1183                                                      EAU CLAIRE       WI           54702                  6002               Various                                                                                             $8.36
DONALD MAHONEY                    1792 210TH STREET                                                NEW HAMPTON      IA           50659                  6002               Various                                                                                             $4.16
DONALD MARLENEE                   1906 SELWAY DR                                                   LAUREL           MT           59044                  6002               Various                                                                                             $3.33
DONALD MCKINNON                   1117 RUSEELL AVE                                                 WORLAND          WY           82401                  6002               Various                                                                                             $0.77
DONALD MILLER                     3911 STIRRUP DRIVE                                               SALT LAKE CITY   UT           84128                  6004               Various                                                                                             $7.03
DONALD MILLS                      DOROTHY DAY HOUSE                                                ROCHESTER        MN           55906                  6004               Various                                                                                             $3.00
DONALD MITCHELL                   9502 S SECOND LOT 46                                             GRANT            MI           49327                  6002               Various                                                                                             $5.45
DONALD MORGAN                     330 W 10TH ST APT 711                                            MOUNT CARMEL     IL           62863                  6002               Various                                                                                             $5.23
DONALD MOSHER                     1071 MEADOW LN                                                   NEENAH           WI           54956                  6002               Various                                                                                             $7.26
DONALD MURPHY                     530 HIDDEN VALLEY LN                                             WEIPPE           ID           83553                  6002               Various                                                                                             $0.96
DONALD NOBLE                      904 ECCLES                                                       AMBOY            IL           61310                  6002               Various                                                                                            $10.00




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                                                                         Schedule E/F: Part 2 - Creditors With Nonpriority Unsecured Claims




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                                                                                                                                                                                           Contingent


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                                                                                                                                                  Last 4 Digits of     Date Debt was
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            Creditor Name                Address1               Address2         Address3              City        State           Zip   Country     Number                Claim                                                                             Total Claim
DONALD NUNNALLY              SUMNER PLACE                  1750 S 20TH ST.                    LINCOLN           NE         68502                 6004                Various                                                                                             $4.00
DONALD ORDWAY                775 WEST 7TH STREET                                              WINONA            MN         55987                 6004                Various                                                                                             $5.00
DONALD OSWALD                PO BOX 414 PMB 608                                               PACIFIC JUNCTIO   IA         51561                 6002                Various                                                                                             $9.04
DONALD OVERFIELD             #2 PERRY LANE                                                    AFTON             WY         83110                 6002                Various                                                                                             $3.48
DONALD PAULIN                W234N6049 TULIP LN                                               SUSSEX            WI         53089                 6002                Various                                                                                             $1.21
DONALD PITTMAN               807 E SHORT ST                                                   TUSCOLA           IL         61953                 6002                Various                                                                                             $9.56
DONALD POPP                  661 APPLETON RD                                                  MENASHA           WI         54952                 6002                Various                                                                                             $7.62
DONALD RAPPEL                1130 22 7/16 ST                                                  CHETEK            WI         54728                 6002                Various                                                                                             $5.07
DONALD RINGEL                925 N 37 TH ST                                                   SHEBOYGAN         WI         53081                 6004                Various                                                                                            $24.00
DONALD ROBERTSON             2418 21ST ST NW                                                  ROCHESTER         MN         55901                 6002                Various                                                                                             $3.10
DONALD ROSE                  PO BOX 65                                                        WISDOM            MT         59761                 6002                Various                                                                                             $0.44
DONALD RUCCI                 1059 LAUREL CT                                                   NEENAH            WI         54956                 6002                Various                                                                                             $4.03
DONALD S. MAUNU              BOX 611                                                          FREDERICK         SD         57441                 6002                Various                                                                                             $6.22
DONALD SANTO                 3212 COUNTY ROAD 571 NE                                          KALKASKA          MI         49646                 6002                Various                                                                                             $4.16
DONALD SCHNURER              915 ABBOTT ST                                                    ALBERT LEA        MN         56007                 6004                Various                                                                                            $16.00
DONALD SHEPHERD              P O BOX 211                                                      REPUBLIC          MI         49879                 6002                Various                                                                                             $3.33
DONALD SORENSEN              110 FIRST STREET SOUTH        APT 3                              LEWISTON          MN         55952                 6004                Various                                                                                             $3.00
DONALD STEVENS               511 4TH AVE SO                                                   WOLF POINT        MT         59201                 6002                Various                                                                                           $147.26
DONALD STINSON JR            3630 N GOVT WAY # 7                                              COEUR D ALENE     ID         83815                 6002                Various                                                                                             $7.95

DONALD STRUTZ                590 W HIGHLAND PARK AVE APT                                      APPLETON          WI         54911                  6002               Various                                                                                                $8.05
DONALD T MARX                4874 EVERGREEN PL                                                NORTH BRANCH      MN         55056                  6002               Various                                                                                               $10.00
DONALD TETZLAFF              624 E. SCOTT ST.                                                 OMRO              WI         54963                  6004               Various                                                                                                $3.27
DONALD THOMPSON              624 N 16TH ST                                                    BLAIR             NE         68008                  6002               Various                                                                                                $7.51
DONALD TURBEN                2135 SOUTHERN COURT                                              COTTAGE GROVE     WI         53527                  6004               Various                                                                                                $1.00
DONALD UPCHURCH              1101 SW 2ND ST                                                   ANDREWS           TX         79714                  6002               Various                                                                                                $8.44
DONALD URBANSKI              4645 142ND STREET                                                CHIPPEWA FALLS    WI         54729                  6004               Various                                                                                                $3.00

DONALD V. BURDICK            3594 N CEDERBLOM ST APT 432                                      COEUR D ALENE     ID         83815                  6002               Various                                                                                                $6.96
DONALD VALKEMA               1648 SOUTH LOCUST                                                FREEPORT          IL         61032                  6004               Various                                                                                                $3.31
DONALD VANEVENHOVEN          1607 BISCAYNE DR                                                 LITTLE CHUTE      WI         54140                  6002               Various                                                                                                $5.95
DONALD VERCH                 1918 WHEATON ST                                                  CHIPPEWA FALLS    WI         54729                  6002               Various                                                                                                $2.08
DONALD VOLHARD               8005 BIRCH ST APT 128                                            SCHOFIELD         WI         54476                  6002               Various                                                                                                $9.67
DONALD W RAE                 976 3RD ST                                                       MENASHA           WI         54952                  6002               Various                                                                                                $4.11
DONALD WEIG                  235 WALWORTH ST                                                  SHARON            WI         53585                  6002               Various                                                                                                $8.33
DONALD WEINHART              N8275 CTY RD. A                                                  CRIVITZ           WI         54114                  6004               Various                                                                                               $10.10
DONALD WILKE                 2620 JANE LN                                                     LINCOLN           NE         68512                  6002               Various                                                                                                $1.01
DONALD WILLIAMS              980 HICKORY LN                                                   NEENAH            WI         54956                  6002               Various                                                                                                $5.75
DONALD WITKOWSKI             811 CAROLINE ST                                                  NEENAH            WI         54956                  6002               Various                                                                                                $8.22
DONALD YOUNG                 PO BOX 3631                                                      KALISPELL         MT         59903                  6002               Various                                                                                                $5.84
DONALD ZEJDLIK               512 4TH AVE NE                                                   EAST GRAND FORK   MN         56721                  6002               Various                                                                                                $0.85
DONALDA KASSUBE              1710 MIDWAY PL APT H                                             MENASHA           WI         54952                  6002               Various                                                                                                $5.26

DONART/ MICHELLE             STORE 002                     SHOPKO EMPLOYEE                    GREEN BAY         WI         54307-9060             4888               Various                                                                                               $17.12
DONAVAN BISHOP               W7064 MAPLE ST                                                   CONRATH           WI         54731                  6004               Various                                                                                                $6.00
DONAVAN DAVIS                1145 GOSS AVENUE                                                 MENASHA           WI         54952                  6004               Various                                                                                                $1.00
DONAVAN GORDA                135 RIVERSIDE DR                                                 LANDER            WY         82520                  6002               Various                                                                                                $0.36
DONAVAN WENGER               PO BOX 123                                                       FOUNTAIN CITY     WI         54629                  6002               Various                                                                                                $7.40
DONEGAN FAMILY               1637 OLSON DR                                                    ELLISON BAY       WI         54210                  6002               Various                                                                                                $9.70
DONETTE KRCMAR               852 POINT BASSE AVE                                              NEKOOSA           WI         54457                  6002               Various                                                                                                $3.64
DONGHONG HU                  N93 W7281 CHURCHILL ST                                           CEDARBURG         WI         53012                  6004               Various                                                                                               $20.00
DONITA POWERS                2980 RUDO RD                                                     OROFINO           ID         83544                  6002               Various                                                                                                $1.15
DONNA A KELLY                412 3RD AVE SO # 216                                             GLASGOW           MT         59230                  6002               Various                                                                                                $1.34
DONNA AHO                    1522 1ST AVE                                                     GRAFTON           WI         53024                  6002               Various                                                                                                $5.73




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                                                                       Schedule E/F: Part 2 - Creditors With Nonpriority Unsecured Claims




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                                                                                                                                                Last 4 Digits of     Date Debt was
                                                                                                                                                   Account         Incurred, Basis for
            Creditor Name                Address1            Address2          Address3             City         State           Zip   Country     Number                Claim                                                                             Total Claim
DONNA ASCHE                  802 12TH ST SE                                                 MASON CITY        IA         50401                 6002                Various                                                                                                $7.73
DONNA BALTAZOR               N2930 HILLTOP DR                                               APPLETON          WI         54913                 6002                Various                                                                                                $9.26
DONNA BARTOW                 W10431 880TH AVE                                               RIVER FALLS       WI         54022                 6002                Various                                                                                                $3.81
DONNA BEADLE                 109 S APPLE H                                                  HART              MI         49420                 6002                Various                                                                                                $8.27
DONNA BEHNKE                 C/O KAY BEHNKE              2345 9TH AVENUE                    ATHENS            WI         54411                 6002                Various                                                                                               $10.59
DONNA BERDAHL                413 SPRUCE ST                                                  NEWCASTLE         WY         82701                 6002                Various                                                                                                $0.82
DONNA BERGDORF               402 E. WATER ST                                                WATERTOWN         WI         53094                 6004                Various                                                                                                $9.44
DONNA BLAKLEY                BOX 62                                                         WODEN             IA         50484                 6002                Various                                                                                                $2.77
DONNA BLUE BIRD              710 N BASSWOOD AVE                                             DULUTH            MN         55811                 6004                Various                                                                                                $3.00
DONNA BOSIO                  PO BOX 62                                                      ONTONAGON         MI         49953                 6004                Various                                                                                                $9.60
DONNA BROOKS                 1369 HILL CRST                                                 LANDER            WY         82520                 6002                Various                                                                                                $6.96
DONNA BURCHFIELD             2311 CANEY FORK CREEK RD                                       LIBERTY           KY         42539                 6002                Various                                                                                                $7.37
DONNA BUSS                   301 E FLORIDA AVE                                              APPLETON          WI         54911                 6002                Various                                                                                                $6.71
DONNA CAREY                  1101 BREWSTER AVE                                              BELOIT            WI         53511                 6002                Various                                                                                                $1.73
DONNA CHAUDOIN               841 ROANOKE CT              APT 53                             LINCOLN           NE         68510                 6004                Various                                                                                                $2.00
DONNA CIGELSKE               W10125 HWY D                                                   BEAVER DAM        WI         53916                 6004                Various                                                                                                $1.95
DONNA CLEVENGER              1068 PENNY RD                                                  POWELL            WY         82435                 6002                Various                                                                                                $5.84
DONNA COLLINGWOOD            1117 N 8TH ST                                                  GREYBULL          WY         82426                 6002                Various                                                                                                $6.90
DONNA COTTON                 1156 S ST APT 4                                                WHEATLAND         WY         82201                 6002                Various                                                                                                $4.58
DONNA CROCKER                512 AVON ST                                                    LA CROSSE         WI         54603                 6002                Various                                                                                                $4.88

                                                         ATTEN: SHAWN
                                                         BASS AT THE
DONNA CULLEN                 122 E. OLIN AVE SUITE 100   WAISMAN CENTER                     MADISON           WI         53713                  6004               Various                                                                                                $1.00
DONNA DENTON                 975 22ND RD                                                    WEST POINT        NE         68788                  6002               Various                                                                                                $7.97
DONNA DERESCHUK              127 EDGAR ST BOX # 10                                          WOLF POINT        MT         59201                  6002               Various                                                                                                $2.19
DONNA DEVLIN                 405 W FREMONT ST                                               ASHLAND           IL         62612                  6002               Various                                                                                                $1.18
DONNA DODDS                  2362 N 15TH ST                                                 COEUR D ALENE     ID         83814                  6002               Various                                                                                                $0.88
DONNA DONAHOE                8046 BACKWOODS TRL                                             NEWAYGO           MI         49337                  6002               Various                                                                                                $2.66
DONNA DONNELLY               541 E MAC LANE                                                 BRIGHAM CITY      UT         84302                  6004               Various                                                                                               $11.99
DONNA DORSEY                 3128 MICHAEL DR                                                LAKE HAVASU CIT   AZ         86404                  6002               Various                                                                                                $0.36
DONNA ECSEDI                 PO BOX 902 PMB 21582                                           BELLA VISTA       CA         96008                  6002               Various                                                                                                $3.61
DONNA EVANSON                31 HICKORY LANE                                                WINONA            MN         55987                  6004               Various                                                                                                $3.00
DONNA FAGEN                  104 E KOHLER ST                                                SUN PRAIRIE       WI         53590                  6004               Various                                                                                                $1.00
DONNA FALBO                  E5520 EVERGREEN RD                                             ELEVA             WI         54738                  6004               Various                                                                                               $10.00
DONNA FRAZIER                3126 9TH AVE N                                                 GREAT FALLS       MT         59401                  6002               Various                                                                                                $3.86
DONNA FRICKE                 810 COLUMBUS                                                   MANITOWOC         WI         54220                  6004               Various                                                                                                $1.00
DONNA GARCIA                 1747 SADDLE DR APT 25                                          ARCADIA           WI         54612                  6002               Various                                                                                               $10.00
DONNA GERKEN                 1550 ACORN CT #13                                              MENASHA           WI         54952                  6004               Various                                                                                               $10.88
DONNA GRANHOLM               5740 EVANS RD                                                  WAPATO            WA         98951                  6002               Various                                                                                                $3.33
DONNA GRANT                  204 ADAMS ST.                                                  NEENAH            WI         54956                  6004               Various                                                                                                $2.84
DONNA GRAVES                 302 E DANIEL ST                                                ALBANY            MO         64402                  6002               Various                                                                                                $2.55
DONNA GROSS                  331 E 18TH ST APT 4                                            CARROLL           IA         51401                  6002               Various                                                                                                $0.60
DONNA HASS                   2315 CHASE ST                                                  LA CROSSE         WI         54601                  6002               Various                                                                                                $7.40
DONNA HAYS                   1300 BRIGGS CT APT 711                                         STEVENS POINT     WI         54481                  6002               Various                                                                                               $16.32
DONNA HEALY                  3546 RIDGEWAY AVE                                              MADISON           WI         53704                  6004               Various                                                                                                $2.00
DONNA HEIMSOTH               96 E FAIRVIEW RD                                               WHEATLAND         WY         82201                  6002               Various                                                                                                $3.04
DONNA HOFF                   1024 10TH AVE NW                                               GREAT FALLS       MT         59404                  6002               Various                                                                                                $7.21
DONNA HOFFMAN                940 HILLY HAVEN CT.                                            GREEN BAY         WI         54311                  6004               Various                                                                                                $2.70
DONNA HOPPERDIETZEL          531 E MAIN                                                     ST ANTHONY        ID         83445                  6004               Various                                                                                               $14.00
DONNA HOWE                   PO BOX 33                                                      YODER             WY         82244                  6002               Various                                                                                                $6.38
DONNA HUBELE                 7209 W 11TH AVE                                                KENNEWICK         WA         99337                  6004               Various                                                                                               $17.50
DONNA J DAVIS                26317-450TH ST                                                 HANCOCK           IA         51536                  6002               Various                                                                                                $4.77
DONNA JANUS                  5391 CO. RD. K                                                 OSHKOSH           WI         54904                  6004               Various                                                                                                $6.00




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DONNA JEAN REID              415 TRAILER CT                                               PLAINFIELD       WI           54966                 6002              Various                                                                                               $6.47

DONNA JENKINS                605 EAGLES NEST BLVD APT #311                                ROTHSCHILD       WI           54474                   6004            Various                                                                                            $28.23
DONNA JOHNSON                2090 BONNIE LN                                               STOUGHTON        WI           53589                   6004            Various                                                                                            $18.49
DONNA JUNGMANN               5603 PETERS DR                                               WEST BEND        WI           53095                   6002            Various                                                                                             $8.63
DONNA KATELEY                W7607 CTH ZB                                                 ONALASKA         WI           54650                   6002            Various                                                                                             $3.64
DONNA KROENING               PO BOX 63                                                    COLBY            WI           54421                   6004            Various                                                                                            $25.00
DONNA L. THOMAS              40 20 OXBOW RD                                               GREAT FALLS      MT           59405                   6002            Various                                                                                             $2.19
DONNA L. VANSKIKE            612 185TH AVE                                                MONMOUTH         IL           61462                   6002            Various                                                                                             $8.16
DONNA LAMUNYON               146 S 560TH E                                                LOGAN            UT           84321                   6002            Various                                                                                             $5.37
DONNA LENARD                 49967 QUINCY ST                                              HANCOCK          MI           49930                   6002            Various                                                                                             $0.41
DONNA M LADWIG               2874 330TH AVE                                               HINCKLEY         MN           55037                   6002            Various                                                                                             $1.18
DONNA M MOORE                12382 N AFOLKEY RD                                           ORANGEVILLE      IL           61060                   6002            Various                                                                                             $3.01
DONNA M WIESE                2709 S GARFIELD AVENUE                                       SIOUX FALLS      SD           57105                   8323            Various                                                                                         $5,377.32
DONNA MARIE HUMMELL          100 KD AVE                                                   ELDON            IA           52554                   6002            Various                                                                                             $3.73
DONNA MARSHALL               6514 SILVER BCH N                                            CEDAR GROVE      WI           53013                   6002            Various                                                                                             $0.27
DONNA MAYWORM                148 RED HILLS RD                                             BUFFALO          WY           82834                   6002            Various                                                                                             $5.48
DONNA MCCULLOCH              2900 W. TESS AVE                                             WEST VALLEY      UT           84119                   6004            Various                                                                                            $14.75
DONNA MILLER                 733 WEST SUSSEX AVE APT #3                                   MISSOULA         MT           59801                   6004            Various                                                                                             $2.00
DONNA MITLYNG                3604 8 1/2 STREET NW                                         ROCHESTER        MN           55901                   6004            Various                                                                                             $3.00
DONNA MORTENSEN              411 W PHILLIP ST APT 202                                     RHINELANDER      WI           54501                   6002            Various                                                                                             $6.14
DONNA N WALLIS               BAY BREEZE MOTEL                                             MENOMINEE        MI           49858                   6002            Various                                                                                             $2.88
DONNA NEITZEL                1826 LINCOLN ST                                              BEATRICE         NE           68310                   6002            Various                                                                                             $2.58
DONNA O TRINRUD              E1219 LARSON RD                                              WAUPACA          WI           54981                   6002            Various                                                                                             $8.25
DONNA O'DONNELL              5 HICKORY HOLLOW DR                                          MADISON          WI           53705                   6004            Various                                                                                            $15.00
DONNA OVERSON                703 KNOLLWOOD DR                                             HOLMEN           WI           54636                   6002            Various                                                                                            $10.00
DONNA PETERSEN               905 S 15TH ST                                                CLEAR LAKE       IA           50428                   6002            Various                                                                                             $5.75
DONNA PICHELMANN             9285 ELM RD                                                  BANCROFT         WI           54921                   6002            Various                                                                                             $9.18
DONNA RAE FOX                111 W SPRINGFIELD ST 21                                      VIRGINIA         IL           62691                   6004            Various                                                                                          $105.02
DONNA RAMEY                  932 GOULDING CREEK RD                                        ROUNDUP          MT           59072                   6002            Various                                                                                             $2.93
DONNA REDEL                  3420 TAURUS DR                                               RACINE           WI           54304                   6002            Various                                                                                             $4.49
DONNA REESE                  10484 65TH AVE NW                                            ORONOCO          MN           55960                   6002            Various                                                                                             $0.55
DONNA REUSS                  210 2ND AVE NE                                               GLENWOOD         MN           56334                   6002            Various                                                                                             $9.86
DONNA REZABEK                217 S BUCHANAN ST                                            GREEN BAY        WI           54303                   6002            Various                                                                                             $7.23
DONNA RUNNHEIM               127 LAMPLIGHTER DR APT 8                                     KAUKAUNA         WI           54130                   6002            Various                                                                                             $5.07
DONNA S HERBERT              BOX 3228                                                     COEUR D ALENE    ID           83816                   6002            Various                                                                                             $2.11
DONNA SAMPE                  E3365 HWY 29                                                 KEWAUNEE         WI           54216                   6004            Various                                                                                            $25.00
DONNA SCHOTT                 4856 32ND AVE SE                                             SALEM            OR           97317                   6004            Various                                                                                            $14.42
DONNA SHAW                   315 W BELL ST                                                NEENAH           WI           54956                   6004            Various                                                                                            $25.00
DONNA SIENKIEWICZ            1330 LOST TRAIL DR                                           PULLMAN          WA           99163                   6004            Various                                                                                            $21.25
DONNA SLY                    13338 36TH AVENUE                                            CHIPPEWA FALLS   WI           54729                   6002            Various                                                                                             $7.11
DONNA TERRELL                303 E ST                                                     ALDEN            KS           67512                   6002            Various                                                                                             $2.11
DONNA THONNE-ROBINSON        W4845 BELGIUM TOWN RD                                        STEPHENSON       MI           49887                   6004            Various                                                                                            $10.00
DONNA TYBUREC                246 E 1ST ST                                                 WINNER           SD           57580                   6002            Various                                                                                             $4.47
DONNA VANCIL                 2301 JERSEY STREET                                           QUINCY           IL           62301                   6004            Various                                                                                          $119.58
DONNA VANDRUNEN              8512 PINEPOINT DR                                            NEWAYGO          MI           49337                   6002            Various                                                                                             $0.47
DONNA VELDER                 2809 F STREET                                                LINCOLN          NE           68510                   6004            Various                                                                                             $4.00
DONNA WALTER                 PO BOX 134 PMB N4159                                         WAUTOMA          WI           54982                   6002            Various                                                                                             $1.78
DONNA WEBB                   1405 N JEFFERSON ST                                          OTTUMWA          IA           52501                   6002            Various                                                                                             $9.12
DONNA WELPER                 2108 JACKSON ST                                              LA CROSSE        WI           54601                   6002            Various                                                                                             $9.56
DONNA WETTS                  N7248 CLEARVIEW CT                                           SEYMOUR          WI           54165                   6002            Various                                                                                             $2.11
DONNA WHITAKER               5738 HWY 8 W                                                 RHINELANDER      WI           54501                   6004            Various                                                                                             $2.70
DONNA WHITE                  24150 310TH PLACE                                            AITKIN           MN           56431                   6002            Various                                                                                            $14.83
DONNA WILLIAMS               8867 COUNTY ROAD N                                           ALMOND           WI           54909                   6002            Various                                                                                             $6.03




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                                                                                                                                                                                                                                            Claim subject to offset?
                                                                                                                                                                                                                  Unliquidated
                                                                                                                                                                                                     Contingent


                                                                                                                                                                                                                                 Disputed
                                                                                                                                                            Last 4 Digits of     Date Debt was
                                                                                                                                                               Account         Incurred, Basis for
              Creditor Name                           Address1             Address2         Address3              City       State           Zip   Country     Number                Claim                                                                             Total Claim
DONNA WINTER                              448 W SCHOOL ST                                                COLUMBUS         WI         53925                 6002                Various                                                                                                $0.60
DONNA WOLFE                               1473 BRAGG RD                                                  DEERFIELD        MI         49238                 6002                Various                                                                                                $6.88
DONNAH PETERSON                           9997 ROAD 454                                                  ANSLEY           NE         68814                 6002                Various                                                                                                $2.90
DONNELE WELU                              308 S 6TH ST                                                   MARSHALL         MN         56258                 6004                Various                                                                                               $34.36
DONNETTE RAWLINGS                         1115 W 400TH S                                                 OREM             UT         84058                 6002                Various                                                                                                $3.37
DONNIE J SHAFER                           1103 FULTON ST                                                 FALLS CITY       NE         68355                 6002                Various                                                                                                $2.19
DONNIE STEINGNRULEY                       1964 LINCOLN AVE SW                                            LE MARS          IA         51031                 6002                Various                                                                                                $8.85
DONNIE SUGGS                              24 PINE ST                                                     CHIPPEWA FALLS   WI         54729                 6004                Various                                                                                               $15.00
DONNY BROWN                               620 BURRELL DR                                                 LEWISTON         ID         83501                 6002                Various                                                                                                $9.62
DONOVAN ARRIAGA                           941 AIRPORT RD                                                 MENASHA          WI         54952                 6004                Various                                                                                                $5.00
DONOVAN BRECZINSKI                        P.O. BOX 92                                                    RUTHTON          MN         56170                 6004                Various                                                                                                $3.06
DONOVAN GILL                              1125 108TH STREET                                              RICE             MN         56367                 6004                Various                                                                                                $2.55
DONOVAN MOORE                             1210 TENDOY AVE                                                SALMON           ID         83467                 6002                Various                                                                                                $1.92
DONOVAN PETERSON                          2719 MARION ST                                                 LA CROSSE        WI         54603                 6002                Various                                                                                                $7.86
DONOVAN SMITH                             1208 NICOLE ST APT 2209                                        FORT WORTH       TX         76120                 6002                Various                                                                                                $0.96
DONOVAN TOLLE                             21025 E ISLAND RD                                              BRADY            NE         69123                 6002                Various                                                                                                $0.77
DONTRE MOSS                               4937 42ND AVE                                                  KENOSHA          WI         53144                 6004                Various                                                                                                $1.00
DOOR CONTROL SERVICES, A DIVISION OF DH
PACE COMPA                                301 VZ COUNTY ROAD 4500                                        BEN WHEELER      TX         75754                                     11/7/2018                                                                                        $238.15
DOOR COUNTY COFFEE                        PO BOX 638                   5773 HIGHWAY 42                   STURGEON BAY     WI         54235                  2079               Various                                                                                       $215,520.19
DOOR SOLUTIONS & GLASS                    950 MAIN STREET                                                LAKE LINDEN      MI         49945                                     Various                                                                                         $8,476.07
DORA ALTAGRA CAMACHO                      1929 COLONY CT APT 11                                          BELOIT           WI         53511                  6002               Various                                                                                             $4.63
DORA DELA PORTILLA                        755 N. TRATT STREET - #213                                     WHITEWATER       WI         53190                  6004               Various                                                                                             $2.00
DORA DODSON                               17692 ADELE LN                                                 REDDING          CA         96003                  6002               Various                                                                                             $4.49
DORA HEIKKINEN                            PO BOX 133 PMB                                                 ATLANTIC MINE    MI         49905                  6002               Various                                                                                             $0.38
DORA ZUNIGA                               1700 WEST EDWARDS AVENUE                                       NAMPA            ID         83686                  6004               Various                                                                                            $10.03
DOREE PAYEA                               3708 STERLING RD                                               OMER             MI         48749                  6002               Various                                                                                             $4.60
DOREEN A LAFERNIER                        315 S EYDER AVE                                                PHILLIPS         WI         54555                  6002               Various                                                                                             $1.07
DOREEN CAMPBELL                           2877 MAPLELEAF CT NW                                           SALEM            OR         97304                  6004               Various                                                                                          $177.97
DOREEN CLOUD                              183 LEGENDS WAY                                                BILLINGS         MT         59106                  6004               Various                                                                                             $5.00
DOREEN K FLYNN                            40 ASTOR RD                                                    BABBITT          MN         55706                  6002               Various                                                                                             $5.78
DOREEN MICKELSON                          W4446 HWY 14/61 TR 18                                          LA CROSSE        WI         54601                  6002               Various                                                                                             $1.67
DOREL JUVENILE GROUP INCORPORA            2154 PAYSPHERE CIRCLE                                          CHICAGO          IL         60674-0000             1975               Various                                                                                       $107,424.72
DORENA TEMPEL                             512 W CLARK                                                    FREEPORT         IL         61032                  6004               Various                                                                                             $8.00
DORENE BOURELLE                           392 REHAB ST                                                   SISSETON         SD         57262                  6002               Various                                                                                             $3.10
DORENE HARSELL                            225 W CHURCH ST                                                PALMYRA          MO         63461                  6002               Various                                                                                             $7.32
DORIAN GOLL                               2660 WELSH                                                     GARNER           IA         50438                  6002               Various                                                                                             $4.66
DORIANNA HALLER                           BOX 354                                                        WAVERLY          MN         55390                  6002               Various                                                                                             $6.16
DORIS A GALDAMEZ                          603 ARMSTRONG BLVD S                                           SAINT JAMES      MN         56081                  6002               Various                                                                                             $0.58
DORIS AMMACHER                            601 N MAIN ST LOT 46                                           FALL RIVER       WI         53932                  6002               Various                                                                                            $15.38
DORIS BAER                                213 WILCOX DRIVE                                               BARLETT          IL         60103                  6002               Various                                                                                             $1.84
DORIS BURSHIEM                            1251 REHAB AVE                                                 AGENCY VILLAGE   SD         57262                  6002               Various                                                                                             $4.68
DORIS DRAKE                               W8850 DAVIS RD                                                 BROWNTOWN        WI         53522                  6002               Various                                                                                             $1.40
DORIS HALCRO                              1801 9TH ST S APT 214                                          GREAT FALLS      MT         59405                  6002               Various                                                                                             $7.12
DORIS KARLOWSKY                           12694 INTERMOUNTAIN RD                                         REDDING          CA         96003                  6002               Various                                                                                            $29.09
DORIS KOSEK                               17797 JADE AVE BOX 73                                          SILVER LAKE      MN         55381                  6002               Various                                                                                             $3.61
DORIS KULOW                               228 WATER ST APT 1A2                                           LAKE MILLS       WI         53551                  6002               Various                                                                                            $10.00
DORIS L KNOTT                             630 PARKRIDGE CT                                               EAU CLAIRE       WI         54703                  6002               Various                                                                                             $8.77
DORIS LARRISON                            PO BOX 1275                                                    RATHDRUM         ID         83858                  6002               Various                                                                                             $4.22
DORIS MEDFORD                             3309 E CANARY ST                                               APPLETON         WI         54915                  6002               Various                                                                                             $6.74
DORIS NELSON                              804 E COLUMBINE DR                                             BELOIT           WI         53511                  6002               Various                                                                                             $2.99
DORIS NICHOLSON                           205 ALSEY-SMITH RD                                             ALSEY            IL         62610                  6002               Various                                                                                             $2.88
DORIS POST                                228 MANSFIELD STREET                                           CHIPPEWA FALLS   WI         54729                  6002               Various                                                                                             $1.47
DORIS RICHARD                             5955 HIGHWAY 91 N                                              DILLON           MT         59725                  6002               Various                                                                                             $6.99




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                                                                                                                                                                                           Contingent


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              Creditor Name              Address1              Address2          Address3            City            State           Zip   Country     Number              Claim                                                                             Total Claim
DORIS RINIKER                  APT 9                      104 LEWIS ST                        WEST SALEM        WI           54669                 6002              Various                                                                                                $5.00
DORIS SCHMIDT                  13601 387TH AVE LOT 3                                          ABERDEEN          SD           57401                 6002              Various                                                                                                $0.82
                                                          FREEMAN NURSING
DORIS SCHUIRMANN               1805 W PYLE DR             HOME                                KINGSFORD         MI           49802                   6004            Various                                                                                               $62.51
DORIS TOLLEFSON                BOX 296                                                        HINSDALE          MT           59241                   6002            Various                                                                                                $6.61
DORIS WAGONER                  3259 VROOM RD SW                                               SOUTH BOARDMAN    MI           49680                   6002            Various                                                                                                $4.90
DORIS ZABOROWSKI               1305 N SPRING ST LOT 31                                        GLADWIN           MI           48624                   6002            Various                                                                                                $7.92
DOROTHEA BOURDO                N2936 COUNTY ROAD S                                            WAUTOMA           WI           54982                   6002            Various                                                                                                $6.93
DOROTHY (DOT CHRISTENSEN       42883 710TH AVE                                                ORMSBY            MN           56162                   6002            Various                                                                                                $1.34
DOROTHY ANDERSEN               113 S 7TH ST APT 2                                             MISSOURI VALLEY   IA           51555                   6002            Various                                                                                                $4.49
DOROTHY BARNUM                 909 PARK ST                                                    OREGON            WI           53575                   6004            Various                                                                                               $10.80
DOROTHY BOHAN                  510 CENTENNIAL CIR                                             NORTH PLATTE      NE           69101                   6002            Various                                                                                               $18.15
DOROTHY BOLTON                 516 FAIR AVE                                                   MARINESCO         MI           49947                   6004            Various                                                                                                $1.99
DOROTHY BUEL                   21815 A STREET                                                 EAGLE             NE           68347                   6004            Various                                                                                               $75.00
DOROTHY BURESH                 2814 MAIN ST                                                   GREEN BAY         WI           54311                   6002            Various                                                                                                $9.95
DOROTHY CHRISTENSEN            610 E AVE                                                      LYONS             KS           67554                   6002            Various                                                                                               $15.39
DOROTHY CLIFTON                345 LOCUST ST                                                  BELOIT            WI           53511                   6004            Various                                                                                               $30.00
DOROTHY DANTUMA                1111 WILBUR ST                                                 WATERTOWN         WI           53098                   6002            Various                                                                                                $4.30
DOROTHY DEAN                   W5913 DEAN RD                                                  TOMAHAWK          WI           54487                   6002            Various                                                                                                $6.00
DOROTHY DOBSON                 BOX 92                                                         PARADISE          UT           84328                   6002            Various                                                                                                $4.55
DOROTHY DOEBLER                235 1/2 S. FIRST ST.                                           ATHENA            OR           97813                   6004            Various                                                                                               $13.60
DOROTHY E SCHULTZ              2719 CROOK ST                                                  FALLS CITY        NE           68355                   6002            Various                                                                                                $2.60
DOROTHY ESKAM                  WILDFLOWER NO. 107                                             ALLIANCE          NE           69301                   6002            Various                                                                                                $2.08
DOROTHY FLANAGAN               329 ROSENDALE STREET       APT 14                              BEAVER DAM        WI           53916                   6004            Various                                                                                                $6.64
DOROTHY FOIX                   1705 W 25TH ST APT 311                                         SIOUX CITY        IA           51103                   6002            Various                                                                                                $1.59
DOROTHY G HAZUKA               822 E 4TH ST                                                   WINNER            SD           57580                   6002            Various                                                                                                $4.58
DOROTHY GEORGE                 109 BARDIN DR                                                  MANKATO           MN           56001                   6002            Various                                                                                               $10.00
DOROTHY GLASPIE                513 CHERISH AVE.                                               SELAH             WA           98942                   6004            Various                                                                                               $14.30
DOROTHY GLENN                  2106 SHARON ST                                                 LA CROSSE         WI           54603                   6002            Various                                                                                                $2.11
DOROTHY GOTTSCHALK             2833 EASTERN AVE APT 5C                                        PERRY             IA           50220                   6002            Various                                                                                                $2.52
DOROTHY HARTHORN               12278 COUNTY CTY RD #345                                       SIDNEY            MT           59270                   6004            Various                                                                                               $20.00
DOROTHY HOFLAND                41804 STATE HIGHWAY 78                                         PERHAM            MN           56573                   6002            Various                                                                                                $1.21
DOROTHY HYDE                   725 KNAPP ST                                                   CHETEK            WI           54728                   6004            Various                                                                                                $2.00
DOROTHY J DAVIS                RR 9 BOX 395                                                   GATEWOOD          MO           63942                   6002            Various                                                                                                $1.70
DOROTHY J MICHELN              1423 INDIGO DR                                                 OSHKOSH           WI           54902                   6002            Various                                                                                                $7.18
DOROTHY JARVIS                 APT 1003                   17475 FRANCES ST                    OMAHA             NE           68130                   6002            Various                                                                                                $7.22
DOROTHY LACOURT                11243 US HIGHWAY 41                                            PELKIE            MI           49958                   6002            Various                                                                                                $5.86
DOROTHY LANDRY                 1707 W 25TH ST             APT 403                             SIOUX CITY        IA           51103                   6004            Various                                                                                               $22.71
DOROTHY LYNN SMITH             714 BONINE AVE                                                 WORLAND           WY           82401                   6002            Various                                                                                                $2.90
DOROTHY MACINTYRE              13105 WATERTOWN PLANK                                          ELM GROVE         WI           53122                   6002            Various                                                                                                $0.23
DOROTHY MARCHAM                205 WATER ST APT 17                                            SALMON            ID           83467                   6002            Various                                                                                                $4.85
DOROTHY RIMMER                 2344 MALIBU DR                                                 IDAHO FALLS       ID           83404                   6002            Various                                                                                                $6.55
DOROTHY ROMAIN                 2808 S LYNDALE AVE                                             SIOUX FALLS       SD           57105                   6004            Various                                                                                               $60.00
DOROTHY RUSCH                  1576 ELLIS ST                                                  GREEN BAY         WI           54302                   6002            Various                                                                                                $4.25
DOROTHY S HERRMANN             1616 HENNEPIN AVE N                                            GLENCOE           MN           55336                   6002            Various                                                                                                $7.29
DOROTHY SCHULTZ                1106 S 8TH AVE                                                 WAUSAU            WI           54401                   6002            Various                                                                                                $2.08
DOROTHY TAYLOR                 PO BOX 289                                                     JULIAETTA         ID           83535                   6004            Various                                                                                               $23.09
DOROTHY URYASZ                 PO BOX 234                                                     JEFFERSON         SD           57038                   6002            Various                                                                                                $7.12
DOROTHY VANDENLANGENBERG       526 FACTORY ST. APT. 16                                        SEYMOUR           WI           54165                   6004            Various                                                                                               $18.00
DOROTHY WILHELM                911 S 30TH                                                     MANITOWOC         WI           54220                   6004            Various                                                                                                $5.00
DOROTHY WILLIAMS               PO BOX 304                                                     GLENDO            WY           82213                   6002            Various                                                                                                $6.88
DOROTHY ZINDARS                1135 BIGHORN DR                                                ARKDALE           WI           54613                   6002            Various                                                                                                $0.85
DOROTHYE EVANS                 6800 A ST                                                      LINCOLN           NE           68510                   6004            Various                                                                                                $4.00
DORTHEA KENAGY                 841 RAVEN CREEK RD                                             UPTON             WY           82730                   6002            Various                                                                                                $4.08




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                                                                                                                                                    Last 4 Digits of     Date Debt was
                                                                                                                                                       Account         Incurred, Basis for
             Creditor Name                     Address1            Address2         Address3             City        State           Zip   Country     Number                Claim                                                                             Total Claim
DORTHEA POLZIN                     PO BOX 126                                                    NEW LONDON       WI         54961                 6666                Various                                                                                            $141.55
DORTHELDA DUNN                     NURSING HOME                                                  WHEATLAND        WY         82201                 6002                Various                                                                                              $2.77
DORTHY BASS                        C/O STEVEN BASS             10 ANDOVER CIR                    MADISON          WI         53717                 6002                Various                                                                                              $3.56
DORYL LISH                         241 N 500 E                                                   AMERICAN FORK    UT         84003                 6004                Various                                                                                              $4.25
DOUG ADDISON                       7824 40TH AVENUE                                              KENOSHA          WI         53142                 6004                Various                                                                                              $1.62
DOUG BOUREK                        215 N 5TH ST                                                  HOWELLS          NE         68641                 6002                Various                                                                                              $0.44
DOUG CALLIES                       PO BOX 824                                                    CAMPBELLSPORT    WI         53010                 6002                Various                                                                                              $2.11
DOUG COLE                          12119 SPRUCE AVE                                              MASON CITY       IA         50401                 6002                Various                                                                                              $1.62
DOUG CROSSEN                       4401 BONNER LN                                                MADISON          WI         53704                 6004                Various                                                                                              $1.10
DOUG EDWARDS                       1126 EVERGREEN LANE                                           CHIPPEWA FALLS   WI         54729                 6004                Various                                                                                              $2.00
DOUG EGBERS                        326 COUNTY ROAD 24                                            HOOPER           NE         68031                 6002                Various                                                                                             $10.00
DOUG FABRY                         727 WASHINGTON ST                                             WRIGHTSTOWN      WI         54180                 6004                Various                                                                                              $4.94
DOUG HOFFMAN                       N1736 SHENANDOAH CT                                           GREENVILLE       WI         54942                 6004                Various                                                                                             $25.00
DOUG KERNER                        31322 US HIGHWAY 18                                           WINNER           SD         57580                 6002                Various                                                                                             $10.00
DOUG MCBRIDE                       2919 W HIGHLAND AVE                                           SIOUX CITY       IA         51103                 6002                Various                                                                                              $5.23
DOUG NALLE                         18258 US HIGHWAY 69                                           PATTONSBURG      MO         64670                 6002                Various                                                                                              $4.08
DOUG OLSON                         1714 COLORADO AVE                                             GREAT FALLS      MT         59405                 6002                Various                                                                                              $9.97
DOUG ROBERTS                       P. O. BOX 1767                                                LAKE ARROWHEAD   CA         92352                 6004                Various                                                                                             $27.37
DOUG SCHLEISS                      10 W DOUGLASS ST                                              RICE LAKE        WI         54868                 6004                Various                                                                                             $25.00
DOUG SKIPPER                       W150                        S7002 CORNELL                     MUSKEGO          WI         53150                 6004                Various                                                                                             $64.00
DOUG TEACHMAN                      6112 READ ST                                                  OMAHA            NE         68152                 6002                Various                                                                                              $3.51
DOUG THOMPSON                      338 AHNAIP ST                                                 MENASHA          WI         54952                 6004                Various                                                                                              $1.00
DOUG THUNKER                       60 SANCTUARY RD                                               KALISPELL        MT         59901                 6002                Various                                                                                              $0.36
DOUG TRUTTMAN                      W7320 HUSTAD VALLEY RD                                        NEW GLARUS       WI         53574                 6004                Various                                                                                              $5.00
DOUG WELTON                        140 S 100 E                                                   PAYSON           UT         84651                 6004                Various                                                                                              $9.99
DOUGLAS ANDERSON                   6856 S GRAND VALLEY PL                                        WEST JORDAN      UT         84081                 6002                Various                                                                                              $6.11

DOUGLAS AREA CHAMBER OF COMMERCE   121 BROWNFIELD RD                                             DOUGLAS          WY         82633                  6666               Various                                                                                             $7.29
DOUGLAS BAIN                       2021 S ALVERNO RD                                             MANITOWOC        WI         54220                  6004               Various                                                                                             $1.00
DOUGLAS C BUTZKE                   542 WAUWATOSA RD                                              CEDARBURG        WI         53012                  6002               Various                                                                                             $0.36
DOUGLAS C WILLIAMS                 W4095 COUNTY ROAD A APT 6                                     TOMAHAWK         WI         54487                  6002               Various                                                                                             $0.66
DOUGLAS COOPER                     PO BOX 2168                                                   OROFINO          ID         83544                  6002               Various                                                                                             $5.23
DOUGLAS CROM                       2425 S 15TH ST LOT 43                                         PLATTSMOUTH      NE         68048                  6002               Various                                                                                             $3.04
DOUGLAS D. PETERSEN                307 26TH AVE S                                                CLEAR LAKE       IA         50428                  6002               Various                                                                                            $10.00

DOUGLAS DEWITT                     3579 MONGOMERY LAKE ROAD                                      FLORENCE         WI         54121                  6004               Various                                                                                            $63.98
DOUGLAS F SMITH                    5 S THOMPSON LN                                               BLACKFOOT        ID         83221                  6002               Various                                                                                             $0.27
DOUGLAS FISCHER                    N6891 EGGENS COULEE RD                                        WEST SALEM       WI         54669                  6002               Various                                                                                             $6.71
DOUGLAS FONVILLE                   527 G ST NE                                                   MIAMI            OK         74354                  6002               Various                                                                                             $0.36
DOUGLAS FOOS                       3022 CLEMMENS ROAD                                            CLARKSTON        WA         99403                  6004               Various                                                                                            $10.05
DOUGLAS FRIEDE                     1385 E WILSON AVE APT 28                                      ARCADIA          WI         54612                  6002               Various                                                                                             $5.56
DOUGLAS G CURTIS                   1407 BEACON DR                                                WATERTOWN        WI         53098                  6002               Various                                                                                             $7.92
DOUGLAS GARDENHIRE                 424 VICTORY LANE                                              YAKIMA           WA         98901                  6004               Various                                                                                            $10.03
DOUGLAS GAULTIER                   5416 MILL ST SW                                               SOUTH BOARDMAN   MI         49680                  6002               Various                                                                                             $6.49
DOUGLAS GENE SCHULTZ               113 MARTIN ST E                                               LEWISVILLE       MN         56060                  6002               Various                                                                                             $9.84
DOUGLAS GERBER                     119 NORTH ST                                                  STOUGHTON        WI         53589                  6004               Various                                                                                             $1.00
DOUGLAS GOLDADE                    923 S STATE ST APT 4                                          ABERDEEN         SD         57401                  6002               Various                                                                                             $6.99
DOUGLAS HERMAN                     3518 VINCENT AVE N                                            MINNEAPOLIS      MN         55412                  6002               Various                                                                                             $4.77
DOUGLAS HERMANN                    3334 12 STREET                                                LEWISTON         ID         83501                  6004               Various                                                                                            $25.00
DOUGLAS HOWARD                     813 KINGSBURY ST                                              BELLE FOURCHE    SD         57717                  6002               Various                                                                                             $0.82
DOUGLAS HUTCHINSON                 3513 N 13TH ST                                                COEUR D ALENE    ID         83814                  6002               Various                                                                                             $8.14
DOUGLAS HYDE                       10300 PETERSON LOOP                                           CASCADE          ID         83611                  6004               Various                                                                                            $84.00
DOUGLAS J HOPF                     1019 15TH ST N PRERELEASE                                     GREAT FALLS      MT         59401                  6002               Various                                                                                             $3.04




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                                                                                                                                                         Account         Incurred, Basis for
            Creditor Name                    Address1                Address2          Address3            City       State           Zip   Country      Number                Claim                                                                             Total Claim
                                  175 HUTTON RANCH RD SUITE
DOUGLAS JELLEY                    103                                                               KALISPELL        MT       59901                   6004               Various                                                                                                $2.00
DOUGLAS JONES                     3005 SIGGELKOW ROAD                                               MC FARLAND       WI       53558                   6004               Various                                                                                                $1.00
DOUGLAS K CLEMENT                 27105 PIONEER RD                                                  WINDLAKE         WI       53185                   6004               Various                                                                                                $9.00
DOUGLAS KABARA                    270 A EAST PULASKI ST                                             PULASKI          WI       54162                   6002               Various                                                                                                $8.79
DOUGLAS KETTNER                   W3814 HIGHVIEW DR                                                 APPLETON         WI       54913                   6004               Various                                                                                                $9.00
DOUGLAS KOISH                     PO BOX 368                                                        WELLS            MI       49894                   6002               Various                                                                                                $6.19
DOUGLAS KRANIG                    W11318 462ND AVE.                                                 PRESCOTT         WI       54021                   6004               Various                                                                                               $23.00
DOUGLAS LARSON                    1719 AVE A                                                        GOTHENBURG       NE       69138                   6002               Various                                                                                                $2.52
DOUGLAS LAVAKE                    109 1/2 ELM ST                                                    BEAVER DAM       WI       53916                   6004               Various                                                                                                $1.00
DOUGLAS LAY                       BOX 171                                                           FT.LARAMIE       WY       82212                   6002               Various                                                                                                $5.23
DOUGLAS MARTIN                    310 SE HIGH ST                                                    PULLMAN          WA       99163                   6004               Various                                                                                               $33.80
DOUGLAS MONSON                    300 6TH ST                                                        BALATON          MN       56115                   6002               Various                                                                                                $3.42
DOUGLAS MUELLER                   PO BOX 156                                                        LONG PINE        NE       69217                   6002               Various                                                                                                $5.62
DOUGLAS NOURSE                    1008 LOGAN AVE                                                    SHEBOYGAN        WI       53081                   6004               Various                                                                                                $1.00
DOUGLAS O LARSON                  2118 WOODLAND LN                                                  FERGUS FALLS     MN       56537                   6002               Various                                                                                                $6.79
DOUGLAS PAHLOW                    N5507 HERMAN RD                                                   SHIOCTON         WI       54170                   6002               Various                                                                                                $7.15
DOUGLAS R ANDERSON                17964 457TH AVE                                                   CASTLEWOOD       SD       57223                   6002               Various                                                                                                $7.64

DOUGLAS RAY                       9425 SOUTH RIVERSIDE DR 1611                                      SANDY            UT       84070                   6004               Various                                                                                                $1.00
DOUGLAS REILLY                    925 S NEWCOMB AVE                                                 SIOUX FALLS      SD       57106                   6002               Various                                                                                                $2.30
DOUGLAS REYNOLDS                  11727 W BLUEBERRY AVE                                             NAMPA            ID       83651                   6002               Various                                                                                                $2.22
DOUGLAS ROSS                      PO BOX 82                                                         WEIPPE           ID       83553                   6002               Various                                                                                                $2.38
DOUGLAS ROSSOW                    613 RIDGE VIEW DR                                                 ONALASKA         WI       54650                   6002               Various                                                                                                $0.96
DOUGLAS RUPP                      301 LEBRUN ST                                                     GREEN BAY        WI       54301                   6004               Various                                                                                                $1.00
DOUGLAS S ELKINS                  4755 HAYES AVE                                                    PLOVER           WI       54467                   6002               Various                                                                                                $6.16
DOUGLAS S MOORE                   502 W GREEN ST                                                    NEWMAN           IL       61942                   6002               Various                                                                                                $5.92
DOUGLAS SECOR                     137 N WILSON ST                                                   KIMBERLY         WI       54136                   6002               Various                                                                                                $9.59
DOUGLAS STEWART                   PO BOX 1942                                                       CHELAN           WA       98816                   6004               Various                                                                                               $16.00
DOUGLAS TEMPLE                    12590 N 5200TH W                                                  GARLAND          UT       84312                   6002               Various                                                                                                $2.30
DOUGLAS VANBUSKIRK                223 E MAPLE ST                                                    RIVER FALLS      WI       54022                   6002               Various                                                                                                $0.47
DOUGLAS WALKER                    14 S. 19TH ST                                                     CLEAR LAKE       IA       50428                   6004               Various                                                                                               $40.00
DOUGLAS WINRICH                   3981 139TH ST                                                     CHIPPEWA FALLS   WI       54729                   6002               Various                                                                                                $5.92
DOUGLAS WOLF                      712 N WSHINGTON STREET                                            DE PERE          WI       54115                   6004               Various                                                                                                $5.84
DOUGLAS YU                        302 N MAIN ST                                                     DEERFIELD        WI       53531                   6004               Various                                                                                                $5.70

DOUGLAS/ KALEB                    STORE 2-504                    SHOPKO EMPLOYEE W3208 VAN ROY ROAD APPLETON         WI       54915-4086              4974               Various                                                                                            $38.15
DOW FAMILY                        2823 MILTON RD                                                    EAU CLAIRE       WI       54703                   6002               Various                                                                                             $3.12
DOWNTOWN MODERNIZATION INC        PO BOX 155                                                        FALLS CITY       NE       68355-0155              6103               Various                                                                                         $1,798.50
DR BRONNERS                       PO BOX 1958                                                       VISTA            CA       92085                   4390               Various                                                                                         $5,718.80
DR HAROLD KATZ LLC                5802 WILLOUGHBY AVENUE                                            LOS ANGELES      CA       90038                   8409               Various                                                                                         $4,057.05
DR REDDYS LABORATORIES INCORPO    7731                           PO BOX 7247                        PHILADELPHIA     PA       19170-7731              9124               Various                                                                                        $53,515.27
DRAKE A PENEAUX                   1065 19TH AVE NE                                                  ROCHESTER        MN       55906                   6002               Various                                                                                             $2.60
DRAKE BEREZNAY                    615 WASHINGTON ST                                                 FORT ATKINSON    WI       53538                   6004               Various                                                                                             $9.95
DRAKE CONDON                      403 8TH STREET NW                                                 KASSON           MN       55944                   6004               Various                                                                                            $66.30
DRAKE HECHT                       405 N ELM ST                                                      HORICON          WI       53032                   6002               Various                                                                                             $7.75
DRAKE KESSLER                     2320 24TH ST                                                      RICE LAKE        WI       54868                   6004               Various                                                                                             $1.00
DRAKE MORRIS-BISHOP               1913 SUNSET ST                                                    STURGIS          SD       57785                   6002               Various                                                                                             $6.00
DRAKE ROBINSON                    1605 S11TH STREET                                                 SHEBOYGAN        WI       53081                   6004               Various                                                                                             $7.00
DRAVEN CALKINS                    319 MARSH ST                                                      DE PERE          WI       54115                   6004               Various                                                                                             $1.00
DRAVEN SCHILKE                    6578 381ST ST                                                     NORTH BRANCH     MN       55056                   6002               Various                                                                                             $8.49
DREAMA RUNYON                     639 MCKINLEY ST                                                   NEENAH           WI       54956                   6002               Various                                                                                             $7.89
DREAMGEAR LLC                     20001 S WESTERN AVENUE                                            TORRANCE         CA       90501-0000              3008               Various                                                                                        $13,053.60
DREES ELECTRIC INC                1625 MARINETTE AVENUE                                             MARINETTE        WI       54143                                      Various                                                                                         $2,548.36




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                                                                                                                                                                  Account         Incurred, Basis for
            Creditor Name                     Address1             Address2             Address3              City            State           Zip    Country      Number                Claim                                                                             Total Claim
                                  6-1155 NORTH SERVICE ROAD
DREW BRADY COMPANY INCORPORATE    WEST                                                                 OAKVILLE          ON           L6M 3E3       CANADA     9380               Various                                                                                        $40,387.50
DREW BRAZZLE                      1921 8TH AVE                                                         PLATTSMOUTH       NE           68048                    6004               Various                                                                                             $9.00
DREW BRZEZINSKI                   1159 GRANT ST                                                        DE PERE           WI           54115                    6002               Various                                                                                             $2.49
DREW BUSSE                        901 S CHRISTINE ST.                                                  APPLETON          WI           54915                    6004               Various                                                                                            $19.00
DREW COLEMAN                      2840 DRY CREEK RD                                                    AFTON             WY           83110                    6002               Various                                                                                             $9.84
DREW COLLINS                      4120 COUNTY ROAD A APT 304                                           OSHKOSH           WI           54901                    6002               Various                                                                                             $6.30
DREW DIERKING                     244 CLIFF ST                                                         LANDER            WY           82520                    6002               Various                                                                                             $6.25
DREW DUDLEY                       619 3RD AVE NE                                                       BYRON             MN           55920                    6004               Various                                                                                             $6.00
DREW EASTIN                       1107 N 6TH ST                                                        BURLINGTON        IA           52601                    6004               Various                                                                                            $50.00
DREW EDWARDS                      97 EASTWOOD                                                          STAR VALLEY RAN   WY           83127                    6002               Various                                                                                             $1.62
DREW FAGE                         4123 W. 4600 S.                                                      ROY               UT           84067                    6004               Various                                                                                            $39.00
DREW GLAESER                      936 WINDSOR AVE                                                      FOND DU LAC       WI           54935                    6004               Various                                                                                             $1.00
DREW KRINGS                       855 N 82ND PLAZA NO26                                                OMAHA             NE           68114                    6004               Various                                                                                            $30.00
DREW OHARRA                       1921 BROADVIEW DR.                                                   LEWISTON          ID           83501                    6004               Various                                                                                            $13.20
DREW PLUGGE                       100 GOLD STRIKE DR APT 2                                             NORFOLK           NE           68701                    6002               Various                                                                                             $1.59
DREW STEWART                      PO BOX 968                                                           LODGE GRASS       MT           59050                    6004               Various                                                                                             $8.00
DREW TURNER                       1425 RIVER POINT LOOP #2                                             BILLINGS          MT           59101                    6004               Various                                                                                             $2.02
DREW WILLIAMS                     6569 65TH AVE SE                                                     ROCHESTER         MN           55904                    6002               Various                                                                                             $2.33
                                                               29427 NETWORK
DRIVE MEDICAL DESIGN & MANUFAC    MEDICAL DEPOT                PLACE                                   CHICAGO           IL           60673-1294               0609               Various                                                                                        $81,768.28
DRM WASTE MANAGEMENT              PO BOX 659                                                           FORKED RIVER      NJ           08731                    0781               Various                                                                                        $19,159.01
DRU ANDRESS                       1234 FRANCIS STREET                                                  CLARKSTON         WA           99403                    6004               Various                                                                                            $20.02
DRUBA TRASH HAULING               PO BOX 181                                                           SUPERIOR          NE           68978                                       Various                                                                                          $680.00
DRUCKS PLG. & HTG. CO. INC.       314 APPLETON STREET                                                  MENASHA           WI           54952                                       Various                                                                                         $2,740.50
DRUG PACKAGE INCORPORATED         901 DRUG PACKAGE LANE                                                OFALLON           MO           63366                    2179               Various                                                                                         $3,351.37
DRUSILLA MORGAN                   607 JACKSON ST                                                       DONIPHAN          MO           63935                    6002               Various                                                                                             $5.01
                                                                                  1177 AVENUE OF THE
DRYLOCK TECHNOLOGIES LTD          LOCKBOX 154                  C/O KBC BANK       AMERICAS             NEW YORK          NY           10036                    3604               Various                                                                                        $94,733.86
                                                                                                                                                                                  11/27/2018 -
DTE ENERGY/630795/740786          PO BOX 630795                                                        CINCINNATI        OH           45263-0795               401 4              12/26/2018                                                                                        $629.14
DUANE ABLE                        623 SOUTH 34TH STREET                                                SPRINGFIELD       OR           97478                    6004               Various                                                                                            $14.00
DUANE BJORHUS                     735 FREMONT PO BOX # 764                                             THERMOPOLIS       WY           82443                    6002               Various                                                                                            $10.00
DUANE BORER                       541 SPRINT CIRCLE                                                    BILLINGS          MT           59102                    6004               Various                                                                                            $25.00
DUANE BROWN                       310 2ND STREET                                                       PHILLIPS          NE           68865                    6004               Various                                                                                            $10.02
DUANE BUTRUM                      520 W 9TH AVE                                                        MITCHELL          SD           57301                    6002               Various                                                                                             $6.49
DUANE CARSTENSEN                  2129 PARK AVE                                                        STURGIS           SD           57785                    6002               Various                                                                                             $4.16
DUANE DAFOE                       2162 190TH ST                                                        FAIRMONT          MN           56031                    6002               Various                                                                                             $1.59
DUANE DANIELSON                   230 6TH ST SE                PO BOX 668                              COKATO            MN           55321                    6002               Various                                                                                             $4.99
DUANE DREW                        116 4TH ST E                                                         JASPER            MN           56144                    6002               Various                                                                                             $6.88

                                                               509 S SAINT
DUANE FJELSTAD                    C/O KOLL FJELSTAD            AUGUSTINE STREET                        PULASKI           WI           54162                    6002               Various                                                                                               $13.00
DUANE FORD                        1316 YATES AVENUE                                                    BELOIT            WI           53511                    6002               Various                                                                                                $1.43
DUANE FRITZ                       430 E TANGEN AVE                                                     WILD ROSE         WI           54984                    6002               Various                                                                                                $5.78
DUANE G SUNDIN                    1443 WOODSDALE AVE                                                   SUAMICO           WI           54173                    6002               Various                                                                                                $0.71
DUANE HANCOCK                     4321 W 58TH ST #8                                                    SIOUX FALLS       SD           57108                    6004               Various                                                                                               $20.00
DUANE HANSON                      203 WISCONSIN AVE                                                    CHETEK            WI           54728                    6004               Various                                                                                               $63.74
DUANE HELWIG                      1266 CAMRON CIR                                                      NEENAH            WI           54956                    6004               Various                                                                                               $34.00
DUANE HOBSCHEIDT                  1715 S 15TH ST LOT 24                                                PLATTSMOUTH       NE           68048                    6002               Various                                                                                                $2.79
DUANE HOERLE                      PO BOX 669                                                           ONEILL            NE           68763                    6002               Various                                                                                                $5.26
DUANE K MILLER                    320 W HYNES AVE APT 26                                               ONEILL            NE           68763                    6002               Various                                                                                                $4.05
DUANE L HARRIS                    3037 HIGHWAY # Q                                                     NELSONVILLE       WI           54458                    6002               Various                                                                                                $2.08
DUANE L PACKARD                   3704 ROAD 32                                                         YODER             WY           82244                    6002               Various                                                                                                $8.25




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             Creditor Name                   Address1              Address2         Address3             City         State           Zip   Country     Number                Claim                                                                             Total Claim
DUANE LAITINEN                    230 W RIDGE ST                                                 MARQUETTE         MI         49855                 6002                Various                                                                                                $0.79
DUANE MAYBERRY                    315 S COLUMBUS ST                                              RANDOLPH          WI         53956                 6002                Various                                                                                                $5.97
DUANE MEIGHAN                     425 OAK RICGE DRIVE                                            CEDARVILLE        IL         61013                 6004                Various                                                                                               $18.03
DUANE MOSSBERGER JR               715 MATTHEW LN                                                 KAUKAUNA          WI         54130                 6004                Various                                                                                               $69.00
DUANE MOWERY                      PO BOX 301                                                     BELLE FOURCHE     SD         57717                 6002                Various                                                                                                $8.74
DUANE R SCHELLHORN                2452 110TH ST                                                  FREDERICKSBURG    IA         50630                 6002                Various                                                                                                $0.74
DUANE RASMUSSEN                   1505 5TH ST SE                                                 AUSTIN            MN         55912                 6004                Various                                                                                                $3.00
DUANE V BAKER                     39256 HEMINGWAY AVE                                            NORTH BRANCH      MN         55056                 6002                Various                                                                                                $4.25
DUANE WAGNER                      1364 HIDDEN VALLEY RD                                          VERONA            WI         53593                 6004                Various                                                                                               $25.00
DUANE WALDEN                      212 7TH ST NE                                                  EAST GRAND FORK   MN         56721                 6002                Various                                                                                                $5.23
DUANE WYATT                       1868 HWY 63 LOT 31                                             COMSTOCK          WI         54826                 6004                Various                                                                                                $2.00

DUCOMMUN/ SHERI                   STORE 2-100                  SHOPKO EMPLOYEE                   GREEN BAY         WI         54307-9060              2409              Various                                                                                            $54.15
DUERKSEN ELECTRIC INC             46335 COUNTY ROAD 3                                            WINDOM            MN         56101                                     11/27/2018                                                                                        $360.00

DUFFY/ THOMAS                     ADVERTISING                  SHOPKO EMPLOYEE                   GREEN BAY         WI         54307-9060             7314               Various                                                                                                $7.99
                                                                                                                                                                        12/4/2018 -
DUKE ENERGY/1326                  PO BOX 1326                                                    CHARLOTTE         NC         28201-1326             8-02-3             1/4/2019                                                                                        $3,126.79
DUKE O'MARRO                      5010 SOUTH PINE RD                                             RHINELANDER       WI         54501                  6004               Various                                                                                            $62.00
DULA ABDISSA                      80 HILLTOP LANE APT 108                                        MANKATO           MN         56001                  6004               Various                                                                                             $3.00
DULANEY MILLER                    317 E 5TH ST S                                                 MISSOULA          MT         59801                  6004               Various                                                                                            $45.00
DULCE CONEJO                      1422 14 TH AVE                                                 BELVIDERE         IL         61008                  6004               Various                                                                                             $3.90
DULTON TRIECHEL                   326 WISCONSIN ST                                               REDGRANITE        WI         54970                  6004               Various                                                                                             $1.00
                                  FORUM COMMUNICATIONS
DULUTH NEWS TRIBUNE               COMPANY                      PO BOX 2020                       FARGO             ND         58107-2020              2689              Various                                                                                            $80.00
DUMONT COMPANY                    700 COPELAND AVENUE                                            LA CROSSE         WI         54603                   5828              Various                                                                                           $523.60

DUPONT CHEESE INCORPORATED        VICE PRESIDENT OF SALES      E5983 MAVIS ROAD                  MARION            WI         54950                   5106              Various                                                                                         $1,812.00
                                                               750 NORTHGATE
DURABLE PACKAGING INTERNATIONA    VICE PRESIDENT OF SALES      PARKWAY                           WHEELING          IL         60090                   1433              Various                                                                                         $2,281.66
DURFINGER DISPOSAL                1204 K ST                                                      BELLEVILLE        KS         66935                                     Various                                                                                          $845.20
DURWARD LEE JONES                 312 S 3RD ST                                                   THERMOPOLIS       WY         82443                  6002               Various                                                                                             $5.95
DUSHANE BLAKE                     201 DEERVALLEY RD                                              MADISON           WI         53713                  6004               Various                                                                                             $3.00
DUSKY BEIDMAN                     918 WARNER AVE                                                 LEWISTON          ID         83501                  6004               Various                                                                                            $23.00
DUSSAULT FAMILY                   807 N PLATTEN ST                                               GREEN BAY         WI         54303                  6002               Various                                                                                             $1.75
DUSTAN JENSEN                     500 COURTHOUSE DR                                              SALMON            ID         83467                  6002               Various                                                                                             $9.01
DUSTIN ALTMAM                     2609 SHERWOOD ST                                               BROOK PARK        MN         55007                  6002               Various                                                                                             $4.47
DUSTIN ANDERSON                   1521 NECESSITY ST                                              EAU CLAIRE        WI         54703                  6004               Various                                                                                            $15.00
DUSTIN AYLING                     338 SUNNY HILL DRIVE                                           ELKHORN           WI         53121                  6004               Various                                                                                            $25.00
DUSTIN BEAM                       848 N OAKLEY ST                                                SALT LAKE CITY    UT         84116                  6002               Various                                                                                            $10.00
DUSTIN BUDDE                      260 GERMANIA ST                                                RANDOLPH          WI         53956                  6004               Various                                                                                             $3.00
DUSTIN C. KLOOS                   3325 BRISTOL AVE                                               COEUR D'ALENE     ID         83814                  6002               Various                                                                                             $6.79
DUSTIN COTA                       1610 VALMONT AVE                                               EAU CLAIRE        WI         54701                  6002               Various                                                                                             $2.49
DUSTIN DAUL                       N4426 CTY RD E                                                 KAUKAUNA          WI         54130                  6002               Various                                                                                             $6.85
DUSTIN DAVIDSON                   60 MILL CREEK RD                                               DONIPHAN          MO         63935                  6002               Various                                                                                             $0.36
DUSTIN DEGEORGE                   2785 OAK ST APT 10                                             EUGENE            OR         97405                  6004               Various                                                                                            $30.00
DUSTIN DOWNS                      735 CURRIE ST                                                  MARINETTE         WI         54143                  6002               Various                                                                                            $10.00
DUSTIN DUBRAY                     1019 15TH ST N PRE RELEASE                                     GREAT FALLS       MT         59401                  6002               Various                                                                                             $7.12
DUSTIN FARIS                      1 WEST HUNTON CREEK                                            WHEATLAND         WY         82201                  6002               Various                                                                                             $0.66
DUSTIN G LABELLE                  12830 BIZ HWY # 700                                            PEEVER            SD         57257                  6002               Various                                                                                             $1.18
DUSTIN GUYMON                     530 HOMESTEAD                                                  CHUBBUCK          ID         83202                  6004               Various                                                                                            $20.00
DUSTIN HAUGLE                     1714 SHERWIN AVE                                               EAU CLAIRE        WI         54701                  6004               Various                                                                                             $1.00
DUSTIN HELMS                      2005 45TH STREET, UPPER                                        KENOSHA           WI         53140                  6004               Various                                                                                             $4.00
DUSTIN HOFFMAN                    507 S DOUGLAS AVE                                              LYONS             KS         67554                  6002               Various                                                                                             $7.48




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DUSTIN HOFFMANN               E1375 THIRY DAEMS RD                                           LUXEMBURG          WI         54217                 6002                Various                                                                                             $0.58
DUSTIN JENSEN                 2312 NORTH 3900 WEST        PO BOX 182                         CORINNE            UT         84307                 6004                Various                                                                                             $5.00
DUSTIN KAVANAUGH              4011 N 97TH ST                                                 OMAHA              NE         68134                 6004                Various                                                                                             $4.00
DUSTIN KERLEY                 BOX 108                                                        OROFINO            ID         83544                 6002                Various                                                                                             $5.40
DUSTIN KOFFRON                1941 SUMMIT AVENUE                                             WORTHINGTON        MN         56187                 6004                Various                                                                                             $6.00
DUSTIN LARSON                 112 N FALLS ST                                                 RIVER FALLS        WI         54022                 6002                Various                                                                                             $6.93
DUSTIN LINDSEY                RR 1 BOX 1685                                                  DONIPHAN           MO         63935                 6002                Various                                                                                             $3.37
DUSTIN METTLER                703 JUNIPER ST                                                 UPTON              WY         82730                 6002                Various                                                                                             $1.92
DUSTIN MORRIS                 2600 8TH AVE S                                                 GREAT FALLS        MT         59405                 6004                Various                                                                                           $105.00
DUSTIN NASH                   1920 18TH AVE S #3                                             GREAT FALLS        MT         59405                 6004                Various                                                                                             $2.97
DUSTIN ORSBURN                222 GOLD AVE                                                   KELLOGG            ID         83837                 6002                Various                                                                                             $1.70
DUSTIN PRITCHARD              1369 WAYLAND ST                                                BEAVER DAM         WI         53916                 6004                Various                                                                                             $2.55

DUSTIN RECKLING               SMB8045                     5000 ST. PAUL AVE.                 LINCOLN            NE         68504                  6004               Various                                                                                               $21.98
DUSTIN RENO                   5164 MESQUITE DRIVE                                            CHUBBUCK           ID         83202                  6004               Various                                                                                               $13.00
DUSTIN ROBERTSON              1669 W 8740TH S                                                W JORDAN           UT         84088                  6002               Various                                                                                                $9.95
DUSTIN ROTHEY                 1049 CAPITAL                                                   OGDEN              UT         84401                  6002               Various                                                                                                $8.88
DUSTIN SCHEID                 708 MICHIGAN AVE                                               STEVENS POINT      WI         54481                  6004               Various                                                                                                $5.00
DUSTIN SCHILLING              2713 7TH ST. NORTHWEST E2                                      SIDNEY             MT         59270                  6004               Various                                                                                               $25.00
DUSTIN SHIFFLETT              1879 PAUL DR                                                   KAUKAUNA           WI         54130                  6004               Various                                                                                               $20.00
DUSTIN SIMMS                  RR 1 BOX 796                                                   FAIRDEALING        MO         63939                  6002               Various                                                                                                $6.44
DUSTIN STERZER                5160 S PIPER DR                                                KEARNS             UT         84118                  6002               Various                                                                                                $2.55
DUSTIN TOEWS                  7846 BETHEL RD                                                 ARPIN              WI         54410                  6002               Various                                                                                                $1.56
DUSTIN TOW                    1124 MC MANNAMY DR                                             KALISPELL          MT         59901                  6004               Various                                                                                                $5.00
DUSTIN WALTERS                54351 846TH ROAD                                               MEADOW GROVE       NE         68752                  6004               Various                                                                                                $5.02
DUSTIN WORCESTER              2518 S 114TH ST APT 1C                                         OMAHA              NE         68144                  6002               Various                                                                                                $4.38
DUSTY FRANSEN                 434 KINGS LOOP                                                 KALISPELL          MT         59901                  6002               Various                                                                                                $4.47
DUSTY LAIRD                   3197 N 3200TH W                                                BENSON             UT         84335                  6002               Various                                                                                                $6.41
DUSTY LEWIS                   1029 POWERS AVE                                                LEWISTON           ID         83501                  6002               Various                                                                                                $2.63
DUSTY MAYHEW                  918 W A ST                                                     WYMORE             NE         68466                  6002               Various                                                                                                $6.79
DUSTY NUTT                    934 HAMPSHIRE ST                                               QUINCY             IL         62301                  6004               Various                                                                                                $5.00
DUVALL FAMILY                 1002 13TH AVE SW                                               ABERDEEN           SD         57401                  6002               Various                                                                                                $6.93
DUWAYNE KORB                  531 ASHBURY DR.                                                FOND DU LAC        WI         54935                  6004               Various                                                                                               $42.00
DWAINE SEALS                  8176 N 1120TH BLVD                                             MOUNT CARMEL       IL         62863                  6002               Various                                                                                                $7.15
DWAYNE CONLEY                 PO BOX 7094                                                    GREAT FALLS        MT         59406                  6004               Various                                                                                                $7.99
DWAYNE DEVORE                 4021 60TH STREET                                               KENOSHA            WI         53144                  6004               Various                                                                                               $31.00
DWAYNE GOLDEN                 1819 ABERG AVE                                                 MADISON            WI         53704                  6004               Various                                                                                                $2.00
DWAYNE PAULSON                75417 135 AVE                                                  BLOOMING PRAIRIE   MN         55917                  6004               Various                                                                                               $25.50
DWIGHT ALWIN                  600 KLEIN DR                                                   HAMMOND            WI         54015                  6002               Various                                                                                                $9.78
DWIGHT C PFEIFFER             1430 S MARION AVE                                              JANESVILLE         WI         53546                  6002               Various                                                                                                $5.84
DWIGHT FARWELL                5529 WASHINGTON ST                                             ALBANY             MO         64402                  6002               Various                                                                                                $4.47
DWIGHT KOPREK                 137 7TH AVE NE                                                 SAINT CLOUD        MN         56304                  6002               Various                                                                                                $3.64
DWIGHT KRUKOW                 5066 S SHORE DR                                                CLEAR LAKE         IA         50428                  6002               Various                                                                                                $3.51
DWIGHT STEINKE                5502 ARBOR CT                                                  WAUSAU             WI         54401                  6002               Various                                                                                                $8.36
DYAN CARRISON                 1309 EAST CTY RD M                                             RIVER FALLS        WI         54022                  6004               Various                                                                                               $70.00
DYAN JOHNSON                  2939 MAGNOLIA STREET                                           LEWISTON           ID         83501                  6004               Various                                                                                               $14.31
DYAN KUNSTMAN                 1119 COLUMBUS STREET                                           MANITOWOC          WI         54220                  6004               Various                                                                                               $20.00
DYLAN ABRAMS                  W6437 SAWTOOTH CT                                              MENASHA            WI         54952                  6004               Various                                                                                               $23.50
DYLAN BLOCK                   1325 2ND ST NE                                                 WATERTOWN          SD         57201                  6004               Various                                                                                               $10.00
DYLAN BOETTCHER               4105 46TH AVE NW APT 214                                       ROCHESTER          MN         55901                  6004               Various                                                                                               $72.42
DYLAN BRENNA                  W10471 880TH AVE                                               RIVER FALLS        WI         54022                  6002               Various                                                                                                $2.47
DYLAN BROWN                   30245 RIDGEWOOD AVE                                            SHAFER             MN         55074                  6004               Various                                                                                                $2.67
DYLAN CLIPPER                 400 MONITER ST APT 38                                          LA CROSSE          WI         54603                  6002               Various                                                                                                $5.04
DYLAN COLANGELO               1040 OAKES ST.                                                 MARINETTE          WI         54143                  6004               Various                                                                                                $1.00




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                                                                                                                                                      Account         Incurred, Basis for
             Creditor Name                  Address1              Address2            Address3           City       State           Zip   Country     Number                Claim                                                                             Total Claim
DYLAN COOPER                    749 E DAVID ST                                                   WEST POINT      NE         68788                 6002                Various                                                                                                $9.07
DYLAN DOBRATZ                   2934 VERCAUTERAN DR                                              GREEN BAY       WI         54313                 6002                Various                                                                                                $3.67
DYLAN E KOENIG                  W8088 HILLCREST CT                                               HORTONVILLE     WI         54944                 6002                Various                                                                                                $5.40
DYLAN ENGELLAND                 3085 FINGER RD                                                   GREEN BAY       WI         54311                 6004                Various                                                                                               $19.00
DYLAN FLORA                     1552 MOORE ST                                                    BELOIT          WI         53511                 6004                Various                                                                                                $3.99
DYLAN HAWKER                    651 SOUTH ANNA AVENUE                                            LAKE CRYSTAL    MN         56055                 6004                Various                                                                                                $3.00
DYLAN HEEMSTRA                  1061 ANTELOPE TRAIL                                              NEENAH          WI         54956                 6004                Various                                                                                                $3.14
DYLAN HORTON                    W1021 COUNTY TRUNK A                                             RANDOLPH        WI         53956                 6004                Various                                                                                                $4.00
DYLAN HUBER                     602 FIFTH ST                                                     PINEHURST       ID         83850                 6002                Various                                                                                                $8.49
DYLAN JURASIN                   160 HURON WOODS DR                                               MARQUETTE       MI         49855                 6002                Various                                                                                                $3.56
DYLAN KRAUSS                    183 SUN CIR                                                      ELLSWORTH       WI         54011                 6002                Various                                                                                                $1.34
DYLAN LOKEN                     14700 235TH. AVE                                                 NEW RICHLAND    MN         56072                 6004                Various                                                                                               $63.24
DYLAN NELSON                    62 HAMPTON PL                                                    LOGAN           UT         84341                 6002                Various                                                                                                $7.42
DYLAN NEUFANG                   1618 MONROE AVE                                                  YAKIMA          WA         98902                 6004                Various                                                                                               $40.00
DYLAN NEWTON                    2808 WAVELAND DR NW                                              CEDAR RAPIDS    IA         52405                 6002                Various                                                                                                $8.08
DYLAN PRESTHOLT                 417 6TH ST NW                                                    MASON CITY      IA         50401                 6002                Various                                                                                                $0.71
DYLAN ROOT                      1902 MOUNT VERNON                                                OSHKOSH         WI         54901                 6004                Various                                                                                                $5.00
DYLAN S PESTER                  1025 E ST APT 1                                                  LINCOLN         NE         68508                 6002                Various                                                                                                $4.33
DYLAN SCHIFELBINE               846 WISCONSIN AVE                                                FOND DU LAC     WI         54935                 6004                Various                                                                                               $25.00
                                N3905 PINE MOUNTAIN RD TRL.
DYLAN TENGESDAHL                2                                                                IRON MOUNTAIN   MI         49801                  6004               Various                                                                                               $11.99
DYLAN VORWALD                   1115 ROOSEVELT AVE                                               RACINE          WI         53406                  6004               Various                                                                                                $3.20
DYLAN WALKER                    3103 E RAIL ROAD                                                 APPLETON        WI         54915                  6002               Various                                                                                               $86.69
DYLAN WEISS                     627 3RD ST SE                                                    MASON CITY      IA         50401                  6004               Various                                                                                               $25.00
DYLAN WUNDERLICH                928 E NORTHWOOD DR                                               APPLETON        WI         54911                  6002               Various                                                                                                $1.51
DYLAN ZONG                      146 W OAKS DR                                                    OGDEN           UT         84404                  6002               Various                                                                                                $0.63
DYLON M BURTON                  1833 N MASON ST                                                  APPLETON        WI         54914                  6002               Various                                                                                               $10.00


                                SALLYPORT COMMERCIAL          14100 SOUTHWEST
DYNASTY APPAREL CORPORATION     FINANCE                       FREEWAY SUITE 210                  SUGARLAND       TX         77478                   7002              Various                                                                                        $84,520.97
                                                              1571 WEST COPANS
DYNO MERCHANDISE CORP           SUITE 105                     ROAD                               POMPANO BEACH   FL         33064-0000             8515               Various                                                                                        $44,985.64
E & E CO LTD DBA JLA            45875 NORTHPORT LOOP EAST                                        FREMONT         CA         94538                  8666               Various                                                                                       $689,255.41
E & S SECURITY LLC              1401 N RYNDERS STREET                                            APPLETON        WI         54914                  4872               Various                                                                                         $4,450.00
E L F COSMETICS INC             PO BOX 83403                                                     CHICAGO         IL         60691-3403             9200               Various                                                                                       $127,346.51
E MARILYN FOX                   109 E SOUTH TEMPLE #4-H                                          SLC             UT         84011                  6004               Various                                                                                            $22.00
E MISHAN & SONS INCORPORATED    230 5TH AVENUE SUITE 800                                         NEW YORK        NY         10001                  2158               Various                                                                                        $46,493.39
                                                              440 9TH AVE 6TH
E S ORIGINALS INCORPORATED      VICE PRESIDENT OF SALES       FLOOR                              NEW YORK        NY         10001                   7978              Various                                                                                       $219,079.69
E T BROWNE DRUG COMPANY INC     PO BOX 416131                                                    BOSTON          MA         02241-6131              5806              Various                                                                                        $10,846.68
E Z PACK                        6545 WIEHE ROAD                                                  CINCINNATI      OH         45237                   3243              Various                                                                                          $524.48
E.ZEKIEL MCGUIRE                2175 WEST 7380 SOUTH                                             WEST JORDAN     UT         84084                   6004              Various                                                                                             $2.00
                                                              VICE PRESIDENT OF
EAGLE BEVERAGE (BEER)           DBA EAGLE BEVERAGE            SALES             PO BOX 489       SHELBY          MT         59474                  3405               Various                                                                                            $26.98
EAGLE COMMUNITY TV              2300 HALL STREET                                                 HAYS            KS         67601                  3474               Various                                                                                            $50.00
EAGLE ELECTRIC INC              PO BOX 5324                                                      HELENA          MT         59604                                     12/4/2018                                                                                         $105.00
                                                              4020 KINROSS
EAGLE FAMILY FOODS              VICE PRESIDENT OF SALES       LAKES PARKWAY                      RICHFIELD       OH         44286                  2254               Various                                                                                        $47,595.11
EAGLE GRAPHICS LLC              1200 PROSPECT LANE                                               KAUKAUNA        WI         54130                  1993               Various                                                                                        $43,884.09
EAGLE LANDSCAPE                 MARK BIDAURRETE               7036 RIVER DRIVE                   REDDING         CA         96001                  5958               Various                                                                                          $350.00
EAGLE SIGNS LLC                 1511 S KEYS ROAD                                                 YAKIMA          WA         98901                                     Various                                                                                         $2,151.80
EAGLE WASTE                     PO BOX 729                                                       EAGLE RIVER     WI         54521                                     Various                                                                                         $2,021.00
EAMON QUINN                     529 18TH ST SE                                                   MASON CITY      IA         50401                   6002              Various                                                                                             $3.84




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EAMONN MACKINAW                   5114 ARNOLD ROAD                                                  DULUTH           MN         55803                 6004                Various                                                                                               $1.22
EARL BATTERSHELL                  1114 S DOUGLAS                                                    LYONS            KS         67554                 6002                Various                                                                                               $6.60
EARL DEAL                         1300 N 9TH AVE               APT 11 L                             WAUSAU           WI         54401                 6004                Various                                                                                               $4.00
EARL DOHSE                        912 PLAINS DR                                                     FRITCH           TX         79036                 6002                Various                                                                                               $3.75
EARL DUNCOMBE                     69 S 200TH E                                                      HYDE PARK        UT         84318                 6002                Various                                                                                               $8.63
EARL GARNAS                       1028 8TH AVE                                                      MANSON           IA         50563                 6002                Various                                                                                               $8.25
EARL HAASE                        311 N MONTGOMERY AVE                                              LE CENTER        MN         56057                 6002                Various                                                                                               $2.08

EARL HICKS                        213 1/2 MANITOWOC ST #213A                                        MENASHA          WI         54952                  6004               Various                                                                                             $2.00
EARL HILDE                        2508 E HOFFMAN                                                    SPOKANE          WA         99207                  6004               Various                                                                                            $20.30
EARL JERABEK                      N5557 SAWMILL LN                                                  KEWAUNEE         WI         54216                  6002               Various                                                                                             $2.55
EARL JOHNSON                      8689 S 700TH W                                                    SPANISH FORK     UT         84660                  6002               Various                                                                                             $6.33
EARL T BISHOP                     74 W ANGUS ST                                                     BUFFALO          WY         82834                  6002               Various                                                                                             $5.81
EARL WALKER                       6404 WY HIGHWAY 238                                               AFTON            WY         83310                  6002               Various                                                                                             $1.06
EARL WRIGHT                       2244 490TH ST                                                     NORTHOOD         IA         50459                  6004               Various                                                                                             $1.23
EARLE G CARLTON                   501 IMPERIAL WAY APT 50                                           SALMON           ID         83467                  6002               Various                                                                                             $7.56
EARLE G JACKSON                   2130 E 9400TH S # 270                                             SANDY            UT         84093                  6002               Various                                                                                             $8.25
EARLEEN KOWCEUN                   PO BOX 53                                                         KAMIAH           ID         83536                  6004               Various                                                                                            $15.00
EARLENE COOP                      11 MARIPOSA LN                                                    OROFINO          ID         83544                  6002               Various                                                                                             $1.85
EARLENE WEBER                     24060 IRIS LN                                                     LENORE           ID         83541                  6002               Various                                                                                             $9.78
EARLINE HOFFMAN                   1623 10TH AVE SW #1001                                            ABERDEEN         SD         57401                  6004               Various                                                                                            $11.84
EARNEST * BELL                    506 SW 1ST ST                                                     ANDREWS          TX         79714                  6002               Various                                                                                             $6.14
EARTH ACCENTS LLC                 GOODMAN FACTORS              PO BOX 29647                         DALLAS           TX         75229-9647             9660               Various                                                                                         $4,682.43
EARTHA ZOE WIEMAN                 4509 LEO DRIVE APT 1                                              MADISON          WI         53716                  6004               Various                                                                                             $1.00
EAST DAKOTA PROPERTIES            704 S 129TH AVENUE                                                OMAHA            NE         68154                  9429               Various                                                                                         $2,208.34
EAST E STREET REALTY LLC          1103 ARAPAHOE AVE                                                 GILLETTE         WY         82718                  6580               Various                                                                                         $7,395.96
EASTON C SCHOEN                   2917 BIG TIMBER CIR                                               GREEN BAY        WI         54313                  6002               Various                                                                                             $7.01
EASTON FALKENTHAL                 3207 SOULTH FLACK RD                                              BELOIT           WI         53511                  6004               Various                                                                                            $23.99

EATON/ TIM                        STORE 2-069                  SHOPKO EMPLOYEE                      GREEN BAY        WI         54307-9060             3623               Various                                                                                          $242.69
EBATES PERFORMANCE MARKETING I    999 PLAZA DRIVE SUITE 310                                         SCHAUMBURG       IL         60173                  6582               Various                                                                                        $25,400.00
EBEN FINK                         580 S 850TH E                                                     LEHI             UT         84043                  6002               Various                                                                                             $0.85
EBMS                              P.O. BOX 21367                                                    BILLINGS         MT         59104                  6004               Various                                                                                          $506.02
EBONI MOORE                       2712 PHEASANT RIDGE TRAIL    #3                                   MADISON          WI         53713                  6004               Various                                                                                             $2.00
EBONY HAUGHTON                    902 WEST MAIN STREET                                              KASSON           MN         55944                  6002               Various                                                                                             $8.44
EBRA A FULLER                     16066 TAYLOR RD                                                   LANSE            MI         49946                  6002               Various                                                                                             $0.58
                                                               24232 NETWORK
ECHO BRIDGE HOME ENTERTAINMENT    PLATINUM DISC LLC            PLACE                                CHICAGO          IL         60673-1242             5685               Various                                                                                        $68,372.74
ECHO ELECTRIC SUPPLY              ECHO GROUP INCORPORATED      PO BOX 336                           COUNCIL BLUFFS   IA         51502                  7965               Various                                                                                         $1,432.81
ECHO M SCHAEFER                   725 240TH AVE NW                                                  ALBERTA          MN         56207                  6002               Various                                                                                             $0.60
ECHO VALLEY                       RSR SALES                    PO BOX 2741                          ANN ARBOR        MI         48106-0000             4939               Various                                                                                        $13,340.40

ECKERBERG/ ERIC                   STORE 624                    SHOPKO EMPLOYEE PO BOX 308           LANSE            MI         49946                  2331               Various                                                                                          $156.02
ECONO FOODS                       PO BOX 1107                                                       IRON MOUNTAIN    MI         49801                  3015               Various                                                                                          $151.52
ECONO FOODS HOUGHTON              1000 W SHARON                                                     HOUGHTON         MI         49931                  3788               Various                                                                                          $251.63
ECONO FOODS MARQUETTE             PO BOX 939                                                        MARQUETTE        MI         49855                  2726               Various                                                                                          $147.87
ECONO WASTE                       PO BOX 106                                                        ROY              UT         84067                                     Various                                                                                          $480.00
ECONOCO CORPORATION               300 KARIN LANE                                                    HICKSVILLE       NY         11801                  2306               Various                                                                                         $3,956.43
ECONOMY PROPANE LLC               902 N 14TH STREET                                                 OAKES            ND         58474                  8606               Various                                                                                         $5,729.40
                                                               8025 REDLANDS
ECOPHARMACY SOLUTIONS             ALFA RX LLC                  BLVD STE 15                          PLAYA DEL REY    CA         90293                  1935               Various                                                                                        $35,280.16
ED ALBERS                         1020 11TH ST NE                                                   MASON CITY       IA         50401                  6002               Various                                                                                             $6.58
ED BRANNEN                        1520 GARRET LANE             APT 112                              LINCOLN          NE         68512                  6004               Various                                                                                            $21.43
ED HUNKER                         2121 HARLAN ST APT 3                                              FALLS CITY       NE         68355                  6002               Various                                                                                             $2.90




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              Creditor Name                Address1           Address2         Address3             City         State           Zip   Country     Number                Claim                                                                             Total Claim
ED KOMAREK                     804 4TH ST                                                   ONAWA             IA         51040                 6002                Various                                                                                                $6.55
ED MACK                        HC 85 BOX 4184                                               LEWISTOWN         MT         59457                 6002                Various                                                                                                $6.30
ED MARTIN                      815 S MAIN ST                                                CHIPPEWA FALLS    WI         54729                 6002                Various                                                                                                $2.47
ED WILSEY                      16550 HIGHWAY 95                                             MARSING           ID         83639                 6002                Various                                                                                                $9.62
ED ZIEBER                      3335 W HECTOR DR                                             WEST VALLEY CIT   UT         84119                 6002                Various                                                                                                $7.97
EDD FLOWERS                    3181 GRAND AVE #B                                            OMAHA             NE         68111                 6004                Various                                                                                                $2.00
EDDIE FLERCHINGER              795 HARRIS RIDGE RD                                          KOOSKIA           ID         83539                 6004                Various                                                                                                $7.88
EDDIE HOLMES                   1642 W EVERGREEN DR APT 1                                    APPLETON          WI         54913                 6002                Various                                                                                                $0.60
EDDIE J MORRIS                 2420 PARKER PL                                               MADISON           WI         53713                 6002                Various                                                                                                $6.00
EDDIE J. STADLER               HC 6 BOX 361B                                                DONIPHAN          MO         63935                 6002                Various                                                                                                $5.07
EDDIE JONES                    3555 DRISCOLL ROAD                                           RHINELANDER       WI         54501                 6004                Various                                                                                               $16.00
EDDIE KURTZ                    1510 S PROSPECT ST                                           GALLATIN          MO         64640                 6002                Various                                                                                                $6.58
EDDIE MINGS                    3245 RIVERSIDE RD                                            BENTON HARBOR     MI         49022                 6002                Various                                                                                                $8.47
EDDIE MOHR                     1918 W JOHNSON PL                                            SIOUX FALLS       SD         57105                 6002                Various                                                                                                $2.08
EDDIE TANNER                   1711 4TH AVE W APT 3                                         COLUMBIA FALLS    MT         59912                 6002                Various                                                                                                $3.62
EDDIE VALDEZ                   1321 N PARK ST                                               FAIRMONT          MN         56031                 6002                Various                                                                                               $10.00
EDDIE VELASCO                  PO BOX 1685 PMB 906                                          RAWLINS           WY         82301                 6002                Various                                                                                                $0.27
EDDIE W FRYE                   68 12TH ST APT C                                             WHEATLAND         WY         82201                 6002                Various                                                                                                $5.48
EDDIE-VENIER COLEMAN           2204-60TH ST APT 27                                          KENOSHA           WI         53143                 6002                Various                                                                                                $3.18
EDDY COOPER                    1404 EATON ST                                                CORNING           AR         72422                 6002                Various                                                                                                $2.08
EDDY ZALKUS                    6531 S ALFRED CR                                             MURRAY            UT         84123                 6002                Various                                                                                                $9.26
EDEN SOTO-GUERRA               307 3RD AVE SW APT 1                                         AUSTIN            MN         55912                 6002                Various                                                                                                $5.62
EDGAR ACOSTA JR                34 PAWNEE ST                                                 WATERTOWN         WI         53094                 6002                Various                                                                                                $5.15
EDGAR ALI GUERRERO             310 4TH ST APT B4                                            MONROE            WI         53566                 6002                Various                                                                                                $8.60
EDGAR ESTRADA                  6134 S 33RD ST                                               OMAHA             NE         68107                 6004                Various                                                                                                $4.00
EDGAR IZAGUIRRE                8622 R PLZ APT 4                                             OMAHA             NE         68127                 6002                Various                                                                                                $4.68
EDGAR LEE                      2117 N SUPERIOR ST                                           APPLETON          WI         54911                 6004                Various                                                                                               $40.00
EDGAR PERKINS                  203 E JEFFERSON ST                                           VILLA GROVE       IL         61956                 6002                Various                                                                                                $9.59
EDGAR RENVILLE                 515 E MAIN AVE                                               FRAZEE            MN         56544                 6002                Various                                                                                                $1.42
EDGAR STAUB                    87601 460TH AVENUE                                           NEWPORT           NE         68759                 6002                Various                                                                                                $4.16
                                                           825 SOUTHWOOD
EDGECRAFT CORPORATION          VICE PRESIDENT OF SALES     ROAD                             AVONDALE          PA         19311-9765             7980               Various                                                                                        $44,539.20
EDIE WICKHAM                   3602 LINCOLN ST                                              TORRINGTON        WY         82240                  6002               Various                                                                                             $9.29
EDIIE CHAIDEZ                  450 6TH ST NE 18                                             EAST WENATCHEE    WA         98802                  6004               Various                                                                                            $10.30
EDINA E. MACLEOD               102 LOWELL ST                                                WATERTOWN         WI         53098                  6002               Various                                                                                             $0.77
EDITA CUEVAS                   720 FRANKLIN DR                                              CRETE             NE         68333                  6002               Various                                                                                             $8.47
EDITH BUSHEY                   1011 GEORGETOWN CIR                                          BEAVER DAM        WI         53916                  6002               Various                                                                                             $6.52
EDITH HEAD                     718 RAINWATER CT                                             POWELL            WY         82435                  6002               Various                                                                                             $5.67
EDITH JOHNSON                  PO BOX 22                                                    ATLANTIC MINE     MI         49905                  6002               Various                                                                                             $6.30
EDITH MARIE SANFILIPPO         205 S DIVISION ST APT 312                                    WAUPACA           WI         54981                  6002               Various                                                                                             $8.30
EDITH MURPHY                   370 MOUNTAIN MEADOW RD                                       KALISPELL         MT         59901                  6002               Various                                                                                             $2.11
EDITH PRYOR                    821 7TH AVE SW                                               PERHAM            MN         56573                  6002               Various                                                                                            $14.09
EDITH RAMOS-LOPEZ              112 6TH AVE SW                                               PIPESTONE         MN         56164                  6002               Various                                                                                             $8.88
EDITH SANDERS                  1475 RIVERSIDE RD                                            BIGFORK           MT         59911                  6002               Various                                                                                             $0.36
EDITH SCHNEIDER                8087A GEENAN ST                                              KAUKAUNA          WI         54130                  6002               Various                                                                                            $10.00
EDITH SIERRA                   205 TURTLE CREEK DR APT1                                     DELAVAN           WI         53115                  6004               Various                                                                                            $40.00
EDITH STANNARD                 W6054 HACKBARTH RD                                           FORT ATKINSON     WI         53538                  6002               Various                                                                                             $7.62
EDITH STRONG                   3827 ST. MARY AVE                                            LINCOLN           NE         68502                  6004               Various                                                                                            $15.00

EDITH WEBB                     2082 UPPER RIDGE RD                                          PORT WASHINGTON   WI         53074                  6002               Various                                                                                                $5.75
EDMOND DURHAM                  708 S WILSON DR                                              ALTOONA           WI         54720                  6002               Various                                                                                                $7.26
EDMUND HARTMAN                 469 PIERCE ST                                                TWIN FALLS        ID         83301                  6002               Various                                                                                                $0.79
EDMUND PHILL ARPIN             215 N MASON ST                                               APPLETON          WI         54914                  6002               Various                                                                                                $6.19
EDMUNDO JAIME                  2010 1ST AVE                                                 PERRY             IA         50220                  6002               Various                                                                                                $6.25




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                                                                                                                                                      Account         Incurred, Basis for
             Creditor Name               Address1             Address2         Address3             City            State           Zip   Country     Number                Claim                                                                             Total Claim
EDNA EHEART                   316 S MAPLE ST                                                ARTHUR             IL           61911                 6002                Various                                                                                                $6.88
EDNA HOLLISTER                1929 WASHINGTON AVE                                           HOT SPRINGS        SD           57747                 6002                Various                                                                                                $8.93
EDNA KARTAK                   ELDER INN RM 105                                              WINNER             SD           57580                 6002                Various                                                                                                $1.59
EDNA KNUTSON                  12 SPRY AVE APT 57                                            FORT ATKINSON      WI           53538                 6002                Various                                                                                                $2.08
EDNA LARSON                   2644 CASTLE PL                                                LA CROSSE          WI           54601                 6002                Various                                                                                                $8.33
EDNA LOPEZ                    782 SECURITY DR APT C101                                      FOND DU LAC        WI           54935                 6002                Various                                                                                                $6.82
EDNA OLIVER                   2072 SEVEN LAKES SOUTH                                        WEST END           NC           27376                 6004                Various                                                                                                $9.09

EDNA WALKER                   8551 HIGHWAY 11                                               MILTON FREEWATER   OR           97862                  6004               Various                                                                                               $16.80
EDNALYN NILLO                 7 HICKORY LANE                                                WINONA             MN           55987                  6004               Various                                                                                                $3.00
EDRISSA JARJU                 2502 CALYPSO ROAD APT. 2                                      MADISON            WI           53704                  6004               Various                                                                                                $5.70
EDSON MEJIATORRES             1195 NORTH MAIN ST.        APT 8J                             LAYTON             UT           84041                  6004               Various                                                                                               $16.02
EDUARDO BAYONA                N7695 GARTON COURT                                            SHEBOYGAN          WI           53083                  6004               Various                                                                                                $5.00
EDUARDO HERNANDEZ             122 JONQUIL DR                                                DAVIS JUNCTION     IL           61020                  6004               Various                                                                                                $3.90
EDUARDO MARQUEZ               1108 CATALPA CIR                                              MADISON            WI           53713                  6004               Various                                                                                                $1.00
EDUARDO MARTINEZ              6415 BLONDO ST                                                OMAHA              NE           68104                  6002               Various                                                                                                $2.77
EDUARDO NUNEZ                 905 LAKESHORE DR                                              BEAVER DAM         WI           53916                  6004               Various                                                                                               $45.00
EDWARD ANDERSON               1200 BLACKMER LN                                              COLUMBIA FALLS     MT           59912                  6002               Various                                                                                                $5.53
EDWARD BLUM                   1625 MAIN ST               APT D                              STEVENS POINT      WI           54481                  6004               Various                                                                                                $1.00
EDWARD BOETTCHER              45356 140TH ST                                                DONNELLY           MN           56235                  6002               Various                                                                                                $3.50
EDWARD BROGGER                2805 76TH AVE SW           TRAILER 13                         OLYMPIA            WA           98512                  6004               Various                                                                                                $9.00
EDWARD CORRELL II             7705 LOON CT SE                                               LACEY              WA           98503                  6004               Various                                                                                               $16.98

EDWARD DARBY                  315 YELLOWSTONE AVE                                           WEST YELLOWSTONE   MT           59758                  6004               Various                                                                                                $8.00
EDWARD EVANS JR               805 CLARK ST                                                  WATERTOWN          WI           53094                  6002               Various                                                                                                $7.10
EDWARD FELTON                 2748 NICHOLET DR.                                             GREEN BAY          WI           54311                  6004               Various                                                                                                $2.00
EDWARD GRAFF                  416 E WICKLOW AVE                                             GREELEY            NE           68842                  6004               Various                                                                                                $5.02
EDWARD HODGES                 19010 HANSEN ST                                               OMAHA              NE           68130                  6004               Various                                                                                                $2.00
EDWARD HOFFMANN               C/O TOM & BETH HOFFMANN    1102 ASPEN DR                      WAUKESHA           WI           53188                  6002               Various                                                                                                $2.18
EDWARD HOGUE                  1118 RICHARDSON ST                                            JANESVILLE         WI           53545                  6004               Various                                                                                               $10.02
EDWARD HOUGHTALING            611 COOLIDGE ST                                               GLENWOOD           IA           51534                  6002               Various                                                                                                $7.29
EDWARD HUDSON                 PO BOX 1457                                                   OROFINO            ID           83544                  6002               Various                                                                                                $8.90
EDWARD J UPAH                 1309 STATE ST                                                 TAMA               IA           52339                  6002               Various                                                                                                $3.73
EDWARD JAMES SINGER           7689 BOOM BAY HEIGHTS RD                                      LARSEN             WI           54947                  6002               Various                                                                                                $8.93
EDWARD JANSEN                 613 E LINCOLN AVE                                             LITTLE CHUTE       WI           54140                  6002               Various                                                                                                $9.95
EDWARD KLEINWEBER             401 OAKVIEW DR                                                DUNBAR             NE           68346                  6002               Various                                                                                                $2.71
EDWARD KOWALKOWSKI            969 REDDIN AVE                                                NEENAH             WI           54956                  6002               Various                                                                                                $0.63
EDWARD LA PLANTE              200 WASHINGTON             PO BOX 53                          RIDOTT             IL           61067                  6004               Various                                                                                               $31.31
EDWARD LEONA MILLER           411 S MINNESOTA AVE                                           SAINT PETER        MN           56082                  6002               Various                                                                                                $1.15
EDWARD LIETZOW                W4735 SPRIG ST                                                LA CROSSE          WI           54601                  6002               Various                                                                                                $8.79
EDWARD LOPSHIRE               779 N 2750 W                                                  WEST POINT         UT           84015                  6004               Various                                                                                               $15.00
EDWARD M NOLL                 1079 PILGRIM WAY APT 10                                       GREEN BAY          WI           54304                  6002               Various                                                                                                $1.04
EDWARD MALIN                  2090 HWY US # 41 PMB S                                        MARQUETTE          MI           49855                  6002               Various                                                                                                $1.18

EDWARD MCDONALD               MAC CONSTRUCTION           1404 N BIG SPRING                  MIDLAND            TX           79703                   1512              Various                                                                                         $3,000.00
EDWARD MCMAHON                3005 E DAFFODIL LN                                            BELOIT             WI           53511                   6002              Various                                                                                             $6.14
EDWARD MCQUILLEN              414 W MAGEE                                                   MARSHFIELD         WI           54449                   6004              Various                                                                                            $14.40
EDWARD MENARD                 N4214 13TH AVENUE                                             WAUTOMA            WI           54982                   6002              Various                                                                                             $1.14
EDWARD MERRILL                10903 N BALL PLAZE                                            OMAHA              NE           68154                   6004              Various                                                                                            $24.00
EDWARD MITCHELL               647 8TH ST                                                    OGDEN              UT           84404                   6002              Various                                                                                             $6.44
EDWARD OWEN                   215 W 39TH ST                                                 GARDEN CITY        ID           83714                   6002              Various                                                                                             $7.97
EDWARD PAKANICH               1423 S BROADWAY                                               GREEN BAY          WI           54304                   6002              Various                                                                                             $4.39
EDWARD PARISEK                1901 CLOVERDALE WAY                                           BELVIDERE          IL           61008                   6004              Various                                                                                            $10.00
EDWARD PATERA                 11501 BEECH RD                                                SISTER BAY         WI           54234                   6002              Various                                                                                            $10.00




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EDWARD PATTERSON                 16307 E 6TH                                                       VERADALE          WA         99037                6004                Various                                                                                            $25.90
EDWARD PHILLIPS                  12240 W PARKWAY DR                                                POST FALLS        ID         83854                6004                Various                                                                                            $30.02
EDWARD PRIMOZICH                 206 E 4TH STREET             APT. 6                               DULUTH            MN         55805                6004                Various                                                                                             $3.00
EDWARD REZARCH                   698 BAKER RD.                                                     HUDSON            WI         54016                6004                Various                                                                                             $1.00
EDWARD RODRIGUEZ                 710 S 6TH ST LOT 16                                               HOT SPRINGS       SD         57747                6002                Various                                                                                             $4.79
EDWARD ROELKE                    546 MANNING ST                                                    COLUMBUS          WI         53932                6004                Various                                                                                             $1.02
EDWARD SCHAP                     P. O. 523                                                         FREEPORT          IL         61032                6004                Various                                                                                             $1.20
EDWARD VLAMNICK                  3342 CTY HWY 8                                                    TAUNTON           MN         56291                6004                Various                                                                                             $3.00
EDWARD WILLIAMS                  2302 RT. 30                                                       WEST BROOKLYN     IL         61378                6004                Various                                                                                            $20.14
EDWARDO GARCIA                   625 19TH AVE NORTH                                                NAMPA             ID         83687                6004                Various                                                                                             $3.65
EDWARDO HERNANDEZ                N22786 KAMROWSKI RD                                               ARCADIA           WI         54612                6002                Various                                                                                             $6.11
EDWARDO SALCEDO                  PO BOX 193                                                        WAKEFIELD         NE         68784                6002                Various                                                                                             $5.21
EDWARDS FAMILY                   213 SUNNY FIELD CT APT C                                          WATERTOWN         WI         53098                6002                Various                                                                                             $5.42
EDWARDS OIL INC                  820 HOOVER ROAD N                                                 VIRGINIA          MN         55792                2031                Various                                                                                         $3,751.62
EDWIN CUTLER                     105 N CONNOR ST                                                   HOT SPRINGS       SD         57747                6002                Various                                                                                             $1.18
EDWIN E WILLIAMS                 38 HIGHNOON LN                                                    CASCADE           MT         59602                6002                Various                                                                                             $8.66
EDWIN FISHER                     408 1ST ST                                                        FLORENCE          SD         57235                6002                Various                                                                                             $6.60
EDWIN GESKE                      3525 SERVICE RD                                                   EAU CLAIRE        WI         54701                6002                Various                                                                                             $8.47
EDWIN PARKER                     410 S COMMERCIAL ST                                               RULO              NE         68431                6002                Various                                                                                             $5.59
EDWIN RAIHL                      424 N 6TH ST                                                      LIVINGSTON        MT         59047                6002                Various                                                                                             $6.88
EDWIN RICHARDS                   1819 ABERG AVE                                                    MADISON           WI         53715                6004                Various                                                                                             $4.00
EDWIN SAPP                       227 LN # 9                                                        POWELL            WY         82435                6002                Various                                                                                             $5.92
EDWIN WOODS                      200 1ST AVE NW               APT 1307                             ROCHESTER         MN         55901                6004                Various                                                                                            $27.00
EFFIE SMITH                      450 BEAN AVE APT 212                                              MORA              MN         55051                6002                Various                                                                                             $2.08
EFRAIN F GARCIA                  101 N LOCAL AVE APT 15                                            NEW HAMPTON       IA         50659                6002                Various                                                                                             $4.30
EFRAIN FLORES                    2610 OLD HWY TWO LOOP                                             MOYIE SPRINGS     ID         83845                6004                Various                                                                                            $20.00
EFRAIN MENDIOLA III              2105 KENWOOD                                                      BELOIT            WI         53511                6004                Various                                                                                             $9.15
EFROSINI WILSON                  609 13TH ST                                                       WISNER            NE         68791                6002                Various                                                                                             $0.74
EGYPT LEIJA                      1055 BERRY ST                                                     WATERTOWN         WI         53098                6004                Various                                                                                             $5.00
EH LOO                           2205 CECELIE STREET APTM 6                                        WORTHINGTON       MN         56187                6004                Various                                                                                             $3.00
EH MOO                           9224 OHIO ST                 APT #2                               OMAHA             NE         68134                6004                Various                                                                                            $25.00
EHRICH KNAACK                    1124 9TH AVE N                                                    SAINT JAMES       MN         56081                6002                Various                                                                                            $10.00
EHRIN CHASE                      280 SOUTH 37TH                                                    SPRINGFIELD       OR         97478                6004                Various                                                                                            $20.00
EIGHTEEN EIGHTY EIGHT MILLS L    DEPARTMENT 4102                                                   CAROL STREAM      IL         60122-4102           3837                Various                                                                                        $17,815.30
EILEEN BEHLING                   810 BIRCH ST                                                      LAKE MILLS        WI         53551                6002                Various                                                                                             $8.11
EILEEN BERWALD                   310 4TH AVE SW                                                    HUTCHINSON        MN         55350                6002                Various                                                                                             $4.88
EILEEN BRATON                    3394 CEDAR BLOOM             APT.112                              CDA               ID         83814                6004                Various                                                                                            $19.20
EILEEN BUSA                      HARMONY LIVING                                                    STEVENS POINT     WI         54481                6002                Various                                                                                             $4.16
EILEEN CERVANTES                 519 W SPRING ST                                                   APPLETON          WI         54911                6004                Various                                                                                            $20.00
EILEEN COOK                      PO BOX 134                                                        NESHKORO          WI         54960                6004                Various                                                                                            $12.40
EILEEN DOMAN                     2139 BLUE SPRUCE LN                                               BOISE             ID         83716                6002                Various                                                                                             $6.99
EILEEN HOFFART                   623 NORTH MAIN                                                    REDFIELD          SD         57469                6004                Various                                                                                            $12.16
EILEEN ISOM                      1221 ATCHESON                                                     SUN PRAIRE        WI         35390                6002                Various                                                                                             $9.70
EILEEN KOPRIVA                   412 N ABSAROKA ST                                                 POWELL            WY         82435                6002                Various                                                                                             $0.44
EILEEN LONGLAIS                  214 N HURON ST                                                    DE PERE           WI         54115                6002                Various                                                                                             $4.38
EILEEN M VARHALLA                9789 253RD AVE NE                                                 STACY             MN         55079                6002                Various                                                                                             $7.42
EILEEN MISCHOCK                  771 RIVER MEADOWS DR                                              SHEBOYGAN FALLS   WI         53085                6002                Various                                                                                            $10.00
EILEEN MURPHY                    2422 NOEL CT                                                      OSHKOSH           WI         54904                6002                Various                                                                                             $1.04
EILEEN OTTO                      841 MARTIN ST                                                     MENASHA           WI         54952                6002                Various                                                                                             $2.33
EILEEN SPOO                      1308 N DURKEE ST                                                  APPLETON          WI         54911                6004                Various                                                                                            $20.00
EILEEN STARK                     1922 COUNTY RD NN                                                 ELKHORN           WI         53121                6002                Various                                                                                          $931.62
EILLIENS CANDIES INCORPORATED    PO BOX 28017                                                      GREEN BAY         WI         54324-0000           6319                Various                                                                                        $33,041.67

EL DORADO SPRINGS SUN            PO BOX 71                                                         EL DORADO SPRINGS MO         64744                 9490               Various                                                                                               $35.00




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ELAINA GRADY                     506 E TELEGRAPH ST                                               DOWAGIAC          MI         49047                 6002                Various                                                                                                $6.77
ELAINA KOSCHIK                   3940 HILLSIDE LN                                                 WAUSAU            WI         54403                 6002                Various                                                                                                $3.73
ELAINE ANDERSEN                  449 W CENTER ST P O BOX # 28                                     WILLARD           UT         84340                 6002                Various                                                                                                $0.79
ELAINE BEATTIE                   154 WOODHAVEN LN                                                 NEENAH            WI         54956                 6002                Various                                                                                                $2.08
ELAINE BLINK                     N 500 DUCKAWAY CT                                                APPLETON          WI         54915                 6002                Various                                                                                                $1.15
ELAINE DAVIS                     4201 DENISE CT # D-405                                           SIOUX CITY        IA         51104                 6002                Various                                                                                                $0.44
ELAINE EDWARDS                   3801 BEDFORD AVE                                                 OMAHA             NE         68111                 6002                Various                                                                                                $0.66
ELAINE HIGHLAND                  311 S 10TH AVE                                                   POCATELLO         ID         83201                 6002                Various                                                                                                $0.82
ELAINE HOUSE                     3840 RIMROCK RD. APT #1000                                       BILLINGS          MT         59102                 6004                Various                                                                                                $2.60
ELAINE JOHNSON                   PO BOX 103                                                       SISTER BAY        WI         54234                 6002                Various                                                                                                $4.33
ELAINE KING                      13607 446TH AVE                                                  WAUBAY            SD         57273                 6002                Various                                                                                                $7.56
ELAINE KNOTT                     N242W6416 LOCUST ST APT 4                                        SUSSEX            WI         53089                 6002                Various                                                                                                $6.68
ELAINE KUGLER                    4624 HALLCLIFFE RD                                               LINCOLN           NE         68516                 6004                Various                                                                                               $20.00
ELAINE LATHRUM-ROE               1612 7TH ST                                                      PERRY             IA         50220                 6002                Various                                                                                                $6.90
ELAINE M. DODSON                 3314 N CORMAC LOOP                                               POST FALLS        ID         83854                 6002                Various                                                                                                $7.78
ELAINE MCKINNEY                  988 180TH AVE                                                    LEWIS             KS         67552                 6002                Various                                                                                                $1.18
ELAINE NEVILLE                   1327 W WEILAND LN                                                APPLETON          WI         54911                 6004                Various                                                                                                $6.00
ELAINE ROCHON                    600 FLORENCE AVENUE                                              FLORENCE          WI         54121                 6004                Various                                                                                               $36.65
ELAINE SMITH                     36337 810TH AVE                                                  LEWISVILLE        MN         56060                 6002                Various                                                                                                $8.32
ELAINE THURMAN                   BOX 276 518 W TAYLOR                                             LYONS             KS         67554                 6002                Various                                                                                                $5.07
ELAINE WERCH                     9594 STATE 91                                                    BERLIN            WI         54923                 6004                Various                                                                                                $5.00
ELAINE WILLIS                    PO BOX 462                                                       GRANT             NE         69140                 6002                Various                                                                                                $2.96
ELAINE ZAIKI                     325 S ROSE STREET                                                ISHPEMING         MI         49849                 6002                Various                                                                                                $8.66
ELAKIE FALE                      2016 MARTINI DR                                                  SAUK RAPIDS       MN         56379                 6002                Various                                                                                                $9.84
ELAM BAYSINGER                   3633 LOUISVILLE CIR                                              WEST JORDAN       UT         84084                 6004                Various                                                                                                $5.00
ELANA DUGGER                     PO BOX 1133                                                      AUMSVILLE         OR         97325                 6004                Various                                                                                               $23.00
ELAYNE DRESEL                    100 N FRONT ST APT 112                                           DE PERE           WI         54115                 6002                Various                                                                                                $3.48
ELBERT BRACKNEY                  2711 25TH AVE                                                    KENOSHA           WI         53140                 6002                Various                                                                                                $6.16
ELBERT TRIAS                     2214 15TH ST SE                                                  AUSTIN            MN         55912                 6004                Various                                                                                                $3.00
ELDA MARTINEZ-NEITO              1910 FARLIN AVE                                                  GREEN BAY         WI         54302                 6002                Various                                                                                                $0.47
ELDEN BROBECK                    396 PERSHING AVE                                                 POCATELLO         ID         83201                 6002                Various                                                                                                $9.67
                                                                1199 STATE HWY
ELDEN SPENCER                    C/O MICHAEL LEDUC              128                               GLENWOOD CITY     WI         54013                  6002               Various                                                                                             $4.64
ELDIOJU REYNOLDS                 904 CALEDONIA ST                                                 LA CROSSE         WI         54603                  6002               Various                                                                                             $5.84
ELDON DSCHAAK                    121 ANACONDA ST                                                  WOLF POINT        MT         59201                  6002               Various                                                                                             $7.53
ELDON FLYNN                      13220 ROAD Q NW                                                  QUINCY            WA         98848                  6002               Various                                                                                             $2.08
ELDON LARSON                     127 1/2 W. 6TH ST                                                KAUKAUNA          WI         54130                  6004               Various                                                                                            $31.00
ELDON YODER                      12036 NICHOLS SPRING DR                                          CHATFIELD         MN         55923                  6002               Various                                                                                             $8.44
ELDONA LEE                       910 SHARP ST                                                     GLENWOOD          IA         51534                  6002               Various                                                                                             $4.16
ELDORA B ODEGARD                 364 N FRANKLIN ST                                                MONDOVI           WI         54755                  6002               Various                                                                                             $9.10
ELDORA INDUSTRIAL DEVELOPMENT    1202 EDGINGTON AVENUE                                            ELDORA            IA         50627                  6718               Various                                                                                         $1,183.21
ELEANOR BINGMAN                  24 MONTGOMERY STREET                                             POMEROY           WA         99347                  6004               Various                                                                                            $13.13
ELEANOR BOWERS                   BAYVIEW TER # 8                                                  SISTER BAY        WI         54234                  6002               Various                                                                                             $2.74
                                                                3610 DENNETT
ELEANOR GARNIER                  C/O JACQUELINE FREITAG         DRIVE                             MADISON           WI         53714                  6002               Various                                                                                               $10.94
ELEANOR HAWKINS                  6798 GARFIELD RD                                                 BENTLEY           MI         48613                  6002               Various                                                                                                $0.60
ELEANOR IRONS                    2405 358TH STREET                                                WEEPING WATER     NE         68463                  6004               Various                                                                                               $24.19
ELEANOR LAUTERBACH               BOX 214                                                          FRIENDSHIP        WI         53934                  6002               Various                                                                                                $1.66
ELEANOR LOCKHART                 23404 THERON PORT LN                                             RICHLAND CENTER   WI         53581                  6002               Various                                                                                                $3.04
ELEANOR MORSE                    23036 449TH AVE                                                  MADISON           SD         57042                  6002               Various                                                                                                $0.99
ELEANOR OBRIEN                   343 FRONT ST                                                     LAKE LINDEN       MI         49945                  6002               Various                                                                                                $3.42
ELEANOR SCHMIDT                  70 MADISON AVENUE                                                PORT EDWARDS      WI         54469                  6002               Various                                                                                               $14.66
ELEANOR SIEBER                   3351 BEACH LN                                                    GREEN BAY         WI         54311                  6004               Various                                                                                                $3.27
ELEANORA JOHNSON                 1907 BENSON AVE                                                  PROSSER           WA         99350                  6002               Various                                                                                                $1.94




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ELEAZAR LEMUS                     627 ROCKY CREEK DR NE TRLR 1                                       ROCHESTER        MN           55906                   6002               Various                                                                                                $0.41
ELECIA CARBAUGH                   11312 ROCKRIDGE LN                                                 BELLE FOURCHE    SD           57717                   6002               Various                                                                                                $7.10
                                  AUTHORIZED RADIO SHACK
ELECTRIC SERVICE SHOP INCORPOR    DEALER                         210 MAIN STREET                     ROUNDUP          MT           59072                   4338               Various                                                                                          $595.07
ELECTRICAL SOLUTIONS INC.         4206 PINEWOOD LANE                                                 LINCOLN          NE           68516                                      Various                                                                                         $1,727.50
                                                                 868 CORPORATE
ELECTRONIC COMMERCE HEALTHCARE    ORGANIZATION                   WAY                                 WESTLAKE         OH           44145                   6004               Various                                                                                          $280.00
ELEDOROR BAL JULIAN               17480 454TH AVE                                                    WATERTOWN        SD           57201                   6002               Various                                                                                             $6.49
ELEMENT CREATIVE LLC              2081 PROFIT PLACE                                                  DE PERE          WI           54115                   3999               Various                                                                                         $6,319.00
ELEMENT FIELDHOUSE                326 PLYMOUTH ST                                                    PLYMOUTH         WI           53073                   6004               Various                                                                                             $1.00
ELENA ASTRID TOMAS                216 FAIRGROUNDS AVE LOT 29                                         WAYNE            NE           68787                   6002               Various                                                                                             $3.70
ELENA BAUTISTA                    1341 DAY ST                                                        GREEN BAY        WI           54302                   6002               Various                                                                                             $7.15
ELENA CONTRERAS                   401 SARAH LN                                                       BEAVER DAM       WI           53916                   6002               Various                                                                                             $0.52
ELENA GONZALES                    1391 PEADMONT STREET                                               SPRINGFIELD      OR           97477                   6004               Various                                                                                          $131.33
ELENA GUTIERREZ                   110 JEFFERSON #3                                                   OGDEN            UT           84404                   6004               Various                                                                                             $9.98
ELENA I APPERSON                  110 EVANS ST                                                       GREEN RIVER      WY           82935                   6002               Various                                                                                             $1.42
ELENA JAURE                       117 W HUGUS ST                                                     RAWLINS          WY           82301                   6002               Various                                                                                             $5.97
ELENA LACEY                       PO BOX 62                                                          ARCADIA          WI           54612                   6004               Various                                                                                            $25.00
ELENA RIVAS                       140 B HUMBOLT LP # 616                                             HELENA           MT           59601                   6002               Various                                                                                             $0.90
ELENA TELLEZ                      PO BOX 55                                                          DORCHESTER       NE           68343                   6002               Various                                                                                             $3.70
ELENA VEGA                        200 S 2ND ST                                                       WORLAND          WY           82401                   6002               Various                                                                                             $8.49

ELENBAAS/ RHONDA                  STORE 711                      SHOPKO EMPLOYEE PO BOX 139B         MEMPHIS          MO           63555                   3944               Various                                                                                               $46.00
ELEODORA RICHARDSON               953 CHURCH ST                                                      BELOIT           WI           53511                   6004               Various                                                                                                $2.00
ELEUTERIO SILVA                   2725 S 9 ST                                                        SHEBOYGAN        WI           53081                   6004               Various                                                                                                $2.95
ELGIE NOTEBOOM                    56 10TH AVE NW                                                     WATERTOWN        SD           57201                   6004               Various                                                                                               $40.00
ELGIN O ZUHLKE                    353 TYRRELL CT APT 323                                             DELAVAN          WI           53115                   6002               Various                                                                                                $3.86
ELI BORNTRAGER                    W2578 STARR RD                                                     GRANTON          WI           54436                   6002               Various                                                                                                $7.10
ELI D FRENDAHL                    2501 SUNSET DR                                                     BELOIT           WI           53511                   6002               Various                                                                                                $6.22
ELI GILLIS                        2869 ONTARIO RD                                                    GREEN BAY        WI           54311                   6002               Various                                                                                                $3.97
ELI M KIDNEY                      1014 E 260TH S                                                     LAYTON           UT           84041                   6002               Various                                                                                                $3.86
ELI OLSEN                         17734 CYRUS LN SW                                                  ROCHESTER        WA           98579                   6004               Various                                                                                                $5.00
ELI RUE                           527 E RACINE ST                                                    JEFFERSON        WI           53549                   6004               Various                                                                                               $39.00
ELI STRITTMATER                   519 LAKE ST                                                        GREEN BAY        WI           54303                   6004               Various                                                                                                $3.00
ELI WHEATON                       2507 SUNSHINE LANE                                                 BELOIT           WI           53511                   6004               Various                                                                                                $1.00
ELIA LEBRON                       P.O. BOX 431                                                       CEDARBURG        WI           53012                   6004               Various                                                                                               $23.00
ELIAS ANDERSON                    48368 OLD RIVER BLUFF RD                                           ST PETER         MN           56082                   6004               Various                                                                                               $23.00
ELIAS GARZA                       1193 E 1600 N                                                      LAYTON           UT           84041                   6004               Various                                                                                                $5.00
ELIAS HERNANDEZ                   PO BOX 1596                                                        AIRWAY HEIGHTS   WA           99001                   6004               Various                                                                                               $56.25
ELIAS LOPEZ                       2713 BELD ST                                                       MADISON          WI           53713                   6004               Various                                                                                                $2.00
ELIAS MUNOZ                       101 N 30TH AVE W               APT 101                             DULUTH           MN           55806                   6004               Various                                                                                                $6.00
ELIAS N KHOURY                    4994 E SHORELINE DR                                                POST FALLS       ID           83854                   6002               Various                                                                                                $5.59
ELIAS SURRATT                     3531 STAGECOACH AVE                                                GREAT FALLS      MT           59404                   6002               Various                                                                                                $0.38
ELICEA ROSS                       3614 MARTIN AVE                                                    OMAHA            NE           68112                   6004               Various                                                                                                $5.00
ELIJAH BLOOM                      304 NW HAYES ST                                                    GREENFIELD       IA           50849                   6002               Various                                                                                                $0.47
ELIJAH BRANDAL                    3207 N 10TH ST                                                     COEUR D ALENE    ID           83815                   6004               Various                                                                                               $20.00
ELIJAH DE JESUS                   518 E. ATLANTIC STREET                                             APPLETON         WI           54911                   6004               Various                                                                                                $2.00
ELIJAH DEJESUS                    518 E. ATLANTIC STREET                                             APPLETON         WI           54911                   6004               Various                                                                                                $1.00
                                  100 MAYFLOWER HALL RM 811
ELIJAH EVANOFF                    PM                                                                 IOWA CITY        IA           52242                   6002               Various                                                                                                $4.71

ELIJAH FARNUM                     2612 NORTH NICHOLAS STREET                                         APPLETON         WI           54914                   6004               Various                                                                                                $3.00
ELIJAH FERNANDEZ                  N5903 COUNTY ROAD K                                                FOND DU LAC      WI           54937                   6004               Various                                                                                                $3.00




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                                                                                                                                                                                                                                       Claim subject to offset?
                                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                                Contingent


                                                                                                                                                                                                                            Disputed
                                                                                                                                                       Last 4 Digits of     Date Debt was
                                                                                                                                                          Account         Incurred, Basis for
               Creditor Name                 Address1              Address2           Address3             City         State           Zip   Country     Number                Claim                                                                             Total Claim
ELIJAH FITE                       1026 NORTHPORT DR                                                MADISON           WI         53704                 6004                Various                                                                                               $30.00
ELIJAH JUSTUS                     380 LINCOLN AVE                                                  CLEVELAND         WI         53015                 6004                Various                                                                                               $14.00
ELIJAH KAMPBELL                   13630 STANFORD ST                                                OMAHA             NE         68144                 6004                Various                                                                                                $1.75
ELIJAH LARRABEE                   935 ROSS AVE                                                     WAUSAU            WI         54403                 6004                Various                                                                                                $2.00
ELIJAH REED                       562 E TWINT TREE LANE                                            LAYTON            UT         84041                 6004                Various                                                                                               $19.75
ELIJAH SCHUKOW                    252 W. SOUTH PARK AVE.                                           OSHKOSH           WI         54902                 6004                Various                                                                                               $16.00
ELIJAH VANDIVER                   1773 HARRISON AVE.                                               BELOIT            WI         53511                 6004                Various                                                                                                $1.00
ELIJAH ZUHLKE                     156 GOULD ST                                                     BEAVER DAM        WI         53916                 6002                Various                                                                                                $8.49
ELIJIA TURNER                     4315 MONONA DR                                                   MADISON           WI         53716                 6004                Various                                                                                                $3.00
ELISA LAZO                        355 GLEN AVENUE                                                  LAYTON            UT         84041                 6004                Various                                                                                                $5.02
ELISABETH DENNIS                  47674 MEADOW ST                                                  HOUGHTON          MI         49931                 6002                Various                                                                                                $4.33
ELISABETH KLAPPA                  541 S BIRON DR                                                   WISCONSIN RAPID   WI         54494                 6002                Various                                                                                               $10.00
ELISABETH WINTER                  121 N MADISON ST                                                 FRIESLAND         WI         53935                 6004                Various                                                                                                $2.00
ELISE BAILEY                      217 DAKOTA                                                       HELENA            MT         59601                 6004                Various                                                                                               $15.17
ELISE DIESSLIN                    15 2ND ST SW                                                     ELGIN             MN         55932                 6002                Various                                                                                                $6.30

ELISE FJELSTAD                    418 NORTH VAN BUREN STREET                                       STOUGHTON         WI         53589                  6004               Various                                                                                            $30.00
ELISE RANG                        5980 GUNNISON CRT                                                LINCOLN           NE         68521                  6004               Various                                                                                            $20.00
ELISEO PEREZ                      SPRING AVE LOT 97                                                WORTHINGTON       MN         56187                  6004               Various                                                                                            $60.18
ELISHA BEARD                      142 S GREEN ST                                                   MEREDOSIA         IL         62665                  6002               Various                                                                                             $6.88
ELISHA BUHR                       301 DOUGLAS DR                                                   BALTIC            SD         57003                  6004               Various                                                                                            $33.99
ELISHA MCGURN                     130 E WARREN ST                                                  THERMOPOLIS       WY         82443                  6002               Various                                                                                             $6.36
ELISSA HARDING                    929 CEDAR AVE                                                    LEWISTON          ID         83501                  6004               Various                                                                                          $149.07
ELITA SCHMIDT                     709 VERONICA ST                                                  CHIPPEWA FALLS    WI         54729                  6004               Various                                                                                            $25.00
ELITE MODEL MANAGEMENT CORPORA    24TH FLOOR                   245 5TH AVENUE                      NEW YORK          NY         10016                  6055               Various                                                                                         $3,812.04
ELITE SEM INCORPORATED            PO BOX 28415                                                     NEW YORK          NY         10087-8415             4174               Various                                                                                       $101,835.84
ELIZABED LOPEZ BAUTISTA           318 N 5TH ST LOT 76                                              ABBOTSFORD        WI         54405                  6002               Various                                                                                             $4.19
ELIZABETH (I VARELA               7327 W HIGHLAND DR                                               COEUR D ALENE     ID         83814                  6002               Various                                                                                             $3.42
ELIZABETH A DYER                  203 W DOLF ST APT 6                                              COLBY             WI         54421                  6002               Various                                                                                             $3.84
ELIZABETH A KRENTZ                406 ELLIS ST                                                     KEWAUNEE          WI         54216                  6002               Various                                                                                             $0.60
ELIZABETH A. KURTENBACH           5282 AIRPORT RD                                                  STEVENS POINT     WI         54482                  6002               Various                                                                                             $8.85
ELIZABETH ABLE                    623 S 34TH ST                                                    SPRINGFIELD       OR         97478                  6004               Various                                                                                            $30.00
ELIZABETH ADELMAN                 76760 ROAD 416                                                   GOTHENBURG        NE         69138                  6002               Various                                                                                             $9.75
ELIZABETH ALDRICH                 1806 POWERS DRIVE                                                LEWISTON          ID         83501                  6004               Various                                                                                          $212.96
ELIZABETH APOLLO                  LUDINGTON ST                                                     COLUMBUS          WI         53925                  6002               Various                                                                                             $1.15
ELIZABETH ARAMBUL                 1301 PERRY COURT                                                 YAKIMA            WA         98902                  6004               Various                                                                                            $24.99
ELIZABETH ARDEN INC (MIXED CAS    PO BOX 418906                                                    BOSTON            MA         02241-8906             5704               Various                                                                                       $104,049.72
ELIZABETH BASS                    4975 KENDRICK PL                                                 MISSOULA          MT         59808                  6004               Various                                                                                            $10.49
ELIZABETH BEC                     2843 KNOLLWOOD DR SE                                             ROCHESTER         MN         55904                  6004               Various                                                                                             $6.00
ELIZABETH BELL                    1533 OLD CHENEY RD                                               PLEASANT DALE     NE         68423                  6004               Various                                                                                            $20.00
ELIZABETH BIERMAN                 607 HILLCREST STREET                                             ARNOLD            NE         69120                  6004               Various                                                                                            $40.00
ELIZABETH BLOOM                   PO BOX 3                                                         RALPH             MI         49877                  6002               Various                                                                                             $7.51
ELIZABETH BREMER                  149 NORTH AGENCY ST.                                             EAGLE LAKE        MN         56024                  6004               Various                                                                                            $15.00
ELIZABETH BROWN                   658 MAPLE ST                                                     CHIPPEWA FALLS    WI         54729                  6004               Various                                                                                             $1.00
ELIZABETH C KONDA                 921 E WALNUT AVE                                                 COEUR D ALENE     ID         83814                  6002               Various                                                                                             $2.85
ELIZABETH CALLIER                 1716 8 1/2 ST SE             APT 310                             ROCHESTER         MN         55901                  6004               Various                                                                                             $3.00
ELIZABETH CAPPEL                  706 W SUMMIT ST                                                  WITTENBERG        WI         54499                  6002               Various                                                                                             $7.81
ELIZABETH CAPPS                   307 CHERRY ST                                                    DONIPHAN          MO         63935                  6002               Various                                                                                             $8.52
ELIZABETH CARRIZAL                270 W 2ND ST                                                     LOVELL            WY         82431                  6002               Various                                                                                             $0.58
                                                               300 W
                                                               LANESBURGH
ELIZABETH CASTRO MONCADA          LOT 33                       STREET                              LE CENTER         MN         56057                  6002               Various                                                                                                $6.00
ELIZABETH CHIZEK                  449 JANET LN.                                                    WRIGHTSTOWN       WI         54180                  6004               Various                                                                                                $3.98
ELIZABETH CORCORAN                714 MONROE ST.                                                   OREGON            IL         61061                  6004               Various                                                                                               $14.14




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                                                                                                                                                                                             Contingent


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                                                                                                                                                    Last 4 Digits of     Date Debt was
                                                                                                                                                       Account         Incurred, Basis for
              Creditor Name                Address1               Address2          Address3             City        State           Zip   Country     Number                Claim                                                                             Total Claim
ELIZABETH COTNER HALL          3815 17TH AVE NW                                                  ROCHESTER        MN         55901                 6004                Various                                                                                             $6.00
ELIZABETH CROFT                503 5TH AVE                                                       NEW GLARUS       WI         53574                 6002                Various                                                                                             $6.68
ELIZABETH DAMBROSKY            4001 YUCCA DR. APT. B                                             RAPID CITY       SD         57702                 6004                Various                                                                                             $7.81
ELIZABETH DARAIS               358 N GATEWAY DR                                                  PROVIDENCE       UT         84332                 6002                Various                                                                                             $0.63
ELIZABETH DAVICH               724 KARL ST                                                       GREEN BAY        WI         54301                 6002                Various                                                                                             $1.81
ELIZABETH DELABIO              950 S MAIN ST. APT. 1B                                            RIVER FALLS      WI         54022                 6004                Various                                                                                             $1.00
ELIZABETH DEPUY                1123 PARK ROW                                                     LAKE GENEVA      WI         53147                 6004                Various                                                                                            $20.00
ELIZABETH DEVOS                4702 BELLINGRATH STREET                                           MCFARLAND        WI         53558                 6004                Various                                                                                            $25.00
ELIZABETH DIAS                 20583 AMBROSA                                                     BEND             OR         97702                 6004                Various                                                                                            $18.02
ELIZABETH DICE-UNKER           825 GROVE AVE                 APT 4                               GARNER           IA         50438                 6004                Various                                                                                            $30.00
ELIZABETH DIXON                PO BOX 193                                                        BYRON            MN         55920                 6004                Various                                                                                             $3.00
ELIZABETH E HARRIS             N6343 CURLEY CREEK AVE                                            NEILLSVILLE      WI         54456                 6002                Various                                                                                             $7.21
ELIZABETH EICHMANN             636 CLEMANS CT.                                                   OMRO             WI         54963                 6004                Various                                                                                             $9.00
ELIZABETH EVERETT              4817 N 50TH STREET                                                SHEBOYGAN        WI         53083                 6004                Various                                                                                           $346.95
ELIZABETH FALK                 311 S MONTGOMERY ST                                               WATERTOWN        WI         53094                 6004                Various                                                                                             $1.99
ELIZABETH FIRST                1310 O'KEEFFE AVE             APT 309                             SUN PRAIRIE      WI         53590                 6004                Various                                                                                            $25.00
ELIZABETH FRITZ                118W CENTER ST                                                    WAUTOMA          WI         54982                 6002                Various                                                                                             $7.89
ELIZABETH G. JOHNSTON          209 S 10TH ST                                                     MONMOUTH         IL         61462                 6002                Various                                                                                             $6.44
ELIZABETH GARCIA               2165 COUNTY ROAD G                                                NEKOOSA          WI         54457                 6002                Various                                                                                             $0.41
ELIZABETH GIVENS               87345 491ST AVE                                                   ONEILL           NE         68763                 6002                Various                                                                                             $2.16
ELIZABETH GOEHL                N2360 HWY K                                                       WATERTOWN        WI         53098                 6004                Various                                                                                            $85.00
ELIZABETH GOLLY                28 SPENCER STREET                                                 ELKHORN          WI         53121                 6004                Various                                                                                             $6.02
ELIZABETH GRISSMAN             703 MAIN ST                                                       HARDY            NE         68943                 6002                Various                                                                                             $6.71
ELIZABETH GUNDERSON            PO BOX 52                                                         BRULE            NE         69127                 6002                Various                                                                                             $2.60
ELIZABETH HANSEN               7 PARK CIRCLE                                                     COUNCIL BLUFFS   IA         51503                 6004                Various                                                                                            $29.00
ELIZABETH HARRIS               BOX 2960                                                          COEUR D ALENE    ID         83816                 6002                Various                                                                                             $9.81
ELIZABETH HER                  1017 GEORGIA AVE                                                  SHEBOYGAN        WI         53081                 6004                Various                                                                                            $20.00
ELIZABETH HERNANDEZ            180 HUNTER STREET                                                 WILD ROSE        WI         54984                 6004                Various                                                                                             $3.00
ELIZABETH HERRMANN             125 W 10TH ST APT 205                                             KAUKAUNA         WI         54130                 6002                Various                                                                                             $0.41
ELIZABETH HOCKING              16022 LIMINGA RD                                                  HOUGHTON         MI         49931                 6002                Various                                                                                             $2.11
ELIZABETH HOLSTEIN             PO BOX 93                                                         PECK             ID         83545                 6004                Various                                                                                            $12.02
ELIZABETH J KORTBEIN           N1934 SHORE DR                                                    MARINETTE        WI         54143                 6002                Various                                                                                             $5.01
ELIZABETH JORDAN               2825 JANET ST                                                     POCATELLO        ID         83201                 6002                Various                                                                                             $6.74
ELIZABETH KAZEMBA              1200 SUMMER HILL PL.                                              WENATCHEE        WA         98801                 6004                Various                                                                                             $5.00
ELIZABETH L ANDERSON           930 W HURON RD                                                    OMER             MI         48749                 6002                Various                                                                                             $0.88
ELIZABETH LAFONTEESE           2728 STONEBRIDGE DR                                               RACINE           WI         53404                 6004                Various                                                                                             $4.00
ELIZABETH LECHEMINANT          1150 W 275TH S                                                    LAYTON           UT         84041                 6002                Various                                                                                             $8.66
ELIZABETH LEONARD              1350 NORTH WELLS, APT A305                                        CHICAGO          IL         60610                 6004                Various                                                                                            $20.00
ELIZABETH LEWIS                412 FAIRMOUNT                                                     KINGSFORD        MI         49802                 6004                Various                                                                                           $129.60
ELIZABETH LIDDIARD             3976 W 8730TH S                                                   WEST JORDAN      UT         84088                 6002                Various                                                                                             $8.33
ELIZABETH LUEBKE               322 JONES AVE                                                     FORT ATKINSON    WI         53538                 6004                Various                                                                                             $3.00
ELIZABETH MARSHALL             104 LITTLEROCK AVE                                                MARSHALL         MN         56258                 6004                Various                                                                                             $6.00
ELIZABETH MASON                584 RIVER RD #12                                                  COLUMBUS         WI         53925                 6004                Various                                                                                             $1.00
ELIZABETH MEYER                731 S 15TH ST                                                     MANITOWOC        WI         54220                 6004                Various                                                                                            $28.00
ELIZABETH MONROE               19 CRESTVIEW DR                                                   HORTONVILLE      WI         54944                 6002                Various                                                                                             $4.93
ELIZABETH MOORE                24201 BOOT LAKE RD                                                REEDSVILLE       WI         54230                 6002                Various                                                                                             $1.89
ELIZABETH MORALES              HC 1 BOX 33                                                       GRANDIN          MO         63943                 6002                Various                                                                                             $9.26

ELIZABETH MORGAN               13210 BROOKWATER LN SPC J-2                                       OROFINO          ID         83544                  6002               Various                                                                                                $7.95
ELIZABETH MURRAY               1416 S LAWSON #31                                                 ABERDEEN         SD         57401                  6004               Various                                                                                               $23.00
ELIZABETH NASETT               986 STONEHAVEN DR.                                                SUN PRAIRIE      WI         53590                  6004               Various                                                                                                $5.70
ELIZABETH NUTICK               1119 MERIDIAN HTS DR          APT 7                               EAU CLAIRE       WI         54703                  6004               Various                                                                                                $1.99
ELIZABETH OOYMAN               605 SOUTH JEFFERSON STREET                                        NEW ULM          MN         56073                  6004               Various                                                                                                $3.00
ELIZABETH OPPERMANN            2233 WYOMING AVE              APT. 6                              SUN PRAIRIE      WI         53590                  6004               Various                                                                                               $15.00




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                                                                                                                                                 Last 4 Digits of     Date Debt was
                                                                                                                                                    Account         Incurred, Basis for
              Creditor Name                Address1           Address2         Address3             City          State           Zip   Country     Number                Claim                                                                             Total Claim
ELIZABETH PARKER                N11249 CLEAR LK RD                                          TOMAHAWK           WI         54487                 6002                Various                                                                                                $8.79
ELIZABETH PATTERSON             3626 SEYMOUR RD LOT 60#                                     EAU CLAIRE         WI         54703                 6004                Various                                                                                                $1.00
ELIZABETH PAULISSIAN            4427 CALVERT                                                LINCOLN            NE         68506                 6004                Various                                                                                               $25.00
ELIZABETH PEANASKY              931 7TH ST                                                  PLOVER             WI         54467                 6002                Various                                                                                                $9.40
ELIZABETH PILIOURAS             5304 SCHLUTER ROAD                                          MADISON            WI         53716                 6004                Various                                                                                                $3.40
ELIZABETH PRICE                 405 W MAPLE                                                 STURGEON BAY       WI         54235                 6004                Various                                                                                               $47.99
ELIZABETH PROBST                N 10759 HIGHWAY 151                                         MALONE             WI         53049                 6004                Various                                                                                               $10.00
ELIZABETH PRUSILA               W14511 PLUMMER RD                                           WEYERHAEUSER       WI         54895                 6002                Various                                                                                                $3.32
ELIZABETH R WISE                47112 SPENCER CHURCH LN                                     VANDALIA           MO         63382                 6002                Various                                                                                                $8.82
ELIZABETH RAYNER                1955 SHIRLAND AVE                                           BELOIT             WI         53511                 6004                Various                                                                                                $2.00
ELIZABETH REIS                  3560 OSBOURNE                                               RACINE             WI         53405                 6002                Various                                                                                                $1.81
ELIZABETH RESHEL                W4266 CTY RD M # 25                                         LA CROSSE          WI         54601                 6002                Various                                                                                                $4.19
ELIZABETH SANTACRUZ             706 10 ST                                                   BELOIT             WI         53511                 6004                Various                                                                                                $1.00

ELIZABETH SCHAAL                N3920 NORTH BROADWAY ROAD                                   BONDUEL            WI         54107                  6004               Various                                                                                               $23.00
ELIZABETH SCHARNELL             117 EAST TWEEDY STREET    PO BOX 281                        HUSTISFORD         WI         53034                  6004               Various                                                                                               $10.00
                                N165W20012 HICKORY LANE
ELIZABETH SCHLEEF               APT3                                                        JACKSON            WI         53037                  6004               Various                                                                                             $8.00
ELIZABETH SCHNEIDER             2515 AUBURN RIDGE RD                                        PLOVER             WI         54467                  6002               Various                                                                                             $5.23
ELIZABETH SCHROEDER             869 ALTA STREET                                             GREEN BAY          WI         54313                  6004               Various                                                                                            $14.00
ELIZABETH SCHWARTZ              879S 250TH E APT 72                                         SMITHFIELD         UT         84335                  6002               Various                                                                                             $4.85
ELIZABETH SEGURA                607 NE 5TH ST                                               ANDREWS            TX         79714                  6002               Various                                                                                             $7.07
ELIZABETH SEMRAU                262 WILLIAM BAKE CIRCLE                                     OCONTO             WI         54153                  6666               Various                                                                                            $17.02
ELIZABETH SERNA                 146 S LOCUST LN                                             WHITEWATER         WI         53190                  6004               Various                                                                                             $2.00
ELIZABETH SHORT                 609 E AMEILIA                                               CASSVILLE          WI         53806                  6002               Various                                                                                             $1.00
ELIZABETH SMITH                 W6402 AIRPORT RD                                            TONY               WI         54563                  6004               Various                                                                                             $6.02
ELIZABETH SPANG                 1825 N. HARRISON ST       APT 14                            NEENAH             WI         54956                  6004               Various                                                                                            $20.00
ELIZABETH SPIELBAUER            734 HUNTERS RUN                                             ONEIDA             WI         54155                  6004               Various                                                                                            $10.98
ELIZABETH SPRAGUE               39510 LOUP RIVER RD                                         THEDFORD           NE         69166                  6002               Various                                                                                             $6.60
ELIZABETH STEWART               19514 HIGHWAY 126                                           WALTON             OR         97490                  6004               Various                                                                                            $15.98
ELIZABETH SULLIVAN              1608 BLUEBIRD LANE                                          WAUSAU             WI         54401                  6004               Various                                                                                             $2.00
ELIZABETH SWAN                  301 WASHINGTON ST NW                                        PRESTON            MN         55965                  6004               Various                                                                                             $3.00
ELIZABETH T LAMSON              PO BOX 172                                                  AITKIN             MN         56431                  6002               Various                                                                                             $3.18
ELIZABETH TOWNE                 4817 NO 80 ST                                               OMAHA              NE         68134                  6004               Various                                                                                            $19.97
ELIZABETH TRUITT                627 ROCKY NE CRK # 70                                       ROCHESTER          MN         55906                  6002               Various                                                                                             $4.44
ELIZABETH TUCKER                2066 ZEISE AVE                                              GREEN BAY          WI         54302                  6002               Various                                                                                             $1.15
ELIZABETH UNDERWOOD             2148 NORTHWOOD LN                                           FERGUS FALLS       MN         56537                  6002               Various                                                                                             $0.85
ELIZABETH USSERY                N55W26783 LISBON RD                                         SUSSEX             WI         53089                  6004               Various                                                                                            $23.00
ELIZABETH VANASTEN              1492 SNOW SHOE TRL                                          SUAMICO            WI         54173                  6002               Various                                                                                             $4.00
ELIZABETH VANDERMOLEN           101 3RD ST                                                  EDGEMONT           SD         57735                  6002               Various                                                                                             $3.04
ELIZABETH VILLARREAL            6917 SPRING GROVE CT                                        MIDDLETON          WI         53562                  6004               Various                                                                                             $2.00
ELIZABETH WALKER                1019 WILSON LANE                                            NEKOOSA            WI         54494                  6004               Various                                                                                             $8.00
ELIZABETH WALLACE               412 S SHERMAN STREET                                        EAGLE              WI         53119                  6004               Various                                                                                            $25.00
ELIZABETH WALTER                556 REBECCA ST                                              BIRNAMWOOD         WI         54414                  6004               Various                                                                                             $3.00
ELIZABETH WARD                  PO BOX 3                                                    SHELDON            WI         54766                  6004               Various                                                                                            $52.00
ELIZABETH WEIR                  RR 3 BOX 3560                                               DONIPHAN           MO         63935                  6002               Various                                                                                             $6.93
ELIZABETH WHALEN                3441 JACKSON AVE APT 4                                      PLOVER             WI         54467                  6002               Various                                                                                             $9.37
ELIZABETH WILLIAMS              802 FRANKLIN STREET                                         WATERTOWN          WI         53094                  6004               Various                                                                                            $30.21
ELIZABETH WILSON                76796 ROAD 423                                              COZAD              NE         69130                  6002               Various                                                                                             $1.53
ELIZABETH WISE                  1456 OAK ST                                                 WHEATLAND          WY         82201                  6002               Various                                                                                             $6.16
ELIZABETH WURST                 334 4TH ST SE                                               BLOOMING PRAIRIE   MN         55917                  6004               Various                                                                                             $3.00
ELIZABETH ZETTLER               1609 MOUND RD                                               JACKSONVILLE       IL         62650                  6004               Various                                                                                             $5.02
ELIZABETH(AM HOMOLKA            931 RUSSET ST                                               RACINE             WI         53405                  6002               Various                                                                                            $11.29
ELK GROUP POMEROY COLLECTION    ELK GROUP INTERNATIONAL   12 WILLOW LANE                    NESQUEHONING       PA         18240                  7795               Various                                                                                       $145,019.82




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                                                                                                                                                          Account         Incurred, Basis for
              Creditor Name                  Address1               Address2          Address3               City       State           Zip   Country     Number                Claim                                                                             Total Claim
ELKHORN HEALTH CARE               474 MOUNT HIGHWAY 282                                              CLANCY          MT         59634                 6666                Various                                                                                             $1.92
ELLA HARPER                       33 GOULDING CREEK RD                                               ROUNDUP         MT         59072                 6002                Various                                                                                           $139.80
ELLA HILL                         4850 UNDERWOOD AVE           APT307                                OMAHA           NE         68132                 6004                Various                                                                                            $12.98
ELLA MAE GREY BUFFALO             47328 11TH ST                                                      ROSHOLT         SD         57260                 6002                Various                                                                                             $7.70
ELLA MAE POSER                    2691 EVERSON RD                                                    DENTON          MT         59430                 6002                Various                                                                                             $4.44
ELLA NAMANNY                      517 10TH AVE                                                       WORTHINGTON     MN         56187                 6004                Various                                                                                           $125.00
ELLA PLILER                       3640 SERVICE DR              APT 4                                 WINONA          MN         55987                 6004                Various                                                                                             $3.00
ELLA REID                         27 E NICKLAUS AVE                                                  KALISPELL       MT         59901                 6004                Various                                                                                             $3.00
ELLA ROSE RIDER                   1026 MELROSE CT                                                    KAUKAUNA        WI         54130                 6002                Various                                                                                             $4.05
ELLE BOGDAN                       709 DALLAS ST                                                      CHETEK          WI         54728                 6004                Various                                                                                            $25.00
ELLEN ADAMS                       NH SOUTH HALL                                                      WHEATLAND       WY         82201                 6002                Various                                                                                             $4.41
ELLEN BYINGTON                    230 112TH ST                                                       OROFINO         ID         83544                 6002                Various                                                                                             $2.68
ELLEN GLADWELL                    1730 N 1450TH W # 3                                                LAYTON          UT         84041                 6002                Various                                                                                             $2.55
ELLEN GREEN                       BOX 581                                                            MOUNTAIN VIEW   WY         82939                 6002                Various                                                                                             $7.21
ELLEN GREGORY                     1155 DOUBLE EAGLE CIRCLE                                           PRESTON         ID         83263                 6004                Various                                                                                            $48.00
ELLEN HANDEL                      150 S. SANDCREST                                                   WAUTOMA         WI         54982                 6004                Various                                                                                             $3.00
ELLEN HARTLIEB                    6805 38TH AVE                                                      KENOSHA         WI         53142                 6004                Various                                                                                            $30.00
ELLEN KADING                      SPRINGVALLEY RM 306                                                PERRY           IA         50220                 6002                Various                                                                                             $0.66
ELLEN SCHOON                      27017 310TH AVE                                                    UNDERWOOD       MN         56586                 6002                Various                                                                                             $5.73
ELLEN SLETTEN                     611 S MAIN PO BOX # 434                                            HOLMEN          WI         54636                 6002                Various                                                                                             $5.81
ELLEN SUMMERS                     1406 LORRAINE AVE                                                  BELLEVUE        NE         68005                 6004                Various                                                                                             $6.80
                                  PNC BANK C/O ELLERY HOLDINGS
ELLERY HOLDINGS LLC (C-HUB)       LLC                          LOCKBOX 775847   350 EAST DEVON AVE   ITASCA          IL         60143                  4989               Various                                                                                         $2,191.60
ELLIE MANDEL                      713 OAKWOOD LANE                                                   WATERTOWN       WI         53094                  6004               Various                                                                                             $1.95
ELLIE MCQUEEN                     2248 W KENSINGTON PARK DR                                          WEST JORDAN     UT         84088                  6002               Various                                                                                             $7.34
ELLIE SCHWALBE                    66932 166TH AVENUE                                                 WABASHA         MN         55981                  6004               Various                                                                                            $16.82
ELLIOT LUMAYE                     1207 MAIN ST                                                       LUXEMBURG       WI         54217                  6002               Various                                                                                             $0.36
ELLIOTT BUXTON                    2204 HYDE AVE.                                                     LA CROSSE       WI         54601                  6004               Various                                                                                            $25.00

ELLIOTT/ BRADLEY                  STORE 049                   SHOPKO EMPLOYEE                        GREEN BAY       WI         54307-9060             8697               Various                                                                                          $131.60
ELLISA DILLING                    1720 SWALLOWS NEST LOOP                                            CLARKSTON       WA         99403                  6004               Various                                                                                             $1.50
ELLISON FIRST ASIA LLC            230 5TH AVE STE 711                                                NEW YORK        NY         10001                  8416               Various                                                                                       $374,363.16
ELLWEIN BROTHERS INC STORE 571    PO BOX 136                                                         HURON           SD         57350                  5652               Various                                                                                          $303.20
ELLY BOSTWICK                     W8790 CHANNEL DR                                                   ELCHO           WI         54428                  6004               Various                                                                                            $25.00
ELLYN BUI                         1022 N 18TH ST                                                     MANITOWOC       WI         54220                  6002               Various                                                                                             $1.32
ELLYN BURRISS                     1422 MILBANKE DR SE                                                LACEY           WA         98513                  6004               Various                                                                                            $21.25
ELLYN LEE                         1611 PINECREST AVE                                                 HOLMEN          WI         54636                  6002               Various                                                                                            $33.48

ELM/ DEBRA                        STORE 2-504                 SHOPKO EMPLOYEE W3208 VAN ROY ROAD APPLETON            WI         54915-0000             2802               Various                                                                                            $10.06
ELMA NURNBERG                     210 E CORLISS                                                  ARTESIAN            SD         57314                  6004               Various                                                                                            $11.20
ELMER BONDE                       218 GROVE ST SW                                                HUTCHINSON          MN         55350                  6002               Various                                                                                             $7.48
ELMER CANDY CORPORATION           PO BOX 788                                                     PONCHATOULA         LA         70454-0788             0101               Various                                                                                        $44,853.13
ELMER ECKWRIGHT                   4705 CTY HWY T                                                 CHIPPEWA            WI         54729                  6002               Various                                                                                             $4.16
ELMER GOEHRING                    27953 398TH AVE                                                DELMONT             SD         57330                  6004               Various                                                                                            $24.00
ELMER HARWELL                     607 ILLINOIS ST                                                BEDFORD             IA         50833                  6002               Various                                                                                             $9.48
ELMER J STALEY                    1314 SNOWY PEAK LN                                             SPEARFISH           SD         57783                  6002               Various                                                                                             $4.22
ELMER RIVERA                      2712 VIRGINIA ST                                               OMAHA               NE         68157                  6004               Various                                                                                             $6.43
                                                              17715 120TH
ELMER SCHULZ                      C/O PATRICIA JOHNSON        AVENUE                             CHIPPEWA FALLS      WI         54729                  6002               Various                                                                                               $28.46
ELMER SHARP                       PO BOX 122                                                     LONG PINE           NE         69217                  6002               Various                                                                                                $0.41
ELMER WESTPHAL                    1020 HARVEY ST                                                 GREEN BAY           WI         54302                  6002               Various                                                                                                $5.89
ELOISA HERNANDEZ                  1316 ERIE ST                                                   RACINE              WI         53402                  6002               Various                                                                                                $6.55
ELOISA SIERRA                     511 FRANKLIN ST                                                BELVIDERE           IL         61008                  6004               Various                                                                                               $18.26
ELOISE MYCROFT                    310 GOODRICH RD                                                KALISPELL           MT         59901                  6002               Various                                                                                                $7.10




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              Creditor Name                Address1            Address2         Address3             City       State           Zip   Country     Number                Claim                                                                             Total Claim
ELOISE TERNUS                  82849 STATE HIGHWAY 108                                       PERHAM          MN         56573                 6002                Various                                                                                             $2.27
ELOUISE WHITEHEAD              9021 BERG DR                                                  LINCOLN         NE         68505                 6004                Various                                                                                            $13.15
ELPIDIO SANTOSMARTINEZ         1536 CEDAR ST                                                 GREEN BAY       WI         54302                 6002                Various                                                                                             $9.21
ELRAE MAZAKAHOMNI              1704 W PALMER AVE                                             SIOUX CITY      IA         51103                 6002                Various                                                                                             $2.52
ELSA PUTHUPPALLYMATT           1701 W 25TH ST                                                SIOUX CITY      IA         51103                 6002                Various                                                                                             $2.27
ELSIE MAHLUM                   424 E 7TH STREET            APT 1                             DULUTH          MN         55805                 6004                Various                                                                                             $3.00
ELSIE ROMAN-ROUSE              509 N 13TH AVE E                                              DULUTH          MN         55805                 6004                Various                                                                                             $2.71
ELSIE TURK                     PO BOX 284                                                    HUSON           MT         59846                 6002                Various                                                                                             $0.85
ELSIE WOODARD                  PO BOX 415                                                    OSAGE           WY         82723                 6002                Various                                                                                             $6.22
ELSIELYNA RAY                  1107 5TH AVE SW                                               AUSTIN          MN         55912                 6004                Various                                                                                             $6.00
ELSINA BLACKBONNET             818 W CEDAR ST                                                RAWLINS         WY         82301                 6002                Various                                                                                             $1.53
ELVIA CAVAZOS                  102 A ST SE                                                   QUINCY          WA         98848                 6002                Various                                                                                             $8.65
ELVIA MORALES                  406 1ST AVE SE                                                AUSTIN          MN         55912                 6004                Various                                                                                             $3.00
ELVIA RIOS                     420 W DIVISION ST                                             KAUKAUNA        WI         54130                 6002                Various                                                                                             $0.60
ELVIA ROSTRO-AGILAR            540 NORTHERN HILLS DR NE                                      ROCHESTER       MN         55906                 6002                Various                                                                                             $9.59
ELVIN GUINN                    205 FISHERMENS TRL                                            MELISSA         TX         75454                 6002                Various                                                                                             $9.78
ELVINA THORNOCK                BEYOND HOMES                                                  AFTON           WY         83110                 6002                Various                                                                                             $9.18
ELVIRA BORDEAUX                302 N VICTORIA ST                                             VALENTINE       NE         69201                 6002                Various                                                                                             $0.99
ELVIRA LOPEZ                   P.O. BOX 388                                                  PARMA           ID         83660                 6004                Various                                                                                             $9.99
ELVIS COOPER                   1719 PINECLIFF DR APT 208                                     RAWLINS         WY         82301                 6002                Various                                                                                             $7.37
ELY DISPOSAL SERVICE           348 NEVADA AVE                                                ELY             NV         89301                                     Various                                                                                         $1,118.61
ELY JIMENEZ GONZALEZ           602 3RD ST NW                                                 AUSTIN          MN         55912                  6004               Various                                                                                            $10.00
ELYSA HALL                     9 TURKEY LN SPC 1                                             BUFFALO         WY         82834                  6002               Various                                                                                             $2.16
ELYSABETH WELLS                211 W CHADDERTON DR                                           LINCOLN         NE         68521                  6002               Various                                                                                             $1.59
ELYSE BISHOP                   W5182 E. BUSH RD.                                             PARDEEVILLE     WI         53954                  6004               Various                                                                                            $25.00
ELYSIA TORREZ                  435 E 700TH S                                                 BRIGHAM CITY    UT         84302                  6002               Various                                                                                             $3.64
ELZBIETA BECK                  1605 WAUNONA WAY                                              MADISON         WI         53713                  6002               Various                                                                                             $0.49
EMA ENRIQUEZ                   2700 E PLANK RD APT 7                                         APPLETON        WI         54915                  6002               Various                                                                                             $4.19
EMA JIMENEZ                    13576 STATE HIGHWAY 78                                        MELBA           ID         83641                  6002               Various                                                                                             $8.63
EMANUEL DOMINGUEZ              177 S 1400 E                                                  SPANISH FORK    UT         84660                  6004               Various                                                                                            $26.00
EMBER SIAN-KOOYER              1513 NORTHERN AVENUE                                          WORDEN          MT         59088                  6004               Various                                                                                             $5.00
EMELY MATUS                    1105 LIME KILN RD                                             GREEN BAY       WI         54302                  6004               Various                                                                                            $10.00
                                                           955 FREEPORT
EMERGE TECHNOLOGIES            VICE PRESIDENT OF SALES     PKWY SUITE 100                    COPPELL         TX         75019                  9576               Various                                                                                        $28,047.70
EMERSEN LESLIE                 20745 PATRIOT LN.                                             BEND            OR         97701                  6004               Various                                                                                            $19.98
EMERSON HEALTHCARE LLC         PO BOX 37835                                                  BALTIMORE       MD         21297-7835             8175               Various                                                                                       $111,910.35
EMERSON SULLIVAN               315 E HIGH DRIVE                                              SPOKANE         WA         99203                  6004               Various                                                                                            $77.50
EMERSON UIMARI                 160 KATERS DR                                                 MARQUETTE       MI         49855                  6002               Various                                                                                             $7.92
EMERY JENSEN DISTRIBUTION      PO BOX 206807                                                 DALLAS          TX         75320-6807             5026               Various                                                                                       $508,483.39
EMERY SHEPHERD                 710 W 500TH N                                                 TREMONTON       UT         84337                  6002               Various                                                                                             $5.97
EMIL KEZERLE SR.               441 LAKE MARY ROAD                                            CRYSTAL FALLS   MI         49920                  6004               Various                                                                                            $57.76
EMILEE DENMAN                  2215 S MAPLE AVE #479                                         MARSHFIELD      WI         54449                  6004               Various                                                                                            $20.00
EMILEE DEROCHIE                1375 N SHORE DR                                               MCCOOK LAKE     SD         57049                  6002               Various                                                                                             $4.77
EMILEE GOYNE                   1005 BARBER DRIVER                                            BILLINGS        MT         59101                  6004               Various                                                                                            $39.98
EMILEE J SYMANIETZ             10613 CTY RD # 47                                             ST. CLOUD       MN         56301                  6002               Various                                                                                             $2.33
EMILEY J STADE                 PO BOX 227                                                    WATERTOWN       WI         53094                  6002               Various                                                                                             $2.36
EMILIA FERGUSON                2030 PHILADEPHIA DR                                           LINCOLN         NE         68521                  6004               Various                                                                                             $5.02
EMILIA MARES                   620 MONROE ST W                                               KIMBERLY        ID         83341                  6004               Various                                                                                             $3.65
EMILIA SCHAFFNER               PO BOX 1309                                                   WILSON          WY         83014                  6004               Various                                                                                            $20.00
EMILIA STROMGREN               27747 742ND AVE                                               DASSEL          MN         55325                  6002               Various                                                                                             $1.18

EMILIANO PEREZ                 23 NORTH WILLOW WIND WAY                                      NAMPA           ID         83651                   6004              Various                                                                                                $3.65
EMILY A. WEBSTER               706 KENNEDY DR                                                GRAND ISLAND    NE         68803                   6002              Various                                                                                                $9.73
EMILY ADAMS                    6470 SOUTH AHTANUM ROAD                                       YAKIMA          WA         98903                   6004              Various                                                                                               $30.00




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              Creditor Name                Address1            Address2        Address3              City         State           Zip   Country     Number                Claim                                                                             Total Claim
EMILY ALLEN                    PO BOX 5                                                     WATERVLIET         MI         49098                 6002                Various                                                                                            $15.35
EMILY ASTIN                    1513 S 870TH W                                               WOODS CROSS        UT         84087                 6002                Various                                                                                             $8.55
EMILY BABILIUS                 544 W SCHOOL ST                                              COLUMBUS           WI         53925                 6004                Various                                                                                            $25.00
EMILY BARRITT                  6416 W 55TH ST                                               SIOUX FALLS        SD         57106                 6002                Various                                                                                             $8.11
EMILY BENJAMIN                 2330 NORTH 44TH STREET   APT 10                              LINCOLN            NE         68504                 6004                Various                                                                                            $19.99
EMILY BLIZE                    8609 E BULL PINE LN                                          SPOKANE            WA         99217                 6004                Various                                                                                             $3.70
EMILY BRANDT                   1102 TRAILWOOD DR                                            DE PERE            WI         54115                 6002                Various                                                                                             $0.41
EMILY CABLE                    3708 SIMONIS STREET                                          STEVENS POINT      WI         54481                 6004                Various                                                                                             $5.00
EMILY CHILLERKOK               103 N H ST                                                   LIVINGSTON         MT         59047                 6002                Various                                                                                            $10.00
EMILY COMAI                    152 COMAI LN SW                                              KALKASKA           MI         49646                 6002                Various                                                                                             $6.52
EMILY COWLES                   7247 HORSESHOE BAY RD                                        EGG HARBOR         WI         54209                 6002                Various                                                                                             $7.56
EMILY CULVER                   3321 GREENHILLS PL                                           LA CROSSE          WI         54601                 6002                Various                                                                                             $2.68
EMILY DENLER                   134 E JOHNSON #2                                             MADISON            WI         53703                 6004                Various                                                                                             $4.00
EMILY DOTY                     514 8TH ST.                                                  LEWISTON           ID         83501                 6004                Various                                                                                           $104.99
EMILY DRACE                    5009 SUNSET ST                                               SCHOFIELD          WI         54476                 6004                Various                                                                                            $11.02
EMILY DUKE                     PO BOX 73                                                    SPENCER            SD         57374                 6002                Various                                                                                             $1.62
EMILY E WALTER                 4805 TIPPERARY TRL                                           LINCOLN            NE         68512                 6002                Various                                                                                             $5.86
EMILY EHLERS                   2218 GRANDVIEW BLVD                                          SIOUX CITY         IA         51104                 6004                Various                                                                                             $2.85
EMILY ERBST                    514 WEST UPHAM                                               MARSHFIELD         WI         54449                 6004                Various                                                                                           $129.98
EMILY FAUST                    78 W 800TH N                                                 CLEARFIELD         UT         84015                 6002                Various                                                                                             $0.55
EMILY FRAHM                    808 S. DAYBREAK DR.                                          APPLETON           WI         54915                 6004                Various                                                                                            $10.92
EMILY GAGE                     607 MARGATE DR                                               JANESVILLE         WI         53546                 6004                Various                                                                                             $1.00
EMILY GILLESPIE                PO BOX 94                                                    SAVAGE             MT         59262                 6002                Various                                                                                             $3.92
EMILY GITTINS                  1608 WILLIS AVE                                              PERRY              IA         50220                 6002                Various                                                                                             $1.34
EMILY GROTBO                   2416 RAYMOND AVENUE                                          MISSOULA           MT         59802                 6004                Various                                                                                            $10.02
EMILY GRUEN                    10876 S CAMERON LN                                           MARSHFIELD         WI         54449                 6004                Various                                                                                             $3.00
EMILY GRUENWALD                N4479 LOW RD                                                 REESEVILLE         WI         53579                 6002                Various                                                                                             $8.63
EMILY HANSEN                   606 4TH AVE S APT                                            PRINCETON          MN         55371                 6002                Various                                                                                             $9.86
EMILY HAY                      1207 PUTMAN AV                                               JANESVILE          WI         53546                 6004                Various                                                                                             $3.00
EMILY HENDEE                   1808 MARINER RD                                              TRENTON            MO         64683                 6002                Various                                                                                            $10.00
EMILY HERNANDEZ                111 E. SOUTH ST.                                             BEAVER DAM         WI         53916                 6004                Various                                                                                             $2.00
EMILY HESS                     1821 S MAIN ST APT 44                                        PALMYRA            MO         63461                 6002                Various                                                                                             $4.00
EMILY HOLDER                   845 SUMMIT ST                                                MANITOWOC          WI         54220                 6002                Various                                                                                             $4.16
EMILY HOLSWORTH                W4185 MAIN ROAD                                              PLYMOUTH           WI         53073                 4000                Various                                                                                           $158.84
EMILY HUTT                     2620 E 10TH ST                                               SIOUX FALLS        SD         57103                 6002                Various                                                                                             $8.66
EMILY JO BRUGGEMAN             771 CURFEW ST                                                SAINT PAUL         MN         55114                 6002                Various                                                                                             $3.62
EMILY JOHNSON                  4316 TWEED DR                                                EAU CLAIRE         WI         54703                 6004                Various                                                                                            $24.00
EMILY JOHNSTON                 1154 CASE CRT                                                BOX ELDER          SD         57719                 6004                Various                                                                                            $10.00
EMILY K SHAFFER                477 RIVERSIDE DR # 3                                         RIVER FALLS        WI         54022                 6002                Various                                                                                             $6.55
EMILY KENNEDY                  1168 - MINUTEMAN ST                                          BILLINGS           MT         59105                 6004                Various                                                                                             $2.00
EMILY KENT                     345 E 2700 N                                                 N LOGAN            UT         84341                 6004                Various                                                                                            $23.00
EMILY KESLER                   3014 MANITOWAC RD                                            GREEN BAY          WI         54311                 6004                Various                                                                                             $2.00
EMILY KITTLESON                PO BOX 166                                                   WARROAD            MN         56763                 6002                Various                                                                                             $7.32
EMILY KOEHN                    2211 CHLOE DR                                                HUNTLEY            MT         59037                 6002                Various                                                                                             $1.97
EMILY KRILL                    N8263 WOODY LANE                                             IXONIA             WI         53038                 6004                Various                                                                                            $15.00
EMILY LING                     907 KAITO LANE SW                                            ROCHESTER          MN         55902                 6004                Various                                                                                             $3.00
EMILY LOYNING                  3286 GRANGER AVE         E 13                                BILLINGS           MT         59102                 6004                Various                                                                                             $5.00
EMILY M MURPHY                 15246 400TH ST                                               NORTH BRANCH       MN         55056                 6002                Various                                                                                             $3.01
EMILY MACK                     1005 RIDGEWOOD WAY                                           MADISON            WI         53703                 6004                Various                                                                                            $30.00
EMILY MATTHYS                  209 W HOUGHTON AVE                                           HOUGHTON           MI         49931                 6002                Various                                                                                             $2.60
EMILY MC GOFF                  406 S WARREN ST.                                             SOUTH WAYNE        WI         53587                 6004                Various                                                                                             $2.00
EMILY MORTEN                   404 SO. RIDGE DRIVE                                          SOUTH SIOUX CITY   NE         68776                 6004                Various                                                                                             $2.66
EMILY NELSON                   425 4TH ST EAST                                              TRACY              MN         56175                 6004                Various                                                                                            $17.63
EMILY NESBITT                  916 WESTON AVE                                               MOSINEE            WI         54455                 6004                Various                                                                                            $10.00




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                                                                                                                                                                                                                                         Claim subject to offset?
                                                                                                                                                                                                               Unliquidated
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                                                                                                                                                                                                                              Disputed
                                                                                                                                                         Last 4 Digits of     Date Debt was
                                                                                                                                                            Account         Incurred, Basis for
              Creditor Name                Address1                Address2            Address3             City          State           Zip   Country     Number                Claim                                                                             Total Claim
EMILY NEWKIRK                  655 N 100TH W                                                        SANTAQUIN          UT         84655                 6002                Various                                                                                                $6.49
EMILY NEWSOM                   310 E 13TH STREET                                                    IDAHO FALLS        ID         83404                 6004                Various                                                                                               $26.00
EMILY NIELSON                  4701 BRIAR PARK DR APT 50                                            LINCOLN            NE         68516                 6002                Various                                                                                                $7.75
EMILY OLSON                    735 KARCZ DRIVE                APT 1                                 PULASKI            WI         54162                 6004                Various                                                                                                $4.00
EMILY PARISH                   314 W. 19TH                                                          OSHKOSH            WI         54902                 6004                Various                                                                                                $1.00
EMILY PAYNE                    2201 W 325 S                                                         MAPLETON           UT         84664                 6004                Various                                                                                               $23.07
EMILY PEHRSON                  224 LONDON RD                                                        MARSHALL           MN         56258                 6004                Various                                                                                               $20.00
EMILY PERALTA SANTOS           2745 SAGEBRUSH DR                                                    TWIN FALLS         ID         83301                 6004                Various                                                                                                $3.65
EMILY PETERSEN                 1064 180TH AVE                                                       SLAYTON            MN         56172                 6004                Various                                                                                               $40.00
EMILY PRIEN                    424 EAST PINE ST               APT 4                                 EAGLE RIVER        WI         54521                 6004                Various                                                                                                $3.00
EMILY PRITZL                   418 WEST WASHINGTON AVE                                              MADISON            WI         53703                 6004                Various                                                                                               $22.60
EMILY PRUITT                   64268 73RD RD                                                        PERU               NE         68421                 6002                Various                                                                                                $6.88
EMILY REINHARDT                1501 HILLTOP RD                APT. #101                             LINCOLN            NE         68521                 6004                Various                                                                                               $45.98
EMILY RICELL ROBERTS           415 E 42ND ST                                                        GARDEN CITY        ID         83714                 6002                Various                                                                                                $6.58
EMILY ROLLAG                   14807 PRATT CT                 APT 202                               OMAHA              NE         68116                 6004                Various                                                                                                $2.00
EMILY SCHMIDT                  1447 STEAD DR.                                                       MENASHA            WI         54952                 6004                Various                                                                                               $44.00
EMILY SIPIORSKI                522 W FULTON ST                                                      WAUPACA            WI         54981                 6004                Various                                                                                               $44.13
EMILY SMITH                    500 E BIRD ST                                                        HAMILTON           MO         64644                 6002                Various                                                                                                $1.92
EMILY SONSALLA                 6103 DOLL DR                                                         MADISON            WI         53718                 6004                Various                                                                                               $51.00
EMILY STIDHAM                  5505 SILVER PL                                                       CALDWELL           ID         83607                 6002                Various                                                                                                $6.41
EMILY STROM                    1317 SUPERIOR ST                                                     OCONTO             WI         54513                 6004                Various                                                                                               $62.00
EMILY TESMER                   6007 65TH ST NE                                                      ROCHESTER          MN         55906                 6004                Various                                                                                                $3.00
EMILY THORNBORROW              5101 381ST LN                                                        NORTH BRANCH       MN         55056                 6002                Various                                                                                                $7.51
EMILY TILLMAN                  154 WOODHAVEN LN                                                     NEENAH             WI         54956                 6002                Various                                                                                                $7.56
EMILY TUPPER                   315 S MAIN ST                                                        COTTAGE GROVE      WI         53527                 6004                Various                                                                                                $5.70
EMILY VILLENAUVE               357 BRETCOE STREET                                                   GREEN BAY          WI         54302                 6004                Various                                                                                               $27.00
EMILY WEBER                    1055 APPLEBLOSSOM DR                                                 NEENAH             WI         54956                 6004                Various                                                                                                $3.00
EMILY WOGSLUND                 11006 BESTUL RD                                                      SCANDINAVIA        WI         54977                 6004                Various                                                                                               $25.00
EMILY WORTHEN                  1066 N 1250TH W                                                      LAYTON             UT         84041                 6002                Various                                                                                                $6.82
EMILY WULF                     909 IDAHO ST                                                         SUPERIOR           NE         68978                 6002                Various                                                                                                $6.03
EMINA MARIC                    9692 SOUTH 1700 EAST                                                 SANDY              UT         84092                 6004                Various                                                                                               $35.00
EMIRHAN DEMIRTAS               1041 COUNTRY ROAD ZZ                                                 ELLISON BAY        WI         54210                 6002                Various                                                                                                $9.10
EMMA AUER                      630 S ANTLER ST                                                      GLADWIN            MI         48624                 6002                Various                                                                                                $4.82
EMMA AVALOS                    607 SO 18TH AVE                                                      YAKIMA             WA         98902                 6004                Various                                                                                               $22.00
EMMA BREWER                    3783 RESER RD.                                                       WALLA WALLA        WA         99362                 6004                Various                                                                                                $9.97
EMMA BURKHOLDER                N1534 CATLIN AVE                                                     DORCHESTER         WI         54425                 6002                Various                                                                                                $7.48
EMMA DEAN                      410 S. WEBSTER AVE             APT B                                 GREEN BAY          WI         54302                 6004                Various                                                                                                $2.00

EMMA DORSHORST                 3934 GEORGE RD                                                       WISCONSIN RAPIDS   WI         54494                  6004               Various                                                                                               $25.00
EMMA FAILER                    33746 CEMETERY RD                                                    PAXICO             KS         66526                  6002               Various                                                                                                $5.42
EMMA GARCIA                    1624 CARLISLE AVENUE                                                 RACINE             WI         53404                  6004               Various                                                                                               $15.00
EMMA GRIMES                    20366 CHASE RD                                                       BEND               OR         97702                  6004               Various                                                                                               $20.00
EMMA HALE HENSON               3164 THAYERBRIDGE                                                    IDAHO FALLS        ID         83402                  6002               Various                                                                                                $0.99
EMMA HERNANDEZ                 1007 11TH ST NW                                                      AUSTIN             MN         55912                  6004               Various                                                                                                $3.00

EMMA HOFFMAN                   1115 HIGHLAND AVE TRLR 66 1/                                         CLARKSTON          WA         99403                   6002              Various                                                                                               $10.00
EMMA HUHTA                     17236 N SUPERIOR RD                                                  HOUGHTON           MI         49931                   6002              Various                                                                                                $3.21
EMMA IBARRA                    235 N LEXINGTON AVE                                                  LE CENTER          MN         56057                   6002              Various                                                                                                $8.71
EMMA JORE                      609 LINWOOD AVE                                                      ST.POINT           WI         54481                   6004              Various                                                                                               $24.00
EMMA KNIGHT                    1914 SPRINGBROOK RD                                                  OMRO               WI         54963                   6004              Various                                                                                               $10.00
EMMA LANE                      1601 CLARK STREET                                                    MANITOWOC          WI         54220                   6004              Various                                                                                                $2.00
EMMA LIPKE                     1600 KENNEDY DR                                                      GREEN BAY          WI         54304                   6004              Various                                                                                               $13.00
EMMA MANTEUFEL                 3411 E PARIS WAY APT 4                                               APPLETON           WI         54913                   6004              Various                                                                                               $24.00
EMMA MARTHA MEZA ZARAGOZA      503 JEFFERSON ST APT 202                                             BEAVER DAM         WI         53916                   6002              Various                                                                                                $7.92




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             Creditor Name                        Address1                Address2             Address3              City             State           Zip   Country     Number                Claim                                                                             Total Claim
EMMA MCKINNEY                          114 NORTH 2ND ST.                                                      MOUNT HOREB        WI           53572                 6004                Various                                                                                               $30.00
EMMA NAVAS                             1630 NORTH PERKINS STREET                                              APPLETON           WI           54914                 6004                Various                                                                                                $3.00
EMMA NEUMAIER                          409 PRAIRIE AVE.                                                       LODI               WI           53555                 6004                Various                                                                                               $10.70
EMMA OAS                               5825 BALSAM RD #3                                                      MADISON            WI           53711                 6004                Various                                                                                                $4.00
EMMA POST                              P.O.BOX 1210                                                           EDEN               UT           84310                 6004                Various                                                                                               $51.00
EMMA SAISSLIN                          3175 WOLF MEADOWS LANE                                                 EUGENE             OR           97408                 6004                Various                                                                                               $19.99
EMMA TRAINOR                           117 W. BURNETT ST                                                      BEAVER DAM         WI           53916                 6004                Various                                                                                                $1.00
EMMA VALDEZ                            2408 CARNEGIE STREET                                                   CALDWELL           ID           83607                 6004                Various                                                                                                $2.06
EMMA ZEISET                            N 14359 GORMAN AVE CARD                                                THORP              WI           54771                 6002                Various                                                                                                $3.64
EMMALINE MARKS                         2453 BALLY VAUGHN ROAD                                                 DEPERE             WI           54115                 6004                Various                                                                                               $14.00
EMMALYNE JACKSON                       268 HWY 28                                                             SALMON             ID           83467                 6002                Various                                                                                                $9.48
EMMANUEL JAMES                         3504 CORNHUSKER DRIVE                                                  OMAHA              NE           68124                 6004                Various                                                                                               $23.00
EMMANUEL PADILLA                       904 SW 7TH ST                                                          ANDREWS            TX           79714                 6002                Various                                                                                                $5.23
EMMANUEL RODEA-BELMAR                  1700 W WEILAND LN APT 8                                                APPLETON           WI           54914                 6002                Various                                                                                                $1.53
EMME VANDREEL                          1225 DOTY ST                                                           GREEN BAY          WI           54301                 6002                Various                                                                                                $1.97
EMMELINE KNIGHT                        2720 HUMBOLDT RD               APT 18                                  GREEN BAY          WI           54311                 6004                Various                                                                                               $26.70
                                                                                                                                                                                        11/1/2018 -
EMMETSBURG MUNICIPAL UTILITIES         P.O. BOX 417                                                           EMMETSBURG         IA           50536                  2-Jun              11/30/2018                                                                                         $11.91
EMMETT AMOS                            PO BOX 324                                                             SISSETON           SD           57262                  6002               Various                                                                                             $3.32
EMMETT WAHLSTROM                       501 STOUT ST                                                           CHETEK             WI           54728                  6002               Various                                                                                             $4.60
EMMILIA HARTNEY                        343 W UTAH ST                                                          KALISPELL          MT           59901                  6002               Various                                                                                             $1.23
EMMIT ANDERSON                         826 POINT BASSE AVE                                                    NEKOOSA            WI           54457                  6004               Various                                                                                            $10.00
EMMITT BOSCHER                         19730 N WAGON RD                                                       DODSON             MT           59524                  6002               Various                                                                                             $1.18
EMMONS BUSINESS INTERIORS              PO BOX 640                                                             GERMANTOWN         WI           53022                  8915               Various                                                                                        $34,592.46

EMNETT/ MICHAEL                        STORE 2-694                  SHOPKO EMPLOYEE PO BOX 720                ALLIANCE           NE           69301-0720              4585              Various                                                                                          $721.18
EMPIRE CANDLE CO LLC                   PO BOX 219864                                                          KANSAS CITY        MO           64121-9864              8831              Various                                                                                       $180,659.25
                                       2029 S BUSINESS PARKWAY BLDG
EMPIRE ELECTRONIC CORPORATION          A                                                                      ONTARIO            CA           91761-0000              6137              Various                                                                                       $498,329.32
                                                                    1119 PACIFIC
EMPLOYER RESOURCES NORTHWEST           GEMMA INCORPORATED           AVENUE SUITE 900                          TACOMA             WA           98402                  7740               Various                                                                                         $3,025.49
EN COX                                 0119 25TH ST                                                           LEWISTON           ID           83501                  6002               Various                                                                                             $8.88
ENABLX INCORPORATED                    1 EMERY AVENUE                                                         RANDOLPH           NJ           07869-0000             0978               Various                                                                                         $4,372.54
ENASHA LOVE                            7008 TREE LANE # F                                                     MADISON            WI           53717                  6004               Various                                                                                             $6.00
                                       16 EAST 34TH STREET 16TH
ENCHANTE ACCESSORIES INCORPORA         FLOOR                                                                  NEW YORK           NY           10016-0000              6318              Various                                                                                       $176,982.66
                                       131 NORTH BROADWAY 2ND
ENDLESS GAMES                          FLOOR                                                                  SOUTH AMBOY        NJ           08879-1639             8355               Various                                                                                        $89,282.48
ENE HERMAN                             740 CASCADE ST                                                         LANDER             WY           82520                  6002               Various                                                                                             $2.00
ENEDELIA DE LUNA                       1321 MARION RD SE                                                      ROCHESTER          MN           55904                  6004               Various                                                                                             $3.06
ENEDINA MARTINEZ                       530 MARIGOLD DR                                                        MADISON            WI           53713                  6004               Various                                                                                             $1.00
ENEDINA ZAMORA                         511 E. NACHES AVE                                                      SELAH              WA           98942                  6004               Various                                                                                             $1.50

ENERCO GROUP INCORPORATED              75 REMITTANCE DRIVE STE 1314                                           CHICAGO            IL           60675-1314             7016               Various                                                                                        $13,225.22
                                                                      533 MARYVILLE
ENERGIZER BATTERY INCORPORATED         VICE PRESIDENT OF SALES        UNIVERSITY DRIVE                        SAINT LOUIS        MO           63141-0000              2338              Various                                                                                       $475,909.54

ENFIELD FUNERAL HOME - A PARTNERSHIP   215 W MAIN                                                             NORTON             KS           67654                   6666              Various                                                                                             $7.59
ENGEBRETSON & SONS                     23780 470TH AVENUE                                                     MORRIS             MN           56267                                     Various                                                                                          $683.28
ENGEL ELECTRIC CO                      1514 W FOURTH STREET                                                   STERLING           IL           61081                                     Various                                                                                         $9,493.52
ENGELINE BRADISH                       211 E 16TH                                                             SOUTH SIOUX CITY   NE           68776                  6004               Various                                                                                            $15.76
ENGELS COMMERCIAL APPLIANCE IN         120 PACKERLAND DRIVE                                                   GREEN BAY          WI           54303                  4092               Various                                                                                          $108.67
                                                                      ATTN ACCOUNTS      1313 N ATLANTIC SUITE
ENGIE INSIGHT                          SHOPKO UTILITIES               RECEIVABLE         5000                  SPOKANE           WA           99201                   9920              Various                                                                                         $4,375.20




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                                                                                                                                                                                             Contingent


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              Creditor Name                   Address1             Address2           Address3             City         State         Zip    Country     Number              Claim                                                                             Total Claim
ENGINEERED FLOORS LLC             PO BOX 95270                                                     GRAPEVINE         TX         76099-9752           7719              Various                                                                                            $821.20
ENGLEWOOD APPLIANCE CO INC/MAG    PO BOX 689788                                                    CHICAGO           IL         60695-9788           1039              Various                                                                                        $151,015.44
ENGMAN DISPOSAL                   PO BOX 384                                                       HUMBOLDT          IA         50548                                  Various                                                                                            $483.64
ENID WERTH                        2598 CASPER                                                      EAST HELENA       MT         59635                6004              Various                                                                                              $2.00
ENJG LIMITED                      315 LAKEWOOD DRIVE                                               GADSDEN           AL         35901                7975              Various                                                                                         $10,187.50
ENJOY LIFE NATURAL BRANDS LLC     DEPT 10365                  PO BOX 87618                         CHICAGO           IL         60680-0618           0066              Various                                                                                         $32,509.22
ENNIFER TEJEDA                    1109 S 2ND ST                                                    DEKALB            IL         60115                6002              Various                                                                                              $4.68
ENNY MARIOTTI                     41 GULCH CREEK RD                                                LANDER            WY         82520                6002              Various                                                                                              $4.19
ENRIQUE GAYTAN LAGUNA             4144 BELLVILLE DR                                                LINCOLN           NE         68521                6002              Various                                                                                              $2.38
ENRIQUE GONZALEZ                  1705 W 100TH N APT C                                             TREMONTON         UT         84337                6002              Various                                                                                              $1.95
ENRIQUE MACARIO                   325 S COLFAX ST                                                  WEST POINT        NE         68788                6002              Various                                                                                              $1.15
ENRIQUE ORDUNO                    3077 S. 8600 W                                                   MAGNA             UT         84044                6004              Various                                                                                              $6.75
ENRIQUE TAPIA                     1611 E OAKLAND AVE                                               AUSTIN            MN         55912                6004              Various                                                                                             $20.00
ENRIQUE-JUAREZ VILLEGAS           4552 FIREWOOD AVENUE                                             SALT LAKE CITY    UT         84123                6004              Various                                                                                             $16.50
                                  ENTERPRISE FM CUSTOMER
ENTERPRISE FM TRUST               BILLING                     PO BOX 800089                        KANSAS CITY       MO         64180-0089             4600            Various                                                                                        $30,887.21
ENTERPRISE RENT A CAR             DAMAGE RECOVERY UMIT        PO BOX 842264                        DALLAS            TX         75284-2264             3806            Various                                                                                        $12,918.96
ENVIROCON TECHNOLOGIES INC        PO BOX 3547                                                      AUSTIN            TX         78764                  5294            Various                                                                                         $3,203.82
                                                                                                                                                                       11/10/2018 -
ENVISION                          105 4TH AVE SW                                                   RUGBY             ND         58368                  4618            12/31/2018                                                                                      $2,252.61
ENVOLVE BENEFIT OPTIONS           REFUNDS CLAIMS              PO BOX 7548                          ROCKY MOUNT       NC         27804                  6004            Various                                                                                          $927.87
ENVOLVE VISION                    CLAIMS                      PO BOX 7548                          ROCKY MOUNT       NC         27804                  6004            Various                                                                                          $166.74
ENVOLVE VISION INCORPORATED       PO BOX 7548                                                      ROCKY MOUNT       NC         27804                  6004            Various                                                                                       $122,644.94
EOS PRODUCTS LLC                  DEPT CH 19451                                                    PALATINE          IL         60055-9451             2345            Various                                                                                        $21,596.64

EPIC LABS INCORPORATED            PAYMENT PROCESSING CENTER   PO BOX 816187                        DALLAS            TX         75381-6187             8182            Various                                                                                          $574.22
EPOCA INCORPORATED                931 CLINT MOORE ROAD                                             BOCA RATON        FL         33487-0000             3214            Various                                                                                        $16,116.00
EPOCH EVERLASTING PLAY LLC        PO BOX 823401                                                    PHILADELPHIA      PA         19182-3401             3751            Various                                                                                        $25,490.29
EPTA AMERICA                      50 MORTON STREET UNIT A                                          EAST RUTHERFORD   NJ         07073                  4596            Various                                                                                        $28,164.08
                                  GRAND PACIFIC HOLDINGS
EQK BRIDGEVIEW PLAZA INCORPORA    CORPORATION                 PO BOX 301683                        DALLAS            TX         75303-1683             9593            Various                                                                                         $4,728.66
ERASMO DE LA ROSA                 3487 CTY HWY J LOT 36                                            CHIPPEWA FALLS    WI         54729                  6004            Various                                                                                            $54.98
ERIC A UMALI                      1737 W 5TH ST APT 1                                              WINONA            MN         55987                  6002            Various                                                                                             $8.90
ERIC A. FISCHER                   811 COUNTY ROAD C                                                PULASKI           WI         54162                  6002            Various                                                                                             $6.52
ERIC ABEL                         1603 S. LOCUST              APT. 204                             MARSHFIELD        WI         54449                  6004            Various                                                                                             $8.50
ERIC AVERKAMP                     N145 OLD HWY 35                                                  STODDARD          WI         54658                  6004            Various                                                                                            $28.65
ERIC BEHLING                      1419 W 17TH                                                      SPOKANE           WA         99203                  6004            Various                                                                                             $3.58
ERIC BOECKENHAUER                 57783 864TH RD                                                   CONCORD           NE         68728                  6002            Various                                                                                             $2.08
ERIC BORCHARDT                    1374 NORHTPOINT DR                                               STEVENS POINT     WI         54481                  6004            Various                                                                                             $4.95
ERIC C THOBER                     W9215 480TH AVE                                                  HAGER CITY        WI         54014                  6002            Various                                                                                             $1.32
ERIC C. NILSON                    449 SANDBAR WAY                                                  SPANISH FORK      UT         84660                  6002            Various                                                                                             $8.60
ERIC CAREW                        829 DEWEY ST                                                     MANITOWOC         WI         54220                  6002            Various                                                                                             $2.71
ERIC COUGHLIN                     21 TAYLOR ST                                                     WINNECONNE        WI         54986                  6002            Various                                                                                             $7.34
ERIC DALE ALDERFER                468 N JEFFERSON ST                                               CROMWELL          IN         46732                  6002            Various                                                                                             $5.84
ERIC EISBACH                      403 22ND ST NW                                                   STEWARTVILLE      MN         55976                  6002            Various                                                                                             $7.10
ERIC ELLINGHYSEN                  60407 213TH AVE                                                  DODGE CENTER      MN         55927                  6002            Various                                                                                             $9.48
ERIC ENDEJAN                      759 WESTERN AVE                                                  FOND DU LAC       WI         54935                  6002            Various                                                                                             $6.11
ERIC ERICKSON                     820 MILWAUKEE ST                                                 MENASHA           WI         54952                  6002            Various                                                                                            $10.00
ERIC FARRELL                      W1134 TIP RD                                                     DE PERE           WI         54115                  6002            Various                                                                                             $5.51
ERIC FRANZEN                      1904 NORTH 20TH STREET                                           SHEBOYGAN         WI         53081                  6004            Various                                                                                            $17.00
ERIC GANSEN                       1617 S FEDERAL AVE                                               MASON CITY        IA         50401                  6002            Various                                                                                             $5.97
ERIC GENAME                       802 CTY NP                                                       ELLISON BAY       WI         54210                  6002            Various                                                                                             $6.88
ERIC GERGEN                       4823 OLSON LAKE TRL N                                            LAKE ELMO         MN         55042                  6004            Various                                                                                            $22.79
ERIC GERLACH                      140 BURR OAK STREET                                              PALMYRA           WI         53156                  6004            Various                                                                                            $34.98




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ERIC GIESELMAN                307 N ST PAUL AVE                                              FULDA              MN         56131                 6004                Various                                                                                                $3.00
ERIC GRAHAM                   27 EAST PACIFIC STREET                                         LITCHFIELD         MN         55355                 6004                Various                                                                                               $25.50
ERIC GROLL                    N4545 N HIGHLAND DR                                            SULLIVAN           WI         53178                 6004                Various                                                                                               $30.00
ERIC GUENTHES                 115 KNAUP DR APT 7                                             BEAVER DAM         WI         53916                 6002                Various                                                                                                $2.55

ERIC HALE                     1930 CHASE ST                                                  WISCONSIN RAPIDS   WI         54495                  6004               Various                                                                                                $3.00
ERIC HARMS                    5300 FOREST CIR                                                STEVENS POINT      WI         54481                  6002               Various                                                                                                $4.38
ERIC HARTMAN                  6901 N 72ND ST                                                 OMAHA              NE         68122                  6002               Various                                                                                               $10.00
ERIC HASENAUER                2415 W. LONE STAR RD.                                          WELLFLEET          NE         69170                  6004               Various                                                                                               $25.00
ERIC HEATH                    240 EAST 600 NORTH                                             LEHI               UT         84043                  6004               Various                                                                                                $8.50
ERIC HEIMERL                  7450 LAKE BLUFF 19.4 RD                                        GLADSTONE          MI         49837                  6004               Various                                                                                               $10.00
ERIC HEIN                     R830 STATE HIGHWAY 29                                          ATHENS             WI         54411                  6002               Various                                                                                                $1.56
ERIC HINTZ                    516 UNION ST                                                   JOHNSON CREEK      WI         53038                  6002               Various                                                                                                $0.52
ERIC J CONNOT                 29337 310TH AVE                                                WINNER             SD         57580                  6002               Various                                                                                                $6.55
ERIC JASON FRY                100 RED WILLOW RD APT 104                                      GREENBUSH          MN         56726                  6002               Various                                                                                                $5.59
ERIC JOHNSON                  2930 W. CREEK VALLEY LANE                                      GRAND CHUTE        WI         54914                  6004               Various                                                                                                $9.88
ERIC JURGENSMIER              N 10759 HIGHWAY 151                                            MALONE             WI         53049                  6004               Various                                                                                               $16.00
ERIC KINNARD                  201 PINE RIVER ST                                              REDGRANITE         WI         54970                  6002               Various                                                                                                $0.93
ERIC KLINE                    PO 112                                                         SAINT ANSGAR       IA         50472                  6004               Various                                                                                               $30.00
ERIC KLINKHAMMER              2055 INDIANA ST                                                RACINE             WI         53405                  6004               Various                                                                                                $1.00
ERIC KRUMENAUER               640 WASHINTON ST                                               RIPON              WI         54971                  6004               Various                                                                                               $14.07
ERIC LANGEN                   PO BOX 564                                                     GLASGOW            MT         59230                  6002               Various                                                                                                $6.52
ERIC LAVIER RAUSCH            611 N DOUGLAS ST                                               APPLETON           WI         54914                  6002               Various                                                                                                $9.12
ERIC LICHTENBERG              1945 S. RUDOLPH RD.                                            MAPLE              WI         54854                  6004               Various                                                                                               $66.30
ERIC LOKEN                    107 S MAIN ST                                                  CAMP CROOK         SD         57724                  6002               Various                                                                                                $7.12
ERIC LUEDKE                   1214 FREEMONT ST                                               ALGOMA             WI         54201                  6002               Various                                                                                                $0.58
ERIC MACFARLANE               1868 WILLOW POINT CRT                                          NAMPA              ID         83651                  6004               Various                                                                                               $19.75
ERIC MACIAS                   215 LINDEN ST                                                  ONAWA              IA         51040                  6002               Various                                                                                                $9.48
ERIC MARQUEZ                  427 OFFNER RD.                                                 WALLA WALLA        WA         99362                  6004               Various                                                                                                $4.97
ERIC MASSALLO                 303 E 2ND ST                                                   WILBER             NE         68465                  6002               Various                                                                                               $10.00
ERIC MATTINEN                 PO BOX 24                                                      SAINT MARIE        MT         59231                  6002               Various                                                                                                $0.82
ERIC MENA                     1060 E 450 N APT 227                                           PROVO              UT         84606                  6004               Various                                                                                               $20.00
ERIC MEYER                    506 BOWMAN AVE                                                 MADISON            WI         53716                  6004               Various                                                                                                $4.00
ERIC MILLER                   2399 LONGTAIL BEACH LANE                                       SUAMICO            WI         54173                  6004               Various                                                                                                $7.99
ERIC NAUMANN                  2215 NORTH 27TH STREET                                         SHEBOYGAN          WI         53083                  6004               Various                                                                                               $31.99
ERIC NEWKIRK                  RR 62 BOX 355                                                  NAYLOR             MO         63953                  6002               Various                                                                                                $2.96
ERIC NOELL                    2107 WYOMING ST.                                               MISSOULA           MT         59801                  6004               Various                                                                                                $2.00
ERIC NYKKENAN                 731 BEAR HOLLOW RD                                             WAUKON             IA         52172                  6002               Various                                                                                                $4.90
ERIC OSTREM                   W3195 CTH N                                                    COON VALLEY        WI         54623                  6002               Various                                                                                                $8.05
ERIC P GOETSCH                4602 W REINEKING DR                                            SHEBOYGAN          WI         53083                  6002               Various                                                                                                $2.68
ERIC P SNYDER                 12910 VELP AVE                                                 GREEN BAY          WI         54313                  6002               Various                                                                                                $1.26
ERIC R JOHNSON                214 N OSBORNE ST                                               AINSWORTH          NE         69210                  6002               Various                                                                                                $0.38
ERIC RASMUSSEN                1237 WHEATFIELD WAY                                            OSHKOSH            WI         54904                  6004               Various                                                                                               $23.00
ERIC REBOUT                   4730 W HWY 11                                                  JANESVILLE         WI         53548                  6004               Various                                                                                               $50.00
ERIC REINERTSON               985 EICKERT RD.             APT. 8                             BRILLION           WI         54110                  6004               Various                                                                                               $12.00

ERIC RHIEL                    765 W WASHINGTON AVE #210                                      MADISON            WI         53715                  6004               Various                                                                                               $54.00
ERIC RINGDAHL                 PO BOX 443                                                     VALIER             MT         59486                  6004               Various                                                                                               $15.00
ERIC ROBERTS                  5933 LASALLE                                                   LINCOLN            NE         68516                  6004               Various                                                                                               $23.00
ERIC ROJAS                    822 21 ST AVE EAST                                             JEROME             ID         83338                  6004               Various                                                                                                $3.65
ERIC ROLLAND-PUENTE           155 BERGER ST               APT 1                              GREEN BAY          WI         54302                  6004               Various                                                                                               $78.20
ERIC ROWLAND                  780 11TH ST                                                    MEEKER             CO         81641                  6002               Various                                                                                                $5.92
ERIC S COLBY                  112 N 6TH ST                                                   ABBOTSFORD         WI         54405                  6002               Various                                                                                                $5.48
ERIC SALTZMAN                 PO BOX 24                                                      MUSSELSHELL        MT         59059                  6002               Various                                                                                                $8.90




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                                                                                                                                                                                               Contingent


                                                                                                                                                                                                                           Disputed
                                                                                                                                                      Last 4 Digits of     Date Debt was
                                                                                                                                                         Account         Incurred, Basis for
              Creditor Name               Address1               Address2           Address3             City          State           Zip   Country     Number                Claim                                                                             Total Claim
ERIC SARGENT                   1132 MILLERSVILLE AVE                                             HOWARDS GROVE    WI           53083                 6004                Various                                                                                               $30.00
ERIC SCHULTZ                   820 GRADEN DR APT #40                                             SUN PRAIRIE      WI           53590                 6004                Various                                                                                               $20.00
ERIC SCRIBNER                  16419 W WASHINGTON RD                                             KIEL             WI           53042                 6002                Various                                                                                                $5.64
ERIC SIEBERS                   1236 HILLCREST LN                                                 SEYMOUR          WI           54165                 6004                Various                                                                                               $10.00
ERIC SIMMONS                   1968 HWY 21                                                       ARKDALE          WI           54613                 6004                Various                                                                                                $3.00
ERIC SMUKAL                    N8814 HYW SC                                                      IXONIA           WI           53036                 6002                Various                                                                                                $6.58
ERIC STEPAN                    2461 CEDAR DR                                                     PLOVER           WI           54467                 6002                Various                                                                                                $5.73
ERIC SYMPSON                   1713 CLEAVLAND AVE                                                BELOIT           WI           53511                 6004                Various                                                                                               $23.00
ERIC T CHRISTMAN               59 SPENCER VILLAGE CT                                             APPLETON         WI           54914                 6002                Various                                                                                                $2.47
ERIC T SODOMA                  16706 W 155TH TER                                                 OLATHE           KS           66062                 6002                Various                                                                                                $9.62
ERIC TYNDALL                   1825 INDEPENDENCE CR                                              LINCOLN          NE           68521                 6004                Various                                                                                                $4.00

ERIC VANDEN HEUVEL             505 SOUTH BARSTOW APT #211                                        EAU CLAIRE       WI           54701                  6004               Various                                                                                               $33.00
ERIC W CHRISTIANSON            143 N WILLSON DR                                                  ALTOONA          WI           54720                  6002               Various                                                                                                $9.23
ERIC WEBBERSON                 331 1/2 12TH ST SE                                                MASON CITY       IA           50401                  6002               Various                                                                                                $4.79
ERIC WEBER                     8110 LOWELL AVE.                                                  LINCOLN          NE           68506                  6004               Various                                                                                               $23.00
ERIC WEILER                    940 LINDEN DRIVE             APT 206                              HOLMEN           WI           54636                  6004               Various                                                                                                $3.00
ERIC WILLIAM SCHILLA           W7695 VOLENDAM ST                                                 HOLMEN           WI           54636                  6002               Various                                                                                                $1.01
ERIC WIPPERFURTH               1545 GRAND AVE                                                    PRAIRIE DU SAC   WI           53578                  6004               Various                                                                                                $3.70
ERIC WIRZ                      3550 UGSTAD ROAD                                                  DULUTH           MN           55810                  6004               Various                                                                                                $4.25
ERIC WOLF                      912 CLEVELAND                APT 23                               MARQUETTE        MI           49855                  6004               Various                                                                                               $20.00
ERIC ZIMMER                    1505 N 24TH STREET                                                MANITOWOC        WI           54220                  6004               Various                                                                                                $5.02
ERIC ZIRBEL                    1668 RIVER LANE                                                   GRAFTON          WI           53024                  6004               Various                                                                                               $23.00
ERICA ARCHER-BURTON            410 1/2 PARK LANE                                                 MANKATO          MN           56001                  6004               Various                                                                                               $25.50
ERICA B BURRI                  605 CENTER ST                                                     CHETEK           WI           54728                  6002               Various                                                                                                $6.55
ERICA BAXTER                   37 QUEENS BLVD                                                    POWELL           WY           82435                  6002               Various                                                                                                $9.64
ERICA BEINLICH                 2087 SWANSTONE CIR                                                DE PERE          WI           54115                  6002               Various                                                                                                $1.23
ERICA BLAIR                    5516 CRIMSON AVE                                                  CALDWELL         ID           83607                  6002               Various                                                                                                $4.63
ERICA BOEDER                   110 LAKECREST DR.            APT. 112                             BEAVER DAM       WI           53916                  6004               Various                                                                                               $15.00
ERICA CAMPOS                   321 S 7TH STREET                                                  WORLAND          WY           82401                  6002               Various                                                                                                $2.08
ERICA DURRANT                  N1845 WILLIAM DR                                                  WAUPACA          WI           54981                  6004               Various                                                                                                $1.00
ERICA GARCIA                   3530 STRAUBEL ST APT. 201                                         MADISON          WI           53704                  6004               Various                                                                                                $3.00
ERICA GAVIN                    5768 PORTAGE ROAD                                                 MADISON          WI           53718                  6004               Various                                                                                                $2.00
ERICA GOKEY                    W3120 CTY KS                                                      JUDA             WI           53550                  6004               Various                                                                                               $22.00
ERICA HERRERA                  329 4TH ST                                                        OGDEN            UT           84404                  6004               Various                                                                                                $1.99
ERICA K KOLLATH                8407 GLEN FLORA RD                                                KIEL             WI           53042                  6002               Various                                                                                                $9.21
ERICA LEWNO                    5701 W THRUSH PLACE                                               SIOUX FALLS      SD           57107                  6004               Various                                                                                               $12.50
ERICA MCLEAN                   24A MONTANA ST                                                    GLASGOW          MT           59230                  6002               Various                                                                                                $9.42
ERICA PEPPERS                  7003 GREGORY PLACE                                                YAKIMA           WA           98908                  6004               Various                                                                                                $8.98
ERICA POLENSKY                 1410 26TH ST NW                                                   ROCHESTER        MN           55901                  6002               Various                                                                                                $3.43
ERICA QUALE                    1434 27TH AVENUE                                                  LEWISTON         ID           83501                  6004               Various                                                                                                $1.50
ERICA RAMIREZ                  4935 WEST POINT CIR                                               WEST VALLEY      UT           84120                  6004               Various                                                                                               $14.98
ERICA SAIN                     106 DEER VALLEY ROAD #6                                           MADISON          WI           53713                  6004               Various                                                                                                $2.00
ERICA SCHEIDELER               1008 KEELY CT                                                     BROKEN BOW       NE           68822                  6002               Various                                                                                                $6.36
ERICA SMITS                    726 LAWE STREET                                                   GREEN BAY        WI           54301                  6004               Various                                                                                               $34.00
ERICA SNIDER                   W6847 VOEGLI RD                                                   MONROE           WI           53566                  6004               Various                                                                                                $7.00
ERICA STEEN                    2307 LESTER RD                                                    WENATCHEE        WA           98801                  6004               Various                                                                                               $12.02
ERICA VARGAS MEADOWS           1510 DORCAS ST                                                    OMAHA            NE           68108                  6004               Various                                                                                                $2.00
ERICA VOORHEES                 822 E SKYLARK DR                                                  SPANISH FORK     UT           84660                  6002               Various                                                                                                $3.67
ERICA WIENKE                   5400 FLAMINGO RD.                                                 MADISON          WI           53716                  6004               Various                                                                                                $5.70
ERICA WIETGREFE                12874 PLEASANT VALLY DR E                                         ABERDEEN         SD           57401                  6002               Various                                                                                                $6.71
ERICA ZACH                     401 E 8TH ST                                                      WAYNE            NE           68787                  6002               Various                                                                                                $1.81
ERICH O,CONNOR                 2227 S. 16TH                                                      GREEN BAY        WI           54301                  6004               Various                                                                                               $33.15
ERICK ALVARADO HERNANDEZ       2339 HILLSIDE LN                                                  GREEN BAY        WI           54302                  6004               Various                                                                                               $12.50




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              Creditor Name                Address1              Address2         Address3             City         State           Zip   Country     Number                Claim                                                                             Total Claim
ERICK GANTT                    12 E BEACON HILL RD                                             ELY               MN         55731                 6002                Various                                                                                                $3.45
ERICK GARCIA                   905 GARITY STREET                                               JEFFERSON         WI         53549                 6004                Various                                                                                                $2.00
ERICK GARCIA RIVEROS           W489 HESCH VALLEY RD                                            COCHRANE          WI         54622                 6002                Various                                                                                                $8.36
ERICK M WOODS                  2115 PRESTON RD                                                 EAU CLAIRE        WI         54703                 6002                Various                                                                                                $7.32
ERICK SPERLOEN                 3467 HALVERSON RD                                               STOUGHTON         WI         53589                 6004                Various                                                                                               $20.00
ERICK STRUM                    32279 750TH AVE                                                 RACINE            MN         55967                 6004                Various                                                                                               $23.00
ERICKA DRINKWINE               408 SO GREEN AVE                                                NEW RICHMOND      WI         54017                 6004                Various                                                                                               $18.75
ERICKA PUOTINEN                813 S LINCOLN DR APT 4                                          HANCOCK           MI         49930                 6002                Various                                                                                                $5.04
ERICKA SHILTS                  212 E MAPLE ST                                                  STANLEY           WI         54768                 6002                Various                                                                                                $4.11
ERICKA SMRCKA                  13566 POLK ST                                                   OMAHA             NE         68137                 6004                Various                                                                                                $5.00
ERICKA UPTON                   213 W CALUMET ST              APT 4                             APPLETON          WI         54915                 6004                Various                                                                                                $7.00
ERICSON WEAH                   1546 S 1600TH E                                                 SLC               UT         84105                 6002                Various                                                                                                $9.07
ERIK ADAMS-READING             2825 E LAKE ST                                                  MINNEAPOLIS       MN         55406                 6004                Various                                                                                                $3.00
ERIK BARKER                    4020 STONE POINT DR NE                                          ROCHESTER         MN         55906                 6002                Various                                                                                                $1.48
ERIK BAUCH                     1810 HIDDEN HILL DRIVE                                          VERONA            WI         53593                 6004                Various                                                                                                $5.40
ERIK BJORNSON                  2014 7TH AVE SE                                                 AUSTIN            MN         55912                 6002                Various                                                                                               $40.00
ERIK BORK                      1339 CEDAR CREEK PRKWY                                          GRAFTON           WI         53024                 6002                Various                                                                                                $9.64
ERIK CHRISTOPHERSON            364 N BAY ST APT. B17                                           POST FALLS        ID         83854                 6004                Various                                                                                               $30.00
ERIK DENESIA                   841 E E CREEKSIDE DR                                            LAYTON            UT         84041                 6002                Various                                                                                                $8.27
ERIK FOSSUM                    814 E 5TH ST                                                    CANTON            SD         57013                 6004                Various                                                                                               $25.00
ERIK GIOVANN PAEZ              3029 W BATY DR                                                  WEST VALLEY CIT   UT         84119                 6002                Various                                                                                                $9.29
ERIK HANSEN                    12034 FORT DRAPER AVE                                           DRAPER            UT         84020                 6004                Various                                                                                               $25.00
ERIK HELWIG                    8123 HARRISON RD                                                ROCKFORD          IL         61101                 6004                Various                                                                                                $5.00
ERIK HILDEBRAND                24 W PROSPECT AVE                                               TOMAHAWK          WI         54487                 6002                Various                                                                                                $2.99
ERIK HOWES                     5019 W WHITE DIAMOND WAY                                        SALT LAKE CITY    UT         84120                 6004                Various                                                                                                $5.00
ERIK JUSTEN                    3601 E GLORY LN APT 15                                          APPLETON          WI         54913                 6002                Various                                                                                                $2.19

ERIK KOTAJARVI                 N2639 COUNTY ROAD Z LOT B29                                     DOUSMAN           WI         53118                  6002               Various                                                                                                $2.93
ERIK MARTINEZ                  21 CLARK DRIVE HWY # 28                                         SALMON            ID         83467                  6002               Various                                                                                                $8.71
ERIK NORDBERG                  N1197 COUNTY ROAD O                                             RUBICON           WI         53078                  6002               Various                                                                                                $8.90
ERIK PIIKKILA                  1501 N OWAISSA STREET                                           APPLETON          WI         54911                  6004               Various                                                                                               $37.00
ERIK SAPP                      1620 LIBERTY STREET                                             RACINE            WI         53404                  6004               Various                                                                                                $3.00
ERIK SCHULTZ                   2201 11TH ST                                                    TWO RIVERS        WI         54241                  6004               Various                                                                                                $4.00
ERIK WALLER                    1413 ST LAWERNCE AVE                                            BELOIT            WI         53511                  6002               Various                                                                                                $9.86
ERIK WEYENBERG                 1200 N OWAISSA ST                                               APPLETON          WI         54911                  6002               Various                                                                                                $2.93
ERIKA ARREOLA                  6948 E OLD OREGON TRAIL RD                                      LAVA HOT SPRING   ID         83246                  6002               Various                                                                                                $5.62
ERIKA AVALOS                   609 N WASCO AVE                                                 WAPATO            WA         98951                  6004               Various                                                                                               $17.60
ERIKA BAUER                    7470 S PORCUPINE LAKE ROAD                                      LENA              WI         54139                  6004               Various                                                                                               $25.00
ERIKA BERTRAM                  3052 WILLOW RD                                                  GREEN BAY         WI         54311                  6004               Various                                                                                               $26.21
ERIKA CLARK                    212 E PERSHING ST                                               APPLETON          WI         54911                  6002               Various                                                                                                $5.95
ERIKA CZARNECKI                206 W HIDDEN TRAIL                                              ELKHORN           WI         53121                  6004               Various                                                                                               $25.00
ERIKA DOMBROVSKI               233 24TH AVE. N.                                                SAINT CLOUD       MN         56303                  6004               Various                                                                                                $3.00
ERIKA DORIAN                   1034 RICHARDS AVE                                               WATERTOWN         WI         53094                  6004               Various                                                                                                $1.00
ERIKA GEARHART                 340 EDGEWOOD DR,                                                NEENAH            WI         54956                  6004               Various                                                                                               $25.00
ERIKA KIBBY                    870 QUAIL DR SW                                                 KALKASKA          MI         49646                  6002               Various                                                                                                $2.30
ERIKA L LUKAS                  PO BOX 778                                                      BAILEYS HARBOR    WI         54202                  6002               Various                                                                                                $7.37
ERIKA LARSEN                   7413 W LAMPLIGHTER ST                                           GARDEN CITY       ID         83714                  6002               Various                                                                                                $0.90
ERIKA PERLEWITZ                4509 PLEASANT VALLEY RD                                         GRAFTON           WI         53024                  6002               Various                                                                                                $0.49
ERIKA RAUMAKER                 11011 MANDERSON PLAZA                                           OMAHA             NE         68164                  6004               Various                                                                                               $32.00
ERIKA ROLANDO                  101 W. WHITE OAK RD.                                            FORRESTON         IL         61030                  6004               Various                                                                                               $21.00

ERIKA SPREEMAN                 P.O. BOX132                   20 2ND AVENUE NE                  PLATO             MN         55370                   6004              Various                                                                                                $3.06
ERIKA STEGMANN                 1017 N 18 ST                                                    MANITOWOC         WI         54220                   6004              Various                                                                                                $2.00
ERIKA UHLENKOTT                202 6TH AVE                                                     LEWISTON          ID         83501                   6004              Various                                                                                                $3.65




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              Creditor Name                Address1             Address2           Address3             City        State           Zip   Country     Number                Claim                                                                             Total Claim
ERIKA VYE                      312 IROQUOIS ST                                                  CALUMET          MI         49913                 6002                Various                                                                                                $6.60
ERIKA WALTMAN                  12275 376TH AVE                                                  ABERDEEN         SD         57401                 6004                Various                                                                                               $20.00
ERIKA WALZ                     302 16TH AVE N                                                   SARTELL          MN         56377                 6004                Various                                                                                               $62.58
ERIKA WORKMAN                  1210 WELLS CRT APT 8                                             LINCOLN          NE         68505                 6002                Various                                                                                                $2.05
ERIM COMAK                     2976 SONORA DR                                                   IDAHO FALLS      ID         83404                 6002                Various                                                                                                $6.22
ERIN A ALF                     121 W LIND ST APT 3                                              MANKATO          MN         56001                 6002                Various                                                                                                $6.68
ERIN BEIRNE                    702 32ND CT NE                                                   ROCHESTER        MN         55906                 6002                Various                                                                                                $9.34
ERIN BLACK                     5109 W LINCOLN AVE                                               YAKIMA           WA         98908                 6004                Various                                                                                                $1.00
ERIN BRENNAN                   9681 W BLUE MEADOWS                                              BOISE            ID         83709                 6002                Various                                                                                                $7.59
ERIN BREWINGTON                43627 860TH ST                                                   LAKEFIELD        MN         56150                 6002                Various                                                                                                $8.88
ERIN BRICCO                    201 S PINE ST                                                    WEYAUWEGA        WI         54983                 6002                Various                                                                                                $9.37
ERIN BULLOCH                   7697 BATTLEFIELD COVE                                            WEST JORDAN      UT         84084                 6004                Various                                                                                               $25.00
ERIN CLARK                     2800 3RD AVE S                                                   GREAT FALLS      MT         59405                 6004                Various                                                                                                $1.02
ERIN DEMAY                     9 S JOHN ST                                                      MAYVILLE         WI         53050                 6002                Various                                                                                                $0.58
ERIN DERCKS                    525 MARGARET ST                                                  COMBINED LOCKS   WI         54113                 6002                Various                                                                                                $1.37
ERIN DORAN                     3624 8TH AVE N                                                   GREAT FALLS      MT         59401                 6002                Various                                                                                                $7.78
ERIN DUEBNER                   528 FOREST AVE                                                   FOND DU LAC      WI         54935                 6002                Various                                                                                                $2.11
ERIN FERN                      1178 15TH AVE                                                    DEER PARK        WI         54007                 6002                Various                                                                                                $1.32
ERIN HILLIARD                  527 WOODLAND AVE                                                 LAUREL           MT         59044                 6004                Various                                                                                                $5.00
ERIN HILTS                     28639 COUNTY LAND RD                                             PELKIE           MI         49958                 6002                Various                                                                                                $2.19
ERIN JOHNSON                   118 PLEASANT AVE                                                 MEADOW GROVE     NE         68752                 6004                Various                                                                                               $30.00
ERIN KRUGER                    100 SIMON ST # 32                                                EAST WENATCHEE   WA         98802                 6004                Various                                                                                               $34.98
ERIN L PEDERSON                37206 LITTLE OAK LN                                              NORTH BRANCH     MN         55056                 6002                Various                                                                                                $7.56
ERIN LESLIE                    1026 RAID ROAD AVE                                               BOYCEVILLE       WI         54725                 6004                Various                                                                                               $35.00

ERIN LIETAERT                  4009 YORKSHIRE COURT NORTH                                       BILLINGS         MT         59101                  6004               Various                                                                                                $2.00
ERIN LITTLE                    28700 315TH AVENUE                                               BARRY            IL         62312                  6004               Various                                                                                               $10.00
ERIN LONGWORTH                 731 OAK ST                                                       OSHKOSH          WI         54901                  6002               Various                                                                                                $1.51
ERIN M MCLAGAN                 911 HOWARD ST                                                    RIVER FALLS      WI         54022                  6002               Various                                                                                                $2.66
ERIN MIKKALSON                 5920 BANDEL ROAD NW          APT 403                             ROCHESTER        MN         55901                  6004               Various                                                                                                $3.00
ERIN MITCHELL                  PO BOX 81                                                        GREEN RIVER      WY         82935                  6002               Various                                                                                                $1.23
ERIN MOST                      1859 WISCONSIN ST                                                RIVER FALLS      WI         54022                  6004               Various                                                                                               $69.98
ERIN MURPHY-UNTZ               N7432 HIGHWAY 65                                                 RIVER FALLS      WI         54022                  6002               Various                                                                                                $6.93
ERIN MURRAY                    W236N6238 HICKORY DR                                             SUSSEX           WI         53089                  6002               Various                                                                                                $1.53
ERIN NICHOLS                   56256 UNION ST                                                   CALUMET          MI         49913                  6002               Various                                                                                                $8.71
ERIN PARKER                    1730 S OAKWOOD RD                                                OSHKOSH          WI         54904                  6004               Various                                                                                               $14.20
ERIN PINGEL                    879 E ERIN CIRCLE                                                BELOIT           WI         53511                  6004               Various                                                                                               $23.00
ERIN PLISCH                    5715 MAIN ST                 `                                   MCFARLAND        WI         53558                  6004               Various                                                                                                $5.40
ERIN POTTHIER                  1440 SHIRLEY ST.                                                 GREEN BAY        WI         54304                  6004               Various                                                                                                $1.98
ERIN PRUITT                    604 W MAIN ST                                                    PALMYRA          WI         53156                  6004               Various                                                                                               $25.00
ERIN RAND                      3805 COLLEGE ST SE UNIT 95                                       LACEY            WA         98503                  6004               Various                                                                                               $33.00
ERIN ROVINSKI                  2271 HILLTOP DR                                                  GREEN BAY        WI         54313                  6002               Various                                                                                                $3.84
ERIN SCHILKE                   409 W VALLEY RD APT 201                                          APPLETON         WI         54915                  6002               Various                                                                                                $3.56
ERIN SHEPARD                   4717 ELDORADO LN                                                 MADISON          WI         53716                  6004               Various                                                                                               $36.00

ERIN SKOIEN                    650 SOUTH VAN BUREN STREET                                       STOUGHTON        WI         53589                  6004               Various                                                                                               $26.00
ERIN STEWART                   HC 6 BOX 369C                                                    DONIPHAN         MO         63935                  6002               Various                                                                                                $5.15
ERIN STORCK                    647 LINCOLN ST                                                   WYANDOTTE        MI         48192                  6002               Various                                                                                                $6.00
ERIN STRONG                    3153 HALE ST                                                     SIOUX CITY       IA         51103                  6004               Various                                                                                                $5.00
ERIN TAMAR                     9167 SMOKE THORN RD                                              BELVIDERE        IL         61008                  6002               Various                                                                                                $2.88
ERIN TRAKEL                    704 HENRY ST                                                     KEWAUNEE         WI         54216                  6002               Various                                                                                                $0.60
ERIN WATTIER                   15 WEST 10TH AVE                                                 WEBSTER          SD         57274                  6004               Various                                                                                                $5.02
ERINN E AUBRY                  215 BITTERS AVE                                                  OCONTO           WI         54153                  6002               Various                                                                                                $0.38
ERINN THOMAS                   13706 HARRISON PLAZA         APT 505                             OMAHA            NE         68137                  6004               Various                                                                                                $4.00




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                                                                                                                                                                                                                                              Claim subject to offset?
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                                                                                                                                                                                                       Contingent


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                                                                                                                                                              Last 4 Digits of     Date Debt was
                                                                                                                                                                 Account         Incurred, Basis for
            Creditor Name                        Address1                Address2             Address3           City          State           Zip   Country     Number                Claim                                                                             Total Claim
ERLAND O SCHWARTZ                     873 E MEMORIAL DR                                                  JANESVILLE         WI         53545                 6002                Various                                                                                                $7.29
ERMA CROSS                            1648 FOXGLOVE AVE                                                  RICHLAND           WA         99352                 6002                Various                                                                                                $3.33
ERMA JONES                            1705 CAVENDISH HWY                                                 OROFINO            ID         83544                 6004                Various                                                                                               $12.32
ERMA KLAUS                            827 REBER ST.                                                      GREEN BAY          WI         54302                 6004                Various                                                                                                $1.00

ERMA ROSEN                            130 W BELLE VUE RD/ LUTZ WIN                                       FAIRMONT           MN         56031                  6002               Various                                                                                               $10.00
ERNA RAULINAITUS                      16 MEDICINE ROCK RD                                                COLUMBUS           MT         59019                  6002               Various                                                                                                $0.27
ERNEST HANSEN                         970 WATERMOLEN AVENUE                                              GREEN BAY          WI         54304                  6004               Various                                                                                               $10.00
ERNEST HEY                            203 FOREST DRIVE                                                   KALISPELL          MT         59901                  6004               Various                                                                                               $43.02
ERNEST HOWARD                         1302 S 10TH ST APT 17                                              PLATTSMOUTH        NE         68048                  6002               Various                                                                                                $6.58
ERNEST JOHNSON                        311 E PINE ST                                                      RAWLINS            WY         82301                  6002               Various                                                                                                $5.73
ERNEST JUDD                           1924 GEMINI DR                                                     NAMPA              ID         83651                  6002               Various                                                                                                $0.41
ERNEST LEHL                           4879 CTY RD A                                                      OSHKOSH            WI         54904                  6002               Various                                                                                                $9.59
ERNEST ROBINSON                       7950 CANYON FERRY RD                                               HELENA             MT         59601                  6004               Various                                                                                               $20.00

ERNEST SMITH                          1820 OAK ST., APT. 4                                               WISCONSIN RAPIDS   WI         54494                  6004               Various                                                                                                $3.00
ERNEST THOMAS                         120 N BROADWAY                 APT 414                             ROCHESTER          MN         55906                  6004               Various                                                                                                $6.00
ERNEST TUGGLE                         382 MORRIS STREET                                                  FOND DU LAC        WI         54935                  6004               Various                                                                                               $30.00
ERNEST UPSHAW                         950 HIGHLAND BLVD                                                  POCATELLO          ID         83204                  6002               Various                                                                                                $5.84
ERNEST VAN STEDUM                     7256 CTY ROAD HH                                                   VESPER             WI         54489                  6004               Various                                                                                                $5.00
ERNESTINA ALTAMIRA                    4710 E HAXEL H                                                     HART               MI         49420                  6002               Various                                                                                                $6.93
ERNESTINE MORA                        472 MONROE BLVD                                                    OGDEN              UT         84404                  6002               Various                                                                                                $2.08
ERNIE ANDRUS                          801 UNION AVE                                                      SALMON             ID         83467                  6002               Various                                                                                                $8.25
ERNIE BELINE                          805 N LAFAYETTE ST                                                 DONIPHAN           MO         63935                  6002               Various                                                                                                $5.75
ERNIE LEWIS                           951 E ELVA                                                         IDAHO FALLS        ID         83401                  6004               Various                                                                                               $19.08
ERNST GRABOWSKI                       PO BOX 488                                                         NECEDAH            WI         54646                  6002               Various                                                                                                $0.36
ERO DOMINGUEZ                         4212 SOUTH 26TH STREET                                             OMAHA              NE         68107                  6004               Various                                                                                                $7.50

ERON & GEE / HERMANS PLG & HEATING    1111 ALTON STREET                                                  WISCONSIN RAPIDS   WI         54495                                     Various                                                                                         $2,745.62
                                      609 SOUTH STATE STREET APT
ERONN SWAIN                           202                                                                MANKATO            MN         56001                  6004               Various                                                                                             $3.06
ERTHEL UPTON                          434N KLAGSTAD RD                                                   MANISTIQUE         MI         49854                  6002               Various                                                                                             $6.14
ERTRAM LARGE                          33 PLUNKETT FIELD RD                                               LANDER             WY         82520                  6002               Various                                                                                             $5.21
ERVIN SERVAIS                         1015 SHEA AVE                                                      GREEN BAY          WI         54303                  6002               Various                                                                                             $7.92
ERWIN HAGEN                           20C FIESTA CT                                                      APPLETON           WI         54911                  6002               Various                                                                                             $6.55
ERWIN JASMAN                          1707 TONYA TRL                                                     NEENAH             WI         54956                  6002               Various                                                                                             $6.16
ERWIN KOEPP                           438 ST ANDREWS TRAIL                                               WEST BEND          WI         53095                  6004               Various                                                                                            $54.00
ERX NETWORK                           PO BOX 25485                                                       SALT LAKE CITY     UT         84125-0485             3708               Various                                                                                       $112,252.80
ESAU BARRERA                          W8844 SMOCK VALLEY RD                                              MONROE             WI         53566                  6002               Various                                                                                             $8.99
ESCALADE SPORTS                       INDIAN INDUSTRIES INC          DEPT 78880         PO BOX 78000     DETROIT            MI         48278-0880             6100               Various                                                                                       $151,205.41
ESMERALDA CARRILLOALVARADO            125 WILLOW ST                                                      LYND               MN         56157                  6002               Various                                                                                             $5.86
ESMERALDA HUIZAR                      1618 MARION RD SE TRLR 118                                         ROCHESTER          MN         55904                  6002               Various                                                                                             $4.25
ESMERALDA MUNOZ                       5404 S 48TH AVE                                                    OMAHA              NE         68117                  6004               Various                                                                                            $57.96
ESSAM AL MUGOTIR                      3600 N.W. MICHAEL ST                                               LINCOLN            NE         68524                  6004               Various                                                                                             $4.00
                                                                     1933 HIGHLAND
ESSCO ACQUISITION CORP (DYSON)        VICE PRESIDENT OF SALES        ROAD                                TWINSBURG          OH         44087                   4133              Various                                                                                        $43,951.58
                                      UNITED STATIONERS FINANCIAL
ESSENDANT CO                          SERVICES                       PO BOX 7780 1724                    PHILADELPHIA       PA         19182-1724             9381               Various                                                                                     $1,617,912.83
ESSICA DEMARY                         1028 5TH ST SW                                                     SIDNEY             MT         59270                  6002               Various                                                                                             $7.12
ESSILOR OF AMERICA DBA X-CEL          BOX 815489                                                         DALLAS             TX         75381-5489             4211               Various                                                                                         $4,152.40
                                                                     N7537 HOFFMAN
ESTATE OF ALICE JANSSEN               C/O DIANE SCHMIDT              LANE                                GRESHAM            WI         54128                   6002              Various                                                                                                $1.00

ESTATE OF BEVERLY BIARD               4605 VALDRES SPRINGS COURT                                         WESTON             WI         54476                  6002               Various                                                                                           $302.67




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                                                                              Schedule E/F: Part 2 - Creditors With Nonpriority Unsecured Claims




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                                                                                                                                                            Account       Incurred, Basis for
             Creditor Name               Address1                     Address2          Address3          City            State           Zip   Country     Number              Claim                                                                             Total Claim
ESTATE OF CHARLES JANDOUREK     4026 TOWN LAKE CIRCLE                                              GRAND CHUTE       WI           54913                 6002              Various                                                                                               $17.72
                                                               6832 COUNTY ROAD
ESTATE OF DORIS LEITERITZ       C/O DIANE LEITERITZ            X                                   CLEVELAND         WI           53015                   6002            Various                                                                                                $7.80
ESTATE OF GERALD CASTO          3300 CHARLES J MILLER RD                                           MCHENRY           IL           60050                   6002            Various                                                                                               $45.17
                                                               1324 W OLD BAY
ESTATE OF IRENE HEIDER          C/O KATHLEEN TREUTELAAR        ROAD                                JOHNSBERG         IL           60051                   6002            Various                                                                                               $28.84
                                                               3526 TENTH
ESTATE OF JACK HAVRON           C/O JEFFREY HAVRON             AVENUE                              KENOSHA           WI           53140                   6002            Various                                                                                                $6.19
ESTATE OF LAWRENCE ROTH         C/O BERNADETTE ARP             1215 E HASING DR                    APPLETON          WI           54915                   6002            Various                                                                                                $0.23
                                                               3217 FIDDLERS
ESTATE OF LAWRENCE TIMMERMAN    C/O JUDY TIMMERMAN             CREEK DRIVE                         WAUKESHA          WI           53188                   6002            Various                                                                                                $1.99

                                                               W1661
ESTATE OF MARIJULE HUFFAR       C/O COLLEEN VANDERLOOP         HARVESTORE ROAD                     BRILLION          WI           54110                   6002            Various                                                                                               $22.80
ESTATE OF MARY R FISHER         C/O LINDA NIEMIEC              805 E MAIN ST                       CAREY             IL           60013                   6002            Various                                                                                               $15.00
ESTATE OF ROSEMARY BLESSE       ATTN: MONICA BLESSE POOLE      104 JAMIE CT                        JACKSONVILLE      IL           62650                   6002            Various                                                                                               $69.82

ESTATE OF ROY PARKER            C/O ROBERT PARKER              5506 SARAH DRIVE                    JOHNSBURG         IL           60051                   6002            Various                                                                                                $0.85
ESTATE OF SHIRLEY TEBEAU        C/O REBECCA TEBEAU             2322 NAVAJO RD                      JANESVILLE        WI           53545                   6002            Various                                                                                                $2.34
ESTATE OF VIRGINIA BENSON       5323 N PARK                                                        FREDONIA          WI           53021                   6002            Various                                                                                               $30.00
ESTEBAN HERNANDEZ               108 16TH ST SE APT 36                                              ROCHESTER         MN           55904                   6002            Various                                                                                                $6.93
ESTEBAN LOPEZ-VILLANUEVA        147 N. HYER LANE - #6                                              WHITEWATER        WI           53190                   6004            Various                                                                                                $2.00
ESTEBAN MARTINEZ                123 MAIN STREET                                                    JEFFERSON         WI           53549                   6004            Various                                                                                                $2.00
ESTEBAN SOLIS                   1272 W PALMER ST                                                   FREEPORT          IL           61032                   6002            Various                                                                                                $6.85
ESTEFANIA BORJA                 6 N BORAH WAY                                                      NAMPA             ID           83651                   6004            Various                                                                                               $40.00
ESTELA LOPEZ DE GUERRA          439 E 6TH ST                                                       CRETE             NE           68333                   6002            Various                                                                                                $8.99
ESTELLE CROUCH                  755 RIVER VIEW DR APT 6                                            GREEN RIVER       WY           82935                   6002            Various                                                                                                $2.08
ESTER LOANZON                   PO BOX 1025                                                        OSBURN            ID           83849                   6002            Various                                                                                                $4.85
ESTERLITO ESCULTO               1106 9TH ST APT C                                                  WHEATLAND         WY           82201                   6002            Various                                                                                                $1.21

ESTEVAN SANCHEZ                 N4895 RIDGE PRARIE SCHOOL RD                                       DELAVAN           WI           53115                   6004            Various                                                                                               $24.00
ESTHER A PETERSON               1140 TERRY DR                                                      IDAHO FALLS       ID           83404                   6002            Various                                                                                               $10.00
ESTHER ANDERSEN                 2202 S HIGBEE AVE                                                  IDAHO FALLS       ID           83404                   6002            Various                                                                                                $2.96
ESTHER BARNES                   PO BOX 295                                                         LAONA             WI           54541                   6002            Various                                                                                                $1.28
ESTHER ERICKSON                 510 CHESTNUT ST                                                    WISCONSIN RAPID   WI           54494                   6002            Various                                                                                                $7.32
ESTHER GILBERTSON               5676 JOCHMANN DR                                                   APPLETON          WI           54915                   6002            Various                                                                                                $4.66
ESTHER LAY                      834 LAKE BLVD                                                      REDDING           CA           96003                   6002            Various                                                                                                $0.36
ESTHER LISELL                   320 MAIN AVE N                                                     ROSEAU            MN           56751                   6002            Various                                                                                                $8.05
ESTHER LOPEZ                    2427 S 48TH ST                                                     OMAHA             NE           68106                   6002            Various                                                                                                $5.42
ESTHER MILLER                   321 N MAPLE ST                                                     AINSWORTH         NE           69210                   6002            Various                                                                                               $11.23
ESTHER NANEVILLE                PO BOX 194T PMB 5516                                               ATLANTIC MINE     MI           49905                   6002            Various                                                                                                $8.77
ESTHER OJEDA                    3178 W. LEHI DR                                                    SALT LAKE CITY    UT           84119                   6004            Various                                                                                               $38.00
ESTHER PEREZ                    420 CHATEAU DRIVE APT A                                            BELLEVUE          NE           68005                   6004            Various                                                                                                $4.00
ESTHER RIGNEY                   432 LANE NO 2                                                      ALLIANCE          NE           69301                   6002            Various                                                                                                $8.66
ESTHER WALTER                   7924 E. 18TH                                                       SPOKANE           WA           99212                   6004            Various                                                                                               $20.89
ESTHER WATKINS                  PO BOX 44                                                          ALZADA            MT           59311                   6002            Various                                                                                                $1.32
                                                               2703 MURRAY
ESTHERVILLE RED POWER           WESTER RED POWER               ROAD               PO BOX 117       ESTHERVILLE       IA           51334                   3674            Various                                                                                               $76.27
ESTLE REED                      4959 W 6TH ST                  APT 2                               WINONA            MN           55987                   6004            Various                                                                                               $20.00
ESTRELLA ARELLANO               522 1/2 S STATE ST                                                 BELVIDERE         IL           61008                   6004            Various                                                                                                $3.90
ETHAN BRATTON                   52 LINKS LN                                                        WINONA            MN           55987                   6002            Various                                                                                                $8.88
ETHAN BROWN                     W5230 HILLDALE DRIVE                                               PORTERFIELD       WI           54143                   6002            Various                                                                                               $15.15
ETHAN BRYANT                    4148 S 17TH ST                                                     LINCOLN           NE           68502                   6004            Various                                                                                               $60.00
ETHAN CARLSON                   2727 PADDOCK PLAZA             151C                                OMAHA             NE           68124                   6004            Various                                                                                               $27.00




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             Creditor Name                   Address1                 Address2         Address3             City         State           Zip   Country     Number                Claim                                                                             Total Claim
ETHAN CHAVEZ PARRIS              775 GRACE AVE                                                      IDAHO FALLS       ID         83401                 6004                Various                                                                                             $3.65
ETHAN CORBIN                     1933 S FOX TRAIL                                                   SIOUX FALLS       SD         57103                 6004                Various                                                                                            $20.02
ETHAN DAHLBERG                   808 7TH AVE N                                                      PRINCETON         MN         55371                 6002                Various                                                                                             $2.77
ETHAN GROOM                      W6704 FRANKLIN RD                                                  MONROE            WI         53566                 6004                Various                                                                                             $1.00
ETHAN GUNNELL                    718 RANDY DR                                                       IDAHO FALLS       ID         83401                 6004                Various                                                                                            $23.00
ETHAN HORST                      UPDATE                                                             GRAYSON           KY         41143                 6002                Various                                                                                             $7.95
ETHAN LYONS                      1008 CHERRY ST                  APT. 1                             GREEN BAY         WI         54301                 6004                Various                                                                                             $2.00
ETHAN MATTHEW                    222 LORRAINE AVENUE                                                NEENAH            WI         54956                 6004                Various                                                                                             $1.00
ETHAN MEEHAN                     402 N JEFFERSON ST                                                 WHITEWATER        WI         53190                 6004                Various                                                                                             $2.00
ETHAN MEYER                      3109 LINCOLN AVE                                                   TWO RIVERS        WI         54241                 6004                Various                                                                                             $1.00
ETHAN OSBORN                     650 QUARTERLINE ST                                                 NEWAYGO           MI         49337                 6002                Various                                                                                             $3.95
ETHAN RUSSELL-WYNINGS            675 18TH ST NE                                                     SALEM             OR         97301                 6004                Various                                                                                            $16.98
ETHAN RYAN                       2104 LINCOLN AVE APT 3C                                            HARLAN            IA         51537                 6002                Various                                                                                             $1.51
ETHAN SATTLER                    133 E REES ST                                                      FOND DU LAC       WI         54935                 6004                Various                                                                                             $3.00
ETHAN SCHIESL                    314 S WALNUT ST                                                    KIMBERLY          WI         54136                 6002                Various                                                                                             $7.40
ETHAN SCHMITT                    1445 HIGHWAY 71                                                    AUDUBON           IA         50025                 6002                Various                                                                                             $4.47
ETHAN SCHWABE                    809 WARBLER LN                                                     NEENAH            WI         54956                 6004                Various                                                                                            $25.00
ETHAN SPANA                      N51W5838 PORTLAND RD                                               CEDARBURG         WI         53012                 6004                Various                                                                                            $60.00
ETHAN STOKER                     1029 WHITE HORSE RIDGE DR                                          MIDDLETON         ID         83644                 6004                Various                                                                                             $3.65
ETHAN VITENSE                    5841 POND RD.                                                      MADISON           WI         53718                 6004                Various                                                                                            $10.00
ETHAN WOOTERS                    20256 GLENMORE                  APT#36                             GRETNA            NE         68028                 6004                Various                                                                                             $2.00
ETHEL BARTLING                   3501 S TERRY                                                       SIOUX FALLS       SD         57106                 6004                Various                                                                                            $10.40
ETHEL BROCKMAN                   N401 TAMARACK DR                                                   APPLETON          WI         54915                 6002                Various                                                                                             $4.96
ETHEL JIRKA                      SOUTH LAKE VILLAGE                                                 LINCOLN           NE         68510                 6004                Various                                                                                             $2.00
ETHEL RUTH GROVER                234 FOXBOROUGH LN                                                  LE SUEUR          MN         56058                 6002                Various                                                                                             $1.66
ETHEN WEBB                       5645 IRISH GROVE RD.                                               DAVIS             IL         61019                 6004                Various                                                                                            $20.00
ETHICAL PRODUCTS INCORPORATED    VICE PRESIDENT OF SALES         27 FEDERAL PLAZA                   BLOOMFIELD        NJ         07003                 2610                Various                                                                                        $21,939.77
                                                                                                                                                                           12/4/2018 -
EUC-WATER AND LIGHT, MN          2210 E SHERIDAN STREET, STE 1                                      ELY               MN         55731                  2-00-6             1/3/2019                                                                                        $3,008.93
EUDELIA OLIVAREZ                 911 GARDNER ST                                                     WISCONSIN RAPID   WI         54495                  6002               Various                                                                                             $0.38
EUFRACIA MARTINEZ                203 LIEDERS ST APT B                                               COLBY             WI         54421                  6002               Various                                                                                             $2.88
EUGEN DINA                       17628 N PARKDALE AVE                                               NAMPA             ID         83687                  6004               Various                                                                                            $16.00
EUGENE ALLAN BARKER              2605 E GRANDVIEW DR                                                SANDY             UT         84092                  6002               Various                                                                                             $2.38
EUGENE BERNEKING                 1752 LIBERTY STREET                                                MORA              MN         55051                  6004               Various                                                                                             $3.30
EUGENE BRICKMAN                  9349 W. RUSTICA DRIVE                                              BOISE             ID         83709                  6004               Various                                                                                            $20.00
EUGENE BROWAN                    2317 4TH AVE                                                       STEVENS POINT     WI         54481                  6002               Various                                                                                            $10.00
EUGENE CLIFF SZYMCHACK           94 HARDWOOD LN SE                                                  KALKASKA          MI         49646                  6002               Various                                                                                             $0.77
EUGENE CUTHBERT                  3658 STOCKMAN RD                                                   POCATELLO         ID         83201                  6004               Various                                                                                            $10.00
EUGENE E OTT                     N2562 CTY TRUNK N                                                  FORT ATKINSON     WI         53538                  6002               Various                                                                                             $7.73
EUGENE EBERT                     3635 HIGHWAY 16                                                    OSAGE             WY         82723                  6002               Various                                                                                             $3.32
EUGENE ESTHER                    5525 POPLAR CT SE                                                  SALEM             OR         97306                  6004               Various                                                                                             $2.98
EUGENE G HOHLFELD                1607 VIKING AVE                                                    HOLMEN            WI         54636                  6002               Various                                                                                             $7.84
EUGENE GOULD                     815 N. 58TH AVENUE                                                 WEST RICHLAND     WA         99353                  6004               Various                                                                                            $59.67
EUGENE HUDDLESTON                BOX 22                                                             RAMONA            SD         57054                  6002               Various                                                                                             $0.58
EUGENE JESSUP                    725 AMBER LN                                                       NEENAH            WI         54956                  6002               Various                                                                                             $0.47
EUGENE LAMOREAUX                 3851 CLIFFSIDE PL APT 13                                           LA CROSSE         WI         54601                  6002               Various                                                                                             $0.44
EUGENE LINCICUM                  501 W GROVE ST APT                                                 SOUTH WAYNE       WI         53587                  6002               Various                                                                                             $0.82
EUGENE LOWE                      7169 MARSHALL RD                                                   WATERLOO          WI         53594                  6002               Various                                                                                             $8.90
EUGENE M SLY                     11405 HIGHWAY # M-38                                               PELKIE            MI         49958                  6002               Various                                                                                             $8.22
EUGENE MCKAY                     619 N 31ST #5                                                      BILLINGS          MT         59101                  6004               Various                                                                                            $15.00
EUGENE MCKENNA                   912 E. PARKWAY AVE.                                                OSHKOSH           WI         54901                  6004               Various                                                                                             $4.55
EUGENE ROBILLARD                 5130 33RD AVE                                                      KENOSHA           WI         53144                  6002               Various                                                                                             $5.95
EUGENE SLATTERY                  3716 CTY RD P                                                      JUNCTION CITY     WI         54443                  6004               Various                                                                                            $64.79
EUGENE VOHEN                     W8147 COUNTY ROAD W                                                BEAVER DAM        WI         53916                  6002               Various                                                                                             $7.53




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                              1701 W 25TH STREET (HOLY
EUGENE WALDING                SPIRIT)                                                            SIOUX CITY         IA       51103                   6004               Various                                                                                               $10.40
EUGENE WITTIG                 S 5621 MAGNOLIA                                                    SPOKANE            WA       99223                   6004               Various                                                                                               $38.77
EUGENIA KOSKI                 RT BOX # 175A                                                      LAKE LINDEN        MI       49945                   6002               Various                                                                                                $1.40

EUGENIA PEREZ                 1222 WHISPHERING PINES DRIVE                                       DELAVAN            WI       53115                   6004               Various                                                                                               $25.00
EUGENIO CALLEJAS              312 SEIFERT ST                                                     LANSE              MI       49946                   6002               Various                                                                                                $3.07
EUGENIO LOPEZ VICUNA          2433 RIVERSIDE DR. LOT 25                                          BELOIT             WI       53511                   6004               Various                                                                                               $20.00
EULALIA GOMEZ                 2409 ST LAWRENCE AVE                                               BELOIT             WI       53511                   6004               Various                                                                                               $25.00
EUNICE KOHLHEPP               120 W GARDEN ST                                                    CHIPPEWA FALLS     WI       54729                   6002               Various                                                                                                $2.11
EUNICE MOXLEY                 905 NW 5TH ST                                                      ANDREWS            TX       79714                   6002               Various                                                                                                $5.97
EUNICE WIENS                  252 TOEWS RD                                                       WOLF POINT         MT       59201                   6002               Various                                                                                                $3.33

EURO CUISINE INC (C-HUB)      C-HUB                          6320 CLARA STREET                   BELL GARDENS       CA       90201                   1810               Various                                                                                           $191.00
EUSTOLIA MINDIOLA             610 W 100 N                                                        SMITHFIELD         UT       84335                   6004               Various                                                                                            $69.01
EUSTOLIA RODRIGUEZ            7668 S 1570TH W                                                    WEST JORDAN        UT       84084                   6002               Various                                                                                             $0.30
EVA ADSITT                    154 PARADISE DR                                                    KAMIAH             ID       83536                   6002               Various                                                                                             $4.99
EVA CULTEE                    1007 S. 18TH AVE               APT. C                              YAKIMA             WA       98902                   6004               Various                                                                                            $15.02
EVA DITTRICH                  501 11TH AVE SE                                                    ROCHESTER          MN       55904                   6002               Various                                                                                             $9.45
EVA GRIMES                    PO BOX 402                                                         EKALAKA            MT       59324                   6002               Various                                                                                             $9.81
EVA JEAN MEENDERINK           PO BOX 29                                                          LAVA HOT SPRING    ID       83246                   6002               Various                                                                                             $7.37
EVA KOLD                      630 MADISON STREET             #7                                  BRILLION           WI       54110                   6004               Various                                                                                            $15.00
EVA M DUKERSCHEIN             4002 TOBAN DR                                                      MADISON            WI       53704                   6002               Various                                                                                             $9.59

EVA SCHMIDT                   16 BLACK OAK CIR                                                   WISCONSIN RAPIDS   WI       54495                   6004               Various                                                                                                $1.00
EVA SHOTWELL                  517 NORTHPORT DR #5                                                MADISON            WI       53704                   6004               Various                                                                                                $2.00
EVA VAN NEST                  2232 42DN AVE SE               SPACE 786                           SALEM              OR       97317                   6004               Various                                                                                                $2.98
EVA WREN                      13950 FORD DR                                                      MARQUETTE          MI       49855                   6002               Various                                                                                                $2.19
EVA YOUNG                     2041 MONTICELLO DR                                                 IDAHO FALLS        ID       83404                   6002               Various                                                                                                $6.79
EVALEE CROW                   4000 SW AVE                                                        SIOUX FALLS        SD       57105                   6002               Various                                                                                                $5.04
EVALOTTE UHLIG                1533 ELLIS ST                                                      GREEN BAY          WI       54302                   6002               Various                                                                                                $3.73
EVAN CRETNEY                  2909 STEVENS ST                                                    MADISON            WI       53705                   6004               Various                                                                                                $2.00
EVAN HEARN                    PO BOX 350                                                         GLENWOOD           NE       71943                   6002               Various                                                                                                $0.63
EVAN HOBBS                    1208 S 31ST AVE                                                    YAKIMA             WA       98908                   6004               Various                                                                                                $7.00
EVAN HULBERT                  104 W UNION ST                                                     IONIA              IA       50645                   6002               Various                                                                                                $3.10
EVAN K ATKINSON               PO BOX 40, 107 N OSBORNE                                           LONG PINE          NE       69217                   6002               Various                                                                                                $5.97
EVAN KREBSBACH                3621 HIGHWAY 40 # 23                                               COLUMBIA FALLS     MT       59912                   6002               Various                                                                                                $2.08
EVAN MASON                    142 N 20TH ST                                                      HOT SPRINGS        SD       57747                   6002               Various                                                                                                $7.29
EVAN MICHAEL YOUNG            1612 S PERKINS ST                                                  APPLETON           WI       54914                   6002               Various                                                                                                $7.92
EVAN MILTON                   8723 WILLIAM ST                                                    OMAHA              NE       68124                   6002               Various                                                                                                $2.93
EVAN MLSNA                    1117 IMPERIAL CIRCLE           #402                                EAU CLAIRE         WI       54701                   6004               Various                                                                                               $26.40
EVAN OLSON                    2721 HICKORY DRIVE                                                 PLOVER             WI       54467                   6004               Various                                                                                                $4.00
EVAN ROBERT PETERSON          W5803 ROCK RD                                                      BLACK CREEK        WI       54106                   6002               Various                                                                                                $7.12
EVAN ROSA                     331 BALZERACK DR APT 3                                             MANKATO            MN       56001                   6004               Various                                                                                                $3.36
EVAN RUSMISEL                 823 ST LAWRENCE AVE                                                BELOIT             WI       53511                   6004               Various                                                                                               $25.00
EVAN SAYRE                    W6650 690TH AVE                                                    BELDENVILLE        WI       54003                   6002               Various                                                                                                $6.19
EVAN SCHRADER                 1831 REMMINGTON CT                                                 FREEPORT           IL       61032                   6004               Various                                                                                                $9.75
EVAN W LINDSEY                1222 CENTRAL AVE                                                   AUBURN             NE       68305                   6002               Various                                                                                                $6.30
EVAN WILLIS                   76 EAST FOLLET ST                                                  FOND DU LAC        WI       54935                   6004               Various                                                                                                $3.00
EVAN ZABORSKI                 7330 WOODENSHOE RD                                                 NEENAH             WI       54956                   6004               Various                                                                                                $2.00
EVAN ZANTOW                   4511 PUTTER FR APT 3                                               EAU CLAIRE         WI       54701                   6002               Various                                                                                                $1.40
EVANGELINA RIOS               211 N PIONER                                                       LYONS              KS       67554                   6002               Various                                                                                                $4.27
EVANGELINE FOWLER             818 WEBSTER                                                        FAIRMONT           MN       56031                   6004               Various                                                                                                $5.00
EVE BYRON                     3855 OSPREY RIDGE DR                                               EAST HELENA        MT       59635                   6002               Various                                                                                                $8.52




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             Creditor Name                   Address1                Address2         Address3             City         State           Zip   Country     Number                Claim                                                                             Total Claim
EVE LANYI                         PO BOX 342                                                       SAINT FRANCIS     SD         57572                 6002                Various                                                                                                $3.75
EVE R. HAYS                       111 N 8TH ST                                                     THERMOPOLIS       WY         82443                 6002                Various                                                                                               $10.00
EVE SANDO                         2832 WELLINGTON DRIVE EAST                                       EAU CLAIRE        WI         54703                 6004                Various                                                                                               $23.00
EVELIA HERNANDEZ                  7668 SOUTH 41ST AVE                                              BELLEVUE          NE         68147                 6004                Various                                                                                               $50.00

EVELYN ANGELI                     5063 COUNTRY CLUB BEACH RD                                       PORT WASHINGTON   WI         53074                  6002               Various                                                                                                $5.48
EVELYN CANO                       215 HIGH LINE ST               APT 5                             BELVIDERE         IL         61008                  6004               Various                                                                                                $3.90
EVELYN CARROLL                    1414 EAST LEXINGTON BLVD                                         EAU CLAIRE        WI         54701                  6004               Various                                                                                                $7.06
EVELYN GARCIA                     5534 LAKE POINTE DR # 2A                                         MURRAY            UT         84107                  6002               Various                                                                                                $4.99
EVELYN HARRINGTON                 560 ST MARYS BLVD                                                GREEN BAY         WI         54301                  6002               Various                                                                                                $7.37
EVELYN HOEFFNER                   1135 S DOUGLAS AVE                                               LYONS             KS         67554                  6002               Various                                                                                                $3.12
EVELYN JOHNSON                    RR 3 BOX 6677                                                    DONIPHAN          MO         63935                  6002               Various                                                                                                $4.71
EVELYN KNEPPRATH                  9330 PARK ST                                                     KEWASKUM          WI         53040                  6002               Various                                                                                                $8.79
EVELYN KUHL                       300 ONEIL ST                                                     LAKE MILLS        WI         53551                  6002               Various                                                                                               $14.44
EVELYN MAZARIEGOS                 807 MEADOW LN                                                    KAUKAUNA          WI         54130                  6002               Various                                                                                                $2.30
EVELYN MEDINA-LOPEZ               639 S MAIN ST                                                    BELVIDERE         IL         61008                  6004               Various                                                                                                $3.90
EVELYN PORTER                     2420 GARFIELD AVE                                                ALTOONA           WI         54720                  6002               Various                                                                                                $1.70
EVELYN POWELL                     325 WARNER DR                                                    LEWISTON          ID         83501                  6002               Various                                                                                               $13.74
EVELYN R WEST                     1519 13TH ST                                                     AUBURN            NE         68305                  6002               Various                                                                                                $4.99
EVELYN RICE                       PO BOX 999                                                       LINCOLN           NE         68522                  6002               Various                                                                                                $3.61
EVELYN RUNIA                      153 70TH AVE                                                     BALATON           MN         56115                  6002               Various                                                                                                $8.32
EVELYN SAUER                      514 S COTTONWOOD ST                                              NORTH PLATTE      NE         69101                  6002               Various                                                                                                $4.82
EVELYN SHOT WITH TWO ARR          BOX 303                                                          PARMELEE          SD         57566                  6002               Various                                                                                                $4.52
EVELYN SIMAR                      3304 14TH ST APT 326                                             EAU CLAIRE        WI         54703                  6002               Various                                                                                                $1.37
EVELYN SLOWINSKI                  2833 NEW FREEDOM DR                                              PLOVER            WI         54467                  6002               Various                                                                                                $9.86
                                                                 150 OAK STREET
EVELYN STOREY                     C/O ROSEMARY CLARK             APT 1                             PESHTIGO          WI         54157                   6002              Various                                                                                                $3.24

EVELYN WARD                       1292 VILLAGE CENTRE DRIVE #5                                     KENOSHA           WI         53144                  6004               Various                                                                                            $25.00
EVELYN WERTH                      801 PARCHER ST APT 201                                           WAUSAU            WI         54403                  6002               Various                                                                                             $6.74
EVELYN WILLIAMS                   5805 WAYNE CENTER DRIVE                                          ALLENTON          WI         53002                  6002               Various                                                                                             $4.16
EVELYNN M GARCIA                  412 3RD AVE S                                                    GLASGOW           MT         59230                  6002               Various                                                                                             $3.84
EVENFLO JUVENILE FURNITURE COM    PO BOX 392497                                                    PITTSBURGH        PA         15251-9497             8710               Various                                                                                        $28,107.36
EVERETT ANDERSEN                  302 DANNY DR                                                     BILLINGS          MT         59101                  6002               Various                                                                                             $7.18
EVERETT CUNNINGHAM                875 NE HIGHWAY #NN                                               SPICKARD          MO         64679                  6002               Various                                                                                             $1.42
EVERETT JOHNSON                   322 13TH CT APT 103                                              ONALASKA          WI         54650                  6002               Various                                                                                             $8.22
EVERGAGE INC                      212 ELM STREET SUITE 402                                         SOMERVILLE        MA         02144                  5180               Various                                                                                         $2,500.00
EVERGREEN DISOPOSAL               55 WEST VALLEY DRIVE                                             KALISPELL         MT         59901                                     Various                                                                                         $2,464.33
EVERGREEN ENTERPRISES OF VIRGI    PO BOX 602961                                                    CHARLOTTE         NC         28260-2961              6839              Various                                                                                       $108,326.86
                                  16000 NORTH DALLAS PARKWAY,
EVERGREEN LINE                    SUITE 400                                                        DALLAS            TX         75248                   7117              Various                                                                                        $44,260.00

EVERGREEN SHIPPING AGENCY         16000 NORTH DALLAS PARKWAY SUITE 400                             DALLAS            TX         75248                  7117               Various                                                                                       $117,275.00
EVERINE BREEDEN                   521 EASTBOROUGH LANE                                             LINCOLN           NE         68505                  6004               Various                                                                                             $8.98
EVIN MCGINNIS                     1410 SCOTT ST APT 106                                            KEWAUNEE          WI         54216                  6002               Various                                                                                             $3.37
EVIN TUPPER                       17 STONEBROOK                                                    SCARBOROUGH       ME         04074                  6002               Various                                                                                             $0.74
EWA STANISLAWSKI                  2001 RIVERVIEW AVE LOT 9                                         STEVENS POINT     WI         54481                  6002               Various                                                                                             $1.89
EWOKOLO FONKEM                    307 E WILSON AVE                                                 APPLETON          WI         54915                  6002               Various                                                                                            $22.80

EXAM WORKS CLINICAL SOLUTIONS     2397 HUNTCREST WAY SUITE 200                                     LAWRENCEVILLE     GA         30043                   4952              Various                                                                                          $217.80
EXPERIS FINANCE US LLC            29973 NETWORK PLACE                                              CHICAGO           IL         60673-1299              2093              Various                                                                                        $53,071.63
EXPRESS DISPOSALS                 840 OLDS ROAD                                                    DOUGLAS           WY         82633                                     Various                                                                                          $984.50
EXPRESS SERVICES INC              PO BOX 203901                                                    DALLAS            TX         75320-3901             0987               Various                                                                                         $3,801.52
EXPRESS STAMP INCORPORATED        P O BOX 445                                                      BUTLER            WI         53007                  2750               Various                                                                                         $3,047.26




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EXXEL OUTDOORS                    PO BOX 52572                                                       PHOENIX            AZ         85072-2572           8789                Various                                                                                         $37,705.63
EYDIE BARRIENTOS                  202 EAST SCHOOL ST                                                 COLUMBUS           WI         53925                6004                Various                                                                                              $4.00
EYE KRAFT OPTICAL INCORPORATED    PO BOX 400                                                         ST CLOUD           MN         46302-0400           7153                Various                                                                                             $36.61
EYE Q EYEWEAR                     3340 SCHERER DRIVE STE D                                           ST PETERSBURG      FL         33176                2154                Various                                                                                          $9,383.15

                                  LUXOTTICA RETAIL NORTH         14752 COLLECTIONS
EYEMED VISION CARE                AMERICA INC                    CENTER DRIVE                        CHICAGO            IL         60693                 2126               Various                                                                                       $187,500.00
EYEWEAR BY R O I                  2235 W PARKSIDE LANE                                               PHOENIX            AZ         85027-0000            7826               Various                                                                                       $190,513.88
EYLEEN GARCIA                     1913 3RD AVE NE                                                    AUSTIN             MN         55912                 6004               Various                                                                                            $13.00
EZEKEIL VILLIARD                  112 E 5TH ST                                                       KAUKAUNA           WI         54130                 6002               Various                                                                                             $2.99
EZEKIEL BUSSAN                    619 WILLOW BEND DR                                                 DAVIS JUNCTION     IL         61020                 6004               Various                                                                                            $21.00
EZEKIEL CARPER                    N8616 CARPER ROAD                                                  IOLA               WI         54945                 6004               Various                                                                                             $3.00
EZEKIEL DOBE                      1901 26TH AVE NW APT 1                                             ROCHESTER          MN         55901                 6002               Various                                                                                             $0.27
EZEKIEL KOLSEN                    617 PARKWOOD DR                                                    TWIN FALLS         ID         83301                 6004               Various                                                                                             $3.65
EZRA (CASEY) JONES                132 ROCK CREEK RD                                                  BUFFALO            WY         82834                 6002               Various                                                                                             $6.14
EZRA J ROBLES                     1716 N WHITNEY DR                                                  APPLETON           WI         54914                 6002               Various                                                                                             $8.41
F & S LANDSCAPE INCORPORATED      401 S EVANS STREET                                                 TECUMSEH           MI         49286                 3217               Various                                                                                            $30.00

                                                                 500 GEORGE
F G X INTERNATIONAL               ATTN ACCTS RECEIVABLE          WASHINGTON HWY                      SMITHFIELD         RI         02917-0000            5507               Various                                                                                        $26,469.33
FAAULIULITO NETZLER               7041 COPPER HILL DR                                                SALT LAKE CITY     UT         84128                 6004               Various                                                                                             $5.00
FABIAN BELL                       14016 WASHINGTON ST                                                OMAHA              NE         68137                 6004               Various                                                                                            $23.00
FABIAN RUIZ                       4609 BRIGGS DR SE              APT 203                             OLYMPIA            WA         98501                 6004               Various                                                                                            $46.00
                                                                 1885 BEVANDA
FABIANO BROTHERS                  VICE PRESIDENT OF SALES        COURT                               BAY CITY           MI         48706                 5614               Various                                                                                         $4,072.39
FABIOLA BUSTAMANTE                607 E MAPLE                                                        NORFOLK            NE         68701                 6004               Various                                                                                             $2.00
FABIOLA LANDES                    4026 WASHINTON RD # 109                                            KENOSHA            WI         53144                 6002               Various                                                                                             $9.10
FABIOLA SAAVEDRA                  5886 WEST BOTH HILL DRIVE                                          WEST VALLEY CITY   UT         84120                 6004               Various                                                                                            $23.00
FADEL ALMEER                      112 JOSHUA CT.                                                     MANKATO            MN         56001                 6004               Various                                                                                             $3.00
FADUMO ABDULKADIR                 1510 9TH AVE. S.               APT 204                             SAINT CLOUD        MN         56301                 6004               Various                                                                                             $3.00
FADUMO MOHAMED                    230 2ND NW                                                         SAINT CLOUD        MN         56304                 6004               Various                                                                                             $3.00
FAE L. SMITH                      128 W 5TH ST                                                       AINSWORTH          NE         69210                 6002               Various                                                                                             $0.36
                                                                 2400 PILOT KNOB
FAGRON INCORPORATED               VICE PRESIDENT OF SALES        ROAD STE 200                        SAINT PAUL         MN         55120                  1863              Various                                                                                           $135.00

FAHAD MALALLAH                    182 GRANDVILLE RD SW APT 261                                       ROCHESTER          MN         55902                 6002               Various                                                                                             $0.55
FAHR BEVERAGE INCORPORATED        VICE PRESIDENT OF SALES      PO BOX 358                            WATERLOO           IA         50704                 5105               Various                                                                                             $1.20
FAIR ACRES STATION LLC            PO BOX 645414                                                      PITTSBURGH         PA         15264-5414            6601               Various                                                                                           $141.55

FAIRMONT TRUE VALUE               MEMBER 19159                   462 S STATE STREET                  FAIRMONT           MN         56031                 5772               Various                                                                                            $20.86
                                                                                                                                                                            11/14/2018 -
FAIRVIEW UTILITIES AUTHORITY      P.O. BOX 386                                                       FAIRVIEW           OK         73737                 0                  12/11/2018                                                                                      $3,271.73
FAISAL AHMED                      1877 BADGER ST APT 6                                               GREEN BAY          WI         54303                 6004               Various                                                                                             $2.00
FAITH BAKKEN                      1923 VALLEY HIGH DR                                                ROCHESTER          MN         55901                 6002               Various                                                                                             $4.90
FAITH BIEBER                      PO BOX 1582 PMB 80                                                 RAWLINS            WY         82301                 6002               Various                                                                                             $4.47
FAITH CROWELL                     107 NEW HOPE LOOP                                                  LENORE             ID         83541                 6002               Various                                                                                             $1.51

FAITH GUDERJAHN                   2226 CENTRAL AVE WEST LOT 20                                       GREAT FALLS        MT         59404                 6004               Various                                                                                             $5.02
FAITH HANSEN                      2000 JOHNSTON DRIVE LOT 44                                         MANITOWOC          WI         54220                 6004               Various                                                                                             $3.00
FAITH JENSEN                      460 LINCOLN HWY APT 3                                              MISSOURI VALLEY    IA         51555                 6002               Various                                                                                            $10.00
FAITH JOHNSON                     1204 5TH ST NW                                                     AUSTIN             MN         55912                 6002               Various                                                                                             $4.16
FAITH LYTLE                       107 NEWHOPE LOOP                                                   LENORE             ID         83541                 6002               Various                                                                                             $0.55
FAITH MADDERRA                    610 9TH AVE SOUTH                                                  NAMPA              ID         83651                 6004               Various                                                                                             $5.00




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FAITH MELTZ                         4519 N MARSHALL HEIGHTS AVE                                       APPLETON         WI           54913                   6002               Various                                                                                               $10.00
FAITH MORRIS                        1103 W SEVENTH APT B                                              MOUNT CARMEL     IL           62863                   6002               Various                                                                                                $7.56
FAITH OSBORNE                       100 MONTE CARLO DR                                                EAU CLAIRE       WI           54703                   6002               Various                                                                                                $1.12
FAITH PHALIN                        1713 JACKSON ST                                                   BELOIT           WI           53511                   6002               Various                                                                                                $6.30
FAITH RUNNING HORSE                 PO BOX 65                                                         IDEAL            SD           57541                   6002               Various                                                                                               $10.00
FAITH SCHNEIDER                     3860 BUFFALO DRIVE                                                RHINELANDER      WI           54501                   6004               Various                                                                                               $25.00
FAITH STOREY                        10359 CTY RD Y                                                    MAZOMAINE        WI           53560                   6004               Various                                                                                                $2.00
FAITH THOMAS                        1230 LEMESSURIER STREET                                           WAUSAU           WI           54403                   6004               Various                                                                                               $34.84
FAITH VANARK                        802 NOTH ST.                                                      APPLETON         WI           54911                   6004               Various                                                                                                $2.00

FAJER ALBADI                        182 GRANDEISLE SW UNIT 2412                                       ROCHESTER        MN           55902                   6002               Various                                                                                             $2.41
FALISHIA GULLICKSON                 35 2ND AVE NE                 APT 4                               ELGIN            MN           55932                   6004               Various                                                                                             $3.06
FALLS CITY PUBLIC HIGH SCHOOL       1400 FULTON ST                                                    FALLS CITY       NE           68355                   4397               Various                                                                                            $35.00
FALLS CITY SANITATION               PO BOX 528                                                        FALLS CITY       NE           68355-0528                                 Various                                                                                           $360.00
                                                                                                                                                                               11/24/2018 -
FALLS CITY UTILITY DEPT.            2307 BARADA ST                                                    FALLS CITY       NE           68355                   6964               12/19/2018                                                                                      $1,796.13
FALON HOWMAN                        203 VALLEY VIEW AVE                                               LEWISTOWN        MT           59457                   6002               Various                                                                                             $1.34
FAMILY FARE                         425 M-28                                                          MUNISING         MI           49862                   1217               Various                                                                                            $69.95
FAMILY HEALTH NETWORK               ATTN ADJUSTMENTS              332 S GREEN ST   SUITE 400          CHICAGO          WI           60607                   6004               Various                                                                                            $86.57
FANNESSA LEFT HAND BULL             1912 W 1ST                                                        GRAND ISLAND     NE           68801                   6004               Various                                                                                            $30.00

FANTASIA ACCESSORIES                31 WEST 34TH STREET ROOM 501                                      NEW YORK         NY           10001-3009              1828               Various                                                                                        $41,751.64
FARAH MCCLANAHAN                    709 GOLDEN GATE              APT 12                               PAPILLION        NE           68046                   6004               Various                                                                                             $2.00
FARDOWSO JAMA                       1062 FALCON RD SE                                                 ROCHESTER        MN           55904                   6004               Various                                                                                             $3.00
FARES ALHAZMI                       1111 SOUTH 1350 WEST         APT F216                             OREM             UT           84058                   6004               Various                                                                                          $102.70
FARIBAULT FOODS INCORPORATED        NW 9380                      PO BOX 1450                          MINNEAPOLIS      MN           55485                   3092               Various                                                                                        $10,098.17
                                                                                                                                                                               12/1/2018 -
FARMERS UNION OIL COMPANY/BEULAH    1600 HIGHWAY 49                                                   BEULAH           ND           58523                   200                12/31/2018                                                                                      $8,199.42
                                                                                                                                                                               10/25/2018 -
FARMERS UNION OIL COMPANY/PORTLAND BOX 218                                                            PORTLAND         ND           58274                   7994               10/25/2018                                                                                      $5,240.91

FARNSWORTH/ DAWN                    STORE 646                     SHOPKO EMPLOYEE 3825 S HURON ROAD   STANDISH         MI           48658                   6225               Various                                                                                            $13.64
FARON CRAIG                         26460 COURT LANE              APT. 30                             LEWISTON         ID           83501                   6004               Various                                                                                             $6.90
FARRAJ ALAJMI                       1301 SOUTH CHRISWAY DRIVE                                         BOISE            ID           83706                   6004               Various                                                                                             $9.95
FARREL NEILSON                      1795 SOUTH 600 EAST                                               SALT LAKE CITY   UT           84105                   6004               Various                                                                                            $76.00
FASES WATER TREATMENT & RENTAL      206 THIRD AVENUE NE                                               DEMOTTE          IN           46310                   9226               Various                                                                                            $13.00
FASHION ANGELS DIV M G PARTNER      306 N MILWAUKEE                                                   MILWAUKEE        WI           53202                   8454               Various                                                                                        $35,638.52
FATEMEH KHALILI                     8120 METBRIDE AVE                                                 LINCOLN          NE           68516                   6004               Various                                                                                             $4.00
FATMA AL SUWAIDI                    211 1ST ST NE APT 406                                             ROCHESTER        MN           55906                   6002               Various                                                                                             $6.14
FATOUMATA COULIBALY                 1310 MORGAN AVE                                                   OSHKOSH          WI           54904                   6004               Various                                                                                             $3.27
FATUMA ISSACK                       2015 N 31ST STREET                                                OMAHA            NE           68111                   6004               Various                                                                                             $5.00
FATY DIOP                           3560 BROOKLYN BRIDGE. RD                                          MADISON          WI           53713                   6004               Various                                                                                            $40.00
FAUN WARD                           W10791 WILD WOOD WAY                                              POYNETTE         WI           53955                   6004               Various                                                                                             $5.70
                                    1575 MINERAL SPRINGS
FAVIANNA RODRIGUEZ                  PARKWAY                                                           OWATONNA         MN           55060                   6004               Various                                                                                                $3.06
FAWN GIESE                          406 HIDDEN MEADOW DRIVE                                           GLENBEULAH       WI           53023                   6004               Various                                                                                                $5.00
FAWN LAMB                           357 W 1100TH N # 6                                                LOGAN            UT           84321                   6002               Various                                                                                                $5.78
FAWN MORA                           1021 STUART ST.                                                   GREEN BAY        WI           54301                   6004               Various                                                                                                $1.00
FAY BROETZMANN                      N6828 CTY RD G                                                    BEAVER DAM       WI           53916                   6002               Various                                                                                               $13.20
FAY TEED                            240 BLUE RIDGE CRT                                                OROFINO          ID           83544                   6002               Various                                                                                                $7.67
FAYE BOWLES                         8871 HIGHWAY 12                                                   KOOSKIA          ID           83539                   6002               Various                                                                                                $6.60
FAYE DRANKOFF                       1968 KETTLE CREEK DR                                              DE PERE          WI           54115                   6002               Various                                                                                                $9.18
FAYE ELDER                          125 E MAIN ST                                                     MARQUETTE        MI           49855                   6002               Various                                                                                                $9.37




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             Creditor Name                   Address1                Address2            Address3            City         State           Zip   Country     Number                Claim                                                                             Total Claim
FAYE KOEHLER                     55550 855TH RD                                                       PIERCE           NE         68767                 6002                Various                                                                                               $2.90
FAYE MCWILLIAMS                  95 DICK RD                                                           GREAT FALLS      MT         59404                 6004                Various                                                                                               $3.00
FAYE MILLER                      2300 PLOVER SPRINGS DR                                               PLOVER           WI         54467                 6002                Various                                                                                               $6.11
FAYE STEVENSON                   3920 W OLDHIGHWAY RD                                                 MORGAN           UT         84050                 6002                Various                                                                                               $6.49
FAYE VELDT                       W5053 HIGHWAY # G                                                    SEYMOUR          WI         54165                 6002                Various                                                                                               $1.12
                                 9111 S LA CIENEGA BLVD SUITE
FBA INTERNATIONAL USA INC        101                                                                  INGLEWOOD        CA         90301                   5204              Various                                                                                       $271,681.08
FEDERAL HEATH SIGN               1128 BEVILLE ROAD,                                                   DAYTONA BEACH    FL         32114                                     Various                                                                                         $2,624.04
FEDERAL HEATH SIGN COMPANY       DEPT #41283                    PO BOX 650823                         DALLAS           TX         75265                   3157              Various                                                                                         $4,580.57

FEDEX                            FEDERAL EXPRESS CORPORATION PO BOX 94515                             PALATINE         IL         60094-4515             5906               Various                                                                                         $2,167.95
FELECIA DAWDY                    411 WOODROW ST                                                       WINNEBAGO        IL         61088                  6004               Various                                                                                            $50.00
FELECIA LINDEMULDER              4338 MURPHY AVE                                                      BILLINGS         MT         59101                  6002               Various                                                                                             $1.01
FELICIA COBB                     PO BOX 411                                                           DONIPHAN         MO         63935                  6002               Various                                                                                             $3.84
FELICIA DELGADO                  1401 E MARQUETTE ST                                                  APPLETON         WI         54911                  6002               Various                                                                                             $7.86
FELICIA FISH                     15 2ND AVE NW APT 201                                                WAUKON           IA         52172                  6002               Various                                                                                             $5.95
FELICIA GOLUEKE                  922 1/2 ELIZABETH AVE                                                MARINETTE        WI         54143                  6002               Various                                                                                             $1.12
FELICIA KELLY                    27 WAKEFEILD DR                                                      BILLINGS MT      MT         59102                  6002               Various                                                                                             $3.23
FELICIA MAES                     390 ANVIL DR APT B                                                   GREEN RIVER      WY         82935                  6002               Various                                                                                             $6.90
FELICITA RIVERA FIGUEROA         2243 WOODVIEW CRT           #8                                       MADISON          WI         53713                  6004               Various                                                                                             $4.00
FELIPE E RAMOS                   311 W MAIN ST APT 2                                                  NEW HAMPTON      IA         50659                  6002               Various                                                                                             $0.66
FELIPE FORTUNO                   351 WALNUT ST PO BOX # 142                                           MANAWA           WI         54949                  6002               Various                                                                                             $5.84

FELIPE GONZALEZ                  15 KEN RUE LANE PO BOX # 264                                         FAIRMONT         MN         56031                  6002               Various                                                                                             $7.21
FELIPE SOUZA                     6813 26TH CRT SE                                                     LACEY            WA         98503                  6004               Various                                                                                            $25.00
FELISHIA JAMES                   P O BOX 200                                                          LIBBY            MT         59923                  6004               Various                                                                                            $31.99
FELIX ACEVES CHAVEZ              809 EAST 6TH ST.                                                     BEARDSTOWN       IL         62618                  6004               Various                                                                                            $16.00
FELIX MARTINEZ                   406 SW 10TH ST                                                       ANDREWS          TX         79714                  6002               Various                                                                                             $6.49
FELIX ORTIZ                      315 S MARSHAL ST                                                     ABERDEEN         SD         57401                  6004               Various                                                                                            $16.00
FELIX SEGBAYA                    3220 S 900 E                   APT # 24                              SALT LAKE CITY   UT         84106                  6004               Various                                                                                            $56.00
FELIX TOVAR                      707 S PURDY AVE                                                      LYONS            KS         67554                  6002               Various                                                                                             $4.03
FELTY I BORNTREGER               205 W AUBERY GRV                                                     JAMESPORT        MO         64648                  6002               Various                                                                                             $3.29
FENCEPOST PRODUCTIONS            VICE PRESIDENT OF SALES        PO BOX 410916                         KANSAS CITY      MO         64141                  7935               Various                                                                                         $5,419.48
FERLYNN FAYE GOOD RIDER          RT 2 N BOX 85W                                                       POCATELLO        ID         83202                  6002               Various                                                                                             $4.08
FERN GALLAGHER                   59 OLD RANCH LANE                                                    SUPERIOR         MT         59872                  6004               Various                                                                                            $12.32
FERN M. SIMON                    1740 CONDOR LN APT 222                                               GREEN BAY        WI         54313                  6002               Various                                                                                             $5.95
FERN MEISNER                     1815 KRANTSFELDER ST                                                 BLOOMER          WI         54724                  6004               Various                                                                                            $49.60
FERN ZASTROW                     10854 ADAMS LN                                                       MERRILL          WI         54452                  6002               Various                                                                                             $2.00
FERNANDO CARRERA                 217 13TH ST                                                          OGDEN            UT         84404                  6002               Various                                                                                             $2.88
FERNANDO CUELLAR                 2202 EAST LEXIS LANE           APT 103                               NAMPA            ID         83686                  6004               Various                                                                                            $35.00
FERNANDO FLORES                  823 N 400TH W                                                        LOGAN            UT         84321                  6002               Various                                                                                             $9.59
FERNANDO RODRIGUEZ               3232 N. LINDA VISTA PL.                                              BOISE            ID         83704                  6004               Various                                                                                             $5.00
FERRANDINO & SON                 71 CAROLYN BOULEVARD                                                 FARMINGDALE      NY         11735                                     1-4 to 1-15-19                                                                                $156,282.69
FERRANDINO & SON INCORPORATED    71 CAROLYN BOULEVARD                                                 FARMINGDALE      NY         11735                   0024              Various                                                                                       $342,829.08
FERRANDINO AND SON, INC.         71 CAROLYN BOULEVARD                                                 FARMINGDALE      NY         11735                                     Various                                                                                        $59,019.51
FERRARA CANDY COMPANY            PO BOX 5507                                                          CAROL STREAM     IL         60197-5507             7000               Various                                                                                       $186,965.68
FERRELLGAS                       CONSOLIDATED BILLING           ATTN AMY           735 WEISE STREET   GREEN BAY        WI         54302                  7186               Various                                                                                          $653.20
FERROL FULLMER                   4961 S 4420 W                                                        SALT LAKE CITY   UT         84118                  6004               Various                                                                                            $14.55
FESTER KUNTZ                     613 FIRST ST                                                         CLYMAN           WI         53016                  6002               Various                                                                                             $7.07
                                 SKOGENS FOODLINER              3800 EMERALD
FESTIVAL FOODS                   INCORPORATED                   DRIVE E                               ONALASKA         WI         54650                  3953               Various                                                                                         $2,985.82
FESTIVAL FOODS TRUE VALUE        47401 STATE HIGHWAY M26                                              HOUGHTON         MI         49931                  3854               Various                                                                                            $33.90
FETCH FOR COOL PETS              115 KENNEDY DRIVE                                                    SAYREVILLE       NJ         08872                  3323               Various                                                                                         $4,576.86




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                 Creditor Name                    Address1              Address2          Address3               City         State           Zip   Country      Number                Claim                                                                             Total Claim
                                                                   19474 160TH
FEVIG OIL COMPANY INCORPORATED        ULEN & MAHNOMEN              AVENUE N                             FELTON           MN           55653                   8588               Various                                                                                         $4,120.84
FIBER HORIZONS                        111 GRANGE ST                                                     LIBERTY HILL     TX           78642                                      Various                                                                                          $150.00
FICHTNER FAMILY                       4131 SANDHILL DR                                                  JANESVILLE       WI           53546                   6002               Various                                                                                             $2.16
                                      100 DE BARTOLO PLACE SUITE
FIDC 50 LLC                           400                                                               BOARDMAN         OH           44512                   8745               Various                                                                                         $2,916.67
                                                                   100 DEBARTOLO
FIDC XXIII LLC                        SUITE 400                    PLACE                                BOARDMAN         OH           44512                   6601               Various                                                                                        $15,880.75
                                                                   100 DEBARTOLO
FIDC XXX LLC                          SUITE 400                    PLACE                                BOARDMAN         OH           44512                   6693               Various                                                                                        $17,210.49
FIDEL ZAPATA                          8454 HARDING RD                                                   BANCROFT         WI           54921                   6002               Various                                                                                             $9.84
FIDELINA MARES                        W9504 HIGHWAY 59                                                  WHITEWATER       WI           53190                   6004               Various                                                                                          $116.00
FIDELIS HOFFMANN                      1703 W 25TH ST APT 214                                            SIOUX CITY       IA           51103                   6002               Various                                                                                             $7.34
FIDENCIO DAVILA                       873 16TH AVE SE APT 202                                           ROCHESTER        MN           55904                   6002               Various                                                                                             $8.85
FIDENCIO OCHO                         129 S 1ST ST                                                      COLBY            WI           54421                   6002               Various                                                                                             $8.90
FIDENCIO VARGAS GONZALEZ              115 N KANSAS AVE                                                  EAST WENATCHEE   WA           98802                   6004               Various                                                                                          $105.97
FIESTA EN CANCUN                      1735 S WEST AVE                                                   FREEPORT         IL           61032                   5095               Various                                                                                            $79.23
FIESTA JEWELRY CORPORATION            250 ESTEN AVENUE                                                  PAWTUCKET        RI           02860                   1605               Various                                                                                        $57,968.49
FILA USA INCORPORATED                 PO BOX 826464                                                     PHILADELPHIA     PA           19182-6464              8082               Various                                                                                       $128,150.83
FILEY ABIKAR                          1110 7TH ST SE               APT 206                              SAINT CLOUD      MN           56304                   6004               Various                                                                                             $3.00
FILTRATION CONCEPTS INCORPORAT        PO BOX 426                                                        LANNON           WI           53046                   8713               Various                                                                                          $329.69
FINANCE SYSTEM OF GREEN BAY IN        PO BOX 1597                                                       GREEN BAY        WI           54305                   1537               Various                                                                                          $507.51
                                                                   3109 W DR MARTIN
                                                                   LUTHER KING JR
FINANCIAL INFORMATION TECHNOLO        SUITE 200                    BLVD                                 TAMPA            FL           33607                   6572               Various                                                                                         $1,076.85
FINN BUCHMANN                         113 E 1ST AVE                                                     POST FALLS       ID           83854                   6002               Various                                                                                             $6.38
FIONA N LINVILLE                      1496 KODIAK RD                                                    HELENA           MT           59602                   6002               Various                                                                                             $5.21
FIONA S WHOLECHEESE                   5348 370TH ST                                                     NORTH BRANCH     MN           55056                   6002               Various                                                                                             $3.23
FIONA TODACHINY                       8171 BOWLER CIR                                                   MAGNA            UT           84044                   6004               Various                                                                                            $16.00
FIONA WALKER                          PO BOX 36                                                         GREENWOOD        NE           68366                   6004               Various                                                                                             $5.00
FIRST ADVANTAGE SCREENING SOLU        PO BOX 742576                                                     ATLANTA          GA           30374-2576              3607               Various                                                                                        $37,980.08
                                                                   N4365 STATE HWY
FIRST AMERICAN PROPERTIES LLC         C/O CCC LOT 3 LLC            73                                   COLUMBUS         WI           53925                   4092               Various                                                                                        $10,404.92
FIRST CHOICE HEALTH ADMINISTRATORS    PO BOX 12659                                                      SEATTLE          WA           98111                   6004               Various                                                                                            $17.50
FIRST CHOICE HEALTH NETWORK           PO BOX 12659                                                      SEATTLE          WA           98111                   6004               Various                                                                                          $162.95
FIRST CHOICE TALENT & MODELING        1636 VELP AVENUE                                                  GREEN BAY        WI           54303                   5874               Various                                                                                         $2,199.90
                                                                   154 E MYRTLE
FIRST CITY INVESTORS INCORPORA        DBA CHASEBROOK COMPANY       AVENUE SUITE 303                     MURRAY           UT           84107                   6768               Various                                                                                           $728.50
                                                                   W237 N 2889
                                      LICENSE PRODUCTS             WOODGATE RD
FIRSTIME MANUFACTORY L P I            INCORPORATED                 UNIT F                               PEWAUKEE         WI           53072-0000              9219               Various                                                                                        $75,981.23
                                                                                    2099 CHATBURN
FISCUS/ SETH                          STORE 2-682                  SHOPKO EMPLOYEE AVENUE               HARLAN           IA           51537                   1514               Various                                                                                           $174.40
FISHER BEVERAGE INCORPORATED (        VICE PRESIDENT OF SALES      3636 SEGER DRIVE                     RAPID CITY       SD           57701                   4771               Various                                                                                             $1.42
                                      1045 TAMARACK LANE NUMBER
FISHER BILLSBOROUGH                   20                                                                COLUMBIA FALLS   MT           59912                   6004               Various                                                                                            $37.98
FISKARS MANUFACTURING CORPORAT        PO BOX 802587                                                     CHICAGO          IL           60680-2587              1012               Various                                                                                         $8,361.73
                                      75 REMITTANCE DRIVE DEPT
FIT FOR LIFE LLC                      6154                                                              CHICAGO          IL           60675-6154              2804               Various                                                                                        $11,626.69
FITNESS EM LLC                        660 DOUGLAS STREET                                                UXBRIDGE         MA           01569                   6070               Various                                                                                        $16,366.19

                                                                   DEPOSIT HANDLING
FITTING BOX INCORPORATED              C/O BANK OF THE WEST         NC B15 31 D      2527 CAMINO RAMON   SAN RAMON        CA           94583                   3578               Various                                                                                         $5,475.00




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             Creditor Name                  Address1               Address2         Address3            City           State           Zip   Country      Number                Claim                                                                             Total Claim
                                                              4055 E PARK 30
FIVE STAR DISTRIBUTING            VICE PRESIDENT OF SALES     DRIVE                              COLUMBIA CITY    IN           46725                   9420               Various                                                                                         $1,321.50
FLASH FURNITURE (C HUB)           PO BOX 531634                                                  ATLANTA          GA           30353-1634              2159               Various                                                                                        $12,159.22
FLATHEAD COUNTY WATER DIST #1-                                                                                                                                            10/28/2018 -
EVERGREEN                         130 NICHOLSON DRIVE                                            KALISPELL        MT           59901                   36586              12/27/2018                                                                                        $164.62
FLAVIO DEL ANGEL                  5801 BENJAMIN #16                                              LINCOLN          NE           68516                   6004               Various                                                                                           $200.00
FLEET & FARM SUPPLY FAIRMONT      1300 N STATE STREET                                            FAIRMONT         MN           56031                   6995               Various                                                                                            $42.94
FLETCHER (DO IVERSON              838 NORTON LN NE                                               ROCHESTER        MN           55906                   6002               Various                                                                                             $0.27
                                                              1395 S MARIETTA
                                  FOR THE ACCOUNT OF FLEXTECS PKWY BLDG 500 STE
FLEXTECS LLC                      LLC                         202                                MARIETTA         GA           30067                   4896               Various                                                                                         $8,405.01
FLINT HOSSFELD                    208 KENWOOD DR                                                 NEWCASTLE        WY           82701                   6002               Various                                                                                             $0.93
FLINTLOCK CAPITAL LLC             STEVEN W DORAN              PO BOX 45                          MCFARLAND        WI           53558                   0695               Various                                                                                        $29,230.08
                                                              75 REMITTANCE
FLIPP CORPORATION                 DEPT CH 19946               DRIVE                              PALATINE         IL           60055-9946              9470               Various                                                                                        $83,604.62

FLOE GARDNER                      RT SWENSON RD BOX # 187 PMB                                    POCATELLO        ID           83202                   6002               Various                                                                                             $0.60
FLONCIE ISHMON                    622 S CARROLL AVENUE                                           FREEPORT         IL           61032                   6002               Various                                                                                            $11.35
FLOR TOLEDO                       225 W 12TH ST APT 6                                            KAUKAUNA         WI           54130                   6002               Various                                                                                             $5.78
FLOR VANESSA SANCHEZ              1404 RIVER DRIVE                                               WATERTOWN        WI           53094                   6004               Various                                                                                             $3.50
FLORA HERNANDEZ                   2517 I ST                                                      OMAHA            NE           68107                   6002               Various                                                                                             $1.18
FLORENCE (ME ANDERSON             6791 W PARKWAY BLVD                                            SALT LAKE CITY   UT           84128                   6002               Various                                                                                             $4.49
FLORENCE BOOS                     1687 KENWOOD AVE                                               NEW HAMPTON      IA           50659                   6002               Various                                                                                             $2.11
FLORENCE BRAATEN                  215 3RD ST SE APT 212 PMB                                      AITKIN           MN           56431                   6002               Various                                                                                             $0.82
FLORENCE DEMPSEY                  714 MORRISEY RD                                                NEWCASTLE        WY           82701                   6002               Various                                                                                             $1.23
FLORENCE GORDON                   926 DENTON ST                                                  LA CROSSE        WI           54601                   6002               Various                                                                                             $3.67
FLORENCE KRENKE                   270 MISTY MEADOWS LN                                           MENASHA          WI           54952                   6002               Various                                                                                             $5.95
FLORENCE LARENZIE                 C/O SUSAN WILKINSON         PO BOX 354                         PHELPS           WI           54554                   6002               Various                                                                                            $12.00
FLORENCE NELSON                   457 E CANYON VW                                                OGDEN            UT           84404                   6002               Various                                                                                             $2.63
FLORENCE PAASCH                   4317 S 10TH ST                                                 MANITOWAC        WI           54220                   6002               Various                                                                                             $1.98
FLORENCE ROPEL                    1306 ROPEL ROAD                                                MOSINEE          WI           54455                   6002               Various                                                                                             $2.45
FLORENCE SCHMIDT                  1207 MASON ST APT 204                                          RHINELANDER      WI           54501                   6002               Various                                                                                             $9.34
FLORENCE TRONDSON                 1502 BEAUCHAMP ST                                              GREEN BAY        WI           54304                   6004               Various                                                                                             $5.00
FLORENCE VANENKEVORT              1474 12TH RD                                                   BARK RIVER       MI           49807                   6002               Various                                                                                             $4.79
FLORENTINO MEDINA                 138 BLITHE ST                                                  GREEN BAY        WI           54303                   6002               Various                                                                                             $5.12
FLOREZ FAMILY                     8880 S 1070TH W                                                WEST JORDAN      UT           84088                   6002               Various                                                                                             $9.26
FLORIDA ROADWAY SIGNS INC         1137 SILVER BEACH ROAD                                         LAKE PARK        FL           33403                   6730               Various                                                                                          $166.00
FLORISIN LLC                      535 BROADWAY ST                                                EAU CLAIRE       WI           54703                   8016               Various                                                                                       $107,477.09
FLOSSIE D. WALTON                 310 31ST ST NE APT 308                                         ROCHESTER        MN           55906                   6002               Various                                                                                             $8.49
FLOYD BAKER                       2336 MALLARD DR                                                FREEPORT         IL           61032                   6004               Various                                                                                            $12.16
FLOYD BENSON                      1561 CHOKECHERRY DR                                            POCATELLO        ID           83204                   6002               Various                                                                                             $6.90
FLOYD BOOHER                      9 E 11TH ST                                                    DULUTH           MN           55805                   6004               Various                                                                                             $3.00
FLOYD CARR                        549 N GREEN ST                                                 VALENTINE        NE           69201                   6002               Various                                                                                             $4.00
FLOYD DEAN                        2143 DORIE LN                                                  MOSINEE          WI           54455                   6004               Various                                                                                             $4.75
FLOYD FRY                         30900 MAJOR AVE                                                JAMESPORT        MO           64648                   6002               Various                                                                                             $1.97
FLOYD JR. LINDHOLM                121 LYMAN ST                                                   KINGSFORD        MI           49802                   6002               Various                                                                                             $6.66
FLOYD WICKS                       BOX 1058                                                       MT.VIEW          WY           82939                   6002               Various                                                                                             $0.93
FLYNN G. FRANKLIN                 2568 EVANS ST                                                  OMAHA            NE           68111                   6002               Various                                                                                             $0.58
FOAMATION INCORPORATED            1120 S BARCLAY STREET                                          MILWAUKEE        WI           53204-0000              6625               Various                                                                                        $28,659.75
FOLEY ELECTRIC, INC.              2738 BARTELLS DR.                                              BELOIT           WI           53511                                      11/15/2018                                                                                       $274.66
FOLKFEST                          1000 W LAKESHORE DRIVE                                         MANISTIQUE       MI           49854                   2149               Various                                                                                          $250.00
                                                              1201 SOUTH OHIO
FOR BARE FEET INCORPORATED        VICE PRESIDENT OF SALES     STREET                             MARTINSVILLE     IN           46151                   4731               Various                                                                                         $2,000.00
FOR KEEPS LLC                     929 SOUTH MYRTLE AVE                                           MONROVIA         CA           91016                   3828               Various                                                                                         $7,159.68




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                                                                 11 EAST 26TH
FORD MODELS INCORPORATED              ATTN ACCOUNTS RECEIVABLE   STREET 14TH FLOOR                      NEW YORK        NY           10010-0000               0626               Various                                                                                        $16,020.00

FOREMOST GROUPS INC                   Flat B, 4F                 Carbo Mansion       325 Queen's Road   Central         SAR                        Hong Kong 2142                Various                                                                                        $10,000.00
FORENCE PAASCH                        4317 S 10TH STREET                                                MANITOWOC       WI           54220                   6002                Various                                                                                             $1.98
FOREST COUNTY POTAWATAMI              PO BOX 211408                                                     EAGAN           MN           55121                   6004                Various                                                                                          $202.48
FOREST STEWART                        103 S OLIVE ST                                                    NAMPA           ID           83686                   6004                Various                                                                                             $3.40
FOREST VIEW DENTAL                    1111 W VALLEY ROAD                                                APPLETON        WI           54915                   6666                Various                                                                                            $29.36
FORESTON TRENDS                       PO BOX 8261                                                       PASADENA        CA           91109-8261              6826                Various                                                                                         $3,447.48
FOREVER GIFTS INC                     618 N GREAT SW PKWY                                               ARLINGTON       TX           76011                   6261                Various                                                                                         $1,850.00
FORREST ALTENEDER                     6145 MULLAN RD TRLR 39                                            MISSOULA        MT           59808                   6002                Various                                                                                             $0.96
FORREST B SULLIVAN                    120 W WENTWORTH ST                                                NEWCASTLE       WY           82701                   6002                Various                                                                                             $7.84
FORREST C TENNEY                      1 LANEY DR                                                        PALM HARBOR     FL           34683                   6002                Various                                                                                            $10.00
FORREST MILLSAP                       1015 AVE F                                                        GOTHENBURG      NE           69138                   6002                Various                                                                                             $4.79

FORST/ NATHAN                         STORE 4-042                SHOPKO EMPLOYEE                        GREEN BAY       WI           54307-9060               9051               Various                                                                                               $56.25
                                                                                                                                                                                 10/6/2018 -
FORT ATKINSON WATER DEPARTMENT WI     101 NORTH MAIN ST                                                 FORT ATKINSON   WI           53538                    0-00               12/5/2018                                                                                         $825.95
FORT DODGE DISTRIBUTING               VICE PRESIDENT OF SALES    2053 HWY 169 S                         FORT DODGE      IA           50501                    3325               Various                                                                                             $2.20
FORVILLY FAMILY                       1431 N 20TH ST                                                    ESCANABA        MI           49829                    6002               Various                                                                                             $5.15

FOSTER/ KELSY                         STORE 2-014                SHOPKO EMPLOYEE                        GREEN BAY       WI           54307-9060               0699               Various                                                                                             $8.51
FOTO ELECTRIC SUPPLY CO               1 REWE ST                                                         BROOKLYN        NY           11211                    6098               Various                                                                                       $196,434.31
FOUNDATION CONSUMER HEALTHCARE        PO BOX 826614                                                     PHILADELPHIA    PA           19182-6614               0003               Various                                                                                        $40,403.09
FOUNDATIONS WORLDWIDE INC (C          305 LAKE ROAD                                                     MEDINA          OH           44256                    3284               Various                                                                                         $1,490.20
FOUR SEASONS DESIGN                   2451 BRITTANIA BLVD                                               SAN DIEGO       CA           92154                    7885               Various                                                                                        $78,959.61
FOURNIER FAMILY                       3303 PINE FOREST DR                                               GREEN BAY       WI           54313                    6002               Various                                                                                             $1.23
FOWSIYA MOHAMED                       401 1/2 MCCLELLAN ST                                              TAMA            IA           52339                    6002               Various                                                                                             $1.78
FOX GLASS OF N.J., INC                168 FRANKLIN CORNER RD                                            LAWRENCEVILLE   NJ           08648                                       Various                                                                                         $4,232.75
FOX LAWN AND LANDSCAPING              2086 HIGHLAND AVE                                                 SALINA          KS           67401                    5440               Various                                                                                            $70.00
FOX VALLEY SHEET METAL HEALTH FUND    2201 SPRINGDALE ROAD                                              WAUKESHA        WI           53186                    6004               Various                                                                                          $128.12
FOYE FAMILY                           5001 MONONA DR UNIT 106                                           MADISON         WI           53716                    6002               Various                                                                                             $6.44
FRAGRANCENET COM (C-HUB)              900 GRAND BOULEVARD                                               DEER PARK       NY           11729                    6027               Various                                                                                         $4,052.31
FRAN BOONE                            1750 CHURCH ST NE                                                 SALEM           OR           97301                    6004               Various                                                                                             $1.00
FRAN GRUNOW                           54098 TRAPROCK VALLEY RD                                          LAKE LINDEN     MI           49945                    6002               Various                                                                                             $8.14
FRANCES BALK                          398 HWY 20                                                        CHERRY VALLEY   IL           61016                    6004               Various                                                                                             $9.28
FRANCES BORRELL                       2115 9TH ST                                                       GREEN BAY       WI           54304                    6002               Various                                                                                             $0.73
FRANCES BOWEN                         N5552 20TH AVE                                                    WILD ROSE       WI           54984                    6002               Various                                                                                             $4.58
FRANCES CHANKU                        512 OLD AGENCY DR                                                 SISSETON        SD           57262                    6002               Various                                                                                             $7.67
FRANCES CHRISTENSEN                   1526 PRINCETON DR                                                 TWIN FALLS      ID           83301                    6002               Various                                                                                             $6.63
FRANCES E RICHARDS                    BOX 481                                                           NEWELL          SD           57760                    6002               Various                                                                                             $2.85
FRANCES ELLIOTT                       PO BOX 71                                                         LAME DEER       MT           59043                    6002               Various                                                                                            $24.10
FRANCES FLORES                        452 N HAMILTON ST APT 2                                           POWELL          WY           82435                    6002               Various                                                                                             $6.36
FRANCES GRIFFITH                      706 4TH ST                 PO BOX 368                             ASHTON          IL           61006                    6002               Various                                                                                             $5.94
FRANCES HARRELL                       709 1ST ST E                                                      ROUNDUP         MT           59072                    6002               Various                                                                                             $4.68
FRANCES KESSENICH                     1206 ELIDA                                                        JANESVILLE      WI           53545                    6004               Various                                                                                            $28.23
FRANCES KLOPFER                       333 S MORGAN                                                      MEREDOSIA       IL           62665                    6002               Various                                                                                            $44.06

                                                                 2024 UNDERWOOD
FRANCES MARKOTIC                      C/O JEAN HELLER            AVE                                    WAUWATOSA       WI           53213                    6002               Various                                                                                                $2.90
FRANCES MILES                         3940 PINE LAKE ROAD        APT 220                                LINCOLN         NE           68516                    6004               Various                                                                                               $22.44
FRANCES ODELL                         804 S MAIN ST                                                     GALLATIN        MO           64640                    6002               Various                                                                                                $6.16
FRANCES OLMSTEAD                      C/O KATHERINE POXZKOWSKI   4017 WILSON RD                         KENOSHA         WI           53142                    6002               Various                                                                                                $8.37




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                                                                                                                                                                                              Contingent


                                                                                                                                                                                                                          Disputed
                                                                                                                                                     Last 4 Digits of     Date Debt was
                                                                                                                                                        Account         Incurred, Basis for
               Creditor Name                Address1               Address2          Address3              City       State           Zip   Country     Number                Claim                                                                             Total Claim
FRANCES PETERSON                2317 S ANTHONY PLACE                                              SIOUX CITY       IA         51108                 6004                Various                                                                                               $18.08
FRANCES SCHMIDT                 605 FAIRWAY DR                                                    SHEBOYGAN        WI         53081                 6002                Various                                                                                                $7.26
FRANCES WALL                    1406 1 2 SIEGEL ST                                                TAMA             IA         52339                 6002                Various                                                                                               $16.64
FRANCESA SWARTZ                 150 SHADY LN SPC 212                                              KALISPELL        MT         59901                 6002                Various                                                                                               $13.56
FRANCHESCA TETZLAFF             405 STARK ST                   APT #2                             BEAVER DAM       WI         53916                 6004                Various                                                                                                $2.00
FRANCIS BURKE                   519 2ND AVE W                                                     CRESCO           IA         52136                 6002                Various                                                                                                $3.37
FRANCIS CONNOLLY                1420 WASHINGTON ST                                                LITTLE CHUTE     WI         54140                 6002                Various                                                                                                $5.07
FRANCIS CONSIDINE               14519 CENTER LAMONT RD                                            DARLINGTON       WI         53530                 6002                Various                                                                                                $1.97
FRANCIS DAUL                    1404 MAIN ST                                                      OCONTO           WI         54153                 6002                Various                                                                                                $8.08
FRANCIS EAGLESTAFF              13601 387TH AVE #9                                                ABERDEEN         SD         57401                 6004                Various                                                                                                $6.20
FRANCIS J TENAS                 1019 15TH ST N PRE RELEASE                                        GREAT FALLS      MT         59401                 6002                Various                                                                                                $0.77
FRANCIS KANE                    22954 CTY O                                                       CADOTT           WI         54727                 6002                Various                                                                                                $9.10
FRANCIS L LAMPPA                1103 E CHAPMAN ST                                                 ELY              MN         55731                 6002                Various                                                                                                $9.32
FRANCIS LIVERMORE               W16560 SANDTOWN RD                                                CURTIS           MI         49820                 6002                Various                                                                                                $4.88
FRANCIS MCNEELY                 448 16TH AVE W                                                    REDFIELD         SD         57469                 6004                Various                                                                                               $11.84
FRANCIS PRONSCHINSKE            W29149 BILLS VALLEY RD                                            ARCADIA          WI         54612                 6002                Various                                                                                                $6.52
FRANCIS S. FILLMORE             473 N 900TH W                                                     OREM             UT         84057                 6002                Various                                                                                                $4.96
FRANCIS VOCK                    402 N DIVISION AV                                                 POLO             IL         61064                 6004                Various                                                                                               $55.20
FRANCIS W MARKS                 44520 BIA RD # 3                                                  EDEN             SD         57262                 6002                Various                                                                                                $8.25
FRANCIS WICKS                   S847 CTY C                                                        SPENCER          WI         54479                 6002                Various                                                                                                $1.62
FRANCISCA DELACRUZGUICO         PO BOX 444                                                        BROOTEN          MN         56316                 6002                Various                                                                                                $2.30
FRANCISCA LOPEZ                 CALLE ST # 5                                                      SHOSHONE         ID         83352                 6002                Various                                                                                                $4.25

FRANCISCA RODRIGUEZ LOPEZ       20106 LOWER RD TRLR # PLEASA                                      CALDWELL         ID         83607                  6002               Various                                                                                             $7.78
FRANCISCO BANDA                 3110 N. 155TH AVE                                                 OMAHA            NE         68116                  6004               Various                                                                                            $20.00
FRANCISCO BARCENAS              N6711 21ST AVE                                                    WILD ROSE        WI         54984                  6002               Various                                                                                             $1.42
FRANCISCO BRETO                 720 E 7200TH S                                                    MIDVALE          UT         84047                  6002               Various                                                                                             $6.71
FRANCISCO DOMINGUEZ             306 MAPLE ST                                                      WAKEFIELD        NE         68784                  6002               Various                                                                                             $7.75
FRANCISCO FLORES                1327 S 1ST STREET                                                 NORFOLK          NE         68701                  6004               Various                                                                                            $20.00
FRANCISCO GONZALEZ              5405 S 21ST ST STE 1                                              OMAHA            NE         68107                  6004               Various                                                                                             $2.00
FRANCISCO LOPEZ                 1768 E BLASCHKO AVE                                               ARCADIA          WI         54612                  6002               Various                                                                                             $6.82
FRANCISCO SANCHEZ               1703 E AVE                                                        WORTHINGTON      MN         56187                  6002               Various                                                                                             $0.38
FRANCISCO VALDOVINOS            800 HACKBERRY DR APT 1                                            MARSHALL         MN         56258                  6002               Various                                                                                             $2.11
FRANCO MANUFACTURING COMPANY    21422 NETWORK PLACE                                               CHICAGO          IL         60673-1214             1808               Various                                                                                       $138,149.37
FRANK (M) WEIS                  38478 385TH ST                                                    RICHVILLE        MN         56576                  6002               Various                                                                                             $2.16
FRANK AGTANG                    N185 RIVER DR                                                     MENOMINEE        MI         49858                  6004               Various                                                                                            $35.00
FRANK BAURES                    611 GROVE ST                                                      ONALASKA         WI         54650                  6002               Various                                                                                             $9.26
FRANK CLERKIN                   7360 HWY 81                                                       MONROE           WI         53566                  6004               Various                                                                                            $23.00
FRANK COGGINS                   19482 105TH AVE                                                   CADOTT           WI         54727                  6004               Various                                                                                             $4.00
FRANK DEFOREST                  422 CEDAR DR                                                      PIERCE           ID         83546                  6002               Various                                                                                             $4.99
FRANK DODGE                     3009 N STEPHANIE RD                                               POCATELLO        ID         83204                  6002               Various                                                                                             $9.64
FRANK FORD                      39625 DEER ST LOT 18                                              AITKIN           MN         56431                  6002               Various                                                                                             $3.56
FRANK H. SCHUTZ                 PO BOX 193                                                        PAINESDALE       MI         49955                  6002               Various                                                                                             $2.03
FRANK HENN                      243 TROUT CREEK DR                                                ONEIDA           WI         54155                  6004               Various                                                                                            $69.00
FRANK HERBER GLODOWSKI          N21553 PINE CREEK RIDGE RD                                        ARCADIA          WI         54612                  6002               Various                                                                                             $2.30
FRANK HIGHTREE                  230 S MONORE ST                                                   PILGER           NE         68768                  6002               Various                                                                                             $1.84
FRANK HUMES                     1241 ELKHORNVALLEY DRIVE                                          CASPER           WY         82609                  6002               Various                                                                                          $486.15
FRANK HUTWAGNER                 1780 BOLAND ROAD                                                  GREEN BAY        WI         54303                  6004               Various                                                                                            $42.00
FRANK J MOLINA                  908 CULBERTSON AVE                                                WORLAND          WY         82401                  6002               Various                                                                                             $7.78
FRANK J SCHOFF JR               31 18 MEDINAH DR                                                  LANARK           IL         61046                  6002               Various                                                                                             $4.44
FRANK KORMANEC                  5030 S 73RD STREET                                                LINCOLN          NE         68516                  6004               Various                                                                                            $30.00
FRANK KRUTKE                    UPDATE                                                            RACINE           WI         53405                  6002               Various                                                                                             $2.00
FRANK KUCZKOWSKI                701 S MAIN ST                                                     FOND DU LAC      WI         54935                  6002               Various                                                                                             $4.49
FRANK KUNEKI                    P.O. BOX 21                                                       TOPPENISH        WA         98948                  6004               Various                                                                                            $30.06




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FRANK L HUFF                    926 S DIAMOND ST                                               NAMPA              ID         83686                 6002                Various                                                                                                $7.53
FRANK LATONA                    605 SCHOOL PL                                                  WEST BEND          WI         53090                 6002                Various                                                                                                $4.03
FRANK LOCKWOOD                  POB 123 / 122 E 6TH, AINS                                      PAGE               NE         68766                 6002                Various                                                                                                $4.49
FRANK LOMBARD                   14617 E QUEEN                                                  SPOKANE            WA         99216                 6004                Various                                                                                               $25.00
FRANK MINTLE                    3303 COUNTRY MDWS                                              QUINCY             IL         62301                 6002                Various                                                                                               $16.04
FRANK P RAMACITTI               N7102 24TH LN                                                  WAUPACA            WI         54981                 6002                Various                                                                                                $9.04
FRANK PRAEGER                   107 E SOUTH AVE                                                HOUGHTON           MI         49931                 6002                Various                                                                                                $1.29
FRANK RAY                       9920 EDWARD ST                                                 LA VISTA           NE         68128                 6002                Various                                                                                                $4.14
FRANK REITH                     W11440 WILLOW RD                                               STANLEY            WI         54768                 6002                Various                                                                                                $6.96
FRANK RHODE                     2390 W ROSEBUD LN                                              COEUR D ALENE      ID         83814                 6002                Various                                                                                                $7.32
FRANK RUSSO                     1298 WATERFALL                                                 KEMMERER           WY         83101                 6002                Various                                                                                                $6.96
FRANK SANDERS                   3522 MUDDY STRING RD                                           THAYNE             WY         83127                 6002                Various                                                                                               $98.30
FRANK SCHWARTZ                  2680 HUNTINGTON DR                                             BELVIDERE          IL         61008                 6004                Various                                                                                               $24.00
FRANK SYLVIA                    #18 BLACKHAWK DRIV                                             OROFINO            ID         83544                 6002                Various                                                                                                $0.74
FRANK SZARAFINSKI               776 W 1875 N                                                   CENTERVILLE        UT         84014                 6004                Various                                                                                               $20.00

FRANK TESCH                     19206TH ST B APT B                                             WISCONSIN RAPIDS   WI         54494                  6004               Various                                                                                                $3.00
FRANK THREADGILL                505 SE 2ND ST                                                  ANDREWS            TX         79714                  6002               Various                                                                                                $7.70
FRANK TRUJILLO                  110 E SOUTHWELL              #4                                OGDEN              UT         84404                  6004               Various                                                                                               $25.00
FRANK WALDRON                   987 SHIRLEY AVE NE                                             KALKASKA           MI         49646                  6002               Various                                                                                                $5.15
FRANKIE BAUER                   N6109 LAKEWOOD BLVD                                            LADYSMITH          WI         54848                  6004               Various                                                                                               $11.20
FRANKIE COSTANZO                720 LINCOLN AVE APT 2                                          PLATTSMOUTH        NE         68048                  6002               Various                                                                                                $4.63
FRANKIE KOCH                    1202 HAWTHORNE ST                                              TWO RIVERS         WI         54241                  6004               Various                                                                                                $7.54
FRANKLIN JACOBY                 2740 BONOW AVE                                                 WIS RAPIDS         WI         54495                  6004               Various                                                                                               $21.00
FRANKLIN LUECK                  314 EAST FOND DU LAC ST #2                                     RIPON              WI         54971                  6004               Various                                                                                               $44.00
                                350M W HIGHLAND PARK AVE
FRANKLIN RON RAUEN              APT                                                            APPLETON           WI         54911                   6002              Various                                                                                             $0.55
FRANKLIN SPORTS INCORPORATED    PO BOX 4808                                                    BOSTON             MA         02212-4804              2302              Various                                                                                        $16,006.38

FRANKLIN/ JOHN                  STORE 2-698                  SHOPKO EMPLOYEE 718 4TH STREET    GOTHENBURG         NE         69138                  4870               Various                                                                                           $771.75
FRANZ X RIEDL                   W266N7030 WILDERNESS WAY                                       SUSSEX             WI         53089                  6002               Various                                                                                             $9.21
FRAUN FLERCHINGER               19924 WINDY LANE                                               LENORE             ID         83541                  6004               Various                                                                                            $20.03
FRED (CHARLE CUNNINGHAM         PO BOX 225                                                     ARTHUR             NE         69121                  6002               Various                                                                                             $2.47
FRED ALLEN NESS                 417 RUTGERS ST APT K                                           GREEN BAY          WI         54303                  6002               Various                                                                                             $2.71
FRED BATES                      172 LEPPIAHO RD                                                CRYSTAL FALLS      MI         49920                  6004               Various                                                                                            $11.04
FRED CRONK                      50863 868TH RD                                                 PAGE               NE         68766                  6002               Various                                                                                             $1.04
FRED DELZER                     5874 TIMBERLINE RD                                             OCONTO             WI         54153                  6004               Various                                                                                             $6.00
FRED HENKELMAN                  H14251 CNTY LINE RD                                            MERRILL            WI         54452                  6002               Various                                                                                             $8.22
FRED JOHANNES                   5430 MONONA DR. APT 103                                        MONONA             WI         53716                  6004               Various                                                                                             $5.70
FRED KENNARD                    137 RAINBOW DR                                                 LIVINGSTON         TX         77399                  6002               Various                                                                                             $7.37
FRED KONFRST TRASH SERVICE      57957 HILMAN ROAD                                              GLENWOOD           IA         51534                                     Various                                                                                           $320.00
FRED KOST                       415 MORMAN TRAIL                                               LINCOLN            NE         68521                  6004               Various                                                                                            $25.00
FRED KOTKINS                    61277 SARAH DR                                                 BEND               OR         97702                  6004               Various                                                                                            $15.00
FRED MAIRE                      35097 W MAIRE RD                                               SUTHERLAND         NE         69165                  6002               Various                                                                                             $1.86
FRED MESSERLY                   PO BOX 134                                                     MALTA              MT         59538                  6002               Various                                                                                             $1.53
FRED MILLER                     616 8TH AVE APT 126                                            MONROE             WI         53566                  6002               Various                                                                                             $7.86
FRED PARKER                     220 E PEARL ST                                                 NESHKORO           WI         54960                  6004               Various                                                                                            $10.00
FRED ROSE                       1209 S PENNSYLVANIA AVE                                        MASON CITY         IA         50401                  6002               Various                                                                                             $8.79
FRED SCHRODER                   1695 BEAVER DAM DR                                             GREEN BAY          WI         54304                  6002               Various                                                                                             $7.84
FRED SCHWALM                    11443 SCHWALM RD                                               PELKIE             MI         49958                  6002               Various                                                                                             $8.08
FRED SMITH                      PO BOX 61                                                      HAZEL              SD         57242                  6002               Various                                                                                             $4.99
FRED STEIN                      621 7TH AVENUE SOUTH                                           PARK FALLS         WI         54552                  6002               Various                                                                                            $34.07
FRED SUTTON                     1203 N CHERRY ST                                               MOUNT CARMEL       IL         62863                  6002               Various                                                                                             $8.90
FRED VANDERWORKER               226 N FARRAGUT ST                                              WEST POINT         NE         68788                  6002               Various                                                                                             $3.29




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              Creditor Name                   Address1              Address2        Address3               City        State           Zip   Country     Number                Claim                                                                             Total Claim
FRED W BRISSETTE                  N9321 SUNSET DR                                                  CRIVITZ          WI         54114                 6002                Various                                                                                                $7.42
FRED YELLOW BOY                   PO BOX 624                                                       RAPID CITY       SD         57709                 6004                Various                                                                                               $39.99
FRED ZAIS                         1921 EDGEWOOD LN                                                 EAU CLAIRE       WI         54703                 6002                Various                                                                                                $9.70
FREDA HURTADO                     BOX 174 11 TONAMP LA                                             FT WASHAKIE      WY         82514                 6002                Various                                                                                                $5.86
FREDDIE BOCKUS                    2821 TIERRA DR APT 203                                           LINCOLN          NE         68516                 6002                Various                                                                                                $3.73
FREDDIE NELSON                    103 E MAPLE AVE APT 412                                          BEAVER DAM       WI         53916                 6002                Various                                                                                                $4.19
FREDERICK AZAR                    508 W ST APT A16                                                 KALKASKA         MI         49646                 6002                Various                                                                                                $4.60
FREDERICK BRIGGS                  1421 S. 26TH STREET                                              LINCOLN          NE         68502                 6004                Various                                                                                               $74.00
FREDERICK CLEMMONS                3036 FOWLER AVE                                                  OMAHA            NE         68111                 6004                Various                                                                                               $14.91
FREDERICK GARY                    520 15TH AVE SE APT 202                                          SAINT CLOUD      MN         56304                 6002                Various                                                                                                $5.95
FREDERICK GRULING                 127 N. PLEASANT AVENUE                                           JEFFERSON        WI         53549                 6004                Various                                                                                                $2.00
FREDERICK JUNG                    P. O. BOX 103                                                    BIRCHWOOD        WI         54817                 6004                Various                                                                                               $10.62
FREDERICK KILLIAN                 7032 136TH ST                                                    FLUSHING         NY         11367                 6002                Various                                                                                                $1.59
                                  58419 CALUMET WATERWORKS
FREDERICK LENTEN                  RD                                                               CALUMET          MI         49913                   6002              Various                                                                                                $2.88

FREDERICK MOBSBY JR               C/O LINDA MATZ             1235 SNOWDON DR                       OSHKOSH          WI         54904                  6002               Various                                                                                             $0.50
FREDERICK PETERSEN                PO BOX 21                                                        NEWAYGO          MI         49337                  6002               Various                                                                                             $0.74
FREDERICKSON'S BF GARBAGE, LLC    PO BOX 1913                                                      BONNERS FERRY    ID         82805                                     Various                                                                                          $570.88
FREDRICK BROWN                    5620 W FAIRVIEW AVE                                              BOISE            ID         83706                  6002               Various                                                                                             $2.47
FREDRICK PEARE                    11194 CHUMSTICK HWY                                              LEAVENWORTH      WA         98826                  6004               Various                                                                                          $149.98
FREDRICK STENDEL                  W13855 CITY HWY MM                                               SHELDON          WI         54766                  6002               Various                                                                                             $2.52
FREE FREE USA INCORPORATED        1890 S CARLOS AVE                                                ONTARIO          CA         91761                  7264               Various                                                                                        $21,356.34
FREESE HOPKINS                    1787 COOL RD SE                                                  KALKASKA         MI         49646                  6002               Various                                                                                             $9.21

FREESE/ PATRICK                   STORE 683                  SHOPKO EMPLOYEE 109 N MARKET STREET   AUDUBON          IA         50025                  9800               Various                                                                                            $55.64
FREMONT DIE CONSUMER PRODUCTS     PO BOX 79233                                                     BALTIMORE        MD         21279-0233             5205               Various                                                                                        $22,700.25
FRENCHIE (DO BURBACK              307 N UNIVERSITY AVE                                             BEAVER DAM       WI         53916                  6002               Various                                                                                             $4.77
FRENCHS BUILDING MATERIALS INC    26 2ND STREET WEST                                               HARDIN           MT         59034                  7811               Various                                                                                            $80.00

FRICKEY/ TYLER                    STORE 641                  SHOPKO EMPLOYEE 110 WATTERS FRIVE     DWIGHT           IL         60420                  4260               Various                                                                                            $15.65
FRIDABABY LLC                     PO BOX 392626                                                    PITTSBURGH       PA         15251                  9860               Various                                                                                        $14,148.15
                                  26711 NORTHWESTERN
FRIEDMAN BROKERAGE COMPANY LLC    HIGHWAY SUITE 125                                                SOUTHFIELD       MI         48033                  3644               Various                                                                                        $33,948.37
FRITZ HIBBARD                     5230 S COBBLE CREEK RD                                           SALT LAKE CITY   UT         84117                  6002               Various                                                                                             $5.73
FRITZ OHM                         4002-52ND AVENUE                                                 KENOSHA          WI         53142                  6002               Various                                                                                             $1.04
FRONTIER BANK                     200 S MAIN STREET                                                LAMAR            CO         81052                  6666               Various                                                                                            $34.67
FROZEN GOURMET INCORPORATED       5800 AIRPORT ROAD                                                REDDING          CA         96002                  6256               Various                                                                                          $185.76
FUJITSU AMERICA INCORPORATED      PO BOX 198114                                                    ATLANTA          GA         30384-8114             4585               Various                                                                                        $50,959.93
FUN BEVERAGE INCORPORATED         175 SCHOOL HOUSE LOOP                                            KALISPELL        MT         59901-0000             5898               Various                                                                                         $1,117.91
FUN WORLD                         80 VOICE ROAD                                                    CARLE PLACE      NY         11514                  1408               Various                                                                                         $1,293.84
FUNAI CORPORATION                 3170 SOLUTIONS CENTER      LOCKBOX 773170                        CHICAGO          IL         60677-3001             8203               Various                                                                                            $90.00
FUNRISE INCORPORATED              PO BOX 845730                                                    LOS ANGELES      CA         91731-0000             9220               Various                                                                                        $79,731.40
FUTURE FOAM INC (TEXAS)           PO BOX 1017                                                      OMAHA            NE         68101-1017             0339               Various                                                                                       $633,856.77
G A L HORTICULTURE SERVICES       GREGORY A LEWIS            PO BOX 850                            JACKSBORO        TX         76458                  3058               Various                                                                                          $205.68
G III LEATHER FASHIONS            PO BOX 29242                                                     NEW YORK         NY         10087-9242             3696               Various                                                                                            $25.34
G MEN ENVIRONMENTAL               PO BOX 269                                                       ELY              MN         55731                                     Various                                                                                         $2,161.50
                                  GC OILFIELD CONSULTING
G&W ON SITE STORAGE               INCORPORATED               PO BOX 1064                           LYMAN            WY         82937                  5589               Various                                                                                           $101.70
GABBRIELLE BARMORE                3987 W 8790TH S                                                  WEST JORDAN      UT         84088                  6002               Various                                                                                             $8.47
GABOR PAL                         937 40TH ST NW                                                   ROCHESTER        MN         55901                  6002               Various                                                                                             $6.68
GABREANNA DAVIG                   5858 ANTHONY PLACE                                               MONONA           WI         53716                  6004               Various                                                                                             $4.00
GABRIAL VAN DEN AVOND             601 BRIAR CT                                                     GREEN BAY        WI         54301                  6004               Various                                                                                             $1.00
GABRIEL BROWN                     301 RESERVE ST             #413                                  STEVENS POINT    WI         54481                  6004               Various                                                                                             $3.00




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                                                                                                                                                        Account         Incurred, Basis for
              Creditor Name               Address1              Address2           Address3             City          State           Zip   Country     Number                Claim                                                                             Total Claim
GABRIEL FINERAN                500 5TH ST                                                       MENASHA            WI         54952                 6004                Various                                                                                                $1.00
GABRIEL HORN                   2920 W. LOST RAPIDS DR                                           MERIDIAN           ID         83646                 6004                Various                                                                                               $11.25
GABRIEL MACK                   8260 N AINSWORTH DR                                              HAYDEN             ID         83835                 6004                Various                                                                                               $64.00
GABRIEL MILENE                 21 10TH ST NW                                                    ROCHESTER          MN         55901                 6002                Various                                                                                                $2.82
GABRIEL SEMINOLE               221 10TH AVE NE                                                  WATERTOWN          SD         57201                 6004                Various                                                                                                $6.00
GABRIELA AGUILAR PEREZ         6904 OAK PLZ                 APT 9A                              WASHINGTON         NE         68068                 6004                Various                                                                                                $1.04
GABRIELA FLAGG                 1533 LYON DR                                                     NEENAH             WI         54956                 6004                Various                                                                                                $2.00
GABRIELA GARCIA                W2903 JORDAN RD                                                  JUDA               WI         53550                 6004                Various                                                                                                $1.00
GABRIELA RUIZ                  837 W LYNCH AVE                                                  APPLETON           WI         54915                 6002                Various                                                                                                $2.16
GABRIELA SCHUCHHARDT           PO BOX 161                                                       POSTVILLE          IA         52162                 6002                Various                                                                                                $7.07
GABRIELL STAPLETON             5202 N 53RD ST                                                   OMAHA              NE         68104                 6004                Various                                                                                                $4.00
GABRIELL ZEEMAN                743 MOUNT VERNON STREET                                          OSHKOSH            WI         54904                 6004                Various                                                                                               $27.00
GABRIELLA MANAVONG TAGURA      401 IROQUOIS COURT                                               DE FOREST          WI         53532                 6004                Various                                                                                                $2.00
GABRIELLA SANCHEZ              2518 17 ST                                                       RACINE             WI         53405                 6004                Various                                                                                               $15.00
GABRIELLE BANNISTER            1930 MCKINLEY AVE                                                BELOIT             WI         53511                 6004                Various                                                                                               $10.00
GABRIELLE CALVILLO             N1764 FRIEDEL ROAD                                               FORT ATKINSON      WI         53538                 6004                Various                                                                                                $2.00
GABRIELLE FITCH                121 PEARL STREET                                                 LONE ROCK          WI         53556                 6004                Various                                                                                                $3.00
GABRIELLE KAHL                 708 FRANCIS COURT 11                                             SUN PRAIRIE        WI         53590                 6004                Various                                                                                                $1.00
GABRIELLE MOELLER              750 E CORNELL ST                                                 DILLON             MT         59725                 6002                Various                                                                                                $0.49
GABRIELLE NEELY                1975 FLYNN LN #2                                                 MISSOULA           MT         59808                 6004                Various                                                                                                $2.00
GABRIELLE PAULISSIAN           4427 CALVERT STREET                                              LINCOLN            NE         68506                 6004                Various                                                                                               $25.00
GABRIELLE SMART                2517 CENTER STREET                                               STEVENS POINT      WI         54481                 6004                Various                                                                                                $1.00
GABRIELLE STROESSNER           518 WEST 1ST STREET                                              WALDO              WI         53093                 6004                Various                                                                                               $13.00
GAGE ADKINS                    N719 CTY RD M                                                    WATERTOWN          WI         53098                 6004                Various                                                                                                $2.00
GAGE BEZA                      1604 CLAYCOMB RD                                                 WAYNE              NE         68787                 6002                Various                                                                                                $9.95
GAGE BOLDT                     36074 FALCON WAY                                                 NORTH BRANCH       MN         55056                 6002                Various                                                                                                $4.08
GAGE CARSLEY                   695 21ST RD                                                      WEST POINT         NE         68788                 6002                Various                                                                                                $9.64
GAGE DINGERSON                 5510 WEST 9TH ST             APT 101                             WINONA             MN         55987                 6004                Various                                                                                               $53.25
GAGE HOKUM                     1374 CO RD # 144                                                 FAIRVIEW           WY         83119                 6002                Various                                                                                                $8.68
GAGE W REMPE                   929 E 3RD ST                                                     SUPERIOR           NE         68978                 6002                Various                                                                                                $3.62
GAIGE FRAIN                    7646 CARRINGTON DRIVE                                            MADISON            WI         53719                 6004                Various                                                                                                $3.00
GAIL A BRITTAIN                932 W HAWES AVE                                                  APPLETON           WI         54914                 6002                Various                                                                                                $0.66
GAIL ANDERSON                  E7355 NIETZKE RD                                                 CLINTONVILLE       WI         54929                 6002                Various                                                                                                $7.37
GAIL BAKKEN                    1980 PIKA TRAIL              UNIT H                              RIVER FALLS        WI         54022                 6004                Various                                                                                               $25.00
GAIL BARRETT                   1302A BISMARCK AVE                                               OSHKOSH            WI         54902                 6002                Various                                                                                                $4.71
GAIL BARSE                     267 HAROLD BARSE STREET                                          SISSETON           SD         57262                 6002                Various                                                                                                $3.61
GAIL BOLEN                     W6639 TOWN HALL RD.                                              COLEMAN            WI         54112                 6004                Various                                                                                               $12.39
GAIL BRUSS                     1605 C NAVAJO ST                                                 GRAFTON            WI         53024                 6002                Various                                                                                                $6.25
GAIL BUSETTO                   2525 HIGHWAY # ZZ                                                DE PERE            WI         54115                 6002                Various                                                                                                $3.21
GAIL D. ROOP                   1765 27TH ST                                                     OGDEN              UT         84403                 6002                Various                                                                                                $0.63
GAIL HOPPEL                    1019 15TH ST N PRE-RELEASE                                       GREAT FALLS        MT         59401                 6002                Various                                                                                                $1.01
GAIL JOHNSON                   412 NE ELM ST                                                    GREENFIELD         IA         50849                 6002                Various                                                                                                $7.95
GAIL KANE                      3645 S RIDGE RD                                                  DEPERE             WI         54115                 6004                Various                                                                                               $12.00
GAIL KOGLE                     12518 E 24TH                                                     SPOKANE            WA         99216                 6004                Various                                                                                               $30.00
GAIL KORN                      424 CLEVELAND STREET         APT 208                             WINNECONNE         WI         54986                 6004                Various                                                                                               $25.00

GAIL LANKFORD                  4740 WAZEECHA AVENUE                                             WISCONSIN RAPIDS   WI         54494                   6004              Various                                                                                               $44.80
GAIL M FRUSTAGLIO              510 BANK ST                                                      ISHPEMING          MI         49849                   6002              Various                                                                                                $1.34
GAIL M THORSON                 604 KNIGHT ST APT 05                                             ST PETER           MN         56082                   6002              Various                                                                                                $3.64
GAIL NORDMAN                   1321 23RD ST N                                                   WISCONSIN RAPID    WI         54494                   6002              Various                                                                                                $9.10
GAIL PITTSENBARGER             401 W MAIN ST                                                    SIDNEY             MT         59270                   6002              Various                                                                                                $2.93
GAIL PRAEFKE                   3412 MIDVALE DR APT 7                                            JANESVILLE         WI         53546                   6002              Various                                                                                                $0.74
GAIL R CARVER                  724 S 17TH ST                                                    WORLAND            WY         82401                   6002              Various                                                                                                $6.88
GAIL RINGWELL                  243 LEDGEWOOD DR                                                 FOND DU LAC        WI         54937                   6002              Various                                                                                                $0.36




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GAIL SANCHEZ                      20995 LINCOLN SCHOOL RD                                         CALUMET            MI         49913                6002                Various                                                                                             $0.60
GAIL SHOTTS                       856 E 2ND ST                                                    SUPERIOR           NE         68978                6002                Various                                                                                             $4.58
GAIL SIELSKI                      1328 S 31ST STREET                                              MANITOWOC          WI         54220                6004                Various                                                                                            $65.00
GAIL STEFFEN                      208 SO. LOCUST                                                  MARCUS             IA         51035                6004                Various                                                                                             $9.60
GAIL W CAVANAUGH                  3400 YORKSHIRE LN APT 324                                       MANITOWOC          WI         54220                6002                Various                                                                                             $7.10
GAILLE BROWN                      111 B ST                                                        UNION              NE         68455                6002                Various                                                                                             $5.84
GALDERMA LABORATORIES INCORPOR    22113 NETWORK PLACE                                             CHICAGO            IL         60673-1221           7614                Various                                                                                        $71,699.54
GALE C PETERSON                   2333 RUNWAY DR                                                  WAUPACA            WI         54981                6002                Various                                                                                             $5.26
GALE F SANTIAGO                   19106 KENNEY WAY                                                CALDWELL           ID         83605                6002                Various                                                                                             $1.51
GALE OHDE                         W53N191 PIERCE CT                                               CEDARBURG          WI         53012                6002                Various                                                                                             $7.26
GALE SEDLACEK                     412 N 8TH ST                                                    WYMORE             NE         68466                6002                Various                                                                                             $4.66
GALEN COPPLE                      2265 BREYNMAN ST                                                SALEM              OR         97301                6004                Various                                                                                            $13.00
GALEN FLINK                       1912 3RD ST SW                                                  ROCHESTER          MN         55902                6004                Various                                                                                             $6.00
GALEN HILLMAN                     39 6TH AVE                                                      CLAYTON            WI         54004                6002                Various                                                                                             $6.96
GALEN SCOBLE                      313 CANNON AVE                                                  SALMON             ID         83467                6002                Various                                                                                             $2.90
GALERIE                           PO BOX 714582                                                   CINCINNATI         OH         45271-4582           7184                Various                                                                                        $88,283.37
                                  15763 COLLECTION CENTER
GALLAGHER BASSETT SERVICES INC    DRIVE                                                           CHICAGO            IL         60693-0000            4444               Various                                                                                       $139,708.50
GALLATIN CAMPGROUNDS INC          547 GARDEN AVENUE                                               BILLINGS           MT         59101                 5373               Various                                                                                        $10,300.00
GALLYN SCHOEN                     1007 EAST GRANT ST          APT 52                              MARSHFIELD         WI         54449                 6004               Various                                                                                            $25.00
GALVIN MORRISON                   818 10TH ST                                                     BELOIT             WI         53511                 6004               Various                                                                                             $1.00
GAOSHOUA LOR                      921 WINTON STREET                                               WAUSAU             WI         54403                 6004               Various                                                                                            $30.00

GARCIA/ TIMOTHY                   STORE 520                   SHOPKO EMPLOYEE 2585 STATE HWY 14   ALBION             NE         68620-2820            7858               Various                                                                                               $99.13
                                                              3209 MOMENTUM
GARDA CL GREAT LAKES INCORPORA    LOCKBOX 233209              PLACE                               CHICAGO            IL         60689-5332             6903              Various                                                                                         $1,979.52
                                                              2720 INDUSTRIAL
GARDEN STATE BULB COMPANY LLC     VICE PRESIDENT OF SALES     WAY                                 VINELAND           NJ         08360                 1554               Various                                                                                        $19,471.78
GARDENS ALIVE LM FARMS LLC        LM FARMS                    PO BOX 772990                       CHICAGO            IL         60677-0290            3206               Various                                                                                          $255.78
GARETT JACK                       2516 WASHINGTON AVE                                             HOT SPRINGS        SD         57747                 6002               Various                                                                                             $3.73
GARLYN BRENTNER                   1203 7TH AVE NW                                                 ROCHESTER          MN         55901                 6002               Various                                                                                             $8.33
GARRET ESTES                      1043 NW SPRUCE AVE                                              REDMOND            OR         97756                 6004               Various                                                                                            $35.00
GARRET NIELSEN                    305 S LIVINGSTON LN                                             POST FALLS         ID         83854                 6004               Various                                                                                            $54.00
GARRETT ELLIS                     618 LYNNDLE DR APT 8                                            APPLETON           WI         54914                 6002               Various                                                                                             $6.85

GARRETT KNIGHT                    269 SOUTHVIEW AVE           BUILDING 3 APT 103                  MOSCOW             ID         83843                 6004               Various                                                                                            $20.00
GARRETT MCINTOSH                  12855 425TH AVE.                                                PIERPONT           SD         57468                 6004               Various                                                                                            $15.00
GARRETT MICK                      3855 W PARK CREEK DRIVE                                         MERIDIAN           ID         83642                 6004               Various                                                                                             $6.99
GARRETT P SIMLER                  107 S JACKSON ST                                                ALBANY             WI         53502                 6002               Various                                                                                            $10.00
GARRETT SANFORD                   301 E DIVISION ST                                               RIVER FALLS        WI         54022                 6002               Various                                                                                             $8.47
GARRETT SWANSON                   37713 BOARDMAN CREEK RD                                         VALENTINE          NE         69201                 6002               Various                                                                                            $10.00
GARRETT WILLIAMS                  488 E 800 S                                                     SPRINGVILLE        UT         84663                 6004               Various                                                                                             $4.00
GARRISON DISPOSAL                 PO BOX 308                                                      AITKIN             MN         56431                                    Various                                                                                         $1,012.99
GARRY GLIME                       391 MOON VALLEY DR                                              GREEN BAY          WI         54302                 6002               Various                                                                                             $7.32
GARRY HAAK                        309 N LAWLESS                                                   MOUNT VERNON       SD         57363                 6004               Various                                                                                            $47.20
GARRY JUNGWIRTH                   1011 GREGORY ST                                                 NEENAH             WI         54956                 6002               Various                                                                                             $3.07

GARRY KRONSTEDT                   4741 CHURCH AVE                                                 WISCONSIN RAPIDS   WI         54494                 6004               Various                                                                                           $112.52
GARRY MARTIN                      560 S 2ND ST APT 213                                            LANDER             WY         82520                 6002               Various                                                                                             $3.73
GARTH CARLSON                     2442 240TH ST                                                   TRUMAN             MN         56088                 6002               Various                                                                                             $7.10
GARTH GNEHM                       650 N 100TH W                                                   LOGAN              UT         84321                 6002               Various                                                                                             $9.56
GARY A. LUX                       3845 W MONROE PO BOX # 40                                       LAKE GEORGE        MI         48633                 6002               Various                                                                                             $2.93
GARY A. MCFARLANE                 1508 ARGONNE DR                                                 GREEN BAY          WI         54304                 6002               Various                                                                                             $2.68
GARY ALFT                         2110 87TH STREET SO                                             WISCONSIN RAPID    WI         54494                 6002               Various                                                                                            $10.00




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GARY ALLRED                    PO BOX 863                                                  MOUNTAIN VIEW    WY         82939                  6002                Various                                                                                                $3.61
GARY ALSTEEN                   7222 PAUTZ RD                                               MARIBEL          WI         54227                  6002                Various                                                                                                $7.84
GARY ANDERSON                  5571 W PAINT HORSE RD                                       NORTH PLATTE     NE         69101                  6002                Various                                                                                                $0.93
GARY ATKINSON                  1061 S 2230TH E                                             SPANISH FORK     UT         84660                  6002                Various                                                                                                $2.08
GARY BOYLESS                   5765 BUTMAN RD                                              GLADWIN          MI         48624                  6002                Various                                                                                                $9.29
GARY BUTCHER                   PO BOX 45                                                   SMOOT            WY         83126                  6002                Various                                                                                                $8.25
GARY CHAFFEE                   4937 90TH ST                                                RACINE           WI         53403                  6004                Various                                                                                               $30.00
GARY CHAVARRIA                 3434 TIMBER RIDGE CIRCLE                                    LINCOLN          NE         68522                  6004                Various                                                                                                $3.40
GARY CLEVENGER                 2225 EAST AVENUE N                                          ONALASKA         WI         54560                  6004                Various                                                                                               $79.98
GARY CRABTREE                  2992 170TH ST                                               FORT MADISON     IA         52627                  6002                Various                                                                                                $7.62
GARY D STEELE                  221 ST CLOUD ST                                             RAPID CITY       SD         57701                  6002                Various                                                                                                $7.23
GARY DAVIS                     43030 876TH RD                                              AINSWORTH        NE         69210                  6002                Various                                                                                               $10.62
GARY DOBRASKA                  117 E LAKE LN                                               COLGATE          WI         53017                  6002                Various                                                                                                $0.77
GARY DONALDSON                 6011 ROSEWOOD DR                                            APPLETON         WI         54913                  6004                Various                                                                                               $10.00
GARY DOWHY                     BOX 81                                                      MIDDLEBRO        MB         R0A1B         CANADA 6002                  Various                                                                                                $6.96
GARY DOWNS                     5027 CALVERT                                                LINCOLN          NE         68506                  6004                Various                                                                                                $2.00
GARY DOXTATER                  7011 SPRUCE AVE                                             NEWAYGO          MI         49337                  6002                Various                                                                                                $2.85
GARY E. BALDWIN                PO BOX 588                                                  SIDNEY           MT         59270                  6002                Various                                                                                                $2.52
GARY E. PETERSEN               230 5TH AVE N APT C-1                                       SAINT CLOUD      MN         56303                  6002                Various                                                                                                $7.21
GARY F EITREM                  7175 DIVINE RAPID RD                                        FIFIELD          WI         54524                  6002                Various                                                                                                $9.48
GARY FEENSTRA                  PO BOX 230 ROUTE 2                                          GLIDDEN          WI         54527                  6002                Various                                                                                               $14.83
GARY FRIEDE                    1026 PESHING STREET                                         EAU CLAIRE       WI         54703                  6004                Various                                                                                               $30.00
GARY FUERHOFF                  309 W COURT ST                                              PIERCE           NE         68767                  6002                Various                                                                                                $1.89
GARY G GOTSCHALL               166 13TH AVE                                                COLUMBUS         NE         68601                  6002                Various                                                                                                $9.78
GARY GASKILL                   288 235TH AVE                                               MONMOUTH         IL         61462                  6002                Various                                                                                                $0.66
GARY GEHRING                   5902 PRYOR ROAD                                             BILINGS          MT         59101                  6004                Various                                                                                               $54.90
GARY GERDING                   14448 SHIRLEY CIR                                           OMAHA            NE         68144                  6002                Various                                                                                               $10.00
GARY GOETZMAN                  710 N HILL RD                                               BELOIT           WI         53511                  6002                Various                                                                                                $6.60
GARY GOLD                      398 GUSTAFSON DR                                            IDAHO FALLS      ID         83402                  6002                Various                                                                                                $5.21
GARY GOTCHNIK                  540 E PATTISON ST                                           ELY              MN         55731                  6002                Various                                                                                                $1.21
GARY GRAMS                     229 SIOUX CT                                                JANESVILLE       WI         53545                  6004                Various                                                                                               $10.00
GARY H. HOEFERT                2521 GROVE RD                                               BAILEYS HARBOR   WI         54202                  6002                Various                                                                                               $10.00
GARY HAMMONS                   158 COUNTRY CLUB DR                                         OGDEN            UT         84405                  6002                Various                                                                                                $2.68
GARY HANOVER                   45 GREEWOOD TRAIL                                           CLANCY           MT         59634                  6004                Various                                                                                               $64.78
GARY HANSEN                    13308 KEMPPAINEN ST                                         COVINGTON        MI         49919                  6002                Various                                                                                                $6.41
GARY HANSON                    1858 OAKHILL DR                                             GREEN BAY        WI         54313                  6002                Various                                                                                                $3.33
GARY HARTZ                     4450 S 250TH W                                              OGDEN            UT         84405                  6002                Various                                                                                                $4.96
GARY HARVEY                    PO BOX 177                                                  PECK             ID         83545                  6002                Various                                                                                                $1.37

GARY HERBERT                   W272N7257 MEADOW WOOD LN                                    SUSSEX           WI         53089                    6002              Various                                                                                                $2.93
GARY HIGHLAND                  407 BUDD LAKE DR                                            FAIRMONT         MN         56031                    6002              Various                                                                                                $1.18
GARY HUDELSON                  123 DAVID DR APT 1                                          STURGIS          SD         57785                    6002              Various                                                                                                $3.33
GARY IVERSON                   718 W 6TH AVE                                               MITCHELL         SD         57301                    6002              Various                                                                                                $7.92
GARY J JASPERS                 2074 145TH ST                                               PLATO            MN         55370                    6002              Various                                                                                                $8.33

GARY J ROUSH                   6219 S US HIGHWAY 51 LOT 216                                JANESVILLE       WI         53546                    6002              Various                                                                                                $4.63
GARY J. ENRIGHT                1004 W RIDGE ST APT 1                                       MARQUETTE        MI         49855                    6002              Various                                                                                                $5.10
GARY JACKSON                   308 6TH ST                                                  STEVENSVILLE     MT         59870                    6004              Various                                                                                                $5.00
GARY JAHNKE                    W2567 KRAMER RD                                             SEYMOUR          WI         54165                    6002              Various                                                                                                $6.88
GARY JIMENEZ                   207 S 69TH AVE                                              YAKIMA           WA         98908                    6004              Various                                                                                               $20.00
GARY JOHANNSEN                 P.O. BOX 193                                                LANSING          MN         55950                    6004              Various                                                                                                $3.00
GARY JOHNSON                   2783 HAZELWOOD LN                                           GREEN BAY        WI         54304                    6002              Various                                                                                               $16.36
GARY KLEIN                     1821 MCTAVISH CT # 4A                                       RAWLINS          WY         82301                    6002              Various                                                                                                $0.44
GARY KUEBLI                    N5897 COUNTY F                                              MONTICELLO       WI         53570                    6002              Various                                                                                                $6.36




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GARY L GIANNINO                117 CEDAR RIDGE DR                                               THERMOPOLIS       WY         82443                 6002                Various                                                                                                $1.51
GARY L SHUFFIELD               1014 JACKSON ST                                                  BELLE FOURCHE     SD         57717                 6002                Various                                                                                                $0.30
GARY LABORDE                   209 CATHCART ST                                                  LE SUEUR          MN         56058                 6004                Various                                                                                                $3.00
GARY LEFKO                     3275 CHARDONNAY CT                                               DE PERE           WI         54115                 6002                Various                                                                                                $8.66
GARY LESOING                   PO BOX 444                                                       HICKMAN           NE         68372                 6002                Various                                                                                                $2.77
GARY LITTLEFIELD               5 E 3RD STREET                                                   LOVELL            WY         82431                 6002                Various                                                                                                $2.08
GARY LYONS                     410 3RD AVE SW               APT 112                             SIDNEY            MT         59270                 6002                Various                                                                                               $10.41
GARY M FRY                     140 13TH ST S                                                    WISCONSIN RAPID   WI         54494                 6002                Various                                                                                                $3.42
GARY MAZUR                     113 W CARPENTER-BOX # 155                                        LYONS             KS         67554                 6002                Various                                                                                                $3.56
GARY MCCLELLAN                 1442 WILTSEY RD SE                                               SALEM             OR         97306                 6004                Various                                                                                               $25.00
GARY MEYER                     2218 N RACINE ST                                                 APPLETON          WI         54911                 6002                Various                                                                                                $7.53
GARY MURPHY                    5405 HIGHWAY 434                                                 WOLF CREEK        MT         59648                 6002                Various                                                                                                $7.97
GARY NEUMAN                    7021 BUNKER HILL RD                                              GREENLEAF         WI         54126                 6002                Various                                                                                                $1.51
GARY NIEMELA                   111 LARA LEI TR                                                  MARQUETTE         MI         49855                 6002                Various                                                                                                $0.38
GARY NOLDE                     10 N LANE                                                        LANDER            WY         82520                 6002                Various                                                                                                $7.15
GARY OWENS                     15512 PEPPERWOOD DRIVE                                           OMAHA             NE         68154                 6002                Various                                                                                               $12.22
GARY PETERSON                  410 JENKS AVE                PO BOX 434                          COKATO            MN         55321                 6002                Various                                                                                                $2.08
GARY POPP SR                   5525 TOWNHALL RD                                                 ATHENS            WI         54411                 6002                Various                                                                                                $3.81
GARY POUPORE                   N9491 STURGEON ROAD                                              SAGOLA            MI         49881                 6004                Various                                                                                                $1.56
GARY POWELL                    47781 WEEKS LN.                                                  OAKRIDGE          OR         97463                 6004                Various                                                                                               $25.00
GARY R BASS                    4114 SPENCER ST                                                  OMAHA             NE         68111                 6002                Various                                                                                               $10.00
GARY R ISHERWOOD               6979 HIGHWAY 54 E                                                PLOVER            WI         54467                 6002                Various                                                                                                $2.08
GARY R ROESCH                  1111 SKYVIEW DR                                                  LANCASTER         WI         53813                 6002                Various                                                                                                $8.47
GARY R. GAST                   N472 NOTTINGHAM RD                                               APPLETON          WI         54915                 6002                Various                                                                                               $10.00
GARY ROBINSON                  3845 N 100TH E                                                   PROVO             UT         84604                 6002                Various                                                                                                $2.60
GARY ROSE                      3911 WEST CHICAGO ST.                                            RAPID CITY        SD         57702                 6004                Various                                                                                               $10.00
GARY RYNISH                    N9423 STATE HIGHWAY 55                                           SEYMOUR           WI         54165                 6002                Various                                                                                                $3.45
GARY S. SMITH                  193 E 700TH N                                                    SPANISH FORK      UT         84660                 6002                Various                                                                                                $6.74
GARY SCHOEPF                   PO BOX 1734                                                      NORFOLK           NE         68701                 6004                Various                                                                                               $42.34
GARY SCHROEDER                 4844 N CONNOR RD                                                 JANESVILLE        WI         53548                 6002                Various                                                                                                $2.58
GARY SPAULDING                 234 CHERRY ST                                                    SEYMOUR           WI         54165                 6002                Various                                                                                               $10.77
GARY SPELLMAN                  2285 MAPLE DR                                                    SISTER BAY        WI         54234                 6002                Various                                                                                                $2.71
GARY SPENCER                   610 HOPE AVE                                                     SALMON            ID         83467                 6002                Various                                                                                                $0.44
GARY SR PRINCE                 914 W 4TH ST                                                     NORTH PLATTE      NE         69101                 6002                Various                                                                                               $10.00
GARY STOTT                     2350 WHITE OAK TRAIL                                             OREGON            WI         53575                 6004                Various                                                                                               $11.00
GARY SUKOWATY                  12836 THUNDER HOLLOW LN                                          WHITELAW          WI         54247                 6002                Various                                                                                                $0.41
GARY SULLIVAN                  2106 S MAIN AVE                                                  SIOUX FALLS       SD         57105                 6002                Various                                                                                                $7.73
GARY TALBERT                   1030 N 48TH ST TRLR 56                                           LINCOLN           NE         68504                 6002                Various                                                                                                $3.48
GARY TAYLOR                    1016 HARSHMAN ST LOT 40                                          RAWLINS           WY         82301                 6002                Various                                                                                                $6.41
GARY TILLEMANS                 85 WHITE BISON TRL                                               SOMERS            MT         59932                 6002                Various                                                                                                $1.94
GARY TONN                      888 E SHADY LN TRLR 104                                          NEENAH            WI         54956                 6002                Various                                                                                                $4.05
GARY TRENKLE                   407 LANE 1 ST                                                    ALLIANCE          NE         69301                 6002                Various                                                                                                $4.66
GARY TRITT                     7962 TRITT RD                                                    OMRO              WI         54963                 6002                Various                                                                                                $0.27
GARY TURENNE                   18319 DODGE ST                                                   WHITEHALL         WI         54773                 6002                Various                                                                                                $8.03
GARY VANDESLUNT                N1478 GREENWOOD RD                                               GREENVILLE        WI         54942                 6002                Various                                                                                                $4.36
GARY WEBER                     119 LAZYLAKE DR                                                  FALL RIVER        WI         53932                 6004                Various                                                                                               $56.19
GARY WEDWICK                   325 WEST JEFFERSON STREEET                                       WEST SALEM        WI         54669                 6004                Various                                                                                                $7.00
GARY WIGEN                     1514 S 14TH ST                                                   ESCANABA          MI         49829                 6002                Various                                                                                                $3.92
GARY WISKOW                    N4386 HAYMAN FALLS LN                                            MARION            WI         54950                 6002                Various                                                                                                $6.82
GARY WITTENBERG                2515 1ST AVE W                                                   LA CROSSE         WI         54603                 6002                Various                                                                                                $6.47

GAUER/ ALICIA                  STORE 2-751                  SHOPKO EMPLOYEE 1712 SD HWY 10      SISSETON          SD         57262                  5453               Various                                                                                               $14.04
GAVIN BLACK                    1609 HENDERSON AVE                                               BELOIT            WI         53511                  6002               Various                                                                                                $3.81
GAVIN BURNHAM                  912 N 60TH E                                                     OREM              UT         84057                  6002               Various                                                                                                $8.30




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                                                                                                                                                                                          Contingent


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                                                                                                                                                 Last 4 Digits of     Date Debt was
                                                                                                                                                    Account         Incurred, Basis for
              Creditor Name                   Address1           Address2        Address3              City       State           Zip   Country     Number                Claim                                                                             Total Claim
GAVIN CASTOR                      15440 THAYER RD #3                                          LOLO             MT         59847                 6002                Various                                                                                             $1.59
GAVIN DWYER                       4937 WILSHIRE CT SE       #B                                LACEY            WA         98503                 6004                Various                                                                                             $5.00
GAVIN ELLSWORTH                   30 WHEATLAND DRIVE                                          BILLINGS         MT         59102                 6004                Various                                                                                             $3.00
GAVIN FRITSCH                     1419 12TH AVE.                                              MONROE           WI         53566                 6004                Various                                                                                             $6.50
GAVIN GENSMER                     204 BOOTH ST APT 113                                        FOX LAKE         WI         53933                 6004                Various                                                                                             $2.00
GAVIN JENSEN                      1013 WINNEBAGO AVE                                          FAIRMONT         MN         56031                 6002                Various                                                                                             $4.88
GAVIN LARSON                      520 LIMERICK DR. #213                                       COTTAGE GROVE    WI         53527                 6004                Various                                                                                            $22.50
GAVIN MENCEL                      W2586 ASPEN CT                                              APPLETON         WI         54915                 6002                Various                                                                                             $1.12
GAVIN VEIUM                       2810 PERRY ST.                                              MADISON          WI         53713                 6004                Various                                                                                             $3.00
GAVIN YATES                       2633 N. LEXINGTON #4                                        JANESVILLE       WI         53546                 6004                Various                                                                                             $3.00
GAVYN WELLS                       405 EMILY ROAD                                              MAZOMANIE        WI         53560                 6004                Various                                                                                             $1.00
GAY SNYDER                        55630 237TH ST                                              GLENDWOOD        IA         51534                 6002                Various                                                                                            $47.00
GAYLA JULSON                      3487 HIGHWAY 278                                            DILLON           MT         59725                 6002                Various                                                                                             $6.68
GAYLE ADAIR                       58 CLOVER LN                                                CARMEN           ID         83462                 6002                Various                                                                                             $1.94
GAYLE E PEREIRA                   1537 BUENA VISTA                                            SAN CLEMENTE     CA         92672                 0373                Various                                                                                         $5,000.00
GAYLE FOX                         1157 N 600TH W                                              CLINTON          UT         84015                 6002                Various                                                                                             $6.41
GAYLE GREEN                       32368 CTY RD # 109                                          LEWISTON         MN         55952                 6002                Various                                                                                             $2.00
GAYLE JUTTING                     452 BIRCH AVE                                               WESTBROOK        MN         56183                 6002                Various                                                                                             $7.32
GAYLE L GRINDAHL                  700 2ND ST SE                                               ROSEAU           MN         56751                 6002                Various                                                                                             $6.74
                                  W246N5926 PRARIE FALCON
GAYLE MAGNUSON                    PASS                                                        SUSSEX           WI         53089                  6002               Various                                                                                             $3.92
GAYLE MASHEK                      436 E MAIN ST                                               FREDERICKSBURG   IA         50630                  6002               Various                                                                                             $4.44
GAYLE N LEWIS                     17772 ROAD I                                                NORTON           KS         67654                  6002               Various                                                                                             $3.73
GAYLE ROHR                        PO BOX 1                                                    DILLER           NE         68342                  6002               Various                                                                                             $3.45
GAYLE S. FASSBENDER               517 HOLLAND RD                                              KAUKAUNA         WI         54130                  6002               Various                                                                                             $8.88
GAYLE STEWART                     4899 S 500TH W                                              OGDEN            UT         84405                  6002               Various                                                                                             $2.08
GAYLEN HOOPES                     3489 HIGHWAY 241                                            AFTON            WY         83110                  6002               Various                                                                                             $3.48
GAYLEN SMITH                      3468 N 1090 W                                               LEHI             UT         84043                  6004               Various                                                                                            $10.00
GE LOR                            1213 TRIMBERGER CT                                          SHEBOYGAN        WI         53081                  6004               Various                                                                                             $1.00
GEISS DESTIN & DUNN INCORPORAT    PO BOX 102938                                               ATLANTA          GA         30368-2938             8704               Various                                                                                        $21,078.44
GENAVIERE BRADFORD                PO BOX 11012                                                KALISPELL        MT         59904                  6002               Various                                                                                             $8.79
GENE BENDER                       PO BOX 281                                                  WARNER           SD         57479                  6004               Various                                                                                            $11.84
GENE BESSINE                      1109 S. 5TH ST.                                             BURLINGTON       IA         52601                  6004               Various                                                                                            $21.25
GENE FOX                          PO BOX 122                                                  MONTAGUE         MI         49437                  6002               Various                                                                                             $5.29
GENE MAYER MARITAL IRREVOCABLE    PO BOX 8312                                                 YAKIMA           WA         98908                  1546               Various                                                                                        $16,745.65
GENE PALMA                        55 S CANYON VIEW DR                                         PAYSON           UT         84651                  6002               Various                                                                                             $4.47
GENE PEARSON                      N14151 SCHUBERT ROAD                                        TREMPEALEAU      WI         54661                  6004               Various                                                                                          $114.92
GENE POPKES                       BOX 981                                                     MISSION          SD         57555                  6002               Various                                                                                            $33.28
GENE REINBOLT                     2805 VESTA CIRCLE                                           IDAHO FALLS      ID         83402                  6004               Various                                                                                            $60.82
GENE RENARD                       1446 HAWTHORNE                                              TWO RIVERS       WI         54241                  6004               Various                                                                                            $34.00
GENE WEYERS                       4401 W MARTELL RD                                           MARTELL          NE         68404                  6002               Various                                                                                             $0.74
GENE WRIGHT                       1722 ST LAWARENCE                                           BELOIT           WI         53511                  6004               Various                                                                                            $25.00
GENERAL BEER DISTRIBUTORS NORT    1825 ROSEHILL ROAD                                          KAUKAUNA         WI         54130-0000             1622               Various                                                                                        $35,136.24
                                                            120 JACK FROST
GENERAL BEER NORTHWOODS           VICE PRESIDENT OF SALES   STREET                            EAGLE RIVER      WI         54521                  3215               Various                                                                                            $13.01
GENERAL ELECTRIC CO & TUNGSRAM    LIGHTING BUSINESS GROUP   PO BOX 100810                     ATLANTA          GA         30384-0810             2120               Various                                                                                       $523,508.21
GENERAL MAINTENANCE CORPORATIO    PO BOX 12055                                                GREEN BAY        WI         54307                  2620               Various                                                                                          $379.80
GENERAL MILLS INCORPORATED        915 E PLEASANT STREET                                       BELVIDERE        IL         61008-0000             0427               Various                                                                                       $239,617.46
GENERAL NUBB BESTLAND             2511 59TH ST NW                                             ROCHESTER        MN         55901                  6002               Various                                                                                             $1.56
GENESIS REAL ESTATE AND DEVELO    919 E WHITE MOUNTAIN                                        PINETOP          AZ         85935                  4353               Various                                                                                         $2,836.88
GENEVA M SWING                    1714 HILLTOP DR                                             WORLAND          WY         82401                  6002               Various                                                                                             $1.01
GENEVIEVE ALLINGTON               1119 MONROE ST APT 105                                      BEATRICE         NE         68310                  6002               Various                                                                                             $1.15
GENEVIEVE BEAN                    671 YOUNGS LN                                               MARSHFIELD       WI         54449                  6002               Various                                                                                             $9.56
GENEVIEVE KIRKPATRICK             1404 WELLINGTON CRES S                                      WINNIPEG         MB         54868                  6002               Various                                                                                             $9.51




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                                                                                                                                                    Account         Incurred, Basis for
             Creditor Name                Address1            Address2         Address3              City        State           Zip    Country     Number                Claim                                                                             Total Claim
GENEVIEVE LOVELESS            305 W 15TH ST                                                 FALLS CITY        NE         68355                  6002                Various                                                                                                $4.22
GENEVIEVE SHARP               3027 W CAPITOL # 20                                           GRAND ISLAND      NE         68803                  6002                Various                                                                                                $4.49
GENIEL SUMMERS                5975 S 1075TH E                                               SOUTH OGDEN       UT         84405                  6002                Various                                                                                                $6.77
GENIVA BEASLEY                1156 W MAIN ST                                                THOMSON           IL         61285                  6002                Various                                                                                                $1.40
GENNIE SANDKAM                118 NEW FOUNDLAND PL NE                                       POPLAR GROVE      IL         61065                  6002                Various                                                                                                $8.03
GEOFFREY ANGLE                1121 N MORRISON ST                                            APPLETON          WI         54911                  6002                Various                                                                                                $2.63
GEOFFREY CARROLL              428 W LOCUST ST                                               LANARK            IL         61046                  6002                Various                                                                                                $4.82
GEOFFREY D MOORE              208 S DAVIESS ST                                              GALLATIN          MO         64640                  6002                Various                                                                                                $9.40
GEOFFREY FENDER               503 S EGAN AVE                                                MADISON           SD         57042                  6002                Various                                                                                                $6.49
GEORGE BARTINSKI              BOX 78E                                                       SPRAGUE           MB         R0A1Z         CANADA 6002                  Various                                                                                                $0.99
GEORGE BEYERSDORF             N3790 ELM GROVE RD                                            CLINTONVILLE      WI         54929                  6002                Various                                                                                                $0.38
GEORGE BIEBER                 218 S, ROOSEVELT ST                                           GREEN BAY         WI         54302                  6004                Various                                                                                                $3.00
GEORGE BOGGS                  625 ARNOLD DR                                                 LYONS             KS         67554                  6002                Various                                                                                                $5.97
GEORGE BYNUM                  11925 WAKELEY PLAZA                                           OMAHA             NE         68154                  6004                Various                                                                                                $5.00
GEORGE C INFELD               6 S SHEAKLY AVE # 7                                           NEW HAMPTON       IA         50659                  6002                Various                                                                                                $6.77
GEORGE CHILDRESS              HC 1 BOX 20                                                   GRANDIN           MO         63943                  6002                Various                                                                                                $5.40
GEORGE COLON                  2424 MAIN AVE                                                 HOWARDS GROVE     WI         53083                  6004                Various                                                                                                $3.00
GEORGE CORONA                 690 NW GREENWOOD LOOP                                         REDMOND           OR         97756                  6004                Various                                                                                               $14.00
GEORGE DAVIDSON               208 WILLOW ST                                                 ST. MARIE         MT         59231                  6002                Various                                                                                                $1.62
GEORGE DAVIS                  12811 ROAD 11.5 NW                                            QUINCY            WA         98848                  6002                Various                                                                                                $4.16
GEORGE DUMKE                  N7028 SHADY LANE CIR                                          PORTERFIELD       WI         54159                  6002                Various                                                                                                $9.07
GEORGE DUNN                   1600 BRIGGS ST                                                STEVENS POINT     WI         54481                  6002                Various                                                                                               $10.00
GEORGE GESSLER                912 N. WRIGHT                                                 LIBERTY LAKE      WA         99019                  6004                Various                                                                                               $15.39
GEORGE H SHOLES               750 BRIAR LN                                                  BELOIT            WI         53511                  6002                Various                                                                                                $7.42
GEORGE HAMILTON               BOX 1242                                                      COEUR D ALENE     ID         83816                  6002                Various                                                                                                $1.75
GEORGE HARMON                 1019 15TH ST N PRERELEASE                                     GREAT FALLS       MT         59401                  6002                Various                                                                                                $3.10
GEORGE HIGDON                 3400 PIERCE AVE TRLR 443                                      MARINETTE         WI         54143                  6002                Various                                                                                                $0.93
GEORGE HILDEBRAND             1200 S 6TH ST                                                 HOT SPRINGS       SD         57747                  6002                Various                                                                                               $10.00
GEORGE HUEZO                  2717 W 650 S                UNIT D 207                        SPRINGVILLE       UT         84663                  6004                Various                                                                                                $3.98
GEORGE HURST                  BOX 32                                                        LIMA              MT         59739                  6002                Various                                                                                                $6.96
GEORGE J ORR                  518 HENRY ST                                                  KEWAUNEE          WI         54216                  6002                Various                                                                                                $8.55
GEORGE KAPHEIM                305 CRT HOUSE DR                                              SALMON            ID         83467                  6002                Various                                                                                                $5.10
GEORGE KETTLEWELL             PO BOX 79                                                     FAIRBURN          SD         57738                  6002                Various                                                                                                $6.63
GEORGE KNUTE                  1050 PILGRIM WAY                                              GREEN BAY         WI         54304                  6666                Various                                                                                               $62.67
GEORGE LISOWSKI               N42088 ROSKOS RD                                              STRUM             WI         54770                  6002                Various                                                                                                $0.27
GEORGE M HERMAN               1338 SHERMAN RIDGE RD                                         WAUKON            IA         52172                  6002                Various                                                                                                $7.64
GEORGE MALOY                  1757 220TH ST                                                 NEW HAMPTON       IA         50659                  6002                Various                                                                                               $17.46
GEORGE MCCUE                  S10400 HEMLOCK ROAD                                           MONDOVI           WI         54755                  6004                Various                                                                                               $15.00
GEORGE MCLEAN                 2134 NW HARRIMAN STREET                                       BEND              OR         97703                  6004                Various                                                                                               $17.50
GEORGE MERHOFF                4836 CREEKVIEW DR                                             EDEN              UT         84310                  6002                Various                                                                                                $6.03
GEORGE MUDROVICH              1308 MARQUARDT RD.                                            WAUSAU            WI         54403                  6004                Various                                                                                               $30.00
GEORGE NEMITZ                 3372 HIGHWAY T47                                              MONTOUR           IA         50173                  6002                Various                                                                                                $2.71
GEORGE OHLROGGE               1455 KENWOOD DR                                               MENASHA           WI         54952                  6002                Various                                                                                                $9.48
GEORGE OWENS                  10402 HAULEY RD                                               NEOSHO            MO         64850                  6002                Various                                                                                                $0.77
GEORGE RAINEY                 38 MEADOWLARK LN                                              GROVER            WY         83122                  6002                Various                                                                                                $5.26
GEORGE REAL                   5414 BEAR LANE                                                CALDWELL          ID         83607                  6004                Various                                                                                                $5.02

GEORGE ROSINSKI               355 E WHITEFISH RD                                            PORT WASHINGTON   WI         53074                    6002              Various                                                                                                $7.18
GEORGE RUNCK                  10404 US HIGHWAY 136                                          OXFORD            NE         68967                    6002              Various                                                                                                $2.27
GEORGE STANSBURY              865 10TH ST NW                                                GLENWOOD          MN         56334                    6002              Various                                                                                                $0.77
GEORGE VOSS                   2311 S JOHNSON ST                                             MISSOULA          MT         59801                    6002              Various                                                                                                $4.32
GEORGE W III BOWER            3330 PTARMIGAN LN                                             HELENA            MT         59602                    6002              Various                                                                                                $4.52
GEORGE WALKER                 9090 RIDGE WOOD PL                                            WEST JORDAN       UT         84088                    6002              Various                                                                                                $1.92
GEORGE WASHINGTON             3751 N 40TH AVENUE                                            OMAHA             NE         68111                    6004              Various                                                                                               $60.00




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                                                                                                                                               Last 4 Digits of     Date Debt was
                                                                                                                                                  Account         Incurred, Basis for
             Creditor Name               Address1             Address2        Address3              City         State         Zip    Country     Number                Claim                                                                             Total Claim
GEORGE WELLS                  113 HERRIFORD ST                                             CHILLICOTHE        MO         64601                6002                Various                                                                                             $9.23
GEORGE WINFREY                27 ROAD 021                                                  ALPINE             WY         83128                6002                Various                                                                                            $13.79
GEORGEANN PRICE               3611 85TH STREET NW      # 11                                ORONOCO            MN         55960                6004                Various                                                                                             $5.00
GEORGETTA ZEMKE               7404 M-66                                                    FIFE LAKE          MI         49633                6002                Various                                                                                            $10.27
GEORGETTE KERN                1600 KINGHORN RD                                             POCATELLO          ID         83201                6002                Various                                                                                             $2.14
GEORGIA EFFERSON              9 TURKEY LN SPC 26                                           BUFFALO            WY         82834                6002                Various                                                                                             $0.27
GEORGIA FIANE                 1255 BENS WAY                                                KAUKAUNA           WI         54130                6002                Various                                                                                             $6.16
GEORGIA KAMP                  PO BOX 257                                                   BELLMONT           IL         62811                6002                Various                                                                                             $2.00
GEORGIA PACIFIC               PO BOX 281523                                                ATLANTA            GA         30384-1523           4600                Various                                                                                        $72,222.38
GEORGIA REGAS                 101 PRAIRE RD                                                NORTH PLATTE       NE         69101                6002                Various                                                                                             $9.62
GEORGIA SKINNER               BOX 1266                                                     OROFINO            ID         83544                6002                Various                                                                                             $1.40
GEORGIA TURNER                101 FAWNDALE DRIVE                                           FREEPORT           IL         61032                6004                Various                                                                                             $1.27
GEORGIA WIDEN                 1076 N ELM RD                                                ELLISON BAY        WI         54210                6002                Various                                                                                             $1.51
GEORGIANNA FREESE             124 W 4TH AVE APT C                                          STANLEY            WI         54768                6002                Various                                                                                             $6.71
GEORGIANNA KENNEDY            9245 W SUNFLOWER LN                                          BOISE              ID         83704                6002                Various                                                                                             $7.34

GEORGIANNE OPALEWSKI          2711 12TH ST S                                               WISCONSIN RAPIDS   WI         54494                  6004              Various                                                                                               $27.14
GEORGINA VAZQUEZVILLASENOR    1950 BASTEN ST APT 7                                         GREEN BAY          WI         54302                  6002              Various                                                                                                $6.30
GEORGIY BAGDASAROVA           201 W HIGHLAND DRIVE                                         GRAFTON            WI         53024                  6004              Various                                                                                               $10.00
GERALD * DEAVER               808 SW 2001ST                                                ANDREWS            TX         79714                  6002              Various                                                                                                $5.42

GERALD A MARKUSON             4830 WHITROCK AVE                                            WISCONSIN RAPIDS   WI         54494                 6002               Various                                                                                            $29.09
GERALD A. BOARDMAN            735 MAIN ST                                                  DE SOTO            WI         54624                 6002               Various                                                                                             $2.88
GERALD ARMSTRONG              PO BOX 33                                                    WALDORF            MN         56091                 6004               Various                                                                                             $3.06
GERALD BOETTCHER              N9663 BAYSHORE LN                                            LUXEMBURG          WI         54217                 6002               Various                                                                                             $7.64
GERALD DILLEY                 N10674 LAKESHORE RD                                          CLINTONVILLE       WI         54929                 6002               Various                                                                                            $18.06
GERALD DISHER                 209 DIVISION STREET      C/O POINT MOTEL                     STEVENS POINT      WI         54481                 6004               Various                                                                                             $2.00
GERALD DUBORD                 423 S 14TH ST                                                ESCANABA           MI         49829                 6002               Various                                                                                             $5.59
GERALD EMERSON                21802 SANDSTONE DR                                           BENTON CITY        WA         99320                 6004               Various                                                                                           $109.98
GERALD ERNES GEISE            W5695 HIGHWAY # O                                            APPLETON           WI         54913                 6002               Various                                                                                             $8.36
GERALD FRASIER                7363 LUND RD POB # 388                                       KALKASKA           MI         49646                 6002               Various                                                                                             $5.92
GERALD GERMAN                 45733 BIA HWY # 121                                          PEEVER             SD         57257                 6002               Various                                                                                             $5.78
GERALD GIBBS                  22979 US HIGHWAY 12                                          JULIAETTA          ID         83535                 6002               Various                                                                                             $7.15
GERALD GUSTAFSON              976 18TH RD                                                  WEST POINT         NE         68788                 6002               Various                                                                                             $9.89
GERALD HEINEMANN              47286 245TH ST                                               DELL RAPIDS        SD         57022                 6004               Various                                                                                            $41.60
GERALD J HUDECEK              22585F ORCHID AVE                                            MASON CITY         IA         50401                 6002               Various                                                                                             $2.11
GERALD JENSEN                 1408 KANE ST                                                 LA CROSSE          WI         54603                 6002               Various                                                                                             $5.53
GERALD KASTAR                 900 ARBORWAY APT 6                                           HOUGHTON           MI         49931                 6002               Various                                                                                             $8.85
GERALD KIRCHNER               N6951 750TH ST                                               BELDENVILLE        WI         54003                 6002               Various                                                                                             $4.49

GERALD KORSLIN                5620 73RD ST                                                 WISCONSIN RAPIDS   WI         54494                 6004               Various                                                                                                $5.00
GERALD KURDY                  1106 11TH STREET                                             LEWISTON           ID         83501                 6004               Various                                                                                               $51.00
GERALD L. GORDLEY             39001 460TH ST                                               CHAMBERSBURG       IL         62323                 6002               Various                                                                                                $0.74

GERALD MAGSAM                 2518 83RD STREET SOUTH                                       WISCONSIN RAPIDS   WI         54494                 6002               Various                                                                                                $6.41

GERALD MAKRUSON               4830 WHITRCOK AVE                                            WISCONSIN RAPIDS   WI         54494                  6002              Various                                                                                               $26.64

GERALD MARKUSON               4830 WHITROCK AVE                                            WISCONSIN RAPIDS   WI         54494                 6002               Various                                                                                               $50.01
GERALD MEAD                   2811 LOIS LN                                                 POCATELLO          ID         83201                 6002               Various                                                                                                $6.41
GERALD MEYER                  719 B VALLEY DR                                              WAYNE              NE         68787                 6002               Various                                                                                                $0.99
GERALD MOSIER                 206 GROVE ST NW                                              BROWNSDALE         MN         55917                 6004               Various                                                                                                $6.00
GERALD NIKOLAY                D2186 CTY RD C                                               STRATFORD,         WI         54484                 6004               Various                                                                                               $31.23
GERALD PARSONS                6 OWL CRK LN                                                 SHOUP              ID         83469                 6002               Various                                                                                                $9.64




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              Creditor Name                Address1                Address2         Address3             City         State           Zip   Country     Number                Claim                                                                             Total Claim
GERALD PHILLIPPI               421 PILTZ AVE                                                     WISCONSIN RAPID   WI         54494                 6002                Various                                                                                                $7.10
GERALD POLLACK                 27249 SUNDBERG AVE                                                WORTHINGTON       MN         56187                 6002                Various                                                                                                $4.58
GERALD R HARTER                5313 RAYWOOD RD                                                   MADISON           WI         53713                 6002                Various                                                                                                $5.34
GERALD RADKEY                  W7115 690TH AVE                                                   BELDENVILLE       WI         54003                 6002                Various                                                                                                $7.95
GERALD RAY PLOWMAN             27901 XERUS ST NW                                                 ZIMMERMAN         MN         55398                 6002                Various                                                                                                $9.10
GERALD REED                    2411 FROG POND RD                                                 OCONTO            WI         54153                 6002                Various                                                                                                $9.21
GERALD RICHIE                  BOX 74                                                            TENDOY            ID         83468                 6002                Various                                                                                                $4.71
GERALD RISKE                   5728 HOOVER AVENUE                                                PLOVER            WI         54467                 6004                Various                                                                                                $4.00
GERALD ROHRBACH                BOX 229                                                           IPSWICH           SD         57451                 6004                Various                                                                                               $52.00
GERALD RUDEN                   219 S MONTANA                                                     MITCHELL          SD         57301                 6004                Various                                                                                               $29.20
GERALD SALFER                  1616 FAIR ST                                                      MANKATO           MN         56001                 6002                Various                                                                                                $8.32
GERALD SCHROEDER               218 CRESTVIEW AVE                                                 NEENAH            WI         54956                 6004                Various                                                                                                $3.42
GERALD STAMM                   274 W ORCHARD DR                                                  GRAFTON           WI         53024                 6002                Various                                                                                                $0.60
GERALD STEIEN                  W5466 COUNTY ROAD N                                               BELDENVILLE       WI         54003                 6002                Various                                                                                                $0.77
GERALD STRACKBEIN              LINCOLN REGIONAL CENTER        P O BOX 94949                      LINCOLN           NE         68509                 6004                Various                                                                                               $95.00
GERALD SWAGART                 1297N COUNTY ROAD 437                                             COOKS             MI         49817                 6002                Various                                                                                                $2.77
GERALD TAYLOR                  1284 HALFMOON LAKE DR                                             MOSINEE           WI         54455                 6002                Various                                                                                                $6.99
GERALD TENOR                   3290 SCHOOL RD                                                    DE PERE           WI         54115                 6002                Various                                                                                                $7.48
GERALD VANBENSCHOTEN           904 8TH AVE                                                       HOWARD LAKE       MN         55349                 6002                Various                                                                                                $3.95
GERALD VOIGT                   1481 PLANK ROAD                                                   MENASHA           WI         54952                 6004                Various                                                                                                $8.96
GERALD WERGIN                  1904 EVA RD.                   APT. 9                             MOSINEE           WI         54455                 6004                Various                                                                                               $25.00
GERALD WIDOMSKI                3525 PORTAGE RD                                                   MADISON           WI         53704                 6004                Various                                                                                               $10.00
GERALD WILCOX                  83 HIGHWAY 93 N                                                   SALMON            ID         83467                 6002                Various                                                                                                $2.74
GERALD WILSON                  BOX 25                                                            OROFINO           ID         83544                 6002                Various                                                                                                $0.77
GERALD WOLD                    210 WEST ELM ST                                                   ROBERTS           WI         54023                 6004                Various                                                                                                $8.16

GERALDINE DOBBINS              104 BROWN QUAIL COURT APT. 4                                      MADISON           WI         53713                  6004               Various                                                                                                $2.00
GERALDINE GERVAE               195 S JOHNSON LAKE DR                                             GWINN             MI         49841                  6002               Various                                                                                                $0.49
                                                              1940 MORAINE TER
GERALDINE GLOSS                C/O SALLY GALLAGHER            APT 1                              GREEN BAY         WI         54303                  6002               Various                                                                                             $0.25
GERALDINE NASH                 409 S.E. SCENIC VIEW DR.                                          COLLEGE PLACE     WA         99324                  6004               Various                                                                                            $30.60
GERALDINE NIELSON              3075 KENNEDY DR APT 218                                           SALT LAKE CITY    UT         84108                  6002               Various                                                                                             $5.86
GERALDINE PRICE                1618 HIGHWAY #V                                                   STURTAVENT        WI         53177                  6002               Various                                                                                             $3.33
GERALDINE STENSRUD             APT C-12                       626 13TH AVE S                     GREAT FALLS       MT         59405                  6002               Various                                                                                             $2.08
GERALDO ALVAREZ                502 E HOLMES ST                                                   JANESVILLE        WI         53545                  6004               Various                                                                                             $3.00
GERALDYNE HOOPES               3489 HIGHWAY 241                                                  AFTON             WY         83110                  6002               Various                                                                                            $10.80
GERALYNN MAES                  325 JUNIPER ST                                                    GREEN RIVER       WY         82935                  6002               Various                                                                                             $3.23
GERARD GRZYB                   3048 SAFFRON LN                                                   NEENAH            WI         54956                  6002               Various                                                                                             $8.03
GERARD SNYDER                  PO BOX 270                                                        ELY               MN         55731                  6002               Various                                                                                             $6.52
GERARDO ERBER                  1112 GENEVA ST                                                    RACINE            WI         53404                  6002               Various                                                                                             $5.23
GERARDO TREVINO                18676 50TH AVE                                                    CHIPPEWA FALLS    WI         54729                  6004               Various                                                                                             $2.00
GERBER CHILDRENS WEAR LLC      7005 PELHAM RD SUITE D                                            GREENVILLE        SC         29615-0000             9088               Various                                                                                        $83,061.82
GERDA GURKSNYTE                10620 LITTLE SISTER RD                                            SISTER BAY        WI         54234                  6002               Various                                                                                             $9.48
GERDA MAAHS                    W227N6020 LYNWOOD DR                                              SUSSEX            WI         53089                  6002               Various                                                                                             $6.33
GEREMY KLEMM                   8222 POPPY DR                                                     BURLINGTON        WI         53105                  6002               Various                                                                                             $6.63
GERHARDT OFTEDAL               604 SW 4TH ST                                                     MADISON           SD         57042                  6002               Various                                                                                             $0.60
GERHARDT SPIETZ                233 GRAND AVE                                                     BRILLION          WI         54110                  6002               Various                                                                                             $8.32
GERI ANDERSON                  8374 ST CROIX TR                                                  NORTH BRANCH      MN         55056                  6002               Various                                                                                             $4.85
GERI BROWN                     1275 E 2300TH N                                                   NO. LOGAN         UT         84341                  6002               Various                                                                                             $0.47
GERI MESSERSCHMIDT             5982 INDIAN SHORES RD                                             WINNECONNE        WI         54986                  6002               Various                                                                                             $1.62
GERILYN FLERCHINGER            46 RIVERS EDGE                                                    AHSAHKA           ID         83520                  6002               Various                                                                                             $8.99
GERMAN LOPEZVIDAL              718 S JOHN ST APT 10                                              KIMBERLY          WI         54136                  6002               Various                                                                                             $1.37
GEROLD LYBERT                  N3631 STROM ROAD                                                  LADYSMITH         WI         54868                  6004               Various                                                                                            $20.00
GERONIMO DELUNA                501 NORTH ROSS STREET                                             BRICELYN          MN         56014                  6004               Various                                                                                             $3.00




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GERRI LYNN NELSON                 21998 FISHERMAN RD                                               CALUMET            MI           49913                  6002              Various                                                                                                $8.05
GERRY TRAXLER                     1533 GREENWOOD DR                                                MOSINEE            WI           54455                  6002              Various                                                                                               $10.41
                                                               1450 SOUTH LONE
GERSON COMPANIES                  VICE PRESIDENT OF SALES      ELM ROAD #A                         OLATHE             KS           66061                    1686            Various                                                                                        $33,049.60
GERSON G RAMIREZ                  2010 W 3RD ST                                                    PERRY              IA           50220                    6002            Various                                                                                             $0.55
GERTRUD MEYER                     2339 OLD STAGE RD                                                SISTER BAY         WI           54234                    6002            Various                                                                                             $4.19
GERTRUDE ODEGAARD                 1214 WHITE AVE                                                   BELOIT             WI           53511                    6004            Various                                                                                             $4.00
GERTRUDE ROWLANDS                 3624 56TH AVENUE NE                                              OLYMPIA            WA           98506                    6002            Various                                                                                             $4.16
                                                               1111 139TH
GHIRADELLI CHOCOLATE COMPANY      VICE PRESIDENT OF SALES      AVENUE                              SAN LEANDRO        CA           94578                    4026            Various                                                                                       $201,702.33
GIA GARY                          9307 FLORENCE DRIVE                                              STURTEVANT         WI           53177                    6004            Various                                                                                             $3.00
GIANNA TOM                        2070 S RIDGE RD                                                  GREEN BAY          WI           54304                    6002            Various                                                                                             $4.82
                                  GIBBS LAWN & SNOW CARE
GIBBS LAWN CARE                   INCORPORATED                 PO BOX 152                          BYRON              MN           55920                    0006            Various                                                                                          $641.25
GIDEON L CORBETT                  1008 STATE ST                                                    DEXTER             IA           50070                    6002            Various                                                                                             $0.47
GIDEON TURGEON                    409 5TH ST SE                                                    WATERTOWN          SD           57201                    6002            Various                                                                                             $2.55
GIFT CREATIONS LIMITED (HONG K    Suite 210, 2nd Floor         Banco Delta Asia                    Rua Do Compo                    N39 E41       Macau      7808            Various                                                                                         $5,000.00
GILBERT E JOHNSON                 RR 1 BOX 125                                                     HUMBOLDT           NE           68376                    6002            Various                                                                                             $0.41
GILBERT KRUCKEBERG                908 W ELSIE STREE                                                APPLETON           WI           54914                    6002            Various                                                                                             $6.38
GILBERT NELSON                    223 W WINTHROP ST                                                NEWCASTLE          WY           82701                    6002            Various                                                                                             $0.68
GILBERT STAYTON                   6269 SEVILLE RD                                                  SAGINAW            MN           55779                    6004            Various                                                                                             $3.00
GILDAN BRANDED APPAREL SRL        23972 NETWORK PLACE                                              CHICAGO            IL           60673-1239               1391            Various                                                                                       $275,539.06
GILDARDA F SALGADO RIVERA         35883 GILMANTON RD APT 205                                       INDEPENDENCE       WI           54747                    6002            Various                                                                                             $2.68
GILLETTE GROUP                    1900 WEST AVE SOUTH                                              LA CROSSE          WI           54601                    5013            Various                                                                                            $20.00
GILLIS DISPOSAL                   735 N VAN BUREN AVE                                              FREEPORT           IL           61032                                    Various                                                                                          $929.34
GILLIS L JACKSON                  201 E HARRISON AVE                                               COEUR D ALENE      ID           83814                    6002            Various                                                                                             $7.12
GINA BERG                         11000 HWY 10 NW              # 27                                RICE               MN           56367                    6004            Various                                                                                             $3.00
GINA BRITTEN                      1003 MELROSE CT                                                  KAUKAUNA           WI           54130                    6004            Various                                                                                             $4.32
GINA BULTJE                       PO BOX 202                                                       PLANKINTON         SD           57368                    6002            Various                                                                                             $6.36
GINA CARTER                       317 FULTON AVENUE                                                PLATTSMOUTH        NE           68048                    6004            Various                                                                                            $67.00
GINA DAVIS                        1706 RIPON AVE                                                   LEWISTON           ID           83501                    6002            Various                                                                                             $1.84
GINA DOSE                         2144 44TH ST NW                                                  ROCHESTER          MN           55901                    6002            Various                                                                                             $1.26
GINA GONZALEZ                     1019 15TH ST N PRE-RELEASE                                       GREAT FALLS        MT           59401                    6002            Various                                                                                             $2.14
GINA HARING                       W2833 HARVESTORE RD                                              HILBERT            WI           54129                    6002            Various                                                                                             $5.32
GINA HARTGRAVES                   1285 1ST ST                                                      IDAHO FALLS        ID           83401                    6002            Various                                                                                             $8.63
GINA HENDRICK                     PO BOX 2787                                                      HAYDEN             ID           83835                    6002            Various                                                                                             $2.60
GINA JOHNSON                      PO BOX 33                    110 W MAIN ST                       DODGE CENTER       MN           55927                    6004            Various                                                                                             $3.00
GINA L DEKAY                      PO BOX 455                                                       SODA SPRINGS       ID           83276                    6002            Various                                                                                             $4.38
GINA MCBRIDE                      2919 W HIGHLAND AVE                                              SIOUX CITY         IA           51103                    6002            Various                                                                                             $8.99
GINA NAGRO                        1101 3RD AVE W                                                   ASHLAND            WI           54806                    6002            Various                                                                                             $8.30

GINA PASTORI                      711 18TH AVE S                                                   WISCONSIN RAPIDS   WI           54495                    6004            Various                                                                                                $5.00
GINA PFALZGRAF                    W3075 ELM RD                                                     MAYVILLE           WI           53050                    6002            Various                                                                                                $9.32
GINA PONTIUS                      618 MARY AVE                                                     PALMYRA            MO           63461                    6002            Various                                                                                                $6.14
GINA SNODDERLY                    PO BOX 403                                                       SOMERS             MT           59932                    6002            Various                                                                                                $1.12
GINA TUDOR                        513 UNION ST                                                     MARQUETTE          MI           49855                    6002            Various                                                                                                $4.99
GINA VILLARREAL                   1307 N 4TH ST                                                    SHEBOYGAN          WI           53081                    6002            Various                                                                                                $4.55
GINA WOLFF                        1921 WILD OAK DR APT 6                                           MANITOWOC          WI           54220                    6002            Various                                                                                                $5.75
GINGER BROWN                      1520 7TH PLACE SW                                                MASON CITY         IA           50401                    6004            Various                                                                                               $28.00
GINGER BUKER                      310 CORNELIA ST.                                                 NORTH MANKATO      MN           56003                    6004            Various                                                                                                $3.24
GINGER FLAUGHER                   600 W CENTER ST                                                  GALT               MO           64641                    6002            Various                                                                                                $0.85
GINGER FRINZELL                   16414 DAKOTA RD                                                  LANSE              MI           49946                    6002            Various                                                                                                $0.74
GINGER JONES                      1637 N 2400 W                                                    CLINTON            UT           84015                    6004            Various                                                                                                $1.00
GINGER LEE COLE                   2410 SO ST # 31ST                                                LA CROSSE          WI           54601                    6002            Various                                                                                                $7.37




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GINI BREWER                       304 KEARSARGE ST                                            CALUMET         MI         49913                6002                Various                                                                                             $0.36
GINNY BEAN                        17740 RIVER ROAD          P.O. 196                          ARGYLE          WI         53504                6004                Various                                                                                            $10.02
GINNY WINKELMAN                   2022 27TH ST SE APT 110                                     SAINT CLOUD     MN         56304                6002                Various                                                                                             $6.16
GINO WELLS                        RR 3 BOX 6633                                               DONIPHAN        MO         63935                6002                Various                                                                                             $0.66
GINSEY INDUSTRIES INCORPORATED    PO BOX 828683                                               PHILADELPHIA    PA         19182-8683           2204                Various                                                                                         $6,517.20
GIOVANNA CORONA                   756 I ST                                                    IDAHO FALLS     ID         83402                6002                Various                                                                                            $10.00
GIOVANNI GARCIA                   806 8TH AVE SW                                              PERHAM          MN         56573                6002                Various                                                                                             $1.53
GIRLIE CARLSON                    2214 PETERS DR APT 115                                      EAU CLAIRE      WI         54703                6002                Various                                                                                             $9.73
GITANNI GREEN                     26 TALCOTT COURT                                            FORT ATKINSON   WI         53538                6004                Various                                                                                             $2.00
GIZELLE RODRIGUEZ                 125 SERENITY OAKS TERRACE                                   WATERTOWN       WI         53098                6004                Various                                                                                             $1.00
GIZZMO SOSEBEE                    627 S EVERGREEN ST                                          WAUTOMA         WI         54982                6002                Various                                                                                             $9.78
GLADA SMITH                       5127 S 46TH AVE                                             OMAHA           NE         68117                6002                Various                                                                                             $8.90
GLADE DOWDY                       505 S PEACH AVE                                             MARSHFIELD      WI         54449                6002                Various                                                                                             $8.16
GLADSON LLC                       1973 OHIO STREET                                            LISLE           IL         60532                8492                Various                                                                                        $17,000.00
GLADWIN HOLDINGS LLC              2439 KUSER ROAD                                             HAMILTON        NJ         08690                5322                Various                                                                                         $3,125.00
                                  W78 N675 WAUWATOSA RD APT
GLADYS ADAMS                      10                                                          CEDARBURG       WI         53012                 6002               Various                                                                                             $7.42
GLADYS DAVIS                      BOX 21 3003 SUNSET DR                                       CEDAR CREEK     NE         68016                 6002               Various                                                                                             $4.16
GLADYS FULLER                     2205 E HINTZ ST                                             MARSHFIELD      WI         54449                 6004               Various                                                                                            $42.24
GLADYS HAWKINSON                  5169 SILVER CREEK RD NE                                     ROCHESTER       MN         55906                 6002               Various                                                                                            $10.00
GLADYS JOHNSON                    109 S. CALEY PL                                             SIOUX FALLS     SD         57110                 6004               Various                                                                                           $210.98
GLADYS MCCALLA                    305 E N APT 2                                               OGALLALA        NE         69153                 6002               Various                                                                                            $22.38
GLADYS MCGINNIS                   2080 NAJVAJO DR APT 101                                     FREEPORT        IL         61032                 6004               Various                                                                                            $12.16
GLADYS NAGEL                      8607 PACKER DR                                              WAUSAU          WI         54401                 6004               Various                                                                                            $25.00
GLADYS RAHE                       WILBER CARE CTR                                             WILBER          NE         68465                 6002               Various                                                                                             $4.66
GLADYS SCHAULAND                  2393 CENTER ST                                              MARQUETTE       MI         49855                 6002               Various                                                                                             $3.62
GLADYS SULLIVAN                   1917 17TH AVENUE                                            LEWISTON        ID         83501                 6002               Various                                                                                            $35.74
                                                            5710 AUBURN
                                                            BOULEVARD UNIT
GLAMOUR RINGS                     VICE PRESIDENT OF SALES   19                                SACRAMENTO      CA         95841                  1670              Various                                                                                        $66,809.11
                                                            725 BURLINGTON N
GLASGOW DISTRIBUTORS INC (BEER    VICE PRESIDENT OF SALES   RIGHT OF WAY                      GLASGOW         MT         59230                 3763               Various                                                                                          $743.94
GLAXOSMITHKLINE                   PO BOX 676313                                               DALLAS          TX         75267-6313            2117               Various                                                                                       $217,413.61
GLEASON FAMILY                    13783 FALCON RD                                             SPARTA          WI         54656                 6002               Various                                                                                             $7.75
GLEN ALLISON                      6025 N ASSEMBLY                                             SPOKANE         WA         99205                 6004               Various                                                                                            $39.96
GLEN BARNARD                      2007 AVERY RD E                                             BELLEVUE        NE         68005                 6002               Various                                                                                             $8.22
GLEN BLOCK                        10303 RIVER RD                                              RINGLE          WI         54471                 6004               Various                                                                                            $10.00
GLEN BREEZEE                      W6466 STATE ROAD 21                                         WAUTOMA         WI         54982                 6002               Various                                                                                             $3.89
GLEN DAVISON                      607 E FRANKLIN ST                                           BLOOMFIELD      IA         52537                 6002               Various                                                                                             $2.47
GLEN DERHEIM                      415 W MAPLE ST                                              RAWLINS         WY         82301                 6002               Various                                                                                             $3.04
GLEN EVANS                        518 MEMORIAL DR BOX # 203                                   BROKEN BOW      NE         68822                 6002               Various                                                                                             $2.00
GLEN FRISKEY                      208 2ND ST SW                                               WATERTOWN       SD         57201                 6004               Various                                                                                             $9.60
GLEN GEERTS                       PO BOX 6                                                    ALTA VISTA      IA         50603                 6002               Various                                                                                             $5.42
GLEN GRAHAM                       PO BOX 83                                                   PRAIRIE VIEW    KS         67664                 6002               Various                                                                                             $4.30
GLEN GREEN                        301 S BROADWAY ST                                           STANLEY         WI         54768                 6002               Various                                                                                             $4.11
GLEN HALL                         NH NORTH HALL                                               WHEATLAND       WY         82201                 6002               Various                                                                                             $5.18
GLEN JR KENDALL                   308 DIVISION ST                                             KALKASKA        MI         49646                 6002               Various                                                                                             $3.23
GLEN KLUECKMANN                   M4060 RIVER AVE                                             NEILLSVILLE     WI         54456                 6004               Various                                                                                            $10.00
GLEN LEGRAND                      4300 PERRY WAY                                              SIOUX CITY      IA         51104                 6002               Various                                                                                             $5.34
GLEN MONTGOMERY                   214 WALNUT ST             P O BOX 186                       KENSETT         IA         50448                 6004               Various                                                                                            $25.00
GLEN NELSON                       675 E 200TH S                                               WELLSVILLE      UT         84339                 6002               Various                                                                                             $9.07
GLEN POPP                         206 N. 7TH STREET                                           WAUSAU          WI         54401                 6004               Various                                                                                             $4.00
GLEN R BROWN                      101 8TH AVE E                                               SISSETON        SD         57262                 6002               Various                                                                                             $1.18
GLEN SHOEMAKER                    925 W 16TH                                                  MITCHELL        SD         57301                 6002               Various                                                                                             $9.29




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GLEN SPIRES                       7386 394TH ST                                                      NORTH BRANCH       MN         55056                6002                Various                                                                                             $6.36
GLEN STEFFENSMEIER                16522 S 134TH ST                                                   BENNET             NE         68317                6004                Various                                                                                            $10.00
GLEN STEVENS                      PO BOX 63                                                          COPPER HARBOR      MI         49918                6002                Various                                                                                             $1.42
GLEN THOMAS                       4601 S 13TH ST                                                     NORFOLK            NE         68701                6002                Various                                                                                             $4.30
GLEN TURNER                       1825 LUDDEN DR                 APT 104                             CROSS PLAINS       WI         53528                6004                Various                                                                                            $76.99
GLEN WAY                          1013 4TH AVE S                                                     ESCANABA           MI         49829                6004                Various                                                                                            $23.00
GLEN WIEMERSLAGE                  2622 HOESHLER ST                                                   LA CROSSE          WI         54601                6002                Various                                                                                             $6.00
GLEN WOOD                         355 W MAIN ST                                                      ELLSWORTH          WI         54011                6002                Various                                                                                             $4.08
GLENDA GERBER                     524 16TH AVE.                                                      MONROE             WI         53566                6004                Various                                                                                             $1.29
GLENDA KAUERS                     1465 30TH AVENUE                                                   KENOSHA            WI         53144                6004                Various                                                                                            $20.00
GLENDA SWANSON                    517 HAWLEY ST APT 8                                                MARQUETTE          MI         49855                6002                Various                                                                                             $2.71
GLENDIVE COCA COLA BOTTLING CO    VICE PRESIDENT OF SALES        220 S DOUGLAS                       GLENDIVE           MT         59330                0196                Various                                                                                         $5,926.23
GLENDY OCHOA SOFOIFA              1695 RUTH ST UNIT B                                                WALLA WALLA        WA         99362                6004                Various                                                                                            $25.00
GLENN BAILEY                      222 S EVERGREEN RD APT 103                                         SPOKANE            WA         99216                6002                Various                                                                                             $3.33
GLENN BARRIENTOS                  3040 SO MAXINE ST                                                  SALT LAKE CITY     UT         84120                6004                Various                                                                                             $9.99
GLENN BECKER                      W251N9140 CRESTWOOD DR                                             SUSSEX             WI         53089                6002                Various                                                                                             $6.63
GLENN BORCHARDT                   1304 SCHOOL ST                                                     FAIRMONT           MN         56031                6002                Various                                                                                             $5.97
GLENN BRUSS                       1639 HICKORY HOLLOW LN                                             APPLETON           WI         54915                6002                Various                                                                                             $1.97
GLENN E. GLEASON                  4934 DANFORD DR                                                    BILLINGS           MT         59106                6002                Various                                                                                             $0.82
GLENN F WELLS                     MOT--PRIVATE HOME-----------                                       WEST SALEM         WI         54669                6002                Various                                                                                             $8.11
GLENN GRAHAM                      W2622 BLOCK RD                                                     APPLETON           WI         54915                6002                Various                                                                                             $6.68
GLENN KLOBUCHAR                   867 MAPLE ST                                                       LAKE LINDEN        MI         49945                6002                Various                                                                                             $6.25
GLENN MANTHEI                     N3914 WASHINGTON AVE                                               KAUKAUNA           WI         54130                6002                Various                                                                                             $3.86
GLENN MILLER BIRTHPLACE SOCIET    122 W CLARK STREET                                                 CLARINDA           IA         51632                3392                Various                                                                                          $100.00
GLENN PETERSON                    7830 N HIGHWAY 38                                                  HONEYVILLE         UT         84314                6002                Various                                                                                             $0.33
GLENN ROGERS                      1145 KLONDIKE RD                                                   BUFFALO            WY         82834                6002                Various                                                                                             $2.08
GLENN SPITZER                     PO BOX 301                                                         LEOLA              SD         57456                6004                Various                                                                                             $3.02
GLENN TESKE                       1031 ANDERSON DR APT B203                                          GREEN BAY          WI         54304                6002                Various                                                                                             $0.47
GLENN THORNE                      307 DEBOLT ST                                                      TRENTON            MO         64683                6002                Various                                                                                             $9.62
GLENN TOSH                        326 E. 1ST ST.                                                     FOND DU LAC        WI         54935                6004                Various                                                                                            $20.00
GLENN VIRNIG                      1602 KINGS MILL WAY            APT 107                             MADISON            WI         53718                6004                Various                                                                                            $61.36
GLENN W JOHNSON                   2123 GRAND AVE                                                     GOTHENBURG         NE         69138                6002                Various                                                                                             $3.48
GLENN WADE                        5715 W M18                                                         GLADWIN            MI         48624                6002                Various                                                                                             $6.66
GLENN WRIGHT                      861 N 250TH W                                                      BRIGHAM CITY       UT         84302                6002                Various                                                                                             $4.49
GLENNA TEICHMER                   913 29TH ST                                                        LEWISTON           ID         83501                6002                Various                                                                                             $7.62
GLENROY BERNDT                    723 ARMSTRONG BLVD N                                               SAINT JAMES        MN         56081                6002                Various                                                                                             $8.25
GLOBAL ADVANTAGE TRADING & IMP    6725 CHIPPEWA STREET                                               ST LOUIS           MO         63109                7670                Various                                                                                        $15,979.08
GLOBAL OPTIQUE INCORPORATED       33-01 38TH AVENUE                                                  LONG ISLAND CITY   NY         11101                9272                Various                                                                                         $1,692.55
GLOBAL RECOGNITION INCORPORATE    980 VELP AVENUE                                                    GREEN BAY          WI         54303-3898           0533                Various                                                                                          $241.34
                                  9009 CORPORATE LAKE DR STE
GLOBAL SOLUTIONS                  175                                                                TAMPA              FL         33634                 6004               Various                                                                                           $139.97
GLORIA ACOSTA                     P.O. BOX 1039                                                      WAPATO             WA         98951                 6004               Various                                                                                             $5.00
GLORIA BORCHARDT                  W7275 STATE ROAD 106                                               FORT ATKINSON      WI         53538                 6004               Various                                                                                            $19.74
GLORIA BROWN                      400 LIBERTY ST. NO. 507                                            KALISPELL          MT         59901                 6004               Various                                                                                             $2.00
GLORIA CABALLERO                  1618 MARION RD SE              LOT 10                              ROCHESTER          MN         55904                 6004               Various                                                                                             $6.00
GLORIA CAMARILLO                  101 N LOCUST AVE APT 12                                            NEW HAMPTON        IA         50659                 6002               Various                                                                                             $1.34
GLORIA CULP                       700 SCHULTZ ST LOT 28                                              GREEN RIVER        WY         82935                 6002               Various                                                                                             $5.75
GLORIA D RIEDEL                   N3921 BASSWOOD AVE                                                 CHILI              WI         54420                 6002               Various                                                                                             $7.07
GLORIA EBERHARD                   BOX 251                                                            CARMEN             ID         83462                 6002               Various                                                                                             $6.82
GLORIA GRAY                       3117 HUCKELBERRY LN                                                APPLETON           WI         54915                 6002               Various                                                                                             $1.64
GLORIA HANSEN                     5592 S SHADOW WOOD DR                                              SALT LAKE CITY     UT         84107                 6004               Various                                                                                            $25.00
GLORIA JIMENEZ                    1317 AVENUE E                                                      WISNER             NE         68791                 6002               Various                                                                                             $1.18
GLORIA L LOGID                    49128 372ND PL                                                     PALISADE           MN         56469                 6002               Various                                                                                             $4.22
GLORIA LEHMANN                    1154 THOMPSON LN                                                   KALISPELL          MT         59901                 6002               Various                                                                                             $7.15




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              Creditor Name                   Address1                Address2         Address3             City         State         Zip    Country     Number                Claim                                                                             Total Claim
GLORIA MAKEY                       810 20TH ST APT 40                                               GOTHENBURG        NE         69138                6002                Various                                                                                             $8.05
GLORIA MCCOY                       220 1/2 AYERS ST                                                 NEILLSVILLE       WI         54456                6002                Various                                                                                             $6.33
GLORIA MCLEOD                      205 E ANTON AVE APT 131                                          COEUR D ALENE     ID         83815                6002                Various                                                                                             $4.47
GLORIA NIETO MARTINEZ              1222 SMITH AVE                                                   WORTHINGTON       MN         56187                6004                Various                                                                                             $3.00
GLORIA OETTLE                      PO BOX 294                                                       KAMPSVILLE        IL         62053                6002                Various                                                                                             $4.30
GLORIA OSEN                        2513 WHITE OAKS DR                                               BELOIT            WI         53511                6002                Various                                                                                             $9.23
GLORIA P RODRIQUEZ                 727 RUFFALO DR                                                   PLAINFIELD        WI         54966                6002                Various                                                                                             $3.73
GLORIA PERRY                       12 DRISKELL LANE P O BOX # 3                                     FT WASHAKIE       WY         82514                6002                Various                                                                                             $0.30
GLORIA PETSKA                      13951 STATE HWY 64                                               BLOOMER           WI         54724                6004                Various                                                                                            $25.30
GLORIA STANGE                      1 DAYTONA BEACH DRIVE                                            MADISON           WI         53719                6004                Various                                                                                            $28.23
GLORIA TELLEZ                      901 REDWING AVE LOT 19                                           KENYON            MN         55946                6002                Various                                                                                             $1.04
GLORIA THOMPSON                    RR 1 BOX 2536                                                    DONIPHAN          MO         63935                6002                Various                                                                                             $4.96
GLORIA WHITAKER                    5950 N 4600TH W                                                  BEAR RIVER        UT         84301                6002                Various                                                                                             $6.60
GLORIA WHITE                       380 BERNARD ST PO BOX # 191                                      SISSETON          SD         57262                6002                Various                                                                                             $7.53
GLORIAN RANGEL                     W6965 CYPRESS LN                                                 NESHKORO          WI         54960                6002                Various                                                                                             $4.11
GLORY LAITURI                      BOX # 236FO                                                      PALMER            MI         49871                6002                Various                                                                                             $0.60
GLOVES IN A BOTTLE INCORPORATE     PO BOX 615                                                       MONTROSE          CA         91021                2758                Various                                                                                         $2,334.72
GLYDA MAY                          NURSING HOME                                                     WHEATLAND         WY         82201                6002                Various                                                                                             $3.53
GOFFA INTERNATIONAL CORP           200 MURRAY HILL PARKWAY                                          EAST RUTHERFORD   NJ         07073                1792                Various                                                                                       $160,911.00
GOING GARBAGE & RECYCLING          PO BOX 468                                                       SISTER BAY        WI         54234-0468                               Various                                                                                          $126.16
GOJO INDUSTRIES INCORPORATED       PO BOX 931105                                                    CLEVELAND         OH         44193                 7549               Various                                                                                        $32,387.02
GOJOIEPA LO                        1033 S 17TH STREET                                               MANITOWOC         WI         54220                 6004               Various                                                                                            $49.35
GOLD CROSS COURIER SERVICE INC     PO BOX 1245                                                      EAU CLAIRE        WI         54702-1245            1765               Various                                                                                          $440.01
                                                                  19 WEST 34TH
GOLD MEDAL INTERNATIONAL           PREGER & WERTENTEIL INC        STREET                            NEW YORK          NY         10001                 4184               Various                                                                                        $80,748.79
GOLDA (MARIE ACTON                 710 N BURRITT AVE                                                BUFFALO           WY         82834                 6002               Various                                                                                             $6.55
GOLDEN MANOR INC                   2025 EAST F STREET                                               TORRINGTON        WY         82240                 6666               Various                                                                                            $67.84
                                                                  N 1675 POWERS
GOLF GIFTS & GALLERY               PO BOX 166                     LAKE ROAD                         POWERS LAKE       WI         53159-9999            6819               Various                                                                                        $11,489.78
GOMER DAVIS                        425 W DAKOTA AVE                                                 HAYDEN            ID         83835                 6002               Various                                                                                             $0.38
GOOD CLEAN LOVE                    207 W 5TH AVENUE                                                 EUGENE            OR         97401                 1699               Various                                                                                         $3,586.00
GOOD SAMARITAN SOCIETY             326 SUMMERSET ST                                                 FONTANELLE        IA         50849                 6002               Various                                                                                            $15.29
GOOD SAMARITAN SOCIETY ST JAMES    1000 2ND STREET S                                                ST JAMES          MN         56081                 6666               Various                                                                                          $127.77
                                                                  2859 PACES FERRY
GOOD2GROW                          VICE PRESIDENT OF SALES        ROAD STE 2100                     ATLANTA           GA         30339                  9850              Various                                                                                        $75,297.60
GOODMAN (CAT) FAMILY               W4204 JEAN ST                                                    APPLETON          WI         54913                  6002              Various                                                                                             $5.15
GOOGLE INCORPORATED                DEPT 33654                     PO BOX 39000                      SAN FRANCISCO     CA         94139                  7971              Various                                                                                       $410,701.69
GORA GORA                          301 17TH AVE. NE                                                 WASECA            MN         56093                  6004              Various                                                                                             $3.06

GORAN HARBA                        1805 E OVERLAND RD APT 2423                                      MERIDIAN          ID         83642                 6004               Various                                                                                               $10.00
GORDEN NEWMAN                      PO BOX 453                                                       RAWLINS           WY         82301                 6002               Various                                                                                                $0.60
GORDON ALLEN                       1210 RITTER ST                                                   RAWLINS           WY         82301                 6002               Various                                                                                                $9.97
GORDON BUCHHOLZ                    849 5TH ST SE                                                    MASON CITY        IA         50401                 6004               Various                                                                                               $19.50
GORDON CHAMBERLAIN                 12360 15TH ST SW                                                 COKATO            MN         55321                 6002               Various                                                                                                $9.81
GORDON CLARK                       1484 CAPITOL DR                APT 6                             GREEN BAY         WI         54303                 6004               Various                                                                                               $19.84
GORDON FLORES                      2457 VALLEY VIEW DRIVE                                           KEWASKUM          WI         53040                 6004               Various                                                                                               $15.00
GORDON GARNHART                    13543 W. GOLDMINE RD.                                            PEARL CITY        IL         61062                 6004               Various                                                                                               $12.10
GORDON GUNDMUNSON                  2360 MICHIGAN AVE              APT 4                             OROFINO           ID         83544                 6002               Various                                                                                                $3.32
GORDON HAYWOOD                     1608 GRAY BLVD                                                   NEWCASTLE         WY         82701                 6002               Various                                                                                                $8.22
GORDON ISHAM                       619 W 2300 S #1                                                  BRIGHAM CITY      UT         84302                 6004               Various                                                                                                $5.00
GORDON L BLUMENBERG                PO BOX 285                                                       LAKE MILLS        WI         53551                 6002               Various                                                                                                $8.79
GORDON L PAPENDORF                 210 W GARFIELD AVE APT 2                                         MARION            WI         54950                 6002               Various                                                                                                $0.27
GORDON LAUTS                       NH NORTH HALL                                                    WHEATLAND         WY         82201                 6002               Various                                                                                               $10.00
GORDON MEEKER                      4111 DAM RD                                                      DELAVAN           WI         53115                 6002               Various                                                                                                $2.19




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             Creditor Name                       Address1              Address2         Address3             City         State         Zip     Country     Number                Claim                                                                             Total Claim
GORDON NIELAND                       11775 465TH AVE                                                 SISSETON          SD         57262                 6002                Various                                                                                             $7.97
GORDON PAVLAK                        34 S 5TH ST                                                     WINNECONNE        WI         54986                 6002                Various                                                                                             $9.75
GORDON SCHEFF                        207 LYNN ST                                                     SHERBURN          MN         56171                 6002                Various                                                                                             $6.99
GORDON ST JOHN                       414 WHITTIER AVE                                                NEW EFFINGTON     SD         57255                 6002                Various                                                                                             $5.37
GORDON VOGEL                         3212 N KONING DR                                                SHEBOYGAN         WI         53083                 6002                Various                                                                                             $0.44
GORDON YOWELL                        5269 LAKE SHORE DR                                              MOHAWK            MI         49950                 6004                Various                                                                                            $38.40
GORDON ZIMMER                        928 WARNER AVE. SPACE 21                                        LEWISTON          ID         83501                 6004                Various                                                                                            $12.32
GORGEOUS CLARK                       1217 A. LINCOLN AVE                                             SHEBOYGAN         WI         53081                 6004                Various                                                                                             $3.00
GORILLA GLUE COMPANY                 29834 NETWORK PLACE                                             CHICAGO           IL         60673-1298            3243                Various                                                                                       $107,498.43
GOSHENG CHANG                        P. O . BOX 1525                                                 WAUSAU            WI         54402                 6004                Various                                                                                            $25.00
GOTHENBURG AREA CHAMBER OF COM       1001 LAKE AVENUE                                                GOTHENBURG        NE         69138                 4596                Various                                                                                            $35.00
GOULD FAMILY                         8762 CITY RD # 5                                                NORTH BRANCH      MN         55056                 6002                Various                                                                                             $3.75
GOURMET HOME PRODUCTS                347 5TH AVENUE 506                                              NEW YORK          NY         10016                 1056                Various                                                                                       $108,181.12
GRABBER PERFORMANCE GROUP            PO BOX 1191                                                     DALTON            GA         30722-0000            5626                Various                                                                                        $80,081.72
GRACE A WHITTLINGER                  430 SOUTHWOOD CT                                                EAU CLAIRE        WI         54701                 6002                Various                                                                                             $5.34

GRACE ANTON                          105 S MAPLE ST                                                  PORT WASHINGTON   WI         53074                  6002               Various                                                                                             $1.78
GRACE ARMSTRONG                      1790 SUMMER ST S                                                SALEM             OR         97302                  6004               Various                                                                                            $12.00
GRACE BLAKE                          213 9TH ST                                                      GOTHENBURG        NE         69138                  6002               Various                                                                                             $5.53
GRACE BUCKLEN                        1137 N AVE                                                      LOMIRA            WI         53048                  6002               Various                                                                                             $5.95
GRACE CARTER                         412 QUEENS CT                                                   SIOUX CITY        IA         51104                  6002               Various                                                                                             $2.14
GRACE CHAILLIER                      911 W RIDGE ST APT 7                                            MARQUETTE         MI         49855                  6002               Various                                                                                             $9.10
GRACE HICKMAN                        30202 FRONTENAC HILLS WAY                                       RED WING          MN         55066                  6002               Various                                                                                             $9.42
GRACE HINTZ                          W2615 690TH AVE                                                 SPRING VALLEY     WI         54767                  6004               Various                                                                                            $23.00
GRACE HOFFMANN                       2820 S. HIGBEE                                                  IDAHO FALLS       ID         83404                  6004               Various                                                                                             $3.13
GRACE HOME FASHIONS                  CAPITAL BUSINESS CREDIT LLC   PO BOX 100895                     ATLANTA           GA         30384-4174             8191               Various                                                                                       $385,051.65

GRACE HONEYWELL                      83691 550 AVENUE PO BOX 748                                     NORFOLK           NE         68702                  6004               Various                                                                                           $110.99
GRACE KRAUSE                         723 NORTHERN AVE                                                GREEN BAY         WI         54303                  6004               Various                                                                                            $25.00
GRACE KREEGER                        8909 CTY TRK E                                                  ARPIN             WI         54410                  6004               Various                                                                                            $76.00
GRACE LUCILE BLAIR                   PO BOX 892                                                      SHERIDAN          MT         59749                  6002               Various                                                                                            $10.00
GRACE OLSON                          307 PARK ST S                                                   MORA              MN         55051                  6002               Various                                                                                             $9.62
GRACE ROSA                           713 ANDERSON AVE                                                SAINT CLOUD       MN         56303                  6004               Various                                                                                            $25.50
GRACE SEEKINGS                       113 S SUMNER AVE                                                NEWCASTLE         WY         82701                  6002               Various                                                                                             $8.74
GRACE SIA BANTOE                     824 RONELL ST                                                   SAINT PETER       MN         56082                  6002               Various                                                                                             $5.92
GRACE THOMAS                         1721 HIGHVIEW ST                                                DE PERE           WI         54115                  6002               Various                                                                                             $1.04
GRACE WAGSTAFF                       527 FREMONT ST                                                  THERMOPOLIS       WY         82443                  6002               Various                                                                                            $10.00
GRACE WEIS                           300 ONEIL ST                                                    LAKE MILLS        WI         53551                  6002               Various                                                                                            $12.30
GRACIE BRANDT                        N5696 ZIEBELL ROAD                                              JEFFERSON         WI         53549                  6004               Various                                                                                             $2.00
GRACIE LEE                           2402 18TH AVE NW                                                ROCHESTER         MN         55901                  6002               Various                                                                                             $3.18
GRACIELA CERVANTES                   707 BEAUTIFUL ST                                                TAMA              IA         52339                  6002               Various                                                                                             $1.73
GRACIELA LUCIANO - II                N1779 MAPLE STREET                                              FORT ATKINSON     WI         53538                  6004               Various                                                                                            $59.00
GRACIELA SERRANO                     560 BAIRD CREEK RD                                              GREEN BAY         WI         54311                  6002               Various                                                                                             $3.23
                                                                   7200 MARTIN
GRACIOUS LIVING CORP                 ATTN ACCOUNTS RECEIVABLE      GROVE ROAD                        WOODBRIDGE        ON         L4L 9J3      CANADA    7075               Various                                                                                       $100,375.57
GRADY NEAL                           121 S. MONROE                                                   WATERLOO          WI         53594                  6004               Various                                                                                            $25.00
GRAE CONNELL                         435 JACKSON AVE                                                 OGDEN             UT         84404                  6002               Various                                                                                             $3.67
GRAEME THOMPSON                      PO BOX 68                                                       NEW RICHMOND      WI         54017                  6004               Various                                                                                            $37.50
GRAINGER INCORPORATED                DEPARTMENT 829163252          PO BOX 419267                     KANSAS CITY       MO         64141-6267             6808               Various                                                                                         $1,490.35
GRAND ISLAND EXPRESS INCORPORA       PO BOX 2122                                                     GRAND ISLAND      NE         68802-0000             6385               Various                                                                                            $37.06
GRAND ISLAND INDEPENDENT             PO BOX 1208                                                     GRAND ISLAND      NE         68802-1208             8771               Various                                                                                          $176.80
                                                                                                                                                                            11/21/2018 -
GRAND WATER & SEWER SERVICE AGENCY   PO BOX 1046                                                     MOAB              UT         84532                   31.02             12/20/2018                                                                                       $170.55
GRANITE CITY ARMORED CAR INCOR       PO BOX 295                                                      SAUK RAPIDS       MN         56379                   2224              Various                                                                                         $1,721.75




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GRANT H. FISCHER                  1834 E SUNDOWN DR                                                COEUR D ALENE      ID         83815                 6002                Various                                                                                             $8.66
GRANT N SEARER                    N10220 SANDHILL AVE                                              LOYAL              WI         54446                 6002                Various                                                                                             $1.81
GRANT TESSEMA                     104 LAMPLIGHTER LOOP                                             POPLAR GROVE       IL         61065                 6004                Various                                                                                             $3.90
GRANT YOUNG                       11318 STADT ROAD                                                 MARSHFIELD         WI         54449                 6004                Various                                                                                            $25.00
GRANTHAM SANITATION               PO BOX 338                   110 5TH ST                          FONTANELLE         IA         50846                                     Various                                                                                         $1,270.90
GRANTLAND CRAIG                   3540 SANDGATE CASTLE DR                                          GREEN BAY          WI         54313                   6002              Various                                                                                             $7.32
GRANY VOTAVA                      6004 W WALNUT ST D                                               YAKIMA             WA         98908                   6004              Various                                                                                             $8.97

GRAPHIC ARTS STUDIO INCORPORAT    28 W 111 COMMERCIAL AVENUE                                       BARRINGTON         IL         60010                  9761               Various                                                                                        $42,251.30
GRASIELA MENDIO LA SALCEDO        307 2ND ST PO BOX # 477                                          WAKEFIELD          NE         68784                  6002               Various                                                                                             $3.67
GRASS ROOTS LAWN & LANDSCAPING    433 COUNTY ROAD 4270                                             CLIFTON            TX         76634                  3345               Various                                                                                          $386.21

GRASSWORX LLC                     ACCOUNTS RECEIVABLE          PO BOX 1412                         MARYLAND HEIGHTS MO           63043                  5652               Various                                                                                         $2,749.95
GRAVIOLA VAZQUEZ                  2013 LAKE SHORE DIVE                                             BELVIDERE        IL           61008                  6002               Various                                                                                             $4.79
                                  12437 COLLECTIONS CENTER
GRAYBAR ELECTRIC COMPANY INCOR    DRIVE                                                            CHICAGO            IL         60693-2437              8334              Various                                                                                        $27,723.14
GRAYDEN GOSSEN                    120 5TH ST                                                       OCONTO             WI         54153                   6002              Various                                                                                             $7.48
GRAYMONT WESTERN LIME INC         800 5TH AVE                  BOX 110                             SEATTLE            WA         98104                   6666              Various                                                                                             $4.05
GREAT AMERICAN DISPOSAL           PO BOX 2002                                                      KINGSFORD          MI         49802                                     Various                                                                                         $1,989.88
GREAT AMERICAN PRODUCTS INC (C    PO BOX 631                                                       SAN ANTONIO        TX         78293-0631             6871               Various                                                                                          $199.29
GREAT BAY HOME (C HUB)            44 INDUSTRIAL PARK DRIVE                                         DOVER              NH         03820                  5466               Various                                                                                         $3,980.00
GREAT FALLS ICE COMPANY           VICE PRESIDENT OF SALES      60 BIG BEN LANE                     GREAT FALLS        MT         59404                  0039               Various                                                                                            $98.00
GREAT LAKES COCA COLA DISTRIBU    PO BOX 809082                                                    CHICAGO            IL         60680-9082             8904               Various                                                                                       $273,312.11
GREATER GREEN BAY COMMUNITY FO    320 N BROADWAY ST STE 260                                        GREEN BAY          WI         54303                  2810               Various                                                                                             $3.20
                                                               100 N JEFFERSON
GREEN BAY CITY TREASURER          ROOM 106                     STREET                              GREEN BAY          WI         54301-5026              4258              Various                                                                                         $5,935.00
                                                                                                                                                                           10/1/2018 -
GREEN BAY WATER UTILITY           P.O. BOX 1210                                                    GREEN BAY          WI         54305                   51-01             12/31/2018                                                                                        $174.00
GREEN FOR LIFE AKA ROYAL OAK      6200 ELMRIDGE DRIVE                                              STERLING HEIGHTS   MI         48313                                     Various                                                                                           $270.00
                                  15622 COLLECTION CENTER
GREEN MOUNTAIN COFFEE ROASTERS    DRIVE                                                            CHICAGO            IL         60693                   5627              Various                                                                                       $762,642.87
GREEN RIVER STAR                  PO BOX 580                                                       GREEN RIVER        WY         82935                   4963              Various                                                                                          $597.60

GREEN/ ANGELA                     STORE 689                    SHOPKO EMPLOYEE 201 N FILMORE       MOUNT AYR          IA         50854                   7819              Various                                                                                               $41.98
                                                                                                                                                                           11/28/2018 -
GREENFIELD MUNICIPAL UTILITIES    P.O. BOX 95                                                      GREENFIELD         IA         50849                   50003             12/26/2018                                                                                      $1,949.90
GREENTECH ENVIRONMENTAL           6118 KINGSPORT HIGHWAY                                           Johnson City       TN         37615                   6131              Various                                                                                       $218,924.85
                                                               4455 GENESEE
GREENWOOD BRANDS LLC              WINE BARREL HOLDINGS         STREET                              CHEEKTOWAGA        NY         14225                  6610               Various                                                                                         $2,106.22
GREG ALLEN                        3678 S 4565TH W                                                  WEST VALLEY        UT         84120                  6002               Various                                                                                             $8.22
GREG ALLRED                       2658 N 230TH E                                                   LOGAN              UT         84341                  6002               Various                                                                                             $6.22
GREG AUDETTE                      N5566 COUNTY ROAD EE                                             SEYMORE            WI         54165                  6004               Various                                                                                            $12.00
GREG BRYANT                       1835 BIRCH CT                                                    LEWISTON           ID         83501                  6002               Various                                                                                             $7.92
GREG CARDEW                       510 N MAPLE ST                                                   ISHPEMING          MI         49849                  6002               Various                                                                                             $0.74
GREG CASPER                       PO BOX 446                                                       SALMON             ID         83467                  6002               Various                                                                                             $8.90
GREG COYNE                        6135 WESTRIDGE 21.25 DR                                          GLADSTONE          MI         49837                  6002               Various                                                                                             $4.66
GREG DEWANDEL                     1793 100TH ST                                                    LARCHWOOD          IA         51241                  6002               Various                                                                                             $2.38
GREG DIETZ                        3804 14TH STREET E                                               LEWISTON           ID         83501                  6004               Various                                                                                          $174.99
GREG EMERY                        234 ROBIN CT H                                                   BIG RAPIDS         MI         49307                  6002               Various                                                                                             $6.71
GREG EVANS                        385 E 700TH N APT N                                              SPANISH FORK       UT         84660                  6002               Various                                                                                             $5.59
GREG GOSNELL                      PO BOX 215                                                       AKRON              IA         51001                  6002               Various                                                                                             $7.81
GREG GUSE                         1 GINGER CT                                                      CLINTONVILLE       WI         54929                  6002               Various                                                                                             $0.49
GREG HARING                       940 CARLOS DR                                                    LINCOLN            NE         68505                  6002               Various                                                                                             $7.67
GREG HERMAN                       506 S 31ST ST                                                    MANITOWOC          WI         54220                  6002               Various                                                                                             $9.48




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                                                                                                                                                                                                    Unliquidated
                                                                                                                                                                                       Contingent


                                                                                                                                                                                                                   Disputed
                                                                                                                                              Last 4 Digits of     Date Debt was
                                                                                                                                                 Account         Incurred, Basis for
             Creditor Name                Address1            Address2         Address3              City      State           Zip   Country     Number                Claim                                                                             Total Claim
GREG HOWAT                    357 BRENTWOOD CT                                              NEENAH          WI         54956                 6002                Various                                                                                             $0.27
GREG HUDZINSKI                205 RETHEK AVENUE                                             MADISON         WI         53714                 6004                Various                                                                                            $10.00
GREG MASON                    609 MAIN STREET W                                             ISANTI          MN         55040                 6004                Various                                                                                             $3.00
GREG MATTLIN                  502 PLAZA DRIVE #304                                          MADISON         WI         53719                 6004                Various                                                                                            $25.00
GREG MCKINNEY                 386 N FORK RD                                                 LANDER          WY         82520                 6002                Various                                                                                             $8.05
GREG MEYERKORTH               RR 1 BOX 94                                                   VERDON          NE         68457                 6002                Various                                                                                             $3.75
GREG MUDROW                   3578 W 2610 S                                                 SYRACUSE        UT         84075                 6004                Various                                                                                             $9.99
GREG NEWNAN                   5645                                                          SELAH           WA         98942                 6004                Various                                                                                            $23.00
GREG PETZ                     680 BIRCH POINT DRIVE                                         STEVENS POINT   WI         54481                 6004                Various                                                                                            $22.50
GREG ROSS                     PO BOX 533                                                    EMERY           UT         84522                 6002                Various                                                                                             $3.86
GREG SAPP                     7343 W MEADOWLARK LN                                          RATHDRUM        ID         83858                 6002                Various                                                                                             $1.23
GREG SCOTT                    806 E2ND AVE.                                                 BRODHEAD        WI         53520                 6004                Various                                                                                            $40.00
GREG SEYMOUR                  381 BUEHLER AVE                                               NEKOOSA         WI         54457                 6002                Various                                                                                             $6.90
GREG TERPSTRA                 853 TANAGER DR                                                POCATELLO       ID         83201                 6002                Various                                                                                             $2.08
GREG TILLMAN                  11011 N 76TH PLZ                                              OMAHA           NE         68122                 6002                Various                                                                                             $9.53
GREG TURCOTT                  128 118TH ST                                                  OROFINO         ID         83544                 6002                Various                                                                                             $1.23
GREG VANSTRATEN               W9463 HIGHWAY 76                                              NEW LONDON      WI         54961                 6002                Various                                                                                             $6.52
GREG WALLEEN                  1113 STUHR COURT                                              ONALASKA        WI         54650                 6004                Various                                                                                             $2.00
GREG WILLIAMSON               541 E. 700 S.                                                 LOGAN           UT         84321                 6004                Various                                                                                            $43.00
GREG WINCHESTER               330 E GREENWOOD AVE                                           JACKSONVILLE    IL         62650                 6004                Various                                                                                            $20.00
GREG ZOELLER                  301 4TH ST.                                                   OCONTO          WI         54153                 6004                Various                                                                                             $3.00
GREGG (AMM) SCHULER           2600 DIANE AVE                                                RACINE          WI         53404                 6002                Various                                                                                             $9.15
GREGG E WIEGERT               1230 SYCAMORE DR                                              LINCOLN         NE         68510                 6002                Various                                                                                             $2.93
GREGG KINSLEY                 5 PARK AVE                                                    GLENWOOD        IA         51534                 6002                Various                                                                                             $3.45
GREGG NELSON                  58317 COUNTY RD 21                                            ZUMBRO FALLS    MN         55991                 6004                Various                                                                                             $3.06
GREGG RUECHEL                 1210 S 3RD AVE                                                WAUSAU          WI         54401                 6002                Various                                                                                             $9.81
GREGG SEDLACEK (AMM)          146 S 28TH ST                                                 LINCOLN         NE         68510                 6002                Various                                                                                             $1.64
GREGORIO DEJESUS              2924 SCENIC DR                                                OSHKOSH         WI         54904                 6002                Various                                                                                             $2.79
GREGORIO LOPEZ                UPDATE                                                        ABBOTSFORD      WI         54405                 6002                Various                                                                                             $4.19
GREGORY A MCBEE               1304 W FAIRWOOD DR                                            MERIDIAN        ID         83646                 6002                Various                                                                                             $5.45
GREGORY ALAN HAGEN            PO BOX 5451 PMB KA                                            KALISPELL       MT         59903                 6002                Various                                                                                             $6.82
GREGORY ANDERSON              9800 STATE HWY 97 A                                           WENATCHEE       WA         98801                 6004                Various                                                                                            $68.24
GREGORY ASHFORD               2662 SUNSHINE LANE                                            BELOIT          WI         53511                 6004                Various                                                                                             $2.00
GREGORY AYALA                 470 STONEGATE STREET                                          EUGENE          OR         97401                 6004                Various                                                                                             $2.00
GREGORY BENOLKEN              45605 EVERGREEN AVE                                           HARRIS          MN         55032                 6002                Various                                                                                             $5.89
GREGORY BLICK                 907 PITCHER ST                                                NEILLSVILLE     WI         54456                 6002                Various                                                                                             $0.41
GREGORY BOUCHETTE             1028 MEDDOW ST              APT 2                             WATERTOWN       WI         53094                 6004                Various                                                                                             $2.00
GREGORY BRYANT                3904 BIRCHWOOD DR                                             BELLEVUE        NE         68123                 6004                Various                                                                                            $24.00
GREGORY C HENSEL              1201 24 1/2 ST                                                CAMERON         WI         54822                 6002                Various                                                                                             $0.41
GREGORY CHANEY                11968 COLONIAL DR                                             CALDWELL        ID         83605                 6004                Various                                                                                            $15.03
GREGORY DOWNEY                280 N 900 W                                                   PROVO           UT         84601                 6004                Various                                                                                           $209.99
GREGORY ELKERTON              9698 COUNTY RD 5 NE                                           NORTH BRANCH    MN         55056                 6004                Various                                                                                            $34.98
GREGORY ESCHELWECK            526 BAIRDS CREEK RD APT 6                                     GREEN BAY       WI         54311                 6002                Various                                                                                             $3.81
GREGORY EWELT                 3188 VILAS RD                                                 COTTAGE GROVE   WI         53527                 6004                Various                                                                                            $19.00
GREGORY GOEBEL                1500 OSTERGAARD AVE                                           RACINE          WI         53406                 6002                Various                                                                                             $7.56
GREGORY GOULD                 9842 OVERLOOK DR NW                                           OLYMPIA         WA         98502                 6004                Various                                                                                            $21.25
GREGORY GREEN                 46803 263RD STREET                                            SIOUX FALLS     SD         57107                 6004                Various                                                                                            $25.00
GREGORY HARDY                 1306 10TH ST SW                                               AUSTIN          MN         55912                 6004                Various                                                                                             $6.00
GREGORY HOFFMAN               2910 CTY RD X                                                 PITTSVILLE      WI         54466                 6002                Various                                                                                             $0.93
GREGORY HOOTS                 PO BOX 106                                                    CHAPIN          IL         62628                 6002                Various                                                                                             $5.86
GREGORY INGOLD                1114 JAY ST                                                   ST PAUL         NE         68873                 6004                Various                                                                                            $10.00
GREGORY JOHN VERSTEGEN        4309 E APPLESEED DR                                           APPLETON        WI         54913                 6002                Various                                                                                             $0.77
GREGORY JOHNSON               4705 S 102ND ST                                               OMAHA           NE         68127                 6002                Various                                                                                             $5.64
GREGORY L WIRTH               301 HARDIMAN AVE S                                            DALLAS          WI         54733                 6002                Various                                                                                             $8.03




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                                                                                                                                                           Account         Incurred, Basis for
              Creditor Name                    Address1               Address2           Address3              City      State           Zip   Country     Number                Claim                                                                             Total Claim
GREGORY LONG                        801 GRAND AVE                                                     WORTHINGTON     MN         56187                 6004                Various                                                                                             $3.00
GREGORY LOPPNOW                     7345 LEMKE DR                                                     GREENLEAF       WI         54126                 6002                Various                                                                                             $8.47
GREGORY M HALAMA                    57669 CAMBRIA ST                                                  CALUMET         MI         49913                 6002                Various                                                                                             $3.18
GREGORY MAGNUSON                    3816 N MILLER AVE                                                 NEILLSVILLE     WI         54456                 6002                Various                                                                                             $0.38
GREGORY MC GHEE                     824 NE SHERWOOD DR                                                BELOIT          WI         53511                 6004                Various                                                                                            $38.81
GREGORY MORTH                       207 E IRVING AVE              APT 107                             OSHKOSH         WI         54901                 6004                Various                                                                                            $34.00
GREGORY NEIERS                      P.O. BOX 425                                                      ALBANY          WI         53502                 6004                Various                                                                                             $2.71
GREGORY PECK                        4115 SEDGWICK                                                     BILLINGS        MT         59106                 6004                Various                                                                                            $23.00
GREGORY PETERS                      1725 INDUSTRIAL AVE                                               CUMBERLAND      WI         54829                 6004                Various                                                                                            $77.00
GREGORY RAND                        121 SCENIC CT                                                     WEST SALEM      WI         54669                 6002                Various                                                                                             $4.88
GREGORY REITZ                       1110 ROBIN LN                                                     OGALLALA        NE         69153                 6002                Various                                                                                            $10.00
GREGORY ROUSAR                      PO BOX 123                                                        HAUGEN          WI         54841                 6004                Various                                                                                            $10.00
GREGORY SCHEENEMAN                  7314 J RD                                                         GLADSTONE       MI         49837                 6004                Various                                                                                             $5.02
GREGORY SCHERB                      17451 500TH ST                                                    SCARVILLE       IA         50473                 6004                Various                                                                                            $42.00
GREGORY SCHNEIDEWEND                245 W 5350TH S                                                    OGDEN           UT         84405                 6002                Various                                                                                             $2.38
GREGORY SCHOONE                     N1004 RENEGADE RD                                                 TOMAHAWK        WI         54487                 6002                Various                                                                                             $9.75
GREGORY SCHORI                      45 JACOB AVE                                                      OSHKOSH         WI         54902                 6002                Various                                                                                             $6.52
GREGORY SILLMAN                     111 S LAURA LEE CT                                                MADISON         SD         57042                 6002                Various                                                                                             $0.27
GREGORY ST CLAIR                    PO BOX 611                                                        ROCHESTER       WA         98579                 6004                Various                                                                                             $2.00
GREGORY STENHOFF                    5701 OLD CAVERN HWY                                               CARLSBAD        NM         88220                 6002                Various                                                                                             $9.18
GREGORY STEV TIMM                   3502 W HERITAGE AVE                                               APPLETON        WI         54914                 6002                Various                                                                                             $4.25
GREGORY UMBAUGH                     812 EAST MAIN ST.                                                 DODGE CENTER    MN         55927                 6004                Various                                                                                             $3.00
GREGORY VALDEZ                      16008 N HEATHERGLEN CT.                                           SPOKANE         WA         99208                 6004                Various                                                                                          $116.79
GREGORY VANDELEEST                  1102 CREEKS CROSS CT                                              KOHLER          WI         53044                 6002                Various                                                                                             $2.99
GREGORY WALKER                      41 ODDESSA                                                        STEVENS POINT   WI         54481                 6004                Various                                                                                            $10.00
GREGORY WALLACE                     2023 WISCONSIN AVE                                                BELOIT          WI         53511                 6002                Various                                                                                             $1.53
GREGORY WANGEN                      731 26TH ST NW                                                    ROCHESTER       MN         55901                 6002                Various                                                                                             $4.41
GREGORY WOLFE                       PO BOX 86                                                         LEAVENWORTH     WA         98826                 6004                Various                                                                                            $49.99
GREGORY ZIEGERT                     402 TENTH ST                                                      NEENAH          WI         54956                 6004                Various                                                                                             $5.63
GRENDENE USA INC (C-HUB)            2481 PRINCIPAL ROW STE 300                                        ORLANDO         FL         32837                 1597                Various                                                                                            $38.50
GRESHA CUEVAS                       P.O. BOX 1012                                                     TOPPENISH       WA         98948                 6004                Various                                                                                            $39.00
GRETA FRITZ                         1801 W PERSHING ST APT 615                                        APPLETON        WI         54914                 6002                Various                                                                                             $7.92
GRETA GAWOREK                       4808 DENMARK RD                                                   DENMARK         WI         54208                 6002                Various                                                                                             $4.71
GRETA GESSERT                       6620 S 19TH STREET                                                LINCOLN         NE         68512                 6004                Various                                                                                             $3.27
GRETA INGRAM                        424 LAKE AVE APT 410                                              RACINE          WI         53403                 6002                Various                                                                                             $5.95
GRETCHEN ELI MUELLER                1596 WORTH AVE                                                    NEENAH          WI         54956                 6002                Various                                                                                             $2.27
GRETCHEN HUNTER                     910 N 6TH ST                                                      LANDER          WY         82520                 6002                Various                                                                                             $9.51
GRETCHEN L. JOHNSON                 2304 20TH ST                                                      CENTRAL CITY    NE         68826                 6002                Various                                                                                             $9.97
GRETCHEN MILLS                      1518 REGENCY DRIVE                                                LINCOLN         NE         68506                 6004                Various                                                                                            $10.00
GREYBULL HIGH SCHOOL BAND           MS RAQUEL SWEAT               640 8TH AVE N                       GREYBULL        WY         82426                 3014                Various                                                                                          $100.00
GREYSON JONES                       3412 13TH STREET                                                  MENOMINEE       MI         49858                 6004                Various                                                                                            $19.99
GRIFFIN THON                        W234N6178 TULIP CT                                                SUSSEX          WI         53089                 6002                Various                                                                                             $1.45
GRISELDA COOMER                     803 NW 3RD STREET                                                 ANDREWS         TX         79714                 6002                Various                                                                                             $4.66
GROBET USA                          750 WASHINGTON AVENUE                                             CARLSTADT       NJ         07072                 3721                Various                                                                                         $1,633.14

GROESBECK/ KATIE                    STORE 2-050                   SHOPKO EMPLOYEE                     GREEN BAY       WI         54307-9060             1995               Various                                                                                            $94.00
GROUP HEALTH EAU CLAIRE             ATTN: CLAIMS DEPT             PO BOX 3217                         EAU CLAIRE      WI         54702                  6004               Various                                                                                            $23.00
GROUP III INTERNATIONAL LTD (C      2981 WEST MCNAB ROAD                                              POMPANO BEACH   FL         33069-0000             6700               Various                                                                                           $209.95

GROVER P SCHEIDER                   4036 W STEPHENSON STREET RD                                       FREEPORT        IL         61032                  6002               Various                                                                                               $5.84
GROVES FAMILY                       UPDATE                                                            KALISPELL       MT         59901                  6002               Various                                                                                               $9.21
GRUNWALD MECHANICAL CONTRACTORS &
ENGINEERS                           8720 F STREET                                                     OMAHA           NE         68127                                     Various                                                                                         $2,181.32
GSM LLC                             PO BOX 535189                                                     GRAND PRAIRIE   TX         75053-5189              7279              Various                                                                                       $104,298.50




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                                                                                                                                                     Account         Incurred, Basis for
            Creditor Name                    Address1            Address2          Address3            City        State           Zip   Country     Number                Claim                                                                             Total Claim
GUADALU ALVARADO DE AGUIL         621 5TH AVE SW                                                PIPESTONE       MN         56164                 6002                Various                                                                                                $4.00
GUADALUPE BORGES                  803 W. ORCHARD AVE                                            SELAH           WA         98942                 6004                Various                                                                                               $65.00
GUADALUPE CORTEZ                  5119 SOUTH 48TH AVE                                           OMAHA           NE         68117                 6004                Various                                                                                                $8.16
GUADALUPE DE VICENTE              5109 GOLDENLEAF TTL                                           MADISON         WI         53704                 6004                Various                                                                                               $89.13
GUADALUPE FLORES                  905 NE 1ST                                                    ANDREWS         TX         79714                 6002                Various                                                                                                $8.63
GUADALUPE GUTIEREZ                312 WINTER ST                                                 WAKEFIELD       NE         68784                 6002                Various                                                                                                $6.96
GUADALUPE LOPEZ LOPEZ             715 MAIN AVE                                                  CRETE           NE         68333                 6002                Various                                                                                                $5.40

GUADALUPE MURO                    5171 WEATHERCSTONE CIRC NW                                    ROCHESTER       MN         55901                  6004               Various                                                                                             $6.00
GUADALUPE PADILLA                 14475 GILBERT RD                                              YAKIMA          WA         98903                  6004               Various                                                                                            $14.00
GUADALUPE RAMIREZ                 356 FOX LANE                                                  WALWORTH        WI         53184                  6004               Various                                                                                             $1.00
GUADALUPE S. RODRIGUEZ            2601 SPRINGVILLE DR                                           PLOVER          WI         54467                  6002               Various                                                                                             $2.77
GUADALUPE TORRES                  1037 DURHAM LN                                                APPLETON        WI         54915                  6002               Various                                                                                             $4.05
GUANG SHU                         1800 VISTA                                                    BELOIT          WI         53511                  6004               Various                                                                                             $4.00
GUANG XIONG ZHU                   118 S BROADWAY                                                DE PERE         WI         54115                  6002               Various                                                                                             $6.16
GUDELIA HERRERA                   1503 6TH ST SE                                                AUSTIN          MN         55912                  6002               Various                                                                                             $5.78
GUDELIA TORRES                    1747 SADDLE DR APT 30                                         ARCADIA         WI         54612                  6002               Various                                                                                             $6.19
GUDWREN BELKHOLM                  1197 KING RD                                                  OGILVIE         MN         56358                  6002               Various                                                                                             $0.66
GUENDOLINE LITTEN                 419 2ND AVE SE                                                SIDNEY          MT         59270                  6002               Various                                                                                             $0.63
GUERMAIN GOMEZ                    203 W WASHINGTON ST APT 5                                     NORTON          KS         67654                  6002               Various                                                                                             $7.84
GUIDECRAFT INCORPORATED (C-HUB    55508 STATE HWY 19 WEST                                       WINTHROP        MN         55396                  7042               Various                                                                                         $2,016.98
GUILIA KNOWLTON                   203 MISSOURI AVE                                              DEER LODGE      MT         59722                  6004               Various                                                                                             $8.00
GUILLERMINA CARLOS RUBIO          1002 1/2 5TH AVE NE                                           AUSTIN          MN         55912                  6004               Various                                                                                            $23.00
GUILLERMINA HERRERA               210 N MAIN ST                                                 BRILLION        WI         54110                  6002               Various                                                                                             $8.68
GUIPING XU                        24036 BOOT LAKE RD.                                           REEDSVILLE      WI         54230                  6004               Various                                                                                            $23.00
GUM MAYEN                         2843 KNOLLWOOD DRIVE S                                        ROCHESTER       MN         55904                  6004               Various                                                                                             $6.00
GURDIP HUNJAN                     8100 COMMONS PL APT 14                                        SIOUX FALLS     SD         57106                  6002               Various                                                                                             $0.55
GUSTAFSON OIL & PROPANE COMPAN    P O BOX 328                                                   ROLLA           ND         58367                  9279               Various                                                                                         $1,033.29
GUSTAVE G LINDBLOM                PO BOX 513                                                    THAYNE          WY         83127                  6002               Various                                                                                             $4.82
GUSTAVO HIDALGO                   320 8TH STREET                                                WINDOM          MN         56101                  6004               Various                                                                                            $22.15
GUSTAVO RAMIREZ                   813 LINDENWOOD LN                                             BELVIDERE       IL         61008                  6004               Various                                                                                             $3.90
GUSTAVO SALAZAR                   3511 20TH ST                                                  RACINE          WI         53405                  6004               Various                                                                                            $20.00
GUSTICE TESSMER                   2273 ELDRED AVE                                               ATHENS          WI         54411                  6002               Various                                                                                             $7.86
GUSTO BEVERAGE                    PO BOX 3407                                                   GREAT FALLS     MT         59403                  4604               Various                                                                                         $1,079.94
GUY ALLEN                         1817 9TH ST                APT 39                             GREEN BAY       WI         54304                  6004               Various                                                                                            $34.57
GUY CULLIGAN                      1407 JUPITER LN                                               MISSOULA        MT         59802                  6004               Various                                                                                             $2.00
GUY DEBATES                       825 SOUTH FRONT STREET                                        MANKATO         MN         56001                  6004               Various                                                                                             $3.00
GUY KRUGER                        842 W 1075TH S # 203                                          BRIGHAM CITY    UT         84302                  6002               Various                                                                                             $7.75
GUY RELANDER                      N8870 COUNTY TRUNK F                                          RIVER FALLS     WI         54022                  6004               Various                                                                                             $6.50
GUY RENTS INCORPORATED            4055 EASTSIDE ROAD                                            REDDING         CA         96002                  8100               Various                                                                                         $2,468.11
GUY WESSEL                        N4099 COUNTY ROAD C                                           KEWAUNEE        WI         54216                  6002               Various                                                                                             $1.56
GUYLA J TRITLE                    32305 275TH ST                                                WINNER          SD         57580                  6002               Various                                                                                             $2.47
GW ACQUISITIONS LLC DBA G & W     1370 BROADWAY                                                 NEW YORK        NY         10018                  6646               Various                                                                                       $108,502.40
GWEN ANDERSEN                     PO BOX 506 PMB 208                                            SANBORN         IA         51248                  6002               Various                                                                                             $4.41
GWEN BLANCHETTE                   380 BRUCKER AVE                                               HESPERIA        MI         49421                  6002               Various                                                                                             $7.32
GWEN BREMEN                       107 LAKESHORE DR                                              STEWARTVILLE    MN         55976                  6004               Various                                                                                             $3.00
GWEN DAVIS                        661 SOUTH 200 WEST                                            BRIGHAM CITY    UT         84302                  6004               Various                                                                                            $12.97
GWEN EVENS                        303 DIVISION ST WEST                                          CANBY           MN         56220                  6004               Various                                                                                             $3.00
GWEN J WELDON                     1906 SUNRISE DR #101                                          SAINT PETER     MN         56082                  6002               Various                                                                                             $1.26
GWEN VREEKE                       2421 SOUTH 18TH STREET                                        MANITOWOC       WI         54220                  6002               Various                                                                                             $2.41
GWEN WELLE                        28093 7TH ST SW                                               FREEPORT        MN         56331                  6004               Various                                                                                             $2.50
GWENDA SCHILLING                  308 SIBLEY ST                                                 SANBORN         IA         51248                  6002               Various                                                                                             $5.04
GWENDOLYN MORGAN                  2101 CHATEAU CT APT 209                                       GRAFTON         WI         53024                  6002               Various                                                                                             $7.48
H & M ELY LLC                     1500 AVENUE F SUITE 4                                         ELY             NV         89301                  2627               Various                                                                                         $6,458.34




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                                                                                                                                                                                            Contingent


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                                                                                                                                                        Account       Incurred, Basis for
              Creditor Name                  Address1             Address2           Address3            City         State           Zip   Country     Number              Claim                                                                             Total Claim
H J MARTIN & SON INCORPORATED    PO BOX 11387                                                     GREEN BAY        WI         54307                 2092              Various                                                                                         $96,322.61
H&H SANITATION                   1002 WEST 1ST                                                    ALLIANCE         NE         69301                                   Various                                                                                          $3,344.82
H.TODD BIELBY                    714 NEYMAN ST                                                    SALMON           ID         83467                 6002              Various                                                                                              $0.88
H2O FURNISHINGS LLC              161 GARDNER ROAD                                                 BROOKLINE        MA         02445                 7049              Various                                                                                        $379,157.63
HA TRAN                          7207 S 41ST AVE                                                  BELLEVUE         NE         68147                 6004              Various                                                                                              $4.00
HAAR PROPERTIES LLC              ALEXANDER HAAR              1852 SEADRIFT CT                     WINDSOR          CO         80550                 5435              Various                                                                                          $6,825.67

HAAVIG/ CHRIS                    STORE 733                   SHOPKO EMPLOYEE 226 E LINCOLN        FERGUS FALLS     MN         56537                   2924            Various                                                                                            $37.89
HADIO WAIS                       1250 15TH ST N APT 29                                            SAINT CLOUD      MN         56303                   6004            Various                                                                                             $3.00
HAE JO BENZ                      6821 COOPER AVE                                                  MIDDLETON        WI         53562                   6004            Various                                                                                            $21.00
HAFIZA BANO                      121 WEST 9TH STREET                                              MANKATO          MN         56001                   6004            Various                                                                                             $6.00
HAGGAR CLOTHING COMPANY          PO BOX 840366                                                    DALLAS           TX         75284-0366              9482            Various                                                                                        $90,041.75
HAILE & HIWOT TEKLE              HAILE TEKLE                 4501 21ST STREET                     MOUNT RAINER     MD         20712                   9839            Various                                                                                        $10,411.95
HAILE DUBRY                      906 10TH ST                                                      GOTHENBURG       NE         69138                   6002            Various                                                                                             $3.89
HAILEE DEYOUNG                   12231 SOUTH 1950 EAST                                            DRAPER           UT         84020                   6004            Various                                                                                            $26.00
HAILEY BAUMGARTNER               204 EAST FRONT STREET                                            WITTENBERG       WI         54499                   6004            Various                                                                                             $5.02
HAILEY BETTHAUSER                N1168 HWY. 69                                                    MONROE           WI         53566                   6004            Various                                                                                          $125.00
HAILEY BOONE                     1407 W COLLAGE AVE                                               APPLETON         WI         54914                   6002            Various                                                                                             $8.58
HAILEY FRYE                      6690 MEADOWBROOK                                                 ROSCOE           IL         61073                   6004            Various                                                                                             $3.90
HAILEY GARCIA                    515 1/2 RIVER ST                                                 HUDSON           WI         54016                   6004            Various                                                                                             $2.00
HAILEY GERMAN                    219 8TH AVE NE                                                   WATERTOWN        SD         57201                   6004            Various                                                                                             $2.00
HAILEY GOODMAN                   125 N MILL RD                                                    OREM             UT         84058                   6002            Various                                                                                             $4.27
HAILEY HODSON                    727 TWILIGHT DR                                                  BILLINGS         MT         59101                   6004            Various                                                                                            $79.00
HAILEY HOEHN                     605 W 5TH ST                                                     MOUNT CARMEL     IL         62863                   6002            Various                                                                                             $2.71
HAILEY KEEN                      135 DIAMOND CRK LN                                               SALMON           ID         83467                   6002            Various                                                                                             $1.21
HAILEY KILSDONK                  N 308 EAST TOWNE COURT                                           APPLETON         WI         54915                   6004            Various                                                                                            $62.00
HAILEY LOWE                      W4405 SCENIC RD                                                  CAMPBELLSPORT    WI         53010                   6002            Various                                                                                             $8.22
HAILEY NEUMANN                   4183 DEERFIELD DR                                                COEUR D ALENE    ID         83815                   6004            Various                                                                                            $10.00
HAILEY POROBIC                   339 9TH ST NE               APT. 201                             EAST WENATCHEE   WA         98802                   6004            Various                                                                                            $77.99
HAILEY SNYDER                    521 E SEWARD ST                                                  POYNETTE         WI         53955                   6004            Various                                                                                             $3.00
HAILEY TONEY                     RR 3 BOX 162A                                                    GALLATIN         MO         64640                   6002            Various                                                                                             $0.68
HAILY BEFAY                      8465 EVERGREEN RD                                                OCONTO FALLS     WI         54154                   6004            Various                                                                                            $30.00

                                                             15497 COLLECTION
HAIN FOOD GROUP                  BANK OF AMERICA             CENTER DRIVE                         CHICAGO          IL         60693                   6981            Various                                                                                        $15,410.68
HAL REEDER                       1186 SYCAMORE DR                                                 BRIGHAM CITY     UT         84302                   6002            Various                                                                                             $7.10
HALEE GRIFFIN                    403 N ASHLAND AVENUE                                             GREEN BAY        WI         54303                   6004            Various                                                                                            $34.00
                                 9 WAUNONA WOODS COURT
HALEEMAH SADIQ                   APT. 7                                                           MADISON          WI         53717                   6004            Various                                                                                             $3.00
HALEIGH HERMEYER                 1885 SINK HOLLOW RD                                              DIXON            IL         61021                   6004            Various                                                                                            $28.00
HALEY BELGARDE                   1506 ERNEST AVE             APT 24                               MISSOULA         MT         59801                   6004            Various                                                                                            $32.97
HALEY C SHERVIN                  975 ALPINE VILLAGE LOOP                                          ALPINE           WY         83128                   6002            Various                                                                                             $9.18
HALEY CHAPMAN                    1752 S CHICAGO AVE.                                              FREEPORT         IL         61032                   6004            Various                                                                                            $23.00
HALEY FUHRMANN                   1198 530TH ST                                                    WOOD LAKE        MN         56297                   6004            Various                                                                                             $3.00
HALEY HARLSON                    226 E INDUSTRIAL DR         APT 8                                BEAVER DAM       WI         53916                   6004            Various                                                                                             $1.00
HALEY HRUBY                      104 FRAME ST PO BOX # 160                                        JOHNSTOWN        NE         69214                   6002            Various                                                                                             $7.07
HALEY JOHNSON                    13732 FOREST HILL DR                                             NEKOOSA          WI         54457                   6004            Various                                                                                             $3.00
HALEY LEWIS                      2216 S BOLIVAR                                                   VERADALE         WA         99037                   6004            Various                                                                                             $1.65
HALEY M PINK                     1051 W MAPLE ST                                                  LANCASTER        WI         53813                   6002            Various                                                                                             $5.42
HALEY M WOODALL                  1021 N CARRINGTON AVE                                            BUFFALO          WY         82834                   6002            Various                                                                                             $0.27
HALEY MUGLESTON                  2125 COSMOLEDO STREET                                            EUGENE           OR         97402                   6004            Various                                                                                            $23.00
HALEY PIKOSZ                     2009 W CELIA WAY                                                 LAYTON           UT         84041                   6002            Various                                                                                             $4.19
HALEY SANDMAN                    707 WINDOM ST                                                    WAYNE            NE         68787                   6002            Various                                                                                             $4.14
HALEY SEMMES                     3130 4TH ST. D                                                   LEWISTON         ID         83501                   6004            Various                                                                                             $3.65




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HALEY SMITH                       3880 PAULA ST                                                       GREEN BAY          WI         54311                 6004                Various                                                                                            $30.00
HALEY TOLBERT                     2000 N SHORE DR                                                     DELAVAN            WI         53115                 6004                Various                                                                                             $1.00
HALEY WALKER                      127 W PARK ST                                                       NEWCASTLE          WY         82701                 6002                Various                                                                                             $3.45
HALEY WELLNER                     410A E NORTH ST                                                     STRATFORD          WI         54484                 6002                Various                                                                                             $6.33
HALEY WELSCH                      712 GROVE ST                                                        BEAVER DAM         WI         53916                 6002                Various                                                                                             $5.21
HALEY WILSON                      2216 18TH AVE SE                                                    ROCHESTER          MN         55904                 6004                Various                                                                                             $3.00
HALFWASSEN GROUP SAVANNA LLC      7721 TRENT COURT                                                    NAPLES             FL         34113                 6079                Various                                                                                         $5,208.34
HALIMA KALFA                      6805 N 90TH                                                         OMAHA              NE         68122                 6004                Various                                                                                             $4.00
HALIMO DAGANE                     950 11TH AVE NW                 APT 108                             ROCHESTER          MN         55901                 6004                Various                                                                                             $3.00
HALIMO OMER                       801 7TH ST. S.                  APT 307                             WAITE PARK         MN         56387                 6004                Various                                                                                             $3.00

HALIMO SULUB                      3060 WEST SAUBT GERNAUB ST. APT 207                                 SAINT CLOUD        MN         56301                   6004              Various                                                                                                $3.00

HALL/ RICHARD T                   STORE 2-127                     SHOPKO EMPLOYEE                     GREEN BAY          WI         54307                  2108               Various                                                                                               $74.00
HALLE BEVERSDORF                  PO BOX 2                                                            WITTENBERG         WI         54499                  6004               Various                                                                                               $15.00
HALLE MARENGER                    931 STEPHENSON AVE                                                  ESCANABA           MI         49829                  6002               Various                                                                                                $8.36
HALLIE BEITZ                      7613 HIGHWAY 73                                                     MARSHALL           WI         53559                  6004               Various                                                                                                $2.00
HALLIE MORENO GILLSTROM           15 LAKE REST AVE                                                    OSHKOSH            WI         54902                  6002               Various                                                                                                $5.78

HALLIE ZIMMERMAN                  1250 WEST COLUMBIA AVENUE                                           CHICAGO            IL         60626                  6004               Various                                                                                            $24.00
HAMARO AHMED                      403 PARK MEADOWS DR.            APT 207                             WAITE PARK         MN         56387                  6004               Various                                                                                             $3.00
HAMILTON ENTERPRISES CENTRAL L    1116 HIGHWAY 59 S                                                   DETROIT LAKES      MN         56501                  1043               Various                                                                                         $3,970.34
HAMMADI ELHARTI                   232 NORTH PAGE ST                                                   STOUGHTON          WI         53589                  6004               Various                                                                                             $1.00
HAMPTON HOLDINGS LLC              1515 WEST MAPLE AVENUE                                              RED WING           MN         55066                  2833               Various                                                                                         $3,597.34
HAMSTRA BUILDERS INCORPORATED     12028 N 200 W                                                       WHEATFIELD         IN         46392                  8798               Various                                                                                         $4,166.67

                                                                  AUGUSTANA
HANA METOXEN                      2001 S SUMMIT AVE               CAMPUS BOX 1355                     SIOUX FALLS        SD         57197                  6004               Various                                                                                            $25.00
HANA TYNDALL                      1080 W. 6TH ST MSC 1811                                             MOSCOW             ID         83843                  6004               Various                                                                                            $32.00
HANCOCK BOTTLING COMPANY INCOR    1800 BIRCH STREET                                                   HANCOCK            MI         49930                  5598               Various                                                                                         $2,894.37

HANDCRAFT MANUFACTURING CORPOR    34 WEST 33RD STREET SUITE 401                                       NEW YORK           NY         10001                   0522              Various                                                                                        $11,490.30

HANDI CRAFT COMPANY               75 REMITTANCE DRIVE STE 1612                                        CHICAGO            IL         60675-1612             0425               Various                                                                                         $8,821.97
HANESBRANDS INCORPORATED UNDER    21692 NETWORK PLACE                                                 CHICAGO            IL         60673-1216             0823               Various                                                                                     $1,070,786.99
HANGING VALLEY INVESTMENTS LLC    1700 N WEBSTER COURT                                                GREEN BAY          WI         54302                  0784               Various                                                                                         $6,799.38
HANGUN PROPERTIES INCORPORATED    714 LAKE AVENUE PLAZA                                               DETROIT LAKES      MN         56501                  6612               Various                                                                                         $6,979.17
HANH NGUYEN                       6515 WEST BONNIE COURT                                              SIOUX FALLS        SD         57106                  6004               Various                                                                                            $11.75
HANK FELINE QUALE                 380240VARIOLITE ST                                                  DALBO              MN         55017                  6002               Various                                                                                             $6.96
HANK HATCH                        1274 BANNOCK AVE                                                    IDAHO FALLS        ID         83402                  6002               Various                                                                                             $1.62
HANK WEAVER                       3630 18TH ST                                                        LEWISTON           ID         83501                  6002               Various                                                                                             $7.04
HANNA ARROWSMITH                  89067 DOC MIDDLETON DR                                              BASSETT            NE         68714                  6002               Various                                                                                             $8.60
HANNA BECK                        HC 7 BOX 383K                                                       DONIPHAN           MO         63935                  6002               Various                                                                                             $1.92
HANNAH ATKINSON                   2304 ASPEN LANE                                                     MANKATO            MN         56001                  6004               Various                                                                                             $9.28
HANNAH BRAULT                     1312 VALLEYVIEW RD                                                  GREEN BAY          WI         54304                  6004               Various                                                                                             $3.00
HANNAH BROWN                      915 ELIZABETH AVE.                                                  MARINETTE          WI         54143                  6004               Various                                                                                             $3.00
HANNAH BURK                       721 BRUNER STREET                                                   RHINELANDER        WI         54501                  6004               Various                                                                                             $1.00
HANNAH CARLSON                    4430 PEABODY LANE                                                   DULUTH             MN         55804                  6004               Various                                                                                            $13.70
HANNAH CARVER                     688 W 100 N APT #1                                                  SMITHFIELD         UT         84335                  6004               Various                                                                                            $23.00
HANNAH CODY                       PO BOX 51                                                           MERNA              NE         68856                  6002               Various                                                                                             $6.58

HANNAH CZAIKOWSKI                 1050 JEFFERSON ST                                                   WISCONSIN RAPIDS   WI         54495                  6004               Various                                                                                                $3.00
HANNAH DAVIS                      12 PLEASANT VIEW LN                                                 GIBBONSVILLE       ID         83463                  6002               Various                                                                                                $9.73
HANNAH DECKER                     4840 N LATITUDE LN UNIT F                                           APPLETON           WI         54913                  6004               Various                                                                                               $16.23




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             Creditor Name                Address1         Address2          Address3               City      State         Zip     Country     Number                Claim                                                                             Total Claim
HANNAH DITMARS-BUCKWALTE      6010 S 42ND ST                                               LINCOLN         NE         68516                 6002                Various                                                                                             $4.44
HANNAH ELGERSMA               5506 HIGHWAY 186                                             VESPER          WI         54489                 6002                Various                                                                                             $2.27
HANNAH ELLIOTT                1447 154TH ROAD                                              PLEASANT DALE   NE         68423                 6004                Various                                                                                             $4.00
HANNAH ERMERS                 172 SOUTH CEDAR ST                                           ADAMS           WI         53910                 6004                Various                                                                                             $3.00
HANNAH FURLONG                716 RIVER RIDGE RD                                           RIVER FALLS     WI         54022                 6002                Various                                                                                             $8.58
HANNAH GRAHN                  1022 PAINTED POST DR.                                        MADISON         WI         53716                 6004                Various                                                                                             $5.70
HANNAH GREEN                  535 W JOHNSON                                                MADISON         WI         53703                 6004                Various                                                                                            $14.98
HANNAH GUSTAFSON              2181 RED PEPPER TRAIL                                        GREEN BAY       WI         54313                 6004                Various                                                                                            $28.90
HANNAH J SIEMERS              H3424 ELDERBERRY RD                                          COLBY           WI         54421                 6002                Various                                                                                             $4.44
HANNAH JOHNS                  1412 11TH AVENUE NW      APT 4                               AUSTIN          MN         55912                 6004                Various                                                                                             $3.00
HANNAH JOHNSON                917 ELM STREET                                               SAINT PAUL      NE         68873                 6004                Various                                                                                            $30.00
HANNAH JOY                    241 SHIPYARD RD                                              SAVANNAH        GA         31406                 6002                Various                                                                                             $1.40
HANNAH LARSON                 1370 ANGUS RD                                                HELENA          MT         59602                 6004                Various                                                                                             $7.03
HANNAH LIEDKIE                2915 MEADOW LARK DR                                          LEWISTON        ID         83501                 6004                Various                                                                                             $5.02
HANNAH LYNCH                  2932 W 2100 N                                                CLINTON         UT         84015                 6004                Various                                                                                             $5.00
HANNAH M COLLIER              22155 230TH AVE                                              GREENBUSH       MN         56726                 6002                Various                                                                                             $5.37
HANNAH MAE BUCHMANN           719 W 7TH AVE                                                MITCHELL        SD         57301                 6002                Various                                                                                             $7.01
HANNAH MCBEE                  11784 GALLOWAY LN                                            BELVIDERE       IL         61008                 6004                Various                                                                                             $3.90
HANNAH MICHAELS               937 EAST MARY LANE                                           LOMIRA          WI         53048                 6004                Various                                                                                            $34.00
HANNAH MILLER                 46438 CANAL RD                                               ARCADIA         NE         68815                 6002                Various                                                                                             $2.08
HANNAH MULCAHY                210 COURTLAND ST                                             WARREN          IL         61087                 6004                Various                                                                                            $25.27
HANNAH MUNDT                  1101 E WALNUT ST                                             GREEN BAY       WI         54301                 6002                Various                                                                                             $8.49
HANNAH PAVEK                  626 RIPLEY AVE                                               EAU CLAIRE      WI         54701                 6004                Various                                                                                            $54.99
HANNAH PETTIS                 2230 LEWIS AVE                                               BILLINGS        MT         59102                 6004                Various                                                                                            $45.00
HANNAH SCHENK                 288 ACORN TRL                                                OCONTO          WI         54153                 6002                Various                                                                                             $6.03
HANNAH SCHMIDT                536 MAPLE ST                                                 NEENAH          WI         54956                 6004                Various                                                                                             $1.00
HANNAH SEIGFRIED              230 S 1150 E                                                 SPANISH FORK    UT         84660                 6004                Various                                                                                            $23.00
HANNAH SNEED                  303 E. 14TH ST                                               GRAND ISLAND    NE         68801                 6004                Various                                                                                            $23.00
HANNAH SOHRE                  272 HUBBELL AVE                                              MANKATO         MN         56001                 6002                Various                                                                                             $8.68
HANNAH STEVENS                W1981 CTY RD S           APT 5                               KAUKAUNA        WI         54130                 6004                Various                                                                                            $34.00
HANNAH STILL                  1528 N EUGENE ST                                             APPLETON        WI         54914                 6002                Various                                                                                             $3.51
HANNAH STUHR                  403 CENTER AVE                                               JANESVILLE      WI         53545                 6004                Various                                                                                             $3.00
HANNAH TE STROETE             1426 N 15TH STREET                                           SHEBOYGAN       WI         53081                 4000                Various                                                                                             $2.79
HANNAH THOMPSON               815 N 700 E                                                  PROVO           UT         84606                 6004                Various                                                                                             $3.00
HANNAH VAN ENKEVORT           513 JAWORSKI RD                                              PULASKI         WI         54162                 6004                Various                                                                                            $25.00
HANNAH VELLINGA               107 W STEWART AVE                                            SIOUX CITY      IA         51104                 6002                Various                                                                                             $1.70
HANNAS CANDLE COMPANY         PO BOX 3557                                                  FAYETTEVILLE    AR         72702-0000            7882                Various                                                                                         $3,454.00
HANNY MORALES MACHUCA         3717 SOUTH 23RD STREET                                       OMAHA           NE         68107                 6004                Various                                                                                             $4.00
HANS A ISAACSON               118 STANTON AVE                                              MOHAWK          MI         49950                 6002                Various                                                                                             $4.05
HANS GENTRY                   BOX 383                                                      WEIPPE          ID         83553                 6002                Various                                                                                             $3.10
HANS HABERMAN                 1318 S 18TH ST                                               MANITOWOC       WI         54220                 6002                Various                                                                                             $6.41
HANS HANSEN                   W5715 BAKER RD                                               HOLMEN          WI         54636                 6002                Various                                                                                             $1.34
HANSEL LARSEN                 286 COUNTY ROAD MM                                           BROOKLYN        WI         53521                 6004                Various                                                                                             $2.00

HANSEN/ MICHELLE              CORPORATE COMMUNICATIONS SHOPKO EMPLOYEE                     GREEN BAY       WI         54307-9060              8365              Various                                                                                               $87.69

HANSON/ JESS                  STORE 2-076              SHOPKO EMPLOYEE                     GREEN BAY       WI         54307-9060             7348               Various                                                                                           $224.00
HAPPY JOES PIZZA              1011 LAWERANCE DRIVE                                         BURLINGTON      IA         52601                  7306               Various                                                                                           $193.30
HAPPYORNOT LIMITED            KALEVANTIE 7 C                                               TAMPERE                    33100        FINLAND   8102               Various                                                                                           $652.64
HAR SURI                      255 6TH ST SW                                                MADELIA         MN         56062                  6002               Various                                                                                            $35.00

HARBAUGH/ TERRY               STORE 640                SHOPKO EMPLOYEE 700 PROGRESS BLVD   TUSCOLA         IL         61953                  4751               Various                                                                                               $39.59
                                                                       212 NORTH MAIN
HARDEN/ MICHAEL               STORE 2-710              SHOPKO EMPLOYEE STREET              GALLATIN        MO         64640                   7885              Various                                                                                               $54.50




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HARDIAL SINGH                 640 EVERGREEN CT                                          RHINELANDER       WI           54501                 6002                Various                                                                                                $2.27
HARDY TUCKER                  155 E 1825 S                                              OREM              UT           84058                 6004                Various                                                                                                $3.02
HARI(SON) NA KHALSA           539 1/2 N DE SOTO ST                                      SALT LAKE CITY    UT           84103                 6002                Various                                                                                                $7.70
HARLA GOSCH                   2602 W 6TH STREET                                         SIOUX CITY        IA           51103                 6004                Various                                                                                               $38.40
HARLAN FOLLETZ                2723 S 23RD ST APT 5                                      MANITOWOC         WI           54220                 6002                Various                                                                                                $8.32

HARLAN HALVERSON              1515 VANDENBROEK RD LOT 32                                LITTLE CHUTE      WI           54140                  6002               Various                                                                                                $8.52
HARLAN HORSTMAN               PO BOX 8122                                               BIGFORK           MT           59911                  6002               Various                                                                                                $1.07
HARLAN MONROE                 BOX 391                                                   SARGENT           NE           68874                  6002               Various                                                                                               $10.00
HARLAN OLSON                  98 HIGHWAY 2 E APT 9                                      GLASGOW           MT           59230                  6002               Various                                                                                               $10.00
HARLEE BEAHR                  4021 APT A YUCCA DR                                       RAPID CITY        SD           57702                  6004               Various                                                                                               $15.00
HARLEY ABT                    R2940 HIGHWAY # Q                                         RINGLE            WI           54471                  6002               Various                                                                                                $5.78
HARLEY BARNHART               9427 E MARINE DR                                          POST FALLS        ID           83854                  6002               Various                                                                                                $2.33
HARLEY BROWN                  GET INFO                                                  MARSHFIELD        WI           54449                  6002               Various                                                                                                $4.82
HARLEY HUNT                   34 MEADOWLARK                                             KALISPELL         MT           59901                  6004               Various                                                                                               $26.00
HARLEY LONG                   107 E AVENUE B APT D                                      SOUTH HUTCHINSO   KS           67505                  6002               Various                                                                                                $5.34
HARLEY MARTINEZ               80 2ND ST PO BOX # 5                                      SOUTH RANGE       MI           49963                  6002               Various                                                                                                $4.25
HARLEY SCHMIDT                N2969 PRYSE DRIVE                                         WAUPACA           WI           54981                  6004               Various                                                                                                $3.00
HARLEY SKINNER                1102 PRAIRE ELK RD                                        WOLF POINT        MT           59201                  6002               Various                                                                                                $7.07
HARLEY UPTON                  14181 WALSH DRIVE                                         BOYSTOWN          NE           68010                  6004               Various                                                                                               $28.00
                              PO BOX 4424 CHURCH STREET
HARMAN INTERNATIONAL          STATION                                                   NEW YORK          NY           10261-4424             6056               Various                                                                                       $200,230.76
HARMON D CHRISTIANS           16913 600TH AVE                                           CHOKIO            MN           56221                  6002               Various                                                                                             $6.33
HAROLD BARES                  507 RIDGE RD                                              BELLEVUE          NE           68005                  6002               Various                                                                                             $6.71
HAROLD BLUMENSHEIN            410 FOX LAKE AVE APT 204                                  SHERBURN          MN           56171                  6002               Various                                                                                             $1.92
HAROLD BRECKS                 2115 B ST                                                 COZAD             NE           69130                  6002               Various                                                                                             $9.75
HAROLD BROWN                  209 N MAIN ST                                             BUFFALO           WY           82834                  6002               Various                                                                                             $6.00
HAROLD DEAN HARRIS            19488 OTTER AVE                                           GALLATIN          MO           64640                  6002               Various                                                                                             $6.79
HAROLD EDDY                   W 7491ST HWY # 10                                         NEILLSVILLE       WI           54456                  6002               Various                                                                                             $8.82
HAROLD FELDER                 1062 W RIDGE ST                                           MARQUETTE         MI           49855                  6002               Various                                                                                             $9.07
HAROLD FLEISCHMAN             303 EAST CENTRAL                                          LOYAL             WI           54446                  6004               Various                                                                                             $9.64
HAROLD HANSEN                 1508 OAK RD                                               SAINT CLOUD       MN           56303                  6002               Various                                                                                             $2.30
HAROLD HEJTMANEK              25 3RD AVE NW                                             LIDGERWOOD        ND           58053                  6002               Various                                                                                             $5.95
HAROLD HEYDT                  2265 STACE ST APT 1                                       IDAHO FALLS       ID           83401                  6002               Various                                                                                             $0.41
HAROLD HICKS                  PO BOX 757                                                ROUNDUP           MT           59072                  6002               Various                                                                                             $7.86
HAROLD HOYT                   N7205 MILLPOND WAY                                        HARTLAND          WI           53029                  6002               Various                                                                                             $5.81
HAROLD J COYER                305 BUEHLER AVE                                           NEKOOSA           WI           54457                  6002               Various                                                                                             $0.47
HAROLD KERLEY                 BOX 108                                                   OROFINO           ID           83544                  6002               Various                                                                                             $1.15
HAROLD MARTI                  1829 HILLTOP RD                                           LANSING           IA           52151                  6002               Various                                                                                             $2.27
HAROLD MERTENS                2234 JEN RAE RD                                           GREEN BAY         WI           54311                  6004               Various                                                                                            $10.00
HAROLD NAILL                  609 MALLARD RD                                            WINNEBAGO         IL           61088                  6004               Various                                                                                             $1.32
HAROLD NYGAARD                51725 RED MILL RD                                         DOWAGIAC          MI           49047                  6002               Various                                                                                             $3.89
HAROLD RUNION                 1665 LAKESHORE DR                                         MENASHA           WI           54952                  6002               Various                                                                                             $0.93
HAROLD SCHIEFELBEIN           W7870 WHITETAIL LN                                        PEMBINE           WI           54156                  6002               Various                                                                                             $2.27
HAROLD SENTER                 1015 S RETTENMUND AVE                                     WINNER            SD           57580                  6002               Various                                                                                             $1.89
HAROLD SHORT                  2350 FREDRICK STREET                                      DULUTH            MN           55803                  6004               Various                                                                                             $3.00
HAROLD SPETH                  14900 FLETCHER AVE                                        LINCOLN           NE           68527                  6002               Various                                                                                             $4.33
HAROLD STONE                  417 TIMBELANE RD                                          SPOONER           WI           54801                  6004               Various                                                                                             $2.00
HAROLD STUMP                  2218 HELMER ST                                            SIOUX CITY        IA           51103                  6002               Various                                                                                             $7.34
HAROLD SWANSON                540 MAIN ST                                               LYONS             NE           68038                  6002               Various                                                                                             $1.92
HAROLD THOMPSON               1737 ISLAND PKWAY                                         RICE LAKE         WI           54868                  6004               Various                                                                                            $25.00
HAROLD WAYNE LIGGETT          513 W 2ND ST                                              OGALLALA          NE           69153                  6002               Various                                                                                             $6.79
HAROLD WILCHER III            5035 52 AVE                                               KENOSHA           WI           53144                  6004               Various                                                                                            $23.00
HAROLD ZIMMERMAN              2506 E SEEDLING MILE RD                                   GRAND ISLAND      NE           68801                  6002               Various                                                                                             $7.37




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                                                                                                                                                                                                    Contingent


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                                                                                                                                                              Account         Incurred, Basis for
              Creditor Name                  Address1                Address2            Address3               City        State           Zip   Country     Number                Claim                                                                             Total Claim
HARRIET BORUCH                    1275 GRAND AVE                                                       SCHOFIELD         WI         54476                 6004                Various                                                                                            $75.00
HARRIET FREE                      3725 BRIARWOOD BLVD                                                  BILLINGS          MT         59101                 6004                Various                                                                                            $12.48
HARRIET KIPER                     5455 CYPRESS AVE                                                     NEWAYGO           MI         49337                 6002                Various                                                                                             $0.66
HARRIET LUEHRING                  27 BURCHARD ST                                                       MAYVILLE          WI         53050                 6002                Various                                                                                             $6.08
HARRIOTT PLACEK                   3332 SOUTH 107TH AVE                                                 OMAHA             NE         68124                 6004                Various                                                                                             $6.00
HARRIS PEDERSON                   410 2ND ST NE                                                        GLENWOOD          MN         56334                 6002                Various                                                                                             $5.97
HARRISON BERTSCH                  7411 W MEADOWLARK LANE                                               RATHDRUM          ID         83858                 6004                Various                                                                                           $100.00
HARRISON KILGORE                  926 ROBIN ST                                                         DE PERE           WI         54115                 6002                Various                                                                                             $9.95

HARRISON/ TAYLOR                  STORE 002                      SHOPKO EMPLOYEE                       GREEN BAY         WI         54307-9060             2504               Various                                                                                            $51.84
HARRY & DAVID                     2500 SOUTH PACIFIC HWY                                               MEDFORD           OR         97501                  4289               Various                                                                                       $371,572.09
HARRY BUCHHOLZ                    209 KARL ST                                                          BEAVER DAM        WI         53916                  6002               Various                                                                                             $2.19
HARRY FREY                        84 HIGHWAY 83                                                        STAPLETON         NE         69163                  6002               Various                                                                                             $2.08
HARRY HANSON                      PO BOX 244                                                           QUINNESEC         MI         49876                  6002               Various                                                                                             $7.89
HARRY HERMANN                     816 CALVERLY ST                                                      HOUGHTON          MI         49931                  6002               Various                                                                                             $3.84
HARRY HOEFER                      RR 2 BOX 7113                                                        DONIPHAN          MO         63935                  6002               Various                                                                                             $2.41
HARRY KINGERY                     12420 WOOLWORTH AVE                                                  OMAHA             NE         68144                  6002               Various                                                                                             $5.73
HARRY PAPPAS                      1215 W JOHNSON RIDGE LN                                              WEST JORDAN       UT         84084                  6002               Various                                                                                             $8.68
HARRY PHILLIPS                    519 MAPLE ST                                                         NEWCASTLE         WY         82701                  6002               Various                                                                                             $8.88
HARRY T MATTHEWS                  256 COTTAGE AVE                                                      FOND DU LAC       WI         54935                  6002               Various                                                                                             $7.92
HARRY TREMMEL                     5449 HAZEL ST                                                        TOMAHAWK          WI         54487                  6002               Various                                                                                             $7.89
HARRY WHELDEN                     6105 N MINERAL AVE                                                   SIOUX FALLS       SD         57104                  6004               Various                                                                                            $15.99
HART FAMILY                       N2297 BELGIUM RD                                                     COLEMAN           WI         54112                  6002               Various                                                                                             $0.36
                                  5000 NEW HORIZONS              POST OFFICE BOX
HART SPECIALTIES INCORPORATED     BOULEVARD                      9003                                  AMITYVILLE        NY         11701-9003              4747              Various                                                                                          $121.56
HARTE HANKS INC                   PO BOX 679164                                                        DALLAS            TX         75267-9164              1911              Various                                                                                        $71,134.28
                                  14971 COLLECTIONS CENTER
HARTZ MOUNTAIN CORPORATION        DRIVE                                                                CHICAGO           IL         60693                  1922               Various                                                                                        $49,871.92
HARVEY ALEXANDER                  1330 WOODVALE DR.                                                    MADISON           WI         53716                  6004               Various                                                                                            $25.00
HARVEY D GOODE                    244 E WARWICK ST                                                     NEWCASTLE         WY         82701                  6002               Various                                                                                             $6.16
HARVEY JONES                      531 W. JOHN STREET LOT#14                                            MARKESAN          WI         53946                  6004               Various                                                                                            $10.00
HARVEY LONG                       2350 SE 700TH                                                        ANDREWS           TX         79714                  6002               Various                                                                                             $9.59
HARVEY WESTERN                    1130 NORTH WESTFIELD ST        ROOM # 320                            OSHKOSH           WI         54901                  6004               Various                                                                                             $2.00
HARVEY WILLI BEARD                515 VALLEY ST                                                        MIDDLETON         ID         83644                  6002               Various                                                                                            $10.00
HARVIC INTERNATIONAL LTD          WELLS FARGO BANK NA            PO BOX 403058                         ATLANTA           GA         30384-3058             0795               Various                                                                                       $153,516.12
HASBRO INCORPORATED               PO BOX 281480                                                        ATLANTA           GA         30384-1480             6180               Various                                                                                       $707,836.00
HASSAN AHMED                      2439 CRYSTAL BAY CT SW                                               ROCHESTER         MN         55902                  6004               Various                                                                                             $3.00
HASSAN SABRIYE                    3402 22ND ST S                                                       SAINT CLOUD       MN         56301                  6004               Various                                                                                            $25.00
HASSEL MATERIAL HANDLING          PO BOX 170228                                                        MILWAUKEE         WI         53217                  5286               Various                                                                                          $106.92
HASSLER FAMILY                    20060 EASTMAN RD                                                     PACIFIC JUNCTIO   IA         51561                  6002               Various                                                                                             $2.68
HATAYA MCWHORTER                  607 NW 7TH ST                                                        ANDREWS           TX         79714                  6002               Various                                                                                            $10.00
HATIE GERING                      2650 KUNZER BEACH LN                                                 LITTLE SUAMICO    WI         54141                  6002               Various                                                                                             $9.45
HAULAWAY STORAGE CONTAINERS IN    PO BOX 186                                                           STANTON           CA         99680-0186             3486               Various                                                                                            $99.53
                                                                 ATTN ACCOUNTS
                                  MEDIA PLANNING GROUP USA       RECEIVABLE
HAVAS MEDIA                       LLC                            DEPARTMENT        200 HUDSON STREET   NEW YORK          NY         10013                  4366               Various                                                                                     $1,494,365.59
HAVEN HUDSON II                   1212 OAK ST                                                          BELOIT            WI         53511                  6004               Various                                                                                             $1.00
HAWKEYE SANITATION                466 AIRPORT RD                                                       CRESCO            IA         52136                                     Various                                                                                         $1,115.28
HAYAD JAMA                        3403 22ND ST. S.               APT 302                               SAINT CLOUD       MN         56301                  6004               Various                                                                                             $3.00
HAYDEE SALAZAR                    14263 80TH ST                                                        MILACA            MN         56353                  6002               Various                                                                                             $7.86
HAYDEN BEVERAGE COMPANY           2910 E AMITY RD                                                      BOISE             ID         83716                  8705               Various                                                                                         $6,054.09
HAYDEN CALLIES                    611 N CHICAGO AVE                                                    MADISON           SD         57042                  6002               Various                                                                                             $2.19
HAYDEN KRAUS                      411 S WISCONSIN DRIVE - #303                                         JEFFERSON         WI         53549                  6004               Various                                                                                             $3.00
HAYDEN LUND                       311 MAPLE STREET                                                     FORT ATKINSON     WI         53538                  6004               Various                                                                                             $3.00




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                                                                                                                                                      Account         Incurred, Basis for
              Creditor Name                   Address1           Address2          Address3              City        State         Zip    Country     Number                Claim                                                                             Total Claim
HAYDEN OLIVER                     301 HIGHLAND AVE                                              CLARKSTON         WA         99403                6004                Various                                                                                             $5.00
HAYDEN REPTA                      1876 FAYETTE                                                  BELOIT            WI         53511                6004                Various                                                                                             $3.00
HAYLEE FELTON                     1206 AVENUE G APT 8                                           GOTHENBURG        NE         69138                6002                Various                                                                                             $7.53
HAYLEE HEDRICK                    1004 GRIGNON ST                                               GREEN BAY         WI         54301                6004                Various                                                                                             $1.00
HAYLEY COTTLE                     160 E 800TH S APT A106                                        BRIGHM CITY       UT         84302                6002                Various                                                                                             $4.96
HAYLEY CRAIG                      445 NE EMERSON AVE                                            BEND              OR         97701                6004                Various                                                                                            $24.00
HAYLEY DEMAREE                    307 S BILLINGS BLVD 63                                        BILLINGS          MT         59101                6004                Various                                                                                          $100.00
HAYLEY FRIESTROM                  206 CLAIRMONT CT APT 3                                        NEENAH            WI         54956                6004                Various                                                                                             $9.97
HAYLEY KELPINSKI                  1923 HARRISON ST           APT 11                             NEENAH            WI         54956                6004                Various                                                                                             $5.02
HAYLEY MARSH                      3123 GUTHRIE RD                                               EAU CLAIRE        WI         54703                6004                Various                                                                                             $1.00
HAYLEY POLLEI                     608 PRAIRIE HILL DRIVE                                        DODGEVILLE        WI         53533                6004                Various                                                                                             $5.70
HAYLEY SAYLORS                    153 COLUMBIA ST NW                                            POPLAR GROVE      IL         61065                6004                Various                                                                                             $3.90
HAYLEY SINCLAIR                   PO BOX 415                                                    EAST HELENA       MT         59635                6004                Various                                                                                             $4.00
HAYLI PHELPS                      1507 WRIGHT ST APT 101                                        MADISON           WI         53704                6004                Various                                                                                             $2.00
HAYLI ROBINSON                    2840 FISHER                                                   EAST HELENA       MT         59635                6004                Various                                                                                             $1.00
HAZEL CARLYON                     2701 1ST AVE S APT 211                                        ESCANABA          MI         49829                6002                Various                                                                                             $4.82
HAZEL CHRISTMAS                   23 2ND ST NW                                                  OELWEIN           IA         50662                6002                Various                                                                                             $6.52
HAZEL D LAMBERT                   1600 11TH ST LOT 6                                            WHEATLAND         WY         82201                6002                Various                                                                                             $7.07
HAZEL HANSEN                      601 N LEADALE AVE                                             SIOUX FALLS       SD         57103                6004                Various                                                                                            $54.40
HAZEL KATTRE                      C/O HENRY KATTRE           120 PARK AVENUE                    KIEL              WI         53042                6002                Various                                                                                             $4.00
HAZEL KING                        1213 HARVEY ST                                                BELOIT            WI         53511                6002                Various                                                                                             $3.86
HAZEL LEE                         W12220 DUFFY ROAD                                             COLUMBUS          WI         53925                6002                Various                                                                                            $41.16
HAZEL PARRA                       605 NW 15TH ST # 39                                           ANDREWS           TN         79714                6002                Various                                                                                             $4.11
HAZEL SAZMA                       120 BOULDER DRIVE                                             OROFINO           ID         83544                6002                Various                                                                                             $1.66
HAZEL WILSON                      1009 YOGURT RD 7                                              MADISON           WI         53711                6004                Various                                                                                            $10.00
HAZEL ZEMAN                       5206 PAULSON COURT                                            MC FARLAND        WI         53558                6004                Various                                                                                            $21.96
HCL TECHNOLOGIES CORPORATE SER    PO BOX 5123                                                   CAROL STREAM      IL         60197-5123           9403                Various                                                                                       $490,983.13
HDS TRADING CORPORATION           PO BOX 844584                                                 BOSTON            MA         02284-4584           3899                Various                                                                                        $26,336.02
                                                             9363 EAST BAHIA
HEALING SOLUTIONS LLC             VICE PRESIDENT OF SALES    DRIVE                              SCOTTSDALE        AZ         85260                 4060               Various                                                                                        $56,823.50
HEALTH CARE LOGISTICS INCORPOR    PO BOX 400                                                    CIRCLEVILLE       OH         43113-0400            9275               Various                                                                                            $19.95
HEALTH PARTNERS INC               MAIL STOP 21103R           PO BOX 9463                        MINNEAPOLIS       MN         55440                 6004               Various                                                                                          $214.70
                                                             4900 UNIVERSITY
HEALTHSMART INTERNATIONAL (C-H    DBA DMI & BRIGGS           AVE SUITE 200                      WEST DES MOINES   IA         50266                  1955              Various                                                                                         $2,035.79
                                                             6960 SALASHAN
HEALTHY PET LP                    VICE PESIDENT OF SALES     PARKWAY                            FERNDALE          WA         98248                 4032               Various                                                                                         $3,575.44
HEAMAN SPENCER AND FAWN HEAMAN    PO BOX 1193                                                   WENDOVER          UT         84083                 6004               Various                                                                                            $48.93
HEART OF AMERICA BEVERAGES        VICE PRESIDENT OF SALES    2860 S AUSTIN                      SPRINGFIELD       MO         65807                 0928               Various                                                                                            $46.90
HEARTHSIDE FOOD SOLUTIONS LLC     PO BOX 631293                                                 CINCINNATI        OH         45263-1293            1920               Various                                                                                          $994.98
                                  75 REMITTANCE DRIVE DEPT
HEARTLAND BUSINESS SYSTEMS        3286                                                          CHICAGO           IL         60675-3286            1208               Various                                                                                         $2,162.85
HEARTLAND COCA COLA BOTTLING C    PO BOX 74008600                                               CHICAGO           IL         60674-0001            3519               Various                                                                                        $20,661.62
HEARTLAND LABEL PRINTERS LLC      1700 STEPHEN STREET                                           LITTLE CHUTE      WI         54140                 6039               Various                                                                                          $385.08
HEARTLAND WASTE                   28736 US-12                                                   MOBRIDGE          SD         57601                                    Various                                                                                          $915.92
HEATH HASTINGS                    2823S ARCHMORE CRT                                            SALT LAKE CITY    UT         84120                 6004               Various                                                                                            $35.00
HEATH LAUDEN                      701 LIBERTY ST                                                LA CROSSE         WI         54603                 6002               Various                                                                                            $10.00
HEATHER * MCKINNEY                307 SE MUSTANG DR                                             ANDREWS           TX         79714                 6002               Various                                                                                             $3.45
HEATHER A REHME                   11904 MARKEN RD                                               KIEL              WI         53042                 6002               Various                                                                                             $3.07
HEATHER ADAMS                     227 E 2525TH S                                                CLEARFIELD        UT         84015                 6002               Various                                                                                             $0.96
HEATHER AKINS                     1020 1/2 17TH AVE                                             MONROE            WI         53566                 6002               Various                                                                                             $3.07
HEATHER ANDERSON                  1232 WEST IDA ST                                              STAYTON           OR         97383                 6004               Various                                                                                            $15.00
HEATHER ANDREWS                   2845 N IVY LN                                                 POST FALLS        ID         83854                 6002               Various                                                                                             $8.25
HEATHER BAKER                     PO BOX 5015                                                   ETNA              WY         83118                 6002               Various                                                                                             $5.53
HEATHER BLAKE                     6714 OREGON AVE                                               CHEYENNE          WY         82009                 6002               Various                                                                                             $9.62




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            Creditor Name               Address1                Address2         Address3            City            State           Zip   Country     Number                Claim                                                                             Total Claim
HEATHER BODETTE              311 11TH ST S                                                    WISCONSIN RAPID   WI           54494                 6002                Various                                                                                                $9.86
HEATHER BONSALL              408 N MORRISON ST                                                APPLETON          WI           54911                 6002                Various                                                                                                $2.16
HEATHER BOYD                 209 LINCOLN AVE                                                  RIO               WI           53960                 6004                Various                                                                                                $1.00
HEATHER BREED                11701 DEACON DR.                                                 ROCKTON           IL           61072                 6004                Various                                                                                               $10.02

HEATHER BRINKERHOFF          3079 YELLOW CREEK RD SPC 142                                     EVANSTON          WY           82930                  6002               Various                                                                                                $0.77
HEATHER BROWNLEE             BOX 161                                                          ALEXIS            IL           61412                  6004               Various                                                                                               $25.00

HEATHER BRUNNER              N9642 LITTLE ELKHART LAKE RD                                     ELKHART LAKE      WI           53020                  6004               Various                                                                                            $25.00
HEATHER BUELTEMANN           388 N MAIN ST                                                    AMHERST           WI           54406                  6002               Various                                                                                             $8.47
HEATHER BURKETT              309 YORK ST                                                      BEAVER DAM        WI           53916                  6002               Various                                                                                             $9.70
HEATHER CARTWRIGHT           330 STANLEY DR                                                   MOSINEE           WI           54455                  6002               Various                                                                                            $10.00
HEATHER COOPER               4750 NAVAHO ST                                                   POCATELLO         ID           83204                  6004               Various                                                                                            $29.01
HEATHER CORBETT              39064 2ND AVE                                                    NORTH BRANCH      MN           55056                  6004               Various                                                                                             $3.00
HEATHER CUMMINGS             1809 SHAWNO AVE APT 9                                            GREEN BAY         WI           54303                  6004               Various                                                                                             $3.00
HEATHER DUNMIRE              2142 VICTOR AVE                                                  GREENFIELD        IA           50849                  6002               Various                                                                                             $6.49
HEATHER ELY                  2901 MONAD RD APT #21                                            BILLINGS          MT           59102                  6004               Various                                                                                            $65.98
HEATHER FISCHER              407 E BUTTERCUP LN                                               COEUR D ALENE     ID           83815                  6002               Various                                                                                             $4.58
HEATHER GARDNER              884 CHANDLER LN                                                  SUN PRAIRIE       WI           53590                  6004               Various                                                                                            $12.20
HEATHER GILMAN               802 S. ASH                                                       NORTH PLATTE      NE           69101                  6004               Various                                                                                             $2.00
HEATHER GLASER               W3154 COUNTY ROAD Q                                              FOND DU LAC       WI           54937                  6004               Various                                                                                            $25.00
HEATHER GOLDBLOOM            6539 381ST ST                                                    NORTH BRANCH      MN           55056                  6002               Various                                                                                             $2.11
HEATHER GORNIAK              421 CAROLINE ST                                                  JANESVILLE        WI           53545                  6004               Various                                                                                             $2.00
HEATHER GROSSELL             452 SUNNYVIEW DR                                                 ROLLINGSTONE      MN           55969                  6002               Various                                                                                             $0.66
HEATHER HANSON               5303 FLAMINGO RD                                                 MONONA            WI           53716                  6004               Various                                                                                            $72.14
HEATHER HINTZ                5424 SOUTH 109TH COURT 133                                       OMAHA             NE           68137                  6004               Various                                                                                           $223.94
HEATHER HOLMGREN             205 E LYON ST                                                    MARSHALL          MN           56258                  6002               Various                                                                                             $0.55
HEATHER HORTON               125 26TH STREET NW                                               ROCHESTER         MN           55901                  6004               Various                                                                                             $3.00
HEATHER HUBKA                209 S WHITE PO BOX # 81                                          ALTA VISTA        IA           50603                  6002               Various                                                                                             $3.12
HEATHER KLEIN                E2030 CTY RD J                                                   KEWAUNEE          WI           54216                  6002               Various                                                                                             $1.64
HEATHER KNEWTSON             105 W. BARAGA AVE.                                               HOUGHTON          MI           49931                  6004               Various                                                                                            $22.07
HEATHER L RITTING            382 E LEADORA LN                                                 COEUR D ALENE     ID           83815                  6002               Various                                                                                             $5.07
HEATHER LEE GRAHAM           123 S MANYASKA ST                                                SHERBURN          MN           56171                  6002               Various                                                                                             $5.97
HEATHER LEWIS                825 HELANA FLATS RD                                              KALISPELL         MT           59901                  6002               Various                                                                                             $0.52
HEATHER LINSTROM             505 MAONA AVE                                                    FOND DU LAC       WI           54935                  6004               Various                                                                                            $20.00
HEATHER LIPHART              2334 15TH AVE                  APT.1                             MONROE            WI           53566                  6004               Various                                                                                            $75.00
HEATHER M BECKMAN            29317 JULLIARD ST NE                                             NORTH BRANCH      MN           55056                  6002               Various                                                                                             $7.51
HEATHER M BROWN              302 8TH ST                                                       IDAHO FALLS       ID           83401                  6002               Various                                                                                             $1.59
HEATHER M. STRUCK            441 WITHWORTH AVE                                                KINGSFORD         MI           49802                  6002               Various                                                                                             $0.93
HEATHER MAASS                927 LONDON ST                                                    MENASHA           WI           54952                  6002               Various                                                                                             $0.88
HEATHER MACGREGOR            807 W ELK ST                                                     MANISTIQUE        MI           49854                  6002               Various                                                                                             $4.77
HEATHER MAE MURRAY           E4052 CEDAR RD                                                   ELEVA             WI           54738                  6002               Various                                                                                             $0.27
HEATHER MARTINEZ             2202 W 5TH AVE                                                   BRODHEAD          WI           53520                  6002               Various                                                                                             $7.18
HEATHER MCELDOWNEY           917 2ND AVE NW                                                   ROCHESTER         MN           55901                  6002               Various                                                                                             $4.68
HEATHER MELIUS               28671 315TH AVE                                                  COLOME            SD           57528                  6002               Various                                                                                             $5.92
HEATHER MENTING              127 W 15TH ST                                                    KAUKAUNA          WI           54130                  6004               Various                                                                                             $9.00
HEATHER MIKESELL             8003 GROVER ST                                                   OMAHA             NE           68124                  6004               Various                                                                                             $1.35
HEATHER NIEMEIER             57 EAST ST MARYS ST                                              MILTON            WI           53563                  6004               Various                                                                                             $2.62
HEATHER OLMSTED              1620 LE BRUN RD                                                  DE PERE           WI           54115                  6002               Various                                                                                             $2.14
HEATHER OLSON                726 BEARCLAW WAY #303                                            MADISON           WI           53717                  6004               Various                                                                                            $25.00
HEATHER PERRY                368 17TH ST                                                      FOND DU LAC       WI           54935                  6002               Various                                                                                             $6.33
HEATHER PETERSON             709 KETCHAM D ST                                                 GLADSTONE         MI           49837                  6002               Various                                                                                             $1.26
HEATHER REH                  E7278 CHURCH ST                                                  NEW LONDON        WI           54961                  6004               Various                                                                                            $50.00
HEATHER ROBBINS              PO BOX 2566                                                      MCCALL            ID           83638                  6002               Various                                                                                             $1.97




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             Creditor Name                 Address1                Address2           Address3              City        State           Zip   Country     Number                Claim                                                                             Total Claim
HEATHER ROPER                  1080 HIGHWAY 241                                                    AFTON             WY         83110                 6002                Various                                                                                                $9.26
HEATHER ROUCH                  1219 SHORE LANE PKWY                                                SYRACUSE          IN         46567                 6002                Various                                                                                                $6.36
HEATHER ROWE                   12208 E MAXWELL APT D104                                            NINE MILE FALLS   WA         99026                 6004                Various                                                                                               $79.00
HEATHER SCHAEFER               7339 HIGHWAY 8 APT 304                                              RHINELANDER       WI         54501                 6002                Various                                                                                                $4.11
HEATHER SCOTT                  5551 EDGEWATER CT APT 7                                             DELAVAN           WI         53115                 6002                Various                                                                                                $9.97
HEATHER SERR                   922 A STREET, APT. # 5                                              LINCOLN           NE         68502                 6004                Various                                                                                                $4.00
HEATHER SHERRIL-(FINKE)        12644 JEROME AVE                                                    OROFINO           ID         83544                 6002                Various                                                                                                $2.49
HEATHER SILVEY                 371 N NEBRASKA ST                                                   CRAIG             NE         68019                 6002                Various                                                                                                $2.66
HEATHER SITTLER                319 SOUTH TERRACE STREET                                            DELAVAN           WI         53115                 6004                Various                                                                                               $24.00
HEATHER SKAPPEL                102 HIDDEN VALLEY                                                   MINNESOTA CITY    MN         55959                 6004                Various                                                                                                $3.00
HEATHER SMITH                  1020 N M-30                                                         GLADWIN           MI         48624                 6002                Various                                                                                                $0.38
HEATHER STANGELAND             503 N WASHINGTON ST                                                 MINNEOTA          MN         56264                 6002                Various                                                                                                $5.48
HEATHER STOCKWELL              2714 4TH AVE NW                                                     ROCHESTER         MN         55901                 6004                Various                                                                                                $3.00
HEATHER STROCK                 3880 N SPARTA LAKE RD                                               LIGONIER          IN         46767                 6002                Various                                                                                                $5.92
HEATHER TALLMAN GIRVIN         509 S 34TH ST                                                       BILLINGS          MT         59101                 6004                Various                                                                                               $38.00
HEATHER TICKNOR                626 CRESTVIEW DR                                                    SEYMOUR           WI         54165                 6002                Various                                                                                                $3.64
HEATHER VANBOXTEL              505 LINCOLN AVE                                                     KAUKAUNA          WI         54130                 6002                Various                                                                                                $4.58
HEATHER VANEPEREN              1271 CHRISTOPHER DR APT 3                                           NEENAH            WI         54956                 6002                Various                                                                                                $7.70
HEATHER WARD                   BOX 124 242 KANSAS                                                  HUDSON            WY         82515                 6002                Various                                                                                                $4.47
HEATHER WEEKS                  726 14TH ST                                                         LEWISTON          ID         83501                 6002                Various                                                                                                $7.92
HEATHER WHITE                  217 COOPERATIVE WAY                                                 KALISPELL         MT         59901                 6002                Various                                                                                                $0.27
HEATHER WYLIE                  1974 N ROAD                                                         WEST POINT        NE         68788                 6002                Various                                                                                                $0.66
HEAVEN KREUZIGER               114 W. BELL ST.                APT. 203                             NEENAH            WI         54956                 6004                Various                                                                                                $2.00

HECKER/ GEORGIANNA             STORE 2-090                    SHOPKO EMPLOYEE                      GREEN BAY         WI         54307-9060             6714               Various                                                                                             $2.30
HECTOR JAVIER MAYORGA          206 N 2ND ST                                                        ABBOTSFORD        WI         54405                  6002               Various                                                                                             $2.19
HECTOR LOPEZ NAVARRO           502 OAK ST                                                          WAKEFIELD         NE         68784                  6002               Various                                                                                             $0.96
HECTOR LUNA                    2901 SW QUARTZ AVE                                                  REDMOND           OR         97756                  6004               Various                                                                                             $2.00
HECTOR RINCON-LOPEZ            411 N GRAND AVE                                                     LYONS             KS         67554                  6002               Various                                                                                             $0.85
HECTOR SALAZAR                 514 SHEPPARD TERR.                                                  MADISON           WI         53705                  6004               Various                                                                                             $4.00
HECTOR TELLEZ                  156 COLUMBIA ST                                                     POPLAR GROVE      IL         61065                  6004               Various                                                                                             $3.90
HEGGIES PIZZA LLC (603,605)    1115 6TH AVENUE                PO BOX 250                           MILACA            MN         56353                  0506               Various                                                                                         $1,065.55
HEIDI BIERY ROMERO             280 6TH ST NW LOT 51                                                PINE ISLAND       MN         55963                  6004               Various                                                                                             $3.06
HEIDI BOOTH                    1923 MINNESOTA ST                                                   OSHKOSH           WI         54902                  6002               Various                                                                                             $7.32
HEIDI BUTTERFIELD              196 W HAYCRAFT AVE                                                  COEUR D ALENE     ID         83815                  6002               Various                                                                                             $0.60
HEIDI CARTER                   3864 W 4475TH S                                                     WEST HAVEN        UT         84401                  6002               Various                                                                                             $3.86
HEIDI CARVIN                   4304 N CORNFIELD DR                                                 EVANSVILLE        WI         53536                  6004               Various                                                                                            $24.86
HEIDI CISKE                    1409 N CHARLOTTE ST                                                 APPLETON          WI         54915                  6004               Various                                                                                             $6.98
HEIDI DURFEY                   2958 S. AUDREY ST                                                   WEST VALLEY       UT         84128                  6004               Various                                                                                            $25.00
HEIDI FAIRCHILD                32916 STATE HIGHWAY 210                                             AITKIN            MN         56431                  6002               Various                                                                                             $9.10
HEIDI GEMPELER                 3220 SYENE RD                                                       MADISON           WI         53713                  6004               Various                                                                                            $16.73
HEIDI GOODNATURE               2013 6TH AVE. NE                                                    AUSTIN            MN         55912                  6004               Various                                                                                             $3.00
HEIDI HENDRICKSON              1104 NELLIE ST                                                      STURGIS           SD         57785                  6002               Various                                                                                             $5.95
HEIDI HUPPERT                  PO BOX 893                                                          ELLSWORTH         WI         54011                  6002               Various                                                                                             $2.88
HEIDI JOANNE AYERS             3042 VILLA WAY                                                      MENASHA           WI         54952                  6002               Various                                                                                             $6.88
HEIDI KINCHELOE                1228 UNIVERSITY ST                                                  WALLA WALLA       WA         99362                  6004               Various                                                                                            $72.98
HEIDI KORSMO                   2425 S 15TH ST LOT 17                                               PLATTSMOUTH       NE         68048                  6002               Various                                                                                             $1.42
HEIDI L SELL                   W6181 ROCK ISLAND DR                                                GREENVILLE        WI         54942                  6002               Various                                                                                             $2.77
HEIDI LARIOS-HILDAHL           E1130 STATE HWY 29                                                  LUXEMBURG         WI         54217                  6004               Various                                                                                             $3.00
HEIDI M. MYLER                 325 EASY ACRES LOOP                                                 AFTON             WY         83110                  6002               Various                                                                                             $7.26
HEIDI MARKS                    919 CAROLINE ST                                                     NEENAH            WI         54956                  6002               Various                                                                                             $3.64
HEIDI MARTINY                  PO BOX 873                                                          APPLETON          WI         54912                  6002               Various                                                                                             $7.20

HEIDI MCDERMOTT                4030 TOWNE LAKES CIR APT 111                                        APPLETON          WI         54913                   6002              Various                                                                                                $2.88




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HEIDI MILLER                   179D ASH ST BOX # 221                                  ST MARIE        MT         59231                 6002                Various                                                                                                $2.14
HEIDI NELSON                   330 S 4TH ST APT 2                                     WALLA WALLA     WA         99362                 6004                Various                                                                                               $25.00
HEIDI PURK                     204 W CARLETON ST                                      TOLEDO          IA         52342                 6002                Various                                                                                                $5.62
HEIDI RANDALL                  1112 4TH AVE SE                                        WATERTOWN       SD         57201                 6002                Various                                                                                                $8.60
HEIDI ROATCH                   2024 W RUSSET CT APT 2                                 APPLETON        WI         54914                 6002                Various                                                                                                $4.41
HEIDI SCHOTT                   114 GERTIE LN                                          ONALASKA        WI         54650                 6002                Various                                                                                                $6.19
HEIDI SHERER                   2501N S BELMONT DR                                     BELOIT          WI         53511                 6002                Various                                                                                                $0.36
HEIDI SISCHO                   W1891 CHILI ROAD                                       CHILI           WI         54420                 6004                Various                                                                                               $25.00
HEIDI SJOSTROM                 4023 2ND AVENUE SOUTH                                  BILLINGS        MT         59101                 6004                Various                                                                                               $31.98
HEIDI SMITH                    W1549 SMITH RD                                         SEYMOUR         WI         54165                 6004                Various                                                                                               $69.66
HEIDI STACHOWIAK               1226 W OAKCREST DR                                     APPLETON        WI         54914                 6002                Various                                                                                               $10.00
HEIDI STAUDER                  307 MALLARD DR                                         HOLMEN          WI         54636                 6002                Various                                                                                               $10.00
HEIDI TAGAWA                   1984 21 15/16TH ST                                     RICE LAKE       WI         54868                 6002                Various                                                                                                $5.75
HEIDI THIEL                    940 N 7TH ST                                           AUMSVILLE       OR         97302                 6004                Various                                                                                               $22.53
HEIDI THOMPSON                 2001 CLAYCOMB RD                                       WAYNE           NE         68787                 6002                Various                                                                                               $10.00
HEIDI WEIS                     667 EDGERTON RD                                        HELENA          MT         59602                 6002                Various                                                                                                $1.70
HEIDI WILPONEN                 939 BURRELL AVENUE                                     LEWISTON        ID         83501                 6004                Various                                                                                                $9.02
HEIDI ZEIGLER                  317 S MAPLE ST                                         AINSWORTH       NE         69210                 6002                Various                                                                                                $4.99
HEINRITZ FAMILY                815 W RIDGEVIEW DR                                     APPLETON        WI         54914                 6002                Various                                                                                                $9.84
HELAINA HELMS                  617 N 17TH ST                                          BEATRICE        NE         68310                 6002                Various                                                                                                $2.16
HELEN A. PUPP                  N794 HIGHWAY # M                                       WATERTOWN       WI         53098                 6002                Various                                                                                                $6.90
HELEN ARMS-JOHNSON             4122 N SHERMAN AVE                                     MADISON         WI         53704                 6004                Various                                                                                                $5.70
HELEN BAIRD                    PO BOX 134                                             SAINT MARIES    ID         83861                 6002                Various                                                                                                $2.03
HELEN BARIL                    57437 CALUMET AVE                                      CALUMET         MI         49913                 6002                Various                                                                                                $0.47
HELEN BARTH                    511 MCKINLEY ST                                        ARCADIA         WI         54612                 6002                Various                                                                                                $7.67
HELEN BAUER                    1203 N 14TH AVE                                        WEST BEND       WI         53090                 6002                Various                                                                                                $1.13
HELEN BICKLEY                  5503 SPRINGBROOK DR                                    WAUSAU          WI         54401                 6002                Various                                                                                                $7.70
HELEN BLACK                    9811 N. HUNTINGTON RD.                                 SPOKANE         WA         99218                 6004                Various                                                                                               $42.98
HELEN BOSHEARS                 RR 8 BOX 9010                                          DONIPHAN        MO         63935                 6002                Various                                                                                                $7.64
HELEN BUSSE                    478 BADGER DR                                          EVANSVILLE      WI         53536                 6004                Various                                                                                                $5.60
HELEN C YOUNG                  45147 792ND RD                                         ANSLEY          NE         68814                 6002                Various                                                                                                $3.86
HELEN CARRELL                  PO BOX 726                                             PROSSER         WA         99350                 6002                Various                                                                                                $3.33
HELEN COLEMAN                  510 S WALNUT ST                                        TOWNSEND        MT         59644                 6002                Various                                                                                                $6.27
HELEN DAVIDSON                 1410 LA CRESCENT ST                                    LA CROSSE       WI         54603                 6002                Various                                                                                                $6.58
HELEN ERNESTI                  1923 PADDOCK                                           BELVIDERE       IL         61008                 6004                Various                                                                                                $4.30
HELEN GALDAMEZ                 8414 SO 49 AVE                                         BELLEVUE        NE         68157                 6004                Various                                                                                               $39.00
HELEN GARTLAND                 803 S JAYME CIR                                        SIOUX FALLS     SD         57106                 6004                Various                                                                                               $12.10
HELEN GENAL                    1600 INDIGO DRIVE                                      OSHKOSH         WI         54902                 6004                Various                                                                                                $4.32
HELEN GIBBS ANDERSON           PO BOX 2544                                            OROFINO         ID         83544                 6002                Various                                                                                                $5.64
HELEN GILBERT                  1105 5TH ST                                            STURGIS         SD         57785                 6002                Various                                                                                                $1.42
HELEN GUZMAN                   12548 HARTFOD AVE                                      OROFINO         ID         83544                 6002                Various                                                                                                $8.03
HELEN HASKELL                  4660 S 375TH W                                         WASH TERRACE    UT         84405                 6002                Various                                                                                                $7.70
HELEN HEAD                     310 E TELEGRAPH ST                                     DOWAGIAC        MI         49047                 6002                Various                                                                                                $9.62
HELEN HOLLAND                  2215 COUNTRY CT                                        FREEPORT        IL         61032                 6004                Various                                                                                               $14.82
HELEN JACOBS                   4211 TRUMPETER DR SE                                   ROCHESTER       MN         55904                 6004                Various                                                                                                $3.00
HELEN JACQUEMIN                24867 E CANYON RD                                      CATALDO         ID         83810                 6002                Various                                                                                                $5.10
HELEN KILL                     101 N CALIFORNIA AVENUE                                MORRIS          MN         56267                 6002                Various                                                                                                $2.41
HELEN KRATZER                  W3863 HIGHVIEW DR                                      APPLETON        WI         54913                 6002                Various                                                                                                $3.51
HELEN LEDOUX                   1015 2ND. AVE. APT. G3                                 DULUTH          MN         55810                 6004                Various                                                                                                $3.00
HELEN M ERICKSON               225 N EDNA ST                                          VALENTINE       NE         69201                 6002                Various                                                                                                $0.27
HELEN MACDONALD                4245 E ENGLISH PT RD                                   HAYDEN          ID         83835                 6004                Various                                                                                               $41.85
HELEN MCGUIRE                  1707 WEST 25TH APT #403                                SIOUX CITY      IA         51103                 6004                Various                                                                                               $41.60

HELEN MEITNER                  1838 WOODVIEW CIRCLE                                   PORT WASHINGTON WI         53074                   6002              Various                                                                                                $8.32




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HELEN MRS NIKOLAY                 209 N 5TH AVE                                                      ABBOTSFORD      WI         54405                 6002                Various                                                                                                $2.00
HELEN ORELLANA                    1108 RUBY DRIVE                                                    NAMPA           ID         83686                 6004                Various                                                                                               $19.98
HELEN OSTERHOLM                   1212 4TH AVE                                                       PLATTSMOUTH     NE         68048                 6002                Various                                                                                                $5.37
HELEN PICAMAN                     27136 HIGHWAY #C                                                   PRINCETON       MO         64673                 6002                Various                                                                                                $1.42
HELEN POZORSKI                    1821 DEER TRAIL CT                                                 LUXEMBURG       WI         54217                 6002                Various                                                                                                $7.89
HELEN REICHARDT                   PO BOX 194 PMB 410                                                 FONTANELLE      IA         50846                 6002                Various                                                                                                $4.88
HELEN RITZ                        2901 CENTER ST                                                     SIOUX CITY      IA         51103                 6002                Various                                                                                                $4.00
HELEN SCHILLING                   1478 E PEGGY LP                                                    COEUR D ALENE   ID         83815                 6002                Various                                                                                                $6.60
HELEN SCHOEPKE                    3001 WESTHILL DR               APT 104                             WAUSAU          WI         54401                 6004                Various                                                                                               $33.60
HELEN SHERMAN                     182 W 6TH ST APT 5                                                 SHELBY          MI         49455                 6002                Various                                                                                                $9.21
HELEN STAPLES                     1 LINE DR                                                          MORRIS          MN         56267                 6002                Various                                                                                                $0.96
HELEN TINGBLAD                    RIVERSIDE DRIVE SE NO 912                                          SAINT CLOUD     MN         56304                 6002                Various                                                                                                $3.33
                                                                 2325 SPRINGHILL
HELEN TSENGOURAS                  C/O ANDREAS TSENGOURAS         LANE                                LINDEHURST      IL         60046                  6002               Various                                                                                               $83.05
HELEN WELCH                       103 LAKE ST                                                        BEAVER DAM      WI         53916                  6002               Various                                                                                                $1.75
HELEN WILLHITE                    2370 S VAN BROCKLIN                                                FREEPORT        IL         61032                  6004               Various                                                                                                $1.33
HELEN WOELFEL                     1700 S 18TH STREET APT 235                                         MANITOWOC       WI         54220                  6002               Various                                                                                               $12.96
HELENA HERSHEY                    502 WALNUT ST AMM                                                  GLENWOOD        IA         51534                  6002               Various                                                                                                $5.64
HELENA POPE                       21794 WOODLAND RD                                                  HOUGHTON        MI         49931                  6002               Various                                                                                                $1.95
HELENA TOWNSEND                   320 GRANT AVE                                                      WILLOW LAKE     SD         57278                  6002               Various                                                                                               $10.00
HELENE PEETZ                      801 3RD ST N APT 104                                               PRINCETON       MN         55371                  6002               Various                                                                                                $1.33
HELENE STALZER                    1203 GRAND AVE                                                     MANITOWOC       WI         54220                  6002               Various                                                                                                $8.55

HELGA TOWNSEND                    1318 N MCDONALD RD APT A106                                        SPOKANE         WA         99216                  6002               Various                                                                                            $10.30
HELSHA ACUNA                      236 S 2ND ST                                                       LANDER          WY         82520                  6002               Various                                                                                             $9.07
HEMI AMAYA                        8311 BEECH AVE                                                     HOWARD CITY     MI         49329                  6002               Various                                                                                             $5.97
HENDRICKS BEVERAGE INCORPORATE    4402 CUSTER                                                        MANITOWOC       WI         54220                  5617               Various                                                                                           $217.50

HENKEL COMPANY                    5320 COLLECTION CENTER DRIVE                                       CHICAGO         IL         60693-5320             5005               Various                                                                                        $32,984.95
                                                                 20109 OLD RANCH
HENNING GROUP INCORPORATED        C/O TOM HENNING                LOOP                                NATHROP         CO         81236                  1027               Various                                                                                         $5,390.00
HENRIETTA NELSON                  W392 COUNTY RD T                                                   MINDORO         WI         54644                  6002               Various                                                                                            $11.58
HENRIETTE STEIN                   3920 N GREEN BAY RD                                                RACINE          WI         53404                  6002               Various                                                                                             $7.61
HENRY A NIEMANN                   1600 1ST AVE NE APT B1                                             WATERTOWN       SD         57201                  6002               Various                                                                                             $7.48
HENRY BJORK                       1116 6TH AVE NW                                                    ROCHESTER       MN         55901                  6002               Various                                                                                             $1.42
HENRY BREWSTER                    1017 MILWAUKEE ST.                                                 KEWAUNEE        WI         54216                  6004               Various                                                                                            $10.00
HENRY BURKHOLDER                  W8598 BROEK RD                                                     THORP           WI         54771                  6002               Various                                                                                            $10.00
HENRY CABAL                       2103 W. 11400 S.                                                   SOUTH JORDAN    UT         84095                  6004               Various                                                                                             $1.00
HENRY CLEEREMAN                   2526 S SHORE RD                                                    PELICAN LAKE    WI         54463                  6002               Various                                                                                             $1.15
HENRY CLIFFO JOHNSON              333 S SPRING AVE                                                   SIOUX FALLS     SD         57104                  6002               Various                                                                                             $4.47
HENRY DIXON                       1914 POST ROAD                 APT 316                             MADISON         WI         53713                  6004               Various                                                                                             $2.00
HENRY EVENSON                     307 FULTON AVENUE                                                  OSHKOSH         WI         54901                  6004               Various                                                                                             $6.00
HENRY GAGLIARDI                   2462 SEGOVIA AVE                                                   JACKSONVILLE    FL         32217                  6002               Various                                                                                             $0.44
HENRY GAUGERT                     119 S 8TH ST                                                       WATERTOWN       WI         53094                  6004               Various                                                                                            $49.00
HENRY GRONSETH                    23185 DODGE MOWER RD                                               SARGEANT        MN         55973                  6002               Various                                                                                             $7.78
HENRY HUNTER                      309 E 36TH ST                                                      GARDEN CITY     ID         83714                  6002               Various                                                                                             $9.29
HENRY JR CLEAVER                  135 TOTZ ALY                                                       TOTZ            KY         40870                  6002               Various                                                                                             $6.05
HENRY K KANABUS                   RR 3 BOX 3485                                                      DONIPHAN        MO         63935                  6002               Various                                                                                             $2.55
HENRY KASBOHM                     224 N 15TH ST                                                      ESCANABA        MI         49829                  6002               Various                                                                                             $1.62
HENRY LAUGHLIN                    502 W 2ND ST                                                       NEILLSVILLE     WI         54456                  6002               Various                                                                                             $6.22
HENRY OKROI                       304 HAWTHRON                                                       ROSLYN          SD         57261                  6002               Various                                                                                             $3.81
HENRY PALM                        41563 290TH ST                                                     AITKIN          MN         56431                  6002               Various                                                                                             $9.81
HENRY S. CONSTABLE                29 FAWN DR                                                         BUFFALO         WY         82834                  6002               Various                                                                                             $2.71
HENRY TIMM                        11158 N SAND BAY LN                                                SISTER BAY      WI         54234                  6002               Various                                                                                             $6.22




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HENRY VOGT                        77241 ROAD 415                                                  GOTHENBURG        NE         69138                6002                Various                                                                                             $2.74
HENSLEY FAMILY                    5125 PICKERING RD                                               GLADWIN           MI         48624                6002                Various                                                                                             $9.75
HERACLIO APARICIO                 515 E 8TH ST                                                    BELVIDERE         IL         61008                6004                Various                                                                                             $3.90
HERACLIO VERA                     PO BOX 621                                                      MANSON            WA         98831                6004                Various                                                                                            $10.00
HERALDO OCHOA                     4875 S 61ST ST                                                  OMAHA             NE         68117                6004                Various                                                                                             $2.00
HERAN GOMELLA                     705 SPARKS AVE                                                  EAST SAINT LOUI   IL         62206                6002                Various                                                                                             $6.93
HERBERT BURKE                     W3940 MITCHELL RD TRLR 38                                       EAU CLAIRE        WI         54701                6002                Various                                                                                             $6.03
HERBERT F RINKLEFF                626 ATLANTIC ST BOX # 192                                       BROWNVILLE        NE         68321                6002                Various                                                                                             $6.52
HERBERT JOHNSON                   1742 ARROWHEAD DR                                               BELOIT            WI         53511                6002                Various                                                                                             $1.18
HERBERT MARTIN                    N11820 HILINE AVE                                               UNITY             WI         54488                6002                Various                                                                                             $0.66
HERBERT MUMFORD                   1620 W BANNOCK              APT 10                              BOISE             ID         83702                6004                Various                                                                                            $14.00
HERBERT REHM                      611 N MAIN ST                                                   WILBER            NE         68465                6002                Various                                                                                             $2.74
HERBERT TORNOW                    1324 TORNOW RD                                                  SOUTH WAYNE       WI         53587                6002                Various                                                                                             $6.96
HERBERT W. PHIPPS                 7605 APPLEGATE DR                                               HELENA            MT         59602                6002                Various                                                                                             $3.92
HERITAGE INVESTMENT PROPERTIES    8021 54TH STREET NW                                             GIG HARBOR        WA         98335                9198                Various                                                                                         $3,484.07
HERMAN HIEB                       4326 SPRINGFIELD ST                                             SIOUX CITY        IA         51108                6002                Various                                                                                             $8.47
HERMAN JR TEBRAKE                 541 PARK ST                                                     BROOTEN           MN         56316                6002                Various                                                                                             $8.47
HERMAN MUNGUIA                    PO BOX 1177                                                     CONNELL           WA         99326                6004                Various                                                                                            $45.04
HERMAN SANTIFER                   227 S MAPLE ST APT 1                                            WEST POINT        NE         68788                6002                Various                                                                                             $1.56
HERMAN THOMAS                     300 PACKERLAND DR                                               GREEN BAY         WI         54307                6002                Various                                                                                             $8.05
HERMENEGILDO JORDAN               306 WASHINGTON ST                                               SALMON            ID         83467                6002                Various                                                                                             $2.57
HERMICENDA PERALTA                918 HEYRMAN ST                                                  GREEN BAY         WI         54302                6002                Various                                                                                             $2.33
HERNANDEZ ROOFING LLC             117 W MELVINA ST                                                MILWAUKEE         WI         53212                                    Various                                                                                         $5,342.20
HERRY DIGGERS                     500 LOMAX                                                       MOORCROFT         WY         82721                 6002               Various                                                                                             $6.36
HERSHEL KNUCKLES                  HC 5 BOX 296                                                    DONIPHAN          MO         63935                 6002               Various                                                                                             $3.64
HERSHEY CHOCOLATE COMPANY         PO BOX 848520                                                   DALLAS            TX         75284-8520            8601               Various                                                                                       $123,073.09

HESS/ PAMELA                      STORE 712                   SHOPKO EMPLOYEE 502 E ROSS STREET   PALMYRA           MO         63461                 2701               Various                                                                                          $154.36
HETTIE MCGREGOR                   2559 KAIN QUARRY DR # B                                         HELENA            MT         59602                 6004               Various                                                                                            $10.02
HEYRMAN & GREEN BAY BLUE          2083 HOLMGREN WAY                                               GREEN BAY         WI         54304                 2070               Various                                                                                         $1,154.18
HIBO KASSIM                       2817 CHARLES CT NW                                              ROCHESTER         MN         55901                 6004               Various                                                                                            $22.05
                                                              1505 HOLLAND
HICKORY FARMS                     VICE PRESIDENT OF SALES     ROAD                                MAUMEE            OH         43537-1620            3808               Various                                                                                       $347,521.67
HIEP NGUYEN                       13639 HASCAL ST                                                 OMAHA             NE         68144                 6004               Various                                                                                             $9.02
HIGH COUNTRY LINEN SUPPLY INCO    121 1ST AVENUE E                                                KALISPELL         MT         59901                 5529               Various                                                                                          $225.54
HIGH DESERT HYDRAULICS            20453 CADY WAY #F                                               BEND              OR         97701                                    Various                                                                                          $292.50
HIGH PLAINS BUDWEISER (PIVO IN    FINTECH                     SHOPKO STORES      PO BOX 19060     GREEN BAY         WI         54307-9060             3959              Various                                                                                          $903.60
                                                              333 LUDLOW
HIGH RIDGE BRANDS COMPANY         SOUTH TOWER 2ND FLOOR       STREET                              STAMFORD          CT         06902                 8277               Various                                                                                        $19,368.64
HIGHDEF CLEANING SERVICES         JARED NEWELL                319 E MAPLE                         HILL CITY         KS         67642                 3574               Various                                                                                            $44.00
                                                              4100 N RIVERSIDE
HIGHLAND MINT                     BULLION INTERNATIONAL INC   DRIVE                               MELBOURNE         FL         32937                 3778               Various                                                                                         $2,400.00
HIGI SH LLC                       PO BOX 775177                                                   CHICAGO           IL         60677-5177            2569               Various                                                                                        $45,220.42
HILARIO ESPARZA                   708 SW 3RD                                                      ANDREWS           TX         79714                 6002               Various                                                                                             $6.90
HILARY FOSTER                     PO BOX 1002                                                     SARATOGA          WY         82331                 6002               Various                                                                                             $9.21
HILARY THUMANN                    616 AVE G                                                       PLATTSMOUTH       NE         68048                 6004               Various                                                                                            $10.00
HILDA HORTEALES                   1630 FOX FIELD DR                                               BELVIDERE         IL         61008                 6004               Various                                                                                            $16.00
HILDA MINUIZ                      2630 SPRING CREEK RD        LOT 11B                             BELVIDERE         IL         61008                 6004               Various                                                                                             $2.00
HILDA SANTOS                      1635 RANCHLAND DR                                               GREEN BAY         WI         54304                 6004               Various                                                                                             $6.24
HILDA STAJKOWSKI                  1809 BURRELL AVE                                                LEWISTON          ID         83501                 6004               Various                                                                                            $15.00
HILJA LOOMIS                      46516 GALAXY AVE                                                HARRIS            MN         55032                 6004               Various                                                                                            $10.00
HILJA M LOOMIS                    46516 GALAXY AVE                                                HARRIS            MN         55032                 6002               Various                                                                                            $10.00

HILL/ BRANDI                      STORE 2-091                 SHOPKO EMPLOYEE                     GREEN BAY         WI         54307-9060            7773               Various                                                                                               $33.60




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                                                                                                                                                             Account         Incurred, Basis for
             Creditor Name                   Address1              Address2           Address3              City          State           Zip   Country      Number                Claim                                                                             Total Claim

HILL/ COLTON                      STORE 658                    SHOPKO EMPLOYEE 123 N 24TH STREET     BEATRICE        NE           68310                   6885               Various                                                                                          $170.40
HILLARY DANI SURITA               1309 N MORRISON ST                                                 APPLETON        WI           54911                   6002               Various                                                                                             $3.48
HILLARY HAGEDORN                  310 E B ST                                                         VALENTINE       NE           69201                   6002               Various                                                                                             $6.38
HILLARY HUGHES                    304 9TH AVE NE APT 103                                             BYRON           MN           55920                   6002               Various                                                                                             $5.01
HILLARY KUMP                      906 JENIFER STREET           APT 6                                 MADISON         WI           53703                   6004               Various                                                                                          $144.85
HILLARY L JACKSON                 1522 CANNON ST APT G                                               HELENA          MT           59601                   6002               Various                                                                                             $0.85
HILLARY RODGERS                   2311 7TH STREET                                                    LEWISTON        ID           83501                   6004               Various                                                                                          $250.00
HILLERY WRANEK                    402 S MADISON ST                                                   WINNER          SD           57580                   6002               Various                                                                                             $1.75
HILLMAN FAMILY                    6100 N F-97                                                        GLADWIN         MI           48624                   6002               Various                                                                                             $0.36
HILLTOP LODGING LLC               914 4TH AVE S                                                      PARK FALLS      WI           54552                   6666               Various                                                                                            $19.56
HILLTOPPER REFUSE                 W6833 INDUSTRIAL BLVD                                              ONALASKA        WI           54650                                      Various                                                                                         $3,584.90
HILMA JOHNSON                     300 1ST AVE NE APT 207                                             AUSTIN          MN           55912                   6002               Various                                                                                             $8.32
HILSINGER COMPANY                 PO BOX 644498                                                      PITTSBURGH      PA           15264-4498              3117               Various                                                                                       $198,068.67
HILTON LAMAY                      RR 2 BOX 6123                                                      DONIPHAN        MO           63935                   6002               Various                                                                                             $4.60
HILTON RAMLAKHAN                  509 2ND ST NE                                                      MASON CITY      IA           50401                   6002               Various                                                                                             $2.47

HILTUNEN/ NICOLE                  STORE 2-502                  SHOPKO EMPLOYEE 2585 LINEVILLE ROAD   GREEN BAY       WI           54313                   8007               Various                                                                                           $146.72
                                                               1523 MOMENTUM
HINKY DINKY SUPERMARKETS INCOR    ATTN CASHIER - REAL ESTATE   PLACE                                 CHICAGO         IL           60689-1523              1331               Various                                                                                         $4,801.25

HINOJOSA/ ALBERTO                 STORE 083                    SHOPKO EMPLOYEE                       GREEN BAY       WI           54307-9060              0910               Various                                                                                            $23.00
HIRSP                             1751 W BROADWAY              PO BOX 8961                           MADISON         WI           53708                   6002               Various                                                                                          $772.30
HISEROTE TRASH SERVICE            610 N HERSHEY                                                      BELOIT          KS           67420                                      Various                                                                                          $452.00
HITES FAMILY                      47940 STATE HIGHWAY 11                                             SALOL           MN           56756                   6002               Various                                                                                             $0.60
HJORDIS(DOLL SCHIPPER             307 24TH ST SW                                                     MASON CITY      IA           50401                   6002               Various                                                                                             $2.96
HLA CHAR                          1538 SPRING AVE LOT 38                                             WORTHINGTON     MN           56187                   6004               Various                                                                                             $3.00
HMONG LEE                         704 OVIATT ST                                                      KAUKAUNA        WI           54130                   6004               Various                                                                                             $4.32
HMS MANUFACTURING COMPANY         1230 E BIG BEAVER ROAD                                             TROY            MI           48083-0000              5963               Various                                                                                        $91,852.55

HNW INDUSTRY INC DBA FLYP SPOR    1384 BROADWAY STE 10 SOUTH                                         NEW YORK        NY           10018-0000              5295               Various                                                                                     $1,040,258.23
HOA TRAN                          1217 WAYLAND ST                                                    BEAVER DAM      WI           53916                   6002               Various                                                                                            $10.00
HODGES FAMILY                     114 N 7TH ST                                                       PLATTSMOUTH     NE           68048                   6002               Various                                                                                            $10.00

HOEFT/ JORDAN                     STORE 005                    SHOPKO EMPLOYEE                       GREEN BAY       WI           54307-9060              7830               Various                                                                                            $20.16
HOGUEISON FAMILY                  1715 S 15TH ST LOT 30                                              PLATTSMOUTH     NE           68048                   6002               Various                                                                                             $1.73
HOLLAND BEAUTY FLOWER & BULB C    8480 N 87TH STREET                                                 MILWAUKEE       WI           53224-0000              3220               Various                                                                                        $86,588.27

HOLLAND HOUSE                     HACKNEY HOME FURNISHINGS     9420 E 33RD STREET                    INDIANAPOLIS    IN           46235                   5577               Various                                                                                         $2,277.92

HOLLAND/ TRACI                    STORE 2-706                  SHOPKO EMPLOYEE 115 LEROUX DRIVE      DONIPHAN        MO           63935                   3484               Various                                                                                             $5.83
HOLLANDER SLEEP PRODUCTS LLC      ATTN A/R                     LOCKBOX 2752    PO BOX 8500           PHILADELPHIA    PA           19178-2752              3217               Various                                                                                          $241.06
HOLLEY LUEDTKE                    114 CENTER ST                                                      NEENAH          WI           54956                   6002               Various                                                                                             $7.67
HOLLEY R BROWN                    831 TAMMARACK DR # 203                                             LEWISTON        ID           83501                   6002               Various                                                                                             $3.53
HOLLIS THOMPSON                   9345 N 11600TH W                                                   TREMONTON       UT           84337                   6002               Various                                                                                             $6.03
HOLLOWAY HOUSE INCORPORATED       PO BOX 158                                                         FORTVILLE       IN           46040                   6708               Various                                                                                        $11,522.49
HOLLY A SMITH                     2292 ARVIN AVE                                                     ATHENS          WI           54411                   6002               Various                                                                                             $3.70
HOLLY ANGELO                      1115 STATE ROAD 59                                                 WHITEWATER      WI           53190                   6004               Various                                                                                             $1.00
HOLLY ARLOFSKI                    2612 PIERCE AVE                                                    OGDEN           UT           84401                   6004               Various                                                                                             $1.00
HOLLY BASTING                     11 MEMORY LANE                                                     BILLINGS        MT           59101                   6004               Various                                                                                            $12.02
HOLLY BORGA                       2137 ALLOUEZ AVE                                                   GREEN BAY       WI           54311                   6004               Various                                                                                             $5.00
HOLLY BURLEIGH                    77 AIRPORT RD                                                      GLASGOW         MT           59230                   6002               Various                                                                                             $1.01
HOLLY CARMICHAEL                  104 S 10TH ST                                                      WYMORE          NE           68466                   6002               Various                                                                                             $3.51
HOLLY CHILSON                     709 8TH STREET SE                                                  ROCHESTER       MN           55904                   6002               Various                                                                                             $6.00




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              Creditor Name                  Address1               Address2           Address3             City        State         Zip     Country     Number                Claim                                                                             Total Claim
HOLLY COLEMAN                    1340 S 6TH AVE                                                     BROKEN BOW       NE         68822                 6002                Various                                                                                             $8.68
HOLLY COPPENS                    911 S NORWOOD AVE                                                  GREEN BAY        WI         54304                 6004                Various                                                                                             $1.00
HOLLY CUNNINGHAM                 1508 W 26TH ST                                                     SIOUX CITY       IA         51103                 6002                Various                                                                                             $0.38
HOLLY E KESSELRING               6417 ELLISON AVE                                                   OMAHA            NE         68104                 6002                Various                                                                                             $7.53
HOLLY ENGLERT                    275 PARK AVE                                                       LOVELL           WY         82431                 6002                Various                                                                                             $0.30
HOLLY FENTON                     N920 OLD HIGHWAY 26                                                FORT ATKINSON    WI         53538                 6002                Various                                                                                             $1.78
HOLLY FINNEGAN                   506 ISLAND DR.                                                     DE FOREST        WI         53532                 6004                Various                                                                                             $5.40
HOLLY GALLAGHER                  1121 5TH ST                                                        HOWARD LAKE      MN         55349                 6002                Various                                                                                             $6.11
HOLLY GEURTS                     1480 CRYSTAL LAKE CR. APT 9                                        GREEN BAY        WI         54311                 6004                Various                                                                                            $39.00
HOLLY HARKEY                     RR 8 BOX 1328                                                      DONIPHAN         MO         63935                 6002                Various                                                                                             $6.14
HOLLY HEJLIK                     BOX 42                                                             ROCKWELL         IA         50469                 6002                Various                                                                                             $3.64
HOLLY HODGES                     1215 E STREET                 #2                                   LINCOLN          NE         68508                 6004                Various                                                                                             $4.00
HOLLY JONES                      235 S FOREST ST                                                    STANDISH         MI         48658                 6002                Various                                                                                             $2.11
HOLLY KIRKER                     W821 CENTER RD                                                     DORCHESTER       WI         54425                 6002                Various                                                                                             $4.49
HOLLY LAWRENCE                   625 GRANT ST                                                       WAUSAU           WI         54403                 6002                Various                                                                                             $5.48
HOLLY LILLY                      820 6TH ST.                                                        PLOVER           WI         54467                 6004                Various                                                                                             $7.00
HOLLY LOCKHART                   192 HARRISON AVE SE                                                RACINE           MN         55967                 6002                Various                                                                                             $1.29
HOLLY LONERGAN                   801 N HOLLERUD APT 7                                               LYLE             MN         55953                 6004                Various                                                                                             $3.00
HOLLY MACHMILLER                 809 E 8TH AVE                                                      MITCHELL         SD         57301                 6004                Various                                                                                             $2.00
HOLLY MARENGER                   7262 S LAKE BLUFF 0.5                                              GLADSTONE        MI         49837                 6002                Various                                                                                             $1.97
HOLLY MATTER                     3966 REED ST                                                       GARDEN CITY      ID         83714                 6004                Various                                                                                            $60.00
HOLLY MCELMURY                   21209 COUNTY ROAD 33                                               ALTURA           MN         55910                 6004                Various                                                                                            $36.00
HOLLY MERTENS                    6148 HUMBOLDT RD                                                   LUXEMBURG        WI         54217                 6002                Various                                                                                             $3.40
HOLLY MITCHELL                   464 S 100 E                                                        PROVO            UT         84606                 6004                Various                                                                                            $31.00
HOLLY MYERS                      595 CHARLES AVE                                                    GREEN RIVER      WY         82935                 6002                Various                                                                                             $6.00
HOLLY NESJE                      920 WEST FRONT ST APT 207                                          ALBERT LEA       MN         56007                 6004                Various                                                                                             $3.00
HOLLY NICHOLS                    1880 WOODRIDGE AVE                                                 MARQUETTE        MI         49855                 6004                Various                                                                                            $23.00
HOLLY ODRISCOLL                  4090S 14TH ST                                                      ESCANABA         MI         49829                 6002                Various                                                                                            $10.00
HOLLY PARPART                    785 SEBO ST                                                        WINONA           MN         55987                 6002                Various                                                                                             $9.18
HOLLY PEREZ-MORENO               103 N PEARL ST                                                     JANESVILLE       WI         53548                 6004                Various                                                                                             $2.00
HOLLY PLAZA LLC                  2055 DRISCOLL DR                                                   RENO             NV         89509                 5603                Various                                                                                        $13,328.64
HOLLY REYNOLDS                   PO BOX 1542                                                        LEWISTON         ID         83501                 6004                Various                                                                                             $9.00
HOLLY RIEMER                     854 EAST LILAC                                                     BELOIT           WI         53511                 6004                Various                                                                                            $15.98
HOLLY ROBERTS                    727 GRAND AVENUE                                                   PRAIRIE DU SAC   WI         53578                 6004                Various                                                                                             $2.00
HOLLY ROTH                       502 N SPRING ST                                                    BEAVER DAM       WI         53916                 6004                Various                                                                                             $2.00
HOLLY SIEJA                      5207 TIMBER LANE                                                   MCFARLAND        WI         53558                 6004                Various                                                                                             $5.40
HOLLY STAHL                      88835 STATE HWY 251                                                AUSTIN           MN         55912                 6004                Various                                                                                             $3.00
HOLLY TACHENY                    1000 LINCOLN ST               APT. 203                             ANOKA            MN         55303                 6004                Various                                                                                             $1.22
HOLLY WALKER                     109 SW LINN ST                                                     GREENFIELD       IA         50849                 6002                Various                                                                                             $4.05
HOLLY WRIGHT                     5883 S 1325 E                                                      OGDEN            UT         84405                 6004                Various                                                                                            $39.02
HOLT OF CALIFORNIA               4855 CATEPILLAR ROAD                                               REDDING          CA         96003                                     Various                                                                                         $1,722.34
HOME DEPOT CREDIT SERVICES       PO BOX 9001043                                                     LOUISVILLE       KY         40290-1043             9240               Various                                                                                          $611.67
                                                               COLLECTIONS
HOME PRODUCTS INTERNATIONAL N    PO BOX 99993                  CENTER DR                            CHICAGO          IL         60693-9993             6412               Various                                                                                     $1,659,911.73
HOMER ROBERTS                    N6874 ROBERTS RD                                                   HOLMEN           WI         54636                  6002               Various                                                                                             $3.61
HOMER WALKER                     1598 SE 1001ST                                                     ANDREWS          TX         79714                  6002               Various                                                                                             $5.59
                                                               1700 LINCOLN
                                                               STREET LOWER
HOMESITE INSURANCE COMPANY       DEPT 912470                   LEVEL 3                              DENVER           CO         80274                   5148              Various                                                                                        $21,978.00
                                 FLAT RM-B 8/F, CHONG MING     72 CHEUNG SHA                                                                 HONG
HOMESTYLE (GSI)                  BUILDING                      WAN ROAD                             KOWLOON                                  KONG       3242              Various                                                                                       $146,051.52
HOMETOWN HAULERS                 PO BOX 45                                                          DODGE CENTER     MN         55927                                     Various                                                                                          $840.00
HONA SWIFT                       PO BOX 352                                                         SALEM            WI         53168                   6004              Various                                                                                             $1.00
HONEY CAN DO (C-HUB)             DEPT 10455                    PO BOX 87618                         CHICAGO          IL         60680-0618              2394              Various                                                                                         $4,445.25




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HONEY HUNTER                      1920 MARY ST TRLR 17                                              SALMON            ID         83467                6002              Various                                                                                             $9.18
HONEYWELL SAFETY PRODUCTS         PO BOX 3916                                                       BOSTON            MA         02241-3916           6411              Various                                                                                         $3,053.47
HONG LI CRIDDLE                   1513 NORTH 104TH PLAZA        #343                                OMAHA             NE         68114                6004              Various                                                                                             $2.00

HOOCK/ AMY                        STORE 762                     SHOPKO EMPLOYEE PO BOX 1352         THERMOPOLIS       WY         82443                  9662            Various                                                                                            $14.30
HOPE BROWN                        914 11TH ST                                                       GOTHENBURG        NE         69138                  6002            Various                                                                                             $2.33
HOPE CASSELL                      817 W CHESTNUT                                                    FREEPORT          IL         61032                  6004            Various                                                                                             $5.00
HOPE DYSON                        2023 TABITHA DR                                                   FRANKLIN          TN         37064                  6004            Various                                                                                             $5.00
HOPE FOSTER                       120 E HOLMES ST APT 4                                             JANESVILLE        WI         53545                  6004            Various                                                                                            $16.04
HOPE HANKES                       108 EAST ELM STREET                                               WAUTOMA           WI         54982                  6004            Various                                                                                             $5.84
HOPE HERNANDEZ                    1137 S. TABOR                                                     NORTH PLATTE      NE         69101                  6004            Various                                                                                             $4.00
HOPE HUTTON                       W6466 HILTOP PKWY                                                 SPOONER           WI         54801                  6004            Various                                                                                            $19.98
HOPE JOHNSON                      709 N WASHINGTON AVE                                              SAINT PETER       MN         56082                  6002            Various                                                                                             $3.64
HOPE JOHNSTON                     493 N 2ND ST                                                      LANDER            WY         82520                  6002            Various                                                                                             $4.41
HOPE KERR                         404 W 11TH                                                        MITCHELL          SD         57301                  6004            Various                                                                                            $42.49
HOPKINS MANUFACTURING CORPORAT    PO BOX 411674                                                     KANSAS CITY       MO         64141                  8403            Various                                                                                        $31,897.90
HORIZON GROUP USA INCORPORATED    PO BOX 5467                                                       CAROL STREAM      IL         60197-5467             5809            Various                                                                                        $23,664.00
HORN MEMORIAL HOSPITAL            701 EAST 2ND STREET                                               IDA GROVE         IA         51445-1666             2445            Various                                                                                          $224.32
HORTENCIA RODRIGUEZ               8 N BROADWAY AVE                                                  NEW HAMPTON       IA         50659                  6002            Various                                                                                             $6.00
HORTENSIA VALERO                  4447 130TH AVE SE                                                 EYOTA             MN         55934                  6002            Various                                                                                             $8.99
HOSEA COTTON                      728 N DIVISION ST                                                 APPLETON          WI         54911                  6004            Various                                                                                             $3.00
HOSIE COTTON                      728 N DIVISION ST                                                 APPLETON          WI         54911                  6004            Various                                                                                             $3.00
HOSTESS BRANDS LLC                PO BOX 205103                                                     DALLAS            TX         75320-5103             5649            Various                                                                                       $134,197.65
HOT SPRINGS/ CITY OF              303 N RIVER                                                       HOT SPRINGS       SD         57747                  1393            Various                                                                                          $276.81
HOUA T XIONG                      935 S 14TH AVE                                                    WAUSAU            WI         54401                  6002            Various                                                                                             $8.22
HOUA YANG                         3335 WILSON AV APT # 11                                           PLOVER            WI         54467                  6004            Various                                                                                             $2.00
HOUM HANG                         813 FLAMBEAU STREET                                               MANITOWOC         WI         54220                  6004            Various                                                                                             $1.10
HOUSE OF WHEELS INCORPORATED      PO BOX 170600                                                     BOISE             ID         83717                  3652            Various                                                                                            $90.91
HOUSTON CLANTON                   807 KELLOGG AVE. APT. 2                                           JANESVILLE        WI         53546                  6004            Various                                                                                             $2.00
HOUSTON SCHIERNBECK               7479 CTY RD B                                                     SIREN             WI         54872                  6002            Various                                                                                             $1.81
HOWARD BAILEY                     1828 BRIDGEVIEW BLVD                                              TWIN FALLS        ID         83301                  6002            Various                                                                                             $9.38
HOWARD BLANCHARD                  510 GOODNOW AVE                                                   WISCONSIN RAPID   WI         54494                  6002            Various                                                                                             $7.32
HOWARD CLARK                      1705 25TH ST SW                                                   AUSTIN            MN         55912                  6002            Various                                                                                             $7.67
HOWARD COMPTON                    204 N 5TH STREET                                                  SELAH             WA         98942                  6004            Various                                                                                             $1.75
HOWARD CRAIG                      612 N EASTERN ST                                                  SANBORN           IA         51248                  6002            Various                                                                                             $6.52
HOWARD FARMER                     223 3RD AVE SW                                                    PIPESTONE         MN         56164                  6002            Various                                                                                             $0.88
HOWARD FOSTER                     1540 TORUN ROAD LOT 125                                           STEVENS POINT     WI         54481                  6004            Various                                                                                             $2.00
HOWARD GOERKS                     553 LEMON ST APT #1                                               HUDSON            WI         54016                  6004            Various                                                                                             $6.00
HOWARD HELMS                      104 W COLE                                                        MOUNT CARROLL     IL         61053                  6004            Various                                                                                            $11.20
HOWARD L DAHLKE                   5995 HIAWATHA DR                                                  WINNECONNE        WI         54986                  6002            Various                                                                                             $7.32
HOWARD L MAHLUM                   3501 STATE ROAD 35 TRLR 416                                       ONALASKA          WI         54650                  6002            Various                                                                                             $3.92
HOWARD M KELLER                   6417 BURLINGTON AVE                                               LINCOLN           NE         68507                  6002            Various                                                                                             $5.81
HOWARD MCFARLANE                  662 S 630TH E                                                     OREM              UT         84057                  6002            Various                                                                                             $0.55
HOWARD PAGE                       6015 E CUSTER LN                                                  SPOKANE           WA         99223                  6004            Various                                                                                             $2.00
HOWARD SMITH                      631 RILEY RD                                                      GLADWIN           MI         48624                  6002            Various                                                                                             $6.82
HOWARD SOLBERG                    516 FUHRMAN RD                                                    LARSLAN           MT         59244                  6002            Various                                                                                             $5.78
HOWARD SWANSON                    815 N PINE ST                                                     GRAND ISLAND      NE         68801                  6002            Various                                                                                             $2.90
HOWARD W OLSON                    2016 PROVIDENCE CT                                                EAU CLAIRE        WI         54703                  6002            Various                                                                                             $7.56
HOWARD WYNN                       PO BOX 1598                                                       OROFINO           ID         83544                  6002            Various                                                                                             $1.23

HOWARD/ AMY                       STORE 2-672                   SHOPKO EMPLOYEE 404 E HIGHWAY 20    O NEILL           NE         68763                  2285            Various                                                                                               $27.81
HOWIE KOEPP                       2352 BODEN ST                                                     MARQUETTE         MI         49855                  6002            Various                                                                                                $5.07
HOYT DONOVAN DZWONIARSKI          1926 S SUMMER PLACE CT                                            MERIDIAN          ID         83646                  6002            Various                                                                                                $6.25




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             Creditor Name              Address1              Address2              Address3             City           State           Zip   Country      Number                Claim                                                                             Total Claim
                                                          ONE H & R BLOCK
HRB DIGITAL LLC               H & R BLOCK TAX SERVICES    WAY                                     KANSAS CITY      MO           64105                   6362               Various                                                                                        $19,872.00
HRISTOPHER SHEDD              RR 2 BOX 4044                                                       DONIPHAN         MO           63935                   6002               Various                                                                                             $1.23
                                                          ACCT
HSBC BUSINESS SOLUTIONS       MENARDS                     6004300400008766 PO BOX 5219            CAROL STREAM     IL           60197-5219              9555               Various                                                                                            $68.03
HSIU-CHI ALBERQUE             7420 PINEBROOK ROAD                                                 PARK CITY        UT           84098                   6004               Various                                                                                             $8.00
HUA XIONG                     229 JACQUOTE ST                                                     HORTONVILLE      WI           54944                   6004               Various                                                                                            $31.60
HUB GROUP INCORPORATED        33773 TREASURY CENTER                                               CHICAGO          IL           60694-3700              0056               Various                                                                                         $7,714.07

HUBBORD/ TAYLOR               STORE 2-098                 SHOPKO EMPLOYEE                         GREEN BAY        WI           54307-9060              5871               Various                                                                                            $66.87
HUDSON ELECTRIC, INC.         14623 COUNTY HWY S                                                  CHIPPEWA FALLS   WI           54729                                      Various                                                                                         $1,522.38
HUDSON FAIRBANKS              37600 PARK TRL                                                      CENTER CITY      MN           55012                   6002               Various                                                                                             $3.64
HUE LOR                       305 WEST                                                            HOLMEN           WI           54636                   6004               Various                                                                                            $53.98
HUE THAO                      205 SOUTH BIRD STREET #7                                            SUN PRAIRIE      WI           53590                   6004               Various                                                                                             $2.00
HUGH HATCH                    345 W SIPHON RD                                                     POCATELLO        ID           83202                   6002               Various                                                                                             $9.23
HUGH KEOUGH                   PO BOX 421                                                          BAILEYS HARBOR   WI           54202                   6002               Various                                                                                             $9.07
HUGH MONTGOMERY               GEN DEL                                                             SIDNEY           MT           59270                   6002               Various                                                                                             $0.85
HUGHES AND SONS, INC          PO BOX 1530                                                         BEAVER           UT           84713                                      Various                                                                                          $574.64
HUGO C. PRETZEL               405 ATLANTIC DR NE                                                  POPLAR GROVE     IL           61065                   6002               Various                                                                                             $7.78
HUGO ESPINOZA                 2306 ALDER ST                                                       CALDWELL         ID           83605                   6004               Various                                                                                            $10.00
HUGO GARZA                    731 W COMMERCE ST APT 30                                            CAMBRIA          WI           53923                   6002               Various                                                                                             $9.18
HUI CHEN                      2222 VINE STREET #306                                               LINCOLN          NE           68503                   6004               Various                                                                                             $2.00

HULTIN/ SHARON                STORE 4-062                 SHOPKO EMPLOYEE                         GREEN BAY        WI           54307-9060              9593               Various                                                                                               $27.80

HUMANA PHARMACY SOLUTIONS     PHARMACY AUDIT              SUITE 700           515 W MARKET STREET LOUISVILLE       KY           40202                   6002               Various                                                                                           $279.40
HUMBERTO ABURTO               3746 W. SPRING VISTA DR                                             WEST VALLEY      UT           84120                   6004               Various                                                                                            $22.00
HUMBERTO ALVARADO             46169 117TH ST                                                      SISSETON         SD           57262                   6002               Various                                                                                             $8.33
HUMBERTO DURAN                925 1ST ST                                                          OGDEN            UT           84404                   6002               Various                                                                                             $0.49
HUMBERTO SANCHEZ GONZALEZ     1400 N BAIRD                APT 73                                  GREEN BAY        WI           54302                   6004               Various                                                                                            $37.00
                                                          10855 W DODGE RD
HUMBOLDT PLAZA ASSOCIATION    C/O THE LERNER COMPANY      SUITE 270                               OMAHA            NE           68154-2666              4690               Various                                                                                         $3,029.50
HUNG NGUYEN                   1917 VILLA AVE                                                      SIOUX CITY       IA           51103                   6004               Various                                                                                            $35.02
HUNTER (CANI PILLR            N143030 COUNTY ROAD D                                               OWEN             WI           54460                   6002               Various                                                                                             $5.26
HUNTER ANDERSEN               6801 S MOGEN AVENUE                                                 SIOUX FALLS      SD           57108                   6004               Various                                                                                            $18.90
HUNTER BOSSELMAN              11130 V ST                                                          OMAHA            NE           68137                   6004               Various                                                                                             $4.00
HUNTER BOYCE                  5209 SHORE ACRES RD.                                                MADISON          WI           53716                   6004               Various                                                                                             $5.00
HUNTER BUNDY                  402 W TELEGRAPH ST                                                  DOWAGIAC         MI           49047                   6002               Various                                                                                             $2.16
HUNTER BURTON                 11 S JACKSON ST                                                     ELKHORN          WI           53121                   6004               Various                                                                                             $2.00
HUNTER CAPEK                  E9692 990TH AVE                                                     COLFAX           WI           54730                   6004               Various                                                                                            $47.50
                              1011 NORTH WISCONSIN STREET 416 WEST 23RD
HUNTER EQUITIES 313 LLC       OWNER LLC                   STREET 1B                               NEW YORK         NY           10011                   2570               Various                                                                                         $5,846.52
HUNTER HALSEY                 55475 835TH RD                                                      NORFOLK          NE           68701                   6002               Various                                                                                             $0.60
HUNTER HANSON                 N1587 JULIUS DR                                                     GREENVILLE       WI           54942                   6004               Various                                                                                            $12.94
HUNTER IHDE                   6152 NW 4TH ST                                                      LINCOLN          NE           68521                   6004               Various                                                                                             $5.02
HUNTER JAMES ROTH             604 AYERS RD                                                        WHEATLAND        WY           82201                   6002               Various                                                                                             $7.95
HUNTER JOHNSON                917 ELM STREET                                                      SAINT PAUL       NE           68873                   6004               Various                                                                                            $20.03
HUNTER KULLAR                 3012 HALL AVE.                                                      MARINETTE        WI           54143                   6004               Various                                                                                             $4.00
HUNTER MANGOLD                524 W HENRY ST                                                      KAUKAUNA         WI           54130                   6002               Various                                                                                             $9.62
HUNTER MCCAMPBELL             807 S WILLOW ST                                                     GALLATIN         MO           64640                   6002               Various                                                                                             $0.38
HUNTER MCCUTCHEN              1304 E MAIN ST                                                      ARCADIA          WI           54612                   6002               Various                                                                                             $2.19
HUNTER PAXSON                 1015 NORTH 238TH                                                    EAGLE            NE           68347                   6004               Various                                                                                             $5.00
HUNTER RUSTAD                 ELDORADO BLVD               APT 214                                 EAU CLAIRE       WI           54701                   6004               Various                                                                                             $3.00
HUNTER SCHAD                  304 S 4TH AVE                                                       SAINT NAZIANZ    WI           54232                   6002               Various                                                                                             $7.95




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HUNTER SPANTON                     2137 S PINE ST                                                     JANESVILLE        WI           53546                  6004                Various                                                                                               $2.00
HUNTER TULGETSKE                                                                                                                                            4000                Various                                                                                               $8.15
HUNTER VANGILDER                   2517 24TH ST                                                       RICE LAKE         WI           54868                  6002                Various                                                                                               $8.60
HUNTER WILLIG                      143 MICK AND ERN DR                                                PRIEST RIVER      ID           83856                  6004                Various                                                                                               $5.01
HUNTER-JACK HASSKAMP               27856 CTY RD # 32                                                  AITKIN            MN           56431                  6002                Various                                                                                               $1.26
HURLEY FAMILY                      3329 N CASALOMA DR APT 27                                          APPLETON          WI           54913                  6002                Various                                                                                               $0.88
HUSEIN ABDI                        2021 17TH ST SE               65                                   ROCHESTER         MN           55904                  6004                Various                                                                                               $3.00
HUSHTOLA JONES                     2645 TROJAN DRIVE             APT 314                              GREEN BAY         WI           54304                  6004                Various                                                                                               $2.00
HUTCH SPANGELO                     1717 9TH AVE S APT 1                                               GREAT FALLS       MT           59405                  6002                Various                                                                                               $4.99
                                                                                                                                                                                12/2/2018 -
HUTCHINSON UTILITIES COMMISSION    225 MICHIGAN ST                                                    HUTCHINSON        MN           55350-1940              7                  1/1/2019                                                                                        $9,967.75
HUYEN NGUYEN                       951 W EMMA AVE APT 38                                              COEUR D ALENE     ID           83814                   6002               Various                                                                                             $2.14
HYBRID PROMOTIONS L L C            10711 WALKER STREET                                                CYPRESS           CA           90630                   3487               Various                                                                                       $237,613.97
HYDI FORTNER                       106-2ND PLACE                                                      RACINE            WI           53403                   6002               Various                                                                                             $3.51
HYDI N MOORE                       HC 1 BOX 303                                                       FAIRDEALING       MO           63939                   6002               Various                                                                                             $4.77
HYDRAULIC SOLUTIONS                4966 300TH STREET                                                  SHELDON           IA           51201                                      Various                                                                                          $221.49
HYGENIC CORPORATION PERFORMANC     29262 NETWORK PLACE                                                CHICAGO           IL           60673-1292              2745               Various                                                                                        $62,029.87
HYLAND LAYNE                       PO BOX 2026                                                        CUT BANK          MT           59427                   6004               Various                                                                                             $9.00
HYLANDS INCORPORATED               PO BOX 61067                                                       LOS ANGELES       CA           90061                   7149               Various                                                                                        $31,823.60
HYRUM HATCH                        2902 N 2400 W                                                      BENSON            UT           84335                   6004               Various                                                                                            $25.98
                                   1755 WITTINGTON PLACE, STE.
HYUNDAI AMERICA SHIPPING AGENCY    300                                                                FARMERS BRANCE    TX           75234                   4851               Various                                                                                        $33,278.82
HYUNDAI MERCHANT MARINE COMPAN     1755 WITTINGTON PLACE         STE. 300                             FARMERS BRANCE    TX           75234                   4851               Various                                                                                        $29,868.00
HY-VEE ACCOUNTS RECEIVABLE         5820 WESTOWN PARKWAY                                               WEST DES MOINES   IA           50266-8290              6373               Various                                                                                         $4,321.94
I DEAL OPTICS                      1290 MAPLELAWN DRIVE                                               TROY              MI           48084                   1935               Various                                                                                        $24,121.52
                                   3927 COLLECTIONS CENTER
I HEALTH                           DRIVE                                                              CHICAGO           IL           60693                   8321               Various                                                                                        $40,526.70
IA ALVANIZ                         677 CUMMINGS RD APT 5                                              WAUTOMA           WI           54982                   6002               Various                                                                                             $0.63
IA VANG                            921 VERBUNKER AVE                                                  PORT EDWARDS      WI           54469                   6002               Various                                                                                             $7.51
IAN ALCOTT                         721 GILMAN ST                                                      SHEFFIELD         IA           50475                   6004               Various                                                                                            $10.00
IAN ANDERSON                       579 W 2475TH N                                                     LAYTON            UT           84041                   6002               Various                                                                                             $5.01
IAN BEHLING                        505 INDAIN TR                                                      LAKE MILLS        WI           53551                   6004               Various                                                                                          $170.94
IAN BYRNES                         9770 FARNER RD                                                     NAMPA             ID           83686                   6004               Various                                                                                            $40.00
IAN CASSIDY                        738 VALLEY VIEW DR APT#4                                           COUNCIL BLUFFS    IA           51503                   6004               Various                                                                                             $5.00
IAN DOPICO-BRICKL                  510 MADISON ST                APT 104                              MARSHALL          WI           53559                   6004               Various                                                                                            $30.00
IAN GORMAN                         3376 STEIN BLVD                                                    EAU CLAIRE        WI           54701                   6002               Various                                                                                             $1.34
IAN KATAMAY                        322 E 3RD ST                                                       DIXON             IL           61021                   6002               Various                                                                                             $1.32
IAN KNOLL                          1401 5TH ST NORTH EAST                                             WASECA            MN           56093                   6004               Various                                                                                             $5.02
IAN KOCAR                          3834 CLIFFSIDE PL                                                  LA CROSSE         WI           54601                   6002               Various                                                                                             $1.32
IAN M JOHNSTON                     534 S BELL AVE                                                     LYONS             KS           67554                   6002               Various                                                                                             $0.99
IAN NDAMBUKI                       1922 NW KENNY DR                                                   PULLMAN           WA           99163                   6004               Various                                                                                            $25.00
IAN OCONNOR                        PO BOX 9                                                           SOUTH JUNCTION    MB                         CANADA    6002               Various                                                                                             $6.63
IAN RAPPOLT                        86622 517TH AVE                                                    ROYAL             NE           68773                   6002               Various                                                                                             $1.40
IAN RUTHVEN                        364 N TREMONT ST                                                   TREMONTON         UT           84337                   6002               Various                                                                                             $9.84
IAN SPENCER                        406 SOUTH WASHINGTON                                               WATERTOWN         WI           53094                   6004               Various                                                                                            $27.00
IAN STEWART                        512 8TH STREET SE                                                  MINNEAPOLIS       MN           55414                   6004               Various                                                                                            $20.00
IAN STILLABOWER                    1107 PINECREST ST                                                  RIVERTON          WY           82501                   6002               Various                                                                                             $1.01
IAN ULNESS                         1303 4TH ST SE                                                     ROCHESTER         MN           55904                   6002               Various                                                                                             $9.23
IAN WELLS                          463 ADAMS ST PO BOX # 1413                                         AFTON             WY           83110                   6002               Various                                                                                             $0.99
IBRAHIM KIDWAI                     1800 N JAY ST                                                      ABERDEEN          SD           57401                   6002               Various                                                                                             $6.96
ICA PROPERTIES INCORPORATED        700 N GRANT SUITE 600                                              ODESSA            TX           79760                   8905               Various                                                                                         $7,885.00
ICHAEL BLAKE                       805 112TH ST SE                                                    EVERETT           WA           98208                   6002               Various                                                                                             $8.36
ICHAEL PRIEBE                      145 3RD ST SE                                                      PLAINVIEW         MN           55964                   6002               Various                                                                                             $9.26




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ICON EYEWEAR                      5 EMPIRE BOULEVARD                                                SOUTH HACKENSACK   NJ           07606                   5956               Various                                                                                        $34,004.64
ICON FIT I ELEMENTS DIV OF ICO    PO BOX 99661                                                      CHICAGO            IL           60690-0000              1108               Various                                                                                        $45,266.82
ICTOR PALASIOS                    624 MILLBROOKE DR                                                 NEENAH             WI           54950                   6002               Various                                                                                             $1.51
ID FURST SHOP LLC                 100 CANYON CREEK                                                  IRVINE             CA           92603                   9446               Various                                                                                        $21,179.21
IDA BRUNNER                       749 W AVON STREET                                                 FREEPORT           IL           61032                   6002               Various                                                                                             $3.74
IDA COUNTY SANITATION             2078 HWY 59                                                       IDA GROVE          IA           51445                                      Various                                                                                          $719.36
IDA J. WILSON                     320 N 15TH ST                                                     COEUR D ALENE      ID           83814                   6002               Various                                                                                             $1.01
IDA K TILL                        2611 S BOULEVARD                                                  IDAHO FALLS        ID           83401                   6004               Various                                                                                            $74.00
IDA YODER                         117 W AUBERRY GRV                                                 JAMESPORT          MO           64648                   6002               Various                                                                                             $2.85
IDA YUTZY                         17607 212TH ST                                                    BLOOMFIELD         IA           52537                   6002               Various                                                                                             $2.16
IDA-ANN WRIGHT                    4613 W BROWN ST                                                   PASCO              WA           99301                   6004               Various                                                                                            $10.00
IDAHO BEVERAGES INCORPORATED      2108 1ST AVENUE N                                                 LEWISTON           ID           83501                   5090               Various                                                                                        $19,065.87
                                                                 1250 IRONWOOD
IDAHO DEPT OF HEALTH & WELFARE    SUITE 100                      DRIVE                              COUER D ALENE      ID           83814                   6666               Various                                                                                           $400.96
                                  PO BOX 34966 PROCESSING                                                                                                                      12/12/2018 -
IDAHO POWER                       CENTER                                                            SEATTLE            WA           98124-1966              9868               1/10/2019                                                                                       $4,700.98
IDEAL REFUSE & ROLL OFFS          1913 E. 7TH STREET                                                HAYS               KS           67601                                      Various                                                                                         $1,057.95
IDEAL SERVICES                    5113 PACIFIC HWY E. #13                                           FIFE               WA           98424                                      11/2/2018                                                                                       $3,873.53
IDEASTREAM CONSUMER PRODUCTS      812 HURON ROAD SUITE 390                                          CLEVELAND          OH           44115                   7117               Various                                                                                         $7,446.58
                                                                 155 ROUTE 46 WEST
IDEAVILLAGE COM                   WAYNE PLAZA II                 4TH FLOOR                          WAYNE              NJ           07470-0000              9650               Various                                                                                       $111,028.63
IDELLE LABS LTD                   PO BOX 849113                                                     DALLAS             TX           75284-9113              7107               Various                                                                                       $206,212.58
                                  2021 SUNNYDALE BLVD SUITE
IENJOY HOME (C-HUB)               130                                                               CLEARWATER         FL           33765                   2043               Various                                                                                        $14,280.83
IGLOO CORPORATION                 PO BOX 99912                                                      CHICAGO            IL           60696-9912              5305               Various                                                                                        $29,558.35
IGNACIO OROZCO                    1400 N BAIRD ST.               LOT 95                             GREEN BAY          WI           54302                   6004               Various                                                                                            $20.00

IGNITE BRANDS LLC                 16475 DALLAS PARKWAY STE 380                                      ADDISON            TX           75001                   3319               Various                                                                                         $2,393.09
IHS CHS FISCAL INTERMEDIARY       PO BOX 13509                                                      ALBUQUERQUE        NM           87192                   6004               Various                                                                                          $124.52
IHTZEL PEREZ                      111 DELTA DR.                                                     POPLAR GROVE       IL           61065                   6004               Various                                                                                             $3.90
IJADA KASMISKI                    405 WEST MAPLE AVE                                                BEAVER DAM         WI           53916                   6004               Various                                                                                             $1.00
IKA ROHDE                         PO BOX 503                                                        BELOIT             WI           53512                   6002               Various                                                                                             $0.74

ILAMAE JAMES                      700 W PHILIP REGENCY APT. 122                                     NORTH PLATTE       NE           69101                   6004               Various                                                                                               $10.78
ILASA MANU                        1121 N REDWOOD RD # 14                                            WEST VALLEY        UT           84128                   6002               Various                                                                                                $8.03
ILEANA ROJAS                      3209 LAFAYETTE AVE                                                OMAHA              NE           68131                   6004               Various                                                                                                $2.00
ILEEN WOOD                        3726 WAYSIDE RD                                                   GREENLEAF          WI           54126                   6004               Various                                                                                               $30.00
ILEIA WILLIAMS-ROSAS              29 WOODVALE CIR                                                   MADISON            WI           53716                   6004               Various                                                                                                $5.70
ILENA COBB                        5217 WRIGHT                                                       RACINE             WI           53406                   6004               Various                                                                                                $5.00
                                  6256 S GOLD MEADOW DR #
ILENE MARCHANT                    B207                                                              SALT LAKE CITY     UT           84129                   6002               Various                                                                                                $0.44
ILENE MESSENGER                   PO BOX 276                                                        PEMBINE            WI           54156                   6002               Various                                                                                                $0.58
ILENE STURDIVANT                  NURSING HOME                                                      WHEATLAND          WY           82201                   6002               Various                                                                                               $13.01
ILENE WHITE                       222 S 5TH ST APT 310                                              MARQUETTE          MI           49855                   6002               Various                                                                                                $4.41
ILIANA CALDERON OLIVERA           322 S MAIN ST #1                                                  MADISON            NE           68748                   6004               Various                                                                                                $2.00
ILINE FICKETT                     2021 S ALVERNO RD                                                 MANITOWOC          WI           54220                   6004               Various                                                                                               $49.97
ILL PURDY                         108 W CLARK ST                                                    ORIENT             IA           50858                   6002               Various                                                                                                $0.60
ILLA RUSSELL                      2641 118TH ST                                                     CHIPPEWA FALLS     WI           54729                   6002               Various                                                                                                $1.48
ILLIAM VANWINKLE                  594 E BERRIEN ST                                                  GALESBURG          IL           61401                   6002               Various                                                                                                $5.45
ILLIANA LITTLEGEORGE              6089 KENNEDY ST LOT 7                                             AUBURNDALE         WI           54412                   6004               Various                                                                                                $3.00
                                  BUREAU OF ENVIROMENTAL
ILLINOIS DEPARTMENT OF ARGICUL    PROGRAMS                      PO BOX 19281                        SPRINGFIELD        IL           62794-9281              1747               Various                                                                                           $650.00
ILONA BOBBITT                     528 POPLAR ST                                                     MOUNT CARMEL       IL           62863                   6002               Various                                                                                             $6.71




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             Creditor Name                   Address1                Address2             Address3          City            State         Zip    Country     Number              Claim                                                                             Total Claim
ILONA M ROOKER                    10803 STATE HIGHWAY 64                                             BLOOMER           WI           54724                6002              Various                                                                                             $7.51
ILOVETOCREATE                     DUNCAN ENTERPRISES             PO BOX 204147                       DALLAS            TX           75320-4147           6905              Various                                                                                         $3,879.98
ILSE FREGOSO                      990 WASHINGTON ST. S                                               TWIN FALLS        ID           83301                6004              Various                                                                                             $3.65
                                                                 6401 GROSS POINT
IMAGININGS THREE COMPANY          VICE PRESIDENT OF SALES        ROAD                                NILES             IL           60714                  4524            Various                                                                                         $7,135.20
IMANI RUSSEY                      534 KENWOOD                                                        BELOIT            WI           53511                  6004            Various                                                                                            $10.00
IMPACT INNOVATIONS INCORPORATE    PO BOX 426                                                         CLARA CITY        MN           56222                  1366            Various                                                                                     $1,321,917.28
IMPEX INCORPORATED (C-HUB)        2801 S TOWN AVENUE                                                 POMONA            CA           91766-0000             4711            Various                                                                                         $1,887.33
IMPLUS FOOT CARE L L C            PO BOX 679394                                                      DALLAS            TX           75267-9394             6340            Various                                                                                      $191,870.74
IMS TRADING CORPORATION           PO BOX 416148                                                      BOSTON            MA           02241-6148             5377            Various                                                                                        $50,133.46
                                  WELLS FARGO TRADE CAPITAL
IN MOCEAN GROUP                   SERVICES INC                   PO BOX 360286                       PITTSBURGH        PA           15250-6286             9816            Various                                                                                         $7,520.89

IN THE ESTATE OF ANDREA JAKUSZ    C/O SUSAN KOHNEN               5525 JORDAN ROAD                    STEVENS POINT     WI           54482                  6002            Various                                                                                               $1.40
INA METTY                         1045 CONRAD DR SPC 46                                              KALISPELL         MT           59901                  6002            Various                                                                                               $0.77

INDECOR LLC                       34 WEST 33RD STREET ROOM 200                                       NEW YORK          NY           10001-0000             7523            Various                                                                                        $39,054.84
INDEPENDENT SANITATION            2521 21ST STREET                                                   RICE LAKE         WI           54868                                  Various                                                                                         $1,699.40
INDIA GRAY                        219 DEER VALLEY RD.          APT 5                                 MADISON           WI           53713                  6004            Various                                                                                            $21.00
INDIA MARET                       2700 LAKEVIEW DR LOT W                                             GOTHENBURG        NE           69138                  6002            Various                                                                                             $4.60
INFINITY COMPOUNDING SOLUTIONS    PO BOX 699                                                         BENTONVILLE       AR           72712                  5458            Various                                                                                        $15,578.00
INFINITY RETAIL SERVICES          585 WESTERN BLVD                                                   TURTLE LAKE       WI           54889                  5561            Various                                                                                       $100,176.79
INFIRST HEALTHCARE INC            PO BOX 536562                                                      PITTSBURGH        PA           15253                  2022            Various                                                                                         $5,449.79
INFO HOLD INCORPORATED            4120 AIRPORT ROAD                                                  CINCINNATI        OH           45226                  8337            Various                                                                                        $10,587.48
INFOMERCIALS INC                  2115 WEST 1150 NORTH                                               SPRINGVILLE       UT           84663                  6118            Various                                                                                        $24,903.68
INGALLS FAMILY                    E7038 DENNISON RD                                                  CLINTONVILLE      WI           54929                  6002            Various                                                                                             $4.63
INGENIUM TRAVEL LLC               FCFS 2 INC                   PO BOX 1220                           HIGHLAND PARK     IL           60035                  5990            Various                                                                                       $145,465.93
INGER MILES                       958 W. CHARLES STREET                                              WHITEWATER        WI           53190                  6004            Various                                                                                            $10.00
INGLET FAMILY                     NEZPERCE                                                           NEZPERCE          ID           83543                  6002            Various                                                                                            $10.00
INGRAM MICRO                      PO BOX 90352                                                       CHICAGO           IL           60696-0352             4009            Various                                                                                       $246,587.73
INGRID SOLBERG                    350 WEST OVERLAND                                                  BOISE             ID           83705                  6004            Various                                                                                            $15.00
INKOLOGY LLC                      PO BOX 3883                                                        CAROL STREAM      IL           60132-3883             7430            Various                                                                                          $296.00

INNOCOR INC                       75 REMITTANCE DRIVE STE 3034                                       CHICAGO           IL           60675-3034             8197            Various                                                                                        $28,201.16
INNOMARK COMMUNICATIONS LLC       ATTN ACCOUNTS RECEIVABLE     PO BOX 933145                         CLEVELAND         OH           44193                  6173            Various                                                                                        $70,714.96

INNOVATIVE TECHNOLOGY ELECTRON    1 CHANNEL DR                                                       PORT WASHINGTON   NY           11050                  5386            Various                                                                                        $77,868.73
INNOVENTIONS INCORPORATED         10425 BISSONNET STREET                                             HOUSTON           TX           77099                  1632            Various                                                                                         $1,622.80
INOCENCIO ANTONIO                 1585 CHARLES ST                                                    GREEN BAY         WI           54302                  6002            Various                                                                                             $2.71
INOVATEX LLC                      577 AIRPORT BLVD STE 200                                           BURLINGAME        CA           94010                  3459            Various                                                                                        $34,197.19
                                                                 330 SEVENTH AVE
INSPIRED BEAUTY BRANDS INC        ATTN ACCTS RECEIVABLE DEPT     16TH FLOOR                          NEW YORK          NY           10001-0000             5162            Various                                                                                        $12,990.65
INSTA STOR INCORPORATED           1516 W MARINA DRIVE                                                MOSES LAKE        WA           98837                  4150            Various                                                                                          $132.50
INTEGRAL RX                       DIV OF JM SMITH CORP           PO BOX 890940                       CHARLOTTE         NC           28289-0940             5935            Various                                                                                         $9,509.82

INTELEX USA LLC                   105 PRAIRIE LAKE ROAD UNIT D                                       EAST DUNDEE       IL           60118                  5258            Various                                                                                        $24,344.16
INTERDESIGN INCORPORATED          29424 NETWORK PLACE                                                CHICAGO           IL           60673-1294             1301            Various                                                                                       $157,766.57
INTERMOUNTAIN DISTRIBUTING CO     1010 INTERMOUNTAIN STREET                                          BILLINGS          MT           59103                  8916            Various                                                                                         $4,165.64
INTERNATIONAL BULLION & METAL     14051 NW 14TH STREET STE 3                                         SUNRISE           FL           33323                  5191            Various                                                                                        $88,842.00
                                                                 FINANCING
INTERNATIONAL BUSINESS            MACHINES CORPORATION           INVOICES           PO BOX 645670    PITTSBURGH        PA           15264-5254             4220            Various                                                                                       $539,049.45
INTERNATIONAL MOULDING MN         1722 GERVAIS AVENUE                                                MAPLEWOOD         MN           55109-0000             2802            Various                                                                                          $109.80
INTERNATIONAL PAPER               DEE BUTLER                     1111 FORT ST                        OMAHA             NE           68110                  6004            Various                                                                                            $19.00




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                                                                                                                                                                                                   Contingent


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                                                                                                                                                             Account         Incurred, Basis for
            Creditor Name                     Address1               Address2         Address3               City        State           Zip    Country      Number                Claim                                                                             Total Claim
                                  DBA CORDOVA SAFETY
INTERNATIONAL SOURCING CO INC     PRODUCTS                       PO BOX 409019                     ATLANTA          GA           30384-9019               4284               Various                                                                                         $3,819.45
INTERPRECORPS                     PO BOX 1820                                                      SIOUX FALLS      SD           57101-1820               0122               Various                                                                                          $142.71
                                  9/F., EVERBRIGHT CENTRE, 108                                                                                 HONG
INTEX                             GLOUCESTER ROAD,                                                 WANCHAI                                     KONG       9710               Various                                                                                       $101,348.28
INVERNESS MEDICAL INCORPORATED    PO BOX 846047                                                    BOSTON           MA           02284-6047               5112               Various                                                                                        $20,409.50
INVUE SECURITY PRODUCTS INCORP    9201 BAYBROOK LANE                                               CHARLOTTE        NC           28277-0000               5867               Various                                                                                            $26.77
IONE CRAFT                        210 7TH AVENUE N                                                 GREYBULL         WY           82426                    6002               Various                                                                                             $2.08
                                                                 2115 NE 58TH
IOWA BEVERAGE SYSTEMS             VICE PRESIDENT OF SALES        AVENUE                            DES MOINES       IA           50313                    4961               Various                                                                                           $538.55
IOWA BOARD OF PHARMACY EXAMINE    400 SW 8TH STREET SUITE E                                        DES MOINES       IA           50309-4688               6463               Various                                                                                           $135.00
IQRA SUFI                         4633 15TH AVE NW                                                 ROCHESTER        MN           55901                    6004               Various                                                                                             $3.00
IRA BAYLESS                       2299 ELK RD                                                      STURGIS          SD           57785                    6002               Various                                                                                             $0.36
IRA HENDERSON                     3036 9TH AVE S                                                   GREAT FALLS      MT           59405                    6002               Various                                                                                            $10.00
IRA HENKE                         6480 ISLAND LK RD                                                KALKASKA         MI           49646                    6002               Various                                                                                             $2.90
IRENA SAUVE                       N3249 BAYDENOC DR.                                               MENOMINEE        MI           49858                    6004               Various                                                                                            $35.00
IRENE A. SMAZAL                   411 E CLARK ST                                                   UNITY            WI           54488                    6002               Various                                                                                             $9.84
IRENE AGUILAR                     606 13TH ST NE                 APT 1                             AUSTIN           MN           55912                    6004               Various                                                                                             $3.00
IRENE BARBOZA                     7934 W, MARWARY                                                  MAGNA            UT           84044                    6004               Various                                                                                            $12.00

IRENE BERENBERG                   545 N GARDEN PLAZA CT APT 27                                     POST FALLS       ID           83854                    6002               Various                                                                                             $6.36
IRENE BRIDWELL                    33695 MOUNT TOM DRIVE                                            HARRISBURG       OR           97446                    6004               Various                                                                                           $120.00
IRENE CANO                        514 ROOSEVELT AVE                                                BELOIT           WI           53511                    6002               Various                                                                                             $3.53

IRENE CHANDONAIS                  850 MORNING GLORY LN APT 134                                     DE PERE          WI           54115                    6002               Various                                                                                               $7.01
                                                                 7208 VAN DORN,
IRENE ESSINK                      WINDCREST ASSISTED LIVING      APT # 222                         LINCOLN          NE           68506                    6004               Various                                                                                             $9.70
IRENE GERMAN                      2676 QUINN CT                                                    MISSOULA         MT           59804                    6002               Various                                                                                             $6.25
IRENE GONZALEZ                    6709 73RD CIRCLE               APT 7                             OMAHA            NE           68127                    6004               Various                                                                                             $4.00
IRENE HINKLE                      RR 8 BOX 2418                                                    DONIPHAN         MO           63935                    6002               Various                                                                                             $1.21
IRENE HORSTMAN                    3803 WOODLAND DR                                                 MANITOWOC        WI           54220                    6002               Various                                                                                             $3.81
IRENE HYLAND                      28689 HIGHWAY 218                                                AUSTIN           MN           55912                    6002               Various                                                                                             $1.51
IRENE KEEPER                      411 2ND ST SW                                                    MASON CITY       IA           50401                    6002               Various                                                                                             $3.04
IRENE LOHRER                      PO BOX 853                                                       DOUGLAS          WY           82633                    6002               Various                                                                                             $8.88
IRENE MAES                        102 N 400TH W                                                    CLEARFIELD       UT           84015                    6002               Various                                                                                             $6.55
IRENE MORALES                     518 S BAIRD ST                                                   GREEN BAY        WI           54302                    6004               Various                                                                                            $19.98
IRENE PETERSON                    113 NORTH 7TH STREET                                             SENECA           KS           66835                    6002               Various                                                                                            $12.59
IRENE ROBBINS                     900 SLEEPING DEER RD                                             CHALLIS          ID           83226                    6002               Various                                                                                             $9.84
IRENE RUTH REED                   7876 W HOLT CT                                                   BOISE            ID           83704                    6002               Various                                                                                             $2.11
IRENE RYLL                        NORTH 15518 CLARK AVE                                            WITHEE           WI           54498                    6004               Various                                                                                            $25.00
IRENE S BURGHARDT                 HC 4 BOX 420                                                     DONIPHAN         MO           63935                    6002               Various                                                                                             $5.07
IRENE SCHLICHTING                 N937 CTY BB                                                      MARINETTE        WI           54143                    6002               Various                                                                                             $2.14
IRENE SULLIVAN                    326 W PINE ST APT 104                                            LAKE MILLS       WI           53551                    6002               Various                                                                                             $1.01
IRENE WERNER                      43115 ROAD 721                                                   EDISON           NE           68936                    6002               Various                                                                                            $10.00
IRINA CHEREMNOV                   5967 MT ANGEL HWY                                                MT ANGLE         OR           97381                    6004               Various                                                                                          $122.99
IRINA LOBAUGH                     9322 GOLDEN HUE BLVD                                             VERONA           WI           53593                    6002               Various                                                                                             $6.79
IRIS JOHNSON                      525 CHERRY STREET                                                JANESVILLE       WI           53548                    6004               Various                                                                                             $4.00
IRIS LOPEZ                        2264 LONI LANE                                                   RACINE           WI           53406                    6004               Various                                                                                             $3.00
IRIS PATRICI MARTINEZ             PO BOX 313                                                       FOLEY            MN           56329                    6002               Various                                                                                             $6.99
IRIS STEVENSON                    E6513 DACH RD                                                    VIROQUA          WI           54665                    6004               Various                                                                                             $2.00
IRIS USA INCORPORATED             BOX 681111                                                       CHICAGO          IL           60695-2111               7969               Various                                                                                        $52,546.49
IRMA BUESNBARK                    5614 WEST 4350 SO                                                SALT LAKE CITY   UT           84128                    6004               Various                                                                                             $1.00
IRMA HERNANDEZ CONTRERAS          1151 SOUTH 30TH STREET                                           OMAHA            NE           68107                    6004               Various                                                                                             $4.00
IRMA JUSTMANN                     1376 CHURCH ST                                                   LOMIRA           WI           53048                    6002               Various                                                                                             $4.85




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                                                                                                                                                   Account         Incurred, Basis for
             Creditor Name               Address1            Address2         Address3             City          State           Zip   Country     Number                Claim                                                                             Total Claim
IRMA MEZA CORTES              106 BAYVIEW                                                  MADISON            WI         53715                 6004                Various                                                                                               $20.00
IRMA ROSAS                    647 S CENTER ST                                              BEAVER DAM         WI         53916                 6004                Various                                                                                                $3.00
IRMA SANTIAGO SANCHEZ         1453 1ST AVE                                                 COLOMA             WI         54930                 6002                Various                                                                                                $9.45
IRMA SEGARRA                  5611 DORIA ST                                                OMAHA              NE         68107                 6004                Various                                                                                                $2.00
IRMA SOLIS MELENDEZ           1537 CLARY ST APT 19                                         WORTHINGTON        MN         56187                 6004                Various                                                                                                $3.00
IRMA WONG                     6731 S COURTLAND AVE                                         SALT LAKE CITY     UT         84121                 6002                Various                                                                                                $7.92
                                                        2100 N MAYFAIR RD
IRON WORKERS LOCAL 8          ATTN OVERPAYMENT RECOVERY SUITE 100                          MILWAUKEE          WI         53226                  6004               Various                                                                                          $575.96
IRV J. BARTELS                W8681 LEWIS RD                                               MONROE             WI         53566                  6002               Various                                                                                             $2.27
IRVIN REYES                   3703 S 74TH STREET        106                                OMAHA              NE         68114                  6004               Various                                                                                            $52.00
IRVIN VAN SICKLE III          452 WISCONSIN AVE.                                           BELOIT             WI         53511                  6004               Various                                                                                             $2.00
IRVING CARLSON                12736 N SHORELAND PKWY                                       MEQUON             WI         53097                  6004               Various                                                                                            $10.00
IRVING CARSEN                 809 CLEARVIEW DR                                             WEST BEND          WI         53095                  6002               Various                                                                                             $4.08
IRVING OSUNA                  4721 ARMISTICE LANE                                          MADISON            WI         53704                  6004               Various                                                                                             $2.00
IRWIN NATURALS                5310 BEETHOVEN ST                                            LOS ANGELES        CA         90066-7015             7305               Various                                                                                        $14,392.60
ISAAC C CURLER                W7815 LANGDELL RD                                            EAU CLAIRE         WI         54701                  6002               Various                                                                                             $1.94
ISAAC DIAZ                    306 S ASH ST #22                                             CADOTT             WI         54727                  6004               Various                                                                                             $1.00
ISAAC JENKINS                 2244 S 100TH W                                               CLEARFIELD         UT         84015                  6002               Various                                                                                             $9.21
ISAAC JOHN WOOD               9108 24TH AVE S                                              EAU CLAIRE         WI         54703                  6002               Various                                                                                             $7.07
ISAAC LARUE                   2316 MANDAN TR                                               BARNUNN            WY         82601                  6002               Various                                                                                             $1.21
ISAAC MOFFATT                 2350 S 23RD ST LOT 1070                                      MANITOWOC          WI         54220                  6004               Various                                                                                             $1.00
ISAAC MOUA                    2911 VANG RD                                                 MAZOMANIE          WI         53560                  6004               Various                                                                                            $25.00
ISAAC PERALTA                 610 MAPLE ST                                                 WAKEFIELD          NE         68784                  6002               Various                                                                                             $6.19
ISAAC PETERSON                6902 BREHM ST                                                SCHOFIELD          WI         54476                  6002               Various                                                                                             $3.92
ISAAC TAYLOR                  1717 TOWNLINE RD # 16                                        PINCONNING         MI         48650                  6002               Various                                                                                             $7.18
ISAAC WEIGAND                 W7755 HIGHWAY 106                                            FORT ATKINSON      WI         53538                  6002               Various                                                                                             $2.93
ISAACS SANI SERV INC          PO BOX 385                                                   CIRCLE             MT         59215                  1100               Various                                                                                         $1,187.00
ISABEL BANDA                  P.O.BOX 232                                                  ALMOND             WI         54909                  6004               Various                                                                                             $2.00
ISABEL MARES                  620 MONROE ST W           W                                  KIMBERLY           ID         83341                  6004               Various                                                                                             $3.65
ISABEL NIEVES                 1148 1ST ST                                                  KIEL               WI         53042                  6004               Various                                                                                             $1.00
ISABEL SEGURA                 791 N. SKYLINE DR.                                           IDAHO FALLS        ID         83402                  6004               Various                                                                                             $4.14
ISABEL VELASQUEZ              512 14TH ST SE APT 4                                         ROCHESTER          MN         55904                  6002               Various                                                                                             $4.88
ISABEL VENTURA MCGINNESS      5040 MAPLE STREET                                            OMAHA              NE         68104                  6004               Various                                                                                            $49.99
ISABELLA AHLQUIST             38556 OAKVIEW CIR                                            NORTH BRANCH       MN         55056                  6002               Various                                                                                             $3.95
ISABELLA BLAND                2917 HILLSBORO AVE N                                         NEW HOPE           MN         55427                  6002               Various                                                                                             $7.59
ISABELLA BLAYLOCK             124 CHERRY CT                                                APPLETON           WI         54915                  6004               Various                                                                                            $35.00
ISABELLA GILLILAND            519 CARROLL AVE                                              LARNED             KS         67550                  6002               Various                                                                                             $2.19
ISABELLA L KIEPERT            406 N WARREN ST                                              WATERTOWN          WI         53098                  6002               Various                                                                                             $3.53
ISABELLA LEDBURY              5166 PRESERVATION PLACE                                      SUN PRAIRIE        WI         53590                  6004               Various                                                                                            $21.00
ISABELLA RADEMAKER            3117 N FRENCH RD                                             APPLETON           WI         54911                  6002               Various                                                                                             $2.52
ISABELLA SOLIS                5994 SCHROEDER RD APT A                                      MADISON            WI         53711                  6004               Various                                                                                             $2.00

ISABELLE BROCKMAN             5850 DAVID DR                                                WISCONSIN RAPIDS   WI         54494                  6004               Various                                                                                               $10.00
ISABELLE CHARLIER             1368 ST CLAIR ST                                             GREEN BAY          WI         54301                  6002               Various                                                                                                $1.26
ISABELLE ECKHART              1095 W BECKERT RD APT 100B                                   NEW LONDON         WI         54961                  6002               Various                                                                                                $7.59
ISABELLE GUNDERSON            701 MILE ST.                                                 CHIPPEWA FALLS     WI         54729                  6004               Various                                                                                               $20.00
ISABELLE JOL PECHACEK         N5713 800TH ST                                               ELLSWORTH          WI         54011                  6002               Various                                                                                                $1.40
ISABELLE MORROW               1616 NORTH CLARK STREET                                      APPLETON           WI         54911                  6004               Various                                                                                               $25.00
ISABELLE PAIK                 545 AVE A                                                    PLATTSMOUTH        NE         68048                  6004               Various                                                                                               $20.94
ISABELLE PEREZ                408 W, PINE ST. NO.70                                        YAKIMA             WA         98903                  6004               Various                                                                                                $4.00
ISABELLE PMR BRENNER          610 N 3RD ST APT 3                                           ABBOTSFORD         WI         54405                  6002               Various                                                                                                $4.27
ISABL SCHWARTZMILLER          126 N REYNOLDS ST                                            BOYD               WI         54726                  6004               Various                                                                                               $30.00
ISAI MARTINEZ                 1110 WILSON AVE                                              SHEBOYGAN          WI         53081                  6004               Various                                                                                                $1.00
ISAIAH ABEL                   1975 SOUTH PROTEST ROAD #1                                   BOISE              ID         83706                  6004               Various                                                                                                $3.65




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                                                                                                                                                                                         Contingent


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                                                                                                                                                Last 4 Digits of     Date Debt was
                                                                                                                                                   Account         Incurred, Basis for
               Creditor Name                Address1            Address2        Address3             City        State           Zip   Country     Number                Claim                                                                             Total Claim
ISAIAH ANDERSON                 11195 16TH AVE                                               CHIPPEWA FALLS   WI         54729                 6002                Various                                                                                                $5.67
ISAIAH ASIATA                   1701 DRAGAN FLY LN                                           SPANISH FORK     UT         84660                 6004                Various                                                                                                $2.00
ISAIAH CLEMETS                  1251 E EARL WAY                                              SANDY            UT         84094                 6002                Various                                                                                                $5.78
ISAIAH DE JESUS                 518 E ATLANTIC ST                                            APPLETON         WI         54911                 6004                Various                                                                                                $2.00
ISAIAH KEILER                   2099 GARDEN GROVE                                            GREEN BAY        WI         54301                 6004                Various                                                                                               $12.00
ISAIAH KNOTT                    1114 1/2 S DEWEY ST                                          EAU CLAIRE       WI         54703                 6004                Various                                                                                               $23.00
ISAIAH LAWREY                   72 ARBUTUS DRIVE                                             DULUTH           MN         55810                 6004                Various                                                                                               $23.00
ISAIAH LOTHES                   W1039 GOLDEN GLOW RD                                         GENOA CITY       WI         53128                 6004                Various                                                                                                $1.00
ISAIAH NATHA THURSTON           604 14TH AVE S                                               BANGOR           WI         54614                 6002                Various                                                                                                $1.64
ISAIAH PHILLIPS                 2344 OAKWOOD AVE                                             GREEN BAY        WI         54301                 6004                Various                                                                                                $3.00
ISAIAS TRUJILLO                 700 TARRENCE HTS                                             WINONA           MN         55987                 6002                Various                                                                                                $1.59
ISAURA CASTRO                   518 PARK AVE                                                 BELVIDERE        IL         61008                 6004                Various                                                                                                $3.90
ISAURA VEGA                     501 CULBERTSON AVE                                           WORLAND          WY         82401                 6002                Various                                                                                                $4.19
ISHMAEL BELL                    6201 HAMMERSLEY RD                                           MADISON          WI         53711                 6004                Various                                                                                                $3.00
ISHMAEL TEPOLE TEPOLE           347 195TH AVE SE                                             SAINT CHARLES    MN         55972                 6002                Various                                                                                                $7.59
ISIAH BAUMGART                  586 EMMA ST.                                                 FOND DU LAC      WI         54935                 6004                Various                                                                                                $1.00
ISIAH L RHODEN                  205 E INDIANA AVE APT 1                                      COEUR D ALENE    ID         83814                 6002                Various                                                                                                $3.32
ISIAH STRALEY                   364 8TH STREET                                               FOND DU LAC      WI         54935                 6004                Various                                                                                                $3.00
ISIDRA BARAJAS                  1752 CONGRESS AVE                                            BELOIT           WI         53511                 6004                Various                                                                                               $25.58
ISIDRO SALAS                    3946 S 2200TH W                                              WVC              UT         84119                 6002                Various                                                                                                $8.52
ISLAM AGANBEGOVIC               941 15TH AVE NE                                              ROCHESTER        MN         55906                 6004                Various                                                                                                $6.00
ISMAEL GARCIA                   351 NORTH BURTON AVE                                         BURLEY           ID         83318                 6004                Various                                                                                                $6.00
ISMAEL MARTINEZ                 916 N 1ST AVE                                                PASCO            WA         99301                 6004                Various                                                                                                $7.99
ISMAEL MORENO                   6726 SOUTH 33RD ST                                           OMAHA            NE         68107                 6004                Various                                                                                                $8.00
ISMAEL YBARRA                   N2898 ST. RD. 22                                             MONTELLO         WI         53949                 6004                Various                                                                                                $3.00
ISMENIA GONZALEZ                2340 COMPTON STREET                                          EUGENE           OR         97404                 6004                Various                                                                                               $40.00
ISRAEL CHOUINARD                717 W HILL ST                                                WAUPACA          WI         54981                 6002                Various                                                                                                $2.71
ISRAEL LEVY                     5007 WESTON AVENUE                                           CALDWELL         ID         83607                 6004                Various                                                                                               $10.00
ISRAEL MILTON                   325 MAX ST                                                   SISSETON         SD         57262                 6002                Various                                                                                                $2.52
ISRAEL RODRIGUEZ                17748 MONARCH WAY                                            NAMPA            ID         83687                 6004                Various                                                                                               $19.75
ISRAEL WILSON                   1676 COUNTY ROAD 5                                           YUTAN            NE         68073                 6004                Various                                                                                               $24.75
ISSAC DERRICKSON                2224 4TH AVE. W.                                             MONROE           WI         53566                 6004                Various                                                                                               $10.00
ISSAC SINNER                    817 N LOCUST ST                                              GRAND ISLAND     NE         68801                 6004                Various                                                                                                $4.00
ISSAIAH EBERHARDT               PO BOX 288                                                   SLINGER          WI         53086                 6004                Various                                                                                                $3.00
IVA ATKINSON                    ST ANDREWS APT 314                                           KIRKSVILLE       MO         63501                 6002                Various                                                                                                $0.82
IVAN (IKE) SPANGENBERG          2915 N MORRISON ST                                           APPLETON         WI         54911                 6002                Various                                                                                                $5.95
IVAN ACOSTA                     2020 COTTAGE AVE                                             BELOIT           WI         53511                 6004                Various                                                                                                $4.00
IVAN CALDWELL                   413 E INDIANA AVE                                            COEUR D ALENE    ID         83814                 6002                Various                                                                                                $2.93
IVAN CAPILLA                    932 FRANKLIN GROVE ROAD                                      DIXON            IL         61021                 6004                Various                                                                                               $25.00
IVAN G GONZALEZ PEREZ           10556 448TH AVE                                              VEBLEN           SD         57270                 6002                Various                                                                                                $9.64
IVAN GROSSMAN                   540 W AMERICAN                                               FREEPORT         IL         61032                 6004                Various                                                                                               $35.00
IVAN HAMMERBERG                 N17354 CO RD 400                                             POWERS           MI         49874                 6002                Various                                                                                                $1.94
IVAN MCGHEE                     104 SUNSET AVE                                               LODI             WI         53555                 6004                Various                                                                                                $1.00
                                14255 S COTTONWOOD CANYON
IVAN NICKERSON                  R                                                            MAXWELL          NE         69151                  6002               Various                                                                                                $1.42
IVAN OROPEZA MORALES            N5092 STATE ROAD 73                                          WAUTOMA          WI         54982                  6002               Various                                                                                                $7.53
IVAN PEREZ GOMEZ                3294 SO 4800 W                                               SALT LAKE CITY   UT         84120                  6004               Various                                                                                               $53.00
IVAN RAMIREZ LOPEZ              1410 EAST AVE                                                WORTHINGTON      MN         56187                  6004               Various                                                                                               $23.00
IVAN ROBERTS                    717 7TH ST                                                   GOTHENBURG       NE         69138                  6002               Various                                                                                                $6.77
IVAN SALINAS                    611 BAKER ST                                                 BELVIDERE        IL         61008                  6004               Various                                                                                                $3.90
IVAN TREVINO                    106 S 500TH W                                                BRIGHAM CITY     UT         84302                  6002               Various                                                                                                $2.88
IVANETTE HUEBNER                2630 EMERSON ST                                              WAUSAU           WI         54403                  6002               Various                                                                                                $0.41

IVERSON/ PENNY                  STORE 4-080                 SHOPKO EMPLOYEE                  GREEN BAY        WI         54307-9060             0566               Various                                                                                               $84.38




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                                                                                                                                                                                                                Unliquidated
                                                                                                                                                                                                   Contingent


                                                                                                                                                                                                                               Disputed
                                                                                                                                                          Last 4 Digits of     Date Debt was
                                                                                                                                                             Account         Incurred, Basis for
              Creditor Name                   Address1                Address2           Address3             City          State         Zip    Country     Number                Claim                                                                             Total Claim
IVEY STEINER                      6639 380TH CT                                                       NORTH BRANCH       MN         55056                6002                Various                                                                                             $7.12
IVIL LODGE                        1713 CHARLENE DR.                                                   CLARKSTON          WA         99403                6004                Various                                                                                             $1.14
IVONNE AGUILAR                    517 STARR ST                                                        BELVIDERE          IL         61008                6004                Various                                                                                             $3.90
IVORY HALE                        1121 N 28TH ST                                                      LINCOLN            NE         68503                6002                Various                                                                                             $3.95
IVORY LATHAM                      1835 SO # 25TH                                                      LINCOLN            NE         68502                6002                Various                                                                                             $9.10
IVY DELIVER EGGE                  205 4TH AVE S                                                       PRINCETON          MN         55371                6002                Various                                                                                             $9.42
IVY RECTOR                        2149 S DIVISION AVE                                                 BOISE              ID         83706                6002                Various                                                                                             $0.77
IVY SIMPSON                       101668 HIGHWAY 89                                                   THAYNE             WY         83127                6002                Various                                                                                             $3.84
IYE HECKER                        2330 BARBARA AVE                                                    APPLETON           WI         54915                6002                Various                                                                                             $4.19
IZABELLA CERECERES                N2734 COUNTY ROAD T                                                 WAUTOMA            WI         54982                6004                Various                                                                                             $1.00
IZABELLA JUAREZ                   W13279 COUNTRY RD C.                                                HANCOCK            WI         54943                6004                Various                                                                                            $15.00
IZABELLA LUND                     311 MAPLE STREET                                                    FORT ATKINSON      WI         53538                6004                Various                                                                                             $2.00
IZABELLA SAUCEDO                  627 GARDEN DR                   APT 77                              BELVIDERE          IL         61008                6004                Various                                                                                            $23.00
IZABELLA VOLK                     135 KENNEDY HTS                                                     MADISON            WI         53704                6004                Various                                                                                             $1.00
IZSABELLA STUTSON                 100 WEST ALPINE CIRCLE                                              BRANDON            SD         57005                6004                Various                                                                                            $16.00
IZZABELLA BREWER                  821 JEFFERSON AVE                                                   CHIPPEWA FALLS     WI         54729                6004                Various                                                                                            $29.98
IZZABELLA ISELY                   2501 14TH AVE.                                                      MONROE             WI         53566                6004                Various                                                                                            $14.40
J & C LAWN SERVICE                PO BOX 833                                                          ALLIANCE           NE         69301                0626                Various                                                                                            $50.00
J & J PROPERTY MAINTENANCE        JOSEPH M GARDYSZEWSKI           1288 W M61                          GLADWIN            MI         48624                5544                Various                                                                                          $443.00
J & M DISTRIBUTING INC            PO BOX 753                                                          WOLF POINT         MT         59201                0827                Various                                                                                          $888.70
J A KING & COMPANY LLC            PO BOX 160                                                          WHITSETT           NC         27377                6164                Various                                                                                          $285.00
J CAT BEAUTY                      9890 PIONEER BLVD                                                   SANTA FE SPRINGS   CA         90670                4812                Various                                                                                       $117,864.30
J JOHN MORRIS                     410 BENNETT ST                                                      RAWLINS            WY         82301                6002                Various                                                                                             $6.96
J M SMUCKER COMPANY               39198 TREASURY CENTER                                               CHICAGO            IL         60694-9100           7716                Various                                                                                       $105,952.17
J MELLINGER-BRADLEY               16305 N 100TH E                                                     SUMMITVILLE        IN         46070                6002                Various                                                                                             $2.52
J W FLOORING INCORPORATED         2289 MAIN STREET                                                    GREEN BAY          WI         54311                6094                Various                                                                                          $250.00
J&J SANITATION                    DISTRICT 3051                   PO BOX 660177                       DALLAS             TX         75266-0177                               Various                                                                                         $5,220.36

J. F. AHERN CO.                   855 MORRIS STREET PO BOX 1316                                       FOND DU LAC        WI         54935                                    Various                                                                                        $20,364.73
                                                                  330 W IRVING PARK
JA RU INCORPORATED                VICE PRESIDENT OF SALES         ROAD                                WOOD DALE          IL         60191                 3012               Various                                                                                        $77,378.67
JACALYN HAMMOND                   1658 W BAYEUX DR                                                    MERIDIAN           ID         83642                 6004               Various                                                                                            $11.01
JACE ALLEN                        1405 DAVIS ST                                                       WATERTOWN          WI         53098                 6004               Various                                                                                             $1.00
JACE COLCLASURE                   2308 TUNNEL RD                                                      WHEATLAND          WY         82201                 6002               Various                                                                                             $3.42
JACHELLE GARVIN                   124 S JOHN ST                                                       NEENAH             WI         54956                 6002               Various                                                                                             $5.04
JACI DUDREY                       2517 22ND AVE SE                                                    ROCHESTER          MN         55904                 6004               Various                                                                                             $3.00
JACI ZEMENCHIK                    11514 64 ST                                                         KENOSHA            WI         53142                 6004               Various                                                                                            $23.00
JACIMAY HANSEN                    4110 LINCOLN ROAD WEST                                              HELENA             MT         59602                 6004               Various                                                                                             $3.00
JACK ALAN COENEN                  W2610 SIEVERT RD                                                    SEYMOUR            WI         54165                 6002               Various                                                                                             $6.99
JACK BEST                         130 LARKIN LANE                 P O BOX 544                         SELAH              WA         98942                 6004               Various                                                                                            $35.38
JACK CLARK                        PO BOX 13462                                                        ARLINGTON          TX         76094-0462            1028               Various                                                                                         $6,910.69
JACK CLEMITUS                     1405 N. CENTER ST.                                                  BEAVER DAM         WI         53916                 6004               Various                                                                                            $39.98
JACK COMSTOCK                     2844 N IVY LN                                                       POST FALLS         ID         83854                 6004               Various                                                                                            $13.50
JACK DANIELS                      7802 S 2800TH E                                                     SOUTH WEBER        UT         84404                 6002               Various                                                                                             $5.40
JACK DEWITT JR                    38889 2ND AVE.                                                      NORTH BRANCH       MN         55056                 6004               Various                                                                                             $8.67
JACK DOUTHIT                      PO BOX 453                                                          HOT SPRINGS        SD         57747                 6002               Various                                                                                             $9.21
JACK EDWARDS                      4721-42ND AVE                                                       KENOSHA            WI         53144                 6002               Various                                                                                             $0.63

JACK FOREST                       3448 HARMONY HEIGHTS LOOP                                           OROFINO            ID         83544                 6002               Various                                                                                             $6.00
JACK GARDER                       660 COOK ST                                                         OGDEN              UT         84404                 6002               Various                                                                                             $4.22
JACK J. HOLMAN                    2627 N HOWARD ST                                                    COEUR D ALENE      ID         83815                 6002               Various                                                                                             $6.30
JACK MABLEY DEVELOPMENT CENTER    1120 WASHINGTON AVE                                                 DIXON              IL         61021                 6666               Various                                                                                           $354.98
JACK MITCHELL                     930 N 6TH STREET                APT 422                             SHEBOYGAN          WI         53081                 6004               Various                                                                                            $34.00
JACK MORRIS                       3211 W CHESTNUT AVE                                                 YAKIMA             WA         98902                 6004               Various                                                                                            $26.00




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                                                                                                                                                                                        Contingent


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                                                                                                                                               Last 4 Digits of     Date Debt was
                                                                                                                                                  Account         Incurred, Basis for
              Creditor Name                Address1          Address2           Address3              City      State           Zip   Country     Number                Claim                                                                             Total Claim
JACK MYERS                     3624 SOLAR AVE                                                JANESVILLE      WI         53548                 6004                Various                                                                                                $3.00
JACK NELSON                    425 4TH ST .E                                                 TRACY           MN         56258                 6004                Various                                                                                               $32.49
JACK NICKLAUS                  817 PALMYRA RD                                                AMBOY           IL         61310                 6002                Various                                                                                                $9.64
JACK RINALLO                   4006 E HOLT RD                                                COEUR D ALENE   ID         83814                 6002                Various                                                                                                $1.51
JACK SEEDS                     PO BOX 795                                                    NEWCASTLE       WY         82701                 6002                Various                                                                                                $1.18
JACK SKALETSKI                 2247 PALMER DRIVE                                             GREEN BAY       WI         54311                 6004                Various                                                                                                $8.50
JACK SMEESTER                  380 CASS AVE                                                  KINGSFORD       MI         49802                 6002                Various                                                                                                $1.12
JACK SMITH                     2217 14TH AVE NW                                              ROCHESTER       MN         55901                 6002                Various                                                                                                $2.25
JACK STEWART                   360 WESTWOOD TERRACE DR                                       OROFINO         ID         83544                 6002                Various                                                                                                $9.70
JACK STUYVENBERG               W2561 RIDGEFIELD CT                                           APPLETON        WI         54915                 6002                Various                                                                                                $3.81
JACK SUMMERS                   5418 W BUCKSKIN RD                                            POCATELLO       ID         83201                 6002                Various                                                                                                $2.79
JACK SWANSON                   4603 KAPPUS DR APT 3                                          EAU CLAIRE      WI         54703                 6004                Various                                                                                               $23.02
JACK VANDELIST                 417 N GOODHOPE RD                                             DE PERE         WI         54115                 6002                Various                                                                                                $0.68
JACK WESTERFIELD               8217 S IVY DR                                                 MIDVALE         UT         84047                 6002                Various                                                                                                $1.70
JACK WISSELL                   W8403 DOVE ROAD                                               WILLARD         WI         54493                 6004                Various                                                                                               $10.00
JACK YLITALO                   PO BOX 880                                                    COKATO          MN         55321                 6002                Various                                                                                                $6.14
JACK"JEFF" STAGG               9901 FALCON VIEW DRIVE                                        SANDY           UT         84092                 6004                Various                                                                                               $15.00
JACKALINE MILNER               701 W GRAND ST                                                GALLATIN        MO         64640                 6002                Various                                                                                                $8.03
JACKELYNN MA MARTINEZ          507 SUMNER ST                                                 SAINT PETER     MN         56082                 6002                Various                                                                                                $8.90
JACKI ASH                      PO BOX 374                                                    SARGENT         NE         68874                 6002                Various                                                                                                $1.37
JACKI BINGHAM                  2903 6TH AVE SW                                               AUSTIN          MN         55912                 6004                Various                                                                                                $3.00
JACKI KALASH                   825 UPHAM RD                                                  DULUTH          MN         55811                 6004                Various                                                                                                $3.00
JACKIE BRINK                   321 E OAKMOND AVE         APT #21                             MITCHELL        SD         57301                 6004                Various                                                                                                $8.00
JACKIE BROWN                   1817 JENIFER ST                                               MADISON         WI         53704                 6004                Various                                                                                               $30.90
JACKIE COOPER                  501 WATER ST                                                  LIGONIER        IN         46767                 6002                Various                                                                                                $5.42
JACKIE CUNNINGHAM              215 9TH ST W                                                  MANTORVILLE     MN         55955                 6002                Various                                                                                                $8.82
JACKIE D HAUS                  1201 CATTAIL DR                                               GILLETTE        WY         82718                 6002                Various                                                                                                $9.29
JACKIE DAMMEN                  3381 STATE RD 81 WEST                                         ARGYLE          WI         53504                 6004                Various                                                                                               $15.00
JACKIE DAVIE                   905 LINCOLN ST                                                WAYNE           NE         68787                 6002                Various                                                                                                $8.79
JACKIE FULLETON                48 RIVENDELL RD                                               MOSBY           MT         59058                 6002                Various                                                                                                $0.47
JACKIE GILBERTSON              422 EAST WOODIN AVE                                           CHELAN          WA         98816                 6004                Various                                                                                               $56.68
JACKIE GILLUM                  4123 SOUTH 20TH STREET                                        OMAHA           NE         68107                 6004                Various                                                                                               $42.00
JACKIE GRANT                   1671 9TH ST.                                                  GREEN BAY       WI         54304                 6004                Various                                                                                               $98.00
JACKIE HAMMER                  1018 E 800TH S APT 1                                          SALT LAKE       UT         84102                 6002                Various                                                                                                $8.71
JACKIE HEIM                    3233 90TH AVE SW                                              BYRON           MN         55920                 6002                Various                                                                                                $6.38
JACKIE HOTHAN                  104 L AND L TR CT                                             OGALLALA        NE         69153                 6002                Various                                                                                                $3.48
JACKIE IRONSHELL               404 1/2 WASHINGTON ST                                         IDA GROVE       IA         51445                 6002                Various                                                                                                $6.99
JACKIE JONES                   6289 2ND PO BOX # 167                                         KEENSBURG       IL         62852                 6002                Various                                                                                                $1.37
JACKIE KING                    1115 SYCAMORE ST                                              DELAVAN         WI         53115                 6002                Various                                                                                                $4.00
JACKIE LIDSTROM                18 MCCARTHUR AVE.                                             BILLINGS        MT         59101                 6004                Various                                                                                               $23.00
JACKIE LIEN                    10277 446TH AVE                                               VEBLEN          SD         57270                 6002                Various                                                                                                $4.19
JACKIE MASTA                   1111 PARK ST                                                  BLACK EARTH     WI         53515                 6004                Various                                                                                                $2.00
JACKIE MCKINNEY                HC 1 BOX 332                                                  FAIRDEALING     MO         63939                 6002                Various                                                                                                $9.26
JACKIE MESENBRINK              PO BOX 103                                                    MOORHEAD        IA         51558                 6002                Various                                                                                                $3.92
JACKIE MOORE                   933 E LINCOLN AVE                                             BELVIDERE       IL         61008                 6002                Various                                                                                                $8.58
JACKIE OGG                     1020 11TH ST                                                  GOTHENBURG      NE         69138                 6002                Various                                                                                                $6.11
JACKIE S HOOF                  W5679 #15 ROAD                                                WALLACE         MI         49893                 6002                Various                                                                                                $3.64
JACKIE TRACY                   308 RIVERVIEW 3 W                                             GREAT FALLS     MT         59404                 6002                Various                                                                                                $6.38
JACKIE VANHOVE                 418 SW 1ST ST                                                 MADISON         SD         57042                 6002                Various                                                                                                $2.60
JACKIE VERMILLION              312 S MAIN BOX # 184                                          DAVIS CITY      IA         50065                 6002                Various                                                                                                $1.89
JACKIE WAID                    401 E MAIN                                                    CONCORD         IL         62631                 6004                Various                                                                                                $5.00
JACKIE WALTZ                   1917 LEWIS AVE                                                FONTANELLE      IA         50846                 6002                Various                                                                                                $3.67
JACKIE WASSER                  1843 JANIE LN                                                 BELOIT          WI         53511                 6002                Various                                                                                                $5.75
JACKIE WEGNER                  300 3RD AVE SE                                                OELWEIN         IA         50662                 6002                Various                                                                                                $5.73




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                                                                                                                                                                                                   Contingent


                                                                                                                                                                                                                               Disputed
                                                                                                                                                          Last 4 Digits of     Date Debt was
                                                                                                                                                             Account         Incurred, Basis for
              Creditor Name                  Address1                   Address2        Address3             City          State           Zip   Country     Number                Claim                                                                             Total Claim
JACKIE WILLIAMS                   1380 JOHN ADAMS PKWY                                               IDAHO FALLS        ID         83401                 6002                Various                                                                                                $6.71
JACKIE WOLFE                      8300 NORTH 70TH                                                    LINCOLN            NE         68505                 6004                Various                                                                                               $60.85
JACKMAN FISHER                    PO BOX 466                                                         PIERCE             ID         83546                 6002                Various                                                                                                $2.93
JACKSON AMSRUD                    917 MILLIGAN AVE                                                   WABASHA            MN         55981                 6004                Various                                                                                                $3.06
JACKSON CASSIDY                   1963 GARFIELD ST                                                   LINCOLN            NE         68502                 6004                Various                                                                                               $25.00
JACKSON COOPER                    11984 WENDT RD                                                     KENDRICK           ID         83537                 6002                Various                                                                                                $1.40
                                                                 330 5TH AVENUE
JACKSON CORPORATION               VICE PRESIDENT OF SALES        #11                                 NEW YORK           NY         10001                  3387               Various                                                                                        $79,641.72
JACKSON SEALS                     403 PODEROSA STREET                                                KALISPELL          MT         59901                  6004               Various                                                                                            $28.00
JACKSON TIEDT                     1090 MELODY DR                                                     GREEN BAY          WI         54303                  6004               Various                                                                                            $10.00
JACLEEN CLARK                     7074B ROAD 47                                                      TORRINGTON         WY         82240                  6002               Various                                                                                             $8.63
JACLYN EYRE                       155 RUSSELL AVE                                                    TOOELE             UT         84074                  6002               Various                                                                                             $8.68
JACLYN JOLLIFF                    1404 DAVIS ST                                                      WATERTOWN          WI         53098                  6004               Various                                                                                             $2.00

JACLYN MATT                       228 VILLIAGE GREEN LANE EAST                                       MADISON            WI         53704                   6004              Various                                                                                                $5.40
JACLYN THOMPSON                   7644 COUNTY M                                                      BROWNTOWN          WI         53522                   6002              Various                                                                                                $3.62

JACLYN WALTA                      2510 2ND ST S                                                      WISCONSIN RAPIDS   WI         54494                   6004              Various                                                                                               $19.00
JACOB ABRAHAMSON                  7832 VALLEY HIGH RD                                                ROCHESTER          MN         55901                   6002              Various                                                                                                $0.38
JACOB ACKER                       3910 WALDO BLVD                                                    MANITOWOC          WI         54220                   6002              Various                                                                                                $6.41
JACOB AMBROZIAK                   4464 PINE RD                                                       JUNCTION CITY      WI         54443                   6004              Various                                                                                                $2.40
JACOB ANDERSON                    4229 VIEW PT RD                                                    AHSAHKA            ID         83520                   6002              Various                                                                                                $1.23
JACOB ARATZ                       1873 FROLY DR                                                      SUN PRAIRIE        WI         53590                   6004              Various                                                                                                $5.40
JACOB ARTHUR HARRIS               411 NE 6TH ST                                                      MADISON            SD         57042                   6002              Various                                                                                                $0.38
                                                                 301 MUNSEN
JACOB ASH COMPANY INCORPORATED    VICE PRESIDENT OF SALES        AVENUE                              MCKEES ROCK        PA         15136                  9269               Various                                                                                       $623,534.09
JACOB BACKS                       3890 DAWSON LAKE RD                                                POPLAR GROVE       IL         61065                  6004               Various                                                                                             $5.00
JACOB BANTLEY                     2926 BAYSHORE DR N                                                 LA CROSSE          WI         54603                  6002               Various                                                                                             $1.18
JACOB BARLOW                      357 SANDY PARK CIR                                                 MIDVALE            UT         84047                  6004               Various                                                                                             $5.02
JACOB BATES                       704 E TIETAN                                                       WALLA WALLA        WA         99362                  6004               Various                                                                                            $99.98
JACOB BELL                        24476 STATE HIGHWAY DD                                             GALLATIN           MO         64640                  6002               Various                                                                                             $5.92
JACOB BENSON                      6221 WADE CT SE                                                    LACEY              WA         98513                  6004               Various                                                                                          $119.95
JACOB BETTIN                      2406 200TH ST                                                      TRUMAN             MN         56088                  6002               Various                                                                                             $0.90
JACOB BEVERS                      W 3221 LOCHBUR LANE                                                APPLETON           WI         54915                  6004               Various                                                                                             $8.00
JACOB BREESE                      985 EIGTH ST                                                       GREEN BAY          WI         54304                  6004               Various                                                                                             $5.99
JACOB BROWN                       57335 ROCKLAND ST                                                  CALUMET            MI         49913                  6002               Various                                                                                             $9.10
JACOB CARLTON                     714 W 1ST ST                                                       WAYNE              NE         68787                  6002               Various                                                                                             $3.10
JACOB CHICK                       567 EAST FISCHER PAKRWAY                                           NIAGARA            WI         54151                  6004               Various                                                                                             $3.00
JACOB COOK                        1202 S PROSPECT ST                                                 GALLATIN           MO         64640                  6002               Various                                                                                             $4.63
JACOB CROSBY                      39 MONICA DRIVE                                                    ELKHORN            WI         53121                  6004               Various                                                                                            $20.00
JACOB CZERWAN                     1111 W A ST                                                        IRON MOUNTAIN      MI         49801                  6002               Various                                                                                             $1.62
JACOB D TIPLER                    1359 W 4TH ST                                                      KIMBERLY           WI         54136                  6002               Various                                                                                             $1.81
JACOB DEIKE                       114 SANDPIPER DR.                                                  MANKATO            MN         56001                  6004               Various                                                                                             $3.00
JACOB DEKORNFELD                  1016 GRACELAWN DR                                                  BRENTWOOD          TN         37027                  6002               Various                                                                                             $2.33
JACOB EDWARD                      327 E MILLER ST                                                    RAWLINS            WY         82301                  6002               Various                                                                                             $6.30
JACOB EDWARDS                     9390 234TH LN NE                                                   STACY              MN         55079                  6004               Various                                                                                             $7.85
JACOB ELMO                        746 JACKSON STREET                                                 OSHKOSH            WI         54901                  6004               Various                                                                                             $4.00
JACOB ERICSON                     8870 S STATE ST                A103                                SANDY              UT         84070                  6004               Various                                                                                             $5.22
JACOB EVERSON                     556 S MAIN ST                                                      SEYMOUR            WI         54165                  6004               Various                                                                                            $25.00
JACOB FARLEY                      2323 STANLEY ST.                                                   STEVENS POINT      WI         54481                  6004               Various                                                                                            $14.98
JACOB FINCH                       3724 BILLINGS DR                                                   CALDWELL           ID         83605                  6004               Various                                                                                            $30.00
JACOB FISCHER                     3545 E MICHELLE ST                                                 IDAHO FALLS        ID         83401                  6002               Various                                                                                             $0.82
JACOB FLYNN                       5452 SQUAW PRAIRIE RD                                              POPLAR GROVE       IL         61065                  6004               Various                                                                                             $4.50
JACOB FROEMMING                   503 BROADWAY                                                       SALMON             ID         83467                  6002               Various                                                                                             $0.41




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                                                                            Schedule E/F: Part 2 - Creditors With Nonpriority Unsecured Claims




                                                                                                                                                                                                                                    Claim subject to offset?
                                                                                                                                                                                                          Unliquidated
                                                                                                                                                                                             Contingent


                                                                                                                                                                                                                         Disputed
                                                                                                                                                      Last 4 Digits of   Date Debt was
                                                                                                                                                         Account       Incurred, Basis for
             Creditor Name               Address1                 Address2          Address3             City          State           Zip   Country     Number              Claim                                                                             Total Claim
JACOB GINGERICH               24353 300TH ST                                                     JAMESPORT          MO         64648                 6002              Various                                                                                                $0.44
JACOB GREETAN                 W7948 AIRPORT RD                                                   CRIVITZ            WI         54114                 6002              Various                                                                                               $10.00
JACOB GUSTIN                  7 WEARE ST                                                         WOODBINE           IA         51579                 6004              Various                                                                                               $25.00

JACOB HAAS                    135 N LAKEWOOD GARDEN LANE                                         MADISON            WI         53704                   6004            Various                                                                                                $6.50
JACOB HAWKINS                 3804 E 7TH ST                                                      SIOUX FALLS        SD         57103                   6004            Various                                                                                               $38.34
JACOB HELMS                   4115 BELLEVILLE DRIVE                                              LINCOLN            NE         68521                   6004            Various                                                                                               $20.00
JACOB HERNANDEZ               7517 PATRIOT DR.                                                   MAGNA              UT         84044                   6004            Various                                                                                                $9.75
JACOB HESPE                   108 W. CRAMER STREET                                               FORT ATKINSON      WI         53538                   6004            Various                                                                                                $2.00
JACOB HINTZ                   W1142 ASPN DR.                                                     SPRING VALLEY      WI         54767                   6004            Various                                                                                               $28.00
JACOB HOLMES                  5767 S WOOD CIR                                                    SALT LAKE CITY     UT         84107                   6002            Various                                                                                                $5.56
JACOB JACKSON                 1101 COVEY LANE                                                    LEWISTON           ID         83501                   6004            Various                                                                                                $9.02
JACOB JUNGERS                 4020 CHAPPARAL                                                     HELENA             MT         59602                   6004            Various                                                                                                $3.00
JACOB KAEHLER                 538 W VET MEMORIAL HWY                                             KASSON             MN         55944                   6002            Various                                                                                                $7.64
JACOB KAMIN                   2430 MARY ST LOT 90                                                MARINETTE          WI         54143                   6002            Various                                                                                                $8.14
JACOB KELLER                  226 COTTONWOOD                                                     AFTON              WY         83110                   6002            Various                                                                                                $2.74
JACOB KIZZAR                  501 LOCUST ST                                                      CHASE              KS         67524                   6002            Various                                                                                                $7.86
JACOB KOBER                   1419 PARK AVE                                                      WEST BEND          WI         53090                   6004            Various                                                                                                $1.00
JACOB L HUGHES                1000 CANTON ST TRLR 80                                             PRESCOTT           WI         54021                   6002            Various                                                                                                $9.37
JACOB LEAVER                  56842 GOLFCORSE RD                                                 STANTON            NE         68779                   6004            Various                                                                                               $30.00
JACOB LILLICH                 2849 N COTNER BLVD                                                 LINCOLN            NE         68507                   6004            Various                                                                                               $50.00
JACOB LOIACONO                229 IDAHO ST E                                                     TWIN FALLS         ID         83301                   6002            Various                                                                                                $1.81
JACOB MAHER                   103 B NORTH NORTHVIEW                                              ELLSWORTH          WI         54011                   6002            Various                                                                                                $9.95
JACOB MALCHOW                 508 WEST HUMBIRD ST                                                RICE LAKE          WI         54868                   6004            Various                                                                                                $1.00
JACOB MALCOM                  POB ALICE AVE # 56303                                              ALLEN              NE         68710                   6002            Various                                                                                                $7.67
JACOB MARSHALL                413 S 19TH ST                                                      COEUR D ALENE      ID         83814                   6004            Various                                                                                               $15.02
JACOB MCBEE                   11784 GALLOWAY LN                                                  BELVIDERE          IL         61008                   6004            Various                                                                                                $3.90
JACOB MCKINNEY                1111 ALLEN ST              APT 9                                   BELVIDERE          IL         61008                   6004            Various                                                                                                $9.00
JACOB MCLEOD                  1502 MELROSE                                                       ABERDEEN           SD         57401                   6004            Various                                                                                                $5.82
JACOB MELNIK                  800 AURTHUR AVENUE                                                 RACINE             WI         53405                   6004            Various                                                                                               $12.00
JACOB MOES                    2117 N SHERRI LIN                                                  APPLETON           WI         54914                   6004            Various                                                                                               $25.00
JACOB MURPHY                  1024 CHRYSLER DR                                                   MISHICOT           WI         54228                   6004            Various                                                                                                $8.51
JACOB NOTT                    PO BOX 73                                                          BRIDGER            MT         59014                   6002            Various                                                                                                $6.30
JACOB NOWAK                   1423 PARDEE STREET                                                 WAUSAU             WI         54401                   6004            Various                                                                                                $1.00
JACOB PORTER                  9701 CHANDLER                                                      STURTEVANT         WI         53177                   6004            Various                                                                                                $5.00

JACOB QUINNELL                3789 ST. JOHNS ROAD                                                WISCONSIN RAPIDS   WI         54495                   6004            Various                                                                                                $2.00
JACOB ROMAN                   1714 BIRCHWOOD ST               APT 7                              DELAVAN            WI         53115                   6004            Various                                                                                                $1.00
JACOB RUBENZER                11911 NORTH 16TH AVE                                               CHIPPEWA FALLS     WI         54729                   6004            Various                                                                                                $2.00
JACOB RUPLE                   120 N 875TH E                                                      LOGAN              UT         84321                   6002            Various                                                                                                $6.74
JACOB SADEPUP                 3960 EVELON RD                                                     OGDEN              UT         84403                   6002            Various                                                                                                $0.71
JACOB SCHMIDT                 121 SPRUCE AVE. E.                                                 KIMBALL            MN         55353                   6004            Various                                                                                                $1.46
JACOB SCHOOL                  302 E BURDICK ST                                                   BLACK CREEK        WI         54106                   6002            Various                                                                                                $5.81

JACOB SCIDMORE                305 N. FRANCIS STREET APT 603                                      MADISON            WI         53703                   6004            Various                                                                                               $36.00
JACOB SEEWALD                 327 FURNACE ST                                                     MAYVILLE           WI         53050                   6002            Various                                                                                                $7.26
JACOB SEIM                    2025 WYOMING AVE                                                   SUN PRAIRIE        WI         53590                   6004            Various                                                                                                $4.00
JACOB SEMPLE                  697 W DEKORA STREET             UNIT B                             SAUKVILLE          WI         53080                   6004            Various                                                                                               $10.00
JACOB SHAMY                   1556 ELLIOTT ST LOT 7                                              WHEATLAND          WY         82201                   6002            Various                                                                                                $7.92
JACOB SINGH                   2003 COLONY CT APT 3                                               BELOIT             WI         53511                   6002            Various                                                                                                $7.32
JACOB SKYM                    1305 N SPRING ST LOT 18                                            GLADWIN            MI         48624                   6002            Various                                                                                                $4.79
JACOB STANBROUGH              33689 STATE HIGHWAY 108                                            DENT               MN         56528                   6002            Various                                                                                                $6.49
JACOB STARKER                 N7404 CTY RD G                                                     BEAVER DAM         WI         53916                   6004            Various                                                                                                $2.00
JACOB STEIN                   114 QUEENS PL SE                                                   POPLAR GROVE       IL         61065                   6004            Various                                                                                                $3.90




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             Creditor Name                Address1          Address2        Address3             City         State           Zip   Country     Number                Claim                                                                             Total Claim
JACOB T SCHWAB                1392 COUNTY ROAD 148                                       SMOOT             WY         83126                 6002                Various                                                                                                $5.73
JACOB T TENNEY                1905 W APPLEWAY AVE                                        COEUR D ALENE     ID         83814                 6002                Various                                                                                                $6.36
JACOB THESING                 1102 DIVISION ST                                           LA CROSSE         WI         54601                 6002                Various                                                                                               $10.00
JACOB THOMPSON                2410 THOMPSON LN                                           ABRAMS            WI         54101                 6002                Various                                                                                                $4.47
JACOB VEESER                  2001 S 22ND ST                                             ESCANABA          MI         49829                 6002                Various                                                                                                $7.40
JACOB WAL                     912 S 16TH AVE                                             WAUSAU            WI         54401                 6004                Various                                                                                                $5.98
JACOB WALDNER                 1311 KANSAS NE                                             HURON             SD         57350                 6004                Various                                                                                                $9.44
JACOB WEBSTER                 101 SHORT ST.                                              ELLSWORTH         WI         54011                 6004                Various                                                                                               $25.00
JACOB WEDDLE                  407 L ST                                                   SAINT PAUL        NE         68873                 6004                Various                                                                                                $4.00
JACOB WESTERMAN               3301 MELBY ST                                              EAU CLAIRE        WI         54703                 6004                Various                                                                                               $25.00
JACOB WIESE                   PO BOX 166                                                 TILDEN            NE         68781                 6004                Various                                                                                               $10.00
JACOB WINCHESTER              1012 W MICHIGAN ST                                         MISSOURI VALLEY   IA         51555                 6002                Various                                                                                               $10.00
JACOB WINTER                  37820 GREENWAY AVE                                         NORTH BRANCH      MN         55056                 6002                Various                                                                                                $3.10

JACOBSEN/ THEA                STORE 2-016               SHOPKO EMPLOYEE                  GREEN BAY         WI         54307-9060             5778               Various                                                                                           $132.00
JACOY MARIE HOLBROOK          1826 E WILLOW GLEN CIR                                     SANDY             UT         84093                  6002               Various                                                                                             $6.49
JACQUE JENNINGS               25508 HIGHLANDS RD                                         EDGEMONT          SD         57735                  6002               Various                                                                                             $6.25
JACQUELENE LIVELY             5 SOUTH MAIN 14                                            STEWARTVILLE      MN         55976                  6004               Various                                                                                             $3.00
JACQUELIN FIGUEROA            404 E. LOCUST                                              BELVIDERE         IL         61008                  6004               Various                                                                                             $3.90
JACQUELIN SCHMOLL             66508 STATE HIGHWAY 56                                     DODGE CENTER      MN         55927                  6002               Various                                                                                            $10.00
JACQUELINE A HERGERT          PO BOX 495                                                 MILTON            WI         53563                  6002               Various                                                                                             $2.19
JACQUELINE B HEDLUND          501 DETROIT AVE                                            IRON MOUNTAIN     MI         49801                  6002               Various                                                                                             $4.79
JACQUELINE BRUHA              351 MAIN ST APT 216                                        ONALASKA          WI         54650                  6002               Various                                                                                             $4.99
JACQUELINE BULLOCK            PO BOX 4                                                   EDGEMONT          SD         57735                  6002               Various                                                                                             $5.37
JACQUELINE BUTH               103 EAST ST.                                               BROWNSDALE        MN         55918                  6004               Various                                                                                             $3.00
JACQUELINE CHENEY             5884 S 7100 W                                              HOOPER            UT         84315                  6004               Various                                                                                            $10.00
JACQUELINE DAHLBERG           501 MAIN ST W                                              HINCKLEY          MN         55037                  6002               Various                                                                                             $7.10
JACQUELINE HAAS               1143 WILLROY RD                                            BELLEVUE          NE         68005                  6004               Various                                                                                             $4.00
JACQUELINE HENSIAK            937 WISCONSIN STREET                                       DELAVAN           WI         53115                  6004               Various                                                                                            $23.00
JACQUELINE HUBER              2699 DUTCHER RD                                            GLADWIN           MI         48624                  6002               Various                                                                                             $7.12
JACQUELINE IRONSIDE           2231 CLOUDVIEW CT                                          APPLETON          WI         54914                  6002               Various                                                                                             $5.01
JACQUELINE J RICHEY           43628 909TH RD                                             SPRINGVIEW        NE         68778                  6002               Various                                                                                             $3.56
JACQUELINE K DRUMMOND         820 N BROADWAY APT 104                                     ROCHESTER         MN         55906                  6002               Various                                                                                             $3.48
JACQUELINE K STACKMAN         812 W ROLLINS ST                                           BOISE             ID         83706                  6002               Various                                                                                             $4.30
JACQUELINE KELLUM             1214 N PEARL ST APT A                                      WAYNE             NE         68787                  6002               Various                                                                                             $8.99
JACQUELINE LARDINOIS          N4888 CTY RD C                                             KRAKOW            WI         54137                  6002               Various                                                                                             $9.29
JACQUELINE LIND               403 IRWIN                                                  GALESBURG         IL         61401                  6004               Various                                                                                            $10.00
JACQUELINE MCDONALD           3236 GEKELER LANE #B101                                    BOISE             ID         83706                  6004               Various                                                                                             $6.58
JACQUELINE MESSNER            212 S HILLS CT                                             PLYMOUTH          WI         53073                  6002               Various                                                                                             $6.38
JACQUELINE MORALES            397 GARDNER AVE                                            TWIN FALLS        ID         83301                  6004               Various                                                                                             $3.65
JACQUELINE MYRE               330 E WISCONSIN ST                                         CHIPPEWA FALLS    WI         54729                  6004               Various                                                                                             $3.00
JACQUELINE NINHAM             1199 LA COUNT RD.                                          GREEN BAY         WI         54313                  6004               Various                                                                                            $15.00
JACQUELINE OFEROSKY           1722 1/2 ALTONNA AVE                                       EAU CLAIRE        WI         54701                  6002               Various                                                                                             $1.70
JACQUELINE PERRY              468 NESBIT DR                                              MINA              SD         57451                  6004               Various                                                                                            $12.16
JACQUELINE PETERSON           1128 VALLEY ROAD                                           EDEN              ID         83325                  6004               Various                                                                                            $21.25
JACQUELINE PIONTEK            3839 BUYARSKI RD                                           GREEN BAY         WI         54311                  6002               Various                                                                                             $4.25
JACQUELINE PLASCENCIA         1226 N DANZ AVE LOT 35                                     GREEN BAY         WI         54302                  6004               Various                                                                                             $1.00
JACQUELINE PONCE              518 S. BAIRD ST                                            GREEN BAY         WI         54302                  6004               Various                                                                                             $9.98
JACQUELINE QUINN              N506 BRILL RD                                              BIRCHWOOD         WI         54817                  6004               Various                                                                                            $14.36
JACQUELINE RIVERA             1609 10TH ST SE APT 8                                      ROCHESTER         MN         55904                  6002               Various                                                                                             $3.59
JACQUELINE ROSEBERRY          978 DOUSMAN ST                                             GREEN BAY         WI         54303                  6004               Various                                                                                             $2.99
JACQUELINE S KAPUSTYNSKI      503 4TH ST SE                                              MASON CITY        IA         50401                  6002               Various                                                                                             $6.03
JACQUELINE SCHALLER           2011 24TH STREET                                           TWO RIVERS        WI         54241                  6004               Various                                                                                            $10.00
JACQUELINE SHARPLEY           735 DIAMOND LN                                             RICE LAKE         WI         54868                  6004               Various                                                                                            $30.00




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JACQUELINE SOONS              12420 E HIGHWAY 10                                             CLINTON            MT        59825                 6002              Various                                                                                                $6.71

JACQUELINE WALLACE            3515 KINSROW AVENEUE #3-301                                    EUGENE             OR        97401                   6004            Various                                                                                            $25.50
JACQUELINE ZIMMERMAN          N6473 CTY RD E                                                 ALBANY             WI        53502                   6004            Various                                                                                            $70.00
JACQUELYN KOHN-BORN           500 LAKE ST                                                    BEAVER DAM         WI        53916                   6004            Various                                                                                            $23.00
JACQUELYN LONGFIELD           418 KANE ST                                                    FALL RIVER         WI        53932                   6002            Various                                                                                             $8.88
JACQUELYN MA DOPP             1626 N RICHMOND ST                                             APPLETON           WI        54911                   6002            Various                                                                                             $5.64
JACQUELYN MATTFIELD           722 W DALE STREET                                              ELLSWORTH          WI        54011                   6002            Various                                                                                             $1.68
JACQUELYN MORKRID             41 BRAEGER DR.                                                 FITCHBURG          WI        53713                   6004            Various                                                                                             $1.00
JACQUELYN PFAFF               N1914 WEDGEWOOD DR E                                           LA CROSSE          WI        54601                   6002            Various                                                                                             $0.55
JACQUELYN REIS                624 W PEARL ST                                                 SEYMOUR            WI        54165                   6002            Various                                                                                             $0.74
JACQUELYN S. HASTING          270 W SCHISLER ST                                              ROSEVILLE          IL        61473                   6002            Various                                                                                             $3.64
JACQUELYN STACY               5112 LAUREL ROAD 31                                            BILLINGS           MT        59101                   6004            Various                                                                                             $2.00
JACQUELYN STOEHR              222 MORRIS ST APT A                                            SCHOFIELD          WI        54476                   6002            Various                                                                                             $9.42
JACQUELYN STUTZMAN            PO BOX 835                                                     OLYMPIA            WA        98501                   6004            Various                                                                                            $13.00
JACQUELYN WALLIN              1330 SYCAMORE ST                                               RIVER FALLS        WI        54022                   6002            Various                                                                                             $1.29
JACQUELYN WEAVER              PO BOX 10033                                                   YAKIMA             WA        98909                   6004            Various                                                                                            $35.02
JACQUELYNE BIGGERS            1605 NORTH 11TH STREET                                         BOISE              ID        83702                   6004            Various                                                                                            $47.00
JACQUELYNE ROBINSON           W10202 CTY HWY F                                               FOX LAKE           WI        53933                   6002            Various                                                                                             $8.25
JACQUELYNE VAN DEGOORBERG     4112 N CHRISTINE ST                                            BOISE              ID        83704                   6002            Various                                                                                             $0.99
JACQUELYNN MALOOLY            429 N 5TH AVE                                                  WAUSAU             WI        54401                   6002            Various                                                                                             $7.56
JACQUES HUNTER                136 S ONEIDA ST                                                GREEN BAY          WI        54303                   6004            Various                                                                                             $3.00
JACQUES MORET INCORPORATED    23385 NETWORK PLACE                                            CHICAGO            IL        60673-1233              3614            Various                                                                                       $123,444.05
JACQULYN HESS                 405 W JEFFERSON ST                                             PALMYRA            MO        63461                   6002            Various                                                                                             $6.22
JACY HIGGINS                  3604 PATRICK ST                                                OMAHA              NE        68101                   6004            Various                                                                                            $12.00
JADA GARVER                   22737 PICKERTS LN                                              BOX ELDER          SD        57719                   6004            Various                                                                                            $15.02
JADA KENT                     621 E 200 S                                                    SPANISH FORK       UT        84660                   6004            Various                                                                                            $24.00
JADA KREIKEMEIER              110 W WASHINGTON ST                                            WEST POINT         NE        68788                   6002            Various                                                                                             $6.14
JADA LEVIJOKI                 1219 4TH AVE NW                                                WATERTOWN          SD        57201                   6002            Various                                                                                             $1.04
JADA MARTIN                   514 N. WESTMOUNT DR. APT 1                                     SUN PRAIRIE        WI        53590                   6004            Various                                                                                             $5.00
JADA NELSON                   2610 B ST S # 12TH                                             WISCONSIN RAPID    WI        54494                   6002            Various                                                                                             $7.26
JADA TOYS INCORPORATED        938 HATCHER AVENUE                                             CITY OF INDUSTRY   CA        91748-0000              8664            Various                                                                                        $17,048.48
JADA ZIMMERMAN                2740 8 1/2 ST               APT 6                              MONROE             WI        53566                   6004            Various                                                                                             $5.02
JADE AA INVESTMENTS LLC       1318 S SEDONA CIR                                              ONEIDA             WI        54155                   5602            Various                                                                                         $5,586.67

JADE BYINGTON                 4245 YELLOWSTONE AVE APT C6                                    POCATELLO          ID        83202                   6002            Various                                                                                                $7.01
JADE FARNSWORTH               1118 WEST 5TH ST                                               FILER              ID        83328                   6004            Various                                                                                                $3.65
JADE FLETCHER                 444 FLETCHER RD                                                SAINT MARIES       ID        83861                   6002            Various                                                                                                $9.84
JADE GORDON                   200 E OAKLAND AVE           APT G                              AUSTIN             MN        55912                   6004            Various                                                                                                $6.00
JADE HOLLENCAMP               912 E BAKER ST.             APT 15                             SAINT JOSEPH       MN        56374                   6004            Various                                                                                                $3.00
JADE HUFSTEDLER               3625 5TH ST NW                                                 ROCHESTER          MN        55901                   6002            Various                                                                                                $2.22
JADE KORALLUS                 W1850 W CENTER AVE                                             DORCHESTER         WI        54425                   6002            Various                                                                                                $5.07
JADE MUELLER                  2264 163/4 AVE                                                 RICE LAKE          WI        54868                   6004            Various                                                                                               $54.00
JADE SOMMER                   4338 N 5TH W                                                   IDAHO FALLS        ID        83401                   6002            Various                                                                                                $8.30
JADE THELIA YELLOW EAGLE      422 S MAPLE                                                    WATERTOWN          SD        57201                   6002            Various                                                                                                $9.59
JADE WHITING                  7299 MAJESTIC WAY                                              MAGNA              UT        84044                   6004            Various                                                                                               $50.00
JADE WHITWAM                  1117 BARRON ST                                                 EAU CLAIRE         WI        54703                   6004            Various                                                                                                $2.00
JADE WILLIAMS                 6518 BOYD ST APT 7                                             OMAHA              NE        68104                   6004            Various                                                                                                $4.00
JADE WINTERHOLLER             907 W MIDWAY STREET                                            FILER              ID        83328                   6004            Various                                                                                               $26.50
JADECO ELECTRIC               523 RICHARDS ST.                                               THERMOPOLIS        WY        83442                                   11/13/2018                                                                                            $29.00
JADEN BIRDSELL                2127 LOSEY BLVD S                                              LA CROSSE          WI        54601                   6002            Various                                                                                                $1.37
JADEN BRADLEY                 2138 AIRPORT RD                                                KALISPELL          MT        59901                   6002            Various                                                                                                $0.44
JADEN HOLM                    2782 E 500TH N                                                 ROBERTS            ID        83444                   6002            Various                                                                                                $8.90
JADEN REICK                   1135 UNION ROAD                                                OREGON             WI        53575                   6004            Various                                                                                                $2.50




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JADIN GRAHAM                   308 S WAUPACA ST                                                   WAUTOMA           WI         54982                 6002                Various                                                                                                $9.18
JADWIGIA BUKOWINSKI            PO BOX 1587                                                        S.V.R.            WY         83127                 6002                Various                                                                                                $1.26
JADYN PARKER                   722 S 27TH ST                                                      LINCOLN           NE         68510                 6004                Various                                                                                               $32.00
JADYN SCHMITZ VOGLAND          430 FOUR MILE CREEK RD                                             MOSINEE           WI         54455                 6004                Various                                                                                                $3.00
JAE SHAUN SUTTON               518 5TH AVE W                                                      SISSETON          SD         57262                 6002                Various                                                                                                $5.26
JAEDEN PAGE                    2936 N MEADE ST                                                    APPLETON          WI         54911                 6004                Various                                                                                                $1.00
JAEGER FAMILY                  450 4TH ST S                                                       WISCONSIN RAPID   WI         54494                 6002                Various                                                                                                $7.92
JAELA KOHL                     102 S RUSSELL STREET                                               UNITY             WI         54488                 6004                Various                                                                                                $4.00
JAELYN ZUNIGA PALACIOS         1505 S MAIN ST                                                     FORT ATKINSON     WI         53538                 6004                Various                                                                                               $15.00
JAFAR BESS                     6777 SCHROEDER RD             APT 6                                MADISON           WI         53711                 6004                Various                                                                                                $2.00
JAGDISH PATEL                  110 E PERSHING ST                                                  AVOCA             IA         51521                 6002                Various                                                                                                $5.01
                               DBA JAGUSCH LAWN
JAGUSCH ENTERPRISES LLC        CARE/MIDWEST IRRIGATION       PO BOX 564                           NORTH BRANCH      MN         55056                  5791               Various                                                                                           $125.00

JAHR/ NICHOLE                  STORE 2-041                   SHOPKO EMPLOYEE                      GREEN BAY         WI         54307-9060             6839               Various                                                                                             $8.19
JAIDEN B. SYDLEWSKI            N9639 EMERALD LN                                                   APPLETON          WI         54915                  6002               Various                                                                                             $6.79
JAIDEN DEUTSCHLANDER           4004 CLAY ST                                                       EAU CLAIRE        WI         54701                  6004               Various                                                                                            $10.00
JAIDEN FIREHAMMER              313 SOUTH LINCOLN AVENUE                                           BEAVER DAM        WI         53916                  6004               Various                                                                                             $1.00
JAIDHA CONSTANTINE             2111 100TH ST                                                      SOMERSET          WI         54025                  6004               Various                                                                                             $3.00
JAIDYN RUSS PATERIMOS          620 OAK STREET                                                     NEENAH            WI         54956                  6004               Various                                                                                             $4.00
JAIMA FLESNER                  715 W NEBRASKA ST                                                  PIERCE            NE         68767                  6004               Various                                                                                            $39.98
JAIME B MCMURPHY               104 MAPLE ST                                                       LANSE             MI         49946                  6002               Various                                                                                             $0.99
JAIME CHAVEZ                   161 MARTIN ROAD                                                    TOPPENISH         WA         98948                  6004               Various                                                                                             $3.00
JAIME CRAIG                    N8389 COUNTY RD X                                                  BELLEVILLE        WI         53508                  6004               Various                                                                                             $4.00
JAIME DOMINGUEZ                1012 E 4100 N                                                      BUHL              ID         83316                  6004               Various                                                                                             $3.65
JAIME GARCIA                   407 W MEADOWBROOK DRIVE                                            OGDEN             UT         84404                  6004               Various                                                                                             $7.00
JAIME GONZALES PACHECO         4875 SOUTH 61 ST                                                   OMAHA             NE         68117                  6004               Various                                                                                             $1.31
JAIME HATCH                    2471 MALIBU LOOP                                                   STURGIS           SD         57785                  6002               Various                                                                                             $7.51
JAIME HOLMAN                   PO BOX 9414                                                        MISSOULA          MT         59807                  6002               Various                                                                                             $0.36
JAIME LEON                     684 CLINTON DR                                                     TWIN FALLS        ID         83301                  6004               Various                                                                                             $4.00
JAIME LOPEZ                    914 W 10TH ST                                                      BELVIDERE         IL         61008                  6004               Various                                                                                             $5.00
JAIME MORI-COON                282 PROSPECTOR LN                                                  BILLINGS          MT         59105                  6004               Various                                                                                             $9.00
JAIME SEGEBART                 5617 N 116TH AVE CIR                                               OMAHA             NE         68164                  6004               Various                                                                                             $2.00
JAIME SULLY                    3002 12TH ST APT 44                                                HARLAN            IA         51537                  6002               Various                                                                                             $5.84
JAIME TORRES                   806 S. 6TH ST. #1                                                  YAKIMA            WA         98901                  6004               Various                                                                                           $199.49
JAIME VILLARREAL               6328 73RD STREET APT 205                                           KENOSHA           WI         53142                  6004               Various                                                                                             $7.99
JAIMEE N BROUILLETTE           N3307 POPLAR RD                                                    IRON MOUNTAIN     MI         49801                  6002               Various                                                                                             $3.10
JAIMIE GNEITING                3401 DARLINGTON AVE                                                ROCK SPRINGS      WY         82901                  6002               Various                                                                                             $8.14
JAIMIE KERN                    6655 CAM COURT                                                     MISSOULA          MT         59802                  6004               Various                                                                                            $18.00
JAINI LATI                     1182 ROSEDALE AVE                                                  DUBUQUE           IA         52001                  6004               Various                                                                                            $23.00

JAIR WILLIAMS                  135 NORTH PETERS AVE,. APT #11                                     FOND DU LAC       WI         54935                  6004               Various                                                                                                $1.00
JAKAN LOSKA                    215 PEARL ST                                                       REESEVILLE        WI         53579                  6004               Various                                                                                                $1.00
JAKE ANDERSON                  1301 24TH ST NW                #108                                WILLMAR           MN         56201                  6004               Various                                                                                                $3.00
JAKE BUTTERFIELD               4002 S. JAMES CT.                                                  SALT LAKE CITY    UT         84128                  6004               Various                                                                                               $50.00
JAKE FRANA                     2241 COUNTY ROAD U                                                 CEDAR BLUFFS      NE         68015                  6002               Various                                                                                                $5.84
JAKE JACQUOT                   226 POLK ST                                                        WINNER            SD         57580                  6002               Various                                                                                                $3.56
JAKE MATTFELDT                 4B MONTANA ST                                                      GLASGOW           MT         59230                  6002               Various                                                                                                $6.19
JAKE MUCKERHEIDE               N1456 CRANBERRY RD.                                                ADELL             WI         53001                  6004               Various                                                                                               $10.00

JAKE MYATT                     N70W23189 HOMESTEAD COURT                                          SUSSEX            WI         53089                  6004               Various                                                                                               $15.00
JAKE PARKINSON                 3411 N RIFLE RANGE RD                                              APPLETON          WI         54913                  6002               Various                                                                                                $4.66
JAKE R HUNT                    34 MEADOWLARK                                                      KALISPELL         MT         59901                  6004               Various                                                                                               $26.00
JAKE TAYLOR                    308 HOUGHTON AVE.                                                  HOUGHTON          MI         49931                  6004               Various                                                                                               $30.00




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                                                                                                                                                                                          Contingent


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                                                                                                                                                    Account         Incurred, Basis for
             Creditor Name               Address1              Address2        Address3             City          State           Zip   Country     Number                Claim                                                                             Total Claim
JAKE WHITSTONE                218 10TH AVE                APT # 224                         EAU CLAIRE         WI         54703                 6004                Various                                                                                               $50.00
JAKE ZIEGLER                  1330 STETSON RD                                               HELENA             MT         59602                 6002                Various                                                                                                $0.74
JAKEEM ODELL                  806 S ASHLAND AVE                                             GREEN BAY          WI         54304                 6004                Various                                                                                                $2.00
JAKEENA HOSKINS               1554 TROOY DRIVE APT 8                                        MADISON            WI         53704                 6004                Various                                                                                                $5.00
JAKIYA DAWKINS                1938 STATE ST               LOWER                             RACINE             WI         53404                 6004                Various                                                                                                $3.00
                                                          22619 PACIFIC
                                                          COAST HWY SUITE
JAKKS SALES CORPORATION       VICE PRESIDENT OF SALES     250                               MALIBU             CA         90265-5080             7510               Various                                                                                       $214,831.51
JAKOB DURAN                   16411 REGENCE WAY                                             CALDWELL           ID         83607                  6004               Various                                                                                             $3.65
JAKOB MUELLER                 N7383 HIGHWAY P                                               THERESA            WI         53091                  6004               Various                                                                                            $25.00
JAKOB RAUSCHENBERGER          4807 TWELVE OAKS DR                                           MILTON             WI         53563                  6004               Various                                                                                            $60.00
JAKOB SCHUTTE                 130 PLUMMER CRT.                                              NEENAH             WI         54956                  6004               Various                                                                                             $1.00
JAKOB THOMPSON                1907 CLAYCOMB RD                                              WAYNE              NE         68787                  6002               Various                                                                                             $1.53
JALEE DELORE NERISON          45659 BIA HWY # 1200                                          PEEVER             SD         57257                  6002               Various                                                                                             $6.96

JALEESA RIDLEY                5645 BOREAS                                                   COLORADO SPRINGS   CO         80917                  6004               Various                                                                                            $35.00
JALEN CARRUTHERS              6259 FOX RUN                                                  DE FOREST          WI         53532                  6004               Various                                                                                             $1.00
JALENE MATOS                  10237 W. KINGS BRIAR DR.                                      BOISE              ID         83709                  6004               Various                                                                                             $3.00
JALIL ABDULBAQQEE             604 BURDICK EXPRESS WAY W                                     MINOT              ND         58701                  6002               Various                                                                                             $1.34
JALISA HENDERSON              1994 DAVIS DR               APT 1                             BELVIDERE          IL         61008                  6004               Various                                                                                             $3.90
JAMAL HILL                    4347 DONCASTER DRIVE                                          MADISON            WI         53711                  6004               Various                                                                                             $5.40
JAMAREON ZIELINSKI            1178 HOME AVE                                                 MENASHA            WI         54952                  6004               Various                                                                                             $1.00
JAMEL T. BROWN                4315 N WEBSTER ST                                             COEUR D ALENE      ID         83815                  6002               Various                                                                                             $1.01
JAMES ( BROWN                 616 SCHAFER DR                                                PALMYRA            MO         63461                  6002               Various                                                                                             $7.73
JAMES (JIM) HOGAN             2118 340TH ST                                                 PLYMOUTH           IA         50464                  6002               Various                                                                                             $2.33
JAMES (ROCKY WOLVERTON        1259 NEW HOPE LOOP                                            LENORE             ID         83541                  6002               Various                                                                                             $3.92
JAMES (STEVE NELSON           7524 PHARES DR                                                LINCOLN            NE         68516                  6002               Various                                                                                             $8.52
JAMES (TERRY PEARSON          12777 KENOSHA DR                                              ELLISON BAY        WI         54210                  6002               Various                                                                                             $8.63
JAMES A CHRISTENSEN           634 E FRONTAGE RD                                             LITTLE SUAMICO     WI         54141                  6002               Various                                                                                             $1.75
JAMES A JACOBSON              PO BOX 41 PMB 45                                              LANDER             WY         82520                  6002               Various                                                                                             $6.99
JAMES A MELVILLE              4532 160TH ST                                                 CHIPPEWA FALLS     WI         54729                  6002               Various                                                                                             $6.93
JAMES ALA                     17192 PLAINS RD                                               BARAGA             MI         49908                  6002               Various                                                                                             $0.99
JAMES ALECKSON                1265 SHERWOOD ST                                              BRAHAM             MN         55006                  6004               Various                                                                                            $27.98
JAMES ANDERSON                1119 1ST AVE N APT 16                                         SAUK RAPIDS        MN         56379                  6004               Various                                                                                            $30.00
JAMES ANGLE                   PO BOX 57                                                     CULDESAC           ID         83524                  6004               Various                                                                                           $275.00
JAMES ANTHON TAYLOR           1118 E SYRINGA DR                                             COEUR D ALENE      ID         83814                  6002               Various                                                                                             $1.01
JAMES APPEL                   951 COUNTY NP                                                 ELLISON BAY        WI         54210                  6002               Various                                                                                            $10.00
JAMES ARNOLD                  PO BOX 561                                                    KOOSKIA            ID         83539                  6004               Various                                                                                            $56.00
JAMES ASHLEY JR.              5121 WEST LEIGHTON AVE                                        LINCOLN            NE         68524                  6004               Various                                                                                            $25.00
JAMES B. JOHNSON              714 FAIRVIEW ST                                               BLANCHARDVILLE     WI         53516                  6002               Various                                                                                             $8.41
JAMES BABCOCK                 1006 S 5TH AVE                                                WAUSAU             WI         54401                  6004               Various                                                                                            $25.00
JAMES BARNES                  221 MOCKINGBIRD PL                                            STEWARTVILLE       MN         55976                  6002               Various                                                                                            $10.00
JAMES BASS                    512 8TH ST SW                                                 HAMPTON            IA         50441                  6002               Various                                                                                             $2.44
JAMES BATES                   1019 N DIAMOND                                                JACKSONVILLE       IL         62650                  6004               Various                                                                                           $114.13
                              W78 N675 WAUWATOSA RD APT
JAMES BERTRAND                10                                                            CEDARBURG          WI         53012                  6002               Various                                                                                                $2.88
JAMES BEX                     10274 UPPER LAKE SHR # TWIN                                   RATHDRUM           ID         83858                  6002               Various                                                                                                $0.60
JAMES BEYNE                   2828 CHAMBERS STREET                                          SIOUX CITY         IA         51104                  6004               Various                                                                                               $10.00
JAMES BICKNELL                112 DANIEL CT                                                 COMBINED LOCKS     WI         54113                  6004               Various                                                                                                $2.00
JAMES BINGEN                  N11142 DAIRY RD                                               BROWNSVILLE        WI         53006                  6002               Various                                                                                                $5.73

JAMES BINGHAM                 430 13TH ST. SO.                                              WISCONSIN RAPIDS   WI         54494                  6004               Various                                                                                                $1.00
JAMES BROERS                  301 W. PINE STREET                                            UNION GAP          WA         98903                  6004               Various                                                                                               $13.02
JAMES BROWN                   1140 S W 21ST ST COURT                                        LINCOLN            NE         68522                  6004               Various                                                                                               $72.00




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              Creditor Name                Address1                Address2           Address3             City         State           Zip   Country     Number                Claim                                                                             Total Claim
JAMES BRUCKSCHEN               7811 CENTER RD                                                      MANITOWOC         WI         54220                 6002                Various                                                                                                $0.41
JAMES BRUNETTE                 410 FIFTH ST                                                        NEENAH            WI         54956                 6004                Various                                                                                               $30.00
JAMES BURGIN                   10103 BAY SHORE DR                                                  RAPID RIVER       MI         49878                 6004                Various                                                                                               $28.02
JAMES C HEILIG                 38935 7TH AVE                                                       NORTH BRANCH      MN         55056                 6002                Various                                                                                                $8.25
JAMES C OLSEN                  PO BOX 576                                                          FLORENCE          WI         54121                 6002                Various                                                                                                $4.79
JAMES C. HAAG                  404 WILSON AVE                                                      FORT ATKINSON     WI         53538                 6002                Various                                                                                                $2.49
JAMES CAIRNS                   4150 FINCH LN                                                       DELAVAN           WI         53115                 6002                Various                                                                                                $6.66
JAMES CARPENDER                811 5TH ST SE                                                       SIDNEY            MT         59270                 6002                Various                                                                                                $5.42
JAMES CAZELLA                  701 WOODLAND DR                                                     KAUKAUNA          WI         54130                 6002                Various                                                                                                $5.53
JAMES CHELF                    408 WOODBURY ST                                                     MARSHALLTOWN      IA         50158                 6002                Various                                                                                                $3.05
JAMES CLOPTON                  305 S MAPLE ST                                                      AINSWORTH         NE         69210                 6002                Various                                                                                                $8.52
JAMES CLOSE                    234 ELM STREET                                                      LACROSSE          WI         54603                 6002                Various                                                                                                $4.16
JAMES CLOUD                    2697 N. 400 E.                                                      NORTH OGDEN       UT         84414                 6004                Various                                                                                               $10.00
JAMES COLLEARY                 2905 HWY 83 NO. 15                                                  BIGFORK           MT         59911                 6004                Various                                                                                               $20.00
JAMES COLLINS                  34471 STATE HIGHWAY 47                                              AITKIN            MN         56431                 6002                Various                                                                                               $12.83

JAMES CONERY                   420 GREISCH CRT                                                     PORT WASHINGTON   WI         53074                  6002               Various                                                                                                $2.33
JAMES CONRADT                  521 N 11TH ST APT 10                                                BEATRICE          NE         68310                  6002               Various                                                                                                $5.42
JAMES COZZENS                  45 N 1ST E                                                          COWLEY            WY         82420                  6002               Various                                                                                                $2.68
JAMES CRAWFORD                 25764 AGENT ST                                                      CALUMET           MI         49913                  6002               Various                                                                                                $8.82
JAMES CROOKS                   179 WASHINGTON ST                                                   LANDER            WY         82520                  6002               Various                                                                                                $2.08
JAMES CUMMINGS                 2415 COUNTY HIGHWAY D                                               BANCROFT          WI         54921                  6002               Various                                                                                                $9.40
JAMES D HOLMES                 927 MILLER ST TRLR 8                                                KEWAUNEE          WI         54216                  6002               Various                                                                                                $0.60
JAMES D. BETZOLD               2514 W FAIRWAY DR                                                   COEUR D ALENE     ID         83815                  6002               Various                                                                                                $7.07
JAMES DAHL                     620 OAKWOOD ST                                                      WILD ROSE         WI         54984                  6002               Various                                                                                                $6.88
JAMES DALE CORDY               E842 ARROWHEAD DR                                                   WAUPACA           WI         54981                  6002               Various                                                                                                $7.10
JAMES DAVIE                    394 ANGELS TOUGH CT                                                 DE PERE           WI         54115                  6002               Various                                                                                                $2.41
JAMES DAWSON                   31593 OAK AVE                                                       AITKIN            MN         56431                  6002               Various                                                                                                $2.00
JAMES DEBISH                   103 EAST MAPLE AVE.            APT. 202                             NESHKORO          WI         54960                  6004               Various                                                                                               $30.00
JAMES DEMENY                   2512 BAY SETTLEMENT RD                                              GREEN BAY         WI         54311                  6002               Various                                                                                                $2.96
JAMES DEPEEL                   6642 E DEER RD                                                      WALKERVILLE       MI         49459                  6002               Various                                                                                                $5.21
JAMES DINARDO                  1340 GENEVA RD APT 7                                                MENASHA           WI         54952                  6002               Various                                                                                                $1.64

JAMES DOAN                     627 ROCKY CREEK DR NE TRLR 4                                        ROCHESTER         MN         55906                  6002               Various                                                                                                $4.38
JAMES DONKER                   3535 S BOB-O-LINK                                                   APPLETON          WI         54915                  6002               Various                                                                                                $1.59
JAMES DOTTER                   1150 W STATE ST                                                     MARSHFIELD        WI         54449                  6002               Various                                                                                                $8.03
JAMES DUFUR                    780 S MILTON AVE                                                    SHELLEY           ID         83274                  6002               Various                                                                                                $0.66
JAMES DUVALL                   310 N DIVISION ST                                                   MOUNT CARMEL      IL         62863                  6002               Various                                                                                                $2.85
JAMES DVORAK                   PO BOX 225                                                          NORTH BRANCH      MN         55056                  6004               Various                                                                                                $3.00
JAMES E MICHEL                 PO BOX 129                                                          BURNSVILLE        MS         38833                  6002               Various                                                                                                $2.71
JAMES E PINNOW                 N5617 MAPLE HILL RD                                                 OGDENSBURG        WI         54962                  6002               Various                                                                                                $3.92
JAMES E SCHULTZ                1228 23RD ST                                                        CAMERON           WI         54822                  6002               Various                                                                                                $1.97
JAMES E STEINHOFER             BOX 315                                                             BROOTEN           MN         56316                  6002               Various                                                                                                $8.49
JAMES E. LAABS                 201 3RD AVE                                                         EMERY             SD         57332                  6002               Various                                                                                                $4.60
JAMES EASTMAN                  27656 PINE TREE RD                                                  BATTLE LAKE       MN         56515                  6002               Various                                                                                                $0.44
JAMES EDWARD CARLTON           RR 3 BOX 136                                                        DONIPHAN          MO         63935                  6002               Various                                                                                                $3.04
JAMES EDWARDS                  610 13TH ST                                                         SIOUX CITY        IA         51105                  6002               Various                                                                                                $6.44
JAMES EHRESMANN                406 12TH ST SE                                                      MASON CITY        IA         50401                  6002               Various                                                                                                $1.32
JAMES ETZELL                   1825 ALDERSON AVE                                                   BILLINGS          MT         59102                  6002               Various                                                                                                $8.25
JAMES F ARNOLD                 1415 MISSOULA AVE                                                   HELENA            MT         59601                  6002               Various                                                                                                $0.85
JAMES F BASTERASH              N168 W21700 MAIN ST LOT 92                                          JACKSON           WI         53037                  6002               Various                                                                                                $9.84
JAMES F MURDOCK                PO BOX 249                                                          BROOTEN           MN         56316                  6002               Various                                                                                                $8.52
JAMES F. KRIESEL               6630 OFFSHORE DR                                                    MADISON           WI         53705                  6002               Various                                                                                                $8.82
JAMES FAMILY                   1429 STUMP CREEK RD                                                 AUBURN            WY         83111                  6002               Various                                                                                                $7.78




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              Creditor Name                Address1             Address2           Address3             City          State           Zip   Country     Number                Claim                                                                             Total Claim
JAMES FEELY                    2785 TAURUS RD                                                   GREEN BAY          WI         54311                 6002                Various                                                                                                $1.89
JAMES FERGUSON                 395 OLD ASHAKA GD                                                AHSAHKA            ID         83520                 6002                Various                                                                                                $0.66
JAMES FIEDLER                  1802 E MELROSE AVE                                               APPLETON           WI         54911                 6002                Various                                                                                                $6.44
JAMES FIELD                    6301 S 5TH AVE TRLR 11A                                          POCATELLO          ID         83204                 6002                Various                                                                                                $5.01
JAMES FITZANKO                 401 CRAWFORD AVE                                                 DIXON              IL         61021                 6004                Various                                                                                                $9.99
JAMES FLITTON                  4214 ATHERTON DR #21                                             SALT LAKE CITY     UT         84123                 6004                Various                                                                                               $29.99
JAMES FLOWERS                  PO BOX 2001                                                      OROFINO            ID         83544                 6004                Various                                                                                               $42.00
JAMES FORSGREN                 433 W BACALL DR                                                  MERIDIAN           ID         83646                 6004                Various                                                                                               $20.00
JAMES FRAMPTON                 103 SEVENTH AVE                                                  AUDUBON            IA         50025                 6002                Various                                                                                                $2.22
JAMES FRANCI BAER              3800 N RICHMOND ST                                               APPLETON           WI         54913                 6002                Various                                                                                                $8.08
JAMES FUNTE                    215 S MAIN ST                                                    GREENWOOD          WI         54437                 6002                Various                                                                                                $0.99
JAMES G. MOSLING               1575 MARICOPA DR                                                 OSHKOSH            WI         54904                 6002                Various                                                                                                $2.85
JAMES GABLE                    403 E CENTER ST APT 123                                          ADAMS              WI         53910                 6004                Various                                                                                                $2.00
JAMES GAERTNER                 8906 WEST METCALF PLACE                                          MILWAUKEE          WI         53222                 6004                Various                                                                                               $22.44
JAMES GALE                     1301 N 55TH ST                                                   LINCOLN            NE         68504                 6002                Various                                                                                                $4.58
JAMES GANTNER                  1572 CHEROKEE ST                                                 GRAFTON            WI         53024                 6004                Various                                                                                               $49.60
JAMES GASTON                   1740 S. METHOW ST.                                               WENATCHEE          WA         98801                 6004                Various                                                                                                $8.00
JAMES GAUL                     6550 TRANNEL LANE                                                EAST DUBUQUE       IL         61025                 6004                Various                                                                                                $5.00
JAMES GAUTHIER                 9513 LAURA LN                                                    WINNECONNE         WI         54986                 6002                Various                                                                                                $2.22
JAMES GETCHELL                 1426 JOHNSTON AVE                                                RICHLAND           WA         99354                 6004                Various                                                                                               $10.00
JAMES GIEMZA - III             N4642 HIGHLAND DRIVE                                             SULLIVAN           WI         53178                 6004                Various                                                                                                $2.00
JAMES GLEASON                  146 ETHEL ST                                                     WAUSAU             WI         54403                 6002                Various                                                                                                $0.27
JAMES GONZALEZ                 131 LAMPLIGHTER LOOP                                             POPLAR GROVE       IL         61065                 6004                Various                                                                                                $3.90
JAMES GORE                     1776 LAKESHORE RD                                                GRAFTON            WI         53024                 6002                Various                                                                                                $2.33
JAMES GUM                      8119 17TH AVENUE                                                 KENOSHA            WI         53142                 6004                Various                                                                                               $51.00
JAMES H. TREU                  4813 HAVEN DR                                                    HAZELHURST         WI         54531                 6002                Various                                                                                                $5.26
JAMES HACKL                    814 TOPAZ LN                                                     MADISON            WI         53714                 6004                Various                                                                                               $23.00
JAMES HADLER                   1310 PRIMROSE LANE           APT G                               NEENAH             WI         54956                 6004                Various                                                                                                $3.00
JAMES HALE                     47259 877TH ROAD                                                 ATKINSON           NE         68713                 6002                Various                                                                                                $6.17
JAMES HALL                     6383 E.5 RD                                                      BARK RIVER         MI         49807                 6002                Various                                                                                                $4.93
JAMES HAMPEL                   1124 EAST ACADEMY ST                                             STOUGHTON          WI         53589                 6004                Various                                                                                               $10.00
JAMES HARRIS                   205 S 6TH ST                                                     FORT ATKINSON      WI         53538                 6002                Various                                                                                                $0.79
JAMES HART JR                  1233 CASCADE ST NW                                               ROCHESTER          MN         55901                 6004                Various                                                                                                $3.00
JAMES HARTMAN                  PO BOX 23                                                        STITES             ID         83552                 6002                Various                                                                                                $3.10
JAMES HAUF                     201 S ELKHORN AVE                                                JEFFERSON          WI         53549                 6004                Various                                                                                               $10.00
JAMES HAUSCHILDT               W5897 410TH AVE                                                  ELLSWORTH          WI         54011                 6002                Various                                                                                                $6.71
JAMES HEAP                     320 E 2ND AVE                                                    MONMOUTH           IL         61462                 6002                Various                                                                                                $8.38
JAMES HELMS                    4115 BELLVILE DR                                                 LINCOLN            NE         68521                 6004                Various                                                                                               $15.00
JAMES HENNICK                  510 E WASHINGTON BOX # 563                                       EXIRA              IA         50076                 6002                Various                                                                                                $0.41
JAMES HIGGINS                  1530 AMES ST.                                                    NEENAH             WI         54956                 6004                Various                                                                                               $15.00
JAMES HILLMAN                  423 HATTEN AVE APT 303                                           RICE LAKE          WI         54868                 6002                Various                                                                                                $3.33
JAMES HOFFMAN                  P O BOX 257                                                      LEOLA              SD         57456                 6004                Various                                                                                               $11.52
JAMES HOGUE                    1804 CONDE ST                                                    JANESVILLE         WI         53546                 6004                Various                                                                                               $20.00
JAMES HOLETON                  846 RACINE STREET                                                MENASHA            WI         54952                 6004                Various                                                                                               $10.00

JAMES HONKOMP                  1198 KESTER ROAD                                                 WISCONSIN RAPIDS   WI         54494                  6004               Various                                                                                                $2.00
JAMES HOPP                     N3509 24TH ROAD                                                  WILD ROSE          WI         54984                  6004               Various                                                                                                $1.00
JAMES HORN                     1500 N 3RD ST                APT 136                             MANITOWOC          WI         54220                  6004               Various                                                                                               $15.00
JAMES HOTTAL                   226 SE SUNNY DR                                                  COLLEGE PLACE      WA         99324                  6004               Various                                                                                               $11.43
JAMES HOY                      124 N3 RD                                                        HINSDALE           MT         59241                  6002               Various                                                                                                $7.07
JAMES HUBER                    5301 LEANNE LN                                                   MC FARLAND         WI         53558                  6002               Various                                                                                                $8.19
JAMES HUERTER                  1569 O RD                                                        SENECA             KS         66538                  6002               Various                                                                                                $7.53
JAMES HUMM                     RR 1 BOX 1                                                       DAWSON             NE         68337                  6002               Various                                                                                                $0.63
JAMES HUMMEL                   PO BOX 502                                                       SISTER BAY         WI         54234                  6002               Various                                                                                                $3.62




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                                                                                                                                                     Account         Incurred, Basis for
              Creditor Name               Address1               Address2        Address3             City         State           Zip   Country     Number                Claim                                                                             Total Claim
JAMES HUNT                     574 HONEYSUCKLE LN                                             MADISON           WI         53713                 6004                Various                                                                                                $6.50
JAMES HUTCHINSON               2420 N. WEATON COURT                                           ELLENGSBURG       WA         98926                 6004                Various                                                                                               $20.00
JAMES J BRADY                  N3743 NETZEL ST                                                CAROLINE          WI         54928                 6002                Various                                                                                                $9.32
JAMES J STOCKMAN               4631 86TH CT                                                   GLENCOE           MN         55336                 6002                Various                                                                                                $0.74
JAMES J. MALOUF                721 11TH AVE N                                                 WISCONSIN RAPID   WI         54495                 6002                Various                                                                                                $7.37
JAMES JACOBSON                 1415 10TH AVE NW                                               GREAT FALLS       MT         59404                 6002                Various                                                                                                $1.18
JAMES JANZING                  752 18TH RD LOT 2                                              WEST POINT        NE         68788                 6002                Various                                                                                                $6.00
JAMES JOHN SURMAN              1409 N ONEIDA ST                                               APPLETON          WI         54911                 6002                Various                                                                                                $5.78
JAMES JOHNSON                  1524 SOUTH RESERVE                                             MISSOULA          MT         59801                 6004                Various                                                                                               $50.00
JAMES JOHNSTON                 W5022 WOODLUND RD                                              PESHTIGO          WI         54157                 6004                Various                                                                                               $80.00
JAMES JONES                    14560 361ST AVE.                                               CRESBARD          SD         57435                 6004                Various                                                                                               $48.07
JAMES JOYNER                   RR 3 BOX BOX251                                                SISSETON          SD         57262                 6002                Various                                                                                                $1.62
JAMES JR STEINKE               N10841 S COUNTRY CT                                            TOMAHAWK          WI         54487                 6002                Various                                                                                                $7.37
JAMES JUTRZONKA                1724 HOLMES AVE                                                RACINE            WI         53405                 6004                Various                                                                                               $25.00
JAMES K BROWN                  254 N CEDAR ST                                                 AINSWORTH         NE         69210                 6002                Various                                                                                                $4.38
JAMES K PRATER                 HC 6 BOX 50                                                    DONIPHAN          MO         63935                 6002                Various                                                                                                $1.18
JAMES KACHMARZINSKI            3072 AVALON COVE CT NW                                         ROCHESTER         MN         55901                 6002                Various                                                                                                $4.11
JAMES KALLEM                   1052 ROAD 8 1/2                                                POWELL            WY         82435                 6002                Various                                                                                                $7.07
JAMES KELLER                   6800 W MARTELL RD                                              MARTELL           NE         68404                 6002                Various                                                                                                $9.48
                                                           1948 GREAT RIVER
JAMES KERNDT                   P.O. BOX 1                  ROAD                               LANSING           IA         52151                  6004               Various                                                                                            $10.00
JAMES KIMBER                   5301 45TH ST                                                   KENOSHA           WI         53144                  6004               Various                                                                                            $11.00
JAMES KIMBERLY                 540 LOKHORST ST                                                BALDWIN           WI         54002                  6002               Various                                                                                             $5.53
JAMES KINSMAN                  5311 S RIDGE WAY APT 213                                       MIDDLETON         WI         53562                  6002               Various                                                                                             $2.93
JAMES KLEVEN                   3962 WEDGE ST                                                  CALUMET           MI         49913                  6002               Various                                                                                             $5.15
JAMES KLIPPEL                  2201 ERIE AVE APT C112                                         SHEBOYGAN         WI         53081                  6002               Various                                                                                             $3.51
JAMES KNOBLOCH                 102 GERTIE LN                                                  ONALASKA          WI         54650                  6002               Various                                                                                             $7.86
JAMES KNOLL                    1221 WESTBREEZE DR                                             NEENAH            WI         54956                  6004               Various                                                                                            $25.00
JAMES KNUTSON                  10392 SHADY BROOK                                              BOISE             ID         83704                  6004               Various                                                                                            $38.00
JAMES KONKOL                   10845 CTY RD M                                                 AUBURNDALE        WI         54412                  6004               Various                                                                                            $49.98
JAMES KRAAK                    1006 21ST ST                #61                                BRODHEAD          WI         53520                  6004               Various                                                                                            $25.00
JAMES KRAAYVANGER              W5760 BUBBLING SPRINGS DR                                      ELKHORN           WI         53121                  6004               Various                                                                                             $1.00
JAMES KRAMER                   208 E MAIN ST                                                  JAMESPORT         MO         64648                  6002               Various                                                                                             $1.56
JAMES KRAUSE-SIMMONS           N 15271 CTY HWY E                                              CURTISS           WI         54422                  6002               Various                                                                                             $5.01
JAMES KUHLMEIER                3216 E CEDARVILLE RD                                           DAKOTA            IL         61018                  6002               Various                                                                                             $8.49
JAMES KUNERT                   W5003 HIGHWAY 18                                               JEFFERSON         WI         53549                  6002               Various                                                                                             $3.73
JAMES KYLLONEN                 57192 11TH ST                                                  CALUMET           MI         49913                  6002               Various                                                                                             $1.37
JAMES L NELSON                 760 TETON AVE                                                  SHELBY            MT         59474                  6002               Various                                                                                             $3.42
JAMES L NEWMAN                 211 W AVE                                                      LYONS             KS         67554                  6002               Various                                                                                             $2.96
JAMES LABROT                   303 N LAFAYETTE ST                                             DONIPHAN          MO         63935                  6002               Various                                                                                             $4.88
JAMES LAMECKER                 321 MEMORIAL DRIVE SW                                          BROWNSDALE        MN         55918                  6004               Various                                                                                            $10.00
JAMES LEFFLER                  11595 COMMERCIAL ST                                            STITZER           WI         53825                  6002               Various                                                                                             $1.00
JAMES LICHLITER                909 BUDD                                                       FAIRMONT          MN         56031                  6004               Various                                                                                            $35.39
JAMES LINNA                    529 N COUNTY ROAD 519                                          WAKEFIELD         MI         49968                  6004               Various                                                                                             $3.02
JAMES LINSCOTT                 2917 OAK ST                                                    STEVENS POINT     WI         54481                  6002               Various                                                                                             $9.45
JAMES LONG                     SPORTS CLUB MOTEL                                              WAYNE             NE         68787                  6002               Various                                                                                             $0.85
JAMES LONGFIELD                1023 W MAIN APT B8                                             WATERTOWN         WI         53094                  6004               Various                                                                                            $48.81
JAMES LUDWIG                   723 BERTHA STREET                                              WAUSAU            WI         54403                  6004               Various                                                                                           $322.00
JAMES LUECK                    N1648 RANDALL RD                                               WATERTOWN         WI         53098                  6002               Various                                                                                             $8.49
JAMES LUTHER                   2328 BRANTWOOD DR                                              NEENAH            WI         54956                  6004               Various                                                                                            $20.00
JAMES M CONRAD                 56751 330TH AVE                                                MILLVILL          MN         55957                  6002               Various                                                                                             $3.00
JAMES M DODGE                  E7917 450TH AVE                                                MENOMONIE         WI         54751                  6002               Various                                                                                             $3.45
JAMES M JR MAGEE               1450 W ROAD                                                    HELENA            MT         59602                  6002               Various                                                                                             $4.30
JAMES M KARANJA                104 GRAY PL W                                                  MARSHALL          MN         56258                  6002               Various                                                                                             $7.84




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              Creditor Name                Address1             Address2         Address3             City          State           Zip   Country     Number                Claim                                                                             Total Claim
JAMES M MORAN                  825 BOMIER ST                                                  DE PERE            WI         54115                 6002                Various                                                                                                $6.44
JAMES M OLSON                  4859 JACOB RD                                                  WEST BEND          WI         53095                 6002                Various                                                                                                $4.25
JAMES M QUIGLEY                114 N 8TH AVE E                                                ELY                MN         55731                 6002                Various                                                                                                $8.08
JAMES M. KOHNEN                47 ERIE LN                                                     WINONA             MN         55987                 6002                Various                                                                                                $1.95
JAMES MACHUS                   301 NEWTON ST                                                  KINGSFORD          MI         49802                 6002                Various                                                                                                $3.70
JAMES MACKENZIE                N3600 WILLOW RD                                                PULASKI            WI         54162                 6004                Various                                                                                                $8.26
JAMES MACKLIN                  1275 SHAWANO AVE             APT 1                             GREEN BAY          WI         54303                 6004                Various                                                                                                $1.00
JAMES MADORIN                  811 GROVE ST                                                   BEAVER DAM         WI         53916                 6004                Various                                                                                               $61.00
JAMES MALESEVICH               N8751 N GERMAN ST                                              MAYVILLE           WI         53050                 6002                Various                                                                                                $1.32
JAMES MANZANARES               357 E OAK                                                      GLENDO             WY         82213                 6002                Various                                                                                                $5.84
JAMES MARINE                   N58 W24021 CLOVER DR APT 5                                     SUSSEX             WI         53089                 6002                Various                                                                                                $8.52
JAMES MARK HAMILTON            2264 N 390TH E                                                 PROVO              UT         84604                 6002                Various                                                                                                $1.56
JAMES MASER                    116 NW TOWNLINE RD                                             GREENFIELD         IA         50849                 6002                Various                                                                                                $8.90
JAMES MAXWELL                  523 N 5TH ST                                                   MANITOWOC          WI         54220                 6004                Various                                                                                                $4.00
JAMES MAYNARD                  5720 COUNTY ROAD F                                             WISCONSIN RAPID    WI         54495                 6002                Various                                                                                                $8.25
JAMES MCBEAN                   420 S. FILLMORE ST.                                            KENNEWICK          WA         99336                 6004                Various                                                                                               $25.02
JAMES MCMONAGLE                600 LONGVIEW AVE                                               GREEN BAY          WI         54301                 6002                Various                                                                                                $7.67
JAMES MERRICK                  721 CLOVER AVENUE                                              LINGLE             WY         82223                 6002                Various                                                                                                $2.08
JAMES MERTZIG                  W9588 CTY E                                                    PARK FALLS         WI         54552                 6002                Various                                                                                                $8.63
JAMES MILLS                    2979 COUNTY ROAD PP                                            DE PERE            WI         54115                 6002                Various                                                                                                $5.04
JAMES MOEDE                    902 DENISE CT                                                  KAUKAUNA           WI         54130                 6004                Various                                                                                               $14.98
JAMES MONDIE                   1021 5TH AVE SE                                                ROCHESTER          MN         55904                 6004                Various                                                                                                $3.00
JAMES MONTAIGNE                21 8TH AVE W                                                   ROUNDUP            MT         59072                 6002                Various                                                                                               $10.00
JAMES MONTROY SR               895 200TH AVE                                                  MONMOUTH           IL         61462                 6002                Various                                                                                                $0.96
JAMES MOON                     12165 19TH AVE NW                                              RICE               MN         56367                 6004                Various                                                                                                $3.00
JAMES MOREHEAD                 305 S STREET P O BOX # 523                                     MANLY              IA         50456                 6002                Various                                                                                                $9.26
JAMES MORRIS                   816 2ND ST                                                     MILFORD            NE         68405                 6002                Various                                                                                                $5.01
JAMES MORROW                   4938 BONNIE BROOK DR                                           SALT LAKE CITY     UT         84118                 6004                Various                                                                                               $20.00
JAMES MORTIMER                 65 NORTHERN ARAPAHOE RD                                        ARAPAHOE           WY         82510                 6002                Various                                                                                                $6.11
JAMES MUNNING                  255 5TH ST N                                                   BUTTERFIELD        MN         56120                 6002                Various                                                                                                $0.27
JAMES N. NICKEL JR.            3408 12TH STREET F                                             LEWISTON           ID         83501                 6002                Various                                                                                                $9.59
JAMES NACKERS                  720 MANCHESTER RD                                              NEENAH             WI         54956                 6002                Various                                                                                                $4.08
JAMES NARDINI                  8713 SOUTH 139 STREET                                          OMAHA              NE         68138                 6004                Various                                                                                               $30.00
JAMES NATION                   511 M-66                                                       KALKASKA           MI         49646                 6002                Various                                                                                                $6.30
JAMES NCR-G DAVIS              402 E ROSS ST                                                  PALMYRA            MO         63461                 6002                Various                                                                                                $7.15
JAMES NELSON                   15 E MAIN P O BOX # 270                                        ELGIN              MN         55932                 6002                Various                                                                                                $9.97
JAMES NORSETTER                1850 FISHER SAT., #B                                           MADISON            WI         53713                 6004                Various                                                                                                $4.00
JAMES OGROSKE                  44444 CO HIGHWAY 60                                            PERHAM             MN         56573                 6002                Various                                                                                                $5.45
JAMES OHL III                  503 N. COLVILLE RD.                                            DEER PARK          WA         99006                 6004                Various                                                                                               $15.00
JAMES OLESON                   9 KINGS MILL CIRCLE                                            MADISON            WI         53718                 6004                Various                                                                                               $23.00
JAMES OLSTAD                   710 N MARKET ST                                                JANESVILLE         MN         56048                 6004                Various                                                                                                $2.36
JAMES OWEN                     224 CENTURY DR APT 106                                         WAUTOMA            WI         54982                 6002                Various                                                                                                $9.64
JAMES P BUCKLES                3984 DUNN AVE                                                  LINCOLN            NE         68502                 6002                Various                                                                                                $2.05
JAMES PARKKONEN                3310 ROAD 496                                                  ISHPEMING          MI         49849                 6002                Various                                                                                                $5.34
JAMES PARMENTER                1203 SOWA ST.                                                  KAMIAH             ID         83536                 6004                Various                                                                                               $59.04

JAMES PASSINEAU                1541 NORTON ST                                                 WISCONSIN RAPIDS   WI         54494                   6004              Various                                                                                                $3.00
JAMES PATTEN                   41771 FLINK AVE                                                NORTH BRANCH       MN         55056                   6002              Various                                                                                                $5.01
JAMES PEDAKIS                  1047 ALLOUEZ RD                                                MARQUETTE          MI         49855                   6002              Various                                                                                                $4.27
JAMES PETTIT                   PO BOX 253                                                     BAINVILLE          MT         59212                   6002              Various                                                                                                $3.81
JAMES PHILLIPS                 506 PARK ST SOUTH                                              MORA               MN         55051                   6002              Various                                                                                               $13.56
JAMES PIETRYGA                 301 FIELDSTONE LN                                              DIXON              IL         61021                   6002              Various                                                                                                $6.14
JAMES PINTAR                   3409 BLACKBERRY LN                                             GREEN BAY          WI         54313                   6002              Various                                                                                                $0.58
JAMES PITTMAN                  172 GRANDVIEW DR                                               TWIN FALLS         ID         83301                   6002              Various                                                                                                $2.52




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JAMES POPHAM                  562 E 3300TH N                                                OGDEN             UT           84404                 6002                Various                                                                                                $5.48
JAMES PRINDLE                 1129 SOUTHWELL                                                OGDEN             UT           84404                 6004                Various                                                                                               $14.00
JAMES PUGH                    75 W COTTON ST                                                FOND DU LAC       WI           54935                 6004                Various                                                                                               $14.00
JAMES PURINTUN                120 16TH ST                                                   GOTHENBURG        NE           69138                 6002                Various                                                                                                $2.49
JAMES R BRICKMAN              1005 E 5TH ST                                                 WINNER            SD           57580                 6002                Various                                                                                                $0.96
JAMES R HANNER                201 6TH ST                                                    TRIMOUNTAIN       MI           49905                 6002                Various                                                                                                $2.90
JAMES R JANDA                 2330 MAPLE DR                                                 SISTER BAY        WI           54234                 6002                Various                                                                                                $0.74

JAMES R RUTH                  1501 MEADOW CT                                                PORT WASHINGTON   WI           53074                  6002               Various                                                                                             $4.36
JAMES R. HARTZELL             W4911 MALLARD DR                                              ELKHORN           WI           53121                  6002               Various                                                                                             $7.73
JAMES RACE                    1193 RACES LN                                                 LITTLE SUAMICO    WI           54141                  6004               Various                                                                                            $10.00
JAMES RAMSEY                  115 STATE ST. S.                                              EDEN VALLEY       MN           55329                  6004               Various                                                                                             $3.00
JAMES RECTOR                  M HWY                                                         VAN BUREN         MO           63965                  6002               Various                                                                                             $8.14
JAMES REDFORD                 1878 W 1000 S                                                 LAYTON            UT           84041                  6004               Various                                                                                            $31.00
JAMES RHODES                  4098 RIVERSITES DR                                            OMER              MI           48749                  6002               Various                                                                                            $10.00
JAMES RICHARDSON              721 N CEDAR ST                                                GRAND ISLAND      NE           68801                  6002               Various                                                                                             $5.62
JAMES RIEKENA                 11679 OBRIEN CREEK RD                                         MISSOULA          MT           59804                  6002               Various                                                                                            $10.00
JAMES ROETHEL                 312 S 4TH STREET W                                            FOR ATKINSON      WI           53538                  6002               Various                                                                                            $12.41
JAMES ROFF                    NH SOUTH HALL                                                 WHEATLAND         WY           82201                  6002               Various                                                                                             $9.42
JAMES ROTA                    BOX 64                                                        CALUMET/LAURIU    MI           49913                  6002               Various                                                                                             $9.78
JAMES RUDOLPH                 916 ST MARY'S AVE                                             OGALLALA          NE           69153                  6004               Various                                                                                            $10.00
JAMES RUETER                  414 W. UNION ST           APT. 7                              WAUPACA           WI           54981                  6004               Various                                                                                             $4.32
JAMES RUSTHOVEN               306 LINDSEY DRIVE                                             COTTONWOOD        MN           56229                  6004               Various                                                                                             $3.00
JAMES S ZUBER                 1761 14TH ST                                                  MONROE            WI           53566                  6002               Various                                                                                             $6.22
JAMES SALMON                  2015 GREENBRIER CT                                            SIOUX CITY        IA           51104                  6002               Various                                                                                             $7.18
JAMES SANDS                   1301 ALLWARDT ST APT 9F                                       WATERTOWN         WI           53098                  6004               Various                                                                                            $19.00
JAMES SAWYER                  2110 LAKE AVE                                                 WI RAPIDS         WI           54494                  6004               Various                                                                                            $10.00
JAMES SCHAELLING              360 CANYON RD                                                 LOGAN             UT           84321                  6002               Various                                                                                             $4.96
JAMES SCHAFER                 82 DEADMAN GULCH                                              LANDER            WY           82520                  6002               Various                                                                                             $8.52
JAMES SCHEPPELE               4037 HIGHWAY W                                                RHINELANDER       WI           54501                  6004               Various                                                                                             $2.00
JAMES SCHIESSER               58 HIGHLAND ST                                                WILLIAMS BAY      WI           53191                  6002               Various                                                                                             $1.73
JAMES SCHROEDER               915 DECLARK ST                                                BEAVER DAM        WI           53916                  6002               Various                                                                                             $5.64
JAMES SCHUETZE                458 S MONITOR ST                                              WEST POINT        NE           68788                  6002               Various                                                                                             $9.84
JAMES SCHULTZ                 7640 MARY LN                                                  WEST BEND         WI           53090                  6002               Various                                                                                             $0.30
JAMES SCHULZ                  4029 HAZELNUT CT.                                             SHEBOYGAN         WI           53081                  6004               Various                                                                                           $235.00
JAMES SCHWARTZ                14712 O CIR                                                   OMAHA             NE           68137                  6002               Various                                                                                             $9.12
JAMES SCHWICHTENBERG          26 KENNEALY BLVD                                              GLADSTONE         MI           49837                  6002               Various                                                                                             $2.74
JAMES SCOTT                   7245 WALKER AVE                                               LINCOLN           NE           68507                  6002               Various                                                                                             $1.51
JAMES SEARLE                  GET                                                           WEST JORDAN       UT           84088                  6004               Various                                                                                            $33.00
JAMES SEEKAMP                 408 AVON ST                                                   LA CROSSE         WI           54603                  6002               Various                                                                                             $1.00
JAMES SHANK                   901 PEARL AVE             APT 210                             MARSHALL          MN           56258                  6004               Various                                                                                            $23.00
JAMES SHELLHAMMER             25520 CORAL LN                                                GLENWOOD          IA           51534                  6002               Various                                                                                             $1.66
JAMES SHULTZ                  493 COMMUNITY DR                                              BELOIT            WI           53511                  6002               Various                                                                                             $5.40
JAMES SIGLER                  555 HIGHWAY 10 S          TRLR 10                             SAINT CLOUD       MN           56304                  6004               Various                                                                                             $3.00
JAMES SMITH                   805 EMERY ST                                                  STANLEY           WI           54768                  6002               Various                                                                                             $9.42
JAMES SNEVE                   914 7TH AVE NW                                                ROCHESTER         MN           55901                  6004               Various                                                                                             $6.00
JAMES SNIDER                  UPDATE                                                        WISC RAPIDS       WI           54494                  6002               Various                                                                                             $9.89
JAMES SOBBE                   12 CAPTIL HILL TERR #8                                        MADISON           WI           53713                  6004               Various                                                                                             $2.00
JAMES STAUFFER                2200 ALAMO DRIVE                                              BILLINS           MT           59102                  6004               Various                                                                                            $19.98
JAMES STENSON                 103 N JOHN ST                                                 NEENAH            WI           54956                  6004               Various                                                                                             $2.00
JAMES STEVENS                 520 MOUNTAIN VIEW DR                                          HYDE PARK         UT           84318                  6004               Various                                                                                           $260.33
JAMES STEWARD                 420 BROAD ST                                                  OMER              MI           48749                  6002               Various                                                                                             $5.75
JAMES STEWART                 5564 COUNTY RD N                                              OCONTO            WI           54153                  6004               Various                                                                                             $2.00
JAMES STIBBE                  2200 BURTON ST APT 215                                        BELOIT            WI           53511                  6002               Various                                                                                             $0.52




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JAMES STOEHR                  1207 N. STEVENS                                                RHINELANDER      WI         54501                 6004                Various                                                                                               $15.00
JAMES STONE                   N9177 JUNIPER STREET                                           EAST TROY        WI         53120                 6004                Various                                                                                               $30.00
JAMES STOUFFER                332 W SHEPARD                                                  LAKE CRYSTAL     MN         56055                 6002                Various                                                                                                $6.55
JAMES STREIB                  601 LOCUST ST                                                  JACKSONVILLE     IL         62650                 6004                Various                                                                                               $17.00
JAMES STRIKE                  23 QUEENS COURT                                                RACINE           WI         53402                 6004                Various                                                                                               $56.40
JAMES STUBBE                  314 NORTON STREET                                              WAUSAU           WI         54401                 6004                Various                                                                                               $45.00
JAMES STUKENBERG              4207 TOWNLINE RD                                               LEAF RIVER       IL         61047                 6002                Various                                                                                                $3.97
JAMES SUDKAMP                 406 S BROADWAY ST                                              NEWMAN           IL         61942                 6002                Various                                                                                                $1.18
JAMES SWIGGUM                 3406 N CTY ROAD H                                              REEDSVILLE       WI         54230                 6004                Various                                                                                               $31.96
JAMES T OBOYLE                308 34TH ST                                                    CODY             WY         82414                 6002                Various                                                                                                $2.66
JAMES T ORR                   BOX 279                                                        ULM              MT         59485                 6002                Various                                                                                                $6.19
JAMES TAYLOR                  710 SMITH AVE                                                  RICHLAND         WA         99354                 6004                Various                                                                                               $20.40
JAMES TEGTMEYER               1693 AMY ST                                                    GREEN BAY        WI         54302                 6002                Various                                                                                                $0.55
JAMES THIEL                   219 NORTH SECOND ST,                                           HILBERT          WI         54129                 6004                Various                                                                                                $2.00
JAMES THOMAS                  1208 DOBLON ST UPPER                                           GREEN BAY        WI         54302                 6004                Various                                                                                                $2.00
JAMES THOMPSON                587 6TH STREET S.W.                                            BRITT            IA         50423                 6004                Various                                                                                               $13.90
JAMES TWETEN                  411 E. 11TH STREET                                             GRAND ISLAND     NE         68801                 6004                Various                                                                                               $23.00
JAMES V NOTSCH                42996 DAISY AVE                                                HARRIS           MN         55032                 6002                Various                                                                                                $9.21
JAMES VAN DE HEI              2873 EAST SHORE DR                                             GREEN BAY        WI         54302                 6004                Various                                                                                               $25.00
JAMES VAN HEFTY               2838 OTTO CT                                                   GREEN BAY        WI         54313                 6004                Various                                                                                               $10.00
JAMES VAN ZANTE               454 POLK ST                                                    TWIN FALLS       ID         83301                 6004                Various                                                                                                $5.00
JAMES VEGLAHN                 1805 CREAMERY RD                                               LA CRESCENT      MN         55947                 6002                Various                                                                                               $10.00
JAMES VOLLSTEDT               333 8TH ST                                                     FOND DU LAC      WI         54935                 6002                Various                                                                                                $6.58
JAMES VONLEY                  PO BOX 101                                                     OROFINO          ID         83544                 6002                Various                                                                                                $1.66
JAMES VRBENSKY                1330 N LAKE SHORE DR                                           GLADSTONE        MI         49837                 6002                Various                                                                                               $10.00
JAMES W EWING                 7525 FOX POINT CIR                                             MADISON          WI         53717                 6002                Various                                                                                                $7.67
JAMES W STOWERS               735 W HAPPY HOLLOW RD                                          JANESVILLE       WI         53546                 6002                Various                                                                                                $6.82
JAMES WACHTER                 5924 27.15 LANE                                                GLADSTONE        MI         49837                 6004                Various                                                                                                $6.30
JAMES WALKER                  750 S 43RD ST APT 1231C                                        GRAND FORKS      ND         58201                 6002                Various                                                                                                $1.56
JAMES WAPELHORST              83911 EAGLE RIDGE RD                                           NORFOLK          NE         68701                 6004                Various                                                                                                $6.80
JAMES WEGNER                  603 PLAINVIEW RD                                               LA CROSSE        WI         54603                 6002                Various                                                                                                $1.89
JAMES WEIFENBACH              1941 EASLAN DR                                                 PLOVER           WI         54467                 6004                Various                                                                                               $11.71
JAMES WENZEL                  112 CHARLES ST                                                 LA CROSSE        WI         54603                 6002                Various                                                                                                $8.32
JAMES WEST                    317 2ND AVE. SW                                                PARK CITY        MT         59063                 6004                Various                                                                                                $5.00
JAMES WHITTAKER               5334 NOTTINGHAM RD                                             NORTH BRANCH     MN         55056                 6002                Various                                                                                                $7.64
JAMES WIERSMA                 N2860 HUGHES RD                                                COLUMBUS         WI         53925                 6004                Various                                                                                                $1.95
JAMES WILDE                   147 LINDSEY AVE                                                OCONTO           WI         54153                 6002                Various                                                                                                $6.30
JAMES WILHELMI                1236 WESTERN AVE.                                              GREEN BAY        WI         54303                 6004                Various                                                                                                $7.20
JAMES WILLIAMS                434 N BROADWAY                                                 DE PERE          WI         54115                 6002                Various                                                                                                $0.74
JAMES WOOD                    26323 N. HARDESTY RD                                           CHATTAROY        WA         99003                 6004                Various                                                                                               $53.34
JAMES WOODBRIDGE              3811 EASTVIEW DR                                               YAKIMA           WA         98902                 6002                Various                                                                                                $1.94
JAMES WORKMAN SR              N. 38215 FRONTAGE RD                                           ELK              WA         99009                 6004                Various                                                                                                $8.02
JAMES WRIGHT                  1205 FERN LN                                                   WAUSAU           WI         54401                 6002                Various                                                                                                $6.49
JAMES WUNNING                 1020 12TH AVE                                                  GREEN BAY        WI         54304                 6004                Various                                                                                                $1.00
JAMES YANDA                   312 NORTH CARROL ST                                            MADISON          WI         53703                 6004                Various                                                                                               $17.96
JAMES YANSKE                  270 BROADWAY STREET                                            PRAIRIE DU SAC   WI         53578                 6004                Various                                                                                               $19.60
JAMES YOCUM                   11235 BAY VIEW RD                                              SISTER BAY       WI         54234                 6002                Various                                                                                                $0.77
JAMES YOSS                    1019 15TH ST N PRERELEASE                                      GREAT FALLS      MT         59404                 6002                Various                                                                                                $3.62
JAMES YOUNG                   16 1/2 W LINCOLN                                               LYMAN            WY         82937                 6002                Various                                                                                                $0.49
JAMES ZARLING                 2420 NICOLET DR                                                GREEN BAY        WI         54311                 6004                Various                                                                                                $3.80
JAMES ZWICKEY                 6909 CTY M                  LOT #9                             EVANSVILLE       WI         53536                 6004                Various                                                                                               $25.00
JAMESON COKER                 23 RAMBLE INN ROAD                                             SUN RIVER        MT         59483                 6004                Various                                                                                                $3.00
JAMESON JAHNKE LULLOFF        W3511 OAK RD                                                   OWEN             WI         54460                 6002                Various                                                                                                $2.99
JAMEY BLOCK                   W9387 STATE ROAD 106                                           EDGERTON         WI         53534                 6004                Various                                                                                                $5.00




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                                                                                                                                                                                                                                 Claim subject to offset?
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                                                                                                                                                                                          Contingent


                                                                                                                                                                                                                      Disputed
                                                                                                                                                 Last 4 Digits of     Date Debt was
                                                                                                                                                    Account         Incurred, Basis for
              Creditor Name                Address1             Address2         Address3              City       State           Zip   Country     Number                Claim                                                                             Total Claim
JAMEY TEMPLE                   616 S MAIN ST                                                  SMITHFIELD       UT         84335                 6002                Various                                                                                                $0.88
JAMI BUNTJER                   606 9TH ST APT 10                                              BREWSTER         MN         56119                 6002                Various                                                                                                $9.37
JAMI ESCOBEBO-REYES            3728 NW EBONY CT                                               LINCOLN          NE         68521                 6004                Various                                                                                                $4.00
JAMI HINTZ                     2357 SUNNY LN                                                  GREEN BAY        WI         54313                 6002                Various                                                                                               $10.00
JAMI L REYES                   11507 N 450TH E                                                SYRACUSE         IN         46567                 6002                Various                                                                                                $6.33
JAMIE AUBART                   2363 B 94TH AVE                                                OSCEOLA          WI         54020                 6004                Various                                                                                                $1.00
JAMIE BITTNER                  72045 32ND AVE NE          APT 10A                             OLYMPIA          WA         98516                 6004                Various                                                                                               $75.00
JAMIE BLUEMEL                  4302 125TH ST.                                                 CHIPPEWA FALLS   WI         54729                 6004                Various                                                                                                $1.09
JAMIE BOND                     #1 WALNUT                                                      BONE GAP         IL         62815                 6002                Various                                                                                                $1.81
JAMIE BRADASERIC               1414 GLENWOOD AVE                                              RHINELANDER      WI         54501                 6002                Various                                                                                                $2.33
JAMIE BROWN                    4200 S 27TH ST                                                 LINCOLN          NE         68516                 6004                Various                                                                                               $43.00
JAMIE BRUCKNER                 623 N MAIN ST                                                  ABERDEEN         SD         57401                 6002                Various                                                                                                $0.74
JAMIE BUTKOVICH                1000 SWANHORSESHOES                                            KALIPELL         MT         59901                 6002                Various                                                                                                $1.42
JAMIE CARPENTER                902 ELM DR                                                     MASON CITY       IA         50401                 6002                Various                                                                                                $4.93
JAMIE CHAMPINE                 1758 OHAREN LANE                                               DE PERE          WI         54115                 6004                Various                                                                                               $25.00
JAMIE COLE                     540 W GRANT ST                                                 WEST POINT       NE         68788                 6002                Various                                                                                                $4.38
JAMIE CREWS                    501 N ROSS ST                                                  BRICELYN         MN         56014                 6004                Various                                                                                                $3.00
JAMIE CULLEY                   905 27TH AVE                                                   COUNCIL BLUFFS   IA         51501                 6004                Various                                                                                               $20.00
JAMIE DAY                      420 HIWY # 20 PMB N                                            WORLAND          WY         82401                 6002                Various                                                                                                $6.68
JAMIE DELLINGER                264 JEFFERSON ST                                               LANDER           WY         82520                 6002                Various                                                                                                $2.74
JAMIE DURRETT                  LINCOLN AVE                                                    HOT SPRINGS      SD         57747                 6002                Various                                                                                                $4.60
JAMIE FARRIS                   RR 1 BOX 29A                                                   FAIRVIEW         UT         84629                 6002                Various                                                                                                $3.75
JAMIE FREUND                   1111 WISCONSIN AVE                                             N. FOND DU LAC   WI         54935                 6002                Various                                                                                                $7.01
JAMIE GABLE                    403 E CENTER ST APT123                                         ADAMS            WI         53910                 6004                Various                                                                                                $2.00
JAMIE GANTER                   4731 PINE RIDGE TRL                                            ABRAMS           WI         54101                 6002                Various                                                                                                $0.79
JAMIE GROBY                    1911 W OAKLAND AVE                                             AUSTIN           MN         55912                 6004                Various                                                                                                $3.00
JAMIE HANKS                    408 8TH ST SE                                                  WATERTOWN        SD         57201                 6002                Various                                                                                                $5.10
JAMIE HARRISON                 224 HECLA ST                                                   CALUMET          MI         49913                 6002                Various                                                                                                $4.99
JAMIE HENRICHS                 427 PINE STREET                                                MEDFORD          WI         54451                 6004                Various                                                                                               $10.00
JAMIE HENRY                    1010 REGENCY PARKWAY       APT 12                              OMAHA            NE         68114                 6004                Various                                                                                                $2.00
JAMIE HERMAN                   5830 CEDAR ST                                                  OMAHA            NE         68106                 6004                Various                                                                                                $4.00
JAMIE HESPEN                   207 MAPLE ST                                                   PLYMOUTH         NE         68424                 6002                Various                                                                                                $2.52
JAMIE HOVITEK                  PO BOX 687                                                     SOUTH SHORE      SD         57263                 6004                Various                                                                                                $4.00
JAMIE HUTH                     130 BYRD STREET            APT 106                             NEENAH           WI         54956                 6004                Various                                                                                               $40.00
JAMIE INGALLS                  232 GERTRUDE ST                                                KAUKAUNA         WI         54130                 6002                Various                                                                                                $4.68
JAMIE JARO                     3927 E. 36TH AVE.                                              SPOKANE          WA         99223                 6004                Various                                                                                                $1.00
JAMIE JENNINGS                 6203 SOUTH SHAGBARK                                            BOISE            ID         83716                 6004                Various                                                                                               $15.98
JAMIE JOHNSON                  505 2ND AVE                                                    LAUREL           MT         59044                 6004                Various                                                                                               $30.00
JAMIE KOEHLER                  932 N POLK AVE                                                 MASON CITY       IA         50401                 6002                Various                                                                                                $2.74
JAMIE L HOFFMAN                214 1ST AVE PO BOX # 283                                       CHESTER          SD         57016                 6002                Various                                                                                                $6.58
JAMIE L KUHNS                  824 1/2 MILWAUKEE ST                                           MENASHA          WI         54952                 6002                Various                                                                                                $7.01
JAMIE LILLIE                   2311 PEARL CT SE                                               ROCHESTER        MN         55904                 6002                Various                                                                                                $1.32
JAMIE LYNN HAASCH              2511 24TH AVE NW                                               ROCHESTER        MN         55901                 6002                Various                                                                                                $6.08
JAMIE LYNN KLESMITH            422 SCHOOL ST                                                  WEYAUWEGA        WI         54983                 6002                Various                                                                                                $4.60
JAMIE M TRUOG                  113 E MAIN ST                                                  MARSHALL         MN         56258                 6002                Various                                                                                                $9.29
JAMIE MCCORD                   11190 5TH AVE NW                                               AUSTIN           MN         55912                 6004                Various                                                                                                $3.00
JAMIE MEDINA                   6025 CLEVELAND                                                 LINCOLN          NE         68507                 6004                Various                                                                                                $4.00
JAMIE MEEK                     4711 E CARDINEL DR                                             SYRACUSE         IN         46567                 6002                Various                                                                                                $5.26
JAMIE MEYER                    1570 12 TH STREET                                              IDAHO FALLS      ID         83404                 6004                Various                                                                                               $24.00
JAMIE MUNOZ VAZQUEZ            1522 TROY DR. APT. 7                                           MADISON          WI         53704                 6004                Various                                                                                                $1.00
JAMIE PERKINS                  417 7TH ST. N              #31                                 SARTELL          MN         56377                 6004                Various                                                                                                $3.00
JAMIE PETERSON                 1205 STETSON RD                                                HELENA           MT         59602                 6002                Various                                                                                                $1.81
JAMIE POLLACK                  517 A MAPLE STREET                                             RHINELANDER      WI         54501                 6004                Various                                                                                                $1.00
JAMIE PRICE                    1117 WESTLAWN AVE                                              RACINE           WI         53405                 6004                Various                                                                                               $15.99




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                                                                                                                                                        Account         Incurred, Basis for
             Creditor Name                Address1               Address2            Address3             City        State           Zip   Country     Number                Claim                                                                             Total Claim
JAMIE R ROOT                  31594 277TH ST                                                      WINNER           SD         57580                 6002                Various                                                                                             $7.86
JAMIE RABE                    17959 480TH ST                 APT 4                                ZUMBROTA         MN         55992                 6004                Various                                                                                             $3.00
JAMIE RADOMSKI                404 1/2 DEWEY AVE                                                   WATERTOWN        WI         53094                 6002                Various                                                                                             $7.12
JAMIE REEVES                  508 MAIN ST P O BOX # 474                                           PERU             NE         68421                 6002                Various                                                                                             $2.49
JAMIE REMINGTON               3599 S LA SUESUE                                                    SALT LAKE CITY   UT         84119                 6004                Various                                                                                            $30.00
JAMIE RENDMEISTER             100 SUNSHINE CIRCLE            APT 18                               CHIPPEWA FALLS   WI         54729                 6004                Various                                                                                            $15.60
JAMIE ROFFERS                 935 VICTORY BLVD                                                    GREEN BAY        WI         54304                 6002                Various                                                                                           $148.60
JAMIE ROGERS                  431 W SOUTH PARK AVE                                                OSHKOSH          WI         54902                 6004                Various                                                                                             $7.52
JAMIE SCHRIEVER               17310 740TH ST                                                      HAYFIELD         MN         55940                 6002                Various                                                                                             $7.48

JAMIE SCHUMACHER              2700 S MEMORIAL DR., APT E45                                        GREEN BAY        WI         54313                  6004               Various                                                                                            $10.02
JAMIE SCOTT                   409 N ELLSWORTH RD LOT 34                                           BOX ELDER        SD         57719                  6002               Various                                                                                             $6.55
JAMIE SNOW                    123 N MARKET ST                                                     MOUNT CARMEL     IL         62863                  6002               Various                                                                                             $0.55
JAMIE SPEARS                  5211 52ND STREET, APT 21                                            KENOSHA          WI         53144                  6004               Various                                                                                            $10.02
JAMIE TRUITT                  6217 HARVEST LN.                                                    DEFOREST         WI         53532                  6004               Various                                                                                            $23.00
JAMIE VAN NORMAN              215 7TH AVE                                                         BELLE FOURCHE    SD         57717                  6002               Various                                                                                             $1.59
JAMIE VANDER WOUDE            207 MONROE ST                  APT 15                               BEAVER DAM       WI         53916                  6004               Various                                                                                            $39.00
JAMIE VEESER                  N7289 CREVICE RD                                                    CASCO            WI         54205                  6004               Various                                                                                             $5.80
JAMIE WALLACE                 W10940 CTY RD H                                                     BRUCE            WI         54819                  6004               Various                                                                                             $1.00
JAMIE WILLIAMSON              914 LUTHER PL                  APT 2                                ALBERT LEA       MN         56007                  6004               Various                                                                                             $7.14
JAMIE YOUNG                   256 E 800TH S APT B26                                               BRIGHAM CITY     UT         84302                  6002               Various                                                                                             $5.18
JAMIE ZAKOWSKI                550 S NINTH ST APT 14                                               DE PERE          WI         54115                  6004               Various                                                                                             $1.65
JAMIE ZEAMER                  5392 TOWER RD                                                       DE PERE          WI         54115                  6002               Various                                                                                             $4.90
JAMIE ZWEIFEL                 132 TOWNLINE AVE                                                    SOUTH BELOIT     IL         61080                  6004               Various                                                                                            $11.02
JAMILA AHMED                  12 GRAND CANYON CT                                                  MADISON          WI         53705                  6004               Various                                                                                             $1.00
JAMILETH SALDANA              245 BLANCHARD RD                                                    PRESCOTT         WA         99348                  6004               Various                                                                                            $24.00
JAMISON ELLIOTT               3680 RAINBOW DR                                                     HELENA           MT         59602                  6004               Various                                                                                             $2.00
JAMISON SCHALLOCK             PO BOX 208                                                          LAKE CRYSTAL     MN         56055                  6004               Various                                                                                            $16.12
JAMONTAE MARTIN               1127 MANITOWOC RD                                                   MENASHA          WI         54952                  6004               Various                                                                                             $2.00
JAN ARENDS                    219 CTY RD 6                                                        WABASSO          MN         56293                  6004               Various                                                                                             $4.93
JAN BASKINS                   700 E NEWKIRK ST APT 1                                              TUSCOLA          IL         61953                  6002               Various                                                                                             $0.77
JAN BRETZ                     3700 SOUTH 32ND ST PLACE                                            LINCOLN          NE         68502                  6004               Various                                                                                             $1.54
JAN BROCK                     2949 WILD ROSE LN                                                   ONALASKA         WI         54650                  6002               Various                                                                                             $4.00
JAN JOHNSON                   2882 TRIANGLE RDE                                                   FISH CREEK       WI         54212                  6002               Various                                                                                             $7.84
JAN JUNTUNEN                  16733 TORRO RD                                                      CHASSELL         MI         49916                  6002               Various                                                                                             $7.15
JAN KLEVE                     311 1ST ST NE                                                       WAUCOMA          IA         52171                  6002               Various                                                                                             $3.29
JAN M SMADES                  1203 MAIN ST                                                        LARNED           KS         67550                  6002               Various                                                                                             $7.89
JAN MEYER                     209 WEBSTER #102                                                    BEAVER DAM       WI         53916                  6004               Various                                                                                            $27.00
JAN MUKKA                     5300 52ND STREET                                                    KENOSHA          WI         53144                  6004               Various                                                                                           $195.00
JAN RAU                       1121 ROAD M16                                                       HARLAN           IA         51537                  6002               Various                                                                                             $8.52
JAN RIAL                      8293 HOUSTON RD                                                     EATON RAPIDS     MI         48827                  6002               Various                                                                                             $8.41
JAN SWEENEY                   310-13TH AVENUE                                                     WAUKON           IA         52172                  6002               Various                                                                                             $8.22
JAN VANCE                     9885 S SHADY GLEN LN                                                SOUTH JORDAN     UT         84095                  6002               Various                                                                                             $1.34
JAN WERNER                    697 W COURT ST                                                      BEATRICE         NE         68310                  6002               Various                                                                                             $6.68
JANA BERTOLONE                317 30TH ST                    APT 129D                             SPRINGFIELD      OR         97478                  6004               Various                                                                                            $22.00
JANA SHAW                     960 KOSTER AVE                                                      IDAHO FALLS      ID         83404                  6002               Various                                                                                             $4.77
JANAE GUBBLES                 56342 585TH RD                                                      CARROL           NE         68723                  6002               Various                                                                                             $4.99
JANAE MARION KING             6010 EVANS ST                                                       OMAHA            NE         68104                  6004               Various                                                                                             $4.00
JANCINE CAMPBELL              210 TAMARACK                                                        OROFINO          ID         83544                  6002               Various                                                                                             $3.51
JANDY LOPEZ-MONTERROSA        168 E MAIN ST                                                       RICHMOND         UT         84333                  6002               Various                                                                                             $8.63
JANE ALBERS                   2885 LUMBER LANE                                                    GREEN BAY        WI         54313                  6002               Various                                                                                             $4.16
JANE ANN WEISENBERGER         208 FAIRFIELD AVE                                                   ARCADIA          WI         54612                  6002               Various                                                                                             $0.96
JANE BEAVER                   3447 HALLIE LN                                                      EAU CLAIRE       WI         54703                  6002               Various                                                                                             $0.44
JANE C GIBSON                 300 E SALE ST                                                       TUSCOLA          IL         61953                  6002               Various                                                                                             $1.62




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                                                                                                                                                  Last 4 Digits of     Date Debt was
                                                                                                                                                     Account         Incurred, Basis for
              Creditor Name                Address1             Address2        Address3             City          State           Zip   Country     Number                Claim                                                                             Total Claim
JANE CLARK                     8607 MARGARET ST                                              ROTHSCHILD         WI         54474                 6002                Various                                                                                                $1.56
JANE COOK                      885 15TH RD                                                   LYONS              KS         67554                 6002                Various                                                                                                $6.49
JANE CURRY-AMODEO              2331 WOODLAND CT                                              FREEPORT           IL         61032                 6004                Various                                                                                               $11.18
JANE DRURY                     1674 MILL CREEK CIR                                           MARQUETTE          MI         49855                 6002                Various                                                                                                $0.82
JANE ELLS                      44633 US HIGHWAY 12                                           WAUBAY             SD         57273                 6002                Various                                                                                                $6.88
JANE HEDING                    630 W BIRD AVE                                                WAUTOMA            WI         54982                 6002                Various                                                                                                $7.89
JANE HULETT                    309 N WEST TOWN LINE RD                                       FAIRCHILD          WI         54741                 6004                Various                                                                                                $2.00
JANE INGRAM                    317 W 3RD ST                                                  JULESBURG          CO         80737                 6002                Various                                                                                               $10.00
JANE JOCH                      14605 COUNTY RD Q                                             WAUPACA            WI         54981                 6004                Various                                                                                                $5.90
JANE KASIANOWICZ               7826 29TH AVE                                                 KENOSHA            WI         53143                 6004                Various                                                                                               $15.86
JANE KENT                      3117 KUNKLE BLVD                                              FREEPORT           IL         61032                 6002                Various                                                                                                $2.08
JANE KOLSTAD                   1103 VALLEYVIEW DRIVE                                         GLASGOW            MT         59230                 6004                Various                                                                                               $31.02
JANE KRAWISZ                   1600 N HILL AVENUE                                            MARSHFIELD         WI         54449                 6004                Various                                                                                               $52.80
JANE LEE                       PO BOX 161                                                    ELLISON BAY        WI         54210                 6002                Various                                                                                                $6.05
JANE M ERICKSON                356 LYNCREST DR                                               LINCOLN            NE         68510                 6002                Various                                                                                                $3.81
JANE M LEE                     267 12TH ST                                                   IDAHO FALLS        ID         83404                 6002                Various                                                                                                $0.85
JANE MARXEN                    110 32ND AVE N                                                SAINT CLOUD        MN         56303                 6004                Various                                                                                                $3.00
JANE MCGEE                     8211 HICKORY LANE                                             LINCOLN            NE         68510                 6004                Various                                                                                                $3.00
JANE MCMAHON                   742 THIRD ST.                                                 BARABOO            WI         53913                 6004                Various                                                                                               $25.00
JANE MEREDIT DONOVAN           297 COUNTY ROAD 89                                            ZUMBRO FALLS       MN         55991                 6002                Various                                                                                                $6.68
JANE MORRISEY                  72 W CLIFTON AVE                                              SIOUX CITY         IA         51104                 6002                Various                                                                                                $4.05
JANE NOHR                      1244 O KEEFE CT                                               DE PERE            WI         54115                 6002                Various                                                                                                $5.84
JANE NORTON                    W7207 CTY RD OO                                               FOND DU LAC        WI         54937                 6002                Various                                                                                                $6.74
JANE PENDERGAST                N388 WUNDROW CT                                               KIMBERLY           WI         54136                 6002                Various                                                                                                $5.04
JANE RAETHER                   N64W23552 IVY AVE                                             SUSSEX             WI         53089                 6002                Various                                                                                                $5.89
JANE REESE                     301 CRAWFORD ST                                               COPPER CITY        MI         49917                 6002                Various                                                                                                $1.73
JANE SELLNOW                   411 N CLARK ST APT 104                                        MAYVILLE           WI         53050                 6002                Various                                                                                                $0.66
JANE TENOR                     2425 COPPER LN                                                GREEN BAY          WI         54311                 6002                Various                                                                                                $1.15
JANE TIBBETTS                  1922 TAMARACK ST                                              PLOVER             WI         54467                 6002                Various                                                                                                $2.71
JANE TOWNSEND                  220 S RERICK AVE                                              PRIMGHAR           IA         51245                 6002                Various                                                                                                $6.79
JANE TUCKER                    3284 JASON AVE                                                SMITHLAND          IA         51056                 6002                Various                                                                                                $4.49
JANE VAN HAREN                 1630 TAMARACK STREET                                          PLOVER             WI         54467                 6004                Various                                                                                               $10.00
JANE WITMAN                    4434 OAKRIDGE CIR                                             DE PERE            WI         54115                 6002                Various                                                                                                $1.62
JANE WOODWARD                  2301 N. WILBER RD.         #12                                SPOKANE            WA         99206                 6004                Various                                                                                                $8.20
JANE****BP** BRYAN             650 N 9TH ST                                                  LANDER             WY         82520                 6002                Various                                                                                                $1.42
JANEAL BAXTER                  1618 N GENEVA RD                                              PROVO              UT         84601                 6004                Various                                                                                               $20.00
JANEANNE DIX                   11952 EISENHOWER DRIVE                                        CHILI              WI         54420                 6004                Various                                                                                               $22.25
JANEEN DIRKS                   31459 ROBERTS AVE                                             WORTHINGTON        MN         56187                 6004                Various                                                                                                $3.00
JANEEN PARK                    5819 MIAMI ST                                                 OMAHA              NE         68104                 6002                Various                                                                                                $5.37
JANEEN VOLOSEVICH              4527 LUDLOW RD SW                                             SOUTH BOARDMAN     MI         49680                 6002                Various                                                                                                $2.16
JANEL HAWE                     3126 N 10TH ST                                                COEUR D ALENE      ID         83815                 6002                Various                                                                                                $8.47
JANEL MICHAEL                  4301 SW 12TH ST                                               LINCOLN            NE         68522                 6002                Various                                                                                                $5.42
JANEL NEVILL                   5723 S 104TH AVENUE                                           OMAHA              NE         68127                 6004                Various                                                                                               $20.00
JANEL PENNING                  629 HERRITAGE DR APT 305                                      BROOKINGS          SD         57006                 6004                Various                                                                                               $25.00

JANEL SABATKE                  2320 12TH STREET SOUTH                                        WISCONSIN RAPIDS   WI         54494                  6004               Various                                                                                               $15.99
JANELL DRAPER                  2430 N DORCHESTER AVE.                                        OGDEN              UT         84414                  6004               Various                                                                                               $69.96
JANELL JOHNSON                 1401 GEORGE ST                                                SIOUX CITY         IA         51103                  6002               Various                                                                                               $11.37
JANELL ROYLE                   1107 LAMPLIGHTER DR                                           LOGAN              UT         84321                  6002               Various                                                                                                $1.18
JANELL SCHREINER               1636 S 26TH ST                                                NAMPA              ID         83686                  6002               Various                                                                                                $9.10
JANELLE BAKKE                  119 E CHERRY ST APT 1                                         SISSETON           SD         57262                  6002               Various                                                                                                $0.41
JANELLE DEHART                 77065 ROAD 412                                                GOTHENBURG         NE         69138                  6002               Various                                                                                                $2.90
JANELLE DUMARCE                44511 SACRED HILLS CIR                                        VEBLEN             SD         57270                  6002               Various                                                                                                $4.08
JANELLE GOLDMAN                2770 STAFFORD                                                 IDAHO FALLS        ID         83406                  6004               Various                                                                                               $45.00




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                                                                                                                                                     Account         Incurred, Basis for
              Creditor Name               Address1               Address2         Address3             City        State           Zip   Country     Number                Claim                                                                             Total Claim
JANELLE HALL                   14717 L ST                                                      OMAHA            NE         68137                 6002                Various                                                                                                $2.99
JANELLE HIGBEE                 110 N. MAIN STREET                                              PLEASANT GROVE   UT         84062                 6004                Various                                                                                               $32.86
JANELLE NICO STEENSEN          N5061 810TH ST                                                  ELLSWORTH        WI         54011                 6002                Various                                                                                                $0.36
JANELLE SEBRING                2621 10TH ST                                                    EAST WENATCHEE   WA         98802                 6004                Various                                                                                               $20.00
JANELLE TIEBOUT                5707 38TH AVE                                                   KENOSHA          WI         53144                 6004                Various                                                                                               $23.00
JANELLE TOLMAN                 405 HAMPTON                                                     CHUBBUCK         ID         83202                 6004                Various                                                                                               $33.00
JANENE OLSEN                   2569 W 620TH N                                                  PROVO            UT         84604                 6002                Various                                                                                                $5.86
JANESSA BLAKEY                 4534 FOLWER ST                                                  OMAHA            NE         68111                 6004                Various                                                                                               $25.00
JANESSA HAMANN                 1119 JOHNSON AVE                                                WORTHINGTON      MN         56187                 6004                Various                                                                                                $3.00
JANESSA PONCIN-HORNER          1736 ORCHID DRIVE NORTH                                         MANKATO          MN         56003                 6004                Various                                                                                                $6.73
JANET A SHAKAL                 31419 130TH AVE                                                 BOYD             WI         54726                 6002                Various                                                                                                $8.68
JANET A. SADER                 12 BASSWOOD CIR                                                 BABBITT          MN         55706                 6002                Various                                                                                                $4.03
JANET ACKLAND                  71236 255TH ST                                                  ALBERT LEA       MN         56007                 6004                Various                                                                                                $3.00
JANET ARTHUR                   1185 W DENI STREET                                              COEUR D ALENE    ID         83815                 6002                Various                                                                                                $6.25
JANET BARTZ                    606 NORTH PROSPECT                                              CRANDON          WI         54520                 6004                Various                                                                                               $49.99
JANET BEHRENS                  1631 MONROE AVE                                                 RACINE           WI         53405                 6002                Various                                                                                                $4.16
JANET BRANNUM                  2737 MARY JANE BLVD                                             MISSOULA         MT         59808                 6002                Various                                                                                                $1.56
JANET C HIGGINS                830 26TH ST SE                                                  ROCHESTER        MN         55904                 6002                Various                                                                                                $0.88
JANET CIGELSKE                 1034 HAMLET DR S                                                AVON             MN         56310                 6004                Various                                                                                                $4.86
JANET CONWAY                   19253 COUNTY ROAD 2                                             CHATFIELD        MN         55923                 6002                Various                                                                                                $6.79
JANET DEGREEFF                 1990 28TH ST                                                    SLAYTON          MN         56172                 6002                Various                                                                                                $0.38
JANET DIAZ                     305 S CEDAR ST                                                  GALLATIN         MO         64640                 6002                Various                                                                                                $3.53
JANET DRURY                    1709 DORRET ROAD                                                EAU CLAIRE       WI         54703                 6004                Various                                                                                               $25.00
JANET ECHLIN                   W7179 N OAKWOOD CIR                                             NESHKORO         WI         54960                 6002                Various                                                                                               $10.00

JANET ERVIN                    1025 WEST MAC ARRTHUR AVE.   APT. # 109                         EAU CLAIRE       WI         54701                  6004               Various                                                                                               $20.00
JANET F HOLZER                 443 W 10TH AVE                                                  OSHKOSH          WI         54902                  6002               Various                                                                                                $3.86
JANET FANE                     905 S STATE AVE                                                 FREEPORT         IL         61032                  6002               Various                                                                                                $3.10
JANET FELIN                    3688 COBBLESTONE LN                                             IDAHO FALLS      ID         83404                  6002               Various                                                                                                $1.26
JANET FINK                     1120 WOODLAND DR                                                MENASHA          WI         54952                  6002               Various                                                                                                $5.37
JANET GARVEY                   8600 CORPORATE DR                                               RACINE           WI         53406                  6002               Various                                                                                               $74.96
JANET GENZ                     W1689 GOPHER HILL RD                                            IXONIA           WI         53036                  6002               Various                                                                                                $6.52
JANET GOING                    2202 SANDSTONE RD                                               LINCOLN          NE         68512                  6004               Various                                                                                               $59.92
JANET GUEST                    RR3 BOX 181                                                     CLARK            SD         57225                  6004               Various                                                                                               $16.00
JANET HEVERAN                  11749 BEACH RD                                                  SISTER BAY       WI         54234                  6002               Various                                                                                                $0.99
JANET HILLS                    2106 3RD ST.                                                    WAUSAU           WI         54403                  6004               Various                                                                                               $25.00
JANET HOWARD                   1420 TUCANNON ROAD                                              POMEROY          WA         99347                  6004               Various                                                                                               $32.61
JANET HUGHES                   1749 S LINCOLN ST                                               ABERDEEN         SD         57401                  6002               Various                                                                                                $2.66
JANET JUENGEL                  3332 WEST ALFRED DR.                                            TOOELE           UT         84074                  6004               Various                                                                                                $4.00
JANET K HIATT                  1700 CREEK RD APT 103                                           WEST BEND        WI         53090                  6002               Various                                                                                                $7.29
JANET KAMIN                    3811 SANDPIPER WAY                                              GREEN BAY        WI         54311                  6002               Various                                                                                                $2.77
JANET KING                     2204 JACKSON ST                                                 SIOUX CITY       IA         51104                  6002               Various                                                                                                $7.89
JANET KRAUSE                   PO BOX 790                                                      FISH CREEK       WI         54212                  6002               Various                                                                                               $48.05
JANET L MAY                    216 E SYLVAN AVE                                                APPLETON         WI         54915                  6002               Various                                                                                                $0.58
JANET LASHBROOK                1216 WOODGATE LN                                                NEENAH           WI         54956                  6002               Various                                                                                                $7.12
JANET LEBARRON                 E19041 FASKE ROAD                                               EAU CLAIRE       WI         54722                  6004               Various                                                                                                $2.00
JANET LEE                      2163 LAURA STREET                                               SPRINGFIELD      OR         97477                  6004               Various                                                                                                $5.02
JANET LEONARD                  400 680 EAST STREET                                             MT STERLING      IL         62301                  6004               Various                                                                                               $20.20
JANET LINSEY                   291 N 300 W                                                     RUPERT           ID         83350                  6004               Various                                                                                               $12.00
JANET LISOWSKI                 824 TERRAVIEW CT                                                GREEN BAY        WI         54301                  6002               Various                                                                                                $0.79
JANET LOPEZ                    1337 GRAND AVE                                                  SHEBOYGAN        WI         53083                  6004               Various                                                                                               $23.00
JANET LORENZ                   25745 CTY RD # 138                                              ST. CLOUD        MN         56301                  6002               Various                                                                                                $5.40
JANET LUST                     301 S INGERSOLL ST #100                                         MADISON          WI         53703                  6004               Various                                                                                               $15.00
JANET LYNN FRANK               PO BOX 152                                                      ABRAMS           WI         54101                  6002               Various                                                                                                $0.74




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JANET M RODRIGUEZ              87064 494TH AVE LOT 43                                          ONEILL           NE         68763                 6002                Various                                                                                                $0.27
JANET M. LAFERRIERE            540 CHINOOK PL                                                  BILLINGS         MT         59102                 6002                Various                                                                                               $10.00
JANET MARCUCCIO                3264 CHARDONNAY CT                                              GREEN BAY        WI         54301                 6002                Various                                                                                                $6.82
JANET MARTINEZ                 58395 ROAD                    PO BOX 291                        WAKEFIELD        NE         68784                 6004                Various                                                                                               $25.00
JANET MAW                      455 E 900TH N APT 2                                             LOGAN            UT         84321                 6002                Various                                                                                                $7.62
JANET MEREDITH                 8 GRAND AVE                                                     NEILLSVILLE      WI         54456                 6002                Various                                                                                                $1.73
JANET MIHM                     3715 N 17TH ST                                                  SHEBOYGAN        WI         53083                 6002                Various                                                                                                $7.01
JANET NOE                      E10947 CTY RD C APT D                                           CLINTONVILLE     WI         54929                 6002                Various                                                                                                $3.92
JANET O'CONNOR                 N4519 VISTA DR.                                                 CAMPBELLSPORT    WI         53010                 6004                Various                                                                                               $15.00
JANET OLSON                    225 16TH AVE SE                                                 ROCHESTER        MN         55904                 6004                Various                                                                                                $6.00
JANET PORTWOOD                 RR 8 BOX 4958                                                   DONIPHAN         MO         63935                 6002                Various                                                                                                $6.93
JANET ROBINSON                 5011 DORIAN ST                                                  POCATELLO        ID         83202                 6002                Various                                                                                                $6.60
JANET ROMBERG                  W11097 RIVERSIDERD                                              MARION           WI         54950                 6002                Various                                                                                                $4.63
JANET RUSSELL                  7788 313TH AVE NE                                               NORTH BRANCH     MN         55056                 6002                Various                                                                                                $2.55
JANET S MOSER                  3215 7TH ST                                                     LEWISTON         ID         83501                 6002                Various                                                                                                $5.95
JANET S. WHEELER               1218 W 5TH ST                                                   GRAND ISLAND     NE         68801                 6002                Various                                                                                                $7.70
JANET SCHERTZ                  210 N NORTHFORK DR                                              WAUSAU           WI         54401                 6004                Various                                                                                               $23.75
JANET SCHWARTZKOFF             3107 BUENA VISTA RD                                             TORRINGTON       WY         82240                 6002                Various                                                                                                $3.33
JANET SMICK                    4984 MEADOW LN                                                  VESPER           WI         54489                 6002                Various                                                                                                $3.59
JANET SMITH                    19633 HIGHWAY 126                                               WALTON           OR         97490                 6004                Various                                                                                               $65.00
JANET SNYDER                   525 69TH STREET                                                 KENOSHA          WI         53143                 6004                Various                                                                                               $50.00
JANET SULLIVAN                 410 MAIN AVE                                                    KAUKAUNA         WI         54130                 6002                Various                                                                                                $3.10
JANET SWAN                     2102 10TH ST                                                    MARINETTE        WI         54143                 6002                Various                                                                                                $3.32
JANET VANDEVENDER              3052 SANDS ST                                                   MALAGA           WA         98828                 6002                Various                                                                                                $3.61
JANET WAGNER                   11348 HIGHWAY 63 N                                              ROCHESTER        MN         55906                 6002                Various                                                                                                $5.42
JANET WAY                      1203 WILSHIRE DR.                                               STEVENS POINT    WI         54482                 6004                Various                                                                                               $10.72
JANET ZEISS                    790 SHORELINE DR                                                HOWARD LAKE      MN         55349                 6002                Various                                                                                                $2.93
JANET ZORN                     3143 17TH AVE S                                                 MINNEAPOLIS      MN         55407                 6002                Various                                                                                                $0.55
JANETH HERNANDEZ               49885 220TH ST                                                  MORRIS           MN         56267                 6002                Various                                                                                                $9.23
JANETTE CARTER                 1074 E 760TH N                                                  OREM             UT         84097                 6002                Various                                                                                                $1.37

JANETTE CONLEY                 240 SUNLOOP LANE BOX # 1906                                     GREAT FALLS      MT         59404                  6002               Various                                                                                                $6.74
JANETTE HAZELETT               215 E WALNUT ST                                                 MANLY            IA         50456                  6002               Various                                                                                                $8.66
JANETTE MARTINEZ               9946 T PLZ APT B                                                OMAHA            NE         68127                  6004               Various                                                                                                $4.00
JANEY BELONGIA                 8158 TWO MILE RD                                                OCONTO           WI         54153                  6002               Various                                                                                                $4.66
JANICE ANDERSON                1809 14TH AVE SE                                                WATERTOWN        SD         57201                  6002               Various                                                                                                $4.25
JANICE ARNEY                   131 HILLCREST DR                                                NORTH PLATTE     NE         69101                  6002               Various                                                                                                $3.89
JANICE BLANKENSHIP             502 ARROW ST                                                    LELAND           IA         50453                  6002               Various                                                                                                $0.27
JANICE BRUDOS                  W5826 COULEE SPRINGS LN                                         LA CROSSE        WI         54601                  6002               Various                                                                                                $8.63
JANICE C. TYLER                1017 1/2 N 7TH ST                                               COEUR D ALENE    ID         83814                  6002               Various                                                                                                $6.60
JANICE CHAGNON                 300 CLEVELAND ST APT 106                                        DOWAGIAC         MI         49047                  6002               Various                                                                                                $1.51
JANICE DAVIS                   4019 N 2100TH E                                                 FILER            ID         83328                  6002               Various                                                                                                $4.05
JANICE DIETRICH                1108 4TH AVENUE                                                 GRAFTON          WI         53024                  6002               Various                                                                                                $7.23
JANICE E THORP                 111 E MICHIGAN AVE                                              JACKSONVILLE     IL         62650                  6002               Various                                                                                               $10.00
JANICE EVANS                   532 W 200TH N                                                   LOGAN            UT         84321                  6002               Various                                                                                                $4.66
JANICE FLATTEN                 208 HIGHVIEW DR PO BOX # 29                                     DASSEL           MN         55325                  6002               Various                                                                                                $2.14
JANICE FOOT                    1128 HELENA FLATS RD                                            KALISPELL        MT         59901                  6002               Various                                                                                                $7.21
JANICE GEST                    526 SUGAR CREEK RD APT 5                                        DELAVAN          WI         53115                  6002               Various                                                                                                $7.01
JANICE GREGORY                 204 CAROBETH DR LELAND LK                                       JACKSONVILLE     IL         62650                  6002               Various                                                                                                $7.56
JANICE H PARMER                E10950 E MALLARD RD                                             FALL CREEK       WI         54742                  6002               Various                                                                                                $1.62
JANICE HORTON                  1549 HALL RD SW                                                 SOUTH BOARDMAN   MI         49680                  6002               Various                                                                                                $6.55
JANICE I FAUST                 834 TWIN HARBOR DR                                              WINNECONNE       WI         54986                  6002               Various                                                                                                $3.67
JANICE JONES                   1054 WATER STREET                                               WHEATLAND        WY         82201                  6002               Various                                                                                                $8.21
JANICE JOURDAN                 204 PRIMROSE LN                                                 GREEN BAY        WI         54311                  6002               Various                                                                                                $2.05




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               Creditor Name                Address1               Address2          Address3             City          State           Zip   Country     Number                Claim                                                                             Total Claim
JANICE KINNEY                   1615 ASPEN ST APT 521                                             HELENA             MT         59601                 6004                Various                                                                                             $5.00
JANICE KNUTSON                  EAST COUNTY ROAD C 6165                                           FENCE              WI         54120                 6004                Various                                                                                            $35.20
JANICE L JONES                  23051 CO HIGHWAY 110                                              FERGUS FALLS       MN         56537                 6002                Various                                                                                             $9.86
JANICE L MULLEN                 PO BOX 98                                                         NISLAND            SD         57762                 6002                Various                                                                                             $7.75
JANICE LAEL                     5299 N HANGER                                                     BEARDSTOWN         IL         62618                 6004                Various                                                                                           $119.98
JANICE M KUDLACZ STONES         611 S 51ST ST                                                     LINCOLN            NE         68510                 6002                Various                                                                                             $1.73
JANICE MARTINEZ                 410 7TH AVE NE                                                    PLAINVIEW          MN         55964                 6002                Various                                                                                             $1.75
JANICE MCLAUGHLIN               1328 SUNSET DR                                                    EMMETT             ID         83617                 6004                Various                                                                                            $48.00
JANICE MEHLHOFF                 5038 30TH AVE S                                                   MINNEAPOLIS        MN         55417                 6002                Various                                                                                             $8.82
JANICE N KROEGER                3547 COUNTY ROAD 185                                              PALMYRA            MO         63461                 6002                Various                                                                                             $7.32
JANICE NEESAM                   446 WATERLOO STREET                                               COLUMBUS           WI         53925                 6002                Various                                                                                             $2.04
JANICE OLSON                    N6690 HIGHWAY 55                                                  HILBERT            WI         54129                 6002                Various                                                                                             $0.58
JANICE O'MEAGHER                3708 NORTH AVENUE WEST                                            MISSOULA           MT         59804                 6004                Various                                                                                            $22.50

JANICE RODOCK                   151 BUFFALO STREET                                                WISCONSIN RAPIDS   WI         54494                  6004               Various                                                                                            $46.40
JANICE RULE                     BOX 734                                                           DILLON             MT         59725                  6002               Various                                                                                             $7.18
JANICE SAVALL                   61 W WOODRIDGE DR                                                 RIVER FALLS        WI         54022                  6002               Various                                                                                             $4.49
JANICE SEATON                   7120 85TH LANE S E                                                OLYMPIA            WA         98513                  6004               Various                                                                                            $20.02
JANICE SMITH                    897 WEST ST                                                       BELOIT             WI         53511                  6004               Various                                                                                             $2.00
JANICE SORENSEN                 DOVE HEALTH CARE               1405 TRUAX BLVD                    EAU CLAIRE         WI         54703                  6004               Various                                                                                           $125.00
JANICE UNRUH                    1427 BLACK MOUNTAIN RD                                            BONNERS FERRY      ID         83805                  6002               Various                                                                                             $7.29
JANICE WIESNER                  1940 CHARLES ST                                                   DE PERE            WI         54115                  6002               Various                                                                                             $6.77
JANICE ZIMMER                   2514 RUTLEDGE AVENUE                                              JANESVILLE         WI         53545                  6002               Various                                                                                             $1.01
JANIE BEST                      130 LARKIN LANE                                                   SELAH              WA         98942                  6004               Various                                                                                            $20.20

JANIE DAVIS                     21260 UPPER RD # TWO PMB BIT                                      DEADWOOD           SD         57732                  6002               Various                                                                                               $10.00
JANIE HOLLIDAY                  3576 8TH ST NW                                                    ROCHESTER          MN         55901                  6002               Various                                                                                                $0.66
JANIE MOSIER                    407 EAST MAIN ST                                                  BROWNSDALE         MN         55917                  6004               Various                                                                                                $3.00
JANIE RODRIGUEZ                 1420 13TH ST                                                      GLENCOE            MN         55336                  6004               Various                                                                                               $90.89
JANIE SMIESZEK                  9740 TOWNLINE DR                                                  SISTER BAY         WI         54234                  6002               Various                                                                                                $7.64
JANILLA DICK                    N7104 PATH OF THE WOLF                                            ONEIDA             WI         54155                  6004               Various                                                                                                $4.00
JANINE BALFOUR                  2145 MIDDLEFIELD RD.                                              BOISE              ID         83704                  6004               Various                                                                                               $13.02

JANINE KASTEIN                  420 COUNTRY CREEK DR UNIT 9                                       FOND DU LAC        WI         54935                  6002               Various                                                                                             $6.74
JANINE WIRTH                    809 2ND AVE SW                                                    WAUKON             IA         52172                  6002               Various                                                                                             $1.45
JANIS BOUTELLE                  947 S 7TH ST                                                      DE PERE            WI         54115                  6002               Various                                                                                             $7.56
JANIS DECKO                     1302 W TRAVERSE RD APT 112                                        SAINT PETER        MN         56082                  6002               Various                                                                                             $9.45
JANIS E THOMPSON                3476 A AVE # 3RD                                                  POST FALLS         ID         83854                  6002               Various                                                                                             $1.75
JANIS M ALLEN                   1201 W ROBERTS AVE                                                APPLETON           WI         54914                  6002               Various                                                                                             $2.58
JANIS MARTENSON                 11980 459TH AVE                                                   SISSETON           SD         57262                  6002               Various                                                                                             $0.44
JANITA ABRAHAM                  PO BOX 386                                                        SISSETON           SD         57262                  6002               Various                                                                                             $0.96
JANNA DRISKEL                   6301 SO 165 AVE                                                   OMAHA              NE         68135                  6004               Various                                                                                             $5.00
JANNA IVES                      789 RIDGE RD                                                      POWELL             WY         82435                  6002               Various                                                                                             $8.99
JANNELLE WEIGEL                 1407 N PEACH AVE               LOT113                             MARSHFIELD         WI         54449                  6004               Various                                                                                            $22.10
JANNESA GARCIA                  2226 ALLIED DR APT 1                                              MADISON            WI         53711                  6004               Various                                                                                             $3.00
JANNETTE NIELSON                5896 S SAGEWOOD DR                                                SALT LAKE CITY     UT         84107                  6002               Various                                                                                             $6.03
JANNETTE REED                   PO BOX 1977                                                       POST FALLS         ID         83877                  6002               Various                                                                                             $2.03
JANS CORPORATION                4700 N WESTPORT AVE                                               SIOUX FALLS        SD         57107                  1492               Various                                                                                           $346.13
JANUARY GIBBENS                 6365 BIRCH LN # 103                                               NAMPA              ID         83687                  6004               Various                                                                                             $1.02
JANYA WOODS                     1461 MORROW ST.                                                   GREEN BAY          WI         54302                  6004               Various                                                                                             $1.00
JANZAEL BOCSH BERRIOS           815 17TH ST                                                       RACINE             WI         53403                  6004               Various                                                                                             $3.00
JAOHNNA HASKINS                 P O BOX 45321                                                     BOISE              ID         83711                  6004               Various                                                                                            $12.82
JAQUAN CROWDER                  1021 BARLAND ST                                                   EAU CLAIRE         WI         54701                  6004               Various                                                                                             $2.00
JAQUANYA ROGERS                 4202 EAST TOWNE BLVD           APT 2                              MADISON            WI         53704                  6004               Various                                                                                             $3.00




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                                                                            Schedule E/F: Part 2 - Creditors With Nonpriority Unsecured Claims




                                                                                                                                                                                                                                     Claim subject to offset?
                                                                                                                                                                                                           Unliquidated
                                                                                                                                                                                              Contingent


                                                                                                                                                                                                                          Disputed
                                                                                                                                                     Last 4 Digits of     Date Debt was
                                                                                                                                                        Account         Incurred, Basis for
              Creditor Name                Address1               Address2          Address3             City         State           Zip   Country     Number                Claim                                                                             Total Claim
JAQUELINE DELGADO              509 36TH ST SW                                                    ROCHESTER         MN         55902                 6004                Various                                                                                             $3.00
JARAI YAFFA                    18 ARLINGTON COURT                                                MANKATO           MN         56003                 6004                Various                                                                                             $3.00
JARCHOW ENTERPRISES            MIKE JARCHOW                  515 N ESTEY                         LUVERNE           MN         56156                 5582                Various                                                                                           $187.03
JARED A WITHERS                E13175 VALLEY RD                                                  FALL CREEK        WI         54742                 6002                Various                                                                                             $8.08
JARED ALBUS                    PO BOX 306                                                        HINSDALE          MT         59241                 6002                Various                                                                                             $1.37
JARED BENSON                   1134 DAGGETT ST                                                   MARINETTE         WI         54143                 6004                Various                                                                                            $20.00
JARED BOND                     WELCOME SHOPKO GUEST                                              NORTH BRANCH      MN         55056                 6002                Various                                                                                             $8.90
JARED BRIGGS                   2688 S IMPERIAL ST                                                SALT LAKE CITY    UT         84106                 6002                Various                                                                                             $7.48
JARED DAVIS                    1217 6TH AVE S                                                    GREAT FALLS       MT         59401                 6004                Various                                                                                             $3.00
JARED DRIGGS                   1037 NORTH ST.                                                    OGDEN             UT         84404                 6004                Various                                                                                             $5.02
JARED EBEL                     2367 FERN LANE                                                    MOSINEE           WI         54455                 6004                Various                                                                                             $5.00
JARED EBENER                   5111 26TH STREET                                                  KENOSHA           WI         53144                 6004                Various                                                                                            $14.22
JARED FREDER ANDRUS            459 N MONTGOMERY ST                                               SALT LAKE CITY    UT         84116                 6002                Various                                                                                             $3.51
JARED GARDNER                  703 WEST WARREN                                                   BOISE             ID         83706                 6004                Various                                                                                             $8.00
JARED HARSHMAN                 14 S ARCH ST                                                      WINCHESTER        IL         62694                 6002                Various                                                                                             $2.93
JARED HARTSHORN                215 E. MONTICELLO DRIVE                                           KAYSVILLE         UT         84037                 6004                Various                                                                                            $55.50
JARED HELKENN                  26241 MAIN ST                                                     HAMILL            SD         57534                 6002                Various                                                                                             $6.25
JARED HOEKSTRA                 6105 DAWN ST                                                      WESTON            WI         54476                 6004                Various                                                                                            $25.00
JARED JONES                    1915 W ST                                                         SIOUX CITY        IA         51103                 6002                Various                                                                                             $6.14
JARED KANO                     507 N 200 W                                                       BRIGHAM CITY      UT         84302                 6004                Various                                                                                             $5.00
JARED KELLEY                   4877 S 3200 W                                                     SALT LAKE CITY    UT         84118                 6004                Various                                                                                             $1.96
JARED LOOMIS                   46516 GALAXY AVE                                                  HARRIS            MN         55032                 6004                Various                                                                                            $24.17
JARED MOCKERMAN                PO BOX 106                                                        NEHAWKA           NE         68413                 6004                Various                                                                                            $35.02
JARED NEBEKER                  137 EAST MALLARD #163                                             BOISE             ID         83706                 6004                Various                                                                                            $10.00
JARED NIX                      934 3RD ST.                                                       MONROE            WI         53566                 6004                Various                                                                                            $16.00
JARED SCHAEFER                 4589 W IDEWILD LP APT A-302                                       COEUR D ALENE     ID         83814                 6002                Various                                                                                             $2.47
JARED STARKEL                  102 JADWIN AVE                                                    RICHLAND          WA         99352                 6004                Various                                                                                            $14.00
JARED TRIMBERGER               N3481 E COUNTY ROAD A                                             SHEBOYGAN FALLS   WI         53085                 6002                Various                                                                                             $9.40
JAREE LEWIS                    907 18TH ST                                                       WHEATLAND         WY         82201                 6002                Various                                                                                             $4.14
JAREMY VOLKMAN                 253 RIVER ST                                                      PETERSON          MN         55962                 6004                Various                                                                                             $3.00
JARID SCHOENECKER              9134 W. LORINDA DR.                                               BOISE             ID         83704                 6004                Various                                                                                            $14.00
JARILYN SCHLITZ                W7955 CREEK ROAD              LOT 501                             DELAVAN           WI         53115                 6004                Various                                                                                            $17.00
JAROD KROLL                    3148 WOOD ROAD                #14                                 RACINE            WI         53406                 6004                Various                                                                                            $19.98
JAROD MILLER                   142 HILL AVE                                                      PEASE             MN         56363                 6002                Various                                                                                            $10.00
JAROD PICK                     19027 72ND AVE                                                    CHIPPEWA FALLS    WI         54729                 6002                Various                                                                                             $3.32
JAROD WEYRAUCH                 1019 15TH ST N PRE-RELEASE                                        GREAT FALLS       MT         59401                 6002                Various                                                                                             $4.58
JAROM PETERSON                 1352 CANYON RD.                                                   OGDEN             UT         84404                 6004                Various                                                                                            $10.00
JARRAD BARBER                  141 W CENTER ST                                                   MIDVALE           UT         84047                 6002                Various                                                                                             $8.03
JARRED BATES                   2161 COUNTRY LANE                                                 NEENAH            WI         54956                 6004                Various                                                                                             $9.00
JARRETT BARCAFER               18517 E BOONE                                                     GREENACRES        WA         99016                 6004                Various                                                                                            $60.00

JARRETT/ LORI                  STORE 2-705                   SHOPKO EMPLOYEE 2001 E 9TH STREET   TRENTON           MO         64683                  8967               Various                                                                                               $29.38
JARROD ERSCHABEK               150 WALLOWS CREEK RD                                              BUFFALO           WY         82834                  6002               Various                                                                                                $6.79
JARROD MOORE                   7960 ARLINGTON DRIVE                                              OMAHA             NE         68134                  6004               Various                                                                                               $27.00

JARVIS/ ALISHA                 STORE 2-041                   SHOPKO EMPLOYEE                     GREEN BAY         WI         54307-9060             5352               Various                                                                                             $6.54
JARYD BROGAN                   812 OGDEN ST                                                      GALLATIN          MO         64640                  6002               Various                                                                                             $8.08
JASCO PRODUCTS COMPANY INC     PO BOX 268985                                                     OKLAHOMA CITY     OK         73126-8985             6501               Various                                                                                       $148,219.62
JASEN ATACK                    13315 E. 8TH AVE.                                                 SPOKANE           WA         99206                  6004               Various                                                                                            $10.02
JASHA ARCHER                   5624 HAMILTION ST                                                 OMAHA             NE         68132                  6004               Various                                                                                             $4.00
JASMA WILLIAMS                 2873 WITMOORE ST.                                                 OMAHA             NE         68112                  6004               Various                                                                                             $4.00
JASMEENE VALADEZ               13462 WRIGHT ST                                                   OMAHA             NE         68144                  6004               Various                                                                                             $4.97
JASMIN DENTER                  N9381 17TH AVENUE                                                 NECEDAH           WI         54646                  6004               Various                                                                                            $10.00
JASMIN FLORES                  844 WINIFRED ST                                                   WORTHINGTON       MN         56187                  6004               Various                                                                                             $3.00




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                                                                                                                                                            Account         Incurred, Basis for
             Creditor Name                Address1                 Address2            Address3              City         State           Zip   Country     Number                Claim                                                                             Total Claim
JASMIN SALINAS                611 BAKER ST                                                          BELVIDERE          IL         61008                 6004                Various                                                                                                $3.90
JASMINE BAUER                 6675 381ST ST                                                         NORTH BRANCH       MN         55056                 6002                Various                                                                                                $3.04
JASMINE BLAISDELL             515 NORTH MAIN ST                                                     LAKE MILLS         WI         53551                 6004                Various                                                                                                $2.00
JASMINE BUTLER                5325 N 107TH PLZ                APT 101                               OMAHA              NE         68134                 6004                Various                                                                                                $4.99
JASMINE CANNON                146 W 1000TH N APT 2                                                  LOGAN              UT         84321                 6002                Various                                                                                                $9.07
JASMINE CHA                   1133 SOUTH MAPLE                                                      GREEN BAY          WI         54304                 6004                Various                                                                                               $25.00
JASMINE COOK                  4029 D STREET                                                         OMAHA              NE         68107                 6004                Various                                                                                                $4.00
JASMINE DRAXLER               402 1/2 MADISON ST                                                    LITTLE CHUTE       WI         54140                 6002                Various                                                                                                $8.99
JASMINE DUNCAN                251 W 1600 N APT A104                                                 LOGAN              UT         84341                 6004                Various                                                                                               $23.00
JASMINE FLORES                844 WINIFRED ST                                                       WORTHINGTON        MN         56187                 6004                Various                                                                                                $3.00
JASMINE GALVAN                1341 SOUTH 24TH ST                                                    LINCOLN            NE         68502                 6004                Various                                                                                               $30.00
JASMINE GARCIA                515 1/2 RIVER ST                                                      HUDSON             WI         54016                 6004                Various                                                                                                $2.00
JASMINE HADLER                3013 CHAIN DR APT 10                                                  MENASHA            WI         54952                 6004                Various                                                                                                $3.00
JASMINE HERBERT               2970 PANTHER CRK RD                                                   CHALLIS            ID         83226                 6002                Various                                                                                                $1.15
JASMINE HINES                 9218 LARIMORE AVE                                                     OMAHA              NE         68134                 6004                Various                                                                                                $4.00
JASMINE INGERSOLL             122 S 8TH ST                                                          DELAVAN            WI         53115                 6004                Various                                                                                               $25.00
JASMINE LOPEZ                 611 BELL AVE                                                          SHEBOYGAN          WI         53083                 6004                Various                                                                                                $3.00
JASMINE LOVE                  PO BOX 1612                                                           BELLEVUE           NE         68005                 6002                Various                                                                                                $3.62
JASMINE LUNA                  448 S FAIR ST                                                         WAUTOMA            WI         54982                 6004                Various                                                                                                $3.00
JASMINE MAHKEWA               324 N LINCOLN ST                                                      ABERDEEN           SD         57401                 6002                Various                                                                                                $6.93
JASMINE NORTON                425 MOORELAND RD.               APT.204                               MADISON            WI         53713                 6004                Various                                                                                                $4.00
JASMINE PETERSON GREEN        2914 BREWERY RD                                                       CROSS PLAINS       WI         53528                 6004                Various                                                                                               $26.06
JASMINE RAMIREZ               204 W 7TH ST                                                          TAMA               IA         52339                 6002                Various                                                                                                $1.62
JASMINE RANA                  2850 E 8TH ST                   APT. 3624                             TULSA              OK         74104                 6004                Various                                                                                               $10.00
JASMINE SAHNAYHTOO            1430 SW 24TH                                                          LINCOLN            NE         68522                 6004                Various                                                                                               $10.00

JASMINE SMITH                 2300 JEFFERSON STREET, APT. A                                         TWO RIVERS         WI         54241                  6004               Various                                                                                            $77.38
JASMINE WINGFIELD             3769 EASTSIDE HWY                                                     STEVENSVILLE       MT         59870                  6004               Various                                                                                           $104.97
JASMINE WRIGHT                105 DEER VALLEY RD APT 5                                              MADISON            WI         53713                  6004               Various                                                                                             $3.00
JASMYNE SCHULER               1996 HILTS RD                                                         GLADWIN            MI         48624                  6002               Various                                                                                             $2.19
JASNA KANTAREVIC              3212 S TRIPLE PLAY AVE                                                SIOUX FALLS        SD         57110                  6004               Various                                                                                            $23.00
JASON AICHELE                 1103 S 3RD AVE                                                        WALLA WALLA        WA         99362                  6004               Various                                                                                            $40.00
JASON ALBRECHT                1293 FONTANA BLVD                                                     HAZLETON           IA         50641                  6002               Various                                                                                             $4.88
JASON AUCHAMPACH              W11071 CTY RD MM                                                      RIVER FALLS        WI         54022                  6004               Various                                                                                             $3.90
JASON AUSTERMAN               924 10TH ST SE                                                        ROCHESTER          MN         55904                  6004               Various                                                                                             $3.00
JASON BALL                    1012 N 16TH ST                                                        COEUR D ALENE      ID         83814                  6002               Various                                                                                             $6.58
JASON BARNES                  1659 VIVIO ROAD                                                       FLORENCE           WI         54121                  6004               Various                                                                                            $20.00
JASON BIRDSELL                922 11TH AVENUE                                                       LEWISTON           ID         83501                  6004               Various                                                                                             $7.00
JASON BOLTE                   402 W MAIN ST                                                         ODIN               MN         56160                  6002               Various                                                                                             $7.73
JASON BORK                    615 4TH AVE                                                           SHELDON            IA         51201                  6002               Various                                                                                             $7.15
JASON BRUCE                   306 WASHINGTON AVE                                                    SALMON             ID         83467                  6002               Various                                                                                             $1.01
JASON CALO                    124 S WEBSTER AVE                                                     GREEN BAY          WI         54301                  6002               Various                                                                                             $7.32
JASON CARNE                   BOX 96                                                                DOLLAR BAY         MI         49922                  6002               Various                                                                                             $4.63

JASON CARTER                  84076 ROLOFF LANE                                                     MILTON FREEWATER   OR         97862                  6004               Various                                                                                                $5.00
JASON CARTIN                  991 PHILLIPS RD                                                       HELENA             MT         59602                  6004               Various                                                                                               $10.00
JASON CERNETISCH              36316 329TH AVE                                                       HAMILL             SD         57534                  6002               Various                                                                                                $5.15
JASON CHARLET                 24236 180TH ST                                                        MINBURN            IA         50167                  6002               Various                                                                                                $3.12
JASON CHRISTENSON             5246 400TH ST                                                         ARCHER             IA         51231                  6002               Various                                                                                                $2.33
JASON CUNNINGHAM              9999                                                                  BELVIDERE          IL         61008                  6004               Various                                                                                               $30.00
JASON DOUCETTE                917 GAY DR.                                                           NEENAH             WI         54956                  6004               Various                                                                                               $29.99
JASON DOUGLAS                 1244 S 4TH AVE                                                        POCATELLO          ID         83201                  6002               Various                                                                                                $1.21
JASON DOUTHITT                1003 NORTHWEST 12TH ST                                                ANDREWS            TX         79714                  6002               Various                                                                                                $6.68
JASON DUNN                    713 ANDERSON AVE                                                      SAINT CLOUD        MN         56303                  6004               Various                                                                                                $3.00




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                                                                             Schedule E/F: Part 2 - Creditors With Nonpriority Unsecured Claims




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              Creditor Name                Address1               Address2           Address3             City          State           Zip   Country     Number                Claim                                                                             Total Claim
JASON DURAND                   1867 22 -22 1/4 ST                                                 RICE LAKE          WI         54868                 6004                Various                                                                                            $149.97
JASON EHRHARDT                 544 COONEN DR                                                      COMBINED LOCKS     WI         54113                 6004                Various                                                                                             $27.00
JASON ELLIOTT                  3601 S BENTON ST                                                   KENNEWICK          WA         99337                 6004                Various                                                                                              $5.00
JASON F. MOORE                 8106 S GILMORE LN                                                  COEUR D ALENE      ID         83814                 6002                Various                                                                                              $5.15
JASON FAIRBANKS                1115 THORNCREST DR                                                 JANESVILLE         WI         53546                 6004                Various                                                                                              $9.00
JASON FALING                   304 GANDY 7TH ST                                                   STAPLETON          NE         69163                 6004                Various                                                                                             $23.00
JASON FEUQUAY                  3532 ASH ST                                                        STURGIS            SD         57785                 6002                Various                                                                                              $6.77
JASON FISCHER                  811 COUNTY ROAD C                                                  PULASKI            WI         54162                 6002                Various                                                                                              $4.44
JASON FRANSEN                  140 N WISLER                                                       FREEPORT           IL         61032                 6004                Various                                                                                              $8.98
JASON FROSETH                  416 W RAILROAD ST                                                  NEWCASTLE          WY         82701                 6002                Various                                                                                              $6.11
JASON GALLAGHER                1009 AHSAHKA CRT                                                   LENORE             ID         83541                 6002                Various                                                                                              $1.26
JASON GARCIA                   4 3RD ST NW APT 755                                                MASON CITY         IA         50401                 6002                Various                                                                                              $3.84
JASON GOMEZ                    3910 BENVIEW AVE APT # D                                           SALT LAKE CITY     UT         84120                 6004                Various                                                                                             $37.50
JASON GRANDCHAMP               49978 HIGHWAY # M-26                                               HANCOCK            MI         49930                 6002                Various                                                                                              $7.75
JASON GRITZNER                 401 N 4TH ST                                                       WATERTOWN          WI         53094                 6002                Various                                                                                              $7.92
JASON GROBERG                  75 W 250TH N # 17                                                  CLEARFIELD         UT         84015                 6002                Various                                                                                              $2.77
JASON HAMMOND                  108 N WALNUT ST                                                    AVOCA              IA         51521                 6002                Various                                                                                              $0.44
JASON HEINZMAN                 13162 OAK LAWN LN                                                  POPLAR GROVE       IL         61065                 6002                Various                                                                                              $0.71
JASON HESS                     PO BOX 693                                                         SNOWVILLE          UT         84336                 6002                Various                                                                                              $1.45
JASON HILDEBRANDT              909 IRISH RD.                                                      NEENAH             WI         54956                 6004                Various                                                                                             $44.00
JASON HODEL                    144 154 DRIVE NW                                                   ELK RIVER          MN         55330                 6004                Various                                                                                             $66.00

JASON HODGE JR                 531 8TH AVE N                                                      WISCONSIN RAPIDS   WI         54495                  6004               Various                                                                                             $1.00
JASON HULBERT                  1385 JEFFERSON ST                                                  MORA               MN         55051                  6002               Various                                                                                             $1.92
JASON IRVING                   2653 18TH RD                                                       ESCANABA           MI         49829                  6002               Various                                                                                             $4.85
JASON ISHAM                    102 SAGEBRUSH CT                                                   HARDIN             MT         59034                  6002               Various                                                                                             $3.33
JASON J DISHAW                 610 N CLARK ST                                                     BLACK CREEK        WI         54106                  6002               Various                                                                                             $5.45
JASON JABLONSKI                1010 BRAINERD AV                                                   DULUTH             MN         55811                  6004               Various                                                                                             $3.00
JASON JACOB                    1955 HARRISON STREET APT 10                                        NEENAH             WI         54956                  6004               Various                                                                                            $10.02
JASON JANNSEN                  3220 S 18ST                                                        SHEBOYGAN          WI         53081                  6004               Various                                                                                           $163.09
JASON JOHNSON                  714 7TH ST S                                                       SAINT JAMES        MN         56081                  6002               Various                                                                                             $4.16
JASON KASTER                   W4803 BIRCH CREEK RD.                                              MENOMINEE          MI         49858                  6004               Various                                                                                            $10.00
JASON KOOPMAN                  10225 HWY 186                                                      AUBURNDALE         WI         54412                  6004               Various                                                                                             $5.00
JASON KRENIK                   W12297 820TH AVE.                                                  RIVER FALLS        WI         54022                  6004               Various                                                                                             $3.00
JASON KROSTAG                  E1575 MURRAY LN                                                    WAUPACA            WI         54981                  6002               Various                                                                                             $6.16
JASON L. TYSON                 238 PORTLAND ST                                                    TRUMBLE            NE         68980                  6002               Various                                                                                             $3.26
JASON LARSEN                   1192 418TH ST.                                                     KENSETT            IA         50448                  6004               Various                                                                                             $5.00
JASON LEAVITT                  3806 15TH STREET                                                   LEWISTON           ID         83501                  6004               Various                                                                                            $10.00
JASON LEE                      2415 N COLUMBUS                                                    SPOKANE            WA         99207                  6004               Various                                                                                            $40.00
JASON LEHR                     412 MANLY DR.                                                      COTTAGE GROVE      WI         53527                  6004               Various                                                                                             $1.00
JASON LESHER                   820 APACHE DR                                                      SOUTH SIOUX CIT    NE         68776                  6002               Various                                                                                             $6.27
JASON M MORINE                 407 GRACE ST                                                       SAINT PETER        MN         56082                  6002               Various                                                                                             $2.19
JASON MALONE                   1586 AGATE                                                         POCATELLO          ID         83202                  6004               Various                                                                                             $4.97
JASON MARTIN                   1407 LAKELAWN                                                      JACKSONVILLE       IL         62650                  6004               Various                                                                                            $49.68
JASON MAYNARD                  3642 SO SHERINGTON DRIVE                                           WEST VALLEY CITY   UT         84120                  6004               Various                                                                                             $4.00
JASON MCCLELLAN                605 PINE TREE DR                                                   PERHAM             MN         56573                  6002               Various                                                                                             $1.59
JASON MCKIM                    202 E MAIN ST                                                      MANCELONA          MI         49659                  6002               Various                                                                                             $1.73
JASON MILLS                    3914 HIGHWAY 13                                                    STITES             ID         83552                  6002               Various                                                                                             $5.64
JASON MIRE                     N32651 COUNTY ROAD XX                                              INDEPENDENCE       WI         54747                  6002               Various                                                                                             $9.97
JASON MITCHELL                 512 SW 2ND ST                                                      GREENFIELD         IA         50849                  6002               Various                                                                                             $2.55
JASON NELSON                   8335 W RIFLEMAN ST                                                 BOISE              ID         83704                  6002               Various                                                                                             $6.14
JASON NETTESHEIM               W242N6231 OAK DR                                                   SUSSEX             WI         53089                  6002               Various                                                                                             $6.85
JASON NEWSOM                   142 SO 200 EAST                                                    OREM               UT         84058                  6004               Various                                                                                            $51.00
JASON OSKEY                    111 W. WILSON STREET          APT. 806                             MADISON            WI         53715                  6004               Various                                                                                             $3.15




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JASON P BLOUNT                 354 S GILBERT ST APT 3                                           POWELL          WY         82435                 6002                Various                                                                                                $8.27
JASON P SCHWANTES              1000 N WATER ST                                                  WATERTOWN       WI         53098                 6002                Various                                                                                                $9.70
JASON PASEKA                   6445 ORCHARD ST                                                  LINCOLN         NE         68505                 6002                Various                                                                                               $10.00
JASON PAULLIN                  #11 PROSPECCT                                                    BILLINGS        MT         59102                 6004                Various                                                                                               $10.02
JASON PEARSON                  40719 ELMCREST AVE                                               NORTH BRANCH    MN         55056                 6004                Various                                                                                                $3.00
JASON PETERS                   703 N 29TH STREET           UNIT 203                             BILLINGS        MT         59102                 6004                Various                                                                                               $19.00
JASON PETERSON                 350 N IDAHLINE RD                                                POST FALLS      ID         83854                 6002                Various                                                                                                $6.14
JASON PHERIGO                  10333 CTY RD EAST 200 N                                          CHANDLERVILLE   IL         62627                 6004                Various                                                                                                $8.00
JASON PHIPPS                   715 HILL STREET SUITE 302                                        MADISON         WI         53705                 6004                Various                                                                                               $25.00
JASON POPP                     854 NO 9TH STREET                                                MANITOWOC       WI         54220                 6004                Various                                                                                               $10.00
JASON PUNKE                    308 S WISCONSIN AVENUE                                           MARSHFIELD      WI         54449                 6004                Various                                                                                               $25.18
JASON REED                     4034 W 3000TH N                                                  SMITHFIELD      UT         84335                 6002                Various                                                                                                $0.88
JASON RESMAN                   3711 RANDOLPH ROAD                                               JANESVILLE      WI         53546                 6004                Various                                                                                                $1.00
JASON ROSENTHAL                610 S. MILITARY RD.                                              FOND DU LAC     WI         54935                 6004                Various                                                                                               $25.00
JASON ROSS                     52 NORTH ARTHER AVE                                              GALESBURG       IL         61401                 6004                Various                                                                                                $4.00
JASON ROSSOW                   32670 790TH ST                                                   WORTHINGTON     MN         56187                 6004                Various                                                                                                $3.00
JASON RUSSELL                  900 38TH ST S                                                    GREAT FALLS     MT         59405                 6002                Various                                                                                                $3.07
JASON SALVANO                  455 HILBERT ST                                                   WINONA          MN         55987                 6004                Various                                                                                                $2.60
JASON SAMMONS                  3020 6TH AVE S                                                   GREAT FALLS     MT         59405                 6004                Various                                                                                                $5.00
JASON SCHUDER                  BOX 101                                                          NORTHROP        MN         56075                 6004                Various                                                                                               $10.00
JASON SHEFFIELD                6718 CRESCENT AVE                                                EAU CLAIRE      WI         54703                 6002                Various                                                                                                $2.00
JASON SOLIS                    415 N PLATTON ST                                                 GREEN BAY       WI         54303                 6004                Various                                                                                               $99.99
JASON SOMMERS                  2152 HIGH RIDGE TRAIL                                            MADISON         WI         53713                 6004                Various                                                                                               $25.00
JASON SOUTHERN                 6572 S. KENTUCKY DR                                              WEST JORDAN     UT         84084                 6004                Various                                                                                               $30.06
JASON STICKER                  2215 WINGATE LANE                                                BILLINGS        MT         59106                 6004                Various                                                                                               $30.00
JASON STINSON                  244 S COLFAX ST                                                  WEST POINT      NE         68788                 6002                Various                                                                                                $2.68
JASON STODGHILL                HC 6 BOX 419                                                     DONIPHAN        MO         63935                 6002                Various                                                                                                $5.15
JASON STONE                    13937 W. HARTFORD DR                                             BOISE           ID         83713                 6004                Various                                                                                               $10.02
JASON T MEYER                  184 BESSIE OHALLORAN LN                                          MENASHA         WI         54952                 6002                Various                                                                                                $4.30
JASON THOMAS GARY              708 OUTER DR                                                     TECUMSEH        MI         49286                 6002                Various                                                                                                $9.51
JASON TIPTON JR.               120/ 30TH AVE N                                                  NAMPA           ID         83686                 6004                Various                                                                                                $3.65
JASON TOMPKINS                 240 BORQUIN ROAD                                                 WAPATO          WA         98951                 6004                Various                                                                                               $10.00
JASON TOWERY                   W7950 COUNTY ROAD JJ                                             HORTONVILLE     WI         54944                 6002                Various                                                                                                $9.12
JASON VANHEEL                  7650 BECCA LN                                                    MISSOULA        MT         59802                 6004                Various                                                                                                $2.00
JASON VINSAND                  2107 12TH AVE NE                                                 WATERTOWN       SD         57201                 6004                Various                                                                                               $23.00
JASON VITENSE                  514 N WEBER ST                                                   ABERDEEN        SD         57401                 6002                Various                                                                                                $5.15
JASON W ANGER                  2257 300TH AVE                                                   MORA            MN         55051                 6002                Various                                                                                                $0.96
JASON WAGNON                   1354 PINE ST                                                     WHEATLAND       WY         82201                 6002                Various                                                                                                $2.27
JASON WATSON                   826 COUNTY ROAD 263                                              FORT BRIDGER    WY         82933                 6002                Various                                                                                                $8.90
JASON WAYWELL                  201 SOUTHERN AVE #2                                              SELAH           WA         98942                 6004                Various                                                                                               $15.80
JASON WEBER                    352 N. ROGER ST.                                                 KIMBERLY        WI         54136                 6004                Various                                                                                               $60.00
JASON WEHKING                  517 11 1/4 AVE                                                   TURTLE LAKE     WI         54889                 6004                Various                                                                                               $55.00
JASON WESSELS                  390 TERRACE DR W                                                 BROOKFIELD      WI         53045                 6004                Various                                                                                                $8.00
JASON WICK                     811 A ROCKINGHAM CT                                              WEST BEND       WI         53090                 6004                Various                                                                                               $15.00
JASON WILBERDING               4611 DEERTRAIL RD                                                RHINELANDER     WI         54501                 6004                Various                                                                                               $17.00
JASON WILLIAMS                 44414 172ND ST                                                   HENRY           SD         57243                 6002                Various                                                                                                $1.04
JASON WILSON                   16196 SUNSET TRAIL                                               PINE CITY       MN         55063                 6004                Various                                                                                                $8.67
JASON WOLFE                    81 VILLA DR                                                      CLEARFIELD      UT         84015                 6002                Various                                                                                                $5.23
JASON WOODRUM                  640 CASTLE WYND                                                  LOVES PARK      IL         61111                 6004                Various                                                                                               $20.00
JASON WORK                     128 DEBRA ST                                                     PLATTSMOUTH     NE         68048                 6002                Various                                                                                               $10.00
JASON WRIGHT                   1710 17TH STREET                                                 LEWISTON        ID         83501                 6004                Various                                                                                                $1.84
JASON YAHNKE                   414 EAST MONTGOMERY ST                                           SPARTA          WI         54656                 6004                Various                                                                                               $53.98
JASON(PSP) JARSTAD             5900 GREENLEAF BLVD                                              RACINE          WI         53406                 6002                Various                                                                                                $5.89




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                                                                                                                                                        Account         Incurred, Basis for
            Creditor Name                   Address1                Address2         Address3            City        State           Zip   Country      Number                Claim                                                                             Total Claim

JASPER HALF                       1715 10TH AVE NO-PRERELEASE                                     GREAT FALLS      MT        59401                   6002               Various                                                                                             $3.42
JASPER M HOWELL                   1115 WHITEFISH STAGE                                            KALISPELL        MT        59901                   6002               Various                                                                                             $7.37
JATINDER K DHILLON                6679 S DANIEL WAY                                               SALT LAKE CITY   UT        84123                   6002               Various                                                                                             $4.96
JAUNA HENIADIS                    2394 OSSTHUN RD                                                 COTTAGE GROVE    WI        53527                   6004               Various                                                                                             $3.00
JAVIER BENCOMO DOMINGUEZ          1012 E 4100 N                                                   BUHL             ID        83316                   6004               Various                                                                                             $3.65
JAVIER DURAN                      135 TURTLE CREEK              APT 1                             DELAVAN          WI        53115                   6004               Various                                                                                          $110.00
JAVIER GONZALEZ                   14215 CARL ST                                                   OMAHA            NE        68137                   6004               Various                                                                                             $3.90
JAVIER LOPEZ                      10542 FIELDCREST RD                                             SISTER BAY       WI        54234                   6002               Various                                                                                             $6.68
JAVIER MARROQUIN                  4851 W 3850 SO                                                  SALT LAKE CITY   UT        84120                   6004               Various                                                                                             $5.02
JAVIER MONTES                     453 8TH AVE SE                                                  SIDNEY           MT        59270                   6002               Various                                                                                             $7.53
JAVIER ROJAS                      3209 LAFEYETTE AVE                                              OMAHA            NE        68131                   6004               Various                                                                                             $2.00
JAVIER SANTANA                    1006 MADISON APT 2                                              WENATCHEE        WA        98801                   6004               Various                                                                                            $17.00
JAVIER VIEYRA                     5321 52ND AVENUE                                                KENOSHA          WI        53144                   6004               Various                                                                                             $2.02
JAVIER ZEFERINO                   N13033 GROVESIDE AVE                                            COLBY            WI        54421                   6002               Various                                                                                             $6.16
JAWN MARSH                        2243 ENSIGN ST                                                  DULUTH           MN        55811                   6002               Various                                                                                             $4.71
JAX FELINE FELTON                 17733 US HIGHWAY 59                                             MORRIS           MN        56267                   6002               Various                                                                                             $0.63
JAX L ALBERT                      N158 COUNTY ROAD B                                              KEWAUNEE         WI        54216                   6002               Various                                                                                             $2.08
JAXEN FLEMING                     ATTN JAXEN                    101 OAK STREET E                  CAVALIER         ND        58220                   1986               Various                                                                                         $1,440.00
JAXON KAISER                      10340 SOUTH ROAD                                                TOMAHAWK         WI        54487                   6002               Various                                                                                             $0.68
JAXSON BURBRIDGE                  345 E WEILER ST                                                 WEST POINT       NE        68788                   6002               Various                                                                                             $5.75
JAY ADAMS                         12496 WHIPPLE RD                                                SISSETON         SD        57262                   6002               Various                                                                                             $8.44
JAY BECKER                        11455 W GRANGER ST                                              BOISE            ID        83713                   6004               Various                                                                                             $4.06
JAY BONNETT                       406 E 2ND ST                                                    FOND DU LAC      WI        54935                   6002               Various                                                                                             $2.11
JAY BROWN                         320 N LAKESHORE DR                                              GLENWOOD         MN        56334                   6002               Various                                                                                            $16.64
JAY DESMARAIS                     P O BOX 234                                                     ROCKVILLE        MN        56369                   6004               Various                                                                                            $13.00
JAY EAKLE                         97 W SAN ANDREAS CT                                             WEST JORDAN      UT        84088                   6002               Various                                                                                             $3.51
JAY EDEN                          817 S PRESIDENT AVE                                             MASON CITY       IA        50401                   6002               Various                                                                                             $4.25
JAY ERIC RAYMER                   7925 RANCHO DELUXE DR                                           HELENA           MT        59602                   6002               Various                                                                                             $1.78
JAY EVERS                         310 W. HENRY ST                                                 KAUKAUNA         WI        54130                   6004               Various                                                                                            $40.00
JAY FARRINGTON                    631 W PARKWAY BLVD                                              APPLETON         WI        54911                   6002               Various                                                                                             $0.60
JAY FRANCO & SONS INCORPORATED    115 KENNEDY DRIVE                                               SAYREVILLE       NJ        08872                   6307               Various                                                                                        $14,419.23
JAY HENDERSON                     452 BEAR PAW DR                                                 LEWISTOWN        MT        59457                   6002               Various                                                                                             $4.88
JAY HOFFMAN                       PO BOX 1221                                                     COLUMBIA         SD        57433                   6002               Various                                                                                             $3.23
JAY I HOOVER                      6024 BEAVER RD                                                  ATHENS           WI        54411                   6002               Various                                                                                             $4.14
                                                                41 MADISON
                                                                AVENUE 12TH
JAY IMPORT COMPANY INCORPORATE    VICE PRESIDENT OF SALES       FLOOR                             NEW YORK         NY        10010                   3428               Various                                                                                          $750.00
JAY INCORPORATED                  PO BOX 669                                                      LISBON           ND        58054                   0372               Various                                                                                         $2,166.67
JAY INGWELL                       2622 COUNTY ROAD K                                              BARNEVELD        WI        53507                   6004               Various                                                                                            $15.00
JAY JAMES                         733 BEDWELL                                                     JACKSONVILLE     IL        62650                   6004               Various                                                                                             $4.50
JAY JANZEN                        507 8TH AVE N                                                   SAINT JAMES      MN        56081                   6002               Various                                                                                             $1.15
JAY KEIL                          225 W CALUMET ST APT 8                                          APPLETON         WI        54915                   6002               Various                                                                                             $4.52
JAY MAKELA                        23432 ELM AVE                                                   DOLLAR BAY       MI        49922                   6004               Various                                                                                             $7.95
JAY MCHUGH                        1606 SAND LAKE RD                                               ONALASKA         WI        54650                   6004               Various                                                                                            $34.98
JAY MECHAM'S COUNTRY GARBAGE      PO BOX 408                                                      MONA             UT        84645                                      Various                                                                                          $800.00
JAY MICHEL                        733 CARNEY BLVD                                                 MARINETTE        WI        54143                   6004               Various                                                                                            $15.30
JAY MILLER                        8434 WILLOW CREEK RD                                            OCONTO           WI        54153                   6002               Various                                                                                             $8.66
JAY MILTON                        1519 ELM ST                                                     GREEN BAY        WI        54302                   6002               Various                                                                                             $7.48
JAY OBERT                         4620 CTY RD A                                                   MERRILL          WI        54452                   6002               Various                                                                                             $2.11
JAY S KRZYSTON                    N57W24650 NIGHTHAWK CT                                          SUSSEX           WI        53089                   6002               Various                                                                                             $4.27
JAY SCHMID                        845 WOODLAND DR                                                 MENASHA          WI        54952                   6002               Various                                                                                             $4.36
JAY SERRES                        W 9644 NORTH ST                                                 CAMBRIDGE        WI        53523                   6004               Various                                                                                            $25.00
JAY SIMONS                        2664 N 930TH E                                                  PROVO            UT        84604                   6002               Various                                                                                             $6.96




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              Creditor Name               Address1               Address2            Address3            City         State           Zip   Country     Number                Claim                                                                             Total Claim
JAY SOLARI                     117 MAJERUS RD                                                     ROUNDUP          MT         59072                 6002                Various                                                                                               $10.00
JAY STELTER                    3860 KITT DRIVE                                                    HELENA           MT         59602                 6004                Various                                                                                                $7.50
JAY TYLER SHELTON              2150 GLADYS                                                        IDAHO FALLS      ID         83401                 6004                Various                                                                                                $3.65
JAY UNSWORTH                   350 B BARNEY ST                                                    HELENA           MT         59602                 6004                Various                                                                                               $11.00
JAY WILLIAMS                   823 AUBIN ST                                                       PESHTIGO         WI         54157                 6002                Various                                                                                                $4.16
JAYAH WOODS                    1648 SHERMAN AVE                                                   BELOIT           WI         53511                 6004                Various                                                                                                $1.00

JAYANA BARRETTE                500 WEST SHARON AVE APT. 12                                        HOUGHTON         MI         49931                  6004               Various                                                                                            $20.00
JAYCE HAMMOND                  6 MOORE LN                                                         NEWCASTLE        WY         82701                  6002               Various                                                                                             $4.58
JAYCEE M SILVA                 37309 EAGLE LN                                                     NORTH BRANCH     MN         55056                  6002               Various                                                                                             $8.36
JAYDA E MULJO                  708 WRIGHT ST                                                      MARQUETTE        MI         49855                  6002               Various                                                                                             $4.08
JAYDA LYNN WEIS                329 CLARL ST                                                       GRANTON          WI         54436                  6002               Various                                                                                             $4.47
JAYDEN BERRYHILL               30951 MARIGOLD LANE                                                LINDSTROM        MN         55045                  6004               Various                                                                                             $7.26
JAYDEN J. GLATZ                520 SCHINDLER PL APT J                                             MENASHA          WI         54952                  6002               Various                                                                                             $6.14
JAYDEN KANE                    236 ALLEGHENY AVE                                                  WABASHA          MN         55981                  6004               Various                                                                                            $19.98
JAYDEN KATAWARA                1507 N 70TH AVE                                                    OMAHA            NE         68104                  6004               Various                                                                                            $20.02
JAYDEN LACHERMEIER             101 CENTRAL AVE                                                    LESTER PRAIRIE   MN         55354                  6004               Various                                                                                            $57.12
JAYDEN LEDBETTER               612 S 20TH ST                                                      QUINCY           IL         62301                  6002               Various                                                                                             $7.92
JAYDEN MCKEE                   404 LINCOLN AVE               LOT 2                                REESEVILLE       WI         53579                  6004               Various                                                                                             $3.00
JAYDEN OSLER                   917 W STOREY                                                       MERIDIAN         ID         83646                  6004               Various                                                                                             $3.65
JAYDEN SMITH                   1521 E 4TH ST                                                      PUEBLO           CO         81001                  6002               Various                                                                                             $2.71
JAYDEN STAR LLC (C-HUB)        385 FIFTH AVENUE STE 507                                           NEW YORK         NY         10016                  8603               Various                                                                                           $424.40
JAYDEN WAMBEAM                 515 CIRCLE CT SW                                                   ROCHESTER        MN         55902                  6002               Various                                                                                             $8.85
JAYDEN WATTS                   3928 ECHO VALLEY DRIVE                                             EAU CLAIRE       WI         54701                  6004               Various                                                                                             $5.00
JAYDIN GRENIER                 2407 ELM ROAD                                                      MANITOWOC        WI         54220                  6004               Various                                                                                             $6.00
JAYDN SCHAECHER                306 S ELK                                                          TILDEN           NE         68781                  6004               Various                                                                                            $10.00
JAYDN THAMERT-SENDEJAS         3918 W HAZY WAY                                                    SALT LAKE CITY   UT         84129                  6002               Various                                                                                             $4.58
JAYDON COBB                    663 S GARFIELD AVE                                                 MASON CITY       IA         50401                  6002               Various                                                                                             $7.53
JAYE HACKBARTH                 412 R ST                                                           BEAVER CITY      NE         68926                  6002               Various                                                                                             $6.52
JAYE KRUCKEBERG                1639 SWAN RD APT 2                                                 DE PERE          WI         54115                  6002               Various                                                                                             $8.74
JAYLESHA BERRYHILL             323 PARKVIEW DRIVE                                                 RACINE           WI         53404                  6004               Various                                                                                             $3.00
JAYLIN THOMPSON                1227 24TH ST                                                       SIOUX CITY       IA         51104                  6002               Various                                                                                             $0.41
JAYLYNN LARSEN                 1032 N 400 W                                                       LOGAN            UT         84341                  6004               Various                                                                                            $23.00
JAYME GROVE                    7320 TWO BIT CIRCLE DR                                             HELENA           MT         59602                  6002               Various                                                                                             $8.44
JAYME HROBSKY                  416 N. WATER                                                       WATERTOWN        WI         53098                  6004               Various                                                                                             $7.00
JAYME LEE JANIS                1119 N PARK ST                                                     WATERTOWN        SD         57201                  6002               Various                                                                                             $1.23
JAYME LUEDKE                   4110 N BALLARD RD                                                  APPLETON         WI         54913                  6002               Various                                                                                             $4.68
JAYME SHEFCHIK                 J2134 GREYWOLF CT                                                  GREEN BAY        WI         54313                  6004               Various                                                                                             $6.99
JAYMIE HOPPER                  1101 CAMBRIDGE CT #38                                              LINCOLN          NE         68505                  6004               Various                                                                                           $216.98
JAYMINA HARDY                  8407 33ND ST APT 4                                                 KENOSHA          WI         53142                  6004               Various                                                                                            $71.00
JAYMZ SHIPPEN                  208 MILLS ST                                                       SACO             MT         59261                  6002               Various                                                                                             $1.73
JAYNE DENNIS                   9 KING MILLS CR               UNIT 103                             MADISON          WI         53718                  6004               Various                                                                                            $20.00
JAYNE DOMBROWSKI               1209 JACKSON ST                                                    WAUSAU           WI         54403                  6002               Various                                                                                             $8.99
JAYNE NMI DEMBEK               809 RAILROAD ST                                                    BELLE FOURCHE    SD         57717                  6002               Various                                                                                            $10.00
JAYNE SITTE                    8480 E RIDGEVIEW DR                                                BAILEYS HARBOR   WI         54202                  6002               Various                                                                                             $2.74
JAYNE ZORZA                    786 JUNIPHER ST                                                    ISHPEMING        MI         49849                  6002               Various                                                                                             $3.10
JAYRO ZUNIGA                   516 COLLINS ROAD - #3                                              JEFFERSON        WI         53549                  6004               Various                                                                                             $2.00
JAYSON MORALES                 1206 LAWE ST                                                       KAUKAUNA         WI         54130                  6004               Various                                                                                             $1.00
JAZIAH WRIGHT                  334 BIRCH CT.                                                      OREGON           WI         53575                  6004               Various                                                                                             $2.00
JAZLYN REYES                   23792 WASHINGTON ST                                                INDEPENDENCE     WI         54747                  6002               Various                                                                                             $1.59
JAZMILYNN RAMIREZ              1422 14 TH AVE                                                     BELVIDERE        IL         61008                  6004               Various                                                                                             $3.90
JAZMIN CHAVEZ MONTANO          816 7TH AVE NE                                                     AUSTIN           MN         55912                  6004               Various                                                                                            $15.80
JAZMIN MAYES                   APT 2H                        1503 EISNER AVE                      SHEBOYGAN        WI         53083                  6004               Various                                                                                            $29.02
JAZMIN MENDOZA                 308 GARDEN DR                                                      BELVIDERE        IL         61008                  6004               Various                                                                                             $2.00




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JAZMIN NIETO                  2626 DREXEL ST                                            OMAHA           NE         68105                 6004                Various                                                                                             $6.00
JAZMIN SOSA                   1706 INDIANA ST                                           RACINE          WI         53405                 6004                Various                                                                                            $10.00
JAZMINE PETERSON              448 S. PRINCE STREET                                      WHITEWATER      WI         53190                 6004                Various                                                                                             $2.00
JAZMINE STORTON               520 LEWIS AVE.                                            BILLINGS        MT         59101                 6004                Various                                                                                             $8.00
JAZMYN BENSON                 139 S PEWABIC ST                                          CALUMET         MI         49913                 6002                Various                                                                                             $8.36
JAZMYN HAVELKA                W4559 US HIGHWAY 41                                       WALLACE         MI         49893                 6002                Various                                                                                             $9.70
JAZMYNE BROWN                 1530 GREENWOOD DR                                         ROTHSCHILD      WI         54474                 6004                Various                                                                                             $2.00
JAZMYNE WEBER                 3317 LAKESHORE DR                                         LA CROSSE       WI         54603                 6002                Various                                                                                             $6.38
JBSR INC                      7510 GLYNOAKS DR                                          LINCOLN         NE         68516                 6475                Various                                                                                          $354.60
JCPENNEY #1288                2200 N MAPLE AVENUE                                       RAPID CITY      SD         57701                 2985                Various                                                                                            $74.54
JDL FRAGRANCES                PO BOX 663                                                COUDERSPORT     PA         16915                 3914                Various                                                                                        $25,118.64
                              5351 BALUSTRADE BOULEVARD
JEAN ABBEY                    SE                                                        LACEY           WA         98513                  6004               Various                                                                                               $11.36
JEAN BEUG                     3612 JOSE RD                                              STURGIS         SD         57785                  6002               Various                                                                                                $3.04
JEAN BISHOP                   257 N 300TH E                                             MAPLETON        UT         84664                  6002               Various                                                                                                $3.32
JEAN BLASEL                   N3026 MCVEY RD                                            GILMAN          WI         54433                  6002               Various                                                                                                $6.74
JEAN BRITZIUS                 PO BOX 24                                                 HIGHWOOD        MT         59450                  6002               Various                                                                                                $7.67
JEAN BUELOW                   18 EMBREY CT                                              APPLETON        WI         54915                  6002               Various                                                                                                $1.34
JEAN BURTLOW                  62 SHEEP MOUNTAIN RD                                      WHEATLAND       WY         82201                  6002               Various                                                                                                $5.62
JEAN CASTELLION               BOX 867                                                   ROUNDUP         MT         59072                  6002               Various                                                                                                $9.37
JEAN CHIVERS                  1416 DAKOTA ST                                            WATERTOWN       WI         53094                  6002               Various                                                                                                $6.44
JEAN CREYDT                   370 E 12TH ST                                             FOND DU LAC     WI         54935                  6002               Various                                                                                                $2.11
JEAN DENK                     2350 S 23RD ST LOT 1111                                   MANITOWOC       WI         54220                  6002               Various                                                                                                $0.52
JEAN E DEAN                   515 N THIRD                                               L'ANSE          MI         49946                  6002               Various                                                                                                $0.27
JEAN E. KEYSER                127 S ONTARIO ST                                          DE PERE         WI         54115                  6002               Various                                                                                                $6.19
JEAN ERICKSON                 1019 15TH ST N PRE-RELEASE                                GREAT FALLS     MT         59401                  6002               Various                                                                                                $2.44
JEAN GASTEYER                 E2009 210TH AVE                                           ELMWOOD         WI         54740                  6002               Various                                                                                                $3.64
JEAN HAMMOND                  1131 IVY AVE                                              CRETE           NE         68333                  6002               Various                                                                                                $9.21
JEAN HICKS                    PO BOX 131                                                RATHDRUM        ID         83858                  6002               Various                                                                                                $0.38
JEAN HOLMES                   3826 ANDERSON DRIVE                                       EAU CLAIRE      WI         54703                  6002               Various                                                                                                $2.08
JEAN HORTON                   10 ASPEN WAY                                              MARYSVILLE      MT         59640                  6002               Various                                                                                                $2.25
JEAN JACOBSON                 6219 S US HWY 51 LOT 285                                  JANESVILLE      WI         53546                  6002               Various                                                                                                $4.16
JEAN KAHL                     907 JACOBSEN RD UNIT J                                    NEENAH          WI         54956                  6002               Various                                                                                                $3.92
JEAN KERANEN                  58016 US HIGHWAY 41                                       CALUMET         MI         49913                  6002               Various                                                                                                $0.68
JEAN KINKADE                  65 COUNTY ROAD 198                                        AFTON           WY         83111                  6002               Various                                                                                                $1.59
JEAN KOMISAREK                2636 LAVENDER LN APT 9                                    GREEN BAY       WI         54313                  6002               Various                                                                                                $3.92
JEAN KURK                     BOX 488                                                   EITZEN          MN         55931                  6002               Various                                                                                                $2.30
JEAN LEEMASTER                13786 DITTO CREEK RD                                      MOUNTAIN HOME   ID         83647                  6002               Various                                                                                                $4.22
JEAN LIBNOCH                  PO BOX 413 PMB 313                                        WAUTOMA         WI         54982                  6002               Various                                                                                                $8.85
JEAN LUMLEY                   402 31ST ST NE APT 215                                    ROCHESTER       MN         55906                  6002               Various                                                                                                $3.37
JEAN LYNN                     6259 FOX RUN                                              DE FOREST       WI         53532                  6004               Various                                                                                                $2.00
JEAN M ELLIOTT                34538 ANDRIE ST NW                                        PRINCETON       MN         55371                  6002               Various                                                                                                $5.92
JEAN M. FISHER                2146 15TH ST                                              EAU CLAIRE      WI         54703                  6002               Various                                                                                                $7.29
JEAN M. TWEEDALE              1303 SWAN RD                                              DE PERE         WI         54115                  6002               Various                                                                                                $0.33
JEAN MADDEN                   713 OAK ST CCMSD                                          SUNDANCE        WY         82729                  6002               Various                                                                                               $16.19
JEAN MATTIE                   1904 PROSPECT ST                                          LA CROSSE       WI         54603                  6002               Various                                                                                                $1.51
JEAN MILDRED BELKONEN         517 SHELDEN AVE APT 304                                   HOUGHTON        MI         49931                  6002               Various                                                                                                $0.44
JEAN MULVEY                   1118 N LAKE ST                                            NEENAH          WI         54956                  6002               Various                                                                                                $6.96
JEAN NEU                      1811 WINSTON BLVD                                         TOLEDO          OH         43614                  6002               Various                                                                                                $1.23
JEAN NEWMAN                   BOX 71                                                    RIVERTON        UT         84088                  6002               Various                                                                                                $0.58
JEAN PETERSON                 207 CULBERTSON AVE                                        WORLAND         WY         82401                  6002               Various                                                                                                $6.93
JEAN R BUNGE                  328 LAKEHILL DR                                           WORTHINGTON     MN         56187                  6002               Various                                                                                                $9.56
JEAN RADKE                    230 S MAIN ST                                             LAKE MILLS      WI         53551                  6002               Various                                                                                                $4.68
JEAN RIECK                    461 5TH AVE                                               GRAFTON         WI         53024                  6002               Various                                                                                                $3.75




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                                                                                                                                                                                             Contingent


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                                                                                                                                                    Last 4 Digits of     Date Debt was
                                                                                                                                                       Account         Incurred, Basis for
             Creditor Name                Address1                Address2        Address3             City          State           Zip   Country     Number                Claim                                                                             Total Claim
JEAN SCHWARTZKOPF             3106 BUENA VISTA RD                                              TORRINGTON         WY         82240                 6002                Various                                                                                                $5.96
JEAN SCHWIESOW                415 N WASHINGTON AVE                                             MADISON            SD         57042                 6002                Various                                                                                                $5.40
JEAN SCOTT                    303 SEYMOUR STREET                                               WAUSAU             WI         54403                 6004                Various                                                                                                $3.00
JEAN SLAWNY                   985 N BROADWAY APT 86                                            DE PERE            WI         54115                 6002                Various                                                                                                $9.86
JEAN SMITH                    1911 23RD AVE                                                    MENOMINEE          MI         49858                 6002                Various                                                                                                $2.22
JEAN STELTZ                   342 W 4TH STREET                                                 RUSH CITY          MN         55069                 6002                Various                                                                                                $6.24
JEAN SUMIDA                   1314 E 6125TH S                                                  OGDEN              UT         84405                 6002                Various                                                                                                $7.26
JEAN THOMASSEN                35110 FLETCHER AVE 02840285                                      WEEPING WATER      NE         68463                 6002                Various                                                                                                $4.16
JEAN TREMBATH                 25835 CEDAR ST                                                   CALUMET            MI         49913                 6002                Various                                                                                                $3.48
JEAN WARRICK                  236 W 14TH ST                                                    IDAHO FALLS        ID         83402                 6002                Various                                                                                                $4.41
JEAN WATERS                   1732 DUBLIN TRL APT 45                                           NEENAH             WI         54956                 6002                Various                                                                                                $6.16
JEAN WERTH                    N4163 GONNERING CT                                               KAUKAUNA           WI         54130                 6002                Various                                                                                                $5.81
JEAN WHITTAKER                1518 9TH ST                                                      CLARKSTON          WA         99403                 6002                Various                                                                                                $8.88
JEAN ZOHNER                   PO BOX 1066                                                      FRENCHTOWN         MT         59834                 6004                Various                                                                                                $1.00
JEANA HINES                   N5048 430TH ST                                                   ELLSWORTH          WI         54011                 6002                Various                                                                                                $4.90
JEANENE COXE                  PO BOX 82                                                        FORT SHAW          MT         59443                 6004                Various                                                                                               $27.00
JEANETTE ALLEE                300 6TH SW                    APT308                             KASSON             MN         55944                 6004                Various                                                                                                $3.06

JEANETTE ANGEL                302 SE 19TH AVE                                                  MILTON-FREEWATER   OR         97862                  6004               Various                                                                                                $3.00
JEANETTE BAUMGARTNER          3161 CRAIG RD                                                    EAU CLAIRE         WI         54701                  6002               Various                                                                                                $6.74
JEANETTE CLAWSON              723 S CENTER ST                                                  BEAVER DAM         WI         53916                  6002               Various                                                                                                $1.75
JEANETTE CLAYTON HARRELL      3730 LAURAL AVE                                                  OMAHA              NE         68111                  6004               Various                                                                                               $11.02
JEANETTE ENGLISH              8301 TIETON DR # 93                                              YAKIMA             WA         98908                  6004               Various                                                                                               $15.00
JEANETTE JENNIGES             210 CROSS ST                                                     MANKATO            MN         56003                  6002               Various                                                                                                $6.25
JEANETTE K KETOLA             300 W MICHIGAN ST APT 701                                        DULUTH             MN         55802                  6002               Various                                                                                                $1.07
JEANETTE KUEHN                W4702 GRANTON RD                                                 NEILLSVILLE        WI         54456                  6002               Various                                                                                                $5.04
JEANETTE MACKEY               16603 U S HWY 12                                                 NACHES             WA         98937                  6004               Various                                                                                               $10.57
JEANETTE MADDEN               713 OAK ST CCMSD                                                 SUNDANCE           WY         82729                  6002               Various                                                                                               $67.78
JEANETTE MARTINEZ             3012 S 44TH ST                                                   OMAHA              NE         68105                  6004               Various                                                                                                $4.00
JEANETTE PIERCE               RR 1 BOX 794                                                     WORLAND            WY         82401                  6002               Various                                                                                                $3.48
JEANETTE PLATO                401 MARCELLA ST.                                                 KIMBERLY           WI         54136                  6004               Various                                                                                               $45.00
JEANETTE PONCE                3415 E. ELSWOOD DR.                                              IDAHO FALLS        ID         83402                  6004               Various                                                                                                $3.65
JEANETTE POND                 303 OAKLAND AVE                                                  JANESVILLE         WI         53545                  6002               Various                                                                                                $9.23
JEANETTE ROBINSON             114 WEST PLEASANT ST                                             GARDEN CITY        MN         56034                  6004               Various                                                                                                $3.00
JEANETTE WARD                 HC 4 BOX 171B                                                    DONIPHAN           MO         63935                  6002               Various                                                                                                $0.44
JEANETTE WOLVERTON            57377 838 1/2 RD                                                 PILGER             NE         68768                  6002               Various                                                                                                $0.44
JEANIE REESE                  C/O DEB OKON                  28 ALDEA PLACE                     LOS LUNAS          NM         87031                  6002               Various                                                                                               $16.76
JEANIE REESE C/O DEB OKON     28 ALDEA PLACE                                                   LOS LUNAS          NM         87031                  6002               Various                                                                                                $8.38
JEANIE SLAYTON                PO BOX 187                                                       PIERCE             ID         83546                  6002               Various                                                                                                $0.85
JEANINE BEHRENDS              1904 ELLA ST                                                     BEATRICE           NE         68310                  6002               Various                                                                                                $8.71
JEANINE M BURCZYK             N66W24751 STONEGATE CT                                           SUSSEX             WI         53089                  6002               Various                                                                                                $7.12
JEANINE WALK                  1275 W SPRINSHRE LANE                                            SALT LAKE CITY     UT         84123                  6004               Various                                                                                                $1.00
JEANINE WILFAWN               11 DEBORAH DR APT 11                                             BLOOMFIELD         IA         52537                  6002               Various                                                                                                $2.74
JEANNA SAMSON                 209 S STARK ST APT A                                             BENNINGTON         NE         68007                  6002               Various                                                                                                $0.47
JEANNA STEWART                845 KIMBERLY CT                                                  LANDER             WY         82520                  6002               Various                                                                                                $1.62
JEANNE BALTES                 3624 E FORT BOISE LN                                             BOISE              ID         83716                  6002               Various                                                                                                $7.75
JEANNE BEYER                  347 9TH ST                                                       MENASHA            WI         54952                  6002               Various                                                                                                $3.81
JEANNE BRIDE                  20748 E 76TH LOOP                                                STURGIS            SD         57785                  6002               Various                                                                                                $0.36
JEANNE BUELL                  PO BOX 245                                                       WORLEY             ID         83876                  6002               Various                                                                                                $3.73
JEANNE CHANNELL               1433 N AMIRON WAY             APT D                              OREM               UT         84057                  6004               Various                                                                                               $22.00
JEANNE DELANEY                2902 HANCOCK ST LOT 7                                            BELLEVUE           NE         68005                  6002               Various                                                                                                $2.63
JEANNE DISHONG                8 ELK RIDGE RD                                                   NORTH FORK         ID         83466                  6002               Various                                                                                                $1.07
JEANNE ERATH                  5601 N HWY 63                 #57                                ROCHESTER          MN         55906                  6004               Various                                                                                                $3.00
JEANNE GRAVES                 4269 SKYVIEW DR                                                  JANESVILLE         WI         53546                  6004               Various                                                                                                $2.00




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JEANNE HOWARD                  4402 MARCOU RD # 8                                               LA CROSSE        WI         54601                 6002                Various                                                                                                $5.81
JEANNE KURTENBACH              45614 490TH AVE                                                  NEWMAN GROVE     NE         68758                 6002                Various                                                                                                $6.30
JEANNE NIER                    834 OREGON ST.                                                   GREEN BAY        WI         54303                 6004                Various                                                                                                $1.00
JEANNE SCHREMPP                3222 6TH STREET                                                  LEWISTON         ID         83501                 6002                Various                                                                                                $4.16
JEANNE SECKEL                  5604 CTY N                                                       OCONTO           WI         54153                 6004                Various                                                                                               $25.00
JEANNE VILLAR                  414 11TH AVE SE                                                  ROCHESTER        MN         55904                 6004                Various                                                                                                $6.00
JEANNETTE BURT                 W6150 CTY BB LOT 45                                              APPLETON         WI         54914                 6002                Various                                                                                                $5.18
JEANNETTE GOULD                26 VESSEL RD                                                     LANDER           WY         82520                 6002                Various                                                                                               $10.00
JEANNETTE HUSKEY               15234 BALD EAGLE AVE                                             CALDWELL         ID         83607                 6004                Various                                                                                                $1.22
JEANNETTE KANGAS               54890 OLD COUNTY ROAD                                            CALUMET          MI         49913                 6002                Various                                                                                                $6.55
JEANNETTE L LEMMON             929 3RD ST W                                                     ROUNDUP          MT         59072                 6002                Various                                                                                                $9.97
JEANNETTE M KEMP               1022 ECHO LN                                                     RHINELANDER      WI         54501                 6002                Various                                                                                                $7.67
JEANNETTE SCHUMSKI             818 WEINERT RD #3                                                WEST BEND        WI         53090                 6004                Various                                                                                                $1.00
JEANNETTE SEVERSON             602 N MAIN ST                                                    BLACK CREEK      WI         54106                 6002                Various                                                                                                $8.79
JEANNETTE VANDE VEEGAETE       545 N BERNARD ST                                                 POWELL           WY         82435                 6002                Various                                                                                                $9.29
JEANNETTE ZAIGER               204 W ORANGE ST APT 8                                            TABOR            IA         51653                 6002                Various                                                                                                $0.58
JEANNIE A GRIFFIN              285 NW 5TH ST                                                    TRENTON          MO         64683                 6002                Various                                                                                                $7.40
JEANNIE CARLSON                1000 NORWAY AVE                                                  MARQUETTE        MI         49855                 6002                Various                                                                                                $1.59
JEANNIE DELGADO                416 1/2 S. WASHINGTON ST                                         WATERTOWN        WI         53094                 6004                Various                                                                                               $15.00
JEANNIE FRAZER                 525 1ST ST SW                                                    OELWEIN          IA         50662                 6002                Various                                                                                                $4.41
JEANNIE GILDER                 1762 E. 5TH ST. EXTENSION                                        LIBBY            MT         59923                 6004                Various                                                                                                $1.00
JEANNIE NICKERSON              704 MISSOURI AVE APT 3                                           ALLIANCE         NE         69301                 6002                Various                                                                                                $2.00
JEANNIE OLLINGER               610 E 11TH ST NORTH                                              LADYSMITH        WI         54848                 6004                Various                                                                                               $12.00
JEANNIE QUAST                  807 SO 46TH AVE                                                  YAKIMA           WA         98908                 6004                Various                                                                                                $7.96

JEANNIE RICHARDSON             4327 WOODCREST DR APT 204 C                                      JANESVILLE       WI         53546                  6004               Various                                                                                             $5.60
JEANNIE TAYLOR                 W8037 PARK LANE RD                                               LAKE MILLS       WI         53551                  6002               Various                                                                                             $7.73
JEANNINE ANSTETT               806 6TH STREET NORTH                                             SAINT JAMES      MN         56081                  6004               Various                                                                                            $10.00
JEANNINE D FRITZ               502 E 2ND ST                                                     VERDON           NE         68457                  6002               Various                                                                                             $2.55
JEANNINE GILLES                207 WASHINGTON STREET                                            WINONA           MN         55987                  6004               Various                                                                                            $10.00
JEANNINE PENHALLEGON           202 1/2 W MASON ST                                               LENA             IL         61048                  6002               Various                                                                                             $0.33
JECHT HODGES                   4680 S MAIN ST                                                   ROCKFORD         IL         61102                  6004               Various                                                                                             $3.90
JED DREWS                      E11277 JUNCTION RD                                               WAUSAU           WI         54403                  6004               Various                                                                                            $28.00
JEEVA VENKATESH                1634 S 154TH ST                                                  OMAHA            NE         68144                  6004               Various                                                                                            $17.00
JEFF AMUNDSON                  221 ALBERT ST                                                    CHIPPEWA FALLS   WI         54729                  6004               Various                                                                                           $120.00
JEFF ARTMAN                    100 HEMMERT                                                      THAYNE           WY         83127                  6002               Various                                                                                             $1.42
JEFF B BUHR                    929 WOODSIDE DR                                                  SEYMOUR          WI         54165                  6002               Various                                                                                             $9.62
JEFF BATES                     124 E 3RD ST                BOX 252                              KANAWHA          IA         50447                  6004               Various                                                                                             $3.13
JEFF BAVINCK                   1636 S PERKINS ST                                                APPLETON         WI         54914                  6004               Various                                                                                             $4.82
JEFF BEMIS                     2807 28 7/16 ST                                                  BIRCHWOOD        WI         54817                  6002               Various                                                                                             $8.96
JEFF BLANKE                    714 MANITOWOC ST                                                 REEDSVILLE       WI         54230                  6002               Various                                                                                             $9.37
JEFF BRAGG                     1114 W 10TH AVE             N105                                 KENNEWICK        WA         99336                  6004               Various                                                                                            $50.00
JEFF CAINE                     W7591 CREEK RD                                                   LOWELL           WI         53557                  6002               Various                                                                                             $1.45
JEFF CAIRO                     8904 29TH COURT                                                  KENOSHA          WI         53143                  6004               Various                                                                                            $60.00
JEFF COMER                     1318 N 12TH ST                                                   COEUR DALENE     ID         83814                  6004               Various                                                                                            $10.00
JEFF DAUGHERTY                 583 N WASHINGTON ST                                              AFTON            WY         83110                  6002               Various                                                                                             $4.82
JEFF DELOACH                   47833 COMMERICAL STREET                                          OAKRIDGE         OR         97463                  6004               Various                                                                                             $1.00
JEFF DORNAN                    PO BOX 34                                                        SWANTON          NE         68445                  6004               Various                                                                                            $30.00
JEFF EARHART                   1519 BRYDEN AVE                                                  LEWISTON         ID         83501                  6004               Various                                                                                             $6.76
JEFF ELLIOTT                   682 E 3225TH N                                                   NO OGDEN         UT         84414                  6002               Various                                                                                             $8.30
JEFF FISHMAN                   26 NORTHRIDGE WAY                                                SANDY            UT         84092                  6002               Various                                                                                             $3.29
JEFF FREUND                    299 N WESTHAVEN DRIVE       APT Z207                             OSHKOSH          WI         54904                  6004               Various                                                                                            $37.00
JEFF KURTZ                     1200 N FEE                                                       HELENA           MT         59601                  6004               Various                                                                                             $8.00




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                                                                  110 WEST WAVERLY
JEFF LECLAIR CUTTING EDGE LAWN     JEFFREY LECLAIR                STREET                            NORTON             KS       67654                   6524               Various                                                                                           $600.00
JEFF M. WELLS                      552 W CLADY LN                                                   COEUR D ALENE      ID       83815                   6002               Various                                                                                             $9.01
JEFF MARKWARDT                     1339 27TH ST SE                                                  SAINT CLOUD        MN       56304                   6004               Various                                                                                             $6.32
JEFF MARTIN                        BENTENSO DAI FUJIYOSHIDA                                         403-004,JAPAN      IA       50849                   6002               Various                                                                                             $2.33
JEFF MASON                         217 N HENRY STREET                                               STOUGHTON          WI       53589                   6004               Various                                                                                            $22.50
JEFF MCNULTY                       13711 MADISON CIRLCE                                             OMAHA              NE       68137                   6004               Various                                                                                             $3.00
JEFF METAJAN                       3117 BENT REEK DR                                                VALRICO            FL       33596                   6002               Various                                                                                             $5.62
JEFF MONAHOS                       2140 BOLES ST                                                    WISCONSIN RAPID    WI       54495                   6002               Various                                                                                             $0.52
JEFF MUELLER                       8913 AUTUMN LINE LOOP SE                                         OLYMPIA            WA       98513                   6004               Various                                                                                            $15.02
JEFF MUNTIFERING                   1221 KILIAN BLVD SE                                              SAINT CLOUD        MN       56304                   6002               Various                                                                                             $8.49
JEFF NELSON                        22630 375TH ST                                                   FOREST CITY        IA       50436                   6002               Various                                                                                             $9.42
JEFF NOREN                         302 KILLDEER AVENUE                                              CAMPBELLSPORT      WI       53010                   6004               Various                                                                                             $3.00
JEFF NORTON                        624 BUFFALO STREET             APT 1                             MANITOWOC          WI       54220                   6004               Various                                                                                            $11.00
JEFF O'DELL                        3844 SO 6300 W                                                   SALT LAKE CITY     UT       84128                   6004               Various                                                                                             $3.11
JEFF PENTICOFF                     PO BOX 153                                                       PHILIP             SD       57567                   6004               Various                                                                                            $88.00

JEFF PIERCE                        2420 LAKE AVENUE                                                 WISCONSIN RAPIDS   WI       54494                   6004               Various                                                                                               $26.77
JEFF POLING                        72934 O RD                                                       HOLDREGE           NE       68949                   6002               Various                                                                                                $9.40
JEFF RABIDEAUX                     2933 GREEN DR                                                    PLOVER             WI       54467                   6002               Various                                                                                                $2.30
JEFF REEDER                        1880 KENNEDY LANE                                                FLORENCE           WI       54121                   6004               Various                                                                                               $23.48
JEFF SCHREINER                     2430 MARY #31                                                    MARINETTE          WI       54143                   6004               Various                                                                                                $1.00
JEFF SCHWAB                        4370 LENTZ RD                                                    STANDISH           MI       48658                   6002               Various                                                                                                $1.23
JEFF SEVERSON                      202 NO. LINCOLN                                                  ABERDEEN           SD       57401                   6004               Various                                                                                               $23.00
JEFF SHAPIRO                       PO BOX 298                                                       ALBANY             WI       53502                   6002               Various                                                                                                $0.82
JEFF SKAUGE                        5406 HAYNES ROAD                                                 SHEPHERD           MT       59079                   6004               Various                                                                                               $35.02
JEFF SOLEM                         215 ROBBINS ST                                                   SEYMOUR            WI       54165                   6002               Various                                                                                                $7.29
JEFF SPRUANCE                      613 E 1800TH N                                                   N LOGAN            UT       84341                   6002               Various                                                                                                $5.97

JEFF STEINKAMP                     1660 1ST ST N                                                    WISCONSIN RAPIDS   WI       54494                   6004               Various                                                                                            $35.00
JEFF STOCK                         6424 NEWTON RD                                                   NEWTON             WI       53063                   6002               Various                                                                                             $6.85
JEFF STRAW                         23 N BENTON AVE                                                  HELENA             MT       59601                   6002               Various                                                                                             $8.60
JEFF STREBY                        11463 N NASH DR                                                  SYRACUSE           IN       46567                   6002               Various                                                                                             $9.45
JEFF TENNY                         1270 BOBBITT BENCH RD                                            PECK               ID       83545                   6002               Various                                                                                             $0.85
JEFF THOMPSON                      2622 SUNNY BROOK ROAD                                            GRAND ISLAND       NE       68801                   6004               Various                                                                                            $30.00
JEFF WAATTI                        57071 ROCKLAND ST                                                CALUMET            MI       49913                   6002               Various                                                                                             $0.90
JEFF WONG                          580 FAW RD                                                       HELENA             MT       59602                   6002               Various                                                                                             $2.44
JEFF WYATT                         22268 E 1080TH RD                                                ALLENDALE          IL       62410                   6002               Various                                                                                             $6.16
JEFF ZOGG                          6060 W 2400TH N                                                  CORINNE            UT       84307                   6002               Various                                                                                             $8.25
JEFFERSON CURRENT ELECTRIC, INC    1473 INDUSTRIAL AVE                                              JEFFERSON          WI       53549                                      10/19/2018                                                                                        $472.41

JEFFERY AMUNDSON                   215 ELTON HILLS DR NW APT 25                                     ROCHESTER          MN       55901                   6004               Various                                                                                                $3.00
JEFFERY BURKHART                   4467 S STONE RD                                                  SOUTH RANGE        WI       54874                   6002               Various                                                                                                $6.08
JEFFERY CHARGING                   369 TROUT CREEK RD                                               FT WASHAKIE        WY       82514                   6002               Various                                                                                                $1.51
JEFFERY CRUGHER                    9868 LONG LAKE DR SW                                             FIFE LAKE          MI       49633                   6002               Various                                                                                                $3.48
JEFFERY FILLO                      808 W HOLMES ST                                                  JANESVILLE         WI       53548                   6002               Various                                                                                                $6.30
JEFFERY HARVEY                     N5025 JOE CORN DR                                                IRON MOUNTAIN      MI       49801                   6002               Various                                                                                                $3.53
JEFFERY HOOKHAM                    420 E WARREN ST                                                  LUVERNE            MN       56156                   6002               Various                                                                                                $4.44
JEFFERY HOUSTON                    1064 W 10TH AVE                                                  OSHKOSH            WI       54902                   6002               Various                                                                                                $6.88
JEFFERY HUGHES                     403 GREENHILL DR                                                 MILTON             WI       53563                   6002               Various                                                                                                $3.56
JEFFERY ICE                        1709 DARNLEY RD                                                  RAWLINS            WY       82301                   6002               Various                                                                                                $1.59
JEFFERY JOHN PHILLIPPE             33 SHOREVIEW DR                                                  COTTONWOOD         MN       56229                   6002               Various                                                                                                $6.99
JEFFERY JONAS                      N9126 COUNTY RD D 36                                             BOWLER             WI       54416                   6004               Various                                                                                                $2.00
JEFFERY KIRCHER                    1326 7TH AVE                                                     HOLDREGE           NE       68949                   6002               Various                                                                                                $7.56




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JEFFERY MARTIN                 9905 55TH STREET                                              CLEAR LAKE        MN         55319                 6004                Various                                                                                                $3.00
JEFFERY MIDDLETON              4900 ROYAL AVE SPC 25                                         EUGENE            OR         97402                 6004                Various                                                                                                $8.90
JEFFERY OPPERMANN              964 EVANS STREET                                              NEENAH            WI         54956                 6002                Various                                                                                               $46.98
JEFFERY OWENS                  1624 LONG AVENUE                                              KINGSFORD         MI         49802                 6004                Various                                                                                               $13.00
JEFFERY PARRY                  630 S 600 E                                                   BRIGHAM CITY      UT         84302                 6004                Various                                                                                               $61.00
JEFFERY PRIBBENOW              W11731 COUNTY RD AW                                           RANDOLPH          WI         53956                 6004                Various                                                                                               $79.99
JEFFERY REEDER                 1880 KENNEDY LANE                                             FLORENCE          WI         54121                 6004                Various                                                                                               $37.76
JEFFERY S. ALMOND              3346 WEDGEWOOD LOOP                                           COEUR D ALENE     ID         83815                 6002                Various                                                                                                $0.58
JEFFERY THUMS                  7210 WESTERN RIDGE DRIVE                                      WESTON            WI         54476                 6004                Various                                                                                               $10.00
JEFFERY TURNQUIST              7 UNION ST                                                    MOHAWK            MI         49950                 6002                Various                                                                                                $4.60
JEFFERY VILLWOCK               W3618 DIKE RD                                                 MAYVILLE          WI         53050                 6004                Various                                                                                               $25.00
                               N67W29486 STONEGATE CT APT
JEFFERY W. LIND                1                                                             SUSSEX            WI         53089                  6002               Various                                                                                             $6.55
JEFFERY WILMOT                 2230 LEWIS AVE                                                BILLINGS          MT         59102                  6004               Various                                                                                             $1.00
JEFFIER BUSSE                  1700 WESTERN AVE APT 24                                       GREEN BAY         WI         54303                  6002               Various                                                                                             $4.49
JEFFORY SMITH                  210 16 ST NE               APT. 305                           ROCHESTER         MN         55906                  6004               Various                                                                                             $3.00
JEFFREY A BRESSLER             139 E 13TH ST                                                 IDAHO FALLS       ID         83404                  6002               Various                                                                                             $2.68
JEFFREY A PRESTON              266 E MAIN ST                                                 ELLSWORTH         WI         54011                  6002               Various                                                                                             $6.33
JEFFREY A. HORD                W521 COUNTY ROAD N                                            NIAGARA           WI         54151                  6002               Various                                                                                             $1.59
JEFFREY B AUSTIN               941 N COUNTY ROAD 250 EAST                                    BROWNSTOWN        IN         47220                  6787               Various                                                                                         $4,250.00
JEFFREY BECKMANN               3026 SOUTH 34TH ST                                            OMAHA             NE         68105                  6004               Various                                                                                            $10.00
JEFFREY BENVENUTO              6122 50TH AVENUE                                              KENOSHA           WI         53142                  6004               Various                                                                                            $16.00
JEFFREY BEYER                  421 GREEN HAVE LANE                                           KAUKAUNA          WI         54130                  6004               Various                                                                                             $3.80
JEFFREY BISSING                1823 WAUNONA WAY                                              MADISON           WI         53713                  6004               Various                                                                                             $5.40
JEFFREY BLANCHAT               2831 CHESTNUT DR APT 7                                        PLOVER            WI         54467                  6002               Various                                                                                             $8.33
JEFFREY BRAUN                  240 E PEARL ST                                                SEYMOUR           WI         54165                  6002               Various                                                                                             $9.10
JEFFREY BRIA ZYLSTRA           701 PARK AVE APT D116                                         MANISTIQUE        MI         49854                  6002               Various                                                                                             $4.25
JEFFREY BRUSKI                 3667 SOUTH WASHBURN AVE                                       OSHKOSH           WI         54904                  6004               Various                                                                                             $3.80
JEFFREY BURTON                 1057 PINE ST                                                  WHEATLAND         WY         82201                  6002               Various                                                                                             $4.52
JEFFREY CASEY                  115 AGUSTA DR                                                 TREYNOR           IA         51575                  6004               Various                                                                                            $23.00
JEFFREY CATE                   376 SOUTH EMERY AVE.                                          PESHTIGO          WI         54157                  6004               Various                                                                                            $16.00
JEFFREY CHANTHARATH            1222 OMAHA                                                    WORTHINGTON       MN         56187                  6004               Various                                                                                             $3.00
JEFFREY CHAR THOMAS            59076 280TH ST                                                MALVERN           IA         51551                  6002               Various                                                                                             $7.01
JEFFREY CLAYWELL               318 E RAILROAD                                                BELLMONT          IL         62811                  6002               Various                                                                                             $8.74
JEFFREY CLOIDT                 2015 AVE B # 09 PMB D                                         PLATTSMOUTH       NE         68048                  6002               Various                                                                                             $2.74
JEFFREY COTTEN                 21119 601ST ST                                                DODGE CENTER      MN         55927                  6002               Various                                                                                             $0.99
JEFFREY CREAMER                305 E 17TH AVE                                                BELLEVUE          NE         68005                  6002               Various                                                                                             $0.88
JEFFREY CULPEPPER              905 BEASVER CREEK RD                                          NEWCASTLE         WY         82701                  6002               Various                                                                                             $7.53
JEFFREY D NORGAARD             2839 HARBOR ST                                                MORA              MN         55051                  6002               Various                                                                                            $10.00
JEFFREY DOWD                   2613 20TH AVE NW                                              AUSTIN            MN         55912                  6004               Various                                                                                             $3.00

JEFFREY DROTZUR                1212 N HOLDEN ST                                              PORT WASHINGTON   WI         53074                  6002               Various                                                                                                $3.51
JEFFREY E LIATY                1221 E COEUR DALENE AVE                                       COEUR D ALENE     ID         83814                  6002               Various                                                                                                $0.60
JEFFREY GIERCZAK               2568 LEOPOLD WAY            #206                              SUN PRAIRIE       WI         53590                  6004               Various                                                                                               $20.00
JEFFREY GLASPIE                513 CHERISH AVE.                                              SELAH             WA         98942                  6004               Various                                                                                               $13.94
JEFFREY GRADY                  321 TAYLOR ST                                                 KAUKAUNA          WI         54130                  6004               Various                                                                                               $15.00
JEFFREY GRIFFIN                401 E GENEVA ST                                               DELAVAN           WI         53115                  6002               Various                                                                                                $1.18
JEFFREY GROB                   79 PARKLANE DR.                                               KALISPELL         MT         59901                  6004               Various                                                                                                $2.00
JEFFREY HAINES                 116 MILL ST                                                   CLINTON           WI         53525                  6002               Various                                                                                                $1.89
JEFFREY HAMILTON               2809 CORY AVE                                                 AKRON             OH         44314                  6002               Various                                                                                                $2.47
JEFFREY HEITNER                12 DELLVIEW LN                                                MANKATO           MN         56001                  6004               Various                                                                                                $5.02
JEFFREY HOFFMAN                W9310 637TH AVE                                               ELLSWORTH         WI         54011                  6002               Various                                                                                                $4.99
JEFFREY HOLM                   3007 CHAIN DR APT 3                                           MENASHA           WI         54952                  6002               Various                                                                                                $3.12
JEFFREY INGELS                 4931 DOVETAIL AVE                                             BILLINGS          MT         59106                  6004               Various                                                                                                $2.40




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                                                                                                                                                                                            Contingent


                                                                                                                                                                                                                        Disputed
                                                                                                                                                   Last 4 Digits of     Date Debt was
                                                                                                                                                      Account         Incurred, Basis for
               Creditor Name               Address1             Address2        Address3             City           State           Zip   Country     Number                Claim                                                                             Total Claim
JEFFREY JAME LUEDEMAN           435 W FACTORY ST                                             SEYMOUR           WI           54165                 6002                Various                                                                                             $4.27
JEFFREY 'JD' HAUNTZ             508 A PRESTON AVE.                                           LEWISTON          ID           83501                 6004                Various                                                                                             $3.65
JEFFREY JENNELLE                808 18TH RD                                                  WEST POINT        NE           68788                 6002                Various                                                                                             $6.68
JEFFREY JOHNSON                 W5226 HILL LN                                                CRIVITZ           WI           54114                 6002                Various                                                                                             $5.95
JEFFREY KAERCHER                997 NORLAND ROAD                                             BELLEVILLE        WI           53508                 6004                Various                                                                                             $4.00
JEFFREY KEHR                    6616 N 110 AV                                                OMAHA             NE           68164                 6004                Various                                                                                           $135.00
JEFFREY KOENIG                  3613 SHARON DR                                               EAU CLAIRE        WI           54701                 6002                Various                                                                                             $2.22
JEFFREY KOZELKA                 3705 ADAMS ST                                                TWO RIVERS        WI           54241                 6002                Various                                                                                             $0.41
JEFFREY KRUESEL                 944 17TH AVENUE                                              GRAFTON           WI           53024                 6004                Various                                                                                             $2.19
JEFFREY KRYGER                  13506 S 33RD ST                                              BELLEVUE          NE           68123                 6002                Various                                                                                             $4.11
JEFFREY L. HICKS                6518 S 137TH CIR                                             OMAHA             NE           68137                 6002                Various                                                                                             $5.75
JEFFREY LANSER                  W3253 KRUEGER RD                                             SEYMOUR           WI           54165                 6002                Various                                                                                             $5.45
JEFFREY LANTGEN                 321 2ND ST SE                                                WATERTOWN         SD           57201                 6002                Various                                                                                             $1.21

JEFFREY LARGE                   4157 COUNTY ROAD H                                           PORT WASHINGTON   WI           53074                  6002               Various                                                                                             $3.48
JEFFREY M SCHREAR               2479 CHARMANY WAY                                            MC FARLAND        WI           53558                  6002               Various                                                                                             $4.96
JEFFREY M SHERLOCK              613 POWER                                                    HELENA            MT           59601                  6624               Various                                                                                         $4,500.00
JEFFREY MANZANARES              1195 N MAIN STREET                                           LAYTON            UT           84041                  6004               Various                                                                                             $4.82
JEFFREY MEASE                   2971 MAYFLOWER RD                                            GREEN BAY         WI           54311                  6002               Various                                                                                             $2.96
JEFFREY MILLER                  205 3RD ST NW APT 16                                         EAST GRAND FORK   MN           56721                  6002               Various                                                                                             $7.37
JEFFREY MROZINSKI               3200 WATER STREET, TRL 112                                   STEVENS POINT     WI           54481                  6004               Various                                                                                            $69.00
JEFFREY NELSON                  412 SOUTH BRENT ST                                           JOHN DAY          OR           97845                  6004               Various                                                                                            $16.50

JEFFREY NEWLIN                  327 W GRAND AVE                                              PORT WASHINGTON WI             53074                   6002              Various                                                                                               $4.08
JEFFREY P LUMMUKKA              225 GOLD ST                                                  ISHPEMING       MI             49849                   6002              Various                                                                                               $7.73
                                655 W. BLACKHAWK DRIVE - UNIT
JEFFREY PATTON                  C                                                            FORT ATKINSON     WI           53538                  6004               Various                                                                                            $10.00
JEFFREY PETERSON                141 S MAPLE ST APT 105                                       ELLSWORTH         WI           54011                  6002               Various                                                                                             $2.93
JEFFREY R. MCBRIDE              1231 SPRUCE DR                                               PLOVER            WI           54467                  6002               Various                                                                                             $7.64
JEFFREY REESE                   2321 16TH AVE                                                MONROE            WI           53566                  6002               Various                                                                                             $0.82
JEFFREY RUEDEN                  276 CRESTVIEW RD                                             KAUKAUNA          WI           54130                  6004               Various                                                                                            $25.00
JEFFREY S DOLL                  1309 1/2 17TH ST N                                           MOORHEAD          MN           56560                  6002               Various                                                                                             $4.38
JEFFREY S HIBBS                 812 APPLETON RD                                              MENASHA           WI           54952                  6002               Various                                                                                             $4.08
JEFFREY SAUTER                  4969 MORNING GLORY DR                                        WEST BEND         WI           53095                  6004               Various                                                                                            $10.00
JEFFREY SCHMID                  N8233 ELM RD                                                 HILBERT           WI           54129                  6002               Various                                                                                             $4.99
JEFFREY SCHWANTES               8245 RAINBOW DR                                              GLEN HAVEN        WI           53810                  6002               Various                                                                                             $1.71
JEFFREY SHAFER                  711 FOREST COURT                                             FOND DU LAC       WI           54935                  6004               Various                                                                                            $29.99
JEFFREY SHAWD                   803 CLIFF AVE                                                VALLEY SPRINGS    SD           57068                  6002               Various                                                                                             $7.21
JEFFREY SMET                    619 6TH ST                                                   MENASHA           WI           54952                  6002               Various                                                                                             $6.33
JEFFREY SMITH                   334 LLANOS ST                                                VERONA            WI           53593                  6004               Various                                                                                             $1.00
JEFFREY STARK                   1290 GLENVIEW                                                NEENAH            WI           54956                  6004               Various                                                                                             $4.32
JEFFREY SWENSON                 3193 BOOKHAM DR.                                             SUN PRAIRIE       WI           53590                  6004               Various                                                                                             $2.00
JEFFREY T MARTIN                E2452 LINDEE LN                                              WAUPACA           WI           54981                  6002               Various                                                                                             $2.22
JEFFREY THIESSEN                5416 N 80TH ST                                               OMAHA             NE           68134                  6002               Various                                                                                             $3.62
JEFFREY TRIBETT                 369 BARBER ST                                                LAYTON            UT           84041                  6002               Various                                                                                             $2.66
JEFFREY WALLS                   13500 215THAVE                                               BIG RAPIDS        MI           49307                  6002               Various                                                                                             $9.81
JEFFRIE SCHMIDT                 3100 WILLOWIND                                               NORTH PLATTE      NE           69101                  6002               Various                                                                                             $5.26
JEFFRY JOHN ERLANDSON           102 S LIBERTY ST                                             WINNER            SD           57580                  6002               Various                                                                                             $1.64
JEFFRY PLATTER                  5375 MISSION LANE                                            LINCOLN           NE           68521                  6004               Various                                                                                            $40.00
JELAYNE PEHLER                  RT BOX # 487A                                                WINONA            MN           55987                  6002               Various                                                                                             $8.99
JELLY BELLY COMPANY             PO BOX 742799                                                LOS ANGELES       CA           90074-2799             4291               Various                                                                                         $6,667.72
JELMAR LLC                      39933 TREASURY CENTER                                        CHICAGO           IL           60694-9900             5978               Various                                                                                        $20,050.11
JELORA CLARK                    114 WEST PLEASANT ST                                         GARDEN CITY       MN           56034                  6004               Various                                                                                             $3.00
JEM ART INC (C-HUB)             801 SHOTGUN ROAD                                             SUNRISE           FL           33326                  3511               Various                                                                                         $2,908.50




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                                                                                                                                                     Account       Incurred, Basis for
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JEN MENSEN                      3110 FOREST LAWN AVE                                            OMAHA            NE         68112                6002              Various                                                                                             $4.60
JENA DOWN                       N4685 455TH STREET                                              MENOMONIE        WI         54751                6004              Various                                                                                            $16.75
JENA M FAUE                     2138 WILLOW TRL                                                 MANKATO          MN         56003                6002              Various                                                                                             $4.88
JENDRO SANITATION               PO BOX 97                                                       CHARLES CITY     IA         50616-0097                             Various                                                                                           $753.28
JENE HUTCHINGS                  9453 SO WASATCH DOWNS                                           SOUTH JORDAN     UT         84095                6002              Various                                                                                             $2.58
JENELL OCONNOR                  509 8TH ST                                                      ONAWA            IA         51040                6002              Various                                                                                             $2.66
JENELLE ANDERSON                64241 240TH ST                                                  DEXTER           MN         55926                6004              Various                                                                                             $6.00
JENESSA ARNSMEIER               W502 ROCK HILL RD                                               BRODHEAD         WI         53520                6004              Various                                                                                            $23.00
JENESTIA PIERCE                 115 SALMON MEADOWS ST                                           SALMON           ID         83467                6002              Various                                                                                             $1.42
JENI M JOHNSON                  33 OLSON RD                                                     WHEATLAND        WY         82201                6002              Various                                                                                             $6.14
JENIFER BECKER                  10824 N 50TH AVE                                                OMAHA            NE         68152                6004              Various                                                                                             $3.99
JENIFER BROOKS                  PO BOX 1397                                                     OROFINO          ID         83544                6002              Various                                                                                             $1.40
JENIFER GARBE                   15481 400TH ST                                                  NORTH BRANCH     MN         55056                6004              Various                                                                                             $3.00
JENIFER METTLER                 720 WEST CUSTER ST                                              LINCOLN          NE         68521                6004              Various                                                                                            $10.00
JENIFER RYAN                    101 NEVELLE AVE                                                 BLOOMFIELD       IA         52537                6002              Various                                                                                             $1.21
JENIFER TURVILLE                6995 SO TOURIST LN # 8                                          WEST JORDAN      UT         84081                6002              Various                                                                                             $9.34
JENIFFER JACKSON                3280 STATE ROUTE 28 SOUTH                                       EAST WENATCHEE   WA         98802                6004              Various                                                                                            $29.92
JENILEE SPLITTGERBER            1200 W. BLACKHAWK DRIVE                                         FORT ATKINSON    WI         53538                6004              Various                                                                                            $56.00
JENINE WARD                     620 MADISON DRIVE                                               DELAVAN          WI         53115                6004              Various                                                                                            $10.00
JENISE MYHRE BELLANGER          PO BOX 653                                                      NORTH BRANCH     MN         55056                6002              Various                                                                                            $35.15
JENISE MYHRE-BELLANGER          PO BOX 653                                                      NORTH BRANCH     MN         55056                6002              Various                                                                                            $35.15

JENKINS/ DEREK L                HOMETOWN RETAIL             SHOPKO EMPLOYEE                     GREEN BAY        WI         54307-9060             1021            Various                                                                                           $443.15
JENN CLOUSE                     424 1ST AVE S                                                   GREYBULL         WY         82426                  6002            Various                                                                                             $8.05
JENNA AINSWORTH                 400 PINE ST.                                                    BROOKLYN         WI         53521                  6004            Various                                                                                            $39.00
JENNA ANDERSON                  917 27TH AVE NE #316                                            ABERDEEN         SD         57401                  6004            Various                                                                                            $33.00
JENNA BEHNKEN                   9 1/2 S. FIFTH STREET                                           FORT ATKINSON    WI         53538                  6004            Various                                                                                             $1.02
JENNA BONOFIGLIO                2209 28TH AVE                                                   KENOSHA          WI         53140                  6004            Various                                                                                            $10.00
JENNA BRUSSELL                  650 SOMERS RD                                                   SOMERS           MT         59932                  6002            Various                                                                                             $0.36
JENNA DENGEL                    202 OHIO STREET                                                 MERRILL          WI         54452                  6004            Various                                                                                            $22.00
JENNA DRESCHER                  1932 WILBY RD.                                                  ALBERT LEA       MN         56007                  6004            Various                                                                                             $3.00
JENNA FROST                     24868 KEYSTONE AVE                                              CHISAGO CITY     MN         55013                  6004            Various                                                                                             $9.02
JENNA GIESE                     9314 DEGRANVELLE DR                                             BAKERSFIELD      CA         93311                  6002            Various                                                                                             $3.07
JENNA JOHNSON                   W5257 MEADOWLARK ST                                             DURAND           WI         54736                  6004            Various                                                                                            $10.00
JENNA KRUEGER                   6560 ALPINE DR                                                  WEST BEND        WI         53090                  6002            Various                                                                                             $0.71
JENNA MARSALEK                  12 MEADOW CT                                                    GLASGOW          MT         59230                  6002            Various                                                                                             $7.15
JENNA MILLER                    5335 2ND AVE                                                    PITTSVILLE       WI         54466                  6004            Various                                                                                            $76.00
JENNA MITCHELL                  600 FAIR AVE W                                                  MORA             MN         55051                  6002            Various                                                                                             $2.77
JENNA RITCHIE                   421 N STEVENS ST                                                RHINELANDER      WI         54501                  6002            Various                                                                                            $10.00
JENNA SERWE                     107 GRAHL AVE                                                   EDEN             WI         53019                  6004            Various                                                                                           $123.50
JENNA TREML                     250 TAMARACK DR APT 5                                           LAKE MILLS       WI         53551                  6002            Various                                                                                             $5.37
JENNA TUDAHL                    W6008 LANGDELL RD                                               EAU CLAIRE       WI         54701                  6002            Various                                                                                             $0.52
JENNA WEHTJE                    1419 AVENUE C                                                   GOTHENBURG       NE         69138                  6002            Various                                                                                             $3.48
JENNAFER NEHLS                  N5232 HIGHWAY 67                                                IRON RIDGE       WI         53035                  6002            Various                                                                                             $2.88
JENNE JASPER                    PO BOX 1974                                                     OROFINO          ID         83544                  6002            Various                                                                                             $3.18
JENNEH UDIA                     1121 WEST C STREET          APT 212                             LINCOLN          NE         68522                  6004            Various                                                                                            $30.00
JENNER SHERMAN                  1210 WOODSIDE DRIVE                                             EUGENE           OR         97401                  6004            Various                                                                                            $10.00
JENNETT SCHAFBUCH               3741 S 1300TH E                                                 SALT LAKE CITY   UT         84106                  6002            Various                                                                                             $7.23
JENNETTE M KNIGHT               200 N CAYUGA ST                                                 GLADWIN          MI         48624                  6002            Various                                                                                             $0.63
JENNEY AVERY                    2617 SO 9040 W APT 209                                          MAGNA            UT         84044                  6004            Various                                                                                            $25.00
JENNI HARRIS                    620 2ND ST PO BOX # 176                                         DASSEL           MN         55325                  6002            Various                                                                                             $3.10
JENNI HERMEYER                  418 E DIVISION ST                                               AMBOY            IL         61310                  6004            Various                                                                                            $96.00
JENNI LANGENFELD                872 KARI DRIVE                                                  EAU CLAIRE       WI         54701                  6004            Various                                                                                             $2.96
JENNI LOVELAND                  4225 GREENWILLOW LN                                             IDAHO FALLS      ID         83401                  6002            Various                                                                                             $9.95




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            Creditor Name              Address1              Address2         Address3            City            State           Zip   Country      Number                Claim                                                                             Total Claim

JENNI TREVINO                107 W. ROCKWELL AVENUE #43                                    FORT ATKINSON     WI           53538                   6004               Various                                                                                                $2.00
JENNIE BLADES                119 COPELAND AVE                                              LA CROSSE         WI           54603                   6002               Various                                                                                                $7.75
JENNIE CHOATE ADAMS          PO BOX 866                                                    JOHN DAY          OR           97845                   6004               Various                                                                                                $9.52

JENNIE CHOATE-ADAMS          DO NOT USE                                                    MILTON FREEWATER OR            97862                   6004               Various                                                                                                $9.52
JENNIE FRIEDRICHS            412 EAST MAIN STREETP APT 9                                   JANESVILLE       MN            56048                   6004               Various                                                                                                $3.06

JENNIE HAVERLUCK             3121 WEST NORTH FRONT APT 6                                   GRAND ISLAND      NE           68801                   6004               Various                                                                                                $4.00
JENNIE NAVRKAL               PO BOX 90                                                     WAKEFIELD         NE           68784                   6002               Various                                                                                                $1.59
JENNIE OLKOWSKI              1415 RIVER ST                                                 RHINELANDER       WI           54501                   6002               Various                                                                                                $1.89
JENNIFER A BLACKBURN         297 S ELM ST APT 105                                          BOISE             ID           83712                   6002               Various                                                                                                $3.04
JENNIFER A DRAEGER           N2562 CTY HWY A                                               FORT ATKINSON     WI           53538                   6002               Various                                                                                                $0.71
JENNIFER A FRITZKE           W7336 CTY ROAD CCN                                            TOMAHAWK          WI           54487                   6002               Various                                                                                                $0.33
JENNIFER ACE                 W4111 COUNTY HWY W                                            NEW GLARUS        WI           53574                   6004               Various                                                                                               $24.00
JENNIFER ADAMINI             6828 DAM 17.75 ROAD                                           GLADSTONE         MI           49837                   6004               Various                                                                                               $42.00
JENNIFER ALEJANDRO           PO BOX 10657                                                  YAKIMA            WA           98909                   6002               Various                                                                                                $6.03
JENNIFER ALLEE               115 6TH AVE NE              LOT 3                             HAYFIELD          MN           55940                   6004               Various                                                                                               $12.12
JENNIFER ALLEN               1131 MANOR DRIVE                                              MASON CITY        IA           50401                   6004               Various                                                                                               $42.99
JENNIFER ANDERSON            106 WALNUT ST                                                 JOHNSON           NE           68378                   6002               Various                                                                                                $5.56
JENNIFER ANDREWS             304 NE ELM ST                                                 GREENFIELD        IA           50849                   6002               Various                                                                                                $3.07
JENNIFER ANGLIN              RR 8 BOX 4518                                                 DONIPHAN          MO           63935                   6002               Various                                                                                                $1.34
JENNIFER ARMITAGE            1900 SILVERCREST DR                                           APPLETON          WI           54911                   6004               Various                                                                                                $5.00
JENNIFER AVERY               4724 COFFEY ST                                                PAPILLION         NE           68133                   6004               Various                                                                                               $27.00
JENNIFER AVILA               PO BOX 198                                                    UPTON             WY           82730                   6002               Various                                                                                                $4.47
JENNIFER BACH                900 HOPE ST APT 307                                           MANKATO           MN           56001                   6004               Various                                                                                                $3.00
JENNIFER BAER                2705 E GREENLEAF DR                                           APPLETON          WI           54913                   6004               Various                                                                                                $3.80
JENNIFER BAHLING             3326 WALTER WAY                                               GREEN BAY         WI           54311                   6002               Various                                                                                                $1.53

JENNIFER BALLBACH            625 SOUTH GARFIELD AVE.                                       PORT WASHINGTON   WI           53074                   6004               Various                                                                                                $6.00
JENNIFER BARBOFF             5600 NORTHWESTERN AVE                                         RACINE            WI           53406                   6004               Various                                                                                               $10.00
JENNIFER BARBRE              5535 W 4260 SO                                                SALT LAKE CITY    UT           84120                   6004               Various                                                                                               $20.00
JENNIFER BARDEN              7199 5TH AVE                                                  ALMOND            WI           54909                   6002               Various                                                                                                $8.47
JENNIFER BARR                3721 E BRENAN DRIVE                                           NAMPA             ID           83686                   6004               Various                                                                                                $2.00
JENNIFER BECKNER             16521 HEATHER ST                                              OMAHA             NE           68136                   6004               Various                                                                                                $5.82
JENNIFER BEEBE               1116 HACKETT ST.                                              BELOIT            WI           53511                   6004               Various                                                                                                $2.00
JENNIFER BEEMAN              1625 N RACINE ST                                              APPLETON          WI           54911                   6002               Various                                                                                                $0.99
JENNIFER BILBREY             3213 N 10TH PL                                                COEUR D ALENE     ID           83815                   6002               Various                                                                                                $5.40
JENNIFER BLANKENSHIP         4217 E ASHBURY DR                                             APPLETON          WI           54913                   6002               Various                                                                                                $0.88
JENNIFER BLOCH               4890 144TH AVE PO BOX # 243                                   ATHENS            WI           54411                   6002               Various                                                                                                $4.11
JENNIFER BOBOLZ              829 N COLFAX ST                                               WEST POINT        NE           68788                   6002               Various                                                                                                $1.75
JENNIFER BOYER               1621 SUPERIOR AVE                                             SAVANNA           IL           61074                   6002               Various                                                                                                $4.44
JENNIFER BRAATZ              W122 BELLEVIEW AVE                                            OCONOMOWOC        WI           53066                   6004               Various                                                                                                $5.00
JENNIFER BRETT               1336 MAPLE ST                                                 CLARKSTON         WA           99403                   6002               Various                                                                                                $7.64
JENNIFER BROWN               1439 S. MAIN                                                  BELVIDERE         IL           61008                   6004               Various                                                                                               $30.00
JENNIFER BROWNRIGG           2686 US HIGHWAY 116 N                                         NEWCASTLE         WY           82701                   6002               Various                                                                                                $4.60
JENNIFER BURNS               3558 S. 4240 W. APT. J3                                       SALT LAKE CITY    UT           84120                   6004               Various                                                                                               $30.00
JENNIFER BUSS                N308 STEWART DR                                               IXONIA            WI           53036                   6004               Various                                                                                               $19.99
JENNIFER CASSIDY             956 E CLINTON ST                                              FREEPORT          IL           61032                   6002               Various                                                                                                $1.95
JENNIFER CASTELLANO          2106 EAGLE DR NW                                              STEWARTVILLE      MN           55976                   6004               Various                                                                                                $3.00
JENNIFER CASTELLANOS         105 23RD ST NW                                                STEWARTVILLE      MN           55976                   6004               Various                                                                                                $3.00
JENNIFER CASTLE              S5633 GLACIER DR.                                             BARABOO           WI           53913                   6004               Various                                                                                                $9.99
JENNIFER CAYETANO            118 SOUTH MAIN ST                                             DOVER             MN           55929                   6004               Various                                                                                                $3.00
JENNIFER CHENG               225 5TH AVE NW                                                ELGIN             MN           55932                   6004               Various                                                                                                $3.00




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                                                                                                                                                   Last 4 Digits of     Date Debt was
                                                                                                                                                      Account         Incurred, Basis for
              Creditor Name                Address1              Address2         Address3             City         State           Zip   Country     Number                Claim                                                                             Total Claim
JENNIFER CHILSON               9599 55TH AVE NW                                                ORONOCCO          MN         55960                 6004                Various                                                                                             $3.00
JENNIFER CLAY                  520 N DAKOTA ST                                                 CANTON            SD         57013                 6004                Various                                                                                            $11.93
JENNIFER COX                   403 WINTERS LN                                                  STEVENSVILLE      MT         59870                 6004                Various                                                                                           $190.00
JENNIFER CROZIER               112 NORTH 6TH ST                                                MADISON           WI         53704                 6004                Various                                                                                            $49.00
JENNIFER D BANTZ               2211 L ST                                                       AUBURN            NE         68305                 6002                Various                                                                                             $8.25
JENNIFER D KRULTZ              700 E CASCADE AVE                                               RIVER FALLS       WI         54022                 6002                Various                                                                                             $6.22
JENNIFER D. MOYE               412 N CHERRY ST                                                 AVOCA             IA         51521                 6002                Various                                                                                             $6.58
JENNIFER DAHMEN                817 ROYSTER OAK DR                                              MADISON           WI         53714                 6004                Various                                                                                            $15.00
JENNIFER DALE                  129 E. RICHARDS ROAD APT. 2                                     OREGON            WI         53575                 6004                Various                                                                                            $20.00
JENNIFER DASSOW                540 VERBUNKER AVE APT 214                                       PORT EDWARDS      WI         54469                 6002                Various                                                                                             $1.23
JENNIFER DAVIS                 795 OAKMONT CIR                                                 KAYSVILLE         UT         84037                 6002                Various                                                                                            $12.74
JENNIFER DAWDY                 332 W BRIGGS                                                    ROODHOUSE         IL         62082                 6004                Various                                                                                             $5.00
JENNIFER DEVLIN                246 DAVIDSON DR               APT 3                             SUN PRAIRIE       WI         53590                 6004                Various                                                                                            $21.00
JENNIFER DIETZ                 PO BOX 683                                                      FLORENCE          OR         97439                 6004                Various                                                                                             $3.00
                               7150 HOLMES PARK ROAD, APT.
JENNIFER DOGGETT               103                                                             LINCOLN           NE         68526                  6004               Various                                                                                                $2.00
JENNIFER DRAKE                 906 17TH AVE SW                                                 ROCHESTER         MN         55902                  6004               Various                                                                                                $3.00
JENNIFER DUKET                 129 W. WASHINGTON AV                                            REDGRANITE        WI         54970                  6004               Various                                                                                                $3.00
JENNIFER DUMARCE               101 KLINE AVE                                                   FLORENCE          SD         57235                  6002               Various                                                                                                $6.52
JENNIFER ELLIOTT               1513 EDGEWATER DR                                               ROSHOLT           WI         54473                  6002               Various                                                                                                $6.96
JENNIFER ERICKSON              128 E 300TH S                                                   LOGAN             UT         84321                  6002               Various                                                                                                $9.48
JENNIFER EVANS                 N4699 CLOVERLAND RD                                             LADYSMITH         WI         54848                  6004               Various                                                                                               $30.00
JENNIFER FECHTER               1400 S WALDEN AVE                                               APPLETON          WI         54915                  6002               Various                                                                                                $0.38
JENNIFER FELLENZ               PO BOX 405                                                      HEADLAND          AL         36345                  6002               Various                                                                                                $3.23
JENNIFER FINE                  1527 OAK GROVE RD                                               VALPARAISO        NE         68065                  6004               Various                                                                                                $4.00
JENNIFER FORSTER               419 ELM STREET                                                  ANTIGO            WI         54409                  6004               Various                                                                                                $3.00
JENNIFER FOSTER                9234 COUNTRY GLENN CIR                                          SANDY             UT         84093                  6004               Various                                                                                               $27.24
JENNIFER FOX                   109 SKIHI ST                                                    DILLON            MT         59725                  6002               Various                                                                                                $3.34
JENNIFER GARNER                718 DOUSMAN                                                     GREEN BAY         WI         54303                  6004               Various                                                                                                $7.00
JENNIFER GASKINS               BOX 222                                                         EKALAKA           MT         59324                  6004               Various                                                                                               $17.00
JENNIFER GATEWOOD              130 W RICHLAND AVE                                              SHELBY            MT         59474                  6002               Various                                                                                                $4.22
JENNIFER GAUTHIER              1016 6TH AVE S                                                  ESCANABA          MI         49829                  6002               Various                                                                                                $2.96
                                                             860 LIEDMAN
JENNIFER GILBERT               APT 12                        COURT                             GREEN BAY         WI         54301                  6004               Various                                                                                               $55.00
JENNIFER GINSBURG              840 SOUTH BROOKS ST.                                            MADISON           WI         53715                  6004               Various                                                                                               $10.80
JENNIFER GRUDNOSKI             4812 THOMSON AVE                                                QUINNESEC         MI         49876                  6002               Various                                                                                                $8.63
JENNIFER HACKETT               204 1/2 RIVER DR                                                NORTH SIOUX CIT   SD         57049                  6002               Various                                                                                                $2.85
JENNIFER HALL                  519 N 73RD                                                      LINCOLN           NE         68508                  6004               Various                                                                                               $25.00
JENNIFER HANDLEY               1944 OTOE ST                                                    LINCOLN           NE         68502                  6002               Various                                                                                                $0.77
JENNIFER HANDRICK              6683 290TH ST                                                   CADOTT            WI         54727                  6002               Various                                                                                                $8.22
JENNIFER HANSEN                704 7TH AVENUE                                                  LEWISTON          ID         83501                  6004               Various                                                                                                $9.98
JENNIFER HARTMAN               1624 N4TH STREET                                                SHEBOYGAN         WI         53081                  6004               Various                                                                                               $23.00
JENNIFER HARVEY                16039 ASHLAND DR                                                CALDWELL          ID         83607                  6004               Various                                                                                               $14.75
JENNIFER HASS                  909 NORTH CHURCH ST                                             ELKHORN           WI         53121                  6004               Various                                                                                               $48.00
JENNIFER HAUERRBERG            1217 WEST PHILLIPS ST                                           RHINELANDER       WI         54501                  6004               Various                                                                                                $2.00
JENNIFER HAUGEN                31043 LINCOLN RD                                                LINDSTROM         MN         55045                  6004               Various                                                                                                $3.00
JENNIFER HEGGELUND             1130 MAYFAIR DR                                                 WATERTOWN         SD         57201                  6004               Various                                                                                               $20.00
JENNIFER HELTON                786 HIGHWAY # J                                                 PHILADELPHIA      MO         63401                  6002               Various                                                                                                $6.49
JENNIFER HERMAN                1387 BINGHAM DR                                                 DE PERE           WI         54115                  6002               Various                                                                                                $0.85
JENNIFER HICKS                 3322 E. 16TH                                                    SPOKANE           WA         99223                  6004               Various                                                                                               $23.99
JENNIFER HILF                  1003 N APPLETON ST APT 2                                        APPLETON          WI         54911                  6004               Various                                                                                                $1.00
JENNIFER HOCTEL                820 PARISH ST APT 1D                                            DELAVAN           WI         53115                  6002               Various                                                                                                $7.89
JENNIFER HODSON-HEALY          3764 W FAIRMONT CIRCLE                                          WEST JORDAN       UT         84084                  6004               Various                                                                                                $6.02
JENNIFER HOELZEL-BOUHRAM       688 BENGAL RD.                                                  NEENAH            WI         54956                  6004               Various                                                                                               $25.00




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                                                                                                                                             Account       Incurred, Basis for
             Creditor Name                Address1       Address2        Address3           City           State           Zip   Country     Number              Claim                                                                             Total Claim
JENNIFER HOLLAND              9 MADISON AVE NW                                        EYOTA              MN        55934                 6004              Various                                                                                                $3.00
JENNIFER HOPP                 513 E LIME ST                                           MANKATO            MN        56001                 6002              Various                                                                                                $9.26

JENNIFER HUNTINGTON           3531 15TH STREET S                                      WISCONSIN RAPIDS   WI        54494                   6004            Various                                                                                               $56.00
JENNIFER ISBELL               2937 SUNRISE RD                                         HELENA             MT        59602                   6002            Various                                                                                                $6.00
JENNIFER J PARENTEAU          7637 386TH ST                                           NORTH BRANCH       MN        55056                   6002            Various                                                                                                $8.30
JENNIFER J PROSSER            HC 4 BOX 93                                             DONIPHAN           MO        63935                   6002            Various                                                                                                $3.92
JENNIFER J TOPEL              430 DAY LILY CT                                         LAKE MILLS         WI        53551                   6002            Various                                                                                                $0.36
JENNIFER J WILLIAMS           107 ANGLER PT                                           GALLATIN           MO        64640                   6002            Various                                                                                                $7.18
JENNIFER JENSEN               1227 LARAMIE AVE                                        ALLIANCE           NE        69301                   6002            Various                                                                                                $3.48
JENNIFER JOHNSON              209 W MAIN ST                                           CLARKS GROVE       MN        56016                   6004            Various                                                                                                $3.00
JENNIFER JOHNSTON             311 W MAIN ST APT 4                                     NEW HAMPTON        IA        50659                   6002            Various                                                                                                $1.21
JENNIFER JORGENSON            21688 630TTH AVE                                        AUSTIN             MN        55912                   6004            Various                                                                                                $3.00
JENNIFER JOST                 905 JACOBSEN RD UNIT E                                  NEENAH             WI        54956                   6004            Various                                                                                               $25.00
JENNIFER JOZWIAK              4209 E APPLESEED DR                                     APPLETON           WI        54913                   6002            Various                                                                                                $9.48
JENNIFER JUDD                 17919 W WASHINGTON RD                                   KIEL               WI        53042                   6004            Various                                                                                               $14.00
JENNIFER JUDNIC               N9191 STATE HWY102                                      RIB LAKE           WI        54470                   6004            Various                                                                                                $4.00
JENNIFER JUSTMAN              W7791 LEISURE LANE                                      ADELL              WI        53001                   6004            Various                                                                                                $5.00
JENNIFER KALINOSKI            509 HIGHLAND AVE                                        CLARKSTON          WA        99403                   6002            Various                                                                                                $8.36
JENNIFER KAMPPI               1782 CAMPBELL RD.                                       WAPATO             WA        98951                   6004            Various                                                                                                $5.99
JENNIFER KASUBASKI            607 S. EAGLE ST.                                        OSHKOSH            WI        54902                   6004            Various                                                                                                $3.80
JENNIFER KAUFFMAN             D1789 OXBO ROAD                                         STRAFORD           WI        54484                   6004            Various                                                                                               $25.00
JENNIFER KILLAN               W9338 GARVEY RD                                         HORTONVILLE        WI        54944                   6002            Various                                                                                                $1.12
JENNIFER KIPPLEY              3503 WHYTECLIFF WAY                                     SUN PRAIRIE        WI        53590                   6004            Various                                                                                                $2.00
JENNIFER KITTINGER ZIGGY      401 5TH ST                                              CALUMET            MI        49913                   6002            Various                                                                                                $4.68
JENNIFER KREIN                501 W 6TH ST                                            ROCK FALLS         IL        61071                   6004            Various                                                                                               $17.00
JENNIFER KRONENBERG           816 STARR AVE                                           EAU CLAIRE         WI        54703                   6002            Various                                                                                                $1.23
JENNIFER KUNDINGER            311 TALMADGE ST APT 3                                   EAU CLAIRE         WI        54701                   6002            Various                                                                                                $2.66
JENNIFER L CASTELLANO         N1411 WELLS RD                                          STANLEY            WI        54768                   6002            Various                                                                                                $8.90
JENNIFER L DERR               7911 HIGHWAY # VV                                       COLUMBUS           WI        53925                   6002            Various                                                                                               $10.00
JENNIFER L KELLER             PO BOX 90413                                            SIOUX FALLS        SD        57109                   6002            Various                                                                                                $5.81
JENNIFER L PRIETZ             331 SELDON ST                                           COLUMBUS           WI        53925                   6002            Various                                                                                                $8.82
JENNIFER L SEMPEK STIFLE      13705 POLK PLZ APT 121                                  OMAHA              NE        68137                   6002            Various                                                                                                $3.89
JENNIFER L STEPHENSON         N5508 STEPHENSON LN                                     ALBANY             WI        53502                   6002            Various                                                                                                $5.07
JENNIFER L WALSKE             4228 SANDY LN                                           SUAMICO            WI        54173                   6002            Various                                                                                                $5.59
JENNIFER L WILLIAMS           20 5TH AVE NE                                           OELWEIN            IA        50662                   6002            Various                                                                                                $1.75
JENNIFER L. KOSINSKI          5972 COUNTY ROAD TT                                     MARSHALL           WI        53559                   6002            Various                                                                                                $8.16
JENNIFER L. LEE               W7877 PEW ST                                            HORTONVILLE        WI        54944                   6002            Various                                                                                                $0.74
JENNIFER L. SCHULTZ           411 N 8TH ST                                            WATERTOWN          WI        53094                   6002            Various                                                                                                $2.00
JENNIFER LACOVARA             108 S HENNINGER ST                                      MAYVILLE           WI        53050                   6002            Various                                                                                                $8.99
JENNIFER LACROSSE             3206 S RAYMOND CIRCLE                                   SPOKANE            WA        99206                   6004            Various                                                                                                $1.65
JENNIFER LAMBERT              E2043 KING RD                                           WAUPACA            WI        54981                   6002            Various                                                                                                $7.75
JENNIFER LARSEN               347 S 370 E                                             SMITHFIELD         UT        84335                   6004            Various                                                                                               $44.98
JENNIFER LAWRENCE             1015 S THEODORE ST                                      APPLETON           WI        54915                   6004            Various                                                                                               $97.99
JENNIFER LEMERANDE            5304 S 10TH ST                                          MANITOWOC          WI        54220                   6002            Various                                                                                                $8.36
JENNIFER LIDDICK              303 LINCOLN AVE                                         PACIFIC JUNCTIO    IA        51561                   6002            Various                                                                                                $4.52
JENNIFER LIEBNOW              213 HOWARD STREET                                       WALWORTH           WI        53184                   6004            Various                                                                                               $45.00
JENNIFER LINDSTROM            1365 E FISCHER LAKE PKWY                                NIAGARA            WI        54151                   6002            Various                                                                                                $0.47
JENNIFER LYN HANSON           19490 NEW RD                                            SOUTH BEND         IN        46614                   6002            Various                                                                                                $6.41
JENNIFER LYN ISOM             251 CHURCH ST                                           ONEILL             NE        68763                   6002            Various                                                                                                $4.38
JENNIFER LYN MCDANIEL         828 1ST ST                                              GLENWOOD CITY      WI        54013                   6002            Various                                                                                                $0.77
JENNIFER M SMITH              167 OLD STONE RD                                        STURGIS            SD        57785                   6002            Various                                                                                                $6.79
JENNIFER MARES                16251 EDWARDSVILLE RD.                                  PECATONICA         IL        61063                   6004            Various                                                                                               $20.00
JENNIFER MARTIN               210 N ST CHARLES ST                                     SALMON             ID        83467                   6002            Various                                                                                                $1.42




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              Creditor Name               Address1            Address2         Address3             City          State           Zip   Country     Number                Claim                                                                             Total Claim
JENNIFER MARTINAC              15978 BELLAIRE RD                                            L'ANSE             MI         49946                 6002                Various                                                                                                $6.03
JENNIFER MCCABE                5409 STONE AVE                                               SIOUX CITY         IA         51106                 6004                Various                                                                                               $12.00
JENNIFER MCEWEN                4907 SUMNER ST                                               LINCOLN            NE         68506                 6002                Various                                                                                               $10.00
JENNIFER MCLEAN                1513 EDGEWATER DRIVE                                         ROSHOLT            WI         54473                 6004                Various                                                                                               $24.00
JENNIFER MICHENER              840 ERICA CT.                                                LINCOLN            NE         68522                 6004                Various                                                                                               $23.00
JENNIFER MICKSCHL              2223 15TH PL S                                               LA CROSSE          WI         54601                 6002                Various                                                                                               $10.00
JENNIFER MONTGOMERY            121 N PLEASANT AVE                                           JEFFERSON          WI         53549                 6004                Various                                                                                                $1.00
JENNIFER MUCHA                 PO BOX 130 PMB R                                             PLATTSMOUTH        NE         68048                 6002                Various                                                                                                $8.25
JENNIFER MUELLER               217 NOEL WAY                                                 VERONA             WI         53593                 6004                Various                                                                                               $10.80
JENNIFER MUELLER SILLMAN       25679 15TH ST                                                MINNESOTA LAKE     MN         56068                 6004                Various                                                                                                $6.12
JENNIFER MYERS                 702 S MAIN ST                                                TOLEDO             IA         52342                 6002                Various                                                                                                $2.49
JENNIFER NIELSEN               10381 ORTH RD                                                GARDEN PRAIRIE     IL         61038                 6002                Various                                                                                                $3.45
JENNIFER NUTTER                2106 W. D ST.                                                NORTH PLATTE       NE         69101                 6004                Various                                                                                               $15.02
JENNIFER O'DONNELL             5705 OAK LANE                                                DANE               WI         53529                 6004                Various                                                                                                $8.99
JENNIFER OEHLER                W5908 SWEET CLOVER DR.                                       APPLETON           WI         54915                 6004                Various                                                                                               $10.00
JENNIFER OLSEN                 38110 CONGER CIR                                             NORTH BRANCH       MN         55056                 6002                Various                                                                                                $6.36
JENNIFER PATZER                N8013 HUBBARD ST                                             BEAVER DAM         WI         53916                 6004                Various                                                                                                $4.02
JENNIFER PEACH                 16630 E 1100TH RD                                            MT. CARMEL         IL         62863                 6002                Various                                                                                                $1.04
JENNIFER PETERSON              5823 LAKE EDGE ROAD                                          MCFARLAND          WI         53558                 6004                Various                                                                                               $40.00
JENNIFER POEHNLEIN             415 S WASSON APT 208                                         RIVER FALLS        WI         54022                 6004                Various                                                                                               $15.02
JENNIFER POMAHAC               3048 W HIAWATHA DR                                           APPLETON           WI         54914                 6004                Various                                                                                                $1.00
JENNIFER POPE                  11306 WEHAUSEN ROAD                                          MANITOWOC          WI         54220                 6004                Various                                                                                               $11.29
JENNIFER PREVO                 1236 1ST AVE                                                 GIBBON             MN         55335                 6004                Various                                                                                                $3.06
JENNIFER PRICE                 11911 S MOTHERLOAD COURT                                     HERRIMAN           UT         84096                 6004                Various                                                                                                $4.98

JENNIFER QUINNELL              3789 ST. JOHNS ROAD                                          WISCONSIN RAPIDS   WI         54495                  6004               Various                                                                                                $2.00
JENNIFER R ABEY                3153 N 13TH ST                                               COEUR D ALENE      ID         83815                  6002               Various                                                                                                $7.67
JENNIFER RARDIN                19211 SPYGLASS COURT                                         PLATTSMOUTH        NE         68048                  6004               Various                                                                                               $36.55
JENNIFER RASHEL                750 SANDPIPER TR APT 201                                     COTTAGE GROVE      WI         53527                  6002               Various                                                                                                $9.92
JENNIFER RATH                  20784 HIGHWAY 15 N                                           HUTCHINSON         MN         55350                  6002               Various                                                                                                $8.22
JENNIFER RAWLES                1427 N ANTIMONY PL                                           KUNA               ID         83634                  6004               Various                                                                                                $1.00
JENNIFER REHBERG               819 FLORENCE ST                                              FORT ATKINSON      WI         53538                  6004               Various                                                                                                $3.00
JENNIFER REICHENBERGER         950 ADAMS ST                                                 NEENAH             WI         54956                  6002               Various                                                                                                $6.99
JENNIFER REINHART              N 7498 KONEN ROAD                                            MOUNT CALVARY      WI         53057                  6004               Various                                                                                                $5.90
JENNIFER RETTKE                W2385 BLOCK RD                                               APPLETON           WI         54915                  6002               Various                                                                                                $1.92
JENNIFER REYES                 308 E 4020 S                                                 SALT LAKE CITY     UT         84107                  6004               Various                                                                                               $13.00
JENNIFER REYNOLDS              316 S 16TH ST                                                ESCANABA           MI         49829                  6004               Various                                                                                               $12.00
JENNIFER RODENBERGER           428 CUSTER AVENUE                                            BILLINGS           MT         59101                  6004               Various                                                                                                $5.00
JENNIFER RODRIGUEZ             PO BOX 191                                                   LANSING            MN         55950                  6004               Various                                                                                                $3.00
JENNIFER ROPER                 H13477 COUNTY RD. J                                          WAUSAU             WI         54403                  6004               Various                                                                                                $4.00
JENNIFER RUIZ                  500 STATE PARK ROAD        APT 6                             WHITEFISH          MT         59937                  6004               Various                                                                                                $2.00
JENNIFER RUSSELL               1100 WEST NEW ST                                             PALMYRA            MO         63461                  6002               Various                                                                                                $3.61
JENNIFER RUSSMAN               1420 AVE H POB # 164                                         WISNER             NE         68791                  6002               Various                                                                                                $1.75
JENNIFER RUTHVEN               9 WEST KNAPP STREET                                          RICE LAKE          WI         54868                  6004               Various                                                                                                $3.00
JENNIFER S BERTHEL             2606 ARDSLEY CIR APT E                                       MADISON            WI         53713                  6002               Various                                                                                                $7.70
JENNIFER S ONEAL               454 DIAMOND AVE                                              TWIN FALLS         ID         83301                  6002               Various                                                                                                $8.79
JENNIFER S UHRICH              247 W SHERIDAN ST                                            ELY                MN         55731                  6002               Various                                                                                                $6.14
JENNIFER SANCHEZ               835 2ND AVE SOUTHWEST                                        PIPESTONE          MN         56164                  6004               Various                                                                                               $10.00
JENNIFER SCHAECHER             501 NE ELM ST                                                GREENFIELD         IA         50849                  6002               Various                                                                                                $6.30
JENNIFER SCHLISE               328 MANCHESTER DR                                            GREEN BAY          WI         54303                  6002               Various                                                                                                $3.84
JENNIFER SCHMIDT               W1915 COUNTY ROAD Y                                          CAMPBELLSPORT      WI         53010                  6002               Various                                                                                                $4.38
JENNIFER SCHNARR               4230 HARRISON AVE                                            ROCKFORD           IL         61108                  6004               Various                                                                                                $3.90
JENNIFER SEED                  10642 N OAKWAY LN                                            EDGERTON           WI         53534                  6004               Various                                                                                                $9.03
JENNIFER SHARPLEY              429 PINE RIVER ST                                            REDGRANITE         WI         54970                  6004               Various                                                                                                $7.99




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                                                                       Schedule E/F: Part 2 - Creditors With Nonpriority Unsecured Claims




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                                                                                                                                                                                         Contingent


                                                                                                                                                                                                                     Disputed
                                                                                                                                                Last 4 Digits of     Date Debt was
                                                                                                                                                   Account         Incurred, Basis for
              Creditor Name                Address1           Address2         Address3             City         State           Zip   Country     Number                Claim                                                                             Total Claim
JENNIFER SHOURDS               12123 OKEEFE CREEK BLVD                                      MISSOULA          MT         59808                 6004                Various                                                                                               $63.01
JENNIFER SMITH                 86469 568 AVE                                                BELDEN            NE         68717                 6004                Various                                                                                               $28.42
JENNIFER SPONSLER REED         2478 HIGHWAY # E43                                           TOLEDO            IA         52342                 6002                Various                                                                                                $7.34
JENNIFER STERNECKER            E8221 CTY RD C                                               ELK MOUND         WI         54739                 6004                Various                                                                                                $4.00
JENNIFER STORLIE               21003 STATE LINE RD                                          HARMONY           MN         55939                 6004                Various                                                                                                $5.02
JENNIFER STRAND                911 MAYER LN                                                 MAYVILLE          WI         53050                 6002                Various                                                                                                $7.92
JENNIFER SUTTERFIELD           54634 SILVER FOX DR                                          BEND              OR         97707                 6004                Various                                                                                               $39.00
JENNIFER TAKLE                 33270 COUNTY RD 10                                           WALNUT GROVE      MN         56180                 6004                Various                                                                                                $3.00
JENNIFER TAYLOR                150 SHADY LN SPC 519                                         KALISPELL         MT         59901                 6002                Various                                                                                                $2.55
JENNIFER THOMAS                43076 200TH ST                                               ROSEAU            MN         56751                 6002                Various                                                                                                $5.37
JENNIFER THOMPSON              4624 NORTH SHORE DR                                          RHINELANDER       WI         54501                 6004                Various                                                                                               $10.00
JENNIFER THORESON              322 N HENNINGER ST                                           MAYVILLE          WI         53050                 6002                Various                                                                                                $1.18
JENNIFER TORNSTROM             1126 SANDY CIR                                               LA CRESCENT       MN         55947                 6002                Various                                                                                                $5.51
JENNIFER TORRES                1901 DEVON CT                                                FREEPORT          IL         61032                 6002                Various                                                                                                $1.87
JENNIFER TUIA                  1705 SE MARKET ST                                            COLLEGE PLACE     WA         99324                 6004                Various                                                                                               $26.00
JENNIFER TUTTLE                114 WEST PLEASANT ST                                         GARDEN CITY       MN         56034                 6004                Various                                                                                                $3.06
JENNIFER VALKENBURG            746 ROAD 9                                                   POWELL            WY         82435                 6002                Various                                                                                                $4.99
JENNIFER VALLIER               W8134 CTY B                                                  LAKE MILLS        WI         53551                 6002                Various                                                                                                $5.73
JENNIFER VANDEBOE              510 MAIN ST                                                  FONTANELLE        IA         50846                 6002                Various                                                                                                $9.45
JENNIFER VANDEN BERG           614 S WEST PARK                                              LUVERNE           MN         56156                 6002                Various                                                                                                $0.27
JENNIFER VANDERPAS             375 N PINE ST                                                KIMBERLY          WI         54136                 6002                Various                                                                                                $5.40
JENNIFER VEGA                  216 HWY 23                                                   DICKENS           NE         69132                 6004                Various                                                                                               $10.00
JENNIFER VILLA                 2329 CARLING DR.           APT 3                             MADISON           WI         53711                 6004                Various                                                                                                $1.00
JENNIFER WAGNER                N2610 CURTIS MILL RD                                         FORT ATKINSON     WI         53538                 6002                Various                                                                                                $4.66
JENNIFER WALLS                 121 S SIDNEY ST                                              KIMBERLY          WI         54136                 6004                Various                                                                                                $4.00
JENNIFER WANNAVONG             23737 ADAMS ST                                               INDEPENDENCE      WI         54747                 6002                Various                                                                                                $4.58
JENNIFER WARRAS                3905 14TH ST.                                                MENOMINEE         MI         49858                 6004                Various                                                                                               $10.00
JENNIFER WASSON                1224 ST JOHN AVE                                             ALBERT LEA        MN         56007                 6004                Various                                                                                                $3.00
JENNIFER WELDY                 109 N 2ND ST                                                 COLBY             WI         54421                 6002                Various                                                                                                $4.30
JENNIFER WILKIE                4648 VALOR WAY                                               MADISON           WI         53718                 6004                Various                                                                                                $1.00
JENNIFER WILLIAMS              N704 KADDATZ DR                                              WATERTOWN         WI         53098                 6002                Various                                                                                                $2.90
JENNIFER WILMES                814 5TH ST                                                   NICOLLET          MN         56074                 6004                Various                                                                                                $3.00
JENNIFER WITTER                1409 EAST HAWTHORNE ST                                       ALBERT LEA        MN         56007                 6004                Various                                                                                                $6.00
JENNIFER WOODWARD              1454 2ND ST                                                  BINGHAM           NE         69335                 6004                Various                                                                                                $5.00
JENNIFER YONTS                 101 N MONEY CREEK ST                                         RUSHFORD          MN         55971                 6004                Various                                                                                                $3.00

JENNIFER ZWICKER               170 E PROSPECT ST                                            PORT WASHINGTON   WI         53074                  6002               Various                                                                                                $1.23
JENNIFER ZWIEG                 PO BOX 435                                                   FOX LAKE          WI         53933                  6004               Various                                                                                               $46.80
JENNIFFER GUNTER               521 S 14TH ST                                                BOISE             ID         83702                  6002               Various                                                                                                $6.44
JENNIFFER HENTZEN              2070 BELMONT AVE                                             IDAHO FALLS       ID         83404                  6004               Various                                                                                               $34.16
JENNIFFER SYKES                911 E BEACON AVE                                             SPOKANE           WA         99208                  6004               Various                                                                                               $10.02
JENNIKA BASTIAN                1020 WILLAMSON ST.                                           MADISON           WI         53703                  6004               Various                                                                                                $5.00
JENNILEE HAMM                  3524 THOMAS ST                                               MILTON            WI         53563                  6004               Various                                                                                               $10.00
JENNY ALONZO                   616 5TH AVE                                                  SOUTH SIOUX CIT   NE         68776                  6002               Various                                                                                                $1.42
JENNY ANDERSEN                 4112 R ST                                                    OMAHA             NE         68107                  6004               Various                                                                                                $5.00
JENNY BLACHFORD                306 2ND ST SE                                                WATERTOWN         SD         57201                  6002               Various                                                                                                $1.01
JENNY BORDELON                 698 W WILBUR AVE APT 310                                     COEUR D ALENE     ID         83815                  6002               Various                                                                                                $2.00
JENNY BROCK                    2923 OSMUNDSEN ROAD                                          FITCHBURG         WI         53711                  6004               Various                                                                                               $15.96
JENNY BUSH                     4427 MANOR DRIVE NW                                          ROCHESTER         MN         55901                  6004               Various                                                                                                $3.00
JENNY CHRISTENSEN              1320 8TH AVE N                                               ESTHERVILLE       IA         51334                  6004               Various                                                                                               $23.00
JENNY CONRATH                  1713 CHILDS RD E                                             BELLEVUE          NE         68005                  6004               Various                                                                                                $1.00
JENNY CUTLER                   730 S 300TH W                                                GARLAND           UT         84312                  6002               Various                                                                                                $2.22
JENNY L SCHUH                  4261 ROBIN LN                                                GREEN BAY         WI         54313                  6002               Various                                                                                                $0.74
JENNY MATNEY                   305 PROSPECT ST                                              COMBINED LOCKS    WI         54113                  6002               Various                                                                                                $8.79




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              Creditor Name                       Address1             Address2            Address3              City       State           Zip   Country     Number                Claim                                                                             Total Claim
JENNY MORALES                         1000 NW 6TH ST                                                    ANDREWS          TX         79714                 6002                Various                                                                                             $4.30
JENNY ROBERTS                         PO BOX 1457                                                       OROFINO          ID         83544                 6002                Various                                                                                             $4.82
JENNY UMBACK                          1013 CANNON ST                                                    HELENA           MT         59601                 6002                Various                                                                                             $3.89
JENNY VANG                            1921 NORTHPORT DRIVE APT 1                                        MADISON          WI         53704                 6004                Various                                                                                             $1.00
JENSEN FAMILY                         101 OLD INDIAN TRL                                                DE FOREST        WI         53532                 6002                Various                                                                                             $8.85
JENSEN PLUMBING, HEATING & AIR INC    204 W LAKE STREET                                                 LAKE MILLS WI    WI         53551                                     Various                                                                                         $1,251.25
JENSI ROSENOW                         3461 OLD NACHES HWY                                               YAKIMA           WA         98908                  6004               Various                                                                                            $11.85
JER SUA VUE                           400 UNION ST                                                      STEVENS POINT    WI         54481                  6002               Various                                                                                             $2.19
JERA MEENTS                           474S 445TH                                                        OGDEN            UT         84404                  6002               Various                                                                                             $9.42
JERALD BUTCHER                        470 NOLAN ST                                                      GREEN RIVER      WY         82935                  6002               Various                                                                                             $1.04
JERAMIAH STENCIL                      875 16TH ST                                                       OGDEN            UT         84404                  6004               Various                                                                                            $10.00
JEREE QUINTREQUEO                     4244 S 675TH E                                                    OGDEN            UT         84403                  6002               Various                                                                                             $3.62
JEREME D HENDRICKX                    519 W CEDAR AVE                                                   FERGUS FALLS     MN         56537                  6002               Various                                                                                             $5.48
JEREMIAH CRAIL                        926 MECHANIC ST                                                   OSAGE            IA         50461                  6002               Various                                                                                             $9.56
JEREMIAH CZUPSKI                      6020 S POPLAR AVE                                                 NEWAYGO          MI         49337                  6002               Various                                                                                             $2.77
JEREMIAH DAVIS                        61729 DARLA PL                                                    BEND             OR         97702                  6004               Various                                                                                            $15.00
JEREMIAH HELVEY                       311 ROSE ST N                                                     WEST SALEM       WI         54669                  6002               Various                                                                                             $8.63
JEREMIAH HENNING                      W3772 MCMABE                                                      FENNIMORE        WI         53809                  6004               Various                                                                                            $19.00
JEREMIAH J MILLER                     309 ROBERTS ST APT 10                                             MARION           WI         54950                  6002               Various                                                                                             $1.59
JEREMIAH J. FARMER                    119 HEWITT ST APT A                                               NEILLSVILE       WI         54456                  6002               Various                                                                                             $0.41
JEREMIAH JOHNSON                      250 COLEMAN ST.                                                   CHIPPEWA FALLS   WI         54729                  6004               Various                                                                                            $11.05
JEREMIAH JONES WEST                   3501 N 56TH ST               APT 111                              OMAHA            NE         68104                  6004               Various                                                                                             $5.00
JEREMIAH KOSMACH                      1411 FOOTHILL                                                     SCHOFIELD        WI         54476                  6004               Various                                                                                             $1.60
JEREMIAH MOORE                        4209 NORTH VIEW DR                                                RHINELANDER      WI         54501                  6004               Various                                                                                             $4.02
JEREMIAH ONENA                        605 W TREEHAVEN DR                                                LINCOLN          NE         68521                  6002               Various                                                                                             $4.82
JEREMIAH PERKINS-HAGEN                210 MARY ST                                                       BEAVER DAM       WI         53916                  6004               Various                                                                                            $45.00
JEREMIAH WIECH                        1217 ST ANDREWS ROAD                                              BELLEVUE         NE         68005                  6004               Various                                                                                            $20.00
JEREMIAH WILKINS                      108 E MAPLE ST                                                    EDGAR            WI         54426                  6002               Various                                                                                             $5.86
JEREMIAH WODARCZAK                    818 STATE RD 57                                                   PLYMOUTH         WI         53073                  6004               Various                                                                                             $3.00
JEREMY ADKINS                         1115 MASON ST                                                     WHEATLAND        WY         82201                  6002               Various                                                                                             $3.89
JEREMY BARTZ                          N4892 HILLCREST DR.                                               BONDUEL          WI         54107                  6004               Various                                                                                             $5.03
JEREMY BERMEL                         2902 HANCOCK STREET #99                                           BELLEVUE         NE         68005                  6004               Various                                                                                            $14.98
JEREMY BILEK                          145 FLORA WAY                                                     CLINTONVILLE     WI         54929                  6002               Various                                                                                             $4.99
JEREMY BUGENHAGEN                     100 SOUTH 8TH ST APT 3                                            CLEAR LAKE       IA         50428                  6004               Various                                                                                            $35.00
JEREMY BURK                           2245 FOREST SHORES RD                                             OGILVIE          MN         56358                  6002               Various                                                                                             $9.42
JEREMY BUTLER                         110 HAVENDALE                                                     JACKSONVILLE     IL         62650                  6004               Various                                                                                             $1.50
JEREMY CARPENTER                      509 BLAINE ST                                                     HOLDREGE         NE         68949                  6002               Various                                                                                             $2.99
JEREMY COLVIN                         W6170 S. NORWAY HILLS LANE                                        WAUTOMA          WI         54982                  6004               Various                                                                                             $5.00
JEREMY COX                            126 HEMLOCK                                                       BILLINGS         MT         59101                  6004               Various                                                                                            $15.00
JEREMY DECKER                         680 W BADGER RD #4                                                MADISON          WI         53713                  6004               Various                                                                                            $60.98
JEREMY DORO                           E19650 CTY GG                                                     AUGUSTA          WI         54722                  6004               Various                                                                                             $1.59
JEREMY DRISCOLL                       10511 HIGHWAY 42                                                  NEWTON           WI         53063                  6002               Various                                                                                             $1.04
JEREMY DUNKLEE                        118 N 9TH ST                                                      DOUGLAS          WY         82633                  6002               Various                                                                                             $1.26
JEREMY ERDMANN                        2201 ERIE AVE                APT 6207                             SHEBOYGAN        WI         53081                  6004               Various                                                                                             $3.00
JEREMY GARDNER                        3928 VICTORY CIR APT 47                                           BILLINGS         MT         59102                  6002               Various                                                                                             $6.44
JEREMY HELMERS                        828 20TH AVE                                                      DUNNELL          MN         56127                  6004               Various                                                                                             $6.00
JEREMY HOLLAND                        3360 N DUANE WAY                                                  BOISE            ID         83713                  6004               Various                                                                                            $15.02
JEREMY HOOTS                          136 N WALNUT                                                      WINCHESTER       IL         62694                  6004               Various                                                                                            $15.02
JEREMY HULBURT                        204 E FRONT ST               APT 115                              ALBERT LEA       MN         56007                  6004               Various                                                                                             $3.06
JEREMY J. NIEMCZYK                    2617 STANLEY ST                                                   STEVENS POINT    WI         54481                  6002               Various                                                                                             $5.62
JEREMY JOHNSON                        W6302 410TH AVE                                                   ELLSWORTH        WI         54011                  6004               Various                                                                                            $23.00
JEREMY JOSSERAND                      6524 OFFSHORE DR.                                                 MADISON          WI         53705                  6004               Various                                                                                             $1.00
JEREMY KETTNER                        1135 BLAIN AVE                                                    JANESVILLE       WI         53545                  6004               Various                                                                                             $6.42
JEREMY KILDARE                        3840 ST PAUL                                                      LINCOLN          NE         68504                  6004               Various                                                                                             $3.00




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              Creditor Name                Address1            Address2           Address3           City         State           Zip   Country     Number                Claim                                                                             Total Claim
JEREMY KOPPA                   3255 4TH STREET                                               MARATHON          WI         54448                 6004                Various                                                                                               $16.00
JEREMY KOSKIE                  121 PARK AVE. S.                                              SAINT CLOUD       MN         56301                 6004                Various                                                                                                $3.00
JEREMY KOX                     1131 ROSE LN                                                  DE PERE           WI         54115                 6002                Various                                                                                                $5.29
JEREMY L LUPINACCI             1206 BRYDEN AVE                                               LEWISTON          ID         83501                 6002                Various                                                                                                $4.25
JEREMY LEDDY                   915 7TH ST                                                    GOTHENBURG        NE         69138                 6002                Various                                                                                                $4.00
JEREMY LOOTENS                 201 S RIVER ST APT 517                                        HOT SPRINGS       SD         57747                 6002                Various                                                                                                $3.61
JEREMY M ROWE                  26136 MONROE ST                                               CALUMET           MI         49913                 6002                Various                                                                                                $4.66
JEREMY MAHER                   4025 N. 68TH                                                  LINCOLN           NE         68507                 6004                Various                                                                                               $43.00
JEREMY MCNEILL                 13129 S EAGLE PEAK DR                                         HERRIMAN          UT         84096                 6002                Various                                                                                                $9.75
JEREMY MILLER, JR              2515 SOUTH OWHYEE #202                                        BOISE             ID         83715                 6004                Various                                                                                                $3.65
JEREMY MITCHELL                3185 WETZEL LAKE RD                                           MANCELONA         MI         49659                 6002                Various                                                                                                $3.92
                               N84W15493 MENOMOMEE AVE
JEREMY NEESE                   APT                                                           MENOMONEE FALLS   WI         53051                  6002               Various                                                                                                $8.49
JEREMY OLSON                   2698 CTY RD II                                                NEENAH            WI         54956                  6002               Various                                                                                                $7.92
JEREMY OPDAHL                  PO BOX 393                                                    LEWISTON          ID         83501                  6004               Various                                                                                               $15.00
JEREMY PARKER                  754 W LINCOLN ST                                              FREEPORT          IL         61032                  6002               Various                                                                                                $9.21
JEREMY PETERS                  10782 S WYNGATE PARK DR                                       SOUTH JORDAN      UT         84095                  6002               Various                                                                                                $8.30
JEREMY PETERSON                1019 JACKSON ST                                               MARINETTE         WI         54143                  6002               Various                                                                                                $2.30
JEREMY PRICE                   721 33RD ST                                                   SIOUX CITY        IA         51104                  6002               Various                                                                                                $4.33
JEREMY R VOLKMAR               3017 N WESTWOOD CT                                            COEUR D ALENE     ID         83815                  6002               Various                                                                                                $1.95

JEREMY RAMSEY                  2550 CRESCENT COVE DRIVE APT                                  EVANS             CO         80620                  6002               Various                                                                                             $6.58
JEREMY REULE                   1112 PINE RIDGE DR                                            RIVER FALLS       WI         54022                  6004               Various                                                                                            $20.00
JEREMY ROBER DOPPKE            620 N KENSINGTON DR APT 3                                     APPLETON          WI         54915                  6002               Various                                                                                             $5.56
JEREMY SANDSTROM               6431 N 1ST ST                                                 WELLS             MI         49894                  6002               Various                                                                                            $10.00
JEREMY SCHULTZ                 W9623 ROSE CIR                                                BEAVER DAM        WI         53916                  6002               Various                                                                                             $5.62
JEREMY SCOTT                   105 RIVERVIEW DR E                                            GREAT FALLS       MT         59404                  6002               Various                                                                                             $7.92
JEREMY SHOWERS                 426 EAST HILL PKWY                                            MADISON           WI         53718                  6004               Various                                                                                             $5.30
JEREMY SQUIRES                 PO BOX 886                                                    OROFINO           ID         83544                  6002               Various                                                                                             $0.74
JEREMY STUHR                   411 CHURCH RD                                                 PLATTSMOUTH       NE         68048                  6002               Various                                                                                             $5.21
JEREMY T. DUCHESNE             601 W BRIER LN # 208                                          GREEN BAY         WI         54301                  6002               Various                                                                                             $4.63
JEREMY TOSAYA                  614 E 14TH AVE                                                MITCHELL          SD         57301                  6002               Various                                                                                             $7.48
JEREMY UMPHENOUR               PO BOX 346                                                    WEIPPE            ID         83553                  6002               Various                                                                                             $4.66
JEREMY WENIGER                 219 N GRANGE AVE                                              SIOUX FALLS       SD         57104                  6004               Various                                                                                            $16.00
JEREMY WINTERS                 15448 300 COURT                                               MASON CITY        IA         50401                  6004               Various                                                                                          $112.98
JERENE HESTER                  640 24TH AVENUE                                               LEWISTON          ID         83501                  6004               Various                                                                                          $150.00
JERETH OSTER                   3430 PRAIRIE AVE                                              BELOIT            WI         53511                  6002               Various                                                                                             $6.22
JERI AYDT                      561 GLEN STREET SOUTH                                         HUTCHINSON        MN         55350                  6004               Various                                                                                            $34.98
JERI B ADAMS                   1014 WILLOW AVE                                               LEWISTOWN         MT         59457                  6002               Various                                                                                             $8.33
JERI BRYANT                    2816 WARNER LN.                                               MADISON           WI         53713                  6004               Various                                                                                             $3.60
JERI ELLEN CARSON              1021 VIA DEL POZO                                             LOS ALTOS         CA         94022                  6002               Various                                                                                             $0.58
JERI PFEIFER                   W4651 SHERWOOD RD                                             NEILLSVILLE       WI         54456                  6002               Various                                                                                             $2.41
JERIANN FINNEY                 621 E 7TH ST                                                  WINNER            SD         57580                  6002               Various                                                                                             $6.99
JERICHO SWENSON                340 SUMMER AVE                                                GARRETSON         SD         57030                  6004               Various                                                                                            $10.00
JERILYN TAYLOR                 661 HIGH ST                                                   LAKE GENEVA       WI         53147                  6002               Various                                                                                             $7.89
JERISHA GARCIA-SANTIAGO        223 1/2 10TH STREET                                           WORTHINGTON       MN         56187                  6004               Various                                                                                             $3.00
JERMAINE THOMAS                5309 N 50TH ST                                                OMAHA             NE         68104                  6004               Various                                                                                             $4.00
JEROME A SEVERSON              230 ANDERSON ST APT 5                                         DALLAS            WI         54733                  6002               Various                                                                                             $6.77
JEROME BEVERAGE INC(BEER)      FINTECH                      SHOPKO STORES   PO BOX 19060     GREEN BAY         WI         54307-9060             3032               Various                                                                                         $1,412.01
JEROME BOATMAN                 522 E. BLUFF                                                  MADISON           WI         53704                  6004               Various                                                                                            $10.00
JEROME CONRADT                 720 LINCOLN ST                                                WAYNE             NE         68787                  6002               Various                                                                                             $8.88
JEROME GILBERTSON              1111 E VASA AVE                                               FERGUS FALLS      MN         56537                  6002               Various                                                                                             $0.44
JEROME GROESSEL                3259 BRIAR CREST DR                                           JANESVILLE        WI         53546                  6004               Various                                                                                            $25.00
JEROME HEPPLER                 205 N JOSEPHINE AVE                                           MADISON           SD         57042                  6002               Various                                                                                             $3.70




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JEROME LAUTERS                  N7157 RANDOM LAKE RD                                            RANDOM LAKE       WI         53075                 6002                Various                                                                                             $5.15
JEROME NELSON                   45653 120TH ST                                                  SISSETON          SD         57262                 6002                Various                                                                                             $0.63
JEROME PAPENDORF                W5949 COUNTY ROAD O # 10                                        APPLETON          WI         54911                 6002                Various                                                                                             $8.77
JEROME WAIT                     108 MAIN ST                                                     CASTLEWOOD        SD         57223                 6004                Various                                                                                             $6.00
JEROME(MARTY STOREIM            700 N 15TH ST                                                   WORLAND           WY         82401                 6002                Various                                                                                             $5.18
JERRAD KING                     1400 W 4TH AVE                                                  OSHKOSH           WI         54902                 6004                Various                                                                                             $3.00
JERRAD MERRILL                  7760 EAST STATE ROUTE 69     SUITET C5 BOX 219                  PRESCOTT VALLEY   AZ         86314                 6004                Various                                                                                            $42.02
JERREN ANCIRA                   1122 N WASHINGTON ST                                            AFTON             WY         83110                 6002                Various                                                                                             $4.25
JERRI NOLL                      N3899 COUNTY RD. W                                              PESHTIGO          WI         54157                 6004                Various                                                                                             $8.98
JERRI SMITH                     226 MONROE ST                                                   RAPID CITY        SD         57701                 6004                Various                                                                                             $8.00
JERRI WALKER                    PO BOX 1135                                                     CHALLIS           ID         83226                 6002                Various                                                                                             $9.01
JERRICA BECK                    215 MORRIS DR                                                   ROCKFORD          IL         61109                 6004                Various                                                                                            $23.00
JERRICCA CORBIN                 36363 STATE HIGHWAY 299 E                                       BURNEY            CA         96013                 6002                Various                                                                                             $6.00
JERROLD CULP                    1844 W SOUTH JORDAN PKWY                                        SOUTH JORDAN      UT         84095                 6002                Various                                                                                             $7.84
JERROLD MOEN                    315 W 7TH AVE                                                   FERGUS FALLS      MN         56537                 6002                Various                                                                                             $5.07
JERROLD RUMBLEY                 1701 E 8TH ST                                                   TRENTON           MO         64683                 6002                Various                                                                                             $7.84
JERRY A WERSAL                  31777 293RD ST                                                  AITKIN            MN         56431                 6002                Various                                                                                             $8.49
JERRY ANDERSON                  1213 N OAK ST                                                   FERGUS FALLS      MN         56537                 6002                Various                                                                                             $0.85
JERRY BERRY                     71 LAWSON ST                                                    MENASHA           WI         54952                 6002                Various                                                                                             $8.85
JERRY BLEICH                    1555 S. 20 APT.1                                                LINCOLN           NE         68502                 6004                Various                                                                                            $57.29
JERRY BOLEN                     4920 BIG OWL LN                                                 FORT CALHOUN      NE         68023                 6002                Various                                                                                             $5.42
JERRY BRANNON                   W7890 FIRETOWER RD                                              BLACK RIVER FAL   WI         54615                 6002                Various                                                                                             $2.19
JERRY BURNS                     110 SAILOR PT                                                   GALLATIN          MO         64640                 6002                Various                                                                                           $231.46
JERRY C JOHNSON                 222 W MASSIE ST                                                 PALMYRA           MO         63461                 6002                Various                                                                                             $6.63
JERRY CLARK                     W3690 BAYVIEW RD                                                MAYVILLE          WI         53050                 6004                Various                                                                                            $10.00
JERRY COUGHLIN                  1468 STEVENSON RD                                               BENTLEY           MI         48613                 6002                Various                                                                                             $4.25
JERRY DAVIS                     5010 US HIGHWAY LOT 1                                           NEWCASTLE         WY         82701                 6002                Various                                                                                             $2.30
JERRY DOLEZAL                   819 N 2ND AVE                                                   WAUSAU            WI         54401                 6004                Various                                                                                            $15.02
JERRY FERRELL                   1813 VILLA ST.                                                  RACINE            WI         53403                 6004                Various                                                                                            $10.00
JERRY FUERSTENBERG              1161 BEL AIRE D                                                 PLOVER            WI         54467                 6004                Various                                                                                            $87.50
JERRY GODFREY                   410 N MAIN ST                                                   BRIGHAM CITY      UT         84302                 6002                Various                                                                                             $1.75
JERRY GOODREAU                  PP BOX # 197                                                    GREENLAND         MI         49929                 6002                Various                                                                                             $4.88
JERRY GRAY                      2967 E 1150TH ST                                                LORAINE           IL         62349                 6002                Various                                                                                             $7.53
JERRY HAMLING                   976 N 1020TH E                                                  PLEASANT GROVE    UT         84042                 6002                Various                                                                                             $2.22
JERRY HAMMOND                   1123 S SUMMIT AVE                                               NEWCASTLE         WY         82701                 6002                Various                                                                                             $6.55
JERRY HAWKER                    845 BARTON RD TRLR 156                                          POCATELLO         ID         83204                 6002                Various                                                                                             $3.70
JERRY HINTON                    SILVER ASPEN RNCH BOX # 47                                      TENDOY            ID         83468                 6002                Various                                                                                             $7.67
JERRY HUFFSTUTLAR               533 BIRCH ST.                                                   RIVER FALLS       WI         54022                 6004                Various                                                                                            $54.00
JERRY IVERSEN                   N5428 24TH DR                                                   WILD ROSE         WI         54984                 6002                Various                                                                                             $1.73
JERRY JAREN                     954 WALNUT ST APT 4                                             WHEATLAND         WY         82201                 6002                Various                                                                                             $4.49
JERRY KUHBACHER                 120 ROCKY POINT RIDGE RD                                        MOORCROFT         WY         82721                 6002                Various                                                                                             $1.78
JERRY L NORTHCUTT               116 GRANT ST                                                    WHITE HALL        IL         62092                 6002                Various                                                                                             $4.00
JERRY L PETRACEK                900 N 96TH ST                                                   LINCOLN           NE         68505                 6002                Various                                                                                             $2.08
JERRY LEE STEIGER               N1990 ANKLAM RD                                                 WEYAUWEGA         WI         54983                 6002                Various                                                                                             $5.10
JERRY LEHMAN                    75555 ROAD 409                                                  FARNAM            NE         69029                 6002                Various                                                                                             $1.66
JERRY LEMERE                    2436 WARBLER DR                                                 GREEN BAY         WI         54303                 6002                Various                                                                                             $3.10
JERRY M TREMAINE                N2246 CTY LINE RD                                               CLINTON           WI         53525                 6002                Various                                                                                             $6.85
JERRY MILLER                    255 WALLNUT ST                                                  BEAVER DAM        WI         53916                 6004                Various                                                                                             $3.95
JERRY NICHOLSON                 P.O. BOX 60                                                     POTLACH           ID         83855                 6004                Various                                                                                            $13.03
JERRY NIENHAUS                  322 W. 3RD ST                                                   KIMBERLY          WI         54136                 6004                Various                                                                                            $43.20
JERRY POSEY                     3410 12TH STREET F                                              LEWISTON          ID         83501                 6004                Various                                                                                             $5.00
JERRY R MOUNT                   801 1/2 LANE ST                                                 FALLS CITY        NE         68355                 6002                Various                                                                                             $6.55
JERRY REDDEN                    2723 Q ST APT 1                                                 OMAHA             NE         68107                 6002                Various                                                                                             $4.30
JERRY REILAND                   W3744 STINGLE RD                                                SEYMOUR           WI         54165                 6002                Various                                                                                             $2.77




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                                                                                                                                                                                                                                 Claim subject to offset?
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                                                                                                                                                                                          Contingent


                                                                                                                                                                                                                      Disputed
                                                                                                                                                 Last 4 Digits of     Date Debt was
                                                                                                                                                    Account         Incurred, Basis for
               Creditor Name                Address1            Address2         Address3              City        State         Zip    Country     Number                Claim                                                                             Total Claim
JERRY ROSE                      PO BOX 148                                                    NISLAND           SD         57762                6002                Various                                                                                             $4.00
JERRY SENN                      W8599 SMOCK VALLEY RD                                         MONROE            WI         53566                6002                Various                                                                                             $6.74
JERRY SIMPLOT                   W2925 WASHINGTON ST                                           JUDA              WI         53550                6004                Various                                                                                             $2.00
JERRY STARK                     PO BOX 483                                                    ATHOL             ID         83801                6004                Various                                                                                            $11.00
JERRY THOMAS                    BOX 87 195 FAIRVIEW RD SO                                     FAIRVIEW          WY         83119                6002                Various                                                                                             $3.53
JERRY THOMPSON                  C/O UNIVERSAL GUARDIANS     P O BOX 9014                      GREEN BAY         WI         54308                6002                Various                                                                                            $12.65
JERRY UITTENBOGAARD             2412 EAST 3RD STREET                                          SHELDON           IA         51201-8539           7820                Various                                                                                         $4,312.52
JERRY VOSBERG                   13183 VALLEY RD                                               WILMOT            SD         57279                6002                Various                                                                                             $9.37
JERRY WILLIAMSON                332 4TH ST SW                                                 BLOOMING PRAIRI   MN         55917                6002                Various                                                                                             $2.33
JERSEY(CANIN KRUGER             207 17TH ST SW                                                ROCHESTER         MN         55902                6002                Various                                                                                             $6.77
JERZEE STAFFORD                 1404 LEE DRIVE APT 61                                         BELLEVUE          NE         68005                6004                Various                                                                                            $25.45
JERZY MOSZYNSKI                 610 PINE CT                                                   ALPINE            WY         83128                6002                Various                                                                                             $8.71
JESENIA LOPEZ-CHAVEZ            629 MILLER STREET                                             WORTHINGTON       MN         56187                6004                Various                                                                                            $61.24
JESICA OSBORN                   315 E 5TH ST                                                  ALLIANCE          NE         69301                6002                Various                                                                                             $5.23
JESKE FAMILY                    WELCOME SHOPKO GUEST                                          NORTH BRANCH      MN         55056                6002                Various                                                                                             $4.63
JESS MOSER                      284 W 2050TH S                                                PERRY             UT         84302                6002                Various                                                                                             $7.37
JESS ROTHER                     831 E 4TH ST APT 511                                          DULUTH            MN         55805                6004                Various                                                                                             $3.00
JESS TRONSON                    761 OILFIELD AVE                                              SHELBY            MT         59474                6002                Various                                                                                             $8.85
JESSA JENS                      3211 OAK KNOLL DR 3                                           EAU CLAIRE        WI         54701                6004                Various                                                                                             $7.50
JESSCIA DEGRAVE                 2460 BIRCH POINT CIRCLE                                       GREEN BAY         WI         54302                6004                Various                                                                                             $1.70
JESSE * LONG                    1204 NW 12TH PL                                               ANDREWS           TX         79714                6002                Various                                                                                             $6.90
JESSE A ROHR                    709 DORELLE ST                                                KEWAUNEE          WI         54216                6002                Various                                                                                             $7.95
JESSE ALAN HERRICK              313 W BROWN ST                                                AUGUSTA           WI         54722                6002                Various                                                                                            $10.00
JESSE ANAYA                     1019 N STATE ST                                               APPLETON          WI         54911                6002                Various                                                                                             $1.64
JESSE ARCHULETA                 309 N BIRCH                                                   SHOSHONE          ID         83352                6004                Various                                                                                             $3.65
JESSE ATKINS                    5914 4TH AVENUE                                               KENOSHA           WI         53140                6004                Various                                                                                             $9.00
JESSE BARNES                    1601 SAPPHIRE WAY                                             SUN PRAIRIE       WI         53590                6004                Various                                                                                             $2.00
JESSE BERENS                    3401 FRY CRT LOT 9                                            MARSHFIELD        WI         54449                6004                Various                                                                                             $1.00
JESSE BLACKBURN                 PO BOX 164                                                    BUFFALO           WY         82834                6002                Various                                                                                             $4.16
JESSE BLYSTONE                  7194 BOELTER LAKE COURT                                       ALMOND            WI         54909                6004                Various                                                                                             $3.00
JESSE BROMMERICH                6810 CHESTER HGTS ST SE                                       ROCHESTER         MN         55904                6002                Various                                                                                             $6.52
JESSE CARLBERG                  3312 SHERIDAN RD                                              BELLEVUE          NE         68123                6002                Various                                                                                             $8.47
JESSE CATHEY                    PO BOX 30756                                                  BILLINGS          MT         59107                6004                Various                                                                                            $45.00
JESSE COUNTS                    2 BLUE MOON LN                                                OROFINO           ID         83544                6002                Various                                                                                             $5.81
JESSE DELACRUZ QUILLEN          1661 19TH STREET #303                                         REEDSBURG         WI         53959                6004                Various                                                                                             $3.00
JESSE DUENES                    224 S BROADWAY AVE                                            NEW HAMPTON       IA         50659                6002                Various                                                                                             $3.62
JESSE DUNKLAU                   314 E 3RD ST                                                  WAYNE             NE         68787                6002                Various                                                                                             $3.37
JESSE E FELIX                   842 W 10TH ST                                                 WINNER            SD         57580                6002                Various                                                                                             $1.32
JESSE E RAMEY                   108 N SUNSHINE LN                                             ORIENT            IA         50858                6002                Various                                                                                             $7.92
JESSE ERICKSON                  3603 VETERANS DR                                              SAINT CLOUD       MN         56303                6002                Various                                                                                             $1.92
JESSE FREUND                    N9767 TOWN HALL RD                                            MALONE            WI         53049                6004                Various                                                                                             $2.00
JESSE GREAVES                   2284 SCHOOL LANE                                              GREEN BAY         WI         54313                6004                Various                                                                                            $34.00
JESSE HAGERSTROM                334 JANET CT                                                  WRIGHTSTOWN       WI         54180                6002                Various                                                                                             $8.52
JESSE HALLEY                    353 E 4675TH S                                                WASHINGTON TER    UT         84405                6002                Various                                                                                             $3.45
JESSE HERTZ                     1006 MARION ST SE                                             ISANTI            MN         55040                6004                Various                                                                                            $15.00
JESSE HEUER                     1028 21ST. ST. NE                                             WATERTOWN         SD         57201                6004                Various                                                                                            $75.00
JESSE HORNBY-JACOB              1047 WHITEWATER AVE         APT 2                             FORT ATKINSON     WI         53538                6004                Various                                                                                             $1.00
JESSE HUFTEL                    N5214 TRAILS END RD                                           BRUCE             WI         54819                6004                Various                                                                                            $21.00
JESSE KIEFFER                   570 COTTONWOOD DRIVE                                          WINONA            MN         55987                6004                Various                                                                                             $3.00
JESSE KINNAMAN                  217 BRIGHTON ST                                               LOLO              MT         59847                6004                Various                                                                                             $2.00
JESSE L ANDERSON                1600 CENTER ST                                                MCCAMMON          ID         83250                6002                Various                                                                                             $7.73
JESSE LEE GRIFFITH              1312 10TH AVE SW                                              WATERTOWN         SD         57201                6002                Various                                                                                             $7.07
JESSE MADRIGAL                  P.O. BOX 2200                                                 COLSTRIP          MT         59323                6004                Various                                                                                            $49.98
JESSE MALLARD                   6405 E. BRIMLEY                                               NAMPA             ID         83686                6004                Various                                                                                            $40.00




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                                                                                                                                             Last 4 Digits of     Date Debt was
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              Creditor Name                Address1           Address2        Address3             City       State           Zip   Country     Number                Claim                                                                             Total Claim
JESSE MCBRIDE                  1170 E FREMONT ST                                           POCATELLO       ID         83201                 6002                Various                                                                                             $6.41
JESSE MCKUNE                   122 SO SCOTT ST                                             ELMWOOD         WI         54740                 6004                Various                                                                                            $22.00
JESSE MESEROLE                 823 N MARION AVE                                            JANESVILLE      WI         53548                 6004                Various                                                                                             $4.00
JESSE MEYERHOFFER              355 S 3600TH W                                              OGDEN           UT         84404                 6002                Various                                                                                             $4.08
JESSE MILLER                   143 N KING ST                                               WEST POINT      NE         68788                 6002                Various                                                                                             $3.62
JESSE MULLEN                   3079 S 1600 W                                               LOGAN           UT         84321                 6004                Various                                                                                            $10.00
JESSE NASH                     410 7TH AVE NE                                              PERHAM          MN         56573                 6002                Various                                                                                             $5.53
JESSE NELSON                   706 HORSESHOE DR                                            STANLEY         ND         58784                 6004                Various                                                                                           $110.37
JESSE NICHOLS                  N19629 COUNTY HIGHWAY H                                     GOODMAN         WI         54125                 6002                Various                                                                                             $8.55
JESSE NOHR                     694 MARQUETTE DR APT 16                                     KEWAUNEE        WI         54216                 6002                Various                                                                                            $10.00
JESSE POCKAT                   176 GARFIELD AVE                                            CLINTONVILLE    WI         54929                 6002                Various                                                                                             $1.84
JESSE PROCHASKA                1626 NORTH PAGE ST                                          STOUGHTON       WI         53589                 6004                Various                                                                                            $22.50
JESSE RIESEN                   322 W THIRD ST                                              BEAVER DAM      WI         53916                 6002                Various                                                                                             $1.26
JESSE S BLAKSLEY               407 PINE ST                                                 CALUMET         MI         49913                 6002                Various                                                                                             $4.08
JESSE S WAMPOLE                503 W LAWRENCE ST                                           THORP           WI         54771                 6002                Various                                                                                             $0.71
JESSE SCOTT WALMER             86192 516TH AVE                                             ORCHARD         NE         68764                 6002                Various                                                                                             $6.60
JESSE SHILTS                   928 COURT CIRCLE                                            ALTOONA         WI         54720                 6004                Various                                                                                             $1.00
JESSE SHUNK                    5850 ANTHONY PLACE        #2                                MONONA          WI         53716                 6004                Various                                                                                             $3.00
JESSE SMITH                    400 SHERIDAN AVE APT 10                                     MARQUETTE       MI         49855                 6002                Various                                                                                             $7.17
JESSE SPRATFORD                1117 E HASTINGS AVE                                         COEUR D ALENE   ID         83814                 6002                Various                                                                                             $7.67
JESSE STEVENS                  1632 W 5TH ST                                               WINONA          MN         55987                 6004                Various                                                                                             $3.00
JESSE STOKES                   5234 HIGHWAY 29                                             DENMARK         WI         54208                 6004                Various                                                                                             $2.00
JESSE TEGAN                    248 WERNER COURT                                            MEDFORD         WI         54451                 6004                Various                                                                                             $6.00
JESSE TYBUREC                  1040 SO FLOYD AVE                                           WINNER          SD         57580                 6002                Various                                                                                             $5.18
JESSE VERDEGAN                 2447 RIVERVIEW DR                                           GREEN BAY       WI         54313                 6004                Various                                                                                            $34.00
JESSE W. ADKINS                1006 N 14TH ST                                              BEATRICE        NE         68310                 6002                Various                                                                                             $7.70
JESSE WARNER                   9520 W TANGLEWOOD DR                                        BOISE           ID         83709                 6002                Various                                                                                             $9.01
JESSE WELSH                    427 MADISON AVE SW                                          EYOTA           MN         55934                 6002                Various                                                                                             $3.89
JESSE WEST                     400 CHILVERS RD                                             CHEHALIS        WA         98532                 6004                Various                                                                                             $2.02
JESSE WOLTERS                  1925 B HOWARD DRIVE                                         NORTH MANKATO   MN         56003                 6004                Various                                                                                            $12.00
JESSECA MITCHUM                32928 E BAILY RD                                            BRADY           NE         69123                 6002                Various                                                                                             $0.47
JESSENIA KOPS                  N11226 CTY RD Q                                             SPENCER         WI         54479                 6002                Various                                                                                             $3.92
JESSI BALCOME                  570 FARNSTEAD DR                                            SLINGER         WI         53086                 6004                Various                                                                                            $24.09
JESSI VITER                    PO BOX 292                                                  ARNOLD          NE         69120                 6002                Various                                                                                             $2.11
JESSICA A RAMIREZ              711 W GROVE ST APT #1                                       WEST POINT      NE         68788                 6002                Various                                                                                             $5.37
JESSICA A WALMER               57 CAMPUS ST APT 9                                          MILTON          WI         53573                 6002                Various                                                                                           $152.75
JESSICA ABRASHINSKY            3028 STAHL RD                                               SHEBOYGAN       WI         53081                 6004                Various                                                                                            $26.39
JESSICA AHO                    2003 ORCHARD ST                                             MARQUETTE       MI         49855                 6002                Various                                                                                             $2.58
JESSICA ANDERSON               137 N ASH ST                                                AINSWORTH       NE         69210                 6002                Various                                                                                             $9.61
JESSICA ANDERT                 2526 GARNET                                                 SLAYTON         MN         56172                 6004                Various                                                                                             $2.71
JESSICA AVINA                  PO BOX 1232                                                 MANITOWOC       WI         54220                 6004                Various                                                                                            $85.00
JESSICA BABCOCK                1506 E. ROAD SIX                                            EDGERTON        WI         53534                 6004                Various                                                                                             $2.40
JESSICA BALL                   937 1/2 S 3RD AVE                                           WAUSAU          WI         54401                 6004                Various                                                                                            $15.00
JESSICA BARAJAS                1916 S 15TH ST APT 10                                       PLATTSMOUTH     NE         68048                 6002                Various                                                                                             $5.97
JESSICA BARLOW                 13 W TRAPPER VLG                                            POWELL          WY         82435                 6002                Various                                                                                             $9.64
JESSICA BARRIENTOS             880 1/2 WISCONSIN DRIVE                                     JEFFERSON       WI         53549                 6004                Various                                                                                             $4.00
JESSICA BASTO                  25545 D ST                                                  CALUMET         MI         49913                 6002                Various                                                                                             $9.07
JESSICA BENKE                  56374 190TH AVE                                             WEST CONCORD    MN         55985                 6004                Various                                                                                             $3.06
JESSICA BINO                   826 18TH ST                                                 SIOUX CITY      IA         51105                 6002                Various                                                                                             $2.66
JESSICA BLARE                  342426 270TH ST                                             HAMILL          SD         57534                 6002                Various                                                                                             $3.86
JESSICA BOEVE                  303 MERCHANTS AVE                                           FORT ATKINSON   WI         53538                 6002                Various                                                                                             $7.26
JESSICA BOSTON                 1828 LAZELLE ST                                             STURGIS         SD         57785                 6002                Various                                                                                             $1.40
JESSICA BRANTMEIER             355 THOMAS COURT                                            NEENAH          WI         54956                 6004                Various                                                                                             $3.80
JESSICA BREEST                 2324 SERENADE LANE                                          GREEN BAY       WI         54301                 6004                Various                                                                                             $1.74




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                                                                                                                                              Last 4 Digits of     Date Debt was
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              Creditor Name                Address1         Address2        Address3              City         State           Zip   Country     Number                Claim                                                                             Total Claim
JESSICA BREWER                 7113 SOUTH ANGLESEA DRIVE                                 WEST JORDAN        UT         84084                 6004                Various                                                                                                $5.00
JESSICA BRISCOE                601 E 13TH                                                NORTH PLATTE       NE         69101                 6004                Various                                                                                                $8.11
JESSICA BRONCHO                RT 2 BOX 169-H                                            POCATELLO          ID         83202                 6004                Various                                                                                                $7.50
JESSICA BURDICK                349 E ALLOWEZ AVE                                         GREEN BAY          WI         54301                 6004                Various                                                                                               $34.00
JESSICA BURGMEIER              251 ISLAND AVE                                            RACINE             WI         53405                 6004                Various                                                                                               $10.00
JESSICA CAGLE                  914 2ND AVE NW                                            GREAT FALLS        MT         59404                 6002                Various                                                                                                $9.62
JESSICA CARRERA                1614 FORDEM AVE. APT. 304                                 MADISON            WI         53704                 6004                Various                                                                                                $2.00
JESSICA CAST                   450 6TH ST SW LOT 29                                      COKATO             MN         55321                 6002                Various                                                                                                $5.07
JESSICA COLTAS                 BOX 81                                                    COPPER HARBOR      MI         49918                 6004                Various                                                                                               $20.00
JESSICA CORNEJO                1538 SPRING AVE LOT 55                                    WORTHINGTON        MN         56187                 6004                Various                                                                                                $3.00
JESSICA CRAIG                  2604 4TH AVE NE APT 14                                    ROCHESTER          MN         55906                 6002                Various                                                                                                $5.15
JESSICA CUTTING                1315 E ST MARIES AVE                                      COEUR D ALENE      ID         83814                 6002                Various                                                                                                $8.52
JESSICA DAVID                  321 2ND ST SE                                             BLOOMING PRAIRIE   MN         55917                 6004                Various                                                                                                $6.12
JESSICA DAVIS                  7 SAGE CIR                                                ANDREWS            TX         79714                 6002                Various                                                                                                $6.90
JESSICA DAVISON                5510 17TH PLACE                                           KENOSHA            WI         53144                 6004                Various                                                                                               $16.00
JESSICA DAWN STEPHENS          BOX 285 556 AVE C                                         POWELL             WY         82435                 6002                Various                                                                                                $6.90
JESSICA DEGROOT                967 HWY 63                                                BALDWIN            WI         54002                 6004                Various                                                                                               $25.00
JESSICA DIMMITT                13758 VALLEY RD                                           PALMER             NE         68864                 6002                Various                                                                                                $2.03
JESSICA E RIDDLE               1053 W EMMA AVE APT 121                                   COEUR D ALENE      ID         83814                 6002                Various                                                                                                $9.23
JESSICA E. KNUTH               308 CHURCH ST                                             DENMARK            WI         54208                 6002                Various                                                                                                $9.26
JESSICA ELY                    603 MAIN ST.                                              CLEVELAND          MN         56017                 6004                Various                                                                                                $3.00
JESSICA ENGEL                  4801 N 156TH COURT APT 274                                OMAHA              NE         68116                 6004                Various                                                                                               $62.00
JESSICA ESTRADA                7230 GARLAND ST                                           LINCOLN            NE         68505                 6004                Various                                                                                                $4.00
JESSICA FAMEREE                1505 MEADOWS LN                                           LUXEMBURG          WI         54217                 6002                Various                                                                                                $8.38
JESSICA FERGUSON               322 E DETROIT AVE                                         MONMOUTH           IL         61462                 6002                Various                                                                                                $2.00
JESSICA FIGUEROA               420 W TAYLOR ST                                           LYONS              KS         67554                 6002                Various                                                                                                $6.90
JESSICA FITCH                  68425 MORRIS AVE                                          HINKLEY            MN         58103                 6002                Various                                                                                                $5.15
JESSICA FLEMING                216 MIDDLE STREET                                         GOOD THUNDER       MN         56037                 6004                Various                                                                                                $5.58
JESSICA FLINT                  3796 GRAINGER AVENUE WEST                                 BILLINGS           MT         59102                 6004                Various                                                                                               $15.99
JESSICA FLUETTE                28 HEIDI DR                                               MARQUETTE          MI         49855                 6002                Various                                                                                               $10.00
JESSICA FRANCIS                416 BARRET                                                BURLINGTON         IA         52601                 6004                Various                                                                                               $23.00
JESSICA FURMAN                 216 5TH AVE SW                                            WATERTOWN          SD         57201                 6002                Various                                                                                                $6.00
JESSICA GAGE                   717 7TH ST                                                GOTHENBURG         NE         69138                 6002                Various                                                                                                $3.26
JESSICA GALLINA                PO BOX 1232                                               MANITOWOC          WI         54220                 6004                Various                                                                                               $23.85
JESSICA GARCIA                 535 W. PEARL ST. APT 6                                    SEYMOUR            WI         54165                 6004                Various                                                                                               $24.30
JESSICA GARRISON               1475 17TH ST APT 11B                                      WINDOM             MN         56101                 6004                Various                                                                                               $25.00
JESSICA GASKILL                2300 JONES ST                                             SIOUX CITY         IA         51104                 6002                Various                                                                                                $0.44
JESSICA GAZELKA                5395 N MONTANA AVE                                        HELENA             MT         59602                 6002                Various                                                                                                $3.07
JESSICA GEISSLER               405 S MAIN                                                CHIPPEWA FALLS     WI         54729                 6004                Various                                                                                               $15.00
JESSICA GRAHAM                 PO BOX 32                                                 BRADY              MT         59416                 6002                Various                                                                                               $11.42
JESSICA HAGER                  4705 BROOKSIDE RD                                         ABRAMS             WI         54101                 6004                Various                                                                                                $3.00
JESSICA HANSEN                 343 S 100TH W                                             TREMONTON          UT         84337                 6002                Various                                                                                                $2.85
JESSICA HANSON                 1451 S 11TH ST                                            OMAHA              NE         68108                 6004                Various                                                                                               $18.00
JESSICA HARVEY                 13 TRAVERTINE LN TRLR 8                                   LIVINGSTON         MT         59047                 6002                Various                                                                                                $1.62
JESSICA HAVELOCK               440 CHERRY ST PO BOX # 342                                KIRKWOOD           IL         61447                 6002                Various                                                                                                $6.90
JESSICA HENNINGER              5020 FARWELL ST #202                                      MC FARLAND         WI         53558                 6004                Various                                                                                               $83.98

JESSICA HOFFMAN-WHEATON        210 N FREEMAN DR APT 8                                    PORT WASHINGTON    WI         53074                  6002               Various                                                                                             $1.86
JESSICA HOLBROOK               575 ROTHE ST APT 7                                        GREEN BAY          WI         54302                  6004               Various                                                                                            $15.00
JESSICA HOPPER                 5341 S ROYAL AUTUMN CIR                                   SALT LAKE CITY     UT         84129                  6002               Various                                                                                             $7.48
JESSICA HOUGH                  4069 MYLIUS RD                                            WENATCHEE          WA         98801                  6004               Various                                                                                           $168.07
JESSICA IRWIN                  430 4TH ST SW                                             PERHAM             MN         56573                  6002               Various                                                                                             $2.19
JESSICA J MILIUS               2567 STOCKWELL ST                                         LINCOLN            NE         68502                  6002               Various                                                                                             $3.45
JESSICA JACOBS                 4800 N ALTAMONT DR                                        APPLETON           WI         54913                  6002               Various                                                                                             $2.71




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                                                                                                                                                                                          Contingent


                                                                                                                                                                                                                      Disputed
                                                                                                                                                 Last 4 Digits of     Date Debt was
                                                                                                                                                    Account         Incurred, Basis for
               Creditor Name                Address1           Address2        Address3             City          State           Zip   Country     Number                Claim                                                                             Total Claim
JESSICA JARBOE                  300 20 1/2 ST NW                                            STEWARTVILLE       MN         55976                 6004                Various                                                                                                $3.00
JESSICA JENSEN                  609 S SYCAMORE ST                                           NORTH PLATTE       NE         69101                 6002                Various                                                                                                $0.79
JESSICA JENSON                  2100 SOUTH 1400 EAST SUITE B                                SALT LAKE CITY     UT         84105                 6004                Various                                                                                               $20.00
JESSICA JIMENEZ                 330 3RD ST                                                  CHANDLER           MN         56122                 6002                Various                                                                                                $6.38
JESSICA JINSKY                  3021 EAGLE RD                                               WISCONSIN RAPID    WI         54494                 6002                Various                                                                                                $1.12
JESSICA JOHNSON                 724 16TH ST S APT 2                                         LA CROSSE          WI         54601                 6004                Various                                                                                               $25.00
JESSICA JONET                   2234 MAHON CT                                               GREEN BAY          WI         54311                 6004                Various                                                                                                $3.00
JESSICA JUDD                    9300 S REDWOOD RD APT 1304                                  WEST JORDAN        UT         84088                 6002                Various                                                                                                $5.40
JESSICA JUMES                   431 NORTH AVE                                               SHEBOYGAN          WI         53083                 6004                Various                                                                                                $7.50
JESSICA JUSTIN                  W3940 MITCHELL RD LOT 46                                    EAU CLAIRE         WI         54701                 6004                Various                                                                                               $15.00
JESSICA JUZENAS                 PO BOX 178                                                  WAUSA              NE         68786                 6004                Various                                                                                                $4.97
JESSICA KARVAKKO                1418 W WATERWORKS CIR                                       HOUGHTON           MI         49931                 6002                Various                                                                                                $7.15
JESSICA KELLY                   30622 76TH ST                                               SALEM              WI         53168                 6004                Various                                                                                                $1.00
JESSICA KILPELA                 109 FIFTH ST                                                CALUMET            MI         49913                 6002                Various                                                                                                $4.63
JESSICA KLINEFELTER             456 WARBLER LANE                                            MADISON            WI         53704                 6004                Various                                                                                                $2.00
JESSICA KNOWLTON                RR 1 BOX 1070                                               DONIPHAN           MO         63935                 6002                Various                                                                                                $5.45
JESSICA KOCIAN                  PO BOX 413                                                  DAKOTA CITY        NE         68731                 6004                Various                                                                                               $25.00

JESSICA KRAUSE                  3211 GAYNOR AVENUE                                          WISCONSIN RAPIDS   WI         54495                  6004               Various                                                                                               $39.80
JESSICA KRUEGER                 N8621 BAY VIEW RD                                           MAYVILLE           WI         53050                  6002               Various                                                                                                $2.49
JESSICA L EMMES                 630 E FRONT ST                                              PESHTIGO           WI         54157                  6002               Various                                                                                                $0.63
JESSICA L FOX                   1735 MCAULEY AVE APT 9                                      RICE LAKE          WI         54868                  6002               Various                                                                                                $1.21
JESSICA L HERRMANN              323 FALCON CIR                                              PULASKI            WI         54162                  6002               Various                                                                                                $0.79
JESSICA L MOLASKI               3318 ROSE HAVEN TRL                                         GREEN BAY          WI         54313                  6002               Various                                                                                               $10.00
JESSICA L OLDAKOWSKI            506 E 8TH ST APT 2                                          MORRIS             MN         56267                  6002               Various                                                                                                $2.38
JESSICA L PARKINSON             907 ZIEBACH ST LOT 47                                       BELLE FOURCHE      SD         57717                  6002               Various                                                                                                $0.44
JESSICA L SEIBENICK             4 MATHEW BIRD CIR                                           BOZEMAN            MT         59715                  6002               Various                                                                                                $9.59
JESSICA L STEVENS               298 E NAVAHO ST                                             SAFFORD            AZ         85546                  6002               Various                                                                                                $7.95
JESSICA L. VANDEURZEN           209 DESPLAINE RD                                            DE PERE            WI         54115                  6002               Various                                                                                                $1.37
JESSICA LAQUA                   3226 CTY RD                                                 GHENT              MN         56239                  6004               Various                                                                                                $3.00
JESSICA LARUE                   125 WALNUT AVE                                              MEADOW GROVE       NE         68752                  6004               Various                                                                                                $3.02
JESSICA LING                    P.O. BOX 116                                                BIGELOW            MN         56119                  6004               Various                                                                                                $1.74
JESSICA LIZARDE                 820 S MAIN ST                                               MONMOUTH           IL         61462                  6002               Various                                                                                                $9.07
JESSICA LONG                    4717 KELLYLAND ST                                           WESTON             WI         54476                  6002               Various                                                                                                $7.81
JESSICA LUDWIG                  1130A S 13TH ST                                             MANITOWOC          WI         54220                  6002               Various                                                                                                $2.74
JESSICA LYONS                   601 WARREN LN                                               SIDNEY             MT         59270                  6002               Various                                                                                                $6.93
JESSICA M MCLAIN                312 E 5TH ST                                                PINCONNING         MI         48650                  6002               Various                                                                                                $9.59
JESSICA M STEPHENS              1211 ST MARIES AVE                                          COEUR D ALENE      ID         83814                  6002               Various                                                                                                $4.68
JESSICA MADDEN                  5200 MONTANA CITY DR                                        BILLINGS           MT         59101                  6004               Various                                                                                               $10.02
JESSICA MALEK                   620 9TH AVE S                                               GREAT FALLS        MT         59405                  6004               Various                                                                                               $25.00
                                4736 MATTERHORN CIRCLE APT.
JESSICA MANDERFELD              207                                                         DULUTH             MN         55811                  6004               Various                                                                                                $3.00
JESSICA MARQUETTE               106 E BASSETT ST                                            DIXON              IL         61021                  6002               Various                                                                                                $1.26
JESSICA MARTINEZ SANDOVAL       1014 S 25TH AVE                                             OMAHA              NE         68105                  6004               Various                                                                                                $7.99
JESSICA MCADAMS                 1263 ROSE XING                                              KALISPELL          MT         59901                  6002               Various                                                                                                $9.53
JESSICA MCKINLAY                319 13TH ST S                                               GREAT FALLS        MT         59405                  6002               Various                                                                                                $3.97
JESSICA MENNE                   500 1/2 5TH ST                                              MENASHA            WI         54952                  6002               Various                                                                                                $6.74
JESSICA MILLER                  708 VALLEY ST                                               HORICON            WI         53032                  6004               Various                                                                                               $43.65
JESSICA MINETTI                 7027 YORK RD                                                HELENA             MT         59602                  6002               Various                                                                                                $7.34
JESSICA MISKELL                 660 SEQUOIA LANE                                            ZUMBROTA           MN         55992                  6004               Various                                                                                                $6.12
JESSICA MITCHELL                702 7TH STREET                                              ROCHESTER          MN         55902                  6004               Various                                                                                                $6.00
JESSICA MOE                     505 FOURTH ST                                               BRODHEAD           WI         53520                  6004               Various                                                                                                $6.00
JESSICA MOHLER                  604 8TH AVE N                                               GREAT FALLS        MT         59401                  6004               Various                                                                                                $3.00
JESSICA MOORE                   12177 W OVERLAND RD                                         BOISE              ID         83709                  6002               Various                                                                                                $7.78




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              Creditor Name                Address1              Address2           Address3             City          State           Zip   Country     Number                Claim                                                                             Total Claim
JESSICA MYERS                  52 1000 W BOX ELDER JAIL                                          BRIGHAM            UT         84302                 6002                Various                                                                                                $4.19
JESSICA NAATZ                  326 EAST FOUNTAIN ST                                              ALBERT LEA         MN         56007                 6004                Various                                                                                                $1.80
JESSICA NEU                    4023 GOLEYS LN                                                    RACINE             WI         53404                 6004                Various                                                                                                $1.00
JESSICA NEVLING                12112 E ALKI AVE APT 26                                           SPOKANE            WA         99206                 6004                Various                                                                                               $30.00
JESSICA NOWAK                  1910 3RD STREET                                                   WAUSAU             WI         54403                 6004                Various                                                                                               $15.00
JESSICA OEFFLER                111 MAIN STREET SOUTH                                             MINNESOTA LAKE     MN         56068                 6004                Various                                                                                                $3.00
JESSICA OLAGUE                 336 E ONIEDA                                                      PRESTON            ID         83263                 6004                Various                                                                                                $3.00
JESSICA OLIN                   564 N 880TH E                                                     SPANISH FORK       UT         84660                 6002                Various                                                                                                $1.95
JESSICA OLSON                  551 N PAUL AVE               APT B                                OWEN               WI         54460                 6004                Various                                                                                               $67.18
JESSICA ORGAN                  1019 15TH AVE N PRERELEASE                                        GREAT FALLS        MT         59401                 6002                Various                                                                                                $1.81
JESSICA ORNDORFF               2707 HUNTER RD                                                    TRENTON            MO         64683                 6002                Various                                                                                                $8.71
JESSICA OWEN JANSEN            6725 N SMOKETREE PASS                                             APPLETON           WI         54913                 6002                Various                                                                                                $4.33
JESSICA PAMPERIN               1211 11TH AVE                                                     GREEN BAY          WI         54304                 6002                Various                                                                                                $9.29
JESSICA PAPENFUSS              43074 STATE HIGHWAY 210                                           AITKIN             MN         56431                 6002                Various                                                                                                $0.88
JESSICA PARKER                 514 E CENTER ST                                                   OMER               MI         48749                 6002                Various                                                                                                $7.29
JESSICA PETERSEN               900 CIRCLE DR                                                     WISNER             NE         68791                 6002                Various                                                                                                $0.47
JESSICA PICKERING              8939 MAYFLOWER ST                                                 WEST JORDAN        UT         84081                 6002                Various                                                                                                $3.81
JESSICA PRICE                  1020 18TH STREET                                                  LEWISTON           ID         83501                 6004                Various                                                                                               $56.00
JESSICA PRIMUS                 8988 IVY ROAD                                                     SAINT CLOUD        MN         56301                 6004                Various                                                                                                $3.00
JESSICA PULLAM                 804 SCOTT ST                                                      BEAVER DAM         WI         53916                 6002                Various                                                                                                $3.07
JESSICA R HAGEN                18583 312TH AVE                                                   UNDERWOOD          MN         56586                 6002                Various                                                                                                $5.75
JESSICA R. WHITLEY             3254 W KATHY LOOP APT 219                                         COEUR D ALENE      ID         83815                 6002                Various                                                                                                $3.18
JESSICA RAASCH                 5742 LARSON LN                                                    LENA               WI         54139                 6004                Various                                                                                               $20.00
JESSICA RAMEY                  1402 BRIDLE DR                                                    MITCHELL           SD         57301                 6002                Various                                                                                                $6.27
JESSICA RANUM                  1775 CONGRESS AVE                                                 BELOIT             WI         53511                 6004                Various                                                                                               $30.84
JESSICA RASMUSSEN              1505 5TH ST SE                                                    AUSTIN             MN         55912                 6004                Various                                                                                                $3.00
JESSICA REED                   9838 N NEWVILLE RD                                                EDGERTON           WI         53534                 6004                Various                                                                                                $6.80
JESSICA REEVS                  17 GROVE HILL CT                                                  MARQUETTE          MI         49855                 6002                Various                                                                                                $9.01
JESSICA RICHARDSON             743 E 125 N                                                       VINEYARD           UT         84058                 6004                Various                                                                                               $22.16
JESSICA RIVERA                 215 SOUTHVIEW ST                                                  WEST CONCORD       MN         55985                 6004                Various                                                                                                $3.06
JESSICA ROGERS                 322 CHIPPAWA LN                                                   DIXON              IL         61021                 6002                Various                                                                                                $4.63
JESSICA ROMERO                 2750 IVA CT                                                       BELOIT             WI         53511                 6004                Various                                                                                               $24.00
JESSICA ROORDA                 668 WEST 500 NORTH                                                BRIGHAM CITY       UT         84302                 6004                Various                                                                                               $23.00
JESSICA ROWBERRY               745 GARFIELD                                                      IDAHO FALLS        ID         83401                 6004                Various                                                                                               $18.98
JESSICA ROYER                  6669 H 25 RD                                                      ESCANABA           MI         49829                 6002                Various                                                                                               $10.00
JESSICA RUSSELL                8016 S 3725TH W                                                   WEST JORDAN        UT         84088                 6002                Various                                                                                                $0.47
JESSICA SADKOWSKI              1127 W MARIE AVE APT 6                                            COEUR D ALENE      ID         83815                 6002                Various                                                                                                $5.64
JESSICA SALMON                 956 CLARENCE COURT           APT 1                                MADISON            WI         53715                 6004                Various                                                                                                $5.40
JESSICA SCHMIDT                341 S MOUNTAIN VIEW DR                                            KALISPELL          MT         59901                 6002                Various                                                                                                $3.18
JESSICA SCHNEIDER              478 BARBIE COURT                                                  APPLETON           WI         54915                 6004                Various                                                                                               $25.00
JESSICA SEEFELDT               911 GREENWOOD CT. APT. 6                                          OSHKOSH            WI         54901                 6004                Various                                                                                                $3.00
JESSICA SHEA                   26683 NORTHWEST                                                   HUBBELL            MI         49934                 6002                Various                                                                                                $7.92
JESSICA SMITH                  429 1ST AVE.                 APT. 210                             LEWISTON           ID         83501                 6004                Various                                                                                               $73.88
JESSICA SODER                  1689 HURON ST                                                     THREE LAKES        WI         54562                 6004                Various                                                                                                $4.98
JESSICA SPARKS                 1562 PEACH DR NE                                                  SAUK RAPIDS        MN         56379                 6004                Various                                                                                               $33.00

JESSICA SPAULDING              1960 WICKHAM AVE                                                  WISCONSIN RAPIDS   WI         54494                  6004               Various                                                                                                $7.06
JESSICA STARKS                 109 S. HIGH ST                                                    CAMBRIDGE          WI         53523                  6004               Various                                                                                                $5.00
JESSICA STEFONIK               590 BLAKE ST                                                      MOSINEE            WI         54455                  6004               Various                                                                                               $25.00
JESSICA STEINDL                12501 23RD AVE                                                    CHIPPEWA FALLS     WI         54729                  6002               Various                                                                                                $7.56
JESSICA STENGLE                1268 HALF MOON LAKE DR                                            MOSINEE            WI         54455                  6004               Various                                                                                                $7.51
JESSICA STEWART                2600 14TH AVE NE                                                  WATERTOWN          SD         57201                  6004               Various                                                                                                $8.00
JESSICA STOUT                  1854 NORTHGATE DRIVE         APT 210                              BELOIT             WI         53511                  6004               Various                                                                                               $22.00
JESSICA STOVER                 1028 S LUSK ST APT 157                                            BOISE              ID         83706                  6002               Various                                                                                                $4.68




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JESSICA STRAIT                  495 S 200TH E                                                     BRIGHAM CITY      UT         84302                 6002                Various                                                                                                $9.21
JESSICA SUMI                    628 E 1100TH N                                                    OGDEN             UT         84404                 6002                Various                                                                                                $0.30
JESSICA THOMPSON                1717 THAYER ST                                                    PLATTSMOUTH       NE         68048                 6002                Various                                                                                                $7.01
JESSICA TOWNSEND                1202 11TH STREET                                                  MOSINEE           WI         54455                 6004                Various                                                                                                $3.00
JESSICA TRACEY                  8391 KELLOGG RD NW                                                ALDEN             MI         49612                 6002                Various                                                                                                $9.78
JESSICA TREML                   4738 OLD OAK RD                                                   WINNECONNE        WI         54896                 6002                Various                                                                                                $2.27
JESSICA TUFTE                   5996 16TH AVE SE                                                  SAINT CLOUD       MN         56304                 6002                Various                                                                                                $5.40
JESSICA WAGER                   2443 25TH AVE                                                     RICE LAKE         WI         54868                 6002                Various                                                                                                $5.01
JESSICA WALLACE                 3716 14TH ST E                                                    LEWISTON          ID         83501                 6002                Various                                                                                                $8.74
JESSICA WALZAK                  4642 CEDAR LAKE ROAD S                                            MINNEAPOLIS       MN         55416                 6004                Various                                                                                                $3.16
JESSICA WATSON                  1608 WEST APPLETON ST                                             APPLETON          WI         54911                 6004                Various                                                                                                $3.00
JESSICA WATTS                   3602 MOUNT VIEW AVE            APT 8                              WESTON            WI         54476                 6004                Various                                                                                               $34.00
JESSICA WESSEL                  703 SOUTH VINE                                                    MARSHFIELD        WI         54449                 6004                Various                                                                                               $14.00
JESSICA WESTPHAL                314 N. 9TH AVE.                                                   WAUSAU            WI         54401                 6004                Various                                                                                               $15.00
JESSICA WHEELER                 309 7TH ST.                                                       RIVER FALLS       WI         54022                 6004                Various                                                                                               $22.00
JESSICA WHITESIDE               703 GILBERT ST                                                    EAU CLAIRE        WI         54703                 6004                Various                                                                                                $1.00
JESSICA WICKMAN                 1000 S 50TH AVE                APT 38                             WAUSAU            WI         54401                 6004                Various                                                                                               $10.00
JESSICA WIERZBA                 277 N MAIN ST                                                     ROSHOLT           WI         54473                 6004                Various                                                                                               $24.00
JESSICA WIITALA                 4876 ISABELLA CR                                                  HOBART            WI         54155                 6002                Various                                                                                                $8.27
JESSICA YOUNG                   618 ALLEN ST                                                      CHIPPEWA FALLS    WI         54729                 6002                Various                                                                                               $11.53
JESSICA ZASTROW                 724 VLIET ST                                                      KEWAUNEE          WI         54216                 6002                Various                                                                                                $6.55
JESSIE A HANSMANN               1140 ELM ST                                                       SHEBOYGAN         WI         53081                 6002                Various                                                                                                $6.11
JESSIE ARMES                    401 SOCIETY ST                                                    CLIO              SC         29525                 6002                Various                                                                                                $5.10

JESSIE ARMSTRONG                1805 NW CANYON VIEW DRIVE                                         PULLMAN           WA         99163                  6004               Various                                                                                               $15.00
JESSIE BENNETT                  3245 FOREST RIDGE                                                 MADISON           WI         53704                  6004               Various                                                                                                $1.00
JESSIE BISHOP                   54 LINCOLN                                                        LANDER            WY         82520                  6002               Various                                                                                                $4.19
JESSIE BUSS                     1719 ISABELLA ST                                                  SIOUX CITY        IA         51103                  6002               Various                                                                                                $3.56
JESSIE CLAYMORE                 11661 HEYRMAN DR                                                  CRIVITZ           WI         54114                  6002               Various                                                                                                $0.60
JESSIE ELLENBECKER              502 N MAIN ST                                                     BLACK CREEK       WI         54106                  6002               Various                                                                                                $0.44
JESSIE GOOD                     12276 JEROME AVE                                                  OROFINO           ID         83544                  6002               Various                                                                                                $1.15
JESSIE KREBS                    208 HILLCREST LN                                                  JEFFERSON         WI         53549                  6004               Various                                                                                                $3.00
JESSIE MACLAY                   4637 CHANDLER                                                     MISSOULA          MT         59808                  6004               Various                                                                                               $16.00
JESSIE MOSER                    6823 DIANE DR                                                     WEST BEND         WI         53090                  6004               Various                                                                                                $9.00
JESSIE NEUBER                   6962 SOO LAKE RD                                                  RHINELANDER       WI         54501                  6004               Various                                                                                               $25.00
JESSIE PHILLIPS                 50 ZUMBRUN ROAD                                                   RED LODGE         MT         59068                  6004               Various                                                                                               $25.00
JESSIE RODEA CUEVAS             1720 W WEILAND LN #6                                              APPLETON          WI         54914                  6004               Various                                                                                                $3.00
JESSIE SCHOLTEN                 407 11TH AVE N                                                    ONALASKA          WI         54650                  6002               Various                                                                                                $8.25
JESSIE STANFIELD                RR 1 BOX 1845                                                     DONIPHAM          MO         63935                  6002               Various                                                                                                $2.41
JESSIE STANLEY                  4269 44TH CT NE                                                   SALEM             OR         97305                  6004               Various                                                                                                $5.00
JESSIE STEWART                  100S 50TH                                                         TWIN FALLS        ID         83301                  6002               Various                                                                                                $1.42
JESSIE STOWE                    2828 W 2ND ST                                                     DULUTH            MN         55806                  6004               Various                                                                                               $15.98
JESSIE WHITE                    531 8TH AVE N                                                     WISCONSIN RAPID   WI         54495                  6002               Various                                                                                                $6.99

JESSIE WILLIAMS                 2926 CROW CREEK RD PO BOX #                                       FAIRVIEW          WY         83119                  6002               Various                                                                                                $6.49
JESSIKA JOHNSON                 21083 UPPER FORDS CRK RD                                          WEIPPE            ID         83553                  6002               Various                                                                                                $4.30
JESSIKA SUHONEN                 1645 RAINBOW DR #6                                                OSHKOSH           WI         54901                  6004               Various                                                                                               $40.00

JESSY SKELTON                   8880 EAST SANTEA HILLS DRIVE                                      SANDY             UT         84094                  6004               Various                                                                                                $1.77
JESSYCA KRUCKENBERG             9485 60TH AVE NW                                                  PINE ISLAND       MN         55963                  6004               Various                                                                                                $3.00
JESUS ALBERT ARROYO             421 W 1ST ST APT 5                                                WAYNE             NE         68787                  6002               Various                                                                                                $5.81
JESUS ALMAGUER                  550 VAN DYNE RD. #29                                              FOND DU LAC       WI         54937                  6004               Various                                                                                                $4.00
JESUS ARANDA                    10619 COUNTY LINE RD #55                                          WHITEWATER        WI         53190                  6004               Various                                                                                               $20.00
JESUS CASAS                     1204 S. 21ST AVE                                                  YAKIMA            WA         98902                  6004               Various                                                                                                $5.00




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                                                                              Schedule E/F: Part 2 - Creditors With Nonpriority Unsecured Claims




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                                                                                                                                                                                                          Unliquidated
                                                                                                                                                                                             Contingent


                                                                                                                                                                                                                         Disputed
                                                                                                                                                    Last 4 Digits of     Date Debt was
                                                                                                                                                       Account         Incurred, Basis for
               Creditor Name                  Address1             Address2           Address3             City       State         Zip    Country     Number                Claim                                                                             Total Claim
JESUS DELGADO                     614 5TH AVE NW                                                   PLAINVIEW       MN         55964                6004                Various                                                                                             $3.06
JESUS FERNANDEZ                   933 SOUTH LINCOLN                                                BEAVER DAM      WI         53916                6004                Various                                                                                            $56.00
JESUS GIJON MELENDEZ              715 WILSON AVENUE                                                GREEN BAY       WI         54303                6004                Various                                                                                             $1.00
JESUS JIMENEZ                     4929 CHARLET GARDENS        APT. 208                             MADISON         WI         53711                6004                Various                                                                                             $2.00
JESUS LOZANO SANCHEZ              714 N 3RD ST                                                     MONMOUTH        IL         61462                6002                Various                                                                                             $9.21
JESUS M RASCON                    609 E HANSON AVE                                                 MITCHELL        SD         57301                6002                Various                                                                                             $4.36
JESUS MALDONADO                   1103 S SUMMIT AVE                                                NEWCASTLE       WY         82701                6002                Various                                                                                             $7.75
JESUS MARTINEZ                    800 GRACE STREET                                                 WAUPUN          WI         53963                6004                Various                                                                                            $27.00
JESUS MEDRANO                     1315 2ND AVE                                                     WORTHINGTON     MN         56187                6004                Various                                                                                            $23.00
JESUS QUIROZ                      194003 DESERT OAK                                                SAN ANTONIO     TX         78258                6002                Various                                                                                             $4.00
JESUS RAMIREZ                     529 MOTTER ST                                                    LYONS           KS         67554                6002                Various                                                                                             $7.95
JESUS RAMO                        123 S 4TH ST                                                     ABBOTSFORD      WI         54405                6002                Various                                                                                             $8.49
JESUS SANTOS                      2411 NORTH WHEELER AVE                                           GRAND ISLAND    NE         68801                6004                Various                                                                                            $20.00
JESUS SEGURA                      1645 S 1380 W                                                    LOGAN           UT         84321                6004                Various                                                                                            $20.00
JESUS TORRES                      1086 20 3/4 AVE                                                  CUMBERLAND      WI         54829                6004                Various                                                                                            $30.67
JESYKA DILLON                     PO BOX 437                                                       MISSION         SD         57555                6002                Various                                                                                             $1.15
JETA USENI                        4149 EASTRIDGE DR                                                JANESVILLE      WI         53546                6004                Various                                                                                             $2.00
JETT RIESE                        5517 FIELDSTONE LN                                               MADISON         WI         53704                6004                Various                                                                                             $2.00
JEVNE H BILLIET                   1205 E 4TH ST                                                    DULUTH          MN         55805                6002                Various                                                                                             $1.53
JEWELL HAYES                      3620 JACKSON ST                                                  SIOUX CITY      IA         51104                6002                Various                                                                                             $0.88
JEWELL JUNIO MAYBERRY             1631 N 42ND RD                                                   AVOCA           NE         68307                6002                Various                                                                                             $2.33
JEWETT CAMERON COMPANY (C-HUB)    UNIT 61                     PO BOX 4500                          PORTLAND        OR         97208-4500           6529                Various                                                                                           $374.44
JFW                               5134 COMMERCE SQ. DRIVE                                          INDIANAPOLIS    IN         46237                                    Various                                                                                           $285.00
                                                              703 WEST
                                                              MADISON STREET
JG VANHOLTEN & SON INC DBA VAN    VICE PRESIDENT OF SALES     PO BOX 66                            WATERLOO        WI         53594                 8778               Various                                                                                         $2,909.41
JHASMIN DAVIDSON                  1648 SHERMAN AVE                                                 BELOIT          WI         53511                 6004               Various                                                                                             $1.00
JHONTAE OLIVER                    1214 SOUTH 13TH                                                  MANITOWOC       WI         54220                 6004               Various                                                                                             $3.00
JHOQUESHA BLUNT                   840 N TAYLOR STREET                                              GREEN BAY       WI         54303                 6004               Various                                                                                             $3.00
JIAR SALMAN                       657 SOUTH POINTE COURT SW                                        ROCHESTER       MN         55902                 6004               Various                                                                                             $2.85
JIAYUE DUAN                       808 TOWERS S                                                     EAU CLAIRE      WI         54701                 6002               Various                                                                                             $1.81
JILL ARMSTRONG                    455 WALDEN AVE                                                   NEWCASTLE       WY         82701                 6002               Various                                                                                             $7.40
JILL BADKER                       1805 14TH AVE                                                    MENOMINEE       MI         49858                 6004               Various                                                                                            $27.00
JILL BENDER                       1908 CAMELOT BLVD                                                SHEBOYGAN       WI         53081                 6002               Various                                                                                             $6.25
JILL BLANTON                      698 N 100 E                                                      SANTAQUIN       UT         84655                 6004               Various                                                                                             $5.00
JILL BRANDT                       227 W JACKSON ST                                                 SAINT PETER     MN         56082                 6002               Various                                                                                             $0.58
JILL BRUNSON                      14 S 100TH W                                                     SPANISH FORK    UT         84660                 6002               Various                                                                                             $5.81
JILL CARLSON                      1103 S SUMMIT B # 15                                             NEWCASTLE       WY         82701                 6002               Various                                                                                             $9.48
JILL DAHNERT                      N1205 GARVERT LANE                                               FORT ATKINSON   WI         53538                 6004               Various                                                                                            $25.00
JILL DONNELLY                     N699 RIDGE ROAD                                                  WALWORTH        WI         53184                 6004               Various                                                                                            $42.00
JILL E. NELSON                    3602 SHERWOOD PL SE                                              ROCHESTER       MN         55904                 6002               Various                                                                                             $8.25
JILL EBERTS                       561 E WISCONSIN AVE                                              NEENAH          WI         54956                 6002               Various                                                                                             $0.38
JILL GILLETTE                     180E 553RD                                                       OGDEN           UT         84405                 6002               Various                                                                                             $7.81
JILL HIDER                        3760 10TH RD                                                     BARK RIVER      MI         49807                 6002               Various                                                                                             $0.82
JILL HOLLEY                       748 E 1400TH N                                                   SHELLEY         ID         83274                 6002               Various                                                                                             $8.82
JILL IMMEKUS                      348 LISBON AVENUE                                                MENASHA         WI         54952                 6002               Various                                                                                            $10.35
JILL KLUMPER                      401 2ND ST                                                       JASPER          MN         56144                 6002               Various                                                                                             $7.59
JILL KREIKEMEIER                  441 O RD                                                         WISNER          NE         68791                 6002               Various                                                                                             $8.63
JILL KRELL                        4580 BEAVER DAM RD                                               WEST BEND       WI         53090                 6004               Various                                                                                            $10.00
JILL LAMOTHE                      11 GLOBE HEIGHT DR                                               RACINE          WI         53406                 6004               Various                                                                                             $1.70
JILL LUTCAVISH                    BOX 462                                                          MASON CITY      IA         50401                 6002               Various                                                                                             $3.45
JILL LYNN GREGORICH               1195 ROLAND LN APT 1                                             GREEN BAY       WI         54303                 6002               Various                                                                                             $4.63
JILL M JANES                      W5276 NIBLER RD                                                  TOMAHAWK        WI         54487                 6002               Various                                                                                             $1.51
JILL M KRUMPLITSCH                1013 13TH AVE                                                    GRAFTON         WI         53024                 6002               Various                                                                                             $1.01




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                                                                                                                                                                                            Contingent


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                                                                                                                                                   Last 4 Digits of     Date Debt was
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              Creditor Name                Address1                Address2         Address3              City      State           Zip   Country     Number                Claim                                                                             Total Claim
JILL M PUNZEL                  3800 E ASHBURY DR                                                 APPLETON        WI         54913                 6002                Various                                                                                             $6.77
JILL MACKOWIAK                 733 BOWEN ST                                                      SAVANNA         IL         61074                 6002                Various                                                                                             $4.41
JILL MICHAELSON                W948 VAN CT                                                       ONEIDA          WI         54155                 6002                Various                                                                                             $3.67
JILL NOEL CHRISTIANSON         2308 N LINWOOD AVE                                                APPLETON        WI         54914                 6002                Various                                                                                             $1.45
JILL NYLAND                    4830 VALOR WAY                                                    MADISON         WI         53718                 6002                Various                                                                                             $8.03
JILL OESTMANN                  5625 L STREET                                                     LINCOLN         NE         68510                 6004                Various                                                                                            $15.00
JILL OLIG                      2618 WESTBROOK LN                                                 MADISON         WI         53711                 6004                Various                                                                                             $5.70
JILL OURADA                    6917 MILITARY AV               APT 6                              OMAHA           NE         68104                 6004                Various                                                                                            $25.00
JILL PODOSKI                   1902 1/2 CARNEY AVE                                               MARINETTE       WI         54143                 6002                Various                                                                                             $1.67
JILL RAUSCH                    636 E WHITMAN                                                     POCATELLO       ID         83201                 6004                Various                                                                                             $1.50
JILL RAYMER                    2380 PARK AVE                                                     BELOIT          WI         53511                 6002                Various                                                                                             $9.29
JILL ROEDER                    2600 N LISA ST                                                    APPLETON        WI         54914                 6002                Various                                                                                             $6.55
JILL SCHROEDER                 6433 BRIDGE RD                                                    MADISON         WI         53713                 6004                Various                                                                                             $3.00
JILL SIMMONS                   W3480 MARSHALL RD                                                 WHITEWATER      WI         53190                 6002                Various                                                                                             $6.90
JILL SMITH                     508 1ST AVE                                                       GOTHENBURG      NE         69138                 6002                Various                                                                                             $1.81
JILL STRACHOTA                 3727 TROY ST                                                      WAUSAU          WI         54403                 6004                Various                                                                                             $2.60
JILL STRONG                    2533 PRAIS ST                                                     STEVENS POINT   WI         54481                 6004                Various                                                                                            $34.00
JILL SWENSON                   W1356 SABURBAN DR                                                 ALBANY          WI         53502                 6004                Various                                                                                            $18.00
JILL TALLMAN                   225 E 4TH AVE                                                     STANLEY         WI         54768                 6002                Various                                                                                             $0.74
JILL WAGNER                    609 12TH AVE NW                                                   AUSTIN          MN         55912                 6004                Various                                                                                            $58.55
JILL WATERMAN                  W8627 DOE RUN                                                     WAUTOMA         WI         54982                 6002                Various                                                                                             $4.22
JILL WOLF                      E19552 HIGHWAY N                                                  RINGLE          WI         54471                 6002                Various                                                                                             $1.34
JILLANE SCHULTZ                C/O FAMILY CARE                615 S 8TH STREET                   SHEBOYGAN       WI         53081                 6002                Various                                                                                            $11.50
JILLE PETERSON                 808 11TH AVE NW                                                   AUSTIN          MN         55912                 6004                Various                                                                                           $125.00
JILLIAN HUST                   1712 45TH ST NW APT 4                                             ROCHESTER       MN         55901                 6002                Various                                                                                             $5.89
JILLIAN LEE                    PO BOX 477                                                        LIBERTY LAKE    WA         99019                 6004                Various                                                                                             $2.98
JILLIAN MCKINNEY               6894 S 670TH E                                                    MIDVALE         UT         84047                 6002                Various                                                                                             $7.81
JILLIAN PAYTON                 2567 N HILLFIELD RD #64                                           LAYTON          UT         84041                 6004                Various                                                                                             $1.98
JILLIAN WEIHING                N3670 ELM ST                                                      HORTONVILLE     WI         54944                 6002                Various                                                                                             $6.22
JILLIAN YANKE                  N1269 LONE PINE RD                                                ADELL           WI         53001                 6004                Various                                                                                             $3.00
JIM ABERLE                     210 S 78TH AVE                                                    YAKIMA          WA         98908                 6004                Various                                                                                             $2.00
JIM ALBERS                     313 E NELIGH ST                                                   WEST POINT      NE         68788                 6002                Various                                                                                             $8.16
JIM BUEL                       21815 A ST                                                        EAGLE           NE         68347                 6004                Various                                                                                            $10.27
JIM D SR SOBONYA               1502 BOULDER AVE                                                  HELENA          MT         59601                 6002                Various                                                                                             $1.95
JIM D'HULST                    1655 CAPITAL STREET                                               OGDEN           UT         84401                 6004                Various                                                                                            $44.00
JIM DODGE                      BOX 168                                                           AHSAHKA         ID         83520                 6002                Various                                                                                             $1.42
JIM F MOUSEL                   29188 303RD AVE                                                   WINNER          SD         57580                 6002                Various                                                                                            $10.00
JIM GRAHAM                     2321 ATLAS CIRCLE                                                 LINCOLN         NE         68504                 6004                Various                                                                                            $30.00
JIM HARE                       27 19TH ST SE                                                     MASON CITY      IA         50401                 6004                Various                                                                                            $58.00
JIM JONES                      121 CEDAR ST                                                      NEWCASTLE       WY         82701                 6002                Various                                                                                             $0.74
JIM L DREHER                   2920 E AVE                                                        KEARNEY         NE         68847                 6002                Various                                                                                             $1.12

JIM LANG                       21773 CHASSELL-PAINESDALE RD                                      CHASSELL        MI         49916                  6002               Various                                                                                                $4.60
JIM MACKENZIE                  N3600 WILLOW RD                                                   PULASKI         WI         54162                  6004               Various                                                                                               $25.00
JIM MAROON                     940 E MAPLEWOOD DR                                                MADISON         SD         57042                  6002               Various                                                                                                $0.44
JIM MICHAEL                    14005 STATE STREET                                                MERCER          MO         64661                  6002               Various                                                                                                $4.16
JIM NEUMANN                    6263 FRANCIS ST                                                   LINCOLN         NE         68505                  6004               Various                                                                                               $36.23
JIM NORTH                      1516 COURTHOUSE AVE                                               AUBURN          NE         68305                  6002               Various                                                                                                $3.10
JIM PICANCO                    1143 PACIFIC ST                                                   IDAHO FALLS     ID         83404                  6002               Various                                                                                                $0.55
JIM RICH                       208 S ST CHARLES ST # 6                                           SALMON          ID         83467                  6002               Various                                                                                                $1.12
JIM SCOFIELD                   515 2ND ST NE                                                     WATERTOWN       SD         57201                  6002               Various                                                                                                $9.29
JIM SMITH                      BOX 5512                                                          HELENA          MT         59604                  6002               Various                                                                                                $1.56
JIM WALLAHEE                   20 MARTY S. DR.                                                   WAPATO          WA         98951                  6004               Various                                                                                                $5.68
JIM WENDLING                   2537 MARSH AVE                                                    ASHTON          IA         51232                  6002               Various                                                                                                $1.59




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                                                                                                                                                  Last 4 Digits of     Date Debt was
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              Creditor Name                 Address1              Address2         Address3             City        State         Zip    Country     Number                Claim                                                                             Total Claim
JIMCO LAMP & MANUFACTURING CO    PO BOX 207264                                                  DALLAS           TX         75320-7264           9500                Various                                                                                        $285,323.44
JIMILYN HUBBARD                  2054 S SHOSHONE ST                                             BOISE            ID         83705                6002                Various                                                                                              $9.18
JIMMIE BIVINS                    1220 PERSHING STREET                                           EAU CLAIRE       WI         54703                6004                Various                                                                                              $2.00
JIMMIE ROGERS                    PO BOX 20                                                      AHSAHKA          ID         83520                6002                Various                                                                                              $1.15
JIMMIE SMACK                     510 HOME RD APT 6                                              JUNEAU           WI         53039                6002                Various                                                                                              $4.30
JIMMY BATDORF                    3601 COLLEGE VIEW RD SE                                        ROCHESTER        MN         55904                6004                Various                                                                                              $3.00
JIMMY CAPPS                      3947 NE VISTA DEL RAY DR                                       EAST WENATCHEE   WA         98802                6004                Various                                                                                             $16.00
JIMMY I REED                     1000 S EASTVIEW DR                                             TUSCOLA          IL         61953                6002                Various                                                                                              $3.89
JIMMY JOHNS #2678                3680 BROOKS ST                                                 MISSOULA         MT         59801                3005                Various                                                                                             $95.50
JIMMY JOHNSON                    8629 HIDDEN VALLEY RD                                          MARIBEL          WI         54227                6004                Various                                                                                              $2.00
JIMMY MACDONALD                  3981 MT HIGHWAY 13                                             WOLF POINT       MT         59201                6002                Various                                                                                              $1.97
JIMMY MENDOZA                    208 W WACO STREET                                              MARFA            TX         79843                6666                Various                                                                                            $188.10
JIMMY RAY DEFILLIPPI             2333 BERKLEY RD                                                DE PERE          WI         54115                6002                Various                                                                                              $1.67
JIMMY SHAUL                      PO BOX 188, 410 NEBRASKA                                       BASSETT          NE         68714                6002                Various                                                                                              $1.97
JIMMY WALLACE                    2431 HAYES AVE.                                                RACINE           WI         53405                6004                Various                                                                                             $13.98
JIMMY WOLTMAN                    2867 AGDAN WOODS DR.                                           GREEN BAY        WI         54313                6004                Various                                                                                             $10.00
JINA KAY BELNAP                  966 E 800TH N                                                  SHELLEY          ID         83274                6002                Various                                                                                              $5.53
JIOVANI MARES                    20 LOWER PLEASANT                                              PAYETTE          ID         83661                6004                Various                                                                                              $3.65
                                 N53 W21747 TAYLORS WOODS
JIVIBEN KUMBHANI                 DR                                                             MENOMONEE FALLS WI          53051                  6002              Various                                                                                             $9.81
                                                              89319 COBURG RD
JIYUNG KANG                      90 COMMON DR APT 20          97408                             EUGENE           OR         97401                 6004               Various                                                                                          $108.57
JJS LAWN CARE INCORPORATED       1077 SUNRISE TRAIL                                             SIOUX CENTER     IA         51250                 5619               Various                                                                                            $82.45
JLAB AUDIO DBA PEAG LLC          17950 PRESTON ROAD STE 360                                     DALLAS           TX         75252-0000            4412               Various                                                                                       $255,322.35
J-MEC                            900 AMERICAN WAY                                               LAKE MILLS       WI         53551                                    Various                                                                                         $4,891.08
JNEYA FRANCE                     1516 W LAWRENCE ST                                             APPLETON         WI         54914                 6002               Various                                                                                             $0.66
JO ANN BELLING                   1321 W LINDBERGH STREET                                        APPLETON         WI         54914                 6002               Various                                                                                            $13.24
JO ANN MEIDINGER                 731 CHURCHHILL                                                 EAU CLAIRE       WI         54703                 6004               Various                                                                                            $10.24
JO BONURA                        23591 HIGHWAY 11                                               PIERCE           ID         83546                 6002               Various                                                                                             $0.74
JO M HEINER                      994 COUNTY ROAD 123                                            BEDFORD          WY         83112                 6002               Various                                                                                             $1.40
JO SANDERS                       515 ERROBO                                                     ALLIANCE         NE         69301                 6002               Various                                                                                             $3.81
JO VISS                          22 OLD HIGHWAY 85                                              NEWCASTLE        WY         82701                 6002               Various                                                                                             $1.21
JO ZUMWALT                       109 SOUTH CENNTENIAL ROAD                                      MOXEE            WA         98936                 6004               Various                                                                                             $4.00
JOAN A HANSEN                    5117 TURNER AVE                                                MADISON          WI         53716                 6002               Various                                                                                             $0.63
JOAN ACKLING                     38352 N LITTLE MCDONALD DR                                     FRAZEE           MN         56544                 6002               Various                                                                                             $0.68
JOAN ALT                         S12851 MONUMENT RD                                             SPRING GREEN     WI         53588                 6004               Various                                                                                             $5.40
JOAN ARFT                        1555 LYON DR APT 219                                           NEENAH           WI         54956                 6002               Various                                                                                             $9.64
JOAN BALDWIN                     5115 HINMAN DR                                                 CASHMERE         WA         98815                 6002               Various                                                                                             $0.47
JOAN BEINING                     5178 CTY ROAD PP                                               DE PERE          WI         54115                 6002               Various                                                                                             $2.88
JOAN BERG                        PO BOX 2136                                                    LIVINGSTON       MT         59047                 6002               Various                                                                                             $6.30
JOAN BEST                        2019 W 5TH ST                                                  SIOUX CITY       IA         51103                 6002               Various                                                                                             $1.67
JOAN DEURLOO                     11 DEURLOO LN                                                  SALMON           ID         83467                 6002               Various                                                                                             $1.07
JOAN ECKHOFF                     575 N MAPLE ST APT A                                           ELLSWORTH        WI         54011                 6002               Various                                                                                             $1.01
JOAN EMDEN                       8303 ATTIC ANGELS CIRCLE                                       MADISON          WI         53717                 6002               Various                                                                                             $4.16
JOAN ERICKSON                    1716 MINNESOTA ST                                              OSHKOSH          WI         54902                 6002               Various                                                                                            $10.00
JOAN ESTLUND                     903 WALLER ST                                                  CHARLES CITY     IA         50616                 6004               Various                                                                                            $10.00
JOAN FISH                        116 S ONEIDA AVE                                               RHINELANDER      WI         54501                 6002               Various                                                                                             $7.40
JOAN FLOOD                       110 FOREST GTWY                                                CRYSTAL FALLS    MI         49920                 6002               Various                                                                                             $3.42
JOAN FOX                         N5933 HIGHWAY 63                                               ELLSWORTH        WI         54011                 6002               Various                                                                                             $1.18
JOAN GILBERT                     1125 ORLIN DR                                                  IDAHO FALLS      ID         83404                 6002               Various                                                                                             $0.55
JOAN HAAG                        3515 N BLUEMOUND DR                                            APPLETON         WI         54914                 6002               Various                                                                                             $0.41
JOAN HENDRICK                    1326 AVON ST                                                   LA CROSSE        WI         54603                 6002               Various                                                                                             $0.66
JOAN IPPOLITE                    3330 RENEE DR                MILESTONE                         EAU CLAIRE       WI         54701                 6004               Various                                                                                            $48.79
JOAN JACKSON                     1406 BRUCE LANE                                                GREEN BAY        WI         54313                 6004               Various                                                                                            $36.40




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JOAN JUNTUNEN                PO BOX 34                                                   PLANKINTON       SD           57368                  6004              Various                                                                                                $7.85
                                                      431 MADISON
JOAN KANTER                  APT 4                    STREET                             REEDSVILLE       WI           54230                    6002            Various                                                                                                $4.16
JOAN L. DAVIS                3951 NICKLAUS DR                                            COEUR D'ALENE    ID           83814                    6002            Various                                                                                                $1.42
JOAN LESIK                   5025 1/4 ST                                                 NEW AUBURN       WI           54757                    6002            Various                                                                                                $1.34
JOAN LILLIAN JONES           539 E 1200TH N                                              SHELLEY          ID           83274                    6002            Various                                                                                                $1.23
JOAN LYONS                   W23475 GLAUNERT LN                                          INDEPENDENCE     WI           54747                    6002            Various                                                                                                $6.99
JOAN MALTBY                  2124 S 23RD                                                 MANITOWOC        WI           54220                    6004            Various                                                                                               $30.00
JOAN MARIE PERRY             410 MARKET ST                                               LANDER           WY           82520                    6002            Various                                                                                                $7.92
JOAN MARTIN                  1115 PUTTER ST                                              ONEILL           NE           68763                    6002            Various                                                                                                $2.71
JOAN MULVEY                  2483 VAN LAKE CT                                            GREEN BAY        WI           54311                    6002            Various                                                                                               $11.45
JOAN NESVOLD                 314 E 6TH ST                                                ZUMBROTA         MN           55992                    6002            Various                                                                                               $10.00
JOAN PETERSEN                511 WASHINGTON ST E                                         ROCKWELL         IA           50469                    6002            Various                                                                                                $2.41
JOAN SCHMID                  31 UNION                                                    MOHAWK           MI           49950                    6004            Various                                                                                               $38.40
JOAN SCHULTZ                 W2862 SHOREWOOD COURT                                       WEST SALEM       WI           54669                    6002            Various                                                                                               $19.60
JOAN SIMON                   2116 MC CULLOCH ST # 2                                      STEVENS POINT    WI           54481                    6002            Various                                                                                                $1.95
JOAN STACH                   1318 N LAKE RD                                              APPLETON         WI           54913                    6004            Various                                                                                               $24.84
JOAN STENGER                 3416 18TH ST                                                COLUMBUS         NE           68601                    6002            Various                                                                                                $0.85
JOAN SWEENEY                 2730 CHAMBERS ST                                            SIOUX CITY       IA           51104                    6002            Various                                                                                                $7.21
JOAN V GOODHUE               N5958 CTY RD Z                                              WAUTOMA          WI           54982                    6002            Various                                                                                                $5.07
JOAN WEILAND                 3814 33RD ST S                                              LA CROSSE        WI           54601                    6002            Various                                                                                                $8.63
JOAN WILLIAMS                6611 RAILROAD AVE                                           OMAHA            NE           68107                    6004            Various                                                                                                $2.00
JOAN WILLSON                 221 MCKINLEY ST                                             LEWISTOWN        MT           59457                    6002            Various                                                                                               $14.86
JOAN WOOLETT                 SHEPHERDS WAY                                               LEWISTOWN        MT           59457                    6002            Various                                                                                               $26.40
JOANA THAYNE                 169 N 1000TH E                                              OREM             UT           84097                    6002            Various                                                                                                $9.75
JOANN ANDERSEN               1258 ANDERSEN RD                                            ARBON            ID           83212                    6002            Various                                                                                                $2.71
JOANN BEENEY                 7395 HUDSON RD SW                                           SOUTH BOARDMAN   MI           49680                    6002            Various                                                                                                $0.79
JOANN COCHRANE               1013 32ND ST                                                SIOUX CITY       IA           51104                    6004            Various                                                                                               $82.32
JOANN DAVIS                  W8752 US HWY 12                                             FORT ATKINSON    WI           53538                    6004            Various                                                                                               $30.00
JOANN DOMEIER                1198 FRANKLIN                                               COWELS           NE           68930                    6002            Various                                                                                                $2.38
JOANN F CURRAN               45650 SD HIGHWAY 106                                        SISSETON         SD           57262                    6002            Various                                                                                                $1.21
JOANN GIBLER                 1205 5TH STREET                                             ONAWA            IA           51040                    6004            Various                                                                                               $30.00
JOANN HALBACH                N10320 CTY TRUNK HWY G                                      NEW HOLSTIEN     WI           53061                    6002            Various                                                                                                $7.86
JOANN HERNANDEZ              1534 E STREET            APT 18                             LINCOLN          NE           68508                    6004            Various                                                                                                $2.00
JOANN JORGENSON              N 1875 LIND CENTER RD                                       WAUPACA          WI           54981                    6004            Various                                                                                                $1.00
JOANN JURADO                 810 NW 12TH PL                                              ANDREWS          TX           79714                    6002            Various                                                                                                $7.29
JOANN KEAIRNS                2612 WEST HILAND                                            SIOUX CITY       IA           51103                    6004            Various                                                                                               $50.00
JOANN KOERBER                5949 HEARTACHE RD                                           EAST HELENA      MT           59635                    6002            Various                                                                                                $0.68
JOANN M FRANCE               305 E AMELIA ST                                             CASSVILLE        WI           53806                    6002            Various                                                                                               $10.00
JOANN M MEYER                1719 PEPPER AVE                                             LINCOLN          NE           68502                    6002            Various                                                                                                $3.81
JOANN MCDANIEL               17003 BASEY ST.                                             MURPHY           ID           83650                    6004            Various                                                                                               $20.02
JOANN MEADE                  623 MICHIGAN ST                                             ISHPEMING        MI           49849                    6002            Various                                                                                                $3.61
JOANN PARKER                 1065 GREEN ACRES LANE                                       NEENAH           WI           54956                    6004            Various                                                                                               $25.00
JOANN PILGRIM                1818 CAMBRIDGE AVE                                          SHEBOYGAN        WI           53081                    6002            Various                                                                                                $5.78
JOANN ROSS                   4020 B STREET                                               LINCOLN          NE           68510                    6004            Various                                                                                               $10.00
JOANN WILSON                 1848 W TOURST DR                                            COEUR D ALENE    ID           83815                    6004            Various                                                                                               $36.00
JOANN ZEIGER                 517 3RD AVE N                                               GLASGOW          MT           59230                    6002            Various                                                                                                $6.60
JOANNA D HOVORKA             BOX 4                                                       SPRAGUE          MB           R0A1Z         CANADA     6002            Various                                                                                               $10.00
JOANNA FERGUSON              430 NORTH C STREET                                          MONMOUTH         IL           61462                    6004            Various                                                                                               $26.00
JOANNA GUEVARA HERNANDEZ     920 S. WISCONSIN DRIVE                                      JEFFERSON        WI           53549                    6004            Various                                                                                                $3.00
JOANNA HASTINGS              201 ULM VAUGHN ROAD                                         GREAT FALLS      MT           59404                    6002            Various                                                                                               $45.85
JOANNA KAPOCIUS              2821 S WHEATFIELD DR                                        APPLETON         WI           54915                    6004            Various                                                                                                $1.00
JOANNA KIRTLAND              9957 KERANEN RD                                             MASS CITY        MI           49948                    6002            Various                                                                                                $4.44
JOANNA MARTIN                W844 COLBY FACTORY RD                                       COLBY            WI           54421                    6002            Various                                                                                                $1.18




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                                                                                                                                                                                          Contingent


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                                                                                                                                                 Last 4 Digits of     Date Debt was
                                                                                                                                                    Account         Incurred, Basis for
             Creditor Name                    Address1          Address2        Address3             City         State           Zip   Country     Number                Claim                                                                             Total Claim
JOANNA OLMOS                      1114 HARVEY ST.                                            GREEN BAY         WI         54302                 6004                Various                                                                                               $16.00
JOANNA SCHLICKEISER               2790 S 500TH W # 2                                         PERRY             UT         84302                 6002                Various                                                                                                $5.18
JOANNA STRICKLAND                 5441 OLD HWY 93 NO 5                                       FLORENCE          MT         59833                 6004                Various                                                                                                $3.00
JOANNA WALKER                     12730 FINLAY RD NE                                         SILVERTON         OR         97381                 6004                Various                                                                                               $35.00
JOANNE ASLESON                    1208 9TH STREET NE                                         ROCHESTER         MN         55906                 6004                Various                                                                                                $3.00
JOANNE CRISTE                     1017 MAIN ST                                               BROWNVILLE        NE         68321                 6002                Various                                                                                                $2.55
JOANNE DIETZMAN NORDBY            W10009 SOLDNER RD                                          REESEVILLE        WI         53579                 6004                Various                                                                                                $2.06
JOANNE FAST                       6612 EVANS ST                                              OMAHA             NE         68104                 6002                Various                                                                                                $5.67
JOANNE FELTON                     N237 RANDYS LN                                             APPLETON          WI         54915                 6002                Various                                                                                                $1.04
JOANNE FLEGIEL                    15119 N 18TH ST                                            LUTZ              FL         33549                 6002                Various                                                                                                $1.92
JOANNE HOFFNER                    N8015 ELSER DR                                             BEAVER DAM        WI         53916                 6004                Various                                                                                               $35.00
JOANNE HUERKAMP                   1618 N ST                                                  LACROSSE          WI         54603                 6002                Various                                                                                                $2.49
JOANNE K BOSBEN                   216 DOROW AVE                                              EDGERTON          WI         53534                 6002                Various                                                                                                $9.10
JOANNE M SENNOTT                  1311 LILY AVE                                              WEST BEND         WI         53090                 6002                Various                                                                                                $4.79
JOANNE POGUE                      4930 W LAREDO CIR                                          WEST VALLEY CIT   UT         84120                 6002                Various                                                                                                $1.62
JOANNE SANCHEZ                    264 S 800TH W                                              PAYSON            UT         84660                 6002                Various                                                                                                $8.90
JOANNE SCHMIDT                    815 WASHINGTON ST UNIT 202                                 GRAFTON           WI         53024                 6002                Various                                                                                                $6.88
JOANNE SEVERUDE                   2111 4TH AVE                                               CHETEK            WI         54728                 6004                Various                                                                                               $25.00
JOANNE SMALLWOOD                  3576 W HIGHWAY 36                                          SEARCY            AR         72143                 6002                Various                                                                                                $7.32
JOANNE STACKHOUSE                 20332 AVALANCHE RD                                         WHITEWOOD         SD         57793                 6002                Various                                                                                                $1.92
JOANNE VOELKER                    11316 CARMEL CHACE DR                                      CHARLOTTE         NC         28226                 6002                Various                                                                                                $4.88
JOANNE WAIN                       540 SUGAR CREEK RD APT 11                                  DELAVAN           WI         53115                 6002                Various                                                                                                $1.26
JOANNE WENNER                     321 CLEVELAND ST                                           GREEN BAY         WI         54303                 6002                Various                                                                                                $0.66
JOANNE WESENBERG                  BOX 145 319 PINE                                           GRANTON           WI         54436                 6002                Various                                                                                                $2.99

JOANNE YOO                        2715 MARSHALL COURT APT 220                                MADISON           WI         53705                  6004               Various                                                                                            $25.00
JOANNE ZUPANC                     W1596 DOVE ROAD                                            LOYAL             WI         54446                  6004               Various                                                                                            $66.24
JOAO OLIVEIRA                     102 E 500TH S                                              KAYSVILLE         UT         84037                  6002               Various                                                                                             $6.19
JOAO PEDRO VIEIRA                 207 5TH AVE S                                              CLINTON           IA         52732                  6002               Various                                                                                             $8.60
JOAQUIN DIVINEY                   284 COUNTY ROAD 558                                        POPLAR BLUFF      MO         63901                  6002               Various                                                                                             $4.85
JOAQUIN MONTERO                   202 1ST ST SW                                              HAMPTON           IA         50441                  6002               Various                                                                                             $0.60
JOAQUIN NIEVES                    309 WEST HEDDE APT 21                                      GRAND ISLAND      NE         68801                  6004               Various                                                                                            $14.98
JOB HERNANDEZ                     1365 PAUL                                                  IDAHO FALLS       ID         83401                  6004               Various                                                                                             $5.00
JOBI DONIS                        4110 N 67TH ST                                             LINCOLN           NE         68505                  6004               Various                                                                                             $2.00
JOBSON MEDICAL INFORMATION LLC    PO BOX 28863                                               NEW YORK          NY         10087-8863             1947               Various                                                                                         $6,140.00
JOCELYN ANDREAS                   2814TH AVE                                                 NEW GLARUS        WI         53574                  6004               Various                                                                                             $6.70
JOCELYN IBARRA                    401 S 5TH STREET                                           MARSHALL          MN         56258                  6004               Various                                                                                            $13.00
JOCELYN TEMPLETON                 1717 9TH ST                                                RAPID CITY        SD         57701                  6004               Various                                                                                            $25.13
JODEE SMITH                       N2296 HIGHWAY 13                                           MEDFORD           WI         54451                  6002               Various                                                                                             $1.37
JODEEN POPP                       743 N THOMPSON DR APT 101                                  MADISON           WI         53704                  6002               Various                                                                                             $2.49
JODELL PRINCE                     26570 PACKARD ST NE                                        ISANTI            MN         55040                  6002               Various                                                                                             $1.62
JODELLE STEELE                    5971 CEDAR ST                                              NORTH BRANCH      MN         55056                  6002               Various                                                                                             $1.23
JODENE STALP                      1776 L RD                                                  WEST POINT        NE         68788                  6002               Various                                                                                             $2.38
JODI BARNEY                       2125 W 5TH ST                                              SIOUX CITY        IA         51103                  6002               Various                                                                                             $7.59
JODI BARTELS                      222 8TH ST SE                                              SIDNEY            MT         59270                  6002               Various                                                                                             $2.85
JODI BETH HULKE                   943 E FRANCES ST                                           APPLETON          WI         54911                  6002               Various                                                                                             $6.19
JODI BIRKY-BROUSSEAU              700 NORTH HILLTOP RD.                                      COLUMBIA FALLS    MT         59912                  6004               Various                                                                                            $15.00
JODI BUTINA                       W3298 COUNTY ROAD Y                                        JEFFERSON         WI         53549                  6004               Various                                                                                            $15.00
JODI DECKER                       377 CHAPIN ST                                              COLUMBUS          WI         53925                  6004               Various                                                                                            $17.85
JODI DVORAK                       N4542 PIKES PEAK RD                                        BRANTWOOD         WI         54513                  6002               Various                                                                                             $2.22
JODI FLUGEL                       PO BOX 324                                                 MOUNTAIN VIEW     WY         82939                  6002               Various                                                                                             $8.30
JODI HACKER                       W3196 CREEKVIEW LN                                         APPLETON          WI         54915                  6002               Various                                                                                             $9.64
JODI HALLINGSTAD                  106 GOLD STRIKE COURT                                      CALDWELL          ID         83607                  6004               Various                                                                                             $1.02
JODI HANNA                        1879 22 3/4 STREET                                         RICE LAKE         WI         54868                  6004               Various                                                                                            $80.00




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                                                                                                                                                 Last 4 Digits of     Date Debt was
                                                                                                                                                    Account         Incurred, Basis for
              Creditor Name                Address1            Address2         Address3             City         State           Zip   Country     Number                Claim                                                                             Total Claim
JODI HASSE                     110 Q ST                                                      LINCOLN           NE         68508                 6002                Various                                                                                                $2.19
JODI HEITBRINK                 19 SUNSET DR                                                  JACKSONVILLE      IL         62650                 6002                Various                                                                                                $1.97
JODI HUCKSTEP                  352 N MILL ST                                                 SAUKVILLE         WI         53080                 6002                Various                                                                                                $4.63
JODI JOHNSON                   2013RD STREET SE                                              WATERTOWN         SD         57201                 6004                Various                                                                                               $20.79
JODI KOMEOTIS                  1321 7TH ST S APT 301                                         GREAT FALLS       MT         59405                 6002                Various                                                                                                $6.47
                               N74 W13737 APPLETON AVENUE
JODI KUBEK                     UNIT 308                                                      MENOMONEE FALLS   WI         53051                  6004               Various                                                                                               $52.49
JODI LEGGETT                   2211 87TH ST SO                                               WIS RAPIDS        WI         54494                  6002               Various                                                                                                $9.53
JODI LOYOLA                    2585 FILMORE AVE                                              TUCUMCARI         NM         88401                  6004               Various                                                                                               $42.00
JODI LUEBBE                    2602 MERGANSER WAY                                            WAUSAU            WI         54401                  6004               Various                                                                                               $15.00
JODI LUNDGREN                  309 N MEYER LN                                                SIOUX FALLS       SD         57103                  6002               Various                                                                                                $9.07
JODI MADEL                     3905 COUNTY RD II          LOT 15                             LARSEN            WI         54947                  6004               Various                                                                                               $10.00
JODI MORALES                   5123 SO 130TH ST                                              OMAHA             NE         68137                  6004               Various                                                                                               $31.49
JODI MOREAU                    4120 NORTH AVE WEST                                           MISSOULA          MT         59804                  6004               Various                                                                                               $13.00
JODI PORTER                    108 W 5750TH S                                                MURRAY            UT         84107                  6002               Various                                                                                                $0.41
JODI ROESLER                   W2898 STATE ROAD 33                                           LA CROSSE         WI         54601                  6002               Various                                                                                                $7.34
JODI SPONG                     1679 APALOUSA ROAD                                            MOSCOW            ID         83843                  6004               Various                                                                                               $10.00
JODI TESSMER                   2303 RADTKE AVE                                               WESTON            WI         54476                  6004               Various                                                                                               $23.00
JODI YAKOWICZ                  6002 EAST DR                                                  LOVES PARK        IL         61111                  6004               Various                                                                                               $10.00
JODI YOUNG                     903 N SPRING ST                                               GLADWIN           MI         48624                  6002               Various                                                                                                $0.85
JODIE COVEY                    1409 16TH AVE                                                 CLARKSTON         WA         99403                  6002               Various                                                                                                $7.56
JODIE FRENCH                   8312 75TH ST NE                                               FOLEY             MN         56329                  6002               Various                                                                                                $0.77
JODIE JANTZ                    4115 CLIFFORD DR                                              LINCOLN           NE         68506                  6004               Various                                                                                               $20.00
JODIE KIRBY                    1617 RANDOLPH RD #8                                           JANESVILLE        WI         53545                  6004               Various                                                                                               $37.50
JODIE LARSON                   1400 PRESCOTT ST                                              SIOUX CITY        IA         51103                  6002               Various                                                                                                $7.34
JODIE LENHART                  818 3RD ST                                                    CHETEK            WI         54728                  6004               Various                                                                                               $25.00
JODIE PFINGSTEN                2023 RIDGEWAY RD                                              MONROE            WI         53566                  6002               Various                                                                                                $7.29
JODIE SCHIRMER                 W5789 SUGAR MAPLE LN                                          TOMAHAWK          WI         54487                  6002               Various                                                                                                $0.99
                               1411 OTTER RD C/O SHANNON
JODIE THURMAN                  GONGORA                                                       HELENA            MT         59602                  6004               Various                                                                                                $2.00
JODIE VENDITTI                 1211 W PALMER ST                                              FREEPORT          IL         61032                  6002               Various                                                                                                $2.03
JODY ANDERSON                  N1941 COUNTY ROAD A                                           FORT ATKINSON     WI         53538                  6002               Various                                                                                                $0.58
JODY BAILS                     BOX 172                                                       EXIRA             IA         50076                  6002               Various                                                                                                $2.55
JODY BICKELHAUPT               225 SOUTH STATE ST                                            BERLIN            WI         54923                  6004               Various                                                                                                $4.00
JODY BORER                     2718 NORTH 49TH AVE                                           OMAHA             NE         68104                  6004               Various                                                                                               $63.97
JODY BRITT                     2386 ODESSA AVE                                               NEW HAMPTON       IA         50659                  6002               Various                                                                                                $2.71
JODY COOLEY                    160 RIVERVIEW DR                                              KALISPELL         MT         59901                  6002               Various                                                                                                $8.96
JODY COTE                      50702 230TH ST                                                SALOL             MN         56756                  6002               Various                                                                                                $0.41
JODY ECKSTEIN                  909 MC KINLEY AVE APT 2                                       BELVIDERE         IL         61008                  6004               Various                                                                                                $3.75
JODY FORD                      475 CHICKADEE DR                                              POCATELLO         ID         83202                  6002               Various                                                                                                $5.23
JODY HOROUNZIAK                12895 CTY HWY H                                               STANLEY           WI         54768                  6002               Various                                                                                                $6.14
JODY KETTUNEN                  3873 GOLDENSPIKE LN                                           GREEN BAY         WI         54313                  6002               Various                                                                                               $10.00
JODY KLEIN                     395 WAKEMAN CIR                                               LAKE MILLS        WI         53551                  6004               Various                                                                                               $63.00
JODY KOTT                      13211 HIGHWAY 42                                              NEWTON            WI         53063                  6002               Various                                                                                                $7.15
JODY L WRIGHT                  2010 QUARREYVIEW LN                                           OSAGE             IA         50461                  6002               Various                                                                                                $5.97
JODY L. ACKERMAN               924 9TH CURV                                                  ABERDEEN          SD         57401                  6002               Various                                                                                                $1.18
JODY LAHR                      1384 TAMMY RD                                                 OSHKOSH           WI         54904                  6002               Various                                                                                                $8.71
JODY LAYMON                    1460 AVE T                                                    STERLING          KS         67579                  6002               Various                                                                                                $5.95
JODY MAHLBERG                  505 MAIN ST                                                   EARLING           IA         51530                  6002               Various                                                                                                $5.75
JODY REAMER                    210 E DIVISION ST                                             WATERTOWN         WI         53098                  6002               Various                                                                                                $3.48
JODY RENIKOW                   W3463 RENIKOW RD                                              WAUSAUKEE         WI         54177                  6002               Various                                                                                                $8.74
JODY RIESSNER                  704 8TH ST                                                    MOSINEE           WI         54455                  6002               Various                                                                                                $0.79
JODY ROBINSON                  220 SHIRE ROAD N                                              WATKINS           MN         55389                  6004               Various                                                                                                $9.40
JODY SHORT                     25627 S LOFFS BAY RD                                          COEUR D ALENE     ID         83814                  6002               Various                                                                                                $1.29




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                                                                                                                                                  Account         Incurred, Basis for
             Creditor Name               Address1              Address2         Address3             City       State           Zip   Country     Number                Claim                                                                             Total Claim
JODY STENE                    18318 CTY RD # 33                                              WANNASKA        MN         56761                 6002                Various                                                                                                $5.18
JODY WERNER                   N1250 CTY RD CC                                                MAIDEN ROCK     WI         54022                 6002                Various                                                                                                $7.64
JODY WESTLUND                 2409 HEATHER CT                                                GREEN BAY       WI         54311                 6002                Various                                                                                                $8.47
JODY WIGGINS                  928 S LINCOLN ST APT 7                                         ABERDEEN        SD         57401                 6002                Various                                                                                                $4.30
JOE BACKES                    N8140 BIG PINE LN                                              IRMA            WI         54442                 6002                Various                                                                                                $1.12
JOE BECKSTRAND                150 W SCHOOL ST APT 323                                        SHARON          WI         53585                 6002                Various                                                                                               $10.00
JOE BOTZET                    N1280 MANITOWOC RD                                             GREEN BAY       WI         54311                 6002                Various                                                                                                $9.86
JOE COOK                      410 WEST PLEASANT APT. 2                                       MANKATO         MN         56001                 6004                Various                                                                                                $3.00
JOE CROCKFORD                 19119 GAMMON RD                                                VALE            SD         57788                 6002                Various                                                                                                $4.47
JOE DITTMAR                   15492 WEST STEEF ROAD                                          LENA            IL         61048                 6004                Various                                                                                               $17.95
JOE DOMINA                    220 S SONORA AVE APT 6                                         NEWCASTLE       WY         82701                 6002                Various                                                                                                $1.40
JOE E ROCHE                   N3504 ROCHE RD                                                 COLUMBUS        WI         53925                 6002                Various                                                                                                $1.04
JOE EVERHART                  2733 280TH ST                                                  BLOCKTON        IA         50836                 6002                Various                                                                                                $0.58
JOE FROST                     3134 27TH ST S                                                 LA CROSSE       WI         54601                 6002                Various                                                                                                $0.30
JOE GARCIA                    220 W 21ST AVE                                                 TORRINGTON      WY         82240                 6002                Various                                                                                                $5.45

JOE GARNER                    17183 UPPER RD # WHITE PMB O                                   UNION CENTER    SD         57787                  6002               Various                                                                                                $1.04
JOE GIESEN                    1047 EDGEWOOD DR                                               GREEN BAY       WI         54311                  6004               Various                                                                                                $8.00
JOE H BOURGE                  23218 E FORT MCPHERSON RD                                      BRADY           NE         69123                  6002               Various                                                                                               $10.00
JOE HENNEN                    2315 DEERFIELD DR.                                             WEST BEND       WI         53090                  6004               Various                                                                                               $20.00
JOE J JAURE                   144 CAPITOL ST                                                 LANDER          WY         82520                  6002               Various                                                                                                $6.22
JOE MARLER                    5805 MACLAEY RD SE                                             SALEM           OR         97317                  6004               Various                                                                                               $70.40
JOE MORALES                   2725 SANT FE TRL             APT 1                             RACINE          WI         53404                  6004               Various                                                                                                $3.00
JOE MORGAN                    PO BOX 83                                                      BLOOMFIELD      IA         52537                  6002               Various                                                                                                $6.52
JOE OLIGMUELLER               1239 H RD                                                      WEST POINT      NE         68788                  6002               Various                                                                                                $9.10
JOE POTTS                     1760 N STAGECOACH DR                                           POST FALLS      ID         83854                  6002               Various                                                                                                $6.77
JOE S MARUSARZ                2309 E E ST                                                    TORRINGTON      WY         82240                  6002               Various                                                                                                $0.82

JOE SCHAFFER                  N59W24050 CLOVER DR APT 210                                    SUSSEX          WI         53089                  6002               Various                                                                                             $8.93
JOE THOMPSON                  35576 SUNNYSIDE BENCH RD                                       LENORE          ID         83541                  6002               Various                                                                                             $1.15
JOE THREET                    2228 SHADOW CANYON RD                                          HUNTLEY         MT         59037                  6002               Various                                                                                             $1.66
JOE TIMMERMAN                 21 B ST                                                        ONEILL          NE         68763                  6002               Various                                                                                             $3.42
JOE WALKER                    146 N BERNARD ST                                               POWELL          WY         82435                  6002               Various                                                                                             $9.07
JOE WYNN                      PO BOX 1598                                                    OROFINO         ID         83544                  6002               Various                                                                                             $3.26
JOEKEO-JOAQUIN MANIBUSAN      5057 E FESCUE ST                                               BOISE           ID         83716                  6004               Various                                                                                            $80.00
JOEL BROWN                    15476 PEQUAMING RD                                             L'ANSE          MI         49946                  6004               Various                                                                                           $144.00
JOEL C SMITH                  333 FRENCH CREEK RD                                            BUFFALO         WY         82834                  6002               Various                                                                                             $5.45
JOEL CRETNEY                  5841 WOODS EDGE ROAD                                           FITCHBURG       WI         53711                  6004               Various                                                                                             $1.01
JOEL EVENSON                  83105 425TH ST                                                 BIRD ISLAND     MN         55310                  6002               Various                                                                                             $6.66
JOEL FAIRBOURN                3826 S. 4200 W.                                                WEST HAVEN      UT         84401                  6004               Various                                                                                            $24.00
JOEL FREIMUTH                 1225 SMITH AVE                                                 WORTHINGTON     MN         56187                  6002               Various                                                                                             $0.27
JOEL FRISCH                   1562 MANDERLY WAY #7                                           GREEN BAY       WI         54311                  6004               Various                                                                                             $6.60
JOEL GARCIA                   4819 W GROVER                                                  BOISE           ID         83705                  6004               Various                                                                                            $34.96
JOEL GRODE                    17502 435TH AVE                                                HENRY           SD         57243                  6002               Various                                                                                             $3.29
JOEL GUERRERO                 262 EMERSON ST                                                 CHULA VISTA     CA         91911                  6002               Various                                                                                             $6.60
JOEL HECKENDORF               W7233 MOONLIGHT DR                                             GREENVILLE      WI         54942                  6002               Various                                                                                             $4.30
JOEL MARSHALL                 805 W AUBERRY GRV                                              JAMESPORT       MO         64648                  6002               Various                                                                                             $3.86
JOEL MIRON                    1945 KANE LN                                                   GREEN BAY       WI         54311                  6002               Various                                                                                             $6.27
JOEL NIETO ROJAS              300 FISCHER ST TRLR 3                                          UNITY           WI         54488                  6002               Various                                                                                             $8.66
JOEL PETERSEN                 4540 ZINNIA AVE                                                DOUGHERTY       IA         50433                  6002               Various                                                                                             $4.47
JOEL POTTS                    W5183 HWY K K                                                  MONROE          WI         53566                  6004               Various                                                                                            $40.00
JOEL SANFORD                  603 W. BARAGA AVE.                                             HOUGHTON        MI         49931                  6004               Various                                                                                            $16.00
JOEL SCHAUER                  1018 LAUREL ST APT 214                                         MARSHFIELD      WI         54449                  6002               Various                                                                                             $0.27
JOEL SIRES                    181 ASPEN ST SE                                                NEW ALBIN       IA         52160                  6002               Various                                                                                             $6.85




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                                                                                                                                                                                                  Contingent


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                                                                                                                                                            Account         Incurred, Basis for
              Creditor Name                  Address1                 Address2         Address3             City          State           Zip   Country     Number                Claim                                                                             Total Claim
JOEL STANKIEWICZ                  117 DEMSEY RD                                                     MADISON            WI         53714                 6004                Various                                                                                                $2.00
JOEL STUEBER                      UNITY HOUSE 1215 4TH AVE                                          WORTHINGTON        MN         56187                 6004                Various                                                                                                $3.06
JOEL SUNDQUIST                    3875 CO RD CD                                                     ISHPEMING          MI         49841                 6002                Various                                                                                                $2.16
JOEL WELLNITZ                     37135 710TH AVE                                                   SAINT JAMES        MN         56081                 6002                Various                                                                                                $1.12
JOELLEN MADSEN                    N2945 170TH ST                                                    PLUM CITY          WI         54761                 6002                Various                                                                                               $10.00

JOELY TRACY                       3020 WASHINGTON ST                                                WISCONSIN RAPIDS   WI         54494                  6004               Various                                                                                                $1.00
JOENDA WEAVER                     1718 LULU ST                                                      TRENTON            MO         64683                  6002               Various                                                                                                $4.17
JOENELLE DRYDEN                   1136 12TH AVE                                                     LEWISTON           ID         83501                  6004               Various                                                                                               $50.00
JOESPH LEWIS                      1668 NO 980 W                                                     OREM               UT         84057                  6004               Various                                                                                               $23.00
JOEY CASTILLO                     504 MILLER AVE                                                    LAYTON             UT         84041                  6002               Various                                                                                                $6.33
JOEY DYE                          4838 SOUTH WHITMORE WAY                                           BOISE              ID         83709                  6004               Various                                                                                                $5.40
JOEY GILL                         E2530 SPENCER LAKE RD                                             WAUPACA            WI         54981                  6002               Various                                                                                                $1.15
JOEY LOEWEN                       1705 JONES ST                                                     PERRY              IA         50220                  6002               Various                                                                                                $1.15
JOEY MASON                        218 W PINE ST                                                     SISSETON           SD         57262                  6002               Various                                                                                                $8.14

JOEY MORIN                        4104 CENTRAL AVE BLD H APT 5                                      GREAT FALLS        MT         59405                  6002               Various                                                                                                $0.41
JOEY WOOD                         2062 FOOT HILL RD                                                 KALISPELL          MT         59901                  6004               Various                                                                                                $6.00
JOHAN SABUCO                      1438 S 50 W                                                       FARMINGTON         UT         84025                  6004               Various                                                                                                $8.02
JOHANA BLOMENKAMP                 1647 PENINSULA LOOP RD                                            PRIEST RIVER       ID         83856                  6004               Various                                                                                               $24.12
JOHANNA FISCHER                   1405 OCONOMOWOC AVE            APT 2                              WATERTOWN          WI         53094                  6004               Various                                                                                                $8.00
JOHANNA GREGORY                   2306 N 6TH ST                  APT B                              WAUSAU             WI         54403                  6004               Various                                                                                                $1.00
JOHANNA H VERMEER                 2501 6TH ST FIELDCREST # 1                                        SHELDON            IA         51201                  6002               Various                                                                                                $7.75
JOHANNA KLOKE                     ST JOES                                                           WEST POINT         NE         68788                  6002               Various                                                                                                $2.55
JOHANNAH MAYHEW                   901 CANDICE ST                                                    VALENTINE          NE         69201                  6002               Various                                                                                                $3.12
JOHANNES NIELSEN                  2150 WEST LAWN AVE.                                               MADISON            WI         53711                  6004               Various                                                                                               $59.00
JOHN (ERIC) LARSON                2362 25TH ST                                                      RICE LAKE          WI         54868                  6002               Various                                                                                                $9.97
JOHN (MIKE) WILLIAMS              6523 S EDGEWATER DR                                               BELOIT             WI         53511                  6002               Various                                                                                                $4.79
JOHN A BIGELOW                    906 NORTHERN SANDS PL                                             ONALASKA           WI         54650                  6002               Various                                                                                                $9.23
JOHN A GONZALES                   502 LEWIS AVE                                                     BILLINGS           MT         59101                  6002               Various                                                                                                $8.60
JOHN A HAMILTON                   900 GRANITE LOOP RD                                               COEUR D'ALENE      ID         83814                  6002               Various                                                                                                $3.51
JOHN A KAY                        N4405 KAY RD                                                      KEWAUNEE           WI         54216                  6002               Various                                                                                                $2.22
JOHN A MERRITT                    240 LINCOLN ST                                                    EVANSVILLE         WI         53536                  6002               Various                                                                                                $6.16
JOHN A MURPHY                     219 LAKE POINTE DR                                                OSHKOSH            WI         54904                  6002               Various                                                                                                $4.44
JOHN A ODOM                       RR 2 BOX 3465                                                     DONIPHAN           MO         63935                  6002               Various                                                                                                $2.16
JOHN A. WILSON                    150 SHADY LN SPC 412                                              KALISPELL          MT         59901                  6002               Various                                                                                                $6.19
JOHN AALGAARD                     1639 MAURINE ST                                                   BILLINGS           MT         59105                  6002               Various                                                                                                $4.03
JOHN ADAMS                        PO BOX 273                                                        MELSTONE           MT         59054                  6002               Various                                                                                                $8.33
JOHN ADDIS                        539 E 650TH S                                                     OREM               UT         84097                  6002               Various                                                                                                $7.12
JOHN ALBIN                        8204 TEMPLETON DR                                                 OMAHA              NE         68134                  6002               Various                                                                                                $8.30
JOHN ANDERSON                     847 JENSEN                                                        IDAHO FALLS        ID         83401                  6004               Various                                                                                               $21.34
JOHN ARMBRUSTER                   1840 N PROSPECT AVE APT 919                                       MILWAUKEE          WI         53202                  6002               Various                                                                                                $1.42
JOHN AUSTIN                       825 SILVER LAKE DR. NE                                            ROCHESTER          MN         55906                  6004               Various                                                                                                $3.00
                                                                 1703 RANDALL
JOHN B SANFILIPPO & SON INCORP    VICE PRESIDENT OF SALES        ROAD                               ELGIN              IL         60123                  8946               Various                                                                                        $34,195.20
JOHN BARRY                        C/O DORIS BARRY                1112 E BRYD ST                     APPLETON           WI         54911                  6002               Various                                                                                             $0.36
JOHN BARTON                       137 LOST CREEK RD                                                 THAYNE             WY         83127                  6002               Various                                                                                             $6.33
JOHN BEAULIEU                     1056 LAKE GENEVA BLVD                                             LAKE GENEVA        WI         53147                  6004               Various                                                                                             $4.00
JOHN BECKINGHAM                   1123 S GALENA AVE                                                 DIXON              IL         61021                  6002               Various                                                                                             $6.55
JOHN BEEMAN                       605 KELLOGG AVE                APT 3                              JANESVILLE         WI         53546                  6004               Various                                                                                             $2.00
JOHN BEHRENS                      516 S 3RD STREET                                                  DELAVAN            WI         53115                  6004               Various                                                                                            $41.71
JOHN BELONGIA                     849 E BYRD ST                                                     APPLETON           WI         54911                  6002               Various                                                                                             $6.90
JOHN BELT                         420 1ST ST NE                                                     PRIMGHAR           IA         51245                  6002               Various                                                                                             $6.44
JOHN BELVEDERE                    146 BULLARD ST                                                    POPLAR GROVE       IL         61065                  6004               Various                                                                                            $20.00




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JOHN BENNETT                   C/O 310 SUNNYVIEW LANE                                      KALISPELL          MT         59901                 6004                Various                                                                                             $5.89
JOHN BERENDSEN                 1131 FOREST GRV                                             GREEN BAY          WI         54313                 6002                Various                                                                                             $7.62
JOHN BLAKE                     1102 W 7TH AVE                                              OSHKOSH            WI         54902                 6004                Various                                                                                             $2.00
JOHN BLOSSOM                   6420 PAYNES POINT RD.                                       NEENAH             WI         54956                 6004                Various                                                                                             $2.00
JOHN BORGELT                   POB 394                                                     WISNER             NE         68791                 6002                Various                                                                                            $16.64
JOHN BOWDIN                    N3388 SCHACHT RD                                            MARINETTE          WI         54143                 6002                Various                                                                                            $54.64
JOHN BRADY                     701 MANGUM RD                                               MARQUETTE          MI         49855                 6002                Various                                                                                             $3.42
JOHN BRANDT                    372B ARBOR DR                                               JUNEAU             WI         53039                 6002                Various                                                                                             $7.23
JOHN BRELAND                   5514 E. 15TH AVE.                                           SPOKANE            WA         99212                 6004                Various                                                                                            $20.00
JOHN BRIESE                    2217 BALSAM CT SW                                           ROCHESTER          MN         55902                 6002                Various                                                                                             $8.11
JOHN BROUGHTON                 N5681 EVENSON RD                                            WEST SALEM         WI         54669                 6002                Various                                                                                             $1.56
JOHN BUNNOW                    504 PEBBLESTONE CIRCLE                                      ONEIDA             WI         54155                 6004                Various                                                                                            $25.00
JOHN BURGER                    706 VINE ST                                                 ALBANY             WI         53502                 6002                Various                                                                                             $7.75
JOHN BUSBY                     10900 BUTLER CREEK RD                                       MISSOULA           MT         59808                 6002                Various                                                                                             $9.23
JOHN C BLILER                  603 BRASSEY ST APT 120                                      LEWISTOWN          MT         59457                 6002                Various                                                                                             $9.29
JOHN C DREHMEL                 25292 HIGHWAY # O                                           CADOTT             WI         54727                 6002                Various                                                                                             $6.52
JOHN C ERICKSON                BOX 1057                                                    AFTON              WY         83110                 6002                Various                                                                                             $8.11
JOHN C L HEFFRON               1715 E LAKESIDE AVE                                         COEUR D ALENE      ID         83814                 6002                Various                                                                                             $1.26
JOHN C TURNER                  1600 BRIGGS ST                                              STEVENS POINT      WI         54481                 6002                Various                                                                                             $6.58
JOHN CAMERON                   5342 W DELFINA CT                                           WEST VALLEY CITY   UT         84120                 6002                Various                                                                                             $3.33
JOHN CAMPBELL                  2425 FOREST MANOR CT                                        NEENAH             WI         54956                 6002                Various                                                                                             $1.07
JOHN CANTRELL III              332 BRADLEY AVE                                             DELAVAN            WI         53115                 6004                Various                                                                                             $1.00
JOHN CHAPMAN                   622 N BUCHANAN                                              MARYVILLE          MO         64468                 6666                Various                                                                                           $140.40
JOHN CHERETTE                  205 N WALNUT ST                                             KALKASKA           MI         49646                 6002                Various                                                                                             $0.82
JOHN CHRISTOPHER               25550 B ST                                                  CALUMET            MI         49913                 6002                Various                                                                                             $2.68
JOHN CLAIRMONT                 362 COMMANDO                                                GWINN              MI         49841                 6004                Various                                                                                            $48.25
JOHN CLARK                     786 INMANN PKWY                                             BELOIT             WI         53511                 6002                Various                                                                                             $8.05
JOHN CLAUSEN JR                7244 383RD ST                                               NORTH BRANCH       MN         55056                 6004                Various                                                                                             $3.93
JOHN CLINE                     623 N BROAD ST                                              LANARK             IL         61046                 6004                Various                                                                                            $10.00

JOHN COLLINS                   555 RIDGEVIEW CIRLCE APT 337                                APPLETON           WI         54911                  6002               Various                                                                                                $3.04
JOHN COOPER HEWLETT            4968 SHERMAN RD                                             SLINGER            WI         53086                  6002               Various                                                                                                $5.56
JOHN COPEN                     148 BLUE LAKES BLVD N                                       TWIN FALLS         ID         83301                  6002               Various                                                                                                $7.48
JOHN COPS                      605 PARK STREET                                             COMBINED LOCKS     WI         54113                  6004               Various                                                                                               $25.00
JOHN CRATER                    921 W ELM AVE                                               MITCHELL           SD         57301                  6002               Various                                                                                                $6.25
JOHN CUGNO                     5448 MAYTOWN RD SW                                          OLYMPIA            WA         98512                  6004               Various                                                                                               $61.55
JOHN CURTIS CAMPBELL           APARTMENT # 215                                             ROCHESTER          MN         55901                  6002               Various                                                                                                $3.84
JOHN D KLOSS                   4035 JENE RD                                                EAU CLAIRE         WI         54701                  6002               Various                                                                                                $5.89
JOHN D. WATERS                 2006 IRON HORSE DR                                          TUSCOLA            IL         61953                  6002               Various                                                                                                $5.21
JOHN D. WILKINS                1379 KODIAK RD                                              HELENA             MT         59602                  6002               Various                                                                                                $0.36
JOHN DAM                       305 W. HUGHES ST.                                           TYLER              MN         56178                  6004               Various                                                                                               $34.98
JOHN DAYOOB                    8125 PARKVIEW BLVD                                          LA VISTA           NE         68128                  6004               Various                                                                                               $17.37
JOHN DEMILLE                   1110 S JACKSON ST                                           GREEN BAY          WI         54301                  6004               Various                                                                                                $2.00
JOHN DEMPSEY                   2131 E 40TH ST                                              WHITE CLOUD        MI         49349                  6002               Various                                                                                                $6.60
JOHN DINS                      3500 TOWNHALL RD                                            KEWASKUM           WI         53040                  6004               Various                                                                                                $3.00
JOHN DWIRE                     509 HUDSON AVENUE                                           MARSHALL           MN         56258                  6004               Various                                                                                                $3.00
JOHN E BURKE                   1514 TOWNSEND AVE                                           HELENA             MT         59601                  6002               Various                                                                                                $1.73
JOHN E CARROLL                 124 E 2ND N # 5                                             GREEN RIVER        WY         82935                  6002               Various                                                                                                $0.77
JOHN E HAWKS                   RR 2 BOX 6717                                               DONIPHAN           MO         63935                  6002               Various                                                                                                $4.27
JOHN E JAMES                   255 W 16TH ST                                               IDAHO FALLS        ID         83402                  6002               Various                                                                                                $1.97
JOHN E VARLINE                 16251 MOYER RD                                              BARAGA             MI         49908                  6002               Various                                                                                                $1.53
JOHN E. COOK                   7453 S 33RD RD                                              CADILLAC           MI         49601                  6002               Various                                                                                                $3.67
JOHN EAGAR                     3089 LASTRADA WAY                                           RIVERTON           UT         84065                  6004               Various                                                                                                $8.00
JOHN EBBEN                     110 E FOX POINT LN                                          APPLETON           WI         54911                  6002               Various                                                                                                $8.58




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JOHN ELLINGSON                 495 E SOUTH N ST                                                   BROKEN BOW      NE         68822                 6002                Various                                                                                            $11.12
JOHN ELLIS                     BOX 425                                                            ATHOL           ID         83801                 6002                Various                                                                                             $1.53
JOHN EMERSON                   111 N MAPLE ST                                                     GALLATIN        MO         64640                 6002                Various                                                                                             $2.00
JOHN ENDRES                    418 PATRICK AVE                                                    WAUNAKEE        WI         53597                 6004                Various                                                                                             $5.40
JOHN EVANS                     4984 CRAWFORD RD                                                   OCONTO          WI         54153                 6002                Various                                                                                             $0.79
JOHN F PILLOTE                 HC 1 BOX 886                                                       MICHIGAMME      MI         49861                 6002                Various                                                                                             $1.34
JOHN FANNING                   85414 553RD AVE                                                    PIERCE          NE         68767                 6004                Various                                                                                            $15.00
JOHN FANUZZI                   PO BOX 999                                                         EMIGRANT        MT         59027                 6002                Various                                                                                             $9.86
JOHN FARMER                    207 LOCUST ST                                                      MONTROSE        IA         52639                 6002                Various                                                                                             $3.75
JOHN FARWELL                   335 N CHEYENNE ST                                                  POWELL          WY         82435                 6002                Various                                                                                             $7.78
JOHN FEAVEL                    1147 W RIDGEVIEW DR                                                APPLETON        WI         54914                 6002                Various                                                                                             $4.16
JOHN FERGUSON                  1615 SHASTA ST                                                     IDAHO FALLS     ID         83402                 6004                Various                                                                                             $3.00
JOHN FIELDS                    11610E 920TH LN LOT 19                                             MT. CARMEL      IL         62863                 6002                Various                                                                                             $9.67
JOHN FINNERTY                  506 W BATTERMAN ROAD                                               REDGRANITE      WI         54970                 6002                Various                                                                                            $15.28
JOHN FISHER                    914 W. " A" ST.                                                    MOSCOW          ID         83843                 6004                Various                                                                                            $81.58
JOHN FJELBROTEN                1806 JOHNSON ST                                                    ALBERT LEA      MN         56007                 6004                Various                                                                                             $3.00
JOHN FLORES                    1116 EMERSON AVE                                                   ALLIANCE        NE         69301                 6002                Various                                                                                             $2.99
JOHN FORENPOHAR                213 E. GOODLANDER RD.                                              SELAH           WA         98942                 6004                Various                                                                                             $5.00
JOHN FOX                       4282 US HIGHWAY 89 S TRLR 16                                       LIVINGSTON      MT         59047                 6002                Various                                                                                             $0.82
JOHN FRAPPIER                  9030 9TH ST NE                                                     MCHENRY         ND         58464                 6002                Various                                                                                             $0.93
JOHN FRENIER                   GEN DELIVERY                                                       SISSETON        SD         57262                 6002                Various                                                                                             $8.93
JOHN FROST                     1008 13TH AVE NE                                                   AUSTIN          MN         55912                 6004                Various                                                                                             $3.00
JOHN G SMITH                   18751 SKANEE RD                                                    LANSE           MI         49946                 6002                Various                                                                                             $2.22
JOHN G. JOHNSON                3957 BADGER RD                                                     SPARTA          WI         54656                 6002                Various                                                                                             $1.70
JOHN GALLION                   RR 3 BOX 7366                                                      DONIPHAN        MO         63935                 6002                Various                                                                                             $6.44
JOHN GAUL                      410 PIERCE ST APT 204                                              SIOUX CITY      IA         51101                 6002                Various                                                                                             $7.92
JOHN GEORGE MASAK              13 TILBURY CT                                                      APPLETON        WI         54913                 6002                Various                                                                                             $5.64
JOHN GEPFORD                   123 IVY ST                                                         NAMPA           ID         83686                 6004                Various                                                                                             $5.04
JOHN GERBER                    530 BRUENER RD                                                     PORT EDWARDS    WI         54469                 6002                Various                                                                                             $0.74
JOHN GIBSON ENTERPRISES INC    136 W GRAND AVE SUITE 240                                          BELOIT          WI         53511                 9447                Various                                                                                         $9,501.30
JOHN GODFREY                   1100 W NOBLE ST APT 107                                            LYONS           KS         67554                 6002                Various                                                                                             $7.37
JOHN GRAYDON                   202 N CORAL ST                                                     KALKASKA        MI         49646                 6002                Various                                                                                             $6.44
JOHN GRZECA                    486 ROCKROSE DR                                                    FOND DU LAC     WI         54935                 6004                Various                                                                                             $7.99
JOHN GULLICKSON                1504 BLAINE AVE                                                    JANESVILLE      WI         53545                 6004                Various                                                                                            $10.00
JOHN GUSEMAN                   1136 S CLAY                                                        JACKSONVILLE    IL         62650                 6004                Various                                                                                            $45.00
JOHN GUTHMILLER                1212 S LAWSON APT.D8                                               ABERDEEN        SD         57401                 6004                Various                                                                                            $20.00
JOHN GUYETTE                   2793 BRISTOL MTN TRL                                               GREEN BAY       WI         54313                 6002                Various                                                                                             $0.30
JOHN H WHELAN                  PO BOX 236                                                         TWO DOT         MT         59085                 6002                Various                                                                                             $5.92
JOHN H WIEGERS                 6450 E DOGWOOD RD                                                  PICKRELL        NE         68422                 6002                Various                                                                                             $6.58
JOHN H YOUNG                   1425 WHISPERING PINES DR                                           DELAVAN         WI         53115                 6002                Various                                                                                             $9.26
JOHN H ZANDLER                 W12014 JOHNSON RD                                                  COLUMBUS        WI         53925                 6002                Various                                                                                             $9.42
JOHN HAEGERL                   3135 CHERRY ST.                                                    STEVENS POINT   WI         54481                 6004                Various                                                                                            $69.00
JOHN HALBERT                   873 N 25TH ST                                                      LINCOLN         NE         68503                 6002                Various                                                                                             $7.51
JOHN HALL                      2125 CAMPUS DR SE                                                  ROCHESTER       MN         55904                 6004                Various                                                                                            $15.88
JOHN HARRINGTON                W2995 STATE ROAD 72                                                ELMWOOD         WI         54740                 6002                Various                                                                                             $3.12
JOHN HARRIS                    W5514 TOWN HALL ROAD                                               PESHTIGO        WI         54157                 6004                Various                                                                                            $10.02
JOHN HARTFIEL                  3005 GEORGETOWN PL                                                 MENASHA         WI         54952                 6002                Various                                                                                             $5.81
JOHN HAWES                     107 SUMMIT ST PO BOX # 202                                         PEARL CITY      IL         61062                 6002                Various                                                                                             $1.75
JOHN HAWKINS                   624 N 12TH STREET                                                  QUINCY          IL         62301                 6002                Various                                                                                             $8.22
JOHN HENNINGSGAARD             459 RODAYO DR                                                      WAUKON          IA         52172                 6002                Various                                                                                             $7.32
JOHN HENRY                     222 7TH ST NW                                                      MASON CITY      IA         50401                 6002                Various                                                                                             $0.41
JOHN HERNANDEZ                 1000 O ST                      APT 709                             LINCOLN         NE         68508                 6004                Various                                                                                             $2.00
JOHN HERRMANN                  260 S HELEN ST                                                     KIMBERLY        WI         54136                 6002                Various                                                                                             $9.51
JOHN HEVEWAH                   175 POPO AGIE ST PO BOX 179                                        LANDER          WY         82520                 6002                Various                                                                                             $1.62




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JOHN HOEPPNER                18436 CTH XX                                               KIEL               WI         53042                 6002                Various                                                                                                $1.01
JOHN HOES                    1117 LANGLADE AVE                                          GREEN BAY          WI         54304                 6002                Various                                                                                                $6.60
JOHN HOLDER                  1132 2ND AVE                                               HERON LAKE         MN         56137                 6004                Various                                                                                                $3.00
JOHN HOLM                    2191 W PLYMOUTH                                            COEUR D ALENE      ID         83815                 6004                Various                                                                                                $5.00

JOHN HOUSER                  70 BIG OAK ROAD                                            WISCONSIN RAPIDS   WI         54495                  6004               Various                                                                                             $1.00
JOHN HURD                    608 BEAR CLAW WAY                                          MIDDLETON          WI         53562                  6004               Various                                                                                            $25.00
JOHN II MARSHBANKS           7861 MARY ST                                               OMAHA              NE         68122                  6002               Various                                                                                             $5.29
JOHN IRELAND                 1004 RALEIGH CT                                            GREEN BAY          WI         54304                  6004               Various                                                                                            $24.99
JOHN J KAMPA                 FOX ST                                                     ARCADIA            WI         54612                  6002               Various                                                                                             $5.59
JOHN JACOB                   PO BOX 28                                                  KEWASKUM           WI         53040                  6004               Various                                                                                            $54.00
JOHN JACOB RUSSELL           510 S MADISON ST                                           WINNER             SD         57580                  6002               Various                                                                                             $3.53
JOHN JARMAIN                 718 STOW ST                                                HORICON            WI         53032                  6002               Various                                                                                             $0.27
JOHN JOHNSON                 PINE HEIGHTS RD                                            VALENTINE          NE         69201                  6002               Various                                                                                             $1.01
JOHN JONES                   1222 CENTRAL STREET                                        OSHKOSH            WI         54901                  6004               Various                                                                                           $135.83
JOHN K. YOUNG                211 CIRCLE INN DR TRLR # 88                                POCATELLO          ID         83202                  6002               Various                                                                                             $1.10
JOHN KARLS JR.               325 INDIANA AVE.                                           N. FOND DU LAC     WI         54937                  6004               Various                                                                                             $8.98
JOHN KEENER                  5306 N PARKWOOD CIRCLE                                     COEUR D ALENE      ID         83815                  6002               Various                                                                                             $4.16
JOHN KINDVALL                420 W 26TH AVE                                             TORRINGTON         WY         82240                  6002               Various                                                                                             $8.27
JOHN KING                    612 S 26TH ST                                              ESCANABA           MI         49829                  6002               Various                                                                                             $0.82

JOHN KNAPP                   5421 N BEACH RD                                            WISCONSIN RAPIDS   WI         54494                  6004               Various                                                                                               $26.55
JOHN KOESSL                  789 TOP OF THUMB LN                                        ELLISON BAY        WI         54210                  6002               Various                                                                                                $8.44
JOHN KOHLER                  1500 S 44TH ST                                             LINCOLN            NE         68506                  6004               Various                                                                                               $51.98
JOHN KOSKINEN                1699 ALCAN DR APT 106                                      MENASHA            WI         54952                  6002               Various                                                                                                $2.60
JOHN KRUEGER                 1218 10TH AVE S                                            ESCANABA           MI         49829                  6004               Various                                                                                                $2.00
JOHN KURTZ                   1732 GROVE ST                                              BLOOMER            WI         54724                  6002               Various                                                                                                $0.55
JOHN L BURKE                 6133 402ND ST                                              NORTH BRANCH       MN         55056                  6002               Various                                                                                                $6.71
JOHN L FRAISSINET            505 N HAZEL ST                                             GLENWOOD           IA         51534                  6002               Various                                                                                                $2.22

JOHN L RAYMOND               413 WESTPORT DR                                            PORT WASHINGTON    WI         53074                   6002              Various                                                                                                $2.71
JOHN LAITINEN                49120 N ROYCE RD                                           HANCOCK            MI         49930                   6002              Various                                                                                                $2.38
JOHN LARSON                  130 RICHARD AVE                                            NEENAH             WI         54956                   6002              Various                                                                                                $3.34
JOHN LEE                     1217 EAST GUNN ST                                          APPLETON           WI         54915                   6004              Various                                                                                                $3.00

JOHN LEIVISKA                226 E MONROE ST                                            PORT WASHINGTON    WI         53074                  6002               Various                                                                                                $4.03
JOHN LESCHKE                 631 HAZEL ST 416                                           OSHKOSH            WI         54901                  6002               Various                                                                                               $17.40
JOHN LIEDKIE                 1411 16TH AVE                                              LEWISTON           ID         83501                  6004               Various                                                                                                $9.02
JOHN LIESE                   1316 S COLORADO AVE                                        BOISE              ID         83706                  6002               Various                                                                                                $2.66
JOHN LINDRUD                 3348 NIMITZ ST                                             EAU CLAIRE         WI         54701                  6002               Various                                                                                                $9.81
JOHN LINTULA                 1204 JEFFERSON ST                                          MARQUETTE          MI         49855                  6004               Various                                                                                               $10.00
JOHN LUKER                   8079 S ANGEL ST                                            SANDY              UT         84070                  6004               Various                                                                                               $16.00
JOHN LULF                    103 FREMONT ST                                             JEFFERSON          SD         57038                  6002               Various                                                                                                $7.62
JOHN LUNSFORD                923 E 7TH ST                                               FALLS CITY         NE         68355                  6002               Various                                                                                                $6.93
JOHN M (JR) PARKYN           RR 1 BOX W604 PMB OAK                                      STODDARD           WI         54658                  6002               Various                                                                                                $7.75
JOHN M SHAMY                 3110 JOHNSON LN                                            ERIE               CO         80516                  6002               Various                                                                                                $7.84
JOHN MADER                   P O BOX 6277                                               LINCOLN            NE         68506                  6002               Various                                                                                                $6.58
JOHN MAGAS                   127 W CAPITOL DR                                           APPLETON           WI         54911                  6004               Various                                                                                               $43.80
JOHN MARSDEN                 1096 ELON DR                                               WAUKON             IA         52172                  6002               Various                                                                                                $3.64
JOHN MARTIN JR               N8233 CTY HWY E                                            WATERTOWN          WI         53094                  6002               Various                                                                                                $3.23
JOHN MASKARINA               109 N MADISON AVE                                          MASON CITY         IA         50401                  6002               Various                                                                                                $5.86
JOHN MASSEY                  N2059 ROCKDALE RD                                          EDGERTON           WI         53534                  6002               Various                                                                                               $10.00
JOHN MATSCHI                 1742 TAFT AVE                                              OSHKOSH            WI         54902                  6004               Various                                                                                               $23.00
JOHN MATT                    1008 SPRUCE ST                                             MARQUETTE          MI         49855                  6004               Various                                                                                                $5.00




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                                                                                                                                                                                                                                     Claim subject to offset?
                                                                                                                                                                                                           Unliquidated
                                                                                                                                                                                              Contingent


                                                                                                                                                                                                                          Disputed
                                                                                                                                                     Last 4 Digits of     Date Debt was
                                                                                                                                                        Account         Incurred, Basis for
            Creditor Name              Address1               Address2           Address3             City           State           Zip   Country      Number                Claim                                                                             Total Claim

JOHN MAXWELL                 1117 WEST FLAMINGO AVENUE                                        NAMPA             ID           83653                   6004               Various                                                                                                $5.00
JOHN MCCLEERY                132 N BROADWAY ST                                                WINCHESTER        IL           62694                   6002               Various                                                                                                $1.34
JOHN MCCLELLAN               38804 CANVASBACK RD                                              VALENTINE         NE           69201                   6002               Various                                                                                                $6.11
JOHN MCDONOUGH               710 COVENTRY CIR                                                 FORT ATKINSON     WI           53538                   6002               Various                                                                                                $9.75
JOHN MCGAVICK                1243 W PROGRESS DRIVE                                            HAYDEN            ID           83835                   6004               Various                                                                                                $2.93
JOHN MCGIVERN                4525 LOOMIS ST                                                   LA CROSSE         WI           54601                   6004               Various                                                                                               $60.01
JOHN MCGRAW                  5715 N OAK PARK .0 DR                                            WELLS             MI           49894                   6002               Various                                                                                                $6.68
JOHN MERK                    741 23RD ST N                                                    WISCONSIN RAPID   WI           54494                   6002               Various                                                                                                $2.93
JOHN MICHAEL KRUPKA          N6329 WICK RD                                                    BLACK CREEK       WI           54106                   6002               Various                                                                                                $8.49

JOHN MILLER                  W5929 AUTUMN HILL PARKWAY                                        APPLETON          WI           54913                   6004               Various                                                                                               $39.71
JOHN MOHR                    PO BOX 2191                                                      LEWISTON          ID           83501                   6004               Various                                                                                               $14.20
JOHN MOLINAR                 720 1/2 PROSPECT AVE                                             WAUSAU            WI           54403                   6002               Various                                                                                                $8.66
JOHN MONROE                  848 E STATE ST                                                   ADAMS             WI           53910                   6002               Various                                                                                                $9.59
JOHN MOORE                   4901 WEAVER RD                                                   ELLENSBURG        WA           98926                   6004               Various                                                                                               $39.00
JOHN MURNION                 BOX 469                                                          SIDNEY            MT           59270                   6002               Various                                                                                               $10.00
JOHN MYER                    810 FARWELL DR                                                   MADISON           WI           53704                   6004               Various                                                                                               $25.00
JOHN MYERS                   704 THIRD ST                                                     STEVENS POINT     WI           54481                   6002               Various                                                                                                $0.55

JOHN NATE                    3589 SOUTH MINUTEMAN WAY                                         BOISE             ID           83706                   6004               Various                                                                                               $23.00
JOHN NELSON                  2331 COURT ST                                                    PLOVER            WI           54467                   6002               Various                                                                                                $2.60
JOHN NEMGAR                  704 13TH ST                                                      SALMON            ID           83467                   6002               Various                                                                                               $10.00
JOHN NESSMITH                702 27TH ST                                                      LEWISTON          ID           83501                   6002               Various                                                                                                $1.70
JOHN O. NELSON               3214 S MOONFLOWER AVE                                            SIOUX FALLS       SD           57110                   6002               Various                                                                                                $7.56
JOHN OCKENGA                 23307 480TH AVE                                                  FLANDREAU         SD           57028                   6002               Various                                                                                                $6.63
JOHN O'DONOGHUE              811 ELIZABETH STREET                                             WAUANKEE          WI           53597                   6004               Various                                                                                                $4.96
JOHN OEHRKE                  320 W MADISON AVE                                                MILTON            WI           53563                   6004               Various                                                                                                $2.00
JOHN OHLEN                   7080 PERKINS RD # 305                                            RAPID RIVER       MI           49878                   6002               Various                                                                                                $0.79
JOHN OLSON                   2608 OAKRIDGE ROAD                                               NEENAH            WI           54956                   6004               Various                                                                                                $5.80
JOHN O'NEILL                 609 BOWERS BOULEVARD                                             DELAVAN           WI           53115                   6004               Various                                                                                               $25.00
JOHN OXTON                   307 2ND AVE S                                                    SAINT CLOUD       MN           56301                   6002               Various                                                                                               $10.00
JOHN P BRADLEY JR            1514 BELL ST                                                     BEATRICE          NE           68310                   6002               Various                                                                                                $4.63
JOHN P III LOHR              6817 CHESTER DR APT C                                            MADISON           WI           53719                   6002               Various                                                                                                $7.34
JOHN P MEISTER               802 20 AVE C                                                     TORRINGTON        WY           82240                   6002               Various                                                                                                $1.01
JOHN P RIVARD                12978 RIDGEVIEW SPRINGS RD                                       HOT SPRINGS       SD           57747                   6002               Various                                                                                                $3.61
JOHN P RYAN                  PO BOX 813                                                       UPTON             WY           82730                   6002               Various                                                                                                $9.84
JOHN P STACHOWSKI            2253 130TH AVE                                                   BRAHAM            MN           55006                   6002               Various                                                                                                $0.49
JOHN PARK                    BOX 4                                                            DUTTON            MT           59433                   6002               Various                                                                                                $8.99
JOHN PARKER                  PO BOX 72                                                        CHALLIS           ID           83226                   6002               Various                                                                                                $1.53
JOHN PATRICK                 1425 W B ST                                                      TORRINGTON        WY           82240                   6002               Various                                                                                                $5.95
JOHN PENNINGTON              270 MONROE ST                                                    AFTON             WY           83110                   6002               Various                                                                                                $2.71
JOHN PFLIEGER                208 JAMES AVE                                                    ROTHSCHILD        WI           54474                   6002               Various                                                                                                $0.88
JOHN PIESTER                 121 OAKLAND ST                                                   SIOUX CITY        IA           51103                   6002               Various                                                                                                $5.75
JOHN PLATZ                   498 YVONNE ST                                                    ARCO              ID           83213                   6002               Various                                                                                                $6.41
JOHN POLACEK                 604 7TH ST                   BOX 353                             WISNER            NE           68791                   6004               Various                                                                                               $65.00
JOHN POPP                    312 JENNINGS AVE                                                 HOT SPRINGS       SD           57747                   6002               Various                                                                                                $6.19
JOHN POWER                   2686 COMANCHE CIRCLE                                             SALT LAKE CITY    UT           84108                   6004               Various                                                                                                $6.98
JOHN QUINTANA                W1254 CARRIAGE DR                                                MARINETTE         WI           54143                   6002               Various                                                                                                $7.97
JOHN R KOSTECKA              71279 RAILROD DR                                                 TABLE ROCK        NE           68447                   6002               Various                                                                                                $3.53
JOHN RABAS                   242 MICHELLE CT                                                  GREEN BAY         WI           54302                   6004               Various                                                                                                $1.40
JOHN RAMEY DARGAN            917 E 6TH AVE APT 2                                              HELENA            MT           59601                   6002               Various                                                                                                $6.14
JOHN REEVES                  4248 MEKANA RD                                                   CLOQUET           MN           55720                   6004               Various                                                                                                $3.00
JOHN REGAN                   PO BOX 562                                                       NEWCASTLE         WY           82701                   6002               Various                                                                                                $8.30




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                                                                                                                                                                                       Contingent


                                                                                                                                                                                                                   Disputed
                                                                                                                                              Last 4 Digits of     Date Debt was
                                                                                                                                                 Account         Incurred, Basis for
             Creditor Name                Address1             Address2         Address3             City       State         Zip    Country     Number                Claim                                                                             Total Claim
JOHN REGETZ                   4827 BROOKSTONE ST                                             POCATELLO       ID         83202                6002                Various                                                                                             $1.92
JOHN REIS                     2918 ROCKWOOD DRIVE                                            MADISON         WI         53713                6004                Various                                                                                             $5.00
JOHN RICCO                    623 WEST HARLEM                                                MONMOUTH        IL         61462                6004                Various                                                                                            $35.00
JOHN RITSCHKE                 W6694 DEER RIDGE RD                                            NESHKORO        WI         54960                6002                Various                                                                                            $10.30
JOHN RITZENTHALER COMPANY     PO BOX 821639                                                  PHILADELPHIA    PA         19182-1639           5552                Various                                                                                       $482,077.83
JOHN ROBERSON                 1111 GOLF COURSE RD                                            ANDREWS         TX         79714                6002                Various                                                                                             $4.44
JOHN ROBERTS                  BOX 5204                                                       ETNA            WY         83118                6002                Various                                                                                            $10.00
JOHN ROGERS                   935 E. HOLEM ST                                                DEFOREST        WI         53532                6004                Various                                                                                             $2.00
JOHN ROSE                     W56 N718 HAWTHORN AVE                                          CEDARBURG       WI         53012                6004                Various                                                                                            $15.00
JOHN ROSENKRANCE              735 THIRD AVE.                                                 VICTOR          MT         59875                6004                Various                                                                                            $93.98
JOHN ROTHER                   130 MISKELL RD                                                 MOUNT CARMEL    IL         62863                6002                Various                                                                                             $2.33
JOHN RUPNOW                   N9625 OAK HILL RD                                              WATERTOWN       WI         53094                6002                Various                                                                                             $0.52
JOHN S GOEHRING               525 3RD AVE NW                                                 BROWNS VALLEY   MN         56219                6002                Various                                                                                             $6.41
JOHN S LEPROWSE               406 SILVERBOW HOMES                                            BUTTE           MT         59701                6002                Various                                                                                             $9.21
JOHN SAGER                    4760 IERCE AVE                                                 PLOVER          WI         54467                6002                Various                                                                                             $7.84
JOHN SALAZAR                  5420 S 21ST ST                                                 OMAHA           NE         68107                6002                Various                                                                                             $5.34
JOHN SALZMAN                  87425 428TH AVE                                                AINSWORTH       NE         69210                6002                Various                                                                                             $5.45
JOHN SANDBERG                 10811 E 21ST                                                   SPOKANE         WA         99206                6004                Various                                                                                            $11.50
JOHN SCHILDBERG               103 NW 6TH ST                                                  GREENFIELD      IA         50849                6002                Various                                                                                             $9.67
JOHN SCHUCHARD                58933 CO RD # 23                                               MILLVILLE       MN         55957                6002                Various                                                                                             $7.89

JOHN SCOTT                    APT 415                      1109 6TH AVENUE N                 GREAT FALLS     MT         59401                 6002               Various                                                                                                $4.49
JOHN SHEETS                   44291 E LONESTAR RD                                            GOTHENBURG      NE         69138                 6002               Various                                                                                                $2.47
JOHN SHUCK                    2125 E MASSACHUSETTS                                           NAMPA           ID         83686                 6004               Various                                                                                                $4.80
JOHN SIMMONS                  632 9TH ST SW                                                  WAUKON          IA         52172                 6002               Various                                                                                                $5.26
JOHN SKELTON                  918 E SHERIDAN ST                                              ELY             MN         55731                 6002               Various                                                                                                $7.21
JOHN SLOMSKI                  2475 PHEASANT RUN CT APT L                                     APPLETON        WI         54914                 6002               Various                                                                                                $0.82
JOHN SONNLEITNER              909 E FREEMONT ST                                              APPLETON        WI         54915                 6004               Various                                                                                               $10.00
JOHN SPARACIO                 1510 N CENTER ST                                               BEAVER DAM      WI         53916                 6002               Various                                                                                                $1.95
JOHN SR DEOLLOS               9988 S 2200TH W                                                SOUTH JORDAN    UT         84065                 6002               Various                                                                                                $3.21
JOHN STEINHOFER               12342 215TH ST                                                 BROOTEN         MN         56316                 6002               Various                                                                                                $6.14
JOHN STRANGE                  W3435 EQUESTRIAN TRL                                           APPLETON        WI         54913                 6002               Various                                                                                                $7.12
JOHN STRUZYNSKI               513 AIRPORT RD                                                 STEVENSVILLE    MT         59870                 6004               Various                                                                                                $2.00
JOHN SULLIVAN                 1608 BLUEBIRD LANE                                             WAUSAU          WI         54401                 6004               Various                                                                                                $3.00
JOHN SWINFORD                 5020 PETRACK LN                                                OMRO            WI         54963                 6002               Various                                                                                                $8.82
JOHN SYMONS                   P O BOX 325                                                    HAYDEN          ID         83835                 6002               Various                                                                                               $13.85
JOHN T ROBERSON               4702 N GOOSE GAP PR NE                                         BENTON CITY     WA         99320                 6002               Various                                                                                                $6.03
JOHN T SAMP                   1680 SHAWANO AVE APT 7                                         GREEN BAY       WI         54303                 6002               Various                                                                                                $1.92
JOHN TANDETZKE                515 DORELLE ST                                                 KEWAUNEE        WI         54216                 6002               Various                                                                                                $3.64
                              6231 TONAWANDO CREEK RD N
JOHN TAYLOR                   303                                                            LOCKPORT        NY         14094                 6666               Various                                                                                               $70.64
JOHN THILLIANDER              616 3RD ST                                                     SCRIBNER        NE         68057                 6002               Various                                                                                                $6.60
JOHN THOMPSON                 1404 CASIO DR                                                  BELLEVUE        NE         68005                 6004               Various                                                                                               $42.10
JOHN TURKE                    6 JANET PLACE                                                  JACKSONVILLE    IL         62650                 6002               Various                                                                                                $8.97
JOHN TUT                      5532 N 35TH ST                                                 OMAHA           NE         68111                 6002               Various                                                                                                $5.86
JOHN TUTTLE                   727 S. MONTANA                                                 MITCHELL        SD         57301                 6004               Various                                                                                               $66.40
JOHN UNGER                    2500 DEER CRK RD                                               OROFINO         ID         83544                 6002               Various                                                                                                $5.86
JOHN UNKEFER                  PO BOX 547                                                     FISH CREEK      WI         54212                 6002               Various                                                                                                $4.96
JOHN VAILLANCOURT             612 FRANCES ST.              APT 4                             KAUKAUNA        WI         54130                 6004               Various                                                                                                $1.00
JOHN VANBROCKLIN              9 S 10TH STREET              APT 1                             GLADSTONE       MI         49837                 6004               Various                                                                                               $79.99
JOHN VOLLER                   3737 CLAYMORE LANE                                             EAU CLAIRE      WI         54701                 6004               Various                                                                                               $15.00
JOHN W BLOOD                  408 9TH ST                                                     SALMON          ID         83467                 6002               Various                                                                                                $9.59
JOHN W. FISCHER               N3562 STATE ROAD 110                                           WEYAUWEGA       WI         54983                 6002               Various                                                                                                $8.60
JOHN WAGNER                   424 RUBY DR                                                    JEROME          ID         83338                 6004               Various                                                                                               $16.00




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JOHN WARREN                       19129 PRAIRIE HILLS RD                                             BELLE FOURCHE   SD         57717                6002                Various                                                                                            $16.64
JOHN WATKINS                      484 CEDAR CREEK RD                                                 FREEPORT        IL         61032                6002                Various                                                                                             $1.86
JOHN WEGNER                       13969 S 15TH RD                                                    RAPID RIVER     MI         49878                6002                Various                                                                                             $7.70
JOHN WEIS                         65908 E SOLAR PR NE                                                BENTON CITY     WA         99320                6004                Various                                                                                            $56.00
JOHN WELLNITZ                     2025 W RUSSET CT APT 5                                             APPLETON        WI         54914                6002                Various                                                                                             $7.64
JOHN WHITE                        314 FRONT ST                                                       SALMON          ID         83467                6002                Various                                                                                             $7.12
JOHN WIECZOREK                    215 OLIVET ST                                                      LA CROSSE       WI         54603                6002                Various                                                                                             $6.74
JOHN WILCOX                       2215 E CLAIREMONT AVE                                              EAU CLAIRE      WI         54701                6004                Various                                                                                          $149.97
JOHN WILLIAMS                     1211 KING ST                                                       JANESVILLE      WI         53546                6004                Various                                                                                            $11.74
JOHN WILSON                       RR 3 BOX 6715                                                      DONIPHAN        MO         63935                6002                Various                                                                                             $6.68
JOHN WITCZAK                      715 EMMER ST                                                       MAYVILLE        WI         53050                6002                Various                                                                                             $0.58
JOHN WOOLDRIDGE                   2727 17TH AVE NW                                                   ROCHESTER       MN         55901                6002                Various                                                                                             $6.36
JOHN ZACHEK                       1000 W CALUMET ST                                                  APPLETON        WI         54915                6004                Various                                                                                            $29.98
JOHN ZANDLER                      W12014 JOHNSON RD.                                                 COLUMBUS        WI         53925                6004                Various                                                                                            $11.80
JOHN ZIMO                         N15621 SUGARBUSH RD                                                PARK FALLS      WI         54552                6002                Various                                                                                             $6.11
JOHN ZOROMSKI                     5619 YOUNGER RD                                                    LENA            WI         54139                6002                Various                                                                                            $10.00
JOHN(JACK) H JOHNSON              S13575 OAK CT                                                      ELEVA           WI         54738                6002                Various                                                                                             $8.99
JOHNATHAN BURR                    9805 SO AVE # 9TH                                                  OMAHA           NE         68123                6002                Various                                                                                             $3.48
JOHNATHAN CERVENKA                1913 CONCORD TRAIL                                                 EAU CLAIRE      WI         54703                6004                Various                                                                                            $10.69
JOHNATHAN EMERY                   1009 28TH ST N                                                     WI RAPIDS       WI         54494                6004                Various                                                                                             $1.00
JOHNATHAN HELMS                   1845 CLOUD PK DR                                                   WORLAND         WY         82401                6002                Various                                                                                             $9.84
JOHNATHAN JUAREZ                  2500 FERTIG DR                                                     WHEATLAND       WY         82201                6002                Various                                                                                             $5.23
JOHNATHAN KEINER                  112 LAKE CREST DRIVE APT 208                                       BEAVER DAM      WI         53916                6004                Various                                                                                             $2.00
JOHNATHAN KESON                   4755 HAYES AVE                 TRLR 14                             PLOVER          WI         54467                6004                Various                                                                                            $64.00
JOHNATHAN MALTMAN                 P O BOX 1083                                                       LEWISTON        ID         83501                6004                Various                                                                                             $3.65
JOHNATHON ALSTEEN                 570 E COUNTY RD A                                                  ATHENS          WI         54411                6004                Various                                                                                             $1.00
JOHNELLE (JO JOHNSON              429996 STATE HIGHWAY 210                                           AITKIN          MN         56431                6002                Various                                                                                             $0.99
JOHNELLE CLEMO                    1398 WAREHOUSE AVE                                                 HELENA          MT         59601                6002                Various                                                                                             $6.79
JOHNNA M CROCKER                  2411 SYCAMORE DR APT 15                                            GREEN BAY       WI         54311                6002                Various                                                                                             $6.52
JOHNNA SMITH                      12280 KENT AVE                                                     OROFINO         ID         83544                6002                Various                                                                                             $1.73
JOHNNIE LYNN                      1000 W NORTHLAND AVE                                               APPLETON        WI         54914                6004                Various                                                                                            $65.00
JOHNNIE PROPST                    905 EAST HANSEN                                                    MITCHELL        SD         57301                6004                Various                                                                                            $10.72
JOHNNIE SMITH                     1701 5TH ST NW                                                     GREAT FALLS     MT         59404                6002                Various                                                                                             $3.59
JOHNNIE SMUTZLER                  704 N PEARL ST                                                     WAYNE           NE         68787                6002                Various                                                                                             $2.38
JOHNNIE-MARIE KLEGIN              515 RIVERS ST.                                                     HUDSON          WI         54016                6004                Various                                                                                             $2.00
JOHNNY BALDRIDGE                  15 N MARS ST APT 407                                               FOND DU LAC     WI         54935                6002                Various                                                                                             $1.15
JOHNNY BERG                       620 N MAPLE                                                        NORTH PLATTE    NE         69101                6004                Various                                                                                            $10.00
JOHNNY BROWN                      1117 N 7TH BOX # 49                                                GREYBULL        WY         82426                6002                Various                                                                                             $7.29
JOHNNY E GREEN                    14591 ST HWY T                                                     PATTONSBURG     MO         64670                6002                Various                                                                                             $5.53
JOHNNY LANG                       728 W 5TH ST                                                       MOUNT CARMEL    IL         62863                6002                Various                                                                                             $0.47
JOHNNY POE                        7910 60TH AVE                                                      KENOSHA         WI         53142                6004                Various                                                                                            $20.00
JOHNNY WARREN                     HC 6 BOX 156                                                       DONIPHAN        MO         63935                6002                Various                                                                                             $9.23
JOHNS AG SERVICE INCORPORATED     2260 220TH STREET                                                  HUMBOLDT        IA         50548                5200                Various                                                                                          $187.50
JOHNS HOME AND YARD SERVICE       PO BOX 21460                                                       BILLINGS        MT         59104-1460           5705                Various                                                                                         $1,165.00
                                  5618 COLLECTIONS CENTER
JOHNSON & JOHNSON CONSUMER INC    DRIVE                                                              CHICAGO         IL         60693-0000             3303              Various                                                                                         $2,014.28
                                                                 SHOPKO STORES
JOHNSON BROTHERS                  FINTECH                        INCORPORATED      PO BOX19060       GREEN BAY       WI         54307-9060            9005               Various                                                                                          $513.66
JOHNSON BROTHERS BEVERAGES        2515 DEAN AVENUE                                                   DES MOINES      IA         50317-0000            8009               Various                                                                                         $1,400.50
JOHNSON BROTHERS FAMOUS BRANDS    300 E 50 STREET N                                                  SIOUX FALLS     SD         57104-0000            1625               Various                                                                                         $1,988.92
JOHNSON CONTROLS FIRE PROTECTI    DEPARTMENT CH 10320                                                PALATINE        IL         60055-0320            4846               Various                                                                                            $58.40
JOHNSON CONTROLS SECURITY SOLU    PO BOX 371994                                                      PITTSBURGH      PA         15250-7994            8821               Various                                                                                          $154.80
JOHNSON FAMILY                    BOX 353                                                            HAYDEN LAKE     ID         83835                 6002               Various                                                                                            $18.08




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                                                                                                                                                         Account         Incurred, Basis for
             Creditor Name                Address1            Address2          Address3              City            State           Zip   Country      Number                Claim                                                                             Total Claim

JOHNSON/ CASEY                STORE 2-127                 SHOPKO EMPLOYEE                      GREEN BAY         WI           54307-9060              0463               Various                                                                                               $12.21

JOHNSON/ ERIC R               STORE 015                   SHOPKO EMPLOYEE                      GREEN BAY         WI           54307-9060              5671               Various                                                                                               $66.70

JOHNSON/ MATTHEW D            STORE 2-089                 SHOPKO EMPLOYEE                      GREEN BAY         WI           54307-9060              2058               Various                                                                                           $120.96

JOHNSON/ RITA                 STORE 4-106                 SHOPKO EMPLOYEE                      GREEN BAY         WI           54307-9060              5232               Various                                                                                           $373.68

JOHNSTON/ ANDREW              STORE 005                   SHOPKO EMPLOYEE                      GREEN BAY         WI           54307-9060              4109               Various                                                                                               $23.54

JOHNSTON/ IAN                 STORE 2-701                 SHOPKO EMPLOYEE 1212 W MAIN STREET   LYONS             KS           67554                   9627               Various                                                                                                $2.14
JOLAINE FLAMMOND              1019 15TH ST N PRERELEASE                                        GREAT FALLS       MT           59401                   6002               Various                                                                                                $0.58
JOLEAN CLAY                   8353 CAMPBELL RD SE                                              FIFE LAKE         MI           49633                   6002               Various                                                                                                $2.08
JOLEE NELSON                  709 1ST AVE NW                                                   AUSTIN            MN           55912                   6004               Various                                                                                                $3.00
JO'LEE NEWTON                 5024 N. EASTLAND                                                 NEWMAN LAKE       WA           99025                   6004               Various                                                                                               $25.00
JOLEEN BURGART                204 6TH ST                                                       ELMA              IA           50628                   6002               Various                                                                                                $4.58
JOLEEN LISA KNUTSON           344 POLK ST APT 204C                                             FOND DU LAC       WI           54937                   6002               Various                                                                                                $0.58
JOLEEN N DIDERRICH            38341 LANG RD                                                    OCONOMOWOC        WI           53066                   6002               Various                                                                                                $2.68
JOLEEN WINTER                 3212 6TH AVE S                                                   BILLINGS          MT           59101                   6004               Various                                                                                                $4.00
JOLENE BLUE                   804HILLCREST DR.                                                 MONTGOMERY        MN           56069                   6004               Various                                                                                                $3.00
JOLENE BREZACK                7190 N 82ND PLZ                                                  OMAHA             NE           68122                   6002               Various                                                                                                $0.63
JOLENE C JEPPESEN             78 S 300TH E                                                     BRIGHAM CITY      UT           84302                   6002               Various                                                                                                $3.53
JOLENE DECKER                 24 1/2 4TH ST SE                                                 WATERTOWN         SD           57201                   6002               Various                                                                                                $0.79
JOLENE KIEKHAFER              40509 GOLDEN AVE                                                 NORTH BRANCH      MN           55056                   6004               Various                                                                                               $50.00
JOLENE LIEN                   709 SO # 7TH                                                     LA CRESCENT       MN           55947                   6002               Various                                                                                                $8.44
JOLENE NORDGULEN              2142 MERGAWSER DR                                                KALISPELL         MT           59901                   6002               Various                                                                                                $3.64
JOLENE RATHKE                 310 KNOLLWOOD RD                                                 WEST BEND         WI           53095                   6004               Various                                                                                               $15.00
JOLENE ROBINSON               1207 B ST                                                        LINCOLN           NE           68502                   6002               Various                                                                                               $10.00
JOLENE STUDER                 2136 EXCALIBUR ROAD                                              NORTH MANKATO     MN           56003                   6004               Various                                                                                                $3.00
JOLENE UHLENKAMP              49224 370TH ST                                                   VILLARD           MN           56385                   6002               Various                                                                                                $2.19
JOLENE ZWIEFELHOFER           528 MAITLAND DR APT 48                                           CHIPPEWA FALLS    WI           54729                   6002               Various                                                                                                $6.90
JOLIE BECKER                  13650 9TH LN                                                     ATHENS            WI           54411                   6002               Various                                                                                                $5.26
JOLIE S EBERT                 PO BOX 212                                                       BUTTE DES MORTS   WI           54927                   6002               Various                                                                                                $3.64
JOLINDA LIVESAY               20931 SPINAKER ST                                                BEND              OR           97701                   6004               Various                                                                                               $15.00
JOLYNN WEISS                  320 E 10TH ST APT 5                                              OGALLALA          NE           69153                   6002               Various                                                                                                $7.07
JOLYSA JONES                  PO BOX 278                                                       HINSDALE          MT           59241                   6002               Various                                                                                                $3.79
JON ATWOOD                    N 3504 MOLTER                                                    OTIS ORCHARDS     WA           99027                   6004               Various                                                                                                $6.39
JON BOOKER                    N6787 SHOREWOODHILLS                                             LAKE MILLS        WI           53551                   6002               Various                                                                                                $7.18
JON BREMEN                    107 LAKESHORE DR                                                 STEWARTVILLE      MN           55976                   6004               Various                                                                                                $3.00
JON D. ALLEN                  2817 N JULIA ST APT 205                                          COEUR D ALENE     ID           83815                   6002               Various                                                                                                $4.08
JON DAVID SORENSEN            464 W 142ND                                                      OREM              UT           84057                   6002               Various                                                                                                $7.59

JON GRUENWALD                 1864 TERRACE DR                                                  PORT WASHINGTON   WI           53074                   6002               Various                                                                                                $4.03
JON HAINES                    921 E WISCONSIN AVE                                              PEWAUKEE          WI           53072                   6002               Various                                                                                                $5.64
JON HALDEMANN                 4965 HILLCREST DR                                                WEST BEND         WI           53095                   6666               Various                                                                                               $19.99
JON HARRINGTON                RR 8 BOX 228                                                     DONIPHAN          MO           63935                   6002               Various                                                                                                $4.05
JON HAWKINS                   5846 BARCELONIA DR SE                                            SALEM             OR           97317                   6004               Various                                                                                               $20.00
JON HENGEL                    N5975 LAPLANT ROAD                                               PORTERFIELD       WI           54159                   6004               Various                                                                                                $2.72
JON HOOVESTAL                 380 HAPPY TRL                                                    HELENA            MT           59602                   6002               Various                                                                                                $9.92
JON JILEK                     26840 COUNTY HWY M                                               HOLCOMBE          WI           54745                   6004               Various                                                                                               $15.00
JON KOELLER                   W10096 CTY RD VV                                                 GRESHAM           WI           54128                   6002               Various                                                                                                $6.22
JON LARSEN                    604 SO. PEARL                                                    ELK POINT         SD           57025                   6004               Various                                                                                               $52.00
JON LARSON                    209 S ST CHARLES                                                 SALMON            ID           83467                   6002               Various                                                                                                $6.63




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                                                                                                                                                        Account         Incurred, Basis for
             Creditor Name                    Address1              Address2         Address3              City       State           Zip   Country     Number                Claim                                                                             Total Claim
JON LONGFIELD SR.                 212 STATE ST                  PO BOX 344                        CAMBRIA          WI         53923                 6004                Various                                                                                             $5.00
JON MASSAD                        PO BOX 1033                                                     SISTER BAY       WI         54234                 6002                Various                                                                                             $7.40
JON MILLER                        2373 ROLLING HILLS LOOP                                         COUNCIL BLUFFS   IA         51503                 6004                Various                                                                                           $227.00
JON MONVILLE                      11900 W. BLUE GRASS TRAIL                                       BLAND            VA         24315                 6004                Various                                                                                            $25.00
JON MUNDELL                       3726 MARKET ST NE                                               EYOTA            MN         55934                 6002                Various                                                                                             $6.05
JON NELSON                        1401 PINEHURST RD.                                              MARSHALL         MN         56258                 6004                Various                                                                                            $23.75
JON NEWBERG                       2202 RANKIN STREET                                              MANITOWOC        WI         54220                 6004                Various                                                                                             $2.00
JON NEWMAN                        230 W 3RD ST                  #113                              DULUTH           MN         55806                 6004                Various                                                                                             $3.00
JON OREILLY                       M104 HIGHWAY 97                                                 MARSHFIELD       WI         54449                 6002                Various                                                                                             $6.16
JON PAULSON                       421 W 4TH STREET                                                BLAIR            WI         54616                 6004                Various                                                                                             $5.00
JON SORENSEN                      240 21ST ST SE                                                  MASON CITY       IA         50401                 6002                Various                                                                                             $8.05
JON TONSAGER                      N3206 490TH ST                                                  BAY CITY         WI         54723                 6002                Various                                                                                             $0.85
JON VANDEHEY                      1945 GREEN TREE RD                                              JUNCTION CITY    WI         54443                 6004                Various                                                                                            $25.00
JON WOHLFEIL                      2593 HAZELWOOD LN                                               GREEN BAY        WI         54304                 6004                Various                                                                                             $1.52
JON WRIGHT                        1883 N 210 W                                                    TOOELE           UT         84074                 6004                Various                                                                                             $5.00
JONAH BERG                        2910 N LANE                                                     EAU CLAIRE       WI         54703                 6002                Various                                                                                             $1.18

JONAH LUDTKE                      120 1/2 NORTH TERRACE STREET                                    DELAVAN          WI         53115                  6004               Various                                                                                             $1.00
JONAH RUTGERS                     308 S 1ST ST                                                    MARSHALL         MN         56258                  6004               Various                                                                                             $3.00
JONAH SAM                         425 S 100TH W                                                   TREMONTON        UT         84337                  6002               Various                                                                                             $5.18
JONAH SHELL                       232 PRENTICE ST N APT 8                                         STEVENS POINT    WI         54481                  6002               Various                                                                                             $0.93
JONALYN SULLIVAN                  631 SOUTH 11TH               APT 6                              LINCOLN          NE         68508                  6004               Various                                                                                             $4.00
JONAS HOSTETLER                   21847 320TH ST                                                  JAMESPORT        MO         64648                  6002               Various                                                                                             $8.03
JONAS JACOBSON                    N3077 SOUTH END RD                                              MERRILL          WI         54452                  6004               Various                                                                                            $10.00
JONAS SERVICE & SUPPLY INCORPO    PO BOX 670587                                                   DETROIT          MI         48267-0587             6226               Various                                                                                         $3,021.84
JONAS WAGNER                      4103 OREGON ST.                                                 OSHKOSH          WI         54902                  6004               Various                                                                                            $25.00
JONATHAN ANNALA                   1329 N 2ND ST                                                   ISHPEMING        MI         49849                  6002               Various                                                                                             $3.45
JONATHAN BAKE                     PO BOX 2022                                                     LEWISTON         ID         83501                  6002               Various                                                                                             $4.79
JONATHAN BARTHELS                 520 BARTHELS ROAD                                               TWO RIVERS       WI         54241                  6004               Various                                                                                            $23.00

JONATHAN BEHNKE                   N4771 HUGO LANE NUMBER 11.5                                     MENOMINEE        MI         49858                  6002               Various                                                                                                $6.88
JONATHAN CHA ALSBURY              1817 E PERSHING ST                                              APPLETON         WI         54911                  6002               Various                                                                                                $4.30
JONATHAN CHRISTIANSON             436 MARATHON DRIVE                                              BILLINGS         MT         59102                  6004               Various                                                                                                $1.23
JONATHAN COOLIDGE                 1136 3RD ST NW                                                  MASON CITY       IA         50401                  6004               Various                                                                                               $73.99
JONATHAN CURTO                    56195 CALUMENT AVE ZZ                                           CALUMET          MI         49913                  6002               Various                                                                                                $6.88
JONATHAN D STRANDERFER            1618 8TH AVE NE                                                 ROCHESTER        MN         55906                  6002               Various                                                                                                $9.12
JONATHAN ESPINOZA                 145 NORTH JEFFERSON STREET                                      NAMPA            ID         83651                  6004               Various                                                                                                $5.00
JONATHAN GARFIELD                 651 W 260 N                                                     SPANISH FORK     UT         84660                  6004               Various                                                                                               $20.00
JONATHAN GUTIERREZ                1570 EAST MADSION ST APT 1                                      EAU CLAIRE       WI         54703                  6004               Various                                                                                                $1.00
JONATHAN HARRIS                   400 E THOMAS ST                                                 WAUSAU           WI         54403                  6004               Various                                                                                                $4.00
JONATHAN HEFFERNAN                1300 W EDMUND DR                                                APPLETON         WI         54914                  6002               Various                                                                                                $2.66
JONATHAN HINTZ                    318 W CENTER ST APT 2                                           PINE ISLAND      MN         55963                  6002               Various                                                                                                $1.37
JONATHAN IGLESIAS                 1740 OCEAN AVE APT                                              BROOKLYN         NY         11230                  6002               Various                                                                                                $0.82
JONATHAN KERIDWYN                 1705 E F STREET                                                 MOSCOW           ID         83843                  6004               Various                                                                                               $29.99
JONATHAN KLINGBEIL                N2661 LEMKE DR                                                  ATHENS           WI         54411                  6004               Various                                                                                               $25.00
JONATHAN KNEPP                    802 E. 6TH APT 8                                                NORTH PLATTE     NE         69101                  6004               Various                                                                                                $7.00
JONATHAN L EDWARDS                210 N CENTER ST                                                 BYRON            WY         82412                  6002               Various                                                                                                $3.92
JONATHAN LOBATO                   1120 W 3000TH S                                                 PERRY            UT         84302                  6002               Various                                                                                               $10.00
JONATHAN M DODSON                 1115 N 11TH ST                                                  COEUR D ALENE    ID         83814                  6002               Various                                                                                                $2.16
JONATHAN MCCONNELL                2237 VICTORIA DRIVE                                             MANITOWOC        WI         54220                  6004               Various                                                                                               $28.02
JONATHAN MINEAU                   N15189 PINE DR                                                  WILSON           MI         49896                  6002               Various                                                                                                $6.96
JONATHAN MOTT                     3979 W. 5000 S.                                                 WESTON           ID         83286                  6004               Various                                                                                               $16.00
JONATHAN NITEK                    37825 JEFFREY AVE                                               NORTH BRANCH     MN         55056                  6002               Various                                                                                                $4.11
JONATHAN PAUL                     N 502 BRILL RD                                                  BIRCHWOOD        SD         54817                  6002               Various                                                                                                $9.45




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             Creditor Name                Address1            Address2         Address3              City        State           Zip   Country     Number                Claim                                                                             Total Claim
JONATHAN PURSEL               PO BOX 124                                                    PECK              ID         83545                 6002                Various                                                                                             $3.37
JONATHAN QUEEN                775 EAST BELLEVIEW          APT D                             WINONA            MN         55987                 6004                Various                                                                                             $3.00
JONATHAN RAPP                 1627 S PINE                                                   GRAFTON           WI         53024                 6004                Various                                                                                            $42.00
JONATHAN SAMPSON              1244 9TH AVE                                                  HELENA            MT         59601                 6004                Various                                                                                             $4.00
JONATHAN SAYLORS              153 COLUMBIA ST NW                                            POPLAR GROVE      IL         61065                 6004                Various                                                                                             $3.90
JONATHAN SCHUMACHER           1848 GREEN VALLEY DR                                          JANESVILLE        WI         53546                 6004                Various                                                                                            $22.50
JONATHAN SISEL                N3176 STODOLA ROAD                                            LUXEMBURG         WI         54217                 6004                Various                                                                                            $19.00
JONATHAN STENCIL              1256 COUNTY ROAD U                                            EDGAR             WI         54426                 6004                Various                                                                                           $159.98
JONATHAN STOLP                13233 39TH AVE N                                              CHIPPEWA FALLS    WI         54729                 6004                Various                                                                                            $15.00
JONATHAN STRICK               1007 PARK AVE                                                 LITTLE CHUTE      WI         54140                 6002                Various                                                                                             $1.92
JONATHAN THOMPSON             4503 FAIRBROOK DR                                             YAKIMA            WA         98908                 6004                Various                                                                                            $15.80
JONATHAN UNDERWOOD            473 RANGER DR SE                                              OLYMPIA           WA         98503                 6004                Various                                                                                            $25.00
JONATHAN VALDEZ               P.O. BOX 1202                                                 WAUTOMA           WI         54982                 6004                Various                                                                                             $3.27
JONATHAN VIC GRAHAM           1326 CRYSTAL CT                                               WAUPACA           WI         54981                 6002                Various                                                                                             $3.42
JONATHAN W HILL               531 N MAIN ST                                                 LAKE MILLS        WI         53551                 6002                Various                                                                                             $4.30
JONATHAN W SEXTON             201 E HARRISON AVE                                            COEUR D ALENE     ID         83814                 6002                Various                                                                                             $0.36
JONATHAN WILSON               1045 S 1200TH W                                               SLATERVILLE       UT         84404                 6002                Various                                                                                             $5.42
JONATHON AVALOS               404 2ND ST SE                                                 AUSTIN            MN         55912                 6004                Various                                                                                             $3.00
JONATHON BREHM                B1171 KINGTON RD                                              UNITY             WI         54488                 6002                Various                                                                                             $0.60
JONATHON BUTLER               3634 UNION STREET                                             MADISON           WI         53704                 6004                Various                                                                                             $1.00
JONATHON C MORTON             1019 15TH ST N PRERELEASE                                     GREAT FALLS       MT         59404                 6002                Various                                                                                             $1.12
JONATHON DEWALT               301 SOUTH WEBER AVE         LOT 8                             STRATFORD         WI         54484                 6004                Various                                                                                            $21.00
JONATHON FARR                 1355 N 800 E # 23C                                            LOGAN             UT         84341                 6004                Various                                                                                            $18.01
JONATHON KELLER               10096 CTY RD VV                                               GRESHAM           WI         54128                 6002                Various                                                                                             $4.52
JONATHON LEWIS                533 1/2 S 4TH ST                                              GREYBULL          WY         82426                 6002                Various                                                                                             $0.58
JONATHON MUNOZ                575 OAK STREET                                                SCANDINAVIA       WI         54977                 6004                Various                                                                                            $25.00
JONATHON PAU BAUER            440 E WALL ST                                                 ELLSWORTH         WI         54011                 6002                Various                                                                                             $8.71
JONATHON TASSOUL              619 N ASHLAND AVENUE                                          GREEN BAY         WI         54303                 6004                Various                                                                                             $2.00
JONATHON WEGSCHEID            452 4TH ST NW                                                 PERHAM            MN         56573                 6002                Various                                                                                             $1.95
JONEE MARIS                   80791 ROAD 458                                                COMSTOCK          NE         68828                 6002                Various                                                                                             $3.86

JONELL GYTON                  5122 S 100TH E                                                WASHINGTON TERR   UT         84405                   6002              Various                                                                                                $1.37
JONELLE WALTER                58965 HILMAN RD                                               GLENWOOD          IA         51534                   6002              Various                                                                                                $2.60
JONES FAMILY                  29 MUSTANG LN                                                 CODY              WY         82414                   6002              Various                                                                                                $4.71
JONES NATURALS LLC            4960 28TH AVENUE                                              ROCKFORD          IL         61109-0000              7010              Various                                                                                                $0.02

JONES/ BRUCE                  STORE 2-139                 SHOPKO EMPLOYEE                   GREEN BAY         WI         54307-9060             3102               Various                                                                                                $7.38

JONES/ LAVONNE                STORE 2-052                 SHOPKO EMPLOYEE                   GREEN BAY         WI         54307-9060             1330               Various                                                                                                $1.08
JONET ARQUETTE                1002 BLUE HERON ROAD                                          TOPPENISH         WA         98948                  6004               Various                                                                                               $76.48
JONG HER                      610 ERIN STREET                                               EAU CLAIRE        WI         54703                  6004               Various                                                                                                $3.00
JONI BELAIR                   8502 MORMON BRIDGE ROAD     NOVA                              OMAHA             NE         68152                  6004               Various                                                                                               $20.00
JONI BLISS                    W6339 WENDTLAND ROAD                                          ONALASKA          WI         54650                  6004               Various                                                                                               $70.00
JONI FRIES                    6105 CAMP PHILLIPS RD                                         SCHOFIELD         WI         54476                  6004               Various                                                                                               $10.00
JONI JAMES                    11 SHAMROCK LN                                                SALMON            ID         83467                  6002               Various                                                                                                $1.97
JONI LEPOW                    704 CENTER ST                                                 KEWAUNEE          WI         54216                  6002               Various                                                                                                $1.42
JONI PACKARD                  4648 SAWTOOTH LN.                                             POCATELLO         ID         83202                  6004               Various                                                                                               $19.50
JONI PRESS                    118 PEARL ST.                                                 SHARON            WI         53585                  6004               Various                                                                                               $14.98
JONNA BARNES                  PO BOX 2789                                                   LAPINE            OR         97739                  6004               Various                                                                                               $20.00
JONNA HAYWOOD                 BOX 2142                                                      OROFINO           ID         83544                  6002               Various                                                                                                $0.58
JONNA ROSSOW                  1944 AIRSTRIP ROAD                                            REDDING           CA         96003                  6004               Various                                                                                               $10.00
JONNA SPRAGUE                 101 6TH AVE                                                   ARMSTRONG         IA         50514                  6004               Various                                                                                                $3.00
JONNI GOETZ                   56386 270TH ST                                                AUSTIN            MN         55912                  6004               Various                                                                                                $3.00
JONNI WEBSTER                 610 S OAKLAND AVE                                             GREEN BAY         WI         54303                  6004               Various                                                                                                $1.00




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              Creditor Name                Address1              Address2            Address3              City       State           Zip   Country     Number                Claim                                                                             Total Claim
JONNY WALLA                    PO BOX 694                                                         COKATO           MN         55321                 6002                Various                                                                                                $5.92
JOPLIN TAGUE                   612 N DAVIS AVE                                                    OAKLAND          NE         68045                 6002                Various                                                                                                $8.44
JORDAN BALES                   101 1/2 E LYON ST - MC JAIL                                        MINNEOTA         MN         56264                 6002                Various                                                                                                $4.11
JORDAN BALLARD                 2449 DAWES PL UNIT K                                               RIVER FALLS      WI         54022                 6002                Various                                                                                                $4.11
JORDAN BELL                    4815 1/2 WILSON RD                                                 HARVARD          IL         60033                 6002                Various                                                                                                $2.05
JORDAN BLANCO                  2104 FALCON TER NW                                                 STEWARTVILLE     MN         55976                 6002                Various                                                                                                $5.07
JORDAN BREWER                  2338 S 600 E                                                       SALT LAKE CITY   UT         84106                 6004                Various                                                                                               $49.99
JORDAN BUELTEMAN               3920 HALL AVE. LOT. 1                                              MARINETTE        WI         54143                 6004                Various                                                                                               $10.00
JORDAN BUGGS                   111 W HIGH ST                                                      MILTON           WI         53563                 6004                Various                                                                                               $25.00
JORDAN CAWOOD                  319 N MAIN ST APT 7                                                HARTFORD         WI         53027                 6002                Various                                                                                                $5.07
JORDAN D. HEAP                 1085 GRANDVIEW DR                                                  BRIGHAM CITY     UT         84302                 6002                Various                                                                                                $1.01
JORDAN DAHLKE                  2611 FAIRFIELD CT                                                  APPLETON         WI         54911                 6002                Various                                                                                                $1.84
JORDAN DONAHUE                 4755 HAYES AVE TRLR 42                                             PLOVER           WI         54467                 6002                Various                                                                                                $3.67
JORDAN DOWDY                   BOX 635                                                            UPTON            WY         82730                 6002                Various                                                                                                $6.38
JORDAN DREESZEN                3905 RANDOLPH                                                      LINCOLN          NE         68510                 6004                Various                                                                                               $15.00
JORDAN DROHMAN                 PO BOX 130                                                         DAVENPORT        NE         68335                 6002                Various                                                                                                $2.19
JORDAN DUBOIS                  609 N OTTAWA AVE                                                   DIXON            IL         61021                 6002                Various                                                                                                $7.04
JORDAN EWERT                   1104 HUS DRIVE                                                     WATERTOWN        WI         53098                 6004                Various                                                                                                $3.98
JORDAN FILTER                  820 DELAWARE AVE APT K                                             GRAFTON          WI         53024                 6002                Various                                                                                                $0.55
JORDAN FINN                    915 FOX CREEK DR                                                   WATERTOWN        WI         53098                 6002                Various                                                                                                $1.01
JORDAN FLYNN                   30496 550TH ST                                                     PLAINVIEW        MN         55964                 6002                Various                                                                                                $1.37
JORDAN GATHJE                  17490 SUGARLOAF PARKWAY                                            ZUMBROTA         MN         55992                 6004                Various                                                                                                $6.12
JORDAN GREGOR                  5792 COUNTY ROAD I LOT 47                                          OCONTO FALLS     WI         54154                 6004                Various                                                                                                $1.00
JORDAN GROBSTICK               840 KANE STREET                                                    DUBUQUE          IA         52001                 6004                Various                                                                                                $5.98
JORDAN HAGENBUCHER             2201 APPLE COURT                                                   MOSINEE          WI         54455                 6004                Various                                                                                               $44.00
JORDAN HALL                    1731 DEVOE DR                                                      LINCOLN          NE         68507                 6004                Various                                                                                                $5.02
JORDAN HAZELTINE               530 N ADAMS ST                                                     JANESVILLE       WI         53545                 6004                Various                                                                                               $19.50
JORDAN HOUGHTON                690 E CANAL ROAD                                                   SALEM            UT         84653                 6004                Various                                                                                               $26.00
JORDAN HOVE                    W11302 840TH AVE.                                                  RIVER FALLS      WI         54022                 6004                Various                                                                                                $2.00
JORDAN HUSS                    182 BRULE RD                                                       DE PERE          WI         54115                 6002                Various                                                                                                $0.74
JORDAN HYLBERT                 719 CRICKET LANE #3                                                MIDDLETON        WI         53562                 6004                Various                                                                                               $30.00
JORDAN KING                    W7066 WINNEGAMIE DR.                                               APPLETON         WI         54914                 6004                Various                                                                                                $1.00
JORDAN KUHLMANN                1639 PROSPECT ST APT 7                                             LA CROSSE        WI         54603                 6002                Various                                                                                                $8.96
JORDAN LABARGE                 W9744 W 24TH RD                                                    POUND            WI         54161                 6002                Various                                                                                                $0.79
JORDAN LINDGREN                904 3RD STREET                                                     DE PERE          WI         54115                 6004                Various                                                                                               $25.00
JORDAN LLEWELLYN               153 W 250 N                                                        CLEARFIELD       UT         84015                 6004                Various                                                                                                $6.00
JORDAN MADER                   437 N FRANCES ST              APT 1038                             MADISON          WI         53703                 6004                Various                                                                                               $46.00
JORDAN MANNING                 1411 N FEDERAL AVE                                                 MASON CITY       IA         50401                 6002                Various                                                                                                $1.62
JORDAN MARSKE                  300 SOUTH 1ST ST                                                   CAMERON          WI         54822                 6004                Various                                                                                               $37.07
JORDAN MESTER                  1030 JACKSON                                                       QUINCY           IL         62301                 6004                Various                                                                                                $2.00
JORDAN NIEMUTH                 W6970 CTY RD Q                                                     WATERTOWN        WI         53098                 6002                Various                                                                                                $5.23
JORDAN PANGRAZZI               248 BERWYN AVE                                                     GREEN BAY        WI         54302                 6004                Various                                                                                                $3.99
JORDAN PAULSON                 1025 N COLFAX ST                                                   WEST POINT       NE         68788                 6002                Various                                                                                                $6.68
JORDAN PODOLL                  2015 SCHEURING RD APT 1                                            DE PERE          WI         54115                 6004                Various                                                                                               $30.00
JORDAN POSVIC                  3628 FAIRVIEW RD                                                   GREEN BAY        WI         54313                 6004                Various                                                                                               $25.00
JORDAN PUCCIO                  626 TROY DRIVE                                                     MADISON          WI         53704                 6004                Various                                                                                                $5.40
JORDAN RIVIERE                 11112 64TH ST                                                      KENOSHA          WI         53142                 6004                Various                                                                                               $14.95
JORDAN ROSSMAN                 PO BOX 275                                                         KIMBALL          MN         55353                 6002                Various                                                                                                $2.96
JORDAN ROYLANCE                920 E 140TH N                                                      LINDON           UT         84042                 6002                Various                                                                                                $8.27
JORDAN S HATFIELD              138 N ASH ST                                                       AINSWORTH        NE         69210                 6002                Various                                                                                                $7.73
JORDAN SHEPARD                 328 SIXTH STREET                                                   BARABOO          WI         53913                 6004                Various                                                                                               $10.00
JORDAN STEHULA                 608 VALLEY LANE                                                    REEDSVILLE       WI         54230                 6004                Various                                                                                                $2.00
JORDAN STIRLING                845 AVE E                                                          BILLINGS         MT         59102                 6004                Various                                                                                               $20.00
JORDAN STOECKLIN               1145 FOX RIDGE AVE # APT3                                          LANCASTER        WI         53813                 6002                Various                                                                                                $1.73




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                                                                                                                                                                                           Contingent


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                                                                                                                                                     Account         Incurred, Basis for
             Creditor Name                   Address1           Address2        Address3             City          State           Zip   Country     Number                Claim                                                                             Total Claim
JORDAN THOMLISON                  1407 ALPHA ST.                                             NORTH PLATTE       NE         69101                 6004                Various                                                                                                $2.50
JORDAN UGLOW                      5541 S 72                                                  LINCOLN            NE         68516                 6004                Various                                                                                               $10.00
JORDAN VAALER                     334 LEE ST                                                 HOLMEN             WI         54636                 6004                Various                                                                                                $1.00
JORDAN WEDGEWORTH                 4609 RICHEY RD                                             YAKIMA             WA         98908                 6004                Various                                                                                               $15.02
JORDAN WELDON                     N6842 570TH ST                                             BELDENVILLE        WI         54003                 6002                Various                                                                                                $1.62
JORDAN WIKEL                      19 EAGLES PERCH CIRCLE                                     MADISON            WI         53718                 6004                Various                                                                                               $25.00
JORDAN WILBUR                     663 N 970 W                                                PROVO              UT         84601                 6004                Various                                                                                               $35.00

JORDAN WINTERS                    3140 MARIGOLD AVE                                          WISCONSIN RAPIDS   WI         54495                  6004               Various                                                                                                $1.00
JORDON ALTISER                    300 S MAIN ST                                              NEWTOWN            MO         64667                  6002               Various                                                                                                $7.73
JORDYN BOYLES                     713 N 13TH AVE                                             BROKEN BOW         NE         68822                  6002               Various                                                                                                $8.25
JORDYN HICKMAN                    115 EAST FRONT STREET                                      BYRON              IL         61010                  6004               Various                                                                                               $31.99
JORDYN PEDERSTUEN                 400 ELM AVE.                                               CAMERON            WI         54822                  6004               Various                                                                                                $3.00
JORDYN ROBINSON                   1012 ELLIS ST                                              KEWAUNEE           WI         54216                  6002               Various                                                                                                $3.51
                                  5148 SOUTH AUTUMN WOOD
JOREN BUSH                        LANE                                                       SALT LAKE CITY     UT         84129                   6004              Various                                                                                               $24.00
JORGE A GONZALEZ CHAVIRA          E9625 CTY RD E                                             ELK MOUND          WI         54739                   6002              Various                                                                                                $0.33
JORGE ALEJO RUBIO                 1011 4TH AVE NW                                            AUSTIN             MN         55912                   6004              Various                                                                                               $78.54
                                  470 S WASHINGTONPO BOX #
JORGE BANUELOS J                  154                                                        AFTON              WY         83110                  6002               Various                                                                                             $6.19
JORGE DOMINGUEZ                   809 WILSHIRE DR                                            GENOA              IL         60135                  6004               Various                                                                                            $40.00
JORGE GARCIA NARANJO              4021 NICHOLAS ST                                           OMAHA              NE         68131                  6004               Various                                                                                            $15.02
JORGE HERNANDEZ                   PO BOX 3132                                                KETCHUM            ID         83340                  6002               Various                                                                                             $7.23
JORGE PERALTA                     242 N. WATERTOWN ST                                        JOHNSON CREEK      WI         53038                  6004               Various                                                                                            $21.00
JORGE RODRIGUEZ                   1992 LAKE SHORE DR                                         BELVIDERE          IL         61008                  6004               Various                                                                                             $9.99
JORGE ZARATE                      812 S 660TH W                                              TREMONTON          UT         84337                  6002               Various                                                                                             $5.34
JORGENSON DRUG INCORPORATED LL    PO BOX 167                                                 MELSTONE           MT         59054                  2840               Various                                                                                           $450.00
JORGIE ALLEN                      6770 W 2400TH N                                            CORINNE            UT         84307                  6002               Various                                                                                             $1.97
JORJE TALAVERA                    811 GOODMAN STREET                                         SPARTA             WI         54656                  6004               Various                                                                                            $45.00
JORY BOWEN                        2236 W 12TH ST                                             DULUTH             MN         55806                  6002               Various                                                                                             $0.77
JORY FUENTEZ                      2121 NW BYPASS                                             GREAT FALLS        MT         59404                  6002               Various                                                                                             $1.32
JORY LESHER                       1305 MILLER ST                                             CHILLICOTHE        MO         64601                  6002               Various                                                                                            $18.47
JORY OLEARY                       821 SO ST # 19TH                                           MANITOWOC          WI         54220                  6002               Various                                                                                             $7.07
JORY PARK                         457 E 19TH STREET                                          IDAHO FALLS        ID         83404                  6004               Various                                                                                            $31.00
JOS YANG                          1541 OJIBWA LN.                                            PLOVER             WI         54467                  6004               Various                                                                                            $20.00
JOSE AGUILAR                      3143 46TH AVE                                              OLYMPIA            WA         98506                  6004               Various                                                                                             $5.00
JOSE ALVARADO                     1625 WHITNEY BLVD                                          BELVIDERE          IL         61008                  6004               Various                                                                                            $19.00
JOSE ALVAREZ                      4249 S 2900 W                                              ROY                UT         84067                  6004               Various                                                                                            $16.90
JOSE BARAY                        241 S 100TH W                                              SPANISH FORK       UT         84660                  6002               Various                                                                                            $10.00
JOSE BELECHE                      741 N 8TH AVE                                              WALLA WALLA        WA         99324                  6004               Various                                                                                            $10.00
JOSE CAMACHO                      309 E. WATER ST                                            WATERTOWN          WI         53094                  6004               Various                                                                                            $42.00
JOSE CANCHOLA                     114 W MAIN ST                                              ARCADIA            WI         54612                  6002               Various                                                                                             $5.95
JOSE COLLAZO                      201 PARK VIEW RD                                           DEERFIELD          WI         53531                  6004               Various                                                                                             $1.97
JOSE CONTRERAS                    2900 SPRING STREET                                         RACINE             WI         53405                  6004               Various                                                                                             $2.02

JOSE CORTEZ                       1255 N. MEADOWLAND LANE #58                                BOISE              ID         83713                  6004               Various                                                                                                $3.65
JOSE COSTILLA                     87064 494TH AVE LOT 32                                     ONEILL             NE         68763                  6002               Various                                                                                                $5.97
JOSE DE LEON OCHOA                729 N. DIVISION ST                                         APPLETON           WI         54911                  6004               Various                                                                                                $5.00
JOSE DELGADO                      47555 SCHOOL STREET                                        OAKRIDGE           OR         97463                  6004               Various                                                                                               $69.18
JOSE ESQUIVEL                     3425 CHURCH ST                                             STEVENS POINT      WI         54481                  6002               Various                                                                                                $7.89
JOSE ESTRADA                      513 MT. ADAMS ST                                           MOXEE              WA         98936                  6004               Various                                                                                               $10.03
JOSE FAJARDO                      672 EAST 7TH STREET                                        WINONA             MN         55987                  6004               Various                                                                                                $3.00
JOSE FIGUEROA                     2355 D AVE                                                 OGDEN              UT         84401                  6002               Various                                                                                                $2.90
JOSE FUENTES                      PO 4395                                                    EAGLE PASS         TX         78852                  6004               Various                                                                                                $6.00




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              Creditor Name                Address1              Address2         Address3             City        State           Zip   Country     Number                Claim                                                                             Total Claim
JOSE FUSTE                      1314 GREEN VOSTAS DR                                           WAUSAU           WI         54403                 6002                Various                                                                                                $9.40
JOSE GODINEZ                    827 N SYCAMORE AVE                                             PASCO            WA         99301                 6002                Various                                                                                                $1.29
JOSE GUADALU GUZMAN GARCIA      2610 N LEXINGTON DR APT 1                                      JANESVILLE       WI         53545                 6002                Various                                                                                                $0.99
JOSE HERRERA                    1045 S 1200TH W # 6                                            OGDEN            UT         84404                 6002                Various                                                                                                $0.96
JOSE I. ACOSTA-DE LEON          303 E OAK ST LOT 8                                             ABBOTSFORD       WI         54405                 6002                Various                                                                                                $4.47
JOSE IRAHETA                    4511 E 3RD ST                                                  SIOUX FALLS      SD         57110                 6004                Various                                                                                               $20.00
JOSE JESUS MARTIN               8 IRONWOOD DR                                                  COTTONWOOD       ID         83522                 6002                Various                                                                                                $7.15
JOSE JR HERNANDEZ               PO BOX 3887                                                    KETCHUM          ID         83340                 6004                Various                                                                                                $3.65
JOSE JR. GONZALES               PO BOX 373 PMB 280                                             HUDSON           WY         82515                 6002                Various                                                                                                $6.33
JOSE L ANDINO                   903 JUNEAU ST                                                  KEWAUNEE         WI         54216                 6002                Various                                                                                                $8.60
JOSE LANDEROS                   682 E MAPLE STREET                                             MAPLETON         UT         84664                 6004                Various                                                                                               $21.98
                                                             4188 NOLA LOOP
JOSE LOPEZ                      APT B305                     ROAD                              YAKIMA           WA         98901                  6004               Various                                                                                               $10.20
JOSE LUIS RAYA ROMERO           405 W 2ND ST                                                   PILGER           NE         68768                  6002               Various                                                                                                $7.26
JOSE MARTINEZ                   PO BOX 20651                                                   BILLINGS         MT         59104                  6002               Various                                                                                                $5.53
JOSE MARTINEZ BARLLIAS          8257 CTY RD F                                                  BERLIN           WI         54923                  6002               Various                                                                                               $10.00
JOSE MARTINEZ RODRIGUEZ         141 JENNA DR                                                   VERONA           WI         53593                  6004               Various                                                                                               $21.00
JOSE MASCORRO                   154 NORTH KILDEER WAY                                          NAMPA            ID         83651                  6004               Various                                                                                               $35.00
JOSE MENDEZ                     W8508 HIGH WAY 60                                              ARLINGTON        WI         53911                  6004               Various                                                                                                $5.70
JOSE MERCADO                    14 SOUTH WHITTON STREET                                        WHITEWATER       WI         53190                  6004               Various                                                                                               $25.00
JOSE MONTIEL                    2160 BANCROFT ST                                               OMAHA            NE         68108                  6004               Various                                                                                               $23.00
JOSE MORA                       713 YAKIMA STREET                                              CASHMERE         WA         98815                  6004               Various                                                                                                $2.48
JOSE MORALES                    4914 43RD AVE                                                  KENOSHA          WI         53144                  6004               Various                                                                                               $46.96
JOSE NATIVIDAD                  1618 MARION RD SE                                              ROCHESTER        MN         55904                  6002               Various                                                                                                $0.79
JOSE NAVARRO                    1618 MARION RD SE TRLR 124                                     ROCHESTER        MN         55904                  6002               Various                                                                                               $10.00
JOSE NOLASCO                    435 N 7TH STREET                                               MANITOWOC        WI         54220                  6004               Various                                                                                                $3.00
JOSE NUNEZ-MARTINEZ             2930 QUAIL RIDGE RD                                            EAU CLAIRE       WI         54701                  6004               Various                                                                                               $39.68
JOSE ORZUNA                     3724 LEON ROAD                                                 MADISON          WI         53704                  6004               Various                                                                                               $34.70
JOSE P GARICA                   643 N WALTON DR                                                WHITEWATER       WI         53190                  6002               Various                                                                                                $8.14
JOSE PADILLA                    872 ELMORE ST                                                  GREEN BAY        WI         54303                  6004               Various                                                                                               $20.00
JOSE PEREZ                      4281 S. WHIPOORWHIL ST.                                        SALT LAKE CITY   UT         84120                  6004               Various                                                                                               $21.06
JOSE RAMIREZ                    139 BURCHARD ST                                                BEAVER DAM       WI         53916                  6004               Various                                                                                                $2.00
JOSE RANGEL MAURICIO            550 E 1500TH N                                                 SHELLEY          ID         83274                  6002               Various                                                                                                $9.51
JOSE RENTERIA                   1618 MARION RD SE                                              ROCHESTER        MN         55904                  6002               Various                                                                                                $8.22
JOSE RIVERA VENEGAS             1662 LINCOLN AVE                                               WAUTOMA          WI         54982                  6002               Various                                                                                                $6.93
JOSE RODRIGUEZ                  622 E RANDALL ST                                               APPLETON         WI         54911                  6002               Various                                                                                                $5.23
JOSE RODRIGUEZ JR               PO BOX 1714                                                    NORTH PLATTE     NE         69103                  6002               Various                                                                                                $6.22
JOSE ROJO                       6785 SCHROEDER ROAD 6                                          MADISON          WI         53711                  6004               Various                                                                                                $2.00
JOSE RUBIO                      4606 ONTARIO ST UNIT 4                                         AMES             IA         50014                  6002               Various                                                                                                $6.99
JOSE SALAS                      1218 ST ANDREWS RD                                             BELLEVUE         NE         68005                  6004               Various                                                                                               $16.00
JOSE SANCHEZ                    472 SPRUCE ST.                                                 ASHTON           ID         83420                  6004               Various                                                                                                $3.65
JOSE SERVIN BARRIENTOS          755 N TRATT ST #116                                            WHITEWATER       WI         53190                  6004               Various                                                                                                $3.99
JOSE VALENCIA                   P.O. BOX 462                                                   PARKER           WA         98939                  6004               Various                                                                                                $1.29
JOSE VARGAS                     PO BOX 2162                                                    PULLMAN          WA         99163                  6002               Various                                                                                                $4.16
JOSE VAZQUEZ                    850 ABRAMS ST                                                  GREEN BAY        WI         54302                  6002               Various                                                                                                $9.84
JOSE W RODRIGUEZ ORTIZ          702 E SPRUCE ST                                                RAWLINS          WY         82301                  6002               Various                                                                                                $8.05
JOSE XAVIER                     130 MELBOURNE DR                                               IDAHO FALLS      ID         83401                  6002               Various                                                                                                $6.93
JOSE ZERMENO                    2104 41ST ST AVE NE                                            SALEM            OR         97304                  6004               Various                                                                                                $7.70
JOSEF KRNAVEK                   6166 ALBERT LANE                                               NORTH BRANCH     MN         55056                  6004               Various                                                                                                $3.00
JOSEFA DIAZ                     1217 12 ST NW                                                  MASON CITY       IA         50401                  6004               Various                                                                                               $25.00
JOSEFA GA BELTRAN DE GUZMAN     1331 BELLEVUE ST LOT 54                                        GREEN BAY        WI         54302                  6002               Various                                                                                                $3.56
JOSEFINA TORRES ROMERO          1538 SPRING AVE LOT 31                                         WORTHINGTON      MN         56187                  6004               Various                                                                                               $39.00
JOSEFINA VELETA GARCIA          603 SCHOOL ST                                                  BERTRAND         NE         68927                  6002               Various                                                                                                $5.56
JOSEPH (DO NOT USE) MCINTEER    2340 WEST O LOT2                                               LINCOLN          NE         68528                  6004               Various                                                                                                $4.00




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                                                                                                                                                                                            Contingent


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                                                                                                                                                   Last 4 Digits of     Date Debt was
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              Creditor Name               Address1             Address2           Address3            City          State           Zip   Country     Number                Claim                                                                             Total Claim
JOSEPH A STACKHOUSE            1138 HIGHLAND AVE                                               BELOIT            WI         53511                 6002                Various                                                                                                $8.25
JOSEPH AINSWORTH               12255 KENT AVE                                                  OROFINO           ID         83544                 6002                Various                                                                                                $5.04
JOSEPH ALEMAN                  150 1/2 CENTRAL AVE                                             FOND DU LAC       WI         54935                 6002                Various                                                                                                $7.34
JOSEPH ALVIN SALSGIVER         601 WARREN LN                                                   SIDNEY            MT         59270                 6002                Various                                                                                                $8.99
JOSEPH ARCHIE                  978 N E HIDDEN VALLEY                                           BEND              OR         97701                 6004                Various                                                                                               $40.00
JOSEPH ARNOLD                  RR 8 BOX 1188                                                   DONIPHAN          MO         63935                 6002                Various                                                                                                $1.75
JOSEPH BADJE                   PO BOX 25                                                       RAKE              IA         50465                 6002                Various                                                                                                $6.79
JOSEPH BAECHTEL                5120 HIDDEN VALLEY DR.                                          HELENA            MT         59602                 6004                Various                                                                                               $20.00
JOSEPH BALES                   2203 W FAIDLEY AVE APT 1                                        GRAND ISLAND      NE         68803                 6002                Various                                                                                                $0.60
JOSEPH BARIL SR                3531 PARK RD                                                    GREENLEAF         WI         54126                 6002                Various                                                                                                $6.60

JOSEPH BENAVIDES               635 W PIERRE LN                                                 PORT WASHINGTON   WI         53074                  6002               Various                                                                                             $5.51
JOSEPH BERDECIA                820 4TH ST APT 106                                              HAVRE             MT         59501                  6002               Various                                                                                             $8.90
JOSEPH BILSKI                  401 E 5TH ST                                                    NEILLSVILLE       WI         54456                  6002               Various                                                                                             $4.22
JOSEPH BIRD                    312 VINE ST                                                     VILLA GROVE       IL         61956                  6002               Various                                                                                             $5.15
JOSEPH BLATTNER                1420 13TH STREET                                                AURORA            NE         68818                  6004               Various                                                                                             $4.00
JOSEPH BLODGETT                N891803RD ST                                                    MONDOVI           WI         54755                  6004               Various                                                                                             $4.00
JOSEPH BLOOMQUIST              1560 12TH ST SE                                                 FOREST LAKE       MN         55025                  6004               Various                                                                                             $3.00
JOSEPH BONIN                   1337 WUERTZBURG RD                                              ATHENS            WI         54411                  6002               Various                                                                                             $4.16
JOSEPH BONINO                  2690 RESEARCH PK DR # 304                                       FITCHBURG         WI         53711                  6002               Various                                                                                             $9.97
JOSEPH BRASHI                  239 THOMSON LN              UNIT A                              OREGON            WI         53575                  6004               Various                                                                                             $2.00
JOSEPH BRENNAN SR.             14405 S 35TH ST                                                 BELLEVUE          NE         68123                  6004               Various                                                                                            $33.00
JOSEPH BROWN                   261760 590THS                                                   MANTORVILLE       MN         55955                  6004               Various                                                                                            $87.34
JOSEPH BUDZINSKI               6949 SCHROEDER RD.          APT 304                             MADISON           WI         53711                  6004               Various                                                                                            $23.00
JOSEPH BUTKOVICH               128 RANCHETTES RD                                               BIGFORK           MT         59911                  6004               Various                                                                                           $129.10
JOSEPH CANDELARIO              160 E 800TH S # B212                                            BRIGHAM CITY      UT         84302                  6002               Various                                                                                             $2.55
JOSEPH CARRIVEAU               2520E HAVENWOOD DR                                              OSHKOSH           WI         54904                  6002               Various                                                                                             $1.32
JOSEPH CERUTTI                 2290 SURVEY RD                                                  DODGEVILLE        WI         53533                  6004               Various                                                                                             $5.40
JOSEPH CHAPA                   8118 64TH AVE                                                   KENOSHA           WI         53142                  6004               Various                                                                                            $19.00
JOSEPH CHECOLINSKI             3600 EVERGREEN DRIVE                                            PLOVER            WI         54467                  6004               Various                                                                                           $142.00
JOSEPH CHENIER                 412 S WALNUT AVE                                                MARSHFIELD        WI         54449                  6666               Various                                                                                            $27.02
JOSEPH CISLER                  2228 CTR V V                                                    TWO RIVERS        WI         54241                  6004               Various                                                                                            $25.00
JOSEPH CLARK                   841 TAYCO ST                                                    MENASHA           WI         54952                  6004               Various                                                                                            $21.00
JOSEPH COLLINS SR              2004 TULIP LANE                                                 BELLEVUE          NE         68005                  6004               Various                                                                                             $3.19
JOSEPH COSTELLO                517 WEST 8TH STREET                                             WINONA            MN         55987                  6004               Various                                                                                            $15.00
JOSEPH COURTRIGHT              7212 383RD ST                                                   NORTH BRANCH      MN         55056                  6004               Various                                                                                            $99.20
JOSEPH COVEY RICHARDS          2456 E BENGAL BEND CV                                           SALT LAKE CITY    UT         84121                  6002               Various                                                                                             $1.18
JOSEPH CRUTCHER                BOX 1491                                                        OROFINO           ID         83544                  6002               Various                                                                                             $1.15
JOSEPH CVANCARA                4425 E SILVER SPURS LANE                                        SPOKANE           WA         99217                  6004               Various                                                                                            $15.00
JOSEPH D BRENNAND              25 S 7TH AVE APT G                                              WINNECONNE        WI         54986                  6002               Various                                                                                             $2.11
JOSEPH D EVERHART              1916 S GRANT AVE                                                BOISE             ID         83706                  6002               Various                                                                                             $4.44
JOSEPH D HARRINGTON            1931 ELLEN ST #9                                                STURGIS           SD         57785                  6002               Various                                                                                             $3.53
JOSEPH DAYNEY                  4090 S WINDELL CIR                                              SALT LAKE CITY    UT         84124                  6002               Various                                                                                             $3.64
JOSEPH DEDERING                4 FAIRWAY CT                                                    APPLETON          WI         54915                  6004               Various                                                                                             $4.00
JOSEPH DUTKIEWICZ              625 TRUMPETER TRL UNIT 3                                        DE PERE           WI         54115                  6002               Various                                                                                             $0.52
JOSEPH E MERRILL               400 13TH ST                                                     ONAWA             IA         51040                  6002               Various                                                                                             $9.40
JOSEPH E TESAREK               29594 STATE HIGHWAY 11                                          BADGER            MN         56714                  6002               Various                                                                                             $0.77
JOSEPH EARL SHOPP              928 N UNION ST                                                  APPELTON          WI         54912                  6002               Various                                                                                            $10.00
JOSEPH F ARNDT                 138 BAY ST                                                      ELLSWORTH         WI         54011                  6002               Various                                                                                             $2.85
JOSEPH F BIKOWSKI              427 3RD ST                                                      OCONTO            WI         54153                  6002               Various                                                                                             $3.84
JOSEPH FAHEY                   2237 WINNAMAKEE                                                 WAUKON            IA         52172                  6002               Various                                                                                             $9.01
JOSEPH FAUGHT                  1140 1ST ST SE                                                  MASON CITY        IA         50401                  6002               Various                                                                                             $1.48
JOSEPH FERMANICH               1546 CROOKS ST                                                  GREEN BAY         WI         54302                  6004               Various                                                                                             $2.00
JOSEPH FISHER                  221890 GALAHAD                                                  BROOKFIELD        WI         53045                  6004               Various                                                                                             $4.32




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                                                                                                                                                                                                   Unliquidated
                                                                                                                                                                                      Contingent


                                                                                                                                                                                                                  Disputed
                                                                                                                                             Last 4 Digits of     Date Debt was
                                                                                                                                                Account         Incurred, Basis for
              Creditor Name                Address1          Address2        Address3             City        State           Zip   Country     Number                Claim                                                                             Total Claim
JOSEPH FITZGERALD              326 12TH ST SE                                             MASON CITY       IA         50401                 6002                Various                                                                                                $4.99
JOSEPH FOX                     4755 RIVERWOOD DR N                                        SALEM            OR         97303                 6004                Various                                                                                               $20.00
JOSEPH FRISCHMAN               PO BOX 72 W 3586 CO ROAD H                                 GRANTON          WI         54436                 6002                Various                                                                                               $52.05
JOSEPH GALLAGHER               1226 PARK AVE                                              LA CROSSE        WI         54601                 6004                Various                                                                                               $25.00
JOSEPH GERKEN                  PO BOX 126                                                 FOOTVILLE        WI         53537                 6002                Various                                                                                                $7.70
JOSEPH GIGLIOTTI               3512 ROOSEVELT ROAD                                        KENOSHA          WI         53142                 6002                Various                                                                                               $18.49
JOSEPH GILLUM                  171 200TH ST                                               TRIMONT          MN         56176                 6002                Various                                                                                                $3.73
JOSEPH GOVIER                  345 S G ST                                                 BROKEN BOW       NE         68822                 6002                Various                                                                                                $3.12
JOSEPH GRAF                    69 8TH ST                                                  CLINTONVILLE     WI         54929                 6002                Various                                                                                                $2.90
JOSEPH GROMACKI                2 KRESTELLER CR                                            MADISON          WI         53719                 6004                Various                                                                                                $5.40
JOSEPH GUSTAFSON               415 MAGEE STREET                                           MARSHFIELD       WI         54449                 6004                Various                                                                                                $1.58
JOSEPH HAUSAUER                1605 7TH ST SE #308                                        ST CLOUD         MN         56304                 6004                Various                                                                                               $80.00
JOSEPH HENNESSY                3003 W. FAIRVIEW AVE.                                      SPOKANE          WA         99205                 6004                Various                                                                                                $1.00
JOSEPH HERRICK                 705 E 7TH ST                                               SUPERIOR         NE         68978                 6002                Various                                                                                                $3.32
JOSEPH HOLLY                   1702 HOLLY LN                                              GRAFTON          WI         53024                 6002                Various                                                                                                $4.52
JOSEPH HUDOBA                  842 W 10TH ST APT 26                                       WINNER           SD         57580                 6002                Various                                                                                                $0.85
JOSEPH J (JO MCCABE            6654 S BOICE CREEK RD                                      LANCASTER        WI         53813                 6002                Various                                                                                                $6.36
JOSEPH J MURRAY                223 W 2ND ST                                               VALENTINE        NE         69201                 6002                Various                                                                                                $4.03
JOSEPH JABER                   629 S FRONT ST                                             NEWAYGO          MI         49337                 6002                Various                                                                                                $2.55
JOSEPH JACOBS                  1845 LITTLE BEAR RIDGE ROAD                                TROY             ID         83871                 6004                Various                                                                                               $32.00
JOSEPH JENSEN                  214 WEST BONDUEL ST                                        THERESA          WI         53091                 6004                Various                                                                                                $5.00
JOSEPH JOHNSON                 312 SOUTH STREET LOT 13                                    CORNELL          WI         54732                 6004                Various                                                                                                $9.00
JOSEPH JR RADER                1717 RIVERVIEW AVE                                         STEVENS POINT    WI         54481                 6002                Various                                                                                                $8.68
JOSEPH JUNG                    N5817 RITGER DR                                            FOND DU LAC      WI         54937                 6002                Various                                                                                                $4.77
JOSEPH JUREK                   24489 STATE HIGHWAY 15                                     DASSEL           MN         55325                 6002                Various                                                                                                $2.19
JOSEPH KALIS                   3836 9TH AVE SW                                            ROCHESTER        MN         55902                 6004                Various                                                                                               $30.00
JOSEPH KARALIS                 821 1/2 17TH AVE                                           MONROE           WI         53566                 6002                Various                                                                                                $8.99
JOSEPH KEMPFER                 59 PEARLESS RD                                             NEW GLARUS       WI         53574                 6004                Various                                                                                               $25.00
JOSEPH KINSELLA                4535 RIVER DR                                              PLOVER           WI         54467                 6004                Various                                                                                               $34.00
JOSEPH KLEPPS                  2001 MAIN STREET                                           STEVENS POINT    WI         54481                 6004                Various                                                                                               $23.00
JOSEPH KOCH                    N5521 MEMORY LN                                            FREDONIA         WI         53021                 6002                Various                                                                                                $4.52
JOSEPH L NEDZA                 104 VICKI LN APT 19                                        NORFOLK          NE         68701                 6002                Various                                                                                                $2.30
JOSEPH LANGE                   PO BOX 196                                                 COLBY            WI         54421                 6002                Various                                                                                                $3.26
JOSEPH LAUCHNOR                11849 SO. SILVER TRACE CIR.                                HERRIMAN         UT         84096                 6004                Various                                                                                                $1.00
JOSEPH LECLAIR                 3560 N FAUST LAKE RD                                       RHINELANDER      WI         54501                 6002                Various                                                                                                $1.62
JOSEPH LEE                     6012 FOWLER AVE                                            OMAHA            NE         68104                 6004                Various                                                                                               $25.00
JOSEPH LEPIANKA                W7276 E 6TH RD                                             POUND            WI         54161                 6002                Various                                                                                                $8.11
JOSEPH LESMEISTER              308 12TH ST E APT B                                        KALISPELL        MT         59901                 6002                Various                                                                                                $1.97
JOSEPH LIDTKE                  1020 12TH ST SE                                            ROCHESTER        MN         55904                 6002                Various                                                                                                $5.64
JOSEPH LINCICUM                1828 LACEY RD.                                             SOUTH WAYNE      WI         53587                 6004                Various                                                                                               $37.00
JOSEPH LIPPOLD                 5908 W. PARK PL                                            PASCO            WA         99301                 6004                Various                                                                                               $17.98
JOSEPH LOOKINGBILL             901 W LANE                                                 LANDER           WY         82520                 6002                Various                                                                                                $8.30
JOSEPH LOOMIS                  324 ELM STREET BOX # 181                                   FRANKLIN GROVE   IL         61031                 6002                Various                                                                                                $0.77
JOSEPH LORCHER                 740 WALTMAN LANE                                           MERIDIAN         ID         83642                 6004                Various                                                                                                $3.30
JOSEPH LUCIER                  N12037 M # 35                                              BARK RIVER       MI         49807                 6002                Various                                                                                                $7.45
JOSEPH LUND                    W7850 HWY 35                                               HAGER CITY       WI         54014                 6004                Various                                                                                                $1.00
JOSEPH M JR GARCIA             3 SHOYO SPUR                                               FORT WASHKIE     WY         82514                 6002                Various                                                                                                $1.32
JOSEPH M. FOX                  810 W A ST                                                 IRON MOUNTAIN    MI         49801                 6002                Various                                                                                                $0.90
JOSEPH MADAY                   N10122 S PINE RD                                           TOMAHAWK         WI         54487                 6002                Various                                                                                               $10.00
JOSEPH MAINS                   2420 LONGTAIL BEACH LN                                     SUAMICO          WI         54173                 6002                Various                                                                                               $10.00
JOSEPH MARTIN                  521 E 200 S                                                BRIGHAM CITY     UT         84302                 6004                Various                                                                                               $15.00
JOSEPH MATHIS                  1020 S SUNNYVALE LN UNIT H                                 MADISON          WI         53713                 6002                Various                                                                                                $0.63
JOSEPH MC GREGOR               354 US 141                                                 CRYSTAL FALLS    MI         49920                 6004                Various                                                                                                $1.40
JOSEPH MCCLANE                 802 S WILLOW ST                                            GALLATIN         MO         64640                 6002                Various                                                                                                $6.41




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                                                                                                                                                                                           Contingent


                                                                                                                                                                                                                       Disputed
                                                                                                                                                  Last 4 Digits of     Date Debt was
                                                                                                                                                     Account         Incurred, Basis for
              Creditor Name               Address1                Address2        Address3             City        State           Zip   Country     Number                Claim                                                                             Total Claim
JOSEPH MCCONELL                1219 CEDAR LN                                                   MOUNT CARMEL     IL         62863                 6002                Various                                                                                                $6.41
JOSEPH MCGREGOR                354 US 141                                                      CRYSTAL FALLS    MI         49920                 6004                Various                                                                                                $5.60
JOSEPH MIDDLETON               2602 BADGER DR                                                  STURGIS          SD         57785                 6002                Various                                                                                                $6.36
JOSEPH MISICO                  476 EAST 2ND STREET                                             WINONA           MN         55987                 6004                Various                                                                                               $10.00
JOSEPH MONTGOMERY              1024 3RD AVE                                                    PLATTSMOUTH      NE         68048                 6002                Various                                                                                                $7.70
JOSEPH MOORE                   1715 W 28TH AVE                                                 EUGENE           OR         97405                 6004                Various                                                                                                $2.00
JOSEPH MORANG                  216 3RD AVE. S.                                                 SAUK RAPIDS      MN         56379                 6004                Various                                                                                                $3.00
JOSEPH MORGAN                  PO BOX 342                                                      HAMMOND          IL         61929                 6002                Various                                                                                                $7.73
JOSEPH MUELLER                 103 W FRANKLIN ST                                               THORP            WI         54771                 6002                Various                                                                                                $1.73
JOSEPH MUGENGA                 5601 EIGHMY ROAD                                                MC FARLAND       WI         53558                 6004                Various                                                                                                $5.40
JOSEPH NG YATES                RR 1 BOX 153                                                    MAYWOOD          MO         63463                 6002                Various                                                                                                $7.64
JOSEPH NORD                    504 MAPLE ST                                                    HENRY            SD         57243                 6002                Various                                                                                                $6.99
JOSEPH NORRIS                  1503 11TH ST                                                    WHEATLAND        WY         82201                 6002                Various                                                                                                $8.00
JOSEPH NUSSBAUM                N7909 WINDSONG CT                                               SHERWOOD         WI         54169                 6002                Various                                                                                                $9.89
JOSEPH P GUSSE                 924 E GLENDALE AVE                                              APPLETON         WI         54911                 6002                Various                                                                                                $6.19
JOSEPH P MCCABE                216 N 7TH AVE                                                   WINNECONNE       WI         54986                 6002                Various                                                                                                $3.89
JOSEPH P TRUNK                 7224 19TH ST                                                    PRINCETON        MN         55371                 6002                Various                                                                                                $8.22
JOSEPH PACHOLKE                30 TAYLOR STREET                                                WINNECONNE       WI         54986                 6004                Various                                                                                                $9.00
JOSEPH PAGEL                   1528 MAIN STREET                                                SAINT CLOUD      WI         53079                 6004                Various                                                                                                $5.60
JOSEPH PASSON                  3220 STATE ST N.                                                SAINT CLOUD      MN         56303                 6004                Various                                                                                                $3.00
JOSEPH PASTOR                  108 TWEED LN                                                    LANDER           WY         82520                 6002                Various                                                                                                $6.16
JOSEPH PECORA                  202 JENNIFER LANE                                               FALL RIVER       WI         53932                 6004                Various                                                                                               $23.15
JOSEPH PENNINGTON              114 DUNBAR                                                      HELENA           MT         59602                 6004                Various                                                                                               $32.00
JOSEPH POORE                   1610 SHORE DRIVE                                                MARINETTE        WI         54143                 6004                Various                                                                                               $17.00
JOSEPH PRITZL                  1026 W WINNABAGO                                                APPLETON         WI         54914                 6002                Various                                                                                                $0.88

JOSEPH R FERLAND               700 E WASHINGTON ST APT 309                                     OREGON           IL         61061                  6002               Various                                                                                             $4.52
JOSEPH R FLIFLET               111 KEIPER DR                                                   MINNESOTA CITY   MN         55959                  6002               Various                                                                                             $6.99
JOSEPH REYES                   4215 E 48TH ST                                                  NEWAYGO          MI         49337                  6002               Various                                                                                             $6.38
JOSEPH RINKE                   8935 EAST LEAVENWORTH RD                                        LEAVENWORTH      WA         98826                  6004               Various                                                                                           $150.00
JOSEPH RISSE                   7356 CASEY LN                                                   SOBIESKI         WI         54171                  6002               Various                                                                                             $2.33
JOSEPH ROPERS                  PO BOX 107                                                      ANSELMO          NE         68813                  6002               Various                                                                                             $5.42
JOSEPH RUPPRECHT JR.           1230 COMMONWEALTH DRIVE       #8                                FORT ATKINSON    WI         53538                  6004               Various                                                                                            $50.00
JOSEPH SCHNEIDER               W5385 CTY RD B                                                  MONDOVI          WI         54755                  6002               Various                                                                                            $25.39
JOSEPH SCHOPP                  609 W WALNUT ST                                                 GREEN BAY        WI         54303                  6002               Various                                                                                             $7.56
JOSEPH SCHRINER                81436 GATES RD                                                  BROKEN BOW       NE         68822                  6002               Various                                                                                             $3.62
JOSEPH SECKEL II               5064 CTY N                                                      OCONTO           WI         54153                  6002               Various                                                                                             $2.30
JOSEPH SELF                    ARENAC COUNTY JAIL                                              STANDISH         MI         48658                  6002               Various                                                                                             $6.19
JOSEPH SESSIONS                377 WEST VINE ST                                                MONDOVI          WI         54755                  6004               Various                                                                                            $23.00
JOSEPH SHARPE                  362 W 21ST                                                      IDAHO FALLS      ID         83402                  6004               Various                                                                                             $9.60
JOSEPH SHEFFERD                1011 FULTON ST                                                  FALLS CITY       NE         68355                  6002               Various                                                                                             $0.74
JOSEPH SLAVICK                 825 UNIVERSITY DR                                               MARINETTE        WI         54143                  6002               Various                                                                                             $1.66
JOSEPH STANAWAY                2803 MOORHEAD                                                   CLOQUET          MN         55720                  6004               Various                                                                                            $43.86
JOSEPH STIEG                   800 NORTH LARK ST                                               OSHKOSH          WI         54902                  6004               Various                                                                                            $28.23
JOSEPH STINSON                 3717 E. KARSTONS #2                                             MADISON          WI         53704                  6004               Various                                                                                             $1.00
JOSEPH STURM                   3625 CHERRYVALE CIR                                             APPLETON         WI         54913                  6002               Various                                                                                             $3.12
JOSEPH TENOPIR                 1621 JUNIPER AVE.                                               CRETE            NE         68333                  6002               Various                                                                                             $2.08
JOSEPH THOMAS                  400 FOREST HEIGHTS DRIVE                                        MANKATO          MN         56003                  6004               Various                                                                                             $3.00
JOSEPH THOMPSON                389 THIRD ST.                                                   FOND DU LAC      WI         54935                  6004               Various                                                                                            $11.60
JOSEPH TURNSPLENTY             53 BEARTOOTH VIEW DR                                            LAUREL           MT         59044                  6004               Various                                                                                            $25.00
JOSEPH VASQUEZ                 1625 THURSTON AVE                                               RACINE           WI         54305                  6002               Various                                                                                             $8.91
JOSEPH W. MILLER               616 29TH ST NW                                                  ROCHESTER        MN         55901                  6002               Various                                                                                             $6.52
JOSEPH WAGNER                  290 N MAIN ST                                                   JUNEAU           WI         53039                  6002               Various                                                                                             $3.56
JOSEPH WALKER                  7513 N 47TH ST                                                  OMAHA            NE         68122                  6004               Various                                                                                             $4.00




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                                                                                                                                                                                          Contingent


                                                                                                                                                                                                                      Disputed
                                                                                                                                                 Last 4 Digits of     Date Debt was
                                                                                                                                                    Account         Incurred, Basis for
               Creditor Name                Address1              Address2         Address3              City      State         Zip    Country     Number                Claim                                                                             Total Claim
JOSEPH WAYNE BIG LEGGINS        904 INDUSTRIAL RD TRLR 39                                       PIPESTONE       MN         56164                6002                Various                                                                                             $9.81
JOSEPH WECKWORTH                506 E BURNETT ST                                                BEAVER DAM      WI         53916                6002                Various                                                                                             $6.77
JOSEPH WEEKS                    PO BOX 516                                                      MENDON          UT         84325                6002                Various                                                                                             $5.62
JOSEPH XIONG                    915 MARSHALL STREET                                             EAU CLAIRE      WI         54703                6004                Various                                                                                            $16.00
JOSEPH YOUNG                    N6563 FACTORY RD                                                WEYAUWEGA       WI         54983                6002                Various                                                                                             $5.73
JOSEPHINA PARRA                 205 W PINE ST                                                   WEST POINT      NE         68788                6002                Various                                                                                             $0.30
JOSEPHINE EIDHAMMER             933 LUCY DR                                                     WORTHINGTON     MN         56187                6004                Various                                                                                            $28.31
JOSEPHINE JOHNSON               3786 LAKEWOOD DRIVE                                             HARSHAW         WI         54529                6002                Various                                                                                             $2.41
JOSEPHINE MAEHL                 467 DEERWOOD CT                                                 GRAFTON         WI         53024                6002                Various                                                                                             $6.19
JOSEPHINE MARTINEZ              70 MORGAN ST                                                    TRACY           MN         56175                6004                Various                                                                                             $3.00
JOSEPHINE MORENO                1552 COLLEGEWAY APT 23                                          WORTHINGTON     MN         56187                6004                Various                                                                                             $3.00
JOSEPHINE RAVANELLI             1245 DAYTON STREET APT 1                                        MAYVILLE        WI         53050                6002                Various                                                                                             $4.16
JOSEPHINE SHERARD               181 ALPINE DR                                                   OROFINO         ID         83544                6002                Various                                                                                             $5.01
JOSEPHINE TUELL                 R6 BOX 532                                                      POCATELLO       ID         83202                6004                Various                                                                                            $22.00
JOSEPHINE TWOHIG                5845 LAKE ST                                                    OMAHA           NE         68104                6004                Various                                                                                             $2.00
JOSETTE DOMPIER                 15380 ROSTH RD                                                  LANSE           MI         49946                6002                Various                                                                                             $5.64
JOSETTE L BECKER                216 PINE ST                                                     BELLE PLAINE    MN         56011                6002                Various                                                                                            $10.00
JOSEY HELMER                    306 S4TH ST                                                     ANDOVER         SD         57422                6004                Various                                                                                             $1.02
JOSH BINDER                     RT BOX # 131                                                    RULO            NE         68431                6002                Various                                                                                             $2.27
JOSH BURGAN                     312 WISCONSIN STREET 201                                        WAU CLAIRE      WI         54701                6004                Various                                                                                          $159.97
JOSH ERDAHL                     1214 EAST 10TH                                                  PLANKINTON      SD         57368                6004                Various                                                                                            $23.00
JOSH ESTES                      2001 14TH AVE                                                   LEWISTON        ID         83501                6004                Various                                                                                             $7.00
JOSH FIGLINSKI                  W3909 HOFFA PARK RD                                             SEYMOUR         WI         54165                6004                Various                                                                                            $25.00
JOSH FLANNERY                   1021 1/2 24TH ST                                                MONROE          WI         53566                6004                Various                                                                                            $40.00
JOSH G HUEMILLER                303 E 39TH ST APT 101                                           GARDEN CITY     ID         83714                6002                Various                                                                                             $1.23
JOSH GRIGSBY                    PO BOX 263                                                      BRODHEAD        WI         53520                6004                Various                                                                                          $123.00
JOSH KOHOUT                     1107 13TH ST                  PO BOX 836                        STANTON         NE         68779                6004                Various                                                                                            $10.00
JOSH LEBOUTILLIER               6410 COLLINS DR                                                 HELENA          MT         59602                6002                Various                                                                                             $5.56
JOSH LEE                        630 N 100 W                                                     BRIGHAM CITY    UT         84302                6004                Various                                                                                            $24.00
JOSH MARET                      513 MAIN ST PO BOX # 151                                        FARNAM          NE         69029                6002                Various                                                                                             $3.89
JOSH MENARD                     725 JOHN ST                                                     BELVIDERE       IL         61008                6002                Various                                                                                             $1.48
JOSH MILLER                     1418 WEST 5TH STREET                                            WINONA          MN         55987                6004                Various                                                                                             $3.00
JOSH MYERS                      4626 HACIENDA ST                                                RAPID CITY      SD         57703                6004                Various                                                                                             $1.50
JOSH NEWTON                     8353 OAKEY LN                                                   TURNER          OR         97392                6004                Various                                                                                            $10.02
JOSH RASMUSSEN                  2135 EAGLES HOMESTEAD DR                                        IDAHO FALLS     ID         83406                6002                Various                                                                                             $4.77
JOSH RENO                       309 E DEAN AVE                                                  MADISON         WI         53716                6004                Various                                                                                            $25.00
JOSH RICE                       2938 D STREET                                                   LINCOLN         NE         68510                6004                Various                                                                                            $14.00
JOSH ROEGLIN                    1339 MIDLAND AVE                                                KEWASKUM        WI         53040                6004                Various                                                                                            $15.00
JOSH ROOKSTOOL                  611 AVE I                                                       GOTHENBURG      NE         69138                6002                Various                                                                                             $4.88
JOSH ROWE                       24 LANTANA                                                      BILLINGS        MT         59102                6004                Various                                                                                            $23.50
JOSH STROESSNER                 PO BOX 452                                                      ELKHART LAKE    WI         53020                6004                Various                                                                                             $5.01
JOSH TUINSTRA                   W9582 OLDEN RD.                                                 ELDORADO        WI         54932                6004                Various                                                                                            $10.00
JOSH VILLI                      5299 N MINK CREEK AVE                                           MERIDIAN        ID         83646                6002                Various                                                                                             $5.18
JOSH VUE                        2437 DEER TRAIL                                                 GREEN BAY       WI         54302                6004                Various                                                                                            $34.00
JOSHEN PAPER & PACKAGING        2561 SOLUTIONS CENTER                                           CHICAGO         IL         60677-2005           4838                Various                                                                                       $746,142.56
JOSHUA A BILLINGS               611 W JOHNSON                                                   JAMESPORT       MO         64648                6002                Various                                                                                             $8.52
JOSHUA A LOCKLEAR               778 BUCKET RD                                                   LUMBERTON       NC         28360                6002                Various                                                                                             $2.41
JOSHUA A TAYLOR                 521 LOUDEN ST                                                   SUPERIOR        NE         68978                6002                Various                                                                                             $4.00

JOSHUA ADAMS                    611 CANYON RIVER TERRACE RD                                     ELLENSBURG      WA         98926                 6004               Various                                                                                               $15.00
JOSHUA ALLEN MAY                N3194 RIVER AVE                                                 NEILLSVILLE     WI         54456                 6002               Various                                                                                                $7.48
JOSHUA ALT                      13 BASIN RD                                                     LEMHI           ID         83465                 6002               Various                                                                                                $6.60
JOSHUA AMANS                    2359 19TH ST.                                                   RICE LAKE       WI         54868                 6004               Various                                                                                               $11.99
JOSHUA ANDRE ROOK               218 N 5TH AVE                                                   SHELDON         IA         51201                 6002               Various                                                                                                $4.00




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                                                                                                                                                       Account       Incurred, Basis for
            Creditor Name              Address1               Address2          Address3             City            State           Zip   Country     Number              Claim                                                                             Total Claim
JOSHUA ARNOLD                15104 VERSAILLE                                                 BELLEVUE           NE           68123                 6004              Various                                                                                               $98.00
JOSHUA BARNES                902 PETERSON ST                                                 FORT ATKINSON      WI           53538                 6002              Various                                                                                                $3.48

JOSHUA BAUKNECHT             4611 PLOVER RD                                                  WISCONSIN RAPIDS   WI           54494                   6004            Various                                                                                               $14.60
JOSHUA BENDER                471 SNOWBERRY LANE                                              HAMILTON           MT           59840                   6004            Various                                                                                                $7.00
JOSHUA BENTON                512 9TH ST SE                                                   ROCHESTER          MN           55904                   6002            Various                                                                                                $3.12
JOSHUA BERRYHILL             404 JAYDE PL                                                    POPLAR GROVE       IL           61065                   6002            Various                                                                                                $7.10
JOSHUA BOE                   584 WOOD ST S                                                   MORA               MN           55051                   6002            Various                                                                                                $6.14
JOSHUA BOYDEN                3720 STATE ST D-5                                               GRAND ISLAND       NE           68803                   6004            Various                                                                                                $4.00
JOSHUA BRENKE                4578 MONROE RD                                                  TIPTON             MI           49287                   6002            Various                                                                                                $6.38
JOSHUA BROWN                 125 E NORTH ST                                                  PLAINFIELD         WI           54966                   6002            Various                                                                                                $3.48
JOSHUA BURKE                 1732 N E TTAURUS CT                                             BEND               OR           97701                   6004            Various                                                                                               $23.00
JOSHUA BURZINSKI             968 WILLARD DR APT 7                                            GREEN BAY          WI           54304                   6002            Various                                                                                                $7.78
JOSHUA BUTLER                710S 3RD ST                                                     WATERTOWN          WI           53094                   6004            Various                                                                                                $2.00
JOSHUA BUTTRAM               PO BOX 893                                                      SUN PRAIRIE        WI           53590                   6002            Various                                                                                                $1.62
JOSHUA BYE                   17471 COUNTRY 11 BLVD                                           PINE ISLAND        MN           55963                   6004            Various                                                                                                $3.06
JOSHUA CHAPMAN               4927 4TH ST. NW                                                 ROCHESTER          MN           55901                   6004            Various                                                                                                $3.00
JOSHUA CLARK                 W7543 SAND D TOWN LINE RD                                       DELAVAN            WI           53115                   6004            Various                                                                                                $1.00
JOSHUA CORNETT               BOX 261 RR 2                                                    WISNER             NE           68791                   6002            Various                                                                                                $9.51
JOSHUA COX                   P. O. BOX 234                                                   JOLIET             MT           59041                   6004            Various                                                                                               $15.00
JOSHUA CRABTREE              5012 WALKER AVE                                                 LINCOLN            NE           68504                   6004            Various                                                                                                $6.00
JOSHUA CRAWFORD              PO BOX 672                                                      OROFINO            ID           83544                   6002            Various                                                                                                $7.10
JOSHUA CROSSEN               135 HASTINGSWAY                                                 MONMOUTH           IL           61462                   6004            Various                                                                                                $8.98
JOSHUA CURTISS               5627 35TH AVE                                                   KENOSHA            WI           53144                   6004            Various                                                                                               $11.00
JOSHUA DAVID ERDMAN          3 3RD ST E                                                      VELVA              ND           58790                   6002            Various                                                                                                $0.30
                                                                                             WHITE SULPHUR
JOSHUA DEAL                  PO BOX 875                                                      SPRING             MT           59645                   6004            Various                                                                                            $54.98
JOSHUA DEUTSCHLANDER         2217 FENNER ST               C/O JOANNA                         EAU CLAIRE         WI           54703                   6004            Various                                                                                             $1.00
JOSHUA DOLAN                 1019 15TH ST N PRE RELEASE                                      GREAT FALLS        MT           59401                   6002            Various                                                                                             $0.41
JOSHUA DRING                 1440 11TH AVE E                                                 TWIN FALLS         ID           83301                   6004            Various                                                                                            $23.00
JOSHUA E TILLMAN             11552 MINK RIVER RD                                             ELLISON BAY        WI           54210                   6002            Various                                                                                             $5.84
JOSHUA EMMERT                1313 KIENAS RD                                                  KALISPELL          MT           59901                   6002            Various                                                                                             $1.00
JOSHUA EULER                 600 1/2 BRIDGE ST                                               WINSLOW            IL           61089                   6002            Various                                                                                             $2.71
JOSHUA FINLAY                117 W. BURNETT ST                                               BEAVER DAM         WI           53916                   6004            Various                                                                                             $2.00
JOSHUA FOX                   2005 10TH AVE SW                                                WATERTOWN          SD           57201                   6004            Various                                                                                            $18.50
JOSHUA GATZEMEYER            PO BOX 51                                                       BANCROFT           NE           68004                   6002            Various                                                                                             $6.52
JOSHUA GIBBONS               PO BOX 172                                                      MASON CITY         IA           50402                   6002            Various                                                                                            $14.36
JOSHUA GORTON                5905 SMITH RIDGE RD                                             MC FARLAND         WI           53558                   6004            Various                                                                                             $5.70
JOSHUA GRAVES                2402 50TH STREET                                                KENOSHA            WI           53140                   6004            Various                                                                                             $5.00
JOSHUA GRISSOM               309 E AVE                                                       LYONS              KS           67554                   6002            Various                                                                                             $1.34
JOSHUA GROELLE               3101 WHITING AVE             APT D6                             STEVENS POINT      WI           54481                   6004            Various                                                                                            $20.00
JOSHUA HARMON                18518 E COWLEY                                                  GREENACRES         WA           99016                   6004            Various                                                                                            $27.98
JOSHUA HENRIKSEN             3905 N 214TH ST                                                 OMAHA              NE           68144                   6002            Various                                                                                             $5.01
JOSHUA HERWIG                W6472 EAST NORTH ST                                             DALTON             WI           53926                   6004            Various                                                                                             $1.00
JOSHUA HILAND                917 IRISH RD APT 5                                              NEENAH             WI           54956                   6002            Various                                                                                             $4.19
JOSHUA HILL                  806 EAST MAIN STREET                                            WAUPUN             WI           53963                   6004            Various                                                                                             $5.00
JOSHUA HINNEKAMP             423 PARK AVE                                                    ALBERT LEA         MN           56007                   6002            Various                                                                                             $5.59
JOSHUA ISAAC                 104 PEWABIC ST                                                  CALUMET            MI           49913                   6004            Various                                                                                            $25.00
JOSHUA JACKSON               2829 N JULIA ST APT 307                                         COEUR D ALENE      ID           83815                   6002            Various                                                                                             $8.88
JOSHUA JAMES                 1103 KELLOGG AVE                                                JANESVILLE         WI           53546                   6004            Various                                                                                            $10.00
JOSHUA JIM                   403 SHIXNEET LANE                                               WAPATO             WA           98951                   6004            Various                                                                                           $149.67
JOSHUA JOHN GARCIA           535 W PEARL ST APT 6                                            SEYMOUR            WI           54165                   6002            Various                                                                                             $2.14
JOSHUA JOHN GOVITZ           801 N CAYUGA ST                                                 GLADWIN            MI           48624                   6002            Various                                                                                             $7.86
JOSHUA KSIOSZK               540 KELLY ST                                                    SUN PRAIRIE        WI           53590                   6004            Various                                                                                            $25.00




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            Creditor Name               Address1                Address2          Address3            City        State           Zip   Country     Number              Claim                                                                             Total Claim
JOSHUA LAMERE                11681 LOFTMAN TRAIL                                               NORTH BRANCH    MN         55056                 6004              Various                                                                                                $3.00
JOSHUA LANGLEY               312 SECOND ST NE                                                  BYRON           MN         55920                 6002              Various                                                                                                $5.92
JOSHUA LEHMANN               1118 RUTH ST                                                      WATERTOWN       WI         53094                 6002              Various                                                                                                $7.07

JOSHUA LEWIS                 4030 TOWNE LAKES CIR APT 130                                      APPLETON        WI         54913                   6002            Various                                                                                             $2.38
JOSHUA LINDERREAGAN          505 S OLDE ONIEDA ST                                              APPLETON        WI         54915                   6002            Various                                                                                             $5.23
JOSHUA LYND                  211 N LANDING AVE                                                 JEFFERSON       WI         53549                   6004            Various                                                                                             $8.00
JOSHUA M JAMES               300 S 16TH ST APT 200                                             LINCOLN         NE         68508                   6002            Various                                                                                             $6.36
JOSHUA MANGGAARD             106 NE JOHNSON ST                                                 BROWNSDALE      MN         55918                   6004            Various                                                                                            $20.00
JOSHUA MASLOSKI              3220 3RD ST. N.                APT 1                              SAINT CLOUD     MN         56303                   6004            Various                                                                                             $3.00
JOSHUA MCBEE                 11784 GALLOWAY LN                                                 BELVIDERE       IL         61008                   6004            Various                                                                                             $3.90
JOSHUA MERRILL               W7345 TOWNLINE CIR                                                VAN DYNE        WI         54979                   6004            Various                                                                                             $3.00
JOSHUA MILLETT               325 SOUTH 400 WEST                                                BRIGHAM CITY    UT         84302                   6004            Various                                                                                           $192.00
JOSHUA MOORE                 5520 18TH AVE UPPER                                               KENOSHA         WI         53140                   6004            Various                                                                                             $4.00
JOSHUA MORRIS                537 N. DIVISION ST                                                APPLETON        WI         54914                   6004            Various                                                                                            $23.00
JOSHUA N QUALL               538 SOBOTTA ST APT 103                                            ARCADIA         WI         54612                   6002            Various                                                                                             $4.49
JOSHUA OCAMPO WANGNET        723 MAIN ST                    UNIT 7                             NEENAH          WI         54956                   6004            Various                                                                                             $4.00
JOSHUA OCAMPO-WANGNET        723 MAIN ST                    UNIT 7                             NEENAH          WI         54956                   6004            Various                                                                                             $3.00
JOSHUA OKELBERRY             PO BOX 2302                                                       OROFINO         ID         83544                   6002            Various                                                                                             $1.04
JOSHUA OSTROWSKI             1020 TREVA RD                                                     HATLEY          WI         54440                   6002            Various                                                                                             $6.22
JOSHUA P ROY                 5054 HIDDEN VALLEY DR                                             HELENA          MT         59602                   6002            Various                                                                                             $1.95
JOSHUA PALKOWSKI             731 EIGHTH ST                                                     WAUPACA         WI         54981                   6002            Various                                                                                             $9.95
JOSHUA PONGRATZ              303 BEACHWOOD ST                                                  CLEVELAND       WI         53015                   6004            Various                                                                                             $5.00
JOSHUA PRATT                 246 1ST ST SW                                                     WATERTOWN       SD         57201                   6002            Various                                                                                             $0.63
JOSHUA PREBISH               1719 HWY 64                                                       NEW RICHMOND    WI         54017                   6004            Various                                                                                            $11.99
JOSHUA PUENTES               6650 MILITARY AVE APT 6                                           OMAHA           NE         68104                   6002            Various                                                                                             $2.79
JOSHUA R SWARTZ              501 W 3RD ST                                                      WINNER          SD         57580                   6002            Various                                                                                             $1.12
JOSHUA RATH                  2403 29TH AVE                  APT D                              ROCHESTER       MN         55901                   6004            Various                                                                                            $15.00
JOSHUA REED                  2926 WELLS BENCH RD                                               OROFINO         ID         83544                   6002            Various                                                                                             $3.73
JOSHUA ROBERT                20 BLUEMOUND CT                                                   APPLETON        WI         54914                   6002            Various                                                                                             $9.01
JOSHUA S LOWE                16 KOKANEE LN                                                     OROFINO         ID         83544                   6002            Various                                                                                             $9.18
JOSHUA SAVAGE                2087 E 30 N                                                       SPANISH FORK    UT         84660                   6004            Various                                                                                            $16.00
JOSHUA SCHOCKER              306 27TH ST SW APT # 3                                            AUSTIN          MN         55912                   6004            Various                                                                                             $3.00
JOSHUA SCIARAPPA             2000 L ST                                                         AUBURN          NE         68305                   6002            Various                                                                                             $7.84
JOSHUA SEELEY                6772 SUNSET MEADOW DR.                                            WINDSOR         WI         53598                   6004            Various                                                                                             $5.00
JOSHUA SHASSERRE             3433 WOODS AVE                                                    LINCOLN         NE         68510                   6004            Various                                                                                            $25.00
JOSHUA SHELDON               2670 WASHINGTON BLVD                                              GREAT FALLS     MT         59404                   6004            Various                                                                                             $5.00
JOSHUA SIMMONS               125 MAIN ST                                                       SMELTERVILLE    ID         83868                   6002            Various                                                                                             $8.19
JOSHUA SMEJKAL               17 S SUMNER AVE                                                   NEWCASTLE       WY         82701                   6002            Various                                                                                             $9.18
JOSHUA SMITH                 3225 4TH STREET APT D                                             LEWISTON        ID         83501                   6004            Various                                                                                            $19.51
JOSHUA SPRINGER              807 BENTZ ST.                                                     TROY            ID         83871                   6004            Various                                                                                            $18.10
JOSHUA SQUIRE                6363 TIMPANOGOS WAY                                               WEST JORDAN     UT         84084                   6004            Various                                                                                            $23.00

JOSHUA STEVENS               407 E E MINNESOTA ST APT 311                                      RAPID CITY      SD         57701                   6002            Various                                                                                                $7.92
JOSHUA STONE                 5903 460TH                                                        HARRIS          MN         55032                   6004            Various                                                                                                $1.40
JOSHUA STROEBEL              1509 24TH AVE N                                                   SAINT CLOUD     MN         56303                   6002            Various                                                                                                $1.00
JOSHUA THEYEL                1319 E MAIN STREET                                                LITTLE CHUTE    WI         54140                   6004            Various                                                                                                $9.00
JOSHUA THOMA SADOWSKI        1071 24 3/4 ST                                                    CAMERON         WI         54822                   6002            Various                                                                                                $1.86
JOSHUA THOMAS                3736 SO 8035WEST                                                  MAGNA           UT         84044                   6004            Various                                                                                               $35.00
JOSHUA THUMM                 1753 6TH AVE S                                                    GREAT FALLS     MT         59405                   6002            Various                                                                                               $10.00
JOSHUA TIMM                  713 WARE ST                                                       WAUPACA         WI         54981                   6002            Various                                                                                                $9.62
JOSHUA TOMTEN                PO BOX 255                                                        PINEHURST       ID         83850                   6004            Various                                                                                               $23.00
JOSHUA TRAUTNER              LEADORE RANGER STA                                                LEADORE         ID         83464                   6002            Various                                                                                                $9.37
JOSHUA TREBIL                N6260 978TH ST                                                    ELLSWORTH       WI         54011                   6002            Various                                                                                                $0.74




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              Creditor Name                 Address1             Address2            Address3            City         State           Zip   Country     Number                Claim                                                                             Total Claim
JOSHUA TRIPLETT                  1623 CZECH DR                                                   FRIENDSHIP        WI         53934                 6004                Various                                                                                             $3.00
JOSHUA TUCKER                    3530 N SPRUCE ST                                                APPLETON          WI         54914                 6004                Various                                                                                             $4.00
JOSHUA TURNER                    1024 3RD ST E                                                   ROUNDUP           MT         59072                 6002                Various                                                                                            $25.00
JOSHUA UNDERDAHL                 710 14TH ST NE                                                  AUSTIN            MN         55912                 6004                Various                                                                                             $3.00
JOSHUA VALEK                     2007 POWERS DRIVE                                               LEWISTON          ID         83501                 6004                Various                                                                                           $146.19
JOSHUA VANSELOW                  485 SW ROAD                                                     PLATTEVILLE       WI         53818                 6002                Various                                                                                             $9.40
JOSHUA VINCENT                   1334 29TH STREET                                                LEWISTON          ID         83501                 6004                Various                                                                                            $29.00
JOSHUA WAGLER                    1424 GROVE ST.                                                  BURLINGTON        IA         52601                 6004                Various                                                                                            $10.00
JOSHUA WEBSTER                   101 SHORT ST.                                                   ELLSWORTH         WI         54011                 6004                Various                                                                                            $25.00
JOSHUA WEDIG                     1830 1ST AVE                                                    MONROE            WI         53566                 6002                Various                                                                                             $7.26
JOSHUA WEST                      1799 BURR OAK RD                                                OSHKOSH           WI         54904                 6002                Various                                                                                             $8.27
JOSHUA WILLIAMS                  83 WESTELLO BLVD.                                               POCATELLO         ID         83204                 6004                Various                                                                                            $33.00
JOSHUA WILSON                    2146 MASTERS ST                                                 BELOIT            WI         53511                 6004                Various                                                                                            $23.00
JOSHUA YANG                      1613 S 26TH ST                                                  MANITOWOC         WI         54220                 6004                Various                                                                                            $17.50
JOSHUA YANKE                     N1269 LONE PINE RD                                              ADELL             WI         53001                 6004                Various                                                                                             $3.00
JOSIAH HAMILTON                  502 N PACIFIC AVE APT 206                                       NORTH PLATTE      NE         69101                 6004                Various                                                                                            $21.25
JOSIAH LEMLER                    206 COOPER LANE APT 6                                           KALISPELL         MT         59901                 6004                Various                                                                                             $2.00
JOSIAH RIVERA                    316 WATERLOO ROAD                                               MARSHALL          WI         53559                 6004                Various                                                                                            $25.00

JOSIE AUSTIN                     1082 WESTPORT DR            APT 108                             PORT WASHINGTON   WI         53074                  6004               Various                                                                                             $1.00
JOSIE BERNT                      PO BOX 54                                                       GREELEY           NE         68842                  6004               Various                                                                                             $2.00
JOSIE GORDON                     360 MARGARET ST APT 31                                          SALMON            ID         83467                  6002               Various                                                                                             $0.66
JOSIE HARDEN                     606 7TH AVE NE                                                  BYRON             MN         55920                  6002               Various                                                                                             $1.78
JOSIE N FRITZ                    7228 N 33RD AVE                                                 OMAHA             NE         68112                  6002               Various                                                                                             $7.04
JOSIE NELSON                     423 EAST MAIN ST                                                GARDEN CITY       SD         57236                  6004               Various                                                                                             $2.00
JOSIE O'DELL                     711 S MARYLAND                                                  MASON CITY        IA         50401                  6002               Various                                                                                             $6.16
JOSIE ORTIVEZ                    1018 W BOONE AVE                                                NAMPA             ID         83651                  6004               Various                                                                                            $10.00
JOSIE ROAKE                      9609 S ROYALTY LN                                               SOUTH JORDAN      UT         84095                  6002               Various                                                                                             $3.29
JOSIELYN M DUMMER                4503 OLD KENNEDY RD                                             MILTON            WI         53563                  6002               Various                                                                                             $8.90
JOSLIN TALLMAN                   821 S. BENTON AVE                                               FREEPORT          IL         61032                  6004               Various                                                                                             $5.00
JOSLYN SEYFRIED                  1110 SOUTH MAIN #8                                              MOSCOW            ID         83854                  6004               Various                                                                                             $3.96
JOSMO SHOES (C-HUB)              601 59TH STREET                                                 WEST NEW YORK     NJ         07093                  4394               Various                                                                                            $58.85
JOSSELYN JORGENSEN               217 10TH ST NW                                                  MASON CITY        IA         50401                  6004               Various                                                                                            $20.00
JOSUA WILKINS                    PO BOX 145                                                      MILFORD           NE         68405                  6004               Various                                                                                            $40.00
JOURDAN JENSEN                   536 W 33RD N                                                    IDAHO FALLS       ID         83401                  6002               Various                                                                                             $8.52
JOURNAL SENTINEL INCORPORATED    333 WEST STATE STREET       PO BOX 661                          MILWAUKEE         WI         53201-0661             3031               Various                                                                                           $453.42
JOURNEE DUARTE                   710 JOHN G MINE RD                                              HELENA            MT         59602                  6004               Various                                                                                            $20.00
JOVANNI PEREZ                    320 4TH AVE SW APT 1                                            PIPESTONE         MN         56164                  6002               Various                                                                                             $7.10
JOVANY BRAVO                     22730 FARMWAY RD #220                                           CALDWELL          ID         83607                  6004               Various                                                                                             $3.65
JOWELL ALANO                     1125 KENO STREET                                                BILLINGS          MT         59105                  6004               Various                                                                                            $40.00
JOY DEWEY                        7787 HIGHWAY 789 UNIT 1                                         LANDER            WY         82520                  6002               Various                                                                                             $6.99
JOY FOLEY                        14130 KARL ST                                                   OMAHA             NE         68137                  6002               Various                                                                                             $6.77
JOY HAEHLKE                      9342 HIGHWAY O                                                  WAUSAU            WI         54401                  6002               Various                                                                                            $10.40
JOY JARCHOW                      4124 GREENWOOD ST                                               LINCOLN           NE         68504                  6004               Various                                                                                            $20.00
JOY LECOMTE                      N648 HILL RD                                                    PULASKI           WI         54162                  6004               Various                                                                                             $6.70
JOY LUEDT                        952 WESTGATE DR                                                 BILLINGS          MT         59101                  6002               Various                                                                                             $2.88
JOY MIER                         72630 385TH AVE                                                 LAKEFIELD         MN         56150                  6002               Various                                                                                             $7.34

JOY MILLER                       608 W CROSSING MEADOWS LN                                       APPLETON          WI         54913                  6002               Various                                                                                             $8.19
JOY MORRIS                       28078 ST ELIZABETH ST                                           NEW ALMELO        KS         67645                  6002               Various                                                                                             $3.92
JOY SAKARIASON                   921 EGAN RD                                                     KALISPELL         MT         59901                  6002               Various                                                                                             $1.51
JOY YOU DEVELOPMENT LIMITED      REPORTING ONLY DO NOT USE   SHOPKO STORES     PO BOX 19060      GREEN BAY         WI         54307-9060             8502               Various                                                                                       $293,246.30
JOYCE ABBOTT                     2003 4TH ST APT 101                                             MONROE            WI         53566                  6002               Various                                                                                             $6.49
JOYCE BABLER                     N9694 VAN DYNE RD                                               VANDYNE           WI         54979                  6002               Various                                                                                            $81.41




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JOYCE BEGEMANN               304 N HOW AVE                                                   MURRAY           NE           68409                 6002              Various                                                                                               $2.79
JOYCE BERG                   212 IROQUOIS AVE                                                GREEN BAY        WI           54301                 6002              Various                                                                                               $2.41

JOYCE BERUBE                 111 E SPRING ST BROOKERIDGE                                     ANNA MARIA       FL           34216                   6002            Various                                                                                             $6.60
JOYCE BOSS                   25518 N HESTER RD                                               ATHOL            ID           83801                   6002            Various                                                                                             $1.59
JOYCE BREWINGTON             9300 S REDWOOD RD APT 404                                       WEST JORDAN      UT           84088                   6002            Various                                                                                             $4.68
JOYCE BROWER                 519 1/2 N 4TH                                                   MANKATO          MN           56001                   6004            Various                                                                                           $105.00
JOYCE CANADY                 1225 AUGUSTA ST                                                 RACINE           WI           53402                   6002            Various                                                                                             $0.60
JOYCE CAVINESS               420 14TH ST                                                     WINDOM           MN           56101                   6002            Various                                                                                             $6.58
JOYCE CHESMORE               714 E. 5TH AVE.                                                 MOBRIDGE         SD           57601                   6004            Various                                                                                            $11.84
JOYCE COMMET                 7305 MIERAS RD                                                  YAKIMA           WA           98901                   6004            Various                                                                                            $17.64
JOYCE D MARX                 915 CROOKS AVE                                                  KAUKAUNA         WI           54130                   6002            Various                                                                                             $5.81
JOYCE DANIELSON              4391 E 300TH N                                                  RIGBY            ID           83442                   6002            Various                                                                                             $9.04
JOYCE DAYTON                 1331 BAINBRIDGE ST                                              LA CROSSE        WI           54603                   6002            Various                                                                                             $2.27
JOYCE E HERNANDEZ            815 ROBERTSON AVE                                               WORLAND          WY           82401                   6002            Various                                                                                             $5.21
JOYCE GERMAR                 911 N WALNUT ST                                                 GLENWOOD         IA           51534                   6002            Various                                                                                             $7.95
JOYCE HAYS                   809 5TH ST NW                                                   AUSTIN           MN           55912                   6002            Various                                                                                             $1.92
JOYCE HEART                  505 13TH ST CARD                                                MARSHFIELD       WI           54449                   6002            Various                                                                                             $9.23
JOYCE HONGSERMEIER           29115 SHELTON ROAD                                              RAVENNA          NE           68869                   6002            Various                                                                                             $4.16
JOYCE HUBER                  N5945 1150TH ST                                                 PRESCOTT         WI           54021                   6002            Various                                                                                             $7.10
JOYCE HUNTER                 200 CHERRY ST                                                   PACIFIC JCT.     IA           51561                   6002            Various                                                                                             $5.53
JOYCE JOHNSON                1410 E RACINE ST                                                JANESVILLE       WI           53545                   6002            Various                                                                                             $9.37
JOYCE KELLER                 135 ROBERT ST                                                   CLINTONVILLE     WI           54929                   6002            Various                                                                                             $3.86
JOYCE L. ANDERSON            3322 E AVE                                                      CEDAR RAPIDS     IA           52402                   6002            Various                                                                                             $4.44
JOYCE LUDTKE                 3860 FLOWEREE                                                   HELENA           MT           59602                   6002            Various                                                                                             $1.42
JOYCE MARCHANT               814 BOMIER STREET                                               DEPERE           WI           54115                   6002            Various                                                                                            $52.05
JOYCE MARIE CASH             1008 W 8TH ST                                                   OGALLALA         NE           69153                   6002            Various                                                                                             $4.82
JOYCE MARTIN                 1907 RIVERSIDE DRIVE UNIT E                                     GREEN BAY        WI           54313                   6002            Various                                                                                             $7.38
JOYCE MASSA                  30034 282ND ST                                                  WINNER           SD           57580                   6002            Various                                                                                             $7.84
JOYCE MEEHAN                 24142 456TH AVE                                                 MADISON          SD           57042                   6002            Various                                                                                             $8.66
JOYCE MEYER                  9014 STAGECOACH Q.5 AVE                                         GLADSTONE        MI           49837                   6002            Various                                                                                             $0.55
JOYCE MEYERHOFF              319 E PROSPECT ST                                               NEW HAMPTON      IA           50659                   6002            Various                                                                                             $5.10
JOYCE MUHLESTEIN             310 W CHUBBUCK RD                                               POCATELLO        ID           83202                   6002            Various                                                                                             $5.84
JOYCE PETERSEN               1449 FAIR RD                                                    GREENLEAF        WI           54126                   6002            Various                                                                                             $9.26
JOYCE POTTINGER              5596 HIGHWAY 95                                                 NEW MEADOWS      ID           83654                   6004            Various                                                                                            $79.89
JOYCE SANTIAGO               13217 30TH AVE                                                  CHIPPEWA FALLS   WI           54729                   6002            Various                                                                                             $6.49
JOYCE SCHARBACH              1830 SOUTH 51ST STREET        APT B                             LINCOLN          NE           68506                   6004            Various                                                                                            $26.10
JOYCE SCHMOEKER              2105 PARKWOOD DR                                                KAUKAUNA         WI           54130                   6002            Various                                                                                             $6.47
JOYCE SCHWEIGERT             503 LAFAYETTE AVE S                                             FULDA            MN           56131                   6002            Various                                                                                             $1.42
JOYCE SETTELL                NH SOUTH HALL                                                   WHEATLAND        WY           82201                   6002            Various                                                                                             $6.55
JOYCE SHUNK                  N1077 CHILSON ROAD                                              WALWORTH         WI           53184                   6004            Various                                                                                            $25.00
JOYCE SUNDERLAND             315 4TH AVE W                                                   SISSETON         SD           57262                   6002            Various                                                                                             $7.12
JOYCE TOPEL                  1313 N VANDENBOOM AVE                                           MARQUETTE        MI           49855                   6002            Various                                                                                             $8.19
JOYCE TROLINGER              4862 CTH A                                                      OREGON           WI           53575                   6004            Various                                                                                             $9.44
                             IN C/ O SHOPKO EYECARE        9520 N. NEWPORT
JOYCE VALENZA                CENTER #4066                  HIGHWAY                           SPOKANE          WA           99218                   6004            Various                                                                                            $19.10
JOYCE WEIGHT                 489 S 1650TH E                                                  SPANISH FORK     UT           84660                   6002            Various                                                                                             $8.33
JOYCE WILLIE                 N9013 LAKESHORE DR                                              VAN DYNE         WI           54979                   6004            Various                                                                                           $111.00
JOYCE WOLF                   1207 AMBER LN                                                   WATERTOWN        WI           53098                   6002            Various                                                                                            $13.31
JOYCE YOST                   23756 HIGHWAY 19                                                MADISON          SD           57042                   6002            Various                                                                                             $0.99
JOYOUCE WILLIS               641 S M-65                                                      TWINING          MI           48766                   6002            Various                                                                                             $7.18
JUAN ALANIS                  125 PARK AVE                                                    BRILLION         WI           54110                   6002            Various                                                                                             $3.12
JUAN ALVAREZ                 1957 MONROE BLVD.                                               OGDEN            UT           84401                   6004            Various                                                                                            $20.52
JUAN ARELLANO                300 W LINCOLN                                                   WAUPUN           WI           53963                   6004            Various                                                                                            $25.00




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                                                                                                                                                                                            Contingent


                                                                                                                                                                                                                        Disputed
                                                                                                                                                   Last 4 Digits of     Date Debt was
                                                                                                                                                      Account         Incurred, Basis for
             Creditor Name                Address1                Address2          Address3             City       State           Zip   Country     Number                Claim                                                                             Total Claim
JUAN ARISPE                   1814 56TH ST LOWER                                                 KENOSHA         WI         53140                 6004                Various                                                                                                $4.00
JUAN AVINA                    2104 VILLA AVE                                                     SIOUX CITY      IA         51103                 6002                Various                                                                                               $14.66
JUAN BAHENA                   2006 JEROME AVE APT #4                                             YAKIMA          WA         98902                 6004                Various                                                                                               $30.96
JUAN BANOS                    707 10TH ST NE                                                     MASON CITY      IA         50401                 6004                Various                                                                                               $20.00
JUAN C CHONCOA-TEPOLE         N6307 STATE HIGHWAY 73                                             NEILLSVILLE     WI         54456                 6002                Various                                                                                                $2.30
JUAN C MARTINEZ               1504 N 23RD ST                                                     MANITOWOC       WI         54220                 6002                Various                                                                                                $2.11
JUAN CARBAJAL                 1325 BUCHANNAN STREET                                              RACINE          WI         53402                 6004                Various                                                                                                $1.00
JUAN CARLOS ESTRADA           410 N MAIN ST #32                                                  BRIGHAM CITY    UT         84302                 6002                Various                                                                                                $5.29
JUAN CHAVEZ                   1070 SHADOW LANE                                                   GREEN BAY       WI         54304                 6004                Various                                                                                                $3.00
JUAN COVARRUBIAS SR           705 W MAIN ST UPPER                                                PALMYRA         WI         53156                 6004                Various                                                                                                $2.00
JUAN DELAO                    445 W 400TH N                                                      PAYSON          UT         84651                 6002                Various                                                                                                $6.11
JUAN DURAN                    1501 EASTMAN AVE                                                   GREEN BAY       WI         54302                 6004                Various                                                                                               $39.00
JUAN ESPINAL                  1714 GROVE ST                                                      BLOOMER         WI         54724                 6004                Various                                                                                               $49.00
JUAN FLORES                   817 N 20TH AVE APT 1                                               YAKIMA          WA         98902                 6004                Various                                                                                                $1.80
JUAN FONSECA                  12314 COUNTY ROAD 351                                              SIDNEY          MT         59270                 6002                Various                                                                                                $3.70
JUAN GARAY                    733 S 6TH ST                                                       GREYBULL        WY         82426                 6002                Various                                                                                                $0.79
JUAN GARCIA                   509 14TH ST                                                        SIOUX CITY      IA         51105                 6004                Various                                                                                               $10.00
JUAN GONZALES                 1551 HIGHWAY 32                                                    OAKLAND         NE         68045                 6002                Various                                                                                                $2.38
JUAN HERNANDEZ                730 E 13TH ST                                                      CRETE           NE         68333                 6002                Various                                                                                                $1.51
JUAN INFANTE                  701 SW 9TH ST                                                      ANDREWS         TX         79714                 6002                Various                                                                                                $9.62
JUAN LANDEROS                 1215 APRAPAHOE , APT # 209                                         LINCOLN         NE         68502                 6004                Various                                                                                               $25.00
JUAN MARTINES TORRES          111 W SPRUCE ST                                                    ABBOTSFORD      WI         54405                 6002                Various                                                                                                $1.42
JUAN MARTINEZ                 1112 S LOCUST AVE                                                  FREEPORT        IL         61032                 6002                Various                                                                                                $2.79
JUAN ORDONEZ                  1909 6TH ST                                                        PERRY           IA         50220                 6002                Various                                                                                                $3.75
JUAN PADILLA                  3510 EVERGREEN DR APT 7                                            PLOVER          WI         54467                 6004                Various                                                                                                $5.02

JUAN RAMOS                    602 NORTHERN HILLS DRIVE NE     APT 62                             ROCHESTER       MN         55906                  6004               Various                                                                                                $6.00
JUAN RINCON, JR               7508 SOUTH 46TH AVE                                                OMAHA           NE         68157                  6004               Various                                                                                               $25.00
JUAN ROMERO                   1375 BLASCHKO AVE APT 221                                          ARCADIA         WI         54612                  6002               Various                                                                                               $11.01

JUAN RUIZ CHAVEZ              175 WEST MINNESOTA ST APT 16                                       LE CENTER       MN         56057                  6004               Various                                                                                             $3.00
JUAN SAAVEDRA                 PO BOX 442                                                         ROOSEVELT       UT         84066                  6002               Various                                                                                             $9.26
JUAN SAAVEDRAGONZALEZ         802 E FRANKLIN ST                                                  APPLETON        WI         54911                  6002               Various                                                                                             $3.26
JUAN SAMANO GASCA             6504 100TH AVE SE                                                  EYOTA           MN         55934                  6002               Various                                                                                             $2.79
JUAN SANDOVAL JR              18 NE SCHMITZ ST                                                   ADAMS           MN         55909                  6004               Various                                                                                             $3.00
JUAN SERRATO                  3115 LENOX PARK STREET                                             CALDWELL        ID         83605                  6004               Various                                                                                             $5.00
JUAN SILVA                    223 SEIPPLE BLVD                                                   BEAVER DAM      WI         53916                  6004               Various                                                                                             $2.00
JUAN VALENTIN                 501 VERNON AVE                                                     BELOIT          WI         53511                  6002               Various                                                                                            $10.00
JUAN VEGA                     P.O. BOX 682                                                       WORTHINGTON     MN         56187                  6004               Various                                                                                            $24.16
JUANA BARROS LANDEROS         1611 W STATE ST APT 7                                              BOISE           ID         83702                  6002               Various                                                                                             $4.30
JUANA I CABALLERONUNEZ        1604 DUG RD                                                        WAUKON          IA         52172                  6002               Various                                                                                             $4.05
JUANA LOPEZ                   833 VALLEY DR                                                      WAYNE           NE         68787                  6002               Various                                                                                             $2.14
JUANA MARQUEZ GARCIA          7606 35TH ST                                                       BELLEVUE        NE         68147                  6004               Various                                                                                             $6.00
JUANA MARROQUIN VALDEZ        4001 S. 51ST STREET, APT. # 5                                      LINCOLN         NE         68506                  6004               Various                                                                                            $47.94
JUANA MATIAS MIGUEL           1745 SADDLE DR APT 35                                              ARCADIA         WI         54612                  6002               Various                                                                                             $8.93
JUANA MESHIGAUD               W555 RIDGEVIEW PARK                                                WILSON          MI         49896                  6004               Various                                                                                            $23.00
JUANA NUNEZ                   412 MILL ST                                                        FOX LAKE        WI         53933                  6004               Various                                                                                            $25.00
JUANA RIVERA                  535 W DAVIS ST                                                     RAWLINS         WY         82301                  6002               Various                                                                                             $6.22
JUANA TORRES                  224 S CENTER AVE                                                   JEFFERSON       WI         53549                  6004               Various                                                                                            $25.00
JUANITA HARRIS                218 14TH AVE                                                       LEWISTON        ID         83501                  6004               Various                                                                                           $212.96
JUANITA HATKE                 1429 IDAHO STREET                                                  LEWISTON        ID         83501                  6004               Various                                                                                            $10.03
JUANITA HEALEY                5330 MADALYN RD                                                    LINCOLN         NE         68516                  6004               Various                                                                                            $10.00
JUANITA MOYER                 2215 FOLSOM ST APT 204                                             EAU CLAIRE      WI         54703                  6002               Various                                                                                             $3.45
JUANITA OLIVAS                1110 W NORTH ST                                                    WAUTOMA         WI         54982                  6002               Various                                                                                             $4.22




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             Creditor Name                    Address1           Address2           Address3              City        State           Zip   Country     Number                Claim                                                                             Total Claim
JUANITA OWENS                     1575 E MONROE AVE                                              RIVERTON          WY         82501                 6002                Various                                                                                                $8.90
JUANITA PINON FIERRO              12206 POPPLETON PLZ        APT 333                             OMAHA             NE         68144                 6004                Various                                                                                                $4.00
JUANITA ROSS                      1602 E G ST                                                    NORTH PLATTE      NE         69101                 6004                Various                                                                                                $4.00
JUANITA SCHONSCHECK               6928 31ST AVE                                                  KENOSHA           WI         53142                 6002                Various                                                                                                $0.88
JUANITA SEGURA                    2315 PARK LANE SE          TRL 8A                              ROCHESTER         MN         55904                 6004                Various                                                                                                $6.00
JUANITA SIMMONS                   148 WILLIAMS AVE                                               BUFFALO           WY         82834                 6002                Various                                                                                                $5.92
JUANITA SPRINGBORG                1014 W WILLIAM                                                 ALBERT LEA        MN         56007                 6004                Various                                                                                                $5.82
JUANITA STEWART                   2370 STILLWATER DR                                             BILLINGS          MT         59102                 6004                Various                                                                                                $2.00
JUANITA YOUNG                     W8552 NUT RD.                                                  AMBERG            WI         54102                 6004                Various                                                                                               $26.00
JUBA MOTEN                        208 DEER VALLEY ROAD                                           MADISON           WI         53713                 6004                Various                                                                                                $1.00
                                                             200 S WILCOX
JUBILEE FAMILY INVESTMENTS LLC    SUITE 328                  STREET                              CASTLE ROCK       CO         80104                  8307               Various                                                                                         $9,879.39
JUBILIE R SOTHERS                 PO BOX 142                                                     COURTLAND         KS         66939                  6002               Various                                                                                             $7.01
JUDD BOGSETH                      2020 COUNTY ROAD 19                                            LYONS             NE         68038                  6002               Various                                                                                             $4.03
JUDD FRANKE                       606 HARRISON ST                                                KEWAUNEE          WI         54216                  6002               Various                                                                                             $3.42
JUDD NORMANDY                     1221 1/2 HOWARD AVE                                            BILLINGS          MT         59102                  6002               Various                                                                                             $0.88
JUDD ZIMMERMANN                   1243 CLEVELAND AVE                                             RACINE            WI         53405                  6004               Various                                                                                             $3.00

JUDD/ ELIJAH                      STORE 095                  SHOPKO EMPLOYEE                     GREEN BAY         WI         54307-9060             2941               Various                                                                                               $24.84
JUDE REUSCH                       1120 PLEASANT STREET                                           LAKE GENEVA       WI         53147                  6004               Various                                                                                               $30.00
JUDE WARREN                       942 N COUNTY ROAD 1500E                                        TUSCOLA           IL         61953                  6002               Various                                                                                                $6.22
JUDI HUBERTY                      PO BOX 193                                                     HOBSON            MT         59452                  6002               Various                                                                                                $3.45
JUDI TUCKER                       320 E MEDINA RD                                                MARSHALL          WI         53559                  6004               Various                                                                                               $15.00

JUDICKI/ LINDA JEAN               STORE #2-027               SHOPKO EMPLOYEE                     GREEN BAY         WI         54307                  1546               Various                                                                                             $2.53
JUDITH A FRITZ                    46585 110TH ST                                                 NEW EFFINGTON     SD         57255                  6002               Various                                                                                             $8.03
JUDITH A HOOT                     336 N BERNARD ST                                               POWELL            WY         82435                  6002               Various                                                                                             $0.85
JUDITH A NORRIS                   501 BIRCH ST                                                   RIVER FALLS       WI         54022                  6002               Various                                                                                             $1.59
JUDITH A SCINICARIELLO            RR 2                                                           INVERNESS         FL         32650                  6002               Various                                                                                             $2.99
JUDITH ANNE WRIGHT                1007 WHITETAIL ST APT 15                                       RICE LAKE         WI         54868                  6002               Various                                                                                             $9.04
JUDITH COLGLAZIER                 108 W MARTIN STREET                                            MOLDALE           IA         51556                  6002               Various                                                                                             $1.00
JUDITH DETTMAN                    990 LINDEN DR              APT 10                              HOLMEN            WI         54636                  6002               Various                                                                                            $13.26
JUDITH FAAS                       620 ST CLAIR AVE APT 304                                       SHEBOYGAN         WI         53081                  6002               Various                                                                                             $6.11
JUDITH FRUIN                      2617 HAWTHORN RD                                               MARENGO           IL         60152                  6004               Various                                                                                            $20.65
JUDITH GARCIA                     2008 OAKBROOK DR                                               BELVIDERE         IL         61008                  6004               Various                                                                                             $3.90
JUDITH H JANOWSKI                 7606 FARMINGTON WAY                                            MADISON           WI         53717                  6002               Various                                                                                             $5.92
JUDITH HAYS                       13003 43RD AVE                                                 CHIPPEWA FALLS    WI         54729                  6002               Various                                                                                             $0.36
JUDITH HELLER                     N912 2ND STREET RD                                             WATERTOWN         WI         53098                  6002               Various                                                                                             $1.12
JUDITH KAMPA                      W26233 FOX ST                                                  ARCADIA           WI         54612                  6002               Various                                                                                            $20.80
JUDITH KEELING                    310 W SIXTH ST                                                 MOUNT CARMEL      IL         62863                  6002               Various                                                                                             $1.01
JUDITH L RASMUSSEN                320 12TH AVE S                                                 WISCONSIN RAPID   WI         54495                  6002               Various                                                                                             $7.56
JUDITH L REYNOLDS                 25700 SE ATKINS RD                                             CABLE             WI         54821                  6002               Various                                                                                             $9.56
JUDITH LAMBERIES                  1030C WEST ELM DRIVE       APT 4                               LITTLE CHUTE      WI         54140                  6004               Various                                                                                            $60.00
JUDITH MCCORMICK                  847 E DAFFODIL LN                                              BELOIT            WI         53511                  6002               Various                                                                                            $10.00
JUDITH MCKEEVER                   2014 MEMORIAL DR           APT 105                             GREEN BAY         WI         54303                  6004               Various                                                                                            $11.04
JUDITH MYERS                      1712 FRANK HALL DR                                             ALBERT LEA        MN         56007                  6004               Various                                                                                           $125.00
JUDITH OHLSSON                    944 PIERCE AVE                                                 OSHKOSH           WI         54902                  6002               Various                                                                                             $6.11
JUDITH PALMQUIST                  503 9TH AVE N                                                  SAINT JAMES       MN         56081                  6002               Various                                                                                            $13.25
JUDITH QUAINTANCE                 635 RIDGEVIEW CR # 201                                         APPLETON          WI         54911                  6002               Various                                                                                             $1.18
JUDITH REETZ                      9 B ALEXANDER ROAD                                             ESTHERVILLE       IA         51334                  6004               Various                                                                                            $54.98
JUDITH RODBERG                    1305 35TH ST                                                   SIOUX CITY        IA         51104                  6002               Various                                                                                             $6.55
JUDITH SANCHEZ                    835 2ND AVE SOUTH WEST                                         PIPESTONE         MN         56164                  6004               Various                                                                                            $10.00
JUDITH SAVAGE                     3811 16TH AVE NW                                               ROCHESTER         MN         55901                  6004               Various                                                                                             $3.00
JUDITH SCHEUERMANN                2519 PAULINA ST                                                EAU CLAIRE        WI         54703                  6002               Various                                                                                             $0.38




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JUDITH SHAW                    715 CHESTNUT                                            WARREN            IL         61087                 6004                Various                                                                                               $11.04
JUDITH SNODDERLY               PO BOX 62                                               TREGO             MT         59934                 6002                Various                                                                                                $1.12
JUDITH STRANG                  PO BOX 174                                              HINSDALE          MT         59241                 6002                Various                                                                                                $2.08
JUDITH SUTINEN                 57456 4TH STREET                                        CALUMET           MI         49913                 6002                Various                                                                                               $64.52
JUDITH TEUBERT                 PO BOX 455                                              DARIEN            WI         53114                 6002                Various                                                                                               $13.76
JUDITH VAN WINKLE              108 S ADAMS LOGAN MNR                                   LOGAN             KS         67646                 6002                Various                                                                                                $4.18
JUDITH WALLACE                 N8069 LINCOLN LAKE RD                                   TREGO             WI         54888                 6002                Various                                                                                                $2.41
JUDITH WATLAND                 1750 CTY T S                                            AMHERST JUCTION   WI         54407                 6002                Various                                                                                                $6.19
JUDITH WHITEBECK               2341 BERKLEY ROAD                                       DE PERE           WI         54115                 6002                Various                                                                                                $2.08
JUDITH WIRTH                   30990 EAGEL LAKE RD                                     FRAZEE            MN         56544                 6002                Various                                                                                                $0.47
JUDITH WOODS                   662 CTY HY H                                            FREDONIA          WI         53021                 6002                Various                                                                                                $9.81
JUDITH WRIGHT                  1849 CTY RD 8                                           GHENT             MN         56239                 6004                Various                                                                                               $25.00
JUDITH WURL                    D3316 RIVER RD                                          STRATFORD         WI         54484                 6004                Various                                                                                                $7.06
JUDITH ZUCKER                  14918 SHIRLEY ST                                        OMAHA             NE         68144                 6002                Various                                                                                               $10.00
JUDITH(AMM) ANDERSEN           1426 COLLEGE AVE                                        RACINE            WI         53403                 6002                Various                                                                                                $1.64
JUDY A WESTHOFF                38625 STATE HIGHWAY 78                                  PERHAM            MN         56573                 6002                Various                                                                                                $0.99
JUDY A ZIEGLER-GODFREY         1133 WOODRIDGE DR APT 7                                 GRAFTON           WI         53024                 6002                Various                                                                                                $7.89
JUDY ANDERSON                  W2062 HIGHWAY 10                                        MAIDEN ROCK       WI         54750                 6002                Various                                                                                                $4.19
JUDY AVERETT                   18 E 200TH N STE 400                                    TREMONTON         UT         84337                 6002                Various                                                                                                $3.48
JUDY BALL                      7940 CHRISTY CIRCLE DR                                  FRANKSVILLE       WI         53126                 6004                Various                                                                                                $1.00
JUDY BAYBA                     3307 N 4TH AVE                                          WAUSAU            WI         54401                 6002                Various                                                                                                $7.84
JUDY BOECK                     N8688 CTY TK AY                                         MAYVILLE          WI         53050                 6002                Various                                                                                                $8.25
JUDY BREWER                    417 OSCEOLA ST                                          CALUMET           MI         49913                 6002                Various                                                                                                $1.26
JUDY CHENEY                    117 E MAIN ST.                                          ELYSIAN           MN         56028                 6004                Various                                                                                                $3.06
JUDY DEBOLT                    636 CENTRAL AVE                                         FAIRFIELD         MT         59436                 6002                Various                                                                                                $0.71
JUDY DUREY                     1810 KNIGHT HILL RD                                     SELAH             WA         98953                 6004                Various                                                                                               $60.75
JUDY FELTON                    8176 S 1300TH E APT E304                                SANDY             UT         84094                 6002                Various                                                                                                $2.38
JUDY FRIESENBORG               509 W 14TH ST                                           COZAD             NE         69130                 6002                Various                                                                                                $2.03
JUDY FULLER                    2226 MYERS LN                                           RIVERTON          UT         84065                 6004                Various                                                                                                $3.64
JUDY GLATHAR                   1110 MEADOW DALE DR                                     LINCOLN           NE         68505                 6002                Various                                                                                                $6.11
JUDY GOWEY                     W5358 STETSON AVE                                       STETSONVILLE      WI         54480                 6004                Various                                                                                               $25.00
JUDY HARPER                    N1964 STATE ROAD 22                                     WAUTOMA           WI         54982                 6002                Various                                                                                                $1.66
JUDY HARRIS                    954 14TH ST SE                                          MASON CITY        IA         50401                 6002                Various                                                                                               $10.00
JUDY HAYES                     911 E SYCAMORE AVE                                      NORFOLK           NE         68701                 6002                Various                                                                                                $4.27
JUDY HULETT                    PO BOX 91                                               ALMA CENTER       WI         54611                 6002                Various                                                                                                $0.74
JUDY JANSSEN                   315 E PERSHING                                          FREEPORT          IL         61032                 6004                Various                                                                                               $69.80
JUDY K EDWARDS                 BOX 1745 829 E 5TH ST                                   WINNER            SD         57580                 6002                Various                                                                                                $6.30
JUDY K KOWALKOWSKI             319 3RD ST PO # BX178                                   WINNECONNE        WI         54986                 6002                Various                                                                                                $6.60
JUDY MCDONALD                  5430 W. 13680 S.                                        RIVERTON          UT         84065                 6004                Various                                                                                               $25.40
JUDY MEINDL                    2506 FAIRFIELD TR                                       BELVIDERE         IL         61008                 6002                Various                                                                                                $7.53
JUDY MELLEM                    BOX 232                                                 SHEFFIELD         IA         50475                 6002                Various                                                                                                $7.12
JUDY MILLER                    PO BOX 344                                              VENTURA           IA         50482                 6002                Various                                                                                                $3.70
JUDY MOSER                     PO BOX 202                                              NORTH FORK        ID         83466                 6002                Various                                                                                                $3.86
JUDY MUNOZ                     720 W DAVIS ST                                          RAWLINS           WY         82301                 6002                Various                                                                                                $5.01
JUDY OBRIEN                    BOX 192                                                 CARMEN            ID         83462                 6002                Various                                                                                                $0.66
JUDY PAUTZ                     1028 HENNES CT                                          KAUKAUNA          WI         54130                 6002                Various                                                                                                $4.90
JUDY PETERS                    P.O.BOX 19                                              LAKESIDE          MT         59922                 6004                Various                                                                                               $37.24
JUDY PHILLIPS                  155 LANE # 4 1/2                                        DEAVER            WY         82421                 6002                Various                                                                                                $5.73
JUDY RIDLING                   120 S WELLS ST                                          PILGER            NE         68768                 6002                Various                                                                                                $0.96
JUDY ROGERS                    4417 SPRING RD                                          OMRO              WI         54963                 6002                Various                                                                                                $8.49
JUDY ROHRER                    524 JACKIE LN                                           LA CROSSE         WI         54603                 6002                Various                                                                                                $2.38
JUDY RYAN                      3002 DARCY DR NE                                        ROCHESTER         MN         55906                 6002                Various                                                                                                $3.73
JUDY RYNEARSON                 830 PAWNEE LN                                           BROKEN BOW        NE         68822                 6002                Various                                                                                                $8.16
JUDY SAHM                      1088 W HARVEST VIEW WAY                                 WEST JORDAN       UT         84084                 6002                Various                                                                                                $6.93




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                                                                                                                                                                                             Contingent


                                                                                                                                                                                                                         Disputed
                                                                                                                                                    Last 4 Digits of     Date Debt was
                                                                                                                                                       Account         Incurred, Basis for
               Creditor Name                Address1              Address2           Address3              City      State           Zip   Country     Number                Claim                                                                             Total Claim
JUDY SIMPLOT                    2047 HIGHLAND AVE                                                 BELOIT          WI         53511                 6002                Various                                                                                             $7.73
JUDY STAPLES                    4744 W 2925TH S                                                   WVC             UT         84120                 6002                Various                                                                                             $1.62
JUDY SULLIVAN                   907 N CRAWFORD AVE                                                HARDIN          MT         59034                 6002                Various                                                                                            $16.54
JUDY SUTTON                     3012 IOWA STREET                                                  CALDWELL        ID         83605                 6004                Various                                                                                             $3.00
JUDY SWENSON                    4135 KENNEDY CIR N                                                COLGATE         WI         53017                 6002                Various                                                                                             $6.77
JUDY TICE                       5766 SHANNON COURT                                                HELENA          MT         59602                 6004                Various                                                                                            $30.00
JUDY TIRREL                     PO BOX81                                                          ESTELLINE       SD         57234                 6004                Various                                                                                            $38.81
JUDY WALCH                      PO BOX 235                                                        EPHRAIM         WI         54211                 6002                Various                                                                                             $7.56
JUDY WITTENWYLER                420 CLOVER LN                                                     FORT ATKINSON   WI         53538                 6002                Various                                                                                             $8.14
JUDY WOLLANGK                   404 S MAIN ST                                                     FORT ATKINSON   WI         53538                 6002                Various                                                                                             $7.75
JUDY WORTHINGTON                3314 S 152ND AVENUE CIR                                           OMAHA           NE         68144                 6002                Various                                                                                             $0.38
JUDY YODER                      HC 1 BOX 474                                                      FAIRDEALING     MO         63939                 6002                Various                                                                                             $0.68
JUDY YUKL                       701 16TH ST                                                       CLARKSTON       WA         99403                 6002                Various                                                                                             $0.77
JUKODA ROOSEVELT                206 PARK VIEW LN                                                  VERONA          WI         53593                 6004                Various                                                                                             $2.00
JULENE HOCKEL                   2275 WILLNOR DR               BOX 294                             WINDOM          MN         56101                 6002                Various                                                                                             $1.94
JULI ANDERSON                   775 SE FORREST WAY APT. 667                                       PULLMAN         WA         99163                 6004                Various                                                                                           $137.28
JULI HILL                       425 FLETCHER APT 6                                                LINCOLN         NE         68521                 6004                Various                                                                                           $100.58
JULI NAYLOR                     PO BOX 912                                                        NEWCASTLE       WY         82701                 6002                Various                                                                                             $1.64
JULI SWANSON                    4560 580TH ST                                                     PINE CITY       MN         55063                 6002                Various                                                                                             $0.82
JULIA BUSCH                     3036 MAPLEGROVE RD                                                SUAMICO         WI         54173                 6004                Various                                                                                            $12.40
JULIA CARDOSO                   1023 W MAIN ST APT#A3                                             WATERTOWN       WI         53094                 6002                Various                                                                                             $6.52
JULIA CHADY                     332 RIVERSIDE DRIVE                                               FORT ATKINSON   WI         53538                 6004                Various                                                                                            $30.00
JULIA D MAUL                    1866 SORRILL RD                                                   JACKSONVILLE    IL         62650                 6002                Various                                                                                             $1.95
JULIA FUCHS                     601 N. MAIN ST. LOT 38                                            FALL RIVER      WI         53932                 6004                Various                                                                                             $1.00
JULIA GIESE                     1348 DESNOYERS ST.                                                GREEN BAY       WI         54303                 6004                Various                                                                                            $15.00
JULIA HAGEMANN                  315 S WALNUT ST                                                   MAYVILLE        WI         53050                 6002                Various                                                                                            $10.00
JULIA HAYBALL                   PO BOX 15                                                         FORT HALL       ID         83203                 6002                Various                                                                                             $1.70
JULIA HENEY                     1278 PERSHING                 APT 112                             DE PERE         WI         54115                 6004                Various                                                                                             $4.00
JULIA J SCHWEITZER              404 E KANSAS ST                                                   CAIRO           NE         68824                 6002                Various                                                                                             $0.77
JULIA KOEP                      534 S BRET AVE                                                    COEUR D ALENE   ID         83814                 6002                Various                                                                                             $9.59
JULIA LORA DE MARTE             509 OAK ST APT 2                                                  FORT ATKINSON   WI         53538                 6002                Various                                                                                             $3.45
JULIA M SCHWARTZ                2414 MEADOWOOD ST                                                 BILLINGS        MT         59102                 6002                Various                                                                                             $9.81
JULIA MARTINEZ                  410 RIVER RD APT 25                                               WEST BEND       WI         50395                 6666                Various                                                                                             $3.99
JULIA MOGLER                    204 RIVERSIDE DR                                                  WATERLOO        NE         68069                 6002                Various                                                                                             $0.27
JULIA OHARA FAIRCHILD           2775 GLENCREEK PL # APT7                                          APPLETON        WI         54914                 6002                Various                                                                                             $9.21
JULIA PAALMAN                   W6145 LONG CT                                                     APPLETON        WI         54914                 6002                Various                                                                                             $8.55
JULIA PESTLE                    406 N ASHLAND AVE                                                 GREEN BAY       WI         54303                 6004                Various                                                                                            $21.90
JULIA PICKARD                   3635 N KINGSWOOD DR                                               BOISE           ID         83704                 6002                Various                                                                                             $6.38
JULIA R THIELE                  11 8TH AVE SW                                                     WATERTOWN       SD         57201                 6002                Various                                                                                             $7.95
JULIA SHARONLEE                 420 S WASHINGTON ST                                               ABERDEEN        SD         57401                 6004                Various                                                                                             $8.00
JULIA SWANKE                    216 HASKEL STREET                                                 BEAVER DAM      WI         53916                 6004                Various                                                                                            $10.06
JULIA THAW                      603 11TH ST PO BOX 223                                            BREWSTER        MN         56119                 6004                Various                                                                                             $3.00
JULIA VINZANT                   801 TROY CT. #219                                                 HELENA          MT         59601                 6004                Various                                                                                             $2.00
JULIA XIONG                     308 BAYVIEW                                                       MADSION         WI         53715                 6004                Various                                                                                             $2.00
JULIAN ALVAREZ                  204 ANNA STREET                                                   MOSINEE         WI         54455                 6004                Various                                                                                             $3.00
JULIAN HERNANDEZ                1137 N TABOR                                                      NORTH PLATTE    NE         69101                 6004                Various                                                                                             $2.00
JULIAN HUGHES                   6883 W BOUTWELL DR                                                COEUR D ALENE   ID         83814                 6002                Various                                                                                             $1.37
JULIAN JENSEN                   1654 SANDY LN                                                     MENASHA         WI         54952                 6002                Various                                                                                             $2.14
JULIAN KOTT                     W1154 CENTER RD                                                   STANLEY         WI         54768                 6002                Various                                                                                             $5.84
JULIAN MERDE                    N9822 LUND RD                                                     IOLA            WI         54945                 6004                Various                                                                                             $1.94
JULIAN SMITH                    209 FAIRMONT ST                                                   SALMON          ID         83467                 6002                Various                                                                                             $2.66
JULIAN T HASSELL                BOYSTOWN                                                          GRAND ISLAND    NE         68803                 6002                Various                                                                                             $0.77
JULIAN TOLEDO                   401 HEWITT ST                                                     NEENAH          WI         54956                 6004                Various                                                                                             $2.00




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                                                                                                                                                                                           Contingent


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                                                                                                                                                     Account         Incurred, Basis for
              Creditor Name              Address1                Address2         Address3            City        State           Zip   Country      Number                Claim                                                                             Total Claim

JULIANA DAL PRA                11387 CROSS CREEK ESTATES LN.                                   BELVIDERE       IL         61008                   6004               Various                                                                                               $30.00
JULIANA M LISEO                207 N PINE ST                                                   EWING           NE         68735                   6002               Various                                                                                                $1.51
JULIANA SOBOTKA                20138 126TH PL                                                  WHITEWOOD       SD         57793                   6002               Various                                                                                                $1.18
JULIANNA MARTINEZ              2281 SOUTH THOMPSON DR        APT 2                             MADISON         WI         53716                   6004               Various                                                                                                $1.00
JULIANNE BUCHINGER             1135 MORAINE ST #3                                              GREEN BAY       WI         54303                   6004               Various                                                                                                $7.00
JULIANNE DENTON                W12290 REEDS CORNERS RD.                                        RIPON           WI         54971                   6004               Various                                                                                               $25.00
JULIANNE ENDRES                403 20TH AVE NW                                                 WATERTOWN       SD         57201                   6002               Various                                                                                               $10.00
JULIANNE WILLIAMS              12708 ORCHARD CIR                                               OMAHA           NE         68137                   6002               Various                                                                                                $9.01
JULIANNE YATES                 220 JEFFERSON ST                                                TWIN FALLS      ID         83301                   6002               Various                                                                                                $3.86
JULIE ANDERSON-VAN KOMEN       1770 EAST WAY BRIDGE LANE                                       SANDY           UT         84092                   6004               Various                                                                                               $20.00
JULIE BARRETT                  1920 RIVER RD TRLR 2                                            MISSOULA        MT         59801                   6002               Various                                                                                                $8.99
JULIE BARTHOLOMEW              79 W 400TH S                                                    LOGAN           UT         84321                   6002               Various                                                                                                $6.79
JULIE BELTER                   5523 S 93RD ST                                                  OMAHA           NE         68127                   6002               Various                                                                                                $4.88
JULIE BERDING                  2911 S JEFFERSON AVE                                            MASON CITY      IA         50401                   6002               Various                                                                                                $6.03

JULIE BIRT-THUESON             2295 N YELLOWSTONE HWY TRLR                                     IDAHO FALLS     ID         83401                   6002               Various                                                                                                $4.44
JULIE BROWN                    112 ERIC AVE                                                    CROOKS          SD         57020                   6004               Various                                                                                               $10.00
JULIE BUSH                     1550 15TH AVE 3                                                 KENOSHA         WI         53140                   6004               Various                                                                                               $41.53
JULIE CHACON                   7 SAGE DR                                                       OREM            UT         84097                   6004               Various                                                                                               $20.00
JULIE CRUZ                     406 W. IRONWOOD ST.                                             STURGEON BAY    WI         54235                   6004               Various                                                                                               $10.80
JULIE DAVIS                    308 43RD AVE NW                                                 ROCHESTER       MN         55901                   6004               Various                                                                                                $3.00
JULIE DELGADO                  409 S STATE ST                                                  BELVIDERE       IL         61008                   6004               Various                                                                                                $3.90
JULIE DRAVES                   335 W EVERGREEN DR                                              APPLETON        WI         54913                   6002               Various                                                                                                $4.58
JULIE ELLIOTT                  526 ATHENSVILLE RD                                              PALMYRA         IL         62674                   6004               Various                                                                                               $27.00
JULIE ELLSWORTH                3636 GLEN OAKS BLVD APT 15                                      SIOUX CITY      IA         51104                   6004               Various                                                                                                $9.60
JULIE FAUX                     455 N 100TH W # 3                                               SPANISH FORK    UT         84660                   6002               Various                                                                                                $0.47
JULIE FISCHER                  7037 UNCLE ROBERT LANE 35                                       MISSOULA        MT         59803                   6004               Various                                                                                                $8.00
JULIE FRAZER                   111 N POWELL AVE                                                FREEPORT        IL         61032                   6002               Various                                                                                                $2.14
JULIE FUEHRER                  359 15TH AVE                                                    NEKOOSA         WI         54457                   6004               Various                                                                                                $5.41
JULIE GARNER-TENO              303 E PALM                                                      ROODHOUSE       IL         62082                   6004               Various                                                                                               $39.98
JULIE GARRISON                 87900 422ND AVE                                                 JOHNSTOWN       NE         69214                   6002               Various                                                                                               $46.77
JULIE GRENIER                  W234 N7339 FONTAINE CIRCLE                                      SUSSEX          WI         53089                   6004               Various                                                                                               $12.54
JULIE GUSTAFSON                11625 BELOIT RD                                                 BELVIDERE       IL         61008                   6004               Various                                                                                                $3.75
JULIE HANSEN                   121 JADE                                                        SALMON          ID         83467                   6002               Various                                                                                                $7.01
JULIE HARTLEY                  2708 KERR ST                                                    BOISE           ID         83705                   6002               Various                                                                                                $1.42
JULIE HEIMANN                  1312 SUNFIELD ST 1                                              SUN PRAIRIE     WI         53590                   6004               Various                                                                                                $2.00
JULIE HICKEY                   PO BOX 2355                                                     APPLETON        WI         54912                   6002               Various                                                                                                $7.26
JULIE HILL                     755 CLEVELAND ST                                                NEENAH          WI         54956                   6002               Various                                                                                                $2.08
JULIE HITZ                     3081 STONERIDGE CIRCLE                                          IDAHO FALLS     ID         83406                   6004               Various                                                                                                $5.00
JULIE HOWELL                   165 N 200TH E                                                   FARMINGTON      UT         84025                   6002               Various                                                                                                $3.37
JULIE HUGGINS                  5411 FRONTIER APT 1                                             BILLINGS        MT         59101                   6004               Various                                                                                                $5.02
JULIE HUNT                     1078 W 10210TH S                                                SOUTH JORDAN    UT         84095                   6002               Various                                                                                                $9.12
JULIE INGRAM                   206 S 4TH AVE                                                   WINTERSET       IA         50273                   6002               Various                                                                                                $6.82
                               175 HUTTON RANCH RD SUITE
JULIE JELLEY                   103                                                             KALISPELL       MT         59901                   6004               Various                                                                                                $2.00
JULIE JENSEN                   N1121 SHADY LN                                                  DALTON          WI         53926                   6004               Various                                                                                               $10.67
JULIE JOHNSON                  2032 LASALLE ST.                                                RACINE          WI         53402                   6004               Various                                                                                               $35.00
JULIE JOHNSTON                 101 COUGAR ST                                                   GWINN           MI         49841                   6002               Various                                                                                                $6.71
JULIE K. VAN CLEAVE            3049 S ZANE LN                                                  COEUR D ALENE   ID         83814                   6002               Various                                                                                                $2.11
JULIE KING                     23723 458TH AVE                                                 MADISON         SD         57042                   6002               Various                                                                                                $3.86
JULIE KLENKO                   12129 CUMBERLAND RD                                             COLOMA          WI         54930                   6002               Various                                                                                                $1.23
JULIE KNUDSON                  3100 BRIDGER DR                                                 HELENA          MT         59602                   6002               Various                                                                                                $2.96
JULIE KUHN                     1008 E DIVISION STREET                                          NEILLSVILLE     WI         54456                   6002               Various                                                                                               $17.63




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             Creditor Name              Address1                  Address2         Address3            City           State           Zip   Country     Number              Claim                                                                             Total Claim
JULIE LANDGREN                49812 HIGHWAY 70                                                  BARTLETT         NE           68622                 6002              Various                                                                                                $3.04
                                                              2600 SUNSET
JULIE LARSON                  APT 4                           BOULEVARD                         STEVENS POINT    WI           54481                   6002            Various                                                                                            $12.07
JULIE LESKY                   610 HAGAR ST                                                      LA CROSSE        WI           54603                   6002            Various                                                                                             $0.60
JULIE LIND                    128 111TH ST                                                      WOODSTOCK        MN           56186                   6002            Various                                                                                             $8.11
JULIE LINDSAY                 132 MARION LN                                                     MANKATO          MN           56001                   6002            Various                                                                                             $9.10
JULIE MALMQUIST               1301 CENTER AVE LOWER                                             JANESVILLE       WI           53546                   6004            Various                                                                                             $2.00
JULIE MANGELS                 1613 23 AVE SE                                                    ROCHESTER        MN           55904                   6004            Various                                                                                             $3.00
JULIE MAYER                   5466 W MICHAELS DR APT 6                                          APPLETON         WI           54913                   6002            Various                                                                                             $3.84
JULIE MCCLEARY                502 PACIFIC PLACE APT B211                                        NORTH PLATTE     NE           69101                   6004            Various                                                                                             $2.00
JULIE MEYER                   3267 HICKORY RIDGE LN                                             GREEN BAY        WI           54311                   6002            Various                                                                                             $6.52
JULIE MILLER                  W5646 VANS RD                                                     APPLETON         WI           54915                   6004            Various                                                                                            $25.16
JULIE MOORE                   413 E 4TH ST                                                      CLARE            MI           48617                   6002            Various                                                                                             $1.01
JULIE MOWER                   269 N 1550 E                                                      LAYTON           UT           84040                   6004            Various                                                                                             $9.99
JULIE MOZAK                   3030 JENNINGS ST                                                  SIOUX CITY       IA           51104                   6002            Various                                                                                             $6.22
JULIE MUNN                    1107 FIESTA WAY                                                   TWIN FALLS       ID           83301                   6004            Various                                                                                             $5.00
JULIE N SCHMELZENBACK         950 MCDOUGALL DR                                                  LANDER           WY           82520                   6002            Various                                                                                             $1.01
JULIE NELSON                  112 17TH AVE                                                      LEWISTON         ID           83501                   6004            Various                                                                                           $104.64
JULIE NGUYEN                  815 RUMLEY RUN                                                    DE FOREST        WI           53532                   6004            Various                                                                                             $1.00
JULIE OBERG                   524 PROSPECT AVE                                                  FOND DU LAC      WI           54937                   6002            Various                                                                                             $3.48
JULIE PARK                    2420 SAUNDERS RD SE                                               KALKASKA         MI           49646                   6002            Various                                                                                             $5.56
JULIE PENDERGAST              140 S. LINCOLN ST                                                 KIMBERLY         WI           54136                   6004            Various                                                                                            $62.00
JULIE PENNING                 1332 1/2 3RD AVE                                                  SHELDON          IA           51201                   6002            Various                                                                                             $2.90
JULIE PHILLIPS                3430 N 43TH ST                                                    OMAHA            NE           68104                   6004            Various                                                                                             $4.00
JULIE PLACE                   2413 S 35TH ST                                                    MANITOWOC        WI           54220                   6002            Various                                                                                             $7.86
JULIE PROULX                  N 2707 FRUITLAND # D24                                            COEUR D ALENE    ID           83814                   6002            Various                                                                                             $6.05
JULIE RASCHKA                 2000 RED OAK DR                                                   PLOVER           WI           54467                   6002            Various                                                                                             $8.11
JULIE RATCLIFFE               921 E MULLAN AVE                                                  COEUR D ALENE    ID           83814                   6002            Various                                                                                             $8.47
JULIE REHBEIN                 12278 COUNTY ROAD 345                                             SIDNEY           MT           59270                   6002            Various                                                                                             $5.04
JULIE REICHENBACH             115 QUAW AVE.                                                     EDGAR            WI           54426                   6004            Various                                                                                            $57.29
JULIE ROOK                    N15708 23RD AVENUE                                                NEKOOSA          WI           54457                   6004            Various                                                                                            $50.00
JULIE RUSSELL                 2025 TERRA LINDA DR                                               SALT LAKE CITY   UT           84124                   6002            Various                                                                                             $6.05
JULIE SCHICK                  1886 MAPLEWOOD AVE                                                GREEN BAY        WI           54303                   6002            Various                                                                                             $6.96
JULIE SCHOUWEILER             2256 MEADW WOOD DR                                                MOSINEE          WI           54455                   6002            Various                                                                                             $5.62
JULIE SCHUSTER                14655 N 20TH AVENUE                                               MERRILL          WI           54452                   6004            Various                                                                                           $100.00
JULIE SCHWAB                  4020 CTY ROAD M                                                   MIDDLETON        WI           53562                   6004            Various                                                                                             $1.00
JULIE SEAVER                  33040 260TH AVE                                                   ERHARD           MN           56534                   6002            Various                                                                                             $0.88
JULIE SIEVERS                 122 HIGHWAY 20 TRLR 39                                            THERMOPOLIS      WY           82443                   6002            Various                                                                                             $4.99
JULIE SIEWERT                 1326 WESTWOOD DR                                                  NEENAH           WI           54956                   6002            Various                                                                                             $0.27
JULIE SPENCER-WILLIAMS        605 E. 3610 SO.                                                   SALT LAKE CITY   UT           84106                   6004            Various                                                                                            $24.00
JULIE SPRINGSTUBE             213 N NINTH ST UNIT 2                                             MANITOWOC        WI           54220                   6002            Various                                                                                            $10.00
JULIE STURM                   250 E 4TH N APT C5                                                PRESTON          ID           83263                   6002            Various                                                                                             $1.89
JULIE TAYLOR                  953 E 9TH ST                                                      WINNER           SD           57580                   6002            Various                                                                                             $0.66
JULIE THARP                   719 N B STREET                                                    MONMOUTH         IL           61462                   6004            Various                                                                                            $45.00
JULIE TLACHAC                 5223 HIGHWAY 66                                                   STEVENS POINT    WI           54481                   6002            Various                                                                                             $0.27
                              745 WEST SCOTT STREET APT 116
JULIE VAN DEN BOGART          D.                                                                FOND DU LAC      WI           54937                   6004            Various                                                                                               $10.00
JULIE VANCE                   8019 RAPID CITY RD NW                                             RAPID CITY       MI           49676                   6002            Various                                                                                                $2.41
JULIE WENNESON                801 MAYER AVE #1                                                  MADISON          WI           53704                   6004            Various                                                                                                $3.00
JULIE WILLIAMS                2835 S 800TH W                                                    PERRY            UT           84302                   6002            Various                                                                                                $4.19
JULIETTE LECLARE              1204 MCKINZIE ST                                                  DONIPHAN         MO           63935                   6002            Various                                                                                                $8.82
JULIO BENAVIDES               212 14TH AVE N                                                    BUHL             ID           83316                   6002            Various                                                                                                $6.96
JULIO CESAR HIDALGO           90 S FREEMONT ST                                                  LEWISTON         MN           55954                   6002            Various                                                                                                $7.29
JULIO OJEDA                   222 RITTER AVE                                                    KAYCEE           WY           82639                   6002            Various                                                                                                $2.96




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                                                                                                                                                                                                                              Claim subject to offset?
                                                                                                                                                                                                    Unliquidated
                                                                                                                                                                                       Contingent


                                                                                                                                                                                                                   Disputed
                                                                                                                                                Last 4 Digits of   Date Debt was
                                                                                                                                                   Account       Incurred, Basis for
            Creditor Name               Address1               Address2         Address3            City         State           Zip   Country     Number              Claim                                                                             Total Claim
JUNALUSKA MONTELONGO         PO BOX 202                                                      LAPWAI           ID         83540                 6004              Various                                                                                            $150.00
JUNE BROCKMAN                260 EAST PRAIRIE STR         APT 2                              COTTONWOOD       MN         56229                 6004              Various                                                                                             $32.96
JUNE DUNN                    3334 N 11TH ST                                                  SHEBOYGAN        WI         53083                 6002              Various                                                                                              $9.53
                                                          3262 N 94TH
JUNE FRANTZ                  C/O DONALD & SHERIE ELDRIDGE STREET                             MILWAUKEE        WI         53222                   6002            Various                                                                                            $43.97

JUNE GOODNER                 C/O LORI ZASADA              1850 DECKNER AVE                   GREEN BAY        WI         54302                   6002            Various                                                                                             $1.02
JUNE HONSA                   100 PARK AVENUE              APT 44                             OCONTO           WI         54153                   6002            Various                                                                                             $1.98
JUNE KOEHLER                 1876 CTY Z                                                      SISTER BAY       WI         54234                   6002            Various                                                                                             $3.10
JUNE KOHLWEY                 1153 KEUP RD                                                    GRAFTON          WI         53024                   6002            Various                                                                                             $0.30
JUNE LEE                     4 3RD ST                                                        MASON CITY       IA         50401                   6004            Various                                                                                            $89.76
JUNE LOVELIEN                2408 CALUMET RD                                                 EAU CLAIRE       WI         54703                   6002            Various                                                                                             $6.16
JUNE NEWMAN                  5504 HAWK AVE                                                   CALDWELL         ID         83607                   6002            Various                                                                                             $7.18
JUNE QUATSOE                 2600 PIONEER DRIVE                                              GREEN BAY        WI         54313                   6002            Various                                                                                            $15.11
JUNE SMITH                   2022 BIRCH AVE                                                  LEWISTON         ID         83501                   6004            Various                                                                                             $5.00
JUNE WEGENKE                 116 E MADISON ST                                                CLINTONVILLE     WI         54929                   6002            Various                                                                                            $11.80
JUNE WINTER                  6301 COUNTY ROAD E                                              ABRAMS           WI         54101                   6002            Various                                                                                             $0.27
JUNIOR MEDINA                8745 S 1440TH W                                                 WJ               UT         84088                   6002            Various                                                                                             $3.37
JURRISA LANDOWSKI            2917 N RANKIN ST                                                APPLETON         WI         54911                   6002            Various                                                                                             $5.73
JUST BORN INCORPORATED       PO BOX 642214                                                   PITTSBURGH       PA         15264-2214              3107            Various                                                                                         $2,046.03
JUSTENE MORLAN               114 WEST PLEASANT ST                                            GARDEN CITY      MN         56034                   6004            Various                                                                                             $3.00
JUSTICE GREEN                812 E. WOODLAND TRL                                             PRAIRIE DU SAC   WI         53578                   6004            Various                                                                                             $5.40
JUSTICE KLEIN                5319 WAGON WHEEL RD                                             MANITOWOC        WI         54220                   6004            Various                                                                                            $10.00
JUSTICE LITTLEGEORGE         6089 KENNEDY ST LOT7                                            AUBURNDALE       WI         54412                   6004            Various                                                                                             $3.00
JUSTICE MUSE                 1614 LOFTGORDON AVE                                             MADISON          WI         53704                   6004            Various                                                                                             $3.00
JUSTICE WHIPPLE-MCNERTNEY    1242 6TH ST                                                     BELOIT           WI         53511                   6004            Various                                                                                            $10.00
JUSTICE ZORPAHL              N3138 COUNTY ROAD D                                             PESHTIGO         WI         54157                   6004            Various                                                                                            $15.00
JUSTIN ADKINS                204 GALENA                                                      LEADORE          ID         83467                   6002            Various                                                                                             $1.40
JUSTIN ALWORDEN              450 COLLEGE AVE                                                 DE PERE          WI         54115                   6002            Various                                                                                             $9.78
JUSTIN BAGLEY                1020 N ELM ST                                                   GRAND ISLAND     NE         68801                   6004            Various                                                                                             $4.00
JUSTIN BAILEY                1528 SMITH ST                                                   GREEN BAY        WI         54302                   6002            Various                                                                                             $5.48
JUSTIN BEIROWSKI             1261 OUTWARD AVENUE                                             DEPERE           WI         54115                   6004            Various                                                                                             $9.68
JUSTIN BRECKENRIDGE          317 4TH AVE                                                     CHARLES CITY     IA         50616                   6004            Various                                                                                            $25.00
JUSTIN BRILINSKI             1010 13TH AVE                                                   MENOMINEE        MI         49858                   6004            Various                                                                                             $4.02
JUSTIN BROWN                 1891 N HILLFIELD RD                                             LAYTON           UT         84041                   6002            Various                                                                                             $8.11
JUSTIN COPELAND              522 WALNUT ST                                                   BEAVER DAM       WI         53916                   6004            Various                                                                                             $1.00
JUSTIN CURRAN                522 E. E STREET                                                 IRON MOUNTAIN    MI         49801                   6004            Various                                                                                            $63.22
JUSTIN D ONESALT             1019 15TH ST N PRERELEASE                                       GREAT FALLS      MT         59404                   6002            Various                                                                                             $5.34
JUSTIN D SCHMIDTKA           1126 JAYMAR ST                                                  GREEN BAY        WI         54313                   6002            Various                                                                                             $0.36
JUSTIN D. ROSE               1849 STATE HIGHWAY 4                                            SMITHVILLE       OK         74957                   6002            Various                                                                                             $0.79
JUSTIN DAWSON                2518 N 143 AVE                                                  OMAHA            NE         68164                   6004            Various                                                                                          $137.98
JUSTIN DEFOE                 1126 HENNEPIN AVE            APT. 1                             GLENCOE          MN         55336                   6004            Various                                                                                            $25.00
JUSTIN DETWEILER             23061 330TH ST                                                  JAMESPORT        MO         64648                   6002            Various                                                                                             $1.62
JUSTIN DODDS                 76780 ROAD 409                                                  GOTHENBURG       NE         69138                   6002            Various                                                                                             $5.37
JUSTIN DOLLE                 2121 W VETERANS PKWY                                            MARSHFIELD       WI         54449                   6002            Various                                                                                             $2.19
JUSTIN DUNLAP                291 S 1500 E                                                    JEROME           ID         83338                   6004            Various                                                                                            $21.00
JUSTIN E. ANDERSON           2200 CASCADE DR                                                 OROFINO          ID         83544                   6002            Various                                                                                             $7.95
JUSTIN ERKELA                101 WEST A STREET                                               TROY             ID         83871                   6004            Various                                                                                            $30.00
JUSTIN FOOTIT                728 E 50TH S                                                    PROVO            UT         84606                   6002            Various                                                                                             $6.05
JUSTIN FOWLER                2902 LYNN STREET                                                FAIRMONT         MN         56031                   6004            Various                                                                                            $11.00
JUSTIN FREANER               5726 BALSAM RD. APT. 3                                          MADISON          WI         53711                   6004            Various                                                                                             $1.00
JUSTIN FRYE                  56743 859TH RD                                                  CARROLL          NE         68723                   6002            Various                                                                                            $10.00
JUSTIN GORNIAK               421 CAROLINE ST                                                 JANESVILLE       WI         53545                   6004            Various                                                                                             $2.00
JUSTIN GRAFF                 D1309 2ND STREET                                                STRATFORD        WI         54484                   6004            Various                                                                                            $21.00




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                                                                                                                                                                                         Contingent


                                                                                                                                                                                                                     Disputed
                                                                                                                                                Last 4 Digits of     Date Debt was
                                                                                                                                                   Account         Incurred, Basis for
             Creditor Name              Address1                Address2        Address3            City        State           Zip   Country      Number                Claim                                                                             Total Claim

JUSTIN HAMANN                 511 APARTMENT LN SW APT 304                                    FOREST LAKE      MN        55025                   6002               Various                                                                                                $0.99
JUSTIN HAMON                  1150 N 15TH ST                                                 COEUR D ALENE    ID        83814                   6002               Various                                                                                                $5.62
JUSTIN HARTLEBEN              705 EAU CLAIRE BLVD                                            WAUSAU           WI        54403                   6004               Various                                                                                               $10.00
JUSTIN HEIMSOTH               96 E FAIRVIEW RD                                               WHEATLAND        WY        82201                   6002               Various                                                                                                $3.89
JUSTIN HESS                   1660 W 150TH N # A                                             TREMONTON        UT        84337                   6002               Various                                                                                                $8.49
JUSTIN HOLTEN                 401 SCRATON STREET          APT 9                              RIDGELAND        WI        54763                   6004               Various                                                                                               $20.00
JUSTIN IVERSON                730 W 6TH ST.                                                  WINONA           MN        55987                   6004               Various                                                                                                $3.00
JUSTIN J RESCH                124 PINE ST                                                    WAUPACA          WI        54981                   6002               Various                                                                                                $8.79
JUSTIN J WAKEFIELD            39565 WHISPERING PINES LN                                      LEWISTON         ID        83501                   6002               Various                                                                                                $0.60
JUSTIN JARVELA                1773 TURQUOISE TRAIL                                           GREEN BAY        WI        54311                   6004               Various                                                                                               $25.00
JUSTIN JELINEK                921 SPENCER AVE                                                GREGORY          SD        57533                   6002               Various                                                                                                $1.21
JUSTIN JOHNSON                1839 RED BERTRAND CT                                           SIOUX CITY       IA        51105                   6004               Various                                                                                               $42.98
JUSTIN JORGENSEN              1145 W 700 N                                                   CLEARFIELD       UT        84015                   6004               Various                                                                                                $3.00
JUSTIN KERNS                  30360 COUNTY ROAD 109                                          LEWISTON         MN        55952                   6002               Various                                                                                                $1.97
JUSTIN KING                   308 A WEST STREET                                              STEVENS POINT    WI        54481                   6004               Various                                                                                                $2.00

JUSTIN KIRLIN                 1400TH WARREN STREET APT G2                                    MANKATO          MN        56001                   6004               Various                                                                                            $20.00
JUSTIN L PEEVEY               800 TEXLA RD                                                   VIDOR            TX        77662                   6002               Various                                                                                             $1.42
JUSTIN LAREAU                 219 S UNIVERSITY AVE                                           BEAVER DAM       WI        53916                   6002               Various                                                                                             $1.67
JUSTIN LEHMAN                 4615 APPLBY RIDGE WAY                                          KNOXVILLE        TN        37920                   6004               Various                                                                                            $20.00
JUSTIN LIND                   319 7TH ST. N.              #65                                SARTELL          MN        56377                   6004               Various                                                                                             $3.00
JUSTIN LINDEN                 4601 DAKOTA DRIVE                                              MADISON          WI        53704                   6004               Various                                                                                             $1.00
JUSTIN M MAYNARD              6779 PHYLLIS CIR SW                                            SOUTH BOARDMAN   MI        49680                   6002               Various                                                                                             $0.58
JUSTIN M STROIK               822 W FRANKLIN ST                                              APPLETON         WI        54914                   6002               Various                                                                                             $0.60
JUSTIN MANDELKO               5517 SAYLOR ST                                                 LINCOLN          NE        68506                   6002               Various                                                                                             $8.68
JUSTIN MARTINEZ SR.           1260 CHAMBERS RD.                                              TOPPENISH        WA        98948                   6004               Various                                                                                             $5.06
JUSTIN MEINKE                 123 MAIN ST APT 1                                              ROLLINGSTONE     MN        55969                   6002               Various                                                                                             $1.12
JUSTIN MELCHOR                476 E C ST                                                     TORRINGTON       WY        82240                   6002               Various                                                                                             $9.32
JUSTIN MERCKX                 3610 CHERRYVALE CIR UNIT 7                                     APPLETON         WI        54913                   6002               Various                                                                                             $5.86
JUSTIN MEWES                  321 SOUTH 11TH                                                 QUINCY           IL        62301                   6004               Various                                                                                             $2.05
JUSTIN MINNERATH              121 PARK AVE S                                                 SAINT CLOUD      MN        56301                   6004               Various                                                                                             $3.06
JUSTIN MORROW                 PO BOX 8417                                                    MISSOULA         MT        59807                   6004               Various                                                                                             $2.00
JUSTIN PEEBLES                113 S 2ND AVE                                                  WAUSAU           WI        54401                   6004               Various                                                                                             $1.00
JUSTIN PEREZ                  1059 W CORRAL CR                                               WEST JORDAN      UT        84088                   6002               Various                                                                                             $2.33
JUSTIN PETERSON               3305 CALEB DR                                                  WESTON           WI        54476                   6004               Various                                                                                            $10.00
JUSTIN POPP                   7159 95TH ST NE                                                FOLEY            MN        56329                   6004               Various                                                                                             $2.06
JUSTIN PUERNER                31 N MAIN ST                                                   MAYVILLE         WI        53050                   6002               Various                                                                                             $7.64
JUSTIN R. HALL                218 N 23RD ST                                                  COEUR D ALENE    ID        83814                   6002               Various                                                                                             $8.60
JUSTIN RAMTHUN                6893 EASTWOOD TR                                               WEST BEND        WI        53090                   6004               Various                                                                                            $30.00
JUSTIN RICHARDSON             164 CORRY STREET                                               MADISON          WI        53704                   6004               Various                                                                                            $25.00
JUSTIN RIGGOTT                953 CASTLE ST                                                  POCATELLO        ID        83202                   6004               Various                                                                                            $16.00
JUSTIN RUDLOFF                2630 N 113TH STREET                                            OMAHA            NE        68164                   6004               Various                                                                                           $138.38
JUSTIN SCHMIDT                N9917 HWY 151                                                  BEAVER DAM       WI        53916                   6004               Various                                                                                             $5.40
JUSTIN SEARLE                 18398 480TH AVE                                                MORRIS           MN        56267                   6002               Various                                                                                             $8.93
JUSTIN SIEMSEN                1021 WEST CEDAR                                                MITCHELL         SD        57301                   6004               Various                                                                                             $4.95
JUSTIN SPRIKS                 5141 12TH RD                                                   ESCANABA         MI        49829                   6004               Various                                                                                            $20.00
JUSTIN SYDLEWSKI              228 W 12TH ST               8                                  KAUKAUNA         WI        54130                   6004               Various                                                                                             $8.00
JUSTIN T MCDADE               315 W DRESDEN ST                                               KALKASKA         MI        49646                   6002               Various                                                                                             $3.67
JUSTIN THOMPSON               203 QUARTERLINE ST                                             NEWAYGO          MI        49337                   6002               Various                                                                                             $9.62
JUSTIN TOMLINSON              509 1/2 W KENT AVE                                             MISSOULA         MT        59801                   6002               Various                                                                                             $9.62
JUSTIN VANCE                  4721 SO 102 CIR                                                OMAHA            NE        68127                   6004               Various                                                                                            $13.01
JUSTIN VETRONE                210 13TH AVE SO                                                WISC RAPIDS      WI        54494                   6002               Various                                                                                             $7.67
JUSTIN VIGANSKY               10915 68TH PLACE                                               KENOSHA          WI        53140                   6004               Various                                                                                            $23.00




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               Creditor Name                  Address1              Address2         Address3             City        State         Zip    Country     Number                Claim                                                                             Total Claim
JUSTIN W HALVERSON                32 CAMELOT LN LOT 11                                            RICE LAKE        WI         54868                6002                Various                                                                                             $8.30
JUSTIN WARGELIN                   14196 ROCK BEACH DRIVE                                          LANSE            MI         49946                6002                Various                                                                                            $68.19
JUSTINA BINGHAM                   314 SE 8TH ST                                                   ANDREWS          TX         79714                6002                Various                                                                                             $3.67
JUSTINA EHLKE                     1312 N ADAMS AVE                                                MASON CITY       IA         50401                6002                Various                                                                                             $4.60
JUSTINA RAMIREZ SEBATIAN          N6711 21ST AVE                                                  WAUTOMA          WI         54982                6002                Various                                                                                             $0.60
JUSTINA ZUKAUSKAITE               525 COUNTRY WALK LN APT D                                       SISTER BAY       WI         54234                6002                Various                                                                                             $9.04
JUSTINE KOHLMAN                   222 SOUTH 28TH STREET                                           LA CROSSE        WI         54601                6004                Various                                                                                            $30.00
JUSTINE LOCKHART                  534 NTH 6TH                                                     POCATELLO        ID         83201                6004                Various                                                                                            $53.99
JUSTINE M DAMBROTEN               1007 BOXELDER AVE APT 3                                         MARSHALL         MN         56258                6002                Various                                                                                             $2.14
JUSTINE MARKEY                    1031 WHITNEY BLVD                                               BELVIDERE        IL         61008                6004                Various                                                                                             $3.90
JUSTINE OLIVAS                    806 JEFFERSON ST.                                               OSHKOSH          WI         54901                6004                Various                                                                                             $7.00
JUSTINE OSTENSON                  213 NORTH FOURTH STREET                                         DELAVAN          WI         53115                6004                Various                                                                                            $23.00
JUSTINE PARKER                    8409 COUNTY ROAD M                                              LARSEN           WI         54947                6002                Various                                                                                             $8.33
JUSTINE STARKS                    603 W 5TH ST                                                    WINONA           MN         55987                6004                Various                                                                                             $3.00
JUSTIS LAUBER                     306 S MILL ST                                                   COLFAX           WA         99111                6004                Various                                                                                            $20.00
JUSTON LANG                       18 WOODRIDGE CT APT 3                                           MADISON          WI         53704                6002                Various                                                                                             $0.79
JVC KENWOOD                       JVC COMPANY OF AMERICA        PO BOX 50393                      LOS ANGELES      CA         90074-0000           5577                Various                                                                                        $12,879.11
K & B LAWN CARE AND LANDSCAPIN    N11586 WEST LINE ROAD                                           BROWNSVILLE      WI         53006                6668                Various                                                                                          $835.00
K & R CONSTRUCTION LLC            PO BOX 1070                                                     DOUGLAS          WY         82633                4121                Various                                                                                          $240.00
K C PHARMACEUTICALS INC           3201 PRODUCER WAY                                               POMONA           CA         91768-0000           5232                Various                                                                                        $12,478.91
K G L RENTALS INCORPORATED        PO BOX 629                                                      HOT SPRINGS      SD         57747-0629           2995                Various                                                                                         $7,076.00
                                  K NEX LIMITED PARTNERSHIP
K NEX BRANDS L P                  GROUP                         PO BOX 827948                     PHILADELPHIA     PA         19182-7948             8226              Various                                                                                        $28,256.60
K&K MATERIAL HANDLING             3190 CORONET WAY                                                GREEN BAY        WI         54304                                    Various                                                                                          $808.63
KABELAH M STOUT                   108 N LOCUST ST APT 3                                           JAMESPORT        MO         64648                 6002               Various                                                                                             $2.30
KACE EUBANK                       390 VANCE ST                                                    LANDER           WY         82520                 6002               Various                                                                                             $3.42
KACEE URBAN                       205 NORTH 1ST AVENUE EAST                                       TRUMAN           MN         56088                 6004               Various                                                                                             $8.28
KACEY BRUNNER                     442 B MARSHALL DR                                               WALNUT CREEK     CA         94598                 6004               Various                                                                                             $5.02
KACEY HOFTIEZER                   1110 1ST AVE NE                                                 WATERTOWN        SD         57201                 6004               Various                                                                                            $11.45
KACIE GIBBS                       2026 CAMPBELL RD                                                LA CROSSE        WI         54601                 6002               Various                                                                                             $0.66
KACIE HIBBS                       2019 BENTON STREET                                              LINCOLN          NE         68521                 6004               Various                                                                                             $2.00
KACY MAYS                         3455 E. PERSHING                                                LINCOLN          NE         68502                 6004               Various                                                                                             $4.00
KACY NEVITT                       335 330TH ST                                                    PERRY            IA         50220                 6002               Various                                                                                             $3.62
KADE CHILD                        736 RAINBOW DR                                                  MILTON           WI         53563                 6004               Various                                                                                             $2.00
KADE HAMIN                        8693 HOFFMAN RD                                                 PITTSVILLE       WI         54466                 6004               Various                                                                                            $26.00
KADE LEFEVRE                      536 BRINKER AVE                                                 OGDEN            UT         84404                 6002               Various                                                                                             $8.71
KADEE JONES                       5891 S. CHESHIRE AVE                                            BOISE            ID         83709                 6004               Various                                                                                            $14.00
KADEN BRANDT                      N5696 ZIEBELL ROAD                                              JEFFERSON        WI         53549                 6004               Various                                                                                             $2.00
KADEN COATES                      2746 BAILEY RD                                                  SUN PRAIRIE      WI         53590                 6004               Various                                                                                            $36.68
KADEN NELSON                      914 WEST 5TH ST                                                 SIOUX FALLS      SD         57105                 6004               Various                                                                                             $4.54
KADEN VANDENBERG                  631 STATE HIGHWAY 270                                           HILLS            MN         56138                 6004               Various                                                                                            $23.00
KADIE ERICKSON                    1207 WENZEL WAY                                                 WAUNAKEE         WI         53597                 6004               Various                                                                                            $35.00
KADIN MIR                         214 BAYFIELD WAY                                                LAKE MILLS       WI         53551                 6004               Various                                                                                             $3.00
KADY WOLFE                        639 GALENA CT                                                   SUN PRAIRIE      WI         53590                 6004               Various                                                                                             $8.00
KAEL FRANA                        1003 SILVERVINE DRIVE                                           MARSHALL         MN         56258                 6004               Various                                                                                            $24.00
KAELA WILLIAMS                    PO BOX 788                                                      BOULDER          MT         59632                 6002               Various                                                                                             $5.26
KAELEE HOYT                       901 SCENIC DRIVE                                                COLUMBIA FALLS   MT         59912                 6004               Various                                                                                            $20.00
KAELEIGH TESSMANN                 1329 SPRING VALLEY DR                                           RACINE           WI         53405                 6004               Various                                                                                             $4.55
KAELI HORNECKER                   840 JEFFERSON ST                                                LANDER           WY         82520                 6002               Various                                                                                             $6.11
KAELIE STEPHENS                   817 JAMES PARKWAY APT 7                                         PLATTSMOUTH      NE         68048                 6004               Various                                                                                             $4.00
KAELIN POLZIN                     322 N LINCOLN AVE                                               BEAVER DAM       WI         53916                 6004               Various                                                                                             $1.00
KAETLYN MORRISON                  2111 MUIRFIELD RD                                               MADISON          WI         53719                 6002               Various                                                                                             $1.92
KAHLEY STARK                      102 W. GARFIELD                                                 FREEPORT         IL         61032                 6004               Various                                                                                            $11.00
KAHN LUCAS LANCASTER INCORPORA    805 ESTELLE DRIVE SUITE 101                                     LANCASTER        PA         17601-2131            0814               Various                                                                                         $3,830.70




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KAIDEN JAMES HOLUM              552 BELMONT AVE                                               NEENAH             WI         54956                 6002                Various                                                                                             $4.71
KAILAS PROPERTIES LLC           333 N PETERS AVENUE                                           FOND DU LAC        WI         54935                 7660                Various                                                                                        $25,256.08
KAILEE DUFOUR                   2160 TRAILSIDE LANE                                           DEPERE             WI         54115                 6004                Various                                                                                            $44.05
KAILEE RODENCAL                 932 WAUGOO AVE                                                OSHKOSH            WI         54901                 6004                Various                                                                                             $3.27
KAILEEN FULLER                  2300 KRUMLAUF                                                 RAPID              MI         49676                 6002                Various                                                                                             $9.81
KAILEIGH GASTON                 1802 NORTH 28TH STREET                                        OMAHA              NE         68111                 6004                Various                                                                                             $2.00
KAILER GIBES                    296 AMORY ST                                                  FOND DU LAC        WI         54935                 6004                Various                                                                                             $8.00
KAILEY BAIRD                    174W 430TH                                                    OGDEN              UT         84405                 6002                Various                                                                                             $8.27
KAILEY ESKILDSEN                302 5TH ST N                                                  NORTHWOOD          IA         50459                 6002                Various                                                                                             $5.97
KAILEY FINN-PUETZ               4917 WALLACE AVE                                              MONONA             WI         53716                 6004                Various                                                                                            $21.00
KAILEY HARRIS                   5107 24TH AVENUE                                              KENOSHA            WI         53140                 6004                Various                                                                                             $3.00
KAILEY MURPHY                   P O BOX 376                                                   MAUSTON            WI         53948                 6004                Various                                                                                             $1.00
KAILEY RASCHKA                  E12509 INSPIRATION DRIVE                                      MERRIMAC           WI         53561                 6004                Various                                                                                            $25.00
KAILI ZEMAN                     1545 GRAND AVE                                                PRAIRIE DU SAC     WI         53578                 6004                Various                                                                                             $6.01
KAILLY DAVIS                    5600 LEXINGTON ST APT 214                                     MC FARLAND         WI         53558                 6004                Various                                                                                             $2.00
KAILYNN KATT                    2070 JENNY CT                                                 PULASKI            WI         54162                 6004                Various                                                                                             $2.00
KA'IMILOA KUENZLI               545 NE KAMIAKEN ST APT 14                                     PULLMAN            WA         99163                 6004                Various                                                                                            $15.00
KAINE TRONDSON                  29703 JULLIARD ST NE                                          NORTH BRANCH       MN         55056                 6002                Various                                                                                             $4.00
KAISER FAMILY                   32121 410TH ST                                                DENT               MN         56528                 6002                Various                                                                                             $4.99
KAITLIN ANCLAM                  PO BOX 76                                                     ROCKTON            IL         61072                 6002                Various                                                                                             $3.67
KAITLIN BRYANT                  532 TIMBER AVE                                                NEWCASTLE          WY         82701                 6002                Various                                                                                             $0.66
KAITLIN ENGLE                   1615 BEECH ST                                                 OSHKOSH            WI         54901                 6004                Various                                                                                            $25.00
KAITLIN LIEVEN                  920 COURTNEY LANE NO 35                                       KEWASKUM           WI         53040                 6666                Various                                                                                            $14.48
KAITLIN NELSON                  601 12TH ST SW                                                AUSTIN             MN         55912                 6004                Various                                                                                             $3.00
KAITLIN WOODARD                 619 MCKINLEY                                                  BELVIDERE          IL         61065                 6004                Various                                                                                            $79.95
KAITLYN ARNESON                 1002 MAPLEWOOD LN SE                                          OLYMPIA            WA         98501                 6004                Various                                                                                            $50.97
KAITLYN ASANTE                  W234 N7953 MALLARD CT                                         SUSSEX             WI         53089                 6004                Various                                                                                            $30.00
KAITLYN BARNES                  820 N WASHINGTON AVE                                          MADISON            SD         57042                 6002                Various                                                                                             $4.63
                                                            C/O MELISSA
KAITLYN BROCKWAY-ABEL           2605 CHURCH ST              SCHENKE                           CROSS PLAINS       WI         53528                  6004               Various                                                                                                $1.00
KAITLYN CAHO WATTERS            212 CHESNUT LN                                                LOGAN              UT         84321                  6002               Various                                                                                               $10.00
KAITLYN E FURLONG               W6404 450TH AVE                                               ELLSWORTH          WI         54011                  6002               Various                                                                                                $0.99
KAITLYN ENGELS                  1960 MORAINE TERRACE #1                                       GREEN BAY          WI         54303                  6004               Various                                                                                                $3.00
KAITLYN GRANT                   7318 SUN VALLEY DR                                            OMAHA              NE         68157                  6004               Various                                                                                               $15.00
KAITLYN HEIMERMANN              339 WESTPLAIN DR.                                             GREEN BAY          WI         54303                  6004               Various                                                                                                $2.00
KAITLYN HEROLD                  412 NE HAYES ST                                               GREENFIELD         IA         50849                  6002               Various                                                                                                $2.00
KAITLYN HOMER                   10614 N ROTE RD                                               ORANGEVILLE        IL         61060                  6002               Various                                                                                                $7.32
KAITLYN LEWIS                   4243 MAHONY RD                                                MC FARLAND         WI         53558                  6004               Various                                                                                                $1.00
KAITLYN M FARMEN                315 7TH AVE W                                                 SISSETON           SD         57262                  6002               Various                                                                                                $5.04
KAITLYN NELSON                  219 S FRANKLIN ST                                             OCONTO FALLS       WI         54154                  6002               Various                                                                                                $4.71
KAITLYN ORTMANN                 9877 170TH ST                                                 CHIPPEWA FALLS     WI         54729                  6002               Various                                                                                                $6.49

KAITLYN OTT                     1520 32ND STREET NORTH                                        WISCONSIN RAPIDS   WI         54494                  6004               Various                                                                                                $1.81
KAITLYN PLUTH                   N8615 450 STREET                                              BALDWIN            WI         54002                  6004               Various                                                                                                $1.00
KAITLYN PONDER                  3865 E GLACIER RD                                             EAGLE MOUNTAIN     UT         84005                  6004               Various                                                                                               $35.00
KAITLYN SAND                    7922 375TH ST                                                 ONAMIA             MN         56359                  6002               Various                                                                                                $0.96
KAITLYN STANGER                 11 SWANSON LN                                                 SALMON             ID         83467                  6002               Various                                                                                                $1.15
KAITLYN STIGLICH                N4550 COUNTY ROAD P                                           DELAVAN            WI         53115                  6004               Various                                                                                                $3.00
KAITLYN WAGENAAR                215 S MADISON ST                                              ONEILL             NE         68763                  6002               Various                                                                                                $8.63
KAITLYN WARFORD                 1213 9TH ST                                                   LEWISTON           ID         83501                  6002               Various                                                                                                $8.71
KAITLYN WEILER                  313 S 6TH STREET                                              FT. ATKINSON       WI         53538                  6004               Various                                                                                               $19.00
KAITLYN WHAM                    3327 LYNN AVE                                                 BILLINGS           MT         59102                  6004               Various                                                                                                $3.00
KAITLYNN LABS                   3156 PENNWAY PARK                                             DE PERE            WI         54115                  6004               Various                                                                                                $5.48
KAITLYNN PULS                   2009 MARSHALL ST                                              MANITOWOC          WI         54220                  6004               Various                                                                                               $24.00




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                                                                                                                                                                                            Contingent


                                                                                                                                                                                                                        Disputed
                                                                                                                                                   Last 4 Digits of     Date Debt was
                                                                                                                                                      Account         Incurred, Basis for
               Creditor Name                Address1             Address2           Address3             City        State         Zip    Country     Number                Claim                                                                             Total Claim
KAIVAA KESTI                    129 S KEARSARGE ST                                               CALUMET          MI         49913                6002                Various                                                                                            $10.00
KAIZLEE HARPER                  770 N MAIN ST APT 2                                              BRIGHAM CITY     UT         84302                6002                Various                                                                                             $2.85
KAJEN MEDENWALDT                2516 W 5TH AVE                                                   BRODHEAD         WI         53520                6004                Various                                                                                            $20.00
KALAH TINGLEY                   2506 HONEY CLOVER CT                                             GREEN BAY        WI         54313                6002                Various                                                                                            $10.00
KALANDRIA MADRID                N9061 BEGGAN LN                                                  WATERTOWN        WI         53094                6004                Various                                                                                             $2.80
KALE DUDLEY                     630 LEE ST                                                       SEYMOUR          WI         54165                6004                Various                                                                                            $20.00
KALEA DESCH                     1123 E STADIUM DR                                                LOGAN            UT         84341                6002                Various                                                                                             $7.56
KALEB PRATT                     4531 21ST AVE                LOWER                               KENOSHA          WI         53140                6004                Various                                                                                             $3.00
KALEB RANSTEAD                  614 COUNTRY LANE             APT. 1                              LENA             IL         61048                6004                Various                                                                                            $20.00
KALEB READ                      637 W 1000TH N                                                   CLINTON          UT         84015                6002                Various                                                                                             $2.11
KALEB SCHRADER                  GEN DEL                                                          SIDNEY           MT         59270                6002                Various                                                                                             $4.68
KALEB SIDWELL                   664 LAKE ST                                                      KIMBERLY         ID         83341                6004                Various                                                                                             $3.65
KALEB WILSON                    58 W 900TH S                                                     BOUNTIFUL        UT         84010                6002                Various                                                                                             $4.05
KALEB ZOHNER                    519 S BITTEROOT DR                                               BOISE            ID         83709                6004                Various                                                                                             $8.00
KALECIA I HULSEY                265 E 1200TH N                                                   LOGAN            UT         84341                6002                Various                                                                                             $6.52
KALEENA A RUTKOWSKI             9277 MCCLUSKY RD                                                 MOUNT HOPE       WI         53816                6002                Various                                                                                             $0.49
KALEY I JULIUS                  46234 20TH AVE                                                   BUFFALO CENTER   IA         50424                6002                Various                                                                                             $8.05
KALEY KAMINSKI                  6601 SUPRISE RD                                                  LENA             WI         54139                6004                Various                                                                                             $5.02
KALEY SHELDON                   25101 RIDGE AVE                                                  GALLATIN         MO         64640                6002                Various                                                                                             $2.33
KALI DISALVO                    1618 MARION RD SE            TRLR 65                             ROCHESTER        MN         55904                6004                Various                                                                                             $6.00
KALI KITCHEN                    600 KITCHEN LN                                                   COLUMBIA FALLS   MT         59912                6002                Various                                                                                             $1.51
KALI REISER                     3087 W SERVICE RD                                                ONEIDA           WI         54155                6002                Various                                                                                             $7.95
KALI SHEPARD                    225 FOLSOM ST                                                    COLUMBUS         WI         53925                6004                Various                                                                                             $6.28
KALIA M HALL                    1024 S 3RD ST                                                    WATERTOWN        WI         53094                6002                Various                                                                                             $7.01
KALIE BATES                     612 COLLINS ROAD - #6                                            JEFFERSON        WI         53549                6004                Various                                                                                             $3.00
KALIL BOTTLING COMPANY          PO BOX 26888                                                     TUCSON           AZ         85726-6888           9507                Various                                                                                           $511.01
KALLEY HULT                     5385 STACY TRL TRLR 267                                          STACY            MN         55079                6002                Various                                                                                             $2.96
KALLI KUBISTA                   730 WEST BROADWAY                                                WINONA           MN         55987                6004                Various                                                                                             $3.06
KALLIE BRENCHLEY                591 W. 300 N.                                                    SMITHFIELD       UT         84335                6004                Various                                                                                            $37.60
KALLIE DAMERON                  6073 H ST                                                        OMAHA            NE         68117                6004                Various                                                                                             $4.00
KALLIE DAVIS                    116 W 600 N                                                      SANTAQUIN        UT         84655                6004                Various                                                                                            $30.00
KALLIE MANNIN                   2565 PIKE DR                                                     EAST HELENA      MT         59635                6002                Various                                                                                             $0.55
KALLIE SOMMERS                  550 NORTH CALIFORNIA                                             MISSOULA         MT         59802                6004                Various                                                                                             $3.00
KALLIE SWENSON                  702 E 5TH ST                                                     DELL RAPIDS      SD         57022                6004                Various                                                                                            $25.00
KALLY LAMBOURNE                 1644 E WINDER LN                                                 SALT LAKE CITY   UT         84124                6002                Various                                                                                             $3.10
KALLY WODINOWICH                PO BOX 551 PMB 300                                               SPENCER          WI         54479                6002                Various                                                                                             $4.08
KALMER OLSEN                    151 N CENTRAL AVE                                                HARTLEY          IA         51346                6002                Various                                                                                            $10.00
KALSANG DOLMA                   6 FOREST DALE CT                                                 MADISON          WI         53704                6004                Various                                                                                             $4.00
KALVIN FERGUSON                 457 BROCK CREEK RD                                               GARRISON         MT         59731                6004                Various                                                                                             $4.00
KAMAL EBRAHIM                   1824 SUMMIT ST                                                   BEATRICE         NE         68310                6004                Various                                                                                             $5.00
KAMAYAH CAMPBELL                2660 CHESAPEAK DRIVE                                             MADISON          WI         53719                6004                Various                                                                                             $3.00
KAMERON BROOKS                  117 ORCHARD DR APT 15                                            SISSETON         SD         57262                6002                Various                                                                                             $5.23
KAMERON LARSEN                  2773 S MARWARI CIR                                               MAGNA            UT         84044                6004                Various                                                                                            $20.00
KAMERON SMITH                   1021 E HARRISON AVE                                              CDA              ID         83814                6004                Various                                                                                            $15.00
KAMI ASH                        1520 7TH STREET                                                  GIBBON           NE         68840                6004                Various                                                                                             $4.00
KAMI BROWNING                   169 W 1350TH N                                                   LAYTON           UT         84041                6002                Various                                                                                             $6.03
KAMI BURGGRAF                   ANNETTE ST SW                                                    INDEPENDENCE     OR         97351                6004                Various                                                                                            $62.00
KAMI LANGENBAU                  2751 BELGARDE BLVD APT 104                                       RAPID CITY       SD         57702                6004                Various                                                                                            $15.00
KAMI MEYER                      730 W 960TH S APT 22                                             TREMONTON        UT         84337                6002                Various                                                                                             $0.63
KAMIAH BOYD                     443 FALCON CIRCLE                                                MONONA           WI         53716                6004                Various                                                                                             $2.00
                                CONSTANTINE AND MAUREEN
KAMICUTICO LLC                  ROSKO                        48 OLD TRAIL ROAD                   WATER MILL       NY         11976                 1643               Various                                                                                         $7,934.00
KAMIL KRZYSZ KATA               819 W ELISE ST APT 105                                           APPLETON         WI         54914                 6002               Various                                                                                             $6.16
KAMIN SANDFORD                  5320 S MOHAWK DRIVE                                              SPOKANE          WA         99206                 6004               Various                                                                                             $1.50




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                                                                                                                                                                                        Contingent


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                                                                                                                                               Last 4 Digits of     Date Debt was
                                                                                                                                                  Account         Incurred, Basis for
              Creditor Name                Address1          Address2        Address3             City          State           Zip   Country     Number                Claim                                                                             Total Claim
KAMMIE MADISON                 4055 S CLUBHOUSE DR APT 390                                SALT LAKE CITY     UT         84123                 6002                Various                                                                                                $3.48
KAMMIE SWANSON                 132 MAPLE ST                                               KINGSFORD          MI         49802                 6002                Various                                                                                                $0.36
KAMREN AVERY                   125 W 900TH N                                              LOGAN              UT         84321                 6002                Various                                                                                                $8.79
KAMREN MICKOW                  1009 MEADOWOOD APT 3                                       JEFFERSON          WI         53549                 6004                Various                                                                                                $1.00
KAMRYN HELFRITZ                509 11TH ST. SW                                            AUSTIN             MN         55912                 6004                Various                                                                                               $40.00
KANDI TRUE                     209 15TH ST NW                                             MASON CITY         IA         50401                 6002                Various                                                                                                $2.66
KANDICE BRILL                  7310 16TH AVE                                              KENOSHA            WI         53143                 6004                Various                                                                                                $2.00
KANDICE COLE                   1111 41ST ST NW APT. 112                                   ROCHESTER          MN         55901                 6004                Various                                                                                                $3.00
KANDICE STRELOW                506 SCHILLING CIRCLE                                       FOREST LAKE        MN         55025                 6004                Various                                                                                                $4.83
KANDIE HYDREK                  721 AVE E                                                  PLATTSMOUTH        NE         68048                 6004                Various                                                                                                $2.00
KANDIS FRANKLIN                665 POINT AVE 104                                          HELENA             MT         59602                 6004                Various                                                                                               $15.00
KANDIS GOEKE                   2128 8TH STREET                                            EAU CLAIRE         WI         54703                 6002                Various                                                                                                $6.60
KANDIS N BRANTLEY              284 E 18TH ST                                              IDAHO FALLS        ID         83404                 6002                Various                                                                                                $2.58
KANDISE MARXEN                 27330 480TH ST.                                            MADISON LAKE       MN         56063                 6004                Various                                                                                                $3.00
KANDLEY ROSE DONALD            28333 294TH AVE                                            WINNER             SD         57580                 6002                Various                                                                                                $8.33
KANE COVERT                    6419 HEMLOCK ST TRLR 16                                    VESPER             WI         54489                 6002                Various                                                                                                $1.04

KANE PUNZEL                    8340 52ND ST S                                             WISCONSIN RAPIDS   WI         54494                  6004               Various                                                                                             $7.98
KANEESHA SLAGEL                1019 15TH ST N PRERELEASE                                  GREAT FALLS        MT         59404                  6002               Various                                                                                             $2.90
KANKAKEE VALLEY PUBLISHING     PO BOX 616                                                 WEST FRANKFORT     IL         62896                  3724               Various                                                                                         $2,836.53
KANOSHA XIONG                  601 BLISS AVE                                              STEVENS POINT      WI         54481                  6002               Various                                                                                             $4.88
KAO BRANDS COMPANY             1434 SOLUTIONS CENTER                                      CHICAGO            IL         60677-1004             2202               Various                                                                                       $101,570.33
KAO VANG                                                                                  HOLMEN             WI         54636                  6004               Various                                                                                            $23.00
KAPRICE WILLIAMS               321 NORTH ASHLAND AVENUE                                   GREEN BAY          WI         54303                  6004               Various                                                                                             $6.00
KARA BAUMANN                   1337 PARK CT                                               NEENAH             WI         54956                  6004               Various                                                                                             $8.80
KARA CHILSON                   237 WILLOW ST S                                            TURTLE LAKE        WI         54889                  6004               Various                                                                                            $23.00
KARA DALEY                     4745 W 1850TH N                                            OGDEN              UT         84404                  6002               Various                                                                                             $7.92
KARA GUYETTE                   855 MILWAUKEE ST                                           MENASHA            WI         54952                  6002               Various                                                                                             $5.53
KARA MARCH                     124 BELLEVIEW AVE                                          MANKATO            MN         56001                  6004               Various                                                                                             $3.00
KARA MILLER                    1529 PRAIRIE MEADOW LANE                                   BILLINGS           MT         59101                  6004               Various                                                                                            $13.48
KARA NELSON                    911 11TH ST NW                                             AUSTIN             MN         55912                  6004               Various                                                                                             $3.00
KARA PARKER                    28 KACY MEADOWS LN                                         BUHL               ID         83316                  6002               Various                                                                                             $5.37
KARA SCHWEND                   PO BOX 104                                                 SAINT XAVIER       MT         59075                  6002               Various                                                                                             $2.49
KARA SHELDON                   2485 HOLT STAGE                                            KALISPELL          MT         59901                  6002               Various                                                                                             $3.59
KARA WERT                      209 LONG COULEE RD.                                        HOLMEN             WI         54636                  6004               Various                                                                                             $1.25
KARAMIA MEADER                 108 S SENECA AVE APT D                                     NEWCASTLE          WY         82701                  6002               Various                                                                                             $5.78
KARAN KOHLER                   601 5TH ST                                                 PERRY              IA         50220                  6002               Various                                                                                             $6.60
KAREE UPENDO                   1206 CARLISLE AVE                                          RACINE             WI         53404                  6002               Various                                                                                             $4.44
KAREL ADAMS                    450 POLELINE RD # 53                                       TWIN FALLS         ID         83301                  6004               Various                                                                                            $10.00
KAREL SCHUTT                   6849 BIA RTE # 1                                           WOLF POINT         MT         59201                  6002               Various                                                                                             $1.01
KAREN A CHILD                  1742 N WESTLAND DR                                         BOISE              ID         83704                  6002               Various                                                                                             $4.63
KAREN A WOODS                  N7038 740TH ST                                             MENOMONIE          WI         54751                  6002               Various                                                                                             $3.48
KAREN AGER                     5400 96TH AVE                                              STURTEVANT         WI         53177                  6004               Various                                                                                             $4.98
KAREN AMMERMAN                 2350 230TH AVE                                             MORA               MN         55051                  6002               Various                                                                                             $0.44
KAREN AMUNDSON                 342 MCDILL AVE                                             STEVENS POINT      WI         54481                  6004               Various                                                                                            $56.54
KAREN ANDERSON-HAM             PO BOX 163                                                 HUBBELL            MI         49934                  6002               Various                                                                                             $3.48
KAREN ANTHONY                  4930 THOMASBROOK LN                                        LINCOLN            NE         68516                  6004               Various                                                                                          $168.86
KAREN BACHMAN                  210 E 13TH ST                                              CRETE              NE         68333                  6002               Various                                                                                             $3.89
KAREN BASSETT                  2025 RICHARDS AVE                                          OSHKOSH            WI         54904                  6002               Various                                                                                             $2.68
KAREN BELEK                    1309 CAMP GIFFORD ROAD                                     BELLEVUE           NE         68005                  6004               Various                                                                                            $10.00
KAREN BRENNAN                  555 S. GRANT                                               POCATELLO          ID         83204                  6004               Various                                                                                            $10.01
KAREN BROWN                    1595 N 800TH W                                             HARRISVILLE        UT         84404                  6002               Various                                                                                             $4.25
KAREN BURESH                   27479 E FT MCPHERSON RD                                    BRADY              NE         69123                  6002               Various                                                                                             $5.26
KAREN BURGDORF                 411 13TH ST NE                                             AUSTIN             MN         55912                  6002               Various                                                                                             $1.66




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                                                                                                                                                                                     Contingent


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                                                                                                                                            Last 4 Digits of     Date Debt was
                                                                                                                                               Account         Incurred, Basis for
              Creditor Name                Address1        Address2        Address3              City        State           Zip   Country     Number                Claim                                                                             Total Claim
KAREN BURRELL                  507 E. F STREET                                          IRON MOUNTAIN     MI         49801                 6004                Various                                                                                            $47.20
KAREN BYARD                    9002 S SHADY MEADOW DR                                   SANDY             UT         84093                 6002                Various                                                                                             $7.40
KAREN CAPEZZA                  UPDATE                                                   MINNEAPOLIS       MN         55420                 6004                Various                                                                                             $2.20
KAREN CLAYTON                  2400 REBECCA ST                                          SIOUX CITY        IA         51103                 6002                Various                                                                                             $7.67
KAREN CLEMENSON                PO BOX 86                                                ROY               MT         59471                 6002                Various                                                                                             $1.01
KAREN COCHRAN                  506 N GRAND AVE                                          DONIPHAN          MO         63935                 6002                Various                                                                                             $3.32
KAREN COLE                     PO BOX 212                                               WEIPPE            ID         83553                 6002                Various                                                                                             $0.82
KAREN COOPER- SHAW             P.O. BOX 515                                             BAYSIDE           CA         95524                 6004                Various                                                                                            $58.28
KAREN COPPENS                  1831 WALDO BLVD                                          MANITOWOC         WI         54220                 6002                Various                                                                                            $10.00
KAREN CURTIS                   9709 ELLISON AVE                                         OMAHA             NE         68134                 6002                Various                                                                                             $0.88
KAREN CZARNECKI                5604 48TH AVENUE                                         KENOSHA           WI         53144                 6004                Various                                                                                             $3.38
KAREN DEGRAVES                 W4698 PIERCE RD                                          SARONA            WI         54870                 6004                Various                                                                                            $10.00
KAREN DIRKS                    1021 GRANDVIEW DR                                        BRIGHAM CITY      UT         84302                 6002                Various                                                                                             $0.93
KAREN DOMBROWSKI               5430 N FRENCH RD                                         APPLETON          WI         54913                 6002                Various                                                                                             $0.49
KAREN EICHORST                 2401 MADISON STREET                                      LACROSSE          WI         54601                 6004                Various                                                                                            $25.00
KAREN EVANS                    2150 E MAIN ST                                           TREMONTON         UT         84337                 6004                Various                                                                                            $20.00
KAREN FAWCETT                  451 W MAIN ST                                            NEWCASTLE         WY         82701                 6002                Various                                                                                             $8.66
KAREN FINCH                    N1023 RIVIERA AVE                                        NEILLSVILLE       WI         54456                 6002                Various                                                                                             $7.67
KAREN FLEES                    766 TRYBA RD                                             HATLEY            WI         54440                 6002                Various                                                                                             $3.73
KAREN FLYNN                    298 M61                                                  GLADWIN           MI         48624                 6002                Various                                                                                             $4.88
KAREN FOX                      40153 CAPE HORN                                          CONCRETE          WA         98237                 6004                Various                                                                                            $20.02
KAREN GIRARDOT                 3866 KILLDEER LN                                         BILLINGS          MT         59102                 6002                Various                                                                                             $2.68
KAREN GRAVES                   37086 S CTY # 11                                         ROCHESTER         MN         55906                 6002                Various                                                                                             $3.89
KAREN HACKER                   1809 N 10TH ST                                           SHEBOYGAN         WI         53081                 6002                Various                                                                                             $6.22
KAREN HANSTAD                  628 6TH ST                                               MENASHA           WI         54952                 6002                Various                                                                                             $2.33
KAREN HEIMAN                   E9791 CNTY I                                             CLINTONVILLE      WI         54929                 6002                Various                                                                                             $7.59
KAREN HENDRICKS                9800 HOLDREGE STREET                                     LINCOLN           NE         68527                 6004                Various                                                                                            $13.11
KAREN HENRICKS                 16321 457TH AVE                                          WATERTOWN         SD         57201                 6004                Various                                                                                            $30.00
KAREN HERTEL                   P O BOX 1372                                             SANDPOINT         ID         83864                 6004                Various                                                                                            $50.00
KAREN HIBBARD                  1123 RED WILLOW RD                                       KENDRICK          ID         83537                 6002                Various                                                                                             $3.70
KAREN HILDEBRANDT              331 N GRANGE AVE                                         SIOUX FALLS       SD         57104                 6004                Various                                                                                            $16.00
KAREN HINMAN                   2765 CASS LANE                                           BILLINGS          MT         59105                 6004                Various                                                                                            $49.92
KAREN HOLCOMB                  913 N DIVISION ST                                        APPLETON          WI         54911                 6002                Various                                                                                             $8.47
KAREN HOLLAND                  272 US HIGHWAY 16 E                                      BUFFALO           WY         82834                 6002                Various                                                                                             $4.16
KAREN HOLTZ                    5 LEWIS RD                                               SALMON            ID         83467                 6002                Various                                                                                             $8.36
KAREN HOWELL                   BOX 34 25 3RD WEST                                       AUBURN            WY         83111                 6002                Various                                                                                             $9.29
KAREN HUCK                     3340 GRANDVIEW                                           EAST HELENA       MT         59635                 6004                Various                                                                                            $27.98
KAREN I TEUSINK                705 6TH ST APT 201                                       SIOUX CITY        IA         51101                 6002                Various                                                                                             $2.93
KAREN J HASNER                 90 MAPLE AVE E                                           MORA              MN         55051                 6002                Various                                                                                             $1.15
KAREN JACOBS                   3629 S GEITZ ST                                          WEST VALLEY CIT   UT         84120                 6002                Various                                                                                             $8.68
KAREN JOHNSON                  214 WEST WARREN STREET                                   ROBERTS           WI         54023                 6004                Various                                                                                            $82.74
KAREN K BROWN                  913 S 5TH ST                                             DOUGLAS           WY         82633                 6002                Various                                                                                             $5.01
KAREN K. LARSON                2527 YAHARA DR                                           MC FARLAND        WI         53558                 6004                Various                                                                                             $5.40
KAREN KALAS                    2711 LONG VIEW LN                                        SUAMICO           WI         54173                 6002                Various                                                                                             $8.30
KAREN KANE                     2077 BRIDGE PORT LANE #14                                DE PERE           WI         54115                 6004                Various                                                                                            $44.98
KAREN KEETON                   314 W BOSTON AVE                                         MONMOUTH          IL         61462                 6002                Various                                                                                             $6.38
KAREN KILGER                   75318 W ROAD                                             BUTTERNUT         WI         54514                 6002                Various                                                                                             $4.96
KAREN KINJERSKI                E3438 KROK RD                                            KEWAUNEE          WI         54216                 6002                Various                                                                                             $9.29
KAREN KISLING                  4803 MCGEE AVE                                           CALDWELL          ID         83607                 6002                Various                                                                                            $10.00
KAREN KITRAL                   3407 15TH ST APT. 2C                                     KENOSHA           WI         53144                 6004                Various                                                                                            $17.02
KAREN KLISS                    4570 CTY RD D                                            RHINELANDER       WI         54501                 6004                Various                                                                                           $160.00
KAREN KNAPIK                   117 144TH ST # SP144                                     OROFINO           ID         83544                 6002                Various                                                                                             $1.15
KAREN KOENIG                   51951 844TH RD                                           ELGIN             NE         68636                 6002                Various                                                                                             $4.85
KAREN KOLMAN                   1787 W LAWRENCE CIR                                      SOUTH JORDAN      UT         84095                 6002                Various                                                                                             $0.90




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                                                                                                                                                                                        Contingent


                                                                                                                                                                                                                    Disputed
                                                                                                                                               Last 4 Digits of     Date Debt was
                                                                                                                                                  Account         Incurred, Basis for
              Creditor Name               Address1            Address2        Address3            City          State           Zip   Country     Number                Claim                                                                             Total Claim
KAREN KRAMSCHUSTER             17782 STATE HWY 64                                          BLOOMER         WI           54724                 6004                Various                                                                                               $1.63
KAREN KRANDA                   5171 MANOR RD                                               RHINELANDER     WI           54501                 6002                Various                                                                                               $7.15
KAREN L. DAVIS                 1112 E PHOENIX AVE                                          GRAND ISLAND    NE           68801                 6002                Various                                                                                               $3.29
KAREN L. GITTEL                1877 W FAIRWAY DR APT 1                                     COEUR D ALENE   ID           83815                 6002                Various                                                                                               $1.29

KAREN LAWSON                   705 VILLAGE GREEN WAY UNIT 3                                WEST BEND       WI           53090                  6002               Various                                                                                             $0.82
KAREN LEBOUTON                 1310 DELAWARE BLVD.                                         MADISON         WI           53704                  6004               Various                                                                                            $50.00
KAREN LILLEJORD                401 VILLAGE DR APT 202                                      MARSHALL        MN           56258                  6004               Various                                                                                          $115.11
KAREN LOUDER                   BOX 443                                                     AFTON           WY           83110                  6002               Various                                                                                             $1.21
KAREN LOWE                     PO BOX 14                                                   COWLEY          WY           82420                  6002               Various                                                                                             $7.75
KAREN M COREY                  511 7TH ST                                                  ONAWA           IA           51040                  6002               Various                                                                                             $3.12
KAREN M LARKIN                 40 3RD AVE SE                                               OELWEIN         IA           50662                  6002               Various                                                                                             $6.58
KAREN M SCHULTZ                5983 HAROUR S                                               WINNECONNE      WI           54986                  6002               Various                                                                                             $7.56
KAREN M. LARSON                S9050 BETZ RD                                               EAU CLAIRE      WI           54701                  6002               Various                                                                                             $9.62
KAREN MASHEK                   1461 KENWOOD AVE                                            NEW HAMPTON     IA           50659                  6002               Various                                                                                            $11.92
KAREN MATHEWS                  PO BOX 343                                                  SHELTON         NE           68876                  6004               Various                                                                                             $4.00
KAREN MATTSON                  2623 MONT CLAIRE RD                                         EAU CLAIRE      WI           54703                  6002               Various                                                                                             $1.32
KAREN MEHR                     1443 CTY RD # 134                                           SAINT CLOUD     MN           56303                  6002               Various                                                                                             $3.92
KAREN MILLER                   842 A. 11TH AVE.                                            OSHKOSH         WI           54902                  6004               Various                                                                                             $8.00
KAREN MOLITOR                  905 ADDISON AVE                                             EAU CLAIRE      WI           54703                  6002               Various                                                                                             $6.36
KAREN MUELLER                  18542 HIGHWAY 74                                            ALTURA          MN           55910                  6004               Various                                                                                             $6.00
KAREN NELSON                   22468 CRONK RD                                              PHILIP          SD           57567                  6004               Various                                                                                             $4.06
KAREN NICHOLS                  W13946 TRUCKER LN                                           GILMAN          WI           54433                  6004               Various                                                                                            $16.42
KAREN NORTON                   140 E 2200TH N # 807                                        NORTH LOGAN     UT           84341                  6002               Various                                                                                             $8.74
KAREN O'LEARY                  2602 FOREST AVENUE                                          TWO RIVERS      WI           54241                  6004               Various                                                                                            $40.00
KAREN OLSEN                    6878 IRELAND TRAIL                                          SOBIESKI        WI           54171                  9639               Various                                                                                         $1,395.00
KAREN P. YOUNGMAN              1145 N 1140TH W                                             LAYTON          UT           84040                  6002               Various                                                                                             $8.44
KAREN PALBRACH                 1721 STOCKTON RD                                            STEVENS POINT   WI           54482                  6004               Various                                                                                            $57.99
KAREN PHERIGO                  PO BOX 346                                                  CHANDLERVILLE   IL           62627                  6002               Various                                                                                             $7.29
KAREN PICKEL                   723 11TH AVE                                                BELLE FOURCHE   SD           57717                  6002               Various                                                                                             $0.58
KAREN PIPER                    2114 S WALDEN AVE                                           APPLETON        WI           54915                  6002               Various                                                                                             $4.52
KAREN PRAGER                   2125 HILLSVIEW DR                                           BELLE FOURCHE   SD           57717                  6002               Various                                                                                             $6.74
KAREN PROCTOR                  1618 ELMWOOD ST                                             JACKSONVILLE    IL           62650                  6002               Various                                                                                             $1.53
KAREN R DYKSTRA                10810 W TROPICANA CIR                                       SUN CITY        AZ           85351                  6002               Various                                                                                             $8.03
KAREN RAINVILLE                1219 N 10TH AVE                                             WAUSAU          WI           54401                  6002               Various                                                                                             $7.01
KAREN RICHARD                  101 14TH AVE SW                                             SIDNEY          MT           59270                  6002               Various                                                                                             $4.63
KAREN ROBINSON                 2205 CAMELOT CT APT 3                                       APPLETON        WI           54915                  6002               Various                                                                                             $4.52
KAREN ROCHE                    909 4TH ST POB 1                                            MARATHON        WI           54448                  6002               Various                                                                                            $17.48
KAREN S GROSSMAN               417 W 7TH ST                                                LARNED          KS           67550                  6002               Various                                                                                             $4.41
KAREN S KEMP                   3918 BRUNSWICK LN                                           JANESVILLE      WI           53546                  6002               Various                                                                                             $1.56
KAREN SCHAFFER                 1189 SWAN RD.                                               DE PERE         WI           54115                  6004               Various                                                                                            $36.96
KAREN SCHNEIDER                1707 ELLIS ST                                               KEWAUNEE        WI           54216                  6002               Various                                                                                          $172.49
KAREN SMITH                    2570 RIDGECREST                                             IDAHO FALLS     ID           83404                  6004               Various                                                                                            $65.73
KAREN SNORTUM                  573 FOREST AVE                                              FOND DU LAC     WI           54935                  6002               Various                                                                                             $3.26
KAREN SPRINGSTROH              404 MATTHEW STREET                                          KIMBERLY        WI           54136                  6004               Various                                                                                            $30.00
KAREN STREUFERT                1662 E MEADOWGRASS ST                                       MERIDIAN        ID           83646                  6004               Various                                                                                            $12.82
KAREN STRYZEWSKI               6216 WILLOW LANE                                            TWO RIVERS      WI           54241                  6004               Various                                                                                            $10.00
KAREN SUMMERVILLE              34 WEST 15TH AVE                                            OSHKOSH         WI           54902                  6004               Various                                                                                             $5.40
KAREN SZYMAN                   912 N 23RD STREET                                           MANITOWOC       WI           54220                  6004               Various                                                                                            $37.00
KAREN TAYLOR                   3173 HIGHWAY 24                                             FORT PECK       MT           59223                  6002               Various                                                                                             $1.75
KAREN TERRY                    2817 N 5TH                                                  LINCOLN         NE           68521                  6004               Various                                                                                            $25.00
KAREN THIENES                  PO BOX 2766                                                 KALISPELL       MT           59903                  6002               Various                                                                                             $3.75
KAREN TRAPP                    1086 AHMEEK ST                                              MOHAWK          MI           49950                  6002               Various                                                                                             $1.18
KAREN TRONNIER                 1112 OREGON ST                                              GREEN BAY       WI           54303                  6002               Various                                                                                             $3.56




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            Creditor Name               Address1              Address2          Address3             City        State           Zip   Country     Number                Claim                                                                             Total Claim
KAREN VOLL                   940 E WHITE ST                                                  ELY              MN         55731                 6002                Various                                                                                                $0.41
KAREN WALBORN                303 SUNSET TER                                                  SHELBY           MI         49455                 6002                Various                                                                                                $2.27
KAREN WALKER                 3810 BLACKBERRY CIR                                             LINCOLN          NE         68516                 6002                Various                                                                                                $2.19
KAREN WASHBURN               BOX 658                                                         GWINN            MI         49841                 6002                Various                                                                                                $9.26
KAREN WESCHE                 230 S MAPLE ST                                                  WEST POINT       NE         68788                 6002                Various                                                                                                $3.81
KAREN WILSON                 845 W 8700TH TRLR # 37                                          WILLARD          UT         84340                 6002                Various                                                                                                $6.11
KAREN WOODARD                4534 S 46TH ST                                                  OMAHA            NE         68117                 6004                Various                                                                                               $65.00
KAREN WOODS                  RR 3 BOX 11311                                                  DONIPHAN         MO         63935                 6002                Various                                                                                                $3.32

KAREN WORDEN                 1420 N WASHINGTON ST LOT 21                                     LITTLE CHUTE     WI         54140                  6002               Various                                                                                                $6.99
KARI ANDERSON                PO BOX 1616                                                     YELM             WA         98597                  6002               Various                                                                                               $10.25
KARI CRUZ GAONA              5513 NORMANDY ST # 5                                            TOMAHAWK         WI         54487                  6002               Various                                                                                                $2.99
KARI DAVEY                   3131 HOMESTEAD RD                                               CLOQUET          MN         55720                  6004               Various                                                                                                $3.00
KARI GAY                     806 HARDING ST                                                  WAUPACA          WI         54981                  6002               Various                                                                                                $5.23
KARI GREEN                   P.O. BOX 3202                                                   COLUMBIA FALLS   MT         59912                  6004               Various                                                                                                $3.40
KARI HALL                    3720 SHADOW MOUTAIN TRL                                         IDAHO FALLS      ID         83404                  6002               Various                                                                                                $4.52
KARI HANSEN                  405 INDEPENDENCE AVE S                                          CLARKS GROVE     MN         56016                  6002               Various                                                                                                $8.63
KARI HENSLEY                 2309 BRIGHTON DR                                                BELLEVUE         NE         68123                  6002               Various                                                                                                $5.97
KARI HOLMES                  5134 CURRY COURT #2                                             MADISON          WI         53711                  6004               Various                                                                                                $2.00
KARI L HIRTE                 611 N HARRISON ST APT 7                                         WAUPACA          WI         54981                  6002               Various                                                                                                $8.08
KARI LECESSE                 501 PAULINE ST                                                  MADISON          WI         53704                  6004               Various                                                                                                $2.00
KARI LIEFFORT                519 11TH ST NW                                                  WATERTOWN        SD         57201                  6004               Various                                                                                               $20.00
KARI MARKO                   W4469 CTY F                                                     CAMPBELLSPORT    WI         53010                  6002               Various                                                                                                $1.40
KARI MORAN                   1300 EAST WYNDMERE DRIVE                                        APPLETON         WI         54913                  6004               Various                                                                                                $2.00
KARI NELSON                  980 E 1ST ST                                                    HUDSON           WY         82515                  6002               Various                                                                                                $1.32
KARI OBER                    78 MAPLE STREET                                                 WINDOM           MN         56101                  6004               Various                                                                                               $64.10
KARI RAYNER WITT             217 N. HIGH AVENUE                                              JEFFERSON        WI         53549                  6004               Various                                                                                                $1.00
KARI RIEBE                   1717 WYOMING #5                                                 MISSOULA         MT         59801                  6004               Various                                                                                               $88.00
KARI ROSENSTIEL              W4640 STAUFFACHER RD.                                           MONROE           WI         53566                  6004               Various                                                                                               $15.00
KARI SAHLBERG                5094 EVER GREEN TRAIL                                           NORTH BRANCH     MN         55056                  6004               Various                                                                                               $44.98
KARI SERUM                   S1066 CTY RD NN                                                 ALMA             WI         54610                  6002               Various                                                                                                $0.41
KARI SLOAT                   44755 12TH AVE.                                                 ATLANTIC MINE    MI         49905                  6004               Various                                                                                               $91.70
KARI THOMPSON                36223 12TH ST SE                                                SALEM            OR         97302                  6004               Various                                                                                               $33.92
KARIANE ALEXANDER            1419 GARFIELD AVE                                               BELOIT           WI         53511                  6004               Various                                                                                               $16.98
KARIANNE HALCRO              31 TERESA LN                                                    GREAT FALLS      MT         59404                  6004               Various                                                                                               $39.00
KARIE MARIE HOWELL           3072 LAWSON DR                                                  WAUPACA          WI         54981                  6002               Various                                                                                                $0.85
KARIN BARTENI                3610 LILLY RD                                                   HELENA           MT         59602                  6002               Various                                                                                               $10.00
KARIN DRNJEVIC               23 COINER RD                                                    SALMON           ID         83467                  6002               Various                                                                                                $4.11
KARIN KLEPZIG                512 9TH AVE SW                                                  GREAT FALLS      MT         59404                  6004               Various                                                                                                $3.00
KARIN KUNZ                   355 E 570TH N                                                   HYDE PARK        UT         84318                  6002               Various                                                                                                $7.32
KARIN L. CONOVER-LEWIS       418 SMITH AVE                                                   OCONTO           WI         54153                  6002               Various                                                                                                $8.71
KARIN PEDROZA                161 N 1120TH E                                                  SPANISH FORK     UT         84660                  6002               Various                                                                                                $7.23
KARIN SWENSON                3116 RIVER FALLS CT NW                                          ROCHESTER        MN         55901                  6002               Various                                                                                                $8.93
KARINA AVILA                 35 BLUEMOUND CT APT 15                                          APPLETON         WI         54914                  6004               Various                                                                                                $3.00
KARINA BRUNO                 1902 S 3RD ST W             UNIT 40                             MISSOULA         MT         59801                  6004               Various                                                                                                $2.00
KARINA GRANILLO HERNANDEZ    2301 SOUTH 15TH ST                                              OMAHA            NE         68108                  6004               Various                                                                                                $4.00
KARINA MUNOZ                 73803 HIGHWAY 183                                               HOLDREGE         NE         68949                  6002               Various                                                                                                $1.53
KARINA REYNA                 1515 ZINNEY ST                                                  OMAHA            NE         68110                  6004               Various                                                                                                $6.00
KARINA VENTURA               1902 BANCROFT ST                                                OMAHA            NE         68108                  6004               Various                                                                                                $4.25
KARINE JOSTEN                612 5TH ST NW                                                   PIPESTONE        MN         56164                  6002               Various                                                                                                $6.93
KARIS FAMILY                 8632 290TH LN NE                                                NORTH BRANCH     MN         55056                  6002               Various                                                                                                $4.77
KARISA DELAY                 41436 CANYON VIEW DR.                                           POLSON           MT         59860                  6004               Various                                                                                                $3.00
KARISSA BUTKOVICH            127 S TAMARACK ST                                               CALUMET          MI         49913                  6002               Various                                                                                                $4.47
KARISSA HEINZ                1 MAIN ST                                                       PARK FALLS       WI         54552                  6002               Various                                                                                                $6.55




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              Creditor Name                Address1            Address2         Address3             City        State           Zip   Country     Number                Claim                                                                             Total Claim
KARISSA JOHNSON                1515 MOLE AVE                                                 JANESVILLE       WI         53548                 6004                Various                                                                                             $2.00
KARISSA PENNALA                15564 30TH ST SW                                              COKATO           MN         55321                 6002                Various                                                                                             $7.84
KARISSA WIETING                117 W WATER ST                                                BRILLION         WI         54110                 6002                Various                                                                                             $3.92
KARISTA STEIN                  16315 454TH AVE                                               WATERTOWN        SD         57201                 6002                Various                                                                                             $1.64
KARL ANDERSEN                  523 TOWER ST                                                  LAKE MILLS       WI         53551                 6002                Various                                                                                             $6.19
KARL BEHUNIN                   2335 CTY RD 263                                               FT BRIDGER       WY         82933                 6002                Various                                                                                             $1.22
KARL BLACK                     1836 E 400TH S                                                JEROME           ID         83338                 6002                Various                                                                                             $6.25
KARL FRANCIS                   PO BOX 970850                                                 OREM             UT         84097                 6002                Various                                                                                             $2.47
KARL HANSON                    71 JOHNSON ST                                                 WINONA           MN         55987                 6004                Various                                                                                             $1.00
KARL KIRK                      DUPLICATE DO NOT USE                                          OMAHA            NE         68135                 6004                Various                                                                                            $23.00
KARL MELNIK                    MOT-PRIVATE HOME------------                                  ONALASKA         WI         54650                 6002                Various                                                                                             $5.10
KARL PROVOST                   950 BADGER CT                                                 COLUMBUS         WI         53925                 6002                Various                                                                                             $3.84
KARL PUCKETT                   603 3RD. AVE. SW                                              GREAT FALLS      MT         59404                 6004                Various                                                                                           $127.00
KARL SCHOONHOVEN               44 N SUNSET                                                   FREEPORT         IL         61032                 6004                Various                                                                                            $94.00
KARL SIMS                      5808 ANTHONY PLACE #6                                         MADISON          WI         53716                 6004                Various                                                                                             $2.00
KARL STUBENVOLL                PO BOX 848                                                    FISH CREEK       WI         54212                 6002                Various                                                                                             $5.40
KARL WALL                      566 W 450TH N                                                 TREMONTON        UT         84337                 6002                Various                                                                                             $2.11
KARL WURTZ                     PO BOX 227                                                    THERMOPOLIS      WY         82443                 6002                Various                                                                                            $10.00
KARLA CLARK                    25636 700TH ST                                                KASSON           MN         55944                 6002                Various                                                                                             $9.07
KARLA COLWELL                  231 SERENITY ACRES LN                                         COLUMBIA FALLS   MT         59912                 6002                Various                                                                                             $9.04
KARLA DEVANEY                  PO BOX 76                                                     NELSON           NE         68961                 6002                Various                                                                                             $4.03
KARLA GONZALEZ SERRATO         888 E SHADY LN TRLR 220                                       NEENAH           WI         54956                 6002                Various                                                                                             $1.12
KARLA GREER                    1221 LESLIE AVE                                               HELENA           MT         59601                 6002                Various                                                                                             $7.59
KARLA MCGUIGAN                 3505 BURR OAK CT                                              PLOVER           WI         54467                 6002                Various                                                                                             $0.30
KARLA MORENO                   203 HIGH LINE ST                                              BELVIDERE        IL         61008                 6004                Various                                                                                             $3.90
KARLA PRICE                    3455 BRINKER AVE                                              OGDEN            UT         84403                 6002                Various                                                                                             $1.26
KARLA REED                     814 N GRANT AVE                                               NORTON           KS         67654                 6002                Various                                                                                             $3.12
KARLA ROSS                     1257 CAMPBELL ST                                              NEENAH           WI         54956                 6004                Various                                                                                             $5.00
KARLA S. SCHWIEGER-ARNOLD      319 ISLAND DR                                                 DONIPHAN         NE         68832                 6002                Various                                                                                             $7.73
KARLA SANDHAGEN                821 2ND AVE NE                                                OELWEIN          IA         50662                 6002                Various                                                                                             $3.45
KARLA TRELSTAD                 1908 BRIDGE AVE APT 104                                       ALBERT LEA       MN         56007                 6004                Various                                                                                            $10.00
KARLA WOLTMAN                  2867 AGDAN WOODS DR.                                          GREEN BAY        WI         54313                 6004                Various                                                                                            $10.00
KARLEE ANN WALLS               801 4TH ST SW APT 305                                         PERHAM           MN         56573                 6002                Various                                                                                             $7.12
KARLEE BRADY                   155 PHEASANT DR                                               GREEN RIVER      WY         82935                 6002                Various                                                                                             $8.52
KARLEE CROW                    470 TIEBREAKER                                                IDAHO FALLS      ID         83406                 6004                Various                                                                                             $3.65
KARLEE QUALHEIM                5315 SPRING ST                                                OMAHA            NE         68106                 6004                Various                                                                                             $5.00
KARLEEN FOURNIER               2890 120TH ST                                                 BELMOND          IA         50421                 6002                Various                                                                                             $2.99
KARLENA ONATE                  1608 N 18TH ST                                                ESCANABA         MI         49829                 6002                Various                                                                                             $0.55
KARLENE CROOK                  2637 BITTERCREEK RD                                           FAIRVIEW         WY         83119                 6002                Various                                                                                            $10.41
KARLENE SOTO                   1315 MARION RD SE                                             ROCHESTER        MN         55904                 6004                Various                                                                                             $6.00

KARLI HARRIS                   2350 W MARIPOSA PKWY UNIT A                                   WHEATLAND        WY         82201                  6002               Various                                                                                                $4.30
KARLI HATCHER                  106 S MAPLE ST                                                WINCHESTER       IL         62694                  6002               Various                                                                                                $1.56
KARLIE BARNES                  1514 WEST LANE                                                BILLINGS         MT         59101                  6004               Various                                                                                                $2.00
KARLY COOK                     966 S 690TH E                                                 SPANISH FORK     UT         84660                  6002               Various                                                                                                $0.60
KARLY COX                      9 S BURBERRY DR #337                                          MADISON          WI         53719                  6004               Various                                                                                               $25.00
KARLY MEASE                    1258 N MONTICELLO ST                                          POST FALLS       ID         83854                  6002               Various                                                                                                $8.16
KARMEL CHOLETTE                13812 ROLAND LAKE RD                                          SKANEE           MI         49962                  6002               Various                                                                                                $6.68
KARMEN DATHER                  2410 82ND ST                                                  FAIRMONT         MN         56031                  6002               Various                                                                                                $3.12
KARMEN FREUND                  W2097 370TH AVE                                               MAIDEN ROCK      WI         54750                  6002               Various                                                                                                $1.81
KARMYN WATSON                  503 SE 6TH ST APT 12                                          GREENFIELD       IA         50849                  6002               Various                                                                                                $4.82
KARNE BASULTO                  830 LIME KILN RD            APT 4                             GREEN BAY        WI         54302                  6004               Various                                                                                               $25.00
KARNES FAMILY                  5447 377TH ST                                                 NORTH BRANCH     MN         55056                  6002               Various                                                                                                $7.89




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                                                                             Schedule E/F: Part 2 - Creditors With Nonpriority Unsecured Claims




                                                                                                                                                                                                                                     Claim subject to offset?
                                                                                                                                                                                                           Unliquidated
                                                                                                                                                                                              Contingent


                                                                                                                                                                                                                          Disputed
                                                                                                                                                     Last 4 Digits of     Date Debt was
                                                                                                                                                        Account         Incurred, Basis for
            Creditor Name              Address1                  Address2            Address3            City        State           Zip   Country      Number                Claim                                                                             Total Claim

KAROL (RENEE SIERER          734 W SHADY RIVER WAY APT 18                                         SALT LAKE CITY    UT       84123                   6002               Various                                                                                                $6.03
KARRELS FAMILY               106 W VAN ALTENA AVE                                                 CEDAR GROVE       WI       53013                   6002               Various                                                                                                $2.49
KARRI ADAMSON                304 EDWARDS                                                          LEWIS             KS       67552                   6002               Various                                                                                                $4.11
KARRI DEAL                   1449 W 3RD ST                                                        MOUNT CARMEL      IL       62863                   6002               Various                                                                                                $6.19
KARRI LECLAIRE               417 37TH AVE N                                                       ST. CLOUD         MN       56303                   6004               Various                                                                                                $3.00
KARRI ZUIDEMA                1004 N DAVIS ST                                                      HELENA            MT       59601                   6002               Various                                                                                                $8.79
KARRIE CHATWIN               615 E 800TH N                                                        SPANISH FORK      UT       84660                   6002               Various                                                                                                $3.32
KARRIE GORMAN                102 NORTH MAIN ST                                                    MANTORVILLE       MN       55955                   6004               Various                                                                                                $3.06
KARRINE STORBY               209 S. 2 ND AVE                                                      ALBERT LEA        MN       56007                   6004               Various                                                                                                $3.00
KARRLIN BAIN                 1449 CARDINAL LN                                                     GREEN BAY         WI       54313                   6004               Various                                                                                               $13.90
KARRY HILL                   7112 49TH AVENUE                                                     KENOSHA           WI       53142                   6004               Various                                                                                               $10.91
KARRY WILLIAMS               223 BELGRADE #A                                                      NORTH MANKATO     MN       56003                   6004               Various                                                                                                $3.00
KARSEN MIERAU                13558 HEINZ RD                                                       CALEDONIA         MN       55921                   6004               Various                                                                                                $2.94
KARSTIN BROWN                PO BOX 413                                                           HERON LAKE        MN       56137                   6004               Various                                                                                                $3.00
KARY KOLSKI                  700 2ND AVE S APT 14                                                 GREAT FALLS       MT       59405                   6002               Various                                                                                                $9.75
KARYNDA KILCOIN              7136 CUMMING ST                                                      LINCOLN           NE       68507                   6004               Various                                                                                                $2.00
KASAUNDRA MANTHIE            341 37TH AVE N                                                       SAINT CLOUD       MN       56303                   6004               Various                                                                                                $3.00

KASEN J REESE                229 E 4450TH S                                                       WASHINGTON TERR   UT       84405                   6002               Various                                                                                               $10.00
KASEY CRICK                  15720 E. 4TH AVE.              APT. C206                             VERADALE          WA       99037                   6004               Various                                                                                               $14.00
KASEY HURTGEN                1627 TRAVIS ST                                                       LA CROSSE         WI       54601                   6004               Various                                                                                                $1.00
KASEY IRISH                  54 6TH AVE WN                                                        KALISPELL         MT       59901                   6002               Various                                                                                                $0.71
KASEY L HINKLE               HC 4 BOX 51 PMB C                                                    DONIPHAN          MO       63935                   6002               Various                                                                                                $8.44
KASEY L WILLIAMS             1411 SAUNDERS ST                                                     ANSLEY            NE       68814                   6002               Various                                                                                                $4.85
KASEY TARBET                 5025 W 20000TH N                                                     PLYMOUTH          UT       84336                   6002               Various                                                                                                $3.53
KASEY VANLIERE               1104 11TH AVE NE                                                     WATERTOWN         SD       57201                   6002               Various                                                                                                $9.48
KASH D BOGART                N5388 SKINNERHOLLOW RD                                               MONROE            WI       53566                   6002               Various                                                                                                $6.14
KASHA NICHOLES               6031 MERIDIAN #389                                                   LINCOLN           NE       68504                   6004               Various                                                                                               $20.00
KASIE EARNEST                3109 CORBY ST                                                        OMAHA             NE       68111                   6004               Various                                                                                                $4.00
KASIE GLAZIER                4910 W BARTON PARK DR                                                WEST JORDAN       UT       84081                   6002               Various                                                                                                $6.77
KASONDRA RICHMAN             1414 MCKITTRICK ST. #4                                               WENATCHEE         WA       98801                   6004               Various                                                                                               $10.00
KASSANDRA BROWNING           1112 IMPERIAL CIRCLE           APT.# 4                               EAU CLAIRE        WI       54701                   6004               Various                                                                                               $23.00
KASSANDRA GARZA              334 CENTER ST APT 7                                                  WAUTOMA           WI       54982                   6002               Various                                                                                               $10.00
KASSANDRA JE MAHNKE          7606 WESTWARD WAY APT C                                              MADISON           WI       53717                   6002               Various                                                                                                $5.26
KASSANDRA MAGANA             1022 JOHNSON AVE                                                     WORTHINGTON       MN       56187                   6002               Various                                                                                                $9.84
KASSANDRA PEREZ              2323 BELLWOOD DR               TRAILER 212                           GRAND ISLAND      NE       68801                   6004               Various                                                                                                $4.00
KASSANDRA PITTMAN            207 WEBSTER ST                                                       FAIRMONT          MN       56031                   6004               Various                                                                                               $46.00
KASSANDRA RODRIGUEZ          652 W 620 N                                                          SHOSHONE          ID       83352                   6004               Various                                                                                                $3.65
KASSANDRA ROEDER             W 7627 SHORT ST                                                      WAUTOMA           WI       54982                   6002               Various                                                                                                $6.05
KASSANDRA ROGGE              605 ROTHE STREET APT 2                                               GREEN BAY         WI       54302                   6004               Various                                                                                               $22.00
KASSANDRA STINE              2475 S AMMON RD #207                                                 IDAHO FALLS       ID       83406                   6004               Various                                                                                                $1.00
KASSANDRA TRAVIS             PO BOX 2139                                                          OROFINO           ID       83544                   6002               Various                                                                                                $1.97
KASSANDRA WERNER             1717 24TH ST                                                         TWO RIVERS        WI       54241                   6004               Various                                                                                               $10.00
KASSI CARPENTER              1958 S STREET                                                        WHEATLAND         WY       82201                   6002               Various                                                                                                $1.12
KASSIDIE LARSEN              885 W 460TH S                                                        TREMONTON         UT       84337                   6002               Various                                                                                               $10.00
KASSIDY STREEPER             6486 KINGS ESTATE DR                                                 WEST VALLEY       UT       84128                   6004               Various                                                                                               $20.00
KASSIE FINEHER               28 SHADY LN                                                          KALISPELL         MT       59901                   6002               Various                                                                                                $8.90
KASSIE JARVIS                391 N BOZEMAN AVE                                                    BUFFALO           WY       82834                   6002               Various                                                                                                $1.34
KASSONDRA BERGE              983 NULAND RD                                                        DEERFIELD         WI       53531                   6004               Various                                                                                                $8.46
KATARINA BROWN               2825 MILWAUKEE STREET                                                MADISON           WI       53704                   6004               Various                                                                                                $5.70
KATE E WILLIAMS              1500 MAPLE ST                                                        QUINCY            IL       62301                   6002               Various                                                                                                $8.03
KATE FARLEY                  3220 LOON LANE                                                       GREEN BAY         WI       54311                   6004               Various                                                                                                $4.05
KATE JENSEN                  6405 BRIDGE RD.                APT. 202                              MADISON           WI       53713                   6004               Various                                                                                                $4.59




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                                                                          Schedule E/F: Part 2 - Creditors With Nonpriority Unsecured Claims




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             Creditor Name             Address1                   Address2        Address3            City           State           Zip   Country      Number                Claim                                                                             Total Claim

KATEE KINDALL                 16805 NORTH WATERFORD WAY                                        NAMPA            ID           83687                   6004               Various                                                                                               $53.01
KATELAINE BUSKE               8996 COUNTY F                                                    FISH CREEK       WI           54212                   6002               Various                                                                                                $2.96
KATELIN JOHNSON               7011 38 AVE                                                      KENOSHA          WI           53142                   6004               Various                                                                                                $1.00
KATELIN SIX                   2139 SAINT PAULS CHURCH RD                                       CHAPIN           IL           62628                   6002               Various                                                                                                $1.21
KATELYN BETTS                 2302 N 6TH STREET APT 2                                          WAUSAU           WI           54403                   6004               Various                                                                                               $20.00
KATELYN BIADA                 1520 S 700 E                 APT C                               SALT LAKE CITY   UT           84105                   6004               Various                                                                                               $14.98
KATELYN KUDERSKI              N3898 SHAMROCK CIRCLE                                            APPLETON         WI           54913                   6004               Various                                                                                               $13.00
KATELYN MAMER                 9851 HWY 60 BLVD             PO BOX 265                          WANAMINGO        MN           55983                   6004               Various                                                                                                $3.00
KATELYN NELSON                311 EAST 5TH ST.                                                 MORRIS           MN           56267                   6004               Various                                                                                               $25.50
KATELYN R KROESE              3017 N ST                                                        LINCOLN          NE           68510                   6002               Various                                                                                                $4.25
KATELYN SAYLORS               153 COLUMBIA ST NW                                               POPLAR GROVE     IL           61065                   6004               Various                                                                                                $3.90
KATELYNN FLOTTMEIER           17559 306TH STREET                                               SHAFER           MN           55074                   6004               Various                                                                                                $3.00
KATELYNN HOCHSTEIN            87324 578TH AVE                                                  DIXON            NE           68732                   6002               Various                                                                                                $5.29
KATELYNN SELF                 19310 NW BUTLER                                                  TERREBONNE       OR           97760                   6004               Various                                                                                               $32.00
KATERINA DAV MILES            3709 W ZADOK LN                                                  WEST JORDAN      UT           84088                   6002               Various                                                                                                $0.27
KATHALEEN CHURCH              530 JACKSON STREET                                               FT ATKINSON      WI           53538                   6004               Various                                                                                               $36.60
KATHALEEN MADRID              BOX 155                                                          AHSAHKA          ID           83520                   6002               Various                                                                                                $0.38
KATHARINE GETSCHOW            814 HELEN ST                                                     NEENAH           WI           54956                   6002               Various                                                                                                $7.95
KATHERENE JOHNSON             2714 W MEADOW RD                                                 BAILEYS HARBOR   WI           54202                   6002               Various                                                                                                $0.27
KATHERIEN A LARSEN            222 W SUMMIT ST                                                  WINTERSET        IA           50273                   6002               Various                                                                                                $2.38
KATHERINE (KATE) ASAY         4302 S MARVINWOOD DR                                             TAYLORSVILLE     UT           84129                   6004               Various                                                                                               $10.00
KATHERINE ABRAHAM             230 28TH AVE N                                                   SAINT CLOUD      MN           56303                   6004               Various                                                                                                $3.00
KATHERINE ADLER               244 WEST JEFFERSON STREET                                        ELKHORN          WI           53121                   6004               Various                                                                                                $5.00
KATHERINE AN HUBBARD          172 GRANDVIEW DR                                                 TWIN FALLS       ID           83301                   6002               Various                                                                                                $1.62
KATHERINE BACON               21336 306TH ST                                                   WAUCOMA          IA           52171                   6002               Various                                                                                                $1.37
KATHERINE BLAKE               29413 633RD AVE                                                  AUSTIN           MN           55912                   6004               Various                                                                                                $3.00
KATHERINE BOEDE               W12538 OLDEN RD                                                  RIPON            WI           54971                   6004               Various                                                                                               $14.00
KATHERINE BRACKEN             295 SMITH ST                                                     LANDER           WY           82520                   6002               Various                                                                                                $7.10
KATHERINE BRACKETT            520 STERLING STREET                                              KINGSFORD        MI           49802                   6004               Various                                                                                               $19.20
KATHERINE BREWER              5016 18TH AVE UPPER                                              KENOSHA          WI           53140                   6004               Various                                                                                               $25.00
KATHERINE BUSCHHORN           1200 S. 1851 E.                                                  HAZELTON         ID           83335                   6004               Various                                                                                               $13.02
KATHERINE CALHOUN             GENERAL DELIVERY                                                 CLARKSTON        WA           99403                   6002               Various                                                                                                $4.85
KATHERINE CUBILETTE           6305 FORD ST                 #A                                  MADISON          WI           53716                   6004               Various                                                                                                $1.00
KATHERINE CULLIP              221 CARRIAGE LN N APT 403                                        TWIN FALLS       ID           83301                   6002               Various                                                                                                $6.22
KATHERINE CULOTTA             10383 FLAGSTONE DRIVE                                            CEDARBURG        WI           53012                   6004               Various                                                                                                $1.00
KATHERINE D REIMAN            10852 NICHOLS SPRING DR                                          CHATFIELD        MN           55923                   6002               Various                                                                                                $2.30
KATHERINE EICHBERGER          7201 BUCKINGHAM DR APT 53                                        LINCOLN          NE           68506                   6004               Various                                                                                                $5.00
KATHERINE EICHSTEADT-SEIDL    2131 EFFINGHAM WAY           #102                                SUN PRAIRIE      WI           53590                   6004               Various                                                                                               $10.00
KATHERINE ENGEL               921 BURNING WOOD WAY                                             MADISON          WI           53704                   6004               Various                                                                                               $21.00
KATHERINE ERKKILA             1342 W TAYLOR STREET                                             APPLETON         WI           54914                   6004               Various                                                                                               $44.00
KATHERINE EVERSON             1846 S SUNKIST CR                                                DE PERE          WI           54115                   6002               Various                                                                                                $1.12
KATHERINE G TEBERG            11962 OAKTON RD                                                  SAVANNA          IL           61074                   6002               Various                                                                                                $6.49
KATHERINE GAGE                1326 WOLVERINE TR                                                NEW FRANKEN      WI           54229                   6004               Various                                                                                                $2.50
KATHERINE GREEN               1635 INVERNESS BLVD                                              RAWLINS          WY           82301                   6002               Various                                                                                                $1.37
KATHERINE HEINTZ              10535 W. BUCKTAIL DR.                                            GARDEN CITY      ID           83714                   6004               Various                                                                                               $10.96
KATHERINE HENDEL              913 3RD ST                                                       NICOLLET         MN           56074                   6004               Various                                                                                               $15.30
KATHERINE JENKINS             172 JASON CT                                                     MISSOULA         MT           59802                   6004               Various                                                                                               $18.00
KATHERINE JONES               1586 STANGER DR                                                  IDAHO FALLS      ID           83404                   6002               Various                                                                                                $0.30
KATHERINE KADLEC              2575 15TH ST.                                                    RICE LAKE        WI           54868                   6004               Various                                                                                               $26.96
KATHERINE KOHLS               104 HARRISON ST                                                  WATERLOO         WI           53594                   6002               Various                                                                                               $32.97
KATHERINE KOWALKE             312 S 9TH ST                                                     WATERTOWN        WI           53094                   6002               Various                                                                                                $5.01
                              3141 S STONEMEADOW WAY APT
KATHERINE L. HANSEN           1                                                                APPLETON         WI           54915                   6002               Various                                                                                                $6.93




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              Creditor Name                Address1           Address2        Address3             City       State           Zip    Country     Number                Claim                                                                             Total Claim
KATHERINE L. REW TUNELL        1460 CEMETARY RD APT 101                                    RIVER FALLS     WI         54022                  6002                Various                                                                                                $7.75
KATHERINE LOTHE                176 E. ROCKDALE RD                                          CAMBRIDGE       WI         53523                  6004                Various                                                                                                $5.00
KATHERINE LUISIER              349 4TH AVENUE                                              STEVENS POINT   WI         54481                  6004                Various                                                                                               $20.40
KATHERINE M DUNN               907 ZIEBACH ST LOT 49                                       BELLE FOURCHE   SD         57717                  6002                Various                                                                                                $0.60
KATHERINE M NELSON             5093 CTY RD K                                               AMHERST         WI         54406                  6002                Various                                                                                                $7.18
KATHERINE M YAMAJI             655 NW HOYT ST                                              PORTLAND        OR         97209                  6002                Various                                                                                                $5.67
KATHERINE MACHEJ               BOX 9                                                       SPRAGUE         MB         R0A1Z         CANADA 6002                  Various                                                                                                $1.62
KATHERINE MALSOM               118 7TH AVE SW                                              ABERDEEN        SD         57401                  6004                Various                                                                                               $20.00
KATHERINE MARCINKOWSKI         416 S. BIRD ST                                              SUN PRAIRIE     WI         53590                  6004                Various                                                                                                $1.00
KATHERINE PETERSON             19822 JOWSEY CT SW                                          ROCHESTER       WA         98579                  6004                Various                                                                                                $2.50
KATHERINE REAL BANOS           1315 MERRILL AVE.                                           BELOIT          WI         53511                  6004                Various                                                                                                $2.00
KATHERINE RO CASE              1187 W 11715TH S                                            SOUTH JORDAN    UT         84095                  6002                Various                                                                                                $5.07
KATHERINE SMITH                350 IOWA ST.                                                UTICA           NE         68456                  6004                Various                                                                                                $4.00
KATHERINE SONLEY               3409 W. CREEDY RD.                                          BELOIT          WI         53511                  6004                Various                                                                                                $4.25
KATHERINE STEWART              1605 E LAKESIDE AVE                                         COEUR D ALENE   ID         83814                  6002                Various                                                                                                $7.81
KATHERINE STIEH                101 E ELM ST APT 29                                         GALLATIN        MO         64640                  6002                Various                                                                                                $1.23
KATHERINE STOUGH TEETER        PO BOX 8                                                    DAVIS           IL         61019                  6002                Various                                                                                                $6.25
KATHERINE STUCKART             2420 SYCAMORE DR APT H114                                   GREEN BAY       WI         54311                  6004                Various                                                                                                $4.98
KATHERINE TONGE                360 E 400TH S                                               OREM            UT         84058                  6002                Various                                                                                                $6.38
KATHERINE TRIBBLE              1687 KING ROAD PO BOX # 55                                  MURRAYVILLE     IL         62668                  6002                Various                                                                                                $9.23
KATHERINE WALTERS-RIFFEY       527 33RD AVE W APT 303                                      WEST FARGO      ND         58078                  6002                Various                                                                                                $8.47
KATHERINE WILLIAMS- PIERCE     2403 BIGHORN AVE                                            SIDNEY          MT         59270                  6002                Various                                                                                                $3.10
KATHERINE WISNIEWSKI           1920 PIKA TRL UNIT F                                        RIVER FALLS     WI         54022                  6002                Various                                                                                                $8.71
KATHI GASPAR                   909 S JAY CIR                                               SIOUX FALLS     SD         57103                  6002                Various                                                                                                $1.73
KATHI J FRENCH                 34765 COUNTY ROAD 119                                       SIDNEY          MT         59270                  6002                Various                                                                                                $1.32
KATHIE BRIER                   8739 N OLD HWY 27                                           HAYWARD         WI         54843                  6004                Various                                                                                               $25.00
KATHIE LITTLE                  1133 HERITAGE DR                                            JACKSONVILLE    IL         62650                  6004                Various                                                                                               $93.18
KATHLEEN "KATIE" SMITH         350 IOWA ST                                                 UTICA           NE         68456                  6004                Various                                                                                               $17.96

KATHLEEN A MITCHELL            1207 5TH ST GREEN DOOR # 646                                PERRY           IA         50220                    6002              Various                                                                                                $8.33
KATHLEEN A SANKEY              5622 HIGHWAY # B                                            STEVENS POINT   WI         54481                    6002              Various                                                                                                $6.47
KATHLEEN A. BERA               812 PARK AVE                                                LITTLE CHUTE    WI         54140                    6002              Various                                                                                                $6.60
KATHLEEN ACEVEDO               127 W GENEVA STREET                                         WILLIAMS BAY    WI         53191                    6004              Various                                                                                               $25.00
KATHLEEN ARNDT                 5215 S READ RD                                              JANESVILLE      WI         53546                    6002              Various                                                                                                $5.40
KATHLEEN BARKER                219 N WASHINGTON ST                                         WAUPACA         WI         54981                    6002              Various                                                                                                $9.86
KATHLEEN BECKER                W9475 ROCKDALE ROAD                                         EDGERTON        WI         53534                    6004              Various                                                                                                $5.60
KATHLEEN BELSHA                2967 BLUEMOON DR                                            GREEN BAY       WI         54311                    6002              Various                                                                                                $7.89
KATHLEEN BENSON                1482 COUNTY RD N                                            ROBERTS         WI         54023                    6002              Various                                                                                               $15.23
KATHLEEN BERRY                 PO BOX 17                                                   PERHAM          MN         56573                    6002              Various                                                                                                $3.51
KATHLEEN BIDEAUX               4187 S 4100 W                                               OGDEN           UT         84401                    6004              Various                                                                                                $9.99
KATHLEEN BOEHM                 1013 LEMESSURIER ST                                         WAUSAU          WI         54403                    6002              Various                                                                                                $1.66
KATHLEEN BORGSTROM             701 IMPERIAL WAY APT 2B                                     SALMON          ID         83467                    6002              Various                                                                                                $7.73
KATHLEEN BRAUN                 3829 BRODTKE RD                                             CATO            WI         54206                    6004              Various                                                                                                $1.00
KATHLEEN BREAREY               1100 E OREGON ST TRLR 50                                    KALISPELL       MT         59901                    6002              Various                                                                                                $3.84
KATHLEEN C SKAMSER             3111 EDDY LN                                                EAU CLAIRE      WI         54703                    6002              Various                                                                                                $5.18
KATHLEEN CALLOWAY              317 MYSTIC AVE                                              NEWCASTLE       WY         82701                    6002              Various                                                                                                $1.89
KATHLEEN CC/ CORNELL           1402 CO RD C                                                WAHOO           NE         68066                    6002              Various                                                                                                $2.71
KATHLEEN DIROCCO               1954 N BIRD                                                 BOISE           ID         83704                    6004              Various                                                                                               $24.96

KATHLEEN DRAKE                 3904 MOUNT VIEW AVE. APT 117                                WESTON          WI         54476                    6004              Various                                                                                               $49.60
KATHLEEN EMRY-MEFFERD          PO BOX 6                                                    PURDUM          NE         69157                    6002              Various                                                                                                $9.56
KATHLEEN EVANS                 319 E BUFFALO ST                                            RAWLINS         WY         82301                    6002              Various                                                                                                $9.04
KATHLEEN FINCH                 PO BOX 412                                                  DELAVAN         WI         53115                    6002              Various                                                                                                $0.85
KATHLEEN FRANSON               1612 7TH ST                                                 MONROE          WI         53566                    6002              Various                                                                                                $8.63




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KATHLEEN GENNOCK               5910 SALTAN CR                                                MURRAY           UT         84107                 6002                Various                                                                                                $6.96
KATHLEEN GOODE                 4620 GHARRETT STREET                                          MISSOULA         MT         59803                 6004                Various                                                                                                $3.00
KATHLEEN GREGOR                25 14TH ST                                                    FOND DU LAC      WI         54935                 6002                Various                                                                                                $2.27
KATHLEEN GRETHER               2900 FIELDCREST DR                                            KAUKAUNA         WI         54130                 6002                Various                                                                                                $8.47
KATHLEEN HANNA                 101 HARVEST CR                                                MT. HOREB        WI         53572                 6004                Various                                                                                               $15.00
KATHLEEN HELPHREY              743 MELISSA ST                                                MENASHA          WI         54952                 6002                Various                                                                                                $1.10
KATHLEEN HENSLEY               14142 KARL ST                                                 OMAHA            NE         68137                 6004                Various                                                                                                $5.00
KATHLEEN HIELSCHER             1021 13TH ST SE                                               ROCHESTER        MN         55904                 6004                Various                                                                                                $3.00
KATHLEEN HIGGINS               N2820 CTY RD QQ APT 8                                         WAUPACA          WI         54981                 6002                Various                                                                                                $2.85
KATHLEEN HOFF                  404 N BROADWAY                                                WATERTOWN        SD         57201                 6002                Various                                                                                                $5.10
KATHLEEN HOLBROOK              129 W 600TH N                                                 KAYSVILLE        UT         84037                 6002                Various                                                                                                $5.04
KATHLEEN HULETT                3337 CROFTON RD SW                                            SOUTH BOARDMAN   MI         49680                 6002                Various                                                                                                $7.15
KATHLEEN HUNNEWELL             111 GARLAND ST                                                KALISPELL        MT         59901                 6002                Various                                                                                                $0.60
KATHLEEN J RYBARCZYK           2111 HICKORY DR                                               PLOVER           WI         54467                 6002                Various                                                                                                $2.85
KATHLEEN J. HARRISON           4467 W IDEWILD LP                                             COEUR D'ALENE    ID         83814                 6002                Various                                                                                                $5.07
KATHLEEN JOHNSON               RT BOX # 119D                                                 LAKE LINDEN      MI         49945                 6002                Various                                                                                                $3.10
KATHLEEN JORGENSON             2020 LIDEN ST                                                 STEVENS POINT    WI         54481                 6002                Various                                                                                                $3.64
KATHLEEN KANE                  11395 345TH ST                                                STANLEY          WI         54768                 6002                Various                                                                                                $2.19
KATHLEEN KELLY                 11428 LACI CR                                                 OMAHA            NE         68137                 6004                Various                                                                                               $60.00
KATHLEEN KIMMETH               W3299 GREENSPIRE WAY                                          APPLETON         WI         54915                 6004                Various                                                                                               $10.00
KATHLEEN KING                  424 WEST 2ND ST                                               KIMBERLY         WI         54136                 6004                Various                                                                                               $22.50
KATHLEEN KOONS                 PO BOX 12054                                                  OMAHA            NE         68112                 6002                Various                                                                                                $1.81
KATHLEEN KOVALSKAS             1867 NO 151ST PLAZA                                           OMAHA            NE         68154                 6004                Various                                                                                                $2.60
KATHLEEN L SCHMIT              212 STATE ST APT 2                                            HELENA           MT         59601                 6002                Various                                                                                                $7.01
KATHLEEN LANGE                 2408 FERTIG DR APT C                                          WHEATLAND        WY         82201                 6002                Various                                                                                                $1.81

KATHLEEN LAPPEGARD             ABERDEEN HEALTH AND REHAB                                     ABERDEEN         SD         57401                  6004               Various                                                                                                $2.00
KATHLEEN LUCERO                8526 S COUNTRYSQUIRE DR                                       WEST JORDAN      UT         84088                  6002               Various                                                                                                $8.33
KATHLEEN M NOLTE               813 WARNER AVE # 4                                            CLARKSTON        WA         99403                  6002               Various                                                                                                $0.58
KATHLEEN M STALLBAUMER         77953 ROAD 434                                                OCONTO           NE         68860                  6002               Various                                                                                                $7.64
KATHLEEN MAR GREEN             N4737 N MEADE ST                                              APPLETON         WI         54911                  6002               Various                                                                                                $3.95
KATHLEEN MARTIN                413 FRIENDLY CIR SW                                           EYOTA            MN         55934                  6002               Various                                                                                                $4.30
KATHLEEN MAURITZ               2245 IMPERIAL LN            APT 4                             GREEN BAY        WI         54302                  6004               Various                                                                                                $2.00
KATHLEEN MCLAUGHLIN            2289 S. THOMPSON, APT. 1                                      MADISON          WI         53716                  6004               Various                                                                                               $13.75
KATHLEEN MEYER                 2001 27 ST                                                    KENOSHA          WI         53140                  6004               Various                                                                                               $81.00
KATHLEEN MORTENSEN             13070 S CHARING WAY                                           RIVERTON         UT         84065                  6004               Various                                                                                                $4.73
KATHLEEN N CALDERON            1806 N COUNTY ROAD J                                          WAUSAU           WI         54403                  6002               Various                                                                                                $2.14
KATHLEEN NOVAK                 1239 S LAFAYETTE ST                                           SHAWANO          WI         54166                  6002               Various                                                                                                $1.89
KATHLEEN OROURKE               1239 MAPLE ST                                                 NEENAH           WI         54956                  6002               Various                                                                                               $10.00
KATHLEEN PETERSON              BOX 936/ 136 PARK ST                                          WAUTOMA          WI         54982                  6002               Various                                                                                                $4.85
KATHLEEN PHILLIPS              E9697 HIGHWAY 76                                              BLACK CREEK      WI         54922                  6004               Various                                                                                               $25.00
KATHLEEN PLAISANCE             3241 NICOLET COURT                                            STEVENS POINT    WI         54481                  6004               Various                                                                                               $10.00
KATHLEEN POWERS                W5798 WOODLAWN DR                                             FORT ATKINSON    WI         53538                  6002               Various                                                                                                $4.05
KATHLEEN RAHLF                 267 S WATER AVE                                               NEW HAMPTON      IA         50659                  6002               Various                                                                                                $3.33
KATHLEEN RALLS                 1203 W GRAND ST                                               GALLATIN         MO         64640                  6002               Various                                                                                                $7.95
KATHLEEN REDMOND               3352 KNOLLWOOD RD                                             WEST BEND        WI         53095                  6002               Various                                                                                                $7.73
KATHLEEN ROBINSON              1054 HOLLY TREE LN                                            FOND DU LAC      WI         54935                  6002               Various                                                                                                $2.19
KATHLEEN ROOT                  3531 WEST CENTRAL AVE                                         MISSUOLA         MT         59804                  6004               Various                                                                                               $10.00
KATHLEEN ROUSH                 PO BOX 562                                                    AVOCA            IA         51521                  6004               Various                                                                                                $3.90
KATHLEEN RUSSELL               1318 TERRACE CT                                               WAUPACA          WI         54981                  6002               Various                                                                                                $2.77
KATHLEEN S DOTSON              703 2ND AVE NE                                                OELWEIN          IA         50662                  6002               Various                                                                                                $4.47
KATHLEEN SEIDL-DESCHAND        1039 NEW HAVEN AVE                                            FOND DU LAC      WI         54935                  6004               Various                                                                                               $23.00
KATHLEEN SHEPHERD              1423 SMITH ST                                                 GREEN BAY        WI         54302                  6004               Various                                                                                               $10.00
KATHLEEN SHERMAN               801 E ST                                                      FORT ATKINSON    WI         53538                  6002               Various                                                                                                $1.42




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                                                                                                                                                                                                                                   Claim subject to offset?
                                                                                                                                                                                                         Unliquidated
                                                                                                                                                                                            Contingent


                                                                                                                                                                                                                        Disputed
                                                                                                                                                   Last 4 Digits of     Date Debt was
                                                                                                                                                      Account         Incurred, Basis for
             Creditor Name                Address1               Address2        Address3              City         State           Zip   Country     Number                Claim                                                                             Total Claim
KATHLEEN SHUMAKER             2160 S 1200 W              # 306                                OGDEN              UT         84401                 6004                Various                                                                                               $76.00
KATHLEEN SMITH                1815 PARKLANE ST                                                CRETE              NE         68333                 6002                Various                                                                                                $9.45
KATHLEEN SPRENGER             916 E SUNSET AVE                                                APPLETON           WI         54911                 6002                Various                                                                                                $8.93
KATHLEEN STOLLBERG            1010 S ONEIDA STREET                                            GREEN BAY          WI         54304                 6004                Various                                                                                                $1.42
KATHLEEN STUMPF               1825 WEST FIRST STREET                                          DIXON              IL         61021                 6004                Various                                                                                               $10.00
KATHLEEN TERREY               4909 SUPERIOR AVE                                               OCONTO             WI         54153                 6002                Various                                                                                                $3.33
KATHLEEN TRIGGS               RR 1 BOX 90                                                     MT. AYR            IA         50854                 6002                Various                                                                                                $5.07
KATHLEEN V WEESENBEEG         3629 HAWTHORNE RD                                               POCATELLO          ID         83201                 6002                Various                                                                                                $2.96
KATHLEEN VOLAK                9550 SPRINGLAKE RD NE                                           NORTH BRANCH       MN         55056                 6002                Various                                                                                               $15.94
KATHLEEN WAGGONER             815 E AVE                                                       LYONS              KS         67554                 6002                Various                                                                                                $3.29
KATHLEEN WANISH               6100 CALUMET AVE                                                MANITOWOC          WI         54220                 6002                Various                                                                                                $8.11
KATHLEEN WARD                 37667 HEMMINGWAY AVE                                            NORTH BRANCH       MN         55056                 6004                Various                                                                                                $3.00
KATHLEEN WEISS                2700 LAKEVIW DR                                                 GOTHENBURG         NE         69138                 6002                Various                                                                                                $6.71
KATHLEEN WILLHITE             3430 LYNN AVE # 104                                             BILLINGS           MT         59102                 6004                Various                                                                                               $25.00
KATHLEEN WITT                 323 NORTH STREET                                                LEWISTON           ID         83501                 6004                Various                                                                                               $20.00
KATHLEEN YOUNG                21045 CLAIRAWAY AVE                                             BEND               OR         97702                 6004                Various                                                                                               $71.40
KATHLENE NELSON               321 5TH AVE SOUTH                                               STRUM              WI         54770                 6004                Various                                                                                                $4.00
KATHLYN M. BALZA              2115 SHADY LN                                                   GREEN BAY          WI         54313                 6002                Various                                                                                                $5.97
KATHREN WILSON                3713 14TH ST C                                                  LEWISTON           ID         83501                 6002                Various                                                                                                $5.18
KATHRINE RICHARDS             3821 BRETT'S DR.                                                PLOVER             WI         54467                 6004                Various                                                                                               $20.00
KATHRYN (HAN ADAIR            538 W 1595TH N # 201                                            LOGAN              UT         84341                 6002                Various                                                                                                $3.59
KATHRYN ANN EGGERS            8310 W EDNA ST                                                  BOISE              ID         83704                 6002                Various                                                                                               $10.00
KATHRYN BERRETT               7143 WEST VICTORY                                               NAMPA              ID         83651                 6004                Various                                                                                               $13.65
KATHRYN BOWMAN                HC 7 BOX 387                                                    DONIPHAN           MO         63935                 6002                Various                                                                                                $7.18
KATHRYN BROWN                 3444 CHARLESWORTH CR                                            WEST JORDAN        UT         84088                 6002                Various                                                                                                $0.38
KATHRYN BRUEGGER              732 EDISON AVE                                                  JANESVILLE         WI         53546                 6004                Various                                                                                               $23.99
KATHRYN CHISHOLM              3316 S TELULAH AVE                                              APPLETON           WI         54915                 6004                Various                                                                                               $14.00
KATHRYN CHVALA                123 BUCHANAN ST                                                 STUART             NE         68780                 6002                Various                                                                                                $1.42
KATHRYN DEWHURST              605 N MAIN ST                                                   MARION             WI         54950                 6002                Various                                                                                                $0.58
KATHRYN DIETZ                 1220 MARICOPA DR                                                OSHKOSH            WI         54904                 6002                Various                                                                                                $7.84
KATHRYN DRIDA                 2803 DIAMOND LN #16                                             SHEBOYGAN          WI         53081                 6004                Various                                                                                               $10.00
KATHRYN DUSEK                 PO BOX 202                                                      EAST ELLSWORTH     WI         54010                 6002                Various                                                                                                $6.41
KATHRYN E GLUTH               601 MEADOW LN                                                   KAUKAUNA           WI         54130                 6002                Various                                                                                                $7.01
KATHRYN ERICKSON              633 FLORIDA AVE                                                 N.FOND DU LAC      WI         54937                 6004                Various                                                                                               $20.00
KATHRYN GLADSON               101 CRESTHAVEN CT                                               FOREST CITY        IA         50436                 6002                Various                                                                                                $2.08
KATHRYN GONZALEZ              112 WALLACE ST                                                  NORTH SIOUX CITY   SD         57049                 6004                Various                                                                                               $19.98
KATHRYN GORDON                401 S ELM STREET                                                APPLETON           WI         54915                 6004                Various                                                                                                $4.00
KATHRYN HALL                  212 N STATE ST APT 11                                           EMMETSBURG         IA         50536                 6002                Various                                                                                                $2.33
KATHRYN HARRSCH               2165 POELLMER DR                                                GREEN BAY          WI         54311                 6004                Various                                                                                                $2.00
KATHRYN HERNANDEZ             628 CAROLINE ST                                                 JANESVILLE         WI         53545                 6004                Various                                                                                               $25.00
KATHRYN HOFFMAN               311 RIVIERA LN                                                  WATERTOWN          WI         53094                 6002                Various                                                                                                $3.07
KATHRYN JEFFERS               PO BOX 331                                                      IOLA               WI         54945                 6002                Various                                                                                                $0.68
KATHRYN KEEBLE                120 E 9TH AVE                                                   MITCHELL           SD         57301                 6002                Various                                                                                                $7.86
KATHRYN KISER                 213 LAKE ST                                                     BEAVER DAM         WI         53916                 6004                Various                                                                                                $8.06
KATHRYN KOLB                  3778 S CLACTON WAY                                              BOISE              ID         83716                 6002                Various                                                                                                $2.79
KATHRYN KORDOSKY              1921 GREEN TREE RD         APT 5                                WEST BEND          WI         53090                 6002                Various                                                                                                $2.13
KATHRYN LEMKE                 1160 LIBERTY ST                                                 GREEN BAY          WI         54304                 6004                Various                                                                                               $10.00
KATHRYN LOBDELL               1000 EATON ST                                                   MISSOULA           MT         59801                 6002                Various                                                                                                $9.92
KATHRYN LOVELESS-DURANT       503 A LYONS PO BOX # 813                                        BARAGA             MI         49908                 6002                Various                                                                                                $1.89
KATHRYN LYNN CAVES            948 E GLENDALE AVE                                              APPLETON           WI         54911                 6002                Various                                                                                                $6.99
KATHRYN M. WALK               2258 N 15TH ST                                                  COEUR D ALENE      ID         83814                 6002                Various                                                                                                $6.77
KATHRYN MAIER                 14602 S. FAIRWOOD BLVD.                                         RENTON             WA         98058                 6004                Various                                                                                                $1.50
KATHRYN MARTIN                2117 W 7380TH S                                                 WEST JORDAN        UT         84084                 6002                Various                                                                                                $1.95
KATHRYN MCCOY                 1020 S 8TH AVE                                                  WAUSAU             WI         54401                 6002                Various                                                                                                $6.27




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                                                                                                                                                                                          Contingent


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                                                                                                                                                 Last 4 Digits of     Date Debt was
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              Creditor Name                Address1              Address2        Address3              City       State           Zip   Country     Number                Claim                                                                             Total Claim
KATHRYN MEYER                  95 W CLIFTON AVE           #204                                SIOUX CITY       IA         51104                 6004                Various                                                                                             $3.25
KATHRYN MILLER                 515 WARNER AVE. #31                                            LEWISTON         ID         83501                 6004                Various                                                                                            $15.02
KATHRYN MURPHY                 313 LOUISIANA AVE                                              ADRIAN           MN         56110                 6002                Various                                                                                             $0.88
KATHRYN NELSON                 PO BOX 556                                                     HANCOCK          MI         49930                 6004                Various                                                                                             $5.00
KATHRYN NESSET                 10449 775TH AVE                                                GLENVILLE        MN         56036                 6002                Various                                                                                             $0.47
KATHRYN NEUBERGER              429 COMMONWEALTH DR                                            FORT ATKINSON    WI         53538                 6002                Various                                                                                             $8.47
KATHRYN OLDAY                  2403 GREENWOOD DR                                              JANESVILLE       WI         53545                 6004                Various                                                                                            $40.00
KATHRYN POWERS                 2055 W 1730TH N                                                N LOGAN          UT         84341                 6002                Various                                                                                             $5.67
KATHRYN PRICE                  41720 150TH AVE                                                LELAND           IA         50453                 6002                Various                                                                                             $7.59
KATHRYN RESNER                 1705 HIAWATHA DRIVE EAST                                       WABASHA          MN         55981                 6004                Various                                                                                            $30.85
KATHRYN RYKAL                  110 N HERSCHEL                                                 CHIPPEWA FALLS   WI         54729                 6004                Various                                                                                            $40.96
KATHRYN SCHAEUBLE              764 RUNDQUIST WAY                                              KIMBERLY         WI         54136                 6002                Various                                                                                             $2.55
KATHRYN SCHROER                2800 VALLEY DR                                                 SIOUX CITY       IA         51104                 6002                Various                                                                                             $1.51
KATHRYN SICKLER                7618 RIDGE AVE                                                 OMAHA            NE         68124                 6004                Various                                                                                             $4.00
KATHRYN SIDDOWAY               622 DAVIS CT                                                   LYMAN            WY         82937                 6002                Various                                                                                            $10.00
KATHRYN STILL                  506 N FILMORE STREET                                           MOUNT AYR        IA         50854                 6002                Various                                                                                             $1.42
KATHRYN STILLER                3329 RYAN ROAD                                                 BLUE MOUNDS      WI         53517                 6004                Various                                                                                           $458.44
KATHRYN STRATTON               411 COLLEGE ST             APT 3                               STEVENSVILLE     MT         59870                 6004                Various                                                                                             $2.00
KATHRYN TURNER                 9175 LITTLE CREEK DR                                           WEST JORDAN      UT         84088                 6002                Various                                                                                             $3.73
KATHRYN WEST                   1137 CENTER ST                                                 DELAVAN          WI         53115                 6002                Various                                                                                             $2.41
KATHRYN WILSON                 1639 SWAN RD APT 6                                             DE PERE          WI         54115                 6002                Various                                                                                             $3.29
KATHRYN WINTERMEYER            1547 HICKORY AVENUE                                            MOUNT PLEASANT   IA         52641                 6004                Various                                                                                            $22.50
KATHRYN WITTEN                 3926 LITTLE WOODS DR                                           TRENTON          MO         64683                 6002                Various                                                                                             $5.81
KATHY BEATTY                   101 W STREET                                                   AUBURN           NE         68305                 6002                Various                                                                                             $2.27
KATHY BESAW                    800 COOK ST APT 5                                              DE PERE          WI         54115                 6002                Various                                                                                             $1.73
KATHY BROWNELL                 PO BOX 171 PMB 232                                             SMITHSHIRE       IL         61478                 6002                Various                                                                                            $10.00
KATHY BRUS                     315 CLARENCE STREET                                            FORT ATKINSON    WI         53538                 6004                Various                                                                                            $25.00
KATHY C RIGGS                  1231 MOOSE LOOP                                                MONTPELIER       ID         83254                 6002                Various                                                                                             $4.58
KATHY CHAMPENY                 2250 PARADISE DR                                               WEST BEND        WI         53095                 6002                Various                                                                                             $5.84
KATHY CONNER                   730 5TH AVE N                                                  WOLF POINT       MT         59201                 6002                Various                                                                                             $7.64
KATHY CORDOVA                  1505 N ANGEL ST APT 27                                         LAYTON           UT         84041                 6002                Various                                                                                             $2.66
KATHY COWLEY                   20 RIDGEWAY STREET                                             ELKHORN          WI         53121                 6004                Various                                                                                            $90.00
KATHY DAVIS                    920 WEST MAIN STREET                                           MARSHALL         MN         56258                 6004                Various                                                                                             $3.00
KATHY DOYL                     864 S 820TH E                                                  SPANISH FORK     UT         84660                 6002                Various                                                                                             $6.68
KATHY DUARTE                   2200 N CLARKSON ST                                             FREMONT          NE         68025                 6004                Various                                                                                             $4.00
KATHY ELLIOT                   3604 13TH STREET                                               LEWISTON         ID         83501                 6004                Various                                                                                             $9.36
KATHY ESBRI                    2920 P ST. APT. 5                                              LINCOLN          NE         68503                 6004                Various                                                                                             $2.00
KATHY FALK                     BOX 77                                                         SAINT ANSGAR     IA         50472                 6004                Various                                                                                            $26.12
KATHY FANCHER                  1418 N HAMPSHIRE PL                                            MASON CITY       IA         50401                 6004                Various                                                                                            $30.00
KATHY FRENCH                   150 BOWERS RD                                                  MARION           WI         54950                 6002                Various                                                                                             $7.73
KATHY GRAPENTIN                229 IDLEWILD ST                                                KAUKAUNA         WI         54130                 6002                Various                                                                                             $5.84
KATHY HARP                     633 SYLVAN CT                                                  KALISPELL        MT         59901                 6002                Various                                                                                            $10.00
KATHY HARVEY                   1207 WALWORTH ST                                               BELLE FOURCHE    SD         57717                 6002                Various                                                                                             $6.22
KATHY HESS                     1105 ALLRED RD                                                 AFTON            WY         83110                 6002                Various                                                                                             $2.14
KATHY HOFMEISTER               415 SO 7TH STREET          #311                                LA CROSSE        WI         54601                 6004                Various                                                                                            $13.21
KATHY HUTCHINSON               1607 S SHERMAN AVE                                             SIOUX FALLS      SD         57105                 6002                Various                                                                                             $6.47
KATHY J GILES                  630 ADAMS ST BOX # 1351                                        AFTON            WY         83110                 6002                Various                                                                                             $8.52
KATHY J LINDBERGTRENT          4968 384TH TRL                                                 NORTH BRANCH     MN         55056                 6002                Various                                                                                             $3.84
KATHY JENKINSON                1170 38TH AVE                                                  COLUMBUS         ME         68601                 6002                Various                                                                                            $11.46
KATHY JO THOMPSON              PO BOX 174                                                     BROWNSVILLE      MN         55919                 6004                Various                                                                                            $25.00
KATHY JOHNSON                  440 3RD AVE SO                                                 GLASGOW          MT         59230                 6002                Various                                                                                             $6.58
KATHY K MODAFF                 312 S MAIN ST                                                  AINSWORTH        NE         69210                 6002                Various                                                                                             $8.33
KATHY KILLSNIGHT               1391 EASY ST. #1                                               BILLINGS         MT         59105                 6004                Various                                                                                             $2.00
KATHY KINNEY                   706 N 7TH ST                                                   FOREST CITY      IA         50436                 6002                Various                                                                                             $4.11




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              Creditor Name                Address1                 Address2           Address3              City        State           Zip   Country     Number                Claim                                                                             Total Claim
KATHY KOEHLER                  215 E RIVER TER                                                      KIEL              WI         53042                 6002                Various                                                                                                $0.55
KATHY KOFFARNUS                425 W KENNEDY AVE                APT 204                             KIMBERLY          WI         54136                 6004                Various                                                                                               $25.00
KATHY LANG                     309 W MCMILLAN M                                                     MARSHFIELD        WI         54449                 6002                Various                                                                                                $4.16
KATHY M JOHNSON                608 S ASH ST                                                         WEST POINT        NE         68788                 6002                Various                                                                                                $7.12
KATHY M MICHEL                 621 9TH ST S APT 209                                                 LA CROSSE         WI         54601                 6002                Various                                                                                                $3.75
KATHY MCCARTHY                 33789 FOXVIEW LN                                                     SIOUX CITY        IA         51108                 6002                Various                                                                                               $10.00
KATHY MCCLANAHAN               2014 MEMORIAL DR APT 209                                             GREEN BAY         WI         54303                 6002                Various                                                                                                $1.07
KATHY MEANS                    824 W GURLEY ST APT 104                                              PRESCOTT          AZ         86305                 6002                Various                                                                                                $7.51
KATHY NEBUDA                   1320 COUNTY ROAD C                                                   SCRIBNER          NE         68057                 6002                Various                                                                                                $8.52
KATHY NIELSEN                  8024 COOPER AVE                                                      LINCOLN           NE         68506                 6004                Various                                                                                                $2.00
KATHY PELLEY                   1040 BALLPARK RD APT A27                                             STURGIS           SD         57785                 6002                Various                                                                                                $1.62
KATHY PLISEK                   1901 CARMEL DRIVE                                                    NORFOLK           NE         68701                 6004                Various                                                                                               $26.00
KATHY PRIBEK                   516 DORELLE ST                                                       KEWAUNEE          WI         54216                 6002                Various                                                                                                $8.93
KATHY PRICE                    1101 20TH ST                                                         WHEATLAND         WY         82201                 6002                Various                                                                                                $0.41
KATHY RABER                    330 W 10TH ST APT 712                                                MOUNT CARMEL      IL         62863                 6002                Various                                                                                                $5.92
KATHY RILEY                    517 WINDFIELD LN                                                     COLUMBIA FALLS    MT         59912                 6002                Various                                                                                                $2.49
KATHY S FRIEDHOFF              PO BOX 143                                                           CAMP POINT        IL         62320                 6002                Various                                                                                                $8.36
KATHY SCOGGINS                 232 E BAYSHORE ST                                                    MARINETTE         WI         54143                 6002                Various                                                                                                $2.25
KATHY SHELTON                  3415 BLONDO STREET                                                   OMAHA             NE         68111                 6004                Various                                                                                                $0.03
KATHY SLUSSER                  2230 WILDFLOWER CT                                                   BELOIT            WI         53511                 6002                Various                                                                                                $3.89
KATHY STILSON                  2421 12TH ST                                                         MONROE            WI         53566                 6002                Various                                                                                                $6.88
KATHY SWALVE                   2808 W FLORENCE RD                                                   FREEPORT          IL         61032                 6002                Various                                                                                                $9.64
KATHY SWINEY                   HC 4 BOX 51A                                                         DONIPHAN          MO         63935                 6002                Various                                                                                                $0.93
KATHY WITTKOPF                 1371 CARRIAGE DR                                                     LITTLE SUAMICO    WI         54141                 6002                Various                                                                                                $8.08
KATHY WOODALL                  PO BOX 261                                                           SACO              MT         59261                 6002                Various                                                                                                $4.41
KATI HUMPHRIES                 934 ROSEMARY RD                                                      HELENA            MT         59602                 6002                Various                                                                                                $5.48
KATI OWEN                      N1695 RIDGE STREET                                                   VULCAN            MI         49892                 6004                Various                                                                                                $1.00
KATI SUAREZ                    9056 VALLEY ST                                                       OMAHA             NE         68124                 6004                Various                                                                                                $2.00
KATIE (CANIN HEIDEN            H2743 BLACKBERRY RD                                                  COLBY             WI         54421                 6002                Various                                                                                                $8.79
KATIE ADAMS                    434 HIGHLAND AVE                                                     ELDERON           WI         54429                 6004                Various                                                                                               $30.00
KATIE ANDERSON                 8450 82ND ST APT 204                                                 PLEASANT PRAIRI   WI         53158                 6002                Various                                                                                                $4.00
KATIE AURICH                   1467 N FOWLER AVENUE                                                 OGDEN             UT         84404                 6004                Various                                                                                               $15.02
KATIE BARNISH                  308 S TENNESSEE AVE                                                  MASON CITY        IA         50401                 6002                Various                                                                                                $5.86
KATIE BAXTER                   1011 PARK AVE                                                        OCONTO            WI         54153                 6002                Various                                                                                                $1.62
KATIE BLUNT                    439 N CODDINGTON AVE                                                 LINCOLN           NE         68528                 6004                Various                                                                                               $40.00
KATIE BRONSON                  71145 N SUNSET ST                                                    NAMPA             ID         83651                 6004                Various                                                                                                $5.00
KATIE BRUECHERT                2329 S 23RD STREET                                                   MANITOWOC         WI         54220                 6004                Various                                                                                                $8.98
KATIE BUCZAK                   2811 COUNTY ROAD 82 NW                                               ALEXANDRIA        MN         56308                 6004                Various                                                                                                $3.00
KATIE BURNETT                  PO BOX 141                                                           RIVERSIDE         UT         84334                 6002                Various                                                                                                $3.75
KATIE DALRYMPLE                4275 INDIANHEAD RD                                                   GRAND ISLAND      NE         68803                 6002                Various                                                                                                $5.67
KATIE DIEHL                    500 E 25TH AVE NW                                                    AUSTIN            MN         55912                 6004                Various                                                                                                $3.00
KATIE DOLAN                    10067 W FOX BRUSH DR                                                 BOISE             ID         83709                 6002                Various                                                                                                $0.36
KATIE DRETSKE                  147 EASTRIDGE DR UNIT #8                                             BERLIN WI         WI         54923                 6004                Various                                                                                                $5.00
KATIE FILLMORE                 260 N 200TH E                                                        HUNTINGTON        UT         84528                 6002                Various                                                                                                $8.49
KATIE FORD                     459 W 600TH N                                                        SPANISH FORK      UT         84660                 6002                Various                                                                                               $10.00
KATIE FREDERICK                55698 PEPIN RD                                                       CALUMET           MI         49913                 6002                Various                                                                                                $7.26
KATIE GAUTHIER                 1420 GREEN BAY ST                APT 100                             ONALASKA          WI         54650                 6004                Various                                                                                               $25.00
KATIE GLOVER                   210 S 300 E                                                          SMITHFIELD        UT         84335                 6002                Various                                                                                                $0.27
KATIE GRAHAM                   BOX 1274                                                             LYMAN             WY         82937                 6002                Various                                                                                                $8.36
KATIE HILGENDORF               717 W LEATHER AVE                                                    TOMAHAWK          WI         54487                 6004                Various                                                                                               $30.00
KATIE HODGDEN                  708 LINCOLN ST                                                       JEFFERSON         SD         57038                 6002                Various                                                                                                $3.53

KATIE HOFER                    3400 E. RIVER VALLEY ST. #G407                                       MERIDIAN          ID         83646                  6004               Various                                                                                                $5.00
KATIE HOFFMAN                  1820 AVE D                                                           GOTHENBURG        NE         69138                  6002               Various                                                                                                $4.63




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                                                                                                                                                                                                                               Claim subject to offset?
                                                                                                                                                                                                     Unliquidated
                                                                                                                                                                                        Contingent


                                                                                                                                                                                                                    Disputed
                                                                                                                                                 Last 4 Digits of   Date Debt was
                                                                                                                                                    Account       Incurred, Basis for
             Creditor Name                Address1             Address2          Address3             City        State           Zip   Country     Number              Claim                                                                             Total Claim
KATIE HOHENSEE                2783 LAUREN RD                                                  DULUTH           MN         55804                 6004              Various                                                                                               $10.00
KATIE HOLMES                  812 21ST ST                                                     MONROE           WI         53566                 6004              Various                                                                                                $2.00
KATIE JACOBSON                2115 PINE ST                                                    LA CROSSE        WI         54601                 6002              Various                                                                                                $2.36

KATIE KASAT                   3101 WASHINGTON ST APT #69                                      BELLEVUE         NE         68005                   6004            Various                                                                                                $4.00
KATIE KAY                     2315 PARK LN SE              LOT 1A                             ROCHESTER        MN         55904                   6004            Various                                                                                                $3.00
KATIE KINGSLEY                1909 19TH AVE UNIT D                                            ROCHESTER        MN         55901                   6004            Various                                                                                               $13.00
KATIE KUCIREK                 6215 10TH STREET SE                                             ROCHESTER        MN         55904                   6004            Various                                                                                                $6.00
KATIE KUNKEL                  PO BOX 35                                                       WODEN            IA         50484                   6002            Various                                                                                                $8.16
KATIE KUNZ                    1300 BERKSHIRE CT # 103                                         LINCOLN          NE         68505                   6002            Various                                                                                                $4.63
KATIE L GEURTS                221 PINE AVE                                                    OCONTO           WI         54153                   6002            Various                                                                                                $4.82
KATIE LOEHLEIN                6740 S ROAD S                                                   SOBIESKI         WI         54171                   6002            Various                                                                                                $0.58
KATIE LYNN HELBING            6245 32ND AVE                                                   KENOSHA          WI         53142                   6002            Various                                                                                                $1.97
KATIE MCMILLAN                2143 WEST ROSTON AVENUE                                         NAMPA            ID         83686                   6004            Various                                                                                                $5.25
KATIE MUHL                    1132 NORDIC LN                                                  SLINGER          WI         53086                   6002            Various                                                                                                $4.27
KATIE NASS                    2384 KEY WAY                                                    GREEN BAY        WI         54313                   6002            Various                                                                                                $0.66
KATIE OLKOWSKI                517 LYNNE ST                                                    RHINELANDER      WI         54501                   6004            Various                                                                                                $9.00
KATIE OURADNIK                2950 MILLER ROAD                                                FLORENCE         WI         54121                   6004            Various                                                                                                $3.00
KATIE PETRAY                  5077 13TH ST                                                    SALMON           ID         83467                   6002            Various                                                                                                $0.96
KATIE PIEHL                   7262 377TH CIRCLE                                               NORTH BRANCH     MN         55056                   6004            Various                                                                                                $3.16
KATIE POOLE                   2404 48TH AVE                                                   KENOSHA          WI         53144                   6004            Various                                                                                                $4.00
KATIE POTTER                  1455 GRANT                                                      BELOIT           WI         53511                   6004            Various                                                                                                $2.40
KATIE QUINN                   369 N. WESTHAVEN DR          APT M102                           OSHKOSH          WI         54904                   6004            Various                                                                                                $9.99
KATIE ROOT                    1900 N 2225 W                APT. 324                           CLEARFIELD       UT         84015                   6004            Various                                                                                               $36.00
KATIE ROYSTON                 934 W 6TH AVE                                                   MITCHELL         SD         57301                   6002            Various                                                                                                $2.68
KATIE RUSH                    43250 ROAD 805                                                  MERNA            NE         68856                   6002            Various                                                                                                $3.62
KATIE RUTENBECK               502 LOGAN ST                                                    WAYNE            NE         68787                   6002            Various                                                                                                $7.15
KATIE SCHUELKE                E4030 BAGS HILL RD.                                             WAUPACA          WI         54981                   6004            Various                                                                                               $24.00
KATIE SHIELDS                 320 41ST ST S                                                   GREAT FALLS      MT         59405                   6004            Various                                                                                               $20.00
KATIE SPICER                  40016 134TH ST                                                  GROTON           SD         57445                   6002            Various                                                                                                $4.47
KATIE TOMASHEK                206 ALGOMA BLVD                                                 OSHKOSH          WI         54901                   6004            Various                                                                                                $1.00
KATIE VOSS                    348 NE 2ND STREET                                               AVOCA            MN         56114                   6004            Various                                                                                                $3.00
KATIE WALLACE                 5584 LASLEY POINT RD.                                           WINNECONNE       WI         54986                   6004            Various                                                                                               $10.00
KATIE WESTRUM                 GENERAL DELIVERY                                                DULUTH           MN         55806                   6004            Various                                                                                                $3.00
KATIE WONDRASH                318 JACKSON ST                                                  OCONTO           WI         54153                   6002            Various                                                                                                $9.97
KATIEMAY FALK                 1037 B HUNT AVE                                                 NEENAH           WI         54956                   6004            Various                                                                                                $4.16
KATILYN D LINDER              173 S OAK ST                                                    ELLSWORTH        WI         54011                   6002            Various                                                                                                $5.59
KATINA SMALL                  400 BLAINE ST APT 17                                            BEEMER           NE         68716                   6002            Various                                                                                                $0.60
KATLYN ANN SIMON              5804 HALLEY WAY APT 307                                         MADISON          WI         53718                   6002            Various                                                                                                $5.86
KATLYN KRANHOLD               310 JAMIE CIR                                                   SISSETON         SD         57262                   6002            Various                                                                                                $1.81
KATLYN VANVOORHIS             2101 GEORGIA AVE                                                BELLEVUE         NE         68005                   6004            Various                                                                                               $25.00
KATLYNN FOSTER                205 N MOUND ST                                                  DONIPHAN         MO         63935                   6002            Various                                                                                                $4.38
KATLYNNE M WARNE              612 5TH AVE NE                                                  ROSEAU           MN         56751                   6002            Various                                                                                                $5.73
KATRICE MCNEAL                6777 SCHROEDER RD APT 3                                         MADISON          WI         53711                   6004            Various                                                                                                $2.00
KATRIN KOPP                   946 IMPERIAL ST                                                 POCATELLO        ID         83201                   6002            Various                                                                                                $9.01
KATRINA ANDREWS               8988 W CANTERBURY ST                                            BOISE            ID         83704                   6002            Various                                                                                                $6.14
KATRINA BALOG                 W3263 ELM RD                                                    MAYVILLE         WI         53050                   6004            Various                                                                                                $3.80
KATRINA BLAISDELL             515 N. MAINE ST                                                 LAKE MILLS       WI         53511                   6004            Various                                                                                                $2.00
KATRINA CALHOON               711 S DAVIESS ST                                                GALLATIN         MO         64640                   6002            Various                                                                                                $2.58
KATRINA FRANCIS               PO BOX 2362                                                     HAYDEN           ID         83835                   6002            Various                                                                                                $7.07
KATRINA HOIST                 116 WEBSTER ST                                                  SAVANNA          IL         61074                   6002            Various                                                                                                $3.33
KATRINA K LOVELL              31026 293RD ST                                                  WINNER           SD         57580                   6002            Various                                                                                                $3.86
KATRINA LANGHOLFF             N2275 COUNTY ROAD K                                             SHARON           WI         53585                   6004            Various                                                                                                $1.00
KATRINA M BILLINGS            2819 N JULIA ST APT 101                                         COEUR D ALENE    ID         83815                   6002            Various                                                                                                $6.68




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              Creditor Name                  Address1               Address2         Address3             City         State         Zip    Country     Number                Claim                                                                             Total Claim
KATRINA MAZANET                  8101 MAYO DR.                                                    MADISON           WI         53719                6004                Various                                                                                             $3.00
KATRINA MEEUWSEN                 868 SHAWANO AVE                                                  GREEN BAY         WI         54303                6004                Various                                                                                             $4.00
KATRINA MOE                      W2785 SIEVERT RD                                                 SEYMOUR           WI         54165                6002                Various                                                                                             $3.32
KATRINA NIX                      2252 A W MARIPOSA PKWY                                           WHEATLAND         WY         82201                6002                Various                                                                                             $3.86
KATRINA PASHOLK                  603 RIDGE RD                                                     MOSINEE           WI         54455                6004                Various                                                                                            $25.00
KATRINA RASKIE                   206 FOUNTAIN HILLS BLVD                                          WAUSAU            WI         54403                6002                Various                                                                                             $2.47
KATRINA SEVERANCE                3477 WYNDING RIDGE WAY                                           GREEN BAY         WI         54313                6002                Various                                                                                             $7.86
KATRINA SKOVERA                  3466 E PARISWAY APT 7                                            APPLETON          WI         54913                6002                Various                                                                                             $6.85
KATRINA WALLACE                  605 IMPERIAL WAY APT 33                                          SALMON            ID         83467                6002                Various                                                                                             $1.62
KATRINA WRIGHT                   POB E MAXWELL ST # 263202                                        MAXWELL           NE         69151                6002                Various                                                                                             $2.96
KATRINA ZENK                     80083 265 TH ST.                                                 HOLLANDALE        MN         56045                6004                Various                                                                                             $3.00
KATRINA ZWILLING                 16781 105TH AVE NE                                               FOLEY             MN         56329                6002                Various                                                                                             $5.26
KATRYN CHAPLIN                   2036 SHERMAN ST                                                  STURGIS           SD         57785                6002                Various                                                                                             $9.12
KATTIE HANSON                    417 LILLY LANE                                                   ALTOONA           WI         54720                6004                Various                                                                                            $32.99
KATTIE SMITH                     6611 29TH AVENUE                                                 KENOSHA           WI         53142                6004                Various                                                                                             $1.00
KATURA LORN WHISTLER KESSEL      39423 HOMESTEAD AVE                                              NORTH BRANCH      MN         55056                6002                Various                                                                                             $3.73
KATY BERRY                       2403 S 48TH STREET                                               OMAHA             NE         68106                6004                Various                                                                                            $60.00
KATY CLAYCOMB                    2395 WEST TANA ST                                                MERIDIAN          ID         83642                6004                Various                                                                                            $14.00
KATY EMILY BROOKSBY              4269 S 2700TH E                                                  HOLLADAY          UT         84124                6002                Various                                                                                             $0.36
KATY GONZALEZ                    2326 40TH ST                                                     FAIRMONT          MN         56031                6004                Various                                                                                            $27.00
KATY MCBRIDE                     1618 JENSEN ST                                                   POCATELLO         ID         83201                6002                Various                                                                                             $4.77
KATY PUTNAM                      3125 BIRCH MTN RD                                                WENATCHEE         WA         98801                6004                Various                                                                                             $4.64
KATY RAMSBACHER                  1420 NICHOLAS DRIVE                                              ABERDEEN          SD         57401                6004                Various                                                                                            $25.00
KAUPPILA FAMILY                  556 W HARDING AVE                                                STEVENS POINT     WI         54481                6002                Various                                                                                             $1.12
KAY (KATHLEE DAVIS               308 W JEFFERSON ST                                               BLOOMFIELD        IA         52537                6002                Various                                                                                             $8.22
KAY BASCH                        1810 9TH AVE SE                                                  SAINT CLOUD       MN         56304                6002                Various                                                                                             $1.18
KAY BEER DISTRIBUTING COMPANY    1881 COMMERCE DRIVE            PO BOX 5127                       DE PERE           WI         54115-5127           2430                Various                                                                                           $680.04

KAY BLANCHARD                    322 E NORPORT DR                                                 PORT WASHINGTON   WI         53074                 6002               Various                                                                                                $4.85
KAY DOERING                      408 YELLOWSTONE AVE                                              ALLIANCE          NE         69301                 6002               Various                                                                                                $2.93
KAY E MARTIN                     4500 N PROVIDENCE AVE                                            APPLETON          WI         54913                 6002               Various                                                                                                $8.71
KAY GASSNER                      W6029 TOWER RD                                                   BURNETT           WI         53922                 6002               Various                                                                                                $7.97
KAY GRANT                        1450 GILMORE AVE                                                 WINONA            MN         55987                 6002               Various                                                                                                $7.26
KAY HANSEN                       2427 LIBERTY AVE                                                 BELOIT            WI         53511                 6002               Various                                                                                                $0.58
KAY HELD                         242 SIMON DRIVE                                                  HARTFORD          WI         53027                 6004               Various                                                                                               $12.00
KAY HILLMAN                      RT 1 BOX 68                                                      SYRACUSE          NE         68446                 6004               Various                                                                                               $21.46
KAY HINKENS                      618 MICHIGAN LANE CT                                             KAUKAUNA          WI         54130                 6002               Various                                                                                                $6.88
KAY KARTEN                       PO BOX 188                                                       SILVER CITY       IA         51571                 6002               Various                                                                                                $3.64
KAY KRUMENAUER                   1830 LOSEY BLVD S                                                LA CROSSE         WI         54601                 6002               Various                                                                                               $39.03
KAY L ABRAHAM                    2035 MITCHELL ST                                                 OSHKOSH           WI         54901                 6002               Various                                                                                                $6.58
KAY L LANGE                      6555 ROAD V                                                      BRUNING           NE         68322                 6002               Various                                                                                                $0.66
KAY LEEDS                        1695 HIGHWAY 35 # 19                                             KALISPELL         MT         59901                 6002               Various                                                                                                $5.81
KAY STILSON                      1816 13TH ST                                                     CLARKSTON         WA         99403                 6004               Various                                                                                                $9.00
KAY STUETTGEN                    N7947 BAYVIEW RD                                                 HORICON           WI         53032                 6002               Various                                                                                                $4.58

KAY VANROSSUM                    1285 WITTMANN PARK LN APT 5                                      MENASHA           WI         54952                  6002              Various                                                                                                $4.00
KAY WHITNEY                      3135 ECLIPSE DR                                                  GREEN BAY         WI         54311                  6002              Various                                                                                                $2.85
KAYANNA RUZICKA                  1125 DOVER ST                                                    CHIPPEWA FALLS    WI         54729                  6004              Various                                                                                                $2.00

KAYATANA GRAHAM                  4903 SPENCER LAKES DR APT 93                                     ARLINGTON         TX         76001                  6002              Various                                                                                                $2.99
KAYCEE J KONVALIN                31648 272ND ST                                                   WINNER            SD         57580                  6002              Various                                                                                                $0.93
KAYCEE MYRSTOL                   PO BOX 784                                                       BIG TIMBER        MT         59011                  6002              Various                                                                                                $5.04
KAYCI A MILLER                   PO BOX 238                                                       ATKINSON          NE         68713                  6002              Various                                                                                                $2.27
KAYCI CONDE                      336 S 2025TH W                                                   OGDEN             UT         84404                  6002              Various                                                                                                $6.88




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                                                                                                                                                                                                                         Disputed
                                                                                                                                                    Last 4 Digits of     Date Debt was
                                                                                                                                                       Account         Incurred, Basis for
              Creditor Name                Address1             Address2          Address3             City          State           Zip   Country     Number                Claim                                                                             Total Claim
KAYCIE SHEALY                  6326 FINNEY ST                                                  OMAHA              NE         68104                 6004                Various                                                                                                $4.00
KAYDEN HALE                    622 COLLINS RD APT 7                                            JEFFERSON          WI         53549                 6004                Various                                                                                                $3.00
KAYDEN HEINEN                  317 S PLUM ST                                                   GRAND ISLAND       NE         68801                 6004                Various                                                                                                $2.38
KAYE BAUKNECHT                 1012 ST CLAIR ST                                                MANITOWOC          WI         54220                 6002                Various                                                                                                $7.86
KAYE E KNIGHT                  4401 S 27TH ST APT B14                                          LINCOLN            NE         68512                 6002                Various                                                                                                $4.44
KAYE WILKENS                   29937 400TH AVE NE                                              GRYGLA             MN         56727                 6002                Various                                                                                                $3.84
KAYLA BIRD                     179 KONKOLVILLE RD                                              OROFINO            ID         83544                 6002                Various                                                                                                $1.15
KAYLA BLACK                    84 HAWTHRON WEST                                                KALISPELL          MT         59901                 6004                Various                                                                                               $15.50
KAYLA BOONE                    2618 FORREST AVE             APT B                              TWO RIVERS         WI         54241                 6004                Various                                                                                                $1.00
KAYLA COLE                     3210 GILBERT ST.                                                MARINETTE          WI         54143                 6004                Various                                                                                                $3.00
KAYLA CORRELL                  7705 LOON CT SE                                                 OLYMPIA            WA         98513                 6004                Various                                                                                               $27.45
KAYLA DEPIES                   42 CUMBERLYNN CIRCLE                                            FOND DU LAC        WI         54935                 6004                Various                                                                                               $10.00
KAYLA DOODY                    2205 A MARSHALL ST APT 2                                        MANITOWOC          WI         54220                 6004                Various                                                                                                $3.00
KAYLA DUCHATEAU                621 SOUTH MONROE AVE                                            GREEN BAY          WI         54301                 6004                Various                                                                                               $25.00
KAYLA E. FISCHER               1807 N 9TH ST                                                   COEUR D ALENE      ID         83814                 6002                Various                                                                                               $10.00
KAYLA ERICKSON                 417 S. 5TH ST.                                                  OAKES              ND         58474                 6004                Various                                                                                               $15.30
KAYLA FORAN                    125 E EVERETT ST                                                ONEILL             NE         68763                 6002                Various                                                                                                $2.30
KAYLA GARD                     132 BRIDGE ST #65                                               OCONTO             WI         54153                 6004                Various                                                                                                $5.56
KAYLA GENS                     36 SOUTHVIEW DRIVE                                              MANKATO            MN         56001                 6004                Various                                                                                               $35.00
KAYLA GRIES                    1110 HURON STREET                                               MANITOWOC          WI         54220                 6004                Various                                                                                               $30.00
KAYLA HACKNEY                  110 ALGOMA BLVD 1                                               OSHKOSH            WI         54901                 6004                Various                                                                                               $25.00
KAYLA HATFIELD                 3027 MYRTLE AVE                                                 OMAHA              NE         68131                 6004                Various                                                                                                $2.00
KAYLA HERMANSON                1818 1ST ST SE                                                  ROCHESTER          MN         55904                 6004                Various                                                                                                $6.00
KAYLA JACKSON                  405 RAYMOND STREET                                              FRIENDSHIP         WI         53934                 6004                Various                                                                                               $24.00
KAYLA JANUS                    991 ALDRIN ST                                                   DE PERE            WI         54115                 6004                Various                                                                                               $25.00
KAYLA KAMPA                    906 9TH AVE                                                     FOLEY              MN         56329                 6004                Various                                                                                               $69.36
KAYLA KINCAID                  809 ANAMOSA ST                                                  RAPID CITY         SD         57701                 6002                Various                                                                                                $8.11
KAYLA KLENKE                   N2039 CTY ROAD E                                                REDGRANITE         WI         54970                 6004                Various                                                                                                $3.27
KAYLA LIEBHAUSER               N3894 LAWRENCE RD                                               HORTONVILLE        WI         54944                 6002                Various                                                                                                $4.99

KAYLA LITERSKI                 2450 WILLOW DR. # D                                             WISCONSIN RAPIDS   WI         54494                  6004               Various                                                                                               $23.00
KAYLA M JONES                  1102 7TH ST                                                     AUBURN             NE         68305                  6002               Various                                                                                                $6.71
KAYLA M WESTPHAL               1900 BUNKER HILL CT                                             DE PERE            WI         54115                  6002               Various                                                                                                $6.90
KAYLA M. LYONS                 304 W 4TH AVE APT 34                                            POST FALLS         ID         83854                  6002               Various                                                                                                $1.15
KAYLA MYERS                    9848 S SPRUCE DALE DR                                           SOUTH JORDAN       UT         84095                  6002               Various                                                                                                $7.86
KAYLA POTTER                   1507 41ST ST NW              APT 15                             ROCHESTER          MN         55901                  6004               Various                                                                                               $65.28
KAYLA REGISTER                 1040 TAYLOR LAKE RD                                             EAGLE RIVER        WI         54521                  6004               Various                                                                                               $25.00
KAYLA SCHMIDT                  1122 N MAIN ST APT 3                                            ABERDEEN           SD         57401                  6002               Various                                                                                                $6.49
KAYLA SCHUH                    736 8TH ST                                                      MENASHA            WI         54952                  6004               Various                                                                                                $8.28
KAYLA SERRANO                  1241 HARVEY ST                                                  GREEN BAY          WI         54302                  6004               Various                                                                                               $12.00
KAYLA SIMMONS                  2920 NEBRASKA DRIVE                                             BELLEVUE           NE         68005                  6004               Various                                                                                                $2.00
KAYLA SMITH                    200 SUNSET DR                                                   IOLA               WI         54945                  6004               Various                                                                                                $3.00
KAYLA SNIDER                   10903 E MAIN                                                    SPOKANE            WA         99206                  6004               Various                                                                                                $1.65
KAYLA SUE BODENBACH            3633 CHERRYVALE CIR UNIT 9                                      APPLETON           WI         54913                  6002               Various                                                                                                $6.93
KAYLA WADLEY                   58602 200TH AVE                                                 KELLOGG            MN         55945                  6004               Various                                                                                                $6.00
KAYLA WILDER                   513 10TH AVE S.W                                                AUSTIN             MN         55912                  6004               Various                                                                                                $3.00
KAYLAN BRAFFORD                1104 HUDSON AVE                                                 ALLIANCE           NE         69301                  6002               Various                                                                                                $1.81
KAYLE ROBECK                   22373 LAKEVIEW ROAD                                             MADISON LAKE       MN         56063                  6004               Various                                                                                                $3.00
KAYLEA FILLMORE                907 FOX CREEK DRIVE #3                                          WATERTOWN          WI         53098                  6004               Various                                                                                               $40.00
KAYLEA MULLENDORE              2014 HOWARD AVE                                                 BILLINGS           MT         59102                  6004               Various                                                                                               $32.00
KAYLEE BURNS                   3301 COLLEGE ST SE                                              LACEY              WA         98503                  6004               Various                                                                                               $30.70
KAYLEE DODSON                  18934 62ND AVE                                                  CHIPPEWA FALLS     WI         54729                  6004               Various                                                                                                $3.00
KAYLEE ELDER                   2332 W 5900 S                                                   ROY                UT         84067                  6004               Various                                                                                               $23.00
KAYLEE FORSGREN                874 N MAIN ST                                                   MANTUA             UT         84324                  6002               Various                                                                                                $1.45




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                                                                            Schedule E/F: Part 2 - Creditors With Nonpriority Unsecured Claims




                                                                                                                                                                                                                                    Claim subject to offset?
                                                                                                                                                                                                          Unliquidated
                                                                                                                                                                                             Contingent


                                                                                                                                                                                                                         Disputed
                                                                                                                                                      Last 4 Digits of   Date Debt was
                                                                                                                                                         Account       Incurred, Basis for
             Creditor Name                 Address1               Address2          Address3            City           State           Zip   Country     Number              Claim                                                                             Total Claim
KAYLEE JOHNSON                  9089 BLUEBERRY 23.5 LN                                           GLADSTONE          MI         49837                 6004              Various                                                                                               $45.00
KAYLEE NEWMAN                   400 2ND STR S.E                                                  AUSTIN             MN         55912                 6004              Various                                                                                                $2.85

KAYLEE SCHROEDER                430 4TH ST S                                                     WISCONSIN RAPIDS   WI         54494                   6004            Various                                                                                             $7.96
KAYLEE SNYDER                   3617 S 3600 W                                                    ROY                UT         84067                   6004            Various                                                                                            $19.98
KAYLEE WALTON                   2258 WINDING CREEK DR                                            BELVIDERE          IL         61008                   6004            Various                                                                                            $10.00
KAYLEEN KEEFER                  88 MAPLEWOOD AVE                                                 POCATELLO          ID         83204                   6002            Various                                                                                            $10.00
KAYLEEN MOSSER                  12312 115TH AVE                                                  EDEN               SD         57232                   6002            Various                                                                                             $3.84
KAYLEEN SHORTEN                 PO BOX 627                                                       ROUNDUP            MT         59072                   6002            Various                                                                                           $432.80
KAYLEEN TRAN                    7708 PARK VIEW BLVD                                              LA VISTA           NE         68128                   6002            Various                                                                                             $6.74
KAYLEIGH EVANS                  27 LAKE ST                                                       HOKAH              MN         55941                   6002            Various                                                                                             $7.10
KAYLEIGH HUMBERT                1111 OVIATT ST                                                   KAUKAUNA           WI         54130                   6004            Various                                                                                             $1.00
KAYLEIGH LIPPOLD                8984 S MIDVALLEY DR                                              WEST JORDAN        UT         84088                   6002            Various                                                                                             $9.48
KAYLEIGH PRICE                  1753 N 400TH W # 103                                             LOGAN              UT         84321                   6002            Various                                                                                             $3.12
KAYLEIGH REIS                   502 W LAWRENCE ST                                                THORP              WI         54771                   6002            Various                                                                                             $1.78
KAYLENE BRUMBAUGH               677 S 200TH E APT 5                                              BRIGHAM CITY       UT         84302                   6002            Various                                                                                             $9.37

KAYLIA MILLER                   115 SOUTH RIVERFRONT DRIVE   APT 401                             MANKATO            MN         56001                   6004            Various                                                                                             $3.00
KAYLIE SMITH                    536 EDITH AVE                                                    WALLA WALLA        WA         99362                   6004            Various                                                                                            $19.98
KAYLINE LABELLE                 217 7TH AVE W                                                    SISSETON           SD         57262                   6002            Various                                                                                             $8.55
KAYLYN VENSOR                   7824 40TH AVENUE                                                 KENOSHA            WI         53142                   6004            Various                                                                                             $2.00
KAYLYNE STOCKTON                5211 55TH AVE SE                                                 LACEY              WA         98503                   6004            Various                                                                                            $24.48
KAYLYNN MCDOWELL                401 GILLETTE ST APT 105                                          LA CROSSE          WI         54603                   6002            Various                                                                                             $6.88
KAYLYNNE PALMER                 501-B 8TH ST                                                     WAUNAKEE           WI         53597                   6004            Various                                                                                             $4.00
KAYSHA LOPE                     177 VALLEY RD                                                    SHEBOYGAN FALLS    WI         53085                   6004            Various                                                                                            $60.98
KAYTA WILSON                    1315 N3RD ST                                                     WAUSAU             WI         54403                   6004            Various                                                                                             $1.00
KAYTEE PRODUCTS INCORPORATED    CENTRAL GARDEN & PET         FILE 57541                          LOS ANGELES        CA         90074-7541              3998            Various                                                                                       $168,632.86
KAYTELYNN BURT                  303 S ERIE ST                                                    DE PERE            WI         54115                   6004            Various                                                                                             $1.00
KAYTLIN RESOP                   204 FOURTH ST.                                                   FOND DU LAC        WI         54935                   6004            Various                                                                                             $1.00
KAZ HOWARD                      W19158 LAKE VIEW DRIVE                                           ANIWA              WI         54408                   6004            Various                                                                                             $3.00
                                                             12701 W
                                                             WYNDRIDGE CT
KAZIMIERA PIOTROWSKI            C/O BARBARA PIOTROWSKI       #201                                NEW BERLIN         WI         53151                   6002            Various                                                                                               $17.25
                                                                                                                                                                       01/04/19 -
KBS - KELLERMEYER BERGENSONS    1575 HENTHORNE DRIVE                                             MAUMEE             OH         43537                                   01/17/19                                                                                       $88,771.78
KE LA HE BERT                   122 W INTERLAKEN RD                                              FAIRMONT           MN         56031                   6004            Various                                                                                             $3.00
KEAGEN QUILLMAN                 9892 RANGE LINE RD                                               ARGONNE            WI         54511                   6004            Various                                                                                             $2.00
KEANE FOSTER                    R5620 MERIDIAN RD                                                ATHENS             WI         54411                   6002            Various                                                                                             $0.38
KEANEN SMART                    11966 SNOMA RD                                                   BELLE FOURCHE      SD         57717                   6002            Various                                                                                             $4.19
KECHA GADDY                     4013 55TH STREET                                                 KENOSHA            WI         53144                   6004            Various                                                                                            $33.75
                                                             350 EAST DEVON
KEECO LLC                       LOCKBOX 777692               AVENUE                              ITASCA             IL         60143                   8283            Various                                                                                       $326,760.19
KEEGAN DITTBERNER               1402 N 26TH STREET           APT 1                               SHEBOYGAN          WI         53081                   6004            Various                                                                                            $57.18
KEEGAN HATLEBACK                127 1ST STREET                                                   BROKAW             WI         54417                   6004            Various                                                                                             $3.00
KEEGAN KROENKE                  N5667 SPRUCE ROAD                                                SHAWANO            WI         54166                   6004            Various                                                                                             $1.00
KEEGAN MILLER                   W10838 FOX GLEEN ROAD                                            POYNETTE           WI         53955                   6004            Various                                                                                            $21.00
KEELAN DELEEST                  1700 W GRANT ST                                                  APPLETON           WI         54914                   6002            Various                                                                                             $4.71
KEELEY BYERS                    235 7TH AVE W                                                    KALISPELL          MT         59901                   6004            Various                                                                                            $20.00
KEELEY NOVAK                    101 SCHNEIDER ST                                                 PARDEEVILLE        WI         53954                   6004            Various                                                                                             $4.00
KEELY MCKINESS                  19 STONY WAY                                                     MASON CITY         IA         50401                   6002            Various                                                                                             $7.86
KEELY WHITE                     845 W 8700 S                                                     WILLARD            UT         84340                   6004            Various                                                                                            $24.00
KEENAN ARNETT                   145 N. AGENCY ST.                                                EAGLE LAKE         MN         56024                   6004            Various                                                                                             $6.00
KEENAN HEITKAMP                 1604 S 99TH ST                                                   OMAHA              NE         68124                   6002            Various                                                                                             $0.66
KEGAN HRUZA                     15950 GOLD CIR                                                   OMAHA              NE         68130                   6002            Various                                                                                             $7.21




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                                                                        Schedule E/F: Part 2 - Creditors With Nonpriority Unsecured Claims




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              Creditor Name                Address1             Address2        Address3           City             State           Zip   Country     Number              Claim                                                                             Total Claim
KEGAN R FAIRCHILD              505 S LIMITS AVE                                              CAMERON           WI           54822                 6002              Various                                                                                                $1.70
KEGAN ZILLGES                  313 GREEN MEADOW DR                                           WAUTOMA           WI           54982                 6002              Various                                                                                                $4.68

KEGLEY/ LAUREN                 STORE 018                   SHOPKO EMPLOYEE                   GREEN BAY         WI           54307-9060              8174            Various                                                                                               $22.40
KEHINDA OJO                    6760 VALLEY MAPLE DREIVE                                      WEST JORDAN       UT           84081                   6004            Various                                                                                               $11.01
KEIANNA BARRINGTON             3194 S. 4880 W                                                SALT LAKE CITY    UT           84120                   6004            Various                                                                                               $27.98
KEIFER ROSIO                   826 EAST WALNUT STREET                                        GREEN BAY         WI           54301                   6004            Various                                                                                                $1.00
KEIRA LLOYD                    4113 OLIVE STREET                                             RACINE            WI           53405                   6004            Various                                                                                               $20.00
KEIRSTYN MANNIGEL              601 A E BECKER RD                                             MARSHFIELD        WI           54449                   6004            Various                                                                                                $3.00
                               1537 WESTCHESTER SQUARE
KEISHA BICE                    EAST                        #2                                BILLINGS          MT           59105                   6004            Various                                                                                                $3.00
KEISHA MURPHY                  SELENE # 105 PMB 300                                          MARSHAL           MN           56258                   6002            Various                                                                                                $3.01
KEISHA QUINLAN                 316 ELMWOOD DR.                                               COUNCIL BLUFFS    IA           51503                   6004            Various                                                                                                $4.98
KEISHLA GONZALEZ               753 FRANKLIN STREET                                           STEVENS POINT     WI           54481                   6004            Various                                                                                               $15.00
KEISHYON DAVIDSON              1010 VINE ST.                                                 BELOIT            WI           53511                   6004            Various                                                                                                $6.00
KEITH A. GARRETT               214 OSBURNE ST                                                BRITTON           MI           49236                   6002            Various                                                                                               $10.00
KEITH ALEXANDER                6949 MAPLE RIDGE RD                                           ALGER             MI           48610                   6002            Various                                                                                                $5.04
KEITH BALL                     505 WEST ST                                                   SIOUX FALLS       SD           57104                   6004            Various                                                                                               $16.98
KEITH BELL                     3571 W HURON RD                                               STANDISH          MI           48658                   6002            Various                                                                                                $6.88
                                                           3609 N WAYMAN
KEITH BURLINGAME               APT 808                     CTK AVENUE                        APPLETON          WI           54914                   6002            Various                                                                                             $1.66
KEITH DECKER                   2821 BRISTOL MOUNTAIN TRL                                     GREEN BAY         WI           54313                   6002            Various                                                                                             $7.92
KEITH DOE                      1600 OHIO ST APT 15                                           RACINE            WI           53405                   6002            Various                                                                                             $3.61
KEITH DOERING                  106 E. TOBACNOIR ST.                                          KAUKAUNA          WI           54130                   6004            Various                                                                                            $10.00
KEITH HABECK                   1582 GRANDVIEW RD                                             GREEN BAY         WI           54311                   6002            Various                                                                                             $1.97
KEITH HAGEN                    2526 BIG COULEE ST                                            SISSETON          SD           57262                   6002            Various                                                                                             $1.04
KEITH HAUFE                    E6015 HIGHWAY S                                               MARION            WI           54950                   6002            Various                                                                                             $7.95
KEITH HURT                     1295 EMERALD H                                                MEARS             MI           49436                   6002            Various                                                                                             $6.00
KEITH JACKSON                  1019 15TH ST N PRERELEASE                                     GREAT FALLS       MT           59401                   6002            Various                                                                                             $2.63
KEITH JANSKY                   506 FOREST HOME DRIVE                                         FRANCIS CREEK     WI           54214                   6004            Various                                                                                            $14.97
KEITH JONES                    3220 MARY ST. APT. A4                                         MARINETTE         WI           54143                   6004            Various                                                                                           $160.00
KEITH KLIPSTINE                N9531 SAPPHIRE CT                                             APPLETON          WI           54915                   6002            Various                                                                                             $0.68
KEITH KOWALZEK                 713 7TH AVE W                                                 SISSETON          SD           57262                   6002            Various                                                                                             $4.25
KEITH KRANING                  1615 LOCUST RD                                                LITTLE SUAMICO    WI           54141                   6002            Various                                                                                             $0.85
KEITH LANCEY                   1100 4TH AVE S APT 306                                        GLASGOW           MT           59230                   6002            Various                                                                                             $7.79
KEITH LATVA                    2967 GILBERT DRIVE                                            GREEN BAY         WI           54311                   6004            Various                                                                                            $21.25
KEITH LEE                      307 11TH AVE SE                                               ROCHESTER         MN           55904                   6004            Various                                                                                            $22.00
KEITH MCELMURY                 21209 COUNTY ROAD 33                                          ALTURA            MN           55910                   6004            Various                                                                                             $1.80
KEITH MCNEIL                   BOX 214                                                       MT VIEW           WY           82939                   6002            Various                                                                                             $0.77
KEITH MIELKE                   28178 POTOMAC STREET                                          NORTH BRANCH      MN           55056                   6004            Various                                                                                            $20.40
KEITH MOON                     2840 TWO MILE AVE                                             WISCONSIN RAPID   WI           54494                   6002            Various                                                                                             $2.82
KEITH OTT                      800 S DUFF ST                                                 MITCHELL          SD           57301                   6002            Various                                                                                             $2.11
KEITH PALMER                   607 S TREMONT ST                                              TREMONTON         UT           84337                   6002            Various                                                                                             $2.74
KEITH R GREEN                  1642 E 2700TH S                                               SALT LAKE CITY    UT           84106                   6002            Various                                                                                             $6.77
KEITH RODENKIRCH               18 GREENBRIAR CIR                                             FOND DU LAC       WI           54935                   6002            Various                                                                                             $6.96
KEITH SOMMER                   80275 FAIRVIEW DR                                             MERNA             NE           68856                   6002            Various                                                                                             $8.11
KEITH SPOKLIE                  187 E 2ND N                                                   RIGBY             ID           83442                   6004            Various                                                                                           $278.50
KEITH SRADER                   4129 MORGAN AVE                                               BILLINGS          MT           59101                   6004            Various                                                                                            $12.00
KEITH STEFFENSMEIER            PO BOX 226                                                    CLARKSON          NE           68629                   6002            Various                                                                                             $4.27
KEITH STEMPKE                  48 OPEN BUCKLE RD                                             VAUGHN            MT           59487                   6002            Various                                                                                             $6.30
KEITH SWEET                    992 SMITHFIELD DR                                             LUANA             IA           52156                   6002            Various                                                                                             $2.88
KEITH UGAZ                     542 SHADETREE TRAIL                                           TWIN FALLS        ID           83301                   6004            Various                                                                                            $23.00
KEITH ULBERG                   2036 CRESCENT AVE                                             EAU CLAIRE        WI           54703                   6004            Various                                                                                             $1.92
KEITH VANPAY                   2665 KENHILL DR                                               GREEN BAY         WI           54313                   6002            Various                                                                                             $2.03




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                                                                               Schedule E/F: Part 2 - Creditors With Nonpriority Unsecured Claims




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KEITH WALDO                       2900 NW CROSSING DR          APT 206                              BEND             OR         97703                 6004                Various                                                                                               $20.00
KEITH WELCH                       714 E 3RD ST                                                      BELVIDERE        IL         61008                 6004                Various                                                                                                $3.90
KEITH WENDT                       BOX 5131                                                          LAKE CRYSTAL     MN         56055                 6002                Various                                                                                               $35.00
KEITH ZIETZ                       417 GESSELL AVE                                                   RICE LAKE        WI         54868                 6004                Various                                                                                               $25.00
KEITH ZIMMERMAN                   N5393 SCHREIBER ROAD                                              JOHNSON CREEK    WI         53038                 6004                Various                                                                                               $17.17
KEITHIA JONES                     1115 S 56TH ST                                                    QUINCY           IL         62305                 6002                Various                                                                                                $4.25
KEITHY STANDINGROCK               1019 15TH ST N PRE RELEASE                                        GREAT FALLS      MT         59404                 6002                Various                                                                                                $5.56
KELBY HENKE                       4675 CTY RD C                                                     VESPER           WI         54489                 6004                Various                                                                                               $15.00
KELCEY FIXEN                      PO BOX 205                                                        SIDNEY           MT         59270                 6002                Various                                                                                                $1.70
KELCY LIND                        1614 WINDSOR DR APT 6                                             GREEN BAY        WI         54302                 6002                Various                                                                                                $1.10
KELEE ADAMS                       216 HILLVIEW RD                                                   SISSETON         SD         57262                 6002                Various                                                                                                $7.53
KELESY MUELLER                    708 GREIG TRL                                                     STOUGHTON        WI         53589                 6004                Various                                                                                               $40.00
KELI BURRIS                       3053 NE WELLS RD                                                  BEND             OR         97701                 6004                Various                                                                                               $15.03
KELLE KENDRICK                    4728 BARDWELL DR                                                  CDA              ID         83815                 6004                Various                                                                                                $7.20
KELLEE GIBBS                      2586 W BETH LOOP                                                  POST FALLS       ID         83854                 6002                Various                                                                                                $2.60
KELLEE MCGOWAN                    PO BOX 36                                                         LANSING          MN         55950                 6004                Various                                                                                                $6.00
KELLEE SHANTLER                   13525 E. 25TH AVE.                                                SPOKANE          WA         99216                 6004                Various                                                                                               $12.15
KELLEE THOMPSON                   1804 ELK ST LOT 207                                               ROCK SPRINGS     WY         82901                 6002                Various                                                                                                $7.75
KELLEIGH WISE                     4755 HAYES AVE LOT 41                                             PLOVER           WI         54467                 6004                Various                                                                                                $2.00
KELLEN BARKER                     19211 SPYGLASS COURT                                              PLATTSMOUTH      NE         68048                 6004                Various                                                                                               $20.00
KELLEN T. DOPP                    2853 SWEET BASIL S                                                SALT LAKE CITY   UT         84118                 6002                Various                                                                                                $8.99
                                                               448 W
                                                               WASHINGTON
KELLER FAMILY LIMITED PARTNERS    SUITE 210                    AVENUE                               MADISON          WI         53703                  3260               Various                                                                                        $26,364.06
KELLEY ALLEN                      2803 RACOON CRT                                                   NAMPA            ID         83687                  6004               Various                                                                                             $3.65
KELLEY ARNETT                     27515 CHAMBERS ROAD                                               CULDESAC         ID         83524                  6004               Various                                                                                             $4.94
KELLEY BAUMANN                    2722 22ND AVENUE                                                  MONROE           WI         53566                  6004               Various                                                                                            $40.00
KELLEY DOHLBY                     2421 PROSPECT ST                                                  LA CROSSE        WI         54603                  6002               Various                                                                                             $6.88
KELLEY FOX                        GET                                                               ONALASKA         WI         54650                  6004               Various                                                                                            $15.00
KELLEY HEUER                      1124 N BROADWAY                                                   WATERTOWN        SD         57201                  6002               Various                                                                                             $1.01
KELLEY STEPP                      4530 THURSTON LN                                                  MADISON          WI         53711                  6004               Various                                                                                             $4.00
KELLEY STOREY                     1253 6TH ST.                                                      OGDEN            UT         84404                  6004               Various                                                                                            $24.00
KELLI BRYANT                      10052 LANDMARK DR.                                                ROCK FALLS       IL         61071                  6004               Various                                                                                            $28.00
KELLI BUBOLTZ                     906 N 2ND ST                                                      PRINCETON        MN         55371                  6002               Various                                                                                             $9.95
KELLI DETTMAN                     3502 CEDAR CT                                                     GREEN BAY        WI         54313                  6004               Various                                                                                            $25.00
KELLI EZDON                       1715 N LODGE DR                                                   BELOIT           WI         53511                  6004               Various                                                                                            $10.00
KELLI FORBORD                     4923 PEVERO DR                                                    IDAHO FALLS      ID         83401                  6002               Various                                                                                             $9.26
KELLI HARGREAVES                  3224 SHANDA CT                                                    HELENA           MT         59602                  6002               Various                                                                                             $9.40
KELLI HOWARD                      14706 HARVEY OAKS AVE                                             OMAHA            NE         68144                  6002               Various                                                                                             $5.01
KELLI KRUGER                      2100 STADE LN                                                     FAIRMONT         MN         56031                  6002               Various                                                                                             $2.68
KELLI L CUMMINGS                  1015 E DEERHAVEN                                                  DALTON           ID         83815                  6002               Various                                                                                             $8.27
KELLI M WANNA                     205 CARSTENS DR                                                   WATERTOWN        SD         57201                  6002               Various                                                                                             $6.11
KELLI MELAND                      419 EAST 13TH AVE                                                 WEBSTER          SD         57274                  6004               Various                                                                                            $10.00
KELLI OLDENBURG                   1804 SOUTH 23RD                                                   LA CROSSE        WI         54601                  6004               Various                                                                                             $5.02
KELLI RAMSDELL                    1410 N F ST                                                       BROKEN BOW       NE         68822                  6002               Various                                                                                             $2.93
KELLI ROWLEY                      W3166 GREEN ISLE DRIVE                                            FORT ATKINSON    WI         53538                  6004               Various                                                                                             $3.95
KELLI SLEGER                      2443 LAWERENCE DR.                                                DE PERE          WI         54115                  6004               Various                                                                                            $34.00
KELLI YATES                       216 WEST MAIN STREET                                              WAUNAKEE         WI         53597                  6004               Various                                                                                            $32.00
KELLIE A. CURTIN                  214 S HURON ST                                                    DE PERE          WI         54115                  6002               Various                                                                                             $0.36
KELLIE BENDER                     417 N SUMMIT AVE                                                  MADISON          SD         57042                  6002               Various                                                                                             $3.73
KELLIE DANIELIAN                  344 S 1990 E                 UNIT 5 F                             SAINT GEORGE     UT         84790                  6004               Various                                                                                            $48.00
KELLIE FLORES                     1424 MAIN STREET                                                  PLATTSMOUTH      NE         68048                  6004               Various                                                                                             $2.00
KELLIE GONZALEZ                   520 21ST ST                                                       OGDEN            UT         84401                  6004               Various                                                                                             $1.00
KELLIE GRAHAM                     947 W WELTER DR                                                   LINCOLN          NE         68522                  6004               Various                                                                                            $20.00




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KELLIE MCCOY                   202 N PATERSON ST                                               MADISON         WI         53704                6004                Various                                                                                             $4.00
KELLIE PUGH                    315 5 ST SE                                                     STEWARTVILLE    MN         55976                6004                Various                                                                                            $72.42
KELLIE WHITMORE-KOCH           405 PINE ALY                                                    MONTROSE        IA         52639                6002                Various                                                                                             $7.51
KELLIE YARBROUGH               10610 SOUTH 48TH STREET                                         PHOENIX         AZ         85044                6002                Various                                                                                            $94.77
KELLOGG SALES COMPANY          PO BOX 905193                                                   CHARLOTTE       NC         28290-9051           6550                Various                                                                                         $9,693.67
KELLSSEY WOLOSEK               787 DEPOT ST                                                    MANAWA          WI         54949                6002                Various                                                                                             $2.03
KELLY A MANKEE                 PO BOX 311                                                      BARAGA          MI         49908                6002                Various                                                                                             $7.95
KELLY A THOMPSON               1300 DODGE ST                                                   KEWAUNEE        WI         54216                6002                Various                                                                                             $4.44
KELLY A. KJARLAND              1710 PINEWOOD RD SE                                             ROCHESTER       MN         55904                6002                Various                                                                                            $10.00
KELLY ANDERSON                 1019 N MARIEN ST                                                FERGUS FALLS    MN         56537                6002                Various                                                                                             $5.21
KELLY ARNTSON                  18744 COUNTY HIGHWAY 25                                         FERGUS FALLS    MN         56537                6002                Various                                                                                             $3.12
KELLY ASKIN                    2766 N ROBINSON DR APT 2                                        BELOIT          WI         53511                6002                Various                                                                                             $3.86
KELLY AXFORD                   1019 41ST ST NW             APT 111                             ROCHESTER       MN         55901                6004                Various                                                                                            $22.00
KELLY BARKER                   2416 REGINALD HL                                                DE PERE         WI         54115                6002                Various                                                                                             $9.23
KELLY BATES                    862 SOUTH 45TH PLACE                                            SPRINGFIELD     OR         97478                6004                Various                                                                                             $4.00
KELLY BAUER                    W5045 26TH RD                                                   GREENWOOD       WI         54437                6002                Various                                                                                             $3.04
KELLY BEALE                    169 W 4TH BOX # 213                                             NELSON          NE         68961                6002                Various                                                                                             $2.11
KELLY BECKETT                  304 MORNINGSIDE AVE                                             MADISON         WI         53716                6004                Various                                                                                             $5.95
KELLY BILLMAN                  5295 WHITE PINE DR                                              LARSEN          WI         54947                6002                Various                                                                                             $7.70
KELLY BRAWDERS                 42 ROCKWELL AVE                                                 FORT ATKINSON   WI         53538                6004                Various                                                                                             $2.00
KELLY BROTZ                    6232 DEER PATH TRAIL                                            SHEBOYGAN       WI         53083                6004                Various                                                                                             $7.00
KELLY CANTERBURY               1800 N NICOLAS                                                  APPLETON        WI         54914                6002                Various                                                                                             $7.42
KELLY CHAD CONNELL             2886 SINKS CANYON RD                                            LANDER          WY         82520                6002                Various                                                                                             $7.32
KELLY CHANEY                   555 MUSTANG LANE                                                FOND DU LAC     WI         54935                6004                Various                                                                                            $37.00
KELLY CHARNEY                  10324 N BAY RD                                                  SISTER BAY      WI         54234                6002                Various                                                                                             $4.08
KELLY CHRISTENSEN              130 BOX ELDER TRL # E12                                         GLENROCK        WY         82637                6002                Various                                                                                             $2.77
KELLY COCHRAN                  9011 E. SOUTH RIVER WAY                                         MILLWOOD        WA         99212                6004                Various                                                                                            $30.00
KELLY COOKSON                  N8728 RIVER RD                                                  WATERTOWN       WI         53094                6004                Various                                                                                            $10.00
KELLY COULT                    PO BOX 24                                                       AMBOY           MN         56010                6002                Various                                                                                             $0.74
KELLY CRAWFORD                 3609 SUNDET RD                                                  EAU CLAIRE      WI         54703                6004                Various                                                                                            $25.00
KELLY D ANDERSON               1902 E I ST                                                     TORRINGTON      WY         82240                6002                Various                                                                                             $0.36
KELLY DEGROOT                  1341 S BAHNSON AVE                                              SIOUX FALLS     SD         57103                6002                Various                                                                                             $7.78
KELLY DILLARD III              573 COUNTY RD J APT #6                                          ROBERTS         WI         54023                6004                Various                                                                                             $2.00
KELLY DIXON                    7217 TIMBERLAKE DR SE                                           LACEY           WA         98503                6004                Various                                                                                            $21.25
KELLY DOTY                     1129 S MULBERRY ST                                              SIOUX CITY      IA         51106                6004                Various                                                                                            $68.00
KELLY DRIFTWOOD                313 EDGAR ST                                                    WOLF POINT      MT         59201                6002                Various                                                                                             $4.41
KELLY FELTHEIM                 1576 PARK HAVEN ROAD                                            DE PERE         WI         54115                6004                Various                                                                                            $10.00
KELLY FIRKUS                   1910 RIDGEWOOD CT                                               PLOVER          WI         54467                6004                Various                                                                                             $9.75
KELLY FOEGEN                   1001 S ONEIDA ST APT 1A                                         APPLETON        WI         54915                6002                Various                                                                                             $1.34
KELLY FRICKE                   1070 EASTBAY AVE                                                BALATON         MN         56115                6002                Various                                                                                             $3.42
KELLY GASTELUM                 4206 SOUTH 36 AVE.                                              OMAHA           NE         68107                6004                Various                                                                                             $2.00

KELLY GLASER                   2456 WHISTLING SWAN COURT                                       MENASHA         WI         54952                 6004               Various                                                                                               $10.00
KELLY GUDIE                    N1095 LAUDER BACK ROAD                                          LACROSSE        WI         54601                 6004               Various                                                                                                $2.00
KELLY HAGENBUCHER              2201 APPLE COURT                                                MOSINEE         WI         54455                 6004               Various                                                                                               $26.00
KELLY HARJU                    615 S 200TH E                                                   BRIGHAM CITY    UT         84302                 6002               Various                                                                                                $7.51
KELLY HENNING                  904 BARTLETT AVE                                                ALTOONA         WI         54720                 6004               Various                                                                                                $2.50
KELLY HESS                     464 SUNLIGHT DR                                                 POWELL          WY         82435                 6002               Various                                                                                                $6.22
KELLY HIRSCH                   1001 W MAPLE ST                                                 RIVER FALLS     WI         54022                 6002               Various                                                                                                $7.92
KELLY HOFFMAN                  614 S. 8TH AVE                                                  YAKIMA          WA         98902                 6004               Various                                                                                               $19.97
KELLY HOWARD                   1304 KANE ST APT 1                                              LA CROSSE       WI         54603                 6002               Various                                                                                                $8.90
KELLY HUFFMAN                  378 LUPINE RIDGE RD                                             KALISPELL       MT         59901                 6002               Various                                                                                                $6.19
KELLY HUNTER                   RR 2 BOX 4502                                                   DONIPHAN        MO         63935                 6002               Various                                                                                                $8.33
KELLY J MCCULLOUGH             4919 N 61ST ST                                                  OMAHA           NE         68104                 6004               Various                                                                                                $4.00




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                                                                                                                                                     Account         Incurred, Basis for
              Creditor Name                Address1             Address2         Address3             City         State           Zip   Country     Number                Claim                                                                             Total Claim
KELLY JEAN ALEXANDER           3641 CHERRYVILLE AVE                                           APPLETON          WI         54913                 6002                Various                                                                                                $4.03
KELLY JEFFREY                  W5640 CANARY RD                                                ELKHORN           WI         53121                 6004                Various                                                                                               $67.32
KELLY JOHNSON                  445 E 500TH N                                                  SPANISH FORK      UT         84660                 6002                Various                                                                                                $5.78
KELLY JONDREAU                 PO BOX 362                                                     WILLIAMS BAY      WI         53191                 6004                Various                                                                                               $89.98
KELLY JONES                    520 4TH AVENUE EAST                                            COLUMBIA FALLS    MT         59912                 6004                Various                                                                                               $44.00
KELLY K GERBER                 N6951 WOODSIDE HILLS DR                                        SHEBOYGAN         WI         53083                 6002                Various                                                                                                $6.14
KELLY KLEIN                    704 13TH ST                                                    WHEATLAND         WY         82201                 6002                Various                                                                                                $8.85
KELLY KUGLER                   4624 HALLCLIFFE RD                                             LINCOLN           NE         68516                 6002                Various                                                                                                $0.58
KELLY KUNSMAN                  595 JENSEN ST                                                  GREEN RIVER       WY         82935                 6002                Various                                                                                                $9.86
KELLY L JONES                  160 N CRANBERRY AVE                                            PESHTIGO          WI         54157                 6002                Various                                                                                                $8.63
KELLY LECHER                   144 N LAKE ST                                                  NEENAH            WI         54956                 6004                Various                                                                                                $1.00
KELLY LENZENDORF               809 WOODWARD DR                                                MADISON           WI         53704                 6004                Various                                                                                               $25.00
KELLY LOIBL                    417 E MAIN ST                                                  THORP             WI         54771                 6002                Various                                                                                                $3.92
KELLY LOYD                     742 COUNTY ROAD 550 E                                          ALBION            IL         62806                 6002                Various                                                                                                $3.12
KELLY M. HAMILTON              508 E ANNIE AVE                                                COEUR D ALENE     ID         83814                 6002                Various                                                                                                $1.73
KELLY MALLORY                  601 JACKSON STREET                                             FORT ATKINSON     WI         53538                 6004                Various                                                                                                $3.95
KELLY MC INTYRE                113 1/2 N WASHINGTON ST                                        JANESVILLE        WI         53548                 6004                Various                                                                                                $1.00
KELLY MCDERMOTT                1017 ERIC LANE                                                 WAUNAKEE          WI         53597                 6004                Various                                                                                               $15.00
KELLY MCMANUS                  PO BOX 10251                                                   BOZEMAN           MT         59719                 6002                Various                                                                                                $8.71
                               1202 MCKENNA BOULEVARD
KELLY MILLER                   APT. 301                                                       MADISON           WI         53719                  6004               Various                                                                                            $59.00
KELLY NOSS                     715 SHERMAN ST                                                 SHEFFIELD         IA         50475                  6004               Various                                                                                            $49.98
KELLY OLSON                    510 RIVERSIDE DR                                               FORT ATKINSON     WI         53538                  6004               Various                                                                                            $61.96
KELLY ORTON                    16 AIRPORT RD                                                  SALMON            ID         83467                  6002               Various                                                                                             $1.15
KELLY POQUETTE                 1109 COPRINUS DR                                               GREEN BAY         WI         54313                  6002               Various                                                                                             $4.68
KELLY REMONDINI                310 5TH ST                                                     MOSINEE           WI         54455                  6004               Various                                                                                             $4.00
KELLY ROBINSON                 711 FRITZIE AVE                                                CRIVITZ           WI         54114                  6004               Various                                                                                            $25.00
KELLY RUE                      410 E LEOTANIE LN                                              NORTH PLATTE      NE         69101                  6002               Various                                                                                             $5.84
KELLY RUSSELL                  1940 5TH ST SO                                                 WIS RAPIDS        WI         54494                  6002               Various                                                                                             $0.36
KELLY RYAN                     6431 WAZEECHA RIDGE CT                                         WISCONSIN RAPID   WI         54494                  6002               Various                                                                                             $0.88
KELLY RYAN-KUZULKA             265 19TH. STREET                                               FOND DU LAC       WI         54935                  6004               Various                                                                                            $34.00
KELLY S WUSSOW                 F1824 CTY HWY N CARD                                           EDGAR             WI         54426                  6002               Various                                                                                             $1.34
KELLY SAYLER                   PO BOX 1508                                                    LOLO              MT         05847                  6002               Various                                                                                            $15.51
KELLY SCHAFER                  N15445 ROMADKA AVE                                             CURTISS           WI         54422                  6002               Various                                                                                             $6.33
KELLY SCOVELL                  823 BADER ST APT E                                             GREEN BAY         WI         54302                  6002               Various                                                                                             $4.41
KELLY SPOONER                  2116 COLONY CT UNIT 7                                          BELOIT            WI         53511                  6002               Various                                                                                            $10.00
KELLY STEFFEK                  W158N10165 SHOSHONE CT                                         GERMANTOWN        WI         53022                  6002               Various                                                                                             $5.92
KELLY STEWART                  620 E CENTER ST              APT 1                             ROCHESTER         MN         55904                  6004               Various                                                                                             $3.00
KELLY STLOUIS                  E9465 LANDSCAPE LN                                             FREMONT           WI         54940                  6002               Various                                                                                             $6.68
KELLY STOFLET                  719 E. CHESTNUT ST. APT. 3                                     PARDEEVILLE       WI         53954                  6004               Various                                                                                             $4.00
KELLY STRNAD                   1811 SYLVAN WAY                                                WEST BEND         WI         53095                  6666               Various                                                                                             $6.99
KELLY TESCH                    1321 MARCIA AVE APT 1                                          WEST BEND         WI         53090                  6002               Various                                                                                             $8.99
KELLY THOMAS                   5108 WEST 158TH STREET                                         OVERLAND PARK     KS         66224                  6004               Various                                                                                            $23.00
KELLY VAN HOUDT                PO BOX 1243                                                    MALTA             MT         59538                  6004               Various                                                                                             $7.99
KELLY VANDERA                  115 S WALNUT ST                                                KIMBERLY          WI         54136                  6002               Various                                                                                             $8.88
KELLY VANNESS                  213 E CLAY ST                                                  ONEILL            NE         68763                  6002               Various                                                                                             $2.30
KELLY VANZEELAND               1326 BUCHANAN RD                                               KAUKAUNA          WI         54130                  6002               Various                                                                                             $6.19
KELLY WAMBOLDT                 W12911 RIVER ROAD                                              BOWLER            WI         54416                  6004               Various                                                                                             $1.00
KELLY WELTZ                    1216 EDGEWATER AVENUE                                          SIOUX CITY        IA         51109                  6004               Various                                                                                            $16.00
KELLY WENDELKEN                300 1ST AVE NW                                                 AUSTIN            MN         55912                  6004               Various                                                                                             $8.95
KELLY WETMORE                  3067 SO 40TH STREET                                            OMAHA             NE         68105                  6004               Various                                                                                             $2.00
KELLY WILDING                  W247N7263 LYNN MARIE CT                                        SUSSEX            WI         53089                  6002               Various                                                                                             $6.05
KELLY WILSON                   16196 SUNSET TRAIL                                             PINE CITY         MN         55063                  6004               Various                                                                                             $6.40
KELS TENDER LAWN CARE          320 E ROAD 140                                                 SCOTT CITY        KS         67871                  6569               Various                                                                                         $2,115.00




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              Creditor Name               Address1              Address2           Address3             City       State           Zip   Country     Number                Claim                                                                             Total Claim
KELSEA JENSEN                  24232 GRASS LAKE RD                                              WINSTED         MN         55395                 6004                Various                                                                                                $3.06
KELSEY A. JANNI                101 N MILL ST PO BOX # 81                                        KASOTA          MN         56050                 6002                Various                                                                                                $3.70
KELSEY B STEELE                34309 CTY RD # 111                                               SAVAGE          MT         59262                 6002                Various                                                                                                $2.93
KELSEY BERNDT                  931 OWEN ST                                                      LAKE MILLS      WI         53551                 6004                Various                                                                                               $25.00
KELSEY BIRD                    2155 GRANT AVE APT 246                                           OGDEN           UT         84401                 6002                Various                                                                                                $4.00
KELSEY C. LEWIS                416 LINCOLN AVE                                                  WILLOW LAKE     SD         57278                 6002                Various                                                                                                $6.38
KELSEY DORSETT                 N4631 17TH DRIVE                                                 WAUTOMA         WI         54982                 6004                Various                                                                                                $8.00
KELSEY ELLISON                 33890 K22                                                        SIOUX CITY      IA         51108                 6002                Various                                                                                                $5.15
KELSEY FAMILY                  2425 S 15TH ST LOT 64                                            PLATTSMOUTH     NE         68048                 6002                Various                                                                                                $2.19
KELSEY FESENMAIER              10578 301ST AVE                                                  PRINCETON       MN         55371                 6002                Various                                                                                                $6.19

KELSEY HODOWANIC               228 MOUNT WASHINGTON AVE                                         EAU CLAIRE      WI         54703                  6002               Various                                                                                                $9.04
KELSEY JAKOBI                  2215 S MAPLE AVE                                                 MARSHFIELD      WI         54449                  6002               Various                                                                                                $0.55
KELSEY JENNINGS                3940 COUNTY ROAD 189                                             PHILADELPHIA    MO         63463                  6002               Various                                                                                                $6.52
KELSEY KIRKPATRICK             350 WASHINGTON ST                                                LANDER          WY         82520                  6002               Various                                                                                                $6.11
KELSEY KITOWSKI                5551 SHERMAN ST              APT 105                             WAUSAU          WI         54401                  6004               Various                                                                                               $25.00
KELSEY KLINGENBERG             203 1ST AVE                                                      BAYARD          IA         50029                  6002               Various                                                                                                $0.58
KELSEY KONECZNY                510 23RD AVE NW                                                  AUSTIN          MN         55912                  6004               Various                                                                                                $6.00
KELSEY LUSTI                   9790 CHAMBERLAIN AVE                                             MONTICELLO      MN         55362                  6004               Various                                                                                                $6.52
KELSEY M SCHAEFER              3181 COSS RD                                                     ABBOTSFORD      WI         54405                  6002               Various                                                                                                $4.27
KELSEY MCDONNELL               630 SUMMIT DR                                                    BUFFALO         WY         82834                  6002               Various                                                                                                $7.37
KELSEY MONSON                  PO BOX 124                                                       FREEBORN        MN         56032                  6002               Various                                                                                                $2.71
KELSEY NEEDHAM                 N1792 ORCHID WAY                                                 GREENVILLE      WI         54942                  6002               Various                                                                                                $5.10
KELSEY PETERSEN                320 MAIN ST PO BOX # 215                                         CYRUS           MN         56323                  6002               Various                                                                                                $1.81
KELSEY R HAUSER                1002 S 5TH AVE                                                   BROKEN BOW      NE         68822                  6002               Various                                                                                                $1.32
                               5015 SOUTH REGAL STREET APT.
KELSEY RHEAD                   I3068                                                            SPOKANE         WA         99223                  6004               Various                                                                                               $20.00
KELSEY SALEM                   2222 10 1/2 AVE NW APT 8                                         ROCHESTER       MN         55901                  6002               Various                                                                                                $2.41
KELSEY SCHEIWE                 702 SHORT STREET                                                 FORT ATKINSON   WI         53538                  6004               Various                                                                                                $2.00
KELSEY SCHLEIF                 140 LAZEY LAKE DR                                                FALL RIVER      WI         53932                  6004               Various                                                                                                $1.95
KELSEY SCOFIELD                9790 CHAMBERLAIN AVE                                             MONTICELLO      MN         55362                  6004               Various                                                                                                $5.74
KELSEY SWEENEY                 2778 PRAIRIE CIR                                                 VERONA          WI         53593                  6004               Various                                                                                                $5.40
KELSEY TOLLEFSON               PO BOX 954                                                       MARQUETTE       MI         49855                  6002               Various                                                                                                $4.68
KELSEY WHITELEY                3319 CENTER ST                                                   OMAHA           NE         68105                  6004               Various                                                                                               $10.00
KELSHA PETERSON                3047 W 8565TH S                                                  WEST JORDAN     UT         84088                  6002               Various                                                                                                $3.10
KELSI GULLICKSON               1316 FIELD CT                                                    MOUNT HOREB     WI         53572                  6004               Various                                                                                                $2.00
KELSI WILLIAMSON               1105 JOHNSON AVE                                                 LARNED          KS         67550                  6002               Various                                                                                                $4.11
KELSIE COTTON                  9747 QUIST AVE SW                                                COKATO          MN         55321                  6002               Various                                                                                                $0.82
KELSO LEMEROND                 15504 WESTWOOD LN                                                NEWTON          WI         53063                  6002               Various                                                                                                $0.85
KELSON RICHA CASEY             1020 WISCONSIN RIVER DR                                          PORT EDWARDS    WI         54469                  6002               Various                                                                                               $10.00
KELSY LUBER                    90674 477TH AVE                                                  BUTTE           NE         68722                  6002               Various                                                                                                $8.99
KELVIN FARROW                  503 13 TH ST. NW                                                 AUSTIN          MN         55912                  6004               Various                                                                                                $3.00
KEM RICHSTEIN                  255 N OSBORNE ST                                                 AINSWORTH       NE         69210                  6002               Various                                                                                                $6.33
KEMP SUDTHAPAN                 525 E BLUFF                                                      MADISON         WI         53704                  6004               Various                                                                                                $5.02
KEN A. MIELKE                  1444 W 3RD ST                                                    KIMBERLY        WI         54136                  6002               Various                                                                                                $6.93
KEN ARMSTRONG                  529 JUNTURA CT SE                                                SALEM           OR         97302                  6004               Various                                                                                               $12.77
KEN BAILEY                     9862 SPRUCE CREEK COURT                                          SOUTH JORDAN    UT         84095                  6004               Various                                                                                                $5.00
KEN BECKROW                    209 FOREST ST                                                    FOX LAKE        WI         53933                  6002               Various                                                                                                $3.37
KEN BRIDGEFORD                 PO BOX 36                                                        LEWISTOWN       MT         59457                  6002               Various                                                                                               $10.00
KEN BRITTEN                    1420 GLENVIEW LN                                                 LITTLE CHUTE    WI         54140                  6002               Various                                                                                                $5.95
KEN CHRISTIANSON               524 BALSAM ST                                                    KINGSFORD       MI         49802                  6002               Various                                                                                                $3.73
KEN FORDEN                     212 4TH AVE E                                                    KALISPELL       MT         59901                  6002               Various                                                                                               $10.00
KEN GERRITS                    320 N JACKSON ST                                                 BOYD            WI         54726                  6002               Various                                                                                                $8.14
KEN HARE                       5021 CHAMBERS CREEK LP SE                                        OLYMPIA         WA         98501                  6004               Various                                                                                               $21.25




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             Creditor Name              Address1                   Address2         Address3             City        State           Zip   Country     Number                Claim                                                                             Total Claim
KEN HARRIS                    W2923 GRUENHAGEN ROAD                                              BIRCHWOOD        WI         54817                 6004                Various                                                                                               $44.80
KEN HEICHEL                   2007 CHURCH DR                                                     KALISPELL        MT         59901                 6002                Various                                                                                                $3.92
KEN HEIMENDINGER              3280 HIGHWAY 218                                                   ORCHARD          IA         50460                 6002                Various                                                                                                $3.07
KEN HELFRICH                  42091 MCKENZIE HWY                                                 SPRINGFIELD      OR         97478                 6002                Various                                                                                                $2.00
                                                               1307 9TH STREET
KEN KERR ELECTRIC             KENNETH KERR                     SW                                WAUKON           IA         52172                  5958               Various                                                                                               $96.62
KEN KING                      PO BOX 911                                                         UPTON            WY         82730                  6002               Various                                                                                                $8.49
KEN KNAPTON                   139 PARK AVE                                                       KALISPELL        MT         59901                  6002               Various                                                                                                $3.45
KEN KRUPKA                    BOX 95                                                             BEEMER           NE         68716                  6002               Various                                                                                                $7.12
KEN MEAD                      16031 GIBSON RD SW                                                 TENINO           WA         98589                  6004               Various                                                                                                $5.02
KEN MILLER                    1508 36TH AVE S                                                    SEATTLE          WA         98144                  6002               Various                                                                                                $3.23
KEN NARLOCH                   1613 DALEY AVE                                                     SCHOFIELD        WI         54476                  6002               Various                                                                                                $6.49
KEN NOUANSISOUHAK             1730 CECILY STREET                                                 WORTHINGTON      MN         56187                  6004               Various                                                                                                $3.00
KEN PEETERS                   W9610 SPRUCE RD                                                    BEAR CREEK       WI         54922                  6002               Various                                                                                                $3.53
KEN PETERSON                  2402 13TH ST S                                                     LA CROSSE        WI         54601                  6002               Various                                                                                                $7.75
KEN PFAFF                     821 RODGERS APT. 1                                                 MISSOULA         MT         59802                  6004               Various                                                                                                $5.00
KEN PIRNIE                    1505 P ST P O BOX # 441                                            AURORA           NE         68818                  6002               Various                                                                                                $3.32
KEN R JONES                   BOX 1242 155 POPOAGIE                                              LANDER           WY         82520                  6002               Various                                                                                                $1.21
KEN SCHRADER                  5349 VERLE RD                                                      SUN PRAIRIE      WI         53590                  6002               Various                                                                                                $0.74
KEN SEELEY                    924 E 31ST AVE                                                     SPOKANE          WA         99203                  6004               Various                                                                                               $25.00
KEN STEDL                     2823 CONTINENTAL DR                                                GREEN BAY        WI         54311                  6002               Various                                                                                                $0.66
KEN WITT                      PO BOX 34                                                          ELSIE            NE         69134                  6002               Various                                                                                                $5.48
KENDALL CUTHBERT              439 S 100TH W                                                      OREM             UT         84058                  6002               Various                                                                                                $6.16
KENDALL KUHL                  702 E HUGHSON ST                                                   RANDOLPH         NE         68771                  6002               Various                                                                                                $2.58
KENDALL KUTCHER               411 ROSENDALE ST                                                   BEAVER DAM       WI         53916                  6004               Various                                                                                               $20.00
KENDALL MYKISEN               8270 COUNTY ROAD W                                                 BANCROFT         WI         54921                  6002               Various                                                                                                $1.37
KENDALL SCHWARZKOPF           2226 155TH AVE                                                     CLEAR LAKE       MN         55319                  6004               Various                                                                                               $20.00
KENDALLEEN JORGES             4426 W WILLOW LN                                                   BOISE            ID         83703                  6002               Various                                                                                                $7.23
KENDRA CARLSON                1799 EDMISTON DR                                                   IDAHO FALLS      ID         83401                  6002               Various                                                                                                $9.42
KENDRA ELLIOUS                806 W GLENDALE AVE                                                 APPLETON         WI         54914                  6002               Various                                                                                                $0.27
KENDRA FISH                   1409 WESTERN AVENUE                                                GREEN BAY        WI         54303                  6004               Various                                                                                                $3.00
KENDRA HANSEN                 495 W PITTSBURGH                                                   GUERNSEY         WY         82214                  6002               Various                                                                                                $6.88
KENDRA HOLMAN                 42561 GINGER AVENUE                                                HARRIS           MN         55032                  6004               Various                                                                                               $12.00
KENDRA K BUCHANAN             701 N CARICO ST                                                    TUSCOLA          IL         61953                  6002               Various                                                                                                $1.15
KENDRA KRUSE                  1858 24TH ST NW                                                    ROCHESTER        MN         55901                  6002               Various                                                                                                $1.75
KENDRA LINKE                  522 BUELL                                                          RAVENNA          NE         68869                  6004               Various                                                                                                $4.99
KENDRA MELVILL                3092 ARROWHEAD STREET                                              EUGENE           OR         97404                  6004               Various                                                                                                $2.50
KENDRA SANCHEZ                74201 NORTH COUTURE LOOP                                           ARLEE            MT         59821                  6004               Various                                                                                                $2.00
KENDRA TROTTER                5320 NORTH 26 STREET                                               OMAHA            NE         68111                  6004               Various                                                                                                $2.00
KENDRA VAN MATRE              7556 N 1950TH BLVD                                                 MOUNT CARMEL     IL         62863                  6002               Various                                                                                                $3.70
KENDRA WEILER                 1741 4TH STREET SE                                                 EAST WENATCHEE   WA         98802                  6004               Various                                                                                               $23.00
KENDRA WIRTH                  BOX 421                                                            MONTICELLO       WI         53570                  6004               Various                                                                                                $1.00
KENDRA WOODEN                 248 S. PINE                                                        GRAND ISLAND     NE         68801                  6004               Various                                                                                               $28.90

KENDRA ZIMMERMAN              1803 US HWY 87 EAST TRAILER 23                                     BILLINGS         MT         59101                  6004               Various                                                                                             $4.00
KENDRICK HOWARD               12871 SUMMITVIEW RD                                                YAKIMA           WA         98908                  6004               Various                                                                                             $3.11
KENIA MORENO-AVILA            645 CRAWFORD AVENUE                                                WENATCHEE        WA         98801                  6004               Various                                                                                            $40.00
KENILWORTH HOME INC           1201 ORANGE ST SUITE 600                                           WILMINGTON       DE         19801                  4782               Various                                                                                        $73,148.19
KENLIE MCCALL                 515 TOWN AND COUNTRY LN                                            TRENTON          MO         64683                  6002               Various                                                                                             $9.56
KENLYN GRETZ                  3118 SUNRAY LN                                                     GREEN BAY        WI         54313                  6004               Various                                                                                            $30.00
KENNA S NEILAN                PO BOX 347                                                         SPENCER          NE         68777                  6002               Various                                                                                             $2.90
KENNA UPHOFF                  4142 RIDGE ROAD                                                    DEERFIELD        WI         53531                  6004               Various                                                                                            $10.00
KENNAH KONRAD                 W 992 HOCHHEIM RD                                                  THERESA          WI         53091                  6004               Various                                                                                            $10.00
KENNEDY BICKETT               20905 442ND AVE S                                                  LAKE PRESTON     SD         57249                  6004               Various                                                                                            $94.97




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                                                                                                                                                                                         Contingent


                                                                                                                                                                                                                     Disputed
                                                                                                                                                Last 4 Digits of     Date Debt was
                                                                                                                                                   Account         Incurred, Basis for
              Creditor Name               Address1              Address2        Address3            City         State           Zip   Country     Number                Claim                                                                             Total Claim
KENNEDY BUCK                   1740 SOUTH 8TH STREET WEST                                    MISSOULA         MT         59801                 6004                Various                                                                                                $2.00
KENNEDY BUSTA                  4066 PINE VIEW STREET                                         ONALASKA         WI         54650                 6004                Various                                                                                                $5.00
KENNEDY JELLIS                 413 8TH AVE                                                   BRANDON          SD         57005                 6004                Various                                                                                                $6.00
KENNEDY KING                   913 E NORA AVE                                                SPOKANE          WA         99207                 6004                Various                                                                                               $28.85
KENNEDY ROSENTHAL              111 HUMBOLT LOOP                                              HELENA           MT         59601                 6002                Various                                                                                                $3.18
KENNEDY STEVENS                906 E CEDAR AVE                                               HOLMEN           WI         54636                 6002                Various                                                                                                $3.26
KENNEDY UNDERWOOD              300 PASEO PINTO                                               SAN CLEMENTE     CA         92672                 6002                Various                                                                                                $9.23

KENNEDY/ HANNAH                STORE 4-042                  SHOPKO EMPLOYEE                  GREEN BAY        WI         54307-9060             5221               Various                                                                                               $45.78
KENNETH ARENDS                 310 E LEONA AVE                                               PETERSBURG       NE         68652                  6002               Various                                                                                                $5.07
KENNETH B JOHNSON              N11547 POPPLE HILL RD                                         PHILLIPS         WI         54555                  6002               Various                                                                                                $6.90
KENNETH BAHLS                  304 N MAIN ST APT F                                           REESEVILLE       WI         53579                  6002               Various                                                                                                $4.36
KENNETH BECK                   113 RIVERVIEW 5 W                                             GREAT FALLS      MT         59404                  6002               Various                                                                                               $14.49
KENNETH BEROSIK                PO BOX 1270                                                   SIDNEY           MT         59270                  6002               Various                                                                                                $0.68
KENNETH BRACKETT               1425 E MURRAY ST LOT 54                                       RAWLINS          WY         82301                  6002               Various                                                                                                $1.53
KENNETH BUNN                   1218 COUNTY ROAD II                                           NEENAH           WI         54956                  6002               Various                                                                                                $0.74
KENNETH BURKMAN                1509 GARFIELD AVE                                             MARQUETTE        MI         49855                  6002               Various                                                                                                $2.08
KENNETH BYER                   4421 MEADOW LAKES DR NW                                       ROCHESTER        MN         55901                  6002               Various                                                                                                $4.82
KENNETH C FELTMANN             66 1ST AVE N                                                  LESTER PRAIRIE   MN         55354                  6002               Various                                                                                                $6.00
KENNETH CARLTON                2425 84TH ST                                                  NEHAWKA          NE         68413                  6004               Various                                                                                               $27.20
KENNETH CHAIGNOT               113 S. 2ND AVE                                                WAUSAU           WI         54401                  6004               Various                                                                                                $3.00
KENNETH CHRISTENSEN            597 N 300 W                                                   MANTI            UT         84642                  6004               Various                                                                                                $5.00
KENNETH CLARK                  635 N. ERIE ST                                                DE PERE          WI         54115                  6004               Various                                                                                                $6.18
KENNETH CLARY                  406 SE 9TH ST                                                 ANDREWS          TX         79714                  6002               Various                                                                                                $3.67
KENNETH COOP                   111 ROBERSON AVE                                              WORLAND          WY         82401                  6002               Various                                                                                                $1.89

KENNETH CORBETT                2608 MONTANA AVE. APT.#202                                    BILLINGS         MT         59101                  6004               Various                                                                                             $5.02
KENNETH COSGROVE               W4285 850TH AVE                                               SPRING VALLEY    WI         54767                  6002               Various                                                                                             $0.47
KENNETH CRIPPS                 PO BOX 821                                                    GRASS RANGE      MT         59032                  6002               Various                                                                                             $3.53
KENNETH D HARPER               665 E INMAN PKWY                                              BELOIT           WI         53511                  6002               Various                                                                                             $6.30
KENNETH D LARSEN               222 W SUMMIT ST                                               WINTERSET        IA         50273                  6002               Various                                                                                             $2.38
KENNETH DARR WHITSON           696 S MAPLE ST                                                NELSON           NE         68961                  6002               Various                                                                                             $1.04
KENNETH DEMUTH                 508 E GLENBROOKE DR                                           PULASKI          WI         54162                  6004               Various                                                                                            $21.25
KENNETH ESTABROOK              9431 MEREDITH AVE                                             OMAHA            NE         68134                  6002               Various                                                                                             $1.89
KENNETH FELDT                  528 18TH AVE                                                  MONROE           WI         53566                  6002               Various                                                                                             $5.26
KENNETH FRANK                  151 N EAGLE ST                                                OSHKOSH          WI         54901                  6004               Various                                                                                            $84.98
KENNETH GAGNON                 1 BALTIC AVE                                                  SOUTH RANGE      MI         49963                  6002               Various                                                                                             $4.03
KENNETH GARCIA                 206 THOMAS AVE                                                WORTHINGTON      MN         56187                  6004               Various                                                                                            $23.00
KENNETH GENE YENULONIS         28789 N HIGHWAY 95                                            ATHOL            ID         83801                  6002               Various                                                                                             $0.44
KENNETH GIPSON                 RR 2 BOX 5683                                                 DONIPHAN         MO         63935                  6002               Various                                                                                             $3.42
KENNETH GOETSCH                16 PARKVIEW LANE                                              WATERTOWN        WI         53094                  6004               Various                                                                                            $70.99
KENNETH HAGER                  628 MADISON ST                                                STANLEY          WI         54768                  6002               Various                                                                                             $6.68
KENNETH HANKS                  PO BOX 83                                                     WHEATLAND        WY         82201                  6002               Various                                                                                             $0.63
KENNETH HART                   RR 3 BOX 9377                                                 DONIPHAN         MO         63935                  6002               Various                                                                                             $7.07
KENNETH HECKEL                 2120 SHORE DRIVE                                              MARINETTE        WI         54143                  6002               Various                                                                                            $62.70
KENNETH HELLER                 1022 BLUEBIRD ST                                              DE PERE          WI         54115                  6002               Various                                                                                             $0.38
KENNETH HENDERSON              6824 X STREET                                                 LINCOLN          NE         68505                  6004               Various                                                                                           $122.00
KENNETH HICKS                  10601 MELMS RD                                                GENOA            IL         60135                  6004               Various                                                                                             $8.96
KENNETH HORN                   N8543 STERLING AVE                                            NEILLSVILLE      WI         54456                  6002               Various                                                                                             $7.18
KENNETH HOUSTON                909 EATON ST                                                  DUNLAP           IA         51529                  6002               Various                                                                                             $4.88
KENNETH HUFF                                                                                                                                    6004               Various                                                                                             $3.58
KENNETH HYATT                  PO BOX 753                                                    CHALLIS          ID         83226                  6002               Various                                                                                             $3.07
KENNETH J BODOH                N9850 JUNEBUG LN                                              CLINTONVILLE     WI         54929                  6002               Various                                                                                             $2.85
KENNETH JACOBSON               11 CHERYL CT                                                  MARQUETTE        MI         49855                  6002               Various                                                                                             $5.59




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                                                                                                                                                                                          Contingent


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                                                                                                                                                 Last 4 Digits of     Date Debt was
                                                                                                                                                    Account         Incurred, Basis for
             Creditor Name               Address1              Address2         Address3             City         State           Zip   Country     Number                Claim                                                                             Total Claim
KENNETH JAUQUET               W9245 M-69                                                     SAGOLA            MI         49881                 6002                Various                                                                                                $0.60
KENNETH JOHN MICKE            860 S RAILROAD ST                                              KIMBERLY          WI         54136                 6002                Various                                                                                                $6.11
KENNETH JOHNSTON              3948 ADAMS SP#1                                                GARDEN CITY       ID         83714                 6004                Various                                                                                               $23.00
KENNETH L GUENTHER            207 S FARRAGUT ST                                              WEST POINT        NE         68788                 6002                Various                                                                                                $6.71
KENNETH LIDGETT               220 N THIRD PO BOX # 183                                       BARTLETT          NE         68622                 6002                Various                                                                                                $2.11
KENNETH LINDEGARDE            W10288 BAKER RD                                                REESEVILLE        WI         53579                 6002                Various                                                                                                $3.95
KENNETH LINDQUIST             45 W SPRING DRIVE                                              SALEM             UT         84653                 6002                Various                                                                                                $2.28
KENNETH M BOYD                BOX 66                                                         MCGREGOR          MN         55760                 6002                Various                                                                                                $3.48
KENNETH MORA CRUZ             2811 UNIVERSITY AVE APT 2                                      GREEN BAY         WI         54311                 6004                Various                                                                                                $1.00
KENNETH MORRIS                10965 PENNISULA PLACE                                          IOLO              MT         59847                 6004                Various                                                                                                $4.00
KENNETH MOUNTEER              5125 W LOOMIS WAY                                              SALT LAKE CITY    UT         84118                 6004                Various                                                                                                $9.98
KENNETH NORITIS               57395 MINE ST APT B                                            CALUMET           MI         49913                 6002                Various                                                                                                $2.11
KENNETH R PUTMAN              1019 15TH ST N PRERELEASE                                      GREAT FALLS       MT         59404                 6002                Various                                                                                                $6.88
KENNETH R. BAKER              229 EDGEWOOD DR                                                KALISPELL         MT         59901                 6002                Various                                                                                                $5.07
KENNETH R. MADISON            5036 S 150TH W                                                 OGDEN             UT         84405                 6002                Various                                                                                                $3.48
KENNETH READ                  2815 OLD FORT RD APT 114                                       MISSOULA          MT         59804                 6002                Various                                                                                                $0.63
KENNETH REED                  1394 LAKE BREEZE RD                                            OSHKOSH           WI         54904                 6002                Various                                                                                                $0.90
KENNETH REESE                 524 13TH ST N                                                  GREAT FALLS       MT         59401                 6002                Various                                                                                                $6.63
KENNETH RICE                  BOX 15                                                         TAOPI             MN         55977                 6004                Various                                                                                                $6.00
KENNETH ROGERS                N9150 SANCTUARY RD                                             TOMAHAWK          WI         54487                 6002                Various                                                                                                $1.32
KENNETH ROOD                  504 3RD AVE SW                                                 PIPESTONE         MN         56164                 6002                Various                                                                                                $3.18
KENNETH S GARRISON            PO BOX 1856                                                    EAST HELENA       MT         59635                 6002                Various                                                                                                $0.47
KENNETH S KRUSSOW             95 5TH AVE NW                                                  HUTCHINSON        MN         55350                 6002                Various                                                                                                $6.33
KENNETH SABO                  457 MILLER AVE                                                 WISCONSIN RAPID   WI         54494                 6002                Various                                                                                                $8.74
KENNETH SALMON                305 ASH ST                                                     WAKEFIELD         NE         68784                 6002                Various                                                                                                $6.50

KENNETH SCHULTZ               1516 EAST HAWTHORNE ST APT 1                                   ALBERT LEA        MN         56007                  6004               Various                                                                                             $3.00
KENNETH SCHWANZ               77728 430TH ST                                                 TRUMAN            MN         56088                  6002               Various                                                                                             $6.58
KENNETH SINCLAIR              24512 400TH ST                                                 LE CENTER         MN         56057                  6002               Various                                                                                             $2.08
KENNETH SMITH                 916 LARSON DR                                                  ZUMBROTA          MN         55992                  6004               Various                                                                                            $15.30
KENNETH SPARKS                695 SOUTH 500 EAST                                             BRIGHAM CITY      UT         84302                  6004               Various                                                                                            $10.00
KENNETH SR ABRAHAM            PO BOX 842                                                     SISSETON          SD         57262                  6002               Various                                                                                             $6.79
KENNETH SWANSON               1255 FLANDERS AVE SW                                           WAVERLY           MN         55390                  6002               Various                                                                                             $6.05
KENNETH SWART                 1797 HOLLYWOOD ST                                              OROFINO           ID         83544                  6002               Various                                                                                             $2.22
KENNETH TAUSAN                1701 E 2ND ST APT 120                                          OGALLALA          NE         69153                  6002               Various                                                                                             $6.79
KENNETH TINGLEY               1015 S DULUTH AVE APT 2                                        SIOUX FALLS       SD         57105                  6002               Various                                                                                             $9.21
KENNETH VANDENPLAS            P.O. BOX 624                                                   BONDUEL           WI         54107                  6004               Various                                                                                            $40.58
KENNETH VERHEYEN              PO BOX 436                                                     SUAMICO           WI         54173                  6002               Various                                                                                             $9.48
KENNETH WAGNER                2111 7TH AVE N                                                 GREAT FALLS       MT         59401                  6002               Various                                                                                             $0.47
KENNETH WALZ                  200 E 15TH AVE APT 234                                         MITCHELL          SD         57301                  6002               Various                                                                                             $8.66
KENNETH WOLNICK               W7518 COUNTY LINE RD                                           FORT ATKINSON     WI         53538                  6002               Various                                                                                             $4.71
KENNETH ZOCHER                1274 CTY RD F/PO BOX 41                                        ATHENS            WI         54411                  6002               Various                                                                                             $9.51
KENNITH LACEY                 811 6TH ST W                                                   ROUNDUP           MT         59072                  6002               Various                                                                                             $0.96
KENNY MCKAY                   429 N OAK ST                                                   DODGE             NE         68633                  6002               Various                                                                                             $9.04
KENNY MCNEW                   RR 1 BOX 167                                                   SUMMERVILLE       MO         65571                  6002               Various                                                                                             $6.79
KENNYS CANDY COMPANY INC      VICE PRESIDENT OF SALES      PO BOX 230                        PERHAM            MN         56573                  4838               Various                                                                                        $30,083.80
                                                                                                                                                                    11/1/2018 -
KENOSHA WATER UTILITY         4401 GREEN BAY ROAD                                            KENOSHA           WI         53144                  22 903             12/31/2018                                                                                      $2,434.00
KENRA CAMPAGNA                2001 W HEWS PL                                                 SALT LAKE CITY    UT         84129                  6002               Various                                                                                             $9.26
KENROY P DAVIS                10620 LITTLE SISTER RD                                         SISTER BAY        WI         54234                  6002               Various                                                                                             $8.82
                                                           1305 9TH STREET
KENS WINDOW SERVICE           KENNETH W KAMMERER           SW                                WAUKON            IA         52172                   4544              Various                                                                                           $117.70
KENT ADAMSON                  41872 110TH ST SW                                              EAST GRAND FORK   MN         56721                   6002              Various                                                                                             $5.18
KENT AURICH                   851 L RD                                                       BEEMER            NE         68716                   6002              Various                                                                                             $4.82




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                                                                                                                                                       Last 4 Digits of     Date Debt was
                                                                                                                                                          Account         Incurred, Basis for
              Creditor Name               Address1                Address2           Address3              City         State           Zip   Country     Number                Claim                                                                             Total Claim
KENT BARGEN                    PO BOX 314                                                          SUPERIOR          NE         68978                 6002                Various                                                                                             $2.33
KENT BARKER                    359 WESTLAND DR                                                     BRIGHAM CITY      UT         84302                 6002                Various                                                                                             $7.29
KENT BROCKLEBANK               1125 E 33RD AVE                                                     SPOKANE           WA         99203                 6004                Various                                                                                            $35.33
KENT BURLESON                  188 WESTERN AVE                                                     BUFFALO           WY         82834                 6002                Various                                                                                             $8.03
KENT CRAMER                    1206 WOODVALE DRIVE                                                 MADISON           WI         53716                 6004                Various                                                                                             $1.00
KENT E O'NEAL                  RR 1 BOX 2428                                                       DONIPHAN          MO         63935                 6002                Various                                                                                             $1.89
KENT INVESTMENT CORPORATION    DBA CARPET EXPRESS            PO BOX 279                            ASH FLAT          AR         72513                 4652                Various                                                                                        $33,788.08
KENT JEPPSEN                   1856 HERBERT AVE                                                    SALT LAKE CITY    UT         84108                 6002                Various                                                                                             $7.48
KENT KRIEGER                   214 LEMHI RD                                                        SALMON            ID         83467                 6002                Various                                                                                             $4.30
KENT MARBOE JR.                1330 LINDA LN                 APT. 11                               MOSCOW            ID         83843                 6004                Various                                                                                            $27.84
KENT NAUAHI                    645 W BANKSIDE                                                      EAGLE             ID         83616                 6004                Various                                                                                            $15.99
KENT PEARCE                    209 WALNUT AVE                                                      MADISON LAKE      MN         56063                 6002                Various                                                                                             $7.59
KENT PETZOLD                   53 SPENCER VILLAGE CT APT 9                                         APPLETON          WI         54914                 6002                Various                                                                                             $0.58
KENT PHIFER                    77780 S MASON RD                                                    MASON CITY        NE         68855                 6002                Various                                                                                             $2.49
KENT R. WHEELER                118 WHEELER RD                                                      BEDFORD           WY         83112                 6002                Various                                                                                             $7.48
KENT ROHM                      1852 MEMOSA                                                         NEENAH            WI         54956                 6002                Various                                                                                             $0.96
KENT STEVENSON                 337E 4TH AVE                                                        AFTON             WY         83110                 6002                Various                                                                                            $20.82
KENT STINGER                   2022 CAREFREE CR                                                    WEST JORDAN       UT         84084                 6004                Various                                                                                             $4.00
KENT URBAN                     PO BOX 81                                                           BUSHTON           KS         67427                 6002                Various                                                                                             $1.40
KENT WAYMENT                   660 S 200TH W                                                       GARLAND           UT         84312                 6002                Various                                                                                             $1.18
                                                             HAZARDOUS
                                                             MATERIALS         101 SEA HERO ROAD
KENTUCKY STATE TREASURER       DIVISION OF FIRE PROTECTION   SECTION           SUITE 100           FRANKFORT         KY         40601-5405             1217               Various                                                                                            $50.00
KENYA HACKENMILLER             207 WEST 2ND ST                                                     SAINT ANSGAR      IA         50472                  6004               Various                                                                                           $100.00
KENYARA QUARLES                4717 CHICAGO ST               APT 1                                 OMAHA             NE         68132                  6004               Various                                                                                             $4.00
KENYON HANSEN                  N11452 M-95                                                         CHANNING          MI         49815                  6002               Various                                                                                             $3.75
KENYON MADSEN                  4334 S HERMAN DR                                                    WEST VALLEY CIT   UT         84119                  6002               Various                                                                                             $3.92
KENYON WILLCUT                 29 GENERATION WAY                                                   COLUMBIA FALLS    MT         59912                  6004               Various                                                                                             $9.95
KENZIE JENKS                   45 N 400 E                                                          HYRUM             UT         84319                  6004               Various                                                                                            $30.00
KENZIE SCHOW                   1102 HILL ST                                                        HARLAN            IA         51537                  6002               Various                                                                                             $3.81
KENZIE WESSELY                 742 WOODROW STREET                                                  DENMARK           WI         54208                  6004               Various                                                                                            $20.00
KEON SUTTON                    1224 WHIPPLE                                                        BELOIT            WI         53511                  6004               Various                                                                                             $2.00
KEON VANCE                     1312 OAK ST                                                         BELOIT            WI         53511                  6004               Various                                                                                             $2.00
KEOOUDONE KHAMDOUANG           1707 E 9400TH S                                                     SANDY             UT         84093                  6002               Various                                                                                             $5.26
KERA S. JOHNSON                3416 BELMONT RD                                                     COEUR D ALENE     ID         83815                  6002               Various                                                                                             $1.56
KERI A HILLIARD                1509 24TH AVE N                                                     SAINT CLOUD       MN         56303                  6002               Various                                                                                             $9.21
KERI BLACKBURN                 21160 PHILLY AVE                                                    BEND              OR         97702                  6004               Various                                                                                            $15.00
KERI HERNANDEZ                 7517 PATRIOT DR.                                                    MAGNA             UT         84044                  6004               Various                                                                                             $9.75
KERI LYNN TRAGIS               311 GRACE ST                                                        FARWELL           MI         48622                  6002               Various                                                                                             $1.26
KERI M SCHREINER               1457 WILDCAT CT APT 301                                             RIVER FALLS       WI         54022                  6002               Various                                                                                             $6.41
KERI MATHIEU                   5580 S 200TH W                                                      WASH TERRACE      UT         84405                  6002               Various                                                                                             $0.68
KERI OSTERCAMP                 510 N JEFFERSON                                                     MASON CITY        IA         50401                  6004               Various                                                                                            $60.00
KERI SANDERS                   1410 LYNN AVE. UNIT #2                                              BILLINGS          MT         59102                  6004               Various                                                                                            $39.98
KERI SANDS                     701 GOLDEN GATE CIR APT 11                                          PAPILLION         NE         68046                  6002               Various                                                                                             $6.60
KERI SCHREITER                 4005 TOWN LAKES CIR           APT. 10105                            APPLETON          WI         54913                  6004               Various                                                                                            $34.00
KERI SIMUNEK                   27301 SIMUNEK COURT                                                 HOT SPRINGS       SD         57747                  6004               Various                                                                                            $84.00
KERI SOLIS                     760 GREEN BAY DR UNIT 6                                             MAYVILLE          WI         53050                  6002               Various                                                                                             $8.16
KERI WILLIAMS                  46161 SD HWY # 10 PMB BOX                                           SISSETON          SD         57262                  6002               Various                                                                                             $5.97
KERIANNA DISTERHAFT            382 E FIRST ST                                                      FOND DU LAC       WI         54935                  6002               Various                                                                                             $8.33
KERIE E WORTLEY                1674 SIERRA DR                                                      POCATELLO         ID         83201                  6002               Various                                                                                             $4.60
KERIN TAYLOR                   6734 COVE CREEK DRIVE                                               BILLINGS          MT         59106                  6004               Various                                                                                             $1.60

KERRI B SHIDELER               1457 SWEETWATER RD APT B-11                                         DOUGLAS           WY         82633                   6002              Various                                                                                               $1.37
KERRI KLABENES                 85982 488TH AVE                                                     CHAMBERS          NE         68725                   6002              Various                                                                                               $4.82




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               Creditor Name                  Address1                 Address2        Address3              City         State           Zip   Country     Number              Claim                                                                             Total Claim
KERRI MAHLER                      N 5246 GLADSTONE ST                                               CHATAM           MI           49816                 6002              Various                                                                                               $5.42
                                  OREGON STATE UNIVERSITY 926
KERRI WALDRON                     WEST COMPLEX                                                      CORVALLIS        OR           97331                   6004            Various                                                                                          $134.98
KERRY A WOLFORD                   2540 WOOD LN                                                      GREEN BAY        WI           54313                   6002            Various                                                                                             $7.40
KERRY ALTINTOP                    710 HOGAN CT                                                      POPLAR GROVE     IL           61065                   6002            Various                                                                                             $0.60
KERRY BARNES                      11701 TIAHALISH AVE SE                                            OLYMPIA          WA           98513                   6004            Various                                                                                            $20.00
KERRY BENNETT                     40 ROSIES LANE                                                    SAND COULEE      MT           59472                   6004            Various                                                                                            $23.00
KERRY BRAWNER                     415 CLINES FORD DR                                                BELVIDERE        IL           61008                   6002            Various                                                                                             $0.74
KERRY CHADWICK                    BOX 1414                                                          AFTON            WY           83110                   6002            Various                                                                                             $6.11
KERRY FACKRELL                    5834 S. ORCHID WAY                                                BOISE            ID           83716                   6004            Various                                                                                            $40.00
KERRY HARDACRE                    12247 US HIGHWAY 14A                                              STURGIS          SD           57785                   6002            Various                                                                                             $5.53
KERRY HOWIE                       19373 MAIN ST                                                     WHITE OWL        SD           57792                   6002            Various                                                                                             $6.99
KERRY KAUFMAN                     1132 VAN ARSDOL STREET                                            CLARSTON         WA           99403                   6004            Various                                                                                             $1.50
KERRY MILKIE                      1909 HOWE STREET                                                  RACINE           WI           53403                   6004            Various                                                                                            $20.00
KERRY NYQUIST                     524 SPRUCE ST                                                     MARQUETTE        MI           49855                   6002            Various                                                                                             $2.22
KERRY PORTER                      BOX 535                                                           SALMON           ID           83467                   6002            Various                                                                                            $10.82
KERRY REXFORD                     27496 COUNTY ROAD 57 1/2                                          KERSEY           CO           80644                   6002            Various                                                                                             $2.33
KERRY SCHAEFER                    1118 N GREEN GROVE RD                                             APPLETON         WI           54911                   6002            Various                                                                                             $5.92
KERRY SCOTT                       4130 E 140 N                                                      RIGBY            ID           83442                   6004            Various                                                                                          $210.89
KERRY ZEJDLIK                     1726 11TH AVE N                                                   GRAND FORKS      ND           58203                   6002            Various                                                                                             $6.19
KERSTIN A JEROME                  28213 510TH AVE                                                   SALOL            MN           56756                   6002            Various                                                                                             $1.37
KERVIN STEEN                      11448 465TH AVE                                                   SISSETON         SD           57262                   6002            Various                                                                                             $2.58
KESEAN HALLOM                     1732 WISCONSIN AVE.                                               BELOIT           WI           53511                   6004            Various                                                                                             $1.00
KESSLERS                          621 6TH AVENUE SE                                                 ABERDEEN         SD           57401                   1658            Various                                                                                          $119.15
KETHEL LEE TROTTER                1465 COUNTY ROAD 178                                              CORNING          AR           72422                   6002            Various                                                                                             $5.21
KETTERLING SERVICES               401 S CEDAR ST                                                    LUVERNE          MN           56156                                   Various                                                                                          $589.68
KETTLE RIVER PIZZA INC            PO BOX 97                                                         ASKOV            MN           55704                   2227            Various                                                                                         $1,389.40
KETTLER INTERNATIONAL INC(C-HU    1355 LONDON BRIDGE ROAD                                           VIRGINIA BEACH   VA           23453                   7089            Various                                                                                         $3,394.75
KETZIAH FERRAL                    235 DUROSE TER                                                    MADISON          WI           53705                   6004            Various                                                                                             $2.00
KEVEN BELL                        401 MILTON AVE.                                                   JANESVILLE       WI           53545                   6004            Various                                                                                             $2.00
KEVEN RAWSTERN                    7404 HELEN DR                                                     BLACK HAWK       SD           57718                   6002            Various                                                                                             $2.88
KEVIN A LIAS                      1138 N 6TH ST                                                     COEUR D ALENE    ID           83814                   6002            Various                                                                                             $0.49
KEVIN A RUSE                      245 S MELITA RD                                                   STERLING         MI           48659                   6002            Various                                                                                             $6.41
KEVIN ALBRECHT                    W5899 MARINER HILLS COURT                                         ELKHORN          WI           53121                   6004            Various                                                                                             $3.00
KEVIN AMOS                        332 WAMBDI ST                                                     SISSETON         SD           57262                   6002            Various                                                                                             $9.07
KEVIN ANDERSON                    406 PARK ST                                                       BANCROFT         NE           68004                   6002            Various                                                                                             $7.20
KEVIN B WELLS                     1801 S VERMONT AVE                                                BOISE            ID           83706                   6002            Various                                                                                             $2.19
KEVIN B. CRONIN                   1215 BOUNDARY RD                                                  MIDDLETON        WI           53562                   6002            Various                                                                                             $5.53
KEVIN BLANEY                      1300 ALPINE DR                #203                                GREEN BAY        WI           54311                   6004            Various                                                                                             $7.00
KEVIN BORGELT                     PO BOX 198                                                        BEEMER           NE           68716                   6002            Various                                                                                             $2.52
KEVIN BUERKE                      1516 OAKES ST                                                     MARINETTE        WI           54143                   6004            Various                                                                                             $2.00
KEVIN BULLIS                      1272 W. SATINWOOD LANE                                            WHITEWATER       WI           53190                   6004            Various                                                                                            $25.00
KEVIN C HOSKING                   678 N MAIN ST                                                     FALL RIVER       WI           53932                   6002            Various                                                                                             $0.38
KEVIN CHALLE                      1033 NORFIELD RD                                                  SUAMICO          WI           54173                   6004            Various                                                                                             $5.00
KEVIN CLARKE                      N3206 HIGHWAY 42                                                  KEWAUNEE         WI           54216                   6002            Various                                                                                            $10.00
KEVIN CLAUSSEN                    406 E DOUGLAS ST                                                  ONEILL           NE           68763                   6002            Various                                                                                             $1.04
KEVIN CLOWARD                     156 E 300TH N                                                     SPANISH FORK     UT           84660                   6002            Various                                                                                             $2.88
KEVIN CORNILS                     845 NORTH 10TH STREET                                             MANITOWOC        WI           54220                   6004            Various                                                                                             $2.00
KEVIN COTA                        3942 BOARDWALK ST                                                 EAU CLAIRE       WI           54701                   6004            Various                                                                                            $46.67
KEVIN D MARKEN                    12098 FULRATH MILL RD                                             MOUNT CARROLL    IL           61053                   6002            Various                                                                                             $3.95
KEVIN DANIELS                     1401 S DRISCOLL ST APT 112                                        APPLETON         WI           54914                   6002            Various                                                                                             $9.70
KEVIN DENNIS                      374 E 17TH ST                                                     IDAHO FALLS      ID           83404                   6002            Various                                                                                             $1.21
KEVIN DIMICK                      3712 W PIONEER RD                                                 OGDEN            UT           84404                   6002            Various                                                                                             $1.04
KEVIN DRESDOW                     923 WHITEWATER AVENUE                                             FORT ATKINSON    WI           53538                   6004            Various                                                                                            $15.70




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                                                                                                                                                                                                        Unliquidated
                                                                                                                                                                                           Contingent


                                                                                                                                                                                                                       Disputed
                                                                                                                                                  Last 4 Digits of     Date Debt was
                                                                                                                                                     Account         Incurred, Basis for
              Creditor Name                Address1              Address2         Address3              City       State           Zip   Country     Number                Claim                                                                             Total Claim
KEVIN DUANE BOSCH              11968 WHIPPLE RD                                                SISSETON         SD         57262                 6002                Various                                                                                                $0.79
KEVIN ECKER                    325 COURT ST                                                    STOCKBRIDGE      WI         53088                 6004                Various                                                                                                $2.00
KEVIN ELLIOTT                  7624 NINA ST                                                    OMAHA            NE         68127                 6004                Various                                                                                                $9.97
KEVIN F SCHERMANN              601 MAIN ST W                                                   SILVER LAKE      MN         55381                 6002                Various                                                                                                $6.22
KEVIN FRANCK                   NE1379 DAYTON RD                                                WAUPACA          WI         54981                 6002                Various                                                                                                $6.58
KEVIN FRANK                    3124 FIELDCRST DR                                               KAUKAUNA         WI         54130                 6002                Various                                                                                                $6.16
KEVIN GANSEVELD                3355 YALE AVE                                                   FOREST CITY      IA         50436                 6002                Various                                                                                                $1.26
KEVIN GLEIM                    2710 GRAND CAYMAN DRIVE                                         EUGENE           OR         97408                 6004                Various                                                                                               $25.00
KEVIN GRANDKE                  934 HAYES AVENUE                                                RACINE           WI         53405                 6004                Various                                                                                                $5.00
KEVIN GRIFFIN                  1286 COUNTY ROAD 303                                            LOOP             TX         79342                 6002                Various                                                                                                $5.81
KEVIN HANSEN                   52 CANTERBURY LN                                                LOGAN            UT         84321                 6002                Various                                                                                                $4.08
KEVIN HARDIE                   4647 GEANO BEACH RD                                             LITTLE SUAMICO   WI         54141                 6004                Various                                                                                               $12.00
KEVIN HATCH                    9717 E 6TH APT 313                                              SPOKANE          WA         99206                 6004                Various                                                                                               $24.30
KEVIN HEARD                    750 GLENARM ST                                                  CASPER           WY         82601                 6002                Various                                                                                                $5.75
KEVIN HERRICK                  1249 ROAD 2100                                                  GUIDE ROCK       NE         68942                 6002                Various                                                                                                $4.33
KEVIN HILL                     271 1ST AVE SW                                                  BRITT            IA         50423                 6002                Various                                                                                                $1.18
KEVIN HOHL                     1373 HWY 2                                                      DONNELLSON       IA         52625                 6004                Various                                                                                               $25.00
KEVIN HUMMER                   1354 GRAND AVE                                                  SCHOFIELD        WI         54476                 6004                Various                                                                                               $25.00
KEVIN J HALL                   PO BOX 30                                                       EPHRAIM          WI         54211                 6002                Various                                                                                                $7.53
KEVIN J MERVAR                 16182 INDIAN CEMETARY RD                                        LANSE            MI         49946                 6002                Various                                                                                                $8.90
KEVIN J RUSTAN                 947 FISHBURN DR                                                 BRIGHAM CITY     UT         84302                 6002                Various                                                                                                $3.67
KEVIN JEPSEN                   110 THAYER DR                                                   RICHLAND         WA         99352                 6004                Various                                                                                                $9.00
KEVIN JESTER                   316 N FOREST DR                                                 COEUR D ALENE    ID         83814                 6002                Various                                                                                               $10.00
KEVIN JOHN STUTZMAN            24404 320TH ST                                                  JAMESPORT        MO         64648                 6002                Various                                                                                                $2.55
KEVIN JURGENS                  1434 N. 24TH                                                    LINCOLN          NE         68503                 6004                Various                                                                                               $10.00
KEVIN KEENAN                   1521 18TH AVENUE                                                LEWISTON         ID         83501                 6004                Various                                                                                                $5.10
KEVIN KITE                     213 N HALL ST                                                   VALENTINE        NE         69201                 6002                Various                                                                                                $3.67
KEVIN KLUGE                    T1258 HWY WW                                                    WAUSAU           WI         54403                 6004                Various                                                                                                $4.00
KEVIN KROLIKOWSKI              3030 SARDIUS CT                                                 LINCOLN          NE         68516                 6004                Various                                                                                                $9.58
KEVIN KUTZIK                   720 S MAIN STREET                                               FOND DU LAC      WI         54935                 6666                Various                                                                                               $29.98
KEVIN KYHN                     6701 VINE ST                                                    LINCOLN          NE         68505                 6002                Various                                                                                                $5.81
KEVIN L ECKERT                 45994 SHANASKA CREEK RD                                         SAINT PETER      MN         56082                 6002                Various                                                                                                $0.99
KEVIN L ELLIOTT                5049 S BADGER PL                                                BOISE            ID         83709                 6002                Various                                                                                                $9.04
KEVIN L GREEK                  213 E COLLEGE AVE                                               APPLETON         WI         54911                 6002                Various                                                                                                $3.67
KEVIN L MCCASLIN               632 CHERRY AVE                                                  BROKEN BOW       NE         68822                 6002                Various                                                                                                $3.42
KEVIN LANDHOLM                 831 N MAIN ST                                                   WEST POINT       NE         68788                 6002                Various                                                                                                $5.37
KEVIN LARSON                   NEED TO ASK                                                     RIVER FALLS      WI         54022                 6004                Various                                                                                               $12.50
KEVIN LASCO                    203 RODCHESTER ST                                               SARATOGA         WY         82331                 6002                Various                                                                                                $9.97
KEVIN LASHER                   2144 CENTRAL AVE MOBILE # 1                                     SIDNEY           MT         59270                 6002                Various                                                                                                $8.05
KEVIN LEHMAN                   N1902 N SHORE RD                                                FORT ATKINSON    WI         53538                 6002                Various                                                                                                $1.21
KEVIN LEIGHTY                  2215 S MAPLE AVE                                                MARSHFIELD       WI         54449                 6004                Various                                                                                               $36.00
KEVIN LONERGAN                 7470 N PURDY PKWY                                               APPLETON         WI         54913                 6002                Various                                                                                                $7.75
KEVIN M ALLCOX                 301 S 1ST ST APT 2                                              WINNECONNE       WI         54986                 6002                Various                                                                                                $7.73
KEVIN M LUCAS                  1323 N TAHOE TRL                                                SIOUX FALLS      SD         57110                 6002                Various                                                                                                $0.36
KEVIN M MCCORMICK              215 N CHESTNUT AVE                                              NEW HAMPTON      IA         50659                 6002                Various                                                                                                $4.19
KEVIN MASON                    446 N 6TH ST                                                    FOREST CITY      IA         50436                 6004                Various                                                                                               $15.00
KEVIN MCEWAN                   6249 W GENEVA ST                                                BOISE            ID         83703                 6004                Various                                                                                               $24.96
KEVIN MIHELICH                 56476 LAURIUM ST                                                CALUMET          MI         49913                 6002                Various                                                                                                $0.79
KEVIN MILLER                   28466 SUNNYBROOK RD                                             HOT SPRINGS      SD         57747                 6002                Various                                                                                                $2.60
KEVIN MORETON                  10037 S MAJESTIC CANYON RD                                      SANDY            UT         84092                 6002                Various                                                                                                $3.10
KEVIN MUCHOW                   1119 N PARK ST                                                  FERGUS FALLS     MN         56537                 6002                Various                                                                                                $7.53
KEVIN MURPHY                   600 N. KENSINGTON DR.         APT 1                             APPLETON         WI         54915                 6004                Various                                                                                               $27.02
KEVIN NAKANO                   2421 LUKE'S GULCH ROAD                                          STITES           ID         83552                 6004                Various                                                                                               $20.00
KEVIN NEU                      13123 E. 8TH                                                    SPOKANE          WA         99216                 6004                Various                                                                                               $22.65




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                                                                                                                                                                                                 Contingent


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                                                                                                                                                           Account         Incurred, Basis for
             Creditor Name                       Address1             Address2        Address3             City          State           Zip   Country     Number                Claim                                                                             Total Claim
KEVIN NGUY                           8629 NORTH SALMON BERRY                                       HAYDEN             ID         83835                 6004                Various                                                                                               $11.41
KEVIN NORTHOUSE                      8240 E 9TH ST                                                 WINONA             MN         55987                 6002                Various                                                                                                $1.56
KEVIN PETERS                         215 MARGUIRITE CT                                             MAYVILLE           WI         53050                 6002                Various                                                                                                $9.01
KEVIN PONTEL                         PO BOX 411                                                    FORT ATKINSON      WI         53538                 6004                Various                                                                                                $2.00
                                                               4350 MONTANA
KEVIN PURVIS                         LOT 13                    AVENUE                              HELENA             MT         59602                  6004               Various                                                                                               $15.00
KEVIN R. COX                         407 1ST ST NE                                                 OELWEIN            IA         50662                  6002               Various                                                                                                $6.55
KEVIN REAR                           11045 BLUEBELL LN                                             BELLE FOURCHE      SD         57717                  6002               Various                                                                                                $4.00
KEVIN REESE                          115 MARY STREET                                               WATERTOWN          WI         53094                  6004               Various                                                                                                $7.00
KEVIN REIBLE                         5705 OAK LANE                                                 DANE               WI         53529                  6004               Various                                                                                                $1.00
KEVIN RICHMEIER                      908 AVENUE G                                                  PLATTSMOUTH        NE         68048                  6002               Various                                                                                                $3.62
KEVIN ROBERT JOHNSON                 2125 CLOUDVIEW CT                                             APPLETON           WI         54914                  6002               Various                                                                                                $2.58
KEVIN ROBINSON                       5660 ROBINSON LN                                              MORGAN             UT         84050                  6002               Various                                                                                                $8.05
KEVIN ROSENBERG                      1915 MADISON AVE                                              BURLINGTON         IA         52601                  6004               Various                                                                                               $44.97
KEVIN ROUTE                          10860 STACY TRAIL                                             CHISAGO CITY       MN         55013                  6004               Various                                                                                               $11.22
KEVIN RUPPEL                         1112 N DREW ST                                                APPLETON           WI         54911                  6002               Various                                                                                                $2.68
KEVIN RUSH                           4701 CHATHAM LN                                               SIOUX CITY         IA         51104                  6002               Various                                                                                                $8.93
KEVIN S AUGUST                       1218 OAKMEADOW DIR                                            IDAHO FALLS        ID         83406                  6002               Various                                                                                                $9.78
KEVIN SHAUL                          531 N WOODWARD ST                                             AINSWORTH          NE         69210                  6002               Various                                                                                                $7.34
KEVIN SHEPHERD                       1227 S 75TH AVE # C                                           YAKIMA             WA         98908                  6004               Various                                                                                               $29.00
KEVIN SMITH                          2858 DRAKE PLACE                                              GREEN BAY          WI         54313                  6004               Various                                                                                               $26.37
KEVIN SNEVE                          202 W MAIN STREET                                             KENDRICK           ID         83537                  6004               Various                                                                                               $11.00
KEVIN STARK                          2509 RIVERSIDE AVE                                            GREENFIELD         IA         50849                  6002               Various                                                                                                $9.18
KEVIN STONE                          4241 CHADWYCK DR                                              JANESVILLE         WI         53546                  6004               Various                                                                                               $25.00
KEVIN STUBBENDICK                    824 FOXGLOVE DR                                               SUN PRAIRIE        WI         53590                  6004               Various                                                                                               $49.60
KEVIN SULLIVAN                       12951 400TH ST                                                GOODHUE            MN         55027                  6004               Various                                                                                                $3.00
KEVIN TENNY                          8512 GRANVILLE PKWY       #316                                LA VISTA           NE         68128                  6004               Various                                                                                                $2.00
KEVIN THOMAS                         323 N 7TH ST                                                  THERMOPOLIS        WY         82443                  6002               Various                                                                                                $4.25
KEVIN THOWLESS                       1114 N ONEIDA ST                                              APPLETON           WI         54911                  6004               Various                                                                                               $45.00
KEVIN TOTTEN                         150 SHERIDAN ST                                               NEWCASTLE          WY         82701                  6002               Various                                                                                                $7.64
KEVIN TRIEBS                         20987 140TH ST                                                BLOOMER            WI         54724                  6004               Various                                                                                                $8.00
KEVIN TRUE                           802 16TH ST                                                   GOTHENBURG         NE         69138                  6002               Various                                                                                                $4.27
KEVIN WEISS                          PO BOX 3144                                                   COEUR D ALENE      ID         83816                  6002               Various                                                                                                $4.38
KEVIN WELP                           805 14TH AVE NE                                               ROCHESTER          MN         55906                  6002               Various                                                                                                $6.11
KEVIN WELSCH                         1204 W JEFFERSON ST                                           WINTERSET          IA         50273                  6002               Various                                                                                                $5.84
KEVIN WIECHERT                       PO BOX 1180                                                   BUFFALO            WY         82834                  6002               Various                                                                                                $2.00
KEVIN WILKE                          304 3RD ST NE APT 403                                         MASON CITY         IA         50401                  6002               Various                                                                                                $6.96
KEVIN WILLE                          207 SEIPLLE BLVD                                              BEAVER DAM         WI         53916                  6004               Various                                                                                                $2.00
KEVIN WILLIS                         508 W COOK ST                                                 NEW LONDON         WI         54961                  6002               Various                                                                                                $2.38
KEVIN WITT                           12425 CASTELAR STREET                                         OMAHA              NE         68144                  6004               Various                                                                                               $10.80
                                                                                                                                                                           10/30/2018 -
KEWAUNEE WATER & SEWER UTILITY,WI    P.O. BOX 256                                                  KEWAUNEE           WI         54216-0256              0-00-6            12/26/2018                                                                                        $243.48

KEYANA SUNDERLAND                    251 8TH AVE N                                                 WISCONSIN RAPIDS   WI         54495                  6004               Various                                                                                             $1.00
KEYERIA BOSTICK                      5528 64TH AVE                                                 KENOSHA            WI         53144                  6004               Various                                                                                             $3.00
KEYLEE PHALIN                        1423 LORAIN CT                                                APPLETON           WI         54914                  6002               Various                                                                                             $5.78
KEYONDRA TOWNSELL                    4527 DECATUR ST APT 12                                        OMAHA              NE         68104                  6004               Various                                                                                             $4.00
KEYONNA CORNELL                      1900 ROCKPORT ROAD #C                                         JANESVILLE         WI         53548                  6004               Various                                                                                             $2.00
KEYSOURCE MEDICAL INCORPORATED       PO BOX 953                                                    MIDDLETOWN         OH         45044-0953             0208               Various                                                                                       $168,275.60
KFORCE INCORPORATED                  PO BOX 277997                                                 ATLANTA            GA         30384-7997             9498               Various                                                                                        $17,560.96

KGCX RADIO SERVICES                  3501 ALGONQUIN RD 358                                         ROLLING MEADOWS IL            60008                  6533               Various                                                                                           $194.00
KHADIEJA ABUZAHO                     4415 N 1ST., APT # 48                                         LINCOLN         NE            68521                  6004               Various                                                                                             $4.00
KHADIJAH WATKINS                     1801 WHITTIER ST                                              LINCOLN         NE            68503                  6004               Various                                                                                             $1.26




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                                                                                                                                                        Account         Incurred, Basis for
              Creditor Name                  Address1              Address2         Address3                City       State         Zip    Country     Number                Claim                                                                             Total Claim
KHADIJO ALI                       320 1ST ST                  APT 218                              ROCHESTER        MN         55906                6004                Various                                                                                             $6.00
KHADRA AMIN                       316 LAUDENBACH CT #215                                           SAINT CLOUD      MN         56301                6004                Various                                                                                             $3.00
KHADRA SALAH                      2001 17TH ST SE             APT 13                               ROCHESTER        MN         55904                6004                Various                                                                                             $6.00
KHAI HANG                         1440 JOHNSTON DRIVE                                              MANITOWOC        WI         54220                6004                Various                                                                                            $17.50
KHALE SCHERER                     909 SOUTH 25TH STREET                                            NAMPA            ID         83686                6004                Various                                                                                            $12.20
KHALEESI MORAN                    1205 S 3RD ST                                                    NORFOLK          NE         68701                6002                Various                                                                                             $2.30
KHALIF MOHAMED                    50 15TH AVE. N.             APT 87                               WAITE PARK       MN         56387                6004                Various                                                                                             $3.00
KHANH LAI                         1412 JONES ST                                                    SIOUX CITY       IA         51105                6004                Various                                                                                            $15.00
KHANH NGUYEN                      3966 SUGAR BEET DRIVE                                            SALT LAKE CITY   UT         84120                6004                Various                                                                                             $1.00
KHANSAA MAAR                      920 MAYOWOOD RD SW                                               ROCHESTER        MN         55902                6004                Various                                                                                            $15.00
KHANSAVANH PHOUTHONE              55904 156TH ST                                                   GOOD THUNDER     MN         56037                6004                Various                                                                                             $3.00
KHANTHALY THEPPHONE               927 NORTH CHESTNUT                                               GREEN BAY        WI         54303                6004                Various                                                                                            $23.00
KHARIONNA BARDEN                  1623 CANARY                                                      BILLINGS         MT         59101                6004                Various                                                                                             $4.00
KHARISMA TANNER                   1205 GENEVA ST              APT B                                RACINE           WI         53404                6004                Various                                                                                             $3.00
KHEM PHACHOMPHON                  3060 W 3650TH APT 49                                             SALT LAKE CITY   UT         84119                6002                Various                                                                                             $2.60
KHIA MODERSON                     1469 LAKESHORE DRIVE                                             MENASHA          WI         54952                6004                Various                                                                                             $1.00
KHOA LUU                          630 VILLAGE AVE.                                                 LINCOLN          NE         68503                6004                Various                                                                                             $2.00
KHOM KOEUM                        1 KESSEL COURT #35                                               MADISON          WI         53711                6004                Various                                                                                             $1.00
KHOUA NENG YANG                   6514 QUINTEN ST                                                  WESTON           WI         54476                6002                Various                                                                                             $4.99
KHRISTIAN CAROLLO                 2311 OLD HWY 69                                                  FLORENCE         WI         54121                6004                Various                                                                                             $2.00
KIANA ANDERSON                    W6170 HIGHWAY 180                                                MARINETTE        WI         54143                6002                Various                                                                                             $4.14
KIANDRA GERALD                    1334 CHIEF HILL DR                                               GREEN BAY        WI         54313                6004                Various                                                                                            $25.00
KIARA BLASER                      3387 FALK RD                                                     ABRAMS           WI         54101                6002                Various                                                                                             $7.84
KIARA R SAYLOR                    159 S PLACER AVE APT 2                                           IDAHO FALLS      ID         83402                6002                Various                                                                                             $3.29
KIDCO INCORPORATED                1013 TECHNOLOGY WAY                                              LIBERTYVILLE     IL         60048-5349           7364                Various                                                                                         $2,950.38
KIDKRAFT LP (C-HUB)               PO BOX 674299                                                    DALLAS           TX         75267-4299           1156                Various                                                                                        $33,975.90
KIDS II INCORPORATED              DEPT 40335                  PO BOX 740209                        ATLANTA          GA         30374-0209           7554                Various                                                                                        $89,807.86
KIDS PREFERRED LLC                PO BOX 150290                                                    OGDEN            UT         84415-0290           5358                Various                                                                                        $30,958.64
KIEFER MEYER                      1138 SHERMAN RIDGE RD                                            WAUKON           IA         52172                6002                Various                                                                                             $3.56
                                  3322 WASHINGTON AVE, P.O.
KIEFFER & CO.                     BOX 1087                                                         SHEBOYGAN        WI         53082-1087                               Various                                                                                        $18,916.06
KIEFFER & COMPANY INCORPORATED    PO BOX 1087                                                      SHEBOYGAN        WI         53082-1087             3967              Various                                                                                       $200,176.14
KIEFFER SANITATION                2426 E SAINT PATRICK S                                           RAPID CITY       SD         57703                                    Various                                                                                          $617.48
KIELY HUGHEY                      1319 DELTA AVE                                                   GLADSTONE        MI         49837                 6002               Various                                                                                             $9.84

KIER/ AMY                         STORE 2-696                 SHOPKO EMPLOYEE 505 W HOLME STREET   NORTON           KS         67654                 1717               Various                                                                                               $72.45
KIERA A ROBINSON                  2226 8TH ST                                                      MONROE           WI         53566                 6002               Various                                                                                                $2.49
KIERA PARKER                      3305 MARTIN AVE                                                  OMAHA            NE         68112                 6004               Various                                                                                                $2.00
KIERRA NELSON                     1153 BOUGHTON ST APT 10E                                         WATERTOWN        WI         53098                 6004               Various                                                                                                $1.00
KIERSTEN LESLIE                   6 CLINK CT                                                       HELENA           MT         59602                 6002               Various                                                                                                $6.99

KIESELHORST/ BRITNEY              STORE 2-125                 SHOPKO EMPLOYEE                      GREEN BAY        WI         54307-9060            0235               Various                                                                                            $60.37
KIJAH FARAGHER                    206 S DAVIESS ST                                                 GALLATIN         MO         64640                 6002               Various                                                                                             $9.84
KIK INTERNATIONAL                 DEPT CH 14106                                                    PALATINE         IL         60055-1406            5162               Various                                                                                        $37,246.09
KIKKERLAND DESIGN INC             666 BROADWAY 4TH FLOOR                                           NEW YORK         NY         10012                 9336               Various                                                                                         $7,742.89

KILBY/ MICHELLE                   STORE 4-045                 SHOPKO EMPLOYEE                      GREEN BAY        WI         54307-9060            0114               Various                                                                                           $155.52
KILE TREVITHICK                   423 BATES ST                                                     CORNELL          WI         54732                 6004               Various                                                                                             $3.00
KILEIGH FINNEGAN                  506 ISLAND DR.                                                   DE FOREST        WI         53532                 6004               Various                                                                                             $5.40
                                                                              650 W BEAVERBROOK
KILGORE/ CASSIE                   STORE 632                   SHOPKO EMPLOYEE AVE                  SPOONER          WI         54801                 5051               Various                                                                                                $8.18
KILYNN TAYLOR                     1425 FIELD STREAM # 1103                                         TWIN FALLS       ID         83301                 6004               Various                                                                                                $3.65
KIM A KLEIN                       59106 403RD AVE                                                  ZUMBRO FALLS     MN         55991                 6002               Various                                                                                                $3.21
KIM ASHTON                        9161 S WILDFIRE ROSE LANE                                        SANDY            UT         84070                 6004               Various                                                                                                $6.63




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                                                                                                                                                                                             Contingent


                                                                                                                                                                                                                         Disputed
                                                                                                                                                    Last 4 Digits of     Date Debt was
                                                                                                                                                       Account         Incurred, Basis for
              Creditor Name                Address1                Address2         Address3              City       State           Zip   Country     Number                Claim                                                                             Total Claim
KIM AZURE                      PO BOX 832                                                        WOLF POINT       MT         59201                 6002                Various                                                                                                $4.47
KIM BARKER                     845 N 6TH ST SPC 6                                                LANDER           WY         82520                 6002                Various                                                                                                $5.67
KIM BEYER                      135 N SECTION ST               APT 5                              NEKOOSA          WI         54457                 6004                Various                                                                                                $3.00
KIM BLONG                      PO BOX 1504                                                       COEUR D ALENE    ID         83816                 6002                Various                                                                                                $5.89
KIM BOSWELL                    PO BOX 43                                                         CASTLEWOOD       SD         57223                 6002                Various                                                                                                $7.75
KIM BURCHARD                   1207 DEPERE ST                                                    MENASHA          WI         54952                 6002                Various                                                                                                $0.36
KIM CARTER                     P O BOX 568                                                       ATHENA           OR         97813                 6004                Various                                                                                               $40.00
KIM CHESHIRE                   1939 VILLAGE WAY                                                  OGDEN            UT         84403                 6002                Various                                                                                                $1.70
KIM CLAY                       1268 GOSS AVE                                                     MENASHA          WI         54952                 6002                Various                                                                                                $5.73
KIM DECEMBER                   101 W MISSISSIPPI DRIVE #400                                      MUSCATINE        IA         52761                 6004                Various                                                                                               $10.00
KIM E. WILSON                  1119 10TH AVE S                                                   NAMPA            ID         83651                 6002                Various                                                                                                $0.49
KIM FRYE                       961 WOODLAND PLACE                                                JACKSONVILLE     IL         62650                 6004                Various                                                                                                $6.13
KIM GENZ                       1809 N LAVISTA HEIGHTS RD                                         AVOCA            IA         51521                 6002                Various                                                                                                $6.93
KIM GITTEL                     PO BOX 83                                                         KINGSTON         ID         83839                 6002                Various                                                                                                $1.62
KIM GOTTFRIED                  339 E SHARON STREET                                               LE CENTER        MN         56057                 6002                Various                                                                                                $3.33
KIM HAWS                       PO BOX 75                                                         NEWTON           UT         84327                 6002                Various                                                                                                $0.38
KIM HOOVER                     2020 E CAPITOL                                                    GRAND ISLAND     NE         68801                 6004                Various                                                                                                $1.04
KIM HOPKINS                    332 SALLY ST                                                      SEYMOUR          WI         54165                 6004                Various                                                                                               $14.00
KIM JENSEN                     906 2ND AVE N.E                                                   AUSTIN           MN         55912                 6004                Various                                                                                                $3.00
KIM KABELOWSKY                 1428 N 9 ST                                                       MANITOWOC        WI         54220                 6004                Various                                                                                               $15.00
KIM KIRBY                      707 3RD AVE                                                       BREWSTER         MN         56119                 6004                Various                                                                                                $3.00
KIM KITTELSON                  46809 2ND AVE                                                     ROSHOLT          SD         57260                 6002                Various                                                                                                $6.58
KIM KRUEGER                    620 MAIN ST.                                                      SCANDINAVIA      WI         54977                 6004                Various                                                                                               $20.00
KIM L KIRKPATRICK              1271 ZENER ST                                                     POCATELLO        ID         83201                 6002                Various                                                                                                $5.92
KIM LAUNER                     1057 MOORING RD                                                   COLUMBIA FALLS   MT         59912                 6002                Various                                                                                                $0.36
KIM LUTHI                      156 N STATELINE RD                                                FREEDOM          WY         83120                 6002                Various                                                                                                $9.04
KIM M STECKBAUER               4057 BASS LAKE LOOP                                               RHINELANDER      WI         54501                 6002                Various                                                                                                $4.38
KIM MCRAE                      915 BAKER ROAD                                                    SELAH            WA         98942                 6004                Various                                                                                               $10.08
KIM NGAN NGUYEN                1520 COURT STREET                                                 SIOUX CITY       IA         51105                 6004                Various                                                                                                $5.01
KIM OECK                       PO BOX 21328                                                      CHEYENNE         WY         82003                 6002                Various                                                                                                $6.55
KIM PAGE                       601 S 6TH ST                                                      PLATTSMOUTH      NE         68048                 6002                Various                                                                                                $6.46
KIM PEHRSON                    6327 ROCKPORT DR                                                  WEST JORDAN      UT         84081                 6004                Various                                                                                               $16.00
KIM PETERSON                   9710 LARIMORE AVE                                                 OMAHA            NE         68111                 6004                Various                                                                                               $17.00
KIM PETRI                      2005 ARCADIA RD                                                   JACKSONVILLE     IL         62650                 6002                Various                                                                                                $3.92
KIM ROCKWEIT                   254 ROSE AVENUE                                                   FOND DU LAC      WI         54935                 6004                Various                                                                                                $3.21
KIM RUPE                       817 E MURRAY ST                                                   MACOMB           IL         61455                 6002                Various                                                                                                $5.81
KIM SCHIMPF CAPPS              1107 SILVER DR APT 1                                              BARABOO          WI         53913                 6004                Various                                                                                                $2.00
KIM SCHROEDER                  W5234 KING RD                                                     RIO              WI         53960                 6004                Various                                                                                               $21.00
KIM SCHROEDL                   625 GRANT ST                                                      FORT ATKINSON    WI         53538                 6002                Various                                                                                                $2.96
KIM SHEPPARD                   918 N WASHINGTON AVE                                              MADISON          SD         57042                 6002                Various                                                                                                $1.73
KIM SLOAT                      2239 NORTH AVE WEST                                               MISSOULA         MT         59801                 6004                Various                                                                                                $2.00
KIM SONSALLA                   3142 PHOENIX AVE                                                  EAU CLAIRE       WI         54703                 6002                Various                                                                                                $2.16
KIM SORENSON                   7136 TANNERY ROAD              LOT 10                             TWO RIVERS       WI         54241                 6004                Various                                                                                                $3.00
KIM SWANSON                    1411 BRYDEN AVE TRLR 4                                            LEWISTON         ID         83501                 6002                Various                                                                                                $0.88
KIM THAYNE                     1460 CANBERRA DR                                                  LINDON           UT         84042                 6002                Various                                                                                                $7.26
KIM THEILER                    W7701 COUNTY RD. C                                                ARGYLE           WI         53504                 6004                Various                                                                                               $15.00
KIM WALDRON                    105 SQUIRE LN NE                                                  POPLAR GROVE     IL         61065                 6002                Various                                                                                                $6.93
KIM WRIGHT                     961 25TH ST APT 6                                                 OGDEN            UT         84401                 6002                Various                                                                                                $3.62
KIM WULF                       1330 S. ASHLAND AVE.           APT. 3                             GREEN BAY        WI         54304                 6004                Various                                                                                                $1.00
KIM YANKOWSKI                  319 E 2ND ST                                                      AINSWORTH        NE         69210                 6002                Various                                                                                                $8.90
KIMBELA SCOFIELD               1019 N 12TH AVE                                                   BROKEN BOW       NE         68822                 6002                Various                                                                                                $5.95
KIMBER BOWMAN                  7455 OLD BRUNEAU HWY                                              MARSING          ID         83639                 6004                Various                                                                                                $4.37
KIMBERLEE A MILLER             306 PLUM ST                                                       FREDERICKSBURG   IA         50630                 6002                Various                                                                                                $2.96
KIMBERLEE FULTS                521 SKYHAWK RD                                                    SPIRIT LAKE      ID         83869                 6002                Various                                                                                                $6.77




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                                                                                                                                                                                         Contingent


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                                                                                                                                                   Account         Incurred, Basis for
              Creditor Name                   Address1          Address2         Address3              City       State         Zip    Country     Number                Claim                                                                             Total Claim
KIMBERLEE KANE                    221 HIDDEN RIDGES WAY                                       COMBINED LOCKS   WI         54113                6002                Various                                                                                             $1.12
KIMBERLEE LENZ                    180 DYKSTRA DR                                              FALL RIVER       WI         53932                6004                Various                                                                                            $20.00
KIMBERLEY L TOWNSEND              1203 PEONY DR                                               BILLINGS         MT         59105                6002                Various                                                                                             $2.96
KIMBERLEY MORALES                 213 N MAIN ST             APT 3                             STEWARTVILLE     MN         55976                6004                Various                                                                                             $3.00
KIMBERLEY STEVENS                 329 WILCOX STREET                                           FORT ATKINSON    WI         53538                6004                Various                                                                                             $2.00
KIMBERLEY YANKE                   30622 76TH ST                                               SALEM            WI         53168                6004                Various                                                                                             $4.00
KIMBERLY A APPLE                  2041 E C ST                                                 TORRINGTON       WY         82240                6002                Various                                                                                             $9.56
KIMBERLY AURE                     3225 HIGHWAY 2 W                                            KALISPELL        MT         59901                6002                Various                                                                                             $2.68
KIMBERLY BALL                     W3130 W BROADWAY DR                                         APPLETON         WI         54913                6002                Various                                                                                             $3.51
KIMBERLY BAUMANN                  PO BOX 395                                                  HOBSON           MT         59452                6002                Various                                                                                             $5.64
KIMBERLY BELLING                  313 E ROELAND AVE                                           APPLETON         WI         54915                6002                Various                                                                                             $8.44
KIMBERLY BEYER                    135 N SECTION ST          APT 5                             NEKOOSA          WI         54457                6004                Various                                                                                             $4.00
KIMBERLY BLAKE                    3516 MIDVALE DRIVE #2                                       JANESVILLE       WI         53546                6004                Various                                                                                             $2.00
KIMBERLY BLEIFUS                  3331 68TH ST SE                                             ROCHESTER        MN         55904                6002                Various                                                                                             $2.25
KIMBERLY BLOSS                    823 GEORGE ST                                               LA CROSSE        WI         54603                6002                Various                                                                                             $3.26
KIMBERLY BRADEN                   229 CHEROKEE DR                                             ROCK SPRINGS     WY         82901                6002                Various                                                                                             $3.81
KIMBERLY BROWN                    1732 E. SAGEMOOR DRIVE                                      MERIDIAN         ID         83642                6004                Various                                                                                            $15.00
KIMBERLY BRUNTZ                   1003 ADAMS PL                                               KIMBERLY         WI         54136                6004                Various                                                                                            $25.00
KIMBERLY BRYANT                   3266 S SAGE CIRCLE DR                                       NEWCASTLE        WY         82701                6002                Various                                                                                             $6.41
KIMBERLY CAMPIONI                 46736 PILGRIM RD                                            HOUGHTON         MI         49931                6002                Various                                                                                             $2.33
KIMBERLY CARSON                   1036 QUINELLA DR                                            BILLINGS         MT         59101                6002                Various                                                                                             $7.01
KIMBERLY CLARK GLOBAL SALES IN    PO BOX 88125                                                CHICAGO          IL         60695-0002           0302                Various                                                                                       $438,541.35
KIMBERLY COOK                     210 ALLEN ST                                                GALLATIN         MO         64640                6002                Various                                                                                             $6.99
KIMBERLY DAW COLE                 PO BOX 964                                                  KIMBERLY         ID         83341                6002                Various                                                                                             $2.22
KIMBERLY DELSART                  119 OMBRE ROSE DR                                           COMBINED LOCKS   WI         54113                6002                Various                                                                                             $7.37
KIMBERLY DOUMA                    PO BOX 26                                                   CAMBRIA          WI         53923                6004                Various                                                                                             $1.98
KIMBERLY E. FLORES                3240 W CLARK APT 7                                          POCATELLO        ID         83201                6002                Various                                                                                             $5.53
KIMBERLY EBERT                    132 OAK ST                                                  GREEN BAY        WI         54303                6002                Various                                                                                             $3.32
KIMBERLY EDLIBI                   582 S MAIN ST                                               FOND DU LAC      WI         54935                6002                Various                                                                                             $1.15
KIMBERLY EDWARDS                  1475 N MAIN ST APT A103                                     LAYTON           UT         84041                6002                Various                                                                                             $5.04
KIMBERLY EMSLANDER                370 KILLINGER CIRCLE                                        SAUK RAPIDS      MN         56379                6004                Various                                                                                             $3.00
KIMBERLY ESPOSITISTA              405 N FRANKLIN AVE                                          POLO             IL         61064                6002                Various                                                                                             $5.81
KIMBERLY EVANS                    3331 6TH ST APT.#4                                          LEWISTON         ID         83501                6004                Various                                                                                             $3.65
KIMBERLY FIORELLI                 415 N 18TH AVE                                              BROKEN BOW       NE         68822                6002                Various                                                                                             $6.19
KIMBERLY FULLERTON                901 S. MIDVALE BLVD                                         MADISON          WI         53711                6004                Various                                                                                             $2.00
KIMBERLY GAMET                    7600 VINE                                                   LINCOLN          NE         68505                6004                Various                                                                                            $10.00
KIMBERLY GARCIA                   2008 OAKBROOK DR                                            BELVIDERE        IL         61008                6004                Various                                                                                             $3.90
KIMBERLY GATES                    2484 W. SORBONNE                                            COEUR D ALENE    ID         83815                6004                Various                                                                                            $64.96
KIMBERLY GORDON                   1402 HILTY RD                                               COLFAX           WA         99111                6004                Various                                                                                            $10.49
KIMBERLY GOULD                    4690 VALLEY DR                                              HELENA           MT         59602                6002                Various                                                                                             $4.60
KIMBERLY GOWER                    7580 FORREST HILLS DR                                       TECUMSEH         MI         49286                6002                Various                                                                                             $1.26
KIMBERLY GRAY                     1070 PATTERSON ST                                           OGDEN            UT         84403                6002                Various                                                                                             $7.53
KIMBERLY HALLAM                   BOX 1279                                                    MT.VIEW          WY         82939                6002                Various                                                                                             $7.51
KIMBERLY HALVORSEN                1945 MISSION AVE                                            NEW HAMPTON      IA         50659                6002                Various                                                                                             $3.51
KIMBERLY HARRIS                   2023 LINCOLN AVE                                            HOT SPRINGS      SD         57747                6002                Various                                                                                             $3.26
KIMBERLY HOFFMAN                  507 1ST ST SW                                               WATERTOWN        SD         57201                6002                Various                                                                                             $6.96
KIMBERLY HOPKINSON                330 LOIS ST APT 1                                           TWIN FALLS       ID         83301                6002                Various                                                                                             $8.08
KIMBERLY HOWARD                   4425 30TH AVE                                               KENOSHA          WI         53144                6004                Various                                                                                            $90.00
KIMBERLY HUMBURG                  906 GANSER DRIVE                                            WAUNAKEE         WI         53597                6004                Various                                                                                             $2.00
KIMBERLY ICE                      N1125 CRAFTSMEN CT                                          GREENVILLE       WI         54942                6002                Various                                                                                             $2.38
KIMBERLY ISI                      216 E SPRUCE ST                                             RAWLINS          WY         82301                6002                Various                                                                                             $5.01
KIMBERLY J ROOD                   39345 405TH ST                                              PERHAM           MN         56573                6002                Various                                                                                             $7.70
KIMBERLY JACKSON-HAYDE            914 NORTH MAIN ST                                           BRUCE            WI         54819                6004                Various                                                                                             $1.00
KIMBERLY JEFFORDS                 406 11TH ST                                                 WHEATLAND        WY         82201                6002                Various                                                                                             $1.42




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                                                                                                                                              Last 4 Digits of     Date Debt was
                                                                                                                                                 Account         Incurred, Basis for
              Creditor Name                Address1          Address2        Address3             City         State           Zip   Country     Number                Claim                                                                             Total Claim
KIMBERLY JOHNSON               773 WANDA AVE                                              NEENAH            WI         54956                 6004                Various                                                                                               $44.17
KIMBERLY K SCHRADER            1825 S 53RD ST                                             LINCOLN           NE         68506                 6002                Various                                                                                                $1.81
KIMBERLY KASTE                 14500 CO HIGHWAY 47                                        BATTLE LAKE       MN         56515                 6002                Various                                                                                                $0.58
KIMBERLY KELLEY                3105 STEVEN STREET #3                                      MADISON           WI         53705                 6004                Various                                                                                                $3.08
KIMBERLY KEMNA                 14471 QUAIL AVE                                            MASON CITY        IA         50401                 6002                Various                                                                                                $0.96
KIMBERLY KINT                  645 S E BRIAN ST                                           TEA               SD         57064                 6004                Various                                                                                               $23.00
KIMBERLY KOEHN                 W8193 N CRYSTAL LAKE RD                                    BEAVER DAM        WI         53916                 6004                Various                                                                                               $52.00
KIMBERLY KOHL                  715 3RD AVE E                                              SISSETON          SD         57262                 6002                Various                                                                                                $4.88
KIMBERLY KRANZ                 1114 2ND AVE. N.W.                                         ROCHESTER         MN         55901                 6004                Various                                                                                                $6.00
KIMBERLY L JONES               BOX 933                                                    GLENROCK          WY         82637                 6002                Various                                                                                                $6.14
KIMBERLY L OLDMAN              2098 LOWELL PARK RD                                        DIXON             IL         61021                 6002                Various                                                                                                $3.62
KIMBERLY L TILKES              1516 N CAROLINA AVE                                        MASON CITY        IA         50401                 6002                Various                                                                                                $2.41
KIMBERLY LANG                  513 S 16TH ST                                              WORLAND           WY         82401                 6002                Various                                                                                                $4.58
KIMBERLY MANLEY                5271 HWY 9                                                 ARMSTRONG         IA         50514                 6004                Various                                                                                               $23.00
KIMBERLY MARSHALL              4534 POINT COMFORT LN                                      GREEN BAY         WI         54311                 6002                Various                                                                                                $0.44
KIMBERLY MARTIN                231 E CASCADE AVE                                          SHELBY            MT         59474                 6002                Various                                                                                                $1.34
KIMBERLY MCCARTHY              2702 BRADFIELD DR                                          LINCOLN           NE         68502                 6002                Various                                                                                                $8.68
KIMBERLY MCCORMICK             19 VALLEY VIEW PARK                                        DODGE CENTER      MN         55927                 6004                Various                                                                                                $3.06
KIMBERLY MCDONALD              3602 S TIMBER TRL                                          SUAMICO           WI         54173                 6002                Various                                                                                                $7.29
KIMBERLY MILLS                 529 N. CLARK ST.                                           MAYVILLE          WI         53050                 6002                Various                                                                                                $4.99
KIMBERLY MORING                12705 N MT VERNON RD                                       BAILEYVILLE       IL         61007                 6002                Various                                                                                               $10.00
KIMBERLY N YANG                3781 SCHMIDT RD                                            DE PERE           WI         54115                 6002                Various                                                                                                $9.04
KIMBERLY NEUMANN               521 W CEDAR ST                                             RIVER FALLS       WI         54022                 6004                Various                                                                                               $20.00

KIMBERLY NILSSON               425 NORTH ORCHARD DRIVE #27                                SALT LAKE         UT         84054                  6004               Various                                                                                               $35.00
KIMBERLY OLESON                950-8TH ST                                                 LEMARS            IA         51031                  6002               Various                                                                                                $8.66
KIMBERLY PARSON                2618 CRESTWOOD RD                                          EAU CLAIRE        WI         54703                  6002               Various                                                                                                $7.15
KIMBERLY PUTNAM                10131 S ASCOT DOWNS CT                                     SOUTH JORDAN      UT         84095                  6002               Various                                                                                                $6.16
KIMBERLY R LEONARD             187 WESTERN AVE                                            BUFFALO           WY         82834                  6002               Various                                                                                                $3.45
KIMBERLY R THAKUR              528 COLLEGE ST                                             LAKE MILLS        WI         53551                  6002               Various                                                                                                $9.51
KIMBERLY RENSHAW               133 N ELM ST                                               AVOCA             IA         51521                  6002               Various                                                                                                $4.00
KIMBERLY REYES                 4623 MEADOWLARK ST                                         COTTAGE GROVE     WI         53527                  6004               Various                                                                                                $4.00
KIMBERLY S. TORGERSON          1036 N 2ND ST                                              COEUR D ALENE     ID         83814                  6002               Various                                                                                                $1.70
KIMBERLY SANCHEZ HERRERA       603 S RIVER ST                                             WEST POINT        NE         68788                  6002               Various                                                                                                $4.71
KIMBERLY SCHABOW               3685 N ONEIDA ST                                           APPLETON          WI         54911                  6002               Various                                                                                                $1.59
KIMBERLY SCHILLINGER           3312 CARTER AVE                                            SCHOFIELD         WI         54476                  6002               Various                                                                                                $5.84
KIMBERLY SHIELDS               822 TERRY AVE                                              BILLINGS          MT         59101                  6004               Various                                                                                                $2.00
KIMBERLY SIMMONS               8152 HOWELL ST                                             OMAHA             NE         68122                  6004               Various                                                                                                $6.25
KIMBERLY SOUR                  9322 HERITAGE OAK LN                                       BLACK HAWK        SD         57718                  6002               Various                                                                                                $3.70
KIMBERLY SPRINGER              5837 SOUTH JAMIAH DRIVE                                    SALT LAKE CITY    UT         84123                  6004               Various                                                                                                $2.00
KIMBERLY STONE                 W1234 SOUTH SHORE DRIVE                                    PALMYRA           WI         53156                  6004               Various                                                                                               $26.00
KIMBERLY TAFT                  3720 LAMANCHA DR                                           JANESVILLE        WI         53548                  6004               Various                                                                                               $63.00
KIMBERLY TAUSCHECK             1621 ILLINOIS AVE                                          SHEBOYGAN         WI         53081                  6002               Various                                                                                                $8.38
KIMBERLY TOLIN                 307 LUCILE STREET                                          FORT ATKINSON     WI         53538                  6004               Various                                                                                               $15.00
KIMBERLY UTTECH                219 N 2ND ST                                               TOMAHAWK          WI         54487                  6002               Various                                                                                                $8.08

KIMBERLY VALDEZ                5251 S 450TH W                                             WASHINGTON TERR   UT         84405                   6002              Various                                                                                                $7.21
KIMBERLY VIAU                  8547 CTY 509 Y ROAD                                        RAPID RIVER       MI         49878                   6004              Various                                                                                                $6.00

KIMBERLY W GRADY               3804 S HAWTHORNE AVE APT 1                                 SIOUX FALLS       SD         57105                   6002              Various                                                                                                $4.88
KIMBERLY WALKER                PO 263                                                     WATERTOWN         WI         53094                   6004              Various                                                                                                $1.95
                                                                                                                                                                 9/2/2018 -
KIMBERLY WATER DISTRICT        515 WEST KIMBERLY AVENUE                                   KIMBERLY          WI         54136                   0-01              11/29/2018                                                                                      $3,495.08
KIMBERLY WILSON                907 5TH AVE N                                              GLASGOW           MT         59230                   6002              Various                                                                                             $1.21




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                                                                                                                                                                                              Contingent


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                                                                                                                                                       Last 4 Digits of   Date Debt was
                                                                                                                                                          Account       Incurred, Basis for
             Creditor Name                   Address1                Address2          Address3            City          State         Zip    Country     Number              Claim                                                                             Total Claim
KIMBERLY WOOD                     N6389 N. KIRK ROAD                                                ARKANSAW          WI         54721                6004              Various                                                                                            $68.59
KIMBERLY WRIGHT                   2094 N. EUREKA AVE                                                MERIDIAN          ID         83646                6004              Various                                                                                            $14.00
KIMBERLY YUENGER                  205 MONROE ST APT 14                                              BEAVER DAM        WI         53916                6002              Various                                                                                             $3.59
KIMBLE RECYCLING & DISPOSAL       PO BOX 48                                                         DOVER             OH         44622                                  Various                                                                                          $476.72
KIMCO REALTY CORPORATION          PO BOX 5020                                                       NEW HYDE PARK     NY         11042-0020           7445              Various                                                                                        $28,354.65
KINCADE BROWN                     1817 JENNIFER ST.                                                 MADISON           WI         53704                6004              Various                                                                                            $24.00
KINDI VAUGHAN                     61051 BORDEN DR                                                   BEND              OR         97702                6004              Various                                                                                            $49.00

KINGERY/ DAKOTA                   STORE 2-712                   SHOPKO EMPLOYEE 502 E ROSS STREET   PALMYRA           MO         63461                  8025            Various                                                                                               $16.10
KINGHORN FAMILY                   2320 E OAKMONT DR                                                 IDAHO FALLS       ID         83404                  6002            Various                                                                                                $9.89
KINKEADE MEEK                     201 TRUEBLOOD AVE             P.O. BOX 2327                       OSKALOOSA         IA         52577                  6004            Various                                                                                               $35.00
KINVERLI MARTINEZ RODRIG          1013 WILBUR ST                                                    WATERTOWN         WI         53098                  6004            Various                                                                                               $30.00
KIP VANDYKE                       418 7TH ST W                                                      ROUNDUP           MT         59072                  6002            Various                                                                                                $3.37
KIPP HANSEN                       91 W 1900TH S                                                     CLEARFIELD        UT         83037                  6002            Various                                                                                                $1.51
KIPP HENRY                        1019 15TH ST N PRERELEASE                                         GREAT FALLS       MT         59401                  6002            Various                                                                                                $8.27
KIRA KAMPER                       1606 W. JOHN STREET                                               GRAND ISLAND      NE         68801                  6004            Various                                                                                                $4.00

KIRA WARNER                       3757 NORTHHAVEN DR PO BOX #                                       FISH CREEK        WI         54212                  6002            Various                                                                                             $2.14
KIRANPREET DHALIWAL               1000 EDGEWOOD COLLEGE DR                                          MADISON           WI         53711                  6004            Various                                                                                            $24.00
KIRBI PERKINS                     310 FOURTH STREET                                                 FOND DU LAC       WI         54935                  6004            Various                                                                                             $5.00
KIRK BELNAP                       580 W SHELLEY ST                                                  IDAHO FALLS       ID         83402                  6002            Various                                                                                             $3.04
KIRK BERGMAN                      35828 EVERGREEN AVE                                               NORTH BRANCH      MN         55056                  6002            Various                                                                                             $7.73
KIRK HOLIEN                       801 GILMORE AVE                                                   WINONA            MN         55987                  6004            Various                                                                                            $25.50
KIRK PARKER                       10130 N 151 STREET                                                WAVERLY           NE         68462                  6004            Various                                                                                            $20.00
KIRK POLIVKA                      W5792 610TH AVE R                                                 BELDENVILLE       WI         54003                  6002            Various                                                                                             $2.85
KIRK STONEKING                    2835 HASKINS AVE                                                  SLC               UT         84109                  6002            Various                                                                                             $8.82
KIRK WINDHORST                    13924 LISA CIR                                                    OMAHA             NE         68138                  6002            Various                                                                                             $5.29
KIRKLAND BRAATZ                   1307 S BARTELL DR                                                 APPLETON          WI         54914                  6004            Various                                                                                             $1.00
KIRKPATRICK SEDLACEK              2964 COPPER MOUNTAIN CRT                                          GREEN BAY         WI         54313                  6004            Various                                                                                             $4.00
KIRSTEN A LINDAHL                 2020 N 13TH ST APT A                                              COEUR D ALENE     ID         83814                  6002            Various                                                                                             $5.73
KIRSTEN BATTERTON                 15105 MEREDITH AVE                                                OMAHA             NE         68116                  6004            Various                                                                                            $23.00
KIRSTEN ECKERT                    713 PHEASANT RUN                                                  WATERTOWN         WI         53098                  6004            Various                                                                                            $15.00
KIRSTEN JOHNSTONE                 516 E WISCONSIN AVE STE E                                         APPLETON          WI         54911                  6002            Various                                                                                             $0.68
KIRSTEN MAJETICH                  702 2ND ST.                                                       HUDSON            WI         54016                  6004            Various                                                                                             $1.00
KIRSTEN MALECKI                   10219 WEST 6 MILE RD                                              FRANKSVILLE       WI         53126                  6004            Various                                                                                            $20.00
KIRSTEN RUHTER                    747 FALLS AVE WEST                                                TWIN FALLS        ID         83301                  6004            Various                                                                                             $5.20
KIRSTEN SHIELDS                   519 7TH AVENUE SOUTH                                              NAMPA             ID         83651                  6004            Various                                                                                             $5.00
KIRSTIN DIMAGGIO                  99999 SALMON ST                                                   SALMON            ID         83467                  6002            Various                                                                                             $6.68
KIRSTIN JEPPSEN                   1306 N STREET                                                     LEWISTON          ID         83501                  6004            Various                                                                                            $10.02
KIRT NETZEL                       2211 BRICKYARD RD                                                 WISCONSIN RAPID   WI         54495                  6002            Various                                                                                             $7.51
KIRYAT DOMINGUEZ                  605 WALLIS AVE.                                                   DELEVAN           WI         53115                  6004            Various                                                                                            $25.00
KISH & SONS ELECTRIC              PO BOX 543                                                        LA CROSSE         WI         54602                                  Various                                                                                         $2,551.50
                                                                57 SEAVIEW
KISS PRODUCTS INCORPORATED        KISS NAIL PRODUCTS INC        BOULEVARD                           PORT WASHINGTON   NY         11050                  3667            Various                                                                                       $153,000.13
KIT CARSON COUNTY TREASURER       PO BOX 396                                                        BURLINGTON        CO         80807                  3372            Various                                                                                         $5,070.36
KITTRICH CORPORATION              DEPT 3883                                                         CAROL STREAM      IL         60132-3883             8483            Various                                                                                        $31,010.32
KITTY OSTRUE                      608 17TH ST SE                                                    ROCHESTER         MN         55904                  6004            Various                                                                                             $3.00
KIYANNA CHAVOURS                  2748 NICHOLET DR                                                  GREEN BAY         WI         54311                  6004            Various                                                                                             $3.00
KIYOKO BECKER                     1715 SUMMIT AVE                                                   BELOIT            WI         53511                  6002            Various                                                                                             $1.67
KIYYA AKUMA                       80 HILLTOP LANE APT 108                                           MANKATO           MN         56001                  6004            Various                                                                                             $3.00

KIZEWSKI/ ERIN                    STORE 4-079                   SHOPKO EMPLOYEE                     GREEN BAY         WI         54307-9060             7761            Various                                                                                            $50.29
KL OUTDOOR                        AMERIFORM ACQUISITION         PO BOX 772055                       DETROIT           MI         48277-2055             1033            Various                                                                                       $263,502.50
KLABUNDES DELIVERY INCORPORATE    8555 IZARD STREET                                                 OMAHA             NE         68114                  3914            Various                                                                                         $1,743.80




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             Creditor Name                    Address1              Address2           Address3               City          State           Zip   Country     Number              Claim                                                                             Total Claim
KLASSEN FAMILY                      601 WILSON ST                                                     CHIPPEWA FALLS   WI           54729                 6002              Various                                                                                                $6.88
KLAUDIA CRAWFORD                    11255 FRONTIER RD                                                 ELLISON BAY      WI           54210                 6002              Various                                                                                                $6.49

KLAUSER/ GAVIN                      STORE 2-139                 SHOPKO EMPLOYEE                       GREEN BAY        WI           54307-9060              4183            Various                                                                                             $5.35
KLEAR VU CORP                       600 AIRPORT RD                                                    FALL RIVER       MA           02720-0000              6403            Various                                                                                         $8,805.56
KLEENCO MAINT & CONSTRUCTION INC    8239 NORTH STATE ROAD 9                                           ALEXANDRIA       IN           46001                                   Various                                                                                        $14,283.10
KLEENCO MAINTENANCE & CONSTRUC      PO BOX 461                                                        ALEXANDRIA       IN           46001                   5898            Various                                                                                        $18,432.00
KLEHR HARRISON HARVEY BRANZBUR      1835 MARKET STREET                                                PHILADELPHIA     PA           19103-0000              0947            Various                                                                                          $199.50
KLEIN ELECTRIC INC.                 24729 LAKE RD                                                     ST. CLOUD        MN           56301                                   Various                                                                                         $2,484.30
KLEMA PLAZA INCORPORATED            PO BOX 504                                                        BELOIT           KS           67420                   9373            Various                                                                                         $3,306.25
KLESCHULT FAMILY                    6779 378TH ST                                                     NORTH BRANCH     MN           55056                   6002            Various                                                                                             $3.75

KLOCEK/ BRIANNA                     STORE 029                   SHOPKO EMPLOYEE                       GREEN BAY        WI           54307-9060              4490            Various                                                                                            $15.00
KLOEY LULINSKI                      833 MC KINLEY AV                                                  BELOIT           WI           53511                   6004            Various                                                                                             $3.00
KNEIP LINNEA                        630 PFAU ST                                                       MANKATO          MN           56001                   6002            Various                                                                                             $7.00
KNIGHTS APPAREL INCORPORATED        PO BOX 603040                                                     CHARLOTTE        NC           28260-3040              5247            Various                                                                                        $71,757.69
KNOX BALLARD                        906 JOHNSON CT                                                    BELVIDERE        IL           61008                   6004            Various                                                                                            $25.00
KOALTON LARSON                      220 N FREMONT ST APT 2                                            RIVER FALLS      WI           54022                   6002            Various                                                                                             $4.03
KOBE AMEND                          407 KELDON STREET                                                 COLUMBUS         WI           53925                   6004            Various                                                                                             $2.00
KOBE READY                          16910 HOLMES CIR                                                  OMAHA            NE           68135                   6004            Various                                                                                            $20.00
KODA KASALA                         20 B GLACIER VIEW DR                                              KALISPELL        MT           59901                   6002            Various                                                                                             $6.16
KODIAK STARJNSKI                    1005 52ND ST                                                      KENOSHA          WI           53140                   6002            Various                                                                                             $8.33
KODIE L SWISHER                     315 S COLLEGE AVE                                                 LYONS            KS           67554                   6002            Various                                                                                             $3.64
KODIE VIELBIG                       118 10 1/2 ST SE                                                  ROCHESTER        MN           55904                   6002            Various                                                                                             $0.79
KODY BROOKBANK                      1133 LIBERTY BLVD.                                                SUN PRAIRIE      WI           53590                   6004            Various                                                                                             $2.50
KODY BURGGRAF                       A ST SW                                                           INDEPENDENCE     OR           97351                   6004            Various                                                                                             $3.00
KODY SCOTT                          117 GROVE ST                                                      BEAVER DAM       WI           53916                   6004            Various                                                                                             $3.00
                                                                1305 W WABASH
KOERNER DISTRIBUTOR INCORPORAT      VICE PRESIDENT OF SALES     AVENUE                                EFFINGHAM        IL           62401                   2158            Various                                                                                           $229.89
                                                                                116 E STATE HIGHWAY
KOERNER/ SANDRA                     STORE 2-740                 SHOPKO EMPLOYEE 28                    MORRIS           MN           56267                   0593            Various                                                                                               $25.32

KOHN/ SUSAN                         STORE 2-512                 SHOPKO EMPLOYEE 598 LUCAS LANE        ELLSWORTH        WI           54011-2800              1762            Various                                                                                            $89.64
KOLBY ERICKSON                      80 CTY RD # 405 PMB SOUTH                                         AFTON            WY           83110                   6002            Various                                                                                             $7.95
KOLCRAFT ENTERPRISE INCORPORAT      1100 WEST MONROE STREET                                           CHICAGO          IL           60607-0000              2828            Various                                                                                        $17,305.65
KOLE (FELINE NELLIS                 1750 MAPLE LN                                                     SAINT CLOUD      MN           56304                   6002            Various                                                                                            $17.51
KOLEEN STONE                        1116 ETHEL AVE                                                    OGALLALA         NE           69153                   6002            Various                                                                                             $3.53
KOLTEN REMMERS                      1217 S 8TH STREET                                                 LINCOLN          NE           68510                   6004            Various                                                                                            $43.00
KOLTON SUTER                        89168 HIGHWAY 89                                                  AFTON            WY           83110                   6002            Various                                                                                             $0.44
KOMAR KIDS                          PO BOX 934158                                                     ATLANTA          GA           31193-4158              1887            Various                                                                                        $19,894.00
KONERIK TRIM                        W20629 MCKEETH DR                                                 GALESVILLE       WI           54630                   6004            Various                                                                                             $6.00
KONG VANG                           211 COYLE PARKWAY                                                 COTTAGE GROVE    WI           53527                   6004            Various                                                                                             $5.96
KONGSY CHOUANGPHAENG                1808 10TH AVE SE                                                  ROCHESTER        MN           55904                   6004            Various                                                                                             $6.00
KONNIE JO ISETTS                    1320 2ND AVE S                                                    ESCANABA         MI           49829                   6002            Various                                                                                             $0.68
KONOP BEVERAGES (601,602)           1725 INDUSTRIAL DRIVE                                             GREEN BAY        WI           54302                   3966            Various                                                                                          $474.20
KONOP COMPANIES INCORPORATED        1725 INDUSTRIAL DRIVE                                             GREEN BAY        WI           54302-2191              3966            Various                                                                                         $1,253.17
KONRAD IRON HORSE                   1642 KNOX ST                                                      LINCOLN          NE           68521                   6004            Various                                                                                             $2.00
KOOTENAI DISPOSAL                   34745 US-2                                                        LIBBY            MT           59923                                   Various                                                                                         $1,519.63
KORA TENGOWSKI                      2307 PRAIRIE VIEW DR                                              DELAVAN          WI           53115                   6004            Various                                                                                            $22.00
KORAHL M BECHER                     1319 26TH ST                                                      AUBURN           NE           68305                   6002            Various                                                                                             $8.03
KORAKONH SINGVONGSA                 1119 N HWY                                                        JACKSON          MN           56143                   6004            Various                                                                                            $70.00
KORDAE WILLIAMS GRUBBS              N5741 COUNTY RD E                                                 DE PERE          WI           54115                   6004            Various                                                                                             $4.00
KORDEL BREZSKO                      3400 PIERCE AVE TRLR 216                                          MARINETTE        WI           54143                   6002            Various                                                                                             $5.21
KORDELL HUNT                        1910 BURRELL AVE                                                  LEWISTON         ID           83501                   6002            Various                                                                                             $9.10




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             Creditor Name                   Address1             Address2         Address3             City        State           Zip   Country     Number                Claim                                                                             Total Claim
KOREN YAZZIE                      147 N 100 W 15                                                MENDON           UT         84325                 6004                Various                                                                                               $10.00
KOREY HOKENSON                    36990 WISTI RD                                                CHASSELL         MI         49916                 6002                Various                                                                                                $9.32
KORI KOTTER                       346 S 100TH W                                                 BRIGHAM CITY     UT         84302                 6002                Various                                                                                                $7.18
KORI MONICKE                      3312 WILDWOOD LN                                              WAUSAU           WI         54401                 6002                Various                                                                                                $1.07
KORIANA RICH                      1003 BROOKWOOD DR.                                            NEENAH           WI         54956                 6004                Various                                                                                                $1.00
KORSON LEE HARMS                  10444 310TH ST                                                ELLSWORTH        MN         56129                 6002                Various                                                                                                $0.88
KORTEZ GRAHAM                     1025 BURTON APT 10                                            BELOIT           WI         53511                 6004                Various                                                                                                $4.00
KORTNEY MONHEISER                 1311 W EUGENE AVE                                             NORTH PLATTE     NE         69101                 6002                Various                                                                                                $7.84
KORTNEY WALKER                    170 115 STREET                                                OROFINO          ID         83544                 6004                Various                                                                                               $10.02
KORTNIE REIMAN                    3735 N 56TH ST                                                LINCOLN          NE         68504                 6002                Various                                                                                                $3.67
KORVIN FERRELL                    410 S SECOND ST                                               EVANSVILLE       WI         53536                 6004                Various                                                                                               $25.00
KORY BROWN                        1104 HOLLABIRD CIRCLE                                         MARSHALL         MN         56258                 6004                Various                                                                                               $24.00
KORY CORONADO                     1641 SHALLOW CREEK CT                                         GREEN BAY        WI         54313                 6002                Various                                                                                                $1.73
KOURTLIND JIMMERSON               3215 N 48TH ST                                                OMAHA            NE         68104                 6002                Various                                                                                                $1.26
KOURTLYNN EXLEY                   PO BOX 758                                                    NEWCASTLE        WY         82701                 6002                Various                                                                                                $0.36

KPA/ HMILO                        STORE 2-041                 SHOPKO EMPLOYEE                   GREEN BAY        WI         54307-9060             1545               Various                                                                                             $4.32
KRABLEAN FAMILY                   1316 GREENACRES LN                                            NEENAH           WI         54956                  6002               Various                                                                                             $9.01
KRAFT GENERAL FOODS INCORPORAT    22541 NETWORK PLACE                                           CHICAGO          IL         60673-1225             2706               Various                                                                                       $372,791.85
KRAIG ZINNEL                      BOX 361                                                       BREWSTER         MN         56119                  6002               Various                                                                                             $6.52
KRAMER FAMILY                     1310 LEGION CIR                                               WEST BEND        WI         53090                  6002               Various                                                                                             $4.25
KRANTHI REALTY LLC                506 MIDDLESEX AVENUE                                          COLONIA          NJ         07067                  8213               Various                                                                                        $14,791.67
KRAUS ANDERSON INCORPORATED       PROPERTY ID 01-1500         PO BOX 860582                     MINNEAPOLIS      MN         55486-0582             3411               Various                                                                                         $3,385.97
KRAUSE FAMILY                     234 BEAUMIER LN                                               SOBIESKI         WI         54171                  6002               Various                                                                                             $6.22
KRENT D THOMPSON                  220 BALSAM ST                                                 BUFFALO          WY         82834                  6002               Various                                                                                             $8.79
KRIER FOODS INC                   PO BOX 307                                                    RANDOM LAKE      WI         53075                  6232               Various                                                                                         $5,070.90
KRIER REFRIGERATION INCORPORAT    PO BOX 185                                                    BELGIUM          WI         53004                  6261               Various                                                                                            $48.00
KRIESEL'S SANITATION              326 E BARD RD                                                 MUSKEGON         MI         49445                                     Various                                                                                             $0.00
KRINA SCHOENFELDER                26955 392 AVE                                                 CORSICA          SD         57328                  6004               Various                                                                                            $50.00
KRIS BACKSTROM                    39954 341ST LN                                                AITKIN           MN         56431                  6002               Various                                                                                             $3.73
KRIS BLICKFELDT                   5177 S 300TH E                                                OGDEN            UT         84405                  6002               Various                                                                                             $9.59
KRIS HEIBERGER                    2619 NORTH 10TH STREET                                        SHEBOYGAN        WI         53083                  6004               Various                                                                                            $10.00
KRIS OESTERREICH                  514 GRAND ST.                                                 OSHKOSH          WI         54901                  6004               Various                                                                                            $49.99
KRIS ROBINSON                     1114 E 6TH ST                                                 WINNER           SD         57580                  6002               Various                                                                                             $6.55
KRIS ROMIE                        412 S CREEK DRIVE                                             ELKHORN          WI         53121                  6004               Various                                                                                            $10.00
KRIS WEST                         3151 W ROSELAWN DR                                            APPLETON         WI         54914                  6002               Various                                                                                             $6.36
KRISHANA GREENE                   851 CHEROKEE RD                                               RAWLINS          WY         82301                  6002               Various                                                                                             $9.56
KRISI NUTTALL                     2118 PALMER ST                                                GREEN BAY        WI         54311                  6004               Various                                                                                            $10.00
KRISSY FARRISH                    518 6TH ST                                                    IRON MOUNTAIN    MI         49801                  6002               Various                                                                                             $1.81
KRIST HANSEN                      1506 WILSHIRE WOODS LN NE                                     ROCHESTER        MN         55906                  6002               Various                                                                                             $4.60
                                  WAGNER FAMILY LIMITED
KRIST PROPERTIES                  PARTNERSHIP                 PO BOX 22216                      GREEN BAY        WI         54305-2216             3113               Various                                                                                         $4,692.03
KRISTA AGUILERA                   PO BOX 134                                                    CHASE            KS         67524                  6002               Various                                                                                             $2.93
KRISTA CHRISTIANSEN               311 W GROVE ST                                                ELLSWORTH        WI         54011                  6002               Various                                                                                             $2.49
KRISTA ELLIS                      8 2ND AVE NW                                                  OELWEIN          IA         50662                  6002               Various                                                                                             $8.74
KRISTA FEDOR                      5809 CEDAR CT.                                                MCFARLAND        WI         53558                  6004               Various                                                                                            $10.80
KRISTA GAUSLOW                    311 COLORADO AVE.                                             LAUREL           MT         59044                  6004               Various                                                                                            $30.98
KRISTA HALE                       1045 HOMERUN ST                                               POCATELLO        ID         83202                  6002               Various                                                                                             $1.64
KRISTA JOHNSON                    504 9TH AVE NW                                                AUSTIN           MN         55912                  6004               Various                                                                                             $3.00
KRISTA KASUBOSKI                  N3765 STATE RD 22                                             WAUTOMA          WI         54982                  6004               Various                                                                                             $4.00
KRISTA LEARNED                    3480 W. SUNNYBROOK DR                                         SALT LAKE CITY   UT         84119                  6004               Various                                                                                             $6.00
KRISTA PHILLIPS                   17657 PIONIER TRAIL                                           PLATTSMOUTH      NE         68048                  6004               Various                                                                                             $3.00
KRISTA QUALEY                     1910 2ND AVE SW                                               AUSTIN           MN         55912                  6004               Various                                                                                             $3.00
KRISTA SCHMITT                    35400 130TH AVE                                               THORP            WI         54771                  6002               Various                                                                                             $4.68




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KRISTA SHEARER                 804 GRACE AVE                                                  WORLAND            WY         82401                 6002                Various                                                                                             $0.30
KRISTA TREBTOSKE               132 29TH AVE. N.                                               ST. CLOUD          MN         56303                 6004                Various                                                                                             $2.06
KRISTA WALL                    991 PHILLIPS RD TRLR 2                                         HELENA             MT         59602                 6002                Various                                                                                             $5.95
KRISTA WILD                    100 A CARROLL ST.                                              BEAVER DAM         WI         53916                 6004                Various                                                                                             $2.00
KRISTA ZINDA                   431 WEST DAYTON STREET                                         MADISON            WI         53703                 6004                Various                                                                                            $17.00
KRISTAN COON                   6182 S VINECREST DR                                            SALT LAKE CITY     UT         84121                 6002                Various                                                                                             $4.05
KRISTEE MISCH                  W26355 STATE ROAD 95                                           ARCADIA            WI         54612                 6002                Various                                                                                             $0.47
KRISTEN ACKERMAN               1118 W 8TH STREET                                              GRAND ISLAND       NE         68801                 6004                Various                                                                                             $2.00
KRISTEN BECKER                 1603 10TH PL SW                                                AUSTIN             MN         55912                 6004                Various                                                                                            $70.00
KRISTEN BRECKENRIDGE           317 4TH AVE                                                    CHARLES CITY       IA         50616                 6004                Various                                                                                             $5.00
KRISTEN DONDERO                2778 GRANDVIEW DRIVE                                           CLARKSTON          WA         99403                 6004                Various                                                                                             $4.96
KRISTEN DOTY                   1129 S MULBERRY ST                                             SIOUX CITY         IA         51106                 6004                Various                                                                                           $318.00
KRISTEN DYSON                  18 TERRACE CHASE                                               SUN PRAIRIE        WI         53590                 6004                Various                                                                                            $17.87
KRISTEN ENGEVOLD               N10785 HILINE AVE                                              SPENCER            WI         54479                 6002                Various                                                                                             $2.14
KRISTEN F. JOHNSON             4416 HOLMES                                                    COEUR D'ALENE      ID         83814                 6002                Various                                                                                             $9.21
KRISTEN GOETHE                 508 RIVERWAY                                                   MENASHA            WI         54952                 6002                Various                                                                                             $9.51
KRISTEN JONES                  114 WEST PLEASANT ST.                                          GARDEN CITY        MN         56034                 6004                Various                                                                                             $3.00
KRISTEN KASZYNSKI              W1031 STATE ROAD 72                                            ELMWOOD            WI         54740                 6002                Various                                                                                             $7.12
KRISTEN KRUCHTEN               116 1ST ST NW                                                  GRAND MEADOW       MN         55936                 6002                Various                                                                                             $0.88
KRISTEN L JOHNSON              1825 28TH AVE S APT 302                                        GRAND FORKS        ND         58201                 6002                Various                                                                                             $8.52
KRISTEN LARDINOIS              1024 COGGINS CT                                                GREEN BAY          WI         54313                 6002                Various                                                                                             $9.23
KRISTEN LOOS                   981 W MAIN ST.                                                 GENOA              IL         60135                 6004                Various                                                                                             $3.22
KRISTEN MIEDL                  3724 LOOKING GLASS DRIVE                                       BELLEVUE           NE         68123                 6004                Various                                                                                             $4.00
KRISTEN MILLER                 8211 ETHAN CT SW                                               OLYMPIA            WA         98512                 6004                Various                                                                                            $30.00
KRISTEN N YOUNG                2608 JAMES ST                                                  BELLINGHAM         WA         98225                 6002                Various                                                                                             $2.77
KRISTEN PAGELS                 1931 W GRAND AVE                                               WISCONSIN RAPID    WI         54495                 6002                Various                                                                                             $5.64
KRISTEN PIPPERT                3540 E HIGHWAY 44                                              RAPID CITY         SD         57703                 6002                Various                                                                                             $6.33
KRISTEN POULSEN                360 N 270TH W APT 8                                            TREMONTON          UT         84337                 6002                Various                                                                                             $1.45

KRISTEN QUICK                  341 3RD ST SO                                                  WISCONSIN RAPIDS   WI         54494                  6004               Various                                                                                             $6.00
KRISTEN RIFE                   1002 BRYAN AVE.                                                BELLEVUE           NE         68005                  6004               Various                                                                                             $2.00
KRISTEN SCHOOFF                315 JEFFERSON AVE                                              JANESVILLE         WI         53548                  6004               Various                                                                                            $40.00
KRISTEN SMITH                  430 CLOVER AVE                                                 IDAHO FALLS        ID         83401                  6002               Various                                                                                             $1.04
KRISTEN STELMACH               1715 GOBI TRAIL                                                GREEN BAY          WI         54313                  6004               Various                                                                                            $11.00
KRISTI A GOLL                  5684 MONTADALE DR                                              ROSCOE             IL         61073                  6002               Various                                                                                             $7.84
KRISTI BARDEN                  1623 CANARY AVE                                                BILLINGS           MT         59101                  6004               Various                                                                                             $3.80
KRISTI BEAVER                  1900 ANN ST.                                                   DUBUQUE            IA         52001                  6004               Various                                                                                            $36.20
KRISTI BOSTIC                  8510 S STATE ST APT 72                                         MIDVALE            UT         84047                  6002               Various                                                                                             $1.12
KRISTI CHERRY                  8441 N HWY 14 LOT 13                                           EVANSVILLE         WI         53536                  6004               Various                                                                                             $2.00
KRISTI FEIT                    1121 S 4TH ST                                                  HOT SPRINGS        SD         57747                  6002               Various                                                                                             $1.73
KRISTI GLOVER                  28 NORTH ELM STREET        PO BOX 491                          LEWISTON           MN         55952                  6004               Various                                                                                             $3.00
KRISTI HALLEMAN                36674 BRAND S RD                                               SPRINGFIELD        OR         97478                  6004               Various                                                                                             $4.98
KRISTI HANSEN                  2398 CATHEDRAL FOREST DR                                       GREEN BAY          WI         54313                  6004               Various                                                                                           $128.50
KRISTI JOHNSON                 806 BLUEBELL PO BOX # 12                                       BAIROIL            WY         82322                  6002               Various                                                                                             $6.11
KRISTI KLOOS                   30951 MARIGOLD LANE                                            LINDSTROM          MN         55045                  6004               Various                                                                                             $4.58
KRISTI KRUEGER                 N2553 RUSTIC DR                                                CLINTONVILLE       WI         54929                  6002               Various                                                                                             $1.75
KRISTI LEEK                    1521 N RHODE ISLAND AVE                                        MASON CITY         IA         50401                  6002               Various                                                                                             $1.56
KRISTI LINDLEY                 512 S COURTLAND ST                                             HART               MI         49420                  6002               Various                                                                                             $0.85
KRISTI LUNA                    2133 ELAINE LANE                                               NORTH MANKATO      MN         56003                  6004               Various                                                                                             $3.00
KRISTI M LANOUE                22984 255TH ST                                                 GLENWOOD           MN         56334                  6002               Various                                                                                             $1.53
KRISTI MALEK                   N5404 43 RD.                                                   POUND              WI         54161                  6004               Various                                                                                             $9.99
KRISTI MASON                   1418 WAYRIDGE DRIVE        #201                                MADISON            WI         53704                  6004               Various                                                                                           $148.55
KRISTI MATTES                  880 21ST ST                                                    SPRINGFIELD        OR         97477                  6004               Various                                                                                             $1.73
KRISTI METZ                    61 TRAILS END DR                                               KALISPELL          MT         59901                  6002               Various                                                                                             $0.85




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                                                                                                                                                                                                                                 Claim subject to offset?
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                                                                                                                                                                                          Contingent


                                                                                                                                                                                                                      Disputed
                                                                                                                                                 Last 4 Digits of     Date Debt was
                                                                                                                                                    Account         Incurred, Basis for
               Creditor Name               Address1             Address2         Address3             City        State           Zip   Country     Number                Claim                                                                             Total Claim
KRISTI MYERS                    7009 HAVENSWOOD DRIVE                                         MADISON          WI         53718                 6004                Various                                                                                                $9.37
KRISTI PEMBROKE                 PO BOX 844                                                    EAST HELENA      MT         59635                 6002                Various                                                                                                $7.18
KRISTI REGER                    2467 THATCHER LN                                              MC FARLAND       WI         53558                 6004                Various                                                                                               $22.50
KRISTI ROMBERG                  1871 W 11TH AVE                                               FRIENDSHIP       WI         53934                 6002                Various                                                                                                $3.75
KRISTI SHAFER                   PO BOX 144                                                    ROSENDALE        WI         54974                 6004                Various                                                                                                $4.75
KRISTI SMITH                    1062 DIAMOND WAY                                              SANDY            UT         84094                 6004                Various                                                                                               $10.00
KRISTI STARK                    PO BOX 7575                                                   SAINT CLOUD      MN         56302                 6004                Various                                                                                                $3.00
KRISTI TERPSTRA                 610 W. 22ND AVE                                               BELLEVUE         NE         68005                 6004                Various                                                                                               $25.00
KRISTI WEINURTER                N1449 HILLSIDE BLVD                                           LAKE GENEVA      WI         53147                 6004                Various                                                                                               $18.00
KRISTIAN SCHISZIK               S5790 LINCOLN DRIVE                                           FALL CREEK       WI         54742                 6004                Various                                                                                               $79.99
KRISTIE BADEAU                  606 ROSS AVE                                                  WAUSAU           WI         54403                 6004                Various                                                                                               $20.00
KRISTIE BOOTH                   4549 W 3205 S              APT 31                             SALT LAKE CITY   UT         84120                 6004                Various                                                                                               $10.00
KRISTIE COCHRANE                2002 LAKE SHORE DR                                            BELVIDERE        IL         61008                 6002                Various                                                                                                $1.01
KRISTIE HUMPHREYS               13829 NENNIG CT                                               KIEL             WI         53042                 6002                Various                                                                                                $6.41
KRISTIE KOBUSSEN                7717 W GLENBROOKE RD                                          MILWAUKEE        WI         53223                 6004                Various                                                                                               $27.00
KRISTIE L PETERSON              1522 W 1ST ST                                                 GRAND ISLAND     NE         68801                 6002                Various                                                                                                $0.82
KRISTIE L. BINKERT              5119 BLONDO ST                                                OMAHA            NE         68104                 6002                Various                                                                                                $8.38
KRISTIE PARK                    30253 MT HIGHWAY 209                                          BIGFORK          MT         59911                 6002                Various                                                                                                $4.44
KRISTIE WOODWARD                2266 W 8540TH S                                               WEST JORDAN      UT         84088                 6002                Various                                                                                                $9.37
KRISTIN A WARDEN                2469 LAKEVIEW DR                                              SUAMICO          WI         54173                 6002                Various                                                                                                $2.96
KRISTIN BAETEN                  1260 OLDE APPLE LN                                            OSHKOSH          WI         54904                 6004                Various                                                                                               $16.00
KRISTIN BRUNSELL                5318 QUEENSBRIDGE ROAD                                        MADISON          WI         53714                 6004                Various                                                                                               $25.00
KRISTIN DEMIEN                  1712 CREEK RD                                                 WEST BEND        WI         53090                 6004                Various                                                                                               $55.98
KRISTIN DIGHT                   356 EAST 10TH STREET                                          WINONA           MN         55987                 6004                Various                                                                                               $10.00
KRISTIN EDWARDS                 112 SHAMROCK DR                                               MANKATO          MN         56001                 6002                Various                                                                                                $4.19
KRISTIN FRUEH                   32943 LAMBERT PL                                              JEFFERSON        SD         57038                 6002                Various                                                                                                $1.18
KRISTIN HART                    344 32ND AVE. N.                                              SAINT CLOUD      MN         56303                 6004                Various                                                                                                $3.00
KRISTIN JENSEN                  290 7TH ST                                                    OGDEN            UT         84404                 6002                Various                                                                                                $1.78
KRISTIN JONES                   542 E PENNSYLVAIA ST                                          BOISE            ID         83706                 6002                Various                                                                                                $6.66
KRISTIN KLINE                   P O BOX 59                                                    LEWISTON         ID         83501                 6004                Various                                                                                                $3.65
KRISTIN L NASH                  126 W FAIRVIEW RD                                             WHEATLAND        WY         82201                 6002                Various                                                                                                $8.44
KRISTIN LAWE                    234 S NATIONAL AVE # 11                                       FOND DU LAC      WI         54935                 6004                Various                                                                                                $1.00
KRISTIN LEPINSKI                528 HAYEN ST                                                  MILLADORE        WI         54454                 6004                Various                                                                                                $1.02
KRISTIN M LIEDEKA               1599 BOND CT                                                  GREEN BAY        WI         54303                 6002                Various                                                                                                $1.92
KRISTIN MANNING                 2531 PINE DR                                                  PLOVER           WI         54467                 6004                Various                                                                                                $3.00
KRISTIN NIDA                    P O BOX 244                                                   COTTONWOOD       ID         83522                 6004                Various                                                                                                $4.00
KRISTIN O'CONNOR                805 4TH AVE                                                   HOLDREGE         NE         68949                 6002                Various                                                                                                $6.38
KRISTIN REED                    5665 N. FLANSBURG RD.                                         LENA             IL         61048                 6004                Various                                                                                               $21.00
                                                           855 E. LAKE STREET
KRISTIN REINKE                  CARE OF WILLIAM BARRETT    #84                                LAKE MILLS       WI         53551                  6004               Various                                                                                                $2.00
KRISTIN REMP                    509 W MULLAN AVE UNIT 12                                      POST FALLS       ID         83854                  6002               Various                                                                                                $0.58
KRISTIN REYNOLDS                7546 385TH ST                                                 NORTH BRANCH     MN         55056                  6004               Various                                                                                                $8.40
KRISTIN RUSNAK                  13217TH AVENUE SOUTH                                          GREAT FALLS      MT         59405                  6004               Various                                                                                               $23.00
KRISTIN S. PERRY                1724 S 2000TH E                                               SPANISH FORK     UT         84660                  6002               Various                                                                                                $1.32
KRISTIN SAMPSON                 PO BOX 133                                                    TOPPENISH        WA         98948                  6004               Various                                                                                               $35.03
KRISTIN SCHNURER                N1458 STAR DUST DRIVE                                         GREENVILLE       WI         54942                  6004               Various                                                                                               $33.60
KRISTIN SHELDON                 404 MAIN STREET S                                             GRAND MEADOW     MN         55936                  6004               Various                                                                                                $3.00
KRISTIN SHOCKEY                 101 W BRIAR LN                                                DE PERE          WI         54115                  6002               Various                                                                                                $6.41
KRISTIN SORENSON                1136 S 13TH AVE                                               WAUSAU           WI         54401                  6004               Various                                                                                               $48.00
KRISTIN STEERE                  601 9TH AVE SE                                                OELWEIN          IA         50662                  6002               Various                                                                                                $7.12
KRISTIN WERNER                  W8135 ARNDT DR                                                PEMBINE          WI         54156                  6004               Various                                                                                                $3.00
KRISTINA A LOFTIS               4409 RUBY CT                                                  HELENA           MT         59602                  6002               Various                                                                                                $4.00
KRISTINA BOCKAROVSKA            6631 LINDSAY LN                                               RACINE           WI         53406                  6002               Various                                                                                                $5.15
KRISTINA CARLSON                14904 ECHO HILLS DRIVE                                        OMAHA            NE         68138                  6004               Various                                                                                                $2.00




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              Creditor Name                Address1              Address2        Address3             City         State           Zip   Country     Number              Claim                                                                             Total Claim
KRISTINA CHURCH                530 JACKSON STREET                                             FORT ATKINSON     WI         53538                 6004              Various                                                                                               $18.30
KRISTINA COX                   24 SHENANDOAH                                                  JACKSONVILLE      IL         62650                 6004              Various                                                                                               $15.00
KRISTINA DEITZ                 39050 HOMESTEAD AVE                                            NORTH BRANCH      MN         55056                 6002              Various                                                                                                $9.64
                               3717 EAST KARSTENS DRIVE APT
KRISTINA DILORENZO             2                                                              MADISON           WI         53704                   6004            Various                                                                                                $1.00
KRISTINA E REESE               1104 CANNON ST APT 3                                           HELENA            MT         59601                   6002            Various                                                                                                $3.92
KRISTINA FOLTZ                 639 FARNAM ST                                                  COLUMBUS          WI         53925                   6004            Various                                                                                                $2.00
KRISTINA GILBERT               117 LAKECREST DRIVE                                            BEAVER DAM        WI         53916                   6004            Various                                                                                               $14.04
KRISTINA GUNSER                6339 WEST WINSLOW ROAD                                         WINSLOW           IL         61089                   6004            Various                                                                                               $10.00
KRISTINA HARPER                1222 14TH AVE SE                                               EAST GRAND FORK   MN         56721                   6002            Various                                                                                                $3.53
KRISTINA HODGES                161 E WOOD ST                                                  NEWAYGO           MI         49337                   6002            Various                                                                                                $8.47
KRISTINA KRAUSE                692 MAPLE LANE                                                 EAGLE LAKE        MN         56024                   6004            Various                                                                                               $20.00
KRISTINA LENTZ                 5910 SPARTAN DRIVE APT. 2                                      MC FARLAND        WI         53558                   6004            Various                                                                                               $30.00
KRISTINA NORTON                1156 1/2 CROOKS ST                                             GREEN BAY         WI         54301                   6002            Various                                                                                                $8.44
KRISTINA SVEUM                 138 WATERLOO ST                                                COLUMBUS          WI         53925                   6004            Various                                                                                                $4.50
KRISTINA THIBEAULT             1832 WESTMINSTER AVE                                           WATERTOWN         SD         57201                   6004            Various                                                                                                $5.01
KRISTINE BENTRUP               N95W25124 WHITEWATER DR                                        COLGATE           WI         53017                   6004            Various                                                                                                $6.00
KRISTINE BETTERMANN            5920 ARMIDE ST N                                               NORTH LAS VEGAS   NV         89081                   6004            Various                                                                                               $25.50
KRISTINE BETZWIESER            4930 ARROWHEAD DR                                              MONONA            WI         53716                   6004            Various                                                                                               $20.00
KRISTINE CLIFFORD              1260 VANDENBOOM                                                MARQUETTE         MI         49855                   6002            Various                                                                                                $0.49
KRISTINE DOAN                  7080 BINNEY ST                                                 OMAHA             NE         68104                   6002            Various                                                                                               $10.00
KRISTINE HANSON                1630 PEACH TREE CT                                             KAUKAUNA          WI         54130                   6002            Various                                                                                                $8.08
KRISTINE JORDAN                823 A N ST # 14TH                                              MANITOWOC         WI         54220                   6002            Various                                                                                                $4.79
KRISTINE KEALIHER              N2775 CTY RD GG                                                HANCOCK           WI         54943                   6002            Various                                                                                                $9.95
KRISTINE KYRO                  20876 THIRD ST                                                 HANCOCK           MI         49930                   6002            Various                                                                                                $1.01
KRISTINE LEWIS                 12611 US HIGHWAY 212                                           NISLAND           SD         57762                   6002            Various                                                                                                $4.88
KRISTINE MATEUS                8470 S KINGS HILL DR                                           SALT LAKE CITY    UT         84121                   6002            Various                                                                                                $7.84
KRISTINE NEMEC                 3046 LONGVIEW LN                                               SUAMICO           WI         54173                   6002            Various                                                                                                $2.14
KRISTINE PEREZ                 6773 SCHROEDER RD #3                                           MADISON           WI         53711                   6004            Various                                                                                                $2.00
KRISTINE RACKISON              89 WATER ST                                                    NEWAYGO           MI         49337                   6002            Various                                                                                                $3.67
KRISTINE REINERT               926 JEFFERSON STREET                                           HUTCHINSON        MN         55350                   6004            Various                                                                                               $32.49
KRISTINE S KORB                920 TALBOT AVE                                                 DE PERE           WI         54115                   6002            Various                                                                                                $4.77
KRISTINE SCHEFF                81 1ST AVE N W               BOX 103                           TRIMONT           MN         56176                   6004            Various                                                                                                $2.00
KRISTINE SEIDL                 N582 MILITARY RD                                               SHERWOOD          WI         54169                   6002            Various                                                                                                $0.60
KRISTINE SERKIZ                316 E FREMONT ST APT 5                                         ONEILL            NE         68763                   6002            Various                                                                                                $7.01
KRISTINE SIMON                 1270 MCMAHON DR                                                SUN PRAIRIE       WI         53590                   6004            Various                                                                                               $16.80
KRISTINE STANT                 4673 PITTMAN SW AVE                                            COKATO            MN         55321                   6002            Various                                                                                                $9.53
KRISTINE STARKEY               68 N MAIN ST                                                   BRIGHAM CITY      UT         84302                   6002            Various                                                                                                $9.51
KRISTINE STELLING              520 WILSON AVE NE                                              ST. CLOUD         MN         56304                   6004            Various                                                                                               $25.00
KRISTINE STENCIL               2470 MARY JO DR                                                GREEN BAY         WI         54311                   6002            Various                                                                                                $4.82
KRISTINE STIVER                1042 GRANDVIEW DR                                              BRIGHAM CITY      UT         84302                   6002            Various                                                                                                $9.18
KRISTINE VAN ROY               W5840 MANITOWAC RD.                                            APPLETON          WI         54915                   6004            Various                                                                                               $35.00
KRISTINE WALLBERG              1019 DIVISION ST                                               GREEN BAY         WI         54303                   6002            Various                                                                                                $5.97
KRISTOFFER BLACK               406 S. 3RD ST                                                  WATERTOWN         WI         53094                   6004            Various                                                                                                $1.04
KRISTOPHER A KAZZEE            903 EDWARDS ST APT 5                                           SALMON            ID         83467                   6002            Various                                                                                                $7.64
KRISTOPHER BAIN                886 S 33RD ST APT 1                                            LINCOLN           NE         68510                   6002            Various                                                                                                $3.51
KRISTOPHER BARON               812 W 460TH S                                                  TREMONTON         UT         84337                   6002            Various                                                                                                $0.63
KRISTOPHER DUFFY               9530 CTY C                                                     STURGEON BAY      WI         54235                   6004            Various                                                                                                $2.00
KRISTOPHER NORDLOF             13191 100TH ST                                                 BLOOMER           WI         54724                   6002            Various                                                                                                $6.79
KRISTOPHER NYMAN               8 W VERMILION PL                                               ELY               MN         55731                   6002            Various                                                                                                $0.85
KRISTOPHER SUMMERS             1418 OKEEFE RD.                                                DE PERE           WI         54115                   6004            Various                                                                                                $7.34
KRISTOPHER W BEECH             525 SECOND W                                                   AFTON             WY         83110                   6002            Various                                                                                                $5.53
KRISTY BRZEZINESKI             540 FERNCLIFF DR                                               KAUKAUNA          WI         54130                   6004            Various                                                                                               $16.00
KRISTY DAUGHERTY               1019 15TH ST N PRERELEASE                                      GREAT FALLS       MT         59401                   6002            Various                                                                                                $0.49




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KRISTY DIRDEN                   1615 S WEST                                                    JACKSONVILLE    IL         62650                 6004                Various                                                                                            $16.00
KRISTY GUEST                    1318 E 2ND ST                                                  NORTH PLATTE    NE         69101                 6002                Various                                                                                             $5.40
KRISTY HERZIG                   1514 SO 9TH                                                    MANITOWOC       WI         54220                 6004                Various                                                                                             $2.00
KRISTY HINDERLITER              201 N MAIN                                                     CHASE           KS         67524                 6002                Various                                                                                             $4.38
KRISTY J JOHNSON                1838 OLYMPIC ST                                                MORA            MN         55051                 6002                Various                                                                                             $7.64
KRISTY JUHL                     408 S MAIN ST                                                  CLEAR LAKE      IA         50428                 6004                Various                                                                                            $16.62
KRISTY KAROW                    408 6TH ST NW                                                  AUSTIN          MN         55912                 6004                Various                                                                                             $3.00
KRISTY KELLERSMITH              W4624 BUTTERCUP DR                                             REDGRANITE      WI         54970                 6002                Various                                                                                             $8.27
KRISTY L OWENS                  907 E STREET                                                   EDGEMONT        SD         57735                 6002                Various                                                                                             $6.14
KRISTY LAMBERT                  255 W 300TH N # 16                                             LOGAN           UT         84321                 6002                Various                                                                                             $1.15
KRISTY LANCELLO                 1641 PIN TAIL DR                                               WEST BEND       WI         53095                 6004                Various                                                                                            $30.00
KRISTY LAUE                     215 MADISON STREET                                             DARIEN          WI         53114                 6004                Various                                                                                            $10.00
KRISTY NELSON-GUTIERREZ         3910 RIDGE AVE                                                 SIOUX CITY      IA         51106                 6004                Various                                                                                            $15.00
KRISTY PHILLIPS                 817 W AVE                                                      MADISON         SD         57042                 6002                Various                                                                                             $1.66
KRISTY POWELL                   2811 PONDEROSA DR                                              BELLEVUE        NE         68123                 6004                Various                                                                                             $4.00
KRISTY SPINHIRNE                176 MONROE                                                     WATERLOO        WI         53594                 6004                Various                                                                                             $2.00
KRISTY STAPLES                  4256 GINGER AVE                                                HARRIS          MN         55032                 6004                Various                                                                                             $3.00
KRISTYN BENNETT                 2023 S 24TH ST.                                                LINCOLN         NE         68502                 6004                Various                                                                                             $4.00
KRISTYN SORENSEN                9318 FOWLER AVE                                                OMAHA           NE         68134                 6002                Various                                                                                             $9.04
KRISTYN STEBELTON               1178 M CHURCH CT                                               NIAGARA         WI         54151                 6002                Various                                                                                             $8.79
KROBY NICHOLSON                 3309 LEOPOLD WAY           APT 101                             MADISON         WI         53713                 6004                Various                                                                                             $2.00
KROGER                          1408 8TH STREET                                                HARLAN          IA         51537                                     Various                                                                                           $769.46
KROHMER PLUMBING                401 S OHLMAN                                                   MITCHELL        SD         57301                                     Various                                                                                           $513.43

KRONOS INCORPORATED             TALENT MANAGEMENT DIVISION PO BOX 743208                       ATLANTA         GA         30374-3208             4743               Various                                                                                        $10,157.75
KRUSER FAMILY                   5010 PARTRIDGE LN S                                            LA CROSSE       WI         54601                  6002               Various                                                                                             $9.89
KRYSTA HUBBARD                  825 E 7TH ST APT L                                             POWELL          WY         82435                  6002               Various                                                                                             $9.48
KRYSTA L SWANSON                202 W MAIN ST                                                  CAMERON         WI         54822                  6002               Various                                                                                             $3.51
                                12348 SUMMER MEADOW G RD
KRYSTA VANDAMME                 #5                                                             ROCK            MI         49880                  6002               Various                                                                                             $4.05
KRYSTAL CAMPBELL                21191 LAIS AVE                                                 READING         MN         56165                  6004               Various                                                                                             $3.00
KRYSTAL FORSGREN                1630 N 5600TH W                                                CORINNE         UT         84307                  6002               Various                                                                                            $19.73
KRYSTAL LAYOFF                  408 S MEMORIAL DR                                              APPLETON        WI         54911                  6004               Various                                                                                             $8.95
KRYSTAL PETRE                   W5610 CTY RD F                                                 WAUTOMA         WI         54982                  6002               Various                                                                                            $10.00
KRYSTAL SCHULTZ                 1406 SUNSET ST                                                 NEWCASTLE       WY         82701                  6002               Various                                                                                             $5.45
KRYSTAL TATMAN                  313 W 3RD AVE                                                  MONMOUTH        IL         61462                  6002               Various                                                                                             $1.67
KRYSTAL TIERNEY                 2006 SOUTH 90TH STREET                                         OMAHA           NE         68124                  6004               Various                                                                                            $60.00
KRYSTENA KUNZE                  203 W LINDEN ST                                                ABBOTSFORD      WI         54405                  6002               Various                                                                                             $4.68
KRYSTIN WELLS                   124 E 15TH ST                                                  IDAHO FALLS     ID         83404                  6002               Various                                                                                             $0.41
KRYSTINA SIMON                  10 1/2 E MAIN ST                                               NEW HAMPTON     IA         50659                  6002               Various                                                                                             $2.00
KRYSTINE HOEFLER                1206 DORIS ST                                                  WATERTOWN       WI         53094                  6004               Various                                                                                            $22.95
KRYSTLE E MORIN                 BOX 274                                                        PARMALEE        SD         57566                  6002               Various                                                                                             $5.84
KRYSTLE RAMIREZ                 1412 S 9TH STREET APT 4                                        SHEBOYGAN       WI         53081                  6666               Various                                                                                             $7.49
KSH BRANDS LLC (C-HUB)          2 MILL STREET                                                  CORNWALL        NY         12518                  2601               Various                                                                                          $596.53
KT HEALTH LLC                   584 EAST 1100 SOUTH STE 4                                      AMERICAN FORK   UT         84003-0000             9315               Various                                                                                         $5,682.31
KUCERA ELECTRIC INC.            130 NORTH MAIN                                                 WINNER          SD         57580                                     10/19/2018                                                                                      $1,206.28
KUE YANG LO                     1405 ASHLAND AVE                                               SHEBOYGAN       WI         53081                  6002               Various                                                                                             $9.12
KUEMMERLEIN FAMILY              1460 CTY I                                                     GRAFTON         WI         53024                  6002               Various                                                                                             $7.26
KUETH CHAN                      4308 GRANT ST                                                  OMAHA           NE         68111                  6004               Various                                                                                            $31.00
KULLEN PARKS                    2977 SIGGELKOW RD                                              MC FARLAND      WI         53558                  6004               Various                                                                                            $23.00
KURICH THAO                     3878 SUNNY WOOD DRIVE                                          DE FOREST       WI         53532                  6004               Various                                                                                            $10.00
KURKERWICZ FAMILY               1776 AUDUBON AVE                                               GRAFTON         WI         53024                  6002               Various                                                                                             $5.95
KURSTON ROSS                    P O BOX 18261                                                  SALEM           OR         97305                  6004               Various                                                                                            $13.51
KURT ANNIS                      838 JEFFERSON STREET                                           OSHKOSH         WI         54901                  6004               Various                                                                                             $2.00




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                                                                                                                                                      Account         Incurred, Basis for
              Creditor Name                Address1              Address2           Address3              City       State         Zip    Country     Number                Claim                                                                             Total Claim
KURT BOESEN                    1411 COMANCHE AVE                                                 GREEN BAY        WI         54313                6004                Various                                                                                             $1.02
KURT BRADY                     314 STRATOFORT ST                                                 GWINN            MI         49841                6002                Various                                                                                            $18.85
KURT EFFLING                   BOX 63                                                            ARTESIAN         SD         57314                6002                Various                                                                                             $8.85
KURT HELLWIG                   PO BOX 1033                                                       BIGFORK          MT         59911                6002                Various                                                                                             $6.44
KURT HILL                      504 HIGHWAY 93 N                                                  CARMEN           ID         83462                6002                Various                                                                                             $0.66
KURT HOLLATZ                   313 MAGEE STREET                                                  MARSHFIELD       WI         54449                6004                Various                                                                                             $3.60
KURT JOHNSON                   330 SPRUCE ST                                                     PESHTIGO         WI         54157                6004                Various                                                                                            $17.51
KURT KONTOWICZ                 2145 CLEARNCE AVE.                                                RACINE           WI         53405                6004                Various                                                                                            $15.00
KURT NIEMI                     1855 ONTARIO AVE                                                  MARQUETTE        MI         49855                6002                Various                                                                                             $3.89
KURT REED                      W6225 APPLE LN                                                    FORT ATKINSON    WI         53538                6002                Various                                                                                             $5.84
KURT S ADLER (C-HUB)           122 E 42ND STREET 2ND FLOOR                                       NEW YORK         NY         10168                0301                Various                                                                                         $8,209.00
KURT SIPIORSKI                 2000 JOHNSON DRIVE            LOT 29                              MANITOWOC        WI         54220                6004                Various                                                                                             $1.00
KURT STERNITZKY                1487 CORMIER RD                                                   GREEN BAY        WI         54313                6002                Various                                                                                             $1.26
KURT THOMAS                    8285 HIGHWAY # F                                                  BAILEYS HARBOR   WI         54202                6002                Various                                                                                             $9.46
KURT TOYNBEE                   305 FRENCH MT RD                                                  PIERCE           ID         83546                6002                Various                                                                                             $3.12
KURT WEBER                     217 S. ANN ST                                                     HUSTISFORD       WI         53034                6004                Various                                                                                            $40.00
KURT WENTZ                     3518 13TH ST APT 2                                                MENOMINEE        MI         49858                6002                Various                                                                                             $6.74
KURT WHEELER                   670 10TH AVE                  UNIT 25                             BALDWIN          WI         54002                6004                Various                                                                                             $2.00
KURTIS FEIGE                   1630 S 4TH AVE                                                    POCATELLO        ID         83201                6004                Various                                                                                            $20.00
KURTIS HARDIE                  PO BOX 209                                                        REDFIELD         SD         57469                6004                Various                                                                                             $2.00
KURTIS HOLMAN                  10196 HWY 10                                                      MARSHFIELD       WI         54449                6004                Various                                                                                            $14.10
KUTZ & O'BRIEN INC             630 HILL AVE                                                      GRAFTON          ND         58237                                    12/6/2018                                                                                        $521.08
KWAMI KODZO-NYAMEDI            7226 WOOD LANE DRIVE                                              LA VISTA         NE         68128                 6004               Various                                                                                            $16.00
KWDZ MANUFACTURING             337 S ANDERSON ST                                                 LOS ANGELES      CA         90033                 8685               Various                                                                                        $38,950.00
KWIK TRIP EXTENDED NETWORK     ACCOUNT BG2250301             PO BOX 70887                        CHARLOTTE        NC         28272-0887            8248               Various                                                                                            $23.29
KWINTIN ASAY                   242 CLARK ST                                                      THERMOPOLIS      WY         82443                 6002               Various                                                                                             $9.86
KWONG MING LAM                 N7110 N SHORE RD                                                  LAKE MILLS       WI         53551                 6002               Various                                                                                            $10.00
KWYNN CARTER                   2132 PIGEON CT                                                    DE PERE          WI         54115                 6004               Various                                                                                            $44.55
KYA NELSON                     923 ENGLISH ST                APT 1                               RACINE           WI         53402                 6004               Various                                                                                             $3.00
KYA SCHAFER                    PO BOX 111                                                        CAREY            ID         83320                 6004               Various                                                                                             $3.65
KYAN TEEPE                     2251 ECHO AVE                                                     ROCKFORD         IA         50468                 6002               Various                                                                                             $8.66
KYANA PENEUETA                 6349 S BEN AIR DRIVE                                              SALT LAKE CITY   UT         84129                 6004               Various                                                                                             $9.99
KYLA GUNDVALDSON               307 W MCQUESTION ST                                               GHENT            MN         56239                 6004               Various                                                                                            $13.00
KYLA THOMAS                    519 NORTHPORT DRIVE APT 6                                         MADISON          WI         53704                 6004               Various                                                                                             $3.00
KYLAH GLADNEY                  727 GARFIELD                                                      BELOIT           WI         53511                 6004               Various                                                                                             $3.00
KYLE BALKE                     462 HOLLAND CT                                                    KAUKAUNA         WI         54130                 6004               Various                                                                                             $1.98
KYLE BENDER                    404 S 85TH ST                                                     WAUSAU           WI         54403                 6002               Various                                                                                             $5.21
KYLE BOETTCHER                 3148 ABELLA ST                                                    LA CRESSETA      CA         91414                 6002               Various                                                                                             $8.52
KYLE BUCHOLZ                   PO BOX 556                                                        ELLSWORTH        WI         54011                 6004               Various                                                                                            $21.00
KYLE COUMBS                    512 DAMVIEW RD                                                    BOX ELDER        SD         57719                 6004               Various                                                                                            $15.00
KYLE COUSLAND                  341 THIRD STREET                                                  MENASHA          WI         54952                 6004               Various                                                                                             $1.00
KYLE COUZENS                   1808 LAKE VIKING TER                                              GALLATIN         MO         64640                 6002               Various                                                                                             $2.08
KYLE CRANDELL                  38965 12TH AVE                                                    NORTH BRANCH     MN         55056                 6004               Various                                                                                            $60.00
KYLE CREZEE                    678 E 2825 N                                                      OGDEN            UT         84414                 6004               Various                                                                                            $83.00
KYLE DELWICHE                  3850 VANLAANEN RD                                                 GREEN BAY        WI         54311                 6002               Various                                                                                             $3.04
KYLE DROSTER                   510 MADISON ST                                                    MARSHALL         WI         53559                 6002               Various                                                                                             $4.38
KYLE DUGGAN                    3180 SAWYER CREEK DR                                              OSHKOSH          WI         54904                 6002               Various                                                                                             $2.49
KYLE E. DEUSER                 202 W POLELINE RD                                                 POST FALLS       ID         83854                 6002               Various                                                                                             $6.55
KYLE E.J. KNOWLTON             631 VISTA AVE                                                     LEWISTON         ID         83501                 6004               Various                                                                                             $4.00
KYLE EALY                      5532 205TH ST                                                     MEDIAPOLIS       IA         52625                 6004               Various                                                                                             $2.00
KYLE EDGAR                     P.O. BOX 193                                                      WHITE SWAN       WA         98952                 6004               Various                                                                                            $10.03
KYLE FAMILY                    N2959 BUENA VISTA RD                                              FORT ATKINSON    WI         53538                 6002               Various                                                                                             $1.12
KYLE FLORES                    1505 S RAWLEIGH                                                   FREEPORT         IL         61032                 6004               Various                                                                                             $5.00
KYLE FLOWERS                   438 NORTH CENTER ST           APT 203                             SALT LAKE CITY   UT         84103                 6004               Various                                                                                            $40.00




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             Creditor Name                Address1              Address2           Address3             City         State           Zip   Country     Number                Claim                                                                             Total Claim
KYLE G SMITH                  481 E 200TH S                                                     LOGAN             UT         84321                 6002                Various                                                                                                $6.79
KYLE GOERGEN                  1928 CONCORD TRL                                                  EAU CLAIRE        WI         54703                 6002                Various                                                                                                $4.47
KYLE HASKELL                  2511 SHERIDAN RD                                                  BELLEVUE          NE         68123                 6004                Various                                                                                               $20.00
KYLE HAY                      2394 SHERWOOD ST                                                  BROOK PARK        MN         55007                 6004                Various                                                                                               $60.75
KYLE HENTGES                  7001 US HIGHWAY 2                                                 WOLF POINT        MT         59201                 6002                Various                                                                                                $8.90
KYLE HOEN                     2907 W BIG BEND DR                                                APPLETON          WI         54914                 6002                Various                                                                                                $7.59
KYLE HUMPHRIES                337 S 100TH E                                                     SPANISH FORK      UT         84660                 6002                Various                                                                                                $8.03
KYLE JACKSON                  806 SO ORCH'ARD ST                                                MADISON           NE         68748                 6004                Various                                                                                                $2.00
KYLE JAHR                     W14154 HILCREST RD                                                BLAIR             WI         54616                 6004                Various                                                                                               $25.00
KYLE JED                      1011 PLOVER RD                                                    PLOVER            WI         54467                 6004                Various                                                                                                $5.00
KYLE JOHNSON                  1804 SHORE DRIVE                                                  MARINETTE         WI         54143                 6004                Various                                                                                               $32.00
KYLE JONES                    2615 LAUREL DR                                                    CLARKSTON         WA         99403                 6004                Various                                                                                               $29.00
KYLE KIENITZ                  742 CARVER LN                                                     MENASHA           WI         54952                 6002                Various                                                                                                $4.36
KYLE KUCHENMEISTER            713 ANDERSON AVE.                                                 SAINT CLOUD       MN         56301                 6004                Various                                                                                                $3.00
KYLE LARSEN                   2611 N BALLARD RD APT 22D                                         APPLETON          WI         54911                 6002                Various                                                                                               $10.00
KYLE M ANDERSON               12485 US HIGHWAY 14A                                              STURGIS           SD         57785                 6002                Various                                                                                                $0.63
KYLE MALACH                   1228 NICOLET AVE                                                  GREEN BAY         WI         54304                 6004                Various                                                                                               $25.00
KYLE MALONEY                  1159 BROSIG ST                APT B                               GREEN BAY         WI         54311                 6004                Various                                                                                               $27.00
KYLE MATHIOWETZ               1101 S 1ST ST                                                     MARSHALL          MN         56258                 6002                Various                                                                                                $3.64
KYLE MATTSON                  85297 550TH AVE                                                   PIERCE            NE         68767                 6002                Various                                                                                                $0.60
KYLE MCLAUGHLIN               182 BRULE RD                                                      DE PERE           WI         54115                 6002                Various                                                                                                $1.34
KYLE MCWILLIAMS               3467 STATE ROAD 81 NORTH                                          PLATTEVILLE       WI         53818                 6004                Various                                                                                               $28.00
KYLE MOE                      101 N SECTION LINE ST                                             HOWARD            SD         57349                 6004                Various                                                                                               $10.00
KYLE MOELLER                  26289 297TH AVE                                                   WINNER            SD         57580                 6002                Various                                                                                                $0.96
KYLE NAMKEN                   PO BOX 102                                                        LAKE NORDEN       SD         57248                 6002                Various                                                                                                $5.97
                              66 SOUTH OAKRIDGE CT., APT.
KYLE NELSON                   214                                                               MADISON           WI         53717                  6004               Various                                                                                            $20.00
KYLE NEWELL                   9092 COUGAR BULCH                                                 COEUR D ALENE     ID         83814                  6004               Various                                                                                            $10.60
KYLE NORWOOD                  426 FRANKLIN ST.                                                  STEVENS POINT     WI         54481                  6004               Various                                                                                            $25.00
KYLE PECK                     1330 W WASATCH AVE                                                SALT LAKE CITY    UT         84104                  6002               Various                                                                                             $7.18
KYLE PETERSON                 6620 MARINER DR               APT 103                             RACINE            WI         53406                  6004               Various                                                                                            $27.35
KYLE PETOSKEY                 1204 S. 3RD ST                                                    WATERTOWN         WI         53094                  6004               Various                                                                                           $116.45
KYLE R KOPCZYNSKI             1409 HEMLOCK AVE                                                  LEWISTON          ID         83501                  6002               Various                                                                                             $2.77
KYLE R KROTH                  6 MONTANA AVE APT 4                                               LAUREL            MT         59044                  6002               Various                                                                                             $8.03
KYLE R. ROBBINS               111 DUNBAR AVE                                                    HELENA            MT         59602                  6002               Various                                                                                             $3.26
KYLE REED                     42 W SAINT MARY ST                                                MILTON            WI         53563                  6004               Various                                                                                             $3.30
KYLE SAUER                    1016 N STANLEY ST                                                 MEDICAL LAKE      WA         99022                  6002               Various                                                                                             $7.70
KYLE SCHERER                  1523 S 16TH STREET                                                MANITOWOC         WI         54220                  6004               Various                                                                                             $3.00
KYLE SHINDERLING              PO BOX 1353                                                       CHALLIS           ID         83226                  6002               Various                                                                                             $7.95
KYLE SIMPSON                  2206 CAMP BREWSTER RD                                             BELLEVUE          NE         68005                  6004               Various                                                                                             $2.99
KYLE SNOWTALA                 2521 63RD ST                                                      KENOSHA           WI         53143                  6004               Various                                                                                             $3.00
KYLE SOMMER                   1008 S15TH STREET                                                 SHEBOYGAN         WI         53081                  6004               Various                                                                                            $30.00
KYLE STANEK                   13703 GLENGARRY CIRCLE                                            BELLEVUE          NE         68123                  6004               Various                                                                                            $25.00
KYLE STEFANICK                111 SEQUOYAH CT SW                                                POPLAR GROVE      IL         61065                  6004               Various                                                                                            $11.96
KYLE STRATTON                 N7003 710TH STREET                                                BELDENVILLE       WI         54003                  6002               Various                                                                                            $20.07
KYLE STUDNICKA                6130 SANDSTONE DR                                                 MADISON           WI         53719                  6004               Various                                                                                            $10.00
KYLE SYDOR                    235 GALE ST APT 41                                                OCONTO            WI         54153                  6002               Various                                                                                             $7.37
KYLE TIMMERMAN                N4170 EVERGREEN ST.                                               BRODHEAD          WI         53520                  6004               Various                                                                                            $13.40
KYLE VOLBRIGHT                157 7TH. STREET                                                   FOND DU LAC       WI         54935                  6004               Various                                                                                            $22.00
KYLE VOSS                     3092 CEDAR ST                                                     MISSOURI VALLEY   IA         51555                  6002               Various                                                                                             $2.55
KYLE W O'BRIEN                701 W HAYDEN AVE APT 6                                            HAYDEN            ID         83835                  6002               Various                                                                                             $2.25
KYLE WALLERICH                377 MAIN STREET                                                   WINONA            MN         55987                  6004               Various                                                                                            $36.00
KYLE WATT                     4429 SUMMERWOOD ST                                                SALT LAKE CITY    UT         84123                  6004               Various                                                                                            $17.50
KYLE WHEELER                  604 BARTELLS ROAD, #3                                             MONONA            WI         53716                  6004               Various                                                                                            $23.00




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               Creditor Name                  Address1             Address2           Address3             City       State         Zip    Country     Number                Claim                                                                             Total Claim
KYLE WILLIAMS                     2242 2ND AVENUE WEST                                             MONROE          WI         53566                6004                Various                                                                                            $29.01
KYLE ZWICKER                      906 E MILWAUKEE ST                                               ARGYLE          WI         53504                6004                Various                                                                                            $37.00
KYLEE ANN MORRELL                 3282 VILLAGE LANE                                                PLOVER          WI         54467                6004                Various                                                                                            $31.14
KYLEE HILL                        N13040 BROOKLAN RD                                               MINONG          WI         54859                6004                Various                                                                                            $29.99
KYLEE MOON                        232 VISTA EAST DR                                                THAYNE          WY         83127                6002                Various                                                                                             $5.56
KYLEE WHEELER                     9215 VALLEY RD POB # 88                                          RAPID CITY      MI         49676                6002                Various                                                                                             $4.68
KYLEIGH CROM                      2933 PADDOCK PLZ            #158B                                OMAHA           NE         68124                6004                Various                                                                                             $2.00
KYLEIGH VESPER                    238 JOHNSON ST                                                   JOHNSON CREEK   WI         53038                6004                Various                                                                                            $11.02
KYLER DEDRICK                     1671 WEST VALLEY DRIVE                                           KALISPELL       MT         59901                6004                Various                                                                                             $1.00
KYLER NIMTZ                       1780 ULAO PKWY                                                   GRAFTON         WI         53024                6002                Various                                                                                             $1.28
KYLER RIGBY                       88 S CENTER PO BOX # 555                                         NEWTON          UT         84327                6002                Various                                                                                             $6.22
KYLER WAY                         519 E 16TH AVE                                                   MITCHELL        SD         57301                6002                Various                                                                                             $9.48
KYLIE ANDERSON                    767 15TH ST                                                      OGDEN           UT         84404                6002                Various                                                                                             $4.74
KYLIE BERGER                      W6142 WILD CHERRY CT                                             MENASHA         WI         54952                6002                Various                                                                                             $0.66
KYLIE BOYCE                       1228 S BROADWAY ST                                               GREEN BAY       WI         54304                6004                Various                                                                                             $1.00
KYLIE EVANS                       7609 GLYNOAKS CT                                                 LINCOLN         NE         68516                6004                Various                                                                                             $2.00
KYLIE JONES                       1550 NORTH 2753RD LANE                                           LORRAINE        IL         62349                6004                Various                                                                                            $40.39
KYLIE KROMBACH                    N65W6477 CLEVELAND CT                                            CEDARBURG       WI         53012                6002                Various                                                                                             $0.93
KYLIE ROBERTSON                   160 HERITAGE WAY                                                 WHITEFISH       MT         59937                6002                Various                                                                                             $8.33
KYLIE WEISS                       604 RANCHVIEW CT                                                 MISHICOT        WI         54228                6004                Various                                                                                             $3.00
KYMBERLY C STARKER                W5580 KING RD                                                    RIO             WI         53960                6002                Various                                                                                             $2.52
KYMBERLY CIHLAR                   330 CENTRAL AVE S                                                BROOTEN         MN         56316                6002                Various                                                                                             $0.27
KYRA GRETZINGER                   518 N ERIE ST                                                    DE PERE         WI         54115                6002                Various                                                                                             $6.22
KYRA M. MILLER                    503 S H ST                                                       MONMOUTH        IL         61462                6002                Various                                                                                             $7.48
KYRA ROBSON                       3741 DUDLEY ST.                                                  E HELENA        MT         59635                6004                Various                                                                                             $3.00
KYRA WOLKOW                       316 6TH ST SE                                                    WATERTOWN       SD         57201                6004                Various                                                                                            $39.99
KYRIE HECK                        W5536 PARK DRIVE                                                 ELKHORN         WI         53121                6004                Various                                                                                             $8.98
KYRIN DADE                        211 E JEFFERSON STREET                                           ELKHORN         WI         53121                6004                Various                                                                                             $3.00
KYRSTON BELL                      611 WEST MADISON ST                                              LAKE MILLS      WI         53551                6004                Various                                                                                             $9.98
KYSHAWN BANKSTON                  817 NORTH THOMPSON DR.      APT. 204                             MADISON         WI         53704                6004                Various                                                                                             $1.00
KYSON BYLER                       9 MADISON AVE NW UNIT 2                                          EYOTA           MN         55934                6002                Various                                                                                             $1.51
L & E BOTTLING COMPANY            PO BOX 11159                                                     OLYMPIA         WA         98508-1159           8609                Various                                                                                          $691.97
L & M MAIL SERVICE INCORPORATE    PO BOX 805                                                       EAU CLAIRE      WI         54703-0000           2396                Various                                                                                          $106.00
L & S PROPERTIES OF WEBSTER LL    1104 18TH AVENUE NE                                              ABERDEEN        SD         57401                2761                Various                                                                                         $6,850.00
L AMY INCORPORATED                40 RICHARDS AVE 6TH FLOOR                                        NORWALK         CT         06854                4290                Various                                                                                        $88,529.64
L C INDUSTRIES LLC                DEPT 10120                  PO BOX 87618                         CHICAGO         IL         60680-0618           0957                Various                                                                                        $29,952.80
L FRANCES CARAMEL COMPANY         2500C N LYNNDALE DRIVE                                           APPLETON        WI         54914                2560                Various                                                                                          $518.40
L J (PETE) BOYER                  213 N BROADWAY ST                                                TOLEDO          IA         52342                6002                Various                                                                                             $2.08
LA CROSSE SIGN COMPANY            1450 OAK FOREST DRIVE                                            ONALASKA        WI         54650                                    1/1/2019                                                                                        $1,001.66
LA CROSSE TECHNOLOGY              2809 LOSEY BOULEVARD 5                                           LA CROSSE       WI         54601-7366            4436               Various                                                                                        $98,513.25
LA DONNA MORSE                    945 CENTER ST                                                    DELAVAN         WI         53115                 6002               Various                                                                                             $7.59
LA DONNA ROBINSON                 5719 HENNINGER DR           APT 30                               OMAHA           NE         68104                 6004               Various                                                                                             $2.00
LA JORDAN WOODRUFF                5810 SOUTH 96TH             APT 136                              OMAHA           NE         68107                 6004               Various                                                                                            $18.05
LA MAR PULLIAM                    2242 TALL GRASS CT #17                                           BELOIT          WI         53511                 6004               Various                                                                                            $50.00
LA SALLE COUNTY TAX OFFICE        PO BOX 737                                                       COTULLA         TX         78014                 4636               Various                                                                                         $2,950.49
LA THAO                           125 E ROELAND AVENUE                                             APPLETON        WI         54915                 6004               Various                                                                                             $4.99
LACASSE FAMILY                    8083 341ST ST                                                    STACY           MN         55079                 6002               Various                                                                                             $2.08
LACEE VITALE                      1726 JERSEY LN                                                   TOMAHAWK        WI         54487                 6002               Various                                                                                             $0.36
LACEY BERGER                      W1431 HWY 64                                                     MARINETTE       WI         54143                 6004               Various                                                                                            $10.00
LACEY DAHLBERG                    1025 TEXAS AVE NW           APT. F6                              HUTCHINSON      MN         55350                 6004               Various                                                                                             $3.06
LACEY EDWARDSON                   503 E. NORTH ST.                                                 DODGEVILLE      WI         53533                 6004               Various                                                                                            $20.00
LACEY FIORELLI                    944 S 11TH AVE                                                   BROKEN BOW      NE         68822                 6002               Various                                                                                             $6.74
LACEY FREED                       84 6TH STREET                                                    FOND DU LAC     WI         54935                 6004               Various                                                                                            $10.00
LACEY HEINEN                      2228 SUNFLOWER AVE                                               SHEBOYGAN       WI         53081                 6004               Various                                                                                             $5.02




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                                                                                                                                                     Account         Incurred, Basis for
              Creditor Name                Address1           Address2           Address3            City          State           Zip   Country     Number                Claim                                                                             Total Claim
LACEY HOWARD                   704 CHERRY AVE                                                HELENA             MT         59601                 6002                Various                                                                                             $9.04
LACEY RAHN                     502 JOHNSON ST                                                WAKEFIELD          NE         68784                 6002                Various                                                                                             $6.58
LACEY ROSE VAN CLEAVE          543 14TH ST LOT 11                                            STURGIS            SD         57785                 6002                Various                                                                                             $1.12
LACEY SANOW                    107 3R ST.                                                    RUSSELL            MN         56169                 6004                Various                                                                                          $175.00
LACEY SCHERER                  105 NORTH THOMAS STREET                                       LOYAL              WI         54446                 6004                Various                                                                                            $20.00
LACEY SIKORA                   5140 CTY RD A                                                 LENA               WI         54139                 6002                Various                                                                                            $10.00
LACEY SIMON                    111 N ELM ST                                                  BLACK CREEK        WI         54106                 6004                Various                                                                                            $25.62
LACHELLE HAZEL                 4522 CROWN POINT AVE                                          OMAHA              NE         68104                 6004                Various                                                                                             $4.00
LACHELLE HUFFMAN               800 PAWNEE LN                                                 BROKEN BOW         NE         68822                 6002                Various                                                                                             $7.95
LACI DESS                      4035 VENTURA WAY                                              EAST HELENA        MT         59635                 6002                Various                                                                                             $3.56
LACIE CRAWFORD                 1416 GRELLE AVE                                               LEWISTON           ID         83501                 6004                Various                                                                                            $10.02
LACY KREILING                  723 28TH ST NW                                                ROCHESTER          MN         55901                 6002                Various                                                                                             $0.33
LACY SCHROEDER                 360 N BROADWAY                                                WELLS              MN         56097                 6004                Various                                                                                            $10.02
LACY TELLOCK                   8434 OCONNELLS RESORT RD                                      WINNECONNE         WI         54986                 6002                Various                                                                                             $2.16
LADAINAIN MASON                10 ENGAVO LN                                                  FORT WASHAKIE      WY         82514                 6002                Various                                                                                             $5.18
LADAWN DUBBELD                 1459 E. LEXINGTON DR                                          SANDY CITY         UT         84094                 6004                Various                                                                                            $36.00
LADAWN HENDERSON               BOX 582                                                       MTN VIEW           WY         82939                 6002                Various                                                                                             $9.01
LADAWN REUTER                  1664 JUNIPER DRIVE                                            GREEN BAY          WI         54302                 6004                Various                                                                                            $20.00
LADELL STONECIPHER             2401 N 52ND ST                                                LINCOLN            NE         68504                 6002                Various                                                                                             $7.29
LADIBUGS LLC                   PO BOX 183                                                    BUFFALO            MN         55313                 1797                Various                                                                                         $6,277.53
LADOLCE ANDERSON               432 W EXCHANGE ST                                             FREEPORT           IL         61032                 6002                Various                                                                                             $2.22
LADONNA WETMORE                1200 HIGHTOWER RD                                             WHEATLAND          WY         82201                 6002                Various                                                                                             $5.73
LADONNA WILCOX                 201 E CHERRY ST                                               WINCHESTER         IL         62694                 6002                Various                                                                                             $2.58
LADY (PET) ODONELL             125 E MAIN ST                                                 NEGAUNEE           MI         49866                 6002                Various                                                                                             $2.74
LADY BIRD MOORE                8307 HOFFMAN RD                                               COLEMAN            WI         54112                 6002                Various                                                                                             $1.37
LAFORCE INCORPORATED           PO BOX 10068                                                  GREEN BAY          WI         54307                 2321                Various                                                                                          $249.48
LAH PAW                        4800 N 15TH                                                   LINCOLN            NE         68521                 6004                Various                                                                                             $4.00
LAHNI IRELAND                  BOX 2011                                                      OROFINO            ID         83544                 6002                Various                                                                                             $1.21
LAHOMA COUNTS                  625 S GRANT AVE                                               MASON CITY         IA         50401                 6002                Various                                                                                             $2.66

LAI/ JASON                     STORE 2-706                SHOPKO EMPLOYEE 115 LEROUX DRIVE   DONIPHAN           MO         63935                  2496               Various                                                                                               $51.20
LAINA DIETSCH                  630 QUAIL COURT                                               SELAH              WA         98942                  6004               Various                                                                                               $31.75
LAINE HAYES                    2801 E 14TH                                                   SIOUX FALLS        SD         57103                  6004               Various                                                                                               $89.99
LAINEY KATHE MANSKE            S1756 HIGHWAY 162                                             CHASEBURG          WI         54621                  6002               Various                                                                                                $2.11
LAJUANA KELLEY                 940 N 7TH ST                                                  AUMSVILLE          OR         97325                  6004               Various                                                                                               $17.00
                                                          107 N W 2ND
LAKE COUNTY FOOD PANTRY INC    ED HANSEN                  STREET                             MADISON            SD         57042                   6666              Various                                                                                          $265.32
LAKE VEW MEMORIAL HOSPITAL     325 11TH AVE                                                  TWO HARBORS        MN         55616                   6666              Various                                                                                            $59.98
LAKEISHA LIVINGSTON            3722 HIMEBAUGH AVE                                            OMAHA              NE         68111                   6004              Various                                                                                             $4.00
LAKERS NEW PRAGUE SANITARY     3275 EAST 260TH STREET                                        WEBSTER            MN         55088                                     Various                                                                                         $1,558.15
                                                                                                                                                                     12/22/2018 -
LAKES GAS CO NO. 31            235 NAUTICAL DR                                               STURGEON BAY       WI         54235-1981              OM01              1/9/2019                                                                                        $3,205.72
                                                                                                                                                                     12/14/2018 -
LAKES GAS CO NO. 46            1106 SD HWY 10                                                SISSETON           SD         57262                  25988              1/7/2019                                                                                        $2,077.66
LAKESIDE PEPSI COLA COMPANY    300 FOREST AVENUE                                             SHEBOYGAN FALLS    WI         53085-0119             4618               Various                                                                                         $9,325.68
                                                          3604 N WINIFRED
LAKESIDE STORAGE LLC           DBA STANLEY SHOPKO         WAY                                LAKE HAVASU CITY   AZ         86404                  4278               Various                                                                                        $44,883.01
LAKISHA HAZLEY                 5636 NORTH 69TH AVE.                                          OMAHA              NE         68104                  6004               Various                                                                                            $42.00
LAKISHA POPE                   3510 S 88TH ST                                                OMAHA              NE         68124                  6002               Various                                                                                             $1.92
LALA DOTY                      616 E JOHN ST APT 8                                           ONEILL             NE         68763                  6002               Various                                                                                             $0.88
LALIA MELCHOR                  615 N PEAR ST                                                 MOUNT CARMEL       IL         62863                  6002               Various                                                                                             $3.92
LAMAE STOUT                    805 MONROE ST                                                 HARRISBURG         OR         97446                  6004               Various                                                                                            $20.00
LAMAR COMPANIES                PO BOX 96030                                                  BATON ROUGE        LA         70896                  9868               Various                                                                                         $1,100.00
LAMARIS J WHITEHEAD            208 W WEBER ST                                                ALTA VISTA         IA         50603                  6002               Various                                                                                             $2.58




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                                                                                                                                                         Account         Incurred, Basis for
               Creditor Name              Address1            Address2          Address3             City             State           Zip   Country      Number                Claim                                                                             Total Claim
                                                         100 6TH DRIVE RM
LAMB COUNTY ADULT LEADERS       ATTN K9 CLUB             B5                                   LITTLEFIELD        TX           79339                   6187               Various                                                                                          $200.00
LAMBSON PLUMBING AND HEATING    3954 WEST 8350 SOUTH                                          WEST JORDAN        UT           84088                                      Various                                                                                         $2,775.00
LAMO SHEEPSKIN INC (C-HUB)      4238 GREEN RIVER RD                                           CORONA             CA           92880                   5182               Various                                                                                          $863.00
LAMONT LEWIS                    521 ST PETER AVE                                              ALBERT LEA         MN           56007                   6004               Various                                                                                             $3.00
LAMONT MONTANYE                 960 ROCKEFELLER LN                                            MADISON            WI           53704                   6004               Various                                                                                            $25.00
LAMONT MURPHY                   2742 OAK DRIVE                                                LACROSSE           WI           54601                   6004               Various                                                                                            $30.00
LANA BARSE                      512 TIOSPA DR                                                 AGENCY VILLAGE     SD           57262                   6002               Various                                                                                             $3.53
LANA KUDICK                     817 DORELLE ST                                                KEWAUNEE           WI           54216                   6002               Various                                                                                             $9.45
LANA LINDGREN                   1717 OGDEN AVE                                                SUPERIOR           WI           54880                   6002               Various                                                                                             $1.73
LANA PERRYMAN                   310 NW 9TH ST                                                 ANDREWS            TX           79714                   6002               Various                                                                                             $4.11
LANA TAUSCHER                   8163 WINDY OAK LANE      A                                    VERONA             WI           53593                   6004               Various                                                                                            $30.00
                                                                                                                                                                         11/22/2018 -
LANCASTER WATER DEPT, WI        206 SOUTH MADISON                                             LANCASTER          WI           53813                   Oct-00             12/18/2018                                                                                        $286.55
LANCE BENSON                    467 ETHETE RD                                                 LANDER             WY           82520                   6002               Various                                                                                             $9.86
LANCE BURT                      4795 160TH ST                                                 CHIPPEWA FALLS     WI           54729                   6002               Various                                                                                             $2.33
LANCE C KILISHEK                915 CLARK ST 5                                                APPLETON           WI           54911                   6004               Various                                                                                             $9.70
LANCE CARLSON                   115 N 17TH AVE                                                BROKEN BOW         NE           68822                   6002               Various                                                                                             $4.99
LANCE DORMANEN                  507 E CHANNING AVE                                            FERGUS FALLS       MN           56537                   6002               Various                                                                                             $1.40
LANCE HOWELL                    1532 W. 6TH ST           APT26                                BELVIDERE          IL           61008                   6004               Various                                                                                             $3.90
LANCE HULL                      1403 E SYMPHONY CT                                            BOISE              ID           83706                   6002               Various                                                                                             $0.68
LANCE JELINSKI                  N5702 CTY RD B                                                PLAINFIELD         WI           54966                   6002               Various                                                                                             $5.18
LANCE LIDTKE                    772 BLUFFVIEW CIRCLE                                          WINONA             MN           55987                   6004               Various                                                                                             $3.00
LANCE MANDEVILLE                2941 RIVER DR                                                 PLOVER             WI           54467                   6002               Various                                                                                             $0.36
LANCE MCLAGAN                   N7587 STATE ROAD 65                                           RIVER FALLS        WI           54022                   6002               Various                                                                                             $0.49
LANCE MONROE                    540 NORTHERN HILLS DR    APT 53                               ROCHESTER          MN           55906                   6004               Various                                                                                             $6.00
LANCE ROWLEY                    W8616 GLENDALE ROAD                                           WAUSAUKEE          WI           54177                   6004               Various                                                                                            $46.97
LANCE VESTAL                    59864 OMAN AVE                                                EMERSON            IA           51533                   6002               Various                                                                                             $5.78
LANDEN LEE                      W4387 STATE ROAD 72                                           ELLSWORTH          WI           54011                   6004               Various                                                                                             $1.00
                                ATTN MRS JENSEN SCHOOL
LANDER MIDDLE SCHOOL            PRINCIPAL                755 JEFFERSON ST                     LANDER             WY           82520                   6494               Various                                                                                           $100.00
LANDIN C MAVESLESSELYOUNG       725 LINCOLN ST                                                MENASHA            WI           54952                   6002               Various                                                                                             $1.59

LANDON BRYANT                   1321 28TH AVE S                                               WISCONSIN RAPIDS   WI           54495                   6004               Various                                                                                             $3.00
LANDON CARLSON                  14904 ECHO HILLS DR                                           OMAHA              NE           68138                   6004               Various                                                                                             $2.00
LANDON KROM                     3701 W. SHARPSHIN DR                                          COEUR D ALENE      ID           83815                   6004               Various                                                                                            $16.00
LANDON LEITZKE                  2513 N ELINOR ST                                              APPLETON           WI           54914                   6002               Various                                                                                             $0.99
LANDON MILES STANHOPE           211 S MAPLE ST                                                GALLATIN           MO           64640                   6002               Various                                                                                             $3.73
LANDON OLENA                    2533 WEST A                                                   LINCOLN            NE           68522                   6004               Various                                                                                           $200.00
LANDON STEWART                  PO BOX 53                                                     MOUNT PLEASANT     UT           84647                   6004               Various                                                                                             $5.00
LANDON WALLACE                  335 ABRAHAM                                                   POCATELLO          ID           83202                   6004               Various                                                                                            $33.00
LANE EBSEN                      529 N 2ND ST                                                  ONEILL             NE           68763                   6002               Various                                                                                             $1.04
LANE EVANSON                    223 PINEHURST DR SW      APT 203                              OLYMPIA            WA           98501                   6004               Various                                                                                            $20.00
LANE HALVERSON                  502 MCMICKEN ST                                               RAWLINS            WY           82301                   6002               Various                                                                                             $6.79
LANE JOHNSON                    420 CONISTON CIR                                              SERGEANT BLUFF     IA           51054                   6002               Various                                                                                             $9.51
LANE ROSANDER                   8 LASER ST                                                    GLASGOW            MT           59230                   6002               Various                                                                                             $1.75
                                                                         1020 WEST CHESTNUT
LANE/ JENNA                     STORE 634                SHOPKO EMPLOYEE STREET               HOOPESTON          IL           60942                   9630               Various                                                                                               $25.93
LANEANE WOLF                    6715 76TH AVE SE                                              SALEM              OR           97315                   6004               Various                                                                                               $29.55
LANELL ELLIOTT                  8090 WATERCRESS                                               NAMPA              ID           83687                   6004               Various                                                                                               $24.40
LANETTE JOHNSON                 1073 E 1300TH N                                               SHELLEY            ID           83274                   6002               Various                                                                                                $7.51
LANETTE K FISH                  8466 HIDDEN ACRES LN                                          BLOOMINGTON        WI           53804                   6002               Various                                                                                                $2.47

LANG/ NICOLE                    STORE 4-125              SHOPKO EMPLOYEE                      GREEN BAY          WI           54307-9060              9986               Various                                                                                               $28.75




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                                                                                                                                                       Account         Incurred, Basis for
             Creditor Name                  Address1                Address2        Address3             City        State           Zip   Country     Number                Claim                                                                             Total Claim
LANNA GEHLING                    BOX 344 27439 HWY 16                                            PRESTON          MN         55965                 6002                Various                                                                                                $5.45
LANNETTE ADAMS                   18791 468TH AVE                                                 ESTELLINE        SD         57234                 6002                Various                                                                                               $10.00
LANNY L HOWE                     463 E 6325TH S                                                  MURRAY           UT         84107                 6002                Various                                                                                                $7.62
LANNY WILSON                     116 2ND AVE                                                     NEWCASTLE        WY         82701                 6002                Various                                                                                                $8.90
LANSE GARRISON                   166 E OAK RD                                                    WHEATLAND        WY         82201                 6002                Various                                                                                               $47.76

LAPP/ KATE                       STORE 4-132                    SHOPKO EMPLOYEE                  GREEN BAY        WI         54307-9060             9007               Various                                                                                               $99.52
LARA ANN VALLEY                  709 E CEDAR ST                                                  STANDISH         MI         48658                  6002               Various                                                                                                $6.19
LARA LINDLBAUER                  4908 12TH RD                                                    ESCANABA         MI         49829                  6002               Various                                                                                                $6.36
LARA SCHILLING                   219 N. FEDERAL ST                                               HAMPTON          IA         50441                  6002               Various                                                                                                $5.26
LARAMIE RANGE WATER TREATMENT    PO BOX 1298                                                     DOUGLAS          WY         82633                  8104               Various                                                                                               $46.00
LARAMY D BRINK                   321 E OAKMOND                                                   MITCHELL         SD         57301                  6002               Various                                                                                                $2.68
LARANE WAHLEN                    42365 320TH ST                                                  LE SUEUR         MN         56058                  6002               Various                                                                                                $2.09
LARENA VAN PELT                  P.O. BOX 573                                                    WHITE SWAN       WA         98952                  6004               Various                                                                                               $40.00
LARISSA BLASCHKO                 52361 176TH ST                                                  GARDEN CITY      MN         56034                  6004               Various                                                                                                $3.00
LARISSA BROMLEY                  25 1/2 E CHARLES ST                                             OELWEIN          IA         50662                  6002               Various                                                                                                $3.42
LARISSA MILLER                   21528 451ST AVE                                                 ARLINGTON        SD         57212                  6004               Various                                                                                                $7.00

LARKIN/ JEFFRY                   REPLENISHMENT                  SHOPKO EMPLOYEE                  GREEN BAY        WI         54307-9060             1758               Various                                                                                               $19.44
LARMAY FAMILY                    416 WASHINGTON ST                                               OCONTO           WI         54153                  6002               Various                                                                                                $5.75
LAROY G LUCKEN                   1871 12 3/4 AVE                                                 CAMERON          WI         54822                  6002               Various                                                                                                $4.66
LARRY ADAMS                      PO BOX 16                                                       LOGAN            KS         67646                  6002               Various                                                                                                $4.27
LARRY ALTENSEY                   702 S HARVEY                                                    FREEPORT         IL         61032                  6004               Various                                                                                                $1.20
LARRY ANDERSON                   1100 4TH AVE S APT 313                                          GLASGOW          MT         59230                  6002               Various                                                                                                $4.16
LARRY ASK                        210 HIGHWAY 82                                                  KALISPELL        MT         59901                  6002               Various                                                                                                $3.29
LARRY B. PENKUNIS                307 1/2 E LAKESIDE AVE APT 2                                    COEUR D ALENE    ID         83814                  6002               Various                                                                                                $7.15
LARRY BALL                       155 KEITH DR                                                    GREEN RIVER      WY         82935                  6002               Various                                                                                                $6.30
LARRY BEALL                      652 E 1100TH N                                                  OGDEN            UT         84404                  6002               Various                                                                                                $6.93
LARRY BECKER                     29120 303RD AVE                                                 HOLCOMBE         WI         54745                  6002               Various                                                                                                $1.34
LARRY BENNETT                    11706 CRANBERRY LAKE RD                                         GLADWIN          MI         48624                  6002               Various                                                                                                $6.60
LARRY BLANCHARD                  10310 NORTH HWY 38                                              DEWEYVILLE       UT         84309                  6004               Various                                                                                               $60.00
LARRY BOYLES                     RR9 BOX 1210                                                    GATEWOOD         MO         63942                  6002               Various                                                                                                $4.16
LARRY BUSH                       3110 LAZELLE ST                                                 STURGIS          SD         57785                  6002               Various                                                                                                $1.15
LARRY BYFIELD                    1020 O ST                                                       AUBURN           NE         68305                  6002               Various                                                                                                $3.75
LARRY CALDWELL                   1800 WILLARD PEAK ROAD                                          MANTUA           UT         84324                  6002               Various                                                                                                $3.33
LARRY CARLSON                    54189 HIGHWAY 20                                                OSMOND           NE         68765                  6002               Various                                                                                                $4.58
LARRY CARTWRIGHT                 2149 FARLIN AVE                                                 GREEN BAY        WI         54302                  6002               Various                                                                                                $2.88
LARRY CATLETT                    415 S H ST                                                      BROKEN BOW       NE         68822                  6002               Various                                                                                                $0.38
LARRY CLARKE                     75 27TH ST                                                      WHEATLAND        WY         82201                  6002               Various                                                                                               $10.00
LARRY COMSTOCK                   369 W ELKHORN RD                                                SALMON           ID         83467                  6002               Various                                                                                                $5.18
LARRY D CURTIS                   109 CASCADE AVE                                                 NEWCASTLE        WY         82701                  6002               Various                                                                                                $6.49
LARRY D. STICKLAND               320 3RD AVE SW                                                  WATERTOWN        SD         57201                  6002               Various                                                                                                $8.93
LARRY DELANO                     7831 S OAKWOOD AVE                                              NEENAH           WI         54956                  6002               Various                                                                                                $2.47
LARRY DIRKSCHNEIDER              454 CO ROAD J                                                   SCRIBNER         NE         68057                  6002               Various                                                                                                $4.16
LARRY DOLEZAL                    3618 G AVE                                                      TAMA             IA         52339                  6002               Various                                                                                                $4.88
LARRY DOTSON JR                  7241 N 36TH CIR                                                 OMAHA            NE         68112                  6004               Various                                                                                                $2.00
LARRY E ZETTLE                   501 S. FISK APT A 14                                            GREEN BAY        WI         54304                  6002               Various                                                                                                $6.58
LARRY ELLIOTT                    2174 N 1965TH E                                                 LAYTON           UT         84040                  6002               Various                                                                                                $5.48
LARRY ERKE JR.                   161 MARCOE ST                                                   FOND DU LAC      WI         54937                  6002               Various                                                                                                $7.01
LARRY FOSTER                     4124 LARK AVE                                                   EAU CLAIRE       WI         54703                  6002               Various                                                                                                $0.47
LARRY FRUHLING                   247 S G ST                                                      BROKEN BOW       NE         68822                  6002               Various                                                                                               $12.96
LARRY FURSTENAU                  563 S RAILROAD ST                                               WEST POINT       NE         68788                  6002               Various                                                                                                $4.16
LARRY G FRYETT                   1399 KODIAK RD                                                  HELENA           MT         59602                  6002               Various                                                                                                $4.41
LARRY GARLAND                    PO BOX                                                          JULIAETTA        ID         83535                  6002               Various                                                                                                $3.89




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LARRY GEREK                   324 PINE BENCH                                                    COLUMBIA FALLS   MT         59912                 6002                Various                                                                                                $0.58
LARRY GOODMAN                 3700 VROOM RD SW                                                  SOUTH BOARDMAN   MI         49680                 6002                Various                                                                                                $4.99
LARRY HEUMILLER               235 S AVE                                                         BELOIT           WI         53511                 6002                Various                                                                                                $9.04
LARRY HILL                    800 S 32ND ST                                                     LINCOLN          NE         68502                 6004                Various                                                                                               $35.94
LARRY HINTON                  4781 COUNTY ROAD 1804                                             JACKSONVILLE     TX         75766                 6002                Various                                                                                               $10.41
LARRY HOFFMEYER               319 S OSBORN PO BOX # 777                                         SHERBURN         MN         56171                 6002                Various                                                                                                $0.88
LARRY HOLLISTER               3534 EAST MEADOWS PLACE       APT.# 3                             EAU CLAIRE       WI         54701                 6004                Various                                                                                                $9.92
LARRY HOLTERMANN              1023 S FISK ST                                                    GREEN BAY        WI         54304                 6002                Various                                                                                                $8.05
LARRY HUNTLEY                 720 RIDGE CREEK ROAD                                              KOOSKIA          ID         83539                 6004                Various                                                                                               $12.80

LARRY J BECHTEL               11901 W APPLETON AVE UNIT 14                                      MILWAUKEE        WI         53224                  6002               Various                                                                                                $2.74
LARRY J KRACHT                512 4TH AVE                                                       BELLE FOURCHE    SD         57717                  6002               Various                                                                                                $0.47
LARRY J REHLING               3911 SKYVIEW DR                                                   JANESVILLE       WI         53546                  6002               Various                                                                                                $2.16
LARRY J RUSH                  825 WOODFIELD BLVD APT 204                                        PHILLIPS         WI         54555                  6002               Various                                                                                                $0.82
LARRY JOHNSON                 1202 CHARLES ST                                                   LA CROSSE        WI         54603                  6002               Various                                                                                                $5.26
LARRY JOHNSTON                6281 S. 45TH E.                                                   IDAHO FALLS      ID         83406                  6004               Various                                                                                               $21.60
LARRY JONES                   PO BOX 16                                                         HALSEY           NE         69142                  6002               Various                                                                                                $7.26
LARRY K BEACH                 4731 400TH ST                                                     NORTH BRANCH     MN         55056                  6002               Various                                                                                                $4.05
LARRY KAISER                  7588 N MESA LAKE DR                                               MOUNT CARMEL     IL         62863                  6002               Various                                                                                                $6.11
LARRY KAUFMAN                 1017 SISTER BLUFF DR                                              SISTER BAY       WI         54234                  6002               Various                                                                                                $8.49
LARRY KOENIG                  9172 ROAD P NW                                                    QUINCY           WA         98848                  6002               Various                                                                                                $8.32
LARRY KRUCKENBERG             619 SOUTHVIEW DR                                                  ROCKWELL         IA         50469                  6002               Various                                                                                                $3.51
LARRY KRUEGER                 901 LINCOLN AVE                                                   WAUSAU           WI         54403                  6002               Various                                                                                                $8.33
LARRY KRUNTORAD               49875 845TH RD                                                    EWING            NE         68735                  6002               Various                                                                                                $3.29
LARRY L BENNETT               4719 ROSEDALE CT                                                  GODFREY          IL         62035                  6002               Various                                                                                                $8.88
LARRY L NASH                  325 55TH ST NE TRLR 98                                            ROCHESTER        MN         55906                  6002               Various                                                                                                $3.07
LARRY L SOYK                  108 W LINDEN ST                                                   ABBOTSFORD       WI         54405                  6002               Various                                                                                                $3.53
LARRY L VENNES                840 3RD ST SW                                                     RICHVILLE        MN         56576                  6002               Various                                                                                                $7.97
LARRY LAMOREUX                2232 24TH ST SW                                                   MASON CITY       IA         50401                  6002               Various                                                                                                $4.60
LARRY LARSON                  1041 EAST PARK STREET                                             WEST POINT       NE         68788                  6002               Various                                                                                               $20.82
LARRY LAWRENCE                N2717 STANS ROAD                                                  WHITTE           WI         54498                  6002               Various                                                                                               $21.17
LARRY LEE MCLAIN              1424 HELENA DR                                                    CALDWELL         ID         83605                  6002               Various                                                                                                $4.38
LARRY LUETH                   507 WINTER ST                                                     WAKEFIELD        NE         68784                  6002               Various                                                                                                $8.33
LARRY MACZUGA                 8585 ODOWLING                                                     ONSTED           MI         49265                  6002               Various                                                                                                $3.07
LARRY MARTIN                  12302 N. FORKER RD.                                               SPOKANE          WA         99217                  6004               Various                                                                                               $11.70
LARRY MCGHAN                  1517 110TH AVE                                                    PRINCETON        MN         55371                  6002               Various                                                                                                $8.90
LARRY MCGILL                  405 STARK                    APT 4                                BEAVER DAM       WI         53916                  6004               Various                                                                                                $3.00
LARRY MCWORTHY                5723C IL RTE # 84                                                 THOMSON          IL         61285                  6002               Various                                                                                                $1.01
LARRY MEADS                   1920 OREGON STREET                                                OSHKOSH          WI         54901                  6004               Various                                                                                               $25.00
LARRY MITCHELL                4393 GOLDEN RD SE                                                 KALKASKA         MI         49646                  6002               Various                                                                                                $7.37
LARRY MUELLER                 N5684 CTY ROAD Y             PO BOX 12                            CHILI            WI         54420                  6004               Various                                                                                                $5.99

LARRY MULFORD                 615 NORTHWESTERN AVE APT 14                                       AUDUBON          IA         50025                  6002               Various                                                                                                $5.07
LARRY NAVO                    BOX 213                                                           BLACKFOOT        ID         83221                  6002               Various                                                                                                $6.58
LARRY PASCH                   504 W MASON ST                                                    POLO             IL         61064                  6004               Various                                                                                               $51.00
LARRY PATTERSON               BOX 163 413 MAPLE                                                 CHASE            KS         67524                  6002               Various                                                                                                $7.89
LARRY PERKINS                 421 E 15TH ST #2                                                  HELENA           MT         59601                  6004               Various                                                                                                $5.00
LARRY PETERSEN                29 GINGRY LN                                                      GLENWOOD         IA         51534                  6002               Various                                                                                                $7.53
LARRY PETERSON                2700 LAKEVIEW DR LOT P                                            GOTHENBURG       NE         69138                  6002               Various                                                                                                $4.19
LARRY POTTS                   330 129TH ST APT A12                                              OROFINO          ID         83544                  6002               Various                                                                                                $4.19
LARRY RAINS                   906 HERFORD DR                                                    DONIPHAN         MO         63935                  6002               Various                                                                                                $5.56
LARRY RANSON                  418 S MCDONALD                                                    SPOKANE          WA         99216                  6004               Various                                                                                               $10.00
LARRY RASMUSSEN               33 ADAMS ST.                                                      WINNECONNE       WI         54986                  6004               Various                                                                                               $25.00
LARRY RIGGS                   3212 HYACINTH NE                                                  SALEM            OR         97301                  6004               Various                                                                                               $10.98




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                                                                                                                                                                                            Contingent


                                                                                                                                                                                                                        Disputed
                                                                                                                                                   Last 4 Digits of     Date Debt was
                                                                                                                                                      Account         Incurred, Basis for
             Creditor Name                 Address1              Address2         Address3             City         State           Zip   Country     Number                Claim                                                                             Total Claim
LARRY ROHAN                    E9185 HIGHWAY 22                                                BEAR CREEK        WI         54922                 6002                Various                                                                                                $9.89
LARRY ROHDE                    400 S WESTERN AVE APT 214                                       WAUPACA           WI         54981                 6002                Various                                                                                               $13.78
LARRY ROTH                     PO BOX 403                                                      LESTER PRAIRIE    MN         55354                 6004                Various                                                                                               $10.00
LARRY RYEL                     514 S. 12TH ST. #218                                            BOISE             ID         83702                 6004                Various                                                                                                $3.58
LARRY S LEAF                   RR A BOX 114                                                    KEITHSBURG        IL         61442                 6002                Various                                                                                                $7.10
LARRY S WHITWER                4117 FIELDCREST DR                                              SIOUX CITY        IA         51103                 6002                Various                                                                                                $2.68
LARRY SCHEEL                   9495 S 2ND ST                                                   GRANT             MI         49327                 6002                Various                                                                                                $6.74
LARRY SCHMIDT                  1725 LACRESCENT # 90                                            LA CROSSE         WI         54603                 6002                Various                                                                                                $0.63
LARRY SEEFUS                   7835 N 101ST PLZ                                                OMAHA             NE         68122                 6002                Various                                                                                                $4.96
LARRY SIMOLKE                  608 PINE ST.                                                    SHEBOYGAN FALLS   WI         53085                 6004                Various                                                                                               $25.00
                               4625 MORMON COULLE RD APT
LARRY SLAYTON                  60                                                              LA CROSSE         WI         54601                  6002               Various                                                                                             $7.56
LARRY SOARES                   130 FERGUSON RD                                                 NEWCASTLE         WY         82701                  6002               Various                                                                                             $0.41
LARRY STAFFORD                 2307 KLINE LN SW                                                ROCHESTER         MN         55902                  6004               Various                                                                                             $3.00
LARRY STIDMON                  P.O. BOX 321                                                    KILA              MT         59920                  6004               Various                                                                                            $22.40
LARRY STURGEON                 518 7TH AVE NE                                                  AITKIN            MN         56431                  6002               Various                                                                                             $4.75
LARRY THORINGTON               752 W M-61                                                      GLADWIN           MI         48624                  6002               Various                                                                                             $6.63
LARRY TOELLE                   1999 HIGHWAY 275                                                WEST POINT        NE         68788                  6002               Various                                                                                             $8.85
LARRY W. BURNETT               1225 BIRCHWOOD DR                                               MONMOUTH          IL         61462                  6002               Various                                                                                             $2.30
LARRY W. CONROY                3380 WHITE ROCK RD                                              HELENA            MT         59602                  6002               Various                                                                                             $1.32
LARRY WHEELER                  2419 SKYLINE DR                                                 BELOIT            WI         53511                  6002               Various                                                                                             $2.93
LARRY WORKMAN                  817 SOUTH MEADOW                                                GRANGEVILLE       ID         83530                  6004               Various                                                                                            $10.02
LARRY WRASPIR                  PO BOX 752                                                      HOWARD LAKE       MN         55349                  6004               Various                                                                                             $3.00
LARRYS DISTRIBUTING CO INC     3815 PLAYBIRD ROAD                                              SHEBOYGAN         WI         53083                  3599               Various                                                                                           $736.10
LARRY'S LIGHTING & ELECTRIC    19151 SMITH LANE                                                REDDING           CA         96002                                     10/31/2018                                                                                        $684.81
LARRYS PIGGLY WIGGLY           575 SWAN ROAD                                                   DE PERE           WI         54115                   4837              Various                                                                                           $206.65
LARSON FAMILY                  735 MADISON AVE SW                                              EYOTA             MN         55934                   6002              Various                                                                                            $16.84
LARSON LAWN CARE               1511 1ST STREET S W                                             CLARION           IA         50525                   7734              Various                                                                                           $353.10

LARSON/ JEANNE                 STORE 2-132                   SHOPKO EMPLOYEE                   GREEN BAY         WI         54307-9060              4598              Various                                                                                           $169.06

LARSON/ THERESA                STORE 4-092                   SHOPKO EMPLOYEE                   GREEN BAY         WI         54307-9060             6176               Various                                                                                            $55.00
LARVICK-CARMAN FAMILY          1535 W 4TH ST                                                   SIOUX CITY        IA         51103                  6002               Various                                                                                             $4.05
LARY JAMES                     2445 W PLYMOUTH CIRCLE                                          COEUR D ALENE     ID         83815                  6002               Various                                                                                             $4.16
LASAUNDRA KUECHMANN            7980 MT HIGHWAY 35                                              BIGFORK           MT         59911                  6002               Various                                                                                             $0.82
LASER EYE CE TLC               2001 ROSEBUD DR STE A                                           BILLINGS          MT         59102                  6002               Various                                                                                             $0.79
LASER PEGS VENTURES LLC        1991 MAIN STREET STE 227                                        SARASOTA          FL         34236                  5049               Various                                                                                       $141,114.93
LASHARA MORGAN                 453 GRAND STREET                                                WINONA            MN         55987                  6004               Various                                                                                             $3.00
LASHEL NEWKIRK                 2715 FAWN CT.                                                   BELOIT            WI         53511                  6004               Various                                                                                             $2.95
LASHEL YANTIS                  707 C ST                                                        LINCOLN           NE         68502                  6004               Various                                                                                             $4.00
LASHELL SCHMUDE                3300 JOHNSON AVE LOT 1C                                         PLOVER            WI         54467                  6002               Various                                                                                             $1.23
                                                             820 LINCOLN
LASKO PRODUCTS INCORPORATED    VICE PRESIDENT OF SALES       AVENUE                            WEST CHESTER      PA         19380                  2848               Various                                                                                        $31,816.08
LATANYA CONROY                 C-28 MEADOWS CT                                                 ALLIANCE          NE         69301                  6002               Various                                                                                             $4.27
LATASHA SWAN                   5537 S COUNTY ROAD T                                            BRODHEAD          WI         53520                  6004               Various                                                                                             $1.00
LATEEFA MUJILI                 1168 N FRAZIER PL                                               BOISE             ID         83704                  6002               Various                                                                                             $2.30
LATESHA LOVELADY               1770 W WABASHA ST             APT A                             WINONA            MN         55987                  6004               Various                                                                                             $6.00

LATHER SCHOLTZ                 3510 HANCOCK STREET LOT 242                                     BELLEVUE          NE         68005                  6004               Various                                                                                                $2.00
LATISHA KRUGER                 1550 SEGER DR LOT 136                                           RAPID CITY        SD         57701                  6002               Various                                                                                               $10.00
LATISHIA JORDAN                4917 N. 114TH ST.                                               OMAHA             NE         68104                  6004               Various                                                                                                $4.00
LATONYA MCDONALD               3488 GRANT ST                                                   OMAHA             NE         68111                  6004               Various                                                                                                $2.00
LATONYA VRBA                   801 8TH ST                                                      WISNER            NE         68791                  6002               Various                                                                                               $10.00
LATOYA JOHNSON                 5890 W GLENBROOK RD                                             MILWAUKEE         WI         53223                  6002               Various                                                                                                $1.01




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                                                                                                                                             Account         Incurred, Basis for
            Creditor Name              Address1            Address2        Address3           City         State           Zip   Country     Number                Claim                                                                             Total Claim
LATOYA MOORE                 4321 GRAND AVE                                             OMAHA           NE         68116                 6004                Various                                                                                                $4.00
LATOYA PENERGRASS            1103 S SUMMIT AVE LOT 146                                  NEWCASTLE       WY         82701                 6002                Various                                                                                                $6.00
LATOYA THOMAS                4028 VERNON AVE                                            OMAHA           NE         68111                 6004                Various                                                                                                $2.00
LAURA AGUILERA               W813 RIVER ROAD                                            WATERTOWN       WI         53094                 6004                Various                                                                                               $42.00

LAURA ALONZO                 2121 EFFINGHAM WAY APT 206                                 SUN PRAIRIE     WI         53590                  6004               Various                                                                                               $30.00
LAURA ARNT                   1902 SO 30TH STREET                                        LINCOLN         NE         68502                  6004               Various                                                                                               $58.39

LAURA BABCOCK                9193 WEST SHELTERWOOD DRIVE                                BOISE           ID         83709                  6004               Various                                                                                               $90.02
LAURA BABITS                 N64 W23482 MAIN ST                                         SUSSEX          WI         53089                  6002               Various                                                                                                $8.44
LAURA BOOTHE                 1279 RUDY ST                                               ONALASKA        WI         54650                  6002               Various                                                                                                $9.62
LAURA BROWN                  1087 LOST NATION ROAD                                      DIXON           IL         61021                  6004               Various                                                                                               $40.00
LAURA CARNIE                 1121 S 4TH ST                                              HOT SPRINGS     SD         57747                  6002               Various                                                                                                $1.75
LAURA CIESLEWICZ             9060 BOELTER LAKE DR                                       ALMOND          WI         54909                  6004               Various                                                                                               $10.04
LAURA CORLEW                 117 W KNOX ST                                              BEAVERTON       MI         48612                  6002               Various                                                                                                $6.71
LAURA CURTISS                P.O. BOX 202                                               ARLEE           MT         59821                  6004               Various                                                                                               $18.00
LAURA D PEOT                 3553 BLACKBERRY LN                                         GREEN BAY       WI         54313                  6002               Various                                                                                                $3.48
LAURA D TRACEY               440 BICENTENNIAL CT APT 10                                 KAUKAUNA        WI         54130                  6002               Various                                                                                                $3.37
LAURA DEBEER                 306 SOUTH 4TH ST                                           MARSHALL        MN         56258                  6004               Various                                                                                                $4.31
LAURA DEWITT                 537 MARSON DR                                              HUDSON          WI         54016                  6002               Various                                                                                                $6.77
LAURA FERGUSON               340 WASHINGTON ST                                          ORCHARD         NE         68764                  6002               Various                                                                                                $6.71
LAURA FERREE                 1020 9TH AVE NW                                            ROCHESTER       MN         55901                  6004               Various                                                                                                $3.00
LAURA FEUERBORN              10800 S 98TH ST                                            LINCOLN         NE         68526                  6004               Various                                                                                               $10.00
LAURA FUENTES                111 CIMMARON STREET                                        ANDREWS         TX         79714                  6002               Various                                                                                                $5.59
LAURA GARCIA                 W1058 COLBY FACTORY RD                                     COLBY           WI         54421                  6002               Various                                                                                                $4.85
LAURA GRANADOS               773 CHURCH ST NE                                           SALEM           OR         97301                  6004               Various                                                                                                $3.45
LAURA GRAVES                 58062 195TH ST                                             GLENWOOD        IA         51534                  6002               Various                                                                                                $6.55
LAURA HARWARD                44 N. 1700 W.                                              CLEARFIELD      UT         84015                  6004               Various                                                                                               $36.00
LAURA HERNANDEZ              2675 CANTERBURRY DR                                        BIGELOW         MN         56117                  6004               Various                                                                                                $3.00
LAURA HOGBERG                N3968 N. OAKLAND ROAD                                      FORT ATKINSON   WI         53538                  6004               Various                                                                                               $27.00
LAURA JACOBO FRUTOS          1260 PARTRIDGE AVE                                         BELOIT          WI         53511                  6004               Various                                                                                                $1.00
LAURA JANSEN                 1030 E KIMBERLY AVE                                        KIMBERLY        WI         54136                  6002               Various                                                                                                $3.56
LAURA JANSON                 1001 N 16TH STREET                                         COEUR D ALENE   ID         83814                  6004               Various                                                                                               $36.00
LAURA JANTZ                  PO BOX 152                                                 WHEATLAND       WY         82201                  6002               Various                                                                                                $4.47
LAURA JOHANNSEN              835 HILL AVE                                               SHELBY          MT         59474                  6002               Various                                                                                                $2.49
LAURA JONES                  302 MCPHERSON ST                                           SALMON          ID         83467                  6002               Various                                                                                                $3.70
LAURA K. OLSON               4018 REGAL DR                                              GRAND ISLAND    NE         68803                  6002               Various                                                                                                $8.90
LAURA KEEFER                 2210 W. 4TH ST.                                            NORTH PLATTE    NE         69101                  6004               Various                                                                                                $4.00
LAURA KEMMISH                3409 LINWOOD DR                                            BELLEVUE        NE         68123                  6002               Various                                                                                                $7.34
LAURA KIDMAN                 265 S 200TH W                                              TREMONTON       UT         84337                  6002               Various                                                                                                $3.81
LAURA KING                   UPDATE                                                     HELENA          MT         59601                  6002               Various                                                                                                $4.05
LAURA KNIGHT                 12563 HARTFORD AVE                                         OROFINO         ID         83544                  6002               Various                                                                                                $1.34
LAURA KOERBER                712 1/2 N. FOURTH ST                                       WATERTOWN       WI         53098                  6004               Various                                                                                                $2.00
LAURA L SPANEL               43069 879TH RD                                             AINSWORTH       NE         69210                  6002               Various                                                                                                $5.18
LAURA LAUTERS                975 BIENERET ST.                                           GREEN BAY       WI         54304                  6004               Various                                                                                                $4.91
LAURA LAWSON                 804 14TH ST                                                WHEATLAND       WY         82201                  6002               Various                                                                                               $10.10
LAURA LINGARDFARRAR          7079 LITTLE BEAVER LAKE RD                                 OCONTO FALLS    WI         54154                  6002               Various                                                                                                $4.22
LAURA LINSE                  N4975 BAKERTOWN ROAD                                       SULLIVAN        WI         53178                  6004               Various                                                                                                $5.60
LAURA LOUIS                  816 MINNEAPOLIS AVE                                        GLADSTONE       MI         49837                  6002               Various                                                                                                $7.40
LAURA MARTINEZ               PO BOX 428                                                 WAKEFIELD       NE         68784                  6002               Various                                                                                                $5.81
LAURA MAYE                   235 WATER ST                                               MARINETTE       WI         54143                  6002               Various                                                                                                $2.93
LAURA MCINTOSH               1686 W 9620TH                                              SOUTH JORDAN    UT         84095                  6002               Various                                                                                                $2.03
LAURA MCLAUGHLIN             17754 COUNTY HIGHWAY K                                     CORNELL         WI         54732                  6004               Various                                                                                                $5.00
LAURA MEMMOTT                722 E LOCUST AVE                                           COEUR D ALENE   ID         83814                  6002               Various                                                                                                $8.16




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                                                                                                                                                   Last 4 Digits of     Date Debt was
                                                                                                                                                      Account         Incurred, Basis for
             Creditor Name               Address1              Address2           Address3             City         State           Zip   Country     Number                Claim                                                                             Total Claim
LAURA NEFF                    6802 20TH ST                                                     AURORA            IA         50607                 6002                Various                                                                                                $8.11
LAURA NELSON                  738 E COAL CREEK CIR                                             SANDY             UT         84094                 6002                Various                                                                                                $9.12
LAURA NEUMANN                 44285 ANCHOR AVE                                                 HARRIS            MN         55032                 6004                Various                                                                                                $7.96
LAURA NICHOLS                 5102 RUSTIC WAY                                                  MC FARLAND        WI         53558                 6004                Various                                                                                                $1.00
LAURA NOWAK                   1817 WISCONSIN AVE                                               GRAFTON           WI         53024                 6002                Various                                                                                                $7.07
LAURA OLESON                  7421 CO RD # 35 PMB W                                            HOWARD LAKE       MN         55349                 6002                Various                                                                                                $6.38
LAURA PEREZ VALDEZ            555 SOUTH PERRY PARKWAY                                          OREGON            WI         53575                 6004                Various                                                                                               $21.00
LAURA PIERCE                  1700 CAMEO DR                                                    EUGENE            OR         97405                 6004                Various                                                                                               $28.00
LAURA POTTER                  130 GLENHAVEN CT                                                 OREGON            WI         53575                 6002                Various                                                                                                $5.95
LAURA POTVIN                  2682 FINGER RD                                                   GREEN BAY         WI         54302                 6004                Various                                                                                               $12.95
LAURA REDEAGLE                3846 TULANE AVE                                                  MADISON           WI         53714                 6004                Various                                                                                               $24.00
LAURA ROBERTSON               PO BOX 146                                                       MISSION           SD         57555                 6002                Various                                                                                                $2.58
LAURA ROHLF                   1446 S PALOMINO RD                                               COEUR D'ALENE     ID         83814                 6004                Various                                                                                               $28.00
LAURA ROSS                    202 4TH AVE NW                                                   KASSON            MN         55944                 6002                Various                                                                                                $7.15
LAURA SALMON                  602 MAIN ST                                                      WAKEFIELD         NE         68784                 6002                Various                                                                                                $0.82
LAURA SANDGREN                230 1ST AVE SW                                                   GLENWOOD          MN         56334                 6002                Various                                                                                                $3.33
LAURA SAWYER                  5041 W CORILYN CIR                                               WEST VALLEY CIT   UT         84120                 6002                Various                                                                                                $2.99
LAURA SCHNELTEN               715 7TH ST                                                       CARROLLTON        IL         62016                 6004                Various                                                                                               $27.00
LAURA SCHROEDER               2609 3RD PL NE                                                   ROCHESTER         MN         55906                 6002                Various                                                                                                $4.88
LAURA SCHROEPFER              7767 FORTH ST                                                    AMHERST           WI         54406                 6002                Various                                                                                                $6.85
LAURA SHEPARD                 1605 13TH ST                                                     WHEATLAND         WY         82201                 6002                Various                                                                                                $8.47

LAURA SIBERT                  31 MCALISTER DR MAIL BOX #40                                     NEW ORLEANS       LA         70118                  6002               Various                                                                                                $3.51
LAURA SLAUGHTER               2210 CALVIN DRIVE                                                BELLEVUE          NE         68123                  6004               Various                                                                                               $15.00
LAURA STARK                   131 WEST 22ND AVE                                                OSHKOSH           WI         54902                  6004               Various                                                                                                $5.70
LAURA STOCKS                  807 MIDWAY RD APT 1                                              MENASHA           WI         54952                  6002               Various                                                                                                $2.47
LAURA SZYMANSKI               927 PINE ST                                                      LA CROSSE         WI         54601                  6002               Various                                                                                                $9.84
LAURA TEBO                    2030 ANDREA LANE                                                 MANITOWOC         WI         54220                  6004               Various                                                                                               $27.00
LAURA TROUTMAN                PO BOX 8816                                                      KALISPELL         MT         59904                  6002               Various                                                                                                $6.33
LAURA VERAZA                  302 W MAIN ST APT 1                                              ARCADIA           WI         54612                  6002               Various                                                                                                $6.25
LAURA WICHERT                 1810 KEYES AVE                                                   MADISON           WI         53711                  6004               Various                                                                                                $2.00
LAURA WILSON                  303 N FRONT ST                                                   DOWAGIAC          MI         49047                  6002               Various                                                                                                $3.12
LAURA WINKLER-OLSON           1320 SANDRA LN                                                   WEST BEND         WI         53095                  6002               Various                                                                                                $3.86
LAURA ZELLAR                  5693 STATE HIGHWAY M77                                           GERMFASK          MI         49836                  6002               Various                                                                                                $9.62
LAURA ZWIEBEL                 88450 PLEASANTVIEW LN                                            AINSWORTH         NE         69210                  6002               Various                                                                                                $3.84
LAURALEE VENCILL              616 SOUTH WALNUT                                                 NORTH PLATTE      NE         69101                  6004               Various                                                                                               $35.00
LAURECE HARTON                PARKVIEW VILLA                                                   GOTHENBURG        NE         69138                  6002               Various                                                                                                $2.59
LAUREE LYNN TEUNISSEN         418 E WARREN ST                                                  LUVERNE           MN         56156                  6002               Various                                                                                                $0.85
LAUREL A SOBANSKI             101 N 2ND ST APT 306                                             WINNECONNE        WI         54986                  6002               Various                                                                                                $6.19
LAUREL KOEPSELL               2929 ST ANTHONY DR           APT 143                             GREEN BAY         WI         54311                  6004               Various                                                                                               $35.29
LAUREL LARSEN-WINTERS         705 S SENECA AVE                                                 NEWCASTLE         WY         82701                  6002               Various                                                                                                $5.42
LAUREL LESCO                  211 E WALNUT ST                                                  RAWLINS           WY         82301                  6002               Various                                                                                                $6.77
LAUREL NASADOS                PO BOX 2173                                                      OROFINO           ID         83544                  6002               Various                                                                                                $1.40
LAUREL SCHLEIS                7014 CENTER RD                                                   MANITOWOC         WI         54220                  6002               Various                                                                                                $5.37
LAUREL SOLLER                 136 ROSEWOOD LN N                                                WEST SALEM        WI         54669                  6002               Various                                                                                                $4.38
LAUREL TAYLOR                 6928 443RD ST                                                    HARRIS            MN         55032                  6002               Various                                                                                                $7.70
LAUREL WILLIAMS               W6351 LAKEVIEW DR.                                               WAUTOMA           WI         54982                  6004               Various                                                                                               $25.00
LAUREN COHAGAN                2514 13TH ST                                                     MONROE            WI         53566                  6004               Various                                                                                                $1.00
LAUREN FAVERO                 915 MAYWOOD DRIVE                                                BILLINGS          MT         59102                  6004               Various                                                                                               $25.00
LAUREN FREE                   2309 13TH STREET                                                 TWO RIVERS        WI         54130                  6004               Various                                                                                                $5.00
LAUREN GRIJALVA               1332 1/2 BURRELL AVE. #B                                         LEWISTON          ID         83501                  6004               Various                                                                                               $30.00
LAUREN GRUENNERT              713 E TOWNSEND ST                                                MILWAUKEE         WI         53212                  6004               Various                                                                                                $5.00
LAUREN HOLLIBAUGH             1514 FREEMAN CK RD                                               KENDRICK          ID         83537                  6002               Various                                                                                                $0.41
LAUREN M RENFROW              511 N ALLEN AVE                                                  NORTH PLATTE      NE         69101                  6002               Various                                                                                                $0.66




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                                                                                                                                                                                  Contingent


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                                                                                                                                         Last 4 Digits of     Date Debt was
                                                                                                                                            Account         Incurred, Basis for
              Creditor Name                Address1      Address2        Address3              City       State           Zip   Country     Number                Claim                                                                             Total Claim
LAUREN MACK                    5137 29TH PL                                           KENOSHA          WI         53144                 6002                Various                                                                                                $1.23
LAUREN MCNEELY                 262 W 800TH N                                          BRIGHAM CITY     UT         84302                 6002                Various                                                                                                $6.85
LAUREN MEYERS                  9438 ELDERBERRY ROAD                                   MIDDLETON        WI         53562                 6004                Various                                                                                               $20.00
LAUREN MICHIE                  510 N FRONT ST                                         MARQUETTE        MI         49855                 6002                Various                                                                                                $5.53
LAUREN MILLER                  N1765 FINDLAY RD                                       WHITEWATER       WI         53190                 6002                Various                                                                                                $3.45
LAUREN OTTO                    2220 LYNN AVE                                          ALTOONA          WI         54720                 6004                Various                                                                                                $5.00
LAUREN PUGH                    1145 STATE STREET                                      LA CROSSE        WI         54601                 6004                Various                                                                                               $42.00
LAUREN ROEDIGER                2225 LONGYEAR AVE                                      MARQUETTE        MI         49855                 6002                Various                                                                                                $1.92
LAUREN SAMSON                  102 CAMELOT CT #4                                      MISSOULA         MT         59801                 6004                Various                                                                                               $27.00
LAUREN SCHARA                  2424 N PEACH AVE APT 4                                 MARSHFIELD       WI         54449                 6004                Various                                                                                                $5.00
LAUREN SEVERSON                975 HWY 105 W                                          NORTHWOOD        IA         50459                 6004                Various                                                                                               $27.00
LAUREN SIMON                   4403 WEST ALPINE ST.                                   BOISE            ID         83705                 6004                Various                                                                                                $4.00
LAUREN STEWART                 3525 SOMERSET DR                                       POCATELLO        ID         83201                 6002                Various                                                                                                $0.66
LAUREN TAYLOR                  5017 40TH AVE                                          KENOSHA          WI         53144                 6002                Various                                                                                                $4.38
LAURENCE LEONHARDT             884 W 100TH S                                          LOGAN            UT         84321                 6002                Various                                                                                                $5.01
LAURENCIO VILLALON             PO BOX 73                                              LEMHI            ID         83465                 6002                Various                                                                                                $7.67
LAURENSIA TEDJAKUSUMA          2232 WYOMING AVE APT. 1                                SUN PRAIRIE      WI         53590                 6004                Various                                                                                                $1.00
LAURETTA BEGGS BRACH           6290 5TH AVE                                           BANCROFT         WI         54921                 6002                Various                                                                                                $5.21
LAURI YAMASHITA                8631 S 1500TH W                                        WEST JORDAN      UT         84088                 6002                Various                                                                                                $0.66
LAURIANA BRADLEY               4701 MILWAUKEE STREET                                  MADISON          WI         53714                 6004                Various                                                                                               $23.00
LAURIE A GROSENICK             1310 HUTSON DR                                         WATERTOWN        WI         53098                 6002                Various                                                                                               $10.00
LAURIE BEYER                   2030 VANDUREN                                          GREEN BAY        WI         54302                 6002                Various                                                                                                $6.16
LAURIE BIGELOW                 756 JEFFERSON ST                                       OSHKOSH          WI         54901                 6002                Various                                                                                                $0.71
LAURIE BIGGS                   2210 AVE C                                             PLATTSMOUTH      NE         68048                 6004                Various                                                                                               $20.00
LAURIE BRANDON                 157 BUFFALO STAGE                                      KALISPELL        MT         59901                 6002                Various                                                                                                $0.33
LAURIE BULLOCK                 868 N 800TH W                                          PROVO            UT         84604                 6002                Various                                                                                                $7.48
LAURIE CARLSON                 3332 12TH AVE NW                                       WATERTOWN        SD         57201                 6002                Various                                                                                                $2.68
LAURIE CARTER                  708 17TH ST                                            GOTHENBURG       NE         69138                 6002                Various                                                                                                $9.67
LAURIE CRIM                    1653 LENWOOD AVE APT 7                                 GREEN BAY        WI         54303                 6002                Various                                                                                                $3.89
LAURIE ESSIG                   601 13TH AVE NW                                        DODGE CENTER     MN         55927                 6004                Various                                                                                               $71.00
LAURIE F WALTER                PO BOX 365                                             ROUNDUP          MT         59072                 6002                Various                                                                                                $8.14
LAURIE FEILER                  1319 CLEVELAND AVE                                     RACINE           WI         53405                 6004                Various                                                                                               $10.00
LAURIE GARBE                   45 HOMESTEAD ROAD                                      MILTON           WI         53563                 6004                Various                                                                                                $3.58
LAURIE GOULDER                 W4414 LOWER RD # HEBRON                                FORT ATKINSON    WI         53538                 6002                Various                                                                                                $9.07
LAURIE HOLLINGSWORTH           1365 1/2 EAST AVE                                      ZUMBROTA         MN         55992                 6004                Various                                                                                                $3.00
LAURIE KAISER                  608 TOOLE AVENUE                                       MISSOULA         MT         59802                 6004                Various                                                                                               $11.00
LAURIE KEEBLE                  W8722 BELL RD                                          LADYSMITH        WI         54848                 6004                Various                                                                                               $25.00
LAURIE KUEHN                   4511 13TH AVE NW                                       ROCHESTER        MN         55901                 6002                Various                                                                                                $7.59
LAURIE L HEIL                  PO BOX 75                                              CAMERON          WI         54822                 6002                Various                                                                                                $4.25
LAURIE L WONDERLING            PO BOX 295                                             MORA             MN         55051                 6002                Various                                                                                                $8.25
LAURIE L. GREENOUGH            701 N SAVANNAH DR                                      SIOUX FALLS      SD         57103                 6002                Various                                                                                               $10.00
LAURIE LYTLE                   617 COLLEGE ST N                                       PRESCOTT         WI         54021                 6002                Various                                                                                                $9.26
LAURIE MALDA                   2667 RAY ST H                                          NEW ERA          MI         49446                 6002                Various                                                                                                $5.92
LAURIE MOERKE                  130 S SHORE DR                                         MINA             SD         57451                 6002                Various                                                                                                $5.48
LAURIE OBERG                   2001 E SHERIDAN RD                                     SALT LAKE CITY   UT         84108                 6002                Various                                                                                                $0.33
LAURIE ORR                     N1637 SUE LN                                           WAUPACA          WI         54981                 6002                Various                                                                                                $0.60
LAURIE RUREY                   15906 DUFORT RD                                        PRIEST RIVER     ID         83856                 6004                Various                                                                                               $14.22
LAURIE SMITH                   725 STODDARD ST                                        MISSOULA         MT         59802                 6002                Various                                                                                                $2.26
LAURIE STEFANSKI               99 W DIVISION ST APT 5                                 FOND DU LAC      WI         54935                 6002                Various                                                                                                $4.05
LAURIE WALTERS                 3234 NEBRASKA ST                                       SIOUX CITY       IA         51104                 6002                Various                                                                                                $4.38
LAURIE WICKLUND                2804 COMSTOCK PLZ APT J                                BELLEVUE         NE         68123                 6004                Various                                                                                                $3.00
LAURIE WOODKEY                 17329 TISCH MILLS RD                                   MISHICOT         WI         54228                 6002                Various                                                                                                $1.92
LAURIE YOUNG                   516 MINEAPOLIS AVE                                     GLADSTONE        MI         49837                 6002                Various                                                                                                $0.44
LAURIN KINSER                  611 1/2 FIRST ST                                       HASTINGS         IA         51540                 6002                Various                                                                                                $1.42




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             Creditor Name               Address1             Address2           Address3             City           State         Zip    Country     Number                Claim                                                                             Total Claim
LAURINE WHALEN                634 N FOLEY AVE                                                 NEW HAMPTON       IA           50659                6002                Various                                                                                             $5.95
LAURYN BAIER                  6130 SQUAW PRAIRIE RD                                           BELVIDERE         IL           61008                6004                Various                                                                                             $5.00
LAURYN GARDNER                8966 S NEWCASTLE CT                                             SANDY             UT           84093                6002                Various                                                                                             $3.37
LAVAUGHN GOVIG                801 9TH ST N #19                                                NORTHWOOD         IA           50459                6004                Various                                                                                            $11.04
LAVEINE                       1022 NORTH GEAR                                                 WEST BURLINGTON   IA           52655-1041                               Various                                                                                         $1,354.26
                                                          611 HOLLISTER
LAVERLE M BRAWNER             C/O BRIAN BRAWNER           AVENUE                              ROMAH             WI           54661                 6002               Various                                                                                                $9.12
LAVERN LARSON                 2507 8-3/16                                                     CHETEK            WI           54728                 6002               Various                                                                                                $2.60
LAVERNE (AMM WIGDAHL          222 N WHITFORD ST APT 214                                       FERGUS FALLS      MN           56537                 6002               Various                                                                                                $5.84
LAVERNE BERG                  19399 59TH AVENUE                                               CHIPPEWA FALLS    WI           54729                 6002               Various                                                                                                $1.42
LAVERNE DAVIS                 905 4TH AVE N                                                   GLASGOW           MT           59230                 6002               Various                                                                                                $7.29
LAVERNE DUITSMAN              309 S LOCUST                                                    FORRESTON         IL           61030                 6004               Various                                                                                                $2.09
LAVERNE JANICKE               604 E AVON ST                                                   FORRESTON         IL           61030                 6002               Various                                                                                                $3.67
LAVERNE KNISPEL               403 S 1ST AVE APT 304                                           BROKEN BOW        NE           68822                 6002               Various                                                                                                $4.63
LAVERNE MAEDKE                9245 S DAMEN                                                    CHICAGO           IL           60620                 6002               Various                                                                                                $4.82
LAVERNE OTT                   220 ACHIVEMENT DRIVE                                            BRILLION          WI           54110                 6002               Various                                                                                               $17.82
LAVERNE TERRILLION            317 W ELKHORN RD                                                SALMON            ID           83467                 6002               Various                                                                                               $10.00
LAVETTE MURPHY                222 LEWIS ST APT 8                                              ELKHORN           WI           53121                 6004               Various                                                                                                $3.00
LAVINA HOOVER                 N6415 HALLE AVE                                                 NEILLSVILLE       WI           54456                 6002               Various                                                                                                $1.62
LAVINIA BELETSO               1073N 185 W                                                     OREM              UT           84057                 6004               Various                                                                                               $39.99
LAVON MCCLINTOCK              811 COMMERCIAL                                                  BRADY             NE           69123                 6002               Various                                                                                                $5.73
LAVONA JAEGER                 7979 POET ROAD                                                  AUMSVILLE         OR           97325                 6004               Various                                                                                                $3.50
LAVONDA CURLEY                1031 N 26TH                                                     BILLINGS          MT           59101                 6004               Various                                                                                                $2.00
LAVONE DYER                   5503 FLAMINGO RD                                                MADISON           WI           53716                 6002               Various                                                                                                $4.22
LAVONN JOHNSON                585 EAST SCOTT STREET                                           FOND DU LAC       WI           54935                 6004               Various                                                                                                $4.00
LAVONN SHEAR                  W1020 SHERWOOD ROAD                                             GRANTON           WI           54436                 6002               Various                                                                                               $27.66
LAVONNE DOMEK                 2601 14TH ST                                                    EMMETSBURG        IA           50536                 6002               Various                                                                                               $10.00
                                                          N50 W35310
                                                          WISCONSIN
LAVONNE MICHAELI              C/O PAM BIELAWSKI           AVENUE                              OCONOMOWOC        WI           53066                  6002              Various                                                                                               $10.33
LAVONNE RANSOM                104 S 3RD ST                                                    PANAMA            IA           51562                  6002              Various                                                                                                $6.52
LAVONNE SCHULTE               604 2ND AVENUE NW                                               WAUKON            IA           52172                  6002              Various                                                                                                $3.61
LAVONNE TEUSINK               106 OAKLAND ST                                                  SIOUX CITY        IA           51103                  6002              Various                                                                                                $1.92

LAVONNE THOMPSON              204 18TH AVENUE NORTHWEST                                       GREAT FALLS       MT           59404                 6004               Various                                                                                            $10.00
LAWANDA THOMASON-HUDSON       PO BOX 517                                                      CRAIGMONT         ID           83523                 6004               Various                                                                                             $9.97
LAWNCARE BY WALTER INC        PO BOX 5037                                                     ROCKFORD          IL           61125                 5925               Various                                                                                           $240.00
LAWRENCE ALLEN                PO BOX 6182                                                     BOISE             ID           83707                 6004               Various                                                                                            $27.00
LAWRENCE BAKER                1250 CEDAR ST                                                   STURGIS           SD           57785                 6002               Various                                                                                            $18.30
LAWRENCE BENTLY               1110 W. BROADWAY                                                MISSOULA          MT           59807                 6004               Various                                                                                             $2.00
LAWRENCE BOBKA                6207 N BAYSHORE RD                                              OCONTO            WI           54153                 6002               Various                                                                                             $7.95
LAWRENCE BROWN                8452 RUTGERS STRESS                                             WESTMINSTER       CO           80031                 6002               Various                                                                                             $4.27
LAWRENCE BUNDGAARD            2890 24TH AVE                                                   RICE LAKE         WI           54868                 6002               Various                                                                                             $6.71
LAWRENCE CHAW                 13 11TH AVE NE              APT 1                               ROCHESTER         MN           55906                 6004               Various                                                                                             $3.00
LAWRENCE CROWFEATHER          46838 SWEET CORN DR                                             BROWNS VALLEY     MN           56219                 6002               Various                                                                                             $5.15
LAWRENCE CURTIS               17927 MIDWAY AVE                                                GALLATIN          MO           64640                 6002               Various                                                                                             $0.41
LAWRENCE DERRICK              203 WASHINGTON ST                                               AUDUBON           IA           50025                 6002               Various                                                                                             $8.33
LAWRENCE DEZARN               100 S. HICKORY ST                                               FOND DU LAC       WI           54935                 6004               Various                                                                                            $10.00
LAWRENCE DOLDER               N21344 WISHMAN ROAD                                             NIAGARA           WI           54151                 6004               Various                                                                                            $79.98
LAWRENCE EDSON                608 MADISONSTREET                                               STANLEY           WI           54768                 6002               Various                                                                                             $4.03
LAWRENCE FLOYD                44 PARKWAY TERRACE          LOT 15C                             RIPON             WI           54971                 6004               Various                                                                                            $17.00
LAWRENCE GILBERT              117 LAKECREST. DR.          APT. 1                              REESEVILLE        WI           53579                 6004               Various                                                                                            $79.99
LAWRENCE J BARKOW II          1354 E 21ST ST                                                  IDAHO FALLS       ID           83404                 6002               Various                                                                                             $3.07
LAWRENCE J FITZGERALD         1055 BURTON ST APT 4                                            BELOIT            WI           53511                 6002               Various                                                                                             $4.44




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LAWRENCE JAMESON                        1534 N 400TH W                                                 BOUNTIFUL        UT         84010                 6002                Various                                                                                                $4.79
LAWRENCE KAINZ                          1509 SELL ST                                                   WAUSAU           WI         54403                 6002                Various                                                                                                $6.49
LAWRENCE MADER                          M227 MANN ST                                                   MARSHFIELD       WI         54449                 6002                Various                                                                                                $8.60
LAWRENCE MEZERA                         7486 WILDWOOD RD                                               WEST BEND        WI         53090                 6004                Various                                                                                               $59.80
LAWRENCE O CADMAN                       4197 SAINTS RD                                                 BLANCHARDVILLE   WI         53516                 6002                Various                                                                                                $8.79
LAWRENCE P PERRY                        1901 HOWELL AVE                                                WORLAND          WY         82401                 6002                Various                                                                                               $10.00
LAWRENCE PARISE                         613 MAIN ST                                                    OCONTO           WI         54153                 6002                Various                                                                                                $2.49
LAWRENCE PAUL                           225 MILL RD                                                    MOSCOW           ID         83843                 6004                Various                                                                                               $50.00
LAWRENCE PLAPP                          2033 TIMBER TRAIL                                              DELAVAN          WI         53115                 6004                Various                                                                                               $10.00
LAWRENCE PORTER                         432 N MAIN ST                                                  FALL RIVER       WI         53932                 6002                Various                                                                                                $0.47
LAWRENCE QUEISER                        N6307 LAKE DOROTHY LN                                          WATERTOWN        WI         53094                 6002                Various                                                                                                $9.07
LAWRENCE SIGG                           202 MARTIN DR                                                  THERESA          WI         53091                 6002                Various                                                                                                $1.15
LAWRENCE SOLBERG                        1109 HOFFMAN AVE                                               ALBERT LEA       MN         56007                 6004                Various                                                                                                $1.53
LAWRENCE THAO                           1513 BOULDER WAY                                               SUN PRAIRIE      WI         53590                 6004                Various                                                                                               $49.59
LAWRENCE TITUS                          RR 8 BOX 7452                                                  DONIPHAN         MO         63935                 6002                Various                                                                                                $2.77
LAWRENCE VEGA                           604 5TH ST S                                                   GREAT FALLS      MT         59405                 6004                Various                                                                                                $7.50
LAWRENCE WATSON                         PO BOX 130                                                     MOCCASIN         MT         59462                 6002                Various                                                                                                $0.93
LAWSON FAMILY                           1057 RIDGECREST LN NW                                          ROCHESTER        MN         55901                 6002                Various                                                                                                $0.96

LAWSON/ CASSANDRA                       STORE 2-012                 SHOPKO EMPLOYEE                    GREEN BAY        WI         54307-9060             4213               Various                                                                                            $11.24
LAWTON FAMILY                           N9564 CUMBERLAND DR                                            APPLETON         WI         54915                  6002               Various                                                                                             $7.64
LAYCEE LISTON                           580 E. 2550 N.                                                 NORTH OGDEN      UT         84414                  6004               Various                                                                                            $20.00
LAYNE ANDERSON                          6000 FREMONT ST                                                LINCOLN          NE         68507                  6004               Various                                                                                             $7.95
LAYSI SCHWOCH                           105 KNAUP DR                APT 12                             BEAVER DAM       WI         53916                  6004               Various                                                                                             $7.50
LAZARO LAVIN                            1 STREET ALVINS                                                MADISON          WI         53716                  6004               Various                                                                                            $76.00
LB MEDWASTE SERVICES INCORPORA          PO BOX 54                                                      WAUSAU           WI         54402-0054             7440               Various                                                                                           $177.38

                                                                    888 SEVENTH
LCN NORTH AMERICA REIT FUND             C/O LCN CAPITAL PARTNERS    AVENUE 4TH FLOOR                   NEW YORK         NY         10019                  9932               Various                                                                                       $228,430.02
LE ROY WILDE JR.                        920 1/2 N LINCOLN AVE                                          POCATELLO        ID         83204                  6002               Various                                                                                             $0.60
                                                                                                                                                                             11/16/2018 -
LEA COUNTY ELECTRIC COOPERATIVE, INC.   DRAWER 1447                                                    LOVINGTON        NM         88260                  3001               12/16/2018                                                                                      $2,590.25
LEA IAEA                                381 N WASHINGTON BLVD       #F 302                             OGDEN            UT         84404                  6004               Various                                                                                            $50.40
LEA KOPKE                               2139 WESTON WAY                                                SUAMICO          WI         54313                  6004               Various                                                                                            $27.00
LEAANNE FALKE                           2817 CARVER RD                                                 WINTERSET        IA         50273                  6002               Various                                                                                             $7.37
LEADVILLE HOLDING LLC                   2439 KUSER ROAD                                                HAMILTON         NJ         08690                  9404               Various                                                                                         $5,416.67
LEADVILLE/ LAKE COUNTY CHAMBER          809 HARRISON AVENUE                                            LEADVILLE        CO         80461                  2746               Various                                                                                          $250.00
LEAH ALBRECHT                           1409 RIVERVIEW AVE.         APT B                              STEVENS POINT    WI         54481                  6004               Various                                                                                             $8.00
LEAH BAYER                              905 MADISON AVE APT 9                                          MARINETTE        WI         54143                  6002               Various                                                                                             $6.90
LEAH BEHRENDT                           1133 CEDAR ST.                                                 LITTLE CHUTE     WI         54140                  6004               Various                                                                                             $4.32
LEAH BERTH                              1142 BOUGHTON ST            APT 10                             WATERTOWN        WI         53098                  6004               Various                                                                                             $1.00
LEAH BRASSINGTON                        1317 SHEBOYGAN ST                                              OSHKOSH          WI         54904                  6004               Various                                                                                            $25.00
LEAH CLOSE                              1204 BARTOSH LN APT 1                                          SPRING VALLEY    WI         54767                  6002               Various                                                                                             $0.82
LEAH DENTER                             259 S 230TH E                                                  OREM             UT         84058                  6002               Various                                                                                             $7.67
LEAH FITISEMANU-BUSH                    1601 W FOX PARK DR APT 2D                                      WEST JORDAN      UT         84088                  6002               Various                                                                                             $6.66
LEAH FLOWERS                            PO BOX 364                                                     ABIE             NE         68001                  6004               Various                                                                                            $30.00
LEAH HUBBARD                            6639 LAUREL AVE                                                OMAHA            NE         68104                  6002               Various                                                                                             $0.90
LEAH KIMBALL                            1908 SUPERIOR AVE                                              OCONTO           WI         54153                  6004               Various                                                                                             $3.00
LEAH KRUSE                              202 KINGSWAY DR                                                MANKATO          MN         56003                  6002               Various                                                                                             $6.71
LEAH LEMMON                             163 EASTRIDGE DR UNIT 4                                        BERLIN           WI         54923                  6002               Various                                                                                             $3.29
LEAH METZ                               2797 CANDLE LN                                                 GREEN BAY        WI         54304                  6002               Various                                                                                             $3.59
LEAH N RAMAGE                           1208 E SINGING HILLS DR                                        POST FALLS       ID         83854                  6002               Various                                                                                             $5.01
LEAH PICKERING                          11176 KLONDYKE LOOP                                            SOMERS           MT         59932                  6002               Various                                                                                             $5.23
LEAH ROSSOW                             78863 430TH AVE                                                LAKEFIELD        MN         56150                  6002               Various                                                                                             $9.18




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LEAH ROTH                        30 RICE AVE                                                    POCATELLO        ID         83201                 6002                Various                                                                                                $4.79
LEAH SCHRYVERS                   214 4TH AVE W                                                  AVON             SD         57315                 6004                Various                                                                                                $2.00
LEAH SHALLOW                     813 NEYMAN ST                                                  SALMON           ID         83467                 6002                Various                                                                                                $0.93
LEAH VREELAND                    PO BOX 951                                                     MOUNTAIN VIEW    WY         82939                 6002                Various                                                                                                $6.99
LEANDA JIM                       17420 FORT RD                                                  WHITE SWAN       WA         98952                 6004                Various                                                                                               $65.00
LEANDERIA HART                   1711 LAKE ELMO DRIVE                                           BILLINGS         MT         59105                 6004                Various                                                                                               $20.00
LEANE DAMMEN                     10769 MILLER LANE                                              SOUTH WAYNE      WI         53587                 6004                Various                                                                                               $25.00

LEANN ATHAS                      130 SOUTH CRESTWOOD DRIVE                                      BILLINGS         MT         59102                  6004               Various                                                                                            $13.00
LEANN FARNHAM                    515 OAKMOND AVE                                                MITCHELL         SD         57301                  6002               Various                                                                                            $10.00
LEANN HOFELING                   6630 SOUTH PAST DR                                             LINCOLN          NE         68512                  6004               Various                                                                                            $56.00
LEANN MARCHAND                   PO BOX 222                                                     WORLEY           ID         83876                  6002               Various                                                                                             $2.00
LEANN MORTON                     460 E FACTORY ST                                               GARLAND          UT         84312                  6002               Various                                                                                             $5.34
LEANN VOLK                       1323 HIGHWAY 52                                                FESSENDEN        ND         58438                  6002               Various                                                                                             $7.48
LEANNA BAILEY                    606 NTH E # 10TH                                               RIVERTON         WY         82501                  6002               Various                                                                                             $9.67
LEANNA FIEDLER                   202 NORTH PATTERSON ST                                         MADISON          WI         53703                  6004               Various                                                                                            $10.00
LEANNE ABRAHAM                   9 3RD AVE W                                                    SISSETON         SD         57262                  6002               Various                                                                                             $1.78
LEANNE BAVERS                    1025 WISCONSIN AVE                                             N.FOND DU LAC    WI         54937                  6004               Various                                                                                            $19.99
LEANNE M TILFORD                 3395 SANDY DR                                                  IDAHO FALLS      ID         83401                  6002               Various                                                                                             $9.84
LEANNE MEYER                     603 KNAPP ST                                                   OSHKOSH          WI         54902                  6002               Various                                                                                             $4.63
LEANNE RAUNIG                    13310 E. MISSION, #48                                          SPOKANE          WA         99216                  6004               Various                                                                                             $8.02
LEANNE SCHWENNEKER               3083 W KUNDERT RD                                              ORANGEVILLE      IL         61060                  6002               Various                                                                                             $9.70
LEANNE TERHAAR                   13113 240TH ST                                                 BROOTEN          MN         56316                  6002               Various                                                                                             $5.75
LEANNE VANNORMAN                 408 BRAZEAU AVE                                                OCONTO           WI         54153                  6002               Various                                                                                             $1.53
LEASA ELECTRIC, INC.             616 S. MILITARY ROAD                                           FOND DU LAC      WI         54935                                     Various                                                                                           $531.50
LEAYN R WOLF                     115 E ANTON AVE APT 63                                         COEUR D ALENE    ID         83815                   6002              Various                                                                                             $3.48

LEBAR/ VIENEA                    STORE 132                   SHOPKO EMPLOYEE                    GREEN BAY        WI         54307-9060              9196              Various                                                                                           $109.32

LECHUGA/ JACQUELYN               STORE 2-788                 SHOPKO EMPLOYEE 200 COMMERCE DRIVE COLUMBUS         WI         53925                  0852               Various                                                                                          $118.72
LECORA HUNTER                    509 5TH SE                                                     ROCHESTER        MN         55904                  6004               Various                                                                                            $25.00
LECTRA USA INCORPORATED          PO BOX 198501                                                  ATLANTA          GA         30384-8501             7799               Various                                                                                         $1,559.63
LEE (RUTH) LOWE                  1964 SHETLAND AVE                                              POCATELLO        ID         83201                  6002               Various                                                                                             $6.49
LEE A BAILEY                     141 SHERIDAN ST                                                NEWCASTLE        WY         82701                  6002               Various                                                                                             $8.22
                                                             2850 S OAKWOOD
LEE BEVERAGE OF WISCONSIN L L    VICE PRESIDENT OF SALES     ROAD                               OSHKOSH          WI         54901                  9318               Various                                                                                         $3,556.30
LEE BLOKER                       W7698 DUNNING RD                                               PARDEEVILLE      WI         53954                  6004               Various                                                                                            $30.00
LEE BURENHEIDE                   322 2ND RD.                                                    HOWELLS          NE         68641                  6004               Various                                                                                            $35.02
LEE CARLSON                      265 S 500TH E                                                  LOGAN            UT         84321                  6002               Various                                                                                             $0.44
LEE FAMILY                       9227 W SUSAN ST                                                BOISE            ID         83704                  6002               Various                                                                                             $2.74
LEE GERTSCH                      1807 WEST 3RD AVE                                              BRODHEAD         WI         53520                  6004               Various                                                                                            $23.00
LEE GINES                        1514 WEST 8600 SOUTH                                           WEST JORDAN      UT         84088                  6004               Various                                                                                             $9.00
LEE GONZALES                     206 W CRANE ST                                                 NORTON           KS         67654                  6002               Various                                                                                             $5.84
LEE GRAY                         1846 STATE ROAD 13                                             FRIENDSHIP       WI         53934                  6002               Various                                                                                             $7.10
LEE IVY                          RR 3 BOX 10566                                                 DONIPHAN         MO         63935                  6002               Various                                                                                             $2.27
LEE J. HOLZER                    5800 ST CROIX                                                  COEUR D'ALENE    ID         83815                  6002               Various                                                                                             $0.82
LEE JENSEN                       291 JENSEN RDE                                                 BELLE FOURCHE    SD         57717                  6002               Various                                                                                             $4.25
LEE JOHNSON                      151 N LINCOLN ST                                               ELKHART LAKE     WI         53020                  6002               Various                                                                                             $3.70
LEE KUDRONOWICZ                  N11210 COUNTY ROAD U                                           TOMAHAWK         WI         54487                  6002               Various                                                                                             $5.10
LEE LANG                         206 S 4TH ST                                                   COLBY            WI         54421                  6002               Various                                                                                             $2.33
LEE LO                           202 SEVENTH STREET                                             WAUSAU           WI         54403                  6004               Various                                                                                            $45.00
LEE SAMEK                        208 6TH ST NW                                                  WAUKON           IA         52172                  6002               Various                                                                                             $3.10
LEE SCHRAM                       2891 SEAFARER WAY                                              SUAMICO          WI         54173                  6004               Various                                                                                            $15.00
LEE SCULL                        1189 9TH ST                                                    BARRON           WI         54812                  6004               Various                                                                                             $2.00




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                                                                                                                                                                                                                                 Disputed
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                                                                                                                                                                 Account       Incurred, Basis for
               Creditor Name                        Address1              Address2           Address3            City          State           Zip   Country     Number              Claim                                                                             Total Claim
LEE SELLS                               12166 W ACRES LOOP                                                LOLO              MT         59847                 6004              Various                                                                                               $15.00
LEE SHERIDAN                            1250 GREENRIVER RD                                                DOUGLAS           WY         82633                 6002              Various                                                                                                $3.33
LEE SIMPLOT                             1921 ST LAWRENCE AVE                                              BELOIT            WI         53511                 6004              Various                                                                                               $20.00
                                        726 COLUMBIAN BLVD APT 4
LEE TUCKER                              PMB                                                               ARMSTRONG         IA         50514                   6002            Various                                                                                             $6.55
LEE VOGEL                               N2621 MEADE ST                                                    APPLETON          WI         54913                   6004            Various                                                                                            $13.00
LEE WILEY                               1300 BRIGGS CT                                                    STEVENS POINT     WI         54481                   6004            Various                                                                                             $1.00
LEE ZITSKE                              526 W FACTORY ST APT 5                                            SEYMOUR           WI         54165                   6002            Various                                                                                             $1.12
LEEANN KING                             361 ELM ST                                                        MENASHA           WI         54952                   6002            Various                                                                                             $4.05
LEE-BREITBACH L L P                     18841 ADAMS DRIVE                                                 SAUK CENTRE       MN         56378-0430              1450            Various                                                                                         $8,525.00
LEECO ENERGY & INVESTMENTS INC          3501 BILLY HEXT ROAD                                              ODESSA            TX         79765                   9420            Various                                                                                         $5,545.00
LEELLEN JOHNSON                         313 N. PLEASENT STREET - #9                                       CAMBRIDGE         WI         53523                   6004            Various                                                                                            $63.00
LEENA CAROLLO                           6 FERN CT                                                         LITTLE CHUTE      WI         54140                   6004            Various                                                                                             $4.00
LEEZA JUDE                              5818 RUSTIC ROAD              APT 4                               MADISON           WI         53711                   6004            Various                                                                                             $3.00
LEGACY CB LLC                           PO BOX 25277                                                      SHAWNEE MISSION   KS         66225                   6323            Various                                                                                        $84,223.32

LEGACY FACILITY MAINTENANCE SOLUTIONS   10 PINEHURST DR                                                   BELLPORT          NY         11713                                   Various                                                                                          $819.72
LEGO SYSTEMS INCORPORATED               PO BOX 415898                                                     BOSTON            MA         02241-5898              5406            Various                                                                                       $454,484.42
LEHRKINDS COCA COLA BOTTLING            1715 N ROUSE PO                                                   BOSEMAN           MT         59719-0580              1021            Various                                                                                        $10,894.71
LEIF OLSON                              809 GRAINLAND RD                                                  WAYNE             NE         68787                   6002            Various                                                                                             $2.08
LEIGH A SIMS                            1507 H ST                                                         AUBURN            NE         68305                   6002            Various                                                                                             $2.71
LEIGH BRITTEN                           15677 MARTINI LN                                                  CRIVITZ           WI         54114                   6002            Various                                                                                             $2.03
LEIGH ESAU                              7425 S 16TH ST                                                    LINCOLN           NE         68512                   6004            Various                                                                                            $34.98
LEIGH MUELLER                           210 HOLT BLVD                                                     ONEILL            NE         68763                   6002            Various                                                                                            $10.19
LEIGH RILEY                             2328 PRAIRIE DRIVE                                                DELAVAN           WI         53115                   6004            Various                                                                                            $10.00
LEIGH VAUGHN                            39 N 100 E                                                        SMITHFIELD        UT         84335                   6004            Various                                                                                            $20.00
LEIGHA HARPER                           2405 JACKSON ST.                                                  BELLEVUE          NE         68005                   6004            Various                                                                                            $13.00
LEIGHA MCGARVEY                         3738 BLUE CREEK RD                                                BILLINGS          MT         59101                   6004            Various                                                                                             $2.00
LEIGHTON CANOY                          112 RIVERVIEW # 7W                                                GREAT FALLS       MT         59404                   6002            Various                                                                                             $3.10
LEIKA GARCIA                            1139 TALCOTT AVENUE                                               FORT ATKINSON     WI         53538                   6004            Various                                                                                            $19.98
LEILA ADAN                              2515 41ST NW                  APT K14                             ROCHESTER         MN         55901                   6004            Various                                                                                             $3.00
LEILANI BELTRAM                         2001 W BROADWAY ST APT 9                                          IDAHO FALLS       ID         83402                   6002            Various                                                                                             $5.86

LEILANI BENNETT                         18420 OAK CANYON RD APT 511                                       CANYON COUNTRY    CA         91387                   6002            Various                                                                                             $1.75
LEILANNAH ALLEN                         2922 U AVE                                                        OMAHA             NE         68111                   6004            Various                                                                                             $4.00
LEISHAAN CRANE                          609 S BURRITT AVE                                                 BUFFALO           WY         82834                   6002            Various                                                                                             $5.48
LEISURE MERCHANDISING CORP (NJ          105 NORTHFIELD AVENUE                                             EDISON            NJ         08837                   5551            Various                                                                                        $12,212.08
LEKISHA WILLIAMSON                      P O BOX 403                                                       LAPWAI            ID         83541                   6004            Various                                                                                          $200.00
LELA HILGENBERG                         664 W FACTORY ST                                                  SEYMOUR           WI         54165                   6002            Various                                                                                             $1.15
LELANA LAUTENBACH                       E5296 HIGHWAY 54                                                  ALGOMA            WI         54201                   6002            Various                                                                                             $1.32
LELAND AMES                             809 JEFFERSON AVE                                                 POCATELLO         ID         83201                   6004            Various                                                                                             $1.04
LELAND BECKER                           5702 S LAURELCREST DR                                             SOPOKANE          WA         99224                   6004            Various                                                                                            $15.00
LELAND DUFFIELD                         27791 RANCH DRIVE                                                 HOT SPRINGS       SD         57747                   6002            Various                                                                                             $1.15
LELAND KEITH ANDERSON                   NH NORTH HALL                                                     WHEATLAND         WY         82201                   6002            Various                                                                                             $1.12
LELAND NEJEDLO                          440 SULIVAN STREET APT 6                                          OSHKOSH           WI         54902                   6004            Various                                                                                            $25.00
LELAND WICKER                           W239 COUNTY K                                                     BRILLION          WI         54110                   6002            Various                                                                                             $2.38
LEMHI SANITATION                        618 N ST. CHARLES STREET                                          SALMON            ID         83467                                   Various                                                                                          $714.40
LEMKE FAMILY                            1592 ROCKWELL CT                                                  GREEN BAY         WI         54313                   6002            Various                                                                                             $5.92
LEN WICKER                              301 CENTRAL ST              PO BOX 166                            POTTER            WI         54160                   6004            Various                                                                                            $34.98
LENA JOHNSON                            3124 N 16TH ST                                                    OMAHA             NE         68110                   6004            Various                                                                                             $4.00
LENA WALKER                             981 CHAK HA CHEE LN                                               NEKOOSA           WI         54457                   6004            Various                                                                                             $6.00
LENDA SCHNABEL                          418 TAYLOR AVE                                                    DALLAS            SD         57529                   6002            Various                                                                                             $2.30
LENEE SINNOTT                           512 FATHER DAILEY DR                                              IDA GROVE         IA         51445                   6002            Various                                                                                             $7.89
LENNON MEYER                            PO BOX 432                                                        DORCHESTER        WI         54425                   6002            Various                                                                                             $9.10




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                                                                                                                                                                                            Contingent


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                                                                                                                                                      Account         Incurred, Basis for
             Creditor Name               Address1                Address2           Address3             City       State           Zip   Country     Number                Claim                                                                             Total Claim
LENNOX EUERLE                 APT 205 PMB 440                                                    COKATO          MN         55321                 6002                Various                                                                                                $7.52
LENNY JAZDZEWSKI              505 ALAN DRIVE APT. 8                                              MOUNT HOREB     WI         53572                 6004                Various                                                                                               $15.56
LENNY WALENCE                 5150 BROADWAY ST                                                   SAN ANTONIO     TX         78209                 6002                Various                                                                                                $0.74
LENORA WALKER                 329 BRIDGE AVENUE                                                  WORLAND         WY         82401                 6002                Various                                                                                                $2.08
LENORE AUSTIN                 PO BOX 24                                                          FAIRFIELD       MT         59436                 6002                Various                                                                                                $3.95
LENORE CHRISTENSEN            W1958 W PEARL ST                                                   SEYMOUR         WI         54165                 6002                Various                                                                                                $6.68
LENORE KATZENBERGER           11996 W. LORAN RD                                                  PEARL CITY      IL         61062                 6004                Various                                                                                                $5.00
LENORE LEVY                   12229 RED CLIFF RD                                                 STURGIS         SD         57785                 6002                Various                                                                                                $5.01
LEO CALLAHAN                  73838 125TH ST                                                     GLENVILLE       MN         56036                 6004                Various                                                                                                $3.00
LEO GODWIN                    BROOKSIDE                                                          OROFINO         ID         83544                 6002                Various                                                                                                $5.01
LEO MAKI                      13140 TOWNLINE RD                                                  LANSE           MI         49946                 6002                Various                                                                                                $2.58
LEO MEYER                     PO BOX 426                                                         WISNER          NE         68791                 6004                Various                                                                                               $53.54
                              W226N7548 WOODLAND CREEK
LEO S GALANIS                 DR                                                                 SUSSEX          WI         53089                  6002               Various                                                                                                $5.70
LEO SOGGE                     13793 DOWNER RD                                                    FAIRBURN        SD         57738                  6002               Various                                                                                                $0.60
LEO VOLKMAN                   N5441 STATE HIGHWAY 47                                             BLACK CREEK     WI         54106                  6002               Various                                                                                                $4.27
LEO WILKE                     201 S OHIO ST                                                      TUSCOLA         IL         61953                  6002               Various                                                                                                $8.88
LEO WOODLEY                   PO BOX 344 PMB H                                                   HART            MI         49420                  6002               Various                                                                                                $7.78
LEOBARDO SILVA                301 SOUNDERS AVE                                                   ROCK ISLAND     WA         98850                  6004               Various                                                                                                $8.00
LEON BUCKLER                  29034 INCOME LP                                                    PRINCETON       MO         64673                  6002               Various                                                                                                $0.36
LEON FAMILY                   1732 AVON CT                                                       BELOIT          WI         53511                  6002               Various                                                                                                $3.18
                              1768 EAST SOMERSET RIDGE
LEON HANSEN                   DRIVE                                                              DRAPER          UT         84020                   6004              Various                                                                                               $15.00

LEON HANSEN JR                2000 JOHNSTON DRIVE , LOT 44                                       MANITOWOC       WI         54220                  6004               Various                                                                                                $6.00
LEON R. COWAN                 13234 N YELLOWSTONE HWY                                            POCATELLO       ID         83202                  6002               Various                                                                                                $1.56
LEON SIPPEL                   N8592 PECAN LN                                                     SAINT CLOUD     WI         53079                  6004               Various                                                                                               $28.00
LEON ULLRICH                  1123 EAST RIVER RD                                                 DIXON           IL         61021                  6004               Various                                                                                               $19.58
LEON WARGOWSKY                1714 PRAIRIE AVE                                                   BELOIT          WI         53511                  6002               Various                                                                                                $2.05
LEONA BIRDSEY                 51                             891 S OLD RD                        MOSINEE         WI         54455                  6002               Various                                                                                               $12.81

LEONA GULLY                   220 SOUTH MAPLE TOWN VIEW      APT 604                             WATERTOWN       SD         57201                  6004               Various                                                                                               $38.40
LEONA J RUEHMANN              200 1ST AVE NE                                                     AUSTIN          MN         55912                  6002               Various                                                                                                $5.84
LEONA KOWALSKE                313 S NATIONAL AVENUE                                              FOND DU LAC     WI         54935                  6002               Various                                                                                               $73.33
LEONA MILLER                  915 S MINNESOTA AVE                                                SAINT PETER     MN         56082                  6002               Various                                                                                                $1.42
LEONA ORVICK                  346 S 8TH ST APT 1                                                 FOREST CITY     IA         50436                  6002               Various                                                                                                $7.26
LEONA SALOCKER                SPRINGVALLEY TAKE MEDS TO                                          PERRY           IA         50220                  6002               Various                                                                                                $8.79
LEONA SCHNEIDER               201 S SIMMONS ST                                                   STOCKTON        IL         61085                  6002               Various                                                                                               $12.65
LEONA SMITH                   122 SOUTH MAIN STREET                                              GREENWOOD       WI         54437                  6002               Various                                                                                                $4.16
LEONARD CLAUSEN               PO BOX 655                                                         MIDDLETON       ID         83644                  6002               Various                                                                                               $10.41
LEONARD COBLE                 526 MINNESOTA AVE                                                  GLADSTONE       MI         49837                  6002               Various                                                                                                $1.07
LEONARD CUSSINS               NH NORTH HALL                                                      WHEATLAND       WY         82201                  6002               Various                                                                                                $9.78
LEONARD FORRO                 2861 W MAIN ROAD                                                   TWINING         MI         48766                  6002               Various                                                                                                $3.61
LEONARD HARRIS                1608 WINDSOR DR APT 5                                              GREEN BAY       WI         54302                  6002               Various                                                                                                $8.14
LEONARD HORNING               W1963 MAPLE RD                                                     GRANTON         WI         54436                  6002               Various                                                                                                $8.44

LEONARD HUBBARD               3100 WASHINGTON ROAD #307B                                         KENOSHA         WI         53140                  6004               Various                                                                                                $4.00
LEONARD J NICKERSON           4430 NEUMANN LN                                                    LINCOLN         NE         68516                  6002               Various                                                                                                $7.95
LEONARD KAWANO                7 PONY TRL                                                         POWELL          WY         82435                  6002               Various                                                                                                $9.26
LEONARD LAWSON                2814 ASHFORD LN #8                                                 MADISON         WI         53713                  6004               Various                                                                                                $1.00
LEONARD LEAMASTER             891 CANYON RD                                                      OGDEN           UT         84404                  6002               Various                                                                                                $2.71
LEONARD LUNDBY                BOX 1098                                                           GREAT FALLS     MT         59403                  6002               Various                                                                                                $5.81
LEONARD MIENKE                1813 S RESERVE ST TRLR 15                                          MISSOULA        MT         59801                  6002               Various                                                                                                $6.22
LEONARD PISTEK                47138 244TH ST                                                     DELL RAPIDS     SD         57022                  6004               Various                                                                                                $7.00




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                                                                                                                                                           Account       Incurred, Basis for
           Creditor Name                  Address1                 Address2           Address3           City            State           Zip   Country     Number              Claim                                                                             Total Claim
LEONARD RAMIREZ                 1002 SW 7TH ST                                                     ANDREWS          TX           79714                 6002              Various                                                                                                $4.49

LEONARD RED ELLARD              200 BLOOMBERG DR PO BOX # 36                                       OGALLALA         NE           69153                   6002            Various                                                                                                $9.42
LEONARD STEEN                   954 S 37TH STREET                                                  MANITOWOC        WI           54220                   6004            Various                                                                                               $23.00
LEONARD WOODS                   7525 HICKORY ST                                                    OMAHA            NE           68124                   6002            Various                                                                                                $3.78
LEONARDA GARCIA                 114 111/2 ST                                                       ROCHESTER        MN           55904                   6002            Various                                                                                                $7.21
LEONARDO HERNANDEZ-GUTIERREZ    2001 COURT STREET                                                  SIOUX CITY       IA           51105                   6004            Various                                                                                               $30.01
LEONARDO PEREZ                  3057 HUMBOLDT RD                                                   GREEN BAY        WI           54311                   6004            Various                                                                                                $1.00
LEONETTA DOOLITTLE              HC 69 BOX 138                                                      ATKINSON         NE           68713                   6002            Various                                                                                                $1.01
LEOPOLDO CANTU                  620 MAIN ST                                                        BLENCOE          IA           51523                   6002            Various                                                                                                $9.86
LEOPOLDO MUNGUIA                1225 TRIMBERGER COURT                                              SHEBOYGAN        WI           53081                   6004            Various                                                                                               $21.58
LEORA FERGUSON                  4232 MORNINGSIDE CIRCLE                                            GREAT FALLS      MT           59405                   6004            Various                                                                                               $15.00
LEORA RAWN                      136 HILL RIDGE COURT                                               PRESCOTT         WI           54021                   6004            Various                                                                                                $2.00
LER HTOO                        302 8TH ST. NW                                                     AUSTIN           MN           55912                   6004            Various                                                                                                $3.00
                                                               10855 W DODGE
LERNER HARLAN PARTNERSHIP       C/O THE LERNER COMPANY         ROAD SUITE 270                      OMAHA            NE           68154                   4791            Various                                                                                         $5,950.21
LEROY AMELINE                   117 16TH ST S                                                      GREAT FALLS      MT           59401                   6002            Various                                                                                             $5.84
LEROY DEMARAY                   515 NW 9TH ST                                                      MADISON          SD           57042                   6002            Various                                                                                             $8.32
LEROY DUCHEK                    1268 COUNTY ROAD 1400                                              WILBER           NE           68465                   6002            Various                                                                                             $4.96
LEROY ERPELDING                 1964 151ST ST                                                      WOODSTOCK        MN           56186                   6002            Various                                                                                             $8.05
LEROY F ROSSI                   237 N FORK RD                                                      LANDER           WY           82520                   6002            Various                                                                                             $7.10
LEROY FRADY                     13029 W FOXFIRE                                                    BOISE            ID           83713                   6004            Various                                                                                            $12.19
LEROY GODSELL                   4207 S WEST AVE APT 6                                              SIOUX FALLS      SD           57105                   6002            Various                                                                                             $6.79
LEROY HANKINSON                 N2192 370TH ST                                                     MAIDEN ROCK      WI           54750                   6002            Various                                                                                             $2.47
LEROY HOERNKE                   N10044 AIRPORT RD                                                  CLINTONVILLE     WI           54929                   6002            Various                                                                                             $0.36
LEROY J TRUSCINSKI              265 2ND ST N                                                       GREENBUSH        MN           56726                   6002            Various                                                                                             $3.45
                                                                                                   WASHINGTON
LEROY JOHNSON                   1329 MAIN RD.                                                      ISLAND           WI           54246                   6004            Various                                                                                               $87.02
LEROY JUEDES                    603 AUGUSTA AVE                                                    WAUSAU           WI           54403                   6002            Various                                                                                                $8.00
LEROY KELLER                    6793 DEPOT ST                                                      WINDSOR          WI           53598                   6002            Various                                                                                                $2.33
LEROY KOZENY                    3025 SO 80TH ST                                                    OMAHA            NE           68124                   6004            Various                                                                                               $13.61
LEROY LASEE                     2220 CAPPAERT RD                                                   MANITOWOC        WI           54220                   6002            Various                                                                                                $0.63
LEROY MURPHY                    705 9TH ST                                                         GENESEO          KS           67444                   6002            Various                                                                                                $2.90
LEROY N DUXBURY                 21680 201ST AVE                                                    WYKOFF           MN           55990                   6002            Various                                                                                                $8.27
LEROY QUICK                     4934 SPRAKER                                                       POCATELLO        ID           83202                   6004            Various                                                                                               $51.00
LEROY STAHL                     480 S WATER DIVISION                                               DENMARK          WI           54208                   6002            Various                                                                                                $2.55
LEROY WOODWORTH                 111 W HALE ST                                                      NEW HAMPTON      IA           50659                   6002            Various                                                                                                $0.55
LES FARRIS                      627 E 1ST ST                                                       AINSWORTH        NE           69210                   6002            Various                                                                                                $2.60
LES LAUGHTER                    PO BOX 83                                                          PINGREE          ID           83262                   6002            Various                                                                                               $11.19
LESHAWN MILLER-SHILEDS          2200 MAHON CT                                                      GREEN BAY        WI           54311                   6004            Various                                                                                                $3.00
LESLIE ANDERSON                 569 RAINBOW RIDGE TRAIL                                            COLUMBIA FALLS   MT           59912                   6004            Various                                                                                               $17.00
LESLIE ANN NELSON               223 2ND ST                                                         PEWAUKEE         WI           53072                   6002            Various                                                                                                $7.12
LESLIE BEARSTAIL                221 SCOTT ST.                                                      WAUSAU           WI           54403                   6004            Various                                                                                                $3.00
LESLIE CHAMBLEE                 401 2ND STREET                 APT 208                             BRODHEAD         WI           53520                   6004            Various                                                                                                $2.00
LESLIE CHRISTENSEN              762 S 2000 E                                                       SPANISH FORK     UT           84660                   6004            Various                                                                                               $15.00
LESLIE CLARK                    7 N CHEROKEE RD                                                    SALMON           ID           83467                   6002            Various                                                                                                $8.82
LESLIE D ALLEN                  704 FARMER ST                                                      BURLINGTON       WY           82411                   6002            Various                                                                                                $8.03
LESLIE DAVIS                    345 VILLAGE GREEN LANE W                                           MADISON          WI           53704                   6004            Various                                                                                               $20.00
LESLIE DENIS                    1210 FOX RIVER DR                                                  DE PERE          WI           54115                   6002            Various                                                                                                $2.33
LESLIE DIAZ                     2679 ALBION AVE APT 103                                            FAIRMONT         MN           56031                   6002            Various                                                                                                $0.60
LESLIE DIXON                    101 CHRISTENSEN ST                                                 NEWCASTLE        WY           82701                   6002            Various                                                                                                $9.86
LESLIE FRANK                    57880 110TH ST                                                     LYLE             MN           55953                   6002            Various                                                                                                $2.03
LESLIE FREEMAN                  4805 127TH STREET CT SW                                            LAKEWOOD         WA           98499                   6002            Various                                                                                                $0.47
LESLIE FRIDAL                   790 E MAIN ST                                                      TREMONTON        UT           84337                   6002            Various                                                                                                $8.85




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                                                                                                                                                       Account         Incurred, Basis for
               Creditor Name                Address1             Address2         Address3             City          State           Zip   Country     Number                Claim                                                                             Total Claim
LESLIE FROHLING                 38512 127TH ST                                                 ABERDEEN           SD         57401                 6004                Various                                                                                            $13.72
LESLIE GENDRON                  840 2ND ST NW                                                  AITKIN             MN         56431                 6002                Various                                                                                             $6.25
LESLIE HAZEN                    6324 N STAFFORD PL                                             BOISE              ID         83713                 6004                Various                                                                                            $24.00
LESLIE HOFFMAN                  234 PARK AVENUE                                                LOVELL             WY         82431                 6004                Various                                                                                            $10.00
LESLIE KOESER                   981 SCHOOL PLACE                                               GREEN BAY          WI         54303                 6002                Various                                                                                            $22.47
LESLIE MENDOZA                  1011 SOUTH 16TH STREET                                         MANITOWOC          WI         54220                 6004                Various                                                                                             $9.99
LESLIE PAVLAK                   PO BOX 91                                                      KASSON             MN         55944                 6002                Various                                                                                             $9.67
LESLIE PETERSON                 56 PETERSON LN                                                 MAPLES             ME         04055                 6002                Various                                                                                             $4.77
LESLIE PRICE                    1320 W. STOVER                                                 FREEPORT           IL         61032                 6004                Various                                                                                            $38.00
LESLIE REIF                     55946 SNOWGOOSE RD                                             BEND               OR         97707                 6004                Various                                                                                           $189.99
LESLIE ROCHA                    4652 GREENE AVE                                                OMAHA              NE         68157                 6004                Various                                                                                             $4.00
LESLIE STENEHJEM                633 CALDER AVE SE                                              BUFFALO            MN         55313                 6002                Various                                                                                             $4.52
LESLIE STEPHERSON               GET                                                            OLYMPIA            WA         98516                 6004                Various                                                                                            $25.00
LESLIE THOMAS                   30997 340TH AVE                                                ROSEAU             MN         56751                 6002                Various                                                                                             $9.04
LESLIE THOUSAND                 N5197 HARVEY RD                                                JEFFERSON          WI         53549                 6004                Various                                                                                             $2.00
LESLIE TOLONEN JR.              33 GREGORY STEN AVE                                            LAKE LINDEN        MI         49945                 6002                Various                                                                                             $1.01
LESLIE TRAYNOR                  2231 MIDDLE RD                                                 COLUMBIA FALLS     MT         59912                 6002                Various                                                                                             $7.12
LESLIE WADE                     2160 S HIGHWAY 89                                              BRIGHAM CITY       UT         84302                 6002                Various                                                                                             $7.62
LESLIE WINTERS                  138 NORTH MAIN STREET        PO BOX 354                        JANESVILLE         MN         56048                 6004                Various                                                                                             $3.06
LESLIE ZAMUDIO MORA             P O BOX 294                                                    HAZELTON           ID         83335                 6004                Various                                                                                             $3.65
LESLY CAYETANO                  5101 SUPERIOR ST                                               LINOCLN            NE         68524                 6004                Various                                                                                            $25.00
LESLY GRAY                      516 JAMIE DRIVE                                                SELAH              WA         98942                 6004                Various                                                                                            $10.00
LESTER CHET THOMAS              110 N 100TH E                                                  SPANISH FORK       UT         84660                 6002                Various                                                                                             $4.66
LESTER E. LEAR                  128 FALCON DR                                                  MANKATO            MN         56001                 6002                Various                                                                                             $7.70
LESTER GIESEN                   312 E 14TH ST APT 116                                          KAUKAUNA           WI         54130                 6002                Various                                                                                             $8.85
LESTER HESS                     N6372 BLUEBERRY RD                                             GRESHAM            WI         54128                 6002                Various                                                                                             $7.86

LESTER KATZNER                  3331 GAYNOR AVENUE                                             WISCONSIN RAPIDS   WI         54495                  6002               Various                                                                                                $2.08
LESTER NETTELL                  PO BOX 486                                                     HANCOCK            MI         49930                  6002               Various                                                                                                $7.75
LESTER NYSTROM                  2541 FLORENCE DR                                               BELOIT             WI         53511                  6002               Various                                                                                                $4.44
LESTER PERKINS                  322 WE HURLBUT                                                 BELVIDERE          IL         61008                  6004               Various                                                                                               $22.20
LESTER WICHMAN                  116 E MCKINLEY AVE                                             LITTLE CHUTE       WI         54140                  6002               Various                                                                                                $0.66
LETHA MISSY MCGANNON            1207 10TH ST                                                   WHEATLAND          WY         82201                  6002               Various                                                                                                $9.21
LETICIA GARCIA                  219 W HUGUS ST                                                 RAWLINS            WY         82301                  6002               Various                                                                                                $5.78
LETICIA I FLORES                2069 SUNDSTROM ST                                              MADISON            WI         53713                  6002               Various                                                                                                $5.97
LETICIA LIRA-BONILLA            139 W MAIN ST                                                  CAMBRIDGE          WI         53523                  6004               Various                                                                                                $6.00
LETICIA MUNOZ                   1935 W 75 S                                                    WEST POINT         UT         84015                  6004               Various                                                                                                $5.00
LETICIA REYES                   111 E BAKER ST                                                 ARLINGTON          MN         55307                  6002               Various                                                                                                $7.32
LETISHA WILKERSON               4536 THURSTON LANE #6                                          MADISON            WI         53719                  6004               Various                                                                                                $2.00
LETITIA MCCULLY                 584 AGENCY RD                                                  PLUMMER            ID         83851                  6002               Various                                                                                                $0.58
LEVANDER DAVIS                  1520 FALCON DR                                                 IDAHO FALLS        ID         83406                  6004               Various                                                                                               $20.00
LEVI BEATY                      4728 DEARBORNE NE                                              SALEM              OR         97305                  6004               Various                                                                                               $46.00
LEVI BUBASH                     1019 15TH ST N PRE-RELEASE                                     GREAT FALLS        MT         59401                  6002               Various                                                                                                $7.26
LEVI D CARLSTON                 74 JAMES WAY                                                   FREEDOM            WY         83120                  6002               Various                                                                                                $9.86
LEVI HEMEN                      1019 15TH ST N PRE-RELEASE                                     GREAT FALLS        MT         59401                  6002               Various                                                                                                $1.01
LEVI JG POLEGE                  3334 MORMON COULEE RD                                          LA CROSSE          WI         54601                  6002               Various                                                                                                $9.18
LEVI LADWIG                     6106-34 AVE                                                    KENOSHA            WI         53142                  6004               Various                                                                                               $23.00
LEVI LONGLEY                    111 STATE ST                                                   CONCORD            IL         62631                  6004               Various                                                                                               $31.40
LEVI MCKIM                      109 WEST 5TH                                                   PAXTON             NE         69155                  6004               Various                                                                                               $29.00
LEVI MEETZ                      7158 LAKESHORE RD                                              WINNECONNE         WI         54986                  6002               Various                                                                                                $3.07
LEVI N OBERHOLTZER              W1260 CAPITAL RD                                               SPENCER            WI         54479                  6002               Various                                                                                                $2.79
LEVI NICHOLS                    3225 6TH STREET #12                                            LEWISTON           ID         83501                  6004               Various                                                                                               $10.00
LEVI PASCHAL                    724 HOPE AVE                                                   SALMON             ID         83467                  6002               Various                                                                                                $0.96
LEVI REEVES                     26 LONG VIEW RD                                                EAST WENATCHEE     WA         98802                  6004               Various                                                                                               $25.00




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LEVI SORGE                           3465 YEOMAN                                                            SHEPHERD          MT        59079                  6004              Various                                                                                               $21.25
LEVI SPENST                          625 7TH AVE NW                                                         PLAINVIEW         MN        55964                  6002              Various                                                                                                $0.41
                                                                   SKY HARBOR
LEVI STRAUSS (HEBRON)                VICE PRESIDENT OF SALES       AIRPORT            501 EXECUTIVE DRIVE   HENDERSON         NV        89052                    2667            Various                                                                                           $307.10
LEVI THOMPSON                        412 OGDEN ST                                                           GALLATIN          MO        64640                    6002            Various                                                                                             $0.74
LEVI WIX                             3435A EISNER COURT                                                     SHEBOYGAN         WI        53083                    6004            Various                                                                                             $1.00
LEVI YOUNG                           502 YOUNGS LN                                                          AUBURNDALE        WI        54412                    6002            Various                                                                                             $7.59
LEVI ZOOK                            W5943 PANTHER CREEK RD                                                 NEILLSVILLE       WI        54456                    6002            Various                                                                                             $2.90
LEVY DIAGO                           45383 US HIGHWAY 41                                                    CHASSELL          MI        49916                    6002            Various                                                                                             $6.74

LEW AYRES ERWIN                      350 W HIGHLAND PARK AVE APT                                            APPLETON          WI        54911                    6002            Various                                                                                                $4.66
LEWIS A FLOWER                       1704 DEARBORN ST                                                       CALDWELL          ID        83605                    6002            Various                                                                                                $4.25
LEWIS RENKES                         401 PROSPECT                                                           DIXON             IL        61021                    6004            Various                                                                                               $28.00
LEWIS TIMM                           560 S HURON RD APT 9                                                   GREEN BAY         WI        54311                    6002            Various                                                                                                $7.45
LEWIS WEAVER                         2505 N M-18                                                            GLADWIN           MI        48624                    6002            Various                                                                                                $6.90

LEWIS/ BRENDA                        STORE 4-788                   SHOPKO EMPLOYEE 200 COMMERCE DRIVE COLUMBUS                WI        53925                    7858            Various                                                                                          $104.80
LEWISTON DISPOSAL                    PO BOX 1143                                                      LEWISTON                MT        59457                                    Various                                                                                         $1,855.48
                                                                                                                                                                                 11/9/2018 -
LEWISTOWN WATER & SEWER DEPARTMENT   305 W WATSON ST                                                        LEWSITOWN         MT        59457                    957-00          12/7/2018                                                                                             $92.43
LEXI HARRIS                          3111 31ST ST S                                                         WISCONSIN RAPID   WI        54494                    6002            Various                                                                                                $1.18
LEXIE SCHULTZ                        5729 SANDVIEW LN                                                       RACINE            WI        53406                    6002            Various                                                                                                $8.52
LEXIS DUARTE                         430 E MT MORRIS AVE                                                    WAUTOMA           WI        54982                    6002            Various                                                                                                $2.33

                                                                   ACCURINT
LEXISNEXIS RISK & INFORMATION        REED ELSEVIER INCORPORATED    ACCOUNT 1111280 28330 NETWORK PLACE CHICAGO                IL        60673-1283               3747            Various                                                                                                $2.70
LEXUS KEITH                          634 E FRONTAGE RD LOT 30                                          LITTLE SUAMICO         WI        54141                    6004            Various                                                                                                $1.00
LEYTON DALE BURK                     406 BEACH ST                                                      BLACK CREEK            WI        54106                    6002            Various                                                                                                $0.60
LEZA HUNTER -SEE MEMO                3628 EDNA STREET                                                  BELLEVUE               NE        68147                    6004            Various                                                                                               $23.00
                                     PO BOX 9001960 @ LG&E                                                                                                                       12/5/2018 -
LG&E - LOUISVILLE GAS & ELECTRIC     ENERGY                                                              LOUISVILLE           KY        40290                    8758            1/4/2019                                                                                          $515.11
                                     3/F., HONG KONG SPINNERS                         800 CHEUNG SHA WAN                                              HONG
LI FUNG                              INDUSTRIAL BUILDING           PHASE 1&2          ROAD               KOWLOON                                      KONG       8502            Various                                                                                     $1,119,794.45
LIAM DAUGHERTY                       517 DANE ST.                                                        BELLEVILLE           WI        53508                    6004            Various                                                                                            $10.00
LIAM FINEGAN-SMITH                   6065 MARTELL RD                                                     HICKMAN              NE        68372                    6004            Various                                                                                             $5.00
LIAM SPILLANE                        8103 COUNTY ROAD I                                                  OCONTO FALLS         WI        54154                    6004            Various                                                                                            $15.00
LIANA BRANDENBURG                    15280 520TH AVE                                                     WELLS                MN        56097                    6004            Various                                                                                             $3.00
LIANA KINDSVOGEL                     4963 POTTER PARK LOOP         APT #101                              MISSOULA             MT        59808                    6004            Various                                                                                            $21.00
LIANYING LEI                         3485 SNOWGOOS ST                                                    HELENA               MT        59602                    6002            Various                                                                                             $4.11
                                     RM307,BLDG                    CANGWU ROAD,
LIANYUNGANG HUIDE TRADING CO         A,ZHONGFANGXINCHENG           LIANYUNGANG                              JIANGSU                                   CHINA      6237            Various                                                                                        $34,378.55
LIAZON CORPORATION                   PO BOX 8000 DEPT 428                                                   BUFFALO           NY        14267                    3257            Various                                                                                       $261,635.15
LIBAN BARRE                          8116 ZANE AVE N APT 207                                                BROOKLYN PARK     MN        55443                    6004            Various                                                                                             $3.00
LIBBEY GLASS INCORPORATED            PO BOX 93864                                                           CHICAGO           IL        60673-3864               3772            Various                                                                                        $79,220.99
                                                                   501 MINERAL
LIBBY JANITORIAL & LINEN SUPPL       LAURIE KEMPTER                AVENUE                                   LIBBY             MT        59923                    9075            Various                                                                                          $222.00
LIBBY SCHMIDT                        2225 EAST WASHINGTON AVE                                               MADISON           WI        53704                    6004            Various                                                                                             $2.00
LIBBY WEBSTER                        PO BOX 51                                                              MACY              NE        68039                    6004            Various                                                                                            $20.00
LIBERTY JOHNSON                      HINCKLEY HALL                 APT 3209                                 PROVO             UT        84602                    6004            Various                                                                                            $26.00
LIBERTY MUTUAL INSURANCE             PO BOX 1449                                                            NEW YORK          NY        10116-1449               6142            Various                                                                                        $16,888.74
LIBERTY ORCHARDS COMPANY INC         PO BOX C                                                               CASHMERE          WA        98815-0000               3850            Various                                                                                         $3,900.53
LIBERTY ROLOFF                       527 HUMBOLDT ST                                                        WATERTOWN         WI        53094                    6002            Various                                                                                             $5.67
                                                                                                                                                                                 11/29/2018 -
LIBERTY UTILITIES MIDSTATES          P.O. BOX 127                                                           LIBERTY           KY        42539                    9019            12/26/2018                                                                                      $1,313.11




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LIBMAN COMPANY                    5167 EAGLE WAY                                                  CHICAGO           IL           60678-1051           4825                Various                                                                                        $206,992.86
LIDA GONZALEZ                     2506 15TH PLACE                                                 KENOSHA           WI           53140                6004                Various                                                                                              $4.58
LIDA SANCHEZ                      816 N BROADWELL AVE                                             GRAND ISLAND      NE           68803                6002                Various                                                                                              $0.58
LIDIA COLCHADO-GARCIA             1105 JOYCE ST                                                   KAUKAUNA          WI           54130                6002                Various                                                                                              $6.25
LIDIA L RIVERA RAMIREZ            516 10TH ST                                                     SHELDON           IA           51201                6002                Various                                                                                              $1.89
LIDIA MARCHETTI                   525 PARK AVE APT 8D                                             NEW YORK          NY           10065                6002                Various                                                                                              $3.12
LIDIA RAMIREZ                     1575 E BLASCHKO AVE APT 211                                     ARCADIA           WI           54612                6002                Various                                                                                              $6.52
LIEU BURKHALTER                   1948 S OSBORNE AVE                                              JANESVILLE        WI           53546                6002                Various                                                                                              $1.81
LIEUEN R KURUCZ                   107 AGUIRRE RD                                                  TELLURIDE         CO           81435                6002                Various                                                                                              $8.44
LIFE INSURANCE COMPANY OF NORT    PO BOX 785045                                                   PHILADELPHIA      PA           19178-5045           7789                Various                                                                                          $3,635.65
                                                                1520 SW 5TH
LIFE WEAR TECHNOLOGIES INC        VICE PRESIDENT OF SALES       COURT                             POMPANO BEACH     FL           33069                 4991               Various                                                                                        $23,469.85
LIFELINE FIRST AID L L C          26200 SW 95TH AVENUE                                            WILSONVILLE       OR           97070                 1056               Various                                                                                         $2,941.60
LIFESTYLE SOLUTIONS (YANTIAN)     6955 MOWRY AVENUE                                               NEWARK            CA           94560                 1753               Various                                                                                         $2,840.43
LIFETIME BRANDS INCORPORATED      DEPT CH 17745                                                   PALATINE          IL           60055-7745            3922               Various                                                                                        $69,626.58
LIGIA GONZALEZ                    340 W 920 S 4                                                   PROVO             UT           84601                 6004               Various                                                                                            $39.94
LILA ATHMANN                      PO BOX 264                                                      HECTOR            MN           55342                 6002               Various                                                                                             $5.18
LILA BOAZ                         114 LINDON AVE                                                  FAIRMONT          MN           56031                 6004               Various                                                                                             $6.00
LILA GLOVER                       2312 W 10950TH S                                                SOUTH JORDAN      UT           84095                 6002               Various                                                                                             $0.44
LILA J RED TOMAHAWK               184 TIOMAZAWIN AVE                                              WAUBAY            SD           57573                 6002               Various                                                                                             $6.55
LILA KU                           2130 IMPERIAL LANE            APT 2                             GREEN BAY         WI           54302                 6004               Various                                                                                            $15.02
LILA LINKER                       1812 ST MARIES AVE            APT B                             COEUR D'ALENE     ID           83815                 6002               Various                                                                                             $2.08
LILA NOBLES                       PO BOX 122                                                      CASTALIA          IA           52133                 6002               Various                                                                                             $4.00

LILA PARENT                       367 REGATTA DR                                                  PORT WASHINGTON   WI           53074                 6002               Various                                                                                             $9.01
LILA RASMUSSEN                    1506 S 8T STREET                                                ABERDEEN          SD           57401                 6002               Various                                                                                             $4.16
LILA ROBACK                       4884 MONROE AVE                                                 PLOVER            WI           54467                 6002               Various                                                                                             $1.23
LILA UEKER                        PO BOX 177                                                      MANLY             IA           50456                 6004               Various                                                                                             $1.50
LILAROSE THOMPSON                 26503 GRANITE AVE                                               MERRILL           IA           51038                 6002               Various                                                                                             $8.49
LILI ZARAGOZA                     4755 HAYES AVE TRLR 11                                          PLOVER            WI           54467                 6002               Various                                                                                             $1.21
LILIA DIAZ                        PO BOX 165                                                      LAUREL            NE           68745                 6002               Various                                                                                             $5.26
LILIA PERDOMO-HERNANDEZ           6961 HILLCREST AVE                                              RUDOLPH           WI           54475                 6002               Various                                                                                             $2.33
LILIA QUINTERO                    1538 NORTH SPRING AVE #38                                       WORTHINGTON       MN           56187                 6004               Various                                                                                             $3.00
LILIA REGINA BARRIOS              317 S WARRINGTON ST                                             CECIL             WI           54111                 6002               Various                                                                                             $9.84
LILIAN CORTES                     1712 19TH AVE SE                                                ROCHESTER         MN           55904                 6002               Various                                                                                             $1.32

LILIAN MOALIM NOUR                1990 ASHLAND DR NW APT 313                                      ROCHESTER         MN           55901                 6002               Various                                                                                             $4.49
LILIAN NAVRATIL                   20441B 320TH ST                                                 PLYMOUTH          IA           50464                 6002               Various                                                                                             $3.07
LILIAN ROMANS                     509 E FOREST AVE                                                NEENAH            WI           54956                 6004               Various                                                                                             $1.00
LILIANA DELACRUZ QUILLE           1661 19TH STREET #303                                           REEDSBURG         WI           53959                 6004               Various                                                                                             $3.00
LILIANA JOHN                      807 N 1ST                                                       MONMOUTH          IL           61462                 6004               Various                                                                                            $23.00
LILIANA MONSON                    1112 E PARK HILLS DR                                            APPLETON          WI           54915                 6002               Various                                                                                             $1.26
LILIANA MORALES MELCHOR           235 13TH ST                                                     OGDEN             UT           84404                 6002               Various                                                                                            $10.00
LILJENQUIST SALT LAKE COMPANY     PO BOX 5544                                                     ORANGE            CA           92863-5544            4325               Various                                                                                        $21,310.07
LILLIA RANGEL                     W4865 CTY RD # 358                                              DAGGETT           MI           49821                 6002               Various                                                                                             $3.81
LILLIAN BIRGY                     6600 INMAN RD SW                                                FIFE LAKE         MI           49633                 6002               Various                                                                                             $8.88
LILLIAN COOPER                    5850 TIMBER HAVEN DR                                            LITTLE SUAMICO    WI           54141                 6002               Various                                                                                             $7.70
                                                                10895 DIVISION
LILLIAN FINNEL                    C/O CHRIS ENGLEBERT           DRIVE                             TWO RIVERS        WI           54241                 6002               Various                                                                                            $16.29
LILLIAN HAMILTON                  5003 TAYLOR RD                3                                 MC FARLAND        WI           53558                 6004               Various                                                                                             $5.40
LILLIAN HELLER                    509 12TH ST                                                     WISNER            NE           68791                 6002               Various                                                                                             $4.11
LILLIAN JOHNSON                   478 WASATCH BLVD                                                SMITHFIELD        UT           84335                 6002               Various                                                                                             $9.21
LILLIAN K BALTHAZOR               1799 LAKE BREEZE RD                                             OSHKOSH           WI           54904                 6002               Various                                                                                             $4.77
LILLIAN LUSZCZ                    935 CTY D                                                       NEKOOSA           WI           54457                 6002               Various                                                                                             $9.74




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                                                                                                                                                        Account         Incurred, Basis for
               Creditor Name                 Address1              Address2         Address3             City         State           Zip   Country     Number                Claim                                                                             Total Claim
LILLIAN M DZURICK                 100 N NOQUEBAY AVE                                             PESHTIGO          WI         54157                 6002                Various                                                                                             $6.14
LILLIAN MAKELA                    2108 C MEMORIAL DR # 111                                       GREEN BAY         WI         54303                 6002                Various                                                                                             $4.38
LILLIAN PORTER                    THE GDN                                                        CRETE             NE         68333                 6002                Various                                                                                             $1.73
LILLY LIN PINCHART                136 GARFIELD ST                                                GREEN BAY         WI         54303                 6004                Various                                                                                             $1.00
LILLYROSE SARABIA                 1202 ALABAMA AVE.                                              SHEBOYGAN         WI         53081                 6004                Various                                                                                             $1.00
LILO MCIVER                       1400 CALIFORNIA CIR                                            GREEN RIVER       WY         82935                 6002                Various                                                                                             $5.97
LILY FERGEN                       1514 W SPRING ST                                               APPLETON          WI         54914                 6002                Various                                                                                             $0.88
LILY GREGG                        C/O EHS                     ROOM 467                           BROOKLYN          NY         11201                 6004                Various                                                                                            $64.00
LILY STEPANEK                     5209 MILWAUKEE ST                                              MADISON           WI         53714                 6004                Various                                                                                            $23.00
LILYANA ORR                       2690 SUNDANCE DR                                               EAST HELENA       MT         59635                 6004                Various                                                                                             $3.00
LILYANA SPARKS                    229 SOUTH ANIWA RD                                             PLAINFIELD        WI         54966                 6004                Various                                                                                             $6.00
LILYANA STUCKER                   229 SOUTH ANIWA RD                                             PLAINFIELD        WI         54966                 6004                Various                                                                                             $1.00
LINA HUSSEIN                      5360 KINGSBURG PL NW                                           ROCHESTER         MN         55901                 6002                Various                                                                                             $1.29
LINCOLN COUNTY SOLID WASTE        418 MINERAL AVENUE                                             LIBBY             MT         59923                 3398                Various                                                                                           $848.00
                                                                                                                                                                        12/1/2018 -
LINCOLN ELECTRIC SYSTEM           PO BOX 2986                                                    OMAHA             NE         68103-2986              20403             12/31/2018                                                                                      $9,485.42
LINCOLN HARRIS                    1208 PASHA AVE.                                                MOSINEE           WI         54455                   6004              Various                                                                                            $10.00
LINCOLN MARKETING, INC            PO BOX 25122                                                   WOODBURY          MN         55125                   6674              Various                                                                                          $199.00
LINCOLN SELF RELIANCE INCORPOR    PO BOX 1449                                                    AFTON             WY         83110                   3500              Various                                                                                            $36.43
                                                                                                                                                                        10/19/2018 -
LINCOLN WATER SYSTEM              555 SOUTH 10TH                                                 LINCOLN           NE         68508                  0000               12/19/2018                                                                                      $1,961.15
LINDA A WALSH                     W1016 BIRCH DR                                                 PULASKI           WI         54162                  6002               Various                                                                                             $2.58
LINDA ANDERSON                    702 23RD ST NW                                                 STEWARTVILLE      MN         55976                  6004               Various                                                                                            $47.01
LINDA ANDREWS                     909 S 6TH ST                                                   HOT SPRINGS       SD         57747                  6002               Various                                                                                             $7.92
LINDA ARTZ                        2929 WALDWIC LN                                                OSHKOSH           WI         54904                  6002               Various                                                                                             $6.99
LINDA AULT                        PO BOX 3411                                                    MISSOULA          MT         59806                  6004               Various                                                                                            $56.00
LINDA BARKER                      310 7TH AVE E                                                  SISSETON          SD         57262                  6002               Various                                                                                             $7.32
LINDA BARNHART                    7450 N 3600 W                                                  HONEYVILLE        UT         84314                  6004               Various                                                                                            $10.00
LINDA BARNUM                      205 N. SECTION LINE ST.                                        HOWARD            SD         57349                  6004               Various                                                                                            $11.23
LINDA BARRETT                     APT 914                     222 S 5TH STREET                   MARQUETTE         MI         49855                  6002               Various                                                                                             $3.33
LINDA BENSON-MILLER               1528 LAKEVIEW LN                                               MITCHELL          SD         57301                  6002               Various                                                                                             $6.60
LINDA BIERMAIER                   528 N M ST APT 3                                               LIVINGSTON        MT         59047                  6002               Various                                                                                             $1.42
LINDA BOLACK                      349 WEST NORTH ST                                              JUNEAU            WI         53039                  6004               Various                                                                                            $60.00
LINDA BRANSCOMB                   3997 MIDLAND DR                                                OGDEN             UT         84401                  6002               Various                                                                                             $6.25
LINDA BRCIC                       2901 SUMNER AVE                                                HOQUIAM           WA         98550                  6004               Various                                                                                            $58.00
LINDA BURGE                       1016 CHURCHILL DR                                              NORTON            KS         67654                  6002               Various                                                                                             $5.29
LINDA BUSTER                      26 DEMICK LN                                                   SALMON            ID         83467                  6002               Various                                                                                             $7.89
LINDA CAUDILL                     3207 EAU CLAIRE AVE APT 3                                      SCHOFIELD         WI         54476                  6002               Various                                                                                             $8.49
LINDA CHILDERS                    636 S 3RD AVE                                                  WEST BEND         WI         53095                  6002               Various                                                                                             $6.44
LINDA CHRISTENSEN                 1628 W 8740TH S                                                WEST JORDAN       UT         84088                  6002               Various                                                                                             $5.45
LINDA CLAUSEN                     3229 KEARNEY AVE                                               RACINE            WI         53403                  6002               Various                                                                                             $4.99
LINDA COGLEY                      325 NW 23RD                                                    LINCOLN           NE         68528                  6004               Various                                                                                             $3.06
LINDA COY                         1013 EDGEWATER ROAD                                            FORT ATKINSON     WI         53538                  6004               Various                                                                                            $11.32
LINDA CRAM                        808 WHITING AVE. #3                                            STEVENS POINT     WI         54481                  6004               Various                                                                                            $10.00
LINDA CROPANESE                   331 S 8TH ST                                                   POWELL            WY         82435                  6002               Various                                                                                            $13.60
LINDA DATKA                       6606 LUNDBERG RD                                               WISCONSIN RAPID   WI         54495                  6002               Various                                                                                             $8.85
LINDA DE VALK                     126 HIDDEN RIDGES CIRCLE                                       COMBINED LOCKS    WI         54113                  6004               Various                                                                                            $11.96

LINDA DEGIULIO                    PMB 270 1795 WEST BRODWAY                                      IDAHO FALLS       ID         83402                  6004               Various                                                                                                $5.00
LINDA DIETZ                       1803 FAIRWAY DR                                                GLENCOE           MN         55336                  6002               Various                                                                                                $6.88
LINDA DORSEY                      1680 DEERFIELD DR                                              OSHKOSH           WI         54904                  6004               Various                                                                                               $81.00
LINDA EAKINS                      4379 GREENWOOD CT                                              WINDSOR           WI         53598                  6004               Various                                                                                                $1.00
LINDA ECHOHAWK                    840 E 900TH S                                                  OREM              UT         84097                  6002               Various                                                                                                $7.95
LINDA F JAEGER                    PO BOX 124                                                     ABRAMS            WI         54101                  6002               Various                                                                                                $6.88




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                                                                                                                                                                                                                            Claim subject to offset?
                                                                                                                                                                                                  Unliquidated
                                                                                                                                                                                     Contingent


                                                                                                                                                                                                                 Disputed
                                                                                                                                            Last 4 Digits of     Date Debt was
                                                                                                                                               Account         Incurred, Basis for
              Creditor Name                Address1          Address2        Address3             City       State           Zip   Country     Number                Claim                                                                             Total Claim
LINDA FETTERHOFF               325 IRON ST                                                NEGAUNEE        MI         49866                 6002                Various                                                                                                $2.79
LINDA FRIEDAUER                964 EVANS ST                                               NEENAH          WI         54956                 6004                Various                                                                                               $25.00
LINDA GALLOWAY                 BOX 531                                                    BLACKFOOT       ID         83221                 6002                Various                                                                                                $8.82
LINDA GANNON                   36211 B AVE # 210TH                                        FOREST CITY     IA         50436                 6002                Various                                                                                                $7.26
LINDA GAYHART                  N2555 RUSTIC DR                                            CLINTONVILLE    WI         54929                 6002                Various                                                                                                $0.36
LINDA GLEASON                  2112 N VIOLA ST                                            APPLETON        WI         54911                 6002                Various                                                                                                $0.49
LINDA GRAPENTINE               1625 S 18TH STREET                                         MANITOWOC       WI         54220                 6004                Various                                                                                               $11.04
LINDA GRAVES                   501 MINNESOTA AVE                                          MISSOULA        MT         59802                 6002                Various                                                                                                $6.52
LINDA GRIESMER                 2077 HWY XX                                                MOSINEE         WI         54455                 6004                Various                                                                                               $29.98
LINDA HANNA                    1165 LOWER WLS                                             OROFINO         ID         83544                 6002                Various                                                                                                $6.63
LINDA HANSEN                   1831 N DOUGLAS ST                                          APPLETON        WI         54914                 6002                Various                                                                                                $1.64
LINDA HANSON                   4829 CREAMERY RD                                           NEKOOSA         WI         54457                 6002                Various                                                                                                $8.77
LINDA HARRIS                   4635 N 650TH E                                             PROVO           UT         84604                 6002                Various                                                                                                $5.86
LINDA HARTLEBEN                N6561 HARTLEBEN LN                                         WITTENBERG      WI         54499                 6004                Various                                                                                               $14.98
LINDA HATHAWAY                 BOX 244                                                    ROCKWELL        IA         50469                 6002                Various                                                                                                $3.73
LINDA HATHORN                  709 WEST CUTTER DRIVE                                      BELOIT          WI         53511                 6004                Various                                                                                               $25.00
LINDA HAYES                    2019 SANDALWOOD DR                                         ONALASKA        WI         54650                 6002                Various                                                                                                $8.85
LINDA HONISH                   E8985 HUDSON RD                                            CLINTONVILLE    WI         54929                 6002                Various                                                                                                $7.56
LINDA J ERICKSON               104 HAMPTOM AVE S                                          DALLAS          WI         54733                 6002                Various                                                                                                $1.48
LINDA J. KOZLOWSKI             5838 MAPLE ST                                              ABRAMS          WI         54101                 6002                Various                                                                                                $9.21
LINDA J. RUSSELL               7300 ONSTED HWY                                            ONSTED          MI         49265                 6002                Various                                                                                                $7.26
LINDA JEANTY                   1298 GLENVIEW DR                                           NEENAH          WI         54956                 6002                Various                                                                                                $3.53
LINDA JONES                    N9391 CTY RD W                                             COLFAX          WI         54730                 6004                Various                                                                                                $2.00
LINDA K DEININGER              W4883 COUNTY K K                                           MONROE          WI         53566                 6004                Various                                                                                                $7.04
LINDA K SCHMIDTGOSS            PO BOX 91                                                  WINNECONNE      WI         54986                 6002                Various                                                                                                $2.90
LINDA K TILMAN                 234 HIGHWAY 11                                             OROFINO         ID         83544                 6002                Various                                                                                                $1.53
LINDA K. DUNN                  30 N 200TH W                                               LOGAN           UT         84321                 6002                Various                                                                                                $6.36
LINDA KAY GINGERICH            758 SW 68TH AVE                                            JAMESPORT       MO         64648                 6002                Various                                                                                                $7.86
LINDA KELLNER                  4655 S PECATONICA RD                                       WINNEBAGO       IL         61088                 6002                Various                                                                                                $0.49
LINDA KIRKLAND                 1331 SCENIC LANE                                           LINCOLN         NE         68505                 6004                Various                                                                                               $37.00
LINDA KLEINSASSER              BIRCH CREEK COLONY                                         VALIER          MT         59486                 6002                Various                                                                                                $1.15
LINDA KRAUSE                   5510 GORDON ST                                             SCHOFIELD       WI         54476                 6002                Various                                                                                                $7.18
LINDA KUIPER                   621 HOPE LN                                                ALBERT LEA      MN         56007                 6004                Various                                                                                                $3.00
LINDA L ABOLD                  806 TOLUCA AVE                                             ALLIANCE        NE         69301                 6002                Various                                                                                                $2.14
LINDA L HOGAN                  300 E VAN BUREN ST                                         GALLATIN        MO         64640                 6002                Various                                                                                                $1.78
LINDA L MURPHY                 3552 S 700TH W                                             RIVERDALE       UT         84405                 6002                Various                                                                                                $9.56
LINDA L. POWELL                410 WOODLAND AVE                                           KALISPELL       MT         59901                 6002                Various                                                                                                $6.96
LINDA L. SCHUELER              3504 OGDEN CT NE                                           ROCHESTER       MN         55906                 6002                Various                                                                                                $1.32
LINDA LA MERE                  301 ISLAND AVE                                             RACINE          WI         53405                 6004                Various                                                                                                $3.00
LINDA LANE                     6011 SEWARD ST                                             OMAHA           NE         68104                 6002                Various                                                                                                $6.05
LINDA LEE                      815 PINE AVE                                               CRETE           NE         68333                 6002                Various                                                                                                $0.36
LINDA LEE BROUWER              11050 BIRD AVE BOX # 371                                   LEOTA           MN         56153                 6002                Various                                                                                                $5.23
LINDA LEISSRING                BOX 209                                                    BANCROFT        ID         83217                 6002                Various                                                                                                $7.42
LINDA LEMMER                   432 MORGAN LN                                              MARATHON        WI         54448                 6002                Various                                                                                                $8.44
LINDA LETTO                    968 HILL ST                                                HANCOCK         MI         49930                 6002                Various                                                                                                $2.03
LINDA LINTNER                  8435 COLUMBIA AVE                                          EAU CLAIRE      MI         49111                 6002                Various                                                                                                $1.62

LINDA LONDRE                   328 SOUTH STONE RIDGE DRIVE                                LAKE GENEVA     WI         53147                  6004               Various                                                                                               $24.98
LINDA LOUCKS                   610 W VAN BUREN ST                                         GALLATIN        MO         64640                  6002               Various                                                                                                $5.86
LINDA M BRANDEMUEHL            4865 COUNTY A                                              LANCASTER       WI         53813                  6002               Various                                                                                                $6.82
LINDA M SCHUMACHER             716 E GOODALL ST                                           APPLETON        WI         54915                  6002               Various                                                                                                $3.62
LINDA M UTKE                   N279 CTY RD E                                              CURTISS         WI         54422                  6002               Various                                                                                                $4.49
LINDA MABEY                    50126 HIGHWAY 60 #B185                                     SALOME          AZ         85348                  6004               Various                                                                                               $71.76
LINDA MARLEN OGLESBEERAY       404 HOWELL AVE                                             WORLAND         WY         82401                  6002               Various                                                                                                $5.40




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                                                                                                                                                                                                                             Claim subject to offset?
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                                                                                                                                                                                      Contingent


                                                                                                                                                                                                                  Disputed
                                                                                                                                               Last 4 Digits of   Date Debt was
                                                                                                                                                  Account       Incurred, Basis for
             Creditor Name               Address1            Address2        Address3            City           State           Zip   Country     Number              Claim                                                                             Total Claim
LINDA MARVIN                  411 W PHILLIPS, APT #311                                    RHINELANDER        WI         54501                 6004              Various                                                                                                $2.00
LINDA MCFARLAND               416 S ATLANTIC ST                                           DILLON             MT         59725                 6002              Various                                                                                                $2.99
LINDA MCGRATH                 201 E CASTLEBURY LN                                         APPLETON           WI         54913                 6002              Various                                                                                                $0.38

LINDA MERRY                   21720 S. WEATHER EDGE CIRCLE                                LANNON             WI         53046                   6004            Various                                                                                               $10.00
LINDA MILLER                  7757 105TH AVENUE                                           PLEASANT PRAIRIE   WI         53158                   6004            Various                                                                                               $47.92
LINDA MONNASTES               1308 S. RAY                                                 SPOKANE            WA         99202                   6004            Various                                                                                                $5.00
LINDA MORRIS                  1124 13TH STREET SO                                         ST. CLOUD          MN         56301                   6002            Various                                                                                                $7.73
LINDA MOTIFF                  1121 MARSHALL AVE                                           GREEN BAY          WI         54303                   6002            Various                                                                                                $9.81
LINDA MULJO                   708 WRIGHT ST                                               MARQUETTE          MI         49855                   6002            Various                                                                                                $0.27
LINDA MURPHY                  310 N DEMOCRATIC ST                                         TECUMSEH           MI         49286                   6002            Various                                                                                                $1.37
LINDA NEHLS                   114 WEST SOUTH ST                                           BEAVER DAM         WI         53916                   6004            Various                                                                                               $45.00
LINDA NELSEN                  382 MOON VALLEY DR                                          GREEN BAY          WI         54302                   6002            Various                                                                                                $3.29
LINDA NEWLAN                  1712 10TH ST SW #15                                         GREAT FALLS        MT         59405                   6004            Various                                                                                                $3.00
LINDA NEWTON                  419 W SCOTT ST                                              STEVENS POINT      WI         54481                   6002            Various                                                                                                $1.18
LINDA NORTON                  871 ARCH ST                                                 GREEN BAY          WI         54313                   6004            Various                                                                                                $2.20
LINDA NUOFFER                 510 ROBERT ST                                               FORT ATKINSON      WI         53538                   6002            Various                                                                                                $6.74
LINDA OGDEN                   1002 HARLAN ST                                              FALLS CITY         NE         68355                   6002            Various                                                                                                $3.70

LINDA OLDS                    6530 WAZEECHA RIDGE CT                                      WISCONSIN RAPIDS   WI         54494                   6004            Various                                                                                               $23.04
LINDA OTALORA                 908 SPUR LN                                                 WAUSAU             WI         54403                   6002            Various                                                                                               $10.00
LINDA PASLEY                  3045 CARSON DR APT 2                                        REDDING            CA         96003                   6002            Various                                                                                               $49.92
LINDA PENA                    608 MEADOW LANE                                             NORFOLK            NE         68701                   6004            Various                                                                                               $10.99
LINDA PENMAN                  1196 N 250TH E                                              LAYTON             UT         84041                   6002            Various                                                                                                $6.33
LINDA PETERSON                200 N FARLEY AVE                                            ROSALIE            NE         68055                   6002            Various                                                                                               $10.00
LINDA PORTER                  1600 N FIG AVE APT 116                                      MARSHFIELD         WI         54449                   6002            Various                                                                                                $6.22

LINDA PRANGE                  809 N CUMBERLAND LN                                         PORT WASHINGTON    WI         53074                   6002            Various                                                                                             $7.48
LINDA PRIEBE                  N4121 HIGHWAY 55                                            FREEDOM            WI         54130                   6002            Various                                                                                             $5.64
LINDA RATLEY                  1918 N BROADWAY ST                                          LARNED             KS         67550                   6002            Various                                                                                             $3.70
LINDA ROHMEYER                811 48TH ST SO                                              WISCONSIN RAPID    WI         54494                   6002            Various                                                                                             $1.51
LINDA S ANDERSON              21511 505TH AVE                                             MORRIS             MN         56267                   6002            Various                                                                                             $8.22
LINDA SANDERSON               GENERAL DELIVERY                                            FREEDOM            WY         83120                   6002            Various                                                                                           $824.32
LINDA SCHOWALTER              W7955 CREEK RD TRLR # 514                                   DELAVAN            WI         53115                   6002            Various                                                                                             $0.47
LINDA SENF                    920 6TH ST N                                                SAINT JAMES        MN         56081                   6002            Various                                                                                             $2.08
LINDA SEVERSON                11000 E ELDER ST APT 3                                      CANTON             SD         57013                   6004            Various                                                                                            $30.00
LINDA SITZMAN                 3920 S 46TH ST APT 6                                        LINCOLN            NE         68506                   6004            Various                                                                                             $2.00
LINDA SPOTTS                  5472 MT HIGHWAY 13                                          WOLF POINT         MT         59201                   6002            Various                                                                                             $0.27
LINDA SRNKA                   209 VLIET ST.                                               KEWAUNEE           WI         54216                   6004            Various                                                                                            $37.00
LINDA STANTON                 100 MOZART AVE W                                            MANKATO            MN         56001                   6004            Various                                                                                            $15.00
LINDA STASKA                  621 CHURCH ST                                               GERMAN VALLEY      IL         61039                   6002            Various                                                                                             $7.64
LINDA STENDER                 2353 CTY RD U                                               GREEN BAY          WI         54313                   6002            Various                                                                                             $4.27
LINDA STEPHENSON              2205 HOGBARN RD                                             ASHLAND            IL         62612                   6002            Various                                                                                             $2.03
LINDA STOCKDALE               4452 HILTON DR                                              EUGENE             OR         97402                   6002            Various                                                                                             $1.40
LINDA STUDER                  PO BOX 96                                                   WESLEY             IA         50483                   6002            Various                                                                                             $6.22
LINDA THOMPSON                1233 SIERRA GRANDE                                          BILLINGS           MT         59105                   6004            Various                                                                                            $11.98
LINDA TRAN                    12720 CULTIVATOR ST                                         CALDWELL           ID         83607                   6002            Various                                                                                             $7.48
LINDA TRAVAGLIO               541 N MAIN ST                                               CADOTT             WI         54727                   6002            Various                                                                                             $2.60
LINDA ULERY                   193 HIGHWAY 28                                              SALMON             ID         83467                   6002            Various                                                                                             $9.78
LINDA VALDEZ                  377 N. PARK AVE.                                            FOND DU LAC        WI         54935                   6004            Various                                                                                           $160.00
LINDA VAN GOETHEM             718 STONEGATE DRIVE                                         KIMBERLY           WI         54136                   6004            Various                                                                                            $44.00
LINDA VAN KIRK                S 7720 STATE RD 37                                          EAU CLAIRE         WI         54701                   6004            Various                                                                                            $76.20
LINDA VENCILL                 412 CRYSTAL CIR.                                            MANKATO            MN         56001                   6004            Various                                                                                            $40.00
LINDA VISSER                  991 PORTER AVE                                              OGDEN              UT         84404                   6002            Various                                                                                             $4.79




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                                                                                                                                                                                       Contingent


                                                                                                                                                                                                                   Disputed
                                                                                                                                              Last 4 Digits of     Date Debt was
                                                                                                                                                 Account         Incurred, Basis for
              Creditor Name                Address1           Address2         Address3              City       State         Zip    Country     Number                Claim                                                                             Total Claim
LINDA WALKER DEXTER            PO BOX 248                                                   HARRISON         NE         69346                6002                Various                                                                                             $5.92
LINDA WHEELIS                  619 S. 30TH ST                                               MANITOWOC        WI         54220                6004                Various                                                                                             $1.00
LINDA WHITE                    11833 S 3770TH W                                             RIVERTON         UT         84065                6002                Various                                                                                             $1.89
LINDA WHITMAN                  11987 T RD                                                   RAPID RIVER      MI         49878                6002                Various                                                                                             $6.49
LINDA WHITNEY-COUCH            PO BOX 26                                                    PAXTON           NE         69155                6002                Various                                                                                             $7.37
LINDA WILCOX                   707 GRANT ST                                                 SPICKARD         MO         64679                6002                Various                                                                                             $8.08
LINDA WILDE                    2473 E FALCON WAY                                            SANDY            UT         84093                6002                Various                                                                                             $1.94
LINDA WILLIAMS                 1775 LANE # 15                                               POWELL           WY         82435                6002                Various                                                                                             $0.30
LINDA WILSON                   26393 295TH AVENUE                                           PRESTON          MN         55965                6002                Various                                                                                             $6.49
LINDA WILSON-MOREY             200 E HARLEM AVE APT 422                                     MONMOUTH         IL         61462                6002                Various                                                                                             $1.65
LINDA WINTERS                  722 N. MAIN STREET                                           FORT ATKINSON    WI         53538                6004                Various                                                                                             $1.00
LINDA XIONG                    4127 GLOUSTER LN NW                                          ROCHESTER        MN         55901                6004                Various                                                                                             $8.00
LINDA YOUNG                    2114 SQUAW CREEK RD                                          LANDER           WY         82520                6002                Various                                                                                             $6.52
LINDA ZECCA                    873 W 4000TH S                                               BOUNTIFUL        UT         84010                6002                Various                                                                                             $6.38
LINDA(PSP) TENNESSEN           8304 DUNKELOW RD                                             FRANKSVILLE      WI         53126                6002                Various                                                                                             $9.04
LINDBERG FAMILY                3530 N WELLINGTON DR                                         APPLETON         WI         54911                6002                Various                                                                                             $4.38
LINDBLOM SERVICES              PO BOX 2359                                                  SIOUX CITY       IA         51106-0359                               Various                                                                                           $888.57
LINDI BASSETT                  620 N. SHERIDAN AVE.                                         NORTH PLATTE     NE         69101                 6004               Various                                                                                            $10.00
LINDSAY ASHCRAFT               603 TILDEN ST APT 1                                          HOLDREGE         NE         68949                 6002               Various                                                                                             $8.88
LINDSAY C LAWSON               306-3RD AVE                                                  EARLING          IA         51530                 6002               Various                                                                                             $4.96
LINDSAY CHRISTY                713 2ND ST                                                   DODGE            NE         68633                 6002               Various                                                                                             $9.01
LINDSAY COX                    4523 S 250 E                                                 OGDEN            UT         84405                 6004               Various                                                                                             $7.10
LINDSAY FAULKS                 N4011 RITCHIE RD                                             NEW LONDON       WI         54961                 6004               Various                                                                                            $20.00
LINDSAY FISCHER                909 QUINLAN DR UNIT E                                        PEWAUKEE         WI         53072                 6004               Various                                                                                            $33.00
LINDSAY GONWA                  1517 BUFFALO ST                                              GREEN BAY        WI         54313                 6002               Various                                                                                             $6.00
LINDSAY KEEPERS                2432 BARBARA AVE                                             APPLETON         WI         54915                 6002               Various                                                                                             $2.49
LINDSAY KNUTSON                3611 85TH ST NW                                              ORONOCO          MN         55960                 6004               Various                                                                                             $3.00
LINDSAY M. GOSSWEILER          1365 PLYMOUTH RD APT 4                                       MASON CITY       IA         50401                 6002               Various                                                                                             $4.66
LINDSAY MAGINN                 4628 HILLSIDE                                                LINCOLN          NE         68506                 6004               Various                                                                                             $4.00
LINDSAY MANNING                6917 COUNTY ROAD P                                           DANE             WI         53529                 6004               Various                                                                                            $21.00
LINDSAY MCEWAN                 6249 W GENEVA ST                                             BOISE            ID         83703                 6004               Various                                                                                            $24.96
LINDSAY RYAN                   810 N. PROSPECT STREET                                       MERRILL          WI         54452                 6004               Various                                                                                             $5.00
LINDSAY SCHALLOCK              N2886 JOHNS LAKE ROAD                                        WAUTOMA          WI         54982                 6004               Various                                                                                             $5.48
LINDSAY STECKEL                4803 MILWAUKEE STREET                                        MADISON          WI         53714                 6004               Various                                                                                             $2.00
LINDSAY TRIBETT                369 BARBARA ST                                               LAYTON           UT         84041                 6002               Various                                                                                             $8.25
LINDSAY TRIMBLE                605 N DUNNINGTON ST                                          GALLATIN         MO         64640                 6002               Various                                                                                             $7.86
LINDSAY TROSKA                 235 WASHINGTON AVE                                           ALDEN            MN         56009                 6002               Various                                                                                             $0.44
LINDSAY WELSH                  50454 VIKING RD                                              PAGE             NE         68766                 6002               Various                                                                                             $6.55
LINDSEY BACKHAUS               2004 HILVIEW DRIVE                                           GREEN BAY        WI         54302                 6004               Various                                                                                            $10.00
LINDSEY BARBER                 4829 E 150TH N                                               RIGBY            ID         83442                 6002               Various                                                                                             $0.74
LINDSEY BEAUDRY                524 N 4TH ST                                                 MARQUETTE        MI         49855                 6002               Various                                                                                             $8.38
LINDSEY BORESON                PO BOX 32                                                    HINSDALE         MT         59241                 6002               Various                                                                                             $1.53
LINDSEY DONDERO                237 N 900TH E                                                SPANISH FORK     UT         84660                 6002               Various                                                                                             $5.78
LINDSEY DRECHSEL               220 COUNTRY CT                                               LUXEMBURG        WI         54217                 6002               Various                                                                                             $9.67
LINDSEY DUCEY                  12624 NEW YORK ST                                            LOVES PARK       IL         61111                 6002               Various                                                                                             $6.19
LINDSEY DUTSON                 3771 ASH CIR                                                 SALT LAKE CITY   UT         84109                 6004               Various                                                                                            $10.00
LINDSEY DWYER                  114 WEST PLEASANT STREET                                     GARDEN CITY      MN         56034                 6004               Various                                                                                             $3.06
LINDSEY EDWARDS                2302 W BROADWAY            PO BOX 16361                      MISSOULA         MT         59808                 6004               Various                                                                                             $2.00
LINDSEY F RICHOTTE             12523 456TH AVE                                              SISSETON         SD         57262                 6002               Various                                                                                             $7.34
LINDSEY FRANK                  600 BIRCHWOOD TRAIL                                          MOUNT HOREB      WI         53572                 6004               Various                                                                                            $21.00
LINDSEY FRITZ                  5820 DILLON                                                  LINCOLN          NE         68505                 6004               Various                                                                                             $2.00
LINDSEY GARDNER                2624 BURLINGTON AVE                                          BILLINGS         MT         59102                 6004               Various                                                                                            $25.00
LINDSEY GOLDEN                 2105 RYAN RD APT 10                                          DE PERE          WI         54115                 6002               Various                                                                                             $2.58
LINDSEY MINKIE                 111 N DIVISION ST                                            DAKOTA           IL         61018                 6004               Various                                                                                            $23.00




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                                                                                                                                                       Last 4 Digits of     Date Debt was
                                                                                                                                                          Account         Incurred, Basis for
              Creditor Name                   Address1                 Address2        Address3             City         State         Zip    Country     Number                Claim                                                                             Total Claim
LINDSEY PASSEHL                   1961 FRAHM RD                                                     ATHENS            WI         54411                6004                Various                                                                                             $3.02
LINDSEY R BARTELL                 104 VAGLE CT                                                      WARREN            IL         61087                6002                Various                                                                                             $2.99
LINDSEY R. FREDERICK              529 CENTRAL AVE                                                   HUMBOLDT          NE         68376                6002                Various                                                                                             $9.97
LINDSEY RAE MILLER                413 1/2 E 4TH ST                                                  DELL RAPIDS       SD         57022                6002                Various                                                                                             $9.84
LINDSEY RICHOTTE                  12523 456TH AVE                                                   SISSETON          SD         57262                6004                Various                                                                                             $8.00
LINDSEY SHANNON                   801 N 4TH ST APT E1                                               HIAWATHA          KS         66434                6002                Various                                                                                             $4.47
LINDSEY WAGNER                    1171 BRECKENRIDGE ST APT 7                                        MAYVILLE          WI         53050                6002                Various                                                                                             $8.08
LINDSEY WEAVER                    1035 PLEASANT ST #3316                                            BELOIT            WI         53511                6004                Various                                                                                             $2.00
LINDSEY WILSON                    855 SHERMAN AVE                                                   JANESVILLE        WI         53545                6004                Various                                                                                             $2.00
LINDSEY WOLTERING                 2235 RALSTIN RD                                                   CRAIGMONT         ID         83523                6004                Various                                                                                             $5.00
LINDSEY YOUNG                     2860 WILLIAMS AVE                                                 RIVER FALLS       WI         54022                6004                Various                                                                                             $3.00
LINDSY BREON HEMMERSBACH          N9626 PATTI CT                                                    APPLETON          WI         54915                6002                Various                                                                                             $2.11
LINDSY GRATZ                      114 SOUTH NORMAN ST                                               IVANHOE           MN         56142                6004                Various                                                                                             $3.00
LINDT & SPRUNGLI USA INCORPORA    30637                         PO BOX 202771                       DALLAS            TX         75320-2771           4432                Various                                                                                       $335,174.00
LINDY HAAGLAND                    3427 SOUTH SIDE BLVD                                              NAMPA             ID         83686                6004                Various                                                                                          $159.95
LINDY JOHNSON                     300 9TH ST N APT 9                                                GREAT FALLS       MT         59401                6002                Various                                                                                             $2.90
LINELL HESSE                      1106 18TH AVE                                                     CHARLES CITY      IA         50616                6004                Various                                                                                            $10.00

LINEN ESSENTIALS                  1215 LIVINGSTON AVE SUITE 4                                       NORTH BRUNSWICK   NJ         08902                 4911               Various                                                                                       $191,745.26
LINGER DISTRIBUTING INC           175 HWY 28                                                        SALMON            ID         83467                 9146               Various                                                                                          $771.66
LINH MAI                          5298 KINGSTON PL                                                  ROCHESTER         MN         55901                 6004               Various                                                                                             $3.00
LINITASEINI VAHA                  626 N 1260 W                                                      CLEARFIELD        UT         84015                 6004               Various                                                                                            $10.00
                                                                ONE SNACKFOOD
LINK SNACKS INCORPORATED          VICE PRESIDENT OF SALES       LANE PO BOX 397                     MINONG            WI         54859                 4409               Various                                                                                        $83,726.18
LINO A MORALES                    1555 MAIN ST                                                      TORRINGTON        WY         82240                 6002               Various                                                                                             $4.49
LINO ACEVES                       112 AGAPE LN                                                      OROFINO           ID         83544                 6002               Various                                                                                             $2.41
LINO BARRAZA                      933 MILES AVE                                                     OROFINO           ID         83544                 6002               Various                                                                                             $1.70
LINSEY LOWE                       220 S MAPLE                   #309                                WATERTOWN         SD         57201                 6004               Various                                                                                            $51.43
LINSEY OTTO                       3537 MONROE RD                                                    DE PERE           WI         54115                 6002               Various                                                                                             $8.33
LINSIE PALMER                     5070 PLEASANT VIEW                                                POCATELLO         ID         83202                 6004               Various                                                                                            $20.00
                                                                248 WYANDANCH
LINZER PRODUCTS CORPORATION       VICE PRESIDENT OF SALES       AVENUE                              WEST BABYLON      NY         11704                 5380               Various                                                                                        $26,695.47
LION BRAND YARN COMPANY           VICE PRESIDENT OF SALES       135 KERO ROAD                       CARLSTADT         NJ         07072                 2572               Various                                                                                        $89,034.80
LIONA NUNEZ-CASTILLO              447 FLETCHER AVE APT 4                                            LINCOLN           NE         68521                 6002               Various                                                                                             $7.75
LIONEL LLC                        PO BOX 602831                                                     CHARLOTTE         NC         28260-2831            5643               Various                                                                                        $27,056.60
LIONEL RAY TOWNSEND               201 RIDGELY ST PO BOX # 82                                        KASOTA            MN         56050                 6002               Various                                                                                             $0.93
LIPPER INTERNATIONAL INCORPORA    PO BOX 5017                                                       WALLINGFORD       CT         06492                 3892               Various                                                                                         $1,017.50
LISA A GEIGER-BEER                12532 N CAMELOT TRL                                               MILFORD           IN         46542                 6002               Various                                                                                             $6.90
LISA A MILLER                     W4741 MABLE FRONTAGE RD                                           TOMAHAWK          WI         54487                 6002               Various                                                                                             $1.23
LISA A TAYLOR                     827 MANES CT                                                      LINCOLN           NE         68505                 6002               Various                                                                                            $10.00
LISA AHLEMAN                      615 CONRAD RD                                                     STANDISH          MI         48658                 6002               Various                                                                                             $6.58
LISA ALLEN                        644 MAPLE VIEW CT                                                 ONEIDA            WI         54155                 6002               Various                                                                                             $8.49
LISA ANDERSON                     314 RIVERVIEW DR APT 2                                            MANITOWOC         WI         54220                 6004               Various                                                                                             $4.41
LISA B PHILLIPS                   3863 LOVELESS DR                                                  TECUMSEH          MI         49286                 6002               Various                                                                                             $6.71
LISA BACH                         578 E 1800TH N                                                    NORTH OGDEN       UT         84414                 6002               Various                                                                                             $5.34
LISA BAILEY                       PO BOX 330                                                        RHINELANDER       WI         54501                 6004               Various                                                                                             $3.00
LISA BANNERT                      497 66TH AVE NW                                                   WILLIAMS          MN         56686                 6002               Various                                                                                             $1.75
LISA BARKER                       1006 10TH AVE SW                                                  AUSTIN            MN         55912                 6004               Various                                                                                            $15.70
LISA BARWICK                      PO BOX 21                                                         ANIWA             WI         54408                 6004               Various                                                                                             $4.00
LISA BEIMBORN                     1017 GOLF VIEW DR                                                 BRILLION          WI         54110                 6004               Various                                                                                            $10.00
LISA BERAN                        45255 SARGENT RIVER RD                                            SARGENT           NE         68874                 6002               Various                                                                                             $1.62
LISA BLACK                        2901 SILVERTIP                                                    COEUR D ALENE     ID         83815                 6004               Various                                                                                            $24.96
LISA BOIE                         2518 ABBE HILL DR                                                 EAU CLAIRE        WI         54703                 6002               Various                                                                                             $4.58
LISA BOLAND                       P O BOX 363                                                       CEDARVILLE        IL         61013                 6004               Various                                                                                             $7.98




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                                                                                                                                               Account         Incurred, Basis for
              Creditor Name                Address1       Address2        Address3              City         State           Zip   Country     Number                Claim                                                                             Total Claim
LISA BOLTZ                     124 2ND ST S                                            MONTROSE           MN         55363                 6002                Various                                                                                                $2.47
LISA BROWN                     1613 COLORADO PL                                        STURGEON BAY       WI         54235                 6004                Various                                                                                               $34.05
LISA BUCHER                    1019 15TH ST                                            AUBURN             NE         68305                 6002                Various                                                                                                $6.79
LISA BULLER                    959 RIVERSIDE RD                                        KALISPELL          MT         59901                 6004                Various                                                                                               $12.00
LISA CADWELL                   406 N 60TH AVE                                          YAKIMA             WA         98908                 6004                Various                                                                                               $12.98
LISA CLAY                      661 MARCIA DR                                           IDAHO FALLS        ID         83401                 6002                Various                                                                                                $8.52
LISA CONTRERAS                 1521 25ST                                               KENOSHA            WI         53140                 6004                Various                                                                                                $3.50
LISA COYLE                     N3899 COUNTY ROAD K                                     GRANTON            WI         54436                 6002                Various                                                                                                $2.52
LISA CUMMER                    11580 LITTLE ROCK RD SW                                 FIFE LAKE          MI         49633                 6002                Various                                                                                                $3.26
LISA D JOOSTEN                 1232 W MENK DR                                          SAINT PETER        MN         56082                 6002                Various                                                                                                $1.04
LISA DAGERMAN                  1522 S 139TH ST                                         OMAHA              NE         68144                 6004                Various                                                                                               $20.00
LISA DAUPHINEE                 303 20TH ST NW                                          AUSTIN             MN         55912                 6004                Various                                                                                                $3.00
LISA DE GRAND                  2856 CONESTA DR                                         GREEN BAY          WI         54311                 6004                Various                                                                                                $5.00
LISA DELEEUW                   3024 BETH DR                                            GREEN BAY          WI         54311                 6002                Various                                                                                                $1.64
LISA DEMPSEY                   503 SPRUCE ST                                           DIXON              IL         61021                 6002                Various                                                                                                $6.30
LISA DOLAN                     1321 RUSKIN ST                                          MADISON            WI         53704                 6002                Various                                                                                                $4.79
LISA DREW                      1121 JEFFERSON ST                                       OSHKOSH            WI         54901                 6002                Various                                                                                                $3.23
LISA DUNTON                    5148 W WOOD SHADE CT                                    WEST JORDAN        UT         84081                 6002                Various                                                                                                $8.25
LISA E CLARK                   2966 S GLORIA ST                                        SALT LAKE CITY     UT         84109                 6002                Various                                                                                               $14.79
LISA ENDRES                    1101 BLAINE DRIVE                                       MADISON            WI         53704                 6004                Various                                                                                               $21.00
LISA F SCHEY                   405 W 1ST ST                                            NEILLSVILLE        WI         54456                 6002                Various                                                                                                $8.44
LISA FISCHER                   71735 645TH AVE                                         STELLA             NE         68442                 6002                Various                                                                                                $1.89
LISA FISH                      315 E FALL ST                                           LANSE              MI         49946                 6002                Various                                                                                                $4.41
LISA FISHER                    179 VILLAGE WAY                                         SALEM              OR         97317                 6002                Various                                                                                                $1.66
LISA FORDE                     2021 DECKNER AVE APT 108                                GREEN BAY          WI         54302                 6002                Various                                                                                               $10.00
LISA FOSTER                    164 E 5250TH S                                          OGDEN              UT         84405                 6002                Various                                                                                                $0.63
LISA FREDERICK                 14200 W PROMISE LN                                      POCATELLO          ID         83202                 6002                Various                                                                                                $0.49
LISA GARDNER                   1124 CLEMENT ST                                         WATERTOWN          WI         53094                 6004                Various                                                                                                $2.00
LISA GAVRONSKI                 611 N MORRISON ST                                       APPLETON           WI         54911                 6002                Various                                                                                                $8.49
LISA GENZER                    2034 POWERS AVE SPC 5                                   LEWISTON           ID         83501                 6002                Various                                                                                                $2.88
LISA GILBERT                   736 JEFFERSON ST                                        MENASHA            WI         54952                 6002                Various                                                                                                $0.85
LISA GILE                      3652 HEMLOCK TRL                                        WISCONSIN RAPID    WI         54495                 6002                Various                                                                                                $7.75
LISA GODINA                    942 E WISCONSIN ST                                      DELAVAN            WI         53115                 6002                Various                                                                                                $9.10
LISA GOOD                      6725 WALZEM RD                                          SAN ANTONIO        TX         78239                 6002                Various                                                                                                $4.79
LISA GRABOWSKI                 305 2ND AVE N APT 102                                   SAUK RAPIDS        MN         56379                 6002                Various                                                                                                $7.23
LISA GRANT                     N 7591 EDGEWATER DR.                                    BEAVER DAM         WI         53916                 6004                Various                                                                                               $25.00
LISA HANSEN                    297 E 10TH ST                                           FOND DU LAC        WI         54935                 6004                Various                                                                                                $5.00
LISA HARPER                    315 E DAPHNE RD                                         MILWAUKEE          WI         53217                 6002                Various                                                                                               $10.00
LISA HARRIS                    580 E 100TH N                                           MOUNTAIN HOME      ID         83647                 6004                Various                                                                                               $72.79
LISA HEALY                     813 AMBERLY TRAIL                                       GREEN BAY          WI         54311                 6004                Various                                                                                                $7.00
LISA HENDRICKS                 1110 GARFIELD ST                                        NIAGARA            WI         54151                 6002                Various                                                                                                $2.49
LISA HOOTS                     314 MARNICO RD                                          JACKSONVILLE       IL         62650                 6002                Various                                                                                                $6.27
LISA HOPKINS                   407 MOOREHEAD AVE                                       IDA GROVE          IA         51445                 6002                Various                                                                                                $6.88
LISA HUFFMAN                   PO BOX 2517                                             KALISPELL          MT         59903                 6004                Various                                                                                               $15.50
LISA IRONS                     4450 ORCHID AVE                                         NORTHWOOD          IA         50459                 6004                Various                                                                                               $15.00
LISA J SEVERSON                624 STARR AVE                                           EAU CLAIRE         WI         54703                 6002                Various                                                                                                $8.99
LISA JAMES                     607 CHESTNUT ST CARD                                    BLACK RIVER FAL    WI         54615                 6002                Various                                                                                                $4.41
LISA JARMAN                    N6288 HIGHWAY E                                         ODGENSBURG         WI         54962                 6002                Various                                                                                                $7.75
LISA JENSEN                    1380 S. 1100 W.                                         WOODS CROSS        UT         84087                 6004                Various                                                                                               $16.00
LISA JOINER                    2112 MAGY LN                                            GREEN BAY          WI         54313                 6002                Various                                                                                                $3.56
LISA JOLIN                     7638 CHANNEL RD                                         EAGLE RIVER        WI         54521                 6002                Various                                                                                               $10.00
LISA KELLING                   W7173 WESTERN AVE.                                      ADELL              WI         53001                 6004                Various                                                                                               $10.00
LISA KELLY                     228 EAST MAIN                                           BLOOMING PRAIRIE   MN         55917                 6004                Various                                                                                                $3.06
LISA KISSNER                   4684 PIERCE AVE                                         PLOVER             WI         54467                 6004                Various                                                                                                $1.00




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                                                                                                                                                          Account         Incurred, Basis for
              Creditor Name               Address1                   Address2          Address3             City        State           Zip   Country     Number                Claim                                                                             Total Claim
LISA KOWALEWSKY                226 SOUTH WALBRIDGE AVE                                              MADISON          WI         53714                 6004                Various                                                                                                $5.40
LISA KREIE                     860 NORTH 6TH STREET                                                 MANITOWOC        WI         54220                 6004                Various                                                                                                $6.00
LISA L MEAD                    409 W 13TH ST                                                        LARNED           KS         67550                 6002                Various                                                                                                $6.90
LISA L WEISENSEL               1125 N SPRING ST                                                     BEAVER DAM       WI         53916                 6002                Various                                                                                               $10.00
LISA LAY                       212 NORTH 5TH STREET                                                 MANKATO          MN         56001                 6004                Various                                                                                               $10.00
LISA LEHMAN                    1318 S 15TH ST                                                       MANITOWOC        WI         54220                 6002                Various                                                                                                $9.81
LISA LEINEN                    1084 KINGWOOD RD                                                     HARLAN           IA         51537                 6002                Various                                                                                                $3.73
LISA LOVGREN                   19 N PRIMEROSE DR                                                    SALMON           ID         83467                 6002                Various                                                                                                $3.62
LISA M FRAHM                   W5772 CTY RD S                                                       BLACK CREEK      WI         54106                 6002                Various                                                                                                $8.52
LISA M TREACY                  1019 15TH ST N # PRE-RELEASE                                         GREAT FALLS      MT         59401                 6002                Various                                                                                                $5.95
LISA MACDONALD                 730 LIBERTY DRIVE                                                    DE FOREST        WI         53532                 6004                Various                                                                                                $9.00
LISA MALECKI                   1022 COLUMBIA DRIVE                                                  POYNETTE         WI         53955                 6004                Various                                                                                                $5.00
LISA MANFROI                   6806 N 116TH CIR                                                     OMAHA            NE         68164                 6002                Various                                                                                                $7.15
LISA MARIE OLSON               640 S SENECA AVE                                                     NEWCASTLE        WY         82701                 6002                Various                                                                                                $6.38
LISA MARROQUIN                 350 18TH ST                                                          OGDEN            UT         84401                 6002                Various                                                                                                $2.60
LISA MARTIN                    950 W VENTURE PL               #329                                  SIOUX FALLS      SD         57105                 6004                Various                                                                                               $16.00
LISA MATHEWS                   1340 AVE U                                                           STERLING         KS         67579                 6002                Various                                                                                                $5.86
LISA MCCULLOUGH SHIPKO         225 E ELKHORN RD                                                     SALMON           ID         83467                 6002                Various                                                                                                $4.30
                                                              515 CHURCH
LISA MCINTYRE                  PO BOX 185                     STREET                                PALOUSE          WA         99161                  6004               Various                                                                                           $157.96
LISA MILLER                    7130 N. DRYDEN ROAD                                                  CASHMERE         WA         98815                  6004               Various                                                                                           $226.85
LISA MONRONEY                  221 SO ST # 11TH                                                     WORLAND          WY         82401                  6002               Various                                                                                             $0.88
LISA MOREN                     4719 GLADYS ST                                                       RHINELANDER      WI         54501                  6002               Various                                                                                             $7.18
LISA MYRAN                     1665 HAMMER RD                                                       ALBERT LEA       MN         56007                  6002               Various                                                                                             $2.30
LISA N NISSEN                  20025 SD HIGHWAY 79                                                  WHITEWOOD        SD         57793                  6002               Various                                                                                             $3.10
LISA NELSON                    2100 EAST BENGAL BLVD          APT L-201                             SALT LAKE CITY   UT         84121                  6004               Various                                                                                            $44.73
LISA NIELSEN                   1554 E MT VIEW DR                                                    SPANISH FORK     UT         84660                  6002               Various                                                                                             $5.81
LISA OLSEN                     203 N MAIN ST APT 2                                                  JEFFERSON        WI         53549                  6002               Various                                                                                             $0.27
LISA OREM                      5008 CRESTHAVEN DR                                                   LINCOLN          NE         68516                  6004               Various                                                                                             $4.00
LISA OSBORN                    1906 FREEMAN DR                                                      BELLEVUE         NE         68005                  6004               Various                                                                                            $21.10
LISA OVERWEG                   P.O. BOX 26                                                          FULDA            MN         56131                  6004               Various                                                                                             $3.00
LISA PANTEN                    404 ELM ST                                                           SLINGER          WI         53086                  6002               Various                                                                                             $3.78
LISA PEDERSON                  PO BOX 457                                                           ROCHESTER        MN         55903                  6004               Various                                                                                             $6.00
LISA PETERS                    228 HILLCREST ST                                                     CALDWELL         ID         83605                  6002               Various                                                                                             $2.19
LISA PETERSON                  889 ARTHUR DR APT 4                                                  MILTON           WI         53563                  6004               Various                                                                                            $22.50
LISA PRUESER                   201 THOMAS HILL DRIVE          APT. 6                                EDGAR            WI         54426                  6004               Various                                                                                             $3.00
LISA RACKOW                    W4658 MONTGOMERY RD                                                  MONROE           WI         53566                  6002               Various                                                                                             $7.97
LISA RAINS                     893 D SELWAY RD                                                      KOOSKIA          ID         83539                  6002               Various                                                                                             $3.32
LISA ROSE                      850 W LOCUST ST                                                      BELVIDERE        IL         61008                  6002               Various                                                                                             $2.41
LISA S. HEFTY                  832 FOX RIVER DR                                                     DE PERE          WI         54115                  6002               Various                                                                                             $6.71
LISA SCHARA                    318 KENT LN                    #104                                  MADISON          WI         53713                  6004               Various                                                                                            $36.00
LISA SCHAUMBURG                663 S 19 ST. APT. 8                                                  LINCOLN          NE         68510                  6004               Various                                                                                             $4.00

LISA SCHMIDT                   726 N MILWAUKEE ST                                                   PORT WASHINGTON WI          53074                   6002              Various                                                                                                $8.85
LISA SCHMITT                   913 BOYD AVE                                                         KAUKAUNA        WI          54130                   6002              Various                                                                                                $5.92
                               N6321 WITT-MORR TOWNLINE
LISA SCHULTZ                   RD.                                                                  WITTENBERG       WI         54499                  6004               Various                                                                                               $12.95
LISA SHAFER                    2534 MADISON ST                                                      BELLEVUE         NE         68005                  6004               Various                                                                                               $10.00
LISA SIMMONS                   2865 W ELLIOTT DR. C108                                              SPOKANE          WA         99224                  6004               Various                                                                                               $35.00
LISA SLOBODNIK                 5010 SO 39TH                                                         OMAHA            NE         68107                  6004               Various                                                                                                $2.00
LISA SMITH                     900 N BROADWAY                                                       WATERTOWN        SD         57201                  6004               Various                                                                                                $4.98
LISA SONNEK                    39050 HARDER PARKWAY                                                 NORTH BRANCH     MN         55056                  6004               Various                                                                                                $8.67
LISA SPRAGUE                   144 12TH STREEET                                                     WINDOM           MN         56101                  6002               Various                                                                                                $1.46
LISA STEEN                     200 PROSPECT ST                                                      DORCHESTER       WI         54425                  6002               Various                                                                                                $1.40




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                                                                            Schedule E/F: Part 2 - Creditors With Nonpriority Unsecured Claims




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              Creditor Name               Address1               Address2           Address3             City          State           Zip   Country     Number                Claim                                                                             Total Claim
LISA STOLP                     625 W SUMMER ST                                                   APPLETON           WI         54911                 6004                Various                                                                                            $44.98
LISA TEPOLT                    N717 NAVARINO RD                                                  NAVARINO           WI         54107                 6004                Various                                                                                            $22.00
LISA THOLEN                    303 JEWETT STREET            APT 210                              MARSHALL           MN         56258                 6004                Various                                                                                             $3.00
LISA THOMPSON                  7626 ST CROIX TRL                                                 NORTH BRANCH       MN         55056                 6002                Various                                                                                             $0.71
LISA TIDWELL                   505 N 6TH ST                                                      MISSOURI VALLEY    IA         51555                 6002                Various                                                                                             $8.11
LISA TOTH                      9677 N SANDPOINT DR                                               CROMWELL           IN         46732                 6002                Various                                                                                             $5.34
LISA UEDA                      123 HARRISON ST                                                   NEENAH             WI         54956                 6002                Various                                                                                             $5.84
LISA UNDERWOOD                 1130 RIVERBEND DR                                                 DOUGLAS            WY         82633                 6002                Various                                                                                             $0.47
LISA VALDEZ                    3419 DUPONT ST                                                    SIOUX CITY         IA         51104                 6004                Various                                                                                            $20.00
LISA VINER                     W12605 STATE ROAD 73                                              PLAINFIELD         WI         54966                 6002                Various                                                                                             $1.89
LISA VOGEL                     523 54TH N # 68                                                   SAINT CLOUD        MN         56303                 6002                Various                                                                                             $4.41
LISA WATERS                    1940 SEQUOIA DR                                                   IDAHO FALLS        ID         83404                 6002                Various                                                                                             $2.19
LISA WATTS                     1853 SE MILLER AVE                                                DALLAS             OR         97338                 6004                Various                                                                                             $5.00
LISA WHITE (MAIL)              344 W MOYER ST                                                    RIDGECREST         CA         93555                 6002                Various                                                                                             $8.66
LISA WURTINGER                 349 SOUTH CENTRAL AVE        APT B                                MARSHFIELD         WI         54449                 6004                Various                                                                                             $1.00
LISBON CIVIC & COMMERCE        PO BOX 812                                                        LISBON             ND         58054                 2599                Various                                                                                           $425.00
LISET VALENCIA                 2407 JEFFERSON STREET                                             BELLEVUE           NE         68005                 6004                Various                                                                                             $4.00
LISONG CASTILLO                2929 N RICHMOND ST STE 2                                          APPLETON           WI         54911                 6002                Various                                                                                             $2.49

LISS/ KRISTI                   STORE 2-079                  SHOPKO EMPLOYEE                      GREEN BAY          WI         54307-9060             2653               Various                                                                                            $35.31
LISSA LIST                     2015 COUNTY ROAD YY                                               BALDWIN            WI         54002                  6002               Various                                                                                             $9.51
LISVET VILLANUEVA              W1194 FLAMINGO DRIVE                                              GENOA CITY         WI         53128                  6004               Various                                                                                            $29.00
LITA SAILER                    210 EAST EDGE WATER                                               CAMBRIA            WI         53923                  6004               Various                                                                                             $2.00
LITTLE FAT GRETCHENS           108 S MAIN ST                                                     WAUPACA            WI         54981                  5233               Various                                                                                          $360.00
LITTLE SHELL HOME FOR YOUTH    PO BOX 900                                                        BELCOURT           ND         58316                  6666               Various                                                                                          $356.98
LITTLE TOADER LLC              1670 N HERCULES AVE UNIT B                                        CLEARWATER         FL         33765                  0856               Various                                                                                         $2,699.81
LIVIA A ZAGORAC                PO BOX 187                                                        ALGOMA             WI         54201                  6002               Various                                                                                             $9.95
LIZ CAMPOSCHAIREZ              1075 GOEHL RD                                                     WATERLOO           WI         53594                  6004               Various                                                                                            $23.51
LIZ EARL                       2329 ESTHER ROSE LN                                               BILLINGS           MT         59106                  6002               Various                                                                                             $4.38
LIZ MOREY                      5252 MEREDITH ST                                                  LINCOLN            NE         68506                  6004               Various                                                                                            $40.00
LIZA FIGUEROA                  119 4TH AVE                                                       HOLDREGE           NE         68949                  6002               Various                                                                                             $7.10
LIZA FILTZ-FREIMARK            1677 NAVAJO ST               UNIT G                               GRAFTON            WI         53024                  6004               Various                                                                                            $25.00
LIZA STEVENSON                 2012 89TH STREET             APT 2                                KENOSHA            WI         53143                  6004               Various                                                                                            $20.00
LIZABETH ARANOW                111 RED CANYPON RD                                                LANDER             WY         82520                  6002               Various                                                                                             $2.52
LIZBETH MEDINA                 820 E STREET LOT 24                                               HOLDREGE           NE         68949                  6002               Various                                                                                             $9.62
LIZBETH PESERIK                410 ROBERT LN                                                     GREEN BAY          WI         54311                  6002               Various                                                                                             $1.18
LIZETH TREJO                   1400 RITSHER ST                                                   BELOIT             WI         53511                  6004               Various                                                                                            $34.50
LIZETTE DUTSON                 3771 ASH CIR                                                      SALT LAKE CITY     UT         84109                  6004               Various                                                                                            $10.00
LIZZIE PETERSON                APT 208                      1760 S DIRK DRIVE                    FREEPORT           IL         61032                  6002               Various                                                                                             $4.49
LIZZIE(CANIN SAWATZKE          16135 45TH ST NW                                                  ANNANDALE          MN         55302                  6002               Various                                                                                             $3.07
LLEWELLYN JONES                106 WHITTAKER                                                     MISSOULA           MT         59803                  6004               Various                                                                                            $13.44
LLEZENIAH LOPEZ                4601 ATTICUS WAY             APT. 106                             MADISON            WI         53711                  6004               Various                                                                                             $1.00
LLISON WILLIAMS                329 CTY RD A                                                      ALMOND             WI         54909                  6002               Various                                                                                             $7.64
LLOYD ANDERSON                 N7002 ZIEBELL RD                                                  JOHNSON CREEK      WI         53038                  6002               Various                                                                                             $2.66

LLOYD BROCK                    2910 RANGER ROAD                                                  WISCONSIN RAPIDS   WI         54494                  6004               Various                                                                                           $199.99
LLOYD COLEMAN                  5501 OTOE ST                                                      LINCOLN            NE         68506                  6002               Various                                                                                             $5.75
                                                            23731 STATE
LLOYD DISTRIBUTING CO INC      VICE PRESIDENT OF SALES      HIGHWAY 11                           KIRKSVILLE         MO         63501                  0014               Various                                                                                           $170.50
LLOYD FURER                    N799 WAUBUNSEE TRL                                                FORT ATKINSON      WI         53538                  6002               Various                                                                                             $0.36
LLOYD HOWE                     1503 MATTHEW STREET                                               MERRILL            WI         54452                  6004               Various                                                                                            $20.58
                                                            POWER OF
                                                            ATTORNEY DORTHY
LLOYD LARSCHEID                BISHOPS COURT                NEICE                                GREEN BAY          WI         54301                   6004              Various                                                                                               $21.60




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                                                                                                                                                     Account         Incurred, Basis for
              Creditor Name               Address1               Address2          Address3            City        State           Zip   Country     Number                Claim                                                                             Total Claim
LLOYD LEMKE                    N5345 CTY RD AI                                                 JUNEAU           WI         53039                 6004                Various                                                                                            $30.00
LLOYD LUCART                   17435 DEERHILL DR                                               SIOUX CITY       IA         51109                 6002                Various                                                                                             $1.56
LLOYD MON                      433 ROHRER STREET                                               ROUND LAKE       MN         56167                 6004                Various                                                                                            $18.00
LLOYD NELSON                   PO BOX 821                                                      DASSEL           MN         55325                 6002                Various                                                                                             $9.73
LLOYD SCHAUNAMAN               45961 SD HIGHWAY 10                                             SISSETON         SD         57262                 6002                Various                                                                                             $5.62
LLOYD TUTOR                    1 SUNFLOWER RD                                                  SALMON           ID         83467                 6002                Various                                                                                             $0.96
LLYCEL GUILLEN                 098 N CENTURY DRIVE                                             OGDEN            UT         84404                 6004                Various                                                                                            $24.00
LME                            PO BOX 88271                                                    CHICAGO          IL         60680                 6343                Various                                                                                         $1,464.30
LOACKER USA                    90 BROAD STREET STE 402 A                                       NEW YORK         NY         10004                 0616                Various                                                                                         $7,220.84
LOAN LAM                       1419 INDIANA AVE                                                SALT LAKE CITY   UT         84104                 6004                Various                                                                                            $20.00
                               4910 W AMELIA EARHART DRIVE
LOCAL PAGES OF UTAH LLC        SUITE 1                                                         SALT LAKE CITY   UT         84116                   7433              Various                                                                                         $1,213.48
LOCAL WASTE SERVICES           PO BOX 25                                                       DRYDEN           MI         48428                                     Various                                                                                          $400.00
                                                             204 EAST 5TH
LODGE MANUFACTURING            VICE PRESIDENT OF SALES       STREET                            SOUTH PITTSBURGH TN         37380                  4191               Various                                                                                       $149,552.99

LOESING/ SANDY                 STORE 4-042                   SHOPKO EMPLOYEE                   GREEN BAY        WI         54307                  8958               Various                                                                                            $21.40
LOGAN ANDERSON                 PO BOX 705                                                      HINCKLEY         MN         55037                  6002               Various                                                                                             $0.44
LOGAN ARENDTS                  5231 MUNGER SHAW ROAD                                           SAGINAW          MN         55779                  6004               Various                                                                                            $15.00
LOGAN BLOCK                    N58W25737 FOX HOLLOW DR.                                        SUSSEX           WI         53089                  6004               Various                                                                                            $30.00
LOGAN BOSAR                    317 DEPERE RD                                                   DENMARK          WI         54208                  6004               Various                                                                                             $5.02
LOGAN BRIDGES                  1809 PUGETT ST NE                                               OLYMPIA          WA         98506                  6004               Various                                                                                            $17.06
LOGAN D CUNNINGHAM             6295 N 4TH ST                                                   COEUR D ALENE    ID         83815                  6002               Various                                                                                             $3.45
LOGAN DEMCAK                   1518 W LINDBERGH ST                                             APPLETON         WI         54914                  6002               Various                                                                                             $1.73
LOGAN DEROSE                   8362 LAWRENCEVILLE RD                                           GARDEN PRAIRIE   IL         61038                  6002               Various                                                                                             $3.23
LOGAN DEWOLFE                  3979 N PARKER WAY                                               DE PERE          WI         54115                  6004               Various                                                                                             $2.00
LOGAN FIERO                    1301 15TH ST NE 103                                             SAUK RAPIDS      MN         56379                  6004               Various                                                                                          $122.38
LOGAN GAREIS                   256 S HENRY ST                                                  GREEN BAY        WI         54302                  6004               Various                                                                                             $1.20
LOGAN HUEBNER                  413 W 4TH ST                                                    SUMNER           IA         50674                  6002               Various                                                                                             $0.41
LOGAN IVERSON                  12659 LOHRE RD                                                  SISSETON         SD         57262                  6002               Various                                                                                             $5.62
LOGAN KINNARD                  2236 VERSERHEIM STREET                                          EAU CLAIRE       WI         54703                  6004               Various                                                                                             $9.95
LOGAN KOVACH                   903 MAPLE ST                                                    DONIPHAN         MO         63935                  6002               Various                                                                                             $8.44
LOGAN LARRICK                  P O BOX 14                                                      HARRIS           MN         55032                  6004               Various                                                                                             $3.00
LOGAN MELIUS                   870 SECURITY DR APT 203                                         FOND DU LAC      WI         54935                  6004               Various                                                                                            $23.00
LOGAN MENGE                    3405 E 11TH ST APT 28                                           SIOUX FALLS      SD         57103                  6002               Various                                                                                             $6.05
LOGAN MOREDOCK                 500 MILES DRIVE                                                 HAMMOND          WI         54015                  6004               Various                                                                                             $3.00
LOGAN MYERS                    3094 QUIET CANYON                                               BEND             OR         97701                  6004               Various                                                                                            $20.00
LOGAN PETERS                   706 E MAIN ST                                                   MURRAY           NE         68409                  6002               Various                                                                                             $5.45
LOGAN SCHULER                  757 S. VAN BUREN STREET                                         STOUGHTON        WI         53589                  6004               Various                                                                                            $35.00
LOGAN STEPHENS                 422 S 16TH ST                                                   ESCANABA         MI         49829                  6002               Various                                                                                            $10.00
LOGAN THOMAS                   16589 535TH ST                                                  WEST CONCORD     MN         55985                  6002               Various                                                                                             $3.04
LOGAN THOMPSON                 6690 MEADOWBROOK                                                ROSCOE           IL         61073                  6004               Various                                                                                             $3.90
LOGAN WEST                     3726 230TH AVE                                                  CLARKFIELD       MN         56223                  6004               Various                                                                                            $23.00
LOGHAN CARDINELL               113 N 2ND ST                                                    THERMOPOLIS      WY         82443                  6002               Various                                                                                             $3.45
LOGISTICAL SOLUTIONS LLC       PO BOX 12517                                                    OMAHA            NE         68112-0517             3304               Various                                                                                         $6,603.93

LOGUE/ PAULA                   STORE 2-687                   SHOPKO EMPLOYEE 202 SW KENT       GREENFIELD       IA         50849                  0953               Various                                                                                           $145.80
LOIS A. SCHMIDT                117 FAIRWAY ST                                                  COMBINED LOCKS   WI         54113                  6002               Various                                                                                             $6.33
LOIS BOKOSKIE                  817 JOHNSON AVE APT 13                                          OROFINO          ID         83544                  6002               Various                                                                                             $0.55
LOIS BROWN                     345 HONOVER ST H                                                PENTWATER        MI         49449                  6002               Various                                                                                             $3.42
LOIS CALLAHAN                  804 7TH AVE SE                                                  AUSTIN           MN         55912                  6004               Various                                                                                             $6.12
LOIS CRAWFORD                  806 E HWY # 10 PMB PO                                           SISSETON         SD         57262                  6002               Various                                                                                             $6.68
LOIS E JENSWOLD                1129 JONES ST                                                   WATERTOWN        WI         53094                  6002               Various                                                                                             $3.51
LOIS FLOOD                     3801 N WRIGHT RD APT 164                                        JANESVILLE       WI         53546                  6002               Various                                                                                             $4.05




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              Creditor Name                Address1              Address2           Address3             City         State           Zip   Country     Number                Claim                                                                             Total Claim
LOIS HERMAN                    925 N 40TH ST                                                     MANITOWOC         WI         54220                 6002                Various                                                                                                $7.15
LOIS HULL SIMANDIRAS           723 E GRANT STREET                                                ONEIL             NE         68310                 6002                Various                                                                                                $2.08
LOIS LARSEN                    1870 N LEO LN                                                     INKOM             ID         83245                 6002                Various                                                                                                $9.04
LOIS LARSON                    1400 E 18TH ST                                                    SIOUX FALLS       SD         57104                 6002                Various                                                                                                $0.52
LOIS LAUERMAN                  383 STATE ST                                                      MARINETTE         WI         54143                 6002                Various                                                                                                $0.27
LOIS LAWRENCE                  52 HORSETHIEF RD                                                  ROUNDUP           MT         59072                 6002                Various                                                                                                $0.85
LOIS LAWS                      2680 PEACH ST                                                     BRIGHAM CITY      UT         84302                 6002                Various                                                                                                $1.34
LOIS LEMKE                     87 BUCHOLZ PARK RD                                                CLINTONVILLE      WI         54929                 6002                Various                                                                                                $1.81
LOIS LIHS                      515 W CLIFTON AVE                                                 SIOUX CITY        IA         51104                 6002                Various                                                                                                $1.64
LOIS M. JOHNSON                315 E 700TH N                                                     SPANISH FORK      UT         84660                 6002                Various                                                                                               $10.00
LOIS MARANDER                  628 WEST LINCOLN AVE.                                             BELVIDERE         IL         61008                 6004                Various                                                                                               $46.40
LOIS MILLER                    2049 W HONEYSUCKLE AVE                                            HAYDEN            ID         83835                 6002                Various                                                                                               $15.56
LOIS NEWBERG                   27638 K -30                                                       HINTON            IA         51024                 6004                Various                                                                                               $12.86
LOIS OLEARY                    BOX 4566                                                          HELENA            MT         59604                 6002                Various                                                                                                $0.74
LOIS R KING                    1225 MASON ST APT 4                                               OSHKOSH           WI         54902                 6002                Various                                                                                                $0.30
LOIS SCHMOLL                   N6622 WREN RD                                                     BLACK CREEK       WI         54106                 6002                Various                                                                                                $0.47
LOIS SCHOMMER                  2414 RIVERSIDE DR                                                 KAUKAUNA          WI         54130                 6002                Various                                                                                                $6.19
LOIS SKOUG                     4880 OTTESON LANE 103                                             EAU CLAIRE        WI         54701                 6002                Various                                                                                                $2.35
LOIS STARY                     1310 VILLA PARK CIR APT 6                                         GREEN BAY         WI         54302                 6002                Various                                                                                                $0.63
LOIS VOLMER                    209 S 81ST AVE                                                    YAKIMA            WA         98908                 6002                Various                                                                                                $1.94
LOIS WATHERN                   207 N 4TH ST                                                      MARSHALL          MN         56258                 6002                Various                                                                                                $6.00
LOIS WELLINGTON                1555 MONTANA HWY 206                                              COLUMBIA FALLS    MT         59912                 6004                Various                                                                                                $4.21
LOIS WHITE                     1490 TIMBERLANE                                                   CAMARGO           IL         61919                 6002                Various                                                                                                $4.16
LOIS WOODTHORP                 907 PINTAIL LN                                                    WAUSAU            WI         54401                 6002                Various                                                                                                $9.26
LOIS ZACHEK                    425 N LINWOOD AVE APT 303                                         APPLETON          WI         54914                 6002                Various                                                                                               $10.00
LOKI MUELLER                   3517 LIBAL ST                                                     GREEN BAY         WI         54301                 6002                Various                                                                                                $4.68
LOLA DALTON                    PO BOX 930                                                        BIGFORK           MT         59911                 6002                Various                                                                                                $6.41
LOLA J GERARD                  PO BOX 57                                                         BARAGA            MI         49908                 6002                Various                                                                                                $9.75
LOLA MAE BACHMANN              10004 CTY HWY # 33                                                FRAZEE            MN         56544                 6002                Various                                                                                                $3.45
LOLA RUSSELL                   4562 HWY 26-85                                                    TORRINGTON        WY         82213                 6002                Various                                                                                                $1.66
LOLA SAILER                    210 EAST EDGE WATER                                               CAMBRIA           WI         53923                 6004                Various                                                                                                $2.00
                                                             1861 STARDUST
LOMADELL OLSON                 C/O MICHELLE OLSON            LANE                                WAUKESHA          WI         53186                  6002               Various                                                                                            $40.14
LON MARTIN                     450 LINCOLN COUNTY RD # 151                                       SMOOT             WY         83126                  6002               Various                                                                                             $9.18
LON RUDER                      1216 LANE 17                                                      WORLAND           WY         82401                  6002               Various                                                                                             $8.60
LON SAYERS                     1000 NORWOOD DR APT 103                                           LINCOLN           NE         68512                  6004               Various                                                                                             $7.99
LONA PAULSON                   109 7TH ST NE                 APT 204                             BYRON             MN         55920                  6004               Various                                                                                             $3.00
LONA VALLEY                    709 E CEDAR ST                                                    STANDISH          MI         48658                  6002               Various                                                                                             $6.74
LONDA MEIER                    276 ROCKY CLIFF DR                                                KALISPELL         MT         59901                  6002               Various                                                                                             $8.14
LONDON WEST                    1701 DEWEY AVE                                                    FALLS CITY        NE         68355                  6002               Various                                                                                             $2.96
LONETTA AVILES                 120 ANDERSON BLVD                                                 HELENA            MT         59601                  6002               Various                                                                                             $0.82
LONG FAMILY                    3309 US HIGHWAY 131 N                                             KALKASKA          MI         49646                  6002               Various                                                                                             $1.12
LONG VAN                       703 14TH AVE SW                                                   AUSTIN            MN         55912                  6004               Various                                                                                             $3.00
LONGLAT INC (C-HUB)            23 CAROL STREET                                                   CLIFTON           NJ         07014                  3344               Various                                                                                           $165.00
LONI JENKINS                   1386 W SIPHON                                                     POCATELLO         ID         83204                  6002               Various                                                                                             $7.84
LONI KOERNER                   403 SW HIGGINS APT. D                                             MISSOULA          MT         59803                  6004               Various                                                                                            $15.30
LONI LARSEN                    7178 S 3200TH W                                                   SPANISH FORK      UT         84660                  6002               Various                                                                                             $9.67
LONICE SEABOY                  PO BOX 184                                                        SISSETON          SD         57262                  6002               Various                                                                                             $5.81
LONNA BRITTENHAM               33410 S SNELL RD                                                  MOOREFIELD        NE         69039                  6002               Various                                                                                             $1.75
LONNA DODDS                    2540 HIGHLAND DR                                                  GOTHENBURG        NE         69138                  6002               Various                                                                                             $6.90
LONNA S. DEMOS                 10404 S WALKER RD                                                 BELOIT            WI         53511                  6002               Various                                                                                             $6.93
LONNIE COX                     PO BOX 114                                                        GRASS RANGE       MT         59032                  6002               Various                                                                                             $3.48
LONNIE KOEPKE                  43684 RYNO RD                                                     BROKEN BOW        NE         68822                  6002               Various                                                                                             $6.77
LONNIE PADGETT                 1055 LUKIN RD                                                     SAINT FRANCISVI   IL         62460                  6002               Various                                                                                             $6.79




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LONNY HENDERSON               1019 15TH ST N PRERELEASE                                     GREAT FALLS      MT         59401                 6002                Various                                                                                             $3.45
LONNY HORIHAN                 1918 18TH ST NW                                               ROCHESTER        MN         55901                 6002                Various                                                                                             $4.03
LONNY LAPIERRE                2226 CENTAL AVE W #19                                         GREAT FALLS      MT         59404                 6004                Various                                                                                            $10.02
LOOK BEAUTY INC               7 ST THOMAS ST SUITE 208                                      TORONTO          ON         M5S 2B7      CANADA 3681                  Various                                                                                         $8,605.43
LOOMIS INCORPORATED           DEPARTMENT CH 10500                                           PALATINE         IL         60055-0500            4418                Various                                                                                        $21,934.32

LOR/ MAI                      STORE 171                    SHOPKO EMPLOYEE                  GREEN BAY        WI         54307-9060              3920              Various                                                                                            $26.75
LORA ABERLE                   7721 CTY RD BB                                                DENMARK          WI         54208                   6002              Various                                                                                             $5.18
LORA BOHANNON                 455 N 200TH W                                                 SPANISH FORK     UT         79808                   6002              Various                                                                                             $0.38
LORA COX                      23630 LILAC AVE                                               JAMESON          MO         64647                   6002              Various                                                                                             $8.22
LORA DAVIS                    2001 W. SAGOLA AVENUE                                         KINGSFORD        MI         49802                   6004              Various                                                                                             $2.00
LORA GARNER                   40960 ROAD 764                                                GOTHENBURG       NE         69138                   6002              Various                                                                                             $1.37
LORA JOHNSON                  301 N 13TH ST                                                 PLATTSMOUTH      NE         68048                   6002              Various                                                                                             $4.63
LORA LEE                      540 CASS AVE                                                  KINGSFORD        MI         49802                   6002              Various                                                                                             $8.71
LORA NORTON                   41802 N OTTER CREEK LN.                                       ELK              WA         99009                   6004              Various                                                                                            $90.00
LORA SCHANZENBACH             12660 386TH AVE                                               ABERDEEN         SD         57401                   6002              Various                                                                                             $4.58
LORAINE HAWKINS               1122 N MAIN ST APT 5                                          ABERDEEN         SD         57401                   6002              Various                                                                                             $2.25
LORAINE LEONARD               95167 US HIGHWAY 89                                           AFTON            WY         83110                   6002              Various                                                                                             $7.15
LORALEE KAAT                  W5165 PILGRIM LN                                              ELKHART LAKE     WI         53020                   6002              Various                                                                                             $5.01
LORAN MARCEAU                 3338 N UNION RD                                               POLO             IL         61064                   6002              Various                                                                                             $6.05
LORANA TESSMER                17217 KETTLE RIVER BLVD NE                                    FOREST LAKE      MN         55025                   6004              Various                                                                                             $3.00
LORELEI MCGILL                1650 ALMO AVE                                                 BURLEY           ID         83318                   6002              Various                                                                                             $7.78
LORELEI WOZNIAK               1215 MCCABE ST APT 3                                          ROCK SPRINGS     WY         82901                   6002              Various                                                                                             $6.63
LOREN ANDERSON                12609 OLD CTY W                                               PRESQUE ISLE     WI         54557                   6004              Various                                                                                            $15.50
LOREN BLOSSOM                 905 LODESTAR RD                                               HELENA           MT         59602                   6002              Various                                                                                             $9.34
LOREN BOBOLZ                  7618 E MAPLE LN                                               JANESVILLE       WI         53546                   6002              Various                                                                                             $6.27
LOREN BRINKERHOFF             2135 S MAIN                                                   CLEARFIELD       UT         84015                   6004              Various                                                                                             $9.99
LOREN HELLAND                 417 E 11TH ST                                                 FAIRMONT         MN         56031                   6002              Various                                                                                             $3.45
LOREN ISAACSON                1248 17TH RD                                                  BARK RIVER       MI         49807                   6002              Various                                                                                             $7.53
LOREN LUCKETT                 RR 1 BOX 107                                                  ROODHOUSE        IL         62082                   6002              Various                                                                                             $1.42
LOREN N LEIBHAM               N64W24130 IVY AVE                                             SUSSEX           WI         53089                   6002              Various                                                                                             $7.37
LOREN NIEMELA                 38350 CTY HWY # 35                                            DENT             MN         56528                   6002              Various                                                                                             $2.38
LOREN RICKS                   333 EMMYS CYN                                                 SMOOT            WY         83126                   6002              Various                                                                                             $4.49
LORENA ESPINOZA               N7253 FOREST RD LOT 49                                        BEAVER DAM       WI         53916                   6002              Various                                                                                             $5.04
LORENA GASPER                 317 E HOOVER AVE                                              APPLETON         WI         54915                   6002              Various                                                                                             $3.75
LORENA GUTIERREZ              4633 W. MAPLE MEADOW DR                                       WEST VALLEY      UT         84120                   6004              Various                                                                                           $119.98
LORENA LOPEZ                  539 E SUMNER ST                                               HARTFORD         WI         53027                   6004              Various                                                                                             $3.00
LORENA MORALES CRUZ           1537 6TH AVE SE APT D                                         ROCHESTER        MN         55904                   6002              Various                                                                                             $4.71
LORENA OLIVARES               967 E 22ND ST                                                 OGDEN            UT         84401                   6002              Various                                                                                             $1.04
LORENA POWERS                 12827 HARTFORD AVE                                            OROFINO          ID         83544                   6002              Various                                                                                             $1.40
LORENA SPOJA                  2413 RIVER OAKS DR.                                           BILLINGS         MT         59105                   6004              Various                                                                                            $10.02
LORETTA GRYCH                 103 JEFFERSON STREET                                          BONDUEL          WI         54107                   6002              Various                                                                                             $4.48
LORETTA K ALCARAZ             1202 COVEWAY                                                  WORLAND          WY         82401                   6002              Various                                                                                             $5.67
LORETTA LEVANG                435 ROGERS RD                                                 COLUMBIA FALLS   MT         59912                   6002              Various                                                                                             $8.44
LORETTA MARI GARBER           33 BAYVIEW LN                                                 GLENDO           WY         82213                   6002              Various                                                                                             $3.29
LORETTA MARSHALL              42091 ROSEBERRY RD                                            DUNNING          NE         68833                   6002              Various                                                                                             $4.77
LORETTA MAZE                  5214-53RD STREET                                              KENOSHA          WI         53144                   6002              Various                                                                                             $9.26
LORETTA PRICE                 844 FREEMONT AVE.                                             MORRIS           IL         60450                   6004              Various                                                                                            $25.00
LORETTA SHAW                  26751 SAGE RD                                                 BUFFALO GAP      SD         57722                   6002              Various                                                                                             $3.32
LORETTE RUDNICK               917 E RIVERSIDE AVE                                           FERGUS FALLS     MN         56537                   6002              Various                                                                                             $0.93
LORI A MULLINS                820 SATURN AVE                                                IDAHO FALLS      ID         83402                   6002              Various                                                                                             $6.90
LORI A WHITE PHILLIPS         720 N 9TH AVE                                                 WAUSAU           WI         54401                   6002              Various                                                                                             $1.53
LORI ATKINS                   105 LANSING ST.                                               MADISON          WI         53714                   6004              Various                                                                                            $15.00
LORI B SYTEK                  8466 SHIRLEY CT                                               WINNECONNE       WI         54986                   6002              Various                                                                                             $2.60




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                                                                                                                                                                                                        Unliquidated
                                                                                                                                                                                           Contingent


                                                                                                                                                                                                                       Disputed
                                                                                                                                                  Last 4 Digits of     Date Debt was
                                                                                                                                                     Account         Incurred, Basis for
              Creditor Name                Address1            Address2           Address3              City       State           Zip   Country     Number                Claim                                                                             Total Claim
LORI BECK                      103 WESTERN SKY LANE                                            GRANGEVILLE      ID         83530                 6004                Various                                                                                             $3.00
LORI BERGMAN                   100 BRIX ST                                                     CLINTONVILLE     WI         54929                 6002                Various                                                                                             $9.70
LORI BRONK                     4630 137TH STREET                                               CHIPPEWA FALLS   WI         54729                 6004                Various                                                                                             $2.00
LORI BROWN                     908 S ASH                                                       MARSHFIELD       WI         54449                 6004                Various                                                                                             $3.00
LORI BURNS                     86520 HIGHWAY 15                                                LAUREL           NE         68745                 6002                Various                                                                                             $4.11
LORI BUTTERFIELD               PO BOX 92                                                       LELAND           IA         50453                 6002                Various                                                                                             $4.79
LORI C. KLOOSTER               PO BOX 152                                                      WORTHINGTON      MN         56187                 6002                Various                                                                                             $1.40
LORI CLARK                     P1755 S POLE RD                                                 BIRNAMWOOD       WI         54414                 6002                Various                                                                                             $8.68
LORI CRAMER                    1009 ADAMS PL                                                   KIMBERLY         WI         54136                 6002                Various                                                                                             $8.63
LORI CURI                      719 40TH STREET                                                 KENOSHA          WI         53140                 6004                Various                                                                                            $37.50
LORI DEWYAR                    1822 S TAGGART ST                                               BOISE            ID         83705                 6002                Various                                                                                             $0.49
LORI DORMER                    505 DAVID LANE                                                  EAGLE            NE         68347                 6004                Various                                                                                            $43.00
LORI DUJ                       944 MARQUETTE ST                                                MENASHA          WI         54952                 6004                Various                                                                                            $25.00
LORI ERICKSON                  PO BOX 984                                                      EAST HELENA      MT         59634                 6004                Various                                                                                            $15.00
LORI FIELDS                    1212 DOVE ST                                                    OSHKOSH          WI         54902                 6002                Various                                                                                             $7.32
LORI FISCHER                   1508 S MATTHIAS ST                                              APPLETON         WI         54915                 6002                Various                                                                                             $0.77
LORI FLANNERY                  10 9TH AVE SW #9                                                ABERDEEN         SD         57401                 6004                Various                                                                                            $19.00
LORI FRANK                     4060 WHITE PINE DR                                              GREEN BAY        WI         54313                 6004                Various                                                                                            $25.00
LORI GIESE                     353 POET ST                                                     COLUMBUS         WI         53925                 6002                Various                                                                                             $3.70
LORI GRAF                      313 N ACADEMY ST                                                JANESVILLE       WI         53548                 6004                Various                                                                                             $4.00
LORI HARRIS                    3692 110TH ST                                                   CHIPPEWA FALLS   WI         54729                 6002                Various                                                                                             $1.10
LORI HILL                      1205 WALNUT ST                                                  MARYSVILLE       KS         66508                 6002                Various                                                                                             $6.55
LORI HINTZ                     PO BOX 693                                                      LOLO             MT         59847                 6004                Various                                                                                           $188.99
LORI HUGHES DAVIDSON           406 S 3RD ST APT 10                                             OREGON           IL         61061                 6002                Various                                                                                             $0.96
LORI HUGUNIN                   426 VAUGHN ST                                                   RHINELANDER      WI         54501                 6002                Various                                                                                             $4.16
LORI J MILLS                   1343 S DAKOTA AVE                                               FRIENDSHIP       WI         53934                 6002                Various                                                                                             $9.62
LORI JEAN BOYD                 120 MINEAU AVE                                                  OCONTO           WI         54153                 6002                Various                                                                                             $1.18
LORI JENSEN                    5670 SUN PRAIRIE                                                RHINELANDER      WI         54501                 6004                Various                                                                                            $20.90
LORI KERIVAN                   424 17TH ST                                                     OGDEN            UT         84404                 6002                Various                                                                                             $5.84
LORI KING                      6484 SO. SILVER MEDAL DR.                                       WEST JORDAN      UT         84084                 6004                Various                                                                                            $25.00
LORI KISLING                   409 S 7TH ST                                                    CAMERON          WI         54822                 6002                Various                                                                                             $6.74
LORI KROLL                     PO BOX 6                                                        BELLMONT         IL         62811                 6002                Various                                                                                             $7.21
LORI KRUSE                     1115 ANDERSON RD                                                DULUTH           MN         55811                 6004                Various                                                                                             $1.22
LORI KUROWSKI                  776 VANGUARD WAY                                                GREEN BAY        WI         54313                 6002                Various                                                                                             $6.47
LORI L WYNN                    N4111 270TH ST                                                  MAIDEN ROCK      WI         54750                 6002                Various                                                                                             $4.25
LORI LEE WHITE                 1157 WOODLAND DR                                                MENASHA          WI         54952                 6002                Various                                                                                             $2.44
LORI LEICHTFUSS                4782 CTY RD N                                                   OSHKOSH          WI         54901                 6002                Various                                                                                            $10.27
LORI LINDSAY                   703 SUN AVE                                                     NORTON           KS         67654                 6002                Various                                                                                             $5.26
LORI LUETH                     602 MICHENOR                                                    WAKEFIELD        NE         68784                 6002                Various                                                                                             $4.49
LORI LUND                      2330 BA KWON DRIVE SE                                           OLYMPIA          WA         98513                 6004                Various                                                                                            $20.50
LORI MAROHL                    1306 DAYTONA LANE                                               LITTLE CHUTE     WI         54140                 6004                Various                                                                                             $5.02
LORI MASIN                     656 OAK STREET                                                  NEENAH           WI         54956                 6004                Various                                                                                            $25.00
LORI MATTHEWS                  5594 CROY LAKE RD NE                                            MANCELONA        MI         49659                 6002                Various                                                                                             $2.90
LORI MCELROY                   325 4TH STREET NW                                               WATERTOWN        SD         57201                 6004                Various                                                                                           $150.00
LORI MCGINLEY                  2461 OLD CAMDEN SQUARE      APT 301                             MADISON          WI         53718                 6004                Various                                                                                            $25.00
LORI MICKELSON                 2604 DAYBREAK CT SE                                             ROCHESTER        MN         55904                 6002                Various                                                                                             $0.93
LORI MILLER                    906 HARNEY AVE                                                  OSHKOSH          WI         54901                 6002                Various                                                                                             $3.89
LORI MITCHELL                  BOX 262                                                         INKOM            ID         83245                 6002                Various                                                                                             $0.60
LORI POSTER                    201 GARBER AVE                                                  LINCOLN          NE         68521                 6004                Various                                                                                             $2.00
LORI RANGEL                    7023 NOAH DR                                                    CALDWELL         ID         83607                 6002                Various                                                                                             $8.05
LORI ROBIN                     PO BOX 5690                                                     KALISPELL        MT         59903                 6002                Various                                                                                             $8.90
LORI SCHNEIDER                 2036 COUNTY ROAD H                                              EDGAR            WI         54426                 6004                Various                                                                                            $10.00
LORI SIDWELL                   PO BOX 132                                                      DESOTO           WI         54624                 6004                Various                                                                                             $2.00
LORI SKENDZEL                  13382 SEA GULL RD                                               HOT SPRINGS      SD         57747                 6002                Various                                                                                             $4.00




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                                                                                                                                                                                         Contingent


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                                                                                                                                                Last 4 Digits of     Date Debt was
                                                                                                                                                   Account         Incurred, Basis for
             Creditor Name               Address1                Address2        Address3             City       State           Zip   Country     Number                Claim                                                                             Total Claim
LORI STOFFEL                  18 FOUNTAIN CIR                                                 FOND DU LAC     WI         54935                 6002                Various                                                                                                $9.67
LORI STRAITT                  537 TERRACE AVE.                                                MARINETTE       WI         54143                 6004                Various                                                                                                $1.80
LORI STRAND                   P O BOX 511                                                     HUDSON          WI         54016                 6004                Various                                                                                               $37.00
LORI VAN AKEN                 1375 PONDEROSA RD                                               HELENA          MT         59602                 6002                Various                                                                                                $1.23
LORI VASFARET                 12930 CTY RD 3                                                  CLEAR LAKE      MN         55319                 6004                Various                                                                                               $19.36
LORI VOSS                     509 WILSON ST                                                   BASSETT         NE         68714                 6002                Various                                                                                               $10.00
                                                             1670 WESTERN
LORI WIEDENHOEFT              P.O. BOX 1927                  AVEUNUE                          GREEN BAY       WI         54303                  6004               Various                                                                                             $2.00
LORI WILHELM-KOPF             1607 EAST UPHAM                                                 MARSHFIELD      WI         54449                  6004               Various                                                                                            $74.98
LORI WILLIAMS                 PO BOX 94                                                       MURRAY          NE         68409                  6004               Various                                                                                            $54.00
LORI WILSON                   936 W. 11TH AVE                                                 OSHKOSH         WI         54902                  6004               Various                                                                                            $27.00
LORI ZIMMERSCHEID             2391 UPPER RIVER RD                                             ARVADA          WY         82831                  6002               Various                                                                                             $0.88
LORIANN ZOCH                  1102 WISCONSIN AVE                                              FOND DU LAC     WI         54937                  6002               Various                                                                                             $8.88
LORIE A MCDOWELL              13642 LEWIS RD                                                  NEWELL          SD         57760                  6002               Various                                                                                             $3.33
LORIE ANDERSON                2038 SUNSET LN                                                  LA CROSSE       WI         54601                  6002               Various                                                                                             $4.22
LORIE HOEH                    W6132 CTY HWY W                                                 WAUTOMA         WI         54982                  6002               Various                                                                                             $1.07
LORIE LAPORTA                 928 1/2 EAST SANBORN                                            WINONA          MN         55987                  6004               Various                                                                                             $3.00
LORIE WIESE                   9555 MORGAN MARSH RD                                            OCONTO FALLS    WI         54154                  6004               Various                                                                                             $8.95
LORILEI STOLTZ                2832 TRICIA CT                                                  CUSTER          WI         54423                  6004               Various                                                                                            $10.00
LORILEY EGGER                 14390 210TH ST                                                  HUTCHINSON      MN         55350                  6002               Various                                                                                             $8.30
LORIN J BYRD                  6 JACK FARM RD                                                  TOWNSEND        MT         59644                  6002               Various                                                                                             $9.95
LORIN KRAMSCHUSTER            17782 ST HWY 64                                                 BLOOMER         WI         54724                  6004               Various                                                                                             $2.47
LORINDA L STENSRUD            20065 310TH AVE                                                 ISLE            MN         56342                  6002               Various                                                                                             $7.70
LORISSA HARRIS                2701 1/2 US HWY 312                                             BILLINGS        MT         59105                  6004               Various                                                                                             $5.00
LORITA GOES AHEAD             15825 PRYOR ROAD                                                BILLINGS        MT         59101                  6004               Various                                                                                             $2.00
LORNA KAY KRAAYENBRINK        3261 LARCH AVE                                                  SHELDON         IA         51201                  6002               Various                                                                                             $8.60
LORNA LARSON                  2050 161ST AVE                                                  CLEAR LAKE      MN         55319                  6002               Various                                                                                             $0.36
LORNA NEWMAN                  2302-26TH STREET                                                KENOSHA         WI         53140                  6002               Various                                                                                             $4.44
LORNE DERAAD                  801 1/2 AVENUE                                                  KASSON          MN         55944                  6002               Various                                                                                             $3.29
LORNE TWOREK                  2009 CLEVELAND ST                                               EAU CLAIRE      WI         54703                  6002               Various                                                                                             $2.41
LORRAINE A BRADBURY           5095 424TH ST                                                   HARRIS          MN         55032                  6002               Various                                                                                             $2.66
LORRAINE FRANK                236 LAZY ACRE ROAD                                              WAUSAU          WI         54401                  6004               Various                                                                                            $20.00
LORRAINE FRYETTE              3518 GOLD DUST DRIVE                                            HELENA          MT         59602                  6002               Various                                                                                             $2.08
LORRAINE GOSS                 429 ROSENDALE ST                                                BEAVER DAM      WI         53916                  6002               Various                                                                                             $7.53
LORRAINE HARDTKE              2661 TOWERVIEW DR                                               NEENAH          WI         54956                  6002               Various                                                                                             $3.07
LORRAINE HAVERMAN             7800 RINGNECK DRIVE                                             LINCOLN         NE         68506                  6004               Various                                                                                             $7.74
LORRAINE JANSKY               2115 CAPPAERT ROAD                                              MANITOWOC       WI         54220                  6002               Various                                                                                            $20.62
LORRAINE LASECKI              104 FERN DR                                                     ROSENDALE       WI         54974                  6004               Various                                                                                            $15.00
LORRAINE LAUBE                1004 N IRENE AVE APT 3 CARD                                     MARSHFIELD      WI         54449                  6002               Various                                                                                             $6.82
LORRAINE MILLOY               1071 215TH ST                                                   ROCKFORD        IA         50468                  6004               Various                                                                                            $13.90
LORRAINE NELSEN               1402 GRAHAM ST                                                  WAUSAU          WI         54401                  6002               Various                                                                                             $0.77
LORRAINE REIM                 1440 ACADEMY                                                    ALBERT LEA      MN         56007                  6004               Various                                                                                           $125.00
LORRAINE SCHMIDT              315A MENOMINEE ST                                               TOMAHAWK        WI         54487                  6002               Various                                                                                             $0.79
LORRAINE STEELE               262 FRIESIAN CIRN                                               THAYNE          WY         83127                  6002               Various                                                                                             $5.29
LORRENE WILSON                450 RONDA RD                                                    HELENA          MT         59602                  6002               Various                                                                                             $9.84
LORRI ANEY                    830 BAXTER WOOD LN                                              JANESEVILLE     WI         53546                  6002               Various                                                                                             $8.05
LORRIE BOCHNIAK               1470 BEAR ST                                                    OGILVIE         MN         56358                  6002               Various                                                                                             $9.40
LORRIE CLARKE                 609 8TH ST NE                                                   WATERTOWN       SD         57201                  6002               Various                                                                                             $7.86

LORRIE GABBITAS               12683 S LEGACY SPRINGS DR AP                                    HERRIMAN        UT         84096                  6002               Various                                                                                                $8.66
LORRIE LOOBEY                 12907 BIGHORN RD                                                WHITEWOOD       SD         57793                  6002               Various                                                                                                $8.60
LORY GONZALEX                 510 N HIGGINS ST                                                MACKSVILLE      KS         67557                  6002               Various                                                                                               $12.61
LORY GONZALEZ                 510 N HIGGINS AVE                                               MACKSVILLE      KS         67557                  6002               Various                                                                                               $11.21
LORYANNE RANGEL MONTENEGRO    711 NINA ST                                                     ISANTI          MN         55040                  6004               Various                                                                                                $5.00




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                                                                                                                                                      Last 4 Digits of     Date Debt was
                                                                                                                                                         Account         Incurred, Basis for
              Creditor Name                  Address1               Address2        Address3              City         State           Zip   Country     Number                Claim                                                                             Total Claim
LOS ANGELES GEM & JEWELRY        659 S BROADWAY 7TH FLOOR                                        LOS ANGELES        CA         90014                 6354                Various                                                                                         $15,226.61
LOTHAR KOST                      622 W PALMER CIRCLE                                             ABERDEEN           SD         57401                 6004                Various                                                                                             $14.64
LOTILDA SANKEY                   1114DIAGONAL ROAD                                               WORTHINGTON        MN         56187                 6002                Various                                                                                             $23.08
LOTOR KIBLER                     728 N4TH STREET                                                 SHEBOYGAN          WI         53081                 6004                Various                                                                                              $1.00
LOTVEDT CONSTRUCTION & LUMBER    402 S E 9TH STREET                                              RUGBY              ND         58368                 6599                Various                                                                                             $55.00
LOU (LOUISE) SLOSSON             8021 TROPP RIDGE DR                                             LINCOLN            NE         68512                 6002                Various                                                                                              $8.55
LOU ANN CHARTIER                 1722 MITCHELL AVENUE                                            EAU CLAIRE         WI         54701                 6002                Various                                                                                              $4.18
LOU ANN MEYER                    2823 SO 165 AVENUE                                              OMAHA              NE         68130                 6004                Various                                                                                             $37.98
LOU ANN WOJTA                    130 BADGER LN APT 226                                           GREEN BAY          WI         54303                 6002                Various                                                                                              $3.42
LOU DILLEY                       866 S 33RD ST                                                   LINCOLN            NE         68510                 6004                Various                                                                                            $124.99
LOU J. PETSKA                    1309 SHERIDAN PL                                                GRAND ISLAND       NE         68803                 6002                Various                                                                                              $0.96
LOUANN COBB                      711 S GRAND AVE                                                 LYONS              KS         67554                 6002                Various                                                                                              $8.85
LOUIS BARONE                     13106 EDNA                                                      OMAHA              NE         68138                 6004                Various                                                                                             $10.00
LOUIS C BERGERON                 210 5TH ST N                                                    WISCONSIN RAPID    WI         54494                 6002                Various                                                                                              $0.93
LOUIS K KRUGGEL                  12031 210TH ST                                                  ROCKWELL           IA         50469                 6002                Various                                                                                              $7.07
LOUIS KNUDSON                    2733 ONALASKA AVE                                               LA CROSSE          WI         54603                 6002                Various                                                                                              $6.19
LOUIS KOHLS                      1027 E ST GERMAIN ST APT 114                                    SAINT CLOUD        MN         56304                 6002                Various                                                                                              $3.32
LOUIS MAUTHE                     3141 N BALLARD RD                                               APPLETON           WI         54911                 6002                Various                                                                                              $9.07
LOUIS PALMER                     14449 HASCALL ST                                                OMAHA              NE         68144                 6002                Various                                                                                              $3.40
LOUIS PARKER                     611 7TH ST PO BOX # 712                                         FAIRVIEW           MT         59221                 6002                Various                                                                                              $2.90
LOUIS POLK                       BOX 28                                                          SUNBURST           MT         59482                 6002                Various                                                                                              $2.90
LOUIS RACICKY                    3035 N ST.                                                      LINCOLN            NE         68510                 6004                Various                                                                                             $13.11
LOUIS REED                       521 SPRUCE STREET                                               MADISON            WI         53715                 6004                Various                                                                                              $5.95
LOUIS STAN                       502 MORNINGSIDE ST                                              ELKHORN            WI         53121                 6002                Various                                                                                              $8.93
LOUIS TEBO                       1021 DOTY ST                                                    GREEN BAY          WI         54301                 6002                Various                                                                                              $5.21
LOUIS TOMASSI JR                 2600 WINDFIELD                                                  BELVIDERE          IL         61008                 6004                Various                                                                                             $10.00
LOUISE ARNOLD                    2639 W 3520TH S                                                 WEST HAVEN         UT         84401                 6002                Various                                                                                              $6.38
LOUISE BRUNO                     502 STH 35TH                                                    BILLINGS           MT         59101                 6004                Various                                                                                              $2.00
LOUISE GRANT                     PO BOX 2266                                                     OROFINO            ID         83544                 6002                Various                                                                                              $0.60
LOUISE HANDY                     302 E WOLCOTT ST                                                JACKSONVILLE       IL         62650                 6002                Various                                                                                              $8.33

LOUISE HANSEN                    2610 BOLES CIRCLE                                               WISCONSIN RAPIDS   WI         54495                  6004               Various                                                                                            $20.96
LOUISE HILLMER                   W 2670 EMBER                                                    MONTELLO           WI         53949                  6004               Various                                                                                            $10.00
LOUISE PERREAULT                 4043 CAMP BRYN AFON RD                                          RHINELANDER        WI         54501                  6004               Various                                                                                             $2.00
LOUISE QUINN                     127 NOBLE AV                                                    RICE LAKE          WI         54868                  6004               Various                                                                                             $5.02
LOUISE SCHWARTZ                  373 MINZ PARK CIR APT 1                                         WEST BEND          WI         53095                  6002               Various                                                                                             $6.68
LOUISE STAALAND                  845 CAREY AVE                                                   WILD ROSE          WI         54984                  6004               Various                                                                                            $25.00
LOURDES GONZALEZ                 2814 BROOKS ST                                                  MISSOULA           MT         59801                  6002               Various                                                                                             $4.47
LOURDES V JIMENEZ                111 S MAPLE AVE                                                 NEW HAMPTON        IA         50659                  6002               Various                                                                                             $9.67
LOURICA DAVIS                    2762 VIKING DRIVE APT 2D                                        GREEN BAY          WI         54304                  6004               Various                                                                                            $21.25
LOURIE KULCZAR                   1276 WALKER ROAD                                                VIOLA              ID         83872                  6004               Various                                                                                            $15.00
LOUSHAUN FELTON                  720 W 5TH ST                                                    APPLETON           WI         54914                  6004               Various                                                                                             $1.00

LOVDAHL/ GEOFFREY                STORE 2-145                    SHOPKO EMPLOYEE                  GREEN BAY          WI         54307-9060             4417               Various                                                                                          $148.42
LOVINA E SWARTZENTRUBER          W4484 26TH RD                                                   LOYAL              WI         54446                  6002               Various                                                                                             $0.41
LOWELL BOHNET                    1510 E. CAPITAL                                                 PIERRE             SD         57501                  6004               Various                                                                                            $10.00
LOWELL GRAHAM                    1625 CODE AVENUE                                                CRETE              NE         68333                  6002               Various                                                                                            $14.03
LOWELL HAUFE                     E6212 HERZBERG RD                                               MARION             WI         54950                  6002               Various                                                                                             $7.95
LOWELL WAGLEY                    904 EDWARD DR                                                   SIOUX FALLS        SD         57103                  6004               Various                                                                                             $4.00
LOY JONES                        609 N MAIN ST                                                   WINCHESTER         IL         62694                  6002               Various                                                                                             $8.36
LOYCE ROBERTS                    106648 HIGHWAY 89                                               ETNA               WY         83118                  6002               Various                                                                                             $7.92
LOYMA VEGA                       301 N 2ND ST                                                    ABBOTSFORD         WI         54405                  6004               Various                                                                                            $39.37
LOZIER CORPORATION               N69 W6833 BRIDGE ROAD 2                                         CEDARBURG          WI         53012-0000             2302               Various                                                                                         $3,598.90
LP SOFTWARE INCORPORATED         7000 W 111TH STREET 305                                         WORTH              IL         60482                  6213               Various                                                                                          $647.50




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                                                                                                                                                      Account         Incurred, Basis for
              Creditor Name                Address1              Address2          Address3             City        State           Zip   Country     Number                Claim                                                                             Total Claim
LUAN PETERSON                  1324 W 9TH AVE                                                   OSHKOSH          WI         54902                 6002                Various                                                                                             $9.92
LUANN FUNK                     514 2ND AVE                                                      SIBLEY           IA         51249                 6002                Various                                                                                             $6.22
LUANN KINDERMAN                725 W 19TH AVE                                                   OSHKOSH          WI         54902                 6002                Various                                                                                             $3.29
LUANN LAUERSDORF               1428 OCNONOMOWOC AVE.                                            WATERTOWN        WI         53094                 6004                Various                                                                                            $28.23
LUANN LEWIS                    1401 W EDITH ST                                                  SARGENT          NE         68874                 6002                Various                                                                                             $6.38
LUANN OSKEY                    610 N CLARK ST                                                   BLACK CREEK      WI         54106                 6002                Various                                                                                             $8.79
LUANNE CRUPI                   146 MIDWAY DR                                                    NEGAUNEE         MI         49866                 6002                Various                                                                                             $3.75
LUCAS BRADLE BENKE             PO BOX 24 PMB 106                                                BADGER           MN         56714                 6002                Various                                                                                             $5.40
LUCAS CAMPBELL                 4101 DICEGLIE CT                                                 SAGINAW          MI         48604                 6002                Various                                                                                             $2.08
LUCAS CAWLEY                   1162 N 575 W                                                     CENTERVILLE      UT         84014                 6004                Various                                                                                             $2.00
LUCAS CHAMPOUX                 6501 W. OLD CHENEY RD                                            DENTON           NE         68339                 6004                Various                                                                                             $7.96
LUCAS ELKINS                   412 W 16TH ST APT 6                                              SIOUX FALLS      SD         57104                 6002                Various                                                                                             $3.37
LUCAS FAMILY                   426 CESTNUT                                                      DOWAGIAC         MI         49047                 6002                Various                                                                                             $2.33
LUCAS FLITTER                  56976 JUNEAU RD                                                  MANKATO          MN         56001                 6004                Various                                                                                             $3.00
LUCAS GLENN SMITH              8311 KARL RIDGE RD APT 212                                       LINCOLN          NE         68506                 6002                Various                                                                                             $4.79
LUCAS GONZALEZ                 3084 S. EL CAJON DR                                              SALT LAKE CITY   UT         84119                 6004                Various                                                                                            $35.00
LUCAS HURZELER                 1509 26TH AVE                                                    MENOMINEE        MI         49858                 6004                Various                                                                                             $2.00
LUCAS LYTIE                    818 GIESE ST                                                     HORTONVILLE      WI         54944                 6004                Various                                                                                            $15.00
LUCAS MCHAFFIE                 3000 UPPER FORDS CREEK RD                                        OROFINO          ID         83544                 6002                Various                                                                                             $4.85
LUCAS MILLER                   227 SKYLINE DRIVE            P.O. BOX 154                        FRANCIS CREEK    WI         54214                 6004                Various                                                                                            $10.00
LUCAS NASH                     3222 EL DORADO BLVD.         APT. 8                              EAU CLAIRE       WI         54701                 6004                Various                                                                                             $1.00
LUCAS OLIVER                   S11605 PAULUS RD                                                 SPRING GREEN     WI         53588                 6004                Various                                                                                            $16.00
LUCAS RUKAVINA                 1263 COUNTRY DR                                                  WINONA           MN         55987                 6002                Various                                                                                             $1.37
LUCAS STREETER                 421 MAMIE                                                        SUTHERLAND       NE         69165                 6002                Various                                                                                             $2.68
LUCAS STROUTH                  PO BOX 66                                                        ASHTON           IA         51232                 6002                Various                                                                                             $0.60
LUCAS STUIBER                  952 LINCOLN BOULEVARD                                            MANITOWOC        WI         54220                 6004                Various                                                                                             $1.00
LUCAS WERNER                   417 S WORKMAN ST                                                 LYONS            KS         67554                 6002                Various                                                                                             $3.95
LUCIA BETANCOURT               3707 6TH PL SW                                                   AUSTIN           MN         55912                 6004                Various                                                                                             $3.00
LUCIA CRUZ                     9 SUMMIT PARK                                                    SAINT PETER      MN         56082                 6002                Various                                                                                             $8.49
LUCIA ESPINOZA                 115 ST JOSPEH AVE                                                ARCADIA          WI         54612                 6002                Various                                                                                             $6.79
LUCIA GONZALEZ                 1239 6TH. ST.                                                    BELOIT           WI         53511                 6004                Various                                                                                             $3.00
LUCIA MAROLF                   3209 N 41ST ST APT 14                                            LINCOLN          NE         68504                 6002                Various                                                                                             $0.85
LUCIA RAMIREZ                  411 5TH ST PO BOX # 458                                          WAKEFIELD        NE         68784                 6002                Various                                                                                             $5.67
LUCIANA TORRESPICO             1204 NORTH 3RD AVENUE                                            IRON RIVER       MI         49935                 6004                Various                                                                                            $35.20
LUCIANO KING                   801 11TH AVE                                                     GREEN BAY        WI         54304                 6004                Various                                                                                             $3.00
LUCILE HINKFEUSS               1537 LYON DR APT 6                                               NEENAH           WI         54956                 6004                Various                                                                                            $25.02
LUCILLE FAUTLEY                516 CHIPPEWA AVE                                                 MANISTIQUE       MI         49854                 6002                Various                                                                                             $6.74
LUCILLE NELSON                 931 N MAIN ST                                                    WEST POINT       NE         68788                 6002                Various                                                                                             $2.47
LUCILLE SWALVE                 28493 HERON AVE                                                  HINTON           IA         51024                 6002                Various                                                                                             $7.56
LUCINA RIVERA                  906 STATE ST                                                     TAMA             IA         52339                 6002                Various                                                                                             $5.56
LUCINDA DAVIS                  409 SOUTH HIGH POINT ROAD    APT 104                             MADISON          WI         53719                 6004                Various                                                                                            $30.00
LUCINDA HUGGINS                6711 LAUREL AVE                                                  OMAHA            NE         68104                 6004                Various                                                                                            $23.00
LUCINDA WIPF                   8054 OLD E RD                                                    OMRO             WI         54963                 6004                Various                                                                                            $10.00
LUCITA TAYLOR                  13417 HASCALL STREET                                             OMAHA            NE         68144                 6004                Various                                                                                             $3.02
LUCKUS RILEY                   1124 CENTRAL AVE                                                 BELOIT           WI         53511                 6004                Various                                                                                            $39.99
LUCKY 13 LLC                   2679 FAHEY GLEN                                                  FITCHBURG        WI         53711                 2760                Various                                                                                        $13,687.51
LUCRETIA GOETZ                 15010 340TH AVE.                                                 ONAKA            SD         57466                 6004                Various                                                                                             $2.08
LUCY ANDERSON                  331 WEST FRONTAGE RD                                             ROCHESTER        MN         55901                 6004                Various                                                                                             $3.00
LUCY COFFMAN                   W5142 US HIGHWAY 63                                              SPRING VALLEY    WI         54767                 6002                Various                                                                                             $4.41
LUCY INGLE                     W2532 RAINE RD                                                   SEYMOUR          WI         54165                 6002                Various                                                                                             $1.04
                               3771 WILLOW HEIGHTS DRIVE
LUCY JOHNSTON                  SW                                                               ROCHESTER        MN         55901                  6004               Various                                                                                               $3.00
LUCY MCDONALD                  2024 WILSHIRE DR NE                                              ROCHESTER        MN         55906                  6002               Various                                                                                               $3.95
LUCY MCSPADDEN                 294 E 23RD ST                                                    IDAHO FALLS      ID         83404                  6002               Various                                                                                               $9.21




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LUCY SARASIN                   UPDATE                                                             UPDATE           MI         12345                 6002                Various                                                                                             $9.78
LUDERMAN FAMILY                1138 S PINE ST                                                     ISHPEMING        MI         49849                 6002                Various                                                                                             $9.23
LUDIA YUYADA                   1444 S. 20TH STREET                                                LINCOLN          NE         68502                 6004                Various                                                                                            $43.00
LUEBKE FAMILY                  654 PORTAGE ST                                                     STEVENS POINT    WI         54481                 6002                Various                                                                                             $2.22
LUELLA PREHN                   77 CENTRAL AVE N                                                   LESTER PRAIRIE   MN         55354                 6004                Various                                                                                           $126.88
LUELLA WEST                    BOX 255                                                            LANGFORD         SD         57454                 6004                Various                                                                                            $23.68
LUETTA SCHLOSSER               W1322 710TH AV.E                                                   SPRING VALLEY    WI         54767                 6004                Various                                                                                             $7.62
LUGERINI SOTO                  4621 W. SALEM CT                                                   KEARNS           UT         84118                 6004                Various                                                                                             $2.98
LUIS AGUILAR                   517 STAR ST                                                        BELVIDERE        IL         61008                 6004                Various                                                                                             $3.90
LUIS AMAYA MENDOZA             508 2ND AVE NE                                                     PIPESTONE        MN         56164                 6002                Various                                                                                             $1.56
LUIS CASILLAS GARCIA           10619 N COUNTY LINE RD                                             SUN PRAIRIE      WI         53590                 6004                Various                                                                                            $40.00
LUIS CORONA                    617 N. 7TH AVE.                                                    WALLA WALLA      WA         99362                 6004                Various                                                                                            $30.00
LUIS COTA                      196 W MEADOWVIEW DR                                                OGDEN            UT         84404                 6002                Various                                                                                             $2.38
LUIS DELEON                    1203 ELM ST                                                        ANDREWS          TX         79714                 6002                Various                                                                                             $5.75
LUIS DIAZ                      508 LAMPLIGHTER LOOP                                               POPLAR GROVE     IL         61065                 6004                Various                                                                                            $29.00
LUIS DIAZ CRESPO               1103 9TH ST                                                        STURGIS          SD         57785                 6002                Various                                                                                             $3.04
LUIS E NOVA CRUZ               10480 445TH AVE                                                    VEBLEN           SD         57270                 6002                Various                                                                                             $5.37
LUIS EDUARDO GABRIEL REYES     13033 GROVE SIDE                                                   COLBY            WI         54421                 6002                Various                                                                                             $9.89
LUIS FERNANDEZ                 648 KERSHAW ST                                                     OGDEN            UT         84403                 6002                Various                                                                                             $7.10
LUIS GALLEGOS                  2421 ARBOR STREET                                                  OMAHA            NE         68105                 6004                Various                                                                                            $25.00
LUIS GARCIA                    1155 JOHNSON ST                                                    IDAHO FALLS      ID         83401                 6004                Various                                                                                             $3.65
LUIS HERNANDEZ                 2630 SPRING CREED RD           TRLR 24                             BELVIDERE        IL         61008                 6004                Various                                                                                             $3.90
LUIS LARES                     215 HIGH LINE ST               APT 8                               BELVIDERE        IL         61008                 6004                Various                                                                                             $3.90
LUIS MORALES                   119 E ST GERMAIN ST            APT 8                               SAINT CLOUD      MN         56304                 6004                Various                                                                                             $3.00
LUIS QUINTERO                  5235 SO CHARLOTTE AVE                                              SALT LAKE CITY   UT         84118                 6004                Various                                                                                            $36.00
LUIS ROJAS                     W1789 CTY RD CW                                                    WATERTOWN        WI         53094                 6002                Various                                                                                             $9.59
LUIS ROMERO                    6602 LAKE ST                                                       OMAHA            NE         68104                 6004                Various                                                                                            $43.00
LUIS SALINAS                   1233 JACKSON ST                APT 101                             STOUGHTON        WI         53589                 6004                Various                                                                                             $7.86
LUIS SANCHEZ                   704 MISSOURI AVE APT 4                                             ALLIANCE         NE         69301                 6002                Various                                                                                             $4.33
LUIS SOROA                     603 JOHNSON AVENUE - #2                                            CLINTON          WI         53525                 6004                Various                                                                                             $4.00
LUIS TAPIAALCAZAR              1018 MORAINE WAY                                                   GREEN BAY        WI         54303                 6002                Various                                                                                             $6.74
LUIS TORRES                    1538 N SPRING AVE TR #4                                            WORTHINGTON      MN         56187                 6004                Various                                                                                            $16.00
LUIS VALENZUELA                502 G AVE                                                          GRANGER          WA         98932                 6004                Various                                                                                            $22.99
LUISA BLEWETT                  6106 W CHICKADEE PLACE                                             SIOUX FALLS      SD         57107                 6004                Various                                                                                            $48.00
LUISA GUTIERREZ                833 BOND ST                                                        GREEN BAY        WI         54303                 6002                Various                                                                                             $4.44
LUIZA CAROLI                   510 23RD AVE. NW                                                   AUSTIN           MN         55912                 6004                Various                                                                                             $3.00
LUKAS BUTEYN                   101 CIRCLE DRIVE                                                   RANDOLPH         WI         53956                 6004                Various                                                                                            $20.00
LUKE CHODUR                    1000 S ILLINOIS AVE                                                MASON CITY       IA         50401                 6002                Various                                                                                             $4.44
LUKE HARDINGER                 8401 FOX LANE                                                      MARSHFIELD       WI         54449                 6004                Various                                                                                            $36.00
LUKE HILGART                   761 MILLER DRIVE                                                   MOSINEE          WI         54455                 6004                Various                                                                                           $177.94
LUKE HINES                     633 ROCK DR.                                                       KALISPELL        MT         59901                 6004                Various                                                                                            $20.00
LUKE J PETERSON                2416 E RIDGE TER                                                   GREEN BAY        WI         54311                 6002                Various                                                                                             $7.56
LUKE JELLUM                    105 OSPREY PATH                                                    MANKATO          MN         56001                 6002                Various                                                                                             $3.70
LUKE JOSWICK                   168 MORNINGSIDE ORCHARD                                            OCONOMOWOC       WI         53066                 6004                Various                                                                                            $59.26
LUKE KUNDE                     1018 VAN BUREN AVE.                                                OSHKOSH          WI         54902                 6004                Various                                                                                             $4.73
LUKE LENZ                      601 S 16TH STREET              APT 708                             OMAHA            NE         68102                 6004                Various                                                                                            $15.02
LUKE LINGLE                    1805 GARRISON ST                                                   HELENA           MT         59601                 6002                Various                                                                                             $4.63
LUKE MEYER                     W217 PLATTES VALLEY RD                                             FOUNTAIN CITY    WI         54629                 6002                Various                                                                                             $4.36
LUKE MROCZYNSKI                3088 MERCEDES DR                                                   GREEN BAY        WI         54313                 6004                Various                                                                                             $2.50
LUKE MULLIKIN                  625 S 800TH W                                                      BRIGHAM CITY     UT         84302                 6002                Various                                                                                             $4.63
LUKE PETTINGILL                1527 7TH AVENUE                                                    LEWISTON         ID         83501                 6004                Various                                                                                            $20.00
LUKE SPRANGERS                 6645 GREENRIDGE DR                                                 RACINE           WI         53406                 6004                Various                                                                                            $21.00

LUL HASSAN MOHAMED             2329 CHALET GARDENS RD # 207                                       MADISON          WI         53711                   6004              Various                                                                                               $2.00




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            Creditor Name                Address1            Address2        Address3             City           State           Zip    Country     Number                Claim                                                                             Total Claim
LUL MOHAMED                  2335 CHALET GARDEN RD      APT 7                             MADISON             WI         53711                  6004                Various                                                                                             $1.00
LUMINITA SARMAN              544 ROLFS CT                                                 EAST WENATCHEE      WA         98802                  6004                Various                                                                                            $22.05
LUMISOURCE LLC               2950 OLD HIGGINS ROAD                                        ELK GROVE VILLAGE   IL         60007                  7329                Various                                                                                        $45,491.88
LUNA ARELLANO                522 1/2 S STATE ST                                           BELVIDERE           IL         61008                  6004                Various                                                                                             $3.90
                             THE LUND COMPANY TRUST FOR 450 REGENCY PKWY
LUND 144 CENTER LLC          SHOPKO                     STE 200                           OMAHA               NE         68114                   2166               Various                                                                                        $34,880.08
LUND-BLUMBERG FAMILY         1312 10TH ST S                                               VIRGINIA            MN         55792                   6002               Various                                                                                             $9.67
LUNDYN IZATT                 HC 60 BOX 950                                                FREEDOM             WY         83120                   6002               Various                                                                                             $5.78
LUPE DELGADO                 2101 AVE O APT 214                                           COZAD               NE         69130                   6002               Various                                                                                             $1.51
LUPE MONTOYA                 5 SURFWOOD                                                   RAPID CITY          SD         57701                   6004               Various                                                                                            $20.00
LUPE ROSILLO                 BOX 584                                                      WINNEBAGO           MN         56098                   6002               Various                                                                                            $10.00
LUPITA LASCANO               315 E PINE ST                                                RAWLINS             WY         82301                   6002               Various                                                                                             $4.27
LURDES QUILES                N7054 CTY D                                                  WATERTOWN           WI         53094                   6004               Various                                                                                             $2.00
LUSH ELKS LODGE 1797         PO BOX 897                                                   LUSK                WY         82225                   6666               Various                                                                                             $2.61
LUTHER D HOLMES              610 N KING ST                                                NEWMAN              IL         61942                   6002               Various                                                                                             $5.21
LUTHERA REIS                 2224 DODGE MOWER RD                                          SARGEANT            MN         55973                   6002               Various                                                                                             $4.99
LUXCOM INC (CHUB)            1212 6TH AVE SUITE 2304                                      NEW YORK            NY         10036                   5134               Various                                                                                          $586.66
LUZ GONZALEZ                 601 WHISPERINIG PINES WAY                                    MADISON             WI         53713                   6004               Various                                                                                             $1.00
LUZ MAGDALENE GERMAN         402 MAPLE ST                                                 WAKEFIELD           NE         68784                   6002               Various                                                                                             $4.11
LUZ MARIA GUZMAN             1278 W 520TH S                                               SPANISH FORK        UT         84660                   6002               Various                                                                                             $1.92
LUZ MARIE HERNANDEZ          N4042 9TH LN                                                 HANCOCK             WI         54943                   6002               Various                                                                                             $4.77
LUZ MARTINEZ                 151 TWIN LAKES DR                                            FOND DU LAC         WI         54937                   6004               Various                                                                                            $60.00
LUZ SOLIS                    4 17TH ST NE                                                 ROCHESTER           MN         55906                   6002               Various                                                                                             $9.89
LYDIA A DRUM                 546 AVERY AVE                                                PARK FALLS          WI         54552                   6002               Various                                                                                             $4.22
LYDIA C VANKAUWENBERG        3150 VALENTINE RD                                            ABRAMS              WI         54101                   6002               Various                                                                                             $5.48
                             59299 CALUMET WATERWORKS
LYDIA CHIOMENTI              RD                                                           CALUMET             MI         49913                   6002               Various                                                                                                $2.30
LYDIA ESPINO                 1415 DOVER STREET                                            WORTHINGTON         MN         56187                   6004               Various                                                                                                $3.00
LYDIA GINGERICH              32330 PRAIRIE AVE                                            JAMESPORT           MO         64648                   6002               Various                                                                                                $6.96
LYDIA GUAJARDO               333 CURRAN                                                   BURLINGTON          IA         52601                   6004               Various                                                                                               $10.02
LYDIA HEDLUND                112 CARROLL ST                                               MANKATO             MN         56001                   6004               Various                                                                                               $23.75
LYDIA HERSHBERGER            N 11020 SECTION 1 RD                                         HIXTON              WI         54635                   6004               Various                                                                                                $3.00
LYDIA HOFACKER               W7183 DEERVIEW RD                                            BLACK CREEK         WI         54006                   6004               Various                                                                                                $2.99
LYDIA JOHNSON                1708 AVIAN PARK                                              SAUK RAPIDS         MN         56379                   6004               Various                                                                                                $2.04
LYDIA KULYAS                 1633 HIGHWAY 23                                              OGILVIE             MN         56358                   6002               Various                                                                                                $8.93
LYDIA LALOR                  6110 RIDGEWOOD AVE                                           MONONA              WI         53716                   6004               Various                                                                                                $5.40
LYDIA METH                   33991 K 22                                                   SIOUX CITY          IA         51108                   6004               Various                                                                                               $10.00
LYDIA ROSS                   3122 JOANN AVE                                               BELLEVUE            NE         68123                   6004               Various                                                                                               $15.00
LYDIA SANCHEZ                244 NE 2100TH                                                ANDREWS             TX         79714                   6002               Various                                                                                                $3.53
LYDIA STEWART                PO BOX 538                                                   CROW AGENCY         MT         59022                   6004               Various                                                                                                $2.00
LYDIA WALSH                  3811 TAMARACK DRIVE                                          BOISE               ID         83703                   6004               Various                                                                                                $2.00
LYLA HARVEY                  5824 WSR44                                                   LAKE PANASAOFFK     FL         33538                   6002               Various                                                                                                $8.22
LYLA HOMOLA                  PO BOX 1561                                                  BATTLE GROUND       WA         98604                   6002               Various                                                                                                $9.64
LYLE ANDERSON                PO BOX 69                                                    PINEY               MB                       CANADA    6002               Various                                                                                                $1.59
LYLE COATS                   240 EAST LARRABEE STREET                                     OMRO                WI         54963                   6004               Various                                                                                                $1.00
LYLE DRAPER                  919 CEDAR DRIVE                                              LEWISTON            ID         83501                   6004               Various                                                                                               $33.00
LYLE ENGELHARDT              606 CLEVLAND ST                                              ALMENA              KS         67622                   6002               Various                                                                                                $0.41
LYLE FERGUSON                538 BROCK CREEK RD                                           GARRISON            MT         59731                   6004               Various                                                                                                $4.00
LYLE J HUFF                  BOX 183                                                      ASHTON              IA         51232                   6002               Various                                                                                                $2.14
LYLE JOHNSTON                8880 26TH AVE                                                CHIPPEWA FALLS      WI         54729                   6002               Various                                                                                                $8.88
LYLE LEMAY                   1701 SOUTH 10TH                                              MANITOWOC           WI         54220                   6004               Various                                                                                               $10.00
LYLE LIMING                  11151 US HIGHWAY 212                                         BELLE FOURCHE       SD         57717                   6002               Various                                                                                                $5.07
LYLE LOOCK                   1527 FARLIN AVE                                              GREEN BAY           WI         54302                   6004               Various                                                                                                $6.70
LYLE LOWRY                   4892 SPRING VALLEY RD                                        NEWPORT             WA         99156                   6002               Various                                                                                                $3.60




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LYLE NELSON                    RM 313                       CRT YARD ESTS                     MONMOUTH          IL         61462                  6002                Various                                                                                               $12.32
LYLE NOSS                      3871 SCHMIDT RD                                                DE PERE           WI         54115                  6004                Various                                                                                               $17.50
LYLE PARVIN                    27662 PARVIN RD                                                WINNER            SD         57580                  6002                Various                                                                                                $2.58
LYLE VALENTIEN                 PO BOX 23                                                      LAMBERTON         MN         56152                  6002                Various                                                                                                $6.38
LYLE VOLK                      PO BOX 1141                                                    MARION            MT         59925                  6002                Various                                                                                                $0.79
LYMAN MILLER                   408 20TH ST SW                                                 ROCHESTER         MN         55902                  6002                Various                                                                                                $1.75
LYNANNE MILLER                 5111 MERIDIAN RD NE                                            OLYMPIA           WA         98516                  6004                Various                                                                                                $8.00
LYNDA BUNNELL                  2329 16TH AVE                                                  MONROE            WI         53566                  6004                Various                                                                                                $2.00
LYNDA BUOY                     87253 446TH AVE                                                BASSETT           NE         68714                  6002                Various                                                                                                $4.88
LYNDA COLLIER                  273 TONY LANE                                                  HOWARD            WI         54303                  6004                Various                                                                                                $1.94
LYNDA COLLINS                  1021 E. SHADY LN.                                              NEENAH            WI         54956                  6004                Various                                                                                               $68.36
LYNDA HEIDEBRINK               941 COUNTY RD 9                                                HERON LAKE        MN         56137                  6004                Various                                                                                               $56.15
LYNDA J NABBEFELD              2810 N PARK DRIVE LN                                           APPLETON          WI         54911                  6002                Various                                                                                                $5.59
LYNDA JOHNSON                  2020 LIVINGSTON AVE                                            HELENA            MT         59601                  6002                Various                                                                                                $6.19
LYNDA KARL                     202A WEST CHERRY ST                                            FOX LAKE          WI         53933                  6004                Various                                                                                               $50.50
LYNDA LEE PRATER               4041 S 1600TH W # 24 PMB C                                     SALT LAKE CITY    UT         84123                  6002                Various                                                                                                $6.14
LYNDA MEYER                    2895 SUNRAY LANE                                               GREEN BAY         WI         54313                  6004                Various                                                                                               $25.00
LYNDA R COLE                   PO BOX 236, 377 N CEDAR ST                                     LONG PINE         NE         69217                  6002                Various                                                                                                $8.82
LYNDA RONSMAN                  1116 CORMIER RD                                                GREEN BAY         WI         54304                  6002                Various                                                                                                $0.82
LYNDA S MALLOW                 N9118 BEGGAN LN                                                WATERTOWN         WI         53094                  6002                Various                                                                                                $1.62
LYNDA SIGURDSON                PO BOX 132                                                     PINEY             MB                       CANADA 6002                  Various                                                                                                $9.75
LYNDA SMAGACZ                  58882 KIDD RD                                                  GLENWOOD          IA         51534                  6002                Various                                                                                                $3.51
LYNDA WILSON                   10017 S BIRNAM WOODS WAY                                       SOUTH JORDAN      UT         84095                  6002                Various                                                                                                $5.75
LYNDEE ROGERS                  224 AVENUE # 190                                               DUNNING           NE         68833                  6002                Various                                                                                                $6.14
LYNDON BAYMAN                  PO BOX 185                                                     ATHENA            OR         97813                  6004                Various                                                                                               $28.00
LYNDSAY GARSKE                 1613 BRIGHT STREET                                             MADISON           WI         53704                  6004                Various                                                                                                $1.00
LYNDSEY CHRISTENSON            1116 DAKOTA ST                                                 WATERTOWN         WI         53094                  6002                Various                                                                                                $3.04
LYNDSEY MCDONALD               2150 WOLFF RD                                                  GILLETTE          WY         82718                  6002                Various                                                                                                $4.96
LYNEA FLOM                     1626 NORTH RIDGE LANE                                          NORTH MANKATO     MN         56003                  6004                Various                                                                                                $1.31
LYNETTE BARNUM                 BOX 304                                                        FORT BRIDGER      WY         82933                  6002                Various                                                                                                $8.33
LYNETTE BOCKMEYER              836 W 1075TH S # 102                                           BRIGHAM CITY      UT         84302                  6002                Various                                                                                                $1.01
LYNETTE GREEN                  342 N 500TH W                                                  BRIGHAM CITY      UT         84302                  6002                Various                                                                                                $1.89
LYNETTE HAYES                  1052 8TH ST NW                                                 WATERTOWN         SD         57201                  6004                Various                                                                                                $6.00
LYNETTE KELLY                  4732 E 100TH N                                                 RIGBY             ID         83442                  6002                Various                                                                                                $6.77
LYNETTE OWENS                  102 PARK AVE                                                   AXTELL            KS         66403                  6002                Various                                                                                                $3.45
LYNETTE SUCKOW                 604 MESNARD ST                                                 MARQUETTE         MI         49855                  6002                Various                                                                                                $0.99
LYNETTE TRIEMERT               803 12TH AVE S.W                                               AUSTIN            MN         55912                  6004                Various                                                                                                $3.00
                                                            8241 MELROSE
LYNK INCORPORATED (C-HUB)      VICE PRESIDENT OF SALES      DRIVE                             SHAWNEE MISSION   KS         66214                    6382              Various                                                                                           $865.81
LYNN A FINSTAD                 W4055 JENE RD                                                  EAU CLAIRE        WI         54701                    6002              Various                                                                                             $7.15
LYNN A. SHARKEY                816 S CENTER ST                                                BEAVER DAM        WI         53916                    6002              Various                                                                                             $1.64
LYNN AHRENS                    8844 CRIMSON LANE                                              POUND             WI         54161                    6004              Various                                                                                             $1.00
LYNN BELANGER                  7300 WILBURN RD                                                SUN PRAIRIE       WI         53590                    6004              Various                                                                                            $36.00
LYNN BRITTNACHER               2353 DAY ST                                                    GREENLEAF         WI         54126                    6002              Various                                                                                             $9.78
LYNN DARLING                   5720 S 25TH ST               #30                               LINCOLN           NE         68512                    6004              Various                                                                                             $9.98
LYNN DORNER                    E539 CTY N                                                     LUXEMBURG         WI         54217                    6002              Various                                                                                             $7.18
LYNN DUMONCEAUX                9792 30TH ST NE                                                FOLEY             MN         56329                    6002              Various                                                                                             $0.66
LYNN GILLING                   461 ALPINE DR                                                  GREEN BAY         WI         54302                    6002              Various                                                                                             $2.58
LYNN GRIEBLING                 141 N CHESTNUT AVE APT 322                                     GREEN BAY         WI         54303                    6002              Various                                                                                             $1.78
LYNN HOLLISTER                 506 W HAMILTON ST                                              NEW HAMPTON       IA         50659                    6002              Various                                                                                             $3.75
LYNN HOWARD                    81078 WAGON WHEEL LP.                                          IRRIGON           OR         97844                    6004              Various                                                                                             $5.00
LYNN JOHNSON                   10413 E 5                                                      SPOKANE VALLEY    WA         99206                    6004              Various                                                                                            $30.00
LYNN KNUTSON                   22 SUNSET DR                                                   WEST BEND         WI         53095                    6666              Various                                                                                            $14.99
LYNN KRUEGER                   908 MICHIGAN LN                                                KAUKAUNA          WI         54130                    6002              Various                                                                                             $6.52




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                                                                                                                                                       Last 4 Digits of   Date Debt was
                                                                                                                                                          Account       Incurred, Basis for
            Creditor Name                   Address1               Address2         Address3            City             State         Zip    Country     Number              Claim                                                                             Total Claim
LYNN LENSMIRE                     1340 HIGHWAY 107                                               MARATHON           WI           54448                6002              Various                                                                                             $0.47
LYNN M SNYDER                     590 HIGHWAY 57                                                 QUINCY             IL           62305                6002              Various                                                                                             $7.42
LYNN MANN HALLMARK                680 PLANTERS MANOR WAY                                         BRADENTON          FL           34212-0000           0775              Various                                                                                         $1,050.00

LYNN MCGRATH                      1241 WASHINGTON ST                                             WISCONSIN RAPIDS   WI           54494                  6004            Various                                                                                             $1.00
LYNN MILOVANOVIC                  PO BOX 987                                                     WAUTOMA            WI           54982                  6002            Various                                                                                            $18.15
LYNN MOLLET                       33139 484TH AVE                                                JEFFERSON          SD           57038                  6002            Various                                                                                             $4.96
LYNN NIELSEN                      1609 DARLING DR                                                WORTHINGTON        MN           56187                  6002            Various                                                                                            $10.00
LYNN PORTER                       234 RANDOLPH DRIVE                                             MADISON            WI           53717                  6004            Various                                                                                             $4.00
LYNN R NELSON                     3655 N FOREST CIR                                              COEUR D ALENE      ID           83815                  6002            Various                                                                                             $5.42
LYNN REINHART                     325 TYLER CT APT 2                                             MENASHA            WI           54952                  6002            Various                                                                                             $1.89
LYNN RENEE RUSSELL                1626 CAROLINE ST                                               LA CROSSE          WI           54603                  6002            Various                                                                                             $0.77
LYNN SELLE                        1331 W PROSPECT                                                APPLETON           WI           54914                  6004            Various                                                                                            $11.00
LYNN SETTINGSGAARD                W4889 HIGHWAY 10 LOT 1                                         NEILLSVILLE        WI           54456                  6002            Various                                                                                             $5.53
LYNN SHILTS                       5766 370TH ST                                                  STANLEY            WI           54768                  6002            Various                                                                                             $1.53
LYNN STANDY                       321 ILLINOIS AVE                                               PLATTE             SD           57369                  6004            Various                                                                                            $10.40
LYNN STRAWN                       BOX 2522                                                       OROFINO            ID           83544                  6002            Various                                                                                             $5.01
LYNN VOGEL                        2637 EAST MAIN ST                                              MANKATO            MN           56001                  6004            Various                                                                                             $3.00
LYNN WHITE                        N2880 ACORN RD                                                 CLINTONVILLE       WI           54929                  6002            Various                                                                                             $3.86
LYNN ZELENIK                      PO BOX 10801                                                   KALISPELL          MT           59904                  6002            Various                                                                                             $6.55
LYNNE COZAD                       86436 S PINE AVE                                               LONG PINE          NE           69217                  6002            Various                                                                                             $6.41
LYNNE GAYLOR                      25204 71ST ST                                                  DOWAGIAC           MI           49047                  6002            Various                                                                                             $7.12
LYNNE HART                        BOX 243                                                        WILMONT            MN           56185                  6004            Various                                                                                             $3.00
LYNNE HOWELL                      8305 US HIGHWAY 20 W                                           LENA               IL           61048                  6004            Various                                                                                             $4.00
LYNNE MIKESH                      407 W MAIN                                                     BELMOND            IA           50421                  6004            Various                                                                                            $40.00
LYNNEA STEC                       N2797 S, 11TH RD.                                              COLEMAN            WI           54112                  6004            Various                                                                                            $25.36
LYNNETTE ALVARADO                 N2510 WENHAM RD                                                FORT ATKINSON      WI           53538                  6004            Various                                                                                            $10.00
LYNNETTE GROTHE                   3235 S 14TH ST. APT. # 3                                       LINCOLN            NE           68502                  6004            Various                                                                                             $4.00
LYNNETTE SPENCER                  4935 N 17TH ST                                                 OMAHA              NE           68110                  6004            Various                                                                                             $2.00
LYNNETTE TABORSKY                 3000 VILLARD AVE TRLR 97                                       HELENA             MT           59601                  6002            Various                                                                                             $4.16
LYNSEY PEW                        1208 PACIFIC ST                                                IDAHO FALLS        ID           83404                  6002            Various                                                                                             $4.11
LYNZIE BALDWIN                    1321 TOLES AVE                                                 LARNED             KS           67550                  6002            Various                                                                                             $6.19
LYONS CHAMBER OF COMMERCE         116 EAST AVENUE S                                              LYONS              KS           67554-2720             8168            Various                                                                                          $100.00
LYRIC DEJESUS                     1420 SILVERCREST DT APT 4                                      APPLETON           WI           54911                  6004            Various                                                                                             $1.00
LYUOLMIL0 FOMINO                  1609 C ST APT 5                                                LINCOLN            NE           68502                  6002            Various                                                                                             $7.34
M & C BEVERAGE                    VICE PRESIDENT OF SALES      PO BOX 1181                       MILES CITY         MT           59301                  5412            Various                                                                                         $1,045.12
M & M MARS                        PO BOX 71209                                                   CHICAGO            IL           60694-1209             0002            Various                                                                                        $10,664.57
                                                               1222 GATEWAY
M & W SERVICES INCORPORATED       FERT L LAWN                  DRIVE NE                          EAST GRAND FORKS   MN           56721                  5957            Various                                                                                           $356.80
                                                               47346 STRATTON
M A K RENTALS LLC                 MARK A KEMPPAINEN            AVE                               ATLANTIC MINE      MI           49905                  0476            Various                                                                                         $8,000.00
M A S INDUSTRIES INCORPORATED     1050 PILGRIM ROAD                                              PLYMOUTH           WI           53073                  5723            Various                                                                                         $1,891.68
M CLAUDIA NELSON                  3257 KENNEDY DR                                                STURTEVANT         WI           53177                  6004            Various                                                                                            $45.00

M J DALSIN COMPANY INCORPORATE    DALSIN INCORPORATED          1008 W DELAWARE                   SIOUX FALLS        SD           57104                  0761            Various                                                                                          $791.00
M SHIRAZ L L C (503)              PO BOX 80110                                                   SAUKVILLE          WI           53080-0110             8079            Various                                                                                          $114.00
M2 LOGISTICS INCORPORATED         NNB FBO M2 LOGISTICS         PO BOX 1352                       GREEN BAY          WI           54305-1352             9109            Various                                                                                         $2,718.69
MA DEL MARIN                      9789 W LANDMARK CT                                             BOISE              ID           83704                  6002            Various                                                                                             $2.33
MA VILLAGOMEZDERIOS               611 ALROSE ST                                                  GREEN BAY          WI           54302                  6002            Various                                                                                             $3.45
MABEL POTTER                      401 CHERRY ST PO BOX # 114                                     CLEVELAND          MN           56017                  6002            Various                                                                                             $5.92
MABLE EGGLESTON                   852 S STREET # 5                                               WHEATLAND          WY           82201                  6002            Various                                                                                             $1.70
MABLE KLAUZER                     7153 N 79TH PLZ                                                OMAHA              NE           68122                  6002            Various                                                                                             $3.73

MAC SALES GROUP INC               PO BOX 480                                                     EAST BRIDGEWATER MA             02333                  6240            Various                                                                                        $55,944.40




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                                                                                                                                                     Account         Incurred, Basis for
            Creditor Name              Address1                  Address2        Address3            City         State           Zip   Country      Number                Claim                                                                             Total Claim
                                                            100 WILLIAM ST
MAC WAREHOUSE                BEHALF INC                     12TH FLOOR                        NEW YORK           NY       10038                   5371               Various                                                                                       $232,127.55
MACAULI PIRILLO              401 FRANKLIN ST                                                  FAYETTE            IA       52142                   6002               Various                                                                                             $8.82
MACHAELA BRAUBURGER          320 WEST CASSIA                                                  RICHFIELD          ID       83349                   6004               Various                                                                                            $23.00
MACHELLE DABEL               592 HEMMERT BOX # 1384                                           THAYNE             WY       83127                   6002               Various                                                                                             $3.48
MACHIEL C. OSBORN            124 S IROQUOIS ST                                                CALUMET            MI       49913                   6002               Various                                                                                             $3.67
MACI LOUWAGIE                1112 DAVID DRIVE                                                 MARSHALL           MN       56258                   6004               Various                                                                                             $2.00
MACIE KENDZIERA              N1841 980TH ST.                                                  EAU CLAIRE         WI       54701                   6004               Various                                                                                             $3.00
MACIE PETERSON               324 W 2235TH S                                                   PERRY              UT       84302                   6002               Various                                                                                             $8.25
MACK FAMILY                  N2907 24TH RD                                                    WAUTOMA            WI       54982                   6002               Various                                                                                             $9.37
MACK ROBERTSON               6324 S 9TH ST                                                    RALSTON            NE       68127                   6004               Various                                                                                            $47.02
MACKENNA JONES               1975 CHURCH STREET                                               STEVENS POINT      WI       54481                   6004               Various                                                                                            $10.00
MACKENZIE AITKEN             702 MAYFAIR COURT                                                LEWISTON           ID       83501                   6004               Various                                                                                             $7.50
MACKENZIE ANDERSON           116 LINDOO AVE                                                   LADYSMITH          WI       54848                   6004               Various                                                                                            $13.00
MACKENZIE BUCHANAN           227 S MILL ST                                                    HORTONVILLE        WI       54944                   6002               Various                                                                                             $9.89
MACKENZIE CLARK              1011 GORDAN DR                                                   LINCOLN            NE       68522                   6004               Various                                                                                             $4.00
MACKENZIE HASTINGS           1424 MAIN ST                                                     EAU CLAIRE         WI       54701                   6004               Various                                                                                            $52.00
MACKENZIE KNUTSON            10392 SHADY BROOK                                                BOISE              ID       83704                   6004               Various                                                                                             $8.40
MACKENZIE MAURITZ            6070 ONCKEN RD. APT. 4                                           WAUNAKEE           WI       53597                   6004               Various                                                                                             $2.00
MACKENZIE MCGUIRE            2847 N 14TH PL                                                   COEUR D ALENE      ID       83815                   6002               Various                                                                                             $2.33
MACKENZIE MODROW             213 1/2 N MAIN ST                                                WAUPACA            WI       54981                   6004               Various                                                                                             $3.00
MACKENZIE MORGAN             1455 W RED HEATHER LN                                            WEST JORDAN        UT       84084                   6002               Various                                                                                             $5.97
MACKENZIE RIVER PIZZA        500 RIVER DRIVE SOUTH                                            GREAT FALLS        MT       59405                   5325               Various                                                                                            $85.25
MACKENZIE TIMM               6646 ODANA RD                                                    MADISON            WI       53719                   6004               Various                                                                                             $2.00
MACKENZIE V SINCLAIR         4782 W MILL RIVER CT                                             COEUR D ALENE      ID       83814                   6002               Various                                                                                             $1.01
MACKENZIE WIEBERDINK         1210 HAMILTON STREET                                             MANITOWOC          WI       54220                   6004               Various                                                                                             $1.00
MACKENZY JENSVOLD            320 4TH ST NE                                                    BUFFALO CENTER     IA       50424                   6004               Various                                                                                            $10.00
MACLYN MISCHLER              340 CLOUD CREEK ROAD                                             KALISPELL          MT       59901                   6004               Various                                                                                            $23.00
MACY SCHERER                 3624 HARTLEY CR                                                  LINCOLN            NE       68521                   6004               Various                                                                                            $20.00
MACY WESTPHAL                811 OLSON ST                                                     SHAWANO            WI       54166                   6004               Various                                                                                            $23.00

MAD DOG CONCEPTS             REPUBLIC BUSINESS CREDIT LLC   PO BOX 203152                     DALLAS             TX       75320-3152              7576               Various                                                                                        $46,028.82
MAD ENGINE INCORPORATED      6740 COBRA WAY STE 100                                           SAN DIEGO          CA       92121                   8407               Various                                                                                       $341,194.93
MADALYN GRIMES               260 BLACK TAIL ROAD                                              LAKESIDE           MT       59922                   6004               Various                                                                                             $3.00
MADALYN LONGHENRY            4012 INGRAM DR                                                   JANESVILLE         WI       53546                   6004               Various                                                                                             $2.00

MADALYNN KRUTZIK             3021 EAGLE ROAD                                                  WISCONSIN RAPIDS   WI       54494                   6004               Various                                                                                                $3.00
MADALYNN NOONAN              701 CTY RD G                                                     JUNCTION CITY      WI       54443                   6004               Various                                                                                                $1.00
MADALYON WATERS              401 S CLAY ST                                                    GALLATIN           MO       64640                   6002               Various                                                                                                $4.38
MADDELYN OLIVE               2388 DORAN ST                                                    OCONTO             WI       54153                   6002               Various                                                                                                $4.19
MADDIE BASKEN                96 RUBINA LANE APT.7                                             FOND DU LAC        WI       54935                   6004               Various                                                                                               $10.02
MADDIE DELOREY               5644 E GATEWAY DR                                                BOISE              ID       83716                   6002               Various                                                                                                $7.62
MADDOX S WARFEL              102 S PINE ST                                                    VILLA GROVE        IL       61956                   6002               Various                                                                                                $6.41
MADELEINE R PRIDEAUX         341 HECLA ST APT 7                                               LAURIUM            MI       49913                   6002               Various                                                                                               $10.00
MADELINE BUNDE               W8350 ROYAL OAKS DRIVE                                           WAUTOMA            WI       54982                   6004               Various                                                                                               $25.00
MADELINE CRUMLEY             2976 SONORA DR                                                   IDAHO FALLS        ID       83404                   6002               Various                                                                                                $8.27
MADELINE HUETTL              BOX 36                                                           WESTPORT           SD       57481                   6004               Various                                                                                               $10.00
MADELINE JOHNSON             404 FAIRVIEW DR                                                  PINEHURST          ID       83850                   6002               Various                                                                                                $0.44
MADELINE KENOWSKI            201 N DAISY ST                                                   SALMON             ID       83467                   6002               Various                                                                                                $3.51
MADELINE PANTALION           6375 425TH ST                                                    HARRIS             MN       55032                   6002               Various                                                                                                $7.73
MADELINE PULKOWSKI           3275 LAMPLIGHTER                                                 BELOIT             WI       53511                   6004               Various                                                                                                $9.98
MADELINE RAVERTY             120 SUNWOOD VALLEY LANE                                          RIVER FALLS        WI       54022                   6004               Various                                                                                               $25.00
MADELINE RIPA                7206 FORBES DR                                                   LINCOLN            NE       68516                   6004               Various                                                                                               $45.00
MADELINE SIBILSKY            W271N6993 HANSEN DR                                              SUSSEX             WI       53089                   6002               Various                                                                                                $1.81




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                                                                                                                                                       Account         Incurred, Basis for
            Creditor Name                     Address1              Address2        Address3             City        State           Zip   Country     Number                Claim                                                                             Total Claim
MADELYN DOLCH-HAVLOVICK           1335 SUMMIT T AVE            APT 205                           OSHKOSH          WI         54901                 6004                Various                                                                                                $2.00
MADELYN HEILMAN                   220 TRENEER RD                                                 YAKIMA           WA         98908                 6004                Various                                                                                               $29.97
MADELYN R ROCKWELL                4032 DUSNTON DR                                                BEAVER CREEK     OH         45431                 6002                Various                                                                                                $8.49
MADELYNN DONNELLY                 266 E. LAKEVIEW DRIVE                                          WHTIEWATER       WI         53190                 6004                Various                                                                                                $9.40
                                  DV INTERNATIONAL             1000 UNIVERSITY
MADESMART HOUSEWARES              INCORPORATED                 AVENUE STE 220                    SAINT PAUL       MN         55104-0000              0808              Various                                                                                        $25,721.75
MADGE I HUPP                      270 CTY RD PBD                                                 ISHPEMING        MI         49849                   6002              Various                                                                                             $6.58

MADIGAN/ ELIZABETH                CORPORATE COMMUNICATIONS SHOPKO EMPLOYEE                       GREEN BAY        WI         54307-9060             5669               Various                                                                                            $40.73
MADILEEN BOURASA                  111 SUMMERFIELD DR                                             WAVERLY          MN         55390                  6002               Various                                                                                             $6.58
MADILYN CARLSON                   2205 FALCON TER NW                                             STEWARTVILLE     MN         55976                  6002               Various                                                                                             $9.84
MADILYNN RILES                    700 11TH AVE NW                                                ADAMS            MN         55909                  6004               Various                                                                                            $27.49
MADILYNN SUE SAUERBERG            6188 CLARKS POINT RD                                           WINNECONNE       WI         54986                  6002               Various                                                                                             $1.73
MADISEN BELL                      6119 1ST STREET                                                RACINE           WI         53403                  6004               Various                                                                                             $4.60
MADISON (MAX AGUILAR              103 E MAIN ST APT D                                            LAUREL           MT         59044                  6002               Various                                                                                            $10.00
MADISON BIESECKER                 1821 PLAZA WAY APT 62                                          WALLA WALLA      WA         99362                  6004               Various                                                                                            $39.00
MADISON CITY TREASURER            PO BOX 20                                                      MADISON          WI         53701                  3630               Various                                                                                         $1,523.00
MADISON CLARK                     733 BOULDER RIDGE TRAIL                                        COLUMBIA FALLS   MT         59912                  6004               Various                                                                                             $6.00
MADISON COUNTY CHAMBER OF COMM    73 JEFFERSON STREET                                            WINTERSET        IA         50273                  4058               Various                                                                                            $20.84
MADISON DANNER                    1715 S 15TH ST           LOT 51                                PLATTSMOUTH      NE         68048                  6004               Various                                                                                             $3.02
MADISON DAVIS                     510 S 55TH ST.                                                 LINCOLN          NE         68510                  6004               Various                                                                                            $23.00
MADISON FRENCH                    3294 GRANGER AVE EAST    #2                                    BILLINGS         MT         59102                  6004               Various                                                                                             $8.00
MADISON FRITSCH                   1600 5TH ST NE                                                 ROCHESTER        MN         55906                  6002               Various                                                                                             $7.53
MADISON GALL                      611 STURGES ST                                                 COLUMBUS         WI         53925                  6002               Various                                                                                             $2.85
                                                                                                                                                                       12/4/2018 -
MADISON GAS AND ELECTRIC, WI      PO BOX 1231                                                    MADISON          WI         53701-1231             9941               1/2/2019                                                                                       $12,769.13
MADISON J HUNT                    3158 PURITAN AVE                                               LINCOLN          NE         68502                  6002               Various                                                                                             $8.60
MADISON M MCDONOUGH               40347 GRIZZLY LN                                               NORTH BRANCH     MN         55056                  6002               Various                                                                                             $5.45
MADISON MAZANEC                   118 W. HWY 30                #30                               CHAPMAN          NE         68827                  6004               Various                                                                                             $4.00
MADISON MCBRIDE                   2056 RIO GRANDE DR                                             SPANISH FORK     UT         84660                  6002               Various                                                                                             $3.12
MADISON ROGERS                    2610 S CORAL ST                                                SIOUX CITY       IA         51106                  6002               Various                                                                                             $8.71
MADISON SIMPSON                   2117 SUPERIOR ST.                                              RACINE           WI         53402                  6004               Various                                                                                             $3.00
MADISON THOMAS                    109 CLIFF CT                                                   NORTH MANKATO    MN         56003                  6004               Various                                                                                             $3.00
MADISYN BRAGER                    3172 LINCOLN RD                                                STANDISH         MI         48658                  6002               Various                                                                                             $0.79
MADISYN CLARK                     N815 AMANDA ST APT 1                                           OCONOMOWOC       WI         53066                  6002               Various                                                                                             $8.93
MADISYN GRAY                      820 SCHOOL ST                                                  LAKE ANDES       SD         57356                  6004               Various                                                                                             $9.32
MADLIN R KING                     330 129TH APT B8                                               OROFINO          ID         83544                  6002               Various                                                                                             $6.25
MADONNA HARRISON                  4502 COUNTRY CLUB BLVD                                         SIOUX CITY       IA         51104                  6002               Various                                                                                             $3.48
MADYSEN SCHMIDT                   545 DIVISION ST APT 1                                          OSHKOSH          WI         54901                  6004               Various                                                                                             $3.00
MADYSON BERGER                    208 N 31ST AVE                                                 YAKIMA           WA         98902                  6004               Various                                                                                            $20.02
MAE BRAUN                         1376 CNTY RD # 120 PMB BOX                                     BEDFORD          WY         83112                  6002               Various                                                                                             $1.95
MAE SCHEIDT                       60 BLUEMOUND CRT APT 1                                         APPLETON         WI         54914                  6004               Various                                                                                            $18.00
MAECI ROESSLEIN                   N7662 CTY N                                                    NEW GLARUS       WI         53574                  6004               Various                                                                                            $25.00
MAEGAN HARRIS                     316 COEUR DALENE LAKE DR                                       COEUR D ALENE    ID         83814                  6002               Various                                                                                             $5.95
MAEGEN DAUGHDRILL                 2006 W MADISON AVE                                             NORFOLK          NE         68701                  6002               Various                                                                                             $1.07
MAEGON MITCHELL                   450 E CENTER ST                                                SANTAQUIN        UT         84655                  6002               Various                                                                                             $3.48
MAELI LAWRENCE                    2434 LAKE HEIGHTS DR                                           BILLINGS         MT         59105                  6004               Various                                                                                            $14.38
MAESA EVERETT                     103 GROVE ST SE                                                MAPLETON         MN         56065                  6002               Various                                                                                             $9.32
MAESCHEN FAMILY                   118 DENVER AVE                                                 KALISPELL        MT         59901                  6002               Various                                                                                             $7.18
MAFALDA LARRAGA                   1580 W. 3940 S. # F202                                         SALT LAKE CITY   UT         84123                  6004               Various                                                                                             $2.00
MAGALI BAUTISTA                   3510 EVERGREEN DR            APT 4                             CUSTER           WI         54423                  6004               Various                                                                                             $3.00
MAGALI WILLEMS                    610 MILWAUKEE ST                                               KEWAUNEE         WI         54216                  6002               Various                                                                                             $0.47
MAGALY PACHECO-HINOJOS            216 S. ELM ST.                                                 WALLACE          NE         69169                  6004               Various                                                                                            $40.02




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                                                                                                                                                                                                       Contingent


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                                                                                                                                                              Last 4 Digits of     Date Debt was
                                                                                                                                                                 Account         Incurred, Basis for
            Creditor Name                   Address1                 Address2            Address3               City          State           Zip   Country      Number                Claim                                                                             Total Claim

MAGDA MEDELLIN                    627 ROCKY CREEK DR NE TRLR 8                                          ROCHESTER        MN           55906                   6002               Various                                                                                            $18.19
MAGEN KAIN                        325 BUDD                                                              FAIRMONT         MN           56031                   6004               Various                                                                                             $3.00
MAGFORMERS LLC                    44125 FORD ROAD                                                       CANTON           MI           48187                   4437               Various                                                                                           $120.45
MAGGIE BACKMAN                    1914 REBECCA ST                                                       SIOUX CITY       IA           51103                   6002               Various                                                                                             $0.36
MAGGIE COX                        617 MARCLARE ST APT 18                                                DIXON            IL           61021                   6002               Various                                                                                             $7.86
MAGGIE JINGGA                     403 W WATER ST                                                        CAMBRIDGE        WI           53523                   6004               Various                                                                                             $4.00
MAGGIE MAIER                      1400 HAUSER BLVD                                                      HELENA           MT           59601                   6002               Various                                                                                             $0.52
MAGGIE TAYLOR                     268 NEW HOPE RD                                                       WINONA           MS           38967                   6002               Various                                                                                             $6.63

MAGIC VALLEY MALL LLC             ATTN: CHERI FREEMAN            SUITE OFC         1485 POLE LINE ROAD E TWIN FALLS      ID           83301                   6679               Various                                                                                         $5,328.71
                                  7600 BOONE AVENUE NORTH
MAGNETIC PRODUCTS & SERVICES I    SUITE 1                                                               MINNEAPOLIS      MN           55428                   5777               Various                                                                                           $506.00

MAHAD OSMAN                       537 NORTHERN HILLS DR NE #26                                          ROCHESTER        MN           55906                   6004               Various                                                                                               $3.00
MAHALA KING                       1283 SMITH                                                            GREEN BAY        WI           54302                   6004               Various                                                                                               $7.00
MAHALIA MYLES                     1516 N 19TH ST                                                        OMAHA            NE           68110                   6004               Various                                                                                               $4.00
MAHAMOUD ABDI                     1965 QUARRY RD               APT 301                                  SAINT CLOUD      MN           56301                   6004               Various                                                                                               $3.00

MAHONEY/ KAYTI                    STORE 4-075                    SHOPKO EMPLOYEE                        GREEN BAY        WI           54307-9060              0745               Various                                                                                            $11.29
MAI HER KHANG                     3421 1ST ST S                                                         WIS RAPIDS       WI           54494                   6004               Various                                                                                             $1.00
MAI LIA YANG                      1001 WEST ROBERTS AVENUE                                              APPLETON         WI           54914                   6004               Various                                                                                            $20.00
MAI LOR                           2110 WEST RD.                                                         MOSINEE          WI           54455                   6004               Various                                                                                            $87.96
MAI S. ALAKEIL                    40 SHK HASN ROAD                                                      RIYAHD           MN           55486                   6002               Various                                                                                             $0.99
MAI SEE CHANG                     202 N PATTERSON ST                                                    MADISON          WI           53703                   6004               Various                                                                                             $1.00
MAI VANG                          728 KENTUCKY AVE                                                      SHEBOYGAN        WI           53081                   6004               Various                                                                                            $10.00
MAI VUE                           4325 E BRAEBURN DR                                                    APPLETON         WI           54913                   6002               Various                                                                                             $2.00
MAI YANG THAO                     1318 ST JAMES ST                                                      LA CROSSE        WI           54603                   6002               Various                                                                                             $6.74
MAIDOUA YANG                      1120 S 50TH AVE APT 86                                                WAUSAU           WI           54401                   6002               Various                                                                                             $8.05
MAIERS TRANSPORT AND WAREHOUSI    5 MCLELAND RD SUITE A          PO BOX 218                             ST CLOUD         MN           56302                   6317               Various                                                                                          $258.30
MAILE FAHRION                     38556 GRAND AVE                                                       NORTH BRANCH     MN           55056                   6004               Various                                                                                             $1.40
MAILFINANCE                       PO BOX 123682                  DEPT 3682                              DALLAS           TX           75312-3682              0367               Various                                                                                         $2,158.19
MAINETTI USA INCORPORATED         DEPARTMENT AT 40190                                                   ATLANTA          GA           31192-0190              5244               Various                                                                                        $16,061.80
MAIRA GUADARRAMA                  PO BOX 288                                                            WENDELL          ID           83355                   6004               Various                                                                                             $3.65
MAIRA RAMOS                       2601 COLLEY RD.                LOT 23                                 BELOIT           WI           53511                   6004               Various                                                                                             $2.00
MAIRE THORP                       537 N. HILLS DR. N. E.         # 19                                   ROCHESTER        MN           55906                   6004               Various                                                                                             $3.00
MAITI MAYA RAI                    2011 OHIO ST                                                          OMAHA            NE           68111                   6004               Various                                                                                             $8.00
MAJ BLAIR LLC                     5880 VIA LUGANO UNIT 104                                              NAPLES           FL           34108                   0568               Various                                                                                        $21,036.39
MAJA REINHOLZ                     825 MANDERSON CR                                                      OMAHA            NE           68134                   6004               Various                                                                                            $30.00
MAJESSA HARDGRAVES                1209 W 6TH ST                                                         SIOUX CITY       IA           51103                   6002               Various                                                                                             $2.90
MAJESTY BRANDS LLC                WELLS FARGO BANK NA            PO BOX 842683                          BOSTON           MA           02284-2683              3603               Various                                                                                        $31,825.00
                                                                 6701 SOUTHWEST
MAJOR BRANDS                      VICE PRESIDENT OF SALES        AVENUE                                 ST LOUIS         MO           63143                   1670               Various                                                                                           $296.85
MAJOR HAWTHORNE                   1224 E TRENT                                                          SPOKANE          WA           99202                   6004               Various                                                                                            $70.67
MAKAILA MCGRADE                   411 SOUTH WISCONSIN DRIVE      APT300                                 JEFFERSON        WI           53549                   6004               Various                                                                                             $3.00
MAKALA LEMBURG                    PO BOX 32                                                             RUSSELL          MN           56169                   6004               Various                                                                                             $4.15
MAKALA VILLANUEVA                 3109 S 21ST ST                                                        OMAHA            NE           68108                   6004               Various                                                                                             $4.00

MAKAYLA BEASLEY                   1640 BITTERCREEK RD PO BOX #                                          SMOOT            WY           83126                   6002               Various                                                                                               $8.63
MAKAYLA HAVENS                    P. O. BOX 211                                                         BUHL             ID           83316                   6004               Various                                                                                               $3.65
MAKAYLA MADSEN                    17 9TH AVE SE                                                         ABERDEEN         SD           57401                   6002               Various                                                                                               $8.44
MAKAYLA MONTEZ                    PO BOX 521                                                            DARIEN           WI           53114                   6004               Various                                                                                               $3.00
MAKAYLA N KOTTKE                  804 8TH AVE N                                                         PRINCETON        MN           55371                   6002               Various                                                                                               $1.51
MAKAYLA NELSON                    2030 WISCONSIN AVE.                                                   BELOIT           WI           53511                   6004               Various                                                                                               $6.00




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                                                                                                                                                Account         Incurred, Basis for
              Creditor Name                 Address1       Address2        Address3             City          State           Zip   Country     Number                Claim                                                                             Total Claim
MAKAYLA Q SCHWOCHO              1330 WENLON DR APT C48                                  MURFREESBORO       TN         37130                 6002                Various                                                                                             $3.78
MAKAYLA RAMIREZ                 1417 WEST MEFFAN                                        NAMPA              ID         83651                 6004                Various                                                                                             $3.65
MAKAYLA TASSOUL                 619 N ASHLAND AVE LOWER                                 GREEN BAY          WI         54303                 6004                Various                                                                                             $2.00
MAKENNA BODRERO                 545 W 500TH N                                           LOGAN              UT         84321                 6002                Various                                                                                             $3.64
MAKENNA FITZSIMMONS             601 ONEIDA ST                                           BEAVER DAM         WI         53916                 6004                Various                                                                                             $2.00
MAKENNA PARNELL                 1405 WASHINGTON ST                                      RIVER FALLS        WI         54022                 6002                Various                                                                                             $5.56
MAKENNA WALTON                  102 WATER ST                                            FOX LAKE           WI         53933                 6002                Various                                                                                             $5.15
MAKENZIE ANDERSON               N5329 410TH ST                                          ELLSWORTH          WI         54011                 6002                Various                                                                                             $3.10
MAKENZIE BOONE                  205 FENTON AVE                                          ALBERT LEA         MN         56007                 6004                Various                                                                                            $10.00
MAKENZIE SKAGGS                 321 NORTH B STREET                                      MONMOUTH           IL         61462                 6004                Various                                                                                            $12.00
MAKENZIE ZIARNIK                22 NICHOLAS WAY                                         HUDSON             WI         54016                 6004                Various                                                                                             $1.00
MAKENZIE ZUEGER                 1574 N THISTLE DR                                       FREEPORT           IL         61032                 6002                Various                                                                                             $2.85
MA-KIA JENKINS-ROBY             2529 FINGER ROAD                                        GREEN BAY          WI         54302                 6004                Various                                                                                             $2.00
MAKIEU MACAULEY                 7502 RED FOX TRL                                        MADISON            WI         53717                 6002                Various                                                                                             $8.16
MALACHI VANDIVER                234 SOUTH AVE                                           BELOIT             WI         53511                 6004                Various                                                                                             $1.00
MALCOLM METCALF                 360 S ST                                                MIDWAY             AR         72651                 6002                Various                                                                                             $8.68
MALCOLM WADE                    W7153 HUNTERS LANE                                      THERESA            WI         53091                 6004                Various                                                                                             $5.00
MALCOLM WHITE                   5929 LLOYD ST NW                                        ROCHESTER          MN         55901                 6002                Various                                                                                             $5.12
MALDEN INTERNATIONAL DESIGNS    19 COWAN DRIVE                                          MIDDLEBORO         MA         02346                 6049                Various                                                                                        $89,303.03
MALEA TURNER                    755 N 8TH ST                                            LANDER             WY         82520                 6002                Various                                                                                             $7.15
MALEE VANG                      2510 S WHITNEY WAY                                      MADISON            WI         53719                 6004                Various                                                                                            $20.00
MALEKAI H MERCADO               36242 COUNTY ROAD 63                                    SAINT PETER        MN         56082                 6002                Various                                                                                             $0.63
MALERI RICHARDSON               2567 WHITES BEACH RD                                    STANDISH           MI         48658                 6002                Various                                                                                             $7.67
MALGORZATA M FUEHRER            5009 N PROVIDENCE AVE                                   APPLETON           WI         54913                 6002                Various                                                                                             $4.96
MALI L EVEREST                  PO BOX 333                                              CALUMET            MI         49913                 6002                Various                                                                                             $3.81
MALIK HARRISON                  1913 EASTMAN AVE                                        GREEN BAY          WI         54302                 6004                Various                                                                                             $4.00
MALINA WITTEK                   617 N. 3RD AVE.                                         WAUSAU             WI         54401                 6004                Various                                                                                            $23.00
MALINDA AMUNDSON                224 6TH ST NW                                           EAST GRAND FORK    MN         56721                 6002                Various                                                                                             $0.79
MALINDA CARTER                  1005 DANIEL BOONE DR                                    GREEN RIVER        WY         82935                 6002                Various                                                                                             $6.88
MALINDA L EAGLE HAWK            1413 E 5TH STREET                                       SIOUX FALLS        SD         57103                 6004                Various                                                                                             $2.00
MALINDA POPP                    2636 S GLADYS AVE                                       APPLETON           WI         54915                 6002                Various                                                                                             $6.82
MALINDA THOMAS-COLEMAN          1626 TARRAGON DR                                        MADISON            WI         53716                 6002                Various                                                                                             $6.77
MALISSA GREGORY                 3498 E 2ND AVE APT B1                                   POST FALLS         ID         83854                 6002                Various                                                                                             $1.75

MALISSA YACH                    721 LEE STREET                                          WISCONSIN RAPIDS   WI         54494                  6004               Various                                                                                            $15.00
MALISSABETH FRIEDLY             1104 MOORLAND RD APT 105                                MADISON            WI         53713                  6004               Various                                                                                             $3.00
MALLORY ARLT                    PO BOX 117                                              HARRISON           ID         83833                  6002               Various                                                                                             $5.15
MALLORY KASTER                  1806 DANCING DUNES DR.                                  GREEN BAY          WI         54313                  6004               Various                                                                                            $34.00
MALLORY SATTER                  1118 21ST AVE                                           CLARKSTON          WA         99403                  6004               Various                                                                                             $9.90
MALLORY SMITH                   621 ROAD 6                                              POWELL             WY         82435                  6002               Various                                                                                             $8.08
MALTA FAMILY                    MARCH UPDATE # 2012                                     MARQUETTE          MI         49855                  6002               Various                                                                                             $6.74
MALTEE MAHON                    1115 CANTON CT                                          ALLEN              TX         75013                  6002               Various                                                                                             $8.63
MALVERN KISSEL                  NH NORTH HALL                                           WHEATLAND          WY         82201                  6002               Various                                                                                             $9.64
MALYNDA LANGAN                  6603 N 150TH ST                                         OMAHA              NE         68116                  6002               Various                                                                                             $1.34
MAM USA CORPORATION             28451 NETWORK PLACE                                     CHICAGO            IL         60673-1284             7890               Various                                                                                         $1,150.08
MAMIE CARY                      2820 W. EZRA LN                                         SPOKANE            WA         99208                  6004               Various                                                                                            $75.00
MAMIE GORDON                    8505 HORIZON DR                                         LINCOLN            NE         68505                  6002               Various                                                                                             $7.48
MANCL FAMILY                    UPDATE                                                  WISCONSIN RAPID    WI         54494                  6002               Various                                                                                             $1.97
MANDE MENNE                     8640 LEIGHTON AVE APT H                                 LINCOLN            NE         68507                  6004               Various                                                                                             $1.20
MANDEE KAMPBELL                 7941 N 154 AVENUE                                       BENNINGTON         NE         68007                  6004               Various                                                                                            $43.00
MANDEE MEIDINGER                105 2ND ST # 3                                          IPSWICH            SD         57451                  6002               Various                                                                                             $7.18
MANDERS FAMILY                  646 S HURON ST                                          DE PERE            WI         54115                  6002               Various                                                                                             $6.79
MANDI ARMSTRONG                 524 N 100TH E                                           TREMONTON          UT         84337                  6002               Various                                                                                             $6.55
MANDI ASSMANN                   132 14OOTH ST                                           PANAMA             IA         51562                  6002               Various                                                                                             $2.77




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                                                                                                                                                      Account         Incurred, Basis for
             Creditor Name                   Address1             Address2         Address3             City        State           Zip   Country     Number                Claim                                                                             Total Claim
MANDI LE STEPHENSON               3038 N THAMES AVE                                             MERIDIAN         ID         83646                 6002                Various                                                                                                $6.99
MANDI RAE KREMIN                  744 N FREEMAN AVE                                             LUVERNE          MN         56156                 6002                Various                                                                                                $5.92
MANDIE L PARRILL                  2415 FISH HATCHERY RD                                         AUBURN           WY         83111                 6002                Various                                                                                                $8.25
MANDY BROWN                       820 SUMMER ST                                                 BURLINGTON       IA         52601                 6004                Various                                                                                                $6.02
MANDY DAHLKE                      1010 STARK ST                                                 WAUSAU           WI         54403                 6002                Various                                                                                                $0.71
MANDY LARSON                      714 S 925TH W                                                 LEHI             UT         84043                 6002                Various                                                                                                $8.68
MANDY POSPISIL                    610 W DIVISION                                                GRAND ISLAND     NE         68801                 6004                Various                                                                                                $4.00
MANDY ROTHFORK                    18 BLACKHAWK DR                                               OROFINO          ID         83544                 6002                Various                                                                                                $6.52
MANDY STORKAMP                    12 E WARWICK ST                                               NEWCASTLE        WY         82701                 6002                Various                                                                                                $3.04
MANDY WATSON                      2102 LINCOLN AVE                                              HARLAN           IA         51537                 6002                Various                                                                                                $7.73
MANDY WILLIAMS                    39029 HOMESTEAD AVE                                           NORTH BRANCH     MN         55056                 6002                Various                                                                                                $2.27
MANEYRORT SUY                     209 RUBY STREET SE                                            OLYMPIA          WA         98501                 6004                Various                                                                                               $46.88
MANFRED EFFENHAUSER               PO BOX 155                                                    LAKE MILLS       WI         53551                 6002                Various                                                                                                $8.99
MANIMALA SUNDERAPANDYAN           1315 CRYSTAL COVE TRAIL                                       GREEN BAY        WI         54311                 6004                Various                                                                                               $34.00
                                                                                                                                                                      12/1/2018 -
MANITOWOC PUBLIC UTILITIES, WI    PO BOX 41                                                     MANITOWOC        WI         54221-0041             2737               12/31/2018                                                                                      $7,075.56
MANN COMPUTER SYSTEMS INCORPOR    110 2ND STREET S SUITE 225                                    WAITE PARK       MN         56387                  8858               Various                                                                                        $54,189.12
MANOLITO HERNANDEZZAMORA          5314 25 AVE                                                   KENOSHA          WI         53140                  6004               Various                                                                                             $3.00
MANUAL GONZALEZ                   123 N BAIRD ST                                                GREEN BAY        WI         54301                  6002               Various                                                                                             $6.58
MANUAL SALAZAR                    1447 SEATTLE AVENUE                                           WENATCHEE        WA         98801                  6004               Various                                                                                            $35.00
MANUEL ACEVEDO                    1020 S LUSK ST APT                                            BOISE            ID         83706                  6002               Various                                                                                             $0.60
MANUEL CASTRO                     830 SO 29 ST #1                                               OMAHA            NE         68105                  6004               Various                                                                                             $5.02
MANUEL ESCATEL                    645 WOODSIDE DR                                               LOGAN            UT         84321                  6002               Various                                                                                             $1.21
MANUEL ESPINOZA                   110 LAKECREST DR                                              BEAVER DAM       WI         53916                  6002               Various                                                                                             $6.52
MANUEL FERRER                     1511 ALABAMA AVE                                              SHEBOYGAN        WI         53081                  6004               Various                                                                                             $1.99
MANUEL MIRANDA                    39 SUMMIT AVE                                                 RACINE           WI         53404                  6004               Various                                                                                            $10.02
MANUEL MIRELES                    217 S 3RD ST                                                  COLBY            WI         54421                  6002               Various                                                                                             $7.95
MANUEL RAMIREZ                    915 S. 9TH AVE.                                               YAKIMA           WA         98902                  6004               Various                                                                                            $16.00
MANUEL SEGOVIA                    319 MAIN ST APT 4                                             COLD SPRING      MN         56320                  6002               Various                                                                                             $0.66
MANUEL VEGA                       1619 E INMAN PKWY APT 2                                       BELOIT           WI         53511                  6002               Various                                                                                             $0.85
MANUEL ZAMORA                     1506 74TH ST                                                  KENOSHA          WI         53143                  6004               Various                                                                                             $2.00
MANUELA ARREDONDO                 PO BOX 235                                                    ARLINGTON        MN         55307                  6004               Various                                                                                             $3.06
MANUELA HERIBIA                   1327 3RD AVE SW             APT 3                             ROCHESTER        MN         55902                  6004               Various                                                                                             $3.00
MANUELA SANCHEZ                   1898 LN # 11                                                  POWELL           WY         82435                  6002               Various                                                                                             $7.95
MANUELA VALDEZ                    2407 THIRD AVE                                                COUNCIL BLUFFS   IA         51501                  6004               Various                                                                                             $7.97
MANWELL DAHMAN                    2742 HIGHWAY # H                                              KEWASKUM         WI         53040                  6002               Various                                                                                             $4.05
                                  1200 N ARLINGTON HEIGHTS RD
MAPED HELIX USA INCORPORATED      STE 110                                                       ITASCA           IL         60143                  9286               Various                                                                                         $4,187.75
MARA BICHANICH                    410 N FRANKLIN ST                                             STANLEY          WI         54768                  6004               Various                                                                                             $1.00
MARA DEXTER                       404 ELLIOT STREET                                             PARDEEVILLE      WI         53954                  6004               Various                                                                                             $3.00
MARA HACKMAN                      22471 MASSIE RD                                               CHASSELL         MI         49916                  6002               Various                                                                                             $3.07
MARA OBBINK                       400 MILL ST W                                                 EDGERTON         MN         56128                  6002               Various                                                                                             $0.38
MARA PERKINS                      19 4TH AVE SE                                                 WATERTOWN        SD         57201                  6004               Various                                                                                            $23.00
MARAGRET HEUVELMANS               1669 JANICE AVE APT 107                                       GREEN BAY        WI         54304                  6002               Various                                                                                             $3.26
MARAIS FIELDS                     7739 SUNRISE RD                                               HARRIS           MN         55032                  6004               Various                                                                                            $11.73
MARALEE O FOSS                    401 N LILAC LN                                                COEUR D ALENE    ID         83814                  6002               Various                                                                                             $1.59
MARANDA KOLAR                     PO BOX 477                                                    WORLEY           ID         83876                  6002               Various                                                                                             $0.36
MARANDA SCHOOLER                  13806 FREDERICK AVE                                           OMAHA            NE         68138                  6004               Various                                                                                             $2.00
MARBALLA GOMEZ                    85668 511TH AVE                                               EWING            NE         68735                  6002               Various                                                                                             $4.63
MARC BENSON                       335 8TH AVE NE                                                PINE CITY        MN         55063                  6004               Various                                                                                             $3.00
MARC DIONNE                       1590 LIBBY STREET                                             CLARKSTON        WA         99403                  6004               Various                                                                                             $5.00
MARC FIORILLO                     539 FOREST GLEN DRIVE                                         FONTANA          WI         53125                  6004               Various                                                                                            $30.00
MARC FULLER                       14693 N SADDLE RIDGE RD                                       RATHDRUM         ID         83858                  6002               Various                                                                                             $2.66
MARC GOLDE                        1033 LUCERNE DR APT 1C                                        MENASHA          WI         54952                  6002               Various                                                                                             $2.16




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                                                                               Schedule E/F: Part 2 - Creditors With Nonpriority Unsecured Claims




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                                                                                                                                                                                              Contingent


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                                                                                                                                                     Last 4 Digits of     Date Debt was
                                                                                                                                                        Account         Incurred, Basis for
             Creditor Name                  Address1               Address2            Address3             City       State         Zip    Country     Number                Claim                                                                             Total Claim
MARC GOLIKE                     181 LARCH LANE                                                      KALISPELL       MT         59901                6004                Various                                                                                            $38.00
MARC HANSEN                     PO BOX 316                                                          WEIPPE          ID         83553                6002                Various                                                                                             $1.21
MARC JOHNSON                    1290 N 2ND ST                                                       LANDER          WY         82520                6002                Various                                                                                             $4.47
MARC MEIGHAN                    204 N MAIN ST                                                       GREENWOOD       WI         54437                6002                Various                                                                                            $18.23
MARC MONIER                     11315 VALLEY RD # 1                                                 BELLE FOURCHE   SD         57717                6002                Various                                                                                             $8.03
MARC NELSON                     807 BRYDEN AVE                                                      LEWISTON        ID         83501                6002                Various                                                                                             $1.42
MARC REILLY                     506 FIFTH ST PC                                                     MARQUETTE       MI         49855                6002                Various                                                                                             $0.44
MARC WERNIMONT                  512 16TH ST                                                         WISNER          NE         68791                6002                Various                                                                                             $9.75
MARCELINA GUERTHEZ              11 SUNRISE DR                                                       WATERTOWN       SD         57201                6004                Various                                                                                            $13.26
MARCELLA COATES                 151 N EAGLE ST APT 553                                              OSHKOSH         WI         54902                6002                Various                                                                                             $2.08
MARCELLA DANIELS                5819 S STREET                                                       OMAHA           NE         68117                6004                Various                                                                                            $11.38
MARCELLA GREGORY                RR 1 BOX 326                                                        BLUFFS          IL         62621                6002                Various                                                                                             $0.71
MARCELLA LEWIS                  1319 SO 164 ST                                                      OMAHA           NE         68130                6004                Various                                                                                             $4.00
MARCELLA PECKHAM                PO BOX 243                                                          CLARK           SD         57225                6004                Various                                                                                            $38.40
MARCELLA WIGG                   9720 HOLLOW TREE DR                                                 LINCOLN         NE         68512                6004                Various                                                                                            $20.00
MARCELLE HANSON                 1811 FLORENCE AVE                                                   EAU CLAIRE      WI         54703                6002                Various                                                                                             $3.70
MARCELLOUS A WOMACK             718 W 10TH AVE APT 3                                                WEBSTER         SD         57274                6002                Various                                                                                             $8.47
MARCENA WILLIAMS                5100 FLORANCE BLVD            APT # 401                             OMAHA           NE         68110                6004                Various                                                                                             $4.00
MARCHA MARSH                    6620 NO 107 PLZ                                                     OMAHA           NE         68122                6004                Various                                                                                            $27.62
MARCHETA STOFLET                1618 NATIONAL AVE                                                   MADISON         WI         53716                6004                Various                                                                                             $1.00
MARCHIA BERNAL                  1613 DUNPHAIL ST                                                    RAWLINS         WY         82301                6002                Various                                                                                             $4.19
MARCHON EYEWEAR INCORPORATED    88216 EXPEDITE WAY                                                  CHICAGO         IL         60695-0001           7408                Various                                                                                       $232,154.42
MARCI L ENGELBRECHT             RR 1 BOX 216                                                        VERSAILLES      IL         62378                6002                Various                                                                                             $7.84

MARCIA BAIER                    2024 BURLINGTON SQUARE #305                                         MISSOULA        MT         59801                 6004               Various                                                                                            $44.80
MARCIA BROWN                    W2094 DOYLESTOWN RD                                                 FALL RIVER      WI         53932                 6004               Various                                                                                             $4.30
MARCIA DUBOIS                   309 9TH AVE N                                                       SAINT JAMES     MN         56081                 6002               Various                                                                                             $8.47
MARCIA GODDARD                  1867 VICTOR AVE                                                     STUART          IA         50250                 6002               Various                                                                                             $8.33
MARCIA HUNT                     310 D ST                                                            RUSKIN          NE         68974                 6002               Various                                                                                             $3.45
MARCIA K WIEST                  10226 COUNTY ROAD Y                                                 CASSVILLE       WI         53806                 6002               Various                                                                                             $6.33
MARCIA MCKINNON                 1101 N CLEVELAND AVE APT 3                                          SIOUX FALLS     SD         57103                 6002               Various                                                                                             $6.49
MARCIA MIHALOVIC                1136 CHURCH AVE                                                     SAINT CHARLES   MN         55972                 6002               Various                                                                                             $1.23
MARCIA PETERSON                 11009 462ND AVE                                                     SISSETON        SD         57262                 6002               Various                                                                                             $5.97
MARCIA RAMOS                    502 OAK ST POB # 423                                                WAKEFIELD       NE         68784                 6002               Various                                                                                             $6.58
MARCIA SAMUELS                  45 OAK DR                                                           GLADWIN         MI         48624                 6002               Various                                                                                             $0.74
MARCIA STAPF                    2206 AVE D                                                          PLATTSMOUTH     NE         68048                 6002               Various                                                                                             $4.00
MARCIA STONE                    765 ALPINE DR                                                       POCATELLO       ID         83202                 6002               Various                                                                                             $1.15
MARCIA VASTA                    1784 CHRISTIE CT                                                    DE PERE         WI         54115                 6004               Various                                                                                             $2.00
MARCIAL CASTRO-SANTIAGO         914 1/2 CROOKS ST                                                   GREEN BAY       WI         54301                 6004               Various                                                                                             $2.00
MARCIE HEBERLING                1109 S OLIVE DR                                                     SIOUX FALLS     SD         57103                 6004               Various                                                                                            $21.76
MARCIE PETE                     3905 HEMLOCK CT                                                     BELVIDERE       IL         61008                 6002               Various                                                                                             $5.92
MARCO ANTONI VALLES             113 WASHINGTON ST APT 1                                             ARCADIA         WI         54612                 6002               Various                                                                                            $10.00
MARCO ARAUJO                    PO BOX 745                                                          WILDER          ID         83676                 6004               Various                                                                                             $3.65
MARCOLIN USA INCORPORATED       PO BOX 5162                                                         CAROL STREAM    IL         60197-5162            4819               Various                                                                                       $141,754.38
MARCOS GONZALEZ                 6327 W. KAPFORD DR.                                                 GARDEN CITY     UT         84028                 6004               Various                                                                                            $20.00
MARCOS PIZZA HOWARD             2598 GLENDALE AVENUE                                                HOWARD          WI         54314                 6584               Various                                                                                          $302.20

MARCOS REYNA                    1575 BLASCHKO AVE APARTME                                           ARCADIA         WI         54612                 6002               Various                                                                                                $9.45
MARCUS BOLDT                    1206 E RUSSELL AVE                                                  MILWAUKEE       WI         53207                 6002               Various                                                                                                $4.82
MARCUS D SCHULTZ                2944 JUPITER AVE                                                    EAU CLAIRE      WI         54703                 6002               Various                                                                                                $0.33
MARCUS ELIOPULOS                631 1/2 N MAIN STREET                                               FORT ATKINSON   WI         53538                 6004               Various                                                                                                $1.10
MARCUS GUERRERO                 177 H BEVERLY                                                       PORTERVILLE     CA         83257                 6002               Various                                                                                                $1.01
MARCUS LOWE                     190 QUALE RUN DR                                                    YAKIMA          WA         98908                 6004               Various                                                                                               $16.00
MARCUS MCCABE                   7767 HAHN CIRCLE DR                                                 RAPID CITY      MI         49676                 6002               Various                                                                                                $2.22




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                                                                                                                                                 Account         Incurred, Basis for
            Creditor Name                Address1              Address2        Address3              City      State           Zip   Country     Number                Claim                                                                             Total Claim
MARCUS MESSERSCHMIDT         220 N FOURTH STREET                                            WINNECONNE      WI         54986                 6004                Various                                                                                               $20.00
MARCUS MOORE JR              426 HART DR                                                    CLINTON         WI         53525                 6004                Various                                                                                               $30.50
MARCUS N PAUL                511 YORK ST                                                    BEAVER DAM      WI         53916                 6002                Various                                                                                                $9.81
MARCUS NMI RHINEHART         1170 STAR RD                                                   HELENA          MT         59602                 6002                Various                                                                                                $5.75
MARCUS PLATZ                 8650 10TH AVE NW                                               RICE            MN         56367                 6002                Various                                                                                                $5.59
MARCUS ROTHENBUEHLER         905 10TH ST                                                    WHEATLAND       WY         82201                 6002                Various                                                                                                $5.81
MARCUS SEPULVEDA             4250 EDGEWOOD                                                  MISSOULA        MT         59802                 6004                Various                                                                                               $25.00
MARCUS SNOW                  3925 FOUNTAIN GATE DR N                                        DULUTH          MN         55811                 6002                Various                                                                                                $1.04
MARCUS SPALLAS               14 1/2 E FOLLETT ST                                            FOND DU LAC     WI         54935                 6004                Various                                                                                                $1.00
MARCUS WENZEL                4404 CTY RD W                                                  VALDERS         WI         54245                 6004                Various                                                                                               $20.00
MARCUS WEST                  8256 64TH ST                                                   KENOSHA         WI         53143                 6004                Various                                                                                               $13.00
MARCUS WILSON                300 LEGION FIELD RD                                            MARSHALL        MN         56258                 6004                Various                                                                                                $3.00
MARCY L POTENBERG            W2496 KOCH RD                                                  JEFFERSON       WI         53549                 6002                Various                                                                                                $7.01
MAREN ARRITOLA               86 NORTH HICKORY STREET                                        FOND DU LAC     WI         54935                 6004                Various                                                                                               $15.00
MAREN LARSEN                 5306 W 9910 N                                                  AMERICAN FORK   UT         84003                 6004                Various                                                                                               $26.00
MAREN SCHROEDER              603 REICHEL CIRCLE NE                                          STEWARTVILLE    MN         55976                 6004                Various                                                                                                $6.00
MARGAN LANGHOLF              851 W 175 S                                                    SPRINGVILLE     UT         84663                 6004                Various                                                                                               $15.00
MARGARET (MA SHEPHERD        3027 W 8750TH S                                                WEST JORDAN     UT         84084                 6002                Various                                                                                                $7.12
MARGARET A BRABON            111 LESTER AVE                                                 DOWAGIAC        MI         49047                 6002                Various                                                                                                $5.95
MARGARET ADE                 9302-62ND PLACE                                                KENOSHA         WI         53142                 6002                Various                                                                                                $0.63
MARGARET ALGAR               867 PARK ST. #201                                              OREGON          WI         53575                 6004                Various                                                                                                $5.40
MARGARET ANN HOWARTH         W1260 CO RD B                                                  MARINETTE       WI         54143                 6002                Various                                                                                                $1.10
MARGARET ANN HUTCHINS        30 1/2 5TH ST                                                  CLINTONVILLE    WI         54929                 6002                Various                                                                                                $7.37
MARGARET AYALA               650 W 100TH N # 321                                            PROVO           UT         84601                 6002                Various                                                                                                $0.85
MARGARET BAUDAIS             PO BOX 941                                                     EUREKA          MT         59917                 6002                Various                                                                                                $1.42
MARGARET BEEBE               N1267 STATE ROAD 85                                            MONDOVI         WI         54755                 6002                Various                                                                                                $5.84
MARGARET BEESON              10911 NEWPORT AVE                                              OMAHA           NE         68164                 6002                Various                                                                                                $0.30
MARGARET BUSAROW             4720 BYRD AVE APT 225                                          RACINE          WI         53406                 6002                Various                                                                                                $3.84
MARGARET C JENKINS           1019 15TH ST N PRE-RELEASE                                     GREAT FALLS     MT         59401                 6002                Various                                                                                                $0.68
MARGARET CALMES              1030 C W ELM DR # 3                                            LITTLE CHUTE    WI         54140                 6002                Various                                                                                                $5.59
MARGARET CAVEN               413 N 4TH ST APT 231                                           MANKATO         MN         56001                 6004                Various                                                                                               $31.60
MARGARET CHAPUT              430 S 28TH ST                                                  ESCANABA        MI         49829                 6002                Various                                                                                                $1.92
MARGARET CHEGWIDDEN          2313 LIVINGSTON AVE                                            MISSOULA        MT         59801                 6002                Various                                                                                                $1.15
MARGARET COLLINS             2518 BLACKBRIDGE RD                                            JANESVILLE      WI         53545                 6004                Various                                                                                               $16.16
MARGARET DERKSEN             303 5TH AVE N                                                  SAINT JAMES     MN         56081                 6002                Various                                                                                                $6.33
MARGARET DURRANS             329 N TREMONT ST                                               TREMONTON       UT         84337                 6002                Various                                                                                                $1.12
MARGARET E HILSABECK         1331 9TH AVE                                                   HOLDREGE        NE         68949                 6002                Various                                                                                                $1.62
MARGARET EARL                308 27TH ST SW               #6                                AUSTIN          MN         55912                 6004                Various                                                                                                $3.00
MARGARET EMERY               BOX 163                                                        WOODSTOCK       MN         56186                 6002                Various                                                                                                $8.25
MARGARET ENGEBRECHT          2104 NUTHATCH LN                                               WAUSAU          WI         54401                 6002                Various                                                                                                $1.40
MARGARET FLIPSE              2562 GILBERT AVE                                               MISSOULA        MT         59802                 6004                Various                                                                                               $61.60
MARGARET FRALEY              373 S BURRITT AVE                                              BUFFALO         WY         82834                 6002                Various                                                                                                $1.62
MARGARET FRIEDRICH           6039 32ND AVE                                                  KENOSHA         WI         53142                 6002                Various                                                                                                $9.10
MARGARET FUHRMAN             420 ROSE LN APT 10B                                            ROCK PORT       MO         64482                 6002                Various                                                                                                $4.99
MARGARET GIBSON              4434 TANGLEWOOD DR                                             JANESVILLE      WI         53546                 6004                Various                                                                                               $33.26
MARGARET GODMAN              1872 WILDCAT CT                                                DIXON           IL         61021                 6002                Various                                                                                               $10.00
MARGARET GRINDLE             4747 N M-30                                                    GLADWIN         MI         48624                 6002                Various                                                                                                $0.63
MARGARET HATHCOX             1122 CRESCENT DR                                               ANDREWS         TX         79714                 6002                Various                                                                                                $6.93
MARGARET HAYDEN              108 N K ST                                                     LIVINGSTON      MT         59047                 6002                Various                                                                                                $9.42
MARGARET HENZE               W1295 MOEHNS CLARK ROAD                                        BRODHEAD        WI         53520                 6004                Various                                                                                               $37.00
MARGARET HICKS               BOX 462                                                        MAPLETON        MN         56065                 6004                Various                                                                                                $3.00
MARGARET HILL                1702 AVENUE G                                                  FORT MADISON    IA         52627                 6004                Various                                                                                               $40.00
MARGARET HODGES              108 32ND AVENUE NE                                             GREAT FALLS     MT         59404                 6004                Various                                                                                               $99.98
MARGARET HOEHNE              213 JOHN ST                                                    KAUKAUNA        WI         54130                 6002                Various                                                                                                $0.33




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             Creditor Name                 Address1            Address2         Address3             City        State           Zip   Country     Number                Claim                                                                             Total Claim
MARGARET HUSZTI               2415 N KRUSE AVE            APT 3                              GRAND ISLAND     NE         68803                 6004                Various                                                                                            $20.00
MARGARET J ASPLUND            44 ASH BLVD                                                    BABBITT          MN         55706                 6002                Various                                                                                             $8.49
MARGARET JEFFERS              PO BOX 244                                                     WHITE LAKE       WI         54491                 6002                Various                                                                                             $0.96
MARGARET JOHNSON              122 W NICKLAUS AVENUE                                          KALISPELL        MT         59901                 6002                Various                                                                                             $2.08
MARGARET JOHNSTON             PO BOX 8384                                                    MISSOULA         MT         59807                 6004                Various                                                                                             $2.00
MARGARET KEEBLE               110 S SPRUCE ST                                                WAUBAY           SD         57273                 6002                Various                                                                                             $6.71
MARGARET KENDALL              PO BOX 715                                                     MILLEDGEVILLE    IL         61051                 6004                Various                                                                                            $37.12
MARGARET KOSTELNIK            N8431 NORTH SHORE DR                                           MENASHA          WI         54952                 6004                Various                                                                                            $11.00
MARGARET L ROESLER            81674 AVENIDA CELAYA                                           INDIO            CA         92203                 6002                Various                                                                                             $1.32
MARGARET LAPELL               413 4TH AVE S                                                  GREAT FALLS      MT         59405                 6002                Various                                                                                             $5.92
MARGARET LASHER               3313 CHICAGO AVE                                               SIOUX CITY       IA         51106                 6004                Various                                                                                             $9.03
MARGARET LEMERE               318 1/2 OLMSTEAD ST                                            WINONA           MN         55987                 6004                Various                                                                                            $15.02
MARGARET LINDSTROM            1285 E FISHER LAKE PKWY                                        NIAGARA          WI         54151                 6002                Various                                                                                             $6.55
MARGARET M LEE                1110 N CLAREMONT DR                                            JANESVILLE       WI         53545                 6002                Various                                                                                            $10.00
MARGARET MARLER               120 S MARTIN ST                                                VISALIA          CA         93291                 6002                Various                                                                                             $7.81
MARGARET MARQUARDT            848 2ND AVE N                                                  ONALASKA         WI         54650                 6002                Various                                                                                             $6.49
MARGARET N BROWN              2340 E AVE APT E20                                             STURGIS          SD         57785                 6002                Various                                                                                             $0.47
MARGARET PAGELS               1508 CREEKSIDE LN                                              GREEN BAY        WI         54311                 6002                Various                                                                                             $0.93
MARGARET PIRMANTGEN           605 W PINE ST                                                  SISSETON         SD         57262                 6002                Various                                                                                             $7.07
MARGARET RETTLER              208D S 18TH AVE                                                WEST BEND        WI         53095                 6002                Various                                                                                             $3.21
MARGARET ROBERTSON            30 SILVER LAKE PLACE NW     # 317                              ROCHESTER        MN         55901                 6004                Various                                                                                            $31.45
MARGARET RODE                 45909 HWY 212                                                  WATERTOWN        SD         57201                 6004                Various                                                                                             $8.32
MARGARET RUNDQUIST            107 E 4TH ST                                                   MORRIS           MN         56267                 6002                Various                                                                                             $4.41
MARGARET SCHWABENLENDER       N8277 COTTAGE DR                                               FOND DU LAC      WI         54937                 6002                Various                                                                                             $0.63
MARGARET SHARP                1183 MICHALINE DR                                              GREEN BAY        WI         54304                 6002                Various                                                                                             $7.64
MARGARET SHEEHAN              BOX 75                                                         NEWCASTLE        WY         82701                 6002                Various                                                                                             $1.12
MARGARET SHERMAN              53054 NATURE AVE                                               PALISADE         MN         56469                 6002                Various                                                                                             $4.16
MARGARET SNAZA                700 KNIGHT ST APT 215 PMB                                      SAINT PETER      MN         56082                 6002                Various                                                                                             $4.99
MARGARET STEDER               3836 CO RD C                                                   MOSINEE          WI         54455                 6002                Various                                                                                             $9.95
MARGARET TYNE                 8044 W JUDSON RD                                               POLO             IL         61064                 6002                Various                                                                                             $9.01
MARGARET VANDERSYDE           406 E 4TH ST                                                   ALBERT LEA       MN         56007                 6004                Various                                                                                            $15.00
MARGARET WALTERS              1308 FRANKLIN ST                                               BELLEVUE         NE         68005                 6002                Various                                                                                             $9.56
MARGARET WILSON               1501 RIM ROCK CT                                               BOISE            ID         83712                 6004                Various                                                                                             $5.93
MARGARET WING                 1828 CALEDONIA ST                                              LA CROSSE        WI         54603                 6002                Various                                                                                             $3.73
MARGARITA CADLE               310 W 15TH AVE                                                 TORRINGTON       WY         82240                 6002                Various                                                                                             $7.10
MARGARITA CASTRO              1023 HILLSIDE DRIVE                                            JEFFERSON        WI         53549                 6004                Various                                                                                            $20.00
MARGARITA GARIBAY             985 FIR ST S                                                   SALEM            OR         97302                 6004                Various                                                                                            $12.98
MARGARITA GONZALEZ            1110 E 5TH AVE                                                 MONMOUTH         IL         61462                 6002                Various                                                                                             $2.49
MARGARITA LUNA CUEVAS         703 8TH ST NW                                                  AUSTIN           MN         55912                 6002                Various                                                                                             $8.60
MARGARITA RANGEL RODRIGUEZ    3222 X ST                                                      OMAHA            NE         68107                 6004                Various                                                                                             $4.00
MARGARITA ROBLES FLORES       5120 S 20TH ST                                                 OMAHA            NE         68107                 6004                Various                                                                                             $4.00
MARGARITA ROJAS               4626 SO POSEIDON DR                                            SALT LAKE CITY   UT         84120                 6004                Various                                                                                            $16.00
MARGARITA TOLAMA              1923 1ST AVENUE LOT #19                                        SIOUX CITY       NE         68776                 6004                Various                                                                                            $25.00
MARGARITA V IAROVA            4816 GOLDENROD LN                                              LINCOLN          NE         68512                 6002                Various                                                                                             $3.75
MARGENE K ADAMS               1413 G ST APT 5                                                AUBURN           NE         68305                 6002                Various                                                                                             $3.53
MARGIE CHESNEY                226 5TH AVE NW                                                 BYRON            MN         55920                 6002                Various                                                                                             $8.14
MARGIE COATS                  2382 BOWLIN LN                                                 TWIN FALLS       ID         83301                 6002                Various                                                                                             $2.93
MARGIE G SIMON                784 W LAKE LANSING ROAD                                        EAST LANSING     MI         48823                 9044                Various                                                                                        $12,122.00
MARGIE JOHNSON                124 SUN PRAIRIE RD                                             GREAT FALLS      MT         59404                 6004                Various                                                                                             $4.98
MARGIE LENHART                2937 26TH ST                                                   BIRCHWOOD        WI         54817                 6002                Various                                                                                             $3.29
MARGIE METZENBAUER            756 IRVINE ST APT 105                                          CHIPPEWA FALLS   WI         54729                 6002                Various                                                                                             $5.89
MARGIE ORLANDO                220 PORTLAND AVE            APT 8A                             BELOIT           WI         53511                 6004                Various                                                                                             $1.00
MARGIE PETERS                 PO BOX 321                                                     NASHUA           MT         59248                 6002                Various                                                                                             $2.33
MARGIE SHORT                  1240 S MARTIN ST                                               LIGONIER         IN         46767                 6002                Various                                                                                             $8.14




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MARGIE ULRICH                  W9194 RIPLEY RD LOT 62                                             CAMBRIDGE        WI         53523                 6002                Various                                                                                             $9.07
MARGO DODSON                   2531 HAWTHORNE DR                                                  BELOIT           WI         53511                 6002                Various                                                                                             $4.19
MARGO POPPLE                   1902 AVE I                                                         GOTHENBURG       NE         69138                 6002                Various                                                                                             $2.19
MARGOT KALINOSKI               541 SCHILLER ST 27                                                 SUN PRAIRIE      WI         53590                 6004                Various                                                                                             $2.00
MARGRET BALDERSON              2220 BURNHAM ST                                                    LINCOLN          NE         68502                 6002                Various                                                                                             $7.97
MARGRET COOK                   8460 HARDING ROAD                                                  BANCROFT         WI         54921                 6004                Various                                                                                            $50.00
MARGUERIETTE SETTLE            PO BOX 495                                                         CANYON CREEK     MT         59633                 6004                Various                                                                                             $4.00
MARGUERITA LORGE               E8686 CTY RD O                                                     CLINTONVILLE     WI         54929                 6002                Various                                                                                             $3.33
MARGUERITE LAABS               PO BOX 440                                                         KIMBALL          MN         55353                 6002                Various                                                                                             $8.88
MARGURETTE BEYERS              2200 FORT HAYES RD                                                 RAPID CITY       SD         57702                 6002                Various                                                                                            $20.26
MARI CRANWELL                  711 ELM ST                                                         LAUREL           MT         59044                 6004                Various                                                                                            $10.00
MARI HERNANDEZ                 1125 VIRGINIA ST                                                   RACINE           WI         53405                 6004                Various                                                                                             $5.00
MARIA AGUIRRE                  424 WESTCENTRAL                                                    MADISON          SD         57042                 6002                Various                                                                                             $5.45
MARIA ALFARO                   2620 E STREET #4                                                   OMAHA            NE         68107                 6004                Various                                                                                            $21.94
MARIA ALMANZA                  2002 LENOX AVE                                                     BELOIT           WI         53511                 6004                Various                                                                                           $103.70
MARIA ALVAREZ                  4854 O STREET                                                      OMAHA            NE         68117                 6004                Various                                                                                            $23.00
MARIA ANGELI AGUILAR           118 S 6TH ST                                                       ONEILL           NE         68763                 6002                Various                                                                                             $0.41
MARIA ANGULO                   1410 A DRUMHELLER STREET                                           WALLA WALLA      WA         99362                 6004                Various                                                                                            $30.00
                               605 HASKINS STREET UPPER
MARIA ARANDA                   APARTMENT                                                          LAKE GENEVA      WI         53147                  6004               Various                                                                                               $24.00
MARIA ARMENDARIZ               221 N PIONEER AVE                                                  LYONS            KS         67554                  6002               Various                                                                                                $4.44
MARIA AVALOS                   607 S 18TH AVE                                                     YAKIMA           WA         98902                  6004               Various                                                                                               $33.65
MARIA AYALA                    2430 DEER TRAIL                                                    GREEN BAY        WI         54302                  6004               Various                                                                                                $1.99
MARIA BATZ                     711 JOHNSON ST                                                     WAKEFIELD        NE         68784                  6002               Various                                                                                                $5.26
MARIA BENITEZ                  505 VAN DYNE RD                                                    FOND DU LAC      WI         54937                  6002               Various                                                                                                $8.33
MARIA BERMEJO                  N5152 CTY RD E                                                     IRON RIDGE       WI         53035                  6002               Various                                                                                                $2.88
MARIA BLANCHARD                PO BOX 755                                                         COLSTRIP         MT         59323                  6004               Various                                                                                                $7.30
MARIA BROWN                    704 SCOTT ST APT 1                                                 WAUSAU           WI         54401                  6002               Various                                                                                                $0.90
MARIA C GONZALEZ DE ORNEL      420 JUNIPER AVE                                                    CRETE            NE         68333                  6002               Various                                                                                                $3.62
MARIA CAMACHO                  330 MAIN ST                                                        HOLLAND          MN         56139                  6002               Various                                                                                                $7.07
MARIA CASAS                    1038 7TH ST NW                                                     SALEM            OR         97304                  6004               Various                                                                                               $75.00
MARIA CEPEDA                   316 E UCLID AVE                                                    MONMOUTH         IL         61462                  6004               Various                                                                                               $20.00
MARIA CHAVEZ                   1414 ST. PAUL ROAD 13                                              GRAND ISLAND     NE         68801                  6004               Various                                                                                               $52.75
MARIA CHRIST CAMPOS            7072 HIGHWAY 789                                                   LANDER           WY         82520                  6002               Various                                                                                                $6.14
MARIA CORONAD0 REYNA           111 E 3RD ST                                                       WAYNE            NE         68787                  6002               Various                                                                                                $1.78
MARIA CORPUS                   1254 TALCOTT STREET                                                FORT ATKINSON    WI         53538                  6004               Various                                                                                               $11.98
MARIA D ESPINO                 116 S 4TH ST                                                       ABBOTSFORD       WI         54405                  6002               Various                                                                                                $0.36
MARIA D GONZALEZ               44 PARKWAY TER LOT 2A                                              RIPON            WI         54971                  6002               Various                                                                                                $2.77
MARIA DAVILA                   5884 WOODVIEW DR                                                   SALT LAKE CITY   UT         84118                  6002               Various                                                                                                $7.15
MARIA DAVIS                    403 DONALD RD.                                                     WAPATO           WA         98951                  6004               Various                                                                                               $33.00
MARIA DE JES GABINO-LORENZO    1304 MERIDIAN ST                                                   CURTISS          WI         54422                  6002               Various                                                                                                $1.62
MARIA DE L PIEDRA              W4889 US HIGHWAY 10 LOT 21                                         NEILLSVILLE      WI         54456                  6002               Various                                                                                                $4.27
MARIA DEL CASTILLO BARROSO     2718 ROSE DR SE                                                    ROCHESTER        MN         55904                  6002               Various                                                                                                $7.51
MARIA DOMINGUE                 151 E FOOTE ST                                                     BUFFALO          WY         82834                  6002               Various                                                                                                $2.66
MARIA DUNLAP                   5915 N 100TH PLZ               APT # 2                             OMAHA            NE         68106                  6004               Various                                                                                                $2.00
MARIA DURAN                    2014 KENWOOD AVE                                                   BELOIT           WI         53511                  6004               Various                                                                                               $10.00
MARIA E ANGELES                702 17TH ST LOT 6                                                  MONROE           WI         53566                  6002               Various                                                                                                $4.05
MARIA E DENIZ                  2009 ROBERTSON AVE LOT 7                                           WORLAND          WY         82401                  6002               Various                                                                                                $6.96
MARIA E LAURENT                1002 WHITTECAR AVE                                                 GREGORY          SD         57533                  6002               Various                                                                                                $5.40
MARIA E LOERA                  422 MAPLEWOOD CT APT 12                                            ARCADIA          WI         54612                  6002               Various                                                                                                $5.15

MARIA ELOISA ROJAS GASCA       627 ROCKY CREEK DR NE TRLR 8                                       ROCHESTER        MN         55906                  6002               Various                                                                                               $10.00
MARIA ELVIRA                   623 CIRCLE COURT SW                                                ROCHESTER        MN         55902                  6004               Various                                                                                                $3.00
MARIA EMERSON                  2763 EVERGREEN AVE                                                 SALT LAKE        UT         84109                  6004               Various                                                                                               $24.00




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                                                                                                                                                                                           Contingent


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                                                                                                                                                  Last 4 Digits of     Date Debt was
                                                                                                                                                     Account         Incurred, Basis for
             Creditor Name               Address1              Address2          Address3             City         State           Zip   Country     Number                Claim                                                                             Total Claim
MARIA ENRIQUEZ                1538 SOUTH 1200 WEST                                            SALT LAKE CITY    UT         84101                 6004                Various                                                                                               $34.98
MARIA FLORES                  533A S 5TH AVE                                                  WEST BEND         WI         53095                 6002                Various                                                                                                $7.07
MARIA FRAGOSO                 401 WHEATLAND DR                                                BELVIDERE         IL         61008                 6004                Various                                                                                                $2.00
MARIA FRIAS                   XXX                                                             APPLETON          WI         54914                 6004                Various                                                                                                $5.02
MARIA FUTRELL                 4087 D STREET                                                   OMAHA             NE         68107                 6004                Various                                                                                                $4.00
MARIA G. GASCA                742 30TH ST NE                                                  ROCHESTER         MN         55906                 6002                Various                                                                                                $0.55
MARIA GARCIA                  1554 N 700TH E APT 3                                            SHELLEY           ID         83274                 6002                Various                                                                                                $8.99
MARIA GARZA                   7828-42ND AVE                                                   KENOSHA           WI         53142                 6002                Various                                                                                                $7.84
MARIA GASCA-MOZQUEDA          1461 WHITEWATER AVE APT 4                                       SAINT CHARLES     MN         55972                 6002                Various                                                                                                $1.12
MARIA GOMEZ                   630 JACOBSON AVE                                                MADISON           WI         53714                 6004                Various                                                                                                $1.00
MARIA GONZALES-DIAMANT        911 N MAPLE ST                                                  NORTH PLATTE      NE         69101                 6002                Various                                                                                                $0.74
MARIA GONZALEZ                312 PROSPECT ST                                                 BEAR CREEK        WI         54922                 6002                Various                                                                                                $0.79
MARIA GUADAL GALICIA          2630 SPRINGCREEK RD                                             BELVIDERE         IL         61008                 6002                Various                                                                                                $6.19
MARIA GUERRERO                5517 SOUTH 32 STREET                                            OMAHA             NE         68107                 6004                Various                                                                                                $2.00
MARIA HAUG EOFF               28901 S ORCHARD ACCESS RD                                       BOISE             ID         83716                 6002                Various                                                                                                $0.38
MARIA HERMOSILLO              308 OPAL ST                                                     GRANDVIEW         WA         98930                 6002                Various                                                                                                $8.44
MARIA HERNANDEZ               2630 SPRING CREEK RD        APT B                               BELVIDERE         IL         61008                 6004                Various                                                                                               $15.90
MARIA HIDALGO                 328 8TH STREET                                                  WINDOM            MN         56101                 6004                Various                                                                                                $3.00
MARIA I TINOCO                1385 E WILSON AVE APT 12                                        ARCADIA           WI         54612                 6002                Various                                                                                                $7.95
MARIA IBARRA ANGELES          3707WILDON AVE NE                                               SALEM             OR         97305                 6004                Various                                                                                               $13.00
MARIA JIMENEZ                 209 SPRUCE STREET                                               SAUK CITY         WI         53583                 6004                Various                                                                                               $27.00
MARIA JOCHOLA DI XIQUIT       1204 10TH NORTH AVE                                             ST JAMES          MN         56081                 6002                Various                                                                                                $6.30
MARIA KLEMME                  126 DEWEY ST                                                    OREGON            WI         53575                 6004                Various                                                                                                $2.00
MARIA L TLAPANCO              416 W RIVER ST                                                  WAUTOMA           WI         54982                 6002                Various                                                                                                $6.49
MARIA LECLAIRE                1031 OSLO STREET                                                WORTHINGTON       MN         56187                 6004                Various                                                                                                $3.00
MARIA LOPEZ                   1251 N ARROW LN                                                 BOISE             ID         83704                 6004                Various                                                                                                $8.02
MARIA LUISA CRUZ MENDOZA      1779 SADDLE DR                                                  ARCADIA           WI         54612                 6002                Various                                                                                                $8.49
MARIA LUZ CAMPOS              1109 4TH AVE                                                    BREWSTER          MN         56119                 6004                Various                                                                                                $3.00
MARIA MARIN                   PO BOX 593                                                      JACKPOT           NV         89825                 6002                Various                                                                                                $0.41
MARIA MARTINEZ                250 WINDSOR STREET                                              SUN PRAIRIE       WI         53590                 6004                Various                                                                                                $1.00
MARIA MARTINEZ-JIMENEZ        501 BOYD ST                                                     MURTAUGH          ID         83344                 6004                Various                                                                                                $3.65
MARIA MONTALTO                208 THAYER STREET           APT 3                               RHINELANDER       WI         54501                 6004                Various                                                                                               $25.00
MARIA MORRIS                  248 N LINCOLN ST                                                WEST POINT        NE         68788                 6002                Various                                                                                                $2.52
MARIA MUNOZ                   900 ELRU DR                                                     MENASHA           WI         54952                 6002                Various                                                                                                $8.08

MARIA NAVARRO                 1410 W FLAMINGO AVE TRLR 10                                     NAMPA             ID         83651                   6002              Various                                                                                                $4.18
MARIA O CHAVEZ                416 2ND AVE S                                                   SAINT JAMES       MN         56081                   6002              Various                                                                                                $9.10
MARIA O PAZ DE SILVA          200A WASHINGTION AVE                                            STEVENS POINT     WI         54481                   6002              Various                                                                                                $3.51
MARIA OBERHEIM                2571 IVANHOE AVE                                                IONIA             IA         50645                   6002              Various                                                                                                $7.67
MARIA ORTIZ VASQUEZ           1297 MARIO ROAD SE                                              ROCHESTER         MN         55904                   6004              Various                                                                                                $3.00
MARIA OZUNA                   823 VALLEY DR                                                   WAYNE             NE         68787                   6002              Various                                                                                                $7.26
MARIA PASCHALL                PO BOX 381                                                      UPTON             WY         82730                   6002              Various                                                                                                $2.55
MARIA PASTRANA                PO BOX 136                                                      VEBLEN            SD         57270                   6002              Various                                                                                                $9.81
MARIA PATINO CORONA           1901 EASTMAN AVE            APT. 12                             GREEN BAY         WI         54302                   6004              Various                                                                                               $20.00
MARIA PAYNE                   1451 TULLER RD APT 11                                           NEENAH            WI         54956                   6002              Various                                                                                                $9.34
                              170 N WASHINGTON BLVD APT
MARIA PEREZ                   40                                                              OGDEN             UT         84404                  6002               Various                                                                                            $19.97
MARIA PICON DE ESQUEDA        1603 MILLER STREET                                              WORTHINGTON       MN         56187                  6004               Various                                                                                           $111.00
MARIA PIEDRA                  2801 S DELLWOOD ST                                              APPLETON          WI         54915                  6002               Various                                                                                             $1.89
MARIA PORRAS                  118 AUTUMN DRIVE                                                DELAVAN           WI         53115                  6004               Various                                                                                            $18.02
MARIA R JONES                 103 LEROY ST                                                    AUDUBON           IA         50025                  6002               Various                                                                                             $2.55
MARIA RAINS                   BOX 24                                                          BONAPARTE         IA         52620                  6002               Various                                                                                             $2.38
MARIA RAMIREZ                 409 W 19TH ST                                                   SOUTH SIOUX CIT   NE         68776                  6002               Various                                                                                             $0.66
MARIA RANKIN                  221 W 2ND ST                                                    WAYNE             NE         68787                  6002               Various                                                                                             $3.53




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                                                                                                                                                      Account         Incurred, Basis for
              Creditor Name                Address1              Address2         Address3              City        State           Zip   Country     Number                Claim                                                                             Total Claim
MARIA REEVES                   10098 SHELTER WOOD AVE                                          BOISE             ID         83709                 6004                Various                                                                                                $2.88
MARIA RENTERIA                 W3160 WESTOWNE CT                                               APPLETON          WI         54915                 6002                Various                                                                                                $1.92
MARIA RODRIGUEZ                57559 US HWY 12 J6                                              NORTH FREEDOM     WI         53951                 6004                Various                                                                                                $7.00
MARIA RODRIGUEZ FERNANDEZ      4752 S 83RD                  APT 38                             OMAHA             NE         68127                 6004                Various                                                                                                $4.00
MARIA RODRIQUEZ                PO BOX 381                                                      WISNER            NE         68791                 6002                Various                                                                                                $6.88
MARIA ROSARI FIERROS GOVEA     853 THELOSEN DR                                                 KIMBERLY          WI         54136                 6002                Various                                                                                                $2.11
MARIA ROSARI SALINAS           176 US HIGHWAY 41 S                                             DAGGETT           MI         49821                 6002                Various                                                                                               $10.00
MARIA ROSELL RESHESKE          131 11TH ST S                                                   WISCONSIN RAPID   WI         54494                 6002                Various                                                                                                $9.21
MARIA RUCH                     11319 NS3590                                                    SEMINOLE          OK         74868                 6002                Various                                                                                                $0.47
MARIA S CHRISTOPHERSEN         708 N 30TH AVE                                                  WAUSAU            WI         54401                 6002                Various                                                                                                $1.21
MARIA SALCEDO                  125 PARK AVE                                                    KALISPELL         MT         59901                 6002                Various                                                                                                $3.73
MARIA SANCHEZ                  3924 S, FLOWER AVE           AP                                 SHEBOYGAN         WI         53081                 6004                Various                                                                                               $15.00
MARIA SANTANA                  226 BERKSHIRE LANE                                              JACKSONVILLE      IL         62650                 6004                Various                                                                                               $85.00
MARIA SANTOS                   235 6TH ST NW                APT 3                              PLAINVIEW         MN         55964                 6004                Various                                                                                               $28.00
MARIA SANTOS LEYVA             2250 IVY AVE TRLR 42                                            CRETE             NE         68333                 6002                Various                                                                                                $3.12
MARIA SAUCEDA                  1919 57 STREET                                                  KENOSHA           WI         53140                 6004                Various                                                                                               $20.91
MARIA SAVANNAH                 616 E JOHN ST APT A                                             ONEILL            NE         68763                 6002                Various                                                                                                $5.23
MARIA SHELTON                  2881 VESTA ST                                                   IDAHO FALLS       ID         83402                 6002                Various                                                                                                $7.84
MARIA SILVA                    1626 N FIG AVE 117                                              MARSHFIELD        WI         54449                 6004                Various                                                                                                $2.00
MARIA SOLIS                    5806 RAYMOND RD #1C                                             MADISON           WI         53711                 6004                Various                                                                                                $5.70
MARIA SORENSEN                 210 SW MILLS ST                                                 GREENFIELD        IA         50849                 6002                Various                                                                                                $7.92
MARIA SOSA                     P.O. BOX 32                                                     BIGELOW           MN         56117                 6004                Various                                                                                                $3.00
MARIA SOTELO                   402 E SUNDERLAND ST                                             CHASE             KS         67524                 6002                Various                                                                                                $5.97
MARIA SPILKER                  3030 N 12TH ST                                                  QUINCY            IL         62305                 6002                Various                                                                                                $4.27
MARIA SUAREZ                   820 E ST LOT 84                                                 HOLDREGE          NE         68949                 6002                Various                                                                                                $2.52
MARIA TORRES                   P.O. BOX 283                                                    GAYLORD           MN         55334                 6004                Various                                                                                               $56.00
MARIA URIBE                    601 N BROADWAY AVE                                              NEW HAMPTON       IA         50659                 6002                Various                                                                                                $5.78
MARIA VALADEZ                  961 E WISCONSIN ST                                              DELAVAN           WI         53115                 6002                Various                                                                                                $6.77
MARIA VILLALATA                1450 BURLINTON AVE APT 23                                       WORTHINGTON       MN         56187                 6004                Various                                                                                                $3.00
MARIA VILLANVERA               195 WHITTIER ST                                                 IDAHO FALLS       ID         83401                 6004                Various                                                                                               $20.96
MARIA YESSICA CISNEROS DIAZ    N1499 STATE ROAD 28 UPPER                                       ADELL             WI         53001                 6004                Various                                                                                               $90.00
MARIAH BARTLETT                4123 W SAWBLADE LN APT 204                                      COEUR D'ALENE     ID         83814                 6002                Various                                                                                                $7.75
MARIAH COPELAND                1732 4TH AVE APT 213                                            PLATTSMOUTH       NE         68048                 6002                Various                                                                                                $5.26
MARIAH COVILL                  686 FAIR OAKS DR                                                NEENAH            WI         54956                 6004                Various                                                                                                $2.50
MARIAH CROSSMAN                W211 N11863 HILLTOP DR A4                                       GERMANTOWN        WI         53022                 6004                Various                                                                                                $1.00
MARIAH FAILS                   710 ST PETER AVE                                                ALBERT LEA        MN         56007                 6004                Various                                                                                                $3.00
MARIAH KANISTANAUX             PO B OX # 5073                                                  KALISPELL         MT         59903                 6002                Various                                                                                                $7.37
MARIAH LEFFELMAN               217 B WEST PARKVIEW ST                                          COTTAGE GROVE     WI         53527                 6004                Various                                                                                                $5.40
MARIAH LITTLELIGHT             447 BUNTING STREET                                              BILLINGS          MT         59101                 6004                Various                                                                                                $2.00
MARIAH MUSOLF                  BOX 262                                                         WALTHAM           MN         55982                 6004                Various                                                                                                $3.00
MARIAH PIKE                    1505 E. ZENIPH AVE.                                             SALT LAKE CITY    UT         84106                 6004                Various                                                                                                $2.02
MARIAH PINON                   822 LINCOLN RD #208                                             BELLEVUE          NE         68005                 6004                Various                                                                                                $4.00
MARIAH POWELL                  2022 THOMAS ST                                                  MARINETTE         WI         54143                 6002                Various                                                                                                $1.45
MARIAH SCHNELL                 PO BOX 97                                                       HARDY             NE         68943                 6002                Various                                                                                                $5.97
MARIAH SOSA                    109 W PARKVIEW ST APT B                                         COTTAGE GROVE     WI         53527                 6004                Various                                                                                                $2.00
MARIAH SOUTHWICK               1008 13TH AVE NE                                                AUSTIN            MN         55912                 6004                Various                                                                                               $25.00
MARIAH STEVENS                 2136 N BRADY RD                                                 BRADY             NE         69123                 6002                Various                                                                                                $8.99
MARIAH WALKER                  2815 WEST 7TH                                                   HASTINGS          NE         68901                 6004                Various                                                                                               $35.00
MARIAHNA DASH                  PO BOX 3                                                        ORANGEVILLE       IL         61060                 6004                Various                                                                                                $1.12
MARIAN A THIMM                 23019 EGAN RD                                                   GLIDDEN           WI         54527                 6002                Various                                                                                                $7.64

MARIAN BAUD                    403 N JOHNSON ST                                                PORT WASHINGTON WI           53074                   6002              Various                                                                                                $7.51
MARIAN CONNER                  1801 SOUTH 48TH                                                 LINCOLN         NE           68506                   6004              Various                                                                                               $13.15
MARIAN CUTLER                  424 W CHERRY LANE #142                                          MERIDIAN        ID           83642                   6004              Various                                                                                               $61.53




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             Creditor Name                           Address1                 Address2          Address3             City        State           Zip   Country     Number                Claim                                                                             Total Claim
MARIAN D ANDERSON                         213 HALSTEAD ST                                                    DOWAGIAC         MI         49047                 6002                Various                                                                                                $6.99
MARIAN DANIELS                            71805 318TH ST                                                     KIMBALL          MN         55353                 6002                Various                                                                                                $5.56
MARIAN DORA TAYLOR                        1223 N 2550TH E                                                    LAYTON           UT         84040                 6002                Various                                                                                                $7.89
MARIAN DUBY                               3304 MERO ST                                                       MANITOWOC        WI         54220                 6002                Various                                                                                                $7.07
MARIAN FARKAS                             5801 BRITTANY PLACE                                                LINCOLN          NE         68516                 6004                Various                                                                                               $11.98
MARIAN GRAGE                              114 E MAIN ST                                                      DALTON           MN         56324                 6002                Various                                                                                                $2.08
MARIAN NAPIER                             841 SOUTH 47TH                 APT 228                             LINCOLN          NE         68510                 6004                Various                                                                                                $1.79
MARIAN SCHIESSER                          405 N BURLINGTON AVENUE                                            FERGUS FALLS     MN         56537                 6002                Various                                                                                                $1.66
MARIAN SMART                              520 FOURTH AVE W APT C                                             KALISPELL        MT         59901                 6002                Various                                                                                                $6.38
MARIAN STICKEL                            336 ROUNDUP AVE                                                    NEWCASTLE        WY         82701                 6002                Various                                                                                                $0.66
MARIANA DAVILA                            300 LOGAN ST LOT 13                                                WEST POINT       NE         68788                 6002                Various                                                                                                $1.34
MARIANA ORNELAS ROCHA                     1271 MARION RD SE                                                  ROCHESTER        MN         55904                 6004                Various                                                                                                $3.00
MARIANA R ACOSTA                          W301 BOBWHITE RD                                                   MARSHFIELD       WI         54449                 6002                Various                                                                                                $3.86
MARIANA ROMERO                            1370 W. BRAVEHEART CT.                                             SALT LAKE CITY   UT         84119                 6004                Various                                                                                                $1.00
MARIANITA ROCHA                           2221 PARK LN SE                LOT 259                             ROCHESTER        MN         55904                 6004                Various                                                                                                $3.00
MARIANNA CERECERES                        N2734 CTY RD T                                                     WAUTOMA          WI         54982                 6004                Various                                                                                                $3.00
MARIANNE ALTMAN                           1204 25TH AVE                                                      MONROE           WI         53566                 6002                Various                                                                                                $4.88
MARIANNE D DAVIS                          136 W DOUGLAS ST                                                   RICE LAKE        WI         54868                 6002                Various                                                                                                $5.37
MARIANNE GARZA                            27938 STATE ROAD 40                                                NEW AUBURN       WI         54757                 6002                Various                                                                                                $0.91
MARIANNE L SHERMAN                        BOX 103                                                            HUNTLEY          MT         59037                 6002                Various                                                                                                $8.11
MARIANNE MILLER                           1528 8TH AVE SE                                                    SAINT CLOUD      MN         56304                 6004                Various                                                                                                $3.00
MARIANNE SCHUSSLERYENOR                   1355 PRESCOTT ST                                                   MARINETTE        WI         54143                 6002                Various                                                                                                $8.47
MARIANNE TESCH                            N9458 LAWN RD                                                      SEYMOUR          WI         54165                 6004                Various                                                                                               $25.00
MARIANNE VANHANDEL                        4331 SILVER LEAF CT                                                APPLETON         WI         54913                 6002                Various                                                                                                $8.25

MARIANO BADILLO                           1014 FOUNTAIN ST PO BOX # 64                                       ALBERT LEA       MN         56007                  6002               Various                                                                                                $0.68
MARIANO MENDOZA                           1898 LN # 11                                                       POWELL           WY         82435                  6002               Various                                                                                                $7.12
                                                                                                                                                                                   11/21/2018 -
MARIAS RIVER ELECTRIC COOPERATIVE, INC,   P.O. BOX 729                                                       SHELBY           MT         59474-0729             75797              12/20/2018                                                                                      $2,677.40
MARIBEL GRANADOS                          209 GREGOR ST                                                      WATERLOO         WI         53594                  6004               Various                                                                                             $2.00
MARIBEL RAMOS CALMO                       1109 N. WHEELER AVE            APT 2                               GRAND ISLAND     NE         68801                  6004               Various                                                                                            $30.00
MARIBEL ROMERO                            N3161 CNTY AB                                                      KEWAUNEE         WI         54216                  6002               Various                                                                                             $9.01
MARIBEL TORRES                            635 JEFFERSON AVE                                                  POCATELLO        ID         83201                  6002               Various                                                                                             $9.29
MARIBELIZ PINEIRO AVILA                   2412 22ND AVE NW               APT. 4                              ROCHESTER        MN         55901                  6004               Various                                                                                             $3.00
MARICELA MARTINEZ                         371 GASNGLE RD.                                                    WAPATO           WA         98951                  6004               Various                                                                                            $10.00
MARICELA MORENO                           409 OBIE SUE AVE                                                   WORLAND          WY         82401                  6002               Various                                                                                             $2.00
MARICELA ONATE                            313 S MAPLE ST                                                     WEST POINT       NE         68788                  6002               Various                                                                                             $2.55
MARICELA TORRES                           986 W 300 S #3                                                     PROVO            UT         84601                  6004               Various                                                                                            $10.00
MARICELLA CHAIREZ                         1403 MAPLE STREET              A                                   RACINE           WI         53404                  6004               Various                                                                                             $3.00
MARICELLA M BEVEL                         203 SW 10TH ST                                                     ANDREWS          TX         79714                  6002               Various                                                                                             $5.15
MARICRUZ MENDEZ                           836 HUNT AVE                                                       NEENAH           WI         54956                  6004               Various                                                                                            $67.00
MARIE A BANK                              507 W LARABEE ST                                                   OMRO             WI         54963                  6002               Various                                                                                             $3.26
MARIE A. LEGARRETA                        PO BOX 189                                                         STORY            WY         82842                  6002               Various                                                                                             $8.58
MARIE BLOMQUIST                           154 CHEVAL DR                                                      SARTELL          MN         56377                  6002               Various                                                                                             $8.49
MARIE BRYANT                              140 N STEVENS                                                      FILER            ID         83328                  6002               Various                                                                                             $6.71
MARIE COKER                               1236 S. 14TH                                                       LINCOLN          NE         68502                  6004               Various                                                                                             $4.00
MARIE DAVIS                               823 WEST 4TH STREET                                                MOSINEE          WI         54455                  6004               Various                                                                                            $20.00
MARIE DINS                                3500 TOWN HALL RD.                                                 KEWASKUM         WI         53040                  6004               Various                                                                                             $3.00
MARIE FLOURNOY                            2320 FRANK STREET                                                  EAU CLAIRE       WI         54703                  6002               Various                                                                                             $3.33
MARIE G BULK                              771 MIDDLE ST                                                      NEWAYGO          MI         49337                  6002               Various                                                                                             $7.92
MARIE GREANY                              6305 MT HWY 1                                                      DRUMMOND         MT         59832                  6002               Various                                                                                             $2.55
MARIE HICKS                               48 SPENCER VILLAGE CT                                              APPLETON         WI         54914                  6002               Various                                                                                             $4.85
MARIE KOLB                                330 CHANDLER DRIVE                                                 MOUNT CARMEL     IL         62863                  6002               Various                                                                                             $8.55
MARIE LARSON                              PO BOX 93                                                          PEASE            MN         56363                  6002               Various                                                                                             $9.01




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                                                                                                                                                                                       Contingent


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                                                                                                                                              Last 4 Digits of     Date Debt was
                                                                                                                                                 Account         Incurred, Basis for
              Creditor Name                Address1            Address2        Address3             City       State           Zip   Country     Number                Claim                                                                             Total Claim
MARIE MCMASTERS                3533 16TH ST                                                 LEWISTON        ID         83501                 6002                Various                                                                                                $7.12
MARIE MELZER                   1211 LEE ST                                                  NEENAH          WI         54956                 6002                Various                                                                                                $9.21
MARIE MOHR                     1621 SILVER THORNE DRIVE                                     QUINCY          IL         62305                 6004                Various                                                                                                $9.99
MARIE PONGRATZ                 C/O VICTORIA PONGRATZ      924 IOWA STREET                   OSHKOSH         WI         54901                 6002                Various                                                                                                $2.32
MARIE REID                     11995 OWL CREEK RD                                           NISLAND         SD         57762                 6002                Various                                                                                                $2.85
MARIE REVELS                   2612 BAUMGARTNER DR                                          LA CROSSE       WI         54603                 6002                Various                                                                                                $8.36
MARIE RIVERA                   425 S BIRD ST APT 110                                        SUN PRAIRIE     WI         53590                 6004                Various                                                                                                $4.00
MARIE ROOT                     1935 B FREEDOM DR                                            MARQUETTE       MI         49855                 6002                Various                                                                                                $6.55
MARIE ROSS                     1024 ASH ST                                                  HANCOCK         MI         49930                 6002                Various                                                                                                $4.49
MARIE SAVAGE                   2900 CLEARWATER RD         #6                                ST.CLOUD        MN         56301                 6004                Various                                                                                                $3.00
MARIE STANGLER                 W5752 HANCOCK RD                                             WATERTOWN       WI         53098                 6002                Various                                                                                                $6.90
MARIE STONE                    501 LOWER CTY LINE RD                                        PROSSER         WA         99350                 6002                Various                                                                                                $3.33
MARIE SUNSERI                  PO BOX 1311                                                  SALMON          ID         83467                 6002                Various                                                                                                $6.33
MARIE T ARANDA                 8794 S ROGERS AVE                                            CLARE           MI         48617                 6002                Various                                                                                                $1.81
MARIE TAYLOR                   PO BOX 155                                                   AHSAHKA         ID         83520                 6002                Various                                                                                                $3.37
MARIE WOERDEMANN               PO BOX 572                                                   WISNER          NE         68791                 6002                Various                                                                                               $18.06
MARIEA APPEL                   381 BOYD ST APT 4                                            FOND DU LAC     WI         54935                 6002                Various                                                                                                $4.66
MARIEANN NIELSEN               234 9TH ST NW                                                MASON CITY      IA         50401                 6002                Various                                                                                                $4.08
MARIELA HERNANDEZ              N2028 HWY 106                                                PALMYRA         WI         53156                 6004                Various                                                                                                $1.00
MARIELENA NAVA                 810 COLLEGE AVE            APT 4                             RACINE          WI         53403                 6004                Various                                                                                               $14.01
MARIJANE MARTIN                3942 HYACINTH ST                                             EUGENE          OR         97405                 6004                Various                                                                                               $33.50
MARIJANE VIERGUTZ              N785 CASTLE DR                                               DORCHESTER      WI         54425                 6004                Various                                                                                               $41.00
MARILYN A. PAGE                2708 N 9TH ST                                                COEUR D ALENE   ID         83815                 6002                Various                                                                                                $4.44
MARILYN BACHUS                 264 CORPORATE DR                                             KALISPELL       MT         59901                 6002                Various                                                                                                $6.25
MARILYN BELLING                421 N. JOHNSON STREET                                        DODGEVILLE      WI         53533                 6004                Various                                                                                               $15.00
MARILYN BENNETT                10581 S HAVENHIGHTS                                          SOUTH JORDAN    UT         84095                 6002                Various                                                                                                $8.68
MARILYN BRAUN                  989 W POLARIS CT                                             APPLETON        WI         54913                 6002                Various                                                                                                $2.09
MARILYN BUEHLER                1295 LAUREL LN                                               ODGEN           UT         84404                 6002                Various                                                                                                $5.29
MARILYN COATNEY                73280 64TH AVE                                               PERU            NE         68421                 6002                Various                                                                                                $1.94
MARILYN CORNELIUS              BOX 687                                                      JOLIET          MT         59041                 6004                Various                                                                                                $5.00
MARILYN CYR                    1290 LAKESHORE DR                                            MENASHA         WI         54952                 6002                Various                                                                                                $2.96
MARILYN DEWITT                 541 ROSELAWN BLVD                                            GREEN BAY       WI         54301                 6004                Various                                                                                                $1.71
MARILYN DIAZRIVERA             PO BOX 435                                                   WAKEFIELD       NE         68784                 6002                Various                                                                                                $3.89
MARILYN E BLAZEJEWSKI          701 EAU PLEINE CT                                            DE PERE         WI         54115                 6002                Various                                                                                                $1.12
MARILYN GALLA                  846 BLACKFOOT AVENUE                                         EUGEEN          OR         97404                 6004                Various                                                                                               $20.00
MARILYN HELM                   BOX 24 220 LAKE                                              CRYSTAL LAKE    IA         50432                 6002                Various                                                                                                $4.47
MARILYN HOLLEY                 587 S 2050TH W                                               OGDEN           UT         84404                 6002                Various                                                                                                $2.90
MARILYN HOLMES                 E5494 CTY HWY V                                              ELEVA           WI         54738                 6004                Various                                                                                                $9.92
MARILYN J WILCOX               5395 PINE LN                                                 NORTH BRANCH    MN         55056                 6002                Various                                                                                                $7.01
MARILYN JAKLICH                2612 BLAINE AVENUE                                           RACINE          WI         53405                 6004                Various                                                                                                $4.00
MARILYN JONES                  1107 7TH AVE W                                               KALISPELL       MT         59901                 6002                Various                                                                                                $6.74
MARILYN KAISER                 2503 FOX RD                                                  STURGIS         SD         57785                 6002                Various                                                                                                $0.38
MARILYN KIRWAN                 11568 WALDOS BEACH RD                                        ROSHOLT         SD         57260                 6002                Various                                                                                                $8.27
MARILYN KOWIS                  N11759 MEADOWLARK LANE                                       ATHELSTANE      WI         54104                 6004                Various                                                                                               $25.00
MARILYN LARSON                 N531 SGT BALES LN                                            KEWASKUM        WI         53040                 6002                Various                                                                                                $8.33
MARILYN M BRENHOLT             2236 10TH AVE                                                CHETEK          WI         54728                 6002                Various                                                                                                $4.30
MARILYN MEAD                   1191 CANTERBURY RD                                           GREEN BAY       WI         54304                 6002                Various                                                                                                $8.05
MARILYN NEVINS                 NH NORTH HALL                                                WHEATLAND       WY         82201                 6002                Various                                                                                                $3.81
MARILYN NILSEN                 19246 KODIAK RD                                              JAMESON         MO         64647                 6002                Various                                                                                                $4.27
MARILYN OPHEIM                 2708 S HOLLY AVE                                             SIOUX FALLS     SD         57105                 6002                Various                                                                                                $0.88
MARILYN RILEY                  628 S 7TH ST                                                 CHARITON        IA         50049                 6002                Various                                                                                                $4.88
MARILYN ROLLINS                306 SE KENT ST                                               GREENFIELD      IA         50849                 6002                Various                                                                                                $3.10
MARILYN SCHJONEMAN             N 1510 IRISH RD.                                             DENMARK         WI         54208                 6004                Various                                                                                               $32.69
MARILYN SCHLEIS                E 2478 CHERNEYVILLE RD                                       KEWAUNEE        WI         54216                 6004                Various                                                                                               $14.58




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             Creditor Name                Address1              Address2          Address3             City          State           Zip   Country     Number                Claim                                                                             Total Claim
MARILYN SCHROEDER             N4013 730TH ST                                                   ELLSWORTH          WI         54011                 6002                Various                                                                                                $1.04
MARILYN SNEZEK                4388 FOX VIEW LOOP                                               HELENA             MT         59602                 6002                Various                                                                                                $1.97
MARILYN SONDGEROTH            310 DAKOTA DUNES BLVD                                            NORTH SIOUX CITY   SD         57049                 6004                Various                                                                                               $10.40
MARILYN SUMINSKI              PO BOX 122                                                       SAINT MARIE        MT         59231                 6002                Various                                                                                                $0.79
MARILYN TRISCH                1126 MAIN ST APT 13                                              ONALASKA           WI         54650                 6002                Various                                                                                                $3.75
MARILYN WALCHESKI             15821 75TH AVE NE                                                RICE               MN         56367                 6004                Various                                                                                                $2.40
MARILYN ZEATLOW               102 LINCOLN BLVD                                                 BRANDON            WI         53919                 6002                Various                                                                                                $5.01
MARIMEL ENDERES               1178 HILARY ST                                                   CHIPPEWA FALLS     WI         54729                 6004                Various                                                                                                $5.02
MARINA BROWN                  4811 PARLEY CT                                                   PASCO              WA         99301                 6004                Various                                                                                               $12.00
MARINA E DERFUS               1024 S ERIE ST                                                   DE PERE            WI         54115                 6002                Various                                                                                                $1.62
MARINA FABRIKANT              3235 S 30TH ST                                                   LINCOLN            NE         68502                 6002                Various                                                                                                $5.21
MARINA FLEENER                PO BOX 562                                                       ATWOOD             IL         61913                 6002                Various                                                                                               $10.00
MARINA GAMERO                 1723 W MANSFIELD                                                 SPOKANE            WA         99205                 6004                Various                                                                                                $4.00
MARINA LOPEZ DE BARRAGAN      1105 BIRCH STREET SW                                             QUINCY             WA         98848                 6002                Various                                                                                                $2.08
MARINA MELKOMUKOV             1031 QUEEN CITY BLVD                                             WOODBURN           OR         97071                 6004                Various                                                                                               $15.00
MARINA SANCHEZ TZANAHU        713 N MATHER ROAD                                                LE ROY             MN         55951                 6002                Various                                                                                                $1.00
MARINA STRUPINSKAYA           205 W OAK ST                                                     GRAFTON            WI         53024                 6002                Various                                                                                                $6.00
                                                                                                                                                                       11/22/2018 -
MARINETTE WATER UTILITY       PO BOX 856896                                                    MINNEAPOLIS        MN         55485-6896             0.01               12/21/2018                                                                                      $1,206.00
MARIO ADOLFO SILVA VENEGAS    1015 MADISON ST                                                  BEAVER DAM         WI         53916                  6002               Various                                                                                             $1.45
MARIO BARAJAS                 905 PHENIOX STREET                                               DELAVAN            WI         53115                  6004               Various                                                                                            $15.00
MARIO CASTRO                  1000 SOUTH C STREET                                              MONMOUTH           IL         61462                  6004               Various                                                                                            $20.00
MARIO MERIDA COLLOY           10 BROOK ST                                                      MORRIS             MN         56267                  6002               Various                                                                                             $8.22
MARIO METOXEN                 1401 ON U SLA WAY                                                GREEN BAY          WI         54313                  6004               Various                                                                                             $2.00

MARIO PEREZ                   1222 WHISPERING PINES DRIVE                                      DELAVAN            WI         53115                  6004               Various                                                                                             $5.00
MARIO RILEY SR                2328 PRAIRIE DRIVE                                               DELAVAN            WI         53115                  6004               Various                                                                                            $10.00
MARIO SOTOMAYOR               3853 S. 36TH ST.                                                 MILWAUKEE          WI         53221                  6004               Various                                                                                            $23.00
MARIO TAPIA                   531 S SIERRA DR                                                  BOISE              ID         83705                  6002               Various                                                                                             $6.05
MARIO TELLO                   614 OAK ST                                                       WAKEFIELD          NE         68784                  6002               Various                                                                                             $2.71
MARION ELDEN HATCH            18049 US HIGHWAY 30 SPC 15                                       HAGERMAN           ID         83332                  6002               Various                                                                                             $1.73
MARION GILLES                 247 E MD ST                                                      CADOTT             WI         54727                  6002               Various                                                                                            $77.39
MARION J UNGER                9353 COUNTY Q                                                    BAILEYS HARBOR     WI         54202                  6002               Various                                                                                            $10.00
MARION JACK CRAIG             805 N 22ND ST                                                    BEATRICE           NE         68310                  6002               Various                                                                                             $1.78
MARION KING                   N1171 OLD HIGHWAY 26                                             FORT ATKINSON      WI         53538                  6002               Various                                                                                             $0.33
MARION KVAM                   20220 549TH LANE                                                 MANKATO            MN         56001                  6002               Various                                                                                             $3.33
MARION ROBERTS                E199 CHERRY VIEW RD                                              LUXEMBURG          WI         54217                  6004               Various                                                                                           $125.56
MARION RYAN                   4809 DALE ST APT. 208                                            MC FARLAND         WI         53558                  6004               Various                                                                                            $34.56
MARION TAE TURNER             2001 NORTHPORT DR             APT 11                             MADISON            WI         53704                  6004               Various                                                                                             $4.00
MARIPAT JOHNSTON              1113 15TH AVE                                                    MENOMINEE          MI         49858                  6002               Various                                                                                             $0.33
MARISELA VELAZQUEZ            1045 MULBERRY STREET APT 4                                       LAKE GENEVA        WI         53147                  6004               Various                                                                                            $10.96
MARISOL PARADA-DIAZ           1014 W FOUNTAIN ST                                               ALBERT LEA         MN         56007                  6002               Various                                                                                             $9.75
MARISSA ANDERSON              120 1ST AVE                                                      AUDUBON            IA         50025                  6002               Various                                                                                             $6.22
MARISSA BERI GUNHUS           34087 COUNTY ROAD 31                                             LAKE CITY          MN         55041                  6002               Various                                                                                             $1.62
MARISSA BERTH                 7280 OAK DR                                                      RHINELANDER        WI         54501                  6002               Various                                                                                             $9.04
MARISSA BOECK                 N 5017 SPEARHEAD TRAIL                                           JUNEAU             WI         53039                  6004               Various                                                                                            $19.99
                                                            1512 E ROYALL
MARISSA BOHLMAN               APT 431                       PLACE                              MILWAUKEE          WI         53202                  6004               Various                                                                                                $5.20
MARISSA BOONE                 504 JAMES AVE                 APT 103                            ALBERT LEA         MN         56007                  6004               Various                                                                                                $3.00
MARISSA BRADFORD              471 N 500 W                                                      SPANISH FORK       UT         84660                  6004               Various                                                                                               $15.00
MARISSA COLEY                 3128 N BALLARD RD APT 24                                         APPLETON           WI         54911                  6002               Various                                                                                                $7.64
MARISSA ENSLEY                BOX 492                                                          HOMEDALE           ID         83628                  6002               Various                                                                                                $8.90
MARISSA GIESE                 15024 BOWMAN LANE                                                MOUNTAIN           WI         54149                  6004               Various                                                                                                $1.00
MARISSA KELLER                715 W 71TH STREET             PO BOX 251                         WABASHA            MN         55981                  6004               Various                                                                                                $3.06




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                                                                                                                                                      Account         Incurred, Basis for
             Creditor Name                Address1                 Address2        Address3             City        State           Zip   Country     Number                Claim                                                                             Total Claim
MARISSA MILLER                1058 1/2 N EWING ST                                               HELENA           MT         59601                 6002                Various                                                                                                $8.63
MARISSA ROBERTSON             50904 HIGHWAY 97                                                  LAPINE           OR         97739                 6004                Various                                                                                               $75.00
MARISSA WOLFE                 1208 N 26TH CIRCLE                                                OMAHA            NE         68131                 6004                Various                                                                                                $4.00
MARITA NCRG REIFF             712 W MAIN CROSS ST                                               PALMYRA          MO         63461                 6002                Various                                                                                                $7.84
MARITZA ARRIAGA SORIA         2920 S 23RD ST                                                    OMAHA            NE         68107                 6004                Various                                                                                                $4.00
MARITZA CUELLER               5343 W LEWIS CLARK                                                SALT LAKE CITY   UT         84118                 6004                Various                                                                                                $6.04
MARITZA GUERRA                1380 SCHEURING RD UNIT 19                                         DE PERE          WI         54115                 6002                Various                                                                                                $5.18
MARITZA NIETO                 1402 RONA LANE                                                    GREEN BAY        WI         54313                 6004                Various                                                                                                $3.00
MARIUS BUZNEA                 N57W24829 CLOVER DR                                               SUSSEX           WI         53089                 6002                Various                                                                                                $8.52
MARIUS FLOY                   5741 125TH ST BOX # 156                                           THORNTON         IA         50479                 6002                Various                                                                                                $3.04
MARIVETH RODRIGUEZ            1106 DOUGLAS ST                                                   WAYNE            NE         68787                 6002                Various                                                                                                $9.42
MARIYA HELETKO                1111 ROLAND LN                 #11                                GREEN BAY        WI         54303                 6004                Various                                                                                                $2.00
MARJEAN LERCH                 101 MILL STREET PO BOX # 101                                      THERESA          WI         53091                 6002                Various                                                                                                $8.55
MARJEAN MURSETT               820 1/2 N RANKIN ST                                               APPLETON         WI         54911                 6002                Various                                                                                                $8.49
MARJEAN SHIVELY               307 N 14TH ST                                                     NORFOLK          NE         68701                 6002                Various                                                                                                $5.04
MARJORIE ALBRECHT             1016 N MILITARY AVE                                               GREEN BAY        WI         54303                 6002                Various                                                                                                $9.60

MARJORIE BARTA                1800 JEFFERSON STREET APT 204                                     TWO RIVERS       WI         54241                  6004               Various                                                                                               $15.00
MARJORIE BOYCE                BOX 74                                                            WINIFRED         MT         59489                  6002               Various                                                                                                $2.71
MARJORIE CRAPP                501 HART DR                                                       CLINTON          WI         53525                  6002               Various                                                                                                $9.51
MARJORIE ELMER                602 ELMER RD                                                      NEW GLARUS       WI         53574                  6002               Various                                                                                                $7.53
MARJORIE FRANZ                P O BOX 953                                                       YELM             WA         98597                  6004               Various                                                                                               $10.00
MARJORIE FREEMAN              13 KURT DR                                                        MADISON          WI         53714                  6004               Various                                                                                                $1.00
MARJORIE H NASH               28801 W MAPLELANE                                                 ECKERMAN         MI         49728                  6002               Various                                                                                                $2.00
MARJORIE HEUER                296 N HYLAND ST                                                   JUNEAU           WI         53039                  6002               Various                                                                                                $3.92
MARJORIE KREHER               W261 PRETZEL PASS RD                                              FOUNTAIN CITY    WI         54629                  6002               Various                                                                                                $2.19
MARJORIE POOLE                561 N WATER AVE APT 6                                             IDAHO FALLS      ID         83402                  6002               Various                                                                                                $5.62
MARJORIE R HANSEN             42018 US HIGHWAY 20                                               JOHNSTOWN        NE         69214                  6002               Various                                                                                                $6.16
MARJORIE REUTER               N1978 COL-F R RD                                                  COLUMBUS         WI         53925                  6002               Various                                                                                                $1.81
MARJORIE TEWS                 N9141 OAK LAWN DR                                                 APPLETON         WI         54915                  6002               Various                                                                                                $7.67
MARJORIE WILLEKE              6750 SHADOW RIDGE RD                                              LINCOLN          NE         68512                  6002               Various                                                                                                $5.18
MARJORIE WILSON               1165 GABEL ST                                                     LANDER           WY         82520                  6002               Various                                                                                                $8.79
MARJORY PARKER                PO BOX 159                                                        WINCHESTER       ID         83555                  6004               Various                                                                                               $12.00
MARJORY SCHAEFFER             724 E CDA AVE # 5                                                 COEUR D ALENE    ID         83814                  6002               Various                                                                                                $6.99
MARK A BORCHERT               7492 CTY A                                                        ALMOND           WI         54909                  6002               Various                                                                                                $7.07
MARK A DEBLARE                1319 NEENAH ST                                                    WATERTOWN        WI         53094                  6002               Various                                                                                                $1.01
MARK A PRIOR                  N9540 CTY HWY K                                                   LOYAL            WI         54446                  6002               Various                                                                                                $6.19
MARK AGUILAR                  407 WEST 3RD ST NORTH APT 2 PO BOX 1383                           MADISON          NE         68748                  6004               Various                                                                                               $25.00
MARK AILIE                    24997 738TH AVE                                                   DASSEL           MN         55325                  6002               Various                                                                                                $4.68
MARK AMMERMAN                 3511 MALLARD RD                                                   BROOK PARK       MN         55007                  6002               Various                                                                                                $3.32
MARK ANDREAS                  1415 S WALNUT AVE                                                 FREEPORT         IL         61032                  6002               Various                                                                                                $0.41
MARK APEL                     N94 W23590 HERITAGE DRIVE                                         COLGATE          WI         53017                  6004               Various                                                                                               $20.00
MARK BARNES                   805 BELLEVUE BLVD N                                               BELLEVUE         NE         68005                  6002               Various                                                                                                $3.37
MARK BARTLETT                 318 S SLOCUM ST                                                   BIRCHWOOD        WI         54817                  6002               Various                                                                                                $3.21
MARK BAXTER                   W1325 CENTER RD                                                   DORCHESTER       WI         54425                  6002               Various                                                                                                $8.49
MARK BEASLEY                  407 S COTTONWOOD ST                                               NORTH PLATTE     NE         69101                  6002               Various                                                                                                $5.42
MARK BERNSDORF                E5202 FOURTH RD                                                   KEWAUNEE         WI         54216                  6002               Various                                                                                                $5.95
MARK BIDROWSKI                1915 SOUTH 44TH ST                                                OMAHA            NE         68105                  6004               Various                                                                                               $30.00
MARK BIERMEIER                1330 NIXON AVE                                                    EAU CLAIRE       WI         54701                  6002               Various                                                                                                $5.42
MARK BOMARK                   517 1/2 MAIN STREET                                               PLATTSMOUTH      NE         68048                  6004               Various                                                                                               $15.00
MARK BOOTZ                    W5987 BLUE BONNET DR                                              APPLETON         WI         54915                  6002               Various                                                                                                $4.36
MARK BRASSEUR                 19320 67TH AVE                                                    CHIPPEWA FALLS   WI         54729                  6002               Various                                                                                                $1.75
MARK BRODHUN                  3347 TERRY COURT                                                  BYRON            MN         55920                  6004               Various                                                                                                $1.26
MARK BROUGH                   6049 S MOONRIDGE AVE                                              BOISE            ID         83709                  6002               Various                                                                                                $2.96




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                                                                       Schedule E/F: Part 2 - Creditors With Nonpriority Unsecured Claims




                                                                                                                                                                                                                            Claim subject to offset?
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                                                                                                                                                                                     Contingent


                                                                                                                                                                                                                 Disputed
                                                                                                                                              Last 4 Digits of   Date Debt was
                                                                                                                                                 Account       Incurred, Basis for
              Creditor Name               Address1            Address2         Address3            City        State           Zip   Country     Number              Claim                                                                             Total Claim
MARK BUDDE                     15339 43RD ST SW                                             COKATO          MN         55321                 6002              Various                                                                                               $3.56
MARK BULLER                    9 SUNRISE DR                                                 WATERTOWN       SD         57201                 6002              Various                                                                                               $7.53
                                                          REM PRAIRIE SKY
MARK BURZINSKI                 1701 8TH ST. NW            APARTMENTS                        AUSTIN          MN         55912                   6004            Various                                                                                            $27.76
MARK C. ALEXANDER              6481 S ENGLEMAN RD                                           GRAND ISLAND    NE         68803                   6002            Various                                                                                             $3.53
MARK CARTER                    209 E LARSEN ST                                              RAWLINS         WY         82301                   6002            Various                                                                                             $2.74
MARK CHANDLER                  PO BOX 971                                                   EAST HELENA     MT         59635                   6002            Various                                                                                             $3.53
MARK CHASTAIN                  101 W 19TH AVE                                               BELLEVUE        NE         68005                   6004            Various                                                                                             $8.02
MARK CHRISTIANSEN              8442 SOUTH CHASE RD                                          PULASKI         WI         54162                   6004            Various                                                                                            $58.00
MARK CLARK                     299 OLD DIVIDE RD                                            ROUNDUP         MT         59072                   6002            Various                                                                                             $2.27
MARK CLAY                      305 SPRUCE DR.                                               WOODVILLE       WI         54028                   6004            Various                                                                                           $110.78
MARK COMBE                     3352 WEST 1700 NORTH                                         OGDEN           UT         84404                   6004            Various                                                                                            $22.00
MARK CONRAD                    226 TOWNLINE AVE LOT 103                                     SOUTH BELOIT    IL         61080                   6004            Various                                                                                            $52.00
MARK CRAIG                     22761 JACKSON ST                                             ETTRICK         WI         54627                   6002            Various                                                                                             $1.34
MARK CROSBY                    1967 EAST MAIN ST. APT 2                                     MADISON         WI         53704                   6004            Various                                                                                             $4.20
MARK D FINCH                   191 E 1150TH N                                               LAYTON          UT         84041                   6002            Various                                                                                             $7.53
MARK D. SMITH                  932 IDA ST                                                   MENASHA         WI         54952                   6002            Various                                                                                             $4.25
MARK DUDEN                     1023 W. LINDEN                                               FREEPORT        IL         61032                   6004            Various                                                                                             $5.00
MARK DUDENAS                   56286 MIDDLE ST                                              CALUMET         MI         49913                   6002            Various                                                                                             $6.77
MARK DUNGY                     40 TEWS AVE                                                  LEWISTON        MN         55952                   6004            Various                                                                                             $4.04
MARK E RAY                     105 KAUP ST                                                  WEST POINT      NE         68788                   6002            Various                                                                                             $3.56
MARK E WOOD                    621 TETON AVE                                                SHELBY          MT         59474                   6002            Various                                                                                             $8.08
MARK ENGELKES                  21493 280TH STREET                                           RUSHMORE        MN         56168                   6004            Various                                                                                             $3.00
MARK ERICKSON                  41703 115TH ST                                               KENSINGTON      MN         56343                   6002            Various                                                                                             $8.68
MARK ESKE                      N1594 BROOKE LANE                                            FORT ATKINSON   WI         53538                   6004            Various                                                                                             $8.15
MARK FAUTH                     441 ABNER ST                                                 RHINELANDER     WI         54501                   6002            Various                                                                                             $0.44
MARK FIXMER                    455 S SKYLINE DR APT 3                                       IDAHO FALLS     ID         83402                   6002            Various                                                                                             $0.44
MARK FLAHERTY                  720 BIRCH AVE                                                SHELBY          MT         59474                   6002            Various                                                                                            $10.00
MARK FLINK                     481 CHURCH AVE                                               NEKOOSA         WI         54457                   6004            Various                                                                                            $21.98
MARK FLUGA                     UPDATE INFO                                                  MARQUETTE       MI         49855                   6002            Various                                                                                             $7.40
MARK FULLMER                   434 FILMORE AVE                                              POCATELLO       ID         83201                   6002            Various                                                                                             $6.49
MARK FUSS                      2813 MAYFLOWER RD                                            GREEN BAY       WI         54311                   6002            Various                                                                                             $9.89
MARK G ALEXANDER               411 SPRUCE ST                                                MARQUETTE       MI         49855                   6002            Various                                                                                             $4.03
MARK G SCHNEIDER               N9266 CTY Q                                                  FOND DU LAC     WI         54935                   6002            Various                                                                                             $6.99
MARK GERLEMAN                  104 DUDLEY ST                                                DECORAH         IA         52101                   6002            Various                                                                                             $0.44
MARK GODSIL                    1305 TRAIL DR                                                DIXON           IL         61021                   6002            Various                                                                                             $3.81
MARK GOLEMBESKI                175 VIEW MT DR                                               OKANOGAN        WA         98840                   6002            Various                                                                                             $7.32
MARK GRAHAM                    316 HOOPER STREET                                            KINGSFORD       MI         49802                   6004            Various                                                                                             $3.00
MARK GRIFFIN                   3630 STOCKBURY STREET                                        GREEN BAY       WI         54313                   6004            Various                                                                                            $27.50
MARK GROSS                     824 MCALLISTER AVE                                           MARINETTE       WI         54143                   6002            Various                                                                                             $0.99
MARK GUNDLACH                  101 SUNNYMEADE LANE                                          MADISON         WI         53713                   6004            Various                                                                                             $1.00
MARK HAAVISTO                  W6406 APPLE AVE                                              MEDFORD         WI         54451                   6004            Various                                                                                             $1.02
MARK HAGEN                     214 E 4TH STREET APT 8                                       NEILLSVILLE     WI         54456                   6002            Various                                                                                             $8.99
MARK HALTER                    513 S DINSMORE AVE                                           LYONS           KS         67554                   6002            Various                                                                                             $2.66
MARK HANMANN                   N5366 COUNTY ROAD C                                          CASCO           WI         54205                   6002            Various                                                                                             $0.44
MARK HANSEN                    4862 SO 186 AVE                                              OMAHA           NE         68135                   6004            Various                                                                                            $40.00
MARK HARRISON                  5832 BALLYMEAD ST SE                                         SALEM           OR         97306                   6004            Various                                                                                             $5.00
MARK HEREAU                    3191 18TH ROAD                                               ESCANABA        MI         49829                   6004            Various                                                                                             $8.06
MARK HESSO                     5951 BEA JAY LANE                                            PLOVER          WI         54467                   6004            Various                                                                                             $3.00
MARK HINDS                     2000 OUTER DR N APT 233                                      SIOUX CITY      IA         51104                   6002            Various                                                                                             $6.85
MARK HUSS                      1043 23RD RD                                                 OAKLAND         NE         68045                   6002            Various                                                                                             $3.07
MARK IVES                      804 GARFIELD AVE                                             ALTOONA         WI         54720                   6002            Various                                                                                             $8.00
MARK J KILTY                   F MAPLENUT RD # 4062                                         COLBY           WI         54421                   6002            Various                                                                                             $1.81
MARK J SCHUYLER                2613 GARDEN RIDGE TR                                         GREEN BAY       WI         54313                   6002            Various                                                                                             $4.47




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                                                                                                                                                                                         Contingent


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                                                                                                                                                Last 4 Digits of     Date Debt was
                                                                                                                                                   Account         Incurred, Basis for
              Creditor Name                Address1            Address2        Address3             City         State           Zip   Country     Number                Claim                                                                             Total Claim
MARK JARAMILLO                 451 S PARK                                                   HELENA            MT         59601                 6004                Various                                                                                               $39.98
MARK JEWISON                   1075 75TH AVE                                                SHERBURN          MN         56171                 6004                Various                                                                                                $3.00
MARK JOHNSTON                  13330 N 74TH PLZ                                             OMAHA             NE         68122                 6002                Various                                                                                                $4.77
MARK JONES                     10256 W FISHER RD                                            WINSLOW           IL         61089                 6002                Various                                                                                                $9.04
MARK KARNS                     1503 WEST 9TH ST                                             OSHKOSH           WI         54902                 6004                Various                                                                                               $26.25
MARK KINZER                    3713 11TH ST                                                 LEWISTON          ID         83501                 6002                Various                                                                                                $5.59
MARK KIPINA                    218 5TH ST                                                   CALUMET           MI         49913                 6002                Various                                                                                                $7.18
MARK KOMISAREK                 6725 E SPRINGSIDE RD                                         COLEMAN           WI         54112                 6002                Various                                                                                                $7.70
MARK KORDOSKY                  1921 GREEN TREE RD APT 5                                     WEST BEND         WI         53090                 6002                Various                                                                                                $3.97
MARK KRAEGER                   W12625 GERBIG RD                                             MARION            WI         54950                 6002                Various                                                                                                $0.79
MARK KUHFUSS                   203 POPPLER STREET                                           SHEBOYGAN FALLS   WI         53085                 6004                Various                                                                                               $29.98
MARK LAMBERT                   429 FIRST STREET                                             MENASHA           WI         54952                 6004                Various                                                                                                $4.00
MARK LANDINI                   4124 OAK DRIVE                                               CASHTON           WI         54619                 6004                Various                                                                                               $47.00
MARK LAYTON                    2079 COUNTY ROAD G                                           NEKOOSA           WI         54457                 6004                Various                                                                                               $10.00
MARK LEES                      210 WOODLAND AVE                                             FAIRMONT          MN         56031                 6002                Various                                                                                                $7.37
MARK LONERGAN                  13338 570TH AVE                                              LYLE              MN         55953                 6004                Various                                                                                                $3.00
MARK LONGSINE                  417 W 12TH AVENUE                                            OSHKOSH           WI         54902                 6004                Various                                                                                               $25.00
MARK LUDOIS                    1210 PRAIRIE AVE                                             JANESVILLE        WI         53545                 6004                Various                                                                                               $25.00
MARK MACHACEK                  2308 WASHINGTON ST                                           BELLEVUE          NE         68005                 6004                Various                                                                                               $33.00
MARK MACKENZIE                 850 ROCKVILLE RD                                             JORDAN VALLEY     OR         97910                 6002                Various                                                                                                $7.86
MARK MACKEY                    3726 HENRY ST                                                WAUSAU            WI         54403                 6002                Various                                                                                                $0.41
MARK MANBECK                   1330 SHERIDAN RD                                             KENOSHA           WI         53140                 6004                Various                                                                                               $53.98
MARK MANOR                     2331 RIVERVIEW DR                                            EAU CLAIRE        WI         54703                 6002                Various                                                                                                $7.95
MARK MARINO                    1421 W 6TH ST                                                SIOUX CITY        IA         51103                 6002                Various                                                                                                $4.47
MARK MATHIS                    N6395 CTY RD N                                               BELDENVILLE       WI         54003                 6002                Various                                                                                                $0.88
MARK MCALLISTER                1771 38TH ROAD                                               DAVID CITY        NE         68632                 6004                Various                                                                                               $11.51
MARK MEEHL                     PO BOX 2089                                                  BRAZORIA          TX         77422                 6004                Various                                                                                               $62.08
MARK MEYER                     4195 BASIN GARDEN RD                                         BASIN             WY         82410                 6002                Various                                                                                                $1.12
MARK MICHENER                  2424 PINE ST                                                 LA CROSSE         WI         54601                 6002                Various                                                                                                $2.58
MARK MILLER                    65 LANDER MT RD                                              LANDER            WY         82520                 6002                Various                                                                                                $6.33
MARK MISKELL                   3123 S. STONE MEADOW WAY   #2                                APPLETON          WI         54915                 6004                Various                                                                                               $25.00
MARK MURDOCK                   3122 KATIES CROSSING                                         PARK CITY         UT         84098                 6004                Various                                                                                                $2.00
MARK MYERS                     PO BOX 702                                                   BATTLE MOUNTAIN   NV         89820                 6002                Various                                                                                                $4.85
MARK N AUER                    5971 N LAKE DR                                               WEST BEND         WI         53095                 6002                Various                                                                                                $3.95
MARK NEMETH                    16369 5TH AVE NW                                             RICE              MN         56367                 6004                Various                                                                                                $2.92
MARK NOWAK                     13381 53RD ST SW                                             COKATO            MN         55321                 6002                Various                                                                                                $8.14
MARK OPELT                     2177 N OPELT AVE                                             NEILLSVILLE       WI         54456                 6002                Various                                                                                                $8.49
MARK PAKULSKI                  4470 COOLIDGE AVE                                            PLOVER            WI         54467                 6002                Various                                                                                                $0.96
MARK PARKER                    N3836 RIVRERSIDE DR                                          PESHTIGO          WI         54157                 6002                Various                                                                                                $9.01
MARK PAULSON                   410 EAST BROADWAY                                            NEW GERMANY       MN         55367                 6004                Various                                                                                                $3.00
MARK PENNY                     5502 ALEX ST                                                 SCHOFIELD         WI         54476                 6002                Various                                                                                                $6.79
MARK PHILLIPS                  3315 W PERSHING RD                                           LINCOLN           NE         68502                 6002                Various                                                                                                $5.97
MARK PIRLOT                    1563 ROCKWELL RD                                             GREEN BAY         WI         54313                 6002                Various                                                                                                $6.60
MARK PONCZOCH                  1001 W CLARK ST                                              STEVENS POINT     WI         54481                 6002                Various                                                                                                $0.96
MARK POPP                      W8194 CTY RD JJ                                              HORTONVILLE       WI         54944                 6002                Various                                                                                                $5.53
MARK PRETRE                    900 FIRESTEEL DR                                             MITCHELL          SD         57301                 6002                Various                                                                                               $10.00
MARK QUARTETTI                 526 CHICAGO AVE                                              SAVANNA           IL         61074                 6002                Various                                                                                                $6.30
MARK R JAHN                    N10527 HILLSIDE RD                                           TOMAHAWK          WI         54487                 6002                Various                                                                                                $4.38
MARK R OLECK                   4447 OAKRIDGE CT                                             DE PERE           WI         54115                 6002                Various                                                                                                $0.66
MARK RADKE                     17805 E LAKE RD                                              PELKIE            MI         49958                 6002                Various                                                                                                $2.30
MARK REDMANN                   PO BOX 261                                                   WILD ROSE         WI         54984                 6002                Various                                                                                                $7.89
MARK REEDSTROM                 1841 PLEASANT VIEW DR                                        NORTH MANKATO     MN         56003                 6002                Various                                                                                                $0.66
MARK ROBERTS MATHEWS           593 E 20TH ST                                                GRAND ISLAND      NE         68801                 6002                Various                                                                                                $4.30
MARK RODRIGUEZ                 605 BALDWIN RD                                               BELOIT            WI         53511                 6004                Various                                                                                               $43.00




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                                                                                                                                                       Last 4 Digits of     Date Debt was
                                                                                                                                                          Account         Incurred, Basis for
             Creditor Name                   Address1               Address2        Address3             City           State           Zip   Country     Number                Claim                                                                             Total Claim
MARK ROEDL                        1231 HIAWATHA DR                                               BEAVER DAM          WI         53916                 6002                Various                                                                                                $0.63
MARK ROLE                         P.O. BOX 807                                                   COLUMBIA FALLS      MT         59912                 6004                Various                                                                                               $65.50
MARK ROSSANO                      1579 CHURCH ST                                                 STEVENS POINT       WI         54481                 6002                Various                                                                                                $7.97
MARK RUEBER                       15385 18TH ST                                                  OELWEIN             IA         50662                 6002                Various                                                                                                $8.93
MARK SCHWEITZER                   10 SUNRISE DRIVE                                               WATERTOWN           SD         57201                 6004                Various                                                                                                $2.00
MARK SMITH                        PO BOX 228 PMB N5428                                           WILD ROSE           WI         54984                 6002                Various                                                                                                $8.63
MARK SONGSTAD                     PO BOX 163                                                     OELRICHS            SD         57763                 6002                Various                                                                                                $2.11
MARK SORGENT                      30 CTY Y S                                                     MAYVILLE            WI         53050                 6002                Various                                                                                                $8.36
MARK SOWERS                       526 WALNUT ST                                                  BEAVER DAM          WI         53916                 6002                Various                                                                                                $7.84
MARK SPANGLER                     154 CHRISMAN DR                                                MEREDOSIA           IL         62665                 6004                Various                                                                                               $10.00
MARK STAATS                       1218 LORNE LOOP                                                SPRINGFIELD         OR         97477                 6004                Various                                                                                               $15.00
MARK STEINES                      4413 STETTIN DRIVE                                             WAUSAU              WI         54401                 6004                Various                                                                                               $50.00
MARK STEVENS                      421 EAST 3RD ST                                                FAIRMONT            MN         56031                 6004                Various                                                                                                $5.00
MARK STREVAY                      3511 ORCHARD AVE                                               OGDEN               UT         84403                 6004                Various                                                                                               $16.00
MARK STRICKLAND                   344 CO RD # 309                                                PANHANDLE           TX         79068                 6002                Various                                                                                                $7.84
MARK SWINEHART                    224 LUKAS LN                                                   MILTON              WI         53563                 6002                Various                                                                                                $6.99

MARK T WALTEE                     1 JACKSON CREEK RD PMB 2196                                    CLANCY              MT         59634                  6002               Various                                                                                             $6.27
MARK THOMSON                      2234 TUMBLEWEED TRL                                            GREEN BAY           WI         54313                  6002               Various                                                                                             $6.63
MARK TOEPPER                      49572 372ND PL                                                 PALISADE            MN         56469                  6002               Various                                                                                             $6.79
MARK TOMCHEK                      15231 N MARIBEL RD                                             MARIBEL             WI         54227                  6004               Various                                                                                            $25.00
MARK URBAN                        2204 BABCOCK LANE                                              DELAVAN             WI         53115                  6004               Various                                                                                            $10.00
MARK URBANIK                      P.O. BOX 2325                                                  RED LODGE           MT         59068                  6004               Various                                                                                             $5.00
MARK VAN DYN HOVEN                504 JOHNSON AVE                                                LITTLE CHUTE        WI         54140                  6004               Various                                                                                            $25.00
MARK VANSTAPPEN                   1508 HOOVER AVE                                                LITTLE CHUTE        WI         54140                  6002               Various                                                                                             $7.18
MARK VONHEEDER                    241 E 2ND ST                                                   AINSWORTH           NE         69210                  6002               Various                                                                                             $3.23
MARK W LARSON                     306 W 5TH ST                                                   LARNED              KS         67550                  6002               Various                                                                                             $2.55
MARK WARD                         3617 ROSS AVE                                                  SCHOFIELD           WI         54476                  6004               Various                                                                                             $2.00
MARK WARREN                       452 S 1680TH W                                                 PROVO               UT         84601                  6002               Various                                                                                             $2.03
MARK WASHA                        506 S PARK                                                     FAIRMONT            MN         56031                  6004               Various                                                                                            $23.00
MARK WILDENBERG                   PO BOX 143                                                     LITTLE CHUTE        WI         54140                  6002               Various                                                                                             $2.55
MARK WILLIAMS                     538 WEST MAIN ST                                               LENA                WI         54139                  6004               Various                                                                                            $11.99
MARK WILSON                       9254 N STRAHORN ROAD                                           HAYDEN              ID         83835                  6004               Various                                                                                            $34.12
MARK WITHERS                      500 GRAND AVE APT 705                                          WAUSAU              WI         54403                  6004               Various                                                                                             $1.00
MARK WOJCIK                       1643 CHRISTIANA ST                                             GREEN BAY           WI         54303                  6004               Various                                                                                             $2.00
MARKELLE SUNDSTROM                1605 7TH ST SE                                                 SAINT CLOUD         MN         56304                  6004               Various                                                                                             $3.00
MARKET TRACK LLC                  PO BOX 28781                                                   NEW YORK            NY         10087-8781             4502               Various                                                                                        $16,899.84
MARKETOUCH MEDIA INCORPORATED     SUITE 980                     5718 WESTHEIMER                  HOUSTON             TX         77057                  9043               Various                                                                                        $61,727.73
MARKETPLACE BRANDS LLC            951 FARGO AVE                                                  ELK GROVE VILLAGE   IL         60007                  3818               Various                                                                                        $16,842.00
MARKETPLACE LLC                   PO BOX 8800                                                    SIOUX CITY          IA         51102                  5957               Various                                                                                        $24,000.00
MARKHII NOLAN                     1529 LINCOLN HTS                                               BELOIT              WI         53511                  6004               Various                                                                                             $3.00
MARKI ANN GILLETTE                5409 COUNTY HIGHWAY Q                                          WISCONSIN RAPID     WI         54495                  6002               Various                                                                                             $8.60

MARKI KEEPERS                     5409 CTY RD Q                                                  WISCONSIN RAPIDS    WI         54495                   6004              Various                                                                                             $5.00
MARKS WASTE REMOVAL               2959 W GARFIELD RD                                             NEW ERA             MI         49446                                     Various                                                                                         $1,260.00
MARKUS BLACK                      6315 N 51 AVE                                                  OMAHA               NE         68104                   6004              Various                                                                                            $23.00
MARKUS ENGESSER                   511 26TH ST                                                    MONROE              WI         53566                   6004              Various                                                                                            $30.00
MARKUS WARD                       989 MILL RD                                                    HELENA              MT         59602                   6002              Various                                                                                             $1.92
                                  75 REMITTANCE DRIVE SUITE
MARKWINS BEAUTY PRODUCTS INCOR    6578                                                           CHICAGO             IL         60675-6578             8324               Various                                                                                        $38,046.31
MARLA FRANCIS                     3023 VILLA WAY                                                 MENASHA             WI         54952                  6004               Various                                                                                            $67.00
MARLA MORRIS                      1302 S BLVD                                                    IDAHO FALLS         ID         83402                  6002               Various                                                                                             $2.27
MARLA PERKINS                     13025 40TH AVE                                                 CHIPPEWA FALLS      WI         54729                  6002               Various                                                                                             $9.64
MARLA SLAUGHTER                   3213 R AVE                                                     ROSALIE             NE         68055                  6002               Various                                                                                             $0.60




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MARLA VASQUEZ                 6200 31 AVE                                                      KENOSHA           WI         53142                  6004                Various                                                                                            $21.25
MARLAINA BARRY                2320 CHEROKEE RD                                                 JANESVILLE        WI         53545                  6004                Various                                                                                            $25.00
MARLAINA KENNEDY              2320 CHEROKEE RD                                                 JANESVILLE        WI         53545                  6004                Various                                                                                            $25.00
MARLEE JONES                  PO BOX 303                                                       WELLSVILLE        UT         84339                  6002                Various                                                                                             $9.59
MARLEE SAWYER                 101 N ADAM ST                                                    TAUNTON           MN         56291                  6004                Various                                                                                            $15.00
MARLEM ACEVEDO GARDUNO        224 PARK ST                                                      COLBY             WI         54421                  6002                Various                                                                                            $10.00
MARLEN PORRAS                 124 BETZER ROAD                                                  DELAVAN           WI         53115                  6004                Various                                                                                            $25.00
MARLENA BIG DAY               PO BOX 1284                                                      BILLINGS          MT         59103                  6004                Various                                                                                             $2.00
MARLENE (MON ADAMSON          4126 WINDSOR LN SW                                               ROCHESTER         MN         55902                  6002                Various                                                                                             $4.71
MARLENE A STAUDENRAUS         C/O MARY LEE                 9602 CTY RD B                       WINNECONNE        WI         54986                  6002                Various                                                                                             $0.11
MARLENE ANDERSON              2309 ROSS AVE                                                    SCHOFIELD         WI         54476                  6002                Various                                                                                            $59.18
MARLENE BANKER                N4611 HIGHWAY # G                                                LAKE MILLS        WI         53551                  6002                Various                                                                                            $10.00
MARLENE BOURRIER              BOX 42                                                           WOODRIGDE         MB         R0A1Z         CANADA 6002                  Various                                                                                             $0.77
MARLENE CARDOSO IGLES         514 S SECOND ST                                                  WATERTOWN         WI         53094                  6004                Various                                                                                            $25.00
MARLENE CAREDIO               10784 DOUGHERTY AVE                                              MORGAN HILL       CA         95037                  6002                Various                                                                                             $7.26
MARLENE DESCHLER              3920 GREENBAY RD                                                 RACINE            WI         53404                  6002                Various                                                                                             $2.41
MARLENE KEARNS                1647 CORNERSTONE WAY                                             SOUTH JORDAN      UT         84095                  6002                Various                                                                                             $3.45
MARLENE MARSCH                634 VALLEY ST                                                    HORICON           WI         53032                  6002                Various                                                                                             $3.37
MARLENE MORROW                2414 THOMPSON LN                                                 ABRAMS            WI         54101                  6002                Various                                                                                             $6.05
MARLENE MUELLER               BOX 11, 403 S.CLAR                                               BLACK CREEK       WI         54152                  6002                Various                                                                                             $3.32
MARLENE PORTER                10904 3RD STREET                                                 ROSCOE            IL         61073                  6004                Various                                                                                            $25.00
MARLENE SANDY                 2100 E IDA ST APT 4                                              STURGIS           SD         57785                  6002                Various                                                                                             $4.05
MARLENE SOKOL                 628 3RD ST                                                       MENASHA           WI         54952                  6002                Various                                                                                             $1.37
MARLENE TOOTHAKER             2004 REGAL DR.                                                   BOISE             ID         83704                  6004                Various                                                                                            $15.01
MARLENE TRAMMELL              513 AIRWAY AVE                                                   LEWISTON          ID         83501                  6004                Various                                                                                            $11.20
MARLIN FOX                    N13940 ROMADKA AVE                                               OWEN              WI         54460                  6002                Various                                                                                             $4.22
MARLIN NOWAK                  123 E BERLIN ST                                                  WAUTOMA           WI         54982                  6002                Various                                                                                             $9.64
MARLIN R MARTIN               100 MARLBORO CT                                                  TECUMSEH          MI         49286                  6002                Various                                                                                             $3.70
MARLO GRUVER                  508 MOTTER ST                                                    LYONS             KS         67554                  6002                Various                                                                                             $0.88
MARLYN NYSTROM                31463 READ                                                       WORTHINGTON       MN         56187                  6004                Various                                                                                            $40.21
MARLYNN HUNKE                 PO BOX 56                                                        SNYDER            NE         68664                  6002                Various                                                                                             $1.07
MARLYS L. THESING             832 WOOD AVE                                                     RAPID CITY        SD         57701                  6002                Various                                                                                             $0.82
MARLYS SCHEEVEL               14951 COUNTY ROAD 9                                              PRESTON           MN         55965                  6004                Various                                                                                            $49.00
MARLYS SEUBERT                917 LINDEN AVE                                                   LEWISTON          ID         83501                  6002                Various                                                                                             $1.34
MARLYS SPARKS                 1435 GANNETT CRC                                                 GREEN RIVER       WY         82935                  6002                Various                                                                                             $9.59
MARLYS STECKLER               630 13TH ST S                                                    WISCONSIN RAPID   WI         54494                  6002                Various                                                                                             $5.92
MARLYS VANERT                 W10781 CTY RD X                                                  STANLEY           WI         54768                  6002                Various                                                                                             $6.36
MARLYSS JOHNSON               29004 610TH AVE                                                  WELLS             MN         56097                  6002                Various                                                                                             $0.68
MARNA SCHAUB                  101 SHOREVIEW DR                                                 ELYSIAN           MN         56028                  6002                Various                                                                                            $14.20
MARNI BURTON                  646 DE PERE STREET                                               MENASHA           WI         54952                  6004                Various                                                                                             $9.96
MARNIE MACLEISH               951 HAWTHORNE LN                                                 GRAFTON           WI         53024                  6002                Various                                                                                             $6.74
MARNIE RAPER                  1442 N. CORMORANT PL. #303                                       BOISE             ID         83713                  6004                Various                                                                                            $10.02
MARNO OLIVER                  N8961 OLIVER DRIVE                                               CAMBRIA           WI         53923                  6004                Various                                                                                             $5.00
MARON SMITH                   1125 N MAIN ST APT 2V                                            LAYTON            UT         84041                  6002                Various                                                                                             $0.85
MARQUETTE MARINE LLC          14214 SE 77TH STREET                                             NEWCASTLE         WA         98059                  0995                Various                                                                                         $7,291.67
MARQUEZ EVENSON               111 15TH ST QT               #304                                SAUK RAPIDS       MN         56379                  6004                Various                                                                                             $3.42
MARQUIA HUDSON                352 WIMBLEDON HILLS DR                                           ROCHESTER         MN         55902                  6004                Various                                                                                             $3.00
MARQUITA HILL                 1222 KELLOGG ST                                                  GREEN BAY         WI         54303                  6004                Various                                                                                             $2.00
MARRAL TILLEY                 2135 S MAIN ST               APT 5                               BOUNTIFUL         UT         84010                  6004                Various                                                                                            $26.00

MARRIANNA JIMENEZ             834 NORTHEAST SHERWOOD DR                                        BELOIT            WI         53511                    6004              Various                                                                                             $2.00
MARSALA MANUFACTURING         799 N HAGUE AVENUE                                               COLUMBUS          OH         43204-1424               9969              Various                                                                                       $336,156.12
MARSH USA INCORPORATED        BANK OF AMERICA           PO BOX 846015                          DALLAS            TX         75284-6015               6293              Various                                                                                        $24,873.91
MARSHA A COOPER               1596 JADE ST                                                     OGILVIE           MN         56358                    6002              Various                                                                                             $7.67




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                                                                                                                                                                                                                       Disputed
                                                                                                                                                  Last 4 Digits of     Date Debt was
                                                                                                                                                     Account         Incurred, Basis for
             Creditor Name                  Address1               Address2        Address3              City      State           Zip   Country     Number                Claim                                                                             Total Claim
MARSHA ATKIN                     1423 RIVER RIDGE ST                                            TWIN FALLS      ID         83301                 6002                Various                                                                                                $7.23
MARSHA BINGHAM                   4624 PENDLETON CT                                              MILTON          WI         53563                 6002                Various                                                                                                $4.38
MARSHA COOKE                     5154 M-72 NW                                                   WILLIAMSBURG    MI         49690                 6002                Various                                                                                                $4.00
MARSHA GIACOMO                   2172 MISSION WAY SOUTH                                         KALISPELL       MT         59901                 6004                Various                                                                                               $75.00
MARSHA HALL                      1206 HOOVER AVE                                                LITTLE CHUTE    WI         54140                 6002                Various                                                                                                $3.73
MARSHA JOHNSON                   E1970 BRUCE CT                                                 WAUPACA         WI         54981                 6002                Various                                                                                                $7.48
MARSHA MCKEE                     115 MUSTANG TRAIL                                              SHADY SHORES    TX         76208                 6004                Various                                                                                               $25.00
MARSHA SWAFFORD                  BOX 163                                                        WINNETT         MT         59087                 6002                Various                                                                                                $6.68
MARSHALL BALZLY                  763 VANCE DR                                                   LANDER          WY         82520                 6002                Various                                                                                                $3.92
MARSHALL F CHASE                 1250 W LAKESHORE DR                                            FOWLER          IL         62338                 6002                Various                                                                                                $2.52
MARSHALL GALBREATH               119 SOUTH BROADWAY AVE       APT A                             SPRING VALLEY   MN         55975                 6004                Various                                                                                                $6.00
MARSHALL LOCK                    2107 BARTON AVE APT 8                                          WEST BEND       WI         53090                 6004                Various                                                                                               $10.00
                                                                                                                                                                     11/29/2018 -
MARSHALL MUNICIPAL UTILITIES     113 SOUTH FOURTH STREET                                        MARSHALL        MN         56258-1223             Feb-00             12/28/2018                                                                                      $6,815.41

MARSHALL POTTERY INCORPORATED    SUMMIT FINANCIAL RESOURCES PO BOX 203855                       DALLAS          TX         75320-3855             8255               Various                                                                                        $60,218.72
MARSHALL ROBINSON                1017 SUNNY ACRES AVE                                           LAS VEGAS       NV         89081                  6004               Various                                                                                            $35.01
MARSHALL SEAL                    10 LA MONTAGNE                                                 GRANITE         UT         84092                  6004               Various                                                                                            $46.40
MARSHALL SHINKLE                 PO BOX 1222                                                    THERMOPOLIS     WY         82443                  6002               Various                                                                                             $3.73
MARSHALL WES DEERING             14266 HILL RD                                                  SURING          WI         54174                  6002               Various                                                                                             $5.67

MARSHALL/ AMBER                  STORE 2-145                  SHOPKO EMPLOYEE                   GREEN BAY       WI         54307-9060             7785               Various                                                                                            $15.14
MARSHFIELD GLASS LLC             2300 S HUME AVE                                                MARSHFIELD      WI         54449                  6587               Various                                                                                           $137.15
                                                                                                                                                                     11/16/2018 -
MARSHFIELD UTILITIES - WI        P.O. BOX 670                                                   MARSHFIELD      WI         54449-0727             733                12/14/2018                                                                                      $8,386.09
MARTA GRANDBERRY                 233 HOWLAND AVE                                                RACINE          WI         53404                  6004               Various                                                                                             $3.00
MARTA JIMENEZ                    218 MARSHALL AVE                                               VEBLEN          SD         57270                  6002               Various                                                                                             $2.90
MARTA MARTINEZ                   20408 K AVE                                                    PENDER          NE         68047                  6002               Various                                                                                             $7.40
MARTHA ALEMU                     800 S CHARLOTTE AVE APT 2                                      SIOUX FALLS     SD         57103                  6002               Various                                                                                             $2.90
MARTHA ALLEN                     150 SHADY LN SPC 201                                           KALISPELL       MT         59901                  6002               Various                                                                                             $0.85
MARTHA BEYER                     302 GRAND AVE                                                  NEILLSVILLE     WI         54456                  6002               Various                                                                                             $0.63
MARTHA CAMINOS                   115 N DRAKE AVE                                                RUSHMORE        MN         56168                  6002               Various                                                                                             $0.82
MARTHA CLAUNCH                   1420 MEADE AVE APT 10                                          PROSSER         WA         99350                  6002               Various                                                                                             $1.66
MARTHA COLBERT                   11889 N FOREST DR                                              SYRACUSE        IN         46567                  6002               Various                                                                                             $9.37
MARTHA EIDSOR                    419 MAIN ST.                                                   REDGRANITE      WI         54970                  6004               Various                                                                                            $16.50
MARTHA HERNANDEZ                 2860 WASHINGTON STREET                                         OMAHA           NE         68107                  6004               Various                                                                                            $25.00
MARTHA J RITCHEY                 RR 2 BOX 6024                                                  DONIPHAN        MO         63935                  6002               Various                                                                                             $2.47
MARTHA KAHLER                    1918 E PAULINE ST                                              APPLETON        WI         54911                  6002               Various                                                                                             $3.10
MARTHA KETTERMAN                 528 STRATFORD COURT                                            FORT ATKINSON   WI         53538                  6004               Various                                                                                            $18.90
MARTHA LONGORIA                  W6076 HACKBARTH RD                                             FORT ATKINSON   WI         53538                  6002               Various                                                                                             $9.67
MARTHA LOPEZ                     896 GRANT AVE APT 3                                            OGDEN           UT         84404                  6002               Various                                                                                             $7.32
MARTHA MCMILLEN                  N5366 COUNTY Q                                                 SCANDINAVIA     WI         54977                  6002               Various                                                                                             $6.55
MARTHA MEJIA                     1749 SPRUCE ST                                                 BELOIT          WI         53511                  6002               Various                                                                                             $6.63

MARTHA MILLIS                    550 W BLACKHAWK DRIVE - APT 4                                  FORT ATKINSON   WI         53538                  6004               Various                                                                                                $3.00
MARTHA MOULIN                    APT 6                         701 W GRAND ST                   GALLATIN        MO         64640                  6002               Various                                                                                                $2.41
MARTHA MUEGGE                    52961 865 ROAD                                                 PLAINVIEW       NE         68769                  6004               Various                                                                                               $22.92
MARTHA PEREZ                     9950 CTY RD AS PO BOX # 50                                     WAUTOMA         WI         54982                  6002               Various                                                                                                $9.75
MARTHA SANCHEZ                   1000 WINTER ST                                                 WAKEFIELD       NE         68784                  6002               Various                                                                                                $6.16
MARTHA SMITH                     1305 8TH ST APT119                                             COLUMBUS        NE         68601                  6004               Various                                                                                                $3.00
MARTHA WENTZEL                   3831 WOODHAVEN LN                                              IDAHO FALLS     ID         83404                  6002               Various                                                                                                $3.95
MARTHA WIGREN                    1426 N 2425TH W                                                LAYTON          UT         84041                  6002               Various                                                                                                $8.32
MARTHA YODER                     697 BEAR HOLLOEW RD                                            WAUKON          IA         52172                  6002               Various                                                                                                $6.88
MARTHA ZOUTENDAM                 417 N 6TH AVE                                                  SHELDON         IA         51201                  6002               Various                                                                                                $1.64




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                                                                                                                                                            Account         Incurred, Basis for
             Creditor Name                    Address1             Address2            Address3             City          State           Zip   Country     Number                Claim                                                                             Total Claim
MARTIE AUSBURN                    1001 E STINER AVE                                                 COEUR D ALENE      ID         83815                 6002                Various                                                                                                $6.88
MARTIHA GARCIA                    3609 R ST                                                         OMAHA              NE         68107                 6004                Various                                                                                                $2.00
MARTIN BROWN                      433 N SPRUCE ST                                                   DODGE              NE         68633                 6002                Various                                                                                                $4.99
MARTIN BURCH                      P.O. BOX 2821                                                     APPLETON           WI         54912                 6004                Various                                                                                                $3.00
MARTIN CLEMONS                    701 W GRAND ST APT 12                                             GALLATIN           MO         64640                 6002                Various                                                                                                $3.73
MARTIN CONTRERAS                  604 NORMAL STREET                                                 TRENTON            MO         64683                 6002                Various                                                                                                $1.01
MARTIN ESTRADA                    329 E GRANT ST                                                    WEST POINT         NE         68788                 6002                Various                                                                                                $0.38
MARTIN FALSTAD                    518 COUNTY LINE RD                                                FORT SHAW          MT         59443                 6002                Various                                                                                                $0.74
MARTIN FAMILY                     42699 HIGHWAY 60                                                  MAZEPPA            MN         55956                 6002                Various                                                                                                $4.60
MARTIN FUHRMAN                    S680 HANSON RD                                                    SPENCER            WI         54479                 6002                Various                                                                                                $0.79
MARTIN GAGE                       15 S MONROE AVE                                                   MASON CITY         IA         50401                 6002                Various                                                                                                $2.99
MARTIN GOMEZ                      410 S WHITON ST                                                   WHITEWATER         WI         53190                 6002                Various                                                                                                $3.73
MARTIN HERNANDEZ                  1618 MARION RD SE                                                 ROCHESTER          MN         55904                 6002                Various                                                                                                $2.27
MARTIN J. HERNANDEZ               1618 MARION RD SE                                                 ROCHESTER          MN         55904                 6002                Various                                                                                                $3.26
MARTIN JENSEN                     926 ELTON HILLS DR NW                                             ROCHESTER          MN         55901                 6004                Various                                                                                               $65.00
MARTIN LOZANO                     PO BOX 4                                                          FISH CREEK         WI         54212                 6002                Various                                                                                                $3.62
MARTIN MARKEY                     3125 GUNSMOKE DR                                                  LINCOLN            NE         68507                 6002                Various                                                                                                $7.92
MARTIN MENDELSON                  13150 ROCK SCHOOL RD                                              GLEN HAVEN         WI         53810                 6002                Various                                                                                                $7.12
MARTIN OJA                        55219 SALO RD                                                     HANCOCK            MI         49930                 6002                Various                                                                                                $3.51
MARTIN P GANTENBEIN               65282 SHINGLEMILL RD                                              PEARL RIVER        LA         70452                 6002                Various                                                                                                $9.29
MARTIN ROY                        430 RIVER HILLS RD                                                RIVER FALLS        WI         54022                 6004                Various                                                                                               $44.00
MARTIN SILVA SALAZAR              130 FIRST STREET SOUTH                                            WALTHAM            MN         55982                 6004                Various                                                                                                $3.00
MARTIN TRONE                      N3252 JORDAN WIOTA RD                                             ARGYLE             WI         53504                 6004                Various                                                                                                $4.00
MARTIN VASQUEZ                    308 WILLIAMS ST                                                   COMBINED LOCKS     WI         54113                 6002                Various                                                                                                $6.88
                                                               2441 N NORTHLAKE
MARTIN VILLAGE SHOPPING CENTER    FIRST CAPITAL PARTNERS LTD   WAY                                  SEATTLE            WA         98103-0000              1964              Various                                                                                           $650.00
                                                                               100 CROSS COUNTRY
MARTIN/ DAVID                     STORE 720                    SHOPKO EMPLOYEE PLAZA                BATESVILLE         IN         47006                  4783               Various                                                                                               $29.85
MARTINA CASILLAS                  211 N DOUGLASS                                                    LYONS              KS         67554                  6002               Various                                                                                                $2.38
MARTY HILDEBRAND                  6042 46TH AVE                                                     KENOSHA            WI         53142                  6004               Various                                                                                                $1.00
MARTY QUIRAM                      1019 N LLOYD                                                      ABERDEEN           SD         57401                  6004               Various                                                                                               $44.04
MARTY THOMPSON                    113 E CHESTNUT ST                                                 DRAKESVILLE        IA         52552                  6002               Various                                                                                                $2.55
MARVEL HISGUN                     361 NELSON ST                                                     SISSETON           SD         57262                  6002               Various                                                                                                $6.79
MARVI PRUDEN                      PO BOX 365                                                        EWING              NE         68735                  6002               Various                                                                                                $6.49
MARVIN A ANDERSON                 950 BEAR PAW AVE APT 108                                          RICE LAKE          WI         54868                  6002               Various                                                                                                $6.11

MARVIN AUSTIN                     1411 23RD ST N               APT A                                WISCONSIN RAPIDS   WI         54494                  6004               Various                                                                                                $2.00
MARVIN BERGER                     710 E COURTLAND ST                                                TOLEDO             IA         52342                  6002               Various                                                                                                $4.11
MARVIN CROOKS                     410 S TYLER                                                       MASON CITY         IA         50401                  6004               Various                                                                                               $61.62
MARVIN D AUSBORN                  208 6TH ST SE                                                     INDEPENDENCE       IA         50644                  6002               Various                                                                                                $6.52
MARVIN GONZALEZ                   340 W 920 S 4                                                     PROVO              UT         84601                  6004               Various                                                                                               $39.98
MARVIN HEALY                      6 KOKANEE LN                                                      OROFINO            ID         83544                  6002               Various                                                                                                $0.96
MARVIN KNOOP                      23690 BASHAW TRL                                                  SHELL LAKE         WI         54871                  6002               Various                                                                                                $5.53
MARVIN KYLE                       1413 KENTUCKY ST                                                  RACINE             WI         53405                  6002               Various                                                                                                $7.07
MARVIN NELSON                     3001 S 51ST ST               UNIT 271                             LINCOLN            NE         68506                  6004               Various                                                                                                $2.00
MARVIN PILLERS                    BOX 166                                                           PALOUSE            WA         99161                  6004               Various                                                                                                $4.10
MARVIN PRESLEY                    2235 MINORCA RD                                                   MAYNARD            AR         72444                  6002               Various                                                                                                $1.73
MARVIN SIEVERT                    1533 COLLINS ST                                                   NEENAH             WI         54956                  6004               Various                                                                                               $22.00
MARVIN STEINBACH                  2772 ZION CHURCH RD                                               MAYVILLE           WI         53050                  6002               Various                                                                                                $8.66
MARVIN VARNEY                     PO BOX 1364                                                       MC GILL            NV         89318                  6002               Various                                                                                                $7.84
MARVIN WILLIAMS                   1311 MINNESOTA AVE           APT 1                                DULUTH             MN         55802                  6004               Various                                                                                                $3.00
MARVIN ZIMMERMAN                  2431 42ND ST N                                                    WISCONSIN RAPID    WI         54494                  6002               Various                                                                                                $1.97
                                  MARX TRUCK TRAILER SALES
MARX LEASING                      INCORPORTED                  PO BOX 1498                          SIOUX CITY         IA         51102-1498              6892              Various                                                                                           $321.00




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                                                                                                                                                   Last 4 Digits of     Date Debt was
                                                                                                                                                      Account         Incurred, Basis for
             Creditor Name                Address1               Address2           Address3             City       State           Zip   Country     Number                Claim                                                                             Total Claim
MARY A ADRIAN                 333 LAUREN LN                                                      WATERTOWN       WI         53094                 6002                Various                                                                                                $1.34
MARY A GRAY                   RR 3 BOX 9655                                                      DONIPHAN        MO         63935                 6002                Various                                                                                                $4.30
MARY A LYNCH                  370 N ROAD                                                         NEGAUNEE        MI         49866                 6002                Various                                                                                                $6.88
MARY A PETERS                 385 S TAYLOR AVE APT 311                                           SAINT LOUIS     MO         63122                 6002                Various                                                                                                $5.15
MARY A. ASHBY                 RR 2 BOX 19                                                        OQUAWKA         IL         61469                 6002                Various                                                                                                $2.49
MARY A. GERONIMI              PO BOX 3042                                                        KINGSFORD       MI         49802                 6002                Various                                                                                                $2.85
MARY ALSTED STRANGE           N2593 CTY RD EE                                                    APPLETON        WI         54913                 6002                Various                                                                                                $5.78
MARY AMA                      1433 GROSS AVE                                                     GREEN BAY       WI         54304                 6002                Various                                                                                                $6.49
MARY AMSDEN                   2116 LAKESIDE BLVD                                                 MANITOWOC       WI         54220                 6002                Various                                                                                                $9.48
MARY ANDERSON                 S12121 STATE ROAD 93                                               ELEVA           WI         54738                 6002                Various                                                                                                $7.92
MARY ANDREWS                  4720 RANDOLPH ST               RM 304                              LINCOLN         NE         68510                 6004                Various                                                                                                $2.00
MARY ANN ACKERMAN             OAKS RM 114                                                        LUVERNE         MN         56156                 6002                Various                                                                                               $10.00
MARY ANN BRADER               5701 S 108TH ST #104                                               OMAHA           NE         68137                 6002                Various                                                                                                $9.70
MARY ANN BRASURE              284 HOOVER AVE                                                     NIAGARA         WI         54151                 6002                Various                                                                                                $6.79
MARY ANN BROWN                1721 HIGHWAY 41                                                    STURTAVENT      WI         53177                 6002                Various                                                                                                $7.51
MARY ANN ELLIS                203 S 4TH ST APT 206 PMB LYN                                       LANDER          WY         82520                 6002                Various                                                                                                $5.62
MARY ANN GIESE                N8283 KELLOM RD LOT 135                                            BEAVER DAM      WI         53916                 6002                Various                                                                                                $1.56
MARY ANN JONES                910 2ND AVE S                                                      WI RAPIDS       WI         54494                 6004                Various                                                                                               $10.56
MARY ANN KILZER               2338 E ST APT 3                                                    LINCOLN         NE         68510                 6002                Various                                                                                                $3.64
MARY ANN MC NAB               82454 320TH AVE                                                    BREWSTER        MN         56119                 6004                Various                                                                                                $7.08
MARY ANN MILLER               W2863 HILL RD                                                      NEILLSVILLE     WI         54456                 6002                Various                                                                                                $9.23
MARY ANN PAHNKE               N4924 S HICKORY ST                                                 FOND DU LAC     WI         54935                 6002                Various                                                                                                $9.73
MARY ANN RESSLER              1301 N PREDISDENT AVE                                              MASON CITY      IA         50401                 6004                Various                                                                                               $48.00
MARY ANN ROUNDY               1042 JENNY ST                                                      VALENTINE       NE         69201                 6002                Various                                                                                                $2.55
MARY ANN SCHMIDT              N7361 CTY I                                                        JUNEAU          WI         53039                 6002                Various                                                                                                $7.53
MARY ANN SCHULZE              PO BOX 443                                                         HUBBELL         MI         49934                 6002                Various                                                                                                $3.07
MARY ANN TREPANIER            330 E 3RD ST #503              ST ANNS                             DULUTH          MN         55805                 6004                Various                                                                                                $3.00
MARY ANN WINCHELL             5272 STATE HWY 153                                                 HATLEY          WI         54440                 6004                Various                                                                                               $26.00
MARY ANNE BOURQUE             322 DEPOT AVE                                                      DIXON           IL         61021                 6002                Various                                                                                                $3.84
MARY ANSTEDT                  1025 S 2ND ST                                                      DELAVAN         WI         53115                 6002                Various                                                                                                $3.33

MARY ARVAI                    1557 PARKVIEW LN                                                   PORT WASHINGTON WI         53074                   6002              Various                                                                                                $3.32

MARY BAHR                     1800 W MARQUETTE ST APT 418                                        APPLETON        WI         54914                  6004               Various                                                                                               $28.10
MARY BANDOW                   100 GREEN AVE.                                                     STEVENS POINT   WI         54481                  6004               Various                                                                                                $5.00
MARY BARKER (AMM)             RT BOX # 242                                                       LICKING         MO         65542                  6002               Various                                                                                                $8.19
MARY BARTLETT                 912 TERRAN AVE                                                     LYONS           KS         67554                  6002               Various                                                                                                $5.01
MARY BARTOL                   6848 M RD                                                          ESCANABA        MI         49829                  6002               Various                                                                                                $1.75
MARY BECKER                   PO BOX 24                                                          FISH CREEK      WI         54212                  6002               Various                                                                                                $0.44
MARY BEHM                     410 12TH ST SE                                                     MASON CITY      IA         50401                  6004               Various                                                                                               $30.00
MARY BELTOYA                  919 42ND ST                                                        KENOSHA         WI         53140                  6002               Various                                                                                                $0.52
MARY BERGE                    206 CEDAR ST.                                                      COLFAX          WI         54730                  6004               Various                                                                                               $40.00
MARY BETH GASSNER             N8860 CTY RD M                                                     SHIOCTON        WI         54170                  6002               Various                                                                                                $1.34
MARY BETH HARDY               12625 DOOR BLUFF RD                                                ELLISON BAY     WI         54210                  6002               Various                                                                                                $9.12
MARY BLUM                     3919 GARFOOT RD                                                    CROSS PLAINS    WI         53528                  6002               Various                                                                                                $6.36
MARY BOND                     1616 E WATERS LN                                                   SANDY CITY      UT         84092                  6002               Various                                                                                                $5.23
MARY BOSTON                   BOX 8844 N. BOWERS LAKE RD                                         MILTON          WI         53563                  6002               Various                                                                                                $4.68
MARY BOWLES                   410 E GRAND STREET                                                 GALLATIN        MO         64640                  6002               Various                                                                                                $2.41
MARY BROOKS                   310 KENT LANE #202                                                 MADISON         WI         53713                  6004               Various                                                                                                $2.00
MARY BROWAN                   2317 4TH AVE                                                       STEVENS POINT   WI         54481                  6002               Various                                                                                                $1.75
MARY BUTLER                   5403 HANKINS COURT                                                 MCFARLAND       WI         53558                  6004               Various                                                                                                $5.00
MARY BUTZLER                  735 OAK ST                                                         BELOIT          WI         53511                  6002               Various                                                                                                $1.62
MARY BYRNE                    1082 E CHICAGO BLVD                                                TECUMSEH        MI         49286                  6002               Various                                                                                                $7.70
MARY CALDWELL                 1650 HAZLEWOOD                                                     SOBIESKI        WI         54171                  6002               Various                                                                                                $0.47




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                                                                     Schedule E/F: Part 2 - Creditors With Nonpriority Unsecured Claims




                                                                                                                                                                                                                               Claim subject to offset?
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                                                                                                                                                                                        Contingent


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                                                                                                                                               Last 4 Digits of     Date Debt was
                                                                                                                                                  Account         Incurred, Basis for
             Creditor Name                Address1           Address2        Address3             City          State           Zip   Country     Number                Claim                                                                             Total Claim
MARY CALLAHAN                 16123 HIGHLAND DR                                           FLORENCE           MT         59833                 6004                Various                                                                                            $108.00
MARY CANTRELL                 BOX 1873                                                    NORTH SIOUX CITY   SD         57049                 6004                Various                                                                                              $3.25
MARY CAPELLE                  2552 FINGER RD                                              GREEN BAY          WI         54302                 6002                Various                                                                                              $8.93
MARY CARDON                   636 E5640 S                                                 MURRAY             UT         84107                 6002                Various                                                                                              $6.41
MARY CATHERI MANN             115 N OBORN ST                                              WAUPACA            WI         54981                 6002                Various                                                                                              $3.53
MARY CATMULL                  10746 TAHITI ST                                             BOISE              ID         83713                 6004                Various                                                                                              $4.00
MARY CHAR BRENNA              599 CHERRY LN APT 10                                        ROBERTS            WI         54023                 6002                Various                                                                                              $9.18
MARY CHRISTENSEN              646 LEMHI COUNTY RD                                         SALMON             ID         83467                 6002                Various                                                                                              $4.47
MARY CHRISTOPHERSON           10584 466TH AVE                                             NEW EFFINGTON      SD         57255                 6002                Various                                                                                              $2.49
MARY CLARE BEDNAREK           1920 MONTANIS                                               RICE LAKE          WI         54868                 6004                Various                                                                                             $15.99
MARY CLEVELAND                3915 YUHAS AVE                                              HELENA             MT         59602                 6002                Various                                                                                              $1.73
MARY COLEMAN                  1222 AVE B                                                  GOTHENBURG         NE         69138                 6002                Various                                                                                              $2.33
MARY COOPER                   2430 W STREET APT 101                                       SIOUX CITY         IA         51103                 6002                Various                                                                                              $0.55
MARY CURTIS                   800 E SHADY LN APT 10                                       NEENAH             WI         54956                 6002                Various                                                                                              $3.75
MARY DENZEL                   400 E 16TH STREET                                           KAUKAUNA           WI         54130                 6002                Various                                                                                              $1.66
MARY DONAHUE                  2521 10TH ST S APT 126                                      WISCONSIN RAPID    WI         54494                 6002                Various                                                                                              $6.71
MARY DOWNS                    130 PRINCETON DR                                            ELK MOUND          WI         54739                 6002                Various                                                                                              $7.48
MARY E JAYNE                  2198 E CR N RD # 450                                        OAKLAND            IL         61943                 6002                Various                                                                                              $5.53
MARY E TOWNSEND               1887 21ST AVE                                               RICE LAKE          WI         54868                 6002                Various                                                                                              $1.59
MARY EDWARDS                  E8203 CTY HWY SS                                            VIROQUA            WI         54665                 6002                Various                                                                                              $4.47
MARY EHLINGER                 1611 CHICAGO ST                                             GREEN BAY          WI         54302                 6002                Various                                                                                              $3.62
MARY ELLEN HAYES              100 N FRONT ST                                              DE PERE            WI         54115                 6002                Various                                                                                              $2.66
MARY ELLEN KASTNER            1809 E L ST                                                 TORRINGTON         WY         82240                 6002                Various                                                                                              $6.71
MARY ELLEN SHAW               1300 N 9TH AVE APT 9K                                       WAUSAU             WI         54401                 6002                Various                                                                                              $3.67
MARY ELLIOTT                  8141 WHITNEY CT.                                            LINCOLN            NE         68507                 6004                Various                                                                                             $10.00
MARY ELLIS                    223 CONDRON ST                                              VALLEY             NE         68064                 6004                Various                                                                                             $10.00
MARY F THOMPSON               3635 HIGHWAY 16 PMBPO                                       OSAGE              WY         82425                 6002                Various                                                                                             $24.01
MARY FARACA                   7224 SHERIDAN RD                                            KENOSHA            WI         53143                 6004                Various                                                                                             $15.00
MARY FARVOUR                  181 WELSH ST                                                FOND DU LAC        WI         54935                 6004                Various                                                                                             $77.00
MARY FAVEL                    5403 KINGSWAY                                               GLADWIN            MI         48624                 6002                Various                                                                                              $8.47
MARY FIELDER                  HC 6 BOX 177                                                GATEWOOD           MO         63942                 6002                Various                                                                                              $9.26
MARY FLORES-MONTELLANO        1004 3RD STREET PO BOX # 124                                KAMIAH             ID         83536                 6002                Various                                                                                              $4.99
MARY FRANCES HOEHNE           3001 S WEBSTERS APT 210                                     GREEN BAY          WI         54301                 6002                Various                                                                                              $1.07
MARY FREEMAN                  202 S. JACKSON #6                                           JANESVILLE         WI         53545                 6004                Various                                                                                              $4.00
MARY FREESE                   597 TUDOR ST CARD                                           EDGAR              WI         54426                 6002                Various                                                                                              $6.93
MARY FREIDHOF                 528 E PEARL                                                 LANARK             IL         61046                 6004                Various                                                                                              $9.02
                              987 W WASHINGTON ST APT
MARY FULLERTON                E119                                                        TEMPE              AZ         85281                  6002               Various                                                                                             $2.19
MARY G BARSE                  2514 BUFFALO LAKE CIR                                       SISSETON           SD         57262                  6002               Various                                                                                             $8.08
MARY G STUTZMAN               915 LANE # 3                                                POWELL             WY         82435                  6002               Various                                                                                             $0.44
MARY GARRISON                 806 NO. BELLEVUE BLVD.                                      BELLEVUE           NE         68005                  6004               Various                                                                                            $25.00
MARY GEACH                    552 BLACKHAWK DR                                            GREEN BAY          WI         54301                  6002               Various                                                                                             $5.73
MARY GILROY                   7429 WRIGHT ST                                              OMAHA              NE         68124                  6002               Various                                                                                             $6.79
MARY GODFREY                  6850 EAGLE BEND BLVD                                        SHEPHERD           MT         59079                  6004               Various                                                                                             $5.02
MARY GOETSCH                  56956 OLD HIGHWAY 8                                         STANTON            NE         68779                  6002               Various                                                                                             $5.64

MARY GOKEY                    436 DEWEY ST                                                WISCONSIN RAPIDS   WI         54494                  6004               Various                                                                                            $52.80
MARY GRACE BECK               3639 CHERRYVALE CIR                                         APPLETON           WI         54913                  6002               Various                                                                                             $9.21
MARY GUENTHER                 PO BOX 103                                                  GREENVILLE         WI         54942                  6002               Various                                                                                             $8.85
MARY HADZIMA                  420 W 18TH ST                                               NEILLSVILLE        WI         54456                  6002               Various                                                                                             $0.63
MARY HAINES                   218 PELZER ST                                               WINONA             MN         55987                  6002               Various                                                                                             $0.85
MARY HALVORSEN                3546 STARR AVE                                              EAU CLAIRE         WI         54703                  6002               Various                                                                                            $10.00
MARY HANKINSON                1167 CLAIMJUMPER                                            HELENA             MT         59602                  6002               Various                                                                                             $6.55
MARY HAYENGA                  795 W 8TH ST APT 2                                          GARNER             IA         50438                  6002               Various                                                                                             $7.37




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                                                                                                                                                  Account         Incurred, Basis for
             Creditor Name               Address1              Address2        Address3             City        State           Zip   Country     Number                Claim                                                                             Total Claim
MARY HELLER                   PO BOX 276                                                    BEEMER           NE         68716                 6002                Various                                                                                                $1.40
MARY HENDREN                  713 MAIN ST # BOX184                                          WEIPPE           ID         83553                 6002                Various                                                                                                $7.75
MARY HENRY                    804 HAWTHORNE AVE                                             JANESVILLE       WI         53545                 6004                Various                                                                                                $2.00
MARY HILL                     P O BOX 113                                                   ROCKFORD         WA         99030                 6004                Various                                                                                                $5.02
MARY HOFFLAND                 118 FREIDAL                                                   MARSHALL         WI         53559                 6004                Various                                                                                               $36.00
MARY HUNT                     BOX 77                                                        FORT BRIDGER     WY         82933                 6002                Various                                                                                                $0.30
MARY J BROWN                  270 N ALLUMBAUGH ST #322                                      BOISE            ID         83704                 6002                Various                                                                                                $4.47
MARY J MORRIS                 1915 E ST MARIES DR                                           COEUR D ALENE    ID         83814                 6002                Various                                                                                                $5.92
MARY JANE KENNEDY             4045 W AIRPORT RD                                             GRAND ISLAND     NE         68803                 6002                Various                                                                                                $9.21
MARY JANE SEEFELDT            620 6TH ST                                                    WHITEFISH        MT         59937                 6002                Various                                                                                                $6.68
MARY JANE STEWART             720 ELDENE LN APT D                                           RAPID CITY       SD         57701                 6002                Various                                                                                                $8.32
MARY JANE STRUENSEE           N263 GRAND AVE                                                NEILLSVILLE      WI         54456                 6004                Various                                                                                               $10.24
MARY JAYNE CHURCHILL          PO BOX 152                                                    DONIPHAN         MO         63935                 6002                Various                                                                                                $5.01
MARY JEAN TEKOWSKI            3933 DOOLITTLE DR #7                                          STEVENS POINT    WI         54481                 6004                Various                                                                                               $65.00
MARY JEAN TRANFO              327 N 16TH ST                                                 COEUR D ALENE    ID         83814                 6002                Various                                                                                                $1.34
MARY JEAN WOODRUFF            3153 CRAIG RD                                                 EAU CLAIRE       WI         54701                 6002                Various                                                                                                $1.48
MARY JO BARKER                #6 STEVENSON DRIVE                                            JACKSONVILLE     IL         62650                 6002                Various                                                                                                $7.37
MARY JO FREDRICKSON           458 S BRUNER ST                                               WEST POINT       NE         68788                 6002                Various                                                                                                $6.41
MARY JO HUPF                  10578 MT HIGHWAY 541                                          HOBSON           MT         59452                 6002                Various                                                                                                $2.74
MARY JO KAPASKA               N8900 BUSINESS HWY # 13                                       WESTBORO         WI         54490                 6002                Various                                                                                                $6.14
MARY JO SHORE                 3501 LINDENWOOD ST                                            SIOUX CITY       IA         51104                 6002                Various                                                                                                $7.37
MARY JO TAYLOR                2010 S MAPLECREST DR APT 5                                    APPLETON         WI         54915                 6002                Various                                                                                                $9.95
MARY JO WAGNER                230 ROBIN ST APT 7                                            SEYMOUR          WI         54165                 6002                Various                                                                                                $4.30
MARY JO WENDLAND              802 8TH AVE SE                                                SAINT CLOUD      MN         56304                 6002                Various                                                                                                $9.01
MARY JOAN KEULER              3417 N MARCOS LN                                              APPLETON         WI         54911                 6002                Various                                                                                                $5.86
MARY JOAN TEDDY               140 BURNING BUSH TRL                                          CRYSTAL LAKE     IL         60012                 6002                Various                                                                                                $8.79
MARY JOHNSON                  4054 CAPITAL                                                  SIOUX CITY       IA         51108                 6004                Various                                                                                               $33.40
MARY K DANIELS                700 SUNSET DR                                                 WAUPACA          WI         54981                 6002                Various                                                                                                $4.30
MARY K. JAKUBOWSKI            130 BADGER LN APT 308                                         GREEN BAY        WI         54303                 6002                Various                                                                                                $2.14
MARY KAY BOWEN                1108 N 92ND PLZ APT 311                                       OMAHA            NE         68114                 6002                Various                                                                                                $0.49
MARY KAY YOUNT                209 W SPRING ST                                               DONIPHAN         MO         63935                 6002                Various                                                                                                $2.79

MARY KEEN                     W3130 E BROADWAY DR LOT 322                                   APPLETON         WI         54913                  6002               Various                                                                                             $6.41
MARY KELLEY                   506 E SUMMIT ST                                               DONIPHAN         MO         63935                  6002               Various                                                                                             $0.82
MARY KENNA                    239 SEQUOIA COURT                                             POST FALLS       ID         83854                  6004               Various                                                                                           $309.97
MARY KENYON                   413 S. HOLLY AVE.                                             SIOUX FALLS      SD         57104                  6004               Various                                                                                            $23.13
MARY KER                      W4649 CTY RD N                                                OWEN             WI         54460                  6002               Various                                                                                             $7.95
MARY KERSTEN                  N9768 HIGHLAND PARK                                           MALONE           WI         53049                  6004               Various                                                                                             $5.00
MARY KERWIN                   1320 SHIRLEY LANE                                             SHEBOYGAN        WI         53081                  6004               Various                                                                                            $10.00
MARY KIEFFER                  426 E 7TH ST                                                  MOUNT CARMEL     IL         62863                  6002               Various                                                                                             $5.78
MARY KIEL                     1011 GRAND AVE                                                MANITOWOC        WI         54220                  6002               Various                                                                                             $0.99
MARY KIMMEL                   325 VORNDRAN DR             #2                                BELLEVILLE       WI         53508                  6004               Various                                                                                             $1.00
MARY KING                     216 W RAILROAD ST                                             FREDERICKSBURG   IA         50630                  6002               Various                                                                                             $4.00
MARY KLEIMAN                  N15525 COUNTY ROAD 557                                        WILSON           MI         49896                  6004               Various                                                                                             $3.00
MARY KLYCE                    338 N FARRAGUT ST APT 19                                      WEST POINT       NE         68788                  6002               Various                                                                                             $3.86
MARY KUNTZ                    929 1ST AVE                                                   LAUREL           MT         59044                  6004               Various                                                                                             $1.00
MARY LECALSEY                 2512 W CRAIS CT                                               DE PERE          WI         54115                  6002               Various                                                                                             $7.04
MARY LEFDAHL                  PO BOX 121                                                    SACO             MT         59261                  6002               Various                                                                                             $1.37
MARY LEHRMAN                  1625 MARKET ST                                                LA CROSSE        WI         54601                  6002               Various                                                                                             $0.47
MARY LIQUE                    PO BOX 965                                                    GREAT FALLS      MT         59403                  6004               Various                                                                                            $16.00
MARY LLOYD                    P3713 HIGHWAY # Z                                             ANIWA            WI         54408                  6002               Various                                                                                             $8.36
MARY LOMELINO                 1653 SPRINGTTOWN RD                                           MURRAYVILLE      IL         62668                  6002               Various                                                                                             $1.01
MARY LOU BROWNING             200 STATE HWY B                                               COFFEY           MO         64636                  6002               Various                                                                                             $4.00
MARY LOU MILLER               BOX 224                                                       DUNNING          NE         68833                  6002               Various                                                                                             $4.49




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             Creditor Name                Address1            Address2         Address3             City       State           Zip   Country     Number                Claim                                                                             Total Claim
MARY LOU SUCHY                12098 W. GOLDENROD                                            BOISE           ID         83713                 6004                Various                                                                                               $10.02
MARY LOUISE LANDFRIED         1517 WILDWOOD RD                                              KIRKMAN         IA         51447                 6002                Various                                                                                                $8.05
MARY M FRYE                   2671 SETTLERS TRL                                             SAINT CHARLES   IA         50240                 6002                Various                                                                                                $0.82
MARY M HUMPHREY               1855 SHELLY LN                                                DEPERE          WI         54115                 6002                Various                                                                                                $7.48
MARY M PRUITT                 236 23RD AVE N                                                SAINT CLOUD     MN         56303                 6002                Various                                                                                                $7.21
MARY MAIER                    7998 HIGHWAY K                                                CROSS PLAINS    WI         53528                 6004                Various                                                                                               $54.00
MARY MALONEY                  1707 PHILIPPEN ST                                             MANITOWOC       WI         54220                 6004                Various                                                                                               $11.04
MARY MALSOM                   2415 RAILROAD AVE SE APT 3                                    ABERDEEN        SD         57401                 6004                Various                                                                                               $37.78
MARY MANION                   1220 EAST 2ND AVE                                             MITCHELL        SD         57301                 6004                Various                                                                                               $19.98
MARY MARSHALL                 623 JACKSON ST                                                FORT ATKINSON   WI         53538                 6002                Various                                                                                                $6.19
MARY MATCHETTE                10250 SW 86TH ST                                              MIAMI           FL         33173                 6002                Various                                                                                                $8.82
MARY MATSUSHIMA               5367 SOUTH 825TH EAST                                         OGDEN           UT         84405                 6002                Various                                                                                                $2.08
MARY MATULLE                  5819 CTY RD K                                                 OSHKOSH         WI         54904                 6004                Various                                                                                               $17.00
MARY MCKEEL                   HC 4 BOX 475                                                  DONIPHAN        MO         63935                 6002                Various                                                                                                $1.01
MARY METZ                     2295 5TH AVE               APT 1                              MONROE          WI         53566                 6004                Various                                                                                               $14.40
MARY MIDODJI                  9916 BERRY PLAZA           1B                                 OMAHA           NE         68127                 6004                Various                                                                                                $4.00
                              CO COADVANTAGE CREDIT
MARY MIEDING                  UNION                      723 6TH AVE                        ANTIGO          WI         54409                  6002               Various                                                                                               $16.73
MARY MILLER                   203 15TH STR S.E                                              AUSTIN          MN         55912                  6004               Various                                                                                                $6.00
MARY MOLASKI                  3886 BREHMER RD                                               ABRAMS          WI         54101                  6002               Various                                                                                                $2.99
MARY MONTGOMERY               27226 441ST AVE                                               MARION          SD         57043                  6004               Various                                                                                                $8.00
MARY MONTOYA                  619 W COTTONWOOD ST                                           FREEPORT        IL         61032                  6002               Various                                                                                                $6.93
MARY MOORE                    667 SCENIC DR                                                 KALISPELL       MT         59901                  6004               Various                                                                                                $9.72
MARY MROTEK                   915 ST CLAIRE                                                 MANITOWOC       WI         54220                  6004               Various                                                                                               $44.16
MARY MULLER                   1776 E MASON STREET                                           GREEN BAY       WI         54302                  6002               Various                                                                                                $8.33
MARY NELSON                   373 W ELKHORN RD                                              SALMON          ID         83467                  6002               Various                                                                                                $6.38
                              14255 S COTTONWOOD CANYON
MARY NICKERSON                RD                                                            MAXWELL         NE         69151                  6002               Various                                                                                                $1.42
MARY NURSE                    W6064 ROCK RD                                                 HORTONVILLE     WI         54944                  6002               Various                                                                                                $7.18
MARY OVERDIEK                 889 W 17TH ST                                                 OGDEN           UT         84404                  6002               Various                                                                                                $5.40
MARY PAHL                     123 PRINCETON DR                                              ELK MOUND       WI         54739                  6004               Various                                                                                               $33.11
MARY PAPPAS                   1853 OXWOOD DR                                                NEENAH          WI         54956                  6004               Various                                                                                               $25.00
MARY PARR                     1634 PARKHILL DRIVE                                           BILLINGS        MT         59102                  6002               Various                                                                                                $0.66
MARY PATZER                   163 JACKSON CREEK RD                                          CLANCY          MT         59634                  6002               Various                                                                                                $3.86
MARY PEART                    946 SUND ST                                                   NEENAH          WI         54956                  6004               Various                                                                                               $25.00
MARY PETERSON                 410 SOUTH LINDEN AVENUE                                       MARSHFIELD      WI         54449                  6002               Various                                                                                                $8.56
MARY POEHNELT                 10363 ROBIN RD                                                MARSHFIELD      WI         54449                  6002               Various                                                                                                $4.63
MARY PRINSEN                  4215 FRANK CT                                                 LA CROSSE       WI         54601                  6002               Various                                                                                                $8.05
MARY RANSOM                   1867 EAST PINERIDGE DRIVE                                     BOISE           ID         83716                  6004               Various                                                                                               $40.00
MARY RING                     1603 PEBBLE LAKEROAD                                          FERGUS FALLS    MN         56537                  6002               Various                                                                                                $8.47
MARY ROSSMILLER               365 NORTH JEFFERSON STREET                                    WHITEWATER      WI         53190                  6004               Various                                                                                               $20.00
MARY ROWAN                    2460 HAZELWOOD LN                                             GREEN BAY       WI         54304                  6002               Various                                                                                               $17.21
MARY RUETER                   1439 TANAGER AVE                                              OCHEYEDAN       IA         51354                  6002               Various                                                                                                $5.21
MARY RUETZ                    3518 7TH AVE                                                  KENOSHA         WI         53140                  6002               Various                                                                                                $7.53
MARY SALMINEN                 6782 381ST ST                                                 NORTH BRANCH    MN         55056                  6002               Various                                                                                                $5.04
MARY SAWYER                   10529 JUDITH BLAZER                                           SISTER BAY      WI         54234                  6002               Various                                                                                                $7.26
MARY SCAGGS                   2734 EVERETT                                                  LINCOLN         NE         68502                  6004               Various                                                                                               $34.35
MARY SCHAFFHAUSEN             4427 PERRY WAY                                                SIOUX CITY      IA         51104                  6002               Various                                                                                                $8.22
MARY SCHEPPLER                1113 LABLONDE LN                                              HURLEY          WI         54534                  6002               Various                                                                                                $6.30
MARY SCHILLER                 1744 N 25TH ST                                                SHEBOYGAN       WI         53081                  6002               Various                                                                                                $6.90
MARY SCOTT                    1111 S 70TH ST APT 334                                        LINCOLN         NE         68510                  6002               Various                                                                                                $8.99
MARY SCRAY                    1018 COGGINS CRT                                              GREEN BAY       WI         54313                  6004               Various                                                                                               $25.00
MARY SELLECK                  215 E HAMILTON ST                                             PALMYRA         MO         63461                  6002               Various                                                                                                $7.34
MARY SHULANDER                408 CLEVELAND AVE                                             MANITOWOC       WI         54220                  6002               Various                                                                                                $6.36




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MARY SINNETT                  1508 E SHERMAN AVE                                                COEUR D ALENE     ID         83814                 6002                Various                                                                                                $6.19
MARY SKRUBY                   6587 LASLEY SHORE DRIVE                                           WINNECONNE        WI         54986                 6002                Various                                                                                                $3.90
MARY SMANEY                   205 N 3RD ST                                                      LENA              WI         54139                 6004                Various                                                                                               $10.00
MARY SMITH                    1414 RIDGE RUN                                                    NEW RICHMOND      WI         54017                 6004                Various                                                                                               $30.00
MARY SPENCER                  453 N. 4TH                                                        LOUP CITY         NE         68853                 6004                Various                                                                                               $15.00
MARY SPURLOCK                 8250 ROCKLEDGE RD #201                                            LINCOLN           NE         68506                 6004                Various                                                                                               $15.08
MARY STALLINGS                214 VIADUCT ROAD                                                  SAVANNA           IL         61074                 6002                Various                                                                                                $2.08
MARY STOKER                   297 W 740TH N                                                     AMERICAN FORK     UT         84003                 6002                Various                                                                                                $4.27
MARY SWARTZ                   1050 COLLINS RD                                                   GILLETTE          WY         82716                 6002                Various                                                                                                $0.74
MARY SWENSEN                  905 ADLER RD                                                      MARSHFIELD        WI         54449                 6002                Various                                                                                                $7.12
MARY SYRJALA                  1312 E FOOT ST                                                    WATTON            MI         49970                 6002                Various                                                                                                $0.93
MARY T KUCHARSKI              1317 VOGT DR                                                      WEST BEND         WI         53095                 6002                Various                                                                                                $9.56
MARY THATCHER                 1640 GROVE AVE                                                    CRETE             NE         68333                 6002                Various                                                                                                $6.19
MARY THOMPSON                 2230 RIVER RD NW APT 113                                          EAST GRAND FORK   MN         56721                 6002                Various                                                                                                $6.88
MARY THUMS                    N7287 COUNTY ROAD H                                               ELKHORN           WI         53121                 6004                Various                                                                                               $86.00
MARY TRACY                    1156 LINCOLN AVE                                                  BELOIT            WI         53511                 6004                Various                                                                                                $4.00
MARY TROTT                    409 BROOK ST                                                      BEAVER DAM        WI         53916                 6002                Various                                                                                                $0.47
MARY UNGERECHT                7346 STATELINE RD                                                 TOUCHET           WA         99360                 6004                Various                                                                                               $19.00
MARY VAN HAUTE                1923 CLEARVIEW LAKE DRIVE                                         CLEARWATER        FL         33755                 6004                Various                                                                                               $25.00
MARY VELTKAMP                 1375 13TH AVE SW                                                  GREAT FALLS       MT         59404                 6002                Various                                                                                                $4.49
MARY VVALTHER                 N6821 COUNTY E                                                    DE PERE           WI         54115                 6004                Various                                                                                               $10.40
MARY WAGENBACH                305 NORTH MARKET ST                                               JANESVILLE        MN         56048                 6004                Various                                                                                                $3.06
MARY WANDERSEE                325 PAGE AVE APT 118                                              MANKATO           MN         56003                 6004                Various                                                                                                $3.00
MARY WEDIN                    955 BURTON ST APT 5                                               BELOIT            WI         53511                 6002                Various                                                                                                $6.90
MARY WETTSCHRECK              1421 E CAMP ST APT 29                                             ELY               MN         55731                 6002                Various                                                                                                $4.96
MARY WHITTENBERG              1248 BIGHORN DR                                                   LEWISTON          ID         83501                 6002                Various                                                                                                $9.78
MARY WILDER                   4103 SHALE ST SE                                                  LACEY             WA         98503                 6004                Various                                                                                               $12.65
MARY WRIGHT                   1054 25TH ST                                                      SIOUX CITY        IA         51104                 6002                Various                                                                                                $3.48
MARY YOURICK                  PO BOX 165                                                        BYRON             WY         82412                 6002                Various                                                                                                $3.61
MARYA NAVARRO                 N8561 CATLIN AVE                                                  LOYAL             WI         54446                 6002                Various                                                                                                $7.75
MARYA PLANK                   2394 CANTER LANE APT E                                            GREEN BAY         WI         54304                 6004                Various                                                                                               $24.00
MARY-AMELIA MINKEVITCH        1761 NORTH 4700 WEST                                              OGDEN             UT         84404                 6004                Various                                                                                               $24.00
MARYAMO ABDI                  1400 9TH AVE S                APT 303                             SAINT CLOUD       MN         56301                 6004                Various                                                                                                $3.00
MARYANN AANENSEN              N4837 5TH LN                                                      PLAINFIELD        WI         54966                 6002                Various                                                                                                $6.16
MARYANN CARTER                2324 BENTON AVE                                                   MISSOULA          MT         59801                 6004                Various                                                                                                $2.00
MARYANN DELROW                1236 PRIMROSE LN                                                  NEENAH            WI         54956                 6002                Various                                                                                                $9.92
MARYANN GROOTERS              5720 300TH ST                                                     SANBORN           IA         51248                 6002                Various                                                                                                $4.68
MARYANN HOUSOS                6660 W COLHAVEN DR APT 102                                        BOISE             ID         83704                 6002                Various                                                                                                $4.96
MARYANN KAUFFMAN              W639 HEINTOWN RD                                                  CHILI             WI         54420                 6002                Various                                                                                                $1.92
MARYANN LUCAS                 545 S MILWAUKEE ST                                                FREDONIA          WI         53021                 6002                Various                                                                                                $6.03
MARYANN SCHULTZ               PO BOX 459                                                        COTTONWOOD        MN         56229                 6004                Various                                                                                                $6.00
MARYANN(PSP) LOJESKI          933 INDIANA ST                                                    RACINE            WI         53405                 6002                Various                                                                                                $7.62
MARYANNE GAUL                 2067 COBBLESTONE CT                                               BELOIT            WI         53511                 6002                Various                                                                                                $0.71
MARYBEL FLORES                3367 WASHINGTON STREET                                            OMAHA             NE         68107                 6004                Various                                                                                                $2.00
MARYBETH BROUWER              79355 HIGHWAY 183                                                 ANSLEY            NE         68814                 6002                Various                                                                                                $2.99
MARYBETH HYSELL-MATTHEWS      N6741 10TH AVE                                                    NEW LISBON        WI         53950                 6004                Various                                                                                               $26.80
MARYBETH MCNAMARA             1340 CANYON HILLS RD APT E2                                       THERMOPOLIS       WY         82443                 6002                Various                                                                                               $10.00
MARYBETH WALKER               BOX 2233                                                          OROFINO           ID         83544                 6002                Various                                                                                                $1.40
MARY-DOCUDOS HETTINGER        3801 12TH ST NE                                                   GREAT FALLS       MT         59404                 6002                Various                                                                                                $6.38
MARY-ELLEN ANDERSON           1261 100TH AVE                                                    PRINCETON         MN         55371                 6002                Various                                                                                                $7.56
MARY-FRANCES BENTLEY          601 S MAIN ST                                                     BADGER            MN         56714                 6002                Various                                                                                                $8.49
MARYJANE KELSEY               1514 BUSCH CT                                                     TWIN FALLS        ID         83301                 6004                Various                                                                                               $10.00
MARYLOU LENOX                 2620 N HELEN ST               APT 107                             APPLETON          WI         54911                 6004                Various                                                                                                $1.66
MARYNEL JORGENSEN             4800 TENNIS LANE APT 503                                          SIOUX FALLS       SD         57106                 6004                Various                                                                                               $25.00




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                                                                                                                                                                                                              Unliquidated
                                                                                                                                                                                                 Contingent


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                                                                                                                                                          Last 4 Digits of   Date Debt was
                                                                                                                                                             Account       Incurred, Basis for
            Creditor Name                     Address1               Address2         Address3             City            State           Zip   Country     Number              Claim                                                                             Total Claim
MARYSSA PAULSEN                    E3442 KROK RD                                                   KEWAUNEE           WI           54216                 6002              Various                                                                                               $10.00
MASON BELZER                       303 E. SHERMAN AVENUE                                           FORT ATKINSON      WI           53538                 6004              Various                                                                                               $61.00
                                                                                                                                                                           11/6/2018 -
MASON CITY PUBLIC UTILITIES, IA    10 FIRST STREET NORTHWEST                                       MASON CITY         IA           50401                 46001             12/7/2018                                                                                         $590.54
MASON FAMILY                       10492 W STONY RIDGE CIR                                         SISTER BAY         WI           54234                 6002              Various                                                                                             $3.67

MASON JOSEPH WESTIE                4400 N PROVIDENCE AVE APT 9                                     APPLETON           WI           54913                   6002            Various                                                                                               $10.00
MASON MATTKE                       W3410 GRUENNERT STREET                                          HELENVILLE         WI           53137                   6004            Various                                                                                                $5.95
MASON PEMBERTON                    412 GROVE ST N                                                  MORA               MN           55051                   6002            Various                                                                                                $8.74
MASON POON                         858 EDDINGTON DR                                                SUN PRAIRIE        WI           53590                   6004            Various                                                                                                $2.00
MASON SCHWAHN                      321 SKYWAY ROAD                                                 LINCOLN            NE           68505                   6004            Various                                                                                               $20.00

MASON SOSIN                        5321 WYATT AVE                                                  WISCONSIN RAPIDS   WI           54494                   6004            Various                                                                                            $20.00
MASON VALEK                        2007 POWERS DRIVE                                               LEWISTON           ID           83501                   6004            Various                                                                                             $8.00
MASON WARNER                       124 1/2 WASHINHTON STREET                                       ELKHORN            WI           53121                   6004            Various                                                                                             $1.00
MASSIMO CHAMBERLAIN                320 TIMBERLANE DR                                               MARSHALL           MN           56258                   6004            Various                                                                                           $136.53
MASSOOMA AL-HUSSAIN                6432 LEIGHTON                                                   LINCOLN            NE           68507                   6004            Various                                                                                             $2.00
                                   75 REMITTANCE DRIVE SUITE
MASTER LOCK COMPANY                1426                                                            CHICAGO            IL           60675-1426              5721            Various                                                                                        $51,205.02
MASTER MAGNETICS INC               1211 ATCHISON CT                                                CASTLE ROCK        CO           80109                   4696            Various                                                                                         $1,894.80
MASTERCARE LANDSCAPING & LAWN      W9246 BUTTERNUT LAKE LANE                                       BUTTERNUT          WI           54514                   8871            Various                                                                                         $2,500.35
MASTERPIECES PUZZLE COMPANY IN     39313 TREASURY CENTER                                           CHICAGO            IL           60694-9300              3167            Various                                                                                       $132,286.57
MATAUAIGH FALE                     1206 13 TH AVE                                                  GREEN BAY          WI           54304                   6004            Various                                                                                             $9.47
MATEO CATALAN NAVA                 731 S COLFAX ST                                                 WEST POINT         NE           68788                   6002            Various                                                                                             $4.11
MATEO GRIMALDO                     622 N COPPER RIVER DR                                           NAMPA              ID           83651                   6004            Various                                                                                            $12.13

MATHEE/ SARAH                      STORE 2-027                   SHOPKO EMPLOYEE                   GREEN BAY          WI           54307-9060              2994            Various                                                                                               $34.56
                                                                 7537 SW
MATHER FLARE RENTAL INCORPORAT     TOPEKA TRAILER STORAGE        ROBINHOOD CT                      TOPEKA             KS           66614                   4653            Various                                                                                           $390.60
MATHEW CONROY                      117 143RD STREET NORTH                                          OROFINO            ID           83544                   6004            Various                                                                                             $6.45
MATHEW FAHEY                       2251 SHADOW VIEW CIRCLE                                         PLOVER             WI           54467                   6004            Various                                                                                             $1.00
MATHEW GULL                        289 BROOKE CT                                                   SPRINGVILLE        UT           84663                   6002            Various                                                                                             $8.60
MATHEW HUGHES                      4920 N CALVIN RD                                                SPOKANE            WA           99216                   6004            Various                                                                                           $159.98
MATHEW J OLSON                     629 AIRWAY DR                                                   LEWISTON           ID           83501                   6002            Various                                                                                             $2.93
MATHEW J SHALIFOE                  15951 MISSION RD                                                BARAGA             MI           49908                   6002            Various                                                                                            $10.00
MATHEW JOHN QUINTANILLA            6670 MILLER RD                                                  ABRAMS             WI           54101                   6002            Various                                                                                             $4.79
MATHEW JOHNSON                     1211 1ST AVE. N.                                                SAUK RAPIDS        MN           56379                   6004            Various                                                                                             $3.00
MATHEW KRIEG                       208 E DANIEL ST                                                 ALBANY             MO           64402                   6002            Various                                                                                             $7.26
MATHEW MILLER                      931 LINCOLN AVE S                                               SIDNEY             MT           59270                   6002            Various                                                                                            $10.00
MATHEW NABBEFELD                   152 LAMPLIGHTER DR # 10                                         KAUKAUNA           WI           54130                   6002            Various                                                                                             $3.40
                                   N1975 BLACKHAWK ISLAND
MATHEW SMITH                       ROAD                                                            FORT ATKINSON      WI           53538                   6004            Various                                                                                               $20.00
MATHEW W RUSK                      1301 6TH ST NW TRLR 2                                           GREAT FALLS        MT           59404                   6002            Various                                                                                                $5.56
MATHIAM MBOW                       7136 CALLA PASS                                                 MIDDLETON          WI           53562                   6004            Various                                                                                               $27.00
MATILDE HARO                       818 W 330TH S                                                   OREM               UT           84058                   6002            Various                                                                                                $3.89
MATRACA OLSON                      820 N WASHINGTON AVE                                            MADISON            SD           57042                   6002            Various                                                                                                $2.14
MATRIK HARTMAN                     409 E DIVISION ST                                               WHITE LAKE         SD           57383                   6004            Various                                                                                               $23.00

                                                                 2421 WEST PEORIA
MATRIX ABSENCE MANAGEMENT          CARRIE FLEISCHMAN             AVENUE SUITE 200                  PHOENIX            AZ           85029                   6002            Various                                                                                           $171.17
MATT ALLGOOD                       422 1/2 8TH AVE                                                 HELENA             MT           59601                   6002            Various                                                                                             $0.82
MATT BETZ                          46 W 14TH ST                                                    CLINTONVILLE       WI           54929                   6002            Various                                                                                             $9.86
MATT COLLINS                       106 7TH AVE. S W                                                ABERDEEN           SD           57401                   6004            Various                                                                                            $10.00
MATT COOK                          STARDUST MOTEL                                                  NEWCASTLE          WY           82701                   6002            Various                                                                                             $1.81




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                                                                                                                                                                                       Contingent


                                                                                                                                                                                                                   Disputed
                                                                                                                                              Last 4 Digits of     Date Debt was
                                                                                                                                                 Account         Incurred, Basis for
             Creditor Name                Address1         Address2          Address3              City         State         Zip    Country     Number                Claim                                                                             Total Claim
MATT DEWANE                   2384 VANDENAVOND                                            GREEN BAY          WI         54311                6004                Various                                                                                            $10.00
MATT FIDLER                   14020 ZEMAN DR                                              MARIBEL            WI         54227                6004                Various                                                                                          $105.00
MATT GAINES                   112 14TH ST NW                                              MASON CITY         IA         50401                6002                Various                                                                                             $2.66
MATT GAULKE                   11664 UNITY ST NW                                           MINNEAPOLIS        MN         55448                6002                Various                                                                                             $7.07
MATT HOUSMAN                  302 SO ASH                                                  NORTH PLATTE       NE         69101                6002                Various                                                                                             $1.12
MATT JAQUISH                  P O BOX 1933                                                ELMA               WA         98541                6004                Various                                                                                            $10.00
MATT KIRBY                    120 CEDAR AVENUE                                            SODA SPRINGS       ID         83276                6004                Various                                                                                            $20.00
MATT KREPLINE                 1239 LAMERS CLANCY RD                                       GREENLEAF          WI         54126                6002                Various                                                                                             $5.21
MATT MCMULLEN                 2218 FAIRWAY DR.                                            BILLINGS           MT         59102                6004                Various                                                                                            $10.00
MATT MCVAY                    2019 W 10TH ST                                              GRAND ISLAND       NE         68803                6002                Various                                                                                             $3.59
MATT MELICHAR                 5648                                                        BELLEVUE           NE         68123                6004                Various                                                                                            $15.00
MATT MELIKIAN                 298 WASHINGTON BLVD                                         GREAT FALLS        MT         59404                6004                Various                                                                                             $8.50
MATT PHILLIP                  821 WILD ROSE LN                                            BLACKFOOT          ID         83221                6002                Various                                                                                             $1.04
MATT RICE                     19 E WALNUT              APT 4                              CHIPPEWA FALLS     WI         54729                6004                Various                                                                                            $60.00
MATT ROBINSON                 PO BOX 595                                                  LAVA HOT SPRING    ID         83246                6002                Various                                                                                             $4.30
MATT RUETER                   584 LOWER ALSEY RD.                                         WINCHESTER         IL         62694                6004                Various                                                                                             $2.86
MATT SCHOMMER                 311 BOYD ST                                                 FOND DU LAC        WI         54935                6004                Various                                                                                            $29.97
MATT SCHULTZ                  6170 KINGSBURY COURT                                        ALLENDALE          MI         49401                6666                Various                                                                                            $39.05
MATT SCHUMACHER               606 PALMYRA ST                                              DIXON              IL         61021                6004                Various                                                                                            $22.00
MATT SUTTON                   M446 GALVIN AVENUE                                          MARSHFIELD         WI         54449                6004                Various                                                                                            $11.80
MATT THOMPSON                 1865 VAN DEUREN ST                                          GREEN BAY          WI         54302                6004                Various                                                                                            $24.00
MATTEA GALLEGOS               307 S WALNUT ST                                             AINSWORTH          NE         69210                6002                Various                                                                                             $7.92
MATTEA PUGH                   513 CLIFF ST                                                QUINNESEC          MI         49876                6002                Various                                                                                             $0.63
MATTEL TOYS                   PO BOX 100125                                               ATLANTA            GA         30384-0125           7004                Various                                                                                        $73,202.36
MATTEO (FATH SOLLENA          9639 CLAYTON AVE                                            APPLETON           WI         54915                6002                Various                                                                                             $1.01
MATTHEW A FRISK               904 WALNUT ST                                               DONIPHAN           MO         63935                6002                Various                                                                                             $2.68
MATTHEW ALLRED                4963 W VALLEY VIEW DR                                       WEST VALLEY CIT    UT         84120                6002                Various                                                                                             $1.32
MATTHEW ANDERSON              PO BOX 824                                                  UPTON              WY         82730                6002                Various                                                                                             $0.85
MATTHEW ARENDS                610 6TH STREET S.E.                                         MASON CITY         IA         50401                6004                Various                                                                                            $25.00
MATTHEW ARNDT                 921 VERONICA LA                                             DE PERE            WI         54115                6004                Various                                                                                            $20.00
MATTHEW B RICH                1129 E ROSEVELT AVE                                         SALT LAKE CITY     UT         84105                6002                Various                                                                                             $0.41
MATTHEW BAER                  822 8TH AVE                                                 LEWISTON           ID         83501                6004                Various                                                                                            $29.00
MATTHEW BAIER                 1228 E BANNERMAN AVE                                        REDGRANITE         WI         54970                6002                Various                                                                                             $1.95
MATTHEW BARTZ                 N3728 COUNTY RD J                                           POYNETTE           WI         53955                6004                Various                                                                                            $12.77
MATTHEW BAYONA                N7695 GARTON COURT                                          SHEBOYGAN          WI         53083                6004                Various                                                                                            $36.25
MATTHEW BENTLEY               2762 LIBERTY AVE                                            OGDEN              UT         84405                6004                Various                                                                                            $14.00
MATTHEW BERNHARDT             117 8TH ST SW                                               MASON CITY         IA         50401                6002                Various                                                                                             $4.68
MATTHEW BOWEN                 340 TAYLOR AVE                                              WISCONSIN RAPID    WI         54494                6002                Various                                                                                             $2.08
MATTHEW BOWLING               100 LANCER ST                                               GWINN              MI         49841                6002                Various                                                                                             $1.86
MATTHEW BRADLEY               1319 E EMERSON AVE                                          SALT LAKE CITY     UT         84105                6002                Various                                                                                             $0.52
MATTHEW BRANDEMUEHL           511 S 7TH ST                                                CAMERON            WI         54822                6004                Various                                                                                            $25.00

MATTHEW BURMEISTER            BOX 618                  311 COURT AVENUE                   GAYLORD            MN         55334                 6004               Various                                                                                                $3.06
MATTHEW C SIPP                6 N LOCUST ST APT 7                                         GLENWOOD           IA         51534                 6002               Various                                                                                                $5.53
MATTHEW CHESTER               5349 KINGSTON PLACE                                         ROCHESTER          MN         55901                 6004               Various                                                                                               $25.00
MATTHEW CLARK                 2300 E PHILLIPS 57C                                         NORTH PLATTE       NE         69101                 6004               Various                                                                                               $10.00

MATTHEW COLE                  741 DEWEY ST                                                WISCONSIN RAPIDS   WI         54494                 6004               Various                                                                                                $3.00
MATTHEW CONROY                117 N 143RD ST                                              OROFINO            ID         83544                 6002               Various                                                                                                $7.01
MATTHEW D BUSHEE              314 1/2 W WISCONSIN ST                                      CHIPPEWA FALLS     WI         54729                 6002               Various                                                                                                $4.19
MATTHEW D HOUSTON             319 W 3RD ST                                                LARNED             KS         67550                 6002               Various                                                                                                $7.51
MATTHEW DAVIDSON              5119 TIMBER LANE                                            MCFARLAND          WI         53558                 6004               Various                                                                                               $22.50
MATTHEW DEWSNUP               261 S 300 E                                                 PROVO              UT         84604                 6004               Various                                                                                               $10.00
MATTHEW DORT                  925 E. JACKSON ST        APT# 3                             WAUSAU             WI         54403                 6004               Various                                                                                                $3.00




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                                                                                                                                                  Last 4 Digits of     Date Debt was
                                                                                                                                                     Account         Incurred, Basis for
            Creditor Name              Address1             Address2           Address3             City           State           Zip   Country     Number                Claim                                                                             Total Claim
MATTHEW DVORAK               17111 HICHORY CIRCLE                                           OMAHA             NE           68130                 6004                Various                                                                                               $67.00
MATTHEW ERHARD               212 WOLF RIVER DR                                              FREMONT           WI           54940                 6002                Various                                                                                                $8.47
MATTHEW ERICKSON             822 RUNDQUIST WAY                                              KIMBERLY          WI           54136                 6004                Various                                                                                                $3.27
MATTHEW ESTERLING            4900 E MANGROVE ST                                             SIOUX FALLS       SD           57110                 6004                Various                                                                                               $24.00

MATTHEW EVENSEN              1835 GATEWAY MEADOWS LANE                                      NEENAH            WI           54956                   6004              Various                                                                                               $34.00

MATTHEW EWIG                 1653 N HOLDEN ST                                               PORT WASHINGTON   WI           53074                  6002               Various                                                                                                $4.30
MATTHEW FINLEY               1921 W RUSSET CT APT 3                                         APPLETON          WI           54914                  6002               Various                                                                                                $2.19
MATTHEW FLEMING              4651 BAUTISTA DRIVE                                            MC FARLAND        WI           53558                  6004               Various                                                                                                $2.50
MATTHEW FOLEY                568 N CORDOVA AVE APT C21                                      LE CENTER         MN           56057                  6002               Various                                                                                                $2.63
MATTHEW FOTSCH               1019 15TH ST N PRERELEASE                                      GREAT FALLS       MT           59401                  6002               Various                                                                                                $8.27
MATTHEW FOWLER               4884 W ZEPHYR WAY                                              SOUTH JORDAN      UT           84095                  6004               Various                                                                                                $5.00
MATTHEW FRAKER               14687 540TH AVE                                                WELLS             MN           56097                  6004               Various                                                                                                $3.00
MATTHEW GALLOWAY             2410 NW SHORT CT                                               PULLMAN           WA           99163                  6004               Various                                                                                               $32.00
MATTHEW GARSON               W2118 H HUNDT RD                                               COON VALLEY       WI           54623                  6002               Various                                                                                                $8.19
MATTHEW GENDZWILL            127 PARK STREET                                                CRYSTAL FALLS     MI           49920                  6004               Various                                                                                               $76.38
MATTHEW GOELZER              13907 CTY K                                                    REEDSVILLE        WI           54230                  6004               Various                                                                                               $20.00
MATTHEW GRIMLEY              119 N 9TH ST                                                   RIVER FALLS       WI           54022                  6002               Various                                                                                                $9.73
MATTHEW HACKER               109 FENTON AVE                                                 ALBERT LEA        MN           56007                  6004               Various                                                                                                $3.00
MATTHEW HANSEN               1825 7TH AVENUE                                                LWEISTON          ID           83501                  6004               Various                                                                                               $20.07
MATTHEW HANSON               206 N LOCUST ST                                                KANAWHA           IA           50447                  6002               Various                                                                                                $0.68
MATTHEW HARDESTY             529 PINE AVE                                                   NEWCASTLE         WY           82701                  6002               Various                                                                                                $8.66

MATTHEW HARDT MOTT           1721 WEST SUMMERWIND DRIVE                                     NAMPA             ID           83651                  6004               Various                                                                                                $3.65
MATTHEW HEALY                3449 S. MURLO WAY                                              MERIDIAN          ID           83642                  6004               Various                                                                                                $2.00
MATTHEW HERRMANN             1726 N ARLINGTON PLACE                                         MILWAUKEE         WI           53202                  6004               Various                                                                                               $25.02
MATTHEW HESS                 1122 N 8TH AVE                                                 WAUSAU            WI           54401                  6004               Various                                                                                                $8.00
MATTHEW HILDEBRAND           1145 W 200TH S                                                 SPANISH FORK      UT           84660                  6002               Various                                                                                                $5.97
MATTHEW HINS                 300 W TYRONE ST                                                LE CENTER         MN           56057                  6002               Various                                                                                                $0.38
MATTHEW HOIDA                2957 GILBERT DR                                                GREEN BAY         WI           54311                  6002               Various                                                                                                $1.70
MATTHEW HOLTZ                333 FOX LAKE AVE                                               SHERBURN          MN           56171                  6002               Various                                                                                                $7.51
MATTHEW HUDSON               840 BEETOWN RD                                                 LANCASTER         WI           53813                  6002               Various                                                                                                $9.67
MATTHEW J WORKMAN            N5190 STATE ROAD 134                                           CAMBRIDGE         WI           53523                  6002               Various                                                                                                $8.74
MATTHEW JACKSON              1580 CHATHAM CR                                                OSHKOSH           WI           54904                  6004               Various                                                                                                $5.81
MATTHEW JENKINS              12712 SO 29 ST                                                 BELLEVUE          NE           68123                  6004               Various                                                                                                $2.90
MATTHEW JOHNSTON             10531 ST CROIX TRL                                             NORTH BRANCH      MN           55056                  6002               Various                                                                                                $3.84
MATTHEW KELLY                901 WEST HOWE STREET                                           BOISE             ID           83706                  6004               Various                                                                                               $23.00
MATTHEW KING                 1901 CHLOE LN                                                  LINCOLN           NE           68512                  6004               Various                                                                                                $3.00
MATTHEW KLEIN                1227 DOCTORS DR APT 3                                          NEENAH            WI           54956                  6002               Various                                                                                                $8.08
MATTHEW KOEHLER              1040 S 8TH AVE                                                 WAUSAU            WI           54403                  6004               Various                                                                                               $20.04
MATTHEW KORESH               N1581 FAIRVIEW LANE                                            FORT ATKINSON     WI           53538                  6004               Various                                                                                                $2.10
MATTHEW LARSON               2701 N ALEXANDER ST                                            APPLETON          WI           54911                  6002               Various                                                                                                $4.77
MATTHEW LEA                  39464 270TH STREET                                             PETERSON          MN           55962                  6004               Various                                                                                                $6.00
MATTHEW LEPKA                104 WEST LINDEN            APT 129                             ABBOTSFORD        WI           54405                  6004               Various                                                                                                $6.80
MATTHEW LEWIS                15251 VALLEY ST                                                OMAHA             NE           68144                  6004               Various                                                                                                $9.98
MATTHEW LOPER                5537 SOUTH FLAX PLACE                                          BOISE             ID           83716                  6004               Various                                                                                               $10.00
MATTHEW LUCAS                4615 S. PROGRESS CRT                                           VERIDALE          WA           99037                  6004               Various                                                                                                $9.00
MATTHEW MAC DONALD           2106 ROBIN LANE                                                WAUSAU            WI           54401                  6004               Various                                                                                                $5.20
MATTHEW MARVIN               5918 ROLLING HILLS BLVD                                        LINCOLN           NE           68512                  6002               Various                                                                                                $4.38
MATTHEW MCCUBBIN             958 EDGEWOOD DR                                                GREEN BAY         WI           54311                  6002               Various                                                                                                $0.58
MATTHEW MCINTOSH             1699 NORTH TERRY SP 369                                        EUGENE            OR           97402                  6004               Various                                                                                               $13.00
MATTHEW MCRAE                248 EXPLORER ST                                                GWINN             MI           49841                  6004               Various                                                                                               $33.00
MATTHEW METZLER              125 COUGAR DR                                                  MANKATO           MN           56001                  6002               Various                                                                                                $4.34




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                                                                                                                                                                                                                              Claim subject to offset?
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                                                                                                                                                                                       Contingent


                                                                                                                                                                                                                   Disputed
                                                                                                                                              Last 4 Digits of     Date Debt was
                                                                                                                                                 Account         Incurred, Basis for
           Creditor Name                Address1               Address2        Address3            City        State           Zip   Country     Number                Claim                                                                             Total Claim
MATTHEW MEYER               1 N 6TH ST #3                                                   MADISON         WI         53704                 6004                Various                                                                                            $12.96
MATTHEW MOLDEN              16 GREEN RIVER RD APT 103                                       MORRIS          MN         56267                 6002                Various                                                                                             $3.07
MATTHEW MORGAN              2496 E 1980 N                                                   LAYTON          UT         84040                 6004                Various                                                                                            $22.00
MATTHEW MORLEY              762 SCHMIDT RD                                                  MISSOULA        MT         59808                 6004                Various                                                                                           $123.98
                            2401 SOUTH APPLE STREET
MATTHEW MUELLER             APT#E104                                                        BOISE           ID         83706                  6004               Various                                                                                                $5.02
MATTHEW MUELLNER            41138 MILL ST                                                   NORTH BRANCH    MN         55056                  6002               Various                                                                                                $3.45
MATTHEW NELSON              901 S. BRYAN APT K1101                                          NORTH PLATTE    NE         69101                  6004               Various                                                                                               $40.00
MATTHEW NEWVILLE            524 AGENCY RD                                                   MANKATO         MN         56001                  6004               Various                                                                                                $3.00
MATTHEW P. WISCOMBE         PO BOX 95                                                       AUBURN          WY         83111                  6002               Various                                                                                                $8.49
MATTHEW PARKER              2079 E SUNSET DR                                                LAYTON          UT         84040                  6004               Various                                                                                                $5.00
MATTHEW PARRISH             4115 VICTORY AVENUE                                             RACINE          WI         53405                  6004               Various                                                                                               $30.99
MATTHEW PATON               3619 SPRING DR                                                  CASCADE         MT         59421                  6004               Various                                                                                               $19.99
MATTHEW PICKERING           2621W. 5TH ST                                                   NORTH PLATTE    NE         69101                  6004               Various                                                                                               $23.00
MATTHEW POLAK               1705 AVERY RD EAST                                              BELLEVUE        NE         68005                  6004               Various                                                                                               $32.99
MATTHEW POPELKA             7309 S. 93RD ST.                                                LA VISTA        NE         68128                  6004               Various                                                                                               $15.00
MATTHEW POTTHAST            82360 554 AVE                                                   MADISON         NE         68748                  6004               Various                                                                                               $23.00
MATTHEW POWELL              2609 THOMAS DRIVE, APT #12                                      EAU CLAIRE      WI         54701                  6004               Various                                                                                               $10.00
MATTHEW QUEVEDO             2205 BUTTERFIELD RD          #74                                YAKIMA          WA         98901                  6004               Various                                                                                                $8.00
MATTHEW R OSBORN            1599 396TH TRL                                                  ELLSWORTH       NE         69340                  6002               Various                                                                                                $4.25
MATTHEW R. JENSEN           3745 WOODHAVEN LN                                               IDAHO FALLS     ID         83404                  6002               Various                                                                                                $2.11
MATTHEW RICHARDSON          2312 ROBBIE AVE                                                 BELLEVUE        NE         68005                  6002               Various                                                                                                $9.37
MATTHEW RIDLEY              627 BENEDICT DR.                                                KAUKAUNA        WI         54130                  6004               Various                                                                                               $25.00
MATTHEW RILEY               2715 E. RIDGE RD                                                BELOIT          WI         53511                  6004               Various                                                                                               $25.00
MATTHEW ROBBINS             3600 N BRACKEN DR                                               APPLETON        WI         54911                  6002               Various                                                                                                $1.10
MATTHEW RODENBOUGH          490 5TH ST                                                      OGDEN           UT         84404                  6002               Various                                                                                                $2.79
MATTHEW ROGERS              1311 LAKE ST                                                    ONALASKA        WI         54650                  6002               Various                                                                                                $0.66
MATTHEW ROHRBECK            621 W. EDGEWATER                                                PORTAGE         WI         53901                  6004               Various                                                                                                $5.70
MATTHEW RUDNICK             N 158 HWY 73                                                    THORP           WI         54771                  6004               Various                                                                                                $4.12
MATTHEW RUGGLES             16203 WEST 470 PR NW                                            BENTON CITY     WA         99320                  6004               Various                                                                                               $65.00
MATTHEW S JOHNSON           1319 NEWMAN ST                                                  BLOOMER         WI         54724                  6002               Various                                                                                                $7.40
MATTHEW S NELSON            103 S MAIN ST APT 4                                             LIGONIER        IN         46767                  6002               Various                                                                                               $10.00
MATTHEW SANFORD             13624 STANFORD ST                                               OMAHA           NE         68144                  6002               Various                                                                                                $1.53
MATTHEW SANN                675 RIDGE RD TRLR # 210                                         MOSINEE         WI         54455                  6002               Various                                                                                                $2.30
MATTHEW SCHELL              PO BOX 1078                                                     CUMBERLAND      WI         54829                  6002               Various                                                                                                $8.66
MATTHEW SCHMITT             5585 HIGHWAY N                                                  POTOSI          WI         53820                  6002               Various                                                                                                $2.19
MATTHEW SEATON              708 ARTHUR ST                                                   HOLDREGE        NE         68949                  6002               Various                                                                                                $3.23
MATTHEW SECOR               498 DELWICHE RD                                                 GREEN BAY       WI         54302                  6002               Various                                                                                                $1.81
MATTHEW SHALLENBERGER       1723 HURST ST.                                                  BELOIT          WI         53511                  6004               Various                                                                                               $10.94
MATTHEW SLONIKER            1953 COTTAGE AVE                                                BELOIT          WI         53511                  6002               Various                                                                                                $3.33
MATTHEW SOHM                910 ELM ST                                                      WEST BEND       WI         53095                  6004               Various                                                                                               $39.00
MATTHEW STANGEL             407 TAYLOR ST APT 6                                             KIMBERLY        WI         54136                  6002               Various                                                                                                $6.90
MATTHEW STARKS              662 WEST 5TH ST                                                 WINONA          MN         55987                  6004               Various                                                                                                $3.00
MATTHEW STARZEWSKI          1517 WALDORF BLVD                                               MADISON         WI         53719                  6004               Various                                                                                               $20.00
MATTHEW STEINHAUSEN         4927 KOZLOWSKI RD                                               ABRAMS          WI         54101                  6002               Various                                                                                                $0.82
MATTHEW STOCKON             1335 S DIAMOND ST APT 229                                       JACKSONVILLE    IL         62650                  6002               Various                                                                                                $9.26
MATTHEW STRIZICH            842 AVENUE E                                                    BILLINGS        MT         59101                  6004               Various                                                                                               $30.00
MATTHEW SULLIVAN            1220 N. CELESTIONE STR                                          POST FALLS      ID         83854                  6004               Various                                                                                               $10.00
                                                         202 N EAU CLAIRE
MATTHEW SZADKOWSKI          #106                         AVE                                MADISON         WI         53705                  6004               Various                                                                                                $5.40
MATTHEW TAYLOR              PO BOX 194                                                      GREENVILLE      WI         54942                  6002               Various                                                                                                $4.38
MATTHEW THOMAS              4727 S 36TH ST                                                  QUINCY          IL         62305                  6002               Various                                                                                                $6.88
MATTHEW THORESON            621 ADVENTURE CRT                                               BELOIT          WI         53511                  6002               Various                                                                                                $1.23
MATTHEW THORINGTON          752 W M61                                                       GLADWIN         MI         48624                  6002               Various                                                                                               $37.99




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            Creditor Name                Address1             Address2           Address3             City         State           Zip   Country     Number                Claim                                                                             Total Claim
MATTHEW TUBBS                 1321 E HARRISON AVE                                             COEUR D ALENE     ID         83814                 6002                Various                                                                                             $0.63
MATTHEW VAUGHN                1913 7TH ST, N.                                                 SARTELL           MN         56377                 6004                Various                                                                                            $67.32
MATTHEW VONRUDEN              415 DECLARK ST                                                  BEAVER DAM        WI         53916                 6002                Various                                                                                             $6.38
MATTHEW VYE                   929 N SCENIC DR                                                 YAKIMA            WA         98908                 6004                Various                                                                                            $30.96
MATTHEW WACHOWIAK             5759 PORTER DRIVE                                               STEVENS POINT     WI         54482                 6004                Various                                                                                            $10.00
MATTHEW WAMBOLDT              2840 LAKESHORE DRIVE                                            KANSASVILLE       WI         53139                 6004                Various                                                                                            $29.00
MATTHEW WENGER                W10685 WILDENBERG DR.                                           LODI              WI         53555                 6004                Various                                                                                            $15.00
MATTHEW WILLIAMS              9553 WILCOX DR                                                  BELVIDERE         IL         61008                 6004                Various                                                                                             $4.45
MATTHEW WILSON                PO BOX 1375                                                     ZILLAH            WA         98953                 6004                Various                                                                                           $230.50
MATTHEW YATES                 407 DEWEY ST                                                    STEWARD           IL         60553                 6002                Various                                                                                             $8.33
MATTHEW ZENONI                274 W. RIVERVIEW DRIVE                                          JEFFERSON         WI         53549                 6004                Various                                                                                            $15.00

MATTIX/ KELLEY                STORE 551                   SHOPKO EMPLOYEE 344 N HALLECK       DEMOTTE           IN         46310                  5755               Various                                                                                               $68.67
MATTY BETZ                    3217 COON AVE                                                   STEVENS POINT     WI         54481                  6002               Various                                                                                                $9.64
MATUKEE MOSHER                BOX 1194                                                        MT.VIEW           WY         82939                  6002               Various                                                                                                $8.82

MATZKE/ AMELIA                RECRUITING                  SHOPKO EMPLOYEE                     GREEN BAY         WI         54307-9060             4023               Various                                                                                                $8.08
MAURA E MONTGOMERY            460 ROSELAWN BLVD                                               GREEN BAY         WI         54301                  6002               Various                                                                                                $8.60
MAUREEN BYLUND                300 N FORT LN #205                                              LAYTON            UT         84041                  6002               Various                                                                                                $7.18
MAUREEN HORNBERG              1282 SHERRY DR                                                  MINNESOTA CITY    MN         55959                  6002               Various                                                                                                $0.90
MAUREEN JAYNE                 23255 HIGHWAY 36                                                CHESHIRE          OR         97419                  6004               Various                                                                                                $8.78
MAUREEN L MCCOTTERGRUN        2574 SAINT PATS RD                                              GREEN BAY         WI         54313                  6002               Various                                                                                                $8.66
MAUREEN LYON                  2157 CAYUSE ST                                                  TWIN FALLS        ID         83301                  6002               Various                                                                                                $9.42
MAUREEN QUICK                 914 S MAIN ST               APT 204                             RIVER FALLS       WI         54022                  6002               Various                                                                                                $4.16
MAUREEN REES                  13612 MICHAEL DR                                                OROFINO           ID         83544                  6002               Various                                                                                                $2.08
MAUREEN SANFORD               30106 393RD PL                                                  AITKIN            MN         56431                  6002               Various                                                                                                $8.44
MAURICE C. DAVIS              1107 12TH AVE SE                                                SAINT CLOUD       MN         56304                  6002               Various                                                                                                $5.92
MAURICE CORRIE                1220 NORTH WISCONSIN                                            RACINE            WI         53402                  6004               Various                                                                                                $1.00
MAURICE CROSS                 16 S ROSE ST.                                                   FREEPORT          IL         61032                  6004               Various                                                                                               $12.75
MAURICE GOLSTON               3218 MARION RD SE                                               ROCHESTER         MN         55904                  6002               Various                                                                                                $5.37
MAURICE HARRISON JR           803 WEST OKLAHOMA STREET                                        APPLETON          WI         54914                  6004               Various                                                                                                $5.00
MAURICE KING                  N77W24888 KATHLEEN CT                                           SUSSEX            WI         53089                  6002               Various                                                                                                $1.07

MAURICE SPORTING GOODS INC    VICE PRESIDENT OF SALES     1910 TECHNY ROAD                    NORTHBROOK        IL         60065                  2066               Various                                                                                       $261,098.08
MAURICE TURNER                3006 WORTHINGTON APT 2                                          MADISON           WI         53714                  6004               Various                                                                                             $1.00
MAURICIO BUDIER VIDAURRE      607 10TH AVE SE #5                                              ABERDEEN          SD         57401                  6004               Various                                                                                            $42.00
MAURIE KLABUNDE               W7021 STATE RD 152                                              WAUTOMA           WI         54982                  6004               Various                                                                                             $4.32
MAURIE SMITH                  1155 TAYLOR AVE                                                 IDAHO FALLS       ID         83404                  6002               Various                                                                                            $10.00
MAURINE LONG                  5207 PAWNEE STREET                                              LINCOLN           NE         68506                  6004               Various                                                                                            $16.38
MAURO JUAREZ                  611 GOOD ST                                                     DIXON             IL         61021                  6002               Various                                                                                             $1.34
MAVDZHUDA BOBODZHANOVA        5023 S 90TH ST                                                  OMAHA             NE         68127                  6002               Various                                                                                             $3.70
MAVIS POWELL                  RM 311                      639 YORK STREET                     QUINCY            IL         62301                  6002               Various                                                                                            $18.49
MAVIS SCHUBERT                2525 NEBRASKA ST APT #108                                       SIOUX CITY        IA         51104                  6004               Various                                                                                            $17.32
MAVO SYSTEMS WISCONSIN LLC    4330 CENTERVILLE ROAD                                           WHITE BEAR LAKE   MN         55127-3676             9155               Various                                                                                         $2,135.98
MAX BAERTLEIN                 36386 ASH ST                                                    INDEPENDENCE      WI         54747                  6002               Various                                                                                             $1.81
MAX BAUMGART                  6649 HAPOLLOW DR                                                RACINE            WI         53406                  6004               Various                                                                                            $10.00
MAX C LATTIMER JR             248 COUNTRY VIEW LN                                             STERLING          KS         67579                  6002               Various                                                                                             $8.16
MAX CAREY                     312 1/2 MAIN AVE APT                                            CLEAR LAKE        IA         50428                  6002               Various                                                                                             $2.88
MAX CODY                      3133 GOLDEN HOURS CT                                            SUAMICO           WI         54173                  6002               Various                                                                                             $1.75
MAX HACKER                    1400 DOANE DR                                                   CRETE             NE         68333                  6002               Various                                                                                             $3.10
MAX HEILSKOV                  5201 BREMER ROAD                                                MC FARLAND        WI         53558                  6004               Various                                                                                             $8.00
MAX KONOP                     209 S BROOKWOOD DR                                              MOUNT HOREB       WI         53572                  6004               Various                                                                                            $20.00
MAX POWELL                    8068 GRAND AVE                                                  OMAHA             NE         68134                  6002               Various                                                                                             $1.32
MAX WEDEL                     PO BOX 212                                                      BAGLEY            IA         50026                  6002               Various                                                                                             $1.32




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             Creditor Name                   Address1             Address2           Address3               City       State         Zip    Country     Number                Claim                                                                             Total Claim
MAX WEIL                          310 CONSTITUTION DR SW                                           POPLAR GROVE     IL         61065                6002                Various                                                                                             $3.81
MAX WIEDENHOEFT                   40425 US HWY 53                                                  OSSEO            WI         54758                6004                Various                                                                                            $15.00
MAXENZI RAI HARPER                2528 WHISPER WIND DR                                             ABERDEEN         SD         57401                6002                Various                                                                                             $1.45
MAXIM KATAWARA                    1507 N 70TH AVE                                                  OMAHA            NE         68154                6004                Various                                                                                            $20.02
MAXIMIANO CAMACHO PEREZ           1002 N 13TH ST                                                   MANITOWOC        WI         54220                6004                Various                                                                                            $30.02
MAXIMILLIAN HER                   536 N. LINWOOD AVE.                                              APPLETON         WI         54914                6004                Various                                                                                            $23.00
MAXIMILLIAN KREINBRING            103 9TH AVE NE                                                   DODGE CENTER     MN         55927                6002                Various                                                                                             $0.30
MAXIMUS TRIPP                     7692 M-66 SW                                                     FIFE LAKE        MI         49633                6002                Various                                                                                             $2.27
MAXINE BARTLETT                   245 BIG VIEW RD E                                                JEROME           ID         83338                6002                Various                                                                                             $2.93
MAXINE LONDOWSKI                  440 N SAWYER ST APT 117                                          OSHKOSH          WI         54902                6002                Various                                                                                             $2.82
MAXINE MCCABE SKOR                110 S KEARSARGE ST                                               CALUMET          MI         49913                6002                Various                                                                                             $2.74
MAXINE METCALF                    1317 CHARLES ST                                                  LA CROSSE        WI         54603                6002                Various                                                                                             $0.82
MAXINE VANDAELE                   PO BOX 486 PMB 114                                               FAIRBANK         IA         50629                6002                Various                                                                                            $16.64
MAXINE WALKLEY                    1123 N BURR ST APT 2                                             MITCHELL         SD         57301                6002                Various                                                                                             $6.60
MAXINE YEAGER                     285 TRAIL DR                                                     GREEN RIVER      WY         82935                6002                Various                                                                                             $3.42
MAXSALESGROUP                     2331 S TUBEWAY AVENUE                                            COMMERCE         CA         90040                6683                Various                                                                                         $2,120.60
MAXWELL ALEXANDER                 912 N 14TH ST                                                    MANITOWOC        WI         54220                6004                Various                                                                                             $2.00
MAXWELL AVERY-DEWITT              1429 HARRISON STREET                                             OSHKOSH          WI         54901                6004                Various                                                                                            $13.00
MAXWELL CHILDS                    713 FOREST EDGE DRIVE                                            MAZOMANIE        WI         53560                6004                Various                                                                                             $3.40
MAXWELL MICH ZANKLE               595 DRURY PL                                                     FOND DU LAC      WI         54935                6002                Various                                                                                             $8.11
MAY TRUCKING COMPANY              PO BOX 9039                                                      SALEM            OR         97305                8902                Various                                                                                         $1,049.88
MAYA AWADA                        837 SOUTH 400 EAST # 6                                           SALT LAKE CITY   UT         84111                6004                Various                                                                                            $24.00
MAYA HASTINGS                     411 SHERMAN ST                                                   NORTH MANKATO    MN         56003                6004                Various                                                                                             $3.00
MAYA ROMBOY                       2650 N 61ST STREET                                               MILWAUKEE        WI         53213                6666                Various                                                                                          $126.44
MAYA TURNER                       3072 BETH DR                                                     GREEN BAY        WI         54311                6004                Various                                                                                             $4.40
MAYBORN USA INC                   PO BOX 3880                                                      CAROL STREAM     IL         60132-3880           4695                Various                                                                                         $5,997.64
MAYLOW PHILLIPS                   410 W 5TH ST                                                     HOOPER           NE         68031                6004                Various                                                                                             $2.00
MAYME K KAPAL                     126 N 5TH ST                                                     WINNECONNE       WI         54986                6002                Various                                                                                             $5.81
MAYNARD MOEN                      45861 BIA HWY # 200                                              PEEVER           SD         57257                6002                Various                                                                                             $1.56
MAYRA A GARCIA                    1309 WYOMING AVE                                                 CRETE            NE         68333                6002                Various                                                                                            $10.00
MAYRA BARRAZA                     41008 ROAD 798                                                   ARNOLD           NE         69120                6002                Various                                                                                             $1.92
MAYRA BUSTOS                      318 W EDSON ST                                                   POPLAR GROVE     IL         61065                6004                Various                                                                                            $58.98
MAYRA DELGADO                     15750 N 5400TH W                                                 RIVERSIDE        UT         84334                6002                Various                                                                                             $2.49
MAYRA DURAN                       1311 E PERSHING ST                                               APPLETON         WI         54911                6004                Various                                                                                             $3.00
MAYRA GUERRERO                    881 NINA ST                                                      OMAHA            NE         68124                6004                Various                                                                                             $4.00
MAYRA LAGUNA                      1107 DIAGONAL RD                                                 WORTHINGTON      MN         56187                6002                Various                                                                                             $2.71
MAYRA MOSQUEDA ALVAREZ            810 W 10TH #2                                                    GRAND ISLAND     NE         68801                6004                Various                                                                                            $10.00
MAYRA ROMERO                      319 W COMMERICAL ST                                              APPLETON         WI         54911                6004                Various                                                                                            $25.00
MAYRA SANTOS                      614 MICHENOR ST                                                  WAKEFIELD        NE         68784                6002                Various                                                                                            $10.00
MAYTE GARCIA                      2822 ASHFORD LANE #28                                            MADISON          WI         53713                6004                Various                                                                                             $3.00
MAYTEX MILLS                      261 FIFTH AVE 17TH FLOOR                                         NEW YORK         NY         10016                8014                Various                                                                                       $110,543.43
MAYTSIA XIONG                     3131 SOUTHBROOK COURT      APT 114                               MANITOWOC        WI         54220                6004                Various                                                                                            $15.04
MAYVILLE GUN CLUB                 PO BOX 31                                                        MAYVILLE         WI         53050                0316                Various                                                                                            $50.00
MAYVILLE SHOPKO 2013 LLC          FORTUNE LAW OFFICE         SUITE 1           101 CAMELOT DRIVE   FOND DU LAC      WI         54935                7730                Various                                                                                        $12,784.53
MAZZOLENI FAMILY                  210 CLARK ST                                                     HOUGHTON         MI         49931                6002                Various                                                                                             $6.82
MCBRIDE FAMILY                    923 W BROOKCREST CIR                                             SOUTH JORDAN     UT         84095                6002                Various                                                                                            $10.00
MCC INCORPORATED                  PO BOX 1137                                                      APPLETON         WI         54912-1137           5718                Various                                                                                        $87,752.02
MCCABE DISTRIBUTING COMPANY (B    110 KEARSAGE STREET                                              LAURIAM          MI         49913                5644                Various                                                                                            $73.00
MCCANN RANCH & LIVESTOCK COMPA    PO BOX 445                                                       LEWISTON         ID         83501                9828                Various                                                                                         $7,623.00
MCCUBBIN HOSIERY L L C            PO BOX 268984                                                    OKLAHOMA CITY    OK         73126-8984           5324                Various                                                                                        $81,650.48
MCDANIEL POWELL                   354 S. LAWERANCE                                                 POST FALLS       ID         83854                6004                Various                                                                                            $33.02
MCDONALDS                         625 S CHURCH STREET                                              WATERTOWN        WI         53094                4446                Various                                                                                          $100.00
MCDONOUGH FAMILY                  1103 W KIMBERLY AVE                                              KIMBERLY         WI         54136                6002                Various                                                                                             $1.01
MCDOWELL & SONS                   10214 HWY 65               PO BOX 664                            IOWA FALLS       IA         50126                                    Various                                                                                          $278.20




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MCGEE GROUP                       510 COMMERCE PARK DRIVE SE                                         MARIETTA           GA           30060                    8372               Various                                                                                        $11,186.38
MCINTIRE CARTAGE                  45391 GREENHILL RD                                                 CLARINGTON         OH           43915                                       Various                                                                                          $844.00
MCKAYLA BICKELHAUPT               502 S LAKE ST                                                      COLFAX             WA           99111                    6004               Various                                                                                             $1.50
MCKAYLA SHANKS                    710 1ST AVE SW                                                     PINE ISLAND        MN           55963                    6004               Various                                                                                             $3.06
MCKAYLA STITZ                     3487 BAY HEIGHLANDS DR                                             GREEN BAY          WI           54311                    6004               Various                                                                                            $20.00
MCKEE FOODS CORPORATION           PO BOX 2118                                                        COLLEGEDALE        TN           37315-2118               3109               Various                                                                                       $132,126.58
MCKENNA SKERHUTT                  212 PRARIE DRIVE                                                   WALWORTH           WI           53184                    6004               Various                                                                                            $24.00
MCKENZEE EVANS                    307 DORI DR                                                        PEARL CITY         IL           61062                    6004               Various                                                                                            $20.00
MCKENZIE LARSON                   109 RUDER ST                                                       WAUSAU             WI           54403                    6002               Various                                                                                             $7.21
MCKENZIE PERKINS                  523 WEST ROSSI STREET                                              BOISE              ID           83706                    6004               Various                                                                                            $40.00
MCKENZIE ROLLINS                  7412 GLENRIDGE VIEW DR.                                            BOISE              ID           83709                    6004               Various                                                                                            $25.00
MCKENZIE STEWART                  1000 S. MAIN ST APT #110                                           FORT ATKINSON      WI           53538                    6004               Various                                                                                             $2.00
MCKENZIE SYKES                    1595 MIDWAY RD                                                     MENASHA            WI           54952                    6004               Various                                                                                             $2.00
MCKENZIE WOLFLEY                  75722 HIGHWAY 89                                                   SMOOT              WY           83126                    6002               Various                                                                                             $6.25
                                                                6535 STATE
MCKESSON CAMPUS                   TIMOTHY PAYNE                 HIGHWAY 161                          IRVING             TX           75039                    6002               Various                                                                                               $67.32
                                  12748 COLLECTIONS CENTER
MCKESSON DRUG                     DRIVE                                                              CHICAGO            IL           60693                    2869               Various               X            X              X                                        $69,429,758.34

MCKINNEY/ ELIZABETH               RECRUITING                    SHOPKO EMPLOYEE                      GREEN BAY          WI           54307-9060               1707               Various                                                                                            $27.54
MCKINSEY BREEDING                 510 TABRITZ DR                                                     BILLINGS           MT           59105                    6004               Various                                                                                            $15.50
MCMILLAN ELECTRIC                 2106 SOUTH HUME AVENUE                                             MARSHFIELD         WI           54446                                       Various                                                                                         $5,682.12
MCSHANE FAMILY                    12213 SQUIRREL TREE LN                                             BELVIDERE          IL           61008                    6002               Various                                                                                             $8.77

                                  MEAD JOHNSON & COMPANY        15919 COLLECTION
MEAD JOHNSON NUTRITIONAL GROUP    LLC                           CENTER DRIVE                         CHICAGO            IL           60693                    9601               Various                                                                                        $15,515.15
                                                                                                                                                                                 11/20/2018 -
MEADE COUNTY KY-RURAL ELECTRIC    P.O. BOX 489                                                       BRANDENBURG        KY           40108-0489               2-002              12/18/2018                                                                                      $2,606.65
MEADOW ALLEN                      407 TRENTON ST                                                     FOX LAKE           WI           53933                    6004               Various                                                                                             $2.00
MEAGAN A STROUD                   223 GALE ST APT 20                                                 OCONTO             WI           54153                    6002               Various                                                                                             $8.33
MEAGAN CLEAL                      PO BOX 361, 88541 427TH AVE                                        AINSWORTH          NE           69210                    6002               Various                                                                                             $2.55
MEAGAN FARRELL                    1016 DIVISION ST.                                                  GREEN BAY          WI           54303                    6004               Various                                                                                            $58.00
MEAGAN JENSEN                     PO BOX 91                                                          VILLARD            MN           56385                    6002               Various                                                                                             $7.75
MEAGAN L SUMMERING                4486 W FAIRWAY DR APT 226                                          COEUR D ALENE      ID           83815                    6002               Various                                                                                             $4.11
MEAGAN MORA                       2109 S 3400 W                                                      SYRACUSE           UT           84075                    6004               Various                                                                                            $16.00
MEAGAN NAKAGAWA                   818 N DAVIS ST                                                     HELENA             MT           59601                    6002               Various                                                                                             $4.77
MEAGAN TOLK                       124 E ST                                                           MARSHALL           MN           56258                    6004               Various                                                                                             $3.50
MEAGAN WOESTMAN                   2942 MILWAUKEE ST                                                  MADISON            WI           53704                    6004               Various                                                                                             $1.95
MEAGEN RIEL                       W 9470 FRANK ROAD                                                  ELDORADO           WI           54932                    6004               Various                                                                                            $28.00
MEBRAT YOHANNES                   2903 KNORWOOD DR SE                                                ROCHESTER          MN           55904                    6004               Various                                                                                             $3.00
MECA CLEGG                        224 3RD ST. S.                APT 208A                             WAITE PARK         MN           56387                    6004               Various                                                                                             $3.00
MED PASS INCORPORATED             L 3495                                                             COLUMBUS           OH           43260-0001               5023               Various                                                                                            $47.33
                                                                1101 CORPORATE
MEDELA                            VICE PRESIDENT OF SALES       DRIVE                                MCHENRY            IL           60050                    4715               Various                                                                                        $10,357.15
MEDICAL EYE SERVICE               ATTN RECOVERY DEPT            PO BOX 25209                         SANTA ANA          CA           92799                    6004               Various                                                                                          $176.60
MEDICAL SECURITY CARD COMPANY     PO BOX 80063                                                       CITY OF INDUSTRY   CA           91716-8062               0782               Various                                                                                        $23,707.00
MEDLINE INDUSTRIES                DEPT CH 14400                                                      PALATINE           IL           60055-4400               6615               Various                                                                                         $3,607.18
MEDLINE INDUSTRIES INCORPORATE    DEPT CH 14400                                                      PALATINE           IL           60055-4400               6615               Various                                                                                            $42.60
MEDTECH                           MEDTECH PRODUCTS INC          PO BOX 202493                        DALLAS             TX           75320-2493               5949               Various                                                                                       $195,591.81
MEDUNA FAMILY                     13980 MOE HALL RD SW                                               GARFIELD           MN           56332                    6002               Various                                                                                             $8.47
MEENA DAHIYA                      1222 FREEMAN LN APT 32                                             POCATELLO          ID           83201                    6002               Various                                                                                             $2.85
MEESHELLE MEDINGER                5319 WAGON WHEEL RD                                                MANITOWOC          WI           54220                    6004               Various                                                                                            $10.00
MEGA INTERNATIONAL                9 avenue René Coty                                                 Paris                           75014         France     1242               Various                                                                                        $74,490.41




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                                                                                                                                                                                        Contingent


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                                                                                                                                               Last 4 Digits of     Date Debt was
                                                                                                                                                  Account         Incurred, Basis for
             Creditor Name                Address1            Address2        Address3              City        State           Zip   Country     Number                Claim                                                                             Total Claim
MEGAN ALFORD                  N8283 KELLOM RD            LOT 96                            BEAVER DAM        WI         53916                 6004                Various                                                                                                $2.00
MEGAN ARNOLD                  26815 407TH ST                                               RUSSELL           IA         50238                 6002                Various                                                                                                $4.85
MEGAN BEGG                    206 SOUTH HUBBARD STREET                                     HORICON           WI         53032                 6004                Various                                                                                               $20.00
MEGAN BERVEN                  2827 NATIONAL APT 905                                        HELENA            MT         59601                 6004                Various                                                                                                $2.00
MEGAN BLEILER                 111 KNAUP DR APT 10                                          BEAVER DAM        WI         53916                 6004                Various                                                                                                $5.20
MEGAN BOYCE                   4540 HICKORY HEIGHTS AVE                                     OSHKOSH           WI         54904                 6002                Various                                                                                                $7.26
MEGAN BRAMBLE                 4363 LOSEE DRIVE                                             SALT LAKE CITY    UT         84120                 6004                Various                                                                                                $9.99
MEGAN BROYLES                 8759 W BARTON ROAD                                           POCATELLO         ID         83204                 6004                Various                                                                                               $11.07
MEGAN CHENTIS                 407 LAFEYETTE ST                                             WATERTOWN         WI         53094                 6002                Various                                                                                                $8.71
MEGAN CUTTING                 11 IDAHO AVENUE                                              LAUREL            MT         59044                 6004                Various                                                                                               $13.00
MEGAN DECKER                  610 COUNTY ROAD 139                                          MAYWOOD           MO         63454                 6004                Various                                                                                               $22.16
MEGAN DIAMOND                 409 ROBERT LN                                                GREEN BAY         WI         54311                 6002                Various                                                                                                $1.15
MEGAN ELIZAB HUETTL           1747 S LOCUST ST                                             GREEN BAY         WI         54304                 6002                Various                                                                                                $2.90
MEGAN ERICKSON                69 W 3RD STREET, APT A                                       WINONA            MN         55987                 6004                Various                                                                                                $3.00
MEGAN FELLER                  PO BOX 211                                                   WISNER            NE         68791                 6002                Various                                                                                                $2.88
MEGAN FIALA                   RTE # 1 PMB BOX                                              ATLANTIC          MI         49905                 6002                Various                                                                                                $8.52
MEGAN GIEFER                  2688 45TH AVE SE                                             ROCHESTER         MN         55904                 6002                Various                                                                                                $6.66
MEGAN GILLILAND               51736 ELMCREST AVE                                           RUSH CITY         MN         55069                 6004                Various                                                                                                $6.00
MEGAN GUSTAFSON               406 E DIVISION ST                                            AUDUBON           IA         50025                 6002                Various                                                                                                $8.05
MEGAN HAMSA                   6600 N 134TH ST                                              WAVERLY           NE         68462                 6004                Various                                                                                               $40.00
MEGAN HANSEN                  N2209 SMITH RD                                               WAUPACA           WI         54981                 6002                Various                                                                                                $4.05
MEGAN HARRIS                  3617 S 91ST ST                                               OMAHA             NE         68124                 6004                Various                                                                                               $15.00
MEGAN HERB                    N1686 PRAIRE VIEW DR                                         GREENVILLE        WI         54942                 6002                Various                                                                                                $6.27
MEGAN HUSS                    N7882 BLUFFSIDE CT                                           SHERWOOD          WI         54169                 6002                Various                                                                                                $1.81
MEGAN HUTCHISON               1030 S BROADWAY AVE                                          BOISE             ID         83706                 6002                Various                                                                                                $0.99
MEGAN IVERSON                 92 W LEWIS ST                                                LIVINGSTON        MT         59047                 6002                Various                                                                                                $0.30
MEGAN J MEISINGER             4711 OLD CHENEY RD APT 1                                     LINCOLN           NE         68516                 6002                Various                                                                                                $4.52
MEGAN JEWKES                  1836 E 2700TH S                                              SALT LAKE CITY    UT         84106                 6002                Various                                                                                                $5.64
MEGAN KEMPPAINEN              24924 CHESTNUT ST                                            CALUMET           MI         49913                 6002                Various                                                                                                $8.30
MEGAN KENNEDY                 7312 JOSEPHINE CT                                            LA VISTA          NE         68128                 6004                Various                                                                                                $2.00
MEGAN KONING                  216 N GROVE AVE                                              FREEPORT          IL         61032                 6004                Various                                                                                               $19.26
MEGAN LANGE                   3723 E COURTLAND AVE                                         SPOKANE           WA         99217                 6004                Various                                                                                                $8.00
MEGAN LAZANSKY                W7014 SUNDANCE TRL                                           CRIVITZ           WI         54114                 6002                Various                                                                                                $8.77
MEGAN LEWISON                 7032 EAST PATH                                               MADISON           WI         53719                 6004                Various                                                                                               $36.00
MEGAN LITTLEFIELD             2267 WESTFIELD DR                                            BILLINGS          MT         59106                 6004                Various                                                                                               $15.00
MEGAN LOEW                    6495 ASH ST APT 307                                          NORTH BRANCH      MN         55056                 6002                Various                                                                                                $9.75
MEGAN LOGER                   41190 1ST STREET                                             NORTH BRANCH      MN         55056                 6004                Various                                                                                                $3.00
MEGAN LOWREY                  1485 CHILD DR                                                LAYTON            UT         84040                 6002                Various                                                                                                $5.62
MEGAN MARKLE                  10681 VILLAGE LOOP                                           REDMOND           OR         97756                 6004                Various                                                                                               $30.00
MEGAN MASHANEY                106 BISMARK                                                  CARPENTER         IA         50426                 6004                Various                                                                                                $6.25
MEGAN MCCONNELL               1923 WILSON ST                                               FALLS CITY        NE         68355                 6002                Various                                                                                                $3.10
MEGAN MUIRBR WILLIAMS         1117 N MAIN ST APT 1                                         LOGAN             UT         84341                 6002                Various                                                                                                $5.21
MEGAN N. MCCLANE              501 E GRAND ST                                               GALLATIN          MO         64640                 6002                Various                                                                                                $1.40
MEGAN NEWMAN                  1923 ROOSEVELT ST                                            WAUSAU            WI         54403                 6002                Various                                                                                                $4.85
MEGAN NIELSON                 W6980 CTY RD I                                               CLINTONVILLE      WI         54929                 6002                Various                                                                                                $0.58
MEGAN PALM                    6921 BLUE JAY DR                                             WISCONSIN RAPID   WI         54494                 6002                Various                                                                                                $3.26
MEGAN PETERS                  122 HARMONY ST UNIT 2F                                       BUFFALO           WY         82834                 6002                Various                                                                                                $9.04
MEGAN PEZOLDT                 2981 CAHILL MAIN #304                                        MADISON           WI         53711                 6004                Various                                                                                                $1.00
MEGAN PICKETT                 613 E 6TH AVE                                                MITCHELL          SD         57301                 6002                Various                                                                                                $0.99
MEGAN PRIEN                   602 ANN STREET                                               DELAVAN           WI         53115                 6004                Various                                                                                               $20.40
MEGAN PRINS                   1805 S SHORE DR                                              WORTHINGTON       MN         56187                 6002                Various                                                                                                $2.99
                              W251N4843 STEPING STONE
MEGAN QUILTER                 WAY                                                          PEWAUKEE          WI         53072                   6004              Various                                                                                                $5.00
MEGAN RAYMAKER                6832 ALLEN RD                                                LITTLE SUAMICO    WI         54141                   6004              Various                                                                                                $8.50




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                                                                                                                                                      Account         Incurred, Basis for
             Creditor Name               Address1             Address2           Address3             City          State           Zip   Country     Number                Claim                                                                             Total Claim
MEGAN REUTER                  2413 E. COUNTY ROAD O                                           JANESVILLE         WI         53546                 6004                Various                                                                                               $10.00
MEGAN RITARI                  8427 8TH AVE                                                    NEW AUBURN         MN         55366                 6004                Various                                                                                                $3.06
MEGAN ROKUSEK                 620 W 18TH AVE                                                  MITCHELL           SD         57301                 6002                Various                                                                                                $0.74
MEGAN SCHOENAUER              553 WELLAND AVE                                                 GREEN BAY          WI         54311                 6004                Various                                                                                                $1.98
MEGAN SCHOENWETTER            1408 MORNINGSIDE DR APT 6                                       JANESVILLE         WI         53546                 6004                Various                                                                                               $23.00
MEGAN SCHUIRMANN              8393 60TH AVE                                                   KENOSHA            WI         53142                 6004                Various                                                                                               $15.00
MEGAN SCHWOBE                 240 KAMPS ST                                                    COMBINED LOCKS     WI         54113                 6002                Various                                                                                                $9.62
MEGAN SERVI                   N9775 STATE ROAD 22                                             PARDEEVILLE        WI         53954                 6004                Various                                                                                                $7.99
MEGAN SPONEM                  1087 LAFOLLETTE RD                                              MOUNT HOREB        WI         53572                 6004                Various                                                                                               $30.00
MEGAN STARK                   213 SO NEBRASKA ST                                              WAYNE              NE         68787                 6002                Various                                                                                                $6.99
MEGAN STEPHENS                11551 TROTTER RD                                                ARGYLE             WI         53504                 6004                Various                                                                                               $13.58
MEGAN STEWART                 808 SOUTH PIETY ST.                                             ELLSWORTH          WI         54011                 6004                Various                                                                                               $37.00
MEGAN SUAZO                   33 KINDOM RD                                                    WHEATLAND          WY         82201                 6002                Various                                                                                                $0.63
MEGAN SWANSON                 4852 SUNDANCE LOOP                                              DULUTH             MN         55811                 6002                Various                                                                                                $9.21
MEGAN SWOTEK                  624 BANCROFT ST                                                 OMAHA              NE         68108                 6004                Various                                                                                               $23.00
MEGAN SYRING                  4016 17TH AVE NW                                                ROCHESTER          MN         55901                 6002                Various                                                                                                $6.25

MEGAN THOMPSON                448 PEPPER AVE                                                  WISCONSIN RAPIDS   WI         54494                  6004               Various                                                                                             $3.00
MEGAN VANGUILDER              1531 26TH AVE                                                   RICE LAKE          WI         54868                  6004               Various                                                                                             $9.02
MEGAN VAUGHN                  1019 BROCK LANE                                                 PLATTSMOUTH        NE         68048                  6004               Various                                                                                            $23.00
MEGAN ZEIEN                   PO BOX 25                                                       BASSETT            WI         53101                  6004               Various                                                                                             $4.00
MEGAN ZOCHOLL                 1032 N. 45TH                                                    LINCOLN            NE         68503                  6004               Various                                                                                             $2.00
MEGHAN ANADELL                1008 GRAND AVE              LOWER FRONT                         RACINE             WI         53403                  6004               Various                                                                                             $3.00
MEGHAN BAMBERG                N4470 N. HWY 51                                                 POYNETTE           WI         53955                  6004               Various                                                                                             $1.00
MEGHAN BLAZER                 203 1/2 W COLLEGE AVE APT                                       APPLETON           WI         54911                  6002               Various                                                                                             $9.40
MEGHAN BUCK                   5620 HIGHWAY 63 S                                               ROCHESTER          MN         55904                  6004               Various                                                                                             $9.00
MEGHAN COPELAND               821 GRACE AVE                                                   WORLAND            WY         82401                  6002               Various                                                                                             $4.79
MEGHAN GOMM                   N8167 MILLER RD                                                 SEYMOUR            WI         54165                  6004               Various                                                                                             $1.00
MEGHAN GOODPASTURE            12970 LOLO CREEK DRIVE                                          LOLO               MT         59847                  6004               Various                                                                                           $169.96
MEGHAN LARSON                 1705 21ST AVE S                                                 GREAT FALLS        MT         59405                  6004               Various                                                                                            $20.00
MEGHAN OCHOA                  833 HAYES ST SW                                                 OLYMPIA            WA         98512                  6004               Various                                                                                             $9.02
MEGHAN PAYNE-HENSLEY          1930 ENDEGO RD                                                  LINCOLN            NE         68521                  6004               Various                                                                                            $23.02
MEGHAN PEEL                   904 MIDDLEMAS RD                                                HELENA             MT         59602                  6004               Various                                                                                             $2.00
MEGHAN RETALLICK              7290 OLE LAKE ROAD                                              RHINELANDER        WI         54501                  6004               Various                                                                                             $5.00
MEGHAN ROTH                   7870 HERON ST                                                   SALEM              OR         97305                  6004               Various                                                                                            $23.00
MEGHAN SMITH                  190 T 6TH STREET                                                FOND DU LAC        WI         54935                  6004               Various                                                                                            $18.90
MEGHAN STADHEIM               651 6TH ST NE DC # 2863                                         SIOUX CENTER       IA         51250                  6002               Various                                                                                             $0.33
MEGHAN WENDT                  421 PLANK RD                                                    KAUKAUNA           WI         54130                  6002               Various                                                                                             $6.85
MEGHAN WINCH                  1625 NORTH UNION ST                                             APPLETON           WI         54911                  6004               Various                                                                                            $23.00
MEGHANNE BLAKESLEE            W2224 GENTRY DR APT 5                                           KAUKAUNA           WI         54130                  6004               Various                                                                                             $6.70
MEH REH                       1405 E MONUMENT PL.                                             SIOUX FALLS        SD         57104                  6004               Various                                                                                            $23.00
MEIKO JOHNSON                 E2208 MEADOW VALLEY CT                                          WAUPACA            WI         54981                  6002               Various                                                                                             $7.34
MEILA MILLER                  300 SW 8TH ST LOT 122                                           MADISON            SD         57042                  6002               Various                                                                                             $2.88

MEILAHN/ RICHARD              STORE 055                   SHOPKO EMPLOYEE                     GREEN BAY          WI         54307-9060              4203              Various                                                                                               $28.19

MEINTS/ JULIE                 STORE 2-658                 SHOPKO EMPLOYEE 123 N 24TH STREET   BEATRICE           NE         68310                  1173               Various                                                                                            $13.23
MEISHA EVANS                  1002 LANE ST                                                    FALLS CITY         NE         68355                  6002               Various                                                                                             $6.22
MEISSA HARPER                 2955 N. 400 W. #1079                                            LAYTON             UT         84041                  6004               Various                                                                                             $5.00
MEISTER FAMILY                ROAD                                                            ALGOMA             WI         54201                  6002               Various                                                                                             $0.60
MEISYSTEM INCORPORATED        959 AEC DRIVE                                                   WOOD DALE          IL         60191                  6340               Various                                                                                        $20,059.42
MEL MART                      1054 GRANT DR                                                   GREAT FALLS        MT         59404                  6002               Various                                                                                             $4.16
MELANIE A TURZINSKI           7734 5TH AVE                                                    ALMOND             WI         54909                  6002               Various                                                                                             $2.96
MELANIE ANDREW                48 NORTH ST JOSEPH LANE                                         FOND DU LAC        WI         54935                  6004               Various                                                                                             $6.20




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                                                                                                                                                   Last 4 Digits of     Date Debt was
                                                                                                                                                      Account         Incurred, Basis for
              Creditor Name                 Address1               Address2        Address3             City        State           Zip   Country     Number                Claim                                                                             Total Claim
MELANIE BARLOW                 295 S 200 W                                                      PROVIDENCE       UT         84332                 6004                Various                                                                                            $16.00
MELANIE BEAM                   4800 N 15TH ST., APT # 102                                       LINCOLN          NE         68521                 6004                Various                                                                                             $4.00
MELANIE BERGQUIST              701 N WEBSTER AVE                                                DE PERE          WI         54115                 6002                Various                                                                                             $0.49
MELANIE BERNIER                320 STANLEY COURT                                                NEENAH           WI         54956                 6004                Various                                                                                             $4.06
MELANIE BIRD                   237 HARBOR ST                                                    WINSLOW          IL         61089                 6004                Various                                                                                            $15.00
MELANIE CAVANAUGH              ROUTE 1 BOX 1645                                                 DONIPHAN         MO         63935                 6002                Various                                                                                             $2.96
MELANIE COLE                   218 N MAIN ST APT 6                                              FORT ATKINSON    WI         53538                 6002                Various                                                                                             $7.59
MELANIE D ALVAR                36860 EAGLEWOOD AVE                                              NORTH BRANCH     MN         55056                 6002                Various                                                                                             $6.68
MELANIE EDGMAND                4500 SOUTH 2200 WEST                                             TAYLORSVILLE     UT         84129                 6004                Various                                                                                             $2.00
MELANIE FLINT                  250 TAMARACK DR                #7                                LAKE MILLS       WI         53551                 6004                Various                                                                                             $5.60
MELANIE GONIA                  1921 TAMARACK STREET                                             PLOVER           WI         54467                 6004                Various                                                                                             $2.00
MELANIE HEIN                   PO BOX 115                                                       LYONS            KS         67554                 6002                Various                                                                                             $3.18
MELANIE JENKINS                2662 ISIS CIRCLE                                                 MAGNA            UT         84044                 6004                Various                                                                                            $34.98
MELANIE LEUTENEGGER            2155 CNTY K                                                      MONROE           WI         53566                 6004                Various                                                                                            $25.00
MELANIE LONDO                  1335 DALLMAN LN                                                  SHAWANO          WI         54166                 6004                Various                                                                                            $30.00
MELANIE MAIR                   276 N 200TH E                                                    OREM             UT         84057                 6002                Various                                                                                             $6.77
MELANIE MARTINEZ               PO BOX 121 PMB 109                                               HERSHEY          NE         69143                 6002                Various                                                                                             $5.59
MELANIE MILLER                 1717 9 1/2 ST                                                    BARRON           WI         54812                 6004                Various                                                                                            $20.00
MELANIE MORENO                 2860 W. 1400 S.                                                  ABERDEEN         ID         83210                 6004                Various                                                                                             $3.65
MELANIE NIMMO                  200 SHEFFIELD DR                                                 HOLMEN           WI         54636                 6002                Various                                                                                             $1.18
MELANIE NORDAHL                528 SOUTH PARK STREET                                            REEDSBURG        WI         53959                 6004                Various                                                                                             $4.00
MELANIE ORULLIAN               3554 S 2000TH E                                                  SALT LAKE CITY   UT         84109                 6002                Various                                                                                             $6.16
MELANIE PEDERSON               334 TRESTLE TRAIL                                                MANKATO          MN         56001                 6004                Various                                                                                             $7.14
MELANIE PETERSON               650 N 200TH W                                                    SPANISH FORK     UT         84660                 6002                Various                                                                                             $7.73
MELANIE RUONAVAARA             2955 FARM TO MARKET DRIVE                                        KALISPELL        MT         59901                 6004                Various                                                                                           $133.96
MELANIE SCHETTLE               446 BOWEN ST.                                                    OSHKOSH          WI         54901                 6004                Various                                                                                            $40.00
MELANIE SILKETT                PO BOX 203                                                       WEIPPE           ID         83553                 6002                Various                                                                                             $1.15
MELANIE SLONSKI                PO BOX 1593                                                      RHINELANDER      WI         54501                 6002                Various                                                                                             $4.96
MELANIE TOMASON                9077 RILEY RD                                                    AMHERST          WI         54406                 6002                Various                                                                                             $3.53
MELANIE V GOLDSMITH            3002 E HAYDEN VIEW DR                                            COEUR D ALENE    ID         83815                 6002                Various                                                                                             $1.89
MELANIE WILLIAMS               PO BOX 1013 PMB 491                                              CHALLIS          ID         83226                 6002                Various                                                                                             $4.38
MELANIE WYATT                  1057 PINE ST                                                     WHEATLAND        WY         82201                 6002                Various                                                                                             $6.05
MELANTHA MORGAN                522 W 1ST ST                                                     LARNED           KS         67550                 6002                Various                                                                                             $2.14
MELASAUNDE BOWEN               300 STATE ST                                                     SALMON           ID         83467                 6002                Various                                                                                            $10.58
MELCHOR FLORES                 2111 BARTON AVE.               APT. 8                            WEST BEND        WI         53090                 6004                Various                                                                                            $23.00
                                                              10204 W
MELDA WILCOX                   C/O JOAN LEAGER                DEERWOOD LN                       FRANKLIN         WI         53132                  6002               Various                                                                                             $1.00
MELE JEWEL BOX (C-HUB)         2007 BEECHGROVE PLACE                                            UTICA            NY         13501-1703             1524               Various                                                                                         $1,430.50
MELEAH GRIFFITHS               4764 S 150TH E                                                   OGDEN            UT         84405                  6002               Various                                                                                             $8.03
MELELSIO VALDEZ                1404 BIG HORN AVENUE                                             ALLIANCE         NE         69301                  6002               Various                                                                                            $28.52
MELENA CASAREZ                 343 STEVENS ST                                                   GREEN BAY        WI         54303                  6004               Various                                                                                             $1.00
MELESA SUNDQUIST               170 W 725TH N                                                    LINDON           UT         84042                  6002               Various                                                                                             $4.68
MELINDA BEARFIELD              6406 BOYD ST                   APT 7                             OMAHA            NE         68104                  6004               Various                                                                                             $4.00
MELINDA BROWN                  1255 17TH RD LYONS KS # 6755                                     LYONS            KS         67554                  6002               Various                                                                                             $2.52
MELINDA CLARK                  9242 FOWLER CIR                                                  OMAHA            NE         68134                  6002               Various                                                                                             $3.62

MELINDA CLINE                  1208 NORTH FRONTAGE RD #19                                       BILLINGS         MT         59101                  6004               Various                                                                                                $8.00
MELINDA DEGENEFFE              3311 WHITE PINE RD                                               GREEN BAY        WI         54313                  6004               Various                                                                                                $3.00
MELINDA FAYE DASCH             92 ASH ST                                                        OXLY             MO         63955                  6002               Various                                                                                                $2.85
MELINDA FENUS                  BOX 293                                                          LYMAN            WY         82937                  6002               Various                                                                                                $0.55
MELINDA FILIPENKO              2212 NICOLET DR                #5                                GREEN BAY        WI         54311                  6004               Various                                                                                                $5.00
MELINDA GORSKY                 PO BOX 225                                                       SACO             MT         59261                  6002               Various                                                                                                $1.01
MELINDA GOUGE                  PO BOX 52                                                        BUFFALO CENTER   IA         50424                  6004               Various                                                                                               $36.20
MELINDA GUERRERO               1108 9TH AVE SW                                                  AUSTIN           MN         55912                  6004               Various                                                                                                $3.00




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                                                                                                                                                                                                                                Claim subject to offset?
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                                                                                                                                                                                         Contingent


                                                                                                                                                                                                                     Disputed
                                                                                                                                                Last 4 Digits of     Date Debt was
                                                                                                                                                   Account         Incurred, Basis for
             Creditor Name                Address1             Address2         Address3              City       State           Zip   Country     Number                Claim                                                                             Total Claim
MELINDA INMAN                 800 CLEVELAND ST                                               ALMENA           KS         67622                 6002                Various                                                                                             $6.58
MELINDA K DEVAULT             912 9TH ST                                                     WISNER           NE         68791                 6002                Various                                                                                             $0.88
MELINDA MANER                 3628 U ST                                                      OMAHA            NE         68107                 6004                Various                                                                                            $27.98
MELINDA MEG OTTER-GIESE       1315 BERLIN ST                                                 WAUPACA          WI         54981                 6002                Various                                                                                             $6.41
MELINDA MELCHOR               5906 CARDINAL CREST APT A                                      MONONA           WI         53716                 6004                Various                                                                                             $1.00
MELINDA MORRIS                N5423 24TH DR                                                  WILD ROSE        WI         54984                 6002                Various                                                                                             $8.47
MELINDA MOURAL                108 N. PINE                                                    PLEASANTON       NE         68866                 6004                Various                                                                                             $1.20
MELINDA ORNELAS               PO BOX 95                                                      CAREY            ID         83320                 6002                Various                                                                                             $8.47
MELINDA RUSSELL               44714 173RD ST                                                 WATERTOWN        SD         57201                 6004                Various                                                                                            $11.02
MELINDA SARBACKER             126 HOSPITAL DRIVE APT 7                                       WATERTOWN        WI         53094                 6004                Various                                                                                            $30.00
MELINDA STENERSEN             2313 DORAL AVE                                                 ALBERT LEA       MN         56007                 6004                Various                                                                                             $3.00
MELINDA STOLHAMMER            370 CHEYENNE RIVER RD                                          NEWCASTLE        WY         82701                 6002                Various                                                                                             $2.85
MELINDA YANG                  824 ASH AVENUE                                                 WESTBROOK        MN         56183                 6004                Various                                                                                             $3.00
MELINDA YOUNG                 904 W MAIN ST                                                  HORTONVILLE      WI         54944                 6004                Various                                                                                             $2.00
MELISA FORTH                  5180 N. DAMASCUS ROAD                                          FREEPORT         IL         61032                 6004                Various                                                                                             $5.02
MELISA HEATHMAN               1890 WOODY DR APT 503                                          BILLINGS         MT         59102                 6002                Various                                                                                             $2.58
MELISA KAMETLER               1221 JACKSON ST.                                               OSHKOSH          WI         54901                 6004                Various                                                                                             $5.70
MELISA MCDONNELL              114 WEST PLEASANT ST                                           GARDEN CITY      MN         56034                 6004                Various                                                                                             $3.00
MELISA SCHELVAN               4704 RATTLESNAKE DR                                            MISSOULA         MT         59802                 6004                Various                                                                                            $75.00
MELISS ADOMEN                 402 W DIVISION ST                                              WAUTOMA          WI         54982                 6004                Various                                                                                             $5.20
MELISSA & DOUG LLC            PO BOX 590                                                     WESTPORT         CT         06881                 9013                Various                                                                                       $778,411.49
MELISSA A COONCE              202 DUPUIS ST                                                  RULO             NE         68431                 6002                Various                                                                                             $0.66
MELISSA ARMSTRONG             301 LOCUST                   PO BOX 133                        LYLE             MN         55953                 6004                Various                                                                                             $3.00
MELISSA AUSTAD                322 SKYLER AVE                                                 NORTH MANKATO    MN         56003                 6004                Various                                                                                             $8.64
MELISSA BECKER                2136 N BRADY RD                                                BRADY            NE         69123                 6002                Various                                                                                             $2.90
MELISSA BELANGER              308 LITTLE RD                                                  GREEN BAY        WI         54301                 6004                Various                                                                                            $24.00
MELISSA BENEDICTO             1971 PROGRESSIVE RD                                            WAPATO           WA         98951                 6004                Various                                                                                            $10.00
MELISSA BETTCHER              305 N PALMER AVE                                               WINNER           SD         57580                 6002                Various                                                                                             $7.56
MELISSA BOER                  633 23RD ST NE                                                 ROCHESTER        MN         55906                 6004                Various                                                                                             $3.00
MELISSA BOYD                  1019 RAVINE ST                                                 JANESVILLE       WI         53548                 6004                Various                                                                                             $2.00
MELISSA BRAMER                956 RIVERVIEW DR                                               LITTLE SUAMICO   WI         54141                 6002                Various                                                                                             $9.32
MELISSA BREVIG                32284 STINSON RIDGE                                            HOUSTON          MN         55943                 6004                Various                                                                                             $3.00
MELISSA BROSKOFF              311 CENTRAL AVE S                                              DODGE CENTER     MN         55927                 6002                Various                                                                                             $1.42
MELISSA BYRD                  1744 S KENT PLAZA                                              EAST WENATCHEE   WA         98802                 6004                Various                                                                                            $45.38
MELISSA CAMPBELL              2017 SOUTH 138 AVE CIRCLE                                      OMAHA            NE         68144                 6004                Various                                                                                            $10.00
MELISSA CELINDRO-MURRAY       209 9TH ST NW                                                  MASON CITY       IA         50401                 6002                Various                                                                                             $5.21
MELISSA CHMIEL                N5590 LOCK RD.                                                 PRINCETON        WI         54968                 6004                Various                                                                                             $1.00
MELISSA CLAYBAUGH             4700 S 5TH AVE TRLR 7                                          POCATELLO        ID         83204                 6002                Various                                                                                             $7.12
MELISSA CLEVENGER             3112 MAIN AVE                                                  SHEBOYGAN        WI         53083                 6004                Various                                                                                            $15.00
MELISSA CONNER                210 12TH ST                                                    SALMON           ID         83467                 6002                Various                                                                                             $6.77
MELISSA CONRAD                2110 ELLEN ST                                                  STURGIS          SD         57785                 6002                Various                                                                                            $10.00
MELISSA COOK                  PO BOX 116                                                     SUNBURST         MT         59482                 6002                Various                                                                                             $1.62
MELISSA COYLE                 1945 HIGHWAY 61                                                LORAINE          IL         62349                 6004                Various                                                                                          $158.03
MELISSA CROOK                 5830 SHERWOOD DRIVE                                            SHEBOYGAN        WI         53081                 6004                Various                                                                                            $20.00
MELISSA CROTTEAU              2643 10TH AVE                                                  CHETEK           WI         54728                 6002                Various                                                                                             $1.62

MELISSA DAUTE                 306 ANDERSON ST-P.O. BOX 161                                   COON VALLEY      WI         54623                  6002               Various                                                                                                $0.88
MELISSA DICKENS               10148 CLEAR WING             APT 2                             ROSCOE           IL         61073                  6004               Various                                                                                               $67.20
MELISSA DIEDRICH              934 E NORTH STREET                                             APPLETON         WI         54911                  6004               Various                                                                                               $40.00
MELISSA DIENER                344 MARY ST                                                    BRILLION         WI         54110                  6004               Various                                                                                               $25.00
MELISSA EDWARDS               1225 LINCOLN AVE APT 113                                       JACKSONVILLE     IL         62650                  6004               Various                                                                                                $8.00
MELISSA EVERMAN               101 E ELM                                                      GALLATIN         MO         64640                  6002               Various                                                                                                $8.60
MELISSA FITZJARRALD           352 N EKLUTNA                                                  PALMER           AK         99645                  6004               Various                                                                                               $64.02
MELISSA FOOTE                 718 S. MAIN ST.                                                OREGON           WI         53575                  6004               Various                                                                                                $2.00




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                                                                                                                                                     Account         Incurred, Basis for
              Creditor Name                Address1            Address2           Address3             City        State           Zip   Country     Number                Claim                                                                             Total Claim
MELISSA FOSTER                 2186 WHITE RD                                                   TOMAHAWK         WI         54487                 6002                Various                                                                                                $9.10
MELISSA FREIER                 3658 CTY RD C                                                   ELLSWORTH        WI         54011                 6002                Various                                                                                                $5.07
MELISSA GALAN                  2354 MAIN STREET                                                CALEDONIA        IL         61011                 6004                Various                                                                                               $28.00
MELISSA GOODWIN                311 E WILLIAM ST                                                ALBERT LEA       MN         56007                 6002                Various                                                                                                $7.29
MELISSA GRAY                   3621 REPUBLIC AVE.                                              RACINE           WI         53405                 6004                Various                                                                                                $5.00
MELISSA GREIG                  825 SOUTH FRONT ST                                              MANKATO          MN         56001                 6004                Various                                                                                                $3.00
MELISSA HAECKER                5721 S 50TH ST                                                  LINCOLN          NE         68516                 6002                Various                                                                                                $1.51

                                                           3101 WASHINGTON
MELISSA HARMON                 TRLR 46                     STREET                              BELLEVUE         NE         68005                  6002               Various                                                                                             $1.25
MELISSA HASKIN                 1116 14TH ST S                                                  LA CROSSE        WI         54601                  6002               Various                                                                                             $9.32
MELISSA HEYKA                  523 MAIN ST                                                     OCONTO           WI         54153                  6004               Various                                                                                            $21.25
MELISSA HICKS                  2437 E 3870TH N                                                 FILER            ID         83328                  6002               Various                                                                                             $7.86
MELISSA HILL                   917 13TH ST                                                     SIOUX CITY       IA         51105                  6002               Various                                                                                             $4.38
MELISSA HUCKABEE               1014 SUYDAM ST                                                  GREEN BAY        WI         54301                  6004               Various                                                                                             $5.70
MELISSA HUEBSCHMAN             3362 MISSION LN                                                 PLOVER           WI         54467                  6002               Various                                                                                             $3.32
MELISSA HUGGET                 16914 STATE HIGHWAY 95                                          PRINCETON        MN         55371                  6002               Various                                                                                             $7.37
MELISSA HUSS                   2331 N HYW # 38                                                 BRIGHAM CITY     UT         84302                  6002               Various                                                                                             $1.62
MELISSA J HRONKIN              574 SIMAR WASAS RD                                              MASS CITY        MI         49948                  6002               Various                                                                                             $0.96
MELISSA J SPAULDING            121 HAPPY VALLEY LN                                             AFTON            WY         83110                  6002               Various                                                                                             $2.55
MELISSA JENO                   1020 W NORWAY AVE APT 116                                       MITCHELL         SD         57301                  6002               Various                                                                                             $8.63
MELISSA JOEPECK                1758 BURGOYNE COURT         APT 40                              DEPERE           WI         54115                  6004               Various                                                                                             $5.05
MELISSA JOHNSON                5517 PIONEERS BLVD                                              LINCOLN          NE         68506                  6004               Various                                                                                            $36.00
MELISSA K SCOTT                PO BOX 1044                                                     SPIRIT LAKE      ID         83869                  6002               Various                                                                                             $5.10
MELISSA KAUKOLA                278 LAKEWOOD LN                                                 MARQUETTE        MI         49855                  6002               Various                                                                                             $7.92
MELISSA KAVANAUGH              631 FAIR OAKS DR                                                NEENAH           WI         54956                  6002               Various                                                                                             $0.49
MELISSA KILGORE                412 E CARPENTER ST                                              CHASE            KS         67524                  6002               Various                                                                                             $5.04
MELISSA KISHWALK               22 WIWNU LN                                                     WAPATO           WA         98951                  6004               Various                                                                                            $10.02
MELISSA KOLBOW                 239 VICTORY STREET                                              JUNEAU           WI         53039                  6004               Various                                                                                            $40.00
MELISSA KONECNY                PO BOX 28                                                       WESTBORO         WI         54490                  6004               Various                                                                                            $25.00
MELISSA KOSTROSKI              212 N. MIDWAY AVENUE                                            MILTON           WI         53563                  6004               Various                                                                                            $18.30
MELISSA L SIMMONS              521 MOTTER ST                                                   LYONS            KS         67554                  6002               Various                                                                                             $7.51
MELISSA LANCE                  435 S 4TH ST                                                    FOREST CITY      IA         50436                  6002               Various                                                                                             $4.49
MELISSA LARSEN                 141 S LINCOLN ST                                                KIMBERLY         WI         54136                  6004               Various                                                                                             $2.00
MELISSA LAWSON                 130 SWEETWATER ST APT 7                                         LANDER           WY         82520                  6002               Various                                                                                            $10.00
MELISSA LEE-KLADDER            329 S M-18                                                      GLADWIN          MI         48624                  6002               Various                                                                                             $0.66
MELISSA LEIFESTE               411 WASHINGTON ST                                               SALMON           ID         83467                  6002               Various                                                                                             $1.01
MELISSA LINDSAY                2623 N FAIRFIELD                                                CHICAGO          IL         60647                  6004               Various                                                                                           $116.00
MELISSA LINFIELD               1002 DONNA DR NW                                                ALEXANDRIA       MN         56308                  6004               Various                                                                                             $3.00
MELISSA LUEDKE                 5178 LADE BEACH ROAD                                            LITTLE SUAMICO   WI         54141                  6004               Various                                                                                            $12.15
MELISSA LYONS                  352 W STATE ST                                                  WAVERLY          IL         62692                  6002               Various                                                                                             $8.14
MELISSA M TINCUP               495 JOHN TWOSTARS SR ST                                         SISSETON         SD         57262                  6002               Various                                                                                             $7.67
MELISSA MANJARREZ              5315 45TH STREET                                                KENOSHA          WI         53144                  6004               Various                                                                                             $4.00
MELISSA MARSHALL               1450 N WASHINGTON BLVD                                          OGDEN            UT         84404                  6002               Various                                                                                             $9.59
MELISSA MARTINEZ               550 6TH ST SE                                                   MASON CITY       IA         50401                  6002               Various                                                                                             $1.23
MELISSA MAULE                  5300 HOLDRIDGE                                                  LINCOLN          NE         68504                  6004               Various                                                                                             $2.00
MELISSA MCGIBBON               2501 S 1500TH E                                                 SALT LAKE        UT         84106                  6002               Various                                                                                             $1.78
MELISSA MCINTOSH               804 8TH AVE SW                                                  AUSTIN           MN         55912                  6004               Various                                                                                           $216.00
MELISSA MCMICKELL              420 WILKES DR APT 1                                             GREEN RIVER      WY         82935                  6002               Various                                                                                             $3.70
MELISSA MERRITT                57 NORTH RIDGE TER          APT 105                             MADISON          WI         53704                  6004               Various                                                                                             $2.00
MELISSA MEYER                  120 EMILY DRIVE APT #2                                          RIVER FALLS      WI         54022                  6004               Various                                                                                             $6.00
MELISSA MILLER                 1214 NORTH 10TH AVE                                             WEST BEND        WI         53090                  6666               Various                                                                                             $3.52
MELISSA NELSON                 10987 OLD STAGE RD                                              SISTER BAY       WI         54234                  6002               Various                                                                                             $1.34
MELISSA NOREN                  23838 S CEDER DR                                                TREMEALEAU       WI         54661                  6002               Various                                                                                            $10.00




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                                                                                                                                                       Account         Incurred, Basis for
              Creditor Name                   Address1              Address2        Address3             City        State           Zip   Country     Number                Claim                                                                             Total Claim
MELISSA OLSON                     W16030 BIG SLOUGH ROAD                                         HIXTON           WI         54635                 6004                Various                                                                                               $43.99
MELISSA ORTIZ                     2301 W 1ST                                                     GRAND ISLAND     NE         68803                 6004                Various                                                                                                $4.00
MELISSA PAPAGEORGE                3280 MOCKING BIRD WAY                                          OSHKOSH          WI         54904                 6004                Various                                                                                               $37.50
MELISSA PAQUE                     109 LAKECREST DR                                               BEAVER DAM       WI         53916                 6002                Various                                                                                                $3.84
MELISSA PINION                    1806 CENTRAL AVE                                               CODY             WY         82414                 6002                Various                                                                                                $6.30
MELISSA PLATSON                   303 WESLEY CT                                                  RIVER FALLS      WI         54022                 6002                Various                                                                                                $0.44
MELISSA POPE                      506 5TH ST W                                                   CLEAR LAKE       SD         57226                 6002                Various                                                                                                $4.77
MELISSA PRIEST                    803 N RICHMOND ST                                              APPLETON         WI         54911                 6002                Various                                                                                                $4.68
MELISSA RAKESTRAW                 314 W BEGLEY ST                                                GREENWOOD        WI         54437                 6002                Various                                                                                                $1.51
MELISSA RAMIREZ                   213 VISTA VILLAGE                                              BROWNSDALE       MN         55918                 6004                Various                                                                                               $20.00

MELISSA REID                      3173 SOUTH APPLE STREET #104                                   BOISE            ID         83706                  6004               Various                                                                                             $8.02
MELISSA RENVILLE                  12209 2ND AVE                                                  SISSETON         SD         57262                  6002               Various                                                                                             $9.07
MELISSA RICHIE                    W10569 MEADOW LN                                               FOX LAKE         WI         53933                  6002               Various                                                                                             $0.30
MELISSA RIEN                      170 PLEASANT AVE NE                                            COKATO           MN         55321                  6002               Various                                                                                             $3.48
MELISSA ROSENBERG                 1915 MADISON AVE                                               BURLINGTON       IA         52601                  6004               Various                                                                                            $10.00
MELISSA S RUDD                    3219 COLLEGE AVE                                               QUINCY           IL         62301                  6002               Various                                                                                             $0.63
MELISSA SANDERS                   3750 OTTERTRAIL                                                IDAHO FALLS      ID         83404                  6002               Various                                                                                             $0.66
MELISSA SAUBY                     600 9TH ST.                                                    MENASHA          WI         54952                  6004               Various                                                                                            $17.17
MELISSA SCHAEFFER                 515 N WASHINGTON ST APT 2                                      ABERDEEN         SD         57401                  6002               Various                                                                                             $6.38
MELISSA SCHICK                    407 FRIENDLY CIRCLE SW                                         EYOTA            MN         55934                  6004               Various                                                                                             $3.00
MELISSA SCHMIDT                   N5539 CTY RD UU                                                FOND DU LAC      WI         54937                  6002               Various                                                                                             $3.37
MELISSA SCHULENBURG               704 MATIN AVE.                                                 FOND DU LAC      WI         54935                  6004               Various                                                                                            $17.00
MELISSA SIEBOLD                   608 HILLCREST AVE                                              KEWAUNEE         WI         54216                  6002               Various                                                                                             $0.79
MELISSA SIEM                      5715 25TH AVE NW                                               ROCHESTER        MN         55901                  6004               Various                                                                                             $3.00
MELISSA SILER                     400 W 19TH AVE APT 21                                          BELLEVUE         NE         68005                  6002               Various                                                                                             $4.99
MELISSA SMET                      727 S PIONEER PKWY                                             FOND DU LAC      WI         54935                  6002               Various                                                                                             $6.93
MELISSA SMIDT                     5911 DRAKE CR                                                  LINCOLN          NE         68516                  6004               Various                                                                                            $40.00
MELISSA STANDS                    123 S BROADWAY APT 3                                           PELICAN RAPIDS   MN         56572                  6002               Various                                                                                             $9.07
MELISSA STEFFENSMEIER             816 NORTH 5TH ST                                               MANKATO          MN         56001                  6004               Various                                                                                          $250.00
MELISSA STEWART                   2926 WELLS BENCH RD                                            OROFINO          ID         83544                  6002               Various                                                                                             $4.66
MELISSA SUE MCCOY                 424 INDUSTRIAL LN TRLR 4                                       POCATELLO        ID         83201                  6002               Various                                                                                             $7.04
MELISSA SUKHRAM                   1710 S 52ND ST                                                 LINCOLN          NE         68506                  6004               Various                                                                                             $3.00
MELISSA SUNJIC                    6033 32ND AVE                                                  KENOSHA          WI         53142                  6004               Various                                                                                             $1.00
MELISSA SUTTON                    402 1ST AVE NW                                                 DODGE CENTER     MN         55927                  6002               Various                                                                                             $5.86
MELISSA THOMPSON                  329 MOBERLY ST                                                 STERLING         KS         67579                  6002               Various                                                                                             $2.99
MELISSA TUFTE                     512 4TH ST.                                                    NEW RICHLAND     MN         56072                  6004               Various                                                                                            $15.30
MELISSA TURNER                    4040 AMBER LN                                                  POCATELLO        ID         83202                  6002               Various                                                                                             $5.75
MELISSA VENEMA                    W7710 ISLAND ROAD                                              DELAVAN          WI         53115                  6004               Various                                                                                            $10.00
MELISSA VIESCA                    111 W. BEEBE AVE.                                              HERMISTON        OR         97838                  6004               Various                                                                                            $23.00
MELISSA VILLA                     PO BOX 214                                                     HAZELTON         ID         83335                  6004               Various                                                                                             $3.65
MELISSA WALKER                    2026 FITCH HATCHERY ROAD     10                                MADISON          WI         53713                  6004               Various                                                                                            $20.00
MELISSA WALT                      1825 DALLAS RD                                                 DE PERE          WI         54115                  6002               Various                                                                                             $6.93
MELISSA WELLS                     2012 W CAPITOL DR                                              APPLETON         WI         54914                  6002               Various                                                                                             $6.22
MELISSA WOLD                      22987 BERRY DR                                                 MABEL            MN         55954                  6002               Various                                                                                             $8.63
MELISSA WYNIA                     660 EAST MARK STREET                                           WINONA           MN         55987                  6004               Various                                                                                             $3.00
MELISSA YOUNG                     1819 ABERG AVE                                                 MADISON          WI         53704                  6004               Various                                                                                             $3.00
MELISSA ZILER                     2646 RIMROCK RD                                                BILLINGS         MT         59102                  6002               Various                                                                                             $1.81
MELISSA ZIMMERMAN                 1141 DODDS DR APT 1                                            PLOVER           WI         54467                  6002               Various                                                                                            $12.88
MELLER EXCAVATING & ASPHALT IN    3321 190TH STREET                                              FORT MADISON     IA         52627                  1696               Various                                                                                        $26,065.20
MELLISA CAMPOS                    213 1/2 N CENTER ST                                            BEAVER DAM       WI         53916                  6004               Various                                                                                             $2.00
MELLISSA FLETCHER                 2187 215TH AVE                                                 MINNESOTA LAKE   MN         56068                  6004               Various                                                                                             $3.00
MELLISSA HAAS-MENARD              10105 CEDAR LN                                                 ADAMS            NE         68301                  6002               Various                                                                                             $3.45
MELLISSA HAFEMAN                  201 HILLCREST ST                                               TOMAHAWK         WI         54487                  6004               Various                                                                                             $5.00




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                                                                               Schedule E/F: Part 2 - Creditors With Nonpriority Unsecured Claims




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                                                                                                                                                                                                             Unliquidated
                                                                                                                                                                                                Contingent


                                                                                                                                                                                                                            Disputed
                                                                                                                                                       Last 4 Digits of     Date Debt was
                                                                                                                                                          Account         Incurred, Basis for
             Creditor Name                       Address1             Address2         Address3             City        State           Zip   Country     Number                Claim                                                                             Total Claim
MELLISSA SANDVICK                    6 RIDGEWOOD DR                                                 KALISPELL        MT         59901                 6002                Various                                                                                                $8.82
MELODEE SMITH                        2406 KLYPSO RD APT 3                                           MADISON          WI         53704                 6004                Various                                                                                                $4.00
MELODI JENKINS                       201 W 24TH ST                                                  SIOUX CITY       IA         51104                 6002                Various                                                                                                $4.85
MELODIE FREI                         120 N 4TH ST                                                   COEUR D ALENE    ID         83814                 6002                Various                                                                                                $3.23
MELODY A JOHNSON                     217 LAFAYETTE ST                                               HOLDREGE         NE         68949                 6002                Various                                                                                                $2.16
MELODY AMOUR PELKEY                  W2150 MALLARD LN                                               KAUKAUNA         WI         54130                 6002                Various                                                                                                $7.92
MELODY KOEPPE                        45287 106TH ST                                                 CLAIRE CITY      SD         57224                 6002                Various                                                                                                $6.44
MELODY MCNEELY                       PO BOX 5                                                       STELLA           NE         68442                 6002                Various                                                                                                $2.14
MELODY MORRISON                      458 TAYLOR AVE APT 6                                           MOSCOW           ID         83843                 6004                Various                                                                                               $70.00
MELODY RITTENHOUSE                   1003 N CLAREMONT DR                                            JANESVILLE       WI         53545                 6002                Various                                                                                                $5.92
MELODY TANNER                        200 E KEYS APT 2                                               BUFFALO          WY         82834                 6002                Various                                                                                                $5.81
MELONIE HARRIS                       277 S 700TH E                                                  SPANISH FORK     UT         84660                 6002                Various                                                                                                $0.58
MELONNIE OSTERHOUT                   310 N ST CHARLES ST                                            SALMON           ID         83467                 6002                Various                                                                                                $0.47
MELVIN BERG                          S2173 CTY HWY C                                                ARCADIA          WI         54612                 6002                Various                                                                                               $16.64
MELVIN BLANCHARD                     2627 S VIRGINIA AVE                                            BOISE            ID         83705                 6002                Various                                                                                                $2.22
MELVIN DESPAIN                       1260 WRIGHT AVE                                                POCATELLO        ID         83202                 6002                Various                                                                                                $6.25
MELVIN ECHELBERGER                   700 NEW HOPE LOOP                                              LENORE           ID         83541                 6002                Various                                                                                                $3.23
MELVIN HARRIS JR                     1630 HELLER AVE                                                SHEBOYGAN        WI         53081                 6004                Various                                                                                                $1.00
MELVIN L TROYER                      31766 STATE HIGHWAY 6                                          JAMESPORT        MO         64648                 6002                Various                                                                                                $7.48
MELVIN LOPEZ                         291 SACRED HILL DR                                             VEBLEN           SD         57270                 6002                Various                                                                                               $10.00
MELVIN MANTY                         15895 38TH RD                                                  ROCK             MI         49880                 6002                Various                                                                                                $2.74
MELVIN MILLER                        PO BOX 36                                                      KEENSBURG        IL         62852                 6002                Various                                                                                                $8.05
MELVIN PRICE                         2866 QUINCY AV                                                 OGDEN            UT         84404                 6004                Various                                                                                               $13.00
MELVIN SENSENIG                      W2668 WILLOW RD                                                CURTISS          WI         54422                 6002                Various                                                                                                $3.92
MELVIN WILLIAMS                      841 W 5TH ST                                                   WINNER           SD         57580                 6002                Various                                                                                                $4.11
                                     719 W SUNNY RIVER ROAD APT
MELVIN YETTER                        1237                                                           SALT LAKE CITY   UT         84123                  6004               Various                                                                                               $16.02
MELYNDA(MIND BLOOD                   PO BOX 41                                                      SPIRIT LAKE      ID         83869                  6002               Various                                                                                                $0.58
                                     WELLS FARGO TRADE CAPITAL
MEMORY COMPANY                       SERVICES INC                 PO BOX 912150                     DENVER           CO         80291-2150              5157              Various                                                                                         $4,090.80
                                                                  5101 MENARD
MENARD INCORPORATED                  ATTN PROPERTIES DIVISION     DRIVE                             EAU CLAIRE       WI         54703                   9818              Various                                                                                        $38,875.69
                                                                                                                                                                          12/2/2018 -
MENASHA ELECTRIC & WATER UTILITIES   P.O. BOX 340                                                   MENASHA          WI         54952-0340             0-00               1/1/2019                                                                                        $7,953.42
MENKE FAMILY                         440 ILLINOIS AVE                                               FOND DU LAC      WI         54937                  6002               Various                                                                                             $0.66
MENTHOLATUM COMPANY INCORPORAT       BOX 347142                                                     PITTSBURGH       PA         15251-4142             4806               Various                                                                                        $36,377.12
MEQUILA WINANS                       224 S JEFFERSON ST                                             ONEILL           NE         68763                  6002               Various                                                                                             $5.56
MEQUON THIENSVILLE CHAMBER           633 W MEQUON RD                                                MEQUON           WI         53092                  6589               Various                                                                                            $12.08
MERADI BLANCO                        540 W SHERMAN ST                                               WEST POINT       NE         68788                  6002               Various                                                                                             $5.23
MERAE ETCHIN                         1010 N. PINE ST                                                SUN PRAIRIE      WI         53590                  6004               Various                                                                                             $2.00
MERANDA QUEVEDO                      119 ROEDL CT                                                   BEAVER DAM       WI         53916                  6004               Various                                                                                             $2.00
MERANNDA STIREWALT                   5845 OAK ST APT 101                                            NORTH BRANCH     MN         55056                  6004               Various                                                                                             $3.00
MERCADEZ HUERTA                      2838 COOLEDGE STREET         APT C                             MADISON          WI         53704                  6004               Various                                                                                             $1.00
MERCEDES ADALIN                      817 AMNICON TRL                                                MADISON          WI         53718                  6004               Various                                                                                             $4.00
MERCEDES CRARY                       5207 LEEANN LN.                                                MC FARLAND       WI         53558                  6004               Various                                                                                            $10.00
MERCEDES ELMER                       2335 17TH AVE                                                  MONROE           WI         53566                  6004               Various                                                                                             $4.00
MERCEDES MARTINEZ                    1936 S 18TH STREET                                             OMAHA            NE         68108                  6004               Various                                                                                            $65.00
MERCEDES OLIVA                       437 E 300TH N                                                  BRIGHAM CITY     UT         84302                  6002               Various                                                                                             $3.07
MERCEDES RODRIGUEZ FIORES            107 N FIRST ST # 7 PMB P                                       ABBOTSFORD       WI         54405                  6002               Various                                                                                             $7.53
MERCEDEZ WETZEL                      803 LINCOLON AVE APT 3                                         MARQUETTE        MI         49855                  6002               Various                                                                                             $8.36
MERCER INVESTMENT LIMITED PART       1912 66TH STREET NW                                            MINOT            ND         58703-8894             8029               Various                                                                                        $11,057.19
MERCHSOURCE LLC                      PO BOX 3559                                                    CAROL STREAM     IL         60132-3559             9012               Various                                                                                       $171,732.03
MERCY PECK                           16 MICHAEL GROVE AVE                                           BOZEMAN          MT         59718                  6002               Various                                                                                             $5.64
MERCY WARD                           706 6TH AVE                                                    WILMOT           MN         57279                  6002               Various                                                                                             $0.93




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                                                                         Schedule E/F: Part 2 - Creditors With Nonpriority Unsecured Claims




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                                                                                                                                                                                              Contingent


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                                                                                                                                                        Account         Incurred, Basis for
            Creditor Name                 Address1               Address2         Address3             City          State           Zip    Country     Number                Claim                                                                             Total Claim
MEREDITH GAMET                7600 VINE                                                        LINCOLN          NE           68505                  6004                Various                                                                                               $29.98
MEREDITH MERTZ                1010 CEAPE AVE                                                   OSHKOSH          WI           54901                  6002                Various                                                                                                $3.21
MEREDITH STOA                 2681 VAIL CT                                                     GREEN BAY        WI           54311                  6002                Various                                                                                                $7.34
MERIAM AWADA                  837 S 400 E #6                                                   SALT LAKE CITY   UT           84111                  6004                Various                                                                                               $24.00

MERICAL LLC                   VICE PRESIDENT OF SALES       2995 E MIRA LOMA                   ANAHEIM          CA           92806                   3995               Various                                                                                        $15,642.61
MERIDEE PATTERSON             426 SUGAR AVE                                                    BILLINGS         MT           59101                   6002               Various                                                                                             $0.36
MERISSA MILLER                109 S 5TH ST                                                     CAMERON          WI           54822                   6002               Various                                                                                             $6.68
MERISSA OCONNELL              56263 US HIGHWAY 41                                              CALUMET          MI           49913                   6002               Various                                                                                             $4.88
MERLE BARNHART                410 S 100 E                   #C                                 BRIGHAM CITY     UT           84302                   6004               Various                                                                                            $12.00
MERLE CAIN                    2112 ASSUMTION STREET                                            EUGENE           OR           97402                   6004               Various                                                                                            $25.00
MERLE FOLVEN                  11371 640TH AVE                                                  EMMONS           MN           56029                   6004               Various                                                                                             $3.00
MERLE GARY POHLMANN           6 W KIM ST                                                       SALMON           ID           83467                   6002               Various                                                                                             $3.61
MERLE KLIPPING                104 S OHIO AVE                                                   MASON CITY       IA           50401                   6002               Various                                                                                             $2.33
MERLE KOPREN                  1722 BALDWIN ST                                                  STURGIS          SD           57785                   6002               Various                                                                                             $3.04
MERLE RAHE                    1141 1ST AVE SW                                                  OELWEIN          IA           50662                   6002               Various                                                                                             $2.74
MERLE TYSVER                  46480 SD HIGHWAY 10                                              SISSETON         SD           57262                   6002               Various                                                                                            $10.00
MERLENE GRINT                 BOX 472                                                          SARGENT          NE           68874                   6002               Various                                                                                             $4.11
MERLIN BROD                   23478 454TH AVE                                                  MADISON          SD           57042                   6002               Various                                                                                             $5.86
MERLIN ROHM                   N9530 ISAAR RD                                                   SEYMOUR          WI           54165                   6002               Various                                                                                             $9.67
MERLIN VANDERMEULEN           929 N MAPLE AVE                                                  GREEN BAY        WI           54303                   6002               Various                                                                                             $6.77
MERLIN WIESMAN                11064 BURN CIR                                                   HAZELHURST       WI           54531                   6002               Various                                                                                            $10.00
MERNA RIERSON                 1180 DONEGAL ST.                                                 CASPER           WY           82609                   6002               Various                                                                                          $338.78
MERRELL J MOORE FAILS         400 W 19TH AVE APT 3                                             MITCHELL         SD           57301                   6002               Various                                                                                             $6.77
MERRI MUSSELL                 400 W BROADWAY ST PMB 127                                        MISSOULA         MT           59802                   6002               Various                                                                                            $12.59
MERRY J. KOETTER              38803 ROAD 719                                                   MC COOK          NE           69001                   6002               Various                                                                                             $1.70
                                                            NO. 336, CENTRO
                                                            COMERCIAL CHENG
MERRY LINK                    DR. CARLOS D'ASSUMPCAO        FENG            5 ANDAR M. MACAU   MACAU                                       CHINA     6975               Various                                                                                       $418,709.10
MERRY LOWELL                  1220 BLAKE ST N                                                  TWIN FALLS       ID           83301                   6004               Various                                                                                            $10.02
                                                            UNIT 16 RICHMOND
MERRY PRODUCTS CORP (CHUB)    120 WEST BEAVER CREEK         HILL                               ONTARIO          ON           L4B 1L2       CANADA     5359              Various                                                                                           $242.46
                              W240N2500 E PKWY MEADOW
MERRY WING                    CR #                                                             PEWAUKEE         WI           53072                   6002               Various                                                                                                $6.36
MERSADIE L REHORST            2026 LYCURGUS RS                                                 WAUKON           IA           52172                   6002               Various                                                                                                $5.95
MERSIHA TERZIC                16142 BIRCH AVE                                                  OMAHA            NE           68136                   6004               Various                                                                                                $2.00
MERTINA CHANEY                4346 BRITTA PKWY                                                 MADISON          WI           53711                   6004               Various                                                                                                $6.00
MERTON HATCH                  6470 BIRCH ST APT 101                                            NORTH BRANCH     MN           55056                   6002               Various                                                                                                $1.21

MERTON LUEPTOW                955 W WHITEFISH RD                                               PORT WASHINGTON WI            53074                    6002              Various                                                                                                $3.73

MERVIN BRUBAKER               697 TOMS CANYON COUNTY RD #                                      AUBURN           WY           83111                   6002               Various                                                                                                $5.29
MERYLE BLOW                   501 E 1ST AVE APT 2                                              MITCHELL         SD           57301                   6002               Various                                                                                                $1.51

MESSERSCHMITT ICE SERVICE     VICE PRESIDENT OF SALES       1118 HAYNE STREET                  OTTUMWA          IA           52501                   6998               Various                                                                                               $72.50

MESTAS/ JOELLE                STORE 2-692                   SHOPKO EMPLOYEE PO BOX 6           SUPERIOR         NE           68978-0006              8264               Various                                                                                            $23.07
METAL FUSION INC (C-HUB)      712 ST GEORGE AVE                                                JEFFERSON        LA           70121-0000              3579               Various                                                                                            $56.65
METAL WARE CORPORATION        VICE PRESIDENT OF SALES       PO BOX 237                         TWO RIVERS       WI           54241-0237              2672               Various                                                                                       $299,115.97
METHENY FAMILY                415 PEBBLES AVE                                                  BELVIDERE        IL           61008                   6002               Various                                                                                             $3.45
METHOD PRODUCTS PBC           METHOD NA                     PO BOX 78764                       MILWAUKEE        WI           53278                   0831               Various                                                                                        $24,426.41
                              ATTN: ACCOUNTS PAYABLE
METSO PAPER                   REFUND                        PO BOX 1652 STN ST                 MONTREAL         QC           H4L4Z2        CANADA    6004               Various                                                                                           $124.43
METTA KUEHN                   941 MAYER LN                                                     MAYVILLE         WI           53050                   6002               Various                                                                                             $7.18




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                                                                     Schedule E/F: Part 2 - Creditors With Nonpriority Unsecured Claims




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                                                                                                                                                                                       Contingent


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                                                                                                                                                Last 4 Digits of   Date Debt was
                                                                                                                                                   Account       Incurred, Basis for
             Creditor Name                    Address1       Address2        Address3             City            State         Zip    Country     Number              Claim                                                                             Total Claim
METZNERS CULLIGAN QUALITY WATE    310 S ONEIDA STREET                                     GREEN BAY          WI           54303-0000           4119              Various                                                                                            $93.51
MEYERS ELECTRIC SERVICE, LLC      900 LINDY ST                                            RICE LAKE          WI           54868                                  12/15/2018                                                                                      $1,322.57
                                  16300 ROSCOE BOULEVARD
MGA ENTERTAINMENT                 SUITE 150                                               VAN NUYS           CA           91406-1258             5461            Various                                                                                        $30,782.30
MH EQUIPMENT                      4110 MWM LANE                                           OTTAWA             IL           61350                                  Various                                                                                          $957.15
MIA ANDERSEN                      2365 HITCHING POST DR                                   GREEN RIVER        WY           82935                  6002            Various                                                                                            $10.00
MIA BUTLER-FIZER                  104 HALF 7TH STR NW                                     ROCHESTER          MN           55901                  6004            Various                                                                                             $3.00
MIA HARRIS                        286 SUNSET LN                                           ELLSWORTH          WI           54011                  6002            Various                                                                                             $0.66
MICAELA HERNANDEZ                 115 S CUSTER ST APT A                                   BRILLION           WI           54110                  6002            Various                                                                                             $1.89
MICAELA QUEEN-JONES               3115 DARTAGNAN                                          POCATELLO          ID           83202                  6004            Various                                                                                            $13.00
MICAELA REGALADO                  33457 610TH AVE                                         CHOKIO             MN           56221                  6002            Various                                                                                             $7.73
MICAH DAVIS                       6358 W. THOR WAY                                        SALT LAKE CITY     UT           84128                  6004            Various                                                                                            $35.00
MICAH LARSON                      520 LIMERICK DR. #213                                   COTTAGE GROVE      WI           53527                  6004            Various                                                                                            $22.50
MICAH POSTEL                      E1062 CAMP RD                                           WAUPACA            WI           54981                  6002            Various                                                                                             $2.11
MICHAEL A APPLETON                PO BOX 28                                               BIG BAY            MI           49808                  6002            Various                                                                                             $1.07
MICHAEL A CARTER                  HC 1 BOX 13                                             FAIRDEALING        MO           63939                  6002            Various                                                                                             $4.30
MICHAEL A EMBERSON                PO BOX 71                                               MONTICELLO         WI           53570                  6002            Various                                                                                             $9.26
MICHAEL A HANGMAN                 409 N SENEY AVE                                         RUSHMORE           MN           56168                  6002            Various                                                                                             $3.97
MICHAEL A HENRY                   3400 PIERCE AVE TRLR 677                                MARINETTE          WI           54143                  6002            Various                                                                                             $4.68
MICHAEL A LEAF                    PO BOX 43                                               SIDNAW             MI           49961                  6002            Various                                                                                             $2.66
MICHAEL A LOERZEL                 42729 400TH ST                                          PERHAM             MN           56573                  6002            Various                                                                                             $3.07
MICHAEL A RILEY                   101 GREEN ST                                            GLENWOOD           IA           51534                  6002            Various                                                                                             $7.56
MICHAEL A TALBOT                  1691 W ROSELAWN DR                                      APPLETON           WI           54914                  6002            Various                                                                                             $6.82
MICHAEL A UPMANN                  849 W DOUGLAS ST                                        FREEPORT           IL           61032                  6002            Various                                                                                             $2.16
MICHAEL ABBOTT                    UPDATE INFO                                             LA CROSSE          WI           54603                  6002            Various                                                                                             $8.79
MICHAEL ABITZ                     9901 BITTERSWEET RD                                     WAUSAU             WI           54401                  6002            Various                                                                                             $2.30
MICHAEL ACKER                     9717 DURAND AVE                                         STURTEVANT         WI           53177                  6002            Various                                                                                             $7.10
MICHAEL AHLERT                    110 W SUMMIT AVE                                        ELLSWORTH          WI           54011                  6002            Various                                                                                             $5.26
MICHAEL ALBERTS                   5473 178TH ST                                           CHIPPEWA FALLS     WI           54729                  6004            Various                                                                                            $25.00
MICHAEL ALLEN                     218 LUSTRE RD                                           FRAZER             MT           59225                  6002            Various                                                                                             $3.50
MICHAEL ALTOBELLO                 4239 EDGEWOOD CIR                                       IDAHO FALLS        ID           83406                  6002            Various                                                                                             $1.21
MICHAEL ANDERSEN                  1040 E. BRIDGER                                         POCATELLO          ID           83201                  6004            Various                                                                                            $54.60
MICHAEL ANDERSON                  PO BOX 411                                              MORRIS             MN           56267                  6002            Various                                                                                            $14.47
MICHAEL ANDREWS                   406 LACOSTA DR                                          IDAHO FALLS        ID           83401                  6002            Various                                                                                             $3.34
MICHAEL ANGUS                     2214 STEWARD CT                                         SUN PRAIRIE        WI           53590                  6004            Various                                                                                             $1.95
MICHAEL ANTH MARX                 1610 E CAPITOL DR                                       APPLETON           WI           54911                  6002            Various                                                                                             $1.81
MICHAEL ANTHONY                   N6125 STATE RD                                          BLACK CREEK        WI           54106                  6004            Various                                                                                             $4.32
MICHAEL APPLEBAY                  90 MCLAUGHLAN RD                                        YAKIMA             WA           98908                  6004            Various                                                                                            $10.00
MICHAEL AYALA JR                  116 S GALLENA ST                                        MOXEE              WA           98936                  6004            Various                                                                                            $15.56
MICHAEL BACK                      41871 HUPP STREET NE                                    BRAHAM             MN           55006                  6004            Various                                                                                             $6.00
MICHAEL BAPTIST                   117 WHITE ST                                            MARINETTE          WI           54143                  6004            Various                                                                                             $1.00
MICHAEL BARNES                    102 HICKEY AVE                                          TOMAHAWK           WI           54487                  6002            Various                                                                                             $8.66
MICHAEL BARRICK                   619 N OLIVE AVE                                         MADISON            SD           57042                  6002            Various                                                                                             $6.58
MICHAEL BARTON                    248 MCKIM CREEK RD                                      SALMON             ID           83467                  6002            Various                                                                                             $1.81
MICHAEL BASHOR                    227 LARKSBERG COURT                                     SUN PRAIRIE        WI           53590                  6004            Various                                                                                             $4.00
MICHAEL BATENHORST                440 SELLENTIN ST                                        WEST POINT         NE           68788                  6002            Various                                                                                             $1.45

MICHAEL BATES                     714 WARD ST                                             MILTON FREEWATER   OR           97862                  6004            Various                                                                                               $30.00
MICHAEL BECKSTROM                 1375 W 500TH N                                          PROVO              UT           84601                  6002            Various                                                                                                $3.64
MICHAEL BEEBE                     N1267 STATE RD 85                                       MONDOVI            WI           54755                  6002            Various                                                                                               $12.27
MICHAEL BEHNKE                    345 S ELLIS AVE                                         PESHTIGO           WI           54157                  6002            Various                                                                                                $7.21
MICHAEL BELONGIA                  N18931 DILL DRIVE                                       PEMBINE            WI           54156                  6004            Various                                                                                               $14.98
MICHAEL BENDA                     6701 24TH ST. N.                                        ST. CLOUD          MN           56303                  6004            Various                                                                                               $10.00
MICHAEL BENGE                     PO BOX 601                                              MISSION            SD           57555                  6002            Various                                                                                                $4.19




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MICHAEL BERENDSEN              3255 N FRENCH RD #27                                          APPLETON          WI         54911                 6004                Various                                                                                            $69.00
MICHAEL BERGEN                 1625 S TELULAH AVE                                            APPLETON          WI         54915                 6002                Various                                                                                             $6.79
MICHAEL BERGLUND               PO BOX 619                                                    RICE LAKE         WI         54868                 6002                Various                                                                                             $9.84
MICHAEL BINNS                  PO BOX 1133                                                   AUMSVILLE         OR         97325                 6004                Various                                                                                             $7.98
MICHAEL BLUE                   4654 ISLES DR                                                 PENSACOLA         FL         32507                 6002                Various                                                                                             $0.44
MICHAEL BLY                    3520 6TH STREET                                               LEWISTON          ID         83501                 6004                Various                                                                                           $105.00
MICHAEL BOATWRIGHT             618 ASSEMBLY PL                                               DIXON             IL         61021                 6002                Various                                                                                             $8.79
MICHAEL BOBULA                 1586 QUARRY PARK DR APT 5                                     DE PERE           WI         54115                 6004                Various                                                                                             $5.50
MICHAEL BORER                  4216 SOUTH 36TH AVENUE                                        OMAHA             NE         68107                 6004                Various                                                                                            $19.98
MICHAEL BORNHEIMER             509 W REDWOOD ST TRLR 2                                       EDGAR             WI         54426                 6002                Various                                                                                             $2.33
MICHAEL BORYK                  PO BOX 114                                                    SISTER BAY        WI         54234                 6002                Various                                                                                             $1.51
MICHAEL BOURNE                 12189 552ND LANE                                              AMBOY             MN         56010                 6004                Various                                                                                             $3.00
MICHAEL BOWMAN                 611 2ND ST SE                                                 ROSEAU            MN         56751                 6002                Various                                                                                           $125.27
MICHAEL BRENNER                807 ELMORE STREET                                             GREEN BAY         WI         54303                 6004                Various                                                                                             $4.00
MICHAEL BREWER                 4605 BOB O LINK LANE                                          MADISON           WI         53714                 6004                Various                                                                                            $54.00
MICHAEL BRITTEN                3501 LAKESHORE RD APT G1                                      SHEBOYGAN         WI         53083                 6002                Various                                                                                             $7.26
MICHAEL BROUWER                144 S 29TH ST., APT # 3                                       LINCOLN           NE         68510                 6004                Various                                                                                             $2.00
MICHAEL BROWN                  6013 MAYHILL DR                                               MADISON           WI         53711                 6002                Various                                                                                            $12.02
MICHAEL BURKE                  848 HOCK RIDGE ST                                             MARINETTE         WI         54143                 6002                Various                                                                                             $9.18
MICHAEL BURTON                 202 ROYAL COURT UNIT 10                                       APPLETON          WI         54915                 6004                Various                                                                                            $29.99
MICHAEL BUZA                   248 WELHOUSE DR                                               KIMBERLY          WI         54136                 6004                Various                                                                                            $25.00
MICHAEL BYERLY                 2461 SOUTH 17TH STREET                                        OMAHA             NE         68108                 6004                Various                                                                                             $2.00
MICHAEL BYLDA                  N13923 DIVINE RAPIDS ROAD                                     FIFIELD           WI         54524                 6002                Various                                                                                             $4.16
MICHAEL C FIELD                BOX 324                                                       JEFFERSON CITY    MT         59638                 6002                Various                                                                                             $6.79
MICHAEL C PAINE                17123 N LOLO DR                                               RATHDRUM          ID         83858                 6002                Various                                                                                             $3.56
MICHAEL CALLENDER              200 STEVENS ST APT A18                                        HYANNIS           MA         02601                 6002                Various                                                                                             $8.60
MICHAEL CAMERON                9020 E. EMPIRE                                                SPOKANE           WA         99206                 6004                Various                                                                                            $30.00
MICHAEL CASEY                  6420 N 3RD ST                                                 WELLS             MI         49894                 6002                Various                                                                                             $2.03
MICHAEL CAVINESS               277 RIVER BLUFF DR                                            WINDOM            MN         56101                 6002                Various                                                                                             $7.75
MICHAEL CHAR MCCOURT           130 BADGER LN APT 224                                         GREEN BAY         WI         54303                 6002                Various                                                                                             $8.88
MICHAEL CIGELSKE               914 S CENTER ST                                               BEAVER DAM        WI         53916                 6002                Various                                                                                             $0.93
MICHAEL CISEWSKI               1620 46TH ST S                                                WISCONSIN RAPID   WI         54494                 6002                Various                                                                                             $6.08
MICHAEL COBB                   1906 BALDWIN RD                                               JACKSONVILLE      IL         62650                 6004                Various                                                                                            $30.00
MICHAEL COLEMAN                992 N 1700 W                                                  PLEASANT GROVE    UT         84062                 6004                Various                                                                                             $6.00
MICHAEL COLLUM                 PO BOX 421                                                    ROUNDUP           MT         59072                 6002                Various                                                                                             $2.60
MICHAEL CONRAD                 8673 N 1120TH BLVD                                            MOUNT CARMEL      IL         62863                 6002                Various                                                                                             $9.95
MICHAEL COSTOFF                909 HAZEL RIDGE RD                                            ELKHORN           WI         53121                 6002                Various                                                                                             $0.60
MICHAEL COTE                   1658 SAGE ST                                                  NEWCASTLE         WY         82701                 6002                Various                                                                                             $1.12
MICHAEL COUNTER                730 W DAVENPORT                                               RHINELANDER       WI         54501                 6004                Various                                                                                            $10.00
MICHAEL COX                    1950 PEBBLE CIR                                               TOOELE            UT         84074                 6002                Various                                                                                             $4.05
MICHAEL COYLE                  7989 W MINERAL POINT RD                                       CROSS PLAINS      WI         53528                 6002                Various                                                                                             $8.47
MICHAEL CRIDLEBAUGH            500 NEW CREATION ROAD                                         NEWARK            MO         63458                 6004                Various                                                                                             $7.00
MICHAEL CULPEPPER              4061 HAWTHORN AVE. NE                                         SALEM             OR         97301                 6004                Various                                                                                             $3.00
MICHAEL CUMLEY                 3000 VILLARD AVE TRLR 147                                     HELENA            MT         59601                 6002                Various                                                                                             $4.96
MICHAEL CZECH                  1038 TULLAR RD                                                NEENAH            WI         54956                 6002                Various                                                                                             $1.29
MICHAEL D BORIS                1321 ZBLEWSKI DR                                              PLOVER            WI         54467                 6002                Various                                                                                             $4.03
MICHAEL D CONNOR               41562 FLINK AVE                                               NORTH BRANCH      MN         55056                 6002                Various                                                                                             $6.27
MICHAEL D HADLEY               N2959 PRYSE DR                                                WAUPACA           WI         54981                 6002                Various                                                                                             $7.29
MICHAEL D HOLS                 105 LOUISE AVE                                                GLENWOOD          IA         51534                 6002                Various                                                                                             $6.82
MICHAEL D JOHNSON              43143 886TH RD                                                AINSWORTH         NE         69210                 6002                Various                                                                                             $6.49
MICHAEL D. CHRISTENSEN         5602 13TH AVE                                                 KENOSHA           WI         53140                 6002                Various                                                                                             $7.10
MICHAEL DAOUST                 5415-64TH AVENUE                                              KENOSHA           WI         53142                 6002                Various                                                                                             $0.27
MICHAEL DART                   2345 EASTMAN AVE.           APT.1                             GREEN BAY         WI         54302                 6004                Various                                                                                             $2.00




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                                                                                                                                                                                        Contingent


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                                                                                                                                                  Account         Incurred, Basis for
            Creditor Name              Address1             Address2          Address3            City         State           Zip   Country      Number                Claim                                                                             Total Claim

MICHAEL DEFENBAUGH           1011 N WEBSTER ST                                             PORT WASHINGTON    WI       53074                   6002               Various                                                                                                $4.79
MICHAEL DEFENDI              1530 IROQUOIS AVE                                             GRAFTON            WI       53024                   6002               Various                                                                                                $1.34
MICHAEL DEHNE                207 FAIRMONT ST                                               SALMON             ID       83467                   6002               Various                                                                                                $7.73
MICHAEL DENISON              2021 E CANYON RD                                              SPANISH FORK       UT       84660                   6002               Various                                                                                                $1.12
MICHAEL DEPREY               W11141 COUNTY ROAD X                                          CRIVITZ            WI       54114                   6002               Various                                                                                                $0.79
MICHAEL DILLMAN              3206 OLD MILL CIR                                             SALT LAKE CITY     UT       84121                   6004               Various                                                                                               $61.00
MICHAEL DOLLEN               101 S WALKER ST                                               ADAMS              WI       53910                   6002               Various                                                                                                $1.94
MICHAEL DOMBROWSKI           214 W ST APT 45                                               KALKASKA           MI       49646                   6002               Various                                                                                                $0.93
MICHAEL DONALDSON            N14277 LEHMANN RD                                             TREMPEALEAU        WI       54661                   6002               Various                                                                                                $9.18
MICHAEL DONOHUE              3219 PALMER DR                                                JANESVILLE         WI       53546                   6002               Various                                                                                                $6.90
MICHAEL DOUGLAS              1617 W SPRUCE ST                                              RAWLINS            WY       82301                   6002               Various                                                                                                $6.93
MICHAEL DULAK                1216 10TH AVE                                                 MENOMINEE          MI       49858                   6002               Various                                                                                               $10.00
MICHAEL DURY JR.             1151 UNIVERSITY AVE         LOWER                             GREEN BAY          WI       54302                   6004               Various                                                                                                $2.00
MICHAEL E BALL               423 BAILEY ST                                                 WAUPACA            WI       54981                   6002               Various                                                                                                $5.75
MICHAEL E BILLINGTON         2712 N HOWARD ST APT 405                                      COEUR D ALENE      ID       83815                   6002               Various                                                                                               $10.00
MICHAEL E CHAVEZ             1611 SYLVAN ST                                                GRAND ISLAND       NE       68801                   6002               Various                                                                                                $7.37
MICHAEL E GERBER             PO BOX 1773                                                   WORLAND            WY       82401                   6002               Various                                                                                                $0.93
MICHAEL E RIETVELD           2113 N NICHOLAS ST                                            APPLETON           WI       54914                   6002               Various                                                                                                $8.47
MICHAEL E. MCFARLAND         87 COUNTY ROAD 1000E                                          PESOTUM            IL       61863                   6002               Various                                                                                                $6.03
MICHAEL EASTMAN JR           PO BOX 622                                                    LAME DEER          MT       59043                   6004               Various                                                                                                $2.00
MICHAEL EATON                11759 S OAK MANOR DR                                          SANDY              UT       84092                   6002               Various                                                                                                $2.74
MICHAEL ECKSTEIN             320 BIRCH ST.                                                 OMRO               WI       54963                   6004               Various                                                                                                $3.00
MICHAEL EDWA SCHWARTZ        PO BOX 436                                                    NEW LONDON         WI       54961                   6002               Various                                                                                                $1.42

MICHAEL EDWARDS              720 N MONTGOMERY STREET                                       PORT WASHINGTON    WI       53074                   6002               Various                                                                                            $18.06
MICHAEL EDWIN                1100 FRENCH ST TRLR 92                                        PESHTIGO           WI       54157                   6002               Various                                                                                             $2.96
MICHAEL EHLY                 1312 GREEN DR                                                 GALLATIN           MO       64640                   6002               Various                                                                                             $6.58
MICHAEL ELLENZ               143 JEFFERSON ST W                                            WEST SALEM         WI       54669                   6002               Various                                                                                             $0.36
MICHAEL ERDMANN              5548 MURRAY ST. SE                                            SALEM              OR       97306                   6004               Various                                                                                            $11.00
MICHAEL ESTES                3578 INGERSOLL RD SW                                          FIFE LAKE          MI       49633                   6002               Various                                                                                             $2.60
MICHAEL EVERTS               PO BOX 40                                                     CUSICK             WA       99119                   6004               Various                                                                                            $25.00
MICHAEL FAHLSING             6291 WEST THOR WAY                                            WEST VALLEY CITY   UT       84128                   6004               Various                                                                                            $28.00
MICHAEL FARLEY               801 DUBUQUE                                                   SIOUX CITY         IA       51105                   6004               Various                                                                                             $7.49
MICHAEL FARMER               4045 CARSON DR SE                                             SALEM              OR       97301                   6004               Various                                                                                             $1.25
MICHAEL FEIOCK               5041 THOMPSON ROAD                                            HERMANTOWN         MN       55811                   6004               Various                                                                                             $3.00
MICHAEL FERRITER             4000 MULLAN RD APT. E123                                      MISSOULA           MT       59802                   6004               Various                                                                                            $77.00
MICHAEL FEY                  2128 LORITA WAY                                               SANDY              UT       84093                   6004               Various                                                                                            $15.79
MICHAEL FIELDS               1019 15TH ST N PRERELEASE                                     GREAT FALLS        MT       59401                   6002               Various                                                                                             $9.01
MICHAEL FISCHER              2421 GOODWIN ROAD                                             MANITOWOC          WI       54220                   6004               Various                                                                                             $5.00
MICHAEL FREEMAN              1349 E HALL SCHOOL RD                                         NORTH PLATTE       NE       69101                   6002               Various                                                                                             $4.99
MICHAEL FRENCH               12504 39TH AVENUE                                             PLEASANT PRAIRIE   WI       53158                   6004               Various                                                                                            $35.00
MICHAEL FRIERSON             8637 15TH AVENUE                                              KENOSHA            WI       53143                   6004               Various                                                                                            $10.00
MICHAEL FRIZE                220 MORNIGSIDE DR APT 2                                       FOND DU LAC        WI       54935                   6004               Various                                                                                            $61.00
MICHAEL FULLERTON            985 N BROADWAY APT 15                                         DE PERE            WI       54115                   6002               Various                                                                                             $0.38
MICHAEL G. LINSSEN           N8041 COOPER RD                                               ONEIDA             WI       54155                   6002               Various                                                                                             $8.38
MICHAEL GALETTO              1421 SILVER DR                                                HANCOCK            MI       49930                   6002               Various                                                                                             $3.48
MICHAEL GASPER               1134 C ST                                                     LINCOLN            NE       68502                   6002               Various                                                                                             $2.22
MICHAEL GAUGERT              W4888 COUNTY ROAD ME                                          WATERTOWN          WI       53098                   6004               Various                                                                                            $27.00
MICHAEL GEIER                109 HAZEL ST                                                  ROTHSCHILD         WI       54474                   6002               Various                                                                                             $6.55
MICHAEL GERALD LIMITED       12836 ALONDRA BOULEVARD                                       CERRITOS           CA       90703-0000              7739               Various                                                                                       $388,996.83
MICHAEL GIAMBALVO            1537 WOODSIDE DR                                              FREEPORT           IL       61032                   6004               Various                                                                                            $26.01
MICHAEL GILLIS               1109 WISCONSIN AVE                                            GLADSTONE          MI       49837                   6002               Various                                                                                             $0.82
MICHAEL GIORDANO             PO BOX 116                                                    DEFIANCE           IA       51527                   6002               Various                                                                                             $3.48




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MICHAEL GLEAVES              1216 N SKYRIDGE DR                                      AVOCA             IA           51521                 6002              Various                                                                                                $4.66

MICHAEL GODERSKY             388 THOMAS DRIVE                                        PORT WASHINGTON   WI           53074                   6002            Various                                                                                                $8.08
MICHAEL GOLDSTONE            1402 APPLEPORT RD                                       SISTER BAY        WI           54234                   6002            Various                                                                                                $2.99
MICHAEL GRAUPMAN             477 W MAX LOOP                                          COEUR D ALENE     ID           83815                   6002            Various                                                                                                $7.26
MICHAEL GRIMM                902 TOWER AVE                                           REEDSVILLE        WI           54230                   6004            Various                                                                                                $5.02
MICHAEL GROETKEN             5115 S MARION RD APT 306                                SIOUX FALLS       SD           57106                   6002            Various                                                                                                $1.73
MICHAEL GROSSMANN            921 E FRANKLIN ST                                       APPLETON          WI           54911                   6002            Various                                                                                                $2.96
MICHAEL GULLEY               714 W MAIN STREET                                       LYONS             KS           67554                   6002            Various                                                                                               $12.86
MICHAEL H HORGAN             #49                                                     LAMIRADA          CA           90638                   6002            Various                                                                                                $1.73
MICHAEL HALLOM               601 C JOHNSON                                           BELOIT            WI           53511                   6004            Various                                                                                                $1.00
MICHAEL HANSEN               3130 S 134TH ST                                         OMAHA             NE           68144                   6004            Various                                                                                                $9.00
MICHAEL HANSHEW              5893 ROSENDALE RD                                       EAST HELENA       MT           59635                   6002            Various                                                                                                $4.99
MICHAEL HANSON               1914 CROOKED AVE                                        HOLMEN            WI           54636                   6002            Various                                                                                                $2.27
MICHAEL HARPER               283 MEADOW CIRCLE                                       LOGAN             UT           84321                   6004            Various                                                                                               $15.00
MICHAEL HART                 401 MAIN ST                                             WAYNE             NE           68787                   6002            Various                                                                                                $4.08
MICHAEL HAYES                3609 OVERLAND RD                                        HELENA            MT           59602                   6004            Various                                                                                               $15.50
MICHAEL HEIDENREICH          N 3758 CTY J                                            MONROE            WI           53566                   6002            Various                                                                                                $8.90
MICHAEL HEIKKINEN            25392 OAK ST                                            CALUMET           MI           49913                   6002            Various                                                                                                $0.30
MICHAEL HERMES II            729 AIRPORT RD                                          MENASHA           WI           54952                   6004            Various                                                                                               $10.00
MICHAEL HILL                 PO BOX 2955                                             COEUR D'ALENE     ID           83814                   6002            Various                                                                                                $5.62
MICHAEL HILTUNEN             PO BOX 115                                              MOHAWK            MI           49950                   6002            Various                                                                                                $0.41
MICHAEL HOBBS                734 N DEMENT                                            DIXON             IL           61021                   6004            Various                                                                                               $15.00
MICHAEL HOEPPNER             PO BOX 166                                              SULLIVAN          WI           53178                   6004            Various                                                                                                $1.00
MICHAEL HOLLEY               2432 SAUK DR                                            JANESVILLE        WI           53545                   6004            Various                                                                                                $2.00
MICHAEL HOLMES               107 5TH ST W                                            VELVA             ND           58790                   6002            Various                                                                                                $3.34
MICHAEL HORKMAN              4208 WILLOW RD                                          GREEN BAY         WI           54311                   6004            Various                                                                                               $10.00
MICHAEL HORTON               RR 8 BOX 4538                                           DONIPHAN          MO           63935                   6002            Various                                                                                                $6.11
MICHAEL HUDAK                5919 S FIREGLOW                                         BOISE             ID           83709                   6004            Various                                                                                               $17.82
MICHAEL HUDSON               439 GARDEN CIR                                          ROCK FALLS        IL           61071                   6002            Various                                                                                                $7.18
MICHAEL HUNT                 323 SE ST                                               BROKEN BOW        NE           68822                   6002            Various                                                                                                $4.99
MICHAEL HUSTON               545 SW 65TH ST                                          JAMESPORT         MO           64648                   6002            Various                                                                                                $7.73
MICHAEL I JR SELVAGE         11KEOKE ST                                              SISSETON          SD           57262                   6002            Various                                                                                                $9.01
MICHAEL INGALLS              501 11TH AVE SE                                         ROCHESTER         MN           55904                   6002            Various                                                                                                $2.05
MICHAEL ISOM                 31599 WEST PARK RD #24                                  SUTHERLAND        NE           69165                   6004            Various                                                                                               $23.00
MICHAEL J FRANK              5142 HORSEHEAD LAKE RD                                  HARSHAW           WI           54529                   6002            Various                                                                                                $9.59
MICHAEL J HARRELL            4561 HADLEY PL                                          SNELLVILLE        GA           30039                   6002            Various                                                                                                $0.38
MICHAEL J MARVIN             7795 DUNDAS RD NW                                       ALDEN             MI           49612                   6002            Various                                                                                                $6.41
MICHAEL J PELLECHIA          N57W24680 NIGHTHAWK CT                                  SUSSEX            WI           53089                   6002            Various                                                                                                $5.97
MICHAEL J PETERS             3179 N HY W                                             SAUKVILLE         WI           53080                   6002            Various                                                                                                $0.33
MICHAEL J RUSSELL            656 N CTY RD # 1600                                     BASCO             IL           62313                   6002            Various                                                                                                $9.70
MICHAEL J ZANK               N3773 RIVER AVE                                         NEILLSVILLE       WI           54456                   6002            Various                                                                                                $5.34
MICHAEL J. KASPER            3933 REDWOOD DR                                         PULASKI           WI           54162                   6002            Various                                                                                                $3.26
MICHAEL JANSSEN              2059 RUSHWAY CIR                                        DE PERE           WI           54115                   6002            Various                                                                                                $9.34
MICHAEL JASTORFF             3212 HEMLOCK CT                                         SPEARFISH         SD           57783                   6002            Various                                                                                                $8.90
MICHAEL JELENIC              444 EDGEWOOD DR                                         GREEN BAY         WI           54302                   6002            Various                                                                                                $7.51
MICHAEL JENSEN               1205 E PARK ST                                          EAST HELENA       MT           59635                   6004            Various                                                                                               $10.64
MICHAEL JIM TORRES           952 HOMERUN ST                                          POCATELLO         ID           83202                   6002            Various                                                                                                $4.38
MICHAEL JOHANN               1716 MT PLEASANT ST                                     RACINE            WI           53404                   6002            Various                                                                                                $0.30
MICHAEL JOHNSON              605 FLAMINGO                                            SHELLEY           ID           83274                   6004            Various                                                                                               $11.49
MICHAEL JONES                231 TAM OSHANTER ROAD                                   BILLINGS          MT           59105                   6004            Various                                                                                               $25.00
MICHAEL JOSLIN               601 N GRAND AVE                                         DONIPHAN          MO           63935                   6002            Various                                                                                                $6.52
MICHAEL JR SCHANTEK          1346 95TH AVE                                           KENOSHA           WI           53144                   6004            Various                                                                                               $11.00
MICHAEL JUNEBY               13 MARTY S. DR                                          WAPATO            WA           98951                   6004            Various                                                                                               $20.04




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MICHAEL K HODGSON           N48W14560 HAMPTON AVE                                          MENOMONEE FALLS   WI       53051                   6002               Various                                                                                             $4.90
MICHAEL KAFKA               1311 PORTSIDE LN                                               GREEN BAY         WI       54313                   6002               Various                                                                                             $5.70
MICHAEL KEARNEY             824 E 11TH ST                                                  DULUTH            MN       55805                   6004               Various                                                                                            $30.00
MICHAEL KEPNER              UPDATE                                                         UPDATE            WI       54455                   6002               Various                                                                                             $8.71
MICHAEL KERR                325 S 475TH E                                                  OREM              UT       84097                   6002               Various                                                                                             $0.52
MICHAEL KERSHNER            908 EAST FIRST STREET                                          EMMETT            ID       83617                   6004               Various                                                                                             $1.00
MICHAEL KINZIGER            N2795 RUSTIC DR                                                CLINTONVILLE      WI       54929                   6002               Various                                                                                             $9.04
MICHAEL KIRBY               3151 TAYLOR AVE                                                OGDEN             UT       84403                   6002               Various                                                                                             $9.84
MICHAEL KLECZKA             7190 COUNTY ROAD A                                             LENA              WI       54139                   6002               Various                                                                                             $3.73
MICHAEL KOHL                210 GEERTSON CREEK ROAD                                        SALMON            ID       83467                   6002               Various                                                                                            $14.11
MICHAEL KOHLS               319 SUMMIT COURT                                               CHIPPEWA FALLS    WI       54729                   6002               Various                                                                                            $77.40
MICHAEL KONCZ               12 N IRON CRK RD                                               SALMON            ID       83467                   6002               Various                                                                                             $7.95
MICHAEL KOPECKY             1365 W HIAWATHA DR                                             APPLETON          WI       54914                   6002               Various                                                                                             $1.97
MICHAEL KRAMER              1304 PINEHURST RD                                              MARSHALL          MN       56258                   6002               Various                                                                                           $276.46
MICHAEL KRAUSE              1224 WIRTZ AVE                                                 GREEN BAY         WI       54304                   6002               Various                                                                                             $8.79
MICHAEL KRAYWINKEL          1630 N 2ND STREET                                              MANKATO           MN       56001                   6004               Various                                                                                            $67.32
MICHAEL KREBSBACH           3620 ANNEMARIE DR # 2                                          PLOVER            WI       54467                   6002               Various                                                                                             $6.79
MICHAEL KRUEGER             6827 STATE ROAD 19 #1                                          WAUNAKEE          WI       53597                   6004               Various                                                                                            $36.53
MICHAEL L BIGSBY            PO BOX 513                                                     CRAIGMONT         ID       83523                   6002               Various                                                                                            $10.00
MICHAEL L SMITH             13238 N 95TH E                                                 IDAHO FALLS       ID       83401                   6002               Various                                                                                             $6.71
MICHAEL L WINKELMAN         1008 S 9TH ST                                                  WATERTOWN         WI       53094                   6002               Various                                                                                             $7.56
MICHAEL LACOSSE             2022 N PETER LN                                                LITTLE CHUTE      WI       54140                   6002               Various                                                                                             $4.58
MICHAEL LAMERE              232 FRANKLIN STREET                                            STEVENS POINT     WI       54481                   6004               Various                                                                                            $34.00
MICHAEL LANG                6931 N RIVER RD             #16                                WEST BEND         WI       53090                   6004               Various                                                                                            $20.00
MICHAEL LANGE               627 SUNSET LN                                                  FOND DU LAC       WI       54935                   6002               Various                                                                                             $2.03
MICHAEL LANGIEWICZ          W14022 COUNTY LINE RD                                          LUBLIN            WI       54447                   6002               Various                                                                                             $8.68
MICHAEL LARSON              1610 LYNN DRIVE                                                WEST SALEM        WI       54669                   6004               Various                                                                                             $1.00
MICHAEL LAUFENBERG          N4760 STATE ROAD 22                                            WAUTOMA           WI       54982                   6002               Various                                                                                             $1.12
MICHAEL LEUCK               3948 V ST                                                      OMAHA             NE       68107                   6004               Various                                                                                            $20.00
                            N4719 RIDGE PRARIE SCHOOL
MICHAEL LEVINE              ROAD                                                           DELAVAN           WI       53115                   6004               Various                                                                                               $40.00
MICHAEL LINDSEY             3534 13TH ST C                                                 LEWISTON          ID       83501                   6002               Various                                                                                                $0.27
MICHAEL LIPP                525 N 3RD BOX # 66                                             GREYBULL          WY       82426                   6002               Various                                                                                                $6.52
MICHAEL LOOMIS              1020 JACOBI ST                                                 SCHOFIELD         WI       54476                   6004               Various                                                                                               $10.00
MICHAEL LOTZ                119 7TH AVE W                                                  SISSETON          SD       57262                   6002               Various                                                                                               $10.00
MICHAEL LOVANO              100 ROSELAWN BLVD                                              GREEN BAY         WI       54301                   6004               Various                                                                                               $25.00
MICHAEL LOVETT              8083 GREEN STREET                                              DIXON             IL       61021                   6004               Various                                                                                               $28.00
MICHAEL LOVETT JR           1955 DIANA CT                                                  DIXON             IL       61021                   6004               Various                                                                                               $39.00
MICHAEL LUSARDI             5490 W MICHAELS DR APT 4                                       APPLETON          WI       54913                   6002               Various                                                                                                $8.79
MICHAEL LYTLE               1122 WASHINGTON ST                                             BEATRICE          NE       68310                   6002               Various                                                                                                $4.77
MICHAEL MAAS                PO BOX 97                                                      DEXTER            MN       55926                   6002               Various                                                                                                $5.29
MICHAEL MACKEY              447 E MIDLAND ST                                               POPLAR BLUFF      MO       63901                   6002               Various                                                                                                $5.45
MICHAEL MAGNUSON            4810 AMBERWOOD LANE                                            APPLETON          WI       54913                   6004               Various                                                                                                $6.00
MICHAEL MAHONEY             155 COLTER LOOP DR                                             HELENA            MT       59602                   6002               Various                                                                                                $6.47
MICHAEL MANGUM              6240 SIDE HILL LN                                              IDAHO FALLS       ID       83401                   6002               Various                                                                                                $5.84
MICHAEL MARINO              46691 CONNECTOR ST                                             DODGEVILLE        MI       49921                   6002               Various                                                                                                $2.27
MICHAEL MARTIN              7705 SO. 4015 E.                                               MIDVALE           UT       84047                   6004               Various                                                                                               $27.00
MICHAEL MARTINEZ            1611 N. 4TH STREET                                             YAKIMA            WA       98901                   6004               Various                                                                                               $11.09
MICHAEL MASSEY              3185 RENAISSANCE LN                                            GREEN BAY         WI       54313                   6004               Various                                                                                               $34.00
MICHAEL MATHEWS             303 NORTH HWY 86                                               LAKEFIELD         MN       56150                   6004               Various                                                                                               $21.59
MICHAEL MATHSON             2046 CRECIENTE DR                                              MOSINEE           WI       54455                   6004               Various                                                                                               $19.98
MICHAEL MCCLENAHAN          421 N FRONT ST                                                 DOWAGIAC          MI       49047                   6002               Various                                                                                                $6.38
MICHAEL MCDEVITT            343 DAHLIA LANE                                                ALTOONA           WI       54720                   6004               Various                                                                                                $2.00




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                                                                        Schedule E/F: Part 2 - Creditors With Nonpriority Unsecured Claims




                                                                                                                                                                                                                                  Claim subject to offset?
                                                                                                                                                                                                        Unliquidated
                                                                                                                                                                                           Contingent


                                                                                                                                                                                                                       Disputed
                                                                                                                                                  Last 4 Digits of     Date Debt was
                                                                                                                                                     Account         Incurred, Basis for
             Creditor Name                Address1            Address2          Address3              City         State           Zip   Country     Number                Claim                                                                             Total Claim
MICHAEL MCGHEE                9341 ASBURY DR                                                 ALMOND             WI         54909                 6002                Various                                                                                                $8.63
MICHAEL MENAPACE              622 W WATER ST APT 4                                           HANCOCK            MI         49930                 6002                Various                                                                                                $7.73
MICHAEL MESSINGER             3375 VIRGINIA HILL RD                                          REXFORD            MT         59930                 6004                Various                                                                                               $20.00
MICHAEL MEYER                 3176 PARKHILL DR.                                              BILLINGS           MT         59102                 6004                Various                                                                                                $2.50
MICHAEL MIER                  12802 S 33RD ST                                                BELLEVUE           NE         68123                 6002                Various                                                                                                $8.49
MICHAEL MILLER                W6841 CTY RD S                                                 SHIOCTON           WI         54170                 6002                Various                                                                                                $3.48
MICHAEL MILLIKIN              N73W30333 POLO CT S                                            HARTLAND           WI         53029                 6002                Various                                                                                                $7.86
MICHAEL MINER                 135 LLANOS ST                                                  VERONA             WI         53593                 6004                Various                                                                                                $3.00
MICHAEL MITTLESTAEDT          112 1 2 SOUTH ST                                               JANESVILLE         MN         56048                 6002                Various                                                                                                $2.44
MICHAEL MIX                   810 13TH AVE SE                                                AUSTIN             MN         55912                 6004                Various                                                                                                $3.00
MICHAEL MOHR                  3805 MOUNT VIEW AVE         APT 16                             WESTON             WI         54476                 6004                Various                                                                                               $32.75
MICHAEL MONPAS                4100 125TH ST                                                  CHIPPEWA FALLS     WI         54729                 6002                Various                                                                                                $7.15
MICHAEL MONTGOMERY            1938 SOUTH CRESSIDA PLACE                                      BOISE              ID         83709                 6004                Various                                                                                               $10.02
MICHAEL MOORE                 725 PORTLAND AVE                                               BELOIT             WI         53511                 6002                Various                                                                                                $2.33
MICHAEL MORRISON              18842 EDNA STREET                                              OMAHA              NE         68136                 6004                Various                                                                                               $23.00
MICHAEL MORTONSON             1610A HARRISON STREET                                          WEST BEND          WI         53090                 6004                Various                                                                                                $2.05
MICHAEL MURPHY                2990 NARROWS RD                                                PERRY              OH         44081                 6002                Various                                                                                                $3.29
MICHAEL MURRAY                2393 BADGER ST                                                 MARQUETTE          MI         49855                 6002                Various                                                                                               $13.32
MICHAEL MUSIAL                1317 SO. 22ND ST                                               MANITOWOC          WI         54220                 6004                Various                                                                                               $99.99
MICHAEL NELSON                301 S DAKOTA ST.                                               ABERDEEN           SD         57401                 6004                Various                                                                                               $28.00
MICHAEL NEUBAUER              1005 HENNES CT                                                 KAUKAUNA           WI         54130                 6002                Various                                                                                                $9.40
MICHAEL NIEBUHR               56193 165TH ST                                                 WELLS              MN         56097                 6004                Various                                                                                                $1.31
MICHAEL NIELSEN               3040 W HIAWATHA DR                                             APPLETON           WI         54914                 6002                Various                                                                                                $8.52
MICHAEL NOLLENBERG            6434 FIRST ST                                                  PLOVER             WI         54467                 6002                Various                                                                                                $3.42

MICHAEL NORMAN                161 1/2 15TH AVE. SO.                                          WISCONSIN RAPIDS   WI         54495                  6004               Various                                                                                               $18.00
MICHAEL NOWICKI               1458 HIGHWAY # C                                               GRAFTON            WI         53024                  6002               Various                                                                                                $5.23
MICHAEL NUCKOLLS              207 HEVRON RD                                                  POWER              MT         59468                  6004               Various                                                                                               $43.00
MICHAEL O'BRIEN               305 N STATE ST                                                 MERRILL            WI         54452                  6004               Various                                                                                                $9.40
MICHAEL OMEARA                2231 LINCOLN RD                                                BELLEVUE           NE         68005                  6004               Various                                                                                                $2.00
MICHAEL ONDRESKY              4792 CAMP NOKOMIS RD                                           MERCER             WI         54547                  6002               Various                                                                                                $0.88
MICHAEL ORTIZ                 1122 N 6TH ST                                                  MONMOUTH           IL         61462                  6002               Various                                                                                               $38.95
MICHAEL P. FELDHAUS           251 W 2ND ST                                                   RAMONA             SD         57054                  6002               Various                                                                                                $8.68
MICHAEL PALS                  529 N BRICK AVE                                                FREEPORT           IL         61032                  6002               Various                                                                                                $7.86

MICHAEL PATTERSON             107 MEADOWLARK LANE POB 36                                     GROVER             WY         83122                  6002               Various                                                                                                $2.08
MICHAEL PAULSON               PO BOX 10402                                                   GREEN BAY          WI         54307                  6002               Various                                                                                                $7.75
MICHAEL PAVLOSKI              56448 LAURIUM ST                                               CALUMET            MI         49913                  6002               Various                                                                                                $1.97
MICHAEL PEREZ                 1421 S 28TH AVE                                                YAKIMA             WA         98902                  6004               Various                                                                                               $18.00
MICHAEL PETE WOODFIN          W6875 HUMMOCK DR                                               GREENVILLE         WI         54942                  6002               Various                                                                                                $5.59
MICHAEL PETERSON              355 E 12TH ST APT 8                                            GARNER             IA         50438                  6002               Various                                                                                                $7.64
MICHAEL PETROSKE              7729 385TH ST                                                  NORTH BRANCH       MN         55056                  6002               Various                                                                                                $3.29
MICHAEL PEYROT                905 MAIN ST                                                    PLATTSMOUTH        NE         68048                  6002               Various                                                                                                $2.68
MICHAEL PHIL VANDYKE          35 E MAIN ST                                                   FREMONT            MI         49412                  6002               Various                                                                                                $0.99
MICHAEL PHIPPARD              411A E WISCONSIN ST                                            WEYAUWEGA          WI         54983                  6002               Various                                                                                                $3.73
MICHAEL PICCIRILLI            2798 120TH ST                                                  WOODBINE           IA         51579                  6002               Various                                                                                                $7.73
MICHAEL PIURKOWSKI            135 8TH ST APT 10                                              LA CROSSE          WI         54603                  6002               Various                                                                                                $2.89
MICHAEL PLANASCH              N7035 HWY 26                                                   JUNEAU             WI         53039                  6004               Various                                                                                               $15.00
MICHAEL PLATZ                 307 LAVERNE DR.            #3                                  GREEN BAY          WI         54311                  6004               Various                                                                                               $41.30
MICHAEL PODOLAK               921 MAINS ST                                                   STEVENS POINT      WI         54481                  6002               Various                                                                                                $1.53
MICHAEL POLLARD               157 N 300 W                                                    PROVO              UT         84601                  6004               Various                                                                                               $10.96
MICHAEL POSTLEWAIT            412 CERES HILL RD                                              CHEHALIS           WA         98532                  6004               Various                                                                                               $22.50
MICHAEL POTTER                520 W ATLANTIC ST                                              APPLETON           WI         54911                  6002               Various                                                                                               $13.07
MICHAEL PRATT                 1122 SE 2ND STREET                                             EAST WENATCHEE     WA         98802                  6004               Various                                                                                               $20.50




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             Creditor Name                Address1                Address2         Address3              City      State           Zip   Country     Number                Claim                                                                             Total Claim
MICHAEL PRESS                 118 PEARL STREET                                                  SHARON          WI         53585                 6004                Various                                                                                               $45.00
MICHAEL QUIGLEY               3730 16TH ST                                                      LEWISTON        ID         83501                 6002                Various                                                                                                $1.42
MICHAEL R HAMMER              2714 FOX CT                                                       NAMPA           ID         83687                 6002                Various                                                                                                $9.23
MICHAEL R LANG                242 TIMBLIN DR APT 6                                              KEWASKUM        WI         53040                 6002                Various                                                                                                $4.82
MICHAEL R WILDER              RR 8 BOX 9040                                                     DONIPHAN        MO         63935                 6002                Various                                                                                                $8.16
MICHAEL RABIDEAU              2486 N HARBOR DR APT N-5                                          BAY CITY        MI         48706                 6002                Various                                                                                                $6.93
MICHAEL RAMSEY                4411 TRINITY DR                                                   WEST VALLEY     UT         84120                 6004                Various                                                                                                $2.53
MICHAEL RASTELLO              528 TAMARACK ST                                                   CALUMET         MI         49913                 6002                Various                                                                                                $6.63
MICHAEL RAULUSONIS            631 1/2 S 6TH AVE                                                 WAUSAU          WI         54401                 6002                Various                                                                                                $2.99
MICHAEL RAUSCH                W6021 NETTIE DR                                                   APPLETON        WI         54915                 6002                Various                                                                                                $9.97
MICHAEL RAY TURNER            N542 THELOSEN DR                                                  APPLETON        WI         54915                 6002                Various                                                                                                $0.77
MICHAEL RHODS                 58375 861ST RD                                                    WAKEFIELD       NE         68784                 6002                Various                                                                                                $4.33
MICHAEL RHYNER                200 ELM STREET                                                    DELAVAN         WI         53115                 6004                Various                                                                                               $10.00
MICHAEL RICE                  503 FRANKLIN ST                                                   KEWAUNEE        WI         54216                 6002                Various                                                                                                $6.00
MICHAEL RIEDL                 2119 WYNNWOOD DR                                                  BELVIDERE       IL         61008                 6002                Various                                                                                                $0.88
MICHAEL RIES                  944 3RD AVENUE                                                    GRAFTON         WI         53024                 6004                Various                                                                                                $8.00
MICHAEL RIFE                  PO BOX 191                                                        ASHBY           NE         69333                 6002                Various                                                                                                $1.92
MICHAEL ROBIDOUX              822 W CEDAR ST                                                    RAWLINS         WY         82301                 6002                Various                                                                                                $1.42
MICHAEL ROBINSON              900 E SATURNINO RD #211                                           PALM SPRINGS    CA         92262                 6004                Various                                                                                               $40.15
MICHAEL ROCQUE                1360 CORMIER RD                                                   GREEN BAY       WI         54313                 6002                Various                                                                                                $8.08
MICHAEL ROHERTY               1468 RIVERSIDE DR                                                 SUAMICO         WI         54173                 6002                Various                                                                                                $4.05
MICHAEL ROSS                  4718 KAPPUS DR APT #3                                             EAU CLAIRE      WI         54701                 6004                Various                                                                                                $1.00
MICHAEL RUCH                  314 RIDGE STREET                                                  DAWSON          NE         68337                 6002                Various                                                                                                $8.24
MICHAEL RUDE                  1405 COLLEGE AVE                                                  RACINE          WI         53403                 6002                Various                                                                                                $1.42
MICHAEL RUHL                  6627 COUNTRY CLUB RD.                                             OSHKOSH         WI         54902                 6004                Various                                                                                               $25.00
MICHAEL RUPPERT               256 N 10TH AVE                                                    WEST BEND       WI         53095                 6002                Various                                                                                                $4.60
MICHAEL RUSSELL               542 W 8TH ST                                                      WINNER          SD         57580                 6002                Various                                                                                               $12.08
MICHAEL RUTHKOWSKI            N3119 NORWEGIN RD                                                 MERRILL         WI         54452                 6004                Various                                                                                               $25.00
                                                              1901 LOMA LINDA
MICHAEL RYAN                  P O BOX 1403                    DR #58                            MITCHELL        SD         57301                  6004               Various                                                                                            $42.88
MICHAEL S JOHNSON             955 SO ST # 37TH                                                  MANITOWOC       WI         54220                  6002               Various                                                                                             $6.93
MICHAEL S PAYNE               HC 4 BOX 112AFF                                                   DONIPHAN        MO         63935                  6002               Various                                                                                             $6.33
MICHAEL SAMANIEGO             615 WHITTMAN ST                                                   BELVIDERE       IL         61008                  6002               Various                                                                                             $2.58
MICHAEL SARGENT               801 FISCHER LAKE PRKWY                                            NIAGARA         WI         54151                  6002               Various                                                                                             $8.77
MICHAEL SCHLEIS               1020 6TH ST                                                       MENOMINEE       MI         49858                  6002               Various                                                                                             $0.88
MICHAEL SCHMIEDER             2-279 FOOTHILLS LN                                                LANARK          IL         61046                  6002               Various                                                                                             $6.82
MICHAEL SCHMITT               1509 FREEMONT AVE                                                 MADISON         WI         53704                  6004               Various                                                                                            $10.00
MICHAEL SCHRUMP               210 N MICHIGAN AVE                                                SHELBY          MI         49455                  6002               Various                                                                                             $9.07
MICHAEL SEELEY                6772 SUNSET MEADOW DR                                             WINDSOR         WI         53598                  6004               Various                                                                                             $7.93
MICHAEL SEYS                  525 GARFIELD AVE                                                  MANKATO         MN         56003                  6004               Various                                                                                             $3.00
MICHAEL SHANER                7570 LLOYD DR                                                     CHERRY VALLEY   IL         61016                  6002               Various                                                                                             $4.41
MICHAEL SHOOP                 1642 WALTERS DR                                                   GRAFTON         WI         53024                  6002               Various                                                                                             $5.84
MICHAEL SIEGLER               3136 CRAIG ROAD                                                   EAU CLAIRE      WI         54701                  6004               Various                                                                                             $1.00
MICHAEL SKILLESTAD            4808 S 60TH ST                                                    OMAHA           NE         68117                  6004               Various                                                                                            $51.00
MICHAEL SLAGOWSKI             1330 PRIMROSE LANE                                                FOND DU LAC     WI         54935                  6004               Various                                                                                             $5.02
MICHAEL SLATTERY              6980 HILLCREST AVE                                                RUDOLPH         MT         54475                  6004               Various                                                                                           $108.00
MICHAEL SMITH                 2222 E. ISAACS AVE. APT. C104                                     WALLA WALLA     WA         99362                  6004               Various                                                                                            $15.00
MICHAEL SNEDEKER              3030 WABASH                                                       SPRINGFIELD     IL         62704                  6002               Various                                                                                             $7.56
MICHAEL SORENSON              3803 SPENCER ST                                                   OMAHA           NE         68111                  6002               Various                                                                                             $8.30
MICHAEL SPAULDING             121 HAPPY VALLEY LAN                                              AFTON           WY         83110                  6002               Various                                                                                             $7.73
MICHAEL SPEARS                205 STILLWATER DR                                                 IDAHO FALLS     ID         83404                  6002               Various                                                                                             $2.93
MICHAEL SPITTLER              315 PARK AVE                                                      PEWAUKEE        WI         53072                  6004               Various                                                                                             $5.01
MICHAEL SPRATT                4645 BRANDY WOOD DR                                               WEST VALLEY     UT         84120                  6004               Various                                                                                            $25.50
MICHAEL STAMPER               225 ADAMS ST                                                      LANDER          WY         82520                  6002               Various                                                                                             $8.44




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             Creditor Name                Address1             Address2          Address3             City         State           Zip   Country     Number                Claim                                                                             Total Claim
MICHAEL STEDL                 352 OAK TREE CT                                                 GREEN BAY         WI         54313                 6002                Various                                                                                                $3.10
MICHAEL STEFONEK              4870 LITTLE PINE ACRES                                          RHINELANDER       WI         54501                 6002                Various                                                                                                $0.79
MICHAEL STEPHENS              701 W BUTTE LN                                                  ALZADA            MT         59311                 6002                Various                                                                                                $2.55
MICHAEL STEVENS               545 FREMONT ST                                                  THERMOPOLIS       WY         82443                 6002                Various                                                                                                $4.47
MICHAEL STINSON               1682 RAINBOW ST                                                 MORA              MN         55051                 6002                Various                                                                                                $6.41
MICHAEL STUFFLEBEAN           1413 E GALLATIN ST TRLR 7                                       LIVINGSTON        MT         59047                 6002                Various                                                                                                $9.64
MICHAEL SUBERLA               2814 HIGHWAY Z                                                  ADAMS             WI         53910                 6002                Various                                                                                                $4.49
MICHAEL SUBRT                 407 W EAU CLAIRE ST                                             RICE LAKE         WI         54868                 6004                Various                                                                                               $39.98
MICHAEL SULLIVAN              1012 RALEIGH COURT                                              GREEN BAY         WI         54304                 6004                Various                                                                                               $14.50
MICHAEL SUNDT                 1017 BURLINGTON AVE APT #2                                      WORTHINGTON       MN         56187                 6004                Various                                                                                                $2.85
MICHAEL SYLVESTER             7215 J ROAD                                                     ESCANABA          MI         49829                 6004                Various                                                                                                $3.00
MICHAEL T SPRIGGS             950 SPRIGGS DR                                                  LANDER            WY         82520                 6002                Various                                                                                                $1.32
MICHAEL TAKASH                2972 CEDARVILLE DR APT 4                                        MARQUETTE         MI         49855                 6002                Various                                                                                                $4.47
MICHAEL TAMTE                 18704 CO RD # 22                                                GLENWOOD          MN         56334                 6002                Various                                                                                                $1.26
MICHAEL TARCHA                1621 E ROAD 5                                                   EDGERTON          WI         53534                 6004                Various                                                                                               $90.50
MICHAEL THEISEN               308 N MEADOW ST                                                 OSMOND            NE         68765                 6002                Various                                                                                                $0.47
MICHAEL THOMAS                PO BOX 154                                                      BABCOCK           WI         54413                 6002                Various                                                                                                $1.18
MICHAEL THOMPSON              2315 BARBEAU DR                                                 TRAVERSE CITY     MI         49696                 6002                Various                                                                                                $0.36
MICHAEL THURSTON              212 E. FORREST ST                                               OCONOMOWOC        WI         53066                 6004                Various                                                                                               $21.58
MICHAEL TRACY                 7 CHAFFIN LN                                                    SALMON            ID         83467                 6002                Various                                                                                                $8.49
MICHAEL TUKUA                 540 27TH ST NW                                                  ROCHESTER         MN         55901                 6002                Various                                                                                                $5.62
MICHAEL TUOMINEN              1716 VANEVERA                                                   MARQUETTE         MI         49855                 6002                Various                                                                                                $5.75
MICHAEL TURO                  723 E LINDEN AVE UNIT 303                                       COEUR D ALENE     ID         83814                 6002                Various                                                                                               $10.00
MICHAEL VALENTIN              980 SPRIGGS DR                                                  LANDER            WY         82520                 6002                Various                                                                                                $4.44
MICHAEL VALLADARES SILVA      2631 HUMBOLDT RD             APT 5                              GREEN BAY         WI         54311                 6004                Various                                                                                               $75.00
MICHAEL VALLERY               38 STATE RD                                                     NEWAYGO           MI         49337                 6002                Various                                                                                                $3.61
MICHAEL VANDER MEULEN         N 5134 PLIER RD                                                 KRAKOW            WI         54137                 6004                Various                                                                                                $1.02
MICHAEL VANDERVORT            2119 SOUTHWOOD PLACE                                            LINCOLN           NE         68512                 6004                Various                                                                                               $20.00
MICHAEL VAUGHN                532 NW PORTLAND AVE                                             BEND              OR         97701                 6004                Various                                                                                               $30.00
MICHAEL VEU                   8781 OAKWOOD AVE                                                NEENAH            WI         54956                 6004                Various                                                                                               $40.00
MICHAEL VITALE                1137 CAMELBACKL CT NE                                           ROCHESTER         MN         55906                 6004                Various                                                                                                $3.00
MICHAEL W ROUILLARD           748 MAIN ST APT 32                                              STURGIS           SD         57785                 6002                Various                                                                                                $1.56
MICHAEL WAGNER                142 DELLWOOD LANE                                               NEKOOSA           WI         54457                 6004                Various                                                                                               $16.00
MICHAEL WARD                  6903 WESTON RIDGE DR.        APT 7                              WESTON            WI         54476                 6004                Various                                                                                               $23.00
                                                           OAKWOOD GROUP
MICHAEL WASURICK              1220 8TH STREET              HOME                               MANITOWOC         WI         54220                   6004              Various                                                                                                $2.00
MICHAEL WATUNYA               2315 SUNRISE DR                                                 LA CROSSE         WI         54601                   6002              Various                                                                                                $0.30
MICHAEL WEBER                 334 O'FALLON CT                                                 WEST SALEM        WI         54669                   6004              Various                                                                                               $18.82

MICHAEL WEGNER                425 W WALTERS ST                                                PORT WASHINGTON   WI         53074                  6002               Various                                                                                             $2.52
MICHAEL WEISZ                 540 BARNETT BOX # 23                                            DILLON            MT         59725                  6002               Various                                                                                             $9.40
MICHAEL WELLS                 912 W NORTH ST                                                  MARSHFIELD        WI         54449                  6002               Various                                                                                             $1.37
MICHAEL WERTISH               2230 LIBERTY GLEN LOOP                                          SAINT CLOUD       MN         56304                  6002               Various                                                                                             $0.60
MICHAEL WEST                  219 4TH ST                                                      FOND DU LAC       WI         54935                  6004               Various                                                                                           $107.02
MICHAEL WETHERHOLT            928 LINDA LANE                                                  WORTHINGTON       MN         56187                  6004               Various                                                                                             $3.00
MICHAEL WHITE                 1821 BABCOCK STREET          APT #1                             EAU CLAIRE        WI         54703                  6004               Various                                                                                             $3.00
MICHAEL WIESE                 1480 DEERWOOD DR.                                               NEENAH            WI         54956                  6004               Various                                                                                             $2.00
MICHAEL WILDE                 1120 NELLY ST                                                   STURGIS           SD         57785                  6002               Various                                                                                             $5.95
MICHAEL WILL MARX             49195 873RD RD                                                  ONEILL            NE         68763                  6002               Various                                                                                             $3.73
MICHAEL WILLIAMS              2031 KOSTAL CT                                                  LINCOLN           NE         68522                  6004               Various                                                                                            $22.12
MICHAEL WINNEKENS             3701 MACARTHUR DR.                                              MANITOWOC         WI         54220                  6004               Various                                                                                             $4.00
MICHAEL WIXOM                 2620 ELIZABETH ST                                               JANESVILLE        WI         53548                  6004               Various                                                                                             $2.00
MICHAEL WIXON                 4701 ST. JAMES DR.                                              SIOUX FALLS       SD         57106                  6004               Various                                                                                            $25.00
MICHAEL WOCHINSKI             1500 KENNETH AVE                                                KAUKAUNA          WI         54130                  6002               Various                                                                                             $3.70




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MICHAEL WYLLIE                    3895 CANFIELD                                                BOISE             ID           83706                 6004                Various                                                                                               $20.00
MICHAEL WYNN                      856 SOUTH 2400 WEST                                          ABERDEEN          ID           83210                 6004                Various                                                                                               $10.00
MICHAEL YOUNG                     307 N MONROE                                                 MASON CITY        IA           50401                 6002                Various                                                                                                $1.00
MICHAEL ZAHARES                   1817 CARVER ST                                               MADISON           WI           53713                 6004                Various                                                                                               $30.00
MICHAEL ZIEGENBEIN                402 E WILSON AVE                                             APPLETON          WI           54915                 6004                Various                                                                                               $10.00

MICHAEL ZOLLO                     920 W CAPITOL AVE                                            WEST SACRAMENTO   CA           95691                  6002               Various                                                                                             $8.90
MICHAEL ZYWICKI                   6102 ROGAN LN                                                SCHOFIELD         WI           54476                  6004               Various                                                                                            $34.02
MICHAELA BLUME                    303 NORTH 2ND STREET                                         DORCHESTER        WI           54425                  6004               Various                                                                                            $12.39
MICHAELA DAVIS                    1136 PINE ST                                                 SCHOFIELD         WI           54476                  6004               Various                                                                                            $33.80
MICHAELA DAY KELLY                6121 SPRAGUE ST                                              OMAHA             NE           68104                  6002               Various                                                                                             $5.84
MICHAELA DOLPHIN                  558 SO 34TH STREET                                           OMAHA             NE           68105                  6004               Various                                                                                           $250.96
MICHAELA EBERHARDT                3106 WARM SPRINGS DR                                         GREEN BAY         WI           54311                  6004               Various                                                                                            $12.00
MICHAELA GETSCHMAN                245 MINNESOTA                                                MISSOULA          MT           59802                  6004               Various                                                                                            $25.12
MICHAELA GOEDEKE                  42109 HIGHWAY 91                                             DUNNING           NE           68833                  6002               Various                                                                                             $4.19
MICHAELA HAGENOW                  4433 COUNTY RD, JJ                                           GREEN BAY         WI           54311                  6004               Various                                                                                             $9.41
MICHAELA HAMILTON                 38637 OAKVIEW AVE                                            NORTH BRANCH      MN           55056                  6004               Various                                                                                             $3.00
MICHAELA LECLAIRE                 PO BOX 104                                                   CLYMAN            WI           53016                  6004               Various                                                                                            $35.70
MICHAELA OTUBUSHIN                41349 FROST AVE                                              NORTH BRANCH      MN           55056                  6002               Various                                                                                             $1.89
MICHAELA RHEINECK                 3425 WILSON AVE          #39                                 PLOVER            WI           54467                  6004               Various                                                                                            $44.98
MICHAELA RISKE                    7624 COUNTY ROAD C                                           MANITOWOC         WI           54220                  6004               Various                                                                                            $35.00
MICHAELA SCALLORN                 5029 SO 93RD ST                                              OMAHA             NE           68105                  6004               Various                                                                                             $4.00
MICHAELA SCHULTZ                  971 PLUM RD                                                  RUDOLPH           WI           54475                  6004               Various                                                                                            $20.98
MICHAELA VASSAR                   2419 COPPLETON AVE                                           OMAHA             NE           68105                  6002               Various                                                                                             $7.73
MICHAELA WILSON                   3401 FREY CT             LOT 29                              MARSHFIELD        WI           54449                  6004               Various                                                                                             $1.00
MICHAELA WILZ                     301 AMSTERDAM CT                                             KIMBERLY          WI           54136                  6004               Various                                                                                             $1.00
MICHAELA ZAMBRANO                 1928 SOUTH 15TH STREET                                       OMAHA             NE           68108                  6004               Various                                                                                            $80.00
MICHAEL-ANN BOBADILLA-MANZINES    820 S LINCOLN AVE        APT 107                             BEAVER DAM        WI           53916                  6004               Various                                                                                             $2.00
MICHAELEEN BENJAMIN               2908 PIERCE                                                  SIOUX CITY        IA           51104                  6004               Various                                                                                           $320.00
MICHALA STULL                     2278 S TOWNLINE RD                                           GREENFIELD        IA           50849                  6002               Various                                                                                             $8.36
MICHALINA SMYTHE                  30384 278TH ST                                               WINNER            SD           57580                  6002               Various                                                                                             $3.64
MICHEAL BLAIR                     180 FIELD STREAM LN                                          IDAHO FALLS       ID           83404                  6002               Various                                                                                             $3.12
MICHEAL D PHILLIPS                1314 E SHERMAN AVE                                           COEUR D ALENE     ID           83814                  6002               Various                                                                                             $1.23
MICHEAL KOLTES                    5003 SOUTH 162ND AVE                                         OMAHA             NE           68135                  6004               Various                                                                                            $14.00
MICHEAL LUND                      10800 WOODSTOCK RD                                           GARDEN PRAIRIE    IL           61038                  6004               Various                                                                                             $5.00
MICHEAL MARZULLO                  1803 W ROSELAWN DR                                           APPLETON          WI           54914                  6004               Various                                                                                            $10.00
MICHEAL SHERRILL                  PO BOX 2223                                                  OROFINO           ID           83544                  6002               Various                                                                                             $1.21
MICHEAL WELSTEAD                  1406 JAMES STREET                                            PLATTSMOUTH       NE           68048                  6004               Various                                                                                            $53.00
MICHEALA OELLRICH                 416 CEMETERY RD                                              RIVER FALLS       WI           54022                  6004               Various                                                                                             $1.00
MICHELA PRICE                     1305 SO.98TH ST                                              OMAHA             NE           68124                  6004               Various                                                                                             $2.00
MICHELE ARTHUR                    6339 FRANK STREET                                            SPRINGFIELD       OR           97478                  6004               Various                                                                                             $9.00
MICHELE CHRONINGER                1011 E RACINE ST                                             JANESVILLE        WI           53545                  6004               Various                                                                                             $2.00
MICHELE D LONGSINE                1213 13TH ST                                                 AUBURN            NE           68305                  6002               Various                                                                                             $0.66
MICHELE DAVID                     6128 6TH AVE                                                 RUDOLPH           WI           54475                  6002               Various                                                                                             $6.55
MICHELE DEGRAW                    185 S EMERSON AVE                                            IDAHO FALLS       ID           83401                  6002               Various                                                                                             $6.55
MICHELE DULIN                     803 WASHINGTON ST                                            GOTHENBURG        NE           69138                  6002               Various                                                                                             $3.32
MICHELE ERTL                      34 S CLARK ST                                                MAYVILLE          WI           53050                  6002               Various                                                                                             $7.01
MICHELE FLATEN                    390 AMORETTI ST                                              LANDER            WY           82520                  6002               Various                                                                                             $8.85
MICHELE HABERMAN                  1534 ROYAL OAKS DR                                           JANESVILLE        WI           53548                  6004               Various                                                                                            $10.02
MICHELE HAUPTMAN                  4201 S 40TH AVE                                              OMAHA             NE           68107                  6004               Various                                                                                             $4.00
MICHELE HEINDEL                   606 GROVE STREET                                             PECATONICA        IL           61063                  6004               Various                                                                                            $48.64
MICHELE HODGE                     759 JIMMY CARTER PL                                          WINONA            MN           55987                  6002               Various                                                                                             $0.77
MICHELE LEMPER                    4902 BIRCH ST                                                SCHOFIELD         WI           54476                  6002               Various                                                                                             $2.77
MICHELE LOCKHART                  9371 N BUCKINGHAM DR                                         BYRON             IL           61010                  6002               Various                                                                                             $2.74




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                                                                                                                                                                                                                                 Claim subject to offset?
                                                                                                                                                                                                       Unliquidated
                                                                                                                                                                                          Contingent


                                                                                                                                                                                                                      Disputed
                                                                                                                                                   Last 4 Digits of   Date Debt was
                                                                                                                                                      Account       Incurred, Basis for
            Creditor Name                Address1               Address2           Address3           City          State           Zip   Country     Number              Claim                                                                             Total Claim
MICHELE REDFORD              1074 S 890 E                                                       OREM             UT         84097                 6004              Various                                                                                                $6.00
MICHELE RUDOLPH              1038 STEAD DR                                                      MENASHA          WI         54952                 6004              Various                                                                                               $22.95
MICHELE SCHNEIDER            602 16TH ST                                                        WHEATLAND        WY         82201                 6002              Various                                                                                                $4.82

MICHELE SCHONS               10512 W CORTEZ CIRCLE APT 21                                       FRANKLIN         WI         53132                   6002            Various                                                                                                $6.68
MICHELE SCHUMACHER           60 JACOB AVE                                                       OSHKOSH          WI         54902                   6002            Various                                                                                                $9.04
MICHELE STEWART              327 N OAK ST                                                       DODGE            NE         68633                   6002            Various                                                                                                $7.70
MICHELE VANSICKLEN-BERG      208 E 7TH ST                                                       CLARE            MI         48617                   6002            Various                                                                                                $0.41
MICHELE WEST                 114 5TH AVE NW                                                     ABERDEEN         SD         57401                   6002            Various                                                                                                $6.52
MICHELE WHEELOCK             E1120 PLEASANT PARK LN                                             WAUPACA          WI         54981                   6002            Various                                                                                                $1.59
MICHELE WHITFORD             PO BOX 72                                                          WALMSUTTER       WY         82326                   6002            Various                                                                                                $6.00
MICHELE ZIEBARTH             2305 S BALDWIN ST                                                  STURGIS          SD         57785                   6002            Various                                                                                                $8.22
MICHELENE SPRINGER           3028 MARCY ST                                                      OMAHA            NE         68108                   6004            Various                                                                                               $60.00
MICHELIA DESOYZA             559 SUNSET DR                                                      LANCASTER        WI         53813                   6002            Various                                                                                                $8.03
MICHELINE A PAKANICH         4923 LADE BEACH RD                                                 LITTLE SUAMICO   WI         54141                   6002            Various                                                                                                $7.29
MICHELLE (JO MOORE           3000 VILLARD AVE TRLR 86                                           HELENA           MT         59601                   6002            Various                                                                                                $1.97
MICHELLE (SH MOORMAN         511 N LINN AVE                                                     NEW HAMPTON      IA         50659                   6002            Various                                                                                                $2.60
MICHELLE ABUHAMED            3109 RUNWAY AVENUE                                                 EAU CLAIRE       WI         54703                   6004            Various                                                                                                $3.00
MICHELLE ALLEN               2552 SPOONER AVE               APT 201                             ALTOONA          WI         54720                   6004            Various                                                                                               $25.00
MICHELLE ANDERSON            PO BOX 42                                                          HANSKA           MN         56041                   6002            Various                                                                                                $8.27
MICHELLE ASHBY               514 LOGAN AVE.                                                     DIXON            IL         61021                   6004            Various                                                                                               $21.99
MICHELLE BALDWIN             1006 E PENNSYLVANIA AVE                                            COEUR D ALENE    ID         83814                   6002            Various                                                                                                $5.37
MICHELLE BARKHOFF            306 W SHIELDS ST                                                   LEWISTOWN        MT         59457                   6002            Various                                                                                                $1.56
MICHELLE BAUMGARDNER         525 REENA AVE.                                                     FORT ATKINSON    WI         53538                   6004            Various                                                                                                $2.95
MICHELLE BAUMGART            1858 GARY LN                                                       GREEN BAY        WI         54303                   6002            Various                                                                                                $2.30
MICHELLE BELDING             7380 W SCOTT RD                                                    BEATRICE         NE         68310                   6002            Various                                                                                                $3.23
MICHELLE BELLINI             BOX 1452 309 DEL                                                   LANDER           WY         82520                   6002            Various                                                                                                $2.08
MICHELLE BEMIS               8057 FELCH AVE                                                     NEWAYGO          MI         49337                   6002            Various                                                                                                $0.85
MICHELLE BENZEL              520 TEMPERANCE ST                                                  FOND DU LAC      WI         54937                   6002            Various                                                                                                $7.21
MICHELLE BERGSTROM           3226 VERNON ST                                                     DULUTH           MN         55806                   6004            Various                                                                                                $3.00
MICHELLE BOHN                49928 US HWY 95                                                    CULDESAC         ID         83524                   6004            Various                                                                                               $10.00
MICHELLE BOWERS              12256 LAKE LOWELL AVENUE                                           NAMPA            ID         83686                   6004            Various                                                                                               $16.98
MICHELLE BOZILE              N6960 OUTLET RD.                                                   CRIVITZ          WI         54114                   6004            Various                                                                                               $17.00
MICHELLE BRADFIELD           685 GALENA STREET                                                  PRAIRIE DU SAC   WI         53578                   6004            Various                                                                                                $5.00
MICHELLE BRANSTAD            5731 GATEHOUSE DR APT B                                            EAU CLAIRE       WI         54701                   6002            Various                                                                                                $8.33
MICHELLE BROCKMAN            11145 JAZZMAN DR                                                   ROSCOE           IL         61073                   6004            Various                                                                                               $10.00
MICHELLE BROWN               735 ASPEN AVE.                                                     VERONA           WI         53593                   6004            Various                                                                                               $39.00
MICHELLE BRUNS MELGAR        3034 KANSAS DR                                                     BELLEVUE         NE         68005                   6004            Various                                                                                                $2.00
MICHELLE BUECHEL             N324 EASTOWNE CT                                                   APPLETON         WI         54915                   6002            Various                                                                                                $0.47
MICHELLE BUNDY               201 SAUNDERS AVE                                                   LINCOLN          NE         68521                   6002            Various                                                                                                $9.04
MICHELLE BUTLER              903 W PERRY ST                                                     BELVIDERE        IL         61008                   6002            Various                                                                                                $9.12
MICHELLE CAMPBELL            855 W 600TH N                                                      CLEARFIELD       UT         84015                   6002            Various                                                                                                $2.11
MICHELLE CAPPEL              577 MAIN ST W                  APT 9                               ZUMBRO FALLS     MN         55991                   6004            Various                                                                                                $6.00
MICHELLE CLARK               614 COUNTRY LANE DR. APT#8                                         LENA             IL         61048                   6004            Various                                                                                               $25.00
MICHELLE COMBS               1417 W WILLIS AVE                                                  SIOUX CITY       IA         51103                   6002            Various                                                                                                $5.23
MICHELLE CORRELL             7705 LOON CT SE                                                    OLYMPIA          WA         98513                   6004            Various                                                                                               $42.00
MICHELLE D MONDT             PO BOX 25                                                          FUNK             NE         68940                   6002            Various                                                                                                $8.25
MICHELLE DAVIS               168 CLAYTON LANE APT 10                                            DILLON           MT         59725                   6004            Various                                                                                                $7.50
MICHELLE DILL-FERNANDEZ      1557 CEDAR ST                                                      WHEATLAND        WY         82201                   6002            Various                                                                                                $6.19
MICHELLE DOWNHOUR            909 SANDY ACRE CT                                                  WEST BEND        WI         53090                   6002            Various                                                                                                $7.59
MICHELLE EGGERS              1133 W SOUTHPARK AVE                                               OSHKOSH          WI         54902                   6002            Various                                                                                                $1.45
MICHELLE ELLETT              2905 KANSAS DR                                                     BELLEVUE         NE         68005                   6004            Various                                                                                                $2.00
MICHELLE FLYNN               213 S 40TH AVE                                                     YAKIMA           WA         98908                   6004            Various                                                                                               $75.05
MICHELLE FORTIN              622 E 1ST AVE                                                      MITCHELL         SD         57301                   6004            Various                                                                                                $9.00




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                                                                                                                                                Last 4 Digits of     Date Debt was
                                                                                                                                                   Account         Incurred, Basis for
              Creditor Name                Address1            Address2         Address3             City        State           Zip   Country     Number                Claim                                                                             Total Claim
MICHELLE GANTT                 1268 E. 5600                                                  SOUTH OGDEN      UT         84403                 6004                Various                                                                                            $10.00
MICHELLE GOETZ                 33717 560TH AVE                                               WALTHAM          MN         55982                 6004                Various                                                                                             $3.00
MICHELLE GOSS                  1005 2ND AVE N                                                WHEATON          MN         56296                 6002                Various                                                                                             $0.60
MICHELLE GRACIOS               602 N WARREN                                                  FREEPORT         IL         61032                 6004                Various                                                                                             $9.00
MICHELLE GRANDPRE              1604 S 3RD ST                                                 ABERDEEN         SD         57401                 6002                Various                                                                                             $3.64
MICHELLE GRANNEMAN             319 N HYLAND ST                                               JUNEAU           WI         53039                 6002                Various                                                                                             $9.23
MICHELLE GRANTIN               2215 FOLSOM ST., APT. 323                                     EAU CLAIRE       WI         54703                 6004                Various                                                                                            $39.98
MICHELLE GROSS                 704 10TH AVE S                                                CLEAR LAKE       SD         57226                 6004                Various                                                                                             $9.50
MICHELLE HAGMAN                408 EAST 17TH ST                                              GRAND ISLAND     NE         68801                 6004                Various                                                                                             $2.00
MICHELLE HANNEMANN             3021 N DREW ST                                                APPLETON         WI         54911                 6002                Various                                                                                             $5.12
MICHELLE HAYNES                3613 LAKE FOREST DR #30                                       OMAHA            NE         68164                 6004                Various                                                                                             $4.00
MICHELLE HEINECKE              230 E TRAILORAMA AVE                                          SALT LAKE CITY   UT         84107                 6002                Various                                                                                             $6.38
MICHELLE HOLLOWAY              30101 190TH AVE                                               CORNELL          WI         54732                 6002                Various                                                                                             $6.90
MICHELLE HOSKINS               405 S ELM AVE.                                                GILLETT          WI         54124                 6004                Various                                                                                            $59.00
MICHELLE JACOBSEN              711 WASHAKIE ST                                               THERMOPOLIS      WY         82443                 6002                Various                                                                                             $6.63
MICHELLE JOE                   7646 LOCUST ST                                                MIDVALE          UT         84047                 6004                Various                                                                                            $14.98
MICHELLE JORGENSEN             14225 ADAMS ST                                                OMAHA            NE         68137                 6004                Various                                                                                            $25.00
MICHELLE KARGALA               1860 N LAKE DR                                                ISHPEMING        MI         49849                 6002                Various                                                                                             $2.08
MICHELLE KAVRAN                524 E. IROQUOIS                                               FREEPORT         IL         61032                 6004                Various                                                                                             $1.32
MICHELLE KRAUS                 P.O. BOX 511                                                  MONA             UT         84645                 6004                Various                                                                                            $15.00
MICHELLE KRAYNIK               N2693 CHURCH RD                                               KEWAUNEE         WI         54216                 6002                Various                                                                                             $0.41
MICHELLE KRUEGER               330 HORICON ST                                                MAYVILLE         WI         53050                 6002                Various                                                                                             $8.66
MICHELLE L ESTRADA             3028 JACKIE CT                                                IDAHO FALLS      ID         83402                 6002                Various                                                                                             $0.82
MICHELLE L JOHNSON             8738 GREENLEY LOOP                                            BRAHAM           MN         55006                 6002                Various                                                                                             $4.08
MICHELLE L LEWIS               1180 CATHRYN AVE                                              IDAHO FALLS      ID         83404                 6002                Various                                                                                             $1.53
MICHELLE LAKE                  427 DEER FIELD                                                GREAT FALLS      MT         59405                 6004                Various                                                                                            $36.55
MICHELLE LAMKE                 N1087 CNTY RD L #4                                            WATERTOWN        WI         53098                 6004                Various                                                                                            $20.00
MICHELLE LAWRYNK               121 NORTH MARIGOLD LN                                         WEST SALEM       WI         54669                 6004                Various                                                                                            $25.00
MICHELLE LOCHMAN               614 1ST ST PO BOX # 361                                       MARATHON         WI         54448                 6002                Various                                                                                             $9.75
MICHELLE LOMBARD               10965 1ST ST SE                                               FOLEY            MN         56329                 6004                Various                                                                                             $3.52
MICHELLE LYN HABECK            1112 MELISSA ST.                                              MENASHA          WI         54952                 6004                Various                                                                                             $6.00
MICHELLE M KAYHART             318 N 5TH ST LOT 66                                           ABBOTSFORD       WI         54405                 6002                Various                                                                                             $5.62
MICHELLE M OEHLERS             6484 MAPLE ST                                                 NORTH BRANCH     MN         55056                 6002                Various                                                                                             $6.19
MICHELLE M STRAIT              1120 LIBERTY ST                                               LA CROSSE        WI         54603                 6002                Various                                                                                             $8.79
MICHELLE MACIEL                605 2ND ST                                                    HENRY            SD         57243                 6002                Various                                                                                             $2.22
MICHELLE MAR SOLAND            902 CEDAR DR APT A                                            LA CRESCENT      MN         55947                 6002                Various                                                                                             $7.59
MICHELLE MARION                9 LOOMIS CIRCLE APT. 1                                        MADISON          WI         53704                 6004                Various                                                                                             $1.00
MICHELLE MAYO                  1345 LUCERNE DRIVE APT 11                                     MENASHA          WI         54952                 6004                Various                                                                                            $20.00
MICHELLE MCNEILL               30134 FOX RUN RD                                              NORTH BRANCH     MN         55056                 6004                Various                                                                                             $1.54
MICHELLE MEDLEY                3510 WILLOW DR APT 17                                         PLOVER           WI         54467                 6002                Various                                                                                             $1.84
MICHELLE METZ                  155 DEAD HORSE                                                FT. WASHAKIE     WY         82514                 6002                Various                                                                                             $9.29
MICHELLE MISKOL                4815 HEATH AVE                                                SALT LAKE CITY   UT         84118                 6004                Various                                                                                             $9.99
MICHELLE MISNER                1813 SPRUCE ST                                                BELOIT           WI         53511                 6004                Various                                                                                            $41.00
MICHELLE MOSENA                621 N G ST                                                    MONMOUTH         IL         61462                 6004                Various                                                                                            $20.00
MICHELLE MUELLER               1835 STANDLEY LANE                                            JACKSONVILLE     IL         62650                 6004                Various                                                                                             $4.65
MICHELLE NEUMANN               173 SUNLOOP LANE                                              GREAT FALLS      MT         59404                 6004                Various                                                                                           $103.00
MICHELLE NIHART                PO BOX 313                                                    EYOTA            MN         55934                 6002                Various                                                                                             $9.29
MICHELLE NOCITA                810 SLY ST                                                    STURGIS          SD         57785                 6002                Various                                                                                             $8.79
MICHELLE NOEL                  807 GREENDALE RD                                              SHEBOYGAN        WI         53081                 6002                Various                                                                                             $5.01
MICHELLE OBORN                 1009 WEST DWELLE ST                                           LAKE CITY        MN         55041                 6004                Various                                                                                             $9.00
MICHELLE O'BRIEN               508 NORTH DUGAN ST          APT 3                             WELCOME          MN         56181                 6004                Various                                                                                             $1.00
MICHELLE OFARRELL              313 7TH ST SE                                                 WATERTOWN        SD         57201                 6002                Various                                                                                             $1.01
MICHELLE OLLA                  237 NORTH MAIN                                                AMHERST          WI         54406                 6004                Various                                                                                            $42.00
MICHELLE OPPOR                 155 E. MILL ST.                                               COLUMBUS         WI         53925                 6004                Various                                                                                             $5.20




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                                                                                                                                                  Last 4 Digits of     Date Debt was
                                                                                                                                                     Account         Incurred, Basis for
             Creditor Name                Address1                 Address2        Address3              City      State           Zip   Country     Number                Claim                                                                             Total Claim
MICHELLE PARINS               619 WELLINGTON DR                                                 WEST BEND       WI         53090                 6002                Various                                                                                             $7.78
MICHELLE PAULSEN              1615 CRESTVIEW DRIVE                                              OSHKOSH         WI         54904                 6004                Various                                                                                            $42.58
MICHELLE PECK                 W3345 DECORA RD                                                   HORICON         WI         53032                 6002                Various                                                                                             $8.82
MICHELLE PEDERSON             801 CARINA LN                                                     MADISON         WI         53718                 6004                Various                                                                                           $117.00
MICHELLE PETERSON             2070 RIVERVIEW DR            APT #1                               GREEN BAY       WI         54303                 6004                Various                                                                                             $1.00
MICHELLE PETROVIAK            N1043 CTY ROAD EM                                                 WATERTOWN       WI         53098                 6004                Various                                                                                             $3.00
MICHELLE PLESHEK              811 OLSON ST APT C                                                SHAWANO         WI         54116                 6004                Various                                                                                            $35.00
MICHELLE POPOVICH             714 PIKE LANE                                                     STOUGHTON       WI         53589                 6004                Various                                                                                             $1.00
MICHELLE R GRIFFITH           209 NW GRANT ST                                                   GREENFIELD      IA         50849                 6002                Various                                                                                             $1.95
MICHELLE R MCLERAN            501 WYOMING ST                                                    WORLAND         WY         82401                 6002                Various                                                                                             $6.99
MICHELLE RABINE               5444 ACCOLA ROAD                                                  PITTSVILLE      WI         54466                 6004                Various                                                                                            $35.00
MICHELLE RACETTE              1515 BISCAYNE DR                                                  LITTLE CHUTE    WI         54140                 6004                Various                                                                                             $1.00
MICHELLE REAUME               1873 W RUSSELL RD                                                 TECUMSEH        MI         49286                 6002                Various                                                                                             $1.53
MICHELLE REECE                2405 AVE D                                                        HAWARDEN        IA         51023                 6004                Various                                                                                            $25.00
MICHELLE REINCKE              2905 GARFIELD CT                                                  LEWISTON        ID         83501                 6002                Various                                                                                             $1.32
MICHELLE RICHMOND             312 21ST ST N W                                                   STEWARTVILLE    MN         55976                 6004                Various                                                                                             $6.00
MICHELLE RICHTER              6460 W MAJESTIC AVE                                               RATHDRUM        ID         83858                 6002                Various                                                                                             $7.34
MICHELLE ROBINSON             9006 TORRANSH DR                                                  BELLEVUE        NE         68147                 6004                Various                                                                                             $2.00
MICHELLE ROBLEY               735 HARVEST DR APT 6                                              BRILLION        WI         54110                 6002                Various                                                                                             $6.99
MICHELLE ROEDER               411 4TH ST                                                        NEWPORT         NE         68759                 6002                Various                                                                                             $0.38
MICHELLE ROESKE               8 BROADWAY ST                                                     EDGERTON        WI         53534                 6004                Various                                                                                            $20.00
MICHELLE ROSENBALM            2612 N 194TH CT              APT 3A                               ELKHORN         NE         68022                 6004                Various                                                                                             $3.98
MICHELLE SAMUELSON            714 S BROADWAY ST                                                 MANLY           IA         50456                 6002                Various                                                                                             $4.36
MICHELLE SCARDINO             W243 N 2309 DEER PARK DR     UNIT 6                               PEWAUKEE        WI         53072                 6004                Various                                                                                             $3.00
MICHELLE SCHMIDT              W2766 BROOKHAVEN DR                                               APPLETON        WI         54915                 6002                Various                                                                                             $0.41
MICHELLE SCHROEDER            620 E NORTH LAKE ST                                               HANCOCK         WI         54943                 6002                Various                                                                                             $9.07
MICHELLE SCHWARTEN            841 HUNT AVE                                                      NEENAH          WI         54956                 6004                Various                                                                                             $5.20
MICHELLE SCOTT                1026 8TH AVE NW                                                   GREAT FALLS     MT         59404                 6002                Various                                                                                             $0.60
MICHELLE SEGALL               1203 W GRAND STREET                                               GALLATIN        MO         64640                 6002                Various                                                                                           $150.42
MICHELLE SHEWBERT             PO BOX 465                                                        PIERCE          ID         83546                 6002                Various                                                                                             $3.61
MICHELLE SLONIKER             6050 NORTH CASSIDY RD                                             EVANSVILLE      WI         53536                 6004                Various                                                                                            $25.00
MICHELLE SLY                  2037 FAIRFAX                                                      BELOIT          WI         53511                 6004                Various                                                                                            $23.15
MICHELLE SMALLEY              5265 MESQUITE DR APT E202                                         POCATELLO       ID         83202                 6002                Various                                                                                             $6.68
MICHELLE SMITH                1720 LAKE ST                                                      OMAHA           NE         68111                 6004                Various                                                                                             $7.62
MICHELLE SMITHSON             3432 NELSON ROAD                                                  OSHKOSH         WI         54904                 6004                Various                                                                                            $25.00
MICHELLE SOTO                 1128 WISCONSIN ST APT2                                            LAKE GENEVA     WI         53147                 6004                Various                                                                                             $1.00
MICHELLE SPANNMACHER          1015 S A STREET                                                   MONMOUTH        IL         61462                 6002                Various                                                                                             $7.23
MICHELLE STEPNIEWSKI          W9829 WEST OAK ST                                                 WAUTOMA         WI         54982                 6004                Various                                                                                             $2.00
MICHELLE STERLEY              3811 E 82ND ST                                                    NEWAYGO         MI         49337                 6002                Various                                                                                             $1.01
MICHELLE STEVENSON            1943 E CREEK RD                                                   SANDY           UT         84093                 6002                Various                                                                                             $1.62
MICHELLE STRANG               155 E MAIN STREET                                                 SHULLSBURG      WI         53586                 6004                Various                                                                                            $38.50
MICHELLE STURDEVANT           2472 LEISURE LN                                                   TRAVERSE CITY   MI         49686                 6004                Various                                                                                             $5.00
MICHELLE TAYLOR               308 W DIVISION ST                                                 MANCELONA       MI         49659                 6002                Various                                                                                             $6.71
MICHELLE THOMPSON             2157 SOUTH 2325 WEST                                              SYRACUSE        UT         84075                 6004                Various                                                                                            $15.00
MICHELLE TUCKER               1019 15TH ST N PRE-RELEASE                                        GREAT FALLS     MT         59401                 6002                Various                                                                                             $1.51
MICHELLE VAN DE GRIFT         1216 N 11TH STREET                                                MANITOWOC       WI         54220                 6004                Various                                                                                             $5.00
MICHELLE VANHEEL              7650 BECCA LN                                                     MISSOULA        MT         59802                 6004                Various                                                                                             $2.00
MICHELLE WARD                 216 6TH AVE SE                                                    GLENWOOD        MN         56334                 6002                Various                                                                                             $1.15
MICHELLE WERNER               1019 S PICO ST                                                    BOISE           ID         83705                 6002                Various                                                                                             $2.47
MICHELLE WESS                 2511 N 87TH                  APT J                                LINCOLN         NE         68507                 6004                Various                                                                                             $4.00
MICHELLE WIGGEN               IDEAL MOTEL MAIN ST #926                                          ROUNDUP         MT         59072                 6002                Various                                                                                             $1.00
MICHELLE WILLER               N3525 TRIELOFF ROAD - #22                                         FORT ATKINSON   WI         53538                 6004                Various                                                                                             $4.97
MICHELLE WOOD                 2248 LAKE JACKSONVILLE RD                                         JACKSONVILLE    IL         62650                 6004                Various                                                                                            $10.00
MICHELLE WRIGHT               2730 RHYLOTE DR                                                   BOISE           ID         83712                 6002                Various                                                                                             $8.71




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                                                                                                                                                              Account         Incurred, Basis for
             Creditor Name                   Address1                Address2            Address3           City            State           Zip   Country     Number                Claim                                                                             Total Claim
MICHELLE YANG                     1750 LUMBAR AVE                                                   OSHKOSH            WI           54902                 6004                Various                                                                                            $25.00
MICHELLE ZARATE                   108 E MACOMB ST                                                   BELVIDERE          IL           61008                 6004                Various                                                                                             $3.90
MICHELLE ZIMMERMAN                2723 SOUTH POND #101                                              BOISE              ID           83705                 6004                Various                                                                                            $96.03
MICHELLE ZINGG                    597 WEST AVALON RD.                                               COLUMBUS           WI           53925                 6004                Various                                                                                             $1.00
MICHELS POWER                     1775 E SHADY LANE                                                 NEENAH             WI           54956                                     Various                                                                                        $18,514.56
MICHIANA RECYCLING                PO BOX 1148                                                       NILES              MI           46120                                     Various                                                                                          $538.36
                                                                                                                                                                              12/4/2018 -
MICHIGAN GAS UTILITIES            PO BOX 3140                                                       MILWAUKEE          WI           53201-3140              -1                1/3/2019                                                                                          $520.51
                                  BUREAU OF CONSTRUCTION
MICHIGAN/ STATE OF                CODES                         PO BOX 30255                        LANSING            MI           48909                   5643              Various                                                                                           $250.00

                                  311 FIFTH STREET @ AMERICAN                                                                                                                 10/13/2018 -
MICHIGAN-AMERICAN WATER COMPANY   WATER WORKS COMPANY, INC                                          CALUMET            MI           49913                  669                12/12/2018                                                                                       $444.62
MICK GILLAUME                     720 E. BRONSON RD.            UNIT E                              SEYMOUR            WI           54165                  6004               Various                                                                                            $25.00
MICK SCOTT                        7244 383RD ST                                                     NORTH BRANCH       MN           55056                  6004               Various                                                                                            $25.00
MICKAEL ANN ANGUS                 315 N 875TH E                                                     OREM               UT           84097                  6002               Various                                                                                             $5.07
MICKAYLA HESTON                   1615 TONY CIRCLE                                                  LINCOLN            NE           68522                  6004               Various                                                                                            $23.00
MICKEAL FELTON                    803 WEST OKLAHOMA STREET                                          APPLETON           WI           54914                  6004               Various                                                                                             $1.00
MICKELLE GRANT                    2406 NORTH 2350 WEST                                              CLEARFIELD         UT           84015                  6004               Various                                                                                             $5.00
MICKENZIE KIRKPATRICK             218 S MAIN ST                                                     WINCHESTER         IL           62694                  6002               Various                                                                                             $8.44
MICKEY MARTINES                   10 WESTERN RD                                                     WHEATLAND          WY           82201                  6002               Various                                                                                             $1.53
MICKEY MC IVER                    P.O. BOX 163                                                      MORELAND           ID           83256                  6004               Various                                                                                            $15.00
MICKEY SCURIO                     55 RESERVOIR RD                                                   BUFFALO            WY           82834                  6002               Various                                                                                             $5.97
MICROSOFT ONLINE INCORPORATED     PO BOX 847543                                                     DALLAS             TX           75284-7543             1502               Various                                                                                        $87,567.30
MID STATE TRUCK SERVICE           ACCOUNTS PAYABLE              2100 E 29TH ST     PO BOX 1150      MARSHFIELD         WI           54449                  6004               Various                                                                                            $51.13
MID STATES ALUMINUM CORPORATION   PO BOX 23                                                         SHEBOYGAN          WI           53082                  6004               Various                                                                                          $125.12
MID WISCONSIN BEVERAGE INCORPO    PO BOX 89                                                         WAUSAU             WI           54402-0089             2319               Various                                                                                        $11,187.68

                                  P.O. BOX 8020 @ MIDAMERICAN                                                                                                                 12/8/2018 -
MIDAMERICAN ENERGY COMPANY        ENERGY HOLDINGS COMPANY                                           DAVENPORT          IA           52808-8020              32028             1/10/2019                                                                                      $17,229.97
MIDLAND PLASTICS INCORPORATED     PO BOX 510055                                                     NEW BERLIN         WI           53151-0055              5212              Various                                                                                          $163.26
                                                                5900 PARRETTA
MIDLAND RADIO CORPORATION         VICE PRESIDENT OF SALES       DRIVE                               KANSAS CITY        MO           64120-0000              1333              Various                                                                                        $20,052.37
MIDWAY BEVERAGE INC (RED BULL)    FINTECH                       SHOPKO STORES      PO BOX 19060     GREEN BAY          WI           54307-9060              8131              Various                                                                                          $229.20
MIDWAY RENTALS INCORPORATED       PO BOX 368                                                        MARQUETTE          MI           49855-0368              4006              Various                                                                                          $424.00
                                                                2482 MARIAS
MIDWAY RENTAL-SHELBY              RE INVESTMENT COMPANY LLC     VALLEY ROAD                         SHELBY             MT           59474                  2349               Various                                                                                           $262.42
                                                                                                                                                                              11/27/2018 -
MIDWEST ENERGY, INC               PO BOX 898                                                        HAYS               KS           67601                   339               12/26/2018                                                                                      $3,730.36

MIDWEST PAVEMENT MARKINGS LLC     JAMES BURKEL                  3142 ANSTON ROAD                    GREEN BAY          WI           54313                   7946              Various                                                                                        $24,037.67
MIDWEST QUALITY GLOVES INCORPO    PO BOX 790051                                                     SAINT LOUIS        MO           63179-0051              7501              Various                                                                                        $50,168.71
MIDWEST SANITATION & RECYCLING    701 HWY 432                                                       OSKALOOSA          IA           52577                                     Various                                                                                          $235.40
MIDWESTERN MECHANICAL INCORPOR    1865 SAMCO ROAD                                                   RAPID CITY         SD           57702-0000             2679               Various                                                                                          $489.90
MIEDEMA                           PO BOX 1165                                                       MITCHELL           SD           57301                                     Various                                                                                         $5,567.63
MIEKE VENEMAN                     1309 WHITE AVE                                                    BELOIT             WI           53511                  6004               Various                                                                                            $33.00
MIGDALIA MERCADO                  1053 ROLAND LN APT 6                                              GREEN BAY          WI           54303                  6002               Various                                                                                             $0.79
MIGUEL A URRUTIA CALVO            202 W CENTRAL AVE APT 1                                           VEBLEN             SD           57270                  6002               Various                                                                                             $3.04
MIGUEL A VELAZQUEZ                24 PINE GROVE VILLA                                               BANCROFT           WI           54921                  6002               Various                                                                                             $9.56
MIGUEL AMAYA                      2971 SO CRYSTAL LAKE WAY                                          WEST VALLEY CITY   UT           84120                  6004               Various                                                                                             $2.00
MIGUEL CHAVEZ                     516 CLAY ST                                                       WRIGHTSTOWN        WI           54180                  6004               Various                                                                                             $1.00
MIGUEL CUBAS                      1055 E 20TH ST                                                    CRETE              NE           68333                  6002               Various                                                                                             $3.29
MIGUEL DEANDA                     1706 VILLA AVE                                                    SIOUX CITY         IA           51103                  6004               Various                                                                                             $5.01
MIGUEL DIAZ                       2522 JEFFERSON ST                                                 OMAHA              NE           68107                  6004               Various                                                                                            $10.00




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              Creditor Name                Address1               Address2        Address3             City          State           Zip   Country     Number                Claim                                                                             Total Claim
MIGUEL GALLEGOS                2114 W RUSSET CT              APT 9                             APPLETON           WI         54914                 6004                Various                                                                                             $1.00
MIGUEL GONZALEZ                131 LAMPLIGHTER LOOP                                            POPLAR GROVE       IL         61065                 6004                Various                                                                                             $5.05
MIGUEL HERNANDEZ               350 18TH ST                                                     OGDEN              UT         84401                 6002                Various                                                                                             $0.96
MIGUEL KEARNEY                 615 CORNER STREET                                               LODI               WI         53555                 6004                Various                                                                                             $1.00
MIGUEL LUNA                    910 20TH AVE E                                                  JEROME             ID         83338                 6004                Various                                                                                            $20.00
MIGUEL MARRON-CORTEZ           5647 LOCUST LANE                                                CASHMERE           WA         98815                 6004                Various                                                                                            $13.94
MIGUEL MARTINEZ                1507 CAPITOL DR APT 106                                         GREEN BAY          WI         54303                 6002                Various                                                                                             $0.82
MIGUEL MORALES ROBLES          1020 LUCERNE DR APT 2B                                          MENASHA            WI         54952                 6004                Various                                                                                             $3.00
MIGUEL RAMIREZ                 2316 PRAIRIE VIEW DR                                            DELAVAN            WI         53115                 6004                Various                                                                                            $39.00
MIGUEL SEGUNDO SR.             420 WEST 16TH ST.                                               SOUTH SIOUX CITY   NE         68776                 6004                Various                                                                                             $6.00
MIGUEL STOLL                   W16205 DETTINGER RD                                             HIXTON             WI         54635                 6004                Various                                                                                             $1.00
MIGUEL VALLES-MORENO           21076 PINE HAVEN AVENUE                                         BEND               OR         97702                 6004                Various                                                                                             $4.00
MIGUEL VIDAL                   1587 6TH AVE N                                                  SAINT CLOUD        MN         56303                 6002                Various                                                                                             $6.99
MIGUEL VIJARRO                 3620 LATERAL B ROAD                                             WAPATO             WA         98951                 6002                Various                                                                                             $4.16
MIGUEL VILLICANA               1010 S 2777 E                                                   JEROME             ID         83338                 6004                Various                                                                                             $3.65
MIKAELA CHRISTIANSEN           15687 S FLORIDA                                                 CALDWELL           ID         83607                 6004                Various                                                                                            $17.00
MIKAELA HOWELL                 111 OAKL ST.                                                    DULUTH             MN         55810                 6004                Various                                                                                             $3.00
MIKAELA SUE WEIHING            624 E MURRAY AVE                                                APPLETON           WI         54915                 6002                Various                                                                                             $0.27
MIKAL D OLSON                  1916 WOOD ST                                                    LACROSSE           WI         54601                 6002                Various                                                                                             $8.27
MIKAYLA KUEHL                  N4297 CTY E                                                     KEWAUNEE           WI         54216                 6002                Various                                                                                             $9.01
MIKAYLA MILLER                 4046 WESTLAKE AVE                                               SALT LAKE CITY     UT         84120                 6004                Various                                                                                           $137.98
MIKAYLA SEFIANE                1508 NORTH B STREET APT 502                                     ELLENSBURG         WA         98926                 6004                Various                                                                                            $12.09
MIKAYLA STALWICK               155 HUNTINGTON DRIVE                                            MANKATO            MN         56001                 6004                Various                                                                                             $3.06
MIKAYLA TEET                   5801 BOX CANYON                                                 LINCOLN            NE         68516                 6004                Various                                                                                             $6.00
MIKE (RAT) ALEXANDER           38725 12TH AVE TRLR 106                                         NORTH BRANCH       MN         55056                 6002                Various                                                                                             $7.62
MIKE AUBRY                     3153 BARLEY CR                                                  GREEN BAY          WI         54311                 6002                Various                                                                                             $0.41
MIKE BACHMAN PLUMBING          549 W 24TH STREET                                               OGDEN              UT         84401                                     Various                                                                                           $831.00
MIKE BELCOURT                  402 CASCADE AVE                                                 NEWCASTLE          WY         82701                  6002               Various                                                                                             $2.08
MIKE BENZING                   W5781 CTYS                                                      JUNEAU             WI         53039                  6002               Various                                                                                             $5.07
MIKE BLACKBURN                 344 WEST EVERETT ST                                             DIXON              IL         61021                  6004               Various                                                                                            $22.00
MIKE BLEIFUS                   6800 BLEIFUS AVE SE                                             ROCHESTER          MN         55904                  6004               Various                                                                                            $50.87
MIKE BORMAN                    5059 18TH RD                                                    ESCANABA           MI         49829                  6002               Various                                                                                             $0.66
MIKE BRODERICK                 428 E BROADWAY                                                  HELENA             MT         59601                  6004               Various                                                                                             $2.00
MIKE BROSSARD                  55717 240TH AVE                                                 WEST CONCORD       MN         55985                  6004               Various                                                                                             $9.95
MIKE CAMP                      N2372 HILLSIDE STREET                                           WAUTOMA            WI         54982                  6004               Various                                                                                            $28.00
MIKE CAMPBELL                  452 US HIGHWAY 20 N                                             WORLAND            WY         82401                  6002               Various                                                                                             $6.38
MIKE DEMLOW                    P.O. BOX 1144                                                   MARSHFIELD         WI         54449                  6004               Various                                                                                            $39.00
MIKE DOWNEND                   7910 W SWIFT LN                                                 BOISE              ID         83704                  6002               Various                                                                                             $1.40
MIKE DUNCAN                    444 S 1170 W                                                    SPANISH FORK       UT         84660                  6004               Various                                                                                            $29.99
MIKE EDWARDS                   PO BOX 846                                                      SALMON             ID         83467                  6002               Various                                                                                             $3.67
                               49 NORTH MADIAON AVE UNIT
MIKE FELS                      212                                                             STURGEON BAY       WI         54235                  6004               Various                                                                                             $3.40
MIKE FENRICK                   1012 1ST AVE NW                                                 GREAT FALLS        MT         59404                  6004               Various                                                                                            $35.00
MIKE FINNEGAN                  4133 COUNCIL CREST                                              MADISON            WI         53711                  6004               Various                                                                                            $98.58
MIKE FLOOD                     N4308 US HIGHWAY 151                                            OAKFIELD           WI         53065                  6002               Various                                                                                             $9.42
MIKE GRANDNER                  217 WILSON AVE SE                                               ST CLOUD           MN         56304                  6004               Various                                                                                             $7.69
MIKE GROSKOPF                  4501 W 37TH                                                     SIOUX FALLS        SD         57106                  6004               Various                                                                                           $125.00
MIKE HILL                      1906 BIRCH DRIVE                                                LEWISTON           ID         83501                  6004               Various                                                                                            $16.02
MIKE J LUCAS                   110 E 6TH                                                       RAYMOND            KS         67573                  6002               Various                                                                                             $9.75
MIKE KREBS - SR                1204 CHEYENNE COURT                                             FT. ATKINSON       WI         53538                  6004               Various                                                                                             $9.76
MIKE LUETZEN                   3208 7TH AVE N                                                  GREAT FALLS        MT         59401                  6002               Various                                                                                             $8.79
MIKE MADDEN                    PO BOX 243                                                      OROFINO            ID         83544                  6002               Various                                                                                             $1.40
MIKE MEHRENS                   528 N HALEY ST                                                  VALENTINE          NE         69201                  6002               Various                                                                                             $6.68
MIKE NAVILLE                   219 2ND ST                                                      UEHLING            NE         68063                  6002               Various                                                                                             $0.27




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              Creditor Name                   Address1           Address2           Address3             City         State         Zip    Country     Number                Claim                                                                             Total Claim
MIKE PARROTT                      729 VASSARD WAY                                                IDAHO FALLS       ID         83402                6002                Various                                                                                             $9.48
MIKE PATTERSON                    2625 1ST ST                                                    MONROE            WI         53566                6004                Various                                                                                            $75.00
MIKE POLODNA                      1540 FARNAM ST                                                 LA CROSSE         WI         54601                6002                Various                                                                                             $0.77
MIKE PRUDHOMME                    7651 W SADDLEHORN ST                                           BOISE             ID         83709                6002                Various                                                                                             $8.27
MIKE ROOT                         3209 MITCHELL AVE                                              HELENA            MT         59602                6002                Various                                                                                             $1.32
MIKE SECORD                       1625 BRAWLEY ST                                                STEVENS POINT     WI         54481                6002                Various                                                                                             $1.29
MIKE SELLIN                       8358 N 106TH ST                                                MILWAUKEE         WI         53224                6002                Various                                                                                             $9.37
MIKE SHIMAK                       3212 335TH ST                                                  CRESCO            IA         52136                6002                Various                                                                                            $10.00
MIKE SISEL                        N3176 STODOLA ROAD                                             GREEN BAY         WI         54217                6004                Various                                                                                            $29.00
MIKE THOMPSON                     706 N OLIVINE PL                                               KUNA              ID         83634                6004                Various                                                                                            $24.00
MIKE WEBSTER                      5615 PLEASANT VIEW RD                                          REEDSVILLE        WI         54230                6002                Various                                                                                             $8.11
MIKE WESTPHAL                     914 S SPRING ST                                                BEAVER DAM        WI         53916                6004                Various                                                                                            $23.00
MIKE WHERRY                       P O BOX 159                                                    NEZPERCE          ID         83543                6004                Various                                                                                            $10.02
MIKE WILLIAMS                     903 N MAIN ST                                                  MARION            WI         54950                6002                Various                                                                                             $1.04
MIKE WILLIS-PFISTER               901 8TH ST W                                                   COLUMBIA FALLS    MT         59912                6002                Various                                                                                             $2.19
MIKEL KIND                        1743 APOLLO CIRCLE                                             STOUGHTON         WI         53589                6004                Various                                                                                            $18.90
MIKELL YOUNG                      5711 S SRAH JANE DR                                            SALT LAKE CITY    UT         84118                6002                Various                                                                                             $2.33
MIKES POPCORN                     1101 MIDWAY ROAD SUITE 1                                       MENASHA           WI         54952                1733                Various                                                                                          $228.72
MIKKI HOFFMAN                     307 E 9TH ST.              BOX 325                             DORCHESTER        NE         68343                6004                Various                                                                                            $27.94
MILBERG FACTORS INCORPORATED      99 PARK AVENUE                                                 NEW YORK          NY         10016                Various             Various                                                                                        $25,328.46
MILDRED ANN HUTCHISON             2617 HUNTER RD                                                 TRENTON           MO         64683                6002                Various                                                                                             $2.19
MILDRED HAMUS                     203 W DOLF ST                                                  COLBY             WI         54421                6002                Various                                                                                            $20.82
MILDRED RANDALL                   517 ST. CLAIR STREET                                           MANITOWOC         WI         54220                6004                Various                                                                                             $2.00
MILDRED RENNERT                   428 W. 9TH AVE.                                                OSHKOSH           WI         54902                6004                Various                                                                                            $22.71
MILDRED TEMPEL                    902 ORDWAY STREET                                              WILMOT            SD         57279                6002                Various                                                                                             $1.66
MILDRED VANGRUNSVEN               1614 DOUSMAN ST                                                GREEN BAY         WI         54303                6002                Various                                                                                             $0.68
MILE HIGH BEVERAGES               520 COBBAN STREET                                              BUTTE             MT         59701                3785                Various                                                                                         $1,103.08
MILES BEVERAGE                    PO BOX 186                                                     AFTON             WY         83110-0186           6161                Various                                                                                         $2,296.71
MILES EXWORTHY                    237 GALE ST APT 11                                             OCONTO            WI         54153                6004                Various                                                                                            $20.00
MILES L MELIUS                    301 N FOREST ST                                                WITTEN            SD         57584                6002                Various                                                                                             $0.55
MILFORD TADDER                    874 E MCKEARN LN                                               BELOIT            WI         53511                6002                Various                                                                                             $7.18
MILIBORKA MAGAZIN                 1483 S 1420TH W                                                MURRAY            UT         84123                6002                Various                                                                                             $4.49
MILICENT LACHAPPELLE              418 MADISON ST                                                 STANLEY           WI         54768                6002                Various                                                                                             $6.90
MILISSA NEILSON                   2881 S 950TH W                                                 SYRACUSE          UT         84075                6002                Various                                                                                            $10.00
                                                             742 GRAND
MILL CREEK ENTERTAINMENT          C/O COULEE BANK            AVENUE                              ST PAUL           MN         55105-0000            4639               Various                                                                                           $869.74
MILLA WIDMAR                      1551 W WARREN ST                                               BOISE             ID         83706                 6002               Various                                                                                             $6.68
MILLARD COUNTY CHRONICLE PROGR    PO BOX 249                                                     DELTA             UT         84624                 2978               Various                                                                                           $600.00
MILLER FAMILY                     1220 17TH ST S                                                 LA CROSSE         WI         54601                 6002               Various                                                                                             $0.38

MILLER/ CHRISTINA                 STORE 4-014                SHOPKO EMPLOYEE                     GREEN BAY         WI         54307-9060            7715               Various                                                                                               $48.74

MILLER/ MARCIA                    STORE 2-065                SHOPKO EMPLOYEE                     GREEN BAY         WI         54307-9060            4578               Various                                                                                             $9.10
MILLIE BROUGHTON                  916 LONGVIEW DR                                                MISSOURI VALLEY   IA         51555                 6002               Various                                                                                             $6.19
MILLIE MORRIS                     PO BOX 102                                                     WEIPPE            ID         83553                 6002               Various                                                                                             $4.77
MILLIE SMIDT                      3309 220TH AVE                                                 TITONKA           IA         50480                 6002               Various                                                                                             $7.32
MILLIE-K9(HUGO) FAMILY            2956 N 54TH ST                                                 OMAHA             NE         68104                 6002               Various                                                                                             $1.37
MILLIONS LAWN CARE                8005 EVANS STREET                                              OMAHA             NE         68134                 5713               Various                                                                                         $2,315.00
MILLY STOPPA                      4401 E 22ND AVENUE                                             SPOKANE           WA         99223                 6004               Various                                                                                            $10.00
MILO BALL                         809 PARK DR                                                    LEWISTON          ID         83501                 6002               Various                                                                                             $6.63
MILTON C OLSON                    5778 SECOND ST H                                               MEARS             MI         49436                 6002               Various                                                                                             $7.01
                                  4731 N HARMONY TOWN HALL
MILTON E WENDLER                  RD                                                             JANESVILLE        WI         53546                  6002              Various                                                                                                $0.79




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                                                                                    Schedule E/F: Part 2 - Creditors With Nonpriority Unsecured Claims




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                                                                                                                                                                                                                           Unliquidated
                                                                                                                                                                                                              Contingent


                                                                                                                                                                                                                                          Disputed
                                                                                                                                                                     Last 4 Digits of     Date Debt was
                                                                                                                                                                        Account         Incurred, Basis for
              Creditor Name                       Address1                 Address2              Address3              City        State           Zip    Country       Number                Claim                                                                             Total Claim

MILTON KIRKSTEIN                        C/O KEVIN KIRKSTEIN            3236 N 9TH STREET                    MILWAUKEE         WI           53222                    6002                Various                                                                                               $13.29
MILTON WODSEDALEK                       901 HAMILTON ST                                                     MANITOWOC         WI           54220                    6002                Various                                                                                                $3.35
                                                                       N25 W23055 PAUL
MILWAUKEE CARPENTERS DISTRICT           COUNCIL HEALTH FUND            RD SUITE 2          PO BOX 670       PEWAUKEE          WI           53072                    6004                Various                                                                                           $250.00

MILWAUKEE CARPENTERS DISTRICT COUNCIL   N25 W23055 PAUL RD SUITE 2                                          PEWAUKEE          WI           53072                    6004                Various                                                                                           $101.85
MILY SUMMACH                            BOX 121                                                             OTTERBURNE        MB           R0A1G         CANADA     6002                Various                                                                                             $4.19
MIMI EDSON                              1326 S. UNION SQUARE                                                BOISE             ID           83709                    6004                Various                                                                                             $7.20
MIMI KHOURY                             13805 E 32ND AVE                                                    SPOKANE           WA           99216                    6004                Various                                                                                             $8.99
MIMZY(RABBIT SMALL                      PO BOX 2173                                                         N. MANKATO        MN           56003                    6002                Various                                                                                            $10.00
MINA VANEK                              187 MELROSE AVE                                                     POCATELLO         ID           83204                    6002                Various                                                                                             $8.03
MINDAUGAS STANKUNAS                     10620 LITTLE SISTER RD                                              SISTER BAY        WI           54234                    6002                Various                                                                                             $8.30
MINDEE LARSEN                           151 S CENTER ST                                                     WELLSVILLE        UT           84339                    6002                Various                                                                                            $10.00
MINDI ARMAS                             357 WEST RACINE ST                                                  JANESVILLE        WI           53548                    6004                Various                                                                                             $2.00
MINDI KEOWN                             606 E PEMBROKE ST                                                   TUSCOLA           IL           61953                    6002                Various                                                                                             $7.56
MINDI O'RIORDAN                         1031 MCKINLEY AVE                                                   POCATELLO         ID           83201                    6002                Various                                                                                             $2.52
MINDY BUCKWAY                           1020 MAPLE DR                                                       SPANISH FORK      UT           84660                    6002                Various                                                                                             $6.47
MINDY L GEER                            281 FINLEY ST                                                       JACKSONVILLE      IL           62650                    6002                Various                                                                                             $1.23
MINDY MECHAM                            2877 S 500TH E APT A                                                SALT LAKE         UT           84106                    6002                Various                                                                                             $6.19
MINDY OBERT                             2607 2ND AVE.                                                       MONROE            WI           53566                    6004                Various                                                                                            $33.60
MINDY PICKENS                           704 E SUMMIT ST                                                     DONIPHAN          MO           63935                    6002                Various                                                                                             $1.53
MINDY PUSER                             N9519 BALL PARK RD                                                  WAUSAUKEE         WI           54177                    6004                Various                                                                                             $3.00

MINDY WALES                             100 N WIND RIVER DR APT B104                                        DOUGLAS           WY           82633                    6002                Various                                                                                                $1.59

MINDY WEINRICH                          132 E CLEVELAND ST                                                  PORT WASHINGTON   WI           53074                    6002                Various                                                                                                $3.89
MINDY WIGGINS                           1419 NE MUSTANG DR                                                  ANDREWS           TX           79714                    6002                Various                                                                                                $3.89
MINDY WOODWARD                          7826 PASADENA AVE                                                   OMAHA             NE           68124                    6002                Various                                                                                                $6.49
MINERBA GALLEGOS                        2090 DAVIS DR APT 2                                                 BELVIDERE         IL           61008                    6002                Various                                                                                                $6.19
MINERVA FLAQUINTI                       51 E FIR DR                                                         SHELTON           WA           98584                    6004                Various                                                                                               $35.38
MINERVA ROSARIO VELEZ                   1340 PRIMROSE AVE              APT L                                NEENAH            WI           54956                    6004                Various                                                                                                $1.00
                                                                       4108 W SPRING
                                                                       CREEK PKWY SUITE
MINGTEL INC                             VICE PRESIDENT OF SALES        E300                                 PLANO             TX           75024                    4125                Various                                                                                     $1,511,191.02
MINNESOTA ELEVATOR INCORPORATE          PO BOX 0129                                                         ST CLAIR          MN           56080-0129               6598                Various                                                                                          $195.72
                                                                                                                                                                                        12/5/2018 -
MINNESOTA ENERGY RESOURCES              PO BOX 3140                                                         MILWAUKEE         WI           53201-3140               -1                  1/3/2019                                                                                        $5,598.70
                                                                                                                                                                                        12/2/2018 -
MINNESOTA POWER                         P.O. BOX 1001                                                       DULUTH            MN           55806-1001               1199                12/28/2018                                                                                      $9,477.58
MINNIE (ALIS MCKEE                      9527 S 1300TH W                                                     SOUTH JORDAN      UT           84095                    6002                Various                                                                                             $1.40
MINNIE ZANGER                           2101 S 24TH ST                                                      QUINCY            IL           62301                    6002                Various                                                                                             $1.18

MINZEL/ RUTH L                          STORE 2-761                    SHOPKO EMPLOYEE 205 BOYD AVENUE      NEWCASTLE         WY           82701                    8121                Various                                                                                               $45.00
MIQUEL PEREZ GONZALEZ                   PO BOX 664                                                          MADISON           NE           68748                    6004                Various                                                                                               $30.00
MIQUEL RIVERA                           AMERICAN INN                                                        EAU CLAIRE        WI           54701                    6002                Various                                                                                               $10.00
MIQUELE PACKER                          3756 S STABLE BAY DRIVE                                             MAGNA             UT           84044                    6004                Various                                                                                               $15.02
MIRACLE ROBINSON                        1817 GROSS AVENUE                                                   GREEN BAY         WI           54304                    6004                Various                                                                                                $3.00
MIRANDA BEAL                            178 3RD ST                                                          IDAHO FALLS       ID           83401                    6004                Various                                                                                               $20.02
MIRANDA BROWER                          2230 PLYMOUTH RD APT 101                                            HOPKINS           MN           55305                    6002                Various                                                                                               $10.00
MIRANDA BUCK                            2502 PARKWAY LN                                                     SCHOFIELD         WI           54476                    6002                Various                                                                                                $9.45
MIRANDA CARLSON                         1252 FRIENDSHIP DR                                                  JANESVILLE        WI           53546                    6004                Various                                                                                               $10.00
MIRANDA E WELLONS                       2217 HENRYANNA AVE                                                  IDAHO FALLS       ID           83404                    6002                Various                                                                                                $3.89
MIRANDA GLINSKI                         W3479 CTY RD G                                                      SEYMOUR           WI           54165                    6004                Various                                                                                               $23.00




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                                                                                                                             Co., LLC       02/22/19 18:08:20                Desc Main
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                                                                                Schedule E/F: Part 2 - Creditors With Nonpriority Unsecured Claims




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                                                                                                                                                             Account         Incurred, Basis for
            Creditor Name                    Address1                 Address2          Address3              City         State           Zip   Country     Number                Claim                                                                             Total Claim
MIRANDA KNUDSON                   2605 UNIVERSITY AVE            APT 8                               GREEN BAY          WI         54311                 6004                Various                                                                                                $4.00
MIRANDA LARSEN                    1728 COLFAX ST                                                     BLAIR              NE         68008                 6002                Various                                                                                                $5.18
MIRANDA MERIDTITH                 1528 HAMMOND AVE                                                   RICE LAKE          WI         54868                 6004                Various                                                                                               $15.00
MIRANDA MILLER                    75 COUNTRY MANOR CT                                                EAGLE LAKE         MN         56024                 6004                Various                                                                                               $23.00
MIRANDA NICHOLSON                 729 SOUTH WAGONER LANE                                             BILLINGS           MT         59105                 6004                Various                                                                                               $23.00
MIRANDA SABOTTA                   N3904 GRANDVIEW DRIVE                                              IRON MOUNTAIN      MI         49801                 6004                Various                                                                                                $5.00
MIRANDA SAMUELS                   755 N TRATT ST LOT 213                                             WHITEWATER         WI         53190                 6004                Various                                                                                                $2.00
MIRANDA SELVAGE                   1313 N 9TH ST                                                      BEATRICE           NE         68310                 6002                Various                                                                                                $0.99
MIRANDA SQUIRES                   PO BOX 1                                                           AHSAHKA            ID         83520                 6002                Various                                                                                                $2.74
MIRANDA STRAND                    308 12TH ST EAST APT B                                             KALISPELL          MT         59901                 6004                Various                                                                                                $8.97
MIRANDA TIMLER                    1120 PRAIRIE DR                UNIT 35                             RACINE             WI         53406                 6004                Various                                                                                               $25.00
MIRANDA WALTON                    5721 SO STONE FLOWER WAY                                           SALT LAKE CITY     UT         84118                 6004                Various                                                                                                $8.00
MIRAYDA CARRASQUILLO ROSA         330 3RD ST                                                         CHANDLER           MN         56122                 6002                Various                                                                                               $10.00

MIRELES/ JESSE                    STORE 4-056                    SHOPKO EMPLOYEE                     GREEN BAY          WI         54307-9060             1829               Various                                                                                               $19.62
MIREY HERRERA                     3001 N. UNION ST.                                                  APPLETON           WI         54911                  6004               Various                                                                                                $1.00
MIRIAM DUENAS                     1920 5TH STR                                                       WENATCHEE          WA         98801                  6004               Various                                                                                               $39.98
MIRIAM EDITH FUENTES-TORRES       318 N 5TH ST LOT 26                                                ABBOTSFORD         WI         54405                  6002               Various                                                                                                $6.03
MIRIAM HEADRICK                   7525 ENGLISH LAKE RD                                               MANITOWOC          WI         54220                  6002               Various                                                                                                $6.25
MIRIAM IXTUQUE                    58236 853RD RD                                                     WAKEFIELD          NE         68784                  6002               Various                                                                                               $10.00
MIRIAM RODRIGUEZ                  E 1130 STATE HIGHWAY 29                                            LUXEMBURG          WI         54217                  6004               Various                                                                                               $24.00
MIRIAM SABILLON                   1385 E WILSON AVE APT 12                                           ARCADIA            WI         54612                  6002               Various                                                                                                $8.33
MIRNA FLORES                      307 W 12TH ST APT 5                                                CRETE              NE         68333                  6002               Various                                                                                                $8.82
MIRNA RIOS VIDAL                  5072 S 48TH AVE                                                    OMAHA              NE         68117                  6004               Various                                                                                                $4.00
MIRRIEL CANDLER                   2931 CRESENT RIDGE TRAIL                                           SAINT CLOUD        MN         56301                  6004               Various                                                                                                $5.00
MIRSA MARTINEZ                    700 SW 8TH ST                                                      ANDREWS            TX         79714                  6002               Various                                                                                                $5.59
MIRSO BEGIC                       3918 CHESAPEAKE LN NW                                              ROCHESTER          MN         55901                  6004               Various                                                                                                $3.00
MIRYEONG PARK                     600 4TH ST                                                         HENRY              SD         57243                  6002               Various                                                                                                $9.29
MISCISIN BROTHERS INCORPORATED    3768 SOUTH HURON                                                   STANDISH           MI         48658                  4875               Various                                                                                               $80.00
MISDY GARLICK                     636 S 100TH E                                                      OREM               UT         84058                  6002               Various                                                                                                $5.75
MISS KITTY ( WEINKAUF             915 MT FAITH                                                       FERGUS FALLS       MN         56537                  6002               Various                                                                                                $0.38

MISSION PETS INC                  986 MISSION STREET 5TH FLOOR                                       SAN FRANCISCO      CA         94103                  9984               Various                                                                                       $108,659.61
MISSION PHARMACAL                 10999 IH 10 WEST STE 1000                                          SAN ANTONIO        TX         78230                  7921               Various                                                                                         $1,267.96
MISSOULA TEXTILE SERVICES         111 E SPRUCE                                                       MISSOULA           MT         59802                  7935               Various                                                                                          $181.76
MISSY BLESS                       8146 BURT ST                                                       OMAHA              NE         68124                  6002               Various                                                                                             $2.38
MISTEREE DAVIS                    2402 N 33RD                                                        OMAHA              NE         68111                  6004               Various                                                                                             $2.00
MISTI CAMERON                     762 N DESMET AVE                                                   BUFFALO            WY         82834                  6002               Various                                                                                             $0.74
MISTI MARIE HOWARD                5540 W 4260TH S                                                    WEST VALLEY CIT    UT         84120                  6002               Various                                                                                             $2.77
MISTI SANDON                      493 ROMA RD                                                        HELENA             MT         59602                  6002               Various                                                                                             $4.66
MISTY BERG                        325 W 6TH ST                                                       WINNER             SD         57580                  6002               Various                                                                                             $2.55
MISTY BRUSVEN                     PO BOX 43                                                          BROWNTON           MN         55312                  6002               Various                                                                                             $5.34
MISTY BUCHANAN                    3802 KEITH CIRCLE                                                  LINCOLN            NE         68521                  6004               Various                                                                                             $4.00
MISTY BUTTERFIELD                 120 N HAYES AVE                                                    NORTH PLATTE       NE         69101                  6002               Various                                                                                             $0.77
MISTY C WASS                      424 NEMAHA ST                                                      HUMBOLDT           NE         68376                  6002               Various                                                                                             $0.68
MISTY CUIN                        BOX 1155                                                           MOUNTAIN VIEW      WY         82939                  6002               Various                                                                                             $6.99
MISTY DAVIS                       9323 POLIFKA RD                                                    WHITELAW           WI         54247                  6002               Various                                                                                             $9.23

MISTY FLINK                       1211 WEST GRAND AVE                                                WISCONSIN RAPIDS   WI         54495                  6004               Various                                                                                                $1.00
MISTY FREDERICK                   2420 STONE ST                                                      FALLS CITY         NE         68355                  6002               Various                                                                                                $2.77
MISTY GROVE                       114 E 9TH AVE                                                      MITCHELL           SD         57301                  6002               Various                                                                                                $8.99
MISTY HARRINGTON                  BOX 697                                                            NEWCASTLE          WY         82701                  6002               Various                                                                                                $6.74
MISTY HARRIS                      2224 HWY 87 E #63                                                  BILLINGS           MT         59101                  6004               Various                                                                                                $2.00
MISTY HOWELL                      10025 N 6800TH W                                                   TREMONTON          UT         84337                  6002               Various                                                                                                $4.38




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              Creditor Name                   Address1              Address2           Address3              City      State         Zip    Country     Number                Claim                                                                             Total Claim
MISTY HUNTER                      2021 W 2ND ST #807                                                DULUTH          MN         55806                6004                Various                                                                                             $3.00
MISTY JACKSON                     1106 S DULUTH AVE                                                 SIOUX FALLS     SD         57105                6002                Various                                                                                             $4.30
MISTY L MEEKER                    209 N DAVIESS ST                                                  GALLATIN        MO         64640                6002                Various                                                                                             $8.30
MISTY L NEMITZ                    229 S ADAMS ST                                                    LANCASTER       WI         53813                6002                Various                                                                                             $0.60
MISTY L WISNIEWSKI                N15630 RAWADKA AVE                                                CURTISS         WI         54422                6002                Various                                                                                             $5.34
MISTY LASCANO                     1016 HARSHMAN ST LOT 6                                            RAWLINS         WY         82301                6002                Various                                                                                             $4.27
MISTY MANN                        LAKE RD # 10 PMB BULL                                             CROWHEART       WY         82512                6002                Various                                                                                             $5.45
MISTY MARTIN                      1708 WINNEBAGO ST                                                 LA CROSSE       WI         54601                6004                Various                                                                                             $5.91
MISTY MAX                         2556 CROWN POINT AVE                                              OMAHA           NE         68111                6004                Various                                                                                             $4.00
MISTY MCKEE                       6505 SOUTH CANYON ROAD                                            RAPID CITY      SD         57702                6004                Various                                                                                            $10.00
MISTY MYERS                       1607 CEDAR ST                                                     STURGIS         SD         57785                6002                Various                                                                                             $5.59
MISTY NELSEN                      461 HILLCREST DRIVE                                               GLENVILLE       MN         56036                9921                Various                                                                                            $63.99
MISTY REINHART                    808 E PEMBROKE ST APT 3                                           TUSCOLA         IL         61953                6002                Various                                                                                             $9.21
MISTY SHARER                      296 AMANDA LYNN LANE                                              MIDVALE         UT         84047                6004                Various                                                                                            $24.00
MISTY TROUT                       1832 SWEETWATER AVE                                               ALLIANCE        NE         69301                6002                Various                                                                                             $4.41
MISTY WATKINS                     1430 HAINES AVE                                                   RAPID CITY      SD         57701                6002                Various                                                                                             $9.67
MISTY WOOTERS                     PO BOX 36                                                         MERNA           NE         68856                6002                Various                                                                                             $0.47
MITCHEL JOHNSON                   1414 W WASHINGTON ST                                              APPLETON        WI         54914                6004                Various                                                                                             $3.00
MITCHELL A KRAKOW                 W2725 ENGLEWOOD RD                                                COLUMBUS        WI         53925                6002                Various                                                                                             $0.88
MITCHELL ATENCIO                  8466 S 1380 W                                                     WEST JORDAN     UT         84088                6004                Various                                                                                            $12.98
MITCHELL FULSHER                  221 BLEMHUBER AVE                                                 MARQUETTE       MI         49855                6002                Various                                                                                             $1.04
MITCHELL GONDREAU                 321 MCKINLEY AVE                                                  N MANKATO       MN         56001                6002                Various                                                                                             $3.61
MITCHELL KELLER                   W1045 HWY DW                                                      THERESA         WI         53091                6004                Various                                                                                            $24.95
MITCHELL KEMPFERT                 4122 13TH AVE NW                                                  ROCHESTER       MN         55901                6002                Various                                                                                             $3.01
MITCHELL MELNYCZUK                N403 ARBUTUS DR                                                   NEILLSVILLE     WI         54456                6002                Various                                                                                             $2.41
MITCHELL MORETZ                   206 14TH ST S                                                     NORTHWOOD       IA         50459                6004                Various                                                                                            $60.00
MITCHELL REIERSON                 1703 JUDY DR                                                      MOSINEE         WI         54455                6002                Various                                                                                             $8.74
MITCHELL SCHNEIDER                537 SE 4TH ST                                                     MADISON         SD         57042                6002                Various                                                                                             $7.86
MITCHELL TOOKE                    2240 S AVE                                                        LA CROSSE       WI         54601                6002                Various                                                                                             $2.33
MITCHELL VANWORMER                N6221 HWY 22                                                      PARDEEVILLE     WI         53954                6004                Various                                                                                            $46.00
MITCHELL WILSON                   E5898 COUNTY ROAD GG                                              WESTBY          WI         54667                6004                Various                                                                                            $10.00
MITCHELL WOOLEVER                 116 BUE STREET                                                    DEERFIELD       WI         53531                6004                Various                                                                                             $4.63
MITCHELLE TAZIFUA                 914 LAURIE DR                                                     MADISON         WI         53711                6004                Various                                                                                             $5.40
MITZI BAUSTIAN                    186 90TH AVE                                                      JASPER          MN         56144                6002                Various                                                                                             $0.49
MIYA AYALA                        116 SOUTH GALENA STREET                                           MOXEE           WA         98936                6004                Various                                                                                             $5.00
MIYAH OSHEFSKY                    1024 N LOCUST ST                                                  GREEN BAY       WI         54303                6004                Various                                                                                             $3.00
MJ DALSIN                         1008 W DELAWARE ST.                                               SIOUX FALLS     SD         57104                                    Various                                                                                         $2,689.51
MJ HOLDING COMPANY LLC (SBT)      7001 SOUTH HARLEM AVENUE                                          BEDFORD PARK    IL         60638                 6658               Various                                                                                       $464,480.40
MJC INTERNATIONAL GROUP L L C     25 PARK PLACE                                                     BRISBANE        CA         94005                 9540               Various                                                                                        $72,070.76
MJM JEWELRY CORP                  29 W 38TH STREET 16TH FLOOR                                       NEW YORK        NY         10018                 3910               Various                                                                                        $65,341.75
MOBILE MINI                       PO BOX 650882                                                     DALLAS          TX         75265-0882            5287               Various                                                                                        $27,464.35
MOBILE STOR INCORPORATED          PO BOX 80601                                                      BILLINGS        MT         59108-0601            4137               Various                                                                                          $187.50
MOBILE STORAGE RENTALS INCORPO    2830 EGLIN STREET                                                 RAPID CITY      SD         57703                 3905               Various                                                                                          $383.40
MOBILESSENTIALS LLC               3905 CIRCLE DRIVE                                                 HOLMEN          WI         54636                 8180               Various                                                                                       $334,699.68
MOBRIDGE GAS COMPANY              1421 WEST GRAND CROSSING                                          MOBRIDGE        SD         57601                 8862               Various                                                                                         $8,153.66
MOBRIDGE ROTARY CLUB              517 CRESCENT STREET                                               MOBRIDGE        SD         57601                 3597               Various                                                                                            $50.00
MODA                              PO BOX 40384                                                      PORTLAND        OR         97240                 6004               Various                                                                                          $172.48
MODA HEALTH                       PO BOX 40384                                                      PORTLAND        OR         97240                 6004               Various                                                                                          $135.00
MODA HEALTH PLANS                 PO BOX 40384                                                      PORTLAND        OR         97240                 6004               Various                                                                                            $99.03
MODEEN MUSEITEF                   7301 98 AVE UNIT G                                                KENOSHA         WI         53142                 6004               Various                                                                                            $10.00

MODER/ TARA                       STORE 2-615                   SHOPKO EMPLOYEE 291 S MAIN STREET   CLINTONVILLE    WI         54929                 3757               Various                                                                                            $17.66
MODERN MARKETING CONCEPTS INC     8600 SOLUTION CENTER                                              CHICAGO         IL         60677-8006            5455               Various                                                                                         $6,011.70
MODERN OPTICAL INTERNATIONAL      585 CONGRESS CIRCLE NORTH     PO BOX 72360                        ROSELLE         IL         60172-0360            6379               Various                                                                                         $1,473.85




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MODERN WASTE                 PO BOX 275                                                       NAPOLEON         MI         49261                                     Various                                                                                            $504.00
MODERNISTIC                  LOCKBOX 6633                 PO BOX 9438                         MINNEAPOLIS      MN         55440-9438             1247               Various                                                                                        $160,928.92
MODESTA BUENO ESPINO         1538 SPRING AVE., TRLR #58                                       WORTHINGTON      MN         56187                  6004               Various                                                                                              $3.00
MODULA4 INCORPORATED         720 A STREET                 3RD FLOOR                           SAN RAFAEL       CA         94901-3923             2527               Various                                                                                          $5,000.00
                             12603 COLLECTIONS CENTER
MODULAR SPACE CORPORATOIN    DRIVE                                                            CHICAGO          IL         60693-0126             6281               Various                                                                                          $148.26
MOHAMAD BARAEI               5451 SO YORK ST                                                  SALT LAKE CITY   UT         84117                  6002               Various                                                                                             $2.99
MOHAMED AHMED                1505 MARION RD SE            APT 101                             ROCHESTER        MN         55904                  6004               Various                                                                                             $6.00
MOHAMED ALI                  1015 41ST ST NW                                                  ROCHESTER        MN         55901                  6004               Various                                                                                             $3.00
MOHAMED COLAAD               419 33RD AVE. N.             APT 201                             SAINT CLOUD      MN         56303                  6004               Various                                                                                             $3.00
MOHAMED FARAH                931 41ST ST NW               APT 106                             ROCHESTER        MN         55901                  6004               Various                                                                                             $3.00
MOHAMED MOHAMED              2839 59TH ST NW                                                  ROCHESTER        MN         55901                  6004               Various                                                                                             $3.00
MOHAMED YUSUF                5515 26TH AVE NW                                                 ROCHESTER        MN         55901                  6004               Various                                                                                             $1.00
MOHAMMAD AL EBEDAN           1248 SE LATAH ST UNIT 1                                          MOSCOW           ID         83843                  6004               Various                                                                                            $12.96
MOHAMMAD AL-OMARI            4433LILAC COURT #U107                                            SHEBOYGAN        WI         53081                  6004               Various                                                                                             $5.02
MOHAMMED H ALFREJI           1932 W. STATE ST                                                 BOISE            ID         83702                  6002               Various                                                                                             $8.93
MOHAMUD-SHAFI ISSA           2048 50TH STREET NW                                              ROCHESTER        MN         55901                  6004               Various                                                                                             $3.00
MOHAWK FACTORING LLC         PO BOX 845059                                                    LOS ANGELES      CA         90084-5059             0663               Various                                                                                        $16,293.73
MOISES ESPEJO CALLAHAN       1137 CHERRY ST                                                   GREEN BAY        WI         54301                  6004               Various                                                                                             $1.00
MOISES HERNANDEZ             1440 BURLINGTON AVE APT 6                                        WORTHINGTON      MN         56187                  6002               Various                                                                                             $6.99
MOISES RAMIREZ               329 N PIONEER AVE                                                LYONS            KS         67554                  6002               Various                                                                                             $4.66
MOJILENE BUCSIS              2174 W SHAWNA AVE                                                COEUR D ALENE    ID         83815                  6002               Various                                                                                             $6.63

                                                          2222 WELLINGTON
MOLEX INCORPORATED           ACCOUNTS PAYABLE             COURT                               LISLE            IL         60532                  6004               Various                                                                                         $2,361.28

                                                          2222 WELLINGTON
MOLEX LLC                    ACCOUNTS PAYABLE             COURT                               LISLE            IL         60532                  6004               Various                                                                                          $134.13
MOLLEE ZAHURONES             609 1/2 BROADWAY ST                                              EAU CLAIRE       WI         54703                  6004               Various                                                                                            $60.00
MOLLIE BURKE                 33485 K18S                                                       SIOUX CITY       IA         51108                  6002               Various                                                                                             $0.38
MOLLIE KUHLMAN               2701 S. 12TH                                                     LINCOLN          NE         68502                  6004               Various                                                                                             $2.00
MOLLIE MAE(D FEUERHELM       1618 TRAVIS ST                                                   LA CROSSE        WI         54601                  6002               Various                                                                                             $6.71
MOLLIE OSBORNE               10969 STATE HWY 54                                               AMHERST          WI         54406                  6004               Various                                                                                             $1.00
MOLLIE PIGEON                1983 SWAN RD APT 814                                             DE PERE          WI         54115                  6002               Various                                                                                             $2.85
MOLLIE SCHOEN                W11327 CTY RD D                                                  MARION           WI         54950                  6002               Various                                                                                             $1.78
MOLLIE SPENCER               2461 N MAIN ST               APT 5                               OSHKOSH          WI         54901                  6004               Various                                                                                            $20.00
MOLLY (FELIN KILP            2820 DICKENSON RD                                                DEPERE           WI         54115                  6002               Various                                                                                             $6.36
MOLLY BAIRD                  6727 S 34TH ST                                                   LINCOLN          NE         68516                  6004               Various                                                                                             $5.02
MOLLY BREKKE                 W5115 BLUE HERON COURT                                           SHERWOOD         WI         54169                  6004               Various                                                                                         $1,246.76
MOLLY BURKHOLDER             PO BOX 206                                                       KENSETT          IA         50448                  6004               Various                                                                                            $15.00
MOLLY DOBRATZ                W6227 SHERWOOD POINT CT                                          GREENVILLE       WI         54942                  6002               Various                                                                                             $3.86
MOLLY DOLLE                  1909 PITCHER ST                                                  NEILLSVILLE      WI         54456                  6002               Various                                                                                             $5.92
MOLLY DOYLE                  1326 MASON LN                                                    WINCHESTER       IL         62694                  6004               Various                                                                                             $2.58
MOLLY HELMICK                72791 638TH AVE                                                  AUBURN           NE         68305                  6002               Various                                                                                             $0.44
MOLLY KNUTSON                W1598 RADER RD                                                   MARINETTE        WI         54143                  6002               Various                                                                                             $4.30
MOLLY LARSEN                 1159 BREEZEWOOD LN                                               NEENAH           WI         54956                  6002               Various                                                                                             $0.47
MOLLY LAWRENCE               2025 RIPON AVE                                                   LEWISTON         ID         83501                  6002               Various                                                                                             $5.64
MOLLY MELLICK                285 RESERVOIR DRIVE                                              LEWISTON         ID         83501                  6004               Various                                                                                            $15.00
MOLLY MOEN                   544 17TH ST                                                      DALLAS           WI         54733                  6004               Various                                                                                             $5.00
MOLLY OLNEY                  22 RUSSEL PARK                                                   MISSOULA         MT         59801                  6004               Various                                                                                             $2.00
MOLLY PALMER                 88897 434TH AVE                                                  LONG PINE        NE         69217                  6002               Various                                                                                             $2.85
MOLLY PETERSEN               RR 2 BOX 32                                                      AVOCA            IA         51521                  6002               Various                                                                                             $4.63
MOLLY RIEKE                  1006 BUSH CT SW                                                  EYOTA            MN         55934                  6002               Various                                                                                             $0.49
MOLLY SHELLY                 206 N DECKER ST                                                  MAQUOKETA        IA         52060                  6004               Various                                                                                             $5.02




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                                                                                                                                                                                              Contingent


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                                                                                                                                                     Last 4 Digits of     Date Debt was
                                                                                                                                                        Account         Incurred, Basis for
             Creditor Name                     Address1            Address2          Address3             City        State           Zip   Country     Number                Claim                                                                             Total Claim
MOLLY SLENDER                      2036 N GILBERT RD APT 112                                      MESA             AZ         85203                 6002                Various                                                                                             $0.60
MOLLY SO                           306 27TH ST APT 3                                              AUSTIN           MN         55912                 6004                Various                                                                                             $3.00
MOLLY TWINING                      95 ALLEN ST                                                    NEWAYGO          MI         49337                 6002                Various                                                                                             $6.58
MOLLY WITTENBERG                   2515 FIRST AVE W                                               LA CROSSE        WI         54603                 6004                Various                                                                                            $19.00
MONA CHEN                          10468 S FEATHERWOOD                                            S.JORDAN         UT         84095                 6004                Various                                                                                             $9.99
MONA MENDELL                       525 GREENS COULEE RD                                           ONALASKA         WI         54650                 6002                Various                                                                                             $3.23
MONA PHILLIPS                      8726 BURT ST                                                   OMAHA            NE         68114                 6004                Various                                                                                            $15.02
MONDELEZ GLOBAL                    PO BOX 92597                                                   CHICAGO          IL         60675                 0129                Various                                                                                        $90,602.87
                                   150 MOUNT BETHEL ROAD BLDG
MONDOTTICA USA LLC                 2                                                              WARREN           NJ         07059                  1434               Various                                                                                        $40,493.91
MONETTE CASH                       9 WINDSONG                                                     SANDY            UT         84092                  6002               Various                                                                                             $2.00
MONG QUANG DO                      738 50TH AVE NW                                                ROCHESTER        MN         55901                  6004               Various                                                                                             $8.24
MONG YANG                          2312 SOUTH WOOD DRIVE                                          APPLETON         WI         54914                  6004               Various                                                                                            $23.00
MONICA ALVAREZ                     620 W 9TH ST                                                   BELVIDERE        IL         61008                  6004               Various                                                                                             $3.90
MONICA CANNON                      1706 ST AGNES DR                                               GREEN BAY        WI         54304                  6004               Various                                                                                             $1.00
MONICA CARRILLO                    244 ADAMS AVE              #E104                               OGDEN            UT         84401                  6004               Various                                                                                            $15.00
MONICA CASIQUE                     3005 WESTWOOD DRIVE                                            JANESVILLE       WI         53548                  6004               Various                                                                                             $1.00
MONICA CASTILLO                    4661 ATTICUS WAY APT 103                                       MADISON          WI         53711                  6002               Various                                                                                             $0.82
MONICA DUFFNEY                     32206 COUNTY ROAD 105                                          AITKIN           MN         56431                  6002               Various                                                                                             $7.34
MONICA FOGARTY                     2731 SUMMERSET CR                                              SUAMICO          WI         54173                  6002               Various                                                                                             $2.00
MONICA FRAUSTO                     3324 THURBER AVE.                                              MADISON          WI         53714                  6004               Various                                                                                             $4.00
                                   100 S LOCUST GROVE RD UNIT
MONICA HERNANDEZ                   A104                                                           MERIDIAN         ID         83642                   6004              Various                                                                                               $24.00
MONICA KITTRELL                    PO BOX 82                                                      KILGORE          NE         69216                   6002              Various                                                                                                $1.15
MONICA KOEDDING                    4219 S. HOGAN ST                                               SPOKANE          WA         99203                   6004              Various                                                                                               $14.00
MONICA LEYVA                       1214 GARFIELD AVE # 2                                          YAKIMA           WA         98902                   6004              Various                                                                                               $19.99
MONICA LINDEMANN                   104 DONITA AVE                                                 MARSHALL         MN         56258                   6002              Various                                                                                                $6.16
MONICA LUSH                        9 CENTENIAL                                                    FRANKLIN         IL         62638                   6004              Various                                                                                                $4.00
MONICA MEZA                        215 S NACHES AVE                                               YAKIMA           WA         98901                   6004              Various                                                                                                $2.00
MONICA MONTANO                     165 N MAIN ST                                                  CLINTONVILLE     WI         54929                   6002              Various                                                                                                $5.26
MONICA MORLOCK                     34677 CR119                                                    SIDNEY           MT         59270                   6002              Various                                                                                                $2.96
MONICA PEKOL                       16839 W CROFT ROAD                                             EVANSVILLE       WI         53536                   6004              Various                                                                                               $10.00
MONICA POTRATZ                     2416 DUNBLAIN DR                                               RAWLINS          WY         82301                   6002              Various                                                                                                $3.51
MONICA POTTHOFF                    801 BLACKWELL ST                                               KAUKAUNA         WI         54130                   6002              Various                                                                                                $6.14

MONICA RUZIC                       N8172 STATE HIGHWAY 73 # CAR                                   GREENWOOD        WI         54437                  6002               Various                                                                                                $6.55
MONICA SKUBAL                      3067 WOODLAND RESERVE LN                                       GREEN BAY        WI         54313                  6002               Various                                                                                                $7.29
MONICA STENSBY                     413 NORTH 4TH ST APT 605                                       MANKATO          MN         56001                  6004               Various                                                                                               $43.09
MONICA TOMASELLO                   68 ORCHARD STREET                                              WILLIAMS BAY     WI         53191                  6004               Various                                                                                               $44.02
MONICA VANCE                       216 DEER VALLEY RD                                             MADISON          WI         53713                  6004               Various                                                                                                $3.00
MONIKA GIAMBRUNO                   3534 NORTH 1000 EAST                                           BUHL             ID         83316                  6004               Various                                                                                               $23.00
MONIKA WOOLSTENHULME               2605 S 600TH W                                                 NIBLEY           UT         84321                  6002               Various                                                                                                $1.23
MONIKA YERGEAU                     8070 E WOLCOTT CT                                              NAMPA            ID         83687                  6002               Various                                                                                                $2.74
MONIQUE HANSON-NEWMAN              2413 N 13TH ST.                                                COEUR D ALENE    ID         83814                  6004               Various                                                                                               $10.10
MONIQUE LOGAN                      1819 ABERG AVE                                                 MADISON          WI         53704                  6004               Various                                                                                                $3.00
MONIQUE MARTINEZ                   500 E MAIN                                                     JEROME           ID         83338                  6004               Various                                                                                                $3.65
MONIQUE MIMS                       1933 NORTHPORT DRIVE #11                                       MADISON          WI         53704                  6004               Various                                                                                                $1.00
MONIQUE PALOMAREZ                  9416 W ARGENT                                                  PASCO            WA         99301                  6004               Various                                                                                                $9.50
MONIQUE REICHOFF                   12340 COUNTY D                                                 BANCROFT         WI         54921                  6004               Various                                                                                               $17.25
MONIQUE WILKERSON                  5480 COUNTY RD A                                               BROOKLYN         WI         53521                  6004               Various                                                                                                $2.00
                                   ATTN ACCOUNTS PAYABLE
MONOGRAM SYSTEMS                   REFUND                       PO BOX 11189                      CARSON           CA         90749                   6004              Various                                                                                           $149.97
MONONA PLUMBING AND FIRE PROTECTION
INC                                 3126 WATFORD WAY                                              MADISON          WI         53713                                     Various                                                                                         $1,923.72




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                                                                                                                                                          Account         Incurred, Basis for
            Creditor Name                    Address1               Address2         Address3            City          State           Zip   Country      Number                Claim                                                                             Total Claim
                                                                                                                                                                          9/15/2018 -
MONONA WATER UTILITY               5211 SCHLUTER ROAD                                             MONONA          WI           53716                   1                  12/10/2018                                                                                      $3,915.58
MONOPRICE INCORPORATED             PO BOX 740417                                                  LOS ANGELES     CA           90074-0417              6162               Various                                                                                          $943.48
MONROE COUNTY CARE CENTER          47045 MOORE RIDGE ROAD                                         WOODSFIELD      OH           43793                   6666               Various                                                                                          $184.36
MONTANA DEPARTMENT OF REVENUE      REGISTRATION & LICENSING    PO BOX 1712                        HELENA          MT           59624-1712              2930               Various                                                                                          $381.75
MONTANA LOTTERY                    2525 N MONTANA AVENUE                                          HELENA          MT           59601-0542              5016               Various                                                                                            $50.00
MONTANA WATTS                      1618 MILES AVENUE                                              BILLINGS        MT           59102                   6004               Various                                                                                            $14.24
                                   P.O. BOX 5600 @ MDU                                                                                                                    12/4/2018 -
MONTANA-DAKOTA UTILITIES CO.       RESOURCES GROUP, INC                                           BISMARCK        ND           58506-5600              000 2              1/3/2019                                                                                        $5,565.22
MONTE D SIERKS                     42312 MIDDLE LOUP                                              DUNNING         NE           68833                   6002               Various                                                                                             $4.47
MONTE J COLE                       128 E WISCONSIN AVE                                            TOMAHAWK        WI           54487                   6002               Various                                                                                             $6.85
MONTE L HAMILTON                   2308 TUNNEL RD                                                 WHEATLAND       WY           82201                   6002               Various                                                                                             $2.47
MONTE PERRYMAN                     134 SOMERSET DR                                                KALISPELL       MT           59901                   6002               Various                                                                                             $6.38
MONTE PHILLIPS                     128 WASHINGTON ST                                              DONIPHAN        MO           63935                   6002               Various                                                                                             $3.10
MONTEZ VELLEMAN                    1318 INVERNESS LN                                              NEENAH          WI           54956                   6002               Various                                                                                             $7.53
MONTGOMERY HILDERBRAND             3326 MAIN STREET RD                                            STANDISH        MI           48658                   6002               Various                                                                                             $7.34
MONTGOMERY Z MALOLEY               2127 S 80TH AVE                                                OMAHA           NE           68124                   6002               Various                                                                                             $7.53
MONTICELLO CHAMBER OF COMMERCE     PO BOX 313                                                     MONTICELLO      IL           61856                   6709               Various                                                                                            $15.62
MONTY GRASSWICK                    6111 18 AVE                                                    KENOSHA         WI           53143                   6004               Various                                                                                             $1.00
MONTY HOGAN                        2022 FLORENCE AVE                                              SIOUX CITY      IA           51109                   6002               Various                                                                                             $1.62
MONTY MECHAM                       924 MARGARET ST                                                POCATELLO       ID           83202                   6002               Various                                                                                             $3.42
MONTY PONCELET                     1701 N MAIN # C-7                                              MITCHELL        SD           57301                   6002               Various                                                                                             $6.00
MONUMENT WASTE SERVICES            2295 S N HWY 191                                               MOAB            UT           84532                                      Various                                                                                         $3,424.00
MOONBEAM BARKER                    1411 E MARHILL RD                                              GREEN BAY       WI           54313                   6002               Various                                                                                             $1.53

MOORE/ JANICE                      STORE 001                   SHOPKO EMPLOYEE                    GREEN BAY       WI           54307-9060              5596               Various                                                                                               $10.36
MOOSE (THE D NELSON                3317 LOTHEVILLE RD                                             MADISON         WI           53704                   6002               Various                                                                                                $4.71
                                                                                                                                                                          11/20/2018 -
MOOSE LAKE WATER & LIGHT COMMISSION PO BOX 418                                                    MOOSE LAKE      MN           55767                   0-00-0             12/26/2018                                                                                      $3,068.87
MOOVIN MILK                         VICE PRESIDENT OF SALES     PO BOX 944                        LIBBY           MT           59923-9327              2299               Various                                                                                          $847.56
                                    1711 MEADOWBROOK DR APT
MOR VANG                            106                                                           MANITOWOC       WI           54220                   6002               Various                                                                                                $3.33

MORAD A POUR HEIDARI               71 GRANDE VALLEY AVE SW UNIT                                   ROCHESTER       MN           55902                   6002               Various                                                                                             $2.68
MORELLIS DISTRIBUTING              VICE PRESIDENT OF SALES      PO BOX 1517                       MINOT           ND           58701                   3404               Various                                                                                           $793.60
MORGAN A SCHAEFER                  4589 IDEWILD LOOP                                              COEUR D ALENE   ID           83814                   6002               Various                                                                                             $2.11
MORGAN BLUM                        522 S. DOE DR.                                                 BELOIT          WI           53511                   6004               Various                                                                                            $17.98
MORGAN CUMMINGS                    PO BOX 232                                                     HULETT          WY           82720                   6004               Various                                                                                            $19.97
MORGAN DICKMAN                     305 1ST AVE NW APT 2D                                          AUSTIN          MN           55912                   6004               Various                                                                                            $76.50
MORGAN DZIOBA                      2224 JACKSON ST                                                STOUGHTON       WI           53589                   6004               Various                                                                                             $5.00
MORGAN E DIRKS                     1766 15TH AVE                                                  BARRON          WI           54812                   6002               Various                                                                                             $2.77
MORGAN EDDINS                      224 CHATFIELD STREET N       PO BOX 142                        DOVER           MN           55929                   6004               Various                                                                                             $6.00
MORGAN HOLZ                        3722 SO 116 ST                                                 OMAHA           NE           68144                   6004               Various                                                                                            $12.00
MORGAN KOLODZIENSKI                N6625 570TH ST                                                 BELDENVILLE     WI           54003                   6002               Various                                                                                             $1.78
MORGAN KOPITZKE                    35 WEST 9TH                                                    OSHKOSH         WI           54902                   6004               Various                                                                                             $3.20
MORGAN KRETLOW                     1643 WASHINGTON ST                                             GRAFTON         WI           53024                   6004               Various                                                                                             $6.00
MORGAN LORD                        3651 SOMMERS RD                                                COLFAX          WA           99111                   6004               Various                                                                                            $17.10
MORGAN MENDENALL                   227 MILWAUKEE AVE EAST                                         FORT ATKINSON   WI           53538                   6004               Various                                                                                             $2.00
MORGAN MILLER                      N2543 OLD HWY 73 APT 2                                         COLUMBUS        WI           53925                   6004               Various                                                                                            $51.98
MORGAN N PUGSLEY                   8028 65TH AVE                                                  PRINCETON       MN           55371                   6002               Various                                                                                             $7.18
MORGAN RILEY                       1019 18TH ST                                                   WISNER          NE           68791                   6002               Various                                                                                             $0.41
MORGAN SCHRAM                      2891 SEAFARER WAY                                              SUAMICO         WI           54173                   6004               Various                                                                                            $18.00
MORGAN SEIFERT                     W12532 HWY 10                                                  PRESCOTT        WI           54021                   6004               Various                                                                                            $22.00
MORGAN SIEBRANDT                   1428 23RD RD                                                   BANCROFT        NE           68004                   6002               Various                                                                                             $2.71




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                                                                                                                                                         Last 4 Digits of     Date Debt was
                                                                                                                                                            Account         Incurred, Basis for
            Creditor Name                        Address1              Address2          Address3             City        State           Zip   Country     Number                Claim                                                                             Total Claim
MORGAN SONDELSKI                     15301 CTY RD S                                                   ATHENS           WI         54411                 6004                Various                                                                                             $1.80
MORGAN T. RACHUY                     409 PARK ST                                                      FULDA            MN         56131                 6002                Various                                                                                             $8.93
MORGAN WENZEL                        801 N HARRINGTON AVE 11                                          SIOUX FALLS      SD         57103                 6004                Various                                                                                             $6.00
MORGAN WILSON                        933 SOUTH ST                                                     WATERTOWN        WI         53094                 6004                Various                                                                                             $9.00
MORGAN ZEUTZIUS                      N12059 HILLSIDE RD                                               WAUSAUKEE        WI         54177                 6004                Various                                                                                             $3.00
MORGANN W ADAN                       630 PRESTON AVE APT D                                            LEWISTON         ID         83501                 6002                Various                                                                                             $0.30
MORGEN HANSEN                        1611 HYDE AVE.                                                   LA CROSSE        WI         54601                 6004                Various                                                                                             $4.40
MORGHAN MAHONEY                      302 S WATER ST                                                   WARREN           IL         61087                 6004                Various                                                                                            $21.00
MORIAH BOGGS                         608 FREDRICK ST                                                  STEVENS POINT    WI         54481                 6002                Various                                                                                             $7.48
MORIAH BURCHARD                      738 GRANITE AVE                                                  SHELBY           MT         59474                 6002                Various                                                                                             $2.08
MORING DISPOSAL                      PO BOX 158                                                       FORRESTON        IL         61030                                     Various                                                                                           $999.20
MORRI FAGER                          631 PINE ST                                                      GOODING          ID         83330                  6004               Various                                                                                            $30.00
MORRIS COOP ASSN                     1000 ATLANTIC AVENUE                                             MORRIS           MN         56267                  4164               Various                                                                                           $200.00
MORRIS MEDIA OF MONROE               1065 4TH AVE WEST                                                MONROE           WI         53566                  4869               Various                                                                                           $190.75
                                                                  444 WEST LAKE
MORTON SALT COMPANY                  VICE PRESIDENT OF SALES      STREET STE 3000                     CHICAGO          IL         60606-0000             3972               Various                                                                                       $189,338.28
MOSENFELDER(K-9) FAMILY              N3610 COUNTY ROAD EE                                             APPLETON         WI         54913                  6002               Various                                                                                             $7.53
MOSES PEREZ                          7036 GATEWAY BLVD                                                BELOIT           WI         53511                  6004               Various                                                                                            $55.60
MOSS ROOFING & INSULATION INCO       310 HIGHWAY 150 S                                                WEST UNION       IA         52175                  4170               Various                                                                                       $213,950.02
MOSS ROOFING & INSULATION, INC.      310 HWY 150 SOUTH                                                WEST UNION       IA         52175                                     Various                                                                                         $1,025.00
MOULTON BELLINGHAM PC                PO BOX 2559                                                      BILLINGS         MT         59103-2559              2143              Various                                                                                         $1,728.00
MOUNTAIN TOP LAWN CARE               1095 HOMERUN                                                     CHUBBUCK         ID         83202                   5589              Various                                                                                          $600.00
MOW JOES LAWN CARE                   2711 S MEADOW LARK LN                                            HOLMEN           WI         54636                   5645              Various                                                                                          $865.10
MOXIE GROUP INCORPORATED             8005 MAIN STREET STE 15                                          DEXTER           MI         48130                   1641              Various                                                                                       $143,814.55
MP FACTOR LLC                        400 N MICHIGAN AVE STE 700                                       CHICAGO          IL         60611                   5291              Various                                                                                         $2,190.00
                                                                  7510 GLYNOAKS
MR GOODCENTS SUBS & PASTAS           JBSR INCORPORATED            DRIVE                               LINCOLN          NE         68516                   7880              Various                                                                                           $179.87
                                                                  113 ROCK BLUFF
MR LANDSCAPE NURSERY & GARDEN        RICK HADFIELD                ROAD                                PLATTSMOUTH      NE         68048                  5460               Various                                                                                          $300.00
MR LOCK & KEY VACUUM CENTER          1314 9TH STREET SE                                               DYERSVILLE       IA         52040                  2860               Various                                                                                            $68.21
MRG LIMITED                          3003 N MERCER STREET                                             NEW CASTLE       PA         16105-0000             1225               Various                                                                                         $5,363.29
MS BUBBLES                           VICE PRESIDENT OF SALES      2731 S ALAMEDA                      LOS ANGELES      CA         90058-1311             4224               Various                                                                                       $132,222.51
MS FUNDRAISING                       AUDREY WHEELER               2931 E AVENUE                       NORTHBORO        IA         51647                  3781               Various                                                                                            $60.00
MSC INDUSTRIAL SUPPLY COMPANY        PO BOX 953635                                                    ST LOUIS         MO         63195                  1734               Various                                                                                            $32.46
                                                                  3319 N ELSTON
MSRF INCORPORATED                    VICE PRESIDENT OF SALES      AVENUE                              CHICAGO          IL         60618                   3805              Various                                                                                        $64,924.86
MT MORRIS HOLDEN LUTHERAN CHURCH     N3388 STATE ROAD 152                                             WAUTOMA          WI         54982                   6666              Various                                                                                            $69.48
MUBARAK ADOSARY                      1300 S 5TH APT B6                                                POCATELLO        ID         83209                   6004              Various                                                                                            $10.95
MUELLER FAMILY                       2615 GERMAN RD                                                   BAILEYS HARBOR   WI         54202                   6002              Various                                                                                             $1.07
MUHAMMAD HAQ                         1575 AMBER AVE S             #303                                SARTELL          MN         56377                   6004              Various                                                                                             $3.00
MUHUMED YUSUF                        1518 9TH AVE. S              APT 205                             SAINT CLOUD      MN         56301                   6004              Various                                                                                             $1.00
MULDER BUILDING GROUP INCORPOR       15066 A CIRCLE                                                   OMAHA            NE         68144                   0054              Various                                                                                          $250.00
                                                                  11345 FELLOW
MULTI GLORY USA CORPORATION(CA       VICE PRESIDENT OF SALES      CREEK DR                            PLYMOUTH         MI         48170-0000              4200              Various                                                                                       $120,952.27

MULTIPET INTERNATIONAL INC           265 WEST COMMERCIAL AVENUE                                       MOONACHIE        NJ         07074-0000              5647              Various                                                                                        $40,588.80
MUMFORD SANITATION                   PO BOX 417                                                       HOWARD LAKE      MN         55349                                     Various                                                                                          $600.00
MUMTAZ ADAN                          1426 4TH AVE SE APT 305                                          ROCHESTER        MN         55904                   6004              Various                                                                                             $3.00
                                                                  7835 GLORIA
MUNCHKIN INC                         VICE PRESIDENT OF SALES      AVENUE                              VAN NUYS         CA         91406-0000              0663              Various                                                                                       $115,665.60
MUNDI PEDERSEN                       373 S 200TH W                                                    DELTA            UT         84624                   6002              Various                                                                                             $3.33
                                                                                                                                                                            11/24/2018 -
MUNICIPAL UTILITIES DEPT/WATERTOWN   901 FOURTH AVENUE SW                                             WATERTOWN        SD         57201-4107             47-00R             12/24/2018                                                                                      $9,261.66




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                                                                                                                                                                                                                               Disputed
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                                                                                                                                                             Account         Incurred, Basis for
             Creditor Name                   Address1                Address2         Address3               City        State           Zip    Country      Number                Claim                                                                             Total Claim
                                                                                                                                                                             11/17/2018 -
MUNICIPAL UTILITIES, GRAFTON ND    P.O. BOX 578                                                    GRAFTON          ND           58237                    0-00-7             12/19/2018                                                                                      $3,039.40
MUNTAHA HUSS MANSOUR               1426 CASCADE ST NW                                              ROCHESTER        MN           55901                    6002               Various                                                                                             $0.44
MURAYO OMAR                        423 33RD AVE. N.             APT 7                              SAINT CLOUD      MN           56303                    6004               Various                                                                                             $3.00
MURIEL DENHARTOG                   909 7TH ST SE                                                   ORANGE CITY      IA           51041                    6002               Various                                                                                          $303.12
MURIEL SHORES                      3211 FOX HOLLOW RD.                                             LINCOLN          NE           68506                    6004               Various                                                                                            $16.18

MURRAY/ RACHEL                     STORE 2-002                  SHOPKO EMPLOYEE                    GREEN BAY        WI           54307-9060               4158               Various                                                                                               $38.88

                                   20/F KWONG SANG HONG         151-153 HOI BUN                                                                HONG
MUST GARMENT                       CENTRE                       ROAD, KWUN TONG                    KOWLOON                                     KONG       4672               Various                                                                                       $328,741.30
MUTH ELECTRIC INC                  PO BOX 1400                                                     MITCHELL         SD           57301                                       Various                                                                                         $1,496.63
MVP PLASTICS INC                   NEW                                                                                                                    6375               Various                                                                                          $289.20
MY NGUYEN                          7230 HELEN WITT DR                                              LINCOLN          NE           68512                    6004               Various                                                                                            $20.00

MY PILLOW INC                      343 EAST 82ND STREET SUITE 102                                  CHASKA           MN           55318                    6250               Various                                                                                       $421,284.03
MYA AUDREY GREEN                   157 TEDDY AVE                                                   HARTFORD         WI           53027                    6002               Various                                                                                             $0.27
MYA BADILLO                        1303 3RD AVE SW APT 3                                           ROCHESTER        MN           55902                    6004               Various                                                                                             $3.00
MYA DUNCAN                         251 W 1600 N APT A 104                                          LOGAN            UT           84341                    6004               Various                                                                                            $23.00
MYA JOHNSON                        584 RIVER RD #12                                                COLUMBUS         WI           53925                    6004               Various                                                                                             $3.00
MYA KASPER                         216 CLIFF ST                                                    CHIPPEWA FALLS   WI           54729                    6002               Various                                                                                             $9.29
MYA NIEMUTH                        2342 N SKYLARK DR                                               APPLETON         WI           54914                    6002               Various                                                                                             $1.32
MYA SPONEM                         405 MAPLE STREET                                                FORT ATKINSON    WI           53538                    6004               Various                                                                                             $3.00
MYAH PAZDERA                       3333 15TH ST                                                    KENOSHA          WI           53144                    6004               Various                                                                                            $44.54
MYCHAEL P MOFFETT                  221 W MARSDEN                                                   LEWISVILLE       MN           56060                    6002               Various                                                                                             $1.21
MYCHAL FRY                         1021 SE BROADWAY                                                WALLA WALLA      WA           99362                    6004               Various                                                                                             $9.06
MYERS IRON SALVAGE                 720 PAWNEE LANE                                                 BROKEN BOW       NE           68822                                       Various                                                                                          $999.00
MYKAH TREVENA                      811 E BOYD AVE                                                  COEUR D ALENE    ID           83814                    6004               Various                                                                                            $20.00
MYKAYLA KINNEBREW                  320 7TH ST                                                      IDAHO FALLS      ID           83401                    6004               Various                                                                                             $3.02
MYKENZIE FERRAN                    380 100 N                                                       SALEM            UT           84653                    6004               Various                                                                                            $23.00
MYKLE KOWALSKI                     N9321 STATE HIGHWAY 180                                         WAUSAUKEE        WI           54177                    6002               Various                                                                                             $0.74
MYLES PIPHER                       PO BOX 431                                                      PARK FALLS       WI           54552                    6002               Various                                                                                             $5.59
MYRA MORAN                         W7050 CTY RD A                                                  LAKE MILLS       WI           53551                    6002               Various                                                                                            $10.00
MYRA SOFLIN                        2622 EAST SEWARD RD.                                            SEWARD           NE           68434                    6004               Various                                                                                            $90.02
MYREGISTRY LLC                     2050 CENTER AVENUE STE 100                                      FORT LEE         NJ           07024                    9522               Various                                                                                         $3,709.75
MYRINDA L WATKINS                  125 SHERIDAN ST                                                 NEWCASTLE        WY           82701                    6002               Various                                                                                             $1.01
MYRLIN SCHATZ                      4505 SNOW SHOE DR                                               HELENA           MT           59601                    6002               Various                                                                                             $6.99
MYRNA L HACKNEY                    13355 SE 43RD PL                                                BELLEVUE         WA           98006                    6002               Various                                                                                             $8.25
MYRNA SAMSEL                       445 W 10TH N                                                    LOGAN            UT           84321                    6002               Various                                                                                             $0.63
MYRON C REUTER                     110 E PINE ST                                                   LANCASTER        WI           53813                    6002               Various                                                                                             $9.62
MYRON CROMWELL                     PO BOX 18507                                                    SPOKANE          WA           99228                    6002               Various                                                                                             $2.90
MYRON HEAVY RUNNER                 BOX 1883                                                        BROWNING         MT           59417                    6004               Various                                                                                            $43.00
MYRON HESSELINK                    865 190TH STREET                                                HAMMOND          WI           54015                    6004               Various                                                                                            $72.00
MYRON LOFGREN                      1705 W 25TH ST APT 304                                          SIOUX CITY       IA           51103                    6002               Various                                                                                             $6.90
MYRON PAULSEN                      BOX 105                                                         BEEMER           NE           68716                    6002               Various                                                                                             $7.95
MYRON TOSHNER                      1275 REMMEL DR                                                  WATERTOWN        WI           53094                    6002               Various                                                                                             $0.47
MYRON VANDERPOL                    1520 1ST ST                                                     EDGERTON         MN           56128                    6002               Various                                                                                             $1.32
MYSTI MUSSETTER                    3922 AUDUBON WAY                                                BILLINGS         MT           59102                    6004               Various                                                                                            $13.00
MYZIA FAMILY                       561 STATE ROAD 82                                               OXFORD           WI           53952                    6002               Various                                                                                             $8.25
N ELIZABETH DIAMOND                429 BURRELL AVE                                                 LEWISTON         ID           83501                    6002               Various                                                                                             $8.38
N I I NORTHERN INTERNATIONAL I     1 BURBIDGE STREET STE 101                                       COQUITLAM        BC           V3K 7B2       CANADA     0379               Various                                                                                        $97,363.89
                                   J KIRSHENBAUM & H NODDLE
N&K INVESTMENT CO                  PTR                            PO BOX 24169                     OMAHA            NE           68124-0169               4871               Various                                                                                         $5,837.56
N&M TRANSFER                       ACCOUNTS PAYABLE               630 MUTTART RD                   NEENAH           WI           54956                    6004               Various                                                                                          $294.94




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                                                                                                                                                        Account         Incurred, Basis for
            Creditor Name              Address1                   Address2         Address3            City         State           Zip    Country      Number                Claim                                                                             Total Claim

NABER/ VICKI                 STORE 665                      SHOPKO EMPLOYEE PO BOX 210          HAMPTON            IA       50441                    3693               Various                                                                                               $26.16
NACERA J DETRYJACKSON        2970 MOSSY OAK CIR APT 84                                          GREEN BAY          WI       54311                    6002               Various                                                                                                $3.21
NADA ABDELRAHMAN             320 31ST ST NE                 232                                 ROCHESTER          MN       55906                    6004               Various                                                                                                $3.00
NADENE HUNGERFORD            521 S. CAROLINA                                                    MASON CITY         IA       50401                    6004               Various                                                                                               $29.00
NADER NASR                   3620 PARK LANE DR                                                  NEENAH             WI       54956                    6002               Various                                                                                                $6.05
NADEZHDA SOTIROVA            42 RIVER RD APT 31                                                 SUNDERLAND         MA       01375                    6002               Various                                                                                                $9.64
NADEZHDA TIKHONOV            1434 WHITE BIRCH TRAIL                                             SUAMICO            WI       54173                    6002               Various                                                                                                $3.53
NADIA AKRABAWI               883 PARK STREET                APT 201                             OREGON             WI       53575                    6004               Various                                                                                                $1.00
NADIA ALI                    4733 HAYES ROAD                #204                                MADISON            WI       53704                    6004               Various                                                                                                $2.00
NADIA CRAWFORD               204 W WILLOW                                                       ABSOROKEE          MT       59001                    6004               Various                                                                                               $25.00
NADIA SHAH                   9514 S SHELLEYWOOD CR                                              SOUTH JORDAN       UT       84095                    6002               Various                                                                                                $3.32
NADINE ANDERSON              9036 HENSCHELL RD SW                                               FIFE LAKE          MI       49633                    6002               Various                                                                                                $8.30
NADINE BOSS                  606 E BORAH AVE                                                    CDA                ID       83814                    6004               Various                                                                                               $19.19
NADINE FOWLER                328 S STATE ST                                                     NORTON             KS       67654                    6002               Various                                                                                                $2.79
NADINE HULLENBAUGH           510 1ST AVE                                                        NEBRASKA CITY      NE       68410                    6004               Various                                                                                                $4.00
NADINE OLSON                 BOX 1440                                                           OROFINO            ID       83544                    6002               Various                                                                                                $2.16
NADINE ROBERTS               RR 8 BOX 1898                                                      DONIPHAN           MO       63935                    6002               Various                                                                                                $3.89
NADINE SCHMELZER             5914 S REBECCA ST                                                  SPOKANE            WA       99223                    6002               Various                                                                                               $10.58
NADINE TIEDEMANN             5623 160TH AVE SE                                                  DOVER              MN       55929                    6002               Various                                                                                                $5.07
                             UNIT 1801-07, METRO LOFT, 38                                                                                 HONG
NAFECS LIMITED               KWAI HEI STREET                                                    KWAI CHUNG, N.T.                          KONG       3382               Various                                                                                       $139,552.38
NAIMO FIQI                   402 31ST ST NE APT 303                                             ROCHESTER          MN       55906                    6004               Various                                                                                             $3.00
NAIN MANHEIMER               22922 HIGHWAY 85 STE 200                                           NEWCASTLE          WY       82701                    6002               Various                                                                                             $8.99
NAING SOE                    314 HILLCREST CIR                                                  CLARKS GROVE       MN       56016                    6004               Various                                                                                             $3.00
NAJONI DEMMER                115 CELESTE AVE SW                                                 SARGEANT           MN       55973                    6004               Various                                                                                             $3.00
NAKEYA FREEMAN               54 SOUTH GAMMON RD APT G                                           MADISON            WI       53717                    6004               Various                                                                                             $1.00
NAKFA ATSEMET                1913 E 33RD ST NORTH                                               SIOUX FALLS        SD       57104                    6004               Various                                                                                            $23.00
NAKOMA PRODUCTS LLC          8407 SOUTH 77TH AVE                                                BRIDGEVIEW         IL       60455                    3761               Various                                                                                         $5,220.22
NALONNIE VON GUNTEN          N1924 ROSE CIR                                                     WAUPACA            WI       54981                    6004               Various                                                                                            $15.00
NAN L. STEADMAN              804 WASHAKIE ST                                                    THERMOPOLIS        WY       82443                    6002               Various                                                                                             $6.79
NANCI L NELSON               6539 NORMANDALE CIR                                                NORTH BRANCH       MN       55056                    6002               Various                                                                                             $9.45
NANCY A TAYLOR               4032 WORTHINGTON AVE                                               LINCOLN            NE       68502                    6002               Various                                                                                             $1.73
NANCY ADAM                   1991 N CYPRESS LANE                                                ARKDALE            WI       54613                    6002               Various                                                                                             $1.94
NANCY ARNESEN                11388 REUTZEL DRIVE                                                BOISE              ID       83709                    6004               Various                                                                                            $93.50
NANCY BAKER                  903 29TH ST NW                                                     ROCHESTER          MN       55901                    6004               Various                                                                                             $6.00
NANCY BARBER                 10368 S 1980TH E                                                   SANDY              UT       84092                    6002               Various                                                                                             $0.88
NANCY BARTH                  W8690 STARKS ROAD                                                  GREENWOOD          WI       54437                    6002               Various                                                                                            $12.28
NANCY BEECK                  2011 CHARLES ST                                                    LA CROSSE          WI       54603                    6002               Various                                                                                             $9.45
NANCY BEHM                   459 S PLEASANT ST                                                  WHITEWATER         WI       53190                    6004               Various                                                                                             $2.00
NANCY BEIER                  733 CHICAGO ST                                                     KIEL               WI       53042                    6002               Various                                                                                             $6.58
NANCY BESSONEN               57378 MINE ST                                                      CALUMET            MI       49913                    6002               Various                                                                                             $1.73
NANCY BLOECHL                2740 MINERVA ST APT 5                                              OSHKOSH            WI       54901                    6002               Various                                                                                             $7.10
NANCY BOON                   205 OAK ST                                                         NEILLSVILLE        WI       54456                    6002               Various                                                                                             $6.58
NANCY BRENNAN                N65W23771 OLD MILL LN                                              SUSSEX             WI       53089                    6002               Various                                                                                             $6.74
NANCY BROMMER                2922 MYRTLE ST                                                     SIOUX CITY         IA       51103                    6002               Various                                                                                             $6.52
NANCY BURCH                  283 LEMHI RD                                                       SALMON             ID       83467                    6002               Various                                                                                            $10.00
NANCY BURTON                 RR2 BOX 142                                                        HAYTI              SD       57241                    6004               Various                                                                                            $38.68
NANCY BUTLER                 PO BOX 2444                                                        OROFINO            ID       83544                    6002               Various                                                                                             $4.14
NANCY BUTTEL                 702 SOUTH TAYLOR AVENUE                                            MASON CITY         IA       50401                    6004               Various                                                                                            $50.00
NANCY C BUSSCHER             7100 YELLOWSTONE DR                                                MARSHFIELD         WI       54449                    6002               Various                                                                                             $3.86
NANCY CARNEY                 1205 LINCOLNWOOD                                                   MISSOULA           MT       59802                    6004               Various                                                                                            $13.12
NANCY CHARLIER               2477 PECAN ST                                                      GREEN BAY          WI       54311                    6002               Various                                                                                             $9.78
NANCY COLLINS                605 CRIST RD                                                       BELOIT             IL       61080                    6002               Various                                                                                             $2.27




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                                                                                                                                                      Account         Incurred, Basis for
            Creditor Name               Address1                Address2         Address3             City          State           Zip   Country     Number                Claim                                                                             Total Claim
NANCY CRUZ REYES             1575 E BLASCHKO AVE                                              ARCADIA          WI           54612                 6002                Various                                                                                                $4.19
NANCY D BOWERS               3686 E 1300TH N LOT 16                                           SYRACUSE         IN           46567                 6002                Various                                                                                                $4.22
NANCY DAHL                   1005 S BRIDGEPORT PLACE                                          SIOUX FALLS      SD           57106                 6004                Various                                                                                               $10.00
NANCY DENK                   25502 KISHWAUKEE VALLEY RD                                       MARENGO          IL           60152                 6002                Various                                                                                                $3.01

NANCY DEPPIESSE              620 W HILLCREST RD UNIT A PM                                     SAUKVILLE        WI           53080                  6002               Various                                                                                             $2.27
NANCY DIXON                  3108 THAYER BRIDGE CIR                                           IDAHO FALLS      ID           83402                  6002               Various                                                                                             $1.21
NANCY DODD                   1169 PAHSIMEROI RD                                               MAY              ID           83253                  6002               Various                                                                                             $0.99
NANCY DUCKWORTH              640 BURT ST                    APT 4                             NEGAUNEE         WI           49866                  6002               Various                                                                                             $1.17
NANCY E HENDERSON            170 PONTIUS RD SE                                                KALKASKA         MI           49646                  6002               Various                                                                                             $5.73
NANCY ELLEN DRENTH           31421 BULICK AVE                                                 ELLSWORTH        MN           56129                  6002               Various                                                                                             $6.38
NANCY EVERSON                N7706 CTY RD A                                                   BEAVER DAM       WI           53916                  6002               Various                                                                                             $4.11
NANCY FLATOFF                1450 WATERSTREET APT 219                                         STEVENS POINT    WI           54481                  6002               Various                                                                                             $2.19
NANCY FOLINO                 2621 BONNIE CT                                                   MISSOULA         MT           59803                  6002               Various                                                                                             $6.05
NANCY FORSGREN               910 S. 8TH ST.                                                   LINCOLN          NE           68508                  6004               Various                                                                                            $15.00
NANCY GARCIA                 2727 S. WHEATFIELD DR.                                           APPLETON         WI           54915                  6004               Various                                                                                            $10.00
NANCY GARCIA RENTERIA        1909 REED ST LOT 12                                              OMAHA            NE           68112                  6004               Various                                                                                             $4.00
NANCY GIBSON                 7201 MIDTOWN ROAD #109                                           MADISON          WI           53719                  6004               Various                                                                                             $5.40
NANCY GORMAN                 3416 CHURCH ST                                                   STEVENS POINT    WI           54481                  6002               Various                                                                                             $9.48
NANCY HALL                   W6393 CTY RD YY                                                  WAUTOMA          WI           54982                  6002               Various                                                                                             $1.53
NANCY HEIN                   260 3RD ST SW APT 105                                            COKATO           MN           55321                  6002               Various                                                                                             $2.90
NANCY HOWERTON               6990 W TOMBSTONE ST                                              RATHDRUM         ID           83858                  6004               Various                                                                                            $10.00
NANCY HUNZIKER               1958 S HOLLAND CHURCH RD                                         RIDOTT           IL           61067                  6002               Various                                                                                             $8.27
NANCY HUSTON                 49 6TH AVE # 6                                                   AFTON            WY           83110                  6002               Various                                                                                             $6.79
NANCY I WIEMANN              704 N 4TH AVE                                                    WINTERSET        IA           50273                  6002               Various                                                                                            $10.00
NANCY INTERNILL              4010 B ST                                                        LINCOLN          NE           68510                  6002               Various                                                                                             $8.74
NANCY IVIE                   313 S 590TH W                                                    SPANISH FORK     UT           84660                  6002               Various                                                                                             $3.59
NANCY J. DAHL                5121 N PLEASANT HILL DR                                          JANESVILLE       WI           53546                  6002               Various                                                                                             $5.23
NANCY JENSEN                 PO BOX 467                                                       HAZELHURST       WI           54531                  6004               Various                                                                                             $1.00
NANCY K WALTERS              20636 515TH AVE                                                  LAKE CRYSTAL     MN           56055                  6002               Various                                                                                             $7.86
NANCY KASPROWICZ             33927 303RD ST                                                   ROSEAU           MN           56751                  6002               Various                                                                                             $5.81
NANCY KINDLEY                1217 GILETTE ST                                                  LA CROSSE        WI           54603                  6002               Various                                                                                             $7.51
NANCY KREILICK               1545 ABRORETUM DR # 101                                          OSHKOSH          WI           54901                  6002               Various                                                                                             $5.78
NANCY L JUEN                 W1045 TROUT LN                                                   STODDARD         WI           54658                  6002               Various                                                                                             $2.85
NANCY L KESTIN               N 9891 CTY ROAD I                                                BURNETT          WI           53922                  6002               Various                                                                                            $13.99
NANCY L PETERS               811 W 5TH ST                                                     WINNER           SD           57580                  6002               Various                                                                                             $3.12
NANCY LERANDEAU              104 SWAYNE LN                                                    OROFINO          ID           83544                  6002               Various                                                                                             $9.23
NANCY MACGREGOR              901 CRESTVIEW DR                                                 MADISON          WI           53716                  6002               Various                                                                                             $8.03
NANCY MALONE                 7722 PARKER ST                                                   OMAHA            NE           68114                  6002               Various                                                                                             $0.49
NANCY MARIE WRIGHT           1423 W COUNTRYWOOD LN                                            WEST JORDAN      UT           84088                  6002               Various                                                                                             $1.56
NANCY MAUK                   PO BOX 325                                                       PLATTSMOUTH      NE           68048                  6002               Various                                                                                             $4.16
NANCY MCALLISTER             2506 QUARRY RD                                                   REEDSVILLE       WI           54230                  6002               Various                                                                                             $8.58
NANCY MCDONALD               4076 SNAKE ISLAND RD                                             STURGEON BAY     WI           54235                  6002               Various                                                                                             $1.53
NANCY MCKEEN                 4549 KOLIN RD                                                    MOCCASIN         MT           59462                  6002               Various                                                                                             $2.27
NANCY MCKNIGHT               7080 THURSTON RD #14                                             SPRINGFIELD      OR           97478                  6004               Various                                                                                            $70.97
NANCY MICKELSON              528 MARGARETTE ST                                                LAKE MILLS       WI           53551                  6002               Various                                                                                             $0.66
NANCY MICKETT                N7021 STATE HIGHWAY 73                                           GREENWOOD        WI           54437                  6002               Various                                                                                             $0.38
NANCY MIGNON                 3354 S FLACK RD                                                  BELOIT           WI           53511                  6002               Various                                                                                             $6.27
NANCY MURDOCH                1305 S 163RD AVE                                                 OMAHA            NE           68130                  6002               Various                                                                                             $0.38
NANCY NASSET                 1025 MAIN ST                                                     SHELBY           MT           59474                  6002               Various                                                                                             $1.23
NANCY NELSON                 8391 YOST RD                                                     TOPPENISH        WA           98948                  6002               Various                                                                                             $3.33
NANCY OLSON                  2480 BAY AREA PL APT 112                                         GREEN BAY        WI           54304                  6002               Various                                                                                             $4.46
NANCY OTTONELLO              20 HAMMON DR                                                     SALMON           ID           83467                  6002               Various                                                                                             $1.04
NANCY PARKER                 24991 FORSMAN RD.                                                HANCOCK          MI           49930                  6004               Various                                                                                           $311.00




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NANCY PELAGIO GALLO            516 N 200 E                                             OREM             UT         84057                 6004                Various                                                                                               $23.59
NANCY PLAUTZ                   125 LUKAS LN                                            MILTON           WI         53563                 6002                Various                                                                                                $3.53
NANCY PRIBORSKY                4315 NO. 156TH AVE.                                     OMAHA            NE         68116                 6004                Various                                                                                                $7.02
NANCY R JENSEN                 1867 E POWERHOUSE RD                                    SPANISH FORK     UT         84660                 6002                Various                                                                                                $8.52
NANCY REIFF                    W6654 CENTURY RD CARD                                   GREENWOOD        WI         54437                 6002                Various                                                                                                $6.00
NANCY REINKE                   3177 W POINT RD                                         GREEN BAY        WI         54313                 6002                Various                                                                                                $8.60
NANCY REUTER                   N3573 WALTERS DR                                        MONTELLO         WI         53949                 6004                Various                                                                                               $40.00
NANCY RICKS                    729 OGDEN AVE                                           OGDEN            UT         84404                 6002                Various                                                                                                $7.07
NANCY ROBERTSON                440 E ANDERSON ST                                       OGILVIE          MN         56358                 6002                Various                                                                                                $0.77
NANCY ROERICK                  310 LINCOLN AVE SE                                      SAINT CLOUD      MN         56304                 6004                Various                                                                                                $3.00
NANCY RUDOLPH                  1806 N BENNETT STREET                                   APPLETON         WI         54914                 6004                Various                                                                                                $1.00
NANCY SEAL                     7448 OLD SAUK RD                                        MADISON          WI         53717                 6002                Various                                                                                                $7.92
NANCY SHARP                    2100 N WI HIGHWAY 236                                   MITCHELL         SD         57301                 6002                Various                                                                                                $9.45
NANCY SIEGEL                   1010 GRANT ST                                           FORT ATKINSON    WI         53538                 6002                Various                                                                                                $4.60
NANCY SMITH                    3998 FRANKLIN BLVD # 18                                 SPRINGFIELD      OR         97477                 6004                Various                                                                                               $10.18
NANCY SORLIE                   1910 KEYSTONE DR                                        ALBERT LEA       MN         56007                 6002                Various                                                                                                $5.97
NANCY STATON                   3820 SOUTH 3RD ST WEST                                  MISSOULA         MT         59804                 6004                Various                                                                                               $53.76
NANCY STEINBERGER              705 9TH ST                                              ARMSTRONG        IA         50514                 6002                Various                                                                                                $7.86
NANCY STUART                   PO BOX 474                                              BELLE FOURCHE    SD         57717                 6002                Various                                                                                                $6.16
NANCY STUBBS                   6419 60TH ST                                            PRINCETON        MN         55371                 6002                Various                                                                                                $0.36
NANCY TAGUE                    1402 INDIGO DR                                          OSHKOSH          WI         54902                 6002                Various                                                                                                $6.68
NANCY TIBBITS                  917 3RD AVENUE APT 118                                  WOODRUFF         WI         54568                 6002                Various                                                                                                $3.00
NANCY VANDEBERG                137 UDEY ST                                             COLUMBUS         WI         53925                 6002                Various                                                                                                $0.68
NANCY VANG                     312 RETFKE AVE                                          MADISON          WI         53714                 6004                Various                                                                                                $2.00
NANCY VERSAEVEL                1222 PROSPECT RD                                        MARSHALL         MN         56258                 6002                Various                                                                                                $0.99
NANCY VILLERS                  1700 W PASEWALK AVE #402                                NORFOLK          NE         68701                 6004                Various                                                                                               $13.51
NANCY VINE                     5351 S SHORE DR                                         CLEAR LAKE       IA         50428                 6002                Various                                                                                                $9.48
                               5257 WEST BRIDAL HOLLOW
NANCY WARNER                   PLACE                                                   WEST JORDAN      UT         84081                  6004               Various                                                                                               $10.00
NANCY WEINREICH                1723 GOLFVIEW DR                                        RIVER FALLS      WI         54022                  6002               Various                                                                                                $6.93
NANCY WHITMAN                  1920 MORAINE TER APT 6                                  GREEN BAY        WI         54303                  6002               Various                                                                                                $0.44
NANCY WISNIEWSKI               404 HIGHRIDGE AVE                                       DENMARK          WI         54208                  6002               Various                                                                                                $2.79
NANCY WOEBKE                   711 2ND ST                                              IDA GROVE        IA         51445                  6002               Various                                                                                                $8.11
NANCY WOODS                    PO BOX 318                                              HOBSON           MT         59452                  6002               Various                                                                                                $6.96
NANCY WOOLHOUSE                2380 230TH AVE                                          MORA             MN         55051                  6002               Various                                                                                                $0.82
NANCY WURTZLER                 788 CZECH DR                                            FRIENDSHIP       WI         53934                  6002               Various                                                                                                $4.85
NANCY YOST                     3503 EDDY LANE                                          EAU CLAIRE       WI         54703                  6004               Various                                                                                                $5.00
NANEKA COPELAND                4508 N 65 AV                                            OMAHA            NE         68104                  6004               Various                                                                                                $4.00
NANNETTE AVERY                 #10 RIDGEWOOD DR.                                       KALISPELL        MT         59901                  6002               Various                                                                                                $6.68
NANNETTE KUEHMICHEL            1315 W PINE ST                                          APPLETON         WI         54914                  6002               Various                                                                                                $3.37
NAOMI A CHRISTENSEN            806 COTTONWOOD ST                                       GRAND FORKS      ND         58201                  6002               Various                                                                                                $3.26
NAOMI EATON                    1043 ROADRUNNER DR #12                                  HELENA           MT         59602                  6004               Various                                                                                               $17.00
NAOMI EIBEN                    PO BOX 85622                                            RACINE           WI         53408                  6004               Various                                                                                               $16.00
NAOMI GONCALVES                308 S DIVISION ST W                                     AUDUBON          IA         50025                  6002               Various                                                                                                $4.41
NAOMI JORDAN                   159 106TH ST UNIT 5                                     OROFINO          ID         83544                  6002               Various                                                                                                $3.10
NAOMI KAUFMAN                  32 N CENTER ST                                          SANTAQUIN        UT         84655                  6002               Various                                                                                                $9.32
NAOMI QUINTANILLA              888 E SHADY LANE LOT 224                                NEENAH           WI         54956                  6004               Various                                                                                                $1.00
NAOMI SCHULTZ-JONES            3412 13TH ST                                            MENOMINEE        MI         49858                  6004               Various                                                                                               $40.00
NAOMI WATKINS                  347 SOUTH 300 EAST #2                                   SALT LAKE CITY   UT         84111                  6004               Various                                                                                               $29.99
NAPOLEON MORENO                42781 KABEL                                             HARTFORD         MI         49057                  6002               Various                                                                                                $9.64
NAREE KHAMDA                   302 1/2 OAKLAND AVE                                     AUSTIN           MN         55912                  6004               Various                                                                                                $3.00
NAREIDA NICHOLS                216 S. BASSWOOD AVE                                     DULUTH           MN         55811                  6004               Various                                                                                                $3.00
NARINA OSIPYAN                 1498 W HIDDEN DRIVE                                     MEQUON           WI         53097                  6666               Various                                                                                                $3.00
NASH LOPEZ                     11151 WEST BRASSY COVE                                  NAMPA            ID         83651                  6004               Various                                                                                               $30.00




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                                                                                                                                                                                          Contingent


                                                                                                                                                                                                                      Disputed
                                                                                                                                                 Last 4 Digits of     Date Debt was
                                                                                                                                                    Account         Incurred, Basis for
              Creditor Name                Address1               Address2        Address3             City       State           Zip   Country     Number                Claim                                                                             Total Claim
NASHID ABDUL- ZAHIR            4800 48TH ST NE                                                 ROCHESTER       MN         55906                 6004                Various                                                                                                $3.00
NASRA ABDI                     1526 9TH AVENUE SOUTH , 203                                     SAINT CLOUD     MN         56301                 6004                Various                                                                                                $3.00
NAT BIONDO                     8017 S HIGHWAY 95                                               COEUR D ALENE   ID         83814                 6002                Various                                                                                                $4.77
NATALIA DE JESUS HERNANDEZ     1618 MARION RD TRLR 34                                          ROCHESTER       MN         55904                 6004                Various                                                                                                $3.00
NATALIA MURILLO SOLIS          5990 SCHROEDER RD             APT E                             MADISON         WI         53711                 6004                Various                                                                                                $2.00
NATALIA REYES                  740 FOREST AVE                                                  CRETE           NE         68333                 6004                Various                                                                                               $23.00
NATALIA VALLARTA               2878 CURRY LN                                                   GREEN BAY       WI         54311                 6004                Various                                                                                                $2.00
NATALIE B MASON                217 B SECOND ST                                                 MILLADORE       WI         54454                 6002                Various                                                                                               $10.00
NATALIE BAUMGARTNER            312 E SPRING ST               #2                                SIOUX FALLS     SD         57104                 6004                Various                                                                                               $35.00
NATALIE BONIN                  315 FAIRVIEW AVE                                                FAIRMONT        MN         56031                 6004                Various                                                                                                $3.00
NATALIE CAYA                   615 4TH ST RD.                                                  FOND DU LAC     WI         54935                 6004                Various                                                                                               $37.00
NATALIE DUERST                 5010 KNOX LANE                                                  MADISON         WI         53711                 6004                Various                                                                                                $8.20
NATALIE FRITZ                  N10967 CTY HWY. Y.                                              BROWNSVILLE     WI         53006                 6004                Various                                                                                               $10.00
NATALIE GROTE                  6709 CHAARLIE GRIMM RD                                          WINDSOR         WI         53598                 6004                Various                                                                                                $5.00
NATALIE HAGEMEYER              15416 GARFIELD ST                                               OMAHA           NE         68144                 6004                Various                                                                                                $2.00
NATALIE HARMON                 235 VICTORY LN                                                  CANYON ST       WY         82520                 6002                Various                                                                                                $5.73
NATALIE HERNANDEZ              1125 E 19TH                                                     KENNEWICK       WA         99337                 6004                Various                                                                                               $63.98
NATALIE HERRERA                2115 W. RUSSET CT. 8                                            APPLETON        WI         54914                 6004                Various                                                                                                $1.00
NATALIE KAAE                   831 E 100TH N                                                   LOGAN           UT         84341                 6002                Various                                                                                                $7.34
NATALIE KIVI                   127 LAKEWOOD LN                                                 MARQUETTE       MI         49855                 6002                Various                                                                                                $0.41
NATALIE MELENDEZ               606 N STATE STREET                                              BELVIDERE       IL         61008                 6004                Various                                                                                                $5.00
NATALIE MONCRIEF               4788 RIVER RD                                                   BUHL            ID         83316                 6004                Various                                                                                                $3.65
NATALIE RILEY                  960 W 680TH S                                                   OREM            UT         84058                 6002                Various                                                                                                $7.86
NATALIE RODENKIRCH             204 BOOTH ST APT. 113                                           FOX LAKE        WI         53933                 6004                Various                                                                                                $2.00
NATALIE SALMEN                 61 REARDON AVE SW                                               COKATO          MN         55321                 6002                Various                                                                                                $1.21
                               11131 COTTONWOOD PLAZA APT
NATALIE SANDOVAL               6                                                               OMAHA           NE         68164                  6004               Various                                                                                                $6.00
NATALIE SCHMIDT                501 ARROW ST                                                    LELAND          IA         50453                  6002               Various                                                                                                $2.99
NATALIE SMITH                  707N S 5TH AVE # 707                                            POCATELLO       ID         83204                  6002               Various                                                                                                $1.32
NATALIE SORENSON               320 W ELIZABETH ST                                              EDGERTON        MN         56128                  6002               Various                                                                                                $2.00
NATALIE WALKER                 6 GOOSE LANDING LN                                              BUFFALO         WY         82834                  6002               Various                                                                                                $5.73
NATALIE WYLDE                  9063 LEICESTER WAY                                              ROSCOE          IL         61073                  6004               Various                                                                                               $39.00
NATALINA MABEING               1540 50TH ST NW APT 5                                           ROCHESTER       MN         55901                  6004               Various                                                                                                $3.00
NATALY CRUZ                    409 S STATE ST                                                  BELVIDERE       IL         61008                  6004               Various                                                                                                $3.90
NATALY PATINO                  394 SPY GLASS CIR                                               IDAHO FALLS     ID         83401                  6002               Various                                                                                               $10.00
NATALY PERALTA SANTOS          2745 SAGEBRUSH DR                                               TWIN FALLS      ID         83301                  6004               Various                                                                                                $3.65
NATASCIA BERNARD               808 N BAY RIDGE RD                                              APPLETON        WI         54915                  6002               Various                                                                                                $1.15
NATASHA A GUTCHE               PO BOX 641                                                      WEYAUWEGA       WI         54983                  6002               Various                                                                                                $3.51
NATASHA ADAMS                  2613 GEORGETOWNE DR NW                                          ROCHESTER       MN         55901                  6004               Various                                                                                                $3.00
NATASHA BORDNER KNUTSON        1145 W GRAND AVE                                                BELOIT          WI         53511                  6002               Various                                                                                                $7.26
NATASHA E MACNACK              1204 BARTOSH LN APT 2                                           RIVER FALLS     WI         54022                  6002               Various                                                                                                $1.18
NATASHA FITZGERALD             7912 4TH CT SE                                                  LACEY           WA         98503                  6004               Various                                                                                                $1.25
NATASHA HILLIARD               600 8TH AVE N                 APT 1                             ST CLOUD        MN         56303                  6004               Various                                                                                                $3.00
NATASHA HOPWOOD                918 3RD AVE                                                     PLATTSMOUTH     NE         68048                  6004               Various                                                                                               $53.00
NATASHA HUDSON                 122 N 1000TH E                                                  BRIGHAM CITY    UT         84302                  6002               Various                                                                                                $6.52
NATASHA L. CARTER              2017 VINE ST                                                    EAU CLAIRE      WI         54703                  6002               Various                                                                                                $9.86
NATASHA LAWLER                 701 MCKAY WAY                 APT H                             WATERLOO        WI         53594                  6004               Various                                                                                                $2.00
NATASHA LENHART                PO BOX 681                                                      KAMIAH          ID         83536                  6004               Various                                                                                               $23.00
NATASHA MARIAN                 9015 ARKOLA ROAD                                                COTTON          MN         55724                  6004               Various                                                                                                $3.00
NATASHA MCLERNON               6177 N PRESERVATION TRL                                         APPLETON        WI         54913                  6002               Various                                                                                                $6.11
NATASHA MOFFITT                260 NW GOLDEN HILLS #6                                          PULLMAN         WA         99163                  6004               Various                                                                                               $19.99
NATASHA NEEDHAM                420 BROWN AVE PO BX # 63                                        OROFINO         ID         83544                  6002               Various                                                                                                $1.04
NATASHA PARKS                  87649-490TH AVE                                                 O'NEILL         NE         68763                  6002               Various                                                                                                $2.03
NATASHA SHANLE                 2961 BAY SETTLEMENT RD                                          GREEN BAY       WI         54311                  6002               Various                                                                                                $4.66




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                                                                                                                                                Account         Incurred, Basis for
             Creditor Name                    Address1      Address2        Address3              City        State           Zip   Country     Number                Claim                                                                             Total Claim
NATASHA SUKUP                     803 10TH ST                                            GOTHENBURG        NE         69138                 6002                Various                                                                                             $7.12
NATASHA WEBER                     1657 OLD HIGHWAY 81                                    ARGYLE            WI         53504                 6004                Various                                                                                            $15.00
NATASHA ZILL                      502 NEW YORK AVE                                       MANITOWOC         WI         54220                 6004                Various                                                                                             $4.98
NATASHAENA PITTMAN                225 S HACKETT                                          SOUTH BELOIT      IL         61080                 6004                Various                                                                                            $15.00
NATASSIA LUC DACRE                1500 N MAIN ST                                         ABERDEEN          SD         57401                 6002                Various                                                                                             $6.44
NATE HARN                         1435 TULLAR ROAD APT 9                                 NEENAH            WI         54956                 6004                Various                                                                                             $1.98
NATE HERNANDEZ                    1457 LEONARD ST                                        SAINT PETER       MN         56082                 6002                Various                                                                                             $9.84
NATE ROHRBAUGH-AYERS              306 E FLEMING CT                                       COLFAX            WA         99111                 6004                Various                                                                                            $40.00
NATERRA INTERNATIONAL INCORPOR    1250 FREEPORT PARKWAY                                  COPPELL           TX         75019                 5030                Various                                                                                         $5,255.31
NATHAN A BLACK                    38975 6TH AVE                                          NORTH BRANCH      MN         55056                 6002                Various                                                                                             $5.42
NATHAN ANDERSON                   W25047 STATE ROAD 54 35                                TREMPEALEAU       WI         54661                 6004                Various                                                                                            $98.00
NATHAN ARNOLD                     2320 13TH AVE S APT 3                                  GREAT FALLS       MT         59405                 6002                Various                                                                                             $8.90
NATHAN AUSTIN                     726 LINDON DR                                          BRIGHAM CITY      UT         84302                 6002                Various                                                                                             $5.92
NATHAN BAKKO                      N NORTH 6522QS HWY 12                                  ELKHORN           WI         53121                 6004                Various                                                                                             $5.00
NATHAN BARTLETT                   8133 W MARCUM CT                                       BOISE             ID         83704                 6002                Various                                                                                             $6.11
NATHAN BELL                       6119 1 ST                                              RACINE            WI         53403                 6004                Various                                                                                             $1.20
NATHAN BERKLEY                    1330 S PARK AVENUE                                     NEENAH            WI         54956                 6004                Various                                                                                            $30.00
NATHAN BIEL                       W11010 GLEN DR                                         BEAVER DAM        WI         53916                 6004                Various                                                                                            $20.00
NATHAN BLOYER                     2631 GRANT MCMAHON BLVD                                ELY               MN         55731                 6002                Various                                                                                             $1.92
NATHAN BUKOWSKI                   231 LAKE AVE NORTH                                     BALATON           MN         56115                 6004                Various                                                                                             $3.00
NATHAN CLOUTIER                   PO BOX 655                                             FLORENCE          WI         54121                 6002                Various                                                                                             $0.38
NATHAN COLE                       329 BRINTON RD                                         LYMAN             WY         82937                 6002                Various                                                                                             $6.22
NATHAN DALEY                      7089 COUNTY NW # 105                                   BYRON             MN         55920                 6002                Various                                                                                             $9.01
NATHAN DEHNHOFF                   13 TRAVERTINE LN                                       LIVINGSTON        MT         59047                 6002                Various                                                                                             $8.82
NATHAN DENOFRE                    7870 COUNTY ROAD 550                                   MARQUETTE         MI         49855                 6002                Various                                                                                            $10.00
NATHAN DIEMER                     629 PICO PL                                            SANTA MONICA      CA         90405                 6002                Various                                                                                             $4.00
NATHAN E ALLEN                    2240 SOUTHERN CROSS RD                                 GREEN BAY         WI         54303                 6002                Various                                                                                             $3.51
NATHAN EMERY                      74065 210 AVE                                          HAYFIELD          MN         55940                 6004                Various                                                                                             $3.00
NATHAN ENGEVIK                    31364 330TH AVENUE                                     ROSEAU            MN         56751                 6002                Various                                                                                             $1.64
NATHAN EVERS                      1336 ANGEL'S PATH #18                                  DE PERE           WI         54115                 6004                Various                                                                                             $5.00
NATHAN FIGUEIRA                   259 ONTARIO AVE                                        OCONTO            WI         54153                 6002                Various                                                                                             $7.21
NATHAN FOWLES                     146 W 100TH N                                          SPANISH FORK      UT         84660                 6002                Various                                                                                             $0.44
NATHAN FRISHKORN                  2335 RAMER CRT                                         MISSOULA          MT         59801                 6002                Various                                                                                             $8.99
NATHAN G NEGRI                    262 LAKEVIEW AVE                                       HORTONVILLE       WI         54944                 6002                Various                                                                                             $0.27
NATHAN HABECK                     N4515 COUNTY ROAD D                                    HELENVILLE        WI         53137                 6004                Various                                                                                             $2.00
NATHAN HARN                       1216 MEADOWVIEW DRIVE                                  MENASHA           WI         54952                 6004                Various                                                                                            $25.00
NATHAN HAUGH                      7480 ELLISON RD                                        STERLING          MI         48659                 6002                Various                                                                                             $0.38
NATHAN HENDRICKSON                7752 AVA HOPE                                          DE PERE           WI         54115                 6004                Various                                                                                            $34.00
NATHAN HIBBARD                    15 ROBERTS AVE                                         SAND COULEE       MT         59472                 6004                Various                                                                                            $18.00
NATHAN HINCE                      PO BOX 63                                              BAY CITY          WI         54723                 6002                Various                                                                                             $2.27
NATHAN HOBBIE                     6749 S BERMUDA DR.                                     LINCOLN           NE         68506                 6004                Various                                                                                             $4.00
NATHAN JOHNSON                    3142 S 1600 W                                          NIBLEY            UT         84321                 6004                Various                                                                                             $3.00
NATHAN JULIN                      309 N. CENTRAL AVE DOB                                 TRUMAN            MN         56088                 6002                Various                                                                                             $2.58
NATHAN LANTTO                     521 MAPLE ST                                           DASSEL            MN         55325                 6002                Various                                                                                             $0.96
NATHAN LORDS                      2912 OAK HURST DRIVE                                   SALT LAKE CITY    UT         84108                 6004                Various                                                                                             $5.03
NATHAN M HANSEN                   143 BRUNCAN DR                                         NORTH SIOUX CIT   SD         57049                 6002                Various                                                                                             $8.99
NATHAN MAYWORM                    148 REDHILLS RD                                        BUFFALO           WY         82834                 6002                Various                                                                                             $6.55
NATHAN MERKEL                     7389 MILL CREEK DR                                     MARSHFIELD        WI         54449                 6002                Various                                                                                             $3.10
NATHAN MILLER                     1014 S 32ND AVE                                        YAKIMA            WA         98902                 6004                Various                                                                                            $20.00
NATHAN MOEHRKE                    2481 WAUBESA HILL ROAD                                 MC FARLAND        WI         53558                 6004                Various                                                                                            $30.00
NATHAN MONTREY                    3651 AUDREY LN                                         STOUGHTON         WI         53589                 6004                Various                                                                                            $40.00
NATHAN MOORE                      110 CAMPBELL ST                                        WELCOME           MN         56181                 6002                Various                                                                                             $1.12
NATHAN NORMAN                     704 SPY GLASS WAY                                      EAGLE             ID         83616                 6004                Various                                                                                             $5.00
NATHAN PARRA                      1618 MARION RD SE 182                                  ROCHESTER         MN         55904                 6004                Various                                                                                             $3.00




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                                                                                                                                                          Account         Incurred, Basis for
            Creditor Name                    Address1               Address2            Address3            City        State           Zip   Country     Number                Claim                                                                             Total Claim
NATHAN PETKE                      406 E BIRCH ST                                                    THORP            WI         54771                 6002                Various                                                                                                $5.29
NATHAN REDMAN                     295 ESTATES DR                                                    LANDER           WY         82520                 6002                Various                                                                                                $7.26
NATHAN RIESBECK                   306 W KEMP ST                                                     RHINELANDER      WI         54501                 6004                Various                                                                                               $52.00
NATHAN ROBERTS                    1303 LAVENDER LN                                                  APPLETON         WI         54915                 6004                Various                                                                                                $1.00
NATHAN SCHELM                     42799 884TH RD                                                    AINSWORTH        NE         69210                 6002                Various                                                                                                $6.55
NATHAN SCHIEDERMAYER              W7129 CTY RD A                                                    SHIOCTON         WI         54170                 6004                Various                                                                                               $25.00
NATHAN SHARER                     296 AMANDA LYNN LANE                                              MIDVALE          UT         84047                 6004                Various                                                                                               $10.00
NATHAN SHEFFER                    BOX 2171                                                          OROFINO          ID         83544                 6002                Various                                                                                                $0.82
NATHAN TANGREN                    7758 S 4000TH W                                                   SPANISH FORK     UT         84660                 6002                Various                                                                                                $2.16
NATHAN TERRY                      1149 HANLINE CIR                                                  KAYSVILLE        UT         84037                 6002                Various                                                                                                $6.71
NATHAN THOMAS                     511 2ND ST NE                                                     WATERTOWN        SD         57201                 6002                Various                                                                                                $8.25
NATHAN THOMPSON                   3237 W CARTHAGE DR                                                FREEPORT         IL         61032                 6002                Various                                                                                                $6.52
NATHAN TIMMINS                    333N 44TH SR #908                                                 LINCOLN          NE         68503                 6004                Various                                                                                                $3.00
NATHAN TOTH                       1906 CHRISTINE LANE                                               MADISON          WI         53716                 6004                Various                                                                                                $5.00
NATHAN WARD                       765 N WESTFIELD STREET       APT H4                               OSHKOSH          WI         54902                 6004                Various                                                                                               $95.98

NATHAN WEIGEL                     425 N COLUMBIA CENTER BLVD   APT E201                             KENNEWICK        WA         99336                  6004               Various                                                                                               $10.00
NATHAN WITTE                      N7973 MARIDIAN AVENUE                                             SPENCER          WI         54479                  6004               Various                                                                                                $5.00
NATHAN WITTHUHN                   3512 N WHITNEY DR                                                 APPLETON         WI         54914                  6002               Various                                                                                                $4.90
NATHAN YATES-BENNETT              903 EDWARDS ST #3                                                 SALMON           ID         83467                  6002               Various                                                                                                $1.81
NATHANAEL BARNHILL                664 E. 440 S.                                                     HYRUM            UT         84319                  6004               Various                                                                                               $20.00
NATHANAEL RIOS                    6776 2ND AVE                                                      RUDOLPH          WI         54475                  6004               Various                                                                                                $2.00
NATHANAEL ROMICK                  5903 SPARTAN DR.             APT. 4                               MC FARLAND       WI         53558                  6004               Various                                                                                                $2.00
NATHANE BLAHA                     113 POPLAR                                                        SOUTHGATE        MI         48195                  6002               Various                                                                                                $3.92
NATHANIAL GIFFORD                 710 WEST 6TH                                                      NORTH PLATTE     NE         69101                  6004               Various                                                                                               $48.00
NATHANIAL LOOSE                   376 WELHOUSE DR                                                   KIMBERLY         WI         54136                  6002               Various                                                                                                $2.11
NATHANIAL PETERSON                108 W ST                                                          NORTHVILLE       SD         57465                  6004               Various                                                                                                $3.00
NATHANIAL SKOTNICKI               24 S MADISON STREET                                               EVANSVILLE       WI         53536                  6004               Various                                                                                               $30.00
NATHANIEL ADELMAN                 830 MACOMBER ST APT 1                                             CHIPPEWA FALLS   WI         54729                  6002               Various                                                                                                $0.55
NATHANIEL CHRISTOPH               3016 E LEWIS LN                                                   NAMPA            ID         83686                  6004               Various                                                                                               $84.78
NATHANIEL HALLETT                 600 E FICKLIN ST APT 110                                          TUSCOLA          IL         61953                  6002               Various                                                                                                $8.49
NATHANIEL HATTER                  2900 SIMONIS STREET                                               STEVENS POINT    WI         54481                  6004               Various                                                                                               $16.00
NATHANIEL HEASER                  8005 CTY. RD. 11 N. E.                                            ELGIN            MN         55932                  6004               Various                                                                                                $6.00
NATHANIEL LINDEMANN               1300 WESTBURY CT                                                  MANITOWOC        WI         54220                  6004               Various                                                                                               $24.00
NATHANIEL LOGALI                  2700 3RD AVE SW APT 8                                             AUSTIN           MN         55912                  6004               Various                                                                                                $3.00
NATHANIEL ROETHEL                 1022 NEW YORK AVE                                                 MANITOWOC        WI         54220                  6004               Various                                                                                               $31.00
NATHANIEL SLAVIK                  PO BOX 174                                                        HUBBELL          MI         49934                  6002               Various                                                                                                $1.95
NATHANIEL THOMPSON                11652 W BLUEBERRY AVE                                             NAMPA            ID         83651                  6002               Various                                                                                                $8.46
NATHANIEL WALLIN                  125 SPRUCE CT                                                     AUMSVILLE        OR         97325                  6004               Various                                                                                               $28.02
NATHANIEL ZEISE                   420 OAKFOREST LN                                                  SEYMOUR          WI         54165                  6004               Various                                                                                                $5.00
NATHELEE BOWMAN                   701 N CANTERBURY DR                                               APPLETON         WI         54915                  6002               Various                                                                                                $8.66
NATHEN FANNING                    544 BROOKLAND                                                     JACKSONVILLE     IL         62650                  6002               Various                                                                                                $5.62
NATHON GALLANT                    616 7TH ST                                                        RAWLINS          WY         82301                  6002               Various                                                                                                $0.27

NATIONAL ASSOCIATION OF           OPTOMETRISTS & OPTICIANS INC PO BOX 459                           MARBLEHEAD       OH         43440                  8270               Various                                                                                         $3,000.00
NATIONAL CAR RENTAL INCORPORAT    PO BOX 402334                                                     ATLANTA          GA         30384                  6826               Various                                                                                          $108.78
NATIONAL CART CO LLC              3125 BOSCHERTOWN ROAD                                             SAINT CHARLES    MO         63301                  2854               Various                                                                                          $260.00
                                                               ACCOUNTS
NATIONAL HEALTH INFORMATION       NETWORK INCORPORATED         RECEIVABLE         PO BOX 227216     DALLAS           TX         75222-7216             3697               Various                                            X                                           $91,555.78
NATIONAL LAUNDRY COMPANY          700 CRESCENT CIRCLE                                               GREAT FALLS      MT         59404-3210             8932               Various                                                                                          $236.11
                                                               3925 N HASTINGS
NATIONAL PRESTO INDUSTRIES INC    VICE PRESIDENT OF SALES      WAY                                  EAU CLAIR        WI         54703-3703              3924              Various                                                                                       $270,527.90
NATIONAL RETAIL PROPERTIES INC    450 S ORANGE AVENUE 900                                           ORLANDO          FL         32801                   8670              Various                                                                                       $108,544.31
NATIONAL ROOFING PARTNERS         621 E STATE HWY 121                                               COPPELL          TX         75019                                     12/4/2018                                                                                       $2,520.00




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                                                                                                                                                         Account         Incurred, Basis for
             Creditor Name                   Address1              Address2            Address3           City          State         Zip    Country     Number                Claim                                                                             Total Claim
NATIONAL TREE COMPANY (C-HUB)     2 COMMERCE DRIVE                                                 CRANFORD        NJ           07016-0000           7608                Various                                                                                         $88,634.64
NATOSHA LAST                      323 S BADGER AVE                                                 APPLETON        WI           54914                6004                Various                                                                                              $2.00
NATROL LLC                        21411 PRAIRIE STREET                                             CHATSWORTH      CA           91311-0000           6750                Various                                                                                         $22,198.12
NATURAL BEAUTY GROWERS LLC (SB    3891 SOLUTIONS CENTER                                            CHICAGO         IL           60677-3008           1515                Various                                                                                        $370,110.52
NATYA HASSAN                      2501 CALYPSO RD             APT 1                                MADISON         WI           53704                6004                Various                                                                                              $1.00
NAVEON MYLES                      5102 N 60 ST                                                     OMAHA           NE           68104                6004                Various                                                                                              $2.00
NAVEX GLOBAL INC                  PO BOX 60941                                                     CHARLOTTE       NC           28260-0941           1760                Various                                                                                         $19,476.92
                                                                                                                                                                         12/2/2018 -
NAVOPACHE ELECTRIC COOPERATIVE    PO BOX 70090                                                     PRESCOTT        AZ           86304-7090            9007               1/1/2019                                                                                        $3,395.57
NAW CHU                           1538 SPRING AVE #32                                              WORTHINGTON     MN           56187                 6004               Various                                                                                             $2.85
NAWA OMAR                         950 6TH AVE SE              APT 34                               ROCHESTER       MN           55904                 6004               Various                                                                                             $3.00
NAWAL AL JUBIRI                   2823 MORROW ST                                                   LINCOLN         NE           68503                 6004               Various                                                                                             $4.00
NAWAL TAMER                       4338 W LOWES CREEK RD                                            EAU CLAIRE      WI           54701                 6002               Various                                                                                             $9.97
NAYELI MARTINEZ                   2578 S BARRINGTON LN                                             BOISE           ID           83706                 6002               Various                                                                                             $6.90
NAYOMI LAMBARRI                   509 S. MAIN STREET                                               FORT ATKINSON   WI           53538                 6004               Various                                                                                             $2.00
NAYTHANYAL SCHUMSKI               818 WEINERT RD #3                                                WEST BEND       WI           53090                 6004               Various                                                                                             $2.00
NCSRCC HEALTH FUND                MELISSA REFUNDS             PO BOX 4002                          EAU CLAIRE      WI           54702                 6004               Various                                                                                          $119.70
NEAL D. ROEBKE                    229 FREDRICK ST                                                  MENASHA         WI           54952                 6002               Various                                                                                             $5.84

NEAL G JOHNSON                    N6795 COUNTY ROAD A TRLR 51                                      LAKE MILLS      WI           53551                 6002               Various                                                                                             $3.62
NEAL SOYKA                        31 GARDEN CT                                                     APPLETON        WI           54915                 6002               Various                                                                                             $1.32
NEAL SZYMANSKI                    5406 LINDA ST                                                    SCHOFIELD       WI           54476                 6002               Various                                                                                             $4.74
NEAL WERNER                       841 BLUEBERRY ST CARD                                            EDGAR           WI           54426                 6002               Various                                                                                             $2.30
NEAL WINGFIELD                    209 N 7TH ST                                                     CHARITON        IA           50049                 6002               Various                                                                                             $1.62
NEALY KASTEIN                     USF MCB W # 10122ND                                              SIOUX FALLS     SD           57105                 6002               Various                                                                                             $2.25
NEB FURST LLC                     100 CANYON CREEK                                                 IRVINE          CA           92603                 9667               Various                                                                                        $25,395.57
NEBRASKA GAME & PARK              ATTN: PERMIT SECTION        PO BOX 30370                         LINCOLN         NE           68503                 0905               Various                                                                                         $4,970.50
                                                                                                                                                                         12/4/2018 -
NEBRASKA PUBLIC POWER DISTRICT    PO BOX 2860                                                      OMAHA           NE           68103-2860             18150             1/2/2019                                                                                        $2,090.65
                                  CRIMINAL IDENTIFICATION     3800 NW 12TH
NEBRASKA STATE PATROL             DIVISION                    STREET                               LINCOLN         NE           68521-0000             9507              Various                                                                                            $76.00
                                                              4845 JUERGEN
NEBRASKALAND DISTRIBUTORS L L     VICE PRESIDENT OF SALES     ROAD               PO BOX 250        GRAND ISLAND    NE           68802                 9284               Various                                                                                         $1,245.12
NECA IBEW                         2120 HUBBARD AVENUE                                              DECATUR         IL           62526                 6004               Various                                                                                            $50.37
NED ANDERSON                      RT BOX # 263B                                                    POCATELLO       ID           83202                 6002               Various                                                                                             $5.48
NED GEERDTS                       600 MERRITT AVE             APT. 401                             OSHKOSH         WI           54901                 6004               Various                                                                                            $25.00
NED GUERRA                        809 MERRILL AVE                                                  BELOIT          WI           53511                 6004               Various                                                                                             $5.00
NEELY NUSSBAUMER                  PO BOX 158                                                       WEST GLACIER    MT           59936                 6002               Various                                                                                             $7.07
NEENAH GAUSE                      1119 RAYS LANE                                                   BILLINGS        MT           59101                 6004               Various                                                                                            $10.00
NEENAH PAPER                      PO BOX 404947                                                    ATLANTA         GA           30384                 5126               Various                                                                                         $4,596.37
NEFTALI GONZALEZ                  3293 W. TWIN VIEW LANE                                           MERIDIAN        ID           83642                 6004               Various                                                                                            $12.02
NEHEMIAH MANUFACTURING CO         PO BOX 933121                                                    CLEVELAND       OH           44193                 0663               Various                                                                                         $5,416.03
NEIL CHRISTENSEN                  557 S MAIN ST                                                    BRIGHAM CITY    UT           84302                 6002               Various                                                                                             $0.44
NEIL FRANK                        1391 MARIE DR                                                    KAUKAUNA        WI           54130                 6002               Various                                                                                             $4.38
NEIL HAUPT                        3854 OLD OLYMPIC HWY                                             PORT ANGELES    WA           98362                 6002               Various                                                                                             $7.53
NEIL KLUVER                       BOX #242                                                         RANDOLPH        NE           68771                 6002               Various                                                                                             $7.37
NEIL KOTTER                       119 N CLINTON AVE                                                CLINTONVILLE    WI           54929                 6002               Various                                                                                             $0.66
NEIL LEEPER                       280 MCIVER RD                                                    GREAT FALLS     MT           59404                 6002               Various                                                                                             $7.26
NEIL LEIVA                        1603 BLOCKI CT                                                   SHEBOYGAN       WI           53081                 6004               Various                                                                                            $29.02
NEIL MAZUREK                      6953 PLATTE AVE #3                                               LINCOLN         NE           68507                 6004               Various                                                                                             $3.00
NEIL MEHRENS                      813 1/2 HENRIETTA ST        APT B                                WAUSAU          WI           54403                 6004               Various                                                                                             $3.00
NEIL O HIGDON                     1501 JAMESTOWN RD                                                INDEPENDENCE    IA           50644                 6002               Various                                                                                             $6.79
NEIL SCHILLER                     PO BOX 694                                                       UPTON           WY           82730                 6002               Various                                                                                             $9.01
NEIL SCHONSCHECK                  7198 ANGELL RD                                                   OSHKOSH         WI           54904                 6002               Various                                                                                             $5.92




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              Creditor Name                   Address1             Address2          Address3              City          State         Zip     Country     Number                Claim                                                                             Total Claim
NEIL SIMONAR                      2559 HAZLEWOOD LANE                                              GREEN BAY          WI         54304                 6004                Various                                                                                            $25.00
NEIL TAYLOR                       2811 FORESTVIRW CIR                                              LINCOLN            NE         68522                 6002                Various                                                                                             $9.89
NEIL W WERNER                     602 W GATCHELL ST                                                BUFFALO            WY         82834                 6002                Various                                                                                             $6.58
NEILIE SIGMAN                     3704 CARPENTER RD NE                                             OLYMPIA            WA         98516                 6004                Various                                                                                            $15.00
NEILMED PHARMACEUTICALS           601 AVIATION BLVD                                                SANTA ROSA         CA         95403                 6718                Various                                                                                        $35,096.47
NEISHA BJORKLUND                  219 N BLANCHE AVE                                                MADISON            SD         57042                 6002                Various                                                                                             $5.37
NELEAH KNAUB                      502 A CHATEAU AVE                                                BELLEVUE           NE         68005                 6004                Various                                                                                            $22.63
NELLIE BINDEL                     724 S 4TH AVE                                                    WINTERSET          IA         50273                 6002                Various                                                                                             $2.68
NELLIE BRABANT                    BOX 63                                                           MIDDLEBORO         MB         R0A1B        CANADA 6002                  Various                                                                                             $1.56
NELLIE J MCGOWEN                  PO BOX 703                                                       DONIPHAN           MO         63935                 6002                Various                                                                                             $2.55
NELLIE R MILLER                   411 SE 4TH ST                                                    GREENFIELD         IA         50849                 6002                Various                                                                                             $1.89
NELLY MEDINA                      639 S MAIN ST                                                    BELVIDERE          IL         61008                 6004                Various                                                                                             $3.90
NELMAR SECURITY PACKAGING SYST    3100 DES BATISSEURS STREET                                       TERREBONNE         QC         J6Y 0A2      CANADA 4508                  Various                                                                                         $3,984.38

NELS ANDERSEN                     731 W GRAND AVE                                                  PORT WASHINGTON    WI         53074                   6002              Various                                                                                                $9.62
NELS NIEMELA                      20333 BOUNDARY RD                                                CHASSELL           MI         49916                   6002              Various                                                                                                $4.96
NELS PETERSEN                     4508 B ST.                                                       OMAHA              NE         68106                   6004              Various                                                                                                $5.00
NELS WEIR                         1432 EAST 4300 NORTH                                             BUHL               ID         83316                   6004              Various                                                                                               $10.00
NELSON FAMILY                     1163 ORLANDO DRATE                                               GREEN BAY          WI         54304                   6002              Various                                                                                                $1.75
NELSON VONGTHONGCHIT              3062 S. CORBIN DR.                                               WEST VALLEY CITY   UT         84120                   6004              Various                                                                                               $20.00
                                                                               650 W BEAVERBROOK
NELSON/ CHANTEL                   STORE 632                    SHOPKO EMPLOYEE AVENUE              SPOONER            WI         54801                   3193              Various                                                                                            $29.43
NELSONS OIL & GAS INCORPORATED    1346 GALVESTON AVENUE                                            HOT SPRINGS        SD         57747                   3502              Various                                                                                         $1,264.52
NELY ROBLES                       267 4TH STREET                                                   FOND DU LAC        WI         54935                   6004              Various                                                                                            $45.98
NEMONT BEVERAGE CORPORATION       VICE PRESIDENT OF SALES      PO BOX 432                          GLASCOW            MT         59230                   3282              Various                                                                                          $429.14
NENAH MUNIZ                       1016 INDIANA STREET                                              RACINE             WI         53405                   6004              Various                                                                                             $2.00
NENG LOR                          930 S 14TH AVE                                                   WAUSAU             WI         54401                   6002              Various                                                                                             $3.67
                                                               478 WHEELERS
NEOPOST USA                       ATTN COLLECTIONS DEPT        FARMS ROAD                          MILFORD            CT         06461                   8079              Various                                                                                          $405.46
NEOPOST USA INC                   DEPT 3689                    PO BOX 123689                       DALLAS             TX         75312-3689              2661              Various                                                                                         $3,048.30
                                                                                                                                                                           12/1/2018 -
NEPHI CITY CORPORATION            21 EAST 100 NORTH                                                NEPHI              UT         84648                   8221              12/31/2018                                                                                      $2,523.85
                                  10 WEST 33RD STREET 9TH
NES JEWELRY INCORPORATED          FLOOR                                                            NEW YORK           NY         10001                   0389              Various                                                                                        $17,302.38
NESTOR HERNANDEZ ESPARZA          140 DOGWOOD LANE                                                 WAPATO             WA         98951                   6004              Various                                                                                             $3.70
NETTIE A WALKER                   1935 N LINCOLN AVE APT 307                                       YORK               NE         68467                   6002              Various                                                                                             $1.01
NETTIE ALEFTERAS                  PO BOX 8356                                                      KALISPELL          MT         59901                   6004              Various                                                                                             $2.00
NETTIE WALL                       BOX 108                                                          SPRAGUE            MB         R0A1Z        CANADA     6002              Various                                                                                             $0.55
NEUMAN FAMILY                     42579 SUPERIOR RD                                                HOUGHTON           MI         49931                   6002              Various                                                                                             $5.12
NEVA THOMPSON                     1031 SE 2001ST                                                   ANDREWS            TX         79714                   6002              Various                                                                                             $9.86
NEVADA HOLLIDAY                   400 S 6TH STREET                                                 CORNELL            WI         54732                   6004              Various                                                                                             $2.00
NEVE WILLIAMS                     BOX 595                                                          FT. WASHAKIE       WY         82514                   6002              Various                                                                                             $7.89
NEVILLE JACKSON                   4896 OLD 8 ROAD                                                  RHINELANDER        WI         54501                   6004              Various                                                                                             $3.40
NEW BALANCE ATHLETIC SHOE INC     PO BOX 31978                                                     HARTFORD           CT         06150-1978              1886              Various                                                                                       $156,429.55
NEW HAMPTON ELECTRIC, INC.        207 E MAIN STREET                                                NEW HAMPTON        IA         50659                                     11/6/2018                                                                                        $334.52
NEW HAMPTON HARVESTER HOLDINGS    1515 W MAPLE AVENUE                                              RED WING           MN         55066                   8212              Various                                                                                         $6,368.40
NEW HAMPTON INDUSTRIAL CORPORA    PO BOX 435                                                       NEW HAMPTON        IA         50659                   4911              Various                                                                                          $150.00
NEW HAMPTON TRANSFER & STORAGE    1970 NORTH LINN AVENUE                                           NEW HAMPTON        IA         50659                   6269              Various                                                                                          $304.50
NEW HORIZONS CHAMBER OF COMMER    15 WEST MAIN STREET                                              NEW HAMPTON        IA         50659                   4530              Various                                                                                          $300.00
                                                                                                                                                                           11/21/2018 -
NEW MEXICO GAS COMPANY            PO BOX 27885                                                     ALBUQUERQUE        NM         87125-7885              440-6             12/20/2018                                                                                            $73.61
NEW MEXICO SECRETARY OF STATE     325 DON GASPAR STE 300                                           SANTA FE           NM         87501                   1044              Various                                                                                               $50.00




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             Creditor Name                  Address1              Address2         Address3             City          State           Zip   Country      Number                Claim                                                                             Total Claim
                                                             311 EAST
                                                             BALTIMORE AVE
NEW VIEW GIFTS & ACCESS (NJ)     VICE PRESIDENT OF SALES     3RD FLOOR                          MEDIA            PA           19063                   4193               Various                                                                                       $284,577.72

NEWLUN/ NIC                      1411 S 11TH STREET APT 2    SHOPKO EMPLOYEE                    LINCOLN          NE           68502-0000              8240               Various                                                                                            $75.90
NEWS GAZETTE                     PO BOX 677                                                     CHAMPAIGN        IL           61824-0677              0341               Various                                                                                           $650.07
                                                             3995 70TH AVENUE
NEWS GROUP LP (SBT)              MAGAZINE & BOOK SERVICES    E STE B                            FIFE             WA           98424-0000              7509               Various                                                                                        $98,260.01
NEWTON ELECTRIC CORP.            220 N. 3RD AVENUE                                              WAUSAU           WI           54401                                      Various                                                                                         $3,119.82
NEXT GENERATION PROPERTIES OF    1805 ZENITH DRIVE                                              SIOUX CITY       IA           51103                   1486               Various                                                                                         $3,071.29
NEZAHUALCOYOTL RAMIREZ           1741 MILTON AVE                                                WORTHINGTON      MN           56187                   6004               Various                                                                                            $35.70
NGEL YBARRA                      35338 COUNTY ROAD 130                                          SIDNEY           MT           59270                   6002               Various                                                                                             $2.90
NGELA C VOSS                     2747 W 12075TH S                                               RIVERTON         UT           84088                   6002               Various                                                                                             $2.30
NGOC MAI                         3806 PAXTON DRIVE                                              LINCOLN          NE           68521                   6004               Various                                                                                            $30.00
NHAM LE                          1222 W LAKE ST                                                 LINCOLN          NE           68522                   6002               Various                                                                                             $2.30
NHANH DINH                       316 NORTH BLACKMAN AVE                                         DULUTH           MN           55811                   6002               Various                                                                                             $1.00
NHIEU NGUYEN                     2853 AQUARIUS RD                                               GREEN BAY        WI           54311                   6002               Various                                                                                             $5.10
NICANDRO ACEVEDO                 1238 TALCOTT ST                                                FORT ATKINSON    WI           53538                   6002               Various                                                                                             $9.04
NICASIA GARCIA                   26683 SUNWICK AVE                                              WYOMING          MN           55092                   6002               Various                                                                                             $3.95
NICCOLO DIAZ                     1209 BUENA VISTA DR.                                           SUN PRAIRIE      WI           53590                   6004               Various                                                                                             $3.00
NICHLOUS COSTA                   314 LINCOLN ST APT 8                                           WAYNE            NE           68787                   6002               Various                                                                                             $1.42
                                 6342 N PARK MEADOW WAY
NICHOL BARD                      #5107                                                          BOISE            ID           83713                   6002               Various                                                                                                $6.60
NICHOL SCHAEFER                  1503 PLYMOUTH LN APT C                                         GREEN BAY        WI           54303                   6002               Various                                                                                                $1.73
NICHOLA HANKE                    408 N LOCUST AVE                                               NEW HAMPTON      IA           50659                   6002               Various                                                                                                $5.56
NICHOLAS ADA KONEN               435 11TH ST                                                    KIEL             WI           53042                   6002               Various                                                                                                $4.38
NICHOLAS ANDERSON                2797 N69                                                       CRYSTAL FALLS    MI           49920                   6004               Various                                                                                               $17.00
NICHOLAS BACKAUS                 417 W PARK ST                                                  MARSHFIELD       WI           54449                   6004               Various                                                                                               $23.00
NICHOLAS BECKER                  W6906 SUNNYVALE LANE        APT #4                             GREENVILLE       WI           54942                   6004               Various                                                                                               $30.02
NICHOLAS BEYER                   2315 UTAH AVE                                                  GREEN BAY        WI           54302                   6002               Various                                                                                                $6.16
NICHOLAS BOUCHE                  2333 W 9TH AVE                                                 OSHKOSH          WI           54904                   6004               Various                                                                                               $25.00
NICHOLAS BRITTON                 4807 SOUTH HEATH AVE                                           SALT LAKE CITY   UT           84118                   6004               Various                                                                                               $90.00
NICHOLAS BROOKS                  311 WILLOW ST APT B                                            ST MARIE         MT           59231                   6002               Various                                                                                                $0.47
NICHOLAS CECH                    8804 SICILY LANE                                               LINCOLN          NE           68526                   6004               Various                                                                                                $2.00
NICHOLAS CELIUS                  25950 512TH ST                                                 PLAINVIEW        MN           55964                   6002               Various                                                                                                $4.14
NICHOLAS CONARD                  9702 LOW RD                                                    FORESTVILLE      WI           54213                   6002               Various                                                                                                $3.48
NICHOLAS CRAVILLION              308 FRANKLIN ST APT 2                                          GREEN BAY        WI           54304                   6004               Various                                                                                               $42.00
NICHOLAS DALHAFF                 1317 SPRING STREET          #302                               MADISON          WI           53715                   6004               Various                                                                                               $20.00
NICHOLAS DALSANTO                W8124 COUNTY OO                                                PEMBINE          WI           54156                   6004               Various                                                                                                $8.80
NICHOLAS DAVIS                   2901 MONAD RD. APT #28                                         BILLINGS         MT           59102                   6004               Various                                                                                               $25.00
NICHOLAS DERCKS                  606 BUCHANAN ST.                                               LITTLE CHUTE     WI           54140                   6004               Various                                                                                               $10.00
NICHOLAS DERENNE                 430 S 31ST STREET                                              MANITOWOC        WI           54220                   6004               Various                                                                                                $4.32
NICHOLAS DISHNEAU                1405 NEENAH ST                                                 WATERTOWN        WI           53094                   6002               Various                                                                                                $5.53
NICHOLAS DOBBERT                 1311 JEROME AVE                                                JANESVILLE       WI           53546                   6004               Various                                                                                                $5.75
NICHOLAS FAUST                   2098 E 10140TH S                                               SANDY CITY       UT           84092                   6002               Various                                                                                                $1.34
NICHOLAS FELDT                   417 SOUTH WISCONSIN AVE                                        RICE LAKE        WI           54868                   6004               Various                                                                                                $7.50

NICHOLAS FRALEY                  2924 SOUTH 159 AVENUE CIRCLE                                   OMAHA            NE           68130                   6004               Various                                                                                               $25.00
NICHOLAS FREBER                  160 E. OAK GROVE ST.                                           JUNEAU           WI           53039                   6004               Various                                                                                               $14.98
NICHOLAS GIBSON                  800 7TH ST                                                     MADISON LAKE     MN           56063                   6002               Various                                                                                               $24.55
NICHOLAS GOTWALS                 1147 VINE ST                                                   BELOIT           WI           53511                   6004               Various                                                                                                $3.00
NICHOLAS HACKER                  115 PROFESSIONAL PLAZA       #331                              NEENAH           WI           54956                   6004               Various                                                                                               $31.50
NICHOLAS HAFEMEISTER             215 WEED ST                                                    FOX LAKE         WI           53933                   6004               Various                                                                                                $5.00
NICHOLAS HERRING                 1105 W FULTON ST #1                                            EDGERTON         WI           53534                   6004               Various                                                                                                $3.95




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NICHOLAS HILL                  1763 N 400 W                                                  SUNSET          UT         84015                 6004                Various                                                                                               $70.98
NICHOLAS HUDSON                366 LEIN-VEUM RD                                              CAMBRIDGE       WI         53523                 6002                Various                                                                                                $8.52
NICHOLAS I FLORES              300 S POTASH                                                  ALLIANCE        NE         69301                 6002                Various                                                                                               $10.00
NICHOLAS INMAN                 1410 DAMON CT SE                                              ROCHESTER       MN         55904                 6002                Various                                                                                                $1.95
NICHOLAS J CHRONIS             2461 N LINDALE                                                APPLETON        WI         54914                 6002                Various                                                                                                $2.33
NICHOLAS J GRAVES              RT BOX # 157                                                  ZUMBRO FALLS    MN         55991                 6002                Various                                                                                                $0.63
NICHOLAS J PAULSON             711 E BOLDT WAY                                               APPLETON        WI         54911                 6002                Various                                                                                                $3.48
NICHOLAS JOHNSON               101 E. CHURCH                                                 UNITY           WI         54488                 6004                Various                                                                                                $4.00
NICHOLAS JON ROBERTS           102 COUNTY ROAD D                                             BEAR CREEK      WI         54922                 6002                Various                                                                                                $9.95
NICHOLAS KIRKLAND              W5021 BARK RIVER ROAD                                         FORT ATKINSON   WI         53538                 6004                Various                                                                                                $1.00
NICHOLAS KLOIBER               1670 HUCKLEBERRY AVE       APT 202                            OMRO            WI         54963                 6004                Various                                                                                               $20.00
NICHOLAS KNOWTON               755 S 1600 E APT D                                            CLEARFIELD      UT         84015                 6004                Various                                                                                                $6.85
NICHOLAS KORNAUS               2555 SUNNYBROOK DR                                            GREEN BAY       WI         54313                 6004                Various                                                                                                $5.00
NICHOLAS KORTSCH               1110 ENGELHART DR                                             MADISON         WI         53713                 6002                Various                                                                                                $7.67
NICHOLAS LAITE                 1202 2ND AVE SW                                               AUSTIN          MN         55912                 6004                Various                                                                                                $3.00
NICHOLAS LANGLEY BENTER        205 E JESSE ST                                                RUSHFORD        MN         55971                 6004                Various                                                                                                $3.00
NICHOLAS LARSON                W9013 570TH AVE                                               ELLSWORTH       WI         54011                 6002                Various                                                                                                $6.68
NICHOLAS LEE                   1032 S 15TH STREET                                            MANITOWOC       WI         54220                 6004                Various                                                                                                $3.00
                               106 SOUTH SANDSTONE AVENUE
NICHOLAS LICKTEIG              APT #4                                                        BRANDON         SD         57005                  6004               Various                                                                                               $30.00
NICHOLAS LINDNER               N8711 STATE HIGHWAY 73                                        GREENWOOD       WI         54437                  6002               Various                                                                                                $5.92
NICHOLAS LINSSEN               2141 EAST RIVER DRIVE                                         GREEN BAY       WI         54301                  6004               Various                                                                                                $4.99
NICHOLAS M HARRISON            930 CRESTVIEW CT                                              POWELL          WY         82435                  6002               Various                                                                                                $0.47
NICHOLAS MAND                  620 12TH STREET                                               KIEL            WI         53042                  6004               Various                                                                                               $50.00
NICHOLAS MITTELSTAEDT          515 NW IRVING ST                                              PULLMAN         WA         99163                  6004               Various                                                                                               $75.00
NICHOLAS OHM                   57273 280TH AVE                                               PINE ISLAND     MN         55963                  6004               Various                                                                                                $3.06
NICHOLAS OLSON                 1575 TANNER STREET                                            POCATELLO       ID         83202                  6004               Various                                                                                               $20.00
NICHOLAS PHOEUNG               1014 PROVIDENCE CMN                                           SUN PRAIRIE     WI         53590                  6004               Various                                                                                                $2.00
NICHOLAS R PANTOJA             PO BOX 263                                                    SIDNEY          MT         59270                  6002               Various                                                                                                $4.49
NICHOLAS RADER                 14430 E BORN                                                  WAVERLY         NE         68503                  6002               Various                                                                                                $4.08
NICHOLAS RICHARDSON            5177 HIGH POINTE DR                                           WINNECONNE      WI         54986                  6002               Various                                                                                                $9.07
NICHOLAS RINDAHL               PO BOX 78                                                     COLUMBUS        MT         59019                  6004               Various                                                                                               $25.00
NICHOLAS ROYER JR              2432 EATON LN                                                 RACINE          WI         53404                  6004               Various                                                                                               $27.50
NICHOLAS SCHLICHTING           508 HUMBOLDT AVENUE                                           WAUSAU          WI         54403                  6004               Various                                                                                                $5.00
NICHOLAS SEDLACEK              417 SHARP ST                                                  GLENWOOD        IA         51534                  6002               Various                                                                                                $4.68
NICHOLAS SENGBUSCH             6767 CRIPPEN ST                                               GREENLEAF       WI         54126                  6004               Various                                                                                                $1.22
NICHOLAS SIGNER                W4810 TOWN CENTER RD                                          MONROE          WI         53566                  6002               Various                                                                                                $8.22
NICHOLAS SLUSSER               9874 COUNTY HIGHWAY Z                                         NEKOOSA         WI         54457                  6004               Various                                                                                               $11.00
NICHOLAS STENGER               1218 GEORGE ST                                                DE PERE         WI         54115                  6002               Various                                                                                                $0.79
NICHOLAS SWANSON               2508 91ST STREET                                              KENOSHA         WI         53143                  6004               Various                                                                                                $3.00
NICHOLAS TEMBY                 4733 HAYES #111                                               MADISON         WI         53714                  6004               Various                                                                                               $30.00
NICHOLAS TITH                  833 44 AVE NW                                                 ROCHESTER       MN         55901                  6004               Various                                                                                                $3.00
NICHOLAS TOMESH                410 E GATE ST                                                 RICE LAKE       WI         54868                  6004               Various                                                                                               $39.36
NICHOLAS WEED                  9204 CEDAR PARK ST                                            ROTHSCHILD      WI         54474                  6004               Various                                                                                               $45.00
NICHOLAS WIEBE                 27614 481ST AVE                                               SIOUX FALLS     SD         57103                  6004               Various                                                                                                $5.00
NICHOLAS WILLIAMSON            105 NELSON ST                                                 VENTURA         IA         50482                  6004               Various                                                                                               $30.00
NICHOLAS WILZ                  311 EMAIN ST                                                  WAUKON          IA         52172                  6002               Various                                                                                                $4.05
NICHOLAS ZARATE                4655 W 9600TH N                                               TREMONTON       UT         84337                  6002               Various                                                                                                $3.18
NICHOLE ANDERSON               2311 TRUMBLE CREEK RD                                         KALISPELL       MT         59901                  6002               Various                                                                                                $0.38
NICHOLE BEITO                  1008 HIGHWAY 11 S                                             BADGER          MN         56714                  6002               Various                                                                                                $7.86
NICHOLE BENNETT                226 WILL-O-BRUCE DR                                           ALBERT LEA      MN         56007                  6004               Various                                                                                                $3.00
NICHOLE BROOKS                 388 ANDESITE AVE                                              HELENA          MT         59602                  6002               Various                                                                                                $2.47
NICHOLE DIXON                  235 PINE CIRCLE DR                                            ANNANDALE       MN         55302                  6002               Various                                                                                                $6.16
NICHOLE FARRINGTON             132-0 GARLFIELD ST                                            NIAGARA         WI         54151                  6002               Various                                                                                                $1.10




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                                                                                                                                                                                                Contingent


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                                                                                                                                                       Last 4 Digits of     Date Debt was
                                                                                                                                                          Account         Incurred, Basis for
              Creditor Name                   Address1             Address2           Address3              City        State           Zip   Country     Number                Claim                                                                             Total Claim
NICHOLE FRISCH                    3162 JAGUAR LANE                                                 GREEN BAY         WI         54313                 6004                Various                                                                                            $28.90
NICHOLE GRIESS                    PO BOX 471                                                       ATKINSON          NE         68713                 6002                Various                                                                                             $7.59
NICHOLE JOHNSON                   7958 SW YAHOOSKIN DR                                             POWELL BUTTE      OR         97753                 6004                Various                                                                                             $5.02
NICHOLE M NORDHAUGEN              39 MICHIGAN AVE                                                  MONTREAL          WI         54550                 6002                Various                                                                                             $1.48
NICHOLE PURDY                     3732 LA MANCHA DR APT 2                                          JANESVILLE        WI         53546                 6004                Various                                                                                             $2.00
NICHOLE THOMAS                    439 MAIDEN ST                                                    THERMOPOLIS       WY         82443                 6002                Various                                                                                             $0.66
NICHOLE WEISSENBERGER             504 HAMILTON ST W                                                WEST SALEM        WI         54669                 6002                Various                                                                                             $2.11
NICHOLE WIERZBA                   3210 SANDY ACERS DR                                              PLOVER            WI         54467                 6004                Various                                                                                             $6.00
NICIKIA CONLEY                    1395 30TH AVE                APT 204                             KENOSHA           WI         53144                 6004                Various                                                                                             $3.00
NICK BENO                         2936 LAWRENCE DR                                                 DEPERE            WI         54115                 6004                Various                                                                                            $25.00
NICK BERTELSON                    705 N 5TH ST                                                     MISSOURI VALLEY   IA         51555                 6002                Various                                                                                            $10.00
NICK CHRISTIANSEN                 2525 SOUTH LYONS                                                 SIOUX CITY        IA         51106                 6004                Various                                                                                            $10.00
NICK CURRAN                       W10444 ISLAND LAKE LANE                                          GRESHAM           WI         54128                 6666                Various                                                                                          $338.57
NICK D SWAN                       1107 17TH ST                                                     GOTHENBURG        NE         69138                 6002                Various                                                                                             $1.12
NICK D. DALSANTO                  PO BOX 313                                                       PEMBINE           WI         54156                 6002                Various                                                                                             $9.62
NICK DAVISTER                     2416 ROYAL BAY RIDGE                                             NEW FRANKEN       WI         54229                 6004                Various                                                                                            $20.00
NICK DEFRIES                      770 LEE AVE SE                                                   COKATO            MN         55321                 6002                Various                                                                                             $5.26
NICK ESHELMAN                     105 NW GRANT ST                                                  GREENFIELD        IA         50849                 6002                Various                                                                                             $4.03
NICK H TIPPETTS                   61 A HWY # 241                                                   AFTON             WY         83110                 6002                Various                                                                                             $3.48
NICK HERINK                       5520 SHADY CREEK COURT #18                                       LINCOLN           NE         68516                 6004                Various                                                                                            $10.01
NICK HICKS                        1331 BELLEVUE LOT 90                                             GREEN BAY         WI         54302                 6004                Various                                                                                            $18.55
NICK HUSTON                       2200 COURT ST                                                    BEATRICE          NE         68310                 6002                Various                                                                                             $2.52
NICK MCCULLOCH                    615 N WALTON DRIVE                                               WHITEWATER        WI         53190                 6004                Various                                                                                            $21.00
NICK MCKEONE                      2406 SOUTH 49TH AVENUE                                           OMAHA             NE         68106                 6004                Various                                                                                            $19.94
NICK MONTEJO                      411 MAPLE ST                                                     WAKEFIELD         NE         68784                 6002                Various                                                                                             $5.40
NICK MOON                         817 N PARK ST                                                    WATERTOWN         SD         57201                 6004                Various                                                                                             $1.04
NICK PEREZ                        202 SOUTH B STREET                                               GRANGEVILLE       ID         83530                 6004                Various                                                                                             $5.02
NICK ROSSMAN                      1625 PONDEROSA AVE                                               GREEN BAY         WI         54313                 6002                Various                                                                                             $8.27
NICK VAN ELZEN                    3829 PINE HILL DR                                                RACINE            WI         53403                 6004                Various                                                                                            $15.00
NICK WATERS                       2036 COTTAGE RD                                                  LITTLE SUAMICO    WI         54141                 6004                Various                                                                                            $10.00
NICK ZUK                          422 EAST PINE STREET                                             EAGLE RIVER       WI         54521                 6004                Various                                                                                            $30.00
NICKENA PEET                      5120 370TH ST                                                    NORTH BRANCH      MN         55056                 6004                Various                                                                                             $3.00
NICKI GRETILLAT                   613 N 22ND ST DODGER APTS                                        FORT DODGE        IA         50501                 6004                Various                                                                                            $23.00
NICKI HUTSON                      1111 MAIN ST                                                     WAYNE             NE         68787                 6002                Various                                                                                             $5.95
NICKI MORAN                       814 N IRWIN STREET                                               GREEN BAY         WI         54302                 6004                Various                                                                                             $1.00
NICKIE KRANZ                      13245 550TH AVENUE                                               AMBOY             MN         56010                 6004                Various                                                                                             $1.31
NICKIE L GRUDOWSKI SR             413 W WASHINGTON AVE                                             REDGRANITE        WI         54970                 6002                Various                                                                                             $6.99
NICKLAS HENDRICKSON               1707 21ST. AVE                                                   MONROE            WI         53566                 6004                Various                                                                                             $4.25
NICKLAUS LANDSCAPING LAWN CARE    3428 COLLINS RD                                                  CHILTON           WI         53014                 6239                Various                                                                                          $379.80
NICKOLAS BENTON                   85 ARTHUR ST                                                     GRANT             MI         49327                 6002                Various                                                                                             $4.77
NICKOLAS DENNLER                  403 N CENTER ST                                                  IONIA             IA         50645                 6002                Various                                                                                             $2.96
NICKOLAS J LINCOLN                930 JEFFERSON ST                                                 MARQUETTE         MI         49855                 6002                Various                                                                                             $0.93
NICKOLAS PETERSON                 25404 E ACORN ST                                                 CALUMET           MI         49913                 6002                Various                                                                                             $5.29
NICKOLAS SCHREIBER                610 N KENSINGTON DR APT3                                         APPLETON          WI         54915                 6004                Various                                                                                             $1.00
NICKOLE SCHMIDT                   184 HINES ST                                                     ELLSWORTH         WI         54011                 6002                Various                                                                                             $6.64
NICKOLUS KERN                     3035 COLLEGE DR                                                  BLAIR             NE         68008                 6004                Various                                                                                            $69.98
NICKY BRANDSRUD                   111 NORTH TRAPMAN                                                GHENT             MN         56239                 6004                Various                                                                                            $37.00
NICKY BRAWNER                     RR 61 BOX 1034                                                   NAYLOR            MO         63953                 6002                Various                                                                                             $1.21
NICMEYER INVESTMENT LTD PARTNE    2826 MARLEONE POINT                                              SAINT JOHN        ND         58369                 8630                Various                                                                                         $2,604.17
NICOAL STEINMANN                  1420 PARKVIEW DR                                                 MONROE            WI         53566                 6002                Various                                                                                             $0.60
NICOL STOEGBAUER                  1420 S 37TH ST                                                   MANITOWOC         WI         54220                 6004                Various                                                                                            $21.58
NICOLA LARSEN                     100 B STREET                                                     RED OAK           IA         51566                 6004                Various                                                                                            $10.00
NICOLAE DIMBI                     11102 WEST BLAINE AVE                                            NAMPA             ID         83651                 6004                Various                                                                                            $15.00
NICOLAS A GERRITS                 106 1/2 FERRY ST                                                 EAU CLAIRE        WI         54703                 6002                Various                                                                                             $9.07




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                                                                                                                                                   Account         Incurred, Basis for
              Creditor Name                Address1           Address2        Address3             City         State           Zip    Country     Number                Claim                                                                             Total Claim
NICOLAS OLSON                  1575 TANNER STREET                                          POCATELLO         ID         83202                  6004                Various                                                                                               $20.00
NICOLAS SMITH                  811 18TH ST SW                                              AUSTIN            MN         55912                  6004                Various                                                                                               $64.99
NICOLAS STAMM                  4203 STERNBERG AVE                                          MOSINEE           WI         54455                  6004                Various                                                                                               $17.98
NICOLAS T. SOUTHERN            45 S 300TH W                                                BRIGHAM CITY      UT         84302                  6002                Various                                                                                                $6.71
NICOLAS TRUETT                 9530 COUNTY C                                               STURGEON BAY      WI         54235                  6004                Various                                                                                                $5.00
NICOLAS VILLARREAL             6917 SPRING GROVE CT                                        MIDDLETON         WI         53562                  6004                Various                                                                                                $2.00
NICOLE ABRAHAM                 113 BRANDYWINE DR SE                                        POPLAR GROVE      IL         61065                  6002                Various                                                                                                $9.78
NICOLE ANDERSON                461 GRANT ST APT 16A                                        STANLEY           WI         54768                  6002                Various                                                                                                $6.93
NICOLE ANDREWS                 501 22ND ST                                                 MONROE            WI         53566                  6004                Various                                                                                               $10.00
NICOLE ANTONY                  5422 QUAIL DRIVE                                            LA CROSSE         WI         54601                  6004                Various                                                                                               $57.00
NICOLE ASHLE PILOTIN           919 12TH ST                                                 RAWLINS           WY         82301                  6002                Various                                                                                               $10.00
NICOLE BABITS                  N64W23420 MAIN ST                                           SUSSEX            WI         53089                  6002                Various                                                                                                $8.30
NICOLE BEARINGER               209 CLEVELAND AVE E                                         UNDERWOOD         MN         56586                  6002                Various                                                                                                $2.38
NICOLE BECKER                  415 2ND ST. N.E.                                            PLAINVIEW         MN         55964                  6004                Various                                                                                                $6.12
NICOLE BEZELLA                 W3979 HIGHVIEW DRIVE                                        APPLETON          WI         54913                  6004                Various                                                                                               $49.00
NICOLE BINNER                  2436 LOOMIS                                                 LA CROSSE         WI         54603                  6004                Various                                                                                               $15.00
NICOLE BLAND                   777 W STILL BLOSSOM LN                                      SANDY             UT         84070                  6002                Various                                                                                                $7.70
NICOLE BORBA                   2383 N 250 W                                                CLEARFIELD        UT         84015                  6004                Various                                                                                                $3.90
NICOLE BOWER                   3340 S OAKHILL AVE                                          JANESVILLE        WI         53546                  6004                Various                                                                                                $1.00
NICOLE BRANDT                  2702 STARR AVE                                              EAU CLAIRE        WI         54703                  6002                Various                                                                                                $5.89
NICOLE BREITENFELD             612 HAZEL STREET                                            RIVER FALLS       WI         54022                  6004                Various                                                                                                $7.00
NICOLE BROWN                   2207 280TH ST                                               EXIRA             IA         50076                  6002                Various                                                                                                $5.53
NICOLE BUSS                    205 S MONITOR ST                                            WEST POINT        NE         68788                  6002                Various                                                                                                $1.81
NICOLE C EMERY                 1009 28TH ST N                                              WISCONSIN RAPID   WI         54494                  6002                Various                                                                                                $1.23
NICOLE CANFIELD                8208 N CEMETERY RD                                          EVANSVILLE        WI         53536                  6004                Various                                                                                               $25.00
NICOLE CLARK                   975 EVE DR APT 1                                            IDAHO FALLS       ID         83401                  6002                Various                                                                                                $5.18
NICOLE CONKLIN                 1614 PERNIN ST                                              MARINETTE         WI         54143                  6002                Various                                                                                                $9.92
NICOLE COTTER                  204 KAY DRIVE                                               WAUNAKEE          WI         53597                  6004                Various                                                                                               $15.00
NICOLE COY                     221 AIR PARK DRIVE - #16                                    WATERTOWN         WI         53094                  6004                Various                                                                                                $4.00
NICOLE CRUZ                    3375 WYLIE DRIVE #                                          HELENA            MT         59602                  6004                Various                                                                                                $2.00
NICOLE DEMERATH                423 E GLENDALE AVENUE                                       APPLETON          WI         54911                  6004                Various                                                                                                $9.44
NICOLE DOBBS                   383 TRETS COURT                                             COWICHE           WA         98923                  6004                Various                                                                                               $25.00
NICOLE DORNER                  2340 PECAN ST APT 6                                         GREEN BAY         WI         54311                  6002                Various                                                                                                $4.55
NICOLE DUQUAINE                1927 LAKESIDE PLACE                                         GREEN BAY         WI         54302                  6004                Various                                                                                               $20.00

NICOLE ELAYN LENZ              50288 STATE HIGHWAY 11 LOT 5                                SALOL             MN         56756                   6002               Various                                                                                             $2.82
NICOLE ENSMINGTER              13201 E BLOSSEY AVE                                         SPOKANE           WA         99206                   6004               Various                                                                                            $23.00
NICOLE FORTUNA MICHEL          185 N 600TH E                                               MORGAN            UT         84050                   6002               Various                                                                                             $4.00
NICOLE FRIEDRICH               2220 16TH STREET                                            MONROE            WI         53566                   6004               Various                                                                                            $36.50
NICOLE GAMMON                  20443 CANYON SPRINGS LN                                     WHITEWOOD         SD         57793                   6002               Various                                                                                             $6.38
NICOLE GARRETT                 2740 NW 49TH STREET                                         LINCOLN           NE         68524                   6004               Various                                                                                            $39.00
NICOLE GERMAN                  123 WASHINGTON ST S                                         BROWNS VALLEY     MN         56219                   6002               Various                                                                                             $0.66
NICOLE GRESHAM                 255 RIVERVEIW APT 2                                         GREEN RIVER       WY         82935                   6002               Various                                                                                             $7.29
NICOLE H CHIASSON              BOX 116                                                     SPRAGUE           MB         R0A1Z         CANADA    6002               Various                                                                                            $10.00
NICOLE HAAGENSEN               262 W BOISE AVE                                             BOISE             ID         83706                   6002               Various                                                                                             $3.45
NICOLE HARDIN                  13208 SOUTH 35HTH AVE                                       BELLEVUE          NE         68123                   6004               Various                                                                                            $21.94
NICOLE HAWK                    2970 MOSSY OAK CIR APT 10                                   GREEN BAY         WI         54311                   6002               Various                                                                                             $1.23
NICOLE ISAACS                  969 WASHINGTON LN                                           GREENSBURG        LA         70441                   6002               Various                                                                                             $5.64
NICOLE IVERSON                 707 W BARAGA AVE                                            HOUGHTON          MI         49931                   6002               Various                                                                                             $8.63
NICOLE JACOBS                  372 GWYNN                                                   GREEN BAY         WI         54301                   6666               Various                                                                                            $25.00
NICOLE JENINGA                 25 WEST STREET APT #7                                       ELKHORN           WI         53121                   6004               Various                                                                                            $30.04
NICOLE JEWETT                  113 N MADISON AVENUE                                        MASON CITY        IA         50401                   6002               Various                                                                                           $120.00
NICOLE KEEPERS                 7512 HWY 32                                                 ARGONNE           WI         54511                   6004               Various                                                                                            $20.00
NICOLE KELLY                   3811 CAPITAL CIRCLE                                         LINCOLN           NE         68524                   6004               Various                                                                                             $5.01




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                                                                                                                                                   Last 4 Digits of     Date Debt was
                                                                                                                                                      Account         Incurred, Basis for
              Creditor Name               Address1              Address2         Address3              City         State           Zip   Country     Number                Claim                                                                             Total Claim
NICOLE KESSLER                 P O BOX 144                                                    OSBURN             ID         83849                 6004                Various                                                                                            $36.00
NICOLE KLUCK                   416 BIRCHWOOD DR.                                              BELGIUM            WI         53004                 6004                Various                                                                                             $6.00
NICOLE KNUTSON                 400 S WESTERN AVE APT 101                                      WAUPACA            WI         54981                 6002                Various                                                                                             $9.59
NICOLE KOEHNE                  5146 GEANO BEACH RD                                            LITTLE SUAMICO     WI         54141                 6004                Various                                                                                            $34.00
NICOLE LAMARCA                 901 W. STARIN ROAD                                             WHITEWATER         WI         53190                 6004                Various                                                                                            $56.00
NICOLE LEE                     285 HIGHWAY 93N                                                SALMON             ID         83467                 6002                Various                                                                                             $4.03
NICOLE LEIGH BUSH              40 SUNSET AVE                                                  ALGOMA             WI         54201                 6002                Various                                                                                             $2.58
NICOLE LOCKMAN                 1421 COOK AVE                                                  WISCONSIN RAPID    WI         54494                 6002                Various                                                                                             $2.27
NICOLE LORENZONI               228 E TIMBERLINE DR                                            APPLETON           WI         54913                 6002                Various                                                                                             $8.63
NICOLE LOWE                    217 S CURTIS ST              APT A                             MISSOULA           MT         59801                 6004                Various                                                                                             $2.00
NICOLE M GNABASIK              1423 CENTER ST                                                 WATERTOWN          WI         53098                 6002                Various                                                                                             $6.93
NICOLE M RONNENBERG            10 HERON LN                                                    WINONA             MN         55987                 6002                Various                                                                                             $8.47
NICOLE M SCHMIDT               32067 HORNSBY ST NE                                            NORTH BRANCH       MN         55056                 6002                Various                                                                                             $1.84
NICOLE MAHAN                   3612 14TH ST.                                                  LEWISTON           ID         83501                 6004                Various                                                                                           $250.00
NICOLE MAILLE                  2107 AVENUE B                                                  FT MADISON         IA         52627                 6004                Various                                                                                            $50.00
NICOLE MANWARREN               322 N PENNSYLVANIA AVE                                         MASON CITY         IA         50401                 6002                Various                                                                                             $7.62
NICOLE MARKS                   116 PHISSEN CT                                                 MANKATO            MN         56001                 6004                Various                                                                                             $3.00
NICOLE MARSHALL                PO BOX 854                                                     MISSION            SD         57555                 6002                Various                                                                                             $9.84
NICOLE MARTIN                  420 BICENTENNIAL CT APT C4                                     KAUKAUNA           WI         54130                 6002                Various                                                                                             $6.14
NICOLE MCKAY                   1640 WESTERN STREET                                            OSHKOSH            WI         54901                 6004                Various                                                                                             $2.26
NICOLE MERLO                   201 W JASPER ST                                                GWINN              MI         49841                 6002                Various                                                                                             $3.51
NICOLE MILLER                  W1945 MAIN STREET                                              SULLIVAN           WI         53178                 6004                Various                                                                                             $3.00
NICOLE MILLERD                 1335 MOORELAND AVE           APT A                             OSHKOSH            WI         54902                 6004                Various                                                                                            $44.32
NICOLE MOHR                    2066 MEADOW HEIGHTS TRL                                        GREEN BAY          WI         54313                 6002                Various                                                                                             $1.12
NICOLE MONOPOLI                116 COURT ST                                                   PIERCE             ID         83546                 6002                Various                                                                                             $1.95
NICOLE MUNOZ                   1319 MAPLE ST                                                  RACINE             WI         53404                 6004                Various                                                                                             $3.00
NICOLE MYERS                   3721 N W 49TH ST                                               LINCOLN            NE         68524                 6004                Various                                                                                             $2.00
NICOLE NEITZEL                 4830 EASY ST APT. 148                                          HARTLAND           WI         53029                 6004                Various                                                                                            $10.00
NICOLE NIELSON                 1004 BRYAN AVE                                                 BELLEVUE           NE         68005                 6004                Various                                                                                            $23.00
NICOLE NOVAK                   4612 L ST                    PO BOX 27274                      OMAHA              NE         68127                 6004                Various                                                                                             $9.97
NICOLE PAPLHAM                 3796 SHADY LN                                                  GREEN BAY          WI         54313                 6004                Various                                                                                            $69.00
NICOLE PATTERSON               PO BOX 2                                                       PECK               ID         83545                 6002                Various                                                                                             $0.99
NICOLE PENNINGS                535 WILLSON ST                                                 LITTLE CHUTE       WI         54140                 6004                Various                                                                                             $1.00
NICOLE PEREA                   570 W. 600 S.                                                  TREMONTON          UT         84337                 6004                Various                                                                                            $25.00
NICOLE PETERSON                311 MAPLE STREET                                               FORT ATKINSON      WI         53538                 6004                Various                                                                                             $4.00
NICOLE PHILLEY                 12669 HARROW COURT                                             CALDWELL           ID         83607                 6004                Various                                                                                             $9.36
NICOLE PILACZYNSKI             301 FAIRVIEW AVE                                               FAIRMONT           MN         56031                 6004                Various                                                                                             $3.00

NICOLE PUENTES                 14820 NORMANDY BLVD APT 20                                     BELLEVUE           NE         68123                  6002               Various                                                                                                $7.95
NICOLE R OLSON                 1669 W ESSEX CT                                                HAYDEN LAKE        ID         83835                  6002               Various                                                                                                $5.87
NICOLE REED                    217 S PINEWOOD DRIVE                                           POST FALLS         ID         83854                  6004               Various                                                                                                $5.00
NICOLE REINTJES                5091 S 1150TH E                                                OGDEN              UT         84403                  6002               Various                                                                                                $0.77
NICOLE RENEE NELSON            2056 E 230TH S                                                 SPANISH FORK       UT         84660                  6002               Various                                                                                                $6.11
NICOLE RIEDEL                  3147 MITCHELL AVE                                              EAU CLAIRE         WI         54703                  6002               Various                                                                                                $1.51
NICOLE RIVERA                  6064 ILLINOIS LN SE        UNIT C                              OLYMPIA            WA         98513                  6004               Various                                                                                               $20.25
NICOLE RUTLEDGE                850 ELMWOOD AVE                                                BELOIT             WI         53511                  6002               Various                                                                                                $8.52
NICOLE SCHMIDT                 3855 PIONEER PARK DRIVE                                        HELENA             MT         59602                  6004               Various                                                                                               $85.60
NICOLE SCHULTZ                 992 THIRD ST APT 201                                           MENASHA            WI         54952                  6002               Various                                                                                                $7.64
NICOLE SHUMA                   118 E MILL ST                                                  BEAVER DAM         WI         53916                  6002               Various                                                                                                $4.33
NICOLE SKENANDORE              1322 1/2 S BROADWAY ST                                         GREEN BAY          WI         54303                  6004               Various                                                                                                $1.00
NICOLE SKUTLEY                 W206N16525 MARSHLAND DR                                        JACKSON            WI         53037                  6002               Various                                                                                                $0.27

NICOLE SLEETER                 340 5TH STREET                                                 WISCONSIN RAPIDS   WI         54494                  6004               Various                                                                                               $39.00
NICOLE SMITH                   1976 BALTIC TER                                                GREEN BAY          WI         54311                  6002               Various                                                                                                $4.08




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                                                                                                                                                                                            Contingent


                                                                                                                                                                                                                        Disputed
                                                                                                                                                   Last 4 Digits of     Date Debt was
                                                                                                                                                      Account         Incurred, Basis for
             Creditor Name                    Address1              Address2        Address3            City        State           Zip   Country     Number                Claim                                                                             Total Claim
NICOLE SOBCZAK                    4111 MAHER AVE                                                 MADISON         WI         53716                 6004                Various                                                                                               $21.00
NICOLE SOLBERG                    1196 MEADOWLARK DR                                             SUN PRAIRIE     WI         53590                 6004                Various                                                                                               $23.00
NICOLE SORGATZ                    1622 SHARON DR                                                 NORTH MANKATO   MN         56003                 6004                Various                                                                                                $6.00
NICOLE STEGMANN                   527 BALESHARE ROAD                                             GREEN BAY       WI         54313                 6004                Various                                                                                               $37.40
NICOLE THOMALLA                   1012 22ND ST                                                   GOTHENBURG      NE         69138                 6002                Various                                                                                                $3.62
NICOLE THOMPSON                   11864 REUTZEL DR.                                              BOISE           ID         83709                 6004                Various                                                                                                $1.00
NICOLE TRIPP                      808 WALWORTH ST                                                KINGSFORD       MI         49802                 6002                Various                                                                                                $6.19
NICOLE TROSKY                     25371 NOTUS ROAD                                               CALDWELL        ID         83607                 6004                Various                                                                                                $5.00
NICOLE UMPHENOUR                  PO BOX 237                                                     WEIPPE          ID         83553                 6002                Various                                                                                                $1.15
NICOLE VANNOSTRAND                4530 W MCLELLAN RD APT 45                                      GLENDALE        AZ         85301                 6002                Various                                                                                                $1.21
NICOLE VAZQUEZ                    2951 N 4000 E                                                  HANSEN          ID         83334                 6004                Various                                                                                                $3.65
                                  100 MEADOW BLOOM LANE APT
NICOLE VOLK                       106                                                            AMBOY           MN         56010                  6004               Various                                                                                                $3.00
NICOLE WEAVER                     7011 HELEN WITT DR APT 804                                     LINCOLN         NE         68512                  6002               Various                                                                                                $1.81
NICOLE WEEKS                      3848 CASS STAPT 3                                              OMAHA           NE         68131                  6004               Various                                                                                                $4.00
NICOLE WELKE                      10052CTY HWY G                                                 STANLEY         WI         54768                  6004               Various                                                                                               $25.00
NICOLE WESTRUP                    101 SOUTH WALTS AVE                                            SIOUX FALLS     SD         57104                  6004               Various                                                                                               $10.00
NICOLE WEYER                      2313 HEMLOCK AVENUE                                            SCHOFIELD       WI         54476                  6004               Various                                                                                                $5.50
NICOLE WHITE                      2301 N LINCOLN RD                                              ESCANABA        MI         49829                  6002               Various                                                                                                $9.01
NICOLE WIEDER                     612 COLLINS RD               #5                                JEFFERSON       WI         53549                  6004               Various                                                                                                $2.00
NICOLE WILLIAMSON                 9 NAVAJO ST                                                    NEWCASTLE       WY         82701                  6002               Various                                                                                                $4.22
NICOLE WINTERS                    1732 E 4TH ST                APT L                             DULUTH          MN         55812                  6004               Various                                                                                                $3.00
NICOLET PROMOTIONS INCORPORATE    NICOLET WELCOME SERVICES     PO BOX 1546                       RHINELANDER     WI         54501                  7356               Various                                                                                               $15.75
NICOLETTE WARREN                  649 SOUTHTOWNE DR                                              BELVIDERE       IL         61008                  6004               Various                                                                                               $30.00
NICOLLE SEMRAU                    N5778 CTY TRK G                                                BEAVER DAM      WI         53916                  6002               Various                                                                                                $8.27
NICOTA RIOUX                      2219 NW 12TH ST                                                MERIDIAN        ID         83646                  6002               Various                                                                                                $4.66
NIEGO STEVENSON                   9706 ALDERSON ST APT 1                                         SCHOFIELD       WI         54476                  6004               Various                                                                                                $4.00
NIELS NELSON                      923 ENGLISH ST               APT 1                             RACINE          WI         53402                  6004               Various                                                                                                $3.00
NIGEL A. BEAUMONT                 PO BOX 386                                                     MULLAN          ID         83846                  6002               Various                                                                                                $9.01
NIK KIELSTRA                      1461 COOK RD                                                   YAKIMA          WA         98908                  6004               Various                                                                                               $29.00
NIKAULY POLANCO                   8810 W CAPITOL AVE                                             MILWAUKEE       WI         53225                  6004               Various                                                                                               $12.44
NIKELE SIMS                       1613 17TH ST                                                   LEWISTON        ID         83501                  6002               Various                                                                                                $8.11
NIKESA AUBERTIN                   PO BOX 201                                                     LAPWAI          ID         83540                  6004               Various                                                                                                $9.00
NIKI FORSMAN                      150 SHADY LN SPC 403                                           KALISPELL       MT         59901                  6002               Various                                                                                                $4.05
NIKI HACKETT                      601 BROWN ST                                                   OAKLAND         IA         51560                  6004               Various                                                                                               $41.18
NIKI LUND                         1448 N HAMPSHIRE AVE                                           MASON CITY      IA         50401                  6002               Various                                                                                                $9.51
NIKI RAYMOND                      27193 SD HIGHWAY 79E                                           BUFFALO GAP     SD         57722                  6002               Various                                                                                                $3.84
NIKIE R ROEN                      409 E GUSTAVUS AVE                                             FERGUS FALLS    MN         56537                  6002               Various                                                                                                $6.79
NIKITA MONDAY                     4715 CAMDEN RD                                                 MADISON         WI         53716                  6004               Various                                                                                               $57.00
NIKKAYLA PARKS                    1215 JACKSON ST., #201                                         STOUGHTON       WI         53589                  6004               Various                                                                                                $1.00
NIKKI BALLA                       621 CYNTHIA DR R                                               KALISPELL       MT         59901                  6002               Various                                                                                                $1.92
NIKKI DYER                        205 VALORIE LANE             #8                                MONONA          WI         53716                  6004               Various                                                                                                $5.70
NIKKI FINNIGAN                    1147 GARLAND STREET                                            GREEN BAY       WI         54301                  6004               Various                                                                                                $1.00
NIKKI HATCH                       14332 S DAIRY FORK RD                                          SPANISH FORK    UT         84660                  6002               Various                                                                                                $1.95
NIKKI HULL                        501 WESTWOOD AVE                                               KINGSFORD       MI         49802                  6002               Various                                                                                                $0.77
NIKKI MUSSFELDT                   405 MARIA DRIVE                                                WAUSAU          WI         54401                  6004               Various                                                                                               $23.00
NIKKI ROEDER                      1511 GRANGEMONT RD                                             OROFINO         ID         83544                  6002               Various                                                                                                $4.85
NIKKI SANDERS                     51466 BALL RD                                                  DOWAGIAC        MI         49047                  6002               Various                                                                                                $0.88
NIKOLAS EWELT                     3188 VILAS RD                                                  COTTAGE GROVE   WI         53527                  6004               Various                                                                                                $5.00
NIKOLE ANDERSON                   724 ADAMS ST                                                   LITTLE CHUTE    WI         54140                  6002               Various                                                                                                $1.92
NIKOLE OLSEN                      PO BOX 2097                                                    SISTERS         OR         97759                  6004               Various                                                                                               $90.03
NILE J GALLINO                    607 N VALENTINE ST                                             VALENTINE       NE         69201                  6002               Various                                                                                                $8.55
NILE OSTENSO                      2023 PARKLAWN PLACE                                            MIDDLETON       WI         53562                  6004               Various                                                                                                $5.40
NILLA KALBFLEISCH                 3622 12TH ST                                                   LEWISTON        ID         83501                  6002               Various                                                                                                $6.22




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            Creditor Name                           Address1              Address2         Address3             City       State           Zip   Country     Number                Claim                                                                             Total Claim
NIMO KAHIN                              1230 15TH ST. N.             APT 19                             SAINT CLOUD     MN         56303                 6004                Various                                                                                                $3.00
NIMO KEYNAN                             402 31ST ST NE APT 223                                          ROCHESTER       MN         55906                 6002                Various                                                                                                $7.07
NINA GRUETZMACHER                       613 ELM ST P O BOX # 444                                        LUXEMBURG       WI         54217                 6002                Various                                                                                               $10.00
NINA HARRIS                             PO BOX 2032                                                     LA CROSSE       WI         54602                 6004                Various                                                                                                $3.00
NINA LAMB                               18389 442ND AVE                                                 HAZEL           SD         57242                 6002                Various                                                                                                $5.23
NINA UTTERBACK                          203 NE FLINT ST                                                 GREENFIELD      IA         50849                 6002                Various                                                                                                $8.71
NINA WAGNER                             2218 CORINTH DR                                                 SUN PRAIRIE     WI         53590                 6004                Various                                                                                               $25.00
NINA WIDMARK                            7820 MILITARY AVENUE                                            OMAHA           NE         68134                 6002                Various                                                                                                $4.49
NINFA POLANCO                           1308 SE 501ST                                                   ANDREWS         TX         79714                 6002                Various                                                                                                $4.41

NINGBO KONWIN ELECTRICAL APPLI          2314 S VINEYARD AVENUE UNIT J                                   ONTARIO         CA         91761                  3847               Various                                                                                       $203,878.71
NINO FUA                                N8283 KELLOM RD               LOT 80                            BEAVER DAM      WI         53916                  6004               Various                                                                                            $20.00
NINTENDO OF AMERICA                     PO BOX 2155                                                     REDMOND         WA         98052                  3200               Various                                                                                       $193,559.60
NINY CHRISTENSEN                        2155 GRANT AVE APT 151                                          OGDEN           UT         84401                  6002               Various                                                                                             $0.60
NIPSCO - NORTHERN INDIANA PUBLIC SERV   P.O. BOX 13007 @ NISOURCE,                                                                                                           11/29/2018 -
CO                                      INC                                                             MERRILLVILLE    IN         46411-3007             1-Mar              12/28/2018                                                                                      $2,632.19
NIRA E. WILLIAMS                        1326 E SEASONS RD                                               ATHOL           ID         83801                  6002               Various                                                                                             $1.10
NISBARDO LOPEZ                          2340 COMPTON STREET                                             EUGENE          OR         97404                  6004               Various                                                                                            $40.00
NISHAN HACHERIAN                        8600 CORPORATE DRIVE                                            RACINE          WI         53406                  6002               Various                                                                                             $9.37
NISQUALLY TRIBE                         4820 SHE-NAH-NUM DRIVE SE                                       OLYMPIA         WA         98513                  6004               Various                                                                                            $25.40
NISSA NEWTON                            9382 S WILSHIRE PARK AVE                                        WEST JORDAN     UT         84081                  6002               Various                                                                                             $7.18
NISSA URIOSTEGUI                        1404 THERESA TER                                                MADISON         WI         53711                  6004               Various                                                                                            $21.00
NISSIN FOODS USA CO INC                 PO BOX 512877                                                   LOS ANGELES     CA         90051-0877             4395               Various                                                                                        $18,754.06
NITA A REYES                            3413 COACHMAN CT                                                NAMPA           ID         83687                  6002               Various                                                                                             $9.04
NITA COLE                               7715 E SAPHIRE LN                                               SPOKANE         WA         99212                  6004               Various                                                                                            $10.00
NITA HOUCH                              1221 DOUGLAS ST                                                 SIOUX CITY      IA         51105                  6002               Various                                                                                             $1.04
NITA STREETER                           RR 1 BOX 1250                                                   DONIPHAN        MO         63935                  6002               Various                                                                                             $5.97
NITCHKA DENTON                          4637 ATTICUS WAY                                                MADISON         WI         53711                  6004               Various                                                                                             $2.00
                                                                      5660 CENTRAL
NITE IZE INCORPORATED                   VICE PRESIDENT OF SALES       AVENUE                            BOULDER         CA         80301                  7044               Various                                                                                        $23,249.34
NK WASTE                                106 N MACOMB ST                                                 VALENTINE       NE         69201                                     Various                                                                                          $700.00
NKAU MOUA                               511 N THOMSON RD                                                SUN PRAIRIE     WI         53590                   6004              Various                                                                                            $36.00

NLF SKHT HARDIN LLC                     HAMPSHIRE NET LEASE FUND LLC 83 SOUTH STREET                    MORRISTOWN      NJ         07960                  0625               Various                                                                                        $12,583.34
NOAH ARSENEAU                           530 IRON STREET                                                 NORWAY          MI         49870                  6004               Various                                                                                             $7.02
NOAH BOOSE                              3830 KENOSHA DR NW                                              ROCHESTER       MN         55901                  6004               Various                                                                                             $3.00
NOAH DANIEL                             203 S EASTWOOD ST                                               NORFOLK         NE         68701                  6002               Various                                                                                             $6.49
NOAH FIELDS                             113 N PARK ST                                                   ST CLAIR        MN         56080                  6004               Various                                                                                            $58.55
NOAH FILER                              18002 PIEPER RD                                                 DAVIS           IL         61019                  6004               Various                                                                                            $32.83
NOAH FINLEY                             403 WISCONSIN AVE                                               FOND DU LAC     WI         54937                  6004               Various                                                                                            $49.32
NOAH JAMISON                            4105 E. DIAGONAL RD                                             RATHDRUM        ID         83858                  6004               Various                                                                                            $10.00
NOAH KLINGENSMITH                       1052965 CORTEZ                                                  FRANKLIN        WI         53132                  6002               Various                                                                                             $8.63
NOAH LEFERS                             620 PINE ST                                                     MADISON         WI         53715                  6004               Various                                                                                            $35.00
NOAH M WAGLER                           8774 SHORT CUT RD                                               BLOOMINGTON     WI         53804                  6002               Various                                                                                             $4.25
NOAH MASON                              1326 VERNON                                                     BELOIT          WI         53511                  6004               Various                                                                                            $22.50
NOAH MCCAMEY                            940 ELM ST                                                      BELOIT          WI         53511                  6004               Various                                                                                             $1.00
NOAH MEYERS                             W36096 CENTER VALLEY RD                                         APPLETON        WI         54913                  6002               Various                                                                                             $6.71
NOAH RAYMAKER                           W4403 HILL ROAD                                                 HILBERT         WI         54129                  6004               Various                                                                                            $67.00
NOAH SEYS-MARSHALL                      120 TATTLER LANE                                                MANKATO         MN         56001                  6004               Various                                                                                             $7.00
NOAH SKELLY                             1120 W COURT ST                                                 JANESVILLE      WI         53548                  6004               Various                                                                                             $3.00
NOAH SPINNER                            N1231 THRUSH DR                                                 GREENVILLE      WI         54942                  6004               Various                                                                                             $5.00
NOAH SWEET                              2901 HARLAN LEWIS ROAD                                          BELLEVUE        NE         68005                  6004               Various                                                                                            $43.00
NOAH SYLTE                              1501 ROBY ROAD                                                  STOUGHTON       WI         53589                  6004               Various                                                                                            $20.00
NOAH W SULLIVAN                         W2550 TAYLOR CREEK RD                                           EAU CLAIRE      WI         54701                  6002               Various                                                                                             $7.48




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                                                                                                                                                    Account         Incurred, Basis for
              Creditor Name                Address1            Address2         Address3             City         State           Zip   Country     Number                Claim                                                                             Total Claim
NOE CERVANTES                  1145 E 1450TH S                                               CLEARFIELD        UT         84015                 6002                Various                                                                                                $2.77
NOE J. CASTILLO                504 MILLER AVE                                                LAYTON            UT         84041                 6002                Various                                                                                                $9.37
NOE MORALES                    1151 1ST ST NW                                                ROCHESTER         MN         55901                 6002                Various                                                                                                $3.37
NOE RANGEL                     N16166 3RD ST E                                               NEKOOSA           WI         54457                 6002                Various                                                                                               $10.00

NOEL HANSEN                    442 E NORPORT DR                                              PORT WASHINGTON   WI         53074                  6002               Various                                                                                                $2.71
NOEL MERCADO                   1326 50TH ST. REAR                                            KENOSHA           WI         53140                  6004               Various                                                                                                $3.00
NOEL RUSNELL                   8 TOWER ROCK LOOP                                             CARMEN            ID         83462                  6002               Various                                                                                                $1.89
NOEL RUSSELL                   1800 E 3900 S                                                 SALT LAKE CITY    UT         84124                  6004               Various                                                                                               $45.84
NOEL STREGE                    12402 BLACKBERRY RD                                           ELLISON BAY       WI         54210                  6002               Various                                                                                                $0.27
NOEL WINTERS                   PO BOX 157                                                    ROCKFORD          IA         50468                  6002               Various                                                                                                $0.63
NOELIA RODRIGUEZ               3908 S GRAND SLAM PLACE                                       SIOUX FALLS       SD         57110                  6004               Various                                                                                               $10.00
NOELLE CHRISTENSEN             1707 W PARK ST                                                HARLAN            IA         51537                  6002               Various                                                                                                $0.44
NOELLE SAPIRO                  6957 COUNTY RD K                                              MIDDLETON         WI         53562                  6004               Various                                                                                               $25.00
NOEMI MARTINEZ                 1911 HIDEAWAY PL                                              WENATCHEE         WA         98801                  6004               Various                                                                                               $30.00
NOEMI SUAREZ                   1315 2ND AVE                                                  WORTHINGTON       MN         56187                  6004               Various                                                                                                $3.00
NOI SISOUVANH                  520 WILLIMOR CIRCLE                                           ALBERT LEA        MN         56007                  6004               Various                                                                                                $3.00
NOLAN AHRENDT                  48019 WOODSONG PLACE                                          SIOUX FALLS       SD         57108                  6004               Various                                                                                               $25.00
NOLAN DAVIS                    995 CTY RD # 3                                                OAKLAND           NE         68045                  6002               Various                                                                                                $3.07
NOLAN KARTCHNER                5510 S 550TH E                                                OGDEN             UT         84405                  6002               Various                                                                                                $6.27
NOLAN MANCE                    3403 CLEVELAND AVE APT 8                                      MARINETTE         WI         54143                  6004               Various                                                                                                $1.00
NOLAN MARTIN                   N13257 ROMADKA AVE                                            CURTISS           WI         54422                  6002               Various                                                                                                $5.34
NOLAN VINCENT                  1704 ELMWOOD AVE                                              OSHKOSH           WI         54901                  6004               Various                                                                                                $1.00

NOLAN/ KIMBERLY                STORE 069                   SHOPKO EMPLOYEE                   GREEN BAY         WI         54307-9060             0048               Various                                                                                           $133.22
NOLASCO ANTONIO TOMAS          312 1ST ST POB # 354                                          WAKEFIELD         NE         68784                  6002               Various                                                                                             $5.34
NORA AMBRIZ                    903 7TH AVE NE                                                AUSTIN            MN         55912                  6004               Various                                                                                             $6.00
NORA ARRAMBIDE                 4714 S 17TH ST                                                OMAHA             NE         68107                  6002               Various                                                                                             $2.49
NORA BRAND                     504 N 22ND ST TRLR 23                                         PLATTSMOUTH       NE         68048                  6002               Various                                                                                             $8.66
NORAH DORNFELD                 N1398 SUMMER VIEW DR                                          GREENVILLE        WI         54942                  6002               Various                                                                                            $10.00
NORBERT BREFCZYNSKI            1009 S 15TH ST                                                MANITOWOC         WI         54220                  6002               Various                                                                                             $0.44
NORBERT DEISS                  182 SUNSET CIR                                                ELLSWORTH         WI         54011                  6002               Various                                                                                             $9.01
NORBERT SR. JARZYNSKI          1134 PHOENIX ST APT 7                                         DELAVAN           WI         53115                  6002               Various                                                                                             $7.04
NORBERT STEWARD                2611 3RD ST S                                                 WI RAPIDS         WI         54494                  6004               Various                                                                                             $8.00
NORBERT WITT                   7899 HIGHWAY 168                                              PALMYRA           MO         63461                  6002               Various                                                                                             $4.25
                                                           2919 S DELAWARE
NORBERT WODKE                  C/O TIM WODKE               AVENUE                            MILWAUKEE         WI         53207                   6002              Various                                                                                           $292.34
                               NORTHLAND ALUMINUM
NORDIC WARE                    PRODUCTS                    BOX 1450 NW 8657                  MINNEAPOLIS       MN         55485-8657             5318               Various                                                                                        $33,516.04
NORDIEN CHRISTIAN              300 ONEIL STREET                                              LAKE MILLS        WI         53551                  6002               Various                                                                                             $2.08
NORDSTROM'S SANITATION         4045 E AGATE RD                                               MOOSE LAKE        MN         55767                                     Various                                                                                         $1,029.60
NOREEN LANDOWSKI               1015 S 4TH AVE                                                WAUSAU            WI         54401                   6002              Various                                                                                             $5.21
NOREEN MOORE                   209 MEADOW VIEW DR                                            LANCASTER         WI         53813                   6002              Various                                                                                             $8.88
NOREEN POWERS                  1350 RIVER ROAD                                               EUGENE            OR         97404                   6004              Various                                                                                             $8.00
NORM PEETSCH                   W12362 852ND AVE.                                             RIVER FALLS       WI         54022                   6004              Various                                                                                             $6.90
                               3016 N GOVERNMENT WAY APT
NORMA A MABBUTT                50                                                            COEUR D ALENE     ID         83815                  6002               Various                                                                                                $7.37
NORMA ADAMS                    8006 WASCHBISCH RD                                            OCONTO FALLS      WI         54154                  6004               Various                                                                                                $7.62
NORMA ALCOCER                  123 NEED INFO                                                 ARCADIA           WI         54612                  6002               Various                                                                                                $7.56
NORMA BOEHLKE                  2121 HEIGHTS DR                                               EAU CLAIRE        WI         54703                  6002               Various                                                                                                $2.79
                                                           822 TERRAVIEW
NORMA CORADINI                 C/O BARB VOGEL              DRIVE                             GREEN BAY         WI         54301                  6002               Various                                                                                               $11.00
NORMA DONER                    9812 WHITE PINE LANE                                          WOODRUFF          WI         54568                  6002               Various                                                                                                $3.61
NORMA ESTEVES                  2441 SAVANNA GROVE LN                                         WOODSTOCK         IL         60098                  6002               Various                                                                                                $9.97




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                                                                                                                                                          Account         Incurred, Basis for
            Creditor Name                    Address1                Address2         Address3             City         State           Zip   Country     Number                Claim                                                                             Total Claim
NORMA FAST HORSE                  BOX 650                                                          SAINT FRANCIS   SD           57572                 6002                Various                                                                                                $3.56
NORMA GOODSON                     335 W 9TH ST                                                     MOUNT CARMEL    IL           62863                 6002                Various                                                                                                $8.27
NORMA HERRERAANAYA                971 SLEEPYHOLLOW LN                                              MENASHA         WI           54952                 6002                Various                                                                                                $2.38
NORMA HINTZ                       C/O SONJA HALL                5820 REGENT ST                     STEVENS POINT   WI           54481                 6002                Various                                                                                               $12.16
NORMA J. GLAUSE                   379 HIGHWAY 92                                                   PALMER          NE           68864                 6002                Various                                                                                                $0.60
NORMA JOHNSEN                     1216 S MAPLE AVE                                                 FREEPORT        IL           61032                 6002                Various                                                                                                $9.70
NORMA MILLER                      4131 VANBUREN                                                    SIOUX CITY      IA           51108                 6004                Various                                                                                               $20.00
NORMA PONCE                       1170 ST CLAIR                                                    IDAHO FALLS     ID           83402                 6002                Various                                                                                                $2.82
NORMA RAMIREZ                     1604 E 25TH ST                                                   WESLACO         TX           78596                 6002                Various                                                                                                $0.79
NORMA REINHARDT                   PO BOX 441                                                       OROFINO         ID           83544                 6002                Various                                                                                                $1.07
NORMA REYNEN                      1658 REMMINGTON RDG                                              DE PERE         WI           54115                 6002                Various                                                                                                $7.40
NORMA RODRIQUEZ                   310 SE 1500TH                                                    ANDREWS         TX           79714                 6002                Various                                                                                                $6.52
NORMA ROSENKRANS                  129 S HARRISON STREET                                            ONEILL          NE           68763                 6002                Various                                                                                                $4.00
NORMA TEESDALE                    1480 E COUNTY ROAD 2500                                          NIOTA           IL           62358                 6002                Various                                                                                                $8.25
NORMA VALKEMA                     1648 S. LOCUST                                                   FREEPORT        IL           61032                 6004                Various                                                                                                $3.31
NORMA WEBER                       3939 W CEMETERY RD                                               JANESVILLE      WI           53548                 6002                Various                                                                                                $9.81

NORMA ZIMMERMAN                   5180 BRABAKIN AVE ROOM 118                                       WESTON          WI           54476                  6004               Various                                                                                             $2.00
NORMAN AARTUN                     516 NE 4TH ST                                                    MADISON         SD           57042                  6002               Various                                                                                             $1.37
NORMAN BARRY                      2492 MORAN ST                                                    MARQUETTE       MI           49855                  6002               Various                                                                                             $9.67
NORMAN BROOKS                     PO BOX 4020                                                      CUSTER          SD           57730                  6002               Various                                                                                             $0.68
NORMAN C MAYBERRY                 318 N MAIN ST APT 5                                              REESEVILLE      WI           53579                  6002               Various                                                                                             $1.92
NORMAN CHRISTENSON                1901 RIDGEWAY DR APT 19                                          DE PERE         WI           54115                  6002               Various                                                                                            $10.00
NORMAN COUCH                      13641 CHEVY COURT                                                ABERDEEN        SD           57401                  6004               Various                                                                                            $12.79
NORMAN E MEAD                     2482 S WHITNEY BEACH RD                                          BEAVERTON       MI           48612                  6002               Various                                                                                             $6.52
NORMAN E. ARTHUR                  1185 W DENI ST                                                   COEUR D ALENE   ID           83815                  6002               Various                                                                                             $0.79
NORMAN FIRKINS                    5115 N. 86TH ST.                                                 OMAHA           NE           68134                  6002               Various                                                                                             $4.16
NORMAN GOHR                       4136 S 39TH AVE                                                  OMAHA           NE           68107                  6002               Various                                                                                             $4.63
NORMAN KELLY                      1330 E MISCHELL ST                                               MADISON         WI           53703                  6004               Various                                                                                            $25.00
NORMAN LOVETT                     5457 N MONTANA AVE                                               HELENA          MT           59602                  6002               Various                                                                                             $2.00
NORMAN N. MCCARTHY                722 E ELDORA LN                                                  LINCOLN         NE           68505                  6002               Various                                                                                             $2.71
NORMAN OTT                        875 GERTRUDE ST                                                  KAUKAUNA        WI           54130                  6002               Various                                                                                             $8.60
NORMAN RUIZ                       1208 JOY ST                                                      PAPILLION       NE           68046                  6004               Various                                                                                          $138.84
NORMAN SORENSEN                   9856 S 1300TH W                                                  SOUTH JORDAN    UT           84095                  6002               Various                                                                                             $6.49
NORMAN TUTTLE MR                  2841 MAPLE DR                                                    PLOVER          WI           54467                  6002               Various                                                                                             $2.22
NORMAN WITTMAN                    204 S 26TH ST                                                    MARSHFIELD      WI           54449                  6004               Various                                                                                             $9.76
NORMAN YINGLING                   807 W 2ND STREET                                                 DIXON           IL           61021                  6002               Various                                                                                            $12.04
NORMARK                           C/O RAPALA                    DEPT CH 17253                      PALATINE        IL           60055-7253             4325               Various                                                                                        $11,853.17
NORTH 40 RESTAURANT               PO BOX 601                                                       ROLLA           ND           58367                  9271               Various                                                                                          $400.00
NORTH CENTRAL BUILDING SUPPLY     801 4TH STREET SE             PO BOX 357                         HAMPTON         IA           50441                  1304               Various                                                                                          $749.00
NORTH CENTRAL UTILITY OF WISCO    PO BOX 8487                                                      MADISON         WI           53708                  3036               Various                                                                                            $59.60
NORTH COUNTRY DISPOSAL            304 N M-553                                                      MARQUETTE       MI           49855                                     Various                                                                                          $820.00
                                  629 FIFTH AVENUE BLDG 3 STE
NORTH FORK SALES                  302                                                              PELHAM          NY           10803                   1991              Various                                                                                         $9,825.60

NORTH IOWA LAWNCARE               RYNE SUNDE                    415 S CLARK STREET                 FOREST CITY     IA           50436                  7617               Various                                                                                           $272.85
                                                                1507 92ND LANE NE
NORTH STATES INDUSTRIES           VICE PRESIDENT OF SALES       #210                               BLAINE          MN           55449-4334              3746              Various                                                                                        $56,392.48
NORTH VALLEY REFUSE               PO BOX 1175                                                      WHITEFISH       MT           59937                                     Various                                                                                          $640.92
NORTHEND DISPOSAL                 PO BOX 660177                                                    DALLAS          TX           75266-0177                                Various                                                                                         $1,108.90
NORTHERN BORDER DISTRIBUTING      VICE PRESIDENT OF SALES       PO BOX 1161                        SCOBEY          MT           59263                  6422               Various                                                                                         $1,434.06
NORTHERN BOTTLING COMPANY         NORTHERN BOTTLING CO          PO BOX 639                         MINOT           ND           58702-0639             3521               Various                                                                                         $8,646.60
NORTHERN ENERGY HELENA            2200 AIRPORT ROAD                                                HELENA          MT           59601                  0617               Various                                                                                            $47.80
NORTHERN METAL & ROOFING COMPA    PO BOX 13037                                                     GREEN BAY       WI           54307-3037             3951               Various                                                                                          $160.83




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              Creditor Name                      Address1                 Address2          Address3              City        State           Zip   Country      Number                Claim                                                                             Total Claim
                                                                                                                                                                                 11/30/2018 -
NORTHERN PLAINS ELECTRIC COOPERATIVE   PO BOX 608                                                        CANDO           ND           58324-0608              7500               12/30/2018                                                                                      $1,358.50
NORTHLAND FISHING TACKLE               1001 NAYLOR DRIVE SE                                              BEMIDJI         MN           56601                   4321               Various                                                                                         $1,816.50
NORTHLAND MALL LLC                     PO BOX 11562                                                      NEWARK          NJ           07101-4562              5426               Various                                                                                        $11,889.99
NORTHRIDGE ASSISTED LIVING             1110 N 6TH STREET                                                 CHARITON        IA           50049                   6666               Various                                                                                            $11.71

NORTHWEST ENTERPRISES                  VILLAGE NORTHWEST UNLIMITED 200 N 18TH AVENUE                     SHELDON         IA           51201                   4201               Various                                                                                           $120.00
                                                                                                                                                                                 1/1/17, Final
                                                                                                                                                                                 termination
NORTHWEST MEDICAL CENTER               705 N COLLEGE ST                                                  ALBANY          MO           64402                                      settlement                                                                                      $2,885.23
                                                                                                                                                                                 12/5/2018 -
NORTHWESTERN ENERGY, MT                11 E PARK ST                                                      BUTTE           MT           59701-1711              681-3              1/7/2019                                                                                       $29,106.32
NORTHWOODS PARTNERS                    328 WEST CONAN STREET                                             ELY             MN           55731                   0471               Various                                                                                            $60.00
NORTON AREA DEVELOPMENT LLC            418 E HOLME STREET                                                NORTON          KS           67654-0000              0543               Various                                                                                         $6,256.25
NORVEL ESTEP                           823 N 100TH W                                                     TREMONTON       UT           84337                   6002               Various                                                                                             $6.33
NORVEL J ROBISON                       104 PLANK ST                                                      PULASKI         IA           52584                   6002               Various                                                                                             $5.75
NOSIHLE LUKHELE                        2239 WOOD VIEW COURT          #4                                  MADISON         WI           53713                   6004               Various                                                                                             $3.00

                                                                     539 JACKSONVILLE
NOTATIONS INCORPORATED                 VICE PRESIDENT OF SALES       ROAD                                WARMINSTER      PA           18974                   3261               Various                                                                                       $299,489.86
NOU YANG                               503 NORTHPORT DRIVE APT 5                                         MADISON         WI           53704                   6004               Various                                                                                            $19.62
NOUF ALSHEIKH                          15 1ST ST SE                                                      ROCHESTER       MN           55904                   6002               Various                                                                                             $1.18
NOURISON INDUSTRIES INC                NEWARK POST OFFICE            BOX 35651                           NEWARK          NJ           07193-5651              8472               Various                                                                                       $256,646.62
NOUVEAU EYEWEAR                        801 TWELFTH AVENUE NORTH                                          MINNEAPOLIS     MN           55411                   6883               Various                                                                                       $252,581.28
NOVAK FAMILY                           3019 W HERITAGE AVE                                               APPLETON        WI           54914                   6002               Various                                                                                             $2.99
NOVAK SANITARY                         5000 W 8TH ST                                                     SIOUX FALS      SD           57107                                      Various                                                                                          $756.56
NOWLIN SMITH                           BOX 774                                                           NEWCASTLE       WY           82701                   6002               Various                                                                                             $4.96
                                       1101 ST GREGORY STREET STE
NPW USA INC                            200                                                               CINCINNATI      OH           45202                   3629               Various                                                                                        $41,354.57
                                       3025 HIGHLAND PARKWAY SUITE
NSA MEDIA GROUP INCORPORATED           700                                                               DOWNERS GROVE   IL           60515                   4250               Various                                                                                     $1,669,614.26
NU TRINH                               1425 HAWTHORNE AVE                                                CRETE           NE           68333                   6002               Various                                                                                             $0.82
NUHA AL BAYATI                         2801 TIERRA DR.                                                   LINCOLN         NE           68516                   6004               Various                                                                                             $4.00
NUK USA                                24857 NETWORK PLACE                                               CHICAGO         IL           60673-1248              9161               Various                                                                                         $3,839.26
NUNNAPATCH SONGSAKUN                   1535 ULAO PKWY S                                                  GRAFTON         WI           53024                   6002               Various                                                                                             $5.59
NURA BEGZADIC                          342 TETON ST                                                      TWIN FALLS      ID           83301                   6004               Various                                                                                             $2.99
NURTURE INCORPORATED                   7749                          PO BOX 7247                         PHILADELPHIA    PA           19170-7749              6101               Various                                                                                        $36,351.77
NUSLA MOHAMED                          404 STOLTZMAN ROAD                                                MANKATO         MN           56001                   6004               Various                                                                                             $3.00
NUTECH FIRE & SECURITY INC             NUTECH NATIONAL               PO BOX 31284                        TAMPA           FL           33631-3284              0899               Various                                                                                        $15,631.39
NUTTALL-NAASKO FAMILY                  47123 OLD MILL HILL RD                                            ATLANTIC MINE   MI           49905                   6002               Various                                                                                             $1.62
                                                                     15 WHITEHALL
NVE PHARMACEUTICALS                    NVE INC                       ROAD                                ANDOVER         NJ           07821                   8248               Various                                                                                        $13,575.17
                                       PO BOX 6017 NORTHWEST                                                                                                                     12/7/2018 -
NW NATURAL                             NATURAL                                                           PORTLAND        OR           97228-6017              1-Mar              1/9/2019                                                                                          $827.53
NYADOAR REATH                          640 S. 17TH, APT. # 10                                            LINCOLN         NE           68508                   6004               Various                                                                                             $4.00
NYAJAL DUP                             1261 POHL ROAD                APT 204                             MANKATO         MN           56001                   6004               Various                                                                                             $3.00
NYAKAN KOUTH                           4708 ELLISON AVE                                                  OMAHA           NE           68104                   6002               Various                                                                                             $7.67
NYAMUOCH CHUONY                        316 4TH AVE SE                                                    AUSTIN          MN           55912                   6004               Various                                                                                            $23.00
NYAWAL CHURHAK                         12794 GAIL PLZ                APT 122                             OMAHA           NE           68137                   6004               Various                                                                                             $2.00
NYCOLE SOTO-FLORES                     1508 OLIN AVE                                                     OMAHA           NE           68108                   6004               Various                                                                                             $4.00
NYDIA ESCALERA CALDERON                901 W 8TH AVE APT#18                                              MTICHELL        SD           57301                   6004               Various                                                                                            $10.72
NYKOLE BENSON                          31 W FRANKLIN ST                                                  OMRO            WI           54963                   6004               Various                                                                                             $2.00
NYLA DURKIN                            N4268 LAKE DR                                                     BRODHEAD        WI           53520                   6004               Various                                                                                            $10.00
NYLA MCGUIRE                           PO BOX 235                                                        FOOTVILLE       WI           53537                   6002               Various                                                                                             $0.41




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NYSA M DAVIS                      822 EIGHTH ST                                                     BELOIT           WI         53511                 6002              Various                                                                                                $1.32
O JOY CLARK                       874 EL CLARK LANE CO                                              SMOOT            WY         83126                 6002              Various                                                                                                $6.19
O JOYCE COULTAS                   215 N HIGH ST                                                     WINCHESTER       IL         62694                 6002              Various                                                                                               $10.00

O MALLEY BEVERAGE INCORPORATED    VICE PRESIDENT OF SALES     1601 N WOODBINE                       ST JOSEPH        MO         64506                   4962            Various                                                                                          $128.35
OATH AMERICAS INC                 PO BOX 89 4147                                                    LOS ANGELES      CA         90189-4147              5290            Various                                                                                          $652.84
OB INVESTORS LLC                  2509 PIONEER ROAD                                                 EVANSTON         IL         60201-2203              4890            Various                                                                                        $21,270.06
OBBI JO REMMINGTON                4650 STURGIS RD LOT 14                                            RAPID CITY       SD         57702                   6002            Various                                                                                             $1.75
OBDULIA VALLES-MORENO             21076 PINE HAVEN AVENUE                                           BEND             OR         97702                   6004            Various                                                                                             $4.00
OBERON JAGODINSKI                 1459 EAST MAIN STREET                                             MADISON          WI         53703                   6004            Various                                                                                             $2.00
OBERT CLARK                       912 LAKEWOOD CIR                                                  WARROAD          MN         56763                   6002            Various                                                                                             $1.75

OBERTO SNACKS INC                 VICE PRESIDENT OF SALES     7060 OBERTO DRIVE                     KENT             WA         98032                   3974            Various                                                                                         $9,313.55
OBVIANCE EDWARDS                  524 NINTH STREET                                                  GREEN BAY        WI         54304                   6004            Various                                                                                             $4.00
OCEAN NETWORK EXPRESS PTE LTD     8730 STONY POINT PARKWAY    SUITE 400                             RICHMOND         VA         23235                   5481            Various                                                                                        $55,851.00
OCEANA VUE                        30 S. BOARDMAN ST.                                                FOND DU LAC      WI         54935                   6004            Various                                                                                             $1.00
OCHALA OMOT                       907 4TH AVE NW                                                    AUSTIN           MN         55912                   6004            Various                                                                                            $46.00
OCIO VASQUEZ                      1224 3RD ST NE                                                    ROCHESTER        MN         55906                   6002            Various                                                                                             $5.78
OCMV                              REFUNDS                     PO BOX 7548                           ROCKY MOUNT      NC         27804                   6002            Various                                                                                          $105.00
OCONNOR BUSINESS & REAL ESTATE    PO BOX 139                                                        GRAND ISLAND     NE         68802-0139              1616            Various                                                                                        $32,694.39
OCTAVIAN RIVAS                    2100 W. ST. EMILLION                                              HAYDEN           ID         83835                   6004            Various                                                                                            $36.00
OCTAVIUS HAMMOND                  617 12TH AVE SE                                                   ROCHESTER        MN         55904                   6004            Various                                                                                             $3.00
ODALIS ACOSTA                     2020 COLLEGE AVE.                                                 BELOIT           WI         53511                   6004            Various                                                                                             $1.00
ODALYS FLEITAS                    305 OLIVE ST                                                      CHELSEA          IA         52215                   6002            Various                                                                                             $9.45
OFELIA ORTIZ                      3905 S QUINCY ST                                                  KENNEWICK        WA         99337                   6004            Various                                                                                            $30.00
OFFICE DEPOT                      ACCT # 80923801             PO BOX 88040                          CHICAGO          IL         60680-1040              3926            Various                                                                                       $120,598.25
OFFICE DEPOT (COPY PAPER RESAL    PO BOX 88040                                                      CHICAGO          IL         60080-1040              3926            Various                                                                                        $21,840.00
                                                              75 REMITTANCE
OFFICE MAX CONTRACT INCORPORAT    OFFICE MAX INCORPORATED     DRIVE STE 2698                        CHICAGO          IL         60675-2698              5325            Various                                                                                               $42.19
                                                              1901 S ARCHIBALD
OFFICE STAR PRODUCTS              BLUMENTHAL DISTRIBUTING INC AVENUE                                ONTARIO          CA         91761-0000              5359            Various                                                                                        $24,890.64
                                                                                                                                                                        11/9/2018 -
OGALLALA WATER & SEWER DEPR       411 EAST 2ND STREET                                               OGALLALA         NE         69153                   1               12/11/2018                                                                                            $75.97
                                  133 WEST 29TH STREET                                                                                                                  11/21/2018 -
OGDEN CITY UTILITIES              PAYMENTS                                                          OGDEN            UT         84401                   1-Jul           12/20/2018                                                                                      $1,249.32
                                                              172 N BROADWAY
OHLSSON MANAGEMENT LLC            BRANDIS OHLSSON             STE 200                               MILWAUKEE        WI         53202                   6785            Various                                                                                         $2,490.00
OHN TOMCALA                       W65 N772 WASHINGTON AVE                                           CEDARBURG        WI         53012                   6002            Various                                                                                             $1.48
OK DISTRIBUTING CO INC            522 14TH AVENUE WEST        PO BOX 1252                           WILLISTON        ND         58802-1252              0182            Various                                                                                            $79.80
OKALONA L GEORGE                  319 MAIN ST                                                       GLENWOOD         IA         51534                   6002            Various                                                                                             $1.18
OKHO AJAKE                        2923 MAINE PRAIRIE RD.      APT 105                               SAINT CLOUD      MN         56301                   6004            Various                                                                                             $3.00
OKUNY ONYONGO                     APARTMENT # D PMB 20                                              OWATONNA         MN         55060                   6002            Various                                                                                             $2.58
OLA BYLER                         W103 51 CTY RD JJ                                                 WAUTOMA          WI         54982                   6002            Various                                                                                             $1.59
OLAF MATHISON                     W223 JACKPOT AVE                                                  SPARTA           WI         54656                   6004            Various                                                                                          $175.97
                                  14933 COLLECTION CENTER
OLD DOMINION FREIGHT LINE INC     DRIVE                                                             CHICAGO          IL         60693-4933              3435            Various                                                                                           $602.63
                                                              2375 TERMINAL
OLD DUTCH FOODS INCORPORATED      VICE PRESDIENT OF SALES     ROAD                                  ST PAUL          MN         55113                   3055            Various                                                                                        $67,451.98

OLD DUTCH INTERNATIONAL LTD       777 TERRACE AVE SUITE 509                                         HASBROUCK HEIGHTS NJ        07604                   2475            Various                                                                                         $2,870.84
OLD TRAPPER SMOKED PRODUCTS IN    PO BOX 730                                                        FOREST GROVE      OR        97116                   9739            Various                                                                                        $44,788.12

                                                              4065 COMMERCIAL
OLD WORLD INDUSTRIES LLC          VICE PRESIDENT OF SALES     AVENUE                                NORTH BROOKE     IL         60062-1828              0068            Various                                                                                       $186,909.34




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OLDE THOMPSON                  3250 CAMINO DEL SOL                                             OXNARD             CA         93030-8998           7183                Various                                                                                         $63,247.88
OLEGARIO NUNEZ                 510 S DINSMORE AVE                                              LYONS              KS         67554                6002                Various                                                                                              $6.88
OLEN JAMESON                   140 W FAIRVIEW RD                                               WHEATLAND          WY         82201                6002                Various                                                                                              $5.78
OLEN SALMON                    601A W RICHARDSON STREET                                        GALLATIN           MO         64640                6002                Various                                                                                              $3.25
OLGA GONZALES                  85425 STATE HIGHWAY 281                                         O'NEILL            NE         68763                6002                Various                                                                                              $3.45
OLGA J GAMBOA                  513 1/2 FIRST AVE SO # APT1                                     SAINT JAMES        MN         56081                6002                Various                                                                                              $4.99
OLGA JENKINS                   3407 BRIAR OAK STREET                                           BELLEVUE           NE         68123                6004                Various                                                                                             $11.38
OLGA REUVEKAMP                 48422 213TH ST                                                  ELKTON             SD         57026                6004                Various                                                                                             $23.75
OLGA TIPPS                     349 BRYAN ST                                                    GREEN BAY          WI         54301                6002                Various                                                                                              $3.40
OLGA YAZYKOVA                  2345 S 1300TH W                                                 SLC                UT         84070                6002                Various                                                                                              $3.67

OLINGER FAMILY TRUST           THOMAS J OLINGER              1136 MERRITT LANE                 EL CAJON           CA         92020                 7919               Various                                                                                         $3,000.00
OLIVA CENDEJAS DUARTE          1106 HUMISTON AVE                                               WORTHINGTON        MN         56187                 6004               Various                                                                                             $3.00
OLIVE WEBER                    4300 OAKRIDGE CIR                                               DE PERE            WI         54115                 6002               Various                                                                                             $1.75
OLIVER ANDERSON                3221 S SCOTTSDALE DR                                            WEST VALLEY CITY   UT         84120                 6004               Various                                                                                             $9.00
OLIVER ARNOL HANKS             NH NORTH HALL                                                   WHEATLAND          WY         82201                 6002               Various                                                                                             $9.89
OLIVER ENG                     1394 JEFFERSON ST                                               MORA               MN         55051                 6002               Various                                                                                             $4.44
OLIVER ERICKSON                13966 395TH AVE.                                                ABERDEEN           SD         57401                 6004               Various                                                                                            $11.84
OLIVER LYLE                    21745 HENRY RD                                                  CHASSELL           MI         49916                 6002               Various                                                                                             $5.01
OLIVER MEJIA                   413 E AVE                                                       JEROME             ID         83338                 6002               Various                                                                                             $5.73
OLIVER PERKINS                 BROOKSIDE - HE PICKS UP                                         OROFINO            ID         83544                 6002               Various                                                                                             $0.60
OLIVER ROLO( CHUDY             100 RAYMBAULT DR                                                MARQUETTE          MI         49855                 6002               Various                                                                                             $1.01
OLIVER SR HARRIS               205 PRINCETON AVE                                               MADISON            WI         53726                 6002               Various                                                                                             $6.11
OLIVIA AGNEW                   15401 W CLEVELAND AVE                                           NEW BERLIN         WI         53151                 6004               Various                                                                                            $32.50
OLIVIA ANDERSON                139 EAST SUSSEX                                                 MISSOULA           MT         59801                 6004               Various                                                                                            $20.00
OLIVIA BALDOCK                 98 ALPINE DR                                                    SVR                WY         83127                 6002               Various                                                                                             $6.22
OLIVIA CHAVEZ-OLSON            22625 OLD HOSS LANE                                             LAPWAI             ID         83540                 6004               Various                                                                                            $15.00
OLIVIA COX                     1609 FOURTH AVE                                                 STEVENS POINT      WI         54481                 6002               Various                                                                                             $0.60
OLIVIA DURAND                  712 S. 6TH                                                      WATERTOWN          WI         53094                 6004               Various                                                                                            $10.02
OLIVIA GILKEY-MEISEGEIER       N3525 TRIELOFF RD                                               FORT ATKINSON      WI         53538                 6004               Various                                                                                            $37.98
OLIVIA HERNANDEZ               1342 WARREN AVE                                                 BELVIDERE          IL         61008                 6004               Various                                                                                            $25.00
OLIVIA HOFFMANN                1840 COUNTY ROAD II           APT 7                             NEENAH             WI         54956                 6004               Various                                                                                             $7.05
OLIVIA J LINZMEIER             550 14TH AVE N                                                  WISCONSIN RAPID    WI         54495                 6002               Various                                                                                             $4.77
OLIVIA LUNDY                   PO BOX96                                                        NORTH PLATTE       NE         69103                 6004               Various                                                                                            $12.01
OLIVIA LUTTON-DENNY            37 ROUNDUP DRIVE                                                BILLINGS           MT         59102                 6004               Various                                                                                             $8.00
OLIVIA M PIERCE                425 W AMERICAN ST                                               FREEPORT           IL         61032                 6002               Various                                                                                             $6.19
OLIVIA N DEVINE                1019 PACIFIC AVE                                                MORRIS             MN         56267                 6002               Various                                                                                             $4.41
OLIVIA NIEMYJSKI               S3501 RUNGE LANE                                                VIROQUA            WI         54665                 6004               Various                                                                                            $25.00
OLIVIA ROULEAU                 218 COOPER AVE                                                  HANCOCK            MI         49930                 6002               Various                                                                                             $8.79
OLIVIA WOODMANSEE              P O BOX 929                                                     NEW GLARUS         WI         53574                 6004               Various                                                                                            $25.00
OLIVIA ZIELKE                  626 MILKY WAY                                                   MADISON            WI         53718                 6004               Various                                                                                             $5.00
OLLY PUBLIC BENEFIT CORP       1169 GORGAS AVENUE SUITE A                                      SAN FRANCISCO      CA         94129                 3563               Various                                                                                        $32,719.01
OLOWAN SWALLOW                 PO BOX 636                                                      ROSEBUD            SD         57570                 6002               Various                                                                                             $4.05
OLSON FAMILY                   4059 STONE PT DR NE                                             ROCHESTER          MN         55905                 6002               Various                                                                                             $2.82
OLSON PLUMBING & HEATING       MITCH OLSON                   PO BOX 375                        SIDNEY             MT         59270                 5513               Various                                                                                         $1,099.64
OLUF JENSEN                    319 MOUNTAIN MEADOW RD                                          KALISPELL          MT         59901                 6002               Various                                                                                             $3.07
OLYMPIC MOUNTAIN PRODUCTS      8655 SOUTH 208TH STREET                                         KENT               WA         98031                 2323               Various                                                                                         $8,447.43
OLYMPUS FLAG & BANNER          9000 WEST HEATHER AVE                                           MILWAUKEE          WI         53224-0000            8727               Various                                                                                         $7,093.40
                                                                                                                                                                      11/29/2018 -
OMAHA PUBLIC POWER DISTRICT    PO BOX 3995                                                     OMAHA              NE         68103-0995             80                12/27/2018                                                                                     $49,710.92
OMAHA WORLD HERALD             PO BOX 2964                                                     OMAHA              NE         68103                  8646              Various                                                                                          $416.00
OMAR CARBAJAL                  300 LOGAN ST LOT 8                                              WEST POINT         NE         68788                  6002              Various                                                                                             $6.36
OMAR CARLOS ALEJO              1002 1/2 5TH AVE NE                                             AUSTIN             MN         55912                  6004              Various                                                                                            $23.00
OMAR CHACON                    1699 ALCAN DR APT 212                                           MENASHA            WI         54952                  6002              Various                                                                                             $3.29




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             Creditor Name                    Address1                  Address2        Address3             City        State           Zip    Country     Number                Claim                                                                             Total Claim
OMAR HASSAN                       915 41ST ST NW                 #101                                ROCHESTER        MN         55901                  6004                Various                                                                                             $3.00
OMAR HERNANDEZ                    1281 S 1125 E                                                      CLEARFIELD       UT         84015                  6004                Various                                                                                            $20.00
OMAR HINOJOS                      1508 CANAAN RD                                                     ANDREWS          TX         79714                  6002                Various                                                                                             $4.63
OMAR JUMALE                       2530 BOULDER RIDGE LN, NW                                          ROCHESTER        MN         55901                  6004                Various                                                                                             $6.00
OMAR LOMELIN                      610 MCKINLEY AVE                                                   BELVIDERE        IL         61008                  6002                Various                                                                                             $2.16
OMAR SALHA                        228 S MUSKET RIDGE DR                                              SUN PRARIE       WI         53590                  6004                Various                                                                                             $3.00
OMAR SOSA                         1706 INDINIA ST.                                                   RACINE           WI         53405                  6004                Various                                                                                            $10.00
OMENE MONTANO                     1301 NW 12TH ST                                                    ANDREWS          TX         79714                  6002                Various                                                                                             $4.63
OMJUMA DUT                        2852 MANDERSON STREET                                              OMAHA            NE         68111                  6004                Various                                                                                             $2.00
OMNI CART SERVICES INC.           7370 PRODUCTION DR                                                 MENTOR           OH         44060                                      Various                                                                                         $9,406.14
ON P HAGAMAN                      PO BOX 223                                                         SMELTERVILLE     ID         83868                    6002              Various                                                                                             $8.77
                                                                 5522 SOUTH
ON THE MOVE LAWN CARE             SCOTT WYNALDA                  CENTERLINE                          NEWAYGO          MI         49337                    3886              Various                                                                                           $135.00

ONAWA PAM LIMITED PARTNERSHIP     527 MARQUETTE AVE SUITE 1915                                       MINNEAPOLIS      MN         55402                   3990               Various                                                                                         $7,178.34
ONDREA BROWN                      114 WEST PLEASANT ST                                               GARDEN CITY      MN         56034                   6004               Various                                                                                             $3.00
                                                                 111 W 40TH 22ND
ONE JEANSWEAR GROUP INC (MISS     VICE PRESIDENT OF SALES        FLOOR                               NEW YORK         NY         10018                    1445              Various                                                                                       $107,787.71
                                                                 1158 OXFORD
ONE OFFICE SOLUTION               WESTERN/PERKINS/DAVIS          STREET                              WORTHINGTON      MN         56187                    1664              Various                                                                                           $141.08

ONE SEVEN ONE FIVE SEVEN ZERO     5435 CH COTE DE LEISSE STE 200                                     ST LAURENT       QC         H4P 1A1       CANADA     2041              Various                                                                                         $2,000.00
                                  ONETOUCHPOINT MIDWEST
ONETOUCHPOINT CCI GREEN BAY       CORPORATION                    PO BOX 88561                        MILWAUKEE        WI         53288-0561              2702               Various                                                                                        $64,565.91
ONIKA KUHN                        1437 RIVERSIDE DR                                                  RIVER FALLS      WI         54022                   6002               Various                                                                                             $5.37
ONNEN COMPANY INCORPORATED        PO BOX 3720                                                        DES MOINES       IA         50322-0720              9497               Various                                                                                          $286.20
ON-SITE SERVICES LLC              PO BOX 190574                                                      BOISE            ID         83719-0574              7019               Various                                                                                          $413.61
ONTEL PRODUCTS CORPORATION        21 LAW DRIVE                                                       FAIRFIELD        NJ         07004                   4395               Various                                                                                     $1,007,697.80
                                                                                                                                                                            11/14/2018 -
ONTONAGON WATER SERVICE           315 QUARTZ STREET                                                  ONTONAGON        MI         49953                    -5                12/11/2018                                                                                            $65.00

OOCL USA INCORPORATED             4000 FABER PLACE DRIVE                                             NORTH CHARLESTON SC         29405                   6323               Various                                                                                        $98,572.00
OPAL COX                          110 10TH ST S APT 27                                               GREAT FALLS      MT         59401                   6002               Various                                                                                             $0.82
OPAL LOMAX                        420 E SPRING ST                                                    DONIPHAN         MO         63935                   6002               Various                                                                                             $6.00

OPAL MILER                        LOT 17                         601 E PARMELEE ST                   BUFFALO          WY         82834                    6002              Various                                                                                               $13.48
OPAL PEELER                       BOX 45                                                             ST MARIE         MT         59231                    6002              Various                                                                                                $2.66
OPAL RICHMOND                     HC 1 BOX 610                                                       FAIRDEALING      MO         63939                    6002              Various                                                                                                $3.56

OPATZ/ MATTHEW                    STORE 733                      SHOPKO EMPLOYEE 226 E LINCOLN       FERGUS FALLS     MN         56537                   4078               Various                                                                                            $90.04
OPERATING ENGINEERS               PO BOX 160                                                         PEWAUKEE         WI         53072                   6004               Various                                                                                          $383.98
OPERATING ENGINEERS LOCAL 139     N27 W23233 ROUNDY DRIVE                                            PEWAUKEE         WI         53072                   6004               Various                                                                                            $77.06
OPTICARE MANAGED VISION           PO BOX 7548                                                        ROCKY MOUNT      NC         27804                   6004               Various                                                                                         $1,372.41
OPTICOTE INCORPORATED             10455 SEYMOUR                                                      FRANKLIN PARK    IL         60131                   7815               Various                                                                                          $665.25
OPTIFACTS INCORPORATED            PO BOX 815489                                                      DALLAS           TX         75381-5489              5023               Various                                                                                         $2,989.68
OPTILEGRA                         PO BOX 91437                                                       SIOUX FALLS      SD         57109                   6004               Various                                                                                            $20.00
OPTISOURCE INTERNATIONAL INCOR    PO BOX 30538                                                       NEW YORK         NY         10087-0538              1799               Various                                                                                          $148.55
OPUS MEDICATION SYSTEMS           PO BOX 30203                                                       OMAHA            NE         68103-1303              8380               Various                                                                                         $2,402.64
                                                                 CORPORATE TRUST
                                  C/O WELLS FARGO BANK           SERVICES LEASE  260 N CHARLES
ORACLE CREDIT CORPORATION         NORTHWEST NA                   GROUP           LINDBERG DRIVE      SALT LAKE CITY   UT         84116                   2570               Various                                                                                       $188,944.40
ORALIA SCHULTZ                    419 N MORELAND BLVD APT 4                                          WAUKESHA         WI         53188                   6002               Various                                                                                             $5.21
ORBIT 1 LLC                       1982 E YALE AVE                                                    SALT LAKE CITY   UT         84105                   3421               Various                                                                                        $15,157.63
ORDAN KAEHLER                     135 CINDY DR                                                       MINNESOTA CITY   MN         55959                   6002               Various                                                                                             $8.22




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               Creditor Name                     Address1                 Address2         Address3               City          State           Zip   Country      Number                Claim                                                                             Total Claim
                                                                     40 BURTON HILLS
ORDERINSITE LLC                       ATTN GEORGE LAZENBY            BLVD SUITE 100                     NASHVILLE          TN           37215                   5262               Various                                                                                        $77,950.00

OREGON DEPARTMENT OF HUMAN SERVICES   LOLLY                          309 N COLUMBIA                     MILTON FREEWATER   OR           97862                   6666               Various                                                                                          $177.29
OREO CASH                             1218 12TH AVE SE                                                  EAST GRAND FORK    MN           56721                   6002               Various                                                                                             $6.63
OREY GOSS                             171 W 17TH ST                                                     OGDEN              UT           84404                   6002               Various                                                                                             $8.71
ORGANIZE IT ALL INCORPORATED (        24 RIVER ROAD STE 201                                             BOGOTA             NJ           07603-0000              4305               Various                                                                                     $1,205,689.19
                                                                     3126 HICKORY HILLS
ORIE SCHISEL                          C/O DAVE & DEBBIE SCHISEL      ROAD                               CHILTON            WI           53014                   6002               Various                                                                                               $1.94
                                                                     3295 LOWER DUG
ORIENTAL WEAVERS RUG MFG CO IN        VICE PRESIDENT OF SALES        GAP ROAD                           DALTON             GA           30721                   3740               Various                                                                                           $154.29
                                                                     52 STILES ROAD STE
ORIGINAL GOURMET FOOD COMPANY         VICE PRESIDENT OF SALES        201                                SALEM              NH           03079-4807              6052               Various                                                                                        $27,772.99
ORIN MUELLER                          W3786 CODY RD                                                     FOND DU LAC        WI           54937                   6002               Various                                                                                             $9.18
ORIOLE NELSON                         37976 124TH ST                                                    ABERDEEN           SD           57401                   6002               Various                                                                                             $9.45
ORION C SHAFF                         320 MAIN AVE S                                                    TWIN FALLS         ID           83301                   6002               Various                                                                                             $4.88
ORLAND MAROTZ JR                      N2607 COUNTY ROAD QQ                                              WAUPACA            WI           54981                   6002               Various                                                                                             $5.42
ORLANDO FRENG                         MOT-PRIVATE-HOME------------                                      LA CROSSE          WI           54603                   6002               Various                                                                                             $1.32
ORLANDO JUAREZ REYES                  8988 OLD AMISH RD                                                 AMHERST            WI           54406                   6002               Various                                                                                             $4.79
ORLANDO MATTA                         1244 LAWE ST                                                      GREEN BAY          WI           54301                   6002               Various                                                                                             $0.27
ORLANDO MERCADO                       9010 EDSON RD                                                     CAPRON             IL           61012                   6002               Various                                                                                             $6.11
ORLANDO MEYER                         60587 60TH ST                                                     WELLS              MN           56097                   6002               Various                                                                                             $6.14
ORLANDO MORENO                        194445 LINDEMAN RD                                                BARAGA             MI           49958                   6002               Various                                                                                             $9.51
ORLANDO NARANJO                       993 RANCHO BLVD                                                   OGDEN              UT           84404                   6002               Various                                                                                             $4.11
ORLANDO PINEDA                        N3935 WASHINGTON AVE                                              KAUKAUNA           WI           54130                   6002               Various                                                                                             $1.23
ORLANDO VILLANUEVA                    639 E ADAMS ST LOT 21                                             POWELL             WY           82435                   6002               Various                                                                                             $6.30
ORLY SHOE CORP                        15 W 34TH STREET                                                  NEW YORK           NY           10001                   3524               Various                                                                                        $16,310.58
ORMA FIEBER                           BOX 50                                                            GOODWIN            SD           57238                   6004               Various                                                                                            $16.88
ORMAN FAMILY                          215 HIGHWAY 42                                                    ELLISON BAY        WI           54210                   6002               Various                                                                                             $7.07
ORQUIDEA MIRANDA                      700 4TH AVE SW                                                    AUSTIN             MN           55912                   6002               Various                                                                                             $7.86
ORRIN BURBANK                         811 FREEBORN                                                      ALBERT LEA         MN           56007                   6004               Various                                                                                             $3.00
ORRIN KOONTZ                          112 E 2ND ST                                                      SANBORN            IA           51248                   6002               Various                                                                                             $1.21
ORRIS JANZEN                          1927 6TH AVE                                                      CLARKSTON          WA           99403                   6004               Various                                                                                             $6.64
ORVILLE ALVERSON                      1973 S CAROLINA                                                   MASON CITY         IA           50401                   6002               Various                                                                                             $2.30
ORVILLE DE JONG                       4000 TETON TRCE APT 228                                           SIOUX CITY         IA           51104                   6002               Various                                                                                             $6.08
ORVILLE GARRISON                      2993 W MAIN ST                                                    NEWCASTLE          WY           82701                   6002               Various                                                                                             $0.55
ORVILLE JR SANGL                      71928 430TH AVE                                                   LAKEFIELD          MN           56150                   6004               Various                                                                                             $6.00
ORVILLE RHODEN                        N8144 COUNTY W W                                                  MOUNT CALVARY      WI           53057                   6004               Various                                                                                            $24.71
ORVIS KOHLMEIER                       800 WEST AVE NORTH LOT 188                                        WEST SALEM         WI           54669                   6004               Various                                                                                            $96.75
ORY ENGICHY                           845 E WINNEBAGO ST                                                APPLETON           WI           54911                   6002               Various                                                                                             $1.86
OSCAR AMES                            9525 S TRAM WAY DR.                                               SANDY              UT           84092                   6004               Various                                                                                            $39.99
OSCAR HARTWIG                         732 S HUBBOARD ST.                                                HORICON            WI           53032                   6004               Various                                                                                            $55.00
OSCAR HERNANDEZ                       PO BOX 3887                                                       KETCHUM            ID           83340                   6004               Various                                                                                             $3.65
OSCAR LEOR                            3722 SUPERIOR AVE              APT B9                             SHEBOYGAN          WI           53081                   6004               Various                                                                                             $1.00
OSCAR MILLER                          1001 S 2ND ST                                                     MONMOUTH           IL           61462                   6002               Various                                                                                             $0.99
OSCAR MUNOZ                           PO BOX 371                                                        WESTON             OR           97886                   6004               Various                                                                                            $30.00
OSCAR ORNELAS                         1271 MARION RD SE 30                                              ROCHESTER          MN           55904                   6004               Various                                                                                             $3.00
OSCAR PINGLES                         600 S GARDNER LAKE RD                                             GILLETTE           WY           82716                   6002               Various                                                                                             $5.97
OSCAR RAZO                            5145 HAZELCREST DR                                                MADISON            WI           53704                   6004               Various                                                                                             $5.70
OSCAR SALINAS                         1404 CEDAR AVE N                                                  GLENCOE            MN           55336                   6002               Various                                                                                             $2.08
OSCAR WILSON                          548 MAIN AVE                                                      REUBENS            ID           83548                   6002               Various                                                                                             $0.85
OSCAR YORK                            6072 MT CARROL                                                    DALTON GARDENS     ID           83815                   6002               Various                                                                                             $2.19
OSKR INC                              14 BUELL STREET                                                   NORTH HAVEN        CT           06473                   4180               Various                                                                                        $95,344.67
OSRIC JAMERSON                        107 1/2 S TODD ST                                                 MANLY              IA           50456                   6002               Various                                                                                             $0.27




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            Creditor Name                     Address1                  Address2             Address3             City             State           Zip   Country      Number                Claim                                                                             Total Claim

OSVALDO LOPEZ-DELGADO               1425 STERLING HEIGHTS CT APT                                           GREEN BAY          WI           54302                   6002               Various                                                                                             $3.59
OSVALDO QUINTERO                    3436 8TH STREET                                                        LEWISTON           ID           83501                   6004               Various                                                                                            $46.00
OSWALDO SANCHEZ                     5215 58 AVE                                                            KENOSHA            WI           53144                   6004               Various                                                                                            $63.00
OTIS ELEVATOR COMPANY               PO BOX 73579                                                           CHICAGO            IL           60673                   2715               Various                                                                                           $380.21
OTIS GALE                           790 MICHIGAN AVE APT 109                                               BARAGA             MI           49908                   6002               Various                                                                                             $7.47
                                                                                                                                                                                      11/29/2018 -
OTTER TAIL POWER COMPANY            PO BOX 2002                                                            FERGUS FALLS       MN           56538-2002              880-2              1/3/2019                                                                                        $9,634.14
OTTO LAPOINTE                       7321 STARR STREET                                                      LINCOLN            NE           68505                   6004               Various                                                                                            $25.00
OTTO OBER                           78 MAPLE ST                                                            WINDOM             MN           56101                   6002               Various                                                                                             $1.94
OUR PETS COMPANY                    1300 EAST STREET                                                       FAIRPORT HARBOR    OH           44077-0000              8114               Various                                                                                        $30,705.55
OUT PETCARE LLC                     PO BOX 971314                                                          DALLAS             TX           75397-1314              3397               Various                                                                                        $50,071.89
OUTAGAMIE RECYCLING & SOLID WA      1919 HOLLAND ROAD                                                      APPLETON           WI           54911                   3759               Various                                                                                            $90.00
OUTDOOR RECREATION GROUP            PO BOX 772962                                                          CHICAGO            IL           60677-0262              8409               Various                                                                                        $16,052.53
OVERHEAD DOOR COMPANY OF THE 7
RIVERS REGION, INC.                 W6797 ABBEY ROAD                                                       ONALASKA           WI           54650                                      10/22/2018                                                                                       $182.60
OVERVIEW LLC                        PO BOX 520                                                             DODGE CITY         KS           67801                   8800               Various                                                                                         $8,333.50
OWEN BRADLEY                        PO BOX 1749                                                            LOGAN              UT           84321                   6002               Various                                                                                             $6.60
OWEN STANTON                        302 N UNIVERSITY AVE                                                   BEAVER DAM         WI           53916                   6004               Various                                                                                             $3.00
OZARKS COCA COLA DR PEPPER BOT      VICE PRESIDENT OF SALES        PO BOX 11250                            SPRINGFIELD        MO           65808                   7869               Various                                                                                         $2,886.27
                                                                   C/O PJ
P J INVESTMENTS INCORPORATED        BMO PRIVATE BANK               INVESTMENTS         PO BOX 209          WAUSAU             WI           54402-0000              1324               Various                                                                                        $27,328.37
P J SERGEANT WILLIAMS               2030 KNIGHT ST                                                         NAUVOO             IL           62354                   6002               Various                                                                                             $7.10
PA THAO                             410 15TH ST N                                                          WISCONSIN RAPID    WI           54494                   6002               Various                                                                                             $1.89
PA YOUNG VUE                        1122 ALRITA CT. #4                                                     MADISON            WI           53713                   6004               Various                                                                                            $21.00
PABLO PEREZ                         511 AUTUMN DRIVE                                                       DELAVAN            WI           53115                   6004               Various                                                                                            $60.00
PABLO RODRIGUEZ                     212 15 ST NW                                                           MASON CITY         IA           50401                   6004               Various                                                                                            $20.00
PABLO SANTOS-AGUIRRE                2218 93RD AVE SE                                                       OLYMPIA            WA           98501                   6004               Various                                                                                            $25.00
PABLO VILLAGRAN                     23908 RIVER RD                                                         MARENGO            IL           60152                   6004               Various                                                                                             $3.90
PABLO VILLANUEVA                    605 CHESTNUT AVE                                                       SUNNYSIDE          WA           98944                   6004               Various                                                                                            $15.01
                                    75 REMITTANCE DRIVE SUITE
PAC VAN INCORPORATED                3300                                                                   CHICAGO            IL           60675-3300              5757               Various                                                                                           $397.18


                                                                   3582 TECHNOLOGY
PACE INTERNATIONAL                  PACE ELECTRONICS INC           DRIVE NORTHWEST                         ROCHESTER          MN           55901                   1908               Various                                                                                          $492.63
PACER SERVICE CENTER                PO BOX 71364                                                           PHILADELPHIA       PA           19176-1364              7243               Various                                                                                            $60.40
PACIFIC COAST FEATHER CO            PO BOX 847119                                                          LOS ANGELES        CA           90084-7119              0618               Various                                                                                         $1,055.00
PACIFIC DISPOSAL-LEMAY              2910 HOGUM BAY RD NE                                                   LACEY              WA           98516                                      Various                                                                                         $3,227.69
PACIFIC MARKET INTERNATIONAL        PO BOX 74008450                                                        CHICAGO            IL           60674-8450              5015               Various                                                                                        $29,974.90
                                                                                                                                                                                      12/12/2018 -
PACIFIC POWER-ROCKY MOUNTAIN POWER PO BOX 26000                                                            PORTLAND           OR           97256-0001              013 9              1/11/2019                                                                                      $31,391.61
PACIFIC SOURCE HEALTH PLANS        ATTN REFUNDS                    PO BOX 7068                             EUGENE             OR           97401                   6004               Various                                                                                          $100.00
PACIFIC STEEL AND RECYCLING        5 RIVER DRIVE SOUTH                                                     GREAT FALLS        MT           59405                                      Various                                                                                          $296.73
                                   C/O PHARMACY CAREER PREP
PACIFIC UNIVERSITY SCHOOL OF P     EXPO                            SUITE 451           222 SE 8TH AVENUE   HILLSBORO          OR           97123                   8793               Various                                                                                          $600.00
PACIFIC WORLD CORPORATION (WE      PO BOX 71362                                                            CHICAGO            IL           60694-1362              5969               Various                                                                                        $69,248.53
PACIFICSOURCE HEALTH PLANS         CLAIMS REFUND TEAM              PO BOX 7068                             SPRINFIELD         OR           97475                   6004               Various                                                                                          $117.47
PACKIT LLC                         2659 TOWNSGATE RD STE 119                                               WESTLAKE VILLAGE   CA           91361                   1678               Various                                                                                        $10,535.08
                                                                   PO BOX 7247
PACTIV FKA TENNECO PACKAGING        PACTIV                         LOCKBOX 8054                            PHILADELPHIA       PA           19170-8025              9202               Various                                                                                        $91,580.96
PAGEL SERVICES LLC                  11629 MAIN STREET                                                      STITZER            WI           53825                   4090               Various                                                                                          $105.50
PAHOUA YANG                         221 LAKE ST                                                            MENASHA            WI           54952                   6004               Various                                                                                             $3.00
PAIGE A SCHMIDT                     6013 VIOLA RD NE                                                       ROCHESTER          MN           55906                   6002               Various                                                                                             $7.78




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                                                                          Schedule E/F: Part 2 - Creditors With Nonpriority Unsecured Claims




                                                                                                                                                                                                                                    Claim subject to offset?
                                                                                                                                                                                                          Unliquidated
                                                                                                                                                                                             Contingent


                                                                                                                                                                                                                         Disputed
                                                                                                                                                    Last 4 Digits of     Date Debt was
                                                                                                                                                       Account         Incurred, Basis for
             Creditor Name               Address1                Address2         Address3             City          State           Zip   Country     Number                Claim                                                                             Total Claim
PAIGE ATKIN                   1105 GRAMMERCY                                                   OGDEN              UT         84404                 6002                Various                                                                                                $2.11
PAIGE BARTLESON               107 SOUTH OAKMONT                                                FOREST CITY        IA         50436                 6004                Various                                                                                                $6.33
PAIGE CARR                    1173 PARNELL ST                                                  MARINETTE          WI         54143                 6002                Various                                                                                                $4.14
PAIGE FARACA                  15611 E GRANT AVE                                                SPOKANE            WA         99037                 6004                Various                                                                                                $2.68
PAIGE FISH                    302 N. BOYD #7                                                   ABERDEEN           SD         57401                 6004                Various                                                                                               $23.00
PAIGE HAMM                    N938 PUTNAM DR                                                   OWEN               WI         54460                 6004                Various                                                                                                $5.02
PAIGE HARWOOD                 515 E BEACON AVE                                                 NEW LONDON         WI         54961                 6002                Various                                                                                               $10.00
PAIGE HEGER                   2106 DANA LANE                                                   PAPILLION          NE         68133                 6004                Various                                                                                                $5.00
PAIGE HOEPER                  1733 N. CAMBRIDGE AVENUE      UNIT # 302                         MILWAUKEE          WI         53217                 6004                Various                                                                                               $13.00
PAIGE JOHNSON                 2128 31ST ST                                                     TWO RIVERS         WI         54241                 6004                Various                                                                                               $20.00
PAIGE KOWALESKY               172 ALBATROSS ST                                                 GWINN              MI         49841                 6002                Various                                                                                                $8.33
PAIGE L ANTOINE               100 SPOTTED TAIL ST                                              WINNER             SD         57580                 6002                Various                                                                                                $8.33
PAIGE NOGELMEIER              309 HERZOG DR                                                    WATERTOWN          SD         57201                 6004                Various                                                                                                $5.01

PAIGE NULL                    1153 BOUGHTON STREET - #14E                                      WATERTOWN          WI         53094                  6004               Various                                                                                             $4.00
PAIGE REIGSECKER              WSC - BERRY 110                                                  WAYNE              NE         68787                  6002               Various                                                                                             $1.40
PAIGE RIGGS                   N1644 PLEASANT RD                                                FORT ATKINSON      WI         53538                  6004               Various                                                                                             $5.00
PAIGE ROSS                    4277 CTY RD S                                                    MARATHON           WI         54448                  6002               Various                                                                                             $4.03
PAIGE SWEENEY                 971 16 1/2 ST SE                                                 ROCHESTER          MN         55904                  6004               Various                                                                                             $6.00
PAIGE VANDENMEERENDONK        2410 CATHEDRAL FOREST DR                                         GREEN BAY          WI         54313                  6002               Various                                                                                             $9.62
PAIGE WILLIAMS                510 ST JOHNS DR                                                  ATKINSON           NE         68713                  6002               Various                                                                                             $6.77
PAIGE YOUNGGREN               N8842 SMITH RD                                                   BROOKLYN           WI         53521                  6004               Various                                                                                            $34.00
PAIGHE FREELAND               4260 CO 416 20TH RD                                              GLADSTONE          MI         49837                  6002               Various                                                                                             $8.33
PAISELY DOLLARHYDE            10612 N SAHALEE ST                                               PLEASANT GROVE     UT         84062                  6002               Various                                                                                             $5.21
PAISLEY DENNET                866 QUINN CT                                                     OGDEN              UT         84404                  6002               Various                                                                                             $5.01
PALCO INVESTMENTS LLC         4265 45 STREET S STE 200                                         FARGO              ND         58104                  8706               Various                                                                                        $15,755.20
                              PD2 A CALIFORNIA LIMITED      16400 PACIFIC
PALM DESERT II                PARTNERSHIP                   COAST HWY 207                      HUNTINGTON BEACH   CA         92649                  1261               Various                                                                                        $11,298.61
PAM BLACKBURN                 106 MAIN                                                         RAYMOND            KS         67573                  6002               Various                                                                                             $2.88
PAM BLOEDEL                   7375 S 1250TH E                                                  SOUTH OGDEN        UT         84405                  6002               Various                                                                                             $6.96
PAM DAHLE                     712 HOPE AVE                                                     SALMON             ID         83467                  6002               Various                                                                                             $6.41
PAM DAVIS                     8151 KOSTNER                                                     SKOKIE             IL         60076                  6004               Various                                                                                            $65.16
PAM ELY                       PO BOX 5962                                                      MISSOULA           MT         59806                  6004               Various                                                                                             $9.00
PAM FLEMING                   PO BOX 2214                                                      OROFINO            ID         83544                  6002               Various                                                                                             $3.18
PAM HANUS                     508 S MAIN ST TRLR 19                                            TOLEDO             IA         52342                  6002               Various                                                                                             $5.97
PAM HARPER                    401 WOODS ST                                                     SANBORN            IA         51248                  6002               Various                                                                                             $4.58
PAM HOLDINGS LLC              2439 KUSER ROAD                                                  HAMILTON           NJ         08690                  2834               Various                                                                                        $10,059.80
PAM MEYERS                    101 WESTERN AVE APT 208B                                         FOND DU LAC        WI         54935                  6002               Various                                                                                             $8.52
PAM NESBIT                    6421 N CLIFF AVE                                                 SIOUX FALLS        SD         57104                  6004               Various                                                                                            $25.00
PAM NOLEN                     1427 LACY BLVD                                                   SIOUX CITY         IA         51103                  6002               Various                                                                                             $5.45
PAM PESKA                     307 N WEST ST                                                    FREEPORT           IL         61032                  6004               Various                                                                                            $21.00
PAM RENNEMEYER                819 S 500TH W                                                    BRIGHAM CITY       UT         84302                  6002               Various                                                                                            $10.00
PAM SCHMIDT                   620 S 11TH ST                                                    ESCANABA           MI         49829                  6002               Various                                                                                            $10.00
PAM SILKENSON                 3004 E CLAUDETTE DR                                              SIOUX FALLS        SD         57103                  6004               Various                                                                                            $10.00
PAM SLADEK                    57140 MINE ST                                                    CALUMET            MI         49913                  6002               Various                                                                                             $0.36

PAM VOSS                      N59W24350 EAGLE RICH COURT                                       SUSSEX             WI         53089                  6004               Various                                                                                               $25.00
PAM WEDO                      508 NO. WALNUT                                                   NEW HAMPTON        IA         50659                  6002               Various                                                                                                $0.36
PAM WILLOUGHBY                17840 BLODGETT ROAD                                              BRUCE              WI         54819                  6004               Various                                                                                                $0.04
PAM ZUNICK                    123 BIRCH DR                                                     KALISPELL          MT         59901                  6002               Various                                                                                                $6.60
PAMALA L. HOGGATT             2701 N 7TH ST                                                    COEUR D ALENE      ID         83815                  6002               Various                                                                                                $8.22
PAMELA ALLEN                  21389 LAHTI RD                                                   HOUGHTON           MI         49931                  6002               Various                                                                                                $5.42
PAMELA ANN SMITH              1470 97TH AVE                                                    KENOSHA            WI         53144                  6002               Various                                                                                                $5.18




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                                                                                                                                                                                           Contingent


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                                                                                                                                                     Account         Incurred, Basis for
            Creditor Name              Address1                  Address2        Address3            City         State           Zip   Country      Number                Claim                                                                             Total Claim

PAMELA BARTLETT              7210 MEADOWLARK LN                                               WISCONSIN RAPIDS   WI       54494                   6004               Various                                                                                               $19.00
PAMELA BLACKSTAD             4739 14TH AVE NW            APT 1                                ROCHESTER          MN       55901                   6004               Various                                                                                                $6.00
PAMELA BLUHM                 602 FILMORE ST                                                   CHATFIELD          MN       55923                   6002               Various                                                                                                $6.58
PAMELA BONNELL               415 TOMPKINSSTREET                                               FOND DU LAC        WI       54935                   6002               Various                                                                                                $4.04
PAMELA BRECHLIN              445 BROWN AVE                                                    OROFINO            ID       83544                   6002               Various                                                                                                $1.34

PAMELA BRUCE                 13237 59TH ST S                                                  WISCONSIN RAPIDS   WI       54494                   6004               Various                                                                                               $14.00
PAMELA CHARLES               222 N OAK ST                                                     BLUFFS             IL       62621                   6002               Various                                                                                                $7.07
PAMELA COOKSEY               7599 N MESA LAKE DR                                              MOUNT CARMEL       IL       62863                   6002               Various                                                                                                $5.73
PAMELA CRISP                 PO BOX 1274                                                      OROFINO            ID       83544                   6002               Various                                                                                                $1.97
PAMELA D WOLLMUTH            137 3RD AVE                                                      LITTLE ROCK        IA       51243                   6002               Various                                                                                                $6.19
PAMELA DAINES                701 IMPERIAL WAY APT 5                                           SALMON             ID       83467                   6002               Various                                                                                                $9.78
PAMELA DESMOND               N8690 17TH AVE                                                   NESHKORO           WI       54960                   6004               Various                                                                                                $5.02
PAMELA EAGLEHAWK             688 MOCCASIN DR                                                  POCATELLO          ID       83202                   6002               Various                                                                                                $2.11
PAMELA FELIX                 1019 15TH ST N PRERELEASE                                        GREAT FALLS        MT       59401                   6002               Various                                                                                                $2.49
PAMELA FERRE                 1358 S 2640TH E                                                  SPANISH FORK       UT       84660                   6002               Various                                                                                                $6.77
PAMELA GLAZIER               716 N CANTERBURY DR                                              APPLETON           WI       54915                   6002               Various                                                                                                $7.86
PAMELA GOODMAN               1160 OAKVIEW DR             APT 1                                SAINT CHARLES      MN       55972                   6004               Various                                                                                                $3.00
PAMELA GUMZ                  7661 COUNTY ROAD R                                               OSHKOSH            WI       54902                   6004               Various                                                                                               $69.00
PAMELA HANCOCK               998 WELL SPRING RD #200                                          MIDVALE            UT       84047                   6004               Various                                                                                               $10.00
PAMELA HANSEN                113 MAIN ST APT B                                                CASCO              WI       54205                   6002               Various                                                                                                $8.55
PAMELA HARTMAN               1635 N 32ND ST                                                   LINCOLN            NE       68503                   6002               Various                                                                                                $2.49
PAMELA HILL                  3202 N SPICEWOOD LN                                              APPLETON           WI       54914                   6002               Various                                                                                                $8.49
PAMELA HYNES                 514 5TH ST APT 2                                                 CALUMET            MI       49913                   6002               Various                                                                                                $3.23
PAMELA J CONWAY              6713 BALLARD AVE                                                 LINCOLN            NE       68507                   6002               Various                                                                                                $3.70
PAMELA J LONG                625 WOOD ST                                                      LANDER             WY       82520                   6002               Various                                                                                                $3.37
PAMELA J PFISTER             821 ANNRICH AVE                                                  OMRO               WI       54963                   6002               Various                                                                                                $0.27
PAMELA J REINHART            1311 10TH AVE SW                                                 WATERTOWN          SD       57201                   6002               Various                                                                                                $1.59
PAMELA J SCHWIEGER           1005 BOXELDER AVE APT 1                                          MARSHALL           MN       56258                   6002               Various                                                                                               $10.00
PAMELA JOHNSON               41851 MARYS HILLVIEW DR                                          WINONA             MN       55987                   6004               Various                                                                                                $8.01
PAMELA L. GEARHEART          1044 E WOOLSEY DR                                                COEUR D ALENE      ID       83814                   6002               Various                                                                                                $3.42
PAMELA LAGO                  700 TERRACE HTS                                                  WINONA             MN       55987                   6002               Various                                                                                                $1.62
PAMELA LINDAHL               504 18TH ST NW                                                   AUSTIN             MN       55912                   6004               Various                                                                                                $6.00
PAMELA LINNEMAN              1410 CLOVER LN                                                   JANESVILLE         WI       53545                   6002               Various                                                                                                $0.52
PAMELA LOGUE                 11590 S STREET                                                   TREMPEALEAU        WI       54661                   6002               Various                                                                                                $6.27
PAMELA MISALE                2452 CHERRY ST                                                   MARQUETTE          MI       49855                   6002               Various                                                                                                $7.37
PAMELA MONKS                 109 ALBERT ST                                                    DONIPHAN           MO       63935                   6002               Various                                                                                                $1.62
PAMELA MORENO                5500 SCHLUTER RD.                                                MADISON            WI       53716                   6004               Various                                                                                                $4.00
PAMELA NEWELL                4660 W 6TH ST                                                    WINONA             MN       55987                   6002               Various                                                                                                $4.22
PAMELA NICKLYN               5057 BORDEAU LN                                                  STANDISH           MI       48658                   6002               Various                                                                                                $0.44
PAMELA OBERMUELLER           W10559 HIGHWAY 29                                                RIVER FALLS        WI       54022                   6002               Various                                                                                                $1.51
PAMELA OSTERTAG              790 CHRISTIAN DR.                                                OSHKOSH            WI       54901                   6004               Various                                                                                               $30.00
PAMELA PARISEK               1901 CLOVERDALE WAY                                              BELVIDERE          IL       61008                   6004               Various                                                                                               $10.00
PAMELA PETERS                N208 STATE PARK RD                                               APPLETON           WI       54915                   6004               Various                                                                                               $31.49
PAMELA PETERSON              250 S 370TH E                                                    SMITHFIELD         UT       84335                   6002               Various                                                                                                $1.62
PAMELA POLUTNIK              1526 1ST AVE N                                                   GREAT FALLS        MT       59401                   6004               Various                                                                                               $25.00
PAMELA R BARKER              4631 CLAIRE AVE APT 1                                            LINCOLN            NE       68516                   6002               Various                                                                                                $2.58
PAMELA RAY                   1020 ADAMS PL                                                    KIMBERLY           WI       54136                   6002               Various                                                                                                $3.89
PAMELA RICHEL                3419 10TH ST                                                     LEWISTON           ID       83501                   6002               Various                                                                                                $1.95
PAMELA ROBERSON              1262 CARDINAL LN            APT F                                GREEN BAY          WI       54311                   6004               Various                                                                                               $17.40
PAMELA RUENGER               420 VAN BUREN ST                                                 WATERLOO           WI       53594                   6002               Various                                                                                                $8.99
PAMELA S WENDRICK            104 STERLING ST                                                  KINGSFORD          MI       49802                   6002               Various                                                                                                $1.48
PAMELA SCHMITZ               700 W MAIN ST TRLR 41                                            TREMONTON          UT       84337                   6002               Various                                                                                                $9.07




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                                                                                     Schedule E/F: Part 2 - Creditors With Nonpriority Unsecured Claims




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                                                                                                                                                                                                                                   Disputed
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                                                                                                                                                                 Account         Incurred, Basis for
             Creditor Name                          Address1               Address2           Address3             City        State           Zip   Country     Number                Claim                                                                             Total Claim
PAMELA SEELEY                           6772 SUNSET MEADOW DR.                                            WINDSOR           WI         53598                 6004                Various                                                                                               $25.00
PAMELA SOWKA                            801 SUMMIT ST                                                     HANCOCK           MI         49930                 6002                Various                                                                                                $1.89
PAMELA STEVENS                          5275 BALL PARK RD                                                 LITTLE SUAMICO    WI         54141                 6002                Various                                                                                                $2.16
PAMELA STIMAC                           3829 N 14TH ST                                                    WAUSAU            WI         54403                 6004                Various                                                                                                $2.00
PAMELA STRANSKY                         1004 E. 2ND                                                       MITCHELL          SD         57301                 6004                Various                                                                                               $99.00
PAMELA STREIFF                          3719 9TH AVE SW                                                   ROCHESTER         MN         55902                 6002                Various                                                                                                $7.21
PAMELA TRACY                            205 W JACKSON ST APT B-6                                          ALBANY            MO         64402                 6002                Various                                                                                                $9.42
PAMELA VANDE HEI                        1306 S OUTAGAMIE ST                                               APPLETON          WI         54914                 6004                Various                                                                                                $8.02
PAMELA WAAGMEESTER                      1417 S POINT DR                                                   SIOUX FALLS       SD         57103                 6002                Various                                                                                                $3.48
PAMELA WALKER                           1215 BATES ST                                                     ANSLEY            NE         68814                 6002                Various                                                                                                $2.77
PAMELA WELLS                            2739 MADISON AVE APT 3                                            OGDEN             UT         84403                 6002                Various                                                                                                $2.33
PAMELA WHITE                            515 W FIRST STREET APT 36                                         KIMBERLY          WI         54136                 6002                Various                                                                                                $6.25
PAMELA ZUBICH                           1705 N CHARLOTTE ST                                               APPLETON          WI         54911                 6666                Various                                                                                               $88.73
                                                                       COMMERCIAL MTG
                                        WELLS FARGO WHOLESALE          SERVICING LN 19-
PAMIDA ONE LLC                          LOCKBOX                        7000380          PO BOX 60253      CHARLOTTE         NC         28260-0253              1575              Various                                                                                         $7,306.42

                                                                       COMM MORTGAGE
                                        C/O WELLS FARGO WHOLESALE      SERVICING LN 19-
PAMIDA THREE LLC                        LOCKBOX                        7000382          PO BOX 60253      CHARLOTTE         NC         28260-0253              1573              Various                                                                                        $19,674.03

                                                                       COMM MORTGAGE
                                        C/O WELLS FARGO WHOLESALE      SERVICING LN 19-
PAMIDA TWO LLC                          LOCKBOX                        7000381          PO BOX 60253      CHARLOTTE         NC         28260-0253              1577              Various                                                                                         $6,555.09
                                                                       444 EAST ST
PAN O GOLD BAKING CO                    VICE PRESIDENT OF SALES        GERMAIN STREET                     ST CLOUD          MN         56302                  9740               Various                                                                                          $120.00
PAN YANG                                3723 SUNDET RD                                                    EAU CLAIRE        WI         54703                  6004               Various                                                                                            $25.00
PANACEA PRODUCTS CORPORATION            PO BOX 951556                                                     CLEVELAND         OH         44193-0000             6757               Various                                                                                        $63,445.37
PANDORA MEDIA INC                       25601 NETWORK PLACE                                               CHICAGO           IL         60673-1256             4598               Various                                                                                         $3,289.15
PANERA BREAD                            2726 EAST SPRINGS DR                                              MADISON           WI         53704                  5225               Various                                                                                          $100.00
PANG LEE                                1381 IRVING CIRCLE                                                MANITOWOC         WI         54220                  6004               Various                                                                                             $5.02
PANTONE LLC                             X-RITE INCORPORATED            PO BOX 74008781                    CHICAGO           IL         60674-8781             5278               Various                                                                                          $406.06
PAO CHANG                               120 E FIRST AVE.                                                  APPLETON          WI         54911                  6004               Various                                                                                             $4.99
PAOLA R VALENTINCIC                     706 HEMLOCK DR                                                    WASHINGTON ISLA   WI         54246                  6002               Various                                                                                             $6.38
PAOLA VANESS VALLE-REYES                410 1/2 ARMSTRONG BLV N                                           ST JAMES          MN         56081                  6002               Various                                                                                             $9.56
PARADIGM HEALTH & WELLNESS INC          DEPT LA 24115                                                     PASADENA          CA         91185-4115             2711               Various                                                                                          $764.00

PARADIGM TAX GROUP                      14850 QUORUM DRIVE SUITE 300                                      DALLAS            TX         75254                  9341               Various                                                                                         $9,630.00
PARADISE ICE INC                        PO BOX 288                                                        ELSINORE          UT         84724                  1523               Various                                                                                          $888.00
PARADISE WISCONSIN PROPERTIES           PO BOX 15928                                                      BEVERLY HILLS     CA         90209                  5920               Various                                                                                        $31,831.02
                                                                       2054 KILDAIRE
PARAMOUNT RX INCORPORATED               403                            FARM ROAD                          CARY              NC         27518                  9213               Various                                                                                        $40,783.70
PARATA SYSTEMS LLC                      PO BOX 638203                                                     CINCINNATI        OH         45263-8203             9386               Various                                                                                          $384.03
PARCEL DELIVERY QUICK                   ED RASMUSSEN                   BOX 2661                           MISSOULA          MT         59806                  0563               Various                                                                                          $218.75
PARFUMS DE COEUR LIMITED                CHURCH STREET STATION          PO BOX 6349                        NEW YORK          NY         10249-6349             4309               Various                                                                                       $108,839.20
PARIS CHRISTOPHERSON                    933 SOUTHGATE DR.                                                 ELLSWORTH         WI         54011                  6004               Various                                                                                             $1.00
PARIS PRESENTS                          28270 NETWORK PLACE                                               CHICAGO           IL         60673-1282             4516               Various                                                                                       $122,201.91
                                                                                                                                                                                 9/20/2018 -
PARK FALLS WATER & SEWER UTILITY, WI    P.O. BOX 146                                                      PARK FALLS        WI         54552                   4.01              12/12/2018                                                                                        $528.87
                                                                                                                                                                                 11/30/2018 -
PARKE COUNTY R E M C                    PO BOX 269                                                        COVINGTON         IN         47932-0269             1                  12/30/2018                                                                                      $2,243.63
PARKER B WRIGHT                         3204 ROSE CT                                                      BELOIT            WI         53511                  6002               Various                                                                                             $1.42
PARKER DAUDT                            1223 BEET RD                                                      WALLA WALLA       WA         99362                  6004               Various                                                                                            $20.00
PARKER DIXON                            5575 EDGEWATER COURT #1                                           DELAVAN           WI         53115                  6004               Various                                                                                             $1.00




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PARKER HESER                    13 BENDVIEW LANE                                                GREAT FALLS        MT         59404                 6004                Various                                                                                               $10.00
PARKER SAMPLES                  1067 WAMBLOD DR.                                                MOSINEE            WI         54455                 6004                Various                                                                                                $3.00
PARKER SMITH                    230 S HUBBELL ST              PO BOX 235                        GOOD THUNDER       MN         56037                 6004                Various                                                                                                $7.14
PARKER VOLD                     1400 W ASH                                                      MITCHELL           SD         57301                 6004                Various                                                                                               $23.00
                                                                                                                                                                        11/27/2018 -
PARKVILLE WATER DISTRICT, CO    2015 N POPLAR ST                                                LEADVILLE          CO         80461-3356             2299               12/26/2018                                                                                        $281.35
PARMJEET BHATIA                 4184 W RED ORCHARD WAY                                          WEST JORDAN        UT         84084                  6004               Various                                                                                            $10.00
PARROTTA FAMILY                 5050S 17TH ST                                                   ESCANABA           MI         49829                  6002               Various                                                                                             $2.52
PASCUAL CRUZ                    516 1ST AVE NW APT 1                                            ROCHESTER          MN         55901                  6002               Various                                                                                             $5.23
PASCUAL GARCIA ALONSO           522 12TH AVE SE                                                 ROCHESTER          MN         55904                  6002               Various                                                                                             $5.53
PASCUAL TOLEDO                  2120 NORTH 92ND AVE           #4                                OMAHA              NE         68134                  6004               Various                                                                                            $20.00

PASSIAN STEPHENS                2611 F 10TH ST S                                                WISCONSIN RAPIDS   WI         54494                  6004               Various                                                                                                $3.00
PAT ADELMAN                     1800 W TAYLOR AVE                                               NORFOLK            NE         68701                  6002               Various                                                                                                $6.88
PAT FITZGERALD                  651 6TH ST SE APT 24                                            MASON CITY         IA         50401                  6002               Various                                                                                                $9.01
PAT GEIGER                      86811 HIGHWAY 13                                                CREIGHTON          NE         68729                  6002               Various                                                                                                $6.30
PAT HETRICK                     64544 FAYETTE RD                                                ATLANTIC           IA         50022                  6002               Various                                                                                                $6.05
PAT KELLY                       BOX 9352                                                        KALISPELL          MT         59904                  6002               Various                                                                                                $0.96
PAT KUNZ                        1360 NORTH 200 EAST #37                                         LOGAN              UT         84341                  6002               Various                                                                                                $6.33
PAT MURPHY                      PO BOX 873                                                      HOT SPRINGS        SD         57747                  6002               Various                                                                                                $6.03
PAT NAVRATIL                    1414 N HAMPSHIRE AVE                                            MASON CITY         IA         50401                  6004               Various                                                                                               $67.02
PAT ODBERT                      6827 AYLESWORTH                                                 LINCOLN            NE         68505                  6004               Various                                                                                                $8.98
PAT PETERSON                    280 6TH NW # 7 PMB NW                                           PINE ISLAND        MN         55963                  6002               Various                                                                                                $3.70
PAT STURGES                     23 15TH ST NE                                                   MASON CITY         IA         50401                  6002               Various                                                                                                $5.42
PAT WEDEL                       B0X 53 HYATTVILLE                                               HYATTVILLE         WY         82428                  6002               Various                                                                                                $1.01
PATIENCE COSSON                 878 LEAH COURT                                                  JEFFERSON          WI         53549                  6004               Various                                                                                               $56.00
PATIENCE PURIFOY                905 NE 1ST ST APT D                                             MARION             WI         54950                  6002               Various                                                                                                $1.64
PATIENT TEST                    RR 1 BOX 79A                                                    LANCASTER          MO         63548                  6002               Various                                                                                                $2.38
PATRICA ENGBERETSON             2145 9TH AVE                                                    BLOOMER            WI         54724                  6004               Various                                                                                               $44.00
PATRICE BARTRAM                 119 STERNBERG ST                                                SCHOFIELD          WI         54476                  6002               Various                                                                                                $3.86
PATRICE HIGGINS                 160 18TH AVE NW                                                 GREAT FALLS        MT         59404                  6002               Various                                                                                                $6.41
PATRICE HOOD                    22961 HIGHLOW AVE NORTH                                         FOREST LAKE        MN         55025                  6004               Various                                                                                               $26.40
PATRICE RUBENZER                534 WOODWARD                                                    CHIPPEWA FALLS     WI         54729                  6004               Various                                                                                               $10.00
PATRICIA (PAT) STARR            5030 S 47TH STREET                                              LINCOLN            NE         68516                  6004               Various                                                                                               $12.10
PATRICIA A HAYES                1617 BURDETTE ST                                                OMAHA              NE         68110                  6002               Various                                                                                                $2.90
PATRICIA A HIBBS                2509 2ND AVE E                                                  LA CROSSE          WI         54603                  6002               Various                                                                                                $6.82
PATRICIA A MOORE                1602 RIDGEWAY DR                                                DE PERE            WI         54115                  6002               Various                                                                                                $9.45
PATRICIA A POWERS               2120 HIGHWAY 92                                                 MT. HOREB          WI         53572                  6002               Various                                                                                                $0.58
PATRICIA A. BUNCH               5236 DUTCHMAN CRT                                               HELENA             MT         59602                  6002               Various                                                                                                $1.92
PATRICIA A. WALLACE             312 HIGHLAND AVE                                                FORT ATKINSON      WI         53538                  6002               Various                                                                                                $0.44
PATRICIA AARON                  RR 2 BOX 95                                                     POCATELLO          ID         83202                  6002               Various                                                                                                $5.04
PATRICIA ANN BROCKHOUSE         1856 CEDAR ST                                                   JACKSONVILLE       IL         62650                  6002               Various                                                                                                $6.88
PATRICIA ARMSTRONG              27 N LINDEN LN                                                  APPLETON           WI         54915                  6004               Various                                                                                               $62.00
PATRICIA BERGMANIS              4513 N LARKIN ST                                                MILWAUKEE          WI         53211                  6002               Various                                                                                                $6.00
PATRICIA BLAKE                  63 FOX RUN RD                                                   LIVINGSTON         MT         59047                  6002               Various                                                                                                $6.55

PATRICIA BOYD                   2818 A WEST FOREST HOME AVE                                     MILWAUKEE          WI         53215                  6004               Various                                                                                                $1.00
PATRICIA BROWN                  5059 GLENVIEW RD                                                DENMARK            WI         54208                  6002               Various                                                                                                $6.60
PATRICIA BURGER                 BOX 101                                                         HENRY              SD         57243                  6002               Various                                                                                               $62.88
PATRICIA CARNAHAN               W5907 6 MILE LAKE RD                                            FELCH              MI         49831                  6002               Various                                                                                                $7.51
PATRICIA CARPENTER              205 22ND ST S                                                   LA CROSSE          WI         54601                  6002               Various                                                                                                $2.71
PATRICIA CASTILLO               9328 S 3110TH W                                                 WEST JORDAN        UT         84088                  6002               Various                                                                                                $8.33
PATRICIA CONE                   447 N 100TH E                                                   KAYSVILLE          UT         84037                  6002               Various                                                                                                $6.49
PATRICIA CORNACCHIONE           304 COHO RD                                                     POST FALLS         ID         83854                  6004               Various                                                                                               $14.13




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                                                                                                                                                                                            Contingent


                                                                                                                                                                                                                        Disputed
                                                                                                                                                   Last 4 Digits of     Date Debt was
                                                                                                                                                      Account         Incurred, Basis for
               Creditor Name                Address1            Address2          Address3              City        State           Zip   Country     Number                Claim                                                                             Total Claim
PATRICIA CORTES                 1125 N MAIN ST APT 1B                                          LAYTON            UT         84041                 6002                Various                                                                                                $4.49
PATRICIA CRENSHAW               226 HEMLOCK DRIVE                                              BILLINGS          MT         59101                 6004                Various                                                                                               $22.00
PATRICIA DE BURNETT             1601 W FOX PARK DR APT 3G                                      WEST JORDAN       UT         84088                 6002                Various                                                                                                $8.63
PATRICIA DEAN                   1637 EUCLID, APT # 3                                           LINCOLN           NE         68502                 6004                Various                                                                                                $2.00
PATRICIA DECKER                 3780 HARRAH RD                                                 HARRAH            WA         98933                 6002                Various                                                                                                $4.99
PATRICIA DEVLIN                 PO BOX 392                                                     KAMIAH            ID         83536                 6002                Various                                                                                                $5.94
PATRICIA DEWITT                 510 LEE ST                                                     WISCONSIN RAPID   WI         54494                 6002                Various                                                                                                $7.64
PATRICIA ENEBOE                 109 W ST PO BOX # 70                                           ARTHUR            IA         51431                 6002                Various                                                                                                $6.74
PATRICIA ENSOR                  1005 W 13TH ST                                                 CRETE             NE         68333                 6002                Various                                                                                                $6.71
PATRICIA FALKINGHAM             4145 LANCE ST.                                                 IDAHO FALLS       ID         83401                 6004                Various                                                                                               $16.00
PATRICIA FITZ                   PO BOX 1915 PMB 220                                            OROFINO           ID         83544                 6002                Various                                                                                                $5.01
PATRICIA FULLER                 3 OAK STREET                                                   LANSE             MI         49946                 6002                Various                                                                                               $11.75
PATRICIA FUNDORA                1516 KENNY DR               LOT 45                             CRIVITZ           WI         54114                 6004                Various                                                                                                $9.99
PATRICIA GEREND                 224 EAST ST. JOSEPH ST.                                        GREEN BAY         WI         54301                 6004                Various                                                                                               $63.00
PATRICIA GOFF                   458 FOREST DRIVE                                               FONTANA           WI         53125                 6004                Various                                                                                               $51.00
PATRICIA HAAS                   7372 DEVONSHIRE DR                                             CEDARBURG         WI         53012                 6002                Various                                                                                                $2.55
PATRICIA HAMLIN                 1326 SW 16TH ST                                                REDMOND           OR         97756                 6004                Various                                                                                                $5.00
PATRICIA HARRINGTON             PO BOX 345                                                     PLAINFIELD        WI         54966                 6002                Various                                                                                                $1.29
PATRICIA HARSIN                 1630 2 3RD STREET                                              ALLIANCE          NE         69301                 6002                Various                                                                                                $2.08
PATRICIA HARVEY                 810 SLY ST APT 2                                               STURGIS           SD         57785                 6002                Various                                                                                               $10.00
PATRICIA HELLER                 W8909 HIGHWAY # B                                              LAKE MILLS        WI         53551                 6002                Various                                                                                                $5.07
PATRICIA HENNIG                 1720 WESTERN AVE APT 7                                         GREEN BAY         WI         54303                 6002                Various                                                                                                $3.45
PATRICIA HENRY                  880 MASSEY LN                                                  JACKSONVILLE      IL         62650                 6002                Various                                                                                                $0.36
PATRICIA HERNANDEZ              803 D VALLEY DR                                                WAYNE             NE         68787                 6002                Various                                                                                                $1.12
PATRICIA HILLERT                110 E 15 ST                                                    NEILLSVILLE       WI         54456                 6004                Various                                                                                                $5.00
PATRICIA HINNENDAEL             150 S FISK ST APT 19                                           GREEN BAY         WI         54303                 6004                Various                                                                                               $55.20
PATRICIA HODGES                 PO BOX 1812                                                    OROFINO           ID         83544                 6002                Various                                                                                                $1.21
PATRICIA HORNE                  451 EMMERSON AVE                                               SLC               UT         84115                 6002                Various                                                                                                $9.62
PATRICIA HRONEK                 3731 MAPLE CT                                                  GREEN BAY         WI         54311                 6002                Various                                                                                                $7.64
PATRICIA HUHN                   712 11TH AVE PO BOX # 615                                      HOWARD LAKE       MN         55349                 6002                Various                                                                                                $2.90
PATRICIA INNIS                  262 PLUM VALLEY RD NW                                          ALDEN             MI         49612                 6002                Various                                                                                                $8.49
PATRICIA J BARLOWSKI            3785 N LIMBERLOST RD                                           RHINELANDER       WI         54501                 6002                Various                                                                                                $9.10
PATRICIA JEA HOEHN              640 RIDGEVIEW CIR                                              APPLETON          WI         54911                 6002                Various                                                                                                $8.25
PATRICIA JOCHIMSEN              909 TAFT AVE                                                   EAU CLAIRE        WI         54701                 6002                Various                                                                                                $6.00
PATRICIA JUNGERS                517 SHELDON AVE                                                HOUGHTON          MI         49931                 6002                Various                                                                                                $9.81
PATRICIA KANTOLA                201 MAPLE ST                                                   LANSE             MI         49946                 6002                Various                                                                                                $7.51
PATRICIA KARVONEN               11989 US HIGHWAY 41                                            PELKIE            MI         49958                 6002                Various                                                                                                $3.51

PATRICIA KINDSCHY               666 W PIERRE LN                                                PORT WASHINGTON   WI         53074                  6002               Various                                                                                             $4.44
PATRICIA KNIGHT                 429 N OAK ST                                                   DODGE             NE         68633                  6002               Various                                                                                             $2.88
PATRICIA KOCHER                 404 EAST STREET             PO BOX 72                          CLYMAN            WI         53016                  6004               Various                                                                                            $25.13
PATRICIA KOEPKE                 1644 NINTH SREET APT 103                                       GREEN BAY         WI         54303                  6002               Various                                                                                             $4.44
PATRICIA KOGEL                  1420 WEST 23RD AVE                                             MITCHELL          SD         57301                  6004               Various                                                                                            $44.80
PATRICIA L SIMS                 5984 N DAVENPORT ST                                            COEUR D ALENE     ID         83815                  6002               Various                                                                                             $1.95
PATRICIA L. ROWE                7844 W DIAGONAL RD                                             RATHDRUM          ID         83858                  6002               Various                                                                                             $4.71
PATRICIA LANE                   POB 1413                                                       LYMAN             WY         82937                  6002               Various                                                                                             $2.08
PATRICIA LAUR                   W7814 WHITETAIL LN                                             PEMBINE           WI         54119                  6002               Various                                                                                             $4.30
PATRICIA LAURITSEN              9318 JAYNES ST                                                 OMAHA             NE         68134                  6002               Various                                                                                             $7.95
PATRICIA LECOMPTE               BOX 394                                                        ABERDEEN          SD         57402                  6004               Various                                                                                            $65.00
PATRICIA LONG                   304 N 63RD AVE                                                 YAKIMA            WA         98908                  6004               Various                                                                                            $20.00
PATRICIA M GARDNER              902 N 3RD ST                                                   SAINT PETER       MN         56082                  6002               Various                                                                                             $4.47
PATRICIA M MITCHELL             BLACKTAIL PROPERTIES LLC    2785 FLYNN LANE                    DILLON            MT         59725                  2612               Various                                                                                           $958.34
PATRICIA MARKUSON               4830 WHITROCK AVE                                              WISCONSIN RAPID   WI         54494                  6002               Various                                                                                             $9.45
PATRICIA MARTELL                3205 11TH AVE S                                                GREAT FALLS       MT         59405                  6002               Various                                                                                             $5.56




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               Creditor Name                Address1               Address2         Address3             City         State           Zip   Country     Number                Claim                                                                             Total Claim
PATRICIA MCELHOSE               3252 VIKING DR                                                   SIOUX CITY        IA         51104                 6002                Various                                                                                             $7.32
PATRICIA MCMANAMY               7309 CEDAR CREEK TRL                                             MADISON           WI         53717                 6002                Various                                                                                             $4.25
PATRICIA MENDOZA                224 NEWHALLL STREET                                              GREEN BAY         WI         54302                 6004                Various                                                                                             $1.98
PATRICIA MILLIS                 1659 8TH ST SW                                                   MASON CITY        IA         50401                 6002                Various                                                                                             $4.68
PATRICIA MOORE                  1125 E 4TH ST                                                    CRETE             NE         68333                 6004                Various                                                                                            $11.98
PATRICIA NAJERA                 2121 HARRISON AVE                                                BELOIT            WI         53511                 6004                Various                                                                                            $15.00
PATRICIA NEWTON                 1103 MAPLE ST                                                    OSAGE             IA         50461                 6004                Various                                                                                            $24.23
PATRICIA NIELSON                8944 N 6400TH W                                                  TREMONTON         UT         84337                 6002                Various                                                                                             $0.85
PATRICIA NUTSCH                 3224 LITTLE JOHN CT                                              NAMPA             ID         83687                 6002                Various                                                                                             $6.68
PATRICIA NZERIBE                151 N ASHLAND AVE APT 7                                          GREEN BAY         WI         54303                 6002                Various                                                                                             $1.78
PATRICIA OSMAN (WEIR)           PO BOX 305                                                       HERSHEY           NE         69143                 6002                Various                                                                                             $1.04
PATRICIA OSTERHOUT              403 SOUTH RODNEY                                                 HELENA            MT         59601                 6004                Various                                                                                             $8.00
PATRICIA PAT SANDERS            200 ADDISON SQ                                                   KALISPELL         MT         59901                 6002                Various                                                                                             $0.38
PATRICIA PEDERSEN               1100 LAKESHORE DR CHRISTY                                        GLADSTONE         MI         49837                 6002                Various                                                                                             $0.63
PATRICIA PEPPEY                 C/O CATHERINE LOSS            1836 N 59TH ST                     MILWAUKEE         WI         53208                 6002                Various                                                                                             $9.00
PATRICIA PETERSON               1761 GIBSON AVE                                                  OGDEN             UT         84404                 6002                Various                                                                                             $8.76
PATRICIA PINEDA                 212 1/2 W MAIN ST                                                WATERTOWN         WI         53094                 6002                Various                                                                                             $8.08
PATRICIA POPE                   443 CAMAS RD                                                     WEIPPE            ID         83553                 6002                Various                                                                                             $1.97
PATRICIA RAYMOND                1456 LAKESHORE RD                                                GRAFTON           WI         53024                 6002                Various                                                                                             $6.47
PATRICIA REITZ                  14152 659TH ST                                                   WABASHA           MN         55981                 6002                Various                                                                                            $45.17
PATRICIA ROBBINS                116 LAKECREST DR              APT138                             BEAVER DAM        WI         53916                 6004                Various                                                                                             $6.16
PATRICIA ROSENTHAL              N3118 CTY G                                                      REESEVILLE        WI         53579                 6002                Various                                                                                             $2.11
PATRICIA RUEHLE                 7900 94TH AVE APT 204D                                           PLEASANT PRAIRI   WI         53158                 6002                Various                                                                                             $6.03
PATRICIA SAMPLE                 8075 GUY ST BOX # 96                                             BAILEYS HARBOR    WI         54202                 6002                Various                                                                                             $6.55
PATRICIA SANCHEZ                3316 PAINTBRUSH LN APT B                                         WORLAND           WY         82401                 6002                Various                                                                                             $1.89
PATRICIA SAUER                  1035 35TH AVE N                                                  SAINT CLOUD       MN         56303                 6002                Various                                                                                             $6.25
PATRICIA SAVINA                 10777 330TH ST                                                   BOYD              WI         54726                 6002                Various                                                                                             $8.47
PATRICIA SAWYER                 354 E BANK ST                                                    FOND DU LAC       WI         54935                 6002                Various                                                                                             $1.84
PATRICIA SCHIELL                828 3RD ST                                                       WEST CONCORD      MN         55985                 6002                Various                                                                                             $8.63
PATRICIA SCHMIDT                620 MALIN CT APT 1                                               HOLMEN            WI         54636                 6002                Various                                                                                             $2.41
PATRICIA SCHULTZ                502 FAIRVIEW COURT                                               WAUTOMA           WI         54982                 6002                Various                                                                                            $47.71
PATRICIA SHANE                  4401 MONONA DR                                                   MONONA            WI         53716                 6004                Various                                                                                            $20.00
PATRICIA SIMKINS                280 MT ARTER                                                     LANDER            WY         82520                 6002                Various                                                                                             $2.41
PATRICIA SOTIRIN                PO BOX 112                                                       CHASSELL          MI         49916                 6004                Various                                                                                            $58.50
PATRICIA STEINWART              1201 E 10TH ST                                                   COZAD             NE         69130                 6002                Various                                                                                             $9.12
PATRICIA STEVENSON              1847 E 1300TH                                                    HAZELTON          ID         83335                 6002                Various                                                                                             $0.79
PATRICIA STOLTZ                 4814 384TH CT                                                    NORTH BRANCH      MN         55056                 6002                Various                                                                                             $8.32
PATRICIA STRATTON               752 RANGER RD                                                    NEKOOSA           WI         54457                 6004                Various                                                                                           $169.26
PATRICIA STRINGER               PRAIRIE VIEW HOME             610 EASTERN ST                     SANBORN           IA         51248                 6002                Various                                                                                             $3.72
PATRICIA STUCKART               718 RESORT ROAD                                                  SUAMICO           WI         54173                 6004                Various                                                                                            $14.91
PATRICIA SZYMAN                 515 NORTH 4TH STREET                                             MANITOWOC         WI         54220                 6004                Various                                                                                            $23.00
PATRICIA T SCHUBERT             216 ORCHARD DR                                                   SISSETON          SD         57262                 6002                Various                                                                                             $6.19
PATRICIA TANNER                 80 W BROCK ST                                                    BUFFALO           WY         82834                 6002                Various                                                                                            $10.00
PATRICIA TARR                   420 PHILADELPHIA ST APT 219                                      RAPID CITY        SD         57701                 6002                Various                                                                                             $3.33
PATRICIA TEGELMAN               4367 W BREEZEWOOD LN                                             OSHKOSH           WI         54904                 6002                Various                                                                                             $0.71
PATRICIA TOENEBOEHN             101 E ELM ST APT 18                                              GALLATIN          MO         64640                 6002                Various                                                                                            $10.00
PATRICIA TSCHAKERT              402 THORSON AVE                                                  FLORENCE          SD         57235                 6004                Various                                                                                             $6.50
PATRICIA URBANEK                1159 ROAD P                                                      CLARKSON          NE         68629                 6004                Various                                                                                            $40.00
PATRICIA WAINMAN                648 MEMORIAL ST                                                  JACKSONVILLE      IL         62650                 6002                Various                                                                                             $2.38
PATRICIA WILLIAMS               3688 STONEGATE DR                                                IDAHO FALLS       ID         83406                 6002                Various                                                                                             $5.78
PATRICIA WINCHESTER             177 BUCKINGHAM LN                                                HOLMEN            WI         54636                 6002                Various                                                                                             $2.68
PATRICIA WONCH HILL             1421 S 26TH ST                                                   LINCOLN           NE         68502                 6004                Various                                                                                             $8.00
PATRICIA YVO HARLOW             6267 DEERFLAT RD                                                 NAMPA             ID         83686                 6002                Various                                                                                             $7.18
PATRICIA ZOPFI                  EP3751 DRAKE AVE                                                 STRATFORD         WI         54484                 6002                Various                                                                                             $8.41




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PATRICIO YUVELLY                120 E 6TH ST                                                  NEILLSVILLE        WI         54456                 6002                Various                                                                                             $9.75
PATRICK ABREGO                  401 RIDGE RD.                                                 ALBERT LEA         MN         56007                 6004                Various                                                                                             $1.40
PATRICK BOLTON                  108 4TH AVE W                                                 THOMPSON           IA         50478                 6002                Various                                                                                             $9.56
PATRICK BOYER                   7388 BLACK ST EK RD                                           NORTH WEBSTER      IN         46555                 6002                Various                                                                                            $10.73
PATRICK BRENNAN                 109 BONNIE BRAE AVE                                           NEWCASTLE          WY         82701                 6002                Various                                                                                             $6.74
PATRICK BRUMM                   N99W16181 NORTHWAY                                            GERMANTOWN         WI         53022                 6004                Various                                                                                             $8.00
PATRICK BUBE                    930 ROSS AVE                                                  WAUSAU             WI         54403                 6004                Various                                                                                             $4.00
PATRICK CAREY                   B391 COUNTY P                                                 UNITY              WI         54488                 6004                Various                                                                                             $7.06
PATRICK CARROLL                 5482 BROWN RD                                                 LITTLE SUAMICO     WI         54141                 6004                Various                                                                                            $54.00
PATRICK CHEN                    10 TIMBERLINE CT                                              APPLETON           WI         54913                 6002                Various                                                                                             $8.66
PATRICK CULLEN                  515 VAN DREFF ST APT 2                                        SALMON             ID         83467                 6002                Various                                                                                             $7.75
PATRICK D MCCONNELL             604 CAMPUS ST APT 10                                          MILTON             WI         53563                 6002                Various                                                                                             $7.53
PATRICK DRISCOLL                3337 COTTAGE HILL DR                                          GREEN BAY          WI         54311                 6002                Various                                                                                             $1.34
PATRICK DYRA                    6077 LAKE RD                                                  LENA               IL         61048                 6004                Various                                                                                            $56.00
PATRICK FRITZ                   1219 1/2 S CHICAGO                                            FREEPORT           IL         61032                 6004                Various                                                                                            $10.00
PATRICK GERING                  3227 S. E STREET                                              SPRINGFIELD        OR         97478                 6004                Various                                                                                            $15.00
PATRICK GILLIS                  111 W ASH STREET                                              ROBERTS            WI         54023                 6004                Various                                                                                            $25.00
PATRICK GORMAN                  210 N. GARDEN STREET                                          LAKE CITY          MN         55041                 6004                Various                                                                                            $20.00
PATRICK GROVES                  110 DALE DR                                                   OREGON             WI         53575                 6004                Various                                                                                             $5.70
PATRICK H KOFMEHL               4421 N CENTER ROAD                                            SPOKANE            WA         99212                 9763                Various                                                                                        $13,570.13
PATRICK HANCOCK                 1801 LAGUNA AVE                                               SCHOFIELD          WI         54476                 6002                Various                                                                                             $7.81
PATRICK HEBERLING               1103 S SUMMIT AVE                                             NEWCASTLE          WY         82701                 6002                Various                                                                                             $7.56
PATRICK HEMANN MURPHY           708 9TH AVE SE                                                AUSTIN             MN         55912                 6004                Various                                                                                             $6.00
PATRICK HENNES                  1202 S MAPLE                                                  MARSHFIELD         WI         54449                 6004                Various                                                                                             $5.98
PATRICK HOPKINS                 1142 HOBART DR                                                GREEN BAY          WI         54304                 6002                Various                                                                                             $7.10
PATRICK HORGAN                  2515 VERBICK RD                                               ELY                MN         55731                 6002                Various                                                                                             $1.00
PATRICK J BRILL                 211 WILLOW DR TRLR 47                                         SPENCER            WI         54479                 6002                Various                                                                                             $7.34
PATRICK J COUGHLIN              W 150 PUMPKIN SEED LN                                         WINNECONNE         WI         54986                 6002                Various                                                                                             $8.11
PATRICK J ROBERTS               37 CATO AVE                                                   DULUTH             MN         55808                 6002                Various                                                                                             $1.51
PATRICK KILROY                  113 N MAPLE ST                                                WATERTOWN          WI         53094                 6002                Various                                                                                             $1.48
PATRICK L KOVATCH               537 CENTRAL ST                                                OSHKOSH            WI         54901                 6002                Various                                                                                             $6.16
PATRICK L NOLTE                 PO BOX 475                                                    STUART             IA         50250                 6002                Various                                                                                             $6.68
PATRICK LAVELLE                 2455 CUMBERLAND WAY                                           GREEN BAY          WI         54311                 6004                Various                                                                                            $17.00
PATRICK LAWLER                  2105 BOW                                                      MISSOULA           MT         59801                 6004                Various                                                                                            $52.48
PATRICK LEE                     2716 FOOTHILL RD                                              KALISPELL          MT         59901                 6002                Various                                                                                             $7.23
PATRICK LEONARD                 732 AVE F                                                     BILLINGS           MT         59102                 6004                Various                                                                                            $35.00
PATRICK LOBECK                  140 STERLING ST                                               KINGSFORD          MI         49802                 6002                Various                                                                                             $5.42

PATRICK LOBNER                  3073 PORT ROAD                                                WISCONSIN RAPIDS   WI         54494                  6004               Various                                                                                               $15.00
PATRICK MARTIN                  718 BAYLISS AVE.                                              BELOIT             WI         53511                  6004               Various                                                                                                $5.00
PATRICK MATTHEWS                722 LARAMIE AVE                                               ALLIANCE           NE         69301                  6002               Various                                                                                                $4.96
PATRICK MCATEE                  819 AVE C                                                     PLATTMOUTH         NE         68048                  6002               Various                                                                                                $7.18
PATRICK MCINTYRE                1620 OLD ENGLISH RD                                           ALTOONA            WI         54720                  6004               Various                                                                                               $19.98
PATRICK MORRALL                 9833 PRAIRIE LN                                               BELVIDERE          IL         61008                  6002               Various                                                                                                $6.63
PATRICK NELSON                  451 NORTH FIRST ST                                            RANDOLPH           WI         53956                  6004               Various                                                                                                $8.02
PATRICK NUGENT                  E2686 E CHRISTMAS TREE LN                                     WAUPACA            WI         54981                  6002               Various                                                                                                $3.62
PATRICK RABENBERG               12326 LOHRE RD                                                SISSETON           SD         57262                  6002               Various                                                                                                $4.27

PATRICK RESHEL                  3110 DEER ROAD                                                WISCONSIN RAPIDS   WI         54494                  6004               Various                                                                                               $20.00
PATRICK SCHNEIDER               7817 19TH AVE                                                 KENOSHA            WI         53143                  6004               Various                                                                                                $3.29
PATRICK SHUMAKER                1303 3RD AVE NW                                               ROCHESTER          MN         55901                  6004               Various                                                                                                $6.00
PATRICK SNIDER                  PO BOX 3225                                                   COEUR D ALENE      ID         83816                  6002               Various                                                                                                $6.11
PATRICK STEELE                  610 S LINDEN AVE                                              MARSHFIELD         WI         54449                  6002               Various                                                                                                $7.92
PATRICK STEPHENS                6703 N 89TH CT              APT C                             OMAHA              NE         68122                  6004               Various                                                                                               $40.00




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                                                                                                                                                       Last 4 Digits of     Date Debt was
                                                                                                                                                          Account         Incurred, Basis for
              Creditor Name                   Address1               Address2           Address3              City       State         Zip    Country     Number                Claim                                                                             Total Claim
PATRICK STORBY                    337 27TH ST SW                                                     MASON CITY       IA         50401                6002                Various                                                                                             $0.49
PATRICK SULLIVAN                  N77W24545 RIDGEFIELD DR                                            SUSSEX           WI         53089                6002                Various                                                                                             $2.03
PATRICK TEFFT                     3111 LEAWOOD DR                                                    BELLEVUE         NE         68123                6004                Various                                                                                            $43.00
PATRICK TELFORD                   PO BOX 253                                                         OCONTO           WI         54153                6002                Various                                                                                             $6.16
PATRICK TOURDOT                   6944 SUNDEW RD                                                     SOBIESKI         WI         54171                6004                Various                                                                                             $2.00
PATRICK UNDERBERG                 823 RIVERSIDE DR                                                   ABERDEEN         SD         57401                6002                Various                                                                                             $5.34
PATRICK VALADEZ                   9425 S RIVERSIDE DR APT 932                                        SANDY            UT         84070                6002                Various                                                                                             $0.93
PATRICK VIEAU                     1844 WESTLINE RD                                                   GREEN BAY        WI         54313                6002                Various                                                                                             $8.08
PATRICK WAZNY                     PO BOX 363                                                         VALDERS          WI         54245                6004                Various                                                                                            $76.00
PATRICK WILSON                    P.O BOX 81246                                                      BILLINGS         MT         59108                6004                Various                                                                                            $12.00
PATSY BURD                        1 CAVALIER STREET                                                  BILLINGS         MT         59105                6004                Various                                                                                             $4.47
PATSY CAMERON                     308 E 4020TH S                                                     SLC              UT         84107                6002                Various                                                                                             $9.95
PATSY CARTER                      PO BOX 1155 PMB 209                                                RAWLINS          WY         82301                6002                Various                                                                                             $3.86
PATSY FARR                        200 S SUSAN AVE                                                    CROOKS           SD         57020                6002                Various                                                                                             $6.52
PATSY KOCHER                      703 S 4TH AVE                                                      NEW HAMPTON      IA         50659                6002                Various                                                                                             $2.90
PATSY KOONTZ                      110 BROADWAY                                                       AUSTIN           MN         55912                6004                Various                                                                                             $3.00
PATSY OLSON                       9920 N VALLEY WAY                                                  HAYDEN           ID         83835                6004                Various                                                                                            $10.00
PATSY PARRETT                     PO BOX 162                                                         RAPID RIVER      MI         49878                6002                Various                                                                                             $1.75
PATSY PENA                        5428 W SUNFALLS CT                                                 SALT LAKE CITY   UT         84118                6002                Various                                                                                             $7.51
PATSY ROCKWELL                    6451 E STATELINE ROAD                                              BELOIT           WI         53511                6002                Various                                                                                             $4.16
PATSY ROETHEMEYER                 45787 S OLD HIGHWAY 83                                             WELLFLEET        NE         69170                6002                Various                                                                                             $6.52
PATSY YENNEY                      1040 SO. AVON RD                                                   DEARY            ID         83823                6004                Various                                                                                             $5.02
PATTI DAVILA                      12827 HARTFORD AVE                                                 OROFINO          ID         83544                6002                Various                                                                                             $0.60
PATTI FAKETTY                     10925W COUNTY ROAD 442                                             COOKS            MI         49817                6002                Various                                                                                             $7.37
PATTI K LAKE                      HC 6 BOX 325B                                                      DONIPHAN         MO         63935                6002                Various                                                                                             $0.99
PATTI KRAMP                       247 N KANSAS ST                                                    SUPERIOR         NE         68978                6002                Various                                                                                             $2.96
PATTI MAHER                       4602 BARBICAN AVENUE          APT 237                              WESTON           WI         54476                6002                Various                                                                                             $3.22
PATTI MISKO                       3042 CARRIAGE AVE                                                  BATTLE CREEK     IA         51006                6002                Various                                                                                             $6.30
PATTI STEWART                     W10631 CTY RD MM                                                   THORP            WI         54771                6004                Various                                                                                             $4.00
PATTI STONE                       P.O. BOX 396                                                       MAUSTON          WI         53948                6004                Various                                                                                             $1.95
PATTI VANLEEUWEN                  3295 E 3210TH N                                                    TWIN FALLS       ID         83301                6002                Various                                                                                             $6.36
PATTIE LATHROP                    2626 S BENJAMIN AVE                                                MASON CITY       IA         50401                6002                Various                                                                                             $7.15
PATTIE SALTER                     1000 8TH ST                   APT. # 1                             NEW GLARUS       WI         53574                6004                Various                                                                                             $5.70
PATTON GROUP LIMITED PARTNERSH    350 BAY STREET STE 100        PMB 200                              SAN FRANCISCO    CA         94133-1998           0863                Various                                                                                        $12,083.34

PATTON/ NICOLE                    ADVERTISING                   SHOPKO EMPLOYEE                      GREEN BAY        WI         54307-9060            6003               Various                                                                                             $7.39
PATTY BENGE                       1835 195TH LN                                                      WINTERSET        IA         50273                 6002               Various                                                                                             $7.78
PATTY BROCK                       4191 S 2725TH W                                                    ROY              UT         84067                 6002               Various                                                                                             $1.97
PATTY BROOKS                      326 S ELM ST                                                       KIMBERLY         WI         54136                 6002               Various                                                                                             $0.90
PATTY KAEOVONGPHET                2230 SO. 42ND ST              APT. 9                               MANITOWOC        WI         54220                 6004               Various                                                                                             $3.04
PATTY KERKHOFF                    N2349 ELM ST                                                       WAUTOMA          WI         54982                 6002               Various                                                                                             $7.10
PATTY M HARRINGTON                1702 E FRONT AVE                                                   COEUR D ALENE    ID         83814                 6002               Various                                                                                             $7.78
PATTY MARTIN                      5140 W. PAVENT CIR                                                 SALT LAKE CITY   UT         84120                 6004               Various                                                                                             $5.00
PATTY PEDERSEN                    BOX 475                                                            NORTH BRANCH     MN         55056                 6002               Various                                                                                             $2.88
PATTY RILEY                       1126 S BYBASS                                                      BUFFALO          WY         82834                 6002               Various                                                                                             $6.68
PATTY STACEY                      185 N 4TH ST                                                       PATTERSON        IA         50218                 6002               Various                                                                                             $4.19
PATTY YUHAS                       2201 LOCKEY AVE                                                    HELENA           MT         59601                 6002               Various                                                                                             $5.84
PAUL AHO                          208 EASTERN AVE                                                    LANSE            MI         49946                 6002               Various                                                                                             $8.66
PAUL ALEXANDER                    1042 N CLOVER DR                                                   BOISE            ID         83703                 6004               Various                                                                                            $72.50
PAUL ALLEN                        1219 N 25TH                                                        BILLINGS         MT         59101                 6004               Various                                                                                           $386.00
PAUL ANDAHL                       2930 BLACK HAWK DR                                                 BELLEVUE         NE         68123                 6004               Various                                                                                            $39.98
PAUL ANDERSON                     2519 LANDER ST.                                                    GREEN BAY        WI         54313                 6004               Various                                                                                            $37.50
PAUL BAILEY                       1706 HAINES STREET                                                 TORRINGTON       WY         82240                 6002               Various                                                                                            $13.93
PAUL BARRIBEAU                    N 9034 OLSON RD                                                    ONEIDA           WI         54155                 6002               Various                                                                                             $5.53




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            Creditor Name                Address1                Address2         Address3             City         State           Zip   Country     Number                Claim                                                                             Total Claim
PAUL BATES                   20 LAMBERT DR                                                     MOUNT CARMEL      IL         62863                 6002                Various                                                                                                $7.07
PAUL BAWDEN                  966 S 900TH E                                                     SPANISH FORK      UT         84660                 6002                Various                                                                                                $1.10
PAUL BEDUZE                  W5483 PLANTATION ROAD                                             ELKHORN           WI         53121                 6004                Various                                                                                               $14.99
PAUL BOHLER                  376 4TH STREET                                                    PRAIRIE DU SAC    WI         53578                 6004                Various                                                                                               $99.98
PAUL BROWN                   7208 KENWOOD ROAD                                                 SAINT CLOUD       MN         56303                 6004                Various                                                                                               $23.00
PAUL BRUNNER                 709 S 10TH ST                                                     WATERTOWN         WI         53094                 6002                Various                                                                                                $5.75
PAUL BRYANT                  PO BOX 426                                                        PIEDMONT          SD         57769                 6002                Various                                                                                                $3.65
PAUL BUZARD                  332 N BEEBE AVE                                                   PESHTIGO          WI         54157                 6002                Various                                                                                               $10.00
PAUL C GOWERS                2336 N 12TH ST                                                    COEUR D ALENE     ID         83814                 6002                Various                                                                                               $10.00
PAUL CARR                    7925 PERSHING BLVD                                                KENOSHA           WI         53142                 6004                Various                                                                                               $17.95
PAUL CHANEY                  2217 W QUILCEDA                                                   KUNA              ID         83634                 6004                Various                                                                                               $44.99
PAUL CLARK                   1338 STONE MEADOW DR                                              WEST JORDAN       UT         84088                 6002                Various                                                                                                $0.79

PAUL CLAWSON                 6245 SOUTH BASALT TRAIL PLACE                                     BOISE             ID         83716                  6004               Various                                                                                               $63.00
PAUL CLEMENTS                709A DELAWARE AVE                                                 GRAFTON           WI         53024                  6004               Various                                                                                               $30.00
PAUL CLEVENGER               1430 HAMPSHIRE                                                    QUINCY            IL         62301                  6004               Various                                                                                                $9.99
PAUL COMMERS                 E6754 870TH AVE                                                   COLFAX            WI         54730                  6002               Various                                                                                                $5.26
PAUL CONRAD                  17 RUSTIC CT                                                      APPLETON          WI         54911                  6002               Various                                                                                               $10.00
PAUL COONEN                  1147 PARAMOUNT DR                                                 CHILTON           WI         53014                  6004               Various                                                                                                $4.32
PAUL CORNING                 N10105 HWY G                                                      NEW HOLSTEIN      WI         53061                  6004               Various                                                                                                $3.01
PAUL CRAWFORD                835 SO 35TH                                                       LINCOLN           NE         68510                  6004               Various                                                                                               $13.15

PAUL CZARNECKI               N71 W15030 PLAINVIEW DR                                           MENOMONEE FALLS   WI         53051                  6004               Various                                                                                                $5.02
PAUL DAUGHARTY               304 N FERNAN LAKE RD                                              COEUR D ALENE     ID         83814                  6002               Various                                                                                                $8.00
PAUL DEFFINGER               740 DOGWOOD ST                                                    POCATELLO         ID         83201                  6002               Various                                                                                                $3.89
PAUL DRUSCHKE                1113 LIBERTY ST                                                   LA CROSSE         WI         54603                  6002               Various                                                                                                $2.30
PAUL DUFFY                   N4114 12 CORNERS RD                                               BLACK CREEK       WI         54106                  6002               Various                                                                                                $2.25
PAUL E ROBINSON              828 MADISON ST                                                    QUINCY            IL         62301                  6002               Various                                                                                                $2.71
PAUL EDWARDS                 2302 W BROADWAY                 PO BOX 16361                      MISSOULA          MT         59808                  6004               Various                                                                                                $2.00
PAUL ESTBY                   1620 8TH 1/2 ST SE              APT. D                            ROCHESTER         MN         55904                  6004               Various                                                                                                $3.00
PAUL ESTRADA                 1208 20TH STREET                                                  LEWISTON          ID         83501                  6004               Various                                                                                               $20.04
PAUL EUGENE DELANGE          4716 A ROSEDALE LN                                                APPLETON          WI         54913                  6002               Various                                                                                                $0.27
PAUL EVENSON                 6230 ST THOMAS DRIVE                                              MISSOULA          MT         59803                  6002               Various                                                                                                $6.25
PAUL EVRAETS                 815 N BAIRD ST                                                    GREEN BAY         WI         54302                  6002               Various                                                                                                $7.84
PAUL F SHAW                  12829 CROWN POINT AVE                                             OMAHA             NE         68164                  6002               Various                                                                                                $2.90
PAUL FAMILY                  102 S 8TH ST                                                      LIVINGSTON        MT         59047                  6002               Various                                                                                                $7.34
PAUL FEEST                   1610 UNIVERSITY DR APT 6                                          MENASHA           WI         54952                  6002               Various                                                                                                $8.38
PAUL FLOTTMEIER              310 HAMLIN ST W                                                   WEST SALEM        WI         54669                  6002               Various                                                                                                $0.99
PAUL FRANDSEN                N7495 HIGHWAY 63                                                  SPRING VALLEY     WI         54767                  6002               Various                                                                                                $7.95
PAUL GASLIN                  21 ASTOR RD                                                       BABBITT           MN         55706                  6002               Various                                                                                                $3.62
PAUL GILBERT                 N1012 VINNIE HAHA RD                                              FORT ATKINSON     WI         53538                  6002               Various                                                                                                $7.89
PAUL GOLDSTEIN               1110 BUCK RIDGE DR NE                                             ROCHESTER         MN         55906                  6002               Various                                                                                                $3.86
PAUL HALEY                   2953 PINE RIDGE RD                                                OSHKOSH           WI         54904                  6002               Various                                                                                                $4.14
PAUL HAUGEN                  12591 DARLENE LN                                                  HOT SPRINGS       SD         57747                  6002               Various                                                                                                $6.66
PAUL HEINECK                 1231 23RD ST N                                                    WISCONSIN RAPID   WI         54494                  6002               Various                                                                                                $0.38
PAUL HEURING                 2110 N EUGENE ST                                                  APPLETON          WI         54914                  6002               Various                                                                                                $3.32
PAUL HOFACKER                W4299 ROCK RD                                                     APPLETON          WI         54913                  6004               Various                                                                                               $25.00
PAUL HRONEK                  EVERGREEN MANOR                 PO BOX 202                        NECEDAH           WI         54646                  6004               Various                                                                                               $60.00
PAUL HUNGERHOLT              1944 EUCLID AVE                                                   BELOIT            WI         53511                  6002               Various                                                                                                $2.30
PAUL J MITCHELL              107 TA BI DR                                                      WORLAND           WY         82401                  6002               Various                                                                                                $3.75
PAUL J SAWYER                PO BOX 283                                                        DOLLAR BAY        MI         49922                  6002               Various                                                                                                $2.47

PAUL JACKSON                 6219 S US HIGHWAY 51 LOT 238                                      JANESVILLE        WI         53546                  6002               Various                                                                                                $0.55
PAUL JAMES RESENDEZ          2434 BRIARCLIFF AVE                                               IDAHO FALLS       ID         83404                  6002               Various                                                                                                $3.73




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             Creditor Name                 Address1              Address2           Address3             City         State           Zip   Country     Number              Claim                                                                             Total Claim
PAUL JAMSA                    P.O. 363                                                           SALEM             UT         84653                 6004              Various                                                                                               $10.00
PAUL JILES                    PO BOX 933                                                         OTIS ORCHARDS     WA         99027                 6004              Various                                                                                               $10.00

PAUL JOHNSON                  1045 YELLOW BRICK RD APT 221                                       CHASKA            MN         55318                   6004            Various                                                                                               $15.00
PAUL JOSEPH LINGG             13189 FCM # 17                                                     GRAND SALINE      TX         75140                   6002            Various                                                                                                $6.30
PAUL JR MILLEDGE              11835 19TH AVE                                                     CHIPPEWA FALLS    WI         54729                   6004            Various                                                                                               $22.50
PAUL JURGENSEN                420 W CHURCH ST                                                    ELLSWORTH         WI         54011                   6002            Various                                                                                                $3.42

PAUL KANGAS                   N41 W33173 NASHOTAH ROAD                                           NASHOTAH          WI         53058                   6004            Various                                                                                                $5.00
PAUL KLEIN                    13411 HILLTOP RD                                                   REEDSVILLE        WI         54230                   6002            Various                                                                                                $1.89
PAUL KNAPP-BAYKHAM            974 6TH AVE N                  APT 4                               SAUK RAPIDS       MN         56379                   6004            Various                                                                                               $25.00
PAUL KOLJONEN JR              147 TAMARACK ST                                                    CALUMET           MI         49913                   6002            Various                                                                                                $3.26
PAUL KOLLAUF                  312 WISCONSIN AVE                                                  MADISON           WI         53703                   6004            Various                                                                                                $2.00
PAUL KOST                     49785 HICKORY APT 2                                                RUSH CITY         MN         55069                   6004            Various                                                                                                $3.00
PAUL KOWALSKI                 N8644 TWIN ISLAND RD                                               PORTERFIELD       WI         54159                   6002            Various                                                                                                $9.04
PAUL KRAEMER                  920 WILSON STREET                                                  MANITOWOC         WI         54220                   6004            Various                                                                                                $3.00
PAUL L CARNES                 PO BOX 473                                                         OQUAWKA           IL         61469                   6002            Various                                                                                               $10.00
PAUL LESTER                   5021 PENDLETON DR #111                                             MADISON           WI         53718                   6004            Various                                                                                               $23.00
PAUL MARTZKE                  1120 GARLAND ST                                                    GREEN BAY         WI         54301                   6004            Various                                                                                               $10.50
PAUL MUELLER                  1530 N 21ST                                                        SHEBOYGAN         WI         53081                   6004            Various                                                                                               $46.18
PAUL NELSON                   805 HARBOR HOUSE DR            APT 8                               MADISON           WI         53719                   6004            Various                                                                                               $14.97
PAUL NEWMAN                   905 2ND AVE NW                 APT 405                             PLAINVIEW         MN         55964                   6004            Various                                                                                                $3.00
PAUL NEWTON                   4W KEN RUE LANE                                                    FAIRMONT          MN         56031                   6004            Various                                                                                               $24.00
PAUL NICHOLS                  801 SUMMIT ST                                                      HANCOCK           MI         49930                   6002            Various                                                                                                $0.79
PAUL PALIN                    282 HIBERTA ST                                                     MISSOULA          MT         59804                   6002            Various                                                                                                $9.81
PAUL PAPENFUSS                4216 SHERIDAN RD                                                   KENOSHA           WI         53140                   6002            Various                                                                                                $2.88

                              PARKS RETAIL INVESTMENT        14060 NW JACKSON
PAUL PARKS                    MONTANA LLC                    SCHOOL ROAD                         NORTH PLAINS      OR         97133                   6539            Various                                                                                         $7,725.00
PAUL PATERSON                 1326 W SIOUX ST                                                    SIOUX FALLS       SD         57104                   6002            Various                                                                                             $6.79
PAUL PISCHKE                  307 W 7TH AVE                                                      OSHKOSH           WI         54902                   6004            Various                                                                                            $14.70
PAUL REESE                    1905 S BELKNAP LOOP                                                NAMPA             ID         83651                   6002            Various                                                                                             $1.56
PAUL ROSS                     3614 MARTIN AVE                                                    OMAHA             NE         68112                   6004            Various                                                                                            $15.00
PAUL RUE                      527 EAST RACINE STREET                                             JEFFERSON         WI         53549                   6004            Various                                                                                             $5.00
PAUL RUST                     27527 LAKE LINKA LN                                                GLENWOOD          MN         56334                   6002            Various                                                                                             $7.37
PAUL S MEYER                  3638 N 17TH ST                                                     SHEBOYGAN         WI         53083                   6002            Various                                                                                            $10.00
PAUL S. BUCK                  613 N DELAWARE AVE                                                 MASON CITY        IA         50401                   6002            Various                                                                                             $3.29
PAUL SAWICKI                  W3699 ARCHER AVE                                                   PINE RIVER        WI         54965                   6002            Various                                                                                             $2.66
PAUL SCHEDLER                 416 S 11TH ST                                                      COEUR D ALENE     ID         83814                   6004            Various                                                                                            $10.00
PAUL SCHILLING                1101 CENTER ST                                                     WATERTOWN         WI         53098                   6002            Various                                                                                             $0.41
PAUL SCHNEIDER                2212 NICOLET DRIVE                                                 GREEN BAY         WI         54311                   6004            Various                                                                                            $10.00
PAUL SCHUH                    17133 BEETLE CREEK ROAD                                            TIGERTON          WI         54486                   6004            Various                                                                                            $25.00
PAUL SEIDL                    450 S ST BERNARD ST                                                DE PERE           WI         54115                   6002            Various                                                                                             $6.99
PAUL SERVANTEZ                POB # 894                                                          TORRINGTON        WY         82240                   6002            Various                                                                                             $0.36
PAUL SESSIONS                 1503 N 9TH ST                                                      COEUR D ALENE     ID         83814                   6004            Various                                                                                             $2.00
PAUL SHOEMAKER                727 LINDEN AVE                                                     CHARITON          IA         50049                   6002            Various                                                                                             $7.75
PAUL SKUYA                    508 CATHERINE AVE                                                  MARSHALL          MN         56258                   6004            Various                                                                                             $3.00
PAUL SMITH                    9512 S 175 CIRCLE                                                  OMAHA             NE         68136                   6004            Various                                                                                            $31.38
PAUL SOLEM                    1020 JAMES AVE SE                                                  EAST GRAND FORK   MN         56721                   6002            Various                                                                                             $9.84
PAUL SORENSEN                 6657 SO W # 630                                                    MURRAY            UT         84123                   6002            Various                                                                                            $10.00
PAUL SOUTHER                  102 2ND ST                                                         LYMAN             WY         82937                   6002            Various                                                                                             $5.62
PAUL SPIEKER                  13401 W SUPERIOR                                                   PLEASANT DALE     NE         68423                   6004            Various                                                                                            $20.00
PAUL SPLINTER                 R5625 N. SHADY LANE                                                RINGLE            WI         54471                   6004            Various                                                                                             $2.03
PAUL STINE                    810 S 1ST ST                                                       PLATTSMOUTH       NE         68048                   6002            Various                                                                                             $6.44




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PAUL SZCZEPANIAK               5460 TUMBLEWEED DR                                         HELENA           MT         59602                 6004                Various                                                                                               $10.00
PAUL TAYLOR                    115 SUMMIT ST                                              POPLAR GROVE     IL         61065                 6004                Various                                                                                               $53.00
PAUL TEXLEY                    1367 19 1/4 ST                                             CAMERON          WI         54822                 6002                Various                                                                                                $3.32
PAUL TILMAN                    3302 S LILLY PAD LN APT 135                                APPLETON         WI         54915                 6002                Various                                                                                                $8.63
PAUL URIBE                     7564 COUNTY ROAD J                                         ALMOND           WI         54909                 6002                Various                                                                                                $6.19
PAUL VANDENBERG                406 FRANCES ST                                             KAUKAUNA         WI         54130                 6002                Various                                                                                                $7.97
PAUL VINCENT                   1185 SHETLAND PL                                           DE PERE          WI         54115                 6002                Various                                                                                               $10.00
PAUL W OBRIEN                  5814 ZEMAN RD                                              EAGLE RIVER      WI         54521                 6002                Various                                                                                                $9.26
PAUL WALQUIST                  1303 NICOLET ST                                            JANESVILLE       WI         53546                 6004                Various                                                                                               $62.00
PAUL WALTERS                   57436 4TH ST                                               CALUMET          MI         49913                 6002                Various                                                                                                $1.64
PAUL WEINDEL                   5249 KAREN CT                                              MISSOULA         MT         59803                 6002                Various                                                                                                $8.55
PAUL WENTELA                   13757 N LAIRD RD                                           PELKIE           MI         49958                 6002                Various                                                                                                $1.51
PAUL WIESNER                   401 N THOMPSON DR APT 7                                    MADISON          WI         53714                 6004                Various                                                                                               $34.00
PAUL WILLARDSON                528 E 1300 S                                               SALT LAKE CITY   UT         84105                 6004                Various                                                                                               $15.00
PAUL WILLIAMS                  2918 HYACINTH                                              JANESVILLE       WI         53545                 6004                Various                                                                                               $10.00
PAUL WINTER                    #2 PETER BAY                                               DONIPHAN         MO         63935                 6002                Various                                                                                                $5.07
PAUL WIPF                      PO BOX 577                                                 CHOTEAU          MT         59422                 6002                Various                                                                                                $0.41
PAUL WISMER                    PO BOX 1303                                                MOUNT PLEASANT   MI         48804                 6002                Various                                                                                                $0.60
PAUL WOOD                      1851 E 230TH S                                             SPANISH FORK     UT         84660                 6002                Various                                                                                                $7.15
PAUL YANG                      2514 MAIN AVE                                              SHEBOYGAN        WI         53083                 6004                Various                                                                                                $5.02
PAULA ALLEN                    2 PAULEY DR                                                NEWCASTLE        WY         82701                 6002                Various                                                                                                $3.73
PAULA AMUNDSON                 221 ALBERT ST                                              CHIPPEWA FALLS   WI         54729                 6004                Various                                                                                               $42.00
PAULA ARNDT                    707 WEST 29TH AVE APT 1                                    BELLEVUE         NE         68005                 6004                Various                                                                                                $2.00
PAULA ARTMANN                  1416 KILIAN BLVD                                           ST CLOUD         MN         56304                 6004                Various                                                                                               $30.99
PAULA BARNETT                  515 FORREST ST # APT2                                      GREEN BAY        WI         54302                 6002                Various                                                                                                $2.38
PAULA BENNETT                  7741 STEINWAY RD                                           LINCOLN          NE         68505                 6004                Various                                                                                               $13.15
PAULA BRUCE                    3535 S 70TH ST APT 3                                       OMAHA            NE         68106                 6002                Various                                                                                                $1.56
PAULA CODDINGTON               407 11TH ST NW                                             AUSTIN           MN         55912                 6002                Various                                                                                                $5.37
PAULA COMMERFORD               441 CENTRAL AVENUE N                                       BROOTEN          MN         56316                 6002                Various                                                                                                $4.16
PAULA HAGER                    607 MAIN ST                                                HARTLAND         MN         56042                 6004                Various                                                                                                $3.00
PAULA HINTZ                    216 W SUMMER ST                                            APPLETON         WI         54911                 6004                Various                                                                                               $25.00
PAULA J. MEYER                 6211 KRIESCHER RD                                          LENA             WI         54139                 6002                Various                                                                                                $3.56
PAULA KASSERA                  5121 159TH ST                                              CHIPPEWA FALLS   WI         54729                 6002                Various                                                                                                $5.59
PAULA KOEHLER                  401 E MAIN ST                                              PIERCE           NE         68767                 6002                Various                                                                                                $4.03
PAULA KOELPIEN                 2045 JAMESFORD AVE                                         GREEN BAY        WI         54302                 6002                Various                                                                                                $6.25
PAULA LOOMIS                   1020 JACOBY STREET                                         SCHOFIELD        WI         54476                 6004                Various                                                                                               $10.00
PAULA LYNCH                    PO BOX 161                                                 WOONSOCKET       SD         57385                 6002                Various                                                                                                $0.88
PAULA M SOELZER                2630 COTTONTAIL DR APT 102                                 STURGIS          SD         57785                 6002                Various                                                                                                $3.23
PAULA MATAMOROS                107 S WALNUT AVE                                           FREEPORT         IL         61032                 6002                Various                                                                                                $2.11
PAULA MORAN                    1528 WEST BLVD                                             RACINE           WI         53405                 6004                Various                                                                                               $13.00
PAULA PEAK                     2516 BLONDO ST                                             OMAHA            NE         68111                 6004                Various                                                                                                $2.00
PAULA R. GARDNER               7448 E BURMA RD                                            HARRISON         ID         83833                 6002                Various                                                                                                $0.47
PAULA RANK-KUSKE               1652 ORCHID LANE                                           GREEN BAY        WI         54313                 6004                Various                                                                                               $25.00
PAULA RODRIGUEZ                1107 WILLOW CREEK ROAD                                     ESCANABA         MI         49829                 6004                Various                                                                                               $20.00
PAULA S. UTKE                  2295 W YORKSHIRE AVE                                       COEUR D ALENE    ID         83815                 6002                Various                                                                                                $4.19
PAULA STOPPEL                  112 A GREEN ST                                             GLENWOOD         IA         51534                 6002                Various                                                                                                $4.71
PAULA SWEENEY                  809 RICHARDS AVE                                           WATERTOWN        WI         53094                 6002                Various                                                                                                $0.60
PAULA THEILER                  52 MOHAWK ST                                               MOHAWK           MI         49950                 6002                Various                                                                                                $7.78
PAULA WANTLAND                 720 GROVE AVE APT 14                                       WILD ROSE        WI         54984                 6002                Various                                                                                                $5.27
PAULA WATKINS                  11885 460TH AVENUE                                         SISSETON         SD         57262                 6002                Various                                                                                                $1.42
PAULA WINTER                   PO BOX 227                                                 BOVILLE          ID         83806                 6004                Various                                                                                               $29.00
PAULETTE GODFREY               46 E 300TH S                                               CLARKSTON        UT         84305                 6002                Various                                                                                                $4.68
PAULETTE KNIGHTON              2164 N 250TH W APT B                                       SUNSET           UT         84015                 6002                Various                                                                                                $0.88




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                                                                                                                                                                                                              Unliquidated
                                                                                                                                                                                                 Contingent


                                                                                                                                                                                                                             Disputed
                                                                                                                                                        Last 4 Digits of     Date Debt was
                                                                                                                                                           Account         Incurred, Basis for
            Creditor Name                    Address1                Address2         Address3             City         State           Zip   Country      Number                Claim                                                                             Total Claim

PAULETTE KRANZ                    4711 11TH STREET SOUTH                                           WISCONSIN RAPIDS    WI       54494                   6004               Various                                                                                            $12.80
PAULETTE REN SANTEE               5795 LADE BEACH RD                                               LITTLE SUAMICO      WI       54141                   6002               Various                                                                                             $5.75
PAULETTE SMITH                    87799 HOUSTON RD                                                 VENETA              OR       97487                   6004               Various                                                                                            $15.00
PAULETTE STARK                    2425 S 15TH ST LOT 2                                             PLATTSMOUTH         NE       68048                   6002               Various                                                                                             $6.19
PAULINA CRUZ                      383 RAY ST                                                       DELAVAN             WI       53115                   6004               Various                                                                                            $25.00
PAULINE FLITTON                   PO BOX 105                                                       MORGAN              UT       84050                   6002               Various                                                                                             $1.89
PAULINE GH RITTER                 518 7TH AVE NE APT 109                                           AITKIN              MN       56431                   6002               Various                                                                                             $3.26
PAULINE HACKBARTH                 805 SOUTH 9TH STREET                                             CLEAR LAKE          IA       50428                   6004               Various                                                                                            $11.92
PAULINE HIGHTOWER                 2536 MOSE AVE                                                    BELLEVUE            NE       68147                   6004               Various                                                                                            $65.54
PAULINE JONES                     1213 MAIN ST                                                     SALMON              ID       83467                   6002               Various                                                                                             $1.40
PAULINE KING                      307 S KANSAS AVE                                                 NORTON              KS       67654                   6002               Various                                                                                             $4.68
PAULINE KNOEDLER                  1405 CLEARBROOKE DR           APT G 101                          OLYMPIA             WA       98501                   6004               Various                                                                                            $75.00
PAULINE KUNKEL                    1257 W ELDREDGE RD                                               POCATELLO           ID       83201                   6002               Various                                                                                             $0.82
PAULINE LITTLE LIGHT              17 WHEATLAND DRIVE                                               BILLINGS            MT       59102                   6004               Various                                                                                             $2.00
PAULINE MARTIN                    W1518 COUNTY ROAD A                                              DORCHESTER          WI       54425                   6002               Various                                                                                             $2.52
PAULINE PEDERSON                  2010 12TH AVE SW                                                 WATERTOWN           SD       57201                   6002               Various                                                                                             $6.63
PAULINE PETERSON                  1485 SUNSHINE STREET                                             SAINT CROIX FALLS   WI       54024                   6004               Various                                                                                             $1.90
PAULINE THOMSEN                   1170 DAKOTA CT                                                   FRIENDSHIP          WI       53934                   6002               Various                                                                                             $6.74
PAULINE VOORHEES                  335 CRESTON HATCHERY RD                                          KALISPELL           MT       59901                   6002               Various                                                                                             $5.64
PAULINE WORD                      61097 COUNTRY CLUB DR                                            BEND                OR       97701                   6004               Various                                                                                            $53.00
PAULLA PERRY                      1860 MANWARRING AVE           APT. 6                             RICE LAKE           WI       54868                   6004               Various                                                                                            $25.00
PAUL'S INDUSTRIAL GARBAGE         W9724 STATE HGHWAY 35                                            HAGER CITY          WI       54014                                      Various                                                                                          $654.00
PAULSON HARDWARE INCORPORATED     2248 S RIDGE ROAD                                                GREEN BAY           WI       54304-4364              0360               Various                                                                                          $168.43
PAVEL KISLYAK                     1626 GIZAN DELTA                                                 LINCOLN             NE       68502                   6004               Various                                                                                            $37.15
PAVEL PUSTOVIT                    2721 S W 18TH STREET                                             LINCOLN             NE       68522                   6004               Various                                                                                             $2.00
PAW GAY                           3164 MEREDITH AVE                                                OMAHA               NE       68111                   6004               Various                                                                                            $23.00
PAWNEE SANITATION                 313 NE TRAIL ST                                                  LARNED              KS       67550                                      Various                                                                                          $120.00
PAXTON FARRIS                     1229 WALNUT ST                                                   NEBRASKA CITY       NE       68410                   6004               Various                                                                                             $5.00
PAXTON LIND                       PO BOX 215                                                       NORTH BRANCH        MN       55056                   6004               Various                                                                                             $8.66
PAYLESS SHOESOURCE INCORPORATE    3231 SE 6TH AVENUE                                               TOPEKA              KS       66607                   8191               Various                                                                                     $2,037,814.61
PAYNE ARCHER                      2308 WOOD STREET                                                 LA CROSSE           WI       54603                   6004               Various                                                                                            $10.00
PAYSHINCE R DAWKINS               604 LANE ST                                                      FALLS CITY          NE       68355                   6002               Various                                                                                             $0.79
PAYTN CASTAGNARO                  4018 28TH ST SE                                                  ROCHESTER           MN       55904                   6002               Various                                                                                             $0.79
PAYTON DEMROW                     N2825 COUNTY ROAD GG                                             BRODHEAD            WI       53520                   6004               Various                                                                                             $2.00
PAYTON GABER                      1864 BOBBY LANE                                                  STEVENS POINT       WI       54482                   6004               Various                                                                                            $23.00
PAYTON SANDERS                    124 E SOUTH TOWN LINE RD S                                       CORNELL             WI       54732                   6002               Various                                                                                             $6.79
PAZ GARCIA                        519 LAMORE CIR                                                   ALBERT LEA          MN       56007                   6004               Various                                                                                          $107.98
PDX INCORPORATED                  ACCOUNTS RECEIVABLE           PO BOX 227216                      DALLAS              TX       75222-7216              0229               Various                                                                                        $30,788.00
PEAK SEASON INCORPORATED          2800 CRESTWOOD BLVD                                              IRONDALE            AL       35210                   5764               Various                                                                                        $10,104.81
PEARL (DELIV KLATT                1250 NORTHLAND DR                                                PRINCETON           MN       55371                   6002               Various                                                                                             $0.93
PEARL BRUNNER                     4723 ALGOMA RD                                                   NEW FRANKEN         WI       54229                   6002               Various                                                                                             $2.55
PEARL ELDREDGE                    39247 160TH ST.                                                  ASHTON              SD       57424                   6004               Various                                                                                            $12.16
PEARL JADIN                       828 BADER ST                                                     GREEN BAY           WI       54302                   6002               Various                                                                                             $7.56
PEARL MCDONALD                    142 CAMP RD # 5                                                  CRYSTAL FALLS       MI       49920                   6002               Various                                                                                             $7.84
                                                                N8594 BANCROST
PEARL OECHSNER                    C/O TODD OECHSNER             RD                                 THERESA             WI       53091                   6002               Various                                                                                             $3.78
PEARL SCOTT                       PO BOX 21621                                                     BILLINGS            MT       59104                   6002               Various                                                                                             $9.64
PEARLE ORLAND                     2701 FIRST AVE S APT 302                                         ESCANABA            MI       49829                   6002               Various                                                                                             $4.99
PEARSON PLUMBING & HEATING CO     2415 20TH STREET                                                 ROCKFORD            IL       61104                                      11/30/2018                                                                                        $350.00
PECK FAMILY                       3238 NEBRASKA ST                                                 SIOUX CITY          IA       51104                   6002               Various                                                                                             $7.10
PEDRO ALVAREZ BAZAN               950 WEST MILITARY AVE                                            FREMONT             NE       68025                   6004               Various                                                                                             $4.00
PEDRO AMBRIZ                      3801 E. CLEAR SPRINGS DRIVE                                      NAMPA               ID       83686                   6004               Various                                                                                            $22.52
PEDRO CRESPIN                     832 SOUTH 50 WEST                                                OREM                UT       84058                   6004               Various                                                                                            $40.00




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                                                                                                                                                                                           Contingent


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                                                                                                                                                     Account         Incurred, Basis for
            Creditor Name                     Address1           Address2         Address3             City        State           Zip   Country     Number                Claim                                                                             Total Claim
PEDRO HERNANDEZ ORTIZ             1756 HIGHWAY S LOT 38                                        LAKE CITY        MN         55041                 6002                Various                                                                                                $0.90
PEDRO M HERNANDEZ                 5385 STACY TR # 173                                          STACY            MN         55079                 6002                Various                                                                                                $4.90
PEDRO QUIJADA                     600 E 4TH ST                                                 MORRIS           MN         56267                 6002                Various                                                                                                $2.11
PEDRO SANTIAGO                    PO BOX 186                                                   WAKEFIELD        NE         68784                 6002                Various                                                                                                $6.60
PEDRO WAYNE GARCIA                444 E WALL ST                                                ELLSWORTH        WI         54011                 6002                Various                                                                                                $5.29
PEE NYAW                          418 NORTH 61ST AVENUE                                        OMAHA            NE         68104                 6004                Various                                                                                               $10.00
                                                             107 TRUMBALL
PEGASUS HOME FASHIONS             VICE PRESIDENT OF SALES    STREET BLDG G1                    ELIZABETH        NJ         07206                  9398               Various                                                                                        $18,976.92
PEGGY (MARGA ANDERSON             15212 LLOYD CIR                                              OMAHA            NE         68144                  6002               Various                                                                                             $0.63
PEGGY A GRUENSTEIN                209 N STATE ST                                               ABERDEEN         SD         57401                  6002               Various                                                                                             $9.32
PEGGY ALMOND                      7211 S BRIDGER PLACE                                         SIOUX FALLS      SD         57108                  6004               Various                                                                                            $12.00
PEGGY ANDERSON                    1416 12TH AVE APT 27                                         BERTRAND         NE         68927                  6002               Various                                                                                             $6.60
PEGGY ANN BOWERS                  N9121 HEDGEROW DR                                            APPLETON         WI         54915                  6002               Various                                                                                             $7.70
PEGGY BOONSTRA                    341 20TH PL SW                                               MASON CITY       IA         50401                  6002               Various                                                                                             $6.79
PEGGY BROWN                       217 PATRICK PL                                               MOUNT CARMEL     IL         62863                  6002               Various                                                                                             $6.68
PEGGY BUCHANAN                    2122 135TH ST SW                                             ABERDEEN         SD         57401                  6002               Various                                                                                             $3.33
PEGGY EADS                        838 PARK AVE                                                 WORLAND          WY         82401                  6002               Various                                                                                             $6.57
PEGGY ESPERES                     564 S WATER ST                                               WAUTOMA          WI         54982                  6002               Various                                                                                             $1.59
PEGGY FOOTE                       875 FOUR SEASONS                                             LANDER           WY         82520                  6002               Various                                                                                             $1.32
PEGGY GARDEN                      1743 E LUNCEFORD LN                                          COEUR D ALENE    ID         83815                  6002               Various                                                                                             $8.68
PEGGY HALVORSON                   4128 MAHONEY ROAD                                            MCFARLAND        WI         53558                  6004               Various                                                                                            $25.00
PEGGY HAMERSLY                    81927 120TH ST                                               GLENVILLE        MN         56036                  6002               Various                                                                                             $4.66
PEGGY HEAL                        1221 21ST ST BACK DOOR                                       AUBURN           NE         68305                  6002               Various                                                                                             $2.96
PEGGY HERPLINCK                   73364 WALYE ST                                               ALBERT LEA       MN         56007                  6004               Various                                                                                             $3.00
PEGGY HOFFMAN                     314 13TH ST SE                                               WATERTOWN        SD         57201                  6004               Various                                                                                             $5.00
PEGGY J EADS                      838 PARK AVE                                                 WORLAND          WY         82401                  6002               Various                                                                                             $2.08
PEGGY JARROW                      1750 N MAIN ST                                               LOGAN            UT         84341                  6002               Various                                                                                             $5.10
PEGGY KAHL                        82820 WOODPECKER LANE                                        BUTTERNUT        WI         54514                  6004               Various                                                                                            $25.00
PEGGY KAROTKO                     1221 DELROSE DR                                              SPRINGFIELD      OR         97477                  6004               Various                                                                                            $23.00
PEGGY KLINGFUS                    1108 4TH AVE NW                                              AUSTIN           MN         55912                  6004               Various                                                                                            $20.91

PEGGY L LINDBLOOM                 25483 MOUNTAIN SHADOW RD                                     EDGEMONT         SD         57735                  6002               Various                                                                                                $6.38
PEGGY L. LONG                     533 E 6TH AVE                                                HELENA           MT         59601                  6002               Various                                                                                                $3.04
PEGGY MARIE FERGUSSON             5209 WESTON AVE                                              CALDWELL         ID         83607                  6002               Various                                                                                                $1.45
PEGGY NANEY                       1230 N WALNUT ST APT H5                                      MOUNT CARMEL     IL         62863                  6002               Various                                                                                                $6.93
PEGGY NEPPER                      B14 MEADOWS CT                                               ALLIANCE         NE         69301                  6002               Various                                                                                                $4.96
PEGGY PATZEL                      83078 537TH AVE                                              NEWMAN GROVE     NE         68758                  6002               Various                                                                                                $9.95
PEGGY PETERSEN                    PO BOX 204                                                   GHENT            MN         56239                  6004               Various                                                                                                $4.61
PEGGY PETERSON                    804 CLARK ST                                                 MARQUETTE        MI         49855                  6002               Various                                                                                                $0.47
PEGGY RASMUSSEN                   507 JAMES AVE                                                TWIN FALLS       ID         83301                  6004               Various                                                                                               $10.80
PEGGY RENNICK                     14520 S PARIS RD                                             VALLEYFORD       WA         99036                  6004               Various                                                                                                $6.34
PEGGY S CHAMBERS                  28550 OLD TOWNE RD                                           CHISAGO CITY     MN         55013                  6002               Various                                                                                               $10.00
PEGGY S SCHEER                    14 SOUTHVALE DR                                              JACKSONVILLE     IL         62650                  6002               Various                                                                                                $2.71
                                  3718 MAPLE GROVE SCHOOL
PEGGY SCHEFFEN                    ROAD                                                         OCONTO           WI         54153                  6004               Various                                                                                             $5.00
PEGGY STALEY                      116 2ND ST                                                   GOTHENBURG       NE         69138                  6002               Various                                                                                             $1.04
PEGGY STEADMAN                    PO BOX 324                 913 NORTH MAIN                    WEIPPE           ID         83553                  6002               Various                                                                                             $3.33
PEGGY SUE ERICKSON                34484 NORWICH RD                                             ONTONAGON        MI         49953                  6002               Various                                                                                             $3.84
PEGGY SUE LEE                     1125 BROOKLINE AVE                                           EAU CLAIRE       WI         54703                  6004               Various                                                                                            $23.00
PEGGY THOREN                      1818 W 2ND ST                                                PERRY            IA         50220                  6002               Various                                                                                             $2.49
PEGGY VICKMARK                    816 NW 7TH ST                                                MADISON          SD         57042                  6002               Various                                                                                             $0.82
PEGGY WRIGHT                      410 3RD AVE SW             APT 417                           SIDNEY           MT         59270                  6002               Various                                                                                            $11.75
PEHLER DISTRIBUTING INC (BEER)    VICE PRESIDENT OF SALES    PO BOX 126                        ARCADIA          WI         54612                  4690               Various                                                                                           $587.05
PEKAS PRECISION LAWN CARE         417 4TH AVENUE SW                                            BEULAH           ND         58523                  2241               Various                                                                                           $750.00




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                                                                                                                                                     Last 4 Digits of   Date Debt was
                                                                                                                                                        Account       Incurred, Basis for
             Creditor Name                  Address1               Address2         Address3            City          State           Zip   Country     Number              Claim                                                                             Total Claim
PELSTAR DEVELOPMENT LLC           429 INDUSTRIAL LANE                                            GRAND ISLAND    NE           68803                 2836              Various                                                                                          $8,398.11
                                                              230 FIFTH AVENUE
PEM AMERICA INCORPORATED          VICE PRESIDENT OF SALES     STE 200                            NEW YORK        NY           10001-0000              4514            Various                                                                                        $66,375.19

PENCE/ CRYSTAL                    STORE 4-120                 SHOPKO EMPLOYEE                    GREEN BAY       WI           54307-9060              9648            Various                                                                                            $42.48
                                                              18720 PLEASANT
PENDL COMPANIES INCORPORATED      SUITE 202                   STREET                             BROOKFIELD      WI           53045                   1855            Various                                                                                         $7,996.90
PENNEY WORDEN                     1110 MICHAEL LANE                                              BILLINGS        MT           59105                   6004            Various                                                                                            $17.00
PENNI ZIEGLER                     32609 109TH ST                                                 BLUE EARTH      MN           56013                   6002            Various                                                                                             $6.77
PENNIE AITKEN                     1701 MADISON ST                                                WENATCHEE       WA           98801                   6004            Various                                                                                            $51.01
PENNY (LEE) COTTINGHAM            3342 M ST                                                      LINCOLN         NE           68510                   6002            Various                                                                                             $7.37
PENNY A ALLEN                     5875 MAPLE ST                                                  ABRAMS          WI           54101                   6002            Various                                                                                             $0.36
PENNY ARFT                        N181 LIBERTY LN                                                APPLETON        WI           54915                   6002            Various                                                                                             $4.08
PENNY BLACK                       34302 PINE HOLLOW RD                                           LAKE LINDEN     MI           49945                   6002            Various                                                                                             $1.62
PENNY DUVALL                      378 N LOBBAN AVE APT 9B                                        BUFFALO         WY           82834                   6002            Various                                                                                             $5.53
PENNY EASLEY                      194 ROBERT ST                                                  CLINTONVILLE    WI           54929                   6002            Various                                                                                             $1.42
PENNY ESSELMAN                    831 W 3RD ST                                                   OWEN            WI           54460                   6002            Various                                                                                             $9.97
PENNY HOBBS                       S7938 WILLKUMLIN RD                                            DESOTO          WI           54624                   6002            Various                                                                                             $8.38
PENNY ISGRIGG                     4743 HIGHWAY 34                                                WHEATLAND       WY           82201                   6002            Various                                                                                             $3.73
PENNY J RYDER                     1101 NELSON ST                                                 LINCOLN         NE           68521                   6002            Various                                                                                             $1.01
PENNY KEARNS                      R13409 LUETSCHWAGER DR                                         RINGLE          WI           54471                   6002            Various                                                                                             $6.74
PENNY MORTENSEN                   301 MAHONEY ST                                                 RAWLINS         WY           82301                   6002            Various                                                                                             $1.53
PENNY ROLLAND                     305 2ND AVE S                                                  SAUK RAPIDS     MN           56379                   6004            Various                                                                                             $3.00
PENNY SCHWEITZER                  W1312 RAY RD                                                   DE PERE         WI           54115                   6002            Various                                                                                             $1.53
PENNY VESKRNA                     623 3RD AVE. S W, APT. 3                                       ABERDEEN        SD           57401                   6004            Various                                                                                            $23.00
PENNY WALKER                      1017 TOXAWAY CIR                                               TWIN FALLS      ID           83301                   6002            Various                                                                                             $5.67
PENNY WARD                        117 W 2575TH N # B                                             SUNSET          UT           84015                   6002            Various                                                                                             $6.30
PENNY WATSON                      108 E 7TH ST                                                   POWELL          WY           82435                   6002            Various                                                                                             $5.84
PENNY YOUNGBERG                   2028 BETHESDA BLV                                              ZION            IL           60099                   6004            Various                                                                                            $15.00
PEPSI COLA                        75 REMITTANCE DRIVE         STE 1884                           CHICAGO         IL           60675-1884              5018            Various                                                                                            $33.76
                                                              10537 HIGHWAY 52
PEPSI COLA BOTTLING CO OF DUBU    LIME ROCK SPRINGS           NORTH                              DUBUQUE         IA           52001-8857              8048            Various                                                                                         $3,663.73
PEPSI COLA BOTTLING CO OF SALI    PO BOX 50                                                      OSKALOOSA       IA           52577-0050              1001            Various                                                                                         $6,535.75
PEPSI COLA BOTTLING COMPANY LA    PO BOX 967                                                     LA CROSSE       WI           54602-0967              5615            Various                                                                                            $10.00
PEPSI COLA BOTTLING HOUGHTON      309 EAST SHARON AVENUE                                         HOUGHTON        MI           49931                   5011            Various                                                                                        $10,489.71
                                                              1901 WINDHOEK
PEPSI COLA BOTTLING LINCOLN       ATTN ACCT REC LINCOLN       DRIVE                              LINCOLN         NE           68512-0000              5000            Various                                                                                         $8,301.65
PEPSI COLA BOTTLING MADISON       WP BEVERAGES LLC            PO BOX 7425                        MADISON         WI           53707-7425              5107            Various                                                                                        $87,742.64
PEPSI COLA BOTTLING NE WISCONS    PO BOX 88301                                                   MILWAUKEE       WI           53288-0301              5602            Various                                                                                        $50,559.60
                                                              1106 ALASKA
PEPSI COLA BOTTLING NORFOLK       ATTN ACCTS RECEIVABLE       AVENUE                             NORFOLK         NE           68701                   5916            Various                                                                                        $28,944.37
PEPSI COLA BOTTLING OGDEN         LARSEN BEVERAGE             PO BOX 12130                       OGDEN           UT           84412-2130              5525            Various                                                                                        $80,294.34
PEPSI COLA BOTTLING PASCO         NOEL CORP                   PO BOX 2531                        PASCO           WA           99302                   5915            Various                                                                                         $8,183.58
PEPSI COLA BOTTLING PIPESTONE     PO BOX 747                                                     PIPESTONE       MN           56164-0747              5712            Various                                                                                        $19,757.97
PEPSI COLA BOTTLING ROCHESTER     1900 WEST AVENUE S                                             LA CROSSE       WI           54601                   5013            Various                                                                                        $26,425.52
PEPSI COLA BOTTLING WALLA WALL    1200 DALLES MILITARY ROAD                                      WALLA WALLA     WA           99362                   6840            Various                                                                                        $13,732.06
PEPSI COLA BOTTLING YAKIMA        THE NOEL CORPORATION        PO BOX 111                         YAKIMA          WA           98907                   5020            Various                                                                                        $35,776.96
                                                              1306 WEST
PEPSI COLA CHAMPAIGN URBANA (6    VICE PRESIDENT OF SALES     ANTHONY DRIVE                      CHAMPAIGN       IL           61821                   1256            Various                                                                                         $2,521.85
PEPSI COLA COMPANY                PO BOX 7425                                                    MADISON         WI           53707-7425              5107            Various                                                                                            $98.13

PEPSI COLA GENERAL BOTTLERS       75 REMITTANCE DRIVE STE 1884                                   CHICAGO         IL           60675-1884              5411            Various                                                                                       $230,585.62
PEPSI COLA KEOKUK BOTTLING COM    MAIN STREET ROAD             PO BOX 45                         KEOKUK          IA           52632                   4239            Various                                                                                         $6,470.64
PEPSI COLA OF MARYSVILLE          VICE PRESIDENT OF SALES      604 CENTER                        MARYSVILLE      KS           66508                   0265            Various                                                                                         $3,389.71




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                                                                                                                                                      Last 4 Digits of   Date Debt was
                                                                                                                                                         Account       Incurred, Basis for
              Creditor Name                Address1                Address2          Address3            City          State           Zip   Country     Number              Claim                                                                             Total Claim
PEPSI COLA OF NEW INCORPORATED    1163 WAUBE LANE                                                 GREEN BAY       WI           54304                 6568              Various                                                                                               $21.10
                                                               1901 WINDHOEK
PEPSI COLA OF SIOUXLAND           ATTN AR                      DRIVE                              LINCOLN         NE           68512                   0017            Various                                                                                          $882.58
PEPSI MIDAMERICA                  PO BOX 18241F                                                   ST LOUIS        MO           63150-0000              8035            Various                                                                                         $4,867.79
PERCY R BIGELOW                   4603 YELLOWHEAD HWY                                             KAMLOOPS        BC           83814                   6002            Various                                                                                             $1.95

PEREZ/ KARLA                      STORE 738                    SHOPKO EMPLOYEE PO BOX 10          PERHAM          MN           56573                   4161            Various                                                                                               $14.17
                                                               1275 BOARDMAN
PERFECTA PRODUCTS INCORPORATED    VICE PRESIDENT OF SALES      POLAND RD                          POLAND          OH           44514-0000              4265            Various                                                                                         $2,309.68
PERFETTI VAN MELLE USA INCORPO    DEPT 2230                                                       CAROL STREAM    IL           60132-2230              4118            Various                                                                                        $50,167.59
PERFORMANCE SYSTEMS LC            1701 WEST D STREET                                              VINTON          IA           52349                   1394            Various                                                                                         $2,083.34
PERFORMANCE TEAM                  2240 E. MAPLE AVE.                                              EL SEGUNDO      CA           90245                   5241            Various                                                                                        $46,931.45
PERFORMANCE TEAM NW               DC FREIGHT                   PO BOX 515176                      LOS ANGELES     CA           90051-5176              5241            Various                                                                                        $19,100.78
PERFUME CENTER OF AMERICA         2020 OCEAN AVE                                                  RONKONKOMA      NY           11779                   4766            Various                                                                                        $82,229.71
PERFUME WORLDWIDE (C-HUB)         PO BOX 506                                                      OLD BETHPAGE    NY           11804                   7143            Various                                                                                          $543.97
PERIO INCORPORATED                DEPT 781721                  PO BOX 78000                       DETROIT         MI           48278-1721              4029            Various                                                                                        $18,414.22
PERKS PLAZA LLC                   417 SHARP STREET             PO BOX 391                         GLENWOOD        IA           51534                   0453            Various                                                                                         $3,698.34
                                                               22592 NETWORK
PERRIGO                           I PERRIGO CO                 PLACE                              CHICAGO         IL           60673-1225              7529            Various                                                                                       $494,754.01
PERRY JONES                       1411 D ST APT 1                                                 LINCOLN         NE           68502                   6002            Various                                                                                             $5.92
PERRY NAFF                        521 NORTHRIDGE DR                                               NEW LONDON      WI           54961                   6004            Various                                                                                             $2.00
                                                                                                                                                                       11/2/2018 -
PERRY WATER WORKS                 P.O. BOX 604                                                    PERRY           IA           50220                   50-01           12/1/2018                                                                                        $182.15
PERSHIN IRONBOY                   31427 ROBERTS AVE                                               WORTHINGTON     MN           56187                   6004            Various                                                                                             $3.00
PERSIS NELSON                     701 MARYKNOLL AVE                                               MARSHFIELD      WI           54449                   6002            Various                                                                                             $5.73
PET BRANDS PRODUCTS LLC           425 METRO PL N STE 690                                          DUBLIN          OH           43017                   8536            Various                                                                                        $11,724.09
PET IQ                            PO BOX 200158                                                   PITTSBURGH      PA           15251-0158              6404            Various                                                                                        $22,522.61
PET QWERKS INC                    9 STUDEBAKER DRIVE                                              IRVINE          CA           92618                   3375            Various                                                                                        $28,578.45
PETCO INCORPORATED                210 EAST ALBANY AVENUE                                          KENNEWICK       WA           99336                   1419            Various                                                                                          $136.83
PETE ADAMS                        211 E PRAIRIE ST                                                IONIA           IA           50645                   6002            Various                                                                                             $5.81
PETE AIMONE                       65687 HIGHWAY 305                                               FORT BRIDGER    WY           82933                   6002            Various                                                                                             $1.32
PETE BECKER                       N14624 COUNTY HIGHWAY M                                         GALESVILLE      WI           54630                   6004            Various                                                                                            $45.00
PETE MURAT                        1918 DIVISION ST                                                STEVENS POINT   WI           54481                   6002            Various                                                                                             $6.79
PETER A. TUBBS                    7584 S RANGELINE RD                                             OCONTO          WI           54153                   6002            Various                                                                                             $1.62
PETER ANTTILA JR                  55684 HIGHWAY # US-41                                           CALUMET         MI           49913                   6002            Various                                                                                             $2.88
PETER BOBBITT                     N10895 ASHLEY RD                                                SHIOCTON        WI           54170                   6002            Various                                                                                             $4.63
PETER BOETTGER                    308 NORTH MAINE                                                 ZUMBROTA        MN           55992                   6004            Various                                                                                            $72.42
PETER BOLLONE                     3 HUMMINGBIRD CT.                                               FOND DU LAC     WI           54937                   6004            Various                                                                                             $5.45
PETER BRASCHKO                    20879 DANIEL DUKE WAY                                           BEND            OR           97701                   6004            Various                                                                                             $3.58
PETER CHANTHASENA                 505 N. FISK ST.                                                 GREEN BAY       WI           54303                   6004            Various                                                                                            $27.00
                                  39299 CALUMET WATERWORKS
PETER CHIOMENTI                   RD                                                              CALUMET         MI           49913                   6002            Various                                                                                                $7.78
PETER CIRA                        506 W. GREEN ST                                                 WATERTOWN       WI           53098                   6004            Various                                                                                                $3.00
PETER CISNEROS                    2315 PARK LNAE SE TRLR 15A                                      ROCHESTER       MN           55904                   6002            Various                                                                                                $6.11
PETER CUMMINGS                    2332 DOROTHY DR                                                 LINCOLN         NE           68507                   6004            Various                                                                                               $13.97
PETER CURTICE                     E1704 GIBBS RD                                                  SKANDIA         MI           49885                   6004            Various                                                                                                $6.40
PETER DEMOPOULOS                  2254 JAY RD                                                     BELGIUM         WI           53004                   6002            Various                                                                                                $8.63
PETER DENNEY                      1620 SOUTH HURON RD          APT 14                             GREEN BAY       WI           54311                   6004            Various                                                                                               $10.00
PETER FEZATT                      BOX 456                                                         WEIPPE          ID           83553                   6002            Various                                                                                                $6.22
PETER FOSTER                      123 WEST RUTH STREET                                            MANKATO         MN           56001                   6004            Various                                                                                                $3.00
PETER GRAY                        1230 E 9TH ST                                                   DULUTH          MN           55805                   6004            Various                                                                                                $3.00
PETER H SCHROEDER                 807 OAKDALE AVE                                                 DE PERE         WI           54115                   6002            Various                                                                                                $9.32
PETER HAMEL                       P. O. BOX 1                                                     FENCE           WI           54120                   6004            Various                                                                                               $23.48
PETER HAMPTON                     1956 SWAN POINTE TER                                            DE PERE         WI           54115                   6002            Various                                                                                                $0.55




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              Creditor Name                  Address1               Address2          Address3             City      State           Zip   Country     Number                Claim                                                                             Total Claim
PETER HERMANS                     208 3RD AVE SE                                                  AITKIN          MN         56431                 6002                Various                                                                                                $2.00
PETER HERNANDEZ                   340 OAK POINT DR                                                JUNEAU          WI         53039                 6004                Various                                                                                                $3.00
PETER IVERSON                     N964 COUNTY ROAD T                                              BIRCHWOOD       WI         54817                 6004                Various                                                                                               $21.01
PETER JAWORSKI                    4507 N MAIN ST                                                  RACINE          WI         53402                 6002                Various                                                                                                $6.71
PETER KISSINGER                   1577 STONEBRIDGE RD APT 20                                      WEST BEND       WI         53095                 6002                Various                                                                                                $7.95
PETER KLEINSASSER                 947 SENORA                                                      BILLINGS        MT         59106                 6004                Various                                                                                               $80.00
PETER KRUEGER                     304 GULF VIEW RD                                                CECIL           WI         54111                 6004                Various                                                                                               $25.00
PETER KUEHL                       1004 EVANS ST                                                   WAUPACA         WI         54981                 6002                Various                                                                                                $6.44
PETER LINNA                       1860 DANCING DUNES DR                                           GREEN BAY       WI         54313                 6004                Various                                                                                               $10.00
PETER PETERSEN                    5965 COUNTY RD. E                                               PITTSVILLE      WI         54466                 6004                Various                                                                                                $5.60
PETER PIATTI                      907 W HUGHITT ST                                                IRON MOUNTAIN   MI         49801                 6002                Various                                                                                                $6.55
PETER RABOIN                      443 WEST 15TH AVE                                               OSHKOSH         WI         54902                 6004                Various                                                                                               $25.00
PETER RAYMOND                     1009 GRANT AVE APT 6                                            MARQUETTE       MI         49855                 6004                Various                                                                                               $23.00
PETER S BOENING                   E4174 1390TH AVE                                                RIDGELAND       WI         54763                 6002                Various                                                                                                $0.79
PETER SARANTAKOS                  6111 N 51ST ST                                                  OMAHA           NE         68104                 6002                Various                                                                                                $4.77
PETER SCHOENECK                   4573 HIGHWAY 8 E                                                RHINELANDER     WI         54501                 6002                Various                                                                                                $1.84
                                                                22 MAIN STREET
PETER SCHUCKERT                   P.O. BOX 278                  NORTH                             WINTHROP        MN         55396                  6004               Various                                                                                             $3.06
PETER SKALETSKI                   3503 FINGER RD                                                  GREEN BAY       WI         54311                  6002               Various                                                                                             $8.96
PETER SOBOL                       6005 MIDWOOD AVE                                                MONONA          WI         53716                  6004               Various                                                                                             $4.30
PETER SPIES                       107 W 18TH AVE                                                  OSHKOSH         WI         54902                  6002               Various                                                                                             $9.29
PETER STEINES                     1311 MINK RD                                                    MOSINEE         WI         54455                  6004               Various                                                                                            $10.00
PETER W DUNBAR                    405 N THOMAS ST                                                 LOYAL           WI         54446                  6002               Various                                                                                             $8.88
PETER YEE                         224 SCOTT AVE.                                                  OSHKOSH         WI         54901                  6004               Various                                                                                            $25.00
PETER ZIMMERMAN                   121 FRANKLIN ST                                                 DELAVAN         WI         53115                  6002               Various                                                                                             $8.93
PETER ZYBURT                      219 E CASE ST                                                   MARQUETTE       MI         49855                  6002               Various                                                                                             $7.67
PETERA FAMILY                     21 CASCADE TRL                                                  WHEATLAND       WY         82201                  6002               Various                                                                                             $5.84
PETERLIN DISTRIBUTING COMPANY     VICE PRESIDENT OF SALES       55980 HWY US 41                   CALUMET         MI         49913                  5652               Various                                                                                         $1,049.25
PETERSON FAMILY                   598 LUCAS LN                                                    ELLSWORTH       WI         54011                  6002               Various                                                                                             $8.49
PETERSON SANITATION               101 PARK STREET                                                 BOSCOBEL        WI         53805                                     Various                                                                                          $879.75
PETERSON VENTURES LLC             8839 VERDON CIRCLE                                              PLATTSMOUTH     NE         68048                   4070              Various                                                                                         $9,090.67
                                                                                1005 W COULTER
PETERSON/ MICHAEL                 STORE 772                     SHOPKO EMPLOYEE AVENUE            POWELL          WY         82435                  5484               Various                                                                                             $8.10
PETFIVE BRANDS LLC                3966 PEMBROKE RD                                                PEMBROKE PARK   FL         33021                  3176               Various                                                                                         $8,103.92
PETRA FALCON                      914 CLEVELAND AVENUE                                            OSHKOSH         WI         54901                  6004               Various                                                                                             $3.27
PETRINA F ARIWITE                 728 3RD ST W                                                    HARDIN          MT         59034                  6002               Various                                                                                             $4.47
PETRONILO C ARIOLA JR             3733 14TH ST E                                                  LEWISTON        ID         83501                  6002               Various                                                                                             $4.77
PEYATT FAMILY                     7312 24TH AVE                                                   KENOSHA         WI         53143                  6002               Various                                                                                             $4.19
PEYTON ERNST                      1703 STATE ROAD 92                                              MT. HOREB       WI         53572                  6004               Various                                                                                            $20.00
PEYTON MILFRED                    431 N. FAIRFIELD AVE                                            JUNEAU          WI         53039                  6004               Various                                                                                             $5.95
PEYTON SANSONE                    3821 N W 51ST                                                   LINCOLN         NE         68524                  6004               Various                                                                                            $20.00
PEYTON TRAEDER                    123 ANY ST                                                      ADAMS           WI         53910                  6002               Various                                                                                             $8.55
PEYTYN HARBER                     606 LOCUST ST                                                   DONIPHAN        MO         63935                  6002               Various                                                                                             $9.29
PEZ CANDY INCORPORATED            GENERAL POST OFFICE           PO BOX 30087                      NEW YORK        NY         10087-0087             9925               Various                                                                                        $19,582.56
PG GOLF LLC                       12505 REED ROAD STE 200                                         SUGAR LAND      TX         77478                  5910               Various                                                                                         $7,078.65
PH BEAUTY LABS                    PO BOX 856920                                                   MINNEAPOLIS     MN         55485-6920             7957               Various                                                                                        $35,723.31
                                  13736 HARRISON PLAZA, APT
PHABRICE GLENN                    #419                                                            OMAHA           NE         68137                  6004               Various                                                                                             $1.21
PHALEN E WISE                     1620 14TH AVE SW                                                SIDNEY          MT         59270                  6002               Various                                                                                             $2.55
PHANTOM RESEARCH LABORATORIES     PO BOX 600650                                                   SAN DIEGO       CA         92160-0650             4980               Various                                                                                           $299.00
                                                                5015 SOUTHPARK
PHARMACY QUALITY SOLUTIONS INC    SUITE 250                     DRIVE                             DURHAM          NC         27713                  9468               Various                                                                                         $1,666.67

PHARMAVITE LLC                    13699 COLLECTIONS CENTER DR                                     CHICAGO         IL         60693-0000              1207              Various                                                                                       $237,931.17




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                                                                                                                                           Account         Incurred, Basis for
               Creditor Name                Address1      Address2        Address3              City      State         Zip    Country     Number                Claim                                                                             Total Claim
PHAVIII XIONG                   507 N. BARSTOW ST                                      EAU CLAIRE      WI         54703                6004                Various                                                                                             $1.00
PHELIX WAITZ                    257 E 1 ST ST                                          FOND DU LAC     WI         54935                6004                Various                                                                                            $25.00
PHENG YANG                      2312 SOUTHWOOD DRIVE                                   APPLETON        WI         54915                6004                Various                                                                                            $20.00
PHIL DORCHAK                    2034 POWERS AVE                                        LEWISTON        ID         83501                6004                Various                                                                                            $44.80
PHIL NEUN                       2509 CHARLES CIR                                       BELLEVUE        NE         68123                6004                Various                                                                                            $15.01
PHILICE SHIELDS                 986 S 50TH AVE                                         OMAHA           NE         68106                6004                Various                                                                                             $4.00
PHILIP ARNOLD                   PO BOX 34                                              ALEXANDER       IA         50420                6004                Various                                                                                            $15.00
PHILIP BORGESON                 2105 BELLWOOD AVE                                      SCHOFIELD       WI         54476                6004                Various                                                                                             $5.00
PHILIP CHOUINARD                8 SUNDANCE LANE                                        MARQUETTE       MI         49855                6004                Various                                                                                            $40.00
PHILIP DUWELL                   N9328 CTY RD W                                         FOND DU LAC     WI         54935                6002                Various                                                                                             $6.66
PHILIP EDWARDS                  3469 WINCHELL LANE                                     BILLINGS        MT         59102                6004                Various                                                                                            $20.00
PHILIP F FLEMING                1382 BOBOLINK LN                                       WEST BEND       WI         53095                6002                Various                                                                                             $0.77
PHILIP GRENDELL                 6075 S 6105TH W                                        KEARNS          UT         84118                6002                Various                                                                                             $2.08
PHILIP HOGAN                    46 15TH ST                                             WHEATLAND       WY         82201                6002                Various                                                                                             $3.51
PHILIP KOONCE                   W5951 HIGHWAY 180                                      WAUSAUKEE       WI         54177                6002                Various                                                                                             $3.92
PHILIP MANARD                   6204 N 31 AV                                           OMAHA           NE         68111                6004                Various                                                                                             $1.01
PHILIP MANEY                    911 LYNN LANE                                          MISSOULA        MT         59801                6004                Various                                                                                             $6.00
PHILIP PROVENCE                 1575 LEHI LN                                           KALISPELL       MT         59901                6002                Various                                                                                             $6.00
PHILIP SHERWOOD                 500 OBRYAN LN                                          KALISPELL       MT         59901                6002                Various                                                                                             $2.33
PHILIP STRELOW                  W8296 PLEASANT VIEW LN                                 WAUTOMA         WI         54982                6002                Various                                                                                             $0.88
PHILIP TANGEMAN                 520 80TH RD                                            CENTRALIA       KS         66415                6002                Various                                                                                             $3.04
PHILIP VALIBABA                 111 W SPRING ST                                        DONIPHAN        MO         63935                6002                Various                                                                                             $1.97
PHILIP WITTE                    2424 ONTARIO RD                                        GREEN BAY       WI         54311                6004                Various                                                                                            $37.95
PHILLIP BAUER                   5236 STOCKWELL ST                                      LINCOLN         NE         68506                6004                Various                                                                                             $4.00
PHILLIP BLACKGOAT               3000 VILLARD #124 A                                    HELENA          MT         59601                6004                Various                                                                                            $14.39
PHILLIP BORGMAN                 1627 OLD # 36                                          JACKSONVILLE    IL         62650                6002                Various                                                                                             $2.19
PHILLIP CORNELLA                695 N 10TH ST                                          LANDER          WY         82520                6002                Various                                                                                             $2.27
PHILLIP DUECKER                 1877 22 3/4 ST.                                        RICE LAKE       WI         54868                6004                Various                                                                                            $25.00
PHILLIP DUNBAR                  PO BOX 343                                             STOCKTON        MN         55988                6004                Various                                                                                            $23.00
PHILLIP FITCH                   701 LAMM RD WILLOW GLEN                                FREEPORT        IL         61032                6002                Various                                                                                            $18.06
PHILLIP GARRETT                 4727 NORTHWERSTEN AVE.                                 RACINE          WI         53406                6004                Various                                                                                            $25.00
PHILLIP GORDO                   1901 TEXAS AVE                                         STEVENS POINT   WI         54481                6002                Various                                                                                             $9.64
PHILLIP GORMAN                  2209 N CLARK ST                                        APPLETON        WI         54911                6002                Various                                                                                             $6.30
PHILLIP HALL                    114 RENNER LANE                                        WATERTOWN       WI         53094                6004                Various                                                                                             $3.00
PHILLIP KOZAK                   165 NO 300 E                                           BRIGHAM CITY    UT         84302                6002                Various                                                                                             $5.45
PHILLIP MERCER                  1090 W HOWARD RD                                       BEAVERTON       MI         48612                6002                Various                                                                                             $5.04
PHILLIP MOORE                   4396 N 11 MILE RD                                      PINCONNING      MI         48650                6002                Various                                                                                             $1.73
PHILLIP NETZER                  W7684 W HARVEST DR                                     APPLETON        WI         54914                6002                Various                                                                                             $5.78
PHILLIP NEWCOMB                 383 SADDLE DR                                          ETNA            WY         83128                6002                Various                                                                                             $4.16
PHILLIP PUZA                    4812 E IVANHOE PL                                      RHINELANDER     WI         54501                6004                Various                                                                                             $2.00
PHILLIP RETTSTATT               2183 E BRUNNER RD                                      ATHOL           ID         83801                6002                Various                                                                                             $6.55
PHILLIP RICH STOFFEL            523 S MUELLER ST                                       APPLETON        WI         54914                6002                Various                                                                                            $10.00
PHILLIP SESSIONS                269 HIGHWAY 20 NORTH                                   THERMOPOLIS     WY         82443                6002                Various                                                                                            $15.85
PHILLIP STOKES                  323 W SEVENTH ST                                       KAUKAUNA        WI         54130                6004                Various                                                                                             $4.00
PHILLIP TOEDTER                 40658 MINNESOTA ST                                     PERHAM          MN         56573                6002                Various                                                                                             $1.18
PHILLIP ZOBELL                  505 E. 300 N.                                          BRIGHAM CITY    UT         84302                6004                Various                                                                                            $44.50
PHILLIPS FAMILY                 350 BLEMHUBER AVE                                      MARQUETTE       MI         49855                6002                Various                                                                                            $17.86
PHILLIPS VAN HEUSEN PVH CORP    PO BOX 643156                                          PITTSBURGH      PA         15264-3156           7299                Various                                                                                        $90,551.00
PHIONA INHOFE                   2941 NO 65TH                                           LINCOLN         NE         68507                6004                Various                                                                                            $20.00
PHOEBE (DUFF KITCHEN            314 PERRY ST                                           TRENTON         MO         64683                6002                Various                                                                                             $9.26
PHOEBE BERNDSEN                 N1675 FAIRVIEW LANE                                    FORT ATKINSON   WI         53538                6004                Various                                                                                             $1.00
PHOEBE TAYLOR                   959 W GORDON AVE                                       LAYTON          UT         84041                6002                Various                                                                                             $2.22
PHOENIX LIMITED PARTNERSHIP     PO BOX 5086                                            SHERIDAN        WY         82801                2837                Various                                                                                        $20,781.29
PHOENIX PLAZA LLC               51 N EASTRIDGE DRIVE                                   ST GEORGE       UT         84790                5580                Various                                                                                         $6,547.65




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                                                                                                                                                                                                                               Claim subject to offset?
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                                                                                                                                                                                        Contingent


                                                                                                                                                                                                                    Disputed
                                                                                                                                                 Last 4 Digits of   Date Debt was
                                                                                                                                                    Account       Incurred, Basis for
           Creditor Name                     Address1            Address2         Address3           City         State           Zip   Country     Number              Claim                                                                             Total Claim
PHONE NABOUTHSY                   24268 OLIVER AVE                                             WORTHINGTON      MN        56187                 6004              Various                                                                                               $3.00
                                                            333 NORTH
                                                            BEDFORD ROAD
PHOTO FILE INCORPORATED           VICE PRESIDENT OF SALES   SUITE 130                          MOUNT KISCO      NY        10549                   7171            Various                                                                                        $17,460.00
PHOURAJAPONG KUMSOOKTAWONTE       8234 S 1600TH W                                              WEST JORDAN      UT        84088                   6002            Various                                                                                            $10.00
PHYLICIA JOHNSON                  PO BOX 604                                                   MT AYR           IA        50854                   6002            Various                                                                                          $184.10
PHYLLIS CLARK                     3075 URBAN AVE                                               FOREST CITY      IA        50436                   6004            Various                                                                                            $20.37
PHYLLIS D PAULSON                 1105 EAST GRAND AVE                                          ROTHSCHILD       WI        54474                   6002            Various                                                                                             $2.08
PHYLLIS DOCUDOSE SCHERRER         PO BOX 391                                                   AUGUSTA          MT        59410                   6002            Various                                                                                            $13.31
PHYLLIS ECKERT                    3402 PINEGROVE RD                                            GREEN BAY        WI        54311                   6002            Various                                                                                             $3.73
PHYLLIS ENGLER                    2716 S JEFFERSON AVENUE                                      MASON CITY       IA        50401                   6002            Various                                                                                             $1.66
PHYLLIS ERICHSEN                  N1934 ERICHSEN LN                                            KEWAUNEE         WI        54216                   6002            Various                                                                                             $9.62
PHYLLIS GASS                      340 ALBERT DR APT 3                                          MANITOWOC        WI        54220                   6002            Various                                                                                             $6.44
PHYLLIS GILDERSLEEVE              16608 LIMINGA RD                                             HOUGHTON         MI        49931                   6002            Various                                                                                             $3.42
PHYLLIS IONE ANDERSON             CCL                                                          WHEATLAND        WY        82201                   6002            Various                                                                                             $8.85
PHYLLIS J. VANDEMARK              5800 KRIEG RDRD                                              RATHDRUM         ID        83858                   6002            Various                                                                                             $9.81
PHYLLIS JAMISON                   9710 CADY AVE                                                OMAHA            NE        68134                   6002            Various                                                                                             $5.84
PHYLLIS KUIK                      W12711 STATE RD. 49                                          BRANDON          WI        53919                   6004            Various                                                                                            $69.00
PHYLLIS MCCAIN                    4300 W S AIRPORT RD                                          NORFOLK          NE        68701                   6002            Various                                                                                             $2.93
PHYLLIS MITCHELL                  1674 9TH ST SW                                               MASON CITY       IA        50401                   6002            Various                                                                                             $1.42
PHYLLIS PAULSON                   C/O LOUISE PAULSON        2208 LILLY LANE                    WAUSAU           WI        54401                   6002            Various                                                                                             $2.41
PHYLLIS R PRINGLE                 1024 RIEDEL AVE                                              FULLERTON        CA        92831                   6002            Various                                                                                             $9.48
PHYLLIS ROSENDAHL                 718 S PRESIDENT AVE                                          MASON CITY       IA        50401                   6002            Various                                                                                             $5.01
PHYLLIS SANDVICK                  902 8TH AVE N APT 5                                          ONALASKA         WI        54650                   6002            Various                                                                                             $2.27
PHYLLIS SCHILLER                  PO BOX 244                                                   WHEATLAND        WY        82201                   6002            Various                                                                                             $1.92
PHYLLIS SCHOENWETTER              1026 CTY RD M LOT 3                                          FRIENDSHIP       WI        53934                   6002            Various                                                                                             $9.45
PHYLLIS SCHOFF                    26710 GAGE ST                                                DOWAGIAC         MI        49047                   6002            Various                                                                                             $4.58
PHYLLIS TOBLER                    C/O LEO TOBLER            357 WOOD AVE                       NEKOOSA          WI        54457                   6002            Various                                                                                            $30.11
PHYLLIS TOBY GOLPER               600 W PERSHING ST                                            APPLETON         WI        54911                   6002            Various                                                                                             $2.96
PHYLLIS VENHAUS                   1500 N 15TH                                                  LINCOLN          NE        68508                   6004            Various                                                                                            $74.00
PHYLLIS WEBER                     3920 W JOHNSON AVENUE                                        RACINE           WI        53405                   6002            Various                                                                                          $173.64
PHYLLIS ZENTNER                   394 OLD OREGON RD                                            OSHKOSH          WI        54902                   6002            Various                                                                                          $235.07
PHYSICIANS PLUS INSURANCE CORP    ADJUSTMENT DEPT           PO BOX 2078                        MADISON          WI        53701                   6004            Various                                                                                            $43.00
PICK N SAVE                       624 S CHURCH STREET                                          WATERTOWN        WI        53094                   6791            Various                                                                                          $200.00
PICKRUHN & KILINSKI ENTERPRISE    514 COUNTY ROAD A                                            MARATHON         WI        54448                   4083            Various                                                                                        $10,693.67
PICNIC TIME INC (C-HUB)           5131 MAUREEN LANE                                            MOORPARK         CA        93021                   3255            Various                                                                                          $705.74

PIER TRANSLATING & LEGAL SERVI    MARIE ANN PIER            1117 S 26TH STREET                 MANITOWOC        WI        54220                   4218            Various                                                                                           $174.00
                                                                                                                                                                  11/26/2018 -
PIERCE PEPIN COOP                 P.O. BOX 420                                                 ELLSWORTH        WI        54011                   1004            12/25/2018                                                                                      $2,571.89
PIERRA HENDERSON                  2632 HIGH RIDGE TRAL                                         MADISON          WI        53713                   6004            Various                                                                                             $3.00
PIERRE VUE                        1137 W BELL AVE                                              APPLETON         WI        54912                   6004            Various                                                                                            $20.00
PIGGLY WIGGLY                     80 PARK AVENUE                                               KIEL             WI        53042                   1599            Various                                                                                            $59.68
PIKE DISTRIBUTORS INC (WINE)      6958 US 2 & 41 & M35                                         GLADSTONE        MI        49837                   4800            Various                                                                                          $994.40
PILOT CORPORATION OF AMERICA      DEPT 0271 PO BOX 120271                                      DALLAS           TX        75312-0271              5605            Various                                                                                        $25,528.22
PINE CREEK ELEMENATRY SCHOOL      2575 EAST RIVER RD                                           LIVINGSTON       MT        59047                   6666            Various                                                                                             $4.58
PINE RIDGE MALL JC LLC            PO BOX 23                                                    JEFFERSON CITY   MO        65109                   6728            Various                                                                                          $140.87
PINE TREE COMMERCIAL REALTY       ROBIN PEORIA LLC          PO BOX 60470                       CHARLOTTE        NC        28260-0253              1841            Various                                                                                       $141,199.33
PIONEER & ONKYO USA               DEPT CH 19866                                                PALATINE         IL        60055-9866              5533            Various                                                                                       $373,744.00
PIONEER PUBLISHING INCORPORATE    PO BOX 7360                                                  OMAHA            NE        68107                   6754            Various                                                                                          $208.95
PIOTR STAROSTA                    4985 HAMMERSLEY ROAD                                         MADISON          WI        53711                   6004            Various                                                                                             $5.82
PIPER COMINCK                     19132 589TH AVE                                              MANKATO          MN        56001                   6002            Various                                                                                             $2.50
PIPESTONE BUILDING MATERIALS I    PO BOX 424                                                   PIPESTONE        MN        56164                   1882            Various                                                                                          $350.00
PIPESTONE PUBLISHING              PO BOX 277                                                   PIPESTONE        MN        56164                   6537            Various                                                                                            $14.50




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                                                                                                                                                               Account         Incurred, Basis for
             Creditor Name                   Address1                  Address2        Address3              City           State           Zip   Country      Number                Claim                                                                             Total Claim
                                                                  3900 VETERANS
                                  RUDOLPH INVESTMENT GROUP        MEMORIAL HWY
PIPING ROCK HEALTH PRODUCTS LL    TRUST                           SUITE 200                         BOHEMIA            NY           11716                   2003               Various                                                                                       $155,592.94
PISANI COMPANY INC (BEER)         1551 COMMERCE STREET                                              IRONWOOD           MI           49938                   5310               Various                                                                                          $153.00
PITCHER                           1789 CENTER AVE                                                   OGDEN              UT           84404                                      11/20/2018                                                                                       $139.28
PITNEY BOWES                      PURCHASE POWER                  PO BOX 371874                     PITTSBURGH         PA           15250-7874              1230               Various                                                                                          $274.99
PITNEY BOWES GLOBAL FINANCIAL     SERVICES LLC                    PO BOX 371887                     PITTSBURGH         PA           15250-7887              8451               Various                                                                                          $118.04
PIXIE SADORUS                     2829 25TH STC APT B                                               CLARKSTON          WA           99403                   6002               Various                                                                                            $10.00
PIYA MILTON                       520 S 21ST AVE                                                    OMAHA              NE           68102                   6004               Various                                                                                             $4.00
PIZZA HUT                         1236 CALDWELL BOULEVARD                                           NAMPA              ID           83651                   1838               Various                                                                                          $113.00
PIZZA RANCH                       ATTN LORI ALLEN                 102 S MAIN                        CLARION            IA           50525                   8198               Various                                                                                          $158.22

PIZZA RANCH AUSTIN                1300 18TH AVENUE NW SUITE B                                       AUSTIN             MN           55912                   6845               Various                                                                                           $243.21
                                                                  609 2 CANTIAGUE
PL DEVELOPMENTS                   ATTN ACCTS RECEIVABLE           ROCK ROAD                         WESTBURY           NY           11590-0000              8426               Various                                                                                        $10,782.97
PLADIS GLOBAL                     10 BANK STREET SUITE 1011                                         WHITE PLAINS       NY           10606                   5397               Various                                                                                        $40,401.10
PLAINS EQUIPMENT GROUP            EAST HWY 11                     PO BOX 168                        ORD                NE           68862                   3671               Various                                                                                            $63.68
PLANO MOLDING                     PO BOX 71675                                                      CHICAGO            IL           60694-1675              7205               Various                                                                                       $272,292.24
                                                                  202 SOUTH
                                                                  WASHINGTON
PLANTATION PRODUCTS LLC (SBT)     VICE PRESIDENT OF SALES         STREET                            NORTON             MA           02766                   3750               Various                                                                                               $52.32
                                  24445 NORTHWESTERN HWY STE
PLASTIC DEVELOPMENT GROUP LLC     101                                                               SOUTHFIELD         MI           48075                   7022               Various                                                                                        $99,123.08
PLAYMONSTER LLC                   1400 E INMAN PARKWAY                                              BELOIT             WI           53511                   6484               Various                                                                                       $199,545.73
PLENTYWOOD SANITATION             234 SOUTH ADAMS                                                   PLENTYWOOD         MT           59254                                      Various                                                                                          $200.00

PLUMMER/ KOREN                    STORE 2-039                     SHOPKO EMPLOYEE                   GREEN BAY          WI           54307-9060              0556               Various                                                                                               $39.72
PO TET                            4914 N 62 ST                                                      OMAHA              NE           68104                   6004               Various                                                                                                $6.00

POKLASNY FAMILY                   1219 N NELSON DR                                                  PORT WASHINGTON WI              53074                   6002               Various                                                                                                $5.40
                                  MILKY WAY INTERNATIONAL
POLAR FOODS                       TRADING CO                      PO BOX 469                        NORWALK            CA           90651-0469              7849               Various                                                                                        $54,875.97
POLLY A LADUKE                    706 SENECA ST                                                     TECUMSEH           MI           49286                   6002               Various                                                                                             $3.37
POLLY EDGE                        5447 WESTSHIRE CIRCLE                                             WAUNAKEE           WI           53597                   6004               Various                                                                                            $17.06
PONCA TRIBE OF NEBRASKA           1800 SYRACUSE AVENUE                                              NORFOLK            NE           68701                   6004               Various                                                                                            $34.92

PONTUS SK PORTFOLIO LLC           875 PROSPECT STREET SUITE 303                                     LA JOLLA           CA           92037                   2722               Various                                                                                        $29,662.73
POOF SLINKY INCORPORATED          PO BOX 74008423                                                   CHICAGO            IL           60674-8423              0568               Various                                                                                        $82,379.89
POOL FAMILY                       714 1RST ST NW                                                    AITKIN             MN           56431                   6002               Various                                                                                             $1.97
POP LOY                           25 31 STR SW                                                      AUSTIN             MN           55912                   6004               Various                                                                                             $3.00
                                                                  5510 LINCOLN BLVD
POPCHIPS INCORPORATED             ATTN ACCTS RECEIVABLE           425                               PLAYA VISTA        CA           90094                   7080               Various                                                                                        $61,803.02
POPE COUNTY TRIBUNE               14 1ST AVENUE SE                PO BOX 157                        GLENWOOD           MN           56334                   3905               Various                                                                                            $79.00
POPSOCKETS LLC                    3033 STERLING CIRCLE                                              BOULDER            CO           80301                   5305               Various                                                                                       $116,183.20
PORFIRIO MARTINEZ                 203 S 3RD STREET                                                  MONMOUTH           IL           61462                   6002               Various                                                                                             $4.16
PORSHA CHANHMA                    930 13TH AVE NE                                                   ROCHESTER          MN           55906                   6002               Various                                                                                             $0.66
PORT LOGISTICS                    288 MAYO AVENUE                                                   CITY OF INDUSTRY   CA           91789                   6537               Various                                                                                       $241,893.56
                                  DSJ ACQUISITION                 3711 142ND
PORT LOGISTICS GROUP              INCORPORATED                    AVENUE EA                         SUMNER             WA           98390                   6537               Various                                                                                       $595,588.66

PORT PUBLICATIONS INCORPORATED    125 E MAIN STREET               PO BOX 249                        PORT WASHINGTON WI              53074                   3341               Various                                                                                         $1,026.61
PORTER LARSEN                     5306 W 9910 N                                                     AMERICAN FORK   UT              84003                   6004               Various                                                                                            $10.98
PORTER M DAVIS                    22945 S LAIRD RD                                                  PELKIE          MI              49958                   6002               Various                                                                                             $7.26




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                                                                                                                                                                 Account         Incurred, Basis for
             Creditor Name                     Address1                 Address2            Address3           City          State           Zip    Country      Number                Claim                                                                             Total Claim
                                                                   3709 WEST 41ST
PORTRAIT INNOVATIONS                EMPORIUM ON 41ST               STREET UNIT 2                       SIOUX FALLS      SD           57106                    2240               Various                                                                                           $106.49
POST CRESCENT                       PO BOX 677446                                                      DALLAS           TX           75267-7446               1819               Various                                                                                           $360.42

POST/ GREGORY                       STORE 698                      SHOPKO EMPLOYEE 718 4TH STREET      GOTHENBURG       NE           69138                    7253               Various                                                                                               $87.69
POWELL ELK LODGE 2303               581 CLARK STREET                                                   POWELL           NY           82435                    6666               Various                                                                                                $1.00
                                                                   185 INDUSTRIAL
POWER DISTRIBUTING                  VICE PRESIDENT OF SALES        DRIVE                               ELMHURST         IL           60126                    3039               Various                                                                                           $842.30
                                    1 NORTH DEARBORN ST SUITE
POWER REVIEWS                       800                                                                CHICAGO          IL           60602                    0719               Various                                                                                        $16,531.35
PPG INDUSTRIES INC                  PO BOX 534979                                                      ATLANTA          GA           30353-4979               5406               Various                                                                                         $3,203.00
PPG YUMA LLC                        SCOTT J PETERSON               1577 ZINC STREET                    LOVELAND         CO           80537                    6318               Various                                                                                         $1,666.67
PRACTICAL SYSTEMS INCORPORATED      DEPT AT 952647                                                     ATLANTA          GA           31192-2647               4309               Various                                                                                         $5,700.11
PRADY VIALPANDO                     203 E STATE ST                                                     RAWLINS          WY           82301                    6002               Various                                                                                             $3.12
PRAHALLADARA KASHI                  5302 S PENGUIN CIR                                                 SALT LAKE CITY   UT           84117                    6002               Various                                                                                             $1.78
PRAIRIE LAKES HEALTHCARE SYSTEM     PO BOX 1210                                                        WATERTOWN        SD           57201                    6666               Various                                                                                            $18.21
                                                                                                                                                                                 12/1/2018 -
PRAIRIE LAND ELECTRIC COOP, INC.    P.O. BOX 360                                                       NORTON           KS           67654-0360               2107               12/31/2018                                                                                      $2,162.56
PRAIRIE RIDGE HOSPITAL & HEALT      ACCOUNTS RECEVABLE 340B        1411 HWY 79 EAST                    ELBOW LAKE       MN           56531                    6108               Various                                                                                          $794.86
PRAIRIE STATES                      ATTN: REFUND                   P.O. BOX 23                         SHEBOYGAN        WI           53082                    6004               Various                                                                                          $600.00
PRAXEDIS GURROLA                    661 JAMES BLVD                                                     WORTHINGTON      MN           56187                    6004               Various                                                                                             $3.00
PRECIOUS MANGIAMELI                 2202 MURTLE ST                                                     BELLEVUE         NE           68147                    6004               Various                                                                                             $4.00
PREMIER CARE INDUSTRIES             150 MARCUS BLVD                                                    HAUPPAGE         NY           11788-0000               1085               Various                                                                                       $113,016.52
PREMIER LANDSCAPE SERVICES INC      10014 E MONTGOMERY 9                                               SPOKANE          WA           99206                    9411               Various                                                                                         $3,447.15
PREMIER MIDWEST BEVERAGE CO         FINTECH                        SHOPKO STORES      PO BOX 19060     GREEN BAY        WI           54307-9060               3840               Various                                                                                         $1,556.91
PREMIUM WATERS INCORPORATED         NW 7996                        PO BOX 1450                         MINNEAPOLIS      MN           55485-7996               7576               Various                                                                                       $383,540.29
PRERELEASE                          1019 15TH ST N                                                     GREAT FALLS      MT           59405                    6002               Various                                                                                            $85.46
PRESSMAN DBA GOLIATH                DEPT 3842                      PO BOX 12 3842                      DALLAS           TX           75312-3842               4994               Various                                                                                       $164,828.12
                                    SUITE A, 8TH FLOOR, NO. 170,                                                                                   TAIWAN
PRESTIGE                            TUNG HWA N. ROAD                                                   TAIPEI                                      R.O.C.     0164               Various                                                                                     $2,519,164.57
PRESTON BARNES                      1575 CICAGO ST54302                                                GREEN BAY        WI           54302                    6004               Various                                                                                             $3.00
PRESTON BARTOW                      11341 N 1000TH E                                                   CROMWELL         IN           46732                    6002               Various                                                                                             $7.59
PRESTON ENYEART                     2100 S 2ND APT 5I                                                  POCATELLO        ID           83201                    6004               Various                                                                                            $38.08
PRESTON EPPERS                      220 S HOLLY AVE APT 16                                             ELK MOUND        WI           54739                    6002               Various                                                                                             $9.37
PRESTON FRYER                       210 E HICKORY ST                                                   SISSETON         SD           57262                    6002               Various                                                                                             $8.79
PRESTON GOVAN                       162 CHERRY ST                                                      JANESVILLE       WI           53548                    6004               Various                                                                                             $2.00
PRESTON GREEN                       102 SOUTH 4TH STREET                                               RIVER FALLS      WI           54022                    6004               Various                                                                                             $2.90
PRESTON HELSTROM                    259 PHEASANT ROAD W 46                                             TWIN FALLS       ID           83301                    6004               Various                                                                                            $71.00
PRESTON LAMM                        722 AVE                                                            PLATTSMOUTH      NE           68048                    6002               Various                                                                                             $2.30
PRESTON LAWRENCE-HUTCHISO           2200 ELLA ST APT 5                                                 BEATRICE         NE           68310                    6002               Various                                                                                             $5.42
PRESTON MORGAN                      209 DAWES AVE                                                      LINCOLN          NE           68521                    6002               Various                                                                                             $2.27
PRESTON MURRAY                      9722 S TWEED RD                                                    SOUTH JORDAN     UT           84095                    6004               Various                                                                                             $2.00
PRESTON NELSON                      3349 VOLCANIC AVE                                                  IDAHO FALLS      ID           83401                    6004               Various                                                                                             $3.65
PRESTON PARKER                      361 WOOD ST                                                        LANDER           WY           82520                    6002               Various                                                                                             $6.49
PRESTON RYAN                        1311 AVE A                                                         PLATTSMOUTH      NE           68048                    6002               Various                                                                                             $7.29
PRESTON SEITZ                       30 BROWN BLVD APT 8                                                ROTHSCHILD       WI           54474                    6002               Various                                                                                             $2.88
PRESTON TURNER                      200 MONICA LANE.                                                   BEAVER DAM       WI           53916                    6004               Various                                                                                            $24.02
PRGX USA INCORPORATED               PO BOX 116501                                                      ATLANTA          GA           30368-6501               3947               Various                                                                                        $14,583.33
PRIA POPOWSKI                       W9694 STATE HIGHWAY 70                                             PARK FALLS       WI           54552                    6002               Various                                                                                             $8.05
                                                                   500 W SELLERS
PRIDE GARDEN PRODUCTS               PRIDE GROUP                    AVENUE                              RIDLEY PARK      PA           19078                    7777               Various                                                                                        $30,365.29
PRIMARY ONE (C-HUB)                 66 31 OTTO ROAD                                                    GLENDALE         NY           11385                    8116               Various                                                                                          $403.20
PRIME TIME TOYS LIMITED             PO BOX 256                                                         POMPTON LAKES    NJ           07442-0000               7475               Various                                                                                        $17,721.00
PRIMITIVES BY KATHY INC             1817 WILLIAM PENN WAY                                              LANCASTER        PA           17601                    1265               Various                                                                                       $522,750.54




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              Creditor Name                        Address1                Address2            Address3           City        State           Zip   Country     Number                Claim                                                                             Total Claim
PRIMO WATER CORPORATION                 101 N CHERRY ST SUITE 501                                         WINSTON SALEM    NC         27101                 3777                Various                                                                                          $3,300.45
PRISCILLA DOUGHTY                       PO BOX 4836 PMB 3555                                              HELENA           MT         59604                 6002                Various                                                                                              $6.41
PRISCILLA JENKS                         830 SPRAGUE AVE                                                   BUHL             ID         83316                 6002                Various                                                                                              $9.12
PRISCILLA PORTENIER                     89841 441ST AVE                                                   SPRINGVIEW       NE         68778                 6002                Various                                                                                              $6.58
PRISCILLA S ANDERSON                    39261 HOMESTEAD AVE                                               NORTH BRANCH     MN         55056                 6002                Various                                                                                              $3.89
PRISCILLA T KHAMMANH                    2659 GEORGETOWNE DR NW                                            ROCHESTER        MN         55901                 6002                Various                                                                                              $8.49
PRISCILLA VEGA                          593 N 10 W                                                        SHOSHONE         ID         83352                 6004                Various                                                                                              $3.65
PRISCILLA WORTHY                        214 COURTHOUSE DR                                                 SALMON           ID         83467                 6002                Various                                                                                              $0.96
PRIYA SINHA                             2225 OXFORD CT APT3                                               PLOVER           WI         54467                 6004                Various                                                                                             $10.00
PRO ELECTRIC INCORPORATED               1616 MT EVANS DRIVE                                               LEADVILLE        CO         80461                 0080                Various                                                                                            $750.00

PROCARE PHARMACY BENEFIT MANAG          1267 PROFESSIONAL PARKWAY                                         GAINESVILLE      GA         30507                   2275              Various                                                                                         $2,207.50
PROFESSIONAL BUSINESS SYSTEMS           PO BOX 420                                                        OMRO             WI         54963-0420              9025              Various                                                                                         $4,115.69
PROFESSIONAL DOOR SYSTEMS INC.          2602 GEORGIA AVENUE                                               SHEBOYGAN        WI         53082-1408                                Various                                                                                          $369.00
PROFESSIONAL RETAIL OUTLET SERVICES,                                                                      COMMERCE
L.L.C.                                  3050 UNION LAKE ROAD                                              TOWNSHIP         MI         48382                                     Various                                                                                          $610.32
PROFOOT INCORPORATED                    74 20TH STREET                                                    BROOKLYN         NY         11232-1101             3709               Various                                                                                        $37,432.77
PROGRESSIVE INTERNATIONAL               PO BOX 911615                                                     DENVER           CO         80291-1615             6175               Various                                                                                        $54,795.15
                                        5000 CENTREGREEN WAY SUITE
PROMIKA LLC                             100                                                               CARY             NC         27513                   3208              Various                                                                                        $33,185.22
PROMOUNTS SCADLOCK LLC                  CRESTMARK BANK                 DRAWER 1369       PO BOX 5935      TROY             MI         48007-5935              6936              Various                                                                                       $107,324.34
PROTECT PLUS INDUSTRIES LLC             BIN 436902                     PO BOX 1207                        INDIANAPOLIS     IN         46206-1207              4306              Various                                                                                         $1,787.18
PROTECTION ONE ALARM MONITORIN          PO BOX 872987                                                     KANSAS CITY      MO         64187-2987              1110              Various                                                                                        $10,319.91
                                        SINGLE SOURCE SECURITY
PROTOS SECURITY                         INCORPORATED                   PO BOX 625                         DALEVILLE        VA         24083                   9983              Various                                                                                        $16,895.62
PROVIDER PAY                            3949 SOUTH 700 EAST            SUITE 320                          SALT LAKE CITY   UT         84107                                     Various                                                                                     $5,914,984.50
                                                                       13040 W LIBSON
PSAB ENTERPRISES INCORPORATED           MAHLER ENTERPRISES             ROAD SUITE 900                     BROOKFIELD       WI         53005                  5046               Various                                                                                        $23,886.45
PSI SYSTEMS INC                         PO BOX 206144                                                     DALLAS           TX         75320-6144             1456               Various                                                                                        $90,104.85
PTI GROUP INCORPORATED                  871 Midpoint Drive                                                O'Fallon         MO         63366                  7231               Various                                                                                        $41,083.50
PUDMINI XIONG                           514 ST BERNARD DR                                                 GREEN BAY        WI         54302                  6004               Various                                                                                            $34.00
PUE LOO                                 1450 BURLINGTON AVE APT 2                                         WORTHINGTON      MN         56187                  6004               Various                                                                                             $3.00

PULLMAN                                 PO BOX 619                     135NW HAROLD DR                    PULLMAN          WA         99163-0619                                Various                                                                                         $2,303.61
PUP AUMANN                              1000 N CENTRAL AVE                                                MARSHFIELD       WI         54449                   6002              Various                                                                                             $5.12
PURE AIR FILTER SALES AND SERV          PO BOX 9519                                                       GREENWOOD        MS         38935-9519              5886              Various                                                                                        $58,342.86

PURE GLOBAL BRANDS (C-HUB)              10670 N CENTRAL EXPR STE 470                                      DALLAS           TX         75231                  7188               Various                                                                                         $2,510.28
                                                                       1168
                                                                       ASHWAUBENON
PURE WATER TECHNOLOGY OF NORTH          WISCONSIN INCORPORATED         STREET                             GREEN BAY        WI         54304                  9642               Various                                                                                            $15.31
PURE WATER WORKS                        720 S GARFIELD AVENUE                                             TRAVERSE CITY    MI         49686                  9605               Various                                                                                         $5,012.06
PW RENTALS LLC                          ROLAND WHITNEY                 PO BOX 1724                        KEARNEY          NE         68848-1724             5534               Various                                                                                          $160.50
QDOBA                                   8540 S 71ST PLAZA                                                 PAPILLION        NE         68133                  5293               Various                                                                                            $92.15
QDOBA MEXICAN EATS                      1380 HWY 15 S                                                     HUTCHINSON       MN         55350                  4884               Various                                                                                          $459.05
QIANZHEN LI                             101 N UNIVERSITY AVE.                                             BEAVER DAM       WI         53916                  6004               Various                                                                                            $28.93
QIRA M SAVOYE                           810 E COURT AVE                                                   WINTERSET        IA         50273                  6002               Various                                                                                             $9.51
QRYSTYNA HANKE                          316 DIVISION ST                                                   CHIPPEWA FALLS   WI         54729                  6004               Various                                                                                             $3.00
QS LAWN & PEST LLC                      1501 ADAMS ST                                                     EMMETSBURG       IA         50536                  3996               Various                                                                                          $315.65
QUAD GRAPHICS INCORPORATED              PO BOX 842858                                                     BOSTON           MA         02284-2858             1934               Various                                                                                       $271,379.61
QUAKER FOODS & BEVERAGES                PO BOX 644943                                                     PITTSBURGH       PA         15264-4926             0017               Various                                                                                         $8,048.01
QUALITY DISPOSAL                        225 E GEORGE ST                                                   OGILVIE          MN         56358                                     Various                                                                                          $960.60
                                                                       1415 W
QUALITY EQUIPMENT INCORPORATED          SUITE 101                      WASHINGTON                         MT PLEASANT      IA         52641                  5551               Various                                                                                           $428.00




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                                                                                                                                                                                                Contingent


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                                                                                                                                                          Account         Incurred, Basis for
             Creditor Name                    Address1                Address2        Address3             City          State         Zip    Country     Number                Claim                                                                             Total Claim
QUALITY KING FRAGRANCES           PO BOX 8593                                                      CAROL STREAM       IL         60197-0000           0435                Various                                                                                        $315,785.82
QUALITY LAWNS                     DENNIS BISSEN                2448 HIGHWAY 44                     KIMBALLTON         IA         51543                7743                Various                                                                                            $837.38
QUAVONDACE PETTIFORD WILLIAMS     4949 N 35TH ST                                                   OMAHA              NE         68111                6004                Various                                                                                              $4.00
QUAZI JAHANGIR                    101 WAYNESBOROUGH WAY                                            MANKATO            MN         56001                6004                Various                                                                                              $3.00
QUENCH USA INC                    PO BOX 781393                                                    PHILADELPHIA       PA         19178-1393           6303                Various                                                                                            $137.84
QUENTEN ROME                      1133 1/2 S QUINCY ST                                             GREEN BAY          WI         54301                6004                Various                                                                                             $17.00
QUENTIN ERICKSON                  134 EAST LEIDON STREET                                           HOLMEN             WI         54636                6004                Various                                                                                             $40.00
QUENTIN FARMER                    32 JAMES WAY                                                     FREEDOM            WY         83120                6002                Various                                                                                              $5.53
QUENTIN KETTENBEIL                524 N 5TH ST APT B                                               MANITOWOC          WI         54220                6004                Various                                                                                              $3.00
QUEST PRODUCTS INC                8201 104TH STREET STE 200                                        PLEASANT PRAIRIE   WI         53158-0000           8887                Various                                                                                          $5,565.84
QUEYETTA JOHNSON                  1524 N 104TH PLZ             #334                                OMAHA              NE         68114                6004                Various                                                                                              $2.00
QUICK SIGNS                       525 S MILITARY                                                   GREEN BAY          WI         54303                9892                Various                                                                                            $145.86
QUICO GONZALES                    902 N 4TH ST                                                     SAINT PETER        MN         56082                6002                Various                                                                                              $4.00

QUIGLEY/ BRYCE                    STORE 082                    SHOPKO EMPLOYEE                     GREEN BAY          WI         54307-9060            8832               Various                                                                                           $134.20
QUINCEY L REYERSON                22 11TH ST SW                                                    MASON CITY         IA         50401                 6002               Various                                                                                             $1.81
                                                               726 HEARTLAND
QUINCY BIOSCIENCE DBA PREVAGEN    PREVAGEN INC                 TRL STE 300                         MADISON            WI         53717                 9840               Various                                                                                        $49,130.74
QUINCY GREEN                      1125 N MAIN ST APT 4R                                            LAYTON             UT         84041                 6002               Various                                                                                             $3.67
QUINCY/ CITY OF                   CITY TREASURER               730 MAINE STREET                    QUINCY             IL         62301                 3114               Various                                                                                          $750.00
QUINN BASSETT                     2400 COLUMBIA AVE 2                                              HELENA             MT         59601                 6004               Various                                                                                            $24.98
QUINN D ELDER                     2177 DARAH ST                                                    IDAHO FALLS        ID         83402                 6002               Various                                                                                             $4.03
QUINN LARSON                      725 ORION TRAIL                                                  MADISON            WI         53718                 6004               Various                                                                                            $22.50
QUINN MIRACLE                     429 11TH ST N                                                    LA CROSSE          WI         54601                 6004               Various                                                                                             $6.25
QUINT DOCKTER                     1002 9TH ST NW                                                   WATERTOWN          SD         57201                 6004               Various                                                                                            $24.99
QUINTEN HOLLAND                   2715 VICTORIA LANE                                               MADISON            WI         53704                 6004               Various                                                                                             $2.00
QUINTIN KANEKO                    101 S SENECA AVE                                                 NEWCASTLE          WY         82701                 6002               Various                                                                                             $6.00
QUINTON HESS                      905 APT. A SWIFT AVE                                             SHEBOYGAN          WI         53081                 6004               Various                                                                                             $1.00
QUTEN RESEARCH INSTITUTE LLC      22 AUDREY PLACE                                                  FAIRFIELD          NJ         07004                 2004               Various                                                                                         $9,958.96
R & D DISTRIBUTORS                PO BOX 8187                                                      KENTWOOD           MI         49518                 3018               Various                                                                                         $3,904.68
                                                             420 N 15TH AVENUE
R & R TRANSFER                    RODNEY LOE                 E                                     ELY                MN         55731                  4990              Various                                                                                           $200.00
                                                             642 N WILLOW
R C DISTRIBUTING                  COORS DISTRIBUTING COMPANY STREET                                NORTH PLATTE       NE         69101                 8256               Various                                                                                           $890.22
                                                             13405 YARMOUTH
R G BARRY CORPORATION             VICE PRESIDENT OF SALES    ROAD NW                               PICKERINGTON       OH         43147                 7065               Various                                                                                         $1,915.06
R LEWIS & R LEWIS BRILLION INC    PO BOX 22190                                                     GREEN BAY          WI         54305                 1708               Various                                                                                        $10,021.87
R M PALMER COMPANY                PO BOX 13700                                                     PHILADELPHIA       PA         19191-1174            2709               Various                                                                                        $29,189.06
R TIM BARRY                       N51 W 22124 LISBON RD                                            SUSSEX             WI         53089                 6002               Various                                                                                            $18.17
                                                             3528 ATWOOD
R W ROGERS INCORPORATED           C/O PETE SHAFFER           AVENUE SUITE 111                      MADISON            WI         53714                  7821              Various                                                                                          $413.22
R&D HENDRICKSON TRUCKING LLC      PO BOX 564                                                       ROLLA              ND         58367-0564                               Various                                                                                             $0.00
R&Q CONTRACTING                   302 3RD ST. SW                                                   ROSEAU             MN         56751                                    Various                                                                                         $2,025.71
                                                                                                                                                                          11/30/2018 -
R&T WATER SUPPLY                  PO BOX 126                                                       RAY                ND         58849-0126             1-00-6            12/25/2018                                                                                        $210.00

R. CURTISS LAUE                   901 NORIDGE TRL                                                  PORT WASHINGTON WI            53074                 6002               Various                                                                                            $10.00
                                  5880 WEST LAS POSITAS BLVD
R2P GROUP INC DBA R2P PET         SUITE 31                                                         PLEASANTON         CA         94588                 5666               Various                                                                                        $17,353.33
RA BOGUE LIMITED PARTNERSHIP      PO BOX 278                                                       IDA GROVE          IA         51445                 7451               Various                                                                                         $1,568.25
RAAEN WILLIAM                     411 E EVERETT AVE APT 261                                        FERGUS FALLS       MN         56537                 6002               Various                                                                                            $16.64
RACHAEL A ECKES                   D1805 CTY RD C                                                   STRATFORD          WI         54484                 6002               Various                                                                                             $1.67
RACHAEL AZNOE                     8425 COUNTY F                                                    BAILEYS HARBOR     WI         54210                 6002               Various                                                                                             $9.42
RACHAEL BOISEN                    518 SOUTH ST                                                     CASHTON            WI         54619                 6004               Various                                                                                             $1.10




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RACHAEL E PRESSLEY            25 MAYBELLE LN                                                 WEAVERVILLE        NC         28787                 6002                Various                                                                                                $6.63
RACHAEL EAVES                 110 N 1000TH E                                                 BRIGHAM CITY       UT         84302                 6002                Various                                                                                                $4.58
RACHAEL FREDERICK             R 8270 WHITE BIRCH ROAD                                        RINGLE             WI         54471                 6004                Various                                                                                                $5.00
RACHAEL JOHNSON               1621 SOUTH FERN ST.                                            CAMBRIDGE          MN         55008                 6004                Various                                                                                                $3.00
RACHAEL L WOODLAND            25 W POMMELL DR                                                PAYSON             UT         84651                 6002                Various                                                                                                $3.37
RACHAEL MAGNUSSON             610 S VINE ST                                                  FERGUS FALLS       MN         56537                 6002                Various                                                                                                $0.77
RACHAEL MARTIN                3129 N 12TH ST                                                 COEUR D ALENE      ID         83815                 6002                Various                                                                                                $7.48
RACHAEL MCFARLAND             1107 EAST HOUGHTON AVE                                         HOUGHTON           MI         49931                 6004                Various                                                                                               $15.00
RACHAEL PAGE                  211 W SECOND ST #A                                             WAUNAKEE           WI         53597                 6004                Various                                                                                                $2.00
RACHAEL RINN                  775 EAST BELLEVIEW           APT D                             WINONA             MN         55987                 6004                Various                                                                                                $3.00
RACHAEL STEIFF                1601 6TH PL SE                                                 MASON CITY         IA         50401                 6002                Various                                                                                                $6.41
RACHAEL TUCKER                1116 MACARTHUR DR                                              JANESVILLE         WI         53548                 6004                Various                                                                                               $39.40
RACHAL KARSTENS               117 TERRI LANE                                                 MANKATO            MN         56001                 6004                Various                                                                                                $3.00
RACHEAL DAGENAIS              3706 EAST WICKLOW AVENUE                                       NAMPA              ID         83686                 6004                Various                                                                                               $20.00
RACHEAL LUNDIN                5136 STEMILT HILL                                              WENATCHEE          WA         98801                 6004                Various                                                                                               $47.52
RACHEL A BACH                 1223 W BIG HILL RD                                             BELOIT             WI         53511                 6002                Various                                                                                                $8.44
RACHEL AGUIRRE                2531 S 24TH STREET APT #2                                      OMAHA              NE         68108                 6004                Various                                                                                                $4.00
RACHEL ALLEN                  413 PINK ALLEY                                                 MURRAYVILLE        IL         62668                 6004                Various                                                                                               $29.00
RACHEL BELFLOWER              6406 DORIAN ST                                                 BOISE              ID         83709                 6004                Various                                                                                               $34.98
RACHEL BRAUN                  514 GRANT AVENUE                                               MANKATO            MN         56003                 6004                Various                                                                                               $20.00
RACHEL BREWER                 1440 LINSEY BLV                                                IDAHO FALLS        ID         83404                 6002                Various                                                                                                $5.81
RACHEL BUCK                   2670 HOARD ST                                                  MADISON            WI         53704                 6002                Various                                                                                                $4.77
RACHEL BUTTS                  374 N MAIN ST                                                  WILLARD            UT         84340                 6002                Various                                                                                                $2.49
RACHEL CAMPBELL               410 NW DENNY CIRCLE                                            PULLMAN            WA         99163                 6004                Various                                                                                                $3.20

RACHEL CHANCE                 2521 10TH STREET APT 129                                       WISCONSIN RAPIDS   WI         54494                  6002               Various                                                                                                $1.00
RACHEL CRISSMAN               220 4TH ST.                                                    IPSWICH            SD         57451                  6004               Various                                                                                               $23.00
RACHEL D PEERY                506 S WATER ST                                                 GALLATIN           MO         64640                  6002               Various                                                                                               $10.00
RACHEL DAHLKE                 275 ADAMS ST                                                   AFTON              WY         83110                  6002               Various                                                                                                $6.88
RACHEL DAY                    1818 W PERSHING ST #4                                          APPLETON           WI         54915                  6004               Various                                                                                               $25.00
RACHEL DELAY                  1904 CHARLOTT AVE                                              MISSOULA           MT         59801                  6004               Various                                                                                               $24.00
RACHEL E GRIFFIN              902 SUPERIOR AVE                                               OCONTO             WI         54153                  6002               Various                                                                                                $5.01
RACHEL EASTGATE               403 HIGHWAY 35 N                                               HUDSON             WI         54016                  6002               Various                                                                                                $8.08
RACHEL ECKLES                 2901 SOUTH 60TH ST                                             OMAHA              NE         68106                  6004               Various                                                                                               $40.00

RACHEL EDWARDS                97 EASTWOOD WAY P O BOX # 13                                   THAYNE             WY         83127                  6002               Various                                                                                                $6.36
RACHEL ERICKSON               830 N 3RD ST                                                   LANDER             WY         82520                  6002               Various                                                                                                $7.10
RACHEL EVANS                  2078 SHERRY DR                                                 TWIN FALLS         ID         83301                  6002               Various                                                                                                $3.89
RACHEL FASHING                2560 NEW TOWN DR. APT 305                                      SUN PRAIRIE        WI         53590                  6004               Various                                                                                               $21.00
RACHEL FINCH                  50237 251ST AVENUE                                             MADISON LAKE       MN         56063                  6004               Various                                                                                                $3.00
RACHEL FRAZER                 5245 12TH ROAD                                                 ESCANABA           MI         49829                  6004               Various                                                                                               $10.00
RACHEL GRUETT                 711 MARTIN STREET            APT 7                             MERRILL            WI         54452                  6004               Various                                                                                               $23.00
RACHEL HADDEN                 404 HILAND AVE                                                 RED OAK            IA         51566                  6002               Various                                                                                                $0.60
RACHEL HAHN                   4302 SCHOOL RD                                                 MADISON            WI         53704                  6004               Various                                                                                                $4.00
RACHEL HANZEK                 209 MATHEWSON                                                  MENASHA            WI         54952                  6004               Various                                                                                               $10.00
RACHEL HARDIN                 2000 WYATT AVE                                                 STEVENS POINT      WI         54481                  6002               Various                                                                                                $3.10
RACHEL HIETPAS                905 EDEN AVE                                                   KAUKAUNA           WI         54130                  6004               Various                                                                                               $25.00
RACHEL HJORT                  308 CUSTER CT                                                  GREEN BAY          WI         54301                  6002               Various                                                                                                $4.99
RACHEL HOLMQUIST              30 W CHUBBUCK RD APT A4                                        POCATELLO          ID         83202                  6002               Various                                                                                               $18.49
RACHEL HURKMANS               5361 SPIDER LAKE RD                                            RHINELANDER        WI         54501                  6004               Various                                                                                               $14.98
RACHEL KALLAS                 W142 WELSCH RD                                                 WINNECONNE         WI         54986                  6004               Various                                                                                                $8.00
RACHEL KARLI HOWARD           962 HILLVIEW RD                                                BRIGHAM CITY       UT         84302                  6002               Various                                                                                                $3.84
RACHEL KOBS                   116 PARKWAY DR                                                 COMBINED LOCKS     WI         54113                  6002               Various                                                                                                $4.90
RACHEL KRAMER                 1569 1/2 MORROW ST                                             GREEN BAY          WI         54302                  6004               Various                                                                                                $1.20




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RACHEL KRIST YATSO             1752 BURGOYNE CT APT 25                                            DE PERE          WI         54115                 6002                Various                                                                                                $9.59
RACHEL L MCBRYANT              802 BEAUFORT ST APT 3                                              LARAMIE          WY         82072                 6002                Various                                                                                                $8.49
RACHEL L. MAXWELL              8715 LAUZON LN                                                     BILLINGS         MT         59101                 6002                Various                                                                                                $0.93
RACHEL LEEAN HEILIG            6107 PEIRCE ST                                                     OMAHA            NE         68106                 6004                Various                                                                                               $30.00

RACHEL LOOK                    335 SUTHERLAND HALL HILLTOP                                        EAU CLAIRE       WI         54701                  6002               Various                                                                                             $4.79
RACHEL MASCH                   PO BOX 90                                                          LAVEEN           AZ         85339                  6002               Various                                                                                             $6.82
RACHEL MATZEK                  329 N GRANT ST                                                     ELLSWORTH        WI         54011                  6002               Various                                                                                             $0.27
RACHEL MILLER                  1756 PATRIOT WAY                                                   DE PERE          WI         54115                  6004               Various                                                                                            $10.00
RACHEL MOORE                   419 WEBSTER ST                                                     BELVIDERE        IL         61008                  6004               Various                                                                                             $7.94
RACHEL NAFUS                   906 BAKER AVE                                                      SALMON           ID         83467                  6002               Various                                                                                             $9.10
RACHEL NEELY                   2398 CTY HWY D                                                     ELAND            WI         54427                  6004               Various                                                                                             $1.82
RACHEL NIEVES                  2227 PRAIRIE AVENUE                                                BELOIT           WI         53511                  6004               Various                                                                                            $10.00
RACHEL NIICHEL                 205 FRANKLIN ST                                                    SANBORN          IA         51248                  6002               Various                                                                                             $5.07
RACHEL OLSON                   107 6TH ST SW                                                      ROSEAU           MN         56751                  6002               Various                                                                                             $1.40
RACHEL PETERSON                615 BERLIN STREET                                                  WAUPACA          WI         54981                  6004               Various                                                                                            $23.00
RACHEL PINKSTON                2437 NW 8TH ST                                                     REDMOND          OR         97756                  6004               Various                                                                                            $60.02
RACHEL RAND                    117 #B E. 16TH AVE                                                 KENNEWICK        WA         99337                  6004               Various                                                                                            $42.03
RACHEL REUTER                  6359 230TH ST                                                      MELVIN           IA         51350                  6002               Various                                                                                             $7.07
RACHEL ROMAN                   6763 HAMMERSLY RD                                                  MADISON          WI         53711                  6002               Various                                                                                             $6.00
RACHEL RYE                     631 S PENNSYLVAINIA AVE                                            MASON CITY       IA         50401                  6002               Various                                                                                             $3.84
RACHEL SCHACHT                 1893 ENCHANTMENT DR                                                EUGENE           OR         97402                  6004               Various                                                                                             $4.00
RACHEL SCHAUB                  22735 TIGHTLINE RD                                                 NEW UNDERWOOD    SD         57761                  6002               Various                                                                                             $8.99
RACHEL SCHMITT                 555 GRAND AVE                                                      RANDOM LAKE      WI         53075                  6004               Various                                                                                            $41.00
RACHEL SCHNEIDER               1944 VANDERWALL STREET                                             MOSINEE          WI         54455                  6004               Various                                                                                            $56.00
RACHEL SCHNURBUSCH             4710 LEO DR.                                                       MADISON          WI         53716                  6004               Various                                                                                             $5.40
RACHEL SCHUMACHER              314 NAYMUT ST                                                      MENASHA          WI         54952                  6004               Various                                                                                            $44.00
RACHEL SEABOLD                 2920 23RD AVE                                                      MILWAUKEE        WI         53202                  6004               Various                                                                                            $10.00
RACHEL STEUER                  2417 DAMON ST                                                      EAU CLAIRE       WI         54701                  6004               Various                                                                                             $5.00
RACHEL SWEENEY                 3001 OAK TREE AVE             APT # S1                             NORMAN           OK         73072                  6004               Various                                                                                            $33.00
RACHEL TONN                    1504 SUPERIOR                                                      OCONTO           WI         54153                  6004               Various                                                                                            $10.00
RACHEL VONDERLINDE             W290 N3642 TALL TREE FORT                                          PEWAUKEE         WI         53072                  6004               Various                                                                                            $20.00
RACHEL WELLS                   2610 22ND AVE                                                      HOLDREGE         NE         68949                  6002               Various                                                                                             $6.71
RACHEL WERNER                  824 S GARFIELD AVE                                                 SIOUX FALLS      SD         57104                  6004               Various                                                                                            $23.50
RACHEL WHITE                   2660 MEADOWLARK DR                                                 KRONENWETTER     WI         54455                  6004               Various                                                                                            $44.51
RACHEL WOLFE-MORALES           RR 2 BOX 3802                                                      DONIPHAN         MO         63935                  6002               Various                                                                                             $5.07
RACHEL WOLLMAN                 35227 290TH ST                                                     HENDERSON        MN         56044                  6004               Various                                                                                             $3.06
RACHEL ZIMMERMAN               617 S 7TH ST                                                       WATERTOWN        WI         53094                  6002               Various                                                                                             $5.34
RACHEL(AMM-P WELLS             317 GRAHAM ST                                                      RACINE           WI         53405                  6002               Various                                                                                             $6.03
RACHELL KUNTZ                  10955 HIGHWAY 93 N                                                 MISSOULA         MT         59808                  6002               Various                                                                                             $3.73
RACHELL LIPPENS                6096 23RD LN                                                       GLADSTONE        MI         49837                  6002               Various                                                                                             $8.71
RACHELLE BODEN                 611 EAST WILLOW CIRCLE                                             MIDDLETON        ID         83644                  6004               Various                                                                                             $9.98
RACHELLE CORREA                567 8TH AVE S                                                      SHELBY           MT         59474                  6002               Various                                                                                             $2.68
RACHELLE L BROWN               PO BOX 5389 PMB 251                                                ETNA             WY         83118                  6002               Various                                                                                             $8.88
RACHELLE MCPHERSON             2932 RIVERBOTTOM RD.                                               ELLENSBURG       WA         98926                  6004               Various                                                                                             $5.00
RACINE FAMILY                  6746 OAK DR # 23.7                                                 GLADSTONE        MI         49837                  6002               Various                                                                                             $1.53
RACQUEL AFRAIDOFBEAR           136 WARDANCE CIRCLE                                                POCATELLO        ID         83202                  6004               Various                                                                                            $15.03
RACQUEL NELSON                 560 AMBROSE CREEK RD                                               STEVENSVILLE     MT         59870                  6004               Various                                                                                             $2.00
RACQUEL WOODFORD               149 BLACK EAGLE RD                                                 GREAT FALLS      MT         59404                  6002               Various                                                                                             $6.03
RADIAL                         PO BOX 204113                                                      DALLAS           TX         75320-4114             5595               Various                                                                                       $235,864.28
RAE ANN PRICE                  1806 CARLISLE AVE                                                  RACINE           WI         53404                  6004               Various                                                                                             $1.00
RAE JOHNSON                    330 N MAIN ST                                                      CRAIG            NE         68019                  6002               Various                                                                                             $7.40
RAE LEE RYDER                  204 OLDE PULLEY LANE          APT C                                MENASHA          WI         54952                  6004               Various                                                                                             $1.00
RAE LYNN MARS                  502 W CHARLES                                                      GRAND ISLAND     NE         68801                  6004               Various                                                                                             $2.00




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                                                                               Schedule E/F: Part 2 - Creditors With Nonpriority Unsecured Claims




                                                                                                                                                                                                                                      Claim subject to offset?
                                                                                                                                                                                                            Unliquidated
                                                                                                                                                                                               Contingent


                                                                                                                                                                                                                           Disputed
                                                                                                                                                      Last 4 Digits of     Date Debt was
                                                                                                                                                         Account         Incurred, Basis for
             Creditor Name                    Address1              Address2           Address3             City       State           Zip   Country     Number                Claim                                                                             Total Claim
RAECHEL BRUESEWITZ                305 4TH STREET                                                    GRAFTON         IA         50440                 6004                Various                                                                                               $30.00
RAECHEL ROUGHT                    6304 RAYMOND ROAD                                                 MADISON         WI         53713                 6004                Various                                                                                                $1.00
RAELEAN HYDE                      423 16TH AVE                                                      NEKOOSA         WI         54457                 6002                Various                                                                                                $3.61
RAELEIGH MOE                      210 WEST AVE NORTH                                                LA CROSSE       WI         54601                 6004                Various                                                                                               $25.00
RAELENE BECKSTROM                 8264 S 1750 W                                                     WEST JORDAN     UT         84088                 6004                Various                                                                                               $10.08
RAELYN MARTIN                     1426 26TH ST NW                                                   ROCHESTER       MN         55901                 6002                Various                                                                                                $9.01
RAFAEL BACHILLER-FIGUERAS         1807 12TH ST,                                                     MENOMINEE       MI         49858                 6004                Various                                                                                               $49.99
RAFAEL BRAVO                      4386 5TH RD.                                                      POUND           WI         54161                 6004                Various                                                                                                $2.22
RAFAEL ENRIQ FIGUERAS             1807 12TH ST                                                      MENOMINEE       MI         49858                 6002                Various                                                                                                $3.89
RAFAEL HERNANDEZ                  212 S 7TH ST                                                      DELAVAN         WI         53115                 6002                Various                                                                                                $5.86
RAFAEL MARTINEZ                   513 LONE EAGLE DR                                                 MADISON         WI         53713                 6004                Various                                                                                                $4.00
RAFAEL MOLINA                     408 BARNES ST                                                     IDA GROVE       IA         51445                 6002                Various                                                                                                $9.23

RAFAEL PEREZ                      140 WEST SCHOOL STREET #213                                       SHARON          WI         53585                  6004               Various                                                                                               $11.91
RAFAEL RESTREPO                   726 MILKY WAY                                                     MADISON         WI         53718                  6004               Various                                                                                               $30.00
RAFAEL RODRIGUEZ-CERVANTES        P.O. BOX 45                                                       PALMYRA         WI         53156                  6004               Various                                                                                                $2.00
RAFAEL SANCHEZ                    311 1/2 ELM ST.                                                   WAUSAU          WI         54401                  6004               Various                                                                                                $3.00
RAFAELA VELAZCO-MERIONO           271 E 700TH N                                                     OREM            UT         84057                  6002               Various                                                                                                $6.36
RAFERTY REDDIES                   741 4TH AVE S                                                     GLASGOW         MT         59230                  6002               Various                                                                                                $1.12
RAHO OMER                         412 14TH ST SE                APT 202                             ROCHESTER       MN         55904                  6004               Various                                                                                                $3.00
                                  ATTN ALTERNATIVE ENERGY
RAILROAD COMMISSION OF TEXAS      DIVISION                      PO BOX 12967                        AUSTIN          TX         78711-2967              8703              Various                                                                                               $50.00
RAIN(FELINE) CHOUINARD            7498 C M RD # 426                                                 GLADSTONE       MI         49837                   6002              Various                                                                                                $4.08
RAINA STRONG                      9261 CADY AVE                                                     OMAHA           NE         68134                   6004              Various                                                                                               $15.00
                                                                LOCKBOX #530110
                                                                PHOENIX BUSINESS 1669 PHOENIX
RAINBOW LIGHT NUTRITIONAL SYST    PNC BANK C/O WELLNEXT LLC     PARK             PARKWAY STE 210    COLLEGE PARK    GA         30349                   2150              Various                                                                                         $4,160.65
                                  224 MEADOWS LN PO BOX #
RAINEY E JENSEN                   1102                                                              AFTON           WY         83110                  6002               Various                                                                                                $6.68
RAINIE LITTLEGEORGE               6089 KENNEDY ST LOT 7                                             AUBURNDALE      WI         54412                  6004               Various                                                                                                $3.00
RAJA KEYES                        2900 E ST                                                         LINCOLN         NE         68510                  6004               Various                                                                                                $2.00
RAJEE AUGUSTINE                   6719 HINEBAUGH AVE                                                OMAHA           NE         68104                  6002               Various                                                                                               $10.00
RAJESH SHARMA                     12411 S 217TH ST                                                  GRETNA          NE         68028                  6004               Various                                                                                               $20.00
RAJSHREE PATEL                    2101 GRAND AVE                                                    WAUSAU          WI         54403                  6004               Various                                                                                               $50.00
RALEIGHS ACE HARDWARE             2525 BRIDGE AVENUE                                                ALBERT LEA      MN         56007                  5575               Various                                                                                               $28.03
RALENE DUNN                       1350 CHERRY ST                                                    PLAIN           WI         53577                  6004               Various                                                                                               $30.60
RALPH ABBOTT                      1457 LINDA AVE                                                    MENASHA         WI         54952                  6002               Various                                                                                                $6.47
RALPH BERGIN                      1561 N 15TH ST                                                    SHEBOYGAN       WI         53081                  6002               Various                                                                                                $7.56
RALPH BRADT                       1502 12TH AVE                                                     MONROE          WI         53566                  6002               Various                                                                                                $1.94
RALPH C AMUNDSON                  9147 US HIGHWAY 53                                                FALL CREEK      WI         54742                  6002               Various                                                                                                $8.30
RALPH DAVIS                       902 S PROSPECT ST                                                 GALLATIN        MO         64640                  6002               Various                                                                                               $14.33
RALPH ECKER                       7690 PARK LN                                                      ARPIN           WI         54410                  6004               Various                                                                                               $34.98
RALPH ERVIN BEYER                 510 HYCREST DR                                                    BLACK CREEK     WI         54106                  6002               Various                                                                                                $5.75
RALPH FELD                        16498 CO. RD 160                                                  COLD SPRING     MN         56320                  6004               Various                                                                                                $2.94
RALPH GLENZ                       1981 220TH ST                                                     CADOTT          WI         54727                  6002               Various                                                                                                $2.22
RALPH GOWAN                       BOX 127                                                           SPRAGUE         MB         56751                  6002               Various                                                                                                $2.90
RALPH GROHS                       160 ELDORADO DR.                                                  PASCO           WA         99301                  6004               Various                                                                                               $20.87
RALPH HAGER                       517 CHICAGO AVE                                                   WAUSAU          WI         54403                  6004               Various                                                                                                $3.00
RALPH JOHNSON                     225 E 22ND ST                                                     CRETE           NE         68333                  6002               Various                                                                                                $2.88
RALPH KLEI                        2016 N SYRINGA DR                                                 COEUR D ALENE   ID         83814                  6002               Various                                                                                                $0.63
RALPH KOENIGSFELD                 805 W MAIN ST APT 6                                               NEW HAMPTON     IA         50659                  6002               Various                                                                                                $6.25
RALPH LEE                         707 1ST EAST                  PO BOX 34                           ROUNDUP         MT         59072                  6002               Various                                                                                                $2.08
RALPH MCNEIL                      5701 S COUNTY ROAD J                                              JANESVILLE      WI         53546                  6002               Various                                                                                                $1.81
RALPH MICHAE MONTOYA              122 E MILLER ST #26                                               RAWLINS         WY         82301                  6002               Various                                                                                                $4.11




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                                                                                                                                                     Last 4 Digits of     Date Debt was
                                                                                                                                                        Account         Incurred, Basis for
             Creditor Name                    Address1            Address2          Address3               City       State           Zip   Country     Number                Claim                                                                             Total Claim
RALPH MTM HOLBROOK                12589 POND VIEW RD                                              ZIMMERMAN        MN         55398                 6002                Various                                                                                             $4.38
RALPH MURRE                       PO BOX 684                                                      BAILEYS HARBOR   WI         54202                 6002                Various                                                                                             $2.08
RALPH OAKEY                       709 W 2ND AVE                                                   FLANDREU         SD         57208                 6004                Various                                                                                            $21.25
RALPH PROBST                      N619 MILITARY RD                                                SHERWOOD         WI         54169                 6002                Various                                                                                             $9.84
RALPH RAMSEIER                    4522 ANDREW ST                                                  OSHKOSH          WI         54904                 6002                Various                                                                                             $8.33
RALPH SCHANAU                     247 RANDALL PLACE                                               ELKHORN          WI         53121                 6004                Various                                                                                            $10.00
RALPH SCHMAL                      2032 SOUTHLAND LN                                               NEW LONDON       WI         54961                 6002                Various                                                                                             $1.62
RALPH WELTER                      N598 TREWYN RD                                                  WHITEWATER       WI         53190                 6002                Various                                                                                             $9.67
RALPH WILLIAMS                    4706 SIGGELKOW ROAD                                             MC FARLAND       WI         53558                 6004                Various                                                                                            $29.00
RAMI SHARP                        513 N GOVERNMENT ST                                             VALENTINE        NE         69201                 6002                Various                                                                                             $4.63
RAMIRO ALARCON                    707 S 10TH STREET                                               NORFOLK          NE         68701                 6004                Various                                                                                            $27.01
RAMIRO GALVEZ                     707 PEARL ST                                                    BELVIDERE        IL         61008                 6004                Various                                                                                             $5.00
RAMIRO JAUREGUI                   3313 COUNTY HIGHWAY F                                           FISH CREEK       WI         54212                 6002                Various                                                                                             $6.36
RAMON BORUNDA                     702 SW STREET                                                   ANDREWS          TX         79714                 6002                Various                                                                                             $6.44
RAMON DEMARCE                     PO BOX 108                                                      ROSEBUD          SD         57570                 6002                Various                                                                                             $6.36
RAMON HERNANDEZ                   413 S MAIN ST                                                   WEST POINT       NE         68788                 6002                Various                                                                                             $0.36
RAMON JASSO                       715 MADISON DR                                                  DELAVAN          WI         53115                 6004                Various                                                                                             $1.98
RAMON NATIVIDAD DURAN             1618 MARION RD SE TRLR 41                                       ROCHESTER        MN         55904                 6002                Various                                                                                             $3.81
RAMON SELVERA                     722 GROVE STREET                                                DELAVAN          WI         53115                 6004                Various                                                                                            $15.00
RAMON VALENTIN                    1008 13TH AVE                                                   MENOMINEE        MI         49858                 6004                Various                                                                                            $12.00
RAMONA AITKEN                     684 WEST 800NORTH           APT 52                              CLINTON          UT         84015                 6004                Various                                                                                            $20.00
RAMONA BAILEY                     4505 PHILLIPS STREET                                            BILLINGS         MT         59101                 6004                Various                                                                                            $10.00
RAMONA BUTTARS                    2882 W 4600TH S                                                 WESTON           ID         83286                 6002                Various                                                                                             $3.86
RAMONA MENDOZA                    5293 SO W # 5240                                                SALT LAKE CITY   UT         84118                 6002                Various                                                                                             $6.52
RAMONA SMITH                      1220 N LLOYD ST                                                 ABERDEEN         SD         57401                 6002                Various                                                                                             $8.44
RAMONA STRAND                     420 LUM AVE                                                     WATERLOO         WI         53594                 6002                Various                                                                                             $7.34
RAMONA WARD                       19 7TH AVE NE                                                   WAUKON           IA         52172                 6002                Various                                                                                             $2.90
RAMONE MILES                      24080 534TH AVE                                                 AUSTIN           MN         55912                 6004                Various                                                                                             $6.00
RAMOS LANDSCAPING PLUS LLC        PO BOX 969                                                      QUNICY           WA         98848                 9964                Various                                                                                           $609.63

RAMOS/ GUMER J                    STORE 2-120                 SHOPKO EMPLOYEE                     GREEN BAY        WI         54307-9060              8669              Various                                                                                               $10.80
RAMSEY FALTISEK                   11565 ACORN RD                                                  PRINCETON        MN         55371                   6004              Various                                                                                                $3.00
RAMSEY FAMILY                     14522 PATRICK AVE                                               OMAHA            NE         68116                   6002              Various                                                                                                $4.63
RAMSEY JR WORMAN                  1105 E. CEDAR RIDGE RD                                          SANDY            UT         84094                   6004              Various                                                                                                $4.80

RAMSEY/ PATTY                     STORE 596                   SHOPKO EMPLOYEE 1208 N HIGHWAY 77   DELL RAPIDS      SD         57022-0000             2878               Various                                                                                            $31.64
RANA SHAW                         414 SUNRISE CT                                                  SIDNEY           MT         59270                  6002               Various                                                                                             $1.23
RANAE STEWART                     N699 COUNTY ROAD H                                              MONDOVI          WI         54755                  6004               Various                                                                                             $5.00
RANAE VOSKUHL                     713 5TH ST                                                      LANSE            MI         49946                  6002               Various                                                                                             $8.30
RANAE WALTER                      N4852 470TH ST                                                  MENOMONIE        WI         54751                  6004               Various                                                                                            $64.00
RAND FAMILY                       360 WOODLAND HILLS RD                                           HELENA           MT         59602                  6002               Various                                                                                             $5.95
RANDA ACCESSORIES (LA)            PO BOX 93474                                                    CHICAGO          IL         60673-3474             6774               Various                                                                                        $77,469.57
RANDA ALI                         510 3RD AVE SE                                                  ROCHESTER        MN         55904                  6004               Various                                                                                             $3.00
RANDAHL D. WEBBER                 9358 30TH ST SE                                                 EYOTA            MN         55934                  6002               Various                                                                                             $3.45
RANDAL HERAN                      308 E STRATFORD LN                                              APPLETON         WI         54913                  6004               Various                                                                                             $8.06
RANDAL SOPER                      420 STONE ST                                                    WAUSAU           WI         54401                  6004               Various                                                                                             $2.00
RANDALIN SCHWARTZ                 1000 SOUTH 20TH                                                 QUINCY           IL         62301                  6004               Various                                                                                             $2.22
RANDALL A WARREN                  305 CLARK ST                                                    ALBANY           MO         64402                  6002               Various                                                                                             $6.99
RANDALL BAKER                     5921 MORGO DR                                                   LINCOLN          NE         68510                  6004               Various                                                                                             $6.69
RANDALL BROWN                     1817 JENIFER ST                                                 MADISON          WI         53704                  6004               Various                                                                                            $22.50
RANDALL BUCKINGHAM                117 RANDALL AVENUE          APT A                               RHINELANDER      WI         54501                  6004               Various                                                                                            $27.50
RANDALL C HERMAN                  236 S MADISON ST                                                PILGER           NE         68768                  6002               Various                                                                                             $3.84
RANDALL COMMUNITY WATERS DEPAR    445 MAIN STREET             PO BOX 37                           LAKE ANDES       SD         57356                  9172               Various                                                                                          $139.00
RANDALL DUNN                      PO BOX 244                                                      ALLEN            NE         68710                  6002               Various                                                                                             $2.19




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             Creditor Name                Address1       Address2        Address3             City        State           Zip   Country     Number                Claim                                                                             Total Claim
RANDALL GERSTNER              W4445 BANECK LN                                         WATERTOWN        WI         53094                 6002                Various                                                                                             $5.32
RANDALL GRUENWALD             202 N SMITH                                             CLARK            SD         57225                 6004                Various                                                                                           $195.00
RANDALL HANSON                805 DICKINSON AVE                                       EDGERTON         WI         53534                 6004                Various                                                                                             $4.00
RANDALL HARTLAUB              11704 MARKEN RD                                         KIEL             WI         53042                 6004                Various                                                                                             $5.00
RANDALL HOEFT                 1721 SAST APT D1                                        OSHKOSH          WI         54902                 6004                Various                                                                                             $3.80
RANDALL KEMPEMA               421 OXFORD ST                                           WORTHINGTON      MN         56187                 6002                Various                                                                                             $8.66
RANDALL KNOELL                521 DAMON ST                                            COUNCIL BLUFFS   IA         51503                 6002                Various                                                                                             $3.53
RANDALL LEHMAN                1430 TORUN RD TRLR 224                                  STEVENS POINT    WI         54482                 6002                Various                                                                                             $1.15
RANDALL LUNDHOLM              610 CLEVELAND AVE                                       ISHPEMING        MI         49849                 6004                Various                                                                                            $24.98
RANDALL MAYNARD               205 W PECKAM                                            NEENAH           WI         54956                 6002                Various                                                                                             $7.34
RANDALL MOEHR                 419 S MADISON ST                                        CHILTON          WI         53014                 6002                Various                                                                                             $9.89
RANDALL MUNDT                 3119 SHERMAN ST                                         EAU CLAIRE       WI         54701                 6002                Various                                                                                             $9.40
RANDALL P. FAUST              313 15TH AVE                                            GREEN BAY        WI         54303                 6002                Various                                                                                             $8.71
RANDALL PERRY                 HIGHWAY 237 # 777                                       AFTON            WY         83110                 6002                Various                                                                                             $7.64
RANDALL PRIOR                 808 N C ST                                              MONMOUTH         IL         61462                 6002                Various                                                                                             $8.49
RANDALL RAITH                 610 GRACE ST                                            WAUPUN           WI         53963                 6004                Various                                                                                            $24.00
RANDALL RUNKE                 88802 CTY # 24                                          STEWART          MN         55385                 6002                Various                                                                                             $7.29
RANDALL SCHULZ                418 ABE CT                                              SEYMOUR          WI         54165                 6002                Various                                                                                             $7.40
RANDALL SHESTO                W1146 MARIETTA AVE                                      IXONIA           WI         53036                 6004                Various                                                                                             $2.00
RANDALL SPRECKELS             320 W HYNES AVE APT 23                                  ONEILL           NE         68763                 6002                Various                                                                                             $2.66
RANDALL STEFFEN               N63W23796 PEMBROOKE ST                                  SUSSEX           WI         53089                 6002                Various                                                                                             $0.55
RANDALL WILLHITE              2370 S VAN BROCKLYN                                     FREEPORT         IL         61032                 6004                Various                                                                                             $1.33
RANDEL L VANBLARICOM          224 N 4TH AVE                                           EDGAR            WI         54426                 6002                Various                                                                                             $0.55
RANDI BAKER                   243 W TROY ST                                           KUNA             ID         83634                 6002                Various                                                                                             $5.92
RANDI DOLLARD                 2810 SPRIGGS DR                                         LANDER           WY         82520                 6002                Various                                                                                             $7.59
RANDI GARCIA                  751 STAFFORD RD                                         JANESVILLE       WI         53546                 6004                Various                                                                                            $67.49
RANDI HOLLANDE                1308 N LEONA ST                                         APPLETON         WI         54911                 6004                Various                                                                                             $4.00
RANDI KEGLEY                  2390 SHERWOOD ST                                        BROOK PARK       MN         55007                 6002                Various                                                                                             $2.47
RANDI KUSMITCH                2132 TOBYS RD                                           NIAGARA          WI         54151                 6002                Various                                                                                             $4.05
RANDI MANN                    1868 LITTLE VALLEY CT                                   DE PERE          WI         54115                 6002                Various                                                                                             $7.26
RANDI R THOMPSON              222 MAIN AVE                                            SISSETON         SD         57262                 6002                Various                                                                                             $6.71
RANDILYN VINNEY               1101 LEXINGTON WAY                                      WATERLOO         WI         53594                 6004                Various                                                                                             $1.00
RANDOLPH ALSTON               853 9TH AVE SE                                          ROCHESTER        MN         55904                 6004                Various                                                                                            $71.00
RANDOLPH FULLER               3110 N 40TH ST STE C                                    LINCOLN          NE         68504                 6002                Various                                                                                             $5.32
RANDOLPH L MILLER             5639 KENNY DR                                           WEST BEND        WI         53095                 6002                Various                                                                                             $7.29
RANDOLPH MILLER               408 20TH ST SW                                          ROCHESTER        MN         55902                 6004                Various                                                                                             $3.00
RANDY # BOETTGER              821 SO DEWEY                                            NORTH PLATTE     NE         69101                 6002                Various                                                                                             $7.21
RANDY (WYATT) GOODELL         1923 N 2000 W                                           OGDEN            UT         84404                 6004                Various                                                                                            $10.00
RANDY B MCQUAY                310 S F ST                                              LIVINGSTON       MT         59047                 6002                Various                                                                                             $6.25
RANDY BABBITT                 1184 GEM ST                                             TWIN FALLS       ID         83301                 6002                Various                                                                                             $2.58
RANDY BERNARD                 1499 HIGHWAY 275                                        WEST POINT       NE         68788                 6002                Various                                                                                             $7.48
RANDY BERSCH                  N71W25100 STATE ROAD 164                                SUSSEX           WI         53089                 6002                Various                                                                                             $8.88
RANDY BLIFFERT                915 S MAIN ST                                           FORT ATKINSON    WI         53538                 6002                Various                                                                                             $0.68
RANDY BOWDIN                  39 MAPLE GROVE DRIVE                                    JEFFERSON        WI         53549                 6004                Various                                                                                             $5.70
RANDY BRANNICK                59 PONDEROSA TRAILER CT                                 ZUMBROTA         MN         55992                 6002                Various                                                                                             $5.84
RANDY BUGGELN                 1017 6TH AVE                                            MCPHERSON        KS         67460                 6002                Various                                                                                             $3.23
RANDY CARMON                  11209 E. 22ND AVE.                                      SPOKANE          WA         99206                 6004                Various                                                                                            $91.98
RANDY CHRISTIANSEN            5211 S SHORE DR                                         CHESTER          SD         57016                 6002                Various                                                                                             $0.30
RANDY CRANDALL                905 4TH AVE N                                           WHEATON          MN         56296                 6002                Various                                                                                             $1.32
RANDY CURRY                   3116 BERMUDA ST                                         MALAGA           WA         98828                 6004                Various                                                                                            $23.00
RANDY D BERGET                25933 110TH ST NW                                       SUNBURG          MN         56289                 6002                Various                                                                                             $1.95
RANDY DAVIS                   P.O. BOX 696                                            MASON CITY       IA         50402                 6004                Various                                                                                             $3.00
RANDY DVORAK                  505 1/2 5TH ST                                          GOTHENBURG       NE         69138                 6002                Various                                                                                             $2.49
RANDY EGGERS                  524 H RD                                                WISNER           NE         68791                 6002                Various                                                                                             $1.42




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             Creditor Name                Address1               Address2          Address3              City       State           Zip   Country     Number                Claim                                                                             Total Claim
RANDY ERICKSON                N4602 FELDT RD                                                    MONROE           WI         53566                 6002                Various                                                                                                $6.11
RANDY EUSTANCE                4440 LOWER RIVER RD                                               GREAT FALLS      MT         59405                 6002                Various                                                                                                $0.77
RANDY GOTTULA                 2703 ABBOTT ST                                                    FALLS CITY       NE         68355                 6002                Various                                                                                                $1.42
RANDY GREANYA                 1112 HICKORY ISLAND RD                                            STANDISH         MI         48658                 6002                Various                                                                                                $6.30
RANDY GRIMM                   212 N ST CHARLES # 6                                              SALMON           ID         83467                 6002                Various                                                                                                $7.01
RANDY GUTSCHOW                1415 KENSINGTON AVE                                               PLYMOUTH         WI         53073                 6004                Various                                                                                               $10.00
RANDY GUYETTE                 1031 HUNT ST APT 7                                                NEENAH           WI         54956                 6004                Various                                                                                               $20.00
RANDY H GARDNER               6522 S 3380TH W                                                   SALT LAKE CITY   UT         84129                 6002                Various                                                                                                $3.81
RANDY HAMM                    PO BOX 43                                                         WITHEE           WI         54498                 6002                Various                                                                                                $7.92
RANDY HANSEN                  820 E STREET LOT 102                                              HOLDREGE         NE         68949                 6002                Various                                                                                                $5.01
RANDY HIGGINS                 30 E 1ST ST                                                       CLINTONVILLE     WI         54929                 6002                Various                                                                                                $7.40
RANDY J LUBINS                32650 389TH PLR                                                   AITKIN           MN         56431                 6002                Various                                                                                                $9.21
RANDY J SCHRAMKE              1761 SHAWANO AVE APT 10                                           GREEN BAY        WI         54303                 6002                Various                                                                                                $3.04
RANDY JORGENSEN               3633 N 83RD ST                                                    OMAHA            NE         68134                 6002                Various                                                                                                $6.90
RANDY KARSTEN                 106 JANESVILLE ST #4                                              OREGON           WI         53575                 6004                Various                                                                                                $2.00
RANDY KEESLING                BOX 433 (213 N STATE STREET)                                      CHASE            KS         67524                 6002                Various                                                                                                $2.99
RANDY KEYES                   1930 N 5TH ST                                                     COEUR D ALENE    ID         83814                 6002                Various                                                                                                $4.00
RANDY L SPENCER               HC 6 BOX 277                                                      DONIPHAN         MO         63935                 6002                Various                                                                                                $4.30
RANDY LARSON                  19930 472ND ST                                                    MCGREGOR         MN         55760                 6004                Various                                                                                                $3.00
RANDY LINDAY                  208 W FRANKLIN ST                                                 THORP            WI         54771                 6002                Various                                                                                                $0.85
RANDY LYNN                    1667 RIVERBEND TER # 7                                            GREEN BAY        WI         54311                 6002                Various                                                                                                $5.70
RANDY MAAS                    3296 HIGHWAY 93 N                                                 GIBBONSVILLE     ID         83463                 6002                Various                                                                                                $7.48
RANDY MAITREJEAN              39057 2ND AVE                                                     NORTH BRANCH     MN         55056                 6002                Various                                                                                                $7.95
RANDY MILLER                  400 MONTER ST APT 17                                              LA CROSSE        WI         54603                 6002                Various                                                                                                $2.63
RANDY NEILSON                 2881 S 950TH W                                                    SYRACUSE         UT         84075                 6002                Various                                                                                                $4.33
RANDY O FOLGATE               329 HOLLY AVE                                                     WORLAND          WY         82401                 6002                Various                                                                                                $6.44

                                                             2127 N SAVANNAH
RANDY PETERMANN               APT C                          CIRCLE                             SHEBOYGAN        WI         53081                  6004               Various                                                                                             $5.80
RANDY PETRIE                  W364 G.30 RD                                                      BARK RIVER       MI         49807                  6002               Various                                                                                             $7.15
RANDY PHILLIPS                217 W IRONWOOD DR                                                 COEUR D ALENE    ID         83814                  6002               Various                                                                                            $10.00
RANDY POST                    208 N ELM ST                                                      NEW HAMPTON      MO         64471                  6002               Various                                                                                             $6.11
RANDY REISDORPH               15022 455TH AVE                                                   SUMMIT           SD         57266                  6002               Various                                                                                             $9.37
RANDY S HUTTON                648 US HIGHWAY 67                                                 MURRAYVILLE      IL         62668                  6002               Various                                                                                             $6.08
RANDY SCHNURBUSCH             4710 LEO DR.                                                      MADISON          WI         53716                  6004               Various                                                                                             $5.40
RANDY SEMROW                  530 KRAMER LN                                                     KIMBERLY         WI         54136                  6002               Various                                                                                             $2.52
RANDY SHADDEN                 PO BOX 1239                                                       SPIRIT LAKE      ID         83869                  6004               Various                                                                                            $19.00
RANDY SHORES                  267 HIGHWAY 20 S                                                  GREYBULL         WY         82426                  6002               Various                                                                                             $2.30
RANDY STARK                   221 GROVELAND                                                     LINCOLN          NE         68521                  6004               Various                                                                                             $2.00
RANDY THORESON                2656 18 3/4 ST                                                    RICE LAKE        WI         54868                  6004               Various                                                                                            $25.00
RANDY TOTZKE                  35102 CTY RD # 78                                                 LAKE CITY        MN         55041                  6002               Various                                                                                             $6.27
RANDY VANDEWIELE              1424 5TH AVE                                                      WINDOM           MN         56101                  6002               Various                                                                                             $7.95
RANDY WHIPPLE                 1405 MAIN ST                                                      SALMON           ID         83467                  6002               Various                                                                                             $2.68
RANDY WIEDERHOLT              2394 22 7/8 AVE.                                                  RICE LAKE        WI         54868                  6004               Various                                                                                            $12.52
RANDY WILLMAN                 439 S 2ND AVE E                                                   ELY              MN         55731                  6002               Various                                                                                             $3.75
RANDY WOLFMEYER               2300 OAK STREET                                                   QUINCY           IL         62301                  6004               Various                                                                                            $57.00
RANDY ZACHARIAS               6785 ELTELLE DRIVE                                                RHINELANDER      WI         54501                  6004               Various                                                                                             $2.00
RANDY,SR WEBIE                3010 W LEATHER AVE             LOT 10                             TOMAHAWK         WI         54487                  6004               Various                                                                                             $5.00
RANELLE GRABER                940 KATIE LANE                                                    OREGON           WI         53575                  6004               Various                                                                                            $59.00
RANI M SPANGLER               PO BOX 4                                                          EMMET            NE         68734                  6002               Various                                                                                             $4.08
RANI SMITH                    BOX 1373                                                          AFTON            WY         83110                  6002               Various                                                                                             $1.32
RANS RANCH LLC                7225 JELLISON ROAD                                                BILLINGS         MT         59101                  3693               Various                                                                                           $920.00
RANSOM COUNTY FOOD PANTRY     PO BOX 624                                                        LISBON           ND         58054                  6666               Various                                                                                            $24.97
RAOUL ANDRE LAGANIERE         15 LORETTA DR                                                     WHEATLAND        WY         82201                  6002               Various                                                                                             $1.53




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                                                                                                                                                         Account       Incurred, Basis for
            Creditor Name                     Address1                Address2         Address3             City       State           Zip   Country     Number              Claim                                                                             Total Claim
RAPHAEL JOHNSON                   1651 EDGEWATER DR                                                 LAKE BENTON      MN        56149                 6004              Various                                                                                                $1.97
                                  300 6TH STREET CITY FINANCE                                                                                                          11/20/2018 -
RAPID CITY FINANCE DEPARTMENT     OFFICE, UTILITY BILL DEPT                                         RAPID CITY       SD        57701-2728            7737              12/19/2018                                                                                       $252.19
RAPID RENTAL & SUPPLY INCORPOR    1887 E HWY 2                                                      GRAND RAPIDS     MN        55744                 6762              Various                                                                                          $158.93
RAQUEL FETTER                     N3950 CAMPBELL ST                                                 COLUMBUS         WI        53925                 6002              Various                                                                                             $6.08
RAQUEL GUTIERREZ                  3509 KIPLING DR APT B                                             MADISON          WI        53704                 6004              Various                                                                                             $2.00
RAQUEL HARRIS                     3224 MARY ST APT F4                                               MARINETTE        WI        54143                 6004              Various                                                                                            $20.00
RAQUEL NICIA                      938 HENRY ST.                                                     LAKE GENEVA      WI        53147                 6004              Various                                                                                            $16.25
RAQUEL SANCHEZ                    5634 S 96TH ST                #7B                                 OMAHA            NE        68127                 6004              Various                                                                                             $2.00
RAQUEL SCHLUND                    2224 TERREBONNE DR                                                MOSINEE          WI        54455                 6004              Various                                                                                            $25.00
RARITAN PHARMACEUTICALS INC       8 JOANNA COURT                                                    EAST BRUNSWICK   NJ        08816                 5420              Various                                                                                        $39,720.12
RA'SHAWN STARKS                   3915 N 71 CIRCLE                                                  OMAHA            NE        68104                 6004              Various                                                                                            $13.00
RATH SAM                          412 14TH ST SE                APT 309                             ROCHESTER        MN        55904                 6004              Various                                                                                             $3.00
RAUL MONTOYA                      1519 SHERWOOD ST                                                  WORTHINGTON      MN        56187                 6004              Various                                                                                            $10.00
RAUL RODRIGUEZ                    202 N LOCUST AVE                                                  NEW HAMPTON      IA        50659                 6002              Various                                                                                             $2.85
RAVECA SAV                        12076 HIGHWAY 16                                                  SIDNEY           MT        59270                 6002              Various                                                                                             $5.95
RAVEN CAMARENA                    4552 HARRIS DR                                                    POPLAR GROVE     IL        61065                 6002              Various                                                                                             $9.21
RAVEN CULVER                      1171 88 AVE                   PO BOX 398                          SOMERS           WI        53171                 6004              Various                                                                                             $3.00
RAVEN LEE                         569 WARREN AVE                                                    BELVIDERE        IL        61008                 6004              Various                                                                                             $3.90
RAY ADOLFSON                      W4446 STAR SCHOOL RD                                              WHITEWATER       WI        53190                 6002              Various                                                                                             $3.10
RAY BECHER                        EP1045 HEMLOCK LN                                                 STRATFORD        WI        54484                 6002              Various                                                                                             $6.41
RAY DALEY                         8165 MARKUM CT                                                    BOISE            ID        83704                 6004              Various                                                                                            $10.02
RAY DOHERTY                       415 WILBUR ST                                                     KIMBERLY         WI        54136                 6002              Various                                                                                             $2.82
RAY DREGER                        11861 20TH ST                                                     COLFAX           WI        54730                 6004              Various                                                                                             $7.06
RAY GLASS                         6044 RIVERVIEW RD                                                 PORTERFIELD      WI        54159                 6002              Various                                                                                             $2.79
RAY HALER                         1000 9TH ST S APT 105                                             SAINT JAMES      MN        56081                 6002              Various                                                                                             $0.79
RAY HERBST                        38 LOVERS LN                                                      SALMON           ID        83467                 6002              Various                                                                                             $8.66
RAY METZGER                       334 E ELMORE ST                                                   MANLY            IA        50456                 6002              Various                                                                                             $2.16
RAY MORALES                       1433 LAKEVIEW DR                                                  FORT ATKINSON    WI        53538                 6002              Various                                                                                             $8.90
RAY PLUMB                         ROUTE 2 BOX 4814                                                  DONIPHAN         MO        63935                 6002              Various                                                                                             $5.01
RAY QUECKBORNER                   28500 ELM RD                                                      MILLEDGEVILLE    IL        61051                 6004              Various                                                                                            $38.00
RAY SCHUELER                      414 WEST STREET                                                   BEAVER DAM       WI        53916                 6004              Various                                                                                            $45.00
RAY STRITZEL                      530 S JANESVILLE ST                                               WHITEWATER       WI        53190                 6002              Various                                                                                             $3.07
RAY SUNDE                         619 N DICKISON                                                    COLUMBUS         WI        53925                 6004              Various                                                                                            $39.98
RAYCE BAIRD                       410 W 500TH S APT 104                                             BRIGHAM CITY     UT        84302                 6002              Various                                                                                             $6.60
RAYCHEL OLSEN                     14 E 800TH S                                                      SALEM            UT        84653                 6002              Various                                                                                             $8.14

RAYEL SMITH                       N8173 MC KINLEY BEACH ROAD                                        BEAVER DAM       WI        53916                   6004            Various                                                                                               $39.00
RAYETTA SHARPE                    501 W HIGHWAY 6                                                   EWING            MO        63440                   6002            Various                                                                                                $4.19
RAYLEEN ROGERS                    PO BOX 43                                                         BUFFALO GAP      SD        57722                   6002            Various                                                                                                $1.37
RAYLYN NELSON                     3926 N 2975 W                                                     OGDEN            UT        84404                   6004            Various                                                                                               $10.00
RAYMOND (S) SCHMITZ               44440 N LITTLE PINE RD                                            PERHAM           MN        56573                   6002            Various                                                                                                $0.63
RAYMOND A COOK                    2235 21ST ST                                                      RICE LAKE        WI        54868                   6002            Various                                                                                                $5.89
RAYMOND A HONEYMAN                348 WALNUT ST                                                     BAILEYVILLE      KS        66404                   6002            Various                                                                                                $7.67
RAYMOND ALLMAN                    21 1/2 WEST SPRING ST APT 1                                       CHIPPEWA FALLS   WI        54729                   6004            Various                                                                                                $1.00
RAYMOND BAKER                     785 SHERWOOD FOREST DR                                            WOODVILLE        TX        75979                   6002            Various                                                                                                $9.64
RAYMOND BECK SR                   1130 COUNTY RD C                                                  ARKDALE          WI        54613                   6004            Various                                                                                                $4.01
RAYMOND BOLER                     3222 A ST                                                         LINCOLN          NE        68510                   6002            Various                                                                                                $7.42
RAYMOND CLARK                     3395 W SALIX DR                                                   MERIDIAN         ID        83646                   6002            Various                                                                                                $0.68
RAYMOND CRIPPEN                   1536 DOVER ST                                                     WORTHINGTON      MN        56187                   6002            Various                                                                                                $1.51
RAYMOND DIETZ                     700 CARVER LN                                                     MENASHA          WI        54952                   6002            Various                                                                                                $6.14
RAYMOND EGGERTSEN                 3779 N 2200TH E                                                   FILER            ID        83328                   6002            Various                                                                                                $0.38
RAYMOND EMERSON                   POB 131                                                           PRENTICE         WI        54556                   6002            Various                                                                                               $12.79
RAYMOND FUERSTENBERG              1727 2ND AVENUE                                                   GRAFTON          WI        53024                   6002            Various                                                                                                $3.61




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RAYMOND HEATHMAN                  30892 HWY 730                                                    UMATILLA        OR         97882                 6004                Various                                                                                               $16.00
RAYMOND HOFFMAN                   334 LEE AVE.                                                     BRILLION        WI         54110                 6004                Various                                                                                               $17.04
RAYMOND JUNI NEVINS               1986 GREAT VIEW DR                                               KALISPELL       MT         59901                 6002                Various                                                                                                $3.62
RAYMOND KENDALL                   216 S GARFIELD AVE                                               LYONS           KS         67554                 6002                Various                                                                                                $8.60
RAYMOND KURILLA                   1240 CURRAN ST.                                                  RHINELANDER     WI         54501                 6004                Various                                                                                               $25.00
RAYMOND MCHARDIE                  1096 CYPRESS AVENUE                                              FRIENDSHIP      WI         53934                 6004                Various                                                                                               $51.20
RAYMOND MERKEY                    325 S 600TH E                                                    SMITHFIELD      UT         84335                 6002                Various                                                                                                $4.77
RAYMOND MILLSAP                   510 W 10TH ST                                                    OGALLALA        NE         69153                 6002                Various                                                                                                $8.36
                                  5574 SOUTH BROOKRIDGE APT
RAYMOND MITCHELL                  13A                                                              SALT LAKE       UT         84107                  6004               Various                                                                                            $38.00
RAYMOND MYRE                      307 SMITH ST                                                     THURMAN         IA         51654                  6002               Various                                                                                             $4.71
RAYMOND P ZUELLIG                 1081 BIRCH RD                                                    BEAVERTON       MI         48612                  6002               Various                                                                                             $3.29
RAYMOND PACKER                    90 AGAPE LN                                                      OROFINO         ID         83544                  6002               Various                                                                                             $3.81
RAYMOND PIERCE                    17 7TH AVE NE                                                    ROCHESTER       MN         55906                  6004               Various                                                                                             $3.00
RAYMOND QUILES                    N7054 CTY D                                                      WATERTOWN       WI         53094                  6004               Various                                                                                             $2.00
RAYMOND RAETZ                     PARVIEW VILLA 16                                                 GOTHENBURG      NE         69138                  6002               Various                                                                                             $9.69
RAYMOND REAL                      134 S VAL VERDE SP29                                             DONNA           TX         78537                  6002               Various                                                                                             $6.55
RAYMOND S. CHAVEZ                 424 JOHNSON DR                                                   GRAND ISLAND    NE         68803                  6002               Various                                                                                             $4.14
RAYMOND SCHMIDT                   1249 MARIA DR                                                    STEVENS POINT   WI         54481                  6002               Various                                                                                             $7.34
RAYMOND STROIK                    1801 LILAC LN                                                    STEVENS POINT   WI         54482                  6002               Various                                                                                             $1.42
RAYMOND TAYLOR                    2587 90TH ST                                                     EAU CLAIRE      WI         54703                  6002               Various                                                                                             $7.51
RAYMOND V. HASTIE                 915 N 7TH ST                                                     COEUR D ALENE   ID         83814                  6002               Various                                                                                             $9.26
RAYMOND WELLS                     11121 A DURGIN RD SE                                             OLYMPIA         WA         98513                  6004               Various                                                                                            $51.95
RAYMOND WILL                      N4738 BRIDGE ROAD                                                PESHTIGO        WI         54157                  6004               Various                                                                                             $6.96
RAYMOND YARLING                   210 CEDAR CIR                                                    GREEN RIVER     WY         82935                  6002               Various                                                                                             $2.77
RAYNA DAWSON                      805 1/2 4TH AVE NW                                               ROCHESTER       MN         55901                  6002               Various                                                                                             $6.03
RAYNE COMPANY INCORPORATED        PO BOX 77                                                        DODGE CITY      KS         67801                  8801               Various                                                                                         $3,846.50
RAYSHONE HUMPHREY                 1141 A KOCHS LANE                                                QUINCY          IL         62301                  6004               Various                                                                                            $66.90
RAZBABY INNOVATIVE BABY PRODUC    6875 SW 81ST STREET                                              MIAMI           FL         33143                  8416               Various                                                                                          $951.14
RAZOR USA L L C                   PO BOX 60698                                                     LOS ANGELES     CA         90060-0698             7360               Various                                                                                       $132,642.00
                                  C/O MIDLAND MANAGEMENT
RCM WAUSAU LLC                    LLC                           PO BOX 88144                       MILWAUKEE       WI         53288-0144             8970               Various                                                                                         $1,246.48
RE THINK IT INCORPORATED          6869 STAPOINT COURT STE 107                                      WINTER PARK     FL         32792                  0847               Various                                                                                         $3,654.89
REA LINDMAN                       7937 S RAPHAEL WAY                                               BOISE           ID         83709                  6002               Various                                                                                             $1.29
                                                                4836 SOLUTION
READERLINK DISTRIBUTION SERVIC    LOCKBOX 774836                CENTER                             CHICAGO         IL         60677-4008             6719               Various                                                                                     $1,115,819.76
REAGAN CASETTA                    405 N. PARK AVE                                                  FOND DU LAC     WI         54935                  6004               Various                                                                                            $25.00
REALTY INCOME CORPORATION         11995 EL CAMINO REAL                                             SAN DIEGO       CA         92130                  1137               Various                                                                                        $92,173.30

REALTY TRUST GROUP                MIKE MARSH                    2300 S 48TH SUITE 1                LINCOLN         NE         68506                  6552               Various                                                                                        $50,299.49
REANA M BULLARD                   1520 5TH RD                                                      WISNER          NE         68791                  6002               Various                                                                                             $6.77
REAONA K KELLY                    1450 WASHINGTON ST                                               RIVER FALLS     WI         54022                  6002               Various                                                                                             $6.22
REASE HUBERT                      8242 GARTH PT LN                                                 RAPID RIVER     MI         49878                  6002               Various                                                                                             $8.47
REBBECA NIBBE                     5214 SOUTH 49TH STREET                                           OMAHA           NE         68117                  6004               Various                                                                                             $4.00
REBBECA WOLFLEY                   BOX 85                                                           ETNA            WY         83118                  6002               Various                                                                                             $1.42
REBBECCA LYN MUMA                 3673 TWIN LK RD NE                                               MANCELONA       MI         49659                  6002               Various                                                                                             $1.12
REBECA KUHFAHL                    245 N 32                                                         LINCOLN         NE         68503                  6004               Various                                                                                             $2.00
REBECCA A JONES (AMM)             HC 6 BOX 29G                                                     DONIPHAN        MO         63935                  6002               Various                                                                                             $5.62
REBECCA A LIEN                    416 2ND ST                                                       WALLACE         ID         83873                  6002               Various                                                                                             $0.66
REBECCA AHRENDT                   6715 NORTH 110TH AVE                                             OMAHA           NE         68164                  6004               Various                                                                                             $5.02
REBECCA ANDERSON                  601 VINE STREET                                                  EAU CLAIRE      WI         54703                  6004               Various                                                                                            $39.27
REBECCA ANN LEE                   W9453 570TH AVNEUE                                               ELLSWORTH       WI         54011                  6002               Various                                                                                             $8.30
REBECCA ARKENS                    4355 M RD                                                        ESCANABA        MI         49829                  6002               Various                                                                                             $4.99
REBECCA BASBALLE                  300 ROYAL ROAD                                                   MANKATO         MN         56001                  6004               Various                                                                                            $15.00




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             Creditor Name                Address1              Address2         Address3             City        State           Zip   Country     Number                Claim                                                                             Total Claim
REBECCA BEAL                  N3724 CLEVELAND AVE.                                            MARINETTE        WI         54143                 6004                Various                                                                                               $20.00
REBECCA BECKER                P O BOX 165                                                     DORCHESTER       WI         54425                 6004                Various                                                                                                $2.70
REBECCA BENSON                2730 SEWELL                                                     LINCOLN          NE         68502                 6004                Various                                                                                               $81.92
REBECCA BERGDOLL              N9580 BOJE LANE                                                 WATERTOWN        WI         53094                 6004                Various                                                                                               $30.34
REBECCA BISSON                E21930 US HWY 12                                                AUGUSTA          WI         54722                 6004                Various                                                                                                $5.00
REBECCA BLOMBERG              109 RAILROAD ST                                                 BELLE FOURCHE    SD         57717                 6002                Various                                                                                                $0.60
REBECCA BORGES                859 RIVERSIDE AVE                                               POWELL           WY         82435                 6002                Various                                                                                                $8.08
REBECCA BOYLES                6433 BRIDGE RD APT 105                                          MADISON          WI         53713                 6002                Various                                                                                                $6.30
REBECCA BRINDA                1340 S 4TH ST W APT A                                           MISSOULA         MT         59801                 6002                Various                                                                                                $9.59
REBECCA BRONSON               11796 N 4800TH W                                                TREMONTON        UT         84337                 6002                Various                                                                                                $3.81
REBECCA BRUNNER               214 W 7TH ST                                                    MOUNT CARMEL     IL         62863                 6002                Various                                                                                                $1.15
REBECCA BUHROW                115 EAST WILSON ST                                              RICE LAKE        WI         54868                 6004                Various                                                                                                $1.00
REBECCA CERVANTES             N2421 18TH AVE LOT 31                                           WAUTOMA          WI         54982                 6002                Various                                                                                                $3.10
REBECCA CHARTIER              10729W CO RD # 442                                              COOKS            MI         49817                 6002                Various                                                                                                $5.15
REBECCA CITRAK                PO BOX 5181                                                     LACEY            WA         98509                 6004                Various                                                                                                $9.97
REBECCA COLLAR                829 MICHAEL RITGER ST APT 7                                     HORTONVILLE      WI         54944                 6002                Various                                                                                                $0.41
REBECCA CORNING               W1822 PURINTON RD                                               ALBANY           WI         53502                 6002                Various                                                                                                $4.44
REBECCA DEVORE                44707 GOVERNMENT RD                                             HARRIS           MN         55032                 6004                Various                                                                                                $3.00
REBECCA DOSCHADIS             114 WINDOM AVE BOX # 172                                        BEARDSLEY        MN         56211                 6002                Various                                                                                                $9.78
REBECCA DUFFRIN               4460 CUTSTONE CT                                                ONEIDA           WI         54155                 6004                Various                                                                                                $3.27
REBECCA ELLIOTT               RR 3 BOX 3520                                                   DONIPHAN         MO         63935                 6002                Various                                                                                                $7.10
REBECCA FALES                 137 COMMERCE CT                                                 GLADWIN          MI         48624                 6002                Various                                                                                                $5.23
REBECCA FALK                  421 WEST SEWARD STREET                                          POYNETTE         WI         53955                 6004                Various                                                                                                $2.23
REBECCA FANE                  422 E WINNESHIEK RD                                             FREEPORT         IL         61032                 6002                Various                                                                                               $21.06

REBECCA FISCHER               1405 OCONMOWOC AVE APT 2                                        WATERTOWN        WI         53094                  6004               Various                                                                                               $10.00
REBECCA FRAKES                2705 COUNTY ROAD G                                              NEENAH           WI         54956                  6004               Various                                                                                                $6.00
REBECCA FROERER               310 W 17TH AVE                                                  TORRINGTON       WY         82240                  6002               Various                                                                                                $8.05
REBECCA GAMBAROTA             E11874 TRACK SHUTE RD                                           BARABOO          WI         53913                  6004               Various                                                                                                $1.00
REBECCA GUERRA                202 ORCHARD STREET                                              EDGERTON         WI         53534                  6004               Various                                                                                               $25.00
REBECCA HARDER                55 1/2 E REES ST.                                               FOND DU LAC      WI         54935                  6004               Various                                                                                               $10.00
REBECCA HARRISON              3402 HENERY RD                                                  OMAHA            NE         68123                  6004               Various                                                                                               $62.00
REBECCA HAZEL                 408 LLOYD                                                       FOND DU LAC      WI         54935                  6004               Various                                                                                               $25.00
REBECCA HEDEGAARD             801 6TH AVE N                                                   GLASGOW          MT         59230                  6002               Various                                                                                                $7.67
REBECCA HERSHBERGER           20762 BREEZY DRIVE            APT B                             HOUSTON          MN         55943                  6004               Various                                                                                                $3.00
REBECCA HOLLAND               204 LEGREID STREET                                              DEERFIELD        WI         53531                  6004               Various                                                                                                $2.00
REBECCA HOLZMAN               711 FAIRFIELD DR                                                BEAVER DAM       WI         53916                  6002               Various                                                                                                $3.45
REBECCA HORN                  3012 BROWNE CIR                                                 OMAHA            NE         68164                  6002               Various                                                                                                $7.78
REBECCA HOSTETLER             31645 STATE HIGHWAY 6                                           JAMESPORT        MO         64648                  6002               Various                                                                                                $2.00
REBECCA JIMENEZ               1306 S 25TH ST                                                  OMAHA            NE         68105                  6004               Various                                                                                               $15.00
REBECCA KAAS                  100 HILL ST                                                     RUSSELL          MN         56169                  6004               Various                                                                                               $10.00
REBECCA KAMMES                216 S ST                                                        BROWNTOWN        WI         53522                  6002               Various                                                                                                $2.85
REBECCA KEMP                  4645 POSEIDON DRIVE                                             SALT LAKE CITY   UT         84120                  6004               Various                                                                                                $7.00
REBECCA KODERICK              N4124 750TH ST                                                  ELLSWORTH        WI         54011                  6002               Various                                                                                                $0.44
REBECCA KUBIAK                91 6TH ST APT 1                                                 CLINTONVILLE     WI         54929                  6002               Various                                                                                                $0.68
REBECCA L EBERT               1326 ELIDA ST                                                   JANESVILLE       WI         53545                  6002               Various                                                                                                $5.64
REBECCA L SITTING BEAR        545 W 3RD ST                                                    WINNER           SD         57580                  6002               Various                                                                                                $5.59
REBECCA L. ENGER              402 ANGIE ST                                                    SANBORN          IA         51248                  6002               Various                                                                                                $8.49
REBECCA LAMONT                172 S CEDAR ST                                                  ADAMS            WI         53910                  6004               Various                                                                                                $3.00
REBECCA LAUER                 1175 CTY RD D                                                   ALMOND           WI         54909                  6002               Various                                                                                                $8.52
REBECCA LEE-HALL              909 CENTER ST                                                   DIXON            IL         61021                  6004               Various                                                                                               $23.00
REBECCA LUSE                  215 W 8TH ST                                                    BELVIDERE        IL         61008                  6004               Various                                                                                                $3.75
REBECCA M FOOTE               PO BOX 34                                                       IDEAL            SD         57541                  6002               Various                                                                                                $2.38
REBECCA M HAMILTON            2006 10TH AVE                                                   BELLE FOURCHE    SD         57717                  6002               Various                                                                                                $9.18




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             Creditor Name                Address1           Address2           Address3              City       State           Zip   Country     Number                Claim                                                                             Total Claim
REBECCA MAHER                 216 12TH ST NW                                                 ROCHESTER        MN         55901                 6002                Various                                                                                             $0.49
REBECCA MANLEY                1707 JUNCTION AVE                                              STURGIS          SD         57785                 6002                Various                                                                                             $2.66
REBECCA MARI SCOTT            910 1ST AVE NW                                                 GREAT FALLS      MT         59404                 6002                Various                                                                                             $6.55
REBECCA MARSH                 1578 LINDALE LANE                                              GREEN BAY        WI         54313                 6004                Various                                                                                             $3.00
REBECCA MAY                   1634 6TH AVENUE            APT 107                             RACINE           WI         53404                 6004                Various                                                                                             $5.98
REBECCA MCCOY                 289 N UNIVERSITY AVE                                           BLACKFOOT        ID         83221                 6002                Various                                                                                             $1.97
REBECCA MCGREGOR              450 S FAIRFIELD AVE #7                                         RUSH CITY        MN         55069                 6004                Various                                                                                             $3.00
REBECCA MENCHESKI             3176 DUTCHMAN RD                                               GREEN BAY        WI         54311                 6002                Various                                                                                             $3.32
REBECCA MINOR                 2606 ARDSLEY CIR APT E                                         MADISON          WI         53713                 6002                Various                                                                                             $8.60
REBECCA MITEFF                1204 HANSEN AVE                                                BELLEVUE         NE         68005                 6004                Various                                                                                            $15.00
REBECCA MOELLER               33215 20TH AVE                                                 BOYD             WI         54726                 6002                Various                                                                                             $6.00
REBECCA MOLINE                16111 TAILOR RD                                                LANSE            MI         49946                 6002                Various                                                                                             $3.70
REBECCA MOORE                 130 S FRONT ST                                                 STANDISH         MI         48658                 6002                Various                                                                                             $4.14
REBECCA MOORSE                1625 340TH ST                                                  MINNEOTA         MN         56264                 6002                Various                                                                                             $8.74
REBECCA N. MATHENY            13160 YONDER RD                                                BOZEMAN          MT         59718                 6002                Various                                                                                             $8.22
REBECCA NEUHEISEL             305 E STATE ST                                                 PLANKINTON       SD         57368                 6002                Various                                                                                             $7.12
REBECCA NISSEN                692 56TH PLACE                                                 SPRINGFIELD      OR         97478                 6004                Various                                                                                            $20.00
REBECCA OKLAND                3101 W 8565TH S                                                WEST JORDAN      UT         84088                 6002                Various                                                                                             $6.90
REBECCA OLIVER                1726 SUMMIT AVE                                                RACINE           WI         53404                 6002                Various                                                                                             $0.77
REBECCA O'ROURKE              10225 NW OAK LANE                                              REDMOND          OR         97756                 6004                Various                                                                                             $6.00
REBECCA PATASKA               3030 WALDO ST APT 2                                            MARINETTE        WI         54143                 6004                Various                                                                                             $4.01
REBECCA PEARSON               BOX 173                                                        STODDARD         WI         54658                 6002                Various                                                                                             $8.68
REBECCA PENNELL               1800 RIVER RD APT 28                                           YAKIMA           WA         98902                 6004                Various                                                                                             $9.97
REBECCA PHILLIPS              240 N 800TH E                                                  SPANISH FORK     UT         84660                 6002                Various                                                                                             $6.11
REBECCA PIMLEY                PO BOX 6535                                                    HELENA           MT         59604                 6002                Various                                                                                             $7.73
REBECCA PRANKE                714 FRANKLIN ST APT 4                                          WATERTOWN        WI         53094                 6004                Various                                                                                             $1.00
REBECCA PROCTOR               1063 N 200 E                                                   OREM             UT         84057                 6004                Various                                                                                           $137.94
REBECCA R MOTZKO              202 6THE AVE SE                                                PERHAM           MN         56573                 6002                Various                                                                                             $2.08
REBECCA REDICK                4086 MARCUM LANE                                               EUGENE           OR         97402                 6004                Various                                                                                            $24.60
REBECCA REGAR                 15605 MANOR BLVD                                               LOLO             MT         59847                 6004                Various                                                                                             $2.00
REBECCA RIPLEY                1009 GRAND AVE                                                 NEILLSVILLE      WI         54456                 6002                Various                                                                                             $3.48
REBECCA ROBERTS               500 EAST D STREET                                              IRON MOUNTAIN    MI         49801                 6004                Various                                                                                            $36.25
REBECCA ROGERS                2548 9TH AVE NW                                                ROCHESTER        MN         55901                 6004                Various                                                                                             $3.00
REBECCA ROSE                  2299 SOUTH ICE BEAR WAY                                        MERIDIAN         ID         83642                 6004                Various                                                                                             $8.00
REBECCA ROSE (ZAHNOW)         8 NAVAJO ST                                                    NEWCASTLE        WY         82701                 6002                Various                                                                                             $0.27
REBECCA RUPPERT               W8055 BROWN RD                                                 FOND DU LAC      WI         54937                 6002                Various                                                                                             $6.60
REBECCA RUSHING               2748 VIKING DR APT 2D                                          GREEN BAY        WI         54304                 6002                Various                                                                                             $1.56
REBECCA SABO                  1705 N 106TH ST                                                OMAHA            NE         68114                 6002                Various                                                                                            $10.00
REBECCA SANGWIN               54190 213TH STREET                                             MANKATO          MN         56001                 6004                Various                                                                                             $3.00
REBECCA SASO                  4653 GARDEN PRAIRIE RD                                         GARDEN PRAIRIE   IL         61038                 6004                Various                                                                                             $6.00
REBECCA SAWLSVILLE            1322 N 4TH AVE                                                 WAUSAU           WI         54401                 6002                Various                                                                                             $3.29
REBECCA SHERIDAN              119 JORDAN RD                                                  WALLA WALLA      WA         99362                 6004                Various                                                                                            $20.00
REBECCA SLATTENDALE           16 CAPPS WAY                                                   SALMON           ID         83467                 6002                Various                                                                                             $0.96
REBECCA SLINGWINE             501 S 44TH ST W APT 1113                                       BILLINGS         MT         59106                 6004                Various                                                                                            $15.00
REBECCA SLY                   49 N 2040TH E                                                  ST GEORGE        UT         84790                 6002                Various                                                                                             $7.12
REBECCA STEINHAUS             610 SOUCY DR                                                   MARSHALL         MN         56258                 6004                Various                                                                                            $37.00
REBECCA STOCKS                607 2ND ST SW APT 103                                          WAUKON           IA         52172                 6002                Various                                                                                             $1.07
REBECCA STROHMENGER           605 W 2ND AVE                                                  BRODHEAD         WI         53520                 6004                Various                                                                                            $22.50
REBECCA SULLIVAN              4123 CARDINAL LN                                               LA CROSSE        WI         54601                 6002                Various                                                                                             $9.42
REBECCA TEUSCHER              544 W 300TH N                                                  LOGAN            UT         84321                 6002                Various                                                                                             $0.41
REBECCA THESING               44 BENSON DRIVE                                                LEWISTON         MN         55952                 6004                Various                                                                                            $36.00
REBECCA TILLEMAN              1101 ST. GEORGE STREET                                         GREEN BAY        WI         54302                 6004                Various                                                                                             $6.00
REBECCA VAN SLYKE             414 E LAKE ST                                                  VENTURA          IA         50482                 6002                Various                                                                                             $3.10
REBECCA VANDER HEIDEN         6219 WINNEQUAH RD.                                             MONONA           WI         53716                 6004                Various                                                                                            $42.00




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              Creditor Name                   Address1             Address2         Address3             City          State         Zip    Country     Number                Claim                                                                             Total Claim
REBECCA VANRENS                   1504 COOK ST                                                   DE PERE            WI         54115                6002                Various                                                                                             $7.29
REBECCA WHITMAN                   2025 50TH ST                                                   FAIRMONT           MN         56031                6004                Various                                                                                             $6.00
REBECCA WHITWORTH                 2412 1ST ST                                                    IDAHO FALLS        ID         83401                6004                Various                                                                                             $9.71
REBECCA WIGTON                    3510 MACOMB AVENUE                                             SIOUX CITY         IA         51106                6004                Various                                                                                            $36.78
REBECCA WILL                      414 S TAYLOR                                                   GLENDIVE           MT         59330                6004                Various                                                                                            $15.87
REBECCA WILLIAMS                  4927 S MURRAY BLVD APT Z37                                     SALT LAKE CITY     UT         84123                6002                Various                                                                                             $9.29
REBECCA WIRTZ                     831 HIGHLAND DR                                                PLOVER             WI         54467                6002                Various                                                                                             $5.01
REBECKAH HOFFMANN                 143 WILLARD AVE                                                POCATELLO          ID         83201                6002                Various                                                                                             $5.67
REBECKAH JOHNSTON                 913 5TH ST NE                                                  ROCHESTER          MN         55906                6004                Various                                                                                             $1.00
REBEKAH ANDERSON                  223 W CEDAR ST                                                 RIVER FALLS        WI         54022                6002                Various                                                                                             $1.42
REBEKAH ANTHONY                   414 S 6TH ST                                                   DOUGLAS            WY         82633                6002                Various                                                                                             $1.73
REBEKAH C ROBERTS                 1145 MOUNTAIN VIEW BLVD                                        RAWLINS            WY         82301                6002                Various                                                                                             $2.27
REBEKAH FRANK                     210 LOCUST STREET                                              MANKATO            MN         56001                6004                Various                                                                                            $25.50
REBEKAH HERNER                    16122 E VALLEYWAY A204                                         SPOKANE VALLEY     WA         99037                6004                Various                                                                                            $11.11
REBEKAH KAMINSKI                  3534 11TH STREET                                               LEWISTON           ID         83501                6004                Various                                                                                            $29.00
REBEKAH KEY                       PO BOX 383                                                     KAMIAH             ID         83536                6002                Various                                                                                             $1.40
REBEKAH LANGE                     2612 17TH AVE.                                                 MENOMINEE          MI         49858                6004                Various                                                                                            $15.02
REBEKAH LEE                       2520 KENDALL AVE             APT 2                             MADISON            WI         53705                6004                Various                                                                                             $1.00
REBEKAH P ADAMS                   2708 OSLO CT NE                                                ROCHESTER          MN         55906                6002                Various                                                                                             $1.86
REBEKAH ROCKTESCHEL               2610 CLOVER STREET                                             OSHKOSH            WI         54901                6004                Various                                                                                             $3.80
REBEKAH SORENSEN                  404 S 200TH W                                                  BRIGHAM CITY       UT         84302                6002                Various                                                                                             $9.81
REBEKAH STRAWS                    915 16TH STREET                                                MONROE             WI         53566                6004                Various                                                                                             $3.00
REBEKAH TAYLOR                    2851 N FOX RUN CIRCLE                                          GREEN BAY          WI         54302                6004                Various                                                                                             $5.48
REBEKAHLYNN WEATHERS              744 8TH STREET                                                 BELOIT             WI         53511                6004                Various                                                                                            $20.00
RECHELLE R TITRUD                 BOX 224                                                        BROOTEN            MN         56316                6002                Various                                                                                             $9.48
RECKITT BENCKISER INCORPORATED    PO BOX 088159                                                  CHICAGO            IL         60695-1159           1115                Various                                                                                       $461,168.96
RECORD USA INCORPORATED           4324 PHIL HARGETT CT                                           MONROE             NC         28110                6518                Various                                                                                        $33,588.00
                                  7500 COLLEGE BOULEVARD STE
RED BISHOP HEIGHTS JV LLC         750                                                            OVERLAND PARK      KS         66210                 9115               Various                                                                                        $19,038.45
RED BULL DISTRIBUTION COMPANY     PO BOX 204750                                                  DALLAS             TX         75320-4750            3523               Various                                                                                        $16,473.54
RED ROBIN                         9904 N NEWPORT HWY                                             SPOKANE            WA         99218                 5155               Various                                                                                            $95.67
REDBRICK HEALTH CORPORATION       PO BOX 674808                                                  DETROIT            MI         48267-4808            3532               Various                                                                                        $12,054.60
REDD ROOFING COMPANY              2772 H AVE                                                     OGDEN              UT         84401                                    11/12/2018                                                                                       $927.50
REDDING DISTRIBUTING COMPANY      PO BOX 492515                                                  REDDING            CA         96049-2515            2512               Various                                                                                          $574.30
REECE WAGNER                      61861 371ST AVE                                                ZUMBRO FALLS       MN         55991                 6002               Various                                                                                             $3.51
REED BRUMM                        23498 170TH ST                                                 ROCKFORD           IA         50468                 6002               Various                                                                                             $8.79

REED ZIRNHELT                     1160 MCKINLY STREET                                            WISCONSIN RAPIDS   WI         54495                 6004               Various                                                                                               $10.02
                                                                                                                                                                        11/13/2018 -
REEDSBURG UTILITY COMMISSION      P.O. BOX 230                                                   REEDSBURG          WI         53959-0230            41536              12/11/2018                                                                                      $4,027.25
REEGAN PETERSON                   2808 AQUARIUS ST                                               GREEN BAY          WI         54311                 6004               Various                                                                                             $2.00
REEMA PRASAD                      1566 W EDWARDS LOOP                                            NAMPA              ID         83686                 6004               Various                                                                                             $1.02
REEONNA BAKER                     551 EAST DALE STREET                                           BROWNTOWN          WI         53522                 6004               Various                                                                                            $25.00
REESE KROGER                      11011 N 136TH PLACE                                            WAVERLY            NE         68462                 6004               Various                                                                                            $20.00
REESE OLINSKE                     627 W. NANCY AVE                                               BRUCE              WI         54819                 6004               Various                                                                                             $2.00
REESE PHARMACEUTICAL              10617 FRANK AVENUE                                             CLEVELAND          OH         44106                 5308               Various                                                                                        $14,951.47
REESE VARICK                      N1911 STATE RD 47                                              APPLETON           WI         54913                 6004               Various                                                                                            $20.00
                                                               14 INDUSTRIAL
REEVES INTERNATIONAL INCORPORA    VICE PRESIDENT OF SALES      ROAD                              PEQUANNOCK         NJ         07440                 8714               Various                                                                                         $1,454.00
REFRESHMENT SERVICES PEPSI        VICE PRESIDENT OF SALES      PO BOX 3035                       QUINCY             IL         62305-0000            4301               Various                                                                                        $16,945.93
                                                               1016 HARSHMAN
REFUGIO DURAN                     LOT 15                       STREET                            RAWLINS            WY         82301                  6002              Various                                                                                             $6.93
REFUSE DISPOSAL                   1463 DETWEILER DRIVE                                           GRAFTON            ND         58237                                    Various                                                                                           $720.00
REFUSE SOLUTIONS                  800 CHAMBER ST                                                 BELLE FOURCHE      SD         57717                                    Various                                                                                           $730.17




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REGAN BOISSELLE                     210 AMERICAN FRUIT RD                                         YAKIMA          WA         98903                 6004                Various                                                                                                $5.96
REGAN E CRUTE                       16 E DESOTO ST                                                RHINELANDER     WI         54501                 6002                Various                                                                                                $4.30
REGAN FREGOSO                       2155 MALIBU DR.                                               IDAHO FALLS     ID         83404                 6004                Various                                                                                               $33.00
REGAN NELSON                        5791 BIRCH ST                                                 NORTH BRANCH    MN         55056                 6002                Various                                                                                                $5.73
                                    REGENCY NORTHERN INDIANA    380 N CROSS
REGENCY COMMERCIAL ASSOCIATES       LLC                         POINTE BLVD                       EVANSVILLE      IN         47715                  5360               Various                                                                                         $6,318.64
REGINA - ALVAREZ                    609 POPLAR DR                                                 SIBLEY          IA         51249                  6002               Various                                                                                             $7.29
REGINA BELL                         1448 CENTRAL AVE.                                             BELOIT          WI         53511                  6004               Various                                                                                             $1.00
REGINA BOSSHART                     W4502 EDWARD ST                                               APPLETON        WI         54913                  6002               Various                                                                                             $2.52
REGINA FREUDINGER                   W5636 CRESENT STREET                                          NORWAY          MI         49870                  6004               Various                                                                                            $23.00
REGINA GAGLIOLA                     7402 S 40TH ST                                                BELLEVUE        NE         68147                  6002               Various                                                                                             $9.70
REGINA GOICOECHEA                   4277 OLDWYCK DR                                               JANESVILLE      WI         53546                  6004               Various                                                                                            $18.00
REGINA HAWTHORNE                    427 S. ROOSEVELT                                              GREEN BAY       WI         54301                  6004               Various                                                                                             $2.00
REGINA MIENTKE                      706 CITY VIEW DRIVE                                           STRATFORD       WI         54484                  6004               Various                                                                                             $6.00
REGINA S BARTELHEIM                 UNIT # 101                                                    JACKSONVILLE    IL         62650                  6002               Various                                                                                             $6.58
REGINA TARNUTZER                    187 LIME VALLEY DR.                                           MANKATO         MN         56001                  6004               Various                                                                                             $3.00
REGINA WATERS                       1128 PINEHURST DR                                             VERONA          WI         53593                  6004               Various                                                                                             $5.40
REGINALD BYRD                       909 WHISPERING WAY                                            COTTAGE GROVE   WI         53527                  6004               Various                                                                                             $2.00
REGINALD J BARTLETT                 32 CAMELOT ACRES LOT 212                                      RICE LAKE       WI         54868                  6002               Various                                                                                             $5.84
REGINALD ROCKEL                     PO BOX 1558                                                   OROFINO         ID         83544                  6002               Various                                                                                             $4.66
REGINALD WILLIAMS                   417 N BROAD ST                                                MANKATO         MN         56001                  6002               Various                                                                                             $7.48
REGION V - SENDS                    2507 SCHNEIDER AVENUE                                         AUBURN          NE         68305                  5250               Various                                                                                            $25.00
REGIS SWANSON                       76741 ROAD 409                                                GOTHENBURG      NE         69138                  6002               Various                                                                                             $4.66
REHABILITATION CENTER OF HAMPTON    700 SECOND STREET SE                                          HAMPTON         IA         50441                  6666               Various                                                                                            $21.39
REID BRANDT                         423 1ST AVE S                                                 SAINT JAMES     MN         56081                  6002               Various                                                                                            $16.22
REIEL JOHNSON                       1852 N 1550 E                                                 PROVO           UT         84604                  6004               Various                                                                                            $20.00
REINA E NASH                        635 1ST AVE N                                                 PERHAM          MN         56573                  6002               Various                                                                                             $1.34
REINO TASKILA                       PO BOX 25                                                     TOIVOLA         MI         49965                  6004               Various                                                                                            $38.40
REJANEECHE KELLUM                   1613 FARNAM ST #402                                           OMAHA           NE         68102                  6004               Various                                                                                             $4.00
RELIABLE OF MILWAUKEE (C-HUB)       PO BOX 563                                                    MILWAUKEE       WI         53201                  2568               Various                                                                                         $7,243.10
                                                                3245 TERMINAL
RELIABLE PROPERTY SERVICES LLC      RELIABLE SNOW PLOWING LLC   DRIVE                             ST PAUL         MN         55121                   6092              Various                                                                                           $132.00
                                                                                                                                                                       12/11/2018 -
RELIANT ENERGY/4932/650475          P.O. BOX 650475                                               DALLAS          TX         75265-0475              426-5             1/9/2019                                                                                        $6,193.33

RELYANCE DELIVERY LLC               CHIP STEIN                  4009 5TH AVENUE N                 GREAT FALLS     MT         59401                  4876               Various                                                                                           $490.00
REMAX REAL ESTATE                   904 S LOCUST                                                  GLENWOOD        IA         51534                  6666               Various                                                                                            $23.91
REMONA GOODMAN                      BOX 10                                                        ROSEAU          MN         56751                  6002               Various                                                                                             $1.04
REMY PEREZ                          1210 SHARI AVE                                                YAKIMA          WA         98902                  6004               Various                                                                                            $88.00
REN KARLOS                          6721 L ST APT 508                                             LINCOLN         NE         68510                  6004               Various                                                                                             $2.00
RENA DAVIDSON                       RT BOX # 21863                                                BUHL            ID         83316                  6002               Various                                                                                             $0.52
RENA KITTELSON                      1500 12TH STREET                                              WHEATLAND       WY         82201                  6002               Various                                                                                             $2.08
RENAE BRINEY                        2705 WOODLAND DR                                              CORNING         AR         72422                  6002               Various                                                                                             $1.97
RENAE CUESTAS                       916 4TH ST NE                                                 BYRON           MN         55920                  6002               Various                                                                                             $0.58
RENAE S. SCOTT                      3662 EVERGREEN DR                                             COEUR D ALENE   ID         83815                  6002               Various                                                                                             $4.44
RENAE SELKEN-DEPATIE                N15627 STATE RD V4                                            VULCAN          MI         49892                  6004               Various                                                                                            $34.00
RENAE SILVERA                       200 PATRICSION AVE                                            BROOKINGS       SD         57006                  6004               Various                                                                                             $7.99
RENATAE GRAF                        406 S 14TH ST                                                 HOT SPRINGS     SD         57747                  6002               Various                                                                                             $0.55
RENE DURANT                         1018 S. KEYSTONE AVE.                                         INDIANAPOLIS    IN         46203                  6004               Various                                                                                            $23.00
RENE GARCIA                         626 HOWELL AVE                                                WORLAND         WY         82401                  6002               Various                                                                                             $8.63
RENE J. LACROSS                     395 NOBLE ST                                                  OSAGE           WY         82723                  6002               Various                                                                                             $1.04
RENE MCCLESKEY                      2668 N. BIRD ST                                               BOISE           ID         83704                  6004               Various                                                                                             $3.58
RENE MORALES                        3985 FISHER RD NE                                             SALEM           OR         97305                  6004               Various                                                                                             $3.02
RENE ROSS                           510 S EBENEZER AVE                                            SIOUX FALLS     SD         57106                  6002               Various                                                                                             $6.41




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RENEE A QUADE                  715 N CHURCH ST                                                  WATERTOWN         WI           53098                 6002                Various                                                                                                $1.23
RENEE A. NELSON                3637 S RIDGE RD                                                  DE PERE           WI           54115                 6002                Various                                                                                                $7.12
RENEE ADAM                     2670 COUNTY RD 60                                                ALLIANCE          NE           69301                 6002                Various                                                                                                $2.41
RENEE BELL                     N3723 COUNTY HIGHWAY D                                           JEFFERSON         WI           53549                 6002                Various                                                                                                $6.93

RENEE BENSON                   214 E JACKSON ST                                                 PORT WASHINGTON   WI           53074                  6002               Various                                                                                                $7.10
RENEE BLACK                    980 PRESCOTT LN                                                  SPRINGFIELD       OR           97477                  6004               Various                                                                                               $30.00
RENEE BORIS                    6571 CT RD Q                                                     AMHERST           WI           54406                  6002               Various                                                                                                $6.55
RENEE CAMMACK                  401 IDLEWOOD AVENUE                                              WEST BEND         WI           53095                  6666               Various                                                                                               $14.99
RENEE CARDARELLE               139 S 3RD ST                                                     DORCHESTER        WI           54425                  6002               Various                                                                                                $1.62
RENEE CARVER                   20313 BIG CANYON RD                                              PECK              ID           83545                  6002               Various                                                                                                $9.84
RENEE DOWNS                    306 LAUREN LANE #4            APT 1G                             WATERTOWN         WI           53094                  6004               Various                                                                                               $27.00
RENEE FILLA                    W5001 US HWY 10                                                  NEILLSVILLE       WI           54456                  6002               Various                                                                                                $2.08
RENEE HAHN                     215 4TH AVE NORTH EAST        #D 21                              HUTCHINSON        MN           55350                  6004               Various                                                                                                $3.00
RENEE HALE                     2410 N BARD RD                                                   GLADWIN           MI           48624                  6002               Various                                                                                                $0.41
RENEE HENRY                    29193 170TH ST                                                   STEAMBOAT ROCK    IA           50672                  6002               Various                                                                                                $2.55
RENEE JANQUART                 1208 W DR                                                        MENOMINEE         MI           49858                  6002               Various                                                                                                $6.68
RENEE JEANBLANC                301 ROSENDALE ST.                                                BEAVER DAM        WI           53916                  6004               Various                                                                                                $3.95
RENEE KASUBOSKI                1917 S JEFFERSON ST                                              APPLETON          WI           54915                  6004               Various                                                                                               $10.00
RENEE KLUMPERS                 W13481 COUNTY RD AW                                              WAUPUN            WI           53963                  6004               Various                                                                                               $21.46
RENEE L BRADEN                 N1903 HIGHWAY 69                                                 MONROE            WI           53566                  6002               Various                                                                                                $6.96
RENEE L. VOLKART               BOX 114 211 ROBERT ST                                            OSTRANDER         MN           55961                  6002               Various                                                                                                $1.26

RENEE M MEGGINSON              9651 E WATERLOO RD TRLR 144                                      ARCADIA           OK           73007                  6002               Various                                                                                                $7.42
RENEE N PASEWALD               1341 CONGRESS AVE                                                OSHKOSH           WI           54901                  6002               Various                                                                                                $8.25
RENEE NORMAN                   3403 E MAIN ST                                                   MESA              AZ           85213                  6002               Various                                                                                                $4.99
RENEE NORTH                    33235 LAKEVIEW DR                                                BIGFORK           MT           59911                  6002               Various                                                                                                $3.81
RENEE OESAU                    900 WELLS                                                        MARINETTE         WI           54143                  6004               Various                                                                                                $1.00
RENEE OLINGER                  2830 S LEADVILLE AVE                                             BOISE             ID           83706                  6002               Various                                                                                                $8.77
RENEE PARKINS                  805 N WESTERN APT 14                                             WENATCHEE         WA           98801                  6004               Various                                                                                                $5.00
RENEE RAABE                    306 LAUREN LANE #4            APT 1G                             WATERTOWN         WI           53094                  6004               Various                                                                                                $1.50
RENEE ROFFERS                  1242 DANENA DRIVE                                                DE PERE           WI           54115                  6004               Various                                                                                               $14.98
RENEE SCHWINEFUS               220 WEST GARLAND STREET                                          WEST SALEM        WI           54669                  6004               Various                                                                                               $44.48
RENEE STEVENSON                6 A ST                                                           ONEILL            NE           68763                  6002               Various                                                                                                $5.01

RENEE TEMPLETON                18 HARVEY MORGAN LN UNIT R                                       LANDER            WY           82520                  6002               Various                                                                                             $7.15
RENEE THEIS-GRIGGS             809 WILLARD ST.                                                  GOOD THUNDER      MN           56037                  6004               Various                                                                                             $3.06
RENEE WATSON                   1809 CENTER STREET                                               OMAHA             NE           68108                  6004               Various                                                                                             $2.00
RENEE WESOLOWSKI               926 ROCKWELL RD                                                  GREEN BAY         WI           54313                  6002               Various                                                                                             $9.01
RENEE WOLF                     502 13TH ST                                                      GLENDO            WY           82213                  6002               Various                                                                                             $8.49
RENEE WOODFORD                 6811 US HIGHWAY 53                                               EAU CLAIRE        WI           54701                  6002               Various                                                                                             $6.08
RENEGADE CARLSON               1161 CANTERBURY RD                                               GREEN BAY         WI           54304                  6002               Various                                                                                             $3.04
RENETTA FARLEY                 314 MAIN ST                                                      WAITSBURG         WA           99361                  6004               Various                                                                                            $30.60
RENEW LIFE FORMULAS INC        PO BOX 206933                                                    DALLAS            TX           75320-6933             6948               Various                                                                                         $9,758.74
RENFRO F L INCORPORATED        PO BOX 932492                                                    ATLANTA           GA           31193-2492             6221               Various                                                                                       $108,030.54
RENIA ULERY                    930 VISTA VE                                                     LEWISTON          ID           83501                  6002               Various                                                                                             $8.16
RENICK CLIFTON                 1030 E 22ND ST                                                   OGDEN             UT           84401                  6004               Various                                                                                            $42.00
RENITA SWAFFORD                PO BOX 1593                                                      LEWISTON          ID           83501                  6002               Various                                                                                             $1.04
RENNAE TIEKEN                  14901 WILLOW CREEK DR                                            OMAHA             NE           68138                  6004               Various                                                                                             $1.00
RENO THOM                      214 1/2 S PEARL ST                                               JANESVILLE        WI           53548                  6004               Various                                                                                             $3.00
RENPURE LLC                    VB BOX 128                    PO BOX 9202                        MINNEAPOLIS       MN           55480-9202             8728               Various                                                                                        $11,095.22
RENZEE SORENSON                10726 S 23000 W                                                  MALAD CITY        ID           83252                  6004               Various                                                                                            $20.00
REOLA BRAHMSTEDT               1324 SHATTUCK RD                                                 GARDEN PRAIRIE    IL           61038                  6002               Various                                                                                             $4.49
REPORTER & FARMER              PO BOX 30                                                        WEBSTER           SD           57274                  9410               Various                                                                                          $110.00




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             Creditor Name                  Address1                 Address2         Address3             City         State         Zip    Country      Number                Claim                                                                             Total Claim
REPUBLIC                          1501 RODGERS STREET                                              MISSOULA          MT         59806                                     Various                                                                                          $5,122.61
REPUBLIC NATL DIST CO LLC FALC    PO BOX 24265                                                     OMAHA             NE         68124-0000             8983               Various                                                                                          $1,894.05
REPUBLIC SERVICES                 PO BOX 9001099                                                   LOUISVILLE        KY         40290-1099                                Various                                                                                          $9,571.56
RESIA NORMA HROMIDKO              APARTMENT # 11                                                   SAINT CHARLES     MN         55972                  6002               Various                                                                                             $10.00
                                                                850 PATERSON
RESOURCE CLUB LIMITED             VICE PRESIDENT OF SALES       PLANK ROAD                         SECAUCUS          NJ         07094                  1978               Various                                                                                        $80,439.29
RESULTCO DBA JEFFERY INC (C-HU    3160 HAGGERTY ROAD STE J                                         WEST BLOOMFIELD   MI         48323                  1567               Various                                                                                          $314.00
RETA BOSWELL                      207 E 3RD ST                                                     VERDON            NE         68457                  6002               Various                                                                                             $8.66
RETA RHODS                        417 WINDOM ST                                                    WAYNE             NE         68787                  6002               Various                                                                                             $3.67
RETAIL DATA LLC                   PO BOX 791398                                                    BALTIMORE         MD         21279                  7701               Various                                                                                         $6,830.89
RETAIL ON 41ST STREET LLC         101 S REID STREET SUITE 209                                      SIOUX FALLS       SD         57103                  5712               Various                                                                                        $38,760.22
RETAIL SALES SOLUTIONS            4863 SHAWLINE ST SUITE D                                         SAN DIEGO         CA         92111                  7895               Various                                                                                        $19,744.81
                                                                1242 SW PINE
RETAIL SECURITY GROUP INCORPOR    SUITE 42-401                  ISLAND ROAD                        CAPE CORAL        FL         33991                  2696               Various                                                                                         $2,169.95
RETAIL TECH INCORPORATED          1501 PARK ROAD                                                   CHANHASSEN        MN         55317                  6352               Various                                                                                          $540.00

RETREAT ON ROSLYN LLC             9100 WILSHIRE BLVD SUITE 360E                                    BEVERLY HILLS     CA         90212                  2204               Various                                                                                        $26,666.00
RETT CASTEK                       2211 26TH ST SW                                                  MASON CITY        IA         50401                  6002               Various                                                                                             $5.26
RETURN PATH INC                   75 REMITTANCE DR DEPT 6168                                       CHICAGO           IL         60675-6168             2860               Various                                                                                         $3,422.44
REUBEN FINK                       10547 338TH AVE                                                  EUREKA            SD         57437                  6002               Various                                                                                             $4.49
REUBEN HOWARD                     10021 PINKNEY ST                                                 OMAHA             NE         68134                  6004               Various                                                                                             $2.00
REUBY CURFMAN                     1529 CURFMAN RD                                                  OROFINO           ID         83544                  6004               Various                                                                                            $36.18
REUTER FAMILY                     508 N FISK ST                                                    GREEN BAY         WI         54303                  6002               Various                                                                                             $5.97
REV EUGENE P KAUFFELD             1006 LYNDELL ST                                                  WATERTOWN         WI         53098                  6002               Various                                                                                             $9.21
REVLON INCORPORATED ALMAY         PO BOX 98231                                                     CHICAGO           IL         60693                  7819               Various                                                                                       $144,962.33
REWA JOHNSON                      PO BOX 88                                                        MOUNTAIN VIEW     WY         82939                  6002               Various                                                                                             $8.60
REX BAKER                         636 JACKSON ST                                                   FORT ATKINSON     WI         53538                  6002               Various                                                                                            $10.00
REX GILL                          2101 N 900TH BLVD                                                BROWNS            IL         62818                  6002               Various                                                                                             $6.49
REX HAZELTON                      2530 EASLAN DR                                                   PLOVER            WI         54467                  6002               Various                                                                                             $4.03
REX KNAPTON                       325 W HOWE ST                                                    BOISE             ID         83706                  6002               Various                                                                                             $0.93
REX PEVEHOUSE                     PO BOX 1101                                                      OROFINO           ID         83544                  6002               Various                                                                                             $1.40
REX W J WRISTEN                   600 E 9TH ST APT 30                                              GRAFTON           ND         58237                  6002               Various                                                                                             $1.23
REXFORD PRINTZ                    6398 S BAILEYVILLE RD                                            BAILEYVILLE       IL         61007                  6004               Various                                                                                             $1.33
REY REYNA                         1912 BRIDGE AVE               APT. 213                           ALBERT LEA        MN         56007                  6004               Various                                                                                             $1.40
REYNA DAVILA                      2835 DENISE AVE                                                  TWIN FALLS        ID         83301                  6004               Various                                                                                            $17.02
REYNA LOPEZ                       473 MAGNOLIA AVE                                                 TWIN FALLS        ID         83301                  6004               Various                                                                                             $4.02
REYNA RAMOS LOPEZ                 510 OMAHA AVE                                                    WORTHINGTON       MN         56187                  6002               Various                                                                                             $5.15
REYNE KINCAID                     N2426 KREUTZ ROAD                                                JEFFERSON         WI         53549                  6004               Various                                                                                             $5.95
REYNOLDS CONSUMER PRODUCTS        ATTN: TRISH JOHNSON           1110 E 200 S                       LEWISTON          ID         84320                  6004               Various                                                                                            $13.10
REYNOLDS MANAGEMENT GROUP INC     PO BOX 1049                                                      SIDNEY            MT         59270                  1457               Various                                                                                          $177.57
RGIS INVENTORY SPECIALISTS        PO BOX 77631                                                     DETROIT           MI         48277                  6665               Various                                                                                        $10,147.42
RHEANAN RUNCORN                   2940 N CORMAC LP                                                 POST FALLS        ID         83854                  6002               Various                                                                                             $8.41
RHELMA EVANS                      PRAIRIE VIEW INN                                                 SHELDON           IA         51201                  6002               Various                                                                                             $5.81
RHETT GREGORY                     2381 MCKENDREE CHAPEL RD                                         MEREDOSIA         IL         62665                  6002               Various                                                                                             $0.33
RHETT HILTON                      175 E 500TH S                                                    HYRUM             UT         84319                  6002               Various                                                                                             $5.59
RHETT REICHOFF                    12340 CTY D                                                      BANCROFT          WI         54921                  6004               Various                                                                                             $4.40
RHIANNON TRUMBULL                 1221 ALMO AVE                                                    BURLEY            ID         83318                  6004               Various                                                                                             $3.65

RHODE ISLAND TEXTILE CO INC       RHODE ISLAND TEXTILE          35 MARTIN STREET                   CUMBERLAND        RI         02864-0000             5309               Various                                                                                       $104,843.25
RHONDA BUSE                       2600 N CAREER AVE             APT 101                            SIOUX FALLS       SD         57107                  6004               Various                                                                                            $47.00
RHONDA CHACON                     37 TOPONCE DR                                                    POCATELLO         ID         83204                  6002               Various                                                                                             $5.62
RHONDA DART                       N7590 RENDEZVOUS RD                                              LUXEMBURG         WI         54217                  6004               Various                                                                                             $5.98
RHONDA EDDS                       411 WALLER RD                                                    SALMON            ID         83467                  6002               Various                                                                                             $0.55
RHONDA EDERER                     RR 3 BOX 2377                                                    DONIPHAN          MO         63935                  6002               Various                                                                                             $6.16




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              Creditor Name                   Address1              Address2         Address3             City         State         Zip    Country     Number                Claim                                                                             Total Claim
RHONDA HEBERT                     2032 N 67TH ST                                                  OMAHA             NE         68104                6002                Various                                                                                             $8.79
RHONDA HENTON                     418 9TH AVENUE                                                  WORTHINGTON       MN         56187                6004                Various                                                                                             $3.00
RHONDA HOWE                       200 RIVERVIEW CT                                                APPLETON          WI         54915                6002                Various                                                                                             $2.77
RHONDA HUGHES                     4421 NORTHWEST 49TH                                             LINCOLN           NE         68524                6004                Various                                                                                            $38.00
RHONDA KOLKA                      830 E. PACIFIC ST.                                              APPLETON          WI         54911                6004                Various                                                                                             $7.77
RHONDA M LEDER                    623 5TH AVE SE                                                  SAINT CLOUD       MN         56304                6002                Various                                                                                             $8.00
RHONDA MORTON                     45415 400 AVENUE                                                CHAMBERSBURG      IL         62323                6004                Various                                                                                             $2.16
RHONDA NADLER                     7257 OLD HIGHWAY 141                                            LENA              WI         54139                6002                Various                                                                                             $1.42
RHONDA NEE                        1905 27TH ST                                                    AUBURN            NE         68305                6002                Various                                                                                             $7.07
RHONDA OSTERBERG                  14620 THREE DOG LANE                                            JULIAETTA         ID         83535                6004                Various                                                                                            $10.02
RHONDA PARR                       1401 W 3RD ST LOT 9                                             MOUNT CARMEL      IL         62863                6002                Various                                                                                             $1.40
RHONDA R CHRISTIAN                4984 377TH ST TERRACE CT                                        NORTH BRANCH      MN         55056                6002                Various                                                                                             $8.60
RHONDA R MATTHEWS                 4456 HAFERMANN HTS                                              WISCONSIN RAPID   WI         54495                6002                Various                                                                                             $3.51
RHONDA RHODES                     838 COUNTY ROAD J                                               HATLEY            WI         54440                6002                Various                                                                                             $2.03
RHONDA S LYTLE                    1122 WASHINGTON ST                                              BEATRICE          NE         68310                6002                Various                                                                                             $4.79
RHONDA SNEAD                      1770 KIAMER DR                                                  WINONA            MN         55987                6004                Various                                                                                             $6.00
RHONDA SNYDER-WEISE               1505 WASHINGTON ST                                              BEATRICE          NE         68310                6002                Various                                                                                             $1.04
RHONDA STEWART                    PO BOX 53                                                       MOUNT PLEASANT    UT         84647                6004                Various                                                                                             $5.00
RHONDA TRIMMER                    BOX 1373                                                        LANDER            WY         82520                6002                Various                                                                                             $3.75
RHONDA WAMPLER                    701 S 1ST ST                                                    PLATTSMOUTH       NE         68048                6002                Various                                                                                             $3.29
RHONDA WILDER                     4724 BURDETTE ST                                                OMAHA             NE         68104                6002                Various                                                                                             $6.79
RHORY IVY                         227 UNION AVE                                                   HEBRON            NE         68370                6002                Various                                                                                             $8.85
RHOSLYN CASS ANDERSON             606 RIVERVIEW DR                                                FREMONT           WI         54940                6002                Various                                                                                             $4.05
RHYS ELLIOTT                      2309 HEFFRON ST                                                 STEVENS POINT     WI         54481                6002                Various                                                                                             $7.56
RIANNA THOMAS                     1128 W STATE ST                                                 JANESVILLE        WI         53546                6004                Various                                                                                             $2.00
RIANNE HUNT                       3735 BALMORAL DR                                                JANESVILLE        WI         53548                6002                Various                                                                                             $7.81
RIC VALOIS                        1606 ADAMS BLVD                                                 GREAT FALLS       MT         59404                6002                Various                                                                                             $0.55
RICARDA HAACK                     6942 SAUK TRAIL BCH                                             CEDAR GROVE       WI         53013                6002                Various                                                                                             $7.10
RICARDO ALON ORTEGA               2503 BARBARA AVE                                                APPLETON          WI         54915                6002                Various                                                                                             $0.96
RICARDO ALVARADO NUNEZ            10071 W. GREENLEAF LANE                                         BOISE             ID         83704                6004                Various                                                                                             $3.65
RICARDO BEVERLY HILLS INC         6329 SOUTH 226TH ST STE 101                                     KENT              WA         98032-1893           2044                Various                                                                                        $16,919.33
RICARDO COLON                     1610 NW DEAN                                                    PULLMAN           WA         99163                6004                Various                                                                                            $27.98
RICARDO CUADRAS                   6022 S 35TH ST                                                  OMAHA             NE         68107                6002                Various                                                                                             $7.92
RICARDO GARCIA                    438 S PACIFIC AVE                                               GLENNS FERRY      ID         83623                6002                Various                                                                                             $0.63
RICARDO LUCAS                     602 W 2ND ST                                                    WAKEFIELD         NE         68784                6002                Various                                                                                             $2.22
RICARDO LUNA                      161 7TH AVE N                                                   TWIN FALLS        ID         83301                6004                Various                                                                                            $10.02
RICARDO RODRIGUEZ                 2418 BATE ST                                                    RACINE            WI         53403                6004                Various                                                                                             $5.02
RICARDO SALINAS                   PO BOX 55                                                       WHITE SWAN        WA         98952                6004                Various                                                                                            $10.02
RICARDO TINOCOLOPEZ               2044 PREBLE AVE                                                 GREEN BAY         WI         54302                6002                Various                                                                                             $5.84
RICARDO VELASCO-BAUTISTA          PO BOX 314                                                      PLAINFIELD        WI         54966                6002                Various                                                                                             $3.51
RICCI VOWLES                      299 OWENS ST                                                    LAYTON            UT         84041                6002                Various                                                                                             $3.81
RICE JUICE COMPANY INCORPORATE    873 EVERGREEN COURT                                             KINGSFORD         MI         49802                2082                Various                                                                                         $1,588.38
RICH HANSON                       N1392 SHORE DRIVE                                               MARINETTE         WI         54143                6004                Various                                                                                             $3.40
RICH HORTON                       PO BOX 2638                                                     MISSOULA          MT         59806                6002                Various                                                                                             $5.07
RICHARD "DICK" ROBERTS            4677 AERO DRIVE                                                 LEWISTON          ID         83501                6004                Various                                                                                             $2.60
RICHARD "RICK" GONZALEZ           1814 E GRAND CANYON                                             MERIDIAN          ID         83646                6004                Various                                                                                            $10.08
RICHARD A KAUMO                   15 SAWTOOTH VIEW LN                                             CORA              WY         82925                6002                Various                                                                                             $0.27
RICHARD A KEMPF                   9524 LAURA LN                                                   WINNECONNE        WI         54986                6002                Various                                                                                             $9.59
RICHARD ALLRED                    1433 S 780 W                                                    PAYSON            UT         84651                6004                Various                                                                                             $2.60
RICHARD ANDERSON                  933 VELP AVE                  UPPER                             GREEN BAY         WI         54303                6004                Various                                                                                             $5.00
RICHARD ARGUELLO                  3220 LAZELLE ST LOT 207                                         STURGIS           SD         57785                6002                Various                                                                                             $1.84
RICHARD AYDE                      6617 381ST ST                                                   NORTH BRANCH      MN         55056                6002                Various                                                                                             $9.86
RICHARD BAKKER                    2975 WAUBESA AVE                                                MADISON           WI         53711                6002                Various                                                                                             $0.44
RICHARD BARNARD                   31 BEAVERTON MAIN ST                                            SACO              MT         59261                6002                Various                                                                                             $2.33




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              Creditor Name                Address1            Address2            Address3              City      State           Zip   Country     Number                Claim                                                                             Total Claim
RICHARD BAUMGARTNER            1660 HOFFMAN RD APT 105                                          GREEN BAY       WI         54311                 6002                Various                                                                                             $6.11
RICHARD BEHMER                 56028 848 RD                                                     HOSKINS         NE         68740                 6004                Various                                                                                            $22.73
RICHARD BELL                   101 TAFT RD                                                      GREAT FALLS     MT         59404                 6002                Various                                                                                             $6.19
RICHARD BENDER                 PO BOX 583                                                       WALWORTH        WI         53184                 6004                Various                                                                                             $9.99
RICHARD BEY                    2234 KANE ST                                                     LA CROSSE       WI         54603                 6002                Various                                                                                             $6.27
RICHARD BISHOP                 2461 ST JOHNS                                                    GREEN BAY       WI         54313                 6002                Various                                                                                             $7.32
RICHARD BOTTOMLY               3501 CENTENIAL CT                                                GREAT FALLS     MT         59404                 6002                Various                                                                                            $10.00
RICHARD BURRIS                 1819 ABERG AVE SUITE D                                           MADISON         WI         53704                 6004                Various                                                                                             $1.00
RICHARD C KELLY                3620 ANTHONY WAY                                                 PASO ROBLES     CA         93446                 5601                Various                                                                                        $12,533.33
RICHARD C ROBL                 924 1/2 E PACIFIC ST                                             APPLETON        WI         54911                 6002                Various                                                                                            $10.00
RICHARD C VIG                  11000 HIGHWAY 10 NW LOT 6                                        RICE            MN         56367                 6002                Various                                                                                             $6.00
RICHARD C. CLARK               3578 S MOOSE CANYON RD                                           COEUR D ALENE   ID         83814                 6002                Various                                                                                             $7.51
RICHARD CALEY                  2 LAKEVIEW LN                                                    LANCASTER       WI         53813                 6002                Various                                                                                             $1.70
RICHARD CAMPBELL               719 N 10TH ST                                                    POPLAR BLUFF    MO         63901                 6002                Various                                                                                             $0.85
RICHARD CARRAZCO               87677 588TH AVENUE                                               PONCA           NE         68770                 6004                Various                                                                                            $17.50
RICHARD CARVER                 3322 COOPER RD                                                   OROFINO         ID         83544                 6002                Various                                                                                             $0.47
RICHARD CASTRO                 3213 REPUBLIC AVE                                                RACINE          WI         53405                 6004                Various                                                                                             $3.00
RICHARD CASULL                 BOX 243                                                          FREEDOM         WY         83120                 6002                Various                                                                                             $8.93
RICHARD CEDERBERG              N7477 LINDEN DR                                                  WHITEWATER      WI         53190                 6004                Various                                                                                             $3.00
RICHARD CHAPMAN                320 N HARLEM AVE            UNIT 309                             FREEPORT        IL         61032                 6004                Various                                                                                             $1.20
RICHARD COPELAND               2460 4TH AVE                                                     CLARKSTON       WA         99403                 6004                Various                                                                                            $12.05
RICHARD CORDER                 4330 JUDSON STREET                                               LINCOLN         NE         68504                 6004                Various                                                                                            $10.78
RICHARD CORTES                 260 CAROL DRIVE #3                                               BLACKFOOT       ID         83221                 6004                Various                                                                                            $33.00
RICHARD COWLING                3428 LARSEN RD                                                   NEENAH          WI         54956                 6002                Various                                                                                             $3.53
RICHARD COXSON                 542 N 800TH E                                                    SPANISH FORK    UT         84660                 6002                Various                                                                                             $7.12
RICHARD CRISPIN                PO BOX 852                                                       BELLEVUE        NE         68005                 6004                Various                                                                                             $8.01
RICHARD CROWSON                3903 WINONA WAY APT #5                                           SIOUX CITY      IA         51104                 6004                Various                                                                                             $6.00
RICHARD CURTIN                 1136 6TH AVE.                                                    PRAIRIE FARM    WI         54762                 6004                Various                                                                                          $121.00
RICHARD D ENDER                1410 ZEPHYER HILL AVE                                            EAU CLAIRE      WI         54703                 6002                Various                                                                                             $7.10
RICHARD D PUTMAN               RR 8 BOX 2168                                                    DONIPHAN        MO         63935                 6002                Various                                                                                             $3.86
RICHARD D SULLIVAN             1064 18TH RD                                                     WEST POINT      NE         68788                 6002                Various                                                                                             $6.16
RICHARD D VENNE                15 MARINETTE ST APT 6                                            TOMAHAWK        WI         54487                 6002                Various                                                                                             $6.90
RICHARD DALZELL                214 MERWOOD ST                                                   BELLEVUE        NE         68005                 6002                Various                                                                                             $2.30
RICHARD DANIELS                8444 MARENGO RD                                                  GARDEN PRARIE   IL         61038                 6004                Various                                                                                            $11.52
RICHARD DAVIS                  2232 42ND AVE SE                                                 SALEM           OR         97317                 6002                Various                                                                                             $3.33
RICHARD DERGE                  GENERAL DELIVERY                                                 MADISON         WI         53714                 6004                Various                                                                                             $1.00
RICHARD DEVEREUX               7792 CTY RD I LOT 11                                             OCONTO FALLS    WI         54154                 6002                Various                                                                                             $6.33
RICHARD DINSMORE               73373 363RD ST                                                   KIMBALL         MN         55353                 6002                Various                                                                                             $6.49
RICHARD DUELLMAN               N11122 FOLEY LANE                                                CRIVITZ         WI         54114                 6002                Various                                                                                            $70.92
RICHARD ESCHENBAUM             506 S 1ST ST APT 309                                             ABERDEEN        SD         57401                 6002                Various                                                                                             $7.07
RICHARD FELBERG                226 6TH ST CIRLCE SW                                             WATERTOWN       SD         57201                 6002                Various                                                                                             $4.25
RICHARD FERRIS                 117 E SAGOLA AVE                                                 KINGSFORD       MI         49802                 6002                Various                                                                                             $0.44
RICHARD FIELD                  5710 HWY 21                                                      OMRO            WI         54963                 6004                Various                                                                                            $10.92
RICHARD FIFIELD                N2954 STEEPLE DR                                                 APPLETON        WI         54913                 6002                Various                                                                                             $9.92
RICHARD FISCHER                1010 CHUGWATER DR                                                GREEN RIVER     WY         82935                 6002                Various                                                                                             $3.67
RICHARD FITZGERALD             2 ANNIVERSARY CT                                                 MADISON         WI         53704                 6004                Various                                                                                            $25.00
RICHARD FLATEN                 385 GREASEWOOD ST                                                GREEN RIVER     WY         82935                 6002                Various                                                                                             $5.04
RICHARD FOLEY                  W4429 CTY RD N                                                   BELDENVILLE     WI         54003                 6002                Various                                                                                             $0.38
RICHARD FRAME                  205 HILLTOP TRL W                                                FORT ATKINSON   WI         53538                 6002                Various                                                                                             $9.04
RICHARD FRANKLIN               1340 BROOKHAVEN DR,         .                                    HAMMOND         WI         54015                 6004                Various                                                                                             $1.65
RICHARD FRAZER                 PO BOX 432                                                       SUAMICO         WI         54173                 6004                Various                                                                                            $37.00
RICHARD FULLER                 264 KINGSWAY DR                                                  MANKATO         MN         56003                 6004                Various                                                                                            $15.00
RICHARD G FARRINGTON           19661 BRYANT LN                                                  LENORE          ID         83541                 6002                Various                                                                                             $6.85




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                                                                                                                                                                                     Contingent


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                                                                                                                                            Last 4 Digits of     Date Debt was
                                                                                                                                               Account         Incurred, Basis for
            Creditor Name              Address1             Address2        Address3            City        State           Zip   Country      Number                Claim                                                                             Total Claim

RICHARD GANDY                225 WHISPERING SPRINGS DR AP                                FOND DU LAC       WI       54937                   6002               Various                                                                                             $0.77
RICHARD GARDNER              5835 MEADOWBROOK LN                                         LINCOLN           NE       68510                   6002               Various                                                                                             $2.55
RICHARD GERTZ                1811 HARRISON HILL                                          HANNIBAL          MO       63401                   6004               Various                                                                                            $60.00
RICHARD GHENT                401 N CLARK ST                                              BLACK CREEK       WI       54106                   6002               Various                                                                                             $9.23
RICHARD GRAF                 2086 COLONY CT                                              BELOIT            WI       53511                   6002               Various                                                                                             $9.74
RICHARD GREGORY              1321 PENNSYLVANIA AVE                                       WINDSOR           IL       61957                   6002               Various                                                                                             $5.34
RICHARD GROVER               1513 ERNEST AVE                                             MISSOULA          MT       59801                   6004               Various                                                                                            $51.03
RICHARD GUNNING              2310 S LINCOLN                                              SPOKANE           WA       99203                   6004               Various                                                                                            $20.89
RICHARD H DEVRIES            24828 ROLLING ACRES DR                                      GLENWOOD          MN       56334                   6002               Various                                                                                             $3.62
RICHARD H. DUMEZ             6712 26TH AVE                                               KENOSHA           WI       53143                   6002               Various                                                                                             $7.70
RICHARD HAMILTON             642 LORE LAKE RD                                            KALISPELL         MT       59901                   6002               Various                                                                                             $7.26
RICHARD HANSEN               230 EVERETTE ST                                             CURRIE            MN       56123                   6004               Various                                                                                            $43.84
RICHARD HARDIN               5719 HIGHWAY P                                              ALBANY            MO       64402                   6002               Various                                                                                             $8.32
RICHARD HARM                 1122 AVE L                                                  GOTHENBURG        NE       69138                   6002               Various                                                                                             $9.70
RICHARD HARRIS               1900 VICTORY ST APT 6                                       LA CROSSE         WI       54601                   6002               Various                                                                                             $1.21
RICHARD HARTWIG              610 E MAPLE ST                                              HORICON           WI       53032                   6002               Various                                                                                            $10.00
RICHARD HAYS                 3330 SOUTH GRANT ST                                         MISSOULA          MT       59801                   6004               Various                                                                                             $2.00
RICHARD HEMBROUGH            961 BROGDON RD                                              JACKSONVILLE      IL       62650                   6004               Various                                                                                            $33.65
RICHARD HENDERSON            714 ALMA AVE.                                               IPSWICH           SD       57451                   6004               Various                                                                                            $19.08
RICHARD HOFFMAN              9479 ROCKY RUN RD                                           MILLADORE         WI       54454                   6002               Various                                                                                             $0.93
RICHARD HOGAN                225 COUNTY ROAD Y                                           LUXEMBURG         WI       54217                   6002               Various                                                                                             $9.51
RICHARD IRONSIDE             2240 2ND ST S                                               WISCONSIN RAPID   WI       54494                   6002               Various                                                                                             $1.32
RICHARD J HAMILTON           5005 RIVER DR N                                             GREAT FALLS       MT       59405                   6002               Various                                                                                             $9.01
RICHARD J WANSERSKI          1020 1ST ST APT 202                                         STEVENS POINT     WI       54481                   6002               Various                                                                                             $9.21
RICHARD JACKSON              940 FOXCROFT CT APT 99                                      LINCOLN           NE       68510                   6002               Various                                                                                             $5.42
RICHARD JANSEN               309 W MULLAN AVE                                            KELLOGG           ID       83837                   6002               Various                                                                                             $3.78
RICHARD JOHNSON              311 CENTER ST                                               MANKATO           MN       56001                   6002               Various                                                                                             $1.67
RICHARD JOHNSTON             PO BOX 86                                                   STURGIS           SD       57785                   6002               Various                                                                                             $8.22
RICHARD JOSE MILLS           PO BOX 52                                                   HARDWICK          MN       56134                   6002               Various                                                                                             $1.21
RICHARD JR HIGHBARGER        1763 S HANCE DR APT 2                                       FREEPORT          IL       61032                   6002               Various                                                                                             $1.56
RICHARD JUDD                 2523 PERRY PARK AVE                                         PERRY             IA       50220                   6002               Various                                                                                             $3.08
RICHARD KAUFERT              202 E LINDBERGH ST                                          APPLETON          WI       54911                   6002               Various                                                                                             $2.00
RICHARD KAWLESKI             HARMONY LIVING                                              STEVENS POINT     WI       54481                   6002               Various                                                                                             $4.49
RICHARD KLAR                 E3932 CTH KK                                                CHASEBURG         WI       54621                   6002               Various                                                                                             $0.66
RICHARD KOCH                 1563 SUSSEX RD                                              KAYCEE            WY       82639                   6002               Various                                                                                             $6.90
RICHARD KORB                 409 6TH ST                                                  KIEL              WI       53042                   6004               Various                                                                                             $3.50
RICHARD KOWAL                47300 US HIGHWAY 169                                        PALISADE          MN       56469                   6002               Various                                                                                             $6.03
RICHARD KRAUSE               733 CALEDONIA ST                                            LA CROSSE         WI       54603                   6002               Various                                                                                             $0.85
RICHARD KROKEL JR            618 12TH AVE NE                                             ABERDEEN          SD       57401                   6002               Various                                                                                             $6.82
RICHARD KUNZ                 51 SHILO DR.                                                KALISPELL         MT       59901                   6004               Various                                                                                             $2.00
RICHARD L (D MAHONEY         31930 271ST ST                                              WINNER            SD       57580                   6002               Various                                                                                             $1.37
RICHARD L DURAN              7051 LENWOOD DR APT 14                                      WEST BEND         WI       53090                   6002               Various                                                                                             $3.97
RICHARD L JOHNSON            37918 440TH PL                                              AITKIN            MN       56431                   6002               Various                                                                                             $0.49
RICHARD L MAU                3002 OKOBOJI BOULEVARD                                      MILFORD           IA       51351                   4309               Various                                                                                         $1,568.25
RICHARD L STEWART            26460 COURT LN SPC 120                                      LEWISTON          ID       83501                   6002               Various                                                                                             $0.68
RICHARD L THOMPSON           516 S 1ST ST                                                GREENFIELD        IA       50849                   6002               Various                                                                                             $5.15
RICHARD L. SHIPLER JR        1524 E RACINE ST                                            JANESVILLE        WI       53545                   6002               Various                                                                                             $0.93
RICHARD LANG                 1242 CHICADEE                                               SALT LAKE CITY    UT       84123                   6004               Various                                                                                            $82.99
RICHARD LARA                 NEED PHYSICAL ADDRESS                                       OROFINO           WA       83544                   6002               Various                                                                                             $0.55
RICHARD LARABEE              308 SE KENT ST                                              GREENFIELD        IA       50849                   6002               Various                                                                                             $8.99
RICHARD LARSON               2676 24TH AVE SW                                            PINE RIVER        MN       56474                   6002               Various                                                                                             $5.34
RICHARD LEE BUSS             1773 150TH AVE                                              LUVERNE           MN       56156                   6002               Various                                                                                             $6.77
RICHARD LINDSAY              970 E STERLING DR                                           SPANISH FORK      UT       84660                   6002               Various                                                                                             $6.66




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            Creditor Name               Address1                 Address2         Address3            City          State           Zip   Country     Number                Claim                                                                             Total Claim
RICHARD LORENZEN             702 CENTRAL AVE NE                                                EAST GRAND FORK   MN         56721                 6002                Various                                                                                                $6.55
RICHARD LYNCH                1422 ORLEANS AVE                                                  KEOKUK            IA         52632                 6004                Various                                                                                               $12.00
RICHARD M CALDWELL           35 N 100TH W                                                      BRIGHAM CITY      UT         84302                 6002                Various                                                                                                $2.55
RICHARD M DEGREEF            605 W BRIAR LN APT 220                                            GREEN BAY         WI         54301                 6002                Various                                                                                                $0.63

RICHARD MARSH                431 E EAGLE FLATS PKWY APT 3                                      APPLETON          WI         54915                  6002               Various                                                                                             $4.30
RICHARD MARTENS              3131 ELKRIDGE DRIVE            APT. E                             OSHKOSH           WI         54904                  6004               Various                                                                                             $5.00
RICHARD MCALLISTER           1184 TORRINGTON COURT                                             MERIDIAN          ID         83646                  6004               Various                                                                                            $63.99
RICHARD MCCORMICK            479 CHOKECHERRY                                                   STAR VALLEY RA    WY         83127                  6002               Various                                                                                             $6.79
RICHARD MCINNISH             227 LUNDSBERRY ST                                                 WATERTOWN         WI         53098                  6002               Various                                                                                             $9.92
RICHARD MIKESELL             PO BOX 639                                                        SIDNEY            MT         59270                  6002               Various                                                                                             $4.08
RICHARD MILENDER             PO BOX 534                                                        SUPERIOR          MT         59872                  6004               Various                                                                                             $7.97
RICHARD NELSON               3402 N 12TH ST                                                    COEUR D ALENE     ID         83815                  6004               Various                                                                                            $28.86
RICHARD NEVENHOVEN           157 S GLENVIEW AVE                                                BRILLION          WI         54110                  6002               Various                                                                                             $4.58
RICHARD NIKOLAI              504 N DIVISION STREET                                             COLBY             WI         54421                  6002               Various                                                                                             $8.68
RICHARD OIE                  RT BOX 21248A                                                     GRANGEVILLE       ID         83530                  6002               Various                                                                                             $1.66
RICHARD OLSON                842 65TH PLACE                                                    SPRINGFIELD       OR         97478                  6004               Various                                                                                            $20.00
RICHARD ORR                  PO BOX 221                                                        LEADORE           ID         83464                  6002               Various                                                                                             $9.21
RICHARD ORTLIEB              36012 E PARK HWY                                                  LOUISVILLE        NE         68037                  6002               Various                                                                                             $5.92
RICHARD P HUSS               721 S LEE ST                                                      APPLETON          WI         54915                  6002               Various                                                                                             $7.86
RICHARD PHILLIPS             608 S 5TH ST                                                      WORLAND           WY         82401                  6002               Various                                                                                             $4.99
RICHARD PLUMMER              M327 STATE HIGHWAY 97                                             MARSHFIELD        WI         54449                  6002               Various                                                                                             $2.63
RICHARD PRATT                1819 S GLASGOW AVE                                                NAMPA             ID         83686                  6004               Various                                                                                            $16.00
RICHARD QUICK                BOX 23                                                            CROOKSTON         NE         69212                  6002               Various                                                                                             $9.42
RICHARD R CALLAHAN           1515 E MAIN ST LLC             1702 S HALSTED ST                  CHICAGO           IL         60608                  2589               Various                                                                                         $5,687.50
RICHARD R STEVENSON          1306 N FREDERICK ST                                               POST FALLS        ID         83854                  6002               Various                                                                                             $3.78
RICHARD R SWANSON            8702 HASTINGS CIR NE                                              MINNEAPOLIS       MN         55449                  6002               Various                                                                                             $6.49
RICHARD R. PAGE              520 N CONVERSE ST                                                 SUPERIOR          NE         68978                  6002               Various                                                                                             $3.12
RICHARD R. UHLER             3505 PARK LANE DR APT 209                                         LA CROSSE         WI         54601                  6002               Various                                                                                             $6.25
RICHARD RASMUSSEN            2411 W HART RD                                                    BELOIT            WI         53511                  6002               Various                                                                                            $10.00
RICHARD RAWSON               65 BILLMAN LANE TR # 10                                           LIVINGSTON        MT         59047                  6002               Various                                                                                             $4.82
RICHARD RECHTENBACH          562 COUNTY ROAD 1700                                              DORCHESTER        NE         68343                  6002               Various                                                                                             $7.84
RICHARD RIPPLE               W10417 CTY RD FF                                                  RIVER FALLS       WI         54022                  6002               Various                                                                                             $3.67
RICHARD ROHER                9098 HICKORY DR                                                   KEWASKUM          WI         53040                  6002               Various                                                                                             $6.44
RICHARD ROLKOSKY             3760 VANLANEN RD                                                  GREEN BAY         WI         54311                  6004               Various                                                                                            $16.00
RICHARD ROSKE                PO BOX 850                                                        HOT SPRINGS       SD         57747                  6002               Various                                                                                             $9.40
RICHARD ROSS                 RR1 BOX 292                                                       GREENFIELD        IL         62650                  6004               Various                                                                                            $13.46
RICHARD SCHAEFER             1150 HENNEPIN AVE APT                                             MINNEAPOLIS       MN         55403                  6002               Various                                                                                             $7.15
RICHARD SCHMIDT              927 2ND ST SW                                                     GREAT FALLS       MT         59404                  6004               Various                                                                                             $5.00
RICHARD SCHNEITER            3029 SOUTH PARK                                                   MISSOULA          MT         59801                  6004               Various                                                                                             $5.00
RICHARD SCHUMACK             707 N LLOYD ST                                                    ABERDEEN          SD         57401                  6002               Various                                                                                             $9.37
RICHARD SCHWARTZKOPF         614 W 10TH ST                                                     LARNED            KS         67550                  6002               Various                                                                                             $3.73
RICHARD SCHWARTZLOW          6329 PHEASANT LN APT 115                                          MIDDLETON         WI         53562                  6002               Various                                                                                             $9.40
RICHARD SCHWEMMER            1600 E STINER AVE                                                 COEUR D ALENE     ID         83815                  6002               Various                                                                                             $4.79
RICHARD SCOTT JR.            5332 WESTPORT RD APT 8                                            MADISON           WI         53704                  6004               Various                                                                                             $5.95
RICHARD SEILER               1186 ROLAND LN                 APT 1                              GREEN BAY         WI         54303                  6004               Various                                                                                             $2.00
RICHARD SHILT                920 RICHARD DR APT 33                                             EAU CLAIRE        WI         54701                  6002               Various                                                                                             $5.12
RICHARD SHOPE                330 129TH ST                                                      OROFINO           ID         83544                  6002               Various                                                                                            $12.83
RICHARD SIMON                60 JACKSON CIR                                                    SISSETON          SD         57262                  6002               Various                                                                                             $6.74
RICHARD SMITH                1813 ST MARIES AVE                                                COEUR D ALENE     ID         83814                  6004               Various                                                                                             $5.50
RICHARD SOUKUP               805 N 5TH ST                                                      BELLEVUE          NE         68005                  6002               Various                                                                                             $5.18
RICHARD SPIERINGS            2599 TIMBERCREST CT                                               APPLETON          WI         54914                  6004               Various                                                                                          $101.98
RICHARD SR RENNHACK          5244 ELM RD                                                       ARPIN             WI         54410                  6002               Various                                                                                            $10.00
RICHARD STEIN                1110 N RAPIDS RD                                                  MANITOWOC         WI         54220                  6002               Various                                                                                            $10.38




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             Creditor Name                   Address1                Address2         Address3            City          State           Zip   Country     Number                Claim                                                                             Total Claim
RICHARD STONE                     N63W24577 SILVER SPRING DR                                       SUSSEX            WI         53089                 6002                Various                                                                                                $1.45
RICHARD SUCHLA                    N9391 HIGHWAY 53                                                 HOLMEN            WI         54636                 6002                Various                                                                                                $9.37
RICHARD SUNDBERG                  854 160TH STREET                                                 SHERBURN          MN         56171                 6004                Various                                                                                               $12.01
RICHARD SWEETEN                   211 DALE AVE                                                     FOLEY             MN         56329                 6004                Various                                                                                                $3.00
RICHARD SWENSON                   429 KING STREET APT 313                                          WENATCHEE         WA         98840                 6004                Various                                                                                               $23.00
RICHARD SZERKINS                  6921 COUNTY VILLAGE RD                                           WISC RAPIDS       WI         54495                 6002                Various                                                                                                $9.29
RICHARD TAYLOR                    60864 RAINTREE DR                                                BEND              OR         97702                 6004                Various                                                                                               $27.93
RICHARD THOMPSON                  336 PEBBLE BEACH DRIVE                                           BRENTWOOD         CA         94513                 6004                Various                                                                                                $5.96
RICHARD TINKLENBERG               2805 HILLCREST LN                                                CALDWELL          ID         83605                 6002                Various                                                                                                $1.73
RICHARD TOELLNER                  2844 VALENTINE RD                                                ABRAMS            WI         54101                 6002                Various                                                                                                $5.07
RICHARD TREATCH                   1953 GEORGIA ST.                                                 OSHKOSH           WI         54902                 6004                Various                                                                                               $12.00
RICHARD TRI                       16189 635TH ST                                                   DODGE CENTER      MN         55927                 6004                Various                                                                                                $9.00
RICHARD UBBEN                     15572 DODGE AVE                                                  DUMONT            IA         50625                 6004                Various                                                                                               $57.60
RICHARD UNGER                     305 W SUNSET AVE                                                 APPLETON          WI         54911                 6002                Various                                                                                                $2.14
RICHARD VALENTINE                 415 N CAMBRIDGE DR                                               APPLETON          WI         54915                 6002                Various                                                                                                $6.82

RICHARD VANDERBLOEMEN             2801 GARNERS CREEK CT APT 12                                     KAUKAUNA          WI         54130                  6002               Various                                                                                                $6.88
RICHARD VOSTERS                   3730 E EDGEWOOD DR                                               APPLETON          WI         54913                  6004               Various                                                                                               $25.00
RICHARD W CHRISTIANSON            126 N 4TH ST                                                     WINNECONNE        WI         54986                  6002               Various                                                                                                $3.23
RICHARD W KENT                    461 E HOWARD ST                                                  WINONA            MN         55987                  6002               Various                                                                                                $6.60
RICHARD WACEK                     504 E COOK ST                                                    REDWOOD FALLS     MN         56283                  6002               Various                                                                                                $7.37
RICHARD WALTERS                   128 N 9TH AVE                                                    WAUSAU            WI         54401                  6002               Various                                                                                                $9.40
RICHARD WAMBOLDT                  N 4546 CLOVER LANDE                                              ELAND             WI         54427                  6004               Various                                                                                                $2.00
RICHARD WARD                      5148 N BUTMAN TD                                                 GLADWIN           MI         48624                  6002               Various                                                                                                $8.85
RICHARD WEGMAN                    PO BOX 590                                                       EPHRAIM           WI         54211                  6002               Various                                                                                                $6.99
RICHARD WEGNER                    PO BOX 350                                                       EGG HARBOR        WI         54209                  6002               Various                                                                                                $6.44

RICHARD WENZLER                   611 S SPRING ST                                                  PORT WASHINGTON   WI         53074                  6002               Various                                                                                             $8.66
RICHARD WESTBURY                  P.O. BOX 584                                                     THIENSVILLE       WI         53092                  6004               Various                                                                                            $25.00
RICHARD WHITCROFT                 191 BIG BEND LN                                                  GREAT FALLS       MT         59404                  6002               Various                                                                                             $7.97
RICHARD WICHMANN                  3895 HIGHWAY 22                                                  OCONTO            WI         54153                  6002               Various                                                                                             $4.41
RICHARD WILLIAMS                  3004 DAM RD                                                      RHINELANDER       WI         54501                  6002               Various                                                                                            $13.47
RICHARD WILSON                    123 1/2 E CHESTNUT ST                                            SISSETON          SD         57262                  6002               Various                                                                                            $10.00
RICHARD WISSING                   PO BOX 125                                                       ST LIBORY         NE         68803                  6002               Various                                                                                             $7.84
RICHARD WITTROCK                  500 WINDY HEIGHTS DR                                             COUNCIL BLUFFS    IA         51503                  6004               Various                                                                                            $33.75
RICHARD WOHLER                    N1979 SW ROAD                                                    OMEGA             WI         54459                  6002               Various                                                                                             $6.25
RICHARD WRATHMALL                 3104 S WESTERN AVE                                               SIOUX FALLS       SD         57105                  6002               Various                                                                                             $1.37
RICHARD, JR. MCCORISON            15 FOXTAIL AVE                                                   DULUTH            MN         55810                  6004               Various                                                                                             $3.00
RICHARDA WAKEFIELD                2205 LOGAN AVE                                                   SUPERIOR          WI         54880                  6002               Various                                                                                             $0.99
RICHARDS HOMEWARES INCORPORATE    PO BOX 83419                                                     PORTLAND          OR         97283                  0972               Various                                                                                         $9,612.25
RICHELLE A MILLER                 902 N GREEN ST                                                   VALENTINE         NE         69201                  6002               Various                                                                                             $5.34
RICHELLE LYFORD-MAYE              4513 OXBOW PL                                                    BOISE             ID         83713                  6002               Various                                                                                             $2.71
RICHELLE VLIETSTRA                N5547 867TH ST                                                   ELK MOUND         WI         54739                  6002               Various                                                                                             $2.33
RICHLAND COUNTY FAIR & RODEO      2118 W HOLLY STREET            PO BOX 1026                       SIDNEY            MT         59270                  6666               Various                                                                                            $20.70
RICHSEATHEA KONG                  2421 PARKER PLACE                                                MADISON           WI         53713                  6004               Various                                                                                            $25.00
RICK AKERLEY                      414 S TERRACE ST                                                 SALMON            ID         83467                  6002               Various                                                                                             $0.96
RICK ALBRECHT                     28020 UNITY AVE                                                  GALLATIN          MO         64640                  6002               Various                                                                                             $6.71
RICK ANDERSON                     PO BOX 147                                                       PAXTON            NE         69155                  6002               Various                                                                                             $8.99
RICK BAIN                         1449 CARDINAL LN                                                 GREEN BAY         WI         54313                  6004               Various                                                                                            $10.00
RICK BARTOLOME                    1296 E PISTIOA DRIVE                                             MERIDIAN          ID         83642                  6004               Various                                                                                            $13.60
RICK BERRY                        933 MARY ST                                                      GREEN BAY         WI         54303                  6002               Various                                                                                             $4.25
RICK BLUM                         522 S DOE DR                                                     BELOIT            WI         53511                  6004               Various                                                                                            $14.98
RICK BOOMSMA                      243 DICKINSON STREET                                             RANDOLPH          WI         53956                  6004               Various                                                                                             $5.40
RICK CARR                         PO BOX 63                                                        WHITMAN           NE         69366                  6002               Various                                                                                             $7.89




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                                                                                                                                                                                          Contingent


                                                                                                                                                                                                                      Disputed
                                                                                                                                                 Last 4 Digits of     Date Debt was
                                                                                                                                                    Account         Incurred, Basis for
               Creditor Name                Address1            Address2         Address3             City        State           Zip   Country     Number                Claim                                                                             Total Claim
RICK D. MORTENSEN               328 COUNTRY ELMS EST                                          GALESBURG        IL         61401                 6002                Various                                                                                             $1.04
RICK FUGATE                     330 129TH STREET                                              OROFINO          ID         83544                 6002                Various                                                                                             $3.61
RICK HARWARD                    HC 13 BOX 4104                                                FAIRVIEW         UT         84629                 6002                Various                                                                                             $3.10
RICK JONES                      1440 S F ST                                                   BROKEN BOW       NE         68822                 6002                Various                                                                                             $6.77
RICK KAY                        58161 855TH RD                                                WAKEFIELD        NE         68784                 6002                Various                                                                                             $0.85
RICK KERO                       GET                                                           OLYMPIA          WA         98516                 6004                Various                                                                                            $25.00
RICK KUE                        3834 FAIRVIEW RD                                              NEENAH           WI         54956                 6004                Various                                                                                            $25.00
RICK L. CAPELL                  330 JAMES AVE                                                 POCATELLO        ID         83202                 6002                Various                                                                                             $1.53
RICK MARTIN                     354 N NEWSTAR DR                                              SALT LAKE CITY   UT         84116                 6002                Various                                                                                             $7.84
RICK MARTINDALE                 107 ARTESIAN ST                                               BELLE FOURCHE    SD         57717                 6002                Various                                                                                             $3.53
RICK MCFREDERICK                104 SALMON MEADOWS ST                                         SALMON           ID         83467                 6002                Various                                                                                             $1.15
RICK MOHLER                     3 WHITE LANE                                                  GREAT FALLS      MT         59404                 6004                Various                                                                                            $26.98
RICK NAVE                       7920 ZACHARY CIR                                              LINCOLN          NE         68507                 6004                Various                                                                                            $10.00
RICK PARKER                     1518 RIDGE VIEW CT                                            GRAFTON          WI         53024                 6002                Various                                                                                             $0.93
RICK PEGRAM                     7478 W MAJESTIC AVE                                           RATHDRUM         ID         83858                 6002                Various                                                                                             $0.74
RICK RUSSELL                    908 N FRANKIN                                                 NORTH PLATTE     NE         69101                 6004                Various                                                                                           $135.00
RICK SCHUMACHER                 116 LAKECREST DR                                              BEAVER DAM       WI         53916                 6004                Various                                                                                             $1.00
RICK SHRAUNER                   901 DALEY ST LOT 42                                           RAWLINS          WY         82301                 6002                Various                                                                                             $6.33
RICK SPIEL                      3705 WOODSTONE DR                                             MADISON          WI         53719                 6004                Various                                                                                             $2.94
RICKETT COLLINS                 605 W 18TH ST                                                 SIOUX FALLS      SD         57105                 6002                Various                                                                                             $0.82
RICKEY CALHOUN                  1150 MASON ST                                                 WHEATLAND        WY         82201                 6002                Various                                                                                             $0.27
RICKEY CARNEY                   1003 NW 8TH PL                                                ANDREWS          TX         79714                 6002                Various                                                                                             $4.19
RICKEY CLEMENS                  590 KLEIN DR                                                  HAMMOND          WI         54015                 6002                Various                                                                                             $7.29
RICKEY D VICKERY                301 W LAWRENCE ST APT 204                                     HELENA           MT         59601                 6002                Various                                                                                             $1.45
RICKEY H STOFLET                E1694 PARK VIEW WAY                                           WAUPACA          WI         54981                 6002                Various                                                                                             $7.53
RICKEY HOPKINS                  2500 48 STREET                                                KENOSHA          WI         53140                 6004                Various                                                                                            $20.00
RICKEY WILTFANG                 333 W 4900 S                                                  OGDEN            UT         84405                 6004                Various                                                                                            $41.00
RICKI WALTERS                   802 18TH ST SW                                                AUSTIN           MN         55912                 6004                Various                                                                                            $25.50
RICKI WARD                      1921 ISABELLA ST                                              SIOUX CITY       IA         51103                 6002                Various                                                                                             $0.60
RICKIE FAHNING                  705 SOUTH FRONT STREET                                        SAINT PETER      MN         56082                 6004                Various                                                                                             $3.00
RICKIE L RASMUSSON              7582 386TH ST                                                 NORTH BRANCH     MN         55056                 6002                Various                                                                                             $4.38
                                806 NORTH THOMPSON DRIVE
RICKY ANDUJAR                   APT 4                                                         MADISON          WI         53704                  6004               Various                                                                                            $30.20
RICKY BARBER                    108 COURTNEY LN                                               REDGRANITE       WI         54970                  6002               Various                                                                                             $6.25
RICKY BEIGHTOL                  706 6TH ST SW                                                 MASON CITY       IA         50401                  6002               Various                                                                                             $4.30
RICKY HIGHTOWER                 705 W EDITH ST                                                SARGENT          NE         68874                  6002               Various                                                                                             $8.99
RICKY KINWORTHY                 575 SCHILLER STREET #13                                       SUN PRAIRIE      WI         53590                  6004               Various                                                                                             $5.95
RICKY L JOHNSON                 1200 12TH ST DOOR A                                           QUINCY           IL         62301                  6002               Various                                                                                             $8.90
RICKY LARGE                     518 N DRIES ST                                                SAUKVILLE        WI         53080                  6002               Various                                                                                             $4.68
RICKY LEONARD                   743 EAST 753RD LANE                                           QUINCY           IL         62305                  6004               Various                                                                                             $9.30
RICKY MERCER                    2651 STATE HIGHWAY YY                                         GENTRY           MO         64453                  6002               Various                                                                                             $7.70
RICKY MITCHELL                  217 1/2 E CEDAR ST                                            COLERIDGE        NE         68727                  6002               Various                                                                                             $5.95
RICKY STOLTZ                    3014 MOUNT VIEW AVE.                                          SCHOFIELD        WI         54476                  6004               Various                                                                                            $10.00
RICKY TADDER                    874 E MCKEARN LN                                              BELOIT           WI         53511                  6002               Various                                                                                             $8.88
RICKY WALSH                     62103 E. 44 PRNE                                              BENTON CITY      WA         99320                  6004               Various                                                                                             $3.00
RICKY WILLIAMS                  1823 WEST 6TH ST.                                             RACINE           WI         53404                  6004               Various                                                                                             $2.00
RICKY YEGGE                     1206 MARINETTE AVE                                            MARINETTE        WI         54143                  6004               Various                                                                                            $49.95
RICO CRUZ                       P. O. BOX 381                                                 CRAIGMONT        ID         83523                  6004               Various                                                                                          $200.00
RICOLA USA INCORPORATED         PO BOX 28643                                                  NEW YORK         NY         10087-8643             8483               Various                                                                                        $52,422.39
RICORDA BOWNS                   939 W 675TH N                                                 OREM             UT         84057                  6002               Various                                                                                             $6.30
                                                            3179 PAYSPHERE
RIDDELL INC                     ALL AMERICAN SPORTS CORP    CIRCLE                            CHICAGO          IL         60674-0000              6671              Various                                                                                               $92.00
RIDDICK BAMMAN                  1213 HOME AVE                                                 MENASHA          WI         54952                   6002              Various                                                                                                $8.74
RIDENOUR RANCH CO               111 WELLIVER RD                                               PLENTYWOOD       MT         59254                   6666              Various                                                                                               $74.35




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                                                                                                                                                         Account       Incurred, Basis for
             Creditor Name                   Address1             Address2          Address3             City          State           Zip   Country     Number              Claim                                                                             Total Claim
RIDGE LP                          223 E STRAWBERRY DRIVE                                         MILL VALLEY      CA           94941                 4505              Various                                                                                          $7,291.67
                                  C/O NODDLE DEVELOPMENT
RIDGE PLACE COMMONS ASSOCIATIO    COMPANY                     PO BOX 24169                       OMAHA            NE           68124-0169              0745            Various                                                                                        $13,902.77
RIELEY CANIN NEVINS               53075N M51                                                     DOWAGIAC         MI           49047                   6002            Various                                                                                             $2.11
RIFET BRKIC                       1821 W CENTER ST                                               ROCHESTER        MN           55902                   6002            Various                                                                                             $4.63
RIGO ELIZONDO                     209 SW 5TH ST                                                  ANDREWS          TX           79714                   6002            Various                                                                                             $9.45
RIGOBERTO CRUZ                    383 RAY STREET                                                 DELAVAN          WI           53115                   6004            Various                                                                                            $30.00
RIGOBERTO GONZALEZ                309 MADISON ST POB 294                                         AFTON            WY           83110                   6002            Various                                                                                             $6.66
RIKKI CAHOON                      6363 HOMESTEAD RD                                              DULUTH           MN           55804                   6004            Various                                                                                             $8.19
RIKKI HARRIS                      PO BOX 2062                                                    FORT WASHAKIE    WY           82514                   6002            Various                                                                                             $5.59
RIKKI LOUISE WADE                 301 VERMONT ST                                                 PLEASANT HILL    MO           64080                   6002            Various                                                                                             $7.84
RIKKI MANNING                     6751 S DUCHESS STREET                                          WEST JORDAN      UT           84081                   6004            Various                                                                                            $20.00
RIKKI SALETRI                     W7244 CO HWY A                                                 SPOONER          WI           54801                   6004            Various                                                                                            $25.00
RILEY ARNDT                       1618 WALNUT ST                                                 OSHKOSH          WI           54901                   6004            Various                                                                                            $25.00
RILEY BERG                        821 MADGE ST                                                   EDGAR            WI           54426                   6004            Various                                                                                            $25.00
RILEY CALBICK                     765 4TH AVE WN                                                 KALISPELL        MT           59901                   6004            Various                                                                                             $3.00
RILEY CHALIFOUX                   143 RADIO RD                                                   RIVER FALLS      WI           54022                   6004            Various                                                                                             $3.00
RILEY COLLINS                     3406 LA MANCHA DR                                              JANESVILLE       WI           53546                   6004            Various                                                                                             $1.00
RILEY FLOYD                       3033 NE QUAIL VALLEY LANE                                      PRINEVILLE       OR           97754                   6004            Various                                                                                             $1.02
RILEY HOLMES                      601 5TH AVE N                                                  SAUK RAPIDS      MN           56379                   6004            Various                                                                                            $23.00
RILEY MCELROY                     975 SWAN RIVER RD                                              BIGFORK          MT           59911                   6002            Various                                                                                             $6.03
RILEY MCNICOL                     410 VALERIA DR                                                 DEFOREST         WI           53532                   6004            Various                                                                                            $33.00
RILEY MORELAND                    338 N 5TH ST                                                   HOT SPRINGS      SD           57747                   6002            Various                                                                                             $9.62
RILEY RAYMER                      1514 PURVIS AVE                                                JANESVILLE       WI           53548                   6002            Various                                                                                            $10.00
                                                              C/O CORTNEY
RILEY SCHNEIDER                   318 RUSSELL STREET          SCHNEIDER                          AUGUSTA          WI           54722                   6004            Various                                                                                             $2.00
RILEY SCHREINER                   2302 WUERTZBURG RD                                             ATHENS           WI           54411                   6002            Various                                                                                            $10.00
RILEY SHAFFER                     156 S 1400 W                                                   CEDAR CITY       UT           84720                   6004            Various                                                                                            $20.00
RILEY WEIGELT                     W9213 CTYB                                                     COLEMAN          WI           54112                   6004            Various                                                                                             $2.00
RILEY ZARDA                       2411 CONANT                                                    STEVENS POINT    WI           54481                   6004            Various                                                                                             $2.00

RILEY/ MONTANA                    STORE 2-041                 SHOPKO EMPLOYEE                    GREEN BAY        WI           54307-9060              4854            Various                                                                                            $33.28

RILEY/MONTANA                     STORE 041                   SHOPKO EMPLOYEE                    GREEN BAY        WI           54307-9060              4387            Various                                                                                            $18.56
RILLA PRESSER                     171 ZIMMERMAN RD                                               KALISPELL        MT           59901                   6002            Various                                                                                             $6.90
RILYNN FINNEGAN                   506 ISLAND DR.                                                 DE FOREST        WI           53532                   6004            Various                                                                                             $5.40
RIMA V PATEL                      4280 STERLING DR                                               PLOVER           WI           54467                   6002            Various                                                                                             $2.00
RINDI KOENEN                      6 E 5TH ST APT 3                                               DULUTH           MN           55805                   6004            Various                                                                                             $3.00
RING LLC                          ATTN ACCOUNTS RECEIVABLE    1523 26TH ST                       SANTA MONICA     CA           90404                   5732            Various                                                                                        $32,230.32
RIPLEE VEIGEL                     515 E 4TH AVE                                                  AFTON            WY           83110                   6002            Various                                                                                             $7.10
RIPLEY STRAUSBAUGH                3425 GREEN MEADOW DR                                           HELENA           MT           59602                   6002            Various                                                                                             $7.37
RISE R BOYD                       711 LONG HALLOW ST                                             SISSETON         SD           57262                   6002            Various                                                                                             $6.33
RISSA FLINTROP                    448 N TERRACE STREET                                           DELAVAN          WI           53115                   6004            Various                                                                                            $25.00
RITA ALLEN                        803 S 800TH E                                                  TRENTON          UT           84338                   6002            Various                                                                                            $10.00
RITA CARTER                       388 M-94 WEST                                                  SKANDIA          MI           49885                   6004            Various                                                                                             $7.50
RITA COONEY                       3218 WILLOWGATE PASS                                           COLGATE          WI           53017                   6002            Various                                                                                             $3.42
RITA FONS                         7987 COUNTY HIGHWAY A                                          WAUSAU           WI           54401                   6002            Various                                                                                             $0.55
RITA GARCIA-RINDAHL               N50102 RIDGEWAY ST.                                            OSSEO            WI           54758                   6004            Various                                                                                             $1.20
RITA HELLER                       26198 547TH AVE                                                AUSTIN           MN           55912                   6002            Various                                                                                             $0.60
RITA HENDRICKSON                  2105 CARRIAGE DR NW                                            ROCHESTER        MN           55901                   6004            Various                                                                                            $68.34
RITA JOHNSON                      514 AIRWAY DRIVE                                               LEWISTON         ID           83501                   6004            Various                                                                                            $65.00
RITA KAUF                         700 E GROVE ST                                                 WEST POINT       NE           68788                   6002            Various                                                                                            $12.06
RITA KAUFMAN                      PO BOX 2355                                                    OROFINO          ID           83544                   6002            Various                                                                                             $1.23
RITA LEMON                        6889 E HIGHWAY 136                                             BEATRICE         NE           68310                   6002            Various                                                                                            $10.00




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                                                                                                                                                                 Account         Incurred, Basis for
              Creditor Name                       Address1                 Address2          Address3             City         State           Zip   Country     Number                Claim                                                                             Total Claim
RITA LEONARD                           304 PARKVIEW CIR                                                   MURRAY            NE         68409                 6002                Various                                                                                                $3.53
RITA LOVETT                            1613 WALNUT PL.                                                    WENATCHEE         WA         98801                 6004                Various                                                                                                $2.02
RITA MARTINEZ                          29 E 1ST N                                                         PRESTON           ID         83263                 6004                Various                                                                                               $35.00
RITA MCCARTY                           4139 134TH ST                                                      CHIPPEWA FALLS    WI         54729                 6002                Various                                                                                                $6.96
RITA MERRILL                           600 ASCOT ST                                                       SIOUX CITY        IA         51103                 6002                Various                                                                                                $5.12
RITA MOILANEN                          527 ISLE ROYALE ST                                                 CALUMET           MI         49913                 6002                Various                                                                                                $6.96
RITA MROVKA                            64 FIVE OAKS DR.                                                   MENASHA           WI         54952                 6004                Various                                                                                               $10.00
RITA N REED                            624 N SPRING ST                                                    PALMYRA           MO         63461                 6002                Various                                                                                                $7.51
RITA NELSON                            15704 439 AVE                                                      WALLACE           SD         57272                 6004                Various                                                                                                $5.00
RITA PARKER                            PO BOX 96                                                          ROUNDUP           MT         59072                 6002                Various                                                                                               $10.00
RITA RAISOR                            318 LAZY ACRE RD                                                   WAUSAU            WI         54401                 6002                Various                                                                                                $2.96
RITA REMMEL                            1017 LEONARD DR                                                    EAU CLAIRE        WI         54703                 6002                Various                                                                                                $3.84
RITA RODRIGUEZ                         1010 N LINCOLN AVE             APT 216                             SIOUX FALLS       SD         57104                 6004                Various                                                                                                $6.00
RITA RUFFELL                           3541 E GREEN HILL DR.                                              SANDY             UT         84093                 6004                Various                                                                                               $10.00
RITA THUSS                             1500 N 3RD ST                  G5                                  MANITOWOC         WI         54220                 6004                Various                                                                                                $7.06
RITA WILLIAMS                          1029 CEDAR AVE TRLR 13                                             LEWISTON          ID         83501                 6002                Various                                                                                                $0.38
RITA WOBECK                            6851 WOBECK LN.                                                    GREENLEAF         WI         54126                 6004                Various                                                                                               $25.00
                                                                                                                                                                                 12/1/2018 -
RIVERDALE CITY                         4600 SOUTH WEBER RIVER DRIVE                                       RIVERDALE         UT         84405                   82                12/31/2018                                                                                        $481.09
RIVERSIDE MEDICAL CENTER INCOR         800 RIVERSIDE DRIVE                                                WAUPACA           WI         54981                   3265              Various                                                                                           $381.50

RJ RASMUSSEN PLUMBING & HEATING INC.   2441 WILLOW DRIVE                                                  PLOVER            WI         54467                                     Various                                                                                           $593.69
RLAN ATKINS                            PO BOX 103                                                         OWYHEE            NV         89832                  6002               Various                                                                                             $7.29
RLEND WASS                             404 W CENTRAL AVE                                                  BELGRADE          MT         59714                  6002               Various                                                                                             $7.10

RMD MENASHA LLC                        RONALD M DEWOSKIN              6220 NESBITT ROAD                   MADISON           WI         53719                   9959              Various                                                                                        $31,706.61
                                                                      301 CONGRESS AVE
RNOT LLC INC                           RETAIL ME NOT INC              SUITE 700                           AUSTIN            TX         78701                   3273              Various                                                                                        $79,940.78
ROADHOUSE CATERING                     PO BOX 133                                                         WABASSO           MN         56293                   1726              Various                                                                                          $561.75
ROALD HARSWICK                         2130 ROCK RIVER CT                                                 DE PERE           WI         54115                   6002              Various                                                                                             $1.97
                                                                      1401 SUNSET
ROB CURTIS LANDSCAPING                 ROB CURTIS                     AVENUE                              WINNER            SD         57580                  6858               Various                                                                                           $141.77
ROB GLOUDEMAN                          2209 W RIVERSIDE DR                                                KAUKAUNA          WI         54130                  6004               Various                                                                                             $2.96
ROB VEATCH                             2880 S AVENUE                                                      PARNELL           IA         52325                  6002               Various                                                                                             $7.37
ROB WHITAKER                           6351 W 3100TH S                                                    WEST VALLEY CIT   UT         84128                  6002               Various                                                                                             $4.79
ROBBI D. RICHTER                       1735 E GREGSON AVE                                                 SALT LAKE CITY    UT         84106                  6002               Various                                                                                             $0.58
ROBBI NESVACIL                         26512 155TH AVE.                                                   CADOTT            WI         54727                  6004               Various                                                                                             $1.02
ROBBIE HOLST JR.                       306 N UNIVERSITY AVE                                               BEAVER DAM        WI         53916                  6004               Various                                                                                             $2.00
ROBBIE HOWERTON                        617 VAN BUREN ST.                                                  LITTLE CHUTE      WI         54140                  6004               Various                                                                                             $6.02
ROBBIE KINCADE                         39151 E 340TH AVE                                                  GILMAN CITY       MO         64642                  6002               Various                                                                                             $8.66
ROBBIE MERRIMAN                        251 W BEARDSTOWN                                                   VIRGINIA          IL         62691                  6004               Various                                                                                            $30.00
ROBBIN JUANICO                         491 WAGON WHEEL CT                                                 ZUMBRO FALLS      MN         55991                  6004               Various                                                                                             $3.00
ROBBIN MIKUS                           323 7TH AVE N                                                      GREYBULL          WY         82426                  6002               Various                                                                                             $0.60
ROBBIN RHEA                            2610 S 70 APT 40                                                   LINCOLN           NE         68506                  6004               Various                                                                                            $34.00
ROBBYN SMITH                           343 WOOD LAKE DRIVE SE                                             ROCHESTER         MN         55904                  6004               Various                                                                                             $6.00
ROBERT A BERG                          2512 SMITH VALLEY RD                                               LA CROSSE         WI         54601                  6002               Various                                                                                             $4.08
ROBERT A MEGAL                         2710 WASHINGTON AVE                                                PLOVER            WI         54467                  6002               Various                                                                                             $8.47
ROBERT A RUD                           2046 SHULT ST                                                      EAU CLAIRE        WI         54703                  6002               Various                                                                                             $4.22
ROBERT A SPENCE                        911 GARFIELD LN                                                    ROCK SPRINGS      WY         82901                  6002               Various                                                                                             $6.00
ROBERT A. ANDERSON                     2937 91ST ST                                                       STURTEVANT        WI         53177                  6002               Various                                                                                             $7.10
ROBERT A. MALLOY                       1941 BAKER ST                                                      WISCONSIN RAPID   WI         54494                  6002               Various                                                                                             $0.44
ROBERT ALEXANDER                       21501 427TH ST                                                     CHARITON          IA         50049                  6002               Various                                                                                             $2.71
ROBERT ANDERSON                        1730 N 58TH ST                                                     LINCOLN           NE         68505                  6004               Various                                                                                            $16.05
ROBERT ANDERTON                        129 E 1800TH S                                                     BOUNTIFUL         UT         84010                  6002               Various                                                                                             $0.74




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ROBERT ANGELI                 W279 N7476 SUMMER CT                                         HARTLAND          WI         53029                 6002                Various                                                                                                $7.56
ROBERT ASMUS                  2835 PONCA ST                                                LINCOLN           NE         68506                 6004                Various                                                                                               $35.94
ROBERT B DUNN                 W8375 SPRINGWOOD LN                                          DELAVAN           WI         53115                 6002                Various                                                                                                $0.74
ROBERT BAGNIEFSKI             307 SOUTH 24TH ST                                            LA CROSSE         WI         54601                 6004                Various                                                                                                $1.50
ROBERT BAKER                  2433 W B STREET                                              TORRINGTON        WY         82240                 6002                Various                                                                                                $7.16
ROBERT BALFOUR                2145 MIDDLEFIELD RD.                                         BOISE             ID         83704                 6004                Various                                                                                               $10.02
ROBERT BALLENGER              6990 APPLEGATE DR TRLR D                                     HELENA            MT         59602                 6002                Various                                                                                                $4.82
ROBERT BARNETT                2902 HANCOCK ST LOT 12                                       BELLEVUE          NE         68005                 6002                Various                                                                                                $2.99

ROBERT BARRIBEAU              2103 SCHAUMAN RD                                             ARMSTRONG CREEK   WI         54103                  6004               Various                                                                                               $10.02
ROBERT BARTLETT               555 S MAIN ST                                                CHIPPEWA FALLS    WI         54729                  6002               Various                                                                                                $9.78
ROBERT BASTIAN                6102 PLEASANTVIEW RD                                         REEDSVILLE        WI         54230                  6004               Various                                                                                                $6.95
ROBERT BATES                  P.O.BOX 66                                                   SAGOLA            MI         49881                  6004               Various                                                                                                $1.98
ROBERT BAUER                  611 IRIS ST.                                                 SAVANNA           IL         61074                  6004               Various                                                                                               $15.02
ROBERT BECKER                 3004 DWIGHT ST                                               RACINE            WI         53403                  6002               Various                                                                                                $5.73
ROBERT BEHREND                2036 VRATCON RD                                              GREEN BAY         WI         54313                  6004               Various                                                                                               $37.00

ROBERT BELL                   170 N WASHINGTON BLVD      APARTMENT # 1109                  OGDEN             UT         84404                  6004               Various                                                                                               $10.00
ROBERT BELLOMY                3039 SPAULDING STREET                                        BOISE             ID         83705                  6004               Various                                                                                               $40.00
ROBERT BEN SIMPSON            220 W SOUTH STREET                                           EXIRA             IA         50076                  6002               Various                                                                                                $5.97
ROBERT BENKE                  56374 190TH AVE                                              WEST CONCORD      MN         55985                  6004               Various                                                                                                $3.06
ROBERT BENSON                 2730 SEWELL ST                                               LINCOLN           NE         68502                  6004               Various                                                                                               $81.92
ROBERT BERINGER               500 3RD ST S               #134                              WAITE PARK        MN         56387                  6004               Various                                                                                                $2.40
ROBERT BESTUL                 191 SOUTH MAIN ST          APT 2                             FOND DU LAC       WI         54935                  6004               Various                                                                                               $47.00
ROBERT BETTS                  424 7TH ST NW                                                MASON CITY        IA         50401                  6002               Various                                                                                                $4.03
ROBERT BEYER                  711 LUM AVE                                                  WATERLOO          WI         53594                  6002               Various                                                                                                $7.18
ROBERT BINGHAM                4009 HEGG AVE                                                MADISON           WI         53716                  6004               Various                                                                                                $5.70
ROBERT BJORHOLM               3023 DODGE AVE                                               BATTLE CREEK      IA         51006                  6002               Various                                                                                                $6.36
ROBERT BLACKMORE              8 STILLWATER ST                                              ROUNDUP           MT         59072                  6002               Various                                                                                                $1.34
ROBERT BLAKE ROGERS           158 SPRINGFIELD AVE                                          NEWCASTLE         WY         82701                  6002               Various                                                                                                $7.86
ROBERT BOBBY ZARITZ           307 N LAFFAYETTE                                             DONIPHAN          MO         63935                  6002               Various                                                                                                $4.58
ROBERT BOEHM                  201 UNION ST               PO BOX 454                        WARREN            IL         61087                  6004               Various                                                                                               $26.28
ROBERT BOOK                   508 2ND ST                                                   PORTSMOUTH        IA         51565                  6002               Various                                                                                                $1.97
ROBERT BOWDEN                 6503 IRVING BLVD                                             GILLETTE          WY         82718                  6002               Various                                                                                                $5.21
ROBERT BRINGEWATT             201 W 3RD ST                                                 HERSHEY           NE         69143                  6002               Various                                                                                                $2.77
ROBERT BROCK                  2035 E 3RD                                                   SPANISH FORK      UT         84660                  6002               Various                                                                                                $6.93
ROBERT BROWN                  BOX 51                                                       PIERCE            ID         83546                  6002               Various                                                                                                $4.18
ROBERT BRUNNER                2503 W CRAIS CT                                              DE PERE           WI         54115                  6002               Various                                                                                                $2.88
ROBERT BUFFINGTON             2038 MEMORIAL DR APT 107                                     GREEN BAY         WI         54303                  6004               Various                                                                                                $3.40
ROBERT BURMESCH               912 S MAIN ST                                                CEDAR GROVE       WI         53013                  6004               Various                                                                                               $23.00
ROBERT C DEWITT JR            6550 COUNTY ROAD 312                                         PALMYRA           MO         63461                  6002               Various                                                                                                $3.51
ROBERT C FRYKLUND             305 W SPRUCE ST                                              ABBOTSFORD        WI         54405                  6002               Various                                                                                                $0.55
ROBERT C GENSCHOW             15885 CENTER RD                                              LANSE             MI         49946                  6002               Various                                                                                                $6.74

                              ROBERT C MOORMAN           3505 GRANT WOOD
ROBERT C MOORMAN              REVOCABLE TRUST            FOREST LANE                       CEDAR RAPIDS      IA         52403                  1049               Various                                                                                         $3,401.66
ROBERT CARTER                 1050 MCKENNA BLVD #9                                         MADISON           WI         53719                  6004               Various                                                                                             $3.00
ROBERT CARTER JR              451 N 67TH ST                                                MILWAUKEE         WI         53216                  6004               Various                                                                                             $3.00
ROBERT CATHCART               260 N 3RD E                                                  GREEN RIVER       WY         82935                  6002               Various                                                                                             $8.63
ROBERT CHARLES KLEEN          113 11TH ST NE #9                                            WATERTOWN         SD         57201                  6004               Various                                                                                            $30.00
ROBERT CHRISTEN               719 SHERMAN ST                                               HOLDREGE          NE         68949                  6002               Various                                                                                             $5.59
ROBERT CHRISTIANSON           309 THOMAS ST                                                EDGAR             WI         54426                  6002               Various                                                                                             $7.53
ROBERT CLARK                  2160 BORG COURT                                              SANDY             UT         84092                  6004               Various                                                                                            $22.00
ROBERT CLOUD                  5116 CAMDEN ROAD                                             MADISON           WI         53714                  6004               Various                                                                                             $4.00




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                                                                                                                                                                                          Contingent


                                                                                                                                                                                                                      Disputed
                                                                                                                                                   Last 4 Digits of   Date Debt was
                                                                                                                                                      Account       Incurred, Basis for
            Creditor Name                Address1              Address2          Address3             City          State           Zip   Country     Number              Claim                                                                             Total Claim
ROBERT CONEY                 415 OMAHA ST                                                     SIOUX CITY       IA           51103                 6002              Various                                                                                                $4.47
ROBERT CORNMAN               611 14TH ST                                                      SALMON           ID           83467                 6002              Various                                                                                                $8.03

ROBERT COZADD                211 HENDERSON ST PO BOX # 27                                     ALEXIS           IL           61412                   6002            Various                                                                                                $0.27
ROBERT CRAMER                511 S 2ND AVE                APT. 1                              WAUSAU           WI           54401                   6004            Various                                                                                                $2.00
ROBERT CROOKS                1831 LAFOND                                                      LA CROSSE        WI           54603                   6002            Various                                                                                                $5.51
ROBERT CROSSLEY              1555 FOX FIELD DR                                                MISSOULA         MT           59802                   6004            Various                                                                                               $26.94
ROBERT CROWE                 906 AVE G                                                        STERLING         IL           61081                   6004            Various                                                                                               $10.00
ROBERT CROWLEY               1274 SUNNY CREEK DR                                              GREEN BAY        WI           54313                   6004            Various                                                                                               $25.00
ROBERT CRUZ                  618 SAGEBRUSH DR                                                 WORLAND          WY           82401                   6002            Various                                                                                                $6.49
ROBERT D BECKER              1501 ROSE ST APT 27                                              LA CROSSE        WI           54603                   6002            Various                                                                                               $10.00
ROBERT D BROWN               PO BOX 51                                                        PIERCE           ID           83546                   6002            Various                                                                                                $8.32
ROBERT D CHRISTENSON         718 GILLETTE ST                                                  LA CROSSE        WI           54603                   6002            Various                                                                                                $8.49
ROBERT D'AMORE               2309 14TH ST.                                                    KENOSHA          WI           53140                   6004            Various                                                                                               $23.00
ROBERT DAVIS                 PO BOX 267                                                       EPHRAIM          WI           54211                   6002            Various                                                                                                $7.29
ROBERT DEBRUIN               122 DEFOREST DR                                                  KAUKAUNA         WI           54130                   6002            Various                                                                                                $6.93

ROBERT DECK                  S2005 CTY RD U                                                   COCHRANE(WAUMA   WI           54622                   6002            Various                                                                                             $8.74
ROBERT DEKEMA                PO BOX 203                                                       CALUMET          MI           49913                   6002            Various                                                                                             $3.78
ROBERT DELAFUENTE            304 8TH.ST.                                                      BELOIT           WI           53511                   6004            Various                                                                                             $1.00
ROBERT DELTOUR               221 S. ELM ST.                                                   KIMBERLY         WI           54136                   6004            Various                                                                                             $4.32
ROBERT DEROUSHA JR           123 MCDONALD ST                                                  OCONTO           WI           54153                   6002            Various                                                                                             $7.15
ROBERT DIGHTON               680 N 10TH ST                                                    LANDER           WY           82520                   6002            Various                                                                                             $4.41
ROBERT DODSON                2514 COFFEY AVE                                                  OMAHA            NE           68123                   6004            Various                                                                                            $15.00
ROBERT DONAL BRAUN           E7148 NEITZKE RD                                                 CLINTONVILLE     WI           54929                   6002            Various                                                                                             $3.23
ROBERT DOORES                10453 W VEGA CT                                                  STAR             ID           83669                   6004            Various                                                                                             $5.00
ROBERT DOUGL TREGONING       614 W PEARL ST                                                   SEYMOUR          WI           54165                   6002            Various                                                                                             $1.95
ROBERT DRAPER                124 APPLENOOK CT                                                 MANKATO          MN           56001                   6004            Various                                                                                           $101.90
ROBERT DUCKER                707 ADAMS ST.                                                    RICHLAND         WA           99352                   6004            Various                                                                                            $15.00
ROBERT DWEHUS                6520 CARLSBAD DRIVE                                              LINCOLN          NE           68510                   6004            Various                                                                                            $10.34
ROBERT E MARTINEZ JR         448 S ADAMS AVE                                                  FREEPORT         IL           61032                   6002            Various                                                                                             $6.00
ROBERT E UNKEL               511 BOX ELDER                                                    GRAFTON          WI           53024                   6002            Various                                                                                            $10.00
ROBERT EGAN                  6825 COUNTY RD K                                                 OMRO             WI           54963                   6004            Various                                                                                            $11.50
ROBERT ELLIS                 1818 N RICHMOND ST                                               APPLETON         WI           54911                   6002            Various                                                                                             $0.77
ROBERT ELLIS - II            320 W. CEDER COURT - #7                                          WHITEWATER       WI           53190                   6004            Various                                                                                            $23.00
ROBERT F COZBY               1107 TWIN HARBOR DR                                              WINNECONNE       WI           54986                   6002            Various                                                                                             $7.73
ROBERT F LANGWELL            626 N MAIN ST                                                    AINSWORTH        NE           69210                   6002            Various                                                                                             $7.10
ROBERT F RYAN                1718 8TH AVE NE                                                  WATERTOWN        SD           57201                   6002            Various                                                                                             $1.40
ROBERT F. CLIFTON            7819 NINA ST                                                     OMAHA            NE           68124                   6002            Various                                                                                             $4.11
ROBERT F. WILSON             12373 275TH ST                                                   MASON CITY       IA           50401                   6002            Various                                                                                             $3.62
ROBERT FAGA                  4016 NAKOOSA TRAIL           APT 202                             MADISON          WI           53714                   6004            Various                                                                                             $2.00
ROBERT FAULKNER              1311 N GOVERNMENT WAY                                            COEUR D ALENE    ID           83814                   6002            Various                                                                                             $5.21
ROBERT FAULKS                3481 ROOYALTON                                                   WAUPACA          WI           54981                   6002            Various                                                                                             $6.79
ROBERT FELLENZ               N9985 ROBIN AVE                                                  LOYAL            WI           54446                   6002            Various                                                                                             $0.58
ROBERT FEMAL                 209 E APPLE CREEK RD                                             APPLETON         WI           54913                   6002            Various                                                                                             $1.94
ROBERT FENRICK               3913 N BURDOCK RD                                                JANESVILLE       WI           53548                   6004            Various                                                                                            $50.00
ROBERT FIORE                 18436 COUNTY ROAD XX                                             KIEL             WI           53042                   6002            Various                                                                                             $1.51
ROBERT FOSSUM                3202 S BRIDGEPORT LN                                             BOISE            ID           83706                   6002            Various                                                                                             $0.96
ROBERT FRANK                 6516 E HIGH ST                                                   MILTON           WI           53563                   6004            Various                                                                                            $83.00
ROBERT FRESE                 714 VERA COURT APT 104                                           MADISON          WI           53704                   6004            Various                                                                                             $4.00
ROBERT G JURGENS             24328 RUTLEDGE RD                                                WILLOW RIVER     MN           55795                   6002            Various                                                                                             $9.42
ROBERT GAINES                PO BOX 1013                                                      ANDREWS          TX           79714                   6002            Various                                                                                             $5.07
ROBERT GALLAGHER             2224 E HUEBBE PKWY                                               BELOIT           WI           53511                   6002            Various                                                                                             $2.52
ROBERT GEHRLE                3133 SOUTH 500 EAST                                              SALT LAKE CITY   UT           84106                   6004            Various                                                                                             $5.00




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                                                                                                                                             Last 4 Digits of     Date Debt was
                                                                                                                                                Account         Incurred, Basis for
             Creditor Name                Address1         Address2        Address3              City        State           Zip    Country     Number                Claim                                                                             Total Claim
ROBERT GLUNT                  101S MAIN ST APT 4                                        NEWTOWN           MO         64667                  6002                Various                                                                                                $9.95
ROBERT GOBEIL                 BOX 35                                                    SOUTH JUNCTION    MB         R0A1Y         CANADA 6002                  Various                                                                                                $5.75
ROBERT GOMAND                 332 BADER ST                                              GREEN BAY         WI         54302                  6002                Various                                                                                                $5.95
ROBERT GOTCHIE                1617 1ST ST N                                             SAINT CLOUD       MN         56303                  6004                Various                                                                                                $3.00
ROBERT GOULD                  202 11TH AVE SW                                           OELWEIN           IA         50662                  6002                Various                                                                                                $3.56
ROBERT GRANT                  1370 DAVID AVE                                            EUGENE            OR         97404                  6004                Various                                                                                                $3.00
ROBERT GREGORY                525 S. DIAMOND                                            JACKSONVILLE      IL         62650                  6004                Various                                                                                               $10.00
ROBERT GROVER                 3324 LARIMORE AVE                                         OMAHA             NE         68111                  6004                Various                                                                                                $9.99
ROBERT GRUBBS                 330 RALPH AVE                                             ORCHARD           NE         68761                  6002                Various                                                                                                $8.82
ROBERT GUENZEL                4221 S. 39TH                                              LINCOLN           NE         68506                  6004                Various                                                                                                $8.98
ROBERT H OLSON                PO BOX 523                                                BLOOMING PRAIRI   MN         55917                  6002                Various                                                                                                $5.84
ROBERT H RALPH                RR 9 BOX 405                                              GATEWOOD          MO         63942                  6002                Various                                                                                                $9.01
ROBERT H YOUNG                1516 E SHERMAN AVE                                        COEUR D ALENE     ID         83814                  6002                Various                                                                                                $1.23
ROBERT HAAPALA                2673 BEAR ISLAND RESORT RD                                BABBITT           MN         55706                  6002                Various                                                                                                $9.04
ROBERT HALBERT                126 E 1100TH S                                            VERNAL            UT         84078                  6002                Various                                                                                                $0.77
ROBERT HALL                   W5205 BUCKEYE DRIVE                                       NECEDAH           WI         54646                  6002                Various                                                                                               $15.10
ROBERT HALLBERG               7502 70TH ST                                              PRINCETON         MN         55371                  6002                Various                                                                                                $1.18
ROBERT HALLGREN               10151 EDGE WATER LANE                                     LINCOLN           NE         68527                  6004                Various                                                                                               $13.15
ROBERT HAMANN                 16506 N RD                                                BUTTERNUT         WI         54514                  6004                Various                                                                                               $89.33
ROBERT HAMMES                 109 SOUTH SCHOOL ST                                       MAYVILLE          WI         53050                  6004                Various                                                                                                $3.00
ROBERT HAMMOND                W926 ARCHER DR                                            FREMONT           WI         54940                  6002                Various                                                                                                $0.38
ROBERT HANKEY                 1304 N STEVENS ST                                         RHINELANDER       WI         54501                  6002                Various                                                                                                $5.07
ROBERT HANSEN                 PO BOX 73                                                 BRISTOW           NE         68719                  6002                Various                                                                                                $3.84
ROBERT HANSON                 854 GRANT AVE                                             OGDEN             UT         84404                  6002                Various                                                                                                $1.01
ROBERT HARCHARIK              1840 S 5TH ST W APT C                                     MISSOULA          MT         59801                  6004                Various                                                                                               $18.00
ROBERT HARMS                  871 S 5TH ST                                              LANDER            WY         82520                  6002                Various                                                                                                $6.82
ROBERT HARRIS                 3442 SO. 88TH ST.                                         OMAHA             NE         68124                  6004                Various                                                                                               $63.61
ROBERT HASS                   POB 90                                                    WAUTOMA           WI         54982                  6002                Various                                                                                                $1.66
ROBERT HAWKEN                 3394 S M-30                                               BEAVERTON         MI         48612                  6002                Various                                                                                                $6.00
ROBERT HAWKINS                2102 17TH AVE                                             MONROE            WI         53566                  6002                Various                                                                                                $0.44
ROBERT HAWKS                  2011 S IMPERIAL ST                                        SALT LAKE CITY    UT         84105                  6002                Various                                                                                                $5.75
ROBERT HAWLEY                 212 FOURTH STREET                                         GOODMAN           WI         54125                  6004                Various                                                                                               $16.00
ROBERT HEDMARK                528 OSTERBERG PKWY                                        NIAGARA           WI         54151                  6002                Various                                                                                                $8.60
ROBERT HENRICHS               601 R ST APT 221                                          LINCOLN           NE         68508                  6002                Various                                                                                                $3.67
ROBERT HERNANDEZ-BENFORD      513 S WESTERN AVE                                         NEENAH            WI         54956                  6002                Various                                                                                                $2.08
ROBERT HETZEL                 W5923 CTY RD H                                            WILD ROSE         WI         54984                  6002                Various                                                                                                $7.26
ROBERT HICKS                  2125 CAMPUS DR SE                                         ROCHESTER         MN         55904                  6004                Various                                                                                                $6.00
ROBERT HILTUNEN               7 PARNELL ST                                              AHMEEK            MI         49901                  6002                Various                                                                                                $1.89
ROBERT HINZPETER              405 TURTLE CREEK DR                                       DELAVAN           WI         53115                  6004                Various                                                                                                $1.00
ROBERT HIRVI                  41776 AGATE BEACH RD                                      TOIVOLA           MI         49965                  6004                Various                                                                                                $2.34
ROBERT HOGUE                  6253 W TIRRA LANE #102                                    BOISE             ID         83704                  6004                Various                                                                                               $20.00
ROBERT HOLLISTER              PO BOX 689                                                WILLIAMS BAY      WI         53191                  6002                Various                                                                                                $8.33
ROBERT HOLMEN JR.             9131 20TH ST SE                                           EYOTA             MN         55934                  6002                Various                                                                                                $7.01
ROBERT HOPPER                 3361 S MINUTEMAN                                          BOISE             ID         83706                  6004                Various                                                                                               $16.00
ROBERT HOUG                   468 REPUBLIC AVE                                          REPUBLIC          MI         49879                  6002                Various                                                                                                $1.62
ROBERT HOWELL                 2507 GENTRY LN                                            BILLINGS          MT         59102                  6002                Various                                                                                                $8.74
ROBERT HUDSON                 214 E WEST ST                                             KALKASKA          MI         49646                  6002                Various                                                                                                $6.71
ROBERT HUFFMAN                27477 QUARRY RD                                           JAMESPORT         MO         64648                  6002                Various                                                                                                $6.99
ROBERT HULL                   52259 GLENWOOD RD                                         DOWAGIAC          MI         49047                  6002                Various                                                                                                $2.08
ROBERT HUTKOWSKI              PO BOX 581                                                WEYAUWEGA         WI         54983                  6004                Various                                                                                               $25.00
ROBERT ICKES                  BOX 486                                                   DOWAGIAC          MI         49047                  6002                Various                                                                                                $7.32
ROBERT IDSTEIN                6820 102ND AVE                                            KENOSHA           WI         53142                  6002                Various                                                                                                $5.84
ROBERT IPPOLITO               CAREPARTNERS 1 PMB 5855                                   SCHOFILED         WI         54476                  6002                Various                                                                                                $7.89
ROBERT J CARDER               711 W JOHNSON ST                                          GALLATIN          MO         64640                  6002                Various                                                                                                $5.53




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                                                                                                                                               Last 4 Digits of     Date Debt was
                                                                                                                                                  Account         Incurred, Basis for
              Creditor Name               Address1            Address2        Address3            City          State           Zip   Country     Number                Claim                                                                             Total Claim
ROBERT J DELGADO               9518 CLINTON RD                                             AMHERST           MI         54406                 6002                Various                                                                                                $1.97
ROBERT J KING                  8198 N CEDAR SPRINGS RD                                     EAGLE MOUNTAIN    UT         84005                 6002                Various                                                                                                $3.10
ROBERT J KRONBERGER            N 10415 PINE LN                                             GREENWOOD         WI         54437                 6002                Various                                                                                                $7.56
ROBERT J MURPHY                721 THIRD AVE NW # 9                                        GREAT FALLS       MT         59404                 6002                Various                                                                                                $3.92

ROBERT J SWANSON               6219 S US HIGHWAY 51 LOT 112                                JANESVILLE        WI         53546                  6002               Various                                                                                                $7.56
ROBERT J. SCHRANDT             7301 60TH ST                                                KENOSHA           WI         53144                  6002               Various                                                                                                $4.33
ROBERT JACOBSEN                211 LAKE AVE E                                              MINNESOTA LAKE    MN         56068                  6002               Various                                                                                                $6.68
ROBERT JAMES SCHRINER          267 12TH ST                                                 IDAHO FALLS       ID         83404                  6002               Various                                                                                                $1.92
ROBERT JENSEN                  555 JEFFERSON                                               AFTON             WY         83110                  6002               Various                                                                                                $5.92
ROBERT JOENS                   207 S COTTAGE ST                                            EXIRA             IA         50076                  6002               Various                                                                                               $10.00
ROBERT JOHNSON                 959 S 35TH                                                  MANITOWOC         WI         54220                  6004               Various                                                                                               $20.96
ROBERT JONES                   713 E 3RD AVE                                               MONMOUTH          IL         61462                  6004               Various                                                                                               $33.71
ROBERT JOSEP KILCREASE         757 E OAK ST SPC 14                                         WHEATLAND         WY         82201                  6002               Various                                                                                                $0.85
ROBERT JUNGERT                 PO BOX 504                                                  ASOTIN            WA         99402                  6004               Various                                                                                                $5.00
ROBERT K MADSEN                8184 S 2420TH W                                             WEST JORDON       UT         84088                  6002               Various                                                                                                $1.62
ROBERT KAEMMERLING             78 E BANK STREET                                            FOND DU LAC       WI         54935                  6002               Various                                                                                                $2.02
ROBERT KAROLAK                 456 GRANGE RD                                               WHEATLAND         WY         82201                  6002               Various                                                                                                $1.51
ROBERT KIVI                    2252 CENTER ST                                              MARQUETTE         MI         49855                  6002               Various                                                                                                $5.42
ROBERT KNUTH                   N3580 CATLIN AVE                                            GRANTON           WI         54436                  6002               Various                                                                                                $6.71
ROBERT KOELZER                 1773 BISON DR                                               KALISPELL         MT         59901                  6004               Various                                                                                                $1.00
ROBERT KONECK                  N9726 HAZELNUT RD                                           BEAVER DAM        WI         53916                  6002               Various                                                                                                $2.27
ROBERT KOSKI                   UPDATE                                                      MARQUETTE         MI         49855                  6002               Various                                                                                                $2.19
ROBERT KOUTNIK                 N6141 P- 1 RD                                               WALLACE           MI         49893                  6004               Various                                                                                                $5.00
ROBERT KREY                    724 RIVER RIDGE CT                                          RIVER FALLS       WI         54022                  6002               Various                                                                                                $8.44
ROBERT KRINGS                  N 4272 CTY RD S                                             PLUM CITY         WI         54761                  6002               Various                                                                                                $6.11
ROBERT L HORN                  319 S 16TH ST                                               PLATTSMOUTH       NE         68048                  6002               Various                                                                                                $6.74
ROBERT L KAUFMAN               14708 ARBOR ST                                              OMAHA             NE         68144                  6002               Various                                                                                                $0.63
ROBERT L NICHOLSON             715 CENTER ST E TRLR 105                                    KIMBERLY          ID         83341                  6002               Various                                                                                                $4.03
ROBERT L PHILLIPS              22674 ELROD AVE                                             GLENWOOD          IA         51534                  6002               Various                                                                                                $4.68
ROBERT L THROENER              514 3RD ST                                                  BEEMER            NE         68716                  6002               Various                                                                                                $4.66
ROBERT L. AMES                 52776 KUIVANEN RD                                           LAKE LINDEN       MI         49945                  6002               Various                                                                                                $8.68
ROBERT L. HANSEN               1724 325TH ST                                               CEDAR RAPIDS      NE         68627                  6002               Various                                                                                                $7.73
ROBERT L. SPENCER              7396 S CARTHAGE RD                                          OREGON            IL         61061                  6002               Various                                                                                                $1.95
ROBERT LA CROIX                113 KAYLA ST                                                COMBINED LOCKS    WI         54113                  6002               Various                                                                                                $6.44
ROBERT LAMB                    1018 N THIRD                                                MARQUETTE         MI         49855                  6002               Various                                                                                                $0.77
ROBERT LANNERS                 308 LAWRENCE ST                                             MARSHALL          MN         56258                  6002               Various                                                                                                $1.62
ROBERT LARKIN                  10572 N 1550TH BLVD                                         MOUNT CARMEL      IL         62863                  6002               Various                                                                                                $1.23
ROBERT LAWRENCE                1326 SOUTH 16TH STREET                                      SHEBOYGAN         WI         53081                  6004               Various                                                                                                $5.00
ROBERT LEIGH SMITH             4822 CLUBHOUSE LN                                           EAU CLAIRE        WI         54703                  6002               Various                                                                                                $6.99
ROBERT LESKO                   2773 GRIM RD                                                BENTLEY           MI         48613                  6002               Various                                                                                                $5.59
ROBERT LILLY                   6730 CELTIC MANOR                                           SIOUX CITY        IA         51106                  6004               Various                                                                                               $13.00
ROBERT LINDSEY JR              315 FIRST AVE LOT 9                                         NEWCASTLE         WY         82701                  6002               Various                                                                                                $2.58
ROBERT LLOYD                   1924 DELMAR DR                                              FREEPORT          IL         61032                  6004               Various                                                                                               $36.00
ROBERT LONGHENRY               E10027 530TH AVE                                            ELK MOUND         WI         54739                  6002               Various                                                                                                $2.85
ROBERT LOPAS                   25 STRAWBERRY LANE                                          APPLETON          WI         54915                  6004               Various                                                                                               $41.00
ROBERT LORENCE                 5001 W ADAMS ST                                             LINCOLN           NE         68524                  6002               Various                                                                                                $8.47
ROBERT LOUX                    1715 MALLARD AVE APT 1                                      SHEBOYGAN FALLS   WI         53085                  6002               Various                                                                                                $0.93
ROBERT LOVE                    450 BEAN AVE                                                MORA              MN         55051                  6002               Various                                                                                                $6.00
ROBERT LUEK                    212 W BURBANK AVENUE                                        JANESVILLE        WI         53546                  6004               Various                                                                                               $10.00
ROBERT LUNDBERG                1251 N WILWOOD RD                                           WAPATO            WA         98951                  6002               Various                                                                                                $4.16
ROBERT LUNDY                   PO BOX 96                                                   NORTH PLATTE      NE         69103                  6004               Various                                                                                                $5.02
ROBERT LUST                    608 SUNSET AVE                                              KAUKAUNA          WI         54130                  6002               Various                                                                                                $4.44
ROBERT LYONS                   1380 S UNIVERSITY AVE APT 13                                PROVO             UT         84601                  6002               Various                                                                                                $4.22




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                                                                                                                                                 Last 4 Digits of     Date Debt was
                                                                                                                                                    Account         Incurred, Basis for
             Creditor Name                Address1             Address2          Address3             City        State           Zip   Country     Number                Claim                                                                             Total Claim
ROBERT M NELSON               455 OREGON AVE NE                                               SALEM            OR         97301                 6002                Various                                                                                            $13.50
ROBERT M REYES                1485 SUNRISE MANOR WAY                                          BOISE            ID         83713                 6002                Various                                                                                             $6.60
ROBERT M. TEMPLIN             BOX 2506                                                        COEUR D ALENE    ID         83816                 6002                Various                                                                                             $8.60
ROBERT MACK                   4985 E PIKE LAKE RD                                             DULUTH           MN         55811                 6002                Various                                                                                             $8.99
ROBERT MAESTAS                700 VETERANS LANE                                               BUFFALO          WY         82834                 6002                Various                                                                                             $4.16
ROBERT MAGNER                 5 N CANYON DR                                                   ROUNDUP          MT         59072                 6002                Various                                                                                             $1.15
ROBERT MAKI                   K127 N 10TH ST # 3405                                           SHEBOYGAN        WI         53081                 6002                Various                                                                                             $9.45
ROBERT MANN                   325 SO 1ST                   PO BOX 267                         SPRINGFIELD      NE         68059                 6004                Various                                                                                             $9.58
ROBERT MANNA                  912 E. CENTER ST                                                MILWAUKEE        WI         53214                 6004                Various                                                                                           $124.00
ROBERT MANNING                3309 SPRUCE ST                                                  BELLEVUE         NE         68147                 6004                Various                                                                                             $8.00
ROBERT MANSELL                120 MEADOW RIDGE LANE                                           JACKSONVILLE     IL         62650                 6004                Various                                                                                            $15.00
ROBERT MARC MASON             PO BOX 729                                                      SKAGWAY          AK         99840                 6002                Various                                                                                             $1.53
ROBERT MARSHALL               41292 HARDER AVE TRLR 74K                                       HARRIS           MN         55032                 6002                Various                                                                                             $4.30
ROBERT MASSICK                W17778 BREAKER RD                                               TIGERTON         WI         54486                 6002                Various                                                                                             $7.29
ROBERT MASTERS                301 N MAPLE AVE                                                 GRAETTINGER      IA         51342                 6002                Various                                                                                            $10.00
ROBERT MATTHIESEN             1701 CARDINAL ST                                                WORLAND          WY         82401                 6002                Various                                                                                             $6.05
ROBERT MATTSON                PO BOX 91                                                       NEILLSVILLE      WI         54456                 6002                Various                                                                                             $5.84
ROBERT MATZKE                 TABITHA                      ROOM 331                           LINCOLN          NE         68510                 6004                Various                                                                                             $4.00
ROBERT MC DOUGALL             503 E ST                                                        SERGEANT BLUFF   IA         51054                 6004                Various                                                                                            $52.00
ROBERT MCFADDEN               800 W MEADOWHURST RD                                            SAINT MARIES     ID         83861                 6002                Various                                                                                             $4.44
ROBERT MCGEE                  5531 55TH LP SE                                                 OLYMPIA          WA         98513                 6004                Various                                                                                           $119.00
ROBERT MCGRATH                309 W EMMA AVE                                                  COEUR D ALENE    ID         83814                 6002                Various                                                                                             $7.56
ROBERT MCPHERSON              245 WEST MAIN                                                   PULLMAN          WA         99163                 6004                Various                                                                                             $7.00
ROBERT MERRILL                10927 SANDY SPRING DR                                           NEKOOSA          WI         54457                 6004                Various                                                                                            $35.29
ROBERT MEYER                  2938 BRAUN CT                                                   NEENAH           WI         54956                 6002                Various                                                                                             $8.49
ROBERT MILLER                 827 N DEMENT AVE                                                DIXON            IL         61021                 6004                Various                                                                                           $148.90

ROBERT MILLER III             859 CENTENNIAL CENTRE BLVD   APT 29                             ONEIDA           WI         54155                  6004               Various                                                                                               $59.00
ROBERT MILLUM                 120 UPPER CREEK RD # CLEAR                                      BUFFALO          WY         82834                  6002               Various                                                                                                $8.08
ROBERT MOLSKI                 1588 WILLOW SPRING DR                                           STEVENS POINT    WI         54482                  6004               Various                                                                                               $36.78
ROBERT MONTGOMERY             1404 EAGLE ST                                                   RHINELANDER      WI         54501                  6004               Various                                                                                               $10.00
ROBERT MONTGOMREY             4620 N SAMPSON AVE                                              BOISE            ID         83704                  6002               Various                                                                                                $7.34
ROBERT MOONEY                 401 50TH ST S APT 10                                            GREAT FALLS      MT         59401                  6004               Various                                                                                               $15.00
ROBERT MOORE                  8506 S BINGHAM VIEW DR                                          WEST JORDAN      UT         84088                  6002               Various                                                                                                $7.92
ROBERT MORAN                  552 WAUTOMA ST.                                                 RIPON            WI         54971                  6004               Various                                                                                               $34.00
ROBERT MORITZ                 670 OLIVER AVE NW                                               COKATO           MN         55321                  6002               Various                                                                                                $5.75
ROBERT MOTZER                 GET                                                             OLYMPIA          WA         98516                  6004               Various                                                                                               $12.15
ROBERT NARVESON               280 3RD AVE SE                                                  PLAINVIEW        MN         55964                  6002               Various                                                                                                $1.73
ROBERT NELSON                 2018 29TH AVE                                                   MISSOULA         MT         59804                  6004               Various                                                                                               $10.03
ROBERT NICKLAUS               714 N TURNER                                                    FREEPORT         IL         61032                  6004               Various                                                                                                $6.00
ROBERT NIELSEN                708 BRULE RD                                                    DE PERE          WI         54115                  6002               Various                                                                                                $1.37
ROBERT NIEMAN                 503 SOUTH MAIN APT #9D                                          GALLATIN         MO         64640                  6002               Various                                                                                                $7.92
ROBERT NORKETT                1156 SPRUCE ST APT 5                                            WHEATLAND        WY         82201                  6002               Various                                                                                                $3.53
ROBERT O'BRIEN                W8801 APACHE DRIVE                                              WILD ROSE        WI         54984                  6004               Various                                                                                                $5.00
ROBERT ONEY                   7884 420TH ST.                                                  HARRIS           MN         55032                  6004               Various                                                                                                $3.00
ROBERT OPSTEEN                7 KITTY CT                                                      KIMBERLY         WI         54136                  6002               Various                                                                                                $9.48
ROBERT OSTROWSKI              21188 590TH AVENUE                                              WELLS            MN         56097                  6002               Various                                                                                               $60.00
ROBERT P ANGELL               305 E 15TH AVE                                                  POST FALLS       ID         83854                  6002               Various                                                                                                $0.47
ROBERT P BRANSCOMBE           7838 POPPLETON AVE                                              OMAHA            NE         68124                  6002               Various                                                                                                $2.55
ROBERT P NEWLUN               5506 GOUCHER LN                                                 MADISON          WI         53716                  6002               Various                                                                                                $2.55
ROBERT PALS                   104 MISSION DR                                                  MASON CITY       IA         50401                  6002               Various                                                                                                $3.75
ROBERT PAYNE                  HC 64 BOX 34                                                    PIERCE           ID         83546                  6002               Various                                                                                                $7.40
ROBERT PECOR                  3397 HIGHWAY 22                                                 OCONTO           WI         54153                  6002               Various                                                                                                $8.36
ROBERT PENDLETON              1702 CASS ST                                                    LA CROSSE        WI         54601                  6002               Various                                                                                                $0.60




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              Creditor Name                   Address1              Address2         Address3              City       State         Zip    Country     Number                Claim                                                                             Total Claim
ROBERT PENNINGTON                5213 N 84TH AVE                                                  OMAHA            NE         68134                6004                Various                                                                                            $25.00
ROBERT PERRON                    3332 BRIDLEWOOD DRIVE                                            PLOVER           WI         54467                6002                Various                                                                                            $11.74
ROBERT PERRY                     801 11TH ST                                                      WHEATLAND        WY         82201                6002                Various                                                                                             $6.60
ROBERT PETERS                    336 LINCOLN AVE                                                  COUNCIL BLUFFS   IA         51503                6004                Various                                                                                             $1.35
ROBERT PETERSEN                  1220 S MASSACHUSETTS AVE                                         MASON CITY       IA         50401                6002                Various                                                                                             $7.67
ROBERT PETRICK                   227 LINCOLN LN                                                   MAYVILLE         WI         53050                6004                Various                                                                                            $19.71
ROBERT PIERCE                    7402 NORTH RIDGE DRIVE                                           OMAHA            NE         68112                6004                Various                                                                                             $4.00
ROBERT PIERSON                   3624 HIGHWAY 287                                                 LANDER           WY         82520                6002                Various                                                                                             $8.05
ROBERT PLANT                     1016 WALNUT ST                                                   MARATHON         WI         54448                6002                Various                                                                                             $7.51
ROBERT PLIMPTON                  3827 COUNTY RD 416 20TH RD                                       ESCANABA         MI         49829                6002                Various                                                                                             $0.36
ROBERT PLOECKELMANN              604 CENTER ST                                                    KEWAUNEE         WI         54216                6002                Various                                                                                             $0.44
ROBERT POPE                      412 PHEASENT CRT                                                 DEERFIELD        WI         53531                6004                Various                                                                                            $27.30
ROBERT POULSEN                   110 WULGAERT WAY                                                 COMBINED LOCKS   WI         54113                6002                Various                                                                                             $2.49
ROBERT PRIBORSKY                 4315 N 156TH AVE                                                 OMAHA            NE         68116                6004                Various                                                                                             $5.00
ROBERT PROMER                    1607 PEACH TREE CT                                               KAUKAUNA         WI         54130                6004                Various                                                                                             $2.71
ROBERT PROUDLOVE                 319 E. HILL PARKWAY APT. 313                                     MADISON          WI         53718                6004                Various                                                                                            $10.00
ROBERT R LOOF                    205 W MAIN ST APT 3                                              EDEN             WI         53019                6002                Various                                                                                             $2.85
ROBERT R PRATT                   305 BROOKSIDE LN                                                 COLUMBUS         WI         53925                6002                Various                                                                                             $0.99
ROBERT R YOUNG                   E9286 HIGHWAY 22                                                 BEAR CREEK       WI         54922                6002                Various                                                                                             $0.55
ROBERT RAND                      1914 W 16TH AVE                                                  KENNEWICK        WA         99337                6004                Various                                                                                             $2.00
ROBERT RATZ                      1701 INDUSTRIAL ST APT 12                                        HUDSON           WI         54016                6002                Various                                                                                             $0.49
ROBERT REINKE                    1240 LINCOLN AVE                                                 BELOIT           WI         53511                6004                Various                                                                                            $10.00
ROBERT RENNER                    3840 LINDEN                                                      LINCOLN          NE         68516                6004                Various                                                                                             $7.77
ROBERT RENO                      157 W 1000TH N                                                   BOUNTIFUL        UT         84010                6002                Various                                                                                            $10.00
ROBERT REYNOLDS                  1790 CRAWFORD RD                                                 TURNER           MI         48765                6002                Various                                                                                             $6.66
ROBERT RIDDLE                    501 E VETERANS DR                                                LUVERNE          MN         56156                6002                Various                                                                                             $7.07
ROBERT RITCHIE                   5300 LONG CT                                                     APPLETON         WI         54914                6002                Various                                                                                             $0.41
ROBERT RIVERA                    807 LINDEN DR                                                    GREEN BAY        WI         54311                6004                Various                                                                                             $1.20
ROBERT ROGACZEWSKI               R5971 S STATE HWY 97                                             ATHENS           WI         54411                6004                Various                                                                                             $5.00
ROBERT ROOT                      105 N STRINGER ST                                                HUMPHREYS        MO         64646                6002                Various                                                                                             $6.55
ROBERT ROSE A DIVISION OF K&M    PO BOX 934825                                                    ATLANTA          GA         31193-4825           4901                Various                                                                                       $103,556.98
ROBERT ROSS                      2407 CUSTER AVE.                                                 BILLINGS         MT         59102                6004                Various                                                                                             $5.02
ROBERT RULE                      26749 W 12TH ST                                                  HUBBELL          MI         49934                6002                Various                                                                                             $2.03
ROBERT RYBOLD                    2005 HENRY JOHNS BLVD                                            BANGOR           WI         54614                6002                Various                                                                                             $9.37
ROBERT RYNDERS JR.               2917 DANIELLE CIR                                                BELLEVUE         NE         68123                6002                Various                                                                                             $5.34
ROBERT S PROCHNOW                N5295 ELM VALLEY RD                                              OGDENSBURG       WI         54962                6002                Various                                                                                             $2.77
ROBERT SAILOR                    HC OI BOX # 76                                                   MAXWELL          NE         69151                6002                Various                                                                                             $2.19
ROBERT SAMSON                    534 FAIRVIEW AVE                                                 NEENAH           WI         54956                6002                Various                                                                                             $2.08
ROBERT SCHICK                    PO BOX 408                                                       PLOVER           WI         54467                6002                Various                                                                                             $7.37
ROBERT SCHLUETTER                2130 200TH ST                                                    NEW HAMPTON      IA         50659                6002                Various                                                                                             $5.95
ROBERT SCHNORR                   136 S GRANT ST                                                   ELLSWORTH        WI         54011                6002                Various                                                                                             $0.49
ROBERT SCHROEDER                 2046 HENRYANNA AVE                                               IDAHO FALLS      ID         83404                6002                Various                                                                                             $0.55
ROBERT SCHWARTZ                  571 CLEMENT ST                 APT 4                             GREEN BAY        WI         54302                6004                Various                                                                                             $1.00
ROBERT SCOTT GALEANA             506 E VAN BUREN ST                                               RAPID CITY       SD         57701                6002                Various                                                                                             $6.58
ROBERT SELVAGE                   1820 AND 1/2 N # 6TH                                             BEATRICE         NE         68310                6002                Various                                                                                             $0.66
ROBERT SHELLHOUSE                907 E TAYLOR H                                                   HART             MI         49420                6002                Various                                                                                             $8.30
ROBERT SHERARD                   310 6TH ST                                                       GOTHENBURG       NE         69138                6002                Various                                                                                             $1.66
ROBERT SHERLOCK                  6334 W CORSAR LN APT 202                                         BOISE            ID         83704                6004                Various                                                                                            $23.00
ROBERT SHILLINGTON               870 CANYON PRAK AVE                                              TWIN FALLS       ID         83301                6002                Various                                                                                             $8.85
ROBERT SHIPLEY                   1218 MEADOW ST                                                   NEENAH           WI         54956                6004                Various                                                                                             $2.00
ROBERT SHUMWAY                   114 E HILL ST                                                    WOLF POINT       MT         59201                6002                Various                                                                                             $8.63
ROBERT SIEBE                     701 2ND ST                                                       NEMAHA           NE         68414                6002                Various                                                                                             $3.04
ROBERT SIMON                     1612 N RYNDERS ST                                                APPLETON         WI         54914                6002                Various                                                                                             $1.01
ROBERT SMEATON                   1717 LAKE POINT DR APT 304                                       MADISON          WI         53713                6002                Various                                                                                             $1.37




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             Creditor Name                Address1        Address2        Address3              City       State           Zip   Country     Number                Claim                                                                             Total Claim
ROBERT SMITH                  2122 W CENTRAL AVENUE                                    MISSOULA         MT         59801                 6002                Various                                                                                            $21.74
ROBERT SOOTER                 10 S CONCORD DR                                          JANESVILLE       WI         53545                 6002                Various                                                                                             $4.66
ROBERT SORG                   3711 WRIGHT AVE                                          RACINE           WI         53405                 6004                Various                                                                                             $2.20
ROBERT SOUZA                  1613 E 2ND AVE                                           POST FALLS       ID         83854                 6002                Various                                                                                             $1.59
ROBERT SPENCER                1111 CRAWFORD STREET                                     GREEN BAY        WI         54304                 6004                Various                                                                                            $10.00
ROBERT SPURR-MCCREA           2423 8TH STR.                                            CDA              ID         83814                 6004                Various                                                                                            $28.00
ROBERT SQUIRES                2466 WHITWORTH                                           RICHLAND         WA         99352                 6004                Various                                                                                             $2.00
ROBERT STAFFORD               404 S PRAIRIE                                            FAIRMONT         MN         56031                 6004                Various                                                                                             $3.00
ROBERT STANL PEERY            20529 310TH ST                                           JAMESPORT        MO         64648                 6002                Various                                                                                             $8.90
ROBERT STEBBINS               625 37TH ST SW                                           ROCHESTER        MN         55902                 6002                Various                                                                                             $0.88
ROBERT STEINMAN               3069 STATE HWY. N                                        ALBANY           MO         64402                 6002                Various                                                                                             $2.20
ROBERT STOKES                 551 POWELL ST.                                           WAITSBURG        WA         99361                 6004                Various                                                                                            $20.00
ROBERT STOLTZMAN              144 TERRI LANE                                           MANKATO          MN         56001                 6004                Various                                                                                             $3.00
ROBERT STORY                  2613 SKI LN #2                                           MADISON          WI         53713                 6004                Various                                                                                             $3.00
ROBERT STRANGE                124 HONEYSUCKLE ST                                       BILLINGS         MT         59106                 6004                Various                                                                                            $10.02
ROBERT STUBER                 313 W 12TH AVE                                           MITCHELL         SD         57301                 6002                Various                                                                                             $6.71
ROBERT STUTZ                  341 S WILLOW ST                                          KIMBERLY         WI         54136                 6002                Various                                                                                             $8.47
ROBERT SULLIVAN               613 N WASHINGTON ST                                      BLOOMFIELD       IA         52537                 6002                Various                                                                                             $8.47
ROBERT SUPNET                 62795 STENKAMP ROAD                                      BEND             OR         97701                 6004                Various                                                                                            $22.32
ROBERT T PARK                 90 RIDGEWATER RD                                         DOUGLAS          WY         82633                 6002                Various                                                                                             $4.68
ROBERT TARSITANO              PO BOX 493                                               BAILEYS HARBOR   WI         54202                 6002                Various                                                                                             $6.58
ROBERT TAVERNER               787 AVENUE N                                             CHASE            KS         67524                 9936                Various                                                                                           $570.00
ROBERT TAYLOR                 103 HOLIDAY LN APT 201                                   CROMWELL         IN         46732                 6002                Various                                                                                             $3.89
ROBERT THER                   711 E BOLDT WAY                                          APPLETON         WI         54911                 6002                Various                                                                                             $7.40
ROBERT THORPE                 133 S WINNEBAGO ST                                       DE PERE          WI         54115                 6002                Various                                                                                             $2.85
ROBERT TINNEY                 16 7TH AVE SW                                            ROCHESTER        MN         55902                 6004                Various                                                                                             $3.00
ROBERT TITLAND                1127 10TH AVE N                                          GREAT FALLS      MT         59401                 6002                Various                                                                                             $7.21
ROBERT TODD                   310 N FARRAGUT ST APT 4                                  WEST POINT       NE         68788                 6002                Various                                                                                             $0.88
ROBERT TREGLIA                2300 COLLINS ST                                          SIOUX CITY       IA         51103                 6002                Various                                                                                             $7.56
ROBERT TREVINO                1005 3RD AVE NE                                          AUSTIN           MN         55912                 6004                Various                                                                                             $3.00
ROBERT TRUE                   54216 TWIN LAKES RD                                      DOWAGIAC         MI         49047                 6002                Various                                                                                             $0.66
ROBERT URBANIAK               2625 THOMAS HILL DR                                      CDA              ID         83814                 6004                Various                                                                                            $30.00
ROBERT VALES                  1741 CTY RD T                                            SWANTON          NE         68445                 6002                Various                                                                                             $4.99
ROBERT VANCLEVE               1220 MERRITT BLACKTOP RD                                 WINCHESTER       IL         62694                 6002                Various                                                                                             $6.52
ROBERT VANDEHY                3336 IRENE ST                                            APPLETON         WI         54913                 6002                Various                                                                                             $7.86
ROBERT VARNEY                 129 W LOCUST ST                                          BELVIDERE        IL         61008                 6004                Various                                                                                             $3.90
ROBERT VASQUEZ                PO BOX 2305                                              TWIN FALLS       ID         83303                 6004                Various                                                                                             $4.97
ROBERT VISAUER                1800B SHERMAN AVE APT 226                                STEVENS POINT    WI         54481                 6002                Various                                                                                             $2.93
ROBERT VOLM                   1395 LANGLADE AVE.                                       GREEN BAY        WI         54304                 6004                Various                                                                                             $5.00
ROBERT W SMITH                1576 KINGSWOOD TR                                        NEKOOSA          WI         54457                 6002                Various                                                                                             $7.67
ROBERT W. ANDERSON            W10176 PIKE PLAINS RD                                    DUNBAR           WI         54119                 6002                Various                                                                                             $3.37
ROBERT WAACK                  6409 GASS LAKE RD                                        MANITOWOC        WI         54220                 6002                Various                                                                                             $4.60
ROBERT WAHL                   618 MULDER, DR                                           LINCOLN          NE         68510                 6004                Various                                                                                             $2.00
ROBERT WARNKE                 2013 RIVER RD                                            JUNCTION CITY    WI         54443                 6002                Various                                                                                             $0.99
ROBERT WASSOM                 720 S. KENTUCKY AVE.                                     MASON CITY       IA         50401                 6004                Various                                                                                            $13.00
ROBERT WATRY                  2701 W CAPITAL DR                                        APPLETON         WI         54915                 6002                Various                                                                                             $8.08
ROBERT WEAVER                 433 LANDSBOROUGH CT.                                     DE PERE          WI         54115                 6004                Various                                                                                             $5.00
ROBERT WEIHER                 1009 20TH AVE                                            BLOOMER          WI         54724                 6002                Various                                                                                             $4.71
ROBERT WELLS                  666 S BLUFF ST LOT 214                                   SOUTH BELOIT     IL         61080                 6002                Various                                                                                             $4.68
ROBERT WELSH                  P. O . BOX 16344                                         BOISE            ID         83715                 6004                Various                                                                                            $24.00
ROBERT WESTFALL               4702 W SUNNYSIDE AVE                                     GLENDALE         AZ         85304                 6002                Various                                                                                             $7.10
ROBERT WESTOVER               811 E 1000TH S                                           CLEARFIELD       UT         84015                 6002                Various                                                                                             $6.58
ROBERT WEYER                  153 LUBY AVE                                             OCONTO           WI         54153                 6002                Various                                                                                             $1.51
ROBERT WHARTON                904 RD 44                                                PASCO            WA         99301                 6004                Various                                                                                            $27.35




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ROBERT WILSON                  1823 EMERALD ST                                                     MARSHFIELD         WI         54449                 6002                Various                                                                                                $3.64
ROBERT WINNEKENS               E1296 OLD SETTLERS ROAD                                             DENMARK            WI         54208                 6004                Various                                                                                               $30.00
ROBERT YOUNG                   3576 ALEXANDER ST                                                   FORRESTON          IL         61030                 6002                Various                                                                                                $0.30
ROBERT ZACK                    4300 N 188TH AVE                                                    WALKERVILLE        MI         49459                 6002                Various                                                                                                $6.38
ROBERT ZIELINSKI               432 ADAMS ST                                                        FORT ATKINSON      WI         53538                 6002                Various                                                                                                $4.96
ROBERTA ANDERSON               404 2ND AVE NORTH                                                   LAKEFIELD          MN         56150                 6004                Various                                                                                                $3.00
ROBERTA BALD EAGLE             905 BUTTE ST                                                        BELLE FOURCHE      SD         57717                 6002                Various                                                                                                $0.36
ROBERTA CARROLL                25 CRYSTAL PARK RD                                                  NEWCASTLE          WY         82701                 6002                Various                                                                                                $7.67
ROBERTA COOPER                 3308 NO 52 ST                                                       OMAHA              NE         68104                 6004                Various                                                                                                $2.00
ROBERTA GERLACH                2212 S 142ND PLZ APT 15                                             OMAHA              NE         68144                 6002                Various                                                                                                $8.66
ROBERTA HARDT                  335 200TH AVE                                                       FAIRMONT           MN         56031                 6002                Various                                                                                                $1.21
ROBERTA HEMPHILL               RR 8 BOX 7068                                                       DONIPHAN           MO         63935                 6002                Various                                                                                                $1.75
ROBERTA J. KOEP                802 E BOYD AVE                                                      COEUR D ALENE      ID         83814                 6002                Various                                                                                                $3.89
ROBERTA JANDERA                202 BELMONT ST                                                      LAKEFIELD          MN         56150                 6004                Various                                                                                                $3.00
ROBERTA KRONING                W316 OAK RD                                                         COLBY              WI         54421                 6002                Various                                                                                                $1.12
ROBERTA MARSHALL               PO BOX 1102                                                         MISSION            SD         57555                 6002                Various                                                                                                $0.27
ROBERTA MILLER                 110 STARLIGHT DR.                                                   FREEPORT           IL         61032                 6004                Various                                                                                               $12.79
ROBERTA OBRECHT                530 N 5TH ST                                                        MISSOURI VALLEY    IA         51555                 6002                Various                                                                                                $8.05
ROBERTA RAINS                  RR 2 BOX 2034                                                       DONIPHAN           MO         63935                 6002                Various                                                                                                $5.18

ROBERTA RASMUSSEN              1150 16TH ST N                 APT. 15A                             WISCONSIN RAPIDS   WI         54494                  6004               Various                                                                                             $1.00
ROBERTA STEVENS                919 41ST ST NW APT 112                                              ROCHESTER          MN         55901                  6002               Various                                                                                             $8.55
ROBERTA WIER                   2484 OLD MARTIN RD                                                  DE PERE            WI         54115                  6002               Various                                                                                             $4.71
ROBERTA WILLIAMS               218 1/2 10TH ST SW                                                  ROCHESTER          MN         55901                  6004               Various                                                                                             $3.00
ROBERTO BALDAZO                35794 GRAND AVE                                                     NORTH BRANCH       MN         55056                  6002               Various                                                                                             $3.73
ROBERTO GONZALEZ-DIAZ          253 S 4TH ST APT A                                                  DORCHESTER         WI         54425                  6002               Various                                                                                             $6.68
ROBERTO HERNANDEZ CUELLAR      245 N 200TH E                                                       LOGAN              UT         84321                  6002               Various                                                                                             $7.86
ROBERTO MACEDO                 1403 JAMES ST                                                       PLATTSMOUTH        NE         68048                  6002               Various                                                                                             $8.90
ROBERTO PENA                   56 W 300TH S                                                        SPANISH FORK       UT         84660                  6002               Various                                                                                             $1.81
ROBERTO REYES SANTOS           1958 HAROLD ST.                                                     GREEN BAY          WI         54302                  6004               Various                                                                                            $20.00
ROBERTO SANCHEZ CORIA          190 25TH ST SE                                                      SALEM              OR         97301                  6004               Various                                                                                            $40.00
ROBERTO SANDOVAL               976 CORMIER RD                                                      GREEN BAY          WI         54304                  6004               Various                                                                                            $12.54
ROBERTO TORRES                 1420 N. 3RD STREET                                                  SHEBOYGAN          WI         53081                  6004               Various                                                                                             $5.02
ROBERTO VALLEJO                517 16TH ST                                                         WISNER             NE         68791                  6002               Various                                                                                             $5.73
ROBERTO VILLA II               3641 GLENHAVEN LN                                                   GREEN BAY          WI         54301                  6002               Various                                                                                             $5.56
ROBERTSON AM CHURCHILL         PO BOX 126                                                          ROUNDUP            MT         59072                  6002               Various                                                                                             $0.44
ROBIN ANDERSON                 PO BOX 76                                                           CHASSELL           MI         49916                  6004               Various                                                                                           $140.98
                                                              6220 NESBITT ROAD
ROBIN ASSOCIATES               ROBIN MANITOWOC LLC            A                                    MADISON            WI         53719                  3632               Various                                                                                        $31,178.72
ROBIN BENSON                   W1878 COUNTY RD S                                                   PLUM CITY          WI         54761                  6004               Various                                                                                            $25.00
ROBIN DEFFENBAUGH              1507 E J ST                                                         TORRINGTON         WY         82240                  6002               Various                                                                                             $6.60

ROBIN ELLSWORTH LLC            C/O MARION COYLE               1622 LINDALE LANE                    GREEN BAY          WI         54313                  7359               Various                                                                                         $8,208.17
ROBIN F WILCOX                 15248 ZEONA RD                                                      MUD BUTTE          SD         57758                  6002               Various                                                                                             $1.89
ROBIN FAGER                    305 W. PINE                                                         FORRESTON          IL         61030                  6004               Various                                                                                            $18.00
ROBIN FARRELL                  1014 CHERRY                                                         HELENA             MT         59601                  6004               Various                                                                                            $20.00

ROBIN FOX                      6219 S US HIGHWAY 51 LOT 103                                        JANESVILLE         WI         53546                  6002               Various                                                                                                $9.89
ROBIN FRITZ                    904 INDUSTRIAL RD TRLR 20                                           PIPESTONE          MN         56164                  6002               Various                                                                                                $8.27
ROBIN G KROHN                  105 GOLFVIEW ESTS                                                   GLENWOOD           IA         51534                  6002               Various                                                                                                $7.73
ROBIN HAUSER                   1732 ISLAND CT                                                      GREEN BAY          WI         54303                  6002               Various                                                                                                $6.93
ROBIN HIGHTOWER                26 TOWER ROCK LOOP                                                  CARMEN             ID         83462                  6002               Various                                                                                                $1.15
ROBIN K SCHROEDER              255 N BAGLEY AVE                                                    BAGLEY             WI         53801                  6002               Various                                                                                                $9.51
ROBIN KING                     143 FLAGSTAFF WAY                                                   BUFFALO            WY         82834                  6002               Various                                                                                                $6.19




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              Creditor Name                   Address1            Address2          Address3             City        State         Zip    Country     Number                Claim                                                                             Total Claim
ROBIN KNUTH                       S1967 CTY RD D                                                 FALL CREEK       WI         54742                6004                Various                                                                                             $2.00
ROBIN KURTH                       706 1/2 E THOMAS ST                                            WAUSAU           WI         54403                6002                Various                                                                                             $5.81
ROBIN L UPPERSTROM                132 WASHINGTON ST                                              DARIEN           WI         53114                6002                Various                                                                                            $10.00
ROBIN L WATERHOUSE                112 E 5TH ST                                                   COLOME           SD         57528                6002                Various                                                                                             $3.32
ROBIN LAIACONO                    2985 GADY RD LOT 20                                            ADRIAN           MI         49221                6002                Various                                                                                             $8.93
ROBIN LARKINS                     245 S WALNUT ST                                                MAYVILLE         WI         53050                6002                Various                                                                                             $5.21
ROBIN LEMBKE                      PO BOX 98                                                      MONTROSE         SD         57048                6002                Various                                                                                             $2.60
ROBIN LOWERY                      3722 MINNIE LN                                                 BELOIT           WI         53511                6002                Various                                                                                             $0.30
ROBIN M SOBOLEWSKI                W8249 N MAIN ST                                                HOLMEN           WI         54636                6002                Various                                                                                             $7.97
ROBIN MARSHALL COLLIN             202 N PATTERSON ST                                             MADISON          WI         53703                6004                Various                                                                                             $1.00
ROBIN MAYER                       349 ELTON HILLS DR                                             ROCHESTER        MN         55901                6004                Various                                                                                             $3.00
ROBIN MCCANNON                    N1707 HAGEN RD                                                 LA CROSSE        WI         54601                6002                Various                                                                                             $3.75
ROBIN NAST                        2600 S HILL RD LOT 49                                          GLADSTONE        MI         49837                6002                Various                                                                                             $4.63
ROBIN NEFZGER                     524 W LAKE DR                                                  LAKE NORDEN      SD         57248                6004                Various                                                                                            $17.00
ROBIN OBER                        30045 KNAUF AVE                                                RUSHMORE         MN         56168                6004                Various                                                                                             $3.00
ROBIN PERCHES                     1114 S 31ST AVE                                                YAKIMA           WA         98902                6004                Various                                                                                            $12.95
ROBIN PETERSON                    448 CALIFORNIA NW #45                                          HUTCHINSON       MN         55350                6002                Various                                                                                             $0.58
ROBIN PLOWMAN                     1701 W.17TH                                                    SIOUX CITY       IA         51103                6004                Various                                                                                            $15.66
ROBIN PREMEAU                     204 RIVERSIDE DR                                               MARQUETTE        MI         49855                6002                Various                                                                                             $9.41
ROBIN PREUNINGER                  E 15922 E 24                                                   VERADALE         WA         99037                6004                Various                                                                                            $36.95
ROBIN R ELLISON                   1545 KODIAK RD                                                 HELENA           MT         59602                6002                Various                                                                                             $7.15
ROBIN REGAN                       226 SCHROEDER AVE                                              DELAVAN          WI         53115                6002                Various                                                                                             $2.74
ROBIN ROBERTS                     121 W MARTIN ST                                                GRAYVILLE        IL         62844                6002                Various                                                                                             $2.55
ROBIN RODER                       W5444 CTY RD S                                                 NESHKORO         WI         54960                6004                Various                                                                                            $25.00
ROBIN SAVAGE                      215 BARCLAY                                                    LOLO             MT         59847                6004                Various                                                                                            $82.00
ROBIN SAWLSVILLE                  620 W. THIRD ST                                                APPLETON         WI         54911                6004                Various                                                                                            $25.00
ROBIN SCHROER                     994 MONROE DR.                                                 FREEPORT         IL         61032                6004                Various                                                                                            $16.00
ROBIN SCHULTZ                     805 TURNER STREET                                              WAUSAU           WI         54403                6004                Various                                                                                            $25.00
ROBIN SHEETS                      PO BOX 363                                                     DONIPHAN         NE         68832                6002                Various                                                                                             $7.64
ROBIN SHRIVER                     800 ACKER PARKWAY                                              DEFOREST         WI         53532                6004                Various                                                                                            $10.60
ROBIN SWEO                        120 HARMONY HILLS CT                                           RHINELANDER      WI         54501                6002                Various                                                                                             $3.45
ROBIN THURST JONES                50 SPRINGFIELD AVE                                             APPLETON         WI         54914                6002                Various                                                                                             $5.21
ROBIN TITTERINGTON                313 N 14TH ST                                                  NORFOLK          NE         68701                6002                Various                                                                                             $4.68
ROBIN VOSS                        5154 CHANNELVIEW DR.                                           OSHKOSH          WI         54901                6004                Various                                                                                             $2.00
ROBIN WALRATH                     5745 CENTURY AVE                                               MIDDLETON        WI         53562                6004                Various                                                                                            $21.00
ROBIN WATSON                      2523 LINCOLN ST                                                CALDWELL         ID         83605                6004                Various                                                                                             $2.00
ROBIN WEBBER                      423 WILLOW LNT                                                 SOUTH BELOIT     IL         61080                6002                Various                                                                                             $8.30
ROBIN WELSH                       208 HIGHWAY 28                                                 SALMON           ID         83467                6002                Various                                                                                             $1.40
ROBIN WHARTON                     3875 IRVONA RD                                                 IRVONA           PA         16656                6002                Various                                                                                             $2.77
ROBINSON HOME PRODUCTS INCORPO    PO BOX 936657                                                  ATLANTA          GA         31193-6657           7384                Various                                                                                        $80,521.10
ROBINSON WASTE SERVICES           2719 NORTH FAIRFIELD ROAD                                      LAYTON           UT         84041                                    Various                                                                                        $11,194.68
ROBINSON WHOLESALE INC            130 ELIZABETH LANE                                             GENOA CITY       WI         53128                 5132               Various                                                                                        $16,056.59

ROBINSON/ WARREN                  STORE 2-672                 SHOPKO EMPLOYEE 404 E HIGHWAY 20   ONEILL           NE         68763                 0820               Various                                                                                           $235.40
ROBYN BESAW                       242 FOOTE ST                                                   SEYMOUR          WI         54165                 6004               Various                                                                                            $12.00
ROBYN BESKE                       619 BROAD ST                                                   MANKATO          MN         56001                 6002               Various                                                                                            $48.00
ROBYN BUTTERFIELD                 4075 MONROE BLVD                                               OGDEN            UT         84403                 6002               Various                                                                                             $2.38
ROBYN HEMME                       619 W LINCOLN ST                                               LUVERNE          MN         56156                 6002               Various                                                                                             $3.89
ROBYN L CHARLES                   1616 WIPPLE ST                                                 EAU CLAIRE       WI         54703                 6002               Various                                                                                             $9.56
ROBYN LARSEN                      375 E BRIDLEWALK LN                                            SALT LAKE CITY   UT         84107                 6002               Various                                                                                             $1.75
ROBYN M FLATEN                    20109 247TH ST                                                 FERGUS FALLS     MN         56537                 6002               Various                                                                                             $4.44
ROBYN MADER                       1325 E 26TH ST                                                 MARSHFIELD       WI         54449                 6002               Various                                                                                             $5.34
ROBYN PEARSON                     1707 AVE J                                                     GOTHENBURG       NE         69138                 6002               Various                                                                                             $4.11
ROBYN PECTOL                      8916 S GREENWICH LN                                            SANDY            UT         84093                 6002               Various                                                                                             $8.11




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             Creditor Name                  Address1                  Address2        Address3             City         State           Zip   Country     Number                Claim                                                                             Total Claim
ROBYN WOLFERT                    602 SANBORN ST                                                    LA CROSSE         WI         54603                 6002                Various                                                                                                $0.49
ROBYNE TIEDEMAN                  871 COUNTY ROAD MM                                                RIVER FALLS       MN         54022                 6002                Various                                                                                               $10.00
ROCHALE SCHRINER                 81436 GATES RD                                                    BROKEN BOW        NE         68822                 6002                Various                                                                                                $7.95
ROCHELLE BEUTLER                 1062 W 105 N                                                      OREM              UT         84057                 6004                Various                                                                                               $15.00
ROCHELLE DRAZAN                  6470 BIRCH ST APT 107                                             NORTH BRANCH      MN         55056                 6002                Various                                                                                                $4.60
ROCHELLE GARRETT                 130 ISLAND AVE                                                    PORT EDWARDS      WI         54469                 6004                Various                                                                                                $4.00
ROCHELLE HICKMAN                 4969 INDEPENDENCE AVE                                             POCATELLO         ID         83202                 6002                Various                                                                                                $1.15
ROCHELLE JAWORSKI                3210 RANDOLPH                                                     JANESVILLE        WI         53545                 6004                Various                                                                                                $1.00
ROCHELLE JENNINGS                1332 MONROE ST                                                    OMAHA             NE         68107                 6002                Various                                                                                                $1.70
ROCHELLE JOHNSON                 2300 13TH AVE S APT 2                                             GREAT FALLS       MT         59405                 6002                Various                                                                                                $2.74
ROCHELLE KAISER                  406 S LINCOLN AVE                                                 BEAVER DAM        WI         53916                 6002                Various                                                                                                $6.82
ROCHELLE LEWIS                   4443 W 4600TH S                                                   WEST HAVEN        UT         84401                 6002                Various                                                                                                $7.34
ROCHELLE LYTLE                   107 NEW HOPE LOOP                                                 LENORE            ID         83541                 6002                Various                                                                                                $1.26
                                 531 S WASHINGTON STREET APT
ROCHELLE MCNAMER                 A4                                                                LANCASTER         WI         53813                   6002              Various                                                                                                $4.16
ROCHELLE RICHARDSON              825 MALDEN AVE                                                    EAU CLAIRE        WI         54703                   6002              Various                                                                                                $2.52
ROCHELLE SUKUP                   58435 863RD RD                                                    WAKEFIELD         NE         68784                   6002              Various                                                                                                $7.29
ROCHELLE WHITNAH                 2926 WHITNAH RD                                                   AMERICAN FALLS    ID         83211                   6004              Various                                                                                                $5.00

ROCHESTER ARMORED CAR COMPANY    PO BOX 8 DOWNTOWN STATION                                         OMAHA             NE         68101                  5493               Various                                                                                         $5,071.91
ROCIO FAJARDO BARRIOS            VALLEYVIEW CT LOT 62                                              DODGE CENTER      MN         55927                  6002               Various                                                                                             $4.60
ROCIO HUERTERO                   223 N POWELL AVE                                                  FREEPORT          IL         61032                  6002               Various                                                                                            $10.00
ROCIO MOSQUEDA                   116 SO 700 E APT #10                                              PROVO             UT         84606                  6004               Various                                                                                            $10.00
ROCIO NIETO ORTIZ                4846 WINCHESTER AVE                                               CHICAGO           IL         60609                  6002               Various                                                                                             $0.79
ROCK RIVER                       PO BOX 554044                                                     DETROIT           MI         48255-4044                                Various                                                                                          $779.50
ROCKFORD KAUSAK                  11056 M # 35                                                      GLADSTONE         MI         49837                   6002              Various                                                                                             $2.22
                                 1445 NORTH LOOP WEST SUITE
ROCKSTEP ALPINE LLC              625                                                               HOUSTON           TX         77008                  0351               Various                                                                                         $5,312.50
ROCKVILLE YOUTH LEAGUE           PO BOX 342                                                        ROCKVILLE         IN         47872                  1633               Various                                                                                          $125.00
                                                               1506 EAST 16TH ST
ROCKWELL AUTOMATION              ACCOUNTS PAYABLE              SOUTH                               LADYSMITH         WI         54848                  6004               Various                                                                                           $106.13
ROCKWORKS LANDSCAPING LLC        740 W CREST LANE                                                  ELLSWORTH         WI         54011                  4691               Various                                                                                           $610.21
ROCKY GAETZKE                    710 E ALFRED ST LOT 19                                            WEYAUWEGA         WI         54983                  6002               Various                                                                                            $10.00
ROCKY HOUCHEN                    714 CENTRAL AVE                                                   BILLINGS          MT         59102                  6002               Various                                                                                             $8.68
ROCKY LOWRY                      3525 KEIR LN                                                      HELENA            MT         59602                  6002               Various                                                                                             $0.41
ROCKY PACZESNY                   440 10TH ST S                                                     WISCONSIN RAPID   WI         54494                  6002               Various                                                                                             $1.45
ROCKY RAY WILSON                 PO BOX 662                                                        BLOOMFIELD        NE         68718                  6002               Various                                                                                             $0.36
ROCKY S. MARCHELLO               204 STIRLING PL                                                   LOGAN             UT         84341                  6002               Various                                                                                             $9.01
ROD BARTEL                       4902 HIGHWAY 250 W                                                WOLF POINT        MT         59201                  6002               Various                                                                                             $0.60
ROD LANE                         1115 JB WALKER RD                                                 NEW MARKET        AL         35761                  6002               Various                                                                                             $5.34
RODDY HAANPAA                    PO BOX 152                                                        LANSE             MI         49946                  6002               Various                                                                                             $7.48
RODDY RICE                       208 JOSEPH CT APT 15                                              NEENAH            WI         54956                  6002               Various                                                                                             $1.78
RODERICK BROWN                   2661 SA GEBR LN                                                   GREYBULL          WY         82426                  6002               Various                                                                                             $2.08
RODGER CALLISTER                 1786 S 165TH W                                                    PERRY             UT         84302                  6002               Various                                                                                             $7.34
RODGER CONE                      6219 HWY 51 S.                #282                                JANESVILLE        WI         53546                  6004               Various                                                                                             $1.00
RODGER SWANSON                   BOX 75                                                            TENDOY            ID         83468                  6002               Various                                                                                             $1.07
                                 119 SOUTH ROLLING GREEN
RODNEY ASHBY                     STREET                                                            NAMPA             ID         83687                  6004               Various                                                                                               $15.40
RODNEY BRINDA                    100 WARREN DR                                                     LANDER            WY         82520                  6002               Various                                                                                                $4.90
RODNEY BROSIG                    330 N PLATTEN ST                                                  GREEN BAY         WI         54303                  6002               Various                                                                                                $6.49
RODNEY BUCHHOLZ                  118 STATE STREET              APT 201                             ROLLINGSTONE      MN         55969                  6004               Various                                                                                                $3.00
RODNEY CLARK                     465 W FETTERMAN STREET                                            BUFFALO           WY         82834                  6002               Various                                                                                                $9.98
RODNEY CORMIER                   4312 E. 7TH                                                       SPOKANE           WA         99212                  6004               Various                                                                                               $16.40
RODNEY D. CASPER                 36694 190TH ST                                                    BREWSTER          MN         56119                  6002               Various                                                                                                $0.63




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             Creditor Name                Address1              Address2         Address3             City       State           Zip   Country     Number                Claim                                                                             Total Claim
RODNEY GARDINIER              1018 W OKLAHOMA ST                                              APPLETON        WI         54914                 6002                Various                                                                                                $0.41
RODNEY GOODWIN                W4247 640TH AVE                                                 ELLSWORTH       WI         54011                 6002                Various                                                                                                $4.14
RODNEY GROTE                  4130 HWY 26/85RD                                                TORRINGTON      WY         82240                 6002                Various                                                                                                $0.38
RODNEY H POPOUR               244 BEAVER ST                                                   MANISTIQUE      MI         49854                 6002                Various                                                                                                $8.52
RODNEY HIATT                  720 TURNER ST                 APT C                             MISSOULA        MT         59802                 6004                Various                                                                                                $2.00
RODNEY HOSTETLER              20023 REGINA RD                                                 NEW PARIS       IN         46553                 6002                Various                                                                                                $8.49
RODNEY HUTCHENS               N4286 BERCH TRAIL                                               KAUKAUNA        WI         54130                 6004                Various                                                                                               $10.00
RODNEY JR WACKER              83758 556TH AVE                                                 NORFOLK         NE         68701                 6002                Various                                                                                                $0.44
RODNEY KORN                   7347 320TH ST                                                   BOYD            WI         54726                 6004                Various                                                                                                $5.00
RODNEY LENNING                621 ARROW AVE NE                                                WATERTOWN       SD         57201                 6002                Various                                                                                                $1.51
RODNEY MASTERS                608 E BLUFF                                                     NORFOLK         NE         68701                 6004                Various                                                                                               $25.00
RODNEY MCCORMICK              98 UINTA DR LOT 47                                              GREEN RIVER     WY         82935                 6002                Various                                                                                                $3.56
RODNEY MICKELSON              13200 20TH ST SE                                                EYOTA           MN         55934                 6002                Various                                                                                                $3.81
RODNEY RUPPERT                204 E MCALLISTER ST                                             BATTLE CREEK    NE         68715                 6002                Various                                                                                                $2.49
RODNEY RUSSELL                2212 W HONEYSUCKLE AVE                                          HAYDEN          ID         83835                 6002                Various                                                                                                $3.26
RODNEY SCHROEDER              N7974 COUNTY HIGHWAY N                                          JOHNSON CREEK   WI         53038                 6002                Various                                                                                                $0.85
RODNEY SQUIRES                1260 NE PURCELL BLVD                                            BEND            OR         97701                 6004                Various                                                                                                $8.00
RODNEY STEWART                416 N LINN AVE                                                  NEW HAMPTON     IA         50659                 6002                Various                                                                                                $4.82
RODNEY SUTTON                 1709 LINDWOOD DR.                                               BURLINGTON      IA         52601                 6004                Various                                                                                               $20.00
RODNEY TOWNSEND               103 FULLER RD                                                   PADUCAH         KY         42003                 6002                Various                                                                                                $9.48
RODNEY TROFF                  47655 228TH ST                                                  FLANDREAU       SD         57028                 6002                Various                                                                                                $6.38
RODNEY ULVEN                  612 6TH ST                                                      ONAWA           IA         51040                 6002                Various                                                                                                $2.41
RODNEY VANDERSTEEN            PO BOX 57                                                       WILLARD         UT         84340                 6002                Various                                                                                                $5.01
RODNEY YAUCH                  17641 STANTON AVE                                               ATLANTIC MINE   MI         49905                 6002                Various                                                                                                $2.88
RODOLFO GARCIA                206 THOMAS AVE                                                  WORTINGTON      MN         56187                 6004                Various                                                                                               $23.00
RODOLFO MALDONADO             424 14TH ST NW                                                  ROCHESTER       MN         55901                 6004                Various                                                                                                $3.00
RODRIGO ANGULO-SALAZAR        609 31ST ST NE                                                  ROCHESTER       MN         55906                 6002                Various                                                                                                $0.74
RODRIGO GALVAN                1220 W GALILEE CR                                               WEST JORDAN     UT         84088                 6002                Various                                                                                                $0.85
RODRIGO SOLANO                4568 480TH ST                                                   GRANVILLE       IA         51022                 6002                Various                                                                                                $3.26

ROELENE R LUNDY               2350 PLAINVIEW AVE PO BOX #                                     GREENFIELD      IA         50849                  6002               Various                                                                                            $10.00
ROESHELL STUBBLEFIELD         35520 N 41ST STREET                                             OMAHA           NE         68111                  6004               Various                                                                                            $24.99
ROGALA FAMILY                 1023 N 13TH ST                                                  MANITOWOC       WI         54220                  6002               Various                                                                                             $6.11
ROGAN MCCLENAHAN              613 2ND STREET SW                                               ROCHESTER       MN         55902                  6004               Various                                                                                            $17.00
ROGELIO ESQUIVEL              1711 OAKLAND AVE E                                              AUSTIN          MN         55912                  6004               Various                                                                                            $29.00
ROGELIO JARAMILLO             N9643 CLOVER RIDGE TRAIL                                        APPLETON        WI         54915                  6004               Various                                                                                            $20.00
ROGELIO MENDOZA               1700 SE 900TH                                                   ANDREWS         TX         79714                  6002               Various                                                                                             $7.56
ROGELIO OSORIO PEREZ          612 MAIN ST                                                     WAKEFIELD       NE         68784                  6002               Various                                                                                             $4.66
ROGENE WHITEMAN               522 N CUSTER AVE                                                HARDIN          MT         59034                  6004               Various                                                                                            $77.01
ROGER A SOPKOWIAK             820 16TH ST E                                                   GLENCOE         MN         55336                  6002               Various                                                                                             $0.44
ROGER AMICK                   642 BRENTWOOD ST                                                SIOUX CITY      IA         51103                  6002               Various                                                                                             $3.84
ROGER BARKOW                  N2649 PELLA OPENING RD                                          CLINTONVILLE    WI         54929                  6002               Various                                                                                             $6.55
ROGER BISSETTE                1043 4TH ST SW                                                  MASON CITY      IA         50401                  6002               Various                                                                                             $8.93
ROGER BOLIN                   2164 W 410 S                                                    PROVO           UT         84601                  6004               Various                                                                                            $31.07
ROGER C ZOELLE                PO BOX 354                                                      SAINT NAZIANZ   WI         54232                  6002               Various                                                                                             $0.47
ROGER CLOUSE                  2528 NEW PINE DR                                                ALTOONA         WI         54720                  6002               Various                                                                                             $6.03
ROGER D GRIFFIN               826 NORMAN DR                                                   STOUGHTON       WI         53589                  6002               Various                                                                                             $7.40
ROGER D NATTRESS              2865 MONROE BLVD                                                OGDEN           UT         84403                  6002               Various                                                                                             $1.84
ROGER D WILLIAMS              425 N CENTRAL AVE APT 16                                        SUPERIOR        NE         68978                  6002               Various                                                                                             $9.21
ROGER DAUL                    181 N STATE ST                                                  BERLIN          WI         54923                  6002               Various                                                                                             $6.77
ROGER DIAL                    424 HUBBELL ST                                                  MARSHALL        WI         53559                  6002               Various                                                                                             $9.40
ROGER DOLEMAN                 1301 S. COVENANT LANE                                           APPLETON        WI         54915                  6004               Various                                                                                           $135.00
ROGER DOUGLAS                 620 FRANKLIN DR                                                 CRETE           NE         68333                  6002               Various                                                                                             $6.19
ROGER DRESSEL                 10520 CTY HWY K                                                 CADOTT          WI         54727                  6002               Various                                                                                             $5.92




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                                                                                                                                                                                          Contingent


                                                                                                                                                                                                                      Disputed
                                                                                                                                                 Last 4 Digits of     Date Debt was
                                                                                                                                                    Account         Incurred, Basis for
              Creditor Name                Address1              Address2        Address3              City       State           Zip   Country     Number                Claim                                                                             Total Claim
ROGER DUTT                     435 3RD AVE W                                                  TWIN FALLS       ID         83301                 6002                Various                                                                                             $3.37
ROGER FLEMING                  W7183 CITY WELLS RD                                            PARK FALLS       WI         54552                 6002                Various                                                                                             $7.92
ROGER FRANDSEN                 1019 6TH AVE S                                                 GREAT FALLS      MT         59405                 6002                Various                                                                                             $1.89
ROGER HANBY                    W2937 HILL RD                                                  GRANTON          WI         54436                 6002                Various                                                                                             $7.67
ROGER HANSEN                   1430 GRANT ST                                                  BELOIT           WI         53511                 6002                Various                                                                                             $1.32
ROGER HARRIS                   HC 2 BOX 617 PMB ZZ                                            ALLOUEZ          MI         49805                 6002                Various                                                                                             $3.78
ROGER II OSTENSON              822 8TH ST                                                     BELOIT           WI         53511                 6004                Various                                                                                            $21.98
ROGER J FOSTER                 1579 HIGHWAY 1                                                 ELY              MN         55731                 6002                Various                                                                                             $4.60
ROGER JACKSON                  1028 5TH STREET EAST                                           ALTOONA          WI         54720                 6004                Various                                                                                             $2.00
ROGER KASPER                   7038 CTY S                                                     SOBIESKI         WI         54171                 6002                Various                                                                                             $7.62
ROGER KESSLER                  2009 9TH AVENUE                                                ADAMS            WI         53910                 6002                Various                                                                                            $15.94
ROGER KISON                    610 11TH AVE                                                   GRAFTON          WI         53024                 6004                Various                                                                                            $25.00
ROGER KNUTSON                  19887 DUSTY RD NE                                              PINE CITY        MN         55063                 6004                Various                                                                                             $2.40
ROGER L SHAFFER                113 KRYSTAL LN                                                 THERMOPOLIS      WY         82443                 6002                Various                                                                                             $0.38
ROGER L SMITH                  501 E PARMAN                                                   ALBANY           MO         64402                 6002                Various                                                                                             $9.95
ROGER LAMBERT                  1029 SUNSET BEACH RD                                           SUAMICO          WI         54173                 6002                Various                                                                                             $6.66
ROGER LASHLEY                  1011 4TH ST                                                    HOLDREGE         NE         68949                 6002                Various                                                                                             $2.88
ROGER LEITHOLD                 N7446 CASBERG COULEE RD                                        HOLMEN           WI         54636                 6002                Various                                                                                             $9.21
ROGER MCCOY                    58111 867TH RD                                                 CONCORD          NE         68728                 6002                Various                                                                                             $3.67
ROGER MICKE                    1208 CEDAR ST                                                  LITTLE CHUTE     WI         54140                 6004                Various                                                                                             $4.00
ROGER MILLER                   6148 330TH AVE                                                 PIERZ            MN         56364                 6002                Various                                                                                             $7.07
ROGER MILTON                   W7955 CREEK RD TRLR # 620                                      DELAVAN          WI         53115                 6002                Various                                                                                             $3.70
ROGER NELSON                   711 E PINE ST                                                  SISSETON         SD         57262                 6002                Various                                                                                             $1.51
ROGER NORRIS                   53063 255TH ST                                                 AUSTIN           MN         55912                 6002                Various                                                                                             $7.18
ROGER OLSEN                    200 ALVINA ST APT 11                                           GREEN BAY        WI         54303                 6002                Various                                                                                             $3.18
ROGER OLSON                    119 CARRIAGE DR                                                WAUKESHA         WI         53188                 6002                Various                                                                                             $6.74
ROGER PEARSON                  214 WALNUT ST                                                  BEAVER DAM       WI         53916                 6002                Various                                                                                             $7.73
ROGER PELLEGRINI               N1155 RIVER ROAD                                               VULCAN           MI         49892                 6004                Various                                                                                            $44.00
ROGER PETERSEN                 4389 ROAD G                                                    HARDY            NE         68943                 6002                Various                                                                                             $6.74
ROGER PETERSON                 2679 THEATER ROAD                                              WILLIAMS BAY     WI         53191                 6004                Various                                                                                            $92.98
ROGER POPELKA                  4827 STANLEY CT                                                LA CROSSE        WI         54601                 6002                Various                                                                                             $2.88
ROGER RANDALL                  206 N NORTHVIEW ST                                             ELLSWORTH        WI         54011                 6002                Various                                                                                             $2.79
ROGER REED                     116 VISTA DR                                                   NORFOLK          NE         68701                 6004                Various                                                                                            $35.00
ROGER ROATCAP                  8704 GLIDER LANE                                               SANDY            UT         84093                 6004                Various                                                                                            $28.00
ROGER ROCKWELL                 1259 HIGHWAY 28                                                SALMON           ID         83467                 6002                Various                                                                                             $8.90
ROGER RUST                     16736 467TH AVE                                                GOODWIN          SD         57238                 6002                Various                                                                                             $6.96
ROGER SCARLETT                 201 S THEIS DR                                                 COEUR D ALENE    ID         83814                 6002                Various                                                                                             $0.74
ROGER SEITZ                    W4664 KLUGE RD                                                 BLACK CREEK      WI         54106                 6002                Various                                                                                             $1.04
ROGER SHAKAL                   7757 197TH STREET                                              CHIPPEWA FALLS   WI         54729                 6004                Various                                                                                             $5.04
ROGER SMITH                    6704 40TH ST SE                                                SAINT CLOUD      MN         56304                 6002                Various                                                                                             $6.99
ROGER STEWART                  3723 132ND ST                                                  CHIPPEWA FALLS   WI         54729                 6002                Various                                                                                             $4.71
ROGER TIPTON                   304 E AVE                                                      LYONS            KS         67554                 6002                Various                                                                                             $3.12
ROGER TORGERUD                 PO BOX 197                                                     ADAMS            MN         55909                 6004                Various                                                                                             $4.00
ROGER TROYANOWSKI              3431 GEORGE RD                                                 WIS RAPIDS       WI         54494                 6002                Various                                                                                             $0.47
ROGER VELDHUIS                 421 AVE B                                                      PLATTSMOUTH      NE         68048                 6002                Various                                                                                             $3.29
ROGER W SCHWANDT               305 CARR ST BOX # 353                                          COLOME           SD         57528                 6002                Various                                                                                             $5.15
ROGER'S DISPOSAL               PO BOX 310                                                     NORTON           KS         67654                                     Various                                                                                          $772.00
ROI ENERGY INVESTMENTS LLC     PO BOX 394                                                     FREMONT          WI         54940                  5897               Various                                                                                        $10,743.28
ROJEAN AHLERS                  507 MAPLE ST                                                   WAYNE            NE         68787                  6002               Various                                                                                             $3.42
ROLAND CLAUSEN                 PO BOX 74                                                      CLARK            SD         57225                  6002               Various                                                                                             $9.15
ROLAND E CAVAZOS               9 8TH ST                                                       LANSE            MI         49946                  6002               Various                                                                                             $0.63
ROLAND FULLER                  647 JOHNS DRIVE              #5                                STEVENS POINT    WI         54481                  6004               Various                                                                                            $25.00
ROLAND HOLTER                  266 CUT ACROSS RD                                              GLASGOW          MT         59230                  6002               Various                                                                                             $1.70
ROLAND MCCOY                   BOX 124 227 LINC CO RD 134                                     AUBURN           WY         83111                  6002               Various                                                                                             $9.07




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             Creditor Name               Address1                  Address2          Address3             City       State         Zip    Country     Number                Claim                                                                             Total Claim
ROLAND SHERWOOD               76 N FRONT RD                                                       WHEATLAND       WY         82201                6002                Various                                                                                             $4.16
ROLAND STUEDEMANN             131 E NORTH WATER ST.                                               NEENAH          WI         54956                6004                Various                                                                                            $47.52
ROLAND YOST                   13605 S 45TH ST                                                     PAPILLION       NE         68133                6002                Various                                                                                             $3.26
ROLANDO BENITEZ OCAMPO        1212 9TH AVE SW                                                     AUSTIN          MN         55912                6004                Various                                                                                             $3.00
ROLENE BARNHART               712 W COURT ST                                                      NEW HAMPTON     IA         50659                6002                Various                                                                                             $2.68
ROLF C HAGEN CORPORATION      PO BOX 842125                                                       BOSTON          MA         02284-2125           8673                Various                                                                                        $14,950.71
ROLF HALVERSON                N4925 CTY RD DD                                                     ELLSWORTH       WI         54011                6002                Various                                                                                             $3.07
ROLL LER                      6515 GRAND AV                   APT 182646                          OMAHA           NE         68104                6004                Various                                                                                            $19.99
ROLLA CHAMBER OF COMMERCE     PO BOX 712                                                          ROLLA           ND         58367                1676                Various                                                                                            $20.91
ROLLAND KNECHT                N11801 ROMADKA AVE                                                  UNITY           WI         54488                6002                Various                                                                                             $0.74
ROLLIAN BLOOMQUIST            7251 KEARNEY                                                        LINCOLN         NE         68507                6004                Various                                                                                            $18.96
ROLON (DOG) FAMILY            2023 LINWAY DR                                                      BELOIT          WI         53511                6002                Various                                                                                             $3.29
ROMA LOVETT                   192 LAKEVIEW DR                                                     IDA GROVE       IA         51445                6002                Various                                                                                             $9.48
ROMAN LOPEZ                   234 ELM ST                                                          FOND DU LAC     WI         54935                6004                Various                                                                                            $51.25
ROMAN SCOTT                   405 E OAK ST                                                        PILGER          NE         68768                6002                Various                                                                                             $5.95
ROMAN VELAZQUEZ               1250 BLAINE AVE                                                     IDAHO FALLS     ID         83402                6002                Various                                                                                             $4.25
ROMANA MCDONALD               111 S CEDAR DR NUM 26                                               KALISPELL       MT         59901                6004                Various                                                                                             $2.00
ROMEO BRANTLEY                1039 LIMEKILN ROAD              #2                                  GREEN BAY       WI         54302                6004                Various                                                                                             $4.00
ROMUNDA BAKER                 3020 SOUTH 68TH COURT                                               OMAHA           NE         68106                6004                Various                                                                                             $4.00
RON BELGARDE                  PO BOX 4504                                                         HELENA          MT         59604                6002                Various                                                                                             $2.90
RON BENGFORT                  PO BOX 777                                                          POSTVILLE       IA         52162                6002                Various                                                                                             $9.01
RON BROWNING                  510 STODDARD RD                                                     OROFINO         ID         83544                6002                Various                                                                                             $1.12
RON BUTZ                      1220 MEADOWVIEW DR                                                  MENASHA         WI         54952                6002                Various                                                                                             $2.60
RON CALVERT                   55 CALVERT LN                                                       LANDER          WY         82520                6002                Various                                                                                             $5.59
RON EBERHARDT                 3023 HWY CR                                                         MANITOWOC       WI         54220                6002                Various                                                                                             $6.08

RON EGAN                      1901 E SUPERIOR STREET, APT 6                                       DULUTH          MN         55812                 6004               Various                                                                                             $3.00
RON FACCIO                    4645 N STREAM PL                                                    MERIDIAN        ID         83646                 6004               Various                                                                                             $4.50
RON FRAZIER                   532 MORNING VIEW DRIVE                                              KAIISPELL       MT         59901                 6004               Various                                                                                            $18.00
RON HALL                      218 IROQUOIS                                                        FREEPORT        IL         61032                 6004               Various                                                                                            $25.00
RON KOHLER (IAB&REG)          2124 S 14TH ST W                                                    MISSOULA        MT         59801                 6002               Various                                                                                             $9.10
RON KORANDA                   2451 SPOONER AVE                APT 3                               ALTOONA         WI         54720                 6004               Various                                                                                           $160.60
RON LOERTSCHER                285 S WASHINGTON ST                                                 UNITY           WI         54488                 6002               Various                                                                                             $8.66
RON O STOOKSBURY              406 N VANBUREN                                                      ALBANY          MO         64402                 6002               Various                                                                                             $0.36
RON PECK                      812 2ND ST                                                          BEEMER          NE         68716                 6002               Various                                                                                             $6.00
RON PENROD                    175 W 400TH N                                                       GENOLA          UT         84655                 6002               Various                                                                                             $0.44
RON SAYER                     120 W STONERUN LN                                                   IDAHO FALLS     ID         83404                 6004               Various                                                                                            $12.38
RON SCHREIBER                 5222 EAST 9TH                                                       BLUE EARTH      MN         56013                 6004               Various                                                                                             $6.00
RON SHERADEN                  914 N MIDLAND BLVD TRLR 2                                           NAMPA           ID         83651                 6002               Various                                                                                             $7.51
RON WOHLT                     6730 LEE HARBOR LN                                                  OSHKOSH         WI         54902                 6002               Various                                                                                             $5.07
RONALD ALLEN                  145 GRAM ST.                                                        AUSTIN          MN         55912                 6004               Various                                                                                            $29.01
RONALD ANDERSON               804 E INMAN PKWY                                                    BELOIT          WI         53511                 6004               Various                                                                                             $2.00
RONALD BERUBE JR.             22055 PINE HILL DR                                                  GRETNA          NE         68028                 6004               Various                                                                                            $63.96
RONALD BODEN                  1313 N 9TH ST                                                       COEUR D ALENE   ID         83814                 6002               Various                                                                                             $6.00
RONALD BONEKOSKE              769 N GREEN BAY RD                                                  GRAFTON         WI         53024                 6002               Various                                                                                             $3.62
RONALD BUCK                   15507 FREEMONT DR                                                   UTICA           MN         55979                 6004               Various                                                                                             $7.08
RONALD CHAMBERLAIN            800 S CONKLIN AVE                                                   SIOUX FALLS     SD         57103                 6004               Various                                                                                            $43.52
RONALD COFFMAN                PO BOX 231                                                          CHAPIN          IL         62628                 6002               Various                                                                                             $6.16
RONALD COLEMAN                221 SCOTT STREET                APT 522                             WAUSAU          WI         54403                 6004               Various                                                                                             $3.00
RONALD COLLIER                1115 IRON ST                                                        LYONS           KS         67554                 6002               Various                                                                                             $5.84
RONALD CUNNINGHAM             1744 L ST APT 2E                                                    LINCOLN         NE         68508                 6002               Various                                                                                             $6.68
RONALD D MERTENS              PO BOX 151                                                          VEBLEN          SD         57270                 6002               Various                                                                                             $0.41
RONALD DOTZENROD              1832 LAKEVIEW CT SW APT 201                                         ROCHESTER       MN         55902                 6002               Various                                                                                             $0.27
RONALD DYE                    3949 FAWN MEADOW DR                                                 HELENA          MT         59602                 6002               Various                                                                                             $3.89




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                                                                                                                                              Last 4 Digits of     Date Debt was
                                                                                                                                                 Account         Incurred, Basis for
             Creditor Name               Address1            Address2        Address3              City        State           Zip   Country     Number                Claim                                                                             Total Claim
RONALD E MIILU                27950 E BRANCH RD                                           MASS CITY         MI         49948                 6002                Various                                                                                                $0.63
RONALD E WAGGONER             310 MAIN ST                                                 ALMENA            KS         67622                 6002                Various                                                                                                $9.95
RONALD EMILSON                110 COMMERCE STREET                                         HOLMEN            WI         54636                 6002                Various                                                                                                $0.99
RONALD F MILLER               2217 ESSEX RD                                               LINCOLN           NE         68512                 6002                Various                                                                                                $9.59
RONALD FACEMIRE               5102 WALKER AVE APT 3                                       LINCOLN           NE         68504                 6002                Various                                                                                               $10.00
RONALD FORD                   645 JOYCE STREET                                            BILLINGS          MT         59105                 6004                Various                                                                                               $10.00

RONALD G HASKETT              801 WASHINGTON AVE APT 328                                  PLATTSMOUTH       NE         68048                  6002               Various                                                                                                $7.34
RONALD G WILSON               308 E CORRINE ST                                            GALLATIN          MO         64640                  6002               Various                                                                                                $7.92
RONALD G. COLE                4156 N PLATER DR                                            COEUR D ALENE     ID         83815                  6002               Various                                                                                                $7.23
RONALD GOLDEN                 725 BRANDIE RD                                              MADISON           WI         53714                  6004               Various                                                                                                $1.00
RONALD GROSS                  1405 2100TH ST                                              DEFIANCE          IA         51527                  6002               Various                                                                                                $9.78
RONALD HAMMEL                 2506 15 1/2 AVE NW # 6-205                                  ROCHESTER         MN         55901                  6002               Various                                                                                                $3.51
RONALD HANSON                 733 GARFIELD AVE                                            BELOIT            WI         53511                  6002               Various                                                                                                $4.16
RONALD HUEBNER                835 GREEN ST                                                MENASHA           WI         54952                  6002               Various                                                                                                $3.62
RONALD J GIESE                1001 W 17TH ST                                              MARSHFIELD        WI         54449                  6002               Various                                                                                                $8.85
RONALD J HARNED               458 BADGER LN                                               MILLS             WY         82644                  6002               Various                                                                                                $0.60

RONALD J LONG                 213 HORACE GREELEY AVE APT 2                                NORTON            KS         67654                   6002              Various                                                                                                $2.74

RONALD JAY SWARTOUT           484 W HIGHLAND PARK AVE APT                                 APPLETON          WI         54911                  6002               Various                                                                                                $8.63
RONALD JOHNKE                 BOX 434                                                     WHEATLAND         WY         82201                  6002               Various                                                                                                $2.90
RONALD JONES                  1268TH 18HC73                                               POWELL            WY         82435                  6002               Various                                                                                               $18.06
RONALD JUREK                  6008 COUNTRY CLUB LANE                                      GLADSTONE         MI         49837                  6004               Various                                                                                               $32.70
RONALD KANE                   PO BOX 532                                                  SISTER BAY        WI         54234                  6002               Various                                                                                                $7.37
RONALD KATERS                 1679 CTY C                                                  SOBIESKI          WI         54171                  6002               Various                                                                                                $0.74
RONALD KRUEGER                1520 HIGHWAY 93 N                                           NORTH FORK        ID         83466                  6002               Various                                                                                                $8.30
RONALD L MARKHAM              120 E BROAD ST STOP 1                                       LANSE             MI         49946                  6002               Various                                                                                                $6.99

RONALD LEE FRONEK             4005 TOWNE LAKES CIR APT 101                                APPLETON          WI         54913                  6002               Various                                                                                                $0.30
RONALD LEE NIKLE              825 2ND ST                                                  MINTO             ND         58261                  6002               Various                                                                                                $9.62
RONALD LUND                   440 3RD ST NW                                               COKATO            MN         55321                  6002               Various                                                                                                $3.84
RONALD MALONEY                2253 WOODAALE AVE                                           GREEN BAY         WI         54313                  6002               Various                                                                                                $1.53
RONALD MARBLE                 6404 29TH AVE                                               KENOSHA           WI         53143                  6004               Various                                                                                               $29.95
RONALD MCKENZIE               4703 HICKORY LN                                             WEST BEND         WI         53095                  6002               Various                                                                                                $0.52
RONALD MERCURE                PO BOX 382                                                  VALENTINE         NE         69201                  6002               Various                                                                                                $4.79
RONALD MIHELICH               57361 CALUMET AVE                                           CALUMET           MI         49913                  6002               Various                                                                                                $1.64
RONALD MONTGOMERY             N6763 SOUTH 2ND ST                                          CRIVITZ           WI         54114                  6004               Various                                                                                                $6.15
RONALD NOWAK                  204 OLD PULLEY LN APT C                                     MENASHA           WI         54952                  6002               Various                                                                                                $1.01
RONALD OESTREICH              4021 SPRINGHILL DR                                          MANITOWOC         WI         54220                  6002               Various                                                                                                $6.60
RONALD PECHA                  9404 S 28TH AVE                                             BELLEVUE          NE         68147                  6004               Various                                                                                               $21.37
RONALD PETRELIUS              565 SIXTH ST                                                SOUTH RANGE       MI         49963                  6002               Various                                                                                                $4.08
RONALD R EDLER                W8795 SCHLAPPI RD                                           BROWNTOWN         WI         53522                  6002               Various                                                                                                $9.18
RONALD R MARTINO-MEURET       587 BANDING LN                                              MADISON           WI         53704                  6002               Various                                                                                                $1.97
RONALD ROGERS                 520 N 4TH ST                                                DOUGLAS           WY         82633                  6002               Various                                                                                                $4.41
RONALD ROSATI                 314 E. 7TH ST                                               CURTIS            NE         69025                  6004               Various                                                                                                $1.00
RONALD ROSPLOCK               3195 SWANSON RD                                             WISCONSIN RAPID   WI         54495                  6002               Various                                                                                                $1.04
RONALD SCHILLER               W823 GRANTON ROAD                                           GRANTON           WI         54436                  6002               Various                                                                                                $2.80
RONALD SCHINKE                607 QUARRY LN                                               NEENAH            WI         54956                  6002               Various                                                                                                $1.32
RONALD SCHNIER                1770 N OAKWOOD RD                                           OSHKOSH           WI         54904                  6002               Various                                                                                                $3.29
RONALD SIEGMANN               RR 1 BOX 21                                                 BRADY             NE         69123                  6002               Various                                                                                                $9.59
RONALD SKIFTON                2003 CRAIG LN E                                             ONALASKA          WI         54650                  6002               Various                                                                                               $10.00
RONALD SMITH                  2820 15TH ST S                                              WI RAPIDS         WI         54494                  6004               Various                                                                                               $10.00
RONALD SOLBERG                PO BOX 13                                                   RALPH             MI         49877                  6002               Various                                                                                                $1.15




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                                                                               Schedule E/F: Part 2 - Creditors With Nonpriority Unsecured Claims




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                                                                                                                                                                                                               Unliquidated
                                                                                                                                                                                                  Contingent


                                                                                                                                                                                                                              Disputed
                                                                                                                                                         Last 4 Digits of     Date Debt was
                                                                                                                                                            Account         Incurred, Basis for
             Creditor Name                  Address1                 Address2          Address3             City          State           Zip   Country     Number                Claim                                                                             Total Claim
RONALD SPEARS                    126 S CONGRESS APT 1                                               RUSHVILLE          IL         62681                 6004                Various                                                                                               $88.95
RONALD STEVENS                   PO BOX 2093                                                        OMAK               WA         98841                 6004                Various                                                                                               $37.00
RONALD TACHENY                   20032 S HIGHWAY 95                                                 COEUR D ALENE      ID         83814                 6002                Various                                                                                                $5.26
RONALD TESCH                     N9458 LAWN RD                                                      SEYMOUR            WI         54165                 6004                Various                                                                                               $25.00
RONALD THOMPSON                  PO BOX 17201                                                       MISSOULA           MT         59808                 6004                Various                                                                                               $49.28
RONALD VEGLAHN                   317 LIBERTY ST                                                     LA CROSSE          WI         54603                 6002                Various                                                                                                $2.11
RONALD VOIGT                     59627 205TH ST                                                     AUSTIN             MN         55912                 6002                Various                                                                                                $5.29
RONALD WALLACE                   RR 2 BOX 4308                                                      DONIPHAN           MO         63935                 6002                Various                                                                                                $1.70
RONALD WILSON                    514 RIVERSIDE DR                                                   DE FOREST          WI         53532                 6004                Various                                                                                                $5.00
RONALD(AMM) KERNER               63 MCKINLEY AVE                                                    RACINE             WI         53404                 6002                Various                                                                                                $9.32
RONDA FRIEDEL                    1042 E. MORTON                 LOT 59                              JACKSONVILLE       IL         62650                 6004                Various                                                                                               $55.00
RONDA L. NEU                     2354 E MUGO ST                                                     BOISE              ID         83716                 6002                Various                                                                                                $3.70
RONDA LORENZ                     1215 WHIPPLE STREET                                                BELOIT             WI         53511                 6004                Various                                                                                                $2.00
RONDA NINHAM                     2218 CARSTENSEN                                                    GREEN BAY          WI         54304                 6004                Various                                                                                               $20.00
RONDI BISHOP                     2009 LEDWICH                                                       UNION GAP          WA         98902                 6004                Various                                                                                                $9.80
RONIE COLE                       137 S G ST                                                         BROKEN BOW         NE         68822                 6002                Various                                                                                                $4.99

RONNA PATTERSON                  1010 EAST ST. PATRICK ST LOT 49                                    RAPID CITY         SD         57701                  6004               Various                                                                                            $10.00
RONNA RYCKMAN                    410 WEST EAGLE                                                     ARLINGTON          NE         68002                  6004               Various                                                                                            $19.20
RONNA WASHINES                   191 MCDONALD ROAD                                                  TOPPENISH          WA         98948                  6004               Various                                                                                            $49.00
RONNIE FITZGERALD                515 20TH ST                                                        OGDEN              UT         84401                  6004               Various                                                                                            $10.00
RONNIE KRUEGER                   W4553 CTY E                                                        BERLIN             WI         54923                  6004               Various                                                                                             $3.20
RONNIE SCHNITZLER                320 SHERRI DR                                                      SPARTA             WI         54656                  6002               Various                                                                                             $1.59
RONNIE STEFFEN                   999 S FREDERICK AVE                                                OELWEIN            IA         50662                  6002               Various                                                                                             $6.16
RONNIYA WEST                     1316 ANGELS PATH APT 86                                            DEPERE             WI         54115                  6004               Various                                                                                             $1.00
RONS SUPERMARKET INCORPORATED    909 NORTH 6TH STREET            PO BOX 272                         GREYBULL           WY         82426                  2832               Various                                                                                         $8,067.25
ROOFCONNECT                      44 GRANT 65                                                        SHERIDAN           AR         72150                                     Various                                                                                         $7,169.74
ROONEY FREIMUND                  425 N. SPLAKE COURT                                                PESHTIGO           WI         54157                  6004               Various                                                                                            $15.40
ROOSEVELT WILLIAMS               2112 BLUEBIRD TER NW                                               STEWARTVILLE       MN         55976                  6002               Various                                                                                             $0.66
RORIE C PAULK                    1116 GARFIELD ST                                                   HOLDREGE           NE         68949                  6002               Various                                                                                             $6.88
RORY BEAUCHAMP                   1113 SECOND ST                                                     MARQUETTE          MI         49855                  6002               Various                                                                                             $7.78

RORY HERNANDEZ                   139 OAK BROOK COURT                                                WISCONSIN RAPIDS   WI         54495                  6004               Various                                                                                                $4.00
RORY KELLICUT                    867 E MCKEARN LN                                                   BELOIT             WI         53511                  6002               Various                                                                                                $0.63
RORY REMUS                       W5880 HEARTHSTONE DR                                               APPLETON           WI         54915                  6002               Various                                                                                                $0.36
ROSA BERMUDEZ AMADOR             PO BOX 77                                                          WATERTOWN          SD         57201                  6002               Various                                                                                                $7.56
ROSA CASTANEDA                   1922 GREENVIEW DRIVE                                               BELOIT             WI         53511                  6002               Various                                                                                                $4.16
ROSA CASTRO                      PO BOX 314                                                         WAUTOMA            WI         54982                  6002               Various                                                                                                $8.52
ROSA D MENCIA                    416 WASHINGTON ST                                                  ARCADIA            WI         54612                  6002               Various                                                                                                $8.79
ROSA DIMITRICOFF                 1550 S 1000 E                  APT 304                             CLEARFIELD         UT         84015                  6004               Various                                                                                               $10.00
ROSA LANGSTON                    7314 16TH AVE                                                      KENOSHA            WI         53143                  6004               Various                                                                                                $6.00
ROSA ORTEGA                      1745 RIDGEWAY CT                                                   CRETE              NE         68333                  6002               Various                                                                                                $2.93
ROSA SAENZ                       111 AVE A                                                          GOTHENBURG         NE         69138                  6002               Various                                                                                                $2.33
ROSA SAUCEDA                     602 43RD ST                                                        KENOSHA            WI         53140                  6004               Various                                                                                               $75.00
ROSA TORRES                      35815 OSSEO RD                                                     INDEPENDENCE       WI         54747                  6002               Various                                                                                                $8.79
ROSA TWITTY                      715 PACIFIC ST                                                     FALLS CITY         NE         68355                  6002               Various                                                                                                $6.71
ROSA WARD                        531 SOUTH 900 EAST A6                                              SALT LAKE CITY     UT         84102                  6004               Various                                                                                               $20.00

ROSA/ SUSANNE                    STORE 533                      SHOPKO EMPLOYEE 6527 HIGHWAY 40     TIOGA              ND         58852-9213             4592               Various                                                                                               $28.89
ROSALBA ALVAREZ                  2600 S KERRY LN APT 1                                              APPLETON           WI         54915                  6004               Various                                                                                                $3.00
ROSALBA ELIAS DE AVALOS          3986 WILLOWRIDGE DR SW                                             ROCHESTER          MN         55902                  6002               Various                                                                                                $7.67
ROSALBA GUARDADO                 805 GREELEY AVE N                                                  GLENCOE            MN         55336                  6002               Various                                                                                                $4.82
ROSALBA HERNANDEZ                1400 LAKEWOOD DR APT A4                                            NORFOLK            NE         68701                  6004               Various                                                                                                $2.00
ROSALEE GEIGER                   1251 4TH ST NW                                                     ROCHESTER          MN         55901                  6002               Various                                                                                                $1.75




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                                                                                                                                                           Account         Incurred, Basis for
              Creditor Name                   Address1               Address2         Address3             City          State           Zip   Country     Number                Claim                                                                             Total Claim
ROSALIA KINLEN                    729 KARCZ RX APT 4                                               PULASKI            WI         54162                 6002                Various                                                                                                $5.84
ROSALIA MENDIOLA                  1825 PARK ST                                                     MIDDLETON          WI         53562                 6004                Various                                                                                                $1.00
ROSALIA OSORIO                    209 WAYLAND ST.                                                  BEAVER DAM         WI         53916                 6004                Various                                                                                               $12.40
ROSALIA TORRES                    611 S. 1ST ST                                                    WATERTOWN          WI         53094                 6004                Various                                                                                                $4.00
ROSALIE CADMAN                    32 SELMA STREET                                                  PLYMOUTH           WI         53073                 6004                Various                                                                                               $20.00
ROSALIE ELLER                     831 TAMARACK DR APT 102                                          LEWISTON           ID         83501                 6002                Various                                                                                                $0.58
ROSALIE GEIGER                    1025 S. ADAMS                                                    FREEPORT           IL         61032                 6004                Various                                                                                               $72.36
ROSALIE OVERBY                    802 16TH AVE NE                                                  WATERTOWN          SD         57201                 6002                Various                                                                                                $5.04
ROSALINDA GALVAN VASQUEZ          N39490 GIEROK RD                                                 INDEPENDENCE       WI         54747                 6002                Various                                                                                                $6.60
ROSALINDA MANIBUSAN               5057 FESCUE ST                                                   BOISE              ID         83716                 6004                Various                                                                                               $31.00
ROSALINE NENNIG                   N 9596 COUNTY HWY M C                                            ELKHART LAKE       WI         53020                 6004                Various                                                                                                $4.18
ROSALIO AVITIA                    1740 MONTANA AVE                                                 SHASTA LAKE        CA         96019                 6002                Various                                                                                                $7.23
ROSALIO CAYAX                     416 E JOHN ST                                                    O'NEILL            NE         67863                 6002                Various                                                                                                $4.63
ROSALYN CARSTEN                   PO BOX 583                                                       ORMSBY             MN         56162                 6002                Various                                                                                               $10.81
ROSANNA AGUIRRE                   1111 PETERSBURG AVE                                              POCATELLO          ID         83202                 6002                Various                                                                                                $2.30
ROSANNA HOLMQUIST                 11300 N RIO VISTA RD TRLR B-                                     POCATELLO          ID         83202                 6002                Various                                                                                                $0.36
ROSANNA MARTIN                    H4428 MAPLE RD                                                   COLBY              WI         54421                 6002                Various                                                                                                $8.68
ROSANNE H WRIGHT                  1624 RIVER ST                                                    NIAGARA            WI         54151                 6002                Various                                                                                                $1.97
                                                               N 9520 NEWPORT
ROSANNE RONNFELDT                 IN C/O SHOPKO EYECARE CENTER HWY                                 SPOKANE            WA         99218                  6004               Various                                                                                               $49.05
ROSARIO FRANCISCO                 417 S 4TH ST                                                     MONMOUTH           IL         61462                  6002               Various                                                                                                $1.53
ROSARIO ORTEGA                    901 DALEY ST                                                     RAWLINS            WY         82301                  6002               Various                                                                                                $3.42

ROSAUER/ STEVE                    STORE 024                      SHOPKO EMPLOYEE                   GREEN BAY          WI         54307                  2063               Various                                                                                           $103.60
ROSCOE ARNOLD                     5112 LAUREL ROAD                                                 BILLINGS           MT         59101                  6004               Various                                                                                             $2.00
ROSCOE BEARE                      PO BOX 1334                                                      CHALLIS            ID         83226                  6002               Various                                                                                             $5.40
ROSE AMUNDSON                     403 EAST CENTER ST APT 121                                       ADAMS              WI         53910                  6004               Various                                                                                             $7.06
ROSE CORDRY                       2125 SCOTT AVE                                                   LINCOLN            NE         68506                  6002               Various                                                                                             $0.27
ROSE GRIFFITH                     909 PURSER LN.                                                   IDAHO FALLS        ID         83402                  6004               Various                                                                                             $3.65
ROSE HANEY                        402 STEMPLE PASS RD TRLR 3                                       LINCOLN            MT         59639                  6002               Various                                                                                             $1.00

ROSE HANSON                       220 NW 5TH AVE                                                   MILTON FREEWATER   OR         97862                  6004               Various                                                                                                $9.00
ROSE HULVEY                       1714 S. BOLIVAR RD.                                              VERADALE           WA         99037                  6004               Various                                                                                               $49.99
ROSE KAHLER                       N4202 12 CORNERS RD                                              BLACK CREEK        WI         54106                  6002               Various                                                                                                $7.53
ROSE KOTRBA                       209 E 2ND AVE                                                    STANLEY            WI         54768                  6002               Various                                                                                                $8.44
ROSE KRUSCHKE                     310 TYLER CT APT 1                                               MENASHA            WI         54952                  6002               Various                                                                                                $7.53
ROSE M HEEGEMAN                   1905 MILLER LN                                                   KAUKAUNA           WI         54130                  6002               Various                                                                                                $4.19
ROSE MCLEAN                       614 7TH ST S                                                     GLASGOW            MT         59230                  6002               Various                                                                                                $0.60
ROSE MCNERTNEY                    3441 STONE PARK BLVD                                             SIOUX CITY         IA         51104                  6002               Various                                                                                                $4.82
ROSE MERCER                       4241 N 61 ST #610                                                LINCOLN            NE         68507                  6004               Various                                                                                               $52.76
ROSE MICHEL                       327 MEMORIAL DRIVE APT 310                                       LE MARS            IA         51031                  6004               Various                                                                                               $25.00
ROSE MYERS                        3221 SOUTH OAK HILL AVE                                          JANESVILLE         WI         53546                  6004               Various                                                                                                $2.00
ROSE PRICE                        720 FICKLIN ST                                                   MOUNT CARMEL       IL         62863                  6002               Various                                                                                                $1.21
ROSE PUBLICATIONS DBA CLINTONV    10 N MAIN STREET               PO BOX 30                         CLINTONVILLE       WI         54929                  9770               Various                                                                                               $77.70
ROSE ROBY                         NH NORTH HALL                                                    WHEATLAND          WY         82201                  6002               Various                                                                                                $4.14

ROSE SARMIENTO HUMBLE             158 SE 6TH AVE                                                   MILTON-FREEWATER   OR         97862                  6004               Various                                                                                            $20.00
ROSE SMITH                        3712 N 70TH AVE                                                  OMAHA              NE         68104                  6002               Various                                                                                             $2.58
ROSE STARK                        111 W 17TH ST                                                    SIOUX FALLS        SD         57104                  6002               Various                                                                                             $2.08
ROSE UFO                          2021 CENURTY HILLS DR NE                                         ROCHESTER          MN         55906                  6004               Various                                                                                            $15.00
ROSE VILLA                        801 ROGERS 4                                                     MISSOULA           MT         59801                  6004               Various                                                                                           $100.00
ROSE WALTER                       910 MEADOW LN                                                    MAYVILLE           WI         53050                  6002               Various                                                                                             $0.38
ROSE WILSON                       4215 E 48TH ST                                                   NEWAYGO            MI         49337                  6002               Various                                                                                           $241.64
ROSEANN MIJAL                     1240 MERRILL AVE APT 320                                         WAUSAU             WI         54401                  6002               Various                                                                                             $1.14




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                                                                                                                                                              Account         Incurred, Basis for
             Creditor Name                         Address1             Address2           Address3             City        State           Zip   Country     Number                Claim                                                                             Total Claim
ROSEANN VALELA                         365 S 1ST ST                                                     ISHPEMING        MI         49849                 6002                Various                                                                                             $1.66
ROSEANN WAGNER                         816 N FRANKLIN ST                                                STANLEY          WI         54768                 6002                Various                                                                                             $5.53
ROSEANN WARTH                          2501 MT PLEASANT APT 73                                          BURLINGTON       IA         52601                 6002                Various                                                                                             $3.62
ROSEANNA MARTIN                        PO BOX 44                                                        WITHEE           WI         54498                 6002                Various                                                                                             $1.34
ROSELINDA LOPEZ                        304 W RUNT ST                                                    CEYLON           MN         56121                 6002                Various                                                                                             $8.63
ROSELLA A HUPPERT                      N4839 610TH ST                                                   ELLSWORTH        WI         54011                 6002                Various                                                                                             $4.08
ROSELLA HEMINGER                       123 E CHESTNUT ST APT 6                                          SISSETON         SD         57262                 6002                Various                                                                                             $3.70
ROSELYN FRANCO                         733 CHAPEL VIEW RD           APT 7                               GREEN BAY        WI         54311                 6004                Various                                                                                             $4.00
ROSELYN WOOLFENDEN                     9493 SO KSEL DR                                                  SANDY CITY       UT         84092                 6002                Various                                                                                             $4.88
ROSEMARIE MANGIAMELE                   2314 S 91ST ST                                                   OMAHA            NE         68124                 6002                Various                                                                                             $6.90
ROSEMARIE SKINKIS                      605 E BRONSON RD             APT 117                             SEYMOUR          WI         54165                 6002                Various                                                                                             $2.08
ROSEMARY ANDERSON                      210 E 4TH ST APT 13                                              NEILLSVILLE      WI         54456                 6002                Various                                                                                             $2.88
ROSEMARY BARAJAS                       112 LAKECREST DR                                                 BEAVER DAM       WI         53916                 6002                Various                                                                                             $1.73
ROSEMARY BERG                          265 GRAND CT APT A107                                            FOND DU LAC      WI         54935                 6002                Various                                                                                             $8.63
ROSEMARY GESKE                         1422 S CROSBY AVE                                                JANESVILLE       WI         53546                 6004                Various                                                                                            $30.00
ROSEMARY JONES                         8155 S REDWOOD RD TRLR 156                                       WEST JORDAN      UT         84088                 6002                Various                                                                                             $7.70
ROSEMARY RESPALJE                      N1411 SPRING LAKE DR                                             DALTON           WI         53926                 6004                Various                                                                                             $5.50
ROSEMARY SMITH                         360 WEST GRAND AVE.                                              BELOIT           WI         53511                 6004                Various                                                                                             $2.00
ROSEMARY SWENSON                       1016 6TH AVENUE NW                                               ROCHESTER        MN         55901                 6004                Various                                                                                           $119.12
ROSEMARY VANDENBOOGAARD                N9253 COUNTY ROAD N                                              APPLETON         WI         54915                 6002                Various                                                                                             $1.78
ROSEMARY WILSON                        71 OAK RIDGE DR                                                  RIVER FALLS      WI         54022                 6002                Various                                                                                             $4.49

ROSENTHAL & ROSENTHAL INCORPORATED     PO BOX 88926                                                     CHICAGO          IL         60695-1926             ious               Various                                                                                       $652,980.90
ROSETTA FORD                           W6721 JOE SNOW RD                                                MERRILL          WI         54452                  6004               Various                                                                                            $10.00
ROSETTA STOLL                          5043 HIGHWAY 34                                                  WHEATLAND        WY         82201                  6002               Various                                                                                             $6.96
ROSHELL ELECTRIC, INC.                 14896 COUNTY HIGHWAY S                                           CHIPPEWA FALLS   WI         54729                                     Various                                                                                          $702.28
ROSIE BARTHOLOMEW                      3820 HWY #287                                                    LANDER           WY         82520                  6002               Various                                                                                            $10.41
ROSINA MCINTYRE                        RR 3 BOX 3530                                                    DONIPHAN         MO         63935                  6002               Various                                                                                             $3.53
ROSITA C HALBERT                       400 S ROSHOLT ST                                                 VEBLEN           SD         57270                  6002               Various                                                                                             $6.36
ROSITA VRONA                           7201 HENDERSON BLVD SE #2D                                       OLYMPIA          WA         98501                  6004               Various                                                                                          $110.00
ROSITA WILLOW                          579 ETHETE RD                                                    LANDER           WY         82520                  6002               Various                                                                                             $1.15
ROSLYN TESSEN                          1260 DEPOT STREET                                                MANAWA           WI         54949                  6002               Various                                                                                             $7.64
ROSS BADGER                            831 11TH AVE NE                                                  ROCHESTER        MN         55906                  6004               Various                                                                                          $134.00
ROSS BENNETT                           8005 VINLAND ST                                                  DULUTH           MN         55810                  6004               Various                                                                                             $3.00
ROSS COLE                              127 S MAIN ST                                                    WEST POINT       NE         68788                  6002               Various                                                                                             $6.58
ROSS COUDEYRAS                         3630 VAN DORN ST                                                 LINCOLN          NE         68506                  6004               Various                                                                                            $11.00
ROSS GLOVE COMPANY                     PO BOX 209                                                       SHEBOYGAN        WI         53082-0209             3220               Various                                                                                         $5,432.37
ROSS GUYETTE                           PO BOX 65                                                        POTTER           WI         54160                  6004               Various                                                                                             $3.40
ROSS LOINING                           135 CLIFFVIEW DR                                                 GREEN BAY        WI         54302                  6002               Various                                                                                             $1.59
ROSS M. LUOMA                          25468 LOWER ST                                                   CALUMET          MI         49913                  6002               Various                                                                                             $5.56
ROSS MARTIN                            411 10TH ST SE APT 4                                             WATERTOWN        SD         57201                  6002               Various                                                                                             $9.92
ROSS MONTCALM                          121 MIDWAY DR                                                    NEGAUNEE         MI         49866                  6002               Various                                                                                             $4.55
ROSS MUNCE                             2146 WINDFLOWER DR.                                              NEENAH           WI         54956                  6004               Various                                                                                             $2.00
ROSS RANDOLPH                          PO BOX 185 PMB 110                                               GLENDO           WY         82213                  6002               Various                                                                                             $9.21
ROSS SMITH                             513 RAILROAD ST                                                  LANDER           WY         82520                  6002               Various                                                                                             $7.84
ROSS WOJTA                             201 E STATE ST                                                   BLACK CREEK      WI         54106                  6002               Various                                                                                             $8.90
ROTO-ROOTER YAKIMA, WA                 PO BOX 819                                                       YAKIMA           WA         98907                                     Various                                                                                         $1,152.90
                                                                                                                                                                              12/1/2018 -
ROUGHRIDER ELECTRIC COOPERATIVE INC.   800 HWY DR                                                       HAZEN            ND         58545                  38000              12/31/2018                                                                                      $3,469.10
ROUSSO APPAREL GROUP LLC               525 7TH AVE 22ND FLOOR                                           NEW YORK         NY         10018                  6319               Various                                                                                        $10,591.60
ROWDY WOODWARD                         708 S 9TH AVE                                                    BROKEN BOW       NE         68822                  6002               Various                                                                                             $7.32
ROWENA BURNOSKY                        638 BALCOM ST.                                                   EAU CLAIRE       WI         54703                  6004               Various                                                                                            $16.00
ROXANA GARZA                           P.O. BOX 1586                                                    TOPPENISH        WA         98948                  6004               Various                                                                                            $18.00
ROXANN COWLEY                          2609 S GREEN ST                                                  SALT LAKE CITY   UT         84106                  6002               Various                                                                                             $1.64




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ROXANN DELYN STOLTZ              39151 HERON AVE                                              NORTH BRANCH    MN         55056                 6002                Various                                                                                             $1.86
ROXANN WINKELS                   1302 WESTERN ST                                              OSHKOSH         WI         54901                 6002                Various                                                                                             $5.92
ROXANNA GROSS                    522 W 2ND ST                                                 MOUNT CARMEL    IL         62863                 6002                Various                                                                                             $7.95
ROXANNE ABRAHAM                  1115 PARK CIRCLE                                             MADISON         WI         53704                 6004                Various                                                                                             $2.00
ROXANNE APPEL                    PO BOX 631                                                   SISTER BAY      WI         54234                 6002                Various                                                                                             $1.92
ROXANNE BROWN                    P.O. BOX 855                                                 HAYDEN          ID         83835                 6004                Various                                                                                             $8.00
ROXANNE EBERT                    2922 SCARLETT DR                                             LA CROSSE       WI         54601                 6002                Various                                                                                             $9.67
ROXANNE FORREST                  1955 GREEN TREE RD                                           JUNCTION CITY   WI         54443                 6002                Various                                                                                             $0.99
ROXANNE GARCIA                   505 7TH ST NE                                                AUSTIN          MN         55912                 6004                Various                                                                                             $3.00
ROXANNE HOLMES                   24 WEST COTTONWOOD RD                                        MILTON          WI         53563                 6004                Various                                                                                            $30.08
ROXANNE K SHIMEK                 24058 435TH AVE                                              AITKIN          MN         56431                 6002                Various                                                                                             $1.81
ROXANNE L KING                   1105 AVE D APT 4 PMB PO                                      PLATTSMOUTH     NE         68048                 6002                Various                                                                                             $1.21
ROXANNE LASCHANSKY               110 9TH ST                                                   SALMON          ID         83467                 6002                Various                                                                                             $7.26
ROXANNE MAINS                    711 CENTRAL AVE                                              FAIRVIEW        MT         59221                 6002                Various                                                                                             $0.41
ROXANNE MULLEN                   402 S 4TH ST                                                 MONMOUTH        IL         61462                 6002                Various                                                                                             $2.19
ROXANNE NULL                     416 E MAIN ST                                                NEW HAMPTON     IA         50659                 6002                Various                                                                                             $1.92
ROXANNE PAULSEN                  1475 71ST ST                                                 EDGERTON        MN         56128                 6002                Various                                                                                             $8.22
ROXANNE PETERSON                 322 CATFISH ST                                               MANKATO         MN         56001                 6004                Various                                                                                             $3.00
ROXANNE ROGERS                   W2143 AMSTERDAM ROAD                                         CEDAR GROVE     WI         53013                 6004                Various                                                                                           $200.00
ROXANNE SPARAPANI                432 OSAGE STREET                                             KINGSFORD       MI         49802                 6004                Various                                                                                            $63.00
ROY AMUNDSON                     2116 CHURCH ST                                               STEVENS POINT   WI         54481                 6002                Various                                                                                             $3.23
ROY BITTICK                      16711 COLUMBIA AVE                                           CALDWELL        ID         83607                 6002                Various                                                                                             $8.60
ROY BLENKINSOP                   326 W ELKHORN RD                                             SALMON          ID         83467                 6002                Various                                                                                             $7.37
ROY CERRILLO                     920 NW FISK                                                  PULLMAN         WA         99163                 6004                Various                                                                                            $10.02
ROY COLLINS                      905 S 17TH AVE                                               YAKIMA          WA         98902                 6004                Various                                                                                            $25.05
ROY COOK                         24594 FARMWAY RD                                             CALDWELL        ID         83607                 6004                Various                                                                                            $23.00
ROY DIVINE                       631 N. SHERMAN AVE.                                          MADISON         WI         53704                 6004                Various                                                                                             $4.29
ROY FELTON                       607 BRONSON RD.                                              SEYMOUR         WI         54165                 6004                Various                                                                                             $4.00
ROY HAGERMAN                     29 GARDEN TER                                                GLASGOW         MT         59230                 6002                Various                                                                                             $0.47
ROY HEIDT JR                     N20543 SUNSET VALLEY ROAD                                    GALESVILLE      WI         54630                 6002                Various                                                                                             $3.33
ROY HUNTON                       619 HARVEST LN                                               KENDRICK        ID         83537                 6002                Various                                                                                             $3.67
ROY JONES                        28830 202ND AVE                                              CORNELL         WI         54732                 6004                Various                                                                                           $125.00
ROY KELM                         2110 A PLYMOUTH ST                                           NEW HOLSTEIN    WI         53081                 6002                Various                                                                                             $7.56
ROY LAMBRECHT                    1345 SANDACRES DR                                            DE PERE         WI         54115                 6004                Various                                                                                            $20.00
ROY LEGLER                       W1881 MORTENSON ROAD                                         BROOKLYN        WI         53521                 6004                Various                                                                                            $25.00
ROY LESHER                       411 E MONROE ST                                              POWELL          WY         82435                 6002                Various                                                                                             $2.49
ROY NEITZEL                      763 STONECROP DR                                             HARTFORD        WI         53027                 6004                Various                                                                                             $1.00
ROY OSCAR                        NURSING HOME                                                 WHEATLAND       WY         82201                 6002                Various                                                                                            $13.07
ROY PRICE                        16328 ESTUART DR NU # 104                                    BEAVERTON       OR         97006                 6002                Various                                                                                             $0.77
ROY RAMEY                        932 GOULDING CREEK RD                                        ROUNDUP         MT         59072                 6002                Various                                                                                             $5.00
ROY RICE                         PO BOX 1722                                                  COEUR D ALENE   ID         83816                 6002                Various                                                                                             $6.38
ROY SALYERS                      4339 STONE                                                   BILLINGS        MT         59101                 6004                Various                                                                                             $5.00
ROY SISK JR                      113 1/2 OAK ST                                               NEENAH          WI         54956                 6002                Various                                                                                             $0.82
ROY SWANSON                      PO BOX 913                                                   SISTER BAY      WI         54234                 6002                Various                                                                                             $2.16
ROY VANDEVANTER                  PO BOX 236                                                   PIERCE          ID         83546                 6002                Various                                                                                             $1.15
                                                             7005 COCHRAN
ROYAL APPLIANCE (HOOVER)         VICE PRESIDENT OF SALES     ROAD                             CLEVELAND       OH         44139-4303             0169               Various                                                                                       $883,326.64
ROYAL CONSUMER PRODUCTS L L C    PO BOX 826200                                                PHILADELPHIA    PA         19182-6200             3685               Various                                                                                        $18,403.55
ROYAL CROWN BEVERAGE COMPANY     PO BOX 2870                                                  EVANSVILLE      IN         47728-0870             8023               Various                                                                                          $391.59
ROYAL PET INCORPORATED           201 ARMOUR AVENUE STE 100                                    SOUTH ST PAUL   MN         55075-0000             7551               Various                                                                                       $173,784.60
ROYCE BRAUER                     N5870 COUNTY E                                               ALBANY          WI         53502                  6004               Various                                                                                            $10.00
ROYCE EBERT                      116 ROULEAU LOOP                                             OROFINO         ID         83544                  6002               Various                                                                                             $1.15
ROYCE RAMOS                      2301 FOURTH AVE                                              STEVENS POINT   WI         54481                  6004               Various                                                                                             $3.00
ROZALIA STUHHAY                  24748 COUNTY ROAD 129                                        ROSEAU          MN         56751                  6002               Various                                                                                             $2.27




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                                                                                                                                                           Account       Incurred, Basis for
             Creditor Name                   Address1               Address2           Address3              City         State         Zip    Country     Number              Claim                                                                             Total Claim
ROZEK-BATCHELOR FAMILY            634 E FRONTAGE RD LOT 33                                          LITTLE SUAMICO   WI           54141                6002              Various                                                                                             $2.55
RPH ON THE GO USA INCORPORATED    DEPT CH 14430                                                     PALATINE         IL           60055-4430           1033              Various                                                                                         $1,695.90
                                                                                                    RANCHO SANTA
RS OREM PARTNERS LLC              30242 ESPERANZA                                                   MARGARITA        CA           92688                  1293            Various                                                                                          $624.34
RSM MAINTENANCE                   461 FROM ROAD                                                     PARAMUS          NJ           07652                                  Various                                                                                         $3,622.45
RTA PRODUCTS LLC (C-HUB)          2500 SW 32ND AVENUE                                               PEMBROKE PARK    FL           33023                  2688            Various                                                                                          $925.50
RUBEN BARRIOS                     1765 GRANT AVE                                                    OGDEN            UT           84404                  6002            Various                                                                                             $6.44
RUBEN CARDENAS                    3353 SO 5020 WEST                                                 SALT LAKE CITY   UT           84120                  6004            Various                                                                                             $3.98
RUBEN GARCIA                      PO BOX 73                                                         DUBOIS           ID           83403                  6004            Various                                                                                             $5.02
RUBEN HIDALGO                     1368 N RIMWOOD LANE                                               BOISE            ID           83704                  6004            Various                                                                                            $14.80
RUBEN MUNOZ                       519 CHESTER ST                                                    OGDEN            UT           84404                  6004            Various                                                                                            $20.00
RUBEN ROSALES-AYALA               510 RAMONA AVE                                                    WENATCHEE        WA           98801                  6004            Various                                                                                            $25.00
RUBEN STARK                       1706 15TH AVE                                                     COUNCIL BLUFFS   IA           51501                  6004            Various                                                                                            $31.00
RUBY CASTANEDA                    1213 11TH ST                                                      BELOIT           WI           53511                  6004            Various                                                                                            $23.75
RUBY HUDSON                       820 BIG HORN AVE                                                  ALLIANCE         NE           69301                  6002            Various                                                                                             $2.33
RUBY LOPEZ                        780 ST JOHNS CT                                                   CRETE            NE           68333                  6004            Various                                                                                             $4.00
RUBY MARTINEZ                     5810 SOUTH 20TH STREET                                            OMAHA            NE           68107                  6004            Various                                                                                             $2.00
RUBY P STEELE                     200 E HARLEM AVE APT 209                                          MONMOUTH         IL           61462                  6002            Various                                                                                             $4.82
RUBY S THOMPSON                   634 2ND AVE SO                                                    ONALASKA         WI           54650                  6002            Various                                                                                             $3.47
RUBY TAYLOR                       2915 W 1ST ST                                                     NORTH PLATTE     NE           69101                  6002            Various                                                                                             $0.60
RUDOLFO JR JUAREZ                 170 MANOR HILL DR                                                 EDEN             WI           53019                  6004            Various                                                                                             $2.00
RUDOLPH KUMP                      56249 CALUMET AVE                                                 CALUMET          MI           49913                  6002            Various                                                                                             $9.62
RUDRA CHAUDHARI                   2104 SD HIGHWAY 10                                                SISSETON         SD           57262                  6002            Various                                                                                             $5.62
RUDY ANZALDUA                     1259 SE 4701ST                                                    ANDREWS          TX           79714                  6002            Various                                                                                             $7.84
RUDY GINGERICH                    205 E SECOND ST                                                   JAMESPORT        MO           64648                  6002            Various                                                                                             $2.55
RUDY GROSS                        N219 BARTEL STREET                                                STEPHENSON       MI           49887                  6004            Various                                                                                            $20.00
RUDY MONTES                       9111 S. ROYAL GALA PL                                             KUNA             ID           83634                  6004            Various                                                                                            $10.02
RUDY ORTEGA                       55 W 100TH N                                                      SALEM            UT           84653                  6002            Various                                                                                             $0.58
RUFINO RAMIREZ ESCAMILLA          1541 2ND AVE NE APT 3                                             ROCHESTER        MN           55906                  6002            Various                                                                                             $5.92

RUG DOCTOR LLC (SBT)              2201 W PLANO PKWAY SUITE 100                                      PLANO            TX           75075                  5874            Various                                                                                        $20,209.89
RUGABISHA MUHIRE                  3929 N PENNSILVANA AVE                                            SIOUX FALLS      SD           57107                  6004            Various                                                                                            $23.00
RUGBY SANITATION                  106 2ND AVE SE                                                    RUGBY            ND           58368                                  Various                                                                                         $1,605.00
RUGIYO HUSSEIN                    703 NORTH SHAKESPERE AVE                                          MANKATO          MN           56001                  6004            Various                                                                                             $3.00
RUKIYA ISMAEL                     380 PARK MEADOWS DR          APT 308                              WAITE PARK       MN           56387                  6004            Various                                                                                             $3.00
RULA MINOR                        145 S 18TH AVE                                                    POCATELLO        ID           83201                  6002            Various                                                                                             $8.33
RUMI ABDI                         1225 20TH ST SE              UNIT 218                             ROCHESTER        MN           55904                  6004            Various                                                                                             $3.00
RUMPKE                            1101 W. OAK STREET                                                LOUISVILLE       KY           40210                                  Various                                                                                          $615.48
RUNNING DOGS PROPERTIES LLC       PO BOX 5004                                                       BUENA VISTA      CO           81211                  0015            Various                                                                                         $4,770.84
                                                                               679 S WASHINGTON
RUSHING/ JENNIFER                 STORE 2-526                  SHOPKO EMPLOYEE STREET               AFTON            WY           83110-6000             3587            Various                                                                                            $13.91
RUSHMORE PHOTO & GIFTS INC        3305 S HWY 79                                                     RAPID CITY       SD           57701-0000             7125            Various                                                                                         $3,674.00
RUSS O'DONNELL                    401 BUSTI AVE                                                     ELMA             IA           50628                  6002            Various                                                                                             $1.37
RUSSEL STENZEL                    310 31ST STREET NE #104                                           ROCHESTER        MN           55906                  6004            Various                                                                                             $3.00
RUSSEL VINCENT                    180 1ST LANE NE                                                   FAIRFIELD        MT           59436                  6004            Various                                                                                            $48.00
RUSSELL A STEVENS                 7939 GOATSVILLE RD                                                LENA             WI           54139                  6002            Various                                                                                             $2.41
RUSSELL BEICH                     N7253 FORREST RD             #2                                   BEAVER DAM       WI           53916                  6004            Various                                                                                            $20.00
RUSSELL BELL                      279 HAMMOND RD                                                    LAMBERTON        NC           28358                  6002            Various                                                                                             $4.11
RUSSELL BOUSLEY                   N19248 DORIS ROAD                                                 DUNBAR           WI           54119                  6004            Various                                                                                             $4.95
RUSSELL COUCH                     5039 W 2100TH S                                                   OGDEN            UT           84401                  6002            Various                                                                                             $8.08
RUSSELL D MCCARTER                319 E 2ND ST                                                      AINSWORTH        NE           69210                  6002            Various                                                                                             $3.73
RUSSELL DUNSMOOR                  313 S IRWIN AVE                                                   GREEN BAY        WI           54301                  6002            Various                                                                                             $7.59
RUSSELL EMORY                     3280 N WISTLER LN APT 104                                         BOISE            ID           83703                  6002            Various                                                                                             $7.12
RUSSELL ERDMAN                    3220 VETERANS DRIVE                                               SAINT CLOUD      MN           56303                  6004            Various                                                                                             $3.00




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                                                                                                                                                    Account         Incurred, Basis for
             Creditor Name                Address1              Address2        Address3            City         State           Zip    Country     Number                Claim                                                                             Total Claim
RUSSELL FYE                   4120 N TERRAVIEW DR                                            APPLETON         WI         54913                  6002                Various                                                                                                $9.53
RUSSELL GONZALES              PO BOX 4443                                                    BEDFORD          WY         83112                  6002                Various                                                                                                $6.19
RUSSELL GOULD                 2237 KASSNER DR                                                GREEN BAY        WI         54304                  6002                Various                                                                                                $0.77
RUSSELL HEGNA                 230404 1/2 AVE                                                 CHETEK           WI         54868                  6002                Various                                                                                                $6.96
RUSSELL HELFRITZ              509 11TH ST SW                                                 AUSTIN           MN         55912                  6004                Various                                                                                               $40.00
RUSSELL HODGES                121 WEST 3RD STREET                                            FAIRBURY         NE         68352                  6004                Various                                                                                                $2.00
                              IN C/O SHOPKO EYECARE CENTER 9520 N. NEWPORT
RUSSELL HOOVER                #4066                        HIGHWAY                           SPOKANE          WA         99218                   6004               Various                                                                                            $72.98
RUSSELL HUVEN                 N3157 HIGHWAY # A                                              APPLETON         WI         54914                   6002               Various                                                                                             $6.00
RUSSELL JOHNSON               1191 13 1/2 STREET                                             BARRON           WI         54812                   6004               Various                                                                                          $100.00
RUSSELL L EGGLESTON           322 W 7TH ST                                                   HASTINGS         NE         68901                   6002               Various                                                                                             $7.64
RUSSELL LINN                  1111 ROOSEVELT AVE                                             SALMON           ID         83467                   6002               Various                                                                                             $7.32
RUSSELL MARTIN                1417 18TH ST                                                   LEWISTON         ID         83501                   6002               Various                                                                                             $6.16
RUSSELL MERENESS              313 PARK ST                                                    KAUKAUNA         WI         54130                   6002               Various                                                                                             $0.55
RUSSELL MILLER                1005 S-K19 HWY                                                 LARNED           KS         67550                   6002               Various                                                                                             $7.37
RUSSELL NELSON                2238 MAHOGANY ST                                               MORA             MN         55051                   6002               Various                                                                                             $0.38
RUSSELL OWENS                 4830 S 137TH ST TRLR 33                                        OMAHA            NE         68137                   6002               Various                                                                                             $4.05
RUSSELL PALMER                95 E 1400TH S APT 4                                            GARLAND          UT         84312                   6002               Various                                                                                             $1.01
RUSSELL PIERSON               105 INTERWOOD DR                                               GLENCOE          MN         55336                   6002               Various                                                                                             $3.62
RUSSELL POSTEMA               8920 REDWOOD DR                                                NEWAYGO          MI         49337                   6002               Various                                                                                             $3.62
RUSSELL ROGGE                 1263 MEADOW LN                                                 NEENAH           WI         54956                   6002               Various                                                                                             $7.10
RUSSELL RUNYAN                3131 S 144TH AVE                                               OMAHA            NE         68144                   6002               Various                                                                                             $3.89
RUSSELL SANFORD               9442 380TH ST                                                  NORTH BRANCH     MN         55056                   6002               Various                                                                                             $3.61
RUSSELL SCHUCK                628 10TH ST                                                    BREWSTER         MN         56119                   6002               Various                                                                                             $0.60
RUSSELL SCHUESSLER            504 S EAST ST                                                  PLAINFIELD       WI         54966                   6002               Various                                                                                            $10.00
RUSSELL STAVER                2603 20TH AVE SE                                               ROCHESTER        MN         55904                   6004               Various                                                                                             $6.00
RUSSELL STOVER CANDIES        PO BOX 27 231                                                  KANSAS CITY      MO         64180-0231              7004               Various                                                                                     $1,961,110.10
RUSSELL SYMMONDS              1250 CENTRAL AVE APT F8                                        WENATCHEE        WA         98801                   6002               Various                                                                                             $1.66
RUSSELL VOIGT                 904 BLUFFVIEW COURT                                            CHIPPEWA FALLS   WI         54729                   6004               Various                                                                                             $2.00
RUSSELL WOODS                 832 FOX LN                                                     BELVIDERE        IL         61008                   6002               Various                                                                                             $3.33
RUSSWIN HELSLEY               17804 18TH ST                                                  PLATTSMOUTH      NE         68048                   6002               Various                                                                                             $4.82
RUST OLEUM CORPORATION        PO BOX 931946                                                  CLEVELAND        OH         44193-0000              3294               Various                                                                                        $26,166.70
RUSTEE SEGUIN                 16 S 18TH AVE E                                                DULUTH           MN         55812                   6004               Various                                                                                             $3.00
RUSTIN TITENSOR               PO BOX 4361                                                    BEDFORD          WY         83112                   6002               Various                                                                                             $8.25
RUSTY VISHER                  PO BOX 142                                                     HUDSON           WY         82515                   6002               Various                                                                                             $2.55
RUSTY WAID                    401 E. MAIN                                                    CONCORD          IL         62631                   6004               Various                                                                                            $20.00
RUTH ALLEN                    922 PRESTON                                                    LEWISTON         ID         83501                   6004               Various                                                                                            $14.54
RUTH ANN CORBIN               8069 FORD RD NE                                                KALKASKA         MI         49646                   6002               Various                                                                                             $3.81
RUTH ANN JOSLIN               1717 E PRATT LAKE RD                                           GLADWIN          MI         48624                   6002               Various                                                                                             $5.73
RUTH ANN MCKEE                3739 JACKSON AVE                                               OGDEN            UT         84403                   6002               Various                                                                                             $6.16
RUTH ANN MORLEY               706 E SAWYER ST                                                RICE LAKE        WI         54868                   6002               Various                                                                                             $0.66
RUTH BARR                     1952 E. FACTORY RD                                             DAKOTA           IL         61018                   6004               Various                                                                                             $1.20
RUTH BIRD                     208 BROWN AVE                                                  OROFINO          ID         83544                   6002               Various                                                                                             $6.60
RUTH BLODGETT                 34 HIDDEN HOLLOW TRAIL                                         MADISON          WI         53717                   6004               Various                                                                                            $20.00
RUTH BORCHARDT                W283N7677 KEESUS RD                                            HARTLAND         WI         53029                   6002               Various                                                                                             $2.93
RUTH BREWER                   130 WESTHAVEN DR                                               FOREST CITY      IA         50436                   6002               Various                                                                                            $10.00
RUTH BROOKS                   1210 S PEBBLE LN                                               BOISE            ID         83705                   6002               Various                                                                                             $0.99
RUTH BURGOS                   6200 N CLIFF AVE LOT 115                                       SIOUX FALLS      SD         57104                   6002               Various                                                                                             $4.66
RUTH COUSINS                  1259 S 400TH E                                                 GARLAND          UT         84312                   6002               Various                                                                                             $0.99
RUTH DELORES COGGINS          1186 W 8680TH S                                                WEST JORDAN      UT         84088                   6002               Various                                                                                             $7.18
RUTH E MIGUEL                 598 7TH AVE S                                                  PARK FALLS       WI         54552                   6002               Various                                                                                             $6.99
RUTH E NORDSTROM              BOX 118                                                        SPRAGUE          MB         R0A1Z         CANADA    6002               Various                                                                                             $9.86
RUTH FRISKEY                  208 2ND STREET SW                                              WATERTOWN        SD         57201                   6004               Various                                                                                             $9.60
RUTH GROSSE                   C/O BILL MARTIN              PO BOX 12                         SUAMICO          WI         54173                   6002               Various                                                                                             $0.29




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             Creditor Name               Address1             Address2         Address3               City         State           Zip   Country     Number                Claim                                                                             Total Claim
RUTH HANSON                   2539 CONTINENTAL CT                                             GREEN BAY         WI         54311                 6002                Various                                                                                             $2.66
RUTH HOFFMAN                  1730 PINECREST RD                                               GREEN BAY         WI         54313                 6002                Various                                                                                             $8.68
RUTH JOHNSON                  204 MEDOW RD.                                                   OCONTO FALLS      WI         54154                 6004                Various                                                                                            $25.00
RUTH JONES                    21070 KAVANAUGH LN                                              MOUNT CARMEL      IL         62863                 6002                Various                                                                                            $10.00
RUTH L CARTER                 318 PARK ROW                                                    SAINT PETER       MN         56082                 6002                Various                                                                                             $0.58
RUTH LEACH                    4276 SALTILLO RD                                                FRIEND            NE         68359                 6004                Various                                                                                           $129.99
RUTH M. LINNEMAN              2021 MERRILL AVE                                                BELOIT            WI         53511                 6002                Various                                                                                             $2.96

RUTH MAPPES                   1800 GRANITE LN                                                 PORT WASHINGTON   WI         53074                  6002               Various                                                                                                $0.74
RUTH MCGREGOR                 2983 SUNSHINE PL                                                GREEN BAY         WI         54313                  6002               Various                                                                                                $7.62
RUTH MEYER                    2202 P ST                                                       AUBURN            NE         68305                  6002               Various                                                                                                $7.29
RUTH MILES                    1512 E MILWAUKEE ST                                             JANESVILLE        WI         53545                  6002               Various                                                                                                $4.16
RUTH MTM DEGLMANN             206 4TH AVE S APT 311                                           PRINCETON         MN         55371                  6002               Various                                                                                                $9.40
RUTH NEELEY                   BOX 252 202 4TH AVE.                                            GRAFTON           IA         50440                  6002               Various                                                                                                $2.41
RUTH NEU                      1002 N JAY ST                                                   ABERDEEN          SD         57401                  6004               Various                                                                                               $12.44
RUTH O'NEALL                  13710 E. RIVERSIDE AVE.                                         SPOKANE           WA         99216                  6004               Various                                                                                                $5.34
RUTH RAYNE                    P O BOX 184                                                     MIDDLETON         ID         83644                  6004               Various                                                                                               $25.00
RUTH REMIKER                  1042 N RAPIDS RD                                                MANITOWOC         WI         54220                  6002               Various                                                                                                $2.58
RUTH ROOT                     PO BOX 827                                                      OROFINO           ID         83544                  6002               Various                                                                                                $3.26
RUTH ROSIN                    1620 GRANITE ST                                                 MARQUETTE         MI         49855                  6002               Various                                                                                                $0.77
RUTH SANDQUIST                521 WARNER DRIVE                                                LEWISTON          ID         83501                  6004               Various                                                                                               $12.32
RUTH STEWART                  8391 COOPER RD                                                  KENOSHA           WI         53142                  6002               Various                                                                                                $1.42
RUTH STRAND                   5179 IRISH LANE                                                 MADISON           WI         53711                  6002               Various                                                                                                $4.16
RUTH TAGGART                  405 APPLETON ST                                                 MENASHA           WI         54952                  6002               Various                                                                                                $1.37
RUTH TIBBITS                  735 W M ST                                                      FOREST CITY       IA         50436                  6002               Various                                                                                                $8.03
RUTH VENEGAS                  924 OHIO ST                                                     HANCOCK           MI         49930                  6004               Various                                                                                               $23.00
RUTH VRIELING                 614 WASHINGTON                                                  GRANEVILLE        ID         83530                  6004               Various                                                                                               $24.72
RUTH WEBER                    1023 N 4TH ST APT 3                                             ABERDEEN          SD         57401                  6002               Various                                                                                                $4.49
RUTH WEISSGERBER              N17451 CTY RD 400                                               POWERS            MI         49874                  6004               Various                                                                                               $27.50
RUTH WHITE                    4951 338TH ST                                                   STANBERRY         MO         64489                  6002               Various                                                                                                $1.73
RUTH WIERSMA                  2515 HILLSIDE LN                                                GREEN BAY         WI         54302                  6002               Various                                                                                                $3.51
RUTH WINTERFELDT              301 S 5TH ST APT 306                                            MANKATO           MN         56001                  6002               Various                                                                                                $5.96
RUTHIE MANZER                 1514 N 40TH ST                                                  OMAHA             NE         68111                  6004               Various                                                                                                $4.00
RUTHIE THAIN                  2923 N 2400TH W                                                 SMITHFIELD        UT         84335                  6002               Various                                                                                                $8.27
RUTINA PEDRO-JUAREZ           571 S 28TH ST              #5                                   OMAHA             NE         68105                  6004               Various                                                                                                $4.00

RUUD/ MAIA                    STORE 2-740                SHOPKO EMPLOYEE 116 EAST STATE HWY 28 MORRIS           MN         56267                  4163               Various                                                                                             $6.05
RUUDY (D0G) GERDES            1710 K ST                                                        AUBURN           NE         68305                  6002               Various                                                                                             $2.58
RUYTS FAMILY                  1847 18 1/2 ST NW                                                ROCHESTER        MN         55901                  6002               Various                                                                                             $9.10
RX RELIEF INCORPORATED        PRIDESTAFF                 PO BOX 205287                         DALLAS           TX         75320-5287             7144               Various                                                                                         $4,520.49
RX SYSTEMS INCORPORATED       121 POINT WEST BOULEVARD                                         ST CHARLES       MO         63301-4409             3509               Various                                                                                          $358.05
RYAN AMLAND                   9436 - 40TH ST SW                                                HOWARD LAKE      MN         55349                  6002               Various                                                                                             $7.64
RYAN ARCHIBALD                123 ARROWHEAD                                                    MISSOULA         MT         59803                  6004               Various                                                                                            $23.00
RYAN BESTUL                   4005 ROCKWELL DRIVE                                              MADISON          WI         53714                  6004               Various                                                                                             $2.00
RYAN BLACK                    PO BOX 26                                                        DEWEESE          NE         68934                  6002               Various                                                                                            $10.55
RYAN BOWMAN                   2190 SELWAY                                                      TWIN FALLS       ID         83301                  6004               Various                                                                                             $2.51
RYAN BOYD                     1590 NE NORTHWOOD E202                                           PULLMAN          WA         99163                  6004               Various                                                                                             $4.20
RYAN BROWN                    1004 6TH AVE APT. 4                                              LEWISTON         ID         83501                  6004               Various                                                                                             $3.65
RYAN BRUNELL                  1065 HESLOP                                                      OGDEN            UT         84404                  6002               Various                                                                                             $0.82
RYAN BURROW                   2923 YOUNGDALE AVE                                               LA CROSSE        WI         54603                  6004               Various                                                                                             $5.02
RYAN CHERAMY                  2412 WHITE OAK TRAIL                                             OREGON           WI         53575                  6004               Various                                                                                             $4.30
RYAN CHRISTOPHERSON           1107 E 1625TH N                                                  NORTH LOGAN      UT         84341                  6002               Various                                                                                             $4.52
RYAN COLLINS                  1345 ROCK DALE ST                                                GREEN BAY        WI         54304                  6004               Various                                                                                            $25.00
RYAN COMLEY                   2626 S 12TH ST                                                   QUINCY           IL         62305                  6002               Various                                                                                             $9.51




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                                                                                                                                                                                          Contingent


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                                                                                                                                                 Last 4 Digits of     Date Debt was
                                                                                                                                                    Account         Incurred, Basis for
             Creditor Name               Address1             Address2           Address3             City        State           Zip   Country     Number                Claim                                                                             Total Claim
RYAN CRAIG                    511 S STATE ST                                                  MARENGO          IL         60152                 6004                Various                                                                                                $3.90
RYAN CURTIN                   6617 KINGSVIEW DR                                               RACINE           WI         53406                 6004                Various                                                                                                $1.20
RYAN D BROCKBERG              202 9TH AVE SE                                                  PIPESTONE        MN         56164                 6002                Various                                                                                                $6.33
RYAN DAANE                    3723 PINTAIL DR                                                 JANESVILLE       WI         53546                 6004                Various                                                                                               $20.00
RYAN DECKER                   150 SHADY LANE #141                                             KALISPELL        MT         59901                 6004                Various                                                                                                $3.00
RYAN DOSTAL                   3117 15TH AVE NW APT B                                          ROCHESTER        MN         55901                 6002                Various                                                                                               $10.00
RYAN DRIEHORST                1425 N PRAIRIE                                                  FAIRMONT         MN         56031                 6004                Various                                                                                                $3.00
RYAN EASTERSON                537.5 E BROWN                                                   WAUPUN           WI         53963                 6004                Various                                                                                               $34.00
RYAN ELLIS                    N60W23874 BUTTERNUT LN                                          SUSSEX           WI         53089                 6002                Various                                                                                                $6.03
RYAN EWOLDT                   205 E 12TH                                                      WOOD RIVER       NE         68883                 6004                Various                                                                                                $1.00
RYAN FARIS                    418 JENNY ST                                                    CAMPBELLSPORT    WI         53010                 6004                Various                                                                                                $2.98
RYAN FINK                     710 BEAR CLAW WAY                                               MADISON          WI         53717                 6004                Various                                                                                                $5.40
RYAN FLATEN                   375 GREASEWOOD ST                                               GREEN RIVER      WY         82935                 6002                Various                                                                                                $4.44
RYAN FOLEY                    1866 WINDFLOWER ST.                                             RIVER FALLS      WI         54022                 6004                Various                                                                                                $5.02
RYAN FORSTNER                 1204 UNIVERSITY DR SE                                           SAINT CLOUD      MN         56304                 6002                Various                                                                                                $8.05
RYAN GARLAND                  777 S EIENENHOWER AVENUE                                        MASON CITY       IA         50401                 6004                Various                                                                                               $36.70
RYAN GINTER                   1084 RUSSELL STREET                                             KRONENWETTER     WI         54455                 6004                Various                                                                                               $25.00
RYAN GIRARDI                  N7802 Z1 RD.                                                    STEPHENSON       MI         49887                 6004                Various                                                                                                $5.60
RYAN GREER                    810 SUE LANE                                                    CLINTON          WI         53525                 6004                Various                                                                                               $10.02
RYAN GUSLICK                  3819 COUNTRY AIRE DRIVE                                         CEDARBURG        WI         53012                 6004                Various                                                                                               $14.00
RYAN HANAGAN                  3128 FAIRVIEW RIOAD                                             NEENAH           WI         54956                 6004                Various                                                                                                $4.06
RYAN HASSEL                   7801 S 59TH ST                                                  LINCOLN          NE         68516                 6004                Various                                                                                                $4.00

RYAN HASSTEDT                 9164 N BROWN COUNTY LINE RD                                     PULASKI          WI         54162                  6004               Various                                                                                               $10.00
RYAN HAWORTH                  499 KELLY JOE DR                                                GREEN BAY        WI         54303                  6004               Various                                                                                                $2.47
RYAN HEMSLEY                  3022 SO. 33RD STREET                                            OMAHA            NE         68105                  6004               Various                                                                                               $11.00
RYAN HENRIE                   780 N 200TH E                                                   SPANISH FORK     UT         84660                  6002               Various                                                                                                $6.99
RYAN HERNANDEZ                416 CARDINAL DRIVE                                              MANKATO          MN         56001                  6002               Various                                                                                               $35.00
RYAN HIBBS                    2019 BENTON STREET                                              LINCOLN          NE         68521                  6004               Various                                                                                                $2.00
RYAN HILLBERG                 2300 W 33RD ST                                                  SIOUX FALLS      SD         57104                  6004               Various                                                                                               $31.20
RYAN HOUSTON                  536 19TH AVE                                                    MONROE           WI         53566                  6004               Various                                                                                                $1.00
RYAN HUSTAD                   601 S 8TH ST                                                    WATERTOWN        WI         53094                  6002               Various                                                                                                $2.49
RYAN J FARRER                 430 N 1000TH E # 2                                              SPANISH FORK     UT         84660                  6002               Various                                                                                                $6.47
RYAN KANE                     1354 EAGLE FEATHER TRL                                          NEENAH           WI         54956                  6002               Various                                                                                                $6.11
RYAN KAPPERS                  12725 CTY RD # 3                                                SPRING VALLEY    MN         55975                  6002               Various                                                                                                $0.55
RYAN KARWEICK                 N9405 SNAPDRAGON LN                                             APPLETON         WI         54915                  6002               Various                                                                                                $0.41
RYAN KING                     3111 11TH AVE NW # AND 1/2                                      ROCHESTER        MN         55901                  6002               Various                                                                                               $10.00
RYAN KREBS                    1351 HOMMEN RD                                                  DEERFIELD        WI         53531                  6004               Various                                                                                                $7.00
RYAN LAMOTHE                  310 W ROOSEVELT ST                                              FREEPORT         IL         61032                  6004               Various                                                                                               $21.00
RYAN LENZ                     17793 SHAFFER ROAD                                              CRIVITZ          WI         54114                  6002               Various                                                                                                $8.95
RYAN LOTT                     328 E 200TH S                                                   HYRUM            UT         84319                  6002               Various                                                                                                $3.45
RYAN M ILSE                   949 130TH AVE                                                   PIPESTONE        MN         56164                  6002               Various                                                                                                $6.88
RYAN MALONE                   1301 RIVER STREET           APT 4                               MERRILL          WI         54452                  6004               Various                                                                                               $12.07
RYAN MCBRIDE                  880 N 510 E                                                     OREM             UT         84097                  6004               Various                                                                                               $15.00
RYAN MCCARTHY                 1508 JACKSON ST                                                 LA CROSSE        WI         54601                  6002               Various                                                                                                $4.99
RYAN MCPHERSON                283 W. SILVERDALE CT                                            KUNA             ID         83634                  6004               Various                                                                                               $11.40
RYAN MONK                     9495 CAITHNESS CIRCLE                                           SOUTH JORDAN     UT         84095                  6004               Various                                                                                               $17.50
RYAN MORRIS                   7826 MONTICELLO DR                                              BELVIDERE        IL         61008                  6004               Various                                                                                               $20.00
RYAN MUELLER                  712 W 9TH AVE                                                   OSHKOSH          WI         54902                  6002               Various                                                                                                $3.53
RYAN MURRAY                   4065 S 1100TH E                                                 SALT LAKE CITY   UT         84124                  6002               Various                                                                                                $5.21
RYAN NELSON                   214 S 8TH STREET            LOWER                               ESCANABA         MI         49829                  6004               Various                                                                                               $10.00
RYAN NEVILLE                  1002 SAND LANE                                                  NEILLSVILLE      WI         54456                  6004               Various                                                                                               $15.99
RYAN NGUYEN                   1690 DRUM CORPS DR                                              MENASHA          WI         54952                  6002               Various                                                                                                $7.21
RYAN O'CONNELL                734 N PARK AVE              APT 202                             FREMONT          NE         68025                  6004               Various                                                                                                $4.00




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             Creditor Name                Address1             Address2           Address3             City       State           Zip   Country     Number                Claim                                                                             Total Claim
RYAN OLSON                    126 WATER ST.                                                    MENASHA         WI         54952                 6004                Various                                                                                             $3.00
RYAN P PESOLA                 21461 TAPIOLA RD                                                 PELKIE          MI         49958                 6002                Various                                                                                             $6.41
RYAN PAHMEIER                 113 LOTHE ROAD UNIT 12                                           MARSHALL        WI         53559                 6004                Various                                                                                             $2.00
RYAN PERKINS                  155 8TH AVE WN                                                   KALISPELL       MT         59901                 6004                Various                                                                                             $8.00
RYAN PETERSEN                 10481 E STONY RIDGE CIR                                          SISTER BAY      WI         54234                 6002                Various                                                                                             $0.79
RYAN PETERSON                 E23273 ZANK RD                                                   FAIRCHILD       WI         54741                 6004                Various                                                                                            $22.04
RYAN POLESKY                  P.O. BOX 87                                                      JOLIET          MT         59041                 6004                Various                                                                                             $8.00
RYAN PRIEBE                   1131 HIGHLAND AVE                                                MANKATO         MN         56001                 6004                Various                                                                                             $1.31
RYAN QUADE                    31567 710TH AVE                                                  HARTLAND        MN         56042                 6004                Various                                                                                            $10.00
RYAN QUINNELL                 1504 S ADAMS                APT. 206                             MARSHFIELD      WI         54449                 6004                Various                                                                                            $20.00
RYAN RADKE                    1465 S RED MAPLE CT                                              PAYSON          UT         84651                 6002                Various                                                                                             $0.63
RYAN RATHBUN                  GENERAL DELIVERY                                                 OROFINO         ID         83544                 6002                Various                                                                                             $1.97
RYAN RATSCH                   1710 WESTMINSTER DR         #8                                   GREEN BAY       WI         54302                 6004                Various                                                                                            $25.00
RYAN REED                     17TH UNION ST S STE 2                                            MORA            MN         55051                 6002                Various                                                                                             $6.36
RYAN REHBERG                  W5878 FRONTAGE RD                                                MENASHA         WI         54952                 6002                Various                                                                                             $3.48
RYAN RHODES                   511 GRIFFY STREET                                                RIVER FALLS     WI         54022                 6004                Various                                                                                            $25.00
RYAN RIDER                    522 STRATFORD LN                                                 JACKSONVILLE    IL         62650                 6004                Various                                                                                            $31.00
RYAN ROSENBERGER              617 N 17TH ST                                                    BEATRICE        NE         68310                 6002                Various                                                                                             $2.77
RYAN ROSS                     7941 FAIRDALE RD                                                 CHERY VALLEY    IL         61016                 6004                Various                                                                                             $5.00
RYAN ROST                     3348 HIGHLAND DR                                                 TWIN FALLS      ID         83301                 6002                Various                                                                                             $0.82
RYAN RUCKER                   203 E 5TH ST                                                     CURTIS          NE         69025                 6002                Various                                                                                             $2.11
RYAN SAS                      124 S G ST                                                       LIVINGSTON      MT         59047                 6002                Various                                                                                             $0.99
RYAN SCHAPER                  1153 BOUGHTON ST APT 1G                                          WATERTOWN       WI         53094                 6004                Various                                                                                             $3.00
RYAN SCHULER                  1319 THIRD ST                                                    NEW GLARUS      WI         53574                 6004                Various                                                                                            $25.00
RYAN SCHULTZ                  839 COLLINS RD.                                                  JEFFERSON       WI         53549                 6004                Various                                                                                            $25.00
RYAN SHULL                    909 KANSAS ST                                                    LARNED          KS         67550                 6002                Various                                                                                             $1.01
RYAN SNOW                     101 3RD ST S                                                     SWALEDALE       IA         50477                 6004                Various                                                                                            $10.00
RYAN SPENCER                  2859 W 2435 S                                                    SYRACUSE        UT         84075                 6004                Various                                                                                            $36.00
RYAN STOCKTON                 5809 83RD ST                                                     KENOSHA         WI         53142                 6002                Various                                                                                             $4.66
RYAN STORY                    910 S RURAL                                                      SIOUX FALLS     SD         57104                 6004                Various                                                                                            $30.00
RYAN STUART                   920 1/2 SHORES RD                                                POCATELLO       ID         83204                 6002                Various                                                                                             $6.22
RYAN STURDEVANT               1453 LAFAYETTE ST                                                JANESVILLE      WI         53546                 6004                Various                                                                                             $2.00
RYAN TRAYNOR                  PO BOX 858                                                       PHILLIPSBURG    MT         59858                 6004                Various                                                                                            $80.99
RYAN UHLENBRAUCK              2610 N BIRCHWOOD AVE                                             APPLETON        WI         54914                 6002                Various                                                                                             $5.12
RYAN VANCAMPENHOUT            607 SCHWARTZ ST                                                  GREEN BAY       WI         54302                 6002                Various                                                                                             $5.62
RYAN VOLLRATH                 7320 WHITESPIRE RD APT 11                                        SCHOFIELD       WI         54476                 6004                Various                                                                                            $23.00
RYAN WAGNER                   N3588 COUNTY ROAD K                                              JEFFERSON       WI         53549                 6004                Various                                                                                             $1.95
RYAN WALTER RODINA            2611 W HEATHER AVE                                               APPLETON        WI         54914                 6002                Various                                                                                             $1.37
RYAN WARING                   462 KEAP ST #4E                                                  BROOKLYN        NY         11211                 6004                Various                                                                                           $124.97
RYAN WATERSTREET              2701 ELMWOOD CT                                                  APPLETON        WI         54911                 6002                Various                                                                                             $3.70
RYAN WEINKOETZ                80 RAIDER HEIGHTS                                                KIEL            WI         53042                 6004                Various                                                                                            $34.98
RYAN WEST                     424 LARAMIE AVE                                                  ALLIANCE        NE         69301                 6002                Various                                                                                             $9.21
RYAN WHELAN                   1319 ST. JOHN AVE                                                ALBERT LEA      MN         56007                 6004                Various                                                                                             $3.00
RYAN WILBER                   3425 WILSON AVE                                                  PLOVER          WI         54467                 6004                Various                                                                                            $61.00
RYAN WILKIE                   1106 MCKINNLEY AVE                                               GRAND FORKS     ND         58201                 6002                Various                                                                                             $6.14
RYAN WITTERS                  809 CASTLE ST                                                    SENECA          KS         66538                 6002                Various                                                                                             $7.32
RYAN WUCHERER                 3420 YORKSHIRE RD                                                GREEN BAY       WI         54311                 6004                Various                                                                                             $6.02
RYANE FRANK                   7216 MOCKINGBIRD LANE                                            MIDDLETON       WI         53562                 6004                Various                                                                                             $5.70
RYANE JANELL CARLIN           238 W 29TH AVE                                                   TORRINGTON      WY         82240                 6002                Various                                                                                             $5.86
RYANN CHRISTMAN               3635 DOVE RD                                                     EAST HELENA     MT         59635                 6004                Various                                                                                             $2.00
RYANN ELIZAB KLIPFEL          12908 385TH AVE                                                  ABERDEEN        SD         57401                 6002                Various                                                                                             $0.79
RYBAK HANDYMAN                JOHN F RYBAK JR             9462 41ST ST NW                      ROOSEVELT       MN         56673                 0119                Various                                                                                           $593.15
RYCK VOISARD                  2599 E FOXHUNT DR                                                SANDY           UT         84092                 6002                Various                                                                                             $1.70
RYDER ANCHUSTEGUI             10148 IDLEWOOD DR                                                BOISE           ID         83709                 6004                Various                                                                                            $27.00




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              Creditor Name                   Address1              Address2           Address3             City         State         Zip    Country     Number                Claim                                                                             Total Claim
RYDER R DAILEY                    126 HILLCREST DR                                                  GLENWOOD          IA         51534                6002                Various                                                                                             $5.59
RYLAN RICHAR BOUTIN               18 3RD ST NW                                                      OELWEIN           IA         50662                6002                Various                                                                                             $7.70
RYLE NELSON                       215 MAIN STREET WEST                                              WATERVILLE        MN         56096                6004                Various                                                                                            $67.32
RYLEE BRUCE                       425 MAIN ST                                                       CLEARWATER        MN         55320                6004                Various                                                                                            $35.39
RYLEE BURMESTER                   274 W ELKHORN DR                                                  ETNA              WY         83118                6002                Various                                                                                             $4.77
RYLEE E HUNT                      703 SWIFT ST                                                      SAINT PETER       MN         56082                6002                Various                                                                                             $6.90
RYLEE VILLWOCK                    103 MARY LANE DR                                                  NEOSHO            WI         53059                6004                Various                                                                                             $2.00
RYLEE VINNEY                      1101 LEXINGTON WAY                                                WATERLOO          WI         53594                6004                Various                                                                                             $1.34
RYLEY FLETCHER                    501 N 100TH W                                                     MENDON            UT         84325                6002                Various                                                                                             $7.75
RYLEY J DONNER                    1611 19TH RD                                                      BANCROFT          NE         68004                6002                Various                                                                                             $7.67
RYNE ZUZINEC                      460 PARK MEADOWS DR           APT 304                             WAITE PARK        MN         56387                6004                Various                                                                                             $3.00
RYON GATES                        1019 15TH ST N                                                    GREAT FALLS       MT         59401                6002                Various                                                                                             $0.44
RYON HILL                         236 N PINE ST                                                     DODGE             NE         68633                6002                Various                                                                                             $6.14
RYON L. PACKARD                   22763 N RANCH VIEW DR                                             RATHDRUM          ID         83858                6002                Various                                                                                             $2.22
RYSA SEAMAN                       20021 E. MICA VIEW                                                GREEN ACRES       WA         99016                6004                Various                                                                                            $13.00
RYSSA OESTREICH                   W4201 MAPLE CENTER RD                                             GREENWOOD         WI         54437                6002                Various                                                                                             $6.11
RYU PRINCE                        2512 MISSION TRAIL                                                KALISPELL         MT         59901                6004                Various                                                                                             $3.00
S C JOHNSON & SON INCORPORATED    CUST NO 786092                DRAWER NO 912                       MILWAUKEE         WI         53278                3002                Various                                                                                         $3,689.34
S LICHTENBERG & COMPANY INCORP    295 FIFTH AVE SUITE 918                                           NEW YORK          NY         10016                3618                Various                                                                                        $99,939.55
S4OPTIK LLC                       PO BOX 842213                                                     BOSTON            MA         02284-2213           8377                Various                                                                                         $2,134.00
SA GAY HTOO                       1538 SPRING AVE TRLR 26                                           WORTHINGTON       MN         56187                6002                Various                                                                                             $6.63
SAADY DIALLO                      5699 COUNTY RD V V                                                MARSHALL          WI         53559                6004                Various                                                                                            $20.70
SABIEN BRASUELL                   2256 WILLONA DR                                                   EUGENE            OR         97408                6004                Various                                                                                            $30.00

SABINO SIERRA                     2255 HAWTHORNE AVE TRLR 48                                        CRETE             NE         68333                 6002               Various                                                                                             $9.26
SABRINA AGUIRRE                   1709 EAST UPHAM                                                   MARSHFIELD        WI         54449                 6004               Various                                                                                            $17.49
SABRINA AUDETTE                   N5566 COUNTY ROAD EE                                              SEYMOUR           WI         54165                 6004               Various                                                                                            $34.00
SABRINA BROTT                     888 VEGA RD                                                       HELENA            MT         59602                 6002               Various                                                                                             $2.77
SABRINA BUTERA                    114 WEST PLEASANT STREET                                          GARDEN CITY       MN         56034                 6004               Various                                                                                             $3.00
SABRINA CASE                      1209 N 34TH ST                                                    OMAHA             NE         68131                 6004               Various                                                                                             $4.00
SABRINA D OSTILIO                 114 WEST PLEASANT ST                                              GARDEN CITY       MN         56034                 6004               Various                                                                                             $3.06
SABRINA GONZALES                  3 TWIN SISTER CIR                                                 SALMON            ID         83467                 6002               Various                                                                                             $2.88
SABRINA GRIFFIN                   2614 COUNTRY ROSE CT          APT #5                              MADISON           WI         53713                 6004               Various                                                                                             $3.00
SABRINA O'BRIEN                   2488 HICKORY LANE                                                 OSHKOSH           WI         54901                 6004               Various                                                                                             $3.80
SABRINA REYES                     1130 W 1200 N                                                     MAPLETON          UT         84664                 6004               Various                                                                                            $26.00
SABRINA ROBINSON                  604 N 980TH W                                                     OREM              UT         84057                 6002               Various                                                                                             $1.18
SABRINA RODRIGUEZ DOMINGUEZ       1012 E 4100 N                                                     BUHL              ID         83316                 6004               Various                                                                                             $3.65
SABRINA SNOW                      636 6TH AVE NW                                                    PLAINVIEW         MN         55964                 6004               Various                                                                                             $3.00
SABRINA TEMPLIN                   652 SHAMROCK DR                                                   BRIGHAM CITY      UT         84302                 6002               Various                                                                                             $2.93
SABRINA VAUGHN                    GALAXIE MOTEL                                                     BRIGHAM CITY      UT         84302                 6002               Various                                                                                             $1.48
SACRED HEART SCHOOL               1820 FULTON STREET                                                FALLS CITY        NE         68355                 4414               Various                                                                                           $825.00

SADIE (CANIN SKEEN                4349 S 225TH E                                                    WASHINGTON TERR   UT         84405                 6002               Various                                                                                             $7.40
SADIE (CANIN WARREN               10687 CTY RD T                                                    AMHERST           WI         54406                 6002               Various                                                                                             $3.84
SADIE BOONE                       930 SE ROBIN PLACE                                                PULLMAN           WA         99163                 6004               Various                                                                                            $15.00
SADIE GABERELL                    4710 CARTER STREET                                                OREGON            WI         53575                 6004               Various                                                                                            $11.80
SADIE HICKS                       911 WEST 3RD STREET           APT 214                             NEKOOSA           WI         54457                 6004               Various                                                                                             $3.00
SADIE LARSEN                      309 S MULBERRY ST                                                 MOUNT CARMEL      IL         62863                 6002               Various                                                                                             $2.68
SADIK SHAHIDAIN                   7354 TIMBER LAKE TRAIL #207                                       MADISON           WI         53719                 6004               Various                                                                                            $25.00
SADIKA MALIC                      223 N LIBERTY ST                                                  BOISE             ID         83704                 6004               Various                                                                                             $3.65
SADIRA MIR                        214 BAYFIELD WAY                                                  LAKE MILLS        WI         53551                 6004               Various                                                                                             $3.00
SAEED HASHIM ZAROOQ               686 E OLD SAYBROOK LN                                             BOISE             ID         83706                 6002               Various                                                                                             $2.71
SAFAVIEH INTERNATIONAL LLC        LOCK BOX 10000                PO BOX 70280                        PHILADELPHIA      PA         19176-0280            2068               Various                                                                                         $7,932.71
SAFFRON COOPER                    5781 WOODSIDE DR SE                                               SALEM             OR         97306                 6004               Various                                                                                          $123.98




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               Creditor Name                  Address1          Address2          Address3              City       State         Zip    Country     Number                Claim                                                                             Total Claim
SAFILO USA INCORPORATED           PO BOX 35118                                                 NEWARK           NJ         07193-5118           9205                Various                                                                                        $125,804.60
SAGE RATH                         11045 T PLZ #306                                             OMAHA            NE         68137                6004                Various                                                                                             $27.00
SAGE ROBINSON                     4 IDLEWOOD                                                   RAPID CITY       SD         57701                6004                Various                                                                                             $15.00
SAHMAHRAH LANE                    417 4THS ST W                                                BILLINGS         MT         59101                6004                Various                                                                                              $2.00
SAIA MOTOR FREIGHT LINE INCORP    PO BOX 730532                                                DALLAS           TX         75373-0532           1575                Various                                                                                            $197.00
SAIDA YUDIT RAYO AGUIRRE          10984 BESTUL RD                                              SCANDINAVIA      WI         54977                6002                Various                                                                                              $8.63
SAIDO ABDI-SHIRE                  320 31ST ST NE           APT 127                             ROCHESTER        MN         55906                6004                Various                                                                                              $3.00
SAIDO MOHAMUD                     1515 7TH ST. S.          APT 205                             WAITE PARK       MN         56387                6004                Various                                                                                              $3.00
SAINA MALAEULU                    1125 N MAIN ST APT 4C                                        LAYTON           UT         84041                6002                Various                                                                                              $6.96
SAITE AUSTIN                      132 1/2 W. MAIN ST                                           WAUNAKEE         WI         53597                6004                Various                                                                                              $2.00
SAI-VIDYUD SENTHIL-NATHAN         5125 S. 99TH PLZ         #3                                  OMAHA            NE         68127                6004                Various                                                                                             $20.00
SAIYARAH THUO                     534 36TH ST SW                                               ROCHESTER        MN         55902                6004                Various                                                                                              $3.00
SAJJAD AL-LESSA                   6432 LEIGHTON                                                LINCOLN          NE         68507                6004                Various                                                                                              $2.00
SALEH KHATTAK                     2221 N CLOUDVIEW DRIVE                                       APPLETON         WI         54914                6002                Various                                                                                              $9.74
SALENA SPURLOCK                   864 TWIN BRIDGES RD                                          SILSBEE          TX         77656                6002                Various                                                                                              $4.63
SALESFORCE.COM INCORPORATED       PO BOX 203141                                                DALLAS           TX         75320-3141           5335                Various                                                                                         $61,582.75
SALESONE LLC                      16 FITCH STREET                                              NORWALK          CT         06855                0226                Various                                                                                         $22,195.90
SALINA WASTE SYSTEMS              PO BOX 660177                                                DALLAS           TX         75266-0177                               Various                                                                                            $785.00
SALLIE SZILVESZTER                528 PARK AVE                                                 WILD ROSE        WI         54984                 6002               Various                                                                                              $3.53
SALLY ANN COREY                   N9602 NUMBER 24 LANE                                         CEDAR RIVER      MI         49887                 6002               Various                                                                                              $4.99
SALLY ANN VANOOYEN                W5818 WEGE RD                                                BLACK CREEK      WI         54106                 6002               Various                                                                                              $3.92
SALLY ATWELL                      3486 SOLITUDE RD                                             DE PERE          WI         54115                 6002               Various                                                                                              $2.22
SALLY BEQUETTE                    1003 AVENUE K APT 1                                          CARTER LAKE      IA         51510                 6004               Various                                                                                             $57.00
SALLY BLACKETER                   1129 HIGHWAY 6                                               DORCHESTER       NE         68343                 6002               Various                                                                                              $4.99
SALLY BLAYLOCK                    BOX 202                                                      ST REGIS         MT         59866                 6002               Various                                                                                             $15.31
SALLY DIETZLER                    431 HIGHLAND DR                                              ELLSWORTH        WI         54011                 6002               Various                                                                                              $6.90
SALLY EDDY                        PARK STRASSMORE                                              ROCKFORD         IL         61107                 6004               Various                                                                                              $3.90
SALLY HANSON                      3423 PLATINUM POINT PL                                       SIOUX FALLS      SD         57108                 6004               Various                                                                                             $12.20
SALLY HEDBLOM                     511 MINNEHAHA LN                                             WATERLOO         WI         53594                 6002               Various                                                                                              $9.75
SALLY J OLIN                      223 E MAPLE ST                                               RIVER FALLS      WI         54022                 6002               Various                                                                                              $2.14
SALLY J. BELL                     1713 GOFF AVE APT 4                                          EAU CLAIRE       WI         54701                 6002               Various                                                                                              $2.49
SALLY K ALBERS                    S9977 EXCHANGE ROAD                                          PRAIRIE DU SAC   WI         53578                 6004               Various                                                                                              $9.20
SALLY MELENDREZ                   326 S WAUPACA ST                                             WAUTOMA          WI         54982                 6002               Various                                                                                              $9.86
SALLY MONPAS                      3193 COUNTY HIGHWAY XX                                       CADOTT           WI         54727                 6002               Various                                                                                              $2.00
SALLY MOORHEAD                    532 E 5TH ST                                                 HICKMAN          NE         68372                 6004               Various                                                                                              $8.83
SALLY NELSON                      BOX 942                                                      AFTON            WY         83110                 6002               Various                                                                                              $6.25
SALLY OSTI                        421 ANNIS HWY                                                RIGBY            ID         83442                 6004               Various                                                                                              $5.00
SALLY OTIS HERNANDEZ              539 E BLUFF                                                  MADISON          WI         53704                 6004               Various                                                                                              $4.00
SALLY ROCQUE                      1455 LOFFLER CT                                              CHIPPEWA FALLS   WI         54729                 6004               Various                                                                                             $25.00
SALLY SCHNELL                     803 E 14TH                                                   GRAND ISLAND     NE         68801                 6004               Various                                                                                             $15.50
SALLY SHAWLEY                     BOX 2631                                                     OROFINO          ID         83544                 6002               Various                                                                                              $2.90
SALLY SWENSON                     218 EDISON AVE                                               JANESVILLE       WI         53546                 6004               Various                                                                                              $2.00
SALM(K-9) FAMILY                  4830 N BENVIEW CT                                            APPLETON         WI         54913                 6002               Various                                                                                              $1.89
SALMA NUR                         510 3RD ST S             APT 18                              WAITE PARK       MN         56387                 6004               Various                                                                                              $3.00
SALOMON SAUCEDO                   1023 INDIAN DANCER TRL                                       BELVIDERE        IL         61008                 6004               Various                                                                                              $3.90
SALUD RUIZ                        1423 10TH AVE                                                BELVIDERE        IL         61008                 6004               Various                                                                                              $3.90
SALVADOR ARVIZU                   3780 CTY RD AB APT B                                         LUXEMBURG        WI         54217                 6002               Various                                                                                              $4.11
SALVADOR CID                      36 ELBON DR                                                  PIPESTONE        MN         56164                 6002               Various                                                                                              $6.49
SALVADOR GALLARDO                 2438 S ANDOVER ST                                            OGDEN            UT         84401                 6002               Various                                                                                              $5.26
SALVADOR GONZALEZ                 130 S THIRD ST                                               DELAVAN          WI         53115                 6002               Various                                                                                              $0.38
SALVADOR HINOJOSA SR              1122 S 54 ST                                                 OMAHA            NE         68106                 6004               Various                                                                                              $4.00
SALVATION ARMY                    1505 4TH AVE E                                               OLYMPIA          WA         98506                 6099               Various                                                                                             $45.00
SAM EDWARDS                       265 CROFT                                                    IDAHO FALLS      ID         83401                 6004               Various                                                                                             $43.02
SAM HAGEN                         283 WASHINGTON BLVD                                          GREAT FALLS      MT         59404                 6004               Various                                                                                             $23.00




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                                                                                                                                                                                                                                   Claim subject to offset?
                                                                                                                                                                                                         Unliquidated
                                                                                                                                                                                            Contingent


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                                                                                                                                                   Last 4 Digits of     Date Debt was
                                                                                                                                                      Account         Incurred, Basis for
            Creditor Name                 Address1             Address2          Address3              City         State           Zip   Country     Number                Claim                                                                             Total Claim
SAM HILTON                    HC 1 BOX 3728                                                   OXLY               MO         63955                 6002                Various                                                                                                $8.44
SAM LAWSON                    431 SELDEN ST                                                   COLUMBUS           WI         53925                 6004                Various                                                                                                $1.00
SAM MASSIE                    BOX 861                                                         UPTON              WY         82730                 6002                Various                                                                                                $5.59
SAM MCCOY                     4118 N 26TH ST                                                  OMAHA              NE         68111                 6002                Various                                                                                                $5.21
SAM MERRITT                   1926 HIGHWAY 51                                                 BANCROFT           NE         68004                 6002                Various                                                                                                $2.99
SAM MILLER                    90 WOODHILL RD                                                  SAINT CLOUD        MN         56301                 6004                Various                                                                                                $3.00
SAM MUDLIN                    13065 BIG ELK DR                                                PIEDMONT           SD         57769                 6002                Various                                                                                               $10.00
SAM SJEKLOCHA                 LEGACY ESTS                                                     MONMOUTH           IL         61462                 6002                Various                                                                                                $3.70
SAM SLAVIN                    212 WASHINGTON ST                                               SALMON             ID         83467                 6002                Various                                                                                                $1.64
SAM THIEL                     1935 N ONEIDA ST                                                APPLETON           WI         54911                 6004                Various                                                                                               $22.94
SAM WIECHMAN                  265 N 7TH ST                                                    WINNECONNE         WI         54986                 6002                Various                                                                                                $9.26
SAMANDA GARRISON              2002 LAKESIDE AVE                                               COUER D'ALENE      ID         83815                 6004                Various                                                                                               $58.00
SAMANNY YAN                   427 N OAKHILL AVE                                               JANESVILLE         WI         53548                 6004                Various                                                                                               $68.02
SAMANTHA ANDERSON             23511 WHALE BAY LANE                                            CALDWELL           ID         83607                 6004                Various                                                                                               $17.00
SAMANTHA BEARDEN              6027 EVANS ST                                                   OMAHA              NE         68104                 6004                Various                                                                                                $2.00
SAMANTHA BODE                 508 KANSAS ST                                                   NEMAHA             NE         68414                 6002                Various                                                                                                $6.58
SAMANTHA BREWER               N2170 CLEGHORN RD                                               WAUPACA            WI         54981                 6004                Various                                                                                                $2.00
SAMANTHA CADOTTE              223 2ND AVE SE                                                  SHELBY             MT         59474                 6002                Various                                                                                                $2.16
SAMANTHA COMMANDER KLITZKE    7511 ELIZABETH STREET                                           LA VISTA           NE         68128                 6004                Various                                                                                                $2.00
SAMANTHA COSTELLO             1119 1/2 16TH AVE           APT 10                              MONROE             WI         53566                 6004                Various                                                                                               $46.00
SAMANTHA COUNT                W5001 PADDOCK DRIVE                                             ELKHORN            WI         53121                 6004                Various                                                                                               $24.00
SAMANTHA CULLIGAN             304 SCHINDLER PL APT 305                                        MENASHA            WI         54952                 6004                Various                                                                                                $3.00
SAMANTHA CZEKANSKI            3931 LEONA CT NW                                                BYRON              MN         55920                 6002                Various                                                                                                $0.36
SAMANTHA DALE                 5200 W NOB HILL BLVD        APT 127                             YAKIMA             WA         98908                 6004                Various                                                                                                $5.02
SAMANTHA DALY                 925 BEESLEY AVE                                                 JACKSONVILLE       IL         62650                 6004                Various                                                                                               $19.28
SAMANTHA DEGROOT              426 SOUTHVILLE                                                  JACKSONVILLE       IL         62650                 6004                Various                                                                                               $60.60
SAMANTHA DEL CID              8400 LEXINGTON PLACE, #6                                        PLEASANT PRAIRIE   WI         53158                 6004                Various                                                                                               $43.98
SAMANTHA DUMARCE              308 1ST AVE W                                                   SISSETON           SD         57262                 6002                Various                                                                                                $9.64
SAMANTHA DVORAK               1761 DUBAY DRIVE                                                MOSINEE            WI         54455                 6004                Various                                                                                               $10.00
SAMANTHA FISCHER              10013 THUNDER RD                                                WHITELAW           WI         54247                 6004                Various                                                                                                $4.00
SAMANTHA FORBUSH              406 CENTER AVE                                                  SHEBOYGAN          WI         53081                 6004                Various                                                                                               $20.00
SAMANTHA FRYE                 1318 W. GRANT ST.                                               APPLETON           WI         54914                 6004                Various                                                                                                $3.98
SAMANTHA GADZINSKI            6303 WINNEQUAH RD           UNIT A                              MONONA             WI         53716                 6004                Various                                                                                               $25.00
                              101 GLENWOOD AVENUE APT
SAMANTHA GOERSS               LL04                                                            MANKATO            MN         56001                  6004               Various                                                                                                $3.00
SAMANTHA GOODHOUSE            405 13TH ST NE APT 206                                          WATERTOWN          SD         57201                  6002               Various                                                                                               $10.00
SAMANTHA GUTZKE               114 WEST PLEASANT                                               GARDEN CITY        MN         56034                  6004               Various                                                                                                $3.00
SAMANTHA HARPER               1025 E MONTANA AVE                                              COEUR D ALENE      ID         83814                  6002               Various                                                                                                $3.45
SAMANTHA HARTL                1340 PRIMROSE LANE          APT K                               NEENAH             WI         54956                  6004               Various                                                                                                $1.00
SAMANTHA HENRICKSON           20 YAWKEY AVE                                                   ROTHSCHILD         WI         54474                  6004               Various                                                                                                $1.50
SAMANTHA HENTGES              735 EAST BELLEVIEW STREET   APT B                               WINONA             MN         55987                  6004               Various                                                                                                $6.00
SAMANTHA HOLMSTROM            N9276 HAY HALLOW RD                                             BLANCHARDVILLE     WI         53516                  6004               Various                                                                                                $2.00
SAMANTHA HOOK                 4801 HILAND DRIVE                                               BLAIR              NE         68008                  6004               Various                                                                                               $12.50
SAMANTHA HOUSNER              N181 CTY RD N                                                   COLUMBUS           WI         53925                  6004               Various                                                                                               $15.00
SAMANTHA HUNZEKER             2501 N STREET # 103                                             LINCOLN            NE         68510                  6002               Various                                                                                                $0.30
SAMANTHA IRVING               251 SENATE ST NE                                                SALEM              OR         97304                  6004               Various                                                                                               $13.89
SAMANTHA JACKSON              143 N LINDEN ST                                                 COLOMA             WI         54930                  6004               Various                                                                                                $5.00
SAMANTHA K PETITT             PO BOX 53                                                       GEORGE             IA         51237                  6002               Various                                                                                                $5.37
SAMANTHA KARGOL               82 CLAYTON CT                                                   WINNEBAGO          IL         61088                  6004               Various                                                                                               $41.00
SAMANTHA KERN                 515 S ALPINE DR                                                 LIBERTY LAKE       WA         99019                  6004               Various                                                                                               $46.90
SAMANTHA KEY                  N7964 STATE RD 73                                               RANDOLPH           WI         53956                  6004               Various                                                                                               $71.00
SAMANTHA KLINE                5623 MORRIL AVE                                                 LINCOLN            NE         68507                  6004               Various                                                                                                $5.02
SAMANTHA KOEPSELL             2413 N LISA ST                                                  APPLETON           WI         54914                  6004               Various                                                                                               $31.00
SAMANTHA KOHNERT              302 27TH ST. SW             APT. 5                              AUSTIN             MN         55912                  6004               Various                                                                                                $3.00




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                                                                                                                                                  Account         Incurred, Basis for
            Creditor Name               Address1               Address2        Address3            City         State           Zip   Country     Number                Claim                                                                             Total Claim
SAMANTHA KRUSE               400 LOUISIANA AVE.           BOX 165                           ADRIAN           MN         56110                 6004                Various                                                                                               $74.57
SAMANTHA LAJEUNESSE          19985 HORATIO ST                                               HOUGHTON         MI         49931                 6002                Various                                                                                                $3.53
SAMANTHA LOEW                W6165 MAPLE ST.                                                BURNETT          WI         53922                 6004                Various                                                                                               $20.00
SAMANTHA MALOTT              538 STEINER AVE              APT 9                             MOSCOW           ID         83843                 6004                Various                                                                                                $5.00
SAMANTHA MASSINGALE          950 ONLY RD SE                                                 AUMSVILLE        OR         97325                 6004                Various                                                                                               $23.00

SAMANTHA MATHES              1123 BOOMINGFIELD DRIVE - #1                                   WHITEWATER       WI         53190                  6004               Various                                                                                               $12.00
SAMANTHA MATHIS              2515 MUIRFIELD CT                                              MISSOULA         MT         59808                  6004               Various                                                                                               $10.00
SAMANTHA MATTLEY             2912 NEBRASKA DRIVE                                            BELLEVUE         NE         68005                  6004               Various                                                                                                $4.00
SAMANTHA MCLAREN             649 MANCHESTER LN                                              IDAHO FALLS      ID         83402                  6002               Various                                                                                                $8.14
SAMANTHA MCLAUGHLIN          4050 ZAGAR ROAD                                                BATAVIA          OH         45103                  6004               Various                                                                                               $25.00
SAMANTHA MCLEAN              3487 S JOLES PKWAY LOT #36                                     CHIPPEWA FALLS   WI         54729                  6004               Various                                                                                                $1.00
SAMANTHA MENDOZA             1425 S 10TH, APT # 1                                           LINCOLN          NE         68502                  6004               Various                                                                                                $4.00
SAMANTHA MIODOWSKI           3503 HANOVER CIR                                               OMAHA            NE         68112                  6004               Various                                                                                                $2.00
SAMANTHA MOORE               1775 WHITNEY ST                                                IDAHO FALLS      ID         83402                  6002               Various                                                                                                $7.97
SAMANTHA MOSES               282 FOREST AVE               SUITE E                           FOND DU LAC      WI         54935                  6004               Various                                                                                                $2.00
SAMANTHA MUNOZ               1155 BRECKENRIDGE ST. #2                                       MAYVILLE         WI         53050                  6004               Various                                                                                               $20.00
SAMANTHA OYLER               120 W 14TH ST                                                  IDAHO FALLS      ID         83402                  6002               Various                                                                                                $1.64
                             2935 S. WHISTLING LN APT.#2-
SAMANTHA PAREDES             105                                                            SALT LAKE CITY   UT         84119                  6004               Various                                                                                               $23.00
SAMANTHA PAYNE               818 NO MAIN ST                                                 MONMOUTH         IL         61462                  6002               Various                                                                                                $2.77
SAMANTHA PETERS              1025 3A LUCERNE DR                                             MENASHA          WI         54952                  6002               Various                                                                                                $9.48
SAMANTHA PIATT               4925 MAPLE                                                     OMAHA            NE         68104                  6004               Various                                                                                                $4.00
SAMANTHA PUCKETT             14078 BLACKSTONE DR                                            SOUTH BELOIT     IL         61080                  6004               Various                                                                                               $12.00
SAMANTHA RENO                PO BOX 1612                                                    BELLEVUE         NE         68005                  6004               Various                                                                                                $2.00
SAMANTHA ROADWAY             437 3RD AVE                                                    WANAMINGO        MN         55983                  6004               Various                                                                                                $6.12
SAMANTHA ROBERTS             26837 ROCH CREEK RD                                            CULDESAC         ID         83524                  6002               Various                                                                                                $7.84
SAMANTHA ROCQUE              441 W FRONT ST                                                 PESHTIGO         WI         54157                  6002               Various                                                                                                $3.70
SAMANTHA SCHILLER            743 CHAPEL VIEW RD APT 6                                       GREEN BAY        WI         54311                  6002               Various                                                                                                $6.30
SAMANTHA SEEBERGER           3117 N 18TH ST                                                 COEUR D ALENE    ID         83815                  6002               Various                                                                                                $2.79
SAMANTHA SEFFRON             3421 S ST                                                      LINCOLN          NE         68506                  6002               Various                                                                                                $3.48
SAMANTHA SMITH               858 NATALIE WAY                                                BELVIDERE        IL         61008                  6002               Various                                                                                                $5.89
SAMANTHA SOENKSEN            N2460 S TOWNLINERD                                             WAUTOMA          WI         54982                  6002               Various                                                                                                $1.01
SAMANTHA SPIEKER             13401 W SUPERIOR                                               PLEASANT DALE    NE         68423                  6004               Various                                                                                               $20.00
SAMANTHA STREETER            1635 BETCHER DRIVE                                             WAUSAU           WI         54401                  6004               Various                                                                                               $35.00
SAMANTHA STURTEVANT          1297 E WILCOX AVE                                              WHITE CLOUD      MI         49349                  6002               Various                                                                                                $6.00
SAMANTHA SUHR                604 N 25TH                                                     NORFOLK          NE         68701                  6004               Various                                                                                               $37.00
SAMANTHA SYDOW               901 20THST                                                     GOTHENBURG       NE         69138                  6002               Various                                                                                                $5.92
SAMANTHA THACKER             1831 W 180TH S                                                 OREM             UT         84058                  6002               Various                                                                                                $4.41
SAMANTHA THOMPSON            6200 SYLVAN LN                                                 MONONA           WI         53716                  6004               Various                                                                                                $2.00
SAMANTHA VACA                2765 WYLIE DR # 80                                             HELENA           MT         59601                  6002               Various                                                                                                $6.90
SAMANTHA WILCOX              802 JANICKI RD                                                 STANLEY          WI         54768                  6002               Various                                                                                                $5.81
SAMANTHA WITTMAN             5474 CEDAR CREST CT                                            APPLETON         WI         54914                  6004               Various                                                                                                $3.25
SAMANTHA YOUNG               1850 E TETON BLVD                                              GREEN RIVER      WY         82935                  6002               Various                                                                                                $8.82
SAMANTHA ZOELLICK            2147 29TH AVE.                                                 SARONA           WI         54870                  6004               Various                                                                                               $25.00
SAMARA S WETSIT              103 IRON SHELL RD                                              WINNER           SD         57580                  6002               Various                                                                                                $4.27
SAMATHA MATHEWS              3225 STARR AVE                                                 EAU CLAIRE       WI         54703                  6004               Various                                                                                                $1.24
SAMIAH FORD                  1009 W 10TH STREET                                             SIOUX FALLS      SD         47104                  6004               Various                                                                                               $15.00
SAMIE (CANIN DEMLER          207 S 6TH ST                                                   ABBOTSFORD       WI         54405                  6002               Various                                                                                                $4.14
SAMIE PROFFITT               3518 ANDERSON DR                                               EAU CLAIRE       WI         54703                  6004               Various                                                                                                $1.00
                                                          2025 NICOLLET
                                                          AVENUE S SUITE
SAMLARRY LLC                 VALERIUS HOPFENSPIRGER       203                               MINNEAPOLIS      MN         55404                  9606               Various                                                                                         $4,166.67
SAMMI JO ROMENESKO           3109 FROELICH RD                                               ABRAMS           WI         54101                  6002               Various                                                                                             $1.40




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                                                                             Schedule E/F: Part 2 - Creditors With Nonpriority Unsecured Claims




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                                                                                                                                                                                             Contingent


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                                                                                                                                                      Last 4 Digits of   Date Debt was
                                                                                                                                                         Account       Incurred, Basis for
            Creditor Name                    Address1             Address2           Address3            City          State           Zip   Country     Number              Claim                                                                             Total Claim
SAMMI RUPERT                      1039 SHIELDS ST                                                 MARINETTE       WI           54143                 6002              Various                                                                                               $3.62
SAMONE BROYLES MILLER             4202 MONONA DR                                                  STOUGHTON       WI           53716                 6004              Various                                                                                               $1.00
SAMSON HENDERSON                  1002 DALLAS ST                                                  CHETEK          WI           54728                 6004              Various                                                                                               $3.00
                                                             575 WEST STREET
SAMSONITE CORPORATION             VICE PRESIDENT OF SALES    SUITE 110                            MANSFIELD       MA           02048                   3408            Various                                                                                       $664,365.30
SAMUAL ROBBINS                    780 HIGH AVE                                                    OSHKOSH         WI           54901                   6004            Various                                                                                            $31.00
SAMUEL A JOHNSON                  3951 E RIVER DR APT 47                                          GREEN BAY       WI           54301                   6002            Various                                                                                             $1.48
SAMUEL ADAMS JR                   1120 MELROSE CT                                                 NEENAH          WI           54956                   6004            Various                                                                                            $46.00
SAMUEL ASAY                       5475 SAHARA CT                                                  HELENA          MT           59602                   6002            Various                                                                                             $2.16
SAMUEL BOTSIOS                    5712 MAYBERRY STREET                                            OMAHA           NE           68106                   6004            Various                                                                                            $15.00
SAMUEL BRAZELL                    8832 WHITE OAK RD                                               LIBERTY         IL           62347                   6002            Various                                                                                             $5.26
SAMUEL BRONSON                    922 SIERRA LN                                                   SAINT CLOUD     MN           56303                   6004            Various                                                                                            $30.00
SAMUEL BUEHLER                    2315 UNIVERSITY AVE                                             GREEN BAY       WI           54302                   6002            Various                                                                                             $5.40
SAMUEL BULOCK III                 1706 ROYCE AVE                                                  BELOIT          WI           53511                   6004            Various                                                                                             $3.00
SAMUEL CARRIG                     765 LOSEY BLVD N                                                LA CROSSE       WI           54601                   6004            Various                                                                                            $43.95
SAMUEL CONANT                     2748 MONACO DR                                                  GREEN BAY       WI           54311                   6002            Various                                                                                             $4.52
SAMUEL DOBBS                      120 4TH AVE E                                                   SISSETON        SD           57262                   6002            Various                                                                                             $3.04
SAMUEL GUGALA                     1358 SOUTHFIELD DR                                              MENAHSA         WI           54952                   6004            Various                                                                                            $25.00
SAMUEL HANG                       1323 N 12TH STREET                                              SHEBOYGAN       WI           53081                   6004            Various                                                                                             $1.00
SAMUEL HARGROVE                   2832 FLEETWOOD DR                                               RACINE          WI           53403                   6002            Various                                                                                             $1.21
SAMUEL HARLSON                    226 E INDUSTRIAL DR        APT 8                                BEAVER DAM      WI           53916                   6004            Various                                                                                             $1.00
SAMUEL KASPER                     PO BOX 65                                                       WEIPPE          ID           83553                   6002            Various                                                                                             $6.00
SAMUEL KELLEY                     2015 41ST NW               APT. K-4                             ROCHESTER       MN           55901                   6004            Various                                                                                            $67.00
SAMUEL KOCKEN                     115 E WALNUT ST. APT 311                                        GREEN BAY       WI           54301                   6004            Various                                                                                            $16.00
SAMUEL MARLOW JR                  312 90TH STREET                                                 ROSEVILLE       IL           61473                   6004            Various                                                                                            $20.02
SAMUEL MCCALLIPS                  750 JONQUIL CT                                                  BELOIT          WI           53511                   6002            Various                                                                                             $8.55
SAMUEL MCLIN                      2914 CORBOT DR.                                                 MADISON         WI           53713                   6004            Various                                                                                             $4.00
SAMUEL QUINTANA                   6801 MARCIA LN                                                  LINCOLN         NE           68505                   6002            Various                                                                                             $4.33
SAMUEL RICO                       2301 W ST                                                       OMAHA           NE           68107                   6004            Various                                                                                            $10.00
SAMUEL SALAZAR                    215 24TH AVE SOUTH                                              NAMPA           ID           83651                   6004            Various                                                                                            $20.00
SAMUEL SISO                       1609 BOYD AVE                                                   RACINE          WI           53405                   6004            Various                                                                                             $1.00
SAMUEL SMITH                      234 S SPRING ST                                                 COLUMBUS        WI           53925                   6002            Various                                                                                             $9.07
SAMUEL STINEBAUGH                 1460 115TH ST NW                                                RICE            MN           56367                   6002            Various                                                                                             $7.15
SAMUEL SWENSON                    GENERAL MAIL DELIVERY                                           SAINT CLOUD     MN           56302                   6004            Various                                                                                             $3.00
SAMUEL TAPIA                      1500 5TH AVE. NW                                                AUSTIN          MN           55912                   6004            Various                                                                                             $3.00
SAMUEL TINOCO                     1027 BERNER ST                                                  GREEN BAY       WI           54302                   6004            Various                                                                                             $1.00
SAMUEL VANRIPER                   940 GARDEN PL                                                   ONALASKA        WI           54650                   6002            Various                                                                                             $1.53
SAMUEL VERA                       8 PINE GROVE VILLA                                              BANCROFT        WI           54921                   6002            Various                                                                                             $2.85
SAMUEL WHITE                      1606 VONDRON ROAD                                               MADISON         WI           53716                   6004            Various                                                                                            $14.00
SAMUEL WIDEMAN                    2066 N 200E                                                     OGDEN           UT           84414                   6004            Various                                                                                            $31.98
SAMUEL WOLFE                      490 MELVILL CRESENT                                             PHILOMATH       OR           97370                   6004            Various                                                                                            $84.97
SAMUEL WOLFLEY                    178 JACKNIFE ROAD                                               FREEDOM         WY           83120                   6002            Various                                                                                             $4.16
SAMUEL WOOD                       602 COBBLESTONE WAY                                             WATERTOWN       WI           53094                   6002            Various                                                                                             $6.90
SAMYRA Y JEFFERSON                3441 STARR ST                                                   LINCOLN         NE           68503                   6002            Various                                                                                             $4.85
SAN JUANA BONILLA                 520 COLLINS RD             #1                                   JEFFERSON       WI           53549                   6004            Various                                                                                            $47.00
SAN JUANA MORADO                  1710 NEWTON AVE N          APT 102                              GLENCOE         MN           55336                   6004            Various                                                                                             $3.06
SANAZ MOAYEDI                     2929 SCANDIA WAY                                                SANDY           UT           84093                   6002            Various                                                                                             $0.55
SANCHA MAY RAI                    2011 OHIO ST                                                    OMAHA           NE           68111                   6004            Various                                                                                             $4.00

SANDAHL/ STEPHANIE                STORE 171                  SHOPKO EMPLOYEE                      GREEN BAY       WI           54307-9060              4423            Various                                                                                            $26.75
SANDER SANITATION SERVICES        PO BOX 788                                                      CUSTER          SD           57730                                   Various                                                                                           $673.08

SANDERS/ ALAYNA                   STORE 065                  SHOPKO EMPLOYEE                      GREEN BAY       WI           54307-9060              0913            Various                                                                                             $9.20
SANDHILLS DISTRIBUTING INCORPO    VICE PRESIDENT OF SALES    720 LAKE DRIVE                       NORTH PLATTE    NE           69101                   7510            Various                                                                                         $3,188.20




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                                                                                                                                                                                                                                   Claim subject to offset?
                                                                                                                                                                                                         Unliquidated
                                                                                                                                                                                            Contingent


                                                                                                                                                                                                                        Disputed
                                                                                                                                                   Last 4 Digits of     Date Debt was
                                                                                                                                                      Account         Incurred, Basis for
             Creditor Name                Address1              Address2         Address3             City         State           Zip    Country     Number                Claim                                                                             Total Claim
SANDHYA SHANTHARAM            6270 N PARK MEADOWS WAY       APP308                            BOISE             ID         83713                  6004                Various                                                                                                $4.00
SANDI HAMMOND                 405 HAMMOND LN                                                  CHALLIS           ID         83226                  6002                Various                                                                                                $3.29
SANDI KADUCE                  1318 FOX RUN DRIVE                                              CHIPPEWA FALLS    WI         54729                  6004                Various                                                                                               $35.00
SANDI STICKROD                7648 GLENDALE DR                                                OMAHA             NE         68134                  6004                Various                                                                                               $17.00
SANDRA AL JUBOORI             834 N 35TH STREET                                               OMAHA             NE         68104                  6004                Various                                                                                               $16.00
SANDRA AMUNDSON               713 2ND AVE NE                                                  EAST GRAND FORK   MN         56721                  6002                Various                                                                                                $0.55
SANDRA ANN MURPHY             3118 W SENECA DR                                                APPLETON          WI         54914                  6002                Various                                                                                                $5.53
SANDRA ARSENAULT              160 N LILAC ST                                                  ISHPEMING         MI         49849                  6002                Various                                                                                                $8.30
SANDRA BAKKEN                 326 SUNRISE DRIVE                                               MINA              SD         57451                  6004                Various                                                                                               $13.72
SANDRA BATTEFELD              PO BOX 305                                                      MEREDOSIA         IL         62665                  6002                Various                                                                                               $51.80
SANDRA BERGGREN               2720 W 20TH ST                                                  NORTH PLATTE      NE         69101                  6002                Various                                                                                                $2.08
SANDRA BOEDECKER              721 18TH STREET N                                               GREAT FALLS       MT         59401                  6004                Various                                                                                               $67.00
SANDRA BRETT                  690 ELWOOD DR                                                   EUGENE            OR         97041                  6002                Various                                                                                               $14.77
SANDRA BRIXEN                 W848 STATE ROAD 88                                              MONDOVI           WI         54755                  6004                Various                                                                                               $10.56
SANDRA BURROWS                3136 TERM CT                                                    GREEN BAY         WI         54311                  6002                Various                                                                                                $0.38
SANDRA CARLSON                1478 SARATOGA                                                   CHUBBUCK          ID         83202                  6002                Various                                                                                                $4.08
SANDRA CROSSMAN               N5038 CROSSMAN RD                                               LAKE MILLS        WI         53551                  6002                Various                                                                                                $4.58
SANDRA DIXON                  528 S COOLIDGE                                                  MIDVALE           UT         84047                  6002                Various                                                                                                $9.37
SANDRA EIDEHALLSTROM          400 W PINE ST                                                   ABBOTSFORD        WI         54405                  6002                Various                                                                                                $0.47
SANDRA EIFLER                 3750 HIDDEN VALLEY LANE HIP                                     GREEN BAY         WI         54311                  6002                Various                                                                                                $8.25
SANDRA ESPEJEL                126 1/2 N BELL ST                                               FOND DU LAC       WI         54935                  6002                Various                                                                                                $7.37
SANDRA FINK                   585 RIVER DR                                                    MAYVILLE          WI         53050                  6002                Various                                                                                                $5.01
SANDRA FOOTE                  145 CRESTVIEW LN                                                DE PERE           WI         54115                  6002                Various                                                                                                $3.48
SANDRA GALLARDO-COOK          1021 VIRGINA AVE                                                MOSCOW            ID         83843                  6004                Various                                                                                                $2.00
SANDRA GINDT                  15 ROCKY CT                                                     LANDER            WY         82520                  6002                Various                                                                                                $8.60
SANDRA GOBEIL                 SO JUNC                                                         WOODRIDGE         MB                       CANADA 6002                  Various                                                                                                $9.48
SANDRA GRASS                  47 EAGLE CREST DR                                               LAKE OSWEGO       OR         97035                  6002                Various                                                                                                $3.18
SANDRA GRUNEWALD              316 ROBERT ST                                                   FORT ATKINSON     WI         53538                  6002                Various                                                                                                $4.30
SANDRA HAAG                   88 BREEZEE ACRES RD                                             BONNERS FERRY     ID         83805                  6002                Various                                                                                                $3.01
SANDRA HALL                   2920 BOARDMAN RD SW                                             SOUTH BOARDMAN    MI         49680                  6002                Various                                                                                                $9.59
                              2120 SOUTH RESERVE ST. PMB
SANDRA HANSEN                 348                                                             MISSOULA          MT         59801                    6004              Various                                                                                               $58.68
SANDRA HAZAERT                3522 GOLF DR                                                    GREEN BAY         WI         54311                    6002              Various                                                                                                $0.96
SANDRA HAZUGA                 15430 FAIRVIEW AVE                                              STANLEY           WI         54748                    6004              Various                                                                                                $8.00
SANDRA HEIMERMAN              33321 CO ROAD 11                                                MILLVILLE         MN         55957                    6002              Various                                                                                               $10.41
SANDRA HERNANDEZ              225 JACOB ST                                                    GREEN BAY         WI         54302                    6002              Various                                                                                                $3.56
SANDRA HOPKINS                1035 JT LANE                                                    BILLINGS          MT         59101                    6004              Various                                                                                               $28.00
SANDRA HUE                    PO BOX 124                                                      WEIPPE            ID         83553                    6002              Various                                                                                                $8.16
SANDRA HUNT                   304 W CUSTER AVE                                                HELENA            MT         59602                    6002              Various                                                                                                $2.14
SANDRA JACOBSEN               24221 PANAMA AVENUE                                             ELKO NEW MARKET   MN         55020                    6004              Various                                                                                               $68.00
SANDRA JIMENEZ                206 S BRUNEAU HWY                                               MARSING           ID         83639                    6002              Various                                                                                                $8.74
SANDRA JOHNSON                3815 STRATHMORE LN SE                                           ROCHESTER         MN         55904                    6002              Various                                                                                                $3.92
SANDRA JUNGE                  16878 20TH ST                                                   LIME SPRINGS      IA         52155                    6002              Various                                                                                                $0.68
SANDRA K BALAS                2704 JOLIET ST                                                  JANESVILLE        WI         53546                    6002              Various                                                                                                $6.82
SANDRA K LOYD                 1005 N 11TH ST                                                  COEUR D ALENE     ID         83814                    6002              Various                                                                                                $9.37
SANDRA K. SHOPBELL            1107 N WHIDBEY LN                                               POST FALLS        ID         83854                    6002              Various                                                                                                $2.49
SANDRA KASPER                 1005 W BENT AVE                                                 OSHKOSH           WI         54901                    6002              Various                                                                                                $0.77
SANDRA KAY JOHNSON            515 N CEDAR ST                                                  LUVERNE           MN         56156                    6002              Various                                                                                                $7.15
SANDRA KRENZ                  4491 195TH ST                                                   CHIPPEWA FALLS    WI         54729                    6002              Various                                                                                                $4.49
SANDRA L CALL                 2714 FOX CT                                                     NAMPA             ID         83687                    6002              Various                                                                                                $0.63
SANDRA L CRETEN               120 ASPEN GROVE LN                                              WAUSAU            WI         54403                    6002              Various                                                                                                $1.18
SANDRA L MCKENZIE             1601 EVANSTON AVE APT 8                                         HOT SPRINGS       SD         57747                    6002              Various                                                                                                $7.32
SANDRA L STAGER               1014 E 1ST ST                                                   EMMETT            ID         83617                    6002              Various                                                                                                $9.40
SANDRA LASS                   N5428 24THTH AVE                                                WILD ROSE         WI         54984                    6002              Various                                                                                                $2.16




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                                                                                                                                                                                          Contingent


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                                                                                                                                                 Last 4 Digits of     Date Debt was
                                                                                                                                                    Account         Incurred, Basis for
             Creditor Name                Address1            Address2         Address3             City          State           Zip   Country     Number                Claim                                                                             Total Claim
SANDRA LAUX-PUFAHL            740 NICOLET BLVD                                              MENASHA            WI         54952                 6004                Various                                                                                            $11.42
SANDRA LAVIN                  831 TAMARACK DR APT 201                                       LEWISTON           ID         83501                 6002                Various                                                                                             $1.89
SANDRA LEE MATTHEWS           110 48TH ST S                                                 WISCONSIN RAPID    WI         54494                 6002                Various                                                                                             $1.07
SANDRA LIEBERT                211 WINDWOOD RD                                               GREEN BAY          WI         54302                 6002                Various                                                                                             $0.44
SANDRA LIZBE CASTRO LOPEZ     717 E BENTON ST                                               ONEILL             NE         68763                 6002                Various                                                                                             $1.95
SANDRA LUHMANN                2338 180TH ST                                                 GRANADA            MN         56039                 6002                Various                                                                                             $8.16
SANDRA M KOBS                 279 N SIXTH AVE                                               WINNECONNE         WI         54986                 6002                Various                                                                                             $6.52
SANDRA M MCMURRY              4111 JACQUELYN DR                                             LINCOLN            NE         68516                 6002                Various                                                                                             $1.97
SANDRA MACIOSZEK              560 ANDREWS ST LOT 17                                         GREEN RIVER        WY         82935                 6002                Various                                                                                             $6.55
SANDRA MANN                   6351 WELLESLY CT                                              SAN DIEGO          CA         92122                 6002                Various                                                                                             $1.40
SANDRA MARIAN                 820 9TH AVE                                                   MONROE             WI         53566                 6002                Various                                                                                             $6.93
SANDRA MC GHEE                246 ADAMS ST                                                  POCATELLO          ID         83202                 6002                Various                                                                                             $6.55
SANDRA MCDONALD               1409 B RIVERVIEW AVE                                          STEVENS POINT      WI         54481                 6002                Various                                                                                             $6.05
SANDRA MCQUISTON              5103 SHERMAN                                                  LINCOLN            NE         68506                 6004                Various                                                                                            $16.38
SANDRA MERTZ                  6231 S BAILEYVILLE RD                                         BAILEYVILLE        IL         61007                 6004                Various                                                                                           $138.02
SANDRA MIRELES                1202 REDWOOD DR APT B                                         ANDREWS            TX         79714                 6002                Various                                                                                             $5.73
SANDRA MOES                   944 ECHO LN                                                   RHINELANDER        WI         54501                 6002                Various                                                                                             $7.59
SANDRA O'BRIEN                3200 PIERCE ST                                                SIOUX CITY         IA         51104                 6002                Various                                                                                             $6.00
SANDRA OLSEN                  2245 THRUSH LN                                                NEENAH             WI         54956                 6002                Various                                                                                             $5.95
SANDRA OLSON                  229 WASHINGTON ST                                             BRILLION           WI         54110                 6002                Various                                                                                             $0.96
SANDRA OSEGERA                659 1ST ST SE                                                 MASON CITY         IA         50401                 6002                Various                                                                                             $2.00
SANDRA PEAVLER                PO BOX 2453                                                   JACKSON            WY         83001                 6002                Various                                                                                             $6.99
SANDRA POHL                   5053 W PEARL CITY RD                                          FREEPORT           IL         61032                 6004                Various                                                                                             $1.20
SANDRA PROBST                 212 N BALTIMORE AVE                                           FULDA              MN         56131                 6002                Various                                                                                             $0.38
SANDRA QUALLS                 1711 DORA DRIVE SOUTH                                         TWIN FALLS         ID         83301                 6004                Various                                                                                             $3.00
SANDRA QUIROZ                 9428 S LIBERTY CREEK DR                                       SOUTH JORDAN       UT         84095                 6002                Various                                                                                             $9.53
SANDRA RABADUE                1515 HUSAK RD                                                 OMER               MI         48749                 6002                Various                                                                                             $6.68
SANDRA REYES                  1704 2ND AVE SE                                               ROCHESTER          MN         55904                 6004                Various                                                                                             $3.00
SANDRA RONFELDT               1912 21ST ST                                                  HARLAN             IA         51537                 6002                Various                                                                                             $8.63
SANDRA RUIZ                   162 S GLENVIEW AVE                                            BRILLION           WI         54110                 6002                Various                                                                                             $8.90
SANDRA SACHS                  436 PLEASANT WAY                                              SEYMOUR            WI         54165                 6002                Various                                                                                             $0.74

SANDRA SCHULZE                230 14TH STREET S                                             WISCONSIN RAPIDS   WI         54494                  6004               Various                                                                                               $20.00
SANDRA SHAPPELL               175 2ND AVE S.E                                               WELLS              MN         56097                  6004               Various                                                                                                $3.00
SANDRA SLAGLE                 W8106 COUNTY ROAD E                                           PARK FALLS         WI         54552                  6002               Various                                                                                                $4.99
SANDRA SMITH                  W608 ROCKVALE RD                                              OCONOMOWOC         WI         53066                  6004               Various                                                                                                $3.00
SANDRA SOLBERG                327 3RD AVE E                                                 KALISPELL          MT         59901                  6002               Various                                                                                                $0.36
SANDRA SORENSON               625 E HAYCRAFT AVE                                            COEUR D ALENE      ID         83815                  6002               Various                                                                                                $3.92
SANDRA SPENCER                1089 N GROVER DRY FARM RD                                     GROVER             WY         83122                  6002               Various                                                                                                $0.93
SANDRA STANCHFIELD            PO BOX 54                   434 N CEDAR ST                    LONG PINE          NE         69217                  6002               Various                                                                                                $3.33
SANDRA STEVENS                2514 SUNSET DR                                                BELOIT             WI         53511                  6004               Various                                                                                                $2.00
SANDRA SUMMERS                9161 STATE HIGHWAY M38                                        NISULA             MI         49952                  6002               Various                                                                                                $3.89
SANDRA SVENNINGSON            265 TIHISTA RD                                                NASHUA             MT         59248                  6002               Various                                                                                                $0.44
SANDRA THOMPSON               2315 19TH ST SW                                               MASON CITY         IA         50401                  6004               Various                                                                                               $10.00
SANDRA THORNLEY- MOORE        3722 FLAMINGO PL                                              POCATELLO          ID         83201                  6002               Various                                                                                                $5.84
SANDRA TIMM                   110 W DAVIS ST                                                BEAVER DAM         WI         53916                  6002               Various                                                                                                $1.81
SANDRA WILSON                 2923 CASTELAR ST                                              OMAHA              NE         68105                  6004               Various                                                                                                $5.12
SANDRA WINNE                  170 N 5TH STREET                                              OLIVET             SD         57052                  6002               Various                                                                                                $9.47
SANDRA WITHAM-ATKINSON        312 MEADOWLARK DR                                             LYONS              KS         67554                  6002               Various                                                                                                $2.27
SANDRA WYLLIE                 2367 FONTANELLE RD                                            FONTANELLE         IA         50846                  6002               Various                                                                                                $3.84
SANDRA ZIMMERMAN              2222 107TH AVE                                                BALDWIN            WI         54002                  6004               Various                                                                                               $10.00
SANDY CITY                    10000 CENTENNIAL PARKWAY                                      SANDY              UT         84070                  4926               Various                                                                                               $19.67
SANDY CONKLIN                 1109 BUCHANAN ST                                              LITTLE CHUTE       WI         54140                  6004               Various                                                                                               $25.00
SANDY E RYAN                  W8298 CTY RD Y                                                MONROE             WI         53566                  6002               Various                                                                                                $9.95




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             Creditor Name                          Address1                Address2          Address3             City          State           Zip   Country     Number                Claim                                                                             Total Claim
SANDY GANS                              PO BOX 1602                                                        IDAHO FALLS        ID         83403                 6002                Various                                                                                                $3.64
SANDY GRONER                            890 SIGMA RD SE                                                    KALKASKA           MI         49646                 6002                Various                                                                                                $6.11
SANDY K MICHALAK                        1011 N CHERRY ST                                                   AVOCA              IA         51521                 6002                Various                                                                                                $4.52
SANDY KUFAHL                            166 GWYNN ST                                                       GREEN BAY          WI         54301                 6002                Various                                                                                                $9.67
SANDY MARTIN                            1328N SCHARSTROM RD                                                MANISTIQUE         MI         49854                 6002                Various                                                                                                $9.57
SANDY MC ELHINNY                        N70V W28998 VERNON DR                                              HARTLAND           WI         53029                 6004                Various                                                                                               $25.00
SANDY PIERCE                            454 W ELWOOD DR                                                    BOISE              ID         83706                 6002                Various                                                                                                $0.60
SANDY RAWL                              148 COMMUNITY DR                                                   FALL RIVER         WI         53932                 6002                Various                                                                                                $0.27
SANDY S GUTIERREZ                       351 E 14TH ST                                                      IDAHO FALLS        ID         83404                 6002                Various                                                                                                $6.41
SANDY SEEVER                            4577 E 3375TH N                                                    MURTAUGH           ID         83344                 6002                Various                                                                                                $9.59
SANDY STARZER                           W9210 STARZER ROAD                                                 CRIVITZ            WI         54114                 6002                Various                                                                                               $36.00
SANDY WONTOR                            4103 45 ST                                                         KENOSHA            WI         53144                 6004                Various                                                                                               $34.98
SANDY YANG                              500 DEWEY ST                                                       WALNUT GROVE       MN         56180                 6004                Various                                                                                                $3.00

SANFILIPPO/ DONALD                      STORE 2-773                    SHOPKO EMPLOYEE 825 NE MAIN         LEWISTON           MT         59457                   6700              Various                                                                                               $56.90
                                                                       75 REMITTANCE
SANFORD EMPIRE BEROL EBERHAR            NEWELL OPERATING COMPANY       DRIVE SUITE 1167                    CHICAGO            IL         60675-1167             8503               Various                                                                                       $632,794.39
SANFORD USD MEDICAL CENTER              PO BOX 5074                                                        SIOUX FALLS        SD         57117-5074             6554               Various                                                                                            $16.76
                                                                                                                                                                                   12/1/2018 -
SANGRE DE CRISTO ELECTRIC ASSOC. INC.   P.O. BOX 2013                                                      BUENA VISTA        CO         81211                  7806               12/31/2018                                                                                      $3,024.23
SANIPAC                                 1650 GLENWOOD BLVD                                                 EUGENE             OR         97403                                     Various                                                                                         $2,096.99
SANITARY GARBAGE CO                     PO BOX 846                                                         BEATRICE           NE         68310                                     Various                                                                                          $970.68
SANITARY REFUSE GARBAGE                 100 E 3RD                      PO BOX 357                          TAMA               IA         52339                                     Various                                                                                          $612.04
SANITARY SERVICES                       PO BOX 538                                                         CHEROKEE           IA         51012-0538                                Various                                                                                         $1,027.20
                                        GUINAN FAMILY WINERY &
SANTA MARIA VINEYARD & WINERY           VINEYARD                       PO BOX 1029                         CARROLL            IA         51401                  8412               Various                                                                                         $1,274.28
SANTALLY A KWASNY                       287 E RIVER DR APT 4                                               DE PERE            WI         54115                  6002               Various                                                                                             $8.03
SANTANA WHITELEY                        3319 CENTER ST                                                     OMAHA              NE         68105                  6004               Various                                                                                            $17.00
SANTIAGO A QUINTANA                     1019 15TH ST N PRERELEASE                                          GREAT FALLS        MT         59401                  6002               Various                                                                                             $1.21
SANTIAGO GUAJARDO                       885 16TH AVE SE                APT 105                             ROCHESTER          MN         55904                  6004               Various                                                                                             $3.00
SANTIAGO RAMIREZ FIGUERO                513 W 4TH ST                                                       WAKEFIELD          NE         68784                  6002               Various                                                                                             $9.78
SANTINO AVILA                           1813 25TH AVE                                                      KENOSHA            WI         53140                  6004               Various                                                                                            $13.00
SANTOS ESTRADA                          95 B BELL RPDS                                                     HAGERMAN           ID         83332                  6002               Various                                                                                             $1.10
SANTOS VERA                             214 S MAIN ST                                                      WESTFIELD          WI         53964                  6002               Various                                                                                             $9.42
SANTOS ZUNIGA-MARTINEZ                  5335 DAISY STREET                                                  SPRINGFIELD        OR         97478                  6004               Various                                                                                            $30.00
SANTOYA KILGORE                         3222 N 26 AV                   #6                                  OMAHA              NE         68110                  6004               Various                                                                                             $4.00
SAO THAO                                1100 E RANDALL AVE                                                 APPLETON           WI         54911                  6002               Various                                                                                             $2.90
SAPPHIRA SPREEMAN TURNER                1290 CROWNE COURT APT 7                                            DE PERE            WI         54115                  6004               Various                                                                                             $3.00
SARA A TURNER                           115 E BARNUM ST                                                    ISHPEMING          MI         49849                  6002               Various                                                                                             $0.49

SARA ASCHEBROOK                         2431 MARIE CIRCLE                                                  WISCONSIN RAPIDS   WI         54494                   6004              Various                                                                                               $20.00

SARA BUDKE                              125 1/2 W LINCOLN AVE APT 10                                       FERGUS FALLS       MN         56537                  6002               Various                                                                                                $2.74
SARA CHARLIER                           3645 FERNWOOD AVE                                                  GREEN BAY          WI         54301                  6004               Various                                                                                                $1.00
SARA CRUZ                               121 WASHINGTON ST                                                  DARIEN             WI         53114                  6004               Various                                                                                                $1.00
SARA D BOTT                             685 N 700TH E                                                      PAYSON             UT         84651                  6002               Various                                                                                                $1.59
SARA DOUCETTE                           W7189 S OAKWOOD CIR                                                NESHKORO           WI         54960                  6002               Various                                                                                                $2.19
SARA DULON                              668 TODD LANE                                                      HUDSON             WI         54016                  6004               Various                                                                                               $25.00
SARA ENBERG                             W332 N 2ND ST                                                      SPRING VALLEY      WI         54767                  6002               Various                                                                                                $8.60
SARA ENERSON                            2067 JAMES STREET                                                  KRONENWETTER       WI         54455                  6004               Various                                                                                               $80.00
SARA ENNA                               359 SPRINGFIELD AVE                                                SOUTH BELOIT       IL         61080                  6004               Various                                                                                               $24.00
SARA ERICKSON                           998 STRATFORD CT.                                                  RACINE             WI         53406                  6004               Various                                                                                               $13.00
SARA FINLAYSON                          2454 W 12420TH S                                                   RIVERTON           UT         84065                  6002               Various                                                                                                $5.37
SARA FOSTER                             286 HOOVER AVE                                                     NIAGARA            WI         54151                  6002               Various                                                                                                $4.58




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                                                                          Schedule E/F: Part 2 - Creditors With Nonpriority Unsecured Claims




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                                                                                                                                                                                           Contingent


                                                                                                                                                                                                                       Disputed
                                                                                                                                                  Last 4 Digits of     Date Debt was
                                                                                                                                                     Account         Incurred, Basis for
              Creditor Name                Address1            Address2           Address3              City       State           Zip   Country     Number                Claim                                                                             Total Claim
SARA FREE                      #3 COKEL TRL CRT                                                MONMOUTH         IL         61462                 6002                Various                                                                                                $7.70
SARA GILLIAM                   1222 HIAWATHA STREET                                            ELY              MN         55731                 6002                Various                                                                                                $2.08
SARA GREER                     1609 17TH STREET SW                                             AUSTIN           MN         55912                 6004                Various                                                                                               $40.18
SARA GURALNICK                 428 1/2 HOWARD AVE.                                             BILLINGS         MT         59101                 6004                Various                                                                                               $69.00
SARA GUSTAFSON                 2352 BEUDION                                                    MARQUETTE        MI         49855                 6002                Various                                                                                                $2.30
SARA H SPORTATO                6527 N 15TH ST                                                  COEUR D ALENE    ID         83815                 6002                Various                                                                                                $3.48
SARA HAMMER                    1330 SPYGLASS DR                                                EUGENE           OR         97401                 6004                Various                                                                                               $18.38
SARA HANDRICK                  1824 N WHITNEY DR APT 19                                        APPLETON         WI         54914                 6004                Various                                                                                               $14.00
SARA HARRIS                    1908 E 2700TH                                                   SALT LAKE CITY   UT         84108                 6002                Various                                                                                                $6.41
SARA HERGENRADER               4410 SOUTH 61ST                                                 LINCOLN          NE         68516                 6004                Various                                                                                               $23.00
SARA HERNANDEZ                 132 OGDEN                                                       BELVIDERE        IL         61008                 6004                Various                                                                                                $6.41
SARA HERZIG                    909 EISENHOWER AVE                                              JANESVILLE       WI         53545                 6002                Various                                                                                                $8.71
SARA J VEESER-GILSON           524 MILLER ST                                                   KEWAUNEE         WI         54216                 6002                Various                                                                                                $2.38
SARA JENELLE SALMON            1426 NORTHVIEW LN                                               LITTLE CHUTE     WI         54140                 6002                Various                                                                                                $9.37
SARA JOHNSON                   PO BOX 655                                                      GWINN            MI         49841                 6002                Various                                                                                                $3.62
SARA KAUFFMAN                  20441 314TH ST                                                  JAMESPORT        MO         64648                 6002                Various                                                                                                $0.38
SARA KEIL                      3743 MACKERT ST APT 8                                           MANITOWOC        WI         54220                 6002                Various                                                                                                $2.74
SARA KRUGER                    101 MAIN ST APT 2                                               CERESCO          NE         68017                 6002                Various                                                                                                $5.62
SARA KRUSE                     2309 12TH AVE SW                                                AUSTIN           MN         55912                 6004                Various                                                                                               $13.30
SARA KURTZ                     380 S WAGONWHEEL DR                                             GREEN RIVER      WY         82935                 6002                Various                                                                                                $6.88
SARA L ROTHS                   W5640 CTY RD K                                                  STODDARD         WI         54658                 6002                Various                                                                                                $9.37
SARA LARSEN                    11239 W 5 MILE RD                                               FRANKSVILLE      WI         53126                 6004                Various                                                                                                $1.32
SARA LAWRENCE                  E2260 DAYTON RD                                                 WAUPACA          WI         54981                 6002                Various                                                                                                $2.11
SARA LEMIRANDE                 536 MENASHA ST                                                  REEDSVILLE       WI         54230                 6002                Various                                                                                                $0.79
SARA LITTLETON-WATRET          2123 EAST STATE STREET                                          JACKSONVILLE     IL         62650                 6004                Various                                                                                               $25.00
SARA LONGHENRY                 4012 INGRAM DR                                                  JANESVILLE       WI         53546                 6004                Various                                                                                                $4.00
SARA LOYD                      1508 HERITAGE LANE                                              JANESVILLE       WI         53546                 6004                Various                                                                                               $15.50
SARA LUND                      63681 HIGH STANDARD DR                                          BEND             OR         97701                 6004                Various                                                                                               $10.50
SARA LYNN DERKS                1117 W BELL AVE                                                 APPLETON         WI         54914                 6002                Various                                                                                                $6.47
SARA LYNN PAYNE                2614 W HEATHER AVE                                              APPLETON         WI         54914                 6002                Various                                                                                                $1.45
SARA M. SENN                   3492 RIDGE WOOD CT                                              GREEN BAY        WI         54313                 6002                Various                                                                                                $0.66
SARA MARQUARDT                 852 ROOSEVELT ST                                                MENASHA          WI         54952                 6004                Various                                                                                                $5.80
SARA MIKKELSON                 275 WALNUT ST                                                   OREGON           WI         53575                 6004                Various                                                                                               $22.50
SARA MORGAN                    1049 S 300TH E                                                  SALEM            UT         84653                 6002                Various                                                                                                $5.34
SARA OBERTEIN                  7176 PARK ST                                                    BENTLEY          MI         48613                 6002                Various                                                                                                $3.73
SARA PAGE                      525 S STEWART AVE                                               FREEPORT         IL         61032                 6002                Various                                                                                                $3.42
SARA PARKER                    2079 E SUNSET DR                                                LAYTON           UT         84040                 6004                Various                                                                                                $5.00
SARA PAULSON                   8 COLEUS CT                                                     CLINTONVILLE     WI         54929                 6002                Various                                                                                                $6.44
SARA PETERSON                  3307 17TH AVE SW                                                WATERTOWN        SD         57201                 6004                Various                                                                                                $4.99
SARA RAHMER                    940D W. ELM DR.            #2                                   LITTLE CHUTE     WI         54140                 6004                Various                                                                                                $4.32
SARA SCHMEECKLE                75684 HIGHWAY 21                                                COZAD            NE         69130                 6002                Various                                                                                                $8.14
SARA SCHNUETTGEN               1101 22ND ST                                                    DEFIANCE         IA         51527                 6002                Various                                                                                               $10.00
SARA SELTUN                    405 NORTH 5TH ST.          APT. 326                             MANKATO          MN         56001                 6004                Various                                                                                                $3.00
SARA SHIPMAN                   315 GRANDVIEW DR                                                TWIN FALLS       ID         83301                 6002                Various                                                                                                $1.04
SARA SPAULDING                 960 TERRY DR                                                    IDAHO FALLS      ID         83404                 6002                Various                                                                                                $0.41
SARA STENBERG                  PO BOX 213                                                      MISSION          SD         57555                 6002                Various                                                                                                $1.95
SARA STILP                     966 HAPPY VALLEY DR                                             MENASHA          WI         54952                 6004                Various                                                                                                $1.00
SARA TUCKER                    417 LESLIE AVE.                                                 HELENA           MT         59601                 6004                Various                                                                                               $20.00
SARA VANDYKE                   1411 COLD SPRING RD                                             NEENAH           WI         54956                 6002                Various                                                                                                $0.74
SARA VANHEUKLON                1146 E NORTHWOOD DR                                             APPLETON         WI         54911                 6002                Various                                                                                                $7.34
SARA VOELLER                   PO BOX 191                                                      ASHTON           SD         57424                 6002                Various                                                                                                $4.25
SARA WENDT                     12307 MELNIK RD                                                 WHITELAW         WI         54247                 6002                Various                                                                                                $2.27
SARA WILLIAMSON                W5977 SWEET WILLIAM DR                                          APPLETON         WI         54915                 6004                Various                                                                                               $25.00




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                                                                                                                                                     Account         Incurred, Basis for
             Creditor Name             Address1                   Address2        Address3            City        State           Zip   Country      Number                Claim                                                                             Total Claim

SARA WINKLER                  2001 HAWTHORNE HEIGHTS DR                                        DE PERE          WI        54115                   6002               Various                                                                                             $2.77
SARA ZOROMSKI                 417 N 10TH AVENUE                                                WAUSAU           WI        54401                   6004               Various                                                                                            $13.00
SARAE LAMB                    349 EAGLE DR                                                     GRAND MARSH      WI        53936                   6004               Various                                                                                            $10.00
SARAH A CHADWICK              1451 2ND ST SE APT 310B                                          SAINT CLOUD      MN        56304                   6002               Various                                                                                             $6.14
SARAH A ILAVSKY               170 N GRANT ST                                                   ELLSWORTH        WI        54011                   6002               Various                                                                                             $8.55
SARAH A KENNEY                612 ORCHARD ST                                                   DIXON            IL        61021                   6002               Various                                                                                             $2.08
SARAH A MURPHY                4371 N COLLISTER DR                                              BOISE            ID        83703                   6002               Various                                                                                             $6.60
SARAH A NOFSINGER             W1917 JONES RD                                                   BANGOR           WI        54614                   6002               Various                                                                                             $1.95
SARAH A SCHUBERT              980 W M-61                                                       STANDISH         MI        48658                   6002               Various                                                                                             $9.75
SARAH A STEIF                 2896 215TH AVE # 4                                               CHIPPEWA FALLS   WI        54729                   6002               Various                                                                                             $2.44
SARAH ABAIR                   72 W WOODRIDGE DR                                                RIVER FALLS      WI        54022                   6002               Various                                                                                             $7.26
SARAH ACKERMAN                805 14TH ST NE                                                   OWATONNA         MN        55060                   6004               Various                                                                                            $30.00
SARAH ALLARD                  PO BOX 216                                                       WOLBACH          NE        68882                   6004               Various                                                                                             $2.95
SARAH ANDERSON                2636 18 3/4 ST                                                   RICE LAKE        WI        54868                   6004               Various                                                                                             $1.00
SARAH ARAMBUL                 P.O. BOX 256                                                     PARKER           WA        98939                   6004               Various                                                                                            $30.00
SARAH BAUM                    4003 MICHIGAN SHORES                                             MENOMINEE        MI        49858                   6004               Various                                                                                             $5.20
SARAH BEARDSLEY               W3368 CTY RD W                                                   OOSTBURG         WI        53070                   6004               Various                                                                                            $10.00
SARAH BECKER                  1310 N CAROLINA PL                                               MASON CITY       IA        50401                   6002               Various                                                                                             $1.51
SARAH BERES                   2135 PHEASANT RUN CT        APT J                                APPLETON         WI        54914                   6004               Various                                                                                             $3.32
SARAH BERGEMANN               122 ANCHOR DR                                                    MARINETTE        WI        54143                   6002               Various                                                                                             $6.14
SARAH BERGESON                1616 LOGAN STREET                                                MARINETTE        WI        54143                   6004               Various                                                                                            $16.95
SARAH BLATZ                   156 EVERGREEN EST                                                ELLSWORTH        WI        54011                   6002               Various                                                                                             $9.23
SARAH BOETTCHER               2811 N NEW FRANKEN RD                                            NEW FRANKEN      WI        54229                   6002               Various                                                                                             $7.53
SARAH BOULCH                  44 TRONSTAD DR                                                   KALISPELL        MT        59901                   6002               Various                                                                                            $10.00
SARAH BOYD                    756 WILLOW RUN                                                   COTTAGE GROVE    WI        53527                   6004               Various                                                                                            $10.00
SARAH BRADLEY                 713 NORTHLAWN AVE                                                MADISON          WI        53704                   6004               Various                                                                                             $5.70
SARAH BREEMS                  1450 WESTERN AVE                                                 SHELDON          IA        51201                   6002               Various                                                                                             $6.52
SARAH BYLER                   9676 TABACCO DR                                                  CLARE            MI        48617                   6002               Various                                                                                             $1.89
SARAH CAHOON                  513 HILLHAVEN ST                                                 EXIRA            IA        50076                   6002               Various                                                                                             $2.49
SARAH CALIGUIRE-NEILSEN       40416 ISLE AVE                                                   NORTH BRANCH     MN        55056                   6002               Various                                                                                             $2.19
SARAH CATHLE NELSEN           N5719 COUNTY ROAD W                                              WILD ROSE        WI        54984                   6002               Various                                                                                             $6.14
SARAH CHAMBERLAIN             421 WALNUT ST                                                    SPOONER          WI        54801                   6004               Various                                                                                            $20.00
SARAH CHAMBERS                1103 LEADORE AVE                                                 SALMON           ID        83467                   6002               Various                                                                                            $10.00
SARAH CHARTIER                602 BRIDLEWOOD LN                                                WATERTOWN        WI        53094                   6002               Various                                                                                             $0.36
SARAH COLWELL                 200 HWY 71 SOUTH APT 7C                                          JACKSON          MN        56143                   6004               Various                                                                                             $5.85
SARAH COOPER                  749 E DAVID ST                                                   WEST POINT       NE        68788                   6002               Various                                                                                             $6.68
SARAH COYNE                   7626 KENYON DRIVE                                                MIDDLETON        WI        53562                   6004               Various                                                                                            $24.42
SARAH CRANAHAN                1716 S 7TH ST                                                    COUNCIL BLUFFS   IA        51501                   6002               Various                                                                                             $9.18
SARAH CRAWFORD                3020 N 76TH ST                                                   OMAHA            NE        68134                   6002               Various                                                                                             $6.74
SARAH DAVILA                  1404 W POLK H                                                    HART             MI        49420                   6002               Various                                                                                             $6.41
SARAH DAWN SCHULTZ            1505 5TH AVE W                                                   KALISPELL        MT        59901                   6002               Various                                                                                             $3.21
SARAH DE LAPORTE              610 ETHEL ST                                                     WAUSAU           WI        54403                   6004               Various                                                                                           $178.47
SARAH DEVINE                  2208 BELLWOOD AVE                                                SCHOFIELD        WI        54476                   6004               Various                                                                                             $2.00
SARAH DIETZ                   100 SUNNYSIDE AVE # 12                                           CAMERON          WI        54822                   6004               Various                                                                                            $23.00
SARAH DURKEE                  N5339 515TH ST                                                   ELLSWORTH        WI        54011                   6002               Various                                                                                             $6.00
SARAH E HECKER                302 S THIRD AVE                                                  LAREDO           MO        64652                   6002               Various                                                                                             $1.40
SARAH E KAETTERHENRY          3600 KARRINGTON PL                                               PLOVER           WI        54467                   6002               Various                                                                                             $1.53
SARAH EDWARDS                 425 HILL HAVEN CT                                                LITTLE SUAMICO   WI        54141                   6002               Various                                                                                             $7.89
SARAH EISENMAN                1140 HIGHWAY 18                                                  BRITT            IA        50423                   6002               Various                                                                                             $7.40
SARAH EVANS                   607 MARKET ST SPC 3                                              LANDER           WY        82520                   6002               Various                                                                                             $6.88
SARAH FLANAGAN                410 S MAIN ST                                                    SEYMOUR          WI        54165                   6002               Various                                                                                             $1.04
SARAH FOXWORTHY               PO BOX 481                                                       BAILEYS HARBOR   WI        54202                   6002               Various                                                                                             $6.93
SARAH FREIBERG                322 MAIN STREET                                                  NORWAY           MI        49870                   6004               Various                                                                                             $1.00




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SARAH FROILAND                1407 2ND AVE S                                                   NORTHWOOD          IA         50459                 6004                Various                                                                                               $15.02
SARAH G PUYLEART              4422 JUST CT                                                     MANITOWOC          WI         54220                 6002                Various                                                                                                $2.22
SARAH GINGERICH               W7524 COUNTY ROAD G                                              WILLARD            WI         54493                 6002                Various                                                                                                $7.34
SARAH GLASS                   3711 NORTH 2ND STREET                                            LINCOLN            NE         68521                 6004                Various                                                                                               $29.98
SARAH GOEMAERE                4448 W M-18                                                      GLADWIN            MI         48624                 6002                Various                                                                                                $1.89
SARAH HAMMERSTAD              600 5TH AVE                                                      STEVENS POINT      WI         54481                 6004                Various                                                                                               $34.00
SARAH HARDY                   1430 NW HALL DRIVE                                               PULLMAN            WA         99163                 6004                Various                                                                                                $2.50
SARAH HARTSGROVE              3728 S 54TH ST                                                   LINCOLN            NE         68506                 6002                Various                                                                                                $4.96
SARAH HAUKAAS                 350 S 1ST ST APT 8                                               LANDER             WY         82520                 6002                Various                                                                                                $9.45
SARAH HERMAN                  911 COURT STREET                                                 LINCOLN            NE         68508                 6004                Various                                                                                                $2.00
SARAH HOULDEN                 5299 BOARDMAN RD SW APT 5                                        SOUTH BOARDMAN     MI         49680                 6002                Various                                                                                                $5.84
SARAH HUGHES                  601 COUNTRYSIDE LN APT C1                                        DIXON              IL         61021                 6002                Various                                                                                               $12.62
SARAH HUNKE NIELSEN           803 E WILLOW ST                                                  WEST POINT         NE         68788                 6002                Various                                                                                                $3.32

SARAH J BROOKS                N88W18417 CHRISTMAN RD                                           MENOMONEE FALLS    WI         53051                  6002               Various                                                                                             $1.42
SARAH J DAVIES                E1655 GRANDVIEW RD                                               WAUPACA            WI         54981                  6002               Various                                                                                             $3.12
SARAH J JOCHUM                2314 DEBLENE LN                                                  EAU CLAIRE         WI         54703                  6002               Various                                                                                             $8.93
SARAH JEAN PECHA              N2311 PARFREYVILLE RD                                            WAUPACA            WI         54981                  6002               Various                                                                                             $0.82
SARAH JOHNSON                 1099 W CRESCENT ST                                               MERIDIAN           ID         83646                  6004               Various                                                                                           $119.95
SARAH JOHNSTON                553 FIREMOON RD                                                  FRAZER             MT         59225                  6002               Various                                                                                             $5.00
SARAH JONES                   308 LARSON ST.                                                   POUND              WI         54161                  6004               Various                                                                                            $63.81
SARAH K RHODEN                3633 DONEGAL LN APT A202                                         POST FALLS         ID         83854                  6002               Various                                                                                             $3.56
SARAH KASPER                  1000 TAYLOR APT 3                                                LITTLE CHUTE       WI         54140                  6004               Various                                                                                             $1.00
SARAH KILVER                  203 E CHERRY ST                                                  WINCHESTER         IL         62694                  6002               Various                                                                                             $9.70
SARAH KIMBALL                 564 E MEADOWLARK LANE                                            SPANISH FORK       UT         84660                  6004               Various                                                                                             $2.99
SARAH KLEINFELDT              W19749 SAWMILL RD                                                GALESVILLE         WI         54630                  6002               Various                                                                                             $5.01
SARAH KRCINOVIC               7546 TREE LANE #3                                                MADISON            WI         53717                  6004               Various                                                                                             $2.00
SARAH L LATTIMER              38 GARDEN TER                                                    GLASGOW            MT         59230                  6002               Various                                                                                             $2.52
SARAH LAMERE                  232 FRANKLIN STREET                                              STEVENS POINT      WI         54481                  6004               Various                                                                                            $24.00
SARAH LANGAN                  32217 530TH AVE                                                  BLOOMING PRAIRIE   MN         55917                  6004               Various                                                                                             $3.00
SARAH LEWIS                   3631 AVENUE C                                                    COUNCIL BLUFFS     IA         51501                  6004               Various                                                                                            $10.00
SARAH MAAG                    9665 COLEMERE ST                                                 SANDY              UT         84092                  6004               Various                                                                                            $15.50
SARAH MANNIGEL                PO BOX 106 PMB 332                                               GRANTON            WI         54436                  6002               Various                                                                                             $8.25
SARAH MARION                  14991 N FITZWILLIAM ST                                           NAMPA              ID         83651                  6002               Various                                                                                             $9.95
SARAH MARSHMAN                371 HOMESTEAD TR                                                 GRAFTON            WI         53024                  6004               Various                                                                                             $5.00
SARAH MARZINSKE               82088 20TH ST                                                    JANESVILLE         MN         56048                  6004               Various                                                                                             $3.00
SARAH MASTNY                  1906 1/2 S 13TH ST                                               OMAHA              NE         68108                  6004               Various                                                                                            $75.00
SARAH MCGAVOCK                HC 1 BOX 224H                                                    FAIRDEALING        MO         63939                  6002               Various                                                                                             $2.30
SARAH MISEK                   16514 ROAD W12                                                   NORTON             KS         67654                  6002               Various                                                                                             $2.71
SARAH MITZEL                  110 10TH ST                                                      BRITTON            SD         57430                  6002               Various                                                                                             $8.08
SARAH MURRAY                  106 3RD AVE                                                      AUDUBON            IA         50025                  6002               Various                                                                                             $4.88
SARAH NEVITT-CALDER           4775 W 20000TH N                                                 PLYMOUTH           UT         84330                  6002               Various                                                                                             $6.19

SARAH NEWBERRY                840 HARRISON STREET                                              WISCONSIN RAPIDS   WI         54494                  6004               Various                                                                                               $17.00
SARAH NIEDERHAUSER            3182 E GRANITE WOODS LN                                          SANDY              UT         84092                  6002               Various                                                                                                $8.44
SARAH NIELSEN                 3420 W JAMESON AVE                                               RIVERTON           UT         84065                  6002               Various                                                                                                $5.89
SARAH NIEMI                   2908 S JACKSON ST                                                APPLETON           WI         54915                  6004               Various                                                                                                $4.96
SARAH NORTH                   437 N 44TH ST               APT 1410                             LINCOLN            NE         68503                  6004               Various                                                                                                $5.00
SARAH OLSON                   401 MARATHON ST                                                  MARSHFIELD         WI         54449                  6004               Various                                                                                               $46.00
SARAH OWENS                   3019 P STREET                                                    LINCOLN            NE         68503                  6004               Various                                                                                                $1.20
SARAH PAINTON                 3548 W SHADY LANE                                                NEENAH             WI         54956                  6004               Various                                                                                                $8.97
SARAH PALM                    423 10TH ST N                                                    MOUNTAIN LAKE      MN         56159                  6002               Various                                                                                                $7.08
SARAH PETERSON                406 TENTH AVE NW                                                 DODGE CENTER       MN         55927                  6002               Various                                                                                                $6.11
SARAH PHILLIPS                6928 W. ROOSTER TAIL RD.                                         WEST VALLEY CITY   UT         84128                  6004               Various                                                                                               $34.14




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SARAH PLINER                   842 ASHWORTH DRIVE                                              OREGON             WI         53575                 6004                Various                                                                                               $17.85
SARAH PRENOSIL                 5524 N OAKS BLVD                                                OMAHA              NE         68134                 6004                Various                                                                                                $2.00
SARAH RADGOWSKI                539 SUMMER DRIVE                                                WALWORTH           WI         53184                 6004                Various                                                                                               $30.16
SARAH RAMIREZ                  1835 S 77TH                                                     LINCOLN            NE         68506                 6004                Various                                                                                                $2.00
SARAH REDMOND                  402 1/2 WHEELER AVE                                             NORTH MANKATO      MN         56003                 6004                Various                                                                                                $3.00
SARAH RIDDLE                   1908 PORTER AVE                                                 BELOIT             WI         53511                 6002                Various                                                                                                $0.44
SARAH RIFFE-KELLY              913 S WHITE CLOUD DR                                            BOISE              ID         83709                 6002                Various                                                                                                $3.53
SARAH ROESSLEIN                N7443 WETTACH RD                                                MONTICELLO         WI         53570                 6004                Various                                                                                                $2.00
SARAH RUSSELL                  20 WESTELLOW                                                    POCATELLO          ID         83201                 6002                Various                                                                                                $6.71
SARAH SCHAUB                   1010 BLUEHILL AVE.                                              FOND DU LAC        WI         54935                 6004                Various                                                                                               $34.00
SARAH SCHULTZ                  706 NORTH GROVE ST                                              BLUE EARTH         MN         56013                 6004                Various                                                                                                $6.00
SARAH SCHUMACHER               W8730 SAND RD                                                   NEILLSVILLE        WI         54456                 6002                Various                                                                                                $1.89
SARAH SCOTT                    729 E FRANKLIN ST                                               APPLETON           WI         54911                 6004                Various                                                                                               $65.00
SARAH SHAUL                    5559 MIDBON RD                                                  SUPERIOR           WI         54880                 6004                Various                                                                                                $1.22
SARAH SHIRKEY                  153 LABOR DR                                                    JACKSONVILLE       IL         62650                 6004                Various                                                                                               $33.03
SARAH SHORTER                  4231 HIGHWAY 241                                                AFTON              WY         83110                 6002                Various                                                                                                $5.34
SARAH SHURTER                  5425 S 101ST PLZ #2                                             OMAHA              NE         68127                 6004                Various                                                                                                $8.00
SARAH SINGLETON                818 N 94TH PLZ APT 2                                            OMAHA              NE         68114                 6002                Various                                                                                                $6.88
SARAH SMITH                    55-422 MOANA ST                                                 LAIE               HI         96762                 6004                Various                                                                                                $5.00
SARAH SNYDER                   1356 SUBURBAN AVE                                               GREEN BAY          WI         54304                 6004                Various                                                                                               $10.00
SARAH SPENCER                  30557 DIAMOND HILL ROAD                                         HARRISBURG         OR         97446                 6004                Various                                                                                               $10.02
SARAH STATZ                    1513 CARRINGTON ST                                              JANESVILLE         WI         53545                 6004                Various                                                                                                $2.00
SARAH STEPONIK                 803 WHEATON ST                                                  CHIPPEWA FALLS     WI         54729                 6004                Various                                                                                                $3.00
SARAH STIEGELER                3783 BIRKSHIRE ST                                               EUGENE             OR         97401                 6004                Various                                                                                               $23.00
SARAH STOWE                    2400 STANLEY STREET                                             STEVENS POINT      WI         54481                 6004                Various                                                                                               $25.00
SARAH STRAW                    103 E PROSPECT PO BOX # 157                                     LAWLER             IA         52154                 6002                Various                                                                                                $1.12
SARAH STRELOW                  521 E PETER LN                                                  LITTLE CHUTE       WI         54140                 6002                Various                                                                                                $3.75

SARAH STROH                    5011 PRAIRIE RIDGE                                              WISCONSIN RAPIDS   WI         54494                  6004               Various                                                                                             $2.00
SARAH THOELE                   114 WEST PLEASANT STREET                                        GARDEN CITY        MN         56034                  6004               Various                                                                                             $3.00
SARAH THOMAS                   815 HENRY STREET                                                WAUNAKEE           WI         53597                  6004               Various                                                                                             $5.00
SARAH THOMPSON                 2013 W FALLWOOD DR                                              SALT LAKE CITY     UT         84129                  6002               Various                                                                                             $4.30
SARAH TIMMER                   W2947 WASHINGTON ST                                             JUDA               WI         53550                  6002               Various                                                                                            $10.00
SARAH TISDALE                  410 W BURNETT ST                                                BEAVER DAM         WI         53916                  6002               Various                                                                                             $7.73
SARAH TURNER                   703 E DAFFODIL                                                  BELOIT             WI         53511                  6004               Various                                                                                             $7.25
SARAH WANGLER                  8410 EMMET ST                                                   OMAHA              NE         68134                  6004               Various                                                                                            $20.00
SARAH WELKE                    1788 WENDY WAY                                                  NEENAH             WI         54956                  6002               Various                                                                                             $7.86
SARAH WENTZ                    311 E 4TH ST                                                    NEILLSVILLE        WI         54456                  6002               Various                                                                                             $3.23
SARAH WHETSEL                  704 S 7TH ST                                                    OREGON             IL         61061                  6002               Various                                                                                             $4.49
SARAH WOJAHN                   415 W RIVERVIEW EXPY                                            WISCONSIN RAPID    WI         54495                  6002               Various                                                                                             $9.89
SARAH WOLFE                    PO BOX 133                                                      EDGAR              WI         54426                  6004               Various                                                                                             $2.00
SARAH YPMA                     653 WILSON STREET                                               WINONA             MN         55987                  6004               Various                                                                                            $20.00
SARAH ZELUF                    9401 BRENTWOOD DRIVE #3                                         LA VISTA           NE         68128                  6004               Various                                                                                             $3.00
SARAHA DUOOS                   206 W MAIN ST                                                   SPRING VALLEY      MN         55975                  6002               Various                                                                                             $1.89
SARALEE BLIVEN                 219 N WESTERS ST APT 1                                          STUART             IA         50250                  6002               Various                                                                                             $2.74
SARANAC GLOVE COMPANY          PO BOX 685041                                                   CHICAGO            IL         60695-5041             6000               Various                                                                                        $17,612.41
                                                             3215 JAMES DAY
SARATOGA LIQUOR COMPANY INC    VICE PRESIDENT OF SALES       AVENUE                            SUPERIOR           WI         54880                  3341               Various                                                                                        $26,902.40
SARGENTO FOODS INCORPORATED    4532 PAYSPHERE CIRCLE                                           CHICAGO            IL         60674-0000             4488               Various                                                                                        $16,258.32
SARIAH HAMILTON                1830 SAN LARUE AVE                                              TWIN FALLS         ID         83301                  6004               Various                                                                                            $20.00
SARINA BEARD                   1236 N LOCUST ST                                                GREEN BAY          WI         54303                  6002               Various                                                                                             $2.27
SARINA POORMAN                 615 S 200TH E                                                   BRIGHAM CITY       UT         84302                  6002               Various                                                                                             $1.62
SARMAD MOHAMMED                102 12TH STREET NW                                              ROCHESTER          MN         55901                  6004               Various                                                                                             $3.00
SAROJ DEVGUN                   7416 N PURDY PKWY                                               APPLETON           WI         54913                  6002               Various                                                                                             $3.70




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                                                                                                                                                         Account         Incurred, Basis for
             Creditor Name                   Address1              Address2            Address3             City       State           Zip   Country     Number                Claim                                                                             Total Claim
SARRA OWENS                       1544 ROSEWOOD CIRCLE                                              STEVENS POINT   WI         54482                 6004                Various                                                                                               $23.00
SARY FRANCO DUBON                 341 3RD ST APT 4                                                  CHANDLER        MN         56122                 6002                Various                                                                                                $7.59
SASHA BUNKE                       1115 ASH LN                                                       ABERDEEN        SD         57401                 6002                Various                                                                                                $6.60
SASHA GODFREY                     10321 WATER ST                                                    EPHRAIM         WI         54211                 6002                Various                                                                                                $7.92
SASHA PROSZEK                     3230 MARION RD SE           TRAILER #17                           ROCHESTER       MN         55904                 6004                Various                                                                                                $3.00

SASHA WILLIAMS                    1524 NORTH 104 PLAZA APT 233                                      OMAHA           NE         68114                   6004              Various                                                                                                $2.00
                                  N106 W13131 BRADLEY WAY
SATISLOH NORTH AMERICA INCORPO    SUITE 200                                                         GERMANTOWN      WI         53022-0000             0277               Various                                                                                        $18,602.24
SATURDAY KNIGHT LIMITED           PO BOX 645613                                                     CINCINNATI      OH         45264-5613             4382               Various                                                                                       $101,104.34
SAUDER WOODWORKING                PO BOX 633834                                                     CINCINNATI      OH         45263-3834             7012               Various                                                                                       $763,808.96
SAUK VALLEY NEWSPAPERS            PO BOX 498                                                        STERLING        IL         61081                  3106               Various                                                                                          $124.50
SAUL GARCIA                       752 WARSAW ST                                                     MENASHA         WI         54952                  6004               Various                                                                                             $4.00
SAUL GOMEZ                        1312 2ND ST N                                                     NAMPA           ID         83687                  6004               Various                                                                                             $3.65
SAUL SIEGMANN                     5707 ANTHONY ST                                                   MCFARLAND       WI         53558                  6004               Various                                                                                            $23.00
SAUL TAPIA                        2600 SHADY LN                                                     BELOIT          WI         53511                  6002               Various                                                                                             $6.38
SAURABH KOTHARI                   506 GARNET ST                                                     HOUGHTON        MI         49931                  6002               Various                                                                                             $0.55
SAV RITE BUILDING AND ACE HARD    N3599 FAIRGROUND AVENUE                                           NEILLSVILLE     WI         54456                  9685               Various                                                                                          $315.71
SAV RX ADVANTAGE INCORPORATED     224 NORTH PARK AVENUE                                             FREMONT         NE         68025                  5656               Various                                                                                            $42.00
SAVANA JANSEN                     14 JOHNSON CRT                                                    APPLETON        WI         54915                  6004               Various                                                                                             $1.00
SAVANAH TAYLOR                    530 MAIN AVE S                                                    TWIN FALLS      ID         83301                  6004               Various                                                                                            $23.00
SAVANNA BISHOP                    538 EIGHTH ST                                                     BELOIT          WI         53511                  6004               Various                                                                                             $1.00
SAVANNA D IRION                   1901 8TH AVE                                                      HELENA          MT         59601                  6002               Various                                                                                             $8.99
SAVANNA LAFEVER                   310 LINCOLN ST                                                    HART            MI         49420                  6002               Various                                                                                             $1.42
SAVANNA NEACE                     701 N 3RD ST                                                      ABERDEEN        SD         57401                  6002               Various                                                                                             $1.56
SAVANNA ROBERSON                  1082 OAK DR                                                       BRIGHAM CITY    UT         84302                  6002               Various                                                                                             $1.32
SAVANNA SHORT                     1827 HIGHWAY 20 S                                                 WORLAND         WY         82401                  6002               Various                                                                                             $3.75
SAVANNAH ALBRECHT                 5414 HEATHER ROAD                                                 MIDDLETON       WI         53562                  6004               Various                                                                                            $20.00
SAVANNAH BOLDT                    917 S 24TH ST                                                     MANITOWOC       WI         54220                  6004               Various                                                                                             $1.00
SAVANNAH DENNIS                   2006 SOUTH 90TH STREET                                            OMAHA           NE         68124                  6004               Various                                                                                            $33.00
SAVANNAH DODGE                    1740 11TH AVE.                                                    GREEN BAY       WI         54304                  6004               Various                                                                                             $5.00
SAVANNAH GILLES                   32 CAMELOT LANE NO 1                                              RICE LAKE       WI         54868                  6004               Various                                                                                             $1.00
SAVANNAH HANSON                   1204 KERN AVE                                                     RICE LAKE       WI         54868                  6004               Various                                                                                             $1.00
SAVANNAH KIND                     609 SHAGBARK LANE                                                 DEFOREST        WI         53532                  6004               Various                                                                                            $57.00
SAVANNAH LONGTON                  504 S LAKE ST                                                     SHERBURN        MN         56171                  6004               Various                                                                                            $68.34
SAVANNAH MCGILLIS                 1927 7TH AVE N                                                    GREAT FALLS     MT         59401                  6002               Various                                                                                             $2.30
SAVANNAH MORGAN                   5701 COLLINS DR                                                   HELENA          MT         59602                  6004               Various                                                                                            $24.00
SAVANNAH NYSTROM                  2020 POWERS AVE                                                   LEWISTON        ID         83501                  6004               Various                                                                                            $23.00
SAVANNAH ROBINSON-HADERLIE        191 LANCASTER LN                                                  AFTON           WY         83110                  6002               Various                                                                                             $4.85
SAVANNAH SOLLES                   1387 DAYTON ST APT 6                                              MAYVILLE        WI         53050                  6002               Various                                                                                             $7.15
SAVANNAH THOMPSON                 402 1/2 SHERMAN ST                                                WAUSAU          WI         54401                  6004               Various                                                                                            $29.97
SAVANNAH WRIGHT                   15720 E 4TH AVE              APT H207                             VERADALE        WA         99037                  6004               Various                                                                                            $95.00
SAVAY BARTEE                      10375 HAMILTON PLZ           APT 312                              OMAHA           NE         68114                  6004               Various                                                                                             $4.00
SAVERIO MARINO                    445 1ST ST SW                                                     HARTLEY         IA         51346                  6002               Various                                                                                             $9.37
SAVONNAH BRAUN                    140 HAMILTON PL                                                   FOND DU LAC     WI         54935                  6004               Various                                                                                             $1.00
SAVOY ABRAHAM                     523 4TH ST N                                                      BROWNS VALLEY   MN         56219                  6002               Various                                                                                             $0.44
SAWANG MOUA                       1601 HAPPINESS CIRCLE                                             GREEN BAY       WI         54311                  6004               Various                                                                                            $19.88
SAWYER MACHGAN                    3721 WEST FOLSOM ST                                               EAU CLAIRE      WI         54703                  6004               Various                                                                                             $9.00
SAWYER SMITH                      98 SPENCER VILLAGE CT                                             APPLETON        WI         54914                  6002               Various                                                                                             $4.25
SAYDEE REYNOLDS                   480 W VALLEY VW                                                   HYRUM           UT         84319                  6002               Various                                                                                             $9.10
SCARLETT B SVALESON               5920 BARNETT DR                                                   HELENA          MT         59602                  6002               Various                                                                                             $0.47
SCARLETT GRA VERCAUTEREN          237 BURNING TREE CT                                               WRIGHTSTOWN     WI         54180                  6002               Various                                                                                             $4.19
                                  4901 KELLER SPRINGS RD SUITE
SCENTSIBLE LLC DBA POO POURRI     106D                                                              ADDISON         TX         75001                   5274              Various                                                                                         $4,462.92




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SCHABEN/WASTE CONN                PO BOX 660177                                                   DALLAS          TX           75266-0177                                Various                                                                                          $2,177.72
                                  DBA SCHADEGG MOTORS &         207 SOUTH
SCHADEGG OIL COMPANY INC          TOWING                        WALNUT STREET                     KIMBALL         NE           69145-0327             3089               Various                                                                                           $110.00
SCHALON SCHLEICHER                230 WISCONSIN ST                                                WEST BEND       WI           53095                  6004               Various                                                                                            $20.00
SCHEELS PROFESSIONAL LAWN CARE    22514 40TH STREET                                               FAIRBANK        IA           50629                  7544               Various                                                                                           $272.85
SCHER FAMILY                      7500 KENNETH AVE                                                SKOKIE          IL           60076                  6002               Various                                                                                             $6.88
SCHIEK-RAUWOLF FAMILY             7213 BLUE MAPLE TRL                                             MADISON         WI           53719                  6002               Various                                                                                             $3.73
SCHIMEK FAMILY                    PO BOX 6783                                                     ROCHESTER       MN           55903                  6002               Various                                                                                             $1.64
SCHINGEN (K9) FAMILY              W3726 HIGHVIEW DR                                               APPLETON        WI           54913                  6002               Various                                                                                             $4.82

SCHINKER/ MALLORY                 HARDLINES                     SHOPKO EMPLOYEE                   GREEN BAY       WI           54307-9060             8029               Various                                                                                           $133.54

SCHLEICH NORTH AMERICA            10000 TWIN LAKES PKWY STE A                                     CHARLOTTE       NC           28269                  4342               Various                                                                                       $325,458.81
SCHMIDT FAMILY                    2101 W BROADWAY                                                 MADISON         WI           53713                  6002               Various                                                                                             $5.73
SCHNEIDER FAMILY                  1809 SEPTEMBER DR                                               RACINE          WI           53402                  6002               Various                                                                                             $4.79
SCHNEIDER OPTICAL MACHINES INC    6644 ALL STARS AVE STE 100                                      FRISCO          TX           75033                  0228               Various                                                                                        $44,139.83
SCHOENMANN FAMILY                 5900 WOODRIDGE LN NE                                            ROCHESTER       MN           55906                  6002               Various                                                                                             $4.52
SCHOENWEISS FAMILY                443 N ONTARIO ST                                                DE PERE         WI           54115                  6002               Various                                                                                             $6.58
SCHOLL LAWN & LANDSCAPING LLC     65111 710 ROAD                                                  FALLS CITY      NE           68355                  5700               Various                                                                                          $265.00
SCHOMBERG FAMILY                  N2878 CTH YY                                                    LACROSSE        WI           54601                  6002               Various                                                                                             $7.92
SCHOTT DISTRIBUTING CO INC (BE    6735 HWY 14 EAST                                                ROCHESTER       MN           55904                  5603               Various                                                                                            $42.25

SCHRAUFNAGEL/ KATHRYN             STORE 178                     SHOPKO EMPLOYEE                   GREEN BAY       WI           54307-9060             1325               Various                                                                                            $56.14
SCHROEDER & TREMAYNE INCORPORA    BIN 110200                    PO BOX 790051                     ST LOUIS        MO           63179-0051             6162               Various                                                                                        $23,622.79
SCHROEDERS FLOWERS INCORPORATE    PO BOX 1642                                                     GREEN BAY       WI           54305-1642             9819               Various                                                                                          $286.27
SCHUETZ FAMILY                    106 N 4TH ST                                                    PLATTSMOUTH     NE           68048                  6002               Various                                                                                             $2.93

SCHULTZ/ STEVEN                   STORE 116                     SHOPKO EMPLOYEE                   GREEN BAY       WI           54307-9060             2488               Various                                                                                            $52.06
                                  3759 COLLECTIONS CENTER
SCHULZE & BURCH BISCUIT COMPAN    DRIVE                                                           CHICAGO         IL           60693-0000             7743               Various                                                                                         $4,879.93
SCHUMACHER ELEVATOR COMPANY IN    PO BOX 393                                                      DENVER          IA           50622-0393             2749               Various                                                                                          $822.89
SCHUYLER DAWN                     214 E 1ST ST                                                    ALLIANCE        NE           69301                  6002               Various                                                                                             $2.58
SCHUYLER HANSEN                   N6928 ERTL RD                                                   MENASHA         WI           54952                  6002               Various                                                                                             $3.42
SCHUYLER REGAN                    11885 460TH AVE                                                 SISSETON        SD           57262                  6002               Various                                                                                             $0.77

SCHUYLER/ DANIELLE                STORE 2-178                   SHOPKO EMPLOYEE                   GREEN BAY       WI           54307-9060             5727               Various                                                                                            $15.48
SCHWABE NORTH AMERICA             PO BOX 200286                                                   DALLAS          TX           75320-0286             5149               Various                                                                                        $21,839.83
SCHWALK-LAVINDER FAMILY           1301 AVE C NW                                                   GREAT FALLS     MT           59404                  6002               Various                                                                                             $6.08
SCHWAN WHOLESALE COMPANY          VICE PRESIDENT OF SALES       PO BOX 710                        DEVILS LAKE     ND           58301                  9670               Various                                                                                         $1,155.58
SCHYLER CHENNAULT                 642 W 1925TH N                                                  PROVO           UT           84604                  6002               Various                                                                                             $8.47
SCHYLLING INC                     PO BOX 842358                                                   BOSTON          MA           02284-2358             7658               Various                                                                                        $12,751.77
SCI INTERNATIONAL                 5902 ENTERPRISE COURT                                           FREDERICK       MD           21703                  2753               Various                                                                                         $4,341.96
SCOOTER BOESE                     220 ECHO CIRCLE                                                 HUTCHINSON      MN           55350                  6004               Various                                                                                             $5.00
SCOT A VAHL                       1907 S VINE AVE APT 117                                         MARSHFIELD      WI           54449                  6002               Various                                                                                             $5.10
SCOT CHRISTENSON                  1211 FRANK AVE                                                  ALBERT LEA      MN           56007                  6004               Various                                                                                             $3.00
SCOT STURTZ                       1735 OAK ST.                                                    OSHKOSH         WI           54901                  6004               Various                                                                                            $57.75
SCOT WEBER                        600 N 2ND STREET                                                WATERTOWN       WI           53098                  6004               Various                                                                                            $19.53
SCOTCH FALT                       13905 S 18TH CIR                                                BELLEVUE        NE           68123                  6002               Various                                                                                             $9.62
SCOTT A CHOITZ                    PO BOX 167 PMB 401                                              COLBY           WI           54421                  6002               Various                                                                                             $6.52
SCOTT A LEWIS                     448 NIAGARA ST                                                  KIEL            WI           53042                  6002               Various                                                                                             $7.92
SCOTT A NEUMAN                    N1312 W STRATTON RD                                             WAUPACA         WI           54981                  6002               Various                                                                                             $8.49
SCOTT A. GLASER                   W10122 CTY GG                                                   RESSEVILLE      WI           53578                  6002               Various                                                                                             $1.73
SCOTT ALBRECHT                    9523 THUNDERBLUFF RD NW                                         ORONOCO         MN           55960                  6002               Various                                                                                             $0.58
SCOTT ALLISON                     574 N ABSAROKA ST                                               POWELL          WY           82435                  6002               Various                                                                                             $9.78




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              Creditor Name               Address1             Address2          Address3             City        State           Zip   Country     Number                Claim                                                                             Total Claim
SCOTT ANDERSON                 1488 RYANNS LN                                                 HELENA           MT         59602                 6002                Various                                                                                                $1.89
SCOTT ANDROSKY                 1112 87TH. AVE. W.                                             DULUTH           MN         55808                 6004                Various                                                                                                $3.00
SCOTT B. LARSON                863 ROSE XING                                                  KALISPELL        MT         59901                 6002                Various                                                                                               $10.00
SCOTT BAKER                    8992 BELLAVIEU RD                                              TOMAHAWK         WI         54487                 6002                Various                                                                                                $9.10
SCOTT BANKENBUSH               3341 DIASY LN                                                  RACINE           WI         53405                 6002                Various                                                                                                $5.59
SCOTT BARAN                    2811 FRONTIER DR                                               RACINE           WI         53404                 6004                Various                                                                                               $25.00
SCOTT BARTLETT                 1032 NORTH LAKESHORE DRVE                                      LINCOLN          NE         68528                 6004                Various                                                                                                $4.00
SCOTT BELL II                  1736 LOMBARD AVE                                               BELOIT           WI         53511                 6004                Various                                                                                                $3.00
SCOTT BENSON                   112 JOHN ST                                                    CHIPPEWA FALLS   WI         54729                 6004                Various                                                                                                $5.00
SCOTT BERINGER                 12564 W GOLDENROD AVE                                          BOISE            ID         83713                 6002                Various                                                                                                $1.78
SCOTT BEYER                    521 LAKESIDE DR APT 210                                        LINCOLN          NE         68528                 6004                Various                                                                                               $50.00
SCOTT BINKLEY                  3 BOULDERWOOD CT                                               NEGAUNEE         MI         49866                 6002                Various                                                                                               $10.00
SCOTT BLOMQUIST                6044 CEDAR ST                                                  NORTH BRANCH     MN         55056                 6004                Various                                                                                               $15.00
SCOTT BOND                     637 E 950TH S APT 51                                           BRIGHAM CITY     UT         84302                 6002                Various                                                                                                $4.82
SCOTT BONENBERGER              BOX 622                                                        WISNER           NE         68791                 6002                Various                                                                                                $0.77
SCOTT BOURASSA                 1000 W SAGOLA AVE                                              KINGSFORD        MI         49802                 6002                Various                                                                                                $4.05
SCOTT BROWN                    560 W. 21ST ST.             LOT 14                             MONROE           WI         53566                 6004                Various                                                                                                $1.00
SCOTT BRUNSON                  1999 E 1400 S                                                  SPANISH FORK     UT         84660                 6004                Various                                                                                               $30.02
SCOTT BUCHHOLZ                 16521 WEIR ST.                                                 OMAHA            NE         68135                 6004                Various                                                                                                $4.00
SCOTT BUGS                     1015 VAN BUREN ST                                              FORT ATKINSON    WI         53538                 6002                Various                                                                                                $0.68
SCOTT BUSS                     403 SHEFFIELD RD                                               WAUKESHA         WI         53186                 6002                Various                                                                                                $8.49
SCOTT CAMERON                  1104 RANGE VIEW CIR                                            RAPID CITY       SD         57701                 6002                Various                                                                                                $1.86
SCOTT CARTWRIGHT               1904 MARATHON AVE.                                             NEENAH           WI         54956                 6004                Various                                                                                               $25.00
SCOTT CHAMLEY                  3628 SUNDET RD                                                 CHIPPEWA FALLS   WI         54729                 6002                Various                                                                                                $7.59
SCOTT CLARK                    2260 MT PLEASANT RD                                            BEDFORD          IN         47421                 6002                Various                                                                                                $0.55
SCOTT CORNETT                  811 N 4TH                                                      BELLEVUE         NE         68005                 6004                Various                                                                                               $15.00
SCOTT CRIPPEN                  3238 U ST                                                      LINCOLN          NE         68503                 6002                Various                                                                                                $1.81

                                                           COBBLESTONE
SCOTT CRUEGER                  1117 CENTER POINT DRIVE     HOTEL AND SUITES                   STEVENS POINT    WI         54481                  6004               Various                                                                                               $17.00
SCOTT CUNNINGHAM               11433 21ST AVE.                                                CHIPPEWA FALLS   WI         54729                  6004               Various                                                                                               $25.00
SCOTT DALLAS                   203 E PEMBROKE ST                                              TUSCOLA          IL         61953                  6002               Various                                                                                                $1.42
SCOTT DAMP                     121 COLOMBIA STREET                                            OCONTO FALLS     WI         54154                  6004               Various                                                                                                $1.00
SCOTT DANIELS                  107 MARY ST                                                    BEAVER DAM       WI         53916                  6004               Various                                                                                                $2.00
SCOTT DAY                      6261 VANWOOD LANE                                              LUXEMBURG        WI         54217                  6004               Various                                                                                               $10.00
SCOTT DEERING                  509 DIEDRICH ST                                                KAUKAUNA         WI         54130                  6002               Various                                                                                                $7.40
SCOTT DEINES                   2522 W 21ST ST                                                 NORTH PLATTE     NE         69101                  6002               Various                                                                                                $3.92
SCOTT DEMOREST                 1860 CTY RD # 6                                                LA CRESCENT      MN         55947                  6002               Various                                                                                                $0.68
SCOTT DUNSTAN                  44208 8TH AVE                                                  ATLANTIC MINE    MI         49905                  6002               Various                                                                                                $3.53
SCOTT DYKSTRA                  11968 WHIPPLE RD                                               SISSETON         SD         57262                  6002               Various                                                                                                $8.30
SCOTT F LEHRKE                 692 AIRPORT DR                                                 AITKIN           MN         56431                  6002               Various                                                                                               $10.00
SCOTT FABRIZIO                 W385 STATE HIGHWAY 106                                         FORT ATKINSON    WI         53538                  6002               Various                                                                                                $6.82
SCOTT FERGUSON                 135 W 2ND ST                                                   NELSON           NE         68961                  6002               Various                                                                                                $3.31
SCOTT FLIKKE                   37681 EVERGREEN AVE                                            NORTH BRANCH     MN         55056                  6002               Various                                                                                                $8.32
SCOTT FOLDA                    2500 MAIDEN RD                                                 LEWISTOWN        MT         59457                  6002               Various                                                                                               $40.80
SCOTT FREBER                   318 MADISON ST                                                 BEAVER DAM       WI         53916                  6002               Various                                                                                                $5.84
SCOTT FURGESON                 1545 SMITH RD                                                  GLADWIN          MI         48624                  6002               Various                                                                                                $6.52
SCOTT GAGNON                   PO BOX 73                                                      LITTLE SUAMICO   WI         54141                  6004               Various                                                                                                $1.02
SCOTT GARDNER                  1606 DOUGLAS ST                                                SIOUX CITY       IA         51105                  6002               Various                                                                                                $2.68
SCOTT GROSS                    BOX 153                                                        BONNERS FERRY    ID         83805                  6002               Various                                                                                                $2.93
SCOTT GROTH                    342 N LINCOLN ST                                               WEST POINT       NE         68788                  6002               Various                                                                                                $1.42
SCOTT H MATHENY JR             7701 W USTICK RD TRLR 64                                       BOISE            ID         83704                  6002               Various                                                                                                $6.58
SCOTT HAGEBAK                  22444 LAKEVIEW ROAD                                            MADISON LAKE     MN         56063                  6002               Various                                                                                               $20.77
SCOTT HAMPSHIRE                24 AIRPORT WAY                                                 BOISE            ID         83705                  6004               Various                                                                                               $10.00




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                                                                                                                                                                                            Contingent


                                                                                                                                                                                                                        Disputed
                                                                                                                                                   Last 4 Digits of     Date Debt was
                                                                                                                                                      Account         Incurred, Basis for
              Creditor Name                   Address1            Address2        Address3             City         State           Zip   Country     Number                Claim                                                                             Total Claim
SCOTT HARRIMAN                    114 S BROADWAY ST                                            TOLEDO            IA         52342                 6002                Various                                                                                                $4.22
SCOTT HARRIS                      636 S PRESIDENT AVE                                          MASON CITY        IA         50401                 6002                Various                                                                                                $0.63
SCOTT HARRISON                    701 MITCHELL DR                                              SPANISH FORK      UT         84660                 6002                Various                                                                                                $6.16
SCOTT HEITZMANN                   3116 N12TH STREET                                            SHEBOYGAN         WI         53083                 6004                Various                                                                                                $2.00
SCOTT HERVAT                      9321 N RAVEN DR                                              MILTON            WI         53563                 6002                Various                                                                                                $3.86
SCOTT HOMAN                       3638 R STREET                                                OMAHA             NE         68107                 6004                Various                                                                                               $50.00
SCOTT HUFFORD                     2831 COUNTY ROAD 185                                         CLYDE             OH         43410                 6004                Various                                                                                               $50.00
SCOTT HUTCHINSON                  609 4TH AVE SE                                               ROCHESTER         MN         55904                 6002                Various                                                                                                $1.04
SCOTT J SCHWEDERSKY               1025 FOREST STREET                                           NIAGARA           WI         54151                 6004                Various                                                                                               $20.00
SCOTT JAY SCIFO                   5000 13TH ST LOT 305                                         MENOMINEE         MI         49858                 6002                Various                                                                                                $2.68
SCOTT JICINSKY                    C1456 BIG RAPIDS RD                                          STRATFORD         WI         54484                 6004                Various                                                                                               $14.94
SCOTT KENALL                      1034 SOUTHGATE DR                                            ELLSWORTH         WI         54011                 6002                Various                                                                                                $9.84
SCOTT KIKKERT                     720 N. UNIVERSITY                                            BEAVER DAM        WI         53916                 6004                Various                                                                                                $6.00
SCOTT KING                        366 ELM ROAD                                                 RUDOLPH           WI         54475                 6004                Various                                                                                               $15.00
SCOTT KLEINDL                     15 WESTWOOD ACRES                                            MORRIS            MN         56267                 6002                Various                                                                                                $8.22
SCOTT KLIMCZYK                    1411 FIRST ST                                                MENOMINEE         MI         49858                 6002                Various                                                                                                $2.30
SCOTT KUHLMAN                     30086 VIRGO ST NE                                            NORTH BRANCH      MN         55056                 6002                Various                                                                                                $4.00
SCOTT KUHN                        691 MARKET AVE                                               PORT EDWARDS      WI         54469                 6002                Various                                                                                                $1.53
SCOTT KUSHMAN                     2613 24TH AVE                                                KENOSHA           WI         53140                 6004                Various                                                                                               $20.00
SCOTT L DAUL                      2723 GEORGE ST                                               LA CROSSE         WI         54603                 6002                Various                                                                                                $8.68
SCOTT LEE                         4900 S W 12TH ST                                             LINCOLN           NE         68523                 6004                Various                                                                                                $5.53
SCOTT LINDEN                      42902 CALLAWAY RIVER RD                                      CALLAWAY          NE         68825                 6002                Various                                                                                                $1.56
SCOTT LOONSFOOT                   535 S SUPERIOR AVE                                           BARAGA            MI         49908                 6002                Various                                                                                                $9.18
SCOTT MAGSAMEN                    N 4209 ERDMAN RD                                             RIO               WI         53960                 6004                Various                                                                                               $35.00
SCOTT MCGREGOR                    N3857 HAHN RD                                                MERRILL           WI         54452                 6004                Various                                                                                                $5.00
SCOTT METZ                        4943 REDDIN RD                                               WISCONSIN RAPID   WI         54495                 6002                Various                                                                                                $4.30
SCOTT MEYER                       181 RIVER HEIGHTS DR                                         PLOVER            WI         54467                 6002                Various                                                                                                $8.90
SCOTT MEYERAAN                    1509 OKABENA ST                                              WORTHINGTON       MN         56187                 6004                Various                                                                                                $3.00
SCOTT MILLER                      810 FLAMBEAU ST                                              MANITOWOC         WI         54220                 6002                Various                                                                                                $2.30
SCOTT MOE                         W3822 HIGHVIEW DR                                            APPLETON          WI         54913                 6004                Various                                                                                               $44.00
SCOTT MOHALICK                    1919 ABERG AVENUE                                            MADISON           WI         53704                 6004                Various                                                                                                $3.00
SCOTT MORGAN                      2624 SAEMANN AVE                                             SHEBOYGAN         WI         53081                 6004                Various                                                                                               $25.00
SCOTT NANNEN                      1939 S. 47TH                                                 LINCOLN           NE         68506                 6004                Various                                                                                                $2.00
SCOTT NEUMANN                     1429 3RD AVENUE                                              MANKATO           MN         56001                 6004                Various                                                                                                $3.06
SCOTT NIELSEN                     410 N ARCH ST                                                NEW HAMPTON       MO         64471                 6002                Various                                                                                                $1.32
SCOTT OBRIEN                      303 E BEECH ST                                               EDGAR             WI         54426                 6002                Various                                                                                                $5.45
SCOTT ODEGAARDEN                  W5107 KEARNS CT                                              LA CROSSE         WI         54601                 6002                Various                                                                                                $5.92
SCOTT OKES                        1502 2ND W HILL DR                                           GREAT FALLS       MT         59404                 6004                Various                                                                                               $12.80
SCOTT OLSEN                       6865 S HIGHWAY 89                                            WILLARD           UT         84340                 6002                Various                                                                                                $7.12

SCOTT OLSON                       777 S EISENHOWER AVE TRLR 125                                MASON CITY        IA         50401                  6002               Various                                                                                                $2.00

SCOTT OVERBY                      622 W PATTERSON AVE APT 101                                  CHICAGO           IL         60613                  6002               Various                                                                                            $10.00
SCOTT PAGE                        1909 CENTER ST                                               STEVENS POINT     WI         54481                  6004               Various                                                                                            $25.00
SCOTT PATRIC JOHNSON              18112 JUNEBERRY DR                                           GREEN BAY         WI         54311                  6002               Various                                                                                            $10.00
SCOTT PAYNE                       OLIVE ST                                                     GRANDIN           MO         63943                  6002               Various                                                                                             $6.88
SCOTT PET PRODUCTS INCORPORATE    PO BOX 168                                                   ROCKVILLE         IN         47872                  6831               Various                                                                                        $55,798.87
SCOTT PIOTRZKOWSKI                2006 SCHOOL ST                                               TWO RIVERS        WI         54241                  6004               Various                                                                                             $9.05
SCOTT PRATT                       5509 19 AVE                                                  KENOSHA           WI         53140                  6004               Various                                                                                             $2.00
SCOTT RAEL                        4276 W 3850TH W                                              OGDEN             UT         84401                  6002               Various                                                                                             $6.47
SCOTT RITCHIE                     PO BOX 1153                                                  SALMON            ID         83467                  6002               Various                                                                                             $9.40
SCOTT ROBERT TURNER               1161 MADRONA ST N                                            TWIN FALLS        ID         83301                  6002               Various                                                                                             $1.56
SCOTT ROBERTS                     500 BROOKS ST                                                MANKATO           MN         56001                  6004               Various                                                                                             $4.05
SCOTT ROBINSON                    3903 QQ RD                                                   GREEN BAY         WI         54311                  6002               Various                                                                                             $1.04




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SCOTT ROLBIECKI                1625 N RIVER RD                                               COCHRANE         WI         54622                 6002                Various                                                                                             $8.33
SCOTT SALISBURY                8024 GOLDSTREAM CT                                            MIDDLETON        ID         83644                 6004                Various                                                                                             $4.00
SCOTT SCHADLER                 2413 S FOUNTAIN AVE APT 9                                     APPLETON         WI         54915                 6002                Various                                                                                             $1.51
SCOTT SCHMIEDT                 22751 401ST AVE                                               WOONSOCKET       SD         57385                 6002                Various                                                                                             $4.82
SCOTT SCHMOLDT                 409 S 66TH AVE                                                WAUSAU           WI         54401                 6004                Various                                                                                             $8.00
SCOTT SCHROEDER                711 WILLIAMS ST                                               VIROQUA          WI         54665                 6002                Various                                                                                             $7.15
SCOTT SCHROTH                  614 NORTH LAWE STREET                                         APPLETON         WI         54911                 6004                Various                                                                                             $9.52
SCOTT SCHULTE                  201 8TH AVE NW                                                KASSON           MN         55944                 6002                Various                                                                                             $5.73
SCOTT SCHWARTZ                 603 SCHWARTZ RD                                               PULASKI          WI         54162                 6002                Various                                                                                             $0.47
SCOTT SEBESTA                  N2302 MADISON AVE                                             NEILLSVILLE      WI         54456                 6002                Various                                                                                             $8.49
SCOTT SERVAIS                  8277 CTY RD E                                                 OCONTO FALLS     WI         54154                 6004                Various                                                                                            $34.00
SCOTT SHAURETTE                13533 43RD AVE                                                CHIPPEWA FALLS   WI         54729                 6004                Various                                                                                             $5.00
SCOTT SIEWERT                  1236 N 4TH AVE                                                WAUSAU           WI         54401                 6002                Various                                                                                            $10.00
SCOTT SMITH                    2706 N 47 TH AVE                                              OMAHA            NE         68104                 6004                Various                                                                                            $73.51
SCOTT SONNEK                   39050 HARDER PARKWAY                                          NORTH BRANCH     MN         55056                 6004                Various                                                                                             $2.75
SCOTT STEWART                  5788 HERMANTOWN RD                                            DULUTH           MN         55810                 6002                Various                                                                                            $10.00
SCOTT STOLL                    150 2ND ST WEST             PO BOX 233                        BALATON          MN         56115                 6004                Various                                                                                             $3.00
SCOTT STREGE                   2103 CLOUDVIEW COURT                                          APPLETON         WI         54914                 6004                Various                                                                                             $2.00
SCOTT STREMKOWSKI              7522 STANDING ROCKS RD.                                       STEVENS POINT    WI         54482                 6004                Various                                                                                             $5.00
SCOTT TALLIS                   51 SUNSET DR                                                  KALISPELL        MT         59901                 6002                Various                                                                                             $8.90
SCOTT THIELKE                  1101 WESTERN AVE                                              GREEN BAY        WI         54303                 6004                Various                                                                                             $1.02
SCOTT THOMPSON                 13 SAFFRON DR                                                 NAMPA            ID         83687                 6004                Various                                                                                            $60.00
SCOTT TUHOLSKI                 47767 318TH ST                                                SOUTH HAVEN      MN         55382                 6002                Various                                                                                             $3.32
SCOTT TUINSTRA                 2991 HOLMGREN WAY           APT 4                             GREEN BAY        WI         54304                 6004                Various                                                                                             $3.40
SCOTT VANEPEREN                N9650 EMEARLD LN                                              APPLETON         WI         54915                 6002                Various                                                                                             $4.08
SCOTT VANPELT                  926 N CHERRY ST                                               MOUNT CARMEL     IL         62863                 6002                Various                                                                                             $8.33
SCOTT VERBOOMEN                W5449 COUNTY RD A                                             BLACK CREEK      WI         54106                 6004                Various                                                                                             $5.00
SCOTT WALL                     4372 GLENWOOD DR                                              WINDSOR          WI         53598                 6004                Various                                                                                            $10.00
SCOTT WEATHERILL               510 CAMBRIDGE DR                                              MADISON          SD         57042                 6002                Various                                                                                             $5.73
SCOTT WEBB                     3053 DARTAGNAN DR                                             POCATELLO        ID         83204                 6002                Various                                                                                             $4.25
SCOTT WENGER                   352 ARBORVITE LANE                                            DE PERE          WI         54115                 6004                Various                                                                                            $64.00
SCOTT WENZEL                   860 LILLY RD                                                  LITTLE SUAMICO   WI         54141                 6004                Various                                                                                             $2.00
SCOTT WESENBERG                2080 A DICKONSON                                              OSHKOSH          WI         54904                 6002                Various                                                                                             $7.29
SCOTT WINDBIEL                 1719 CAROLINE ST                                              LACROSSE         WI         54601                 6002                Various                                                                                             $6.63
SCOTT ZEHEL                    1426 N 26TH ST                                                SHEBOYGAN        WI         53081                 6002                Various                                                                                             $3.29
SCOTTIE BUCHANAN               1672 STATE HIGHWAY 78N                                        JACKSONVILLE     IL         62650                 6002                Various                                                                                             $6.03
SCOTTIE PAPACH                 519 15TH ST SE                                                MASON CITY       IA         50401                 6002                Various                                                                                             $3.32
SCOTTIE WILLIAMS               935 LEWELLEN ST.                                              MARSHALL         WI         53559                 6004                Various                                                                                            $36.00
SCOTTS LAWN CARE               PO BOX 473                                                    MORA             MN         55051                 7522                Various                                                                                           $875.22
                                                           4880 HAVANA
SCOTTS LIQUID GOLD             VICE PRESIDENT OF SALES     STREET                            DENVER           CO         80239-0019              1185              Various                                                                                         $5,312.13
SCOTTY KING                    1677 FAYETTE AVE                                              BELOIT           WI         53511                   6004              Various                                                                                            $23.98
SCOTTY KWAK                    N2349 BELL CT                                                 KAUKAUNA         WI         54130                   6002              Various                                                                                             $1.81
SCOUT WUNDER                   4890 L.85 LANE                                                ESCANABA         MI         49829                   6004              Various                                                                                            $10.01

SCOVILL/ LISA                  STORE 109                   SHOPKO EMPLOYEE                   GREEN BAY        WI         54307-9060             8018               Various                                                                                            $90.84
SCRIPTCYCLE LLC                34 WALL ST 5TH FLOOR                                          ASHEVILLE        NC         28801                  6579               Various                                                                                         $6,094.74
SCRIPTPRO USA INCORPORATED     PO BOX 809004                                                 KANSAS CITY      MO         64180-9004             2371               Various                                                                                         $8,404.66
SEA L GUTSHALL                 210 N 3RD ST                                                  DOUGLAS          WY         82633                  6002               Various                                                                                             $5.53
SEAN ASHER                     1518 10TH AVE SE            APT 4                             ROCHESTER        MN         55904                  6004               Various                                                                                             $3.00
SEAN BALDWIN                   411 W 27ND AVE #3                                             BELLEVUE         NE         68005                  6004               Various                                                                                             $5.00
SEAN BRITT                     24472 BOLTON RD                                               VENETA           OR         97487                  6004               Various                                                                                            $10.03
SEAN CALEWARTS                 133 CROSS ST                                                  OCONTO           WI         54153                  6002               Various                                                                                             $9.12
SEAN CAMPBELL                  361 WEST BELLEVIEW STREET                                     WINONA           MN         55987                  6004               Various                                                                                             $3.00




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                                                                                                                                                        Account         Incurred, Basis for
             Creditor Name                    Address1              Address2        Address3              City        State           Zip   Country     Number                Claim                                                                             Total Claim
SEAN CASSIDY                      722 RIVERVIEW BLVD.                                            CLARKSTON         WA         99403                 6004                Various                                                                                               $50.00
SEAN CORNELIUS                    600 N KY HIGHWAY 101A                                          MASON CITY        IA         50401                 6002                Various                                                                                                $2.74
SEAN CRABTREE                     PO BOX 604                                                     NEWCASTLE         WY         82701                 6002                Various                                                                                                $3.04
SEAN CROWSON                      2008 GULL LANE NW                                              STEWARTVILLE      MN         55976                 6004                Various                                                                                                $3.00
SEAN CURRY                        1021 10TH AVE N                                                WISCONSIN RAPID   WI         54495                 6002                Various                                                                                                $8.05
SEAN DAVIS                        703 25TH ST W.                                                 BILLINGS          MT         59102                 6004                Various                                                                                                $2.00
SEAN DONAGHUE                     9900 SHERON PL                                                 RICE              MN         56367                 6002                Various                                                                                                $4.41
SEAN ENGELBRECHT                  910 S 39TH ST                                                  MANITOWOC         WI         54220                 6004                Various                                                                                               $25.00
SEAN FENENGA                      914 N. MAPLE                                                   WATERTOWN         SD         57201                 6004                Various                                                                                               $23.00
SEAN FORBECK                      425 HARTWELL STREET                                            ELKHORN           WI         53121                 6004                Various                                                                                               $75.00
SEAN FORBIS                       1118 PARK AVE                                                  OCONTO            WI         54153                 6002                Various                                                                                                $6.74

SEAN GOODWIN                      777 S EISENHOWER AVE TRLR 16                                   MASON CITY        IA         50401                  6002               Various                                                                                                $5.86
SEAN HOLLIBAUGH                   15 PLEASANT ST                                                 GREENWOOD         NE         68366                  6004               Various                                                                                               $30.00
SEAN JOHNSON                      1110 TERRACE ROAD                                              OMAHA             NE         68107                  6004               Various                                                                                               $20.00
SEAN L CHENEY                     509 E WINTERS ST                                               PLYMOUTH          IL         62367                  6002               Various                                                                                                $0.82
SEAN L. HENDERSON                 21661 SW 102ND STREET RD                                       DUNNELLON         FL         34431                  6002               Various                                                                                                $2.08
SEAN LANIGAN                      421 INDIAN HILLS DR                                            WATERLOO          WI         53594                  6002               Various                                                                                                $5.62
SEAN LATHROP                      7200 US HWY 14                                                 ARENA             WI         53503                  6004               Various                                                                                               $19.76
SEAN MANLEY                       N1355 POEPPLE RD                                               FORT ATKINSON     WI         53538                  6002               Various                                                                                               $10.00
SEAN MCCLURE                      5373 W. DELFINA CRT                                            SALT LAKE CITY    UT         84120                  6004               Various                                                                                               $15.00
SEAN MUELLER                      528 PARK ST                                                    COMBINED LOCKS    WI         54113                  6004               Various                                                                                               $26.01
SEAN OLAUGHLIN                    22734 RIDEVIEW RD                                              WINONA            MN         55987                  6002               Various                                                                                               $10.19
SEAN ORTNER                       W5340 799TH AVE                                                SPRING VALLEY     WI         54767                  6004               Various                                                                                               $29.00
SEAN SCHENEWARK                   622 COOLIDGE ST                                                WINNER            SD         57580                  6002               Various                                                                                                $2.30
SEAN SCHERCK                      2026 MARATHON AVE APT 1                                        NEENAH            WI         54956                  6002               Various                                                                                                $7.15
SEAN SCULLY                       145 WINDSOR CIRCLE                                             BURLINGTON        IA         52601                  6004               Various                                                                                               $14.98
SEAN SHIDELL                      411 STEWARD AVE              APT 33                            WAUSAU            WI         54403                  6004               Various                                                                                               $28.00
SEAN SHOWERS                      2104 HIGH RIDE TRL # 207                                       FITCHBURG         WI         53713                  6002               Various                                                                                                $4.66
SEAN SMOODY                       700 DELAWARE AVE APT L                                         GRAFTON           WI         53024                  6002               Various                                                                                                $9.64
SEAN STANTON WILCOX               118 HERRON DRIVE                                               MANKATO           MN         56001                  6004               Various                                                                                                $3.00
SEAN WHIPPLE                      800 CANTON ST                                                  PRESCOTT          WI         54021                  6004               Various                                                                                                $1.00
SEANMICHAEL GRANT                 1135 LEWIS AVE                                                 BILLINGS          MT         59102                  6004               Various                                                                                                $6.99
SEANN E. MCGOVERN                 9211 ORCHARD ST                                                DULUTH            MN         55810                  6002               Various                                                                                                $7.86
SEASON KREBER                     1908 E 2ND ST                                                  NORTH PLATTE      NE         69101                  6002               Various                                                                                                $5.45
                                                               400 HOWELL
SEASONAL CELEBRATIONS LLC         VICE PRESIDENT OF SALES      STREET                            BRISTOL           PA         19007                  2943               Various                                                                                         $8,314.71
SEAWAY PRINTING COMPANY INCORP    PO BOX 10413                                                   GREEN BAY         WI         54307-0413             9663               Various                                                                                        $53,128.96
SEBASTIAN BAHENA                  130 WITTWER ROAD                                               MADISON           WI         53714                  6004               Various                                                                                             $2.00
SEBASTIAN KENDALL                 630 W 6TH ST                                                   MOUNT CARMEL      IL         62863                  6002               Various                                                                                             $9.01
SEBASTIAN PADILLA                 340 S OAK ST                                                   BARRON            WI         54812                  6004               Various                                                                                            $58.00
SEBASTIAN REYES                   1016 BIRCH ST                                                  RACINE            WI         53403                  6004               Various                                                                                             $3.00
SEBASTIAN SMITH                   726 E 1200TH N                                                 OGDEN             UT         84404                  6002               Various                                                                                             $0.36
SEBASTIAN SNODGRASS               5421 OTOE                                                      LINCOLN           NE         68506                  6004               Various                                                                                             $5.00
SEBOKE TURA                       606 9TH ST APT 1                                               BREWSTER          MN         56119                  6004               Various                                                                                            $15.00
SEDRICKA THOMAS                   2738 SHARRON DR                                                OMAHA             NE         68112                  6004               Various                                                                                             $8.00
SEE VUE                           1227 GEORGE STREET                                             LA CROSSE         WI         54603                  6002               Various                                                                                             $1.00
SEENIA THAO                       1717 BAIRD ST                                                  MADISON           WI         53713                  6004               Various                                                                                            $39.60
SEHELI HAQUE                      2084 BAINBRIDGE ST UNIT # 6                                    LA CROSSE         WI         54603                  6004               Various                                                                                            $25.00
SEIKO OPTICAL PRODUCTS OF AMER    PO BOX 8500 1816                                               PHILADELPHIA      PA         19178-1816             7525               Various                                                                                         $1,212.30
SEILY BORJAS                      205 N 3RD ST                                                   SAINT PETER       MN         56082                  6002               Various                                                                                             $1.32
SELA PARSONS                      642 E 1ST S                                                    RIGBY             ID         83442                  6002               Various                                                                                             $1.34
                                                               6242 UNIVERSITY
SELECT ENTERPRISES                IDS UNLIMITED INCORPORATED AVENUE                              MIDDLETON         WI         53562                   1894              Various                                                                                           $690.00




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                                                                                                                                                                                                                Unliquidated
                                                                                                                                                                                                   Contingent


                                                                                                                                                                                                                               Disputed
                                                                                                                                                          Last 4 Digits of     Date Debt was
                                                                                                                                                             Account         Incurred, Basis for
              Creditor Name                      Address1              Address2         Address3            City          State           Zip    Country     Number                Claim                                                                             Total Claim
SELENA REYES                         929 S 14TH ST                                                   SHEBOYGAN       WI           53081                  6004                Various                                                                                               $3.00
SELENA SERNA                         1820 TOPAZ COURT                                                NAMPA           ID           83686                  6004                Various                                                                                               $6.00
SELENA TREJO                         2953 N. MURRY AVE                                               MILWAUKEE       WI           53211                  6004                Various                                                                                               $5.00
SELESTE JACQUART                     2325 S 22ND ST                                                  MANITOWOC       WI           54220                  6004                Various                                                                                               $5.00
SELINA BICKEL                        6578 YOUNG RD                                                   OCONTO          WI           54153                  6002                Various                                                                                               $0.79
SELINA TALLE                         636 N. JACKSON ST                                               MONDOVI         WI           54755                  6004                Various                                                                                               $1.00

SELNER/ SARAH                        STORE 4-001                   SHOPKO EMPLOYEE                   GREEN BAY       WI           54307-9060              9498               Various                                                                                           $304.95
SEMAJ DOW                            309 1ST AVE NW                APT A                             AUSTIN          MN           55912                   6004               Various                                                                                             $2.95
                                                                                                                                                                             11/28/2018 -
SEMCO ENERGY GAS COMPANY             PO BOX 740812                                                   CINCINNATI      OH           45274-0812              3.502              12/28/2018                                                                                        $843.68
SENECA FLORISTS                      710 MAIN STREET                                                 SENECA          KS           66538                   4736               Various                                                                                            $38.15
SENECA SANITATION                    313 SOUTH 8TH STREET                                            SENECA          KS           66538                                      Various                                                                                           $480.00
SENECA WHOLESALE                     36 SOUTH 8TH STREET                                             SENECA          KS           66538-1998              3705               Various                                                                                           $989.30
SENEKA BROWN                         4317 PRATT ST                                                   OMAHA           NE           68111                   6004               Various                                                                                             $4.00
SENITA BOYD                          1229 IOWA DR                                                    MADISON         WI           53704                   6004               Various                                                                                             $1.00
                                                                   252 N ADAMS
SENN LANDSCAPING                     JOHN SENN                     STREET                            OCONTO FALLS    WI           54154                   4730               Various                                                                                         $1,501.27
SENSIO INCORPORATED                  1175 PLACE DU FRERE ANDRE                                       MONTREAL        QB           H3B 3X9       CANADA    5971               Various                                                                                       $510,354.16

SENTHIL NATHAN TINNIUM VISWANATHAN   5125 SO 99TH PLZ #3                                             OMAHA           NE           68127                   6004               Various                                                                                            $40.00
SENTRY INSURANCE                     PO BOX 8045                                                     STEVENS POINT   WI           54481-8045              8138               Various                                                                                          $742.16
SENTRY PROPERTIES                    5 EAST LONG STREET 1200                                         COLUMBUS        OH           43215                   0412               Various                                                                                        $25,931.38
SEQUOIA SHAEFFER                     1129 NORTH 12TH ST                                              SHEBOYGAN       WI           53081                   6004               Various                                                                                             $1.00
SERAFIN SOSA                         2540 BARRINGTON LN                                              BOISE           ID           83706                   6002               Various                                                                                             $1.78
SERAPHINE TOMMY                      P.O. BOX 9411                                                   KALISPELL       MT           59904                   6004               Various                                                                                             $4.00
SERENA BISHOP                        BOX 87                                                          LODGE GRASS     MT           59050                   6004               Various                                                                                             $2.00
SERENA CARRILLO                      3535 NO 175 COURT #428                                          OMAHA           NE           68116                   6004               Various                                                                                             $2.00
SERENA EMERY                         BOX 167                                                         MISSION         SD           57555                   6002               Various                                                                                             $3.23
SERENA HARJU                         718 HEYDEN LANE                                                 GREEN BAY       WI           54301                   6004               Various                                                                                             $5.00
SERENA KENDALL                       1412 SWIFT BLVD                                                 RICHLAND        WA           99352                   6004               Various                                                                                            $22.50
SERENA MARIE WILLIAMSMALUEG          311 SE FIRST ST                                                 MARION          WI           54950                   6002               Various                                                                                             $9.56
SERENA MERRILL                       1209 ST JOHN AVE                                                ALBERT LEA      MN           56007                   6002               Various                                                                                             $0.38
SERENA VAN AACKEN                    W3204 HWY 18                                                    HELENVILLE      WI           53137                   6004               Various                                                                                            $19.00
SERENITY DEPAULIS                    2612 WEBB ROAD APT 10                                           GRAND ISLAND    NE           68801                   6004               Various                                                                                             $4.00
SERENITY DRISCOLL                    2449 FROG POND ROAD                                             OCONTO          WI           54153                   6004               Various                                                                                             $9.00
SERENITY MINCH                       104 APPLETON ST                                                 MENASHA         WI           54952                   6002               Various                                                                                             $8.52
SERGIO ARCEARCE                      W1560 VAN ASTEN RD                                              KAUKAUNA        WI           54130                   6002               Various                                                                                             $2.79
SERGIO CORNEJO                       2794 W 1400 S                                                   ABERDEEN        ID           83210                   6004               Various                                                                                             $4.51
SERGIO ESCOBEDO ROMERO               917 COLUMBIA AVE                                                MORRIS          MN           56267                   6002               Various                                                                                            $10.00
SERGIO OBLEA                         RR 2 BOX B BALLLARD RD                                          POCATELLO       ID           83202                   6004               Various                                                                                            $76.00
SERGIO ORTIZ                         1805 E OVERLAND RD                                              MERIDIAN        ID           83642                   6004               Various                                                                                            $40.00
SERINA WINDLE                        524 HYDRAULIC AVE P O BOX #                                     MT. CARMEL      IL           62863                   6002               Various                                                                                             $1.59
SERVICE CHANNEL INCORPORATED         9 ALBERTSON AVENUE SUITE 1                                      ALBERTSON       NY           11507                   7009               Various                                                                                        $21,784.00
SERVICE FOOD MARKET-FERGUS FAL       321 WEST LINCOLN AVENUE                                         FERGUS FALLS    MN           56537-2026              2946               Various                                                                                            $59.13
SERVICE TOOL CO LLC                  PO BOX 12240                                                    NEW IBERIA      LA           70562-2240              3020               Various                                                                                             $4.98
SERVICEMASTER RESTORE                150 PEABODY PLACE                                               MEMPHIS         TN           38103-0372                                 Various                                                                                         $5,873.00
                                                                   3800 TOUZALIN
SERVPRO OF LINCOLN                   ENGLISH ESTATES INC           AVENUE                            LINCOLN         NE           68507                   6495               Various                                                                                         $1,529.28
SESAR HERRERA                        1153 BOUGHTON ST APT 18 C                                       WATERTOWN       WI           53094                   6004               Various                                                                                             $2.00
SESSIONM INCORPORATED                2 SEAPORT LANE 11TH FLOOR                                       BOSTON          MA           02210                   6134               Various                                                                                         $2,504.05
SETH BAKER                           911 GREENWOOD CT. APT. 6                                        OSHKOSH         WI           54901                   6004               Various                                                                                             $1.00
SETH BIEL                            11658 KLEMMS BEACH RD                                           ROSHOLT         SD           57260                   6002               Various                                                                                             $7.29
SETH CARPENTER                       44 S BUTLER ST                                                  FOND DU LAC     WI           54935                   6004               Various                                                                                             $1.00




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                                                                                                                                                         Account         Incurred, Basis for
             Creditor Name                     Address1               Address2         Address3              City       State         Zip    Country     Number                Claim                                                                             Total Claim
SETH CENTNER                       206 1/2 N LAWE ST                                                APPLETON         WI         54911                6002                Various                                                                                             $6.33
SETH CLAYTON                       133 N. STONE PARK WAY                                            ZILLAH           WA         98953                6004                Various                                                                                            $12.00
SETH HAMILTON                      318 JADWIN AVE.                                                  RICHLAND         WA         99352                6004                Various                                                                                            $11.99
SETH HAVLUCK                       109 E 5TH ST                                                     MORRIS           MN         56267                6002                Various                                                                                             $1.59
SETH MARSHALL                      8939 200TH AVENUE                                                BRISTOL          WI         53104                6004                Various                                                                                            $20.00
SETH MEACHAM                       4650 HWY 312                                                     BILLINGS         MT         59105                6004                Various                                                                                            $36.80
SETH MICHAEL                       3128 SW HAILEY AVE.                                              PENDLETON        OR         97801                6004                Various                                                                                             $4.00
SETH RAMER                         5107 MAYWOOD RD                                                  MONONA           WI         53716                6004                Various                                                                                            $12.00
SETH ROSIN                         43181 ST HWY 99                                                  NICOLLET         MN         56074                6004                Various                                                                                            $36.70
SETH RYERSON                       165 BAYOU RD                                                     KALISPELL        MT         59901                6002                Various                                                                                             $5.84
SEVEAH JOHNSON                     7351 AARON AVE                                                   SPARTA           WI         54656                6004                Various                                                                                            $20.00
SEVEN UP BOTTLING COMPANY          PO BOX 742472                                                    LOS ANGELES      CA         90074-2472           3816                Various                                                                                         $1,318.47
SEVEN UP BOTTLING COMPANY INCO     PO BOX 10536                                                     GREEN BAY        WI         54307                9815                Various                                                                                         $2,082.80
SEVEN UP BOTTLING COMPANY SPOK     23214 NETWORK PLACE                                              CHICAGO          IL         60673-1232           7710                Various                                                                                         $1,620.60
SEVEN UP BOTTLING WATERTOWN        410 SOUTH FIRST STREET                                           WATERTOWN        WI         53094                0225                Various                                                                                         $3,815.42
SEVEN UP BOTTLING WEST BEND        413 KILBOURN STREET                                              WEST BEND        WI         53095                9919                Various                                                                                          $396.70
SEVERYN GUTOWSKI                   N15116 FERNWALL AVE                                              STANLEY          WI         54768                6002                Various                                                                                             $9.01
SEYMOUR ATHLETIC ASSOCIATION B     N9347 LAWN ROAD                                                  SEYMOUR          WI         54165                3529                Various                                                                                          $125.00
SEYMOUR BEVERAGES                  429 LINCOLN STREET                                               SEYMOUR          WI         54165                7902                Various                                                                                          $556.73
                                                                                                                                                                         11/29/2018 -
SEYMOUR WATER & SEWER UTILITIES    328 NORTH MAIN STREET                                            SEYMOUR          WI         54165                  1-Oct             12/28/2018                                                                                            $82.22
SEYVON JACKSON                     3010 16TH STREET                                                 RACINE           WI         53405                  6004              Various                                                                                                $2.00
                                                                  10040 REGENCY
SFI LIMITED PARTNERSHIP 100        SLOSBURG COMPANY               CIRCLE SUITE 200                  OMAHA            NE         68114                  6208              Various                                                                                        $37,800.00
                                                                  3 UNIVERSITY PLAZA
SG FOOTWEAR                        S GOLDBERG & CO                STE 400                           HACKENSACK       NJ         07601-0000            7613               Various                                                                                         $2,253.79
SH WINNER HOLDINGS LLC             2439 KUSER ROAD                                                  HAMILTON         NJ         08690                 8058               Various                                                                                         $9,413.95
SHABRIANA MURPHY                   5572 GUILFORD RD               APT.4                             MADISON          WI         53713                 6004               Various                                                                                             $3.00
SHADD G SANVILLE                   1120 7TH AVE S                                                   ESCANABA         MI         49829                 6002               Various                                                                                             $3.01
SHADOW KOLLER                      322 HILL ST                                                      NEILLSVILLE      WI         54456                 6002               Various                                                                                             $6.19
SHAE BURR                          PO BOX 106                                                       GRESHAM          WI         54128                 6004               Various                                                                                            $39.95
SHAELEE KEINER                     112 LAKE CREST DRIVE APT 208                                     BEAVER DAM       WI         53916                 6004               Various                                                                                             $2.00
SHAELY CRITTENDEN                  483 JEFFERSON ST                                                 AFTON            WY         83110                 6002               Various                                                                                             $6.33
SHAELYN MILLER                     3115 N 49TH AVE                                                  OMAHA            NE         68104                 6004               Various                                                                                             $3.00
SHAELYNN MOWER                     3643 CREE DR                                                     SALT LAKE CITY   UT         84120                 6002               Various                                                                                             $7.59
SHAHLA MAHDAVI                     25597 EL PASO RD                                                 CALDWELL         ID         83607                 6002               Various                                                                                             $1.84
SHAIBU ABAKAR                      2410 S RIVER ROCK DRIVE                                          PAPILLION        NE         68046                 6004               Various                                                                                             $8.05
SHAILA BIRD                        202 STATION ST                                                   SHELBY           IA         51570                 6002               Various                                                                                             $3.53
SHAINA GILCHRIST                   2107 7TH AVE APT 2                                               BELLE FOURCHE    SD         57717                 6002               Various                                                                                             $2.30
SHAINE MCCAFFREY                   212 BEAR DUSK WAY                                                BELVIDERE        IL         61008                 6004               Various                                                                                             $5.00
SHAKEILA KIDD                      5601 PRATT ST                                                    OMAHA            NE         68104                 6004               Various                                                                                             $8.00
SHALENA DICKSON                    208 E RICHARDSON ST                                              GALLATIN         MO         64640                 6002               Various                                                                                             $8.11
SHALISA PARKERSON                  4032 MOUNTAIN VIEW DR                                            BREMERTON        WA         98310                 6002               Various                                                                                             $7.64
SHALOM BAER                        75 SHILO DRIVE                                                   KALISPELL        MT         59901                 6004               Various                                                                                            $28.00
SHAMARI TRIPP                      3001 US HWY 12 E                                                 MENOMONIE        WI         54751                 6004               Various                                                                                             $3.00
SHAMIKA LEE                        209 N THOMPSON DR APT 5                                          MADISON          WI         53714                 6004               Various                                                                                             $1.00
SHAN JOHNSON                       3030 E CUSTER AVE                                                HELENA           MT         59602                 6002               Various                                                                                             $3.53
SHANA BRIDGES                      613 11TH ST                                                      GOTHENBURG       NE         69138                 6002               Various                                                                                             $1.37
SHANA BURKE                        631 CROOK ST                                                     DE PERE          WI         54115                 6004               Various                                                                                            $44.00
SHANA CUKA                         122 HARMONY ST UNIT 1B                                           BUFFALO          WY         82834                 6002               Various                                                                                             $8.85
SHANA DUNAGAN                      211 N LAVA LN APT C                                              POST FALLS       ID         83854                 6002               Various                                                                                             $4.41
SHANA GENNA                        2716 KELSO DR                                                    JANESVILLE       WI         53546                 6004               Various                                                                                            $10.00
SHANA PARDON                       5471 CTY RD W                                                    BANCROFT         WI         54921                 6002               Various                                                                                             $8.96
SHANA ROCKEY                       11001 N DAKOTA RD                                                ROCK CITY        IL         61070                 6002               Various                                                                                             $0.79




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                                                                            Schedule E/F: Part 2 - Creditors With Nonpriority Unsecured Claims




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             Creditor Name                Address1               Address2           Address3              City        State           Zip    Country     Number                Claim                                                                             Total Claim
SHANALEE VANDENEST            415 WEST WHEELER AVENUE                                            NORTH MANKATO     MN         56003                  6004                Various                                                                                             $3.00
SHANDA KEEHN                  PO BOX 62                                                          GROVER            WY         83122                  6002                Various                                                                                             $9.89
SHANDA KILE                   909 7TH ST                                                         CORNING           IA         50841                  6002                Various                                                                                             $4.49
SHANDELL GEYER                W234 N6567 LAUREL CT                                               SUSSEX            WI         53089                  6002                Various                                                                                             $6.36
SHANDELL SMITH                1708 N. 84TH ST                                                    OMAHA             NE         68114                  6004                Various                                                                                             $4.00
SHANDON REED                  PO BOX 202                                                         ATLANTIC MINE     MI         49905                  6002                Various                                                                                             $1.34
SHANDY ELLIS                  864 SYKES DR                                                       IDAHO FALLS       ID         83401                  6002                Various                                                                                             $4.68
SHANE BUTT                    211 FAIRMONT ST                                                    SALMON            ID         83467                  6002                Various                                                                                             $8.33
SHANE C GAUGHT                307 S BILLINGS BLVD TRLR 12                                        BILLINGS          MT         59101                  6002                Various                                                                                             $3.84
SHANE CLARK                   152 E 5TH PO # BOX307                                              AFTON             WY         83110                  6002                Various                                                                                             $6.93
SHANE COLE                    N6583 COUNTY ROAD J                                                BELDENVILLE       WI         54003                  6002                Various                                                                                             $2.88
SHANE CORDOVA                 3758 SO 1280 W                                                     SALT LAKE CITY    UT         84119                  6004                Various                                                                                            $29.75
SHANE COX                     57 N 900 W #333                                                    AMERICAN FORK     UT         84003                  6004                Various                                                                                            $10.00
SHANE D. SCHAALJE             70 WESTVIEW DR                                                     OREM              UT         84058                  6002                Various                                                                                             $5.59
SHANE DUIS                    76452 ROAD 415                                                     GOTHENBURG        NE         69138                  6002                Various                                                                                             $8.25
SHANE FOSTER                  PO BOX 16                                                          SHUBERT           NE         68437                  6002                Various                                                                                             $8.44
SHANE GABEL                   46694 118TH ST                                                     SISSETON          SD         57262                  6002                Various                                                                                             $6.49
SHANE H PEREZ                 BOX 3386                                                           HAYDEN            ID         83835                  6002                Various                                                                                             $0.41
SHANE HARRINGTON              920 GRELLE DR.                                                     LEWISTON          ID         83501                  6004                Various                                                                                           $200.00
SHANE HERK                    37038 BIG ROCK RD                                                  DENT              MN         56528                  6002                Various                                                                                             $5.97
SHANE INKS                    6042 HICKORY ST                                                    OMAHA             NE         68106                  6002                Various                                                                                             $7.53
SHANE KALASZ                  1855 SNOWBERRY WAY                                                 MUSKEGON          MI         49442                  6002                Various                                                                                            $10.00
SHANE KENNEDY                 6410 30TH AVENUE                                                   KENOSHA           WI         53142                  6004                Various                                                                                             $6.40
SHANE KNABENBAUER             1002 WINNEBAGO AVE                                                 OSHKOSH           WI         54901                  6002                Various                                                                                             $0.52
SHANE KNIEP                   303 S MARSHALL ST                                                  ROCK RAPIDS       IA         51246                  6002                Various                                                                                             $8.82
SHANE LARENE                  9303 CEDAR PARK ST                                                 ROTHSCHILD        WI         54474                  6004                Various                                                                                            $25.00
                              569 MAIN ST DOWNTOWN
SHANE LEAVITT                 MOTEL                                                              LANDER            WY         82520                   6002               Various                                                                                                $0.74
SHANE M SUEOKA                W6614 CHICAGO AVE                                                  WAUTOMA           WI         54982                   6002               Various                                                                                                $5.92
SHANE M WHITE                 333 JAYBOB LN                                                      AFTON             WY         83110                   6002               Various                                                                                                $5.62
SHANE NIELSEN                 92287 US HIGHWAY 89                                                GROVER            WY         83122                   6002               Various                                                                                                $9.01
SHANE PAGE                    1343 S. OAK AVE.                                                   FREEPORT          IL         61032                   6004               Various                                                                                               $41.15
SHANE PECKHAM                 232 10TH AVE SW                                                    OELWEIN           IA         50662                   6002               Various                                                                                                $4.11
SHANE SAMPLE                  1180 M-76                                                          STERLING          MI         48659                   6002               Various                                                                                                $1.73
SHANE SKINNER                 15543 444TH AVE                                                    FLORENCE          SD         57235                   6002               Various                                                                                                $1.89
SHANE SMYTH                   1755 LOST CRK                                                      NEW EGLAND        ND         58647                   6002               Various                                                                                                $4.85
SHANE SPARKS                  6211 TAYLOR LN                                                     WISCONSIN RAPID   WI         54494                   6002               Various                                                                                                $1.97
SHANE ZAHRADKA                509 S SPRUCE                                                       MARSHFIELD        WI         54449                   6004               Various                                                                                               $10.00
SHANE ZAWACKI                 1834 FRONT STREET                                                  BILLINGS          MT         59101                   6004               Various                                                                                               $15.02
SHANELL MARSHALL              496 W CABIN RD                                                     HELENA            MT         59602                   6004               Various                                                                                                $6.10
                              7F SHENG GAO INT'L B/D. NO.137
SHANGHAI NEX-TX               XIAN XIA ROAD                  CHANGNING DIST                      SHANGHAI          P.R.       200051        CHINA      4688              Various                                                                                       $222,802.38

SHANGHAI SMART DIRECT LLC     2107 GREENBRIAR DRIVE SUITE A                                      SOUTHLAKE         TX         76092                   5621               Various                                                                                         $4,413.84

                              2/F, NO. 17, LANE 688, HENGNAN
SHANGHAI SUNWIN               ROAD, NINHANG DISTRICT                                             SHANGHAI                                   CHINA     6780               Various                                                                                       $143,074.92
SHANIA DANKMEYER              R5976 PIONEER ROAD                                                 ATHENS            WI         54411                   6004               Various                                                                                             $3.00
SHANIA LARIVE                 20760 OAK RIDGE RD                                                 STURGIS           SD         57785                   6002               Various                                                                                             $2.19
SHANIA LONG                   1020 RIVER TRAIL CIRCLE        APT # 6                             KIEL              WI         53042                   6004               Various                                                                                            $10.50
SHANIA SOPA                   E1729 DOEHILL DRIVE                                                CLINTONVILLE      WI         54929                   6004               Various                                                                                             $2.00
SHANIAH FLETCHER              157 STATE ROAD 35 TRLR 39                                          RIVER FALLS       WI         54022                   6002               Various                                                                                             $7.12
SHANIECE NOTT                 43 GENNS LN                                                        GLENWOOD          IA         51534                   6002               Various                                                                                             $3.73
SHANINA R HICKS               2126 S LEADVILLE AVE                                               BOISE             ID         83706                   6002               Various                                                                                             $3.29




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SHANNA DEHNING                1725 N BURLINGTON                                                WORTHINGTON     MN         56187                 6004                Various                                                                                                $3.00
SHANNA DEVORE                 1019 15TH ST N PRE-RELEASE                                       GREAT FALLS     MT         59401                 6002                Various                                                                                                $3.70
SHANNA KLUG                   1094 MATHER ST                                                   GREEN BAY       WI         54303                 6002                Various                                                                                                $1.37
SHANNA QUICK                  2163 W JOHN LOOP                                                 COEUR D ALENE   ID         83814                 6002                Various                                                                                                $9.04
SHANNA ROHLFSEN               2236 26TH ST SW                                                  MASON CITY      IA         50401                 6002                Various                                                                                                $9.37
SHANNEA D BROWN               1734 DICKIE RD                                                   BILLINGS        MT         59101                 6002                Various                                                                                                $7.32
SHANNELL CARROLL              6348 N 36TH ST                                                   OMAHA           NE         68111                 6004                Various                                                                                                $4.00
SHANNELL MARTIN               ARENAC COUNTY JAIL                                               STANDISH        MI         48658                 6002                Various                                                                                                $6.49
SHANNINE BORTH                470 MAPLE ST PO BOX # 358                                        ELLSWORTH       WI         54011                 6002                Various                                                                                                $1.07
SHANNON ALLEN                 5435 VINE ST                                                     LINCOLN         NE         68504                 6002                Various                                                                                                $7.86
SHANNON ANDERSON              368 SUNCOURT                                                     SUN PRAIRIE     WI         53590                 6004                Various                                                                                                $3.04
SHANNON BARTLEY               5392 COUTY RD # 233                                              MONROE CITY     MO         63456                 6002                Various                                                                                                $1.62
SHANNON BELL                  9755 ROAD 92                                                     BRIDGEPORT      NE         69336                 6002                Various                                                                                                $4.19
SHANNON BOLZ                  PO BOX 268                                                       WEIPPE          ID         83553                 6002                Various                                                                                                $1.15
SHANNON BOWERS-JENKINS        465 GREYS RIVER LOOP                                             ALPINE          WY         83128                 6002                Various                                                                                                $2.71
SHANNON BRUGGEMAN             46648 270TH ST                                                   TEA             SD         57064                 6004                Various                                                                                                $2.00
SHANNON CANNON                7701 27TH AVE                                                    PLATTSMOUTH     NE         68048                 6004                Various                                                                                               $17.01
SHANNON CARTER                22058 E 315TH ST                                                 BETHANY         MO         64424                 6002                Various                                                                                                $5.23
SHANNON CHAMBERS              PO BOX 235                                                       SELBY           SD         57472                 6002                Various                                                                                                $6.96
SHANNON CHAVEZ                1006 SE STATE RT V                                               POLO            MO         64671                 6002                Various                                                                                                $7.34
SHANNON DODSON                320 WASHINGTON AVE                                               PEEVER          SD         57257                 6002                Various                                                                                                $2.68
SHANNON ELY                   5503 TELEPHONE RD LOT C38                                        PASCAGOULA      MS         39567                 6002                Various                                                                                                $9.78
SHANNON FAGAN                 N66W23663 HILLVIEW DR                                            SUSSEX          WI         53089                 6002                Various                                                                                                $9.86
SHANNON GEDDES                1212 UNION ST                                                    BELLE FOURCHE   SD         57717                 6002                Various                                                                                               $10.00
SHANNON HALEY                 9390 MARKET ST                                                   KEENSBURG       IL         62852                 6002                Various                                                                                                $2.33
SHANNON HARRINGTON            1106 CLEVELAND                                                   MARQUETTE       MI         49855                 6004                Various                                                                                                $3.00
SHANNON HENNING               2527 HIGHWAY 62                                                  FULDA           MN         56131                 6002                Various                                                                                                $2.30
SHANNON HIGGINS               213 N STATE ST                                                   LYONS           KS         67554                 6002                Various                                                                                                $6.22
SHANNON HOGAN                 2116 PARK AVE.                                                   LA CROSSE       WI         54601                 6004                Various                                                                                               $15.98
SHANNON HOOSER                7639 COUNTY RD N #1                                              SUN PRAIRIE     WI         53590                 6004                Various                                                                                                $4.00
SHANNON HUENGER               1475 N MAIN ST APT A103                                          LAYTON          UT         84041                 6002                Various                                                                                                $5.75
SHANNON HUFSTEDLER            6671 CTY # 11                                                    KENYON          MN         55946                 6002                Various                                                                                                $3.42
SHANNON JOHNSON               PO BOX 6                                                         GETTYSBURG      SD         57442                 6004                Various                                                                                               $34.00
SHANNON KUHN                  937 REDWOOD ST                                                   WEST BEND       WI         53095                 6004                Various                                                                                               $27.00
SHANNON L HOULE               411 MICHIGAN ST ZZ                                               HANCOCK         MI         49930                 6002                Various                                                                                                $4.27
SHANNON L LUSCHER             N1650 RIVER FOREST DR                                            KAUKAUNA        WI         54130                 6002                Various                                                                                                $4.30
SHANNON L PIONTEK             2812 ICHABOD LN                                                  GREEN BAY       WI         54313                 6002                Various                                                                                                $6.44
SHANNON LYNCH                 4317 SEQUOIA DR                                                  STEVENS POINT   WI         54481                 6004                Various                                                                                               $10.00
SHANNON MAAS                  1945 JENNINGS AVE                                                HOT SPRINGS     SD         57747                 6002                Various                                                                                                $5.75
SHANNON MEIER                 4738 COUNTY ROAD H                                               EDGAR           WI         54426                 6002                Various                                                                                                $7.21
SHANNON MERRIAM               350 IMM ST.                                                      WAUSAU          WI         54401                 6004                Various                                                                                               $25.00
SHANNON NAUSLAR               53835 DEACON RD                                                  GLENWOOD        IA         51534                 6002                Various                                                                                                $4.38
SHANNON NEGILSKI              505 W MUNISING AVE                                               MUNISING        MI         49862                 6004                Various                                                                                               $33.00
SHANNON NELSON                4742 HWY 17 NORTH             APT G2                             RHINELANDER     WI         54501                 6004                Various                                                                                               $10.00
SHANNON OCONNOR               P.O. BOX 383                                                     HERON LAKE      MN         56137                 6004                Various                                                                                                $3.00
SHANNON PAIRON                W 1775 SCHAEFER LN                                               MARINETTE       WI         54143                 6002                Various                                                                                                $2.99
SHANNON PAUL                  815 CRAITE AVE                                                   RICE LAKE       WI         54868                 6004                Various                                                                                               $30.00
SHANNON PAULOWSKE             1006 E MAIN ST                                                   WATERTOWN       WI         53094                 6002                Various                                                                                                $6.41
SHANNON RICHMOND              RR 3 BOX 6622                                                    DONIPHAN        MO         63935                 6002                Various                                                                                                $2.66
SHANNON RIESTERER             1029A S 23RD ST                                                  MANITOWOC       WI         54220                 6002                Various                                                                                                $6.38
SHANNON RINEHART              721 NORTH TEAL STREET APT 1                                      JANESVILLE      MN         56048                 6004                Various                                                                                                $3.06
SHANNON ROBERTS               800 N 3RD ST                                                     TARKIO          MO         64491                 6002                Various                                                                                                $8.14
SHANNON SALERNO               4905 25 AVE                                                      KENOSHA         WI         53140                 6004                Various                                                                                                $3.00
SHANNON SALZWEDEL             331 DALE AVENUE                                                  OSHKOSH         WI         54901                 6004                Various                                                                                               $22.50




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                                                                                                                                                                                                       Unliquidated
                                                                                                                                                                                          Contingent


                                                                                                                                                                                                                      Disputed
                                                                                                                                                 Last 4 Digits of     Date Debt was
                                                                                                                                                    Account         Incurred, Basis for
            Creditor Name                Address1            Address2          Address3             City          State           Zip   Country     Number                Claim                                                                             Total Claim
SHANNON SMITH                9144 S WINTER WREN DR                                          SANDY              UT         84093                 6002                Various                                                                                                $1.15
SHANNON STAAB                909 SOUTH MAIN ST                                              ZUMBROTA           MN         55992                 6004                Various                                                                                                $3.06
SHANNON STEVENS              723 N 3RD ST                                                   MARQUETTE          MI         49855                 6002                Various                                                                                                $2.52
SHANNON SUBBERT              403 E 12TH ST                                                  FAIRMONT           MN         56031                 6002                Various                                                                                                $4.00
SHANNON TADDY                2607 WASHINGTON ST                                             TWO RIVERS         WI         54241                 6004                Various                                                                                               $10.00
SHANNON TECHMEIER            1307 CAMELOT DR                                                JANESVILLE         WI         53548                 6004                Various                                                                                               $10.00
SHANNON TRAVIS               705 3RD AVE NE APT 214                                         BYRON              MN         55920                 6004                Various                                                                                                $3.00
SHANNON VASSAR               PO BOX 482                                                     FLORENCE           WI         54121                 6004                Various                                                                                               $53.00
SHANNON WALKER               123 W 6TH ST                                                   MOUNT CARMEL       IL         62863                 6002                Various                                                                                                $3.64
SHANNON WATERS               1123 1/2 CLARY ST                                              BELOIT             WI         53511                 6002                Various                                                                                                $5.26
SHANNON WELLS                1098 S DIXIE CT                                                ADAMS              WI         53910                 6002                Various                                                                                                $5.95

SHANNON WHITE                630 7TH STREET N                                               WISCONSIN RAPIDS   WI         54494                  6004               Various                                                                                            $20.00
SHANON AUSTIN                418 HIGHWAY 93 S                                               SALMON             ID         83467                  6002               Various                                                                                             $1.40
SHANON HARRIS                207 S GUSTIN ST UNIT 56                                        HOLDREGE           NE         68949                  6002               Various                                                                                             $5.86
SHANTA HILL                  3104 BLAKELEY AVE          APT # 6                             EAU CLAIRE         WI         54701                  6004               Various                                                                                            $15.00
SHANTAL R CRANDON            4006 S 33RD ST                                                 LINCOLN            NE         68506                  6002               Various                                                                                             $6.90
SHANTEL COTTON               728 N DIVISION ST                                              APPLETON           WI         54911                  6004               Various                                                                                             $2.00
SHANTEL COX                  232 E 100TH S                                                  LOGAN              UT         84321                  6002               Various                                                                                             $7.12
SHANTEL PIPER                920 S MULBERRY ST                                              SIOUX CITY         IA         51106                  6002               Various                                                                                             $4.22
SHANTEL RABE                 15246 IL RT 76                                                 POPLAR GROVE       IL         61065                  6004               Various                                                                                             $2.94
SHANTELLE POEGGEL            190 LADYBUG LN                                                 MOXEE              WA         98936                  6004               Various                                                                                            $12.50
SHANTI PERRY                 114 WEST PLEASANT ST                                           GARDEN CITY        MN         56034                  6004               Various                                                                                             $3.00
SHAPCO PRINTING INC          SDS 12-2900                PO BOX 86                           MINNEAPOLIS        MN         55486                  4989               Various                                                                                        $36,224.61
SHAQUILLA HAYES              507 WHISPERING PINES WAY                                       FITCHBURG          WI         53713                  6004               Various                                                                                             $1.00
SHAQUITA WARREN              4303 BINNEY ST                                                 OMAHA              NE         68111                  6004               Various                                                                                             $2.00
SHAR BAKER                   3906 JASON AVE                                                 POCATELLO          ID         83204                  6002               Various                                                                                             $6.03
SHAR REINARTS                625 VANBUREN AVE                                               OGDEN              UT         84404                  6002               Various                                                                                             $1.75
SHARAROSE BEAR DONT WALK     P.O. BOX 277                                                   LODGE GRASS        MT         59050                  6004               Various                                                                                             $2.00
SHAREEN CHAFSHIN             810 E 500TH N                                                  SPANISH FORK       UT         84660                  6002               Various                                                                                             $0.79
SHAREN FRIEDRICH             24 CARNATION CT                                                CLINTONVILLE       WI         54929                  6002               Various                                                                                             $2.77
SHARESA DESOTELLE            1528 N ONEIDA ST                                               APPLETON           WI         54911                  6004               Various                                                                                             $2.00
SHAREYAH BRIDGES             6601 PIONEERS BLVD                                             LINCOLN            NE         68506                  6004               Various                                                                                             $4.00
SHARI BUTALLA                1402 4TH ST TRLR 5                                             MARATHON           WI         54448                  6002               Various                                                                                             $8.27
SHARI ELLISON                1756 WOODWARD AVE                                              KINGSFORD          MI         49802                  6002               Various                                                                                             $4.93
SHARI FOX                    56935 OLD HWY 8                                                STANTON            NE         68779                  6004               Various                                                                                             $1.00
SHARI IRVING                 5625 W SITES DR                                                BOISE              ID         83705                  6002               Various                                                                                             $6.36
SHARI JO NELSON              21 E ELM ST                                                    CHIPPEWA FALLS     WI         54729                  6002               Various                                                                                             $9.01
SHARI JUHNKE                 619 NORTH MINN                                                 MITCHELL           SD         57301                  6004               Various                                                                                            $48.00
SHARI KELLY                  PO BOX 2104                                                    OROFINO            ID         83544                  6002               Various                                                                                             $1.70
SHARI KURTZHALS              1711 PINEWOOD AVE                                              BIRCHWOOD          WI         54819                  6004               Various                                                                                             $2.00
SHARI MORRIS                 1819 ABERG AVE                                                 MADISON            WI         53704                  6004               Various                                                                                             $2.00
SHARI NIEMYJSKI              S3499 B RUNGE LN                                               VIROQUA            WI         54665                  6002               Various                                                                                             $2.00
SHARI SCHAFER                1015 ARMORY PL                                                 OSHKOSH            WI         54902                  6002               Various                                                                                             $7.29
SHARI STEENO                 W5931 SWEET PEA DR.                                            APPLETON           WI         54915                  6004               Various                                                                                            $18.50
SHARI TERVELT                1126 EAST ST JOHNS ST                                          BOYD               WI         54726                  6004               Various                                                                                            $19.98
SHARIIHAN SALAH              2675 GEORGETOWNE PL NW                                         ROCHESTER          MN         55904                  6004               Various                                                                                             $3.00
SHARLA HIGHAM                4051 S 2400TH W                                                WEST VALLEY CIT    UT         84119                  6002               Various                                                                                             $1.51
SHARLA MAX                   13294 462ND AVE                                                WILMOT             SD         57279                  6002               Various                                                                                             $7.97
SHARLAINE WALCHLY            301 1/2 N JORDAN AVE                                           MILES CITY         MT         59301                  6002               Various                                                                                             $2.08
SHARLEE WILKINSON            1065 WALL AVE TRLR # 79                                        OGDEN              UT         84404                  6002               Various                                                                                             $6.93
SHARLENE BEENKEN             2581 15TH ST NW                                                MASON CITY         IA         50401                  6002               Various                                                                                             $1.66
SHARLENE COOPER              5024 ORCHARD AVE                                               MISSOULA           MT         59803                  6002               Various                                                                                             $5.97
SHARLENE OSBORN              2733 EAGLE AVE                                                 BATTLE CREEK       IA         51006                  6002               Various                                                                                             $8.00




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                                                                                                                                                                                            Contingent


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                                                                                                                                                      Account         Incurred, Basis for
              Creditor Name                Address1             Address2         Address3             City          State           Zip   Country     Number                Claim                                                                             Total Claim
SHARLET SILTA                  BOX 185                                                        SKANDIA            MI         49885                 6002                Various                                                                                                $3.42
SHARLIE COLOMBE                20296 278TH AVE                                                MISSION            SD         57555                 6002                Various                                                                                                $6.00
SHARMAN GOODNATURE             874 W. VIOLA LANE                                              COEUR D ALENE      ID         83815                 6004                Various                                                                                               $14.96
SHARMAN ROTHFORK               19571 484TH AVE                                                LAKE CRYSTAL       MN         56055                 6002                Various                                                                                                $8.90
SHARNAE MITCHELL               1060 S MAIN ST TRLR 11                                         BRIGHAM CITY       UT         84302                 6002                Various                                                                                                $2.16
SHAROL BASSETT                 7161 CLARKS PT RD                                              WINNECONNE         WI         54986                 6002                Various                                                                                                $8.19
SHARON A THEYE                 1508 HOYT ST                                                   BEATRICE           NE         68310                 6002                Various                                                                                                $0.55
SHARON ANNEN                   127 SUMNER COURT                                               GENOA CITY         WI         53128                 6004                Various                                                                                               $20.00
SHARON BAUWENS                 216 LOWER RIVER RD                                             FROMBERG           MT         59029                 6002                Various                                                                                                $2.16
SHARON BENJAMINS               5908 E CENTER ST                                               DOWNEY             ID         83234                 6002                Various                                                                                                $7.29
SHARON BOATMAN                 909 MAIN                                                       WAKEFIELD          NE         68784                 6002                Various                                                                                                $7.40
SHARON BOEHLER                 535 N 3RD ST                                                   MISSOURI VALLEY    IA         51555                 6002                Various                                                                                                $7.01
SHARON BOYLE                   985 E COUNTY ROAD Z                                            OSHKOSH            WI         54902                 6002                Various                                                                                                $2.52
SHARON BRAZIER                 2917 PARKVIEW DR                                               MARQUETTE          MI         49855                 6002                Various                                                                                                $9.07
SHARON BROWN                   705 W LYON ST                                                  LYONS              KS         67554                 6002                Various                                                                                                $2.52
SHARON CAMPBELL                849 4TH ST SE                                                  MASON CITY         IA         50401                 6002                Various                                                                                                $3.04
SHARON CARLSON                 51470 RUSH LAKE TRL                                            RUSH CITY          MN         55069                 6002                Various                                                                                                $5.01
SHARON CLARK                   7529 HUIALOHA ST                                               HONOLULU           HI         96825                 6002                Various                                                                                                $2.38
SHARON DANNAR                  1467 HIGHWAY 20 S                                              BASIN              WY         82410                 6002                Various                                                                                               $13.46
SHARON DILLON                  1045 CLEMENT ST              APT C                             WATERTOWN          WI         53094                 6004                Various                                                                                               $30.00
SHARON DUSTIN                  4363 COUNTY ROAD 8 SE                                          SAINT CLOUD        MN         56304                 6002                Various                                                                                               $10.00
SHARON FEEST                   3625-96TH AVE                                                  KENOSHA            WI         53144                 6002                Various                                                                                                $8.58
SHARON FINKE                   743 W VILLA RIDGE WAY                                          SANDY              UT         84070                 6002                Various                                                                                                $7.48
SHARON FLANAGAN                N11804 KOELLER RD                                              CLINTONVILLE       WI         54929                 6002                Various                                                                                                $0.55
SHARON FRAZIER                 541 JEFFERSON ST                                               WINNER             SD         57580                 6002                Various                                                                                                $0.27
SHARON GELDERNICK              W252 CENTER RD                                                 DORCHESTER         WI         54425                 6004                Various                                                                                               $19.99
SHARON GIUGLER                 12290 HESSELROTH                                               WILMONT            MN         56185                 6004                Various                                                                                               $10.00
SHARON GRABARCZYK              527 HWY 141                                                    CRYSTAL FALLS      MI         49920                 6004                Various                                                                                               $43.76
SHARON HALL                    4200 WOODS RD                                                  GLADWIN            MI         48624                 6002                Various                                                                                                $1.78
SHARON HANDLEY                 3785 RUGBY DR                                                  BOISE              ID         83704                 6002                Various                                                                                                $6.74
SHARON HAYES                   3429 WOODVINE AVE                                              LINCOLN            NE         68506                 6004                Various                                                                                               $17.69
SHARON HUDSON                  427 E MAIN STREET                                              LYONS              KS         67554                 6002                Various                                                                                                $3.33
SHARON J. REYNOLDS             3755 N 4TH ST APT 11                                           COEUR D ALENE      ID         83815                 6002                Various                                                                                                $7.95
SHARON JENSEN                  2781 N 3375TH W                                                MOORE              ID         83255                 6002                Various                                                                                                $6.74
SHARON K NIELSEN               1130 N COUNTY ROAD 350E                                        TUSCOLA            IL         61953                 6002                Various                                                                                                $9.42
SHARON KALCIK                  734 S. 30TH.                                                   LINCOLN            NE         68510                 6004                Various                                                                                                $2.58
SHARON KEMP                    501 W 10TH ST                                                  KAUKAUNA           WI         54130                 6002                Various                                                                                                $0.41
SHARON KLEWICKI                N5844 HIGHWAY # K                                              FOND DU LAC        WI         54935                 6002                Various                                                                                                $6.77

SHARON KRUZAN                  913 GARDNER ST                                                 WISCONSIN RAPIDS   WI         54495                  6004               Various                                                                                               $40.96
SHARON KUBERT                  2250 SOUTH 60TH                                                LINCOLN            NE         68506                  6004               Various                                                                                               $67.49
SHARON L JARBOE                4 ORCHARD DR                                                   CAMARGO            IL         61919                  6002               Various                                                                                                $7.92
SHARON L KOLARIK               N10601 WHITE TAIL DEER RD                                      TOMAHAWK           WI         54487                  6002               Various                                                                                                $6.77
SHARON L MONDL                 323 N WARREN ST                                                WATERTOWN          WI         53098                  6002               Various                                                                                                $1.45
SHARON LARSON                  N2829 VALLEY VIEW RD                                           NORWAY             MI         49870                  6004               Various                                                                                               $50.67
SHARON LINDSLEY                1822 OAKDALE AVENUE                                            GREEN BAY          WI         54302                  6004               Various                                                                                               $25.00
SHARON M GUNTHER               2220 AVE F                                                     GOTHENBURG         NE         69138                  6002               Various                                                                                                $1.42
SHARON M MENSEN                801 JEFFERSON AVE                                              CHIPPEWA FALLS     WI         54729                  6002               Various                                                                                                $9.42
SHARON MATHERS                 1512 MOUND AVE                                                 JACKSONVILLE       IL         62650                  6004               Various                                                                                               $12.00
                               3904 SOUTH TERRY AVE APT #
SHARON MATTHIES                161                                                            SIOUX FALLS        SD         57106                  6004               Various                                                                                                $2.00
SHARON MCDONALD                11810 AMERADO BLVD                                             BELLEVUE           NE         68123                  6002               Various                                                                                                $3.62
SHARON MEACHAM                 503 E JOHNSON ST                                               RIVER FALLS        WI         54022                  6002               Various                                                                                                $4.44
SHARON MEULEMANS               132 CROSS RD                                                   SOBIESKI           WI         54171                  6002               Various                                                                                                $0.44




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                                                                                                                                                      Last 4 Digits of   Date Debt was
                                                                                                                                                         Account       Incurred, Basis for
               Creditor Name               Address1              Address2          Address3              City          State           Zip   Country     Number              Claim                                                                             Total Claim
SHARON MILES                    3070 DAIRY RD                                                   WEIPPE            ID           83553                 6002              Various                                                                                                $7.18
                                                             2055 SABINOIS
SHARON MILLER                   C/O DAN MILLER               POINT RD                           PELICAN LAKE      WI           54463                   6002            Various                                                                                             $0.50
SHARON NCR JUNCK                3020 E MAIN ST LOT J18                                          MESA              AZ           85213                   6002            Various                                                                                             $0.93
SHARON NEEL                     1109 HILCREST AVE                                               CHARITON          IA           50049                   6002            Various                                                                                             $7.64
SHARON NORDSTROM                18870 E SUPERIOR LOCATION                                       HOUGHTON          MI           49931                   6002            Various                                                                                             $0.44
SHARON PACKETT                  2039 N LYNNDALE DR                                              APPLETON          WI           54914                   6002            Various                                                                                             $9.51
SHARON PHILLIPS                 110 E EVERGREEN DR TRLR 22                                      KALISPELL         MT           59901                   6002            Various                                                                                             $7.48
SHARON PIETZ                    308 S ILLINOIS ST APT3                                          ABERDEEN          SD           57401                   6004            Various                                                                                            $44.93
SHARON PINEDA                   439 LINDEN DR APT 6                                             LEWISTON          ID           83501                   6002            Various                                                                                             $1.07
SHARON PRESTON                  1708 WEST CLOVERDALE DR                                         APPLETON          WI           54914                   6004            Various                                                                                            $24.00
SHARON R BROOKS                 3469 SUN CIR                                                    IDAHO FALLS       ID           83404                   6002            Various                                                                                             $2.03
SHARON R VONESH                 106 E DIVISION ST N                                             AUDUBON           IA           50025                   6002            Various                                                                                             $9.04
SHARON RADCLIFFE                N9128 CTY RD C                                                  MINDORO           WI           54644                   6002            Various                                                                                             $0.36
SHARON REITER                   604 S OLD HIGHEAY # 51                                          MOSINEE           WI           54455                   6002            Various                                                                                             $4.66
SHARON REYNOLDS                 1595 ELDENA RD                                                  DIXON             IL           61021                   6004            Various                                                                                            $10.00
SHARON SCHUBRING                1629 W. REEVE ST.                                               APPLETON          WI           54914                   6004            Various                                                                                             $5.66
SHARON SIELAFF                  N246 HICKORY MEADOWS LN                                         APPLETON          WI           54914                   6002            Various                                                                                             $3.92
SHARON SMAULDON                 3317 QUINCY AVE                                                 OGDEN             UT           84403                   6002            Various                                                                                             $7.37
SHARON SMIT                     433 NORTH 4TH ST                                                SHEFFIELD         IA           50475                   6004            Various                                                                                            $11.52
SHARON SOLBERG TRUSTEE          LYNN H NELSON TRUST          PO BOX 455                         RED OAK           IA           51566                   3291            Various                                                                                         $1,250.00
SHARON SPERRY                   241 N 800TH E                                                   PAYSON            UT           84651                   6002            Various                                                                                             $8.33

SHARON STAMPER                  7696 N GLAZEBROOK LN APT 102                                    COEUR D ALENE     ID           83815                   6002            Various                                                                                                $5.95
SHARON STIMPLE                  515 MAIN ST                                                     HALLAM            NE           68368                   6002            Various                                                                                                $8.47
SHARON STREHLOW                 1132 MARSHALL AVE                                               GREEN BAY         WI           54303                   6002            Various                                                                                                $5.92
SHARON STRUENSEE                N2607 CARDINAL AVE                                              NEILLSVILLE       WI           54456                   6002            Various                                                                                                $9.86
SHARON TANK                     PO BOX 370                                                      BAILEYS HARBOR    WI           54202                   6002            Various                                                                                                $0.58
SHARON TANNER                   568 14TH ST                                                     OGDEN             UT           84404                   6002            Various                                                                                                $2.66
SHARON TARDIFF                  228 N GREEN ST                                                  MEREDOSIA         IL           62665                   6002            Various                                                                                               $10.00
SHARON VANDERVELDEN             229 S JAMES ST                                                  KIMBERLY          WI           54136                   6002            Various                                                                                                $3.29
SHARON VERON BULLETTE           3308 BLANKLEY AVE                                               EAU CLAIRE        WI           54701                   6002            Various                                                                                                $3.26
SHARON WALKER                   1371 SPRING CREEK RD                                            FARIVIEW          WY           83119                   6002            Various                                                                                                $7.51
SHARON WALTZ                    1302 MADISON AVE             APT 3                              ALBERT LEA        MN           56007                   6004            Various                                                                                                $4.77
SHARON WASHINGTON               714 FLORENCE STREET                                             FORT ATKINSON     WI           53538                   6004            Various                                                                                                $2.00
SHARON WATT                     4 LEWIS AVE APT 18                                              BILLINGS          MT           59101                   6002            Various                                                                                                $7.18
SHARON WEBB                     2336 COUNTY ROAD G                                              NEKOOSA           WI           54457                   6004            Various                                                                                               $66.00
SHARON WEBSTER                  PO BOX 73                                                       PEMBINE           WI           54156                   6002            Various                                                                                                $6.03
SHARON WHITFORD                 1003 1ST AVE                                                    GRAFTON           WI           53024                   6002            Various                                                                                                $3.95
SHARON WICHMAN                  2908 MAIN AVE                                                   KAUKAUNA          WI           54130                   6002            Various                                                                                                $7.89
SHARON WILCOX                   1436 EAST 35TH AVENUE                                           DAVENPORT         IA           52801                   6002            Various                                                                                                $7.18
SHARON WILLIAMS -SEE MEMO       406 E MISSION AVE            209                                BELLEVUE          NE           68005                   6004            Various                                                                                                $2.00
SHARON ZIGAN                    4203 3RD AVE N                                                  GREAT FALLS       MT           59405                   6002            Various                                                                                                $7.37
SHARRON COLLINSJONES            407 E CORRINE ST                                                GALLATIN          MO           64640                   6002            Various                                                                                               $10.00
SHARRON K RUSSELL               604 E GRAND ST APT 41                                           GALLATIN          MO           64640                   6002            Various                                                                                                $7.75
SHARYL STADTLANDER              750 W LYON STREET            APT 27                             GARNER            IA           50438                   6004            Various                                                                                               $57.60
SHARYS SMITH                    4940 HIGHWAY 36                                                 HUME              IL           61932                   6002            Various                                                                                                $3.53
SHATOY JONES                    525 PARK BLVD APT 101                                           OGDEN             UT           84401                   6002            Various                                                                                                $5.48
SHAUN ANDERSON                  4022 SOUTH AVE #42                                              MISSOULA          MT           59804                   6004            Various                                                                                               $23.00
SHAUN BURTON CARL               544 JAMES AVE SE                                                EAST GRAND FORK   MN           56721                   6002            Various                                                                                                $1.07
SHAUN GRIGSBY                   632 EAST RIVER ST. APT.35                                       ROCHESTER         MN           55904                   6004            Various                                                                                                $3.06
SHAUN KRAMER                    524 E 4TH ST APT 13                                             AINSWORTH         NE           69210                   6002            Various                                                                                                $2.52
SHAUN MAGSAMEN                  612 GREEN ST                                                    WATERTOWN         WI           53098                   6004            Various                                                                                               $40.71
SHAUN ROBERT WHITACRE           N2294 ROBE RD                                                   NEW LONDON        WI           54961                   6002            Various                                                                                                $5.51




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                                                                                                                                                     Account         Incurred, Basis for
            Creditor Name                Address1              Address2           Address3             City        State           Zip   Country     Number                Claim                                                                             Total Claim
SHAUN STUART LARSEN          1340 LUCERNE DR APT 8                                             MENASHA          WI         54952                 6002                Various                                                                                                $3.04
SHAUN SWAYNGIM               1034 W HARRISVILLE RD                                             OGDEN            UT         84404                 6002                Various                                                                                                $2.52
SHAUNA BUCK                  27 N 300TH W                                                      BRIGHAM CITY     UT         84302                 6002                Various                                                                                                $6.33
SHAUNA DONALDSON             9527 S 2500TH W                                                   SOUTH JORDAN     UT         84065                 6002                Various                                                                                                $2.93
SHAUNA GIESEKING             811 E 5TH ST                                                      MARSHFIELD       WI         54449                 6004                Various                                                                                               $25.00
SHAUNA GUTZMER               602 SPRINGEN AVE                                                  FERGUS FALLS     MN         56537                 6002                Various                                                                                                $5.86
SHAUNA HEAPS                 703 S ST CHARLES                                                  SALMON           ID         83467                 6002                Various                                                                                                $0.99
SHAUNA M FIERRO              19750 ST ONGE RD                                                  ST ONGE          SD         57779                 6002                Various                                                                                                $5.92
SHAUNA R WATSON              435 E 5600TH S # A                                                MURRAY           UT         84107                 6002                Various                                                                                                $0.85
SHAUNA SMITHEY               570 HARRISON BLVD                                                 OGDEN            UT         84404                 6004                Various                                                                                                $4.98
SHAUNA THURMAN               1576 S 2000TH E                                                   SPANSH FORK      UT         84660                 6002                Various                                                                                                $3.64
SHAUNA WOLF                  1032 SOUTH 10TH STREET                                            MANITOWOC        WI         54220                 6004                Various                                                                                               $11.00
SHAUNDA WIERING              973 KELLY RD                                                      ELLSWORTH        WI         54011                 6002                Various                                                                                                $6.19
SHAUNDRA PERLAK              2029 WELSBY AVE                                                   STEVENS POINT    WI         54481                 6002                Various                                                                                               $10.00
SHAUNTAE KIRKHAM             3715 GENEVA DR                                                    IDAHO FALLS      ID         83406                 6002                Various                                                                                                $8.08
SHAVON WILLIAMS              900 RUTLAND DR APT 506                                            LINCOLN          NE         68512                 6002                Various                                                                                                $4.77
SHAVONNE COOK                210 N. 13TH. AVE. E.                                              DULUTH           MN         55805                 6004                Various                                                                                                $3.00
SHAWEKAR HOSSEIN             780 14TH ST S                 APT #12                             ST. CLOUD        MN         56301                 6004                Various                                                                                                $3.00
SHAWIGHT LEWIS-WILLIAMS      2414 CROWN POINT AVE                                              OMAHA            NE         68111                 6004                Various                                                                                                $6.00
SHAWN A DUGHMAN              2425 S 15TH ST                                                    PLATTSMOUTH      NE         68048                 6002                Various                                                                                                $3.42
SHAWN A HARSTAD              121 4TH AVE SO APT 219                                            SAINT CLOUD      MN         56303                 6002                Various                                                                                                $5.15
SHAWN ABEAR                  534 VERMONT ST                                                    FOND DU LAC      WI         54937                 6002                Various                                                                                                $8.85
SHAWN BARNES                 101 W N 6TH                                                       GRNAGEVILLE      ID         83530                 6002                Various                                                                                                $8.52
SHAWN BEAUPARLANT            1513 CORMIER RD.                                                  GREEN BAY        WI         54313                 6004                Various                                                                                               $15.00
SHAWN BENDER                 1214 S ALVERNO RD                                                 MANITOWOC        WI         54220                 6002                Various                                                                                                $0.41
SHAWN BLEWETT                2939 MAGNOLIA ST #103                                             LEWISTON         ID         83501                 6004                Various                                                                                               $28.00
SHAWN BUCK                   N2316 MILL ROAD                                                   WALDO            WI         53093                 6004                Various                                                                                               $42.00
SHAWN CLOUSE                 1203 WYOMING                                                      MISSOULA         MT         59801                 6004                Various                                                                                               $13.00
SHAWN CONNORS                320 EAST ST                                                       BELOIT           WI         53511                 6004                Various                                                                                               $69.61
SHAWN CORCORAN               17024 COUNTY ROAD 27                                              ALTURA           MN         55910                 6002                Various                                                                                                $7.70
SHAWN CRAIG JOHNSON          211 KINGS CT                                                      LOGAN            UT         84321                 6002                Various                                                                                                $5.10
SHAWN DECKER                 W 1199 CENTER RD                                                  DORCHESTER       WI         54425                 6002                Various                                                                                                $5.73
SHAWN DELETE                 1500 HWY Q                                                        MISHICOT         WI         54220                 6004                Various                                                                                               $10.00
SHAWN DIETZEN                525 FERNCLIFF DRIVE                                               KAUKAUNA         WI         54130                 6004                Various                                                                                                $1.00
SHAWN DWYER                  1905 CTY HWY J                                                    CHIPPEWA FALLS   WI         54729                 6004                Various                                                                                                $3.00
SHAWN DYE                    1063 HELENA FLATS RD                                              KALISPELL        MT         59901                 6004                Various                                                                                                $3.98
SHAWN ELLIOTT                131 CARTER PL                                                     ONALASKA         WI         54650                 6002                Various                                                                                                $1.70
SHAWN ENRIQUEZ               301 W BEECHER AVE                                                 JACKSONVILLE     IL         62650                 6002                Various                                                                                                $5.97
SHAWN GARDNER                600 S 11TH ST                                                     CHALLIS          ID         83226                 6002                Various                                                                                                $7.89

SHAWN GLORIA                 1450 N WASHINGTON BLVD TRLR                                       OGDEN            UT         84404                  6002               Various                                                                                                $6.71
SHAWN HAMMER                 259 S CHESTNUT AVE                                                NEW HAMPTON      IA         50659                  6002               Various                                                                                                $9.45
SHAWN HENSEL                 902 LAWE STREET                                                   KAUKAUNA         WI         54130                  6004               Various                                                                                               $15.99
SHAWN HILL                   107 SANDBORN STREET                                               PARDEEVILLE      WI         53954                  6004               Various                                                                                                $3.00
SHAWN HIZEY                  908 VISTA AVE                                                     LEWISTON         ID         83501                  6004               Various                                                                                               $20.00
SHAWN HOLTZ                  2267 E ROAD                                                       WEST POINT       NE         68788                  6002               Various                                                                                                $1.04
SHAWN K. RICHARDSON          5298 S BLUE CREEK RD                                              COEUR D ALENE    ID         83814                  6002               Various                                                                                                $7.53
SHAWN KITZING                497 R STREET                                                      LOUP CITY        NE         68853                  6004               Various                                                                                               $23.00
SHAWN LAWATSCH               332 TERRACE AVE                                                   MARINETTE        WI         54143                  6002               Various                                                                                                $4.63
SHAWN LEE                    210 7TH ST NE APT 4                                               ROCKFORD         IA         50468                  6002               Various                                                                                                $5.62
SHAWN LEE MILLIKEN           2030 18TH ST NW                                                   ROCHESTER        MN         55901                  6002               Various                                                                                                $5.23
SHAWN LINDBECK               830 W IDEAL ST                                                    DULUTH           MN         55811                  6004               Various                                                                                                $1.33
SHAWN LLOYD                  1821 MACTAVISH COURT                                              RAWLINS          WY         82301                  6002               Various                                                                                                $8.68
SHAWN LYON                   S3560 NORTH FREY AVE                                              SPENCER          WI         54479                  6004               Various                                                                                               $25.00




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SHAWN MACIEJESKI              212B W CLOVER LN                                                 COTTAGE GROVE      WI         53527                 6004                Various                                                                                               $36.00
SHAWN MATHYS                  2611 EDGEWOOD LN                                                 GREEN BAY          WI         54302                 6002                Various                                                                                               $13.70
SHAWN MCDONALD                612 S. 67TH. AVE. W.                                             DULUTH             MN         55807                 6004                Various                                                                                                $3.00
SHAWN MICHAE JONES            145 EVERGREEN EST                                                ELLSWORTH          WI         54011                 6002                Various                                                                                                $5.59
SHAWN MILLARD                 1913 WEST 13TH COURT                                             FRIENDSHIP         WI         53934                 6004                Various                                                                                               $50.00
SHAWN NEHER                   1305 PORTSIDE LN                                                 GREEN BAY          WI         54313                 6002                Various                                                                                                $0.33
SHAWN NEUMAN                  2068 HIGGINS HILL                                                DE PERE            WI         54115                 6004                Various                                                                                               $19.00
SHAWN OCONNER                 2527 FRANKLIN ST                                                 BELLEVUE           NE         68005                 6004                Various                                                                                               $15.00
SHAWN PECHACEK                2826 HANNAH ST                                                   PESHTIGO           WI         54157                 6004                Various                                                                                               $14.98
SHAWN PENNE                   35 WEST COTTONWOOD DR #1                                         KALISPELL          MT         59901                 6004                Various                                                                                                $2.00
SHAWN PHILLIPS                2121 N 27TH ST                                                   LINCOLN            NE         68503                 6002                Various                                                                                                $6.19
SHAWN PODOLL                  640 AVON ST                                                      WISCONSIN RAPID    WI         54494                 6002                Various                                                                                                $6.58
SHAWN POHL                    2747 E CTY RD S                                                  BELOIT             WI         53511                 6002                Various                                                                                                $5.73
SHAWN R VEENKER               14 24TH ST                                                       WINDOM             MN         56101                 6002                Various                                                                                                $6.52
SHAWN RADERMACHER             350 2ND ST W                                                     HECTOR             MN         55342                 6004                Various                                                                                               $69.17
SHAWN RIPLEY                  4107 1/2 LINCOLN AVE                                             YAKIMA             WA         98908                 6004                Various                                                                                                $8.00
                              10619 N COUNTY LINE ROAD -
SHAWN ROBB                    LOT 53                                                           WHITEWATER         WI         53190                   6004              Various                                                                                                $2.00
SHAWN ROBERT MILLIKEN         2030 18TH ST NW                                                  ROCHESTER          MN         55901                   6002              Various                                                                                                $9.95
SHAWN SCHNEIDER               560 WEST 21ST ST             #14                                 MONROE             WI         53566                   6004              Various                                                                                                $1.00

SHAWN SHELLY                  923 28TH ST N                                                    WISCONSIN RAPIDS   WI         54494                  6004               Various                                                                                               $36.00
SHAWN SIKO                    4121 DONALD DR                                                   MADISON            WI         53704                  6004               Various                                                                                                $4.00
SHAWN SMITH                   136 N 500TH E                                                    GARLAND            UT         84312                  6002               Various                                                                                                $6.88
SHAWN SPENDLOVE               322 E 4450TH S                                                   OGDEN              UT         84404                  6002               Various                                                                                                $9.04
SHAWN STIEREN                 8109 BONDESSON ST                                                OMAHA              NE         68122                  6004               Various                                                                                                $3.00
SHAWN STOBB                   W22495 CTY Q                                                     WHITEHALL          WI         54773                  6004               Various                                                                                                $3.00
SHAWN VISTAIN                 W4886 BRIDLE RD.                                                 SHERWOOD           WI         54169                  6004               Various                                                                                               $50.00
SHAWN W MARTIN                756 8TH AVE S                                                    PARK FALLS         WI         54552                  6002               Various                                                                                                $2.27
SHAWN WHEELWRIGHT             4379 S. 950 W.                                                   RIVERDALE          UT         84405                  6004               Various                                                                                               $16.00
SHAWN WILLIAMS                1901 LAKE POINT DR.          APT. 5                              MADISON            WI         53704                  6004               Various                                                                                               $21.00
SHAWN WILSON                  578 HARVEST RD                                                   GREEN BAY          WI         54302                  6004               Various                                                                                               $25.00
SHAWN ZOBRIST                 5105 W SHERWOOD RD                                               NORFOLK            NE         68701                  6002               Various                                                                                                $3.23
SHAWNA CHAPA                  322 TIMBERLANE DR                                                MARSHALL           MN         56258                  6004               Various                                                                                               $30.00
SHAWNA DAVEY                  BOX 216                                                          OSAGE              WY         82723                  6002               Various                                                                                                $4.14
SHAWNA KAY STOIBER            204 S 3RD AVE                                                    EDGAR              WI         54426                  6002               Various                                                                                                $1.12
SHAWNA KRETZSCHMAR            401 DAKOTA AVE                                                   HAYTI              SD         57241                  6002               Various                                                                                                $1.78
SHAWNA LAFAVE                 3525 BAXTER                                                      HELENA             MT         59602                  6004               Various                                                                                               $10.00
SHAWNA LAMPKIN                P O BOX 1096                                                     COLUMBIA FALLS     MT         59912                  6004               Various                                                                                               $20.00
SHAWNA MILLER                 1550 KINGHORN RD                                                 POCATELLO          ID         83201                  6002               Various                                                                                                $6.03
SHAWNA RENNHACK               W6638 COUNTY ROAD J                                              CLYMAN             WI         53016                  6002               Various                                                                                                $3.84
SHAWNA SADLER                 2222 W CANFIELD AVE                                              COEUR D ALENE      ID         83815                  6004               Various                                                                                               $56.56
SHAWNA SCHOLL                 127 S CHERRY ST                                                  VALENTINE          NE         69201                  6002               Various                                                                                                $9.78
SHAWNEE LAPIER                1117 4TH AVE S                                                   GREAT FALLS        MT         59405                  6002               Various                                                                                                $6.03
SHAWNEE WRAGE                 PO BOX 66                                                        NEWCASTLE          WY         82701                  6002               Various                                                                                                $6.05
SHAWNEEN SCHMIT               203 S JAMES ST                                                   NORTHROP           MN         56075                  6004               Various                                                                                                $3.00
SHAWNNA REED                  606 VAN BUREN ST                                                 FORT ATKINSON      WI         53538                  6004               Various                                                                                                $2.00
SHAWN-NOEL LAND               6960 GREEN HWY APT 1                                             TECUMSEH           MI         49286                  6002               Various                                                                                                $4.47
SHAWNTEL BUTLER               10522 BEDFORD PLZ #1313                                          OMAHA              NE         68134                  6004               Various                                                                                                $4.00
SHAY (DAVID) SANGBERG         434 N 500TH E                                                    BRIGHAM CITY       UT         84302                  6002               Various                                                                                                $6.85
SHAY MCBRIDE                  3228 W 6610TH S                                                  WEST JORDAN        UT         84084                  6002               Various                                                                                                $3.42
SHAY MURPH                    524 SOUTH 35TH ST                                                OMAHA              NE         68105                  6004               Various                                                                                               $40.00
SHAYDEN WESTFALL              PO BOX 340 PMB 15                                                SALMON             ID         83467                  6002               Various                                                                                                $8.71
SHAYLA DAVIS                  882 FOXBORO DR               D105                                NORTH SALT LAKE    UT         84054                  6004               Various                                                                                               $19.00




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               Creditor Name                Address1            Address2           Address3             City          State           Zip   Country     Number                Claim                                                                             Total Claim
SHAYLA JABLON                   633 TANAGER PATH                                                MANKATO            MN         56001                 6004                Various                                                                                                $3.00
SHAYLA MARCHANT                 1111 S. 1850 W. ESBRO                                           OREM               UT         84058                 6004                Various                                                                                                $6.96
SHAYLA STEWARD                  RR 3 BOX 2399                                                   DONIPHAN           MO         63935                 6002                Various                                                                                                $4.25
SHAYLEE R. ELLIOTT              18 2ND ST SW                                                    EYOTA              MN         55934                 6002                Various                                                                                                $1.89
SHAYLEIGH BRAY                  415 12TH STREET                                                 LEWISTON           ID         83501                 6004                Various                                                                                               $15.00
SHAYLI HASBROUCK                9511 BURTON STREET                                              LINCOLN            NE         68526                 6004                Various                                                                                                $2.00
SHAYLONDA BUCKWALTER            304 BLVD ST                                                     CAMERON            WI         54822                 6004                Various                                                                                               $50.00
SHAYLYNN SPORE                  516 CENTER ST                                                   MANKATO            MN         56003                 6002                Various                                                                                                $7.61
SHAYNA DAVELER                  4314 BROWN LANE                                                 MADISON            WI         53704                 6004                Various                                                                                                $2.00
SHAYNA HEASLEY                  418 S JOHN ST                                                   CAMARGO            IL         61919                 6002                Various                                                                                                $4.99
SHAYNE C CRAIG                  1311 E LUNCEFORD LN APT 4                                       COEUR D ALENE      ID         83815                 6002                Various                                                                                                $7.48
SHAYNE SCHMIEG                  210 3RD ST S CC                                                 BRISTOL            SD         57219                 6002                Various                                                                                                $2.19
SHAYNE SCHULTZ                  1009 MEADOWOOD LANE - #1                                        JEFFERSON          WI         53549                 6004                Various                                                                                                $2.00
SHEA BELDERS                    PO BOX 57                                                       PIERCE             ID         83546                 6002                Various                                                                                                $0.82
SHEA LUES                       3738 ATWOOD AVENUE                                              MADISON            WI         53714                 6004                Various                                                                                               $15.00
SHEEMIKA RUTARO                 1705 WOODVALE DR                                                MADISON            WI         53716                 6004                Various                                                                                                $2.00
SHEENA GRUSZCZYNSKI             1410 SUPERIOR AVE                                               OCONTO             WI         54153                 6002                Various                                                                                                $0.30
SHEENA JAMES                    3171 BELVEDERE BLVD                                             OMAHA              NE         68111                 6004                Various                                                                                                $4.00
SHEENA LORENZ                   2219 TOWER AVE                                                  SUPERIOR           WI         54880                 6004                Various                                                                                               $31.62
SHEENA MASEPHOL                 6524 BIRCH LANE                                                 ARPIN              WI         54410                 6004                Various                                                                                                $6.03
SHEILA BANDA                    219 CAREY CT                                                    NEENAH             WI         54956                 6002                Various                                                                                                $6.16
SHEILA BENNETT                  2898 RIDGEWAY AVE                                               FREDERICKSBURG     IA         50630                 6002                Various                                                                                                $4.00
SHEILA BROCKMAN                 203 N HILL                                                      MARSHALL           MN         56258                 6004                Various                                                                                               $37.00
SHEILA BURRIS                   17169 MIDWAY AVE                                                GALLATIN           MO         64640                 6002                Various                                                                                                $7.86
SHEILA COLLARD                  103 ROSS DR                                                     CLEARFIELD         UT         84015                 6002                Various                                                                                                $5.23
SHEILA DEBRUIN                  2368 HAMILTON ST                                                OSHKOSH            WI         54901                 6002                Various                                                                                                $7.53
SHEILA DECOTEAU                 P.O. BOX 1624                                                   TOPPENISH          WA         98948                 6004                Various                                                                                                $1.50
SHEILA DEVALK                   W3022 CTY KK                                                    APPLETON           WI         54915                 6002                Various                                                                                                $1.32
SHEILA DIMAURO                  2804 BRYAN AVE                                                  BELLEVUE           NE         68005                 6004                Various                                                                                                $2.00
SHEILA ERMELING                 5807 ISAIAH ST                                                  SCHOFIELD          WI         54476                 6002                Various                                                                                                $3.26
SHEILA FREEMYER-DACY            1802 N MEDINA ST                                                COEUR D ALENE      ID         83814                 6002                Various                                                                                                $0.36
SHEILA GARNER                   651 N. WALTON DRIVE                                             WHITEWATER         WI         53190                 6004                Various                                                                                                $4.00
SHEILA HABLE                    9880 SANDHILL DRIVE                                             WESTON             WI         54476                 6004                Various                                                                                               $18.24
SHEILA HALLSTED                 2659 BROWN ROADR                                                NORTH PLATTE       NE         69101                 6002                Various                                                                                                $3.95
SHEILA J HUSKEY                 106 E H ST                                                      OGALLALA           NE         69153                 6002                Various                                                                                               $10.00
SHEILA JOHNSON                  117 17TH ST SE                                                  WATERTOWN          SD         57201                 6002                Various                                                                                                $7.15
SHEILA K. KNOWLES               906 21ST ST SE                                                  SAINT CLOUD        MN         56304                 6002                Various                                                                                                $0.79
SHEILA KALIES                   2406 W QUARRY RD                                                REEDSVILLE         WI         54230                 6002                Various                                                                                                $8.47
SHEILA KAMPA                    719 S 12TH                                                      NORFOLK            NE         68701                 6004                Various                                                                                               $35.00
SHEILA KOVACEVICH               6429 DURAND AVENUE                                              RACINE             WI         53406                 6004                Various                                                                                                $3.00
SHEILA LEBOEUF                  437 S WESTERN AVE                                               NEENAH             WI         54956                 6004                Various                                                                                                $5.00
SHEILA MARIE GLOEDE             1016 W SPRING ST                                                APPLETON           WI         54914                 6002                Various                                                                                                $0.36
SHEILA MCCLEARY                 405 COTTONWOOD # 87                                             MEDICINE BOW       WY         82329                 6002                Various                                                                                                $7.73
SHEILA MENGELT                  2835 S. 22ND ST.                                                LA CROSSE          WI         54601                 6004                Various                                                                                               $15.01
SHEILA OUSKA                    662 E GENEVA ST                                                 DELAVAN            WI         53115                 6004                Various                                                                                               $14.00
SHEILA PYLE                     6308 N 80TH ST                                                  OMAHA              NE         68134                 6002                Various                                                                                                $4.16
SHEILA RICHARDSON               9301 3RD ST                                                     LINCOLN            NE         68526                 6002                Various                                                                                                $1.15

SHEILA SERVANT                  3021 AMUNDSON ST                                                WISCONSIN RAPIDS   WI         54494                  6004               Various                                                                                               $10.00
SHEILA SHIELDS                  918 W 4TH ST                                                    MOUNT CARMEL       IL         62863                  6002               Various                                                                                                $8.90
SHEILA SLADE                    201A W DEPOT STREET                                             MARSHFIELD         WI         54449                  6004               Various                                                                                               $22.00
SHEILA SMET                     104 NORTH FRANKLIN STREET   APT 214                             OCONTO FALLS       WI         54154                  6004               Various                                                                                                $3.00
SHEILA SMITH                    BOX 1217                                                        FORSYTH            MT         59327                  6004               Various                                                                                               $59.86
SHEILA SYVERSON                 RT BOX # 1205                                                   PEEVER             SD         57257                  6002               Various                                                                                                $5.84




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SHEILA TAYLOR                     UNIT 72                        2802 S 5TH AVENUE                   YAKIMA          WA         98903                   6002               Various                                                                                             $2.41
SHEILA TOURNOR                    2933 N 51ST ST                                                     LINCOLN         NE         68504                   6002               Various                                                                                             $3.73
SHEILA TUFTEE                     408 E SUPERIOR AVE                                                 JACKSONVILLE    IL         62650                   6004               Various                                                                                            $16.00
SHEILA WAVRA                      5114 REDFISH ST                                                    POCATELLO       ID         83202                   6002               Various                                                                                             $4.25
SHEILA WRIGHT                     4756 MONTROSE DR                                                   MISSOULA        MT         59808                   6004               Various                                                                                           $140.97
SHEILAH CUNNINGHAM                1100 2ND AVE NW                                                    GREAT FALLS     MT         59404                   6002               Various                                                                                             $0.38
SHEKILA HOWARD                    220 N 34TH ST                                                      MILWAUKEE       WI         53208                   6002               Various                                                                                             $4.52
SHEKRI EL-KHATIB                  6219 HWY 51 S 80                                                   JANESVILLE      WI         53546                   6004               Various                                                                                             $2.00
SHELA R VANDAM                    251 4TH ST PO BOX # 114                                            CHANDLER        MN         56122                   6002               Various                                                                                             $3.32
SHELBI MICHELCIC                  5824 KIT LANE SOUTH                                                BILLINGS        MT         59106                   6004               Various                                                                                            $11.00
SHELBIE NEWLAN                    2886 S 1700 E                                                      WENDELL         ID         83355                   6004               Various                                                                                            $75.00
SHELBIE QUIRIN                    2015 41ST ST NW                APT G7                              ROCHESTER       MN         55901                   6004               Various                                                                                             $3.00
SHELBY BENNER                     362 N BAY ST                   APT D35                             POST FALLS      ID         83854                   6004               Various                                                                                             $8.00
SHELBY BURCHETT                   126 GRANDVIEW LANE                                                 CHELAN          WA         98816                   6004               Various                                                                                            $25.00
SHELBY D BROOME                   218 E MILL ST APT 8                                                MENDON          IL         62351                   6002               Various                                                                                             $0.99
SHELBY DILLON                     2016 N 4900TH W                                                    OGDEN           UT         84404                   6002               Various                                                                                             $6.41
SHELBY DUNPHY                     2555 GATEWAY ST APT 36                                             SPRINGFIELD     OR         97477                   6004               Various                                                                                             $8.90
SHELBY EUCKER                     11140 NW 121ST PL                                                  MALCOLM         NE         68402                   6004               Various                                                                                             $8.40
                                                                                                                                                                           11/21/2018 -
SHELBY GAS ASSOCIATION, MT        P.O. BOX 729                                                       SHELBY          MT         59474-0729              75797              12/20/2018                                                                                      $1,025.00
SHELBY GIBBONS                    540 S 300TH E                                                      BRIGHAM CITY    UT         84302                   6002               Various                                                                                             $8.30
SHELBY J MERCKX                   1406 LONG LAKE RD                                                  FLORENCE        WI         54121                   6002               Various                                                                                             $1.18
SHELBY KURNES                     19047 UMBER AVE                                                    BLOOMFIELD      IA         52537                   6002               Various                                                                                             $8.27
SHELBY L POPPE                    45074 WPA RD                                                       BASSETT         NE         68714                   6002               Various                                                                                             $7.07
SHELBY LIERMAN                    2304 N EASTWOOD ST                                                 NORFOLK         NE         68701                   6002               Various                                                                                             $8.71
SHELBY MCCOWAN                    2299 SOUTH ICE BEAR WAY                                            MERIDIAN        ID         83642                   6004               Various                                                                                             $4.00
SHELBY N HEROLD                   PO BOX 274 PMB 121                                                 WEST CONCORD    MN         55985                   6002               Various                                                                                             $5.64

SHELBY PAM LIMITED PARTNERSHIP    527 MARQUETTE AVE SUITE 1915                                       MINNEAPOLIS     MN         55402-0000              0411               Various                                                                                         $8,167.00
SHELBY PEREZ-MCCARTER             112 EAST PARK STREET                                               RUSHFORD        MN         55971                   6004               Various                                                                                             $3.00
SHELBY ROBERTS                    900 MILWAUKEE AVE                                                  VIENNA          SD         57271                   6002               Various                                                                                             $3.75
SHELBY SCHMIDT                    1410 11TH AVE SW                                                   WATERTOWN       SD         57201                   6002               Various                                                                                             $4.27
SHELBY SCOVILL                    2220 W 9TH ST                                                      NORTH PLATTE    NE         69101                   6002               Various                                                                                             $2.77
SHELBY SLANKERD                   PO BOX 364                                                         NEWMAN          IL         61942                   6002               Various                                                                                             $5.59
SHELBY SMITH                      BOX 883                                                            SALMON          ID         83467                   6002               Various                                                                                             $0.93
SHELBY STENHJEM                   754 JESSIE HALL                                                    MISSOULA        MT         59802                   6004               Various                                                                                            $23.00
SHELBY TENNESSEN                  309 N 8TH ST                                                       HILBERT         WI         54129                   6004               Various                                                                                            $10.00
SHELBY TISDALE                    624 WALNUT ST                                                      EAU CLAIRE      WI         54703                   6002               Various                                                                                             $1.81
SHELBY WRIGHT                     114 1/2 9TH ST                                                     GOTHENBURG      NE         69138                   6002               Various                                                                                             $3.67
SHELDON BEETON                    5422 MOONBEAM WAY                                                  FLORENCE        MT         59833                   6004               Various                                                                                            $18.00
SHELDON BIRD                      AGENCY VLG                                                         SISSTON         SD         57262                   6002               Various                                                                                             $9.23
SHELDON JACK CASH                 560 HIGH ST                                                        POMEROY         WA         99347                   6002               Various                                                                                             $7.73
SHELDON JOHNSON                   W625 WEIGERS RD                                                    MARINETTE       WI         54143                   6002               Various                                                                                             $0.60
SHELDON SHULZ                     PO BOX 81                                                          BUSHTON         KS         67427                   6002               Various                                                                                             $6.11
SHELDON TVEIDT                    13452 TILDORD RD                                                   STURGIS         SD         57785                   6002               Various                                                                                             $8.14
                                                                                 3701 E EVERGREEN
SHELDON/ DARRYL                   STORE 401                      SHOPKO EMPLOYEE DRIVE               APPLETON        WI         54913                   5737               Various                                                                                           $121.31
SHELIA CHANDLER                   2691 SARAH LN                                                      BELOIT          WI         53511                   6002               Various                                                                                             $0.33
SHELIA WEBBER                     463 6TH COURT SE                                                   DOVER           MN         55929                   6004               Various                                                                                             $3.00
SHELLEY BETZ                      319 GARFIELD ST                                                    LANDER          WY         82520                   6002               Various                                                                                             $0.41
SHELLEY CHRISTIANSON              1515 E 39TH                                                        SPOKANE         WA         99203                   6004               Various                                                                                            $19.99
SHELLEY D TALBOT                  2208 MT RUSHMORE RD                                                RAPID CITY      SD         57701                   6002               Various                                                                                             $9.48
SHELLEY DEWITT                    PO BOX 202                                                         MILTON          WI         53563                   6002               Various                                                                                             $5.86




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                                                                                                                                                                                                                                 Claim subject to offset?
                                                                                                                                                                                                       Unliquidated
                                                                                                                                                                                          Contingent


                                                                                                                                                                                                                      Disputed
                                                                                                                                                 Last 4 Digits of     Date Debt was
                                                                                                                                                    Account         Incurred, Basis for
              Creditor Name                Address1             Address2         Address3             City        State           Zip   Country     Number                Claim                                                                             Total Claim
SHELLEY EADS                   1101 S WILLOW ST                                               GALLATIN         MO         64640                 6002                Various                                                                                             $0.93
SHELLEY ELLSWORTH              6196 SUNLIGHT BASIN RD                                         NORTH BRANCH     MN         55056                 6004                Various                                                                                             $3.00
SHELLEY HILGEN                 619 SUTHERLAND AVE                                             JANESVILLE       WI         53545                 6004                Various                                                                                            $58.00
SHELLEY MOORE                  175 MAIN ST                                                    STERLING         NE         68443                 6004                Various                                                                                             $2.00
SHELLEY S WELCH                11544 N US HIGHWAY 63                                          HAYWARD          WI         54843                 6002                Various                                                                                             $0.99
SHELLEY TAZ NILLSON            100 WASHINGTON ST                                              LIVINGSTON       MT         59047                 6002                Various                                                                                             $3.51
SHELLI EMIG                    105 SO PEAR                                                    MAYWOOD          NE         69038                 6002                Various                                                                                             $8.27
SHELLI K HUBKA                 316 N 21ST ST                                                  BEATRICE         NE         68310                 6002                Various                                                                                             $1.53
SHELLIE ARCHULETA              102 BARRINGTON WAY                                             LAYTON           UT         84041                 6004                Various                                                                                            $23.00
SHELLIE BINNING                1902 E PENNSLYVANIA                                            COEUR D ALENE    ID         83814                 6002                Various                                                                                             $5.64
SHELLY BARKER                  1020 15TH STREET NE                                            SALEM            OR         97301                 6004                Various                                                                                            $12.00
SHELLY BEAVER                  2309 GENE AVE                                                  ALBERT LEA       MN         56007                 6004                Various                                                                                            $10.00
SHELLY BREITZMANN              4283 S HIGHWAY 35                                              SUPERIOR         WI         54880                 6002                Various                                                                                             $0.82
SHELLY BURTON                  2376 N 1220 W                                                  CLINTON          UT         84015                 6004                Various                                                                                            $29.98
SHELLY COOPER                  2122 AMIRANTE ST                                               EUGENE           OR         97402                 6004                Various                                                                                            $39.00
SHELLY DAHNERT                 W4444 LOWER RD # HEBRON                                        FORT ATKINSON    WI         53538                 6002                Various                                                                                             $2.27
SHELLY DEGEN                   1017 E 8TH AVE                                                 MITCHELL         SD         57301                 6002                Various                                                                                             $6.74
SHELLY FOWLER                  N841 TWIN KNOLLS DR                                            FORT ATKINSON    WI         53538                 6002                Various                                                                                             $1.56
SHELLY FRAME                   2635 WEST CENTRAL AVE                                          MISSOULA         MT         59804                 6004                Various                                                                                            $50.00
SHELLY GUTCHE                  2996 FLORENCE                                                  EUREKA           WI         54963                 6004                Various                                                                                            $10.00
SHELLY HEIST                   3834 MOUNT AVENUE                                              MISSOULA         MT         59801                 6004                Various                                                                                             $2.00
SHELLY HODGES                  27 GILMAN TER                                                  SIOUX CITY       IA         51104                 6002                Various                                                                                             $5.26
SHELLY J DOWNING               3090 BAUMGARTNER RD                                            FENNIMORE        WI         53809                 6002                Various                                                                                             $6.77
SHELLY JUHL                    RR 1 BOX 7                                                     ELDRED           IL         62027                 6004                Various                                                                                            $30.00
SHELLY KIMBALL                 PO BOX 51                                                      SUSSEX           WI         53089                 6002                Various                                                                                             $7.59
SHELLY KLABUNDE                2003 BLOEDEL AVE                                               SCHOFIELD        WI         54476                 6002                Various                                                                                             $9.34
SHELLY KUTILEK                 316 N LEADERS AVE                                              SIOUX FALLS      SD         57103                 6002                Various                                                                                             $2.27
SHELLY LOVELL                  14277 78TH STREET NE                                           FOLEY            MN         56329                 6004                Various                                                                                             $4.61
SHELLY MAILHIOT                601 RIDEGEVIEW CT                                              GREEN BAY        WI         54301                 6004                Various                                                                                            $10.02
SHELLY MOSEL                   7201 BUCHINGHAM DR #56                                         LINCOLN          NE         68506                 6004                Various                                                                                             $4.00
SHELLY NELSON                  2908 VIRGINIA ST                                               RACINE           WI         53405                 6002                Various                                                                                             $0.88
SHELLY PETERSON                2901 N OHLMAN ST                                               MITCHELL         SD         57301                 6002                Various                                                                                             $7.18
SHELLY SMITH                   612 N BRADLEY ST                                               PALMYRA          MO         63461                 6002                Various                                                                                             $6.38
SHELLY WINGLER-KLEMME          3227 W EHRLINGER RD                                            JANESVILLE       WI         53546                 6004                Various                                                                                           $114.96

SHELLY ZUPFER                  815 SCHOOL ROAD NW APT 208                                     HUTCHINSON       MN         55350                   6004              Various                                                                                             $3.06
SHELTERLOGIC CORP              PO BOX 844304                                                  BOSTON           MA         02284-4304              4779              Various                                                                                        $14,328.30
SHENG YANG                     410 WASHINGTON ST                                              WALNUT GROVE     MN         56180                   6004              Various                                                                                             $3.00

SHEPARD/ ALEXANDRA             STORE 142                    SHOPKO EMPLOYEE                   GREEN BAY        WI         54307-9060              3609              Various                                                                                               $75.21
                                                            1121 NORTH FIFTH
SHEPHERDS LANDSCAPING          CHARLIE SHEPHERD             STREET                            SAVANNA          IL         61074                  8289               Various                                                                                           $350.00
SHERA CAMPBELL                 3017 CHATSWORTH DRIVE                                          GREEN BAY        WI         54313                  6004               Various                                                                                             $8.50
SHERELL LIEBL                  216 S HARRISON ST                                              ONEILL           NE         68763                  6002               Various                                                                                             $4.77
SHERELL SPENCER                2319 18TH AVE NW             APT 5                             ROCHESTER        MN         55901                  6004               Various                                                                                             $6.00
SHERENE DANIELSON              144 POPLAR DR                                                  KALISPELL        MT         59901                  6002               Various                                                                                             $7.21
SHERI COLLINS                  PO BOX 382                                                     CHANDLERVILLE    IL         62627                  6004               Various                                                                                            $80.00
SHERI HENNEMAN                 5231 187TH ST                                                  CHIPPEWA FALLS   WI         54729                  6002               Various                                                                                             $6.99
SHERI HOFFMAN                  404 9TH AVE NE                                                 ROCHESTER        MN         55906                  6004               Various                                                                                             $3.00
SHERI JANKOWSKI                1193 CTY RD G                                                  COLOMA           WI         54930                  6002               Various                                                                                             $2.19
SHERI LEE ANDERSON             1455 GOLDENGATE                                                POCATELLO        ID         83201                  6002               Various                                                                                             $5.18
SHERI RICE                     5501 SHALE ROAD                                                FITCHBURG        WI         53713                  6004               Various                                                                                            $20.00
SHERI SWYGART                  4315 MARCUM                                                    EUGENE           OR         97402                  6004               Various                                                                                            $10.00
SHERIDA S MORRIS               2015 27TH ST SE APT 220                                        SAINT CLOUD      MN         56304                  6002               Various                                                                                             $4.77




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                                                                                                                                                                                         Contingent


                                                                                                                                                                                                                     Disputed
                                                                                                                                                Last 4 Digits of     Date Debt was
                                                                                                                                                   Account         Incurred, Basis for
            Creditor Name              Address1               Address2          Address3            City        State           Zip   Country      Number                Claim                                                                             Total Claim
                                                         116 FIRST AVENUE
SHERIDAN SHEET METAL         LINDA KNICK                 EAST                                PLENTYWOOD        MT       59254                   5214               Various                                                                                               $75.00
SHERIE PULSE                 401 S. CHURCH ST.                                               BIGGSVILLE        IL       61418                   6004               Various                                                                                               $25.00
SHERIE SHEEKS                911 FOX CREEK DRIVE         APT. #2                             WATERTOWN         WI       53098                   6004               Various                                                                                               $20.00
SHERILYN FRAZE               971 S GREEN BAY RD                                              NEENAH            WI       54956                   6002               Various                                                                                                $3.89
SHERIN SANCHEZ               26450 HWY 93 S                                                  ARLEE             MT       59821                   6004               Various                                                                                                $2.00
                             2129 BENSON GARDEN BLVD APT
SHERMAN BUTLER               5A                                                              OMAHA             NE       68134                   6004               Various                                                                                               $32.00
SHERMAN FERGUSON             906 2ND AVE N.E                                                 AUSTIN            MN       55912                   6004               Various                                                                                                $3.00
SHERMAN VANANTWERP           1900 CENTER AVE                                                 JANESVILLE        WI       53546                   6002               Various                                                                                                $0.27
SHERMANE VANARSDOL           1605 DONALYNN DR LOT 53                                         ROCK SPRINGS      WY       82901                   6002               Various                                                                                                $5.78
SHERON MCPIKE                736 N 11TH ST                                                   QUINCY            IL       62301                   6002               Various                                                                                                $5.78
SHERREL FRANTZ               96 W 6020TH S                                                   MURRAY            UT       84107                   6002               Various                                                                                                $2.08
SHERRI COUEY                 217 S HIGHWAY 789                                               LANDER            WY       82520                   6002               Various                                                                                                $7.86
SHERRI DAVIS                 2939 YORK RD                                                    HELENA            MT       59602                   6002               Various                                                                                                $6.14
SHERRI GOFF                  1408 JOHNSON ST                                                 JANESVILLE        WI       53548                   6004               Various                                                                                                $2.00
SHERRI HUNT                  1059 E 1160TH S                                                 PROVO             UT       84606                   6002               Various                                                                                                $3.23
SHERRI JAMES                 2445 W PLYMOUTH CIR                                             COEUR D ALENE     ID       83815                   6002               Various                                                                                                $6.93
SHERRI JIMISON               PO BOX 1144                                                     SIDNEY            MT       59270                   6002               Various                                                                                                $7.64
SHERRI M TRUSHENSKI          38288 BRANCH AVE                                                NORTH BRANCH      MN       55056                   6002               Various                                                                                                $2.00
SHERRI M. OLIVER             306 E ALPINE DR                                                 PAYSON            UT       84651                   6002               Various                                                                                                $6.33
SHERRI MCLAUGHLIN            PO BOX 206                                                      BUTTE DES MORTS   WI       54927                   6002               Various                                                                                                $1.26
SHERRI OLSEN                 1199 EMME WAY                                                   LOGAN             UT       84321                   6002               Various                                                                                                $5.64
SHERRI SCHMALE               818 ST. LAWRENCE AVE.                                           BELOIT            WI       53511                   6004               Various                                                                                                $2.00
SHERRI SCHMIDT               701 MANN AVE                                                    LARNED            KS       67550                   6002               Various                                                                                                $3.18
SHERRI STEELE                100 DIONE ST                                                    ISHPEMING         MI       49849                   6002               Various                                                                                               $10.00
SHERRIE GUNTER               1005 BURFORD CT                                                 DONIPHAN          MO       63935                   6002               Various                                                                                                $9.45

SHERRIE HOLT                 404 W MONTMORENCY PO BOX                                        QUINCY            WA       98848                   6002               Various                                                                                                $5.89
SHERRY ABHOLD                109909 STATE HWY 54                                             AMHERST           WI       54406                   6004               Various                                                                                               $21.48
SHERRY ABRAMS                17772 ROAD I                                                    NORTON            KS       67654                   6002               Various                                                                                                $3.42
SHERRY BARTH                 1710 S PERKINS ST                                               APPLETON          WI       54914                   6002               Various                                                                                                $4.03
SHERRY BINGHAM               905 N 1000TH W                                                  TREMONTON         UT       84337                   6002               Various                                                                                                $6.55
SHERRY COOPER                12711 JEROME AVE                                                OROFINO           ID       83544                   6002               Various                                                                                                $5.39
SHERRY D SHEARER             227 JEFFERSON AVE                                               NORFOLK           NE       68701                   6002               Various                                                                                                $7.95
SHERRY FICKEY                8912 FM 146                                                     LIVINGSTON        TX       77351                   6002               Various                                                                                                $8.82
SHERRY GUARDIPEE             PAGAIN TRL # 4                                                  EAST GLACIER      MT       59417                   6002               Various                                                                                                $7.53
SHERRY J EVERETT             602 BASSWOOD ST W                                               GLENCOE           MN       55336                   6002               Various                                                                                                $5.37
SHERRY KRAGE                 4555 TALBOT RD                                                  SIOUX CITY        IA       51103                   6002               Various                                                                                                $1.42
SHERRY L. JOHNSON            2059 GALWAY LN NE                                               ROCHESTER         MN       55906                   6002               Various                                                                                                $3.73
SHERRY LANTAGNE              726 E LINCOLN AVE                                               LITTLE CHUTE      WI       54140                   6002               Various                                                                                                $4.88
SHERRY LEWALLEN              RT2 BOX # 6750                                                  DONIPHAN          MO       63935                   6002               Various                                                                                               $15.20
SHERRY MCCRAY                6202 SOUTH 32ND ST                                              OMAHA             NE       68107                   6004               Various                                                                                                $2.00
SHERRY ODOM                  210 CRESENT                                                     DONIPHAN          MO       63935                   6002               Various                                                                                                $0.68
SHERRY ORSER                 2828 SARATOGA TRAIL                                             BILLINGS          MT       59105                   6004               Various                                                                                               $33.50
SHERRY RICHARDS              31845 8TH AVE                                                   SPIRIT LAKE       ID       83869                   6002               Various                                                                                                $6.44
SHERRY RIVARD                47616 MILL RD                                                   HOUGHTON          MI       49931                   6002               Various                                                                                                $1.51
SHERRY RUSCH                 410 JOHNSON AVE                                                 LITTLE CHUTE      WI       54140                   6002               Various                                                                                                $3.04
SHERRY SLAGER                1760 E 2100TH DR                                                LAYTON            UT       84037                   6002               Various                                                                                                $3.67
SHERRY STONE                 2205 BLACKHAWK BLVD                                             BELOIT            WI       53511                   6004               Various                                                                                               $15.00
SHERRY TEASLEY               15 8TH AVE N                                                    WAITE PARK        MN       56387                   6004               Various                                                                                                $3.00
SHERRY TOSELAND              824 PARK ST.                                                    WRIGHTSTOWN       WI       54180                   6004               Various                                                                                               $16.00
SHERRY WHITE                 310 JONES AVE                                                   NORTON            KS       67654                   6002               Various                                                                                                $3.42
SHERRY WILSON                1332 MC KINLEY                                                  BELOIT            WI       53511                   6004               Various                                                                                                $3.98




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                                                                                                                                                                                                                         Disputed
                                                                                                                                                    Last 4 Digits of     Date Debt was
                                                                                                                                                       Account         Incurred, Basis for
              Creditor Name                Address1              Address2           Address3             City        State         Zip     Country     Number                Claim                                                                             Total Claim
SHERRYL GISHKOWSKY             202 SOUTH NATIONAL AVE.                                           FOND DU LAC      WI         54935                 6004                Various                                                                                            $40.00
SHERYL BRUEGMAN                PO BOX 7                                                          BRISTOW          NE         68719                 6002                Various                                                                                             $6.22
SHERYL CLAFLIN                 6769 190TH AVE                                                    BLOOMER          WI         54724                 6002                Various                                                                                             $3.67
SHERYL CLARKE                  6404 OCCIDENTAL RD                                                YAKIMA           WA         98903                 6004                Various                                                                                             $6.52
SHERYL DIRKS                   3051 REBECCA ST                                                   SIOUX CITY       IA         51103                 6002                Various                                                                                             $9.04
SHERYL FINLEY                  611 6TH AVE SE                                                    AUSTIN           MN         55912                 6004                Various                                                                                            $64.67
SHERYL FLYR                    NH NORTH HALL                                                     WHEATLAND        WY         82201                 6002                Various                                                                                             $6.55
SHERYL KIEFER                  PO BOX 171 PMB N4327                                              HUSTISFORD       WI         53034                 6002                Various                                                                                             $8.88
SHERYL LEY                     1018 N ROAD 11                                                    WORLAND          WY         82401                 6002                Various                                                                                             $4.03
SHERYL LYNNE THOMPSON          195 E 750TH S                                                     SALEM            UT         84660                 6002                Various                                                                                             $2.71
SHERYL MEADOWS                 1725 3RD AVE WEST                                                 COLUMBIA FALLS   MT         59912                 6004                Various                                                                                            $30.02
SHERYL MILLER                  2148 22ND AVE                                                     RICE LAKE        WI         54868                 6002                Various                                                                                             $4.19
SHERYL MYCROFT                 BOX 5191                                                          KALISPELL        MT         59901                 6002                Various                                                                                             $2.88
SHERYL R. PATTON               712 S LAKE ST                                                     COLFAX           WA         99111                 6002                Various                                                                                             $0.38
SHERYL S. MORAN                402 31ST ST NE APT 118                                            ROCHESTER        MN         55906                 6002                Various                                                                                             $2.03
SHERYL SCHOENFELDER            1918 10TH AVE SW                                                  WATERTOWN        SD         57201                 6002                Various                                                                                             $6.05
SHERYL STAEFFLER               P.O. BOX 644                                                      LUVERNE          MN         56156                 6004                Various                                                                                             $3.00
SHERYL STANS                   8044 S DIEGO WAY                                                  BOISE            ID         83709                 6002                Various                                                                                             $8.68
SHERYL WALLACE                 N4225 STERLING AVE                                                NEILLSVILLE      WI         54456                 6002                Various                                                                                             $0.38
SHERYL WORTH                   3164 SEAFARER WAY                                                 SUAMICO          WI         54173                 6002                Various                                                                                             $0.36
SHEVELLE M LEE                 WSC - MOREY 305                                                   WAYNE            NE         68787                 6002                Various                                                                                             $2.49
SHEYENNE LARMORE               RR 3 BOX 2099                                                     DONIPHAN         MO         63935                 6002                Various                                                                                             $2.74
SHIANNA GRACYALNY              W558 BIRCH DR                                                     PULASKI          WI         54162                 6002                Various                                                                                             $1.45
SHIANNE SCHUELE                1208 W JEFFERS DR                                                 RAWLINS          WY         82301                 6002                Various                                                                                             $4.25
SHIELA STONE                   1310 W 51ST ST                                                    SIOUX FALLS      SD         57105                 6004                Various                                                                                             $6.00
SHILA D BOREN                  291 ROAD 5                                                        THERMOPOLIS      WY         82443                 6002                Various                                                                                             $6.55
SHILO A STEFANIK               5278 GLACIER POINT LOOP                                           HELENA           MT         59602                 6002                Various                                                                                             $2.30
SHILOH LAWRENCE                3759 SPRING GREEN RD.                                             GREEN BAY        WI         54313                 6004                Various                                                                                             $3.40
SHIMANO AMERICAN CORP          PO BOX 513830                                                     LOS ANGELES      CA         90051-3830            4914                Various                                                                                         $3,238.15
SHIMMER WADDOUPS               88 WILLOW ST                                                      LAYTON           UT         84041                 6002                Various                                                                                             $5.48
                                                                                                                                          TAIWAN
SHIN CREST PTE LIMITED         RM.105,6-4 CHING CHENG ST.,                                       TAIPEI                                   R.O.C.   1242                Various                                                                                       $434,179.62
SHIRA RYAN                     204 CEDAR                                                         CHASE            KS         67524                 6002                Various                                                                                             $2.55
SHIRLEE CHAMP                  2516 GLEASON ST                                                   MISSOULA         MT         59804                 6002                Various                                                                                             $5.26
SHIRLEE GILMAN                 R3 BOX # 108                                                      MADISON          SD         57042                 6002                Various                                                                                             $2.74
SHIRLENE PECK                  494 E 765TH N                                                     BRIGHAM CITY     UT         84302                 6002                Various                                                                                             $9.89
SHIRLEY A HILLMAN              PO BOX 57                                                         UPTON            WY         82730                 6002                Various                                                                                            $10.00
SHIRLEY A LAUTERBACH           4111 SOUTHGATE BLVD                                               LINCOLN          NE         68506                 6002                Various                                                                                             $2.14
SHIRLEY ANDERSON               87943 PINEVIEW RD                                                 LONG PINE        NE         69217                 6002                Various                                                                                             $5.18
SHIRLEY AWOFESO                2021 W SENECA DR                                                  APPLETON         WI         54914                 6002                Various                                                                                             $2.55
SHIRLEY BARTH                  2003 4TH ST APT 216                                               MONROE           WI         53566                 6002                Various                                                                                            $16.64
SHIRLEY BECKS                  1820 MARY'S WAY               APT 131                             KINGSFORD        MI         49802                 6004                Various                                                                                             $9.44
SHIRLEY BERGUM                 1004 PLEASANT AVE                                                 ARCADIA          WI         54612                 6002                Various                                                                                             $4.39
SHIRLEY BIESE                  3500 MID VALLEY DRIVE                                             DE PERE          WI         54115                 6004                Various                                                                                             $4.77
SHIRLEY CHMIEL                 18 B STREET                                                       ONEILL           NE         68763                 6002                Various                                                                                             $9.41
SHIRLEY COONS                  209 LINDEN LN                                                     GLENWOOD         IA         51534                 6002                Various                                                                                             $4.27
SHIRLEY DUDEK                  6244 GAY LAC LA BELLE RD                                          MOHAWK           MI         49950                 6002                Various                                                                                             $0.68
SHIRLEY E FUCHS                133 3RD AVE SW APT 215                                            HUTCHINSON       MN         55350                 6002                Various                                                                                             $1.86
SHIRLEY FAIDLEY                1850 E HUEBBE PKWY APT 230                                        BELOIT           WI         53511                 6002                Various                                                                                             $3.07
SHIRLEY FALKENSTEIN            232 SCOTTS ARMY TRL                                               BELVIDERE        IL         61008                 6002                Various                                                                                             $1.40
SHIRLEY FERGUSON               1005 8TH AVE                                                      BELVIDERE        IL         61008                 6004                Various                                                                                            $10.11
SHIRLEY FERNANDEZ              15212 R STREET                                                    OMAHA            NE         68137                 6004                Various                                                                                             $2.00
SHIRLEY FISTLER                322 EAST NORTH STREET                                             MANLY            IA         50456                 6004                Various                                                                                            $19.45
SHIRLEY GEURTS                 2701 1ST AVE S RM225                                              ESCANABA         MI         49829                 6002                Various                                                                                             $1.78




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                                                                                                                                                                                               Contingent


                                                                                                                                                                                                                           Disputed
                                                                                                                                                      Last 4 Digits of     Date Debt was
                                                                                                                                                         Account         Incurred, Basis for
            Creditor Name                Address1               Address2         Address3            City             State           Zip   Country      Number                Claim                                                                             Total Claim
                              3761 N WHITEHAWK DR APT
SHIRLEY GROSSKOPF             3001                                                            APPLETON           WI           54913                   6002               Various                                                                                                $1.89
SHIRLEY HELFERT               640 N FRANKLIN STREET                                           STANLEY            WI           54768                   6002               Various                                                                                                $1.14
SHIRLEY HOCKENSMITH           5385 STACY TRL TRLR 281                                         STACY              MN           55079                   6002               Various                                                                                                $4.22
SHIRLEY HOFER                 136 MILTON ST                                                   LAKE MILLS         WI           53551                   6002               Various                                                                                                $7.67
SHIRLEY HOY                   303 S ST CHARLES RD                                             SALMON             ID           83467                   6002               Various                                                                                                $0.79
SHIRLEY ITZEN-BAKER           616 FOURTH AVE               APT A                              STEVENS POINT      WI           54481                   6004               Various                                                                                                $1.00
SHIRLEY JOHNSON               402 KAYE STREET                                                 TYLER              MN           56178                   6004               Various                                                                                               $33.86
SHIRLEY KELLNER               R10700 KELLNER ROAD                                             SCHOFIELD          WI           54476                   6002               Various                                                                                               $22.92
SHIRLEY KLECKLER              11662 N BASSWOOD RD                                             WINSLOW            IL           61089                   6002               Various                                                                                                $6.22
SHIRLEY KLUG                  1766 ADA STREET                                                 GRAND ISLAND       NE           68803                   6004               Various                                                                                               $55.98
SHIRLEY KLUGE                 4666 ULMAN ST                                                   OSHKOSH            WI           54904                   6002               Various                                                                                                $4.66
SHIRLEY KUHN                  442 W WISCONSIN AVENUE                                          REDGRANITE         WI           54970                   6002               Various                                                                                                $2.41
SHIRLEY LESCHKE               631 HAZEL ST 416                                                OSHKOSH            WI           54901                   6002               Various                                                                                               $29.91
SHIRLEY MAE SHULTZ            128 HIGHTOWER RD                                                WHEATLAND          WY           82201                   6002               Various                                                                                                $5.04
SHIRLEY MCLAREN               876 N 1340TH E                                                  TOOELE             UT           84074                   6002               Various                                                                                                $7.86
SHIRLEY MCMASTERS             1220 WILLOWCREEK DRIVE                                          NAMPA              ID           83686                   6004               Various                                                                                                $5.00
SHIRLEY MELLEN                211 N GROVE AVE                                                 FREEPORT           IL           61032                   6002               Various                                                                                                $6.71
SHIRLEY MURDOCK               216 BACH AVE                                                    LEWISTOWN          MT           59457                   6002               Various                                                                                                $8.68
SHIRLEY NIELSEN               828 2ND ST                                                      MENASHA            WI           54952                   6002               Various                                                                                                $1.53
SHIRLEY PARKIS                121 W 5TH ST                                                    WINNER             SD           57580                   6002               Various                                                                                                $3.67
SHIRLEY RENNER                54915 833RD RD                                                  MADISON            NE           68748                   6002               Various                                                                                                $0.44
SHIRLEY RODGERS               4515 S. 43                                                      LINCOLN            NE           68516                   6004               Various                                                                                               $13.11
SHIRLEY SCHAFFART             6247 DECATUR ST                                                 OMAHA              NE           68104                   6004               Various                                                                                                $6.45
SHIRLEY SCHRAMM               130 3RD AVE SW                                                  GLENWOOD           MN           56334                   6002               Various                                                                                                $5.62
SHIRLEY SEYMER                W8359 LINCOLN AVE                                               OAKFIELD           WI           53065                   6002               Various                                                                                                $0.47
SHIRLEY SIBERT                601 W SOUTH STREET                                              RUSSELL            IA           50238                   6002               Various                                                                                                $8.08
SHIRLEY SILBERHORN            N3933 EHRKE RD                                                  FORT ATKINSON      WI           53538                   6002               Various                                                                                                $1.01
SHIRLEY SILL                  PO BOX 525                                                      NEWMAN             IL           61942                   6002               Various                                                                                                $3.51
SHIRLEY SMITH                 20884 MIDWAY AVE                                                GALLATIN           MO           64640                   6002               Various                                                                                                $0.44
SHIRLEY SMOUT                 151 S 2250TH W                                                  OGDEN              UT           84401                   6002               Various                                                                                                $9.48
SHIRLEY STEPHENS              9545 CROSS STREET                                               MISSOULA           MT           59802                   6002               Various                                                                                               $10.85
SHIRLEY TATUM                 922 8TH STREET NW                                               MASON CITY         IA           50401                   6004               Various                                                                                               $60.00
SHIRLEY VRTOL                 750 SOUTH PARK CREST DRIVE                                      FREEPORT           IL           61032                   6004               Various                                                                                               $59.20
SHIRLEY WALKER                W6952 SHOREWOOD                                                 FOND DU LAC        WI           54937                   6002               Various                                                                                                $6.14
SHIRLEY WEERHEIM              PO BOX 1103 PMB 279                                             AFTON              WY           83110                   6002               Various                                                                                                $4.00
SHIRLEY WHITBECK              3310 VALENCIA DR APT N 201                                      IDAHO FALLS        ID           83404                   6002               Various                                                                                                $2.77
SHIRLEY WHITTIER              4034 SUNNYBROOK                                                 POCATELLO          ID           83202                   6002               Various                                                                                                $6.79

SHIRLEY WINEGARDEN            1500 PEPPER AVE                                                 WISCONSIN RAPIDS   WI           54494                   6004               Various                                                                                             $2.00
SHIRLEY WRIGHT                9048 W. ROCKFORD BAY RD                                         COEUR D ALENE      ID           83814                   6004               Various                                                                                            $39.00
SHOCK DOCTOR                  EB147                        PO BOX 1691                        MINNEAPOLIS        MN           55480-1691              7743               Various                                                                                         $8,973.61
                              PAYLESS SHOESOURCE
SHOE SOURCING INCORPORATED    INCORPORATED                 PO BOX 535523                      ATLANTA            GA           30353-5523              8191               Various                                                                                        $91,789.12
SHOLAWNA M GUNTER             N1311 SPEER RD                                                  WAUPACA            WI           54981                   6002               Various                                                                                             $1.73
SHONA LITTLE                  111 CUSTER ST LOT 611                                           BELLE FOURCHE      SD           57717                   6002               Various                                                                                             $5.84
SHONETTA MILTON               6324 ELISON AVE                                                 OMAHA              NE           68104                   6004               Various                                                                                             $2.00
SHONIECE ROBERTSON            2275 OAKWAY TERRACE                                             EUGENE             OR           97401                   6004               Various                                                                                            $18.98
SHONTELL OWENS                3212 LAFAYETTE AVE                                              OMAHA              NE           68131                   6004               Various                                                                                             $6.00

SHOPKO                        TIM BOEHM                    216 S MILITARY AVE                 GREEN BAY          WI           54303                   6004               Various                                                                                                $4.70
                                                           701 S CHURCH
SHOPKO 4019                   ATTN: BRENDA LEWIS           STREET                             WATERTOWN          WI           53094                   6004               Various                                                                                            $16.77
SHOPKO EYECARE 4003           3415 CALUMET AVENUE                                             MANITOWOC          WI           54220                   6004               Various                                                                                           $194.97




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            Creditor Name                    Address1             Address2            Address3             City            State           Zip   Country     Number              Claim                                                                             Total Claim
SHOPKO EYECARE 4005               230 N WISCONSIN ST                                               DE PERE            WI           54115                 6004              Various                                                                                            $48.30
SHOPKO EYECARE 4008               1105 E GRAND AVE                                                 ROTHSCHILD         WI           54474                 6004              Various                                                                                           $501.97
SHOPKO EYECARE 4-011              500 S CARPENTER AVENUE                                           KINGSFORD          MI           49802                 6004              Various                                                                                             $0.33

SHOPKO EYECARE 4012               1100 E RIVERVIEW EXPY                                            WISCONSIN RAPIDS   WI           54494                   6004            Various                                                                                            $20.96
SHOPKO EYECARE 4029               7401 MINERAL POINT RD                                            MADISON            WI           53717                   6004            Various                                                                                            $45.60
SHOPKO EYECARE 4032               2101 W BROADWAY                                                  MONONA             WI           53713                   6004            Various                                                                                            $14.15
SHOPKO EYECARE 4037               2677 S PRAIRIE VIEW RD                                           CHIPPEWA FALLS     WI           54729                   6004            Various                                                                                            $49.60
SHOPKO EYECARE 4046               5656 N 90 ST                                                     OMAHA              NE           68134                   6004            Various                                                                                           $200.00
SHOPKO EYECARE 4049               500 N HWY 281                                                    ABERDEEN           SD           57401                   6004            Various                                                                                            $23.40
SHOPKO EYECARE 4052               615 S MONROE AVE                                                 MASON CITY         IA           50401                   6004            Various                                                                                           $538.00
SHOPKO EYECARE 4084               1553 W 9000 S                                                    WEST JORDAN        UT           84088                   6004            Various                                                                                           $122.00
SHOPKO EYECARE 4-097              4850 W 3500 S                                                    WEST VALLEY CITY   UT           84120                   6004            Various                                                                                           $259.59
SHOPKO EYECARE 4-098              2815 CHAD DRIVE                                                  EUGENE             OR           97408                   6004            Various                                                                                            $27.50
SHOPKO EYECARE 4108               955 N MAIN ST                                                    SPANISH FORK       UT           84660                   6004            Various                                                                                            $63.00
SHOPKO EYECARE 4113               5500 MARTIN WAY                                                  LACEY              WA           98506                   6004            Various                                                                                           $159.50
SHOPKO EYECARE 4-113              5500 MARTIN WAY                                                  LACEY              WA           98506                   6004            Various                                                                                           $186.00
SHOPKO EYECARE 4127               1450 E GENEVA STREET                                             DELAVAN            WI           53115                   6004            Various                                                                                            $22.14
SHOPKO EYECARE 4-128              1370 HWY 2 E                                                     KALISPELL          MT           59901                   6004            Various                                                                                            $44.56
SHOPKO EYECARE 4132               320 S ACCESS RD                                                  RICE LAKE          WI           54868                   6004            Various                                                                                            $71.00
SHOPKO EYECARE 4134               1450 S GRAND AVE                                                 PULLMAN            WA           99163                   6004            Various                                                                                           $262.99
SHOPKO EYECARE 4177               2320 LINEVILLE ROAD                                              GREEN BAY          WI           54313                   6004            Various                                                                                           $128.00
SHOPKO EYECARE 4-662              211 S 23RD ST                                                    PLATTSMOUTH        NE           68048                   6004            Various                                                                                             $6.05
SHOPKO EYECARE 4788               200 COMMERCE DRIVE                                               COLUMBUS           WI           53925                   6004            Various                                                                                            $53.10
SHOPKO OPTICAL 4-010              1150 W WASHINGTON                                                MARQUETTE          WI           59855                   6004            Various                                                                                           $776.00
SHOPKO OPTICAL 4037               2677 S PRAIRIE VIEW ROAD                                         CHIPPEWA FALLS     WI           54729                   6004            Various                                                                                             $5.65
SHOPKO OPTICAL 4-048              2005 KRENZIEN STREET                                             NORFOLK            NE           68701                   9042            Various                                                                                           $319.94
SHOPKO OPTICAL 4-078              1845 HAINES AVENUE                                               RAPID CITY         SD           57701                   4823            Various                                                                                           $169.97
SHOPKO OPTICAL 4122               1340 N WENATCHEE AVE                                             WENATCHEE          WA           98801                   6004            Various                                                                                           $152.09

                                                              3271 MARKETPLACE
SHOPKO OPTICAL 4-180              ATTN BECKY                  DRIVE                                COUNCIL BLUFFS     IA           51501                   6004            Various                                                                                            $69.00
SHOPKO PHARMACY 2-049             500 N HIGHWAY 281                                                ABERDEEN           SD           57401-1821              1486            Various                                                                                           $564.45
SHOPKO PHARMACY 2-108             955 N MAIN STREET                                                SPANISH FORK       UT           84660-1150              7436            Various                                                                                           $250.25
SHOPKO PHARMACY 2-687             202 SW KENT                                                      GREENFIELD         IA           50849                   4903            Various                                                                                            $14.00
                                                             2221 S WEBSTER
SHOPKO WEST ASSOCIATES            C/O MANAGEMENT ENTERPRISES AVE STE 111                           GREEN BAY          WI           54301                   2758            Various                                                                                         $9,300.00
SHOPPING NEWS                     1065 4TH AVENUE W                                                MONROE             WI           53566                   1338            Various                                                                                            $49.00
SHOPS AT FOX RUN LLC              1204 14TH STREET SW                                              SIDNEY             MT           59270-5410              9381            Various                                                                                         $1,353.25
SHORT STOP #1 LLC                 2206 W MAIN STREET                                               NEWCASTLE          WY           82701                   6498            Various                                                                                          $190.00

SHORT/ TRACY                      STORE 029                   SHOPKO EMPLOYEE                      GREEN BAY          WI           54307-9060              0540            Various                                                                                               $10.35
                                                              410 NORTH BELL
SHOWTIME SALES & MARKETING INC    VICE PRESIDENT OF SALES     STREET                               FREMONT            NE           68025                   1813            Various                                                                                        $57,057.06
SHRADDHA BISTA                    1740 WEST BROADWAY          APT 205                              WINONA             MN           55987                   6004            Various                                                                                            $25.50
SHRED IT USA                      28883 NETWORK PLACE                                              CHICAGO            IL           60673-1288              3431            Various                                                                                        $51,849.10
SHRUTI SUBRAMANIAN                3251 W MAIN STREET          APT #202                             SUN PRAIRIE        WI           53590                   6004            Various                                                                                            $30.97
SHUAYB MUSE                       1505 6TH AVE S APT 32                                            SAINT CLOUD        MN           56303                   6004            Various                                                                                             $3.00
SHUSHU DABI                       604 W BENNET ST #10                                              SIOUX FALLS        SD           57104                   6004            Various                                                                                            $15.60
SHYANN BECHTEL                    519 BEGONIA LANE                                                 ALTOONA            WI           54720                   6004            Various                                                                                             $3.00
SHYANN WAY                        312 SOUTHWEST 11TH STREET                                        ANDREWS            TX           79714                   6002            Various                                                                                             $8.25
SHYLA WILLIAMS                    904 MASON ST                                                     RHINELANDER        WI           54501                   6004            Various                                                                                             $3.00
SHYLAH LIETZ THOMAS               40 N. SHORE DR                                                   BELLEVILLE         WI           53508                   6004            Various                                                                                             $2.00
SHYLER SANDERS                    1018 W 4TH ST                                                    MOUNT CARMEL       IL           62863                   6002            Various                                                                                             $4.77




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                                                                                                                                                                Account         Incurred, Basis for
             Creditor Name                   Address1                  Address2          Address3                City        State           Zip    Country     Number                Claim                                                                             Total Claim
SHYLO PRZYBYLSKI                  76421 WEINBERGER RD                                                    BUTTERNUT        WI         54514                  6002                Various                                                                                             $8.33
SHYMEL SMITH                      1855 S 200TH E APT G4                                                  CLEARFIELD       UT         84015                  6002                Various                                                                                             $4.66
SI ANN LYON                       3210 SERENITY CIR #4                                                   LINCOLN          NE         68516                  6004                Various                                                                                             $4.00
SID CREA                          1508 TAMMANY CRK RD                                                    LEWISTON         ID         83501                  6002                Various                                                                                             $5.21
SIDNEY DIMOND                     809 EISENHOWER ST                                                      WINNER           SD         57580                  6002                Various                                                                                             $4.16
SIDNEY HUSSEY                     27600 HIGHLINE RD                                                      ORAL             SD         57766                  6002                Various                                                                                             $7.34
SIDNEY JAIL                       300 12TH AVE NW                                                        SIDNEY           MT         59270                  6002                Various                                                                                           $139.57
SIDNEY O WENDT                    PO BOX 181                                                             SUNBURST         MT         59482                  6002                Various                                                                                             $2.27
SIDNEY PATTERSON                  160 E 800TH S APT B215                                                 BRIGHAM CITY     UT         84302                  6002                Various                                                                                             $3.53
SIDNEY PROM                       5809 45TH AVE SE                                                       SAINT CLOUD      MN         56304                  6002                Various                                                                                             $1.04
SIDNEY YARDLEY                    431 MULDER DR                                                          LINCOLN          NE         68510                  6004                Various                                                                                            $19.04
SIEN SUON                         PO BOX 8484                                                            JANESVILLE       WI         53547                  6004                Various                                                                                            $25.00
SIENNA COPENHAVER                 1231 8TH ST S                                                          WAITE PARK       MN         56387                  6004                Various                                                                                            $55.67

                                  UNIT 1005, 10/F, HARBOUR        8 HOK CHEUNG                                                                     HONG
SIENNA INTERNATIONAL              CENTRE TOWER2,                  STREET, HUNGHOM                        KOWLOON                                   KONG      8754               Various                                                                                        $38,881.74
SIERRA BELFREY                    1315 LANCER VILLAGE DR          APT 205                                LA CRESCENT      MN         55947                   6004               Various                                                                                             $3.00
SIERRA HAMM                       1311 E 10TH AVE                                                        SPOKANE VALLEY   WA         99216                   6004               Various                                                                                            $24.30
SIERRA L WISE                     28605 290TH AVE                                                        VALENTINE        NE         69201                   6002               Various                                                                                             $4.41
SIERRA MARIE MATHIEU              N168 W20585 MAIN ST APT 2                                              JACKSON          WI         53037                   6002               Various                                                                                             $7.56

SIERRA MITCHELL                   W 6147 SHAGBARK HICKORY LN.                                            MENASHA          WI         54952                   6004               Various                                                                                                $1.00
SIERRA PENNIEX                    312 PASQUE STREET                                                      SUN PRAIRIE      WI         53590                   6004               Various                                                                                                $5.00
                                                                                                                                                                                6/3/2018 -
SIERRA PROPANE                    P.O. BOX 1158                                                          SPRINGERVILLE    AZ         85938                   7821               12/21/2018                                                                                       $537.01
SIERRA SANDERS                    2304 SUNSET DRIVE               APT. 6                                 EAU CLAIRE       WI         54703                   6004               Various                                                                                            $20.00
SIERRA SCHILLER                   536 19TH AVE                                                           MONROE           WI         53566                   6004               Various                                                                                            $65.00
SIERRA SCHMITT                    845 COLUMBUS STREET                                                    SUN PRAIRIE      WI         53590                   6004               Various                                                                                             $3.00
SIERRA SENGBUSCH                  W920 HARVESTORE RD.                                                    BRILLION         WI         54110                   6004               Various                                                                                             $1.00
SIERRA STOUT                      434 LILAC LANE                                                         ALTOONA          WI         54720                   6004               Various                                                                                             $3.00
SIERRIA LABRA                     679 FOSTER DR                                                          IDAHO FALLS      ID         83401                   6004               Various                                                                                            $10.00
SIGN LANGUAGE GROUP INCORPORAT    1478 KENWOOD DRIVE                                                     MENASHA          WI         54952                   4586               Various                                                                                          $241.35
SIGNATURE BRANDS LLC              PO BOX 198391                                                          ATLANTA          GA         30384-8391              2641               Various                                                                                         $3,910.20
SIGNET ARMORLITE INCORPORATED     PO BOX 3309                                                            CAROL STREAM     IL         60132-3309              5319               Various                                                                                          $173.91
SILAS ALEXAN GRAWBERGER           BOX 22                                                                 SPRAGE           MB         56751                   6002               Various                                                                                             $7.67
SILAS GARBAGE SERVICE             PO BOX 185                                                             WEST POINT       NE         68788                                      Various                                                                                          $750.00
SILVA SALTAGA                     170 JACKSON ST                                                         TWIN FALLS       ID         83301                   6002               Various                                                                                             $2.93
SILVER D RENTALS                  PAUL ROSALES                    508 S ELM                              ULYSSES          KS         67880                   0048               Various                                                                                            $34.00
SILVER LEAD COMPANY               1115 CENTER STREET                                                     LANSING          MI         48906                   6057               Various                                                                                        $16,882.53
SILVERTIP PROPANE-ROUNDUP         AMERICAN WELDING & GAS          PO BOX 30817                           BILLINGS         MT         59107                   5823               Various                                                                                          $292.60
SILVIA ARIAS BONILLA              920 S MAPLE AVE                                                        FREEPORT         IL         61032                   6002               Various                                                                                             $1.53
SILVIA DALESSI                    3070 S RANCHO VIA                                                      IDAHO FALLS      ID         83406                   6004               Various                                                                                            $56.80
SILVIA DELGADO                    523 LAURA ST                                                           GREEN BAY        WI         54302                   6004               Various                                                                                          $117.00
SILVIANO RAMIREZ                  719 OHIO ST                                                            HAMPTON          IA         50441                   6004               Various                                                                                            $25.00
SIMKO FAMILY                      2408 14TH ST S                                                         LA CROSSE        WI         54601                   6002               Various                                                                                             $4.19

SIMLE SAVE RX INC                 3350 N ARIZONA AVENUE SUITE 2                                          CHANDLER         AZ         85225                    6002              Various                                                                                          $250.06
SIMMONS BEDDING                   PO BOX 945655                                                          ATLANTA          GA         30394-5655               3950              Various                                                                                        $55,796.71

SIMMONS/ RACHAEL                  STORE 705                       SHOPKO EMPLOYEE 2001 EAST 9TH STREET   TRENTON          MO         64683-2599              9735               Various                                                                                                $2.30
SIMON CARCAGNO                    2233 COMMONWEALTH AVE                                                  MADISON          WI         53726                   6004               Various                                                                                                $5.40
SIMON GILLHAM                     1138 MOORLAND RD APT 115                                               MADISON          WI         53713                   6002               Various                                                                                                $1.34
SIMON J FOURSTAR                  1127 MARIE AVE NUM # 3                                                 COEUR D ALENE    ID         83815                   6002               Various                                                                                                $5.15
SIMON JERNIGAN                    180 EARL DRIVE                                                         TWIN FALLS       ID         83301                   6004               Various                                                                                               $17.02




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                                                                                                                                                         Account         Incurred, Basis for
             Creditor Name                      Address1           Address2           Address3           City          State         Zip     Country     Number                Claim                                                                             Total Claim
SIMON KOSEL                         445 S GRANDVIEW                                              DUBUQUE            IA         52003                 6004                Various                                                                                            $30.00
SIMON MARTINEZ JR                   523 S MAIN ST APT 5                                          WAUPACA            WI         54981                 6002                Various                                                                                             $9.23
SIMONA CARREON                      319 TRAILER CT                                               PLAINFIELD         WI         54966                 6002                Various                                                                                             $8.93
SIMONA MARTINEZ                     3305 RIVER ROAD                                              EUGENE             OR         97404                 6004                Various                                                                                            $20.00
SIMONA MERCADO                      347 HOLBROOK                                                 IDAHO FALLS        ID         83401                 6004                Various                                                                                             $3.65
SIMONE MARTINSEN                    BOX 283 290 JEFFERSON                                        AFTON              WY         83110                 6002                Various                                                                                            $10.00
SIMONE REZAC                        5101 WEST ROKEBY RD                                          LINCOLN            NE         68523                 6004                Various                                                                                            $39.94
SIMONE SULLIVAN                     305 WEST N ST                                                KIESTER            MN         56051                 6004                Various                                                                                             $3.00
SIMONE VANCE                        E4465 SPRUCE RD                                              ELEVA              WI         54738                 6002                Various                                                                                             $3.48
SINCRONE GRESHAM                    1717 LAKEPOINT DRIVE                                         MADISON            WI         53713                 6004                Various                                                                                             $1.00
SINDY VOLK                          1704 W PALMER AVE                                            SIOUX CITY         IA         51103                 6002                Various                                                                                             $7.10
SINGER SEWING COMPANY               DEPT AT 952745                                               ATLANTA            GA         31192-2745            9244                Various                                                                                        $26,987.00
                                    NO. 29, LANE 3999, WIUPU
SINGSONG GIFTS                      ROAD, KANGQIAO PUDONG,                                       SHANGHAI                      201319       CHINA     2406               Various                                                                                       $546,818.74
SINH KEOVILAY                       809 PERCHING BLVD                                            WORTHINGTON        MN         56187                  6004               Various                                                                                             $3.00
SINLAP VONGSAY                      3226 S 4355TH W                                              WVC                UT         84120                  6002               Various                                                                                             $6.38
SIOBHAN OWEN                        300 WEST H ST                                                BURLEY             ID         83318                  6004               Various                                                                                            $25.00
SIONE TALANOA                       2671 W LEDGE WOOD DR                                         SALT LAKE CITY     UT         84129                  6004               Various                                                                                            $23.00
SIOUXLAND DISTRICT HEALTH DEPA      1014 NEBRASKA STREET                                         SIOUX CITY         IA         51105                  8840               Various                                                                                          $300.00
SIOUXLAND FORKLIFT                  1110 N. CLIFF AVENUE                                         SIOUX FALLS        SD         57103                                     Various                                                                                          $819.97
SIOUXLAND FORKLIFT LIMITED          1110 N CLIFF AVENUE                                          SIOUX FALLS        SD         57103                  8842               Various                                                                                            $92.11
SIRIUS COMPUTER SOLUTIONS           PO BOX 202289                                                DALLAS             TX         75320-2289             4259               Various                                                                                        $22,455.75
SIRVANTEZE JOHNSON                  1015 N SHARON ST                                             APPLETON           WI         54914                  6004               Various                                                                                             $1.00
SISSETON/ CITY OF                   406 2ND AVENUE WEST                                          SISSETON           SD         57262                  2477               Various                                                                                          $182.90
                                                                                                                                                                         10/2/2018 -
SISTER BAY WATER & SEWER UTILITY    PO BOX 655                                                   SISTER BAY         WI         54234                  3.02               12/31/2018                                                                                       $756.66
SITTE FAMILY                        1636 HILL RD                                                 SISTER BAY         WI         54234                  6002               Various                                                                                             $0.60
SIVEA FAASOU                        2003 HYANNIS AVE                                             WEST VALLEY        UT         84119                  6004               Various                                                                                            $25.00
SIXTEENTH STREET DEVELOPMENT        1705 STARDANCE CIRCLE                                        LONGMONT           CO         80504                  4101               Various                                                                                         $7,960.50
                                                                               1500 E SHERIDAN
SKALA/ MATT                         STORE 2-629                SHOPKO EMPLOYEE STREET            ELY                MN         55731                   4070              Various                                                                                           $136.88
                                                               225 SEPULVEDA
SKECHERS USA INCORPORATED           VICE PRESIDENT OF SALES    BOULEVARD                         MANHATTAN BEACH CA            90266                  3447               Various                                                                                       $421,347.24
SKIE SCHIERNBECK                    211 4TH AVE NE                                               WATERTOWN       SD            57201                  6002               Various                                                                                             $7.92
                                                               W2359 STATE HWY
SKINKIS LAWN & LANDSCAPE LLC        DAVID SKINKIS              156                               PULASKI            WI         54162                  9707               Various                                                                                          $189.00
SKOKAN FAMILY                       PO BOX 324                                                   PACIFIC JUNCTIO    IA         51561                  6002               Various                                                                                             $5.34
SKULLCANDY INCORPORATED             ATTN ACCOUNTS RECEIVABLE   PO BOX 677974                     DALLAS             TX         75267-7974             9423               Various                                                                                       $158,089.60
SKY BLUE BRAULICK                   713 N 26TH ST                                                BILLINGS           MT         59101                  6002               Various                                                                                             $1.18
SKY KEILER                          8676 BANNER HILL RD                                          OMRO               WI         54963                  6002               Various                                                                                             $6.82
SKY POWELKA                         409 E BLUFF                                                  MADISON            WI         53704                  6004               Various                                                                                            $12.49
SKY THAO                            925 S 4TH AVE.                                               WAUSAU             WI         54401                  6004               Various                                                                                            $55.00
SKYE LAPLANTE                       2930 S 19TH ST                                               MANITOWOC          WI         54220                  6002               Various                                                                                             $8.14
SKYE OLIGNEY                        212 8TH STREET                                               NEKOOSA            WI         54457                  6004               Various                                                                                            $15.00
SKYE SPRUELL                        101560 HIGHWAY 12 # 112                                      OROFINO            ID         83544                  6002               Various                                                                                             $7.07
SKYELEAH ARY                        159 F ROAD                                                   GRAND ISLAND       NE         68801                  6004               Various                                                                                            $10.02
SKYLAR DIKE                         1404 14TH ST                                                 WHEATLAND          WY         82201                  6002               Various                                                                                             $5.73
SKYLAR MAYNARICH                    1221 WASHINGTON AVE                                          ESCANABA           MI         49829                  6002               Various                                                                                             $9.73
SKYLAR RAYMOND                      112 WEST 19TH AVE                                            LEWISTON           ID         83501                  6004               Various                                                                                            $20.00
SKYLAR STRAIT                       918 GOULD ST                                                 LA CROSSE          WI         54603                  6002               Various                                                                                             $1.89
SKYLAR T GARRO                      200 E KEAYS ST APT 3                                         BUFFALO            WY         82834                  6002               Various                                                                                             $0.93
SKYLAR ZAMZOW                       263 EAST FOLLETT STREET                                      FOND DU LAC        WI         54935                  6004               Various                                                                                            $34.00
SKYLEE WOLFE                        1630 CAMBRIDGE AVE                                           SHEBOYGAN          WI         53081                  6004               Various                                                                                             $2.00
SKYLER FRENICK                      201 E HARRISON AVE                                           COEUR D ALENE      ID         83814                  6002               Various                                                                                             $8.11




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SKYLER POLLARD                    83 S 500TH E                                                         BRIGHAM CITY       UT           84302                  6002              Various                                                                                                $6.22
SKYLER SPADE                      1200 SHORE DRIVE                                                     MARINETTE          WI           54143                  6004              Various                                                                                                $1.00
SKYLER WARNER                     711 E. FRANKLIN STREET                                               APPLETON           WI           54911                  6004              Various                                                                                                $3.00

SKYLINE PRODUCTS INC              77 NORTH CENTRE AVE SUITE 305                                        ROCKVILLE CENTRE   NY           11570-0000               1331            Various                                                                                          $593.54
SKYLOR KUNTZ                      225 W GRIFFITH B                                                     POCATELLO          ID           83201                    6004            Various                                                                                            $22.25
SL DEFOREST LLC                   6902 PARKSIDE CIRCLE                                                 DEFOREST           WI           53532                    6666            Various                                                                                            $19.49
SLADE HAWKS                       8699 W 3100TH S                                                      MAGNA              UT           84044                    6002            Various                                                                                             $5.78
SLALOM LLC                        DBA SLALOM CONSULTING         PO BOX 101416                          PASADENA           CA           91189-1416               5876            Various                                                                                        $31,185.30
                                                                4101 CARNEGIE
SLIM CHICKENS                     ATTN TIFFANY WELDON           PLACE                                  SIOUX FALLS        SD           57106                    6395            Various                                                                                          $496.55
SLOAN HORGAN                      120 PLEASANT AVE                                                     BALSAM LAKE        WI           54810                    6004            Various                                                                                            $25.00
SLOANE RETALLIC TRUE              4359 COLONIAL WAY                                                    IDAHO FALLS        ID           83404                    6004            Various                                                                                            $63.35
SMALL WORLD TRADING CO INC        90 WINDWARD WAY                                                      SAN RAPHAEL        CA           94901                    0349            Various                                                                                        $11,163.12

SME CONSOLIDATED                  1 EAST 33RD STREET 3RD FLOOR                                         NEW YORK           NY           10016                    8517            Various                                                                                       $168,131.25
SMITH & VANDIVER                  480 AIRPORT BLVD                                                     WATSONVILLE        CA           95076                    5927            Various                                                                                         $3,532.50
SMITH BROTHERS LEASING            2151 CASS ROAD                                                       TRAVERSE CITY      MI           49684                    5787            Various                                                                                          $560.00
SMITH FAMILY                      PO BOX 206                                                           WASHINGTON ISLA    WI           54246                    6002            Various                                                                                             $8.27

SMITH/ HOLLY                      STORE 4-014                    SHOPKO EMPLOYEE                       GREEN BAY          WI           54307-9060               3378            Various                                                                                               $16.35

SMITH/ JASON M                    STORE 114                      SHOPKO EMPLOYEE                       GREEN BAY          WI           54307-9060               1996            Various                                                                                           $110.16

SMITH/ KEILEE                     STORE 4-031                    SHOPKO EMPLOYEE                       GREEN BAY          WI           54307-9060               9706            Various                                                                                            $40.27
SMITHFIELD FOODS LLC              2616 COLLECTION CTR DR                                               CHICAGO            IL           60693                    6339            Various                                                                                         $6,479.13
                                  C/O BLACK REALTY
SMITHLIN MCINTIRE & YOUNG         MANAGEMENT INC                 SUITE 600           107 S HOWARD      SPOKANE            WA           99201                    6179            Various                                                                                        $35,286.13
SMOKIN-JOE DOERKSEN               BOX 22                                                               MENISINO           MB           R0A1A         CANADA     6002            Various                                                                                             $1.32
SMT LITTLEFIELD PARTNERS LTD      8235 DOUGLAS AVE SUITE 815                                           DALLAS             TX           75225                    2448            Various                                                                                         $2,586.47
SNACK IT FORWARD LLC              FSW FUNDING                    PO BOX 467                            DES MOINES         IA           50302-0000               1052            Various                                                                                         $4,737.65
                                  32978 COLLECTIONS CENTER
SNAGAJOB.COM INC                  DRIVE                                                                CHICAGO            IL           60693-0329               6182            Various                                                                                         $6,750.00
SNATCH (FELI BERTHIAUME           5666 W MAIN STREET RD                                                STERLING           MI           48659                    6002            Various                                                                                             $1.37
SNOW JOE LLC (C-HUB)              WELLS FARGO NA                 PO BOX 842665                         BOSTON             MA           02284-2665               9666            Various                                                                                         $1,832.74
SNYDER FAMILY                     4025 ECHO VALLEY DR                                                  EAU CLAIRE         WI           54701                    6002            Various                                                                                             $9.42
SNYDERS LANCE                     PO BOX 281953                                                        ATLANTA            GA           30384-1953               0320            Various                                                                                         $6,336.01
SOBEL WESTEX DBA BALTIC LINEN     2670 W WESTERN AVE                                                   LAS VEGAS          NV           89109                    0273            Various                                                                                     $1,365,853.39
                                                                 608 SOUTH MAIN
SOCKS & ACCESSORY BRANDS GLOBA    Y LLC                          STREET                                HOPKINSVILLE       KY           42240                    6995            Various                                                                                        $27,846.18
SOCORRO COBOS                     317 DAWSON AVE                                                       BELOIT             WI           53511                    6004            Various                                                                                            $88.02
SOCORRO GARCIA                    911 JONES ST                                                         SIOUX CITY         IA           51104                    6004            Various                                                                                             $5.01
SOCORRO TAVAREZ                   407 S SHERMAN AVE                                                    LYONS              KS           67554                    6002            Various                                                                                             $3.42
SODA STREAM USA INCORPORATED      ACCT 1526                      PO BOX 419685                         BOSTON             MA           02241-9685               9504            Various                                                                                       $125,200.49
SOE REH                           1209 1ST NE APT 308                                                  CALEDONIA          MN           55921                    6004            Various                                                                                             $3.00
SOE WIN                           4823 N 66TH ST                 #147                                  OMAHA              NE           68104                    6004            Various                                                                                             $2.00
SOFIA ARIAS                       318 N 5TH ST LOT 20                                                  ABBOTSFORD         WI           54405                    6002            Various                                                                                             $8.68
SOFIA FREEMAN                     505 ETHEL AVE                                                        HANCOCK            MI           49930                    6002            Various                                                                                             $8.30
SOFIO PONCE                       1915 NELSON                                                          BELOIT             WI           53511                    6004            Various                                                                                            $94.53
SOFT AIR USA INC                  DEPT 41647                     PO BOX 650823                         DALLAS             TX           75265-0000               7439            Various                                                                                        $15,777.64
                                                                 3120 W LAKE
SOHO CORPORATION                  VICE PRESIDENT OF SALES        AVENUE                                GLENVIEW           IL           60025-1294               7246            Various                                                                                          $591.00
SOLA HOUGH                        81 E 400TH S                                                         SMITHFIELD         UT           84335                    6002            Various                                                                                             $1.01
SOLARWINDS INCORPORATED           PO BOX 730720                                                        DALLAS             TX           75373-0720               7908            Various                                                                                         $2,949.78




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SOLBERG FAMILY                       4630 W LOWES CRK RD                                    EAU CLAIRE        WI         54701                6002              Various                                                                                             $2.96
SOLID WASTE AGENCY OF NW NEBRASKA    PO BOX 590                                             CHADRON           NE         69337                                  Various                                                                                          $416.40
SOLOMON GABR WILLIAMS                2420 E PETER ST APT 8                                  APPLETON          WI         54915                6002              Various                                                                                             $8.22
SOM PHETDA                           4816 SALLY LANE NW                                     ROCHESTER         MN         55901                6004              Various                                                                                             $3.00
SOMERSET GROUP MOOD ENTERTAIN        20048 NE SAN RAFAEL ST                                 PORTLAND          OR         97230-0000           1998              Various                                                                                        $62,354.25
SOMMER L WEAST                       1986 10TH AVE                                          CAMERON           WI         54822                6002              Various                                                                                             $7.95
SOMMER LOREE SMITH                   3665 S TIMBER TRL                                      SUAMICO           WI         54173                6002              Various                                                                                             $4.00
SON PHAM                             2717 GRAND VISTA CIR                                   IDAHO FALLS       ID         83404                6002              Various                                                                                             $7.95
SONDRA BIRLING                       1083 HOME AVE                                          MENASHA           WI         54952                6004              Various                                                                                             $9.00
SONDRA DANET JOHNSTON                HC 6 BOX 324A                                          DONIPHAN          MO         63935                6002              Various                                                                                             $4.38
SONDRA L. GAHL                       438 COUNTY J                                           LITTLE SUAMICO    WI         54141                6002              Various                                                                                             $2.68
SONDRA ROBIDOUX                      2001 MCLEAN ST                                         FALLS CITY        NE         68355                6002              Various                                                                                             $1.78
SONDRA S RYAN                        1840 2ND AVE S                                         WISCONSIN RAPID   WI         54495                6002              Various                                                                                             $4.96
SONIA ALONZO                         2121 HEAVE WAY 206                                     SUN PRAIRIE       WI         53590                6004              Various                                                                                            $20.00
SONIA BERNECHE                       25 S 850 E AAPT 1                                      PROVO             UT         84606                6004              Various                                                                                             $3.00
SONIA CELEDON GONZALEZ               2206 BARBARA AVE                                       BELLEVUE          NE         68147                6004              Various                                                                                            $23.00
SONIA LOPEZ                          1439 HAWTHORNE AVE                                     CRETE             NE         68333                6002              Various                                                                                             $1.51
SONIA MARIE BEYER                    W3792 SPENCER RD                                       LOYAL             WI         54446                6002              Various                                                                                             $2.82
SONIA MORENO                         1010 N 500TH E                                         OGDEN             UT         84404                6002              Various                                                                                             $6.82
SONIA NAJERA                         844 WINIFRED ST                                        WORTHINGTON       MN         56187                6004              Various                                                                                             $3.00
SONIA PRITCHARD                      16103 SCHWARTZ WALD RD                                 CLEVELAND         WI         53015                6004              Various                                                                                            $44.00
SONIA SKOGEN                         RT BOX # 2213                                          KASSON            MN         55944                6002              Various                                                                                             $0.47
SONJA K MAGNUSON                     7513 285TH AVE NE                                      NORTH BRANCH      MN         55056                6002              Various                                                                                             $6.55
SONJA MEYER                          1522 E 5TH ST                                          SIOUX FALLS       SD         57103                6002              Various                                                                                             $7.12
SONJA SMITHBERG                      2620 S 50TH ST                                         OMAHA             NE         68106                6004              Various                                                                                             $2.00
SONNI REDDAY                         12503 456TH AVE                                        SISSETON          SD         57262                6002              Various                                                                                             $7.75
SONNIA GOMEZ                         503 S 6TH ST                                           GREYBULL          WY         82426                6002              Various                                                                                             $6.79
SONNY HUDSON                         678 TRAILSWAY LN                                       NEENAH            WI         54956                6002              Various                                                                                             $7.10
SONNY SHIPLER                        1960 ARROWHEAD DR                                      BELOIT            WI         53511                6002              Various                                                                                             $3.04
SONNY SILVERTHORNE                   99 OLD ALHAMBRA RD                                     CLANCY            MT         59634                6002              Various                                                                                             $0.44
SONNY THAO                           1260 SOUTHFIELD DR.                                    MENASHA           WI         54952                6004              Various                                                                                            $23.00
SONORA KITTEAUX                      BOX 131                                                MISSION           SD         57555                6002              Various                                                                                             $8.99
SONY PICTURES HE MGM SBT             22470 NETWORK PLACE                                    CHICAGO           IL         60673-2470           1210              Various                                                                                          $292.30
SONYA ATKINSON                       234 NECTAR LN                                          OROFINO           ID         83544                6002              Various                                                                                             $5.01
SONYA BARKER                         POB 482 PMB 324                                        ADAMS             WI         53910                6002              Various                                                                                             $3.61
SONYA BRAGG                          307 DIAMOND AVE LOT 307                                JANESVILLE        WI         53546                6002              Various                                                                                             $4.79
SONYA CABLE                          46 IRIS LN                                             SALMON            ID         83467                6002              Various                                                                                             $0.41
SONYA COKER                          23 RAMBLE INN ROAD                                     SUN RIVER         MT         59483                6004              Various                                                                                             $3.00
SONYA EDGMAND                        PO BOX 344                                             WESTON            OR         97886                6004              Various                                                                                            $20.00
SONYA ERTL                           3880 W APPLE RD                                        CORTLAND          NE         68331                6004              Various                                                                                             $2.00
SONYA ESPINOZA                       739 COOK ST                                            OGDEN             UT         84404                6002              Various                                                                                             $2.88
SONYA GUGELMAN                       706 10TH ST                                            GOTHENBURG        NE         69138                6002              Various                                                                                            $10.00
SONYA MARIE KANE                     307 D SCHOLTEN DR                                      STEEN             MN         56173                6002              Various                                                                                             $6.36
SONYA PARKSOME                       1244 N 9TH AV #315                                     MILWAUKEE         WI         53205                6004              Various                                                                                             $1.00
SONYA QUADE-FRISBEE                  308 LINN                                               JANESVILLE        WI         53546                6004              Various                                                                                             $3.00
SOPHEANEARY YOU                      825 SOUTH FRONT ST                                     MANKATO           MN         56001                6004              Various                                                                                             $3.00
SOPHIA ARIZOLA                       6521 LOGAN AVE                                         LINCOLN           NE         68507                6004              Various                                                                                             $4.00
SOPHIA CARPIAUX                      2037 W CHARLES ST                                      APPLETON          WI         54914                6004              Various                                                                                            $29.52
SOPHIA RIED                          N16740 HILINE AVE                                      DORCHESTER        WI         54425                6002              Various                                                                                             $0.82
SOPHIA SEBAN                         91279 LEAVITT LANE                                     SPRINGFIELD       OR         97478                6004              Various                                                                                            $46.49
SOPHIA SHAWVER                       5251 DIAMOND CIR APT 1                                 POCATELLO         ID         83202                6002              Various                                                                                             $2.52
SOPHIA SURIANO                       W2756 BORDERLINE RD                                    PORTERFIELD       MI         54159                6002              Various                                                                                             $7.95
SOPHIA THORN                         24859 E. BERGAMOT CT                                   LIBERTY LAKE      WA         99019                6004              Various                                                                                             $1.49
SOPHIA YERGENSEN                     1131 SAGE GROUSE PATH                                  TWIN FALLS        ID         83301                6004              Various                                                                                             $3.65




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SOPHIE FAJARDO                      5241 S DREXEL AVE                                                 CHICAGO          IL         60615                 6002                Various                                                                                             $6.33
SOPHIE GAYDA                        743 11TH ST WEST                                                  BILLINGS         MT         59102                 6004                Various                                                                                             $8.00
SOPHIE GILBERTSON                   3416 19TH AVE NW                                                  ROCHESTER        MN         55901                 6004                Various                                                                                             $8.00
SOPHIE MARIE HEDRINGTON             1518 198TH ST                                                     CHIPPEWA FALLS   WI         54729                 6002                Various                                                                                             $0.30
SORAYDA GODOY                       724 2ND AVE SW                                                    PIPESTONE        MN         56164                 6002                Various                                                                                             $7.67
SORENSON FAMILY                     65364 PEASE RD                                                    GLENWOOD         IA         51534                 6002                Various                                                                                             $1.73
SORYN HANEK                         4012 N FITZSIMMONS RD                                             JANESVILLE       WI         53548                 6004                Various                                                                                             $2.00
SOUK SOUVANNARATH                   482 S 455TH E                                                     SMITHFIELD       UT         84335                 6002                Various                                                                                             $2.22
SOUTH CENTRAL ELECTRIC LLC          1126 E 6TH STREET                                                 SUPERIOR         NE         68978                 5797                Various                                                                                          $244.71
SOUTH DAKOTA DEPARTMENT OF LABOR    420 S ROOSEVELT STREET                                            ABERDEEN         SD         57401                 6666                Various                                                                                            $20.00
SOUTH DAKOTA GAME FISH & PARKS      20641 SD HIGHWAY 1806                                             FT PIERRE        SD         57532                 3200                Various                                                                                          $546.00
SOUTH RANGE BOTTLING WORKS          PO BOX 9                                                          SOUTH RANGE      MI         49963                 3817                Various                                                                                         $1,281.76

SOUTH SHORE INDUSTRIES LTD C-H      C/O DESJARDINS BANK NA         PO BOX 897                         HALLANDALE BEACH FL         33008                  9887               Various                                                                                         $1,468.75
SOUTH THERMOPOLIS WATER & SEWER                                                                                                                                             12/1/2018 -
DISTRICT                            PO BOX 204                                                        THERMOPOLIS      WY         82443                  695                12/31/2018                                                                                       $152.95
SOUTHERN ENTERPRISES LLC (C-HU      PO BOX 679031                                                     DALLAS           TX         75267-9031             2915               Various                                                                                          $576.50
SOUTHERN GLAZERS WINE & SPIRIT      ONE GLAZERS WAY                                                   ST CHARLES       MO         63301-0000             5219               Various                                                                                         $3,578.69
SOUTHERN IMPERIAL INCORPORATED      1400 EDDY AVENUE                                                  ROCKFORD         IL         61103                  2288               Various                                                                                         $2,469.60
                                                                                                                                                                            12/2/2018 -
SOUTHERN IOWA ELECTRIC CO-OP        P.O. BOX 70                                                       BLOOMFIELD       IA         52537                  6-001              1/1/2019                                                                                        $1,548.98
SOUTHWEST SANITATION                PO BOX 480                                                        CLARINDA         IA         51632                                     Various                                                                                         $1,686.56
SOZAN AJOL                          810 H STREET                   APT 5                              LINCOLN          NE         68508                  6004               Various                                                                                             $2.00
SPANGLER CANDY COMPANY              400 NORTH PORTLAND STREET      PO BOX 71                          BRYAN            OH         43506                  3409               Various                                                                                       $273,982.32
                                                                                                                                                                            11/2/2018 -
SPANISH FORK CITY UT                40 SOUTH MAIN                                                     SPANISH FORK     UT         84660-5510              3.0.2             12/21/2018                                                                                      $5,946.20

SPARROWHAWK INTERNATIONAL (CHU      20058 VENTURA BOULEVARD 224                                       WOODLAND HILLS   CA         01364                  7687               Various                                                                                          $394.35
SPECIAL RESTAURANT                  303 FORT CROOK ROAD N                                             BELLEVUE         NE         68005                  3933               Various                                                                                          $437.27
SPECIALTY STORE SERVICES            454 JARVIS STREET                                                 DES PLAINES      IL         60018                  1150               Various                                                                                         $1,648.27
SPECS FOUR US INCORPORATED          14585 E PARK STREET         PO BOX 465                            BURTON           OH         44021                  7631               Various                                                                                         $1,700.00

SPECTRUM BRANDS                     7040 COLLECTION CENTER DRIVE                                      CHICAGO          IL         60693                  8514               Various                                                                                       $290,381.27
SPECTRUM DIVERSIFIED DESIGNS L      DEPT LA 24702                                                     PASADENA         CA         91185-4702             8005               Various                                                                                        $40,596.63
SPEED TECH EQUIPMENT                3364 QUINCY STREET                                                HUDSONVILLE      MI         49426                                     Various                                                                                          $251.50
SPENCER ABERLE                      116 12TH AVE NE                                                   ABERDEEN         SD         57401                  6002               Various                                                                                             $9.97
SPENCER BODEN                       19010 E RIVERSIDE                                                 GREENACRES       WA         99016                  6004               Various                                                                                             $9.99
SPENCER HARWOOD                     2335 8 1/2 AVE.                                                   CHETEK           WI         54728                  6004               Various                                                                                             $5.01
SPENCER HEATH                       240 E 600 N                                                       LEHI             UT         84043                  6004               Various                                                                                            $16.00
SPENCER MANLOVE                     936 WEST PINE STREET                                              MISSOULA         MT         59802                  6002               Various                                                                                            $18.15
SPENCER N ENTERPRISES INC           PO BOX 7 4008933                                                  CHICAGO          IL         60674-8933             9852               Various                                                                                       $236,892.14
SPENCER RASMUSSEN                   270 E 400 N                                                       CENTERVILLE      UT         84014                  6004               Various                                                                                            $10.09
SPENCER RAY                         2735 JENNY GULG                                                   RAPID CITY       SD         57702                  6004               Various                                                                                            $15.00
SPENCER SAUDER                      19266 WILLIAM ST                                                  BRYANT           SD         57221                  6004               Various                                                                                             $5.00
                                    55 W WASHINGTON AVENUE
SPENCER SHERWOOD                    UNIT 123                                                          YAKIMA           WA         98903                  6002               Various                                                                                                $4.16
SPENCER STELLMACHER                 533 WEST MAIN ST                                                  WHITEWATER       WI         53190                  6004               Various                                                                                               $21.00
SPENCER VRADENBURG                  7 W RIO GRANDE PL                                                 WEST JORDAN      UT         84088                  6002               Various                                                                                                $0.99
SPENCER WILLKOM                     21 NEWBURY CIRCLE                                                 MADISON          WI         53711                  6004               Various                                                                                               $20.61
SPIKE SHAEFFER                      1129 NORTH 12TH ST                                                SHEBOYGAN        WI         53081                  6004               Various                                                                                                $1.00
                                                                   300
                                                                   INTERNATIONAL
SPIN MASTER TOYS                    PMB 10053                      DRIVE SUITE 100                    WILLIAMSVILLE    NY         14221                  7843               Various                                                                                       $103,323.49
SPINKY (PIG) SUMMERS                13625 ST CROIX TRL                                                NORTH BRANCH     MN         55056                  6002               Various                                                                                             $4.85




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                                                                                                                                                                                                Contingent


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                                                                                                                                                            Account       Incurred, Basis for
              Creditor Name                    Address1                  Address2        Address3            City         State        Zip      Country     Number              Claim                                                                             Total Claim
SPINRITE INCORPORATED               VICE PRESIDENT OF SALES         BOX 40                            LISTOWEL          ON        N4W 3H3      CANADA 5063                Various                                                                                         $10,928.55
                                                                                                                                                                          12/4/2018 -
SPIRE/ST LOUIS                      DRAWER 2                                                          ST LOUIS          MO        63171                 1111              1/2/2019                                                                                         $330.75
SPOKANE TRIBE OF INDIANS            PO BOX 100                                                        WELLPINIT         WA        99040                 6004              Various                                                                                          $134.95
SPOOKY PRIEVE                       11333 300TH AVE                                                   PRINCETON         MN        55371                 6002              Various                                                                                             $1.92
SPORT DIMENSION INCORPORATED        966 SANDHILL AVENUE                                               CARSON            CA        90746                 0594              Various                                                                                        $34,750.00
SPORTLINE INC DIV OF EB SPORTS      EB BRANDS HOLDINGS INC          PO BOX 78024                      MILWAUKEE         WI        53278                 9331              Various                                                                                         $5,000.00
SPORTS LICENSING SOLUTIONS (C-      PO BOX 745175                                                     ATLANTA           GA        30374                 9519              Various                                                                                         $4,580.84

                                                                    463 SEVENTH
SPORTS PRODUCTS OF AMERICA LLC      VICE PRESIDENT OF SALES         AVENUE 4TH FLOOR                  NEW YORK          NY        10018                   4025             Various                                                                                      $111,489.81
SPORTS VAULT CORPORATION (C-HU      315 PACIFIC AVE                                                   WINNIPEG          MB        R3A 0MS      CANADA     3371             Various                                                                                         $595.00
SPRAU FAMILY                        13940 HIGHWAY 52 SE                                               CHATFIELD         MN        55923                   6002             Various                                                                                            $6.00
SPRING VALLEY DAIRY INC             PO BOX 20970                                                      KEIZER            OR        97307                   2762             Various                                                                                         $180.38
SPRING VALLEY INCORPORATED          2323 E WILLIS AVENUE                                              PERRY             IA        50220                   6666             Various                                                                                           $36.26
SPRINGFIELD PEPSI COLA BOTTLIN      1937 EAST COOK STREET           PO BOX 4146                       SPRINGFIELD       IL        62708                   4237             Various                                                                                        $4,085.71
SPRINGS GLOBAL (BARTLESVILLE)       PO BOX 70                                                         FORT MILLS        SC        29716-0070              7829             Various                                                                                      $267,481.37
SPRINKLER MEDIC LLC                 PO BOX 792                                                        NORTH PLATTE      NE        69103                   6586             Various                                                                                           $85.00
SPYROS HENIADIS                     751 CENTER ST                                                     WISCONSIN RAPID   WI        54494                   6002             Various                                                                                            $0.44
SQUATTY POTTY LLC                   1664 S DIXIE DRIVE STE F102                                       ST GEORGE         UT        84770                   1308             Various                                                                                            $0.38
                                                                    1411 BROADWAY
SQUEEZE AMICA MARAN (RANCHO DO      VICE PRESIDENT OF SALES         ROOM 501                          NEW YORK          NY        10018-3460              7595             Various                                                                                       $36,293.13
SRIRAM PODURI                       2112 WOODMAR DRIVE APT H                                          HOUGHTON          MI        49931                   6004             Various                                                                                           $28.00

ST CLOUD FLORAL                     3333 W DIVISION ST SUITE 127A                                     ST CLOUD          MN        56301                   8705             Various                                                                                          $111.93
                                    300 SPECTRUM CENTER DRIVE
ST CROIX TRAIL LLC                  SUITE 300                                                         IRVINE            CA        92618                   3717             Various                                                                                       $35,995.21

ST JAMES AREA CHAMBER OF COMMERCE   PO BOX 346                                                        ST JAMES          MN        56081                   6666             Various                                                                                           $14.72
ST JAMES CHAMBER OF COMMERCE        516 1ST AVENUE SOUTH                                              SAINT JAMES       MN        56081                   0761             Various                                                                                           $31.25
                                                                                                                                                                           12/1/2018 -
ST. CROIX GAS                       P.O. BOX 6                                                        RIVER FALLS       WI        54022-0006              3885             12/31/2018                                                                                     $1,388.02
STACEY A YOUNG                      222 3RD AVE SE                                                    GLENWOOD          MN        56334                   6002             Various                                                                                            $6.93
STACEY AARO                         41 N 100TH W APT A                                                BRIGHAM CITY      UT        84302                   6002             Various                                                                                            $3.89
STACEY BARTLETT                     1550 ELK TRAIL CRT.                                               NEENAH            WI        54956                   6004             Various                                                                                            $5.00
STACEY BRANDT                       1601 TRACIA LANE                                                  APPLETON          WI        54911                   6004             Various                                                                                           $30.00
STACEY BURKART                      21 PIEDMONT CT                                                    MADISON           WI        53711                   6004             Various                                                                                           $30.00
STACEY CLARK                        8724 SO. VAUNA LEE ST                                             SANDY             UT        84093                   6004             Various                                                                                            $4.75
STACEY DULIN                        309 JOSHUA CIRCLE                                                 SUN PRAIRIE       WI        53590                   6004             Various                                                                                            $4.00

STACEY FIELD                        4523 PRESCOTT AVENUE, APT # 3                                     LINCOLN           NE        68506                   6004             Various                                                                                            $4.00
                                    10848 PARK MEADOWS PLZA.
STACEY FOLKNER                      #142                                                              OMAHA             NE        68142                   6004             Various                                                                                           $13.86
STACEY GENZ                         N9631 WILLOW VIEW DR                                              IXONIA            WI        53036                   6002             Various                                                                                            $3.84
STACEY GRAVITTER                    827 KOCHS LN                                                      QUINCY            IL        62305                   6002             Various                                                                                            $8.11
STACEY HAG                          1156 SOUTH 9 TH ST                                                DE PERE           WI        54115                   6004             Various                                                                                            $4.40
STACEY HENNEMAN                     977 W WALWORTH AVE                                                WHITEWATER        WI        53190                   6004             Various                                                                                           $20.00
STACEY HICKS                        N8228 FRENCH RD                                                   SEYMOUR           WI        54165                   6002             Various                                                                                            $6.99
STACEY HORNER                       305 6TH ST                                                        CALUMET           MI        49913                   6002             Various                                                                                            $3.33
STACEY IRISH                        14434 N VENTAGE WAY                                               NAMPA             ID        83651                   6004             Various                                                                                           $15.00
STACEY JAYNES-CRONK                 BOX 23                                                            CHUGWATER         WY        82210                   6002             Various                                                                                            $1.70
STACEY KLINGAMAN                    230 S CRANBERRY AVE                                               PESHTIGO          WI        54157                   6002             Various                                                                                            $7.62
STACEY L ISHAM                      1011 S 8TH ST                                                     WATERTOWN         WI        53094                   6002             Various                                                                                            $7.15
STACEY L KIRSCHBAUM                 811 E AMELIA ST                                                   CASSVILLE         WI        53806                   6002             Various                                                                                            $9.48




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              Creditor Name                Address1             Address2         Address3             City         State           Zip   Country     Number                Claim                                                                             Total Claim
STACEY LEWIS                   RR 3 BOX 9155                                                  DONIPHAN          MO         63935                 6002                Various                                                                                                $3.86
STACEY M PELC                  PO BOX 82                                                      BUTTE             NE         68722                 6002                Various                                                                                                $2.71
STACEY MC CLAIN                2483 SHADY OAK DR                                              GREEN BAY         WI         54304                 6004                Various                                                                                               $10.00
STACEY REHFELDT                2506 S DRIFTWOOD LN                                            APPLETON          WI         54915                 6002                Various                                                                                                $4.03
STACEY ROUPE                   524 PRESCOTT ST                                                SIOUX CITY        IA         51103                 6002                Various                                                                                                $8.99
STACEY SIEBER                  20 S SUMMIT AVE                                                NEWCASTLE         WY         82701                 6002                Various                                                                                                $8.30
STACEY SIMPSON                 11615 OLD U ROAD                                               GILLETT           WI         54124                 6004                Various                                                                                               $37.00
STACEY STONE                   3407 22ND ST S APT 303                                         ST. CLOUD         MN         56301                 6004                Various                                                                                                $3.00
STACEY THURSTON                99 E 600 S                                                     OREM              UT         84058                 6004                Various                                                                                               $66.00
STACEY VANITER                 1706 NITA LANE                                                 JACKSONVILLE      IL         62650                 6004                Various                                                                                               $20.00
STACEY WERGIN                  275 E RIVER DR                                                 DE PERE           WI         54115                 6002                Various                                                                                                $5.15

STACEY/ DUSTIN                 STORE 2-095                  SHOPKO EMPLOYEE                   GREEN BAY         WI         54307-9060             9579               Various                                                                                                $6.56
STACI CRUSE                    1019 15TH ST N PRERELEASE                                      GREAT FALLS       MT         59404                  6002               Various                                                                                                $1.34
STACI HANNER                   905 THURSTON AVE                                               BELLEVUE          NE         68123                  6004               Various                                                                                                $4.00
STACI KLEIN                    510 SOUTHAVEN DR                                               MANKATO           MN         56001                  6004               Various                                                                                                $3.00

STACI KOLLER                   110 E KANE ST                                                  PORT WASHINGTON   WI         53074                  6002               Various                                                                                                $1.62
STACI MOORE                    2708 SHERIDAN ST                                               SIOUX CITY        IA         51103                  6002               Various                                                                                                $2.74
STACI SMITH                    1030 W SECOND                                                  GLADWIN           MI         48624                  6002               Various                                                                                                $2.38
STACIA DANA                    56989 870 ROAD                                                 LAUREL            NE         68745                  6004               Various                                                                                                $5.00
STACIA JUEDES                  255 NORTH MAIN ST                                              WALWORTH          WI         53184                  6004               Various                                                                                                $1.00
STACIA MATTAN                  709 N 11TH ST                                                  MONMOUTH          IL         61462                  6004               Various                                                                                               $23.00
STACIE CHRISTENSEN             1506 23RD AVE                                                  MONROE            WI         53566                  6004               Various                                                                                               $20.00
STACIE KETTWIG                 RR 1 BOX 2080                                                  DONIPHAN          MO         63935                  6002               Various                                                                                                $1.92
STACIE MOSS                    6162 S CLEAR ST                                                SALT LAKE CITY    UT         84107                  6002               Various                                                                                                $3.84
STACIE STEWART                 210 GREENWOOD ST                                               STERLING          MI         48659                  6002               Various                                                                                                $0.60
STACIE WIEDEBUSH               634 S WELLS                                                    ABERDEEN          SD         57401                  6004               Various                                                                                               $23.00
STACIE WITTMAN                 1611 MORNINGSIDE DR                                            RAPID CITY        SD         57701                  6002               Various                                                                                                $0.68
STACY A ALLAN                  502 N 19TH ST                                                  COEUR D ALENE     ID         83814                  6002               Various                                                                                                $0.88
STACY A MANVILLE               4609 HEFFRON ST                                                STEVENS POINT     WI         54481                  6002               Various                                                                                                $7.18
STACY A PICK                   9 BIGELOW AVE                                                  NEW HAMPTON       IA         50659                  6002               Various                                                                                                $6.93
STACY BLOCH                    10775 ISAACSON RD.                                             SCANDINAVIA       WI         54977                  6004               Various                                                                                               $23.00
STACY C LENZ                   1022 N D ST APT A                                              COEUR D ALENE     ID         83814                  6002               Various                                                                                                $0.27
STACY DAVIS                    201 21TH SW                                                    ROCHESTER         MN         55902                  6004               Various                                                                                                $3.00
STACY DUIS                     26049 E STATE HIGHWAY 112                                      LE CENTER         MN         56057                  6002               Various                                                                                                $5.92
STACY FERGUSON                 2500 N FORT LANE TRL # 223                                     LAYTON            UT         84041                  6002               Various                                                                                                $2.49
STACY FISHER                   928 WEST 7TH                                                   SIOUX FALLS       SD         57104                  6004               Various                                                                                               $25.00
STACY HEISIG                   206 S GARFIELD STREET                                          BARNEVELD         WI         53507                  6004               Various                                                                                               $11.00
STACY HIGGINS                  1002 PIPER ST                                                  TOMAHAWK          WI         54487                  6002               Various                                                                                                $0.38
STACY JEFFRIES                 602 11TH ST                                                    GOTHENBURG        NE         69138                  6002               Various                                                                                                $0.44
STACY KAUP                     1689 HIGHWAY 51                                                BANCROFT          NE         68004                  6002               Various                                                                                                $6.41
STACY KEELE                    2843 JUNEAU DR                                                 MISSOULA          MT         59804                  6004               Various                                                                                               $16.35
STACY KIRLIN                   302 E FRONT ST                                                 FULDA             MN         56131                  6002               Various                                                                                                $7.32
STACY L VRCHOTA                325 N LEXINGTON AVE                                            LE CENTER         MN         56057                  6002               Various                                                                                                $9.37
STACY LEE                      319 8TH ST S                                                   GREAT FALLS       MT         59405                  6002               Various                                                                                                $6.41
STACY MEYER                    615 INDUSTRIAL DR                                              PALMYRA           MO         63461                  6002               Various                                                                                                $7.70
STACY MINGORI                  563 CHALLENGER DR                                              GREEN BAY         WI         54311                  6002               Various                                                                                                $3.89
STACY MOUSEL                   2020 W 18TH ST                                                 SIOUX CITY        IA         51103                  6002               Various                                                                                                $0.36
STACY NOYES                    211 S STATE HIGHWAY 45B                                        EWING             NE         68735                  6002               Various                                                                                                $9.40
STACY OYEN                     413 WEBER PARKWAY                                              LANCASTER         WI         53813                  6004               Various                                                                                               $37.00
STACY READY                    1612 RANDOLPH ST                                               WATERTOWN         WI         53094                  6004               Various                                                                                                $1.95
STACY RECTOR                   2455 N 87TH                  APT D                             LINCOLN           NE         68507                  6004               Various                                                                                                $2.00
STACY SCHOON                   27875 CTY HWY # 124                                            FERGUS FALLS      MN         56537                  6002               Various                                                                                                $8.82




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             Creditor Name                     Address1            Address2           Address3           City          State           Zip    Country     Number                Claim                                                                             Total Claim
STACY STEVENS                       7240 11TH AVENUE                                             GREEN BAY          WI         54304                  6004                Various                                                                                                $5.00
STACY SUAREZ                        261 MCDONALD ST                                              OCONTO             WI         54153                  6004                Various                                                                                                $9.99
STACY THOMAS                        5420 N 48TH AVE                                              OMAHA              NE         68104                  6004                Various                                                                                                $4.00
STACY VUE                           2201 RICHMOND AVE                                            MANITOWOC          WI         54220                  6004                Various                                                                                                $3.02
STACY WAACK                         15403 OLD IRISH RD                                           REEDSVILLE         WI         54230                  6002                Various                                                                                                $6.63
STACY WELP                          84375 432 ND AVE                                             LAKEFIELD          MN         56150                  6004                Various                                                                                                $3.00
STACY WICKERT                       1307 PROSPECT ST                                             WATERTOWN          WI         53098                  6004                Various                                                                                               $42.08
STACY WING                          32 CAMELOT LN LOT 37                                         RICE LAKE          WI         54868                  6002                Various                                                                                                $1.32
STAFFORD PERRY                      2378 SHORE PRE.DR                                            OSHKOSH            WI         54904                  6004                Various                                                                                               $25.00
STAICE JONES                        210 2ND AVE SE APT 1                                         PERHAM             MN         56573                  6002                Various                                                                                                $4.30
STALENE CALL                        1973 LINDEN AVE                                              MEMPHIS            TN         38104                  6002                Various                                                                                                $8.05
STAN LAWVER                         422 LARAMIE TR                                               LINCOLN            NE         68521                  6004                Various                                                                                               $12.00

STANDARD SALES COMPANY LP (BEE      4330 MARK DABLING BLVD                                       COLORADO SPRINGS   CO         80907                   8827               Various                                                                                         $1,933.71
STANFIELDS (C-HUB)                  PO BOX 190                 1 LOGAN STREET                    TRURO              NS         B2N 5C2       CANADA    2595               Various                                                                                          $171.20
STANLEE DAVIS                       2542 S 1300 E                                                SALT LAKE CITY     UT         84106                   6004               Various                                                                                             $2.25
STANLEY ACCESS TECHNOLOGIES, LLC    65 SCOTT SWAMP ROAD                                          FARMINGTON         CT         06032                                      Various                                                                                         $6,533.66
STANLEY BERNDT                      E12804 HILLTOP DR                                            FALL CREEK         WI         54742                   6002               Various                                                                                             $8.55
STANLEY BLACK AND DECKER            DEPT CH 14231                                                PALATINE           IL         60055-4231              5495               Various                                                                                         $5,560.05
STANLEY BONK                        2611 BALSOM CT                                               EAU CLAIRE         WI         54703                   6002               Various                                                                                             $6.33
                                                               DEPARTMENT CH
STANLEY CONVERGENT SECURITY         SOLUTIONS INCORPORATED     10651                             PALATINE           IL         60055-0651              2072               Various                                                                                        $16,484.13
STANLEY CREATIONS INCORPORATED      1414 WILLOW AVENUE                                           MELROSE PARK       PA         19027-3197              2306               Various                                                                                      $145,103.70
STANLEY JARDEE                      11420 HWY G                                                  FRANKSVILLE        WI         53126                   6004               Various                                                                                             $7.10
STANLEY JEWELL                      HC 7 BOX 151K                                                DONIPHAN           MO         63935                   6002               Various                                                                                             $3.81
STANLEY JOHNSON                     1750 COUNTRYSIDE CT                                          REEDSVILLE         WI         54230                   6002               Various                                                                                             $6.71
STANLEY R. HAYES                    4219 PINKNEY ST                                              OMAHA              NE         68111                   6002               Various                                                                                             $8.58
STANLEY RYGH                        309 S. WHITEWATER AVENUE                                     JEFFERSON          WI         53549                   6004               Various                                                                                             $2.00
STANLEY WAY                         W7955 CREEK RD                                               DELAVAN            WI         53115                   6004               Various                                                                                             $2.00
STAPLES ADVANTAGE                   PO BOX 660409                                                DALLAS             TX         75266-0409              2710               Various                                                                                            $55.62
STAR C. JONES                       PO BOX 405                                                   OQUAWKA            IL         61469                   6002               Various                                                                                             $5.92
STAR HOPKINS                        1309 FERN ST SW T204                                         OLYMPIA            WA         98502                   6004               Various                                                                                            $25.00
STAR PLASTICS INC                   1930 DREW ROAD UNIT 1                                        MISSISSAUGA        ON         L5S 1J6       CANADA    9239               Various                                                                                     $1,560,094.02
STAR VALLEY DISPOSAL                PO BOX 1006                                                  AFTON              WY         83110                                      Various                                                                                         $1,092.00
STARBUCKS COFFEE COMPANY            PO BOX 74008016                                              CHICAGO            IL         60674-8016              2058               Various                                                                                        $73,670.91
STARKOVICH DISTRIBUTING COMPAN      VICE PRESIDENT OF SALES    PO BOX 1307       PAM TO ORACLE   VIRGINIA           MN         55792                   3017               Various                                                                                          $404.20
STARLA DUGAN                        705 NE 3RD ST                                                ANDREWS            TX         79714                   6002               Various                                                                                             $8.66
STARLA K MOORE                      221 E CALLENDAR # 4                                          LIVINGSTON         MT         59047                   6002               Various                                                                                             $2.85
STARR JOHNSON                       1033 CLEMENT ST                                              WATERTOWN          WI         53094                   6004               Various                                                                                             $1.00
STARR NAUDEN                        1420 N 60TH ST                                               OMAHA              NE         68132                   6004               Various                                                                                            $23.00
STASIA GRAY                         1515 BROOKSIDE DR                                            HOUGHTON           MI         49931                   6002               Various                                                                                             $7.92
STAT PADS LLC                       13897 W WAINRIGHT DR                                         BOISE              ID         83713                   4826               Various                                                                                          $297.00
STATE OF IDAHO                      PO BOX 83720                                                 BOISE              ID         83720                   6004               Various                                                                                          $189.97
                                    DSPS INDUSTRY SERVICES
STATE OF WISCONSIN                  INVOICING                  PO BOX 93086                      MILWAUKEE          WI         53293-3086               6441              Various                                                                                               $50.00

STECK/ LAURA                        STORE 001                  SHOPKO EMPLOYEE                   GREEN BAY          WI         54307-9060              0506               Various                                                                                            $25.30
STEELSTONE GROUP                    3611 14TH AVE SUITE 540                                      BROOKLYN           NY         11218                   5762               Various                                                                                       $250,853.40

STEENBLIK/ NATHAN                   STORE 4-093                SHOPKO EMPLOYEE                   GREEN BAY          WI         54307-9060              1509               Various                                                                                               $50.00
STEFAN HIEBERT                      2360 MICHIGAN AVE APT 12                                     OROFINO            ID         83544                   6002               Various                                                                                                $3.75
STEFANIE ANDERSON                   1108 10TH ST                                                 WHEATLAND          WY         82201                   6002               Various                                                                                                $9.67
STEFANIE BORDA                      6109 RAELENE CT                                              MISSOULA           MT         59803                   6004               Various                                                                                               $20.00
STEFANIE ELLER                      900 STATE BOX E328                                           SALEM              OR         97301                   6004               Various                                                                                               $23.00




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                                                                                                                                                                                                            Unliquidated
                                                                                                                                                                                               Contingent


                                                                                                                                                                                                                           Disputed
                                                                                                                                                      Last 4 Digits of     Date Debt was
                                                                                                                                                         Account         Incurred, Basis for
              Creditor Name                   Address1                Address2        Address3              City       State           Zip   Country     Number                Claim                                                                             Total Claim
STEFANIE JERGENSON                346 HILLCROFT DR                                                 CHATFIELD        MN         55923                 6004                Various                                                                                             $3.00
STEFANIE WUEBBEN                  PO BOX 605                                                       DOLLAR BAY       MI         49922                 6002                Various                                                                                             $2.66
STEFFEN ERICKSON                  1553 GILMORE VALLEY RD                                           WINONA           MN         55987                 6002                Various                                                                                             $8.49
STEFFEN SERCK                     426 S CHERRY ST                                                  LENNOX           SD         57039                 6004                Various                                                                                             $3.75
STEINER ELECTRIC, INC.            2323 SYLVAN WAY                                                  WEST BEND        WI         53095                                     Various                                                                                           $380.74
STEINER PLUMBING & ELECTRIC IN    N8230 945TH STREET                                               RIVER FALLS      WI         54022                  2234               Various                                                                                           $426.60
STELLA LOADMAN                    11366 S WILLARD AVE                                              JANESVILLE       WI         53546                  6004               Various                                                                                             $1.00
STELMACH FAMILY                   W5909 QUARRY RD                                                  APPLETON         WI         54913                  6002               Various                                                                                             $7.78
STEMMER FAMILY                    1333 ILLINOIS ST                                                 RACINE           WI         53405                  6002               Various                                                                                             $0.47
STENERSON BROTHERS LUMBER COMP    324 E WASHINGTON AVENUE                                          FERGUS FALLS     MN         56537                  1464               Various                                                                                            $40.00
STEPH HUBER                       314 N. 4TH ST.                                                   ABERDEEN         SD         57401                  6004               Various                                                                                            $52.97
STEPH THOMPSON                    7014 EMILINE ST                                                  LA VISTA         NE         68128                  6002               Various                                                                                             $4.90
STEPHAINE DENNIS                  1875 S 75TH #309                                                 OMAHA            NE         68124                  6004               Various                                                                                             $4.00
STEPHAN FREUND                    179 NORTH SEYMOUR ST                                             FOND DU LAC      WI         54935                  6004               Various                                                                                            $70.00
STEPHAN GONZALES                  PO BOX 593                                                       EVANSVILLE       WY         82636                  6002               Various                                                                                             $5.97
STEPHAN HILL                      1221 RED MAPLE RIDGE                                             EAU CLAIRE       WI         54703                  6004               Various                                                                                            $10.00
STEPHAN VANCE                     1735 VIRGINIA ST                                                 BELOIT           WI         53511                  6004               Various                                                                                           $108.99
STEPHANI GRUNIG                   163 E 200TH N                                                    TREMONTON        UT         84337                  6002               Various                                                                                             $3.42
STEPHANIE ALDEN                   29720 JEANS ROAD 34                                              VENETA           OR         97487                  6004               Various                                                                                            $22.99
STEPHANIE AN RODGERS              550 THOMPSON ST                                                  PESHTIGO         WI         54157                  6002               Various                                                                                             $8.79
STEPHANIE ANDERSON                3601 HWY N                                                       MILTON           WI         53563                  6004               Various                                                                                            $27.39
STEPHANIE ANGUIANO                211 SEPPEL BOULEVARD - #6                                        BEAVER DAM       WI         53916                  6004               Various                                                                                             $2.00
STEPHANIE BAILEY                  1890 GREEN RAD                                                   STOUGHTON        WI         53589                  6004               Various                                                                                             $1.00
STEPHANIE BALDWIN                 596 CONDOR DR                                                    MIDDLETON        ID         83644                  6002               Various                                                                                             $9.26
STEPHANIE BALL                    1416 131ST AVE                                                   NEW RICHMOND     WI         54017                  6004               Various                                                                                             $9.70
STEPHANIE BANKHEAD FRANCIS        50 BOWMAN LN                                                     SALMON           ID         83467                  6002               Various                                                                                             $0.63
STEPHANIE BARE                    114 HEWETT ST                                                    NEILLSVILLE      WI         54456                  6002               Various                                                                                             $2.30
STEPHANIE BEHRENDS                312 LLOYD PLACE                                                  ALBERT LEA       MN         56007                  6004               Various                                                                                             $3.00
STEPHANIE BERNING                 119 N BOYD ST                                                    BOYD             WI         54726                  6002               Various                                                                                             $1.21
STEPHANIE BURRELL                 625 S WHEATLAND AVE, # 44                                        SIOUX FALLS      SD         57106                  6004               Various                                                                                            $30.00
STEPHANIE CAMPANA                 1318 GARFIELD ST                                                 HOLDREGE         NE         68949                  6002               Various                                                                                             $7.75
STEPHANIE CANO                    2315 PARK LANE SE #76                                            ROCHESTER        MN         55904                  6004               Various                                                                                             $3.00
STEPHANIE CERNY                   3875 MAGENTA DR                                                  IDAHO FALLS      ID         83401                  6002               Various                                                                                             $6.60
STEPHANIE CISKE                   N64 W24936 STONEGATE CT       206                                SUSSEX           WI         53089                  6004               Various                                                                                             $3.00
STEPHANIE CLAYBAUGH               713 S 400TH W                                                    BRIGHAM CITY     UT         84302                  6002               Various                                                                                             $2.90
STEPHANIE COCHRAN                 611 11TH ST NW                                                   AUSTIN           MN         55912                  6004               Various                                                                                             $3.00
STEPHANIE COLACIOPPO              1624 S DOODLER DRIVE APT 74                                      SIOUX FALLS      SD         57103                  6004               Various                                                                                             $8.00
STEPHANIE COOPER                  1715 DEWEY AVE                                                   FALLS CITY       NE         68355                  6002               Various                                                                                             $1.04
STEPHANIE CORNFIELD               N3781 HIGHWAY 81 W                                               MONROE           WI         53566                  6002               Various                                                                                             $2.93
STEPHANIE COY                     933 BUENA VISTA                                                  SUN PRAIRIE      WI         53590                  6004               Various                                                                                            $55.00
STEPHANIE CUNNINGHAM              N1493 CTY RD HH                                                  FREMONT          WI         54940                  6002               Various                                                                                             $2.68
STEPHANIE DAVIS-CAMPBELL          1146 CO RD # 2210 PMB N                                          CARMI            IL         62821                  6002               Various                                                                                             $3.29
STEPHANIE DEAN-JEWELL             1637 280TH AVE.                                                  CURRIE           MN         56123                  6004               Various                                                                                             $3.00
STEPHANIE DELEON                  2110 LAKE ST                                                     OMAHA            NE         68110                  6004               Various                                                                                             $4.00

STEPHANIE DEVENS                  122 KNOLLCREST DRIVE APT 303                                     MANKATO          MN         56001                  6004               Various                                                                                                $3.00
STEPHANIE EICHLER                 13223 LEWIS RD                                                   NEWELL           SD         57760                  6002               Various                                                                                                $1.92
STEPHANIE ELMER                   1517 JACKSON ST.                                                 BELOIT           WI         53511                  6004               Various                                                                                                $5.50
STEPHANIE ESTES                   432 17TH ST                                                      OGDEN            UT         84404                  6002               Various                                                                                                $6.41
STEPHANIE FIEDLER                 802 MACOMBER ST              APT 7                               CHIPPEWA FALLS   WI         54729                  6004               Various                                                                                                $5.02
STEPHANIE FISHER                  2058 N 4500 W                                                    OGDEN            UT         84404                  6004               Various                                                                                               $20.00
STEPHANIE FLOYD                   19 W VIEW DR                                                     AFTON            WY         83110                  6002               Various                                                                                                $1.62
STEPHANIE FRANCIS                 6 CAMINO LN                                                      TENDOY           ID         83468                  6002               Various                                                                                                $9.81
STEPHANIE GODFREY                 343 W BLUFF ST                                                   MARQUETTE        MI         49855                  6002               Various                                                                                                $0.68




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             Creditor Name                Address1                   Address2        Address3            City          State           Zip   Country     Number                Claim                                                                             Total Claim
STEPHANIE GONZALEZ              2021 DECKNER AVE APT 303                                          GREEN BAY         WI         54302                 6002                Various                                                                                                $1.92
STEPHANIE GULL                  289 BROOKE CT                                                     SPRINGVILLE       UT         84663                 6002                Various                                                                                                $7.56
STEPHANIE GUTIERREZ GUERRERO    1204 QUEEN AVENUE                                                 YAKIMA            WA         98902                 6004                Various                                                                                                $2.00
STEPHANIE HANSEN                W6357 SYCAMORE DR                                                 FOND DU LAC       WI         54937                 6002                Various                                                                                                $6.16
STEPHANIE HARDY                 1009 K19 HWY E                                                    LARNED            KS         67550                 6002                Various                                                                                                $1.62

STEPHANIE HAWTHORNE             653 E JAMES POINTE DR APT 2A                                      SALT LAKE CITY    UT         84107                  6002               Various                                                                                                $7.64
STEPHANIE HEIN                  PO BOX 84                                                         MILLVILLE         MN         55957                  6004               Various                                                                                                $3.00
STEPHANIE HEMINGWAY             156 SPENCE PL                                                     POCATELLO         ID         83201                  6002               Various                                                                                                $0.33
STEPHANIE HERITAGE              5340 HIGHWAY 70 W                                                 EAGLE RIVER       WI         54521                  6002               Various                                                                                                $2.93
STEPHANIE HERNANDEZ MARTI       2431 S 15TH                                                       OMAHA             NE         68108                  6004               Various                                                                                                $4.00
STEPHANIE HERZBERG              39 15TH ST                                                        FOND DU LAC       WI         54935                  6004               Various                                                                                               $25.00
STEPHANIE HOLMAN                9519 HIGHWAY 66                                                   LOUISVILLE        NE         68037                  6002               Various                                                                                                $2.60
STEPHANIE HUDGENS               250 SOUTHWELL CT                                                  MIDDLETON         ID         83644                  6004               Various                                                                                                $3.00
STEPHANIE HUDSON                1149 FOURSMAN                                                     OROFINO           ID         83544                  6002               Various                                                                                                $5.23
STEPHANIE HUGHES                145 W RAILROAD ST                                                 ROSEVILLE         IL         61473                  6002               Various                                                                                                $2.33
STEPHANIE HUPPERT               2620 CASPER DR                                                    EAST HELENA       MT         59635                  6004               Various                                                                                                $5.02
STEPHANIE J WALLACE             2309 E ASHBURY DR APT 10                                          APPLETON          WI         54913                  6002               Various                                                                                                $2.03
STEPHANIE JAEGER                11774 584TH AVE                                                   MAPLETON          MN         56065                  6002               Various                                                                                                $0.44
STEPHANIE JANSSEN               2500 GARDEN PARK TER                                              GREEN BAY         WI         54311                  6002               Various                                                                                                $2.44
STEPHANIE JOHNSON               W7606 KARBERG LN                                                  LAKE MILLS        WI         53551                  6002               Various                                                                                                $4.41
STEPHANIE KASTER                505 WALNUT ST                                                     DU BOIS           NE         68345                  6002               Various                                                                                                $6.11
STEPHANIE KAWULA                522 RESORT RD                                                     SUAMICO           WI         54173                  6002               Various                                                                                                $1.48
STEPHANIE KING                  2132 N 1875TH W                                                   OGDEN             UT         84404                  6002               Various                                                                                                $1.62
STEPHANIE KNAUF                 827 17TH DR                                                       ARKDALE           WI         54613                  6002               Various                                                                                                $5.42
STEPHANIE KNUDSON               25498 682 ND ST                                                   KASSON            MN         55944                  6004               Various                                                                                                $3.00
STEPHANIE KOHNER                86 HIDDEN VLY                                                     MINNESOTA CITY    MN         55959                  6002               Various                                                                                                $1.04
STEPHANIE KORTE                 2121 S 21 STREET                                                  MANITOWOC         WI         54220                  6004               Various                                                                                                $4.00
STEPHANIE KOSOBUCKI             211 HENNING STREET                                                FOND DU LAC       WI         54935                  6004               Various                                                                                               $40.00
STEPHANIE KUHN                  109 S MASON ST                                                    APPLETON          WI         54914                  6004               Various                                                                                                $8.00
STEPHANIE KUSICK                645 2ND AVE SW                                                    PERHAM            MN         56573                  6002               Various                                                                                                $4.19
STEPHANIE LAFOREST              RR 3 BOX 2144                                                     DONIPHAN          MO         63935                  6002               Various                                                                                                $7.97
STEPHANIE LECY                  2830 HOBNAIL CT                                                   WISCONSIN RAPID   WI         54494                  6002               Various                                                                                                $0.93
STEPHANIE LEITERMAN             3423 7TH ST                                                       LEWISTON          ID         83501                  6002               Various                                                                                                $2.58
STEPHANIE LIGHTNER              12365 WEST ABRAM DRIVE                                            BOISE             ID         83713                  6004               Various                                                                                                $8.00
STEPHANIE LULL                  W526 MILL RD                                                      UNITY             WI         54488                  6002               Various                                                                                                $1.89
STEPHANIE M MCFALLS             718 WOOD ST                                                       NEW CASTLE        SD         82701                  6002               Various                                                                                                $2.19
STEPHANIE MARTI                 1005 SAUNDERS RD               #12                                KAUKAUNA          WI         54130                  6004               Various                                                                                               $14.45
STEPHANIE MCCULLOUGH            311 HILLCREST DR                                                  BELLEVUE          NE         68123                  6002               Various                                                                                                $3.04
STEPHANIE MCGARY                106 N ST MARY AVE                                                 ALBERT LEA        MN         56007                  6002               Various                                                                                                $9.01
STEPHANIE MINGURA               4762 W HULL LOOP                                                  COEUR D ALENE     ID         83814                  6002               Various                                                                                                $1.45
STEPHANIE MOHRMANN              220 SLEEPY HOLLOW LN                                              MARSHALL          WI         53559                  6004               Various                                                                                               $25.00
STEPHANIE NEWTON                7678 S 1300 W                                                     WEST JORDAN       UT         84084                  6004               Various                                                                                               $15.98
STEPHANIE NOEL                  503 LINCOLN AVE                                                   JACKSONVILLE      IL         62650                  6004               Various                                                                                                $4.49
STEPHANIE NYDEGGER              237 W. 100 N.                                                     PROVIDENCE        UT         84332                  6004               Various                                                                                                $9.99
STEPHANIE OEHRKE                320 W MADISON AVE                                                 MILTON            WI         53563                  6004               Various                                                                                                $2.00
STEPHANIE PEOT                  PO BOX 121                                                        SUAMICO           WI         54173                  6004               Various                                                                                                $5.00
STEPHANIE PFINGSTEN             121 W 5TH ST                                                      WASHINGTON        KS         66968                  6002               Various                                                                                                $0.44
STEPHANIE PI GRUMBLING          1766 HOOPES AVE                                                   IDAHO FALLS       ID         83404                  6002               Various                                                                                                $5.73
STEPHANIE PICKREL               217 1ST AVE SW                                                    WATERTOWN         SD         57201                  6002               Various                                                                                                $7.95
STEPHANIE PITZL                 W3178 GREEN ISLE DRIVE                                            FORT ATKINSON     WI         53538                  6004               Various                                                                                               $10.00
STEPHANIE POLLITT               221 PINE ST                                                       JACKSONVILLE      IL         62650                  6002               Various                                                                                                $0.82
STEPHANIE R BENNETT             2711 SW 24TH ST                                                   REDMOND           OR         97756                  6002               Various                                                                                                $0.49
STEPHANIE R DIMOND              1003 16TH ST                                                      TWO RIVERS        WI         54241                  6002               Various                                                                                                $7.97




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              Creditor Name               Address1            Address2         Address3             City       State           Zip   Country     Number                Claim                                                                             Total Claim
STEPHANIE R. STEINER           103 1/2 COLLEGE ST                                           WATERTOWN       WI         53094                 6002                Various                                                                                                $4.19
STEPHANIE REIMERT              5041 HIDE AWAY DR                                            EAGLE RIVER     WI         54521                 6002                Various                                                                                                $8.25
STEPHANIE RIOS                 2103 CHRISTI LANE APT 18                                     BELVIDERE       IL         61008                 6004                Various                                                                                               $11.50
STEPHANIE RIVERA               114 GRAND AVE                                                BRILLION        WI         54110                 6002                Various                                                                                                $7.01
STEPHANIE ROBERTS              1315 COOK AVE                                                LEWISTOWN       MT         59457                 6002                Various                                                                                                $3.10
STEPHANIE ROSANSKE             276 GRAND CT. F102                                           FOND DU LAC     WI         54935                 6004                Various                                                                                               $20.00
STEPHANIE SCHERRER             8965 BROKENSPOKE DRIVE                                       LINCOLN         NE         68507                 6004                Various                                                                                               $25.00
STEPHANIE SCHLETER             716 CHESTNUT ST                                              MOUNT CARMEL    IL         62863                 6002                Various                                                                                                $2.33
STEPHANIE SCHUESSLER           8604 TOWNLINE RD                                             WAUSAU          WI         54403                 6004                Various                                                                                               $25.00

STEPHANIE SCHWINGEL            W12113 CUMBERLAND AVENUE                                     COLOMA          WI         54930                  6002               Various                                                                                                $1.94
STEPHANIE SCOTT                117 GROVE ST                                                 BEAVER DAM      WI         53916                  6004               Various                                                                                                $2.00
STEPHANIE SHOOPMAN             537 LANE # 9                                                 POWELL          WY         82435                  6002               Various                                                                                                $6.71
STEPHANIE SMITH                323 S CONCORD AVE                                            MARSHFIELD      WI         54449                  6004               Various                                                                                               $83.00
STEPHANIE SNYDER               317 LIBERTY LN                                               NEW BERLIN      IL         62670                  6004               Various                                                                                               $13.82
STEPHANIE STRAHL               226 15TH AVE SE                                              ROCHESTER       MN         55904                  6004               Various                                                                                                $6.00
STEPHANIE STRISSEL             PO BOX 306                                                   ELGIN           MN         55932                  6002               Various                                                                                                $1.45
STEPHANIE SUTTON               120 E BORAH AVE APT 4                                        COEUR D ALENE   ID         83814                  6002               Various                                                                                                $1.92
STEPHANIE TAYLOR               305 MLCEELS LANE           APT 2                             MENOMONIE       WI         54751                  6004               Various                                                                                               $71.03
STEPHANIE THOMPSON             107 WAGON TRAIN AVE                                          HICKMAN         NE         68372                  6002               Various                                                                                                $2.11
STEPHANIE TREJO                2706 VICTORY RD                                              JUNCTION CITY   WI         54443                  6002               Various                                                                                                $0.41
STEPHANIE TRELEVEN             415 CLOVER LN                                                FORT ATKINSON   WI         53538                  6004               Various                                                                                               $20.00
STEPHANIE TURNER               1280 W 1480TH N                                              OREM            UT         84057                  6002               Various                                                                                                $5.75
STEPHANIE TURNIPSEED           521 ELM ST W                                                 WEST SALEM      WI         54669                  6002               Various                                                                                                $1.10
STEPHANIE TWESME               911 E LAKE ST                                                LAKE MILLS      WI         53551                  6002               Various                                                                                                $7.75
STEPHANIE WALKER               4217 COUNTRY CLUB BLVD                                       SIOUX CITY      IA         51104                  6002               Various                                                                                                $8.22
STEPHANIE WALL                 3805 SUNBURST RD                                             MADISON         WI         53718                  6004               Various                                                                                                $4.70
STEPHANIE WEDDLE               407 L ST                                                     SAINT PAUL      NE         68873                  6004               Various                                                                                                $4.00
STEPHANIE WEISS                W4052 DEVINE LN                                              APPLETON        WI         54913                  6002               Various                                                                                                $7.48
STEPHANIE WHEELER              7110 NORTH 39TH STREET                                       OMAHA           NE         68112                  6004               Various                                                                                               $11.60
STEPHANIE WILLIAMS             W687 CTY RD KK                                               LOMIRA          WI         53048                  6004               Various                                                                                               $39.00
STEPHANIE WILLIAMSON           325 N. WRIGHT ST.                                            DELAVAN         WI         53115                  6004               Various                                                                                               $25.00
STEPHANY DEGARMO               7146 STANTON STREET                                          LINCOLN         NE         68507                  6004               Various                                                                                                $2.00
STEPHANY REDINGER              1200 2ND AVE SW                                              WATERTOWN       SD         57201                  6002               Various                                                                                                $8.49
STEPHEN A NEWCOMBE             841 E HANCOCK ST                                             APPLETON        WI         54911                  6002               Various                                                                                                $9.84
STEPHEN ALCORN                 10319 S EDGECLIFF DR                                         SANDY           UT         84092                  6002               Various                                                                                                $8.49
STEPHEN ANDERSON               2563 SUN TER                                                 GREEN BAY       WI         54311                  6002               Various                                                                                                $6.33
STEPHEN ANDREW                 29441 W ENID RD                                              EUGENE          OR         97401                  6004               Various                                                                                                $4.50
STEPHEN ATKINSON               N13945 NEWBURG ROAD                                          CHANNING        MI         49815                  6004               Various                                                                                               $92.80
STEPHEN B SCHRAY               598 MADISON ST                                               TWIN FALLS      ID         83301                  6002               Various                                                                                                $7.15
STEPHEN BEAULIEU               34 W 500TH S                                                 JEROME          ID         83338                  6002               Various                                                                                                $0.93
STEPHEN BEHL                   1359 MCKINLEY AVE                                            BELOIT          WI         53511                  6002               Various                                                                                                $6.60
STEPHEN BIGELOW                5350 DIVIDE VIEW RD                                          HELENA          MT         59602                  6002               Various                                                                                                $0.66
STEPHEN BLECHA                 621 N SUPERIOR ST                                            DE PERE         WI         54115                  6002               Various                                                                                                $4.58
STEPHEN BROCKMAN               2800 MAIN AVE                                                KAUKAUNA        WI         54130                  6002               Various                                                                                                $1.62
STEPHEN BUNDREN                4311 JACKSON STREET                                          OSHKOSH         WI         54901                  6004               Various                                                                                               $30.00
STEPHEN CHILDERS               245 118TH ST                                                 OROFINO         ID         83544                  6002               Various                                                                                                $1.73
STEPHEN CHROMULAK              DONOHUE FOSTER SERVICES                                      NORTH BRANCH    MN         55056                  6002               Various                                                                                                $1.66
STEPHEN CLARKE                 701 COUNTY G                                                 PELICAN LAKE    WI         54463                  6002               Various                                                                                                $6.49
STEPHEN COLLETTA               2413 CIRCLETOWN PLACE                                        BELLEVUE        NE         68123                  6004               Various                                                                                               $43.00
STEPHEN COPE                   PO BOX 1348                                                  CHALLIS         ID         83226                  6002               Various                                                                                                $9.07
STEPHEN DESTEFANO              31419 131ST ST                                               PRINCETON       MN         55371                  6002               Various                                                                                                $6.11
STEPHEN DICKINSON              W 1534 WAGNER RD                                             MARINETTE       WI         54143                  6004               Various                                                                                               $10.00




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            Creditor Name              Address1                 Address2          Address3            City             State           Zip   Country      Number                Claim                                                                             Total Claim

STEPHEN DOUGHERTY            4511 76TH ST S                                                    WISCONSIN RAPIDS   WI           54494                   6004               Various                                                                                            $39.04
STEPHEN E. DICKMANN          D1481 2ND ST                                                      STRATFORD          WI           54484                   6002               Various                                                                                             $0.49
STEPHEN ERICKSON             PO BOX 22                                                         LACROSSE           WA           99143                   6004               Various                                                                                            $20.02
STEPHEN FELTER               4539 LOGTOWN RD                                                   LENA               WI           54139                   6002               Various                                                                                             $4.05
STEPHEN FLYNN                W5916 HEINTOWN ROAD                                               GREENWOOD          WI           54437                   6004               Various                                                                                             $5.00
STEPHEN FOSTER               1131 1/2 MILES AVE.                                               BILLINGS           MT           59102                   6004               Various                                                                                            $25.00
STEPHEN GAEDE                1121 HARLAN P O BOX # 104                                         FALLS CITY         NE           68355                   6002               Various                                                                                            $10.00
STEPHEN GALBRAITH            4120 535TH RD                                                     DARLINGTON         MO           64438                   6002               Various                                                                                             $4.41
STEPHEN GINES                PO BOX 1392                                                       LYMAN              WY           82937                   6002               Various                                                                                             $9.78
STEPHEN GRAY                 3621 REPULIC AVE                                                  RACINE             WI           53405                   6004               Various                                                                                            $10.62
STEPHEN HAMRICK              127 LARKSPUR CIR                                                  ALPINE             WY           83128                   6002               Various                                                                                             $5.62
STEPHEN HANSON               905 N 8TH AVE E                                                   DULUTH             MN           55805                   6002               Various                                                                                             $4.82
STEPHEN JAMES                7157 W WAPITI ST                                                  BOISE              ID           83709                   6002               Various                                                                                            $22.64
STEPHEN JOHNSON              585 N FIRST ST                                                    RICHFIELD          ID           83349                   6002               Various                                                                                             $0.27
STEPHEN LLOYD                259 MUENTOR AVE                                                   FOND DU LAC        WI           54935                   6002               Various                                                                                             $5.92
STEPHEN LOTHARIUS            112 1/2 N. 36TH AVE                                               WAUSAU             WI           54401                   6004               Various                                                                                            $15.00
STEPHEN M BOCHNIAK           7272 HAWKRIDGE RD                                                 GRASSTON           MN           55030                   6002               Various                                                                                             $8.19
STEPHEN M SCHNEIDER          3022 COUNTY ROAD EE                                               ABRAMS             WI           54101                   6002               Various                                                                                             $1.51
STEPHEN MOUNTAIN             909 PINERIDGE TER                                                 RIVER FALLS        WI           54022                   6002               Various                                                                                             $3.42
STEPHEN NOLAN                W13706 SINGER RD                                                  WEYERHAEUSER       WI           54895                   6004               Various                                                                                             $3.00
STEPHEN O HANSON             5390 DICKERMAN RD                                                 SAGINAW            MN           55779                   6002               Various                                                                                             $5.26
STEPHEN OXNER                318E 3RD ST                                                       BEAVER DAM         WI           53916                   6004               Various                                                                                            $25.50
STEPHEN OYEN                 P. O. BOX 273                                                     SALEM              SD           57058                   6004               Various                                                                                            $16.00
STEPHEN P BRUNNER            N840 AMANDA ST                                                    OCONOMOWOC         WI           53066                   6002               Various                                                                                             $1.42
STEPHEN P WILLIAMS           114 B MAIN ST APT 10                                              VALENTINE          NE           69201                   6002               Various                                                                                             $0.47
STEPHEN P. PROVOST           103 E MAPLE AVE APT 605                                           BEAVER DAM         WI           53916                   6002               Various                                                                                             $0.49
STEPHEN PASSWATERS           253 WILLOW ST APT 11                                              ARCADIA            WI           54612                   6002               Various                                                                                             $9.12
STEPHEN POELLOT              1472 HARVEY ST.                                                   GREEN BAY          WI           54302                   6004               Various                                                                                             $5.02
STEPHEN R TURNER             160 HICKORY RIDGE DR                                              GLENWOOD           IA           51534                   6002               Various                                                                                             $2.14
STEPHEN REESE                6226 E CUSTER LN                                                  SPOKANE            WA           99223                   6004               Various                                                                                             $5.96
STEPHEN RICHARDS             130 KELLY WAY APT 16                                              HORTONVILLE        WI           54944                   6002               Various                                                                                             $2.74
STEPHEN RIGGS                N1644 PLEASANT ROAD                                               FORT ATKINSON      WI           53538                   6004               Various                                                                                            $20.00
STEPHEN RODOCK               PO BOX 433                                                        ENGADINE           MI           49827                   6004               Various                                                                                           $120.00
STEPHEN ROLLINS              4662 PINERY POINT CT                                              JUNCTION CITY      WI           54443                   6002               Various                                                                                             $4.99
STEPHEN SAUTER               PO BOX 757                                                        EPHRAIM            WI           54211                   6002               Various                                                                                             $1.45
STEPHEN SCHMALZ              PO BOX 1446                                                       OROFINO            ID           83544                   6002               Various                                                                                             $1.18
STEPHEN SCHRITZ              116 GUNSIGHT LOOP                                                 KALISPELL          MT           59901                   6004               Various                                                                                             $1.00
STEPHEN SHOEMAKER            278 BLUEWATER ROAD                                                FROMBERG           MT           59029                   6004               Various                                                                                            $23.00
STEPHEN SORENSON             7136 TANNERY RD                LOT 10                             TWO RIVERS         WI           54241                   6004               Various                                                                                             $5.99
STEPHEN SPALDA               6594 WALTERS DR                                                   WEST BEND          WI           53090                   6002               Various                                                                                             $5.84
STEPHEN SRUBAS               1175 KELLOGG ST                                                   GREEN BAY          WI           54303                   6002               Various                                                                                             $1.12
STEPHEN STOLP                1420S. SKIPWORTH                                                  SPOKANE            WA           99206                   6004               Various                                                                                            $51.99
STEPHEN SYLVESTER            404 11TH ST                                                       WHEATLAND          WY           82201                   6002               Various                                                                                             $1.62
STEPHEN T LUCAS              540 N HARRISON ST                                                 LANCASTER          WI           53813                   6002               Various                                                                                             $4.47
STEPHEN THOMPSON             1324 S. 12TH AVE                                                  YAKIMA             WA           98902                   6004               Various                                                                                           $100.04
STEPHEN TORGERSON            315 THORSEN TRAIL                                                 IOLA               WI           54945                   6004               Various                                                                                             $2.00
STEPHEN VIDMAR               700 S COLONIAL PKWY                                               SAUKVILLE          WI           53080                   6004               Various                                                                                             $3.00
STEPHEN VIG                  411 N. PINCKNEY STREET                                            MADISON            WI           53703                   6004               Various                                                                                             $4.00
STEPHEN W. BAKER             209 9TH ST NW                                                     MASON CITY         IA           50401                   6002               Various                                                                                             $2.47

STEPHEN WANBERG              5640 FOUNTAIN LAKE CIR APT 1                                      BRADENTON          FL           34207                   6002               Various                                                                                               $9.86
STEPHEN WESTERGAN            PO BOX 5852                                                       DE PERE            WI           54115                   6002               Various                                                                                               $8.49
STEPHEN WRIGHT               48623 HARMA RD                                                    ATLANTIC MINE      MI           49905                   6002               Various                                                                                               $7.40




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                                                                                                                                                                                                       Unliquidated
                                                                                                                                                                                          Contingent


                                                                                                                                                                                                                      Disputed
                                                                                                                                                 Last 4 Digits of     Date Debt was
                                                                                                                                                    Account         Incurred, Basis for
              Creditor Name                Address1             Address2           Address3             City       State         Zip    Country     Number                Claim                                                                             Total Claim
STEPHENIE BALL                 1127 S. HOMESTEAD AVE.                                           FREEPORT        IL         61032                6004                Various                                                                                             $3.31
STEPHENIE L PENTERMAN          608 W WISCONSIN AVE                                              KAUKAUNA        WI         54130                6002                Various                                                                                             $2.58
STEPHINE EDICT                 3918 N 25TH ST                                                   WAUSAU          WI         54403                6004                Various                                                                                             $3.00
STERICYCLE INCORPORATED        PO BOX 6575                                                      CAROL STREAM    IL         60197-6575           8046                Various                                                                                          $406.88
STERLING MCLEESTER             114 CAMEO LANE                                                   MADISON         WI         53704                6004                Various                                                                                            $10.50
STETSON RUETH                  W4468 COUNTY HIGHWAY H                                           NEILLSVILLE     WI         54456                6004                Various                                                                                            $25.00
STETTINGER ENTERPRISES LTD     1919 SOUTH 40TH SUITE 315                                        LINCOLN         NE         68506                4612                Various                                                                                         $1,500.00
STEVE B. DRYDEN                114 E FREDRICK DR # 10                                           HARRISON        ID         83833                6002                Various                                                                                             $5.40
STEVE BACH                     111 FOLTON ST PO BOX # 171                                       COLERIDGE       NE         68727                6002                Various                                                                                             $3.48
STEVE BAUER                    2640 PHEASANT AVE                                                EXIRA           IA         50076                6002                Various                                                                                             $2.08
STEVE BOCK                     29 LONG HORN                                                     BUFFALO         WY         82834                6002                Various                                                                                             $6.58
STEVE BRAZELTON                1071 W RIVER RD                                                  WORLAND         WY         82401                6002                Various                                                                                            $10.00
STEVE BREZA                    20282 DODGE MOWER RD                                             WALTHAM         MN         55982                6004                Various                                                                                            $35.62
STEVE BRODERSEN                1661 350 STREET                                                  MANLY           IA         50456                6004                Various                                                                                            $50.00
STEVE BURNS                    3101 DRIER RD                                                    EAU CLAIRE      WI         54701                6004                Various                                                                                             $6.98
STEVE C SCHULTZ                36592 840TH ST                                                   OKABENA         MN         56161                6002                Various                                                                                             $8.52
STEVE CAULKINS                 84710 STATE HWY 4                                                HECTOR          MN         55342                6004                Various                                                                                            $35.98
STEVE CHRISTENSEN              5193 STATE HIGHWAY 29                                            DENMARK         WI         54208                6004                Various                                                                                            $14.00
STEVE COBB                     12525 DIAMOND DR.                                                HAYDEN          ID         83835                6004                Various                                                                                            $11.30
STEVE COLLINS                  14712 ELMS ST                                                    OMAHA           NE         68144                6004                Various                                                                                             $6.98
STEVE DANILUK                  5307 GREENWOOD ROAD                                              DULUTH          MN         55804                6004                Various                                                                                            $13.42
STEVE DENNISON                 PO BOX 219                                                       CLYDE PARK      MT         59018                6002                Various                                                                                             $7.53
STEVE DETERMANN                47254 170TH AVE                                                  SCARVILLE       IA         50473                6002                Various                                                                                            $10.00
STEVE DOLL                     2080 SHOPIERE RD             APT 16S                             BELOIT          WI         53511                6004                Various                                                                                            $19.00
STEVE EDELL                    1722 REDWOOD DR                                                  EAU CLAIRE      WI         54703                6002                Various                                                                                             $0.41
STEVE ERON                     401 GREEN ST                                                     MERRILLAN       WI         54754                6002                Various                                                                                             $1.59
STEVE EWING                    318 6TH ST                                                       WILDER          ID         83676                6002                Various                                                                                             $1.73
STEVE G FOWLER                 121 1/2 E CAMBRIA ST                                             NEWCASTLE       WY         82701                6002                Various                                                                                             $4.41
STEVE GARROU                   1312 WISCONSIN AVE #105                                          GRAFTON         WI         53024                6004                Various                                                                                             $6.00
STEVE HACKL                    W3765 CICERO RD                                                  SEYMOUR         WI         54165                6002                Various                                                                                            $10.00
STEVE HAM                      1415 S. WEST ST.                                                 JACKSONVILLE    IL         62650                6004                Various                                                                                            $14.00
STEVE HANSELL                  22 S ST                                                          FORT ATKINSON   WI         53538                6002                Various                                                                                             $9.07
STEVE HARDY                    HC 34 BOX 243                                                    POCATELLO       ID         83204                6004                Various                                                                                             $5.00
STEVE HELLER                   BOX 186                                                          WAYNE           NE         68787                6002                Various                                                                                             $8.71
STEVE HOWARD                   7684 S 3300TH W                                                  SPANISH FORK    UT         84660                6002                Various                                                                                             $7.07
STEVE KADUCE                   PO BOX 9                                                         FOREST CITY     IA         50436                6002                Various                                                                                             $7.92
STEVE KIMPEL                   511 S FRANKLIN                                                   POLO            IL         61064                6004                Various                                                                                            $12.00
STEVE KLINE                    PO BOX 125                                                       ALLENTON        WI         53002                6004                Various                                                                                            $15.00
STEVE KNECHT                   5208 26 ST                                                       KENOSHA         WI         53144                6004                Various                                                                                             $4.00
STEVE KRAUSE                   450 BILSTAD RD                                                   CAMBRIDGE       WI         53523                6004                Various                                                                                            $10.00
STEVE LARSON                   4007 EMPIRE DR.                                                  DE FOREST       WI         53532                6004                Various                                                                                            $23.00
STEVE LINDBERG                 3630 WILDFIRE RD                                                 EAST HELENA     MT         59635                6002                Various                                                                                             $8.47
STEVE MARX                     915 CROOKS AVE                                                   KAUKAUNA        WI         54130                6004                Various                                                                                             $3.00
STEVE MASSIE                   W8007 SOUTH US2/141                                              IRON MOUNTAIN   MI         49801                6004                Various                                                                                            $20.02
STEVE MAXWELL                  343 S 230TH W                                                    JEROME          ID         83338                6002                Various                                                                                             $2.74
STEVE MCGRORY                  1745 7TH AVE                                                     CLARKSTON       WA         99403                6004                Various                                                                                             $2.00
STEVE MIRSKY                   10920 68TH PL                                                    KENOSHA         WI         53142                6004                Various                                                                                            $11.00
STEVE MURRAY                   1948 COLONY CT APT 3                                             BELOIT          WI         53511                6002                Various                                                                                             $1.01
STEVE NAAB                     3916 N 60TH ST                                                   OMAHA           NE         68104                6002                Various                                                                                             $3.56
STEVE NELSON                   42162 GOPHER AVE                                                 HARRIS          MN         55032                6004                Various                                                                                             $3.77
STEVE OLTMAN                   PO BOX 73                                                        FILLEY          NE         68357                6002                Various                                                                                             $9.78
STEVE PEARCE                   267 N 400TH W                                                    CLEARFIELD      UT         84015                6002                Various                                                                                             $6.36
STEVE PECK                     PO BOX 300                                                       DIAMONDVILLE    WY         83116                6002                Various                                                                                             $0.77
STEVE PETERSON                 1212 BURRELL AVE                                                 LEWISTON        ID         83501                6004                Various                                                                                          $156.24




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                                                                                                                                                  Account         Incurred, Basis for
             Creditor Name                Address1         Address2        Address3             City            State           Zip   Country     Number                Claim                                                                             Total Claim
STEVE PLIMER                  308 1/2 PALM STREET                                       JANESVILLE         WI           53548                 6004                Various                                                                                               $16.81
STEVE R BENNETT               227 S EAST ST PO BOX # 107                                NORTH WEBSTER      IN           46555                 6002                Various                                                                                                $6.71
STEVE RASMUSSEN               1801 MYRTLE ST                                            SIOUX CITY         IA           51103                 6002                Various                                                                                                $8.88
STEVE REDEKER                 71258 ROAD 422                                            BEAVER CITY        NE           68926                 6002                Various                                                                                                $9.59
STEVE SANDERS                 N6711 HWY 42 LOT 31                                       ALGOMA             WI           54201                 6004                Various                                                                                               $39.00
STEVE SEVERANCE               1613 LINDEN AVENUE                                        JANESVILLE         WI           53548                 6004                Various                                                                                               $27.96

STEVE SONNENBERG              1521 29TH AVENUE SOUTH                                    WISCONSIN RAPIDS   WI           54495                  6004               Various                                                                                               $23.00
STEVE STARICHA                3364 CEDAR BAY RD                                         CALUMET            MI           49913                  6002               Various                                                                                                $1.26
STEVE STECKEL                 2003 MILLER ST                                            LA CROSSE          WI           54601                  6004               Various                                                                                               $25.00
STEVE STEINHOFF               1408 CHERYL DR                                            SAINT CLOUD        MN           56301                  6004               Various                                                                                               $13.60
STEVE STEPANCK                5209 MILWAUKEE STREET                                     MADISON            WI           53714                  6004               Various                                                                                               $15.06
STEVE STULC                   2884 BASIN GARDEN RD                                      BASIN              WY           82410                  6002               Various                                                                                                $8.14
STEVE TENNANT                 2510 FOOTHILL RD                                          KALISPELL          MT           59901                  6002               Various                                                                                                $0.27
STEVE THOMPSON                2669 CO HIGHWAY # P64                                     KELLERTON          IA           50133                  6002               Various                                                                                                $5.97
STEVE UWANAWICH               2716 LONDON RD                                            EAU CLAIRE         WI           54701                  6002               Various                                                                                                $8.88
STEVE WEISZ                   3011 HW2 E # 2                                            KALISPELL          MT           59901                  6002               Various                                                                                                $0.33
STEVE WHETTEN                 130 S MAIN PO BOX # 127                                   MILFORD            IN           46542                  6002               Various                                                                                                $5.97
STEVE WIELEBSKI               499 TEAL WAY                                              KODIAK             AK           99615                  6002               Various                                                                                                $5.56
STEVE WOLD                    218 GRAND AVE                                             NEILLSVILLE        WI           54456                  6002               Various                                                                                                $9.26
STEVE WOOD                    4324 W. 3780 S                                            SALT LAKE CITY     UT           84120                  6004               Various                                                                                               $13.00
STEVE WORSLEY                 1044 E THUNDERBIRD CT                                     EAGLE              ID           83616                  6002               Various                                                                                                $6.22
STEVE WOZNIAK                 702 CENTER STREET                                         TABOR              IA           51653                  6004               Various                                                                                               $35.00
STEVE YOUNG                   86439 SANDCHERRY LN                                       VALENTINE          NE           69201                  6002               Various                                                                                                $0.99
STEVEN A CICCARELLI           4000 CAMROSE CIR                                          EAST HELENA        MT           59635                  6002               Various                                                                                                $6.00
STEVEN ALDERMAN               1107 BEAVER RD                                            ALGER              MI           48610                  6002               Various                                                                                                $6.99
STEVEN ALEXANDER              1703 N MT ZION RD                                         JACKSONVILLE       IL           62650                  6004               Various                                                                                                $4.00
STEVEN ANDERSON               1091 JACOBSON RD.                                         NEENAH             WI           54956                  6004               Various                                                                                                $7.40
STEVEN B BLASE                PO BOX 735                                                HILL CITY          SD           57745                  6002               Various                                                                                                $6.68
STEVEN BANDLEY                8155 S REDWOOD RD TRLR 41                                 WEST JORDAN        UT           84088                  6002               Various                                                                                                $1.26
STEVEN BARNHART               1019 15TH ST N PRE-RELEASE                                GREAT FALLS        MT           59401                  6002               Various                                                                                                $0.99
STEVEN BARTEL                 728 NE 3RD ST                                             MADISON            SD           57042                  6002               Various                                                                                               $10.00
STEVEN BEIDECK                4832 S 92ND AVE                                           OMAHA              NE           68127                  6002               Various                                                                                                $1.07
STEVEN BILLESBACH             1713 S 14TH CIRCLE DR                                     BEATRICE           NE           68310                  6002               Various                                                                                                $1.53
STEVEN BOYETTE                2163 NEWBURY LANE                                         DELAVAN            WI           53115                  6004               Various                                                                                               $24.00
STEVEN BROOKS                 920 WOODLAND DR.                                          RHINELANDER        WI           54501                  6004               Various                                                                                               $20.00
STEVEN BROWN                  5610 34TH AVE                                             KENOSHA            WI           53144                  6004               Various                                                                                               $18.49
STEVEN BUSS                   724 NW BROADWAY ST                                        BEND               OR           97703                  6004               Various                                                                                               $16.00
STEVEN C HUFFMAN              HC 1 BOX 580                                              FAIRDEALING        MO           63939                  6002               Various                                                                                                $2.96
STEVEN CAMBER                 156 OLD ORCHARD LN.                                       NEENAH             WI           54956                  6004               Various                                                                                               $17.00
STEVEN CARLIN                 6532 SPRISE RD                                            LENA               WI           54139                  6002               Various                                                                                                $3.07
STEVEN CARTWRIGHT             2494 HOME WOOD CIRCLE                                     S JORDAN           UT           84095                  6004               Various                                                                                               $50.00
STEVEN CHAMBLEE               401 2ND STREET APT 208                                    BRODHEAD           WI           53520                  6004               Various                                                                                                $2.00
STEVEN CHRISTENSEN            305 N. WEST STREET                                        FLANDREAU          SD           57028                  6004               Various                                                                                               $10.00
STEVEN CHRISTENSON            3236 VENUS AVE                                            EAU CLAIRE         WI           54703                  6002               Various                                                                                                $4.36
STEVEN CLARK                  1214 S 12TH AVE                                           WAUSAU             WI           54401                  6002               Various                                                                                                $9.56
STEVEN D TICKLE               304 S BOYER AVE                                           BROCTON            IL           61917                  6002               Various                                                                                                $4.41
STEVEN DEDLOFF                1451 SAGEBRUSH LAN                                        MOSCOW             ID           83843                  6004               Various                                                                                               $23.00
STEVEN DUNN                   817 JOHNSON AVE APT 4                                     OROFINO            ID           83544                  6002               Various                                                                                                $4.44
STEVEN EDWARDS                371 SOUTHWOOD                                             PESHTIGO           WI           54157                  6004               Various                                                                                                $5.00
STEVEN F KRATTIGER            N2346 TENNY RD                                            BRODHEAD           WI           53520                  6002               Various                                                                                                $2.96
STEVEN FELDT                  417 S WISCONSIN                                           RICE LAKE          WI           54868                  6004               Various                                                                                               $60.00
STEVEN FELLOWS                1141 HILLCREST DRIVE                                      FREEPORT           IL           61032                  6004               Various                                                                                               $25.00
STEVEN FINE                   506 N 2ND AVE E                                           DULUTH             MN           55805                  6002               Various                                                                                                $4.00




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                                                                                                                                                 Last 4 Digits of     Date Debt was
                                                                                                                                                    Account         Incurred, Basis for
              Creditor Name                Address1            Address2          Address3              City       State           Zip   Country     Number                Claim                                                                             Total Claim
STEVEN FORD                    1114 10TH AVE NW                                               ROCHESTER        MN         55901                 6002                Various                                                                                             $3.92
STEVEN FRERICHS                18549 MAIL RD                                                  NISLAND          SD         57762                 6002                Various                                                                                             $0.36
STEVEN GARVEY                  3220 S PINE TREE RD                                            ONEIDA           WI         54155                 6002                Various                                                                                             $1.40
STEVEN GELDBACH                HC 6 BOX 283                                                   DONIPHAN         MO         63935                 6002                Various                                                                                             $5.56
STEVEN GERRAN                  202 E REES ST APT 103                                          FOND DU LAC      WI         54935                 6002                Various                                                                                             $0.96
STEVEN GLASS                   709 N GARFIELD AVE                                             JANESVILLE       WI         53545                 6666                Various                                                                                            $14.02
STEVEN GODSCHALX               PO BOX 251                                                     LITTLE CHUTE     WI         54140                 6002                Various                                                                                             $3.75
STEVEN GOODMAN                 4016 E. CONGRESS                                               SPOKANE          WA         99223                 6004                Various                                                                                            $75.00
STEVEN GRIMLEY                 513 10TH AVE SW                                                AUSTIN           MN         55912                 6002                Various                                                                                             $1.84
STEVEN GRUNEWALD               W1221 MEADOW VIEW DR                                           SULLIVAN         WI         53178                 6002                Various                                                                                             $9.56
STEVEN HAGEMAN                 1633 WALNUT STREET                                             OSHKOSH          WI         54901                 6004                Various                                                                                             $3.80
STEVEN HANKE                   6207 LABRADOR RD APT 3                                         SCHOFIELD        WI         54476                 6002                Various                                                                                             $7.92
STEVEN HARDT                   1516 KEELER                                                    BELOIT           WI         53511                 6004                Various                                                                                             $3.00
STEVEN HARRISON                1905 W APPLEWAY AVE                                            COEUR D ALENE    ID         83814                 6002                Various                                                                                             $4.36
STEVEN HESSELBERG              232 WEST VINE ST                                               CHIPPEWA FALLS   WI         54729                 6004                Various                                                                                           $107.97
STEVEN HILGEN                  1125 W MAIN ST              LOT 32                             LITTLE CHUTE     WI         54140                 6004                Various                                                                                             $3.00
STEVEN HINTZ                   W1142 ASPN DR.                                                 SPRING VALLEY    WI         54767                 6004                Various                                                                                            $43.00
STEVEN HOANG                   1217 WAYLAND ST                                                BEAVER DAM       WI         53916                 6004                Various                                                                                            $21.00
STEVEN HORACEK                 5177 COUNTY TRUNK E                                            ATHENS           WI         54411                 6002                Various                                                                                             $8.03
STEVEN HORSCH                  790 SHORELINE DR                                               HOWARD LAKE      MN         55349                 6002                Various                                                                                             $2.71
STEVEN HUFF                    1550 S 1000 E               #1602                              CLEARFIELD       UT         84015                 6004                Various                                                                                            $23.99
STEVEN HUGHES                  4140 BONA VILLA DR                                             OGDEN            UT         84403                 6002                Various                                                                                             $4.22
STEVEN J BAUER                 930 N 31ST ST                                                  BILLINGS         MT         59101                 6002                Various                                                                                             $8.49
STEVEN J. SMITH                2269 GOLD DR                                                   MADISON          WI         53711                 6002                Various                                                                                            $10.00
STEVEN JAMES JUEDS             E5983 MAVIS RD                                                 MARION           WI         54950                 6002                Various                                                                                             $0.88
STEVEN JOHNSON                 3428 INDIANA ST                                                RACINE           WI         53405                 6002                Various                                                                                             $6.11
STEVEN K ANDERSON              PO BOX 962                                                     WATERTOWN        SD         57201                 6002                Various                                                                                             $2.58
STEVEN KEIL                    5120 EXOPO DR APT 103                                          MANITOWOC        WI         54220                 6002                Various                                                                                             $6.30
STEVEN KLUCZINSKE              1511 22ND ST                                                   TWO RIVERS       WI         54241                 6004                Various                                                                                             $1.00
STEVEN KWAKKEL                 11764 ROSE ELD RD                                              RIPON            WI         54971                 6004                Various                                                                                            $20.00
STEVEN L HUETTL                6696 LASLEY SHORE DR                                           WINNECONNE       WI         54986                 6002                Various                                                                                             $6.68
STEVEN L MILLER                1891 310TH ST                                                  ORIENT           IA         50858                 6002                Various                                                                                             $4.63
STEVEN LANICH                  1504 RIDGEWAY DR                                               DE PERE          WI         54115                 6002                Various                                                                                             $0.93
STEVEN LATSCH                  226 E OAK ST                                                   LAKE MILLS       WI         53551                 6002                Various                                                                                             $6.58
STEVEN LEE                     21659 40TH AVE                                                 CHIPPEWA FALLS   WI         54729                 6002                Various                                                                                             $4.49
STEVEN LIEN                    1213 W KEMP                                                    WATERTOWN        SD         57201                 6002                Various                                                                                            $10.00
STEVEN LONG                    PO BOX 693                                                     HANNA            WY         82327                 6002                Various                                                                                             $1.89
STEVEN LYNESS                  1005 13TH AVE SE                                               SAINT CLOUD      MN         56304                 6002                Various                                                                                             $6.60
STEVEN M DEARMAN               1828 GEORGE ST                                                 LA CROSSE        WI         54603                 6002                Various                                                                                             $3.67
STEVEN M ERTL                  7932 MARSHFIELD RD                                             MARSHFIELD       WI         54449                 6002                Various                                                                                             $4.66
STEVEN M KELLEY                4908 E BRENNAN DR                                              SIOUX FALLS      SD         57110                 6002                Various                                                                                             $6.77
STEVEN M NELSON                N2493 WHISPERING PINES RD                                      WAUPACA          WI         54981                 6002                Various                                                                                             $0.44
STEVEN M SWAGER                7325 391ST ST                                                  NORTH BRANCH     MN         55056                 6002                Various                                                                                             $3.81
STEVEN MCFADDEN                3853 FISHERMANS CV                                             MOSINEE          WI         54454                 6002                Various                                                                                             $1.07
STEVEN MORRISON                623 R RD                                                       GOFF             KS         66428                 6002                Various                                                                                             $4.77
STEVEN MULHOLLAND              1651 WILSHIRE DR NE                                            ROCHESTER        MN         55906                 6002                Various                                                                                             $4.19
STEVEN MUNROE                  1320 33RD ST NW                                                ROCHESTER        MN         55901                 6004                Various                                                                                            $86.79
STEVEN MYERS                   34142 150TH ST                                                 WORTHINGTON      MN         56187                 6004                Various                                                                                             $3.00
STEVEN ODELIUS                 305 2ND AVE S                                                  SAUK RAPIDS      MN         56379                 6004                Various                                                                                             $3.00
STEVEN OHDE                    521 STRINGTOWN ROAD                                            WOLBACH          NE         68882                 6004                Various                                                                                            $43.00
STEVEN OLSON                   2515 27 1/2 ST.                                                RICE LAKE        WI         54868                 6004                Various                                                                                            $99.98
STEVEN ORTEGA                  328 SWEET RD                                                   DARIEN           WI         53114                 6004                Various                                                                                             $1.00
STEVEN P LIVERSEED             W11042 VAN BUREN RD                                            COLUMBUS         WI         53925                 6002                Various                                                                                             $1.40
STEVEN PAASCHE                 55 HANGING TREE GULCH                                          CLANCY           MT         59634                 6002                Various                                                                                             $2.22




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                                                                                                                                                        Account         Incurred, Basis for
              Creditor Name                   Address1             Address2          Address3             City        State           Zip   Country     Number                Claim                                                                             Total Claim
STEVEN PACKER                     522 S 800TH W                                                   BRIGHAM CITY     UT         84302                 6002                Various                                                                                             $2.41
STEVEN PARKER                     5113 25TH AVE                                                   KENOSHA          WI         53140                 6004                Various                                                                                            $11.71
STEVEN PEPPER                     107 NEYMAN ST                                                   SALMON           ID         83467                 6002                Various                                                                                             $4.14
STEVEN PETERSON                   PO BOX 715                                                      ARLINGTON        MN         55307                 6002                Various                                                                                            $10.00
STEVEN POLZINE                    20976 260TH ST                                                  RUSHMORE         MN         56168                 6004                Various                                                                                            $20.00
STEVEN PURCELL                    HOMLESS                                                         SAINT CLOUD      MN         56301                 6004                Various                                                                                             $2.95
STEVEN PYSCHER                    450 AUBIN ST                                                    PESHTIGO         WI         54157                 6004                Various                                                                                            $85.65
STEVEN R HORACK                   1406 NEENAH STREETAPT # 1                                       WATERTOWN        WI         53094                 6002                Various                                                                                             $5.15
STEVEN R KIMBALL                  1623 22ND 1/2 AVE                                               MONROE           WI         53566                 6002                Various                                                                                             $0.36
STEVEN R THOMPSON                 23 EMD D LN # 8                                                 SYRACUSE         IN         46567                 6002                Various                                                                                             $2.08
STEVEN R WEISHOFF                 N6386 HARTT RD                                                  COLUMBUS         WI         53925                 6002                Various                                                                                             $4.30
STEVEN RADKE                      4501 N 32ND AVE                                                 WAUSAU           WI         54401                 6004                Various                                                                                            $62.00
STEVEN ROHDE                      5595 LABUWI LN                                                  WAUNAKEE         WI         53597                 6004                Various                                                                                            $25.00
STEVEN SALAZAR                    N8283 KELLOM ROAD            LOT 17                             BEAVER DAM       WI         53916                 6004                Various                                                                                             $1.00
STEVEN SAUVE                      1222 HOCKRIDGE ST.                                              MARINETTE        WI         54143                 6004                Various                                                                                             $7.30
STEVEN SCHEETS                    W7494 POERTNER RD                                               NEILLSVILLE      WI         54456                 6002                Various                                                                                             $6.60
STEVEN SCHEITERLEIN               PO BOX 284                                                      RICE             MN         56367                 6002                Various                                                                                             $9.23
STEVEN SCHILLER                   N5866 COUNTY ROAD P                                             DELAVAN          WI         53115                 6004                Various                                                                                            $10.00
STEVEN SCHMIDT                    19412 US HWY 151                                                VALDERS          WI         54245                 6004                Various                                                                                           $150.00
STEVEN SCHWENK                    8019 27TH AVE                                                   KENOSHA          WI         53143                 6004                Various                                                                                            $10.00
STEVEN SEUBERT                    3896 HIGHWAY 107                                                MARATHON         WI         54448                 6002                Various                                                                                             $9.23
STEVEN SIDWELL                    2633 N LEXINGTON DR APT 32                                      JANESVILLE       WI         53545                 6002                Various                                                                                             $7.89
STEVEN SIGURDSON                  73962 PINEWOOD DR                                               ALBERT LEA       MN         56007                 6004                Various                                                                                             $6.63
STEVEN SLAYTON                    518 FIRST AVE E # 2                                             WILLISTON        ND         58801                 6002                Various                                                                                             $6.03
STEVEN SMITH                      811 VILAS AVE                                                   NEKOOSA          WI         54457                 6004                Various                                                                                             $5.00
STEVEN SMOTHERS                   1135 TRONA DR APT 1                                             GREEN RIVER      WY         82935                 6002                Various                                                                                             $6.36
STEVEN STATHOPOULOS               2851 W MEMORIAL DR                                              JANESVILLE       WI         53548                 6004                Various                                                                                            $25.00
STEVEN T. SOSNOSKI                1625 MARICOPA DR                                                OSHKOSH          WI         54904                 6002                Various                                                                                             $7.29
STEVEN TESSMER                    3227 RUNWAY AVE                                                 EAU CLAIRE       WI         54703                 6004                Various                                                                                             $3.00
STEVEN THOMMES                    621 5TH AVE N APT 1                                             SAINT CLOUD      MN         56303                 6002                Various                                                                                             $9.84
STEVEN TODD                       PO BOX 863                                                      CORINTH          MS         38835                 6002                Various                                                                                             $1.32
STEVEN TYLEE                      100 SE AVE APT 8                                                FREDERICKSBURG   IA         50630                 6002                Various                                                                                             $1.12
STEVEN TYRRELL                    1027 W 12TH ST                                                  MERIDIAN         ID         83642                 6002                Various                                                                                             $2.88
STEVEN VANAKKEREN                 2533 ROLLING MEADOWS DR                                         SHEBOYGAN        WI         53083                 6002                Various                                                                                             $4.99
STEVEN VANDEWALLE                 5 TILBERRY CT                                                   APPLETON         WI         54913                 6002                Various                                                                                             $2.77

STEVEN W. KESSLER                 419 BADGER SQUARE PO BOX #                                      LAUREL           MT         59044                  6002               Various                                                                                             $8.47
STEVEN W. LEHENBAUER              2619 HIGHWAY # A                                                PALMYRA          MO         63461                  6002               Various                                                                                             $9.95
STEVEN WALKER                     8778 S 1095TH W                                                 WEST JORDAN      UT         84088                  6002               Various                                                                                             $1.48
STEVEN WESEMANN                   2236 9TH RD                                                     WISNER           NE         68791                  6002               Various                                                                                             $6.33
STEVEN WEST                       439 S BROADWAY ST                                               CASSOPOLIS       MI         49031                  6002               Various                                                                                             $7.15
STEVEN WILD                       2726 8 1/2 ST APT 6                                             MONROE           WI         53566                  6002               Various                                                                                             $8.49
STEVEN WILHELM                    1817 E BARK LOOP                                                POST FALLS       ID         83854                  6002               Various                                                                                             $7.51
STEVEN YATES                      19743 MARINUKA DR                                               GALESVILLE       WI         54630                  6002               Various                                                                                             $2.96
STEVEN ZIEGELBAUER                N2634 IRISH RD                                                  CHILTON          WI         53014                  6004               Various                                                                                             $5.00
STEVENS                           PO BOX 500                                                      TEMPERANCE       MI         48182                                     Various                                                                                          $595.00
STEVENS POINT TRANSPORTATION D    300 BLISS AVENUE             PO BOX 243                         STEVENS POINT    WI         54481-0243              4766              Various                                                                                         $2,567.90
                                                                                                                                                                        9/1/2018 -
STEVENS POINT WATER DEPARTMENT    PO BOX 243                                                      STEVENS POINT    WI         54481-0243              3754              11/30/2018                                                                                      $1,096.45
STEVE'S SANITATION                140 6TH AVE NE                                                  PERHAM           MN         58573                                     Various                                                                                         $1,661.33
STEVI ROSENBAUM                   16727 WASHINGTON ST                                             OMAHA            NE         68135                  6002               Various                                                                                             $1.34
STEVIE D BRADFORD                 2993 W MAIN ST LOT C13                                          NEWCASTLE        WY         82701                  6002               Various                                                                                             $0.41
STEVIE DAUGHERTY                  2140 GEORGE ST                                                  BILLINGS         MT         59102                  6004               Various                                                                                             $3.00
STEVIE OLSON                      40 KAREN COURT                                                  MANKATO          MN         56001                  6004               Various                                                                                             $1.31




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                                                                                                                                                               Account         Incurred, Basis for
              Creditor Name                      Address1                Address2          Address3              City         State         Zip    Country     Number                Claim                                                                             Total Claim
STEVIE PEDDICORD                      110 WEST MAIN ST                                                  LITTLE YORK        IL         61453                6004                Various                                                                                            $39.00
STEVIE RANDALL                        PO BOX 87                                                         FAIRVIEW           WY         83119                6002                Various                                                                                             $5.53
STEWART BEVERAGE CORPORATION          PO 759                                                            STERLING           IL         61081-0759           9913                Various                                                                                          $675.63
STEWART ESTRADA                       4670 BRANCH RD.                                                   WAPATO             WA         98951                6004                Various                                                                                             $4.03
STEWART TALENT MANAGEMENT CORP        400 N MICHIGAN AVE STE 700                                        CHICAGO            IL         60611                5750                Various                                                                                         $2,610.00
STEWART WILLCUTT                      623 S SHERIDAN ST                                                 FERGUS FALLS       MN         56537                6002                Various                                                                                             $0.27
STIEGLER COMPANY INCORPORTED          1265 RUSSET COURT                                                 GREEN BAY          WI         54313                2470                Various                                                                                         $1,661.06
STINKY CARTIN                         1318 PHOENIX AVE                                                  HELENA             MT         59601                6002                Various                                                                                             $5.10

STINNETT/ WILLIAM                     ISD/STORE 080                  SHOPKO EMPLOYEE                    GREEN BAY          WI         54307-9060            3355               Various                                                                                          $528.79
STODOLA FAMILY                        1618 SUSAN LN                                                     DEERFIELD          WI         53531                 6002               Various                                                                                             $6.55
STOFFEL EQUIPMENT COMPANY INC         PO BOX 240082                                                     MILWAUKEE          WI         53224                 4337               Various                                                                                        $28,599.75
STONE MOUNTAIN USA LLC                10 WEST 33RD STREET STE 728                                       NEW YORK           NY         10001                 4224               Various                                                                                       $148,697.86
                                      C/O WATSON CENTERS             4725 EXCELSIOR
STONE RIDGE PARTNERS                  INCORPORATED                   BLVD SUITE 402                     ST LOUIS PARK      MN         55416                 3480               Various                                                                                         $7,743.00
STONY CREEK                           583 D ONOFRIO DRIVE STE 222                                       MADISON            WI         53719                 7140               Various                                                                                        $15,000.00
STOR MOR MOBILE STORAGE INCORP        PO BOX 613                                                        MOOSE LAKE         MN         55767                 9391               Various                                                                                          $907.51
                                                                     3845 E SAWTOOTH
STORAGE PROS                          MICHAEL E DESAUTEL             DRIVE                              CHANDLER           AZ         85249                  3847              Various                                                                                               $85.66
                                                                     1903 NEMAHA
STORAGE SOLUTION                      MARK MEYER                     AVENUE                             FALLS CITY         NE         68355                 2761               Various                                                                                          $450.00
STORAGE SYSTEMS                       13991 CR 47                                                       BURLINGTON         CO         80807                 1159               Various                                                                                          $120.00
STORCK USA L P                        PO BOX 677430                                                     DALLAS             TX         75267-7430            7018               Various                                                                                        $22,743.82
                                                                     3802 RELIABLE
STORED VALUE SOLUTIONS INC            LOCKBOX 3802                   PARKWAY                            CHICAGO            IL         60686-0038            3409               Various                                                                                        $24,619.48
STORM D. BARTOL-KRUEGER               PO BOX 191                                                        FORT ATKINSON      WI         53538                 6002               Various                                                                                             $1.86
STORM KERWIN                          1406 LEE DR APT 56                                                BELLEVUE           NE         68005                 6002               Various                                                                                             $4.88
STORME A OGDEN                        11115 CREIGHTON RD SW                                             FIFE LAKE          MI         49633                 6002               Various                                                                                             $3.53
STORMY ESCALANTE                      422 FOREST AVE                                                    FOND DU LAC        WI         54935                 6004               Various                                                                                             $2.00
STORMY FULLER                         1519 FIFTH AVENUE EAST                                            KALISPELL          MT         59901                 6004               Various                                                                                            $20.00

STOUT & EVINK PLUMBING & HEATING, INC. 620 7TH ST. SW                                                   PIPESTONE          MN         56164                                    1/8/2019                                                                                              $75.00
STUART BOYD SIMS                       506 SWEETWATER ST                                                LANDER             WY         82520                  6002              Various                                                                                                $5.84

STUART BRINTZENHOFF                   95 RIVERS EDGE RD NW APT 118                                      KALKASKA           MI         49646                 6002               Various                                                                                             $6.44
STUART DEWELL                         423 W GRAND AVE                                                   EAU CLAIRE         WI         54703                 6004               Various                                                                                            $16.00
STUART FAMILY                         140 W 2300TH S                                                    CLEARFIELD         UT         84015                 6002               Various                                                                                             $9.26
STUART KESSLER                        5247 W MIDTOWN RD                                                 MOUNT MORRIS       IL         61054                 6004               Various                                                                                            $12.80
STUART PUTMAN                         814 E PREMBROKE                                                   TUSCOLA            IL         61953                 6002               Various                                                                                            $10.00
STUART RITZERT                        2130 CANDI LANE                                                   BELOIT             WI         53511                 6004               Various                                                                                             $1.00
STUCKMAN SANITATION                   9280 N KOHER RD E                                                 SYRACUSE           IN         46567                                    Various                                                                                          $692.90
STUDIO FORTY FOUR LLC INCORPOR        211 N BROADWAY SUITE 218                                          GREEN BAY          WI         54303                 7290               Various                                                                                       $108,823.26
STULTZ PLUMBING, INC.                 101 . 3RD STREET                                                  SIOUX CITY         IA         51103                                    Various                                                                                          $386.95
                                                                                                                                                                               11/27/2018 -
STURGIS WATER DEPARTMENT              1040 HARLEY-DAVIDSON WAY                                          STURGIS            SD         57785                  50.01             12/20/2018                                                                                        $452.25
                                      1040 HARLEY DAVIDSON WAY
STURGIS/ CITY OF                      STE 103                                                           STURGIS            SD         57785                  0815              Various                                                                                               $36.47

STUTZMAN REFUSE DISPOSAL              315 W BLANCHARD AVE                                               SOUTH HUTCHINSON   KS         67505-1531                               Various                                                                                          $348.96
STYLIANO ORFANOS                      1008 S PROSPECT DR TRLR 94                                        TOLEDO             IA         52342                 6002               Various                                                                                             $2.60
SUAD ABDIRHIMAN FARAH                 1430 4TH AVE SE APT 109                                           ROCHESTER          MN         55904                 6002               Various                                                                                             $5.95
SUBURBAN GARBAGE SERVICE              6075 STATE STREET                                                 SALEM              OR         97317                                    Various                                                                                         $1,564.24
SUBWAY BEATRICE                       1219 N 6TH                                                        BEATRICE           NE         68310                 2664               Various                                                                                          $150.00




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                                                                                                                                                      Last 4 Digits of     Date Debt was
                                                                                                                                                         Account         Incurred, Basis for
            Creditor Name                   Address1               Address2          Address3            City         State           Zip   Country      Number                Claim                                                                             Total Claim
                                                              1471 N HUMISTON
SUBWAY WORTHINGTON                KEY VENTURES INCORPORATED   AVENUE                              WORTHINGTON        MN       56187                   4297               Various                                                                                            $15.82
SUDI HIRABE                       1131 7TH ST S APT 103D                                          WAITE PARK         MN       56387                   6004               Various                                                                                             $3.00
SUDIE THORMAHLEN                  881 E 3RD ST                                                    POWELL             WY       82435                   6002               Various                                                                                             $6.99
SUDS HUT                          2701 N MONTANA                                                  HELENA             MT       59601                   5152               Various                                                                                            $58.94
SUE ANDREWS                       501 5TH ST NW                                                   AUSTIN             MN       55912                   6004               Various                                                                                             $3.00
SUE ANN TANNER                    3320 HIGHWAY 241 # 3                                            AFTON              WY       83110                   6002               Various                                                                                             $7.01
SUE BESLER                        3841 CLOVER LN                                                  MADISON            WI       53714                   6004               Various                                                                                            $12.50
SUE ELLIOTT                       220 S ST JOHN                                                   LYONS              KS       67554                   6002               Various                                                                                             $6.99
SUE GEORGE                        W9084 CNTY B                                                    BROWNTOWN          WI       53522                   6002               Various                                                                                             $0.68
SUE GRITZMACHER                   6280 IVORY CT UNIT 1                                            BELVIDERE          IL       61008                   6004               Various                                                                                            $17.47
SUE HARPER                        135 MARCOU RD APT 208                                           ONALASKA           WI       54650                   6002               Various                                                                                             $8.68
SUE HERRICKS                      1318 WILSON ST                                                  ONALASKA           WI       54650                   6002               Various                                                                                             $7.42
SUE LAMB                          427 PIONEER RD                                                  SHEBOYGAN          WI       53081                   6002               Various                                                                                             $5.75
SUE LINDAU                        315 ROSENDALE ST                                                BEAVER DAM         WI       53916                   6002               Various                                                                                             $2.03
SUE MEH                           1209 1ST ST NE APPT 307                                         AUSTIN             MN       55912                   6004               Various                                                                                             $3.00
SUE QUIGLEY                       1718 HARDING ST                                                 TAMA               IA       52339                   6002               Various                                                                                             $3.45
SUE RASMUSSEN                     5024 DREXEL ST                                                  OMAHA              NE       68117                   6002               Various                                                                                             $0.66
SUE REDFERN                       622 9TH ST NW                                                   MASON CITY         IA       50401                   6002               Various                                                                                             $2.93
SUE REYEZ                         214 7TH ST NW                                                   BYRON              MN       55920                   6002               Various                                                                                             $6.52
SUE SCHROEDER                     41390 ROAD 765                                                  GOTHENBURG         NE       69138                   6002               Various                                                                                             $0.79
SUE SIMMONS                       3916 NEBRASKA AVE                                               OMAHA              NE       68111                   6002               Various                                                                                             $5.45
SUE SINETTE                       421 E RIVER ST                                                  CHIPPEWA FALLS     WI       54729                   6004               Various                                                                                            $25.00
SUE WALTER                        R3625 BLUE JAY LANE                                             RINGLE             WI       54471                   6004               Various                                                                                            $23.00
SUE WANLASS                       3600 S 6545TH W                                                 WEST VALLEY CIT    UT       84120                   6002               Various                                                                                             $1.67
SUE WILLMON                       1027 HEMLOCK DRIVE                                              LEWISTON           ID       83501                   6004               Various                                                                                            $43.19
SUGAR BABY K MINICK               39106 HEMINGWAY AVE                                             NORTH BRANCH       MN       55056                   6002               Various                                                                                             $9.26
SULEIMAN AHMED                    1121 N KIWANIS AVE                                              SIOUX FALLS        SD       57104                   6002               Various                                                                                             $6.36
SULIMAN BANDAS                    4800 N 15TH                                                     LINCOLN            NE       68521                   6004               Various                                                                                             $4.00
SULTAN ALINUR                     1475 12TH AVE. N.           APT 17                              SAINT CLOUD        MN       56303                   6004               Various                                                                                             $3.00
SUMITOMO ELECTRIC CARBIDE INC     PO BOX 2275                                                     CAROL STREAM       IL       60132-2275              5721               Various                                                                                           $902.00
SUMMER BAREA                      6805 LAUREL AVE                                                 OMAHA              NE       68104                   6004               Various                                                                                             $6.00
SUMMER DICKINSON                  511 E 1600TH S                                                  OGDEN              UT       84405                   6002               Various                                                                                             $7.64
SUMMER DUVAL                      150 SHADY LN SPC 193                                            KALISPELL          MT       59901                   6002               Various                                                                                             $4.60
SUMMER HARRINGTON                 978 W VILLAGE BEND LN                                           MIDVALE            UT       84047                   6002               Various                                                                                             $1.18
SUMMER HERRMANN                   2045 KENWOOD AVE                                                NEW HAMPTON        IA       50659                   6002               Various                                                                                             $2.74
                                                              1275 PARK EAST
SUMMER INFANT INCORPORATED        SII ACQUISITION INC         DRIVE                               WOONSOCKET         RI       02895-0000              4088               Various                                                                                       $131,234.60
SUMMER MARSHALL                   220 S. 8TH AVE.                                                 WAUSAU             WI       54401                   6004               Various                                                                                             $3.00
SUMMIT BEVERAGE                   3305 GREAT NORTHERN WAY                                         MISSOULA           MT       59808-0000              0830               Various                                                                                          $104.70
SUMMIT FIRE PROTECTION COMPANY    PO BOX 6205                                                     CAROL STREAM       IL       60197-6205              3384               Various                                                                                         $5,385.00
SUMMIT NORTHWEST LLC              PO BOX 18194                                                    SEATTLE            WA       98118-0194              9764               Various                                                                                        $31,473.14
SUN YIN USA                       280 MACHLIN COURT                                               CITY OF INDUSTRY   CA       91789                   5057               Various                                                                                       $110,643.27
SUNCAST CORPORATION               4297 PAYSPHERE CIRCLE                                           CHICAGO            IL       60674-0000              4424               Various                                                                                       $121,394.05
                                                                                                  SOUTH SAN
SUNDANCE SHOES INC                430 N CANAL STREET STE 17                                       FRANCISCO          CA       94080                   3018               Various                                                                                        $17,386.40
SUNDERMAN SEPTIC SERVICE          ERIC SUNDERMAN              5653 W CR 1200 N                    KINGMAN            IN       47952                   5338               Various                                                                                         $1,200.00
SUNDIANE PRICE                    1930 BITTERCREEK RD                                             SMOOT              WY       83126                   6002               Various                                                                                             $9.48
SUNDOWN SEMMLER                   47 WAGONWHEEL RD                                                SALMON             ID       83467                   6002               Various                                                                                             $5.15
SUNDUS MOHAMED                    1426 4TH AVE SE             APT 205                             ROCHESTER          MN       55904                   6004               Various                                                                                             $3.00
SUNISA MELTON                     533 N CHURCH ST                                                 WATERTOWN          WI       53094                   6004               Various                                                                                            $34.98
SUNITHA KONDURU                   1771 STONECREST DR NE                                           ROCHESTER          MN       55906                   6002               Various                                                                                             $9.70
SUNMART                           601 E FRANCIS                                                   NORTH PLATTE       NE       69101                   7977               Various                                                                                            $24.60
SUNNI LINKLATER                   430 FOUR MILE CREEK RD                                          MOSINEE            WI       54455                   6004               Various                                                                                             $3.00




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                                                                                                                                                                                                 Contingent


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                                                                                                                                                           Account         Incurred, Basis for
             Creditor Name                  Address1               Address2         Address3            City             State        Zip     Country      Number                Claim                                                                             Total Claim

SUNNY BOUCK                       1486 TWITCHELL WAY BOX # 441                                   MANILA             UT           84046                  6002               Various                                                                                             $9.62
SUNNY ISLAND DISTRIBUTION         1569 BARCLAY BLVD                                              BUFFALO GROVE      IL           60089                  7987               Various                                                                                       $178,214.19
SUNNY LYNN LINK                   436 HENRY ST APT 12                                            SEYMOUR            WI           54165                  6002               Various                                                                                             $0.74
SUNNY MAZUREK                     1520 LINCOLN STREET                                            RACINE             WI           53402                  6004               Various                                                                                             $6.00
SUNRISE EXPRESS INCORPORATED      PO BOX D                                                       TWIN FALLS         ID           83303-0019             7846               Various                                                                                         $6,422.28
SUNSHINE ROCK                     510 4TH ST. S.               #10073670019                      FARGO              ND           58103                  6004               Various                                                                                             $3.00
SUPER STORES SERVICE              PO BOX 627                                                     BEAVERTON          OR           97075                  0021               Various                                                                                            $96.70
SUPERIOR FLOOR & POWER SWEEP I    4676 COMMERCIAL STREET SE    PMB 166                           SALEM              OR           97302                  2571               Various                                                                                          $130.00
SUPERIOR VISION                   11101 WHITE ROCK RD                                            RANCHO CORDOVA     CA           95670                  6004               Various                                                                                         $2,712.20
SUPERIOR WATER & AIR INCORPORA    3536 S 1950 W                                                  WEST VALLEY CITY   UT           84119                  4018               Various                                                                                            $79.90
                                  1835 WEST PERSHING STREET
SUPRIYA PANDEY                    APT 105                                                        APPLETON           WI           54914                  6004               Various                                                                                            $25.00
SURE FIT HOME PRODUCTS LLC        8000 Quarry Rd                                                 Alburtis           PA           180111                 6390               Various                                                                                       $166,932.28
                                                               3960 ROSSLYN
SURGICAL APPLIANCE INDUSTRIES     VICE PRESIDENT OF SALES      DRIVE                             CINCINNATI         OH           45209                  8029               Various                                                                                        $24,561.48
SURPLUS GIANT INCORPORATED        900 E ATLANTIC AVE SUITE 12                                    DELRAY BEACH       FL           33483-0000             6996               Various                                                                                        $22,797.00
SUSALEA MCELHINNEY                1700 HILLTOP DR                                                WORLAND            WY           82401                  6002               Various                                                                                             $1.37
SUSAN A CAREY                     3230 W CAMERON ST                                              EAU CLAIRE         WI           54703                  6002               Various                                                                                             $0.41
SUSAN A JUNGWIRTH                 436 W 8TH AVE                                                  OSHKOSH            WI           54902                  6002               Various                                                                                             $6.58
SUSAN A PAHLOW                    W8530 BELLE PLAINE AVE                                         SHAWANO            WI           54166                  6002               Various                                                                                             $5.37
SUSAN AMOND                       718 OAK STREET                                                 DE PERE            WI           54115                  6004               Various                                                                                            $30.00
SUSAN B DICKSON                   101 N 2NT STREET APT 104                                       WINNECONNE         WI           54986                  6002               Various                                                                                             $4.16
SUSAN BALLARD                     110 N. OAK                                                     HELENA             MT           59602                  6004               Various                                                                                             $2.00
SUSAN BARKER                      4724 WEST 3965 SOUTH                                           WEST VALLEY        UT           84120                  6004               Various                                                                                            $26.00
SUSAN BARTA                       3812 18TH AVE                                                  KENOSHA            WI           53140                  6004               Various                                                                                            $43.20
SUSAN BASS                        9829 ELLISON AVE                                               OMAHA              NE           68134                  6002               Various                                                                                             $1.64
SUSAN BAUER                       N6567 COUNTY ROAD Q                                            KNAPP              WI           54749                  6004               Various                                                                                            $10.00
SUSAN BAUGNET                     1314 WOLVERINE TRL                                             NEW FRANKEN        WI           54229                  6002               Various                                                                                             $6.41
SUSAN BAUMAN                      911 40TH ST NW                                                 ROCHESTER          MN           55901                  6004               Various                                                                                             $3.00
SUSAN BEECHER                     817 18 AVE                                                     MONROE             WI           53566                  6004               Various                                                                                             $4.00
SUSAN BEEMAN                      3647S O RILLEY                                                 DARIEN             WI           53114                  6004               Various                                                                                            $25.00
SUSAN BELZ                        835 GODFREY ST                                                 WORTHINGTON        MN           56187                  6002               Various                                                                                             $9.45
SUSAN BLUM                        PO BOX 251                                                     CLANCY             MT           59634                  6002               Various                                                                                             $4.00
SUSAN BOETTCHER                   N2762 HILLTOP DR                                               CAMPBELLSPORT      WI           53010                  6002               Various                                                                                             $6.77
SUSAN BROWN                       2831 BERKAN ST                                                 MADISON            WI           53711                  6002               Various                                                                                             $1.73
SUSAN BRUNO                       3212 6TH AVENUE SOUTH                                          BILLINGS           MT           59101                  6004               Various                                                                                             $4.00
SUSAN BURKARD                     1315 BENTWOOD LN                                               MANITOWOC          WI           54220                  6002               Various                                                                                             $6.96
SUSAN BURROW                      223 WINNEFRED                                                  FREEPORT           IL           61032                  6002               Various                                                                                             $6.74
SUSAN BUSHONG                     22893 FORSMAN RD                                               HANCOCK            MI           49930                  6002               Various                                                                                             $8.05
SUSAN BUTZ                        PO BOX 71                                                      JEFFERSON CITY     MT           59638                  6004               Various                                                                                            $20.00
SUSAN C LEININGER                 1001 LANCELOT CT                                               PULASKI            WI           54162                  6002               Various                                                                                             $8.52
SUSAN CASH                        316 E. 14TH ST.                                                KAUKAUNA           WI           54130                  6004               Various                                                                                             $2.00
SUSAN CAVANAUGH                   2640 4TH ST NW                                                 SIDNEY             MT           59270                  6002               Various                                                                                             $9.64
SUSAN CERNY                       4226 LOCUST ST                                                 DELAVAN            WI           53115                  6002               Various                                                                                             $1.23
SUSAN CHLEBOS                     5238 S HAMM RD                                                 SHANNON            IL           61078                  6002               Various                                                                                             $2.96
SUSAN CLEVERLY                    147 8TH AVE N                                                  SHELBY             MT           59474                  6002               Various                                                                                             $2.66
SUSAN CLIFFORD                    601 HIGH ST                                                    BELLE FOURCHE      SD           57717                  6002               Various                                                                                             $3.42
SUSAN CLOT-JOSEPH                 3703 92ND PLACE                                                STURTEVANT         WI           53177                  6004               Various                                                                                            $30.00
SUSAN CORK                        4265 MILL RIDGE CIRCLE                                         EAU CLAIRE         WI           54703                  6004               Various                                                                                             $9.92
SUSAN COWDEN                      5707 ST PAUL AVE                                               LINCOLN            NE           68507                  6004               Various                                                                                            $15.00
SUSAN D OAKES                     1920 E LAKESIDE AVE                                            COEUR D ALENE      ID           83814                  6002               Various                                                                                             $0.44
SUSAN DALTON                      34 W EVERGREEN DR                                              KALISPELL          MT           59901                  6002               Various                                                                                             $7.56
SUSAN DECKER                      1906 N 10TH AVE APT 9                                          WAUSAU             WI           54401                  6002               Various                                                                                             $0.82




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SUSAN DEGNER                  N2308 CTY RD G                                            MERRILL           WI         54452                 6002                Various                                                                                                $7.51
SUSAN DEHAAN                  6568 S FEDERAL WAY                                        BOISE             ID         83716                 6002                Various                                                                                                $6.96
SUSAN DEVILLERS               6324 BLUE GROUSE TRAIL                                    SOBIESKI          WI         54171                 6004                Various                                                                                               $10.00
SUSAN DIEHN                   1606 CTY RD O                                             JUNCTION CITY     WI         54443                 6004                Various                                                                                               $64.98
SUSAN DONALDSON               219 PLUM ST                                               LAKEFIELD         MN         56150                 6004                Various                                                                                               $10.00
SUSAN DOPF                    3893 E. PRESIDENTIAL DRIVE                                MERIDIAN          ID         83642                 6004                Various                                                                                               $10.00

SUSAN DORNAN                  755 N MILWAUKEE ST                                        PORT WASHINGTON   WI         53074                  6002               Various                                                                                             $4.41
SUSAN DREHER                  2089 GRAND DETOUR RD                                      DIXON             IL         61021                  6002               Various                                                                                             $4.05
SUSAN DUFFY                   132 W HIGHLAND DR                                         GRAFTON           WI         53024                  6002               Various                                                                                             $6.93
SUSAN DULONG                  23611 FIR AVE                                             DOLLAR BAY        MI         49922                  6002               Various                                                                                             $0.85
SUSAN DURAY                   3728 POLY DRIVE                                           BILLINGS          MT         59102                  6004               Various                                                                                             $7.02
SUSAN E SCHULTZ               22 MARYDEN RD                                             OSHKOSH           WI         54904                  6002               Various                                                                                             $7.75
SUSAN E SORENSON              N150 BRIARWOOD DR                                         APPLETON          WI         54915                  6002               Various                                                                                             $6.93
SUSAN FELL                    352 E 1780TH S                                            OREM              UT         84058                  6002               Various                                                                                             $4.25
SUSAN FISCHER                 1951 ESKER RD                                             HATLEY            WI         54440                  6002               Various                                                                                             $4.27
SUSAN FRYETTE                 3455 DUSTY MAIDEN DR                                      HELENA            MT         59602                  6002               Various                                                                                             $2.08
SUSAN GLESSNER                1122 11TH AVE                                             LEWISTON          ID         83501                  6004               Various                                                                                             $5.00
SUSAN GORDON                  1561 N KLEMMER AVE                                        KUNA              ID         83634                  6002               Various                                                                                             $0.30
SUSAN GRUBB                   803 18TH ST APT C                                         LEWISTON          ID         83501                  6002               Various                                                                                             $6.22
SUSAN HALSTEAD                3300 W SELTICE WAY                                        POST FALLS        ID         83854                  6002               Various                                                                                             $2.60
SUSAN HANSON                  704 LOGAN AVE BOX # 277                                   SCOTIA            NE         68875                  6002               Various                                                                                             $6.14
SUSAN HERMUS                  509 STEVENS ST                                            KIMBERLY          WI         54136                  6002               Various                                                                                             $7.48
SUSAN HIGHAM                  2115 W JESSE CT                                           RATHDRUM          ID         83858                  6002               Various                                                                                            $10.00
SUSAN HILL                    24403 SPRUCE AVE                                          MASON CITY        IA         50401                  6002               Various                                                                                             $8.32
SUSAN HINSCHBERGER            44209 GALAXY AVE                                          HARRIS            MN         55032                  6002               Various                                                                                             $2.71
SUSAN HOKE                    901 7TH AVE                                               PLATTSMOUTH       NE         68048                  6002               Various                                                                                             $3.67
SUSAN HUGHES                  3402 9TH AVE NW ROCHESTER                                 ROCHESTER         MN         55901                  6004               Various                                                                                             $3.00
SUSAN ISELIN                  1729 COLLEGE AVE                                          RACINE            WI         53403                  6002               Various                                                                                             $9.29
SUSAN ISLAS                   409 E HURLBUT ST                                          BELVIDERE         IL         61008                  6004               Various                                                                                             $3.90
SUSAN J JOHNSON               PO BOX 369                                                WAUPACA           WI         54981                  6002               Various                                                                                             $6.88
SUSAN JENSEN                  BOX 368                                                   AFTON             WY         83110                  6004               Various                                                                                             $7.31
SUSAN JEPSON-RUFFALO          3516 SHERIDAN RD                                          KENOSHA           WI         53140                  6002               Various                                                                                             $0.47
SUSAN JOHNSON                 3864 HIGHWAY # F                                          FISH CREEK        WI         54212                  6002               Various                                                                                             $9.40
SUSAN KAAS                    1980 GLEN EAGLE BLVD                                      BILLINGS          MT         59102                  6004               Various                                                                                             $5.03
SUSAN KAY BASHAW              1497 CLAUDIA AVE                                          LA CRESCENT       MN         55947                  6002               Various                                                                                             $1.64
SUSAN KERN                    942 W RIVERBEND DR                                        SALT LAKE CITY    UT         84123                  6002               Various                                                                                             $3.56
SUSAN KLEIN                   PO BOX 236 PMB 69                                         JEFFREY CITY      WY         82310                  6002               Various                                                                                             $1.40
SUSAN KLINGE                  PO BOX 449                                                PARK FALLS        WI         54552                  6002               Various                                                                                             $4.14
SUSAN KREAGER                 PO BX # 382                                               HUDSON            WY         82515                  6002               Various                                                                                             $7.12
SUSAN KUBOW                   1929 SOUTH 16TH STREET                                    SHEBOYGAN         WI         53081                  6004               Various                                                                                           $120.00
SUSAN L SAWATZKY              826 W DOUGLAS ST                                          FREEPORT          IL         61032                  6002               Various                                                                                             $7.10
SUSAN LAU                     82525 110TH ST                                            GLENVILLE         IA         56036                  6004               Various                                                                                            $84.99
SUSAN LEHOULLIER              2947 WINTER CREEK S                                       JEFFERSON         OR         97352                  6004               Various                                                                                            $22.72
SUSAN LINDSTROM               1473 198TH ST                                             CHIPPEWA FALLS    WI         54729                  6002               Various                                                                                             $7.18
SUSAN M LINTEREUR             PO BOX 233                                                MAZOMANIE         WI         53560                  6002               Various                                                                                             $1.37
SUSAN M MITCHELL              PO BOX 1029                                               BEULAH            ND         58523                  6666               Various                                                                                            $49.90
SUSAN M PICKEN                5108 N 85TH ST                                            OMAHA             NE         68134                  6002               Various                                                                                             $3.95
SUSAN M WEBER                 2910 WELLINGTON DR E                                      EAU CLAIRE        WI         54703                  6002               Various                                                                                             $3.73
SUSAN M. STEFFES              209 W RAILROAD AVE                                        SAINT CLOUD       WI         53079                  6002               Various                                                                                             $1.97
SUSAN MATHIAS                 PO BOX 57                                                 WILSON            MI         49896                  6002               Various                                                                                             $9.86
SUSAN MICHEL YORGASON         92 W 1600TH S                                             PERRY             UT         84302                  6002               Various                                                                                             $6.88
SUSAN MICKSCHL                4110 VELMAR CT                                            LA CROSSE         WI         54601                  6002               Various                                                                                             $5.48
SUSAN MILLER                  4420 STRAW LN                                             ROSCOE            IL         61073                  6004               Various                                                                                            $33.57




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SUSAN MISCHKE                  2292 OLD HIGHWAY 169                                                ELY               MN         55731                  6002                Various                                                                                                $8.99
SUSAN MOLEPSKE                 2116 CLARK ST                                                       STEVENS POINT     WI         54481                  6002                Various                                                                                                $9.81
SUSAN NANCE                    602 E 3RD ST                                                        SHOSHONE          ID         83352                  6002                Various                                                                                                $0.60
SUSAN OSBORN                   1008 RIDGEWAY DR                                                    LIVINGSTON        MT         59047                  6002                Various                                                                                                $8.33
SUSAN PASTERZ                  1560 ASH LN                                                         MOSINEE           WI         54455                  6002                Various                                                                                                $1.75
SUSAN PEREZ-TINNIN             14217 FRANCES ST                                                    OMAHA             NE         68144                  6002                Various                                                                                                $8.14
SUSAN PERRY                    N9709 HIGHWAY # Y                                                   MAYVILLE          WI         53050                  6002                Various                                                                                                $9.29
SUSAN PETERSON                 4243 W ARIZONA DRIVE                                                POCATELLO         ID         83202                  6004                Various                                                                                               $10.00
SUSAN POGUE                    460 KATHERINE ANN DRIVE                                             BILLINGS          MT         59105                  6004                Various                                                                                               $20.00
SUSAN PORTIER                  9151 HWY 141                                                        LENA              WI         54139                  6004                Various                                                                                               $84.52
SUSAN POUPORE                  2209 W BREEN MOM                                                    KINGSFORD         MI         49801                  6002                Various                                                                                                $1.97
SUSAN PROSSER                  57161 164TH LANE                                                    GOOD THUNDER      MN         56037                  6004                Various                                                                                                $3.00
SUSAN R HALL                   14458 HASCALL ST                                                    OMAHA             NE         68144                  6002                Various                                                                                                $0.71
SUSAN R PRETULA                PO BOX 92                                                           GRASSLAND         AB                       CANADA 6002                  Various                                                                                                $9.04
SUSAN R. WALKER                1055 E BROOKLYN AVE                                                 COEUR D ALENE     ID         83815                  6002                Various                                                                                                $7.75
SUSAN REISSER                  2167 17TH RD                                                        DODGE             NE         68633                  6002                Various                                                                                                $7.84
SUSAN RENEA ROPP               22285 320TH ST                                                      JAMESPORT         MO         64648                  6002                Various                                                                                                $2.85

SUSAN REYNEN                   1114 N HOLDEN ST                                                    PORT WASHINGTON   WI         53074                    6002              Various                                                                                             $2.71
SUSAN RIXIE                    4045 6TH AVE                                                        KENOSHA           WI         53140                    6004              Various                                                                                            $25.00
SUSAN ROBERTSON                1404 N 615TH E                                                      SHELLEY           ID         83274                    6002              Various                                                                                             $1.81
SUSAN ROTH                     401 CANTON AVE                                                      HOT SPRINGS       SD         57747                    6002              Various                                                                                             $8.14
SUSAN SANCHEZ GOSS             2319 MARY AVE                                                       MISSOULA          MT         59801                    6004              Various                                                                                            $20.00
SUSAN SCHLAND                  PO BOX 322                                                          FARSON            WY         82932                    6002              Various                                                                                             $6.71
SUSAN SCHNECKLOTH              1103 ROCK STREET               PO BOX 218                           PLYMOUTH          IA         50464                    6004              Various                                                                                             $2.02
SUSAN SCHNEIDER                400 W PENN AVE                                                      ROSEVILLE         IL         61473                    6002              Various                                                                                             $4.49
SUSAN SCHROEDER                195 ALTENBURY RD                                                    JUNCTION CITY     WI         54443                    6002              Various                                                                                             $6.68
SUSAN SCHUELKE                 E10939 CTY RD I                                                     CLINTONVILLE      WI         54929                    6002              Various                                                                                             $7.59
SUSAN SCOTT                    808 8TH AVE NW APT 1                                                AUSTIN            MN         55912                    6004              Various                                                                                             $3.00
SUSAN SEBERO                   739 COOLIDGE STREET                                                 MARINETTE         WI         54143                    6004              Various                                                                                            $25.00
SUSAN SKRZYPCZAK               317 LOPAS ST                                                        MENASHA           WI         54952                    6002              Various                                                                                             $0.55
SUSAN SMITH                    2350 S 23RD ST                 LOT 1047                             MANITOWOC         WI         54220                    6004              Various                                                                                             $2.02
SUSAN SNOOKS                   1048 GRAY AVE                                                       POCATELLO         ID         83201                    6002              Various                                                                                             $4.88
SUSAN SNYDER                   900 W MEADOWS DR                                                    FREEPORT          IL         61032                    6002              Various                                                                                             $4.16
SUSAN SOLESKI                  2801 HELSINKI RD                                                    GREEN BAY         WI         54311                    6002              Various                                                                                             $9.37
SUSAN SORENSON                 89484 230TH ST                                                      AUSITN            MN         55912                    6004              Various                                                                                             $1.01
SUSAN SOULE                    2209 S WAYLAND AVE                                                  SIOUX FALLS       SD         57105                    6002              Various                                                                                            $41.60
SUSAN STANTON                  515 E CECIL ST                                                      NEENAH            WI         54956                    6004              Various                                                                                           $106.84
SUSAN THORNE                   1608 N 13TH ST                                                      WHEATLAND         WY         82201                    6002              Various                                                                                             $5.56
SUSAN TRAUT                    160 N BRISTOL ST 2                                                  SUN PRAIRIE       WI         53590                    6004              Various                                                                                             $4.00
SUSAN VANDERLOOP               904 N CLARK ST                                                      APPLETON          WI         54911                    6002              Various                                                                                             $0.44
SUSAN VOEKS                    9461 RAINBOWS END                                                   AMHERST JUNCTIO   WI         54407                    6002              Various                                                                                             $7.29
SUSAN WELLMAN                  S6039A PEDRETTI LN                                                  DE SOTO           WI         54624                    6002              Various                                                                                             $0.99

SUSAN WHITE                    142 EAST GARVIN HEIGHTS ROAD                                        WINONA            MN         55987                    6004              Various                                                                                                $3.00
SUSAN WICHMAN                  1012 W ROCK GROVE RD                                                ORANGEVILLE       IL         61060                    6004              Various                                                                                                $1.20
SUSAN WITTIG                   720 AUTUMN CREST DR                                                 WATERTOWN         WI         53094                    6002              Various                                                                                                $8.58
SUSAN WITTROCK                 209 DUBLIN CT                                                       MANKATO           MN         56001                    6004              Various                                                                                                $3.00
SUSAN WROBEL                   2712 ONALASKA AVE                                                   LA CROSSE         WI         54603                    6002              Various                                                                                                $9.32
SUSAN YAHR                     3600 N BLUEMOUND DR                                                 APPLETON          WI         54914                    6002              Various                                                                                                $7.12

SUSANA CALVILLO                10619 N COUNTY LINE RD LOT 4                                        WHITEWATER        WI         53190                    6002              Various                                                                                                $4.08
SUSANA ECHTERNACH              BOX 53                                                              READING           MN         56165                    6004              Various                                                                                                $3.00
SUSANA FRANCO                  218 N ST JOHN                                                       LYONS             KS         67554                    6002              Various                                                                                               $10.00




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SUSANA HERNANDEZ-HERNANDEZ        2630 SPRING CREEK RD          LOT 9                               BELVIDERE        IL         61008                 6004                Various                                                                                                $3.41
SUSANNA LAUGHLAND                 5933 DANVERS LN NW                                                ROCHESTER        MN         55901                 6002                Various                                                                                                $8.25
SUSANNA ODELL                     4989 LINCOLN RD                                                   STANDISH         MI         48658                 6002                Various                                                                                                $3.51
SUSANNA SOKOL                     190 BOULDER DR                                                    OROFINO          ID         83544                 6002                Various                                                                                                $0.99
SUSANNAH M BLOJAY                 423 27TH ST NE APT 102                                            ROCHESTER        MN         55906                 6002                Various                                                                                                $5.64
SUSANNE ADAMS                     W4622 CTH O                                                       LACROSSE         WI         54601                 6002                Various                                                                                                $5.15
SUSANNE M SELLE                   867 W SOUTH PARK AVE                                              OSHKOSH          WI         54902                 6002                Various                                                                                                $6.52
SUSIE CAMPBELL                    9121 S HIDDEN PEAK DR                                             WEST JORDAN      UT         84088                 6002                Various                                                                                                $0.38
SUSIE JOHNSTON                    PO BOX 584                                                        FRENCHTOWN       MT         59834                 6004                Various                                                                                                $5.03
SUSIE P KEENEY                    403 FAGAN ST                                                      DONIPHAN         MO         63935                 6002                Various                                                                                                $9.23
SUSIE RATHKE                      PO BOX 210                                                        RAINIER          WA         98576                 6002                Various                                                                                               $17.22
SUVIT THAO                        1536 BUENA VISTA DR.                                              SUN PRAIRIE      WI         53590                 6004                Various                                                                                               $25.00
SUZANN OLSON                      32484 710TH AVE                                                   SAINT JAMES      MN         56081                 6002                Various                                                                                                $5.00
SUZANNE ARROYO                    2720 OLD COACH RD                                                 GREEN BAY        WI         54302                 6002                Various                                                                                                $5.59
SUZANNE BAKER                     3826 DAISY ST                                                     HELENA           MT         59602                 6002                Various                                                                                                $5.95
SUZANNE BEADERSTADT               2644 SURREY LANE                                                  IDAHO FALLS      ID         83404                 6004                Various                                                                                               $10.00

SUZANNE BUEHLER                   215 1/2 SOUTH CHURCH STREET                                       WATERTOWN        WI         53094                  6004               Various                                                                                            $25.00
SUZANNE CORPUS                    1542 FOREST GLEN                                                  GREEN BAY        WI         54304                  6004               Various                                                                                            $10.00
SUZANNE CORR                      33958 GRANDVIEW LAN                                               LENORE           ID         83641                  6002               Various                                                                                             $5.84
SUZANNE GRAY                      35880 JENSEN RD                                                   NORTH BRANCH     MN         55056                  6002               Various                                                                                             $7.62
SUZANNE HELD                      995 RIVER ROAD                                                    MOSINEE          WI         54455                  6004               Various                                                                                             $5.00
SUZANNE HOFFER                    PO BOX 212                                                        BELLE FOURCHE    SD         57717                  6002               Various                                                                                             $6.68
SUZANNE KRAUSE                    345 POPLAR AVE                                                    OCONTO FALLS     WI         54154                  6002               Various                                                                                             $0.49
SUZANNE PETERSON                  659 W MAPLE DR                                                    SMITHFIELD       UT         84335                  6004               Various                                                                                            $23.00
SUZANNE PORTER                    533 N 2ND ST                                                      DOUGLAS          WY         82633                  6002               Various                                                                                             $0.27
SUZANNE ROBINSON                  PO BOX 624                                                        CLARKSTON        WA         99403                  6002               Various                                                                                             $0.74
SUZANNE ROWLAND                   495 NE 2000TH                                                     ANDREWS          TX         79714                  6002               Various                                                                                             $5.04
SUZANNE SHAWLEY                   N6919 MARY CT                                                     HOLMEN           WI         54636                  6004               Various                                                                                             $2.99
SUZANNE SHERRY                    1838 LN # 11 1/2 PMB P                                            POWELL           WY         82435                  6002               Various                                                                                             $6.41
SUZANNE SIEWERT                   3325 S POPLAR LN                                                  APPLETON         WI         54915                  6002               Various                                                                                             $1.62
SUZANNE VANKEKERIX                911 LINCOLN AVE                                                   SHELDON          IA         51201                  6002               Various                                                                                             $7.64
SUZANNE ZIMMERMAN                 1548 E LENZ LN                                                    BOISE            ID         83712                  6002               Various                                                                                             $1.64
SUZETTE ERICKSEN                  205 N 6TH AVE                                                     WINNECONNE       WI         54986                  6002               Various                                                                                             $7.10
SUZETTE FRENCH                    318 N MARION                                                      MEREDOSIA        IL         62665                  6004               Various                                                                                            $16.16
SUZY CROTTEAU                     829 N 675TH E                                                     BASALT           ID         83236                  6002               Various                                                                                             $0.63
SVK CAPITAL LLC                   513 MONUMENT COURT                                                FREMONT          CA         94539                  0937               Various                                                                                         $9,743.37

SWANSON/ TAYLOR                   STORE 2-007                   SHOPKO EMPLOYEE                     GREEN BAY        WI         54307-9060              4749              Various                                                                                          $153.69
SWAPNIL JAIN                      2902 CURRY PARKWAY                                                MADISON          WI         53713                   6004              Various                                                                                            $52.82
SWECO                             8029 DIXIE HIGHWAY                                                FLORENCE         KY         41042                                     Various                                                                                         $1,608.38
SWEEP OPTICAL LAUREL HILL CENT    2145 CENTENNIAL PLAZA                                             EUGENE           OR         97401                   7351              Various                                                                                             $3.50
                                                                ATTN ACCTS
SWEET CANDY COMPANY               PO BOX 22450                  RECEIVABLE                          SALT LAKE CITY   UT         84122-0450              0830              Various                                                                                        $23,290.67

SWENSEN/ RYAN                     STORE 2-205                   SHOPKO EMPLOYEE 94 NORTH 400 EAST   DELTA            UT         84624-0000             8720               Various                                                                                         $1,133.60

SWETALA/ ANDREW                   STORE 046                     SHOPKO EMPLOYEE                     GREEN BAY        WI         54307-9060              8318              Various                                                                                            $17.10
SWIFT RESPONSE LLC                2690 WESTON ROAD STE 200                                          WESTON           FL         33331                   2106              Various                                                                                        $13,772.60
SWIFT TRANSPORTATION COMPANY I    PO BOX 643985                                                     PITTSBURGH       PA         15264-3985              1207              Various                                                                                         $1,781.69

SWIMWAYS CORPORATION              VICE PRESIDENT OF SALES       5816 WARD COURT                     VIRGINIA BEACH   VA         23455                  3340               Various                                                                                        $14,728.15
SWIRE COCA COLA UNITED STATES     SWIRE PACIFIC HOLDINGS        PO BOX 413121                       SALT LAKE CITY   UT         84141-3121             1128               Various                                                                                        $75,868.57
SXWELL USA LLC                    DEPT CH 10974                                                     PALATINE         IL         60055-0974             5450               Various                                                                                        $15,839.26




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                                                                                                                                                     Last 4 Digits of     Date Debt was
                                                                                                                                                        Account         Incurred, Basis for
              Creditor Name                  Address1               Address2          Address3            City        State           Zip   Country     Number                Claim                                                                             Total Claim
SYBIL JACKSON                    4360 KANSAS AV                                                   OMAHA            NE         68111                 6004                Various                                                                                             $1.00
SYBIL SMARTLOWIT                 P.O. BOX 118                                                     WHITE SWAN       WA         98952                 6004                Various                                                                                            $33.80
SYDNEY BLAKE                     310 WEST 29TH AVE                                                BELLEVUE         NE         68005                 6004                Various                                                                                             $4.00
SYDNEY BURGAN                    328 S 300 E                                                      BRIGHAM CITY     UT         84302                 6004                Various                                                                                            $30.00
SYDNEY CARROLL                   520 BOSTWICK AVE                                                 JANESVILLE       WI         53545                 6004                Various                                                                                            $49.16
SYDNEY ELLIS                     295 NORTH 49TH STREET                                            SPRINGFIELD      OR         97478                 6004                Various                                                                                           $125.50
SYDNEY ENGLE                     19870 H ST                                                       OMAHA            NE         68135                 6004                Various                                                                                             $4.00
SYDNEY GARZA                     503 S SHAWANO ST                                                 NEW LONDON       WI         54961                 6002                Various                                                                                             $4.66
SYDNEY HODGES                    5515 NORTH COOK ST                                               MC FARLAND       WI         53558                 6004                Various                                                                                            $15.00
SYDNEY JOHNSON                   1820 MARS AVE                                                    RACINE           WI         53404                 6004                Various                                                                                             $3.29
SYDNEY KRIEWALD                  304 N OHIO ST.                                                   MERRILL          WI         54452                 6004                Various                                                                                            $25.00
SYDNEY LUKSICH                   1233 JACKSON #109                                                STOUGHTON        WI         53589                 6004                Various                                                                                             $6.00
SYDNEY MYRE                      1933 E CAMP ST APT 201                                           ELY              WI         55731                 6002                Various                                                                                             $0.79
SYDNEY PASCH                     702 1ST AVE S                                                    CLEAR LAKE       SD         57226                 6004                Various                                                                                            $10.40
SYDNEY R LAUPPE                  212 N PURDY AVE                                                  LYONS            KS         67554                 6002                Various                                                                                             $6.14
SYDNEY SCHWINGEL                 525 SCHOOL ROAD                                                  PORTAGE          WI         53901                 6004                Various                                                                                            $21.00
SYDNEY SIDWELL                   664 LAKE ST                                                      KIMBERLY         ID         83341                 6004                Various                                                                                             $3.65

SYDNEY SMITH                     2856 STEAMBOAT SPRINGS RUN                                       GREEN BAY        WI         54313                  6004               Various                                                                                               $10.00
SYDNEY VOTH                      215 N EUCLID                                                     LYONS            KS         67554                  6002               Various                                                                                                $3.04
SYDNIE WEIBERT                   2067 KONKOVILLE RD                                               OROFINO          ID         83544                  6002               Various                                                                                                $7.32
SYED SHAH                        4367 WINDEMER LANE                                               ONEIDA           WI         54155                  6004               Various                                                                                               $10.00
SYLVAN WILSON                    302 WASHINGTON AVE                                               SALMON           ID         83467                  6002               Various                                                                                                $1.92
SYLVESTER NGENE                  2425 19TH ST NW                                                  ROCHESTER        MN         55901                  6004               Various                                                                                               $44.01
SYLVESTRE PATRICK                37 BLUFFS ST               APT H                                 COUNCIL BLUFFS   IA         51503                  6004               Various                                                                                               $16.00
SYLVIA AGUAYO                    2614 MISION CIR                                                  MADISON          WI         53713                  6004               Various                                                                                                $4.00
SYLVIA BECK                      415 WALNUT ST                                                    ONTONAGON        MI         49953                  6002               Various                                                                                                $4.52
SYLVIA BURKHOLDER                N14162 CARDINAL AVE                                              OWEN             WI         54460                  6002               Various                                                                                                $2.88
SYLVIA FISHER                    1686 HORIZON RIDGE DR NE                                         SALEM            OR         97303                  6004               Various                                                                                               $10.00
SYLVIA GONZALEZ                  7261 W BAKER RD                                                  SHELBY           MI         49455                  6002               Various                                                                                                $9.70
SYLVIA MARQUEZ                   705 S REGAL PL                                                   SIOUX FALLS      SD         57106                  6002               Various                                                                                                $7.62

SYLVIA MARTINO                   13013 THOMAS ST PO BOX # 113                                     OSSEO            WI         54758                  6002               Various                                                                                             $6.22
SYLVIA O'DANIEL                  901 N 11TH ST                                                    MONMOUTH         IL         61462                  6002               Various                                                                                             $3.45
SYLVIA PROHASKA                  7106 RAVINE CT                                                   MIDDLETON        WI         53562                  6004               Various                                                                                            $20.00
SYLVIA ROCHA                     450 BRED ST                                                      HAMBURG          MN         55339                  6002               Various                                                                                             $4.00
SYLVIA SIGOURNEY                 W12298 COTTONVILLE LN                                            COLOMA           WI         54930                  6002               Various                                                                                             $7.59
SYLVIA TE TAI                    419 SILVER SPRING DR                                             GREEN BAY        WI         54303                  6002               Various                                                                                             $0.88
SYLVIA TRIDLE                    PO BOX 276 PMB CC                                                HOVEN            SD         57450                  6002               Various                                                                                             $9.07
SYNCSORT INCORPORATED            2 BLUE HILL PLAZA 1563                                           PEARL RIVER      NY         10965                  6327               Various                                                                                           $582.77

SYNERCOMM INCORPORATED           3265 GATEWAY ROAD SUITE 650                                      BROOKFIELD       WI         53045                  6972               Various                                                                                               $24.34
SYRA STULL                       905 WEST ST                                                      BEAVER DAM       WI         53916                  6004               Various                                                                                                $4.00
                                                                245 NORTH 23RD
T & J ENTERPRISES                JANET L NAASZ                  STREET                            HOT SPRINGS      SD         57747                  3884               Various                                                                                           $476.49
T C SOLID WASTE                  9605 TILLEY RD S SUITE D                                         OLYMPIA          WA         98512                  6577               Various                                                                                            $22.03

T F H PUBLICATIONS NYLABONE P    NYLABONE PRODUCTS              BANK OF AMERICA PO BOX 847828     DALLAS           TX         75284-7828              1063              Various                                                                                        $45,228.77
                                 T FAL CORPORATION ROWENTA
T FAL CORPORATION                CORP                           PO BOX 7247                       PHILADELPHIA     PA         19170-7717              4344              Various                                                                                       $246,195.40
                                                                1560 E MORELAND
T SHIRT INTERNATIONAL INC        T-SHIRT INTERNATIONAL          BLVD STE C 1                      WAUKESHA         WI         53186-0000              8401              Various                                                                                       $328,580.95
T&R TRUCKING                     DRAWER 111                                                       GLASGOW          MT         59230                                     Various                                                                                         $4,800.00
T&S SANITATION                   702 1ST AVE SE                                                   CLARION          IA         50525                                     Various                                                                                          $560.00




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             Creditor Name                   Address1              Address2         Address3             City            State           Zip   Country      Number                Claim                                                                             Total Claim
T&S TRASH SERVICE                 3034 S 1000 W                                                  WAYNETOWN          IN           47990                                      Various                                                                                            $540.00
TABATHA MILLER                    3948 ADAMS #13                                                 BOISE              ID           83714                   6004               Various                                                                                             $23.00
TABATHA RAMSEY                    1305 DODGE STREET                                              KEWAUNEE           WI           54216                   6004               Various                                                                                              $4.00
TABETHA STEPHENS                  1445 LAKEVIEW DR APT 3                                         FORT ATKINSON      WI           53538                   6002               Various                                                                                              $8.05

TABIAS WATERS                     171 15TH AVE S                                                 WISCONSIN RAPIDS   WI           54494                   6004               Various                                                                                             $1.00
TABITHA KELLER                    524 SIOUX LN                                                   BROKEN BOW         NE           68822                   6002               Various                                                                                             $8.44
TABITHA KREIL                     3217 DIVISION ST                                               MANITOWOC          WI           54220                   6002               Various                                                                                             $9.37
TABITHA LINDSEY                   1016 SW AVE G SPC 1                                            ANDREWS            TX           79714                   6002               Various                                                                                             $7.32
TABITHA SASS                      1320 PRIMROSE LN                                               NEENAH             WI           54956                   6002               Various                                                                                             $2.68
TABITHA SCHNACK                   278 HOLDER LANE SE                                             SALEM              OR           97306                   6004               Various                                                                                            $19.97
TABITHA UITENBROEK                447 WEST 11TH AVE                                              OSHKOSH            WI           54902                   6004               Various                                                                                            $22.00
TABLE ROCK MOBILE HOME ESTATES    26 VIA CORSICA                                                 MONARCH BEACH      CA           92629                   3589               Various                                                                                        $20,571.07
                                                               23000 S AVALON
TABLETOPS UNLIMITED               VICE PRESIDENT OF SALES      BOULEVARD                         CARSON             CA           90745                   2766               Various                                                                                         $4,076.08
TABRA CARLEY                      154 EAGLES NEST RD                                             MARQUETTE          MI           49855                   6002               Various                                                                                             $3.34
TACKETT FAMILY                    5271 ROSE ST                                                   GLADWIN            MI           48624                   6002               Various                                                                                             $4.68

TACTICAL CRUSADER COMPANY         13950 RADIUM ST NW SUITE 100                                   RAMSEY             MN           55303                   1564               Various                                                                                        $13,238.99
TAD HILLESHIEM                    170 1ST ST NE                PO BOX 264                        ELGIN              MN           55932                   6004               Various                                                                                             $3.00
TAD R. SKEEN                      2106 N 5600TH W                                                CORINNE            UT           84307                   6002               Various                                                                                             $9.23
TAE SCHLICHT                      8225 W. RUTTER                                                 SPOKANE            WA           99208                   6004               Various                                                                                             $2.50
TAEVIONA WASHINGTON               10606 BIRCH ST               #619                              OMAHA              NE           68134                   6004               Various                                                                                             $4.00
TAEYNNA KRAMBEER                  260 STREET                                                     MANKATO            MN           56001                   6004               Various                                                                                             $3.00
                                  1315 NORTH RANKIN STREET APT
TAHLIA THEIN                      6                                                              APPLETON           WI           54911                   6004               Various                                                                                             $3.00
TAHNEE CALDWELL                   PO BOX 1204                                                    KESHENA            WI           54135                   6004               Various                                                                                             $1.00
TAHNEE MCCLOUD                    2138 STAHI CT SE                                               OLYMPIA            WA           98513                   6004               Various                                                                                             $2.50
TAIBA AMINI                       15210 AUDREY ST                                                OMAHA              NE           68144                   6004               Various                                                                                            $25.00
TAIGON CHILD                      75 DIXIE ST.                                                   LAYTON             UT           84041                   6004               Various                                                                                             $2.00
TAILOR MADE PRODUCTS INCORPORA    PO BOX 465                                                     MILWAUKEE          WI           53259-0465              4616               Various                                                                                       $107,883.48
TAILYNNE EVANS                    509 S 400TH E # D                                              BRIGHAM CITY       UT           84302                   6002               Various                                                                                             $1.23
TAIME A. GRISHAM                  PO BOX 731                                                     POST FALLS         ID           83877                   6002               Various                                                                                             $7.26
TAIRRA STRINE                     3538 ROAD C                                                    SUPERIOR           NE           68978                   6002               Various                                                                                             $1.12
TAIT WEBBER                       NEED INFO                                                      SALMON             ID           83467                   6002               Various                                                                                             $0.96
TAIT WISE                         1145 HIGHWAY 73 # SO                                           WISC RAPIDS        WI           54494                   6002               Various                                                                                            $10.00
TAKARI HEAD                       761 UPHAM RD                                                   DULUTH             MN           55811                   6004               Various                                                                                             $3.00
TAKEISHA WALKER                   2047 COLONY CT APT C                                           BELOIT             WI           53511                   6004               Various                                                                                             $9.74
TAKELA ROGERS                     29246 540TH AVE.                                               AUSTIN             MN           55912                   6004               Various                                                                                             $3.00
TAKESHIA WILLIAMS                 2322 HIGH RIDGE TRAIL                                          MADISON            WI           53713                   6004               Various                                                                                             $2.00
TAKHIR USMANOV                    5715 S 161ST ST                                                OMAHA              NE           68135                   6002               Various                                                                                             $4.47

TALAMANTES/ SERI                  STORE 060                    SHOPKO EMPLOYEE                   GREEN BAY          WI           54307-9060              8085               Various                                                                                            $23.76
TALKINGRAIN BEVERAGE              PO BOX #74251                                                  CLEVELAND          OH           44194-4251              3209               Various                                                                                       $262,704.00
TALL TREE ADMINISTRATORS          802 E WINCHESTER ST #250                                       SALT LAKE CITY     UT           84107                   6004               Various                                                                                          $232.76
TALMON STAFFORD                   6864 HIGHWAY 238                                               AFTON              WY           83110                   6002               Various                                                                                             $6.88
TALX CORPORATION                  4076 PAYSPHERE CIRCLE                                          CHICAGO            IL           60674                   6302               Various                                                                                        $19,025.68
TALYA B VIRATA                    20614 KIDD DR                                                  LEWISTON           ID           83501                   6002               Various                                                                                             $8.08
TALYSSE HARRIS                    3018 KANSAS DRIVE                                              BELLEVUE           NE           68005                   6004               Various                                                                                             $4.00
TAMA TOLEDO AQUATIC CENTER        305 SIEGEL STREET                                              TAMA               IA           52339                   6666               Various                                                                                            $33.16
TAMAR RAMIREZ                     2686 WEST POINT RD.                                            GREEN BAY,         WI           54304                   6004               Various                                                                                             $2.00
TAMARA ANN HRDLICKA               13281 93RD ST                                                  BLOOMER            WI           54724                   6002               Various                                                                                             $3.95
TAMARA BERG                       2011 CLEVELAND ST                                              EAU CLAIRE         WI           54703                   6002               Various                                                                                             $9.92
TAMARA BRAATEN                    1004 4TH ST SE                                                 AUSTIN             MN           55912                   6004               Various                                                                                             $3.00




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              Creditor Name                Address1               Address2         Address3              City       State           Zip   Country     Number                Claim                                                                             Total Claim
TAMARA BROWN                   15847 50TH AVE                                                   CHIPPEWA FALLS   WI         54729                 6002                Various                                                                                                $2.93
TAMARA COOK                    2321 13TH AVE                                                    LEWISTON         ID         83501                 6004                Various                                                                                                $3.98
TAMARA ECKENRODE               RR 2 BOX 7205                                                    DONIPHAN         MO         63935                 6002                Various                                                                                                $4.79
TAMARA GUTHO                   429 ELM ST                                                       TIGERTON         WI         54486                 6002                Various                                                                                                $8.90
TAMARA LANDERS                 2920 INTERSTATE 30 E                                             SULFUR SPRINGS   TX         75482                 6002                Various                                                                                                $1.75
TAMARA LEXVOLD                 103 2ND STREET SE                                                DODGE CENTER     MN         55927                 6004                Various                                                                                                $3.06
TAMARA LUCAS                   1649 W HIGHWAY 18                                                WINNER           SD         57580                 6002                Various                                                                                                $5.53
TAMARA MESTETH                 1351 11TH AVE SE APT 1                                           ABERDEEN         SD         57401                 6004                Various                                                                                                $8.00
TAMARA MICHALAK                845 8TH AVE                                                      GRAFTON          WI         53024                 6002                Various                                                                                                $6.30
TAMARA MILLER-FULLER           2215 140TH ST                                                    HAZLETON         IA         50641                 6002                Various                                                                                                $7.78
TAMARA MURRAY                  608 S STATE ST                                                   RICHMOND         UT         84333                 6002                Various                                                                                               $10.00
TAMARA NEUMANN                 1893 ELM ST                                                      NIAGARA          WI         54151                 6002                Various                                                                                                $5.45
TAMARA PARLIAMENT              4229 E 12TH ST APT 6                                             SIOUX FALLS      SD         57103                 6004                Various                                                                                               $25.00
TAMARA POLSIN                  W8148 HIGHWAY 16 # AND                                           LOWELL           WI         53557                 6002                Various                                                                                                $4.30
TAMARA RIESTERER               4784 BRADFORD LP SE                                              SALEM            OR         97317                 6004                Various                                                                                               $20.00
TAMARA RILEY                   231 S K ST                                                       LIVINGSTON       MT         59047                 6002                Various                                                                                                $7.40
TAMARA S. BIRD                 405 W NORTH ST                                                   MANLY            IA         50456                 6002                Various                                                                                                $7.42
TAMARA SEVERSON                975 HIGHWAY 105 WEST                                             NORTHWOOD        IA         50459                 6004                Various                                                                                               $25.00
TAMARA SINGH                   BOX 146                                                          MELSTONE         MT         59054                 6002                Various                                                                                                $8.11
TAMARA SWAN                    508 W NEWTON ST                                                  RICE LAKE        WI         54868                 6002                Various                                                                                                $8.27
TAMARA TRANGSRUD               927 SPRUCE ST                                                    FERGUS FALLS     MN         56537                 6002                Various                                                                                                $8.47
TAMARA WEIRICH                 21806 LEAVENWORTH STREET                                         ELKHORN          NE         68022                 6004                Various                                                                                               $20.00
TAMARA WELLS                   186 E FACTORY ST                                                 GARLAND          UT         84312                 6002                Various                                                                                                $0.96
TAMARA WILLIAMS                3316 KING AVE EAST                                               BILLINGS         MT         59101                 6004                Various                                                                                                $4.02
TAMARIA FLEMING                361 DIXIE STREET                                                 FOND DU LAC      WI         54935                 6004                Various                                                                                                $3.00
TAMASILI SILIUTA               2411 D AVE                                                       OGDEN            UT         84401                 6004                Various                                                                                               $30.00
TAMATHA SMITH                  5110-60TH ST                   APT 7                             KENOSHA          WI         53144                 6004                Various                                                                                               $60.00
TAMEKA GRAY                    228 E BLUFF                                                      MADISON          WI         53704                 6004                Various                                                                                                $1.00
TAMELA AUKER                   703 ELM ST                                                       BURDETT          KS         67523                 6002                Various                                                                                                $8.36
TAMELA KALLAS                  7816 JACQUIS RD                                                  OMRO             WI         54963                 6002                Various                                                                                                $6.60
TAMELA SANNES                  1200 KETTLE ST APT 917                                           FORT WORTH       TX         76179                 6002                Various                                                                                               $13.18
TAMERA ADKINS                  2408 S. SHERMAN AVE                                              SIOUX FALLS      SD         57105                 6004                Various                                                                                               $75.00
TAMERA HOWARD                  4958 W DIAMOND BACK DR                                           RIVERTON         UT         84096                 6004                Various                                                                                               $42.47
TAMERA RAMIREZ                 16019 420TH AVE NW                                               WARREN           MN         56762                 6002                Various                                                                                                $6.58
TAMI BIRD                      5111 W WOODWARD RD                                               WEST JORDAN      UT         84084                 6004                Various                                                                                               $30.00

TAMI COX-VOGT                  1205 VICTORIA STREET APT 301                                     FAIRMONT         MN         56060                  6004               Various                                                                                             $6.00
TAMI FERGUSON                  1813 HEYBURN AVE E                                               TWIN FALLS       ID         83301                  6004               Various                                                                                           $206.98
TAMI HABECK                    349 ANTELOPE ST PO BOX # 17                                      PRINGLE          SD         57773                  6002               Various                                                                                             $7.75
TAMI L FREEMAN                 11004 428TH AVE                                                  BRITTON          SD         57430                  6002               Various                                                                                             $0.47
TAMI MERTZ                     N8968 CALDRON FALLS RD                                           CRIVITZ          WI         54114                  6004               Various                                                                                            $22.50
TAMI OWEN                      PO BOX 243                                                       FIELDING         UT         84311                  6002               Various                                                                                             $5.62
TAMI PATEL                     1110 SEMINOLE HWY                                                MADISON          WI         53711                  6004               Various                                                                                            $22.50
TAMI PRELLWITZ                 726 BROADWAY ST APT 2                                            THERMOPOLIS      WY         82443                  6002               Various                                                                                             $7.84
TAMI REGAZZI                   W11043 COUNTY RD BC                                              HANCOCK          WI         54943                  6002               Various                                                                                             $1.66
TAMI SHEEDER                   1127 SCENIC VIEW COURT                                           RUSHFORD         MN         55971                  6004               Various                                                                                             $3.00
TAMI SPARKS                    2229 CRESTWOOD LN                                                PUEBLO           CO         81008                  6002               Various                                                                                             $9.45
TAMI VIEIRA                    209 W NORTH STREET                                               ROODHOUSE        IL         62082                  6002               Various                                                                                             $0.85
TAMIE CAMPBELL                 3502 E TALLOW LN                                                 BOISE            ID         83716                  6002               Various                                                                                             $8.25
TAMIE K BUTLER                 1725 1ST AVE                                                     PLATTSMOUTH      NE         68048                  6002               Various                                                                                             $3.56
TAMIE NETHERY                  635 S 400TH W                                                    BRIGHAM CITY     UT         84302                  6002               Various                                                                                             $0.49
TAMIKA COLEY                   263 ORRIN STREET               APT D                             WINONA           MN         55987                  6004               Various                                                                                             $3.00
TAMIKA LANE                    2555 MERIDITH AVWE                                               OMAHA            NE         68111                  6004               Various                                                                                             $4.00




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                                                                                                                                                                                                                                Claim subject to offset?
                                                                                                                                                                                                      Unliquidated
                                                                                                                                                                                         Contingent


                                                                                                                                                                                                                     Disputed
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                                                                                                                                                   Account         Incurred, Basis for
           Creditor Name             Address1                  Address2         Address3            City        State           Zip   Country      Number                Claim                                                                             Total Claim

TAMIKA RODGERS              6753 WEST SCHROEDER ROAD #6                                      MADISON          WI        53711                   6004               Various                                                                                                $2.00
TAMISUE SMITH               1136 N 16TH ST                                                   COEUR D ALENE    ID        83814                   6002               Various                                                                                                $1.97
TAMMERA BUCKMASTER          1713 CHICAGO ST.                                                 NAMPA            ID        83686                   6004               Various                                                                                               $12.20
TAMMERA DONOVAN             440 2ND ST NW APT 221 PMB                                        COKATO           MN        55321                   6002               Various                                                                                                $7.61
TAMMI JAMES                 1060 S MAIN ST TRLR 51                                           BRIGHAM CITY     UT        84302                   6002               Various                                                                                                $3.53
TAMMI L TRYBA               1908 BOPF ST                                                     WAUSAU           WI        54401                   6002               Various                                                                                                $1.45
TAMMI VANBEEK               2100 4TH AVE SE                                                  AUSTIN           MN        55912                   6004               Various                                                                                               $10.00
TAMMIE BLUHM                519 PARK AVE APT 4                                               JANESVILLE       WI        53546                   6004               Various                                                                                                $4.00
TAMMIE COLVIN               W6170 S NORWAY HILLS LANE                                        WAUTOMA          WI        54982                   6004               Various                                                                                               $10.00
TAMMIE DORION               5392 MANOR RD                                                    RHINELANDER      WI        54501                   6002               Various                                                                                                $9.59
TAMMIE MCKENZIE             2313 GLEN DR                                                     STURGIS          SD        57785                   6002               Various                                                                                                $8.08
TAMMIE QUEEN                28235 PLUM AVE                                                   MOORHEAD         IA        51558                   6002               Various                                                                                                $4.49
TAMMIE WEAKLEY              2103 AVE Q                                                       KEARNEY          NE        68847                   6004               Various                                                                                               $20.00
TAMMIE YANDELL              4720 SOUTHEAST 2500                                              ANDREWS          TX        79714                   6002               Various                                                                                                $7.48
TAMMY ACKER-ENDRES          5770 STATE ROAD 113                                              WAUNAKEE         WI        53597                   6002               Various                                                                                                $0.71
TAMMY AMUNDSON              7094 RHYNER ROAD                                                 NEENAH           WI        54956                   6004               Various                                                                                               $25.00
TAMMY BAILEY                BOX 1084                                                         SALMON           ID        83467                   6002               Various                                                                                                $1.15
TAMMY BALDRY                2228 FOX DR                                                      BILLINGS         MT        59102                   6002               Various                                                                                                $8.79
TAMMY BATEMAN               903 DOLBEER ST APT B                                             POCATELLO        ID        83204                   6002               Various                                                                                                $9.48
TAMMY BOE                   161 S PEARL STREET                                               BERLIN           WI        54923                   6004               Various                                                                                                $2.00
TAMMY BOHM                  PO BOX 669                                                       FAIRVIEW         MT        59221                   6002               Various                                                                                                $6.88
TAMMY BORNTRAGER            PO BOX 55                                                        TRIMONT          MN        56176                   6002               Various                                                                                                $7.18
TAMMY BROWN                 237 HIGHWAY # E64                                                TAMA             IA        52339                   6002               Various                                                                                                $4.96
TAMMY BRYANT                8313 SOLAR AVE                                                   WESTON           WI        54476                   6004               Various                                                                                               $32.00
TAMMY COFFEL                545 HANSEN                    APT. 8                             IDAHO FALLS      ID        83402                   6004               Various                                                                                               $23.00
TAMMY CORBITT               PO BOX 133                                                       ARVADA           WY        82831                   6002               Various                                                                                                $6.68
TAMMY CURBOW                2168 VIOLA DR                                                    IDAHO FALLS      ID        83401                   6002               Various                                                                                                $1.92
TAMMY D SULLIVAN            608 6TH ST                                                       GENESEO          KS        67444                   6002               Various                                                                                                $4.77
TAMMY DEPPERT               2545 JEFFERSON ST                                                EUGENE           OR        97402                   6004               Various                                                                                               $25.00
TAMMY DOBIZL                1305 W. SOUTH PARK AVE        UNIT B                             OSHKOSH          WI        54902                   6004               Various                                                                                               $10.00
TAMMY EASTMAN               745 W LAWRENCE ST                                                APPLETON         WI        54914                   6002               Various                                                                                                $5.86
TAMMY EBERLE                509 W CUMMINS ST                                                 TECUMSEH         MI        49286                   6002               Various                                                                                                $0.88
TAMMY HAMERNICK             3801 LOOKING GLASS DRIVE                                         BELLEVUE         NE        68005                   6004               Various                                                                                                $2.00
TAMMY HASTINGS              477 PADDOCK AVE                                                  PARK FALLS       WI        54552                   6002               Various                                                                                                $2.19
TAMMY HILLER                N4180 GARVEY AVE                                                 KAUKAUNA         WI        54130                   6002               Various                                                                                                $7.92
TAMMY HOLLIS                818 BRIARWOOD DRIVE                                              EAST WENATCHEE   WA        98802                   6004               Various                                                                                               $10.02
TAMMY J JORGENSEN           746 BROWN ST SW                                                  HUTCHINSON       MN        55350                   6002               Various                                                                                                $6.33
TAMMY J KELLER              815 7TH ST S                                                     SAINT JAMES      MN        56081                   6002               Various                                                                                                $7.89
TAMMY JOHNSON               512 N 3RD AVE E               APT 1                              DULUTH           MN        55805                   6004               Various                                                                                                $3.00
TAMMY KANTOROWICZ           3019 BROOKWAY DRIVE                                              LAUREL           MT        59044                   6004               Various                                                                                               $16.00
TAMMY KOENIGS               1110 WINSTON DR                                                  EDGERTON         WI        53534                   6004               Various                                                                                                $2.00
TAMMY L FITZMAURICE         7131 E SCHMIDT RD                                                FORT ATKINSON    WI        53538                   6002               Various                                                                                                $1.53
TAMMY L KLINE               4325 MURPHY AVE                                                  BILLINGS         MT        59101                   6002               Various                                                                                                $6.38
TAMMY L WOODYATT WILSON     1132 OAKHILL DR                                                  FREEPORT         IL        61032                   6002               Various                                                                                                $1.86
TAMMY L. STOLL              802 S 8TH ST APT 2                                               WATERTOWN        WI        53094                   6002               Various                                                                                                $7.92
TAMMY LABER                 1726 VALERIA WAY                                                 GREAT FALLS      MT        59405                   6002               Various                                                                                                $0.36
TAMMY LACY CIRILO           4190 COUNTY ROAD 133                                             LIBERTY          TX        77575                   6002               Various                                                                                                $0.96
TAMMY LANE KILLINGBECK      5508 RONCO AVE                                                   CALDWELL         ID        83607                   6002               Various                                                                                                $2.38
TAMMY LAROCHE-WAGAMAN       PO BOX 265                                                       MARTY            SD        57361                   6004               Various                                                                                               $33.00
TAMMY LAWSON                1213 N. PEACH                 LOT 96                             MARSHFIELD       WI        54449                   6004               Various                                                                                               $12.39
TAMMY MARKO                 510 N EGAN AVE APT 2                                             MADISON          SD        57042                   6002               Various                                                                                                $7.64
TAMMY MARSHALL              15221 PASEDENA AVENUE                                            OMAHA            NE        68144                   6004               Various                                                                                               $15.00
TAMMY MASTERS               39284 KEYSTONE AVE                                               NORTH BRANCH     MN        55056                   6002               Various                                                                                                $3.95




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             Creditor Name                Address1                Address2           Address3             City          State           Zip   Country     Number                Claim                                                                             Total Claim
TAMMY MEYER                   301 S JEFFERSON ST                                                  TINGLEY            IA         50863                 6002                Various                                                                                             $6.00
TAMMY MITCHELL                142 S TELULAH AVE                                                   APPLETON           WI         54915                 6002                Various                                                                                            $10.00
TAMMY MORITZ                  506 HARMON ST                                                       TAMA               IA         52339                 6002                Various                                                                                             $2.00
TAMMY MORRILL                 545 S PERRY PRKWY #2                                                OREGON             WI         53575                 6004                Various                                                                                            $21.00
TAMMY NELSON                  309 N WARPATH                                                       SALMON             ID         83467                 6002                Various                                                                                             $5.15
TAMMY O'CONNOR                334 HOOVER ST                                                       WHITELAW           WI         54247                 6004                Various                                                                                             $1.20
TAMMY OTT                     211 BENTWOOD DR                                                     BRILLION           WI         54110                 6004                Various                                                                                            $34.00
TAMMY PAUL                    632 NORTH 1ST STREET                                                BRUCE              WI         54819                 6004                Various                                                                                             $5.00
TAMMY PAUSTIAN                56629 HIGHWAY 98                                                    WINSIDE            NE         68790                 6002                Various                                                                                             $0.82
TAMMY PENDLETON               2725 SAWTOOTH ST                                                    IDAHO FALLS        ID         83406                 6002                Various                                                                                             $6.71
TAMMY RESZLER                 9234 30TH AVENUE                                                    KENOSHA            WI         53142                 6004                Various                                                                                             $3.00
TAMMY ROEHL                   103 N NORTHVIEW ST             APT. 215                             ELLSWORTH          WI         54011                 6004                Various                                                                                             $3.00
TAMMY SANDERS                 556 SOBOTTA ST                                                      ARCADIA            WI         54612                 6002                Various                                                                                             $0.85
TAMMY SCHOON                  5840 7TH AVE SW                                                     WATERTOWN          SD         57201                 6002                Various                                                                                             $6.27
TAMMY SCHYVINCK               1619 PALACE ST                                                      LA CROSSE          WI         54603                 6002                Various                                                                                             $1.92
TAMMY SELISSEN                2163 SMOKEY LANE                                                    SUAMICO            WI         54173                 6004                Various                                                                                           $130.00
TAMMY SHIRLEY                 1115 WAUGOO AVE                                                     OSHKOSH            WI         54901                 6002                Various                                                                                             $2.93
TAMMY SIGMON                  557 N HAMILTON ST                                                   POWELL             WY         82435                 6002                Various                                                                                             $1.40
TAMMY SMITH                   909 COOLIDGE ST                                                     GLENWOOD           IA         51534                 6002                Various                                                                                             $4.85
TAMMY THYES                   1785 SUSAN LN                                                       GREEN BAY          WI         54303                 6002                Various                                                                                             $7.92
TAMMY VAN BLARCOM             6814 189TH ST                                                       CHIPPEWA FALLS     WI         54729                 6004                Various                                                                                            $20.00
TAMMY WAGENAAR                2746 E RIVER DR                                                     GREEN BAY          WI         54301                 6002                Various                                                                                             $7.51
TAMMY WATSON                  202 MEADOW LN                                                       NORFOLK            NE         68701                 6002                Various                                                                                             $9.12
TAMMY WELSH                   4206 WASHINGTON RD             APT 101                              KENOSHA            WI         53144                 6004                Various                                                                                             $4.00
TAMMY WIECZOREK               909 PLEASANT DR                                                     PLATTSMOUTH        NE         68048                 6002                Various                                                                                             $6.00
TAMMY WISTI                   503 S FILLMORE ST                                                   PAPILLION          NE         68046                 6004                Various                                                                                             $4.00
TAMMY WRIGHT                  613 MT VIEW DR BOX # 474                                            DUBOIS             WY         82513                 6002                Various                                                                                             $4.68
TAMMY WUESTENBERG             N847 LAKEVIEW DR                                                    REESEVILLE         WI         53579                 6002                Various                                                                                             $8.79
TAMMY(PSP) HOFFMAN            4811 INDIAN HILLS DR APT 103                                        RACINE             WI         53406                 6002                Various                                                                                             $6.30
TAMOLYNE ROWELL               1715 VETERANS DR                                                    SAINT CLOUD        MN         56303                 6004                Various                                                                                             $6.00
TAMRA JARMAN                  201 3RD ST S                                                        PEEVER             SD         57257                 6002                Various                                                                                             $4.27
TAMRA SHEEDER                 201 W 5TH ST                                                        ORIENT             IA         50858                 6002                Various                                                                                             $1.62
TAMRA WRIGHT                  25615 N 8800TH W                                                    PORTAGE            UT         84331                 6002                Various                                                                                             $2.52
TAMRY MULLINS                 N8902 CT HWY K                                                      TREGO              WI         54888                 6004                Various                                                                                             $1.00
TAMY BARRETT                  333 WASHINGTON ST                                                   LANDER             WY         82520                 6002                Various                                                                                             $1.59
TANA D BONK                   529 N WALNUT AVE APT 7                                              FREEPORT           IL         61032                 6002                Various                                                                                             $2.90
TANA HOPTOWIT                 15140 MARION DR. RD.                                                WHITE SWAN         WA         98952                 6004                Various                                                                                            $20.03
TANA J ASPIN                  513 BIRCHWOOD LN                                                    GLADWIN            MI         48624                 6002                Various                                                                                             $2.16
TANASHA YOUNGBIRD             2930 LOWER PRAIRIE RD                                               MARION             MT         59925                 6002                Various                                                                                             $7.59

TANASIA JACKSON               1011 WASHINGTON ST                                                  WISCONSIN RAPIDS   WI         54494                  6004               Various                                                                                             $1.00
TANDIE OLSON                  418 3RD ST N                                                        BROWNS VALLEY      MN         56219                  6002               Various                                                                                             $5.04
TANDY BRANDS ACCESSORIES      PO BOX 203496                                                       DALLAS             TX         75320-3496             5566               Various                                                                                         $5,000.00
TANE MENDOLLA                 115 NORTH CLAY STREET                                               GREEN BAY          WI         54301                  6004               Various                                                                                            $12.00
TANEA ESCALANTE               563 S 845 W                                                         LOGAN              UT         84321                  6004               Various                                                                                            $23.00
TANEIKA KWIATKOWSKI           709 HAWTHORNE AVE                                                   JANESVILLE         WI         53545                  6004               Various                                                                                            $60.00
TANGA KOEHLER                 906 CEDAR ST                                                        STANTON            NE         68779                  6004               Various                                                                                             $2.00
TANIA HALL                    3440 EVERGREEN DR APT 5                                             PLOVER             WI         54467                  6002               Various                                                                                             $1.37
TANIA MCWILLIAMS              5325 N35TH ST                                                       OMAHA              NE         68111                  6004               Various                                                                                             $4.00
TANIA WAMBURA                 161 W MAIN STREET              APT 303                              WHITEWATER         WI         53190                  6004               Various                                                                                             $2.00
TANIPA NGUANCHINDA            2209 CYPRESS WAY #7                                                 MADISON            WI         53713                  6004               Various                                                                                             $2.00
TANNA SATTLER                 107 N VAN BUREN ST                                                  TECUMSEH           MI         49286                  6002               Various                                                                                            $17.59
TANNA SPEED                   1414 3RD AVENUE WEST                                                COLUMBIA FALLS     MT         59912                  6004               Various                                                                                             $2.00
TANNER BRUSSE                 2214 MAYFLOWER AVE                                                  SHEBOYGAN          WI         53083                  6004               Various                                                                                            $23.00




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              Creditor Name                Address1        Address2        Address3             City       State           Zip   Country     Number                Claim                                                                             Total Claim
TANNER BUTTKE                  W2811 BREDLOW LN                                         JEFFERSON       WI         53549                 6004                Various                                                                                            $25.00
TANNER DUDGEON                 839 RACINE STREET                                        MENASHA         WI         54952                 6004                Various                                                                                             $3.00
TANNER EMMERS                  19195 476TH ST                                           WATERVILLE      MN         56096                 6002                Various                                                                                             $4.77
TANNER HINZE                   4028 N52ND STREET                                        HOWARDS GROVE   WI         53083                 6004                Various                                                                                             $5.02
TANNER KIFFMEYER               12517 ROLLING RIDGE RD                                   BECKER          MN         55308                 6004                Various                                                                                            $22.90
TANNER KING                    606 7TH ST                                               WISNER          NE         68791                 6002                Various                                                                                             $0.44
TANNER MCGUIRE                 6316 S TERRE VISTA ST                                    SPOKANE         WA         99224                 6004                Various                                                                                            $13.02
TANNER NELSON                  326 WEST DIVISION ST                                     FOND DU LAC     WI         54937                 6004                Various                                                                                             $3.00
TANNER PHELAN                  201 BECKNER                                              GREELEY         IA         52050                 6004                Various                                                                                             $4.00
TANNER PUGH                    420 ONEIDA ST.                                           BEAVER DAM      WI         53916                 6004                Various                                                                                             $2.00
TANNER ROBERTS                 5744 N TOULON DR                                         COEUR D ALENE   ID         83815                 6002                Various                                                                                             $4.14
TANNER SCHULTZ                 432 W 12TH AVE                                           OSHKOSH         WI         54902                 6004                Various                                                                                             $2.00
TANNER VIGESAA                 11707 E. 4TH AVE                                         SPOKANE         WA         99206                 6004                Various                                                                                             $1.50
TANNER WILLI EASTMAN           449 E 200TH S                                            SPANISH FORK    UT         84660                 6002                Various                                                                                             $8.25
TANYA BAUMANN                  808 DEMPSTER ST                                          FORT ATKINSON   WI         53538                 6002                Various                                                                                             $9.40
TANYA BLACK                    801 E 3RD ST                                             NORTH PLATTE    NE         69101                 6002                Various                                                                                             $1.40
TANYA CARLSON                  1383 HWY 5                                               MEADOWLANDS     MN         55765                 6004                Various                                                                                             $1.24
TANYA DIETRICH                 7243 383RD ST                                            NORTH BRANCH    MN         55056                 6002                Various                                                                                             $8.33
TANYA FIGUEROA                 220 N DELAWARE APT B2                                    WENATCHEE       WA         98801                 6004                Various                                                                                            $45.88
TANYA FISHER                   7501 JANE DRIVE                                          BLACK HAWK      SD         57718                 6004                Various                                                                                            $31.02
TANYA GLASGOW                  2038 N 59TH ST                                           LINCOLN         NE         68505                 6002                Various                                                                                             $0.58
TANYA HEINTZ                   64 3RD AVE S PO BOX # 237                                STANFORD        MT         59479                 6002                Various                                                                                             $7.12
TANYA HENDRICKS                N 4295 SERENITY RIDGE CT                                 FREEDOM         WI         54130                 6004                Various                                                                                            $20.00
TANYA HIGGINS                  1018 TOLES AVE                                           LARNED          KS         67550                 6002                Various                                                                                             $6.93
TANYA JOHNSON                  432 MAIN ST.                                             PEMBERTON       MN         56078                 6004                Various                                                                                             $9.22
TANYA KLEIN                    BOX 107                                                  KIRKWOOD        IL         61447                 6002                Various                                                                                             $9.40
TANYA LIZZADRO                 432 S ST                                                 EAGLE HARBOR    MI         49950                 6002                Various                                                                                             $3.07
TANYA MORGAN                   3781 N 71ST STREET                                       OMAHA           NE         68104                 6004                Various                                                                                           $113.89
TANYA OTTEN                    1616 E 26TH ST                                           SIOUX FALLS     SD         57105                 6002                Various                                                                                             $4.19
TANYA RUDDY                    8495 WYOMING TRAIL                                       HARRIS          MN         55032                 6004                Various                                                                                             $8.67
TANYA SCHAEFER                 208 MARGARET AVE                                         LAKEFIELD       MN         56150                 6004                Various                                                                                             $3.00
TANYA SCHIPPER                 316 1/2 KEKOSKEE ST                                      MAYVILLE        WI         53050                 6002                Various                                                                                             $4.19
TANYA STRAUGHN                 2808 N 51ST ST                                           OMAHA           NE         68104                 6004                Various                                                                                             $4.00
TANYA T HIGGS                  928 4TH ST                                               KIEL            WI         53042                 6002                Various                                                                                             $0.27
TANYA TOCKEY                   304 SOUTH BOSTON                                         HASTINGS        NE         68901                 6004                Various                                                                                            $20.00
TANYA VESPER                   N10754 US HIGHWAY 151                                    WAUPUN          WI         53963                 6004                Various                                                                                            $10.00
TANYA VICKERY                  1941 N APPLETON ST                                       APPLETON        WI         54911                 6002                Various                                                                                             $0.44
TANYA VON RUEDEN               929 LISBON AVE                                           HARTLAND        WI         53029                 6002                Various                                                                                             $3.89
TANYA WERNER                   PO BOX 225                                               WASAUKEE        WI         54177                 6004                Various                                                                                           $102.99
TARA ALLEN                     4326 STARR ST                                            LINCOLN         NE         68503                 6002                Various                                                                                             $7.29
TARA BEAL                      GALAXY MOTEL                                             BRIGHAM CITY    UT         84302                 6002                Various                                                                                             $6.11
TARA BENAK                     703 LOGAN AVE                                            BELLEVUE        NE         68005                 6002                Various                                                                                             $6.38
TARA CARSON                    709 CLEVELAND ST APT 2                                   IDAHO FALLS     ID         83401                 6002                Various                                                                                             $1.59
TARA CORNISH                   101 DOWNRIVER ROAD                                       LEWISTON        ID         83501                 6004                Various                                                                                            $66.00
TARA COWGER                    BOX 516                                                  UPTON           WY         82730                 6002                Various                                                                                             $6.16
TARA CRABB                     1302 A S # 9TH                                           MANITOWOC       WI         54220                 6002                Various                                                                                             $4.58
TARA DECKER                    1430 JEFFERSON AVE APT 3                                 IDAHO FALLS     ID         83402                 6002                Various                                                                                             $8.22
TARA E THOMPSON                2103 BUTTERNUT DR                                        GREEN BAY       WI         54313                 6002                Various                                                                                             $0.38
TARA FUCHS                     11231 HWY 73                                             BANCROFT        WI         54921                 6004                Various                                                                                             $3.00
TARA GEORGE                    1084 15.5 RD                                             BARK RIVER      MI         49807                 6002                Various                                                                                             $8.96
TARA HANSEN                    4516 STONEBRIDGE COURT                                   APPLETON        WI         54913                 6004                Various                                                                                            $25.00
TARA HOLLIS (AMM)              715 PINE ST                                              DONIPHAN        MO         63935                 6002                Various                                                                                             $2.60
TARA J CARNAHAN                N3998 HIGHWAY # M-35                                     MENOMINEE       MI         49858                 6002                Various                                                                                             $3.89
TARA JOSEPHI DAWSON            718 2ND AVE NE                                           OELWEIN         IA         50662                 6002                Various                                                                                             $5.10




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TARA KOVACEVICH                   817 BRADLEY AVE                                                 EAU CLAIRE      WI         54701                6004                Various                                                                                             $9.99
TARA LEEPER                       717 S BAYTREE AVE                                               NORTH PLATTE    NE         69101                6002                Various                                                                                             $7.95
TARA LIEGL                        2020 PROSPECT STREET                                            GRAND ISLAND    NE         68803                6004                Various                                                                                            $10.03
TARA LINK                         1007 S GRAND AVE                                                LYONS           KS         67554                6002                Various                                                                                             $4.30
TARA LUECK                        702 PONY LANE                                                   SUN PRAIRIE     WI         53590                6004                Various                                                                                             $5.40
TARA M PARSONS                    ROUTE 1 BOX 2070                                                DONIPHAN        MO         63935                6002                Various                                                                                             $5.26
TARA MANZKE                       1851 RED OAK DRIVE                                              PLOVER          WI         54467                6004                Various                                                                                            $25.00
TARA MEINOLF                      1655 PYLE DR UNIT 1C                                            KINGSFORD       MI         49802                6004                Various                                                                                            $21.25
TARA NEWTON                       2246 18 AVE SE                                                  ROCHESTER       MN         55904                6004                Various                                                                                            $22.50
TARA PURDY                        1140 BLOOMINGFIELD DR 16                                        WHITEWATER      WI         53190                6004                Various                                                                                            $44.98
TARA RICKARD                      2512 E DIAMOND                                                  SPOKANE         WA         99217                6004                Various                                                                                             $5.93
TARA SKAIFE                       4263 KINGSFORD DRIVE                                            JANESVILLE      WI         53546                6004                Various                                                                                             $5.50
TARA STRAND                       PO BOX 53                                                       LETCHER         SD         57359                6002                Various                                                                                             $9.15
TARA TOY CORPORATION              40 ADAMS AVENUE                                                 HAUPPAUGE       NY         11788-0000           2506                Various                                                                                        $19,561.61
TARA TRUMP                        825 S 9TH AVE APT 445                                           BROKEN BOW      NE         68822                6002                Various                                                                                             $1.23
TARA WILMER                       2537 HIGHCREST RD                                               BELOIT          WI         53511                6004                Various                                                                                            $25.00
TARA WILSON                       9230 TIPTON HWY                                                 TIPTON          MI         49287                6002                Various                                                                                             $1.53
TARA WOLFINGER                    605 FLOYD ALY                                                   OROFINO         ID         83544                6002                Various                                                                                             $1.21
TARA YEE                          3488 E BEAMER CT                                                MERIDIAN        ID         83642                6002                Various                                                                                             $4.44
TARA ZERM                         1730 N 58TH ST                                                  LINCOLN         NE         68505                6004                Various                                                                                             $4.00
TARAH D DIXON                     883 N LANCELOT LN                                               POST FALLS      ID         83854                6002                Various                                                                                             $9.81
TARAH IVIE                        360 N. BAY ST. APT. 222                                         POST FALLS      ID         83854                6004                Various                                                                                            $12.99
TARAN JOHNSON                     525 E 600TH S                                                   BRIGHAM CITY    UT         84302                6002                Various                                                                                             $3.10

TARGETBASE                        C/O MARC GROUP               7850 N BELTLINE RD                 IRVING          TX         75063                  6341              Various                                                                                       $217,338.71
TARIYJAH WOODEN                   135 BERWIN AVE                                                  GREEN BAY       WI         54302                  6004              Various                                                                                             $2.00
TARNA GAHAN-HUNTER                555 OAKWOOD DR                                                  OREGON          WI         53575                  6004              Various                                                                                            $25.50

TARO CONSUMER PRODUCTS DBA TAR    75 REMITTANCE DRIVE STE 2503                                    CHICAGO         IL         60675-0000            5957               Various                                                                                        $11,172.16
TARRA A JANZING                   PO BOX 921                                                      ATKINSON        NE         68713                 6002               Various                                                                                             $2.79
TARRA JOHNSON                     40 S. HONEY DRIVE                                               NAMPA           ID         83687                 6004               Various                                                                                             $5.00
TARRA MORAN                       W2122 CTY RD 557                                                WILSON          MI         49896                 6002               Various                                                                                             $0.55
TARRELL PEOPLES                   210 N WALNUT STREET                                             ELLSWORTH       MN         56129                 6002               Various                                                                                             $4.00
TARREN LEWIS                      3933 JORDAN LANE                                                STEVENS POINT   WI         54481                 6004               Various                                                                                            $25.00
TARTAN SUPPLY COMPANY INCORPOR    3250 N 126TH STREET                                             BROOKFIELD      WI         53005                 4783               Various                                                                                        $85,938.35
TARYN WIELD                       3716 S17TH PLACE                                                SHEBOYGAN       WI         53081                 6004               Various                                                                                            $46.75
TARZAN ZANE WOOD                  27 WILLOW BEND DR                                               BILLINGS        MT         59102                 6002               Various                                                                                             $7.62
TASHA FACER                       2231 N 4350TH W                                                 PLAIN CITY      UT         84404                 6002               Various                                                                                             $1.21
TASHA HARBO                       1301 N CLEVELAND AVE         APT 9                              SIOUX FALLS     SD         57103                 6004               Various                                                                                            $11.02
TASHA JOHNSON                     910 W 8TH ST APT 2                                              SIOUX FALLS     SD         57104                 6002               Various                                                                                             $4.47
TASHA LEY                         W1341 CTY HWY A                                                 DORCHESTER      WI         54425                 6002               Various                                                                                             $3.62
TASHA NELSON                      124 1ST AVE W                                                   ALDEN           MN         56009                 6002               Various                                                                                             $5.78
TASHA SOMMERS                     1487 ARTIC CT                                                   SUAMICO         WI         54173                 6002               Various                                                                                             $0.47
TASHA WEIS                        2420 ELLISON AVE                                                OMAHA           NE         68111                 6004               Various                                                                                             $4.00
TASHEENA GONZALES                 6485 US HIGHWAY 10W # 46                                        MISSOULA        MT         59808                 6002               Various                                                                                             $5.21
TASHIA BAUER                      1109 4TH ST. N.                                                 SARTELL         MN         56377                 6004               Various                                                                                            $66.00
TASHINA SHAW                      1251 4 1/2 ST NW             NO 5                               ROCHESTER       MN         55901                 6004               Various                                                                                             $6.00
TASHLEE CONDON                    1006 21ST STREET             #90                                BRODHEAD        WI         53520                 6004               Various                                                                                             $1.00
TASSEL RIDGE WINERY               1681 220TH STREET                                               LEIGHTON        IA         50143-9060            1930               Various                                                                                         $2,393.00
TASSIE KNUDSON                    780 CTY NP                                                      ELLISON BAY     WI         54210                 6002               Various                                                                                             $6.30
TA'TAH STEWART                    BOX 842                                                         CROW AGENCY     MT         59022                 6004               Various                                                                                            $58.00
TATE SUMMERS                      P O BOX 45                                                      EDEN            UT         84310                 6004               Various                                                                                            $17.50
TATEM RUSSELL                     914 7TH ST                                                      RAWLINS         WY         82301                 6002               Various                                                                                             $1.21
TATIANA MARBLE                    11040 N 8400TH W                                                TREMONTON       UT         84337                 6002               Various                                                                                             $7.59




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                                                                                                                                                                                          Contingent


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                                                                                                                                                 Last 4 Digits of     Date Debt was
                                                                                                                                                    Account         Incurred, Basis for
             Creditor Name                Address1            Address2          Address3            City          State           Zip   Country     Number                Claim                                                                             Total Claim
TATIANA REID                  1103 FULTON ST                                                 SALMON            ID         83467                 6002                Various                                                                                                $3.62
TATORTOT (FE LOGAN            PO BOX 183                                                     SUAMICO           WI         54173                 6002                Various                                                                                                $0.88
TATUM FEHRENBACH              W 8499 BILKIE RD                                               POYNETTE          WI         53955                 6004                Various                                                                                                $2.00
TATUM HUDSON                  105 15TH ST                                                    WHEATLAND         WY         82201                 6002                Various                                                                                                $5.84
TATYANA TSUBER                1427 W BROADWAY #123                                           MISSOULA          MT         59801                 6004                Various                                                                                                $2.00

TATYANNA DERZON               1575 W PORTVIEW DR         APT 104                             PORT WASHINGTON   WI         53074                  6004               Various                                                                                               $41.00
TAUNIA ARNDT                  600 BURTON LANE APT 207                                        FAIRMONT          MN         56031                  6004               Various                                                                                                $3.00
TAUNIE M BRAITO               5051 S 150TH E                                                 OGDEN             UT         84405                  6002               Various                                                                                                $8.00
TAUSHEENA HOUDEK              266 SEBO STREET            APT 102                             WINONA            MN         55987                  6004               Various                                                                                                $3.00
TAWANA DARDEEN                330 W 10TH ST APT 517                                          MOUNT CARMEL      IL         62863                  6002               Various                                                                                                $5.95
TAWANA ROBINSON               315 E TAYLOR DELIVER                                           LYONS             KS         67554                  6002               Various                                                                                                $4.82
TAWNI BONNER                  4610 COPPER FLAT RD                                            LAUREL            MT         59044                  6004               Various                                                                                               $48.00
TAWNNI MEIER                  519 SOLBERG DR                                                 KALISPELL         MT         59901                  6002               Various                                                                                                $4.93
TAWNY SIMONIS                 513 SW STREET                                                  LOGAN             UT         84321                  6002               Various                                                                                                $1.56
TAWNYA CORBRIDGE              PO BOX 556                                                     FARMINGTON        UT         84025                  6004               Various                                                                                               $39.99
TAWNYA HOVEY                  85 N 400 E                                                     HYDE PARK         UT         84318                  6004               Various                                                                                               $20.00
TAYA GERLACH                  315 S FAIR ST                                                  WAUTOMA           WI         54982                  6002               Various                                                                                                $0.85
TAYA MCDANIEL                 847 LOIS CRT                                                   HARTFORD          WI         53027                  6004               Various                                                                                                $3.00
TAYA METZGER                  1016 S MAIN ST                                                 HORICON           WI         53032                  6004               Various                                                                                                $2.00
TAYLEE OSSEFOORT              53 20TH AVE                                                    EDGERTON          MN         56128                  6002               Various                                                                                                $6.41
TAYLER BIGELOW                8331 S 1890TH W                                                WEST JORDAN       UT         84088                  6002               Various                                                                                                $7.48
TAYLER WILLIAMSON             200 S GARFIELD ST APT 3                                        MISSOULA          MT         59801                  6002               Various                                                                                               $10.00
TAYLOR AYERS                  PINE ST APT 4                                                  SAINT PETER       MN         56082                  6004               Various                                                                                                $3.00
TAYLOR AYN FAHRENKOPF         901 MADISON ST                                                 BEAVER DAM        WI         53916                  6004               Various                                                                                               $20.00
TAYLOR BENDER                 1109 W CIRCLE DR.                                              BEAVER DAM        WI         53916                  6004               Various                                                                                                $5.00
TAYLOR BEST                   802 COOK ST                #1                                  DE PERE           WI         54115                  6004               Various                                                                                                $1.00
TAYLOR BILODEAU               1521 N APPLETON ST                                             APPLETON          WI         54911                  6002               Various                                                                                                $0.85
TAYLOR BITKER                 124 SW 9TH STREET                                              AVOCA             MN         56114                  6004               Various                                                                                                $2.85
TAYLOR BURD                   208 S. WASHINGTON ST                                           WATERTOWN         WI         53094                  6004               Various                                                                                               $25.00
TAYLOR CAGLE                  10923 142ND AVENUE                                             BURLINGTON        IA         52601                  6004               Various                                                                                               $25.00
TAYLOR CAMPBELL               9879 S PETUNIA WAY                                             SANDY             UT         84092                  6002               Various                                                                                                $2.77
TAYLOR CHERRY                 4260 GREENWILLOW LN                                            IDAHO FALLS       ID         83401                  6004               Various                                                                                                $3.65
TAYLOR CLINE                  445 WISCONSIN AVE APT 16                                       KALISPELL         MT         59901                  6004               Various                                                                                                $5.00
TAYLOR DUNCAN                 510 WEST MAIN ST                                               ALBERT LEA        MN         56007                  6004               Various                                                                                               $25.00
TAYLOR EWOLDT                 619 DURANT ST APT 5                                            HARLAN            IA         51537                  6002               Various                                                                                                $1.12
TAYLOR FIFE                   1511 MISSOULA AVE                                              HELENA            MT         59601                  6004               Various                                                                                                $3.69
TAYLOR FRAIN                  626 MAPLE STREET                                               FORT ATKINSON     WI         53538                  6004               Various                                                                                                $2.00
TAYLOR FREDRICKSON            7003 GEHIN RD                                                  BELLEVILLE        WI         53508                  6004               Various                                                                                                $1.00
TAYLOR FURLANO                235 N CLEAR LAKE AVE                                           MILTON            WI         53563                  6004               Various                                                                                                $7.00
TAYLOR GALLANT                5816 ALLEN RD                                                  LITTLE SUAMICO    WI         54141                  6002               Various                                                                                                $7.53
TAYLOR HATHAWAY               555 E 300 N                                                    SPANISH FORK      UT         84660                  6004               Various                                                                                                $2.00
TAYLOR HATTON                 362 GROVE STREET                                               COTTAGE GROVE     WI         53527                  6004               Various                                                                                               $12.50
TAYLOR HAYNES                 1422 SOUTH 14TH STREET                                         BURLINGTON        IA         52601                  6004               Various                                                                                               $32.00
TAYLOR HILL                   105 E ELM ST                                                   SPENCER           WI         54479                  6002               Various                                                                                                $0.85
TAYLOR HUBER                  1104 WILSON DR                                                 WORLAND           WY         82401                  6002               Various                                                                                                $4.58
TAYLOR JENKINS                225 RIDGWOOD DR                                                GILLETT           WI         54124                  6004               Various                                                                                               $19.00
TAYLOR JUPP                   217 E 8TH ST                                                   KAUKAUNA          WI         54130                  6002               Various                                                                                                $8.41
TAYLOR KRONE                  5617 S. 31ST, APT. # 5                                         LINCOLN           NE         68516                  6004               Various                                                                                               $10.80
TAYLOR KUEHL                  58 NORTH RIDGE TERR.                                           MADISON           WI         53704                  6004               Various                                                                                                $5.40
TAYLOR LANTAGNE               1461 STEAD DR                                                  MENASHA           WI         54952                  6002               Various                                                                                                $5.07
TAYLOR LARSEN                 2317 E CO RD BB                                                FOXBORO           WI         54836                  6004               Various                                                                                                $9.03
TAYLOR MAGLICIC               2333 N 60TH AVE                                                OMAHA             NE         68104                  6002               Various                                                                                                $4.63
TAYLOR MCCOY                  718 E 4TH ST                                                   BELVIDERE         IL         61008                  6004               Various                                                                                                $4.48




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                                                                                                                                                       Account         Incurred, Basis for
              Creditor Name                    Address1             Address2          Address3            City       State           Zip   Country     Number                Claim                                                                             Total Claim
TAYLOR METZGER                      22303 52ND ST                                                NEW AUBURN       WI         54757                 6004                Various                                                                                                $1.00
TAYLOR MILLER                       122 KNAPP STREET                                             OSHKOSH          WI         54902                 6004                Various                                                                                               $10.00
TAYLOR MORGAN                       3311 NORTH 72ND STREET                                       LINCOLN          NE         68507                 6004                Various                                                                                               $23.00
TAYLOR NICOL KURTZ                  706 5TH ST                                                   KALONA           IA         52247                 6002                Various                                                                                               $10.00
TAYLOR NUXOLL                       757 20TH AVE                                                 CLARKSTON        WA         99403                 6004                Various                                                                                                $5.00
TAYLOR ORENT                        2403 CHANDER ROAD EAST                                       BELLEVUE         NE         68005                 6004                Various                                                                                                $9.99
TAYLOR ORR                          471 SOUTH A STREET                                           ELKO             NV         89801                 6004                Various                                                                                               $20.00
TAYLOR PHILLIP                      916 LOUISE RD                                                NEENAH           WI         54956                 6004                Various                                                                                               $10.00
                                                                                                 COMMERCE
TAYLOR PRECISION PRODUCTS           PO BOX 1415                                                  TOWNSHIP         MI         48390-0000             8111               Various                                                                                        $79,493.97
TAYLOR R LARSON                     923 CEDAR ST                                                 EAU CLAIRE       WI         54703                  6002               Various                                                                                            $10.00
TAYLOR RAMIREZ                      807 VERA                                                     MADISON          WI         53704                  6004               Various                                                                                             $1.00
TAYLOR RANNEY                       855 E. LAKE STREET #7                                        LAKE MILLS       WI         53551                  6004               Various                                                                                             $3.00
TAYLOR RHODES                       937 W CLEVEND                                                FREEPORT         IL         61032                  6004               Various                                                                                            $23.00
TAYLOR ROHLFS                       2268 K ROAD                                                  UNADILLA         NE         68454                  6004               Various                                                                                            $20.00
TAYLOR ROMENESKO                    350 N LAKE ST                                                PESHTIGO         WI         54157                  6002               Various                                                                                             $5.00
TAYLOR ROTHERHAM                    1855 SCHEURING RD APT 5                                      DE PERE          WI         54115                  6002               Various                                                                                             $0.55
TAYLOR SALOIS                       603 GRANITE VIEW DRIVE                                       KALISPELL        MT         59901                  6004               Various                                                                                             $3.00
TAYLOR SHEFFIELD                    10552 495TH ST                                               RUSH CITY        MN         55069                  6004               Various                                                                                            $11.10
TAYLOR SMITH                        317 W. 2400 N.                                               CLEARFIELD       UT         84015                  6004               Various                                                                                             $5.30
TAYLOR SWIANTEK                     928 WEST ST                                                  RIB LAKE         WI         54470                  6004               Various                                                                                             $3.00
TAYLOR TURNER                       9175 LITTLE CREEK DR.                                        WEST JORDAN      UT         84088                  6004               Various                                                                                            $10.00
TAYLOR VENDEN                       N9557 COUNTY J                                               BLANCHARDVILLE   WI         53516                  6004               Various                                                                                            $60.00
TAYLOR WEEKS                        204 NORTH STREET                                             GOLDEN           IL         62339                  6004               Various                                                                                             $7.02
TAYLOR WILKES                       426 JACKSON BOX # 130                                        AFTON            WY         83110                  6002               Various                                                                                             $6.19
TAYLOR ZAMORA                       1628 19TH STREET                                             EAU CLAIRE       WI         54703                  6004               Various                                                                                             $1.00
TAYLOREVE JACOBSON                  215 BRIDGER DR                                               LOGAN            UT         84321                  6002               Various                                                                                             $1.53
TAYLORSVILLE-BENNION IMPROVEMENT                                                                                                                                       11/21/2018 -
DIST                                P.O. BOX 18579                                               SALT LAKE CITY   UT         84118-8579             75                 12/20/2018                                                                                       $218.60
TAZSIA BRESTER                      310 2ND AVE                                                  LAUREL           MT         59044                  6004               Various                                                                                             $3.00
TEAGUE BLASKE                       220 CAROLYN                                                  LINCOLN          NE         68510                  6004               Various                                                                                            $11.01
TEAM BEANS LLC                      2301 COTTONTAIL LANE                                         SOMERSET         NJ         08873-0000             9536               Various                                                                                       $125,204.38
TEANNA HETTICH                      39327 134TH ST                                               BATH             SD         57427                  6002               Various                                                                                             $5.64
TEARA SWEET                         6127 ARBOR ST                                                OMAHA            NE         68106                  6004               Various                                                                                             $4.00
TEASHA GROVES                       3939 W BRIXTON RD                                            SALT LAKE CITY   UT         84129                  6002               Various                                                                                             $2.60
TEC DISTRIBUTING (BEER-068)         FINTECH                     SHOPKO STORES   PO BOX 19060     GREEN BAY        WI         54307-9060             1260               Various                                                                                          $290.92
TEC LABS INC                        7100 TEC LABS WAY SW                                         ALBANY           OR         97321                  5330               Various                                                                                         $7,110.19
TECH ELECTRIC INCORPORATED          PO BOX 1372                                                  LIVINGSTON       MT         59047                  8984               Various                                                                                          $212.50
TECHNOTRANS AMERICA INC             PO BOX 5815                                                  CAROL STREAM     IL         60197-5815             1003               Various                                                                                          $215.76
TED BRANDT                          2114 S THOMPSON DRIVE                                        MADISON          WI         53716                  6004               Various                                                                                             $5.40
TED CHASE                           BOX 2942                                                     MISSOULA         MT         59806                  6002               Various                                                                                             $4.00
TED D FLAUGHER                      6707 SHADOWBROOK DR                                          LAKE             MI         48632                  6002               Various                                                                                             $0.82
TED D LARSEN                        1843 RIVERWOOD RD                                            TWIN FALLS       ID         83301                  6002               Various                                                                                             $6.96
TED GIGRICH IV                      836 ESAT WASHINGTON APT P                                    KALISPELL        MT         59901                  6004               Various                                                                                            $30.00
TED HEIMERMAN                       314 KENWOOD DR                                               NEENAH           WI         54956                  6002               Various                                                                                             $0.71
TED JACOBSON                        604 W MAIN ST APT 1                                          MERRILL          WI         54452                  6004               Various                                                                                            $60.00
TED JOHN FOX                        8422 OCONNELLS RESORT RD                                     WINNECONNE       WI         54986                  6002               Various                                                                                             $6.68
TED M CORRINGTON                    207 BRISCOE RD                                               POCATELLO        ID         83202                  6002               Various                                                                                             $3.45
TED RIEDEMANN                       1915 ANDREA LANE                                             MANITOWOC        WI         54220                  6004               Various                                                                                             $4.00
TED TUCKER                          N1041 HIGHWAY # J                                            LYNDON STATION   WI         53944                  6002               Various                                                                                             $1.23
TED WAUHOB                          2114 GENEVA ST                                               SIOUX CITY       IA         51103                  6002               Various                                                                                             $0.68
TEDD LISTER                         2736 WATERFORD CRT                                           IDAHO FALLS      ID         83404                  6002               Various                                                                                             $0.88
TEDDY L SEELY                       BOX 1477                                                     LANDER           WY         82520                  6002               Various                                                                                             $7.67
TED-E BEAR STIRES                   229 2ND AVE                                                  SAVAGE           MT         59262                  6002               Various                                                                                             $4.27




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                                                                                                                                                             Account         Incurred, Basis for
             Creditor Name                  Address1                  Address2            Address3            City         State           Zip   Country     Number                Claim                                                                             Total Claim
TEENA THOMPSON                    513 AVENUE B                                                         POWELL           WY         82435                 6002                Various                                                                                                $7.34
TEFANY RAMSEY                     916 LARSON DR                                                        ZUMBROTA         MN         55992                 6004                Various                                                                                                $6.12
TEGWEN THALMANN                   2707 W INDEPENDENCE CT                                               APPLETON         WI         54914                 6002                Various                                                                                                $5.62
TEIGS LAWN CARE & LANDSCAPING     606 NORTH HIGH STREET                                                MARSHALL         MN         56258                 6326                Various                                                                                               $64.72
TEILAN WILLIAMS                   2995 SUNSHINE PLACE                                                  GREEN BAY        WI         54313                 6004                Various                                                                                                $4.00

TEKNO PRODUCTS INC                REPUBLIC BUSINESS CREDIT LLC   PO BOX 203152                         DALLAS           TX         75320-3152             0087               Various                                                                                       $102,753.85
TEKSYSTEMS INCORPORATED           PO BOX 198568                                                        ATLANTA          GA         30384-8568             7850               Various                                                                                        $41,769.60
TELLURIAN UCAN INC CIT            300 FEMRITE DRIVE                                                    MONONA           WI         53716                  6666               Various                                                                                          $210.90
TEMALETI LUCK                     165 N 1650 W                   APT C 102                             PLEASANT GROVE   UT         84062                  6004               Various                                                                                            $12.04
TEMPERATURE SYSTEMS INCORPORAT    PO BOX 8030                                                          MADISON          WI         53708-8030             8855               Various                                                                                         $4,880.26

TEN WEST APPAREL INC              10 WEST 33RD STREET ROOM 216                                         NEW YORK         NY         10001                  6147               Various                                                                                       $242,343.66
TENA M SCHULTZ                    1897 110TH AVE                                                       TRIMONT          MN         56176                  6002               Various                                                                                             $5.40
TENDER CORPORATION                106 BURNDY ROAD                                                      LITTLETON        NH         03561-3957             5613               Various                                                                                         $3,419.76
TENIELLE BECKSTEAD                1041 PARK AVE                                                        KIMBERLY         ID         83341                  6004               Various                                                                                             $1.79
TENISON G MATHEWS                 707 39TH ST APT 4                                                    MISSOULA         MT         59803                  6002               Various                                                                                             $8.08
TENLEY ESPINOSA                   907 BURRELL AVE                                                      LEWISTON         ID         83501                  6004               Various                                                                                            $20.00
TENNESSA GRIFFIN                  2267 E ROAD                                                          WEST POINT       NE         68788                  6002               Various                                                                                             $2.58
TEODORA AGUIRRE                   1 FAIRWAY DR                                                         DOUGLAS          WY         82633                  6002               Various                                                                                             $7.59
TEODORA MATEVA                    821 6TH ST SW                                                        WADENA           MN         56482                  6004               Various                                                                                             $3.00
TEODORO REYNA                     1055 MONROE ST                                                       MABTON           WA         98935                  6004               Various                                                                                            $39.00
TERA HOLMSTEAD                    1375 S WOODRUFF AVE                                                  IDAHO FALLS      ID         83404                  6002               Various                                                                                             $5.78
TERA PULLAM                       10390 N MAPLE ST                                                     HAYDEN           ID         83835                  6002               Various                                                                                             $1.56
TERA SCHLEICHER                   2329 N MURRAY AVE                                                    MILWAUKEE        WI         53211                  6004               Various                                                                                            $64.97
TEREASA DAVIS                     1386 KINGHORN RD                                                     POCATELLO        ID         83201                  6002               Various                                                                                            $10.00
TERENCE FLETCHER                  309 N LARK ST                                                        OSHKOSH          WI         54902                  6002               Various                                                                                            $10.00
TERENCE OGRADY                    475 ALPINE DR                                                        GREEN BAY        WI         54302                  6002               Various                                                                                             $2.16
TERENCE PARR                      20015 OAK HILLS PL                                                   HENDRICKS        MN         56136                  6002               Various                                                                                             $2.27
TERESA A SCHEIDEL                 1 PETTICOAT LN                                                       MANKATO          MN         56001                  6002               Various                                                                                             $2.68
TERESA AGUIRRE                    328 TIMBER LANE                                                      MARSHALL         MN         56258                  6004               Various                                                                                             $1.24
TERESA ANDREWS                    91010TH AVE SO                                                       ST JAMES         MN         56081                  6002               Various                                                                                             $5.21
TERESA ASHOUR                     1124 N RICHMOND ST                                                   APPLETON         WI         54911                  6004               Various                                                                                             $4.00
TERESA AUGUST                     826 S FOX HILL DR                                                    SPANISH FORK     UT         84660                  6002               Various                                                                                             $6.25
TERESA BARBER                     1650 SECOND AVE                                                      NEWPORT          MN         55055                  6004               Various                                                                                             $7.54
TERESA BARRAZA                    1418 W A ST #B                                                       TORRINGTON       WY         82240                  6002               Various                                                                                             $7.56
TERESA BARRIE                     4917 LINDEN RD                                                       ROCKFORD         IL         61109                  6002               Various                                                                                             $0.90
TERESA BARRIENTOS                 227 S MAPLE ST                                                       WEST POINT       NE         68788                  6002               Various                                                                                             $0.49
TERESA BERGDALE                   911 AUTUMN ST                                                        ALBERT LEA       MN         56007                  6002               Various                                                                                             $8.71
TERESA BERGEMANN                  2690 COMPASS PLANT BLVD                                              SUN PRAIRIE      WI         53590                  6004               Various                                                                                             $2.00
TERESA BIANCO                     3630 BALDWIN AVE                                                     LINCOLN          NE         68504                  6004               Various                                                                                            $87.98
TERESA BOOTH                      513 W DAKOTA AVE                                                     HAYDEN           ID         83835                  6002               Various                                                                                             $2.71
TERESA CASTELAZO SERANO           604 NE AVE H                                                         ANDREWS          TX         79714                  6002               Various                                                                                             $4.33
TERESA COFFEY                     3621 N PATRICIA LN TRLR 32                                           BOISE            ID         83704                  6002               Various                                                                                             $2.93
TERESA D MADISON                  406 N LOCUST ST                                                      GLENWOOD         IA         51534                  6002               Various                                                                                             $9.62
TERESA DAHLSTROM                  318 E ALCOTT AVE                                                     FERGUS FALLS     MN         56537                  6002               Various                                                                                             $6.22
TERESA DOMINGUIZ                  1106 ROYAL OAKS DR                                                   WACO             TX         76710                  6002               Various                                                                                             $4.22
TERESA DULEY                      225 E 5TH ST                                                         WINNER           SD         57580                  6002               Various                                                                                             $1.37
TERESA EGGE                       304 EAST SCHOOL STREET                                               STANLEY          WI         54768                  6004               Various                                                                                            $33.00
TERESA FORBES                     1746 ALBANY AVE                                                      HOT SPRINGS      SD         57747                  6002               Various                                                                                             $3.95
TERESA FROEHLICH                  9838 W HWY59                                                         EVANSVILLE       WI         53536                  6004               Various                                                                                            $25.00
TERESA GRALL                      8314 WENNACHE CT.                                                    PASCO            WA         99301                  6004               Various                                                                                             $7.49
TERESA HARDMAN                    PO BOX 274                                                           MENDON           UT         84325                  6002               Various                                                                                             $7.23
TERESA HOWARD                     10021 PINKNEY ST                                                     OMAHA            NE         68134                  6004               Various                                                                                             $2.00




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                                                                                                                                                                                                                                      Claim subject to offset?
                                                                                                                                                                                                            Unliquidated
                                                                                                                                                                                               Contingent


                                                                                                                                                                                                                           Disputed
                                                                                                                                                      Last 4 Digits of     Date Debt was
                                                                                                                                                         Account         Incurred, Basis for
              Creditor Name                Address1                  Address2        Address3              City        State           Zip   Country     Number                Claim                                                                             Total Claim
TERESA JENSEN                  1908 NO PITCHER                                                    NEILLSVILLE       WI         54456                 6002                Various                                                                                                $9.56
TERESA KRAKOFSKY               512 S LINCOLN STREET                                               ELKHORN           WI         53121                 6004                Various                                                                                                $9.60
TERESA KRUSER                  611 S EATON ST                                                     LANCASTER         WI         53813                 6002                Various                                                                                                $0.63
TERESA L WHITE                 2189 OWL AVE                                                       WOODWARD          IA         50276                 6002                Various                                                                                                $7.51
TERESA LARSONKOSHIOL           297 S MAIN ST                                                      CLINTONVILLE      WI         54929                 6002                Various                                                                                                $0.77
TERESA M GREEN                 2322 17TH AVE                                                      MONROE            WI         53566                 6002                Various                                                                                                $0.58
TERESA MANCIL                  1220 1ST ST N                                                      WISCONSIN RAPID   WI         54494                 6002                Various                                                                                                $2.63
TERESA MAYBEE                  PO BOX 493                                                         SELAH             WA         98942                 6004                Various                                                                                               $30.00
TERESA MILLER                  314 W 4TH AVE                                                      MONMOUTH          IL         61462                 6002                Various                                                                                                $1.56
TERESA MORENO                  2520 S NASHUA LN                                                   BOISE             ID         83706                 6002                Various                                                                                                $8.44
TERESA NORWOOD                 1049 ELM                                                           BELOIT            WI         53511                 6004                Various                                                                                                $2.00
TERESA OYE                     209 E NORTHLINE RD                                                 TUSCOLA           IL         61953                 6002                Various                                                                                                $1.92
TERESA R. GRANZA               351 S CEDAR ST UNIT 101                                            BUFFALO           WY         82834                 6002                Various                                                                                                $1.62
TERESA ROBINSON                36 GRACE ROAD                                                      COLUMBIA FALLS    MT         59912                 6004                Various                                                                                               $59.00
TERESA RODRIQUEZ               227 S CHESNUT AVE                                                  NEW HAMPTON       IA         50659                 6002                Various                                                                                                $2.47
TERESA ROSALES                 501 INDEPENDENCE DR                                                FAIRMONT          MN         56031                 6002                Various                                                                                                $7.67
TERESA SANCHEZ RUIZ            348 PARKVIEW                                                       WAUTOMA           WI         54982                 6002                Various                                                                                                $8.52
TERESA SCHRAM                  18306 18TH ST                                                      PLATTSMOUTH       NE         68048                 6002                Various                                                                                                $9.67
TERESA SCOTT                   10600 S CLARE AVE LOT 17                                           CLARE             MI         48617                 6002                Various                                                                                                $7.70
TERESA SHACKELFORD             6263 W COHIBA LANE                                                 BOISE             ID         83703                 6004                Various                                                                                               $10.02
TERESA SMITH                   2104 REBECCA ST                                                    SIOUX CITY        IA         51103                 6002                Various                                                                                                $7.51
TERESA SUHR                    59 SILVERLEAF DR                                                   KALISPELL         MT         59901                 6002                Various                                                                                                $8.49
TERESA TENNY                   8512 GRANVILLE PKWY            #316                                LA VISTA          NE         68128                 6004                Various                                                                                                $2.00
TERESA VERCIMAK                5306 LOUANN DR                                                     SCHOFIELD         WI         54476                 6002                Various                                                                                                $6.99
TERESA WALESCH                 30996 FELDSPAR ST NW                                               PRINCETON         MN         55371                 6002                Various                                                                                                $0.47
TERESA WELLS                   421 W AVE                                                          LYONS             KS         67554                 6002                Various                                                                                                $2.74
TERESA WINCHELL                10010 S 11TH ST                                                    BELLEVUE          NE         68123                 6002                Various                                                                                                $2.88
TERESA ZILLIG                  PO BOX 74                                                          GOSHEN            UT         84633                 6002                Various                                                                                                $3.07
TERESE CAYA                    6036 TUSCOBIA TRAIL                                                MC FARLAND        WI         53558                 6004                Various                                                                                               $15.00
TERESSA BESAW                  66 JONQUIL CIRCLE                                                  BILLINGS          MT         59102                 6004                Various                                                                                               $30.00
TERI A SMYTH                   PO BOX 574                                                         FAIRVIEW          MT         59221                 6002                Various                                                                                                $6.90
TERI BROOKS                    15805 S ST                                                         OMAHA             NE         68135                 6004                Various                                                                                               $30.00
TERI CORNELIUS                 829 S MAIN ST                  APT 311                             OCONTO FALLS      WI         54154                 6004                Various                                                                                                $2.00
TERI CURTIS                    2309 BLUESTONE PL                                                  GREEN BAY         WI         54311                 6002                Various                                                                                                $6.16
TERI FEIST                     12848 212TH AVE NE                                                 NEW LONDON        MN         56273                 6002                Various                                                                                                $0.38
TERI FIDELMAN                  58 S 350 W                                                         JEROME            ID         83338                 6004                Various                                                                                               $35.20
TERI GRZELAK                   2519 SALISBURY DR                                                  WEST BEND         WI         53090                 6004                Various                                                                                                $3.98
TERI HEILBERGER                506 HASKIN                                                         PARDEEVILLE       WI         53954                 6004                Various                                                                                                $2.00
TERI HUEMPFNER                 6727 DEUSTER RD                                                    GREENLEAF         WI         54126                 6002                Various                                                                                                $7.75
TERI JUNGE                     E HIGHWAY 20                                                       ONEILL            NE         68763                 6002                Various                                                                                                $5.92
TERI LUTTRULL                  1755 SE 4401ST                                                     ANDREWS           TX         79714                 6002                Various                                                                                                $7.18
TERI ROYER                     844 E CECIL ST                                                     NEENAH            WI         54956                 6004                Various                                                                                               $30.00
TERIN SCHUMANN                 461 RAVEN WAY APT C                                                POCATELLO         ID         83202                 6002                Various                                                                                                $3.40
                                                              5521 DELTA RIVER
TERMINAL COURT LLC             MAROS LLC                      DR                                  LANSING           MI         48906                   6249              Various                                                                                         $6,061.20
TERRA HENSLER                  W11052 HWY 16-60                                                   COLUMBUS          WI         53925                   6004              Various                                                                                             $2.00

TERRA RUNNINGCRANE             1019 15TH STREET N PRERELEAS                                       GREAT FALLS       MT         59404                  6002               Various                                                                                                $5.59
TERRA SOHNS                    2379 TEE TIME RD SE                                                ROCHESTER         MN         55904                  6004               Various                                                                                                $6.00
TERRAN WILLINGHAM              3029 HANNA CRT NW                                                  OLYMPIA           WA         98516                  6004               Various                                                                                                $5.01
TERRANCE ANDERSON              3808 BARR ROAD                                                     LEWISTON          ID         83501                  6004               Various                                                                                               $15.00
TERRANCE DAYCHILD              1019 15TH ST N PRERELEASE                                          GREAT FALLS       MT         59401                  6002               Various                                                                                                $8.38
TERRANCE KAIN                  3408 1ST AVENUE S                                                  GREAT FALLS       MT         59401                  6004               Various                                                                                                $3.00
TERRANCE KOEHLER               618 S BARSTOW ST                                                   EAU CLAIRE        WI         54701                  6004               Various                                                                                                $3.00




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                                                                                                                                                                                                                                Claim subject to offset?
                                                                                                                                                                                                      Unliquidated
                                                                                                                                                                                         Contingent


                                                                                                                                                                                                                     Disputed
                                                                                                                                                Last 4 Digits of     Date Debt was
                                                                                                                                                   Account         Incurred, Basis for
              Creditor Name                Address1             Address2         Address3             City       State           Zip   Country     Number                Claim                                                                             Total Claim
TERRANCE ROLSTAD               118 8TH AVE E                                                  SISSETON        SD         57262                 6002                Various                                                                                             $6.79
TERRANCE SMITH                 2994 HIGHWAY 93 N                                              GIBBONSVILLE    ID         83463                 6002                Various                                                                                             $1.32
TERRASCAPES LLC                410 14TH ST SW               PO BOX 2810                       GREAT FALLS     MT         59403                 5715                Various                                                                                           $345.00
TERREL WELCH                   N7103 FLATER RD                                                MANAWA          WI         54949                 6004                Various                                                                                             $3.00
TERRELL BRICK                  108 N MAIN ST                                                  BLACK CREEK     WI         54106                 6002                Various                                                                                             $3.59
TERRELL LORE                   5650 VALLEY RD                                                 ALLIANCE        NE         69301                 6002                Various                                                                                             $7.32
TERRELL NOBLIN JELKS           915 LEWELLEN ST                                                MARSHALL        WI         53559                 6004                Various                                                                                             $3.00
TERRENCE ERL ARONSON           N5679 COUNTY ROAD J                                            ELLSWORTH       WI         54011                 6002                Various                                                                                             $0.38
TERRENCE GULAN                 725 WARBLER LANE                                               STEVENS POINT   WI         54482                 6004                Various                                                                                           $135.07
TERRENCE HERLACHE              1201 FIRST STREET                                              KEWAUNEE        WI         54216                 6004                Various                                                                                            $10.00
TERRENCE MCNAMEE               1921 TOTEM                                                     BELOIT          WI         53511                 6004                Various                                                                                             $3.00
TERRENCE MOUNTAIN III          4210 5TH AVENUE, UPPER                                         KENOSHA         WI         53140                 6004                Various                                                                                             $3.00
TERRESSA PHILLIPS              8258 W ST LAWRENCE ROAD                                        BELOIT          WI         53511                 6004                Various                                                                                            $11.50
TERRI BARRETTE                 803 GROSS AVENUE                                               GREEN BAY       WI         54304                 6002                Various                                                                                            $41.41
TERRI BONNELL                  1823 E ROBIN WAY                                               APPLETON        WI         54915                 6002                Various                                                                                             $3.48
TERRI BRANSTROM                8825 M RD # 5                                                  GLADSTONE       MI         49837                 6002                Various                                                                                             $3.67
TERRI BRAUN-NEUBAUER           2803 FIELD STONE CT.                                           KAUKAUNA        WI         54130                 6004                Various                                                                                            $10.00
TERRI CRAWFORD                 4161 CAVE GULCH ROAD                                           HELENA          MT         59602                 6004                Various                                                                                             $2.00
TERRI DAMUTH                   1541 SUSSEX RD                                                 KAYCEE          WY         82639                 6002                Various                                                                                             $7.18

TERRI HATTEN                   3300 HUNTINGTON AVE APT 28                                     LINCOLN         NE         68504                  6002               Various                                                                                                $6.11
TERRI HEDEEN                   1808 E HASTINGS AVE                                            COEUR D ALENE   ID         83814                  6002               Various                                                                                                $5.01
TERRI JOSEPHSON                2110 PANORA AVE                                                NEW HAMPTON     IA         50659                  6002               Various                                                                                                $3.45
TERRI L GROEZINGER             6318 S GRAS RD                                                 ELIZABETH       IL         61028                  6002               Various                                                                                               $10.00
TERRI L. MOORE                 6430 READ ST                                                   OMAHA           NE         68152                  6002               Various                                                                                                $1.75
TERRI MCBRIDE                  414 W 5000TH S                                                 OGDEN           UT         84405                  6002               Various                                                                                                $5.95
TERRI NELSON                   44 HIGH NOON LANE                                              CASCADE         MT         59421                  6004               Various                                                                                               $21.00
TERRI PANKE                    1410 JOHNSTON DRIVE                                            MANITOWOC       WI         54220                  6004               Various                                                                                               $23.25
TERRI SLAVEN                   3638 GLEN OAKS BLVD APT 10                                     SIOUX CITY      IA         51104                  6002               Various                                                                                                $5.18
TERRI SPENCER                  701 W SUPERIOR ST #1107                                        DULUTH          MN         55802                  6004               Various                                                                                                $3.00
TERRI SWINNERTON               401 NW 20TH                                                    GRETNA          NE         68028                  6004               Various                                                                                               $25.00
TERRI TIMMERMAN                1008 HOWARD ST LOT 129                                         RAPID CITY      SD         57701                  6002               Various                                                                                                $9.10
TERRI TROTOCHAUD               358 COUNTY ROAD 550                                            MARQUETTE       MI         49855                  6002               Various                                                                                                $6.99
TERRI VROLIJK                  505 PHILS LN                                                   MOSINEE         WI         54455                  6002               Various                                                                                                $0.44
TERRIE CULVER                  917 GRANT ST.                                                  BELOIT          WI         53511                  6004               Various                                                                                                $4.00
TERRIE HANDRICK                3517 DELAHUT ST                                                GREEN BAY       WI         54301                  6002               Various                                                                                                $6.60
TERRILL SMITH                  2506 FLORANCE BLV                                              OMAHA           NE         68110                  6004               Various                                                                                                $4.00
TERRY A BENNETT                1725 E E STREET                                                TORRINGTON      WY         82240                  6002               Various                                                                                                $9.42
TERRY A ELTHON                 308 W MAIN ST                                                  FERTILE         IA         50434                  6002               Various                                                                                                $5.92
TERRY A SPRING                 212 W FRONT ST                                                 LIVINGSTON      MT         59047                  6002               Various                                                                                                $6.55
TERRY AOSSEY                   1184 MERRITT BLACKTOP                                          WINCHESTER      IL         62694                  6004               Various                                                                                               $35.01
TERRY ARTHER COTE              5005 GOLDEN GATE DR                                            GRAND FORKS     ND         58203                  6002               Various                                                                                                $7.18
TERRY BAILEY                   3378 COUNTY ROAD 195                                           PHILADELPHIA    MO         63463                  6002               Various                                                                                                $6.99
TERRY BARBER                   2328 LAKE                                                      LINCOLN         NE         68502                  6004               Various                                                                                               $81.92
TERRY BARTA                    6902 POINT CREEK RD                                            NEWTON          WI         53063                  6002               Various                                                                                                $8.19
TERRY BEATTIE                  801 STUART ROAD ST 4                                           ADAIR           IA         50002                  6002               Various                                                                                               $12.18
TERRY BENNETT                  600 COLEMAN BLVD             APT 2                             RICE LAKE       WI         54868                  6004               Various                                                                                                $2.00
TERRY BEYER                    PO BOX 143                                                     WINTON          MN         55796                  6002               Various                                                                                                $1.00
TERRY BLANK                    N7841 HIGHWAY # Q                                              JOHNSON CREEK   WI         53038                  6002               Various                                                                                                $5.81
TERRY BOWERS                   6493 BOW LN                                                    GILLESPIE       IL         62033                  6002               Various                                                                                                $2.96
TERRY BRUDIDGE                 432 N. BROADWAY                                                DE PERE         WI         54115                  6004               Various                                                                                               $52.50
TERRY BUHLER                   307 WINN COURT                                                 DEFOREST        WI         53532                  6004               Various                                                                                               $50.00
TERRY COWDEN                   4636 CO RD # 140 PMB SE                                        STEWARTVILLE    MN         55976                  6002               Various                                                                                                $2.41
TERRY CUTHBERT                 BOX 5695                                                       KALISPELL       MT         59903                  6002               Various                                                                                                $0.60




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                                                                                                                                                                                                       Unliquidated
                                                                                                                                                                                          Contingent


                                                                                                                                                                                                                      Disputed
                                                                                                                                                 Last 4 Digits of     Date Debt was
                                                                                                                                                    Account         Incurred, Basis for
              Creditor Name                Address1          Address2          Address3              City         State           Zip   Country     Number                Claim                                                                             Total Claim
TERRY D THOMPSON               702 NE 6TH ST                                                GREENFIELD         IA         50849                 6002                Various                                                                                                $1.42
TERRY DALTON                   3159 GOLDEN HOURS CT                                         SUAMICO            WI         54173                 6002                Various                                                                                                $6.68
TERRY DEGRAVE                  P.O. BOX 141                                                 HARRIS             MI         49845                 6004                Various                                                                                               $22.00
TERRY DELESKI                  BOX 122                                                      TENDOY             ID         83468                 6002                Various                                                                                                $0.99
TERRY DUNKESON                 318 PORTLAND AVE                                             MISSOURI VALLEY    IA         51555                 6002                Various                                                                                                $2.96
TERRY DZEKUTE                  417 SOUTHVIEW DR                                             N FOND DU LAC      WI         54937                 6004                Various                                                                                               $10.00
TERRY E BELL                   1039 SENTINEL DR                                             JANESVILLE         WI         53546                 6002                Various                                                                                                $3.45
TERRY E WELSH                  405 E 400TH N                                                SALEM              UT         84653                 6002                Various                                                                                                $6.79
TERRY EDDY JR                  3611 S 128TH AVE                                             OMAHA              NE         68144                 6004                Various                                                                                                $4.00
TERRY ERICKSON                 324 LAKE STREET                                              WINONA             MN         55987                 6004                Various                                                                                                $3.00
TERRY FERSTL                   701 N. UNIVERSITY AVE.                                       BEAVER DAM         WI         53916                 6004                Various                                                                                               $20.00
TERRY FREDER MUCH              416 MILL ST                                                  WAUPACA            WI         54981                 6002                Various                                                                                                $8.90
TERRY FREEMAN                  400 N ST CHARLES                                             SALMON             ID         83467                 6002                Various                                                                                                $1.59
TERRY FREY                     N7768 HIGHWAY N                                              JOHNSON CREEK      WI         54308                 6002                Various                                                                                                $1.04
TERRY HAMM                     1700 9TH ST APT 1                                            GREEN BAY          WI         54304                 6002                Various                                                                                               $18.06
TERRY HANSON                   339 3RD ST                                                   FOND DU LAC        WI         54935                 6002                Various                                                                                                $3.95
TERRY HARTMAN                  4910 N 52NS ST                                               OMAHA              NE         68104                 6004                Various                                                                                                $4.00
TERRY HELT                     1600 RIVERDALE RD                                            ROCK FALLS         IL         61071                 6002                Various                                                                                                $5.86
TERRY HILL                     2506 N 93RD CT            APT 10                             OMAHA              NE         68134                 6004                Various                                                                                               $60.00
TERRY HOFFMEYER                1624 10TH RD                                                 BARK RIVER         MI         49807                 6002                Various                                                                                                $6.44
TERRY HOGAN                    514 W ST                                                     FRIENDSHIP         WI         53934                 6002                Various                                                                                                $6.60
TERRY J FROEBER                634 N CHERRY ST APT B                                        VALENTINE          NE         69201                 6002                Various                                                                                                $0.38
TERRY JOHNSON                  12957 MARGO ST                                               OMAHA              NE         68138                 6002                Various                                                                                                $0.63
TERRY JOHNSTON                 820 IVY                                                      MISSOULA           MT         59801                 6004                Various                                                                                                $2.00
TERRY KELLING                  116 15TH ST W                                                BILLINGS           MT         59102                 6004                Various                                                                                               $10.00
TERRY KLONECKI                 1007 EAST 4TH STREET                                         WINONA             MN         55987                 6004                Various                                                                                               $25.00
TERRY KNEIFL                   5106 MAIN ST                                                 PONCA              NE         68770                 6004                Various                                                                                               $20.02
TERRY KOCH                     3784 E PLEASANT HILL RD                                      ORANGEVILLE        IL         61060                 6004                Various                                                                                                $5.84
TERRY KOONTZ                   625 S M-18                                                   GLADWIN            MI         48624                 6002                Various                                                                                                $0.99

TERRY KURTZWEIL                830 10TH STREET NORTH                                        WISCONSIN RAPIDS   WI         54494                  6004               Various                                                                                               $31.50
TERRY L MULLEN                 645 PARK AVE APT 3                                           SHELBY             MT         59474                  6002               Various                                                                                                $8.60
TERRY LEGEZA                   507 LINCOLN ST                                               JANESVILLE         WI         53548                  6004               Various                                                                                                $2.00
TERRY LEMASTER                 212 BIRCH ST APT 412                                         EVANSTON           WY         82930                  6002               Various                                                                                                $7.73
TERRY LESLIE                   1468 GOLDEN GATE ST                                          POCATELLO          ID         83201                  6002               Various                                                                                                $8.63
TERRY LICH                     83427 549TH AVE                                              BATTLE CREEK       NE         68715                  6002               Various                                                                                                $1.42
TERRY LINDENBERG               HIGHWAY # ZZ                                                 SISTER BAY         WI         54234                  6002               Various                                                                                                $1.78
TERRY LONGRIE                  1108 N LOCUST ST                                             GREEN BAY          WI         54303                  6002               Various                                                                                                $0.74
TERRY LUEPKE                   3305 W VETERANS PKWY                                         MARSHFIELD         WI         54449                  6002               Various                                                                                                $9.95
TERRY LYNN                     PO BOX 2021                                                  OROFINO            ID         83544                  6002               Various                                                                                                $7.29
TERRY M TUCKWOOD               5812 MERRI RD                                                LANCASTER          WI         53813                  6002               Various                                                                                                $5.04
TERRY MACK                     6529N COUNTY ROAD W                                          REEDSVILLE         WI         54230                  6002               Various                                                                                                $3.86
TERRY MCLANE                   1316 SPRUCE ST                                               STURGIS            SD         57785                  6002               Various                                                                                                $6.55
TERRY MEJIA                    701 KLAMAN STREET                                            HARVARD            IL         60033                  6004               Various                                                                                               $10.00
TERRY NATHE                    6714 242ND ST                                                ST. CLOUD          MN         56301                  6004               Various                                                                                                $3.00
TERRY ORR                      2206 N 9TH ST                                                COEUR D ALENE      ID         83814                  6002               Various                                                                                                $3.29
TERRY OURADA                   509 E 9TH ST                                                 COZAD              NE         69130                  6002               Various                                                                                                $3.04
TERRY POPKEN                   8546 200TH ST                                                ELMA               IA         50628                  6002               Various                                                                                                $4.88
TERRY POUND                    420 S PIONEER AVE                                            LYONS              KS         67554                  6002               Various                                                                                                $2.27
TERRY R GERRING                PO BOX 103                                                   SOUTH BOARDMAN     MI         49680                  6002               Various                                                                                                $1.32
TERRY RYAN SEELAND             523 S 18TH ST                                                QUINCY             IL         62301                  6002               Various                                                                                                $6.16
TERRY SANDERSON                PO BOX 104                                                   RUTHTON            MN         56170                  6004               Various                                                                                               $10.00
TERRY SCHMIT                   728 11TH STREET                                              WINDOM             MN         56101                  6004               Various                                                                                               $10.00
TERRY SCHRAMM                  767 S COMMERCIAL ST                                          NEENAH             WI         54956                  6004               Various                                                                                                $5.00




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                                                                                   Schedule E/F: Part 2 - Creditors With Nonpriority Unsecured Claims




                                                                                                                                                                                                                                          Claim subject to offset?
                                                                                                                                                                                                                Unliquidated
                                                                                                                                                                                                   Contingent


                                                                                                                                                                                                                               Disputed
                                                                                                                                                          Last 4 Digits of     Date Debt was
                                                                                                                                                             Account         Incurred, Basis for
             Creditor Name                       Address1                Address2          Address3             City        State         Zip    Country     Number                Claim                                                                             Total Claim
TERRY SINGER                         2130 BIRCH RD APT 204                                              KENOSHA          WI         53140                6002                Various                                                                                             $6.03
TERRY SKINNER                        922 BRUNNER ST APT 4                                               RHINELANDER      WI         54501                6002                Various                                                                                             $3.40
TERRY SLINKARD                       2891 SINKS CANYON RD                                               LANDER           WY         82520                6002                Various                                                                                             $6.38
TERRY SMITH                          1119 1ST AVE N                  APT 6                              SAUK RAPIDS      MN         56379                6004                Various                                                                                             $6.50
TERRY STALSON                        E3581 CTY HWY Y                                                    EAU GALLE        WI         54737                6004                Various                                                                                             $4.00
TERRY SYNAN                          637 6TH AVE N                                                      GLASGOW          MT         59230                6002                Various                                                                                             $8.66
TERRY TALSMA                         623 EDMUNDS ST                                                     BELLE FOURCHE    SD         57717                6002                Various                                                                                             $6.60
TERRY TAYLOR                         2271 BELLVUE DRIVE                                                 CLARKSTON        WA         99403                6004                Various                                                                                            $10.02
TERRY WALKUP                         378 MORGAN ST                   APT 18                             LAYTON           UT         84041                6004                Various                                                                                            $10.00
TERRY WELLENKAMP                     211 EAST ILLINI                                                    VIRGINIA         IL         62691                6004                Various                                                                                             $5.00
TERRY WHITE                          1457 SW SAIGE BRUSH LANE                                           PULLMAN          WA         99163                6004                Various                                                                                            $23.00
TERRY WILLIAMS                       8551 ABLE ST.                                                      BLAINE           MN         55434                6004                Various                                                                                             $3.00
TERVIS TUMBLER COMPANY               PO BOX 530018                                                      ATLANTA          GA         30353-0018           1566                Various                                                                                        $47,122.56
TERYN COURTNEY                       1118 BIRCH ST #4                                                   MARSHALL         MN         56258                6004                Various                                                                                             $3.00
TESA GOMEZ                           12635 ELM PLZ                                                      OMAHA            NE         68144                6004                Various                                                                                            $24.97
TESA JEPSON                          18 E 12TH ST                                                       CLINTONVILLE     WI         54929                6002                Various                                                                                             $0.77

TESCH/ CYNTHIA M                     STORE 010                       SHOPKO EMPLOYEE                    GREEN BAY        WI         54307-9060            8793               Various                                                                                           $186.18
TESICA FALLIER                       1117 HAMILTON ST                                                   MANITOWOC        WI         54220                 6002               Various                                                                                             $0.71
TESS JONES                           43835 DR # 783                                                     EDDYVILLE        NE         68834                 6002               Various                                                                                             $7.89
TESS WATERS                          408 S MAIN ST APT 109                                              JANESVILLE       WI         53545                 6004               Various                                                                                             $2.00
TESSA BOGGESS                        1045 8TH ST W                                                      KALISPELL        MT         59901                 6002               Various                                                                                             $0.60
TESSA COCHRAN (AMM)                  HC 2 BOX 2672                                                      VAN BUREN        MO         63965                 6002               Various                                                                                             $7.95
TESSA DUDEK                          610 26TH. ST.                                                      CLOQUET          MN         55720                 6004               Various                                                                                             $1.24
TESSA HARVEY                         412 MONTANA AVE                                                    GLADSTONE        MI         49837                 6002               Various                                                                                             $2.74
TESSA HEISSNER                       1212 16TH ST.                                                      MONROE           WI         53566                 6004               Various                                                                                            $20.00
TESSA HENNESSY                       1169 WEST HIGLAND STREET                                           WHITEWATER       WI         53190                 6004               Various                                                                                            $16.00
TESSA LEE                            1526 KENILWORTH CT #6                                              STOUGHTON        WI         53589                 6004               Various                                                                                            $10.00
TESSA MARTIN                         403 N 9TH ST                                                       WYMORE           NE         68466                 6002               Various                                                                                             $1.18
TESSA REEVES WICHMAN                 PO BOX 254                                                         WEIPPE           ID         83553                 6002               Various                                                                                             $1.12
TESSA RHODES                         103 LINCOLN AVE                                                    CLINTONVILLE     WI         54929                 6002               Various                                                                                             $2.68
TESSA TAYLOR                         454 E CENTER ST                                                    SHELLEY          ID         83274                 6002               Various                                                                                             $2.14
TESSLIN CHAMBERS                     112 W COLUMBIA AVE                                                 SPOKANE          WA         99205                 6004               Various                                                                                             $1.00

TEST IO INC                          691 S MILPITAS BLVD SUITE 212                                      MILPITAS         CA         95035                  5960              Various                                                                                         $2,700.00
TETSURO WAKATSUKI                    6102 CANYON PARKWAY                                                MCFARLAND        WI         53558                  6004              Various                                                                                            $10.00
                                                                                                                                                                             11/30/2018 -
TEXAS GAS SERVICE                    PO BOX 219913                                                      KANSAS CITY      MO         64121-9913            914 18             1/2/2019                                                                                           $90.68
TEXTILES FROM EUROPE DBA             VICTORIA CLASSICS               PO BOX 347123                      PITTSBURGH       PA         15251-7123            2520               Various                                                                                         $7,996.39
THA LI CHI TYGER KONG                119 S WEBSTER AVE                                                  GREEN BAY        WI         54303                 6004               Various                                                                                            $23.00
THAD VOIGT                           N1107 2ND ST ROAD                                                  WATERTOWN        WI         53098                 6004               Various                                                                                             $1.00
THAI LE                              2114 GRANDVIEW BLVD                                                SIOUX CITY       IA         51104                 6004               Various                                                                                             $3.94
THAILENA NEUAONE                     2570 FINGER RD APT 14                                              GREEN BAY        WI         54302                 6004               Various                                                                                             $3.00
THAINE COONEY                        1009 PARK CIRCLE                                                   SUN PRAIRIE      WI         53590                 6004               Various                                                                                             $1.00
THAIR ALDIBUN                        910 24TH ST SE                                                     ROCHESTER        MN         55904                 6004               Various                                                                                             $3.00
THANH QUACH                          1514 VILLA                                                         SIOUX CITY       IA         51103                 6004               Various                                                                                            $20.00
THAYNE PIKE                          1904 N PARKER DR                                                   JANESVILLE       WI         53545                 6004               Various                                                                                             $2.00
THE ANNEX                            313 WEST 2ND AVE                                                   LA HARPE         IL         61450                 6566               Various                                                                                         $1,107.18
THE DILLON GROUP DBA DILLON TOYOTA
LIFT                                 1117 E PLAZA DRIVE STE G                                           EAGLE            ID         83616                                    12/4/2018                                                                                       $1,798.30
                                                                     316 W 14TH
THE ESTATE OF GENE RIETH             C/O DEBRA TALKINGTON            AVENUE                             OSHKOSH          WI         54902                  6002              Various                                                                                                $2.85
                                                                     W875 SHERWOOD
THE ESTATE OF JAMES PARISH           C/O LYNNE MCDONALD              RD                                 PITTSVILLE       WI         54466                  6002              Various                                                                                               $18.98




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                                                                          Schedule E/F: Part 2 - Creditors With Nonpriority Unsecured Claims




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                                                                                                                                                                                          Contingent


                                                                                                                                                                                                                      Disputed
                                                                                                                                                   Last 4 Digits of   Date Debt was
                                                                                                                                                      Account       Incurred, Basis for
              Creditor Name                 Address1             Address2         Address3              City        State           Zip   Country     Number              Claim                                                                             Total Claim
THE ESTATE OF JOHN HEFTER        465 MAIN ST APT 104                                           LOMIRA          WI           53048                 6002              Various                                                                                               $20.70

THE ESTATE OF JUANITA PINDRAS    C/O BARBARA MONDL           7349 N OAKLEY AVE                 CHICAGO         IL           60645                   6002            Various                                                                                               $20.01

THE ESTATE OF PATRICIA KULAS     C/O TERRY & BETTY KUMBERA   7660 S QUINCY AVE                 OAK CREEK       WI           53154                   6002            Various                                                                                                $1.99
                                                             1885 CHEVY CHASE
THE ESTATE OF SHARON BLAESING    C/O GEOFF BLAESING          ST                                BROOKFIELD      WI           53045                   6002            Various                                                                                             $9.27
THE LONE RANGER                  2867 LANE 49                                                  MANDERSON       WY           82432                                   Various                                                                                           $262.50
THE ODS COMPANIES                PO BOX 40384                                                  PORTLAND        OR           97240                   6004            Various                                                                                            $26.00
THE ODS COMPANY                  PO BOX 40384                                                  PORTLAND        OR           97240                   6004            Various                                                                                             $6.00
                                                                                                                                                                    Various dates -
                                                             301 MAJOR                                                                                              Deferred Comp
THE PANGBURN GROUP               PO BOX 900                  PARKWAY                           NEW ROADS       LA           70760-0900                              Liability                                                                                     $676,046.35
THE PRINCIPAL FINANCIAL GROUP    PO BOX 10357                                                  DES MOINES      IA           50306                   6004            Various                                                                                            $25.00
THE SALVATION ARMY               400 HIGHWAY 10 S                                              ST CLOUD        MN           56304                   6666            Various                                                                                             $3.23
THE STIEGLER COMPANY, INC.       1265 RUSSET COURT                                             GREEN BAY       WI           54313                                   Various                                                                                        $12,909.96
                                                                                                                                                                    11/30/2018 -
THE TOWN OF AFTON                P.O. BOX 310                                                  AFTON           WY           83110-0310              .8.3            12/30/2018                                                                                         $49.00
THE TRASH MAN                    1812 2ND STREET                                               WEBSTER CITY    IA           50595                                   Various                                                                                         $1,553.64
THEA JACOBSEN                    3201 6TH AVE S                                                ESCANABA        MI           49829                   6002            Various                                                                                             $6.58
THEA MITCHELL                    229 JACQUOT ST                                                HORTONVILLE     WI           54944                   6002            Various                                                                                             $4.08
THEA PFLUM                       3348 S. SCARLETT OAK LN                                       APPLETON        WI           54915                   6004            Various                                                                                            $23.00
THEADORE OTTO                    W13441 CTY RD CC                                              COLOMA          WI           54930                   6002            Various                                                                                             $6.96
THEDA CARE                       ATTN JESSICA HELMER         PO BOX 8025                       APPLETON        WI           54912-8025              0307            Various                                                                                          $600.00
THELA HANSEN                     1020 W. NORWAY #112                                           MITCHELL        SD           57301                   6004            Various                                                                                            $10.20
THELMA BROWN                     111 HARMONY COURT                                             BELLEVUE        NE           68005                   6004            Various                                                                                            $11.80
THELMA DIAZ                      PO BOX 74                                                     NEKOOSA         WI           54457                   6002            Various                                                                                             $0.74
THELMA FRANK                     4716 HOPE RD                                                  TORRINGTON      WY           82240                   6002            Various                                                                                             $8.49
THELMA RAINS                     THE GDNS                                                      CRETE           NE           68333                   6002            Various                                                                                             $3.45
THELMA WOODWORTH                 4273 CRESTVIEW DR                                             TECUMSEH        MI           49286                   6002            Various                                                                                             $9.84
THELMO GARRUCHO                  2225 NATIONAL SEWING AVE                                      BELVIDERE       IL           61008                   6004            Various                                                                                          $156.95
THEO HILDEBRAND                  510 GLENWOOD DR                                               BELVIDERE       IL           61008                   6004            Various                                                                                            $37.96
THEODORE A LALIOTIS              61 DOUD DRIVE                                                 LOS ALTOS       CA           94022                   5582            Various                                                                                        $10,497.21
THEODORE COEWLL                  605 RAVENSWOOD COURT 101                                      CORNELL         WI           54732                   6004            Various                                                                                             $2.00
THEODORE FULLER                  129 CROSS STREET                                              OCONTO          WI           54153                   6004            Various                                                                                            $13.40
THEODORE HALVORSEN               4027 59TH ST                                                  KENOSHA         WI           53144                   6002            Various                                                                                             $6.49
THEODORE HORN                    401 HILLCREST ST                                              ELLSWORTH       WI           54011                   6002            Various                                                                                             $4.16
THEODORE KELLER                  715 W 7TH ST LOT 21                                           WABASHA         MN           55981                   6004            Various                                                                                             $3.06
THEODORE KNUTSON                 424 SCHOOL ST                                                 OCONTO          WI           54153                   6002            Various                                                                                             $6.58
THEODORE PIERCE                  4850 2ND. AVE. N.                                             DULUTH          MN           55803                   6004            Various                                                                                             $3.00
THEODORE REDENIUS                N846 COLDSPRING RD                                            FORT ATKINSON   WI           53538                   6002            Various                                                                                            $58.24
THEODORE SCHLITZ                 125 S SUMMERSET DR                                            RACINE          WI           53406                   6002            Various                                                                                             $6.88
THEODORE SHERBECK                79271 HIGHWAY 183                                             ANSLEY          NE           68814                   6002            Various                                                                                             $0.47
THEODORE SITES                   3851 CLOVER LANE                                              MADISON         WI           53714                   6004            Various                                                                                            $30.00
THEODORE VEIRS                   W10966 RODNEY DRIVE                                           LODI            WI           53555                   6004            Various                                                                                             $5.70
THEODORE WEIDNER                 8604 WHITE OAKS ROAD                                          HARVARD         IL           60033                   6004            Various                                                                                            $47.69
THEODORE WILKEMEYER              406 E 14TH ST                                                 ST CHARLES      MN           55972                   6004            Various                                                                                             $3.00
THEOTRIS THOMPSON                915 15TH STREET SE                                            SAINT CLOUD     MN           56304                   6002            Various                                                                                             $7.00
THERESA BAUER                    591 EVANS DR                                                  FOND DU LAC     WI           54935                   6002            Various                                                                                             $6.25
THERESA CAMPBELL                 1521 INDIAN VILLAGE RD                                        MITCHELL        SD           57301                   6002            Various                                                                                             $0.63
THERESA CLARK                    PO BOX 267                                                    BLACK EAGLE     MT           59414                   6002            Various                                                                                            $10.00
THERESA CYR                      1111 E HASTINGS AVE                                           COEUR D ALENE   ID           83814                   6002            Various                                                                                             $1.37
THERESA FARNUM                   11 E 3RD ST W #108                                            GRAND MARAIS    MN           55604                   6004            Various                                                                                             $3.00
THERESA GREEN                    1540 FARWELL ST                                               BELOIT          WI           53511                   6002            Various                                                                                             $2.77




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                                                                                                                        Co., LLC       02/22/19 18:08:20              Desc Main
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                                                                                                          19-80075 (TLS)        of  1015
                                                                           Schedule E/F: Part 2 - Creditors With Nonpriority Unsecured Claims




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                                                                                                                                                      Account         Incurred, Basis for
               Creditor Name                Address1            Address2           Address3              City        State         Zip    Country     Number                Claim                                                                             Total Claim
THERESA HALL                    1608 HARRISON                                                   QUINCY            IL         62301                6004                Various                                                                                            $20.20
THERESA HUNSAKER                4211 E 28TH ST                                                  TRENTON           MO         64683                6002                Various                                                                                            $10.00
THERESA HUNSUCKER               2406 STATE RD 13 LOT 10                                         ADAMS             WI         53910                6002                Various                                                                                             $6.58
THERESA J ADAMCZYK              503 COTTAGE GROVE AVE                                           GREEN BAY         WI         54304                6002                Various                                                                                             $8.60
THERESA JIM ORTIZ               PO BOX 828                                                      GOLDENDALE        WA         98620                6004                Various                                                                                            $60.00
THERESA JOHNSON                 2275 SO 200 EAST            APT 31                              SO SALT LAKE      UT         84115                6004                Various                                                                                          $115.00
THERESA JONES                   1770 ECHO AVE                                                   ROCKFORD          IA         50468                6004                Various                                                                                             $4.00
THERESA JOZEFOWSKI              239 LARCH LN                                                    MILTON            WI         53563                6002                Various                                                                                             $8.85
THERESA KEELING                 29529 RICE LAKE D                                               LAKE LINDEN       MI         49945                6002                Various                                                                                             $6.52
THERESA KMIT-MARTIN             E1794 TOWNHALL RD                                               CASCO             WI         54205                6002                Various                                                                                             $2.08
THERESA KNIGGE                  301 S 5TH ST                APT 225                             MANKATO           MN         56001                6004                Various                                                                                             $3.00
THERESA KNUTSON                 1080 ODESSA AVE                                                 NEW HAMPTON       IA         50659                6002                Various                                                                                             $3.56
THERESA LILLIE                  1522 HICKORY ST                                                 NILES             MI         49120                6002                Various                                                                                             $8.63
THERESA M SCHMITZ               132 MARKET ST                                                   KOHLER            WI         53044                6002                Various                                                                                             $7.75
THERESA M VANDERBOOM            11233 MAIN ST                                                   HEWITT            WI         54441                6002                Various                                                                                             $2.11
THERESA MAAS                    PO BOX 97                                                       DEXTER            MN         55926                6002                Various                                                                                             $6.63
THERESA MASLOWSKI               930 CENTER ST                                                   WISCONSIN RAPID   WI         54494                6002                Various                                                                                             $9.26
THERESA MERCIER                 1138 DELPHINUM                                                  BILLINGS          MT         59101                6004                Various                                                                                             $5.02
THERESA MUSEITIF                6021-33RD AVENUE                                                KENOSHA           WI         53142                6002                Various                                                                                             $4.11
THERESA NIELSEN                 50196 US HIGHWAY 20                                             INMAN             NE         68742                6002                Various                                                                                             $3.33
THERESA NORTON                  40954 150TH ST SW                                               EAST GRAND FORK   MN         56721                6002                Various                                                                                             $9.67
THERESA OLSON                   100 NORTH ELIOT AVE         APT114                              RUSH CITY         MN         55069                6004                Various                                                                                             $3.00
THERESA PAPANTONATOS            315 KRUEGER                                                     CAMERON           WI         54822                6004                Various                                                                                            $10.00
THERESA PATTERSON               HC 4 BOX 465                                                    DONIPHAN          MO         63935                6002                Various                                                                                             $2.58
THERESA PITTS                   2320 N BAY ST                                                   APPLETON          WI         54911                6004                Various                                                                                             $5.00
THERESA POPE                    2595 1ST ST                                                     LITTLE YORK       IL         61453                6002                Various                                                                                             $0.74
THERESA PORTUGAL                807 COOLIDGE ST                                                 NEENAH            WI         54956                6002                Various                                                                                             $6.79
THERESA RAEL                    1465 SE 501ST LOT 1                                             ANDREWS           TX         79714                6002                Various                                                                                             $3.92
THERESA RAMOS                   PO BOX 209                                                      IRON RIVER        MI         49935                6004                Various                                                                                             $7.12
THERESA RETHMAN                 6106 6TH ST                                                     CORNING           KS         66417                6002                Various                                                                                             $9.70
THERESA SANFORD                 4238 WOLF CREEK ACRES RD                                        TOIVOLA           MI         49965                6004                Various                                                                                            $58.40
THERESA SCHURING                P O BOX 52                                                      ANDOVER           SD         57422                6004                Various                                                                                            $12.79
THERESA STANOCH                 701 WILLOW STREET                                               PESHTIGO          WI         54157                6002                Various                                                                                             $3.60
THERESA STARKEY                 1720 S COLIDGE                                                  MASON CITY        IA         50401                6002                Various                                                                                             $4.68
THERESA STOLLAR                 243 BERKLEY                                                     NEENAH            WI         54956                6002                Various                                                                                             $5.01
THERESA STRAIGHT                6441 WHALEN RD                                                  VERONA            WI         53593                6004                Various                                                                                             $2.00
THERESA STROCKBINE              11600 E 920TH LN LOT 18                                         MT. CARMEL        IL         62863                6002                Various                                                                                             $7.34
THERESA SUMMERLIN               2410 SOUTH 77TH PLACE                                           LINCOLN           NE         68506                6004                Various                                                                                            $25.00
THERESA VEDOVATTI               1508 WAUKESHA                                                   HELENA            MT         59602                6004                Various                                                                                            $24.98
THERESA VINOSKI                 1703 KING OF ARMS                                               GREEN BAY         WI         54313                6004                Various                                                                                            $25.00
THERESA WEDEMAYER               1325 S INDIANA AVE                                              WEST BEND         WI         53095                6002                Various                                                                                             $4.19
THERESA WRIGHT                  1145 LINCOLN RD.                                                OREGON            WI         53575                6004                Various                                                                                             $2.50
THERESA YASICK                  122 CHARLES ST                                                  SCHOFIELD         WI         54476                6002                Various                                                                                             $6.41
THERESA ZEISE                   W5910 GENSKE RD.                                                BLACK CREEK       WI         54106                6004                Various                                                                                             $8.98
THERESE BALLO                   214 S 22ND ST                                                   ESCANABA          MI         49829                6002                Various                                                                                             $9.48
THERESE COZY                    2526 WOOD ST                                                    LA CROSSE         WI         54603                6002                Various                                                                                            $10.00
THERESE JOHNSON                 N12293 OWEN AVE                                                 OWEN              WI         54460                6002                Various                                                                                             $7.64
THERESE LOCKERY                 3221 WANTA DRIVE                                                PLOVER            WI         54467                6004                Various                                                                                          $136.49
THERMACELL REPELLENTS           VICE PRESIDENT OF SALES     26 CROSBY DRIVE                     BEDFORD           MA         07130                4271                Various                                                                                         $2,636.01
THERMOS COMPANY                 37220 EAGLE WAY                                                 CHICAGO           IL         60678-1372           8212                Various                                                                                        $36,019.20
THERON LEE                      203 S 100TH E                                                   TREMONTON         UT         84337                6002                Various                                                                                             $2.49
THERSA HILL                     1421 WINDSOR                                                    QUINCY            IL         62305                6004                Various                                                                                            $20.00
THI DORN                        N 7481 US HIGHWAY 45                                            NEW LONDON        WI         54961                6004                Various                                                                                            $25.00
THICHIOT DENG                   2228 ORCHARD ST., APT # 2                                       LINCOLN           NE         68503                6004                Various                                                                                             $2.00




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                                                                                                                                                     Last 4 Digits of     Date Debt was
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             Creditor Name               Address1              Address2         Address3            City              State           Zip   Country     Number                Claim                                                                             Total Claim
THIEN NGA NGUYEN              323 WESTWINDS DR                                               JACKSONVILLE        IL           62650                 6002                Various                                                                                                $2.90
THIMIOT LINDGREN              3997 ST FRANCES PARK DR                                        GREEN BAY           WI           54313                 6002                Various                                                                                                $0.36
THOM STODDARD                 360 W 900TH N APT 206                                          BRIGHAM CITY        UT           84302                 6002                Various                                                                                                $6.47
THOMAS A JR LANCOUR           1221 22ND ST N                                                 WISCONSIN RAPID     WI           54494                 6002                Various                                                                                                $3.78
                                                           119 SOUTH 17
THOMAS A MAYBERRY             MAYBERRY PROPERTIES          STREET                            SAINT JAMES         MN           56081                  7394               Various                                                                                         $3,523.13
THOMAS A OLEARY               1008 CHESTNUT ST                                               BOSCOBEL            WI           53805                  6002               Various                                                                                             $7.70
THOMAS ABBOTT                 1094 E. GRAND CANYON                                           MERIDIAN            ID           83646                  6004               Various                                                                                             $5.00
THOMAS ACTON                  6003 TACONY ST                                                 DULUTH              MN           55807                  6004               Various                                                                                          $121.58
THOMAS ALBACH                 BOX 54                                                         TENDOY              ID           83468                  6002               Various                                                                                             $6.93
THOMAS ALIRES                 3768 S. DESERT WILLOW DR.                                      SALT LAKE CITY      UT           84119                  6004               Various                                                                                            $25.52
THOMAS ANDREAS                1713 BROWNING ROAD                                             MADISON             WI           53704                  6004               Various                                                                                             $1.00
THOMAS ATKINSON               12477 JEROME AVE                                               OROFINO             ID           83544                  6002               Various                                                                                             $8.90
THOMAS B CHAVARRIA            525 E WILSON ST                                                ELY                 MN           55731                  6002               Various                                                                                             $8.99

THOMAS BAKER                  37 SOLITUDE CT HC # 62                                         STAR VALLEY RANCH   WY           83127                  6002               Various                                                                                                $8.98
THOMAS BARTEL                 901 S JACKSON ST                                               GREEN BAY           WI           54301                  6002               Various                                                                                                $0.79
THOMAS BARTELS                416 FALCON CRL               APT B                             MONONA              WI           53716                  6004               Various                                                                                                $2.00
THOMAS BECK                   3105 S 200TH E                                                 SALT LAKE CITY      UT           84115                  6002               Various                                                                                                $1.53
THOMAS BLAKE                  6721 S. ECHO RIDGE ST                                          SPOKANE             WA           99224                  6004               Various                                                                                               $40.00
THOMAS BOEHNEN JR.            3530 TIMBER LANE                                               CROSS PLAINS        WI           53528                  6004               Various                                                                                               $25.00
THOMAS BONNER                 15179 HIGHWAY 11                                               WEIPPE              ID           83553                  6002               Various                                                                                                $1.78
THOMAS BOUCHEY                880 KAPPLINGER DR                                              FARWELL             MI           48622                  6002               Various                                                                                                $0.93
THOMAS BREHER                 1424 ERIE AVE                                                  SHEBOYGAN           WI           53081                  6002               Various                                                                                                $6.90
THOMAS BREWER                 517 SO MAIN ST                                                 VERDIGRE            NE           68783                  6002               Various                                                                                                $4.00
THOMAS BRISCOE                1908 4TH AVE                                                   CLARKSTON           WA           99403                  6004               Various                                                                                               $40.00
THOMAS BROCKSMITH             295 E 800TH S                                                  BRIGHAM CITY        UT           84302                  6002               Various                                                                                                $3.12
THOMAS BROWN                  W2094 DOYLESTOWN RD                                            FALL RIVER          WI           53932                  6004               Various                                                                                               $19.60
THOMAS BUSBY                  320 GRAHAM AVE                                                 EAU CLAIRE          WI           54701                  6002               Various                                                                                                $4.88
THOMAS BUTLER                 2815 W. CHESTNUT RD                                            MEQUON              WI           53097                  6004               Various                                                                                                $1.90
THOMAS C DUNPHY               43260 E BANNER RD                                              GOTHENBURG          NE           69138                  6002               Various                                                                                                $0.36
                                                           1500 OLD STAGE
THOMAS C MITCHELL             T C MITCHELL LLC             ROAD                              DILLON              MT           59725                  2613               Various                                                                                           $958.34
THOMAS C WRIGHT               W16370 WHITING WAY                                             BIRCHWOOD           WI           54817                  6002               Various                                                                                             $1.01
THOMAS C. HANSON              102 SECOND AVENE                                               GENEVA              MN           56035                  6002               Various                                                                                             $6.68
THOMAS CALKINS                509 LYMAN STREET                                               KINGSFORD           MI           49802                  6004               Various                                                                                            $37.76
THOMAS CALLAIS                38725 12TH AVE TRLR 90                                         NORTH BRANCH        MN           55056                  6002               Various                                                                                             $7.15
THOMAS CHARLIER               611 N MAIN ST                                                  KEWAUNEE            WI           54216                  6002               Various                                                                                             $2.16
THOMAS CLARK                  519 ONEIDA ST.                                                 BEAVER DAM          WI           53916                  6004               Various                                                                                            $24.00
THOMAS CLEMENT                PO BOX 52                                                      FORT HARRISON       MT           59636                  6002               Various                                                                                             $3.12

THOMAS COOPER                 3010 100TH ST. SO                                              WISCONSIN RAPIDS    WI           54494                  6004               Various                                                                                                $3.00
THOMAS COZZENS                301 1/2 S MAIN STREET                                          MONTICELLO          WI           53570                  6004               Various                                                                                               $15.00
THOMAS D MCGLYNN              1123 WEATHERRIDGE RD                                           CHIPPEWA FALLS      WI           54729                  6002               Various                                                                                                $6.00
THOMAS D RADEMACHER           2920 SAHARA TRAIL BOX # 31                                     MEARS               MI           49436                  6002               Various                                                                                                $6.74
THOMAS DAHLEN                 426 N MAIN ST                                                  MAYVILLE            WI           53050                  6002               Various                                                                                                $1.01
THOMAS DESJARLAIS             507 CONGRESS ST                                                OCONTO              WI           54153                  6004               Various                                                                                               $16.00
THOMAS DESROCHERS             11139 US HIGHWAY 41                                            PELKIE              MI           49958                  6002               Various                                                                                                $5.37
THOMAS DIENER                 N2190 COUNTY ROAD X                                            WEYAUWEGA           WI           54983                  6002               Various                                                                                                $2.05
THOMAS DODD                   1854 COUNTY ROAD FF                                            OSHKOSH             WI           54904                  6002               Various                                                                                                $2.08
THOMAS DOMINE                 3030 KATHERINE CIR                                             PLOVER              WI           54467                  6002               Various                                                                                                $8.47
THOMAS DOWNER                 1302 WILLIAM DR                                                ONALASKA            WI           54650                  6002               Various                                                                                                $0.63
THOMAS DREWS                  107 8 TH AVE                                                   MAPLETON            MN           56065                  6004               Various                                                                                                $1.31
THOMAS DUNN                   3111 PLEASANT ST                                               FREEPORT            IL           61032                  6002               Various                                                                                                $6.41




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                                                                                                                                                                                          Contingent


                                                                                                                                                                                                                      Disputed
                                                                                                                                                 Last 4 Digits of     Date Debt was
                                                                                                                                                    Account         Incurred, Basis for
             Creditor Name                Address1              Address2        Address3             City         State           Zip   Country     Number                Claim                                                                             Total Claim
THOMAS DUROCHER               8485 FIRST ST                                                  ATLANTIC MINE     MI         49905                 6002                Various                                                                                             $0.74
THOMAS E DAVIES               N6795 COUNTY ROAD A        LOT 41                              LAKE MILLS        WI         53551                 6002                Various                                                                                             $4.16
THOMAS E JEWKES               4160 DIXIE ST                                                  IDAHO FALLS       ID         83401                 6002                Various                                                                                             $7.10
THOMAS E LAINE                2732 SCENIC DR APT 303                                         MARQUETTE         MI         49855                 6002                Various                                                                                             $0.85
THOMAS EDWAR ALEXANDER        2791 Z RD                                                      NEKOMA            KS         67559                 6002                Various                                                                                             $4.49
THOMAS ERCANBRACK             343 S 350TH E                                                  OREM              UT         84057                 6002                Various                                                                                             $0.60
THOMAS F DORR                 4807 RIVERCREST DR                                             EAU CLAIRE        WI         54703                 6002                Various                                                                                             $9.70
THOMAS FETTERHOFF             638 N. LEWIS ST #31                                            COLUMBUS          WI         53925                 6004                Various                                                                                             $5.70
THOMAS FEUERSTEIN             312 EAST WISCONSIN AVE                                         WEYAUWEGA         WI         54983                 6004                Various                                                                                            $45.00
THOMAS FLORIN                 237 BROADWAY ST APT. 205                                       RIVER FALLS       WI         54022                 6004                Various                                                                                            $22.00
THOMAS FOSTER                 167 N WHEATLAND HWY                                            WHEATLAND         WY         82201                 6002                Various                                                                                             $9.45
THOMAS FRANK                  212 CHATSWORTH DR.                                             MANKATO           MN         56001                 6004                Various                                                                                            $17.00
THOMAS FRENCH                 128 RANDALL AVE                                                RHINELANDER       WI         54501                 6002                Various                                                                                             $8.22
THOMAS G SCHUH                412 S LIBERTY ST                                               VALDERS           WI         54245                 6002                Various                                                                                             $3.92
THOMAS G SEE                  1010 S CEDAR LN                                                ADAMS             NE         68301                 6002                Various                                                                                             $0.82
THOMAS G THEILIG              2337 16TH ST                                                   RICE LAKE         WI         54868                 6002                Various                                                                                            $10.00
THOMAS GAROFOLO JR            3033 PARK AVE                                                  BELOIT            WI         53511                 6002                Various                                                                                             $1.04
THOMAS GINKEL                 980 GOEBEL CIR SW                                              HUTCHINSON        MN         55350                 6002                Various                                                                                             $6.74
THOMAS GLASS                  7001 LOREN PLACE                                               YAKIMA            WA         98908                 6004                Various                                                                                            $25.00
THOMAS GOMEZ                  7892 BEDROCK FLATS LN                                          BAILEYS HARBOR    WI         54202                 6002                Various                                                                                             $2.93
THOMAS GRAF                   936 LYNDON ST                                                  GREEN BAY         WI         54303                 6002                Various                                                                                             $6.03
THOMAS GRAY                   405 PARK DR                                                    COEUR D ALENE     ID         83814                 6002                Various                                                                                             $8.52
THOMAS GREEN                  W1253 FISH CREEK RD                                            DE PERE           WI         54115                 6004                Various                                                                                             $2.00
THOMAS GREENFIELD             6300 MONTAGUE RD                                               GERMAN VALLEY     IL         61039                 6004                Various                                                                                            $25.00
THOMAS HALL                   1804 N MAIN                                                    MANSON            IA         50563                 6004                Various                                                                                            $52.53
THOMAS HAMILTON               7471 CANDLELIGHT RD                                            HELENA            MT         59602                 6002                Various                                                                                             $7.10
THOMAS HAMPTON                7721 N 80TH ST                                                 OMAHA             NE         68122                 6004                Various                                                                                             $5.02
THOMAS HANSEN                 10 CENTENNIAL                                                  FRANKLIN          IL         62638                 6002                Various                                                                                             $7.40
THOMAS HARJU                  45 FULTON ST                                                   CALUMET           MI         49913                 6002                Various                                                                                             $1.07
THOMAS HARKINS                149 LINCOLN BLVD                                               LINCOLN           CA         95648                 6002                Various                                                                                             $4.68
THOMAS HARRINGTON             3741 HARRINGTON LN                                             OLYMPIA           WA         98506                 6002                Various                                                                                             $4.16
THOMAS HAYD                   2130 STONEFIELD LANE                                           JANESVILLE        WI         53546                 6004                Various                                                                                             $2.00
THOMAS HECLA                  2002 S. 1ST AVE.                                               YAKIMA            WA         98903                 6004                Various                                                                                             $9.00
THOMAS HELMINEN               325 ISLE ROYALE ST                                             CALUMET           MI         49913                 6002                Various                                                                                             $2.71
THOMAS HOGAN                  709 EAST 600 NORTH                                             OREM              UT         84097                 6004                Various                                                                                            $14.00
THOMAS HOWAR RODER            1915 1/2 2ND ST                                                EAU CLAIRE        WI         54703                 6002                Various                                                                                             $7.48
THOMAS HOWARD                 10725 ABERCORN ST APT 47                                       SAVANNAH          GA         31419                 6002                Various                                                                                             $8.22
THOMAS HOWELL                 1048 S 1400 W                                                  SALT LAKE CITY    UT         84104                 6004                Various                                                                                            $19.99
THOMAS HUNDT                  134 FAIRFAX STREET                                             WINONA            MN         55987                 6004                Various                                                                                            $10.02
THOMAS I. HYBKE               5321 JOHN ST                                                   LARSEN            WI         54947                 6002                Various                                                                                            $10.00
THOMAS J MACKECHNIE           1948 COLONY CT APT 8                                           BELOIT            WI         53511                 6002                Various                                                                                             $1.84
THOMAS J. ERDAHL              8196 COUNTY ROAD GG                                            ALMOND            WI         54909                 6002                Various                                                                                            $10.00
THOMAS JOHNSTON               5015 EAST USTICK ROAD      #143                                CALDWELL          ID         83605                 6004                Various                                                                                            $15.00
THOMAS K FULLER               621 N LEWIS AVE                                                SIOUX FALLS       SD         57103                 6002                Various                                                                                             $9.51
THOMAS KEAVENY                845 PRAIRIE AVE SE                                             COKATO            MN         55321                 6002                Various                                                                                             $4.96
THOMAS KELLOUGH               2195 GROUSE MEADOWS RD                                         COEUR D ALENE     ID         83814                 6002                Various                                                                                           $213.02
THOMAS KIEDINGER              1655 REMMINTON RIDGE WAY                                       DE PERE           WI         54115                 6002                Various                                                                                             $0.82
THOMAS KINGSLAND              44939 JOHN AVE                                                 HARRIS            MN         55032                 6002                Various                                                                                             $2.66

THOMAS KNOWSKI                1625 RANDY CIRCLE                                              PORT WASHINGTON   WI         53074                  6004               Various                                                                                               $25.00
THOMAS KONETZKE               858 EMILY ST                                                   MENASHA           WI         54952                  6002               Various                                                                                                $8.25
THOMAS KUBAL                  PO BOX 182                                                     COLOME            SD         57528                  6002               Various                                                                                               $10.00
THOMAS KUCZYNSKI              867 BROWN RD                                                   SUAMICO           WI         54173                  6002               Various                                                                                                $6.96
THOMAS KUEHN                  N669 16TH DRIVE                                                WAUTOMA           WI         54982                  6004               Various                                                                                                $3.00




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                                                                                                                                                                                       Contingent


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                                                                                                                                                 Account         Incurred, Basis for
            Creditor Name                Address1             Address2         Address3             City       State           Zip   Country     Number                Claim                                                                             Total Claim
THOMAS L MRAZ                12370 194TH ST                                                 WHITEWOOD       SD         57793                 6002                Various                                                                                                $4.96
THOMAS L SIMPSON             4492 N SULLIVAN RD                                             LEESBURG        IN         46538                 6002                Various                                                                                                $6.22
THOMAS L TURNER              HC 7 BOX 55                                                    DONIPHAN        MO         63935                 6002                Various                                                                                                $1.40
THOMAS LACHAPELLE            230 OLSON AVE.              APT. 4                             BARRON          WI         54812                 6004                Various                                                                                                $2.00
THOMAS LAPEAN                624 A N STREET 5                                               MANITOWOC       WI         54220                 6002                Various                                                                                                $4.16
THOMAS LEIVO                 4899 LACLAIR RD                                                STANDISH        MI         48658                 6002                Various                                                                                                $0.85
THOMAS LOFTUS                107 SANTA FE                                                   PRINCETON       MN         55371                 6002                Various                                                                                                $2.85
THOMAS LOGER                 5865 360TH ST                                                  PRIMGHAR        IA         51245                 6002                Various                                                                                                $5.64
THOMAS LOHMAN                805 VAN BUREN ST                                               FORT ATKINSON   WI         53538                 6002                Various                                                                                                $2.00
THOMAS LOWE                  290 HIGHWAY 65                                                 RIVER FALLS     WI         54022                 6002                Various                                                                                                $3.58
THOMAS LUND                  N9868 ANGLERS AVE                                              TOMAHAWK        WI         54487                 6002                Various                                                                                                $7.48
THOMAS LUTHER                2051 N 61ST ST                                                 OMAHA           NE         68104                 6004                Various                                                                                                $8.00
THOMAS M PFEIFER             1834 E WELCO DR                                                SAINT PETER     MN         56082                 6002                Various                                                                                                $9.23
THOMAS MACDONALD             PO BOX 106                                                     ELLISON BAY     WI         54210                 6002                Various                                                                                               $16.64
THOMAS MARTIN                W7137 PHOENIX DR                                               FOND DU LAC     WI         54937                 6002                Various                                                                                                $0.79
THOMAS MAYNE                 16753 OLD HIGHWAY 61                                           BOSCOBEL        WI         53805                 6002                Various                                                                                                $0.63
THOMAS MEIER                 9505 N MUDHEN LAKE DRIVE                                       SIREN           WI         54872                 6004                Various                                                                                               $10.40
THOMAS MILLER                105 S 9TH ST                                                   CLEAR LAKE      IA         50428                 6004                Various                                                                                                $5.02
THOMAS MOORE                 5107 RUSTIC WAY                                                MC FARLAND      WI         53558                 6004                Various                                                                                               $15.00
THOMAS MURPHY                317 W LAKE ST                                                  LAKE MILLS      WI         53551                 6002                Various                                                                                                $6.41
THOMAS NAREL                 1169 LAWE ST                                                   GREEN BAY       WI         54301                 6002                Various                                                                                                $0.36
THOMAS NELSON                416 SOUTHGRANGE                                                COTTAGE GROVE   WI         53527                 6004                Various                                                                                               $25.00
THOMAS OLSEN                 2130 S AVE # 207                                               LA CROSSE       WI         54601                 6002                Various                                                                                                $8.47
THOMAS P HUNT                233 CUSTER ST                                                  LANDER          WY         82520                 6002                Various                                                                                                $6.60
THOMAS P MEISSNER            1006 7TH AVE N                                                 LEWISTOWN       MT         59457                 6002                Various                                                                                                $9.86
THOMAS P RYAN                16969 DAHLSTEIN RD                                             FINLAYSON       MN         55735                 6002                Various                                                                                                $4.27
THOMAS R BUSH                1615 VINE ST                                                   EAU CLAIRE      WI         54703                 6002                Various                                                                                                $2.47
THOMAS R DVORAK              5527 TOWER DR                                                  AUBURNDALE      WI         54412                 6002                Various                                                                                                $9.97
THOMAS R LYDEEN              1921 14TH ST S                                                 SAINT CLOUD     MN         56301                 6002                Various                                                                                                $3.70
THOMAS R WEBB                700 SCHULTZ ST                                                 GREEN RIVER     WY         82935                 6002                Various                                                                                                $6.22
THOMAS RANDS                 12742 CRYER AVE                                                OMAHA           NE         68144                 6002                Various                                                                                                $8.08
THOMAS RAY DIXON             PO BOX 115                                                     FELCH           MI         49831                 6002                Various                                                                                                $7.21

THOMAS REED                  110 BIG HOURS CANYON ROAD                                      KOOSKIA         ID         83539                  6004               Various                                                                                               $12.32
THOMAS RICHA KNOELL          338 COUNTY ROAD 2250                                           CRETE           NE         68333                  6002               Various                                                                                                $0.27
THOMAS RIELLY                N1775 HADDEINGER RD.                                           MONROE          WI         53566                  6004               Various                                                                                               $40.00
THOMAS RINGDAHL              N6502 FOREST CT                                                HOLMEN          WI         54636                  6002               Various                                                                                                $3.84
THOMAS ROCK                  9617 PINE ST                                                   OMAHA           NE         68124                  6002               Various                                                                                                $8.47
THOMAS ROESLER               309 1/2 S 8TH ST                                               WATERTOWN       WI         53094                  6002               Various                                                                                                $3.92
THOMAS ROMICH                2095 S ATLANTIC ST                                             BOISE           ID         83705                  6002               Various                                                                                                $6.96
THOMAS ROWE                  289 E ADAMS AVE                                                FALL CREEK      WI         54742                  6002               Various                                                                                                $6.88
THOMAS RUPNOW                W8089 CLAY SCHOOL RD                                           MERRILLAN       WI         54754                  6004               Various                                                                                               $10.00
THOMAS S KEMP                W8840 HIGHWAY # CS                                             POYNETTE        WI         53955                  6002               Various                                                                                                $9.37
THOMAS SARMIENTO             605 HIGHLAND DRIVE                                             OGALLALA        NE         69153                  6002               Various                                                                                                $7.70
THOMAS SARTOR                4731 EVERBREEZE CR                                             APPLETON        WI         54913                  6002               Various                                                                                                $6.55
THOMAS SAUER                 7080 COUNTY ROAD MM                                            LARSEN          WI         54947                  6004               Various                                                                                               $10.31
THOMAS SCHUCKERT             22 MAIN STREET NORTH        PO BOX 278                         WINTHROP        MN         55396                  6004               Various                                                                                                $3.06
THOMAS SCHULTZ               2950 CTY HWY B                                                 MARATHON        WI         54448                  6002               Various                                                                                                $2.74
THOMAS SEXTON                4517 COUNTY ROAD 140 SE                                        STEWARTVILLE    MN         55976                  6002               Various                                                                                                $9.21
THOMAS SHELLEY               4311 SCHOFIELD AVE LOT 5                                       SCHOFIELD       WI         54476                  6004               Various                                                                                                $3.00
THOMAS SHIPPERT              1901 SUNNYDALE RD                                              DIXON           IL         61021                  6002               Various                                                                                                $1.37
THOMAS SHORES                3211 FOX HOLLOW RD                                             LINCOLN         NE         68506                  6004               Various                                                                                                $8.83
THOMAS SIERMINSKI            919 PERRY AVE                                                  RACINE          WI         53406                  6004               Various                                                                                               $20.30
THOMAS SLAGLE                2516 COURT ST                                                  SIOUX CITY      IA         51104                  6002               Various                                                                                                $4.52




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            Creditor Name                     Address1           Address2         Address3              City      State           Zip   Country     Number                Claim                                                                             Total Claim
THOMAS SMITH                      1026 E MAIN ST APT 26                                        LANDER          WY         82520                 6002                Various                                                                                             $5.01
THOMAS SORIANO                    16217 PARKER ST                                              OMAHA           NE         68118                 6002                Various                                                                                             $1.73
THOMAS SORUM                      522 W LAKESIDE ST                                            MADISON         WI         53715                 6002                Various                                                                                             $7.29
THOMAS STARLING                   1028 S ADAMS ST                                              LANCASTER       WI         53813                 6002                Various                                                                                             $5.97
THOMAS STOCKWELL                  7589W RIVERS BEND DR                                         MANISTIQUE      MI         49854                 6002                Various                                                                                             $2.93
THOMAS SUTPHIN                    2681 WOODDALE AVE                                            GREEN BAY       WI         54313                 6002                Various                                                                                             $0.85
THOMAS THORMODSON                 22341 110TH ST                                               FERGUS FALLS    MN         56537                 6002                Various                                                                                             $0.93
THOMAS THUNDER                    2441 SUNNY LANE                                              GREEN BAY       WI         54313                 6004                Various                                                                                             $3.00
THOMAS TUMBARELLO                 607 ADAMS ST., #9                                            NEENAH          WI         54956                 6004                Various                                                                                            $21.60
THOMAS VANDERWIELEN               721 WINDFLOWER WAY                                           KIMBERLY        WI         54136                 6002                Various                                                                                             $7.78
THOMAS VIRNIG                     418 TRAIL SIDE DR                                            DE FOREST       WI         53532                 6004                Various                                                                                            $34.00
THOMAS VITALE                     1123 MCLEAN ST                                               FALLS CITY      NE         68355                 6002                Various                                                                                             $7.34
THOMAS W. CHOPP                   900 BIRCH ST                                                 MARSHALL        MN         56258                 6002                Various                                                                                             $6.16
THOMAS WAITROVICH                 825 SUNDIAL LN                                               NEENAH          WI         54956                 6002                Various                                                                                             $0.71
THOMAS WALKER                     2505 COTTONWOOD CUTOFF                                       LEWISTOWN       MT         59457                 6002                Various                                                                                             $3.45
THOMAS WATSON                     9211 75TH ST NW                                              BYRON           MN         55920                 6002                Various                                                                                             $2.14
THOMAS WATTS                      550 S 500 E                APT 1                             SPRINGVILLE     UT         84663                 6004                Various                                                                                             $5.00
THOMAS WEINFURTNER                649 B WASHINGTON AVE                                         STEVENS POINT   WI         54481                 6002                Various                                                                                             $6.55
THOMAS WHITING                    RR 3 BOX 101                                                 WINNER          SD         57580                 6002                Various                                                                                             $0.79
THOMAS WOODHOUSE                  N902 KING HILL RD                                            GENOA           WI         54632                 6002                Various                                                                                             $3.21
THOMAS WYDEVEN                    1435 PEARL ST                                                MENASHA         WI         54952                 6004                Various                                                                                            $20.00
THOMPSON LANDSCAPE                PO BOX 11562                                                 EUGENE          OR         97440                 5638                Various                                                                                           $315.25

THOMPSON/ SANDRA L                STORE 2-052                SHOPKO EMPLOYEE                   GREEN BAY       WI         54307-9060             5031               Various                                                                                               $21.36
THOR BENTLY                       315 HOMER RD                                                 IRON RIVER      MI         49935                  6002               Various                                                                                                $1.53
THOR JELLISON                     PO BOX 388                                                   SHELBY          MT         59474                  6002               Various                                                                                               $22.95

THORNBERRY/ CHERYL                STORE 2-029                SHOPKO EMPLOYEE                   GREEN BAY       WI         54307-9060             9461               Various                                                                                             $4.09
THORNE CREST RETIREMENT CENTER    1201 GARFIELD AVENUE                                         ALBERT LEA      MN         56007                  6666               Various                                                                                          $497.78
THREAD COLLECTIVE INC             LOCKBOX 1642               PO BOX 8500 1642                  PHILADELPHIA    PA         19178-1642             1856               Various                                                                                        $92,980.18
THREE AFFILIATED TRIBES           404 FRONTAGE ROAD                                            NEW TOWN        ND         58763                  6666               Various                                                                                            $51.28
THREE B INTERNATIONAL LLC         100 BOMONT PLACE                                             TOTOWA          NJ         07512                  5998               Various                                                                                        $20,530.80
THREE M COMPANY                   NW 9045                    PO BOX 1450                       MINNEAPOLIS     MN         55485-9045             6409               Various                                                                                       $500,211.13
THRIFTY WHITE PHARMACY            321 WEST MAIN STREET                                         MARSHALL        MN         56258                  6002               Various                                                                                          $141.74
THU TRAN                          2230 WESLEY DRIVE                                            LINCOLN         NE         68512                  6004               Various                                                                                             $3.00
THUAN NGUYEN                      2205 ROCKY CREEK DR NE                                       ROCHESTER       MN         55906                  6002               Various                                                                                             $6.19
THUMBS UP LIMITED                 9 BARTLETT ST SUITE 177                                      ANDOVER         MA         01810                  3640               Various                                                                                        $53,144.62
                                                             9605 TILLEY ROAD
THURSTON COUNTY PUBLIC WORKS      SUITE D                    SW                                OLYMPIA         WA         98512                  8394               Various                                                                                            $21.53
THUY NGUYEN                       220 9TH AVE                                                  WORTHINGTON     MN         56187                  6004               Various                                                                                             $3.00
THUY TRAN                         4798 COBB CIRCLE                                             KEARNS          UT         84118                  6004               Various                                                                                             $4.00
THYSSENKRUPP ELEVATOR CORPORAT    PO BOX 933004                                                ATLANTA         GA         31193-3004             3696               Various                                                                                           $808.65
                                                             9 S HACKENSACK
TI LOGISTICS                      DC FREIGHT                 AVENUE                            KEARNY          NJ         07032                  9007               Various                                                                                        $16,058.83
TI POE                            1001 PEARL AVE                                               MARSHALL        MN         56258                  6004               Various                                                                                             $3.00
TIA E BRANDIS                     134 HOLLOW HORN BEAR AVE                                     WINNER          SD         57580                  6002               Various                                                                                             $8.49
TIA FRAZER                        N2683 CTY RD E                                               WAUPACA         WI         54981                  6002               Various                                                                                             $9.75
TIA HARRIS                        1825 SE 4201ST                                               ANDREWS         TX         79714                  6002               Various                                                                                             $7.75
TIA KRANING                       141 ANTOINETTE ST                                            GREEN BAY       WI         54303                  6004               Various                                                                                             $1.00
TIA LYNN TURCO                    2153 E MUSKEGON BLVD                                         NEWAYGO         MI         49337                  6002               Various                                                                                             $0.41
TIA MANCUSO                       310 N HAMILTON ST APT 3                                      POWELL          WY         82435                  6002               Various                                                                                             $0.36
TIA PETTY                         2820 C ST NW APT 5TH101C                                     MIROT           ND         58703                  6002               Various                                                                                             $4.93
TIA PIERCE                        6623 HIMEBAUGH AVE                                           OMAHA           NE         68112                  6004               Various                                                                                             $2.00




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                                                                                                                                                                                                    Unliquidated
                                                                                                                                                                                       Contingent


                                                                                                                                                                                                                   Disputed
                                                                                                                                              Last 4 Digits of     Date Debt was
                                                                                                                                                 Account         Incurred, Basis for
           Creditor Name                Address1            Address2          Address3            City        State           Zip   Country      Number                Claim                                                                             Total Claim
                            HAWTHORNE ROUTE 2 NORTH
TIA TINAJERO                BOX 187A                                                       POCATELLO        ID        83202                   6004               Various                                                                                               $33.00
TIANA DAVIS                 8814 N 30TH ST                                                 OMAHA            NE        68112                   6004               Various                                                                                               $25.00
TIANA MACKEY                4613 KENNEDY RD                                                MADISON          WI        53704                   6004               Various                                                                                                $5.95
TIANA MEYER                 121 HASKELL ST                                                 BEAVER DAM       WI        53916                   6004               Various                                                                                                $4.00
TIANNA DRIEHORST            116 WEBSTER ST                                                 FAIRMONT         MN        56031                   6004               Various                                                                                                $6.40
TIANNA HALFADAY             N15196 PINE DRIVE                                              WILSON           MI        49896                   6004               Various                                                                                               $23.00
TIANNA WISNIEWSKI           N264 SHADY NOOK LANE                                           WITHEE           WI        54498                   6004               Various                                                                                                $1.00
TIARA BUTLER                1617 TROY DRIVE APT 203                                        MADISON          WI        53704                   6004               Various                                                                                                $3.00
TIARA MARTIN                312 MOORE ST.                                                  BELOIT           WI        53511                   6004               Various                                                                                                $2.00
TIARE ARREGUIN              2807 WOODLANE DR                                               JANESVILLE       WI        53547                   6004               Various                                                                                                $4.00
TIARRA STOUT                3808 SOUTH WEST TEMPLE                                         SALT LAKE CITY   UT        84115                   6004               Various                                                                                               $30.00
TIBERIUS MELLUM             207 N SLOCUM ST                                                BIRCHWOOD        WI        54817                   6004               Various                                                                                                $5.00
TIERRA M LUPPEN             645 W 11TH ST                                                  GARNER           IA        50438                   6002               Various                                                                                                $3.32
TIFFANI ARCHER              1413 W 3RD ST APT C2                                           MOUNT CARMEL     IL        62863                   6002               Various                                                                                                $0.99
TIFFANI CULLUM              4907 NORTH 57TH                                                OMAHA            NE        68104                   6004               Various                                                                                                $4.00
TIFFANI GALLOWAY            2731 CHRISTNER ST                                              BURTON           MI        48509                   6002               Various                                                                                                $2.79
TIFFANI RIVERA              4040 14TH AVE                                                  KENOSHA          WI        53140                   6004               Various                                                                                               $10.00
TIFFANI WALMER              401 JANEVILLE STREET                                           OREGON           WI        53575                   6004               Various                                                                                                $1.00
TIFFANI WENNINGER           1030 E EDGEWOOD DR                                             APPLETON         WI        54913                   6004               Various                                                                                               $10.00
TIFFANI ZINCHINI            15716 30TH ST                                                  BROWNTON         MN        55312                   6002               Various                                                                                                $5.59
TIFFANIE BARRIOS            62 PINE CREST RD                                               ROUNDUP          MT        59072                   6002               Various                                                                                                $0.44
TIFFANIELYN NETZER          510 W MAIN ST                                                  LENA             WI        54139                   6002               Various                                                                                                $8.05
TIFFANY A HESS              BOX 207                                                        NEWCASTLE        WY        82701                   6002               Various                                                                                                $2.77
TIFFANY A PAULSEN           803 2ND AVE                                                    MALVERN          IA        51551                   6002               Various                                                                                                $7.18
TIFFANY AIKEN               410 PRESTON LANE                                               REDGRANITE       WI        54970                   6004               Various                                                                                                $2.00
TIFFANY ASHRAF              1725 SMITH ST.                                                 GREEN BAY        WI        54302                   6004               Various                                                                                                $1.00
TIFFANY BAUMSTEARK          6503 NORTHWESTERN AVE                                          RACINE           WI        53406                   6002               Various                                                                                                $9.95
TIFFANY BEECROFT            785 SCHOOL RD NW APT 203                                       HUTCHINSON       MN        55350                   6002               Various                                                                                                $7.56
TIFFANY BRASFIELD           5219 41ST AVE                                                  KENOSHA          WI        53144                   6004               Various                                                                                               $67.00
TIFFANY BRETL               91 RANKIN STREET                                               FORT ATKINSON    WI        53538                   6004               Various                                                                                                $2.00
TIFFANY CARLL               1141 N PETERSON RD                                             COOKS            MI        49817                   6002               Various                                                                                                $6.58
TIFFANY DALTON              3920 SOUTH 46TH ST, APT 2                                      LINCOLN          NE        68502                   6004               Various                                                                                               $50.00
TIFFANY DEWALL              1406 N ALVIN ST                                                APPLETON         WI        54911                   6002               Various                                                                                                $1.18
TIFFANY DOUGHERTY           709 ANGELO RD APT 11                                           SPARTA           WI        54656                   6002               Various                                                                                                $7.51
TIFFANY EARP                320 S BROADWAY ST                                              LITTLE YORK      IL        61453                   6002               Various                                                                                                $6.52
TIFFANY FALLE               1515 MARQUETTE AVE,                                            OSHKOSH          WI        54901                   6004               Various                                                                                                $5.02
TIFFANY FAWSON              14865 N 4400TH W                                               GARLAND          UT        84312                   6002               Various                                                                                                $8.08
TIFFANY FULTS               1221 W 10TH ST APT 1                                           SIOUX FALLS      SD        57104                   6004               Various                                                                                                $6.00
TIFFANY GREER               2580 OWYHEE                                                    POCATELLO        ID        83201                   6004               Various                                                                                               $20.00
TIFFANY HADLEY              2290 AVOCET DRIVE                                              IDAHO FALLS      ID        83401                   6004               Various                                                                                               $22.00
TIFFANY HARDY               568 N 200TH W                                                  BRIGHAM CITY     UT        84302                   6002               Various                                                                                               $10.00
TIFFANY HELSEL              5100 W PHELPS RD                                               LAKE CITY        MI        49651                   6002               Various                                                                                                $3.04
TIFFANY HICKE               758 NELSON LANE                                                WATERTOWN        WI        53098                   6004               Various                                                                                               $27.00
TIFFANY JOHNSON             1007 13TH AVE NW                                               AUSTIN           MN        55912                   6004               Various                                                                                                $9.00
TIFFANY JOY                 N8129 975TH ST                                                 RIVER FALLS      WI        54022                   6002               Various                                                                                                $1.70
TIFFANY MAAKESTAD           2113 MEADOWLARK DR                                             STURGIS          SD        57785                   6002               Various                                                                                                $0.36
TIFFANY MATHIS              604 1/2 N JACKSON ST                                           CHARLES CITY     IA        50616                   6002               Various                                                                                                $6.93
TIFFANY MC CORKLE           902 SHERMAN AVE                                                JANESVILLE       WI        53545                   6004               Various                                                                                                $2.00
TIFFANY MCCORKLE            902 SHERMAN AVE                                                JANESVILLE       WI        53545                   6004               Various                                                                                                $1.00
TIFFANY MELUM               1981 STRAWBERRY LN                                             GREEN BAY        WI        54304                   6002               Various                                                                                               $10.00
TIFFANY MONTGOMERY          588 MAITLAND DRIVE          APT 83                             BLOOMER          WI        54724                   6004               Various                                                                                                $2.00
TIFFANY MOTA                1259 N 500TH W                                                 OREM             UT        84057                   6002               Various                                                                                                $3.18




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                                                                                                                                                                                          Contingent


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                                                                                                                                                    Account         Incurred, Basis for
             Creditor Name               Address1               Address2         Address3            City        State           Zip   Country      Number                Claim                                                                             Total Claim

TIFFANY NEISIUS                3512 STERLING HEIGHTS DR UNI                                   RIVER FALLS      WI        54022                   6002               Various                                                                                             $4.00
TIFFANY OSMON                  450 S 25TH ST., APT # 1                                        LINCOLN          NE        68510                   6004               Various                                                                                             $2.00
TIFFANY PRATER                 #14 20TH ST SW                                                 GREAT FALLS      MT        59404                   6002               Various                                                                                             $0.44
TIFFANY PURNELL                906 DOUSMAN ST                                                 GREEN BAY        WI        54303                   6002               Various                                                                                             $3.89
TIFFANY R FORD                 2416 KUHLMANN AVE                                              AUBURN           NE        68305                   6002               Various                                                                                             $2.30
TIFFANY RIDDLE                 3505 W ALLAN AVE.                                              SALT LAKE CITY   UT        84119                   6004               Various                                                                                             $9.00
TIFFANY RIGDON                 PO BOX 193                                                     FOUNTAIN CITY    WI        54629                   6002               Various                                                                                             $8.82
TIFFANY SCHOVILLE              2505 E HILL RD                                                 BELOIT           WI        53511                   6002               Various                                                                                             $2.71
TIFFANY SCHWERDTFEGER          420 S BELL AVE                                                 LYONS            KS        67554                   6002               Various                                                                                             $4.25
TIFFANY SEYMOUR                215 WEST 8TH ST                                                BELVIDERE        IL        61008                   6004               Various                                                                                             $3.75
TIFFANY SHEAREN                13705 375TH STREET                                             NORTH BRANCH     MN        55056                   6004               Various                                                                                             $3.00
TIFFANY SKENANDORE             825 CHRISTIANA STREET                                          GREEN BAY        WI        54303                   6004               Various                                                                                             $2.00
TIFFANY STEPHENS               1947 N 550TH E                                                 NORTH OGDEN      UT        84414                   6002               Various                                                                                             $9.04
TIFFANY VALENTINE DUPLICATE    1415 PLESENT AVE                                               YAKIMA           WA        98902                   6004               Various                                                                                            $25.02
TIFFANY VEENHUIS               W6574 HOARD RD                                                 FORT ATKINSON    WI        53538                   6004               Various                                                                                             $2.00
TIFFANY VERBRIGGHE             1305 LUDINGTON ST                                              ESCANABA         MI        49829                   6002               Various                                                                                             $1.18
TIFFANY VRBA                   612 9TH ST                                                     WISNER           NE        68791                   6002               Various                                                                                             $7.84
TIFFANY WHITNEY                216 E ELM ST.                                                  RIVER FALLS      WI        54022                   6004               Various                                                                                             $1.00
TIFFANY ZEMPEL                 1014 11TH AVE SW                                               AUSTIN           MN        55912                   6004               Various                                                                                             $6.00
TIFFANY ZENZ                   8610 STAGE RD                                                  LANCASTER        WI        53813                   6002               Various                                                                                             $9.78
TIFNEE WARD                    700 1/2 ADELL                                                  FILER            ID        83328                   6004               Various                                                                                             $8.48
TILEY SAUSMAN                  114 WEST PLEASANT ST                                           GARDEN CITY      MN        56034                   6004               Various                                                                                             $3.00
TILLIE MARIE FENTRESS          3501 N 56TH ST                                                 OMAHA            NE        68104                   6004               Various                                                                                            $10.00
TILLY EGGERS                   3915 HOUK WAY                                                  STEVENSVILLE     MT        59870                   6004               Various                                                                                           $100.00
TIM ANDERSON                   N9893 BUELOW RD                                                CLINTONVILLE     WI        54929                   6002               Various                                                                                             $0.47
TIM BECKMAN                    7257 N 16TH ST                                                 LINCOLN          NE        68521                   6004               Various                                                                                            $10.00
TIM BIEBER                     3289 GRANDVIEW RD                                              EAST HELENA      MT        59635                   6004               Various                                                                                            $10.00
TIM BOYD                       3965 W 6TH ST                                                  WINONA           MN        55987                   6002               Various                                                                                             $7.51
TIM BRADLEY                    112 FAIRMONT ST                                                SALMON           ID        83467                   6004               Various                                                                                            $31.00
TIM BURESH                     W11528 ELM RD                                                  STANLEY          WI        54768                   6002               Various                                                                                             $0.96
TIM BUSHON                     2741 SHARON DR                                                 OMAHA            NE        68112                   6002               Various                                                                                             $2.08
TIM COLVIN                     39355 CHADUZA RIDGE RD                                         VALENTINE        NE        69201                   6002               Various                                                                                             $0.63
TIM CURTIS                     4888 157TH ST                                                  CHIPPEWA FALLS   WI        54729                   6004               Various                                                                                             $4.00
TIM DAWSON                     7TH AVE APT 1                                                  NEWCASTLE        WY        82701                   6002               Various                                                                                             $6.11
TIM DEETS                      2 W BRADSHAW ST                                                SHANNON          IL        61078                   6004               Various                                                                                           $105.00
TIM DONAHUE                    713 N GALENA AVE                                               DIXON            IL        61021                   6002               Various                                                                                             $1.53
TIM DREAS                      PO BOX 171                                                     CHUGWATER        WY        82210                   6002               Various                                                                                             $3.07
TIM EISENLOHR                  4 BRIARSTONE COURT                                             MASON CITY       IA        50401                   6004               Various                                                                                            $17.96
TIM FORRESTAL                  1145 MONTEREY LANE                                             JANESVILLE       WI        53546                   6004               Various                                                                                            $23.00
TIM FOUST                      1525 KENTUCKY ST                                               OSHKOSH          WI        54901                   6004               Various                                                                                            $12.00
TIM GATES                      137 RIDGEWOOD DR                                               KALISPELL        MT        59901                   6002               Various                                                                                             $4.30
TIM GIRMSCHEID                 W480 CTY RD F                                                  CAMPBELLSPORT    WI        53010                   6002               Various                                                                                             $7.81
TIM GODDARD                    1627 MT HIGHWAY 35                                             KALISPELL        MT        59901                   6002               Various                                                                                             $9.62
TIM GOLDEN                     6599 RIDGE ROYALE DR                                           GREENLEAF        WI        54126                   6002               Various                                                                                             $0.27
TIM GREEN                      53 N HIAWATHA CIR                                              SHEBOYGAN        WI        53081                   6002               Various                                                                                             $4.47
TIM HOLLANDER                  319 E OAK GROVE ST                                             JUNEAU           WI        53039                   6004               Various                                                                                            $20.00
TIM HUGHES                     BOX 13                                                         BELLE FOURCHE    SD        57717                   6002               Various                                                                                             $4.71

TIM J MCGREGOR                 C/O ATTORNEY PETER O MALTESE PO BOX 969                        SIDNEY           MT        59270                   4000               Various                                                                                        $22,220.68
TIM JANDRIN                    216 KILBOURN ST                                                KEWAUNEE         WI        54216                   6002               Various                                                                                             $0.55
TIM JOHNSON                    407 W FIR AVE                                                  FERGUS FALLS     MN        56537                   6002               Various                                                                                             $6.58
TIM KELLY                      3490 1ST STRET                                                 IDAHO FALLS      ID        83401                   6002               Various                                                                                             $1.15
TIM KNUTSON                    33691 330TH AVE                                                ROSEAU           MN        56751                   6002               Various                                                                                             $9.26




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              Creditor Name               Address1              Address2        Address3            City           State           Zip   Country     Number                Claim                                                                             Total Claim
TIM L BRINCKS                  800 W MILWAUKEE ST TRLR 26                                    NEW HAMPTON        IA         50659                 6002                Various                                                                                                $4.38
TIM LYONS                      1457 CLARENCE AVE                                             WALLA WALLA        WA         99632                 6002                Various                                                                                                $9.35
TIM MCDONNELL                  1805 HIGHLAND STREET                                          HELENA             MT         59601                 6004                Various                                                                                               $20.00
TIM MILLETTE                   629 N 19TH ST                                                 ESCANABA           MI         49829                 6002                Various                                                                                                $3.86
TIM MORAN                      120 W PACIFIC ST                                              APPLETON           WI         54911                 6002                Various                                                                                                $9.75
TIM NISSEN                     2355 I RD                                                     OAKLAND            NE         68045                 6002                Various                                                                                                $8.14
TIM O'CONNER                   212 LOIS                                                      TWIN FALLS         ID         83301                 6004                Various                                                                                               $20.00

TIM O'DAY                      111 ASH STREET                                                WISCONSIN RAPIDS   WI         54494                  6004               Various                                                                                            $76.00
TIM PALIVODA                   610 NASHUA BLVD                                               NASHUA             MT         59248                  6002               Various                                                                                             $3.95
TIM PASSEY                     267 2ND W                                                     AUBURN             WY         83111                  6002               Various                                                                                             $6.49
TIM PESKEY                     8850 N 82ND AVE                                               OMAHA              NE         68122                  6002               Various                                                                                             $3.53
TIM SARGENT                    3411 N 4TH ST                                                 COEUR D ALENE      ID         83815                  6002               Various                                                                                             $8.16
TIM SMITH                      201 W 4TH ST                                                  ALDEN              KS         67512                  6002               Various                                                                                             $5.95
TIM STAMM                      272 WATERTOWER CIR                                            IRON RIDGE         WI         53035                  6002               Various                                                                                             $2.14
TIM STORTZ                     103 KNAUP DR                                                  BEAVER DAM         WI         53916                  6004               Various                                                                                           $125.56
TIM SWANSON                    108 COLUMBIAN DRIVE                                           JACKSONVILLE       IL         62650                  6004               Various                                                                                           $145.43
TIM THRONSON                   671 THRONSON RD                                               EDGERTON           WI         53534                  6004               Various                                                                                            $10.00
TIM WETTSTEIN                  528 S RAILROAD ST                                             KIMBERLY           WI         54136                  6002               Various                                                                                             $6.52
TIM WISE                       PO BOX 172                                                    LAUREL             NE         68745                  6002               Various                                                                                             $1.89
TIMARA SMITH                   313 SOUTH MUSKET RIDGE                                        SUN PRAIRIE        WI         53590                  6004               Various                                                                                             $3.00
TIMATHY WYATT                  6016 S REGAL NO 13                                            SPOKANE            WA         99223                  6004               Various                                                                                            $12.00
TIMBERLY MASCHING              HC 67 BOX 27D                                                 FREMONT            MO         63941                  6002               Various                                                                                             $5.23

TIMM/ CHELSEA                  STORE 2-012                  SHOPKO EMPLOYEE                  GREEN BAY          WI         54307-9060             1382               Various                                                                                               $25.75
TIMOTHY A PRITCHETT            1454 P RD                                                     BEEMER             NE         68716                  6002               Various                                                                                                $9.23
TIMOTHY A SMITH                420 HARRISON ST                                               KEWAUNEE           WI         54216                  6002               Various                                                                                                $1.62
TIMOTHY ALDEN                  112B INDUSTRIAL DR                                            BEAVER DAM         WI         53916                  6002               Various                                                                                                $9.21
TIMOTHY ANDREWS                1745 S 800TH E                                                SALT LAKE CITY     UT         84105                  6002               Various                                                                                                $1.21
TIMOTHY ARNDT                  328 E SPRING ST                                               MANLY              IA         50456                  6004               Various                                                                                               $24.98
TIMOTHY BELSETH                128 9TH ST NW                                                 MASON CITY         IA         50401                  6002               Various                                                                                                $3.95
TIMOTHY BINDERT                312 E. 4TH                                                    MITCHELL           SD         57301                  6004               Various                                                                                                $4.00
TIMOTHY BLOOM                  111 OAK ST                                                    TYLER              MN         56178                  6004               Various                                                                                               $23.00
TIMOTHY BOLYARD                413 SARAH LN                                                  BEAVER DAM         WI         53916                  6002               Various                                                                                                $1.23
TIMOTHY BROWN                  W6533 C T H T                                                 HOLMEN             WI         54636                  6004               Various                                                                                               $39.00
TIMOTHY CADOTTE                2370 STILLWATER DR                                            BILLINGS           MT         59102                  6002               Various                                                                                               $10.00
TIMOTHY CARROLAN               5310 ASPENWOOD AVE                                            CALDWELL           ID         83607                  6004               Various                                                                                                $9.98
TIMOTHY CASEY                  1239 GRAHAM AVE                                               EAU CLAIRE         WI         54701                  6002               Various                                                                                                $0.96
TIMOTHY CLEMONS                381 E RIVERDALE DR                                            EDGERTON           WI         53534                  6004               Various                                                                                                $5.50
TIMOTHY COSTELLO               4751 109TH ST                                                 CLEAR LAKE         MN         55319                  6004               Various                                                                                                $2.40
TIMOTHY COUSINS                1012 CHAPIN STREET                                            BELOIT             WI         53511                  6002               Various                                                                                                $8.39
TIMOTHY CRAIG                  4810 28TH AVE SE                                              LACEY              WA         98503                  6004               Various                                                                                               $10.00
TIMOTHY DEBONE                 5762 PINE O.25 STREET                                         GLADSTONE          MI         49837                  6004               Various                                                                                               $39.00
TIMOTHY DECK                   17329 HOLLOW ROAD                                             CALDWELL           ID         83607                  6004               Various                                                                                               $15.03
TIMOTHY DELARUELLE             3525 SOUTH TIMBER TRAIL                                       SUAMICO            WI         54173                  6004               Various                                                                                                $4.00
TIMOTHY DOWDY                  1145 S 36 ST                                                  MANITOWOC          WI         54220                  6004               Various                                                                                               $75.96
TIMOTHY DUNN                   8009 S 48TH AVE APT 1                                         OMAHA              NE         68157                  6002               Various                                                                                                $7.21
TIMOTHY EGGAN                  1520 E J STREET                                               TORRINGTON         WY         82240                  6002               Various                                                                                               $13.93
TIMOTHY ELLENZ                 N6120 PRAIRIE DR                                              ONALASKA           WI         54650                  6002               Various                                                                                                $0.60
TIMOTHY ERGISH                 105 SE 6TH ST                                                 GREENFIELD         IA         50849                  6002               Various                                                                                                $2.88
TIMOTHY F POTASEK              2208 10 1/8 AVE                                               CHETEK             WI         54728                  6002               Various                                                                                                $6.58
TIMOTHY FANKHAUSER             924 NEMAHA ST                                                 HUMBOLDT           NE         68376                  6002               Various                                                                                                $6.96
TIMOTHY FARMAKES               2633 HUGHITT AVE                                              SUPERIOR           WI         54880                  6004               Various                                                                                               $42.58
TIMOTHY FENGER                 5975 CHIPPEWA TRAIL                                           NORTH BRANCH       MN         55056                  6004               Various                                                                                                $3.00




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TIMOTHY FENSKE                310 N MAPLE ST                                                BLACK CREEK     WI         54106                  6004                Various                                                                                               $50.00
TIMOTHY FODNESS               441 HARRISON ST.                                              TWIN FALLS      ID         83301                  6004                Various                                                                                                $3.65
TIMOTHY FOIX                  2424 W HORNE AVE                                              SIOUX CITY      IA         51103                  6002                Various                                                                                                $6.66
TIMOTHY FOLSOM                PO BOX 1492                                                   CHELAN          WA         98816                  6004                Various                                                                                               $26.50
TIMOTHY FOLWELL               12522 W LEXUS CT                                              BOISE           ID         83713                  6004                Various                                                                                               $10.00
TIMOTHY FRAZIER               1021 GREEN ACRES LN                                           NEENAH          WI         54956                  6004                Various                                                                                                $2.00
TIMOTHY FRISBEE               7601 ST LAWRENCE AVE                                          BELOIT          WI         53511                  6004                Various                                                                                               $19.98
TIMOTHY FULFORD               46 WEST STREET                                                ELKHORN         WI         53121                  6004                Various                                                                                               $15.00
TIMOTHY FUNK                  1565 NEBRASKA ST                                              GREEN RIVER     WY         82935                  6002                Various                                                                                                $6.60
TIMOTHY FUSCO                 4915 LINDEN RD                                                ROCKFORD        IL         61109                  6004                Various                                                                                               $30.00
TIMOTHY GAGE                  4235 ERIE ST APT 417                                          RACINE          WI         53402                  6002                Various                                                                                                $4.14
TIMOTHY GAUDINIER             345 N MAIN ST                                                 FOND DU LAC     WI         54935                  6002                Various                                                                                                $9.45
TIMOTHY GILFILLAN             953 1/2 LOGAN AVE                                             BELVIDERE       IL         61008                  6004                Various                                                                                                $3.90
TIMOTHY GLASS                 510 CLAY ST                                                   OAK             NE         68964                  6002                Various                                                                                                $8.88
TIMOTHY GLENN                 620 CRAWFORD AVE                                              DIXON           IL         61021                  6004                Various                                                                                                $1.99
TIMOTHY GOLDER                725 GREENBAY DR APT 1                                         MAYVILLE        WI         53050                  6002                Various                                                                                                $1.70
TIMOTHY GREGORY               382 S HORSESHOE CREEK RD                                      GLENDO          WY         82213                  6002                Various                                                                                                $3.29
TIMOTHY HAAG                  110B WEST ST                                                  BEAVER DAM      WI         53916                  6004                Various                                                                                               $25.00
TIMOTHY HALL                  2321 MOUNT ZION AVE                                           JANESVILLE      WI         53545                  6002                Various                                                                                                $2.66
TIMOTHY HANSON                424 N 2ND ST                                                  MANKATO         MN         56001                  6004                Various                                                                                                $6.73
TIMOTHY HEINZE                59776 235TH ST                                                MADISON LAKE    MN         56063                  6002                Various                                                                                                $6.00
TIMOTHY HESBY                 PO BOX 674                                                    SHOSHONE        ID         83352                  6004                Various                                                                                               $10.02
TIMOTHY HEYWOOD               87 ROCK CANDY LN                                              WEIPPE          ID         83553                  6002                Various                                                                                                $6.77
TIMOTHY HIRNER                56775 RIVERE AU SEL PLACE                                     NEW LONDON      MO         63459                  6004                Various                                                                                               $32.00
TIMOTHY HOFFMAN               4016 5TH AVE NW                                               AUSTIN          MN         55912                  6004                Various                                                                                               $23.00
TIMOTHY HUGHES                3703 MONTROSE CT SE                                           OLYMPIA         WA         98501                  6004                Various                                                                                               $25.00
TIMOTHY IRONSIDE              800-180 AVE                                                   UNION GROVE     WI         53182                  6002                Various                                                                                                $4.19
TIMOTHY JACKSON JR            234 WILDFLOWER WAY                                            LAKE MILLS      WI         53551                  6004                Various                                                                                               $10.00
TIMOTHY JOSE ROBERTS          PO BOX 354                                                    FULDA           MN         56131                  6002                Various                                                                                                $3.23
TIMOTHY KEEPES                110 W MARTIN ST                                               GRAYVILLE       IL         62844                  6002                Various                                                                                                $9.37
TIMOTHY KEMEN                 10028 MICHAELS RD                                             BLACK EARTH     WI         53515                  6004                Various                                                                                                $2.00
TIMOTHY KING                  1426 7TH AVE                                                  LEWISTON        ID         83501                  6004                Various                                                                                               $39.00
TIMOTHY KINJERSKI             1031 N. TAYLOR ST.                                            GREEN BAY       WI         54303                  6004                Various                                                                                                $2.00
TIMOTHY KLITZKE               PO BOX 84                                                     ARLINGTON       WI         53911                  6004                Various                                                                                                $5.89

TIMOTHY KOCH                  N68W24955 STONEGATE CT #104                                   SUSSEX          WI         53089                   6002               Various                                                                                                $6.30
TIMOTHY KOEHLER               325 MONROE ST SE                                              HUTCHINSON      MN         55350                   6002               Various                                                                                                $3.95
TIMOTHY KRENIK                23210 MIRANDA LANE                                            ELYSIAN         MN         56028                   6002               Various                                                                                                $9.84
TIMOTHY L. PALMER             302 2ND ST NE                                                 NORA SPRINGS    IA         50458                   6002               Various                                                                                                $2.63
TIMOTHY LANG                  6600 WHITETAIL DR                                             WINNECONNE      WI         54986                   6002               Various                                                                                                $1.34
TIMOTHY LANGER                403 1/2 WATER STREET                                          MARINETTE       WI         54143                   6004               Various                                                                                               $10.00
TIMOTHY M COMTOIS             BOX 64                                                        MIDDLEBRO       MB         R0A1B         CANADA    6002               Various                                                                                                $2.66
TIMOTHY M GROSS               BOX 130                                                       PINEY           MB         R0A1K         CANADA    6002               Various                                                                                                $0.96
TIMOTHY MAHONEY               2598 HARTLAND DR NW                                           ROCHESTER       MN         55901                   6004               Various                                                                                               $50.00
TIMOTHY MCGILL                233 CAVIL WAY                                                 DE PERE         WI         54115                   6002               Various                                                                                                $1.51
TIMOTHY MCKAY                 825 AVE D APT 122                                             BILLINGS        MT         59102                   6004               Various                                                                                               $25.00
TIMOTHY MERSEREAU             111 WEST 19TH AVE                                             BELLEVUE        NE         68005                   6004               Various                                                                                               $10.00
TIMOTHY MOUA                  1101 A CLARA AVE                                              SHEBOYGAN       WI         53081                   6004               Various                                                                                                $3.00
TIMOTHY NULPH                 19 20TH ST                                                    CLINTONVILLE    WI         54929                   6002               Various                                                                                                $5.64
TIMOTHY OTIS                  1020 OVIATT ST              APT 4                             KAUKAUNA        WI         54130                   6004               Various                                                                                               $29.98
TIMOTHY P RILEY               N883 N ROAD                                                   HORTONVILLE     WI         54956                   6002               Various                                                                                                $9.32
TIMOTHY PARKER                3812 15TH AVE NW                                              ROCHESTER       MN         55901                   6002               Various                                                                                                $4.71
TIMOTHY PETERSON              45563 IRIS AVE                                                HARRIS          MN         55032                   6002               Various                                                                                                $4.77
TIMOTHY PURDUM                P.O. BOX 55                                                   LOLO            MT         59847                   6004               Various                                                                                               $57.00




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                                                                                                                                                                                                                                    Claim subject to offset?
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                                                                                                                                                                                             Contingent


                                                                                                                                                                                                                         Disputed
                                                                                                                                                    Last 4 Digits of     Date Debt was
                                                                                                                                                       Account         Incurred, Basis for
             Creditor Name               Address1             Address2           Address3            City            State           Zip   Country     Number                Claim                                                                             Total Claim
TIMOTHY R BECKER              913 N 10TH AVE                                                  WAUSAU            WI           54401                 6002                Various                                                                                                $7.59
TIMOTHY R PIERCE              603 GRANT CT                                                    CHIPPEWA FALLS    WI           54729                 6002                Various                                                                                                $0.79
TIMOTHY REETZ                 W236N6569 HILLVIEW DR                                           SUSSEX            WI           53089                 6004                Various                                                                                               $10.00
TIMOTHY REYES                 1130 W 1200 N                                                   MAPLETON          UT           84664                 6004                Various                                                                                               $26.00

TIMOTHY ROBERTS               4000 SO REDWOOD RD APT 1175                                     TAYLORSVILLE      UT           84123                  6002               Various                                                                                                $7.10
TIMOTHY ROE                   330 W 10TH ST APT 407                                           MOUNT CARMEL      IL           62863                  6002               Various                                                                                                $1.62
TIMOTHY S. DAVIS              1373 N 600TH E                                                  MAPLTON           UT           84664                  6002               Various                                                                                                $5.81
TIMOTHY SCHLUND               2224 TERREBONNE DR                                              MOSINEE           WI           54455                  6004               Various                                                                                               $25.00
TIMOTHY SCHMIDT               22621 340TH ST                                                  FOREST CITY       IA           50436                  6002               Various                                                                                                $2.77
TIMOTHY SCHULTZ               120 COLUMBIA AVE SE         APT 304                             SAINT CLOUD       MN           56304                  6004               Various                                                                                               $15.30
TIMOTHY SHANNON               417 1/2 WEST PINE STREET                                        RIVER FALLS       WI           54022                  6004               Various                                                                                               $65.00
TIMOTHY SHIELDS               3320 AIRPORT RD TRLR 15                                         NAMPA             ID           83687                  6002               Various                                                                                                $1.21
TIMOTHY SMITH                 1016 HAYES AVE                                                  RACINE            WI           53405                  6004               Various                                                                                               $12.40
TIMOTHY STADLER               RR 2 BOX 3175                                                   DONIPHAN          MO           63935                  6002               Various                                                                                                $6.71
TIMOTHY STEVENS               2149 GREY WOLF CT                                               GREEN BAY         WI           54313                  6002               Various                                                                                                $0.36
TIMOTHY THALKEN               6472 CUMING ST                                                  OMAHA             NE           68132                  6002               Various                                                                                                $0.90
TIMOTHY THORSON               13759 BONNITA LANE                                              SURING            WI           54174                  6004               Various                                                                                               $18.36
TIMOTHY TREPANIER             1116 SHEA AVE                                                   GREEN BAY         WI           54303                  6002               Various                                                                                                $1.81
TIMOTHY TSCHUMPER             620 W HOWARD ST                                                 WINONA            MN           55987                  6004               Various                                                                                               $10.00
TIMOTHY VERN ROZEBOOM         5036 270TH ST                                                   ASHTON            IA           51232                  6002               Various                                                                                                $5.73
TIMOTHY VOLZ                  12349 IL RT 78                                                  MOUNT CARROLL     IL           61053                  6004               Various                                                                                               $65.00
TIMOTHY VOSS                  1901 CLARY ST                                                   WORTHINGTON       MN           56187                  6004               Various                                                                                                $6.16
TIMOTHY WALLACE               2119 S 12TH ST W                                                MISSOULA          MT           59801                  6002               Various                                                                                               $14.99

TIMOTHY WALSH                 212 W JAMES DR                                                  PORT WASHINGTON   WI           53074                  6002               Various                                                                                                $2.52
TIMOTHY WARDLOW               514 S. CENTER ST.                                               BEAVER DAM        WI           53916                  6004               Various                                                                                               $23.00
TIMOTHY WILKES                585 HYDE                                                        POCATELLO         ID           83201                  6004               Various                                                                                               $46.99
TIMOTHY WILKINS               804 DORBE ST                                                    EAU CLAIRE        WI           54701                  6004               Various                                                                                                $3.00
TIMOTHY WILLIAMS SR           405 15TH AVE SE                                                 SAINT CLOUD       MN           56304                  6004               Various                                                                                                $3.00
TIMOTHY WILSON                1917 LAKE POINT DR                                              MADISON           WI           53713                  6004               Various                                                                                                $4.00
TIMOTHY WOOLDRIDGE            724 STUEBEN STREET                                              WAUSAU            WI           54403                  6004               Various                                                                                               $99.99
TIMOTHY YONASH                1909 MICHIGAN AVE                                               STEVENS POINT     WI           54481                  6002               Various                                                                                                $2.93
TIMOTHY ZBLEWSKI              P 1459 COUNTY HIGHWAY D                                         BIRNAMWOOD        WI           54414                  6004               Various                                                                                                $1.50
TIMOTHY ZENK                  80083 265TH ST                                                  HOLLANDALE        MN           56045                  6004               Various                                                                                                $3.00
TIMOTHY ZIERKE                1215 UNION AVENUE                                               BELVIDERE         IL           61008                  6004               Various                                                                                               $19.99
TIMOTHYMARK OSTENDORF         318 LINCOLN ST APT 13                                           FARNAM            NE           69029                  6002               Various                                                                                                $4.27
TINA A. DUBOIS                2344 HIGHWAY 47                                                 MORA              MN           55051                  6002               Various                                                                                                $8.11
TINA BAKER                    502 3RD AVENUE                                                  NEBRASKA CITY     NE           68410                  6004               Various                                                                                               $10.00
TINA BELCHER                  SAGE DR SW                                                      SOUTH BOARDMAN    MI           49680                  6002               Various                                                                                                $4.82
TINA BODINE                   2616 36TH AVE SE                                                OLYMPIA           WA           98506                  6004               Various                                                                                                $9.40
TINA BRUCKNER                 7486 SPRING BRK RD                                              OCONTO            WI           54153                  6002               Various                                                                                                $6.74
TINA CHERNEY                  1161 BOND ST                                                    GREEN BAY         WI           54303                  6002               Various                                                                                                $9.29
TINA CLARK                    206 WEST GOODLANDER                                             SELAH             WA           98942                  6004               Various                                                                                               $15.00
TINA COLLOM                   537 N MAIN ST                                                   GARLAND           UT           84312                  6002               Various                                                                                                $0.66
TINA CREVIER                  1390 MOHICAN CT                                                 GREEN BAY         WI           54313                  6002               Various                                                                                                $3.42
TINA DIAL                     122 E MILLER ST APT 91                                          RAWLINS           WY           82301                  6002               Various                                                                                                $5.59
TINA FIGURES                  5803 42ND ST                                                    OMAHA             NE           68111                  6004               Various                                                                                                $2.00
TINA FREEMAN                  2303 E LORENA DR                                                BELOIT            WI           53511                  6002               Various                                                                                                $6.52
TINA GEBERT                   E10702 EULRICH RD                                               CLINTONVILLE      WI           54929                  6002               Various                                                                                                $3.29
TINA GIACOMINI                4189 NORMANNA RD                                                DULUTH            MN           55803                  6004               Various                                                                                                $3.00
TINA GILL                     4926 11TH RD                                                    ESCANABA          MI           49829                  6004               Various                                                                                               $30.00
TINA GRIFFIN                  341 N GREEN ST                                                  MEREDOSIA         IL           62665                  6002               Various                                                                                                $5.21
TINA GUSTIN                   N1514 SHORE DR                                                  MARINETTE         WI           54143                  6002               Various                                                                                                $4.90




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                                                                                                                                                                                          Contingent


                                                                                                                                                                                                                      Disputed
                                                                                                                                                 Last 4 Digits of     Date Debt was
                                                                                                                                                    Account         Incurred, Basis for
             Creditor Name                Address1             Address2          Address3             City        State           Zip   Country     Number                Claim                                                                             Total Claim
TINA HARTMAN                  95 W RESERVE DR                                                 KALISPELL        MT         59901                 6002                Various                                                                                                $3.01
TINA HOPKINS                  216 MISSOURI AVE                                                HUDSON           WY         82515                 6002                Various                                                                                                $2.58
TINA HURTIG                   1614 3RD AVE.                                                   MANKATO          MN         56001                 6004                Various                                                                                                $3.06
TINA JENSEN                   500 COURTHOUSE DR                                               SALMON           ID         83467                 6002                Various                                                                                                $1.15
TINA JINOTTI                  2102 S MCDONALD RD                                              SPOKANE VALLEY   WA         99216                 6002                Various                                                                                                $1.66
TINA JOHNSON                  1813 17TH STREET                                                MENOMINEE        MI         49858                 6004                Various                                                                                                $8.00
TINA KOISH                    5332 18TH RD                                                    ESCANABA         MI         49829                 6002                Various                                                                                                $8.93
TINA KONKOL                   10845 CTY RD M                                                  AUBURNDALE       WI         54412                 6004                Various                                                                                               $37.00
TINA KRUSE                    85 NORTH MAIN STREET        #2                                  FORT ATKINSON    WI         53538                 6004                Various                                                                                                $1.00
TINA L KIRBY                  1209 W HOWARD ST                                                BOISE            ID         83706                 6002                Various                                                                                                $6.71
TINA M BERTOLOTTO             505 E 8TH ST                                                    NEWELL           SD         57760                 6002                Various                                                                                                $1.12
TINA M BERTRAND               2104 S BROADWAY APT 1                                           DE PERE          WI         54115                 6002                Various                                                                                                $3.86
TINA M ENGLUND                440 HECLA ST                                                    CALUMET          MI         49913                 6002                Various                                                                                                $2.60
TINA M PETERSON               2264 W JOHN LOOP APT 205                                        COEUR D ALENE    ID         83814                 6002                Various                                                                                                $3.89
TINA M PUFFENBARGER           26557 20 MILE RD                                                CUSTER           SD         57730                 6002                Various                                                                                                $0.58
TINA MAEL                     39565 WHISPERING PINES LN                                       LEWISTON         ID         83501                 6002                Various                                                                                                $1.73
TINA MAINE                    6646 381ST ST.                                                  NORTH BRANCH     MN         55056                 6004                Various                                                                                                $3.00
TINA MALITZ                   10359 COUNTY ROAD Y LOT20                                       MAZOMANIE        WI         53560                 6004                Various                                                                                                $2.00
TINA MARGARE HISCHKE          W7168 CENTER VALLEY RD                                          SHIOCTON         WI         54170                 6002                Various                                                                                                $5.01
TINA MARIE HUFFMAN            5674 PALACE RD                                                  OELWEIN          IA         50662                 6002                Various                                                                                                $2.19
TINA MCKINLEY                 2 RANCH MARKET                                                  NEWCASTLE        WY         82701                 6002                Various                                                                                                $1.34
TINA MEDRANO                  55393 SILVER VLY                                                OSBORN           ID         83849                 6002                Various                                                                                                $3.29
TINA MITCHELL                 215 S 4TH ST E                                                  FORT ATKINSON    WI         53538                 6002                Various                                                                                                $8.00
TINA NALDER                   1552 JENSEN ST                                                  POCATELLO        ID         83201                 6002                Various                                                                                                $6.49
TINA NEELIS                   E2017 KING RD                                                   WAUPACA          WI         54981                 6004                Various                                                                                                $3.35
TINA NEWLANDER                218 CUSTER ST                                                   BELLE FOURCHE    SD         57717                 6002                Various                                                                                                $8.90
TINA NOBLE                    2821 26TH ST NW APT F                                           ROCHESTER        MN         55901                 6004                Various                                                                                                $6.00
TINA PETERS                   234 N. MEADOW ST.                                               OSHKOSH          WI         54902                 6004                Various                                                                                                $5.00
TINA PETTIT                   14733 SOLBERG RD SE                                             YELM             WA         98597                 6004                Various                                                                                               $34.98
TINA R JOHNSON                908 BRYDEN AVE STE 110                                          LEWISTON         ID         83501                 6002                Various                                                                                                $0.93
TINA RAJALA                   24946 CEMETARY RD                                               COVINGTON        MI         49919                 6002                Various                                                                                                $1.62
TINA RIGG                     916 CEDAR ST                                                    MOUNT CARMEL     IL         62863                 6002                Various                                                                                                $6.55
TINA SARANTAKOS               6111 N 51ST ST                                                  OMAHA            NE         68104                 6002                Various                                                                                                $4.30
TINA SCHMIDT                  507 PLEASANT AVE NO 6                                           HARTFORD         WI         53027                 6666                Various                                                                                                $2.99
TINA SELF                     19310 NW BUTLER                                                 TERREBONNE       OR         97760                 6004                Various                                                                                               $10.00
TINA SHULTIS                  580 E KING ST                                                   COLOMA           WI         54930                 6002                Various                                                                                                $3.67
TINA SLAVEN                   911 WYLIE STREET                                                WIS RAPIDS       WI         54494                 6004                Various                                                                                               $52.00
TINA SMITH                    510 QUINCY ST # 22                                              LA CROSSE        WI         54601                 6002                Various                                                                                                $7.29
TINA SOULE                    2119 RIPON AVE                                                  LEWISTON         ID         83501                 6004                Various                                                                                               $29.00
TINA SWARTZBENBERGER          2205 WIDGEON CT                                                 KALISPELL        MT         59901                 6002                Various                                                                                               $10.00
TINA WELLARD                  4920 S 5TH AVE TRLR 6                                           POCATELLO        ID         83204                 6002                Various                                                                                                $4.49
TINA WILEY                    1300 BRIGGS COURT           APT 506                             STEVENS POINT    WI         54481                 6004                Various                                                                                                $2.00
TINA WILSON                   745 WASHAKIE ST APT 1                                           LANDER           WY         82520                 6002                Various                                                                                                $1.97
TINA WOOD                     2537 N. 60TH                                                    LINCOLN          NE         68507                 6004                Various                                                                                                $4.00
TINA YOUNG                    621 ORCHARD                                                     DONNELLSON       IA         52625                 6004                Various                                                                                               $15.00
TINA ZARD                     1701 N MAIN ST                                                  MITCHELL         SD         57301                 6002                Various                                                                                                $8.30

TINGTING LIU                  1535 NE MERMAN DRIVE APT B3                                     PULLMAN          WA         99163                  6004               Various                                                                                            $46.98
TIONA JIMENEZ                 1301 INDUSTRAL AVE          APT 36                              BILLINGS         MT         59101                  6004               Various                                                                                             $2.00
TIONNA BASS                   1805 LLOYD APT 1C                                               BELLEVUE         NE         68005                  6004               Various                                                                                             $2.00
TITANIC ASSOCIATES            SKHT TOMAHAWK LLC           83 SOUTH STREET                     MORRISTOWN       NJ         07960                  7055               Various                                                                                        $12,966.28
TJ NORVIEL                    14808 GILES RD #308                                             OMAHA            NE         68138                  6004               Various                                                                                            $25.00




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                                                                                                                                                                Account         Incurred, Basis for
             Creditor Name                    Address1                 Address2         Address3              City          State           Zip    Country      Number                Claim                                                                             Total Claim
                                    39 FACHANG ROAD NANQU
                                    INDUSTRIAL ZONE, RONGGUI                                                           GUANGDO
TMI L L C                           STREET                                                           FOSHAN            NG      528306             CHINA      7956               Various                                                                                       $536,015.60
                                    212 OLD GRANDE BLVD SUITE C-
TMM INVESTMENTS LTD                 100                                                              TYLER             TX           75703-4266               9501               Various                                                                                         $6,508.00
                                                                   29683 WILLIAM K
TNG WORLDWIDE INC                   VICE PRESIDENT OF SALES        SMITH DRIVE                       NEW HUDSON        MI           48105                    4211               Various                                                                                       $126,666.43
TO THE ESTATE OF GLORIA WESTFALL    C/O BRYAN WESTFALL             1193 ALVARADO                     SIDNEY            NE           69162                    6002               Various                                                                                             $1.00

TO THE ESTATE OF MINNIE BOARDMAN    C/O CAROL TURNER               1824 TORUN ROAD                   STEVENS POINT     WI           54482                    6002               Various                                                                                                $0.50

TO THE ESTATE OF PATRICIA GOODE     C/O JENNIFER GOODE             6466 N NEWCASTLE                  CHICAGO           IL           60631                    6002               Various                                                                                                $7.70
TOBEY DEMUTH                        943 FAVERSHAM WAY                                                GREEN BAY         WI           54313                    6002               Various                                                                                                $9.62
TOBEY SHERIDAN                      321 E WALNUT ST                                                  RAWLINS           WY           82301                    6002               Various                                                                                                $0.96
TOBIE ROPP                          22255 320TH ST                                                   JAMESPORT         MO           64648                    6002               Various                                                                                                $6.11
TOBY ERICKSON                       PO BOX 984                                                       EAST HELENA       MT           59635                    6004               Various                                                                                               $13.00
TOBY MYERS                          115 6TH ST W                                                     MANTORVILLE       MN           55955                    6002               Various                                                                                                $6.44
TOBY PARADIS                        236 ELM ST                                                       TRACY             MN           56175                    6004               Various                                                                                                $3.00
TOBY SHOOPMAN                       1216 N 13TH ST                                                   BEATRICE          NE           68310                    6002               Various                                                                                                $6.71
TOBY W EVANS                        RRA BOX # 1128                                                   DONIPHAN          MO           63935                    6002               Various                                                                                                $9.01
TOCCARA KIMBALL                     3002 ASHFORD LANE                                                MADISON           WI           53713                    6004               Various                                                                                                $1.00
TOD PLANER                          3050 TOWNLINE RD                                                 WISCONSIN RAPID   WI           54494                    6002               Various                                                                                                $6.66
TOD TRIGG                           9531 RUGGLES STREET                                              OMAHA             NE           68134                    6004               Various                                                                                               $10.00
TOD YOUNG                           676 N. 400 W.                                                    BRIGHAM CITY      UT           84302                    6004               Various                                                                                               $63.00
TODD ANDERSON                       155 1/2 THIRD ST                                                 FOND DU LAC       WI           54935                    6002               Various                                                                                                $7.81
TODD ANDRES                         1903 RIVERSIDE DR UNIT D                                         GREEN BAY         WI           54313                    6002               Various                                                                                               $10.00
TODD AXFORD                         295 COPPER ST                                                    ISHPEMING         MI           49849                    6002               Various                                                                                                $1.81
TODD BAVERS                         1025 WISCONSIN AVE                                               N.FOND DU LAC     WI           54937                    6004               Various                                                                                               $19.99
TODD BELIEL                         8575 EDNA LN.                                                    MIDDLETON         ID           83644                    6004               Various                                                                                                $5.02
TODD BELTEZORE                      102 N BERGER PKWY APT L9                                         FOND DU LAC       WI           54935                    6002               Various                                                                                                $6.90
TODD BURGIN                         BOX 393                                                          LAVA HOT SPRING   ID           83246                    6002               Various                                                                                                $9.64
TODD CHIAVEROTTI                    643 DIVISION STREET                                              DARLINGTON        WI           53530                    6004               Various                                                                                               $22.00
TODD DAY                            960 ELLIOTT ST                                                   WHEATLAND         WY           82201                    6002               Various                                                                                                $4.77
TODD DEHNERT                        506 E STREET                                                     FORT ATKINSON     WI           53538                    6002               Various                                                                                                $3.95
TODD DEVINGER                       2090 NANCY DR                                                    TOMAHAWK          WI           54487                    6002               Various                                                                                                $6.88
TODD E. PATTON                      2821 26TH AVE                                                    KENOSHA           WI           53140                    6002               Various                                                                                                $0.55
TODD FRYER                          521 1ST ST SW                                                    WATERTOWN         SD           57201                    6002               Various                                                                                                $1.34
TODD HARTZHEIM                      701 BROAD STREET                                                 MENASHA           WI           54952                    6004               Various                                                                                                $4.00
TODD HARVEY                         34385 GRAND AVE                                                  STACY             MN           55079                    6004               Various                                                                                               $15.00
TODD HEYREND                        1960 SANTALEMA DR                                                IDAHO FALLS       ID           83404                    6002               Various                                                                                                $0.79
TODD HOPKINS                        332 SALLY ST                                                     SEYMOUR           WI           54165                    6004               Various                                                                                                $4.00
TODD JOHNSON                        146 WOOD AVE                                                     NEKOOSA           WI           54457                    6004               Various                                                                                               $34.27
TODD KEARNEY                        615 CORNER STREET                                                LODI              WI           53555                    6004               Various                                                                                               $23.00
TODD KILLBERG                       1208 26TH ST S                                                   LA CROSSE         WI           54601                    6002               Various                                                                                                $6.11
TODD KUEHLER                        PO BOX 31                                                        HUMPHREY          NE           68642                    6004               Various                                                                                               $20.00
TODD LODGE                          320 12TH SE                                                      MASON CITY        IA           50401                    6004               Various                                                                                               $20.00
TODD LYN BJURQUIST                  W904 110TH AVE                                                   PLUM CITY         WI           54761                    6002               Various                                                                                                $5.78
TODD M PORTER                       PO BOX 545                                                       WISNER            NE           68791                    6002               Various                                                                                                $0.63
TODD MCILRATH                       1626 KINGS MILL WAY #212                                         MADISON           WI           53718                    6004               Various                                                                                                $5.70
TODD MELTON                         204 E HOUGHTON ST                                                TUSCOLA           IL           61953                    6002               Various                                                                                                $2.11
TODD METZGER                        210 MERCY STREET                                                 BETHEL            MO           63434                    6004               Various                                                                                               $10.00
TODD MICHAEL BEHM                   805 9TH ST                                                       WAUPACA           WI           54981                    6002               Various                                                                                                $9.42
TODD MILLER                         W5627 290TH AVE                                                  BAY CITY          WI           54723                    6002               Various                                                                                                $6.25
TODD MUSKEVITSCH                    1312 LAWRRENCE ST                                                NEW LONDON        WI           54961                    6004               Various                                                                                               $40.00




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                                                                                                                                                  Account         Incurred, Basis for
              Creditor Name               Address1            Address2         Address3             City        State           Zip   Country     Number                Claim                                                                             Total Claim
TODD MYERS                     PO BOX 115                                                   WEIPPE           ID         83553                 6002                Various                                                                                                $1.15
TODD NELSON                    1538 OLD HICKORY DR                                          LA CRESCENT      MN         55947                 6002                Various                                                                                                $4.88
TODD NEUMEISTER                1004 WINDHILL ST                                             ONALASKA         WI         54650                 6002                Various                                                                                                $6.38
TODD NEWCOMB                   1935 COLORADO DR                                             GREEN RIVER      WY         82935                 6002                Various                                                                                                $2.49
TODD NOBLE                     W1506 DECATOR ALBANY RD                                      BRODHEAD         WI         53520                 6004                Various                                                                                                $6.30
TODD OLSEN                     2906 HANNAH STREET                                           MARINETTE        WI         54143                 6004                Various                                                                                               $20.00
TODD OLUND                     9102 BIRCH ST                                                SCHOFIELD        WI         54476                 6004                Various                                                                                               $60.00
TODD PETERSON                  E10010 CTY RD I                                              CLINTONVILLE     WI         54929                 6002                Various                                                                                               $15.40
TODD POSPISIL                  901SO. PINE STREET                                           NORFOLK          NE         68701                 6004                Various                                                                                               $10.00
TODD R JENSEN                  W2282 DOYLESTOWN RD                                          FALL RIVER       WI         53932                 6002                Various                                                                                                $0.55
TODD R. NASS                   1509 CENTER ST                                               WATERTOWN        WI         53098                 6002                Various                                                                                                $1.53
TODD ROTH                      15018 MARTHA CIR                                             OMAHA            NE         68144                 6002                Various                                                                                                $3.62
TODD SANN                      3323 N 13TH ST                                               WAUSAU           WI         54403                 6002                Various                                                                                                $1.10
TODD SCHAAR                    121 PARK AVE.                                                SAINT CLOUD      MN         56301                 6004                Various                                                                                                $3.00
TODD SCHOLZ                    6301 S PALOUSE RIVER RD                                      COLFAX           WA         99111                 6004                Various                                                                                               $10.02
TODD SELENKA                   1902 HILL AVE                                                FRIENDSHIP       WI         53934                 6002                Various                                                                                               $29.99
TODD SELLERGREN                330 3RD ST NW                                                WAUCOMA          IA         52171                 6002                Various                                                                                                $1.92
TODD SHIGLEY                   306 24TH AVE S                                               GREAT FALLS      MT         59405                 6002                Various                                                                                                $1.26
TODD SHIRLEY                   10003 KING GEORGE LANE                                       WAXHAW           NC         28173                 6004                Various                                                                                               $22.00
TODD SKUROK                    538 S BURRITT AVE                                            BUFFALO          WY         82834                 6002                Various                                                                                                $6.60
TODD STAHMANN                  W 7853 CEMETARY ROAD                                         VAN DYNE         WI         54979                 6004                Various                                                                                               $25.00
TODD STOLL                     BOX 82                                                       DENT             MN         56528                 6002                Various                                                                                                $6.60
TODD THORNWALL                 555 E GARDEN ST                                              CHIPPEWA FALLS   WI         54729                 6002                Various                                                                                                $0.66
TODD W CHARLTON                PO BOX 10                                                    ROUNDUP          MT         59072                 6002                Various                                                                                                $6.38
TODD WYNKOOP                   603 W 200TH S                                                SPANISH FORK     UT         84601                 6002                Various                                                                                                $1.73
TODD ZAESKE                    W67 N864 WASHINGTON AVE                                      CEDARBURG        WI         53012                 6002                Various                                                                                                $3.97
TOM *** ISHII                  9810 DEER ST                                                 AUMSVILLE        OR         97325                 6004                Various                                                                                               $25.80
TOM ADOLPHS                    304 HARRIS AVE                                               HANCOCK          MI         49930                 6002                Various                                                                                                $1.10
TOM BEDDOES                    75 BELLVUE AVE                                               LANDER           WY         82520                 6002                Various                                                                                                $7.32
TOM BELL                       821 W 3RD ST                                                 NORTH PLATTE     NE         69101                 6002                Various                                                                                                $3.81
TOM CARTER                     614 1/2 11TH ST N                                            GREAT FALLS      MT         59401                 6002                Various                                                                                                $7.84
                               1227 COMMONWEALTH DRIVE
TOM CHLADIL                    #1                                                           FORT ATKINSON    WI         53538                  6004               Various                                                                                                $5.70
TOM CZARNECKI                  206 WEST HIDDEN TRAIL                                        ELKHORN          WI         53121                  6004               Various                                                                                                $3.01
TOM D PREBBLE                  115 N 9TH ST                                                 STERLING         KS         67579                  6002               Various                                                                                                $2.14
TOM GONNERMAN                  506 8TH AVE                                                  SHELDON          IA         51201                  6002               Various                                                                                                $2.96
TOM H. HAMRIN                  416 S DOLLAR ST                                              COEUR D ALENE    ID         83814                  6002               Various                                                                                                $1.53
TOM HIPKE                      128 E MAIN ST                                                LENA             WI         54139                  6002               Various                                                                                                $6.11
TOM HOLMSTROM                  530 W 7TH ST                                                 LARNED           KS         67550                  6002               Various                                                                                                $3.23
TOM IGNACIO                    102 DEER VALLEY RD.       APT. 7                             MADISON          WI         53713                  6004               Various                                                                                               $21.00
TOM KASPER                     123 ROEDL CT                                                 BEAVER DAM       WI         53916                  6002               Various                                                                                                $2.60
TOM KELNHOFER                  1312 LIBERTY ST                                              OSHKOSH          WI         54901                  6002               Various                                                                                                $9.10
TOM KOYEN                      W2389 4TH STREET RD                                          FOND DU LAC      WI         54937                  6002               Various                                                                                                $4.25
TOM KRAEMER INC                PO BOX 443                                                   COLD SPRING      MN         56320                  3602               Various                                                                                               $85.50
TOM KULHANEK                   1070 2ND RD                                                  WISNER           NE         68791                  6002               Various                                                                                                $6.55
TOM LANGHORST                  212 N 6TH ST                                                 HOWELLS          NE         68641                  6002               Various                                                                                                $9.75
TOM LARSON                     121 PARK AVE S                                               SAINT CLOUD      MN         56301                  6004               Various                                                                                                $6.00
TOM MERRIGAN                   330 N CHESTNUT ST                                            JAMESON          MO         64647                  6002               Various                                                                                                $9.81
TOM MISKOWSKI                  4566 HARTZELL LN APT 1                                       EAU CLAIRE       WI         54703                  6002               Various                                                                                                $8.55
TOM MORK                       2506 6TH DR N.W                                              AUSTIN           MN         55912                  6004               Various                                                                                               $25.00
TOM NEKUDA                     PO BOX 236                                                   WISNER           NE         68791                  6002               Various                                                                                                $8.60
TOM NICKEL                     11820 MAIN ST                                                TREMPEALEAU      WI         54661                  6002               Various                                                                                                $0.68
TOM R BROWN                    1907 E MONTANA AVE                                           COEUR D ALENE    ID         83814                  6002               Various                                                                                                $0.79
TOM SCHAEFER                   7012 SE HARBOR CIR                                           STUART           FL         34996                  6002               Various                                                                                                $3.26




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             Creditor Name                    Address1             Address2          Address3            City        State         Zip    Country     Number                Claim                                                                             Total Claim
TOM SCHREINER                     2446 FIR TRL                                                   HARRISON         MI         48625                6002                Various                                                                                             $1.62
TOM STEBBINS                      W9881 JACKSON RD                                               BEAVER DAM       WI         53916                6004                Various                                                                                            $10.00
TOM VOYCHESKE                     2212 SO 43 ST                                                  OMAHA            NE         68105                6004                Various                                                                                            $18.50
TOM WEBB                          6 EMS # T242B                                                  LEESBURG         IN         46538                6002                Various                                                                                             $6.52
TOM ZIMMERMAN                     321 W MAIN ST                                                  NORTON           KS         67654                6002                Various                                                                                             $3.32
TOM(TOBY) ROWLAND                 209 W NICKEL ST                                                SALEM            NE         68433                6002                Various                                                                                             $2.93
TOMACITA HERRERA                  2830 SPENCER AVENUE                                            MAGNA            UT         84044                6004                Various                                                                                            $30.00
TOMAHAWK CHAMBER OF COMMERCE      208 NORTH 4TH STREET        PO BOX 412                         TOMAHAWK         WI         54487                6666                Various                                                                                          $250.00
TOMAS DAVIS CUEVA                 4401 S 27TH ST APT E16                                         LINCOLN          NE         68512                6002                Various                                                                                             $2.03
TOMAS LUNA-MORENO                 111 1/2 S 2ND ST                                               WATERTOWN        WI         53094                6002                Various                                                                                            $10.00
TOMAS OPORTO                      1619 ALABAMA ST                                                BELLINGHAM       WA         98226                6002                Various                                                                                             $8.52
TOMAS SIERRA                      511 FRANKLIN ST                                                BELVIDERE        IL         61008                6004                Various                                                                                            $16.00
TOMAS SILVA                       7463 LATERAL A                                                 WAPATO           WA         98951                6004                Various                                                                                            $15.00
TOMASA LORENZO MAYIC              725 E DOUGLAS ST                                               ONEILL           NE         68763                6002                Various                                                                                             $5.26
TOMBARI GRANT PARTNERSHIP         TOMBARI-GRANT               SUITE 202        4102 S REGAL      SPOKANE          WA         99223-0000           9667                Various                                                                                         $8,000.00
TOMMIE DUARTE                     710 JOHN G MINE RD                                             HELENA           MT         59602                6004                Various                                                                                            $20.00
TOMMIE GIBBS                      110 SUSAN PLACE                                                JUNCTION CITY    OR         97448                6004                Various                                                                                            $35.00
TOMMY CHARETTE                    PO BOX 643                                                     LAME DEER        MT         59043                6004                Various                                                                                            $25.00
TOMMY J CAMPBELL                  PO BOX 43                                                      POST FALLS       ID         83877                6002                Various                                                                                             $0.36
TOMMY L SHEARS                    5907 N COLEMAN RD                                              COLEMAN          MI         48618                6002                Various                                                                                             $6.03
                                  509 NORTH KENNINGSTON DRIVE
TOMMY LOR                         #2                                                             APPLETON         WI         54915                  6004              Various                                                                                               $1.00
TOMMY OWENS                       515 N BARNES DR                                                GARLAND          TX         75042                  6002              Various                                                                                               $6.88
TOMMY SARGENT                     2417 W 5TH ST                                                  DULUTH           MN         55806                  6004              Various                                                                                               $3.16

TOMMY SHERWOOD                    71 RIVERS EDGE RD NW APT 112                                   KALKASKA         MI         49646                 6002               Various                                                                                             $5.18
TOMMY TAYLOR                      N7982 STATE HWY 187                                            SHIOCTON         WI         54170                 6004               Various                                                                                             $4.00
TOMMY TULLOS                      5726 N 82ND ST                                                 OMAHA            NE         68134                 6002               Various                                                                                             $6.71
TOMMY WYSOCKI                     W6735 STRAWBERRY RD                                            ONALASKA         WI         54650                 6004               Various                                                                                             $2.91
TOMS OF MAINE INC                 PO BOX 417416                                                  BOSTON           MA         02241-7416            7206               Various                                                                                        $12,149.33
TOMY INTERNATIONAL INCORPORATE    39792 TREASURY CENTER                                          CHICAGO          IL         60694-9700            6128               Various                                                                                        $54,857.67
TONDA GUSMAN                      5532 SHADY CREEK CT                                            LINCOLN          NE         68516                 6004               Various                                                                                             $4.00
TONETTE FLORA                     W6234 SUBWAY RD                                                FOND DU LAC      WI         54937                 6002               Various                                                                                             $3.29
TONG SENG XIONG                   1219 RALEIGH ST                                                GREEN BAY        WI         54304                 6002               Various                                                                                             $7.97
TONGA KOLI                        1211 W 400TH S                                                 SALT LAKE CITY   UT         84104                 6002               Various                                                                                             $7.67
TONI BUCKMINSTER                  65954 712TH                                                    RULO             NE         68431                 6002               Various                                                                                             $8.66
TONI CONRAD                       400 S COTTRELL DR                                              SAUKVILLE        WI         53080                 6002               Various                                                                                             $1.92
TONI FLETCHER                     16583 PROFIT CIRCLE #102                                       NAMPA            ID         83687                 6004               Various                                                                                            $35.70
TONI GALE                         712 S 16TH AVE                                                 FREEPORT         IL         61032                 6002               Various                                                                                            $10.00
TONI GILBERT                      29 NORTH CEDAR LAKE ROAD                                       MASON CITY       IA         50401                 6004               Various                                                                                             $5.02
TONI GONNERMAN                    115 15TH ST NE                                                 MASON CITY       IA         50401                 6002               Various                                                                                             $2.27
TONI HARMDIERKS                   45272 234TH ST                                                 MADISON          SD         57042                 6002               Various                                                                                             $0.82
TONI HELMUELLER                   W6756 450TH AVE                                                ELLSWORTH        WI         54011                 6002               Various                                                                                             $7.64
TONI HOGUE                        418 HARMONY LN                                                 ELKHORN          WI         53121                 6004               Various                                                                                            $25.00
TONI JONES                        331 N PINE                                                     KIMBERLY         WI         54136                 6004               Various                                                                                             $3.00
TONI M KOSITZKE                   N4514 CTY ROAD EE                                              APPLETON         WI         54913                 6002               Various                                                                                             $1.62
TONI PETERSON                     2922 ABBEY HILL DR.                                            EAU CLAIRE       WI         54703                 6004               Various                                                                                            $10.00
TONI PINNER                       818 W HAMILTON                                                 FREEPORT         IL         61032                 6004               Various                                                                                             $3.31
TONI R DILL                       622 PARK ST                                                    LARNED           KS         67550                 6002               Various                                                                                             $7.89
TONI REAVES                       1500 51ST ST S                                                 GREAT FALLS      MT         59405                 6002               Various                                                                                             $3.75
TONI ROBBINS                      827 N D ST                                                     MONMOUTH         IL         61462                 6002               Various                                                                                             $1.75
TONI SIEH                         12817 24TH AVE                                                 PLATTSMOUTH      NE         68048                 6002               Various                                                                                             $3.29
TONI STEPHENSON                   1661 LAKE POINT DR APT 303                                     MADISON          WI         53713                 6002               Various                                                                                             $6.68
TONI STERRY                       1114 SOUTHRIDGE COURT                                          MADISON          WI         53704                 6004               Various                                                                                             $5.95




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              Creditor Name                Address1             Address2         Address3              City       State           Zip   Country     Number                Claim                                                                             Total Claim
TONI STIRLING                  3106 S 17TH ST                                                 OMAHA            NE         68108                 6004                Various                                                                                            $20.00
TONI TESTA                     300 ALEXANDER ROAD                                             LINCOLN          NE         68521                 6004                Various                                                                                             $5.00
TONI WALLANDER                 36711 336TH LN                                                 AITKIN           MN         56431                 6002                Various                                                                                             $8.14
TONIA ROMERO                   540 SUGAR CREEK ROAD #15                                       DELAVAN          WI         53115                 6004                Various                                                                                             $4.98
TONIA SCHMITT                  36 1/2 SHERMAN PL                                              APPLETON         WI         54911                 6002                Various                                                                                             $3.67
TONIA SPOTTED WOLF             3020 7TH AVENUE NORTH                                          BILLINGS         MT         59101                 6004                Various                                                                                            $40.00
TONIA WORTHEN                  1711 NORTHWAY DR             APT 7                             NORTH MANKATO    MN         56003                 6004                Various                                                                                             $3.00
TONY BACHMAN                   1005 N SYCAMORE AVE                                            SIOUX FALLS      SD         57110                 6002                Various                                                                                             $7.01
TONY BAKKE                     618 S 2ND AVE APT 2                                            SIOUX FALLS      SD         57104                 6002                Various                                                                                             $5.67
TONY BERGNER                   1626 SARAH CT                                                  SUAMICO          WI         54173                 6004                Various                                                                                            $20.00
TONY BROWN                     4668 HEMLOCK WAY                                               NAMPA            ID         83687                 6004                Various                                                                                            $14.98
TONY BURTON                    1222 RANDALL                                                   BELOIT           WI         53511                 6004                Various                                                                                             $2.00
TONY BUSH                      902 LOCUST ST                                                  DONIPHAN         MO         63935                 6002                Various                                                                                             $8.55
TONY CANDELARIO                201 N DOUGLAS AVENUE                                           LYONS            KS         67554                 6002                Various                                                                                             $3.52
TONY CHEN                      N36W23431 OAK HILL LN                                          PEWAUKEE         WI         53072                 6004                Various                                                                                            $26.25
TONY CROCKER                   PO BOX 207                                                     KOOSKIA          ID         83539                 6002                Various                                                                                             $9.04
TONY DAVID LUEDKE              204 N MILL ST                                                  WEYAUWEGA        WI         54983                 6002                Various                                                                                             $4.85
TONY DONDLINGER                725 N 11TH STREET                                              MANITOWOC        WI         54220                 6002                Various                                                                                           $107.20
TONY GUNDERMANN                4252 FAS # 438                                                 LARSLAN          MT         59244                 6002                Various                                                                                             $2.47
TONY HOEKMAN                   1849 PARK AVE                                                  BELOIT           WI         53511                 6004                Various                                                                                             $2.00
TONY HUTTON                    64548 723RD RD                                                 NEMAHA           NE         68414                 6002                Various                                                                                             $3.51
TONY KEMPEN                    2331 SPRINGVILLE DR                                            PLOVER           WI         54467                 6004                Various                                                                                            $60.00
TONY KLINE                     221 MELROSE STREET                                             MODESTO          CA         95359                 6004                Various                                                                                             $3.80
TONY KOLODZIK                  333 WEST HURON                                                 OMRO             WI         54963                 6004                Various                                                                                            $10.00
TONY L JONES                   904 2ND STREET                                                 WEBSTER CITY     IA         50595                 3959                Various                                                                                           $250.00
TONY LEE BAKKEN                PO BOX 106                                                     BAY CITY         WI         54723                 6002                Various                                                                                             $5.86
TONY LEVASSEUR                 1080 HIGHWAY 236                                               AFTON            WY         83110                 6002                Various                                                                                             $6.11
TONY MADSEN                    4441 W 6095TH                                                  SALT LAKE CITY   UT         84118                 6002                Various                                                                                             $0.93
TONY MARKETTI                  3602 N OAKLEY AVE                                              CHICAGO          IL         60618                 6002                Various                                                                                             $9.78
TONY MARTIN                    309 N GROVE ST                                                 GLENWOOD         IA         51534                 6002                Various                                                                                             $1.78
TONY MAUHAR                    815 DAKOTA AVE                                                 GLADSTONE        MI         49837                 6002                Various                                                                                             $0.58
TONY MESEBERG                  706 WATERLOO ST                                                COLUMBUS         WI         53925                 6002                Various                                                                                             $8.03
TONY MURPHY                    4227 INDIAN HEAD RD                                            GRAND ISLAND     NE         68803                 6004                Various                                                                                            $30.00
TONY NGUYEN                    815 RUMLEY RUN                                                 DE FOREST        WI         53532                 6004                Various                                                                                             $1.00
TONY NICHOLSON                 821 BRANDIE RD                                                 MADISON          WI         53714                 6004                Various                                                                                            $10.00
TONY PERRY                     1001 29TH AVE SW                                               CEDAR RAPIDS     IA         52404                 6002                Various                                                                                             $0.58
TONY SPERBECK                  3353 PAULA STREET                                              GREEN BAY        WI         54311                 6004                Various                                                                                            $20.00
TONY YBARRA                    3835 N 56TH ST                                                 LINCOLN          NE         68504                 6002                Various                                                                                             $2.96
TONYA ARNOLD                   10483 W LANDMARK CT                                            BOISE            ID         83704                 6002                Various                                                                                             $8.85
TONYA BACON                    2522 CHICKASAW DRIVE                                           JANESVILLE       WI         53545                 6004                Various                                                                                            $20.40
TONYA COOL                     517 E 4TH ST                                                   SUPERIOR         NE         68978                 6002                Various                                                                                             $1.59
TONYA CRAWFORD                 114 1/2 FAYE AVE                                               NEWCASTLE        WY         82701                 6002                Various                                                                                             $3.45
TONYA DAVIS                    HC 4 BOX 450                                                   DONIPHAN         MO         63935                 6002                Various                                                                                             $7.37
TONYA FELTEN                   223 1/2 EAST KING                                              WINONA           MN         55987                 6004                Various                                                                                             $3.00
TONYA HALL                     PO BOX 53                                                      SOUTH BOARDMAN   MI         49680                 6002                Various                                                                                             $1.78
TONYA HAUKAAS                  2010 JUNCTION AVE                                              STURGIS          SD         57785                 6002                Various                                                                                             $6.30
TONYA KISER                    1951 SOUTH 13 ST                                               MISSOULA         MT         59801                 6004                Various                                                                                            $13.00
TONYA KREJCI                   919 GRANT ST                                                   HOLDREGE         NE         68949                 6002                Various                                                                                             $5.86
TONYA NOVOTNY                  401 ELM DR                                                     MANKATO          MN         56001                 6002                Various                                                                                            $28.00
TONYA OVERTON                  3610 PARK RIDGE DR                                             NAMPA            ID         83687                 6004                Various                                                                                             $1.00
TONYA ROBISON                  744 WALL AVE                                                   OGDEN            UT         84404                 6002                Various                                                                                             $0.38
TONYA SCHEER                   2175 NOBLES STREET APT 204                                     WORTHINGTON      MN         56187                 6004                Various                                                                                             $3.00
TONYA WALL                     1200 S 1500TH E APT 2014C                                      CLEARFIELD       UT         84015                 6002                Various                                                                                             $4.74




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                                                                  RR 6 2120 PINE
TONYS LANDSCAPING SERVICE            ANTHONY G NIESPODZAHY        TREE ROAD                             DE PERE            WI           54115                    3400               Various                                                                                         $6,709.50
TOODLES (FEL BITTO                   123 NEED ADDRESS                                                   DEPERE             WI           54115                    6002               Various                                                                                             $6.25
                                                                  PO BOX 99435 FILE
TOOTSIE ROLL INDUSTRIES INCORP       TRI SALES FINANCE LLC        9                                     CHICAGO            IL           60693                    9308               Various                                                                                       $356,147.19
TOP PROMOTIONS DBA TOP APPAREL       8831 S GREENVIEW DRIVE                                             MIDDLETON          WI           53562                    5962               Various                                                                                       $309,662.16
TOPCON MEDICAL SYSTEMS INCORPO       111 BAUER DRIVE                                                    OAKLAND            NJ           07436                    9470               Various                                                                                         $9,637.70
TOPPS CHEWING GUM INCORPORATED       PO BOX 4050 CHURCH S                                               NEW YORK           NY           10261                    9418               Various                                                                                        $12,443.91
TOPS PRODUCTS                        LSC COMMUNICATIONS US LLC    PO BOX 776411                         CHICAGO            IL           60677-6411               6034               Various                                                                                        $58,607.44
TORENG MOSS                          4007 MAPLE ST                                                      OMAHA              NE           68111                    6004               Various                                                                                             $4.00
TORI A GOLD                          1508 W PERSHING ST                                                 APPLETON           WI           54914                    6002               Various                                                                                             $2.88
TORI CRAWFORD                        620 SUNRISE DR                                                     CLARKSTON          WA           99403                    6004               Various                                                                                             $9.00
TORI FRYE-MARTEL                     1300 KUHLE DR                                                      SUN PRAIRIE        WI           53590                    6004               Various                                                                                             $9.40
TORI MUDLER                          5968 SCHROEDER RD APT A                                            MADISON            WI           53711                    6004               Various                                                                                             $3.00
TORI QUADE                           114 PLEASANT STREET WEST                                           GARDEN CITY        MN           56034                    6004               Various                                                                                             $6.00
TORI R COTE                          BOX 46                                                             SPRAGUE            MB           R0A1Z         CANADA     6002               Various                                                                                             $5.18
TORI SAUNDERS                        256 W 25TH S                                                       CLEARFIELD         UT           84015                    6002               Various                                                                                             $2.19
TORI SNIDER                          5150 EXPO DRIVE              APT 202                               MANITOWOC          WI           54220                    6004               Various                                                                                             $5.00
TORI WACKER                          1802 BELAIR RD                                                     NORFOLK            NE           68701                    6004               Various                                                                                            $10.00
TORIA EISENBARTH                     84718 477TH AVE                                                    AMELIA             NE           68711                    6002               Various                                                                                             $7.53
TORIN THOMAS                         2152 LINDEN AVE                                                    MADISON            WI           53704                    6004               Various                                                                                             $4.00
TORIVIO NAVA                         601 1/2 S MAIN                                                     EDGERTON           WI           53534                    6004               Various                                                                                             $4.00
TORRI GRAY                           8106 SOUTHRIDGE DR                                                 ROTHSCHILD         WI           54474                    6002               Various                                                                                             $6.16
TORRI GREEN                          1034 MCKENNA BLVD                                                  MADISON            WI           53719                    6004               Various                                                                                             $1.00
TORRIE CAMPANELLI                    W251N8977 CRESTWOOD DR                                             LISBOND            WI           53089                    6004               Various                                                                                             $3.00
TORRINGTON BEVERAGE INCORPORAT       4394 MCKENNA ROAD                                                  TORRINGTON         WY           82242                    3522               Various                                                                                         $8,812.10
TORY HOMMEE                          1203 KLAUS ST                                                      GREEN BAY          WI           54302                    6004               Various                                                                                            $25.00
TORY SUEHS                           509 ZION RD                                                        TIGERTON           WI           54486                    6002               Various                                                                                             $2.90
TOSHA FLOWERS                        1117 HILLS AVENUE                                                  SIOUX CITY         IA           51104                    6004               Various                                                                                            $80.00
TOTAL CUSTOM PAINTING                2481 BRENNER PL                                                    GREEN BAY          WI           54301                    5387               Various                                                                                          $110.00
TOTAL DISPOSAL                       100 BLAINE STREET                                                  GARY               IN           46406                                       Various                                                                                          $911.25
TOTES ISOTONER CORPORATION           PO BOX 633381                                                      CINCINNATI         OH           45263-3381               5115               Various                                                                                        $88,758.35
TOU YANG                             1912 A S 12TH STREET                                               SHEBOYGAN          WI           53081                    6004               Various                                                                                            $60.00

TOUA KHANG                           1621 SAMPSON ST                                                    WISCONSIN RAPIDS   WI           54494                    6004               Various                                                                                             $3.00
TOWLES FAMILY                        46455 MAPLE ST                                                     DODGEVILLE         MI           49921                    6002               Various                                                                                             $6.90
TOWN & COUNTRY SANITATION            PO BOX 7                                                           BOSCOBEL           WI           53805                                       Various                                                                                           $945.00
                                                                                                                                                                                    11/27/2018 -
TOWN OF BUENA VISTA WATER DEPT, CO   PO BOX 2002                                                        BUENA VISTA        CO           81211                    8-002              12/26/2018                                                                                            $47.96
                                     P.O. BOX 238 NATURAL GAS -                                                                                                                     12/1/2018 -
TOWN OF CENTERVILLE, TN              WATER - SEWAGE                                                     CENTERVILLE        TN           37033                    00-02              12/26/2018                                                                                        $662.62
                                     P.O. BOX 400 C/O DEMOTTE                                                                                                                       12/1/2018 -
TOWN OF DEMOTTE, IN                  STATE BANK                                                         DEMOTTE            IN           46310                    2 00               12/31/2018                                                                                        $162.79
                                                                                                                                                                                    11/21/2018 -
TOWN OF GREYBULL, WY                 PO BOX 271                                                         GREYBULL           WY           82426                    21.3               12/19/2018                                                                                        $296.70
                                                                                                                                                                                    12/1/2018 -
TOWN OF MOUNTAIN VIEW, WY            PO BOX 249                                                         MOUNTAIN VIEW      WY           82939                    75.2               12/31/2018                                                                                        $141.16
                                     418 EAST MAIN WATER                                                                                                                            11/30/2018 -
TOWN OF SPRINGERVILLE, AZ            DEPARTMENT                                                         SPRINGERVILLE      AZ           85938                    0.02               12/31/2018                                                                                        $129.45
                                     MERCHANT FINANCIAL
TOWNLEY INCORPORATED                 CORPORATION                  PO BOX 716          MIDTOWN STATION   NEW YORK           NY           10018-0000               5246               Various                                                                                        $71,717.58
TOWN-N-COUNTRY PLUMBING              1026 MAIN ST                                                       STURGIS            SD           57785                                       Various                                                                                          $252.75
TOYA ROBINSON                        917 MOORLAND RD                                                    MADISON            WI           53713                    6004               Various                                                                                             $5.40
TOYOTA LIFT OF MINNESOTA             8601 XYLON COURT                                                   BROOKLYN PARK      MN           55445                    5490               Various                                                                                         $2,267.76




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                                                                                                                                                                                                                                    Claim subject to offset?
                                                                                                                                                                                                          Unliquidated
                                                                                                                                                                                             Contingent


                                                                                                                                                                                                                         Disputed
                                                                                                                                                      Last 4 Digits of   Date Debt was
                                                                                                                                                         Account       Incurred, Basis for
              Creditor Name                 Address1               Address2         Address3              City          State         Zip    Country     Number              Claim                                                                             Total Claim
TOYS R US DELAWARE INC            ONE GEOFFREY WAY                                               WAYNE             NJ           07470                5934              Various                                                                                        $270,204.76
TPP 217 TAYLORSVILLE LLC          PO BOX 205418                                                  DALLAS            TX           75320-5418           8189              Various                                                                                         $14,798.70
                                                               2707 MT
TR JEWELRY CONCEPTS (C-HUB)       RIDDLES GROUP                RUSHMORE RD                       RAPID CITY        SD           57701                  3403            Various                                                                                         $3,116.75
TRACE V ORTH                      1125 E ST GERMAIN ST                                           SAINT CLOUD       MN           56304                  6002            Various                                                                                             $7.12
TRACEA L KERCHEVAL                6738 N 37TH ST                                                 OMAHA             NE           68112                  6002            Various                                                                                             $2.03
TRACEE S GRIFFITHS                5310 S 3200TH W                                                SPANISH FORK      UT           84660                  6002            Various                                                                                             $6.74
TRACEY A CLARK                    PO BOX 182                                                     FISH CREEK        WI           54212                  6002            Various                                                                                             $4.08
TRACEY E. TAICLET                 59 11 1/2 DICKINSON RD                                         DEPERE            WI           54115                  6002            Various                                                                                             $4.22
TRACEY GAUSMANN                   2608 E RACINE ST APT 4                                         JANESVILLE        WI           53545                  6004            Various                                                                                             $2.00
TRACEY HENNE                      14403 ROCKBLUFF AVE,                                           PLATTSMOUTH       NE           68048                  6004            Various                                                                                             $5.00
TRACEY HESSEL                     1575 ALLEN AVE                                                 GARNER            IA           50438                  6004            Various                                                                                            $40.00
TRACEY M. STRANGE                 5190 W 2400TH N # 52 PMB S                                     CORINNE           UT           84307                  6002            Various                                                                                             $4.30
TRACEY NEWCOMB                    6 POPE AVE                                                     CURTIS            NE           69025                  6002            Various                                                                                             $2.00
TRACEY ROBERTS                    608 E 7TH AVE                                                  REDFIELD          SD           57469                  6004            Various                                                                                            $20.00
TRACEY WEINGART                   807 W C STREET                                                 MOSCOW            ID           83843                  6004            Various                                                                                            $25.00
TRACEY ZAMORA                     872 E OXFORD DR                                                KAYSVILLE         UT           84037                  6004            Various                                                                                            $25.00
TRACFONE WIRELESS INCORPORATED    PO BOX 3103                                                    CAROL STREAM      IL           60132-3103             1097            Various                                                                                     $1,304,262.28
TRACI GASS                        151 22ND AVE S                                                 WISCONSIN RAPID   WI           54495                  6002            Various                                                                                             $6.27
TRACI HERMANN                     3334 12TH ST                                                   LEWISTON          ID           83501                  6002            Various                                                                                             $5.26
TRACI K SCHULTZ                   6151 COUGAR TRL                                                NORTH BRANCH      MN           55056                  6002            Various                                                                                             $5.07
TRACI L MALM                      602 TAMARACK ST                                                BADGER            MN           56714                  6002            Various                                                                                             $2.47
TRACI LAWATSCH                    55 STATE ST                                                    MARINETTE         WI           54143                  6002            Various                                                                                             $1.75
TRACI LINDSTEDT                   4618 BRIDGEPORT DR                                             GARLAND           TX           75043                  6002            Various                                                                                             $5.07
TRACI LLOYD                       733 PINECREST DRIVE #B                                         MADISON           WI           53714                  6004            Various                                                                                            $10.00
TRACI MINGS                       1424 PORTLAND AVE                                              WALLA WALLA       WA           99362                  6004            Various                                                                                            $38.00
TRACI NASSEN                      106 LAMINE LN                                                  COMBINED LOCKS    WI           54113                  6002            Various                                                                                            $10.00
TRACI NELSON                      43381 STARK ROAD LANE                                          HARRIS            MN           55032                  6004            Various                                                                                             $3.00
TRACI STEPP SERVILLE              2318 ALLIED DR               APT 3                             MADISON           WI           53711                  6004            Various                                                                                             $2.00
TRACINE DEIMER                    780 E 5500TH S                                                 OGDEN             UT           84405                  6002            Various                                                                                             $6.60
TRACY A WALLENDER                 1087 SHISHEBOGAMA DR                                           MINOCQUA          WI           54548                  6002            Various                                                                                             $0.85
TRACY ABILDSKOV                   1077 WEST 1200 NORTH                                           OREM              UT           84057                  6004            Various                                                                                             $1.00
TRACY BEGGS                       707 S RAILROAD ST            APT 8                             KIMBERLY          WI           54915                  6004            Various                                                                                            $25.00
TRACY BENSON                      APT 106                      5845 OAK STREET                   NORTH BRANCH      MN           55056                  6002            Various                                                                                             $0.28
TRACY BLAKE                       6105 APRIL LN                                                  MISSOULA          MT           59803                  6002            Various                                                                                             $8.27
TRACY BOND                        217 CLARK ST                                                   THERMOPOLIS       WY           82443                  6002            Various                                                                                             $5.53
TRACY BOUCHER                     PRERELEASE                                                     GREAT FALLS       MT           59404                  6002            Various                                                                                             $7.95
TRACY BRYANT                      515 6TH AVE S                                                  GREAT FALLS       MT           59405                  6002            Various                                                                                             $2.47
TRACY BURROWS                     507 E GREENFIELD ST                                            APPLETON          WI           54911                  6002            Various                                                                                             $3.73
TRACY C MCCRAKEN                  7830 S 26TH ST                                                 LINCOLN           NE           68512                  6002            Various                                                                                             $3.04
TRACY CASH                        5541 RIVERSIDE DR                                              ROCK ISLAND       WA           98850                  6004            Various                                                                                             $1.00
TRACY CISNEROZ                    509 EDWARD DR                                                  GREEN BAY         WI           54302                  6004            Various                                                                                            $12.79
TRACY COOPMANS                    436 DEWEY DECKER DR                                            GREEN BAY         WI           54313                  6004            Various                                                                                            $11.40
TRACY CROWELL                     13827 POLK CIRCLE                                              OMAHA             NE           68137                  6004            Various                                                                                            $30.50
TRACY CUMMINGS                    12553 AVE                                                      WESTGATE          IA           50681                  6002            Various                                                                                             $0.47
TRACY CUNNINGHAM                  19 SUPERIOR LN                                                 WINONA            MN           55987                  6002            Various                                                                                             $0.36
TRACY D SWANSON                   26233 MAIN ST                                                  HAMILL            SD           57534                  6002            Various                                                                                             $5.75
TRACY DUNLAP                      3358 S. 6400 W.                                                WEST VALLEY       UT           84128                  6004            Various                                                                                             $3.00
TRACY FINLAY                      PO BOX 31 PMB AVE                                              LETCHER           SD           57359                  6002            Various                                                                                             $9.75
TRACY FREDERICK                   61202 206 ST                                                   EAGLE LAKE        MN           56024                  6004            Various                                                                                             $3.00
TRACY HALL                        1216 S. 2ND ST. W.                                             MISSOULA          MT           59802                  6004            Various                                                                                             $8.00
TRACY HENDERSON                   510 7TH ST                                                     CALUMET           MI           49913                  6002            Various                                                                                             $4.19
TRACY IKENBERRY                   6003 SMOKY WAY                                                 BOISE             ID           83714                  6002            Various                                                                                             $8.25
TRACY JOHNSON                     100 BIRCH AVE N                                                NEW RICHLAND      MN           56072                  6004            Various                                                                                             $3.06




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                                                                                                                                                          Account         Incurred, Basis for
             Creditor Name                    Address1             Address2           Address3             City         State           Zip   Country     Number                Claim                                                                             Total Claim
TRACY KELLER                      211 GALLATIN ST                                                  SHELBY            MT         59474                 6002                Various                                                                                             $9.89
TRACY L BRAUNSCHWEIG              1508 EVERGREEN CT                                                ADAMS             WI         53910                 6002                Various                                                                                             $6.33
TRACY L SANDERS                   605 N 2ND ST TRLR 10                                             ABBOTSFORD        WI         54405                 6002                Various                                                                                             $3.75
TRACY LAMORE                      990 EAST BLACKWOLF AVENUE                                        OSHKOSH           WI         54902                 6004                Various                                                                                            $44.98
TRACY LARSEN                      1320 N. CHARLOTTE STREET                                         APPLETON          WI         54911                 6004                Various                                                                                            $43.00
TRACY LINDEMER                    1845 OLIVE ST                                                    OSHKOSH           WI         54901                 6002                Various                                                                                             $1.53
TRACY LOBERG                      911 5TH SOUTH STREET                                             NEW ULM           MN         56073                 6004                Various                                                                                            $15.30
TRACY MACE                        3613 W 8030 S                                                    WEST JORDAN       UT         84088                 6004                Various                                                                                             $2.02
TRACY MARTINEZ                    2667 N 2000TH W                                                  OGDEN             UT         84404                 6002                Various                                                                                             $1.81
TRACY MASON                       342 HIGH ST.                                                     WRIGHTSTOWN       WI         54180                 6004                Various                                                                                            $44.00
TRACY MC DONALD                   2066 SWANSTONE CIRCLE                                            DE PERE           WI         54115                 6004                Various                                                                                             $4.00
TRACY MEFFERD                     101 N WEST ST                                                    MISSOURI VALLEY   IA         51555                 6002                Various                                                                                             $9.45
TRACY MEYER                       1344 S 1870TH E                                                  HAZELTON          ID         83335                 6002                Various                                                                                             $8.90
TRACY MILLER                      811 S 22ND AVE                                                   WAUSAU            WI         54401                 6004                Various                                                                                            $20.00
TRACY MINNARD                     14904 NORMANDY BLVD                                              BELLEVUE          NE         68123                 6002                Various                                                                                             $2.96
TRACY MOOSE                       500 NW 4TH ST APT 204                                            BRAINERD          MN         56401                 6002                Various                                                                                             $6.96
TRACY MOUA                        3921 NASSAU BLVD                                                 PLOVER            WI         54467                 6004                Various                                                                                            $14.98
TRACY NOYES                       W5616 STONEHILL RD N                                             LA CROSSE         WI         54601                 6002                Various                                                                                             $1.73
TRACY ORR                         613 KETTLE LK RD                                                 KALKASKA          MI         49646                 6002                Various                                                                                             $1.78
TRACY OSTERGAARD                  822 DORAL DRIVE                                                  MARENGO           IL         60152                 6004                Various                                                                                             $5.00
TRACY PETERSON                    1611 27TH STREET                                                 TWO RIVERS        WI         54241                 6004                Various                                                                                            $23.00
TRACY ROBERTS                     618 E 7TH AVE                                                    REDFIELD          SD         57469                 6004                Various                                                                                            $23.00
TRACY ROGERS                      109 N. JACKSON ST                                                THORP             WI         54771                 6004                Various                                                                                            $15.99
TRACY RUBEL                       N2218 VACTION VILLAGE DR                                         WAUTOMA           WI         54982                 6004                Various                                                                                             $6.20
TRACY SATCHWELL                   50 S. GAMMON ROAD E                                              MADISON           WI         53717                 6004                Various                                                                                             $1.00
TRACY SCHREIBER                   136 PARK ST                                                      PULASKI           WI         54162                 6004                Various                                                                                             $4.00
TRACY SMITS                       1242 SHAWANO AVE                                                 GREEN BAY         WI         54303                 6004                Various                                                                                            $20.00
TRACY STAFFORD                    3520 17TH ST                                                     LEWISTON          ID         83501                 6002                Various                                                                                             $4.77
TRACY SULLIVAN                    3909 SW AVE                                                      SIOUX FALLS       SD         57109                 6002                Various                                                                                             $6.71
TRACY VANDERWORKER                310 N FARRAGUT ST APT 1                                          WEST POINT        NE         68788                 6002                Various                                                                                             $6.22
TRACY WALDNER                     PO BOX 248                                                       HARLOWTON         MT         59036                 6004                Various                                                                                             $3.00
TRACY WARNER                      310 4TH ST PO BOX # 81                                           CHUGWATER         WY         82210                 6002                Various                                                                                             $4.11
TRACY WATERS                      602 N. PEARL ST.                                                 RIVER FALLS       WI         54022                 6004                Various                                                                                            $25.00
TRACY WAYNE FRAZIER               821 SPRAGUE AVE                                                  BUHL              ID         83316                 6002                Various                                                                                            $10.00
TRACY WEESE                       BOX 1373                                                         OROFINO           ID         83544                 6002                Various                                                                                             $5.29
TRACY WETENKAMP                   38654 127TH ST                                                   ABERDEEN          SD         57401                 6002                Various                                                                                             $6.85
TRACY WHITAKER                    669 S 360TH E                                                    SALEM             UT         84653                 6002                Various                                                                                             $1.62
TRACY WILLIAMSON                  PO BOX                                                           HARRIS            MN         55052                 6002                Various                                                                                             $2.27
TRACY WOODS                       16145 S HERSHEY DICKENS RD                                       HERSHEY           NE         69143                 6002                Various                                                                                             $8.47
TRACY WYLIE                       1701 8TH ST NW               APT 105                             AUSTIN            MN         55912                 6004                Various                                                                                             $3.00
TRAE FLEMING                      1837 WISCONSIN AVE                                               BELOIT            WI         53511                 6004                Various                                                                                            $15.00
TRAILHEAD BEVERAGE                VICE PRESIDENT OF SALES      PO BOX 849                          WORLAND           WY         82401                 3403                Various                                                                                           $109.75
                                                               12955 W AIRPORT
TRAMONTINA USA INCORPORATED       VICE PRESIDENT OF SALES      BOULEVARD                           SUGAR LAND        TX         77478-6119             6337               Various                                                                                       $110,431.51
TRANSOURCE                        HARLAND CLARKE               PO BOX 931898                       ATLANTA           GA         31193                  5749               Various                                                                                         $3,624.22
TRANSPORT SOLUTIONS LLC           PO BOX 12517                                                     OMAHA             NE         68112-0517             9983               Various                                                                                        $11,352.42
                                                               5817 CENTRE
TRAU & LOEVNER INCORPORATED       VICE PRESIDENT OF SALES      AVENUE                              PITTSBURGH        PA         15206-3760             7316               Various                                                                                       $111,899.84
TRAVELERS CHOICE (C-HUB)          2805 S RESERVOIR STREET                                          POMONA            CA         91766-0000             3710               Various                                                                                         $5,733.16
TRAVELERS CLUB LUGGAGE INCORPO    5911 FRESCA DRIVE                                                LA PALMA          CA         90623-0000             1481               Various                                                                                       $177,151.75
                                                               4407 SOLUTION
TRAVELON                          LOCKBOX 774407               CENTER                              CHICAGO           IL         60677-4004             5854               Various                                                                                        $29,187.65
TRAVER JOHNSON                    1250 HOLLIPARK DR                                                IDAHO FALLS       ID         83401                  6002               Various                                                                                             $2.14
TRAVERS FAMILY                    1016 N BUCHANAN ST                                               GREEN BAY         WI         54303                  6002               Various                                                                                             $6.63




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                                                                                                                                                                                         Contingent


                                                                                                                                                                                                                     Disputed
                                                                                                                                                Last 4 Digits of     Date Debt was
                                                                                                                                                   Account         Incurred, Basis for
              Creditor Name                   Address1          Address2        Address3             City        State           Zip   Country     Number                Claim                                                                             Total Claim
TRAVIS A WATSON                   1718 4TH AVE APT 308                                       PLATTSMOUTH      NE         68048                 6002                Various                                                                                             $7.97
TRAVIS ADAMS                      1508 NE 571ST                                              KALKASKA         MI         49646                 6002                Various                                                                                             $4.99
TRAVIS ALLEY                      308 2ND ST                                                 GLENWOOD         IA         51534                 6002                Various                                                                                             $5.15
TRAVIS ATWOOD                     4520 JOHN ADAMS PRKWY                                      IDAHO FALLS      ID         83406                 6002                Various                                                                                             $4.11
TRAVIS BABCOCK                    1506 E. ROAD SIX                                           EDGERTON         WI         53534                 6004                Various                                                                                           $100.60
TRAVIS BAPTIST                    117 LAKE ST                                                MARINETTE        WI         54143                 6004                Various                                                                                             $6.00
TRAVIS BERTOCH                    2919 VAN BUREN AVE                                         OGDEN            UT         84403                 6002                Various                                                                                             $7.42
TRAVIS BOHN                       211 E INDIANA AVE                                          COEUR D ALENE    ID         83814                 6002                Various                                                                                             $6.49
TRAVIS BREWER                     2919 SOUTH MARION RD                                       LA CROSSE        WI         54601                 6004                Various                                                                                            $14.00
TRAVIS BURKE                      6192 W. JUDSON RD.                                         OREGON           IL         61061                 6004                Various                                                                                            $40.00
TRAVIS CARNEY                     245 N FLORIDA ST                                           CALUMET          MI         49913                 6002                Various                                                                                             $7.84
TRAVIS COLLINS                    323 COTTONVILLE AVE                                        COLOMA           WI         54930                 6002                Various                                                                                             $7.07
TRAVIS DANIELSON                  5756 E CREEK RD                                            BELOIT           WI         53511                 6004                Various                                                                                            $60.00
TRAVIS DAVIS                      157 24TH ST                                                CHETEK           WI         54728                 6004                Various                                                                                            $30.97
TRAVIS E MURI                     333 HOLLY AVE                                              WORLAND          WY         82401                 6002                Various                                                                                             $0.93
TRAVIS FICHTENBAUER               4562 ARROWHEAD DR. APT #6                                  EAU CLAIRE       WI         54703                 6004                Various                                                                                            $25.00
TRAVIS GRAY                       1500 ALICE AVE APT 8                                       IDAHO FALLS      ID         83402                 6002                Various                                                                                            $12.99
TRAVIS GRIFFEY                    PO BOX 175                                                 MEDICAL LAKE     WA         99022                 6004                Various                                                                                            $30.00
TRAVIS HAUGEN                     PO BOX 551                                                 FAIRVIEW         MT         59221                 6002                Various                                                                                             $1.15
TRAVIS HAYS                       1913 1/2 7TH AVENUE                                        LEWISTON         ID         83501                 6004                Various                                                                                            $17.89
TRAVIS HEAPS                      PO BOX 1830                                                WEST JORDAN      UT         84084                 6004                Various                                                                                            $24.00
TRAVIS HERING                     20937 E 1000TH RD                                          KEENSBURG        IL         62852                 6002                Various                                                                                             $6.33
TRAVIS HOFFMAN                    PO BOX 627                                                 AVOCA            IA         51521                 6002                Various                                                                                             $4.19
TRAVIS HOLMES                     3112 GARNER ST                                             EAU CLAIRE       WI         54701                 6002                Various                                                                                             $8.71
TRAVIS IHDE                       6152 NW 4TH ST                                             LINCOLN          NE         68521                 6004                Various                                                                                             $5.02
TRAVIS J HEINRICH                 126 OAKLAND AVE SE                                         HUTCHINSON       MN         55350                 6002                Various                                                                                             $8.68
TRAVIS J KUEPPER                  1505 N VIOLA ST                                            APPLETON         WI         54911                 6002                Various                                                                                             $4.08
TRAVIS JAMES MURRAY               216 N 12TH AVE                                             WINNECONNE       WI         54986                 6002                Various                                                                                             $6.16
TRAVIS JOHNSON                    3413 DOGWOOD AVE                                           FERTILE          IA         50434                 6002                Various                                                                                             $4.11
TRAVIS KELNHOFER                  1341 113TH ST                                              OROFINO          ID         83544                 6002                Various                                                                                             $6.36
TRAVIS KENT ARGYLE                440 N 400TH E                                              SPANISH FORK     UT         84660                 6002                Various                                                                                             $3.18
TRAVIS LANE                       1909 ELLIS ST                                              STEVENS POINT    WI         54481                 6002                Various                                                                                             $4.58

TRAVIS LINDLEY                    2295 N YELLOWSTONE HWY TRLR                                IDAHO FALLS      ID         83401                  6002               Various                                                                                             $4.22
TRAVIS MEYER                      N10289 HWY 151 APT 2                                       MALONE           WI         53049                  6004               Various                                                                                            $23.00
TRAVIS PICKERING                  207 23RD AVE NW                                            WATERTOWN        SD         57201                  6002               Various                                                                                             $6.93
TRAVIS POWERS                     6422 BRIDGE ROAD                                           MADISON          WI         53713                  6004               Various                                                                                             $3.00
TRAVIS R. HARTSTERN               1398 KINGSTON TER APT 6                                    GREEN BAY        WI         54302                  6002               Various                                                                                             $2.71
TRAVIS RUNNINGS                   1948 VAN CIR                                               IDAHO FALLS      ID         83404                  6004               Various                                                                                            $25.02
TRAVIS RUSSELL                    PO BOX 403                                                 ROUNDUP          MT         59072                  6004               Various                                                                                            $49.99
TRAVIS SCHWALLER                  PO BOX 124                                                 WINNECONNE       WI         54986                  6002               Various                                                                                             $5.07
TRAVIS STRONG                     8640 99TH ST E                                             DOLAND           SD         57436                  6004               Various                                                                                            $20.00
TRAVIS STUDER                     2136 EXCALIBUR ROAD                                        NORTH MANKATO    MN         56003                  6004               Various                                                                                             $3.00
TRAVIS STUDY                      PO BOX 183                                                 OSAGE            WY         82723                  6002               Various                                                                                             $8.88
TRAVIS TODD                       PO BOX 1295                                                CHALLIS          ID         83226                  6002               Various                                                                                             $6.93
TRAVIS WALKER                     155 ADAMS                                                  AFTON            WY         83110                  6002               Various                                                                                             $4.19
TRAVIS WICHMAN                    417 S WASSON LN APT 201                                    RIVER FALLS      WI         54022                  6002               Various                                                                                             $6.14
TRAVIS WIEDENHAFT                 63 W WAUKAU AVE                                            OSHKOSH          WI         54902                  6004               Various                                                                                            $67.00
TRAVIS WILLE                      1044 HOMESTEAD                                             BEAVER DAM       WI         53916                  6004               Various                                                                                            $30.00
TRAVIS YARIE                      5307 COLLEEN AVE.                                          SCHOFIELD        WI         54476                  6004               Various                                                                                             $1.00
TRAY KUCERA                       913 W 1ST ST                                               SIOUX CITY       IA         51103                  6002               Various                                                                                             $1.84
TRAYCE MARTINEZ                   902 E 300TH S                                              BRIGHAM CITY     UT         84302                  6002               Various                                                                                             $0.44
TRC GLOBAL MOBILITY INCORPORAT    PO BOX 1650                                                MILWAUKEE        WI         53201-1650             8250               Various                                                                                       $238,353.63
TREANA I BIRMINGHAM               2581 W MEADOW RD                                           BAILEYS HARBOR   WI         54202                  6002               Various                                                                                             $8.85




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                                                                                                                                                       Last 4 Digits of     Date Debt was
                                                                                                                                                          Account         Incurred, Basis for
             Creditor Name                   Address1                Address2         Address3            City           State         Zip    Country     Number                Claim                                                                             Total Claim
TREBBIANNO LLC                    19 WEST 34TH STREET                                              NEW YORK           NY         10001-0000           8728                Various                                                                                         $39,402.03
TREG COX                          PO BOX 503                                                       CUSTER             SD         57730                6002                Various                                                                                              $0.96
TRELAWNY GRUNHOVD                 520 S LYNN ST                                                    THOMPSON           IA         50478                6002                Various                                                                                              $9.86
TRELLA HOOFT                      3315 KAITLYN LOOP                                                HELENA             MT         59602                6004                Various                                                                                              $2.00
TREMBLEY FAMILY                   36170 RIVER RD                                                   LENORE             ID         83541                6002                Various                                                                                              $9.81
TREMPEALEAU COUNTY HEALTH DEPT    36245 MAIN STREET                                                WHITEHALL          WI         54773-0067           4559                Various                                                                                             $50.00
TRENA DALBEC                      424 WATER ST APT A                                               IOLA               WI         54945                6002                Various                                                                                              $7.48
TRENARY HOME BAKERY               PO BOX 300                                                       TRENARY            MI         49891                0577                Various                                                                                          $3,956.45
                                                                 8925 HIGHWAY 101
TREND LAB L L C                   FASHION ENTERPRISES            W                                 SAVAGE             MN         55378                 7847               Various                                                                                        $12,435.96
TRENEDAD CRUZ                     704 N HIGHLAND AVE                                               SIOUX FALLS        SD         57103                 6002               Various                                                                                             $5.04
TRENT CAREY                       2051 LUXURY DRIVE                                                GREEN BAY          WI         54313                 6004               Various                                                                                            $10.00
TRENT HEAVILAND                   4947 COVENTREE COUT                                              EAU CLAIRE         WI         54701                 6004               Various                                                                                             $2.00
TRENT JEANPIERRE                  1531 7TH AVE APT B                                               GRAFTON            WI         53024                 6002               Various                                                                                             $2.99
TRENT KIRLIN                      302 E FRONT STREET                                               FULDA              MN         56131                 6004               Various                                                                                            $35.70
TRENT KURTZ                       820 N WASHINGTON AVE                                             MADISON            SD         57042                 6002               Various                                                                                             $4.77
TRENT LOVENDAHL                   3387 W WATER STREET                                              RIVERTON           UT         84065                 6004               Various                                                                                            $58.46
TRENT LOVETTE                     803 1/2 17TH ST W                                                HASTINGS           MN         55033                 6002               Various                                                                                             $6.14
TRENT PIKULA                      112 CROWN HILL RD W                                              PRESTON            MN         55965                 6004               Various                                                                                             $5.74
TRENT SEARLE                      2298 FILER AVE E                                                 TWIN FALLS         ID         83301                 6002               Various                                                                                             $1.92
TRENT SULLIVAN                    207 ELIZABETH ST                                                 PLAINFIELD         WI         54966                 6002               Various                                                                                             $0.41
TRENT WALTER                      4346 STATE HWY 52                                                ANIWA              WI         54408                 6004               Various                                                                                            $85.00
TRENTEN DISCH                     W5886 DURST RD                                                   NEW GLARUS         WI         53574                 6004               Various                                                                                            $25.00
TRENTEN SAMPLEY                   141 ANTOINETTE STREET                                            GREEN BAY          WI         54303                 6004               Various                                                                                             $1.00

TRENTEN SCHAETZKA                 2221 BOLES STREET #11                                            WISCONSIN RAPIDS   WI         54495                 6004               Various                                                                                             $2.10
TRENTEN WILLIAMSON                177 TOWER HEIGHTS COURT                                          PRESCOTT           WI         54021                 6004               Various                                                                                             $1.00
                                                                 821 INDUSTRIAL
TRENTON COCA COLA BOTTLING COM    VICE PRESIDENT OF SALES        DRIVE                             TRENTON            MO         64683                 0167               Various                                                                                         $3,141.90
TRENTON E WIEBOLD                 4370 HIGHWAY # C                                                 PALMYRA            MO         63461                 6002               Various                                                                                             $6.93
TRENTON HOOKER                    912 WHITEWATER DR                                                ROCK SPRINGS       WY         82901                 6002               Various                                                                                            $10.00
TRENTON HUGGINS                   PO BOX 57                                                        BEAR RIVER CITY    UT         84301                 6002               Various                                                                                            $10.00
TRENTON LANDRETH                  621 SOUTH SPRING ST                                              BEAVER DAM         WI         53916                 6004               Various                                                                                            $30.00
TRENTON RIDER-ROONI               112 W LINCOLN AVE                                                TOMAHAWK           WI         54487                 6002               Various                                                                                             $0.68
TRENTON SCHWARTZ                  650 N 7TH AVE APT 406                                            POCATELLO          ID         83201                 6002               Various                                                                                             $0.79
TRESA MILLER                      254 N CEDAR ST                                                   AINSWORTH          NE         69210                 6002               Various                                                                                             $0.38
TRESHA REID                       105 LENA ST                                                      SALMON             ID         83467                 6002               Various                                                                                             $1.40
TRESSA SMITH                      209 12TH ST                                                      OSBURN             ID         83849                 6002               Various                                                                                             $0.38
TREVA FARRIS                      1229 WALNUT ST.                                                  NEBRASKA CITY      NE         68410                 6004               Various                                                                                            $10.00
TREVA MURACH                      2486 LONG TAIL BEACH LN                                          SUAMICO            WI         54173                 6002               Various                                                                                            $10.00
TREVER REESE                      1220 3RD ST                                                      ONAWA              IA         51040                 6002               Various                                                                                             $3.73
TREVER ROGERS                     W6635 HWY 180                                                    WAUSAUKEE          WI         54177                 6004               Various                                                                                            $12.39
TREVER ROSS                       132 SHERIDAN ST                                                  NEWCASTLE          WY         82701                 6002               Various                                                                                             $7.89
TREVER TREICHEL                   PO BOX 5697                                                      MISSOULA           MT         59806                 6004               Various                                                                                            $98.47
TREVOR ACKERMAN                   115 7TH AVE NW                                                   WATERTOWN          SD         57201                 6002               Various                                                                                             $4.52
TREVOR BLACK                      1214 12TH AVE NE                                                 ABERDEEN           SD         57401                 6002               Various                                                                                             $9.81
TREVOR BYBEE                      801 RED CLOUD DR                                                 BUFFALO            WY         82834                 6002               Various                                                                                             $0.79
TREVOR CROUCHER                   615 W MAIN ST                                                    SIDNEY             MT         59270                 6002               Various                                                                                             $8.30
TREVOR DAVIS                      2057 16 3/4TH AVE                                                RICE LAKE          WI         54868                 6002               Various                                                                                             $0.68
TREVOR EISCHEN                    535 N 10TH ST                                                    FOREST CITY        IA         50436                 6002               Various                                                                                            $15.51
TREVOR FLETTRE                    208 SW 2ND ST                                                    GREENFIELD         IA         50849                 6002               Various                                                                                             $4.82
TREVOR FLYNN                      217 E OHIO ST                                                    MARQUETTE          MI         49855                 6004               Various                                                                                            $25.00

TREVOR FREER                      1019 15TH ST NORTH PRERELEAS                                     GREAT FALLS        MT         59401                 6002               Various                                                                                             $0.96




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             Creditor Name                    Address1            Address2            Address3              City        State           Zip   Country     Number                Claim                                                                             Total Claim
TREVOR GRUETZMACHER               10 PANSY CIR                                                     CLINTONVILLE      WI         54929                 6002                Various                                                                                             $2.55
TREVOR HOLTZ                      1902 BEAVER ST APT 2                                             MOSINEE           WI         54455                 6004                Various                                                                                            $10.00
TREVOR HOLZHUETER                 PO BOX 355                                                       LOWELL            WI         53557                 6002                Various                                                                                             $0.74
TREVOR HYATT                      578 CLIFF ST                                                     LANDER            WY         82520                 6002                Various                                                                                             $8.14
TREVOR JOHNSON                    204 LAKE BLAINE DR                                               KALISPELL         MT         59901                 6002                Various                                                                                             $8.82
TREVOR KNIGHT                     PO BOX 212                                                       CORINNE           UT         84307                 6004                Various                                                                                             $9.99
TREVOR KOHL                       107 COTTAGE DR                                                   NORFOLK           NE         68701                 6004                Various                                                                                           $135.00
TREVOR MEAD                       225 E 1ST ST                                                     WINNER            SD         57580                 6002                Various                                                                                            $10.00
TREVOR MERRILL                    6463 DAFFODIL WAY                                                WEST JORDAN       UT         84081                 6004                Various                                                                                            $10.00
TREVOR NACKERS                    14001 BINFORD DR.                                                ORLAND PARK       IL         60462                 6004                Various                                                                                            $19.99
TREVOR OLSEN                      121 W 500TH S                                                    TREMONTON         UT         84337                 6002                Various                                                                                             $0.58
TREVOR PALMER                     501B EIGHT ST                                                    WAUAKEE           WI         53597                 6004                Various                                                                                             $1.00
TREVOR PIKE                       1011 18TH ST                                                     GOTHENBURG        NE         69138                 6002                Various                                                                                             $7.89
TREVOR REHWINKEL                  12650 HIGHWAY 73                                                 PLAINFIELD        WI         54966                 6002                Various                                                                                             $2.66
TREVOR SCHLIES                    225 W VERDUDO AVE                                                BURBANK           CA         91502                 6004                Various                                                                                            $10.00
TREVOR STEPHENS                   1197 SHEPHERDS PASS                                              GREEN BAY         WI         54313                 6004                Various                                                                                             $3.00
TREVOR THOMAS                     5920 EXCHANGE ST.                                                MC FARLAND        WI         53558                 6004                Various                                                                                            $21.00
TREVOR VANHORN                    255 E STREET                                                     IDAHO FALLS       ID         83402                 6002                Various                                                                                             $8.03
TREVOR W THOMAS                   60 N 1810TH W                                                    PROVO             UT         84601                 6002                Various                                                                                             $4.38
TREVOR WUNSCH                     716 PARK AVE                                                     BEAVER DAM        WI         53916                 6004                Various                                                                                            $21.85
TREVOR WYMAN                      1533 4TH AVE W                                                   COLUMBIA FALLS    MT         59912                 6004                Various                                                                                            $30.00
TREW SUCK                         323 COOPER CIRCLE                                                HASTINGS          NE         68901                 6004                Various                                                                                            $10.00
TREY FLETTRE                      115 NW HAYES ST                                                  GREENFIELD        IA         50849                 6002                Various                                                                                             $0.99
TREY FOSTER                       603 ALBION AVE, APT 2                                            FAIRMONT          MN         56031                 6004                Various                                                                                             $9.00
TREY HUMMEL                       109 E BENTON ST                                                  LE ROY            MN         55951                 6004                Various                                                                                             $1.31
TREY ROBILLARD                    1606 MERY ST                                                     BILLINGS          MT         59105                 6002                Various                                                                                             $1.95
TREYDEN DEADDER                   243 S 300 E                                                      SPANISH FORK      UT         84660                 6004                Various                                                                                            $35.00
                                                                                                   GRAND CENTRAL
TRI COASTAL DESIGN GROUP INC      PO BOX 2348                                                      STATION           NY         10164-0442              5491              Various                                                                                        $81,932.63
TRI COUNTY DISPOSAL               3630 YORK ROAD                                                   HELENA            MT         59602                                     Various                                                                                          $595.67
TRI COUNTY SHOPPER INCORPORATE    PO BOX 168                                                       BLOOMFIELD        IA         52537                  3390               Various                                                                                          $409.56
TRI COUNTY SHRINE CLUB            301 1ST STREET SOUTH #2                                          SHELBY            MT         59474                  3941               Various                                                                                          $100.00
TRIANGLE DISTRIBUTING COMPANY     PO BOX 28375                                                     GREEN BAY         WI         54324                  7843               Various                                                                                         $1,029.85
TRICIA BALDERAS                   336 S BROADWAY STREET                                            STANLEY           WI         54768                  6002               Various                                                                                             $3.33
TRICIA BOSTEDER                   N3037 HILL LANE                                                  FORT ATKINSON     WI         53538                  6004               Various                                                                                            $25.00
TRICIA CAVERLY                    3625 E. 51ST                APT E105                             SPOKANE           WA         99223                  6004               Various                                                                                            $23.00
TRICIA CHARVET                    9312 SHETLAND DR                                                 PASCO             WA         99301                  6004               Various                                                                                            $19.98
TRICIA ELKE                       68356 233RD ST                                                   DASSEL            MN         55325                  6002               Various                                                                                             $8.27

TRICIA GOHDE                      W275N5747 GREEN MEADOW RD                                        SUSSEX            WI         53089                   6002              Various                                                                                               $0.55

TRICIA GREISCH                    1575 PORTVIEW DR            APT 103                              PORT WASHINGTON   WI         53074                   6004              Various                                                                                               $1.00
TRICIA JANC                       14398 40TH AVE                                                   CHIPPEWA FALLS    WI         54729                   6002              Various                                                                                               $6.82
TRICIA KULINSKI                   W4702 VORPHAL RD                                                 RANDOM LAKE       WI         53075                   6002              Various                                                                                               $9.23
TRICIA LECAIRE                    1122 DOVE ST                                                     OSHKOSH           WI         54902                   6002              Various                                                                                               $9.45
TRICIA PRINCE                     718 ALTURAS DR N                                                 TWIN FALLS        ID         83301                   6002              Various                                                                                               $9.56
TRICIA ROGACZEWSKI                R5971 S STATE HWY 97                                             ATHENS            WI         54411                   6004              Various                                                                                               $5.00
                                  3344 SOUTH GEKLER LANE
TRICIA SLOAN                      #M305                                                            BOISE             ID         83706                  6004               Various                                                                                            $43.00
TRICIA SMYSER                     112 W SOUTH                                                      GALLATIN          MO         64640                  6002               Various                                                                                             $0.55
TRICIA WINGE                      700 11TH AVE SE                                                  WATERTOWN         SD         57201                  6002               Various                                                                                             $9.26
TRI-CITY PLUMBING, INC.           1504 CLEVELAND AVE.                                              MARINETTE         WI         54143                                     1/4/2019                                                                                           $92.79
TRI-CITY SANITATION               PO BOX 567                                                       WHITEHALL         WI         54773                                     Various                                                                                           $572.00
TRIFFINI BURTON                   6433 BITTER CREEK RD                                             AFTON             WY         83110                   6002              Various                                                                                             $9.42




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                                                                                                                                                            Last 4 Digits of     Date Debt was
                                                                                                                                                               Account         Incurred, Basis for
               Creditor Name                 Address1              Address2              Address3            City          State           Zip    Country      Number                Claim                                                                             Total Claim
                                  4220 WEST WINDMILL LANE STE
TRIGG LABORATORIES                140                                                                 LAS VEGAS       NV           89139                    9361               Various                                                                                         $1,662.36
TRIGS COUNTY MARKET STEVENS PO    1600 ACADEMY AVENUE                                                 STEVENS POINT   WI           54481                    5406               Various                                                                                            $74.90
TRILLIANT FOOD & NUTRITION        1101 MOASIS DRIVE           PO BOX 307                              LITTLE CHUTE    WI           54140-0307               1329               Various                                                                                     $1,050,417.28
TRINA FISCHER                     5290 COUNTRY ROAD                                                   RAPID CITY      SD           57701                    6004               Various                                                                                            $23.00
TRINA KATHLE VEGGE                39 PERTH ST                                                         GLASGOW         MT           59230                    6002               Various                                                                                            $10.00
TRINA NEHLS                       253 SOUTH RIDGE ST                                                  HUSTISFORD      WI           53034                    6004               Various                                                                                            $14.80
TRINA NIELD                       11360 STATE HIGHWAY 238                                             AFTON           WY           83110                    6002               Various                                                                                             $4.38
TRINA STEVENS                     1512 S 10TH STREET                                                  MANITOWOC       WI           54220                    6004               Various                                                                                             $3.00
TRINH DO                          708 1ST AVE NW                                                      AUSTIN          MN           55912                    6002               Various                                                                                             $5.53

TRINH NGUYEN                      3931 NORTH 26TH STREET APT #2                                       LINCOLN         NE           68521                    6004               Various                                                                                                $2.00
TRINIE KANE                       N11452 TANNERY RD                                                   TOMAHAWK        WI           54487                    6002               Various                                                                                                $5.97
TRINITY ALM                       137 W FAIRBAULT ST                                                  DULUTH          MN           55803                    6004               Various                                                                                               $25.50
TRINITY CARLSON                   7 MEANS CT                                                          BANNER          WY           82832                    6002               Various                                                                                                $8.99
TRINITY HUTCHERSON                45 TRAILS END LN                                                    CHALLIS         ID           83226                    6002               Various                                                                                                $3.48

TRINITY PLASTICS INCORPORATED     32348 COLLECTIONS CENTER DR                                         CHICAGO         IL           60693-3093               2317               Various                                                                                       $127,092.68
TRINITY R CUMMINGS                2706 SHORE DR                                                       MENOMINEE       MI           49858                    6002               Various                                                                                             $9.73
TRINITY VRBKA                     333 POLK ST                                                         WINNER          SD           57580                    6002               Various                                                                                             $6.19
TRINNA SMITH                      5915 BARNETT DR                                                     HELENA          MT           59602                    6002               Various                                                                                             $7.51
                                                                  15851 DALLAS
TRINTECH INC                      C/O TRINTECH                    PARKWAY STE 900                     ADDISON         TX           75001                    1471               Various                                                                                         $1,385.25

TRIPLE FIVE                       555 CHABANEL WEST SUITE 805                                         MONTREAL        QC           H2N 2H8       CANADA     3401               Various                                                                                         $8,134.34
TRISA EVANS                       3717 S 7200 W                                                       MAGNA           UT           84044                    6004               Various                                                                                             $5.00
TRISCA TAYLOR                     600 BURTON LANE                 APT 202                             FAIRMONT        MN           56031                    6004               Various                                                                                             $3.00
TRISH SCOTT                       803 PRAIRIE ST                                                      MEDIAPOLIS      IA           52637                    6004               Various                                                                                             $2.00
TRISHA BERG                       731 DEPERE STREET                                                   MENASHA         WI           54952                    6004               Various                                                                                            $34.00
TRISHA CUKA                       1213 HERMAN ST                                                      RAPID CITY      SD           57701                    6002               Various                                                                                             $3.95
TRISHA KOLMAN                     219 KNOLL CT.                                                       DEERFIELD       WI           53531                    6004               Various                                                                                             $3.00
TRISHA LEMON                      6553 CEDAR ST                                                       NORTH BRANCH    MN           55056                    6002               Various                                                                                             $4.16
TRISHA LINES                      76A EVELINE                                                         OSHKOSH         WI           54901                    6004               Various                                                                                            $25.00
TRISHA M BRUNDIDGE                1300 BRIGGS COURT APT 701                                           STEVENS POINT   WI           54481                    6002               Various                                                                                             $1.66
TRISHA MAZZA                      9308 HWY 213                                                        BELOIT          WI           53511                    6004               Various                                                                                            $10.00
TRISHA PRATT                      704 13TH AVE SE                                                     AUSTIN          MN           55912                    6004               Various                                                                                             $2.00
TRISHA ROQUE                      1741 SW. 32ND STREET                                                LINCOLN         NE           68522                    6004               Various                                                                                             $4.00
TRISHA STARK                      2216 WYOMING AVE                                                    SUN PRAIRIE     WI           53590                    6004               Various                                                                                            $42.00
TRISHA VANKILSDONK                1670 PENNY PLACE                                                    GREEN BAY       WI           54302                    6004               Various                                                                                             $3.84
TRISHA WING                       9357 FOX LN                                                         BRUSSELS        WI           54204                    6004               Various                                                                                             $3.00
TRISHA WOODFORD                   416 FRANKLIN STREET                                                 EAU CLAIRE      WI           54701                    6004               Various                                                                                             $2.00
TRISTA BURG                       38 13TH AVE S                                                       WAITE PARK      MN           56387                    6004               Various                                                                                             $3.00
TRISTA GREINER                    W1580 ALBANY W                                                      MONDOVI         WI           54755                    6004               Various                                                                                             $1.60
TRISTA JULSETH                    331 BIRCH COURT                                                     OREGON          WI           53575                    6004               Various                                                                                             $1.00
TRISTA KLEIST                     618 ELM ST                                                          LAKE MILLS      WI           53551                    6002               Various                                                                                             $4.25
TRISTA SARASIN                    420 SOUTH 19TH STREET                                               ESCANABA        MI           49829                    6004               Various                                                                                            $10.02
TRISTA STEINBERG                  1712 NORTH 2ND STREET                                               MANKATO         MN           56001                    6004               Various                                                                                             $3.00
TRISTAN G ELLIS COOKE             1108 W NATHAN DR APT 5                                              WAYNE           NE           68787                    6002               Various                                                                                             $6.71
TRISTAN HEARLEY                   N5729 HILLVIEW LN                                                   HORICON         WI           53032                    6004               Various                                                                                            $25.00
TRISTAN HIRSCHI                   175 N 800 WEST                                                      PRESTON         ID           83263                    6004               Various                                                                                             $2.00
TRISTAN MORIN                     27 S 7TH AVE APT A                                                  WINNECONNE      WI           54986                    6002               Various                                                                                             $8.33
TRISTAN PETERSON                  4901 RACHEL LANE APT 7                                              WAUSAU          WI           54401                    6004               Various                                                                                            $14.97
TRISTAN PIERCE                    403 S WALNUT ST                                                     NORTH PLATTE    NE           69101                    6002               Various                                                                                             $8.82
TRISTAN POPOWSKI                  BOX 412                                                             COTTONWOOD      MN           56229                    6004               Various                                                                                             $5.01




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                                                                                                                                                                                              Contingent


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                                                                                                                                                        Account         Incurred, Basis for
              Creditor Name                 Address1                Address2        Address3             City          State         Zip    Country     Number                Claim                                                                             Total Claim
TRISTAN SELLE                    E1647 GRANDVIEW ROAD                                            WAUPACA            WI         54981                6004                Various                                                                                             $6.00
TRISTAN STRONG                   PO BOX 358                                                      ONEILL             NE         68763                6002                Various                                                                                             $9.37
TRISTAN WEILAND                  P.O. BOX 383                                                    KIELER             WI         53812                6004                Various                                                                                            $43.00
TRISTAN YOUNG                    320 LATHROPE ROAD                                               MADISON            WI         53726                6004                Various                                                                                             $2.00
TRISTAR PRODUCTS INCORPORATED    2620 WESTVIEW DRIVE                                             WYOMISSING         PA         19610                3488                Various                                                                                        $37,297.68
TRISTEN ALALI                    1222 FREEMAN LN APT 23                                          POCATELLO          ID         83201                6002                Various                                                                                             $2.96
TRISTEN BACK                     14046 LOVE RD                                                   NEKOOSA            WI         54457                6004                Various                                                                                            $38.00
TRISTEN CHRISTENSEN              1306 E ST                                                       CHARLES CITY       IA         50616                6004                Various                                                                                            $23.00
TRISTEN J BAKER                  2865 MOOSE DR                                                   STURGIS            SD         57785                6002                Various                                                                                             $8.49
TRISTIN SORSENSON                BOX 1312                                                        LYMAN              WY         82937                6002                Various                                                                                             $9.75
TRISTY KING                      738 JUDITH CT                                                   WEST BEND          WI         53095                6004                Various                                                                                            $23.00
TRISTYN BANAGA                   PO BOX 1860                                                     OROFINO            ID         83544                6002                Various                                                                                             $3.23
TRIVIDIA HEALTH                  PO BOX 934188                                                   ATLANTA            GA         31193-4188           9725                Various                                                                                         $1,983.96

TROFF/ WAYNE                     STORE 2-036                   SHOPKO EMPLOYEE                   GREEN BAY          WI         54307-9060            9303               Various                                                                                               $60.00
TROY ANKLAM                      516 E. MAIN                   202                               WATERTOWN          WI         53094                 6004               Various                                                                                                $4.00
TROY BALES                       524 7TH ST                                                      WISNER             NE         68791                 6002               Various                                                                                                $1.62
TROY BOELTER                     6 SUNRAY CT.                                                    APPLETON           WI         54915                 6004               Various                                                                                                $8.99

TROY BUTCHER                     29505 AMERIHOST DR UNIT 101                                     DOWAGIAC           MI         49047                 6002               Various                                                                                                $6.58
TROY C SCHMIT                    502A DETROIT AVE                                                HOT SPRINGS        SD         57747                 6002               Various                                                                                                $8.49
TROY CRISWELL                    136 WINONA ROAD                                                 KAMIAH             ID         83536                 6004               Various                                                                                               $13.60
TROY DAVIS                       723 WEST LINCOLN AVE          #1                                WAUPUN             WI         53963                 6004               Various                                                                                                $2.00
TROY DEAN RICHEY                 1682 S 2900TH E                                                 SPANISH FORK       UT         84660                 6002               Various                                                                                                $6.55
TROY DELAURELLE                  1869 RIVERSIDE DR                                               GREEN BAY          WI         54313                 6002               Various                                                                                                $1.37
TROY ENGEL                       20110 PAWNEE RD                                                 BENNINGTON         NE         68007                 6002               Various                                                                                                $6.00
TROY ETHINGTON                   979 S 420 W                                                     SALEM              UT         84653                 6004               Various                                                                                               $17.50

TROY GIESE                       151 10TH AVENUE NORTH                                           WISCONSIN RAPIDS   WI         54495                 6004               Various                                                                                               $30.00
TROY GOMM                        2554 S BULLRUSH PARKWAY                                         LEHI               UT         84043                 6004               Various                                                                                                $9.99
TROY GREINER                     344 N MAIN ST                                                   WEST POINT         NE         68788                 6002               Various                                                                                                $1.70
TROY HARRISON                    423 AVENUE G                                                    PLATTSMOUTH        NE         68048                 6004               Various                                                                                               $55.99
TROY HAWKES                      12204 E. MAXWELL APT B302                                       SPOKANE            WA         99206                 6004               Various                                                                                               $16.00
TROY J JACOBSEN                  413 CHESTNUT                                                    AVOCA              IA         51521                 6002               Various                                                                                                $5.95
TROY JOHNSON                     2745 LOIS LN                                                    POCATELLO          ID         83201                 6002               Various                                                                                                $8.16
TROY KNUDSON                     415 E CHESTNUT ST                                               SISSETON           SD         57262                 6002               Various                                                                                                $8.82
TROY KOWALK                      829 MCINTOSH ST                                                 WAUSAU             WI         54403                 6004               Various                                                                                                $3.00
TROY L KARLS                     347 CLAY ST                                                     KIEL               WI         53042                 6002               Various                                                                                                $7.34
TROY LATHAM                      1334 S 2700TH E                                                 SPANISH FORK       UT         84660                 6002               Various                                                                                                $6.77
TROY LYMAN                       BOX 1132                                                        MT VIEW            WY         82939                 6002               Various                                                                                                $6.25
TROY MANTHEI                     51489 N. AMYGDALOID ST.                                         TAMARACK CITY      MI         49934                 6004               Various                                                                                               $23.00

TROY MARINKOVIC                  1264 W. BLOOMINGFIELD DRIVE                                     WHITEWATER         WI         53190                 6004               Various                                                                                               $30.00
TROY MARSING                     13769 S DAGGER WING WAY                                         HERRIMAN           UT         84096                 6004               Various                                                                                               $51.00
TROY MAYLAND                     118 ELM ST E                                                    ROCKWELL           IA         50469                 6002               Various                                                                                                $4.16
TROY MCMAHON                     22653 S MAIN ST                                                 ETTRICK            WI         54627                 6002               Various                                                                                                $6.77
TROY MOORE                       3750 E 800TH N                                                  RIGBY              ID         83442                 6002               Various                                                                                                $8.68
TROY MUIR                        4748 S DYMOCK CIRCLE                                            SALT LAKE CITY     UT         84118                 6004               Various                                                                                               $15.00
TROY NELSON                      PO BOX 8                                                        LOWRY              MN         56349                 6002               Various                                                                                                $5.97
TROY OPSAL                       507 NORTH ASH                                                   MARSHFIELD         WI         54449                 6004               Various                                                                                                $5.38
TROY OTTO                        2 N. 18TH. AVE. W.                                              DULUTH             MN         55806                 6004               Various                                                                                                $3.00
TROY PITTMAN                     567 HIGHWAY 14 # A                                              LOVELL             WY         82431                 6002               Various                                                                                                $3.73
TROY ROBUS                       8346 CTY TRAK N                                                 MARSHFIELD         WI         54449                 6002               Various                                                                                                $9.37
TROY SACHJEN                     66975 PARK LN                                                   DOWAGIAC           MI         49047                 6002               Various                                                                                                $7.56




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             Creditor Name                       Address1                Address2           Address3              City        State           Zip    Country     Number                Claim                                                                             Total Claim
TROY SANER                           41447 SANDHILLS RD                                                    DUNNING         NE         68833                  6002                Various                                                                                                $4.99
TROY SCHEPPLER                       808 E BLODGETT ST                                                     MARSHFIELD      WI         54449                  6002                Various                                                                                                $2.03
TROY SCHULZ                          712 13TH ST                                                           WISNER          NE         68791                  6002                Various                                                                                                $5.26
TROY SCHWARZ                         815 7TH ST                                                            GOTHENBURG      NE         69138                  6002                Various                                                                                                $7.89
TROY STENZEL                         1020 DAY ST                                                           FAIRMONT        MN         56031                  6004                Various                                                                                                $3.00
TROY WEATHERBY                       617 HIGHWAY 1                                                         MURRAY          NE         68409                  6002                Various                                                                                                $8.36
TROY WILSON                          RT BOX # 19A                                                          PECK            ID         83545                  6002                Various                                                                                                $1.95
TROY WISHER                          557 PARK ST #15                                                       LEWISTON        ID         83501                  6004                Various                                                                                               $10.02
TROY ZUMWALT                         991 EALES POINTE BLVD                                                 LEWISTON        ID         83501                  6004                Various                                                                                                $5.02
                                     33084 COLLECTION CENTER
TRUDEAU CORPORATION AMERICA IN       DRIVE                                                                 CHICAGO         IL         60693-0330              9145               Various                                                                                        $93,770.92
TRUDELL TRAILERS OF GREEN BAY        BOX 88899                                                             MILWAUKEE       WI         53288-0899              2143               Various                                                                                          $142.43
TRUDI COLBY                          2111 SHORE DR                                                         BELOIT          WI         53511                   6002               Various                                                                                             $1.21
TRUDY DRAPER                         5711 SIERRA GRANDE                                                    BENNION         UT         84118                   6002               Various                                                                                             $4.49
TRUDY ELTON                          105 MYRTLE ST.                                                        ARCO            MN         56113                   6004               Various                                                                                             $3.00
TRUDY MCCOURT                        910 W 6TH ST                                                          MARSHFIELD      WI         54449                   6002               Various                                                                                             $4.66
TRUDY PERLICK                        W5811 SHORT RD                                                        NEILLSVILLE     WI         54456                   6002               Various                                                                                             $3.67
TRUDY SAARIO                         229 CRAIG ST                                                          MARQUETTE       MI         49855                   6002               Various                                                                                             $2.33
TRUDY THOMAS                         1625 LINDEN AVE                                                       RACINE          WI         53403                   6002               Various                                                                                             $1.73
TRUE MANUFACTURING CO INC            DEPARTMENT 547214               PO BOX 790100                         ST LOUIS        MO         63179-0100              9068               Various                                                                                        $27,783.71
TRUE MONSON                          479 B VALLEY VIEW RD                                                  ROBERTS         WI         54023                   6002               Various                                                                                             $5.78
TRUGRAPHX LLC                        565 WINDSOR DR                                                        SECAUCUS        NJ         07094-2716              1435               Various                                                                                         $1,672.20
TRUSTEED PLANS SERVICE CORP          PO BOX 1894                                                           TACOMA          WA         98401                   6004               Various                                                                                            $49.98

TRUSTEED PLANS SERVICE CORPORATION   PO BOX 1894                                                           TACOMA          WA         98401                   6004               Various                                                                                            $11.18
T'S STORAGE CONTAINERS INCORPO       PO BOX 3781                                                           OMAHA           NE         68103                   4920               Various                                                                                         $1,508.70

                                                                     1201 HANLEY
TSI ACCESSORY GROUP (ROMAN DIV       VICE PRESIDENT OF SALES         INDUSTRIAL COURT                      ST LOUIS        MO         63144                  5922                Various                                                                                       $432,586.67
                                                                                                                                                    UNITED
                                     TSS MIDDLE EAST FZC SAIF DESK                                                                                  ARAB
TSS MIDDLE EAST                      Q1-07-023/B                     PO.BOX NO.123401                      SHARJAH                                  EMIRATES 4850                Various                                                                                        $10,383.66
TST IMPRESO INCORPORATED             PO BOX 202777                                                         DALLAS          TX         75320-2777             8849                Various                                                                                         $2,420.66
TUAN TRUONG                          4798 SOUTH COBB CIRCLE                                                KEARNS          UT         84118                  6004                Various                                                                                             $4.00
TUCKER BOHR                          7711 128 AVE                                                          BRISTOL         WI         53104                  6004                Various                                                                                            $36.00
TUCKER TESKEY                        401 LONE PINE WAY                                                     VERONA          WI         53593                  6004                Various                                                                                            $20.00
TULIA CHILD DEVELOPMENT              134 N BOWIE                                                           TULIA           TX         79088                  4708                Various                                                                                          $100.00
TULIA ISD                            702 NW 8TH ST                                                         TULIA           TX         79088                  4447                Various                                                                                          $100.00
                                     BAYS TUNDRA HOSPITALITY         865 LOMBARDI
TUNDRA LODGE RESORT & WATERPAR       CORPORATION                     AVENUE                                GREEN BAY       WI         54304                    5326              Various                                                                                         $2,416.90

TURNER/ BRENDA                       STORE 2-683                     SHOPKO EMPLOYEE 109 N MARKET STREET   AUDUBON         IA         50025                   4464               Various                                                                                               $32.10

TURSKY/ MATTHEW                      STORE 005                       SHOPKO EMPLOYEE                       GREEN BAY       WI         54307-9060               2344              Various                                                                                               $16.20
TURTLE MOUNTAIN BAND OF CHIPPEWA
INDIANS                              4081 HWY 281                    PO BOX 900                            BELCOURT        ND         58316                    6666              Various                                                                                                $2.89
TURTLE MOUNTAIN EMPLOYMENT &
TRAINING                             PO BOX 607                                                            BELCOURT        ND         58316                    6666              Various                                                                                            $24.85
TWANA PRITCHARD                      1212 SUMMIT AVE                                                       BELOIT          WI         53511                    6004              Various                                                                                             $2.00
TWEET GAROT MECHANICAL INCORPO       PO BOX 8706                                                           CAROL STREAM    IL         60197-8706               7419              Various                                                                                           $376.64
                                     TWENTIETH CENTURY FOX FILM
TWENTIETH CENTURY FOX HOME ENT       CORPORATION                     BANK OF AMERICA PO BOX 402665         ATLANTA         GA         30384-2665               5909              Various                                                                                       $489,494.39

TWENTY FOUR SEVEN COMFORT INC(       711 WEST WOODBURY RD UNIT H                                           ALTADENA        CA         91001                    5985              Various                                                                                         $1,548.00




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             Creditor Name                   Address1                 Address2         Address3             City          State         Zip    Country     Number                Claim                                                                             Total Claim
TWENTY FOUR SEVEN INTERNATIONA    24 7 INTERNATIONAL             51 STILES LANE                     PINE BROOK         NJ         07058-9535           8218                Various                                                                                         $82,433.23
TWILA M SIMLER                    316 BRADMAR DR                                                    PEARL CITY         IL         61062                6002                Various                                                                                              $3.45
TWILA MILLER                      818 20TH ST                                                       SIOUX CITY         IA         51104                6002                Various                                                                                              $6.55
TWILA PEARSON                     203 NIEHOFF DR                                                    FALL RIVER         WI         53932                6004                Various                                                                                             $22.50
TWILA WILLIAMSON                  PO BOX 5494                                                       KALISPELL          MT         59903                6002                Various                                                                                             $10.00
TWIN CITY OPTICAL                 PO BOX 815519                                                     DALLAS             TX         75381-5519           5208                Various                                                                                             $31.95
TWININGS NORTH AMERICA            PO BOX 414599                                                     BOSTON             MA         02241-4599           0515                Various                                                                                         $10,024.72
TWINS INTERNATIONAL               PO BOX 419648                                                     BOSTON             MA         02241-0000           8640                Various                                                                                         $94,920.79
                                  3292 THOMPSON BRIDGE ROAD
TWO CROW OF BIG SKY LLC           SUITE 316                                                         GAINESVILLE        GA         30506                  2831              Various                                                                                         $6,412.66
                                                                 48554 VISTA
TWO HARBORS FIRST LLC             GUY LAVERLY                    PALOMINO                           LA QUINTA          CA         92553                  0413              Various                                                                                         $7,968.75
TWO RIVERS COFFEE LLC             PO BOX 527                                                        SOUTH PLAINFIELD   NJ         07080                  7484              Various                                                                                        $52,438.44
                                                                                                                                                                           12/5/2018 -
TXU ENERGY/650638                 PO BOX 650638                                                     DALLAS             TX         75265-0638            95919              1/7/2019                                                                                        $2,878.01
TY A LARSON                       1002 HARLAN ST                                                    FALLS CITY         NE         68355                 6002               Various                                                                                             $8.74
TY C BOCK                         PO BOX 22                                                         OSAGE              WY         82723                 6002               Various                                                                                            $10.00
TY DANIELSON                      W4652 FOURTH STREET RD.                                           FOND DU LAC        WI         54935                 6004               Various                                                                                            $10.00
TY DETTMANN                       W5097 STATE RD 16                                                 RIO                WI         53960                 6004               Various                                                                                            $15.00
TY KINDER                         428 N FIFTH ST                                                    SAVANNA            IL         61074                 6002               Various                                                                                             $0.74
TY NEWSOM                         PO BOX 1502                                                       COEUR D ALENE      ID         83816                 6002               Various                                                                                            $10.00
TY PUTNAM                         PO BOX 0514                                                       AFTON              WY         83110                 6002               Various                                                                                             $4.60
TY RAY HEALY                      313 EDGAR ST                                                      WOLF POINT         MT         59201                 6002               Various                                                                                             $1.40
TY RIGGLE                         10521 NORTH 136                                                   WAVERLY            NE         68462                 6004               Various                                                                                             $5.75
TY SCHOENER                       1236 E MESQUITE CT                                                POST FALLS         ID         83854                 6004               Various                                                                                            $26.00
TY SPENCE-ANDERSON                N6711 STATE HWY 42 LOT 32                                         ALGOMA             WI         54201                 6004               Various                                                                                             $1.00
TYANN CAMPFIELD                   1035 FIEDLER LN.               APT. 9                             MADISON            WI         53713                 6004               Various                                                                                            $15.00
TYARA BATES                       5576 GUIFORD RD APT. 4                                            FITCHBURG          WI         53711                 6004               Various                                                                                             $2.00
                                                                 6600 CONGRESS
TYCO FIRE PRODUCTS                PRISCILLA DENIS                AVE                                BOCA RATON         FL         33487                 6004               Various                                                                                          $793.16
TYCO INTEGRATED SECURITY LLC      10405 CROSSPOINT BLVD                                             INDIANAPOLIS       IN         46256                 9250               Various                                                                                        $72,508.19
TYEESHA MATTSON                   1205 4TH AVE SW                                                   AUSTIN             MN         55912                 6004               Various                                                                                             $3.00
TYKE MCHONE                       2087 COLONY CRT APT C                                             BELOIT             WI         53511                 6002               Various                                                                                             $1.89
TYLA HART                         1711 LAKE ELMO DR.                                                BILLINGS           MT         59105                 6004               Various                                                                                            $38.00
TYLER ABERLE                      210 SO. 78TH AVE.                                                 YAKIMA             WA         98908                 6004               Various                                                                                             $2.00
TYLER ADAIR                       317 30TH STREET #122D                                             SPRINGFIELD        OR         97478                 6004               Various                                                                                            $31.97
TYLER ADAM BEAUCHAMP              657 W 3RD ST                                                      WINNER             SD         57580                 6002               Various                                                                                             $3.95
TYLER ANDERSON                    76 SOLITUDE DR                                                    THAYNE             WY         83127                 6002               Various                                                                                             $7.53

TYLER ANDRYSCZYK                  213 WILLIAMBURGS DRIVE APT 3                                      THIENSVILLE        WI         53092                 6004               Various                                                                                            $23.00
TYLER BETRY                       W19049 STATE HWY 153                                              WITTENBERG         WI         54499                 6004               Various                                                                                            $30.00
TYLER BOSER                       707 LAKE ST                                                       ALEXANDRIA         MN         56308                 6004               Various                                                                                             $3.06
TYLER BRUSKY                      1305 VLIET ST                                                     KEWAUNEE           WI         54216                 6004               Various                                                                                            $10.00
TYLER CURTIS                      783 N 500 E APT.1                                                 LOGAN              UT         84321                 6004               Various                                                                                            $18.00
TYLER D FORLAND                   40246 RYANS BAY RD                                                ZUMBRO FALLS       MN         55991                 6002               Various                                                                                             $1.81
TYLER DUPREY                      W5611 COUNTY RD KK                                                APPLETON           WI         54915                 6004               Various                                                                                            $23.00
TYLER FRISCH                      3716 LEIN ROAD                                                    MADISON            WI         53704                 6004               Various                                                                                             $1.00
TYLER FRY                         85761 511TH AVE                                                   EWING              NE         68735                 6002               Various                                                                                             $8.88
TYLER GIGOT                       2065 KETTLE CREEK CT                                              DE PERE            WI         54115                 6004               Various                                                                                            $10.50
TYLER HAYES                       8848 PRAIRIE VILLAGE DRIVE                                        LINCOLN            NE         68507                 6004               Various                                                                                             $1.40
TYLER HENKE                       532 EAST BROADWAY                                                 MEDFORD            WI         54451                 6004               Various                                                                                             $8.00
TYLER HERMAN                      1158 12TH AVE.                                                    GREEN BAY          WI         54304                 6004               Various                                                                                             $8.90
TYLER HUNTSMAN                    4157 W JENNY LAKE DR                                              WEST JORDAN        UT         84088                 6004               Various                                                                                            $24.00
TYLER IRVING                      111 ADAMS VIEW DR.                                                WAPATO             WA         98951                 6004               Various                                                                                            $25.00




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TYLER J ROSENDAHL                 6147 OAK ST                                                    NORTH BRANCH     MN         55056                 6002                Various                                                                                                $8.82
TYLER JORGENSEN                   4784 N PINE TREE RD                                            ONEIDA           WI         54155                 6002                Various                                                                                                $2.00
TYLER KRANING                     724 N MAYFLOWER DR APT 11                                      APPLETON         WI         54913                 6002                Various                                                                                                $0.79
TYLER KROEGER                     2323 BELLWOOD DR TRLR 100                                      GRAND ISLAND     NE         68801                 6002                Various                                                                                               $10.00
TYLER LACROSSE                    244 LORRIE WAY                                                 DEPERE           WI         54115                 6004                Various                                                                                               $25.00
TYLER LATIMER                     316 ADAMS LANES                                                LEWISTON         ID         83501                 6004                Various                                                                                               $22.68
TYLER LAWSON                      207 ELM ST.                APT.3                               FAIRWATER        WI         53931                 6004                Various                                                                                               $10.00
TYLER LUNDELL                     8968 S OLIVELEAF CT                                            WEST JORDAN      UT         84088                 6002                Various                                                                                                $3.67
TYLER MARTIN                      602 6TH AVE                                                    SHELDON          IA         51201                 6002                Various                                                                                                $9.10
TYLER MINARICK                    W7955 CREEK ROAD LOT 314                                       DELAVAN          WI         53115                 6004                Various                                                                                               $10.02
TYLER MINER                       309 S 540TH W                                                  SPANISH FORK     UT         84660                 6002                Various                                                                                                $7.12
TYLER NELSON                      1424 16TH AVE                                                  LEWISTON         ID         83501                 6002                Various                                                                                                $4.22
TYLER OBERHOLTZ                   1534 ELK AVE                                                   ADAIR            IA         50002                 6002                Various                                                                                                $2.71
TYLER OBERLANDER                  PO BOX 282                                                     HERSHEY          NE         69143                 6004                Various                                                                                                $2.00
TYLER OELKE                       1113 HIAWATHA DR                                               BEAVER DAM       WI         53916                 6004                Various                                                                                               $31.80
TYLER OLSON                       54954 224TH ST                                                 NUNDA            SD         57050                 6002                Various                                                                                                $8.08
TYLER ONG                         1063 KIDD ISLAND BAY RD                                        COEUR D ALENE    ID         83814                 6002                Various                                                                                                $3.67
TYLER OPGENORTH                   727 HURON AVE                                                  OOSTBURG         WI         53070                 6004                Various                                                                                                $5.02
TYLER OWENS                       4206 WASHINGTON RD         APT 101                             KENOSHA          WI         53144                 6004                Various                                                                                                $4.00
TYLER PALACIOS                    1617 E 2ND ST                                                  NORTH PLATTE     NE         69101                 6002                Various                                                                                                $8.33
TYLER PFEFFERLE                   80 PAULINA ST                                                  CLINTONVILLE     WI         54929                 6004                Various                                                                                                $8.90
TYLER PICKETT                     1137 1/2 BLUFF ST                                              BELOIT           WI         53511                 6004                Various                                                                                                $3.00
                                  643 SOUTH REDWOOD ROAD APT
TYLER PRESTON                     1329                                                           SALT LAKE CITY   UT         84104                  6004               Various                                                                                               $36.00
TYLER RAYMOND                     85 E SCHOOLHOUSE DR                                            SALEM            UT         84653                  6002               Various                                                                                                $7.89
TYLER REUTER                      641 HOLCOMB AVE                                                RAPID CITY       SD         57701                  6004               Various                                                                                               $10.00
TYLER RIDER                       514 N STEEN LN                                                 VERADALE         WA         99037                  6004               Various                                                                                               $15.00
TYLER ROBERTS                     423 PERRY STREET                                               ODELL            NE         68415                  6004               Various                                                                                               $20.00
TYLER SCHABEN                     1425 E 15TH ST                                                 CRETE            NE         68333                  6002               Various                                                                                                $8.44
TYLER SCHECKLMAN                  W2644 BARNEY CT                                                APPLETON         WI         54915                  6004               Various                                                                                               $25.00
TYLER SCHILLING                   802 AVENUE F                                                   PLATTSMOUTH      NE         68048                  6004               Various                                                                                               $32.00
TYLER SCHULTS                     640 N 9TH ST                                                   LANDER           WY         82520                  6002               Various                                                                                                $9.59
TYLER SEVERIN                     1131 OHANA WAY                                                 NORTH PORT       FL         34289                  6002               Various                                                                                                $9.01
TYLER SIMONS                      4897 BROOKSTONE STREET                                         POCATELLO        ID         83202                  6004               Various                                                                                               $20.00
TYLER SMITH                       5629 SO 140TH AVE                                              OMAHA            NE         68137                  6004               Various                                                                                               $20.55
TYLER STAHL                       603 N 6TH ST                                                   MARSHALL         MN         56258                  6004               Various                                                                                               $93.98
TYLER SULLIVAN                    1600 AMY ST.                                                   GREEN BAY        WI         54302                  6004               Various                                                                                               $67.00
TYLER TODD                        654 GALLOWAY ST                                                EAU CLAIRE       WI         54703                  6004               Various                                                                                                $2.00
TYLER VANDERBUSH                  503 MAXON STREET                                               WAUPUN           WI         53963                  6004               Various                                                                                               $11.25
TYLER VANDERWERFF                 45997 238TH ST                                                 WENTWORTH        SD         57075                  6002               Various                                                                                                $1.40
TYLER VODA                        811 PEACH STREET                                               SPENCER          WI         54479                  6004               Various                                                                                               $23.00
TYLER WEBB                        1228 17AVE NW APT5                                             ROCHESTER        MN         55901                  6004               Various                                                                                                $6.00
TYLER WHITE                       1605 NORTH 94TH ST.                                            OMAHA            NE         68114                  6004               Various                                                                                               $36.98
TYLER WHITESIDE                   801 7TH ST SW                                                  WELLS            MN         56097                  6004               Various                                                                                                $3.00
TYLER WIEBER                      6566 RIVER ROAD SE                                             CLEAR LAKE       MN         55319                  6004               Various                                                                                                $3.00

TYLER WIEDEBUSH                   6318 NORTH CORNWALL STREET                                     COEUR D'ALENE    ID         83815                  6004               Various                                                                                            $44.88
TYLER WITTROCK                    133 E. WELCOME AVE. APT 2                                      MANKATO          MN         56001                  6004               Various                                                                                             $3.00
TYLER WOOD-CHRISTENSEN            713 HISLOP DR                                                  OGDEN            UT         84404                  6002               Various                                                                                             $5.01
TYLIA ANGENEY                     9140 HERITAGE LAKES DR     APT 316                             LINCOLN          NE         68526                  6004               Various                                                                                             $2.00
TYLINA FOOD PRODUCTS CORPORATI    PO BOX 83075                                                   CHICAGO          IL         60691-3010             0038               Various                                                                                         $5,668.12
TYLOR BALCH                       115 W TOBACNOIR ST                                             KAUKAUNA         WI         54130                  6002               Various                                                                                             $5.37
TYLOR PAULSON                     2760 KADLEC DR APT 1                                           BELOIT           WI         53511                  6002               Various                                                                                             $5.42
TYR SPORT                         1790 APOLLO COURT                                              SEAL BEACH       CA         90740                  5451               Various                                                                                         $5,841.49




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                                                                                                                                                                                          Contingent


                                                                                                                                                                                                                      Disputed
                                                                                                                                                 Last 4 Digits of     Date Debt was
                                                                                                                                                    Account         Incurred, Basis for
             Creditor Name                 Address1              Address2         Address3            City        State           Zip   Country     Number                Claim                                                                             Total Claim
TYRA SIEPERT                    1596 JOHNSON ST                                                IDAHO FALLS     ID         83401                 6002                Various                                                                                                $4.47
TYRANE ALLEN                    312 E PROSPECT TER                                             FREEPORT        IL         61032                 6002                Various                                                                                                $0.82
TYREL MOSEMAN                   PO BOX 383                                                     VALENTINE       NE         69201                 6002                Various                                                                                                $1.45
TYRELL CONNOR                   1019 15TH ST N PRE RELEASE                                     GREAT FALLS     MT         59401                 6002                Various                                                                                                $6.52
TYRIANNA RONEY                  1103 SMITH ST                                                  GREEN BAY       WI         54302                 6004                Various                                                                                                $3.00
TYRIN SMITH-HENDRICKS           1313 RUSKIN STREET APT 3                                       MADISON         WI         53704                 6004                Various                                                                                                $1.00
TYRONE FINCH                    11091 W. ARDYCE ST.                                            BOISE           ID         83713                 6004                Various                                                                                                $2.40
TYRONE RAY                      PO BOX 4021                                                    SCOTTSDALE      AZ         85261                 6002                Various                                                                                                $2.49
TYRONE SANDERS                  N1930 PILLSDORF AVE                                            GRANTON         WI         54436                 6004                Various                                                                                               $10.00
TYRONE SHAW JR                  515 N HENRY ST                                                 GREEN BAY       WI         54302                 6004                Various                                                                                                $3.00

TYRONE(PSP) GUMM                2200 WASHINGTON AVE APT 207                                    RACINE          WI         53405                  6002               Various                                                                                             $1.04
TYRZA SHERMAN                   1210 WOODSIDE DR                                               EUGENE          OR         97401                  6004               Various                                                                                            $10.00
TYSHIKA LOVE                    1607 S 13TH ST                                                 SHEBOYGAN       WI         53081                  6002               Various                                                                                             $7.81
TYSON BRADFORD                  439 E 200TH S                                                  SPANISH FORK    UT         84660                  6002               Various                                                                                             $5.07
TYSON CAUDILLO                  1008 W. 5TH ST.                                                NORTH PLATTE    NE         69101                  6004               Various                                                                                            $10.00
TYSON IIAMS                     880 CANYON ST                                                  LANDER          WY         82520                  6002               Various                                                                                             $5.64
TYSON LEAVITT                   540 JEFFERSON ST # 4                                           AFTON           WY         83110                  6002               Various                                                                                             $5.21
TYSON NUTT                      3125 W 200TH N                                                 BRIGHAM CITY    UT         84302                  6002               Various                                                                                             $0.52
TYSON REYNOLDS                  1024 STATE ST                                                  LARNED          KS         67550                  6002               Various                                                                                             $2.79
U P SECURITY INCORPORATED       917B RIVER AVENUE                                              IRON MOUNTAIN   MI         49801                  3525               Various                                                                                            $21.20
U S COTTON INCORPORATED         U S COTTON LLC              PO BOX 638447                      CINCINNATI      OH         45263-8447             4149               Various                                                                                        $31,684.20

U S LAMP INCORPORATED           SUITE 1                      3600 VELP AVENUE                  GREEN BAY       WI         54313                  1169               Various                                                                                          $131.62
U S NUTRITION                   PO BOX 9010                                                    RONKONKOMA      NY         11779-9010             0458               Various                                                                                     $1,012,103.81
U S POSTMASTER ALLIANCE         401 BOX BUTTE AVENUE                                           ALLIANCE        NE         69301                  6206               Various                                                                                          $146.00
U S POSTMASTER AUBURN           1320 COURTHOUSE AVENUE                                         AUBURN          NE         68305-9998             6182               Various                                                                                          $238.00
U S POSTMASTER AUDUBON          428 TRACY STREET                                               AUDUBON         IA         50025                  6757               Various                                                                                          $150.00
U S POSTMASTER BRANDENBURG      636 HIGH STREET                                                BRANDENBURG     KY         40108                  6191               Various                                                                                          $138.00
U S POSTMASTER GLENCOE          905 11TH STREET E                                              GLENCOE         MN         55336                  6149               Various                                                                                          $250.00
U S POSTMASTER GREENFIELD       233 JEFFERSON STREET                                           GREENFIELD      OH         45123                  6255               Various                                                                                          $100.00
U S POSTMASTER LARNED           803 BROADWAY STREET                                            LARNED          KS         67550                  4861               Various                                                                                          $410.00
U S POSTMASTER LEWISTOWN        204 3RD AVENUE NORTH                                           LEWISTOWN       MT         59457                  6264               Various                                                                                          $200.00
U S POSTMASTER LIBBY            PO BOX 1526                                                    LIBBY           MT         59923                  6296               Various                                                                                          $146.00
U S POSTMASTER MARCOLA          STAMPS BY MAIL               PO BOX 9998                       MARCOLA         OR         97454-0000             0483               Various                                                                                          $500.00
U S POSTMASTER MOUNTAIN VIEW    1700 E PARKWAY STREET                                          MOUNTAIN VIEW   WY         82939-9900             7206               Various                                                                                            $78.00
U S POSTMASTER NEILSVILLE       619 HEWETT STREET                                              NEILLSVILLE     WI         54456                  6005               Various                                                                                          $200.00
U S POSTMASTER NORFOLK          401 N 4TH STREET                                               NORFOLK         NE         68701                  4189               Various                                                                                          $500.00
U S POSTMASTER NORTON           306 E WASHINGTON                                               NORTON          KS         67654                  6236               Various                                                                                          $600.00
U S POSTMASTER PARK FALLS       109 1ST STREET NORTH                                           PARK FALLS      WI         54552                  6289               Various                                                                                          $262.00
U S POSTMASTER PERHAM           100 3RD AVENUE NW                                              PERHAM          MN         56573                  6114               Various                                                                                             $6.00
U S POSTMASTER PIPESTONE        202 S HIAWATHA AVE                                             PIPESTONE       MN         56164                  6203               Various                                                                                          $200.00
U S POSTMASTER QUINCY           3535 KATHERINE ROAD                                            QUINCY          IL         62301                  4132               Various                                                                                         $1,175.00
U S POSTMASTER RED OAK          503 E COOLBAUGH STREET                                         RED OAK         IA         51566                  6025               Various                                                                                            $50.00
U S POSTMASTER ROCKVILLE        102 N MARKET STREET                                            ROCKVILLE       IN         47872                  6230               Various                                                                                            $55.00
U S POSTMASTER ROSEAU           114 CENTER STREET E                                            ROSEAU          MN         56751                  6293               Various                                                                                          $250.00
U S POSTMASTER SENECA           607 MAIN STREET                                                SENECA          KS         66538                  4447               Various                                                                                            $54.20
U S POSTMASTER SUPERIOR         214 E 4TH STREET                                               SUPERIOR        NE         68978-0000             6155               Various                                                                                          $349.00
U S POSTMASTER TECUMSEH         320 E CHICAGO BLVD                                             TECUMSEH        MI         49286                  6097               Various                                                                                            $50.00
U S POSTMASTER TOLEDO           200 WEST HIGH STREET                                           TOLEDO          IA         52342                  6174               Various                                                                                          $144.00
U S POSTMASTER WALLA WALLA      128 N 2ND AVENUE                                               WALLA WALLA     WA         99362                  5737               Various                                                                                         $1,000.00
U S POSTMASTER WAUTOMA          PO BOX 9998                                                    WAUTOMA         WI         54982-9998             6073               Various                                                                                          $116.00
U S POSTMASTER WINONA           5TH STREET                                                     WINONA          MN         55987                  0442               Various                                                                                          $500.00
UBALDO GOMEZ CERRILLO           87064-494TH AVE                                                ONEILL          NE         68763                  6002               Various                                                                                             $5.37




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                                                                                                                                                             Account         Incurred, Basis for
              Creditor Name                   Address1               Address2             Address3               City       State         Zip    Country     Number                Claim                                                                             Total Claim
UIDC ALTARE CORPORATION           411 5TH AVENUE SUITE 803                                               NEW YORK        NY         10016                6887                Various                                                                                         $47,836.60
ULFRED TURNER                     N6383 1267TH ST                                                        PRESCOTT        WI         54021                6002                Various                                                                                             $10.00
ULINE                             ULINE SHIPPING SUPPLIES       PO BOX 88741                             CHICAGO         IL         60680-1741           1679                Various                                                                                            $686.96
ULISES TORRES                     923 GAIL PL                                                            FORT ATKINSON   WI         53538                6004                Various                                                                                              $7.00
ULITA LEMON                       123 4TH ST SE                                                          EYOTA           MN         55934                6002                Various                                                                                              $4.25
ULLMAN FAMILY                     M230 MARSH RD                                                          MARSHFIELD      WI         54449                6002                Various                                                                                              $8.08
ULYSSES/ CITY OF                  115 W GRANT AVENUE                                                     ULYSSES         KS         67880                8441                Various                                                                                             $30.00
UMA MAHESWARA RAO MOTAPOTHULA     7501 S CHATWORTH CIR                                                   SIOUX FALLS     SD         57108                6004                Various                                                                                             $14.98
UMAPATHY SARAVANNA                4522 RED BARN RUN                                                      MC FARLAND      WI         53558                6004                Various                                                                                             $79.90

UMBLE/ COREY                      STORE 4-134                   SHOPKO EMPLOYEE                          GREEN BAY       WI         54307-9060             1101              Various                                                                                            $35.31
UMBRELLAONE                       3201 OLD GLENVIEW ROAD                                                 WILMETTE        IL         60091                                    Various                                                                                       $201,779.18
UMMER ORTLEY                      PO BOX 424                                                             BROWNS VALLEY   MN         56219                 6002               Various                                                                                             $2.66
UMUEKHAIR ABDULLE                 402 31ST STREET NE, APT 209                                            ROCHESTER       MN         55906                 6004               Various                                                                                             $3.00
UNA RISK                          PO BOX 603                                                             GAYLORD         MN         55334                 6002               Various                                                                                             $5.67
UNCAS INTERNATIONAL LLC           1600 Division Road                                                     West Warwick    RI         02893                 6163               Various                                                                                        $28,948.20
UNIEK INCORPORATED                ACCOUNTS RECEIVABLE           805 UNIEK DRIVE                          WAUNAKEE        WI         53597-0000            9040               Various                                                                                        $25,707.68
UNIFIED INCORPORATED              225 DUPONT STREET                                                      PLAINVIEW       NY         11803                 2614               Various                                                                                       $134,486.46
UNILEVER H P C USA                CONOPCO INC                   PO BOX 951136                            DALLAS          TX         75201-1136            0806               Various                                                                                        $86,560.56
                                                                48 SOUTH 7TH AVE
UNION BAY DIV OF SEATTLE PACIF    VICE PRESIDENT OF SALES       11TH FLOOR                               KENT            WA         98032                 3093               Various                                                                                        $33,474.47
UNION UNDERWEAR DBA FRUIT OF T    PO BOX 538351                                                          ATLANTA         GA         30353-8351            0620               Various                                                                                       $174,632.37
UNITED FARMERS MERCANTILE COOP    203 W OAK STREET                                                       RED OAK         IA         51566                 0935               Various                                                                                            $65.32
                                                                2717 N 118TH
UNITED HEALTHCARE                 CASH MANAGEMENT TEAM          STREET SUITE 300                         OMAHA           NE         68164                 6004               Various                                                                                          $120.89
UNITED MAILING SERVICES INCORP    3625 N 126 STREET                                                      BROOKFIELD      WI         53005-0000            6177               Various                                                                                         $2,086.24
UNITED NATIONAL CLOSEOUT STORE    C/O LSQ FUNDING GROUP LC      PO BOX 404322                            ATLANTA         GA         30384-4322            5860               Various                                                                                        $93,723.25
UNITED PARCEL SERVICE             LOCKBOX 577                                                            CAROL STREAM    IL         60132-0577            2374               Various                                                                                     $1,057,268.80
                                                                                                                                                                             11/29/2018 -
UNITED PRAIRIE                    PO BOX 340                                                             NEW TOWN        ND         58763                  5230              12/31/2018                                                                                      $1,335.03
UNITED QUALITY COOPERATIVE        307 WEST MAIN                 PO BOX 340                               NEW TOWN        ND         58763                  1453              Various                                                                                          $577.90
                                                                840 CAROLINA
UNITY                             ATTN: RECOVERY DEPT           STREET                                   SAUK CITY       WI         53583                 6004               Various                                                                                            $41.99
UNIVERSITY GAMES CORP             2030 HARRISON STREET                                                   SAN FRANCISCO   CA         94110-0000            0594               Various                                                                                       $115,368.31
                                                              5-110 WEAVER          308 HARVARD STREET
UNIVERSITY OF MINNESOTA           ATTN DEAN MARILYN K SPEEDLE DENSFORD HALL         SE                   MINNEAPOLIS     MN         55455                  2238              Various                                                                                         $1,000.00
UNIVERSITY OF WISCONSIN WHITEW    HAWK CAREER FAIR            UC-146                800 W MAIN STREET    WHITEWATER      WI         53190-0000             3023              Various                                                                                         $1,000.00

                                                                1000 E UNIVERSITY
UNIVERSITY OF WYOMING             COLLEGE OF PHARMACY           AVENUE                                   LARAMIE         WY         82071                  3319              Various                                                                                         $1,000.00
                                                                400 BROADPOINTE
UPM RAFLATAC INC                  SUSAN                         DR                                       MILLS RIVER     NC         28759                  6004              Various                                                                                           $219.13
                                                                                                                                                                             12/5/2018 -
UPPCO-UPPER PENINSULA POWER CO    PO BOX 60055                                                           PRESCOTT        AZ         86304-6055             30050             1/4/2019                                                                                        $1,850.94
UPPER CANADA SOAP                 2299 KENMORE AVE                                                       BUFFALO         NY         14207                  4434              Various                                                                                        $20,826.40
                                                                3286 TOWNHALL
URBAN HEINDL                      PO BOX 358                    ROAD                                     ABBOTSFORD      WI         54425                  6002              Various                                                                                             $2.44

URDAHL/DESIREE                    STORE 2-062                   SHOPKO EMPLOYEE                          GREEN BAY       WI         54307-9060            0111               Various                                                                                            $13.80
URI CARMARILLO GONZAL             PO BOX 284                                                             COLOMA          WI         54930                 6002               Various                                                                                             $0.99
URSULA MARTIN                     2833 HAMILTON ST                                                       LA CROSSE       WI         54603                 6002               Various                                                                                             $9.42
US BANK EQUIPMENT FINANCE         PO BOX 790448                                                          ST LOUIS        MO         63179-0448            4815               Various                                                                                          $275.07
US MERCHANTS                      8737 WILSHIRE BLVD                                                     BEVERLY HILLS   CA         90211                 5816               Various                                                                                       $121,700.08
US POSTAL SERVICE                 PO BOX 2348                                                            CAROL STREAM    IL         60132-2348            7437               Various                                                                                        $33,200.00




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                                                                                                                                                        Account         Incurred, Basis for
              Creditor Name                  Address1               Address2         Address3             City         State         Zip    Country     Number                Claim                                                                             Total Claim
US POSTMASTER CRESCO              128 2ND AVENUE W                                                CRESCO            IA         52136                3290                Various                                                                                            $100.00
US POSTMASTER DEMOTTE             825 S HALLECK STREET                                            DEMOTTE           IN         46310                6588                Various                                                                                            $100.00
US POSTMASTER PAYNESVILLE         211 W JAMES STREET                                              PAYNESVILLE       MN         56362                2283                Various                                                                                             $94.00
US POSTMASTER WARROAD             204 MAIN AVE NE                                                 WARROAD           MN         56763                1706                Various                                                                                             $68.00
USAMA DAKDOK                      RR 2 BOX 2100                                                   MARBLE HILL       MO         63764                6002                Various                                                                                              $0.68
USANA EMMERT                      151 HANDKERCHIEF CREEK RD                                       KALISPELL         MT         59901                6002                Various                                                                                              $1.78
USF HOLLAND INCORPORATED          27052 NETWORK PLACE                                             CHICAGO           IL         60673-1270           6260                Various                                                                                            $140.62
USF REDDAWAY INCORPORATED         26401 NETWORK PLACE                                             CHICAGO           IL         60673-1264           6921                Various                                                                                          $1,190.55
USTIN R THIEL                     501 S MAIN ST                                                   LEWIS             KS         67552                6002                Various                                                                                              $6.60
UTAH IDAHO TEAMSTERS              PO BOX 30749                                                    SALT LAKE CITY    UT         84130                6004                Various                                                                                             $77.08
                                                                                                                                                                        11/16/2018 -
UTILITIES COMMISSION, WY          PO BOX 816 STORE #568                                           WORLAND           WY         82401                  82-00             12/15/2018                                                                                        $582.51

UTOPIA THE AGENCY INCORPORATED    12TH FLOOR SUITE 1223         601 W 26TH STREET                 NEW YORK          NY         10001                 1972               Various                                                                                         $2,790.00
UTZ QUALITY FOODS INCORPORATED    VICE PRESIDENT OF SALES       900 HIGH STREET                   HANOVER           PA         17331                 6693               Various                                                                                         $5,303.04
V & S MIDWEST CARRIERS CORP       PO BOX 107                                                      KAUKAUNA          WI         54130                 2312               Various                                                                                         $1,405.12
V F JEANSWEAR INCORPORATED        PO BOX 840482                                                   DALLAS            TX         75284                 1101               Various                                                                                       $730,707.77
V G SUPPLY COMPANY                1400 RENAISSANCE DR STE 309                                     PARK RIDGE        IL         60068-0000            4255               Various                                                                                        $64,004.59
V HARVEY MORTENSEN                462 E 1650TH S                                                  KAYSVILLE         UT         84037                 6002               Various                                                                                             $3.48
VA HER                            2611 FINGER RD                                                  GREEN BAY         WI         54302                 6004               Various                                                                                            $15.02
VACUUM PUMP & COMPRESSOR INCOR    907 N MILITARY AVENUE                                           GREEN BAY         WI         54303                 6034               Various                                                                                          $376.56
VADA SMITH                        5TH ST                                                          AFTON             WY         83110                 6002               Various                                                                                            $13.07
VAL HARMON                        1043 HIGHWAY 236                                                AFTON             WY         83110                 6002               Various                                                                                             $8.11
VAL WOODWORTH                     341 W. BRAMHALL RD.                                             DAYTON            WA         99328                 6004               Various                                                                                            $50.00
VALARIE HAWORTH                   12730 JEROME AVE                                                OROFINO           ID         83544                 6002               Various                                                                                             $9.32
VALENTIN MARTINEZ                 312 FIRST ST                                                    MENANSHA          WI         54952                 6002               Various                                                                                             $2.88
VALENTINA ZENTENO-CARAJAL         39168 RIVERSIDE CT                                              NORTH BRANCH      MN         55056                 6002               Various                                                                                             $4.14
VALENTINO CHEE                    807 EAST 4200 SOUTH                                             SALT LAKE CITY    UT         84107                 6004               Various                                                                                            $23.00
VALERIA LAMADRID                  674 N 1060 W                                                    OREM              UT         84057                 6004               Various                                                                                            $24.00
VALERIA MEYER                     2409 FOX RD                                                     STURGIS           SD         57785                 6002               Various                                                                                             $6.79
VALERIA MORENO                    2860 W. 1400 S.                                                 ABERDEEN          ID         83210                 6004               Various                                                                                             $3.65
VALERIA SIERS                     PO BOX 201                                                      MISSION           SD         57555                 6002               Various                                                                                             $2.33
VALERIAN TROYANOWSKI              3431 GEORGE RD                                                  WISCONSIN RAPID   WI         54495                 6002               Various                                                                                             $2.88
VALERIANO CRUZMIRANDA             121 W ELM ST                                                    ABBOTSFORD        WI         54405                 6002               Various                                                                                             $3.64
VALERIE A MORROW                  906 LOCUST ST                                                   DONIPHAN          MO         63935                 6002               Various                                                                                             $4.60
VALERIE ANGLESEY                  720 BITTERCREEK RD                                              AFTON             WY         83110                 6002               Various                                                                                             $2.52

VALERIE BOYD                      2322 INDEPENDENCE LANE #107                                     MADISON           WI         53704                 6004               Various                                                                                             $4.00
VALERIE COENEN                    646 ROLAND ST                                                   COMBINED LOCKS    WI         54113                 6002               Various                                                                                             $0.49
VALERIE EDWARDS                   814 E. HURON DRIVE                                              SPOKANE           WA         99208                 6004               Various                                                                                            $25.00
VALERIE FISCHER                   75610 415TH                                                     SAINT JAMES       MN         56081                 6004               Various                                                                                             $3.00
VALERIE GARZA                     5185 W MORRIS HILL RD                                           BOISE             ID         83706                 6004               Various                                                                                            $24.00
VALERIE HENSON                    309 DUNLAP RD                                                   OROFINO           ID         83544                 6002               Various                                                                                             $1.40
VALERIE HILTON                    33 E ANN ARBOR DR                                               DRAPER            UT         84020                 6002               Various                                                                                             $0.55
VALERIE HUEMANN                   6813 BROOKVIEW ST SE                                            ROCHESTER         MN         55904                 6002               Various                                                                                             $3.26
VALERIE J ABLE                    RR 3 BOX 18                                                     AUBURN            NE         68305                 6002               Various                                                                                             $4.99
VALERIE J BAST                    28801 110TH AVE                                                 BROOTEN           MN         56316                 6002               Various                                                                                             $1.04
VALERIE J THALACKER               928 BROADWAY AVE                                                SHEBOYGAN         WI         53081                 6002               Various                                                                                             $4.44
VALERIE J. WELLS                  335 E 19TH ST                                                   IDAHO FALLS       ID         83404                 6002               Various                                                                                             $6.52
VALERIE KOPISKE                   5806 RAYMOND ROAD APT 2A                                        MADISON           WI         53711                 6004               Various                                                                                            $15.00
VALERIE KRUEGER                   405 SOUTH 30TH STREET                                           MANITOWOC         WI         54220                 6004               Various                                                                                            $25.00
VALERIE LEAZENBY                  11650 NE WOODRIDGE LN                                           CAMERON           MO         64429                 6002               Various                                                                                             $8.82
VALERIE MAEZ                      3884 N 2800TH W                                                 FARR WEST         UT         84404                 6002               Various                                                                                             $0.79
VALERIE MANGSKAU                  215 5TH AVE NW APT 4                                            ROCHESTER         MN         55904                 6004               Various                                                                                             $6.00




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                                                                                                                                                        Account         Incurred, Basis for
              Creditor Name                   Address1                Address2        Address3             City       State           Zip   Country     Number                Claim                                                                             Total Claim
VALERIE MANN                      403 E MAIN ST                                                    WOONSOCKET      SD         57385                 6002                Various                                                                                             $1.04
VALERIE MANTER-KAPANKE            4973 FULL PAIL LN.                                               WEST BEND       WI         53095                 6004                Various                                                                                            $30.00
VALERIE MERKEL                    1326 3 1/2 ST SE                                                 ROCHESTER       MN         55904                 6002                Various                                                                                             $4.77
VALERIE PALMIER                   101 N CONNOR ST                                                  HOT SPRINGS     SD         57747                 6002                Various                                                                                             $9.04
VALERIE PEAD                      2931 SPRINGCREEK RD                                              FAIRVIEW        WY         83119                 6002                Various                                                                                             $7.59
VALERIE PEGG                      22059 ROYALEWOOD RD                                              HOUGHTON        MI         49931                 6002                Various                                                                                             $4.30
VALERIE PERRY                     E 10921 NIXON                                                    SPOKANE         WA         99206                 6004                Various                                                                                            $20.64
VALERIE ROSE                      4103 MICHIGAN DR APT A                                           SILVERDALE      WA         98315                 6002                Various                                                                                             $7.48
VALERIE SMARTLOWIT                16 NORTH "H" ST.                                                 TOPPENISH       WA         98948                 6004                Various                                                                                            $14.64
VALERIE STEWARD                   995 E 120TH S                                                    SPANISH FORK    UT         84660                 6002                Various                                                                                             $6.27
VALERIE STEWART                   1724 S 74TH ST               #311                                OMAHA           NE         68124                 6004                Various                                                                                             $4.00
VALERIE TEAL                      PO BOX 36                                                        BARK RIVER      MI         49807                 6002                Various                                                                                             $0.38
VALERIE THAO                      3711 NORTH BLUERIDGE DRIVE                                       APPLETON        WI         54914                 6004                Various                                                                                            $58.98
VALERIE WILLS                     307 SW 5TH ST                                                    ANDREWS         TX         79714                 6002                Various                                                                                             $7.86
VALERIE WINTER                    209 2ND ST NE                                                    GLENWOOD        MN         56334                 6002                Various                                                                                             $5.07
VALERIE WOODS                     1342 N POINT DR                                                  STEVENS POINT   WI         54481                 6004                Various                                                                                            $24.00
VALLEY CITY PUBLIC WORKS          PO BOX 240                                                       VALLEY CITY     ND         58072                                     Various                                                                                         $2,228.17
VALLEY LUMBER & SUPPLY COMPANY    290 N 2ND STREET                                                 LANDER          WY         82520                  4449               Various                                                                                          $157.50
VALLEY PRESS INCORPORATED         629 S 9TH STREET                                                 TERRE HAUTE     IN         47807                  6999               Various                                                                                         $1,566.36
VALLIE MARTIN                     1860 HIGHWAY 69                                                  KLEMME          IA         50449                  6002               Various                                                                                             $4.05
VALLIRE WALKER                    1506 S 10TH ST                                                   BURLINGTON      IA         52601                  6004               Various                                                                                            $15.00
VALONDRA TILLER                   4139 NORTH 43RD STREET                                           OMAHA           NE         68111                  6004               Various                                                                                             $2.00
VALORIE J. WINTERMUTE             PO BOX 44                                                        BUFFALO         WY         82834                  6002               Various                                                                                             $1.37
VALORIE RENEL                     105 SO BIRCH                                                     GILLETT         WI         54124                  6002               Various                                                                                             $9.40
VALRI HANSON                      313 MAPLE ST                                                     KINGSFORD       MI         49802                  6002               Various                                                                                             $8.30
VALU MERCHANDISERS CO             5000 KANSAS AVENUE                                               KANSAS CITY     KS         66106                  8908               Various                                                                                          $193.70
VAN DYKE SANITATION               340 HOWARD STREET                                                EDGERTON        MN         56128                                     Various                                                                                         $1,023.52
VAN ERT ELECTRIC COMPANY, INC.    7019 W. STEWART AVE.                                             WAUSAU          WI         54401                                     Various                                                                                         $8,803.38
VAN JOHNSON                       2730 A ELK RD                                                    STURGIS         SD         57785                  6002               Various                                                                                             $3.70
VAN MERCHANT                      1660 S SPIELMAN RD                                               PECATONICA      IL         61063                  6004               Various                                                                                             $3.31
                                                               400 BRIGHTON
VAN NESS PLASTIC MOLDING COMPA    VICE PRESIDENT OF SALES      ROAD                                CLIFTON         NJ         07017-1013             6409               Various                                                                                        $29,603.38
VAN STOSICH                       2849 FIELDSTREAM LN                                              IDAHO FALLS     ID         83404                  6002               Various                                                                                             $2.03
VANCE COATMAN                     2100 GREEN ACRES BLVD                                            LINCOLN         NE         68522                  6002               Various                                                                                             $6.96
VANCE DONOVAN                     2125 CAMPUS DR SE                                                ROCHESTER       MN         55904                  6004               Various                                                                                             $3.00
VANCE KEALEY                      3717 HIGHWAY 54 W # 22                                           NEKOOSA         WI         54457                  6002               Various                                                                                             $2.25
VANCE M STEVENS                   34703 STATE HIGHWAY 47                                           AITKIN          MN         56431                  6002               Various                                                                                             $4.00

                                                               16 EAST 34TH
VANDALE INDUSTRIES INCORPORATE    VICE PRESIDENT OF SALES      STREET 8TH FLOOR                    NEW YORK        NY         10016                  1417               Various                                                                                        $55,270.11
VANDENHEUVEL FAMILY               123 NEED                                                         KIMBERLY        WI         54136                  6002               Various                                                                                             $9.07

VANDENHULL/ DENISE                STORE 2-677                  SHOPKO EMPLOYEE 2220 HWY 175 WEST   ONAWA           IA         51040                  9369               Various                                                                                             $2.16
VANDERBILT HOME PRODUCTS LLC      253 5TH AVE 4TH FLOOR                                            NEW YORK        NY         10016                  5067               Various                                                                                       $118,044.90
VANESA HART                       2110 LAKEPOINT, #2                                               MONONA          WI         53713                  6004               Various                                                                                             $1.00
VANESA JENSEN                     49 QUEENS BLVD                                                   POWELL          WY         82435                  6002               Various                                                                                             $7.48
VANESSA ARNESON                   615 MILWAUKEE ST                                                 KEWAUNEE        WI         54216                  6004               Various                                                                                             $4.00
VANESSA BEGAII                    1060 S MAIN ST #17                                               BRIGHAM CITY    UT         84302                  6002               Various                                                                                             $7.75
VANESSA CASTILLO                  233 S 1130 E                                                     HYRUM           UT         84319                  6004               Various                                                                                            $23.00
VANESSA CHINO                     PO BOX 67                                                        NACHES          WA         98937                  6004               Various                                                                                            $66.00
VANESSA CLARK                     1056 N 2100TH W                                                  LAYTON          UT         84041                  6002               Various                                                                                             $8.16
VANESSA DAVENPORT                 2720 MCDIVITT RD                                                 MADISON         WI         53713                  6004               Various                                                                                             $1.00
VANESSA HARGENS                   1409 BLUFFS STREET                                               BELLEVUE        NE         68005                  6004               Various                                                                                             $4.00
VANESSA HARVEY                    3428 ORLEANS STREET                                              SIOUX CITY      IA         51106                  6004               Various                                                                                            $17.50




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             Creditor Name                  Address1             Address2          Address3            City           State           Zip    Country     Number                Claim                                                                              Total Claim
VANESSA HELLER                  107 MEADOW LN                                                  JANESVILLE          MN         56048                  6002                Various                                                                                              $9.42
VANESSA HOUGH                   4069 MYLIUS RD                                                 WENATCHEE           WA         98801                  6004                Various                                                                                              $3.95
VANESSA HUNTER                  621 S 350 E                                                    SANTAQUIN           UT         84655                  6004                Various                                                                                             $20.00
VANESSA LANG                    2557 WAUKAU AVE.            UNIT 1                             OSHKOSH             WI         54904                  6004                Various                                                                                              $4.00
VANESSA LOPEZ                   5955 BIRCH DR                                                  PLOVER              WI         54467                  6004                Various                                                                                              $1.00
VANESSA LYMAN                   10407 N MESQUITE WAY                                           PLEASANT GROVE      UT         84062                  6002                Various                                                                                              $6.58
VANESSA OLIVERA                 9105 ATHANUM RD.                                               YAKIMA              WA         98903                  6004                Various                                                                                             $23.00
VANESSA R SCHENCK               501 N MAGUIRE                                                  POST FALLS          ID         83854                  6002                Various                                                                                              $4.74
VANESSA RAMIREZ                 106 W BIRCH ST                                                 THORP               WI         54771                  6002                Various                                                                                              $4.27
VANESSA REDBIRD                 1019 1/2 HERMAN STREET                                         RAPID CITY          SD         57701                  6004                Various                                                                                             $20.00
VANESSA SOBONYA                 346 GRAND ST                                                   MARYSVILLE          MT         59640                  6002                Various                                                                                              $1.56
VANESSA STRODE JOHNSON          5469 NICOLE CT SE                                              SALEM               OR         97306                  6004                Various                                                                                            $112.95
VANESSA VOLLMER                 3005 W 4TH ST APT 7                                            APPLETON            WI         54914                  6002                Various                                                                                              $4.77
VANG XIONG                      3382 MISSION LN                                                PLOVER              WI         54467                  6004                Various                                                                                              $3.00

VANG/ CHENG YENG                STORE 2-177                 SHOPKO EMPLOYEE                    GREEN BAY           WI         54307-9060               5382              Various                                                                                             $40.33
VANITA SIMMONS                  609 E 5TH ST APT 2                                             DULUTH              MN         55805                    6004              Various                                                                                              $3.00
VAN'S WASTE                     N2061 VANDENBROEK RD                                           KAUKAUNA            WI         54130                                      Various                                                                                          $1,022.16
                                                                                                                                                                         Various dates -
                                                                                                                                                                         pension plan
VARIOUS CREDITORS                                                                                                                                                        liability                           X                                                        $6,412,496.00
                                                                                                                                                                         Various dates - gift
VARIOUS CREDITORS                                                                                                                                                        card liability                      X                                                        $4,969,541.55
VASANTBHAI R BHAKTA             900 N STATE ST                                                 NORTON              KS         67654                   6002               Various                                                                                              $2.74
VASILY MELKOMUKOV               1031 QUEEN CITY BLVD                                           WOODBURN            OR         97071                   6004               Various                                                                                             $45.00
VAUGHN BRIGHT                   1592 W 8740TH S                                                WEST JORDAN         UT         84088                   6002               Various                                                                                              $7.23
VAVRINEK FAMILY                 2207 S 141ST CT APT 3                                          OMAHA               NE         68144                   6002               Various                                                                                              $6.88
                                12566 COLLECTIONS CENTER
VAXSERVE INC                    DRIVE                                                          CHICAGO             IL         60693                    2483              Various                                                                                        $187,146.62
                                                                                                                                                                         12/5/2018 -
VECTREN ENERGY DELIVERY/6248    P.O. BOX 6248                                                  INDIANAPOLIS        IN         46206-6248               078 7             1/3/2019                                                                                          $736.46
VEGA US LLC                     101 3001 WAYBURNE DRIVE                                        BURNABY             BC         V5G 4W3       CANADA     4771              Various                                                                                          $8,440.08

VELA/ JUDITH                    STORE 542                   SHOPKO EMPLOYEE 509 BLAIR STREET   DALHART             TX         79022-2557              1150               Various                                                                                                $75.21
VELMA BAUTISTA                  1531 E COLLEGE AVE                                             APPLETON            WI         54914                   6004               Various                                                                                                 $4.00
VELMA CHARNECKI                 306 16TH ST SE                                                 AUSTIN              MN         55912                   6004               Various                                                                                                $39.63
VELMA SEYMOUR                   2151 PUEBLO DR                                                 BILLINGS            MT         59102                   6004               Various                                                                                                 $2.00
VELMA SMITH                     311 17TH ST                                                    GOTHENBURG          NE         69138                   6002               Various                                                                                                 $4.08

VELNA JOSTEN                    C/O JAMES & CLAIRE JOSTEN   W4877 BLUFF ROAD                   EAST TROY           WI         53120                   6002               Various                                                                                                 $6.28
VELVET HOSKINS                  5023 N 25TH                                                    LINCOLN             NE         68510                   6004               Various                                                                                                $10.00
VENCIL ASH                      PO BOX 1074                                                    DOUGLAS             WY         82633                   6002               Various                                                                                                 $6.16
VENESA BAKER                    527 CEDAR BROOK DRIVE                                          TWIN FALLS          ID         83301                   6004               Various                                                                                                $23.00
VENETIA DEGEEST                 W333 US HWY 10                                                 PLUM CITY           WI         54761                   6004               Various                                                                                                 $2.00
VENUS GUEST                     235 LAKE BLAINE DR                                             KALISPELL           MT         59901                   6002               Various                                                                                                 $9.26
VENUS ROBERTSON                 1508 WESTERN AVE.           APT. 9                             GREEN BAY           WI         54303                   6004               Various                                                                                                $20.91

VERA BRAUN                      119 E WHITEFISH RD                                             PORT WASHINGTON WI             53074                   6002               Various                                                                                                 $0.55
                                                            1028 MONROE
VERA E QUICK                    C/O JOHN QUICK              STREET                             BLACK RIVER FALLS   WI         54615                   6002               Various                                                                                                 $1.00
VERA PALIN                      COACH LITE INN                                                 SISTER BAY          WI         54234                   6002               Various                                                                                                 $8.68
VERA SCHMIDT                    704 W 13TH ST                                                  LARNED              KS         67550                   6002               Various                                                                                                 $2.41
VERA STEINHARDT                 404 ERIE AVE                                                   SHEBOYGAN           WI         53081                   6002               Various                                                                                                 $3.86
VERA THOMPSON                   7300 CASTLE WOOD DR                                            SUMMERSET           SD         57718                   6002               Various                                                                                                 $1.12




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VERA WATER & POWER           P.O. BOX 630                                                   SPOKANE VALLEY     WA         99037-0630            0                 Various                                                                                            $505.06
VERA ZIMMERMAN               403 25TH AVE                                                   MONROE             WI         53566                 6002              Various                                                                                              $7.42
                             8210 UNIVERSITY EXECUTIVE
VERBATIM AMERICAS LLC        PARK STE 300                                                   CHARLOTTE          NC         28262-0000              3466            Various                                                                                       $238,039.36

VERHEYDEN/ RANDY             STORE 2-001                 SHOPKO EMPLOYEE                    GREEN BAY          WI         54307-9060              6099            Various                                                                                             $1.40
VERIDIAN HEALTHCARE LLC      1175 LAKESIDE DRIVE                                            GURNEE             IL         60031-2489              8194            Various                                                                                       $263,688.60
                                                         4060 SOLUTIONS
VERIFONE INCORPORATED        LOCKBOX 774060              CENTER                             CHICAGO            IL         60677                   6106            Various                                                                                          $187.26
VERJEAN HEYDON               57011 HIGHWAY 20                                               LAUREL             NE         68745                   6002            Various                                                                                             $0.60
VERLA FOLGATE                1545 S FOREST RD APT 103                                       FREEPORT           IL         61032                   6002            Various                                                                                            $20.25
VERLIN LAMB                  2509 RAVENWOOD ROAD                                            MADISON            WI         53711                   6004            Various                                                                                             $4.00
VERLYN STREBE                E6415 HIGHWAY 22                                               BEAR CREEK         WI         54902                   6002            Various                                                                                            $10.00
VERLYN TRACY                 124 MICHAEL ST                                                 SISSETON           SD         57262                   6002            Various                                                                                             $4.25
VERLYN WESTRA                7245 N HAMPTON RD                                              LINCOLN            NE         68506                   6002            Various                                                                                             $4.16
VERMONT JUVENILE (C-HUB)     192 SHELDON AVENUE                                             WEST RUTLAND       VT         05777-0000              3266            Various                                                                                         $1,035.48
VERN LIESENER                608 W 8TH ST                                                   DIAGONAL           IA         50845                   6002            Various                                                                                             $0.58
VERN REYANT                  PO BOX 9692                                                    HELENA             MT         59604                   6002            Various                                                                                             $8.96
VERNA DETWEILER              24114 320TH ST                                                 JAMESPORT          MO         64648                   6002            Various                                                                                             $1.81
VERNA J PARKER               361 WOOD ST                                                    LANDER             WY         82520                   6002            Various                                                                                             $6.22
VERNA M DONNER               11529 458TH AVE                                                SISSETON           SD         57262                   6002            Various                                                                                             $2.33
VERNA PRAHL                  2615 MEADOW LN                                                 MANITOWOC          WI         54220                   6002            Various                                                                                             $3.84
VERNA YALLUP                 P.O. BOX 11                                                    WHITE SWAN         WA         98952                   6004            Various                                                                                            $16.00
VERNAN M FOX                 127 2ND AVE                                                    AFTON              WY         83110                   6002            Various                                                                                             $9.45
VERNE BENDIXEN               300 NTH ST APT 12THA2                                          ALBANY             MO         64402                   6002            Various                                                                                             $7.40
VERNE CARLSON                1213 S SPRING AVE                                              SIOUX FALLS        SD         57105                   6002            Various                                                                                             $7.53
VERNICE KRAFT                805 FOOTE ST                                                   SEYMOUR            WI         54165                   6002            Various                                                                                             $6.71
VERNIE J BLUE THUNDER        PO BOX 864                                                     MISSION            SD         57555                   6002            Various                                                                                             $0.77
VERNON A CADY                E876 COUNTY ROAD B                                             SCANDINAVIA        WI         54977                   6002            Various                                                                                             $7.10
VERNON ACKER                 769 90TH ST NE                                                 ROCHESTER          MN         55906                   6002            Various                                                                                             $1.75
VERNON ANDERSON              1804 16TH AVE SE                                               WATERTOWN          SD         57201                   6002            Various                                                                                             $8.16
VERNON BEGGS                 1608 VOELKER AVE. #82                                          YAKIMA             WA         98902                   6004            Various                                                                                             $2.00
VERNON HENSLEY               6087 WEST CONTADORA DR                                         WEST VALLEY CITY   UT         84128                   6004            Various                                                                                            $16.00
VERNON HICKMANN              109 SOUTH 2ND AVE           P O BOX 427                        SAINT NAZIANZ      WI         54232                   6004            Various                                                                                            $24.12
VERNON JONES                 510 23RD ST NW                                                 AUSTIN             MN         55912                   6004            Various                                                                                             $3.00
VERNON KRUMLAUF              803 ANDERSON RD SE                                             KALKASKA           MI         49646                   6002            Various                                                                                             $6.58
VERNON L BUCKMINSTER         65954 712TH                                                    RULO               NE         68431                   6002            Various                                                                                             $8.66
VERNON LEBLANC               27467 2ND ST                                                   CALUMET            MI         49913                   6002            Various                                                                                             $1.62
VERNON RHODES                HC 1 BOX 63                                                    GRANDIN            MO         63943                   6002            Various                                                                                             $2.47
VERNON TIETJE                610 SUMMIT DR #122                                             FAIRMONT           MN         56031                   6002            Various                                                                                            $10.00
VERONICA AYALA               307 O' NEEIL ST                                                LAKE MILLS         WI         53551                   6004            Various                                                                                            $15.00
VERONICA BALDERSTON          420 PACIFIC AVE W                                              DASSEL             MN         55325                   6002            Various                                                                                             $1.34
VERONICA CAIN                1103 S SUMMIT AVE LOT 118                                      NEWCASTLE          WY         82701                   6002            Various                                                                                             $0.60
VERONICA CARDENAS            1921 GREENFIELD LANE SW     APT A.                             ROCHESTER          MN         55902                   6004            Various                                                                                             $6.00
VERONICA GONZALES            1153 BOUGHTON ST APT 18C                                       WATERTOWN          WI         53094                   6004            Various                                                                                             $2.00
VERONICA HOLLIBUSH           1608 EAST ROAD - #1                                            EDGERTON           WI         53534                   6004            Various                                                                                             $2.00
VERONICA JOHNSON             859 SHERMAN AVE                                                JANESVILLE         WI         53545                   6004            Various                                                                                             $1.00
VERONICA LEMANS              7306 FOUNTAIN CIRCLE                                           MIDDLETON          WI         53562                   6004            Various                                                                                             $2.00
VERONICA O'NEIL              1629 AUGSBURG DRIVE A                                          BILLINGS           MT         59105                   6002            Various                                                                                             $6.71
VERONICA PALMER              1202 11TH STREET                                               MOSINEE            WI         54455                   6002            Various                                                                                             $4.16
VERONICA TALAMANTES          856 S 1900TH E                                                 HAZELTON           ID         83335                   6002            Various                                                                                             $5.40
VERONICA TREVARTHEN          1735 DAYTON ST, APT 7                                          MAYVILLE           WI         53050                   6004            Various                                                                                            $10.00
VERONICA VILLWOCK            103 MARY LANE DR                                               NEOSHO             WI         53059                   6004            Various                                                                                             $2.00
VERSA PET INC                322 HORNER AVE                                                 TORONTO            ON         M8W 1Z3      CANADA     4842            Various                                                                                        $54,138.62




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VIANEY FLORES                   1187 N LIBERTY ST                                           BOISE           ID         83704                 6002                Various                                                                                                $6.38
VICENTE SALAZAR                 118 ALLEN ST                                                MAYVILLE        WI         53050                 6002                Various                                                                                                $1.62
VICKI ALLEN                     3157 ANGUS ST                                               STANDISH        MI         48658                 6002                Various                                                                                                $6.11
VICKI AVERILL                   1539 KANE ST                                                LA CROSSE       WI         54603                 6002                Various                                                                                                $9.67
VICKI BARBKNECHT                5601 412TH AVE                                              JANESVILLE      MN         56048                 6004                Various                                                                                                $3.06
VICKI CASTRO                    34677 COUNTY ROAD 119                                       SIDNEY          MT         59270                 6002                Various                                                                                                $2.85
VICKI DAEHLER                   PO BOX 28                                                   FORRESTON       IL         61030                 6002                Various                                                                                                $0.82
VICKI DENEYS                    1637 LANGLADE AVE                                           GREEN BAY       WI         54304                 6002                Various                                                                                                $6.77
VICKI DESVAUX                   2818 RIVERSIDE TERRACE                                      QUINCY          IL         62305                 6004                Various                                                                                                $6.02
VICKI EGGEBRAATEN               7930 TWNSHP RD # 6305                                       BABBITT         MN         55706                 6002                Various                                                                                                $0.68
VICKI FICKEL                    2713 JOANN AVE                                              BELLEVUE        NE         68123                 6004                Various                                                                                                $8.00
VICKI FIGLINSKI                 1288 CROWN CT. APT . 7                                      DE PERE         WI         54115                 6004                Various                                                                                               $34.98
VICKI GOODWIN                   3537 12TH AVE S                                             GREAT FALLS     MT         59405                 6004                Various                                                                                                $3.00
VICKI HANSON                    218 EDGEWOOD DR.                                            NEENAH          WI         54956                 6004                Various                                                                                               $35.20
VICKI HELSER                    N5447 N MAYFLOWER DR                                        APPLETON        WI         54913                 6002                Various                                                                                                $7.26
VICKI HERTZ                     75 PEARL ST                                                 CLINTONVILLE    WI         54929                 6002                Various                                                                                                $0.68
VICKI HOMMEN                    208 2ND ST PO BOX # 77                                      GRAY            IA         50110                 6002                Various                                                                                                $9.84
VICKI HUSTON                    113 LA SALLE                                                BEATRICE        NE         68310                 6002                Various                                                                                                $2.33
VICKI J BASHUR                  1108 E CEDAR AVE                                            GLADWIN         MI         48624                 6002                Various                                                                                                $0.82
VICKI JOHNSON                   129 SOUTH SUMMIT STREET                                     SPOONER         WI         54801                 6004                Various                                                                                                $1.00
VICKI JONES                     PO BOX 2331                                                 OROFINO         ID         83544                 6002                Various                                                                                                $0.41
VICKI L EVAVOLD                 18264 275TH AVE                                             FERGUS FALLS    MN         56537                 6002                Various                                                                                                $1.89
VICKI MCDONALD                  5501 23RD AVE                                               MISSOULA        MT         59803                 6004                Various                                                                                               $36.00

VICKI MIDGLEY                   806 HACKBERRY COURT APT 2603                                BELLEVUE        NE         68005                  6004               Various                                                                                                $2.00
VICKI RICHARDS                  5317 OLD MIDDLETON RD #C                                    MADISON         WI         53705                  6004               Various                                                                                                $5.70
VICKI SKINNER                   133 LOCUST STREET                                           LA CROSSE       WI         54603                  6002               Various                                                                                                $8.40
VICKI SPARBEL                   2230 TRACEY COURT                                           KRONENWETTER    WI         54455                  6004               Various                                                                                               $25.00
VICKI STEWART                   2970 S IRIS DR                                              BELOIT          WI         53511                  6002               Various                                                                                                $6.71
VICKI STIMAC                    322 W WASHINGTON ST                                         LEWISTOWN       MT         59457                  6002               Various                                                                                                $2.55
VICKI STORDEUR                  533 SIMONET ST                                              GREEN BAY       WI         54301                  6002               Various                                                                                                $8.47
VICKIE ANTOLINE-HARRELL         P.O. BOX 547                                                BIGFORK         MT         59911                  6004               Various                                                                                                $2.00
VICKIE BARNES                   1540 FREEDOM WALK APT E2                                    DIXON           IL         61021                  6002               Various                                                                                               $44.11
VICKIE BRYAN                    27670 361ST AVE                                             PLATTE          SD         57369                  6004               Various                                                                                                $2.00
VICKIE CHYNOWETH                2458 E APRICOT DR                                           MERIDIAN        ID         83646                  6002               Various                                                                                                $6.77
VICKIE GARVER                   12861 ALICIA STREET                                         CALDWELL        ID         83607                  6004               Various                                                                                                $5.00
VICKIE GRIMLEY                  3747 W HIGHWAY 64 LOT 155                                   MT MORRIS       IL         61054                  6002               Various                                                                                                $3.29
                                150 HWY 10 NORTH TRAILER
VICKIE MIDDENDORF               #502                                                        SAINT CLOUD     MN         56304                  6004               Various                                                                                                $3.00
VICKIE SCHAAR                   N64971 790TH ST                                             BELDENVILLE     WI         54003                  6004               Various                                                                                               $95.98
VICKIE WINGER                   1616 CHARLENE ST                                            IDAHO FALLS     ID         83402                  6002               Various                                                                                                $7.89
VICKY BOYD-BUBLITZ              1400 E FRANKLIN AVE APT 406                                 MINNEAPOLIS     MN         55404                  6002               Various                                                                                                $2.58
VICKY IWAI                      1508 SYCAMORE                                               BELLEVUE        NE         68005                  6004               Various                                                                                               $11.38
VICKY KRUSER                    58620 RIDGEVIEW                                             HANNIBAL        MO         63401                  6004               Various                                                                                               $14.40
VICKY L. HOHN                   PO BOX 423                                                  MITCHELL        SD         57301                  6002               Various                                                                                                $8.19
VICKY LANCASTER                 WRONG ADDRESS                                               GRAND MEADOW    MN         55936                  6004               Various                                                                                                $6.00
VICKY ORTH-WRIGHT               757 FIR ST                                                  POCATELLO       ID         83201                  6002               Various                                                                                                $4.38
VICKY WEBB                      518 SCHULTZ DR                                              WISNER          NE         68791                  6002               Various                                                                                                $0.41
VICTOR ADOLPHSON                PO BOX 91                                                   GLASGOW         MT         59230                  6002               Various                                                                                                $2.03
VICTOR BELL                     840 KIMBERLY CT                                             LANDER          WY         82520                  6002               Various                                                                                                $1.18
VICTOR BERDEN                   2208 14TH AVE.                                              MENOMINEE       MI         49858                  6004               Various                                                                                               $17.00
VICTOR CLEARY                   933 LINCOLN STREET                                          MENASHA         WI         54952                  6002               Various                                                                                               $17.19
VICTOR DEARMORE                 101 WEBBER ST                                               WEBBER          KS         66970                  6002               Various                                                                                                $2.77
VICTOR GARCIA                   404 N EAGLE ST                                              OSHKOSH         WI         54902                  6004               Various                                                                                               $10.00




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                                                                                                                                                                                                                                    Claim subject to offset?
                                                                                                                                                                                                          Unliquidated
                                                                                                                                                                                             Contingent


                                                                                                                                                                                                                         Disputed
                                                                                                                                                      Last 4 Digits of   Date Debt was
                                                                                                                                                         Account       Incurred, Basis for
              Creditor Name               Address1                   Address2        Address3             City         State           Zip   Country     Number              Claim                                                                             Total Claim
VICTOR GARZA                   3805 7TH AVENUE NW                                                 GREAT FALLS       MT         59404                 6004              Various                                                                                                $8.50
VICTOR HENNING                 PO BOX 335                                                         LAKEFIELD         MN         56150                 6004              Various                                                                                                $3.00
VICTOR J CORIA                 APT # 6                                                            OGDEN             UT         84404                 6002              Various                                                                                                $9.21

VICTOR LEBRON                  1738 GOLF BRIDGE DRIVE APT 3                                       NEENAH            WI         54956                   6004            Various                                                                                                $8.00
VICTOR OGDEN JR                W6150 CT RD BB                 #105                                APPLETON          WI         54914                   6004            Various                                                                                                $2.00
VICTOR PEKAH                   1415 2ND ST W                                                      ROUNDUP           MT         59072                   6002            Various                                                                                                $0.77
VICTOR PEREZ                   103 M STREET SE                                                    QUINCY            WA         98848                   6666            Various                                                                                               $20.04
VICTOR RODRIGUEZ               1136 CENTER ST                                                     DELAVAN           WI         53115                   6002            Various                                                                                                $0.63
VICTOR TEBURSO                 107 GRAHAML                                                        AUSTIN            MN         55912                   6004            Various                                                                                                $6.00
VICTOR TRUJILLO                910 VANBURENST.                                                    BELVIDERE         IL         61008                   6004            Various                                                                                               $16.00
VICTOR WINTER                  3486 SWANSEE RIDGE                                                 SUN PRAIRIE       WI         53590                   6004            Various                                                                                                $5.70
VICTOREA MITCHELL              2015 ADERBERRY LN                                                  MADISON           WI         53711                   6004            Various                                                                                                $6.00
VICTORIA ABEL                  2033 GREENBUD                                                      MOSINEE           WI         54476                   6004            Various                                                                                               $13.50
VICTORIA AHLGREN               2003 BEVERLY HILL BLVD                                             BILLINGS          MT         59102                   6002            Various                                                                                                $2.16
VICTORIA ALLISON               RR 2 BOX 98 PMB                                                    OQUAWKA           IL         61469                   6002            Various                                                                                                $7.01
VICTORIA ANN MEYER             N75 W23124 RIDGEVIEW CIR                                           SUSSEX            WI         53089                   6002            Various                                                                                                $5.37
VICTORIA BLAHNIK               2866 BLUE JAY LN                                                   GREEN BAY         WI         54313                   6002            Various                                                                                                $4.82
VICTORIA CALO                  1917 NORTHWESTERN AVE                                              WAUSAU            WI         54403                   6002            Various                                                                                                $3.45
VICTORIA COUCH                 201 E HARRISON AVE                                                 COEUR D ALENE     ID         83814                   6002            Various                                                                                               $10.00
VICTORIA D BENDER              1101 E APPLECREEK RD                                               APPLETON          WI         54913                   6002            Various                                                                                                $1.32
VICTORIA DANCY                 2201 POST ROAD #107                                                FITCHBURG         WI         53713                   6004            Various                                                                                                $3.00
VICTORIA DESTREE               923 COUNTY ROAD Y                                                  LUXEMBURG         WI         54217                   6002            Various                                                                                                $0.93
VICTORIA ELWOOD                23854 240TH ST                                                     HUTCHINSON        MN         55350                   6004            Various                                                                                                $3.06
VICTORIA GLASMAN               5032 BALUSTRADE SE                                                 LACEY             WA         98513                   6004            Various                                                                                               $16.00
VICTORIA GOMEZ                 356 W PARK ST                                                      WAUTOMA           WI         54982                   6002            Various                                                                                                $4.60
                               1525 MCDONALD DR SW TRLR
VICTORIA GRAN                  138                                                                HUTCHINSON        MN         55350                   6002            Various                                                                                                $7.07
VICTORIA GUERRERO              1238 TIETON ESTATE DR                                              TIETON            WA         98947                   6004            Various                                                                                               $23.00
VICTORIA HARDY                 118 E 620TH S                                                      SMITHFIELD        UT         84335                   6002            Various                                                                                                $6.41
VICTORIA HESS                  105 CRESTHAVEN CT                                                  FOREST CITY       IA         50436                   6002            Various                                                                                                $5.21
VICTORIA HIPPS                 HC 6 BOX 156                                                       DONIPHAN          MO         63935                   6002            Various                                                                                                $3.04
VICTORIA KECKLER               1220 S SEELEY                                                      FREEPORT          IL         61032                   6004            Various                                                                                               $10.48
VICTORIA L SELANDER            317 E CENTENNIAL 84 DR                                             NEW YORK MILLS    MN         56567                   6002            Various                                                                                                $9.86
VICTORIA LAROW                 1135 CHESNUT ST                                                    FAIRMONT          MN         56031                   6002            Various                                                                                                $1.32
VICTORIA LENZ                  102 E JEFFERSON ST                                                 BLOOMFIELD        IA         52537                   6002            Various                                                                                               $10.00
VICTORIA LISLE                 2333 E C ST                                                        TORRINGTON        WY         82240                   6002            Various                                                                                                $3.45
VICTORIA MALLINGER             1865 440TH ST                                                      HARRIS            MN         55032                   6002            Various                                                                                                $6.41
VICTORIA MCCARTHY              503 IOWA AVE                                                       MISSOULA          MT         59802                   6004            Various                                                                                                $2.98
VICTORIA MERLING               32 KORDA DRIVE                                                     DULUTH            MN         55808                   6004            Various                                                                                                $3.00
VICTORIA NACK                  647 MARK AVE                                                       SHEBOYGAN FALLS   WI         53085                   6004            Various                                                                                               $30.00
VICTORIA PEEK                  9841 WASHINGTON RD                                                 CLARE             MI         48617                   6002            Various                                                                                                $3.29
VICTORIA R HEGGEN              2223 WILDWOOD PL                                                   LINCOLN           NE         68512                   6002            Various                                                                                                $3.29
VICTORIA ROCHE                 107 WARBLER WAY                                                    WATERTOWN         WI         53098                   6004            Various                                                                                               $56.87
VICTORIA RODRIGUEZ             1727 PARK AVE                                                      RACINE            WI         53403                   6004            Various                                                                                               $50.00
VICTORIA SALZER                938 DOUSMAN STREET                                                 GREEN BAY         WI         54303                   6004            Various                                                                                                $2.00
VICTORIA SANCHEZ               605 1/2 QUEEN AVE                                                  YAKIMA            WA         98902                   6004            Various                                                                                               $30.02
VICTORIA SCHLOSS               113 COLUMBIA CR                                                    MONONA            WI         53716                   6002            Various                                                                                                $6.33
VICTORIA SCHWARTZ              2680 HUNTINGTION DR                                                BELVIDERE         IL         61008                   6004            Various                                                                                               $30.00
VICTORIA SERNA                 24659 MOUND RD                                                     FERGUS FALLS      MN         56537                   6002            Various                                                                                                $7.70
VICTORIA SMITH                 406 WEST THIRD STREET                                              BEAVER DAM        WI         53916                   6004            Various                                                                                               $54.00
VICTORIA STEFANSKI             1765 MAPLE AVE #108                                                WABENO            WI         54566                   6004            Various                                                                                                $2.00
VICTORIA TODD                  8292 S VALENCIA CIR                                                SANDY             UT         84093                   6002            Various                                                                                                $2.52
VICTORIA TORRES                1021 CORAL ST                                                      DE PERE           WI         54115                   6002            Various                                                                                                $7.34




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                                                                                                                                                              Account         Incurred, Basis for
              Creditor Name                       Address1                Address2          Address3             City        State         Zip    Country     Number                Claim                                                                             Total Claim
VICTORIA WILSON                        129 MANOR HILL DR.                                                EDEN             WI         53019                6004                Various                                                                                             $2.00
VICTORIA WUOLLETT                      10653 FOREST LN                                                   SISTER BAY       WI         54234                6002                Various                                                                                             $7.67
VICTORIO SIFUENTES                     88 WEST ALBERT DRIVE           LOT #7                             MANITOWOC        WI         54220                6004                Various                                                                                            $10.00
VICTORY L THRONDSON                    201 N BENZ ST                                                     LAWLER           IA         52154                6002                Various                                                                                             $2.90
VICTORY LAND GROUP CO LTD              4837 SOLUTION CENTER                                              CHICAGO          IL         60677-4008           0730                Various                                                                                           $661.40
VIDA GANGE                             #1 BEARPAW PLACE W                                                GREAT FALLS      MT         59404                6002                Various                                                                                            $10.00

VIENNA GUTIERREZ                       101 N MISSION STREET APT 209                                      WENATCHEE        WA         98801                 6004               Various                                                                                            $20.00
VIKI S HALL                            HC 4 BOX 464                                                      DONIPHAN         MO         63935                 6002               Various                                                                                             $7.53
VIKING COCA COLA                       PO BOX 806                                                        ST CLOUD         MN         56302                 7317               Various                                                                                        $45,607.55
VIKING DEVELOPMENT                     NEED W9                                                                                                             5567               Various                                                                                          $100.00
VIKING SIGNS INC                       424 S DAVIS AVENUE                                                LITCHFIELD       MN         55355                 2463               Various                                                                                          $300.00
VIKKI SWIFT                            2527 SEAPORT DRIVE                                                LEWISTON         ID         83501                 6004               Various                                                                                            $15.41
VIKTORIYA ZEMLYANSKA                   205 W LAKE PARK PL                                                LAKE MILLS       WI         53551                 6002               Various                                                                                             $3.04
VILAS LAATSCH                          W13369 LAATSCH RD                                                 TIGERTON         WI         54486                 6002               Various                                                                                             $1.97
VILAYPHONE SAYVEO                      16520 ULRICH AVE                                                  WOTHINGTON       MN         56187                 6004               Various                                                                                             $3.00
VILLA LIGHTING SUPPLY INCORPOR         2929 CHOUTEAU AVENUE                                              ST LOUIS         MO         63103-2903            4040               Various                                                                                       $132,486.59
VILLAGE COMPANY LLC                    10000 VALLEY VIEW ROAD                                            EDEN PRAIRIE     MN         55344-0000            7854               Various                                                                                        $17,606.36
                                                                                                                                                                              12/1/2018 -
VILLAGE OF BROOKLYN, MI                P.O. BOX 90                                                       BROOKLYN         MI         49230-0090            000-01             12/28/2018                                                                                            $65.58
                                                                                                                                                                              10/16/2018 -
VILLAGE OF DWIGHT, IL                  209 SOUTH PRAIRIE AVENUE                                          DWIGHT           IL         60420                 4000               12/11/2018                                                                                        $115.63
                                                                                                                                                                              11/21/2018 -
VILLAGE OF HOWARD WATER & SEWER DEPT P.O. BOX 12207                                                      GREEN BAY        WI         54307-2207             1-00-3            12/20/2018                                                                                        $149.16
                                                                                                                                                                              9/25/2018 -
VILLAGE OF LAKE HALLIE PUBLIC WORKS    13034 COUNTY HIGHWAY OO                                           CHIPPEWA FALLS   WI         54729                  1                 12/19/2018                                                                                        $339.72
                                                                                                                                                                              11/21/2018 -
VILLAGE OF WOODSFIELD, OH              221 SOUTH MAIN STREET                                             WOODSFIELD       OH         43793                 9104               12/17/2018                                                                                      $1,288.75
VIN SCHWARTZ                           506 LAFAYETTE STREET                                              WATERTOWN        WI         53094                 6004               Various                                                                                          $126.96
VINCE GUZMAN                           2900 N 13TH                                                       NORFOLK          NE         68701                 6004               Various                                                                                            $15.00
VINCENT ACKERMAN                       604 FRONT ST W                                                    JANESVILLE       MN         56048                 6004               Various                                                                                             $3.00
VINCENT DISALVO                        1023BROOKFIELD CT                                                 ROCHESTER        MN         55904                 6002               Various                                                                                             $0.99
VINCENT FRANCO                         5055 CEDAR LN                                                     THOMSON          IL         61285                 6002               Various                                                                                             $3.86
VINCENT JENSEN                         504 2ND AVE                                                       AUDUBON          IA         50025                 6002               Various                                                                                             $9.56
VINCENT LEBRUN                         1709 EAST WYNDMERE DRIVE                                          APPLETON         WI         54913                 6004               Various                                                                                            $25.00
VINCENT MCCOY                          554 E 750TH N                                                     OGDEN            UT         84404                 6002               Various                                                                                             $4.33
VINCENT MONTAZELLA                     1210 N 17TH ST                                                    SHEBOYGAN        WI         53081                 6002               Various                                                                                             $5.86
VINCENT PIEL JR.                       P.O. BOX 34                                                       WHITE SWAN       WA         98952                 6004               Various                                                                                             $1.50
VINCENT PROFITT                        702 WSTC                                                          ROSEAU           MN         56751                 6002               Various                                                                                             $6.96
VINCENT R JOCHIM                       N6649 110TH ST                                                    ELMWOOD          WI         54740                 6002               Various                                                                                             $7.29
VINCENT W BEACH                        415 S CENTRAL ST                                                  FOREST CITY      IA         50436                 6002               Various                                                                                             $9.67
VINCENT WITTIG                         417 CLEARBROOK TERR                                               COTTAGE GROVE    WI         53527                 6004               Various                                                                                             $5.47
VINTON LIVEWIRE                        PO BOX 468                                                        VINTON           IA         52349-0468            1214               Various                                                                                            $77.00
VIOLA BOHLMAN                          503 ASHBURY DRIVE                                                 FOND DU LAC      WI         54935                 6002               Various                                                                                            $10.71
VIOLA E SULLWOLD                       10190 47TH ST N                                                   LAKE ELMO        MN         55042                 6002               Various                                                                                             $3.86
VIOLA GREENWOOD                        1814 MASSEY VIEW RD                                               JACKSONVILLE     IL         62650                 6002               Various                                                                                             $7.21
VIOLA JOHNSON                          4509 E 3RD ST APT 7                                               SIOUX FALLS      SD         57110                 6002               Various                                                                                             $2.85
VIOLA ROUSH                            386 N ADAMS AVE                                                   BUFFALO          WY         82834                 6002               Various                                                                                             $9.01
VIOLET ANDERSEN                        802 BROOKSIDE DR                                                  AUDUBON          IA         50025                 6002               Various                                                                                             $2.58
VIOLET BURGE                           2445 W. CANNON AVE                                                POST FALLS       ID         83854                 6004               Various                                                                                             $8.82
VIOLET C SANDERSON                     380 2ND AVE BOX # 1343                                            AFTON            WY         83110                 6002               Various                                                                                             $0.66
VIOLET GOUTY                           440 N 10TH ST                                                     BRECKENRIDGE     MO         64625                 6002               Various                                                                                             $1.95
                                                                      1385 SECRETARIAT
VIOLET HAYDEN                          C/O DAWN VOGT                  PATH APT 303                       CORDOVA          TN         30816                  6002              Various                                                                                               $16.36




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               Creditor Name                 Address1              Address2             Address3                City       State         Zip    Country     Number                Claim                                                                             Total Claim
VIOLET HOPKINS                   555 HIGHWAY 10 S TRLR 59                                              SAINT CLOUD      MN         56304                6002                Various                                                                                            $15.92
VIOLET JONES                     332 W MADISON AVE                                                     MILTON           WI         53563                6002                Various                                                                                             $5.75
VIOLET LEE                       2730 GRANGEMONT                                                       OROFINO          ID         83544                6002                Various                                                                                             $1.01
VIOLET M KRELL                   261 S 6TH ST APT 1                                                    WINNECONNE       WI         54986                6002                Various                                                                                             $9.23
VIOLET UNDERHILL                 1834 GRANT ST                                                         BELOIT           WI         53511                6002                Various                                                                                             $6.52
VIOLET WENZEL                    206 WESTVIEW DRIVE                                                    MARSHFIELD       WI         54449                6002                Various                                                                                             $2.08
VIRGIE BLIGH                     1418 12TH ST                                                          ONAWA            IA         51040                6002                Various                                                                                             $2.77
VIRGIL BOSWORTH                  P O BOX 3209                                                          UNION GAP        WA         98903                6004                Various                                                                                             $6.00
VIRGIL DIETMEIER                 616 8TH AVENUE               APT 230                                  MONROE           WI         53566                6002                Various                                                                                             $4.16
VIRGIL E BENNETT                 339 N POLK ST                                                         LANCASTER        WI         53813                6002                Various                                                                                             $0.68
VIRGIL FURROW                    206 W RIVER ST                                                        BRADY            NE         69123                6002                Various                                                                                             $2.60
VIRGIL HARMDIERKS                1206 LAKEWOOD AVE                                                     ALBERT LEA       MN         56007                6004                Various                                                                                            $15.00
VIRGIL MEINTS                    4020 FOLSOM                                                           LINCOLN          NE         68522                6004                Various                                                                                            $39.94
VIRGIL PLUNKETT                  46399 US HWY 212                                                      WATERTOWN        SD         57201                6004                Various                                                                                             $8.23
VIRGIL SNYDER                    1680 200TH ST                                                         NEW HAMPTON      IA         50659                6002                Various                                                                                             $2.33
VIRGINA MEYER                    7332 S CAMINO CIR                                                     SALT LAKE CITY   UT         84121                6002                Various                                                                                             $0.93
VIRGINA MONTGOMERY               14410 MCAULEY ROAD                                                    YAKIMA           WA         98908                6004                Various                                                                                             $3.90
VIRGINIA (GE SHEPHERD            PO BOX 34                                                             BASIN            MT         59631                6002                Various                                                                                             $3.29
VIRGINIA (GI SCHLECHT            5340 S CASTLESTORE SQ                                                 BILLINGS         MT         59106                6002                Various                                                                                             $9.56
VIRGINIA A. BUSCHMANN            2633 SHAWANO AVE                                                      GREEN BAY        WI         54313                6002                Various                                                                                             $1.53
VIRGINIA BAUTISTALOPEZ           402 BELLEVUE ST                                                       GREEN BAY        WI         54302                6002                Various                                                                                             $4.58
VIRGINIA BAYNE                   922 W LEWIS ST                                                        LIVINGSTON       MT         59047                6002                Various                                                                                             $5.97
VIRGINIA BEIVIR                  127 E PARK STREET                                                     WAUTOMA          WI         54982                6002                Various                                                                                             $3.23
VIRGINIA BEST                    509 PLATTE AVE                                                        ALLIANCE         NE         69301                6002                Various                                                                                             $4.16
VIRGINIA CHEEK                   3708 S. WILLOW               APT 304                                  SIOUX FALLS      SD         57105                6004                Various                                                                                            $11.75
VIRGINIA ERMELING                1240 MERRILL AVE APT 313                                              WAUSAU           WI         54401                6002                Various                                                                                             $1.66
VIRGINIA GIFT BRANDS SMITH MT    PO BOX 934101                                                         ATLANTA          GA         31193-4101           7657                Various                                                                                        $30,571.71
VIRGINIA HEREK                   10721 WASHINGTON AVE                                                  STURTEVANT       WI         53177                6002                Various                                                                                             $7.40
VIRGINIA JAMES                   1128 WARNER AVE                                                       LEWISTON         ID         83501                6002                Various                                                                                             $0.33
VIRGINIA JENNAWAY                SUNFLOWER GARDENS            1021 3RD STREET E                        ROUNDUP          MT         59072                6002                Various                                                                                            $16.64
VIRGINIA JESCHKE                 999 DUN MOVING LANE                                                   KALISPELL        MT         59901                6004                Various                                                                                            $15.00
VIRGINIA L BALES                 PO BOX 395                                                            OSAGE            WY         82723                6002                Various                                                                                             $8.03
VIRGINIA LARKIN                  2555 S. 7TH ST.              APT 115                                  LA CROSSE        WI         54601                6004                Various                                                                                             $9.44
VIRGINIA LEADENS                 518 7TH AVE NE                                                        AITKIN           MN         56431                6002                Various                                                                                             $8.32
VIRGINIA MAESTAS                 1537 E DAVIS ST                                                       COEUR D'ALENE    ID         83814                6002                Various                                                                                             $1.92
VIRGINIA MARTINY                 159 HOOPER LN                                                         MAY              ID         83253                6002                Various                                                                                             $2.93
VIRGINIA MEYER                   4326 5 MILE PT RD                                                     ALLOUEZ          MI         49805                6002                Various                                                                                             $4.99
VIRGINIA NYLEN                   1808 N WAYLAND                                                        SIOUX FALLS      SD         57103                6004                Various                                                                                            $16.20
VIRGINIA O'BRIEN                 2507 CALVIN ST                                                        BELLEVUE         NE         68123                6002                Various                                                                                             $5.95
VIRGINIA PEREZ                   746 N KANSAS ST                                                       SUPERIOR         NE         68978                6002                Various                                                                                             $9.21

VIRGINIA ROGERS                  484 W HIGHLAND PK AVE # 1307                                          APPLETON         WI         54911                 6002               Various                                                                                             $1.51
VIRGINIA SCHULTZ                 N5428 24TH. AV. LOT 212                                               WILD ROSE        WI         54984                 6004               Various                                                                                             $7.06
VIRGINIA SWEDERSKE               126 ISLAND ROAD                                                       RIPON            WI         54971                 6004               Various                                                                                             $1.00
VIRGINIA WHEELER                 209 FREDERICK AVE                                                     FORT ATKINSON    WI         53538                 6002               Various                                                                                             $7.62
VIRGINIA WILLDEN                 161 CHRISTOPHER PL                                                    TREMONTON        UT         84337                 6002               Various                                                                                             $2.36
VIRGINIA WILMARTH                PO BOX E5                                                             PECK             ID         83545                 6002               Various                                                                                             $3.18
VIRGINIA WINSCHER                W546 WARD RD                                                          MONDOVI          WI         54755                 6002               Various                                                                                             $0.58
VIRGLE JEANE                     30 LACROIX RD E                                                       PINEVILLE        LA         71360                 6004               Various                                                                                            $74.00
VIRIDIANA RAMIREZ                108 W MAIN ST                                                         BRANDON          WI         53919                 6002               Various                                                                                             $9.21
VIRIRIANA BLANCO                 6506 DORAL CIRCLE                                                     MADISON          WI         53719                 6004               Various                                                                                             $5.40
VIRLOW HADDON                    1164 W 2500 S                                                         SYRACUSE         UT         84075                 6004               Various                                                                                             $6.00
VIRMAX LLC                       10923-25 MCCORMICK RD                                                 HUNT VALLEY      MD         21031                 7530               Various                                                                                         $4,080.24
VISION COUNCIL                   VISION COUNCIL OF AMERICA    SUITE 700           225 REINEKERS LANE   ALEXANDRIA       VA         22314                 0638               Various                                                                                         $5,205.33




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              Creditor Name                     Address1            Address2          Address3               City       State         Zip     Country     Number                Claim                                                                             Total Claim
VISION EASE LENS                    NW 6083                     PO BOX 1450                         MINNEAPOLIS      MN         55485-6083            8141                Various                                                                                          $3,168.64
VITABATH INC                        333 RIMROCK ROAD                                                TORONTO          ON         M3J 3J9      CANADA 4378                  Various                                                                                         $22,035.77
VITO BRUGETTI                       334 CROFT DR                                                    IDAHO FALLS      ID         83401                 6004                Various                                                                                             $12.00
VIVA DISTRIBUTING LLC               PO BOX 679173                                                   DALLAS           TX         75267-9173            8826                Various                                                                                          $2,967.03
VIVIAN CLUFF                        10047 S MORGAN GROVE WAY                                        SANDY            UT         84092                 6002                Various                                                                                              $2.38
VIVIAN FISHER                       301 MATHER STREET                                               GREEN BAY        WI         54301                 6004                Various                                                                                             $30.00
VIVIAN GDANOV-HARRIS                1604 RANDALL DR                                                 BELLEVUE         NE         68005                 6002                Various                                                                                              $2.58
VIVIAN HANSEN                       1444 NE 3RD ST                                                  MADISON          SD         57042                 6002                Various                                                                                              $3.95
VIVIAN HEIDEMAN                     1009 AMADOR ST                                                  SENECA           KS         66538                 6002                Various                                                                                              $4.17
VIVIAN LIPSEY                       105 E 21ST ST                                                   ANNISTON         AL         36201                 6002                Various                                                                                              $4.63
VIVIAN MASON                        507 S ST CHARLES ST                                             SALMON           ID         83467                 6002                Various                                                                                              $0.38
VIVIAN NGUYEN                       3018 W APPLETON DR                                              SALT LAKE CITY   UT         84119                 6004                Various                                                                                             $10.98
VIVIAN POSTL                        300 THEILER DR                                                  TOMAHAWK         WI         54487                 6002                Various                                                                                              $7.18
VIVIAN SANNES                       1245 CLARK ST                                                   THERMOPOLIS      WY         82443                 6002                Various                                                                                              $7.86
VIVIAN THOMAS                       77810 CENTER STREET                                             COTTAGE GROVE    OR         97424                 6004                Various                                                                                              $5.00
VIVIAN VOTAVA                       N6369 CTY RD G                                                  NEILLSVILLE      WI         54456                 6002                Various                                                                                              $2.55
VIVIAN WASHINGTON                   2108 PINE WOOD DR.                                              STEVENS POINT    WI         54481                 6004                Various                                                                                              $1.00
VIXAY KUE                           1012 21ST                                                       TWO RIVERS       WI         54241                 6004                Various                                                                                             $15.02
VJOSA ZEKA                          2793 HOLLYHOCK ST                                               MADISON          WI         53711                 6004                Various                                                                                             $25.00
VLADISLOV(JI LEGNER                 1710 LAGUNA AVE                                                 SCHOFIELD        WI         54476                 6002                Various                                                                                              $7.21
VOCATION REHABILITATION SERVICES    2121 ROSEBUD DR                                                 BILLINGS         MT         59102                 6004                Various                                                                                             $89.00
                                    TODD CHRISTOPHER            311 PARK PLACE
VOGUE INTERNATIONAL                 INTERNATIONAL               BLVD SUITE 500                      CLEARWATER       FL         33759-0000              6720              Various                                                                                         $2,878.18

VOLK/ SHIRLEY D                     STORE 551                   SHOPKO EMPLOYEE 334 N HALLECK STREET DEMOTTE         IN         46310                   8694              Various                                                                                            $16.35
VOLKER FREIMANN                     3162 W. 9765 S                                                   SOUTH JORDAN    UT         84095                   6004              Various                                                                                            $88.00
VOLKMAN PLUMBING & HEATING INC      211 S 3RD STREET                                                 NORFOLK         NE         68701                                     Various                                                                                           $826.12
VON DAHL                            578 SESAME ST                                                    BUFFALO         WY         82834                   6002              Various                                                                                             $1.42
VON NIELSEN                         114 N 200TH W                                                    BRIGHAM CITY    UT         84302                   6002              Various                                                                                             $7.84
VON POAGE                           803 N ARCHER AVE                                                 NORTON          KS         67654                   6002              Various                                                                                             $4.88
VONIS A KEEBAUGH                    1332 TRADERS RD APT 47                                           MENASHA         WI         54952                   6002              Various                                                                                             $5.62
VONNA SWEET                         70 N 3RD E                                                       SODA SPRINGS    ID         83276                   6004              Various                                                                                            $23.00
VONNIE SEABOY                       335 WAMBDI ST                                                    SISSETON        SD         57262                   6002              Various                                                                                             $3.89
VONNIE SELLARS                      27985 CT YRD # 3                                                 BADGER          MN         56714                   6002              Various                                                                                             $7.86

VORPAHL/ JACKIE                     STORE 018                   SHOPKO EMPLOYEE                     GREEN BAY        WI         54307-9060              4513              Various                                                                                            $54.00
VORTEX DOORS                        COVERING 8 WESTERN STATES                                       IRVINE           CA         92618                                     11/12/2018                                                                                        $609.70
                                                                1710 E GUTHRIE
VOSS DISTRIBUTING LLC               VICE PRESIDENT OF SALES     SUITE E                             DES MOINES       IA         50316                   1359              Various                                                                                         $1,950.28
VSP VISION CARE                     PO BOX 385018                                                   BIRMINGHAM       AL         35238                   6004              Various                                                                                            $69.00
VUE HER                             2517 DUNWOODY DRIVE                                             MADISON          WI         53713                   6004              Various                                                                                            $25.00
VYLINDA STARK                       PO BOX 502                                                      ISLAND PARK      ID         83429                   6002              Various                                                                                            $10.00
W APPLIANCE CO LLC                  WELLS FARGO                 PO BOX 842932                       BOSTON           MA         02284-2932              4531              Various                                                                                     $1,227,680.21
W DAVID HOYT                        105 WENDY ST                                                    LANDER           WY         82520                   6002              Various                                                                                             $8.30
WA ENTERPRISES LLC                  17419 RIVIERA DRIVE                                             OMAHA            NE         68136                   1171              Various                                                                                         $5,866.67
WADE (AMM) MOSMAN                   RT BOX # 135                                                    PECK             ID         83545                   6002              Various                                                                                             $1.40
WADE BECKER                         PO BOX 105                                                      ENDICOTT         WA         99125                   6004              Various                                                                                            $40.00
WADE COBURN                         PO BOX 363                                                      GARLAND          UT         84312                   6002              Various                                                                                             $8.66
WADE FERBER                         814 REVERE STREET                                               EAU CLAIRE       WI         54703                   6004              Various                                                                                            $45.00
WADE HORSMAN                        231 E 28TH                                                      DUBUQUE          IA         52001                   6004              Various                                                                                            $23.00
WADE KNORR                          N3918 SHAMROCK CR                                               APPLETON         WI         54913                   6004              Various                                                                                            $50.85
WADE PETERSON                       980 S 660TH W                                                   TREMONTON        UT         84337                   6002              Various                                                                                             $2.77
WADE SCRIPTER                       908 N KANSAS ST                                                 SUPERIOR         NE         68978                   6002              Various                                                                                             $9.95
WADE SPILDE                         28729 655TH AVE                                                 HARTLAND         MN         56042                   6004              Various                                                                                             $3.00




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WADE STERN                    791 N. WINTER ST                                                    RIVER FALLS       WI         54022                 6004                Various                                                                                            $23.00
WADE WERTH                    801 WELCH BLVD                                                      LANDER            WY         82520                 6002                Various                                                                                             $2.33
WADE WODARCZYK                W6443 CTY RD V                                                      ELLSWORTH         WI         54011                 6002                Various                                                                                             $0.88
WAGNER/ CITY OF               60 SOUTH MAIN AVENUE                                                WAGNER            SD         57380                 9131                Various                                                                                            $62.65
WAHL CLIPPER CORPORATION      PO BOX 5010                                                         STERLING          IL         61081                 4303                Various                                                                                        $35,432.01

WAHLERT/ JOHN                 STORE 683                     SHOPKO EMPLOYEE 109 N MARKET STREET   AUDUBON           IA         50025                  0825               Various                                                                                               $63.25
WALCK FAMILY                  1010 E FIFTH AVE                                                    HOUGHTON          MI         49931                  6002               Various                                                                                                $2.66
WALEED A THATCHER             1530 ASSISI DR NW                                                   ROCHESTER         MN         55901                  6002               Various                                                                                               $10.00

WALES/ ABIGAIL                STORE 2-010                   SHOPKO EMPLOYEE                       GREEN BAY         WI         54307-9060             6301               Various                                                                                               $96.30
WALKER KEOWN                  115 W 2ND ST.                                                       WAITSBURG         WA         99361                  6004               Various                                                                                               $39.97
WALKER LINSSEN                5034 BLAHNIK RD                                                     DENMARK           WI         54208                  6002               Various                                                                                                $6.66
WALKER VONKAENEL              1215 31ST AVE.                                                      MONROE            WI         53566                  6004               Various                                                                                                $1.00

WALKER WUOLLETT               2387 COUNTRY WALK DR UNIT 7                                         SISTER BAY        WI         54234                  6002               Various                                                                                                $8.60

WALKER/ TRENT                 STORE 2-083                   SHOPKO EMPLOYEE                       GREEN BAY         WI         54307-9060             4072               Various                                                                                          $186.62
WALLA WALLA CITY OF           15 N 3RD AVENUE                                                     WALLA WALLA       WA         99362                  1116               Various                                                                                          $241.60
WALLACE A CHAFFIN             PO BOX 183                                                          LOLO              MT         59847                  6002               Various                                                                                             $7.48
WALLACE JENSEN                1380 S. 1100 W.                                                     WOODS CROSS       UT         84087                  6004               Various                                                                                             $6.00
WALLACE MORTON                125 BYRD AVENUE               APT 610                               NEENAH            WI         54956                  6004               Various                                                                                             $2.00
WALLACE ROUSE                 839 W 17TH AVE                                                      OSHKOSH           WI         54902                  6002               Various                                                                                             $7.56
WALTCO INCORPORATED           PO BOX 12147                                                        GREEN BAY         WI         54307-2147             6639               Various                                                                                         $1,855.01
WALTER A SOLES                922 W 1ST ST                                                        WINNER            SD         57580                  6002               Various                                                                                             $0.88
WALTER ANTON CHICAS           2224 CIRCLE DR                                                      WORTHINGTON       MN         56187                  6002               Various                                                                                             $5.26
WALTER BAME                   1040 N 7TH ST                                                       GREYBULL          WY         82426                  6002               Various                                                                                             $8.85
WALTER DANLEY                 600 LINDBERGH AVE LOT 28                                            RAPID CITY        SD         57701                  6002               Various                                                                                             $7.99
WALTER ELLERSON               1100 WHITMER AVE                                                    PARK FALLS        WI         54552                  6002               Various                                                                                             $4.63
WALTER FRONTCZAK              510 N FRONT ST                                                      DOWAGIAC          MI         49047                  6002               Various                                                                                             $6.49
WALTER GRANE                  2356 520TH ST                                                       GRANITE FALLS     MN         56241                  6004               Various                                                                                            $34.65
WALTER GRESSICK               1597 FOREST GLEN                                                    SOBIESKI          WI         54171                  6004               Various                                                                                            $12.40
WALTER III ANDERSON           632 MAIN STREET RD                                                  OMER              MI         48749                  6002               Various                                                                                             $7.21
WALTER JEREM KREUSER          5713-53RD AVENUE                                                    KENOSHA           WI         53144                  6002               Various                                                                                             $8.79
WALTER LAZORE                 200 MAIN ST                                                         BELGIUM           WI         53004                  6002               Various                                                                                             $5.23
WALTER MARTTILA               56143 UNION ST                                                      CALUMET           MI         49913                  6002               Various                                                                                            $10.00
                              2516 SEAPORT DRIVE DRIVE UNIT
WALTER MCWHIRTER              B                                                                   LEWISTON          ID         83501                  6004               Various                                                                                               $13.00
WALTER PECK                   2430 MARY ST LOT 41                                                 MARINETTE         WI         54143                  6002               Various                                                                                                $0.88
WALTER PERRING                1931 PROSPECT ST                                                    WISCONSIN RAPID   WI         54494                  6002               Various                                                                                                $6.25
WALTER PIRTLE                 1686 RIVERIA DRIVE                                                  IDAHO FALLS       ID         83404                  6002               Various                                                                                                $4.99
                                                            56332 MIDDLE ST.
WALTER WILSON                 PO BOX 39                     CALUMET                               HOUGHTON          MI         49931                  6004               Various                                                                                               $20.00
WALTER WISE                   809 W KIMBERLY AVE                                                  KIMBERLY          WI         54136                  6002               Various                                                                                               $10.00

WALTH/ DARCY                  STORE 2-040                   SHOPKO EMPLOYEE                       GREEN BAY         WI         54307-9060             9451               Various                                                                                           $150.67
WALTON STELLINGWERF           1716 E PINE ST                                                      SIOUX FALLS       SD         57103                  6002               Various                                                                                             $1.12

WALZ/ MELISSA                 STORE 2-020                   SHOPKO EMPLOYEE                       GREEN BAY         WI         54307-9060             0658               Various                                                                                               $16.20
WANDA APPENAY                 ROUTE 6 BOX 675                                                     POCATELLO         ID         83201                  6004               Various                                                                                                $4.41
WANDA DIXON                   1021 CENTRAL AVE                                                    BELOIT            WI         53511                  6004               Various                                                                                               $29.00
WANDA EDDY                    3611 S 128TH AVE                                                    OMAHA             NE         68144                  6004               Various                                                                                                $4.00
WANDA GARDNER                 148 DONALD ST                                                       WALLA WALLA       WA         99362                  6004               Various                                                                                                $8.90
WANDA GINDT                   215 E 2ND AVENUE                                                    STANLEY           WI         54768                  6002               Various                                                                                                $2.08




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WANDA ISHMON                           424 W RINGOLD ST                                                        FREEPORT           IL         61032                 6002                Various                                                                                             $6.52
WANDA J HERNANDEZ                      1205 8TH AVE N                                                          SAINT JAMES        MN         56081                 6002                Various                                                                                             $6.68
WANDA JENNIGES                         210 CROSS STREET                                                        MANKATO            MN         56003                 6004                Various                                                                                             $3.00
WANDA L BOECK                          1589 MEADOW WOODS CT                                                    GREEN BAY          WI         54313                 6002                Various                                                                                             $0.38
WANDA MEACHAM                          444 N BURRITT AVE                                                       BUFFALO            WY         82834                 6002                Various                                                                                             $6.93
WANDA MENSCHING                        PO BOX 268                                                              SOMERS             WI         53171                 6002                Various                                                                                             $2.16
WANDA NAYLOR                           9792 S 1300TH W                                                         SOUTH JORDAN       UT         84065                 6002                Various                                                                                             $6.36
WANDA S FEUCHT                         475 W SAMMY CT                                                          COEUR D ALENE      ID         83815                 6002                Various                                                                                             $6.52
WANDA SEXTON                           52 BOOK LN                                                              JACKSONVILLE       IL         62650                 6002                Various                                                                                             $2.77
WANDA SEYMOUR                          2119 ERIE AVE                  APT. 215                                 SHEBOYGAN          WI         53081                 6004                Various                                                                                             $1.00
WANDA STEINBRECHER                     W1639 COUNTY TRK JJ                                                     WAUSAUKEE          WI         54177                 6002                Various                                                                                             $7.01
WANDA STERNAT                          N3033 HICKORY ROAD                                                      BROWNSVILLE        WI         53006                 6004                Various                                                                                             $3.80
WANDA SWANSON                          PO BOX 207                                                              AUBURN             NE         68305                 6002                Various                                                                                             $8.14
WANDA WALLACE                          14O OAK ST                                                              GREEN BAY          WI         54303                 6002                Various                                                                                             $2.05
WANDA ZELL                             PO BOX 783                                                              SHELBY             MT         59474                 6002                Various                                                                                             $2.08
WANETA MORGAN                          202 E 13TH ST APT 5B                                                    TAMA               IA         52339                 6002                Various                                                                                             $2.19
WANITA SCHOTT                          2274 FORREST HILL VLG                                                   KALISPELL          MT         59901                 6002                Various                                                                                             $2.22
WARD FAMILY                            3001 KOHLHOPP RD                                                        EAU CLAIRE         WI         54703                 6002                Various                                                                                             $2.99
WARDWELL FAMILY                        N8947 CTH M                                                             MINDORO            WI         54644                 6002                Various                                                                                             $1.64
WARREN AMOS                            5908 CAMDEN AVE                                                         OMAHA              NE         68104                 6002                Various                                                                                             $1.26
WARREN BEEBOUT                         3280 ALDER ST                                                           STEVENS POINT      WI         54481                 6002                Various                                                                                             $9.26
WARREN DILLON                          906 W 4300 S                                                            RIVERDALE          UT         84405                 6004                Various                                                                                             $3.00
WARREN DISTRIBUTION                    VICE PRESIDENT OF SALES        727 S 13TH STREET                        OMAHA              NE         68102                 8477                Various                                                                                       $284,474.91
WARREN HELLER                          346 TOWN LINE RD                                                        MARQUETTE          MI         49855                 6002                Various                                                                                             $1.53
WARREN KOZITZA                         123 N. DALLAS ST.                                                       RIVER FALLS        WI         54022                 6004                Various                                                                                            $25.00
WARREN PETERSON                        C/O MARGARET PETERSON          251 PINE ST                              PESHTIGO           WI         54157                 6002                Various                                                                                            $11.81
WARREN STEWART                         333 3RD AVE N                                                           GREYBULL           WY         82426                 6002                Various                                                                                             $3.07
WARREN SWARTZ                          362 I ST                                                                IDAHO FALLS        ID         83402                 6002                Various                                                                                             $7.40
WARREN WILLIAMS                        110 TREVINO DR                                                          KALISPELL          MT         59901                 6002                Various                                                                                             $8.82

WARREN ZALABSKY                        7510 WHITROCK AVE                                                       WISCONSIN RAPIDS   WI         54494                  6004               Various                                                                                             $5.00
WASHINGTON DEPARTMENT OF LABOR         & INDUSTRIES                   PO BOX 34022                             SEATTLE            WA         98124-1022             9388               Various                                                                                        $70,880.00

WASMER/ CODY                           STORE 024                      SHOPKO EMPLOYEE                          GREEN BAY          WI         54307-9060             3244               Various                                                                                          $245.64
WASTE CONNECTIONS                      PO BOX 660177                                                           DALLAS             TX         75266-0177                                Various                                                                                         $4,642.07
                                       WASTE MANAGEMENT
WASTE MANAGEMENT OF WI-MN              INCORPORATED                   PO BOX 4648                              CAROL STREAM       IL         60197-4648              9150              Various                                                                                         $3,360.86
WATCH FAMILY                           49064 DOUGLASS - RIPLEY                                                 HANCOCK            MI         49930                   6002              Various                                                                                             $7.48
                                                                                                                                                                                       11/21/2018 -
WATER & LIGHT DEPARTMENT, MN           P.O. BOX 322                                                            EAST GRAND FORKS   MN         56721                   0                 12/20/2018                                                                                      $3,358.07
WATER & SEWER COMMISSION - FREEPORT,   314 WEST STEPHENSON ST STE                                                                                                                      12/6/2018 -
IL                                     010                                                                     FREEPORT           IL         61032                   1-Oct             1/3/2019                                                                                          $303.23
WATER WORKS & LIGHTING COMM                                                                                                                                                            11/16/2018 -
(WW&LC)                                P.O. BOX 399                                                            WISCONSIN RAPIDS   WI         54495-0399              45000             12/14/2018                                                                                      $9,771.84
                                       UNITED COMMUNICATIONS
WATERTOWN PUBLIC OPINION               CORP                           PO BOX 10                                WATERTOWN          SD         57201-0010              7796              Various                                                                                           $154.98

WATERTOWN SHOPPING CENTER INC          C/O FRISCH SHAY & TAYLOR INC   SUITE 1200          735 N WATER STREET   MILWAUKEE          WI         53202                  3109               Various                                                                                        $11,084.10
WATKINS INCORPORATED                   BIN 135063                     PO BOX 1150                              MINNEAPOLIS        MN         55480-1150             6581               Various                                                                                        $17,543.11

WATKINS/ RACHAEL                       STORE 4-026                    SHOPKO EMPLOYEE                          GREEN BAY          WI         54307-9060             2445               Various                                                                                            $40.50
WATTERS FAMILY                         28907 DIMMAGIO ST NE                                                    NORTH BRANCH       MN         55056                  6002               Various                                                                                             $3.97
WAUSAU HYDRAULICS & MACHINE            500 WESTERN ROAD                                                        SCHOFIELD          WI         54476                                     Various                                                                                           $253.25




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                                                                                                                                                                           9/29/2018 -
WAUSAU WATER WORKS                    PO BOX 78510                                                 MILWAUKEE        WI           54403                  0                  12/28/2018                                                                                         $75.00
WAUTOMA NEWSPAPER INCORPORATED        PO BOX 838                                                   WAUTOMA          WI           54982                  2198               Various                                                                                         $1,909.98
WAUTOMA RENTAL CENTER INCORPOR        PO BOX 834                                                   WAUTOMA          WI           54982                  2427               Various                                                                                            $15.00
WAUTOMA TOWN TREASURER                W8695 BUCKHORN CIRCLE                                        WAUTOMA          WI           54982                  5073               Various                                                                                          $285.00
WAVE WILLIAMS                         2026 S SCHOOL RD                                             STERLING         MI           48659                  6002               Various                                                                                             $4.35
WAWASEE HIGH SCHOOL YEARBOOK          ONE WARRIOR PATH                                             SYRACUSE         IN           46567                  4429               Various                                                                                            $85.00
WAWATA                                ATTN: MR. HIRSCH           2000 BEASER AVE                   ASHLAND          WI           54806                  6666               Various                                                                                            $40.00
WAYLAN WOLFE                          2125 CAMPUS DR SE                                            ROCHESTER        MN           55904                  6004               Various                                                                                             $6.00
WAYLON JONES                          606 7TH AVE APT 2                                            BELLE FOURCHE    SD           57717                  6002               Various                                                                                            $10.00
WAYNE A ROMER                         1051 LAKESIDE EST E                                          PERHAM           MN           56573                  6002               Various                                                                                             $4.96
WAYNE APPLE                           PO BOX 196                                                   FORTLINE         MO           59918                  6002               Various                                                                                             $0.99
WAYNE AUKES                           944 121ST STREET                                             LUVERNE          MN           56156                  6002               Various                                                                                             $2.08
WAYNE BEERS                           620 CHICAGO AVE                                              PLATTSMOUTH      NE           68048                  6002               Various                                                                                             $5.59
WAYNE BODDE                           N2398 BODDE RD                                               APPLETON         WI           54915                  6002               Various                                                                                             $6.36
WAYNE COGGINS                         60083 245TH ST                                               GLENWOOD         IA           51534                  6002               Various                                                                                             $0.88
WAYNE CORNETT                         660 HIGHWAY 275                                              WISNER           NE           68791                  6002               Various                                                                                             $0.30
WAYNE COUTURE                         5429 M-61                                                    STANDISH         MI           48658                  6002               Various                                                                                             $5.01
WAYNE DETRA                           501 2ND ST                                                   ALBANY           WI           53502                  6004               Various                                                                                            $10.00
WAYNE GILLE                           624 30TH STREET                                              MONROE           WI           53566                  6004               Various                                                                                             $5.80
WAYNE HARLAN NIGHORN                  N7760 STATE PARK RD                                          SHERWOOD         WI           54169                  6002               Various                                                                                             $8.03
WAYNE HENTHORN                        204 CALEDONIA ST                                             LA CROSSE        WI           54603                  6002               Various                                                                                            $10.00
WAYNE HILDEBRANDT                     N2642 LEVEL VALLEY RD                                        WATERTOWN        WI           53098                  6002               Various                                                                                             $9.23
WAYNE JAHR                            3335 RAMSHORN DR                                             FREMONT          MI           49412                  6002               Various                                                                                             $0.60
WAYNE KASTEN                          N6928 HIGHWAY # A                                            LAKE MILLS       WI           53551                  6002               Various                                                                                             $8.71
WAYNE KLINKNER                        4574 POPELL DR                                               NEWAYGO          MI           49337                  6002               Various                                                                                             $2.19
WAYNE KOHLIN                          469 E COUNTY ROAD M                                          EDGERTON         WI           53534                  6002               Various                                                                                             $6.22
WAYNE L HITZ                          1935 S COTNER BLVD                                           LINCOLN          NE           68506                  6002               Various                                                                                             $3.23
WAYNE LAUX                            297 S MAIN ST                                                CLINTONVILLE     WI           54929                  6002               Various                                                                                            $10.00
WAYNE MAYER                           956 YUREK ROAD                                               PULASKI          WI           54162                  6002               Various                                                                                             $4.16
WAYNE PETERSON                        PO BOX 212                                                   PLATO            MN           55370                  6002               Various                                                                                             $6.44
WAYNE RUNNING HORSE                   BOX 64                                                       IDEAL            SD           57541                  6002               Various                                                                                             $4.22
WAYNE SAYLOR                          611 W 5TH ST                                                 NEILLSVILLE      WI           54456                  6002               Various                                                                                             $5.45
WAYNE T LEONARD                       2729 6TH ST                                                  EAU CLAIRE       WI           54703                  6002               Various                                                                                             $6.90
WAYNE W CICHON                        110D EAGLE POINTE DR                                         DELAVAN          WI           53115                  6002               Various                                                                                             $1.34
WAYNE WALKER                          PO BOX 5521                                                  SHASTA LAKE      CA           96089                  6002               Various                                                                                             $4.16
WAYNE WINN                            29 W 470TH S                                                 RICHMOND         UT           84333                  6002               Various                                                                                             $2.05
WCA                                   PO BOX 553166                                                DETROIT          MI           48255-3166                                Various                                                                                         $1,024.00

WD 40 COMPANY                         VICE PRESIDENT OF SALES    4785 MANOR DRIVE                  STONE MOUNTAIN   GA           30087-4124             5272               Various                                                                                         $3,337.26
                                                                                                                                                                           12/8/2018 -
WE ENERGIES/WISCONSIN ELECTRIC/GAS    PO BOX 90001 @ WE ENERGY                                     MILWAUKEE        WI           53290-0001             5-188              1/12/2019                                                                                      $73,459.26
WEA INSURANCE                         45 NOB HILL RD             PO BOX 7338                       MADISON          WI           53707                  6004               Various                                                                                            $45.00
WEASLER ENGINEERING                   ACCOUNTS PAYABLE REFUND    PO BOX 3241                       MILWAUKEE        WI           53201                  6004               Various                                                                                            $43.88
WEBB & GERRITSEN INCORPORATED         16705 W LINCOLN AVE                                          NEW BERLIN       WI           53188                  6666               Various                                                                                          $240.95
                                                                 200 EAST DANIELS
WEBER STEPHEN PRODUCTS                VICE PRESIDENT OF SALES    ROAD                              PALATINE         IL           60067-6266             1933               Various                                                                                        $58,943.67
WEBSTER AREA CHAMBER OF COMMER        PO BOX 123                                                   WEBSTER          SD           57274                  9870               Various                                                                                            $50.00
WEBSTER MUNICIPAL LIQUOR STORE        100 EAST HIGHWAY 12                                          WEBSTER          SD           57274                  0049               Various                                                                                          $408.54

WEEKS/ MICHELLE                       STORE 617                  SHOPKO EMPLOYEE PO BOX 1409       WAUTOMA          WI           54982-0000             6197               Various                                                                                            $38.42
WEIDNER FAMILY                        59144 280TH ST                                               MALVERN          IA           51551                  6002               Various                                                                                             $1.75
WEIMAN PRODUCTS LLC                   38617 EAGLE WAY                                              CHICAGO          IL           60678-1386             7391               Various                                                                                        $25,776.35
WEINANDT FAMILY                       3034 N 79TH ST                                               MILWAUKEE        WI           53222                  6002               Various                                                                                             $1.78




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                                                                                                                                                                                          Contingent


                                                                                                                                                                                                                      Disputed
                                                                                                                                                   Last 4 Digits of   Date Debt was
                                                                                                                                                      Account       Incurred, Basis for
             Creditor Name               Address1                Address2          Address3          City          State           Zip    Country     Number              Claim                                                                             Total Claim
WEINER FRASZ                  503 2ND AVE NW                                                  PERHAM            MN         56573                  6002              Various                                                                                             $6.11
WEINSTEIN BEVERAGE COMPANY    410 PETERS STREET E                                             WENATCHEE         WA         98801                  5217              Various                                                                                         $8,287.59
WEIR FRED HOFFMAN             3366 RUGBY WAY                                                  BOISE             ID         83704                  6004              Various                                                                                            $24.96

WELCH/ DEVIN                  STORE 2-095                    SHOPKO EMPLOYEE                  GREEN BAY         WI         54307-9060               1166            Various                                                                                               $16.31
WELDON PERRY                  6618 STATE HIGHWAY 238                                          AFTON             WY         83110                    6002            Various                                                                                                $2.71

WELKER/ PATRICK L             STORE 728                      SHOPKO EMPLOYEE 1768 HWY 100     CENTERVILLE       TN         37033                    9151            Various                                                                                             $5.60
WELL NAMPA LLC                227 E 56TH STREET SUITE 401                                     NEW YORK          NY         10022                    9467            Various                                                                                        $20,237.10

WELLEMENTS LLC                6263 N SCOTTSDALE RD STE 125                                    SCOTTSDALE        AZ         85250                    1939            Various                                                                                         $3,759.49
                                                           6335 EDWARDS
WELLNX LIFE SCIENCES USA      PLATINUM US DISTRIBUTION INC BLVD                               MISSISSAUGA       ON         L5T 2W7       CANADA     8193            Various                                                                                         $8,420.40
WELLS KINNERSLEY              3652 W 1125 N                                                   LAYTON            UT         84041                    6004            Various                                                                                            $10.00
WENDA LOVING                  1400 W 11TH                                                     NORTH PLATTE      NE         69101                    6004            Various                                                                                            $45.20
WENDELL A RICHARD             46 GLEN ST NW                                                   HUTCHINSON        MN         55350                    6002            Various                                                                                             $9.29
WENDELL PEDERSON              13918 10TH ST PO BOX # 595                                      OSSEO             WI         54758                    6002            Various                                                                                             $1.89
WENDELL QUICK                 3625 CO RD # 413                                                PALMYRA           MO         63461                    6002            Various                                                                                             $8.60
WENDI C GILPIN                8695 MCDERMOTT RD                                               KUNA              ID         83634                    6002            Various                                                                                             $6.77
WENDI COLLINS                 3862 S LAKE DRIVE UNIT 102                                      ST FRANCIS        WI         53235                    6004            Various                                                                                            $39.00
WENDI HAMMERSTROM             505 E 2ND ST                                                    DIXON             NE         68732                    6002            Various                                                                                             $1.97
WENDI OEHLKE                  27478 745TH AVE                                                 GRAND MEADOW      MN         55936                    6002            Various                                                                                             $2.14
WENDI R BALLEW                1090 PINE ST APT 3                                              OCHEYEDAN         IA         51354                    6666            Various                                                                                             $6.20
WENDIE CLARK                  2428 N 8TH ST                                                   COEUR D ALENE     ID         83814                    6002            Various                                                                                             $3.92
WENDY BALES                   309 N CHESTNUT ST                                               GLENWOOD          IA         51534                    6002            Various                                                                                             $4.11
WENDY BEAUDINE-ZAHN           4306 379TH ST                                                   NORTH BRANCH      MN         55056                    6004            Various                                                                                            $10.92
WENDY BLADORN                 78 FALLING CREEK CIRCLE                                         JANESVILLE        WI         53548                    6002            Various                                                                                            $15.49
WENDY BLASI                   2025 NEVADA PL                                                  GREEN RIVER       WY         82935                    6002            Various                                                                                             $1.21
WENDY BRUCE                   PO BOX 1700                                                     EAST HELENA       MT         59635                    6002            Various                                                                                             $7.78
WENDY CHANCE                  N 4056 DUTCH HALLOW RD                                          MONROE            WI         53566                    6004            Various                                                                                            $50.00
WENDY COLE                    814 CEDARE AVE                                                  WESTBROOK         MN         56183                    6004            Various                                                                                             $3.00
WENDY COPUS                   5018 MILWAUKEE ST                                               MADISON           WI         53714                    6004            Various                                                                                             $3.15
WENDY DASCHNER                443 S PAGE ST                                                   MARENGO           IL         60152                    6002            Various                                                                                             $1.34
WENDY DELZER                  PO BOX 517                                                      ALBION            WA         99102                    6004            Various                                                                                            $25.00
WENDY DONEY                   730 6TH ST N                                                    HAVRE             MT         59501                    6002            Various                                                                                             $3.84
WENDY EFFLE                   2635 ANTELOPE CR                                                LINCOLN           NE         68506                    6004            Various                                                                                            $28.05

WENDY FORTINO                 1420 N WISCONSIN ST, APT 105                                    PORT WASHINGTON   WI         53074                    6002            Various                                                                                                $8.25
WENDY HOSEK                   19075 ROBIN AVE                                                 ELMA              IA         50628                    6002            Various                                                                                                $1.40
WENDY HULL                    1328 STONERIDGE RD APT 26                                       WAUPACA           WI         54981                    6002            Various                                                                                                $1.92
WENDY J. KEARNS               2022 SYLVAN WAY APT 3                                           WEST BEND         WI         53095                    6002            Various                                                                                                $7.26
WENDY JEAN FREDERICK          3220 W CAPITOL DR                                               APPLETON          WI         54914                    6002            Various                                                                                                $0.96
WENDY LEE                     527 MORRISON STREET                                             MORA              MN         55051                    6004            Various                                                                                                $3.00
WENDY LOPEZ                   3763 S OCEANA DR                                                NEW ERA           MI         49446                    6002            Various                                                                                                $1.40
WENDY LOWELL                  1220 BLAKE STREET N.                                            TWIN FALLS        ID         83301                    6004            Various                                                                                               $20.02
WENDY LUKE                    PO BOX 5491                                                     SALEM             OR         97304                    6004            Various                                                                                               $16.00
WENDY M MCFEE                 1343 EAGLE ST                                                   RHINELANDER       WI         54501                    6002            Various                                                                                                $7.84
WENDY MARIE PAULSON           N20707 CHAPMAN RD                                               NIAGARA           WI         54151                    6002            Various                                                                                                $0.38
WENDY MASLOWSKI               117 15TH AVE NW                                                 GREAT FALLS       MT         59404                    6002            Various                                                                                                $6.60
WENDY MENDIOLA                2105 KENWOOD                                                    BELOIT            WI         53511                    6004            Various                                                                                               $30.00
WENDY MLEZIVA                 4717 RIVERHEIGHTS DR                                            MANITOWOC         WI         54220                    6002            Various                                                                                                $4.16
WENDY MUNOZ                   10264 S 2165 E                                                  SANDY             UT         84092                    6004            Various                                                                                               $35.00
WENDY MURPHY                  P O BOX 1178                                                    COLUMBIA FALLS    MT         59912                    6004            Various                                                                                               $23.00
WENDY OLSEN                   370 OLD CEMETERY RD                                             RIVER FALLS       WI         54022                    6004            Various                                                                                               $28.00




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                                                                                                                                                        Account         Incurred, Basis for
             Creditor Name                    Address1             Address2         Address3              City        State           Zip   Country     Number                Claim                                                                             Total Claim
WENDY PHILLIPS                    2003 HARLAN ST                                                 FALLS CITY        NE         68355                 6002                Various                                                                                             $6.30
WENDY PREGEL                      308 MONARCH LN                                                 HOLMEN            WI         54636                 6002                Various                                                                                             $8.33
WENDY PROSISE                     721 W OLIN AVE                                                 MADISON           WI         53715                 6004                Various                                                                                            $60.00
WENDY ROMERO                      4735 S 4720TH W                                                WEST VALLEY CIT   UT         84118                 6002                Various                                                                                             $7.07
WENDY S CHEVALIER                 600 S 68TH AVE APT 3                                           WAUSAU            WI         54401                 6002                Various                                                                                             $0.30
WENDY SAENZ                       822A SE 2901ST                                                 ANDREWS           TX         79714                 6002                Various                                                                                             $7.73
WENDY SCHAEFER                    1218 10TH AVE NE                                               WATERTOWN         SD         57201                 6004                Various                                                                                            $98.00
WENDY SEITZLER                    408 3RD AVE SE                                                 AUSTIN            MN         55912                 6004                Various                                                                                             $3.00
WENDY SHARPE                      362 W 21ST                                                     IDAHO FALLS       ID         83402                 6004                Various                                                                                            $11.10
WENDY SWILLE                      6433 L 5 RD                                                    ESCANABA          MI         49829                 6002                Various                                                                                             $6.88
WENDY TREMAINE                    RR 9 BOX 1030                                                  GATEWOOD          MO         63942                 6002                Various                                                                                             $2.74
WENDY TRISTAN                     1605 N 94TH STREET                                             OMAHA             NE         68114                 6004                Various                                                                                             $5.00
WENDY VAN MOORLEGHEM              3200 S 28TH ST                                                 LINCOLN           NE         68502                 6004                Various                                                                                            $20.02
WENDY VEHMEIER                    240 PARK CREST DR                                              FREEPORT          IL         61032                 6004                Various                                                                                            $15.00
WENDY WHITE                       14609 DIAMOND                                                  ENTIAT            WA         98822                 6004                Various                                                                                            $42.00
WENDY ZAUTNER                     1105 MILLER LN                                                 FORT ATKINSON     WI         53538                 6002                Various                                                                                             $0.33
WENDY ZEMIALKOWSKI                505 COUNTY ROAD G                                              NEENAH            WI         54956                 6004                Various                                                                                             $3.00
WENNER FAMILY                     6745 BUCKTHORN DR NW                                           ROCHESTER         MN         55901                 6002                Various                                                                                             $2.88
WENONA LUND                       1000 BLUFF VIEW DR APT 313                                     HOUGHTON          MI         49931                 6002                Various                                                                                             $9.87
WENZELS FARM LLC                  500 EAST 29TH STREET         PO BOX 357                        MARSHFIELD        WI         54449                 5855                Various                                                                                         $5,932.68
                                                               412 WEST HURLBUT
WEPA CUISINE                      ATTN AGELA MOLINA            AVENUE                            BELVIDERE         IL         61008                  0756               Various                                                                                           $684.00
WERNER BROS, INC                  233 N HILL ST                                                  MARSHALL          MN         56258                                     11/7/2018                                                                                         $122.97
                                                               39357 TREASURY
WERNER ENTERPRISES INCORPORATE    DEDICATED                    CENTER                            CHICAGO           IL         60694-9300             4280               Various                                                                                         $7,873.73
WERNER HUBER                      329 EAST BURNETT                                               BEAVER DAM        WI         53916                  6004               Various                                                                                            $11.00
WERNER O MAYER                    3134 4TH ST D                                                  LEWISTON          ID         83501                  6002               Various                                                                                             $8.30
WESLEN MILLER                     205 E BENTON ST                                                LAKE BENTON       MN         56149                  6002               Various                                                                                             $8.68
WESLEY BYRD                       14230 HILLSIDE RD                                              BROWNSVILLE       MN         55919                  6004               Various                                                                                            $10.01
WESLEY CROSS                      640 SO MARKET                                                  MOORFIELD         NE         69039                  6002               Various                                                                                            $10.00
WESLEY EISENSCHENK                5011 384TH TRL                                                 NORTH BRANCH      MN         55056                  6002               Various                                                                                             $3.07
WESLEY GRAYBAEL                   6701 CRESTFIELD RD                                             YAKIMA            WA         98903                  6004               Various                                                                                            $39.24
WESLEY HITCHCOCK                  41298 903RD RD                                                 SPARKS            NE         69220                  6002               Various                                                                                             $3.73
WESLEY LINDELL                    1608 8TH AVE BLVD #3                                           LEWISTON          ID         83501                  6004               Various                                                                                            $10.00
WESLEY MARANGU                    2920 DOLORES WAY                                               BURLINGAME        CA         94010                  6004               Various                                                                                             $5.02
WESLEY MERCER                     7610 MAIN ST                                                   NEWAYGO           MI         49337                  6002               Various                                                                                             $2.00
WESLEY MONHEIM                    702 W BURNETT ST                                               BEAVER DAM        WI         53916                  6002               Various                                                                                             $0.55
WESLEY R SNYDER                   1545 N PIONEER RD                                              ELY               MN         55731                  6002               Various                                                                                             $7.56
WESLEY RECK                       PO BOX 322                                                     BELLINGHAM        MN         56212                  6004               Various                                                                                             $5.00
WESLEY ROBERTSON                  2513 NE SHEFFIELD PL                                           BREMMTON          WA         98311                  6004               Various                                                                                            $30.00
WESLEY SHANE WILLIAMS             907 3RD ST NW                                                  SIDNEY            MT         59270                  6002               Various                                                                                             $2.52
WESLEY STEHLIK                    8020 15TH AVE                                                  KENOSHA           WI         53143                  6002               Various                                                                                             $0.85
WESLEY STEVENSON                  1857 HARRISON ST                                               OSHKOSH           WI         54901                  6004               Various                                                                                             $7.98
WESLEY STRANGE                    26390 228TH ST                                                 GALLATIN          MO         64640                  6002               Various                                                                                             $5.84
WESLEY TUTHILL                    1713 15TH AVE SE                                               WATERTOWN         SD         57201                  6002               Various                                                                                             $1.01
WESLEY W LEECH                    PO BOX 1322                                                    THERMOPOLIS       WY         82443                  6002               Various                                                                                             $0.74
WESLEY WALTERS                    57436 FOURTH ST                                                CALUMET           MI         49913                  6002               Various                                                                                             $0.91
WESLEY WHITE                      337 STANTON STREET           APT 1                             RIPON             WI         54971                  6004               Various                                                                                            $99.98
WEST BEND CITY TREASURER          1115 S MAIN STREET                                             WEST BEND         WI         53095                  9422               Various                                                                                          $200.00
                                                                                                                                                                        9/6/2018 -
WEST BEND WATER UTILITY           1115 SOUTH MAIN STREET                                         WEST BEND         WI         53095                   9                 12/5/2018                                                                                        $730.42
WEST CENTRAL SANITATION           PO BOX 796                                                     WILLMAR           MN         56201                                     Various                                                                                         $2,383.12
WEST ELECTRIC INCORPORATED        1310 MT HWY 91 NORTH                                           DILLON            MT         59725                   7469              Various                                                                                          $481.50
WEST END SALVAGE                  9726 US HIGHWAY 61                                             LANCASTER         WI         53813                   4069              Various                                                                                            $80.67




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                                                                                                                                                                 Account       Incurred, Basis for
             Creditor Name                         Address1                Address2         Address3            City           State           Zip   Country     Number              Claim                                                                             Total Claim
WEST SIDE BAKERY                        1422 INDIANA AVENUE                                              SHEBOYGAN        WI           53081                 8756              Various                                                                                            $292.60
                                                                                                                                                                               11/27/2018 -
WEST TEXAS GAS, INC-CANADIAN            P.O. BOX 1005                                                    CANADIAN         TX           79014-1005            85-04             12/19/2018                                                                                        $272.28

WESTERBERG/ TAYLOR                      STORE 017                      SHOPKO EMPLOYEE                   GREEN BAY        WI           54307-9060              5130            Various                                                                                            $37.06
WESTERN BEVERAGE (BEER)                 301 E WYATT EARP                                                 DODGE CITY       KS           67801                   3635            Various                                                                                            $17.19
WESTERN DIGITAL                         28806 NETWORK PLACE                                              CHICAGO          IL           60673-1288              4754            Various                                                                                       $156,557.68
WESTERN DISPOSAL                        925 BENDING RIVER ROAD                                           SALT LAKE CITY   UT           84104                                   Various                                                                                          $902.78
WESTERN STATES EQUIPMENT COMPA          PO BOX 3805                                                      SEATTLE          WA           98124-3805              2560            Various                                                                                          $779.22
WESTIN RIPLEY                           2777 PARK ST SE                                                  ROCHESTER        MN           55904                   6002            Various                                                                                             $6.11
WESTLEY ALTON                           41 SOUTH #2                                                      FOND DU LAC      WI           54935                   6004            Various                                                                                             $5.00

WESTMAN CHAMPLIN & KOEHLER              SUITE 1400                     900 2ND AVENUE S                  MINNEAPOLIS      MN           55402                   6815            Various                                                                                         $5,342.60

WESTMINSTER INCORPORATED                VICE PRESIDENT OF SALES        159 ARMOUR DRIVE                  ATLANTA          GA           30324                   2816            Various                                                                                        $89,580.02

WESTON COUNTY HEALTH SERVICES           1124 WASHINGTON BOULEVARD                                        NEWCASTLE        WY           82701                   6666            Various                                                                                            $24.60
WESTON COUNTY MANOR RESIDENT TRUST
FUND                                    1124 WASHINGTON                                                  NEWCASTLE        WY           82701                   6666            Various                                                                                            $24.94
WESTON NELSON                           6500 MAPLE ST                                                    NORTH BRANCH     MN           55056                   6002            Various                                                                                             $7.81
WESTPORT CORPORATION (MUNDI WA          331 CHANGEBRIDGE ROAD          PO BOX 2002                       PINE BROOK       NJ           07058                   1505            Various                                                                                         $1,366.55
WESTWIND PLAZA INCORPORATED             PO BOX 504                                                       BELOIT           KS           67420                   8803            Various                                                                                         $9,377.13
WEX BANK                                PO BOX 6293                                                      CAROL STREAM     IL           60197-6293              4862            Various                                                                                        $12,581.92
WG REG CLIFTON LLC                      6712 COLUMBINE WAY                                               PLANO            TX           75093                   4101            Various                                                                                        $10,590.48
                                        6301 OWENSMOUTH AVE STE
WHAM O MARKETING INCORPORATED           700                                                              WOODLAND HILLS   CA           91367-0000              3105            Various                                                                                         $3,642.49
                                                                                                                                                                               12/2/2018 -
WHEATLAND ELECTRIC COOPERATIVE          PO BOX 230                                                       SCOTT CITY       KS           67871                   5001            1/1/2019                                                                                        $3,230.32
                                                                                                                                                                               12/1/2018 -
WHETSTONE VALLEY ELECTRIC COOPERATIVE   P.O. BOX 512                                                     MILBANK          SD           57252                   1280            1/2/2019                                                                                        $1,867.52
WHISKERS VANDERLOOP(RABBIT              W2179 GREINER RD                                                 APPLETON         WI           54913                   6002            Various                                                                                             $7.01
WHITE EARTH SANITATION                  3282 US HIGHWAY 59                                               WAUBUN           MN           56589                                   Various                                                                                         $1,306.32
WHITE EARTH TRIBAL COUNCIL              PO BOX 418                                                       WHITE EARTH      MN           56591                   6666            Various                                                                                          $305.98
WHITE FAMILY                            8156 SEDWARFT RD NE                                              KALKASKA         MI           49646                   6002            Various                                                                                             $2.11
WHITE MARK UNIVERSAL (C-HUB)            1220 S MAPLE AVE STE 911                                         LOS ANGELES      CA           90015                   2763            Various                                                                                        $11,489.50
WHITLEY ANNE WOOTEN                     25 3RD AVE NE                                                    OELWEIN          IA           50662                   6002            Various                                                                                            $10.00
                                        8680 SWINNEA ROAD BLDG D STE
WHITMOR INCORPORATED                    103                                                              SOUTHAVEN        MS           38671-0000              7208            Various                                                                                       $804,645.30
WHITNEY ANDERSON                        963 WEST ARNAZ ST.                                               MERIDIAN         ID           83646                   6004            Various                                                                                             $3.45
WHITNEY BUCHAN                          203 N CROSS ST                                                   CEYLON           MN           56121                   6002            Various                                                                                             $0.66
WHITNEY CARVER                          1150 W 825TH N # B13                                             LAYTON           UT           84041                   6002            Various                                                                                             $9.75
WHITNEY DERPINGHAUS                     8528 KOTTKE LANE                                                 LENA             WI           54139                   6004            Various                                                                                            $34.00
WHITNEY DEVO BURSHEIM                   13 KEOKE ST                                                      SISSETON         SD           57262                   6002            Various                                                                                             $0.82
WHITNEY EWELL                           5615 WEST 4300 SOUTH                                             WEST VALLEY      UT           84128                   6004            Various                                                                                             $4.75
WHITNEY GUNHUS                          2660 CHARLES CT NW                                               ROCHESTER        MN           55901                   6002            Various                                                                                             $3.86
WHITNEY HALEY                           6027 46 AVE                                                      KENOSHA          WI           53142                   6004            Various                                                                                            $22.00
WHITNEY JOHNSON                         1302 EAST RD 6                                                   JANESVILLE       WI           53546                   6004            Various                                                                                            $25.00
WHITNEY LEMMA                           118 STERNBERG ST                                                 SCHOFIELD        WI           54476                   6004            Various                                                                                            $30.00
WHITNEY MORTIMER                        512 JEFFERSON ST. APT. 6                                         DE FOREST        WI           53532                   6004            Various                                                                                            $11.10
WHITNEY MOUCHA                          306 27TH ST SW                                                   AUSTIN           MN           55912                   6004            Various                                                                                             $3.00
WHITNEY OLSON                           301 6TH ST SW APT 23                                             ROSEAU           MN           56751                   6002            Various                                                                                             $7.89
WHITNEY RISSLER                         907 6TH ST APT A                                                 WISNER           NE           68791                   6002            Various                                                                                             $6.55
WHITNEY SAMUELSON                       N16369 HILINE AVE                                                DORCHESTER       WI           54425                   6002            Various                                                                                             $5.18
WHITNEY SOBEK                           1809 SCHLIMGEN AVE                                               MADISON          WI           53704                   6004            Various                                                                                            $23.00




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                                                                                                                                                                                            Contingent


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                                                                                                                                                     Last 4 Digits of   Date Debt was
                                                                                                                                                        Account       Incurred, Basis for
              Creditor Name                  Address1               Address2           Address3          City         State           Zip   Country     Number              Claim                                                                             Total Claim
WHITNEY SOTANSKI                  26828 PACKARD ST NE                                             ISANTI           MN         55040                 6002              Various                                                                                             $7.51
WI CAL MAR                        100 CANYON CREEK                                                IRVINE           CA         92603                 9902              Various                                                                                         $1,607.19
WI ELECTRICAL EMPLOYEE BENEFIT    2730 DAIRY DR SUITE 101                                         MADISON          WI         53718                 6004              Various                                                                                            $30.00
                                                                10 CANAL STREET
WICKED COOL TOYS                  WICKEDCOOL LLC                STE 327                           BRISTOL          PA         19007                   7510            Various                                                                                         $5,982.85
WICKWIRE FAMILY                   1509 ALAMOSA TRL                                                GREEN BAY        WI         54313                   6002            Various                                                                                             $9.42
WIDMARK-K9 (FELIX FAMILY          7820 MILITARY AVE                                               OMAHA            NE         68134                   6002            Various                                                                                             $3.07
WIEGERT DISPOSAL                  PO BOX 344                                                      MARTENSDALE      IA         50160                                   Various                                                                                          $298.20
WIENKE FAMILY                     PO BOX 727                                                      EPHRAIM          WI         54211                   6002            Various                                                                                             $6.60
WIGWAM MILLS INCORPORATED         PO BOX 818                                                      SHEBOYGAN        WI         53082-0818              9808            Various                                                                                        $79,200.87
WILBUR EUGEN PARTON               1508 S PROSPECT ST                                              GALLATIN         MO         64640                   6002            Various                                                                                             $7.97
WILBUR HALL                       11396 W HICKORY HILL CT                                         BOISE            ID         83713                   6004            Various                                                                                            $10.00
WILBUR WARNICK                    461 N DESMET AVE                                                BUFFALO          WY         82834                   6002            Various                                                                                            $10.00
WILBURN HUGHES                    RR 1 BOX 2174                                                   DONIPHAN         MO         63935                   6002            Various                                                                                             $2.96

WILDE/ SHAWN                      STORE 008                     SHOPKO EMPLOYEE                   GREEN BAY        WI         54307-9060              4336            Various                                                                                               $38.58
                                  DBA WILDGAME INNOVATIONS      VICE PRESIDENT OF 601 FOUNTAIN
WILDGAME INNOVATIONS LLC          LLC                           SALES             PARKWAY         GRAND PRARIE     TX         75050                   4273            Various                                                                                         $6,696.26
WILDLIFE RESEARCH CENTER INC      14485 AZURITE STREET NW                                         RAMSEY           MN         55303-4859              4909            Various                                                                                        $30,990.30
WILEY X EYEWEAR DIV OF PROTECT    DEPT 34574                    PO BOX 39000                      SAN FRANCISCO    CA         94139                   4537            Various                                                                                          $611.00
WILFORD WEBER                     8550 RABY LANE                                                  PAYETTE          ID         83661                   6004            Various                                                                                            $21.80
WILFRED BENEDICT                  1822 SUMMIT RD                                                  HOT SPRINGS      SD         57747                   6004            Various                                                                                             $1.00
WILFRED WIITANEN                  125 LAKE LINDEN AVE APT 201                                     CALUMET          MI         49913                   6002            Various                                                                                             $1.95

WILHELM/ VICKI                    STORE 2-041                   SHOPKO EMPLOYEE                   GREEN BAY        WI         54307-9060              8273            Various                                                                                             $4.59
WILHELMINA CHRISTIAANSE           329 WALLACE ST                                                  COMBINED LOCKS   WI         54113                   6002            Various                                                                                             $1.73
WILHELMINA INTERNATIONAL INCOR    DEPT 8107                     PO BOX 650002                     DALLAS           TX         75265-8107              8829            Various                                                                                         $3,300.00
WILKS FAMILY                      703 6TH AVE                                                     LEWISTON         ID         83501                   6002            Various                                                                                             $7.40
WILL BOX                          15701 N 2ND ST                                                  BENINGTON        NE         68007                   6004            Various                                                                                             $7.97
WILL HEIN                         427 CHRISTEL DR APT 15                                          VALDERS          WI         54245                   6002            Various                                                                                             $8.79
WILL K WOODWARD                   1585 S HOLLY ST                                                 DENVER           CO         80222                   6002            Various                                                                                             $7.64
WILL POSTON                       2610 BREWER ROAD                                                BILLINGS         MT         59101                   6004            Various                                                                                            $25.00
WILLA JEAN GIBSON                 21447 STATE HIGHWAY 6                                           GALLATIN         MO         64640                   6002            Various                                                                                             $4.71
WILLA VICARS                      44 MICHIGAN LN                                                  WINONA           MN         55987                   6002            Various                                                                                             $6.68
WILLAM MOEDING                    29 6TH ST NE                                                    WATERTOWN        SD         57201                   6004            Various                                                                                            $11.50
WILLARD KNUDSON                   1635 N 64                                                       LINCOLN          NE         68505                   6004            Various                                                                                             $9.98
WILLARD MERWIN                    311 S 7TH ST                                                    MONMOUTH         IL         61462                   6002            Various                                                                                             $8.71
WILLARD ORCUTT                    1800 W WEILAND LN APT 8                                         APPLETON         WI         54914                   6002            Various                                                                                             $3.10
WILLARD TESTRAKE                  2605 WALTHAM RD                                                 MADISON          WI         53711                   6002            Various                                                                                             $7.64
WILLBUR BISHOP                    1309 WEST SPRUCE STREET                                         YAKIMA           WA         98902                   6004            Various                                                                                            $31.60
WILLIAM AHLBERG                   1486 CURLEW DR APT 244                                          IDAHO FALLS      ID         83406                   6002            Various                                                                                             $2.58
WILLIAM ALKEN                     15708 RIVERFIELD COURT                                          COLD SPRING      MN         56320                   6004            Various                                                                                             $3.00
WILLIAM ANDERSON                  208 WHITETAIL DR                                                SALMON           ID         83467                   6002            Various                                                                                             $8.08
WILLIAM ARNETT                    PO BOX 214                                                      JULIAETTA        ID         83535                   6002            Various                                                                                             $6.00
WILLIAM B LAVENGER                1019 15TH ST N PRE-RELEASE                                      GREAT FALLS      MT         59401                   6002            Various                                                                                             $2.47
WILLIAM B SMITH                   W9511 CTY B                                                     WATERLOO         WI         53594                   6002            Various                                                                                             $5.92
WILLIAM BASTIEN                   175 S 100TH E                                                   WILLARD          UT         84340                   6002            Various                                                                                             $0.58
WILLIAM BEAN                      7259 14TH AVENUE NE                                             OLYMPIA          WA         98516                   6004            Various                                                                                             $9.77
WILLIAM BECK                      300 BARRETT                                                     BURLINGTON       IA         52601                   6002            Various                                                                                             $5.61
WILLIAM BELLAND                   4695 ELM ST                                                     LAONA            WI         54541                   6004            Various                                                                                             $1.95
WILLIAM BEYER                     110 N MAIN ST APT 2                                             BLACK CREEK      WI         54106                   6002            Various                                                                                             $8.08
WILLIAM BIL THODE                 1105 HIGHLAND DR                                                OGALLALA         NE         69153                   6002            Various                                                                                             $9.18
WILLIAM BIRD                      706 BURNETTE AVE                                                WARREN           IL         61087                   6002            Various                                                                                             $1.34
WILLIAM BISSELL                   1800 ROOSEVELT ST                                               LITTLE CHUTE     WI         54140                   6004            Various                                                                                            $25.00




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              Creditor Name                Address1              Address2           Address3             City       State           Zip   Country     Number                Claim                                                                             Total Claim
WILLIAM BOYCKS                 1547 W 6TH AVE                                                    OSHKOSH         WI         54902                 6002                Various                                                                                                $7.32
WILLIAM BRECKENRIDGE           22 4TH ST SE                                                      MADELIA         MN         56062                 6002                Various                                                                                               $16.08
WILLIAM BRERETON               N6960 HOYORD RD                                                   SCANDINAVIA     WI         54977                 6002                Various                                                                                                $7.89
WILLIAM BROOKS                 1010 REGINCY PKWY             APT 311                             OMAHA           NE         68114                 6004                Various                                                                                                $4.00
WILLIAM BROWN                  HC 77 BOX 849                                                     BIG SANDY       MT         59520                 6004                Various                                                                                               $46.00
WILLIAM BROWNLEA               406 W FULTON ST                                                   WAUPACA         WI         54981                 6002                Various                                                                                                $8.25
WILLIAM BURTALO                1131 OAK ST                                                       HAMILTON        IL         62341                 6002                Various                                                                                                $6.16
WILLIAM BYNG                   5269 OAK ORCHARD RD                                               ABRAMS          WI         54101                 6002                Various                                                                                                $3.86
WILLIAM C SALADA               203 W JEFFERSON ST                                                DILLON          MT         59725                 6002                Various                                                                                                $0.82
WILLIAM C SEITZ                610 INTERLAKE DR                                                  MADISON         WI         53716                 6002                Various                                                                                                $9.21
WILLIAM C. GIBSON              631 HAZEL ST APT 515                                              OSHKOSH         WI         54901                 6002                Various                                                                                                $0.27
WILLIAM CAMERON                640 S 17TH ST APT 29                                              LINCOLN         NE         68508                 6002                Various                                                                                                $1.67
WILLIAM CAMPBELL               1618 GOHRES ST                                                    LA CROSSE       WI         54603                 6002                Various                                                                                                $1.00
WILLIAM CHILDERS               6008 BALUSTRADE BLVD                                              LACEY           WA         98503                 6004                Various                                                                                               $25.00
WILLIAM CIHA                   N4824 VALLEY RD                                                   LUXEMBURG       WI         54217                 6002                Various                                                                                                $7.92
WILLIAM COHEE                  1869 COTTONWOOD LN                                                WEST POINT      NE         68788                 6002                Various                                                                                                $4.16
WILLIAM D HARDY                7150 S 91ST ST APT 416                                            LINCOLN         NE         68526                 6002                Various                                                                                                $2.96
WILLIAM D OLDENBURG            2442 SMITH VALLEY RD                                              LA CROSSE       WI         54601                 6002                Various                                                                                                $3.78
WILLIAM DANIELS                39742 BUSINESS LOOP #80                                           LYMAN           WY         82937                 6002                Various                                                                                               $10.28

WILLIAM DEAN                   206 1/2 W WISCONSIN AVE APT                                       TOMAHAWK        WI         54487                  6002               Various                                                                                                $9.59
WILLIAM DEKOKER                601 RIVERBEND RD                                                  BELVIDERE       IL         61008                  6002               Various                                                                                                $5.89
WILLIAM DENNEE                 2548 FINGER RD                                                    GREEN BAY       WI         54302                  6002               Various                                                                                                $0.55
WILLIAM DENTON                 335 7TH ST. NE                                                    SARTELL         MN         56377                  6004               Various                                                                                                $3.00
WILLIAM DETWEILER              32362 OTTER AVE                                                   JAMESPORT       MO         64648                  6002               Various                                                                                                $1.23
WILLIAM DIERCKS                2270 BEECHWOOD DR                                                 PLOVER          WI         54467                  6002               Various                                                                                                $2.33
WILLIAM DOUG MALONEY           2964 W CREEK VALLEY LN                                            APPLETON        WI         54914                  6002               Various                                                                                                $2.14
WILLIAM DRISCOLL               4917 N BROOKSHIRE DR                                              APPLETON        WI         54913                  6002               Various                                                                                                $8.66

WILLIAM DUNCAN                 1918 E STRAWN CROSSING ROAD                                       JACKSONVILLE    IL         62650                  6002               Various                                                                                            $12.18
WILLIAM DUNN                   122 N PIONEER AVE                                                 LYONS           KS         67554                  6002               Various                                                                                             $4.60
WILLIAM DUROW                  40916 HIGHWAY 60                                                  MAZEPPA         MN         55956                  6002               Various                                                                                             $5.10
WILLIAM E CAMPBELL             3634 S 17TH ST                                                    LINCOLN         NE         68502                  6002               Various                                                                                             $2.11
WILLIAM E ROSIN                E2880 CTY HWY B                                                   ODGENSBURG      WI         54962                  6002               Various                                                                                             $0.47
WILLIAM ED BARNES              106 TA-BI DR                                                      WORLAND         WY         82401                  6002               Various                                                                                            $10.00
WILLIAM EDGAR                  35751 172ND ST.                                                   ORIENT          SD         57467                  6004               Various                                                                                            $13.10
WILLIAM EDWA BARTZ             W8219 HILLTOP LN                                                  CLINTONVILLE    WI         54929                  6002               Various                                                                                             $3.75
WILLIAM ELGERSMAN              N7699 BORGLIN AVENUE                                              GREENWOOD       WI         54437                  6004               Various                                                                                           $246.00
WILLIAM ELLIOTT                1669 ATLANTA CIRCLE                                               MANITOWOC       WI         54220                  6004               Various                                                                                            $22.47
WILLIAM ENGLUND                5709 HERMANTOWN ROAD                                              DULUTH          MN         55810                  6004               Various                                                                                             $3.00
WILLIAM ENRIGHT                9331 BOLTON DR                                                    KEWASKUM        WI         53040                  6002               Various                                                                                             $3.32
WILLIAM ERBST                  PO BOX 551                                                        OROFINO         ID         83544                  6002               Various                                                                                             $6.93
WILLIAM FIETZER                305 N. PINE ST                                                    KIMBERLY        WI         54136                  6004               Various                                                                                             $3.80
WILLIAM FLEMESTON              928 OAKS                                                          BELOIT          WI         53511                  6004               Various                                                                                            $20.00
WILLIAM FOWLER                 130 DOUGLAS                                                       WHITE HALL      IL         62092                  6004               Various                                                                                            $12.39
WILLIAM FRITSCHE               1613 SWAN ROAD                                                    DEPERE          WI         54115                  6002               Various                                                                                             $1.99
WILLIAM FUCHS                  731 FAIRWAY LN                                                    JEFFERSON       WI         53549                  6002               Various                                                                                             $0.41
WILLIAM FULLER                 113 S 2ND AVENUE                                                  WAUSAU          WI         54401                  6004               Various                                                                                             $3.00
WILLIAM G COLOFF               1805 LINKSVIEW WAY                                                GLADWIN         MI         48624                  6002               Various                                                                                             $1.97
WILLIAM G. COONTZ              1609 E PARK LN                                                    POST FALLS      ID         83854                  6002               Various                                                                                             $1.34
WILLIAM GARCIA                 1315 HIGH VALLEY RD                                               OROFINO         ID         83544                  6002               Various                                                                                             $2.68
WILLIAM GATHJE                 36554 STATE HWY 30                                                PETERSON        MN         55962                  6004               Various                                                                                             $3.00
WILLIAM GEBEL                  3097 190TH ST                                                     LAWLER          IA         52154                  6002               Various                                                                                            $10.00
WILLIAM GLEN HUMPHREY          7702 S SUNSET CIR                                                 WEST JORDAN     UT         84084                  6002               Various                                                                                             $4.05




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WILLIAM GOEDKER                8155 APPLEGATE DR                                          HELENA          MT         59602                 6002                Various                                                                                                $9.95
WILLIAM GOETTE                 835 NORTH 5TH AVE                                          STAYTON         OR         97383                 6004                Various                                                                                               $41.00
WILLIAM GOWER                  1110 DOLBEER ST.                                           POCATELLO       ID         83204                 6004                Various                                                                                               $16.05
WILLIAM GREGORY                4930 ALDERSON ST                                           SCHOFIELD       WI         54476                 6002                Various                                                                                               $55.87
WILLIAM GUIDARELLI             78 W SHERREN                                               ROSEVILLE       MN         55113                 6002                Various                                                                                               $10.00
WILLIAM H BLECKE               1425 CLAYCOMB RD                                           WAYNE           NE         68787                 6002                Various                                                                                                $0.36
WILLIAM HALL                   501 S 1875 W                                               OREM            UT         84058                 6004                Various                                                                                               $24.00
WILLIAM HAMILTON               3812 N WHITE RIVER LN                                      WHITE CLOUD     MI         49349                 6002                Various                                                                                               $10.00
WILLIAM HANCOCK                712 5TH ST                                                 GLENWOOD        IA         51534                 6002                Various                                                                                                $5.73
WILLIAM HARVEY                 1005 E 320 S                                               LAYTON          UT         84041                 6004                Various                                                                                                $4.32
WILLIAM HEISZ JR               PO BOX 773                                                 LA CROSSE       WI         54602                 6002                Various                                                                                                $8.90
WILLIAM HEITING                1612 LUTHER CT                                             MARSHFIELD      WI         54449                 6002                Various                                                                                               $10.00
WILLIAM HELMS                  836 TWEED LN                                               LANDER          WY         82520                 6002                Various                                                                                                $6.74
WILLIAM HERRMANN               N548 HWY HH                                                RANDOM LAKE     WI         53075                 6004                Various                                                                                                $3.00
WILLIAM HOEFT                  W12477 GERBIG RD                                           MARION          WI         54950                 6002                Various                                                                                                $0.82
WILLIAM HOLBROOKS              2002 WILSON ST                                             FALLS CITY      NE         68355                 6002                Various                                                                                               $10.00
WILLIAM HUREAUX                7556 THORINTON DR                                          MISSOULA        MT         59808                 6004                Various                                                                                                $2.00
WILLIAM HUST                   401 PARK DR                                                COEUR D ALENE   ID         83814                 6002                Various                                                                                                $0.38
WILLIAM II PANN                2540 NORTHRIDGE LN NE                                      ROCHESTER       MN         55906                 6002                Various                                                                                                $2.74
WILLIAM INGRAM                 RR 1 BOX 4080                                              DONIPHAN        MO         63935                 6002                Various                                                                                                $6.68
WILLIAM ISHMAEL                424 N F ST                                                 MONMOUTH        IL         61462                 6002                Various                                                                                                $6.90
WILLIAM IVERSON                811 ELM ST S                                               MOORHEAD        MN         56560                 6002                Various                                                                                                $8.36
WILLIAM J DAVID                918 MAIN ST APT 1                                          WAYNE           NE         68787                 6002                Various                                                                                                $9.23
WILLIAM J LANEY                2250 N CLARWIN AVE                                         GLADWIN         MI         48624                 6002                Various                                                                                                $1.73
WILLIAM J TARRELL              545 N RIVER ST APT 405                                     HOT SPRINGS     SD         57747                 6002                Various                                                                                                $4.30
WILLIAM J. SCHLAGEL            169 8TH ST                                                 FOND DU LAC     WI         54935                 6002                Various                                                                                                $9.21
WILLIAM JACO WARD              HC 1 BOX 66A                                               GRANDIN         MO         63943                 6002                Various                                                                                                $4.79
WILLIAM JAME MIDDAUGH          10842 PUFFER RD SW                                         FIFE LAKE       MI         49633                 6002                Various                                                                                                $0.27
WILLIAM JAMES                  1402 VALLI HI RD                                           NORFOLK         NE         68701                 6004                Various                                                                                               $16.00
WILLIAM JOHN KELLEY            PO BOX 547                                                 GREEN RIVER     WY         82935                 6002                Various                                                                                                $7.26
WILLIAM JOHNSON                905 3RD AVE NE                                             AUSTIN          MN         55912                 6004                Various                                                                                               $19.43
WILLIAM JOHNSTON               3481 CAMBRIDGE PL                                          RIVER FALLS     WI         54022                 6002                Various                                                                                                $2.68
WILLIAM JR. HOOPES             897 S ARAPAHO CT                                           BRIGHAM CITY    UT         84302                 6002                Various                                                                                                $7.07
WILLIAM KELLER                 925 N WESTFIELD M # 105                                    OSHKOSH         WI         54902                 6002                Various                                                                                                $8.33
WILLIAM KING                   S122 CTY RD BB                                             MONDOVI         WI         54755                 6004                Various                                                                                               $44.98
WILLIAM KOERLING               1002 PIERCE W AVE                                          WEIPPE          ID         83553                 6002                Various                                                                                                $2.79
                               850 MORNING GLORY LANE
WILLIAM KRZEWINA               APT139                                                     DE PERE         WI         54115                   6004              Various                                                                                               $58.00

WILLIAM KUCINSKI               2933 FISH HATCHERY ROAD 115                                MADISON         WI         53713                  6004               Various                                                                                               $17.50
WILLIAM L DUNMIRE              17 BUL ELK BLVD                                            CLANCY          MT         59634                  6002               Various                                                                                                $0.58
WILLIAM LACAILLE               1217 N SUMAC DRIVE                                         JANESVILLE      WI         53545                  6002               Various                                                                                                $6.64
WILLIAM LACHANCE               306 LOCUST ST                                              DONIPHAN        MO         63935                  6002               Various                                                                                                $4.41
WILLIAM LANE                   1203 W GRAND ST                                            GALLATIN        MO         64640                  6002               Various                                                                                                $1.70
WILLIAM LEEMAN                 830 RIVERSIDE DR                                           SUAMICO         WI         54173                  6002               Various                                                                                                $3.86
WILLIAM LESMEISTER             1613 4TH AVE SW                                            ROCHESTER       MN         55902                  6004               Various                                                                                               $66.30
WILLIAM LEWIS                  P.O. BOX 705                                               EUREKA          MT         59917                  6004               Various                                                                                                $3.00
WILLIAM LOY DUGHIE             W4647 COUNTY G                                             PORTERFIELD     WI         54159                  6002               Various                                                                                                $1.12
WILLIAM LUSKEY                 727 S 4TH ST                                               LE SUEUR        MN         56058                  6004               Various                                                                                               $51.66
WILLIAM LYNES                  37 DOGWOOD                                                 LYMAN           WY         82937                  6002               Various                                                                                                $0.47
WILLIAM MARTIN                 1900 AZALEA LN                                             POCATELLO       ID         83204                  6002               Various                                                                                                $0.58
WILLIAM MC QUILLEN             711 REMICK                                                 BURLINGTON      IA         52601                  6004               Various                                                                                               $10.00
WILLIAM MCCONNELL              2237 VICTORIA DRIVE                                        MANITOWOC       WI         54220                  6004               Various                                                                                               $20.00
WILLIAM MCHENRY                208 15TH ST                                                OGDEN           UT         84404                  6002               Various                                                                                                $5.01




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WILLIAM MENACHER               2014 MEMORIAL DR                                               GREEN BAY        WI         54303                 6002                Various                                                                                                $2.33
WILLIAM MEYER                  HC 7 BOX 383K                                                  DONIPHAN         MO         63935                 6002                Various                                                                                                $2.49
WILLIAM MILLER                 PO BOX 32062                                                   BILLINGS         MT         59107                 6002                Various                                                                                                $0.47
WILLIAM MINER                  205 N WOOD ST                                                  TOMAH            WI         54660                 6002                Various                                                                                                $3.75
WILLIAM MISAY                  1029 STARS RD                                                  CHUBBUCK         ID         83202                 6004                Various                                                                                                $4.97
WILLIAM MORGAN                 1771 W 12980TH                                                 RIVERTON         UT         84065                 6002                Various                                                                                                $1.56
WILLIAM MORROW                 101 TUTTLE AVE                                                 LANSE            MI         49946                 6004                Various                                                                                               $80.00
WILLIAM MOTT                   1321 PARK ST                                                   ANSLEY           NE         68814                 6002                Various                                                                                               $10.00
WILLIAM MOYRYLA                15396 ADAMS ST                                                 PAINESDALE       MI         49955                 6002                Various                                                                                                $9.92
WILLIAM MULLARKEY              PO BOX 502                                                     KAUKAUNA         WI         54130                 6002                Various                                                                                                $9.04
WILLIAM MYERS                  2328 BILLY MEADOW LANE                                         CLARKSTON        WA         99403                 6004                Various                                                                                               $20.00
WILLIAM NANNEY                 ARENAC CO JAIL                                                 STANDISH         MI         48658                 6002                Various                                                                                                $4.41
WILLIAM NAVARRE                296 E M36 APT 5                                                GWINN            MI         49841                 6002                Various                                                                                                $6.99
WILLIAM NEMEC                  264 S AVON AVE                                                 PHILLIPS         WI         54555                 6002                Various                                                                                                $3.73
WILLIAM NICHOLS                10837 BIRCHWOOD DR                                             SISTER BAY       WI         54234                 6002                Various                                                                                               $15.40
WILLIAM OBRIEN                 3526 GRANGER AVE W                                             BILLINGS         MT         59102                 6002                Various                                                                                                $0.68
WILLIAM OCONNELL               1427 E KOSHKONONG DR                                           EDGERTON         WI         53534                 6002                Various                                                                                                $1.32
WILLIAM OKEEFE                 1824 RAINBOW CT                                                SCHOFIELD        WI         54476                 6002                Various                                                                                                $6.25
WILLIAM OLSON                  347 OAK POINT DR APT 4                                         JUNEAU           WI         53039                 6004                Various                                                                                               $42.52
WILLIAM ORR                    611 KETTLE LAKE RD                                             KALKASKA         MI         49646                 6002                Various                                                                                               $17.26
WILLIAM OSBURN                 1312 1ST AVE N                                                 ESCANABA         MI         49829                 6004                Various                                                                                               $34.18
WILLIAM P EBERMAN JR           1930 SUNNYBROOK CT                                             PLOVER           WI         54467                 6002                Various                                                                                                $7.56
WILLIAM P LARSON               18894 75TH AVE                                                 CHIPPEWA FALLS   WI         54729                 6002                Various                                                                                                $7.45
WILLIAM P LEINWEBER            731 ELM ST                                                     WINNECONNE       WI         54986                 6002                Various                                                                                                $6.77
WILLIAM PARKER                 2053 N BRIGGS RD                                               TWINING          MI         48766                 6002                Various                                                                                                $6.49
WILLIAM PATR MONAGHAN          26241 HOPE AVE                                                 JAMESPORT        MO         64648                 6002                Various                                                                                                $5.59
WILLIAM PAULI                  PO BOX 123                                                     BISMARCK         ND         58502                 6002                Various                                                                                                $2.99
WILLIAM PERRY                  25167 HIGHWAY 248                                              MINNESOTA CITY   MN         55959                 6002                Various                                                                                                $2.79
WILLIAM PIRIUS                 30574 SUN CREEK DR                                             EVERGREEN        CO         80439                 6002                Various                                                                                                $7.95
WILLIAM POFFENBARGER           303 N HAZEL ST                                                 GLENWOOD         IA         51534                 6002                Various                                                                                                $4.41
WILLIAM PRASALOWICZ            A5 DOVER LN                                                    WESTFIELD        WI         53964                 6002                Various                                                                                                $1.47
                               N62 W23455 SILVERSPRING
WILLIAM PULVERMACHER           DRIVE                                                          SUSSEX           WI         53089                  6004               Various                                                                                                $1.10
WILLIAM R KONOPACKY            1609 FOURTH AVE APT 4                                          STEVENS POINT    WI         54481                  6002               Various                                                                                                $0.36
WILLIAM R NACHATILO            249 E ELGIN ST                                                 SPEARFISH        SD         57783                  6002               Various                                                                                                $4.08
WILLIAM R SKRADSKI             504 E BOUNDARY ST                                              ELY              MN         55731                  6002               Various                                                                                                $1.78
WILLIAM R ZEININGER            1275 FRANCES WAY                                               MENASHA          WI         54952                  6002               Various                                                                                                $7.10
WILLIAM R. CHAPIN              2709 FRONTENAC AVE                                             STEVENS POINT    WI         54481                  6002               Various                                                                                               $10.00
WILLIAM RICHEY                 201 1/2 EAST 33RD STREET                                       GARDEN CITY      ID         83714                  6004               Various                                                                                                $1.10
WILLIAM RIDESHORSE             PO BOX 311                                                     PRYOR            MT         59066                  6004               Various                                                                                                $2.00
WILLIAM ROHRBAUCK              1623 N. BURLINGTON                                             WORTHINGTON      MN         56187                  6004               Various                                                                                               $46.00
WILLIAM ROLAND                 6400 CORNHUSKER                                                LINCOLN          NE         68507                  6004               Various                                                                                                $2.00
WILLIAM ROSS                   1024 ASH STREET                                                HANCOCK          MI         49930                  6002               Various                                                                                                $8.49
WILLIAM S HAWLEY               606 GROVE AVE                                                  NEWCASTLE        WY         82701                  6002               Various                                                                                                $6.77
WILLIAM S MCGREW               38843 GASTON AVE                                               EMERSON          IA         51533                  6002               Various                                                                                                $6.33
WILLIAM S SANDGREN             533 E 820TH S                                                  PLEASANT GROVE   UT         85062                  6002               Various                                                                                                $7.75
WILLIAM S. DAY III             1280 BRUCE ST                                                  BUFFALO          WY         82834                  6002               Various                                                                                                $8.47
WILLIAM SANDERFOOT             325 1ST AVE SW             APT 407                             ROCHESTER        MN         55902                  6004               Various                                                                                                $3.00
WILLIAM SANDMAN                16876 220TH ST                                                 HUTCHINSON       MN         55350                  6002               Various                                                                                               $14.00
WILLIAM SCHAFFHAUSEN           4945 COLFAX AVE                                                LINCOLN          NE         68504                  6004               Various                                                                                               $55.98
WILLIAM SCHMIDT                N2969 PRYSE DRIVE                                              WAUPACA          WI         54981                  6004               Various                                                                                                $3.00
WILLIAM SCHMUDLACH             110 WILSON ST                                                  LODI             WI         53555                  6004               Various                                                                                               $23.00
WILLIAM SCHOMMER               709 JOSHUA ST                                                  KAUKAUNA         WI         54130                  6002               Various                                                                                                $0.44
WILLIAM SCOT PETERSEN          1225 EDWIN ST                                                  MARINETTE        WI         54143                  6002               Various                                                                                                $5.67




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                                                                                                                                                    Last 4 Digits of     Date Debt was
                                                                                                                                                       Account         Incurred, Basis for
              Creditor Name                    Address1             Address2         Address3             City        State         Zip    Country     Number                Claim                                                                             Total Claim
WILLIAM SHAFER                     PO BOX 1245                                                    KALKASKA         MI         49646                6002                Various                                                                                             $6.36
WILLIAM SIGMUND                    710 EMMET STREET                                               WATERTOWN        WI         53094                6004                Various                                                                                             $1.00
WILLIAM SIMMONS                    306 S POLK ST                                                  MOUNT AYR        IA         50854                6002                Various                                                                                             $4.00
WILLIAM SLIGER                     PO BOX 80                                                      TROUT CREEK      MI         49967                6002                Various                                                                                             $1.85
WILLIAM SMITH                      611 2ND STREET                                                 ASOTIN           WA         99402                6004                Various                                                                                            $26.86
WILLIAM ST.JOHN                    2385 WOODCOCK DR                                               MISSOULA         MT         59808                6002                Various                                                                                             $8.05
WILLIAM STAGRAY                    2385 NINE MILE RD                                              STERLING         MI         48659                6002                Various                                                                                             $7.01
WILLIAM STEWART                    PO BOX 183                                                     WEIPPE           ID         83553                6002                Various                                                                                             $0.63
WILLIAM STOCKDALE                  13418 CEDAR STREET                                             OMAHA            NE         68144                6004                Various                                                                                             $1.04
WILLIAM STONE                      706 E JAMES ST                                                 ELY              MN         55731                6002                Various                                                                                             $0.38
WILLIAM SWAIN                      206 W HALE ST                                                  NEW HAMPTON      IA         50659                6002                Various                                                                                             $6.11
WILLIAM SWOPES                     418 IOWA BLVD                                                  TRENTON          MO         64683                6002                Various                                                                                             $1.92
WILLIAM T. JOHNSON                 118 N 7TH AVE                                                  SHELDON          IA         51201                6002                Various                                                                                             $6.30
WILLIAM THIELKE                    2882 SLEEPY HALLOW DRIVE                                       GREEN BAY        WI         54311                6004                Various                                                                                            $17.39
WILLIAM TOOMER                     2563 CORELAND CT                                               DE PERE          WI         54115                6004                Various                                                                                            $10.00
WILLIAM TOWNER                     904 TWIN HARBOR                                                WINNECONNE       WI         54986                6004                Various                                                                                             $3.00
WILLIAM TUBBS                      2733 13TH ST                                                   EAU CLAIRE       WI         54703                6004                Various                                                                                            $10.80
WILLIAM TURNBOW                    ARENAC COUNTY JAIL                                             STANDISH         MI         48658                6002                Various                                                                                             $9.97
WILLIAM TUTTLE                     36 BLUFF ST                                                    COUNCIL BLUFFS   IA         51503                6002                Various                                                                                             $3.92
WILLIAM VAN DYK                    1613E. 320 N.                                                  SPANISH FORK     UT         84660                6004                Various                                                                                            $70.00
WILLIAM VAN MEER                   4879 MATHEY ROAD                                               STURGEON BAY     WI         54235                6004                Various                                                                                            $93.98
WILLIAM WAGNER                     2012 ORCHARD PLACE                                             EAU CLAIRE       WI         54701                6004                Various                                                                                            $10.00
WILLIAM WALKER                     2769 WITCHES LAKE RD                                           WOODRUFF         WI         54568                6004                Various                                                                                            $11.24
WILLIAM WANNOW                     205 STURM AVE                                                  BUTTERFIELD      MN         56120                6002                Various                                                                                             $1.73
WILLIAM WARZAK                     606 SO. 96TH STREET                                            OMAHA            NE         68114                6004                Various                                                                                            $10.00
WILLIAM WATKINS                    1401 S MAIN ST                                                 MITCHELL         SD         57301                6002                Various                                                                                             $9.29
WILLIAM WATTS                      5820 N MT AVE                                                  HELENA           MT         59602                6002                Various                                                                                             $3.48
WILLIAM WAVE                       2026 S SCHOOL RD                                               STERLING         MI         48659                6002                Various                                                                                            $12.49
WILLIAM WEGNER                     148 W ANTELOPE DR                                              SALMON           ID         83467                6002                Various                                                                                             $8.11
WILLIAM WELLS                      4620 MUCK CREEK DRIVE SE                                       OLYMPIA          WA         98513                6004                Various                                                                                            $10.92
WILLIAM WENDT                      514 S. PRINCE STREET                                           WHITEWATER       WI         53190                6004                Various                                                                                            $10.00
WILLIAM WHITFIELD                  818 CHESHIRE CT                                                FREEPORT         IL         61032                6004                Various                                                                                            $50.00
WILLIAM WOODHOUSE                  1100 2ND RD NE                                                 POWER            MT         59468                6002                Various                                                                                             $1.23
WILLIAMS FAMILY                    820 FRONTIER RD                                                WEST SALEM       WI         54669                6002                Various                                                                                             $3.48
WILLIAMS INLAND DISTRIBUTING       VICE PRESIDENT OF SALES     1505 N BRADLEY                     SPOKANE VALLEY   WA         99212                4614                Various                                                                                         $3,656.04
WILLIAMSON DICKIE MFG (MIXED       PO BOX 915156                                                  DALLAS           TX         75391-5156           4107                Various                                                                                        $44,060.35
WILLIE BEAMON JR.                  7441 S 37TH ST                                                 LINCOLN          NE         68516                6004                Various                                                                                            $29.98
WILLIE COLISTER                    6517 21ST AVE                                                  KENOSHA          WI         53143                6004                Various                                                                                             $1.00
WILLIE ELIZONDO                    1205 ISABELLE CR. APT 2                                        NORFOLK          NE         68701                6004                Various                                                                                             $3.00
                                   2333 BENSON GARDEN BLVD APT
WILLIE HILL                        19                                                             OMAHA            NE         68134                 6004               Various                                                                                                $2.00
WILLIEM LANGENHAHN                 13912 CTY X                                                    NEWTON           WI         53063                 6004               Various                                                                                               $60.30
WILLIMENA AMENT                    227 LEWIS AVE                                                  BILLINGS         MT         59101                 6002               Various                                                                                                $5.04
WILLIS E. HANSON                   209 FAIRMAN BOX # 63                                           LEWELLYN         NE         69147                 6002               Various                                                                                                $6.52
WILLIS FERNHOLZ                    531 9TH AVE S                                                  ONALASKA         WI         54650                 6002               Various                                                                                                $7.06
WILLIS KUSE                        2727 SCOTCH PINE TRL                                           GREEN BAY        WI         54313                 6002               Various                                                                                                $0.88

WILLOUGHBY/ AMBER                  STORE 672                   SHOPKO EMPLOYEE 404 E HIGHWAY 20   ONEILL           NE         68763                 2261               Various                                                                                          $160.50
WILLOW KEE                         2644 REBECCA WAY                                               MERIDIAN         ID         83646                 6004               Various                                                                                             $3.65
WILLOW WILLIAMS                    191 EVERGREEN EST                                              ELLSWORTH        WI         54011                 6002               Various                                                                                             $4.82
WILLOWBROOK COMPANY LLC            PO BOX 890654                                                  CHARLOTTE        NC         28289-0654            2990               Various                                                                                        $24,213.77
WILLOWBROOK PLACE SENIOR LIVING    205 GREEN BAY ROAD                                             MEQUON           WI         53092                 6002               Various                                                                                            $43.99
WILLS WOODS                        224 HUNTERS CHAPEL RD                                          SARAH            MS         38665                 6002               Various                                                                                             $5.04
WILLY JEAN-BAPTISTE                907 9TH AVE SW                                                 ABERDEEN         SD         57401                 6002               Various                                                                                             $7.21




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             Creditor Name                    Address1              Address2             Address3            City        State           Zip   Country      Number                Claim                                                                             Total Claim
                                                               25671 W WILSON
WILMA GOAD                        C/O ADAM WILLICH             AVENUE                               WAUCONDA        IL           60084                   6002               Various                                                                                             $1.60
WILMA HANSON                      120 GRUMPY OLD MEN RD                                             OROFINO         ID           83544                   6002               Various                                                                                             $2.16
WILMA HEINS                       5362 30TH ST                                                      PRINCETON       MN           55371                   6002               Various                                                                                             $7.53
WILMA JOHNSON                     BOX 1197                                                          POWELL          WY           82435                   6002               Various                                                                                             $8.08
WILMA REDNEST                     710 W 4TH STREET                                                  ALLIANCE        NE           69301                   6002               Various                                                                                             $4.82
WILMA RIEF                        1221 4TH AVE                                                      DANNEBROG       NE           68831                   6002               Various                                                                                             $0.96
WILMER ALBERT                     E4663 LAKE RD                                                     KEWAUNEE        WI           54216                   6002               Various                                                                                             $3.51
WILONDAE EASTER                   819 BEAVER AVENUE                                                 MANKATO         MN           56001                   6004               Various                                                                                             $3.00
WILPORT LLC                       105 FRONT ST                                                      BEAUFORT        NC           28516                   2835               Various                                                                                         $7,004.71
WILSON FAMILY                     W468 SUNSHINE DR                                                  LA CROSSE       WI           54601                   6002               Various                                                                                             $6.96
WILSON GOLF                       PO BOX 3135                                                       CAROL STREAM    IL           60132-3135              5805               Various                                                                                       $213,444.70
WILTON INDUSTRIES INCORPORATED    24485 NETWORK PLACE                                               CHICAGO         IL           60673-0000              8306               Various                                                                                       $186,682.12

WINCHELL/ JUSTIN                  STORE 2-676                  SHOPKO EMPLOYEE 1901 COURT AVENUE    CHARITON        IA           50049                   4309               Various                                                                                             $3.82
WINCRAFT INCORPORATED             PO BOX 708                                                        WINONA          MN           55987-0000              7220               Various                                                                                         $2,538.25
WINDIE LAZENKO                    105 1ST ST SE APT 404                                             MINOT           ND           58701                   6002               Various                                                                                             $9.26
WINDY FOWER                       607 DEER SPRINGS LOOP                                             GEORGETOWN      SC           29440                   6002               Various                                                                                             $9.97
WINDY MCCOY                       730 MEADOWPARK DR                                                 CLINTON         WI           53525                   6004               Various                                                                                             $5.02
WINKEL DISTRIBUTING (BEER)        2200 SOUTH RED HILLS DRIVE                                        RICHFIELD       UT           84701                   8855               Various                                                                                          $597.85
WINKEL JOSEPH                     16519 LAX CHAPEL RD                                               KIEL            WI           53042                   6002               Various                                                                                             $3.33
WINNER FAMILY                     240 PINE ST                                                       JACKSONVILLE    IL           62650                   6002               Various                                                                                             $0.79
WINNER HIGH SCHOOL                PO BOX 231                                                        WINNER          SD           57580                   6445               Various                                                                                          $100.00
                                                                                                                                                                            11/3/2018 -
WINNER MUNICIPAL UTILITIES        P.O. BOX 691                                                      WINNER          SD           57580                   50-02              12/4/2018                                                                                       $3,298.13

                                                            1000 WASHINGTON
WINNIFRED ARNOTT                  APT 306                   AVENUE                                  DIXON           IL           61021                   6002               Various                                                                                                $4.16
                                  16111 WOODINVILLE REDMOND
WINSOME TRADING INC (C-HUB)       ROAD                                                              WOODINVILLE     WA           98072-0000              6286               Various                                                                                        $24,558.75
WINSTON MYERS                     1210 CULBERTSON AVE                                               WORLAND         WY           82401                   6002               Various                                                                                             $6.25
WINSTON PRODUCTS LLC              PO BOX 72192                                                      CLEVELAND       OH           44192-0002              4787               Various                                                                                        $25,052.15
WINSTON/CANI SCHLEY               1006 6TH ST                                                       KEWAUNEE        WI           54216                   6002               Various                                                                                             $0.36

WINTER/ AUTUMN                    STORE 170                    SHOPKO EMPLOYEE                      GREEN BAY       WI           54307-9060              4822               Various                                                                                               $26.16

WINTERSET DANCE TEAM              ATTN DANA HARPER             624 W HUSKY DRIVE                    WINTERSET       IA           50273                   5104               Various                                                                                          $100.00
WINTERSET WINDFALL LLC            1515 WEST MAPLE AVENUE                                            RED WING        MN           55066                   5225               Various                                                                                         $8,560.00
                                  WASHINGTON INVENTORY
WIS INTERNATIONAL                 SERVICE                      PO BOX 200081                        DALLAS          TX           75320-0081              4361               Various                                                                                         $2,957.96
WISCONSIN DEPARTMENT OF TRANSP    WISDOT ANNUAL SIGN FEES      ROOM 501            PO BOX 7986      MADISON         WI           53707-7986              8308               Various                                                                                             $1.60
WISCONSIN DISTRIBUTORS            900 PROGRESS WAY                                                  SUN PRAIRIE     WI           53590                   7715               Various                                                                                            $97.39
WISCONSIN ELECTRICAL EMPLOYERS    2730 DAIRY DR SUITE 101                                           MADISON         WI           53718                   6004               Various                                                                                            $75.03
WISCONSIN ELEVATOR INSPECTION     403 STATE STREET                                                  OCONOMOWOC      WI           53066                   9249               Various                                                                                            $80.00
WISCONSIN LABORERS                2201 SPRINGDALE RD                                                WAUKESHA        WI           53186                   6004               Various                                                                                          $259.95
WISCONSIN LIFT TRUCK CORP         3125 INTERTECH DR                                                 BROOKFIELD      WI           53045                                      Various                                                                                         $3,327.85
WISCONSIN LIFT TRUCK CORPORATI    2588 SOLUTIONS CENTER                                             CHICAGO         IL           60677-2005              3858               Various                                                                                         $3,015.24
                                                                                                                                                                            12/4/2018 -
WISCONSIN PUBLIC SERVICE          PO BOX 3140                                                       MILWAUKEE       WI           53201-3140              -25                1/4/2019                                                                                       $31,366.31
WIT GROUP                         PO BOX 430                                                        ROSEVILLE       CA           95678-0430              3223               Various                                                                                        $18,880.73

WITHAM ATKINSON/ SANDRA           STORE 2-701                  SHOPKO EMPLOYEE 1212 W MAIN STREET   LYONS           KS           67554                   5010               Various                                                                                            $11.76
WITNI HEITMAN                     4961 W EDINBURGH LANE                                             WEST JORDAN     UT           84088                   6004               Various                                                                                             $1.80
WITTROCK & SONS INC               802 E. 10TH AVENUE                                                MILBANK         SD           57252                                      Various                                                                                         $1,233.96




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                                                                                                                                                          Account         Incurred, Basis for
            Creditor Name                     Address1             Address2         Address3             City          State           Zip   Country      Number                Claim                                                                             Total Claim
                                  MIDWEST COMMUNICATIONS      1420 BELLEVUE
WIXX-FM                           INCORPORATED                STREET                             GREEN BAY        WI           54311-5649              0787               Various                                                                                         $1,500.00
WIZDOM BELGRAVE                   4505 LAFFIE                                                    OMAHA            NE           68132                   6004               Various                                                                                             $4.00
WM                                PO BOX 9001054                                                 LOUISVILLE       KY           40290-1054                                 Various                                                                                         $6,822.61
WM HOLLINGSWORTH                  2058 LIV # 506                                                 JAMESPORT        MO           64648                   6002               Various                                                                                             $7.53
WM W FOX DEVELOPMENT CENTER       134 WEST MAIN STREET                                           DWIGHT           IL           60420                   6666               Various                                                                                            $10.00
WOERMAN FAMILY                    1022 PRINZ ST                                                  WEST POINT       NE           68788                   6002               Various                                                                                             $9.62

WOLF WEAKLAND                     3691 ROBERTS MEADOWS DR N                                      TECUMSEH         MI           49286                   6002               Various                                                                                             $5.59
WOLFGANG MANWELL                  1008 ROSILEE LN                                                RAPID CITY       SD           57701                   6002               Various                                                                                             $9.97
WOLFGRAM FAMILY                   W7194 PARNELL RD                                               CASCADE          WI           53011                   6002               Various                                                                                             $4.00
WOLFRAM FAMILY                    1603 S 19TH ST                                                 SHEBOYGAN        WI           53081                   6002               Various                                                                                             $4.30
WOLLERMANS INCORPORATED           135 S 5TH AVENUE                                               PARK FALLS       WI           54552                   4099               Various                                                                                            $95.42
WOLVERINE WORLDWIDE (KEDS)        25759 NETWORK PLACE                                            CHICAGO          IL           60673-1257              4641               Various                                                                                       $196,935.42
WOMACKS PRINTING PLACE            126 N MONTANA STREET                                           DILLON           MT           59725                   7813               Various                                                                                            $50.00
WONDERFUL PISTACHIOS & ALMONDS    PO BOX 200937                                                  DALLAS           TX           75320                   3464               Various                                                                                       $712,602.17
WOODBOLT DIST DBA NUTRABOLT       PO BOX 844180                                                  DALLAS           TX           75284-4180              5649               Various                                                                                         $5,369.29
WOODLAND CABINETRY INC            2415 SD HWY 10                                                 SISSETON         SD           57262                   6666               Various                                                                                          $455.21
WOODROW RITCHIE                   N7829 STATE RD 187                                             SHIOCTON         WI           54170                   6004               Various                                                                                            $29.32
WOODS SUPER MARKETS INCORPORAT    PO BOX 880                                                     BOLIVAR          MO           65613-0880              6713               Various                                                                                         $3,083.34
WOODSIDE INDUSTRIES INCORPORAT    606 DIVISION AVE SOUTH                                         CAVALIER         ND           58220                   3628               Various                                                                                            $80.00
WOODWARD COMMUNITY MEDIA          DYERSVILLE COMMERCIAL       PO BOX 446                         DUBUQUE          IA           52004-0446              4015               Various                                                                                         $1,130.05
WORKFORCE INSIGHT LLC             1401 17TH ST STE 850                                           DENVER           CO           80202                   1889               Various                                                                                          $133.75
WORLD KITCHEN L L C               PO BOX 675030                                                  DALLAS           TX           75267-5030              6623               Various                                                                                       $219,506.90
WORLD RUG GALLERY DIV IKBAL IN    7 REUTEN DRIVE                                                 CLOSTER          NJ           07624                   6618               Various                                                                                         $2,781.51
WORLDS FINEST CHOCOLATE           8264 SOLUTIONS CENTER                                          CHICAGO          IL           60677-8000              4313               Various                                                                                       $259,962.57
WORLDWISE INCORPORATED            PO BOX 3360                                                    SAN RAFAEL       CA           94912-3360              7762               Various                                                                                        $47,506.09
WORTHINGTON CYLINDER CORPORATI    27406 NETWORK PLACE                                            CHICAGO          IL           60673-1274              3664               Various                                                                                        $84,668.43
WPS HEALTH INSURANCE              ATTN; REFUND DEPT           PO BOX 8190                        MADISON          WI           53708                   6004               Various                                                                                            $52.20
WREN V KAST                       403 NORTHERN AVE                                               GREEN BAY        WI           54303                   6002               Various                                                                                             $2.79

WRIGHT/ KEVIN                     STORE 2-014                 SHOPKO EMPLOYEE                    GREEN BAY        WI           54307                   9220               Various                                                                                               $10.96

WRIGHT/ RANDEE                    STORE 2-670                 SHOPKO EMPLOYEE 615 DEARBORN STREET WAYNE           NE           68787                   5661               Various                                                                                                $6.11
WRILEY HOFFNER                    N8015 ELSER DR                                                  BEAVER DAM      WI           53916                   6004               Various                                                                                               $23.00
                                                                                                                                                                          12/2/2018 -
WVC UTILITY BILLING               PO BOX 30103                                                   SALT LAKE CITY   UT           84130                   5021               1/1/2019                                                                                         $457.00
WY1 LLC                           PO BOX 682710                                                  PARK CITY        UT           84068-2710              8471               Various                                                                                         $7,300.00
WYATT HICKERSON                   2711 W 450TH N # 1A                                            TREMONTON        UT           84337                   6002               Various                                                                                             $3.48
WYATT JOHNS                       28531 MAYFLOWER RD                                             CALUMET          MI           49913                   6002               Various                                                                                             $0.30
WYATT LAMBRIES                    407 HILLCREST DR                                               PLATSMOUTH       NE           68048                   6004               Various                                                                                             $9.99
WYATT MORRISON                    9238 BUTTERFLY RD                                              BELOIT           WI           53511                   6004               Various                                                                                             $3.00
WYATT PASSON                      11 WOOD DRIVE                                                  MANKATO          MN           56001                   6002               Various                                                                                            $20.80
WYATT THURSTON                    670 S 2ND ST                                                   LANDER           WY           82520                   6002               Various                                                                                             $8.93
WYATT TRASH SERVICES              424 S. FRANKLIN AVE                                            ANTHONY          KS           67003                                      Various                                                                                          $680.00
WYATT WEIER                       47678 750TH STREET                                             JACKSON          MN           56143                   6004               Various                                                                                             $2.85
                                  DIV AMERICAN HOME PROD
WYETH CONSUMER HEALTHCARE         CORP PFIZER INC             PO BOX 75296                       CHARLOTTE        NC           28275-0296              9707               Various                                                                                       $252,806.77
WYLIAM WUENSCH                    1101 W AVE                                                     LA CROSSE        WI           54601                   6002               Various                                                                                             $7.34
WYNG INCORPORATED                 PO BOX 675100                                                  DETROIT          MI           48267-5100              4393               Various                                                                                         $7,197.80
WYNN FLATHERS                     PO BOX 405                                                     EXIRA            IA           50076                   6002               Various                                                                                            $10.00
WYOMA MAUCH                       50 ROLAND RD                                                   ROUNDUP          MT           59072                   6002               Various                                                                                             $0.60
WYOMING GAME & FISH DEPARTMENT    5400 BISHOP BOULEVARD                                          CHEYENNE         WY           82006                   6391               Various                                                                                         $4,619.50




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                                                                                                                                                                 Account         Incurred, Basis for
             Creditor Name                        Address1                Address2            Address3          City          State           Zip   Country      Number                Claim                                                                             Total Claim
                                                                                                                                                                                 11/30/2018 -
WYOMING GAS                             P.O. BOX 19                                                      WORLAND         WY           82401                   1-Jan              12/30/2018                                                                                      $2,619.30
WYOMING WASTE                           PO BOX 660177                                                    DALLAS          TX           75266-0177                                 Various                                                                                         $5,259.42
XAIVER SCHERMERHORN                     23 1/2 SARA ST                                                   EAU CLAIRE      WI           54703                   6004               Various                                                                                             $1.00
XANDER STREET                           60 N SEYMOUR ST                                                  FOND DU LAC     WI           54935                   6004               Various                                                                                            $23.00
XANG LEE                                534 HIGH AVE APT. A                                              OSHKOSH         WI           54902                   6004               Various                                                                                             $9.00
XAVIER GARLAND                          2823 ARLINGTON AVE                                               RACINE          WI           53403                   6004               Various                                                                                             $1.00
XAVIER KEMP                             925 S 19TH ST                                                    MANITOWOC       WI           54220                   6002               Various                                                                                             $5.62
XAVIER M WALESA                         N7693 HIGHWAY 26                                                 WATERTOWN       WI           53084                   6002               Various                                                                                             $2.03
XAVIER MORENO                           5500 SCHLUTER RD                                                 MONONA          WI           53716                   6004               Various                                                                                             $3.00
XAVIER THURSTON                         1621 9TH AVE SE                                                  SAINT CLOUD     MN           56304                   6004               Various                                                                                             $5.08

XAVIER V MEINTZ                         W4060 WERY ROAD NUMBER 21                                        STEPHENSON      MI           49887                   6002               Various                                                                                               $6.14
                                                                                                                                                                                 12/10/2018 -
XCEL ENERGY:NORTHERN STATES POWER CO.   P.O. BOX 9477 @ XCEL ENERGY                                      MINNEAPOLIS     MN           55484-9477              339-3              1/10/2019                                                                                      $52,074.52
XCEL ENERGY:SOUTHWESTERN PUBLIC                                                                                                                                                  12/11/2018 -
SERVICE                                 P.O. BOX 9477 @ XCEL ENERGY                                      MINNEAPOLIS     MN           55484-9477              588-3              1/11/2019                                                                                        $984.89
XEROX                                   PO BOX 660501                                                    DALLAS          TX           75266-0501                                 1/1 to 1/15/2019                                                                               $57,275.88
XEROX CORPORATION                       PO BOX 802555                                                    CHICAGO         IL           60680-2555              8279               Various                                                                                       $329,749.69
                                                                      34 N LAST CHANCE
XEROX STATE HEALTHCARE                  ACCOUNTS RECEIVABLE           GULCH            SUITE 200         HELENA          MT           59601                   6004               Various                                                                                            $42.30
XIMENA RODRIGUEZ                        514 S DINSMORE AVE                                               LYONS           KS           67554                   6002               Various                                                                                             $2.90
XINGJUAN LIN                            549 E 15TH ST                                                    IDAHO FALLS     ID           83404                   6004               Various                                                                                            $19.99
XINH TRAN                               2650 WOODS BLVD                                                  LINCOLN         NE           68502                   6002               Various                                                                                             $5.01
XIONG VANG                              218 EUGENE CT                                                    KIMBERLY        WI           54136                   6004               Various                                                                                             $5.00
XIONG YANG                              2114 LIBERTY ST                                                  LA CROSSE       WI           54603                   6002               Various                                                                                             $6.52
XIU R YANG                              1300 COURTHOUSE AVE                                              AUBURN          NE           68305                   6002               Various                                                                                             $9.18
XOCHILT JIMENEZ RAZO                    1307 S. 11 AVE                                                   YAKIMA          WA           98902                   6004               Various                                                                                            $25.00
XOE CHAVEZ PARRIS                       775 GRACE AVE                                                    IDAHO FALLS     ID           83401                   6004               Various                                                                                             $3.65
XONG LEE VUE                            1303 PIONEER DR                                                  HOLMEN          WI           54636                   6002               Various                                                                                             $2.77
XOUA YANG                               1404 N14TH STREET                                                SHEBOYGAN       WI           53081                   6004               Various                                                                                             $5.00
XTREME COUTURE INC                      1799 APOLLO COURT                                                SEAL BEACH      CA           90740                   4924               Various                                                                                        $26,387.55
YADIRA HERNANDEZ                        320 2ND STREET                                                   CHANDLER        MN           56122                   6004               Various                                                                                            $10.90
YADIRA NAVARRO                          87064 494TH AVE LOT 36                                           ONEILL          NE           68763                   6002               Various                                                                                             $5.62
YADON FAMILY                            5238 VALLEY RD NW                                                RAPID CITY      MI           49676                   6002               Various                                                                                             $1.51
YAE SOUMPHONPHAKDY                      8553 SUSAN WAY                                                   WEST JORDAN     UT           84088                   6002               Various                                                                                             $0.66
YAHIMAN PEREZ CASTELLO                  2323 DRIVE                                                       GRAND ISLAND    NE           68801                   6004               Various                                                                                             $4.00
YAHIR RAMIREZ                           139 BURCHARD ST                                                  BEAVER DAM      WI           53916                   6004               Various                                                                                             $2.00
YAJAIRA HENDERSON                       236 N BELL ST                                                    FOND DU LAC     WI           54935                   6004               Various                                                                                             $1.00
YAKIMA THEATRES INC                     PO BOX 50                                                        YAKIMA          WA           98907                   1183               Various                                                                                        $11,698.44
YAKIMA WASTE                            PO BOX 60248                                                     LOS ANGELES     CA           90060-0248                                 Various                                                                                         $2,831.11
YAMILIA LOPEZ                           324 PARK ST                                                      EMMONS          MN           56029                   6004               Various                                                                                            $16.00
YANA ALLEN                              114 WEST PLEASANT ST                                             GARDEN CITY     MN           56034                   6004               Various                                                                                             $3.00
YANCEY D WALTERS                        812 N 8TH ST                                                     CORNELL         WI           54732                   6002               Various                                                                                             $1.73
YANELIA FLORES-BENITEZ                  381 N PETERS AVE APT F2                                          FOND DU LAC     WI           54935                   6002               Various                                                                                             $1.53
                                        1085 RAYMOND BLVD., 9TH
YANG MING (AMERICA) CORPORATIO          FLOOR                                                            NEWARK          NJ           07102                   8594               Various                                                                                        $32,325.00
YANJIN CHEN                             925A EMERALD CT                                                  RICE LAKE       WI           54868                   6002               Various                                                                                             $4.96
YANKEE CANDLE COMPANY INCORPOR          PO BOX 416442                                                    BOSTON          MA           02241-6442              8255               Various                                                                                       $326,570.11
YAQUELINA ESCAMILLA                     1659 WINDSOR DRIVE #6                                            GREEN BAY       WI           54302                   6004               Various                                                                                             $3.00
YAQUELYN JIMENEZ-GOMEZ                  1510 50TH ST NW APT 5                                            ROCHESTER       MN           55901                   6004               Various                                                                                             $6.00
YARA MEDRANO                            270 SE 1300TH                                                    ANDREWS         TX           79714                   6002               Various                                                                                             $5.64
YAREE WALKER                            7148 TREE LANE                                                   MADISON         WI           53717                   6004               Various                                                                                             $4.00
YARETZI GOMEZ GONZALEZ                  756 ABRAMS ST                 APT #3                             GREEN BAY       WI           54302                   6004               Various                                                                                             $1.00




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              Creditor Name                   Address1             Address2         Address3             City         State         Zip    Country     Number                Claim                                                                             Total Claim
YARETZI NAVARRETE                 834 N THOMPSON DR APT 2                                        MADISON           WI         53704                6004                Various                                                                                            $13.01
YARU WANG                         1620 NE NORTHWOOD DR J203                                      PULLMAN           WA         99163                6004                Various                                                                                            $45.98
YASSIN MAHAMED                    400 HWY 10 SOUTH                                               SAINT CLOUD       MN         56304                6004                Various                                                                                             $7.00
YAYSAVE LLC DBA TERRAVATE BEAU    PO BOX 847189                                                  LOS ANGELES       CA         90084-7189           0990                Various                                                                                         $2,918.50
YAZMIN JUAREZ FLORES              1175 SW MURRAY ST                                              MADRAS            OR         97741                6004                Various                                                                                            $20.00
YAZMIN MARTINEZ                   1156 6TH ST                                                    BELOIT            WI         53511                6004                Various                                                                                            $27.02
YAZMIN ROSAS                      406 W. LINCOLN AVENUE                                          BELVIDERE         IL         61008                6004                Various                                                                                             $3.90
YELITZA CORREA                    305 ASPEN                                                      NORFOLK           NE         68701                6004                Various                                                                                            $29.99
YELL STEEL ENTERPRISE CO INC      1231 E DYER ROAD STE 290                                       SANTA ANA         CA         92705                7848                Various                                                                                       $384,287.16
YELLOW DAISY MURPHY               N4820 KLONDIKE RD                                              MONROE            WI         53566                6002                Various                                                                                             $2.71
YENG SIONG                        615 S 5TH AVE                                                  WAUSAU            WI         54401                6002                Various                                                                                             $5.07
YENGKONG XIONG                    3201 S 11TH ST                                                 SHEBOYGAN         WI         53081                6004                Various                                                                                             $1.00
YENIX FLORES-NAJERA               120 S 1ST ST                                                   ABBOTSFORD        WI         54405                6002                Various                                                                                             $7.73
YENVSTAKWAS DANFORTH              4800 COUNTY ROAD U                                             SEYMOUR           WI         54165                6004                Various                                                                                             $1.00
YER HER                           8608 BITTERSWEET RD                                            WAUSAU            WI         54401                6002                Various                                                                                             $6.14
YER XIONG                         1525 1/2 VIKING AVE                                            HOLMEN            WI         54636                6002                Various                                                                                             $7.37
YER YANG                          1501 TRAILSWAY APT 6                                           MADISON           WI         53704                6004                Various                                                                                             $1.00
YERANIA CASTRO GOMEZ              1816 OAKDALE AVE.                                              GREEN BAY         WI         54302                6004                Various                                                                                            $33.98
YES TO INCORPORATED               PO BOX 845810                                                  LOS ANGELES       CA         90084-5810           8958                Various                                                                                        $11,004.82
YESCO OMAHA, NE. GREATER AREA     11067 W MAPLE ROAD                                             OMAHA             NE         68164                                    12/17/2018                                                                                      $1,581.64
YESENIA JACINTO                   7668 SOUTH 41ST STREET                                         BELLEVUE          NE         68147                 6004               Various                                                                                            $46.00
YESENIA LYKE                      803 8TH AVE SE                                                 ROCHESTER         MN         55904                 6004               Various                                                                                             $6.00
YESENIA OCHOA                     4875 S 61ST ST                                                 OMAHA             NE         68117                 6004               Various                                                                                             $4.00
YESENIA TERCERO RAMOS             1515 EVERGREEN AVE                                             CRETE             NE         68333                 6002               Various                                                                                             $7.53
YESENIA TIDWELL                   PO BOX 1532                                                    MADISON           NE         68748                 6004               Various                                                                                             $4.00
YESSENIA LUCAS JACINTO            1780 ARTHUR DR                                                 CRETE             NE         68333                 6002               Various                                                                                             $2.16
YESSICA GONZALEZ-GONZALEZ         1400 E. 4TH AVE.                                               KENNEWICK         WA         99336                 6004               Various                                                                                             $6.98
YESSICA VILLA                     1604 AMY ST                                                    GREEN BAY         WI         54302                 6004               Various                                                                                            $51.00
YING MOUA                         5509 HERRO LANE                                                MADISON           WI         53716                 6004               Various                                                                                             $1.00
YING VANG                         711 RICHEYS ST                                                 ROTHSCHILD        WI         54474                 6004               Various                                                                                             $2.00
YINGQIANG YUAN                    W8709 PHEASANT RUN                                             HORTONVILLE       WI         54944                 6002               Various                                                                                             $4.27
YISSEL MENDOZA                    4809 SOUTH 4015 WEST                                           TAYLORSVILLE      UT         84118                 6004               Various                                                                                            $17.98
YITONIS NASH                      2221 CARLING DR.                                               MADISON           WI         53711                 6004               Various                                                                                             $4.00
                                                               3970 LINDBERG
YJ USA(IMPORT)                    ATTN ACCOUNTS RECEIVABLE     DRIVE                             ADDISON           TX         75001                  7609              Various                                                                                        $52,388.91
YLAN RICE                         315 S WESTERN ST                                               STUART            IA         50250                  6002              Various                                                                                             $8.08
YLE MONGOLD                       715 S 18TH ST                                                  NEDERLAND         TX         77627                  6002              Various                                                                                             $7.32

YMF CARPET INC                    201B MIDDLESEX CENTER BLVD                                     MONROE TOWNSHIP   NJ         08831                 4575               Various                                                                                        $79,987.06
YNDA PYLES                        PO BOX 314                                                     GRANDIN           MO         63943                 6002               Various                                                                                             $1.59
YOANA ACOSTA                      431 N PEARL ST                                                 JANESVILLE        WI         53548                 6004               Various                                                                                            $24.00
YOKXI GUZMAN                      1019 1/2 GARFIELD                                              BELVIDERE         IL         61008                 6004               Various                                                                                            $11.00
YOLANDA BROOME                    1208 RACINE STREET                                             DELAVAN           WI         53115                 6004               Various                                                                                            $39.00
YOLANDA CABALLERO                 653 S CAMBRIDGE ST                                             WAUTOMA           WI         54982                 6002               Various                                                                                             $2.47
YOLANDA DENHARDT                  304 3RD ST NE APT 203 PMB                                      MASON CITY        IA         50401                 6002               Various                                                                                             $8.08
YOLANDA LECOUNT                   E8712 652 ND AVE                                               ELK MOUND         WI         54739                 6004               Various                                                                                            $39.98
YOLANDA M DANIELS                 3220 LAZELLE ST LOT 136                                        STURGIS           SD         57785                 6002               Various                                                                                             $8.55
YOLANDA SANCHEZ                   323 CRANMOOR RD                                                NEKOOSA           WI         54457                 6002               Various                                                                                             $7.81
YONG HE LEMKE                     7041 E LAKE CREST DR                                           SHAWNO            WI         54166                 6002               Various                                                                                             $2.38
YORK-DAVIS FAMILY                 1401 N HILLVIEW DR                                             SYRACUSE          IN         46567                 6002               Various                                                                                             $6.52
YOSELIN MARTIN                    801 HOGAN DRIVE                                                PAPILLION         NE         68046                 6004               Various                                                                                             $2.00
YOSTIN VILLAFUERTE                940 WHY # 275                                                  WISNER            NE         68791                 6002               Various                                                                                             $6.16
YOUNG BOUNDS                      W7684 TRELLIS RD                                               CRIVITZ           WI         54114                 6002               Various                                                                                             $4.96
YOUNG BUCKS LANDSCAPING LLC       PO BOX 3526                                                    WENATCHEE         WA         98807                 7661               Various                                                                                          $628.72




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               Creditor Name                  Address1                Address2            Address3             City          State         Zip     Country     Number                Claim                                                                             Total Claim
YOUNG FAMILY                      PO BOX 847                                                           ELLISON BAY        WI         54210                 6002                Various                                                                                             $3.51
YOUNG ROH                         2071 RUNINGDEER LANE                                                 FREEPORT           IL         61032                 6002                Various                                                                                             $4.16
YOUNGER OPTICS                    2925 CALIFORNIA STREET                                               TORRANCE           CA         90503-3914            6022                Various                                                                                        $33,920.32
YOUSSEF RAHIM                     111 S LAKE ST                                                        NEENAH             WI         54956                 6004                Various                                                                                             $4.82
YOXANNA LICEA DOMINGUEZ           1012 E 4100 N                                                        BUHL               ID         83316                 6004                Various                                                                                             $3.65
YRON GUSTAVO                      516 10TH ST                                                          SHELDON            IA         51201                 6002                Various                                                                                             $1.89
YUDIT MATOS                       13833 Y CIRCLE                                                       OMAHA              NE         68137                 6004                Various                                                                                             $2.00
YUJING ZHU                        1440 NE MERMAN DR,              UNIT 404                             PULLMAN            WA         99163                 6004                Various                                                                                             $7.01
YUKA TSUBOUC KNUDSON              7585 KING POST LOOP                                                  HELENA             MT         59602                 6002                Various                                                                                             $2.99
YULIA (JULIA TSYMBAL              1810 SAYBROOK LN                                                     LINCOLN            NE         68512                 6002                Various                                                                                             $4.99
YUMA CITY LANDFILL                15738 CO RD 34                                                       ECKLEY             CO         80727                                     Various                                                                                          $616.91

YUMMY EARTH                       9 WEST BROAD STREET SUITE 440                                        STAMFORD           CT         06902                  5289               Various                                                                                         $2,433.94
YUN HOWARD                        3310 N 93RD PLZ                                                      OMAHA              NE         68134                  6004               Various                                                                                             $2.00
YURIDIA TADEO MUNOZ               2123 BARTON AVE #4                                                   WEST BEND          WI         53090                  6004               Various                                                                                             $2.00
YURIDIANA HERNANDEZ               275 ROBBINS AVE APT 1                                                TWIN FALLS         ID         83301                  6004               Various                                                                                            $39.00

                                  LEVEL 33, TOWER 1, KOWLOON      51 KWAI CHEONG                                                                  HONG
YUSEN LOGISTICS                   COMMERCE CENTRE,                ROAD                                 KWAI CHUNG, N.T.                           KONG      6109               Various                                                                                        $15,290.88
YUSEN LOGISTICS (AMERICAS) INC    PO BOX 3480                                                          CORDOVA            TN         38088                  0447               Various                                                                                        $33,751.49
YUSEPH KHAN                       618 DANVILLE DR                                                      LINCOLN            NE         68510                  6002               Various                                                                                             $3.84
YUSSEF DIAZ GARCIA                914 LORENA PKWY                                                      MADISON            WI         53713                  6004               Various                                                                                             $1.00
YVETTE GARCIA                     2816 RICE STREET                                                     STEVENS POINT      WI         54481                  6004               Various                                                                                             $1.00
YVONNA WOLF                       1200 PROSPECT                                                        NORFOLK            NE         68701                  6004               Various                                                                                             $8.00
YVONNE ANGELL-PETERSON            C/O MARK ANGELL                 PO BOX 355                           PARDEEVILLE        WI         53954                  6002               Various                                                                                          $209.19
YVONNE BURT                       1815 CANYON ROAD                                                     SPRINGVILLE        UT         84663                  6004               Various                                                                                            $15.00
YVONNE CLAUSON                    1224 E SYLVAN AVE                                                    APPLETON           WI         54915                  6002               Various                                                                                             $7.56
YVONNE GENSLER                    738 APPLEWOOD DR                                                     KIMBERLY           WI         54136                  6004               Various                                                                                          $117.00
YVONNE GIBSON                     HC 1 BOX 73                                                          GRANDIN            MO         63943                  6002               Various                                                                                             $2.93
YVONNE HALL                       637 E 950TH W # 20                                                   BRIGHAM CITY       UT         84302                  6002               Various                                                                                             $9.29
YVONNE JANSSEN                    40821 ROAD 771                                                       GOTHENBURG         NE         69138                  6002               Various                                                                                             $1.70
YVONNE JENSEN                     150 HOMESTEAD RD                APT 11                               MANKATO            MN         56001                  6004               Various                                                                                             $3.00
YVONNE KRAUSE                     340 E STATE ST                                                       IOLA               WI         54945                  6002               Various                                                                                             $5.86
YVONNE KRELLWITZ                  123 SUNNYSIDE EST                                                    ISHPEMING          MI         49849                  6002               Various                                                                                             $1.04
YVONNE MILLAR                     1320 JEROME ST                                                       LANSING            MI         48912                  6002               Various                                                                                             $4.03
YVONNE R HURST                    BOX 37                                                               YODER              WY         82244                  6002               Various                                                                                             $6.16
YVONNE RAE                        PO BOX 892                                                           MOUNTAIN VIEW      WY         82939                  6002               Various                                                                                             $1.66
YVONNE RAY                        1132 MINUTE MAN ST.                                                  BILLINGS           MT         59105                  6004               Various                                                                                             $5.00
YVONNE ROBERTSON                  243 N. PARK STREET                                                   WHITEWATER         WI         53190                  6004               Various                                                                                             $2.00
YVONNE ROSELLE                    N1746 SHORE DRIVE                                                    MARINETTE          WI         54143                  6004               Various                                                                                            $36.78
YVONNE SMITH                      5426 JAYNES ST                                                       OMAHA              NE         68104                  6004               Various                                                                                             $2.00
YVONNE STEWARD                    1201 W 4TH AVE                                                       MITCHELL           SD         57301                  6002               Various                                                                                             $0.96
YVONNE TOWNSELL                   4534 JAYNES ST                                                       OMAHA              NE         68104                  6004               Various                                                                                             $4.00
YVONNE VERKUILEN                  10301 STATE HWY 64                                                   BLOOMER            WI         54724                  6004               Various                                                                                            $46.00
ZAC BASS                          9300 S REDWOOD RD APT 305                                            WEST JORDAN        UT         84088                  6002               Various                                                                                             $7.07
ZACH HAWKINS                      1731 BUTTE AVE                                                       HELENA             MT         59601                  6004               Various                                                                                             $7.00
ZACH JENSEN                       6085 REDWOOD LANE                                                    WEST JORDAN        UT         84088                  6004               Various                                                                                            $23.00
ZACH MAEL                         702 CHRISTENSEN WAY                                                  STOUGHTON          WI         53589                  6004               Various                                                                                             $5.40
ZACH MORTON                       235 9TH AVE PO BOX # 465                                             AFTON              WY         83110                  6002               Various                                                                                             $7.21
ZACH NIMZ                         412 N 1ST AVE                                                        WAUSAU             WI         54401                  6004               Various                                                                                             $3.20
ZACHARIAH BUFF                    444 LOUDENS LNDG                                                     KALISPELL          MT         59901                  6004               Various                                                                                            $28.00
ZACHARIAH MONTGOMERY              14410 MCAULEY RD.                                                    YAKIMA             WA         98908                  6004               Various                                                                                            $12.00
ZACHARIAS SWAN                    659 SPARKS ST N                                                      TWIN FALLS         ID         83301                  6004               Various                                                                                             $3.65
ZACHARY AARO AHNEFELD             1114 ROSE ST                                                         LA CROSSE          WI         54603                  6002               Various                                                                                             $7.18




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                                                                          Schedule E/F: Part 2 - Creditors With Nonpriority Unsecured Claims




                                                                                                                                                                                                                                    Claim subject to offset?
                                                                                                                                                                                                          Unliquidated
                                                                                                                                                                                             Contingent


                                                                                                                                                                                                                         Disputed
                                                                                                                                                    Last 4 Digits of     Date Debt was
                                                                                                                                                       Account         Incurred, Basis for
             Creditor Name               Address1                Address2         Address3            City           State           Zip   Country     Number                Claim                                                                             Total Claim
ZACHARY AEBLY                 1303 4TH AVE SE                                                  ROCHESTER          MN         55904                 6002                Various                                                                                                $3.64
ZACHARY ALLEN                 320 BROOKS ST                                                    MISSOULA           MT         59802                 6004                Various                                                                                                $1.02
ZACHARY AMBROSE               1718 PRESQUE ISLE AVE                                            MARQUETTE          MI         49855                 6002                Various                                                                                                $7.56
ZACHARY BIRKHOLZ              821 CRABTREE LN                                                  RACINE             WI         53406                 6004                Various                                                                                                $6.90

ZACHARY BRUBAKER              697 TOMS CANYON COUNTY RD #                                      AUBURN             WY         83111                  6002               Various                                                                                                $6.11
ZACHARY CATON                 2736 W 9100TH S                                                  WEST JORDAN        UT         84084                  6002               Various                                                                                                $2.47
ZACHARY CHAPMAN               4935 OLDPOST RD             APT58                                OGDEN              UT         84403                  6004               Various                                                                                               $26.00
ZACHARY CRAVILLION            1013 NORTH STATE ST                                              APPLETON           WI         54911                  6004               Various                                                                                               $10.00

ZACHARY D PEREZ               1141 N OLD WORLD 3RD ST #160                                     MILWAUKEE          WI         53203                  6002               Various                                                                                                $0.82
ZACHARY DADY                  1143 N B ST                                                      BROKEN BOW         NE         68822                  6002               Various                                                                                                $0.60
ZACHARY EDMISON               1933 BIRCH COURT                                                 LEWISTON           ID         83501                  6004               Various                                                                                               $11.02
ZACHARY FENNELL               130 MAIN ST                                                      BLOOMING PRAIRIE   MN         55917                  6004               Various                                                                                                $3.06
ZACHARY HALLER                3196 SHADY LN                                                    GREEN BAY          WI         54313                  6002               Various                                                                                                $1.37
ZACHARY HART                  1227 PUTNAM AVE                                                  JANESVILLE         WI         53546                  6002               Various                                                                                                $7.67
ZACHARY HAXBY                 400 RUBY AVENUE                                                  EUGENE             OR         97404                  6004               Various                                                                                               $30.00
ZACHARY HOLSCHBACH            2533 42ND ST                                                     TWO RIVERS         WI         54220                  6004               Various                                                                                               $13.00
ZACHARY HOOF                  1910 MADERA STREET                                               WAUKESHA           WI         53189                  6004               Various                                                                                                $5.60
ZACHARY HUBBARD               736 W. CLEAR CREEK RD.                                           NIBLEY             UT         84321                  6004               Various                                                                                                $1.99
ZACHARY INGLETT               116 ALTON                                                        FAIRMONT           MN         56031                  6004               Various                                                                                                $6.00
ZACHARY KAUTEN                S1301 COUNTY ROAD F                                              ALMA               WI         54610                  6004               Various                                                                                                $3.00
ZACHARY KERN                  1015 FALLSCREEK DRIVE                                            COLUMBUS           MT         59019                  6004               Various                                                                                               $10.00
ZACHARY KOCH                  BOX 22                                                           SPRING VALLEY      MN         55975                  6004               Various                                                                                                $3.00
ZACHARY KUSKIE                1188 TILKENS ST                                                  GREEN BAY          WI         54304                  6004               Various                                                                                                $4.00
ZACHARY LEE LARA              814 TYLER AVE                                                    WAUSAUKEE          WI         54177                  6002               Various                                                                                                $2.79

ZACHARY LOWELL                3020 LARSON AVE                                                  WISCONSIN RAPIDS   WI         54494                  6004               Various                                                                                               $52.00
ZACHARY LUNSFORD              3350 ORCHARD ST                                                  LINCOLN            NE         68503                  6002               Various                                                                                                $3.26
ZACHARY MCFARLIN              601 NEYMAN ST                                                    SALMON             ID         83467                  6002               Various                                                                                                $4.79
ZACHARY MEURER                1000 W 2520 S                                                    PERRY              UT         84302                  6004               Various                                                                                               $30.00
ZACHARY MOORE                 2648 LAVENDER LN               APT 8                             GREEN BAY          WI         54313                  6004               Various                                                                                                $5.54
ZACHARY MOYER                 301 MEADOWS DR                                                   ORANGEVILLE        IL         61060                  6004               Various                                                                                               $10.00
ZACHARY NIMZ                  412 N 1ST AVE                                                    WAUSAU             WI         54401                  6004               Various                                                                                                $2.80
ZACHARY PIPER                 W 168 COUNTY RD E                                                OCONTO FALLS       WI         54154                  6004               Various                                                                                               $15.00
ZACHARY PIRE                  1022 W JOHNSON ST APT 412                                        MADISON            WI         53715                  6002               Various                                                                                                $7.84
ZACHARY PLAMANN               2084 PRAIRIE MEADOW DRIVE                                        MOSINEE            WI         54455                  6004               Various                                                                                               $16.00
ZACHARY PREVETT               1636 LINDALE LANE                                                GREEN BAY          WI         54313                  6004               Various                                                                                                $3.00
ZACHARY RASE                  408 LAWRENCE AVE                                                 ROTHSCHILD         WI         54474                  6002               Various                                                                                                $6.88
ZACHARY RASTALL               3833 IRVING ST                                                   MARINETTE          WI         54143                  6004               Various                                                                                               $21.96
ZACHARY REDDELL               312 LANCE LN                                                     MADISON            WI         53716                  6004               Various                                                                                                $5.40
ZACHARY ROBBINS               2081 QUAIL AVE                                                   CHARLES CITY       IA         50616                  6002               Various                                                                                               $10.00
ZACHARY SCHMIDT               316 S DAHL AVE                                                   ROSHOLT            SD         57260                  6002               Various                                                                                                $1.23
ZACHARY SCHOLL                410 E SESAME ST                                                  GARNER             IA         50438                  6004               Various                                                                                                $1.00
ZACHARY SCHULTZ               119 JEAN ST                                                      COMBINED LOCKS     WI         54113                  6002               Various                                                                                                $8.63
ZACHARY SMITH                 21504 HAWLEY RD                                                  GLENWOOD           IA         51534                  6002               Various                                                                                                $0.99
ZACHARY STANKOWSKI            2412 76TH AVE                                                    WAUSAU             WI         54401                  6004               Various                                                                                               $55.00
ZACHARY STEINER               405 N 5TH AVE                                                    ALBANY             WI         53502                  6004               Various                                                                                                $3.00
ZACHARY SUMMERS               1320 SO 163 ST                                                   OMAHA              NE         68130                  6004               Various                                                                                               $25.00
ZACHARY SWARTHOUT             153 CIRCLE DR                                                    SIBLEY             IA         51249                  6004               Various                                                                                               $16.00
ZACHARY TAYLOR                502 N FISHER STREET                                              KENNEWICK          WA         99336                  6004               Various                                                                                               $10.02
ZACHARY TERHARK               1204 MILTON AVE                                                  WORTHINGTON        MN         56187                  6004               Various                                                                                                $3.00

ZACHARY THUNDER               1410 N 88TH AVE                %DAVID THUNDER                    WAUSAU             WI         54401                   6004              Various                                                                                               $15.00




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                                                                             Schedule E/F: Part 2 - Creditors With Nonpriority Unsecured Claims




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                                                                                                                                                                                             Contingent


                                                                                                                                                                                                                         Disputed
                                                                                                                                                    Last 4 Digits of     Date Debt was
                                                                                                                                                       Account         Incurred, Basis for
              Creditor Name                   Address1             Address2          Address3             City       State           Zip   Country     Number                Claim                                                                             Total Claim
ZACHARY TIDD                      3195 SHADY OAK LN                                               VERONA          WI         53593                 6004                Various                                                                                               $20.00
ZACHARY UTLEY                     1034 S VINE                                                     GRAND ISLAND    NE         68803                 6004                Various                                                                                               $12.99
ZACHARY VICE                      PO BOX 182                                                      BROWNVILLE      NE         68321                 6002                Various                                                                                                $3.04
ZACHARY WILLIAMS                  409 CAROLINE ST                                                 PLYMOUTH        WI         53073                 6004                Various                                                                                               $15.00
ZACHARY WILSON                    600 N PROSPECT ST                                               MERRILL         WI         54452                 6004                Various                                                                                                $9.49
ZACHARY ZEIHEN                    1963 SWAN RD                                                    DE PERE         WI         54115                 6002                Various                                                                                                $2.41
ZACHIARY CROUCH                   105 DAVID DR                                                    STURGIS         SD         57785                 6002                Various                                                                                                $4.68
ZACHORY BONNETT                   2525 W 450TH N APT 4                                            TREMONTON       UT         84337                 6002                Various                                                                                                $5.53
ZACK LASCANO                      1106 COLORADO ST                                                RAWLINS         WY         82301                 6002                Various                                                                                               $10.00
ZACK MILLER                       121 W MAIN                  PO BOX 151                          LE ROY          MN         55951                 6004                Various                                                                                               $23.00
ZACK WEGNER                       N8220 COUNTY D                                                  WATERTOWN       WI         53094                 6004                Various                                                                                               $50.00
ZACK ZELENY                       411 FLETCHER AVENUE                                             LINCOLN         NE         68521                 6004                Various                                                                                               $30.98
ZACKARY JAWORSKI                  N2157 HALE                                                      PESHTIGO        WI         54157                 6004                Various                                                                                                $1.00
ZACKARY LOSSETT                   520 CTY R W                                                     PESHTIGO        WI         54157                 6004                Various                                                                                                $3.00
ZACKARY MYERS                     1039 W 3RD ST               APT C                               DIXON           IL         61021                 6004                Various                                                                                               $11.99
ZACKARY NILES                     3700 S WILLOW AVE APT 103                                       SIOUX FALLS     SD         67105                 6002                Various                                                                                                $7.18
ZADINA FAMILY                     1103 17TH AVE                                                   PLATTSMOUTH     NE         68048                 6002                Various                                                                                                $7.40
ZAFFIRO REYES                     332 18TH ST                                                     OGDEN           UT         84401                 6002                Various                                                                                                $3.23
ZAHARA BENDER                     514 N WESTMOUNT             #1                                  SUN PRAIRIE     WI         53590                 6004                Various                                                                                                $3.00
                                  170 N WASHINGTON BLVD APT
ZAHIDA KHAN                       10                                                              OGDEN           UT         84404                  6002               Various                                                                                             $5.64
ZAHRA AHMED                       415 33RD AVE N APT 301                                          SAINT CLOUD     MN         56303                  6004               Various                                                                                             $4.86
ZAHRA MALEKYAR                    16537 WEIR ST                                                   OMAHA           NE         68135                  6004               Various                                                                                             $2.00
ZAHRAH MICALE                     475 GROVE ST NE                                                 SALEM           OR         97301                  6004               Various                                                                                            $10.00
ZAID HERNANDEZ                    1740 WEBSTER AVE APT 19                                         GREEN BAY       WI         54303                  6004               Various                                                                                             $2.00
ZAIDA CASTILLO                    3510 EVERGREEN DR           APT 3                               PLOVER          WI         54467                  6004               Various                                                                                             $3.00
ZAIN ZARATE                       89032 OAKLAND AVE                                               OAKLAND         MN         56007                  6004               Various                                                                                             $6.00
ZAINA MATEMBO                     509 S GLENDALE AVE                                              SIOUX FALLS     SD         57104                  6004               Various                                                                                             $6.00
ZAINAB FAROOQ                     1622 FORDEM AVE APT 105                                         MADISON         WI         53704                  6004               Various                                                                                            $25.00
ZAINAB OZIER                      2846 R STREET                                                   LINCOLN         NE         68503                  6004               Various                                                                                             $2.00
ZAK DESIGNS INCORPORATED          PO BOX 19188                                                    SPOKANE         WA         99219-9188             5581               Various                                                                                        $22,834.11
ZAKARY LAMKE                      N1087 CY RD L 4                                                 WATERTOWN       WI         53098                  6004               Various                                                                                            $20.00
ZALLY DOMINGUEZ                   612 E. EMPIRE                                                   FREEPORT        IL         61032                  6004               Various                                                                                             $8.69
ZAM CING                          6936 CHANDON DR                                                 LINCOLN         NE         68526                  6002               Various                                                                                             $7.37
ZAMIRA ATAHANOVA                  1225 SUMMIT AVE APT 105                                         OSHKOSH         WI         54901                  6002               Various                                                                                            $10.00
ZANDER CARRATT                    1737 JACKSON STREET                                             BELOIT          WI         53511                  6004               Various                                                                                             $3.00
ZANE ANTOS                        PO BOX 291                                                      ST REGIS        MT         59866                  6004               Various                                                                                            $16.00
ZANE DUFFY                        435 ELM LANE                                                    SEYMOUR         WI         54165                  6004               Various                                                                                            $25.00
ZARBEES INC DBZ ZARBEES NATURA    PO BOX 310682                                                   DES MOINES      IA         50331-0682             2206               Various                                                                                        $24,933.95
ZARETA KOTTAS                     721 S BELL AVE                                                  LYONS           KS         67554                  6002               Various                                                                                             $4.60
ZASTROW BEER MAN INCORPORATED     3300 THIELMAN STREET                                            MERRILL         WI         54452                  6509               Various                                                                                         $1,889.82
ZAYNE ANCHUSTEGUI                 10148 IDYLWOOD DR                                               BOISE           ID         83709                  6004               Various                                                                                            $27.00
ZBIGNIEW OKSA                     N3259 CATLIN AVE                                                GRANTON         WI         54436                  6002               Various                                                                                             $3.42
ZEAK HARTLEY                      246 E EVERGREEN DR                                              KALISPELL       MT         59901                  6002               Various                                                                                             $4.60
ZEAL FAMILY                       1509 WALNUT ST                                                  YANKTON         SD         57078                  6002               Various                                                                                             $1.51
ZEBCO SALES COMPANY LLC           JP MORGAN CHASE             PO BOX 70693                        CHICAGO         IL         60673-0000             6907               Various                                                                                         $9,105.51
ZEBRA PEN CORPORATION             242 RARITAN CENTER PKWY                                         EDISON          NJ         08837-0000             8520               Various                                                                                         $3,219.38
ZEBULON WHITENER                  200 NW AVE M APT 227                                            ANDREWS         TX         79714                  6002               Various                                                                                             $6.79
ZEHREN FAMILY                     59 WILSON ST                                                    CLINTONVILLE    WI         54929                  6002               Various                                                                                             $1.04
ZEINAB MUHUMED                    2927 MAINE PRAIRIE RD       APT 209                             SAINT CLOUD     MN         56301                  6004               Various                                                                                             $3.00
ZEKE T DOUGHERTY                  290 W 3RD ST                                                    NELSON          NE         68961                  6002               Various                                                                                             $4.99
ZELLAR SANITATION                 415 CHIPPEWA AVENUE                                             MANISTIQUE      MI         49854                                     Various                                                                                         $1,283.00
ZENAIDA STEVENS                   14518 WEBSTER CIR                                               OMAHA           NE         68154                   6002              Various                                                                                            $10.00
ZENITH PRODUCTS                   PO BOX 12468                                                    NEWARK          NJ         07101-3568              1120              Various                                                                                          $847.32




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                                                                              Schedule E/F: Part 2 - Creditors With Nonpriority Unsecured Claims




                                                                                                                                                                                                                                           Claim subject to offset?
                                                                                                                                                                                                                 Unliquidated
                                                                                                                                                                                                    Contingent


                                                                                                                                                                                                                                Disputed
                                                                                                                                                           Last 4 Digits of     Date Debt was
                                                                                                                                                              Account         Incurred, Basis for
               Creditor Name                Address1                  Address2        Address3            City            State           Zip    Country      Number                Claim                                                                             Total Claim
                                                                 500 WEST 200
ZERO MFG INC                      ACCOUNTS PAYABLE               NORTH                             NORTH SALT LAKE   UT           84054                    6004               Various                                                                                           $300.00

ZERO TECHNOLOGIES LLC             REPUBLIC BUSINESS CREDIT LLC   PO BOX 203152                     DALLAS            TX           75320-3152               2825               Various                                                                                         $9,782.64
ZERRICK JAMES                     505 1/2 MAIN ST N                                                STEWARTVILLE      MN           55976                    6002               Various                                                                                             $8.41
ZETH PETERS                       407 HILLCREST DR                                                 PLATTSMOUTH       NE           68048                    6002               Various                                                                                             $3.32
ZEWDITU TOLLA                     4609 E 3RD ST #26                                                SIOUX FALLS       SD           57103                    6004               Various                                                                                             $2.00
ZHANGUSA INVESTMENTS LLC          DBA ZIMART KERMIT LLC          PO BOX 23642                      WACO              TX           76702-3642               6196               Various                                                                                         $5,000.00
ZHANNA CHITTICK                   343 CENTRAL ST                                                   MOHAWK            MI           49913                    6002               Various                                                                                             $9.01

                                  NO.1-1 WEST SIDE OF NEW        LINPU TOWN,
ZHEJIANG MULTI GLORY HOME         BRIDGE                         XIAOSHAN DISTRICT                 HANGZHOU          ZHEJIANG                   CHINA      4200               Various                                                                                    $1,497,054.22
ZIAH TAYLOR                       1425 FIELD STREAM # 1103                                         TWIN FALLS        ID           83301                    6004               Various                                                                                            $3.65
ZIANNA RODRIGUEZ                  303 W BUTTERNUT ST                                               ABBOTSFORD        WI           54405                    6002               Various                                                                                            $6.25
ZIERA BARRIOS                     116 N OWEN AVE.                                                  PASCO             WA           99301                    6004               Various                                                                                            $2.00
ZIMCO OPTICS INC                  3060 AVENUE U                                                    BROOKLYN          NY           11229                    8662               Various                                                                                           $16.53
ZIMRIJE ALIMI                     6037 COUNTY ROAD K                                               AMHERST           WI           54406                    6002               Various                                                                                            $7.53
ZINNIA SHEARS                     815 1/2 LOGAN ST                                                 WAYNE             NE           68787                    6002               Various                                                                                            $8.66
ZION FRENCH                       1201 BARTELT CRT                                                 APPLETON          WI           54911                    6004               Various                                                                                            $3.00
ZION RED STAR                     26 S LEWIS AVE.                                                  HARDIN            MT           59034                    6004               Various                                                                                         $149.99
ZITZLOFF SNOW PLOWING LLC & LA    1209 6TH STREET                PO BOX 684                        HOWARD LAKE       MN           55349                    2375               Various                                                                                        $2,840.08
ZOE ANECA                         1653 LAKE BLAINE RD                                              KALISPELL         MT           59901                    6002               Various                                                                                            $5.75
ZOE BRINTON                       5770 S ROME BEAUTY PARK                                          MURRAY            UT           84123                    6002               Various                                                                                            $4.66
ZOE CORBINE                       15939 WEST 3RD ST                                                HAYWARD           WI           54843                    6004               Various                                                                                            $1.00
ZOE MONSEN                        31 N PARADISE DR                                                 OREM              UT           84097                    6002               Various                                                                                           $10.00
ZOE NORTHWAY                      1258 WIESE STREET                                                GREEN BAY         WI           54302                    6004               Various                                                                                            $2.00
ZOE NYHOFF                        1540 JUNIPER AVE                                                 CRETE             NE           68333                    6002               Various                                                                                            $9.40
ZOE REINEKE                       3009 S 74TH ST                                                   OMAHA             NE           68124                    6002               Various                                                                                            $9.18
ZOE RIOS                          1304 CASCADE ST NW                                               ROCHESTER         MN           55901                    6002               Various                                                                                            $5.01
ZOE WRIGHT                        181 E RIVER DR                                                   DE PERE           WI           54115                    6002               Various                                                                                           $10.00
ZOE-CHRISTA THOMPSON              P.O. BOX Z22                                                     PEWAUKEE          WI           53072                    6004               Various                                                                                            $1.00
ZOEY MARTINEZ                     N4808 STATE HWY 22-110                                           MANAWA            WI           54949                    6004               Various                                                                                           $15.00
ZOEY SCOTT                        332 HUDSON AVE A                                                 OSHKOSH           WI           54901                    6004               Various                                                                                            $3.00
ZOEY WARZYN                       616 E RANDALL ST                                                 APPLETON          WI           54911                    6002               Various                                                                                            $1.40
ZOEY WOOD                         W6586 MAPLE ST.                                                  BAY CITY          WI           54723                    6004               Various                                                                                            $1.00
ZOHMAH MCKENZIE                   4703 HICKORY LN                                                  WEST BEND         WI           53095                    6002               Various                                                                                            $3.67
ZOIE HOFLAND                      281 CASWELL AVE W SPC D                                          TWIN FALLS        ID           83301                    6004               Various                                                                                            $3.65
ZONA BUTTERFIELD                  2009 LOOMIS ST                                                   LA CROSSE         WI           54603                    6002               Various                                                                                            $5.75
ZORAN KOVACICH                    750 S 400TH E # 40                                               BRIGHAM CITY      UT           84302                    6002               Various                                                                                            $9.92
ZORY HAMBLIN                      605 WASHINGTON STREET                                            FAYETTE           IA           52142                    6004               Various                                                                                            $3.00
ZOUA HER                          218 EUGENE COURT                                                 KIMBERLY          WI           54136                    6002               Various                                                                                            $1.42
ZSOLT CZINCZKY                    232 PRENTICE STREET                                              STEVENS POINT     WI           54481                    6004               Various                                                                                           $40.00
ZULEM PENA-RODRIGUEZ              300 LOGAN ST                                                     WEST POINT        NE           68788                    6002               Various                                                                                            $9.89
ZULEMA ESPARZA                    2620 W HIGHWAY 13                                                BRIGHAM CITY      UT           84302                    6002               Various                                                                                            $1.01
ZWILLING J A HENKELS LLC          270 MARBLE AVENUE                                                PLEASANTVILLE     NY           10570-0000               8083               Various                                                                                         $185.10
                                                                                                                                                                                                TOTAL:                                                                 $241,818,409.82




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 Debtor name         6KRS.R6WRUHV2SHUDWLQJ&R//&

 United States Bankruptcy Court for the:            DISTRICT OF NEBRASKA

 Case number (if known)         
                                                                                                                                  Check if this is an
                                                                                                                                   amended filing


Official Form 206G
6FKHGXOH*([HFXWRU\&RQWUDFWVDQG8QH[SLUHG/HDVHV                                                                                               
%HDVFRPSOHWHDQGDFFXUDWHDVSRVVLEOH,IPRUHVSDFHLVQHHGHGFRS\DQGDWWDFKWKHDGGLWLRQDOSDJHQXPEHUWKHHQWULHVFRQVHFXWLYHO\

1.    'RHVWKHGHEWRUKDYHDQ\H[HFXWRU\FRQWUDFWVRUXQH[SLUHGOHDVHV"
       No. Check this box and file this form with the debtor's other schedules.   There is nothing else to report on this form.
       Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal            Property
(Official Form 206A/B).

 /LVWDOOFRQWUDFWVDQGXQH[SLUHGOHDVHV                                    6WDWHWKHQDPHDQGPDLOLQJDGGUHVVIRUDOORWKHUSDUWLHVZLWK
                                                                               ZKRPWKHGHEWRUKDVDQH[HFXWRU\FRQWUDFWRUXQH[SLUHG
                                                                               OHDVH

 2.1.        State what the contract or
             lease is for and the nature of
             the debtor's interest

                  State the term remaining

             List the contract number of any                                        6HH$WWDFKHG6FKHGXOH*
                   government contract




Official Form 206G                               6FKHGXOH*([HFXWRU\&RQWUDFWVDQG8QH[SLUHG/HDVHV                                            Page 1 of 1
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                                           Case 19-80075-TLS                     Doc 9 FiledIn02/22/19
                                                                                                   re ShopKo Stores OperatingEntered
                                                                                                                              Co., LLC        02/22/19 18:08:20                                 Desc Main
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                                                                                                                                       of
                                                                                         Schedule G: Executory Contracts and Unexpired Leases
                                                                                                                                             1015

                                                                                                                                                   Description of Contract or
                                                                                                                                                     Lease and Nature of        Date of Contract or                              List Contract Number of Any
             Contract Counterparty                      Address1               Address2              City        State   Postal Code    Country        Debtor's Interest              Lease              Remaining Term              Government Contract
                                            40 Skokie Blvd Suite 610
The Birds of ShopKo                         Northbrook                                    Northbrook        IL           60062                    Lease                                 10/15/1999                10/31/2020
                                            300 SOUTH RIVERSIDE PLAZA
02COOL LLC                                  SUITE 2300                                    CHICAGO           IL           60606                    Vendor Terms Agreement
                                                                                                                                                  Enterprise Analytics
1010Data                                    750 Third Avenue, 4th floor                   New York          NY           10017                    Platform                                7/1/2016                  7/1/2019
1011 North Wisconsin Street Owner LLC       1065 2nd Ave #14C                             New York          NY           10022                    Lease                                 12/15/2014                 5/31/2026

1011 North Wisconsin Street Owner LLC       1011 N WISCONSIN STREET                       PORT WASHINGTON WI             53074                    Operating Lease                       12/15/2014                 5/31/2026                N/A
                                            1702 Halsted Street Chicago IL
1515 E. Main St., LLC/Rick Callahan         60608                                         Chicago           IL           60608                    Lease                                  3/14/1996                 4/30/2026
1515 E. Main St., LLC/Rick Callahan         1515 E. MAIN STREET                           REEDSBURG         WI           53959                    Operating Lease                        3/14/1996                 4/30/2026                N/A
1ST AVENUE SELF STORAGE, LLC                P.O. Box L Rancho                             Santa Fe          CA           92067                    Lease                                 11/17/2015                 5/31/2026
1ST AVENUE SELF STORAGE, LLC                747 SOUTH MAIN                                BRIGHAM CITY      UT           84302                    Operating Lease                       11/17/2015                12/31/2021                N/A
2585 Lineville Green Bay LLC                25 Glen Cove Ave                              Glen Cove         NY           11542                    Lease                                 12/15/2014                 5/31/2026
2585 Lineville Green Bay LLC                2585 LINEVILLE ROAD                           GREEN BAY         WI           54313                    Operating Lease                       12/15/2014                 5/31/2026                N/A

2DF No.2, L.C. & ORBIT 1, LLC               402 Canyon Oaks Way Salt Lake                 Salt Lake CIty    UT           84103                    Lease                                 12/15/2014                 5/31/2026
2DF No.2, L.C. & ORBIT 1, LLC               1150 NORTH MAIN                               LAYTON            UT           84041                    Operating Lease                       12/15/2014                 5/31/2026                N/A
2J Investment Group, LLC                    763 2nd Street Suite # 100                    Encinitas         CA           92024                    Lease                                  3/22/2007                 1/31/2023
2J Investment Group, LLC                    1712 SD HWY 10                                SISSETON          SD           57262                    Operating Lease                        3/22/2007                12/31/2022                N/A
                                                                                                                                                  3E SDS Online & Call-In
3E Company Environmental, Ecological and                                                                                                          Services. Houser of Safety                           Auto renew on one (1)
Engineering, DBA Verisk 3E                  3207 Grey Hawn Court, Suite 200               Carlsbad          CA           92010                    Data Sheets.                             5/1/2002              year terms
                                                                                                                                                  3E SDS Online & Call-In
                                                                                                                                                  Services. Houser of Safety                           Renews every year via
3E Company Environmental, Ecological and                                                                                                          Data Sheets. New Silver                              amendment to master
Engineering, DBA Verisk 3E                  3207 Grey Hawn Court, Suite 200               Carlsbad          CA           92010                    Program.                                 5/1/2011             agreement
                                                                                                                                                  3E SDS Online & Call-In
3E Company Environmental, Ecological and                                                                                                          Services. Houser of Safety                           Auto renew on one (1)
Engineering, DBA Verisk 3E                  3207 Grey Hawn Court, Suite 200               Carlsbad          CA           92010                    Data Sheets.                             5/1/2002              year terms
                                                                                                                                                  3E SDS Online & Call-In
                                                                                                                                                  Services. Houser of Safety                           Renews every year via
3E Company Environmental, Ecological and                                                                                                          Data Sheets. New Silver                              amendment to master
Engineering, DBA Verisk 3E                  3207 Grey Hawn Court, Suite 200               Carlsbad          CA           92010                    Program.                                5/1/2011               agreement
41st & Kiwanis Properties                   2812 W 41st Street                            SIOUX FALLS       SD           57105                    Operating Lease                        1/15/2019               1/14/2026                  N/A
4CZECHS, LLC                                6538 Stonington Drive South                   Tampa             FL           33647                    Lease                                   8/3/2007               2/28/2023
4CZECHS, LLC                                416 U.S. HIGHWAY 59                           MAHNOMEN          MN           56557                    Operating Lease                         8/3/2007               2/28/2023                  N/A
7401 MINERAL POINT RD OWNER LLC             220 E 42nd Street 29th Floor                  New York          NY           10017                    Lease                                 12/23/2015              12/31/2038
7401 MINERAL POINT RD OWNER LLC             7401 MINERAL POINT RD.                        MADISON           WI           53717                    Operating Lease                       12/23/2015              12/31/2038                  N/A
                                                                                                                                                  Checkstand Cooler Funding
7-UP/Dr. Pepper                             3131 Phillips Ave                             Racine            WI           53403                    Agreement                               7/15/2018                7/13/2019
8372683 CANADA INC                          7250 TRANSCANADA                              ST LAURANT        QC           H4T 1A3       Canada     Vendor Terms Agreement
                                            c/o Three East 3rd Street Corp 6
905 South 24th Street West Owner LLC        W 18th Street Unit 2D                         New York          NY           10011                    Lease                                 12/15/2014                12/31/2035
905 South 24th Street West Owner LLC        905 SOUTH 24 WEST                             BILLINGS          MT           59102                    Operating Lease                       12/15/2014                12/31/2035                N/A
                                                                                          RANCHO
A & B HOME GROUP INCORPORATED               9520 SANTA ANITA AVENUE                       CUCAMONGA         CA           91730                    Vendor Terms Agreement
A B M CANADA INCORPORATED                   205 MARKET DRIVE                              MILTON            ON           L9T 4Z7       Canada     Vendor Terms Agreement
                                                                                                                         10001-
A D SUTTON & SONS INCORPORATED              20 W 33RD STREET FLOOR 2                      NEW YORK          NY           3305                     Vendor Terms Agreement
A H SCHREIBER COMPANY INCORPORAT            460 W 34TH 10TH FLOOR                         NEW YORK          NY           10001                    Vendor Terms Agreement
                                            N21W23560 RIDGEVIEW PKWY
A L SCHUTZMAN COMPANY                       WEST                                          WAUKESHA          WI           53188                    Vendor Terms Agreement
A W FABER CASTELL USA INC                   9450 ALLEN DRIVE                              VALLEY VIEW       OH           44125                    Vendor Terms Agreement
                                                                                                                                                  Optical Positioning and new                         50% of phase 1 & 2, and
A2Z Design                                  103 W. College Avenue                         Appleton          WI           54911                    brand development                       9/17/2018         all of phase 3 & 4
AA FASHIONS INC                             2741 S ALAMEDA ST                             LOS ANGELES       CA           90058                    Vendor Terms Agreement
AAA PHARMACEUTICAL INCORPORATED             681 MAIN STREET                               LUMBERTON         NJ           08048                    Vendor Terms Agreement
                                                                                                                         29325-
AARON INDUSTRIES INCORPORATED               PO BOX 305                                    CLINTON           SC           0000                     Vendor Terms Agreement
Aaron's Land Care                           1126 Garfield Ave                             Beloit            WI           53511                    Lawn Care ST026




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                                                                                                                                         Description of Contract or
                                                                                                                                           Lease and Nature of        Date of Contract or                            List Contract Number of Any
                Contract Counterparty                Address1          Address2             City        State   Postal Code   Country        Debtor's Interest              Lease             Remaining Term             Government Contract

                                                                                                                                        Med B Rebates For Diabetic
Abbott Diabetes Sales Care Corp          1420 Harbor Bay Parkway                  Alameda          CA           94502                   Testing Strips And Meters               3/28/2014
ABBOTT NUTRITION                         PO BOX 18065                             COLUMBUS         OH           18065                   Vendor Terms Agreement
ABC S OF DECOR INCORPORATED              59 DAVIS AVENUE                          NORWOOD          MA           02062                   Vendor Terms Agreement
ABG ACCESSORIES INC DIV ELEGANT          1000 JEFFERSON AVENUE                    ELIZABETH        NJ           07201                   Vendor Terms Agreement
ABIMAR FOODS INC                         5425 NORTH 1ST STREET                    ABILENE          TX           79603                   Vendor Terms Agreement
                                                                                                                                        Software License
Abinitio Inc.                            201 Spring St.                           Lexington        MA           02421                   Agreement - 03/31/1997                  3/31/1997
                                                                                                                                        First Amendment
                                                                                                                                        09/23/2010 - CPU to
Abinitio Inc.                            201 Spring St.                           Lexington        MA           02421                   Specint                                                        3/30/2019
                                                                                                                                        Software maintenance
Abinitio Inc.                            201 Spring St.                           Lexington        MA           02421                   11/12/2018                                                     3/30/2019
ABSOLUTE EYEWEAR SOLUTIONS LLC           201 CORPORATE COURT                      SENATOBIA        MS           38668                   Vendor Terms Agreement
                                                                                                                                        outsourcing planogram, sku
Accenture LLP                            161 N Clark St                           Chicago          IL           60601                   set up, ad signs
ACCESS TWO COMMUNICATIONS                225 TECHNOLOGY WAY                       STUEBENVILLE     OH           43952                   Vendor Terms Agreement
ACCESSORIES DIRECT INTL USA              525 7TH AVENUE STE 1204                  NEW YORK         NY           10018                   Vendor Terms Agreement
ACCESSORY EXCHANGE LLC                   1 EAST 33RD STREET 6TH FL                NEW YORK         NY           10016                   Vendor Terms Agreement
ACCESSORY INNOVATIONS L L C              34 W 33RD STREET SUITE 600               NEW YORK         NY           10001                   Vendor Terms Agreement
ACCESSORY NETWORK GROUP                  350 5TH AVENUE 4TH FLOOR                 NEW YORK         NY           10118                   Vendor Terms Agreement
ACCESSORY STREET LLC                     385 FIFTH AVENUE                         NEW YORK         NY           10016                   Vendor Terms Agreement
ACCO BRANDS INCORPORATED                 300 TOWER PARKWAY                        LINCOLNSHIRE     IL           60069                   Vendor Terms Agreement

ACCUTIME WATCH CORPORATION               1001 AVENUE OF THE AMERICAS              NEW YORK         NY           10018                   Vendor Terms Agreement
                                                                                                                                                                                               Until the company
                                                                                                                                                                                          determines that there is
                                                                                                                                        Collateral and Payment                               not further Insured's
Ace Insurance                            1133 Ave of the Americas                 New York         NY           10036                   Agreement                               11/1/2007              Obligation.
ACI INTERNATIONAL                        844 MORAGA DRIVE                         LOS ANGELES      CA           90049                   Vendor Terms Agreement

ACI Worldwide, Inc.                      6060 Coventry Dr.                        Elkhorn          NE           68022                   License Agreement B1613                 9/30/1999              9/29/2004
ACI Worldwide, Inc.                      6060 Coventry Dr.                        Elkhorn          NE           68022                   Winpay24 Attachment A3                   7/2/2003               7/1/2102
ACI Worldwide, Inc.                      6060 Coventry Dr.                        Elkhorn          NE           68022                   Winpay24 Attachment A4                  3/25/2004              3/24/2103
ACI Worldwide, Inc.                      6060 Coventry Dr.                        Elkhorn          NE           68022                   Winpay24 Attachment A5                  6/23/2006              6/24/2105
                                                                                                                                        Amendment 5 supplements
                                                                                                                                        and amends Attachment A3
                                                                                                                                        to License Agreement
ACI Worldwide, Inc.                      6060 Coventry Dr.                        Elkhorn          NE           68022                   B1613                                   7/11/2008              7/10/2107
                                                                                                                                        Amendment 5 supplements
                                                                                                                                        and amends Attachment A3
                                                                                                                                        to License Agreement
ACI Worldwide, Inc.                      6060 Coventry Dr.                        Elkhorn          NE           68022                   B1613                                   6/30/2008              6/29/2107
                                                                                                                                        Termination Amendment
                                                                                                                                        supplements and amends
                                                                                                                                        Attachment A4 as amended
                                                                                                                                        to License Agreement
ACI Worldwide, Inc.                      6060 Coventry Dr.                        Elkhorn          NE           68022                   B1613                                   7/21/2008

                                                                                                                                        Attachment A06
                                                                                                                                        supplements and amends
ACI Worldwide, Inc.                      6060 Coventry Dr.                        Elkhorn          NE           68022                   License Agreement B1613                  6/1/2012              5/31/2017

                                                                                                                                        Attachment A07
                                                                                                                                        supplements and amends
ACI Worldwide, Inc.                      6060 Coventry Dr.                        Elkhorn          NE           68022                   License Agreement B1613                  6/1/2012                      N/A

                                                                                                                                        Amendment 1 supplements
                                                                                                                                        and amends Attachment
                                                                                                                                        A06 to License Agreement
ACI Worldwide, Inc.                      6060 Coventry Dr.                        Elkhorn          NE           68022                   B1613                                   8/21/2014              5/31/2017




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                                                                                                                                                   Description of Contract or
                                                                                                                                                     Lease and Nature of        Date of Contract or                         List Contract Number of Any
            Contract Counterparty               Address1                   Address2                City          State   Postal Code    Country        Debtor's Interest              Lease           Remaining Term            Government Contract

                                                                                                                                                  Amendment 2 supplements
                                                                                                                                                  and amends Attachment
                                                                                                                                                  A06 to License Agreement
ACI Worldwide, Inc.                  6060 Coventry Dr.                                   Elkhorn            NE           68022                    B1613                                    7/7/2015           5/31/2017
                                                                                                                                                  Amendment 9 supplements
                                                                                                                                                  and amends Attachment A3
                                                                                                                                                  to License Agreement
ACI Worldwide, Inc.                  6060 Coventry Dr.                                   Elkhorn            NE           68022                    B1613                                 12/29/2011             7/1/2102
                                                                                                                                                  Amendment 4 supplements
                                                                                                                                                  and amends Attachment
                                                                                                                                                  A06 to license agreement
ACI Worldwide, Inc.                  6060 Coventry Dr.                                   Elkhorn            NE           68022                    B1613                                    7/1/2017           6/30/2022
ACME FURNITURE INDUSTRY INC          18895 ARENTH AVENUE                                 CITY OF INDUSTRY   CA           91748                    Vendor Terms Agreement
                                                                                                                         06824-
ACME UNITED CORPORATION              55 WALLS DRIVE STE 201                              FAIRFIELD          CT           5163                     Vendor Terms Agreement
Acrylic Designers                    101 Dought Road                                     Ladysmith          WI           54848                    Fixtures
Adair County Memorial Hospital       609 SE Kent Street                                  Greenfield         IA           50849                    340B Contract                           6/29/2018
Adam Krause                          N6082 Curley Creek Ave                              Neilsville         WI           54459                    Lawn Care ST627
                                                                                                                         16051-
ADAMS MANUFACTURING CORP             109 W PARK ROAD                                     PORTERSVILLE       PA           0000                     Vendor Terms Agreement
                                                                                                                         53590-
ADDED EXTRAS LLC DIV OF E S SUTT     1159 LIBERTY BLVD                                   SUN PRAIRIE        WI           0000                     Vendor Terms Agreement
Adecco Staffing                      933 Anderson Dr                                     Green Bay          WI           54304                    Staffing firm                                             30 day notice
                                     55 WASHINGTON STREET STE                                                            11201-
ADEN & ANAIS INCORPORATED            702,703,826                                         BROOKLYN           NY           1063                     Vendor Terms Agreement

ADEPTUS USA INCORPORATED             999 WATERSIDE DRIVE STE 2525                        NORFOLK            VA           23510                    Vendor Terms Agreement

ADESSO INCORPORATED                  360 WEST 31ST STREET STE 909                        NEW YORK           NY           10001                    Vendor Terms Agreement
Adheris                              1 Van De Graaff Drive                               Burlington         MA           01803                    Patient Outreach
                                                                                                                         60008-
ADIDAS AMERICA INCORPORATED          3800 GOLF ROAD SUITE 115                            ROLLLING MEADOWS IL             0000                     Vendor Terms Agreement
                                                                                                                                                  HR, Payroll, and Tax
ADP, LLC                             1 ADP Boulevard                                     Roseland           NJ           07068                    Processing                               3/1/2017           2/29/2020
Adrian Weiler                        19 Estate Drive                                     Bowman             ND           58623                    Lawn Care ST535
Adrien Jones                         PO Box 928                                          Milford            UT           84751                    Lawn Care ST588
                                                                                                                                                  Ecom Shipping software
ADSI                                 955 N Plum Grove Road                               Schaumburg         IL           60173                    hosting
ADTN INTERNATIONAL LTD               237 W 37TH ST 14TH FLOOR                            NEW YORK           NY           10018                    Vendor Terms Agreement
ADURO PRODUCTS LLC                   250 LIBERTY STREET                                  METUCHEN           NJ           08840                    Vendor Terms Agreement
                                                                                                                         75240-
ADVANCED BEAUTY INCORPORATED         5501 LBT FREEWAY                                    DALLAS             TX           0000                     Vendor Terms Agreement
Advanced Disposal                    1799 Cty Hey PP                                     DePere             WI           54115                    DePere DC waste
                                                                                                                                                  ICA - SOW Installation
Advanced Project Solutions           5513 Femrite Drive                                  Madison            WI           53718                    Services                                 5/1/2012           3/31/2014          Addendum A-17
                                                                                                                                                  Purchase order for
Advanced Service Technologies        2225 Lyons Road                                     Miamisburg         OH           45342                    installations services                  7/14/2015
ADVANCED VISION RESEARCH             660 MAIN STREET                                     WOBURN             MA           01801                    Vendor Terms Agreement

ADVANTUS CORPORATION                 12276 SAN JOSE BLVD BLDG 618                        JACKSONVILLE       FL           32223                    Vendor Terms Agreement
                                                                                                                         30041-
ADVENTURE FURNITURE INC              2655 NORTHGATE AVE                                  CUMMING            GA           0000                     Vendor Terms Agreement
                                                                                                                                                  Pre Investigation
AECOM                                12120 Shamrock Plaze           Suite 100            Omaha              NE           68154                    Assessment work
AERO CONCEPTS                        103 GREENFIELD ROAD                                 MIDDLEBURY         IN           46540                    Vendor Terms Agreement
AETNA FELT CORPORATION               2401 WEST EMAUS AVENUE                              ALLENTOWN          PA           18103                    Vendor Terms Agreement
AFG MEDIA                            DUNSLAW 8A HALL CRESCENT                            GULLANE                                       Scotland   Vendor Terms Agreement
AGE GROUP LIMITED                    2 PARK AVENUE 18TH FLOOR                            NEW YORK           NY           10016                    Vendor Terms Agreement
                                     2440 S SEPULVEDA BLVD SUITE
AGRON INCORPORATED                   201                                                 LOS ANGELES        CA           90064                    Vendor Terms Agreement
AHAVA NA LLC                         34 E MAIN STREET                                    SMITHTOWN          NY           11787                    Vendor Terms Agreement
                                     10 WEST 33RD STREET 3RD
AHQ LLC                              FLOOR                                               NEW YORK           NY           10001                    Vendor Terms Agreement




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                                                                                                                                                           Description of Contract or
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         Contract Counterparty                       Address1                     Address2              City             State   Postal Code    Country        Debtor's Interest              Lease            Remaining Term              Government Contract
AINSWORTH PET NUTRITION                    948 WATER STREET                                      MEADVILLE          PA           16335                    Vendor Terms Agreement

AIR FILTERS NOW                            9800 I-65 SERVICE ROAD NORTH                          CREAOLA            AL           36525                    Vendor Terms Agreement
Aitkin Community Hospital DBA Riverwood
Healthcare Center                          200 Bunker Hill Drive                                 Aitkin             MN           56431                    340B Contract                           6/27/2018
                                                                                                                                 48302-
AJM PACKAGING CORPORATION                  E4111 ANDOVER RD                                      BLOOMFIELD HILLS   MI           1911                     Vendor Terms Agreement
                                                                                                                                                          Master Agreement -
Akamai                                     150 Broadway                                          Cambridge          MA           02142                    08/28/2015                              8/28/2015
                                                                                                                                                          Service Order Form -
Akamai                                     150 Broadway                                          Cambridge          MA           02142                    11/1/2016 - Fast DNS                                           8/31/2019
                                                                                                                                                          Order Form - 08/30/2018 -
                                                                                                                                                          Image Manager - Support
Akamai                                     150 Broadway                                          Cambridge          MA           02142                    Renwal                                                         8/31/2019
AKERUE INDUSTRIES LLC KAY HOME P           90 MCMILLEN ROAD                                      ANTIOCH            IL           60002                    Vendor Terms Agreement
ALAMANCE FOODS INCORPORATED                840 PLANTATION DRIVE                                  BURLINGTON         NC           27216                    Vendor Terms Agreement
Alan Bullman                               524 27th Street                                       Gothenburg         NE           69138                    Lawn Care ST698
                                                                                                                                                          Private Fleet Assessment
                                                                                                                                                          and Transportation Sourcing
Alaris Consulting                          33 West Monroe Street           Suite 2100            Chicago            IL           60603                    at Shopko                               11/9/2009
                                                                                                                                                          Private Fleet Assessment
                                                                                                                                                          and Transportation Sourcing                          10 Days prior written
Alaris Consulting                          33 West Monroe Street           Suite 2100            Chicago            IL           60603                    at Shopko                               11/9/2009                   notice
ALBAAD USA INCORPORATED                    129 TECHNOLOGY DRIVE S                                REIDSVILLE         NC           27320                    Vendor Terms Agreement
ALBANESE CONFECTIONERY GROUP               5441 E LINCOLN HWY                                    MERRILLVILLE       IN           46410                    Vendor Terms Agreement
                                                                                                                                 60160-
ALBERTO CULVER U S A                       2525 ARMITAGE AVE                                     MELROSE PARK       IL           0000                     Vendor Terms Agreement
                                                                                                                                 70562-
ALCO MANUFACTURING COMPANY                 PO BOX 13710                                          NEW IBERIA         LA           3510                     Vendor Terms Agreement
                                                                                                                                 55435-
ALCON LABORATORIES INCORPORATED            6709 CORNELIA DRIVE                                   EDINA              MN           0000                     Vendor Terms Agreement
Alcon Labs                                 6201 South Freeway                                    Fort Worth         TX           76134                    Optical Contact Lenses
ALEX TOYS                                  251 UNION STREET                                      NORTHVALE          NJ           07647                    Vendor Terms Agreement
Alexander & Bishop 1, LLC                  300 N. Main Street, 3rd Floor                         Oshkosh            WI           54903                    Lease                                   7/28/2015              6/30/2021
Alexander & Bishop 1, LLC                  300 N. Main Street, 3rd Floor                         Oshkosh            WI           54903                    Lease                                   7/28/2015              6/30/2021
Alexander & Bishop 1, LLC                  1640 APPLETON RD                                      MENASHA            WI           54952                    Operating Lease - OPT                   5/17/1996              6/30/2021                N/A
ALGOMA NET COMPANY                         1525 MUELLER STREET                                   ALGOMA             WI           54201                    Vendor Terms Agreement
                                                                                                                                                          Financial and Operational
Alix (non bank) *merch WS db) nas          909 Third Avenue                30th Floor            New York           NY           10022                    Consulting Services                     7/10/2016
                                                                                                                                                          Financial and Operational                           At any time by written
Alix (non bank) *merch WS db) nas          909 Third Avenue                30th Floor            New York           NY           10022                    Consulting Services                     7/10/2016                   notice
                                                                                                                                                          Provides: Merchant
                                                                                                                                                          Workbench Data Refresh
                                           909 Third Avenue                                                                                               and Hosting - Ninth
AlixPartners, LLP                                                                                New York           NY           10022                    Addendum                                8/17/2018        Month to Month
ALK Technologies - SKO                     1 Indepenance Way               Suite 400             Princeton          NJ           08540                    DC license for PC Miler
ALL ACCESS APPAREL INC DIV SELF            1515 GAGE ROAD                                        MONTEBELLO         CA           90640                    Vendor Terms Agreement

ALL COURTESY INTERNATIONAL LTD             4 QUEEN VICTORIA STREET                               CENTRAL                                       Hong Kong Vendor Terms Agreement
All Seasons Property Maintenance LLC       2900 Old Highway 8                                    Norfolk            NE           68701                   Lawn Care ST048
ALL WEATHER OUTERWEAR CO                   1425 37TH STREET STE 607                              BROOKLYN           NY           11218                   Vendor Terms Agreement
Allan S. Noddle                            2285 S 67th Street Ste. 250                           Omaha              NE           68124                   Lease                                     4/3/1975             11/30/2022
Allan S. Noddle                            1901 COURT AVENUE                                     CHARITON           IA           50049                   Operating Lease                           4/3/1975             11/30/2022                N/A
ALLCASION TRAVELWARE CO                    2854 SUPPLY AVE                                       COMMERCE           CA           90040                   Vendor Terms Agreement
ALLEGRO CORPORATION                        14134 NE AIRPORT WAY                                  PORTLAND           OR           97230                   Vendor Terms Agreement
Allen Reetz                                1850 Valleyview                                       Crete              NE           68333                   Lawn Care ST660
Allen Reinke                               PO Box 145                                            Lisbon             ND           58054                   Lawn Care ST581
ALLERGAN USA                               2525 DUPONT DRIVE                                     IRVINE             CA           92715                   Vendor Terms Agreement




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                                                                                                                                                        Description of Contract or
                                                                                                                                                          Lease and Nature of          Date of Contract or                              List Contract Number of Any
             Contract Counterparty                     Address1                 Address2                  City         State   Postal Code   Country        Debtor's Interest                Lease              Remaining Term              Government Contract

                                                                                                                                                       2019 Dues Of $5,000 -
                                                                                                                                                       Lobbying Principal For Retail
                                                                                                                                                       Trade With Interests In All
                                                                                                                                                       Matters Affecting Wi'S
                                                                                                                                                       Retailers, Including Tax
                                                                                                                                                       Policies, Minimum Wage,
Alliance of Wisconsin Retailers, LLC        W243 N7657 Hilltop Court                             Sussex           WI           53089                   Gift Cards, Etc.
ALLIED PRODUCTS CORPORATION                 1420 KANSAS AVENUE                                   KANSAS CITY      MO           64127                   Vendor Terms Agreement
ALLSTAR MARKETING GROUP L L C               2 SKYLINE DRIVE                                      HAWTHORNE        NY           10532                   Vendor Terms Agreement
ALLURA IMPORTS INCORPORATED                 112 W 34TH STREET RM 1127                            NEW YORK         NY           10120                   Vendor Terms Agreement
Allure Eyewear                              48 W 37st                                            New York         NY           10018                   Optical frames
                                            48 WEST 37TH STREET 8TH
ALLURE EYEWEAR                              FLOOR                                                NEW YORK         NY           10018                   Vendor Terms Agreement
ALLURE HOME CREATIONS                       85 FULTON STREET                                     BOONTON          NJ           07005                   Vendor Terms Agreement
                                                                                                                               10001-
ALMAR SALES COMPANY                         31 W 34TH ST                                         NEW YORK         NY           0000                    Vendor Terms Agreement
Almond Blossom, LLC                         18948 N Ramsey Road                                  Rathdrum         ID           83858                   Lease                                     8/14/2015               10/31/2031
Almond Blossom, LLC                         6355 MAIN STREET                                     BONNERS FERRY    ID           83805                   Operating Lease                           8/14/2015               12/31/2020                N/A
ALOK INTERNATIONAL INCORPORATED             123 OAK LAWN AVENUE                                  DALLAS           TX           75207                   Vendor Terms Agreement
                                                                                                                               11560-
ALPHA SIX DISTRIBUTION LLC                  11 OYSTER BAY ROAD                                   LOCUST VALLEY    NY           1834                    Vendor Terms Agreement
ALPINE CORPORATION                          4901 ZAMBRANO STREET                                 COMMERCE         CA           90040                   Vendor Terms Agreement
Altair Eyewear                              10875 Interbational Dr                               Rancho Cordova   CA           95670                   Optical frames
Altru Health System                         1200 South Columbia Road                             Grand Forks      ND           58201                   340B Contract                             1/31/2018
ALURATEK INCORPORATED                       14831 MYFORD ROAD                                    TUSTIN           CA           92780                   Vendor Terms Agreement
ALVA JADE ENTERPRISES INC                   PO BOX 812                                           POMPANO BEACH    FL           33061                   Vendor Terms Agreement
AM HOME TEXTILES                            375 HIGHWAY 74 S STE E                               PEACHTREE CITY   GA           30269                   Vendor Terms Agreement
AMALGAMATED TEXTILES USA INC                551 FIFTH AVENUE STE 1100                            NEW YORK         NY           10176                   Vendor Terms Agreement

AMAN IMPORTS                                5311 BOULEVARD EAST STE #7                           WEST NEW YORK    NY           07093                   Vendor Terms Agreement
                                                                                                                                                       AWS Customer Agreement -
                                                                                                                                                       Amazon Web Services
Amazon Web Services, Inc.                   ATTN: AWS Legal              10 Terry Avenue North   Seattle          WA           98109                   (AWS)                                     6/22/2016          month to month
Amber Lorentz                               321 High St                                          Clintonville     WI           54929                   Lawn Care ST615
AMBRAS FINE JEWELRY                         3100 47TH AVE #3FL                                   NEW YORK         NY           11101                   Vendor Terms Agreement
                                                                                                                               10018-
AMEREX OF CALIFORNIA CORPORATION            512 SEVENTH AVENUE FLOOR 9                           NEW YORK         NY           0861                    Vendor Terms Agreement
AMERICAN CRAFTS LC                          588 W 400 S STE 125                                  LINDON           UT           84042                   Vendor Terms Agreement

AMERICAN EXCHANGE                           1407 BROADWAY 24TH FLOOR                             NEW YORK         NY           10018                   Vendor Terms Agreement

AMERICAN EXCHANGE TIME LLC                  1441 BROADWAY 27TH FLOOR                             NEW YORK         NY           10018                   Vendor Terms Agreement
American Express Travel Related Services                                                                                                               Travel credit cards used by                           30 day written notice by
Company, Inc.                               200 Vesey Street                                     New York         NY           10285                   Debtor's employees                        4/10/2015               either party
                                                                                                                               55379-
AMERICAN FULFILLMENT INCORPORATE            5775 12TH AVE E #170                                 SHAKOPEE         MN           1970                    Vendor Terms Agreement
AMERICAN FURNITURE ALLIANCE                 785 D HARRISON STREET                                CORONA           CA           92879                   Vendor Terms Agreement
American Greetings                          1 American Blvd                                      Westlake         OH           44145                   Exclusivity Agreement
AMERICAN GREETINGS                          ONE AMERICAN ROAD                                    CLEVELAND        OH           44144                   Vendor Terms Agreement
AMERICAN HERITAGE TEXTILES                  1315 CEDAR GROVE RD                                  SHEPHERDSVILLE   KY           40165                   Vendor Terms Agreement
AMERICAN INTERNATIONAL INDUSTRY             2220 GASPER AVENUE                                   LOS ANGELES      CA           90040                   Vendor Terms Agreement
                                                                                                                               97701-
AMERICAN LICORICE COMPANY                   2796 NW CLEARWATER DRIVE                             BEND             OR           7008                    Vendor Terms Agreement
AMERICAN LIFELINE INCORPORATED              E8919 MCCOY ROAD                                     NORTH FREEDOM    WI           53951                   Vendor Terms Agreement

AMERICAN MARKETING ENTERPRISES I            1359 BROADWAY 16TH FLOOR                             NEW YORK         NY           10018                   Vendor Terms Agreement
AMERICAN NUTRITION INC                      2813 WALL AVENUE                                     OGDEN            UT           84401                   Vendor Terms Agreement
AMERICAN PLASTIC TOYS                       799 LADD ROAD                                        WALLED LAKE      MI           48390                   Vendor Terms Agreement
American President Line (APL)               700 Commerce Dr.             Ste. 110                Oak Brook        IL           60523                   Ocean carrier                              6/1/2018                5/31/2019
AMERICAN PROMOTIONAL EVENTS                 4511 HELTON DRIVE                                    FLORENCE         AL           35630                   Vendor Terms Agreement
AMERICAN RECREATION PRODUCTS                6235 LOOKOUT ROAD                                    BOULDER          CO           80301                   Vendor Terms Agreement
                                                                                                                               15110-
AMERICAN TEXTILE COMPANY                    10 N LINDEN STREET                                   DUQUESNE         PA           0000                    Vendor Terms Agreement




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                                                                                                                                                 Description of Contract or
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            Contract Counterparty                      Address1             Address2           City            State   Postal Code    Country        Debtor's Interest              Lease           Remaining Term           Government Contract
                                                                                       RANCHO
AMERICAN TRAVELER INC                      9509 FERON BLVD                             CUCAMONGA          CA           91730                    Vendor Terms Agreement
                                           31 WEST 34TH STREET 6TH
AMERICO GROUP INCORPORATED                 FLOOR                                       NEW YORK           NY           10001                    Vendor Terms Agreement
                                                                                                                       55316-
AMERIFIT INCORPORATED                      9677 TRILLIUM CT N                          CHAMPLIN           MN           0000                     Vendor Terms Agreement
AMERIHUA INTERNATIONAL ENTERPRIS           707 RADIO DRIVE                             LEWIS CENTER       OH           43035                    Vendor Terms Agreement

AMERIPLUS INCORPORATED                     535 S HERCULES AVENUE #201                  CLEARWATER         FL           33764                    Vendor Terms Agreement
                                                                                                                       63390-
AMERIWOOD INDUSTRIES                       410 E 1ST STREET S                          WRIGHT CITY        MO           9998                     Vendor Terms Agreement
                                                                                                                       47201-
AMERIWOOD INDUSTRIES                       2525 STATE STREET                           COLUMBUS           IN           0000                     Vendor Terms Agreement
AMES COMPANIES                             465 RAILROAD AVENUE                         CAMP HILL          PA           17011                    Vendor Terms Agreement
AMICI ACCESSORIES LIMITED                  39 WEST 37TH STREET 2ND FL                  NEW YORK           NY           10018                    Vendor Terms Agreement
                                                                                                                       07657-
AMIEE LYNN INCORPORATED                    65 RAILROAD AVENUE SUITE 4                  RIDGEFIELD         NJ           2130                     Vendor Terms Agreement
AMINCO INTERNATIONAL (USA) INC             20571 CRESCENT BAY DRIVE                    LAKE FOREST        CA           92630                    Vendor Terms Agreement
AMLOID CORPORATION                         7 RIDGEDALE AVENUE STE 1A                   CEDAR KNOLLS       NJ           07927                    Vendor Terms Agreement
                                                                                                                       92799-
AMO SALES & SERVICE INC                    1700 EAST ST ANDREW PLACE                   SANTA ANA          CA           5162                     Vendor Terms Agreement
AMRAPUR OVERSEAS DBA COLONIAL HO           12621 WESTERN AVENUE                        GARDEN GROVE       CA           92841                    Vendor Terms Agreement
ANCHOR HOCKING OPERATING COMPANY           519 PIERCE AVENUE                           LANCASTER          OH           43130                    Vendor Terms Agreement
                                                                                                                                                Pharmaceutical Product
Anda, Inc                                  2915 Weston Rd                              Weston             FL           33331                    Supplier                                 6/1/2012          12/31/2019
ANDIS COMPANY                              1800 RENAISSANCE BLVD                       STURTEVANT         WI           53177                    Vendor Terms Agreement

Andy and Hai LLC.                          2843 South 5600 West Suite 170              WEST VALLEY CITY   UT           84120                    Operating Lease                         1/15/2019           1/14/2026               N/A
Andy's Lawn & Snow, LLC                    PO Box 695                                  Lester Prairie     MN           55354                    Lawn Care ST023
                                           9975 AVENUE DE CATANIA LOCAL
ANGELCARE MONITORS INC                     B                                           BROSSARD           QC           J4Z 3V6       Canada     Vendor Terms Agreement
Angeli Management Corp./Don Bastianello    833 Riverside Plaza                         Iron River         MI           49935                    Lease                                    5/8/1984          12/31/2028
Angeli Management Corp./Don Bastianello    890 RIVERSIDE PLAZA                         IRON RIVER         MI           49935                    Operating Lease                          5/8/1984          12/31/2028               N/A
ANGIES ARTISAN TREATS LLC                  1918 LOOKOUT DRIVE                          NORTH MANKATO      MN           56003                    Vendor Terms Agreement
                                                                                                                       55343-
ANIMAL ADVENTURE                           1114 5TH STREET S                           HOPKINS            MN           7837                     Vendor Terms Agreement

ANNA NATURALS                              1563 ROCKY RIDGE COURT                      SARATOGA SPRINGS   UT           84045                    Vendor Terms Agreement
ANNE TAINTOR INC                           137 MONTAGUE STREET 120                     BROOKLYN           NY           11201                    Vendor Terms Agreement
ANNIES INCORPORATED                        1610 FIFTH STREET                           BERKELEY           CA           94710                    Vendor Terms Agreement
ANSELL INCORPORATED                        200 SCHULZ DRIVE                            RED BANK           NJ           07701                    Vendor Terms Agreement
Anthem Blue Cross                          N17 W24340 Riverwood Drive                  Waukesha           WI           53188                    Optical Insurance Plan
                                                                                                                                                Administrative Services to
                                                                                                                                                process claims and case
Anthem Blue Cross Blue Shield              220 Virginia Ave.                           Indianapolis       IN           46204                    management                               1/1/2017          12/31/2019

ANTLER USA LIMITED                         1111 N PLAZA DRIVE SUITE 670                SCHAUMBURG         IL           60173                    Vendor Terms Agreement
ANY ENTERPRISE INCORPORATED                1250 SOUTH BROADWAY                         LOS ANGELES        CA           90015                    Vendor Terms Agreement

AO JIE PLASTIC TOYS FACTORY LTD            41 TSUN YIP STREET                          KWUN TONG                                     Hong Kong Vendor Terms Agreement
                                                                                                                                               Investment consultant
                                                                                                                                               provides guidance on
                                                                                                                                               fiduciary compliance for the
                                                                                                                       60694-                  Shopko Shared Savings Plan
Aon Hewitt Investment Consulting           39584 Treasury Center                       Chicago            IL           9500                    (401k)                                    5/1/2018           4/30/2020
APOLLO HEALTH & BEAUTY CARE                1 APOLLO PLACE                              TORONTO            ON           M3J 0H2       Canada    Vendor Terms Agreement
                                                                                                                       55337-
APOTHECARY PRODUCTS INCORPORATED           11750 12TH AVENUE SOUTH                     BURNSVILLE         MN           0000                     Vendor Terms Agreement
Apple Valley Snowplowing                   1670 Mar El Road                            DePere             WI           54115                    snowplowing
Applebee's                                 9366 STATE HIGHWAY 16                       ONALASKA           WI           54650                    Sublease                                 8/1/2010            Perpetual              N/A




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              Contract Counterparty                Address1                       Address2                  City         State   Postal Code   Country         Debtor's Interest              Lease            Remaining Term              Government Contract
                                                                                                                                                         Purchase of software for
                                                                                                                                                         analyzing market baskets
                                                                                                                                                         and examining the results of
                                                                                                                                                         test and learn scenarios. 6     signed 10/10/2012,
Applied Predictive Technologies        4250 N Fairfax Dr                   11th Floor            Arlington          VA           22203                   yr term.                         effective 2/1/2013               Expired

                                                                                                                                                         Service Agreement and SaaS
Appris Inc.                            10401 Linn Station Road             Suite 200             Louisville,        KY           40223                   Maintenance Renewal                       9/1/2013             5/31/2019
                                                                                                                                                         Software License and
                                                                                                                                                         Service Agreement -
Appworx Corporation                    2475 140th Avenue NE                                      Bellevue           WA           98005                   11/20/2000                             11/20/2000            10/21/2019
APT (Todd)                             901 North Stuart Street             Suite 1100            Arlington          VA           22203                   Order Agreement                         2/16/2015
APT (Todd)                             901 North Stuart Street             Suite 1100            Arlington          VA           22203                   Order Agreement                         2/16/2015      After six year term
Aptean Inc.                            4325 Alexander Drive                                      Aplharetta         GA           30022                   Software Maintenance                                            3/14/2019
AQUARIUS LIMITED                       3200 SOUTH KINGSHIGHWAY                                   ST LOUIS           MO           63139                   Vendor Terms Agreement
                                       600 REISTERSTOWN ROAD STE
AQUASTONE GROUP                        308                                                       BALTIMORE          MD           21208                   Vendor Terms Agreement

                                                                                                                                                         Floor Mat, Dust Mop, and
Aramark                                2680 Palumbo Drive                                        Lexington          KY           40509                   Towel Services to the Stores              7/5/2016            11 Months
                                                                                                                                 08332-
ARC INTERNATIONAL NORTH AMERICA        601 S WADE BOULEVARD                                      MILLVILLE          NJ           5001                    Vendor Terms Agreement
                                       1200BLUEGRASS LAKES PKWY STE
ARCH CHEMICALS INC                     100                                                       ALPHARETTA         GA           30004                   Vendor Terms Agreement
                                                                                                 GREENWOOD
ARCHOS INCORPORATED                    7951 E MAPLEWOOD DRIVE #260                               VILLAGE            CO           80111                   Vendor Terms Agreement

ARCP SH Broken Bow NE, LLC             2325 E. Camelback Road Ste 1100                           Phoenix            AZ           85016                   Lease                                    9/19/2007             4/30/2023
ARCP SH Broken Bow NE, LLC             2353 SOUTH E                                              BROKEN BOW         NE           68822                   Operating Lease                          9/19/2007             4/30/2023                 N/A

ARCP SH Larned KS, LLC                 2325 E. Camelback Road Ste 1100                           Phoenix            AZ           85016                   Lease                                  12/27/2007              8/31/2023
ARCP SH Larned KS, LLC                 908 E. 14TH STREET                                        LARNED             KS           67550                   Operating Lease                        12/27/2007              8/31/2023                 N/A
                                       c/o American Realty Capital
ARCP SH Valentine NE, LLC              Properties 2325                                           Phoenix            AZ           85016                   Lease                                    9/30/2013             5/31/2029
ARCP SH Valentine NE, LLC              525 E HWY 20                                              VALENTINE          NE           69201                   Operating Lease                          9/30/2013             5/31/2029                 N/A
ARCTIC GLACIER PREMIUM ICE             2389 ST PAUL ROAD                                         WEST POINT         IA           52656                   Vendor Terms Agreement
ARG Lumar, LLC                         7762 Sugar Bend Drive                                     Orlando            FL           32819                   Lease                                  12/16/2015            10/31/2031
ARG Lumar, LLC                         124 Lumar Dr                                              Jacksboro          TX           76458                   Operating Lease                        12/16/2015            10/31/2031                  N/A

ARG MANUFACTURING INC                  1050 BETHLEHEM PIKE SUITE 108                             NORTH WALES        PA           19454                   Vendor Terms Agreement
ARGENTOSC                              1407 BROADWAY STE 2201                                    NEW YORK           NY           10018                   Vendor Terms Agreement

                                       c/o Argonaut Investments 101
Argo Whitefish, LLC                    Larkspur Landing Circle Suite 120                         Larkspur           CA           94939                   Lease                                     7/2/2014             9/30/2030
                                       6475 U.S. HIGHWAY 93 SOUTH
Argo Whitefish, LLC                    #15                                                       WHITEFISH          MT           59937                   Operating Lease                           7/2/2014             9/30/2030                 N/A
ARIZONA BEVERAGE COMPANY L L C         60 CROSSWAYS PARK DRIVE                                   WOODBURY           NY           11797                   Vendor Terms Agreement
                                                                                                                                                                                                                                      Amendment to Master Service
                                                                                                                                                                                                                                       Agreement - Adobe Connect
                                                                                                                                                         Master Service Agreement                                                      Meeting Software - Webinar
                                                                                                                                                         for Audio Teleconferencing                                                          Manager 500
Arkadin Inc                            5 Concourse Pkwy NE                 Suite 1600            Atlanta            GA           30328                   Services                               11/27/2009              12/3/2019      Customer number U0047434

ARLEE HOME FASHIONS INC                36 EAST 31ST STREET 8TH FLOOR                             NEW YORK           NY           10016                   Vendor Terms Agreement
                                                                                                                                 11101-
ARLINGTON HAT COMPANY                  47 25 34TH STREET                                         LONG ISLAND CITY   NY           2436                    Vendor Terms Agreement
ARMITRON CORPORATION                   6015 LITTLE NECK PARKWAY                                  LITTLE NECK        NY           11362                   Vendor Terms Agreement
                                                                                                                                 33330-
ARMPOCKET ENTERPRISES LLC              12399 SW 53RD ST SUITE 103                                COPPER CITY        FL           3308                    Vendor Terms Agreement
ART CARPET                             6563 MONTEREY PT                                          NAPLES             FL           34105                   Vendor Terms Agreement
Art Optical Contact Lens               PO Box 1848                                               Grand Rapids       MI           49501                   Optical Contact Lenses

ARTHUR DOGSWELL LLC                    1964 WESTWOOD BLVD STE 350                                LOS ANGELES        CA           90025                   Vendor Terms Agreement




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              Contract Counterparty                           Address1           Address2              City         State   Postal Code    Country        Debtor's Interest              Lease           Remaining Term            Government Contract

ARTISSIMO DESIGNS LLC                            2100 E GRAND AVENUE STE 400                EL SEGUNDO         CA           90245                    Vendor Terms Agreement
                                                                                                                            44805-
ARTISTIC STUDIOS LIMITED                         1840 BANEY ROAD S                          ASHLAND            OH           0000                     Vendor Terms Agreement
ARTSANA USA INCORPORATED                         1826 WILLIAM PENN WAY                      LANCASTER          PA           17601                    Vendor Terms Agreement

                                                                                                                                                     Med B Rebates For Diabetic
Ascensia Diabetes care US Inc                    5 Wood Hollow Rd                           Parsippany         NJ           07054                    Testing Strips And Meters                7/6/1905          12/31/2019

Ascension Our Lady of Victory Hospital, Inc.     1120 Pine Street                           Stanley            WI           54768                    340B Contract                           7/17/2018
ASCENSION PRODUCTS GROUP                         1055 PRUITT ROAD                           SPRING             TX           77380                    Vendor Terms Agreement
Ascension Sacred Heart - St. Mary's Hospitals,
Inc.                                             2251 North Shore Drive                     Rhinelander        WI           54501                    340B Contract                           7/17/2018
Ascension Sacred Heart - St. Mary's Hospitals,
Inc.                                             401 West Mohawk Drive                      Tomahawk           WI           54487                    340B Contract                           7/17/2018
ASCENT CONSUMER PRODUCTS INC                     105 BAYLISS ROAD                           MELVILLE           NY           11747                    Vendor Terms Agreement
ASHERS CHOCOLATE CO                              80 WAMBOLD ROAD                            SOUDERTON          PA           18964                    Vendor Terms Agreement

ASHLEY COLLECTION DBA PROTOCOL                   600 W 57TH STREET 2ND FLOOR                NEW YORK           NY           10019                    Vendor Terms Agreement
                                                 7370 EASTGATE ROAD #155 BLDG
ASHLEY ENTERTAINMENT COMPANY                     M                                          HENDERSON          NV           89011                    Vendor Terms Agreement
                                                                                                                            54612-
ASHLEY FURNITURE INDUSTRIES                      ONE ASHLEY WAY                             ARCADIA            WI           0000                     Vendor Terms Agreement

ASICS AMERICA CORPORATION                        16275 LAGUNA CANYON ROAD                   IRVINE             CA           92618                    Vendor Terms Agreement
                                                 300 SARASOTA CENTER
ASO L L C                                        BOULEVARD                                  SARASOTA           FL           34240                    Vendor Terms Agreement
ASPEN PRODUCTS INCORPORATED                      4231 CLARY BOULEVARD                       KANSAS CITY        MO           64130                    Vendor Terms Agreement
ASPIRE BRANDS LLC                                1006 CROCKER ROAD                          WESTLAKE           OH           44145                    Vendor Terms Agreement
Aspirus Keweenaw Hosptial                        205 Osceola Street                         Laurium            MI           49913                    340B Contract                           6/28/2018
Associated Bank                                  301 BAY PARK SQUARE                        GREEN BAY          WI           54304                    Sublease                                 4/1/2016          12/31/2020                 N/A
                                                                                                                            30096-
ASSOCIATED HYGIENIC PRODUCTS                     3400 RIVER GREEN CT                        DULUTH             GA           0000                     Vendor Terms Agreement
Asurion                                          22894 Pacific Blvd                         Sterling           VA           20166                    warranty program

AT LAST SPORTSWEAR INCORPORATED                  110 ENTERPRISE AVENUE SOUTH                SECAUCUS           NJ           07094                    Vendor Terms Agreement
                                                                                                                                                                                                                                          IP Flex
                                                                                                                                                                                                                               AT&T Business Local Calling
                                                                                                                                                                                                                             Mobility Applications MobileIron
                                                                                                                                                                                                                             Contract ID: 8515288, 8515287,
                                                                                                                                                                                                                                         8515286
                                                                                                                            07921-                                                                                                    8617811 BVoIP
AT&T Corp.                                       One AT&T Way                               Bedminster         NJ           0752                     SBC Master Agreement                  12/14/2004            3/16/2020             8626554 MIS
ATHENS STONECASTING INC                          191 RICHMAR ROAD                           ATHENS             GA           30607                    Vendor Terms Agreement
                                                                                            HUNGHOM
ATICO INTERNATIONAL LTD                          GF 2F HUNGHOM BAY CENTRE                   KOWLOON                                       Hong Kong Vendor Terms Agreement
                                                                                                                            75904-
ATKINSON CANDY COMPANY                           PO BOX 150220                              LUFKIN             TX           3109                     Vendor Terms Agreement

ATLANTIC INCORPORATED                            10018 SANTA FE SPRINGS ROAD                SANTE FE SPRINGS   CA           90670                    Vendor Terms Agreement
                                                 c/o RTG Property Management
Atlas Shopko Owner, LLC                          808 SW Alder Street Suite 200              Portland           OR           97205                    Lease                                   1/29/2007           1/31/2027
                                                 c/o RTG Property Management
Atlas Shopko Owner, LLC                          808 SW Alder Street Suite 200              Portland           OR           97205                    Lease                                   1/29/2007           1/31/2027
                                                 c/o RTG Property Management
Atlas Shopko Owner, LLC                          808 SW Alder Street Suite 200              Portland           OR           97205                    Lease                                   1/29/2007           1/31/2027
Atlas Shopko Owner, LLC                          60 NE BEND RIVER MALL AVE                  BEND               OR           97703                    Operating Lease                         1/29/2007           1/31/2027                 N/A
Atlas Shopko Owner, LLC                          2815 CHAD DRIVE                            EUGENE             OR           97408                    Operating Lease                         1/29/2007           1/31/2027                 N/A
Atlas Shopko Owner, LLC                          1230 LANCASTER DRIVE SE                    SALEM              OR           97317                    Operating Lease                         1/29/2007           1/31/2027                 N/A
ATTENDS HEALTHCARE PRODUCTS                      1029 OLD CREEK ROAD                        GREENVILLE         NC           27834                    Vendor Terms Agreement
Audubon County Memorial Hospital                 515 Pacific Ave                            Audubon            IA           50025                    340B Contract                            6/4/2018
                                                                                                                            22404-
August 10th                                      PO Box 538                                 Fredricksburg      VA           0538                     Annual Support 08/6/2018                                    7/20/2019




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            Contract Counterparty                           Address1                  Address2                    City        State   Postal Code    Country        Debtor's Interest               Lease           Remaining Term              Government Contract

AURAFIN DIV OF RICHLINE GROUP                   115 S MACQUESTEN PARKWAY                               MOUNT VERNON      NY           10550                    Vendor Terms Agreement
Austin Nondorf                                  638 N Kansas                                           Superior          ne           68978                    Lawn Care ST692
                                                                                                                                      46278-
AUSTRALIAN GOLD                                 8001 WOODLAND DRIVE                                    INDIANAPOLIS      IN           1332                     Vendor Terms Agreement
Automated Records Management                    1850 Enterprise Dr                                     DePere            WI           54115                    Archive Agreement                         6/1/1993             5/31/2019

AVALON APPAREL GROUP                            6900 S ALAMEDA STREET                                  HUNTINGTON PARK   CA           90255                    Vendor Terms Agreement
AVANTI LINENS                                   234 MOONACHIE ROAD                                     MOONACHIE         NJ           07074                    Vendor Terms Agreement
AVELLI INCORPORATED                             7 5040 MAINWAY DRIVE                                   BURLINGTON        ON           L7L 7G5       Canada     Vendor Terms Agreement
Avera Gregory Hospital                          400 Park Ave                                           Gregory           SD           57533                    340B Contract                            4/17/2018
Avera Marshall DBA Avera Marshall Regional
Medical Center                                  300 S Bruce St.                                        Marshall          MN           56258                    340B Contract                            4/17/2018           12/19/2018
Avera McKennan Hospital and University Health
Center                                          1325 South Cliff Ave                                   Sioux Falls       SD           57105                    340B Contract                            4/17/2018           12/18/2018
                                                150 NORTH ORANGE GROVE
AVERY DENNISON                                  BOULEVARD                                              PASADENA          CA           91103                    Vendor Terms Agreement
                                                                                                                                                               Customer Service
Avista Advantage                                1313 North Atlantic            5th Floor, P.O. Box 2440 Spokan           WA           99201                    Agreement                                 9/5/2000
                                                                                                                                                               Customer Service                                     90 days prior written
Avista Advantage                                1313 North Atlantic            5th Floor, P.O. Box 2440 Spokan           WA           99201                    Agreement                                 9/5/2000                  notice
AXIOM APPAREL GROUP                             1407 BROADWAY STE 1911                                  NEW YORK         NY           10018                    Vendor Terms Agreement
AXIUM FOODS                                     239 OAK GROVE AVENUE                                    SOUTH BELOIT     IL           61080                    Vendor Terms Agreement

B & F DISTRIBUTION LLC                          3920 S WALTON WALKER BLVD                              DALLAS            TX           75236                    Vendor Terms Agreement

BABY FANATIC                                    10900 NUCKOLS ROAD STE 220                             GLEN ALLEN        VA           23020                    Vendor Terms Agreement
BABY NEWS INCORPORATED                          6909 LAS POSITAS ROAD A                                LIVERMORE         CA           94550                    Vendor Terms Agreement
                                                5700 LOMBARDO CENTER DRIVE
BABY SWEDE L L C                                SUITE 202                                              CLEVELAND         OH           44131                    Vendor Terms Agreement
BABY TOGS INCORPORATED                          460 WEST 34TH STREET                                   NEW YORK          NY           10001                    Vendor Terms Agreement
                                                                                                                                      91761-
BABY TREND INCORPORATED                         1607 SOUTH CAMPUS AVENUE                               ONTARIO           CA           4335                     Vendor Terms Agreement
                                                                                                                                      12603-
BABYVISION INCORPORATED                         30 FIREMENS WAY                                        POOGHKEEPSIE      NY           6519                     Vendor Terms Agreement

Bacher Lawn and Landscape Contracting, LLC.     8519 Donges Bay Road                                   Mequon            WI           53092                    Lawn Care ST090
                                                10641 AIRPORT PULLING RD STE
BACK TO NATURE FOODS CO                         26                                                     NAPLE             FL           34109                    Vendor Terms Agreement
BACKFLIPS INC                                   610 UHLER ROAD SUITE BF                                EASTON            PA           18040                    Vendor Terms Agreement
Backyard Properties of Rock County, LLC         1171 N. Parker Drive                                   Janesville        WI           53545                    Lease                                  12/13/2010              9/30/2026
Backyard Properties of Rock County, LLC         1010 SOUTH MAINLINE DR                                 SEYMOUR           WI           54165                    Operating Lease                        12/13/2010              9/30/2026                N/A
                                                                                                                                      24445-
BACOVA GUILD LIMITED                            1000 COMMERCE CENTER DRIVE                             COVINGTON         VA           0000                     Vendor Terms Agreement
BADEN SPORTS INCORPORATED                       34114 21ST AVENUE SOUTH                                FEDERAL WAY       WA           98003                    Vendor Terms Agreement
Badger Landscaping & Lawn care LLC              5120 21st Ave                                          Kenosha           WI           53140                    Lawn Care ST027
                                                                                                                                                               Mailing machines for Stores,
Badger Mailing Systems (MailFinance)            478 Wheelers Farm Road                                 Milford           CT           06461                    SSC
Bailey Lawn Yard Care                           PO Box 3                                               Riverside         UT           54334                    Lawn Care ST799
BAJA INCORPORATED                               1428 PEARMAN DAIRY ROAD                                ANDERSON          SC           29625                    Vendor Terms Agreement
                                                2550 WEST TYVOLA ROAD STE
BAKER & TAYLOR                                  300                                                    CHARLOTTE         NC           28217                    Vendor Terms Agreement
BAKERSTONE INTERNATIONAL                        36 VESTA DRIVE                                         TORONTO           ON           M5P 2Z5       Canada     Vendor Terms Agreement
Baldwin Area Medical Center DBA Western
Wisconsin Health                                1100 Bergslien Street                                  Baldwin           WI           54002                    340B Contract                          10/12/2018
BALL BOUNCE & SPORT INCORPORATED                1401 JACOBSON AVENUE                                   ASHLAND           OH           44805                    Vendor Terms Agreement
BALLET GROUP INC                                389 5TH AVE # 1007                                     NEW YORK          NY           10016                    Vendor Terms Agreement
                                                6739 NEW CALHOUN HWY
BALTA USA INCORPORATED                          BUILDING 100                                           ROME              GA           30161                    Vendor Terms Agreement
BANANAGRAMS INCORPORATED                        845 ALLENS AVENUE                                      PROVIDENCE        RI           02905                    Vendor Terms Agreement
BANDAI AMERICA INCORPORATED                     2120 PARK PLACE STE 120                                EL SEGUNDO        CA           90245                    Vendor Terms Agreement
                                                                                                                                                               Certpro EMV Statement of
                                                                                                                                                               Work - Collis Test Tool
Bank of America Merchant Services               10 W. Broad St. Suite 2250                             Columbus          OH           43125                    Purchase                                 1/21/2016   Project, no end date




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                                                                                                                                                             Description of Contract or
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            Contract Counterparty                        Address1                     Address2                 City         State   Postal Code   Country        Debtor's Interest               Lease             Remaining Term              Government Contract
                                                                                                                                                            Certpro EMV Statement of
                                                                                                                                                            Work - Collis Test Tool
Bank of America Merchant Services           10 W. Broad St. Suite 2250                               Columbus          OH           43125                   Purchase                                 9/10/2015     Project, no end date
                                                                                                                                                            E-Payables Card provider for
Bank of America, N.A.                       135 S. LaSalle St                                        Chicago           IL           60603                   Debtor                                   9/15/2018            30 day notice

                                                                                                                                                            Merchant Services (credit
Bank of America, N.A.                       150 N. College St            NC-1-028-1501               Charlotte         NC           28255                   card processor) for Debtor               6/18/2002             10/12/2021
BANZAI INTERNATIONAL LTD(YANTIAN            2229 BARRY AVENUE                                        LOS ANGELES       CA           90064                   Vendor Terms Agreement
Baraga County Memorial Hospital             18341 U.S. Highway 41                                    L'anse            MI           49946                   340B Contract                            5/29/2018
Barbara Krueger                             N9581 Cemetery Road                                      Brillion          WI           54110                   Lease                                    9/16/1993              5/10/2022
Barbara Krueger                             N2585 PLAZA ROAD                                         WAUTOMA           WI           54982                   Operating Lease                          9/16/1993              5/31/2022                 N/A
                                            3426 N OLD ARLINGTON HEIGHTS                                                            60004-
BARCHARTS PUBLISHING INC                    ROAD                                                     ARLINGTON HEIGHTS IL           0000                    Vendor Terms Agreement
Barcodes SKO                                PO Box 0776                                              Chicago           IL           60690                   Mobi control
                                                                                                                                                            ICA - SOW Installation
                                                                                                                                                            Services Shopko Stores
Barcodes, Inc.                              200 W. Monroe St                   10th floor            Chicago           IL           60606                   Omaha DC                                 9/28/2018             12/31/2020           Addendum A-1
                                                                                                                                                                                                                                          MobiControl Maintenance and
Barcodes, Inc.                              200 W. Monroe St                   10th floor            Chicago           IL           60606                   Purchase agreement                        1/1/2019             12/31/2019            product key
                                            777 TERRACE AVENUE HEIGHTS                               HASBROUCK
BARDWIL INDUSTRIES INCORPORATED             PLAZA                                                    HEIGHTS           NJ           07604                   Vendor Terms Agreement
BARE SNACKS                                 38 KEYES AVE SUITE 210                                   SAN FRANCISCO     CA           94129                   Vendor Terms Agreement
                                                                                                                                    91405-
BARI HOME INC                               7811 LEMONA AVENUE                                       VAN NUYS          CA           0000                    Vendor Terms Agreement
BARNETTE OUTDOORS LLC                       955 LIVE OAK STREET                                      TARPON SPRINGS    FL           34689                   Vendor Terms Agreement
BARREL O FUN SNACK FOODS COMPANY            PO BOX 230                                               PERHAM            MN           56573                   Vendor Terms Agreement
Barrett Hospital Development Corporation    600 MT Highway 91 South                                  Dillon            MT           59725                   340B Contract                             4/4/2018
BARRINGTON STUDIOS LTD                      103 W ALGONQUIN ROAD                                     ALGONQUIN         IL           60102                   Vendor Terms Agreement

Barry Raskin and Michael Price, TIC         763 2nd Street #100 Encinitas CA                         Encinitas         CA           92024                   Lease                                  10/18/1990               4/30/2028
Barry Raskin and Michael Price, TIC         1008 E. DIVISION                                         NEILLSVILLE       WI           54456                   Operating Lease                        10/18/1990               4/30/2028                 N/A
BASHA ACCESSORIES LLC                       15 W 37TH 5TH FLOOR                                      NEW YORK          NY           10018                   Vendor Terms Agreement
BASIC FUN DIV OF GOOD STUFF CO              1080 INDUSTRIAL HIGHWAY                                  SOUTH HAMPTON     PA           18966                   Vendor Terms Agreement
BASIC FUN INC                               301 YAMATO ROAD STE 2112                                 BOCA RATON        FL           33431                   Vendor Terms Agreement

BASIC RESEARCH                              5742 WEST HAROLD GATTY DRIVE                             SALT LAKE CITY    UT           84116                   Vendor Terms Agreement

BASIC RESOURCES                             31 W 34TH STREET 6TH FLOOR                               NEW YORK          NY           10001                   Vendor Terms Agreement
                                                                                                                                                            Master Service Agreement
Bass Security                               26701 Richmond Rd                                        Cleveland         OH           44146                   Hardware                                  2/5/2015
                                                                                                                                                                                                                 automaticcally renew
                                                                                                                                                            Master Service Agreement                           for successive one-year
Bass Security                               26701 Richmond Rd                                        Cleveland         OH           44146                   Hardware                                  2/5/2015                 periods.
BAUDUCCO FOODS INC                          1705 NW 133RD AVE # 101                                  MIAMI             FL           33182                   Vendor Terms Agreement
BAUM BROTHERS IMPORTS INC                   350 5TH AVENUE STE 501                                   NEW YORK          NY           10118                   Vendor Terms Agreement
Baum Harmon Mercy Hospital                  255 North Welch Avenue                                   Primghar          IA           51245                   340B Contract                            4/18/2017             10/23/2018
                                                                                                                                    14604-
BAUSCH & LOMB                               1 BAUSCH & LOMB PLACE                                    ROCHESTER         NY           0000                    Vendor Terms Agreement
Bausch and Lomb                             1400 N Goodman                                           Rochester         NY           14609                   Optical Contact Lenses
                                                                                                                                    54302-
BAY CONVERTING INCORPORATED                 1330 ELIZABETH STREET                                    GREEN BAY         WI           9229                    Vendor Terms Agreement
                                            22 WEST 32ND STREET 16TH
BAY SALES COMPANY                           FLOOR                                                    NEW YORK          NY           10001                   Vendor Terms Agreement
                                                                                                                                    60171-
BAZAAR INC                                  1900 N. 5TH AVENUE                                       RIVER GROVE       IL           0000                    Vendor Terms Agreement
BAZOO GLOBAL LLC                            30 HAGER STREET                                          HUBBARD           OH           44425                   Vendor Terms Agreement
BB17 LLC                                    109 E 17TH STREET STE 80                                 CHEYENNE          WY           82001                   Vendor Terms Agreement
BBC APPAREL DBA JOU JOU                     1407 BROADWAY SUITE 202                                  NEW YORK          NY           10018                   Vendor Terms Agreement
BBD FL LLC                                  1289 CLINTMOORE ROAD                                     BOCA RATON        FL           33487                   Vendor Terms Agreement
BE AMAZING TOYS                             1741 CORNELL CIRCLE                                      SALT LAKE CITY    UT           84108                   Vendor Terms Agreement




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                Contract Counterparty                Address1                    Address2               City         State   Postal Code   Country         Debtor's Interest             Lease           Remaining Term          Government Contract
                                                                                                                                                     Weblogic ( SAS ) - End User
                                                                                                                                                     Software License
                                                                                                                                                     Agreement ( Oracle bought
BEA Systems, Inc.                        385 Moffett Park Drive                              Sunnyvale          CA           94089                   BEA in 2009 )                            4/1/2004           5/30/2019
BEACH HOUSE GROUP SALES LLC              215 CALIFORNIA STREET                               EL SEGUNDO         CA           90245                   Vendor Terms Agreement
                                         3601 S CONGRESS AVENUE STE
BEANITOS INC                             B500                                                AUSTIN             TX           78704                   Vendor Terms Agreement
BEAR RIVER HOLDINGS LLC                  7200 BISHOP ROAD STE 280                            PLANO              TX           75024                   Vendor Terms Agreement
BEATRICE HOME FASHIONS INCORPORA         151 HELEN STREET PO BOX 86                          SOUTH PLAINFIELD   NJ           07080                   Vendor Terms Agreement
BEATRISE LLC                             2057 PARIS METZ ROAD                                CHATTANOOGA        TN           37421                   Vendor Terms Agreement
                                         14 VANDERVENTER AVENUE STE
BEAUTY IDEAS GROUP LLC                   129                                                 PORT WASHINGTON    NY           11050                   Vendor Terms Agreement
BEAUTY TWENTY ONE COSMETICS INC          2021 S ARCHIBALD AVENUE                             ONTARIO            CA           91761                   Vendor Terms Agreement
Beaver Development, LLC                  PO Box 791                                          Dillon             MT           59725                   Lease                                   7/24/2001          11/30/2021
Beaver Development, LLC                  100 E HELENA STREET                                 DILLON             MT           59725                   Operating Lease                         7/24/2001          11/30/2021              N/A
BEBE BARTOONS LLC                        8077 N WILDOMAR DR                                  TUSCON             AZ           85743                   Vendor Terms Agreement
Becker LawnCare                          258 South St                                        Juneau             WI           53039                   Lawn Care ST793
Becton,Dickinson & Company               1 Becton Dr                                         Franklin Lakes     NJ           07417                   Syringe Rebates                          2/1/2016          12/31/2018
BEE INTERNATIONAL                        2311 BOSWELL ROAD SUITE 1                           CHULA VISTA        CA           91914                   Vendor Terms Agreement
                                                                                                                             61701-
BEER NUTS INCORPORATED                   103 N ROBINSON                                      BLOOMINGTON        IL           0000                    Vendor Terms Agreement
                                                                                                                             06897-
BEIERSDORF INCORPORATED #597184          45 DANBURY ROAD                                     WILTON             CT           0000                    Vendor Terms Agreement

BEKKA FASHION INC                        910 S LOS ANGELES ST SUITE 808                      LOS ANGELES        CA           90015                   Vendor Terms Agreement
BELCAM INC                               27 MONTGOMERY ST                                    ROUSES POINT       NY           12979                   Vendor Terms Agreement
                                                                                                                             90094-
BELKIN INTERNATIONAL INC                 12045 EAST WATERFRONT DRIVE                         PLAYA VISTA        CA           0000                    Vendor Terms Agreement
BELL PHARMACEUTICALS INCORPORATE         PO BOX 128                                          BELLE PLAINE       MN           56011                   Vendor Terms Agreement
BELL RANGER OUTDOOR APPAREL              1538 CRESCENT DRIVE                                 AUGUSTA            GA           30909                   Vendor Terms Agreement
BELL SPORTS INCORPORATED                 5550 SCOTTS VALLEY DRIVE                            SCOTTS VALLEY      CA           95066                   Vendor Terms Agreement
                                                                                                                                                     Leased space to Bellin
Bellin Health                            2401 South Oneida St                                Ashwaubenon        WI           54304                   Health at location 002                  6/17/2017           6/16/2019              N/A
                                                                                                                                                     Leased space to Bellin
Bellin Health                            2430 East Mason Street                              Green Bay          WI           54302                   Health at location 004                  11/1/2017          10/31/2019              N/A
                                                                                                                                                     Leased space to Bellin
Bellin Health                            1000 W. Northland Ave                               Appleton           WI           54914                   Health at location 015                  11/1/2017          10/31/2021              N/A
                                                                                                                                                     Leased space to Bellin
Bellin Health                            2820 Highway 63 South                               Rochester          MN           55904                   Health at location 035                  10/1/2017           9/30/2019              N/A
                                                                                                                             55906-                  Leased space to Bellin
Bellin Health                            3708 Highway 63 North                               Rochester          MN           3927                    Health at location 036                   6/1/2017           5/31/2019              N/A
                                                                                                                                                     Leased space to Bellin
Bellin Health                            2741 Roosevelt Rd                                   Marinette          WI           54143                   Health at location 102                  4/22/2017           9/30/2018              N/A
                                                                                                                                                     Leased space to Bellin
Bellin Health                            405 W Eighth Street                                 Monroe             WI           53566                   Health at location 120                10/27/2017           10/26/2019              N/A
                                                                                                                                                     Leased space to Bellin
Bellin Health                            555 W South Street                                  Freeport           IL           61032                   Health at location 125                10/20/2017            5/31/2019              N/A
                                                                                                                                                     Leased space to Bellin
Bellin Health                            3200 Broadway                                       Quincy             IL           62301                   Health at location 139                  10/1/2017           9/30/2018              N/A
                                                                                                                                                     Leased space to Bellin
Bellin Health                            2318 Lineville Rd                                   Suamico            WI           54173                   Health at location 177                  3/10/2017            3/9/2019              N/A
                                                                                                                                                     Leased space to Bellin
Bellin Health                            W3208 Van Roy Rd                                    Appleton           WI           54915                   Health at location 504                10/24/2014           10/31/2021              N/A
Bellin Memorial Hospital, INC            744 South Webster Avenue         P.O. Box 23400     Green Bay          WI           5405-3400               In Store Clinics
                                         744 South Webster Avenue P.O.
Bellin Memorial Hospital, Inc.           Box                                                 Green Bay          WI           54305                   Lease                                   8/10/2016          11/30/2021
Bellin Memorial Hospital, Inc.           2820 Roosevelt Road                                 MARINETTE          WI           51543                   Operating Lease                         8/10/2016          11/30/2021              N/A
                                                                                             HOPEWELL
BELLISSIMA ACCESSORIES LTD               114 LOGANS WAY                                      JUNCTION           NY           12533                   Vendor Terms Agreement
Beloit Capital, LLC.                     2787 Milwaukee Road Suite A                         BELOIT             WI           53511                   Operating Lease                         1/15/2019           5/14/2024              N/A
BEMIS MANUFACTURING                      300 MILL STREET                                     SHEBOYGAN FALLS    WI           53085                   Vendor Terms Agreement
Ben Glo/Portside                         3651 W Irving Park Rd                               Chicago            IL           60618                   Optical Supplies
Benefis Hospitals, Inc.                  1101 26th Street South                              Great Falls        MT           59405                   340B Contract                           7/13/2016
BENIKO INCORPORATED                      6623 E WASHINGTON BLVD                              LOS ANGELES        CA           90040                   Vendor Terms Agreement




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            Contract Counterparty                   Address1                Address2              City          State   Postal Code    Country        Debtor's Interest              Lease           Remaining Term          Government Contract
Bens lawn                               1262 N State Hwy 105                              Monticello       IL           61856                    Lawn Care ST638

BENTEX GROUP INC                        34 WEST 33RD STREET ROOM 200                      NEW YORK         NY           10001                    Vendor Terms Agreement
BERGAN LLC                              27600 SOUTH HWY 125                               MONKEY ISLAND    OK           74331                    Vendor Terms Agreement
                                        10 WOODBRIDGE CENTER DRIVE
BERKSHIRE FASHIONS                      STE 600                                           WOODBRIDGE       NJ           07095                    Vendor Terms Agreement
BERNARDO FASHIONS LLC                   463 7TH AVENUE SUITE 706                          NEW YORK CITY    NY           10018                    Vendor Terms Agreement
Berts lawn Care                         412 Hillword Lane                                 Friendship       WI           53934                    Lawn Care ST619
BERWICK INDUSTRIES INCORPORATED         9TH STREET & BOMBAY LANE                          BERWICK          PA           18603                    Vendor Terms Agreement
                                        10 WEST 37TH STREET 4TH
BEST ACCESSORY GROUP                    FLOOR                                             NEW YORK         NY           10018                    Vendor Terms Agreement
BEST BRANDS CONSUMER PRODUCTS IN        20 WEST 33RD STREET                               NEW YORK         NY           10001                    Vendor Terms Agreement
                                        250 WEST 39TH STREET ROOM
BEST INDUSTRIES LIMITED                 804                                               NEW YORK         NY           10018                    Vendor Terms Agreement
BEST MADE TOYS INTERNATIONAL ULC        120 ST REGIS CRESCENT N                           TORONTO          ON           M3J 123       Canada     Vendor Terms Agreement
Best Vending                            4150 Olson Memorial Hwy      Suite 200            Minneapolis      MN           55422                    Machinse vending
Best Vendors                            700 Meadow Lane N            Suite 400            Minneapolis      MN           55422                    vending machines
BESTCO INCORPORATED                     7362 E WINGSPANWAY                                SCOTTSDALE       AZ           85255                    Vendor Terms Agreement

BESTWAY INTERNATIONAL LIMITED           66 MODY ROAD                                      KOWLOON                                     Hong Kong Vendor Terms Agreement
BETHRICK INCORPORATED                   425 C E WASHINGTON STREET                         SLINGER          WI           53086                   Vendor Terms Agreement
                                                                                                                        91311-
BETTER OFFICE PRODUCTS                  19840 NORDHOFF PL                                 CHATSWORTH       CA           6607                     Vendor Terms Agreement
BETTER TRENDS DBA PAN OVERSEAS          25 KIMBERLY ROAD STE A                            EAST BRUNSWICK   NJ           08816                    Vendor Terms Agreement
BFI Waste Systems SKO                   11101 W Executive Dr                              Boise            ID           83713                    Boise DC waste
BFI Waste Systems SKO                   11101 W Executive Dr                              Boise            ID           83713                    DC Waste Collections
BG DISTRIBUTION & MARKETING             42 LAIRD DRIVE                                    TORONTO          ON           M4G 3T2       Canada     Vendor Terms Agreement
BH WORLDWIDE LLC                        302 5TH AVENUE 14TH FLOOR                         NEW YORK         NY           10001                    Vendor Terms Agreement
BIA CORDON BLEU INC                     100 ENTERPRISE COURT                              GALT             CA           95632                    Vendor Terms Agreement
                                                                                                                        33763-
BIC CORPORATION                         2420 ENTERPRISE ROAD STE 202                      CLEARWATER       FL           1703                     Vendor Terms Agreement
                                                                                                                        60060-
BIDDEFORD TEXTILE CORPORATION           300 TERRACE DRIVE                                 MUNDELEIN        IL           3836                     Vendor Terms Agreement
Big Dan's Lawn Care                     174 5th ave S                                     Carrington       ND           58421                    Lawn Care ST580

BIG JEWELRY COMPANY LLC                 115 W 30TH STREET 8TH FLOOR                       NEW YORK         NY           10001                    Vendor Terms Agreement
                                        655 WINDING BROOK DRIVE STE
BIG MOUTH INCORPORATED                  205                                               GLASTONBURY      CT           06033                    Vendor Terms Agreement
Big Pond Properties, LLC/Andy Moyle*    46702 Hwy M-26                                    Houghton         MI           49931                    Lease                                   12/1/1998          10/18/2019
Big Pond Properties, LLC/Andy Moyle*    E 9916 M28 EAST                                   WETMORE          MI           49895                    Operating Lease                         12/1/1998          10/31/2022              N/A
Big Sky Lawn Care                       RR 1 Box 1069                                     Hardin           MT           59037                    Lawn Care ST549
BIG STRIKE LLC                          151 W ROSECRANS AVENUE                            GARDENA          CA           90248                    Vendor Terms Agreement
                                                                                                                        37204-
BIG TIME TOYS L L C                     2823 DOGWOOD PLAZA                                NASHVILLE        TN           0000                     Vendor Terms Agreement
Bigelow Landscaping LLC                 4275 Schneider Drive                              Oregon           WI           53575                    Lawn Care ST127
BIJOUX INTERNATIONAL INCORPORATE        34 WEST 33RD STREET                               NEW YORK         NY           10001                    Vendor Terms Agreement
Bill Tuttle/Wilport LLC                 105 Front Street                                  Beaufort         NC           28516                    Lease                                 11/10/2006            6/30/2027
Bill Tuttle/Wilport LLC                 1710 NORTH STREET                                 SENECA           KS           66538                    Operating Lease                       11/10/2006            6/30/2027              N/A
Billy Bettis                            4478 E 100 N                                      Rockville        IN           47872                    Lawn Care ST639
BIO CREATIVE ENTERPRISES INC            350 KALMUS DRIVE                                  COSTA MESA       CA           92626                    Vendor Terms Agreement

BIOCODEX INC                            255 SHORELINE DRIVE STE 450                       REDWOOD CIY      CA           94065                    Vendor Terms Agreement
BIOFILM INCORPORATED                    3225 EXECUTIVE RIDGE                              VISTA            CA           92081                    Vendor Terms Agreement
BIOLAB INTERNATIONAL INC                130 DENISON STREET                                MARKHAM          ON           L3R 1B6       Canada     Vendor Terms Agreement
BIOWORLD MERCHANDISING                  2111 W WALNUT HILL LANE                           IRVING           TX           75038                    Vendor Terms Agreement
BIRCHWOOD TRADING                       718 MARYLAND STREET                               COLUMBIA         SC           29201                    Vendor Terms Agreement
BISSELL HOMECARE INTERNATIONAL          2345 WALKER AVENUE                                GRAND RAPIDS     MI           49504                    Vendor Terms Agreement
BIVONA & COMPANY LLC                    125 JACKSON AVENUE STE 1                          EDISON           NJ           08837                    Vendor Terms Agreement
Black Hills FederalCU                   1135 MT. RUSHMORE ROAD                            CUSTER           SD           57730                    Sublease                                 4/1/2009           3/31/2019              N/A

BLACK HILLS GOLD BY COLEMAN COMP        2707 MOUNT RUSHMORE ROAD                          RAPID CITY       SD           57701                    Vendor Terms Agreement
BLACKBIRD PRODUCTS GROUP LLC            9780 INTER OCEAN DRIVE                            CINCINNATI       OH           45246                    Vendor Terms Agreement
Blackhawk                               6220 Stoneridge Mall Rd                           Pleasanton       CA           94588                    gift cards




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                                                                                                                         47202-
BLAIREX LABORATORIES INV            PO BOX 2127                                          COLUMBUS           IN           2127                     Vendor Terms Agreement
BLIII INTERNATIONAL LLC             8600 NW 41 STREET                                    DORAL              FL           33166                    Vendor Terms Agreement

BLIP LLC                            3955 ANNAPOLIS LANE SUITE 100                        PLYMOUTH           MN           55447                    Vendor Terms Agreement
                                                                                                                         60523-
BLISTEX INCORPORATED                1800 SWIFT DRIVE                                     OAK BROOK          IL           0000                     Vendor Terms Agreement
BLOEM LLC                           3301 HUDSON TRAIL DRIVE                              HUDSONVILLE        MI           49426                    Vendor Terms Agreement
BLONDER COMPANY                     3950 PROSPECT AVENUE                                 CLEVELAND          OH           44115                    Vendor Terms Agreement
                                                                                                                         06897-
BLUE BUFFALO COMPANY LTD            11 RIVER ROAD                                        WILTON             CT           6010                     Vendor Terms Agreement
BLUE DIAMOND GROWERS                1802 C STREET                                        SACRAMENTO         CA           95808                    Vendor Terms Agreement
                                    3302 FUHRMAN AVENUE E STE
BLUE DOG BAKERY                     202                                                  SEATTLE            WA           98102                    Vendor Terms Agreement
BLUE ORANGE GAMES                   1000 ILLINOIS STREET                                 SAN FRANCISCO      CA           94107                    Vendor Terms Agreement
Blue Rhino                          5650 University Pkwy            Suite 400            Winston-Salem      NC           27105                    propane
BLUE RIDGE HOME FASHIONS INCORPO    15015 ARROW HIGHWAY                                  IRWINDALE          CA           91706                    Vendor Terms Agreement

BLUE SKY THE COLOR OF IMAGINATIO    15991 RED HILL AVENUE STE 101                        TUSTIN             CA           92780                    Vendor Terms Agreement
BLUE STAR CLOTHING COMPANY          2268 OCEAN PARKWAY                                   BROOKLYN           NY           11223                    Vendor Terms Agreement
BLUE ZEBRA BRANDS INC DBA FRESH     1601 SOUTH GRANT STREET                              DENVER             CO           80210                    Vendor Terms Agreement
                                    7050 NEW HORIZONS
BLUEBERRY BOULEVARD LLC             BOULEVARD                                            NORTH AMITYVILLE   NY           11701                    Vendor Terms Agreement
                                                                                                                         92121-
BLUEBOX OPCO LLC DBA INFANTINO      10025 MESA RIM ROAD                                  SAN DIEGO          CA           0000                     Vendor Terms Agreement
BluRay LeanLogistics- SKO           1351 S Waverly Rd                                    Holland            MI           49423                    DC Transportation
BM MERCHANDISING CO LTD             16 CRAIGWOOD RD                                      AVENEL             NJ           07001                    Vendor Terms Agreement
                                                                                                                                                  Software License                                                      Software License Agreement - Quote
                                                                                                                                                  Agreement - mainframe                                                   Q-00238851-3 support contract
BMC Software Inc                    2101 CityWest Blvd                                   Huston             TX           77042                    software                                7/16/1991          12/31/2019               100520
Bob and Dave Lawn Care              PO Box 828                                           Kaukkauna          WI           54130                    Lawn Care ST502
Bob and Dave's Lawn & Landscape
Maintenance                         PO Box 828                                           Kaukauna           WI           54130                    Lawn Care ST001
Bob and Dave's Lawn & Landscape
Maintenance                         PO Box 828                                           Kaukauna           WI           54130                    Lawn Care ST002
Bob and Dave's Lawn & Landscape
Maintenance                         PO Box 828                                           Kaukauna           WI           54130                    Lawn Care ST042
Bob and Dave's Lawn & Landscape
Maintenance                         PO Box 828                                           Kaukauna           WI           54130                    Lawn Care ST051
Bob's Lawn Service                  1520 W Ninth St                                      Mt Carmel          IL           62863                    Lawn Care ST716
BOEHRINGER INGELHEIM CONSUMER HE    900 RIDGEBURY ROAD                                   RIDGEFIELD         CT           06877                    Vendor Terms Agreement
                                                                                                                         53225-
BOELTER COMPANIES                   11100 W SILVER SPRING ROAD                           MILWAUKEE          WI           3117                     Vendor Terms Agreement

BOLEY INTERNATIONAL HK LTD          67 MODY ROAD                                         TST E KOWLOON                                 Hong Kong Vendor Terms Agreement
BON BEBE                            31 WEST 34TH STREET                                  NEW YORK           NY           10001                   Vendor Terms Agreement

BON BINI LLC                        10 WEST 33RD STREET STE 528                          NEW YORK           NY           10001                    Vendor Terms Agreement
BONAKEMI USA                        2550 S PARKER RD SUITE 600                           AURORA             CO           80014                    Vendor Terms Agreement
BOND MANUFACTURING COMPANY          1700 W 4TH STREET                                    ANTIOCH            CA           94509                    Vendor Terms Agreement
                                    5741 BUCKINGHAM PARKWAY
BONFIT AMERICA INCORPORATED         UNIT A                                               CULVER CITY        CA           90230                    Vendor Terms Agreement
BONNIE PLANTS                       1727 HIGHWAY 223                                     UNION SPRINGS      AL           36089                    Vendor Terms Agreement

BOPPY COMPANY LLC                   560 GOLDEN RIDGE ROAD #150                           GOLDEN             CO           80401                    Vendor Terms Agreement
BORDAN SHOE CO                      4335 E VALLEY BLVD                                   LOS ANGELES        CA           90032                    Vendor Terms Agreement
Borgess Lee Memorial Hospital       420 West High Street                                 Dowagiac           MI           49047                    340B Contract                           10/1/2017          11/29/2018
                                                                                                                                                  L00202 Clifton TX Tax
Bosque County                       927 N Avenue G                                       Clifton            TX           76634                    Abatement Incentive                      9/1/2016          11/30/2031                N/A
BOSTON AMERICA CORP                 325 NEW BOSTON STREET                                WOBURN             MA           01801                    Vendor Terms Agreement
BOSTON TREAT HOUSE                  9230 BAL BAY POINT                                   BOYNTON BEACH      FL           33473                    Vendor Terms Agreement
                                                                                                                         02062-
BOSTON WAREHOUSE TRADING COMPANY    59 DAVIS AVENUE                                      NORWOOD            MA           3031                     Vendor Terms Agreement
BOTANICAL INTERESTS INC             660 COMPTON STREET UNIT A                            BROOMFIELD         CO           80020                    Vendor Terms Agreement




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           Contract Counterparty               Address1              Address2           City          State   Postal Code   Country        Debtor's Interest              Lease           Remaining Term          Government Contract
BOTANICAL LABORATORIES INC SYMTE    1441 W SMITH ROAD                           FERNDALE           WA         98240                   Vendor Terms Agreement
Boundary Community Hospital         6640 Kaniksu Street                         Bonners Ferry      ID         83805                   340B Contract                           3/20/2017           8/29/2018
Bowman Enterprises                  PO Box 361                                  Wolf Point         MT         59201                   Lawn Care ST543
BP INDUSTRIES INC                   5300 E CONCOURS STREET                      ONTARIO            CA         91764                   Vendor Terms Agreement
BRACKETRON INCORPORATED             5249 W 73RD STREET                          EDINA              MN         55439                   Vendor Terms Agreement
BRADS ORGANIC LLC                   7 HOOVER AVENUE                             HAVERSTRAW         NY         10927                   Vendor Terms Agreement

Bradshaw                            9409 Buffalo Avenue                         Rancho Cucamonga   CA         91730                   Fixtures/Placement
                                                                                RANCHO
BRADSHAW INTERNATIONAL INCORPORA    9409 BUFFALO AVENUE                         CUCAMONGA          CA         91730                   Vendor Terms Agreement
BRAETAN                             512 7TH AVENUE                              NEW YORK           NY         10018                   Vendor Terms Agreement

BRAHA INDUSTRIES INC                10 WEST 33RD STREET SUITE 220               NEW YORK           NY         10001                   Vendor Terms Agreement
                                                                                                              92029-
BRAINSTORM PRODUCTS                 1011 SOUTH ANDREASEN DRIVE                  ESCONDIDO          CA         0000                    Vendor Terms Agreement
BRAMLI                              300 TELEFAIR RD BLDG 500                    SAVANNAH           GA         31415                   Vendor Terms Agreement
BRAND BUZZ CONSUMER PRODUCTS        115 KENNEDY DRIVE                           SAYREVILLE         NJ         08872                   Vendor Terms Agreement
BRAND CASTLE LLC                    5111 RICHMOND ROAD                          BEDFORD HEIGHTS    OH         44146                   Vendor Terms Agreement
BRAND FANATICS                      PO BOX 234                                  HILDEBRAN          NC         28637                   Vendor Terms Agreement
BRAVADO INTERNATIONAL MERCHAND      5820 CANOGA AVENUE                          WOODLAND HILLS     CA         91367                   Vendor Terms Agreement
                                                                                                              90670-
BRAVO SPORTS                        12801 CARMENITA ROAD                        SANTA FE SPRINGS   CA         4805                    Vendor Terms Agreement
BREAKING WAVES LLC                  1441 BROADWAY STE 801                       NEW YORK           NY         10018                   Vendor Terms Agreement
Breakthrough Fuel- SKO              1385 West MainAve                           DePere             WI         54115                   DC Transportation
                                                                                                              63188-
BREMNER FOOD GROUP                  PO BOX 618                                  ST LOUS            MO         0618                    Vendor Terms Agreement
BRENMAR COMPANY INCORPORATED        8523 S 117 STREET                           LAVISTA            NE         68128                   Vendor Terms Agreement
BRENTWOOD ORIGINALS                 20639 S FORDYCE                             LONG BEACH         CA         90810                   Vendor Terms Agreement
Brewer & Ireland Construction       237 SW 30th ave                             Trenton            OH         64683                   Lawn Care ST705
BREWSTER HOME FASHIONS              67 PACELLA PARK DRIVE                       RANDOLPH           MA         02368                   Vendor Terms Agreement
BRIARPATCH                          150 ESSEX STREET SUITE 301                  MILLBURN           NJ         07041                   Vendor Terms Agreement
BRICA INCORPORATED                  500 W 5TH STREET SUITE 200                  CHARLOTTE          NC         28202                   Vendor Terms Agreement
BRICA INCORPORATED                  500 W 5TH STREET SUITE 200                  CHARLOTTE          NC         28202                   Vendor Terms Agreement
Bridgeport Retail - Utah, LLC       P.O. Box 428                                Lake Oswego        OR         97034                   Lease                                 12/15/2014           12/31/2031
Bridgeport Retail - Utah, LLC       4850 WEST 3500 SOUTH                        WEST VALLEY CITY   UT         84120                   Operating Lease                       12/15/2014           12/31/2031              N/A
                                                                                                              10018-
BRIEFLY STATED INC                  1359 BROADWAY RM 1800                       NEW YORK           NY         7102                    Vendor Terms Agreement
BRIGGS NEW YORK                     1407 BROADWAY SUITE 605                     NEW YORK           NY         10018                   Vendor Terms Agreement

BRIGHT STAR US INCORPORATED         2010 NORTHWEST 84TH AVENUE                  MIAMI              FL         33122                   Vendor Terms Agreement
                                                                                                              49267-
BRIGHTZ LTD                         8000 YANKEE RD SUITE 225                    OTTAWA LAKE        MI         9571                    Vendor Terms Agreement
BRITE STAR INTERNATIONAL LIMITED    2900 SOUTH 20TH STREET                      PHILADELPHIA       PA         19145                   Vendor Terms Agreement
                                    c/o Brixmor Property Group 450
Brixmor SPE 1 LLC                   Lexington Ave Floor 13                      New York           NY         10017                   Lease                                   4/27/2018          10/31/2023

Brixmor SPE 1 LLC                   10996 N PORT WASHINGTON RD                  MEQUON             WI         53092                   Operating Lease                         4/27/2018          10/31/2023              N/A
                                                                                                              60504-
BRK BRANDS INC FIRST ALERT          3901 LIBERTY STREET ROAD                    AURORA             IL         8122                    Vendor Terms Agreement
Brodstone Memorial Hospital         520 E. 10th Street                          Superior           NE         68978                   340B Contract                            6/6/2018
                                                                                                              10018-
BROOKS FITCH APPAREL GROUP L L C    1370 BROADWAY                               NEW YORK           NY         7302                    Vendor Terms Agreement
                                                                                                              98401-
BROWN & HALEY                       PO BOX 1596                                 TACOMA             WA         1596                    Vendor Terms Agreement
Brown County Hospital               945 E. Zero St                              Ainsworth          NE         69210                   340B Contract                           6/20/2017
BROWNIE BRITTLE LLC                 2253 VISTA PARKWAY 8                        WEST PALM BEACH    FL         33411                   Vendor Terms Agreement
BROWNMED                            1300 LUNDBERG DRIVE W                       SPIRIT LAKE        IA         51360                   Vendor Terms Agreement
BROWNMED                            4435 MAIN STREET STE 820                    KANSAS CITY        MO         64111                   Vendor Terms Agreement
BRUMLOW MILLS INCORPORATED          PO BOX 1779                                 CALHOUN            GA         30703                   Vendor Terms Agreement
                                                                                                              75247-
BRUNTON INTERNATIONAL INCORPORAT    3310 QUEBEC STREET                          DALLAS             TX         6608                    Vendor Terms Agreement
                                                                                                              53217-
BRUSHPOINT INNOVATIONS INC          8560 N GREENVALE                            BAYSIDE            WI         0000                    Vendor Terms Agreement
BTI TOOLS LLC                       1043 FORDTOWN ROAD                          KINGSPORT          TN         37663                   Vendor Terms Agreement




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            Contract Counterparty                          Address1                    Address2                    City         State   Postal Code    Country        Debtor's Interest               Lease           Remaining Term            Government Contract

BTS Properties, LLC and Trip Investments, LLC   3305C N. Ballard Road                                   Appleton           WI           54911                    Lease                                    9/12/2007            2/3/2029

BTS Properties, LLC and Trip Investments, LLC   2101 EAST EVERGREEN DRIVE                               APPLETON           WI           54913                    Operating Lease                          9/12/2007           1/31/2029                N/A
BTWEEN LLC                                      1411 BROADWAY ROOM 2520                                 NEW YORK           NY           10018                    Vendor Terms Agreement
                                                                                                                                        90670-
BUENO OF CALIFORNIA                             13607 OGDEN DRIVE                                       SANTE FE SPRINGS   CA           0000                     Vendor Terms Agreement
BUFFALO GAMES LLC                               220 JAMES E CASEY DRIVE                                 BUFFALO            NY           14206                    Vendor Terms Agreement
                                                48 WEST 37TH STREET 7TH
BUILT NY INCORPORATED                           FLOOR                                                   NEW YORK           NY           10018                    Vendor Terms Agreement
Bull Marketing Development LC                   1341 NORTH MAIN STREET                                  LOGAN              UT           84341                    Sublease                                 2/27/2015           2/27/2020                N/A
                                                                                                                                                                 Operating Lease -Ground
Bullen Family Enterprises, LLC                  1341 NORTH MAIN STREET                                  LOGAN              UT           84341                    Lease                                     8/8/1988           2/29/2020                N/A
                                                                                                                                                                 Corporate Advantage Sales
                                                                                                                                                                 Agreement -
                                                                                25925 Telegraph Road,                                                            Telecommunications
BullsEye Telecom, Inc.                          Attn: Legal Department          Suite 210               Southfield         MI           48033                    Services                               12/18/2015             5/1/2020

BUMBLE BEE FOODS LLC                            9655 GRANITE RIDGE SUITE 100                            SAN DIEGO          CA           92123                    Vendor Terms Agreement
                                                                                                                                        85034-
BUMKINS FINER BABY PRODUCTS                     5454 E WASHINGTON ST STE A-2                            PHOENIX            AZ           2136                     Vendor Terms Agreement
Bureau Veritas                                  100 Northpointe Parkway                                 Buffalo            NY           14228                    Rebate Agreement.                        3/14/2012                    NA
                                                                                                                                                                 Partial compensation for a
Bureau Veritas                                  100 Northpointe Parkway                                 Buffalo            NY           14228                    QA team member.                         9/12/2006                   NA
Burgess Health Center                           1600 Diamond Street                                     Onawa              IA           54040                    340B Contract                          10/11/2013             6/6/2018
BURLEN CORPORATION FITZGERALD UN                U S HWY 82 WEST                                         TIFTON             GA           31793                    Vendor Terms Agreement
                                                21 09 BORDEN AVENUE 7TH
BURMA BIBAS INCORPORATED                        FLOOR                                                   LONG ISLAND CITY   NY           11101                    Vendor Terms Agreement
Burns Security                                  1404 N Midland                                          Nampa              ID           83651                    Boise DC Security
BURPEE GARDEN PRODUCTS                          300 PARK AVENUE                                         WARMINSTER         PA           18974                    Vendor Terms Agreement
BURTS BEES INCORPORATED                         701 DISTRIBUTION DRIVE                                  DURHAM             NC           27709                    Vendor Terms Agreement
Butte Silver Bow Community Health Center        445 Centennial Ave                                      Butte              MT           59701                    340B Contract                            7/12/2016
BUTTERFLY HEALTH INC                            PO BOX 830                                              LOS GATOS          CA           95031                    Vendor Terms Agreement
                                                                                                                                                                 professional services - real
Buxton Company                                  2651 South Polaris Dr                                   Fort Worth         TX           76137                    estate
BUXTON COMPANY                                  45 PLAINFIELD STREET                                    CHICOPEE           MA           01013                    Vendor Terms Agreement
                                                                                                                                        27893-
BUYERS DIRECT SOURCING L L C                    PO BOX 8206                                             WILSON             NC           1206                     Vendor Terms Agreement

BUYSEASONS ENTERPRISES LLC                      5915 SOUTH MOORLAND ROAD                                NEW BERLIN         WI           53151                    Vendor Terms Agreement
                                                NEW MANDARIN PLAZA 14                                   TSIM SHA TSUI E
BUZZ BEE TOYS (HK) CO LIMITED                   SCIENCE MUSEUM RD                                       KOWLOON                                       Hong Kong Vendor Terms Agreement
BYER CALIFORNIA                                 66 POTRERO AVENUE                                       SAN FRANCISCO      CA           94013                   Vendor Terms Agreement
C & D Outdoor Improvements                      329 W Main St                                           Hoopeston          IL           60942                   Lawn Care ST634
C & F ENTERPRISES INCORPORATED                  819 BLUE CRAB ROAD                                      NEWPORT NEWS       VA           25606                   Vendor Terms Agreement
C & K LLC DBA COOLA SUNCARE                     1726 ORD WAY                                            OCEANSIDE          CA           92056                   Vendor Terms Agreement
                                                                                                                                        24506-
C B FLEET CO INC                                PO BOX 11349                                            LYNCHBURG          VA           8337                     Vendor Terms Agreement
C LIFE CORPORATION                              1385 BROADWAY STE 300                                   NEW YORK           NY           10018                    Vendor Terms Agreement
                                                404 BNA DRIVE BUILDING 100                                                              37217-
C R GIBSON L L C                                6TH FL                                                  NASHVILLE          TN           0000                     Vendor Terms Agreement
C. Blaine & Marilyn McVicker                    P.O. Box 7152                                           Pueblo West        CO           81007                    Lease                                     1/4/1977            1/5/2022
C. Blaine & Marilyn McVicker                    312 FLACK STREET                                        ALLIANCE           NE           69301                    Operating Lease                           1/4/1977           1/31/2022                N/A
                                                                                                                                                                 Software Maintenance - (
                                                                                                                                                                 CA bought Automic who
CA Technologies                                 14475 Ne 24th Street            Suite 210               Bellevue           WA           98007                    bought UC4 )                                                10/21/2019
                                                                                                                                                                                                                                            License Agreement # 284250
                                                                                                                                                                 Mainframe software usage                                                    Amendment 1 - 8-14-2004
                                                                                                                                                                 and maintenance,                                                            Amendment 2 - 1-31-2006
                                                                                                                                                                 subscription and/or                                                         Amendment 3 - 1-31-2009
                                                                                                                                                                 maintenance for CA                                                          Amendment 4 - 1-31-2012
CA Technologies                                 One Computer Associates Plaza                           Islanda            NY           11749                    software                                 1/31/2003           1/30/2021       Amendment 5 - 1-7-2013




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                                                                                                                                                                    UCCEL Corporation - UCC
                                                                                                                                                                    One, UCC seven, UCC Eleven
                                                                                                                                                                    (mainframe software) -
                                                                                                                                                                    Acquired by Computer
CA Technologies                                    One Computer Associates Plaza                           Islanda            NY           11749                    Associates in 1987                    10/31/1985            1/30/2021          UCCEL 5038
                                                                                                                                                                    Business Services
Cable one Business                                 210 E Earll Drive                                       Phoenix            AZ           85012                    Agreement                                3/6/2017
CACTUS TRADING                                     485 7TH AVENUE SUITE 501                                NEW YORK           NY           10018                    Vendor Terms Agreement
CADACO                                             4300 W 47TH STREET                                      CHICAGO            IL           60632                    Vendor Terms Agreement
CALBEE NORTH AMERICA LLC                           2600 MAXWELL WAY                                        FAIRFIELD          CA           94534                    Vendor Terms Agreement
Caleb Stromquist                                   38272 300th St                                          Roseau             MN           56751                    Lawn Care ST744
CALIFORNIA COSTUME COLLECTIONS                     210 ANDERSON STREET                                     LOS ANGELES        CA           90033                    Vendor Terms Agreement
CALIFORNIA CREATIONS                               15135 WOODLAWN AVENUE                                   TUSTIN             CA           92780                    Vendor Terms Agreement
CALIFORNIA FLORAL & HOME                           14711 EAST CLARK AVENUE                                 CITY OF INDUSTRY   CA           91746                    Vendor Terms Agreement
CALIFORNIA INNOVATIONS INCORPORA                   36 DUFFLAW ROAD                                         TORONTO            ON           M6A 2W1       Canada     Vendor Terms Agreement
Callaway Hospital District DBA Callaway District
Hospital                                           211 East Kimball                                        Callaway           NE           68825                    340B Contract                            4/4/2017
CALPHALON CORPORATION                              29 EAST STEPHENSON STREET                               FREEPORT           IL           61032                    Vendor Terms Agreement
CALTEX APPAREL INC DBA JONATHAN                    2636 S MAIN STREET                                      LOS ANGELES        CA           90007                    Vendor Terms Agreement
                                                                                                                                           07004-
CAMBRIDGE SILVERSMITHS LIMITED                     116 LEHIGH DRIVE                                        FAIRFIELD          NJ           0000                     Vendor Terms Agreement
CAMELBAK PRODUCTS                                  ONE VISTA WAY                                           ANOKA              MN           55303                    Vendor Terms Agreement
                                                                                                                                                                                                                                            SOW Addendum A-4 Time and
Camera Corner Connecting Point Inc                 529 N. Monroe                                           Green Bay          WI           54301                    Master ICA                              11/7/2013            6/1/2023           Materials
CAMERONS COFFEE                                    5700 12TH AVENUE EAST                                   SHAKOPEE           MN           55379                    Vendor Terms Agreement
CAMPBELL SALES COMPANY                             1 CAMPBELL PLACE                                        CAMDEN             NJ           08103                    Vendor Terms Agreement
Cam's Lawn Landscape                               18911 Hwy 63                                            Bloomfield         IA           52537                    Lawn Care ST684
CANADIAN GROUP                                     430 SIGNET DRIVE SUITE A                                TORONTO            ON           M9L 2T6       Canada     Vendor Terms Agreement
CANDYRIFIC LLC                                     108 MCARTHUR DR                                         LOUISVILLE         KY           40207                    Vendor Terms Agreement
Cannonball Express                                 10808 South 132nd Street                                Omaha              NE           68138                    Sublease                                6/30/2035           6/30/2035              N/A

CANTERBURY POTTERIES LTD                           6674 COOPERS HAWK CT                                    LAKEWOOD RANCH     FL           34202                    Vendor Terms Agreement
CAPELLI OF NEW YORK                                1 EAST 33RD STREET                                      NEW YORK           NY           10016                    Vendor Terms Agreement
Capri Optics                                       1459 30th St                                            Brooklyn           NY           11218                    Optical Lenses
CAPTIVATING HEADGEAR                               3001 36TH AVENUE N W                                    NORMAN             OK           73072                    Vendor Terms Agreement

                                                   c/o Capview Partners LLC 5910 N.
Capview Income & Value Fund IV, LP                 Central Expressway Suite 1625                           Dallas             TX           75206                    Lease                                 12/15/2014           12/31/2035
                                                   c/o Capview Partners LLC 5910 N.
                                                   Central Expressway Suite 1625
Capview Income & Value Fund IV, LP                 Dallas TX 75206                                         Dallas             TX           75206                    Lease                                 12/15/2014           12/31/2035
                                                   c/o Capview Partners LLC 5910 N.
                                                   Central Expressway Suite 1625
Capview Income & Value Fund IV, LP                 Dallas TX 75206                                         Dallas             TX           75206                    Lease                                 12/15/2014           12/31/2031
Capview Income & Value Fund IV, LP                 1001 HIGHWAY 15 SOUTH                                   FAIRMONT           MN           56031                    Operating Lease                       12/15/2014           12/31/2035              N/A
Capview Income & Value Fund IV, LP                 2741 ROOSEVELT ROAD                                     MARINETTE          WI           54143                    Operating Lease                       12/15/2014           12/31/2035              N/A
Capview Income & Value Fund IV, LP                 1450 EAST GENEVA STREET                                 DELAVAN            WI           53115                    Operating Lease                       12/15/2014           12/31/2031              N/A
                                                                                                                                                                    Carbon Black Bit9 Security
Carbon Black                                       1100 Winter St.                                         Waltham            MA           02451                    Platform                              05/29/2018            5/28/2019
CARDINAL INDUSTRIES                                21 01 5TH AVENUE                                        LONG ISLAND CITY   NY           11101                    Vendor Terms Agreement
CARE APPAREL INCORPORATED                          127 09 91ST AVENUE                                      RICHMOND HILL      NY           11418                    Vendor Terms Agreement
                                                   ALFONSO JUNCO 4 COLONIA                                 CUERNAVACA
CARETAS REV SA DE CV                               LAZARO CARDENAS                                         MORELES                         62080         MEXICO     Vendor Terms Agreement
                                                                                                                                           57101-
CAREX HEALTHCARE BRANDS                            PO BOX 2526                                             SIOUX FALLS        SD           1235                     Vendor Terms Agreement
CARGILL SALT                                       9320 EXCELSIOR BLVD                                     HOPKINS            MN           55343                    Vendor Terms Agreement
Carl Zeiss Vision                                  12121 Scripps Summit Dr            Suite 400            San Diego          CA           92131                    Optical Lens Provider
                                                                                                                                           55306-
CARLSON PET PRODUCTS                               3200 CORPORATE CENTER DRIVE                             BURNSVILLE         MN           9999                     Vendor Terms Agreement
Carlson Store Fixtures                             NW7334                                                  Minneapolis        MN           55485                    fixtures
CARMA LABORATORIES INCORPORATED                    5801 W AIRWAYS AVENUE                                   FRANKLIN           WI           53132                    Vendor Terms Agreement
CAROLE ACCESSORIES INCORPORATED                    1607 S GRAND AVENUE                                     LOS ANGELES        CA           90015                    Vendor Terms Agreement




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Carolina Coupon Clearing, Inc. d/b/a Carolina                                 Attn: Sue Joyner & Pam                                                        Coupon Processing
Services Company, Inc.                          635 Vine Street               Myers                  Winston-Salem    NC           27101                    Agreement                               10/5/2012           10/4/2020
CAROLINA HOSIERY MILLS INCORPORA                2240 TUCKER STREET                                   BURLINGTON       NC           27215                    Vendor Terms Agreement
CAROLINA PAD                                    PO BOX 7525                                          CHARLOTTE        NC           28241                    Vendor Terms Agreement
CAROLINA PET COMPANY LLC (C-HUB)                90 OLD SCHOOL ROAD                                   PROSPERITY       SC           29127                    Vendor Terms Agreement
                                                                                                                                   23230-
CARPENTER COMPANY                               5016 MONUMENT AVENUE                                RICHMOND          VA           3620                     Vendor Terms Agreement
CARPET ART DECO                                 480 LA FLEUR AVENUE                                 LA SALLE          QC           H8R 3H9       Canada     Vendor Terms Agreement
CARRERA OF AMERICA                              2 CORPORATE DRIVE                                   CRANBURY          NJ           08512                    Vendor Terms Agreement
                                                5930 PRESTON VIEW BLVD STE
CARTAMUNDI USA INCORPORATED                     200                                                 DALLAS            TX           75240                    Vendor Terms Agreement
CASA INNOVATIONS GROUP LLC                      155 BAY RIDGE AVENUE                                BROOKLYN          NY           11220                    Vendor Terms Agreement
CASCADE TISSUE GROUP                            4001 PACKARD ROAD                                   NIAGARA FALLS     NY           14303                    Vendor Terms Agreement
Case Haub Consulting                            8345 Coachlight Dr                                  West Des Moines   IA           50265                    Mtm Processing                          11/5/2015
CASE LOGIC                                      42 SILVER MINE RD                                   SEYMOUR           CT           06483                    Vendor Terms Agreement

CASHCO DISTRIBUTOR                              6430 NE COLUMBIA BOULEVARD                          PORTLAND          OR           97218                    Vendor Terms Agreement
Cashstar                                        25 Pearl St                                         Portland          OR           04101                    digital gift card services

CASIO AMERICA INCORPORATED                      570 MOUNT PLEASANT AVENUE                           DOVER             NJ           07801                    Vendor Terms Agreement
                                                                                                                                                            Telecommunications
Cass Information Systems                        7 Independence Pointe         Ste 200               Greenville        SC           29615                    Expense Management                      5/31/2007
CASTLEWOOD APPAREL CORPORATION                  42 W 39TH STREET FLOOR 8                            NEW YORK          NY           10018                    Vendor Terms Agreement
                                                                                                                                                            Software Development and
                                                                                                                                                            License Agreement -
Catalyst U.S.A., Inc.                           1971 Washignton Street                              Grafton           WI           53024                    1/15/1992                               1/15/1992           3/14/2019
                                                                                                                                                            Support Services
Catalyst U.S.A., Inc.                           1971 Washignton Street                              Grafton           WI           53024                    Amendment - 6/30/2012                                       3/14/2019
CATHY DANIELS                                   1411 BROADWAY                                       NEW YORK CITY     NY           10018                    Vendor Terms Agreement
Catt's Realty Company                           829 W Main Street Ste. C                            Gaylord           MI           49735                    Lease                                    9/3/2008           8/31/2024
Catt's Realty Company                           784 S. CEDAR STREET STE E                           KALKASKA          MI           49646                    Operating Lease                          9/3/2008           8/31/2024                N/A
Cavalier Improvements, Inc./Darold Johnson,
Pres.                                           PO Box 131                                          Cavalier          ND           58220                    Lease                                   10/8/1991           1/31/2024
Cavalier Improvements, Inc./Darold Johnson,
Pres.                                           601 DIVISION AVENUE SOUTH                           CAVALIER          ND           58220                    Operating Lease                         10/8/1991           1/31/2024                N/A
                                                                                                                                   30506-
CAVANAGH GROUP INTERNATIONAL                    9180 FOUR MILE CREEK ROAD                           GAINESVILLE       GA           0000                     Vendor Terms Agreement
CAYRE GROUP LIMITED                             1407 BROADWAY 41ST FLOOR                            NEW YORK          NY           10018                    Vendor Terms Agreement
                                                                                                                                   60169-
CCA INDUSTRIES INCORPORATED                     2500 W. HIGGINS RD                                  HOFFMAN ESTATES   IL           0000                     Vendor Terms Agreement

CCT TECH USA INCORPORATED                       5215 N OCONNOR BLVD STE 670                         IRVING            TX           75039                    Vendor Terms Agreement
                                                                                                                                   48375-
CDMA                                            43157 W NINE MILE RD                                NOVI              MI           4117                     Vendor Terms Agreement
                                                                                                                                                            Gentran - Software
                                                                                                                                                            Subscription and Support
                                                                                                                                                            Renewal ( Switched to CDW
CDW                                             4321 West College Ave.                              Appleton          WI           54914                    a VAR of IBM )                                              3/31/2019
                                                                              200 N. Milwaukee                                                              Master Product Sales                                                    VMWare Technical Support and
CDW Direct LLC                                  Attn: General Counsel         Avenue                Vernon Hills      IL           60061                    Agreement - VMWARE                      1/31/2010          12/31/2019     Subscription Services (SnS)
                                                                              200 N. Milwaukee                                                              Master Product Sales
CDW Direct LLC                                  Attn: General Counsel         Avenue                Vernon Hills      IL           60061                    Agreement - Red Hat                     1/31/2010           11/302019   Red Hat Enterprise Agreement
                                                                              200 N. Milwaukee                                                                                                                                    Agreement no 40130 - IBM Sterling
CDW Direct LLC                                  Attn: General Counsel         Avenue                Vernon Hills      IL           60061                    IBM Passport Advantage                  10/1/2018           3/31/2019               B2B




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              Contract Counterparty                    Address1                  Address2                 City        State   Postal Code   Country        Debtor's Interest              Lease           Remaining Term                Government Contract


                                                                                                                                                                                                                                        Agreement no 40130
                                                                                                                                                                                                                                   - IBM Spectrum Protect Suite
                                                                                                                                                                                                                                              Terabyte
                                                                                                                                                                                                                                - IBM Tivoli Storage Manager for
                                                                                                                                                                                                                                         System Backup and
                                                                                                                                                                                                                                              Recovery
                                                                                                                                                                                                                              - IBM XL C for AIX Authorized User
                                                                                                                                                                                                                              - IBM XL C/C++ for AIX Authorized
                                                                                                                                                                                                                                                User
                                                                                                                                                                                                                               - IBM Communications Server for
                                                                                                                                                                                                                                      Data Center Deployment
                                                                                                                                                                                                                                          Concurrent User
                                                                                                                                                                                                                             - IBM TXSeries Processor Value Unit
                                                                          200 N. Milwaukee                                                                                                                                          - IBM Security QRadar Core
CDW Direct LLC                              Attn: General Counsel         Avenue               Vernon Hills      IL           60061                   IBM Passport Advantage                   4/1/2018            3/31/2019                  Appliance
                                                                          200 N. Milwaukee                                                            Veritas Enterprise Vault
CDW Direct LLC                              Attn: General Counsel         Avenue               Vernon Hills      IL           60061                   maintenance renewal                   12/19/2018           12/18/2019           Veritas Enterprise Vault
                                                                          200 N. Milwaukee                                                            Adobe Creative Cloud -
CDW Direct LLC                              Attn: General Counsel         Avenue               Vernon Hills      IL           60061                   General Terms of Use                  12/12/2018           12/12/2019 Adobe Creative Cloud subscription

                                                                          200 N. Milwaukee                                                            Symantec End Point                                                         Symantec Endpoint Protection, PGP
CDW Direct LLC                              Attn: General Counsel         Avenue               Vernon Hills      IL           60061                   Protection - Anti Virus               10/30/2018           10/31/2020        Encryption, and Protection Suite
CE NORTH AMERICA LLC                        6950 NW 77TH COURT                                 MIAMI             FL           33166                   Vendor Terms Agreement
Cedar Creek Lawn Care Services, LLC.        N1952 County Road BB                               Marinette         WI           54143                   Lawn Care ST102
                                                                                                                              33139-
CEDAR FRESH                                 550 ELEVENTH STREET                                MIAMI BEACH       FL           0000                    Vendor Terms Agreement
CEJON ACCESSORIES                           390 5TH AVENUE STE 602                             NEW YORK          NY           10018                   Vendor Terms Agreement

                                                                                                                                                      Universal Type Client
Celartem, Inc. d.b.a. Extensis              1800 SW First Ave.            Suite 500            Portland          OR           97201                   Annual Support Agreement                1/15/2019            1/14/2020

Celebrating Freedom                         1903 NORTH BUCKEYE AVENUE                          ABILENE           KS           67410                   Sublease                                7/11/2018            3/31/2019                    N/A
                                                                                                                              90640-
CELEBRITY PINK DIV 2253 APPAREL             1708 GAGE ROAD                                     MONTIBELLO        CA           6504                    Vendor Terms Agreement
CELESTE CONTRACT PACKAGING LLC              7978 INDUSTRIAL PARK ROAD                          EASON             MD           21601                   Vendor Terms Agreement
                                                                                                                              02888-
CELLINI DIV OF L & J ACCESSORIES            215 JEFFERSON BOULEVARD                            WARWICK           RI           3818                    Vendor Terms Agreement
                                                                                                                              02888-
CELLINI INCORPORATED                        215 JEFFERSON BOULEVARD                            WARWICK           RI           3818                    Vendor Terms Agreement
CELSIUS INCORPORATED                        140 NE 4TH AVENUE STE C                            DELRAY BEACH      FL           33483                   Vendor Terms Agreement
CENTRAL CAROLINA HOSIERY INC                211 SHADY OAK DRIVE                                BISCOE            NC           27209                   Vendor Terms Agreement
Central Dakota Investment, Inc              655 North 2nd Street                               Carrington        ND           58421                   Lease                                   6/30/2015            6/30/2025
Central Dakota Investment, Inc              6717 HIGHWAY 200                                   CARRINGTON        ND           58421                   Operating Lease                         6/30/2015            6/30/2025                    N/A
Central Montana Community Health Center,
Inc.                                        406 1st Ave S                                      Lewistown         MT           59457                   340B Contract                           4/24/2018
Central Montana Medical Center              408 Wendell Avenue                                 Lewistown         MT           59457                   340B Contract                           7/12/2016
CENTRIC BEAUTY LLC                          350 FIFTH AVENUE                                   NEW YORK          NY           10118                   Vendor Terms Agreement

CEPIA L L C                                 121 HUNTER AVENUE SUITE 103                        ST LOUIS          MO           63124                   Vendor Terms Agreement
                                                                                                                              63755-
CERAMO COMPANY INCORPORATED                 681 KASTEN DRIVE                                   JACKSON           MO           0000                    Vendor Terms Agreement
Ceridian                                    3311 East Old Shakopee Rd                          Minneapolis       MN           55425                   gift card production
                                                                                                                              53711-
CERTCO INCORPORATED                         5321 VERONA ROAD                                   MADISON           WI           6050                    Vendor Terms Agreement
Certegy                                     11601 Roosevelt Blvd                               St Petersburg     FL           33716                   check services
                                                                                                                                                      Check fraud prevention at                           7/31/17 - month to
Certegy Check Services, Inc.                11601 Roosevelt Blvd.                              St. Petersburg    FL           33716                   POS                                      8/1/2014     month since then
                                                                                                                                                      Risk Management                                     30 day prior written
Certegy Cheer                               11601 Roosevelt Blvd.                              St. Petersburg    FL           33716                   Agreement                                8/8/2014                 notice
CERTIFIED INTERNATIONAL CORPORAT            36 VANDERBILT AVENUE                               PLEASANTVILLE     NY           10570                   Vendor Terms Agreement
CG Services LLC                             PO Boc 700386                                      Oostburg          WI           53070                   Lawn Care ST503
CG Services LLC                             n1403 Sauk Trail Road                              Oostburg          WI           53070                   Lawn Care ST609




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             Contract Counterparty                            Address1                     Address2                   City            State   Postal Code    Country        Debtor's Interest              Lease           Remaining Term             Government Contract
CG Services LLC                                  PO Box 700386                                               Oostburg            WI           53070                    Lawn Care ST116
CGH Medical Center                               100 East LeFevre Road                                       Sterling            IL           61081                    340B Contract                            5/4/2018           9/29/2018
                                                 c/o Capital Growth Buchalter Inc.
CGP CANADIAN, LTD.                               361 Summit Blvd Suite 110                                   Binningham          AL           35243                    Lease                                   8/14/2015           7/31/2026
CGP CANADIAN, LTD.                               308 S 2nd St                                                Canadian            TX           79014                    Operating Lease                         8/14/2015           7/31/2026                 N/A

CGP Orofino, LLC                                 361 Summit Boulevard Suite 110                              Birmingham          AL           35243                    Lease                                   8/14/2015          10/31/2031
CGP Orofino, LLC                                 429 MICHIGAN AVE                                            OROFINO             ID           83544                    Operating Lease                         8/14/2015          10/31/2031                 N/A
                                                 c/o Capital Growth Buchalter Inc.
CGP Seymour, Ltd.                                361 Summit Blvd Suite 110                                   Binningham          AL           35243                    Lease                                   3/11/2016          11/30/2031
CGP Seymour, Ltd.                                711 S Main St                                               Seymour             TX           76380                    Operating Lease                         3/11/2016          11/30/2031                 N/A
                                                 c/o Capital Growth Buchalter Inc.
CGSK Tulia, Ltd.                                 361 Summit Blvd Suite 110                                   Binningham          AL           35243                    Lease                                   3/11/2016          11/30/2031
CGSK Tulia, Ltd.                                 908 NW 6th St                                               Tulia               TX           79088                    Operating Lease                         3/11/2016          11/30/2031                 N/A
CH Ag, LLC                                       3690 Summit Drive                                           Pocatello           ID           83201                    Lease                                    9/4/2014           9/30/2030
CH Ag, LLC                                       440 W. MAIN STREET                                          TREMONTON           UT           84337                    Operating Lease                          9/4/2014           9/30/2030                 N/A
CHABY INTERNATIONAL                              10981 DECATUR ROAD                                          PHILADELPHIA        PA           19154                    Vendor Terms Agreement
Chadron Lawn Care                                1970 Maple St                                               Chardron            NE           69337                    Lawn Care ST212
Chaffin, Inc.                                    P.O. Box 520                                                Dodge City          KS           67801                    Lease                                    1/8/2003           3/31/2022
Chaffin, Inc.                                    2008 WEST HIGHWAY 12                                        MOBRIDGE            SD           57601                    Operating Lease                          1/8/2003           3/31/2022                 N/A
                                                                                                                                                                       Group Purchasing
Chain Drug Consortium LLC                        2300 NW Corporate Blvd                                      Boca Raton          FL           33431                    Organization
CHAMPION POWER EQUIPMENT                         10006 SANTA FE SPRINGS RD                                   SANTE FE SPRINGS    CA           90670                    Vendor Terms Agreement
CHANEY INSTRUMENT COMPANY                        965 WELLS STREET                                            LAKE GENEVA         WI           53147                    Vendor Terms Agreement
CHANGES DIV OF BOWE IND                          88 36 77TH AVENUE                                           GLENDALE            NY           11385                    Vendor Terms Agreement
                                                                                                                                              75244-
CHAPAL ZENRAY INCORPORATED                       4435 SPRING VALLEY ROAD                                     DALLAS              TX           3704                     Vendor Terms Agreement
                                                                                                                                              31902-
CHAR BROIL                                       1442 BELFAST AVENUE                                         COLUMBUS            GA           1240                     Vendor Terms Agreement
CHARD INTERNATIONAL LLC                          2022 SCHOOL STREET                                          TWO RIVERS          WI           54241                    Vendor Terms Agreement
Charlie Shepard                                  1121 N 5th St                                               Savanna             IL           61074                    Lawn Care ST635


                                                                                                                                                                                                                                                        Timewarner
                                                                                                                                                                                                                                                     Spectrum Business
                                                                                                                                                                                                                                                      Charter Spectrum
                                                                                                                                                                                                                                                      Charter Business
                                                                                                                                                                                                                                             Spectrum Enterprise - Service Order -
                                                                                                                                                                       National Account Multi-Site                                              1717 Lawrence Dr. DePere WI
                                                 Attn: National Accounts - Charter 8399 S. Fiddler's Green                                                             Business Internet Access                                              Spectrum Enterprise - Service Order -
Charter Communications                           Business                          Circle, 6th floor         Greenwood Village   CO           80111                    Service Agreement                       5/27/2014           4/30/2021    1450 W Main Ave DePere WI
CHATEAU BODYWEAR USA INC                         215 ST ZOTIQUE WEST                                         MONTREAL            QC           H2V 1A2       Canada     Vendor Terms Agreement
CHATEAU INTERNATIONAL INCORPORAT                 330 5TH AVENUE                                              NEW YORK            NY           10001                    Vendor Terms Agreement
CHATTEM INCORPORATED                             1715 WEST 38TH STREET                                       CHATTANOOGA         TN           37409                    Vendor Terms Agreement

                                                                                                                                                                       Cross Channel Marketing
                                                                                                                                                                       Platform Access (email
                                                                                                                                                                       services); current contract
Cheetah Digital, Inc. f/k/a Experian Marketing                                                                                                                         through July 25, 2019 -
Solutions, Inc, an Experian company (vendor                                                                                                                            currently min monthly
#9055907)                                        72 West Adams Street                                        Chicago             IL           60603                    payment of $17,000
Chelt Development LLC                            311 E. Park Ave. Apt. 202                                   Minocqua            WI           54548                    Lease                                   4/27/1994          10/14/2019
Chelt Development LLC                            1011 E. SPRUCE ST.                                          ABBOTSFORD          WI           54405                    Capital Lease                           4/27/1994          10/31/2019                 N/A
                                                                                                                                              49685-
CHERRY CENTRAL COOPERATIVE INC                   PO 988                                                      TRAVERSE CITY       MI           0988                     Vendor Terms Agreement
Cherry County Hospital                           510 N Green St                                              Valentine           NE           69201                    340B Contract                            6/5/2018

Cherry County Treasurer                          525 E Hwy 20                                                Valentine           NE           69201                    L00523 VALENTINE NE TIF                  5/1/2017           5/31/2029                 N/A
                                                                                                                                              75320-                   Master Software License
Chesapeake Systems Solutions Inc.                PO Box 205367                                               Dallas              TX           5367                     Agreement - 09/09/2003                   9/9/2003
                                                                                                                                              75320-                   Support Renewal -
Chesapeake Systems Solutions Inc.                PO Box 205367                                               Dallas              TX           5367                     12/20/2018                                                 12/31/2019

CHF INDUSTRIES INCORPORATED                      ONE PARK AVENUE 9TH FLOOR                                   NEW YORK            NY           10016                    Vendor Terms Agreement




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              Contract Counterparty                    Address1            Address2              City        State   Postal Code    Country        Debtor's Interest              Lease           Remaining Term           Government Contract

CHI HOME                                   250 PENNBRIGHT DR SUITE 150                HOUSTON           TX           77090                    Vendor Terms Agreement
                                                                                                                     17601-
CHICCO USA INC                             1826 WILLIAM PENN WAY                      LANCASTER         PA           0000                     Vendor Terms Agreement
CHILDRENS APPAREL NETWORK                  77 SOUTH FIRST STREET                      ELIZABETH         NJ           07206                    Vendor Terms Agreement

CHL Neenah LLC                             P.O. Box 745 11182 West M-115              Mesick            MI           49668                    Lease                                 12/15/2014           12/31/2031
CHL Neenah LLC                             699 S GREEN BAY ROAD                       NEENAH            WI           54956                    Operating Lease                       12/15/2014           12/31/2031                N/A

CHL Winona LLC                             P.O. Box 745 11182 West M-115              Mesick            MI           49668                    Lease                                 12/15/2014           12/31/2031
                                                                                                                     84087-
CHOICE FOODS LLC                           2044 W 2425 S                              WOODS CROSS       UT           2376                     Vendor Terms Agreement
CHRISTINA AMERICA INCORPORATED             5555 CYPIHOT STREET                        MONTREAL          QC           H4S 1R3       Canada     Vendor Terms Agreement
                                                                                                                     88201-
CHRISTMAS BY KREBS CORPORATION             3911 SOUTH MAIN STREET                     ROSWELL           NM           5311                     Vendor Terms Agreement

CHRISTMAS HOUSE TAIWAN CO LTD              8FL NO 50 SUNG CHIANG ROAD                 TAIPEI            ROC                        TAIWAN     Vendor Terms Agreement
Chums Inv                                  PO Box 950                                 Huricanne         UT           84737                    Optical Equipment
                                                                                                                     08543-
CHURCH & DWIGHT                            469 N HARRISON STREET                      PRINCETON         NJ           5297                     Vendor Terms Agreement
                                                                                                                                              Administrative Services to
                                                                                                                                              process claims and case
Cigna Health and Life Insurance Company    11095 Viking Drive, Suite 350              Eden Prairie      MN           55346                    management                               1/1/2017          12/31/2019
Cintas SKO                                 2302 E Railroad                            Nampa             ID           83687                    Boise DC uniforms
Cintas SKO                                 3001 Enterprise Ave                        Appleton          WI           54913                    DC Fire protections
CIOX                                       925 North Point Parkway                    Alpharetta        GA           30005                    Personnel Files
CIRCLE GLASS DBA CIRCLE IMPORTS            13 JENSEN DRIVE #C                         SOMERSET          NJ           08873                    Vendor Terms Agreement
                                                                                                                                              ReSale Master Services
                                                                                                                                              Agreement - Software and
                                                                                                                     95134-                   hardware support for                                                    Cisco Global Solutions Services
Cisco Systems Inc                          170 W. Tasman Drive                        San Jose          CA           1706                     network equipment                     10/26/2000                                  SMARTnet

                                                                                                                                              L00208 Seymour TX Tax
Cit of Seymour                             711 S Main St                              Seymour           TX           76380                    Abatement Incentive pg38                 9/1/2016           1/31/2019                N/A

                                                                                                                                              L00208 Seymour TX Tax
Cit of Seymour                             711 S Main St                              Seymour           TX           76380                    Abatement Incentive pg38                 9/1/2016           1/31/2019                N/A

                                                                                                                                              L00208 Seymour TX Tax
Cit of Seymour                             711 S Main St                              Seymour           TX           76380                    Abatement Incentive pg38                 1/1/2017           1/31/2019                N/A
                                                                                                                     06877-
CITRA SOLV LLC                             188 SHADOW LAKE ROAD                       RIDGEFIELD        CT           1032                     Vendor Terms Agreement
                                                                                                                                              Corporate License
Citrix Systems Inc                         6400 NW 6th Way                            Fort Lauderdale   FL           33309                    Agreement - Software                    3/30/2000           6/15/2019
CITY BY CITY                               19 GROSVENOR AVENUE                        EAST PROVIDENCE   RI           02914                    Vendor Terms Agreement
                                                                                                                                              L00720 BATESVILLE IN RE
City of Batesville                         100 Cross Country Plaza                    Batesville        IN           47006                    Tax Incentive                            9/1/2016           6/30/2022                N/A
                                                                                                                                              L00580 CARRINGTON ND
City of Carrington, North Dakota           6717 Highway 200                           Carrington        ND           58421                    Sales tax allowance                     10/1/2015           7/31/2022                N/A
                                                                                                                                              L00565 CHEROKEE IA Tax
City of Cherokee                           1620 N. 2Nd Street                         Cherokee          IA           51012                    Abatement Incentive pg 9                 9/1/2015          10/31/2030                N/A
                                                                                                                                              L00587 CLARINDA IA
                                                                                                                                              Economic development tax
City of Clarinda, IA                       1180 S 16Th St                             Clarinda          IA           51632                    increment incentive                     11/1/2015           1/31/2026                N/A
                                                                                                                                              L00202 Clifton TX Tax
City of Clifton                            927 N Avenue G                             Clifton           TX           76634                    Abatement Incentive                      9/1/2016          11/30/2031                N/A
                                                                                                                                              L00592 Comanche TX Sales
City of Comanche, TX                       1300 E Central Ave                         Comanche          TX           76442                    tax allowance                            3/1/2016           1/31/2021                N/A
                                                                                                                                              L00592 Comanche TX Sales
City of Comanche, TX                       1300 E Central Ave                         Comanche          TX           76442                    tax allowance                            3/1/2016           1/31/2021                N/A
                                                                                                                                              L00560 FAIRVIEW OK TIF
City of Fairview                           816 E State Rd                             Fairview          OK           73737                    From City Pg 3                           2/1/2015           2/28/2025                N/A




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             Contract Counterparty                  Address1                     Address2              City        State   Postal Code   Country        Debtor's Interest              Lease           Remaining Term            Government Contract

                                                                                                                                                   L00203 Jacksboro TX Tax
City of Jacksboro                       124 Lumar Dr                                        Jacksboro         TX           76458                   Abatement Incentive pg38                 1/1/2017           12/31/2021               N/A

                                                                                                                                                   L00203 Jacksboro TX Tax
City of Jacksboro                       124 Lumar Dr                                        Jacksboro         TX           76458                   Abatement Incentive pg38                 1/1/2017           10/31/2031               N/A
                                                                                                                                                   L00581 LISBON ND Sales tax
City of Lisbon, North Dakota            1709 Main Street                                    Lisbon            ND           58054                   allowance                               10/1/2015            9/30/2020               N/A
                                                                                                                                                   L00563 MAUSTON WI
                                                                                                                                                   Development Allowance
City of Mauston                         406 Gateway Avenue                                  Mauston           WI           53948                   PG2 Item 4                               8/1/2015           10/31/2030               N/A
                                                                                                                                                   L00585 MAYVILLE ND Sales
City of Mayville                        935 3Rd Street Se                                   Mayville          ND           58257                   tax agreement                            3/1/2016            2/28/2021               N/A
                                                                                                                                                   L00716 MT. CARMEL IL TIF
City of Mt. Carmel                      1520 W. 9Th Street                                  Mt. Carmel        IL           62863                   pg 1                                     2/1/2015            5/31/2021               N/A

City of Valentine                       525 E Hwy 20                                        Valentine         NE           69201                   L00523 VALENTINE NE TIF                  3/1/2014            5/31/2029               N/A
                                                                                                                                                   L00570 WAGNER SD Sales
City of Wagner, South Dakota            905 W Sd Highway 46                                 Wagner            SD           57380                   tax allowance                            6/1/2015            5/31/2020               N/A
CJ PRODUCTS INC                         2045 CORTE DEL NOGAL                                CARLSBAD          CA           92011                   Vendor Terms Agreement
                                        3211 INTERNET BOULEVARD
CKK HOME DECOR LP                       SUITE 150                                           FRISCO            TX           75034                   Vendor Terms Agreement
                                                                                                                           60132-                  Trademark Research And
Clarivate Analytics (Compumark) Inc.    P.O. Box 3773                                       Carol Stream      IL           3773                    Protection
                                                                                                                           98032-
CLASSIC ACCESSORIES INCORPORATED        22640 68TH AVENUE SOUTH                             KENT              WA           0000                    Vendor Terms Agreement
                                        21655 TROLLEY INDUSTRIAL
CLASSIC JERKY COMPANY                   DRIVE                                               TAYLOR            MI           48180                   Vendor Terms Agreement
Classic Optical Labs                    3710 Belmont Ave                                    Youngstown        OH           44505                   Optical Equipment
CLAUDIAS CANINE CUISINE                 100 FOUR PAWS LANE                                  MAUMELLE          AR           72113                   Vendor Terms Agreement
                                                                                                                           94080-
CLAY ART PRODUCTS LLC                   389 OYSTER POINT BLVD STE #6                        S SAN FRANCISCO   CA           1951                    Vendor Terms Agreement
                                                                                                                           97204-
CLEAN ONES CORPORATION                  122 SW THIRD AVE                                    PORTLAND          OR           0000                    Vendor Terms Agreement

CLEAR INNOVATION LLC                    10 WEST 33RD STREET STE 516                         NEW YORK          NY           11367                   Vendor Terms Agreement
CLEO WRAP                               4025 VISCOUNT AVENUE                                MEMPHIS           TN           38118                   Vendor Terms Agreement
                                                                                                                           29681-
CLEVA HONG KONG INC (SHANGHAI)IM        601 REGENT PARK CT                                  GREENVILLE        SC           0000                    Vendor Terms Agreement
                                                                                                                                                   Research Subscription
Cleveland Research                      1375 E 9th St                    #2700              Cleveland         OH           44114                   Agreement                                1/7/2014
                                                                                                                                                   Research Subscription                               Renew Automatically
Cleveland Research                      1375 E 9th St                    #2700              Cleveland         OH           44114                   Agreement                                1/7/2014               yearly
CLEVERMADE LLC                          6102 INNOVATION WAY                                 CARLSBAD          CA           92009                   Vendor Terms Agreement
CLIC TIME LLC                           50 TICE BLVD SUITE 340                              WOODCLIFF LAKE    NJ           07677                   Vendor Terms Agreement
CLIMB INCORPORATED (C-HUB)              626 W LOCKLING                                      BROOKFIELD        MO           64628                   Vendor Terms Agreement
CLIO DESIGNS INCORPORATED               ONE GROVE STREET                                    WATERTOWN         MA           02472                   Vendor Terms Agreement
CLOROX SALES COMPANY                    1221 BROADWAY                                       OAKLAND           CA           94612                   Vendor Terms Agreement
CLOVER TECHNOLOGIES GROUP LLC           4200 N COLUNBUS STREET                              OTTAWA            IL           61350                   Vendor Terms Agreement
                                                                                                                           60169-
CLT LOGISTICS INCORPORATED              2500 W. HIGGINS RD, SUITE 1230                      HOFFMAN ESTATES   IL           0000                    Vendor Terms Agreement
CNL International                       6600 Artestia Blvd                                  Buena Park        CA           90620                   fixtures
                                                                                                                           97218-
COAST CUTLERY COMPANY                   8033 NE HOLMAN STREET                               PORTLAND          OR           4019                    Vendor Terms Agreement
COAST TO COAST IMPORTS LLC              1711 LATHAM STREET                                  MEMPHIS           TN           38106                   Vendor Terms Agreement
COASTAL COCKTAILS INC                   151 KALMUS DRIVE STE H6                             COSTA MESA        CA           92626                   Vendor Terms Agreement
COASTAL PET PRODUCTS INC                911 LEADWAY AVENUE                                  ALLIANCE          OH           44601                   Vendor Terms Agreement

COATS & CLARK                           3430 TORINGDON WAY STE 301                          CHARLOTTE         NC           28277                   Vendor Terms Agreement

COBY ELECTRONICS CORP                   1991 MARCUS AVENUE STE 301                          LAKE SUCCESS      NY           11042                   Vendor Terms Agreement
                                                                                                                                                   2018 20 oz. Sparkling
                                                                                                                                                   Beverage Growth Funding
Coca-Cola North America                 1 Coca-Cola Plaza                                   Atlanta           GA           30303                   Program                                  7/1/2018            6/30/2019




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             Contract Counterparty                     Address1                      Address2                  City        State   Postal Code    Country         Debtor's Interest              Lease             Remaining Term             Government Contract
                                                                                                                                                            Checkstand Cooler Funding
Coca-Cola North America                    1 Coca-Cola Plaza                                         Atlanta          GA           30303                    Agreement                                7/15/2018              7/13/2019
COCALO INCORPORATED                        2121 ALTON PKWY #150                                      IRVINE           CA           92606                    Vendor Terms Agreement
                                                                                                                                                            Master Service Agreement
Coeus Blue                                 525 E. Michigan Ave,             Suite 320                Saline           MI           48176                    11/14/2017                             11/14/2017          Month to month
COFFEE HOLDING COMPANY                     3475 VICTORY BOULEVARD                                    STATEN ISLAND    NY           10314                    Vendor Terms Agreement
COGHLANS LIMITED                           121 IRENE STREET                                          WINNIPEG         MB           R3T 4C7       Canada     Vendor Terms Agreement
COGIMEX USA CORP                           201 E 171ST STREET                                        HARVEY           IL           60426                    Vendor Terms Agreement
COHESION PRODUCTS INCORPORATED             895 DOVE STREET 3RD FLOOR                                 NEWPORT BEACH    CA           92660                    Vendor Terms Agreement
Coinstar                                   1800 114th Ave SE                                         Bellevue         WA           98004                    loose coin counter
                                           c/o American Realty Capital
                                           Properties 2325 E Cabelback Road
Cole SH L'Anse MI, LLC                     Suite 1100                                                Phoenix          AZ           85016                    Lease                                     7/3/2008              4/30/2024
Cole SH L'Anse MI, LLC                     15900 PICTURE BAY TRAIL                                   L'ANSE           MI           49946                    Operating Lease                           7/3/2008              4/30/2024                N/A
COLEMAN CABLE INCORPORATED                 1530 SHIELDS DRIVE                                        WAUKEGAN         IL           60085                    Vendor Terms Agreement
                                                                                                                                   67219-
COLEMAN COMPANY INCORPORATED               3600 N HYDRAULIC                                          WICHITA          KS           0000                     Vendor Terms Agreement
Cole's Lawn Care                           226 2nd st NW                                             Valley City      ND           58072                    Lawn Care ST736
COLGATE PALMOLIVE COMPANY                  300 PARK AVENUE                                           NEW YORK         NY           10022                    Vendor Terms Agreement
COLLECTION EIGHTEEN LTD                    385 FIFTH AVENUE                                          NEW YORK         NY           10016                    Vendor Terms Agreement
COLLEEN & COMPANY INC DBA SIMPLY           5555 78TH ST W SUITE A                                    MINNEAPOLIS      MN           55439                    Vendor Terms Agreement

Colleen Kelly and Richard Kelly            625 Brownsboro Meridian Road                              Eagle Point      OR           97524                    Lease                                  10/11/2007               8/31/2023
Colleen Kelly and Richard Kelly            1212 W. MAIN STREET                                       LYONS            KS           67554                    Operating Lease                        10/11/2007               8/31/2023                N/A

COLLEGE CONCEPTS LLC                       3350 RIVERWOOD PKWY SE #850                               ATLANTA          GA           30339                    Vendor Terms Agreement
Collier Landscaping                        81522 Hwy 70                                              Ord              NE           68862                    Lawn Care ST597
COLONIAL CANDLE MVP GROUP INTL             1031 LE GRAND BOULEVARD                                   CHARLESTON       SC           29492                    Vendor Terms Agreement
COLORS IN OPTICS LIMITED                   366 FIFTH AVENUE STE 804                                  NEW YORK         NY           10001                    Vendor Terms Agreement

COLUMBIA FRAME INCORPORATED                6251 RUE NOTRE DAME E STREET                              MONTREAL         QC           H1N 2E9       Canada     Vendor Terms Agreement
COLUMBIAN HOME PRODUCTS                    550 N RAND ROAD                                           LAKE ZURICH      IL           60047                    Vendor Terms Agreement
Columbus Commerce Center, LLC              33 East Main Street Suite 500                             Madison          WI           53703                    Lease                                  12/30/2011               9/30/2027
Columbus Commerce Center, LLC              200 COMMERCE DRIVE                                        COLUMBUS         WI           53925                    Operating Lease                        12/30/2011               9/30/2027                N/A
Columbus Community Hospital, Inc.          1515 Park Avenue                                          Columbus         WI           53925                    340B Contract                            7/6/2017
COMBE INCORPORATED                         1101 WESTCHESTER AVENUE                                   WHITE PLAINS     NY           10604                    Vendor Terms Agreement
COMBI USA INCORPORATED                     3520 B WESTINGHOUSE BLVD                                  CHARLOTTE        NC           28273                    Vendor Terms Agreement

                                           Attn: Vice President of Business                                                                                 Business Services Order
Comcast Business                           Services Sales Operations          1701 JFK Blvd, 20 FL   Philadelphia     PA           19103                    Agreement                                1/15/2015                               Customer ID 8518054
Comdata - SKO                              5301 Mayland Way                                          Brentwood        TN           37027                    DC Transportation
COMET CLOTHING COMPANY                     126 N 3RD STREET SUITE 350                                MINNEAPOLIS      MN           55401                    Vendor Terms Agreement

COMFORT HOME USA                           195 RARITAN CENTER PARKWAY                                EDISON           NJ           08837                    Vendor Terms Agreement
COMFORT RESEARCH                           1719 ELIZABETH AVENUE NW                                  GRAND RAPIDS     MI           49504                    Vendor Terms Agreement

                                                                                                                                                            Monitoring, Bill
                                                                                                                                                            Consolidation, and Servie
Comfort Systems USA                        2655 Fortune Circle West                                  Indianapolis     IN           46241                    Provider for HVAC Services               6/30/2016                5 months
                                                                                                                                                            Provide Dropship
Commerce Technologies, LLC                 ZEN Building                                              Albany           NY           12203                    Facilitation Service                     6/17/2019                9 months
COMMERCIAL WATER DISTRIBUTING              560 N 22ND STREET                                         ZUMBROTA         MN           55992                    Vendor Terms Agreement

                                                                                                                                                                                                               can cancel in 8 business
                                                                                                                                                            Affiliate advertising market                       days via online account
Commission Junction                        530 East Montecito Street                                 Santa Barbara    CA           93103                    place                                    6/28/2013      manager interface
COMMONWEALTH HOSIERY MILLS INC             4964 ISLAND FORD ROAD                                     RANDLEMAN        NC           27317                    Vendor Terms Agreement
                                           41 WEST 25TH STREET 4TH
COMMONWEALTH TOY & NOVELTY COMPA           FLOOR                                                     NEW YORK         NY           10010                    Vendor Terms Agreement
Community Development Corporation of
Greenfield                                 215 South First Street                                    Greenfield       IA           50849                    Lease                                     5/6/1994             12/31/2022
Community Development Corporation of
Greenfield                                 202 SW. KENT                                              GREENFIELD       IA           50849                    Operating Lease                          5/6/1994              12/31/2022                N/A
Community Health Association of Spokane    15812 E Indiana                                           Spokane Valley   WA           99216                    340B Contract                          10/11/2016




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                                                                                                                                                                 Description of Contract or
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            Contract Counterparty                             Address1                    Address2                City          State   Postal Code   Country        Debtor's Interest              Lease             Remaining Term             Government Contract

Community Health Center of the Black Hills, Inc.   350 Pine Street                                      Rapid City         SD           57701                   340B Contract                            3/6/2017
Community Health Services, Inc.                    810 4th Avenue South            Suite 101            Moorehead          MN           56560                   340B Contract                           4/14/2016                1/7/2019
Community Medical Center, Inc.                     3307 Barada Street                                   Falls City         NE           68355                   340B Contract                           6/14/2018
COMPANION GROUP                                    1250 9TH STRREET                                     BERKELEY           CA           94710                   Vendor Terms Agreement

Compass Management/SRK REALTY                      230 NORTH WISCONSIN STREET                           DEPERE             WI           54115                   Sublease                                 4/1/2019              4/30/2020                N/A
COMPLETELY BARE DISTRIBUTORS                       35 SAWGRASS DRIVE SUITE 1                            BELLPORT           NY           11713                   Vendor Terms Agreement
                                                                                                                                        38118-
COMPLEX INDUSTRIES INC                             4300 CONCORDE ROAD                                   MEMPHIS            TN           0000                    Vendor Terms Agreement
                                                                                                                                                                Permanent License
Compuware Corporation                              31440 Northwestern Highway                           Farmington Hills   MI           48333                   Agreement - FileAid                     1/10/1992              3/31/2019         Agreement 82179
                                                                                                                                                                Front-end Checkout Space
ConAgra BIGS Sunflower Seeds                       222 W. Merchandise Mart Plaza                        Chicago            IL           60654                   Agreement                                7/1/2018              6/30/2019

CONAGRA GROCERY PRODUCTS COMPANY                   11 CONAGRA DRIVE 11-210                              OMAHA              NE           68102                   Vendor Terms Agreement
                                                                                                                                                                Front-end Checkout Space
ConAgra SLIM JIM                                   222 W. Merchandise Mart Plaza                        Chicago            IL           60654                   Agreement                                7/1/2018              6/30/2019
Conair                                             One Cummings Point Rd.                               Stamford           CT           06902                   Exclusivity Contract                     2/1/2017               2/1/2020
CONAIR CORPORATION                                 1 CUMMINGS POINT ROAD                                STAMFORD           CT           06904                   Vendor Terms Agreement
CONCEPT ONE ACESSORIES DBA USPA                    362 FIFTH AVENUE STE 903                             NEW YORK           NY           10001                   Vendor Terms Agreement

Concord 6, LLC                                     10580 N. Port Washington Road                        Mequon             WI           53092                   Lease                                   10/6/1998             12/31/2027
Concord 6, LLC                                     2200 LINCOLN STREET                                  RHINELANDER        WI           54501                   Capital Lease                           10/6/1998              9/30/2019                N/A
CONIFER SPECIALTIES INC                            PO BOX 177                                           MEDINA             WA           98039                   Vendor Terms Agreement
                                                                                                                                        34478-
CONIMAR CORPORATION                                PO BOX 1509                                          OCALA              FL           1509                    Vendor Terms Agreement
                                                                                                                                        01801-
CONNOISSEURS PRODUCTS CORPORATIO                   17 PEESIDENTIAL WAY                                  WOBURN             MA           1040                    Vendor Terms Agreement
CONSOLIDATED BRANDS                                2808 ELLINGTON ROAD                                  QUINCY             IL           62305                   Vendor Terms Agreement
                                                                                                                                                                Business Customer
Consolidated Telecom                               507 South Main                                       Dickinson          ND           58602                   Agreement                                1/9/2015
CONTEL USA                                         14270 ALBERS WAY                                     CHINO              CA           91710                   Vendor Terms Agreement
Continental Alarm - SKO                            4504 S 133st                                         Omaha              NE           68137                   DC Security
CONTINENTAL FRAGRANCES                             750 STANDARD PARKWAY                                 AUBURN HILLS       MI           48326                   Vendor Terms Agreement
Continental Optical                                3651 W Irving Park Rd                                Chicago            IL           60618                   Optical Frames
                                                                                                                                        11967-
COOKIES UNITED LLC                                 41 NATCON DRIVE                                      SHIRLEY            NY           4700                    Vendor Terms Agreement
                                                   660 WHITE PLAINS ROAD SUITE
COOKWARE COMPANY                                   550                                                  TARRYTOWN          NY           10591                   Vendor Terms Agreement
                                                   10 CORDAGE PARK CIRCLE SUITE
COOL GEAR INTERNATIONAL INCORPOR                   212                                                  PLYMOUTH           MA           02360                   Vendor Terms Agreement
COOPERS DIY LLC                                    3366 N DODGE BOULEVARD                               TUCSON             AZ           85716                   Vendor Terms Agreement
Coopervision                                       209 High Point Dr                                    Victor             NY           14564                   Optical Contact Lenses
                                                                                                                                                                Pest Control Services -
Copesan Services Inc.                              W175N5711 Technology Drive                           Menomonee Falls    WI           53051                   Stores                                   8/1/2012                6 Months

COPIA PARTNERS LLC                                 5000 SW SCREECH OWL STREET                           BENTONVILLE        AR           72712                   Vendor Terms Agreement
CORE BAMBOO                                        247 WEST 38TH STREET #501                            NEW YORK           NY           10018                   Vendor Terms Agreement
                                                                                                                                                                Grocery, Candy, Other
CORE-MARK                                          1035 Nathan Lane N.                                  Plymouth           MN           55441                   Supply agreement                        7/15/2014                On Going
                                                                                                                                                                Debtor participates in
                                                                                                                                                                "Group Purchasing                                 90 day written notice by
CoreTrust Purchasing Group                         155 Franklin Road               Suite 400            Brentwood          TN           37027                   Organization"                           4/10/2015             either party
Cornelsen Leasing Co                               P.O. Box 495                                         Fairview           OK           73737                   Lease                                    4/1/1996              2/28/2025
Cornelsen Leasing Co                               816 E STATE RD                                       FAIRVIEW           OK           73737                   Operating Lease                          4/1/1996             12/31/2020                N/A
CORNER II LIMITED                                  3665A ROUTE 112                                      CORAM              NY           11727                   Vendor Terms Agreement
                                                   4020 KINROSS LAKES PARKWAY
CORNFIELDS LLC                                     3RD FLR                                              RICHFIELD          OH           44286                   Vendor Terms Agreement
CORSICANA BEDDING INCORPORATED                     3001 S HWY 287                                       COSICANA           TX           75151                   Vendor Terms Agreement

Corvalis WA, LLC                                   245 Almendra Ave Los Gatos CA                        Los Gatos          CA           95030                   Lease                                 12/15/2014              12/31/2035
                                                   867 NORTH COLUMBIA CENTER
Corvalis WA, LLC                                   BLVD                                                 KENNEWICK          WA           99336                   Operating Lease                       12/15/2014              12/31/2035                N/A




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         Contract Counterparty                   Address1                     Address2            City           State     Postal Code    Country        Debtor's Interest              Lease             Remaining Term             Government Contract
COSMOS CORPORATION                     103 ENTERRPISE DRIVE                                 WENTZVILLE          MO         63385                    Vendor Terms Agreement
                                                                                                                           97448-
COSMOS CREATIONS                       120 W 1ST AVENUE                                     JUNCTION CITY       OR         6300                     Vendor Terms Agreement
                                                                                                                                                    Real Estate Lease
CoStar                                 1900 Emery Street               Suite 300            Atlanta             GA         30318                    Management
Coteau Des Prairies Hospital           205 Orchard Drive                                    Sisseton            SD         57262                    340B Contract                            6/7/2018
                                                                                                                           10016-
COTY US LLC                            1 PARK AVENUE 4TH FLOOR                              NEW YORK            NY         0000                     Vendor Terms Agreement
                                                                                            HUNGHOM
COUNTRY LINE (HK) LIMITED              UNIT 707-8 7/F TOWER A                               KOWLOON                                      Hong Kong Vendor Terms Agreement
County of Lewis and Clark              1930 9th Avenue                                      Helena              MT         59601                   340B Contract                          10/11/2018
COURISTAN INCORPORATED                 TWO EXECUTIVE DRIVE                                  FORT LEE            NJ         07024                   Vendor Terms Agreement
Courtney Lawn and Snow                 605 8th St E                                         Cresco              IA         52136                   Lawn Care ST589
COURTYARD CREATIONS INCORPORATED       120 IONIA STREET SW STE 102                          GRAND RAPIDS        MI         49503                   Vendor Terms Agreement
Covenant Medical Center, Inc.          3421 W 9th Street                                    Waterloo            IA         50702                   340B Contract                          10/14/2016
                                                                                                                                                   Commercial Services
Cox Business                           11505 W Dodge Rd                                     Omaha               NE         68154                   Agreement                                1/29/2017              1/27/2020

CPREME LIMITED LLC                     2012 ABALONE AVENUE UNIT A                           TORRANCE            CA         90501                    Vendor Terms Agreement
Crackerbox Caramel Popcorn             1255 MAIN STREET                                     LANDER              WY         82520                    Sublease                                12/6/2016             12/31/2021                N/A
CRAIG ELECTRONICS INC                  1160 NW 163RD DRIVE                                  MIAMI               FL         33169                    Vendor Terms Agreement
                                                                                                                           66030-
CRAMER PRODUCTS                        153 W. WARREN                                        GARDNER             KS         0000                     Vendor Terms Agreement
CRANE USA INC                          1015 HAWTHORN DRIVE                                  ITASCA              IL         60143                    Vendor Terms Agreement
                                                                                                                           18044-
CRAYOLA L L S                          1100 CHURCH LANE                                     EASTON              PA         0431                     Vendor Terms Agreement
CREATE A TREAT LTD                     6650 FINCH AVE WEST                                  TORONTO             ON         M9W 5Y6       Canada     Vendor Terms Agreement
CREATIVE APPAREL CONCEPTS INC          7400 49TH AVENUE N                                   NEW HOPE            MN         55428                    Vendor Terms Agreement
CREATIVE BATH PRODUCTS INC             250 CREATIVE DRIVE                                   CENTRAL ISLIP       NY         11722                    Vendor Terms Agreement
CREATIVE BIOSCIENCE                    4530 SOUTH 300 WEST                                  MURRAY              UT         84107                    Vendor Terms Agreement
CREATIVE CO OP INCORPORATED            6000 FREEPORT AVENUE #101                            MEMPHIS             TN         38141                    Vendor Terms Agreement
CREATIVE CONCEPTS & MANUFACTURIN       43 BRADLEY ROAD                                      WESTON              CT         06883                    Vendor Terms Agreement

CREATIVE CONNECTION LIMITED            4 HOK YUEN ST EAST                                   HUNGHOM                                      Hong Kong Vendor Terms Agreement
                                       207 E PENNSYLVANIA
CREATIVE DESIGNS INTERNATIONAL L       BOULEVARD                                            FEASTERVILLE        PA         19053                    Vendor Terms Agreement
CREATIVE INDUSTRIES LLC                140 OLD SAN ANTONIO ROAD                             BOERNE              TX         78006                    Vendor Terms Agreement

CREATIVE PRODUCTS INCORPORATED         4850 ALLENPARK DRIVE SUITE #1                        ALLENDALE           MI         49401                    Vendor Terms Agreement
                                                                                                                           94501-
CREEDENCE HOLDINGS LLC DBA WEST        1301 MARINA VILLAGE PKWY 200                         ALAMEDA             CA         1082                     Vendor Terms Agreement
CREME SHOP                             819 S GLADYS AVENUE                                  LOS ANGELES         CA         90021                    Vendor Terms Agreement
Cresco Shopko LLC                      3604 Winifred Way                                    Lake Havasau City   AZ         86404                    Lease                                   10/5/2015              2/28/2031
Cresco Shopko LLC                      22422 HIGHWAY 9                                      CRESCO              IA         52136                    Operating Lease                         10/5/2015              2/28/2031                N/A
Crete Area Medical Center              2910 Betten Drive                                    Crete               NE         68333                    340B Contract                           4/11/2013               4/5/2018
                                       c/o Mark Cunningham 223 E.
CRG Boise LLC & The Ridge, L.P.        Strawberry Dr.                                       Milly Valley        CA         94941                    Lease                                 12/15/2014               5/31/2026

CRG Boise LLC & The Ridge, L.P.        1018 WASHINGTON BOULEVARD                            OGDEN               UT         84404                    Operating Lease                       12/15/2014              12/31/2021                N/A
Cricket Lawn Service, Inc.             PO Box 9601                                          Rapid City          SD         57709                    Lawn Care ST078
CRICKET WIRELESS LLC                   575 MOROSGO DRIVE                                    ATLANTA             GA         30324                    Vendor Terms Agreement
CRIMZON ROSE INTERNATIONAL             4 WARREN AVENUE                                      PROVIDENCE          RI         02911                    Vendor Terms Agreement
                                                                                                                                                                                        T&Cs that are
                                                                                                                                                                                        automatically
                                                                                                                                                                                accepted once an IO is
                                                                                                                                                    Digital Remarketing Display   accepted within our n/a - can stop orders at
Criteo                                 387 Park Avenue South                                New York            NY         10016                    Ads                                      systems                 any time
CROCODILE CREEK                        1648 E LAWSON STREET                                 DURHAM              NC         27703                    Vendor Terms Agreement
                                       2010 Kenwood Avenue P.O. Box
Croell Redi-Mix, Inc./Roger Croell*    430                                                  New Hampton         IA         50659                    Lease                                   12/9/1996              2/28/2022
Croell Redi-Mix, Inc./Roger Croell*    1 NORTH 5TH AVENUE                                   BELLE FOURCHE       SD         57717                    Operating Lease                         12/9/1996              2/28/2022                N/A
CROSCILL HOME LLC                      1500 N CAROLINA STREET                               GOLDSBORO           NC         27530                    Vendor Terms Agreement
CROSMAN CORPORATION                    RTS 5 & 20                                           EAST BLOOMFIELD     NY         14443                    Vendor Terms Agreement
Crossix Data Share                     1375 Broadway, 3rd Floor                             New York            NY         10018




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              Contract Counterparty               Address1            Address2            City           State   Postal Code    Country        Debtor's Interest              Lease           Remaining Term            Government Contract
                                       1600 RIVEREDGE PARKWAY SUITE
CROWN CRAFTS INCORPORATED              200                                       ATLANTA            GA           30328                    Vendor Terms Agreement
                                                                                                                                          2 year agreement -
                                                                                                                                          exclusive Vendor for Wall
Crystal Art                            4500 S. Santa Fe Ave                      Vernon             CA           90058                    Décor POG
CRYSTAL ART GALLERY RGGD INC           4950 S SANTA FE AVENUE                    VERNON             CA           90058                    Vendor Terms Agreement
                                       7TH FLOOR EDWARD WONG
CS INTERNATIONAL (HK) TOYS LIMIT       TOWER                                     KOWLOON                                       Hong Kong Vendor Terms Agreement
CSG APPAREL                            57 W 38TH STREET                          NEW YORK           NY           10018                   Vendor Terms Agreement
                                                                                                                 60197-                  Statutory Representation
CT Corporation                         P.O. Box 4349                             Carol Stream       IL           4349                    For Service Of Process
Cudd Lawn and Snow Services LLC        920 Roosevelt Street                      River Falls        WI           54022                   Lawn Care ST130
CUDLIE ACCESSORIES L L C               1 EAST 33RD STREET                        NEW YORK           NY           10016                   Vendor Terms Agreement
CURE APPAREL LLC                       3338 S MALT AVENUE                        COMMERCE           CA           90040                   Vendor Terms Agreement
CURTIS INTERNATIONAL LIMITED           7045 BECKETT DRIVE UNIT 15                MISSISSAUGA        ON           L5S 2A3       Canada    Vendor Terms Agreement
CUSTOM ACCESSORIES INC                 5900 AMI DRIVE                            RICHMOND           IL           60071                   Vendor Terms Agreement

CUSTOM QUEST INC                       6511 WEST CHESTER ROAD STE A              WEST CHESTER       OH           45069                    Vendor Terms Agreement
Cut Right Lawn Service                 W152 N6901 Westwood Dr                    Menominee Falls    WI           53051                    Lawn Care ST178
                                                                                                                 63028-
CUTEX BRANDS LLC                       1000 INDUSTRIAL DRIVE                     FESTUS             MO           0000                     Vendor Terms Agreement
                                       34 WEST 33RD STREET 9TH
CUTIE PIE BABY INCORPORATED            FLOOR SOUTH                               NEW YORK           NY           10001                    Vendor Terms Agreement
Cuttin Edge                            3215 E Route 113                          Mazon              IL           60444                    Lawn Care ST641
CYBER ACOUSTICS LLC                    3109 NE 109TH AVENUE                      VANCOUVER          WA           98682                    Vendor Terms Agreement
                                                                                                                                          CyberSource Payment
Cybersource                            Post Office Box 8999                      San Francisco      CA           94128                    Solutions Agreement                     5/10/2013
                                                                                                                                          Provide Fraud check for
                                                                                                                                          Ecommerce Site. Month to
Cybersource                            PO box 8999                               San Francisco      CA           94128                    month now                               5/10/2013       month to month

Cybersource                            PO Box 8999                               San Francisco      CA           94128                    enable tokenization on IDs
                                                                                                                                          CyberSource Payment                                 Renew Automatically
Cybersource                            Post Office Box 8999                      San Francisco      CA           94128                    Solutions Agreement                     5/10/2013               yearly
CYGNETT USA                            11932 BAKER PLACE                         SANTA FE SPRINGS   CA           90670                    Vendor Terms Agreement
D & D Maintenance                      505 Valley Road                           Menasha            WI           54952                    Lawn Care ST505
D & D Midwest Warehousing, L.L.C.      8383 W. RIdgeway Avenue                   Cedar Falls        IA           50613                    Lease                                   9/22/1998            3/12/2019
D & H DISTRIBUTING                     2525 N 7TH STREET                         HARRISBURG         PA           17110                    Vendor Terms Agreement
D & L Development                      PO Box 127                                West Point         NE           68788                    Lawn Care ST661
D & L Development, LLC/Dave Baumert    2299 Highway 275 Lot 2                    West Point         NE           68788                    Lease                                    2/8/2007           11/30/2027
D & L Development, LLC/Dave Baumert    500 PLAZA DRIVE                           WEST POINT         NE           68788                    Operating Lease                          2/8/2007           11/30/2027               N/A
                                                                                                                 17402-
D F STAUFFER BISCUIT COMPANY INC       PO BOX 12002                              YORK               PA           0672                     Vendor Terms Agreement
D M L MARKETING GROUP LTD              7711 HAYVENHURST AVENUE                   VAN NUYS           CA           91406                    Vendor Terms Agreement
D&D Maintenance LLC                    505 Valley Road                           Menasha            WI           54952                    Lawn Care ST033
D&D Maintenance LLC                    505 Valley Road                           Menasha            WI           54952                    Lawn Care ST100
DAIRY STATE FOODS                      6035 N BAKER ROAD                         MILWAUKEE          WI           53209                    Vendor Terms Agreement
DAKOTA UPREIT LIMITED PARTNERSHIP      3003 32nd Avenue S                        Fargo              ND           58103                    Lease                                   5/29/2007           10/31/2022
Dakota UPREIT Limited Partnership      3003 32nd Avenue S                        Fargo              ND           58103                    Lease                                   3/30/2015           10/31/2022
DAKOTA UPREIT LIMITED PARTNERSHIP      1420 NORTH 7TH STREET                     OAKES              ND           58474                    Operating Lease                         5/29/2007           10/31/2022               N/A
Dakota UPREIT Limited Partnership      200 10TH AVE SE                           NEW PRAGUE         MN           56071                    Operating Lease                         3/30/2015           10/31/2022               N/A
DALE & THOMAS POPCORN                  ONE CEDAR LANE                            ENGLEWOOD          NJ           07631                    Vendor Terms Agreement
Dale Jones/Phoenix Plaza, LC           51 North Eastridge Drive                  St. George         UT           84790                    Lease                                   8/18/1989           10/31/2020
Dale Jones/Phoenix Plaza, LC           1105 BRIDGER DRIVE                        GREEN RIVER        WY           82935                    Operating Lease                         8/18/1989           10/31/2020               N/A

DALE TIFFANY INCORPORATED              14765 FIRESTONE BOULEVARD                 LA MIRADA          CA           90638                    Vendor Terms Agreement
                                                                                                                 75234-
DALLAS MANUFACTURING COMPANY INC       12111 FORD RD                             DALLAS             TX           0000                     Vendor Terms Agreement
DALLAS MANUFACTURING COMPANY INC       12111 FORD ROAD                           DALLAS             TX           75234                    Vendor Terms Agreement
DAN DEE IMPORTS INCORPORATED           106 HARBOR DRIVE                          JERSEY CITY        NJ           07305                    Vendor Terms Agreement
                                                                                                                 02905-
DANECRAFT INCORPORATED                 1 BAKER STREET                            PROVIDENCE         RI           4417                     Vendor Terms Agreement
Daniel G. Kamin Standish LLC           P.O. Box 10234                            Pittsburgh         PA           15232                    Lease                                    4/6/1994            4/30/2022
Daniel G. Kamin Standish LLC           3825 S. HURON ROAD                        STANDISH           MI           48658                    Capital Lease                            4/6/1994            4/30/2019               N/A




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                                                                                                                                                                 Lease and Nature of         Date of Contract or                        List Contract Number of Any
            Contract Counterparty                              Address1                 Address2                City        State   Postal Code    Country         Debtor's Interest               Lease           Remaining Term           Government Contract
Daniel G. Kamin/Kelly Serenko*                    490 S. Highland Ave                                  Pittsburgh      PA           15206                    Lease                                     12/9/1987          12/16/2022
Daniel G. Kamin/Kelly Serenko*                    2155 1ST AVENUE N                                    WINDOM          MN           56101                    Operating Lease                           12/9/1987          12/31/2022               N/A
Daniel Howe                                       2716 140th st                                        Lawler          IA           52154                    Lawn Care ST668
Daniel Overmoe                                    822 1st St MW                                        Mayville        ND           58257                    Lawn Care ST585
DAP PRODUCTS INC                                  2400 BOSTON ST SUITE 200                             BALTIMORE       MD           21224                    Vendor Terms Agreement
DARICE INC                                        8000 BENT BRANCH DRIVE                               IRVING          TX           75063                    Vendor Terms Agreement
Darland Fuel Sales                                1203 NORTH MAIN STREET                               ANDREWS         TX           79714                    Sublease                                10/10/2018            9/30/2023               N/A
DARON FASHIONS INC                                52 WALTERS STREET                                    RAHWAY          NJ           07065                    Vendor Terms Agreement
Darrell Andersen & Violet Andersen, Duane
Schmidt & Lois Schmidt                            802 Brookside Drive A                                udubon          IA           50025                    Lease                                     8/7/1990            3/31/2019
Darrell Andersen & Violet Andersen, Duane
Schmidt & Lois Schmidt                            109 N. MARKET STREET                                 AUDUBON         IA           50025                    Operating Lease                           8/7/1990            3/31/2021               N/A
                                                                                                                                                             Independent Contractor
Data Sales Co.                                    3450 West Burnsville Parkway                         Burnsville      MN           55337                    Agreement                                9/11/2006            2/28/2007
                                                                                                                                                             Addendum A-13 to the
                                                                                                                                                             Independent Contractor
Data Sales Co.                                    3450 West Burnsville Parkway                         Burnsville      MN           55337                    Agreement                                1/18/2018            1/31/2019
                                                                                                                                                             Addendum A-14 to the
                                                                                                                                                             Independent Contractor
Data Sales Co.                                    3450 West Burnsville Parkway                         Burnsville      MN           55337                    Agreement                                 2/1/2019            1/31/2020
Data Sales SKO                                    3450 W Burnsville Pkwy                               Burnsville      MN           55337                    fujifilm
Davey Total Lawn Care                             1620 Meade Ave                                       Prosser         WA           99350                    Lawn Care ST556
DAVID AND YOUNG GROUP CORP                        901 CASTLE ROAD                                      SECAUCUS        NJ           07094                    Vendor Terms Agreement
David Ashworth                                    264 S 400 East                                       Nephi           UT           84648                    Lawn Care ST557
David F. Bolger Revocable Trust/JT Bolger*        79 Chestnut Street                                   Ridgewood       NJ           07450                    Lease                                    4/30/1973            7/31/2025
David F. Bolger Revocable Trust/JT Bolger*        79 Chestnut Street                                   Ridgewood       NJ           07450                    Lease                                    4/30/1973            7/31/2028
David F. Bolger Revocable Trust/JT Bolger*        240 North Murray Avenue                              Ridgewood       NJ           07450                    Lease                                     3/1/1977            7/31/2029
David F. Bolger Revocable Trust/JT Bolger*        79 Chestnut Street                                   Ridgewood       MN           07450                    Lease                                     3/1/1977            7/31/2029
David F. Bolger Revocable Trust/JT Bolger*        1345 S. FREDERICK AVENUE                             OELWEIN         IA           50662                    Operating Lease                          4/30/1973            7/31/2025               N/A
David F. Bolger Revocable Trust/JT Bolger*        615 DEARBORN STREET                                  WAYNE           NE           68787                    Operating Lease                          4/30/1973            7/31/2028               N/A
David F. Bolger Revocable Trust/JT Bolger*        1100 EAST VALLEY ROAD                                TORRINGTON      WY           82240                    Operating Lease                           3/1/1977            7/31/2029               N/A
David F. Bolger Revocable Trust/JT Bolger*        100 SOUTH 20TH STREET                                WORLAND         WY           82401                    Operating Lease                           3/1/1977            7/31/2029               N/A
David J Frank Landscape Contracting Inc.          N120 W21350 Freistadt Road                           Germantown      WI           53022                    Lawn Care ST031
DAVID KING & COMPANY INC                          134 BEACH STREET                                     BOSTON          MA           02111                    Vendor Terms Agreement
David Skinkis                                     W2359 St Hwy 156                                     Pulaski         WI           54162                    Lawn Care ST607
David Wilson                                      43120 FM 1703                                        Alpine          TX           79830                    Lawn Care ST576
Davidson Children's Trust I and II                3754 Fort Donelson Drive                             Stockton        CA           95219                    Lease                                     2/1/2015            2/28/2030
Davidson Children's Trust I and II                1145 SOUTH HIGHWAY 191                               MOAB            UT           84532                    Operating Lease                           2/1/2015            2/28/2030               N/A
Davidson Properties                               3754 Fort Donelson Drive                             Stockton        CA           95219                    Lease                                    10/5/2015            2/28/2031
Davidson Properties                               660 N MAIN ST                                        BEAVER          UT           84713                    Operating Lease                          10/5/2015            2/28/2031               N/A
Davis County Hospital                             509 N. Madison St                                    Bloomfield      IA           52537                    340B Contract                            6/18/2018            11/6/2018

DAYMEN USA                                        1435 N MCDOWELL BLVD STE 200                         PETALUMA        CA           94954                    Vendor Terms Agreement
DDO-Utah, LLC (Taco Bell)                         955 NORTH MAIN STREET                                SPANISH FORK    UT           84660                    Sublease                                12/12/2016           12/11/2021               N/A
DECOR CRAFTS INCORPORATED                         275 WESTMINSTER STREET                               PROVIDENCE      RI           02903                    Vendor Terms Agreement
                                                  UNIT 811, TWR 1 HARBOUR                                                                         HONG
DECRA LITE LTD                                    CENTER                                                                                          KONG       Vendor Terms Agreement
DELCO APPAREL DBA E LO SPORTSWEA                  469 7TH AVE 15TH FLOOR                               NEW YORK        NY           10018                    Vendor Terms Agreement
                                                                                                                                    53202-                   Accounting advisory
Deloitte & Touche LLP                             555 East Wells Street          Suite 1400            Milwaukee       WI           3824                     services ASU 606 & 842                   6/11/2018            3/31/2020
DELONGHI AMERICA INCORPORATED                     250 PEHLE AVENUE STE #405                            SADDLE BROOK    NJ           07663                    Vendor Terms Agreement
                                                                                                                                                             Third Party Administrator
                                                                                                                                                             Agreement (self insured full-
Delta Dental                                      2801 Hoover Road                                     Stevens Point   WI           54481                    time plan)                                9/1/1998        annual renewal
DELTA ENTERPRISE CORPORATION                      114 WEST 26TH STREET                                 NEW YORK        NY           10001                    Vendor Terms Agreement

Deluca & Hartman Construction Inc., Lawn Care
Professionals, Building & Landscape Maint. Inc.   W234 S6650 Big Bend Dr                               Waukesha        WI           53186                    Lawn Care ST018
DELUVIA INC PANTRY CLUB                           2040 WEAVER PARK DRIVE                               CLEARWATER      FL           33765                    Vendor Terms Agreement
DELUXE IMPORT TRADING INC                         5215 S BOYLE AVENUE                                  VERNON          CA           90058                    Vendor Terms Agreement
Dematic - SKO                                     507 Plymouth Ave                                     Grand Rapids    MI           49505                    DC put to light
                                                                                                                                                             De Pere Software License
                                                                                                                                    49505-                   and Service Terms PTL -
Dematic Corp                                      507 Plymouth Avenue NE                               Grand Rapids    MI           6029                     4/5/2016                                  4/5/2016             1/1/2020




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             Contract Counterparty                  Address1             Address2           City         State   Postal Code    Country         Debtor's Interest             Lease           Remaining Term             Government Contract
                                                                                                                                          Omaha Software License
                                                                                                                 49505-                   and Service Terms PTL -
Dematic Corp                             507 Plymouth Avenue NE                     Grand Rapids    MI           6029                     4/5/2016                                 4/5/2016             1/1/2020
                                                                                                                                          Boise Software License and
                                                                                                                 49505-                   Service Terms PTL -
Dematic Corp                             507 Plymouth Avenue NE                     Grand Rapids    MI           6029                     4/5/2016                                 4/5/2016             1/1/2020

                                                                                                                                          Omaha Conveyor Software /
                                                                                                                 49505-                   Hardware, Config, and
Dematic Corp                             507 Plymouth Avenue NE                     Grand Rapids    MI           6029                     Labor - 8/15/2018                       8/15/2018             1/1/2020
                                                                                                                 49505-
Dematic Corp                             507 Plymouth Avenue NE                     Grand Rapids    MI           6029                     Software Maintenance                                          1/1/2020
                                         15402 N NEBRASKA AVENUE
DEMERT BRANDS INCORPORATED               #102                                       LUTZ            FL           33549                    Vendor Terms Agreement
DENNIS EAST INTERNATIONAL LLC            221 WILLOW STREET                          YARMOUTH PORT   MA           02675                    Vendor Terms Agreement
Dennis Wickman                           30 N 8th Ave East                          Ely             MN           55731                    Lawn Care ST629
                                                                                                                                          Snow Removal for
                                                                                                                                          Hometown and Express
Dentco                                   1161 E. Clark Road                         Dewitt          MI           48820                    Locations                               10/1/2017            20 months
DENTEK ORAL CARE INCORPORATED            307 EXCELLENCE WAY                         MARYVILLE       TN           37801                    Vendor Terms Agreement

DENTOVATIONS                             419 BOYLSTON STREET SUITE 702              BOSTON          MA           02116                    Vendor Terms Agreement
DERMA E DBA STEARNS INC                  2130 WARD AVENUE                           SIMI VALLEY     CA           93063                    Vendor Terms Agreement
DESIGN IDEAS                             2521 STOCKYARD ROAD                        SPRINGFIELD     IL           62708                    Vendor Terms Agreement
DESIGN IMPORTS INDIA                     PO BOX 58410                               SEATTLE         WA           98138                    Vendor Terms Agreement
DESIGN PAC INC                           2457 WEST NORTH AVE                        MELROSE PARK    IL           60160                    Vendor Terms Agreement
                                         7900 N UNIVERSITY DRIVE STE
DESIGN SOLUTIONS INTERNATIONAL           202                                        TAMARAC         FL           33321                    Vendor Terms Agreement
                                                                                                                 92011-
DESIGNER PROTEIN LLC                     2355 CAMINO VIDA ROBLE                     CARLSBAD        CA           1505                     Vendor Terms Agreement
                                                                                                                 53092-
DESIGNHOUSE DBA ACCENTS UNLIMITE         5205 W DONGES BAY ROAD                     MEQUON          WI           0000                     Vendor Terms Agreement
DESIGNS BY F M C                         1533 60TH STREET                           BROOKLYN        NY           11219                    Vendor Terms Agreement
                                         1733 SHEEPSHEAD BAY ROAD
DESTINA INC                              STE32                                      BROOKLYN        NY           11235                    Vendor Terms Agreement
DEVELOPLUS INCORPORATED                  1575 MAGNOLIA AVENUE                       CORONA          CA           92879                    Vendor Terms Agreement
DevMar Partners, LLC                     2005 Stradella Road                        Los Angeles     CA           90077                    Lease                                 12/15/2014             5/31/2026
DEX PRODUCTS INCORPORATED                840 EUBANKS DRIVE #8                       VACAVILLE       CA           95688                    Vendor Terms Agreement

DEXXON DIGITAL STORAGE INC               7611 GREEN MEADOWS DRIVE                   LEWIS CENTER    OH           43035                    Vendor Terms Agreement
                                                                                                                 75212-
DEZINE NEWS INCORPORATED                 3901 LA REUNION PARKWAY                    DALLAS          TX           0000                     Vendor Terms Agreement
DH Prime, Inc. c/o Drifka Group, Inc.    1154 Westowne Drive                        NEENAH          WI           54956                    Operating Lease                          1/8/2019            6/30/2024                N/A
DIAL INDUSTRIES INCORPORATED             3628 NOAKES STREET                         LOS ANGELES     CA           90023                    Vendor Terms Agreement
                                         19/F PRUDENTIAL TOWER, THE                 TSIM SHA TSUI
DICKIE TOYS HONG KONG LTD                GATEWAY                                    KOWLOON                                    Hong Kong Vendor Terms Agreement
Dickinson County Healthcare System, a
Michigan Municipal Health Facilities
Corporation                              1721 S. Stephenson Avenue                  Iron Mountain   MI           49801                    340B Contract                           9/23/2017

DIE CUTS WITH A VIEW                     2250 N UNIVERSITY PKWY #4861               PROVO           UT           84604                    Vendor Terms Agreement
DIEFFENBACHS POTATO CHIPS                51 HOST ROAD                               WOMELSDORF      PA           19567                    Vendor Terms Agreement
DIGGIN ACTIVE INCORPORATED               5900 HOLLIS STREET #Q                      EMERYVILLE      CA           94608                    Vendor Terms Agreement
DIGITAL GADGETS LLC                      21 ENGLEHARD DRIVE                         MONROE          NJ           08831                    Vendor Terms Agreement
DIGITAL GADGETS LLC                      21 ENGLEHARD DRIVE                         MONROE          NJ           08831                    Vendor Terms Agreement
DIGITAL PRODUCTS INTERNATIONAL           900 NORTH 23RD STREET                      ST LOUIS        MO           63106                    Vendor Terms Agreement

DIRECTION STUDIO BRANDED                 1400 BROADWAY 15TH FLOOR                   NEW YORK        NY           10018                    Vendor Terms Agreement
Dirne Health Centers, Inc.               1090 W. Park Place                         Coeur D Alene   ID           83814                    340B Contract                           9/14/2017
                                                                                                                                          Merchant Services
Discover                                 2500 Lake Cook Road                        Riverwoods      IL           60015                    Agreement                             10/12/1987
                                                                                                                                          Merchant Services                                   30 day prior written
Discover                                 2500 Lake Cook Road                        Riverwoods      IL           60015                    Agreement                             10/12/1987                  notice




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            Contract Counterparty               Address1             Address2           City        State   Postal Code    Country        Debtor's Interest              Lease           Remaining Term          Government Contract
                                                                                                            92064-
DISGUISE INCORPORATED                11906 TECH CENTER COURT                    POWAY          CA           7139                     Vendor Terms Agreement
                                                                                                                                     Initial Purchase - Click
Dito, LLC                            9913 Sugarwood Lane                        Manassas       VA           20110                    Through terms                           10/1/2017
Dito, LLC                            9913 Sugarwood Lane                        Manassas       VA           20110                    Annual Support                                              9/30/2019
DIVA INTERNATIONAL INC               1221 WEBER STREET E 25089                  KITCHNER       ON           N2A 4A5       Canada     Vendor Terms Agreement
DIVISION SIX SPORTS INC              17277 VENTURA BLVD A204                    ENCINO         CA           91316                    Vendor Terms Agreement
                                                                                                            32746-
DIXON TICONDEROGA COMPANY            195 INTERNATIONAL PARKWAY                  HEATHROW       FL           5036                     Vendor Terms Agreement
DK Landscape                         PO Box 75                                  Shelbyville    MI           49344                    Lawn Care ST642
                                                                                                            60126-
DM MERCHANDISING INCORPORATED        835 N CHURCH COURT                         ELMHURST       IL           1005                     Vendor Terms Agreement
DMC PRODUCTS INC                     PO BOX 248                                 COLUMBIA       PA           17512                    Vendor Terms Agreement
                                                                                                            48328-
DMF BAIT                             1130 SYLVERTIS ROAD                        WATERFORD      MI           0000                     Vendor Terms Agreement
                                                                                                                                     Independent Contract
DMI Studios                          1400 Lobmardi Avenue                       Green Bay      WI           54304                    Agreement                               3/12/2012
DNA DIAGNOSTICS CENTER (DDC)         1 DDC WAY                                  FAIRFIELD      OH           45014                    Vendor Terms Agreement
                                     15568 BROOKHURST STREET STE
DOCTORS CLINICAL INC                 374                                        WESTMINSTER    CA           92683                    Vendor Terms Agreement
DOMANI AMERICA INC                   1639B ELECTRIC AVE                         VENICE         CA           90291                    Vendor Terms Agreement
                                     11300 W. Olympic Boulevard
Don Levin Trust                      Suite 770                                  Los Angeles    CA           90064                    Lease                                   3/31/2016          11/30/2031
                                     11300 W. Olympic Boulevard
Don Levin Trust                      Suite 770                                  Los Angeles    CA           90064                    Lease                                 10/14/2015            7/31/2031
Don Levin Trust                      301 Hwy 20                                 Gordon         NE           69343                    Operating Lease                        3/31/2016           11/30/2031              N/A
Don Levin Trust                      133 TROTTER AVENUE                         ORD            NE           68862                    Operating Lease                       10/14/2015            7/31/2031              N/A
Donald and Marlyn Herman             20185 Snead Drive                          Burlington     CO           80807                    Lease                                 12/22/1986            3/31/2021
Donald and Marlyn Herman             333 S. LINCOLN                             BURLINGTON     CO           80807                    Operating Lease                       12/22/1986            3/31/2021              N/A
Donald J. Martin FLP/DJ Martin       145 W Chicago Blvd                         Tecumseh       MI           49286                    Lease                                   4/6/1994            4/30/2023
Donald J. Martin FLP/DJ Martin       2655 WEST CHICAGO BLVD                     TECUMSEH       MI           49286                    Operating Lease                         4/6/1994            4/30/2023              N/A
Donna M. Wiese                       2908 W. 37th Circle Suite 302              Sioux Falls    SD           57105                    Lease                                   4/9/1992           10/25/2022
Donna M. Wiese                       190 SOUTHGATE DRIVE                        AITKIN         MN           56431                    Capital Lease                           4/9/1992           10/31/2022              N/A
Donner Lawnscapes                    3113 Granite                               Manning        IA           51435                    Lawn Care ST683
DOOR COUNTY COFFEE                   5773 HWY 42                                STURGEON BAY   WI           54235                    Vendor Terms Agreement
Door County Memorial Hospital        323 South 18th Avenue                      Sturgeon Bay   WI           54235                    340B Contract                           7/13/2018
DOREL JUVENILE GROUP INCORPORATE     45 DAN ROAD                                CANTON         MA           02021                    Vendor Terms Agreement
DORFMAN PACIFIC COMPANY INCORPOR     2615 BOEING WAY                            STOCKTON       CA           95206                    Vendor Terms Agreement
DOSKOCIL MFG CO DBA PETMATE          PO BOX 1246                                ARLINGTON      TX           76004                    Vendor Terms Agreement
DOT FOODS INCORPORATED               1 DOT WAY                                  MT STERLING    IL           62353                    Vendor Terms Agreement
DOTTI                                460 WEST 34TH STREET                       NEW YORK       NY           10001                    Vendor Terms Agreement
DOTTI DIV OF A H SCHREIBER           460 WEST 34TH STREET                       NEW YORK       NY           10001                    Vendor Terms Agreement
                                                                                                            91761-
DOUBLE POWER TECHNOLOGY INC          1845 S VINEYARD #4                         ONTARIO        CA           0000                     Vendor Terms Agreement
Doug Dalinghaus                      1406 Baltimore St                          Seneca         KS           66538                    Lawn Care ST697
Downtown Modernization, Inc.         924 Charles Street                         Falls City     NE           68355                    Lease                                 12/11/1973           10/31/2019
Downtown Modernization, Inc.         1300 STONE STREET                          FALLS CITY     NE           68355                    Operating Lease                       12/11/1973           10/31/2019              N/A
DR BRONNERS                          1335 PARK CENTER DR                        VISTA          CA           92801                    Vendor Terms Agreement
DR FRESH INCORPORATED                6645 CABALLERO BOULEVARD                   BUENA PARK     CA           90620                    Vendor Terms Agreement
DR HAROLD KATZ LLC                   5802 WILLOUGHBY AVENUE                     LOS ANGELES    CA           90038                    Vendor Terms Agreement
                                                                                                            08540-
DR REDDYS LABORATORIES INCORPORA     107 COLLEGE ROAD EAST                      PRINCETON      NJ           0000                     Vendor Terms Agreement
                                                                                                            54221-
DRAMM CORPORATION                    PO BOX 1960                                MANITOWOC      WI           1960                     Vendor Terms Agreement
                                     11271 VENTURA BOULEVARD
DREAM LOUNGE INCORPORATED            456                                        STUDIO CITY    CA           91604                    Vendor Terms Agreement
                                                                                                            90501-
DREAMGEAR LLC                        20001 S WESTERN AVENUE                     TORRANCE       CA           0000                     Vendor Terms Agreement
                                                                                                            10001-
DREAMWAVE LLC                        34 WEST 33RD ST                            NEW YORK       NY           0000                     Vendor Terms Agreement
DREAMWEAR INC                        183 MADISON AVENUE                         NEW YORK       NY           10016                    Vendor Terms Agreement
                                     6-1155 NORTH SERVICE ROAD
DREW BRADY COMPANY INCORPORATED      WEST                                       OAKVILLE       ON           L6M 3E3       Canada     Vendor Terms Agreement




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             Contract Counterparty               Address1             Address2             City        State   Postal Code   Country        Debtor's Interest                 Lease              Remaining Term             Government Contract

DRIVE MEDICAL DESIGN & MANUFACTU      99 SEAVIEW BOULEVARD                       PORT WASHINGTON NY            11050                   Vendor Terms Agreement
                                                                                                                                       Waste Management and
                                                                                                                                       Recycling Services - Broker -
DRM Waste Management                  312 South Main Street                      Forked River     NJ           08731                   All Stores                                  3/1/2011               12 months
DRYGUY LLC                            PO BOX 1102                                MERCER ISLAND    WA           98290                   Vendor Terms Agreement
DRYLOCK TECHNOLOGIES LTD              3921 NORTH HASTINGS WAY                    EAU CLAIRE       WI           54703                   Vendor Terms Agreement
                                                                                                                                       Software License
DTS Software Inc                      1818 Lakefield Court SE                    Conyers          GA           30013                   Agreement                                 12/16/1994               1/31/2020
DUCK HOUSE INCORPORATED               4651 STATE STREET                          MONTCLAIR        CA           91763                   Vendor Terms Agreement
DUKE CANNON SUPPLY COMPANY            7448 THORNCREST DRIVE SE                   ADA              MI           49301                   Vendor Terms Agreement
DUMONT COMPANY                        700 COPELAND AVENUE                        LACROSSE         WI           54603                   Vendor Terms Agreement
DUNCAN TOYS                           15981 VALPLAST STREET                      MIDDLEFIELD      OH           44062                   Vendor Terms Agreement
DUNECRAFT INCORPORATED                PO BOX 808                                 CHAGRIN FALLS    OH           44022                   Vendor Terms Agreement
DURABLE PACKAGING INTERNATIONAL       750 NORTHGATE PARKWAY                      WHEELING         IL           60090                   Vendor Terms Agreement
DURAFLAME INCORPORATED                2894 MT DIABLO AVENUE                      STOCKTON         CA           95203                   Vendor Terms Agreement
DUST CUTTER BEVERAGE COMPANY          3813 DANFIELD LANE                         NORMAN           OK           73072                   Vendor Terms Agreement
DYNASTY APPAREL CORPORATION           13000 NW 42ND AVENUE                       MIAMI            FL           33054                   Vendor Terms Agreement
                                                                                                               83064-
DYNO MERCHANDISE                      1571 W COPANS ROAD SUITE 105               PAMPANO BEACH    FL           1513                    Vendor Terms Agreement
                                                                                                               33064-
DYNO SEASONAL SOLUTIONS               1571 W COPANS ROAD                         POMPANO BEACH    FL           1513                    Vendor Terms Agreement
                                      600 WEST CHICAGO AVENEU STE
DYSON INC                             275                                        CHICAGO          IL           60610                   Vendor Terms Agreement
E & E CO LTD DBA JLA                  555 W VICTORIA STREET                      COMPTON          CA           90220                   Vendor Terms Agreement
E FUN                                 136 N GRAND AVENUE #148                    WEST COVINA      CA           91791                   Vendor Terms Agreement
E L F COSMETICS INC                   75 9TH AVE SUITE 05C07                     NEW YORK         NY           10011                   Vendor Terms Agreement
E MISHAN & SONS INCORPORATED          230 5TH AVENUE SUITE 800                   NEW YORK         NY           10016                   Vendor Terms Agreement
E S ORIGINALS INCORPORATED            440 9TH AVE 6TH FLOOR                      NEW YORK         NY           10001                   Vendor Terms Agreement

E T BROWNE DRUG COMPANY INC           440 SYLVAN AVENUE                          ENGLEWOOD CLIFFS NJ           07632                   Vendor Terms Agreement
                                                                                                                                       Contract for
Eagle Communications                  405 NE 14th Street                         Abilene          KS           67410                   Communications Services                     2/1/2018               1/31/2019

EAGLE FAMILY FOODS                    4020 KINROSS LAKES PARKWAY                 RICHFIELD        OH           44286                   Vendor Terms Agreement
EAGLE GRAPHICS LLC                    1200 PROSPECT LANE                         KAUKAUNA         WI           54130                   Vendor Terms Agreement
Eagle Landscape                       7036 River Dr.                             Redding          CA           96001                   Lawn Care ST096
EARTH ACCENTS LLC                     86 OLD NOD ROAD #B1                        DECATUR          IL           62522                   Vendor Terms Agreement
East "E" Street Realty, LLC           1103 Araphoe Avenue                        Gillette         WY           82718                   Lease                                      5/31/2006               5/31/2031
East "E" Street Realty, LLC           2105 LAZELLE ST.                           STURGIS          SD           57785                   Operating Lease                            5/31/2006               5/31/2031                N/A

East Dakota Properties                39377 South Dakota Highway 50              Wagner           SD           57380                   Lease                                       4/2/2015               4/30/2025
East Dakota Properties                905 W SD HIGHWAY 46                        WAGNER           SD           57380                   Operating Lease                             4/2/2015               4/30/2025                N/A
East Med LLC                          1399 Arden Oaks Drive                      Arden Hills      MN           55112                   Lease                                      2/10/2015              10/31/2030
East Med LLC                          406 GATEWAY AVENUE                         MAUSTON          WI           53948                   Operating Lease                            2/10/2015              10/31/2030                N/A
                                                                                                               11514-
EASTER UNLIMITED & FUN WORLD          PO BOX 352OAD                              CARLE PLACE      NY           0000                    Vendor Terms Agreement
                                                                                                               91406-
EASTON BASEBALL/ SOFTBALL INC         7855 HASKELL AVENUE 200                    VAN NUYS         CA           1901                    Vendor Terms Agreement

EASY GOURMAND LLC                     1172 SOUTH DIXIE HWY STE 301               CORAL GABLES     FL           33146                   Vendor Terms Agreement
Eau Claire Associates L.P.            7161 N. Cicero, Suite 201                  Lincolnwood      IL           60712                   Lease                                      6/30/2015               6/30/2021
Eau Claire Associates L.P.            7161 N. Cicero, Suite 201                  Lincolnwood      IL           60712                   Lease                                      6/30/2015               6/30/2021
Eau Claire Associates L.P.            955 W CLAIREMONT AVE.                      EAU CLAIRE       WI           54701                   Operating Lease - OPT                       6/3/1986               6/30/2021                N/A
                                                                                                                                                                               T&Cs that are
                                                                                                                                                                               automatically
                                                                                                                                                                       accepted once an IO is
                                                                                                                                                                         accepted within our n/a - can stop orders at
Ebates Perfomance Marketing, Inc      5 Thomas Mellon Circle                     San Francisco    CA           94134                   Affiliate Advertising                        systems                 any time
                                                                                                               97210-
EBFIVE CORPORATION                    2711 NW SAINT HELENS ROAD                  PORTLAND         OR           0000                    Vendor Terms Agreement
ECHO VALLEY                           PO BOX 2741                                ANN ARBOR        MI           48106                   Vendor Terms Agreement
                                                                                                                                       Mn Hazardous Waste
Eco Pharmacy Solutions                13325 Hargrave Rd. #260                    Houston          TX           77070                   Hauler




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            Contract Counterparty                  Address1                   Address2               City         State   Postal Code   Country         Debtor's Interest               Lease            Remaining Term              Government Contract
Ecology Technology Inc.                2717 S. 10th Street                                 Manitowoc         WI           54220                   Lawn Care ST003
Ecology Technology Inc.                2717 S. 10th Street                                 Manitowoc         WI           54220                   Lawn Care ST004
Econoco Corp                           300 Karin Lane                                      Hicksville        NY           11801                   Fixtures

                                                                                                                                                  Energy Billing Consolidation
ECOVA - Engie Insight                  1313 N. Atlantic Street                             Spokane           WA           99201                   and Monitoring                            8/10/2015               6 Months
Ecova Avista Advantage                 1313 North Atlantic            5th floor            Spokane           WA           99201                   ACIS services
                                                                                                                          19311-
EDGECRAFT CORPORATION                  825 SOUTHWOOD ROAD                                  AVONDALE          PA           9765                    Vendor Terms Agreement
                                       1350 TIMBERLAKE MANOR                                                              63017-
EDGEWELL PERSONAL CARE LLC             PARKWAY                                             CHESTERFIELD      MO           0000                    Vendor Terms Agreement
EDM IMPORTS                            1669 E 10TH STREET                                  BROOKLYN          NY           11223                   Vendor Terms Agreement
EIGHT O CLOCK COFFEE                   1550CHESTNUT RIDGE ROAD                             MONTVALE          NJ           07645                   Vendor Terms Agreement
                                       1520 KENSINGTON ROAD SUITE
EIGHTEEN EIGHTY EIGHT MILLS L L        115                                                 OAKBROOK          IL           60523                   Vendor Terms Agreement
EILLIENS CANDIES INCORPORATED          PO BOX 28017                                        GREEN BAY         WI           54304                   Vendor Terms Agreement
Eldora Industrial Development Corp.    P.O. Box 311                                        Eldora            IA           50627                   Lease                                   11/13/1996               9/19/2022
Eldora Industrial Development Corp.    1425 EDGINGTON AVENUE                               ELDORA            IA           50627                   Operating Lease                         11/13/1996               9/30/2022                N/A
                                                                                                                          28262-
ELECTROLUX HOMECARE PROD OF N AM       10200 DAVID TAYLOR DR                               CHARLOTTE         NC           0000                    Vendor Terms Agreement
                                                                                                                                                  Public Relations (Assist with
                                                                                                                                                  campaign strategy,
                                                                                                                                                  development and
                                                                                                                                                  distribution, media
                                                                                                                                                  outreach, PRNewsire
Element                                2081 Profit Place                                   DePere            WI           54115                   amplication)                              6/12/2018       Expires 6/12/2019
                                                                                                                                                  Digital Advertising Agent
                                                                                                                                                  (Paid Search, Shopping,
                                                                                                                                                  Display, YouTube,                                     can terminate within 2
Elite SEM, Inc                         142 West 36th Street                                New York          NY           10016                   Remarketing, etc.)                         7/1/2017     business days notice
ELIZABETH ARDEN INC                    2400 SW 145TH AVENUE                                MIRAMAR           FL           33027                   Vendor Terms Agreement
Elizabeth Trainor LLC                  SW Burlingame Place                                 Portland          OR           97239                   Lease                                   11/30/2015               5/31/2026
Elizabeth Trainor LLC                  1450 SOUTH GRAND AVE.                               PULLMAN           WA           99163                   Operating Lease                         11/30/2015               5/31/2026                N/A
                                                                                                                          18240-
ELK GROUP POMEROY COLLECTION           12 WILLOW LANE                                      NESQUEHONING      PA           1228                    Vendor Terms Agreement
ELLERY HOLDINGS LLC                    295 FIFTH AVENUE SUITE 1212                         NEW YORK          NY           10016                   Vendor Terms Agreement
ELLISON FIRST ASIA LLC                 230 FIFTH AVENUE STE 711                            NEW YORK          NY           10001                   Vendor Terms Agreement
ELMER CANDY CORPORATION                PO BOX 788                                          PONCHATOULA       LA           70454                   Vendor Terms Agreement
ELMERS PRODUCTS INCORPORATED           2301 SHERMUR ROAD                                   NORTH BROOK       IL           60062                   Vendor Terms Agreement
ELSA L INCORPORATED                    800 A STREET                                        SAN RAFAEL        CA           94901                   Vendor Terms Agreement
Emerald Companies                      PO Box 621                                          Waite Park        MN           56387                   Lawn Care ST017

EMERGE TECHNOLOGIES                    955 FREEPORT PKWY SUITE 100                         COPPELL           TX           75019                   Vendor Terms Agreement
EMERSON HEALTHCARE LLC                 407 E LANCASTER AVENUE                              WAYNE             PA           19087                   Vendor Terms Agreement
                                                                                                                          07054-
EMERSON RADIO CORPORATION              9 ENTIN ROAD                                        PARSIPPANY        NJ           0430                    Vendor Terms Agreement
EMERY JENSEN DISTRIBUTION              2200 KENSINGTON COURT                               OAK BROOK         IL           60523                   Vendor Terms Agreement
Emil Gerahart                          109 S 6th St                                        Missouri Valley   IA           51555                   Lawn Care ST688

EMILIA PERSONAL CARE INCORPORATE       555 SUN VALLEY DRIVE STE M-2                        ROSWELL           GA           30076                   Vendor Terms Agreement
EMPIRE BRANDS INCORPORATED             875 WEST 375 NORTH                                  LINDON            UT           84042                   Vendor Terms Agreement
EMPIRE CANDLE CO LLC                   2925 FAIRFAX TRAFFICWAY                             KANSAS CITY       KS           66115                   Vendor Terms Agreement
                                       2029 S BUSINESS PARKWAY BLDG
EMPIRE ELECTRONIC CORPORATION          A                                                   ONTARIO           CA           91761                   Vendor Terms Agreement

                                                                                                                                                  Workers' Compensation
Employer Resources Northwest           1119 Pacific Ave               Suite 900            Tacoma            WA           98402                   management - state of WA                                      30 day notice
EMRG LLC                               1115 BROADWAY FL 5                                  NEW YORK          NY           10010                   Vendor Terms Agreement
EMS MIND READER LLC                    210 250 PASSAIC STREET                              NEWARK            NJ           07101                   Vendor Terms Agreement
ENCHANTE ACCESSORIES INCORPORATE       4 EAST 34TH STREET                                  NEW YORK          NY           10016                   Vendor Terms Agreement
Encinal Shopko Redding, LLC            6 Venado Drive                                      Tiburon           CA           94920                   Lease                                   12/15/2014              12/31/2031
Encinal Shopko Redding, LLC            55 LAKE BOULEVARD                                   REDDING           CA           96003                   Operating Lease                         12/15/2014              12/31/2031                N/A
Endicia                                278 Casiro St                                       Mountain View     CA           94041                   ecommerce fulfillment




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                                                                                                                                                    Lease and Nature of          Date of Contract or                       List Contract Number of Any
            Contract Counterparty              Address1                    Address2                 City        State   Postal Code    Country        Debtor's Interest                Lease           Remaining Term          Government Contract
                                     131 NORTH BROADWAY 2ND                                                             08879-
ENDLESS GAMES                        FLOOR                                               SOUTH AMBOY       NJ           1639                     Vendor Terms Agreement
ENERCO GROUP INCORPORATED            4560 WEST 160TH STREET                              CLEVELAND         OH           44135                    Vendor Terms Agreement
                                                                                                                                                 Front end fixture/ Fast Rack
Energizer                            53 MARYVILLE UNIVERSITY DR                          ST LOUIS          MO           63141                    Placement
                                                                                                                        60143-
ENESCO L L C                         225 WINDSOR DRIVE                                   ITASCA            IL           1225                     Vendor Terms Agreement
ENGLEWOOD APPLIANCE COMPANY INCO     1471 PARTNERSHIP DRIVE                              GREEN BAY         WI           54304                    Vendor Terms Agreement

ENI-JR286 INC                        20100 SOUTH VERMONT AVENUE                          TORRANCE          CA           90502                    Vendor Terms Agreement
ENJG, Ltd.                           315 Lakewood Drive                                  Gadsden           AL           35901                    Lease                                     1/28/2013          11/30/2028
ENJG, Ltd.                           946 E. MAIN STREET                                  WINNECONNE        WI           54986                    Operating Lease                           1/28/2013          11/30/2028              N/A
                                     8770 W BRYN MAWR AVE SUITE
ENJOY LIFE NATURAL BRANDS LLC        1100                                                CHICAGO           IL           60631                    Vendor Terms Agreement
                                                                                                                                                 L00206 ELY NV Build to Suit
                                                                                                                                                 Failure Payment (Obligation
Ensign Development Group             701 Great Basin Blvd                                Ely               NV           89301                    Performed)                                 7/1/2016          11/30/2031              N/A
                                     2325 East Camelback Rd Suite
Ensign Development Group, LLC        1100                                                Phoenix           AZ           85016                    Lease                                      1/7/2015           9/30/2030

Enterprise FM Trust                  S17 W22650 Lincoln Avenue                           Waukesha          WI           53187                    Nissan Master Equity Lease              11/16/2012
ENVIO COMMERCE LLC (C-HUB)           1865 EAST 9TH STREET                                BROOKLYN          NY           11223                    Vendor Terms Agreement
ENVIROCON TECHNOLOGIES INC           PO BOX 3547                                         AUSTIN            TX           78764                    Vendor Terms Agreement

ENVIROSCENT INC                      5605 GLENRIDGE DRIVE STE 760                        ATLANTA           GA           30342                    Vendor Terms Agreement
EOS PRODUCTS LLC                     307 5TH AVENUE 5TH FLOOR                            NEW YORK          NY           10016                    Vendor Terms Agreement
                                     NUMBER ONE GENERAL MILLS
EPIC PROVISIONS                      BLVD                                                MINNEAPOLIS       MN           55426                    Vendor Terms Agreement
EPOCA INCORPORATED                   931 CLINT MOORE ROAD                                BOCA RATON        FL           33487                    Vendor Terms Agreement
EPOCH EVERLASTING PLAY LLC           75 D LACKAWANNA AVENUE                              PARSIPPANY        NJ           07054                    Vendor Terms Agreement
EPTA AMERICA                         50 MORTON ST UNIT A                                 EAST RUTHERFORD   NJ           07073                    Vendor Terms Agreement
EQK Bridgeview Plaza, Inc.           1603 LBJ Freeway, Suite 300                         Dallas            TX           75234                    Lease                                     9/17/1971          10/18/2019
EQK Bridgeview Plaza, Inc.           2438 ROSE STREET                                    LA CROSSE         WI           54603                    Operating Lease - OPT                     7/26/1984          10/31/2019              N/A
EQK Bridgeview Plaza, Inc.           2500 ROSE STREET                                    LA CROSSE         WI           54603                    Operating Lease                           9/17/1971          10/31/2019              N/A
ESCALADE SPORTS                      817 MAXWELL                                         EVANSVILLE        IN           47711                    Vendor Terms Agreement

ESI CASES & ACCESSORIES INCORPOR     240 MADISON AVENUE 11TH FL                          NEW YORK          NY           10016                    Vendor Terms Agreement
ESSCO ACQUISITION CORP               1933 HIGHLAND ROAD                                  TWINSBURG         OH           44087                    Vendor Terms Agreement
ESSELTE AMERICA                      48 S SERVICE ROAD STE 400                           MELVILLE          NY           11747                    Vendor Terms Agreement
                                                                                                                        60188-
ESSENDANT CO                         810 KIMBERLY DRIVE                                  CAROL STREAM      IL           0000                     Vendor Terms Agreement
                                                                                                                                                 Essential Software Inc - SAR,
                                                                                                                                                 ERO, Express Delivery
                                                                                                                                                 (mainframe software) -
                                                                                                                                                 Acquired by Legent and
                                                                                                                        91403-                   Computer Associates in
Essential Software Inc               16233 Ventura Boulevard        Suite 614            Sherman Oaks      CA           2301                     1995                                      1/12/1990           1/30/2021   Agreement number 905251
                                     135 WEST 36TH STREET 5TH
ETERNAL FORTUNE FASHION LLC          FLOOR                                               NEW YORK          NY           10018                    Vendor Terms Agreement
ETON CORPORATION                     1015 CORPORATION WAY                                PALO ALTO         CA           94303                    Vendor Terms Agreement
EURO PRO OPERATING L L C             178 WEST SERVICE ROAD                               CHAMPLAIN         NY           12919                    Vendor Terms Agreement
EUROGRAPHICS INC                     9105 SALLEY                                         LASALLE           QC           H8R 2C8       Canada     Vendor Terms Agreement
EUROPEAN HOME DESIGNS L L C          148 MADISON AVE                                     NEW YORK          NY           10016                    Vendor Terms Agreement
                                     3D 20 TAIPEI WORLD TRADE
EUSEBIO SPORTING CO LTD              CENTER 5                                            TAIPEI                                       TAIWAN     Vendor Terms Agreement
                                     9277 CENTRE POINTE DRIVE STE
EVENFLO FEEDING INCORPORATED         160                                                 WEST CHESTER      OH           45069                    Vendor Terms Agreement
EVENFLO JUVENILE FURNITURE COMPA     225 BYERS ROAD                                      MIAMISBURG        OH           45342                    Vendor Terms Agreement
EVERGREEN ENTERPRISES OF VIRGINI     5915 MIDLOTHIAN TURNPIKE                            RICHMOND          VA           23225                    Vendor Terms Agreement
Evergreen Line                       823 Commerce Dr.               2nd Floor            Oak Brook         IL           60523                    Ocean carrier                              6/1/2018           5/31/2019
EVERYTHING LEGWEAR LLC               2211 HAWKS LANDING                                  FAYETTEVILLE      AZ           72704                    Vendor Terms Agreement
EVOLUTION LIGHTING LLC               880 SW 145TH AVE SUITE 100                          PEMBROKE PINES    FL           33027                    Vendor Terms Agreement
EVOLUTION ROBOTICS                   1055 EAST COLORADO BLVD                             PASADENA          CA           91106                    Vendor Terms Agreement
EVOLUTIONARY APPAREL INC             9420 TELSTAR AVE #206                               EL MONTE          CA           91731                    Vendor Terms Agreement




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             Contract Counterparty                           Address1                      Address2              City        State   Postal Code   Country        Debtor's Interest               Lease              Remaining Term                Government Contract

                                                                                                                                                             Provides mandatory Insurer
                                                                                                                                                             Reporting Services in
                                                                                                                                                             compliance with The                               Continuation of services
                                                                                                                                                             Medicare, Medicade, and                              until 180 day written
                                                                                                                                                             SCHIP Extension Act                               term notice. 30 written
                                                                                                                                                             (MSEA). Now includes                2nd agreement notice if Customer is not
Exam Works Clinical Solutions                    2397 Huntcrest Way, Suite 200                         Lawrenceville    GA           30043                   monthly charge.                          12/18/17            paying timely.
EXCELL MARKETING L C                             PO BOX 1297                                           DESMOINES        IA           50305                   Vendor Terms Agreement
                                                 11550 NORTH MERIDIAN STREET
EXCLUSIVE GROUP LLC DBA BINATONE                 STE 525                                               INDIANAPOLIS     IN           46032                   Vendor Terms Agreement
                                                                                                                                     91311-
EXHART                                           20364 PLUMMER STREET                                  CHATSWORTH       CA           0000                    Vendor Terms Agreement
                                                                                                                                     02110-
Experian Marketing Solution, Inc                 125 Summer Street               Suite 1910            Boston           MA           1615                    License Agreement                         5/1/2013
                                                                                                                                     02110-
Experian Marketing Solution, Inc                 126 Summer Street               Suite 1911            Boston           MA           1616                    Annual Renewal                                                   5/31/2019
                                                                                                                                                             Eleventh Amendment to
                                                                                                                                                             Extend Term The
                                                                                                                                                             Independent Contractor
Experis US, Inc                                  4321 W. College Ave             Suite 345             Appleton         WI           54914                   Agreement                                 8/8/2003              12/31/2021
                                                                                                                                                             Administrator that provide
                                                                                                                                                             pharmacy benefit
Express Scripts, Inc                             P O Box 14711                                         Lexington        KY           40512                   management services                       1/1/2017              12/31/2019
Express Staffing                                 2271 Fox Heights Lane                                 Green bay        WI           54304                   Staffing firm                           10/25/2018              10/25/2019
EXPRESSIVE DESIGN GROUP INC                      49 GARFIELD STREET                                    HOLYOKE          MA           01040                   Vendor Terms Agreement
EXQUISITE APPAREL CORPORATION                    230 WEST 38TH 2ND FLOOR                               NEW YORK         NY           10118                   Vendor Terms Agreement
EXTREME CONCEPTS                                 75 E CHERRY STREET STE 9B                             RAHWAY           NJ           07065                   Vendor Terms Agreement
EXTREME LINEN LLC                                7 WEST 34TH STREET                                    NEW YORK         NY           10001                   Vendor Terms Agreement
                                                                                                                                                             Extreme Networks                                                               Contact/Agreement 5-01034717 and
Extreme Networks                                 6480 Via Del Oro                                      San Jose         CA           95119                   Maintenance Renewal                      6/20/2018               6/19/2019                5-01034712
EXXEL OUTDOORS                                   PO BOX G                                              HALEYVILLE       AL           35565                   Vendor Terms Agreement
eye Med                                          55 E Jackson Blvd                                     Chicago          IL           60604                   DC Insurance
Eye Q Eyecare                                    7 October Hill Road                                   Holliston        MA           01746                   Optical Supplies
                                                                                                                                                             Eyecare Professional
Eyemed                                           4000 Luxottica Place                                  Cincinnati       OH           45040                   Agreement
EZRASONS INCORPORATED                            37 WEST 37TH STREET                                   NEW YORK         NY           10018                   Vendor Terms Agreement
F & M TOOL & PLASTICS INC                        163 PIONEER DRIVE                                     LEOMINSTER       MA           01453                   Vendor Terms Agreement
F & S Landscape                                  401 S. Evans St                                       Tecumseh         MI           49286                   Lawn Care ST648
                                                                                                                                     19462-
F & T APPAREL LLC                                4000 CHEMICAL ROAD STE 500                            PLYMOUTH MEETING PA           1708                    Vendor Terms Agreement

F G X INTERNATIONAL                              500 GEORGE WASHINGTON HWY                             SMITHFIELD       RI           02917                   Vendor Terms Agreement
                                                                                                                                     76092-
F S I FORT LAUDERDALE INCORPORAT                 1080 S KIMBALL AVE                                    SOUTHLAKE        TX           9007                    Vendor Terms Agreement
FAB HABITAT                                      49 HUBBARD AVENUE                                     RED BANK         NJ           07701                   Vendor Terms Agreement
                                                                                                                                     49428-
FABRI TECH INCORPORATED                          6719 PINE RIDGE COURT SW                              JENISON          MI           9253                    Vendor Terms Agreement
                                                                                                                                                                                                   T&Cs that are
                                                                                                                                                                                                   automatically
                                                                                                                                                             Standard Terms accepted       accepted once an IO is
                                                                                                                                                             upon use for advertising,       accepted within our n/a - can stop orders at
Facebook                                         1 Hacker Way                                          Menlo Park       CA           94025                   pay with CC                                systems                 any time
Fair Acres Station LLC - Philips Edison          11501 Northlake Drive                                 Cincinnati       OH           45249                   Lease                                    9/14/2018               9/30/2022
Fair Acres Station LLC - Philips Edison          1810 Jackson Street                                   OSHOKSH          WI           54901                   Operating Lease                          9/14/2018               9/30/2022                   N/A
Fall River Health Services                       1201 Hwy 71 South                                     Hot Springs      SD           57747                   340B Contract                             4/6/2018
                                                 214 WEST 39TH STREET ROOM
FAME FASHION HOUSE LLC                           401A                                                  NEW YORK         NY           10018                   Vendor Terms Agreement

Family Medicine Residency of Idaho, Inc. (The)   2275 S. Eagle Rd.               Ste 120               Meridian         ID           83642                   340B Contract                            1/16/2017               1/10/2019
FAMMA GROUP                                      4510 LOMA VISTA AVENUE                                VERNON           CA           90058                   Vendor Terms Agreement

FAMOSA NORTH AMERICA INC                         3000 ATRIUM WAY SUITE #101                            MT LAUREL        NJ           08054                   Vendor Terms Agreement




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             Contract Counterparty                Address1                   Address2                City          State   Postal Code    Country        Debtor's Interest              Lease             Remaining Term              Government Contract
                                                                                                                           91761-
FANFAVE INC                           285 S DUPONT AVE SUITE 104                           ONTARIO            CA           1597                     Vendor Terms Agreement
FANG CLOTHING INCORPORATED            204 W ROSECRANS AVENUE                               GARDENA            CA           90248                    Vendor Terms Agreement
FANS ONLY LLC                         328 WYE HARBOR DR                                    QUEENSTOWN         MD           21658                    Vendor Terms Agreement
FANTAS EYES INCORPORATED              ONE WEST 37TH STREET                                 NEW YORK           NY           10018                    Vendor Terms Agreement
FANTASIA ACCESSORIES LIMITED          31 WEST 34TH STREET                                  NEW YORK           NY           10001                    Vendor Terms Agreement
FARIBAULT FOODS INCORPORATED          222 SO 9TH STREET STE 3380                           MINNEAPOLIS        MN           55402                    Vendor Terms Agreement
                                                                                                                                                                                                        01/01/16 -12/31/2025
Farmway Co-Operative, Inc.            1903 NORTH BUCKEYE AVENUE                            ABILENE            KS           67410                    Sublease                                 1/1/2016    with 2 five yr options              N/A
                                      15 WEST 34TH STREET 2ND
FASHION ACCESSORY BAZAAR STARPOI      FLOOR                                                NEW YORK           NY           10001                    Vendor Terms Agreement
FASHION ANGELS DIV M G PARTNERS       4353 N RICHARDS STREET                               MILWAUKEE          WI           53212                    Vendor Terms Agreement
FASHION AVENUE KNITS INCORPORATE      225 W 37TH STREET                                    NEW YORK           NY           10018                    Vendor Terms Agreement
FASHION FORWARD NY INCORPORATED       320 FIFTH AVENUE #1200                               NEW YORK           NY           10001                    Vendor Terms Agreement
FASHION OPTIONS DBA GENERATION O      1370 BROADWAY STE 901                                NEW YORK           NY           10018                    Vendor Terms Agreement
                                                                                                                                                    On Line trend service, 12
                                                                                                                                                    month subscription paid
Fashion Snoops                        39 West 38th Street 5th Fl                           New York           NY           10018                    7/13/2018
FAST FORWARD                          10 W 33RD STREET STE 705                             NEW YORK           NY           10001                    Vendor Terms Agreement
FASTTRACK FOODS                       45585 COMMERCE STREET                                INDIO              CA           92201                    Vendor Terms Agreement
FATHEAD LLC                           715 GRISWOLD                                         DETROIT            MI           48226                    Vendor Terms Agreement
                                      9111 S LA CIENGA BLVD SUITE
FBA INTERNATIONAL USA INC             101                                                  INGLEWOOD          CA           90301                    Vendor Terms Agreement
                                                                                           CAPE MAY
FEA MERCHANDISE INC                   502 SOUTH MAIN STREET                                COURTHOUSE         NJ           08210                    Vendor Terms Agreement

FEDERAL JEANS                         215 W 40TH STREET 6TH FLOOR                          NEW YORK           NY           10018                    Vendor Terms Agreement

                                                                                                                                                    Federated Telephone 12
Federated Telephone                   508 Atlantic Ave                                     Morris             MN           56267                    month services agreement                11/6/2015               1/25/2019
FENCEPOST PRODUCTIONS                 PO BOX 410916                                        KANSAS CITY        MO           64141                    Vendor Terms Agreement
                                                                                                                                                    Snow Removal for Big Box
Ferrandino & Son                      71 Carolyn Boulevard                                 Farmindale         NY           11735                    Locations                               1/16/2019                5 months
                                                                                                                                                    Front-end Checkout Space
Ferrara                               1 Tower Lane #2700                                   Oakbrood Terrace   IL           60181                    Agreement                                7/1/2018               6/30/2019
                                                                                                                           60130-
FERRARA CANDY COMPANY                 7301 WEST HARRISON                                   FOREST PARK        IL           1257                     Vendor Terms Agreement
Ferrell Gas                           5650 University Pkwy            Suite 400            Winston-Salem      NC           27105
                                                                                                                                                    Front-end Checkout Space
Ferrero                               7 Sylvan Way 4th Floor                               Parsippany         NJ           07054                    Agreement                                7/1/2018               6/30/2019

FETCH FOR COOL PETS                   1400 BROADWAY 27TH FLOOR                             NEW YORK           NY           10018                    Vendor Terms Agreement
FETCO HOME DECOR INC                  84 TEED DRIVE                                        RANDOLPH           MA           02368                    Vendor Terms Agreement

FHE GROUP                             260 SPINBAKER WAY UNITS 2-5                          CONCORD            ON           L4K 4P9       Canada     Vendor Terms Agreement
                                                                                                                           60714-
FIBRE CRAFT MATERIALS CORPORATIO      6400 W HOWARD STREET                                 NILES              IL           0000                     Vendor Terms Agreement
FIBRO SOURCE USA INCORPORATED         989 OLD EAGLE RD STE 810                             WAYNE              PA           19087                    Vendor Terms Agreement
                                      100 DeBartolo Place Suite 400
FIDC 50 LLC                           Boardman                                             Boardman           OH           44512                    Lease                                   2/27/2015              2/28/2030
FIDC 50 LLC                           710 N LL AND G AVENUE                                ANTHONY            KS           67003                    Operating Lease                         2/27/2015              2/28/2030                 N/A
FIDC XXIII LLC                        100 DeBartolo Place Suite 400                        Boardman           OH           44512                    Lease                                    2/8/2013             11/30/2028
FIDC XXIII LLC                        1002 OLD MN AVE                                      SAINT PETER        MN           56082                    Operating Lease                          2/8/2013             11/30/2028                 N/A
                                      100 DeBartolo Place Suite 400
FIDC XXX LLC                          Boardman                                             Boardman           OH           44512                    Lease                                   3/15/2013             11/30/2028
FIDC XXX LLC                          679 S WASHINGTON STREET                              AFTON              WY           83110                    Operating Lease                         3/15/2013             11/30/2028                 N/A
FIDC XXXVI LLC                        100 DeBartolo Place Suite 400                        Boardman           OH           44512                    Lease                                    4/9/2014              4/30/2030
FIDC XXXVI LLC                        1026 S. CHALLIS STREET                               SALMON             ID           83467                    Operating Lease                          4/9/2014              4/30/2030                 N/A
Fields Snow Removal Inc.              1290 Hickory St                                      Eldora             IL           61324                    Lawn Care ST119
FIESTA JEWELRY CORPORATION            250 ESTEN AVENUE STE A-1                             PAWTUCKET          RI           02860                    Vendor Terms Agreement
FIFTH & OCEAN CLOTHING INCORPORA      590 W 83RD STREET                                    HIALEAH            FL           33014                    Vendor Terms Agreement
FIFTH SUN                             495 RYAN AVE                                         CHICO              CA           95973                    Vendor Terms Agreement
                                                                                                                           21152-
FILA USA INCORPORATED                 930 RIDGEBROOK ROAD                                  SPARKS             MD           3000                     Vendor Terms Agreement




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             Contract Counterparty                        Address1                   Address2                 City            State   Postal Code    Country        Debtor's Interest               Lease             Remaining Term             Government Contract
                                                                                                                                      92660-
FILLPOINT SVG                                  4 SAN JOAQUIN PLAZA STE 200                         NEWPORT BEACH         CA           5934                     Vendor Terms Agreement
Finance System of Green Bay                    301 N Jackson St                                    Green Bay             WI           54305                    Store collections
Finance System of Green Bay                    301 N Jackson St                                    Green Bay             WI           54305                    pharmacy collections

FINE LINE PRODUCTS INCORPORATED                100 MERRICK ROAD SUITE 402E                         ROCKVILLE CENTER      NY           11570                    Vendor Terms Agreement
                                               1160 S MILLEDGE AVENUE STE
FIRE & FLAVOR GRILLING CO                      230                                                 ATHENS                GA           30605                    Vendor Terms Agreement
                                                                                                                                      33326-
FIRST ACT ENTERTAINMENT LTD                    1067 SHOTGUN ROAD                                   SUNRISE               FL           0000                     Vendor Terms Agreement

                                                                                                                                                               drug screening, background
First Advantage                                480 Quadrangle Drive           Suite A1             Bolingbrook           IL           60440                    checks, OIG searchs
First Advantage                                100 Carlton Parkway                                 St Petersburg         FL           33718                    DCDrug Screening


                                                                                                                                                               Risk & Information Analytics
                                                                                                                                                               Group WorkPlace Solutions
                                                                                                                                                               Agreement w/Drug &
First Advantage Screenery                      1307 Walt Whitman Road                              Melville              NY           11747                    Alcohol Screening Services                3/9/2010


                                                                                                                                                               Risk & Information Analytics
                                                                                                                                                               Group WorkPlace Solutions
                                                                                                                                                               Agreement w/Drug &                                      AT any time for any
First Advantage Screenery                      1307 Walt Whitman Road                              Melville              NY           11747                    Alcohol Screening Services                3/9/2010                  reason
                                                                                                                                      02453-
FIRST CHECK DIAGNOSTICS CORP                   51 SAWYER ROAD STE 200                              WALTHAM               MA           3448                     Vendor Terms Agreement

First Data                                     1307 Walt Whitman Road                              Melville              NY           11747                    Master Services Agreement              10/20/2009

First Data                                     1307 Walt Whitman Road                              Melville              NY           11747                    Master Services Agreement              10/20/2009
                                                                                                                                                               Licensing Agreement and
                                                                                                                                                               National Drug Data File
                                                                                                                                                               subscription (Account
First DataBank                                 701 Gateway Blvd.              Suite 600            South San Francisco   CA           94080                    292453)                                  7/15/2001              7/14/2020
                                                                                                                                                               Private label credit card
First National Bank of Omaha                   1620 Dodge Street              Stop Code 3199       Omaha                 NE           68197                    provider for Debtor                       9/6/2016                9/6/2024

                                                                                                                                                                                                                  written notice w/in 180
First National Bank of Omaha (joint mktg       1620 Dodge Street, Stop Code                                                                                                                                            days any time after
agreement)                                     3199                                                Omaha                 NE           68197                    Joint Marketing Agreement                2/10/2015 initial term is complete
First National Bank of Omaha (private lable    1620 Dodge Street, Stop Code                                                                                    Private Lable Credit Card
program aggreement)                            3199                                                Omaha                 NE           68197                    Provider                                  9/6/2016     4yr 6mos (9/5/2023)
                                                                                                                                      17748-
FIRST QUALITY                                  121 N RD                                            MCELHATTAN            PA           0000                     Vendor Terms Agreement

FIRST SOURCE LLC                               1100 MILITARY ROAD PO BOX 40                        BUFFALO               NY           14217                    Vendor Terms Agreement
                                               W237 N2889 WOODGATE RD                                                                 53072-
FIRSTIME MANUFACTORY L P I                     SUITE F                                             PEWAUKEE              WI           1000                     Vendor Terms Agreement
                                                                                                                                      14052-
FISHER PRICE CORE                              636 GIRARD AVENUE                                   E AURORA              NY           0000                     Vendor Terms Agreement
Fishers Technology SKO                         575 E 42nd st                                       Boise                 ID           93714                    Boise Maintenance
                                               METROPLEX CORPORATE CENTER                                                             19462-
FISHMAN & TOBIN INCORPORATED                   1                                                   PLYMOUTH MEETING PA                1708                     Vendor Terms Agreement
                                                                                                                                      53718-
FISKARS MANUFACTURING CORPORATIO               2537 DANIELS STREET                                 MADISON               WI           0000                     Vendor Terms Agreement
FIT & FRESH INC                                23 ACORN STREET                                     PROVIDENCE            RI           02903                    Vendor Terms Agreement
                                                                                                                                      80291-
FIT FOR LIFE LLC                               DEPARTMENT 1384                                     DENVER                CO           1384                     Vendor Terms Agreement
FITNESS EM LLC                                 660 DOUGLAS STREET                                  UXBRIDGE              MA           01569                    Vendor Terms Agreement
                                               Batiment Arizona A, 644 Voie
Fitphoto                                       l'Occitnae                                          Labege                                           France     Optical Fitting Box
FLATHAU FINE FOODS LLC                         211 GREENWOOD PLACE                                 HATTIESBURG           MS           39402                    Vendor Terms Agreement




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                                                                                                                                                      Description of Contract or
                                                                                                                                                         Lease and Nature of       Date of Contract or                       List Contract Number of Any
           Contract Counterparty               Address1                  Address2                  City             State   Postal Code    Country        Debtor's Interest              Lease           Remaining Term          Government Contract
FLAVOR BOYS INCORPORATED            212 S CURTIS ROAD                                       WEST ALLIS         WI           53214                    Vendor Terms Agreement
FLAVORX INCORPORATED                9475 GERWIG LANE                                        COLUMBIA           MD           21046                    Vendor Terms Agreement
                                                                                                                                                     Independent Contractor
Flextecs LLC                        1395 South Marietta Parkway   Building 500, Suite 202   Marietta           GA           30067                    Agreement                               8/17/2012          12/31/2018

Flextecs LLC                        1395 South Marietta Parkway   Building 500, Suite 202   Marietta           GA           30067                    Recovery Audit Agreement                8/17/2012          12/31/2018
                                                                                                                                                     Business Associate
Flextecs LLC                        1395 South Marietta Parkway   Building 500, Suite 202   Marietta           GA           30067                    Addendum                                8/13/2015          12/31/2018
Flintlock Capital, LLC              P.O. Box 45                                             McFarland          WI           53558                    Lease                                   11/4/2015          11/30/2029
Flintlock Capital, LLC              2201 ZEIER RD.                                          MADISON            WI           53704                    Operating Lease                         11/4/2015          11/30/2029              N/A
FLORACRAFT CORPORATION              ONE LONGFELLOW PLACE                                    LUDINGTON          MI           49431                    Vendor Terms Agreement
FLORIDA STATE GAMES INCORPORATED    6601 LYONS ROAD SUITE L-9                               COCONUT CREEK      FL           33073                    Vendor Terms Agreement
FLORISIN LLC                        535 BROADWAY STREET                                     EAU CLAIRE         WI           54703                    Vendor Terms Agreement
FLORISTS TRANSWORLD DELIVERY INC    3113 WOODCREEK DRIVE                                    DOWNERS GROVE      IL           60515                    Vendor Terms Agreement
FM BROWNS SONS INC                  205 WOODROW AVE                                         SINKING SPRING     PA           19608                    Vendor Terms Agreement
FOAMATION INCORPORATED              3775 S PACKARD AVENUE                                   ST FRANCIS         WI           53235                    Vendor Terms Agreement
FOCUS ELECTRICS LLC                 2845 WINGATE STREET                                     WEST BEND          WI           53095                    Vendor Terms Agreement
                                                                                                                            48309-
FONEGEAR L L C                      2139 AUSTIN AVENUE                                      ROCHESTER HILLS    MI           0000                     Vendor Terms Agreement
                                    1700 EAST PUTNAM AVE SUITE
FOOD MARKETING GROUP                208A                                                    GREENWICH          CT           06870                    Vendor Terms Agreement
FOOT PETALS INCORPORATED            13405 YARMOUTH ROAD NW                                  PICKERINGTON       OH           43147                    Vendor Terms Agreement
Foothill Shadows, LLC               5141 North 40th Street #500                             Phoenix            AZ           85018                    Lease                                 12/29/2015           11/30/2034
FOPPERS PET TREAT BAKERY            1005 WEST BROADWAY                                      LOGANSPORT         IN           46947                    Vendor Terms Agreement
FOR BARE FEET INCORPORATED          1201 SOUTH OHIO STREET                                  MARTINSVILLE       IN           46151                    Vendor Terms Agreement
FOR EVERY BODY                      PO BOX 50535                                            PROVO              UT           84605                    Vendor Terms Agreement
FOR KEEPS LLC                       929 S MYRTLE AVENUE                                     MONROVIA           CA           91016                    Vendor Terms Agreement
FORD GUM AND MACHINE COMPANY        18 NEWTON AVENUE                                        AKRON              NY           14001                    Vendor Terms Agreement
FOREIGN CANDY COMPANY INCORPORAT    1 FOREIGN CANDY DRIVE                                   HULL               IA           51239                    Vendor Terms Agreement
FOREMOST GROUPS INC                 906 MURRAY ROAD                                         EAST HANOVER       NJ           07936                    Vendor Terms Agreement
FORESTON TRENDS                     1483 VIA PLATA                                          LONG BEACH         CA           90810                    Vendor Terms Agreement
FOREVER GIFTS INC                   618 N GREAT SW PKWY                                     ARLINGTON          TX           76011                    Vendor Terms Agreement

FOREVER INTERNATIONAL INCORPORAT    7F NO 1 KWANG FU SOUTH ROAD                             TAIPEI                                        TAIWAN     Vendor Terms Agreement
FORIA INTERNATIONAL INCORPORATED    18689 ARENTH AVENUE                                     CITY OF INDUSTRY   CA           91748                    Vendor Terms Agreement
Fort Madison Community Hospital     5445 Avenue O                                           Fort Madison       IA           52627                    340B Contract                         10/13/2016            10/9/2018
FOTO ELECTRIC SUPPLY CO             1 REWE STREET                                           BROOKLYN           NY           11211                    Vendor Terms Agreement
FOTORAMA USA LLC                    43 E CRYSTAL CANYON CIRCLE                              SPRING             TX           77389                    Vendor Terms Agreement
                                                                                                                                                     Independent Contract
Foulk Consulting                    48318 Pinhurst Dr.                                      Northville         MI           48168                    Agreement                               8/15/2017
                                                                                                                                                     Schedule 2 to the ICA -
Foulk Consulting                    48318 Pinhurst Dr.                                      Northville         MI           48168                    Professional Services                                       8/31/2019
FOUNDATION CONSUMER HEALTHCARE L    1001 28TH ST SW                                         WYOMING            MI           49509                    Vendor Terms Agreement
FOUNDATIONS WORLDWIDE INC           7001 WOOSTER PIKE                                       MEDINA             OH           44256                    Vendor Terms Agreement
FOUNDING FATHERS PRODUCTS           2170 SHEVLIN DRIVE                                      ORONO              MN           55391                    Vendor Terms Agreement
                                                                                                                            98021-
FOUR SEASONS DESIGN                 22522 29TH DRIVE SE #101                                BETHELL            WA           4443                     Vendor Terms Agreement
FOUR SEASONS GENERAL MDSE           2801 E VERNON AVE                                       LOS ANGELES        CA           90058                    Vendor Terms Agreement
Four Seasons Home Owner             W6948 Wimmer Road                                       Tomahawk           WI           54487                    Lawn Care ST792
Four Seasons Home Owner             PO Box 58                                               Two Harbors        MN           55616                    Lawn Care ST628
FOUR WHAT ITS WORTH INC             5815 SMITHWAY STREET                                    COMMERCE           CA           90040                    Vendor Terms Agreement
FOWNES BROS & COMPANY               16 E 34TH STREET 5TH FLOOR                              NEW YORK           NY           10016                    Vendor Terms Agreement
Fox Lawn                            2086 Highland Ave                                       Salina             KS           67401                    Lawn Care ST553
Fox River Fiber Company Inc.        1717 Lawrence Drive                                     De Pere            WI           54115                    Sublease                                6/30/2035           6/30/2035              N/A
                                                                                                                                                     Service for teammates to
                                                                                                                                                     book air, car and hotel
                                                                                                                                                     travel. Assist with company
                                                                                                                                                     wide meetings and
                                                                                                                                                     negotiate rates for travel
FOX World Travel                    2150 S Washburn Street                                  Oshkosh            WI           54904                    services.
                                    42 WEST 39TH STREET 8TH
FRAGMENTS HOLDING LLC               FLOOR                                                   NEW YORK           NY           10018                    Vendor Terms Agreement
FRAGRANCENET COM                    900 GRAND BOULEVARD                                     DEER PARK          NY           11729                    Vendor Terms Agreement




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                                                                                                                                                              Description of Contract or
                                                                                                                                                                Lease and Nature of        Date of Contract or                          List Contract Number of Any
             Contract Counterparty                    Address1                       Address2                   City        State   Postal Code    Country        Debtor's Interest              Lease           Remaining Term             Government Contract
                                            100 WEST 33RD STREET SUITE                                                              10001-
FRANCO MANUFACTURING                        911                                                        NEW YORK        NY           0000                     Vendor Terms Agreement
                                                                                                                                    07193-
FRANCO MANUFACTURING COMPANY                PO BOX 10534                                               NEWARK          NJ           0534                     Vendor Terms Agreement
Frank Schwartz                              917 E 1st St                                               Redfield        SD           57469                    Lawn Care ST558
                                                                                                                                    19114-
FRANKFORD CANDY & CHOCOLATE COMP            9300 ASHTON ROAD                                           PHILADELPHIA    PA           3464                     Vendor Terms Agreement
FRANKLIN CORPORATION                        800 FRANKLIN DRIVE                                         HOUSTON         MS           38851                    Vendor Terms Agreement
                                                                                                                                    02072-
FRANKLIN SPORTS INCORPORATED                17 CAMPANELLI PARKWAY                                      STOUGHTON       MA           0508                     Vendor Terms Agreement
FRANSHAW INCORPORATED                       112 WEST 34TH STREET                                       NEW YORK        NY           10120                    Vendor Terms Agreement
                                            525 7TH AVENUE 38TH STREET
FRAZIER CLOTHING CO DBA SUSAN LA            22ND FLOOR                                                 NEW YORK        NY           10018                    Vendor Terms Agreement
FREAKER USA INCORPORATED                    1121 S FRONT STREET 201                                    WILMINGTON      NC           28401                    Vendor Terms Agreement
FRED DAVID INTERNATIONAL USA INC            103 MARCEL LAURIN                                          MONTREAL        QC           H4N 2M3       Canada     Vendor Terms Agreement
Frederick Square Limited Partnership        2954 S. 84th Street                                        Omaha           NE           68124                    Lease                                   6/19/2017           9/18/2022
Frederick Square Limited Partnership        3020 S 84TH ST                                             OMAHA           NE           68124                    Capital Lease                           6/19/2017           9/30/2022                  N/A
                                            1071 AVENUE OF THE AMERICAS
FREE COUNTRY LIMITED                        9TH FL                                                     NEW YORK        NY           10018                    Vendor Terms Agreement
                                                                                                                                    91761-
FREE FREE USA INCORPORATED                  1890 CARLOS AVENUE                                         ONTARIO         CA           0000                     Vendor Terms Agreement
Freeman Paquet                              621 4th ave S                                              Mobridge        SD           57601                    Lawn Care ST545
                                                                                                                                    08810-
FREEZE                                      473 RIDGE ROAD                                             DAYTON          NJ           1323                     Vendor Terms Agreement
                                                                                                                                    23185-
FREMONT DIE CONSUMER PRODUCTS               1709 ENDEAVOR DRIVE                                        WILLIAMSBURG    VA           6239                     Vendor Terms Agreement

FRENZ GROUP                                 PO BOX 6539 BAYWAY STATION                                 ELIZABETH       NJ           07202                    Vendor Terms Agreement
FREYCO PRODUCE                              10146 S SR 141                                             DECKER          IN           47524                    Vendor Terms Agreement
FRIDABABY LLC                               1607 ALTON ROAD 126                                        MIAMI BEAHC     FL           33139                    Vendor Terms Agreement
                                            26711 Northwetern Highway
Friedman Brokerage Company-WI, LLC          Suite 125                                                  Southfield      MI           48033                    Lease                                 12/11/1998            1/31/2025
Friedman Brokerage Company-WI, LLC          1800 PLOVER ROAD                                           PLOVER          WI           54467                    Capital Lease                         12/11/1998            1/31/2020                  N/A
                                                                                                                                                             Front-end Checkout Space
Frito Lay                                   5600 Headquarter Dr.                                       Plano           TX           75024                    Agreement                                7/1/2018           6/30/2019
                                                                                                                                                             Frontier Services
                                                                              180 S. Clinton Avenue,                                14545-                   Agreement -                                                             Frontier Broadband (BHSI) Schedule
Frontier Communications of America, Inc.    Attn: Associate General Counsel   7th floor                Rochester       NY           0700                     Telecommunications                      2/24/2014           2/23/2020                Business

                                                                                                                                                             Statement Of Work #57
                                                                                                                                                             Which Is A Supplement To
                                                                                                                                                             The Master Agreement For
                                                                                                                                                             The Supply Of Equipment
                                                                                                                                                             Software And Services No.
Fujitsu America, Inc                        2791 Telecom Parkway, ME2                                  Richardson      TX           75082                    Sho001 (Loyalty #1)                     6/15/2018                                   SOW #57

                                                                                                                                                             Statement Of Work #58
                                                                                                                                                             Which Is A Supplement To
                                                                                                                                                             The Master Agreement For
                                                                                                                                                             The Supply Of Equipment
                                                                                                                                                             Software And Services No.
Fujitsu America, Inc                        2791 Telecom Parkway, ME2                                  Richardson      TX           75082                    Sho001 (Loyalty 2)                      6/15/2018                                   SOW #58

                                                                                                                                                             Statement Of Work #59
                                                                                                                                                             Which Is A Supplement To
                                                                                                                                                             The Master Agreement For
                                                                                                                                                             The Supply Of Equipment
                                                                                                                                                             Software And Services No.
Fujitsu America, Inc                        2791 Telecom Parkway, ME2                                  Richardson      TX           75082                    Sho001 (Loyalty 3)                      6/15/2018                                   SOW #59




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                                                                            Schedule G: Executory Contracts and Unexpired Leases
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                                                                                                                                  Description of Contract or
                                                                                                                                    Lease and Nature of        Date of Contract or                       List Contract Number of Any
             Contract Counterparty              Address1          Address2           City        State   Postal Code   Country        Debtor's Interest              Lease           Remaining Term          Government Contract

                                                                                                                                 Statement Of Work #60
                                                                                                                                 Which Is A Supplement To
                                                                                                                                 The Master Agreement For
                                                                                                                                 The Supply Of Equipment
                                                                                                                                 Software And Services No.
Fujitsu America, Inc                  2791 Telecom Parkway, ME2              Richardson     TX           75082                   Sho001 (Loyalty 4)                      6/15/2018                                SOW #60
                                                                                                                                 Master Agreement for the
                                                                                                                                 Supply of Equipment,
                                                                                                                                 Software and Services
Fujitsu America, Inc                  2791 Telecom Parkway, ME2              Richardson     TX           75082                   SHO001                                   1/1/2010                None
                                                                                                                                 Software License and
                                                                                                                                 Software Maintenance
Fujitsu America, Inc                  2791 Telecom Parkway, ME2              Richardson     TX           75082                   Order Form #: SKO004                    3/22/2011                None
                                                                                                                                 Software License and
                                                                                                                                 Software Maintenance
Fujitsu America, Inc                  2791 Telecom Parkway, ME2              Richardson     TX           75082                   Order Form #: SKO005                    3/22/2011                None
                                                                                                                                 Software License and
                                                                                                                                 Software Maintenance
Fujitsu America, Inc                  2791 Telecom Parkway, ME2              Richardson     TX           75082                   Order Form #: SKO008                     7/1/2011                None
                                                                                                                                 Software License and
                                                                                                                                 Software Maintenance
Fujitsu America, Inc                  2791 Telecom Parkway, ME2              Richardson     TX           75082                   Order Form #: SKO009                     7/1/2011                None
                                                                                                                                 Addendum to Fujitsu
                                                                                                                                 Software License and
                                                                                                                                 Software Maintenance
                                                                                                                                 Order Forms SKO0010 and
Fujitsu America, Inc                  2791 Telecom Parkway, ME2              Richardson     TX           75082                   SKO0011                                 3/31/2012           3/31/2013
                                                                                                                                 Software License and
                                                                                                                                 Software Maintenance
Fujitsu America, Inc                  2791 Telecom Parkway, ME2              Richardson     TX           75082                   Order Form #: SKO010                     9/1/2012                None
                                                                                                                                 Software License and
                                                                                                                                 Software Maintenance
Fujitsu America, Inc                  2791 Telecom Parkway, ME2              Richardson     TX           75082                   Order Form #: SKO011                     9/1/2012                None
                                                                                                                                 Software License and
                                                                                                                                 Software Maintenance
Fujitsu America, Inc                  2791 Telecom Parkway, ME2              Richardson     TX           75082                   Order Form #: SKO011-A                   6/1/2012                None
                                                                                                                                 Software License and
                                                                                                                                 Software Maintenance
Fujitsu America, Inc                  2791 Telecom Parkway, ME2              Richardson     TX           75082                   Order Form #: SKO011-B                   7/1/2012                None
                                                                                                                                 Software License and
                                                                                                                                 Software Maintenance
Fujitsu America, Inc                  2791 Telecom Parkway, ME2              Richardson     TX           75082                   Order Form #: SKO011-C                   8/1/2012                None
                                                                                                                                 Software License and
                                                                                                                                 Software Maintenance
Fujitsu America, Inc                  2791 Telecom Parkway, ME2              Richardson     TX           75082                   Order Form #: SKO011-D                   9/1/2012                None
                                                                                                                                 Software License and
                                                                                                                                 Software Maintenance
Fujitsu America, Inc                  2791 Telecom Parkway, ME2              Richardson     TX           75082                   Order Form #: SKO011-E                  10/1/2012                None
                                                                                                                                 Software License and
                                                                                                                                 Software Maintenance
Fujitsu America, Inc                  2791 Telecom Parkway, ME2              Richardson     TX           75082                   Order Form #: SKO011-F                  11/1/2012                None
                                                                                                                                 Software License and
                                                                                                                                 Software Maintenance
Fujitsu America, Inc                  2791 Telecom Parkway, ME2              Richardson     TX           75082                   Order Form #: SKO014-A                10/16/2012                 None
                                                                                                                                 Software License and
                                                                                                                                 Software Maintenance
Fujitsu America, Inc                  2791 Telecom Parkway, ME2              Richardson     TX           75082                   Order Form #: SKO014-B                10/16/2012                 None
                                                                                                                                 Software License and
                                                                                                                                 Software Maintenance
Fujitsu America, Inc                  2791 Telecom Parkway, ME2              Richardson     TX           75082                   Order Form #: SKO017-A                   4/1/2013                None
                                                                                                                                 Software License and
                                                                                                                                 Software Maintenance
Fujitsu America, Inc                  2791 Telecom Parkway, ME2              Richardson     TX           75082                   Order Form #: SKO017-B                   4/1/2013                None




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                                                                                                                                    Description of Contract or
                                                                                                                                       Lease and Nature of       Date of Contract or                           List Contract Number of Any
             Contract Counterparty              Address1          Address2             City        State   Postal Code   Country        Debtor's Interest              Lease            Remaining Term             Government Contract
                                                                                                                                   Software License and
                                                                                                                                   Software Maintenance
Fujitsu America, Inc                  2791 Telecom Parkway, ME2              Richardson       TX           75082                   Order Form #: SKO018-A                   8/1/2013                   None
                                                                                                                                   Software License and
                                                                                                                                   Software Maintenance
Fujitsu America, Inc                  2791 Telecom Parkway, ME2              Richardson       TX           75082                   Order Form #: SKO018-B                   8/1/2013                   None
                                                                                                                                   Software License and
                                                                                                                                   Software Maintenance
Fujitsu America, Inc                  2791 Telecom Parkway, ME2              Richardson       TX           75082                   Order Form #: SKO024                    3/30/2015                   None
                                                                                                                                   Software License and
                                                                                                                                   Software Maintenance
Fujitsu America, Inc                  2791 Telecom Parkway, ME2              Richardson       TX           75082                   Order Form #: SKO025                     8/1/2015                   None
                                                                                                                                   Software License and
                                                                                                                                   Software Maintenance
Fujitsu America, Inc                  2791 Telecom Parkway, ME2              Richardson       TX           75082                   Order Form #: SKO026                  11/18/2015                    None
                                                                                                                                   Software License and
                                                                                                                                   Software Maintenance
Fujitsu America, Inc                  2791 Telecom Parkway, ME2              Richardson       TX           75082                   Order Form #: SKO033                     8/8/2016                   None

                                                                                                                                   Change Order 01 To Shopko
                                                                                                                                   Stores Operating Co., Order
Fujitsu America, Inc                  2791 Telecom Parkway, ME2              Richardson       TX           75082                   Form # SKO035                           3/15/2017                   None
                                                                                                                                   Software License and
                                                                                                                                   Software Maintenance
Fujitsu America, Inc                  2791 Telecom Parkway, ME2              Richardson       TX           75082                   Order Form #: SKO036                     4/1/2018              3/31/2019
                                                                                                                                   Software License and
                                                                                                                                   Software Maintenance
Fujitsu America, Inc                  2791 Telecom Parkway, ME2              Richardson       TX           75082                   Order Form #: SKO037                     4/1/2018              3/31/2019

                                                                                                                                   Statement of Work #11 is a
                                                                                                                                   supplement to the Master
                                                                                                                                   Agreement for the Supply of
                                                                                                                                   Equipment Software and
                                                                                                                                   Services No. SHO001 (Level
Fujitsu America, Inc                  8018 Mobud Dr.                         Houston          TX           77036                   3 Support)                               7/1/2011              1/31/2012

                                                                                                                                   Amendment 7 Statement of
Fujitsu America, Inc                  8018 Mobud Dr.                         Houston          TX           77036                   Work #11 (Level 3 Support)               1/8/2018              1/31/2019
                                                                                                                                   Statement of Work #55
                                                                                                                                   which is a supplement to
                                                                                                                                   the Master Agreement for
                                                                                                                                   the Supply of Equipment
                                                                                                                                   Software and Services No.
                                                                                                                                   SHO001 (Bonus Buy / Crazy
                                                                                                                                   Deal / Brand coupon
Fujitsu America, Inc                  2791 Telecom Parkway, ME2              Richardson       TX           75082                   Exclusions)                           10/20/2017    Accepted on 10/31/18
                                                                                                                                   Statement of Work #56
                                                                                                                                   which is a supplement to
                                                                                                                                   the Master Agreement for
                                                                                                                                   the Supply of Equipment
                                                                                                                                   Software and Services No.
                                                                                                                                   SHO001 (New Register
Fujitsu America, Inc                  2791 Telecom Parkway, ME2              Richardson       TX           75082                   Image)                                  2/14/2018   Delivered on 12/17/18

                                                                                                                                   Statement of Work #57
                                                                                                                                   which is a supplement to
                                                                                                                                   the Master Agreement for
                                                                                                                                   the Supply of Equipment
                                                                                                                                   Software and Services No.
Fujitsu America, Inc                  2791 Telecom Parkway, ME2              Richardson       TX           75082                   SHO001 (Loyalty #1)                     6/15/2018    Accepted on 1/16/18




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             Contract Counterparty                   Address1           Address2           City            State   Postal Code    Country        Debtor's Interest              Lease           Remaining Term            Government Contract

                                                                                                                                            Statement of Work #58
                                                                                                                                            which is a supplement to
                                                                                                                                            the Master Agreement for
                                                                                                                                            the Supply of Equipment
                                                                                                                                            Software and Services No.
Fujitsu America, Inc                      2791 Telecom Parkway, ME2                Richardson         TX           75082                    SHO001 (Loyalty 2)                      6/15/2018   Accepted on 1/16/18

                                                                                                                                            Statement of Work #59
                                                                                                                                            which is a supplement to
                                                                                                                                            the Master Agreement for
                                                                                                                                            the Supply of Equipment
                                                                                                                                            Software and Services No.
Fujitsu America, Inc                      2791 Telecom Parkway, ME2                Richardson         TX           75082                    SHO001 (Loyalty 3)                      6/15/2018   Accepted on 1/16/18

                                                                                                                                            Statement of Work #60
                                                                                                                                            which is a supplement to
                                                                                                                                            the Master Agreement for
                                                                                                                                            the Supply of Equipment
                                                                                                                                            Software and Services No.
Fujitsu America, Inc                      2791 Telecom Parkway, ME2                Richardson         TX           75082                    SHO001 (Loyalty 4)                      6/15/2018            3/31/2019
FULFILLMENT ADVANTAGE (C-HUB)             161 VOLMER AVENUE                        OLDSMAR            FL           34677                    Vendor Terms Agreement
                                          6000 GREENWOOD PLAZA STE                 GREENWOOD
FULLBAR LLC                               120                                      VILLAGE            CO           80111                    Vendor Terms Agreement
FUN APPAREL INCORPORATED                  10650 KINGHURST DRIVE                    HOUSTON            TX           77099                    Vendor Terms Agreement
                                                                                                                   68127-
FUN EXPRESS LLC                           5455 SOUTH 90TH STREET                   OMAHA              NE           0000                     Vendor Terms Agreement
FUNAI CORPORATION                         201 ROUTE 17 N FL#9                      RUTHERFORD         NJ           07070                    Vendor Terms Agreement
FUNDEX GAMES LIMITED                      2920 FORTUNE CIRCLE WEST                 INDIANAPOLIS       IN           46241                    Vendor Terms Agreement
FUNKO LLC                                 1202 SHUKSAN WAY                         EVERETT            WA           98203                    Vendor Terms Agreement
FUNRISE INCORPORATED                      7811 LEMONA AVENUE                       VAN NUYS           CA           91405                    Vendor Terms Agreement
FUNTIME INTERNATIONAL INC                 433 W GIRARD AVENUE                      PHILADELPHIA       PA           19123                    Vendor Terms Agreement

FUNVILLE LIMITED                          UNITS 1117-1120 11F TOWER B              EAST KOWLOON                                  Hong Kong Vendor Terms Agreement
FUSION PRODUCTS LIMITED                   5 CHERRY BLOSSOM RD.                     CAMBRIDGE          ON           N3H 4R7       CANADA    Vendor Terms Agreement
                                                                                                                   51501-
FUTURE FOAM INC                           1610 AVENUE N                            COUNCIL BLUFFS     IA           1071                     Vendor Terms Agreement
G & G OUTFITTERS INCORPORATED             4901 FORBES BOULEVARD                    LANHAM             MD           20706                    Vendor Terms Agreement
                                                                                                                   07080-
G & W LABORATORIES INCORPORATED           111 COOLIDGE ST                          SOUTH PLAINFIELD   NJ           0000                     Vendor Terms Agreement
G A M E APPAREL LLC                       137 SOUTH BROADWAY                       SOUTH AMBOY        NJ           08879                    Vendor Terms Agreement
G DEBBAS CHOCOLATIER INCORPORATE          5877 E BROWN AVENUE                      FRESNO             CA           93727                    Vendor Terms Agreement
G III LEATHER FASHIONS                    512 7TH AVENUE                           NEW YORK           NY           10018                    Vendor Terms Agreement
GAIA GROUP USA LLC                        2500 W HIGGINS ROAD                      HOFFMAN ESTATES    IL           60169                    Vendor Terms Agreement
                                                                                                                   80291-
GAIAM AMERICAS                            DEPARTMENT 1384                          DENVER             CO           1384                     Vendor Terms Agreement
GAL Horticulture Service                  PO Box 850                               Jacksboro          TX           76458                    Lawn Care ST203
GALDERMA LABORATORIES INCORPORAT          14501 N FREEWAY                          FORT WORTH         TX           76177                    Vendor Terms Agreement
                                                                                                                   41048-
GALERIE                                   3380 LANGLEY DRIVE                       HEBRON             KY           9105                     Vendor Terms Agreement
Gallatin Campground b/d/a KOA Billings    547 Garden Avenue                        Billings           MT           59101                    Lease                                 10/18/1989             6/30/2020
Gallatin Campground b/d/a KOA Billings    100 WASHINGTON STREET                    LIVINGSTON         MT           59047                    Capital Lease                         10/18/1989             6/30/2030               N/A
GAME TIME SNACKS LLC                      500 46TH STREET                          ROCK ISLAND        IL           61201                    Vendor Terms Agreement
                                                                                                                   33314-
GAMO OUTDOOR USA INC                      3911 SW 47TH AVENUE STE 914              DAVIE              FL           2818                     Vendor Terms Agreement
GANZ USA LLC                              1 PEARCE ROAD                            WOODBRIDGE         ON           L4L3T2        Canada     Vendor Terms Agreement
GARCOA LABS INCORPORATED                  26135 MUREAU ROAD #100                   CALABASAS          CA           91302                    Vendor Terms Agreement
                                                                                                                                            Armored Courier Service
Garda CL Great Lakes, Inc                 201 Schofield Drive                      Columbus           OH           43213                    provider to debtor             9/1/18 Amendment          Annual renewal
GARDEN STATE BULB COMPANY LLC             2720 INDUSTRIAL WAY                      VINELAND           NJ           08360                    Vendor Terms Agreement
GARDENS ALIVE LM FARMS LLC                320 MARY AVENUE                          GREENDALE          IN           47025                    Vendor Terms Agreement
GARDNER EQUIPMENT COMPANY INC             167 WEST KINDT STREET                    JUNEAU             WI           53039                    Vendor Terms Agreement
                                                                                                                   55082-
GARTNER STUDIOS INCORPORATED              132 MAIN STREET S SUITE 2                STILLWATER         MN           0000                     Vendor Terms Agreement




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                                                                                                                                             Description of Contract or
                                                                                                                                               Lease and Nature of        Date of Contract or                        List Contract Number of Any
              Contract Counterparty                Address1               Address2             City        State   Postal Code    Country        Debtor's Interest              Lease           Remaining Term           Government Contract

GARVEN INCORPORATED                    1450 NORTHLAND DRIVE                          MENDOTA HEIGHTS MN            55120                    Vendor Terms Agreement

Gayle E. Pereira Living Trust          501 North El Camino Real #200                 San Clemente     CA           92672                    Lease                                    4/6/1994           4/30/2019
Gayle E. Pereira Living Trust          1101 N. INDIANA AVENUE                        SYRACUSE         IN           46567                    Operating Lease                          4/6/1994           6/30/2028               N/A
                                                                                                                   10018-
GBG BRIEFLY STATED                     1359 BROADWAY RM 1800                         NEW YORK         NY           7102                     Vendor Terms Agreement

GBG DENIM USA LLC                      350 FIFTH AVENUE 4TH FLOOR                    NEW YORK         NY           10118                    Vendor Terms Agreement

GBG SOCKS LLC                          350 FIFTH AVENUE 9TH FLOOR                    NEW YORK         NY           10118                    Vendor Terms Agreement
GBP                                    P.O. Box 19017                                Green Bay        WI           54307                    Lease                                   3/23/2012                #N/A
GBP                                    480 Holmgren Way                              Green Bay        WI           54304                    Operating Lease                         3/23/2012          12/31/2019               N/A
                                                                                                                                            4 YR, $6.6 mil Purchase
GE Lighting                            105 Bryant Rd                                 Turnersville     NJ           08012                    Agreement

GENERAL FOAM PLASTICS CORPORATIO       3321 EAST PRINCESS ANNE ROAD                  NORFOLK          VA           23502                    Vendor Terms Agreement

GENERAL IMAGING COMPANY                1411 W 190TH STREET SUITE 550                 GARDENA          CA           90248                    Vendor Terms Agreement
GENERAL MILLS INCORPORATED             PO BOX 1113                                   MINNEAPOLIS      MN           55440                    Vendor Terms Agreement

Generics Bidco DBA Qualitest           130 Vintage Dr                                Huntsville       AL           35811                    Alternate Generic Supplier

GENESIS INDUSTRIES LTD                 818 CHEUNG SHA WAN ROAD                       KOWLOON                                     Hong Kong Vendor Terms Agreement
Genesis Investment Properties          2439 Kuser Road                               Hamilton         NJ           08690                   Lease                                    6/13/2008           2/28/2025
Genesis Investment Properties          1080 HWY 414                                  MOUNTAIN VIEW    WY           82939                   Operating Lease                          6/13/2008           2/28/2025               N/A
                                                                                                                   10018-
GENEVA WATCH GROUP                     1407 BROADWAY                                 NEW YORK         NY           0000                     Vendor Terms Agreement
GENNCO INTERNATIONAL INC               44 CENTURY DRIVE                              WHEELING         IL           60090                    Vendor Terms Agreement
GERBER CHILDRENS WEAR LLC              PO BOX 3010                                   GREENVILLE       SC           29602                    Vendor Terms Agreement
                                                                                                                   97224-
GERBER GEAR DIV OF FISKARS             14200 SW 72ND AVENUE                          PORTLAND         OR           0000                     Vendor Terms Agreement
                                                                                                                                            WebPDM Master Software
                                                                                                                                            License Agreement -
Gerber Technology, Inc                 24 Industrial Park West                       Tolland          CT           06084                    7/19/1999                               7/19/1999

                                                                                                                                            WebPDM Master Software
                                                                                                                                            License Agreement
Gerber Technology, Inc                 24 Industrial Park West                       Tolland          CT           06084                    Addendum - 7/30/1999

                                                                                                                                            WebPDM Master Software
                                                                                                                                            License Agreement
Gerber Technology, Inc                 24 Industrial Park West                       Tolland          CT           06084                    Addendum - 11/10/2003
GERICARE PHARMACEUTICALS COMPANY       1650 63RD STREET                              BROOKLYN         NY           11204                    Vendor Terms Agreement

GERSON COMPANY                         1450 SOUTH LONE ELM ROAD #A                   OLATHE           KS           66061                    Vendor Terms Agreement
                                                                                                                                            Signature 750/month, for 1
Getty Images/iStock                    Suite 313-1240 20th Ave SE                    Calgary          Alberta      T2G 1M8       Canada     year • $4,218.95/yr                paid 9/19/2018         Thru 9/18/20
GFA BRANDS A BOULDER BRANDS CO         1600 PEARL STREET STE 300                     BOULDER          CO           80302                    Vendor Terms Agreement

GFS Building, LLC                      5141 North 40th Street Suite 500              Phoenix          AZ           85018                    Lease                                   4/30/2015          11/30/2034
                                                                                                                                            Front-end Checkout Space
Ghiradeli                              1111 139th Ave.                               San Leandro      CA           94578                    Agreement                                7/1/2018           6/30/2019
GHIRADELLI CHOCOLATE COMPANY           1111 139TH AVENUE                             SAN LEANDRO      CA           94578                    Vendor Terms Agreement

GI GO TOYS FACTORY                     FLAT E 1/F 4 SZE SHAN STREET                  KOWLOON                                     Hong Kong Vendor Terms Agreement
Gibbs Lawn Care                        PO Box 152                                    Bryon            MN           55920                   Lawn Care ST796
                                                                                                                   90040-
GIBSON OVERSEAS INCORPORATED           2410 YATES AVENUE                             COMMERCE         CA           1918                     Vendor Terms Agreement
Gift Card Co                           4161 2nd st                                   St Cloud         MN           56301                    gift cards
                                       BANCO DELTA ASIA CENTER STE
GIFT CREATIONS INCORPORATED            210 2ND FL                                    MACAU                                       CHINA      Vendor Terms Agreement
GIINII TECH CORP                       2160 LUNDY AVENUE STE 210                     SAN JOSE         CA           95131                    Vendor Terms Agreement
GILDAN BRANDED APPAREL SRL             1980 CLEMENTS FERRY ROAD                      CHARLESTON       SC           29492                    Vendor Terms Agreement




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                                                                                                                                             Description of Contract or
                                                                                                                                               Lease and Nature of        Date of Contract or                       List Contract Number of Any
              Contract Counterparty               Address1               Address2              City        State   Postal Code    Country        Debtor's Interest              Lease           Remaining Term          Government Contract
                                       2121 CRESCENT STREET SUITE
GILDAN BRANDED APPAREL SRL             100                                          MONTREAL          QC           H3G 2C1       Canada     Vendor Terms Agreement
Giles Lawn Maintenance                 25850 Freeborn Ave                           New Prague        MN           56071                    Lawn Care ST568
                                                                                                                   40218-
GILMOUR GROUP                          1961 BISHOP LANE STE 102                     LOUISVILLE        KY           1952                     Vendor Terms Agreement
                                       10 WEST 33RD STREET 3RD
GINA GROUP LLC                         FLOOR                                        NEW YORK          NY           10001                    Vendor Terms Agreement
GINSEY INDUSTRIES INCORPORATED         281 BENIGNO BOULEVARD                        BELLMAWR          NJ           08031                    Vendor Terms Agreement
Glacial Ridge Health System            10 Fourth Avenue SE                          Glenwood          MN           56334                    340B Contract                           5/31/2018
                                                                                                                                            product images, product
Gladson LLC                            1973 Ohio St                                 Lisle             IL           60532                    information
Gladwin Holdings, LLC                  2439 Kuser Road                              Hamilton          NJ           08690                    Lease                                   9/21/1995           5/22/2021
Gladwin Holdings, LLC                  174 JAMES ROBERTSON DRIVE                    GLADWIN           MI           48624                    Operating Lease                         9/21/1995          12/31/2021              N/A
                                       5710 AUBURN BOULEVARD UNIT
GLAMOUR RINGS                          19                                           SACRAMENTO        CA           95841                    Vendor Terms Agreement
GLAXOSMITHKLINE                        PO BOX 1467                                  PITTSBURGH        PA           15230                    Vendor Terms Agreement
Glenwood Plaza Development             PO Box 391                                   Glenwood          IA           51534                    Lease                                   10/9/1974           6/30/2019
Glenwood Plaza Development             902 S LOCUST                                 GLENWOOD          IA           51534                    Operating Lease                         10/9/1974           6/30/2019              N/A

GLOBAL ADVANTAGE TRADING & IMPOR       1000 LAKE ST LOUIS BLVD STE 23               LAKE ST LOUIS     MO           63367                    Vendor Terms Agreement
GLOBAL CLOTHING NETWORK INC            120 BRIGHTON ROAD UNIT 3                     CLIFTON           NJ           07012                    Vendor Terms Agreement

GLOBAL DESIGN CONCEPTS                 34 W 33RD STREET SUITE 1100                  NEW YORK          NY           10001                    Vendor Terms Agreement
GLOBAL DRAGON TECHNOLOGY DEVELOP       28 1200 AEROWOOD DRIVE                       MISSISSAUGA       ON           L4W2S7        Canada     Vendor Terms Agreement
GLOBAL HOLDINGS INCORPORATED           175 SYLVAN FOREST DRIVE                      THE WOODLANDS     TX           77381                    Vendor Terms Agreement
Global Optique                         36-01 43rd Ave                               L.I.C.            NY           11101                    Optical Frames
                                                                                                                   92590-
GLOBAL PRODUCT RESOURCES INC           28381 VINCENT MORAGA DRIVE                   TEMECULA          CA           3653                     Vendor Terms Agreement
                                                                                                                                            Trim Supply agreement,
Global Trim                            22835 Savi Ranch Pkwy., Suite A              Yorba Linda       Ca           92887                    signed 6/28/2017

GLORIA DUCHIN INCORPORATED             201 NARRAGANSETT PARK DRIVE                  EAST PROVIDENCE   RI           02916                    Vendor Terms Agreement
GLOVES IN A BOTTLE INCORPORATED        PO BOX 615                                   MONTROSE          CA           91021                    Vendor Terms Agreement
                                       W129 N10825 WASHINGTON                                                      53022-
GLUEDOTS INTERNATIONAL                 DRIVE                                        GERMANTOWN        WI           8202                     Vendor Terms Agreement

GMC MERCANTILE CORP                    231 WEST 39TH STREET STE 612                 NEW YORK          NY           10018                    Vendor Terms Agreement
GMPC LLC                               11390 OLYMPIC BLVD STE 400                   LOS ANGELES       CA           90064                    Vendor Terms Agreement
GOFIT LLC DEPT 66                      12929 E APACHE STREET                        TULSA             OK           74116                    Vendor Terms Agreement
GOJO INDUSTRIES INCORPORATED           ONE GOJO PLAZA                               AKRON             OH           44311                    Vendor Terms Agreement

GOKALDAS IMAGES USA INCORPORATED       8 WEST 40TH STREET 3RD FLOOR                 NEW YORK          NY           10018                    Vendor Terms Agreement
                                                                                                                   80011-
GOLD INCORPORATED                      18245 E 40TH AVENUE                          AURORA            CO           0805                     Vendor Terms Agreement
GOLD MEDAL INTERNATIONAL               19 WEST 34TH STREET                          NEW YORK          NY           10001                    Vendor Terms Agreement
GOLDEN TOUCH                           500 7TH AVENUE 7TH FLOOR                     NEW YORK          NY           10018                    Vendor Terms Agreement
                                       225 N RICHMOND STREET STE
GOLDEN TREE BRANDS                     103                                          APPLETON          WI           54911                    Vendor Terms Agreement
GOLDIE INTERNATIONAL INCORPORATI       4901 MORENA BLVD STE #120                    SAN DIEGO         CA           92117                    Vendor Terms Agreement
GOLDTOEMORETZ L L C                    514 WEST 21ST STREET                         NEWTON            NC           28658                    Vendor Terms Agreement
GOLDTOEMORETZ LLC                      514 WEST 21ST STREET                         NEWTON            NC           28658                    Vendor Terms Agreement
GOLF GIFTS & GALLERY                   N 1675 POWERS LAKE ROAD                      POWERS LAKE       WI           53159                    Vendor Terms Agreement
GOLF SALES WEST INC                    1901 EASTMAN AVENUE                          OXBARD            CA           93030                    Vendor Terms Agreement
                                       3701 W PLANO PARKWAY STE
GOLIATH GAMES LLC                      100                                          PLANO             TX           75075                    Vendor Terms Agreement
GOLLA USA                              935 W CHESTNUT ST STE 301                    CHICAGO           IL           60642                    Vendor Terms Agreement
                                       2859 Paces Ferry Road SE, Suite                                                                      Checkstand Cooler Funding
Good 2 Grow                            2100                                         Atlanta           GA           30339                    Agreement                               7/15/2018           7/13/2019
GOOD BEAN                              2980 SAN PABLO AVENUE                        BERKELEY          CA           94702                    Vendor Terms Agreement
GOOD CLEAN LOVE                        207 W 5TH AVENUE                             EUGENE            OR           97401                    Vendor Terms Agreement

GOOD OCEAN TRADING LIMITED (DEQI       1501 15F CAR PO COMMERCIAL                                                                Hong Kong Vendor Terms Agreement
Good Samaritan Society-St James        1000 2nd street South                        St James          MN           56081                   Residential Care




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             Contract Counterparty                           Address1                    Address2             City          State   Postal Code    Country        Debtor's Interest               Lease              Remaining Term             Government Contract
                                                  2859 PACES FERRY ROAD STE
GOOD2GROW                                         2100                                               ATLANTA           GA           30339                    Vendor Terms Agreement
                                                                                                                                                                                                   T&Cs that are
                                                                                                                                                                                                   automatically
                                                                                                                                                                                           accepted once an IO is
                                                                                                                                                             Google Search, Display,         accepted within our n/a - can stop orders at
Google LLC                                        1600 Amphiteathre Pkwy                             Mountain View     CA           94043                    YouTube digital advertising                systems                 any time
                                                                                                                                    45241-
GORILLA GLUE COMPANY                              2101 E KEMPER RD                                   SHARONVILLE       OH           1805                     Vendor Terms Agreement
GOT SNACKS LLC                                    1356 BROADWAY                                      NEW YORK          NY           10018                    Vendor Terms Agreement
Gothenburg Memorial Hospital                      910 20th Street                                    Gothenburg        NE           69138                    340B Contract                             6/7/2018

GOTTEX SWIMWEAR BRANDS LTD                        1441 BROADWAY 26TH FLOOR                           NEW YORK          NY           10018                    Vendor Terms Agreement

                                                                                                                                                             Provides mandatory Insurer
                                                                                                                                                             Reporting Services in                                       Auto renew for
                                                                                                                                                             compliance with The                                consecutive two (2) year
Gould & Lamb, LLC, a Florida limited liability                                                                                                               Medicare, Medicade, and                              terms unless a 90 day
company (G&L)                                     101 Riverwalk Blvd., Suite 100                     Bradenton         FL           34205                    SCHIP Extension Act (MSEA)                1/3/2014            written term
GOURMET GIFT CONCEPTS LLC                         230 MUIRFIELD COURT                                NORTH PRAIRIE     WI           53153                    Vendor Terms Agreement
GOURMET HOME PRODUCTS                             347 5TH AVENUE                                     NEW YORK          NY           10016                    Vendor Terms Agreement
GOURMET NUT                                       3611 14TH AVENUE 654                               BROOKLYN          NY           11218                    Vendor Terms Agreement
GRABBER PERFORMANCE GROUP                         4600 DANVERS DRIVE SE                              GRAND RAPIDS      MI           49512                    Vendor Terms Agreement
GRACE HOME FASHIONS                               295 5TH AVENUE STE 812                             NEW YORK          NY           10016                    Vendor Terms Agreement
GRACIOUS LIVING CORPORATION                       7200 MARTIN GROVE                                  WOODBRIDGE        ON           L4L 9J3       Canada     Vendor Terms Agreement
GRACO CHILDRENS PRODUCTS                          150 OAKLANDS BOULEVARD                             EXTON             PA           19341                    Vendor Terms Agreement
                                                  600 MEADOWLANDS PKWY STE
GRAMERCY PRODUCTS                                 131                                                SECAUCUS          NJ           07094                    Vendor Terms Agreement
Gran and Benedicts Inc                            6140 SW Macadam Ave                                Portland          OK           97239                    fixtures
GRAND BASKET COMPANY INCORPORATE                  5306 GRAND AVENUE                                  MASPETH           NY           11378                    Vendor Terms Agreement
GRAND IMAGINATION LLC                             20958 NORDHOFF STREET                              CHATSWORTH        CA           91311                    Vendor Terms Agreement
GRANDE IMPRESSIONS LTD                            5303 E 47TH AVE                                    DENVER            CO           80216                    Vendor Terms Agreement

                                                                                                                                                                                                                1 yr term, then 1 month
                                                                                                                                                                                                                auto renewal w/ 30 day
Granite City Armored Car, Inc                     1026 13th Avenue North                             Sauk Rapids       MN           56379                    Armored courier for Debtor                5/1/2018           notice to term

Granite Falls Municipal Hospital and Manor        345 10th Avenue                                    Granite Falls     MN           56241                    340B Contract                            12/1/2017              12/19/2018
                                                                                                                                                             Commercial Account
Granite Telecommunications LLC                    100 Newport Avenue Extension                       Quincy            MA           02171                    Broadband                                3/16/2009
                                                  345 NORTH MAPLE DRIVE SUITE
GRANT & BOWMAN INCORPORATED                       190                                                BEVERLY HILLS     CA           90210                    Vendor Terms Agreement
Grant Regional Health Center                      507 S. Monroe Street                               Lancaster         WI           53813                    340B Contract                           10/24/2017
Grass Roots Lawn Care                             1937 Snake Ridge Road                              Liberty           KY           42539                    Lawn Care ST202
                                                                                                                                    63146-
GRASSWORX LLC                                     2381 CENTERLINE INDUSTRIAL                         SAINT LOUIS       MO           3301                     Vendor Terms Agreement
Graysen Trandem                                   12149 US Hwy 16                                    Custer            SD           57730                    Lawn Care ST763
Great America Financial Service - SKO             625 First St                                       Cedar Rapids      IA           52401                    DC Printers
GREAT AMERICAN MERCHANDISE & EVE                  16444 N 91ST STREET BLDG H                         SCOTTSDALE        AZ           85260                    Vendor Terms Agreement

GREAT AMERICAN PRODUCTS INCORP                    1661 S SEGUIN AVENUE FM 725                        NEW BRAUNFELS     TX           78130                    Vendor Terms Agreement
GREAT BAY HOME (C HUB)                            44 INDUSTRIAL PARK DRIVE                           DOVER             NH           03820                    Vendor Terms Agreement
GREAT IDEAS LLC                                   1549 N VAN BUREN                                   OTTUMWA           IA           52501                    Vendor Terms Agreement
Great River Medical Center                        1221 S. Gear Ave.                                  West Burlington   IA           52655                    340B Contract                             4/6/2015

                                                                                                                                                             Advertising Rights And
                                                                                                                                                             Promotional Opportunities
                                                                                                                                                             With The Green Bay
                                                                                                                                                             Packers; Naming Rights For
                                                                                                                                    54307-                   South End Gate Of Lambeau
Green Bay Packers, Inc.                           1265 Lombardi Avenue             PO Box 10628      Green Bay         WI           0628                     Field Stadium                            7/20/2012               3/31/2023
Green Garden Landscape Services LLC               722 Edina Ln NE                                    Salem             OR           97301                    Lawn Care ST111
                                                  3208 CHIQUITA BOULEVARD S
GREEN HYGIENICS INCORPORATED                      STE 216                                            CAPE CORAL        FL           33914                    Vendor Terms Agreement




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                                                                                                                                    Lease and Nature of        Date of Contract or                       List Contract Number of Any
           Contract Counterparty                Address1           Address2           City         State   Postal Code Country        Debtor's Interest              Lease           Remaining Term          Government Contract
GREEN MOUNTAIN COFFEE ROASTERS      33 COFFEE LANE                            WATERBURY       VT           05676                 Vendor Terms Agreement
GREENPOINT DECOR LLC                38 BIRCH DRIVE                            MOUNT KISCO     NY           10549                 Vendor Terms Agreement
GREENSOURCE BRAND APPAREL INC       1020 SW 34TH STREET                       RENTON          WA           98057                 Vendor Terms Agreement
GREENTECH ENVIRONMENTAL             6118 KINGSPORT HIGHWAY                    JOHNSON CITY    TN           37615                 Vendor Terms Agreement
GREENWOOD BRANDS LLC                4455 GENESEE STREET                       BUFFALO         NY           14225                 Vendor Terms Agreement
Greg Licht                          301 W Juniper Road                        Beatice         NE           68310                 Lawn Care ST658
GRENADINE APPAREL DBA 3 SPROUT      302-385 SILVER START BLVD                 TORONTO         ON           M1V0E3     CANADA     Vendor Terms Agreement
                                    132 WEST 36TH STREET 6TH
GREY MATTER CONCEPTS APPAREL GRO    FLOOR                                     NEW YORK        NY           10018                 Vendor Terms Agreement
GROSFILLEX INCORPORATED             230 OLD WEST PENN AVENUE                  ROBESONIA       PA           19551                 Vendor Terms Agreement
GROUP III INTERNATIONAL LTD         2981 W MCNAB ROAD                         POMPANO BEACH   FL           33069                 Vendor Terms Agreement

GROW N UP LIMITED                   20 WESTLANDS ROAD                                                                Hong Kong Vendor Terms Agreement
GSI HOMESTYLES INC                  101 VILLANOVA DRIVE SW                    ATLANTA         GA           30336               Vendor Terms Agreement
                                                                                                                               Preferred Product
GSK                                 One Franklin Plaza                        Philadelphia    PA           19102               Agreement
GSM LLC                             3385 ROY ORR BOULEVARD                    GRAND PRAIRIE   TX           75050               Vendor Terms Agreement
GUN Group, Inc.                     714 Lake Avenue Suite 101                 Detroit Lakes   MN           56501               Lease                                     6/25/1990          11/30/2027
GUN Group, Inc.                     1087 3RD STREET NW                        ROSEAU          MN           56751               Capital Lease                             6/25/1990          11/30/2027              N/A
GUNTERSVILLE BREATHABLES DBA FRO    131 SUNDOWN DRIVE NW                      ARAB            AL           35016               Vendor Terms Agreement
GURUNANDA HEALTHLAND LLC            560 W LAMBERT ROAD B                      BREA            CA           92821               Vendor Terms Agreement
                                                                                                           53021-
GUY AND ONEILL INC                  200 INDUSTRIAL DRIVE                      FREDONIA        WI           0000                  Vendor Terms Agreement
                                                                                                           08535-
GW ACQUISITIONS LLC DBA G & W IN    15 WINDING CREEK DRIVE                    MILLSTONE TWP   NJ           8060                  Vendor Terms Agreement
H & H WHOLESALE SERVICES INC        1099 ROCHESTER ROAD                       TROY            MI           48083                 Vendor Terms Agreement
H BEST LTD DIV MORET TIME           1411 BROADWAY 8TH FLOOR                   NEW YORK        NY           10018                 Vendor Terms Agreement
H E R ACCESSORIES                   15 WEST 37TH STREET                       NEW YORK        NY           10018                 Vendor Terms Agreement
                                                                                                           10018-
H F MANUFACTURING CORP              65 WEST 36 STREET 11TH FL                 NEW YORK        NY           7902                  Vendor Terms Agreement

H I S INTERNATIONAL GROUP           34 W 33RD STREET 2ND FLOOR                NEW YORK        NY           10001                 Vendor Terms Agreement
H I S JUVENILES INCORPORATED        131 WEST 33RD ST SUITE 1109               NEW YORK        NY           10001                 Vendor Terms Agreement

H J RASHTI                          1375 BROADWAY 20TH FLOOR                  NEW YORK        NY           10018                 Vendor Terms Agreement

H THREE SPORTGEAR LLC               9580 WESTPOINT DRIVE STE 500              INDIANAPOLIS    IN           46256                 Vendor Terms Agreement
H TWO O RECREATION                  933 RUE MICHELIN                          LAVAL           QC           H7L 5B6   Canada      Vendor Terms Agreement
H&M Ely, LLC.                       1500 Avenue F Suite 4                     Ely             NV           89301                 Lease                                   3/12/2016          11/30/2031
H&M Ely, LLC.                       701 GREAT BASIN BLVD                      ELY             NV           89301                 Operating Lease                         3/12/2016          11/30/2031              N/A
H2O FURNISHINGS LLC                 161 GARDNER ROAD                          BROOKLINE       MA           02445                 Vendor Terms Agreement
Haar Properties, LLC                1852 Seadrift Court                       Windsor         CO           80550                 Lease                                   7/21/1989          11/30/2027

Haar Properties, LLC                421 GATEWAY DRIVE NE                      EAST GRAND FORKS MN          56721                 Capital Lease                           7/21/1989          11/30/2024              N/A
HADDAD APPAREL LIMITED MIGHTY       131 DOCKS CORNER ROAD                     DAYTON           NJ          08810                 Vendor Terms Agreement
HADLEY DEVELOPMENT                  3629 NORTH HYDRAULIC                      WICHITA          KS          67219                 Vendor Terms Agreement
HAGGAR CLOTHING COMPANY             11511 LUNA ROAD                           DALLAS           TX          75234                 Vendor Terms Agreement
                                                                                                           07470-
HAIER AMERICA TRADING LLC           1800 VALLEY ROAD                          WAYNE           NJ           0000                  Vendor Terms Agreement
Haile Tekle and Hiwot Tekle         4501 21st Street                          Mount Ranier    MD           20712                 Lease                                   6/26/2015          11/30/2034
Haile Tekle and Hiwot Tekle         4215 YELLOWSTONE AVE                      CHUBBUCK        ID           83202                 Operating Lease                         6/26/2015          11/30/2034              N/A
HAIN FOOD GROUP                     1111 MARCUS AVENUE                        LAKE SUCCESS    NY           11042                 Vendor Terms Agreement
Halfwassen Group Savanna, LLC       7721 Trent Court                          Naples          FL           34113                 Lease                                    1/1/1996          12/31/2027
Halfwassen Group Savanna, LLC       251 S. 4TH STREET                         SAVANNA         IL           61074                 Operating Lease                          1/1/1996          12/31/2027              N/A
                                                                                                           64108-
HALLMARK MARKETING CORPORATION L    2501 MCGEE                                KANSAS CITY     MO           0000                  Vendor Terms Agreement
HALO INNOVATIONS INC                111 CHESHIRE LANE SUITE 700               MINNETONKA      MN           55305                 Vendor Terms Agreement
HAMILTON BEACH PROCTOR SILEX        4421 WATERFRONT DRIVE                     GLEN ALLEN      VA           23060                 Vendor Terms Agreement
Hamilton Enterprises Central LLC    PO Box 1706                               Williston       ND           58802                 Lease                                   9/18/1972           12/4/2021
Hamilton Enterprises Central LLC    932 W. 12TH STREET                        GRAFTON         ND           58237                 Operating Lease                         9/18/1972          12/31/2021              N/A
                                                                                                           80216-
HAMMONDS CANDIES SINCE NINETEEN     5735 WASHINGTON STREET                    DENVER          CO           1321                  Vendor Terms Agreement
HAMPSHIRE BRANDS                    1924 PEARMAN DAIRY ROAD                   ANDERSON        SC           29625                 Vendor Terms Agreement
HAMPSHIRE DESIGNERS INC             215 COMMERCE BOULEVARD                    ANDERSON        SC           29625                 Vendor Terms Agreement




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                                                                                                                                                    Description of Contract or
                                                                                                                                                       Lease and Nature of       Date of Contract or                              List Contract Number of Any
          Contract Counterparty                     Address1                 Address2               City          State   Postal Code    Country         Debtor's Interest             Lease             Remaining Term               Government Contract
HAMPTON DIRECT INCORPORATED             350 PIONEER DR                                      WILLISTON        VT           05495                    Vendor Terms Agreement
HAMPTON FORGE LTD                       442 HIGHWAY 35 S                                    EATONTOWN        NJ           07724                    Vendor Terms Agreement
Hampton Holdings, LLC/James Bingham     1515 W. Maple Avenue                                Red Wing         MN           55066                    Lease                                   4/14/1976               1/31/2023
Hampton Holdings, LLC/James Bingham     808 4TH ST. SOUTHEAST                               HAMPTON          IA           50441                    Operating Lease                         4/14/1976               1/31/2023                 N/A

Hamstra Builders, Inc.                  12028 N County Road 200 West                        Wheatfield       Investors    46392                    Lease                                 10/25/1999                3/31/2021
Hamstra Builders, Inc.                  334 N. HALLECK STREET                               DEMOTTE          IN           46310                    Operating Lease                       10/25/1999                3/31/2021                 N/A
Hancock County Memorial Hospital DBA
Hancock County Health System            532 1st Street NW                                   Britt            IA           50423                    340B Contract                           2/18/2019
HANDCRAFT MANUFACTURING CORPORAT        10 E 34TH STREET 2ND FLOOR                          NEW YORK         NY           10016                    Vendor Terms Agreement
Handford Sprinkler/Lanscape             PO Box 198                                          Worland          WY           82401                    Lawn Care ST762
                                                                                                                          63116-
HANDI CRAFT COMPANY                     4433 FYLER                                          SAINT LOUIS      MO           1803                     Vendor Terms Agreement
                                                                                                                                                   Insentive agreement ,
                                                                                                                                                   expires 1/31/2019 new one
Hanes Brands, Inc                       1000 East hanes Mill Road                           Winston- Salem   NC           27105                    in works
HANESBRANDS INC CHAMPION PROD           1000 E HANES MILL ROAD                              WINSTON SALEM    NC           27107                    Vendor Terms Agreement
HANESBRANDS INC BALI INTIMATES          PO BOX 807                                          RURAL HALL       NC           27045                    Vendor Terms Agreement
HANESBRANDS INCORPORATED UNDERW         1000 E HANES MILL ROAD                              WINSTON SALEM    NC           27105                    Vendor Terms Agreement
HANESBRANDS INCORPORATED SOCKS          PO BOX 807                                          RURAL HALL       NC           27045                    Vendor Terms Agreement
HANGZHOU BEIBEIJIA (IMPORT)             NO 150 LANGKOU TAIHUYUAN                            HANGZHOU PRC                  311306        CHINA      Vendor Terms Agreement
HANNAS CANDLE COMPANY                   2700 ARMSTRONG AVENUE                               FAYETTEVILLE     AR           72701                    Vendor Terms Agreement
                                                                                                                          55343-
HANOVER ACCESSORIES INCORPORATED        11011 SMETANA ROAD                                  PLYMOUTH         MN           0000                     Vendor Terms Agreement
HAPPY THREADS LLC                       195 RARITAN PKWY                                    EDISON           NJ           08837                    Vendor Terms Agreement
HARD CORE BRANDS INTERNATIONAL          4200 MBL DRIVE                                      OTTAWA           IL           61350                    Vendor Terms Agreement
Harlan County Health System             717 N. Brown Street                                 Alma             NE           68920                    340B Contract                            7/7/2017
HARMAN INTERNATIONAL                    8500 BALBOA BLVD                                    NORTHRIDGE       CA           91329                    Vendor Terms Agreement
                                                                                                                          55416-
HAROLD J LEHMAN INDUSTRIES              4301 HIGHWAY 7 #1                                   ST LOUIS PARK    MN           5817                     Vendor Terms Agreement
Harrison County Community Hospital      2600 Miller Street                                  Bethany          MO           64424                    340B Contract                           4/15/2016
HARRY & DAVID                           2500 S PACIFIC HWY                                  MEDFORD          OR           97501                    Vendor Terms Agreement
Hart Specialites                        PO Box 9003                                         Amityville       NY           11701                    Optical Frames
                                                                                                                                                   List Processing & Mailfile                          n/a - can stop orders at
Harte Hanks Inc                         9601 McAllister Freeway                             San Antonio      Tx           78216                    Prep                                    9/10/2018                  any time
HARTZ MOUNTAIN CORPORATION              400 PLAZA DRIVE                                     SECAUCUS         NJ           07094                    Vendor Terms Agreement
                                                                                                                          02061-
HARVEST TRADING GROUP INCORPOR          61 ACCORD PARK DRIVE                                NORWELL          MA           1614                     Vendor Terms Agreement

HARVIC INTERNATIONAL LTD                10 WEST 33RD STREET STE #508                        NEW YORK         NY           10001                    Vendor Terms Agreement
                                                                                                                          02861-
HASBRO INCORPORATED                     1027 NEWPORT AVENUE                                 PAWTUCKET        RI           2500                     Vendor Terms Agreement
                                                                                                                          10018-
HASELSON INTL TRADE INC                 32 W 39TH ST, FLOOR 3                               NEW YORK         NY           0000                     Vendor Terms Agreement
Hastings Lawn Care                      34 Walnut Cr                                        Tuscola          IL           61953                    Lawn Care ST640
                                                                                            HARBOR CITY
HAUCK(HONG KONG)LIMITED                 WORLD FINANCE CENTRE                                KOWLOON H                                   Hong Kong Vendor Terms Agreement
                                                                                                                                                  Master Agreement for
                                                                                                                                                  Supplier Services and all
HCL America Inc.                        Attn: Legal Department         330 Potrero Avenue   Sunnyvale        CA           94085                   Amendments                                5/3/2010               8/21/2023

                                                                                                                                                   Service Agreement 1 for IT
                                                                                                                                                   Services and all
HCL America Inc.                        Attn: Legal Department         330 Potrero Avenue   Sunnyvale        CA           94085                    Amendments and Schedules                 5/3/2010               8/21/2023
                                                                                                                                                   Service Agreement 2 for
                                                                                                                                                   Application Development
HCL America Inc.                        Attn: Legal Department         330 Potrero Avenue   Sunnyvale        CA           94085                    and all Amendments                      6/30/2010
                                                                                                                                                   Service Agreement 1
                                                                                                                                                   Schedule 01A SOW for
                                                                                                                                                   Common Services and All
HCL America Inc.                        Attn: Legal Department         330 Potrero Avenue   Sunnyvale        CA           94085                    Amendments                               5/3/2010               8/21/2023




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            Contract Counterparty               Address1                 Address2                City        State   Postal Code    Country         Debtor's Interest             Lease           Remaining Term          Government Contract
                                                                                                                                              Service Agreement 1
                                                                                                                                              Schedule 01B SOW for ADM
                                                                                                                                              Services and All
HCL America Inc.                     Attn: Legal Department       330 Potrero Avenue    Sunnyvale       CA           94085                    Amendments                               5/3/2010           8/21/2023
                                                                                                                                              Service Agreement 1
                                                                                                                                              Schedule 01C SOW for
                                                                                                                                              Midrange Services and All
HCL America Inc.                     Attn: Legal Department       330 Potrero Avenue    Sunnyvale       CA           94085                    Amendments                               5/3/2010           8/21/2023
                                                                                                                                              Service Agreement 1
                                                                                                                                              Schedule 01D SOW for
                                                                                                                                              Mainframe Services and All
HCL America Inc.                     Attn: Legal Department       330 Potrero Avenue    Sunnyvale       CA           94085                    Amendments                               5/3/2010           8/21/2023
                                                                                                                                              Service Agreement 1
                                                                                                                                              Schedule 01E SOW for Data
                                                                                                                                              Network Services and All
HCL America Inc.                     Attn: Legal Department       330 Potrero Avenue    Sunnyvale       CA           94085                    Amendments                               5/3/2010           8/21/2023
                                                                                                                                              Service Agreement 1
                                                                                                                                              Schedule 01G SOW for Help
                                                                                                                                              Desk Services and All
HCL America Inc.                     Attn: Legal Department       330 Potrero Avenue    Sunnyvale       CA           94085                    Amendments                               5/3/2010           8/21/2023
                                                                                                                                              Service Agreement 1
                                                                                                                                              Schedule 01H SOW for MAC
                                                                                                                                              OS Support and All
HCL America Inc.                     Attn: Legal Department       330 Potrero Avenue    Sunnyvale       CA           94085                    Amendments                               2/1/2018           8/21/2023
                                                                                                                                              Master Agreement for
                                                                  806 Siddarth, 96 Nehru                                                      Supplier Services and all
HCL Technologies Limited             Attn: Legal Department       Place                  New Delhi                   110019        India      Amendments                               5/3/2010           8/21/2023

                                                                                                                                              Service Agreement 1 for IT
                                                                  806 Siddarth, 96 Nehru                                                      Services and all
HCL Technologies Limited             Attn: Legal Department       Place                  New Delhi                   110019        India      Amendments and Schedules                 5/3/2010           8/21/2023
                                                                                                                                              Service Agreement 2 for
                                                                  806 Siddarth, 96 Nehru                                                      Application Development
HCL Technologies Limited             Attn: Legal Department       Place                  New Delhi                   110019        India      and all Amendments                      6/30/2010

HDS TRADING CORPORATION              1305 JERSEY AVENUE                                 NORTH BRUNSWICK NJ           08902                    Vendor Terms Agreement
                                                                                                                                              PrescriberPro Portal
                                                                                                                                              Services Agreement and
                                                                                                                                              Amendment 1 to said
HDS-IQVIA                            2601 Main Street             Suite 650             Irvine          CA           92164                    Agreement                                7/3/2013            7/2/2019
HEALING SOLUTIONS LLC                9363 EAST BAHIA DRIVE                              SCOTTSDALE      AZ           85260                    Vendor Terms Agreement
                                                                                                                     53188-
HEALTH TECH INCORPORATED             N14W23755 STONERIDGE DR.                           WAUKESHA        WI           0000                     Vendor Terms Agreement
Health West, Inc.                    500 South 11th Avenue                              Pocatello       ID           83201                    340B Contract                            7/5/2016

HEALTHY FOODS LLC                    30339 DIAMOND PKWY STE 105                         CLEVELAND       OH           44139                    Vendor Terms Agreement
HEARTHSIDE FOOD SOLUTIONS LLC        3250 LACEY ROAD STE 200                            DOWNERS GROVE   IL           60515                    Vendor Terms Agreement
                                                                                                                                              Software License
                                                                                                                                              Agreement - 11/10/2009
Heartland Business Systems           1700 Stephen Street                                Little Chute    WI           54140                    (Integrated Imaging)                  11/10/2009
                                                                                                                                              Hardware Purchase
                                                                                                                                              Agreement - 11/10/2009
Heartland Business Systems           1700 Stephen Street                                Little Chute    WI           54140                    (Integrated Imaging)                  11/10/2009
                                                                                                                                              Purchase Agreement -
                                                                                                                                              01/12/2016 (Integrated
Heartland Business Systems           1700 Stephen Street                                Little Chute    WI           54140                    Imaging)                                1/12/2016
                                                                                                                                              Additional License Purchase
                                                                                                                                              01/12/2016 - (Integrated
Heartland Business Systems           1700 Stephen Street                                Little Chute    WI           54140                    Imaging)                                1/12/2016

Heartland Business Systems           1700 Stephen Street                                Little Chute    WI           54140                    Annual Support 01/11/2019                                   1/30/2020




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            Contract Counterparty                           Address1               Address2                 City         State   Postal Code    Country         Debtor's Interest             Lease           Remaining Term          Government Contract
                                                                                                                                                          Hardware Purchase
                                                                                                                                                          Agreement - 06-13-2018
                                                                                                                                                          (Barracuda Hardware
Heartland Business Systems                     1700 Stephen Street                                Little Chute      WI           54140                    Firewall)                               6/13/2018
                                                                                                                                                          Solarwinds Maintenance
Heartland Business Systems                     1700 Stephen Street                                Little Chute      WI           54140                    and support                           12/30/2017            5/25/2019


                                                                                                                                                          Hardware Purchase
                                                                                                                                                          Agreement
                                                                                                                                                          Palo Alto Networks PA-5220
                                                                                                                                                          Palo Alto Networks PA-5220
                                                                                                                                                          Panorama central
                                                                                                                                                          management software, 25
                                                                                                                                                          devices
                                                                                                                                                          WildFire subscription
                                                                                                                                                          Threat prevention
                                                                                                                                                          subscription
                                                                                                                                                          PANDB URL filtering
Heartland Business Systems                     1700 Stephen Street                                Little Chute      WI           54140                    subscription                            6/13/2018
HELEN OF TROY CORPORATION                      ONE HELEN OF TROY PLAZA                            EL PASO           TX           79912                    Vendor Terms Agreement
                                                                                                                                 44011-
HENKEL CONSUMER ADHESIVES                      32150 JUSTIMAGINE DRIVE                            AVON              OH           1355                     Vendor Terms Agreement
                                                                                                  KWUN TONG
HENTON INTERNATIONAL LIMITED                   23/F NANYANG PLAZA R #2308                         KOWLOON                                      Hong Kong Vendor Terms Agreement
HERITAGE INVESTMENT PROPERTIES, LLC            8021 54th Street NW                                Gig Harbor        WA           98335                   Lease                                    9/17/1976           3/31/2022
HERITAGE INVESTMENT PROPERTIES, LLC            616 E US HWY 9                                     FOREST CITY       IA           50436                   Capital Lease                            9/17/1976           3/31/2022              N/A
Heritage Landscaping                           2816 W27th Ave                                     Kennewick         WA           99337                   Lawn Care ST092
HERR FOODS INCORPORATED                        RTE 272 & 131                                      NOTTINGHAM        PA           19362                   Vendor Terms Agreement
HERSHEY CHOCOLATE COMPANY                      100 CRYSTAL A DRIVE                                HERSHEY           PA           17033                   Vendor Terms Agreement
                                                                                                                                 17033-                  Front-end Checkout Space
Hershy                                         19 E. Chocolate Ave.                               Hershey           PA           0810                    Agreement                                 7/1/2018           6/30/2019
                                                                                                                                 17033-                  4-Way Main Aisle Fixture
HERSHY'S                                       19 E. Chocolate Ave.                               Hershey           PA           0810                    agreement                                11/1/2018           11/1/2020
                                               3200 MERIDIAN PARKWAY STE
HEYS AMERICA LTD                               101                                                WESTON            FL           33331                    Vendor Terms Agreement
                                                                                                                                                          Planogram Space
HFC/COTY                                       511 Legacy Dr.                                     Plano             TX           75024                    Agreement                                3/3/2019            8/1/2019
HI ROLLERS SPORTSWEAR                          115 KENNEDY DRIVE                                  SAYREVILLE        NJ           08872                    Vendor Terms Agreement
HIATT MANUFACTURING INCORPORATED               4410 THEURER BOULEVARD                             WINONA            MN           55987                    Vendor Terms Agreement
HICKORY BRANDS INCORPORATED                    429 27TH STREET NW                                 HICKORY           NC           28601                    Vendor Terms Agreement
                                                                                                                                 43537-
HICKORY FARMS                                  1505 HOLLAND ROAD                                  MAUMEE            OH           1620                     Vendor Terms Agreement
                                               31 WEST 34TH STREET 6TH
HIGH LIFE LLC                                  FLOOR                                              NEW YORK          NY           10001                    Vendor Terms Agreement
HIGH POINT DESIGN LLC                          1411 BROADWAY                                      NEW YORK          NY           10018                    Vendor Terms Agreement
HIGH RIDGE BRANDS COMPANY                      333 LUDLOW STREET                                  STAMFORD          CT           06902                    Vendor Terms Agreement
HIGH SIERRA SPORT COMPANY                      705 TRI STATE PKWY                                 VERNON HILLS      IL           60061                    Vendor Terms Agreement
HIGHLAND MINT BULLION INTERNATI                4100 N RIVERSIDE DRIVE                             MELBOURNE         FL           32937                    Vendor Terms Agreement
                                                                                                                                                          Lease Of Blood Pressure
higi SH LLC                                    150 North Wacker Dr          Suite 1120            Chicago           IL           60606                    Machines                                8/17/2019          12/31/2019
Hilco                                          33 West Bacon St                                   Plainville        MA           02762                    Optical Supplies
HILCO CORPORATION                              250 KING MANOR DRIVE                               KING OF PRUSSIA   PA           19406                    Vendor Terms Agreement
Hillbilly Bob's BarBQ                          291 S. MAIN STREET                                 CLINTONVILLE      WI           54929                    Sublease                                4/10/2018          12/31/2018              N/A
HILLSDALE FURNITURE                            3901 BISHOP LANE                                   LOUISVILLE        KY           40218                    Vendor Terms Agreement
HINKLE CHAIR COMPANY                           4669 MT SHARON ROAD                                GREENBRIER        TN           37073                    Vendor Terms Agreement
Hinky Dinky Auburn, LLC/Nash Finch Co. (Mary
Lou Kingren)                                   PO Box 355                                         Minneapolis       MN           55440                    Lease                                    4/2/1975           5/31/2021
Hinky Dinky Auburn, LLC/Nash Finch Co. (Mary
Lou Kingren)                                   2410 DAHLKE AVE.                                   AUBURN            NE           68305                    Operating Lease                          4/2/1975           5/31/2021              N/A
HMS MANUFACTURING COMPANY                      1230 E BIG BEAVER ROAD                             TROY              MI           48083                    Vendor Terms Agreement
                                               1384 BROADWAY SUITE 10
HNW INDUSTRY INC DBA FLYP SPORTS               SOUTH                                              NEW YORK          NY           10018                    Vendor Terms Agreement
HOLLAND BEAUTY FLOWER & BULC COR               8480 N 87TH STREET                                 MILWAUKEE         WI           53224                    Vendor Terms Agreement




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          Contract Counterparty                         Address1              Address2          City         State   Postal Code    Country        Debtor's Interest               Lease              Remaining Term             Government Contract
HOLLAND HOUSE                                 PO BOX 361390                              INDIANAPOLIS   IN           46236                    Vendor Terms Agreement
                                                                                                                     33431-
HOLLANDER HOME FASHIONS LLC                   901 YAMATO ROAD SUITE 250                  BOCA RATON     FL           0000                     Vendor Terms Agreement
HOLLOWAY HOUSE INCORPORATED                   309 BUSINESS PARK DRIVE                    FORTVILLE      IN           46040                    Vendor Terms Agreement
Holly Plaza, LLC                              2055 Driscoll Drive                        Reno           NV           89509                    Lease                                     8/1/2010               7/31/2029
Holly Plaza, LLC                              2055 Driscoll Drive                        Reno           NV           89509                    Lease                                     8/1/2010               7/31/2029
Holly Plaza, LLC                              802 N. MAIN STREET                         KEWAUNEE       WI           54216                    Operating Lease                           8/1/2010               5/31/2021                N/A
Holly Plaza, LLC                              126 CHARLES STREET                         OCONTO         WI           54153                    Operating Lease                           8/1/2010               5/31/2021                N/A
HOLLYWOOD BED & SPRING MFG CO                 5959 CORVETTE STREET                       COMMERCE       CA           90040                    Vendor Terms Agreement
                                              219 NORTH SECOND STREET STE
HOLLYWOOD FASHION TAPE INC                    310                                        MINNEAPOLIS    MN           55401                    Vendor Terms Agreement
                                                                                                                     01757-
HOLMES GROUP                                  1 HOLMES WAY                               MILFORD        MA           3593                     Vendor Terms Agreement

HOME CASUAL ENTERPRISES LIMITED               RM 1402 3 14/F LEE KAR BLDG 4              TST KOWLOON                               CHINA      Vendor Terms Agreement
                                                                                                                     47274-
HOME PRODUCTS INTERNATIONAL N A               885 N CHESTNUT STREET                      SEYMOUR        WI           0408                     Vendor Terms Agreement
                                                                                         COMMERCE
HOMEDICS INCORPORATED                         3000 PONTIAC TRAIL                         TOWNSHIP       MI           48390                    Vendor Terms Agreement
HOMEOLAB USA                                  3025 DE L ASSOMPTION                       MONTREAL       QC           H1N 2H2       Canada     Vendor Terms Agreement
HOMESTEAD INTERNATIONAL GROUP LT              350 5TH AVE 9TH FLOOR                      NEW YORK       NY           10118                    Vendor Terms Agreement
                                              FLAT N 7/F VALIANT INDUSTRIAL              FO FAN NEW                                HONG
HOMETEK MARKETING LIMITED                     CENTRE                                     TERRITORIES                               KONG       Vendor Terms Agreement
Honey Do Lawn Service                         4751 Hwy 212                               Glencoe        MN           55336                    Lawn Care ST732
HONEYWELL INTERNATIONAL INC                   101 COLUMBIA ROAD                          MORRISTOWN     NJ           07962                    Vendor Terms Agreement
Honeywell Safety Products                     900 Doulgas Pike                           Smithfield     RI           02917                    Equipment
Honeywell Security Montioring n/k/a Stanley
Security Solutions                            3019 Alvin Devane Blvd                     Austin         TX           78741                    DC Security                            12/15/2005

HONG KONG CITY TOYS FACTORY LIMI              30 CANTON ROAD                             KOWLOON                                   Hong Kong Vendor Terms Agreement
                                                                                                                                             Standard Terms accepted                T&Cs that are
                                                                                                                                             upon use; this is a self-              automatically
                                                                                                                                             service social media           accepted once an IO is
                                                                                                                                             monitoring software, pay         accepted within our n/a - can stop orders at
Hootsuite                                     5 East 8th Avenue                          Vancouver      BC           V5T 1R6       CANADA    with CC                                     systems                 any time
HOP LUN USA INCORPORATED                      1384 BROADWAY SUITE 402                    NEW YORK       NY           10018                   Vendor Terms Agreement
                                                                                                                     66801-
HOPKINS MANUFACTURING CORPORATIO              428 PEYTON                                 EMPORIA        KS           0000                     Vendor Terms Agreement
HORIZON GROUP USA INC                         45 TECHNOLOGY DRIVE                        WARREN         NJ           07059                    Vendor Terms Agreement
                                                                                                                     55912-
HORMEL FOODS                                  1 HORMEL PLACE                             AUSTIN         MN           3680                     Vendor Terms Agreement
Horner's Mowing                               878 Sunflower Rd                           Wakefield      KS           67487                    Lawn Care ST693
                                                                                                                     54956-
HORSESHOE BEVERAGE COMPANY                    590 ENTERPRISE DR                          NEENAH         WI           0000                     Vendor Terms Agreement
Hospital Dist No 1 of Rice County             619 S Clark                                Lyons          KS           67554                    340B Contract                            7/17/2018              12/13/2018
                                                                                                                     44193-
HOSPITAL SPECIALTY COMPANY                    26301 CURTISS WRIGHT                       CLEVELAND      OH           0003                     Vendor Terms Agreement
HOSTESS BRANDS LLC                            1 EAST ARMOUR BOULEVARD                    KANSAS CITY    MO           64111                    Vendor Terms Agreement
Hot Springs County Memorial Hospital          150 East Arapahoe                          Thermopolis    WY           82443                    340B Contract                           10/13/2017               1/21/2019

HOTAN CORPORATION                             751 NORTH CANYONS PARKWAY                  LIVERMORE      CA           94551                    Vendor Terms Agreement
                                                                                         COMMERCE
HOUSE OF MARLEY LLC                           3000 PONTIAC TRAIL                         TOWNSHIP       MI           48390                    Vendor Terms Agreement
HOUSEHOLD ESSENTIALS LLC                      5895 N LINDBERGH BLVD                      HAZELWOOD      MO           63042                    Vendor Terms Agreement
                                                                                                                                              L00589 CRESCO IA
                                                                                                                                              Economic development tax
Howard County, IA                             22422 Highway 9                            Cresco         IA           52136                    increment incentive                       4/1/2016               2/28/2031                N/A

Hoya Vision                                   PO Box 122454                              Dallas         TX           75312                    Optical Lenes and coatins
                                              2829 WEST ANDREW JOHNSON
HPC3 FURNITURE DBA BARCA                      HWY                                        MORRISTOWN     TN           37814                    Vendor Terms Agreement
HRB DIGITAL LLC                               ONE H & R BLOCK WAY                        KANSAS CITY    MO           64105                    Vendor Terms Agreement
HRC Enterprises/ The Coffee Hut               226 E. LINCOLN                             FERGUS FALLS   MN           56537                    Sublease                                  6/1/2014               4/30/2020                N/A




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            Contract Counterparty                          Address1                     Address2                City        State   Postal Code    Country        Debtor's Interest                Lease           Remaining Term             Government Contract
                                                                                                                                    07005-
HUDSON HOME GROUP LLC                          85 FULTON STREET                                       BOONTON          NJ           1912                     Vendor Terms Agreement
HUFFY BICYCLES                                 8877 GANDER CREEK DR                                   MIAMISBURG       OH           45342                    Vendor Terms Agreement
HUGS PET PRODUCTS                              4059 STATE ROAD A                                      MONTREAL         MO           65591                    Vendor Terms Agreement
HUIDE QINGDAO                                  LIANYUNGANG                                            JIANGSU                                     CHINA      Vendor Terms Agreement
Hull and Sons                                  PO Box 556                                             Spooner          WI           54801                    Lawn Care ST632

Humboldt Plaza Associates/c/o The Lerner Co.   10855 West Dodge Road Ste 270                          Omaha            NE           68154                    Lease                                      3/1/1978            3/31/2024

Humboldt Plaza Associates/c/o The Lerner Co.   511 10TH AVE NORTH                                     HUMBOLDT         IA           50548                    Operating Lease                            3/1/1978            3/31/2024                N/A
HUNTER MANUFACTURING                           201 W LOUDEN AVENUE                                    LEXINGTON        KY           40508                    Vendor Terms Agreement
Hunt's Home service                            8243 Indian Bay Rd                                     Montagne         MI           49437                    Lawn Care ST645
Hurkman Mechanical                             1450 Velp Ave                                          Green Bay        WI           54303
                                                                                                                                                             Indeptndent Contractor
Huron Consult                                  550 West Van Buren Street                              Chicago          IL           60607                    Agreement                                 4/11/2016
                                                                                                                                                             Indeptndent Contractor
Huron Consult                                  550 West Van Buren Street                              Chicago          IL           60607                    Agreement                                 4/11/2016   7 Day written notice
HURRYCANE LLC                                  110 CHESHIRE LANE SUITE 200                            MINNETONKA       MN           55305                    Vendor Terms Agreement
Hutchinson Health                              1095 Highway 15 South                                  Hutchinson       MN           55350                    340B Contract                             1/12/2015
HYBRID PROMOTIONS L L C                        10711 WALKER STREET                                    CYPRESS          CA           90630                    Vendor Terms Agreement
HYGENIC CORPORATION PERFORMANCE                1245 HOME AVENUE                                       AKRON            OH           44310                    Vendor Terms Agreement
HYPER PET LLC                                  3100 S MERIDIAN                                        WICHITA          KS           67217                    Vendor Terms Agreement
                                                                                                                                    10016-
HYPNOTIC HATS                                  10 E 34TH STREET 6TH FLOOR                             NEW YORK         NY           4327                     Vendor Terms Agreement
Hyundai Merchant Marine                        One Pierce Place                  Ste. 1325            Itasca           IL           60143                    Ocean carrier                              6/1/2018            5/31/2019
I APPAREL                                      1407 BROADWAY STE 1721                                 NEW YORK         NY           10018                    Vendor Terms Agreement
I HEALTH                                       55 SEBETHE DRIVE                                       CROMWELL         CT           06416                    Vendor Terms Agreement
                                                                                                                                                             Inforem - Software License -
I2 Technology, Inc                             11701 Luna Road                                        Dallas           TX           75324                    2/20/2002                                 2/20/2002            1/31/2020
IBC HEARTHWARE INC                             880 LAKESIDE DRIVE                                     GURNEE           IL           60331                    Vendor Terms Agreement

                                                                                                                                                             Provide Analytic tracking for
IBM                                            3039 Cronwallis Rd                                     Rsrch Tri PK     NC           27709                    site. Sales order 61710577                 8/1/2018             4 months
                                                                                                                                                             Ibm Resiliency Services For
                                               Attn: IBM Resiliency Services -                                                      10901-                   Shopko Stores Operating Co
IBM Corporation                                Contract Operations               PO Box 700           Suffern          NY           0700                     Llc                                        7/1/2018            6/30/2021
                                                                                                                                                             IBM Customer Agreement
IBM Corporation                                7100 Highland Parkway                                  Smyrna           GA           30082                    HQ12291                                    1/1/1991                 None
                                                                                                                                                             Attachment Number
                                                                                                                                                             MAD16GV to Agreement
IBM Corporation                                7100 Highland Parkway                                  Smyrna           GA           30082                    Number HQ12291                            1/30/2006                 None

                                                                                                                                                             Statement of Work Number
                                                                                                                                                             AC14H1 to Master Services
                                                                                                                                                             Attachment Number
                                                                                                                                                             MAD16GV (Data Center
IBM Corporation                                7100 Highland Parkway                                  Smyrna           GA           30082                    Hardware Maintenance)                      2/1/2018            1/31/2023

                                                                                                                                                             Statement of Work Number
                                                                                                                                                             ABBF81 to Master Services
                                                                                                                                                             Attachment Number
                                                                                                                                                             MAD16GV (EOS
IBM Corporation                                7100 Highland Parkway                                  Smyrna           GA           30082                    Maintenance Agreement)                  12/19/2018             1/31/2023

                                                                                                                                                             Statement of Work Number
                                                                                                                                                             AL85H9 to Master Services
                                                                                                                                                             Attachment MAD16GV
IBM Corporation                                7100 Highland Parkway                                  Smyrna           GA           30082                    (Media Retention)                         1/29/2016                 None
                                                                                                                                                             IBM Resiliency Services for
                                               Attn: IBM Resiliency Services -                                                      10901-                   Shopko Stores Operating Co
IBM Corporation                                Contract Operations               PO Box 700           Suffern          NY           0700                     LLC                                        7/1/2018            6/30/2021             HW62171




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                                                                                                                                               Description of Contract or
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             Contract Counterparty                         Address1          Address2             City        State   Postal Code   Country        Debtor's Interest              Lease           Remaining Term               Government Contract

                                                                                                                                                                                                                             International Agreement for
                                                                                                                                                                                                                                Acquisition of Software
                                                                                                                                                                                                                                    Maintenance
                                                                                                                                                                                                                         IBM IPLA zOS Based VM5PK8WW
                                                                                                                                                                                                                        IBM Sub-Capacity Eligible and MVM
                                                                                                                      10901-                  IBM Subscription and                                                        Eligible MLC Programs JBPOZRD0
IBM Corporation                               PO Box 700                                Suffern          NY           0700                    Support Software Programs               1/18/2019           1/18/2020

IBM Credit LLC                                3039 E Cornwallis                         Resrch Tri Pk    NC           27709                   Master Finance Agreement                5/19/2014         30 day notice
                                                                                                                                              Master Lease and Finance
IBM Credit LLC                                3039 E Cornwallis                         Resrch Tri Pk    NC           27709                   Agreement                               4/16/2014         30 day notice
                                              230 WEST 39TH STREET 10TH
IBRANDS INTERNATIONAL LLC                     FLOOR                                     NEW YORK         NY           10018                   Vendor Terms Agreement
ICA Properties, Inc.                          700 N. Grant Suite 600                    Odessa           TX           79761                   Lease                                   9/12/1980           3/31/2022
ICA Properties, Inc.                          700 N. Grant Suite 600                    Odessa           TX           79761                   Lease                                   8/28/1980           9/24/2020
ICA Properties, Inc.                          509 BLAIR STREET                          DALHART          TX           79022                   Operating Lease                         9/12/1980           3/31/2022                   N/A
ICA Properties, Inc.                          1301 S. MAIN STREET                       PERRYTON         TX           79070                   Operating Lease                         8/28/1980           9/30/2020                   N/A
                                                                                                                                              WebPDM Report Wizard -
                                                                                                                                              Software License
ICICI Infotech Inc.                           450 Raritan Center Parkway                Edison           NJ           08837                   Agreement - 12/15/2004                12/15/2004            3/19/2019
ICON EYEWEAR                                  70 MOONACHIE AVENUE                       MOONACHIE        NJ           07074                   Vendor Terms Agreement
ICON HEALTH & FITNESS INCORPORAT              1500 SOUTH 1000 WEST                      LOGAN            UT           84321                   Vendor Terms Agreement
ID Furst Shop, LLC                            100 Canyon Creek                          Irvine           CA           92603                   Lease                                    5/1/2015          11/30/2029
Ida County Iowa Community Hospital DBA Horn
Memorial Hospital                             701 E 2nd Street                          Ida Grove        IA           51445                   340B Contract                           4/11/2017
IDEA NUOVA                                    302 FIFTH AVENUE                          NEW YORK         NY           10001                   Vendor Terms Agreement
Ideal Optics                                  1290 Maplelawn Dr                         Troy             MI           48084                   Optical Supplies
IDEASTREAM CONSUMER PRODUCTS                  7400 EAST TIERRA BUENA                    SCOTTSDALE       AZ           85260                   Vendor Terms Agreement

IDEAVILLAGE COM                               155 ROUTE 46 WEST 4TH FLOOR               WAYNE            NJ           07470                   Vendor Terms Agreement
IDELLE LABS LTD                               1 HELEN OF TROY PLAZA                     EL PASO          TX           79912                   Vendor Terms Agreement
IESSKO                                        PO Box 44260                              Boise            ID           44260                   Boise DC temp service
IF USA LLC                                    4350 BRYSON BOULEVARD                     FLORENCE         AL           35630                   Vendor Terms Agreement
IGLOO CORPORATION                             777 IGLOO ROAD                            KATY             TX           77494                   Vendor Terms Agreement

IGNITE BRANDS LLC                             16475 DALLAS PARKWAY STE 280              ADDISON          TX           75001                   Vendor Terms Agreement
                                              180 NORTH LASALLE STREET STE
IGNITE USA                                    700                                       CHICAGO          IL           60601                   Vendor Terms Agreement

IGNITE USA LLC                                180 N LASALLE STREET STE 700              CHICAGO          IL           60601                   Vendor Terms Agreement
IKEDDI IMPORTS LLC                            1407 BROADWAY                             NEW YORK         NY           10018                   Vendor Terms Agreement
ILLUME                                        2000 WEST 94TH STREET                     BLOOMINGTON      MN           55431                   Vendor Terms Agreement

IMAGINATION INTERNATIONAL CORPOR              3450 CAHUENGA BLVD W #103                 LOS ANGELES      CA           90068                   Vendor Terms Agreement
IMAGININGS THREE COMPANY                      6401 GROSS POINT ROAD                     NILES            IL           60714                   Vendor Terms Agreement
                                                                                                                      55128-
IMATION                                       1 IMATION PLACE                           OAKDALE          MN           3414                    Vendor Terms Agreement
IMPACT CONFECTIONS INC                        4017 WHITNEY STREET                       JANESVILLE       WI           53546                   Vendor Terms Agreement
IMPACT INNOVATIONS INCORPORATED               223 SE 1ST AVENUE                         CLARA CITY       MN           56222                   Vendor Terms Agreement
                                                                                                                      91343-
IMPERIAL TOY CORPORATION                      16641 ROSCOE PL                           NORTH HILLS      CA           6104                    Vendor Terms Agreement
IMPEX INCORPORATED                            2801 S TOWNE AVENUE                       POMONA           CA           91766                   Vendor Terms Agreement
IMPLUS FOOT CARE L L C                        2001 T W ALEXANDER DRIVE                  DURHAM           NC           27703                   Vendor Terms Agreement
                                                                                                                      07075-
IMS TRADING CORPORATION                       1 PASSAIC AVE SUITE 34                    WOOD RIDGE       NJ           0000                    Vendor Terms Agreement

IMS TRADING LLC                               13200 ESTRELLA AVENUE UNIT B              GARDENA          CA           90248                   Vendor Terms Agreement

IMUSA USA LLC                                 6000 NW 97TH AVENUE UNIT 26               DORAL            FL           33178                   Vendor Terms Agreement
IN DEMAND MARKETING LLC                       1911 PALOMAR OAKS WAY                     CARLSBAD         CA           92008                   Vendor Terms Agreement
IN MOCEAN GROUP                               500 7TH AVENUE                            NEW YORK         NY           10018                   Vendor Terms Agreement
INCHARACTER COSTUMES LLC                      5950 NANCY RIDGE DR #500                  SAN DIEGO        CA           92121                   Vendor Terms Agreement
INCIPIO TECHNOLOGIES                          6001 OAK CANYON                           IRVINE           CA           92618                   Vendor Terms Agreement




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           Contract Counterparty                           Address1                       Address2                City          State   Postal Code   Country        Debtor's Interest              Lease           Remaining Term          Government Contract
INCOCO INNOVATIVE COSMETIC CONCE                61 KULLER ROAD                                          CLIFTON            NJ           07011                   Vendor Terms Agreement
INDECOR LLC                                     34 WEST 33RD STREET                                     NEW YORK           NY           10001                   Vendor Terms Agreement
INDULGENT FOODS L L C                           PO BOX 10                                               FARMINGTON         UT           84025                   Vendor Terms Agreement
                                                                                                                                        44241-
INFANTINO                                       10010 AURORA HUDSON ROAD                                STREETSBORO        OH           0000                    Vendor Terms Agreement
                                                                                                                                                                Remote Specialty Pharmacy
Infinity Specialty                              1204 SE 28th ST                    Suite 200            Bentonville        AR           72712                   Services                              12/18/2017           12/31/2019
INFIRST HEALTHCAREINC                           10 SAUGATUCK AVENUE                                     WESTPROT           CT           06880                   Vendor Terms Agreement
Info Hold Inc                                   4120 Airport Road                                       Cincinnati         OH           45226                   in store music
                                                                                                                                                                Service that offers
                                                                                                                                                                teammates privacy
                                                                                                                                                                management and identity
InfoArmor Inc                                   7001 N Scottsdale Rd, Suite 2020                        Scottsdale         AZ           85253                   protection services                      1/1/2017          12/31/2019
INFOMERCIALS INC                                2115 WEST 1150 NORTH                                    SPRINGVILLE        UT           84663                   Vendor Terms Agreement

                                                                                                                                        55485 -                 Reduction of User License
Infor (US). Inc                                 NW 7418 PO Box 1450                                     Minneapolis        MN           7418                    Support 11/14/2017                                          1/30/2020
                                                                                                                                        55485 -                 Software maintenance
Infor (US). Inc                                 NW 7418 PO Box 1450                                     Minneapolis        MN           7418                    01/18/2019                                                  1/30/2020

INGENIUM TRAVEL LLC                             1111 N PLAZA DRIVE SUITE 670                            SCHAUMBURG         IL           60173                   Vendor Terms Agreement
INGRAM ENTERTAINMENT INC                        TWO INGRAM BOULEVARD                                    LA VERGE           TN           37089                   Vendor Terms Agreement
                                                                                                                                        92799-
INGRAM MICRO                                    1600 E SAINT ANDREW PLACE                               SANTA ANA          CA           5125                    Vendor Terms Agreement
                                                398 CAMINO GARDEN BLVD STE
INKOLOGY LLC                                    204                                                     BOCA RATON         FL           33432                   Vendor Terms Agreement
INKWORKS                                        VICE PRESIDENT OF SALES                                 GREENSBORO         NC           27412                   Vendor Terms Agreement

Inland Commercial Real Estate Services, LLC.    1745 South Main St.                                     WEST BEND          WI           53095                   Operating Lease                         1/15/2019            1/0/1900              N/A
INLITEN LLC                                     2350 RAVINE WAY #300                                    GLENVIEW           IL           60025                   Vendor Terms Agreement

INNOCOR INC                                     187 HIGHWAY 36 SUITE 201                                WEST LONG BRANCH   NJ           07764                   Vendor Terms Agreement
INNOFOODS USA INC                               71 MCMURRAY ROAD                                        PITTSBURGH         PA           15241                   Vendor Terms Agreement
Innotrac                                        6465 East Johns Crossing                                Duluth             GA           30097                   customer service
INNOVATION FIRST LABS                           1519 I 30 WEST                                          GREEN VILLE        TX           75402                   Vendor Terms Agreement
INNOVATIVE BEAUTY GROUP LLC                     150 MOTOR PKWY SUITE 401                                HAUPPAGE           NY           11788                   Vendor Terms Agreement
                                                141 WEST 36TH STREET 8TH
INNOVATIVE DESIGNS L L C                        FLOOR                                                   NEW YORK           NY           10018                   Vendor Terms Agreement

INNOVATIVE TECHNOLOGY ELECTRONIC                1 CHANNEL DRIVE                                         PORT WASHINGTON    NY           11050                   Vendor Terms Agreement
INNOVIA DESIGN SOLUTIONS LLC                    1724 WOODLAND CROSSING                                  FORT WAYNE         IN           46825                   Vendor Terms Agreement
INOVATEX LLC                                    577 AIRPORT BLVD STE 200                                BURLINGAME         CA           94010                   Vendor Terms Agreement
INSECT LORE PRODUCTS                            PO BOX 1535                                             SHAFTER            CA           93263                   Vendor Terms Agreement
INSIDE OUT INTERNATIONAL LLC                    2255 EMERALD DRIVE                                      GREEN BAY          WI           54311                   Vendor Terms Agreement
                                                277 NORTHERN BOULEVARD STE
INSPIRED BEAUTY BRANDS INC                      208                                                     GREAT NECK         NY           11021                   Vendor Terms Agreement
INSTRIDE VENTURES L L C                         29 POLHEMUS DRIVE                                       HILLSBOROUGH       NJ           08844                   Vendor Terms Agreement
INSTYLE PRODUCTS LLC                            475 HOWE AVENUE                                         SHELTON            CT           06484                   Vendor Terms Agreement
INTEC INCORPORATED                              7600 NW 19TH ST                                         MIAMI              FL           33126                   Vendor Terms Agreement
                                                                                                                                                                Pharmaceutical Product
Integral Division of Smith Drug                 1500 Commerce Dr                                        Valdosta           GA           31601                   Supplier                                 8/9/2018
INTELEX USA LLC                                 105 PRAIRIE LAKE ROAD                                   EAST DUNDEE        IL           60118                   Vendor Terms Agreement
INTERACTIVE TOY CONCEPTS HK LTD                 1192 MARTIN GROVE ROAD                                  TORONTO            ON           M9W 5M9 Canada          Vendor Terms Agreement
                                                3951 WESTERRE PARKWAY STE                                                               23233-
INTERBAKE FOODS INCORPORATED                    200                                                     RICHMOND           VA           0000                    Vendor Terms Agreement
INTERCONTINENTAL ART INCORPORATE                555 W VICTORIA STREET                                   COMPTON            CA           90220                   Vendor Terms Agreement
                                                30725 SOLON INDUSTRIAL
INTERDESIGN INCORPORATED                        PARKWAY                                                 SOLON              OH           44139                   Vendor Terms Agreement
INTERMARKET APPAREL LLC                         26 COMPUTER DRIVE EAST                                  ALBANY             NY           12205                   Vendor Terms Agreement
INTERNATIONAL BULLION & METAL BR                14051 NW 14TH STREET                                    SUNRISE            FL           33323                   Vendor Terms Agreement
                                                                                                                                                                Sterling B2B Services
International Business Machine Corporation (                                                                                            15264-                  Collaboration Network (
IBM )                                           P.O. Box 643600                                         Pittsburgh         PA           3600                    VAN )                                                       5/31/2019
INTERNATIONAL DIRECT GROUP INC                  499 7TH AVE 12TH FLOOR S                                NEW YORK           NY           10018                   Vendor Terms Agreement




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                                                                                                                                                 Description of Contract or
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          Contract Counterparty                      Address1              Address2            City            State   Postal Code    Country        Debtor's Interest              Lease           Remaining Term           Government Contract
INTERNATIONAL FOOD ASSOCIATES              1730 HURD DRIVE                            IRVING              TX           75038                    Vendor Terms Agreement
                                                                                                                       28637-
INTERNATIONAL LEGWEAR GROUP                PO BOX 286                                 HILDEBRAN           NC           0286                     Vendor Terms Agreement
INTERNATIONAL PRODUCT SOLUTION             34 BLACKBURN CENTER                        GLOUCESTER          MA           01930                    Vendor Terms Agreement
INTERNATIONAL SOURCING CO INC              4025 VISCOUNT AVENUE                       MEMPHIS             TN           38118                    Vendor Terms Agreement
                                                                                                                       07728-
INTERNATIONAL VITAMIN CORP                 500 HALLS MILL ROAD                        FREEHOLD            NJ           8811                     Vendor Terms Agreement
                                                                                                                       90810-
INTEX RECREATION                           4001 VIA ORO AVENUE SUITE 210              LONG BEACH          CA           1400                     Vendor Terms Agreement
INTIMO INCORPORATED                        65 EAST SECOND STREET                      MINEOLA             NY           11501                    Vendor Terms Agreement
INVENTEL LLC                               2 KIEL AVENUE UNIT 312                     KINNELON            NJ           07405                    Vendor Terms Agreement

INVENTURE FOODS INC                        5415 E HIGH STREET SUITE 350               PHOENIX             AZ           85054                    Vendor Terms Agreement
                                                                                                                       02453-
INVERNESS MEDICAL INCORPORATED             51 SAWYER ROAD SUITE 200                   WALTHAM             MA           3448                     Vendor Terms Agreement

ION AUDIO LLC                              200 SCENIC VIEW DRIVE STE 201              CUMBERLAND          RI           02864                    Vendor Terms Agreement
IQ ACCESSORIES INC DBA SWEET CO            10799 BREN ROAD E                          MINNETONKA          MN           55343                    Vendor Terms Agreement
IQVIA                                      3 Parkway North Suite 110N                 Deerfield           IL           60015                    License Verification
                                                                                      JIAXING ZHEJIANG
IRIS FURNITURE                             1601 EAST ZHONGSHAN                        CHINA                                          Hong Kong Vendor Terms Agreement
IRIS USA INCORPORATED                      11111 80TH AVENUE                          PLEASANT PRAIRIE    WI           53158                   Vendor Terms Agreement
IROBOT CORPORATION                         8 CROSBY DRIVE                             BEDFORD             MA           01730                   Vendor Terms Agreement
                                                                                                                       90066-
IRWIN NATURALS                             5310 BEETHOVEN STREET                      LOS ANGELES         CA           7015                     Vendor Terms Agreement
ISAAC MORRIS LIMITED                       20 W 33RD STREET                           NEW YORK            NY           10001                    Vendor Terms Agreement
ISACO INTERNATIONAL CORPORATION            5980 MIAMI LAKES DRIVE                     MIAMI LAKES         FL           33014                    Vendor Terms Agreement
                                           3426 N. OLD ARLINGTON                                                       60004-
ISCHOLAR INC                               HEIGHTS ROAD                               ARLINGTON HEIGHTS IL             0000                     Vendor Terms Agreement

ISFEL COMPANY INCORPORATED                 110 WEST 34TH ST ROOM 1101                 NEW YORK            NY           10001                    Vendor Terms Agreement
ITEM EYES INCORPORATED                     1924 PEARMAN DAIRY ROAD                    ANDERSON            SC           29625                    Vendor Terms Agreement
                                           CHINACHEM GOLDEN PLAZA STE                 TSIMSHA TSUI EAST
ITOYS FAR EAST LIMITED                     UG 305                                     KOWLOON                                        Hong Kong Vendor Terms Agreement
ITS ACADEMIC                               728 ANTHONY TRAIL                          NORTHBROOK          IL           60062                   Vendor Terms Agreement
ITW SPACE BAG                              7520 AIRWAY ROAD STE 4                     SAN DIEGO           CA           92154                   Vendor Terms Agreement
IVORY INTERNATIONAL INC                    15400 NW 34TH AVENUE                       MIAMI               FL           33054                   Vendor Terms Agreement
J & B Landscaping                          N29969 River Valley Rd                     Aracadia            WI           54612                   Lawn Care ST630
J & F DESIGN INCORPORATED                  5578 BANDINI BLVD                          CITY OF BELL        CA           90201                   Vendor Terms Agreement
J & J Property                             1288 W M61                                 Gladwin             MI           48624                   Lawn Care ST653
J AMERICA                                  1220 MASON COURT                           WEBBERVILLE         MI           48892                   Vendor Terms Agreement
J C MEIER GRAPE JUICE COMPANY              3116 BEREA ROAD                            CLEVELAND           OH           44111                   Vendor Terms Agreement
J CAT BEAUTY                               9890 PIONEER BLVD                          SANTA FE SPRINGS    CA           90670                   Vendor Terms Agreement
J E M INTERNATIONAL INCORPORATED           1 E 33RD STREET 11TH FLOOR                 NEW YORK            NY           10016                   Vendor Terms Agreement
J. Wilderman Autoplex                      1520 W. 9TH STREET                         MT. CARMEL          IL           62863                   Sublease                                  6/1/2013            Perpetual              N/A
JA RU INCORPORATED                         330 W IRVING PARK ROAD                     WOOD DALE           IL           60191                   Vendor Terms Agreement
Jack Clark c/o Larry Kloepping             PO Box 13462                               Arlington           TX           76094                   Lease                                  11/24/1975            1/31/2021
Jack Clark c/o Larry Kloepping             1159 S. CENTRAL AVENUE                     SIDNEY              MT           59270                   Operating Lease                        11/24/1975            1/31/2021               N/A
Jack Dooly                                 108 Bice St                                Oacoma              SD           57365                   Lawn Care ST594
                                                                                                                                               Front-end Checkout Space
Jack Links                                 1 Snack Food Lane                          Minong              WI           54859                   Agreement                                 7/1/2018           6/30/2019
                                                                                                                       49107-
JACK POST CORPORATION                      800 E THIRD STREET                         BUCHANAN            MI           1803                     Vendor Terms Agreement
                                                                                                                                                L00203 Jacksboro TX
                                                                                                                                                Economic Development
                                                                                                                                                Incentive pg 83 (Obligation
Jacksboro Economic Development Corporation 124 Lumar Dr                               Jacksboro           TX           76458                    Performed)                               8/1/2016          10/31/2031               N/A
                                                                                                                                                Collaborative Practice
Jackson and Coker                          3000 Old Alabama Road                      Alpharetta          GA           30022                    Agreements
JACKSON CORPORATION                        330 5TH AVENUE #11                         NEW YORK            NY           10001                    Vendor Terms Agreement
JACKSON FURNITURE INDUSTRIES               1910 KING EDWARD AVENUE                    CLEVELAND           TN           37311                    Vendor Terms Agreement
JACLYN INCORPORATED                        500 7TH AVENUE 7TH FLOOR                   NEW YORK            NY           10018                    Vendor Terms Agreement
JACMEL JEWELRY INCORPORATED                30-30 47TH AVENUE                          LONG ISLAND CITY    NY           11101                    Vendor Terms Agreement
JACOB ASH COMPANY INCORPORATED             301 MUNSEN AVENUE                          MCKEES ROCK         PA           15136                    Vendor Terms Agreement




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                                                                                                                                                         Lease and Nature of         Date of Contract or                       List Contract Number of Any
            Contract Counterparty                Address1                        Address2              City           State   Postal Code   Country        Debtor's Interest               Lease           Remaining Term          Government Contract

JACOBSENS BAKERY LIMITED             20355 NE 34TH COURT UNIT 1127                            AVENTURA           FL           33180                   Vendor Terms Agreement
JACQUES MORET INCORPORATED           1411 BROADWAY 8TH FLOOR                                  NEW YORK           NY           10018                   Vendor Terms Agreement
JADA TOYS INCORPORATED               938 HATCHER AVENUE                                       CITY OF INDUSTRY   CA           91748                   Vendor Terms Agreement
Jade AA Investments, LLC             1318 Sedona CIr                                          Oneida             WI           54115                   Lease                                  12/15/2014            5/31/2026
Jade AA Investments, LLC             3705 MONROE ROAD                                         DE PERE            WI           54115                   Operating Lease                        12/15/2014            5/31/2026              N/A
JADE MARKETING GROUP                 65 MEMORIAL DRIVE STE 320                                WEST HARTFORD      CT           06107                   Vendor Terms Agreement
Jagusch Enterprises LLC              PO Box 564                                               North Branch       MN           55056                   Lawn Care ST179
Jake Reynolds                        PO Box 753                                               Mona               UT           84645                   Lawn Care ST557
                                     22619 PACIFIC COAST HWY SUITE                                                            90265-
JAKKS SALES CORPORATION              250                                                      MALIBU             CA           5080                    Vendor Terms Agreement

JALP LLC DBA FUL                     6400 SHELBY VIEW DRIVE STE 115                           MEMPHIS            TN           38134                   Vendor Terms Agreement

JAM N PRODUCTS INCORPORATED          4199 BANDINI BOULEVARD STE A                             VERNON             CA           90058                   Vendor Terms Agreement
                                                                                                                                                      Jamf Pro Casper Suite for
JAMF Software LLC                    100 S Washington Ave                #1100                Minneapolis        MN           55401                   MAC OS                                   3/17/2018           3/17/2019
Jann White                           PO Box 1615                                              Thayue             WY           83129                   Lawn Care ST526

JARDEN HOME BRANDS HEARTHMARK DI     2381 EXECUTIVE CENTER DRIVE                              BOCA RATON         FL           33431                   Vendor Terms Agreement
Jarecki Lawncare                     2550 Fairground Rd                                       Alboin             NE           68620                   Lawn Care ST520
Jasco                                10631 Palos West Drive                                   Palos Park         IL           60464                   3 YR Agreement
                                                                                                                              73114-
JASCO PRODUCTS COMPANY INC           10 E MEMORIAL ROAD                                       OKLAHOMA CITY      OK           2205                    Vendor Terms Agreement
                                                                                                                              55441-
JAX LIMITED INCORPORATED             141 CHESHIRE LANE N.                                     PLYMOUTH           MN           0000                    Vendor Terms Agreement
JAY FRANCO & SONS INCORPORATED       295 5TH AVENUE STE 1712                                  NEW YORK           NY           10016                   Vendor Terms Agreement
                                     41 MADISON AVENUE 12TH
JAY IMPORT COMPANY INC (RANCHO       FLOOR                                                    NEW YORK           NY           10010                   Vendor Terms Agreement
                                     102 10th Avenue West P.O. Box
Jay, Inc.                            669                                                      Lisbon             ND           58054                   Lease                                    6/30/2015           8/31/2025
Jay, Inc.                            1709 MAIN STREET                                         LISBON             ND           58054                   Operating Lease                          6/30/2015           8/31/2022              N/A
JAYDEN STAR LLC                      385 FIFTH AVENUE STE 507                                 NEW YORK           NY           10016                   Vendor Terms Agreement
JAZWARES LLC                         1067 SHOTGUN ROAD                                        SUNRISE            FL           33326                   Vendor Terms Agreement

JBL TRADING LLC                      43 WEST 33RD STREET SUITE 201                            NEW YORK           NY           10001                   Vendor Terms Agreement

JBOK Enterprises, LLC                200 E. Washington Street Suite 2A                        Appleton           WI           54911                   Lease                                     8/8/2007            2/3/2029
JBOK Enterprises, LLC                W3208 Van Roy Road                                       APPLETON           WI           54915                   Operating Lease                           8/8/2007           1/31/2029              N/A
JCS APPAREL GROUP INCORPORATED       1407 BROADWAY SUITE 202                                  NEW YORK           NY           10018                   Vendor Terms Agreement

JCW INVESTMENTS DBA TEKKY TOYS       11415 WEST 183RD PLACESTE E                              ORLAND PARK        IL           60467                   Vendor Terms Agreement
                                                                                                                                                      Software Maintenance ( JDA
JDA Software, Inc.                   15059 N. Scottsdale Rd              Suite 400            Scottsdale         AZ           85254                   bought I2 in 2010 )                                          1/31/2020

                                                                                                                                                      SofTechnics, Inc. Software
                                     15059 N. Scottsdale Road, Suite                                                                                  License Agreement (under
JDA Software, Inc.                   400                                                      Scottsdale         AZ           85254                   SofTechnics)                             1/27/2005                None

                                                                                                                                                      4th Amendment to the
                                                                                                                                                      Software License
                                     15059 N. Scottsdale Road, Suite                                                                                  Agreement dated January
JDA Software, Inc.                   400                                                      Scottsdale         AZ           85254                   27, 2005 (under Red Prairie)              7/6/2011           1/31/2012

                                                                                                                                                      6th Amendment to the
                                                                                                                                                      Software License
                                     15059 N. Scottsdale Road, Suite                                                                                  Agreement dated January
JDA Software, Inc.                   400                                                      Scottsdale         AZ           85254                   27, 2005 (under Red Prairie)              6/8/2012           1/31/2013

                                                                                                                                                      7th Amendment to the
                                                                                                                                                      Software License
                                     15059 N. Scottsdale Road, Suite                                                                                  Agreement dated January
JDA Software, Inc.                   400                                                      Scottsdale         AZ           85254                   27, 2005 (under Red Prairie)              2/1/2012           1/31/2013




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                                                                                                                                                   Description of Contract or
                                                                                                                                                      Lease and Nature of       Date of Contract or                       List Contract Number of Any
            Contract Counterparty                          Address1              Address2           City         State   Postal Code    Country         Debtor's Interest             Lease           Remaining Term          Government Contract
                                                                                                                                                  Amendment 9 to the
                                                                                                                                                  Software License
                                               15059 N. Scottsdale Road, Suite                                                                    Agreement dated January
JDA Software, Inc.                             400                                          Scottsdale      AZ           85254                    27, 2005 (DEX)                           2/1/2015           1/31/2016
                                                                                                                                                  Amendment 10 to the
                                                                                                                                                  Software License
                                               15059 N. Scottsdale Road, Suite                                                                    Agreement dated January
JDA Software, Inc.                             400                                          Scottsdale      AZ           85254                    27, 2005 (DEX)                          10/1/2015           1/31/2017
                                                                                                                                                  Amendment 11 to the
                                                                                                                                                  Software License
                                               15059 N. Scottsdale Road, Suite                                                                    Agreement dated January
JDA Software, Inc.                             400                                          Scottsdale      AZ           85254                    27, 2005 (DEX)                           9/1/2016           1/31/2018
                                                                                                                                                  Amendment 12 to the
                                                                                                                                                  Software License
                                               15059 N. Scottsdale Road, Suite                                                                    Agreement dated January
JDA Software, Inc.                             400                                          Scottsdale      AZ           85254                    27, 2005 (DEX)                           2/1/2018           1/31/2019
                                                                                                                                                  Amendment 13 to the
                                                                                                                                                  Software License
                                               15059 N. Scottsdale Road, Suite                                                                    Agreement dated January
JDA Software, Inc.                             400                                          Scottsdale      AZ           85254                    27, 2005 (DEX)                           2/1/2019           1/31/2020
JDE ASSOCIATES LLC                             533 7TH AVENUE                               NEW YORK        NY           10018                    Vendor Terms Agreement
JDL FRAGRANCES                                 412 NORTH EAST STREET                        COUDERSPORT     PA           16915                    Vendor Terms Agreement
JEAN MARIE CREATIONS INC                       4221 S 68TH E AVENUE                         TULSA           OK           74145                    Vendor Terms Agreement
Jeanine Landsinger                             285 Moncada Way                              San Francisco   CA           94127                    Lease                                   9/29/2015          11/30/2029
Jeanine Landsinger                             2101 WEST BROADWAY                           MONONA          WI           53713                    Operating Lease                         9/29/2015          11/30/2029              N/A
JEETISH IMPORTS                                1412 BROADWAY STE 1606                       NEW YORK        NY           10018                    Vendor Terms Agreement
Jeff Kohler                                    22246 E Hwy                                  Carrollton      MO           64633                    Lawn Care ST708
Jeff Smith                                     533 N Market St                              Memphis         MO           63555                    Lawn Care ST711
Jeff Walker                                    RR 1 Box 1982                                Doniphan        MO           63935                    Lawn Care ST706
Jeff Wlbig                                     702 Westview Dr                              Dell Rapids     SD           57022                    Lawn Care ST596

Jeffery J Leclair DBA Cutting Edge Lawn Service 110 W Waverly St                            Norton          KS           67654                    Lawn Care ST696
Jeffrey Austin                                  941 N Co Rd 250 E                           Brownstown      IN           47220                    Lease                                   12/1/1999          11/30/2019
Jeffrey Austin                                  777 BYPASS ROAD                             BRANDENBURG     KY           40108                    Operating Lease                         12/1/1999          11/30/2021              N/A
                                                                                                                         60186-
JEL SERT COMPANY                               HIGHWAY 59 & CONDE STREET                    WEST CHICAGO    IL           0000                     Vendor Terms Agreement
JELLY BELLY COMPANY                            2400 N WATNEY                                FAIRFIELD       CA           94533                    Vendor Terms Agreement
JEM SPORTSWEAR                                 459 PARK AVENUE                              SAN FERNANDO    CA           91340                    Vendor Terms Agreement
Jeremy Blue                                    29391 435th st                               Russell         IA           50238                    Lawn Care ST676
Jerimaiah Coaiklowski                          43966 US Hwy 12                              Webster         SD           57274                    Lawn Care ST571
Jerome & Betty Beary                           1327 1st Avenue                              East Newton     IA           50208                    Lease                                   3/17/1998           3/17/2023
Jerome & Betty Beary                           2001 EAST 9TH STREET                         TRENTON         MO           64683                    Capital Lease                           3/17/1998           3/31/2023              N/A
JERRY LEIGH                                    7860 NELSON ROAD                             VAN NUYS        CA           91402                    Vendor Terms Agreement
Jerry Uittenbogaard                            2412 E. 3rd Street                           Sheldon         IA           51201                    Lease                                   8/20/1975           7/31/2021
Jerry Uittenbogaard                            1501 PARK STREET                             SHELDON         IA           51201                    Capital Lease                           8/20/1975           7/31/2021              N/A
JESE APPAREL LLC                               1050 AMBOY AVENUE STE 1                      PERTH AMBOY     NJ           08861                    Vendor Terms Agreement
Jesse Sutherland                               1016 E 6th st                                Ogallala        NE           69153                    Lawn Care ST691
JETS SETS & ELEPHANT BEAUTY CORP               2579 BOUL CHOMEDEY                           LAVAL           QC           H7T 2R2       Canada     Vendor Terms Agreement
JETSON ELECTRIC BIKES LLC                      1 REWE STREET                                BROOKLYN        NY           11211                    Vendor Terms Agreement
JEWEL AMERICA                                  310 WEST CUTTRISS SUITE 3A                   PARK RIDGE      IL           60068                    Vendor Terms Agreement
JEWELRY FASHIONS INCORPORATED                  520 8TH AVENUE 12TH FLOOR                    NEW YORK        NY           10018                    Vendor Terms Agreement
JEWETT CAMERON COMPANY                         32275 NW HILLCREST STREET                    NORTH PLAINS    OR           97133                    Vendor Terms Agreement
                                               703 WEST MADISON STREET PO
JG VAN HOLTEN & SON INC DBA VAN                BOX 66                                       WATERLOO        WI           53594                    Vendor Terms Agreement
                                                                                                                         91731-
JGW FURNITURE                                  9550 FLAIR DRIVE STE 216                     EL MONTE        CA           2918                     Vendor Terms Agreement
JIMCO LAMP & MANUFACTURING CO.                 PO BOX 490                                   BONO            AR           72416                    Vendor Terms Agreement
JINX INCORPORATED                              13456 GREGG STREET                           POWAY           CA           92064                    Vendor Terms Agreement
JJ Lawn Care                                   1077 Sunrise Trail                           Sioux Center    IA           51250                    Lawn Care ST655
JJAMZ INCORPORATED                             4940 W 35TH STREET                           ST LOUIS PARK   MN           55416                    Vendor Terms Agreement

JLAB AUDIO                                     3402 PIAZZA D ORO WAY STE 230                OCEANSIDE       CA           92056                    Vendor Terms Agreement
JNS FASHIONS LLC                               2110 NW 95TH AVENUE                          MIAMI           FL           33172                    Vendor Terms Agreement
Jobson Medical                                 27 Danbury Road                              Wilton          CT           06897                    Web design




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                                                                                                                                                        Description of Contract or
                                                                                                                                                          Lease and Nature of        Date of Contract or                       List Contract Number of Any
            Contract Counterparty                   Address1                    Address2               City           State   Postal Code    Country        Debtor's Interest              Lease           Remaining Term          Government Contract
JODHPURI INCORPORATED                   260 A WALSH DRIVE                                     PARSIPPANY         NJ           07054                    Vendor Terms Agreement
JOHN B SANFILIPPO & SON INCORPOR        1703 RANDALL ROAD                                     ELGIN              IL           60123                    Vendor Terms Agreement
John F. Knoke                           2501 Church Street Suite #2                           STEVENS POINT      WI           54481                    Operating Lease                          1/2/2019            9/6/2022              N/A
JOHN GIBSON ENTERPRISES INC             136 W GRAND AVE SUITE 240                             BELOIT             WI           53511                    Vendor Terms Agreement
John Jarvis                             248 D st                                              Phillipsburg       KS           67661                    Lawn Care ST586
John Peters                             1006 N 5th St                                         St Peter           MN           56082                    Lawn Care ST611
                                                                                              WEST
JOHN RITZENTHALER COMPANY               40 PORTLAND ROAD                                      CONSHOHOCKEN       PA           19428                    Vendor Terms Agreement
John Rubak                              9462 41st St NW                                       Roosvelt           MN           86673                    Lawn Care ST566
John Wilson                             1585 New Mexico St                                    Green River        WY           82935                    Lawn Care ST760
John's Home and Yard Service            PO Box 21460                                          Billings           MT           59104                    Lawn Care ST106
JOHNSON & JOHNSON CONSUMER INC          410 GEORGE STREET                                     NEW BRUNSWICK      NJ           08901                    Vendor Terms Agreement
Johnson County Healthcare Center        497 West Lott Street                                  Buffalo            WY           82834                    340B Contract                           4/26/2018           1/23/2019
Johnson Lawn care                       1344 210th St                                         Winterset          IA           50273                    Lawn Care ST675
JOLIE CLOTHING INC                      1100 S SAN PEDRO ST D3                                LOS ANGELES        CA           90015                    Vendor Terms Agreement
JONES NATURALS LLC                      4960 28TH AVENUE                                      ROCKFORD           IL           61109                    Vendor Terms Agreement
                                                                                                                              47960-
JORDAN MANUFACTURING COMPANY            1200 S 6TH STREET                                     MONTICELLO         IN           8200                     Vendor Terms Agreement
Jorgenson Drug, Inc.                    P.O. Box 167                                          Melstone           MT           59054                    Lease                                   10/7/2007          10/31/2018
Jorgenson Drug, Inc.                    148 MAIN STREET                                       ROUNDUP            MT           59072                    Operating Lease                         10/7/2007          10/31/2019              N/A
Jose Ruiz                               100 E 5th Ave                                         Yuma               CO           80759                    Lawn Care ST579
                                        425 CALIFORNIA STREET SUITE
JOSEPH ENTERPRISES INCORPORATED         300                                                   SAN FRANCISCO      CA           94104                    Vendor Terms Agreement
Joseph Gallo Farms                      10561 W. Hwy. 140                                     Atwater            CA           95301                    Lease                                 12/22/2015           11/30/2031
Joseph Gallo Farms                      94 NORTH 400 EAST                                     DELTA              UT           84624                    Operating Lease                       12/22/2015           11/30/2031              N/A
                                                                                                                                                       shopping bags, supplies,
Joshen                                  5800 Grant Ave                                        Cuyahoga Heights   OH           44105                    paper products
Josh's Mowing Service                   PO Box 1146                                           Mitchell           SD           57301                    Lawn Care ST022
Jubilee Family Investments, LLC         200 S. Wilcox Street Suite 328                        Castle Rock        CO           80104                    Lease                                   6/13/2008           3/31/2025
Jubilee Family Investments, LLC         115 LEROUX STREET                                     DONIPHAN           MO           63935                    Operating Lease                         6/13/2008           3/31/2025              N/A
                                                                                                                              18017-
JUST BORN INCORPORATED                  1300 STEFKO BOULEVARD                                 BETHLEHEM          PA           6672                     Vendor Terms Agreement
                                                                                                                                                       Master License Agreement
                                                                                                                                                       and Support Agreement -
Just Enough Software, Inc.              15540 Laquna Canyon Drive        Suite 100            Irvine             CA           92618                    3/6/2014                                 3/6/2004          10/31/2019
Just Enough Software, Inc.              15540 Laquna Canyon Drive        Suite 100            Irvine             CA           92618                    Software Maintenance                                       10/31/2019
JUST PLAY LLC                           401 FAIRWAY DRIVE                                     DEERFIELD BEACH    FL           33441                    Vendor Terms Agreement
Justin's Lawn and Tree Service, Inc.    117 1st Ave NW                                        Watertown          SD           57201                    Lawn Care ST054
JV APPAREL CORPORATION                  550 DESLAURIERS                                       MONTREAL           QC           H4N 1V8       Canada     Vendor Terms Agreement
JVC KENWOOD                             1700 VALLEY ROAD                                      WAYNE              NJ           07470                    Vendor Terms Agreement
                                                                                                                              11050-
JWIN ELECTRONICS CORP I LUV             2 HARBOR PARK DRIVE                                   PORT WASHINGTON    NY           0000                     Vendor Terms Agreement
K & B TRADING                           119 W 29TH STREET                                     NEW YORK           NY           07072                    Vendor Terms Agreement
K & COMPANY LLC A DIV OF WILTON         535 E DIEHL RD SUITE 300                              NAPERVILLE         IL           60563                    Vendor Terms Agreement
K & W Handy Man                         9545 57th St NW                                       Ross               ND           58776                    Lawn Care ST562
K B L GROUP INTERNATIONAL LTD           9142-9150 NORWALK BLVD                                SANTA FE SPRINGS   CA           90670                    Vendor Terms Agreement
K BELL                                  550 N OAK STREET                                      INGLEWOOD          CA           90302                    Vendor Terms Agreement
K C PHARMACEUTICALS INC                 3201 PRODUCER WAY                                     POMONA             CA           91768                    Vendor Terms Agreement
K J M ENTERPRISES INCORPORATED          9590 DISTRIBUTION AVENUE                              SAN DIEGO          CA           92121                    Vendor Terms Agreement
                                                                                                                              19440-
K NEX BRANDS L P                        2990 BERGEY ROAD                                      HATFIELD           PA           0700                     Vendor Terms Agreement
K7 DESIGN GROUP                         155 GIRARD STREET                                     BROOKLYN           NY           11235                    Vendor Terms Agreement
KAEMINGK USA                            301 1/2 DIVISION STREET                               NORTHFIELD         MN           55057                    Vendor Terms Agreement
KAHN LUCAS                              805 ESTELLE DRIVE SUITE 101                           LANCASTER          PA           17601                    Vendor Terms Agreement
Kailas Properties, LLC                  333 N. Peters Avenue                                  Fond du Lac        WI           54935                    Lease                                 10/14/1997            4/23/2023
Kailas Properties, LLC                  333 N. Peters Avenue                                  Fond du Lac        WI           54935                    Lease                                   4/1/1985            1/31/2024
Kailas Properties, LLC                  220 W LINCOLN STREET                                  ADAMS              WI           53910                    Operating Lease                       10/14/1997            4/30/2023              N/A
Kailas Properties, LLC                  650 W. BEAVERBROOK AVE.                               SPOONER            WI           54801                    Operating Lease                         4/1/1985            1/31/2024              N/A
                                                                                                                              70117-
KALENCOM CORPORATION                    740 CLOUET ST.                                        NEW ORLEANS        LA           0000                     Vendor Terms Agreement
Kalkaska Memorial Health Center         419 S. Coral Street                                   Kalkaska           MI           49646                    340B Contract                           7/14/2016          11/27/2018
Kamicutico, LLC                         48 Old Trail Road                                     Water Mill         NY           11976                    Lease                                   6/30/2008           5/31/2024
Kamicutico, LLC                         110 WATTERS DRIVE                                     DWIGHT             IL           60420                    Operating Lease                         6/30/2008           5/31/2024              N/A
Kamin Realty Co.                        P.O. Box 10234                                        Pittsburgh         PA           15232                    Lease                                   12/9/1987          12/16/2022




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                                                                                                                                       Description of Contract or
                                                                                                                                         Lease and Nature of        Date of Contract or                       List Contract Number of Any
            Contract Counterparty                 Address1            Address2            City       State   Postal Code    Country        Debtor's Interest              Lease           Remaining Term          Government Contract
Kamin Realty Co.                     340 S. HWY 65                               MORA             MN         55051                    Operating Lease                         12/9/1987          12/31/2022                N/A
Kanter Marquette Center LLC          3107 US Route 42 West                       MARQUETTE        MI         49855                    Operating Lease                         1/14/2019           5/31/2024                N/A
KAO BRANDS COMPANY                   2535 SPRING GROVE AVENUE                    CINCINNATI       OH         45214                    Vendor Terms Agreement
KAREN CARSON CREATIONS               2601 TIMBER LANE                            DAYTON           OH         45414                    Vendor Terms Agreement
Katherine Shaw Bethea Hospital       403 East 1st Street                         Dixon            IL         61021                    340B Contract                         10/13/2017
                                     705 ENTERPRISE SQ, 2 #3                                                               HONG
KATON HK LTD                         SHEUNG YUET RD                              KOWLOON BAY                               KONG       Vendor Terms Agreement
KAY BERRY INCORPORATED               6301 NORTH NOAH DRIVE                       SAXONBURG        PA         16056                    Vendor Terms Agreement
KAYO OF CALIFORNIA                   161 W 39TH STREET                           LOS ANGELES      CA         90037                    Vendor Terms Agreement
                                     1340 TREAT BOULEVARD SUITE                                              94597-
KAYTEE PRODUCTS INCORPORATED         600                                         WALNUT CREEK     CA         7578                     Vendor Terms Agreement
KAZ INCORPORATED                     1 VAPOR TRAIL                               HUDSON           NY         12534                    Vendor Terms Agreement
KAZ INCORPORATED                     1 VAPOR TRAIL                               HUDSON           NY         12534                    Vendor Terms Agreement
KBS Services                         1575 Hentrorne Drive                        Maumee           OH         43537                    janitorial services
KCJS L L C                           33215 CAMINO MARACA                         TEMECULA         CA         92592                    Vendor Terms Agreement
KEECO LLC                            30736 WIEGMAN ROAD                          HAYWARD          CA         94544                    Vendor Terms Agreement
Keller Real Estate Group             448 West Washington Ave                     Madison          WI         53703                    Lease                                  9/18/1995            2/27/2022
Keller Real Estate Group             822 PARK AVE                                BEAVER DAM       WI         53916                    Operating Lease                        9/18/1995            2/28/2022              N/A
                                                                                                                                      Store Floor Cleaning and
Kellermeyer-Bergesons                1575 Henthorne Drive                        Maumee           OH         43537                    Janitorial Services                    4/26/2018            26 Months
                                                                                                             49016-
KELLOGG SALES COMPANY                ONE KELLOGG SQUARE                          BATTLE CREEK     MI         3599                     Vendor Terms Agreement

Kellogg Shopco Properties, LLC       4220 132nd Street SE Suite 201              Mill Creek       WA         98012                    Lease                                   5/6/1993            1/31/2024
                                     1340 NORTH WENATCHEE
Kellogg Shopco Properties, LLC       AVENUE                                      WENATCHEE        WA         98801                    Operating Lease                         5/6/1993            1/31/2024              N/A
Kelly's Kutters                      14840 475th Ave                             Milbank          SD         57252                    Lawn Care ST569
Kels TLC                             320 E Road 140                              Scott City       KS         67871                    Lawn Care ST699
KELSEN INCORPORATED                  40 MARCUS DRIVE SUITE 101                   MELVILLE         NY         11747                    Vendor Terms Agreement

Kenexa                               650 East Swedesford Road                    Wayne            PA         19087                    Applicant Tracking System
KENNEY MANUFACTURING COMPANY         1000 JEFFERSON BOULEVARD                    WARWICK          RI         02886                    Vendor Terms Agreement
KENT PRECISION FOODS GROUP INC       11457 OLDE CABIN ROAD                       ST LOUIS         MO         63141                    Vendor Terms Agreement
                                     7700 CONGRESS AVE --- SUITE                                             33487-
KERATIN COMPLEX                      2201                                        BOCA RATON       FL         0000                     Vendor Terms Agreement
KETTLER INTERNATIONAL INC            1355 LONDON BRIDGE ROAD                     VIRGINIA BEACH   VA         23453                    Vendor Terms Agreement
Kevin Behnhorst                      2601 O Ave                                  Clarinda         IA         51632                    Lawn Care ST587
Kevin Fleck                          1910 Eat J St                               Torrington       WY         82240                    Lawn Care ST752
                                                                                                                                      Pharmaceutical Product
Keysource Medical Inc                7820 Palace Dr                              Cincinnati       OH         45249                    Supplier                               9/19/2014
KEYSTONE FOOD PRODUCTS               3767 HECKTOWN ROAD                          EASTON           PA         18042                    Vendor Terms Agreement

KEYVIEW LABS INC                     5737 BENJAMIN CENTER DRIVE                  TAMPA            FL         33634                    Vendor Terms Agreement
Kforce Inc                           1001 East Palm Avenue                       Tampa            FL         33605                    Staffing firm                          4/30/2018           12/31/2018
KGL Rentals, Inc./Mike Ortner        317 N. River Street                         Hot Springs      SD         57747                    Lease                                 12/12/1994            6/23/2021
KGL Rentals, Inc./Mike Ortner        2701 HWY 18 WEST                            HOT SPRINGS      SD         57747                    Operating Lease                       12/12/1994            6/30/2021              N/A
KHQ INVESTMENT LLC                   31 WEST 34TH STREET                         NEW YORK         NY         10001                    Vendor Terms Agreement
                                                                                                             10001-
KHQ INVESTMENT LLC                   31 WEST 34TH STREET                         NEW YORK         NY         0000                     Vendor Terms Agreement
KIDCO INCORPORATED                   1013 TECHNOLOGY WAY                         LIBERTYVILLE     IL         60048                    Vendor Terms Agreement
KIDDESIGNS INCORPORATED              PO BOX 2004                                 RAHWAY           NJ         07065                    Vendor Terms Agreement
KIDKRAFT LP                          4630 OLIN ROAD                              DALLAS           TX         75244                    Vendor Terms Agreement
                                                                                                             30305-
KIDS II INCORPORATED                 3333 PIEDMONT ROAD STE 1800                 ATLANTA          GA         0000                     Vendor Terms Agreement
KIDS LINE                            2601 SEQUOIA DRIVE                          SOUTH GATE       CA         90280                    Vendor Terms Agreement
KIDS ONLY INCORPORATED               21749 BAKER PARKWAY                         WALNUT           CA         91789                    Vendor Terms Agreement
KIDS ONLY LTD                        11A WALKUP ROAD                             WESTBORO         MA         01581                    Vendor Terms Agreement
KIDS PREFERRED LLC                   81 TWIN RIVERS DR                           EAST WINDSOR     NJ         08520                    Vendor Terms Agreement
KIDS STATION TOYS INCORPORATED       1160 NW 163RD DRIVE                         MIAMI            FL         33169                    Vendor Terms Agreement
KIDS STOP                            1407 BROADWAY #1411                         NEW YORK         NY         10018                    Vendor Terms Agreement
KIDS WITH CHARACTER                  1333 BROADWAY 6TH FLOOR                     NEW YORK         NY         10018                    Vendor Terms Agreement
KIDZ CONCEPTS L L C                  1412 BROADWAY 3RD FLOOR                     NEW YORK         NY         10018                    Vendor Terms Agreement
                                                                                                                                      Sign Replacement at Store
Kieffer & Company Inc                3322 Washington Avenue                      Sheboygan        WI         53082                    690                                   12/31/2018             3 Months




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                                                                                                                                                Lease and Nature of        Date of Contract or                       List Contract Number of Any
           Contract Counterparty                          Address1             Address2          City          State   Postal Code Country        Debtor's Interest              Lease           Remaining Term          Government Contract
KIK INTERNATIONAL                              101 MACINTOSH BOULEVARD                    CONCORD           ON         L4K 4R5    Canada     Vendor Terms Agreement
KIKKERLAND DESIGN INC                          666 BROADWAY                               NEW YORK          NY         10012                 Vendor Terms Agreement
KIMBERLY CLARK GLOBAL SALES INC                400 GOODYS LANE SUITE 100                  KNOXVILLE         TN         37922                 Vendor Terms Agreement
                                               10600 West Higgins Road Suite
Kimco Realty Corporation                       408                                        Rosemont          IL         60018                 Lease                                   8/19/1998          11/29/2019
Kimco Realty Corporation                       255 JOHN F KENNEDY RD                      DUBUQUE           IA         52002                 Operating Lease                         8/19/1998          11/30/2019              N/A

KINDRED HEARTS INC                             23827 W INDUSTRIAL DR SOUTH                PLAINFIELD        IL         60585                 Vendor Terms Agreement
KING BIO INCORPORATED                          3 WESTSIDE DRIVE                           ASHEVILLE         NC         28806                 Vendor Terms Agreement
KING PAR LLC                                   G 5140 FLUSHING ROAD                       FLUSHING          MI         48433                 Vendor Terms Agreement
                                                                                                                       93065-
KINGSBRIDGE INTERNATIONAL INCORP               2950 N MADERA ROAD                         SIMI VALLEY       CA         0000                  Vendor Terms Agreement

KISS PRODUCTS INCORPORATED                     57 SEAVIEW BOULEVARD                       PORT WASHINGTON NY           11050                 Vendor Terms Agreement
Kittitas County Public Hospital District #1    603 S Chestnut Street                      Ellensburg      WA           98926                 340B Contract                           1/31/2018
KITTRICH CORPORATION                           585-J TOLLGATE ROAD                        ELGIN           IL           60123                 Vendor Terms Agreement
                                                                                                                                 HONG
KIU HUNG INDUSTRIES LIMITED                    14F YALE INDUSTRIAL CENTRE                 FOTAN SHATIN NT                        KONG        Vendor Terms Agreement
KL OUTDOOR                                     1790 SUN DOLPHIN DRIVE                     MUSKEGON          MI         49444                 Vendor Terms Agreement
                                                                                                                       02720-
KLEAR VU CORP                                  600 AIRPORT RD                             FALL RIVER        MA         0000                  Vendor Terms Agreement
Klear Water LLC                                W14719 Cty Hwy F                           Lublin            WI         54447                 Lawn Care ST790
KLEIN INTERNATIONAL LIMITED                    9373 SW BARBER STREET                      WILSONVILLE       OR         97070                 Vendor Terms Agreement
                                               P.O. Box 504 1108 North
KLEMA PLAZA, INC.                              Independence Ave                           Beloit            KS         67420                 Lease                                    4/1/2015           3/31/2025
KLEMA PLAZA, INC.                              87 S FOSSIL ST                             RUSSELL           KS         67665                 Operating Lease                          4/1/2015           3/31/2025              N/A
KLL DOLLS LLC DBA ALEXANDER DOLL               805 ESTELLE DRIVE STE 101                  LANCASTER         PA         17601                 Vendor Terms Agreement
KLONE LAB LLC                                  9 WATER STREET 3RD FLOOR                   AMESBURY          MA         01913                 Vendor Terms Agreement
KLT GLOBAL DIV OF LIPARI FOODS                 26661 BUNERT                               WARREN            MI         48089                 Vendor Terms Agreement
KMG DIGITAL INCORPORATED                       300 STATE STREET STE 404                   ROCHESTER         NY         24614                 Vendor Terms Agreement
KNIGHTS APPAREL INCORPORATED                   2015 SPRING ROAD SUITE 350                 OAK BROOK         IL         60523                 Vendor Terms Agreement
KNOTHE DIV OF INTRADECO APPAREL                9500 NW 108TH AVENUE                       DOREL             FL         33178                 Vendor Terms Agreement
Kobs & Roberts Services, LLC                   129 E Madison Ave                          Milton            WI         53583                 Lawn Care ST030

KODAK PERSONALIZED IMAGING DIV                 2400 MOUNT READ BOULEVARD                  ROCHESTER         NY         14615                 Vendor Terms Agreement
KODIAK CAKES                                   3247 SANTA FE ROAD                         PARK CITY         UT         84098                 Vendor Terms Agreement
Koehler Yard Service                           89190 State Hwy 251                        Austin            MN         55912                 Lawn Care ST060
KOLCRAFT ENTERPRISE INCORPORATED               1100 WEST MONROE STREET                    CHICAGO           IL         60607                 Vendor Terms Agreement
KOLDER INCORPORATED                            PO BOX 100                                 EDINBURG          TX         78540                 Vendor Terms Agreement
                                                                                                                       93012-
KOLTOV INCORPORATED                            300 SOUTH LEWIS ROAD STE A                 CAMARILLO         CA         6620                  Vendor Terms Agreement

KOMAR KIDS                                     16 E 34TH STREET 10TH FLOOR                NEW YORK          NY         10016                 Vendor Terms Agreement

KOMAR LAYERING LLC                             180 MADISON AVENUE STE 902                 NEW YORK          NY         10016                 Vendor Terms Agreement
Konop Companies                                1725 Industrial Drive                      Green Bay         WI         54302                 café services

Konop Companies                                1725 Industrial Drive                      Green Bay         WI         54302                 Vending machines service
Kootenai Hospital District                     2003 Kootenai Health Way                   Coeur D Alene     ID         83814                 340B Contract                           6/29/2018
                                               4129 NORT PORT WASHINGTON                                               53212-
KOSS CORPORATION                               AVENUE                                     MILWAUKEE         WI         0000                  Vendor Terms Agreement
KRACO ENTERPRISES LLC                          505 EAST EUCLID AVENUE                     COMPTON           CA         90222                 Vendor Terms Agreement
                                                                                                                       53188-
KRAFT FOODS GLOBAL INCORPORATED                2110 PEWAUKEE ROAD                         WAUKESHA          WI         0000                  Vendor Terms Agreement
KRAFT GENERAL FOODS INCORPORATED               THREE LAKES DRIVE                          NORTH FIELD       IL         60093                 Vendor Terms Agreement
Kranthi Realty, LLC                            506 Middlesex Avenue                       Colonia           NJ         07067                 Lease                                   4/14/2014          11/30/2029
                                               301 SOUTH MANTORVILLE
Kranthi Realty, LLC                            AVENUE                                     KASSON            MN         55944                 Operating Lease                         4/14/2014          11/30/2029              N/A
Kresda, Inc.                                   1912 66th St NW                            Minot             ND         58703                 Lease                                    9/1/1988          12/31/2021
Kresda, Inc.                                   1912 66th St NW                            Minot             ND         58703                 Lease                                   5/15/1990           4/30/2021
Kresda, Inc.                                   225 HWY 2 SE                               RUGBY             ND         58368                 Operating Lease                          9/1/1988          12/31/2021              N/A
Kresda, Inc.                                   1900 HWY 49                                BEULAH            ND         58523                 Operating Lease                         5/15/1990           4/30/2021              N/A
KRIENKE FOODS INTERNATIONAL INC                1343 ARDEN VIEW DRIVE                      ARDEN HILLS       MN         55112                 Vendor Terms Agreement
KRIER FOODS INC                                551 KRIER LANE                             RANDOM LAKE       WI         53075                 Vendor Terms Agreement




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                                                                                                                                         Description of Contract or
                                                                                                                                           Lease and Nature of        Date of Contract or                       List Contract Number of Any
             Contract Counterparty                 Address1          Address2            City           State   Postal Code   Country        Debtor's Interest              Lease           Remaining Term          Government Contract
Krist Properties & Wagner Family Ltd
Partnership c/o Keith Krist             PO Box 22216                            Green Bay          WI           54305                   Lease                                   4/24/2007           6/30/2020
Krist Properties & Wagner Family Ltd
Partnership c/o Keith Krist             2541 SOUTH BAY SHORE DRIVE              SISTER BAY         WI           54234                   Operating Lease                         4/24/2007           6/30/2020              N/A
KRISTIAN REGALE INC                     21562 US HWY 169 SOUTH                  GRAND RAPIDS       MN           55744                   Vendor Terms Agreement
                                                                                                                                        Kronos Sales, Software
                                                                                                                                        License and Services
                                                                                                                                        Agreement dated March 30,
Kronos Incorporated                     900 Chelmsford Street                   Lowell             MA           01851                   2007 Rev KR-080706)                     3/29/2007           3/29/2010
                                                                                                                                        Kronos Order Form Quote
Kronos Incorporated                     900 Chelmsford Street                   Lowell             MA           01851                   #: 85994-4                              3/29/2007           3/29/2010

                                                                                                                                        Amendment One to Kronos
                                                                                                                                        Sales, Software License and
                                                                                                                                        Services Agreement and
                                                                                                                                        Assignment dated March
Kronos Incorporated                     900 Chelmsford Street                   Lowell             MA           01851                   30, 2007                                3/12/2012           3/11/2014

                                                                                                                                        Kronos Lease Schedule
                                                                                                                                        Quote #: 331070-1 / Leasing
Kronos Incorporated                     900 Chelmsford Street                   Lowell             MA           01851                   Agreement #9006                         4/26/2013           4/25/2015
                                                                                                                                        Kronos Lease Schedule
Kronos Incorporated                     900 Chelmsford Street                   Lowell             MA           01851                   Quote #: 379438-1                       8/27/2013           8/26/2015
                                                                                                                                        Kronos Order Form Quote
Kronos Incorporated                     900 Chelmsford Street                   Lowell             MA           01851                   #: 447873-1                              8/1/2014                None
                                                                                                                                        Kronos Order Form Quote
Kronos Incorporated                     900 Chelmsford Street                   Lowell             MA           01851                   #: 323302-1                           10/19/2012                 None
                                                                                                                                        Kronos Order Form Quote
Kronos Incorporated                     900 Chelmsford Street                   Lowell             MA           01851                   #: 525422-1                              4/1/2016                None
                                                                                                                                        Kronos Order Form Quote
Kronos Incorporated                     900 Chelmsford Street                   Lowell             MA           01851                   #: 510652-1                           10/12/2015                 None
                                                                                                                                        Kronos Order Form Quote
Kronos Incorporated                     900 Chelmsford Street                   Lowell             MA           01851                   #: 494895-1                             6/27/2015                None
                                                                                                                                        Kronos Order Form Quote
Kronos Incorporated                     900 Chelmsford Street                   Lowell             MA           01851                   #: 580017-1                             9/30/2017                None
                                                                                                                                        Contract #: 1189662 R28-
Kronos Incorporated                     900 Chelmsford Street                   Lowell             MA           01851                   NOV-17                                  3/29/2018           3/28/2019
KSF ACQUISITION CORP                    3750 INVESTMENT LANE STE 2              WEST PALM BEACH    FL           33404                   Vendor Terms Agreement
                                                                                                                84003-
KT HEALTH LLC                           584 EAST 1100 SOUTH STE 4               AMERICAN FORK      UT           3887                    Vendor Terms Agreement
                                                                                                                92101-
KUANTUM BRANDS LLC                      1747 HANCOCK ST, STE A                  SAN DIEGO          CA           0000                    Vendor Terms Agreement
                                        122 EAST 42ND STREET 2ND
KURT S ADLER                            FLOOR                                   NEW YORK           NY           10168                   Vendor Terms Agreement
Kurtis Enterprises                      302 M Ave                               Vinton             IA           52349                   Lawn Care ST600
KWDZ MANUFACTURING                      337 S ANDERSON STREET                   LOS ANGELES        CA           90033                   Vendor Terms Agreement
Kyle Charron                            243 North 14th Ave                      Broken Bow         NE           68822                   Lawn Care ST695
Kyle Malm                               1501 Adams St                           Emmetsburg         IA           50536                   Lawn Care ST201
Kyle Orhter                             1704 12th Ave N                         Princeton          MN           55371                   Lawn Care ST603
L & C DG Investments, LLC               3604 Winifred Way                       Lake Havasu City   AZ           86404                   Lease                                 12/22/2015           11/30/2031
L & C DG Investments, LLC               67 SELKIRK WAY                          OLDTOWN            ID           83822                   Operating Lease                       12/22/2015           11/30/2031              N/A
L & J ACCESSORIES                       140 CANDANCE DRIVE                      MAITLAND           FL           32751                   Vendor Terms Agreement
L & K COFFEE                            1 JAVA BOULEVARD                        NUNICA             MI           49448                   Vendor Terms Agreement
L & S Properties of Milbank, LLC        1104 18th Avenue NE                     Aberdeen           SD           57401                   Lease                                   3/31/2015           5/31/2020
L & S Properties of Milbank, LLC        1400 MORNINGSIDE DR                     MILBANK            SD           57252                   Operating Lease                         3/31/2015           5/31/2020              N/A
L & S Properties of Redfield, LLC       1104 18th Avenue NE                     Aberdeen           SD           57401                   Lease                                   8/16/1988           3/31/2020
L & S Properties of Redfield, LLC       614 W 3RD STREET                        REDFIELD           SD           57469                   Operating Lease                         8/16/1988           3/31/2020              N/A
L & S Properties of Webster, LLC        1104 18th Avenue NE                     Aberdeen           SD           57401                   Lease                                   3/31/2015           3/31/2020
L & S Properties of Webster, LLC        620 E HIGHWAY 12                        WEBSTER            SD           57274                   Operating Lease                         3/31/2015           3/31/2020              N/A

L C INDUSTRIES LLC                      2781 KATHERINE WAY                      ELK GROVE VILLAGE IL            60007                   Vendor Terms Agreement

L FOUR ENTERPRISES PETRON               10301 BREN ROAD WEST B169               HOPKINS            MN           55343                   Vendor Terms Agreement




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            Contract Counterparty                Address1                      Address2               City            State   Postal Code    Country        Debtor's Interest              Lease           Remaining Term            Government Contract
                                                                                                                              11501-
L POWELL ACQUISITION CORP             22 JERICHO TURNPIKE # 200                              MINEOLA             NY           0000                     Vendor Terms Agreement
La Clinica De Los Campesinos, Inc.    400 S. Townline Road                                   Wautoma             WI           54982                    340B Contract                           8/15/2016
                                                                                                                              54601-
LA CROSSE TECHNOLOGY                  2809 LOSEY BOULEVARD 5                                 LA CROSSE           WI           7366                     Vendor Terms Agreement
LA LA IMPORTS INCORPORATED            6500 MONTANA                                           EL PASO             TX           79925                    Vendor Terms Agreement

LaCrosse Shopko Properties, LLC       9100 Wilshire Blvd. Suite 360 E                        Beverly Hills       CA           90212                    Lease                                 12/15/2014           12/31/2031
LaCrosse Shopko Properties, LLC       4344 MORMON COULEE RD                                  LA CROSSE           WI           54601                    Operating Lease                       12/15/2014           12/31/2031                 N/A
                                      7900 EXCELSIOR BOULEVARD STE
LADIBUGS LLC                          350                                                    HOPKONS             MN           55343                    Vendor Terms Agreement
                                      ONE MEADOWLANDS PLAZA STE
LAJOBI INCORPORATED                   803                                                    EAST RUTHERFORD     NJ           07073                    Vendor Terms Agreement
Lake Connections                      409 17th Avenue                                        Two Harbors         MN           55616                    Service Order Agreement                 1/30/2018      month to month
                                                                                                                              53037-
LAKE CONSUMER PRODUCTS INCORPORA      1 PHARMACAL WAY                                        JACKSON             WI           0000                     Vendor Terms Agreement
Lakeside Storage, LLC                 3604 Winifred Way                                      Lake Havasau City   AZ           86404                    Lease                                   2/10/2015          11/30/2030
Lakeside Storage, LLC                 702 WESTVIEW LANE                                      STANLEY             ND           58784                    Operating Lease                         2/10/2015           2/29/2024                 N/A
LAMBS & IVY INCORPORATED              2042 MAPLE AVENUE                                      EL SEGUNDO          CA           90245                    Vendor Terms Agreement
LAMI PRODUCTS INCORPORATED            860 WELSH ROAD                                         HUNTINGDON          PA           19006                    Vendor Terms Agreement
LAMO SHEEPSKIN INC                    4238 GREEN RIVER RD                                    CORONA              CA           92880                    Vendor Terms Agreement
LAMONT LIMITED                        1530 BLUFF ROAD                                        BURLINGTON          IA           52601                    Vendor Terms Agreement
LAMPLIGHT FARMS INCORPORATED          4900 N LILLY ROAD                                      MENOMINEE FALLS     WI           53051                    Vendor Terms Agreement
L'Amy Inv                             37 Danbury Road                                        Wilton              CT           06897                    Optical Frames
                                                                                             TSIMSHATSUI EAST                               HONG
LANARD TOYS LTD                       920 GRANVILLE ROAD                                     KOWLOON                                        KONG       Vendor Terms Agreement
LAND N SEA INCORPORATED               1375 BRAODWAY                                          NEW YORK            NY           10018                    Vendor Terms Agreement
                                                                                                                              10018-
LAND N SEA INCORPORATED               1375 BROADWAY                                          NEW YORK            NY           0000                     Vendor Terms Agreement
LANE FURNITURE INDUSTRIES INC         5380 HIGHWAY 145 SOUTH                                 TUPELO              MS           38801                    Vendor Terms Agreement
Langerude Landscape LLC               2680 17th Ave                                          Rice Lake           WI           54868                    Lawn Care ST132

LANSINOH LABORATORIES                 333 N FAIRFAX STREET STE 400                           ALEXANDRIA          VA           22314                    Vendor Terms Agreement
                                                                                                                              07070-
LANTIS AQUISITION CORP                301 STATE RT 17 FL 9                                   RUTHERFORD          NJ           2575                     Vendor Terms Agreement
                                                                                                                              07070-
LANTIS AQUISITION CORP                VICE PRESIDENT OF SALES                                RUTHERFORD          NJ           2575                     Vendor Terms Agreement
LAROSE IND DBA CRA Z ART              1578 SUSSEX TURNPIKE                                   RANDOLPH            NJ           07869                    Vendor Terms Agreement
Larry Woody                           1520 W. 9TH STREET                                     MT. CARMEL          IL           62863                    Sublease                                 1/1/2003            Perpetual                 N/A
                                                                                                                                                                                                                                Cisco Global Solutions Services
LaSalle Systems Leasing Inc           6111 North River Road                                  Rosemont            IL           60018                    Cisco SMARTnet                           2/1/2018           1/31/2019              SMARTnet
LASER PEGS VENTURES LLC               1991 MAIN STREET 227                                   SARASOTA            FL           34236                    Vendor Terms Agreement
LASKO PRODUCTS INCORPORATED           820 LINCOLN AVENUE                                     WEST CHESTER        PA           19380                    Vendor Terms Agreement

LATIQUE HANDBAGS & ACCESSORIES        10 WEST 33RD STREET STE 405                            NEW YORK            NY           10001                    Vendor Terms Agreement
LaVelle Lawn Care                     28574 Hwy 175                                          Eldora              IA           50627                    Lawn Care ST685
Lawn Care by Walter, Inc.             PO Box 5037                                            Rockford            IL           61125                    Lawn Care ST133
Lawn Rangers                          PO Box 42                                              Valley Springs      SD           57068                    Lawn Care ST076
LawnKeeper                            PO Box 946                                             Fruitland           ID           83619                    Boise DC Lawn care
LAZY DOG COOKIE CO INC                32 RALPH ST SUITE 601                                  BALLSTON SPA        NY           12020                    Vendor Terms Agreement
LCN                                   888 Seventh Avenue 4th Floor                           New York            NY           10019                    Lease                                   6/30/2015                #N/A
LCN                                   888 Seventh Avenue 4th Floor                           New York            NY           10019                    Lease                                   6/30/2015                #N/A
LCN                                   888 Seventh Avenue 4th Floor                           New York            NY           10019                    Lease                                   6/30/2015                #N/A
LCN                                   10808 South 132nd Street                               Omaha               NE           68138                    Operating Lease                         6/30/2015           6/30/2035                 N/A
LCN                                   1717 Lawrence Drive                                    De Pere             WI           54115                    Operating Lease                         6/30/2015           6/30/2035                 N/A

LDM Group                             10845 Olive Blvd                  Suite 308            St Louis            MO           63141                    Patient Adherence Mailings
LE MEILLEUR INC DBA MILEY AND MO      3500 FRUITLAND AVE                                     VERNON              CA           90058                    Vendor Terms Agreement
Leadville Holdings, LLC               2439 Kuser Road                                        Hamilton            NJ           08690                    Lease                                   3/23/2015           3/31/2025
Leadville Holdings, LLC               401 US HIGHWAY 24                                      LEADVILLE           CO           80461                    Operating Lease                         3/23/2015           6/30/2022                 N/A
LEAP YEAR PUBLISHING                  21 HIGH STREET STE 201                                 NORTH ANDOVER       MA           01845                    Vendor Terms Agreement
LEARNING RESOURCES                    380 N FAIRWAY DRIVE                                    VERNON HILLS        IL           60061                    Vendor Terms Agreement




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             Contract Counterparty                      Address1                   Address2                City        State   Postal Code    Country         Debtor's Interest              Lease             Remaining Term             Government Contract
                                                                                                                                                        Kaledo - Software License
                                                                                                                               30384-                   and Maintenance -
Lectra USA Inc.                             P.O. Box 198501                                      Atlanta          GA           8501                     12/10/2009                             12/10/2009              12/31/2018
                                                                                                                               30384-                   Kaledo - Software
Lectra USA Inc.                             P.O. Box 198501                                      Atlanta          GA           8501                     Maintenance                                                    12/31/2018
Lee-Breitbach, LLP/Mathias F. Breitbach     18841 Adams Drive                                    Sauk Centre      MN           56378                    Lease                                    9/30/1994              4/30/2027
Lee-Breitbach, LLP/Mathias F. Breitbach     300 JAKE STREET                                      PERHAM           MN           56573                    Operating Lease                          9/30/1994              4/30/2027                N/A
LEECO Properties, Inc                       3501 Billy Hext Road                                 Odessa           TX           79765                    Lease                                    9/20/1983              9/30/2023
LEECO Properties, Inc                       1203 NORTH MAIN STREET                               ANDREWS          TX           79714                    Operating Lease                          9/20/1983              9/30/2023                N/A
LEES POTTERY DBA TRENDSPOT                  1595 E SAN BERNARDINO AVE                            SAN BERNARDINO   CA           92408                    Vendor Terms Agreement
LEG APPAREL LLC                             65 RAILROAD AVENUE                                   RIDGEFIELD       NJ           07657                    Vendor Terms Agreement
                                            c/o Legacy Asset Management
Legacy CB LLC                               LLC 4717 Central                                     Kansas City      MO           64112                    Lease                                    2/25/2008              6/30/2019
Legacy CB LLC                               3271 Market Place Dr                                 Council Bluffs   IA           51501                    Operating Lease                          2/25/2008              6/30/2019                N/A
LEGGS PRODUCTS                              PO BOX 807                                           RURAL HALL       NC           27045                    Vendor Terms Agreement
                                                                                                                               06083-
LEGO SYSTEMS INCORPORATED                   555 TAYLOR ROAD                                      ENFIELD          CT           1600                     Vendor Terms Agreement
LEHRHOFF ABL DIV OF ARCHBROOK LA            3960 ROYAL DRIVE                                     KENNESAW         GA           30144                    Vendor Terms Agreement
LEISURE ARTS                                104 CHAMPS BOULEVARD                                 MAUMELLE         AR           72113                    Vendor Terms Agreement
LEISURE MERCHANDISING CORP                  105 NORTHFIELD AVE                                   EDISON           NJ           08337                    Vendor Terms Agreement
LEISURE MERCHANDISING CORPORATIO            105 NORTHFIELD AVENUE                                EDISON           NJ           08837                    Vendor Terms Agreement
                                                                                                                                                        Schedule Number AB0XL7
                                                                                                                                                        to Base Agreement
                                                                                                                                                        MAD16GV (Data Center &
Lenovo                                      PO Box 643068                                        Pittsburgh       PA           15264                    EPS server support)                       2/1/2018              1/31/2020
Leonard Hughes                              PO box 357                                           Winneconne       WI           54986                    Lawn Care ST613
Lerner Harlan Partnership/c/o The Lerner
Company                                     10855 West Dodge Road Ste 270                        Omaha            NE           68124                    Lease                                    6/14/1985              1/31/2027
Lerner Harlan Partnership/c/o The Lerner
Company                                     2099 CHATBURN AVENUE                                 HARLAN           IA           51537                    Operating Lease                          6/14/1985              1/31/2022                N/A
LES ALIMENTS MIDLON FOODS INC               6100 COTE DE LIESSE #225                             ST LAURENT       QC           H4T 1E3       Canada     Vendor Terms Agreement
Leslie Malih                                55235 Garrett Road                                   Dowagiac         MI           49047                    Lawn Care ST650
                                                                                                                                                        Second Addendum to
Level 3 Communications                      Attn: General Counsel           1025 Eldorado Blvd   Broomfield       CO           80021                    Customer Order                           4/16/2016              8/16/2019
                                                                                                                                                        Annual software
Levi Ray Shoup Inc                          2401 West Monroe                                     Springfield      IL           62704                    maintenance                              4/19/2018              4/18/2019
Levi Stifter Mowing                         36350 312th Ln                                       Aitkin           MN           56431                    Lawn Care ST735
LEVI STRAUSS & COMPANY                      501 EXECUTIVE DRIVE                                  HENDERSON        NV           89052                    Vendor Terms Agreement


                                                                                                                                                        Risk & Information Analytics
                                                                                                                                                        Group WorkPlace Solutions
                                                                                                                                                        Agreement w/Drug &
LexisNexis                                  P.O. Box 105108                                      Atlanta          GA           30348                    Alcohol Screening Services                3/9/2010


                                                                                                                                                        Risk & Information Analytics
                                                                                                                                                        Group WorkPlace Solutions                         Continue in effect for so
                                                                                                                                                        Agreement w/Drug &                                  long as LN is providing
LexisNexis                                  P.O. Box 105108                                      Atlanta          GA           30348                    Alcohol Screening Services                3/9/2010 services for customer.
                                                                                                                                                        Independent Contractor
Lexmark                                     10 N Martigale Road                                  Schaumburg       IL           60173                    Agreement                                1/20/2012              1/31/2013
                                                                                                                                                        Addendum A-7 to the
                                                                                                                                                        Independent Contractor
Lexmark                                     10 N Martigale Road                                  Schaumburg       IL           60173                    Agreement                                 1/3/2018              1/31/2019

LG ELECTRONICS USA INC                      1000 SYLVAN AVENUE                                   ENGLEWOOD CLIFFS NJ           07632                    Vendor Terms Agreement
                                            11th floor, LiFungTower, 888
Li & Fung                                   Cheung Sha Wan Road                                  Kowloon                                     Hong Kong Agent agreement
LI & FUNG                                   11420 ALBERT HUDON                                   MONTREAL         QC           H1G 3J5       Canada    Vendor Terms Agreement
                                                                                                                               43699-
LIBBEY GLASS INCORPORATED                   300 MADISON AVENUE                                   TOLEDO           OH           0060                     Vendor Terms Agreement




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            Contract Counterparty                      Address1               Address2              City        State   Postal Code    Country        Debtor's Interest              Lease              Remaining Term               Government Contract
                                                                                                                                                                                                     Continue in full forece &
                                                                                                                                                                                                       effect until the policy
                                                                                                                                                 Agreement for Guarantee                               holder has no further
                                                                                                                                                 of Deductible                                           obligatins to Liberty
Liberty Mutual Ins.                        175 Berkeley Street                           Boston            MA           02117                    Reimbursement                                                         Mutual.

LIBERTY ORCHARDS COMPANY INC               117 MISSION AVENUE PO BOX C                   CASHMERE          WA           98815                    Vendor Terms Agreement
LIBMAN COMPANY                             220 N SHELDON                                 ARCOLA            IL           61910                    Vendor Terms Agreement
                                           4600 WITMER INDUSTRIAL
LIDDELL CORPORATION                        ESTATES #5                                    NIAGRA FALLS      NY           14305                    Vendor Terms Agreement
LIFE GEAR                                  742 GENENIEVE STREET STE O                    SLANA BEACH       CA           92075                    Vendor Terms Agreement
LIFE WEAR TECHNOLOGIES INC                 1520 SW 5TH COURT                             POMPANO BEACH     FL           33069                    Vendor Terms Agreement
                                                                                                                        97224-
LIFELINE FIRST AID L L C                   6713 SW BONITA ROAD #206                      TIGARD            OR           8092                     Vendor Terms Agreement

                                                                                                                                                 Med B Rebates For Diabetic
Lifescan                                   965 Chesterbrook Blvd                         Wayne             PA           19087                    Testing Strips And Meters             10/30/2018                12/31/2019

LIFESPAN BRANDS LLC                        1200 THORNDALE AVENUE                         ELK GROVE VILLAGE IL           60007                    Vendor Terms Agreement
LIFESTYLE SOLUTIONS                        6955 MOWRY AVENUE                             NEWARK            CA           94560                    Vendor Terms Agreement
                                                                                                                        11530-
LIFETIME BRANDS INCORPORATED               1000 STEWART AVENUE                           GARDEN CITY       NY           4814                     Vendor Terms Agreement
                                                                                                                        84016-
LIFETIME PRODUCTS                          PO BOX 160010                                 CLEARFIELD        UT           0100                     Vendor Terms Agreement
LIFEWORKS TECHNOLOGY GROUP LLC             1412 BROADWAY 3RD FLOOR                       NEW YORK          NY           10018                    Vendor Terms Agreement

LIFOAM INDUSTRIES LLC                      235 SCHILLING CIRCLE STE 111                  HUNT VALLEY       MD           21031                    Vendor Terms Agreement
LIL DRUG STORE PRODUCTS                    PO BOX 1883                                   CEDAR RAPIDS      IA           52406                    Vendor Terms Agreement

Liljenquist Salt Lake Company, LTD         6925 Union Park Center Suite 500              Midville          UT           84047                    Lease                                 12/31/1986                  2/27/2038
                                                                                                                                                 Operating Lease -Ground
Liljenquist Salt Lake Company, LTD         5959 SOUTH STATE STREET                       MURRAY            UT           84107                    Lease                                 12/31/1986                  5/31/2031                N/A

                                                                                                                                                 Short-term Disablity Advice
                                                                                                                                                 to Pay Program for Shopko's
                                                                                                                                                 Exempt teammates (self-
                                                                                                                                                 insured for exempt STD plan
                                                                                                                                                 provides consultation on
                                                                                                                        68114-                   STD claims Advice to Pay
Lincoln National Life Insurance Company    8801 Indian Hills Drive                       Omaha             NE           4066                     services.                                1/1/2018               12/31/2019
Lincoln Plaza c/o AIG Properties Ltd.      2185 Lincoln Street                           RHINELANDER       WI           54501                    Operating Lease                          1/9/2019                1/31/2024                 N/A
                                                                                                                                                 Front-end Checkout Space
Lindt                                      One Fine Chocolate Place                      Statham           NH           03885                    Agreement                                7/1/2018                 6/30/2019
                                                                                                                        03885-
LINDT & SPRUNGLI USA INCORPORATE           ONE FINE CHOCOLATE PLACE                      STRATHAM          NH           0276                   Vendor Terms Agreement
LINEN ESSENTIALS                           F175 TEXTILE AVENUE SITE                      KARACHI                                      PAKISTAN Vendor Terms Agreement
                                           ONE SNACKFOOD LANE PO BOX
LINK SNACKS INCORPORATED                   397                                           MINONG            WI           54859                    Vendor Terms Agreement
LINKS CHOICE L L C                         4545 KIDS DAIRY ROAD                          SCOTTSVILLE       VA           24590                    Vendor Terms Agreement
                                                                                                                        11501-
LINON HOME DECOR PRODUCTS INCORP           22 JERICHO TURNPIKE                           MINEOLA           NY           0000                     Vendor Terms Agreement
LINZER PRODUCTS CORPORATION                248 WYANDANCH AVENUE                          WEST BABYLON      NY           11704                    Vendor Terms Agreement
LION BRAND YARN COMPANY                    135 KERO ROAD                                 CARLSTADT         NJ           07072                    Vendor Terms Agreement
LIONEL LLC                                 6301 PERFORMANCE DRIVE                        CONCORD           NC           28027                    Vendor Terms Agreement
                                                                                                                                                 Standard Terms accepted
                                                                                                                                                 upon use; this is a self-
                                                                                                                                                 service email testing
Litmus                                     231 2nd Avenue                                San Mateo         CA           94401                    software, pay with CC
                                                                                                                        02771-
LITTLE KIDS INCORPORATED                   1015 NEWMAN AVENUE                            SEEKONK           MA           0000                     Vendor Terms Agreement
                                                                                                                        02771-
LITTLE KIDS INCORPORATED                   1015 NEWMAN AVENUE                            SEEKONK           MA           0000                     Vendor Terms Agreement
                                           1670 N HERCULES AVENUE UNIT
LITTLE TOADER LLC                          B                                             CLEARWATER        FL           33765                    Vendor Terms Agreement




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                                                                                                                                                         Description of Contract or
                                                                                                                                                           Lease and Nature of        Date of Contract or                           List Contract Number of Any
            Contract Counterparty                   Address1                    Address2                 City          State   Postal Code    Country        Debtor's Interest              Lease           Remaining Term              Government Contract
                                          800 WASHINGTON AVENUE N STE
LIVE BETTER BRANDS LLC                    207                                                 MINNEAPOLIS         MN           55401                    Vendor Terms Agreement
LIVE LOVE POP                             4385 SUNBELT DRIVE                                  ADDISON             TX           75001                    Vendor Terms Agreement

LIVING ESSENTIALS LLC                     38955 HILLS TECH DRIVE                              FARMINGTON HILLS MI              48331                    Vendor Terms Agreement
Livingston Healthcare                     320 Alpenglow Land                                  Livingston       MN              59047                    340B Contract                           6/29/2018
LOACKER USA                               90 BROAD STREET                                     NEW YORK         NY              10004                    Vendor Terms Agreement

LODGE MANUFACTURING                       204 EAST 5TH STREET                                 SOUTH PITTSBURGH    TN           37380                    Vendor Terms Agreement
Logan Hukulia Shaved Ice                  1341 NORTH MAIN STREET                              LOGAN               UT           84341                    Sublease                                 7/1/2017            10/31/2019                N/A
LOGO CHAIR INC                            117 SE PARKWAY                                      FRANKLIN            TN           37064                    Vendor Terms Agreement
LOGOTEL INCORPORATED                      15046 BELTWAY DRIVE                                 ADDISON             TX           75001                    Vendor Terms Agreement

LOLLY COMPANY LIMITED                     UNIT D 17/F ROXY IND CENTRE                         KWAI CHUNG          NT                         Hong Kong Vendor Terms Agreement

LOLLY TOGS FRENCH TOAST                   100 W 33RD STREET SUITE 1012                        NEW YORK            NY           10001                    Vendor Terms Agreement
LONGEVITY BRANDS LLC                      610 UHLER ROAD                                      EASTON              PA           18040                    Vendor Terms Agreement
                                          RM 307 HENG NGAI JEWELRY                            E HUNGHOM
LONGSHORE LIMITED                         CENTER                                              KOWLOON                                        Hong Kong Vendor Terms Agreement
LONGSTREET                                PO BOX 497                                          AVENEL              NJ           07001                   Vendor Terms Agreement
LOOK BEAUTY INC                           7 ST THOMAS ST STE 208                              TORONTO             ON           M5S 2B7       Canada    Vendor Terms Agreement
                                                                                                                                                                                                             3 yr term, then 1 yr
Loomis Armored US, LLC                    2500 City West Blvd            Suite 900            Houston             TX           77042                    Armored courier for Debtor              6/25/2011   mutual agreed terms
                                                                                                                               60622-
LOREAL RETAIL DIVISION                    852 NORTH DAMEN AVENUE                              CHICAGO             IL           0000                     Vendor Terms Agreement
LORNAMEAD INCORPORATED                    175 COOPER AVENUE                                   TONAWANDA           NY           14150                    Vendor Terms Agreement
LOS ANGELES GEM & JEWELRY                 659 S BROADWAY 7TH FLOOR                            LOS ANGELES         CA           90014                    Vendor Terms Agreement
LOT TWENTY SIX STUDIO INC                 277 CAROLINA STREET                                 SAN FRANCISCO       CA           94103                    Vendor Terms Agreement
LOTUS INTERNATIONAL INC                   5 DAIRY PAK ROAD                                    ATHENS              GA           30607                    Vendor Terms Agreement
LOUISVILLE BEDDING COMPANY                10400 BUNSEN WAY                                    LOUISVILLE          KY           40299                    Vendor Terms Agreement
                                          34 WEST 33RD STREET 11TH
LOUNGEHOUSE                               FLOOR                                               NEW YORK            NY           10001                    Vendor Terms Agreement
                                                                                                                                                        detention and audit
LP Software                               7000 W 111st st                Suite 305            Worth               IL           60482                    program - cloud based
LRS APPAREL LIMITED                       1861 REYNOLDS AVENUE                                IRVINE              CA           92614                    Vendor Terms Agreement
Lucas County Health Center                1200 N. 7th Street                                  Chariton            IA           50049                    340B Contract                           8/30/2018            10/22/2018
                                                                                                                               76155-
LUCID AUDIO LLC                           14301 FAA BLVD                                      FORT WORTH          TX           0000                     Vendor Terms Agreement
Lucky 13, LLC                             2679 Fahey Glen                                     Madison             WI           53711                    Lease                                 11/23/2015              8/31/2031
Lucky 13, LLC                             3402 MAIN STREET                                    EMMETSBURG          IA           50536                    Operating Lease                       11/23/2015              8/31/2031                N/A
Lulich Landscaping                        N2091 Frank Rd                                      Lynoon Station      WI           53944                    Lawn Care ST563

LUMISOURCE LLC                            2950 OLD HIGGINS ROAD                               ELK GROVE VILLAGE IL             60007                    Vendor Terms Agreement
Lund 144 Center, LLC and Overland Wolf
Building Partnership                      450 Regency Pkwy Suite 200                          Omaha               NE           68114                    Lease                                 12/15/2014             12/31/2031
Lund 144 Center, LLC and Overland Wolf
Building Partnership                      14445 WEST CENTER ROAD                              OMAHA               NE           68144                    Operating Lease                       12/15/2014             12/31/2031                N/A
LUSH LIFE INCORPORATED                    7514 GIRARD #1142                                   LA JOLLA            CA           92117                    Vendor Terms Agreement
LUV N CARE                                PO BOX 6050                                         MONROE              LA           71211                    Vendor Terms Agreement
LUXCOM INC (CHUB)                         1212 6TH AVE SUITE 2304                             NEW YORK            NY           10036                    Vendor Terms Agreement
LYNK INCORPORATED                         8241 MELROSE DRIVE                                  SHAWNEE MISSION     KS           66214                    Vendor Terms Agreement
Lynn H. Nelson Trust                      P.O. Box 455                                        Red Oak             IA           51566                    Lease                                   2/27/1974            12/31/2020
Lynn H. Nelson Trust                      801 N. BROADWAY ST.                                 RED OAK             IA           51566                    Operating Lease                         2/27/1974            12/31/2020                N/A
LYRIC CULTURE LLC                         2520 W 6TH STREET                                   LOS ANGELES         CA           90057                    Vendor Terms Agreement
M & M MARS                                800 HIGH STREET                                     HACKETTSTOWN        NJ           07840                    Vendor Terms Agreement
M & W Services Fert L Lawn                1222 Gateway Drive NE                               East Grand Rapids   MN           56721                    Lawn Care ST742
M BLOCK AND SONS INCORPORATED             5020 WEST 73RD STREET                               BEDFORD PARK        IL           60499                    Vendor Terms Agreement
M Group, L.L.C.                           2327 E. Woodstone Drive                             E.Hayden            ID           83835                    Lease                                 12/15/2014             11/30/2029
                                                                                                                               10001-
M HIDARY & CO INC                         10 W 33RD STREET 9TH FLOOR                          NEW YORK            NY           3366                     Vendor Terms Agreement
M.A.K. Rentals, LLC                       18202 Kvitek Road                                   Denmark             WI           54208                    Lease                                   6/14/1995            10/20/2020
M.A.K. Rentals, LLC                       56835 STATION DRIVE                                 CALUMET             MI           49913                    Operating Lease                         6/14/1995            10/31/2020                N/A




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           Contract Counterparty                 Address1                   Address2            City         State   Postal Code    Country        Debtor's Interest              Lease           Remaining Term          Government Contract

                                                                                                                                              CRM Database Provider
M/A/R/C Inc, D/B/A Targetbase         7850 N. Beltline Rd                               Irving          TX           75063                    UNTIL SessionM is Migrated               3/1/2014           1/23/2020
MAC SALES GROUP INC                   PO BOX 480 140 LAUREL ST                          E BRIDGEWATER   MA           02333                    Vendor Terms Agreement
MAC SPORTS INCORPORATED               1661 FAIRPLEX DRIVE                               LA VERNE        CA           91750                    Vendor Terms Agreement
MAC WAREHOUSE                         530 W 8360 S                                      SANDY           UT           84070                    Vendor Terms Agreement
MAD CATZ INCORPORATED                 7480 MISSION VALLEY ROAD                          SAN DIEGO       CA           92108                    Vendor Terms Agreement
                                      3678 WEST OCEANSIDE ROAD STE
MAD DOG CONCEPTS                      204                                               OCEANSIDE       NY           11582                    Vendor Terms Agreement
MAD ENGINE INCORPORATED               13100 GREGG STREET STE A                          POWAY           CA           92064                    Vendor Terms Agreement
MADE 4 U STUDIO LLC                   5341 N SABINO VIEW PLACE                          TUCSON          AZ           85749                    Vendor Terms Agreement
                                      1000 UNIVERSITY AVENUE W                                                       55104-
MADESMART HOUSEWARES                  #220                                              SAINT PAUL      MN           4706                     Vendor Terms Agreement
Madison Community Hospital            323 SW 10th Street                                Madison         SD           57042                    340B Contract                           7/17/2018
MADISON INDUSTRIES                    279 5TH AVENUE                                    NEW YORK        NY           10016                    Vendor Terms Agreement
                                      135 MADISON AVENUE 12TH
MADISON MAIDENS INCORPORATED          FLOOR                                             NEW YORK        NY           10016                    Vendor Terms Agreement
MAG BRANDS LLC                        463 7TH AVENUE 4TH FLOOR                          NEW YORK        NY           10018                    Vendor Terms Agreement
MAGIC SLIDERS                         50 MAIN STREET                                    WHITE PLAINS    NY           10606                    Vendor Terms Agreement
MAGNA CARD INCORPORATED               36 EAST LONG AVENUE                               DUBOIS          PA           15801                    Vendor Terms Agreement
Mahler Clean                          600 N Boardway                                    Milwaukee       WI           53202                    janitorial services
Mahler Clean SKO                      600 N Boardway                                    Milwaukee       WI           53202                    DePere DC Maintenance
Mahoney                               5004 S. 110th                                     Omaha           NE           68137                    Lawn Care ST660
Mainetti                              300 Mac Lane                                      Keasbey         NJ           08832                    Rebate Agreement.                        3/1/2017            3/1/2022

MAJESTY BRANDS LLC                    60 W 55TH STREET 4TH FLOOR                        NEW YORK        NY           10019                    Vendor Terms Agreement
Malda Lawn Service                    2667 W Ray Ave                                    New Era         MI           49446                    Lawn Care ST651
MALDEN INTERNATIONAL DESIGNS          19 COWAN DRIVE                                    MIDDLEBORO      MA           02346                    Vendor Terms Agreement
MALIBU DESIGN GROUP                   5445 JILLSON STREET                               COMMERCE        CA           90040                    Vendor Terms Agreement
                                      106 CORPORATE PARK DR STE
MAM USA CORPORATION                   409                                               WHITE PLAINS    NY           10604                    Vendor Terms Agreement

MAMIYE GROUP LLC                      112 WEST 34TH STREET STE 1000                     NEW YORK        NY           10120                    Vendor Terms Agreement
                                                                                                                     07932-                   Group Purchasing
Managed Health Care Associates        25B Vreeland RD                 PO Box 789        Florham Park    NJ           0789                     Organization-Rebates                     1/1/2012          12/31/2020
MANHATTAN BEACHWEAR INC               10700 VALLEY VIEW ST                              CYPRESS         CA           90630                    Vendor Terms Agreement

MANHATTAN TOY                         300 1ST AVENUE NORTH STE 200                      MINNEAPOLIS     MN           55401                    Vendor Terms Agreement
                                      8/F HONG KONG SPINNERS INDL
MANLEY TOYS                           BLDG                                              KOWLOON                                    Hong Kong Vendor Terms Agreement
                                                                                                                                             Independent Contractor
Mann Computer Systems                 110 2nd Street #225                               Waite Park      MN           56387                   Agreement                                6/16/2015           7/31/2016
                                                                                                                                             Addendum A-5 to the
                                                                                                                                             Independent Contractor
                                                                                                                                             Agreement (MC9090 Radio
Mann Computer Systems                 110 2nd Street #225                               Waite Park      MN           56387                   Support)                                  7/1/2018           6/30/2019
                                                                                                                                             Addendum A-6 to the
                                                                                                                                             Independent Contractor
                                                                                                                                             Agreement (Oneil Printer
Mann Computer Systems                 110 2nd Street #225                               Waite Park      MN           56387                   Support)                                  8/1/2018           7/31/2019
                                                                                                                                             Addendum A-7 to the
                                                                                                                                             Independent Contractor
                                                                                                                                             Agreement (Psion DC Radio
Mann Computer Systems                 110 2nd Street #225                               Waite Park      MN           56387                   Support)                                  1/1/2019          12/31/2019
MANNA PRO PRODUCTS LLC                707 SPIRIT 40 PARK DRIVE 150                      CHESTERFIELD    MO           63005                   Vendor Terms Agreement
MAPED HELIX USA INCORPORATED          3495 PIEDMONT ROAD NE                             ATLANTA         GA           30305                   Vendor Terms Agreement
MAPLEWOOD ENTERPRISES LLC             219 BEACH 100 2ND FLOOR                           ROCKAWAY PARK   NY           11694                   Vendor Terms Agreement

MARAIS DESIGNS                        10 WEST 33RD STREET STE 510                       NEW YORK        NY           10001                    Vendor Terms Agreement
Marchon Eyewear                       201 Old Country Road                              Melville        NY           11747                    Optical Frames
Marcolin USA                          7543 E Tierra Buena Lane                          Scottsdale      AZ           85260                    Optical Frames

Margie Simon/Jerome L. Fine, Agent    784 W. Lake Lansing Road East                     Lansing         MI           48823                    Lease                                    6/7/2000           1/30/2021
Margie Simon/Jerome L. Fine, Agent    400 SOUTH MAIN STREET                             BROOKLYN        MI           49230                    Capital Lease                            6/7/2000           1/31/2021              N/A




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           Contract Counterparty                Address1                  Address2              City             State   Postal Code   Country        Debtor's Interest               Lease           Remaining Term          Government Contract
MARIACHI IMPORTS                    760 S 11TH STREET                                    PHILADELPHIA       PA           19147                   Vendor Terms Agreement
Marianne/Jack Bluemel               PO Box 565                                           Lyman              WY           82937                   Lawn Care ST765
                                                                                                                         59474-
Marias Healthcare Services, Inc.    670 Park Avenue                                      Shelby             MT           1663                    340B Contract                            7/12/2016
Marilyn Silvershein Trust           150 S 1st St                                         Blair              NE           68008                   Operating Lease                          8/22/1995          10/31/2020              N/A
Mark Budach                         307 S Taylor                                         Mt Ayr             IA           50854                   Lawn Care ST689
Mark Edderding                      18333 Cty Road 40                                    Bethune            CO           80805                   Lawn Care ST546
MARK FELDSTEIN & ASSOCIATES INC     6703 MONROE STREET                                   SYLVANIA           OH           43560                   Vendor Terms Agreement
Mark Vannausdle                     1001 E Corning St                                    Red Oak            IA           51566                   Lawn Care ST786
                                                                                                                                                 Marketmax - License
Marketmax, Inc.                     222 Rosewood Drive             11th Floor            Danvas             MA           01923                   Agreement - 12/13/1991                 12/13/1991            2/28/2019
                                                                                                                                                 Marketmax - Amendment
                                                                                                                                                 to License Agreement -
Marketmax, Inc.                     222 Rosewood Drive             11th Floor            Danvas             MA           01923                   5/3/1999                                  5/3/1999           2/28/2019
MARKETPLACE BRANDS LLC              2451 UNITED LANE                                     LIBERTYVILLE       IL           60007                   Vendor Terms Agreement
Marketplace LLC                     2015 East Seventh Street                             Sioux City         IA           51102                   Lease                                    3/30/1983           6/30/2023
Marketplace LLC                     3025 HAMILTON BLVD                                   SIOUX CITY         IA           51104                   Operating Lease                          3/30/1983           6/30/2023              N/A
                                                                                                                                                 Rx Outbound Notifications -
MarketTouch Media Inc.              5718 Westeheimer Road          Suite 980             Houston            TX           77057                   Exhibit A-1                                                 12/31/2020
                                                                                                                                                 Mobile Application - Exhibit
MarketTouch Media Inc.              5718 Westeheimer Road          Suite 980             Houston            TX           77057                   A-2                                                         12/31/2020
                                                                                                                                                 Sms Refill Reminders -
MarketTouch Media Inc.              5718 Westeheimer Road          Suite 980             Houston            TX           77057                   Exhibit A-5                                                 12/31/2020

MarketTouch Media Inc.              5718 Westeheimer Road          Suite 980             Houston            TX           77057                   Master Services Agreement
                                                                                                                                                 RX outbound notifications -
MarketTouch Media Inc.              5718 Westeheimer Road          Suite 980             Houston            TX           77057                   Exhibit A-1                                                 12/31/2020
                                                                                                                                                 Mobile Application - Exhibit
MarketTouch Media Inc.              5718 Westeheimer Road          Suite 980             Houston            TX           77057                   A-2                                                         12/31/2020
                                                                                                                                                 SMS Refill Reminders -
MarketTouch Media Inc.              5718 Westeheimer Road          Suite 980             Houston            TX           77057                   Exhibit A-5                                                 12/31/2020

MarketTouch Media Inc.              5718 Westeheimer Road          Suite 980             Houston            TX           77057                   Master Services Agreement

                                                                                                                                                 Provides: Online
                                                                                                                                                 competitive prices from 7
                                                                                                                                                 different websites for all
                                                                                                                                                 active Shopko products on a
MarketTrack, LLC /                  233 S Wacker Dr.                                                                                             daily basis
Numerator                                                                                Chicago            IL           60606                   360 Price, Daily Monitoring              9/11/2018           9/10/2019
                                                                                                                         91789-
MARKWINS BEAUTY PRODUCTS INCORPO    22067 FERRERO PARKWAY                                CITY OF INDUSTRY   CA           0000                    Vendor Terms Agreement
Marquette Marine LLC                14214 S.E. 77th Street                               Newcastle          WA           98059                   Lease                                    5/23/1988           1/31/2023
Marquette Marine LLC                650 US HWY 41 WEST                                   ISHPEMING          MI           49849                   Capital Lease                            5/23/1988           1/31/2023              N/A
Marquette Marine LLC                650 US HWY 41 WEST                                   ISHPEMING          MI           49849                   Operating Lease                          5/23/1988           1/31/2023              N/A
                                                                                                                                                 Front-end Checkout Space
Mars                                800 High Street                                      Hackettstown       NJ           07840                   Agreement                                 7/1/2018           6/30/2019
MARS PETCARE US LLC                 3250 EAST 44TH STREET                                VERNON             CA           90058                   Vendor Terms Agreement
MARS RETAIL GROUP                   800 HIGH STREET                                      HACKETTSTOWN       NJ           07840                   Vendor Terms Agreement
MARSALA MANUFACTURING               799 N HAGUE AVENUE                                   COLUMBUS           OH           43204                   Vendor Terms Agreement
MARSHALL POTTERY INCORPORATED       PO BOX 1839                                          MARSHALL           TX           75671                   Vendor Terms Agreement
Martin Coughlin                     PO Box 931                                           Standish           MI           48658                   Lawn Care ST646
Marty Martin                        118 S. Drake                                         Perryton           TX           79070                   Lawn Care ST542
MASADA HEALTH & BEAUTY CORP         PO BOX 4118                                          CHATSWORTH         CA           91313                   Vendor Terms Agreement
                                    12012 SOUTH SHORE BLVD STE
MASON JAR COOKIE COMPANY LLC        209                                                  WELLINGTON         FL           33414                   Vendor Terms Agreement
MASSIMO ZANETTI BEVERAGE USA INC    1370 PROGRESS ROAD                                   SUFFOLK            VA           23434                   Vendor Terms Agreement
MASTER LOCK COMPANY                 6744 S HOWELL AVENUE                                 OAK CREEK          WI           53154                   Vendor Terms Agreement
MASTER MAGNETICS INC                1211 ATCHISON CT                                     CASTLE ROCK        CO           80109                   Vendor Terms Agreement
MASTERBUILT MANUFACTURING           1 MASTERBUILT COURT                                  COLUMBUS           GA           31907                   Vendor Terms Agreement

                                                                                                                                                 AutoCAD renewal for period
MasterGraphics                      N19 W23993 Ridgeview Parkway                         Waukesha           WI           53188                   of 10/22/2018 - 10/21/2019             10/22/2018           10/21/2019
MASTERPIECE ART GALLERY             4950 S SANTA FE AVENUE                               VERNON             CA           90058                   Vendor Terms Agreement




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            Contract Counterparty                         Address1                    Address2                City         State   Postal Code    Country        Debtor's Interest              Lease           Remaining Term            Government Contract
                                                                                                                                   85755-
MASTERPIECES PUZZLE COMPANY INCO               12475 N RANCHO VISTOSO BLVD                          ORO VALLEY        AZ           1894                     Vendor Terms Agreement
Matheson dba Linweld - SKO                     166 Keystone Drive                                   Montgomeryville   PA           18936                    DC Maintenance
                                                                                                                                   90245-
MATTEL TOYS                                    333 CONTINENTAL BOULEVARD                            EL SEGUNDO        CA           5012                     Vendor Terms Agreement
Matthew Prickell                               530 E Pleasant                                       Craig             NE           68019                    Lawn Care ST677
                                                                                                                                   90405-
MAUI TOYS INC DIV OF JAKKS                     2951 28TH ST STE 1000                                SANTA MONICA      CA           2993                     Vendor Terms Agreement
                                                                                                                                   44502-
MAUI TOYS INCORPORATED                         1275 CRESCENT STREET                                 YOUNGSTOWN        OH           1303                     Vendor Terms Agreement
                                                                                                                                   60065-
MAURICE SPORTING GOODS                         1910 TECHNY ROAD                                     NORTHBROOK        IL           0000                     Vendor Terms Agreement
MAURICE SPORTING GOODS INCORPORA               1910 TECHNY ROAD                                     NORTHBROOK        IL           60065                    Vendor Terms Agreement

Maven Wave Partners, Inc.                      71 S. Wacker Drive             Suite 2040            Chicago           IL           60606                    Google Apps - G suite Basic             1/31/2019           1/30/2020
                                                                                                                                   11691-
MAX LEATHER GROUP INC CIPRIANI D               14 15 REDFERN AVENUE                                 FAR ROCKAWAY      NY           0000                     Vendor Terms Agreement
Max Walker - SPEC                              724 N 16th st                                        Omaha             NE           68102                    Dc Uniforns Omaha
MAXELL CORPORATION OF AMERICA                  C2 08 ROUTE 208 S                                    FAIR LAWN         NJ           07410                    Vendor Terms Agreement
MAXFIELDS                                      1050 S 200 WEST                                      SALT LAKE CITY    UT           84101                    Vendor Terms Agreement
Maxine Larson                                  151 1st SW                                           Clairion          IA           50525                    Lawn Care ST674
MAXSALESGROUP                                  2331 S TUBEWAY AVENUE                                COMMERCE          CA           90040                    Vendor Terms Agreement
Maxwell-MN, LLC                                2021 Riggs Road                                      Lakeport          CA           95453                    Lease                                 12/28/1972           11/30/2027
Maxwell-MN, LLC                                116 EAST STATE HWY 28                                MORRIS            MN           56267                    Capital Lease                         12/28/1972           11/30/2027                 N/A
MAYA GROUP                                     12622 MONARCH STREET                                 GARDEN GROVE      CA           92841                    Vendor Terms Agreement
MAYKAH INCORPORATED                            545 OAKMEAD PARKWAY                                  SUNNYVALE         CA           94085                    Vendor Terms Agreement
MAYTEX MILLS                                   135 SAW MILL RIVER ROAD                              YONKERS           NY           10701                    Vendor Terms Agreement
Mayville 2013 Shopko LLC                       889 E. Johnson St.                                   Fond du Lac       WI           54936                    Lease                                    9/6/2013           7/31/2029
Mayville 2013 Shopko LLC                       2050 HORICON STREET                                  MAYVILLE          WI           53050                    Operating Lease                          9/6/2013           7/31/2029                 N/A
                                                                                                                                   60191-
MC APPLIANCE CORPORATION                       940 NORTH CENTRAL AVENUE                             WOOD DALE         IL           0000                     Vendor Terms Agreement
MC ARTHUR TOWEL & SPORTS LLC                   700 MOORE STREET                                     BARABOO           WI           53913                    Vendor Terms Agreement
                                                                                                                                                            Annual Subscription -
McAfee                                         16 Maiden Lane, 4th Floor                            San Francisco     CA           94108                    10/30/2018                            10/30/2018           10/30/2021
McAfee                                         16 Maiden Lane                 4th Floor             San Francisco     CA           94108                    Master Terms                           4/17/2017
McAfee                                         16 Maiden Lane                 4th Floor             San Francisco     CA           94108                    Annual Renewal - 2 yr                                      10/29/2020
MCCUBBIN HOSIERY L L C                         5310 NW 5TH STREET                                   OKLAHOMA CITY     OK           73127                    Vendor Terms Agreement
McCullough Family Partnership c/o McCullough
Companies                                      1500 Avenue F Suite 4                                Ely               Ely          89301                    Lease                                   3/22/2007           1/31/2028
McCullough Family Partnership c/o McCullough
Companies                                      1500 E. SHERIDAN STREET                              ELY               MN           55731                    Operating Lease                         3/22/2007           1/31/2028                 N/A
                                                                                                                                                            Primary Pharmacy Supply
Mckesson Corporation                           6555 North State Highway 161                         Irving            TX           75039                    Agreement                                2/1/2017          12/31/2021
MCKESSON DRUG                                  1220 SENLAC DRIVE                                    CARROLTON         TX           75006                    Vendor Terms Agreement
McMahon Lawn Care                              13332 Waiscinen Road                                 L'Anse            MI           49946                    Lawn Care ST624
MCSTEVENS INCORPORATED                         5600 NE 88TH STREET                                  VANCOUVER         WA           98665                    Vendor Terms Agreement
MDM Real Estate, LLC.                          1211-1215 E Washington Ave                           UNION GAP         WA           98903                    Operating Lease                         1/15/2019           5/14/2024                 N/A
MEAD JOHNSON                                   2400 W LLOYD EXPRESSWAY                              EVANSVILLE        IN           47721                    Vendor Terms Agreement
Meadow Ridge Shops LLC                         1440 Capitol Drive, Suite B                          PEWAUKEE          WI           53072                    Operating Lease                         12/5/2018            1/0/1900                 N/A
MEADWESTVACO CORPORATION                       COURTHOUSE PLAZA NE                                  DAYTON            OH           45463                    Vendor Terms Agreement
MECO CORPORATION                               1500 INDUSTRIAL ROAD                                 GREENVILLE        TN           37745                    Vendor Terms Agreement
                                                                                                                                   26504-
MEDA CONSUMER HEALTHCARE INC                   781 CHESTNUT RIDGE ROAD                              MORGANTOWN        WV           0000                     Vendor Terms Agreement
MEDAL SPORTS (B V I) LTD                       HEPING W ROAD                                        TAIPEI                                       TAIWAN     Vendor Terms Agreement
MEDELA                                         1101 CORPORATE DRIVE                                 MCHENRY           IL           60050                    Vendor Terms Agreement

                                                                                                                                                                                                                                    Business Facilities Agreement for
                                                                                                                                                                                                                                    CATV, Mediacom Online Services
                                                                                                                                                                                                                                    and Mediacom Business Phone -
                                                                                                                                                                                                                                       Store 140 - Jacksonville IL
                                                                                                                                                            Commercial Facilities                                                       Store 638 - Monticello, IL
                                                                                                                                   50319-                   Agreement for Internet and                                                    Store 641 - Dwight, IL
Mediacom Illinois LLC                          1375 E. Court Avenue           RM 69                 Des Moines        IA           0069                     phone service                           3/12/2015      month to month




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               Contract Counterparty                     Address1                   Address2           City         State   Postal Code    Country        Debtor's Interest              Lease           Remaining Term            Government Contract
                                                                                                                                                                                                                             Business Facilities Agreement for
                                                                                                                                                                                                                             CATV, Mediacom Online Services
                                                                                                                                                     Commercial Facilities                                                   and Mediacom Business Phone -
                                                                                                                            50319-                   Agreement for Internet and                                                    Store 574 - Lowell, IN
Mediacom Indiana LLC                          1375 E. Court Avenue          RM 69              Des Moines      IA           0069                     phone service                           3/12/2015      month to month
                                                                                                                                                                                                                             Business Facilities Agreement for
                                                                                                                                                                                                                             CATV, Mediacom Online Services
                                                                                                                                                                                                                             and Mediacom Business Phone -
                                                                                                                                                     Commercial Facilities                                                       Store 52 - Mason City, IA
                                                                                                                            50319-                   Agreement for Internet and                                                   Store 676 - Chariton, IA
Mediacom Iowa LLC                             1375 E. Court Avenue          RM 69              Des Moines      IA           0069                     phone service                           3/12/2015      month to month         Store 679 - Toledo, IA

                                                                                                                                                                                                                             Business Facilities Agreement for
                                                                                                                                                                                                                             CATV, Mediacom Online Services
                                                                                                                                                                                                                             and Mediacom Business Phone -
                                                                                                                                                                                                                                Store 23 - Hutchinson, MN
                                                                                                                                                     Commercial Facilities                                                     Store 567 - Paynesville, MN
                                                                                                                            50319-                   Agreement for Internet and                                                Store 58 - Worthington, MN
Mediacom Minnesota LLC                        1375 E. Court Avenue          RM 69              Des Moines      IA           0069                     phone service                           3/12/2015      month to month        Store 740 - Morris, MN
Medici Rossmore LLC                           645 Cole Ranch Road                              Encinitas       CA           92024                    Lease                                   5/19/2015         11/30/2029

Medici Rossmore LLC                           230 NORTH WISCONSIN STREET                       DEPERE          WI           54115                    Operating Lease                         5/19/2015          11/30/2029                 N/A
MEDORA SNACKS LLC                             79 INDUSTRIAL PLACE                              MIDDLETOWN      NY           10940                    Vendor Terms Agreement
                                                                                                                            10533-
MEDTECH LABS INCORPORATED                     90 NORTH BROADWAY                                NEW YORK        NY           0000                     Vendor Terms Agreement
MEGA BRANDS AMERICA INCORPORATED              4505 HICKMORE                                    ST LAURENT      QC           H4T 1K4       Canada     Vendor Terms Agreement
MEI                                           959 AEC Drive                                    Woodale         IL           60191                    Optical Equipment
                                                                                                                            13501-
MELE JEWEL BOX                                2007 BEECHGROVE PLACE                            UTICA           NY           1703                     Vendor Terms Agreement
MELISSA & DOUG LLC                            PO BOX 590                                       WESTPORT        CT           06881                    Vendor Terms Agreement
Mellinger Landscaping                         PO Box 544                                       Wheatland       WY           82201                    Lawn Care ST755
                                                                                                                            55427-
MELLO SMELLO L L C                            3440 WINNETKA AVENUE NOTH                        MINNEAPOLIS     MN           2021                     Vendor Terms Agreement
MELVILLE CANDY COMPANY                        70 FINNELL DRIVE UNIT #16                        WEYMOUTH        MA           02188                    Vendor Terms Agreement
Memorial Hospital of Converse County          111 South 5th Street                             Douglas         WY           82633                    340B Contract                           7/11/2016
Memorial Medical Center                       216 Sunset Place                                 Neillsville     WI           54456                    340B Contract                           6/26/2018
MEMORY COMPANY                                25 DOWNING DRIVE                                 PHENIX CITY     AL           36869                    Vendor Terms Agreement
                                              5101 Menard Drive Attn:
Menard, Inc.                                  Properties Division                              Eau Claire      WI           54703                    Lease                                   2/18/1999           1/30/2021
Menard, Inc.                                  3400 NORTH 27TH STREET                           LINCOLN         NE           68521                    Capital Lease                           2/18/1999           3/31/2020                 N/A
                                                                                                                            14127-
MENTHOLATUM COMPANY INCORPORATED              707 STERLING DRIVE                               ORCHARD PARK    NY           1587                     Vendor Terms Agreement
MERANGUE INTERNATIONAL                        248 STEELCASE ROAD EAST                          MARKHAM         ON           L3R 1G2       CANADA     Vendor Terms Agreement
MERB LLC                                      140 CAROLYN BOULEVARD                            FARMINGDALE     NY           11735                    Vendor Terms Agreement
MERCHSOURCE LLC                               15 CUSHING                                       IRVINE          CA           92618                    Vendor Terms Agreement
                                              UNIT 2 7F NO 32 CHENGGONG
MERCURIES ASIA LIMITED                        ROAD                                             TAIPEI                                     TAIWAN     Vendor Terms Agreement
Mercy Health Partners - Lakeshore Campus      72 South State Street                            Shelby          MI           49455                    340B Contract                           7/13/2017          11/27/2018
Mercy Hospital of Franciscan Sisters, Inc.    201 8th Avenue                                   Oelwein         IA           50662                    340B Contract                           7/17/2017
Mercy Medical Center - North Iowa             1000 4th Street SW                               Mason City      IA           50401                    340B Contract                           6/30/2016
MERICAL LLC                                   2995 E MIRA LOMA                                 ANAHEIM         CA           92806                    Vendor Terms Agreement
                                              1880 Campus Commons Drive
Meridian                                      Suite 275 North                                  Reston          VA           20191                    Learning and Development
MERKURY INNOVATIONS L L C                     39 BROADWAY #1550                                NEW YORK        NY           10006                    Vendor Terms Agreement
Merle's Landscaping                           1838 5th Ave                                     Belle Fourche   SD           57717                    Lawn Care ST754

MERRY PRODUCTS CORP (CHUB)                    16 120 WEST BEAVER CREEK RD                      RICHMOND HILL   ON           L4B 1L2       Canada     Vendor Terms Agreement
Messner Landscape, Inc.                       325 Country Road MM                              Brooklyn        WI           53521                    Lawn Care ST029
Messner Landscape, Inc.                       325 Country Road MM                              Brooklyn        WI           53521                    Lawn Care ST032
Messner Landscape, Inc.                       325 Country Road MM                              Brooklyn        WI           53521                    Lawn Care ST080
                                                                                                                            54241-
METAL WARE CORPORATION                        PO BOX 237                                       TWO RIVERS      WI           0237                     Vendor Terms Agreement
                                              637 COMMERCIAL STREET STE
METHOD PRODUCTS PBC                           300                                              SAN FRANCISCO   CA           94111                    Vendor Terms Agreement




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             Contract Counterparty                Address1                  Address2                 City        State   Postal Code    Country        Debtor's Interest               Lease              Remaining Term             Government Contract

Metro RPh                              100 East Homer Adams Parkway                       Alten             IL           62002                    Contract Pharmacist Labor
                                       UNIT 1211 NO 1 SCIENCE                             TSIMSHATSUI E
METRO WORLD GROUP LTD                  MUSEUM RD                                          KOWLOON                                      Hong Kong Vendor Terms Agreement
MEYER CORPORATION FARBERWARE           525 CURTOLA PARKWAY                                VALLEJO           CA           94590                   Vendor Terms Agreement
                                                                                                                         91406-
MGA ENTERTAINMENT                      16380 ROSCOE BOULEVARD                             VAN NYS           CA           0000                     Vendor Terms Agreement
MGR DESIGN INTERNATIONAL INC           1950 WILLIAMS DRIVE                                OXNARD            CA           93036                    Vendor Terms Agreement
MHP INTERNATIONAL                      7520 N ST LOUIS AVENUE                             SKOKIE            IL           60076                    Vendor Terms Agreement
MICHAEL GERALD LIMITED                 12836 ALONDRA BOULEVARD                            CERRITOS          CA           90703                    Vendor Terms Agreement
MICHAEL GIORDANO INTERNATIONAL I       14851 NE 20TH AVENUE                               NORTH MIAMI       FL           33181                    Vendor Terms Agreement
Michaela Chymas                        206 2nd Ave                                        Toledo            IA           52342                    Lawn Care ST679
Michell Flores                         17 Cassell St                                      Presido           TX           79843                    Lawn Care ST582

MICHLEY ELECTRONICS INC                530 SHOWERS DRIVE STE 7-204                        MOUNTAIN VIEW     CA           94040                    Vendor Terms Agreement

                                                                                                                         60055-                   Product License Agreement
MicroFocus                             PO Box 19224                                       Palatine          IL           9224                     order Doc 10/27/2003                     4/28/2003
                                                                                                                         60055-                   Product Order Doc
MicroFocus                             PO Box 19224                                       Palatine          IL           9224                     07/07/2004
                                                                                                                                                  License Intesolve 1995 -
                                                                                                                         60055-                   PVCS Acquisition by
MicroFocus                             PO Box 19224                                       Palatine          IL           9224                     MicroFocus 04/14/2006                     3/3/1995
                                                                                                                         60055-                   Product Order Doc
MicroFocus                             PO Box 19224                                       Palatine          IL           9224                     06/26/2012                               6/26/2012
                                                                                                                         60055-                   Product Order Doc
MicroFocus                             PO Box 19224                                       Palatine          IL           9224                     07/24/2015                               7/24/2015
                                                                                                                         60055-                   Product Order Doc
MicroFocus                             PO Box 19224                                       Palatine          IL           9224                     04/01/2015                                4/1/2015
                                                                                                                         60055-                   Product Order Doc
MicroFocus                             PO Box 19224                                       Palatine          IL           9224                     01/19/2016 - Store VLA                   1/19/2016
                                                                                                                         60055-                   Support Renewal
MicroFocus                             PO Box 19224                                       Palatine          IL           9224                     04/01/2018                                                       4/26/2019
                                                                                                                         60055-                   Support Renewal
MicroFocus                             PO Box 19224                                       Palatine          IL           9224                     11/27/2018                                                       1/19/2020

                                                                                                                         60055-                   Intersolve Software License
MicroFocus                             PO Box 19224                                       Palatine          IL           9224                     Agreement - PVCS                                                 4/30/2019
                                                                                                                                                  Amendment 1 to Intersolve
                                                                                                                                                  Software License
                                                                                                                         60055-                   Agreement - PVCS -
MicroFocus                             PO Box 19224                                       Palatine          IL           9224                     12/28/1995                                                       4/30/2019
                                                                                                                                                  Amendment to Intersolve
                                                                                                                                                  Software License
                                                                                                                         60055-                   Agreement -PVCS -
MicroFocus                             PO Box 19224                                       Palatine          IL           9224                     02/02/1996                                                       4/30/2019

                                                                                                                         60055-                   License Purchase -
MicroFocus                             PO Box 19224                                       Palatine          IL           9224                     10/26/2006 - Serena - PVCS                                       4/30/2019
                                                                                                                         60055-                   Support Renewal
MicroFocus                             PO Box 19224                                       Palatine          IL           9224                     03/14/2018                                                       4/30/2019
                                                                                                                                                                                        T&Cs that are
                                                                                                                                                                                        automatically
                                                                                                                                                                                accepted once an IO is
                                                                                                                                                  Microsoft Bing Ads              accepted within our n/a - can stop orders at
Microsft Online, Inc (aka Bing Ads)    6100 Neil Road                                     Reno              NV           89511                    Agreement                                  systems                 any time
                                                                                                                         98052-                   Microsoft Business                                                                  MBA U5466367
Microsoft Corporation                  ATTN: LEGAL DEPARTMENT         One Microsoft Way   Redmond           WA           6399                     Agreement (MBA)                          3/11/2016                1/8/2019         MPSA 4100021039
                                                                                                                                                  Microsoft Enterprise
                                                                                                                                                  Services Work Order
                                                                                                                         98052-                   Microsoft Premier Support                                                        Work Order U1534349
Microsoft Corporation                  ATTN: LEGAL DEPARTMENT         One Microsoft Way   Redmond           WA           6399                     and Services                              3/7/2003               2/28/2019       SA reference 3384402




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              Contract Counterparty                   Address1                      Address2              City        State   Postal Code   Country         Debtor's Interest             Lease           Remaining Term           Government Contract
                                                                                                                                                      Amendment to Value
                                                                                                                                                      Added Reseller Agreement
MicroStrategy                             1850 Towers Crescent Plaza                             Tysons Corner   VA           22182                   10/28/1998                                                  3/28/2020
                                                                                                                                                      Second Amendment to
                                                                                                                                                      Software License and
                                                                                                                                                      Services Agreement
MicroStrategy                             1850 Towers Crescent Plaza                             Tysons Corner   VA           22182                   10/09/1998                                                  3/28/2020
                                                                                                                                                      Amendment to Software
                                                                                                                                                      License Agreement
MicroStrategy                             1850 Towers Crescent Plaza                             Tysons Corner   VA           22182                   03/07/2001                                                  3/28/2020
                                                                                                                                                      Rider to Purchase
                                                                                                                                                      Ageement - converison to
                                                                                                                                                      CPU based license
MicroStrategy                             1850 Towers Crescent Plaza                             Tysons Corner   VA           22182                   03/31/2006                                                  3/28/2020

                                                                                                                                                      OLAP Service Option added
MicroStrategy                             1850 Towers Crescent Plaza                             Tysons Corner   VA           22182                   to contract 06/15/2011                                      3/28/2020
                                                                                                                                                      Added Mobile License
MicroStrategy                             1850 Towers Crescent Plaza                             Tysons Corner   VA           22182                   12/21/2012                                                  3/28/2020
                                                                                                                                                      Software maintenance
MicroStrategy                             1850 Towers Crescent Plaza                             Tysons Corner   VA           22182                   03/31/2017                                                  3/28/2020
                                                                                                                                                                                                                              Service Order - Rolla ND - MSA
                                                                                                                                                                                                                                  201501-190 - 1/16/15
                                                                                                                                                                                                                              Service Order - Milbank SD and
                                          Attn: Vice President of Business   3901 North Louise                                                        Master Services Agreement -                                             Webster SD - MSA 201503-11 -
Midcontinent Communications               Solutions                          Avenue              Sioux Falls     ND           57107                   Internet and phone service              1/16/2015                                  3/24/15
                                                                                                                              64120-
MIDLAND CONSUMER RADIO                    5900 PARRETTA DRIVE                                    KANSAS CITY     MO           0000                    Vendor Terms Agreement
MIDWEST CBK                               32057 64TH AVENUE                                      CANNON FALLS    MN           55009                   Vendor Terms Agreement
MIDWEST CBK                               32057 64TH AVENUE                                      CANNON FALLS    MN           55009                   Vendor Terms Agreement
MIDWEST QUALITY GLOVES INCORPORA          835 INDUSTRIAL                                         CHILLICOTHE     MO           64601                   Vendor Terms Agreement
                                                                                                                              60515-
MIDWEST TRADING GROUP INC                 1400 CENTRE CIR                                        DOWNERS GROVE   IL           0000                    Vendor Terms Agreement
Mike Axtman                               804 Eastgate Dr SE                                     Rugby           ND           58368                   Lawn Care ST741
Mike Hale                                 405 S Preston Ave                                      Reedsburg       WI           53959                   Lawn Care ST618
Mike Jarchow                              515 N Estey                                            Luverne         MN           56156                   Lawn Care ST747
Mike Smart                                401 S. Russel #125                                     Douglas         WY           82633                   Lawn Care ST758
Mike Waldner                              712 N 9th St                                           Cherokee        IA           51012                   Lawn Care ST565
Mile Bluff Medical Center, Inc.           1050 Division Street                                   Mauston         WI           53948                   340B Contract                           4/17/2017
MILLENIUM CLOTHING INCORPORATED           1407 BROADWAY SUITE 1202                               NEW YORK        NY           10018                   Vendor Terms Agreement
Millions Lawn Care                        8005 Evans Street                                      Omaha           NE           68134                   Lawn Care ST056
MILLWORK HOLDINGS CO INC                  1359 BROADWAY 7TH FLOOR                                NEW YORK        NY           10018                   Vendor Terms Agreement
                                                                                                                              18040-
MIRACLESUIT                               610 UHLER ROAD                                         EASTON          PA           7001                    Vendor Terms Agreement
MISCO ENTERPRISES                         100 S WASHINGTON AVENUE                                DUNELLEN        NJ           08812                   Vendor Terms Agreement
MISSION PETS INC                          5389 E PROVIDENT DRIVE                                 CINCINNATI      OH           45246                   Vendor Terms Agreement
MISSION PHARMACAL                         PO BOX 786099                                          SAN ANTONIO     TX           78278                   Vendor Terms Agreement
MITAC DIGITAL CORPORATION                 471 EL CAMINO REAL                                     SANTA CLARA     CA           95050                   Vendor Terms Agreement
Mitchell County Regional Health Center    616 N. 8th Street                                      Osage           IA           50461                   340B Contract                           6/24/2016
MITZI INTERNATIONAL GENERATION            1 EAST 33RD STREET                                     NEW YORK        NY           10016                   Vendor Terms Agreement
                                                                                                                              07001-
MIZCO INTERNATIONAL INC                   80 ESSEX AVE EAST                                      AVENEL          NJ           0000                    Vendor Terms Agreement
MJ CONNECTION LLC                         910 RIDGELY RD STE G                                   MURFREESBORO    TN           37129                   Vendor Terms Agreement
MJ HOLDING COMPANY LLC                    7001 S HARLEM AVENUE                                   BEDFORD PARK    IL           60638                   Vendor Terms Agreement
                                                                                                                                                      Space agreement/GM %
MJ Holdings                               7001 South Harlem Rd                                   Bedford Park    IL           60638                   Guarentee
                                          2725 OAKDALE AVENUE 2ND
MJC INTERNATIONAL GROUP L L C             FLOOR                                                  SAN FRANCISCO   CA           94124                   Vendor Terms Agreement
MJM JEWELRY CORP                          400 THIRD AVENUE                                       BROOKLYN        NY           11215                   Vendor Terms Agreement
Mlekush Mowing & Pro                      PO Box 581                                             East Helena     MT           59635                   Lawn Care ST112
                                                                                                                                                      Front end fixture/Rack
Mobile Essentials                         3118 AIRPORT RD                                        LA CROSSE       WI           54603                   Placement

MODERN CULTURE DIV OF OVED APPAR          31 WEST 34 STREET THIRD FLOOR                          NEW YORK        NY           10001                   Vendor Terms Agreement




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MODERN MARKETING CONCEPTS INC       1220 EAST OAK STREET                                 LOUISVILLE          KY           40204                    Vendor Terms Agreement
Modern Optical International        585 Congress Circle N                                Roselle             IL           60172                    Optical Frames

                                                                                                                                                   Independent Contractor
                                                                                                                                                   Agreement and Addendum
Modula4, LLC                        440 Brannan Street                                   San Franciso        CA           94122                    A-1 - 6/27/2006                         6/27/2006           7/20/2019
                                                                                                                                                   Cumulus Software
Modula4, LLC                        440 Brannan Street                                   San Franciso        CA           94122                    Maintenance Renewal                                         7/20/2019
Moe Joe's LLC                       2711 Meadowlark Ln                                   Holmen              WI           54636                    Lawn Care ST099
Mohave Valley DG, LLC               3604 Winifred Way                                    Lake Havasau City   AZ           86404                    Lease                                 10/14/2015            2/28/2031
Mohave Valley DG, LLC               1300 E Central Ave                                   Comanche            TX           76442                    Operating Lease                       10/14/2015            3/31/2031              N/A
                                                                                                                          30746-
MOHAWK RUG & TEXTILES DIVISION      3090 SUGAR VALLEY                                    SUGAR VALLEY        GA           5166                     Vendor Terms Agreement
                                                                                                                          55402-
MOM BRANDS SALES LLC                80 SOUTH 8TH STREET STE 2700                         MINNEAPOLIS         MN           2297                     Vendor Terms Agreement
                                                                                                                                                   Front-end Checkout Space
Mondalez                            221 Swift Road                                       Addison             IL           60101                    Agreement                                7/1/2018           6/30/2019
                                                                                                                          10001-
MONDANI HANDBAGS & ACCESSORIES      320 FIFTH AVENUE STE 900                             NEW YORK            NY           3102                     Vendor Terms Agreement
MONDELEZ GLOBAL                     100 DEFOREST AVENUE                                  E HANOVER           NJ           07936                    Vendor Terms Agreement
MONDELEZ GLOBAL LLC                 THREE PARKWAY NORTH                                  DEERFIELD           IL           60015                    Vendor Terms Agreement
Mondottica USA                      180 South St                                         New Providence      NJ           07974                    Optical Frames
                                                                                                                                                   Checkstand Cooler Funding
Monster                             7705 S Chapell Hill Drive                            Franklin            WI           53132                    Agreement                               7/15/2018           7/13/2019
                                    UNIT 1108-10 11/F PART B
MOOSE MOUNTAIN                      PENENSULA CENT                                       TST EAST KOWLOON                               Hong Kong Vendor Terms Agreement
                                    UNIT 1108-10 11/F PART B
MOOSE MOUNTAIN                      PENINSULA CENTR                                      TST EAST KOWLOON                               Hong Kong Vendor Terms Agreement
                                    400 CONTINENTAL BLVD 6TH FL
MOOSE TOYS LLC                      STE 118-124                                          EL SEGUNDO          CA           90245                    Vendor Terms Agreement
MORGAN HOME PRODUCTS                75 LOWER MAIN STREET                                 ABERDEEN            NJ           07747                    Vendor Terms Agreement
Morrison Community Hospital         303 N. Jackson Street                                Morrison            IL           61270                    340B Contract                            1/9/2018
MORSAM FASHIONS INC                 350 RUE DE LOUVAIN O                                 MONTREAL            QC           H2N 2E8       Canada     Vendor Terms Agreement
                                                                                                                          60606-
MORTON SALT COMPANY                 444 WEST LAKE STREET STE 3000                        CHICAGO             IL           0000                     Vendor Terms Agreement
Mosaic Medical                      850 SW 4th Street                                    Madras              OR           97741                    340B Contract                           4/17/2017          11/28/2018
                                                                                                                          53208-
MOTOMCO LIMITED                     PO BOX 8421                                          MADISON             WI           8421                     Vendor Terms Agreement
                                                                                                                          28027-
MOTORSPORTS AUTHENTIC               6301 PERFORMANCE DRIVE                               CONCORD             NC           0000                     Vendor Terms Agreement
MOUNTAIN CORPORATION                59 OPTICAL AVENUE                                    KEENE               NH           03431                    Vendor Terms Agreement
Mountain Top Lawn Care Inc.         1095 Homerun                                         Chubbuck            ID           83202                    Lawn Care ST063
MOUNTAIN WEST LLC                   7343 W 111TH STREET                                  WORTH               IL           60482                    Vendor Terms Agreement
MOXIE APPAREL LLC                   145 E 27TH STREET SUITE 11G                          NEW YORK            NY           10016                    Vendor Terms Agreement
Moxie Group                         8005 Main Street                Suite #15            Dexter              MI           48130                    Sow #4 Amendment                                             7/1/2019
                                                                                                                                                   Master Services Agreement
Moxie Group                         8005 Main Street Suite #15                           Dexter              MI           48130                    03/03/2016                               3/3/2016
Moxie Group                         8005 Main Street Suite #15                           Dexter              MI           48130                    SOW #4                                                       7/1/2019
Moxie Group                         8005 Main Street Suite #15                           Dexter              MI           48130                    SOW #4 Amendment                                             7/1/2019

Moxie Group                         8005 Main Street Suite #15                           Dexter              MI           48130                    SOW #5 Retained Services                                     2/1/2020
Moxie Group Inc.                    8005 Main Street                Suite #15            Dexter              MI           48130                    Sow #4
Moxie Group Inc.                    8005 Main Street                Suite #15            Dexter              MI           48130                    SOW #4
MR BAR B Q INCORPORATED             445 WINDING ROAD                                     BETHPAGE            NY           11804                    Vendor Terms Agreement
                                                                                                                          11747-
MR BAR B Q PRODUCTS LLC             10 HUB DRIVE SUITE 110                               MELVILLE            NY           0000                     Vendor Terms Agreement
Mr. D's Landscaping                 547 N. Island Ave                                    Freeport            IL           61032                    Lawn Care ST125
Mr. Leslie K. Halbert               13356 Metcalf Avenue                                 Overland Park       KS           66213                    Lease                                   8/31/1988           8/31/2028

Mr. Leslie K. Halbert               1903 NORTH BUCKEYE AVENUE                            ABILENE             KS           67410                    Operating Lease                         8/31/1988           8/31/2028              N/A
                                    c/o GRM Realty Corp. 5130
MRG, Ltd./Marshall Hess             Westminster Place Apt. 2                             Pittsburgh          PA           15232                    Lease                                   7/14/1994           8/31/2023
MRG, Ltd./Marshall Hess             1995 SOUTH CEDAR                                     IMLAY CITY          MI           48444                    Operating Lease                         7/14/1994           8/31/2023              N/A




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             Contract Counterparty                     Address1                    Address2                City          State   Postal Code Country        Debtor's Interest              Lease           Remaining Term          Government Contract
                                             1560 E MORELAND BLVD, SUITE                                                         53186-
MS APPAREL                                   C1                                                  WAUKESHA           WI           0000                  Vendor Terms Agreement
                                                                                                                                 90058-
MS BUBBLES                                   2731 S ALAMEDA                                      LOS ANGELES        CA           1311                  Vendor Terms Agreement
MSA TRADING DBA MMG BRANDS                   13636 VENTURA BLVD #177                             SHERMAN OAKS       CA           91423                 Vendor Terms Agreement
MSC INTERNATIONAL                            6700 THIMENS                                        ST LAURENT         QC           H4S 1S5    Canada     Vendor Terms Agreement
                                                                                                                                 54904-
MSD CONSUMER CARE INC                        935 MARICOPA DRIVE                                  OSHKOSH            WI           0000                  Vendor Terms Agreement
                                                                                                                                 48170-
MULTI GLORY USA CORPORATION                  11345 FELLOW CREEK DR                               PLYMOUTH           MI           0000                  Vendor Terms Agreement
MULTIPET INTERNATIONAL INC                   265 W COMMERCIAL AVENUE                             MOONACHIE          NJ           07074                 Vendor Terms Agreement
                                                                                                                                 91406-
MUNCHKIN INC                                 7835 GLORIA AVENUE                                  VAN NUYS           CA           0000                  Vendor Terms Agreement
MVP PLASTICS INC                             15005 ENTERPRISE WAY                                MIDDLEFIELD        OH           44062                 Vendor Terms Agreement
MY FAVORITE COMPANY INC                      616 HUNTLEY DRIVE #1                                LOS ANGELES        CA           90069                 Vendor Terms Agreement
MY MICHELLE                                  PO BOX 14374                                        ST LOUIS           MO           63178                 Vendor Terms Agreement
MY PILLOW INC                                343 E 82ND ST SUITE 100                             CHASKA             MN           55318                 Vendor Terms Agreement
MY SPA LIFE LLC                              967 HAZELWOOD AVE                                   RAHWAY             NJ           07065                 Vendor Terms Agreement
                                                                                                                                                       Provide Wedding Registry
MyRegistry LLC                               2050 Center Ave                                     Fort Lee           NJ           07024                 for shopco.com                          12/1/2014           10 months
MYSTIC APPAREL LLC                           20 WEST 33RD STREET                                 NEW YORK           NY           10018                 Vendor Terms Agreement
                                             29 76 NORTHERN BOULEVARD
MZ BERGER & NELSONIC INDUSTRIES              4TH FLOOR                                           LONG ISLAND CITY   NY           11101                 Vendor Terms Agreement

MZB ACCESSORIES                              29 76 NORTHERN BOULEVARD                            LONG ISLAND CITY   NY           11101                 Vendor Terms Agreement
N & K Investment Co./Noddle Companies        2285 S 67th Street Ste. 250                         Omaha              NE           68124                 Lease                                   3/19/1974          11/30/2022
N & K Investment Co./Noddle Companies        1533 BURLINGTON STREET                              HOLDREGE           NE           68949                 Operating Lease                         3/19/1974          11/30/2022              N/A
N I I NORTHERN INTERNATIONAL INC             101 1 BURBIDGE STREET                               COQUITLAM          BC           V3K 7B2   Canada      Vendor Terms Agreement
N T D APPAREL INCORPORATED                   700 MCCAFFREY                                       MONTREAL           QC           H4T 1N1   Canada      Vendor Terms Agreement
N.C.G. Inc                                   216 S. MILITARY AVE.                                GREEN BAY          WI           54303                 Sublease                                2/26/2018           1/31/2026              N/A
                                                                                                                                                       Check Optical Medicare
NABP DMEPOS                                  1600 Feehanville Dr                                 Mount Prospect     IL           60056                 Pieces

NAFECS LIMITED                               38 KWAI HEI STREET                                  KWAI CHUNG         NT                     Hong Kong Vendor Terms Agreement
NAKOMA PRODUCTS LLC                          1300 NORTH AVENUE                                   COAL CITY          IL           60416               Vendor Terms Agreement
NALA BARRY LABS                              1175 EARLHAM COURT                                  OAK PARK           CA           91377               Vendor Terms Agreement
NANCE CARPET & RUG COMPANY INC               201 NANCE ROAD NE                                   CALHOUN            GA           30701               Vendor Terms Agreement
NASSAU CANDY                                 530 WEST JOHN STREET                                HICKSVILLE         NY           11801               Vendor Terms Agreement
NATALIA MARKETING CORPORATION                170 HIGH STREET                                     WALTHAM            MA           02453               Vendor Terms Agreement
NATCO PRODUCTS CORPORATION                   155 BROOKSIDE AVENUE                                WEST WARWICK       RI           02893               Vendor Terms Agreement
NATERRA INTERNATIONAL INCORPORAT             1250 FREEPORT PARKWAY                               COPPELL            TX           75019               Vendor Terms Agreement
National Association of Chain Drug Stores    1776 Wilson Blvd Suite 200                          Arlington          VA           22209               Trade Association
NATIONAL EXPRESS, INC.                       2 MORGAN AVENUE                                     NORWALK            CT           06851               Vendor Terms Agreement
                                                                                                                                                     Agreement for Data
National Health Information Network, Inc.                                                                                                            Processing Services and all
(formerly knowns as Landmark Data, Inc.)     101 Jim Wright Freeway South   Suite 200            Fort Worth         TX           76108               Amendments                                4/14/1993
                                                                                                                                 54703-
NATIONAL PRESTO INDUSTRIES INCOR             3925 N HASTINGS WAY                                 EAU CLAIR          WI           3703                  Vendor Terms Agreement
                                                                                                                                                       L00113 LACEY WA Incentive
                                                                                                                                                       to give consent for
National Retail Properties                   5500 Martin Way E                                   Lacey              WA           98516                 Burlington store                        11/1/2014           1/31/2027              N/A
National Retail Properties, LP               450 S Orange Ave, Suite 900                         Orlando            FL           32801                 Lease                                   2/11/2015          11/30/2029
National Retail Properties, LP               450 S Orange Ave, Suite 900                         Orlando            FL           32801                 Lease                                   2/11/2015          11/30/2029
                                             450 S Orange Ave, Suite 900
National Retail Properties, LP               Orlando FL 32801                                    Orlando            FL           32801                 Lease                                   2/11/2015          11/30/2029
National Retail Properties, LP               1710 S. MAIN ST.                                    WEST BEND          WI           53095                 Operating Lease                         2/11/2015          11/30/2029              N/A
National Retail Properties, LP               4060 RIVERDALE ROAD                                 RIVERDALE          UT           84405                 Operating Lease                         2/11/2015          11/30/2029              N/A
NATIONAL TREE COMPANY                        2 COMMERCE DRIVE                                    CRANFORD           NJ           07016                 Vendor Terms Agreement
NATPETS LLC                                  2108 55TH STREET STE 100                            BOULDER            CO           80301                 Vendor Terms Agreement
NATROL LLC                                   21411 PRAIRIE STREET                                CHATSWORTH         CA           91311                 Vendor Terms Agreement
                                             1 CITY BOULEVARD WEST STE                                                           92868-
NATURADE                                     1440                                                ORANGE             CA           0000                  Vendor Terms Agreement
NATURAL BEAUTY GROWERS                       PO BOX 790                                          DENMARK            WI           54208                 Vendor Terms Agreement




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                                                                                                                                                  Description of Contract or
                                                                                                                                                    Lease and Nature of        Date of Contract or                           List Contract Number of Any
              Contract Counterparty                      Address1            Address2              City         State   Postal Code    Country        Debtor's Interest              Lease           Remaining Term              Government Contract
                                              9999 BELLAIR BOULEVARD STE
NATURES MARK LLC                              908                                       HOUSTON            TX           77036                    Vendor Terms Agreement
NATURES PILLOWS INCORPORATED                  2607 INTERPLEX DRIVE                      TRENOSE            PA           19053                    Vendor Terms Agreement
                                                                                                                                                 customer service answering
Navex (The Network)                           333 Research Court                        Norcross           GA           30092                    service

Navexglobal                                   5500 Meadows Road, Suite 500              Lake Oswego        OR           97035
                                                                                                                        11223-
NCC HONG KONG LIMITED                         1840 MCDONALD AVE                         BROOKLYN           NY           0000                     Vendor Terms Agreement
NCC NY LLC                                    1840 MCDONALD AVE                         BROOKLYN           NY           11223                    Vendor Terms Agreement
NE BRANDS LLC                                 214 WEST 39TH STREET 403                  NEW YORK           NY           10018                    Vendor Terms Agreement

NEAT OH INTERNATIONAL LLC                     790 FRONTAGE ROAD SUITE 303               NORTHFIELD         IL           60093                    Vendor Terms Agreement
NEB Furst, LLC                                100 Canyon Creek                          Irvine             CA           92603                    Lease                                    6/9/2015           11/30/2034
NEB Furst, LLC                                510 EAST PHILIP AVE.                      NORTH PLATTE       NE           69101                    Operating Lease                          6/9/2015           11/30/2034                 N/A
NECA                                          603 SWEETLAND AVENUE                      HILLSIDE           NJ           07205                    Vendor Terms Agreement
                                                                                                                        02151-
NECCO                                         135 AMERICAN LEGION HIGHWAY               REVERE             MA           2405                     Vendor Terms Agreement

NEENAH PAPER                                  3460 PRESTONRIDGE RD STE 600              ALPHERETTA         GA           30005                    Vendor Terms Agreement
NEIL KRAVITZ GROUP SALES INCORPO              821 MELBOURNE AVENUE                      CINCINNATI         OH           45229                    Vendor Terms Agreement
NEILMED PHARMACEUTICALS                       601 AVIATION BOULEVARD                    SANTA ROSA         CA           95403                    Vendor Terms Agreement
                                                                                                                        60173-                                                                       90 days prior written
Neilson Company                               150 N. Martingale Road                    Schaumburg         IL           2076                     Master License Agreement                1/23/2007                  notice
NELAN & WONG LLC                              1981 PINE HALL ROAD                       STATE COLLEGE      PA           16801                    Vendor Terms Agreement
NEMCOR INCORPORATED                           501 FRANKLIN BOULEVARD                    CAMBRIDGE          ON           N1R 8G9       Canada     Vendor Terms Agreement
                                                                                                                        80239-
NEOTERIC COSMETICS INCORPORATED               4880 HAVANA ST #400                       DENVER             CO           0000                     Vendor Terms Agreement
                                              10 WEST 33RD STREET 9TH
NES JEWELRY INCORPORATED                      FLOOR                                     NEW YORK           NY           10001                    Vendor Terms Agreement
                                                                                                                                                 Front-end Checkout Space
Nestle                                        1812 N. Moore St.                         Arlington          VA           22209                    Agreement                                7/1/2018             6/30/2019
NESTLE USA INCORPORATED                       800 N BRAND AVENUE                        GLENDALE           CA           91203                    Vendor Terms Agreement
                                                                                        KOWLOON BAY
NEW BRIGHT INDUSTRIES                         9F NEW BRIGHT BUILDING                    KOWLOON                                       Hong Kong Vendor Terms Agreement
                                                                                        HUNGHOM
NEW EVERGREEN TREE FACTORY LTD                1HOK CHEUNG STREET                        KOWLOON                                       Hong Kong Vendor Terms Agreement
                                                                                                                        16509-
NEW FRONTIER MARKETING OF WNY                 5282 CRABAPPLE DRIVE                      ERIE               PA           0000                     Vendor Terms Agreement
New Hampton Harvester Holdings, LLC           1515 W. Maple Avenue                      Red Wing           MN           55066                    Lease                                    6/6/1995             2/29/2024

New Hampton Harvester Holdings, LLC           660 WEST MILWAUKEE STREET                 NEW HAMPTON        IA           50659                    Operating Lease                          6/6/1995             2/29/2024                N/A
NEW MILANI GROUP INC                          2111 E 49TH STREET                        LOS ANGELES        CA           90058                    Vendor Terms Agreement
New Relic                                     188 Spear St. Suite 1200                  San Francisco      CA           94105                    Master Terms                            11/1/2017
New Relic                                     188 Spear St. Suite 1200                  San Francisco      CA           94105                    Annual Renewal                                                3/25/2019
                                              311 EAST BALTIMORE AVE 3RD
NEW VIEW GIFTS & ACCESSORIES                  FLOOR                                     MEDIA              PA           19063                    Vendor Terms Agreement
NEW WORLD SALES                               207 UNION ST                              HACKENSACK         NJ           07601                    Vendor Terms Agreement
NEW YORK ACCESSORY GROUP INC                  411 5TH AVENUE 4TH FLOOR                  NEW YORK           NY           10016                    Vendor Terms Agreement

                                                                                                                                                 Addendum to Wireless
                                                                                                                                                 Telecommunications Service
New-Cell                                      1580 Mid-Valley Drive                     DePere             WI           54115                    Agreement July 17, 2018                  8/1/2014             7/31/2020         Account 00154040
                                                                                                                        37027-
NEWHALL LABORATORIES                          9222 FOXBORO DRIVE                        BRENTWOOD          TN           0000                     Vendor Terms Agreement

NEWPORT LAYTON HOME FASHIONS                  8515 N COLUMBIA BOULEVARD                 PORTLAND           OR           97203                    Vendor Terms Agreement

News Group                                    1701 Rankin                               Missoula           MT           59808                    Checkout Pocket Payments
                                              UNITS 808 809 8F PENINSULA                TSIMSHATSUI EAST
NEWTOYS HK LIMITED                            CENTRE                                    KOWLOON                                       Hong Kong Vendor Terms Agreement

Next Generation Properties of Nebraska, LLC   1805 Zenith Drive                         Sioux City         IA           51103                    Lease                                   3/18/2016             8/31/2021




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            Contract Counterparty                        Address1                     Address2                 City         State   Postal Code    Country        Debtor's Interest              Lease           Remaining Term          Government Contract

Next Generation Properties of Nebraska, LLC   2402 CENTRAL AVE.                                     ESTHERVILLE        IA           51334                    Operating Lease                         3/18/2016           8/31/2021              N/A
Next View                                     1401 N Batavia                   Suite 104            Orange             CA           92867                    Dc Software
                                                                                                                                                             Software License
Nextview Software, Inc.                       1401 North Batavia               Suite 104            Orange             CA           92867                    Agreement - 7/25/2011                   7/25/2011           8/13/2019
Nextview Software, Inc.                       1401 North Batavia               Suite 104            Orange             CA           92867                    Software Maintenance                                        8/13/2019

NGINX                                         85 Federal Street                                     San Francisco      CA           94107                    NGINX Plus License support               2/1/2017
NICE PAK PRODUCTS INCORPORATED                2 NICE PAK PARK                                       ORANGEBURG         NY           10962                    Vendor Terms Agreement
Nicklaus Inc                                  3428 Collins Road                                     Chilton            WI           53014                    Lawn Care ST608
Nicmeyer, Inc.                                2826 Marleone Point                                   St. John           ND           58369                    Lease                                   2/20/1992           3/31/2021
Nicmeyer, Inc.                                602 MAIN AVENUE WEST                                  ROLLA              ND           58367                    Operating Lease                         2/20/1992           3/31/2021              N/A
NICOLAS HOLIDAY INCORPORATED                  9F NO 37 GUANGFU N ROAD                               TAIPEI                                        TAIWAN     Vendor Terms Agreement
NIFTY HOME PRODUCTS INC                       920 WALNUT AVENUE                                     MADISON LAKE       MN           56063                    Vendor Terms Agreement
NIKE INCORPORATED                             550 N RUSH STREET                                     CHICAGO            IL           60611                    Vendor Terms Agreement
NINETEEN TWENTY EIGHT JEWELRY CO              3000 W EMPIRE AVENUE                                  BURBANK            CA           91504                    Vendor Terms Agreement
NINGBO MERRYART GLOW TECH CO LTD              NO 8 LIXIN ROAD                                       NINGBO                                        CHINA      Vendor Terms Agreement
                                              COLLEGE HOUSE 272 KINGS                                                                             United
NIP + FAB                                     ROAD, CHELSEA                                         LONDON                          SW35AW        Kingdom    Vendor Terms Agreement
                                                                                                                                                             Nissan Car agreement -
Nissan North America Inc.                     PO BOX 685001                                         Franklin           TN           37068                    Incentives                              7/16/2018
                                                                                                                                                             Nissan Car agreement -
Nissan North America Inc.                     PO BOX 685001                                         Franklin           TN           37068                    Incentives                              1/29/2018
NISSIN FOODS USA CO INC                       2001 W ROSECRANS AVE                                  GARDENA            CA           90249                    Vendor Terms Agreement
NITE IZE INCORPORATED                         5660 CENTRAL AVENUE                                   BOULDER            CA           80301                    Vendor Terms Agreement
NITRO GOLF LLC                                PO BOX 563                                            MILWAUKEE          WI           53201                    Vendor Terms Agreement
NK Waste Inc                                  106 N Macomb St                                       Valentine          NE           69201                    Lawn Care ST523
                                              c/o Comvest Properties LLC 286
NLD Hardin, LLC                               Beauvoir Road Suite 200                               Biloxi             MS           39531                    Lease                                 12/24/2014            9/30/2030
NLD Hardin, LLC                               1001 N. CENTER AVENUE                                 HARDIN             MT           59034                    Operating Lease                       12/24/2014            9/30/2030              N/A
No Lawn Left Behind                           12813 K Dr                                            Perry              IA           50220                    Lawn Care ST680
Noah's Lawn Care                              5206 E 17th St                                        Sioux Falls        SD           57110                    Lawn Care ST101
NOETIC INCORPORATED                           3111 19TH STREET NW                                   ROCHESTER          MN           55901                    Vendor Terms Agreement
NOLAN GLOVE COMPANY                           22 WEST 38TH STREET                                   NEW YORK           NY           10018                    Vendor Terms Agreement
NOLAN ORIGINALS                               2111 W WALNUT HILL LANE                               IRVING             TX           75038                    Vendor Terms Agreement
                                                                                                                                    74115-
NONNIS FOOD INCORPORATED                      20 E 5TH STREET                                       TULSA              OK           0000                     Vendor Terms Agreement
NORDIC WARE                                   5005 HWY 7                                            MINNEAPOLIS        MN           55416                    Vendor Terms Agreement
NORMARK                                       10395 YELLOW CIRCLE DRIVE                             MINNETONKA         MN           55343                    Vendor Terms Agreement

NORPRO                                        2215 MERRILL CREEK PARKWAY                            EVERETT            WA           98203                    Vendor Terms Agreement
                                              9900 WEST 109TH STREET SUITE
NORTH AMERICAN SALT COMPANY                   600                                                   OVERLAND PARK      KS           66210                    Vendor Terms Agreement
NORTH BAY APPAREL LIMITED                     350 FIFTH AVENUE                                      NEW YORK           NY           10118                    Vendor Terms Agreement
                                              188 SUMMERFIELD STREET 2ND
NORTH FORK SALES                              FLOOR                                                 SCARSDALE          NY           10583                    Vendor Terms Agreement
North Lincoln County Hospital District        901 Adams Street                                      Afton              WY           83110                    340B Contract                            6/7/2018
NORTH RIVER APPAREL INCORPORATED              18701 ARENTH AVENUE                                   CITY OF INDUSTRY   CA           91748                    Vendor Terms Agreement
                                                                                                                                    55449-
NORTH STATES INDUSTRIES INCORPOR              1507 92ND LANE NE #210                                BLAINE             MN           4334                     Vendor Terms Agreement
NORTHERN FAMILY FARMS LLP                     W10757 JEFFREY ROAD                                   MERRILLAN          WI           54754                    Vendor Terms Agreement
NORTHLAND FISHING TACKLE                      1001 NAYLOR DR SE                                     BEMIDJI            MN           56601                    Vendor Terms Agreement
NORTHPEAK INTERNATIONAL                       8300 COTE DE LIESSE STE 210                           ST LAURENT         QC           H4T 1G7       Canada     Vendor Terms Agreement
                                                                                                                                    11576-
NORTHWEST COMPANY                             49 BRYANT AVENUE                                      ROSLYN             NY           1123                     Vendor Terms Agreement
Northwest Medical Center Association, Inc.    705 N. College                                        Albany             MO           64402                    340B Contract                          2/23/2018
Norton Area Development LLC/John Mapes        418 E Holmes                                          Norton             KS           67654                    Lease                                 11/29/1982            7/31/2020
Norton Area Development LLC/John Mapes        505 W. HOLME ST.                                      NORTON             KS           67654                    Capital Lease                         11/29/1982            7/31/2020              N/A
Norton County Hospital                        102 E. Holme                                          Norton             KS           67654                    340B Contract                          6/14/2018            12/5/2018
NOTATIONS INCORPORATED                        539 JACKSONVILLE ROAD                                 WARMINSTER         PA           18974                    Vendor Terms Agreement
                                                                                                                                    49507-
NOTIONS MARKETING                             1500 BUCHANAN AVENUE SW                               GRAND RAPIDS       MI           1613                     Vendor Terms Agreement
NOURISON INDUSTRIES INC                       5 SAMPSON STREET                                      SADDLE BROOK       NJ           07663                    Vendor Terms Agreement
Nouveau Eyewear                               2853 Eishehower                                       Carrollton         TX           75007                    Optical Frames




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             Contract Counterparty                 Address1                    Address2             City           State   Postal Code    Country        Debtor's Interest                 Lease              Remaining Term             Government Contract

NOUVEAU EYEWEAR                         2853 EISENHOWER STREET 100                          CARROLLTON        TX           75007                    Vendor Terms Agreement
                                                                                                                           75007-
NOUVEAU EYEWEAR                         2853 ELSENHOWER STREET                              CARROLLTON        TX           0000                     Vendor Terms Agreement
                                        445 STATE ST ATTN CUST                                                             49412-
NOVARTIS CONSUMER HEALTH INCORPO        FINANCIAL SERVIC                                    FREMONT           MI           0000                     Vendor Terms Agreement
NOVELTY TRADING CORPORATION             10 F/L NO 200 SEC 1                                 TAIPEI                                       TAIWAN     Vendor Terms Agreement
                                                                                                                                                    Msa For Trade Promotional
Novo Nordisc                            800 Scudders Mill Rd                                Plainsboro        NJ           08536                    Funds                                       8/1/2015
                                                                                                                           11050-                   Retailer Participation
NPD Group                               900 West Shore Road                                 Port Washington   NY           0402                     Agreement                                   5/4/1998

                                                                                                                                                    Purchase of consumer data
                                                                                                                                                    and reporting for market
                                                                                                                                                    analysis for delivery in July
                                                                                                                                                    2018 and November 2018.
NPD Group                               900 West Shore Road                                 Port Washington   NY           11050                    No auto renew.                             6/19/2018                   Expired
                                                                                                                           11050-                   Retailer Participation                                    Automatically renew
NPD Group                               900 West Shore Road                                 Port Washington   NY           0402                     Agreement                                   5/4/1998                    yearly
                                        1101 SAINT GREGORY STREET STE
NPW USA INC                             200-202                                             CINCINNATI        OH           45202                    Vendor Terms Agreement
                                                                                                                                                                                                             90 day written notice
                                                                                                                                                    Print Media Management                                  (current contract ends
NSA Media Group, Inc                    3025 Highland Parkway                               Downers Grove     IL           60515                    (Newspaper Distribution)                    8/1/2017               7/31/2020)
                                                                                                                           10001-
NSI INTERNATIONAL                       12 W 27TH ST FLOOR 5                                NEW YORK          NY           6903                     Vendor Terms Agreement
                                        RJ CASEY IND PARK COLUMBUS
NTA ENTERPRISE INC                      AVE                                                 PITTSBURGH        PA           15233                    Vendor Terms Agreement
NUK USA                                 728 BOOSTER BOULEVARD                               REEDSBURG         WI           53959                    Vendor Terms Agreement

NURTURE INCORPORATED                    139 FULTON STREET SUITE 907                         NEW YORK          NY           10038                    Vendor Terms Agreement
NUTCRACKER BRANDS INCORPORATED          ROUTE 422 AND HILL ROAD                             WOMELSDORF        PA           19567                    Vendor Terms Agreement
NVE PHARMACEUTICALS                     15 WHITEHALL ROAD                                   ANDOVER           NJ           07821                    Vendor Terms Agreement
NY STYLE                                230 COMMERCIAL CT                                   PLAINVIEW         NY           11803                    Vendor Terms Agreement

NYC ALLIANCE                            1411 BROADWAY 15TH FLOOR                            NEW YORK          NY           10018                    Vendor Terms Agreement

                                                                                                                                                    Independent Contractor
                                                                                                                                                    Agreement and Addendum
NYK Logistics ( Americas ). Inc.        300 Lighting Way                                    Secausus          NJ           07094                    A-1 - 5/17/2006                            5/17/2006               3/31/2019
                                                                                                                                                    Software Subscription -
NYK Logistics ( Americas ). Inc.        300 Lighting Way                                    Secausus          NJ           07094                    Addendum 9                                                         3/31/2019

O BRYAN BROTHERS INCORPORATED           180 MADISON AVENUE SUITE 902                        NEW YORK          NY           10016                    Vendor Terms Agreement
O CONNOR COMPANIES LLC                  8089 E VIA DEL ARBOR                                SCOTTSDALE        AZ           85258                    Vendor Terms Agreement
                                                                                                                                                                                            T&Cs that are
                                                                                                                                                                                            automatically
                                                                                                                                                                                    accepted once an IO is
                                                                                                                                                                                      accepted within our n/a - can stop orders at
Oath Americas (Yahoo Display)           14010 FNB Parkway                                   Omaha             NE           68154                    Yahoo Display Ads                            systems                 any time
OB INVESTORS LLC                        2509 Pioneer Road                                   Evanston          IL           60201                    Lease                                     12/15/2014              12/31/2035
OB INVESTORS LLC                        320 S. ACCESS ROAD                                  RICE LAKE         WI           54868                    Operating Lease                           12/15/2014              12/31/2035                N/A
OBERTO SNACKS INC                       7060 OBERTO DRIVE                                   KENT              WA           98032                    Vendor Terms Agreement
                                                                                                                                         HONG
OCCASIONS LIMITED                       818 CHEUNG SHA WON ROAD                             KOWLOON                                      KONG       Vendor Terms Agreement
Ocean Network Express (ONE)             377 E. Butterfield Rd.          Ste. 500            Lombard           IL           60148                    Ocean carrier                               6/1/2018               5/31/2019
Ocean Overseas Container Line (OOCL)    801 Warrenville Rd.             Ste. 300            Lisle             IL           60532                    Ocean carrier                               6/1/2018               5/31/2019
Office DePot                            6600 North Military Trail                           Boca Raton        FL           33496                    office supplies
OFFICE DEPOT INC                        6600 NORTH MILITARY TRAIL                           BOCA RATON        FL           33496                    Vendor Terms Agreement
                                                                                                                           60675-
OFFICE MAX CONTRACT INCORPORATED        75 REMITTANCE DRIVE STE 2698                        CHICAGO           IL           2698                     Vendor Terms Agreement
OFFICE MAX INCORPORATED                 263 SHUMAN DRIVE                                    NAPERVILLE        IL           60563                    Vendor Terms Agreement
OFFICE STAR PRODUCTS                    PO BOX 3520                                         ONTARIO           CA           91761                    Vendor Terms Agreement
OHIO ART COMPANY                        ONE TOY STREET                                      BRYAN             OH           43506                    Vendor Terms Agreement




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         Contract Counterparty                        Address1                      Address2                   City       State    Postal Code    Country        Debtor's Interest                Lease           Remaining Term          Government Contract
OHIO WHOLESALE INCORPORATED                 5180 GREENWICH ROAD                                      SEVILLE            OH         44273                    Vendor Terms Agreement
                                                                                                                                   08543-
OHM LABORATORIES INC                        600 COLLEGE ROAD EAST                                    PRINCETON          NJ         7587                     Vendor Terms Agreement
OLD DOMINION PEANUT CORPORATION             208 WEST 24TH STREET                                     NORFOLK            VA         23517                    Vendor Terms Agreement
OLD DUTCH FOODS INCORPORATED                2375 TERMINAL ROAD                                       ST PAUL            MN         55113                    Vendor Terms Agreement
                                                                                                                                   06417-
OLD LYME GOURMET                            16 GROVE ST                                              DEEP RIVER         CT         0000                     Vendor Terms Agreement
OLD MOUNTAIN LLC                            3278 COUNTY ROAD 19                                      ARCHBOLD           OH         43502                    Vendor Terms Agreement
OLD TRAPPER SMOKED PRODUCTS INC             4071 24TH AVENUE                                         FOREST GROVE       OR         97116                    Vendor Terms Agreement
OLD WISCONSIN SAUSAGE COMPANY               4036 WEEDEN CREEK ROAD                                   SHEBOYGAN          WI         53081                    Vendor Terms Agreement
                                                                                                                                   60062-
OLD WORLD INDUSTRIES LLC                    4065 COMMERCIAL AVENUE                                   NORTH BROOKE       IL         1828                     Vendor Terms Agreement
                                                                                                                                   30328-
OLDCASTLE LAWN & GARDEN                     THREE GLENLAKEPARKWAY                                    ATLANTA            GA         0000                     Vendor Terms Agreement
                                                                                                                                   93030-
OLDE THOMPSON                               3250 CAMINO DEL SOL                                      OXNARD             CA         8998                     Vendor Terms Agreement
OLH, LLC.                                   1212 S Koeller St.                                       OSHKOSH            WI         54902                    Operating Lease                           1/11/2019           1/10/2024              N/A
Olinger Family Trust                        1136 Merritt Lane                                        El Cajon           CA         92020                    Lease                                      5/3/1999          10/21/2019
Olinger Family Trust                        413 W HURON STREET                                       MISSOURI VALLEY    IA         51555                    Operating Lease                            5/3/1999          10/31/2019              N/A
OLIVET INTERNATIONAL INCORPORATE            11015 HOPKINS STREET                                     MIRA LOMA          CA         91752                    Vendor Terms Agreement
OLIVIA MILLER INCORPORATED                  330 5TH AVENUE SUITE 306                                 NEW YORK           NY         10001                    Vendor Terms Agreement

OLLY PUBLIC BENEFIT CORP                    1169 GORGAS AVENUE SUITE A                               SAN FRANCISCO      CA         94129                    Vendor Terms Agreement
Olmsted Medical Center                      1650 4th Street SE                                       Rochester          MN         55904                    340B Contract                             6/28/2018            1/8/2019
OLYMPIA INTERNATIONAL INC                   19600 S VERMONT AVENUE                                   TORRANCE           CA         90502                    Vendor Terms Agreement
OLYMPIC MOUNTAIN PRODUCTS                   8655 S 208TH STREET                                      KENT               WA         98031                    Vendor Terms Agreement
                                                                                                                                   53224-
OLYMPUS FLAG & BANNER                       9000 W HEATHER AVENUE                                    MILWAUKEE          WI         0000                     Vendor Terms Agreement
OMEGA PAW INCORPORATED                      275 VICTORIA STREET                                      ST MARYS           ON         N4X 1A2       Canada     Vendor Terms Agreement
                                                                                                                                                            Software License
                                                                                                                                                            Agreement and all
OmniCell (formerly ATEB)                    11125 Forest Pines Drive                                 Raleigh            NC         27614                    Amendments                                9/27/2002          12/31/2019

                                                                                                                                                            Patient Messaging Insertion
OmniCell (formerly ATEB)                    11125 Forest Pines Drive                                 Raleigh            NC         27614                    Order and all Amendments                   4/1/2015           8/31/2020

ON CORP US INCORPORATED                     10920 VIA FRONTERA SUITE 540                             SAN DIEGO          CA         92127                    Vendor Terms Agreement
On the Move Lawn Care                       Scott Wynalda                    5522 South Centerline   Newaygo            MI         49337                    Lawn Care ST643
Onawa-Pam Limited Partnership/Ronald
Christenson*                                527 Marquette Ave #1915                                  Minneapolis        MN         55402                    Lease                                      5/1/1995            2/6/2023
Onawa-Pam Limited Partnership/Ronald
Christenson*                                2220 HWY 175 WEST                                        ONAWA              IA         51040                    Operating Lease                            5/1/1995           2/28/2023              N/A
ONE JEANSWEAR GROUP INC                     111 W 40TH 22ND FLOOR                                    NEW YORK           NY         10018                    Vendor Terms Agreement
                                            6301 NORTHCREST PLACE APT 14
ONE SEVEN ONE FIVE SEVEN ZERO CA            TU                                                       MONTREAL           QC         H3S2W4        Canada     Vendor Terms Agreement
ONE STEP UP                                 1412 BROADWAY 3RD FLOOR                                  NEW YORK           NY         10018                    Vendor Terms Agreement
ONE WORLD APPAREL LLC                       13071 TEMPLE AVE                                         CITY OF INDUSTRY   CA         91746                    Vendor Terms Agreement



                                                                                                                                                            Master program agreement
                                                                                                                                                            between Towers Watson
                                                                                                                                                            Delaware Inc and Shopko.
                                                                                                                                                            This master agreement
                                                                                                                                                            delivers access for benefits-
                                                                                                                                                            eligible employee and
                                                                                                                                                            member populations to a
                                                                                                                                                            private Exchange program
                                                                                                                                                            to include services outlined
                                                                                                                                                            in Scope of Service one
                                                                                                                                                            noted the enrollment portal
OneExchange Group Exchange Master Program 400 North Executive Drive, Suite                                                                                  used Via Benefits which is a
Agreement (Liazon)                        300                                                        Brookfield         WI         53005                    Liazon platform                            1/1/2017          12/31/2019
ONTEL PRODUCTS CORPORATION                21 LAW DRIVE                                               FAIRFIELD          NJ         07004                    Vendor Terms Agreement




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                                                                                                                                          Description of Contract or
                                                                                                                                            Lease and Nature of          Date of Contract or                       List Contract Number of Any
          Contract Counterparty             Address1                 Address2             City           State   Postal Code   Country        Debtor's Interest                Lease           Remaining Term          Government Contract
ONYX DESIGN GROUP                  65 MEMORIAL ROAD STE 320                        WEST HARTFORD    CT           06107                   Vendor Terms Agreement
                                                                                                                 85260-
OOH SNAP NUTRITION                 14301 N 87TH ST STE 3+02                        SCOTTSDALE       AZ           0000                    Vendor Terms Agreement
                                                                                                                                         End User License
Open Text                          4835 E. Cactus Rd          Suite 445            Scottsdale       AZ           85254                   Agreement - Fax Press                      5/2/2016
                                                                                                                 75024-
OPI PRODUCTS INCORPORATED          5100 LEGACY DRIVE                               PLANO            TX           0000                    Vendor Terms Agreement

                                                                                                                                         L00562 STANLEY ND
                                                                                                                                         Construction delay Sec 3.5
Oppidan                            702 Westview Lane                               Stanley          ND           58784                   (Obligation Completed)                    12/1/2015          11/30/2030              N/A
Optilegra                          PO Box 91437                                    Sioux Falls      SD           57109                   Optical Insurance Plan
                                                                                                                                         License Agreement and all
Optitacts                          318 Riverside Avenue S     Suite 100            Sartell          MN           56377                   Amendments                                 6/1/2009
Optum Bank                         PO Box 30516                                    Salt Lake City   UT           84130                   DC Insurance
                                                                                                                                         Master Agreement for
                                                                                                                                         Oracle Planning and
                                                                                                                                         Budgeting Cloud Services -
Oracle                             500 Oracle Parkway                              Redwood Shores   CA           94065                   04/20/2016 - 80 Seats                     4/20/2016
                                                                                                                                         Order Doc - 09/29/2017 -
                                                                                                                                         40 additional seats for
                                                                                                                                         Oracle Planning and
Oracle                             500 Oracle Parkway                              Redwood Shores   CA           94065                   Budgeting Cloud Services                                      4/21/2019
                                                                                                                                         Renewal 04/27/2017 of 120
                                                                                                                                         Oracle Planning and
                                                                                                                                         Budgeting Cloud Services
Oracle                             500 Oracle Parkway                              Redwood Shores   CA           94065                   seats                                                         4/21/2019

                                                                                                                                         Software License Ageement -
                                                                                                                                         Hyperion Essbase - 85 seats -
                                                                                                                                         06/30/2003 - Origianly
                                                                                                                                         purchased directly from
                                                                                                                                         Hyperion Contract #
Oracle                             500 Oracle Parkway                              Redwood Shores   CA           94065                   4370373 CSI#17557111                      6/30/2003
                                                                                                                                         Amendment A to Software
                                                                                                                                         License Ageement -
                                                                                                                                         Hyperion Essbase -
Oracle                             500 Oracle Parkway                              Redwood Shores   CA           94065                   06/30/2003                                                    5/31/2019
                                                                                                                                         Renewal contract number
                                                                                                                                         4370373 CIS number
Oracle                             500 Oracle Parkway                              Redwood Shores   CA           94065                   17557111                                                      5/31/2019

                                                                                                                                         Software License Ageement -
                                                                                                                                         Hyperion Strategic Finance -
                                                                                                                                         7 Seats - 04/02/2015 -
                                                                                                                                         #6615752 CIS number
Oracle                             500 Oracle Parkway                              Redwood Shores   CA           94065                   19903279                                   4/2/2015

                                                                                                                                         Renewal contract #6615752
Oracle                             500 Oracle Parkway                              Redwood Shores   CA           94065                   CIS number 19903279                                           5/31/2019
                                                                                                                                         Master Services Agreement
Oracle                             500 Oracle Parkway                              Redwood Shores   CA           94065                   08/30/1994                                8/30/1994
                                                                                                                                         Order Doc - Oracle Fixed
Oracle                             500 Oracle Parkway                              Redwood Shores   CA           94065                   Assets                                    5/31/2006
                                                                                                                                         Annual Support - Oracle
                                                                                                                                         Fixed Assests contract #
Oracle                             500 Oracle Parkway                              Redwood Shores   CA           94065                   2016688 CSI#14838578                                          5/31/2019

                                                                                                                                         Order Document - Internet
Oracle                             500 Oracle Parkway                              Redwood Shores   CA           94065                   Application Server                        2/25/2002
                                                                                                                                         Annual Support - Internet
                                                                                                                                         Application Server -
                                                                                                                                         Contract #1410291
Oracle                             500 Oracle Parkway                              Redwood Shores   CA           94065                   CSI#3366131                                                   5/31/2019




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         Contract Counterparty               Address1   Address2          City           State   Postal Code   Country         Debtor's Interest             Lease           Remaining Term          Government Contract
                                                                                                                         Order Document - Internet
                                                                                                                         Developer Suite - 21 named
Oracle                            500 Oracle Parkway               Redwood Shores   CA           94065                   users                                   12/4/2004

                                                                                                                         Annual Support - Internet
                                                                                                                         Developer Suite - Contract
Oracle                            500 Oracle Parkway               Redwood Shores   CA           94065                   #2022895 CSI#14278971                                       5/31/2019
                                                                                                                         Annual Support -
                                                                                                                         Application Development
                                                                                                                         Suite - Contract #1488670
Oracle                            500 Oracle Parkway               Redwood Shores   CA           94065                   CSI#3419529                                                 5/31/2019
                                                                                                                         Annual Support - Internet
                                                                                                                         Application Server -
                                                                                                                         Contract #1617294
Oracle                            500 Oracle Parkway               Redwood Shores   CA           94065                   CSI#3654697                                                 5/31/2019
                                                                                                                         Annual Support - Internet
                                                                                                                         Application Server -
                                                                                                                         Contract #1937811
Oracle                            500 Oracle Parkway               Redwood Shores   CA           94065                   CSI14102991                                                 5/31/2019
                                                                                                                         Order Doc - Database
                                                                                                                         Enterprise Edition - 250
                                                                                                                         Named User - Order
Oracle                            500 Oracle Parkway               Redwood Shores   CA           94065                   #2080016                              11/30/2006

                                                                                                                         Annual Support -
                                                                                                                         Contract#2080016
                                                                                                                         CSI#15287755 (250 named
Oracle                            500 Oracle Parkway               Redwood Shores   CA           94065                   users EE DB / Partitioning)                                 5/31/2019

                                                                                                                         Annual Support - Contract
                                                                                                                         #2139025 CSI# 15372309
Oracle                            500 Oracle Parkway               Redwood Shores   CA           94065                   (1CPU DB EE / Partitioning)                                 5/31/2019
                                                                                                                         Annual Support - Contract
                                                                                                                         #2156489 CSI# 14460741 (8
                                                                                                                         CPU DB EE / Partitioning -
Oracle                            500 Oracle Parkway               Redwood Shores   CA           94065                   122 DB SE)                                                  5/31/2019
                                                                                                                         Annual Support - Contract
                                                                                                                         #2066105 CSI# 14342273 (2
Oracle                            500 Oracle Parkway               Redwood Shores   CA           94065                   DB SE / Partitioning)                                       5/31/2019
                                                                                                                         Annual Support - Contract
                                                                                                                         #2467907 CSI# 15589007 (2
Oracle                            500 Oracle Parkway               Redwood Shores   CA           94065                   DB EE / Partitioning)                                       5/31/2019
                                                                                                                         Annual Support - Contract
                                                                                                                         #2468003 CSI# 15589028 (1
Oracle                            500 Oracle Parkway               Redwood Shores   CA           94065                   DB SE)                                                      5/31/2019

                                                                                                                         Order Doc - Standard
                                                                                                                         Edition 1 - Qty 17 Contract
Oracle                            500 Oracle Parkway               Redwood Shores   CA           94065                   #2764531 CSI#15914885                   5/28/2008

                                                                                                                         Annual Support - Standard
                                                                                                                         Edition 1 - Qty 17 Contract
Oracle                            500 Oracle Parkway               Redwood Shores   CA           94065                   #2764531 CSI#15914886                                       5/31/2019

                                                                                                                         Annual Support - Standard
                                                                                                                         Edition 1 - Qty 2 Contract
Oracle                            500 Oracle Parkway               Redwood Shores   CA           94065                   #5030114 CSI#17899918                                       5/31/2019

                                                                                                                         Annual Support - Standard
                                                                                                                         Edition 1 - Qty 5 Contract
Oracle                            500 Oracle Parkway               Redwood Shores   CA           94065                   #5126631 CSI#18052275                                       5/31/2019




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            Contract Counterparty               Address1      Address2            City         State   Postal Code   Country        Debtor's Interest               Lease           Remaining Term          Government Contract

                                                                                                                               Annual Support - Standard
                                                                                                                               Edition 1 - Qty 170, DB EE 8
                                                                                                                               CPU w/partitioning Contract
Oracle                               500 Oracle Parkway                  Redwood Shores   CA           94065                   #5385948 CSI#18415017                                        5/31/2019

                                                                                                                               Annual Support - Standard
                                                                                                                               Edition 1 - Qty 14 Contract
Oracle                               500 Oracle Parkway                  Redwood Shores   CA           94065                   #5466768 CSI#18515529                                        5/31/2019

                                                                                                                               Annual Support - DB EE 2CP
                                                                                                                               / Partitioning - Contract
Oracle                               500 Oracle Parkway                  Redwood Shores   CA           94065                   #5811780 CSI#18925283                                        5/31/2019

                                                                                                                               Annual Support - Standard
                                                                                                                               Edition 1 - Qty 30 Contract
Oracle                               500 Oracle Parkway                  Redwood Shores   CA           94065                   #6564904 CSI#19858584                                        5/31/2019

                                                                                                                               Annual Support - Standard
                                                                                                                               Edition 1 - Qty 75, DB EE 2
                                                                                                                               CPU w/partitioning Contract
Oracle                               500 Oracle Parkway                  Redwood Shores   CA           94065                   #8078947 CSI#20366755                                        5/31/2019

                                                                                                                               Annual Support - MDO
                                                                                                                               Operating System Contract
                                                                                                                               #SUN-US1083456
Oracle                               500 Oracle Parkway                  Redwood Shores   CA           94065                   CSI#17058691                                                 5/31/2019
                                                                                                                               Master Services Agreement
                                                                                                                               (IPL Micros/Fry)-
Oracle                               500 Oracle Parkway                  Redwood Shores   CA           94065                   02/25/2013                               2/25/2013
                                                                                                                               Addendum to IPL - SFS
Oracle                               500 Oracle Parkway                  Redwood Shores   CA           94065                   License - 06/27/2014                     6/27/2014
                                                                                                                               License Purchase - Locate -
Oracle                               500 Oracle Parkway                  Redwood Shores   CA           94065                   05/12/2016                               5/12/2016
                                                                                                                               License Purchase - Locate -
Oracle                               500 Oracle Parkway                  Redwood Shores   CA           94065                   11/17/2016                             11/17/2016
                                                                                                                               License Purchase - Locate -
Oracle                               500 Oracle Parkway                  Redwood Shores   CA           94065                   11/23/2015                             11/23/2015
                                                                                                                               Annual Support for Locate
Oracle                               500 Oracle Parkway                  Redwood Shores   CA           94065                   License 05/12/2018                                           5/11/2019
                                                                                                                               Annual Support for OCP -
                                                                                                                               contract MIC-14-OCP
                                                                                                                               CSI#19917160/20517316 -
Oracle                               500 Oracle Parkway                  Redwood Shores   CA           94065                   01/23/2018                                                   2/27/2019
                                                                                                                               locate software
Oracle                               PO Box 203448                       Dallas           TX           75320                   maintenance
                                                                                                       75320-                  Weblogic ( SAS ) - Software
Oracle America, Inc                  P.O. Box 203448                     Dallas           TX           3448                    Maintenance                                                  5/30/2019
                                                                                                                               RDF/AIP/RO Software
                                                                                                       75320-                  License Agreement -
Oracle America, Inc                  P.O. Box 203448                     Dallas           TX           3448                    7/13/2007                                7/13/2007           5/30/2019
                                                                                                                               AIP/RO Software
                                                                                                       75320-                  Cancelation Letter -
Oracle America, Inc                  P.O. Box 203448                     Dallas           TX           3448                    11/29/2017                                                   5/30/2019
                                                                                                       75320-
Oracle America, Inc                  P.O. Box 203448                     Dallas           TX           3448                    RDF Software Maintenance                                     5/30/2019
                                                                                                                               MDO Software License and
                                                                                                       75320-                  Hosting Agreement -
Oracle America, Inc                  P.O. Box 203448                     Dallas           TX           3448                    11/30/2006                             11/30/2006            5/30/2019
                                                                                                       75320-                  MDO Cancel Hosting
Oracle America, Inc                  P.O. Box 203448                     Dallas           TX           3448                    Agreement - 2/15/2007                                        5/30/2019
                                                                                                       75320-                  MDO Software
Oracle America, Inc                  P.O. Box 203448                     Dallas           TX           3448                    Maintenance                                                  5/30/2019
ORALABS INC                          18685 EAST PLAZA DRIVE              PARKER           CO           80134                   Vendor Terms Agreement




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            Contract Counterparty                         Address1                  Address2               City         State   Postal Code   Country        Debtor's Interest              Lease           Remaining Term           Government Contract
ORCA BEVERAGE INCORPORATED                    11903 CYRUS WAY 5                                   MUKILTEO           WA         98275                   Vendor Terms Agreement
Orderinsite                                   40 Burton Hills Blvd.          Suite 100            Nashville          TN         37215                                                           10/2/2017           10/1/2020

                                                                                                                                                        Master License and Services
OrderInsite, LLC                              40 Burton Hills Blvd                                Nashville          TN         37215                   Agreement and Order Form                10/6/2017            1/1/2021
OREGON SCIENTIFIC                             19861 SW 95TH AVENUE                                TUALATIN           OR         97062                   Vendor Terms Agreement
ORGANIZE IT ALL INCORPORATED                  24 RIVER ROAD STE 201                               BOGOTA             NJ         07603                   Vendor Terms Agreement
ORGILL INCORPORATED                           3742 TYNDALE DRIVE                                  MEMPHIS            TN         38125                   Vendor Terms Agreement
ORIAN RUGS INCORPORATED                       PO BOX 2276                                         ANDERSON           SC         29622                   Vendor Terms Agreement
ORIENTAL WEAVERS USA IND                      3295 LOWER DUG GAP ROAD                             DALTON             GA         30721                   Vendor Terms Agreement
                                                                                                                                03079-
ORIGINAL GOURMET FOOD COMPANY                 52 STILES ROAD STE 201                              SALEM              NH         4807                    Vendor Terms Agreement
ORION SALES INCORPORATED                      15 ESSEX ROAD                                       PARMUS             NJ         07652                   Vendor Terms Agreement
ORLY SHOE CORP                                15 W 34TH STREET                                    NEW YORK           NY         10001                   Vendor Terms Agreement
OSF Holy Family Medical Center                1000 West Harlem Avenue                             Monmouth           IL         61462                   340B Contract                           6/26/2018
OSKR INC                                      14 BUELL STREET                                     NORTH HAVEN        CT         06473                   Vendor Terms Agreement
                                                                                                                                98226-
OSMEGEN INCORPORATED HOMAX GROUP              1835 BARKLEY BLVD STE 101                           BELLINGHAM         WA         0000                    Vendor Terms Agreement
                                                                                                                                44077-
OUR PETS COMPANY                              1300 EAST STREET                                    FAIRPORT HARBOUR OH           5573                    Vendor Terms Agreement
                                                                                                                                53597-
OUT OF THE BOX PUBLISHING                     1304 LAWTON COURT                                   DODGEVILLE         WI         0000                    Vendor Terms Agreement
OUT PETCARE LLC                               2727 CHEMSEARCH BLVD                                DALLAS             TX         75062                   Vendor Terms Agreement
OUTDOOR CAP COMPANY INCORPORAT                1200 MELISSA DRIVE                                  BENTONVILLE        AR         72712                   Vendor Terms Agreement
OUTDOOR RECREATION GROUP                      3450 MT VERNON DRIVE                                LOS ANGELES        CA         90008                   Vendor Terms Agreement
Outdoor Services                              20847 Osprey Ave                                    Mason City         IA         50401                   Lawn Care ST052
OUTERSTUFF WEE ROUGH GENIUNE STU              900 HART STREET                                     RAHWAY             NJ         07065                   Vendor Terms Agreement
OWNED                                         700 Pilgrim Way                                     Green Bay          WI         54304                   Lease                                     OWNED               OWNED
OWNED                                         700 Pilgrim Way                                     Green Bay          WI         54304                   Lease                                     OWNED               OWNED
OWNED                                         OWNED                                               OWNED              OWNED      OWNED                   Lease                                     OWNED               OWNED
OXO INTERNATIONAL LTD                         #1 HELEN OF TROY PLAZA                              EL PASO            TX         79912                   Vendor Terms Agreement
OZWEST INCORPORATED DBA ZING TOY              4614 SW KELLY AVE SUITE 200                         PORTLAND           OR         97239                   Vendor Terms Agreement

P & F USA INCORPORATED                        3015 WINDWARD PLAZA STE 100                         ALPHARETTA         GA         30005                   Vendor Terms Agreement
P GRAHAM DUNN                                 630 HENRY STREET                                    DALTON             OH         44618                   Vendor Terms Agreement
P KAUFMANN HOME                               3 PARK AVENUE 35TH FLOOR                            NEW YORK           NY         10016                   Vendor Terms Agreement
                                              P.O. Box 11119 6325 Squaw
P.J. Investments                              Creek Road                                          Jackson            WY         83001                   Lease                                 12/22/1987            2/22/2024
P.J. Investments                              200 SOUTH 18TH AVE                                  WAUSAU             WI         54401                   Operating Lease                       12/22/1987            2/29/2024               N/A
Pac Van                                       N3760 St Hwy 55                                     Freedom            WI         54130                   Storage equipment
                                                                                                                                19176-                   Public Access To Court
PACER                                         P.O. Box 71364                                      Philadelphia       PA         1364                    Electronic Records
PACIFIC ALLIANCE USA INC                      350 5TH AVENUE 10TH FLOOR                           NEW YORK           NY         10018                   Vendor Terms Agreement
PACIFIC COAST                                 PO BOX 80385                                        SEATTLE            WA         98108                   Vendor Terms Agreement
PACIFIC COAST HOME FURNISHINGS I              2424 SAYBROOK AVENUE                                COMMERCE           CA         90040                   Vendor Terms Agreement
PACIFIC CYCLE INC                             4902 HAMMERSLEY ROAD                                MADISON            WI         53711                   Vendor Terms Agreement
PACIFIC INTERNATIONAL ALLIANCE                PO BOX 7802                                         REDLANDS           CA         92375                   Vendor Terms Agreement
PACIFIC LEGWEAR INCORPORATED                  3600 LASALLE STREET                                 ONTARIO            CA         91761                   Vendor Terms Agreement

PACIFIC MARKET INTERNATIONAL                  2401 ELLIOT AVENUE 4TH FLOOR                        SEATTLE            WA         98121                   Vendor Terms Agreement
                                                                                                                                98401-
PACIFIC PAPER PRODUCTS INC                    PO BOX 2055                                         TACOMA             WA         2055                    Vendor Terms Agreement
PACIFIC TRADE INTERNATIONAL                   5515 SECURITY LANE STE 1100                         ROCKVILLE          MD         20852                   Vendor Terms Agreement
Pacific World                                 75 enterprise                                       Aliso Viejo        CA         92656                   Fast Rack space                          2/1/2017           1/31/2019
PACIFIC WORLD CORPORATION                     75 ENTERPRISE STE 300                               ALISO VIEJO        CA         92656                   Vendor Terms Agreement
PACKIT LLC                                    875 S WESTLAKE BLVD #112                            WESTLAKE VILLAGE   CA         91361                   Vendor Terms Agreement
PACTIV                                        7615 OMNITECH PLACE #1                              VICTOR             NY         14564                   Vendor Terms Agreement
Pagel Services                                11626 Main st                                       Stitzer            WI         53325                   Lawn Care ST626
                                              4501 EAST ARROWHEAD
PAL, Inc                                      PARKWAY                                             SIOUX FALLS        SD         57110                   Sublease                                                     Perpetual              N/A
PAL, Inc. and H. Lauren Lewis Living Trust    309 W. 43rd Street Suite 105                        Sioux Falls        SD         57105                   Lease                                    3/1/1989            8/3/2019
                                              4501 EAST ARROWHEAD
PAL, Inc. and H. Lauren Lewis Living Trust    PARKWAY                                             SIOUX FALLS        SD         57110                   Operating Lease                          3/1/1989           8/31/2024               N/A




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            Contract Counterparty                    Address1              Address2             City        State   Postal Code     Country        Debtor's Interest               Lease              Remaining Term             Government Contract
                                                                                                                                  United
PALADONE PRODUCTS                       3 NEW WHARF BRIGHTON ROAD                     WEST SUSSEX                   BN43 6RE      Kingdom     Vendor Terms Agreement

PALCO Investments, LLC                  4265 45th Street South Suite 200              Fargo            ND           58104                     Lease                                   10/19/2007               5/31/2023

PALCO Investments, LLC                  4265 45th Street South Suite 200              Fargo            ND           58104                     Lease                                    8/20/2007               2/28/2023
PALCO Investments, LLC                  102 COLLEGE DRIVE                             NEW TOWN         ND           58763                     Operating Lease                         10/19/2007               5/31/2023                N/A
PALCO Investments, LLC                  320 HIGHWAY 12 EAST                           BOWMAN           ND           58623                     Operating Lease                          8/20/2007               2/28/2023                N/A
PALMER CANDY COMPANY                    2600 HWY 75 NORTH                             SIOUX CITY       IA           51105                     Vendor Terms Agreement
Palo Alto County Hospital               3201 First Street                             Emmetsburg       IA           50536                     340B Contract                            9/29/2016
Pamida Five, LLC                        1818 Farwell Ave                              Milwaukee        WI           53202                     Lease                                    6/30/1998               6/30/2023
Pamida Five, LLC                        821 WEST CRAWFORD STREET                      CLAY CENTER      KS           67432                     Operating Lease                          6/30/1998               6/30/2023                N/A
Pamida Four, LLC/Paul Schwabe*          1818 Farwell Ave                              Milwaukee        WI           53202                     Lease                                    6/30/1998               6/30/2023
Pamida Four, LLC/Paul Schwabe*          1150 EAST 3RD                                 SUPERIOR         NE           68978                     Operating Lease                          6/30/1998               6/30/2023                N/A
                                        1818 Farwell Ave Milwaukee WI
Pamida One, LLC/Paul Schwabe*           53202                                         Milwaukee        WI           53202                     Lease                                    6/30/1998               6/30/2023
Pamida One, LLC/Paul Schwabe*           31071 US HIGHWAY 2                            LIBBY            MT           59923                     Capital Lease                            6/30/1998               6/30/2023                N/A
Pamida Three, LLC/Paul Schwabe*         1818 Farwell Ave                              Milwaukee        WI           53202                     Lease                                    6/30/1998               6/30/2023
Pamida Three, LLC/Paul Schwabe*         100 Texas Trail Dr                            Ogallala         NE           69153                     Capital Lease                            6/30/1998               6/30/2023                N/A
                                        1818 Farwell Ave Milwaukee WI
Pamida Two, LLC/Paul Schwabe*           53202                                         Milwaukee        WI           53202                     Lease                                    6/30/1998               6/30/2023
Pamida Two, LLC/Paul Schwabe*           205 BOYD AVENUE                               NEWCASTLE        WY           82701                     Capital Lease                            6/30/1998               6/30/2023                N/A
PAN OCEANIC EYEWEAR LIMITED             15 WEST 37TH STREET FL 6                      NEW YORK         NY           10018                     Vendor Terms Agreement
PANACEA PRODUCTS CORPORATION            2711 INTERNATIONAL DRIVE                      COLUMBUS         OH           43219                     Vendor Terms Agreement

PANACHE INTERNATIONAL LLC               23422 PERALTA DRIVE SUITE D                   LAGUNA HILLS     CA           92653                     Vendor Terms Agreement
                                                                                                                    07102-
PANASONIC CONSUMER ELECTRONICS C        2 RIVERFRONT PLAZA                            NEWARK           NJ           5490                      Vendor Terms Agreement
                                                                                                                                                                                    T&Cs that are
                                                                                                                                                                                    automatically
                                                                                                                                                                            accepted once an IO is
                                                                                                                                                                              accepted within our n/a - can stop orders at
Pandora Media, Inc                      25601 Network Place                           Chicago          IL           60673                     Digital Ads                                systems                 any time

PANTIES PLUS INCORPORATED               320 FIFTH AVENUE 2ND FLOOR                    NEW YORK         NY           10016                     Vendor Terms Agreement

PAPER MAGIC GROUP                       401 ADAMS AVENUE SUITE 501                    SCRANTON         PA           18510                     Vendor Terms Agreement
Papillon Sanitation                     10810 S 144th                                 Omaha            NE           68138                     DC Omaha Sanitation
                                        1200 W DR MARTIN L KING JR
PARADISE FRUIT CO                       BLVD                                          PLANT CITY       FL           33563                     Vendor Terms Agreement
Paradise Wisconsin Properties LLC       9100 Wilshire Blvd Suite 360E                 Beverly Hills    CA           90212                     Lease                                   12/15/2014              12/31/2035
Paradise Wisconsin Properties LLC       9366 STATE HIGHWAY 16                         ONALASKA         WI           54650                     Operating Lease                         12/15/2014              12/31/2035                N/A
PARAMOUNT APPAREL INTERNATIONAL         #1 PARAMOUNT DRIVE                            BOURBON          MO           65441                     Vendor Terms Agreement
                                                                                                                    10018-
PARAMOUNT APPAREL LIMITED               1407 BROADWAY ROOM 204                        NEW YORK         NY           0000                      Vendor Terms Agreement
PARAMOUNT COFFEE COMPANY INC            130 N LARCH STREET                            LANSING          MI           48912                     Vendor Terms Agreement
Parata                                  106 Roche Dr                                  Durham           NC           27703                     Robotic Filling Machine
                                                                                                                    06905-
PARFUMS DE COEUR LIMITED                6 HIGH RIDGE PARK                             STAMFORD         CT           0000                      Vendor Terms Agreement
PARIS ACCESSORIES INCORPORATED          350 5TH AVENUE 70TH FLOOR                     NEW YORK         NY           10118                     Vendor Terms Agreement
                                                                                                                    08060-
PARIS BUSINESS PRODUCTS                 800 HIGHLAND DRIVE                            WESTAMPTON       NJ           5109                      Vendor Terms Agreement
                                                                                                                    74465-
PARK HILL PLANTS & TREES                PO BOX 260                                    TAHLEQUAH        OK           0000                      Vendor Terms Agreement
                                                                                                                                              Independent Contractor
Park Place Technologies                 8401 Chagrin Rd.                              Chagrin Falls    OH           44023                     Agreement                                 4/1/2010                    None

Parks Retail Investment Montana, LLC    14060 NW Jackson School Road                  North Plains     OT           97133                     Lease                                    7/22/2011              12/31/2031
Parks Retail Investment Montana, LLC    600 US HIGHWAY 2E                             WOLF POINT       MT           59201                     Operating Lease                          7/22/2011              12/31/2031                N/A

Parmed Division of Cardinal Health      4200 Hydepark Blvd                            Niagra Falls     NY           14305                     Alternalte Generic Supplier
PATRIOT CURTAIN INCORPORATED            113 GRIFFIN STREET                            FALL RIVER       MA           02724                     Vendor Terms Agreement
PATTON PICTURE COMPANY                  207 LYNNDALE COURT                            MECHANICSBURG    PA           17050                     Vendor Terms Agreement
Paulson's Lawn                          526 N Oaks St                                 Ainsworth        NE           69210                     Lawn Care ST673




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           Contract Counterparty                                Address1                    Address2             City             State   Postal Code   Country        Debtor's Interest              Lease           Remaining Term          Government Contract
Pawnee County Memorial Hospital                   600 I St                                                Pawnee City        NE           68420                   340B Contract                           3/29/2017
Pawnee Valley Community Hospital                  923 Carroll Avenue                                      Larned             KS           67550                   340B Contract                           1/14/2015

                                                                                                                                                                  License agreement
                                                                                                                                                                  7/23/1999, amendment
                                                                                                                                                                  7/23/1999,3rd amnedment
                                                                                                                                                                  11/10/2008, 4th
                                                                                                                                          66607-                  amendment 8/1/2010, 5th
Payless                                           3231 SE 6th Ave                                         Topeka             KS           2207                    amendment 6/25/2012
                                                                                                                                          22942-
PBM PRODUCTS                                      204 N MAIN ST                                           GORDONSVILE        VA           0000                    Vendor Terms Agreement
PCI APPAREL                                       1411 BROADWAY STE 2600                                  NEW YORK           NY           10018                   Vendor Terms Agreement

PD2                                               16400 Pacific Coast Highway #207                        Huntington Beach   CA           92649                   Lease                                  1/27/2016            7/31/2031
PD2                                               1950 N. Highway 89                                      Chino Valley       AZ           86323                   Operating Lease                        1/27/2016            7/31/2031              N/A
                                                                                                                                                                  License Agreement and all
PDX Inc                                           101 Jim Wright Freeway South       Suite 200            Fort Worth         TX           76108                   Amendments                              6/6/1993
                                                                                                                                          90058-
PEACH LOVE CA                                     2650 LEONIS BLVD                                        VERNON             CA           2204                    Vendor Terms Agreement
PEACOCK APPAREL GROUP INCORPORAT                  236 5TH AVENUE 7TH FLOOR                                NEW YORK           NY           10001                   Vendor Terms Agreement
Peak Alarm SKO                                    1534 Gladiola St                                        Salt Lake City     UT           84104                   Boise DC Alarm
PEAK SEASON INCORPORATED                          2800 CRESTWOOD BLVD                                     IRONDALE           AL           35210                   Vendor Terms Agreement

PEANUT BUTTER & CO INC                            250 WEST 54TH STREET STE 807                            NEW YORK           NY           10019                   Vendor Terms Agreement
                                                                                                                                                                  Front-end Checkout Space
Pearson                                           2140 W. 7th St.                                         Saint Paul         MN           55116                   Agreement                               7/1/2018            6/30/2019
PEARSON CANDY COMPANY                             2140 W 7TH STREET                                       ST PAUL            MN           55164                   Vendor Terms Agreement

PEGASUS HOME FASHIONS                             107 TRUMBALL STREET BLDG G1                             ELIZABETH          NJ           07206                   Vendor Terms Agreement
Pekas Presicion Lawn Care                         417 4th Ave SW                                          Beulah             ND           58523                   Lawn Care ST743
                                                                                                          SOUTH SAN
PEKING HANDICRAFT INCORPORATED                    1388 SAN MATEO AVENUE                                   FRANCISCO          CA           94080                   Vendor Terms Agreement
Pella Regional Health Center                      404 Jefferson Street                                    Pella              IA           50219                   340B Contract                          7/13/2018           10/23/2018
Pelstar Kimball LLC/Ted Sleder*                   2111 W. 116 Street                                      Leawood            KS           66211                   Lease                                 10/11/2007            7/31/2023
Pelstar Kimball LLC/Ted Sleder*                   1217 SOUTH HIGHWAY 71                                   KIMBALL            NE           69145                   Operating Lease                       10/11/2007            7/31/2023              N/A
                                                                                                                                          10001-
PEM AMERICA INCORPORATED                          230 FIFTH AVENUE STE 200                                NEW YORK           NY           0000                    Vendor Terms Agreement
Pend Oreille County Public Hospital District #1
DBA Newport Community Hospital                    714 W. Pine Street                                      Newport            WA           99156                   340B Contract                         10/14/2016            8/29/2018
Pender Community Hospital                         100 Hospital Drive                                      Pender             NE           68047                   340B Contract                           3/9/2017
                                                                                                                                                                  Independent Contractor
Pendl Companies, INC                              18720 Pleasant Street              Suite 202            Brookfield         WI           53045                   Agreement                              2/15/2017                 None
                                                                                                                                          04289-
PENLEY CORPORATION                                #2 DEPOT ST                                             WEST PARIS         ME           0000                    Vendor Terms Agreement
People Net - SKO                                  4400 Baker Road                                         Minnetonka         MN           55343                   DC Transportation
                                                                                                                                                                  Organization Chart
Peoplefluent                                      300 5th Ave                                             Waltham            MA           02451                   (OrgPublisher)                          8/1/2018            7/31/2019
                                                                                                                                                                  Front-end Checkout Space
Pepperidge Farms                                  8455 Thoroghbred St.                                    Alta Loma          CA           91701                   Agreement                               7/1/2018            6/30/2019
PEPPERIDGE FARMS INCORPORATED                     595 WESTPORT AVENUE                                     NORWALK            CT           06856                   Vendor Terms Agreement
Perfect Pasta Ent.                                102 COLLEGE DRIVE                                       NEW TOWN           ND           58763                   Sublease                                2/1/2018            3/31/2019              N/A
                                                  N19 W23993 RIDGEVIEW
PERFECT TIMING INCORPORATED                       PARKWAY W                                               WAUKESHA           WI           53188                   Vendor Terms Agreement
                                                                                                                                          44514-
PERFECTA PRODUCTS INCORPORATED                    1275 BOARDMAN POLAND RD                                 POLAND             OH           0000                    Vendor Terms Agreement
                                                                                                                                                                  Front-end Checkout Space
Perfetti                                          3645 Turfway Road                                       Erlanger           KY           41018                   Agreement                               7/1/2018            6/30/2019
                                                                                                                                          41018-
PERFETTI VAN MELLE USA INCORPORA                  PO BOX 18190                                            ERLANGER           KY           0190                    Vendor Terms Agreement
PERFORMANCE PALLET CORPORATION                    112 N MAINLINE DRIVE                                    SEYMOUR            WI           54166                   Vendor Terms Agreement
Performance Systems, L.C.                         1701 West D Street                                      Vinton             IA           52349                   Lease                                 11/12/2015           10/31/2030
Performance Systems, L.C.                         911 S K AVE                                             VINTON             IA           52349                   Operating Lease                       11/12/2015           12/31/2020              N/A
Performance Team                                  2240 E Maple Ave                                        El Segundo         CA           90245                   DC Transportation
PERFUME CENTER OF AMERICA                         2020 OCEAN AVE                                          RONKONKOMA         NJ           11779                   Vendor Terms Agreement




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           Contract Counterparty                              Address1                        Address2              City         State   Postal Code    Country        Debtor's Interest              Lease           Remaining Term          Government Contract
PERFUME WORLDWIDE                                  100 COMMERCIAL STREET                                    PLAINVIEW       NY           11803                    Vendor Terms Agreement
PERIO INCORPORATED                                 6156 WILCOX ROAD                                         DUBLIN          OH           43016                    Vendor Terms Agreement
                                                   7400 EAST CRESTLINE CIRCLE
PERKY JERKY LLC                                    SUITE 130                                                ENGLEWOOD       CO           80111                    Vendor Terms Agreement

PERPETUAL PLAY GROUP LIMITED                       151 KALMUS DRIVE SUITE A-102                             COSTA MESA      CA           92626                    Vendor Terms Agreement
PERRY ELLIS ACCESSORIES                            3000 NW 107 AVENUE                                       MIAMI           FL           33172                    Vendor Terms Agreement
PET BRANDS PRODUCTS LLC                            425 METRO PLACE N STE 690                                DUBLIN          OH           43017                    Vendor Terms Agreement
PET IQ                                             923 S BRIDGEWAY PLACE                                    EAGLE           ID           83616                    Vendor Terms Agreement
PET QWERKS INC                                     9 STUDEBAKER DRIVE                                       IRVINE          CA           92618                    Vendor Terms Agreement
Peterson Ventures, LLC                             8839 Verdon Circle                                       Plattsmouth     NE           68048                    Lease                                    4/3/1989          12/31/2028
Peterson Ventures, LLC                             211 S. 23RD STREET                                       PLATTSMOUTH     NE           68048                    Capital Lease                            4/3/1989          12/31/2028              N/A
Pete's Lawn Care                                   N1760 Janette Circle                                     Wautoma         WI           54982                    Lawn Care ST617
PETFIVE BRANDS LLC                                 3966 PEMBROKE RD                                         PEMBROKE PARK   FL           33021                    Vendor Terms Agreement
                                                   23512 MALIBU COLONY ROAD
PETHEAD INCORPORATED                               #81                                                      MALIBU          CA           90265                    Vendor Terms Agreement
                                                                                                                                         07663-
PETMATRIX LLC                                      160 PEHLE AVENUE STE 303                                 SADDLE BROOK    NJ           5227                     Vendor Terms Agreement
PETS FIRST INCORPORATED                            248 3RD STREET                                           ELIZABETH       NJ           07206                    Vendor Terms Agreement
                                                   333 SKOKIE BOULEVARD STE 102-
PETSTAGES INCORPORATED                             104                                                      NORTHBROOK      IL           60062                    Vendor Terms Agreement
                                                                                                                                         06477-
PEZ CANDY INCORPORATED                             35 PRINDLE HILL ROAD                                     ORANGE          CT           3616                     Vendor Terms Agreement

Pfefferle Management                               200 E. Washington Street Suite 2A                        Appleton        WI           54911                    Lease                                   3/23/2012           9/30/2027
Pfefferle Management                               825 WEST FULTON STREET                                   WAUPACA         WI           54981                    Operating Lease                         3/23/2012           9/30/2027              N/A
PG GOLF LLC                                        12505 REED ROAD STE 200                                  SUGAR LAND      TX           77478                    Vendor Terms Agreement
                                                   1964 WESTWOOD BOULEVARD
PH BEAUTY LABS                                     300                                                      LOS ANGELES     CA           90025                    Vendor Terms Agreement

PH Manitowoc LLC                                   4530 Calument Avenue Unit 103                            MANITOWOC       WI           54220                    Operating Lease                          1/9/2019           5/31/2024              N/A

                                                                                                                                                                  EQUIPP Services Agreement
                                                                                                                                                                  for Pharmacies and all
Pharmacy Quality Solutions, Inc                    5015 Southpark Dr.                  Suite 250            Durham          NC           27713                    Amendments                               3/6/2015           3/31/2019
                                                   8510 BALBOA BOULEVARD STE                                                             91325-
PHARMAVITE LLC                                     300                                                      NORTHRIDGE      CA           0000                     Vendor Terms Agreement
                                                                                                                                         31146-
PHILIPS CONSUMER ELECTRONICS COM                   PO BOX 467300                                            ATLANTA         GA           0000                     Vendor Terms Agreement

PHILLIPS CONSUMER LIFESTYLE                        1010 WASHINGTON BOULEVARD                                STAMFORD        CT           06912                    Vendor Terms Agreement
Phillips Property Service                          404 Almeda Ave                                           Minerva         OH           44657                    Lawn Care ST717
PHILLIPS VAN HEUSEN PVH CORP                       200 MADISON AVENUE                                       NEW YORK        NY           10016                    Vendor Terms Agreement
Phoenix Limited Partnership/Kim Love*              PO Box 5086                                              Sheridan        WY           82801                    Lease                                   1/28/2008          12/31/2023
Phoenix Limited Partnership/Kim Love*              PO Box 5086                                              Sheridan        WY           82801                    Lease                                   1/28/2008          12/31/2023
Phoenix Limited Partnership/Kim Love*              1135 MT. RUSHMORE ROAD                                   CUSTER          SD           57730                    Operating Lease                         1/28/2008          12/31/2023              N/A
Phoenix Limited Partnership/Kim Love*              129 HARMONY ST.                                          BUFFALO         WY           82834                    Operating Lease                         1/28/2008          12/31/2023              N/A
PHOENIX SALES & DISTRIBUTION INC                   1709 ENDEAVOR DRIVE STE E                                WILLIAMSBURG    VA           23185                    Vendor Terms Agreement
                                                   333 NORTH BEDFORD ROAD
PHOTO FILE INCORPORATED                            SUITE 130                                                MOUNT KISCO     NY           10549                    Vendor Terms Agreement
PHYSICIANS FORMULA                                 1055 WEST 8TH STREET                                     AZUSA           CA           91702                    Vendor Terms Agreement
PIC AMERICA LIMITED                                8009 PURFOY ROAD                                         FUQUAY VARINA   NC           27526                    Vendor Terms Agreement

Pickruhn & Kilinski Enterprise/Phillip Kilinski    5909 N. 39th Ave                                         Wausau          WI           54401                    Lease                                   11/7/1989           4/30/2022

Pickruhn & Kilinski Enterprise/Phillip Kilinski    1333 4TH AVENUE SOUTH                                    PARK FALLS      WI           54552                    Operating Lease                         11/7/1989           4/30/2027              N/A

Pickruhn & Kilinski Enterprises/Phillip Kilinski   5909 N. 39th Ave                                         Wausau          WI           54401                    Lease                                 12/27/1990            8/18/2021

Pickruhn & Kilinski Enterprises/Phillip Kilinski   810 N. RAILROAD ST.                                      EAGLE RIVER     WI           54521                    Operating Lease                       12/27/1990            8/31/2026              N/A
PICTURA INCORPORATED                               4 ANDREWS DRIVE                                          WEST PATERSON   NJ           07424                    Vendor Terms Agreement
PILOT CORPORATION OF AMERICA                       60 COMMERCE DRIVE                                        TRUMBULL        CT           06611                    Vendor Terms Agreement
                                                   1 CHONGLE RD SHUITOU                                     WENZHOU
PINGYANG FASTER PET TOY (SHANGHA                   PINGYANG                                                 ZHEJIANGPRC                                CHINA      Vendor Terms Agreement




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             Contract Counterparty               Address1                     Address2               City           State   Postal Code    Country        Debtor's Interest              Lease           Remaining Term             Government Contract

PINK CRUSH LLC                        80 39TH STREET FL STE 501 -504                        BROOKLYN           NY           11232                    Vendor Terms Agreement

PINNACLE TRADING                      2301 ROSECRANS AVE SUITE 4190                         EL SEGUNDO         CA           90245                    Vendor Terms Agreement
PINT SIZE PRODUCTIONS INC             111 ERICK STREET STE 112                              CRYSTAL LAKE       IL           60014                    Vendor Terms Agreement
PIONEER & ONKYO USA                   22828 LOCKNESS AVE SUITE 1                            TORRANCE           CA           90501                    Vendor Terms Agreement
Pioneer Enterprises, Inc.             3330 East 10th Street                                 SIOUX FALLS        SD           57103                    Operating Lease                         1/12/2019            1/31/2024                N/A
Pipestone County Medical Center       916 4th Avenue SW                                     Pipestone          MN           56164                    340B Contract                           4/17/2018
                                      3900 VETERANS MEMORIAL HWY
PIPING ROCK HEALTH PRODUCTS LLC       SUITE 200                                             BOHEMIA            NY           11716                    Vendor Terms Agreement
PIVOTAL FIVE LLC                      315 N RACINE STREET                                   CHICAGO            IL           60607                    Vendor Terms Agreement

PL DEVELOPMENTS                       609-2 CANTIAGUE ROCK ROAD                             WESTBURY           NY           11590                    Vendor Terms Agreement
                                                                                                                                                     Front-end Checkout Space
Pladis                                10 Banks Street                                       White Plains       NY           10606                    Agreement                                7/1/2018            6/30/2019
PLADIS GLOBAL                         2228 JOHNSTONE WAY                                    WESTLAKE           OH           44145                    Vendor Terms Agreement

PLANAHEAD                             3130 WILSHIRE BLVD SUITE 555                          SANTA MONICA       CA           90403                    Vendor Terms Agreement
                                                                                                                                                     Purchase of weather data,
                                                                                                                                                     reporting, and web
                                                                                                                                                     software licenses. 3 yr
Planalytics                           920 Cassalt Road                 Suite 300            Berywn             PA           19312                    term.                                   2/26/2016    Expires 2/26/2019
Planalytics - Brian Taylor            920 Cassatt Road                 Suite 300            Berwyn             PA           19312                    Master Agreement                        2/29/2016
                                                                                                                                                                                                         30 day prior written
Planalytics - Brian Taylor            920 Cassatt Road                 Suite 300            Berwyn             PA           19312                    Master Agreement                        2/29/2016                 notice
PLANO MOLDING                         431 E SOUTH STREET                                    PLANO              IL           60545                    Vendor Terms Agreement
                                                                                                                            75312-
PLANO MOLDING COMPANY                 DEPT 2357                                             DALLAS             TX           2357                     Vendor Terms Agreement
                                      202 SOUTH WASHINGTON
PLANTATION PRODUCTS LLC               STREET                                                NORTON             MA           02766                    Vendor Terms Agreement
                                                                                                                                                     Front-end Checkout Space
Planters                              Three Lakes Drive                                     Northfield         IL           60093                    Agreement                                7/1/2018            6/30/2019
PLASMART INCORPORATED                 408 411 MACLAREN STREET                               OTTAWA             ON           K29 2H3       Canada     Vendor Terms Agreement
PLASTIC DEVELOPMENT GROUP LLC         24445 NORTHWESTERN HWY                                SOUTHFIELD         MI           48075                    Vendor Terms Agreement
PLASTICOLOR MOLDED PRODUCTS           801 SOUTH ACACIA AVENUE                               FULLERTON          CA           92831                    Vendor Terms Agreement
                                                                                                                                                     Platinum technologies Inc -
                                                                                                                            60148-                   Acquired by Computer
Platinum technology Inc               555 WatersEdge Drive                                  Lombard            IL           9930                     Associates in 1999                    12/30/1991             1/30/2021     Agreement number 91081023
PLAY HUT INCORPORATED                 368 S CHERYL LANE                                     CITY OF INDUSTRY   CA           91789                    Vendor Terms Agreement
PLAY VISIONS                          19180 144TH AVENUE NE                                 WOODINVILLE        WA           98072                    Vendor Terms Agreement
                                      UNIT C 12F PHASE I KAISER                             HUNG HOM                                      HONG
PLAY WOW HOLDINGS LIMITED             ESTATE                                                KOWLOON                                       KONG       Vendor Terms Agreement
                                      909 N PACIFIC COAST HIGHWAY
PLAYMATES TOYS INCORPORATED           SUITE 800                                             EL SEGUNDO         CA           90245                    Vendor Terms Agreement
PLAYMOBIL USA                         26 COMMERCE DRIVE                                     CRANBURY           NJ           08512                    Vendor Terms Agreement
PLAYMONSTER LLC                       2944 GRAYBILL DRIVE                                   BELOIT             WI           53511                    Vendor Terms Agreement
PLUGG LLC                             5 EMPIRE BOULEVARD                                    S HACKENSACK       NJ           07606                    Vendor Terms Agreement
PM & J LLC                            10911 W HWY 55 STE 205                                PLYMOUTH           MN           55441                    Vendor Terms Agreement
PMC ALMO DISTRIBUTING PA INC          6907 SUTHERLAND CT                                    MENTOR             OH           44060                    Vendor Terms Agreement


                                                                                                                                                     Naming Rights For The Expo
                                                                                                                                                     Hall At Brown Country
                                                                                                                                                     Arena And Signage At Arena
                                                                                                                                                     And Resch Center; Event
PMI Entertainment Group               1901 South Oneida                                     Green Bay          WI           54307                    Sponsorship Opportunities                9/1/2018            8/31/2021
                                                                                                                            07054-
PNY TECHNOLOGIES INCORPORATED         299 WEBRO ROAD                                        PARSIPPANY         NJ           0218                     Vendor Terms Agreement
POE SALES DBA ROSS JOSEPH DESIGN      647 N LAKEVIEW PARKWAY                                VERNON HILLS       IL           60061                    Vendor Terms Agreement
                                                                                                                            11042-
POLAR ELECTRO INC                     1111 MARCUS AVE                                       LAKE SUCCESS       NY           1111                     Vendor Terms Agreement
POLAR FOODS                           15203 SHOEMAKER AVENUE                                NORWALK            CA           90650                    Vendor Terms Agreement
POLDER PRODUCTS LLC                   195 CHRISTIAN STREET                                  OXFORD             CT           06478                    Vendor Terms Agreement
POLYESTER FIBERS LLC                  1820 EVANS STREET NE                                  CONOVER            NC           28613                    Vendor Terms Agreement




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            Contract Counterparty                         Address1                       Address2                  City        State   Postal Code    Country        Debtor's Interest              Lease             Remaining Term              Government Contract

                                                                                                        HEARD &                                      HONG
POLYFECT TOY COMPANY LIMITED                  HOUSTON CENTER RM 916 917                                 MCDONALD ISLANDS                             KONG       Vendor Terms Agreement
POLYGROUP TRADING LIMITED                     AVENIDA XIAN XING HAI                                     MACAU                                        CHINA      Vendor Terms Agreement
                                                                                                        PONTE VERDA
PONTE VEDRA GIFTS & ACCESSORIES               5150 PALM VALLEY ROAD STE 102                             BEACH            FL            32082                    Vendor Terms Agreement

                                              c/co Pontus Net Lease Advisors
Pontus SK Portfolio, LLC                      LLC 875 Prospect St, Ste 303                              La Jolla          CA           92037                    Lease                                 10/13/2016              10/31/2034

                                              c/co Pontus Net Lease Advisors
Pontus SK Portfolio, LLC                      LLC 875 Prospect St, Ste 303                              La Jolla          CA           92037                    Lease                                 10/13/2016              10/31/2034

                                              c/co Pontus Net Lease Advisors
Pontus SK Portfolio, LLC                      LLC 875 Prospect St, Ste 303                              La Jolla          CA           92037                    Lease                                 10/13/2016              10/31/2034
Pontus SK Portfolio, LLC                      500 N CENTRAL AVE                                         SIDNEY            MT           59270                    Operating Lease                       10/13/2016               2/28/2031                 N/A
Pontus SK Portfolio, LLC                      1120 S.T.H. 67                                            KIEL              WI           53042                    Operating Lease                       10/13/2016              10/31/2034                 N/A
                                                                                                                                       07004-
POOF SLINKY INCORPORATED                      40 LANE ROAD                                              FAIRFIELD         NJ           0000                     Vendor Terms Agreement
POP GOURMET LLC                               13400 INTERURBAN AVENUE                                   TUKWILA           WA           98168                    Vendor Terms Agreement
                                                                                                        RANCHO
POPCHIPS INCORPORATED                         3064 E MARIA STREET                                       DOMINGUEZ         CA           90221                    Vendor Terms Agreement
                                                                                                                                                                Front-end Checkout Space
Popcorn Indiana                               4020 Kinross Lakes Parkway                                Richfield         OH           44286                    Agreement                                7/1/2018               6/30/2019
POPSOCKETS LLC                                3033 STERLING CIRCLE                                      BOULDER           CO           80301                    Vendor Terms Agreement
                                                                                                                                                                                                 12/9/2013 + 2x24   120 day written notice
Port Logistics Group                          3711 142nd Ave. East                                      Sumner            WA           98390                    Trucker/Transloader              month extensions       to the other party.
Portage Health                                500 Campus Drive                                          Hancock           MI           49930                    340B Contract                          1/15/2013
POTTERY LAND LLC                              1 BATES BOULEVARD STE 400                                 ORINDA            CA           94563                    Vendor Terms Agreement
Powell Valley Healtcare                       777 Avenue H                                              Powell            WY           82435                    340B Contract                          7/12/2016
Power Reviews                                 1 N Dearborn                     Ste 800                  Chicago           IL           60602                    Social media integration              11/17/2018                 4 months

                                                                                                                                                                Provide ratings and reviews
Power Reviews                                 1 N Dearborn                     Ste 800                  Chicago           IL           60602                    for Ecommerce site                      11/7/2018                9 months
POWERTEX GROUP                                5653 HIGHWAY 93                                           EAU CLAIRE        WI           54701                    Vendor Terms Agreement
PPG                                           32 Hickory Street                                         Mahtomedi         MN           55115                    2 YR Agreement
                                                                                                        CRANBERRY                      16066-
PPG INDUSTRIES INC                            400 BERTHA LAMME DRIVE                                    TOWNSHIP          PA           5229                     Vendor Terms Agreement
PPG Yuma, LLC                                 1577 Zinc Street                                          Loveland          CO           80537                    Lease                                   6/30/2015               6/30/2025
PPG Yuma, LLC                                 502 E 8TH AVE                                             YUMA              CO           80759                    Operating Lease                         6/30/2015               6/30/2022                N/A
Prairie Ridge Hospital and Health Services    1411 Hwy 79 East                                          Elbow Lake        MN           56531                    340B Contract                           6/28/2018
PRECIDIO DESIGN INCORPORATED                  72 DEVON ROAD UNIT 1                                      BRAMPTON          ON           L6T 5B4       Canada     Vendor Terms Agreement

PRECIOUS MOMENTS INCORPORATED                 PO BOX 802 4105 CHAPEL ROAD                               CARTHAGE          MO           64836                    Vendor Terms Agreement
Precision Landscape Inc.                      206 W. Main Street                                        Eleroy            IL           61027                    Lawn Care ST120
PREMIER CARE INDUSTRIES                       100 OSER AVENUE                                           HAUPPAUGE         NY           11788                    Vendor Terms Agreement
Premier Landscape Services Inc.               10014 E Montgomery Dr #9                                  Spokane Valley    WA           99206                    Lawn Care ST129
                                                                                                                                       15046-
PREMIER PAN COMPANY INC                       33 MCGOVERN BLVD                                          CRESCENT          PA           0000                     Vendor Terms Agreement
                                              2125 BROADWAY NORTH EAST
PREMIUM WATERS INCORPORATED                   STREET                                                    MINNEAPOLIS       MN           55413                    Vendor Terms Agreement
                                              3701 WEST PLANO PARKWAY
PRESSMAN DBA GOLIATH                          SUITE 100                                                 PLANO             TX           75075                    Vendor Terms Agreement
PRESSMAN TOY CORPORATION                      121 NEW ENGLAND AVENUE                                    PISCATAWAY        NJ           08854                    Vendor Terms Agreement


                                                                                                                                                                1. Agent contract signed
                                                                                                                                                                12/5/2012. 2. First
                                                                                                                                                                Amendment, rate reduction
                                                                                                                                                                signed 12/22/2017. 3.
                                                                                                                                                                Supplement to reflect
                                              3f., No 156, Jiankang Rd,        42 West 38th ST, #802,                                                Taiwan     staffing support and volume
Prestige Global Co, LTD                       Songshan Dist                    New York, NY 10018       Taipei City                                  ROC        signed 12/22/2017




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             Contract Counterparty                         Address1                 Address2                City         State   Postal Code     Country        Debtor's Interest              Lease            Remaining Term              Government Contract
                                                                                                                                               Taiwan                                                        30 day written notice by
Prestige Global Co., LTD                      Suite A, 8th Fl, No. 170       Tung Hwa N. Rd.     Taipei                                        ROC         Buying Agency Agreement                 12/5/2012             either party
                                                                                                                                                           Software Services
                                                                                                                                                           Agreement and Statement
PRGX USA, Inc                                 6900 Wedgwood Road N          Suite 250            Maple Grove        MN           55311                     of Work #1                              11/1/2011              4/30/2019
                                              63 FLUSHING AVE UNIT 321 BLDG
PRICELESS RESOURCE INCORPORATED               11A                                                BROOKLYN           NY           11205                     Vendor Terms Agreement
PRIDE GARDEN PRODUCTS                         500 WEST SELLERS AVENUE                            RIDLEY PARK        PA           19078                     Vendor Terms Agreement
PRIMARY ONE                                   66 31 OTTO ROAD                                    GLENDALE           NY           11385                     Vendor Terms Agreement
                                              18325 WATERVIEW PARKWAY
PRIME ART & JEWEL INCORPORATED                SUITE B13330                                       DALLAS             TX           75252                     Vendor Terms Agreement
Prime Space LLC.                              1490 Oneida St                                     APPLETON           WI           54915                     Operating Lease                         12/7/2018                1/0/1900               N/A
                                                                                                                                               HONG
PRIME TIME TOYS LTD                           151 HOI BUN ROAD                                   KWUNG TONG                                    KONG        Vendor Terms Agreement
PRIMITIVES BY KATHY INC                       1817 WILLIAM PENN WAY                              LANCASTER          PA           17601                     Vendor Terms Agreement
PRIMO INTERNATIONAL INC                       7000 HOCHELAGA STREET                              MONTREAL           QC           H1N 1Y7       Canada      Vendor Terms Agreement
PRINCE LIONHEART INCORPORATED                 2421 S WESTGATE ROAD                               SANTA MARIA        CA           93455                     Vendor Terms Agreement

PRINCE OF PEACE ENTERPRISE INC                751 NORTH CANYONS PARKWAY                          LIVERMORE          CA           94551                     Vendor Terms Agreement
PRINCESS PARADISE                             1833 E HARMONY ROAD                                FORT COLLINS       CO           80528                     Vendor Terms Agreement
PRIVY INC                                     933 TOWNE AVE SUITE 104                            LOS ANGELES        CA           90021                     Vendor Terms Agreement
PRO BIOTIKS INC                               PO BOX 12608                                       OGDEN              UT           84412                     Vendor Terms Agreement
PRO PERFORMANCE SPORTS LLC DBA S              2081 FARADAY AVENUE                                CARLSBAD           CA           92008                     Vendor Terms Agreement
PRO PET LLC                                   1400 MCKINLEY ROAD                                 ST MARYS           OH           45885                     Vendor Terms Agreement
PROCORE PHARMA LLC                            1601 ELM STREET #3                                 DALLAS             TX           75201                     Vendor Terms Agreement
                                                                                                                                 21030-
PROCTER & GAMBLE DISTRIBUTING                 110505 YORK ROAD                                   HUNT VALLEY        MD           2098                      Vendor Terms Agreement
PRODUCT QUEST MANUFACTURING LLC               330 CARSWELL AVENUE                                DAYTONA BEACH      FL           32117                     Vendor Terms Agreement
PROFOOT INCORPORATED                          74 20TH STREET                                     BROOKLYN           NY           11232                     Vendor Terms Agreement
PROFUSION COSMETICS                           5491 SCHAEFER AVENUE                               CHINO              CA           91710                     Vendor Terms Agreement
                                                                                                                                 60046-
PROFUSION COSMETICS CORP DBA PRO              610 GREENBRIAR LANE                                LINDENHURST        IL           0000                      Vendor Terms Agreement
                                                                                                                                 43502-
PROGRESSIVE FURNITURE INC                     502 MIDDLE STREET                                  ARCHBOLD           OH           0308                      Vendor Terms Agreement
PROGRESSIVE INTERNATIONAL                     6111 S 228TH STREET                                KENT               WA           98032                     Vendor Terms Agreement
Progressive Lawn Care & Summit Snow
Removal LLC.                                  3320 Engel Road                                    Wisconsin Rapids   WI           54495                     Lawn Care ST012
                                              501 CASCADE POINTE LANE STE                                                        27513-
PROMIKA LLC                                   102                                                CARY               NC           0000                      Vendor Terms Agreement
                                              5741 BUCKINGHAM PARKWAY
PROMOUNTS SCADLOCK LLC                        UNIT C                                             CULVER CITY        CA           90230                     Vendor Terms Agreement
PROPHASE LABS INCORPORATED                    PO BOX 1349                                        DOYLESTOWN         PA           18901                     Vendor Terms Agreement
                                                                                                                                                           Quarterly Payroll for
PRO'S CHOICE                                  35 Sawgrass Drive, Suite 4                         Bellport           NY           11713                     Assistant Buyer                                     ?            On Going
                                                                                                                                 11713-
PROS CHOICE BEAUTY CARE INCORPOR              35 SAWGRASS DRIVE STE 4                            BELLPORT           NY           0000                      Vendor Terms Agreement
Prosser Public District Hospital of Benton
County DBA Prosser Memorial Hospital          723 Memorial Street                                Prosser            WA           99350                     340B Contract                           7/12/2017             11/17/2017
PROTECT PLUS INDUSTRIES LLC                   PO BOX 9181                                        HICKORY            NC           28603                     Vendor Terms Agreement
Protection 1                                  1996 S Otsego                                      Gaylord            MI           49735                     burglary, fire monitoring

PS BRANDS DBA PLANET SOX                      100 W 33RD STREET 11TH FLOOR                       NEW YORK           NY           10001                     Vendor Terms Agreement

PT INTEGRA PRODUCTS                           DESA BETRO KEC SEDALI                              SURABAYA                                      INDONESIA Vendor Terms Agreement
PTI GROUP INCORPORATED                        871 MIDPOINT DRIVE                                 O FALLON           MO           63366                   Vendor Terms Agreement
PUBLICATIONS INTERNATIONAL LIMIT              7373 NORTH CICERO AVENUE                           LINCOLNWOOD        IL           60646                   Vendor Terms Agreement
PUBLISHER SERVICES INCORPORATED               3095 KINGSTON COURT                                NORCROSS           GA           30071                   Vendor Terms Agreement
PULEO ASIA                                    3614 KENNEDY RD                                    SOUTH PLAINFIELD   NJ           07080                   Vendor Terms Agreement
PULSE CREATIONS INCORPORATED                  1410 BROADWAY SUITE 1904                           NEW YORK           NY           10018                   Vendor Terms Agreement
                                              112 WEST 34TH STREET 5TH
PUMA KIDS                                     FLOOR                                              NEW YORK           NY           10120                     Vendor Terms Agreement
PUMA NORTH AMERICA INC                        10 LYBERTY WAY                                     WESTFORD           MA           01886                     Vendor Terms Agreement

PUMA WHEAT ACCESSORIES                        17075 CAMINO SAN BERNARDO                          SAN DIEGO          CA           92127                     Vendor Terms Agreement




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           Contract Counterparty                       Address1                    Address2                     City          State   Postal Code   Country         Debtor's Interest             Lease           Remaining Term              Government Contract
PUMPONATOR INCORPORATED                     30 CONGRESS ST STE 207                                    YORK               SC           29745                   Vendor Terms Agreement
PURE FISHING                                7 SCIENCE COURT                                           COLUMBIA           SC           29203                   Vendor Terms Agreement
PURE GLOBAL BRANDS                          PO BOX 38673                                              DALLAS             TX           75238                   Vendor Terms Agreement
PURE SUN DEFENSE LLC                        680 5TH AVENUE FL 8                                       NEW YORK           NY           10019                   Vendor Terms Agreement
QFX INC                                     2957 EAST 46TH ST                                         VERNON             CA           90058                   Vendor Terms Agreement
                                                                                                                                                              Printing and Pre-Press
Quad Graphics                               N61W23044 Harry's Way                                     Sussex             WI           53089                   Services                                1/31/2010           1/31/2022
                                                                                                                                                              Pre-Press Services (ongoing
Quad/Graphics Inc: Blue Soho - Pre-Press    N63 W23075 Main Street                                    Sussex             WI           53089                   image work)                              2/3/2019         thru 1/29/22
                                                                                                                                      11713-
QUALITY KING                                35 SAW GRASS DR STE 2                                     BELLPORT           NY           1548                    Vendor Terms Agreement
Quality Sounds                              427 S Showboat Blvd                                       Hastings           NE           68902                   DC Music
                                                                                                                                                              Qualys Master Cloud
Qualys, Inc.                                919 E Hillsdale Blvd                                      Foster City        CA           94404                   Services Agreement                       9/1/2018          10/13/2019
QUEST PRODUCTS INC                          8201 104TH STREET STE 200                                 PLEASANT PRAIRIE   WI           53158                   Vendor Terms Agreement
QUEST SALES & SERVICE INCORPORAT            1400 RAFF ROAD SW                                         CANTON             OH           44750                   Vendor Terms Agreement
                                                                                                                                                              User License Agreement
Quest Software                              220 West Mercer Street          Suite 410                 Seattle            WA           98199                   04/18/2006                                                 12/31/2019
                                                                                                                                                              User License Agreement -
Quest Software                              220 West Mercer Street          Suite 410                 Seattle            WA           98199                   Vranger                               12/30/2018           12/31/2019
                                                                                                                                                              L00080 MADISON WI
                                                                                                                                                              Release of developmental
QuickDraw Capital, LLC                      2201 Zeier Rd.                                            Madison            WI           53704                   Parcel                                   9/1/2016          11/30/2029                   N/A
Quincy 28-13, LLC                           4421 N. Center Rd                                         Spokane            WA           99212                   Lease                                    3/7/2014          11/30/2029
Quincy 28-13, LLC                           814 13TH AVENUE SW                                        QUINCY             WA           98848                   Operating Lease                          3/7/2014          11/30/2029                   N/A

QUINCY BIOSCIENCE DBA PREVAGEN I            301 S WESTFIELD ROAD STE 200                              MADISON            WI           53717                   Vendor Terms Agreement
Qunicy Valley Medical Center                908 10th Avenue SW                                        Qunicy             WA           98848                   340B Contract                           6/19/2019
QUTEN RESEARCH INSTITUTE LLC                22 AUDREY PLACE STE B                                     FAIRFIELD          NJ           07004                   Vendor Terms Agreement
                                                                                                                                                                                                                                          CenturyLink Line volume plan
                                                                            1801 California Street,                                                           Telecommunications                                                       CenturyLink total Advantage Express
Qwest Corporation d/b/a CentryLink QC       Attn: Legal Department          Suite 900                 Denver             CO           80202                   servers                                 6/13/2016           6/12/2019                Agreement
R & D DISTRIBUTORS                          PO BOX 638                                                ELKHART            IN           46516                   Vendor Terms Agreement
                                            7050 NEW HORIZONS
R & M INDUSTRIES                            BOULEVARD                                                 NORTH AMITYVILLE   NY           11701                   Vendor Terms Agreement

R AND A BRANDS INC                          1450 BROADWAY 22ND FLOOR                                  NEW YORK           NY           10018                   Vendor Terms Agreement
R AND J ALMONDS                             G-4254 FENTON RD                                          FLINT              MI           48507                   Vendor Terms Agreement
R G BARRY CORPORATION                       13405 YARMOUTH ROAD NW                                    PICKERINGTON       OH           43147                   Vendor Terms Agreement
R L ALBERT & SON INCORPORATED               60 LONG RIDGE ROAD                                        STAMFORD           CT           06902                   Vendor Terms Agreement
                                                                                                                                      19603-
R M PALMER COMPANY                          PO BOX 1793                                               READING            PA           1723                    Vendor Terms Agreement
R. Lewis & R. Lewis Brillion, Inc.          P.O. Box 22190                                            Green Bay          WI           54305                   Lease                                    6/2/2011          11/30/2026
R. Lewis & R. Lewis Brillion, Inc.          1010 W. RYAN STREET                                       BRILLION           WI           54110                   Operating Lease                          6/2/2011          11/30/2026                   N/A

R2P GROUP INC DBA R2P PET                   31 5880 WEST LAS POSITAS BLVD                             PLEASANTON         CA           94588                   Vendor Terms Agreement
RAD CLOTHING DIV OF UNGER FABRIK            13071 TEMPLE AVE                                          CITY OF INDUSTRY   CA           91746                   Vendor Terms Agreement
Radial                                      1435 International Dr                                     Eau Claire         WI           54701                   customer service
                                            801 SOUTH FIGUEROA STREET
RADIANT ENTERPRISE                          STE 2500                                                  LOS ANGELES        CA           90017                   Vendor Terms Agreement
RADIO ROAD TOYS LLC                         4720 RADIO ROAD                                           NAPLES             FL           34104                   Vendor Terms Agreement

RADZ BRANDS LLC                             1104 NW 15TH AVENUE STE 400                               PORTLAND           OR           97209                   Vendor Terms Agreement
RAINBOW LIGHT NUTRITIONAL SYSTEM            100 AVENUE TEA                                            SANTA CRUZ         CA           95060                   Vendor Terms Agreement
                                            31500 Northwestern Highway
Ramco Properties                            Suite 300                                                 Farmington         MI           48334                   Lease                                   9/24/2018           2/29/2024
Ramco Properties                            1166 W SUNSET DRIVE                                       WAUKESHA           WI           53189                   Operating Lease                         9/24/2018           2/29/2024                   N/A
Ramos Landscaping                           401 K St SW                                               Quincy             WA           98848                   Lawn Care ST794
                                            656 JOSEPH WARNER
RANDA ACCESSORIES                           BOULEVARD                                                 TAUNTON            MA           02780                   Vendor Terms Agreement
Randy Lee                                   1445 South Main St                                        Blanding           UT           84511                   Lawn Care ST583
Randy Ryan                                  PO Box 465                                                Anthony            KS           67003                   Lawn Care ST538
                                                                                                                                      45807-
RANGE KLEEN MANUFACTURING INCORP            4240 EAST RD                                              LIMA               OH           0000                    Vendor Terms Agreement




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              Contract Counterparty                    Address1                      Address2           City          State   Postal Code   Country        Debtor's Interest               Lease           Remaining Term          Government Contract
RANIR L L C                                  PO BOX 8877                                         GRAND RAPIDS    MI           49512                   Vendor Terms Agreement

RANKAM METAL PRODUCTS MANUFACTOR             1618 W ROSECRANS AVENUE                             GARDENA         CA           90249                   Vendor Terms Agreement
Rapid City Regional Hospital DBA Regional
Health Rapid City Hospital                   353 Fairmont Blvd.                                  Rapid City      SD           57701                   340B Contract                            4/11/2018
                                             12 WEST 21ST STREET 11TH
RAUCH INDUSTRIES INCORPORATED                FLOOR                                               NEW YORK        NY           10010                   Vendor Terms Agreement
RAVENSBURGER USA INC                         ONE PUZZLE LANE                                     NEWTON          NH           03858                   Vendor Terms Agreement
                                             510 MARYVILLE UNIVERSITY DR                                                      63141-
RAWLINGS SPORTING GOODS COMPANY              STE 110                                             SAINT LOUIS     MO           5842                    Vendor Terms Agreement
RAY PADULA HOLDINGS LLC                      16 EAST 34TH STREET                                 NEW YORK        NY           10016                   Vendor Terms Agreement

Raymond J. O'Connor and Jennifer S. O'Connor 2502 A North Webb Road                              Grand Island    NE           38802                   Lease                                  12/15/2014           11/30/2034
Rayne Company, Inc                           P.O. Box 77                                         Dodge City      KS           67801                   Lease                                  12/23/2002           10/31/2022
Rayne Company, Inc                           515 EAST OKLAHOMA AVENUE                            ULYSSES         KS           67880                   Operating Lease                        12/23/2002           10/31/2022              N/A
                                                                                                                                                      Front end fixture/ Fast Rack
Rayovac                                      3001 DEMING WAY                                     MIDDLETON       WI           53562                   Placement
RAZBABY INNOVATIVE BABY PRODUCTS             6875 SW 81 STREET                                   MIAMI           FL           33143                   Vendor Terms Agreement
RAZOR USA L L C                              16200A CARMENITA                                    CERRITOS        CA           90703                   Vendor Terms Agreement
                                                                                                                              92376-
RBI TOYS INCORPORATED                        371 W TULLOCK STREET                                RIALTO          CA           7702                    Vendor Terms Agreement
RCAA Owner, LLC                              501 East 74th Street Suite 18A                      New York        NY           10021                   Lease                                   9/30/2015           11/30/2034
RCAA Owner, LLC                              1845 HAINES AVE                                     RAPID CITY      SD           57701                   Operating Lease                         9/30/2015           11/30/2034              N/A
RCM Wausau LLC                               3021 Cullerton Drive                                Franklin Park   IL           60131                   Lease                                  12/15/2014            1/31/2023
RCM Wausau LLC                               3021 Cullerton Drive                                Franklin Park   IL           60131                   Lease                                  12/15/2014            1/31/2023
RCM Wausau LLC                               1039 E. GRAND AVE.                                  ROTHSCHILD      WI           54474                   Operating Lease - OPT                   12/1/1991            1/31/2023              N/A
RDG GLOBAL LLC                               530 SEVENTH AVENUE S 302                            NEW YORK        NY           10018                   Vendor Terms Agreement

RE THINK IT INCORPORATED                     6869 STAPOINT COURT STE 107                         WINTER PARK     FL           32792                   Vendor Terms Agreement
Readerlink                                   32 West State Street             Fourth Floor       Sharon          PA           16146                   Exclusivity Agreement
READERLINK DISTRIBUTION SERVICES             4201 RAYMOND DRIVE                                  HILLSIDE        IL           60162                   Vendor Terms Agreement
Realty Income Corporation                    11995 El Camino Real                                San Diego       CA           92130                   Lease                                    3/30/2015           6/30/2025
Realty Income Corporation                    11995 El Camino Real                                San Diego       CA           92130                   Lease                                    3/30/2015           6/30/2025
Realty Income Corporation                    11995 El Camino Real                                San Diego       CA           92130                   Lease                                    9/29/2015           1/31/2026
Realty Income Corporation                    11995 El Camino Real                                San Diego       CA           92130                   Lease                                    9/29/2015           1/31/2026
Realty Income Corporation                    11995 El Camino Real                                San Diego       CA           92130                   Lease                                    9/29/2015           1/31/2026
Realty Income Corporation                    216 MAIN AVENUE NE                                  WARROAD         MN           56763                   Operating Lease                          3/30/2015           6/30/2025              N/A
Realty Income Corporation                    810 DIEKMANN DRIVE                                  PAYNESVILLE     MN           56362                   Operating Lease                          3/30/2015           6/30/2025              N/A
Realty Income Corporation                    935 3RD STREET SE                                   MAYVILLE        ND           58257                   Operating Lease                          9/29/2015           1/31/2026              N/A
Realty Income Corporation                    1401 STATE STREET                                   PHILLIPSBURG    KS           67661                   Operating Lease                          9/29/2015           1/31/2026              N/A
Realty Income Corporation                    1180 S 16TH ST                                      CLARINDA        IA           51632                   Operating Lease                          9/29/2015           1/31/2026              N/A
                                             11995 El Camino Real Attn: Legal
Realty Income Properties 28, LLC             Dept.                                               San Diego       CA           92130                   Lease                                  10/13/2006             2/3/2029
                                             11995 El Camino Real Attn: Legal
Realty Income Properties 28, LLC             Dept.                                               San Diego       CA           92130                   Lease                                   11/7/2007            1/27/2029
Realty Income Properties 28, LLC             2320 LINEVILLE ROAD                                 GREEN BAY       WI           54313                   Operating Lease                        10/13/2006            2/28/2029              N/A
Realty Income Properties 28, LLC             N 66 W 25201 COUNTY VV                              SUSSEX          WI           53089                   Operating Lease                         11/7/2007            1/31/2029              N/A
Realty Income Texas Properties 1, LLC        11995 El Camino Real                                San Diego       CA           92130                   Lease                                   9/29/2015            1/31/2026
Realty Income Texas Properties 1, LLC        1000 US BUSINESS 67                                 PRESIDIO        TX           79845                   Operating Lease                         9/29/2015            1/31/2026              N/A
Realty Trust Group Inc                       2300 South 48th Street Suite 1                      Lincoln         NE           68506                   Lease                                   1/14/2000            1/30/2021

Realty Trust Group Inc. a Delaware Corporation 6845 SOUTH 27TH STREET                            LINCOLN         NE           68512                   Capital Lease                            1/14/2000           1/31/2021              N/A
                                                                                                                              60143-
RECKITT BENCKISER INCORPORATED               ONE PIERCE PLACE                                    ITASCA          IL           0000                    Vendor Terms Agreement
RECYCLED KARMA BRANDS LLC                    5839 GREEN VALLEY CIRCLE                            CULVER CITY     CA           90230                   Vendor Terms Agreement
                                             One East Washington Street Suite
Red Bishop Heights JV, LLC                   300                                                 Phoenix         AZ           85004                   Lease                                    3/30/2015          11/30/2029
                                                                                                                                                      Checkstand Cooler Funding
Red Bull                                     180 N Wacker Drive 5th Floor                        Chicago         IL           60606                   Agreement                                7/15/2018           7/13/2019
RED LETTER PRESS                             PO BOX 393                                          SADDLE RIVER    NJ           07458                   Vendor Terms Agreement
Red Wing Lawn Care                           229 Juniper Ave                                     Red Wing        MN           55066                   Lawn Care ST512




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             Contract Counterparty                        Address1                     Address2               City        State   Postal Code    Country          Debtor's Interest            Lease           Remaining Term          Government Contract
                                                                                                                                                           Portal to track Wellness
                                                                                                                                                           activities and administers
                                                                                                                                                           the earned dollary
                                                                                                                                                           communication to fund
                                                                                                                                                           health savings or health
RedBrick Services Agreement                   510 Marquette Ave, Suite 500                          Minneapolis      MN           55402                    reimbursement accounts.                  1/1/2017          12/31/2019
                                                                                                                                                HONG
REDEN INTERNATIONAL LIMITED                   WORKSHOP 13 18 17F                                    SHATIN                                      KONG       Vendor Terms Agreement
REDEX INDUSTRIES INCORPORAATED                1176 SALEM PARKWAY                                    SALEM            OH           44460                    Vendor Terms Agreement
                                              23/F GOLD UNION COMMERCIAL                                                                        HONG
REDWOOD VENTURES LIMITED                      BLDG                                                                                              KONG       Vendor Terms Agreement
REESE PHARMACEUTICAL                          10617 FRANK AVENUE                                    CLEVELAND        OH           44106                    Vendor Terms Agreement
REEVES INTERNATIONAL INCORPORATE              14 INDUSTRIAL ROAD                                    PEQUANNOCK       NJ           07440                    Vendor Terms Agreement

REFLEX PERFORMANCE RESOURCES INC              525 FASHION AVENUE STE 1607                           NEW YORK         NY           10018                    Vendor Terms Agreement
REFLEX TRADING INC                            1100 S SAN PEDRO STREET D4                            LOS ANGELES      CA           90015                    Vendor Terms Agreement
                                              1625 BOULEVARD DAGENAIS
REGAL CONFECTIONS INC                         WEST                                                  LAVAL            QC           H7L 5A3       Canada     Vendor Terms Agreement
REGENCY INTERNATIONAL MARKETING               10F 310 SEC 4                                         TAIPEI                                      TAIWAN     Vendor Terms Agreement
                                              c/o Regency Commercial
                                              Associates LLC 380 Cross Pointe
Regency North Indiana LLC                     Blvd                                                  Evansville       IN           47715                    Lease                                    4/1/2015          12/31/2025
Regency North Indiana LLC                     2052 E COMMERCIAL AVE                                 LOWELL           IN           46356                    Operating Lease                          4/1/2015          12/31/2025              N/A
REGENT SPORTS CORPORATION                     45 RANICK ROAD                                        HAUPPAUGE        NY           11787                    Vendor Terms Agreement
REGENT SUTTON L L C                           1411 BROADWAY 7TH FLOOR                               NEW YORK         NY           10018                    Vendor Terms Agreement

REGENT SUTTON L L C                           1411 BROADWAY 7TH AVENUE                              NEW YORK         NY           10018                    Vendor Terms Agreement
Regional Health Network Inc. DBA Regional
Health Sturgis Hospital                       2140 Junction Ave                                     Sturgis          SD           57785                    340B Contract                           4/11/2018
Regional Health Network, Inc. DBA Regional
Health Spearfish Hospital                     1440 North Main                                       Spearfish        SD           57783                    340B Contract                           4/11/2018
Regional Health Services of Howard County     235 8th Avenue West                                   Cresco           IA           52136                    340B Contract                           4/14/2016
Relay Health                                  5995 Windward Pkwy                                    Alpharetta       GA           30005                    Division of McKesson
RELIABLE OF MILWAUKEE                         PO BOX 563                                            MILWAUKEE        WI           53201                    Vendor Terms Agreement
RELIANCE VITAMIN COMPANY INC                  3775 PARK AVENUE UNIT #1                              EDISON           NJ           08820                    Vendor Terms Agreement
Rem Eyewear                                   10941 LaTune Canyon                                   Sun Valley       CA           91352                    Optical Frames
RENAISSANCE IMPORTS INCORPORATED              3201 GRIBBLE ROAD                                     MATTHEWS         NC           28104                    Vendor Terms Agreement
                                                                                                                                  75320-
RENEW LIFE FORMULAS INC                       PO BOX 206933                                         DALLAS           TX           6933                     Vendor Terms Agreement
RENFRO INCORPORATED                           PO BOX 908                                            MOUNT AIRY       NC           27030                    Vendor Terms Agreement
RENPURE LLC                                   7120 SHADY OAK ROAD                                   EDEN PRAIRIE     MN           55344                    Vendor Terms Agreement
RESOLUTE TISSUE                               6N241 WOODVIEW CT                                     ST CHARLES       IL           60175                    Vendor Terms Agreement
RESOURCE CLUB LIMITED                         99 HOOK ROAD UNIT #5                                  BAYONNE          NJ           07002                    Vendor Terms Agreement
RESPONSIVE PRODUCT MARKETING INT              50 W FERNAU AVENUE                                    OSHKOSH          WI           54901                    Vendor Terms Agreement

                                              c/o Ernst Capital Group LLC 101
Retail on 41st Street, LLC                    South Reid Street Suite 209                           Sioux Falls      SD           57103                    Lease                                 12/15/2014           12/31/2035
Retail on 41st Street, LLC                    1601 W. 41ST ST                                       SIOUX FALLS      SD           57105                    Operating Lease                       12/15/2014           12/31/2035              N/A

RETAIL SALES SOLUTIONS                        4863 SHAWLINE STREET SUITE D                          SAN DIEGO        CA           92111                    Vendor Terms Agreement

RETAIL SALES SOLUTIONS L L C                  10001 INNOVATION DR STE 101                           WAUWATOSA        WI           53226                    Vendor Terms Agreement
                                                                                                                                                           Provides: In-store
                                                                                                                                                           competitive prices from 3
                                                                                                                                                           different stores for ~1k
                                                                                                                                                           Shopko products on a
RETAILDATA, LLC                               WestMark II, 11013 W. Broad St                        Glen Allen       VA           23060                    monthly basis.                           7/1/2012      Month to Month

RetailNEXT                                    60 S. Market Street               Floor 10            San Jose         CA           95113                    Master Services Agreement               9/23/2013                None
Retreat on Roslyn, LLC                        9100 Wilshire Blvd Suite 360E                         Beverly Hills    CA           90212                    Lease                                   4/15/2015           5/31/2026
Retreat on Roslyn, LLC                        1553 WEST 9000 S                                      WEST JORDAN      UT           84088                    Operating Lease                         4/15/2015           5/31/2026              N/A




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                                                                                                                                               Lease and Nature of          Date of Contract or                             List Contract Number of Any
             Contract Counterparty                   Address1              Address2          City           State   Postal Code   Country        Debtor's Interest                Lease              Remaining Term             Government Contract

                                                                                                                                            Email Deliverability
                                                                                                                                            Certification and Inbox
                                                                                                                                            Placement software;
                                                                                                                                            current Insertion Order
ReturnPath                               3 Park Avenue                                New York         NY           10016                   valid through Sept 12, 2020

                                                                                                                                            Revionics Analytics Services
                                                                                                                                            provides: Elasticity
                                                                                                                                            Workbench, Store Zone
                                         2998 Douglas Blvd,                                                                                 Clustering, KVI Analysis,
Revionics, Inc                           Roseville, CA 95661                          Roseville        CA           95661                   Item Clustering Analysis                   7/8/2016                7/7/2019
REVISE CLOTHING INCORPORATED             20 HENRY STREET                              TETERBORO        NJ           07608                   Vendor Terms Agreement
                                                                                                                    10004-
REVLON INCORPORATED ALMAY                ONE NEW YORK PLAZA                           NEW YORK         NY           0000                    Vendor Terms Agreement
RFA HOLDING GROUP LLC                    385 5TH AVENUE 4TH FLOOR                     NEW YORK         NY           10016                   Vendor Terms Agreement
RHODE ISLAND TEXTILE CO INC              211 COLUMBUS AVENUE                          PAWTUCKET        RI           02861                   Vendor Terms Agreement
RICARDO BEVERLY HILLS INC                6329 SOUTH 226TH STREET                      KENT             WA           98032                   Vendor Terms Agreement

Richard C. Kelly                         625 Brownsboro Meridian Road                 Eagle Point      OR           97524                   Lease                                     5/22/1996              10/31/2021
Richard C. Kelly                         106 SMITH STREET                             BLOOMFIELD       IA           52537                   Operating Lease                           5/22/1996              10/31/2021                N/A
Richard Mau & Donna Mau/Richard Bogue    3002 Okoboji Blvd                            Milford          IA           51351                   Lease                                     11/4/1981               6/17/2021
Richard Mau & Donna Mau/Richard Bogue    202 SUSAN LAWRENCE DRIVE                     IDA GROVE        IA           51445                   Operating Lease                           11/4/1981               6/30/2021                N/A
Richard Wilmore                          925 N Wilson St                              Ulysses          KS           67880                   Lawn Care ST536
                                                                                                                    97228-
RICHARDS HOMEWARES INCORPORATED          PO BOX 5397                                  PORTLAND         OR           5397                    Vendor Terms Agreement
                                         555 Cornhusker Road Suite 203 &
Richmont Pointe II, LLC.                 204                                          BELLEVUE         NE           68005                   Operating Lease                           1/15/2019                1/0/1900                N/A

Rich's Lawn Care                         12620 Hot Brook Canyon Road                  Hot Springs      SD           57747                   Lawn Care ST753
Rick Folkestad                           22 S 9th St                                  Oakes            ND           58474                   Lawn Care ST552
Rick Hodfield                            113 Rock Bluff Rd                            Plattsmouth      NE           68048                   Lawn Care ST662
Rick Houske                              884 Horseshoe Drive                          Willmar          MN           56201                   Lawn Care ST567
Rick Steptens                            PO Box 40                                    Burke            SD           57523                   Lawn Care ST570
RICO INDUSTRIES INCORPORATED             7000 N AUSTIN                                NILES            IL           60714                   Vendor Terms Agreement
                                         9801 W HIGGENS ROAD 8TH
RIDDELL                                  FLOOR                                        ROSEMONT         IL           60018                   Vendor Terms Agreement
Ringgold County Hospital                 504 N. Cleveland Street                      Mount Ayr        IA           50854                   340B Contract                             8/14/2017
RIO BRANDS LLC                           100 FRONT STREET STE 1350                    CONSHOHOCKEN     PA           19428                   Vendor Terms Agreement
RIPPLE JUNCTION DESIGN COMPANY           11529 GOLDCOAST DRIVE                        CINCINNATI       OH           45249                   Vendor Terms Agreement
RIVERS EDGE TREESTANDS                   1160 8TH AVE                                 CUMBERLAND       WI           54829                   Vendor Terms Agreement
Riverside Medical Center, Inc.           225 Memorial Drive                           Berlin           WI           54923                   Lease                                     3/31/1998              12/31/2018
Riverside Medical Center, Inc.           800 Riverside Drive                          WAUPACA          WI           54981                   Operating Lease                           3/31/1998              12/31/2019                N/A
                                         231 WEST 39TH STREET ROOM
RIVSTAR APPAREL INCORPORATED             505                                          NEW YORK         NY           10018                   Vendor Terms Agreement
                                         200 PERFORMANCE DRIVE SUITE
RJ BRANDS                                207                                          MAHWAH           NJ           07495                   Vendor Terms Agreement
RMD Menasha, LLC, et al                  1578 APPLETON RD                             MENASHA          WI           54952                   Operating Lease                           7/28/2015              11/30/2029                N/A
                                                                                                                                                                                   T&Cs that are
                                                                                                                                                                                   automatically
                                                                                                                                            Affiliate advertising direct   accepted once an IO is
                                                                                                                                            placements with Retail Me        accepted within our n/a - can stop orders at
RNOT LLC (aka Retail Me Not)             301 Congress Avenue                          Austin           TX           78701                   Not                                         systems                 any time
ROARING SPRING PAPER PRODUCTS            740 SPANG STREET                             ROARING SPRING   PA           16673                   Vendor Terms Agreement
Robert Burt                              650 N 10th st                                Lander           WY           82520                   Lawn Care ST756
Robert Curtis                            1401 Sunset Ave                              Winner           SD           57580                   Lawn Care ST745
Robert Curtis                            1401 Sunset Ave                              Winner           SD           57580                   Lawn Care ST746
Robert Moorman                           3400 Bever Avenue SE                         Cedar Rapids     IA           52403                   Lease                                      6/5/1974               9/30/2021
Robert Moorman                           1006 S. COUNTY ROAD                          TOLEDO           IA           52342                   Capital Lease                              6/5/1974               7/31/2021                N/A
ROBERT ROSE A DIVISION OF K&M AS         520 8TH AVENUE 12TH FLOOR                    NEW YORK         NY           10018                   Vendor Terms Agreement
Robert Tavener                           787 ave N                                    Chase            KS           67424                   Lawn Care ST701
Robin Ellsworth, LLC                     6220 Nesbitt Road Suite A                    Madison          WI           53719                   Lease                                     3/22/2007                5/2/2024
Robin Ellsworth, LLC                     598 LUCAS LANE                               ELLSWORTH        WI           54011                   Operating Lease                           3/22/2007               5/31/2024                N/A
Robin Manitowoc, LLC                     6220 Nesbitt Road Suite                      Madison          WI           53719                   Lease                                    12/15/2014              12/31/2035




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           Contract Counterparty              Address1                      Address2          City            State   Postal Code    Country        Debtor's Interest              Lease           Remaining Term          Government Contract
Robin Manitowoc, LLC                3415 CALUMET AVE.                                  MANITOWOC         WI           54220                    Operating Lease                        12/15/2014          12/31/2035                N/A
ROBINSON HOME PRODUCTS INCORPORA    170 LAWRENCE BELL DRIVE                            WILLIAMSVILLE     NY           14221                    Vendor Terms Agreement
                                                                                                                      55009-
ROBINSON OUTDOOR PRODUCTS LLC       110 NORTH PARK DRIVE                               CANNON FALLS      MN           0018                     Vendor Terms Agreement
ROBINSON WHOLESALE INC              130 ELIZABETH LANE                                 GENOA CITY        WI           53128                    Vendor Terms Agreement

                                                                                                                                               Med B Rebates For Diabetic
Roche                               9115 Hague Rd                                      Indianapolis      IN           46250                    Testing Strips And Meters              4/25/2008

Rochester Armored Car Co., Inc      3937 Leavenworth Street                            Omaha             NE           68105                    Armored courier for Debtor              8/1/2018             8/1/2020
ROCKLINE INDUSTRIES                 1113 MARYLAND AVENUE                               SHEBOYGAN         WI           53082                    Vendor Terms Agreement
Rockstep Alpine, LLC                1445 North Loop West                               Houston           TX           77008                    Lease                                  8/12/2015            6/30/2025
Rockstep Alpine, LLC                2500 E HIGHWAY 90                                  ALPINE            TX           79830                    Operating Lease                        8/12/2015            6/30/2025              N/A
Rocky Mountain Mowers               516 Main St                                        Salmon            ID           83467                    Lawn Care ST795
ROI Frame                           4625 S ash Ave                                     Tempe             AZ           85282                    Optical Frames
ROLF C HAGEN CORPORATION            305 FORBES BOULEVARD                               MANSFIELD         MA           02048                    Vendor Terms Agreement
                                                                                                                                    HONG
ROLLPLAY HONG KONG CO LTD           ROOM 2001 20TH FLOOR                                                                            KONG       Vendor Terms Agreement
Ron Herman                          1130 Elon Rd                                       Waukon            IA           52172                    Lawn Care ST671
Ron's Supermarket, Inc.             PO Box 272                                         Greybull          WY           82426                    Lease                                   4/4/2008            1/31/2024
Ron's Supermarket, Inc.             925 NORTH 6TH STREET                               GREYBULL          WY           82426                    Operating Lease                         4/4/2008            1/31/2024              N/A

ROSETTI HANDBAGS & ACCESS LIMITE    10 WEST 33RD STREET STE 312                        NEW YORK          NY           10001                    Vendor Terms Agreement
ROSS GLOVE COMPANY                  PO BOX 209                                         SHEBOYGAN         WI           53081                    Vendor Terms Agreement
Roundup Memorial Healthcare         1202 3rd Street West                               Roundup           MT           59072                    340B Contract                          4/11/2018
ROUSSO APPAREL GROUP LLC            525 7TH AVE 22ND FLOOR                             NEW YORK CITY     NY           10018                    Vendor Terms Agreement
ROWENTA INCORPORATED                2199 EDEN ROAD                                     MILLVILLE         NJ           08332                    Vendor Terms Agreement
                                                                                                                      44139-
ROYAL APPLIANCE MANUFACTURING       7005 COCHRAN ROAD                                  CLEVELAND         OH           4303                     Vendor Terms Agreement
ROYAL CONSUMER PRODUCTS L L C       108 MAIN STREET                                    NORWALK           CT           05851                    Vendor Terms Agreement
                                                                                                                      10018-
ROYAL DELUXE ACCESSORIES LLC        390 5TH AVENUE ROOM 505                            NEW YORK          NY           0000                     Vendor Terms Agreement
                                                                                                                      55076-
ROYAL PET INCORPORATED              6250 CLAUDE WAY                                    INVER GROVE       MN           4435                     Vendor Terms Agreement
ROYAL REPUBLIC AKA GRIDIRON GREA    1 AMERICAN WAY STE #10                             SECAUCUS          NJ           07094                    Vendor Terms Agreement
ROYALE LINENS INCORPORATED          325 DUFFY AVENUE                                   HICKSVILLE        NY           11801                    Vendor Terms Agreement
ROYCE TOO LLC                       350 FIFTH AVENUE STE 333                           NEW YORK          NY           10118                    Vendor Terms Agreement

ROYTEX INCORPORATED                 16 E 34TH STREET 17TH FLOOR                        NEW YORK          NY           10016                    Vendor Terms Agreement

RPh on the go                       5510 Howard                                        Skokie            IL           60077                    Contract Pharmacist Labor
RPS PRODUCTS INCORPORATED           281 KEYES AVENUE                                   HAMPSHIRE         IL           60140                    Vendor Terms Agreement
RS Lacey Partners, LLC              30242 Esperanza Rancho                             Santa Margarita   CA           92688                    Lease                                  1/29/2007            1/31/2027
RS Lacey Partners, LLC              5500 MARTIN WAY E                                  LACEY             WA           98516                    Operating Lease                        1/29/2007            1/31/2027              N/A
RS Orem Partners, LLC               30242 Esperanza Rancho                             Santa Margarita   CA           92688                    Lease                                  1/29/2007            1/31/2027
RS Orem Partners, LLC               125 S STATE STREET                                 OREM              UT           84058                    Operating Lease                        1/29/2007            1/31/2027              N/A
RS Sandy Partners, LLC              30242 Esperanza Rancho                             Santa Margarita   CA           92688                    Lease                                  1/29/2007            1/31/2027
RS Sandy Partners, LLC              2165 EAST 9400 SOUTH                               SANDY CITY        UT           84093                    Operating Lease                        1/29/2007            1/31/2027              N/A
RSJ VENTURES LLC                    515 W 20TH ST STE 4W                               NEW YORK          NY           10011                    Vendor Terms Agreement
                                                                                                                      33602-
RSVP SKIN CARE                      1207 N FRANKLIN, SUITE 100                         TAMPA             FL           0000                     Vendor Terms Agreement
RUBBERMAID                          29 EAST STEPHENSON STREET                          FREEPORT          IL           61032                    Vendor Terms Agreement
                                    2859 PACES FAIRY ROAD STE
RUBBERMAID INC DBA BUBBA BRANDS     2100                                               ATLANTA           GA           30339                    Vendor Terms Agreement
RUBIES COSTUME COMPANY              1770 WALT WHITMAN ROAD                             MELVILLE          NY           11747                    Vendor Terms Agreement
                                                                                                                                               Carpet cleaning rental
Rug Doctor                          2201 W. Plano Parkway         Suite 100            Plano             TX           75075                    equipment
                                    10 WEST 33RD STREET SUITE
RUGGED EQUIPMENT                    1217                                               NEW YORK          NY           10001                    Vendor Terms Agreement
Running Dogs Properties LLC         P.O. Box 5004                                      Buena Vista       CO           81211                    Lease                                  7/21/2015            7/31/2025
Running Dogs Properties LLC         415 US HIGHWAY 24 N                                BUENA VISTA       CO           81211                    Operating Lease                        7/21/2015            7/31/2025              N/A
                                    14/F BAYWOOD DRIVE 2ND                             ISLAND EAST                                  HONG
RUNWAY GLOBAL LIMITED               FLOOR                                              KOWLOON                                      KONG       Vendor Terms Agreement
Rural Health Care, Inc.             202 Island Drive              Suite 1              Fort Pierre       SD           57532                    340B Contract                          12/6/2016            9/25/2018




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                                                                                                                                                         Lease and Nature of        Date of Contract or                        List Contract Number of Any
             Contract Counterparty               Address1                       Address2                City          State   Postal Code   Country        Debtor's Interest              Lease           Remaining Term           Government Contract
RUSS BERRIE US GIFT INCORPORATED      111 BAUER DRIVE                                          OAKLAND           NJ           07436                   Vendor Terms Agreement
Russ Sleezer                          1020 Lynx Road                                           Burlington        KS           66839                   Lawn Care ST703
                                                                                                                              35011-
RUSSELL CORPORATION                   PO BOX 272                                               ALEXANDER CITY    AL           0272                    Vendor Terms Agreement
                                                                                                                              35011-
RUSSELL CORPORATION LICENSED PR       PO BOX 272                                               ALEXANDER CITY    AL           0272                    Vendor Terms Agreement
Russell Janssen                       42436 390th Ave                                          Heron Lake        MN           56137                   Lawn Care ST750
RUSSELL STOVER CANDIES                4900 OAK STREET                                          KANSAS CITY       MO           64112                   Vendor Terms Agreement
RUST OLEUM CORPORATION                2628 PEARL ROAD                                          MEDINA            OH           44258                   Vendor Terms Agreement
RUSTIC ARROW CUEVAS WHOLESALEGRO      2000 JACKSON STREET                                      LAREDO            TX           78041                   Vendor Terms Agreement

Rx Relief                             740 W. Alluvial Suite 101                                Fresno            Ca           93713                   Contract Pharmacist Labor

RYAN & JANE LIMITED                   200 WILLIAM STREET STE #317                              PORT CHESTER      NY           10573                   Vendor Terms Agreement
Rye's Lawn Service                    PO Box 110                                               Libbey            MT           59923                   Lawn Care ST775
RZ OUTDOORS                           3871 OAK DRIVE                                           MARTINEZ          GA           30907                   Vendor Terms Agreement
S B H INTIMATES                       1411 BROADWAY 8TH FLOOR                                  NEW YORK          NY           10018                   Vendor Terms Agreement
                                                                                                                              53403-
S C JOHNSON & SON INCORPORATED        1525 HOWE STREET                                         RACINE            WI           0000                    Vendor Terms Agreement
                                      13024 BALLANTYNE CORPORATE
S L SNACKS NATIONAL LLC (SNYDERS      PLACE                                                    CHARLOTTE         NC           28277                   Vendor Terms Agreement

S LICHTENBERG & COMPANY INCORPOR      1118 CLARKSON EXECUTIVE PARK                             ELLISVILLE        MO           63011                   Vendor Terms Agreement
S MARTINELLI & COMPANY                227 EAST BEACH STREET                                    WATSONVILLE       CA           95077                   Vendor Terms Agreement
S ROTHSCHILD & COMPANY                500 7TH AVENUE 6TH FLOOR                                 NEW YORK          NY           10018                   Vendor Terms Agreement
SAC Federal Credit Union              211 S. 23RD STREET                                       PLATTSMOUTH       NE           68048                   Sublease                              12/31/1997             Perpetual              N/A
SAFARI LIMITED                        1400 NW 159 STREET STE 104                               MIAMI GARDENS     FL           33169                   Vendor Terms Agreement
Safilo                                801 Jefferson Road                                       Parsippany        NJ           07054                   Opitcal Frames
SAKAR INTERNATIONAL                   195 CARTER DRIVE                                         EDISON            NJ           08817                   Vendor Terms Agreement
                                                                                                                              60062-
SALES & PRODUCT SOLUTIONS INC         3180 MACARTHUR BLVD                                      NORTHBROOK        IL           0000                    Vendor Terms Agreement
                                                                                               PALOS VERDES
SALES QUEST INCORPORATED              2562 VIA TEJON                                           ESTATES           CA           90274                   Vendor Terms Agreement
                                                                         The Landmark at One                                                          Maintenance Renewal Saas
Salesforce.com Inc                    ATTN:General Counsel               Market, Suite 300     San Francisco     CA           94105                   (Order Form)                             5/1/2017           4/30/2019
                                                                                                                                                      Digital Marketing
                                                                                                                                                      Automation Platform
                                                                                                                                                      (email, texts, predictive
                                                                                                                                                      intelligence on-site,                                   1yr 3mos (ends
Salesforce.com, inc                   415 Mission Street                                       San Francisco     CA           94105                   dynamic content, etc.)                  6/15/2018           6/21/2020)
SALESONE LLC                          16 FITCH STREET                                          NORWALK           CT           06854                   Vendor Terms Agreement
SALT AND PEPPER                       4770 E 50TH ST                                           VERMON            CA           90058                   Vendor Terms Agreement
SALTY SWEET SNACKS                    845 COUNTRY CLUB DR STE E                                LIBERTYVILLE      IL           60048                   Vendor Terms Agreement

Sam Larry, LLC                        2025 Nicollet Avenue S Suite 203                         Minneapolis       MN           55404                   Lease                                   6/16/1995          11/13/2020
Sam Larry, LLC                        3225 10TH STREET EAST                                    GLENCOE           MN           55336                   Operating Lease                         6/16/1995           6/30/2028               N/A
                                                                                                                                                      2 year agreement- fixture
Samsonite                             575 West Street                    Suite 110             Mansfield         MA           02048                   funding
SAMSONITE CORPORATION                 575 WEST STREET SUITE 110                                MANSFIELD         MA           02048                   Vendor Terms Agreement
                                      105 CHALLENGER ROAD 6TH
SAMSUNG C & T AMERICA INC             FLOOR                                                    RIDGEFIELD PARK   NJ           07660                   Vendor Terms Agreement
                                      42 WEST 39TH STREET 8TH
SANDALWOOD APPAREL CORPORATION        FLOOR                                                    NEW YORK          NY           10018                   Vendor Terms Agreement
Sandra Burris                         PO Box 104                                               Larned            KS           67550                   Lawn Care ST702
SANFORD EMPIRE BEROL EBERHARD         724 WARRICK LANE                                         LAKE ZURICH       IL           60047                   Vendor Terms Agreement
SANTAS BEST                           770 FRONTAGE ROAD                                        NORTHFIELD        IL           60093                   Vendor Terms Agreement
                                      1372 BROADWAY FLOOR 7H                                                                  10018-
SARAMAX APPAREL GROUP INCORPORAT      FLOOR                                                    NEW YORK          NY           6106                    Vendor Terms Agreement
                                                                                                                              54304-
SARANAC GLOVE COMPANY                 999 LOMBARDI AVENUE                                      GREEN BAY         WI           0000                    Vendor Terms Agreement
SARGENTO FOODS INCORPORATED           1 PERSNICKETY PLACE                                      PLYMOUTH          WI           53073                   Vendor Terms Agreement
SAS GROUP INCORPORATED                200 WHITE PLAINS ROAD                                    TARRYTOWN         NY           10591                   Vendor Terms Agreement




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                                                                                                                                                 Description of Contract or
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              Contract Counterparty               Address1                  Address2               City        State   Postal Code    Country        Debtor's Interest                Lease           Remaining Term           Government Contract
                                                                                                                                                Software Maintenance -
                                                                                                                                                Amendment 16 ( SAS
                                                                                                                                                bought Marketmax on
SAS Institute Inc.                     SAS Campus Drive                                   Cary            NC           27513                    7/10/2003 )                                                   2/28/2019
SAS Sprinkler Lawn Service             611 1st ave S                                      Lewiston        MT           59457                    Lawn Care ST773
SASCO TRADING INCORPORATED             1410 BROADWAY STE 1908                             NEW YORK        NY           10018                    Vendor Terms Agreement
                                       2305 BRETON INDUSTRIAL PARK                                                     49508-
SASSY14 LLC                            DRIVE SE                                           KENTWOOD        MI           1548                     Vendor Terms Agreement
                                                                                                                       45232-
SATURDAY KNIGHT LIMITED                4330 WINTON ROAD                                   CINCINNATI      OH           0000                     Vendor Terms Agreement
                                                                                                                       90660-
SAUDER WOODWORKING COMPANY             7255 ROSEMEAD BOULEVARD                            PICO RIVERA     CA           0000                     Vendor Terms Agreement
SAUM ACCESSORIES INC                   1450 PINE STREET COURT                             LA HABRA        CA           90631                    Vendor Terms Agreement
SAUNDERS MANUFACTURING CO INC          65 NICKERSON HILL ROAD                             READFIELD       ME           04355                    Vendor Terms Agreement
Saunders Outdoor Advertising           1150 NORTH MAIN                                    LAYTON          UT           84041                    Sublease                                12/15/2014           12/31/2019               N/A
SBH INTIMATES INC                      1411 BROADWAY 8TH FLOOR                            NEW YORK        NY           10018                    Vendor Terms Agreement
SCENT SATION INCORPORATED              350 FIFTH AVENUE STE 1230                          NEW YORK        NY           10118                    Vendor Terms Agreement
                                                                                                                       48009-
SCENTS OF WORTH                        412 W LINCOLN                                      BIRMINGHAM      MI           0000                     Vendor Terms Agreement
SCENTSIBLE LLC DBA POO POURRI          4901 KELLER SPRINGS ROAD                           ADDISON         TX           75001                    Vendor Terms Agreement
Scheels Professional                   22514 40th                                         Fairbank        IA           50629                    Lawn Care ST669
SCHLEICH NORTH AMERICA                 3258 HAWTHORNE ROAD                                OTTAWA          ON           K1G 3W9       Canada     Vendor Terms Agreement
Schneider Family Lawn Service          32596 560th Ave                                    Alberta         MN           56207                    Lawn Care ST740
Scholl Lawn Lanscape                   65111 710 Rd                                       Falls City      NE           68355                    Lawn Care ST704
Schoolcraft Memorial Hospital          7870 W US Highway 2                                Manistique      MI           49854                    340B Contract                             6/25/2018
SCHROEDER & TREMAYNE INCORPORATE       8450 VALCOUR AVENUE                                ST LOUIS        MO           63123                    Vendor Terms Agreement
SCHULZE & BURCH BISCUIT COMPANY        1133 W 35TH STREET                                 CHICAGO         IL           60609                    Vendor Terms Agreement
                                                                                                                       54311-
SCHWABE NORTH AMERICA                  825 CHALLENGER DRIVE                               GREEN BAY       WI           0000                     Vendor Terms Agreement
SCHYLLING INC                          21 HIGH STREET SUITE 400                           NORTH ANDOVER   MA           01845                    Vendor Terms Agreement
SCI INTERNATIONAL                      5902 ENTERPRISE COURT                              FREDERICK       MD           21703                    Vendor Terms Agreement
SCIVOLUTIONS INCORPORATED              2260 RAEFORD COURT                                 GASTONIA        NC           28052                    Vendor Terms Agreement
SCOFIELD SOUVENIR                      727 W GLENDALE AVE STE 500                         GLENDALE        WI           53209                    Vendor Terms Agreement

SCOPE APPAREL                          6300 W LOOP SOUTH SUITE 100                        HOUSTON         TX           77401                    Vendor Terms Agreement
SCOSCHE INDUSTRIES INC                 1550 PACIFIC AVENUE                                OXNARD          CA           93033                    Vendor Terms Agreement
Scott Meisensach                       415 W 8th st                                       Wayne           NE           68787                    Lawn Care ST670
SCOTT PET PRODUCTS INCORPORATED        PO BOX 168                                         ROCKVILLE       IN           47872                    Vendor Terms Agreement
SCOTTS COMPANY                         14111 SCOTTSLAWN ROAD                              MARIPVILLE      OH           43041                    Vendor Terms Agreement
Scotts Lawn and Landscape              2167 Garden St                                     Mora            MN           55051                    Lawn Care ST605
                                                                                                                       80239-
SCOTTS LIQUID GOLD                     4880 HAVANA STREET                                 DENVER          CO           0019                     Vendor Terms Agreement
Scriptcycle                            34 Wall Street                5th Floor            Asheville       NC           28801
Scriptpro                              5828 Reeds Rd                                      Mission         KS           66202                    Robotic Filling Machine
SCS DIRECT INC                         9 TREFOIL DR                                       TRUMBULL        CT           06611                    Vendor Terms Agreement
                                                                                                                       07065-
SDI TECHNOLOGIES INCORPORATED          1299 MAIN STREET                                   RAHWAY          NJ           0901                     Vendor Terms Agreement

                                                                                                                                                CICS Application File Control
                                                                                                                                                Facility - Annual Software
SDS Software Diversified Services      1322 81st Ave NE                                   Minneapolis     MN           55432                    Maintenance Type C license                9/15/2018           9/14/2019
SEAMAN PAPER COMPANY OF MASSACHU       35 WILKINS ROAD                                    GARDNER         MA           01440                    Vendor Terms Agreement
Sea-Mar Community Health Center        1040 S. Henderson St.                              Seattle         WA           98108                    340B Contract                             10/5/2016            1/8/2019
SEASONAL CELEBRATIONS LLC              400 HOWELL STREET                                  BRISTOL         PA           19007                    Vendor Terms Agreement
SEASONS USA INC                        3963 ONEIDA STREET                                 NEW HARTFORD    NY           13413                    Vendor Terms Agreement
SEATTLE COTTON WORKS                   1950 112 AVENUE NE #202                            BELLEVUE        WA           98004                    Vendor Terms Agreement
                                                                                                                                                RSA Software License
                                                                                                                                                Agreement - 1998 (
                                                                                                                       01730-                   Purchased by RSA Security
Security Dynamic Technolgies, Inc.     20 Crosby Drive                                    Bedford         MA           1437                     LLC )                                     6/20/1905           1/31/2020
Security First Bank                    123 N. 24TH STREET                                 BEATRICE        NE           68310                    Sublease                                  9/10/2015            Perpetual              N/A
                                                                                                                       22101-
SEEDS OF CHANGE INCORPORATED           6885 ELM STREET                                    MCLEAN          VA           6038                     Vendor Terms Agreement




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                                                                                                                                                           Description of Contract or
                                                                                                                                                             Lease and Nature of        Date of Contract or                             List Contract Number of Any
             Contract Counterparty                    Address1                       Address2                City        State   Postal Code    Country        Debtor's Interest              Lease              Remaining Term             Government Contract
                                            21688 GATEWAY CENTER DRIVE
SEIKI LLC                                   STE #168                                                DIAMOND BAR     CA           91765                    Vendor Terms Agreement
SELECT BRANDS INCORPORATED                  10817 RENNER ROAD                                       LEXENA          KS           66219                    Vendor Terms Agreement
                                                                                                                                 60098-
SENARIO L L C                               1725 KILKENNY COURT                                     WOODSTOCK       IL           0000                     Vendor Terms Agreement
SENECA FOODS CORPORATION                    3736 SOUTH MAIN STREET                                  MARION          NY           14505                    Vendor Terms Agreement
Senn Landscaping                            252 N Adams St                                          Oconto Falls    WI           54154                    Lawn Care ST602
SENSIO INCORPORATED                         1175 PLACE DU FRERE ANDRE                               MONTREAL        QC           H3B 3X9       Canada     Vendor Terms Agreement
Sensormatic                                 6600 Congress Ave                                       Boca Raton      FL           33487                    CCTV EAS agreement
                                                                                                                                                          CCTV and EAS Master
Sensormatic Alamis                          6600 Congress Avenue                                    Boca Raton      FL           33487                    Maintenance Agreement                    3/1/2013
                                                                                                                                                          CCTV and EAS Master
Sensormatic Alamis                          6600 Congress Avenue                                    Boca Raton      FL           33487                    Maintenance Agreement                    3/1/2013            Automatically

Sentry Properties Company/Donald Leathery   5 E. Long Street Ste 1200                               Columbus        OH           43215                    Lease                                   4/10/1992                6/5/2022

Sentry Properties Company/Donald Leathery   100 CROSS COUNTRY PLAZA                                 BATESVILLE      IN           47006                    Operating Lease                         4/10/1992               6/30/2022                N/A

Sentry We                                   1800 North Point Drive                                  Stevens Point   WI           54481                    Claims Service Agreement                12/1/2002

Sentry We                                   1800 North Point Drive                                  Stevens Point   WI           54481                    Claims Service Agreement                12/1/2002               12/1/2003
SERVAAS LABORATORIES INCORPORATE            5240 WALT PLACE                                         INDIANAPOLIS    IN           46254                    Vendor Terms Agreement
                                                                                                                                                          Independent Contractor
Service Express (SEI)                       3854 Boradmoor Ave. SE                                  Grand Rapids    MI           49512                    Agreement                                2/1/2018                    None
                                                                                                                                                          Addendum A-1 to the
                                                                                                                                                          Independent Contractor
Service Express (SEI)                       3854 Boradmoor Ave. SE                                  Grand Rapids    MI           49512                    Agreement                                2/1/2018               1/31/2019
                                                                                                                                                          Addendum 2 to the
                                                                                                                                                          Independent Contractor
Service Express (SEI)                       3854 Boradmoor Ave. SE                                  Grand Rapids    MI           49512                    Agreement                                2/1/2019               1/31/2020
                                                                                                                                                          Master Ordering Agreement
Service Now, Inc                            4810 Eastgate Mall                                      San Diego       CA           92121                    - 12/13/2013                          12/13/2013               12/30/2019
                                                                                                                                                          Software Subscription
Service Now, Inc                            4810 Eastgate Mall                                      San Diego       CA           92121                    Agreement - 12/13/2013                12/13/2013               12/30/2019
                                                                                                                                                          Software Subscription
Service Now, Inc                            4810 Eastgate Mall                                      San Diego       CA           92121                    Renewal                                                        12/30/2019
Service One                                 9335 J St                                               Omaah           NE           68127                    DC Maintenance
                                                                                                                                                          Fees for utilizing Work
                                                                                                                                                          Order Platform for Store
ServiceChannel                              18 E. 16th Street                                       New York        NY           10003                    Facilities                               5/6/2018               24 months

SessionM, Inc.                              2 Seaport Lane                    11th Floor            Boston          MA           02210                    Master Services Agreement               6/13/2018              6/12/2021
                                                                                                                                                                                                            6/12/2021, but has one
                                                                                                                                                                                                              time right to cancel if
                                                                                                                                                          SessionM Platform Services                              written notice by
SessionM, Inc.                              2 Seaport Lane                    11th Floor            Boston          MA           02210                    / Subscription                          6/13/2018              5/31/2019
                                                                                                                                                          Offer Creation
SessionM, Inc.                              2 Seaport Lane                    11th Floor            Boston          MA           02210                    Enhancement SOW                       12/14/2018                9/30/2019
Seth Reed - Odd Jobs                        4837 Cty Rd 10                                          Moose Lake      MN           55767                    Lawn Care ST547
SETTONS INTERNATIONAL FOODS INC             85 AUSTIN BOULEVARD                                     COMMACK         NY           11725                    Vendor Terms Agreement
SEVEN APPAREL GROUP                         347 FIFTH AVENUE SUITE 201                              NEW YORK        NY           10016                    Vendor Terms Agreement
SEVEN TIL MIDNIGHT                          9401 WHITMORE STREET                                    EL MONTE        CA           91731                    Vendor Terms Agreement
SEVENTEEN TWENTY ONE GROUP                  4700 BOYLE AVENUE SUITE A                               VERNON          CA           90058                    Vendor Terms Agreement
SEVENTH GENERATION INC                      60 LAKE STREET                                          BURLINGTON      VT           05401                    Vendor Terms Agreement

SFI Limited Partnership 100                 10040 Regency Circle, Suite 200                         Omaha           NE           68114                    Lease                                   3/29/1984               2/29/2020
                                            THREE UNIVERSITY PLAZA SUITE                                                         07601-
SG FOOTWEAR                                 400                                                     HACKENSACK      NJ           0000                     Vendor Terms Agreement

SGI APPAREL GROUP                           3 UNIVERSITY PLAZA SUITE 400                            HACKENSACK      NJ           07601                    Vendor Terms Agreement
SH Winner Holdings, LLC                     2439 Kuser Road                                         Hamilton        NJ           08690                    Lease                                   3/14/1991              11/30/2022
SH Winner Holdings, LLC                     1140 E. 5TH STREET                                      WINNER          SD           57580                    Operating Lease                         3/14/1991              11/30/2022                N/A
SHALOM INTERNATIONAL CORPORATION            8 NICHOLAS COURT B                                      PERTH AMBOY     NJ           08810                    Vendor Terms Agreement
Shane Dechenne                              102 College Dr                                          New Town        ND           58763                    Lawn Care ST532




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            Contract Counterparty                        Address1                Address2              City      State    Postal Code    Country        Debtor's Interest              Lease           Remaining Term            Government Contract
Shane Laverdure                               2019 2nd Ave SW #4                            Minot              ND         58701                    Lawn Care ST533
                                                                                                                          76092-
SHANGHAI SMART DIRECT LLC                     751 E. SOUTHLAKE BLVD #134                    SOUTHLAKE          TX         9999                     Vendor Terms Agreement
                                                                                                                                        HONG
SHARE THE FUN HK LIMITED                      31F THE CENTER                                                                            KONG       Vendor Terms Agreement
Sharper Edge Inc.                             PO Box 5274                                   De Pere            WI         54115                    Lawn Care ST005
SHAW INDUSTRIES INCORPORATED                  3510 CORPORATE DRIVE                          DALTON             GA         30721                    Vendor Terms Agreement
SHEARERS SNACKS                               100 LINCOLN WAY EAST                          MASSALLION         OH         44646                    Vendor Terms Agreement

Shelby Co Chris A Myrtue Memorial Hospital    1213 Garfield Ave                             Harlan             IA         51537                    340B Contract                           6/28/2018           11/5/2018
Shelby-Pam Limited Partnership/Ronald
Christenson*                                  527 Marquette Ave #1915                       Minneapolis        MN         55402                    Lease                                    5/9/1991           2/28/2022
Shelby-Pam Limited Partnership/Ronald
Christenson*                                  1950 W ROOSEVELT HWY                          SHELBY             MT         59474                    Operating Lease                          5/9/1991           2/28/2022                N/A
SHELTERLOGIC CORP                             150 CALLENDER ROAD                            WATERTOWN          CT         06795                    Vendor Terms Agreement
                                              9550 PALMETTO COMMERCE
SHIMANO AMERICAN CORP                         PKWY                                          LADSON             SC         29456                    Vendor Terms Agreement
SHIN CREST PTE M LIMITED                      78 RONHAM STRAND EAST                         HONG KONG                                   CHINA      Vendor Terms Agreement
                                                                                                                          92708-
SHOCK DOCTOR                                  11488 SLATER AVENUE                           FOUNTAIN VALLEY    CA         0000                     Vendor Terms Agreement
SHOP VAC CORPORATION                          2323 REACH ROAD                               WILLIAMSPORT       PA         17701                    Vendor Terms Agreement
Shopko Boise LLC                              5141 North 40th Street #500                   Phoenix            AZ         85018                    Lease                                  1/29/2007            1/31/2027
Shopko Dell LLC                               117 Truman Drive                              Cresskill          NJ         07626                    Lease                                 10/14/2015            7/31/2031
Shopko Dell LLC                               1208 N HIGHWAY 77                             DELL RAPIDS        SD         57022                    Operating Lease                       10/14/2015            7/31/2031                N/A
Shopko West Associates                        2221 S Webster Ave #111                       Green Bay          WI         54301                    Lease                                   1/8/1970            2/25/2023
Shopko West Associates                        216 S. MILITARY AVE.                          GREEN BAY          WI         54303                    Operating Lease                         1/8/1970            2/28/2023                N/A
ShopkoCham LLC                                117 Truman Drive                              Cresskill          NJ         07626                    Lease                                 10/14/2015            7/31/2031
ShopkoCham LLC                                1951 E KING AVE                               CHAMBERLAIN        SD         57325                    Operating Lease                       10/14/2015            7/31/2031                N/A
SHOWTIME SALES & MARKETING INC                410 NORTH BELL STREET                         FREMONT            NE         68025                    Vendor Terms Agreement

                                                                                                                          45242-                   HIPPA and Document
Shred-It USA, LLC                             11311 Cornell Park Drive                      Blue Ash           OH         1889                     shredding at Stores and SSC             9/20/2017           19 Months

SHS Building, LLC                             5141 North 40th Street Suite 500              Phoenix            AZ         85018                    Lease                                   4/30/2015          11/30/2034
SHS Building, LLC                             4515 SOUTH REGAL STREET                       SPOKANE            WA         99223                    Operating Lease                         4/30/2015          11/30/2034                N/A
SHURTECH BRANDS LLC                           32150 JUST IMAGINE DRIVE                      AVON               OH         44011                    Vendor Terms Agreement
                                                                                                                                                   Subscription to license
                                                                                                                                                   content for purpose of
                                                                                                                                                   design, paid until
Shutterstock                                  350 5th Ave 21st Floor                        New York           NY         10118                    10/26/2019
Sibley Medical Center                         601 West Chandler Street                      Arlington          MN         55307                    340B Contract                           5/16/2018           11/1/2018
                                                                                                                          34952-
SIENNA LLC                                    8436 S US HIGH 1                              PORT SAINT LUCIE   FL         3306                     Vendor Terms Agreement
                                                                                                                          95405-
SIERRA CASCADE FOREST PRODUCTS                PO BOX 2404                                   SANTA ROSA         CA         0000                     Vendor Terms Agreement
SIGNATURE BRANDS LLC                          PO BOX 279                                    OCALA              FL         34478                    Vendor Terms Agreement
Signature Lawn Care                           N3830 River Road                              Columbus           WI         53925                    Lawn Care ST788
SIGNATURE PRODUCTS GROUP                      1490 NORTH 2200 WEST                          SALT LAKE CITY     UT         84116                    Vendor Terms Agreement

SIGNORELLI INC                                6363 REGENT STREET                            HUNTINGTON PARK    CA         90255                    Vendor Terms Agreement
                                              141 WEST 36TH STREET 21ST
SILVER BUFFALO LLC                            FLOOR                                         NEW YORK           NY         10018                    Vendor Terms Agreement
SILVER LEAD COMPANY                           1115 CENTER STREET                            LANSING            MI         48906                    Vendor Terms Agreement
SILVER TEXTILES INCORPORATED                  2101 SOUTH FLOWER STREET                      LOS ANGELES        CA         90007                    Vendor Terms Agreement
SIMPLE NECESSIT EASE INCORPORATE              169 COMMACK ROAD #339                         COMMACK            NY         11725                    Vendor Terms Agreement
SINFUL COLORS INCORPORATED                    237 PARK AVENUE                               NEW YORK           NY         10017                    Vendor Terms Agreement

SINGER SEWING COMPANY                         1714 HEIL QUAKER BLVD STE 130                 LA VERGNE          TN         37086                    Vendor Terms Agreement
                                                                                                                                                   WebPDM Report Wizard -
Singletree Technology, LLC                    49 Singletree Drive                           Ovett              MS         39464                    Software Maintenance                                        3/19/2019
                                                                                                                                                                                                                               Agreement 23906-CA
                                                                                                                                                   Master Purchase                                                         SOW - DB2 V10 to V11 Migration
Sirius Computer Solutions                     222 E. Main Street                            Port Washington    WI         54074                    Agreement                             12/21/2012            6/30/2019              Services




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             Contract Counterparty                Address1              Address2            City           State   Postal Code   Country        Debtor's Interest              Lease           Remaining Term            Government Contract
                                                                                                                                                                                                                  IBM Master Services Attachment for
                                                                                                                                           Master Purchase                                                           ServiceElite - Software rental
Sirius Computer Solutions             222 E. Main Street                           Port Washington    WI           54074                   Agreement                             12/21/2012            11/30/2018            (mainframe)
                                                                                                                   30328-
SISTEMA PLASTICS US LLC               3 GLENLAKE PARKWAY                           ALTANTA            GA           0000                    Vendor Terms Agreement
Sixteenth Street Development, LLC     1705 Stardance Circle                        Longmont           CO           80504                   Lease                                   10/4/1995             6/12/2021
Sixteenth Street Development, LLC     1701 16TH STREET                             WHEATLAND          WY           82201                   Operating Lease                         10/4/1995             6/30/2021               N/A
SJ CREATIONS INCORPORATED             732 N COAST HWY 101 STE B                    LEUCADIA           CA           92024                   Vendor Terms Agreement

SKECHERS USA INCORPORATED             225 SEPULVEDA BOULEVARD                      MANHATTAN BEACH    CA           90266                   Vendor Terms Agreement
SKHT Tomahawk LLC                     83 South Street                              Morristown         NJ           07960                   Lease                                   5/30/2013             1/31/2029
SKHT Tomahawk LLC                     79 HOMETOWN DRIVE                            TOMAHAWK           WI           54487                   Operating Lease                         5/30/2013             1/31/2029               N/A
SKULLCANDY INCORPORATED               1441 WEST UTE BLVD STE 250                   PARK CITY          UT           84098                   Vendor Terms Agreement
SKULLDUGGERY INC                      5433 EAST LA PALMA AVENUE                    ANAHEIM            CA           92807                   Vendor Terms Agreement

Sky Green Bay LLC                     4801 Woodway Drive Suite 420                 West Houston       TX           77056                   Lease                                 12/15/2014            12/31/2035
Sky Green Bay LLC                     2430 EAST MASON                              GREEN BAY          WI           54302                   Operating Lease-Spirit                12/15/2014            12/31/2035                N/A

SKYHIGH INTERNATIONAL LLC             43 WEST 33RD STREET SUITE 600                NEW YORK           NY           10001                   Vendor Terms Agreement

SKYLINE PRODUCTS INC                  77 N CENTRE AVENUE STE 305                   ROCKVILLE CENTRE   NY           11570                   Vendor Terms Agreement
                                                                                                                                           SalesForce Marketing Cloud                             ICA is ongoing, no
Slalom, LLC, dba Slalom Consulting    821 2nd Ave.                                 Seattle            WA           98104                   Implentation                                        current project work
SMALL WORLD TRADING CO INC            90 WINDWARD WAY                              SAN RAFAEL         CA           94901                   Vendor Terms Agreement
                                                                                                                   60046-
SMART BRANDS INCORPORATED             610 GREENBRIAR LA                            LINDENHURST        IL           0000                    Vendor Terms Agreement
Smart Lawns                           803 S. Perry St                              Attica             IN           47918                   Lawn Care ST637
SMART PLANET                          9035 INDEPENDENCE                            CANOGA PARK        CA           91304                   Vendor Terms Agreement
SMART SOLAR INCORPORATED              1203 LOYOLA DRIVE                            LIBERTYVILLE       IL           60048                   Vendor Terms Agreement
                                                                                                                                           Non Exclusive License
                                                                                                                                           Agreement February 1,
SMART SOLUTIONS, INC                  465 West Lawndale                            Salt Lake City     UT           84115                   2005                                     2/1/2005
                                                                                                                                           Addendum A to Non
                                                                                                                                           Exclusivce License
SMART SOLUTIONS, INC                  465 West Lawndale                            Salt Lake City     UT           84115                   Agreement April 1, 2012                  4/1/2012
                                                                                                                                           Hardware Maintenance
SMART SOLUTIONS, INC                  465 West Lawndale                            Salt Lake City     UT           84115                   Agreement                                4/1/2018             3/31/2019
                                                                                                                                           Software Maintenance
SMART SOLUTIONS, INC                  465 West Lawndale                            Salt Lake City     UT           84115                   Agreement                                4/1/2018             3/31/2019
SMART Temps LLC                       435 Park Place Circle                        Mishawaka          IN           46545                   Temperature Monitor
SMARTEK USA INC                       12 HINSDALE STREET                           BROOKLYN           NY           11207                   Vendor Terms Agreement
SMARTSHAKE AB                         200 1ST AVENUE STE 100                       PITTSBURGH         PA           15222                   Vendor Terms Agreement
SMC3 - SKO                            PO Box 2040                                  Peachtree City     GA           30269                   DC Carriers
SME CONSOLIDATED                      250 PASSAIC STREET                           NEWARK             NJ           07104                   Vendor Terms Agreement
Smiskny Lawn Care LLC                 19174 65th Ave                               Chippewa Falls     WI           54729                   Lawn Care ST037
SMITH & VANDIVER                      480 AIRPORT BOULEVARD                        WATSONVILLE        CA           95076                   Vendor Terms Agreement
SMITH GARDEN CENTER INC               1110 E CALHOUN STREET                        MACOMB             IL           61455                   Vendor Terms Agreement
Smithlin, McIntire & young            1211 East Columbia Avenue                    Spokane            WA           99208                   Lease                                 11/14/1994             2/28/2025
Smithlin, McIntire & young            1370 US HWY 2 EAST                           KALISPELL          MT           59901                   Capital Lease                         11/14/1994             2/28/2025                N/A
Smithlin, McIntire & young            1370 US HWY 2 EAST                           KALISPELL          MT           59901                   Operating Lease                       11/14/1994             2/28/2025                N/A
SMT Littlefield Partners Limited      8235 Douglas Suite 815                       Dallas             TX           75225                   Lease                                  5/19/2016            10/31/2026
SMT Littlefield Partners Limited      705 W Marshall Howard Blvd                   Littlefield        TX           79339                   Operating Lease                        5/19/2016            10/31/2026                N/A

SMTA Shopko Portfolio I, LLC          2727 N Harwood Street Suite 300              Dallas             TX           75201                   Lease                                 12/15/2014            12/31/2035

SMTA Shopko Portfolio I, LLC          2727 N Harwood Street Suite 300              Dallas             TX           75201                   Lease                                 12/15/2014            12/31/2031

SMTA Shopko Portfolio I, LLC          2727 N Harwood Street Suite 300              Dallas             TX           75201                   Lease                                 12/15/2014            12/31/2035

SMTA Shopko Portfolio I, LLC          2727 N Harwood Street Suite 300              Dallas             TX           75201                   Lease                                 12/15/2014            12/31/2035

SMTA Shopko Portfolio I, LLC          2727 N Harwood Street Suite 300              Dallas             TX           75201                   Lease                                 12/15/2014            12/31/2035

SMTA Shopko Portfolio I, LLC          2727 N Harwood Street Suite 300              Dallas             TX           75201                   Lease                                 12/15/2014            12/31/2031




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            Contract Counterparty               Address1               Address2             City          State   Postal Code   Country        Debtor's Interest              Lease           Remaining Term          Government Contract

SMTA Shopko Portfolio I, LLC         2727 N Harwood Street Suite 300              Dallas             TX           75201                   Lease                                 12/15/2014           12/31/2035

SMTA Shopko Portfolio I, LLC         2727 N Harwood Street Suite 300              Dallas             TX           75201                   Lease                                 12/15/2014           12/31/2031

SMTA Shopko Portfolio I, LLC         2727 N Harwood Street Suite 300              Dallas             TX           75201                   Lease                                 12/15/2014           12/31/2031

SMTA Shopko Portfolio I, LLC         2727 N Harwood Street Suite 300              Dallas             TX           75201                   Lease                                 12/15/2014           12/31/2035

SMTA Shopko Portfolio I, LLC         2727 N Harwood Street Suite 300              Dallas             TX           75201                   Lease                                 12/15/2014           12/31/2031

SMTA Shopko Portfolio I, LLC         2727 N Harwood Street Suite 300              Dallas             TX           75201                   Lease                                 12/15/2014           12/31/2035

SMTA Shopko Portfolio I, LLC         2727 N Harwood Street Suite 300              Dallas             TX           75201                   Lease                                 12/15/2014           12/31/2031

SMTA Shopko Portfolio I, LLC         2727 N Harwood Street Suite 300              Dallas             TX           75201                   Lease                                 12/15/2014           12/31/2031

SMTA Shopko Portfolio I, LLC         2727 N Harwood Street Suite 300              Dallas             TX           75201                   Lease                                 12/15/2014           12/31/2035

SMTA Shopko Portfolio I, LLC         2727 N Harwood Street Suite 300              Dallas             TX           75201                   Lease                                 12/15/2014           12/31/2031

SMTA Shopko Portfolio I, LLC         2727 N Harwood Street Suite 300              Dallas             TX           75201                   Lease                                 12/15/2014           12/31/2035

SMTA Shopko Portfolio I, LLC         2727 N Harwood Street Suite 300              Dallas             TX           75201                   Lease                                 12/15/2014           12/31/2031

SMTA Shopko Portfolio I, LLC         2727 N Harwood Street Suite 300              Dallas             TX           75201                   Lease                                 12/15/2014           12/31/2031

SMTA Shopko Portfolio I, LLC         2727 N Harwood Street Suite 300              Dallas             TX           75201                   Lease                                  6/30/2015                 #N/A
SMTA Shopko Portfolio I, LLC         1306 N. CENTRAL AV                           MARSHFIELD         WI           54449                   Operating Lease-Spirit                12/15/2014           12/31/2035              N/A
                                     1100 EAST RIVERVIEW
SMTA Shopko Portfolio I, LLC         EXPRESSWAY                                   WISCONSIN RAPIDS   WI           54494                   Operating Lease-Spirit                12/15/2014           12/31/2035              N/A
SMTA Shopko Portfolio I, LLC         701 S. CHURCH ST.                            WATERTOWN          WI           53094                   Operating Lease-Spirit                12/15/2014           12/31/2031              N/A
SMTA Shopko Portfolio I, LLC         1900 N. MAIN STREET                          MITCHELL           SD           57301                   Operating Lease-Spirit                12/15/2014           12/31/2035              N/A
SMTA Shopko Portfolio I, LLC         5300 52ND ST                                 KENOSHA            WI           53144                   Operating Lease-Spirit                12/15/2014           12/31/2031              N/A
SMTA Shopko Portfolio I, LLC         2005 KRENZIEN DRIVE                          NORFOLK            NE           68701                   Operating Lease-Spirit                12/15/2014           12/31/2031              N/A
SMTA Shopko Portfolio I, LLC         1425 JANESVILLE AVE                          FORT ATKINSON      WI           53538                   Operating Lease-Spirit                12/15/2014           12/31/2031              N/A
SMTA Shopko Portfolio I, LLC         700 9TH AVENUE SE                            WATERTOWN          SD           57201                   Operating Lease-Spirit                12/15/2014           12/31/2035              N/A
SMTA Shopko Portfolio I, LLC         1200 MAIN STREET                             STEVENS POINT      WI           54481                   Operating Lease-Spirit                12/15/2014           12/31/2031              N/A
SMTA Shopko Portfolio I, LLC         2610 BRIDGE AVE.                             ALBERT LEA         MN           56007                   Operating Lease-Spirit                12/15/2014           12/31/2031              N/A
SMTA Shopko Portfolio I, LLC         3101 N MONTANA AVE                           HELENA             MT           59602                   Operating Lease-Spirit                12/15/2014           12/31/2035              N/A
SMTA Shopko Portfolio I, LLC         1777 PAULSON ROAD                            RIVER FALLS        WI           54022                   Operating Lease-Spirit                12/15/2014           12/31/2035              N/A
SMTA Shopko Portfolio I, LLC         1400 BIG THUNDER BLVD                        BELVIDERE          IL           61008                   Operating Lease-Spirit                12/15/2014           12/31/2031              N/A
SMUCKERS RETAIL FOODS INC            1 MARKET STREET                              SAN FRANCISCO      CA           94105                   Vendor Terms Agreement
SNACK FACTORY                        PO BOX 3562                                  PRINCETON          NJ           08543                   Vendor Terms Agreement
SNACK IT FORWARD LLC                 6080 CENTER DRIVE STE 600                    LOS ANGELES        CA           90045                   Vendor Terms Agreement
SNAG                                 4851 Lake Brook Dr                           Glen Allen         VA           23060                   Job Board                               8/16/2018           8/16/2019
SNOBBISH CORPORATION                 1155 S BOYLE AVENUE                          LOS ANGELES        CA           90023                   Vendor Terms Agreement
SNOW JOE LLC                         86 EXECUTIVE AVENUE                          EDISON             NJ           08817                   Vendor Terms Agreement
                                                                                                                                          Front-end Checkout Space
Snyder Lance                         849 Lea Court                                Holland            OH           43528                   Agreement                                7/1/2018           6/30/2019
                                     215 WEST 40TH STREET 10TH
SO SWEET L L C DBA ANGELS SO SWE     FLOOR                                        NEW YORK           NY           10018                   Vendor Terms Agreement
                                                                                                                  22314-
SOAPBOX SOAPS LLC                    1711 KING STREET, SUITE D                    ALEXANDRIA         VA           0000                    Vendor Terms Agreement
SOBEL WESTEX DBA BALTIC LINEN        2670 S WESTERN AVE                           LAS VEGAS          NV           89109                   Vendor Terms Agreement
SOCKS & ACCESSORY BRANDS GLOBAL      129 NC HIGHWAY 801 S                         ADVANCE            NC           27006                   Vendor Terms Agreement

SODA STREAM USA INCORPORATED         1725 136 GAITHER DRIVE # 200                 MT LAUREL          NJ           08054                   Vendor Terms Agreement
                                     4265 TRADE CENTER DR SUITE
SOFT AIR USA INC                     130                                          GRAPEVINE          TX           76051                   Vendor Terms Agreement
                                                                                                                  12118-
SOFT TEX INTERNATIONAL               428 HUDSON RIVER RD                          WATERFORD          NY           0000                    Vendor Terms Agreement
                                                                                                                  60025-
SOHO CORPORATION                     3120 W LAKE AVENUE                           GLENVIEW           IL           1294                    Vendor Terms Agreement




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                                                                                                                                                           Description of Contract or
                                                                                                                                                              Lease and Nature of       Date of Contract or                          List Contract Number of Any
            Contract Counterparty                Address1                     Address2                 City              State   Postal Code    Country        Debtor's Interest              Lease           Remaining Term             Government Contract
SOLOFILL LLC                         12911 ISLAND FALLS COURT                                   HOUSTON            TX            77041                    Vendor Terms Agreement
SOLSKYN PERSONAL CARE LLC            2921 CORDER STREET                                         HOUSTON            TX            77054                    Vendor Terms Agreement
Solutran                             3600 Holly Lane                   Suite 60                 Plymouth           MN            55447                    Agreement for Services                  6/26/2006
                                                                                                                                                                                                              30 day prior written
Solutran                             3600 Holly Lane                   Suite 60                 Plymouth           MN            55447                    Agreement for Services                  6/26/2006                 notice

SONDRA ROBERTS INC                   3 EMPIRE BOULEVARD                                         SOUTH HACKENSACK NJ              07606                    Vendor Terms Agreement

SOTI SKO                             5770 Hurontairo                   Suite 1100               Mississauga Ontario              L4R 8G5       Canada     Mobicontrol
SOURCE 2 MARKET LLC                  4308 GREEN LEAF DRIVE                                      DODGEVILLE          WI           53533                    Vendor Terms Agreement
SOURCE NETWORK SALES & MARKETING     3401 CUSTER ROAD #127                                      PLANO               TX           75023                    Vendor Terms Agreement
                                                                                                                                 90755-
SOURCING INTERNATIONAL L L C         1005 E BURNETTE STREET                                     SIGNAL HILL        CA            3407                     Vendor Terms Agreement
South Big Horn Hospital              388 Hwy 20 South                                           Basin              WY            82410                    340B Contract                           8/21/2017             1/2/2019
South Ridge Village, LLC.            2801 Pine Lake Road, Suite J                               LINCOLN            NE            68516                    Operating Lease                         1/15/2019            1/31/2025                N/A
SOUTH SHORE INDUSTRIES LTD           6168 PRINCIPALE                                            SAINTE CROIX       QC            G0S 2H0       Canada     Vendor Terms Agreement
SOUTHERN TELECOM INCORPORATED        14C 53RD STREET                                            BROOKLYN           NY            11232                    Vendor Terms Agreement
Southwest Health Center              1400 East Side Road                                        Platteville        WI            53818                    340B Contract                           1/13/2017
SOUTHWIRE COMPANY                    ONE SOUTHWIRE DRIVE                                        CARROLLTON         GA            30119                    Vendor Terms Agreement
SPANGLER CANDY COMPANY               400 N PORTLAND STREET                                      BRYAN              OH            43506                    Vendor Terms Agreement

SPANX INCORPORATED                   3344 PEACHTREE RD NE #1700                                 ATLANTA            GA            30326                    Vendor Terms Agreement
                                                                                                                                 07004-
SPARK INNOVATORS CORPORATION         41 KULICK ROAD                                             FAIRFIELD          NJ            3307                     Vendor Terms Agreement
                                                                                                                                                          Licensing Contract, all
                                                                                                                                          United          amendments and
Specialist Data Solutions            ATTN: John Chartres               S D S House, Bishopric   Horsham                          RH12 1QN Kingdom         Statements of Work                       4/7/2005
                                                                                                                                                          Licensing Contract, all
                                                                                                                                                          amendments and
Specialist Data Solutions            306 South Washington              Suite 228                Royal Oak          MI            48067                    Statements of Work                       4/7/2005
                                     1400 OLD COUNTRY ROAD STE
SPECIALTY BRANDS OF AMERICA          103                                                        WESTBURY           NY            11590                    Vendor Terms Agreement
                                                                                                                                 54656-
SPECIALTY FOOD DISTRIBUTION CO       4600 THEATER RD                                            SPARTA             WI            0000                     Vendor Terms Agreement
Specs 4 Us                           235 Troy Oaks Dr                                           Hiram              OH            44234                    Optical Frames
                                                                                                                                 53711-
SPECTRUM BRANDS                      601 RAYOVAC DRIVE                                          MADISON            WI            2497                     Vendor Terms Agreement
                                                                                                                                 45230-
SPECTRUM BRANDS PET LLC              7794 FIVE MILE ROAD STE 190                                CINCINNATI         OH            0000                     Vendor Terms Agreement
SPECTRUM DIVERSIFIED DESIGNS LLC     675 MONDIAL PARKWAY                                        STREETSBORO        OH            44241                    Vendor Terms Agreement
Spectrum Metro                       1401 Creditstone Road                                      Concord            ON            L4K 4NK       Canada     Distribution Services
SPENCER N ENTERPRISES INC            425 445 S LEMON AVENUE                                     CITY OF INDUSTRY   CA            91746                    Vendor Terms Agreement
SPICY CLOTHING LLC DBA TAKEOUT       850 PATERSON PLANK ROAD                                    SECAUCUS           NJ            07094                    Vendor Terms Agreement
                                     PMB #10053 300
SPIN MASTER TOYS                     INTERNATIONAL DR STE 100                                   WILLIAMSVILLE      NY            14221                    Vendor Terms Agreement
SPINRITE LIMITED PARTNERSHIP         BOX 40                                                     LISTOWEL           ON            N4W 3H3       Canada     Vendor Terms Agreement

Spirit Master Funding III, LLC       2727 N Harwood Street Suite 300                            Dallas             TX            75201                    Lease                                    9/4/2009            7/31/2029

Spirit Master Funding III, LLC       2727 N Harwood Street Suite 300                            Dallas             TX            75201                    Lease                                    9/4/2009            7/31/2029

Spirit Master Funding III, LLC       2727 N Harwood Street Suite 300                            Dallas             TX            75201                    Lease                                    9/4/2009            7/31/2029

Spirit Master Funding III, LLC       2727 N Harwood Street Suite 300                            Dallas             TX            75201                    Lease                                    9/4/2009           7/31/2029
Spirit Master Funding III, LLC       404 E. HIGHWAY 20                                          ONEILL             NE            68763                    Operating Lease-Spirit                   9/4/2009          12/31/2027                 N/A
Spirit Master Funding III, LLC       1511 EAST 4TH STREET                                       AINSWORTH          NE            69210                    Operating Lease-Spirit                   9/4/2009          12/31/2027                 N/A
Spirit Master Funding III, LLC       718 4TH STREET                                             GOTHENBURG         NE            69138                    Operating Lease-Spirit                   9/4/2009          12/31/2027                 N/A
Spirit Master Funding III, LLC       140 US HIGHWAY 20 S                                        THERMOPOLIS        WY            82443                    Operating Lease-Spirit                   9/4/2009          12/31/2027                 N/A

Spirit Master Funding VIII, LLC      2727 N Harwood Street Suite 300                            Dallas             TX            75201                    Lease                                 12/15/2014           12/31/2035

Spirit SPE Portfolio 2006-1, LLC     2727 N Harwood Street Suite 300                            Dallas             TX            75201                    Lease                                 12/15/2014           12/31/2035

Spirit SPE Portfolio 2006-1, LLC     2727 N Harwood Street Suite 300                            Dallas             TX            75201                    Lease                                 12/15/2014           12/31/2035




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             Contract Counterparty               Address1               Address2            City         State   Postal Code   Country        Debtor's Interest              Lease           Remaining Term          Government Contract

Spirit SPE Portfolio 2006-1, LLC      2727 N Harwood Street Suite 300              Dallas           TX           75201                   Lease                                 12/15/2014           12/31/2035

Spirit SPE Portfolio 2006-1, LLC      2727 N Harwood Street Suite 300              Dallas           TX           75201                   Lease                                 12/15/2014            5/31/2026

Spirit SPE Portfolio 2006-1, LLC      2727 N Harwood Street Suite 300              Dallas           TX           75201                   Lease                                 12/15/2014           12/31/2035

Spirit SPE Portfolio 2006-1, LLC      2727 N Harwood Street Suite 300              Dallas           TX           75201                   Lease                                 12/15/2014           12/31/2031

Spirit SPE Portfolio 2006-1, LLC      2727 N Harwood Street Suite 300              Dallas           TX           75201                   Lease                                 12/15/2014           12/31/2031

Spirit SPE Portfolio 2006-1, LLC      2727 N Harwood Street Suite 300              Dallas           TX           75201                   Lease                                 12/15/2014           12/31/2035

Spirit SPE Portfolio 2006-1, LLC      2727 N Harwood Street Suite 300              Dallas           TX           75201                   Lease                                 12/15/2014           12/31/2035

Spirit SPE Portfolio 2006-1, LLC      2727 N Harwood Street Suite 300              Dallas           TX           75201                   Lease                                 12/15/2014           12/31/2035

Spirit SPE Portfolio 2006-1, LLC      2727 N Harwood Street Suite 300              Dallas           TX           75201                   Lease                                 12/15/2014           12/31/2035

Spirit SPE Portfolio 2006-1, LLC      2727 N Harwood Street Suite 300              Dallas           TX           75201                   Lease                                 12/15/2014           12/31/2035

Spirit SPE Portfolio 2006-1, LLC      2727 N Harwood Street Suite 300              Dallas           TX           75201                   Lease                                 12/15/2014           12/31/2035
                                                                                                                                                                                                 b12/31/2035 &
Spirit SPE Portfolio 2006-1, LLC      2727 N Harwood Street Suite 300              Dallas           TX           75201                   Lease                                 12/15/2014           g2/25/2027
                                      2727 N Harwood Street Suite 300
Spirit SPE Portfolio 2006-1, LLC      Dallas TX 75201                              Dallas           TX           75201                   Lease                                 12/15/2014           12/31/2031

Spirit SPE Portfolio 2006-1, LLC      2727 N Harwood Street Suite 300              Dallas           TX           75201                   Lease                                 12/15/2014           11/30/2029

Spirit SPE Portfolio 2006-1, LLC      2727 N Harwood Street Suite 300              Dallas           TX           75201                   Lease                                 12/15/2014           12/31/2035

Spirit SPE Portfolio 2006-1, LLC      2727 N Harwood Street Suite 300              Dallas           TX           75201                   Lease                                 12/15/2014           12/31/2031

Spirit SPE Portfolio 2006-1, LLC      2727 N Harwood Street Suite 300              Dallas           TX           75201                   Lease                                 12/15/2014           12/31/2035

Spirit SPE Portfolio 2006-1, LLC      2727 N Harwood Street Suite 300              Dallas           TX           75201                   Lease                                 12/15/2014           12/31/2035

Spirit SPE Portfolio 2006-1, LLC      2727 N Harwood Street Suite 300              Dallas           TX           75201                   Lease                                 12/15/2014           12/31/2035
Spirit SPE Portfolio 2006-1, LLC      301 BAY PARK SQUARE                          GREEN BAY        WI           54304                   Operating Lease-Spirit                12/15/2014           12/31/2035              N/A
Spirit SPE Portfolio 2006-1, LLC      1105 E. GRAND AVE.                           ROTHSCHILD       WI           54474                   Operating Lease-Spirit                12/15/2014           12/31/2035              N/A
Spirit SPE Portfolio 2006-1, LLC      1000 WEST NORTHLAND AVE                      APPLETON         WI           54914                   Operating Lease-Spirit                12/15/2014           12/31/2035              N/A
Spirit SPE Portfolio 2006-1, LLC      4161 SECOND STREET SOUTH                     ST CLOUD         MN           56301                   Operating Lease-Spirit                12/15/2014           12/31/2035              N/A
Spirit SPE Portfolio 2006-1, LLC      125 MAIN STREET N                            HUTCHINSON       MN           55350                   Operating Lease-Spirit                12/15/2014            5/31/2026              N/A
Spirit SPE Portfolio 2006-1, LLC      1200 SUSAN DRIVE                             MARSHALL         MN           56258                   Operating Lease-Spirit                12/15/2014           12/31/2035              N/A
Spirit SPE Portfolio 2006-1, LLC      2761 PRAIRIE AVE.                            BELOIT           WI           53511                   Operating Lease-Spirit                12/15/2014           12/31/2031              N/A
Spirit SPE Portfolio 2006-1, LLC      4801 WASHINGTON AVE                          RACINE           WI           53406                   Operating Lease-Spirit                12/15/2014           12/31/2031              N/A
Spirit SPE Portfolio 2006-1, LLC      800 EAST MAES AVE                            KIMBERLY         WI           54136                   Operating Lease-Spirit                12/15/2014           12/31/2035              N/A
Spirit SPE Portfolio 2006-1, LLC      2500 E US HWY 14                             JANESVILLE       WI           53545                   Operating Lease-Spirit                12/15/2014           12/31/2035              N/A
Spirit SPE Portfolio 2006-1, LLC      2677 S PRAIRIE VIEW ROAD                     CHIPPEWA FALLS   WI           54729                   Operating Lease-Spirit                12/15/2014           12/31/2035              N/A
Spirit SPE Portfolio 2006-1, LLC      1300 S KOELLER ROAD                          OSHKOSH          WI           54902                   Operating Lease-Spirit                12/15/2014           12/31/2035              N/A
Spirit SPE Portfolio 2006-1, LLC      616 WEST JOHNSON STREET                      FOND DU LAC      WI           54935                   Operating Lease-Spirit                12/15/2014           12/31/2035              N/A
Spirit SPE Portfolio 2006-1, LLC      615 SOUTH MONROE AVE.                        MASON CITY       IA           50401                   Operating Lease-Spirit                12/15/2014           12/31/2035              N/A
Spirit SPE Portfolio 2006-1, LLC      1771 WISCONSIN AVE                           GRAFTON          WI           53024                   Operating Lease-Spirit                12/15/2014           12/31/2031              N/A

Spirit SPE Portfolio 2006-1, LLC      801 WEST CENTRAL ENTRANCE                    DULUTH           MN           55811                   Operating Lease-Spirit                12/15/2014           11/30/2029              N/A
Spirit SPE Portfolio 2006-1, LLC      518 SOUTH TAYLOR DRIVE                       SHEBOYGAN        WI           53081                   Operating Lease-Spirit                12/15/2014           12/31/2035              N/A
Spirit SPE Portfolio 2006-1, LLC      1350 NORTH GALENA AVENUE                     DIXON            IL           61021                   Operating Lease-Spirit                12/15/2014           12/31/2031              N/A
Spirit SPE Portfolio 2006-1, LLC      405 W. EIGHTH STREET                         MONROE           WI           53566                   Operating Lease-Spirit                12/15/2014           12/31/2035              N/A
Spirit SPE Portfolio 2006-1, LLC      555 WEST SOUTH STREET                        FREEPORT         IL           61032                   Operating Lease-Spirit                12/15/2014           12/31/2035              N/A

Spirit SPE Portfolio 2006-2, LLC      2727 N Harwood Street Suite 300              Dallas           TX           75201                   Lease                                 12/15/2014           12/31/2035

Spirit SPE Portfolio 2006-2, LLC      2727 N Harwood Street Suite 300              Dallas           TX           75201                   Lease                                 12/15/2014            5/31/2026




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             Contract Counterparty               Address1               Address2            City        State   Postal Code   Country        Debtor's Interest              Lease           Remaining Term          Government Contract

Spirit SPE Portfolio 2006-2, LLC      2727 N Harwood Street Suite 300              Dallas          TX           75201                   Lease                                 12/15/2014           12/31/2031

Spirit SPE Portfolio 2006-2, LLC      2727 N Harwood Street Suite 300              Dallas          TX           75201                   Lease                                 12/15/2014           12/31/2031

Spirit SPE Portfolio 2006-2, LLC      2727 N Harwood Street Suite 300              Dallas          TX           75201                   Lease                                 12/15/2014            5/31/2026

Spirit SPE Portfolio 2006-2, LLC      2727 N Harwood Street Suite 300              Dallas          TX           75201                   Lease                                 12/15/2014           12/31/2035
                                                                                                                                                                                                b12/31/2031 &
Spirit SPE Portfolio 2006-2, LLC      2727 N Harwood Street Suite 300              Dallas          TX           75201                   Lease                                 12/15/2014           g1/31/2028

Spirit SPE Portfolio 2006-2, LLC      2727 N Harwood Street Suite 300              Dallas          TX           75201                   Lease                                 12/15/2014           12/31/2035
                                      2727 N Harwood Street Suite 300                                                                                                                            b5/31/2026 &
Spirit SPE Portfolio 2006-2, LLC      Dallas TX 75201                              Dallas          TX           75201                   Lease                                 12/15/2014           g2/29/2020

Spirit SPE Portfolio 2006-2, LLC      2727 N Harwood Street Suite 300              Dallas          TX           75201                   Lease                                 12/15/2014                 #N/A
Spirit SPE Portfolio 2006-2, LLC      1341 NORTH MAIN STREET                       LOGAN           UT           84341                   Operating Lease-Spirit                12/15/2014            5/31/2026              N/A
Spirit SPE Portfolio 2006-2, LLC      700 Pilgrim Way                              Green Bay       WI           54304                   Operating Lease-Spirit                12/15/2014           12/31/2035              N/A
                                      2727 N Harwood Street Suite 300
Spirit SPE Portfolio 2006-3, LLC      Dallas TX 75201                              Dallas          TX           75201                   Lease                                   5/31/2006           5/31/2031
                                      2727 N Harwood Street Suite 300
Spirit SPE Portfolio 2006-3, LLC      Dallas TX 75201                              Dallas          TX           75201                   Lease                                   5/31/2006           5/31/2031
                                      2727 N Harwood Street Suite 300
Spirit SPE Portfolio 2006-3, LLC      Dallas TX 75201                              Dallas          TX           75201                   Lease                                   5/31/2006           7/31/2029
                                      2727 N Harwood Street Suite 300
Spirit SPE Portfolio 2006-3, LLC      Dallas TX 75201                              Dallas          TX           75201                   Lease                                   5/31/2006           7/31/2029
                                      2727 N Harwood Street Suite 300
Spirit SPE Portfolio 2006-3, LLC      Dallas TX 75201                              Dallas          TX           75201                   Lease                                   5/31/2006           5/31/2031

Spirit SPE Portfolio 2006-3, LLC      2727 N Harwood Street Suite 300              Dallas          TX           75201                   Lease                                   5/31/2006           5/31/2021

Spirit SPE Portfolio 2006-3, LLC      2727 N Harwood Street Suite 300              Dallas          TX           75201                   Lease                                   5/31/2006           5/31/2021

Spirit SPE Portfolio 2006-3, LLC      2727 N Harwood Street Suite 300              Dallas          TX           75201                   Lease                                   5/31/2006           5/31/2021

Spirit SPE Portfolio 2006-3, LLC      2727 N Harwood Street Suite 300              Dallas          TX           75201                   Lease                                   5/31/2006           5/31/2021

Spirit SPE Portfolio 2006-3, LLC      2727 N Harwood Street Suite 300              Dallas          TX           75201                   Lease                                   5/31/2006           7/31/2029

Spirit SPE Portfolio 2006-3, LLC      2727 N Harwood Street Suite 300              Dallas          TX           75201                   Lease                                   5/31/2006           5/31/2021

Spirit SPE Portfolio 2006-3, LLC      2727 N Harwood Street Suite 300              Dallas          TX           75201                   Lease                                   5/31/2006           5/31/2021

Spirit SPE Portfolio 2006-3, LLC      2727 N Harwood Street Suite 300              Dallas          TX           75201                   Lease                                   5/31/2006           5/31/2031

Spirit SPE Portfolio 2006-3, LLC      2727 N Harwood Street Suite 300              Dallas          TX           75201                   Lease                                   5/31/2006           7/31/2029

Spirit SPE Portfolio 2006-3, LLC      2727 N Harwood Street Suite 300              Dallas          TX           75201                   Lease                                   5/31/2006           7/31/2029

Spirit SPE Portfolio 2006-3, LLC      2727 N Harwood Street Suite 300              Dallas          TX           75201                   Lease                                   5/31/2006           5/31/2031

Spirit SPE Portfolio 2006-3, LLC      2727 N Harwood Street Suite 300              Dallas          TX           75201                   Lease                                   5/31/2006           5/31/2021

Spirit SPE Portfolio 2006-3, LLC      2727 N Harwood Street Suite 300              Dallas          TX           75201                   Lease                                   5/31/2006           5/31/2021

Spirit SPE Portfolio 2006-3, LLC      2727 N Harwood Street Suite 300              Dallas          TX           75201                   Lease                                   5/31/2006           5/31/2021

Spirit SPE Portfolio 2006-3, LLC      2727 N Harwood Street Suite 300              Dallas          TX           75201                   Lease                                   5/31/2006           5/31/2021

Spirit SPE Portfolio 2006-3, LLC      2727 N Harwood Street Suite 300              Dallas          TX           75201                   Lease                                   5/31/2006           5/31/2021

Spirit SPE Portfolio 2006-3, LLC      2727 N Harwood Street Suite 300              Dallas          TX           75201                   Lease                                   5/31/2006           7/31/2029

Spirit SPE Portfolio 2006-3, LLC      2727 N Harwood Street Suite 300              Dallas          TX           75201                   Lease                                   5/31/2006           5/31/2021




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             Contract Counterparty               Address1               Address2            City        State   Postal Code   Country        Debtor's Interest              Lease           Remaining Term          Government Contract

Spirit SPE Portfolio 2006-3, LLC      2727 N Harwood Street Suite 300              Dallas          TX           75201                   Lease                                   5/31/2006           5/31/2021

Spirit SPE Portfolio 2006-3, LLC      2727 N Harwood Street Suite 300              Dallas          TX           75201                   Lease                                   5/31/2006           5/31/2021

Spirit SPE Portfolio 2006-3, LLC      2727 N Harwood Street Suite 300              Dallas          TX           75201                   Lease                                   5/31/2006           5/31/2021

Spirit SPE Portfolio 2006-3, LLC      2727 N Harwood Street Suite 300              Dallas          TX           75201                   Lease                                   5/31/2006           7/31/2029

Spirit SPE Portfolio 2006-3, LLC      2727 N Harwood Street Suite 300              Dallas          TX           75201                   Lease                                   7/26/2018           5/31/2031

Spirit SPE Portfolio 2006-3, LLC      2727 N Harwood Street Suite 300              Dallas          TX           75201                   Lease                                   5/31/2006           7/31/2029

Spirit SPE Portfolio 2006-3, LLC      2727 N Harwood Street Suite 300              Dallas          TX           75201                   Lease                                   5/31/2006           5/31/2031

Spirit SPE Portfolio 2006-3, LLC      2727 N Harwood Street Suite 300              Dallas          TX           75201                   Lease                                   5/31/2006           5/31/2031
Spirit SPE Portfolio 2006-3, LLC      291 S. MAIN STREET                           CLINTONVILLE    WI           54929                   Operating Lease-Spirit                  5/31/2006           5/31/2031              N/A
Spirit SPE Portfolio 2006-3, LLC      717 E. LAKESHORE DRIVE                       MANISTIQUE      MI           49854                   Operating Lease-Spirit                  5/31/2006           5/31/2031              N/A
Spirit SPE Portfolio 2006-3, LLC      1201 12TH AVENUE SE                          DYERSVILLE      IA           52040                   Operating Lease-Spirit                  5/31/2006           5/31/2026              N/A
Spirit SPE Portfolio 2006-3, LLC      1625 HIGHWAY 61                              LANCASTER       WI           53813                   Operating Lease-Spirit                  5/31/2006           5/31/2026              N/A
Spirit SPE Portfolio 2006-3, LLC      1625 E BLASCHKO AVENUE                       ARCADIA         WI           54612                   Operating Lease-Spirit                  5/31/2006           5/31/2031              N/A
Spirit SPE Portfolio 2006-3, LLC      1215 E. MAIN STREET                          ATTICA          IN           47918                   Operating Lease-Spirit                  5/31/2006           5/31/2021              N/A
Spirit SPE Portfolio 2006-3, LLC      200 W. BURNSIDE DRIVE                        MONTICELLO      IL           61856                   Operating Lease-Spirit                  5/31/2006           5/31/2021              N/A
Spirit SPE Portfolio 2006-3, LLC      840 NORTH U.S. 41                            ROCKVILLE       IN           47872                   Operating Lease-Spirit                  5/31/2006           5/31/2021              N/A
Spirit SPE Portfolio 2006-3, LLC      700 PROGRESS BLVD.                           TUSCOLA         IL           61953                   Operating Lease-Spirit                  5/31/2006           5/31/2021              N/A
Spirit SPE Portfolio 2006-3, LLC      91 W. PINE LAKE DRIVE                        NEWAYGO         MI           49337                   Operating Lease-Spirit                  5/31/2006           5/31/2021              N/A
Spirit SPE Portfolio 2006-3, LLC      11250 NORTH MISSION ROAD                     CLARE           MI           48617                   Operating Lease-Spirit                  5/31/2006           5/31/2021              N/A
Spirit SPE Portfolio 2006-3, LLC      56419 POKAGON STREET                         DOWAGIAC        MI           49047                   Operating Lease-Spirit                  5/31/2006           5/31/2021              N/A
Spirit SPE Portfolio 2006-3, LLC      2278 N. COMFORT DRIVE                        HART            MI           49420                   Operating Lease-Spirit                  5/31/2006           5/31/2031              N/A
Spirit SPE Portfolio 2006-3, LLC      819 11TH AVENUE SW                           WAUKON          IA           52172                   Operating Lease-Spirit                  5/31/2006           5/31/2026              N/A
Spirit SPE Portfolio 2006-3, LLC      1003 CENTRAL AVE. WEST                       CLARION         IA           50525                   Operating Lease-Spirit                  5/31/2006           5/31/2026              N/A
Spirit SPE Portfolio 2006-3, LLC      1305 141ST STREET                            PERRY           IA           50220                   Operating Lease-Spirit                  5/31/2006           5/31/2031              N/A
Spirit SPE Portfolio 2006-3, LLC      201 N. FILLMORE                              MOUNT AYER      IA           50854                   Operating Lease-Spirit                  5/31/2006           5/31/2021              N/A
Spirit SPE Portfolio 2006-3, LLC      300 CROSS STREET                             BURLINGTON      KS           66839                   Operating Lease-Spirit                  5/31/2006           5/31/2021              N/A
Spirit SPE Portfolio 2006-3, LLC      101 S. POLK                                  ALBANY          MO           64402                   Operating Lease-Spirit                  5/31/2006           5/31/2021              N/A
Spirit SPE Portfolio 2006-3, LLC      812 HARVEST HILLS DRIVE                      CARROLLTON      MO           64633                   Operating Lease-Spirit                  5/31/2006           5/31/2021              N/A
Spirit SPE Portfolio 2006-3, LLC      212 NORTH MAIN STREET                        GALLATIN        MO           64640                   Operating Lease-Spirit                  5/31/2006           5/31/2021              N/A
Spirit SPE Portfolio 2006-3, LLC      459 GRAND AVE                                MEMPHIS         MO           63555                   Operating Lease-Spirit                  5/31/2006           5/31/2021              N/A
Spirit SPE Portfolio 2006-3, LLC      1520 W. 9TH STREET                           MT. CARMEL      IL           62863                   Operating Lease-Spirit                  5/31/2006           5/31/2021              N/A
Spirit SPE Portfolio 2006-3, LLC      825 VALLEY STREET                            MINERVA         OH           44657                   Operating Lease-Spirit                  5/31/2006           5/31/2021              N/A
Spirit SPE Portfolio 2006-3, LLC      378 LEWISVILLE ROAD                          WOODSFIELD      OH           43793                   Operating Lease-Spirit                  5/31/2006           5/31/2021              N/A
Spirit SPE Portfolio 2006-3, LLC      226 E. LINCOLN                               FERGUS FALLS    MN           56537                   Operating Lease-Spirit                  5/31/2006           5/31/2021              N/A
Spirit SPE Portfolio 2006-3, LLC      710 COUNTY ROAD 21 S                         GLENWOOD        MN           56334                   Operating Lease-Spirit                  5/31/2006           5/31/2026              N/A
Spirit SPE Portfolio 2006-3, LLC      800 S. WASHINGTON AVENUE                     MADISON         SD           57042                   Operating Lease                         7/26/2018           5/31/2033              N/A
Spirit SPE Portfolio 2006-3, LLC      1255 MAIN STREET                             LANDER          WY           82520                   Operating Lease-Spirit                  5/31/2006           5/31/2021              N/A
Spirit SPE Portfolio 2006-3, LLC      804 US HWY 2 WEST                            GLASGOW         MT           59230                   Operating Lease-Spirit                  5/31/2006           5/31/2031              N/A
Spirit SPE Portfolio 2006-3, LLC      1005 W COULTER AVENUE                        POWELL          WY           82435                   Operating Lease-Spirit                  5/31/2006           5/31/2031              N/A
SPIRITE INDUSTRIES INCORPORATED       150 S DEAN STREET                            ENGLEWOOD       NJ           07631                   Vendor Terms Agreement
Spodeck Contracting                   PO Box 166                                   Skandia         MI           49885                   Lawn Care ST606
Spodeck Contracting                   PO Box 166                                   Skandia         MI           49885                   Lawn Care ST610
Spodeck Contracting                   PO bOx 166                                   Skandia         MI           49885                   Lawn Care ST621
Spodeck Contracting                   PO bOx 167                                   Skandia         MI           49886                   Lawn Care ST622
                                                                                                                90746-
SPORT DIMENSION INCORPORATED          966 SANDHILL AVENUE                          CARSON          CA           0000                    Vendor Terms Agreement

SPORTCRAFT LIMITED                    INTERNATIONAL TRADE CENTER                   MT OLIVE        NJ           07828                   Vendor Terms Agreement
SPORTIER LLC                          43 W 33RD STREET STE 602                     NEW YORK        NY           10001                   Vendor Terms Agreement
SPORTLINE INC DIV OF EB SPORTS        4 EXECUTIVE PLAZA                            YONKERS         NY           10701                   Vendor Terms Agreement
SPORTPET DESIGNS                      W223N720 SARATOGA DRIVE                      WAUKESHA        WI           53186                   Vendor Terms Agreement
                                      3200 SHAWNEE INDUSTRIAL WAY
SPORTS LICENSING SOLUTIONS            STE 200                                      SUWANEE         GA           30024                   Vendor Terms Agreement
SPORTS LINE DISTRIBUTORS INC          1600 LEIDER LANE                             BUFFALO GROVE   IL           60089                   Vendor Terms Agreement
                                      463 SEVENTH AVENUE 4TH
SPORTS PRODUCTS OF AMERICA LLC        FLOOR                                        NEW YORK        NY           10018                   Vendor Terms Agreement




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                                                                                                                                                                      Lease and Nature of       Date of Contract or                           List Contract Number of Any
              Contract Counterparty                            Address1                     Address2                 City        State   Postal Code    Country         Debtor's Interest             Lease            Remaining Term             Government Contract
SPORTSMANS SUPPLY                                  2802 STANLEY STREET                                      STEVENS POINT   WI           54481                    Vendor Terms Agreement
Sprague Pest                                       2045 W Airport Way                                       Boise           ID           83705                    Boise DC Pest
Spring Green Lawn                                  PO Box 232                                               Dyersville      IA           52040                    Lawn Care ST625
Springerville Plaza, LLC                           2944 N. 44th Street Suite 250                            Phoenix         AZ           85018                    Lease                                 11/16/2015              3/31/2031
Springerville Plaza, LLC                           207 South Mountain Avenue                                Springerville   AZ           85041                    Operating Lease                       11/16/2015              3/31/2031                N/A
                                                                                                                                         91761-
SPRINGS INDUSTRIES INCORPORATED                    1495 E LOCUST STREET                                     ONTARIO         CA           4570                     Vendor Terms Agreement
SPRINGS WINDOW FASHIONS                            7549 GRABER ROAD                                         MIDDLETON       WI           53562                    Vendor Terms Agreement
Sprinkler Medic LLC                                2015 Anna Ave                                            North Platte    NE           69101                    Lawn Care ST053
                                                                                     Mailstop: KSOPH0101-
                                                   Attn: VP Legal Dept Sales and     Z2525, 6391 Sprint                                  66251-                   Customer Service
Sprint Solutions Inc                               Distribution                      Parkway                Overland Park   KS           2525                     Agreement                             10/23/2017             10/22/2019       Account 0061643193-0
SQUATTY POTTY LLC                                  1664 S DIXIE DRIVE F102                                  ST GEORGE       UT           84770                    Vendor Terms Agreement
                                                                                                                                         10018-
SQUEEZE AMICA MARAN APPAREL CORP                   1411 BROADWAY ROOM 501                                   NEW YORK        NY           3460                     Vendor Terms Agreement
SSB (SERTA SIMMONS BEDDING)                        3560 LENOX RD                                            ATLANTA         GA           30328                    Vendor Terms Agreement
SSI GOPICNIC LLC                                   10517 UNITED PARKWAY                                     SCHILLER PARK   IL           60176                    Vendor Terms Agreement
St. Charles Health System, Inc., DBA St. Charles
Bend                                               2500 NE Neff Road                                        Bend            OR           97701                    340B Contract                           7/17/2017            11/28/2018
St. Charles Health System, Inc., DBA St. Charles
Redmond                                            1253 N. Canal Blvd.                                      Redmond         OR           97756                    340B Contract                           7/17/2017            11/28/2018

                                                   c/o MMB Management LLC 300
St. Croix Trail, LLC                               Spectrum Center Drive Suite 300                          Irvine          CA           92618                    Lease                                   9/21/2007              2/3/2029
St. Croix Trail, LLC                               5630 ST. CROIX TRAIL                                     NORTH BRANCH    MN           55056                    Operating Lease                         9/21/2007             1/31/2029                N/A
St. Francis Hospital                               3401 Ludington                                           Escanaba        MI           49829                    340B Contract                            6/6/2018
St. Francis Memorial Hospital                      430 North Monitor Street                                 West Point      NE           68788                    340B Contract                            6/5/2018

STA ELEMENTS INCORPORATED                          7575 KINGSPOINTE PRKY STE 25                             ORLANDO         FL           32746                    Vendor Terms Agreement

STACK ON PRODUCTS INCORPORATED                     1360 NORTH OLD RAND ROAD                                 WAUCONDA        IL           60084                    Vendor Terms Agreement
                                                   BLOCK F 6/F WAH HING                                     SAN PO KONG                                HONG
STALLION SPORT LIMITED                             INDUSTRIAL MANSIONS                                      KOWLOON                                    KONG       Vendor Terms Agreement
                                                                                                                                         65803-
STAMINA PRODUCTS INCORPORATED                      2040 N ALLIANCE AVENUE                                   SPRINGFIELD     MO           9600                     Vendor Terms Agreement
STANDER INCORPORATED                               1615 QUAIL WAY                                           LOGAN           UT           84321                    Vendor Terms Agreement
Stanley                                            8350 Sunlight Drive               Suite 200              Fishers         IN           46037                    security systems
                                                                                                                                         19027-
STANLEY CREATIONS INCORPORATED                     1414 WILLOW AVENUE                                       MELROSE PARK    PA           3197                     Vendor Terms Agreement
Stanley Gunderson                                  2327 US Hwy 59                                           Mahnomen        MN           56557                    Lawn Care ST548
Stanley Security                                   8350 Sunlight Drive                                      Fishers         IN           46037                    Master Agreement                      12/15/2005
                                                                                                                                                                                                                       60 day prior written
Stanley Security                                   8350 Sunlight Drive                                      Fishers         IN           46037                    Master Agreement                      12/15/2005                   notice
STAR PLASTICS INC                                  1930 DREW ROAD                                           MISSISSAUGA     ON           L5S 1J6       Canada     Vendor Terms Agreement

STAR RIDE KIDS INCORPORATED                        1384 BROADWAY 14TH FLOOR                                 NEW YORK        NY           10018                    Vendor Terms Agreement
                                                                                                                                         98124-
STARBUCKS COFFEE COMPANY                           PO BOX 34067                                             SEATTLE         WA           1067                     Vendor Terms Agreement
                                                                                                                                         10001-
STARGATE APPAREL INCORPORATED                      19 W 34TH ST FLOOR 11                                    NEW YORK        NY           3075                     Vendor Terms Agreement
Steele Memorial Medical Center                     203 S. Daisy Street                                      Salmon          ID           83467                    340B Contract                           7/15/2015
STEELSTONE GROUP                                   3611 14TH AVE SUITE 540                                  BROOKLYN        NY           11218                    Vendor Terms Agreement
                                                   731 PRAIRIE DUPONT DRIVE UNIT
STELLAR BRANDS                                     300                                                      DUPO            IL           62239                    Vendor Terms Agreement
STEP IT UP INTERNATIONAL LLC                       2560 FOXFIELD ROAD STE 230                               ST CHARLES      IL           60174                    Vendor Terms Agreement

STEP TWO COMPANY                                   10010 AURORA HUDSON ROAD                                 STREETSBORO     OH           44211                    Vendor Terms Agreement
Stephen S. Leung and Helena S. Leung               526 28th Avenue                                          San Francisco   CA           94121                    Lease                                   5/10/2007            10/31/2022
Stephen S. Leung and Helena S. Leung               4791 COUNTY ROAD 10                                      MOOSE LAKE      MN           55767                    Operating Lease                         5/10/2007            10/31/2022                N/A
                                                                                                                                                                  Removal of Sharps and
                                                                                                                                                                  Hazardous material - Store                          2 months (terminated
Stericycle (Store 027)                             4010 Commercial Avenue                                   Northbrook      IL           60062                    027                                      4/1/2018        agreement 2-1)
                                                                                                                                         01469-
STERILITE CORPORATION                              PO BOX 524                                               TOWNSEND        MA           0524                     Vendor Terms Agreement




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                                                                                                                                                        Description of Contract or
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             Contract Counterparty                 Address1                     Address2                 City        State   Postal Code    Country         Debtor's Interest              Lease           Remaining Term          Government Contract
Sterling Area Health Center           725 E. State Street                                     Sterling          MI           48659                    340B Contract                            1/16/2018          11/28/2018
                                                                                                                                                      Gentran - Term Software
                                                                                                                             43017-                   License Agreement -
Sterling Software (America), Inc      4600 Lakehurst Ct.                                      Dublin            OH           0760                     9/30/1993                               9/30/1993            3/31/2019
                                                                                                                                                      Gentran - Term Software
                                                                                                                             43017-                   License Agreement
Sterling Software (America), Inc      4600 Lakehurst Ct.                                      Dublin            OH           0760                     Addendum - 9/30/1993                                         3/31/2019
                                                                                                                                                      Gentran - Term Software
                                                                                                                             43017-                   License Agreement
Sterling Software (America), Inc      4600 Lakehurst Ct.                                      Dublin            OH           0760                     Addendum A - 2/3/2003                                        3/31/2019
                                                                                                                                                      Gentran - Term Software
                                                                                                                             43017-                   License Agreement
Sterling Software (America), Inc      4600 Lakehurst Ct.                                      Dublin            OH           0760                     Addendum B - 9/19/2003                                       3/31/2019
                                                                                                                                                      Gentran - Term Software
                                                                                                                             43017-                   License Agreement
Sterling Software (America), Inc      4600 Lakehurst Ct.                                      Dublin            OH           0760                     Addendum C - 9/22/2003                                       3/31/2019
                                                                                                                                                      Gentran - Term Software
                                                                                                                                                      License Agreement
                                                                                                                                                      Addendum D - 5/5/2006 (
                                                                                                                             43017-                   IBM bought Sterling in 2011
Sterling Software (America), Inc      4600 Lakehurst Ct.                                      Dublin            OH           0760                     )                                                            3/31/2019

STERNOCANDLELAMP                      1880 COMPTON AVENUE STE 101                             CORONA            CA           92881                    Vendor Terms Agreement

Stettinger Enterprises                1919 South 40th Street Suite 315                        Lincoln           NE           65806                    Lease                                   6/26/2009            5/31/2021
Stettinger Enterprises                123 N. 24TH STREET                                      BEATRICE          NE           68310                    Operating Lease                         6/26/2009            5/31/2021              N/A
Stevens Community Medical Center      400 East 1st Street                                     Morrison          MN           56267                    340B Contract                           4/13/2016
                                                                                                                             84020-
STEVENS SKIN SOFTENER INCORPORAT      PO BOX 1122                                             DRAPER            UT           1122                     Vendor Terms Agreement
Stewart Lawn Service                  44315 Bondi Ridge Rd                                    Woodsfield        OH           43793                    Lawn Care ST719
                                                                                                                                                      Software License Master
Stibo Systems, Inc.                   3550 George Busbee Parkway         Suite 350            Kennesaw          GA           30144                    Agreement                                6/1/2016

                                                                                                                                                      Addendum 1 to the License
Stibo Systems, Inc.                   3550 George Busbee Parkway         Suite 350            Kennesaw          GA           30144                    Master - ODBA support                    6/2/2016

                                                                                                                                                      Annual Support (Application
Stibo Systems, Inc.                   3550 George Busbee Parkway         Suite 350            Kennesaw          GA           30144                    and ODBA Support)                                             2/4/2019

STONE MOUNTAIN USA LLC                10 W 33RD STREET ROOM 728                               NEW YORK          NY           10001                    Vendor Terms Agreement
                                                                                                                             90023-
STONEY APPAREL CORPORATION            1500 S EVERGREEN AVENUE                                 LOS ANGELES       CA           3618                     Vendor Terms Agreement
STONY CREEK                           583 D ONOFRIO DRIVE                                     MADISON           WI           53719                    Vendor Terms Agreement
                                      325 NORTH LASALLE STREET
STORCK USA L P                        SUITE 400                                               CHICAGO           IL           60610                    Vendor Terms Agreement
STOREBOUND LLC                        130 WILLIAM STREET                                      NEW YORK          NY           10038                    Vendor Terms Agreement
                                                                                                                                                      Independent Contractor
Storeworks                            7300 Washington Ave S                                   Eden Prairie      MN           55344                    Agreement                                9/9/2005            1/31/2007

                                                                                                                                                      Quotation Number:
                                                                                                                                                      SHOPSW-SOTIMAIN012717
Storeworks                            7300 Washington Ave S                                   Eden Prairie      MN           55344                    (Soti radio licenses)                    2/1/2018            1/31/2019
                                                                                                                                                      Addendum A-31 to the
                                                                                                                                                      Independent Contractor
                                                                                                                                                      Agreement (Verifone
Storeworks                            7300 Washington Ave S                                   Eden Prairie      MN           55344                    Mx925 warranty)                          7/1/2018            6/30/2020
STOREX INDUSTRIES CORPORATION         9440 CLEMENT                                            LASALLE           QC           H8R 3W1       Canada     Vendor Terms Agreement
Straight Edge Maintenance LLC         PO Box 8464                                             Bend              OR           97708                    Lawn Care ST093
STREAMLINE INCORPORATED               229 NORTH ROUTE 303                                     CONGERS           NY           10920                    Vendor Terms Agreement
STREET SURFING WORLDWIDE              4299 MACARTHUR BLVD #200                                NEWPORT BEACH     CA           92660                    Vendor Terms Agreement
STUDIO IMPORTS LIMITED INC            2252 HAYES STREET                                       HOLLYWOOD         FL           33020                    Vendor Terms Agreement
STUDIO RAY LLC                        512 7TH AVENUE                                          NEW YORK          NY           10017                    Vendor Terms Agreement
                                      7764 SAN FERNANDO ROAD STE
STUDIOCHIC LLC                        13                                                      SUN VALLEY        CA           91352                    Vendor Terms Agreement




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           Contract Counterparty               Address1                      Address2            City              State   Postal Code    Country        Debtor's Interest              Lease           Remaining Term          Government Contract
SUCCESS APPAREL LLC                 19 W 34TH STREET                                       NEW YORK           NY           10001                    Vendor Terms Agreement
                                                                                                                           02895-
SUMMER INFANT INCORPORATED          1275 PARK EAST DRIVE                                   WOONSOCKET         RI           0000                     Vendor Terms Agreement
                                    6714 POINTE INVERNESS WAY                                                              46804-
SUMMIT BRANDS                       SUITE 200                                              FORT WAYNE         IN           7935                     Vendor Terms Agreement
Summit Northwest LLC                P.O. Box 18194                                         Seattle            WA           98118                    Lease                                   6/30/2015          11/30/2029

SUMMIT PRODUCTS INCORPORATED        2160 HIGHLAND AVENUE SOUTH                             BIRMINGHAM         AL           35205                    Vendor Terms Agreement

SumTotal                            2850 NW 43rd Street, Suite #150                        Gainesville        FL           32606                    Performance Management                   7/1/2018           6/30/2019
                                    FLAT/RM 1405 14/F LUCKY                                                                              HONG
SUMXING CO LIMITED                  CENTRE                                                 WANCHAI                                       KONG       Vendor Terms Agreement
                                                                                                                           32926-
SUN & SKIN CARE RESEARCH LLC        851 GREENSBORO ROAD                                    COCOA              FL           4516                     Vendor Terms Agreement
SUN N SAND ACCESSORIES              1813 109TH STREET                                      GRAND PRAIRIE      TX           75050                    Vendor Terms Agreement
SUN PRODUCTS CORPORATION            PO BOX 25057                                           SALT LAKE CITY     UT           84125                    Vendor Terms Agreement
SUN TREE SNACK FOODS                4502 W MONTEROSA STREET                                PHOENIX            AZ           85031                    Vendor Terms Agreement
SUN YIN USA                         280 MACHLIN COURT                                      CITY OF INDUSTRY   CA           91789                    Vendor Terms Agreement
SUNCAST CORPORATION                 701 N KIRK ROAD                                        BATAVIA            IL           60510                    Vendor Terms Agreement
SUNDANCE SHOES INC                  430 N CANAL STREET STE 17                              S SAN FRAN         CA           94080                    Vendor Terms Agreement
Sunde Services                      415 S. Clark                                           Forest City        IA           50436                    Lawn Care ST791
SUNHAM HOME FASHIONS LLC            700 CENTRAL AVENUE                                     NEW PROVIDENCE     NJ           07974                    Vendor Terms Agreement
                                                                                                                           26047-
SUNJOY INDUSTRIES                   19 FOX RUN ROAD                                        NEW CUMBERLAND     WV           1517                     Vendor Terms Agreement
SUNNY ISLAND DISTRIBUTION           1569 BARCLAY BLVD                                      BUFFALO GROVE      IL           60089                    Vendor Terms Agreement
                                                                                                                                                    Med B Rebates For
Sunovion(aka Sepracor)              84 Waterford Dr                                        Marlborough        MA           01752                    Brovanna Dispensing                     6/30/1905
                                                                                           RANCHO
SUNSET VISTA DESIGNS CO             9850 SIXTH STREET                                      CUCAMONGO          CA           91730                    Vendor Terms Agreement

SUNSOURCE                           255 W 35TH STREET 9TH FLOOR                            NEW YORK           NY           10018                    Vendor Terms Agreement
                                    8885 WOODBINE AVENUE
SUPER TECHNOLOGY LIMITED            MARKHAM                                                TORONTO            ON           L3R 5G1       CANADA     Vendor Terms Agreement
SUPERFIT KNITTING INC DBA WERTEX    1191 BATHHURST STREET                                  TORONTO            ON           M5R 3H4       Canada     Vendor Terms Agreement
SUPREME INTERNATIONAL               3000 NW 107TH AVENUE                                   MIAMI              FL           33172                    Vendor Terms Agreement
SURE FIT HOME PRODUCTS LLC          8000 QUARRY RD SUITE C                                 ALBURTIS           PA           18011                    Vendor Terms Agreement
                                                                                                                           49512-
SUREFIL                             4560 DANVERS                                           GRAND RAPIDS       WI           0000                     Vendor Terms Agreement

SURPLUS GIANT INCORPORATED          900 EAST ATLANTIC AVE SUITE 12                         DELRAY BEACH       FL           33483                    Vendor Terms Agreement
SVK Capital, LLC                    513 Monument Court                                     Fremont            CA           94539                    Lease                                 12/11/2015           11/30/2029
SWAT FAME INC                       16425 E GALE AVENUE                                    CITY OF INDUSTRY   CA           91745                    Vendor Terms Agreement
SWEET CANDY COMPANY                 3780 W DIRECTORS ROW                                   SALT LAKE CITY     UT           84104                    Vendor Terms Agreement
SWIFT RESPONSE LLC                  2690 WESTON ROAD STE #200                              WESTON             FL           33331                    Vendor Terms Agreement
SWIMSUITS FOR ALL                   2 INDUSTRIAL DRIVE UNIT B                              KEYPORT            NJ           07735                    Vendor Terms Agreement
SWIMWAYS CORPORATION                5816 WARD COURT                                        VIRGINIA BEACH     VA           23455                    Vendor Terms Agreement

SXWELL USA LLC                      111 WOOD AVE SOUTH SUITE 210                           ISELIN             NJ           08830                    Vendor Terms Agreement
SYKEL ENTERPRISES DIV OF FABRIQU    39 W 37TH ST 14TH FLOOR                                NEW YORK           NY           10018                    Vendor Terms Agreement
                                                                                                                           10965-
Syncsort                            2 Blue Hill Plaza #1563                                Pearl River        NY           3113                     Master License Agreement                 1/5/1995
                                                                                                                           10965-                   License Transfer AIX010 -
Syncsort                            2 Blue Hill Plaza #1563                                Pearl River        NY           3113                     03/02/2010
                                                                                                                           10965-                   License Transfer AIX037 -
Syncsort                            2 Blue Hill Plaza #1563                                Pearl River        NY           3113                     03/09/2010
                                                                                                                           10965-                   Annual Support 12/17/2018
Syncsort                            2 Blue Hill Plaza #1563                                Pearl River        NY           3113                     AIX34                                                      12/31/2021

                                                                                                                           10965-                   Annual Support 08/20/2018
Syncsort                            2 Blue Hill Plaza #1563                                Pearl River        NY           3113                     AIX10/37/803                                                10/1/2021
Synercomm                           3265 Gateway Road                 Suite 650            Brookfield         WI           53045                    Software Maintenance                                        1/31/2020
                                                                                                                                                    Software Maintenance -
Synercomm                           3265 Gateway Road                 Suite 650            Brookfield         WI           53045                    Infoblox                              12/25/2018           12/26/2019




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             Contract Counterparty                             Address1                 Address2                  City        State   Postal Code    Country         Debtor's Interest              Lease           Remaining Term              Government Contract
                                                                                                                                                               Zscaler Enterprise Guest Wi-                                                Zscaler Enterprise Guest Wi-Fi
Synercomm                                         3265 Gateway Road              Suite 650             Brookfield        WI           53045                    Fi Security                               2/1/2019           1/31/2020            Security subscription
                                                                                                                                                               Statement of Work -
                                                                                                                                                               Network-layer security                                                    Statement of Work - Addendum A-
Synercomm                                         3265 Gateway Road              Suite 650             Brookfield        WI           53045                    penetration test                         5/25/2018           6/29/2018                  18
SYNNEX CORP DBA JACK OF ALL GAME                  8800 GLOBAL WAY                                      WEST CHESTER      OH           45069                    Vendor Terms Agreement
                                                                                                                                      19801-
SYNTHESIS HOME TEXTILES PRIVATE                   1201 N ORANGE ST SUITE 7327                          WILMINGTON        DE           1186                     Vendor Terms Agreement
                                                  ONE TFH PLACE THIRD UNION
T F H PUBLICATIONS NYLABONE PRO                   AVENUE                                               NEPTUNE           NJ           07754                    Vendor Terms Agreement
                                                                                                                                      08332-
T FAL CORPORATION                                 2199 EDEN RD                                         MILLVILLE         NJ           0000                     Vendor Terms Agreement
T SHIRT INTERNATIONAL INC                         2101 GRACE STREET                                    CULLODEN          WV           25510                    Vendor Terms Agreement
Table Rock Mobile Estates, Inc.                   26 Via Corsica Dana Point CA                         Dana Point        CA           92629                    Lease                                    3/14/2017          12/31/2035
TABLETOPS UNLIMITED                               23000 S AVALON BOULEVARD                             CARSON            CA           90745                    Vendor Terms Agreement
                                                  13950 RADIUM STREET NW STE
TACTICAL CRUSADER COMPANY                         100                                                  RAMSEY            MN           55303                    Vendor Terms Agreement
TAFFY TOWN                                        55 W 800 SOUTH                                       SALT LAKE CITY    UT           84101                    Vendor Terms Agreement
                                                                                                                                      53929-
TAILOR MADE PRODUCTS INCORPORATE                  PO BOX 138                                           ELROY             WI           0138                     Vendor Terms Agreement

TAKEYA USA CORP                                   214 5TH STREET SUITE 204                             HUNTINGTON BEACH CA            92648                    Vendor Terms Agreement
TALKINGRAIN BEVERAGE                              305 20 SE 84TH STREET                                PRESTON          WA            98050                    Vendor Terms Agreement
TALL TREE IMPORTS LLC                             24721 RUSSELL LANE                                   MUNDELEIN        IL            60060                    Vendor Terms Agreement
Talx corporation (provider of Equifax Workforce                                                                                                                ACA Tax Form Services
Solutions)                                        11432 Lackland Road                                  St Louis          MO           63146                    platform and analytics                   10/1/2015         auto renewal
Talx Employer Service Agreement (provider of                                                                                                                   Unemployment Cost
Equifax)                                          11432 Lackland Road                                  St Louis          MO           63146                    Control Services                          1/1/2005         auto renewal
TANDY BRANDS ACCESSORIES                          3631 W DAVIS ST SUITE A                              DALLAS            TX           75211                    Vendor Terms Agreement

TANYA CREATIONS INCORPORATED                      360 NARRAGANSETT PARK DRIVE                          EAST PROVIDENCE   RI           02916                    Vendor Terms Agreement
TANZARA INTERNATIONAL                             1407 BROADWAY ROOM 3411                              NEW YORK          NY           10018                    Vendor Terms Agreement
TARA TOY CORPORATION                              40 ADAMS AVENUE                                      HAUPPAUGE         NY           11788                    Vendor Terms Agreement
TARO CONSUMER PRODUCTS                            3 SKYLINE DRIVE                                      HAWTHORNE         NY           10532                    Vendor Terms Agreement
                                                  2828 DONALD DOUGLAS LOOP
TASTE OF NATURE INCORPORATED                      NORTH STE A                                          SANTA MONICA      CA           90405                    Vendor Terms Agreement
TAWIL ASSOCIATES INCORPORATED                     100 WESLEY WHITE DRIVE                               CARTERET          NJ           07008                    Vendor Terms Agreement
                                                                                                                                                               Independent Contractor
Tax Advisors Group, Inc.                          12400 Coit Road                Suite 1270            Dallas            TX           75251                    Agreement                                3/24/2017          12/31/2019
TAYLOR BRANDS LLC                                 1043 FORDTOWN ROAD                                   KINGSPORT         TN           37663                    Vendor Terms Agreement

TAYLOR PRECISION PRODUCTS                         2311 W 22ND STREET SUITE 103                         OAKBROOK          IL           60523                    Vendor Terms Agreement

TC Mitchell, LLC and Blacktail Properties, LLC    1500 Old Stage Road                                  Dillon            MT           59725                    Lease                                    12/5/2007            1/4/2019

TC Mitchell, LLC and Blacktail Properties, LLC    125 East Glendale                                    DILLON            MT           59725                    Capital Lease                            12/5/2007           1/31/2023                  N/A
TDC GAMES INCORPORATED                            1456 W NORWOOD DRIVE                                 ITASCA            IL           60143                    Vendor Terms Agreement
                                                                                 525 Junction Road, Suite                                                      Telecommunications Service
TDS Metrocom                                      Attn: Contract Administrator   6000                     Madison        WI           53717                    Agreement                                1/26/2008
TEAM BEANS LLC                                    2301 COTTONTAIL LANE                                    SOMERSET       NJ           08873                    Vendor Terms Agreement
TEAM CREATION INCORPORATED                        33 34TH STREET UNIT 2B                                  BROOKLYN       NY           11232                    Vendor Terms Agreement
TEAM GOLF                                         1540 CHAMPION DRIVE                                     CARROLLTON     TX           75006                    Vendor Terms Agreement
TEC LABS INC                                      7100 TEC LABS WAY SW                                    ALBANY         OR           97321                    Vendor Terms Agreement
TECH DATA CORPORATION                             5350 TECH DATA DRIVE                                    CLEARWATER     FL           33760                    Vendor Terms Agreement

TECH FOUR KIDS INCORPORATED                       1200 AEROWOOD DRIVE UNIT 28                          MISSISSAUGA       ON           L4W 2S7       Canada     Vendor Terms Agreement
TECHNO SOURCE                                     10 ORAN PLACE                                        MORGANVILLE       NJ           07751                    Vendor Terms Agreement
TEE ZED PRODUCTS LLC                              PO BOX 1662                                          JAMESTOWN         NC           27282                    Vendor Terms Agreement
                                                                                                                                      76034-
TEK NEK TOYS INTERNATIONAL INC                    1904 INDUSTRIAL BLVD STE 101                         COLLEYVILLE       TX           0000                     Vendor Terms Agreement
TEKNO PRODUCTS INC                                407 HARMON COVE TOWERS                               SECAUCUS          NJ           07094                    Vendor Terms Agreement
TEKNOR APEX COMPANY                               505 CENTRAL AVENUE                                   PAWTUCKET         RI           02861                    Vendor Terms Agreement




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                                                                                                                                                        Description of Contract or
                                                                                                                                                          Lease and Nature of         Date of Contract or                          List Contract Number of Any
            Contract Counterparty                        Address1                 Address2                 City        State   Postal Code   Country        Debtor's Interest               Lease           Remaining Term             Government Contract

                                                                                                                                                                                                                               Independent Contractor Agreement
TEKSystems                                 705 N. McCarthy Road                                 Appleton          WI           54913                   ICA dated 3/1/07                          3/1/2007            9/28/2018 Addendum A-31 SQL DBA support
TELEBRANDS CORPORATION                     79 TWO BRIDGES ROAD                                  FAIRFIELD         NJ           07004                   Vendor Terms Agreement
TELEDYNAMICS                               2200 WHELESS LANE                                    AUSTIN            TX           78723                   Vendor Terms Agreement
TEN VOX ENTERTAINMENT LLC                  6921 NW 22ND STREET                                  GAINESVILLE       FL           32653                   Vendor Terms Agreement

TEN WEST APPAREL INC                       10 WEST 33RD STREET SUITE 216                        NEW YORK          NY           10001                   Vendor Terms Agreement
                                                                                                                               03561-
TENDER CORPORATION                         103 BURNDY ROAD                                      LITTLETON         NH           3957                    Vendor Terms Agreement
Terminal Court LLC                         P.O. Box 14073                                       Lansing           MI           48901                   Lease                                    5/31/2006            7/31/2029
Terminal Court LLC                         540 JENNER DRIVE                                     ALLEGAN           MI           49010                   Operating Lease                          5/31/2006            7/31/2029                N/A

TERRAMAR SPORTS INCORPORATED               580 WHITE PLAINS ROAD STE 660                        TARRYTOWN         NY           10591                   Vendor Terms Agreement
                                           201 TRIPLE DIAMOND
TERVIS TUMBLER COMPANY                     BOULEVARD                                            NORTH VENICE      FL           64275                   Vendor Terms Agreement
                                                                                                                                                       Master Agreement -
Test IO                                    535 Mission St. 14th Floor                           San Francisco     CA           94105                   08/28/2015                               6/11/2018            8/20/2019
TETERS FLORAL PRODUCTS                     1425 S LILLIAN AVENUE                                BOLIVAR           MO           65613                   Vendor Terms Agreement
Texas Green Lawn                           PO Box 393                                           Pleasanton        TX           78064                   Lawn Care ST593
                                                                                                                               77043-
TEXSPORT                                   1332 CONRAD SAUER DRIVE                              HOUSTON           TX           4309                    Vendor Terms Agreement

TEXSTYLE INCORPORATED                      5555 MURRAY AVENUE SUITE A                           CINCINNATI        OH           45227                   Vendor Terms Agreement
TEXTILES FROM EUROPE DBA VICTORI           2170 ROUTE #27                                       EDISON            NJ           08817                   Vendor Terms Agreement
                                           315 5TH AVENUE RM 400 4TH                                                           10016-
TEXTISS USA                                FLOOR                                                NEW YORK          NY           0000                    Vendor Terms Agreement
TH FOODS                                   2134 HARLEM ROAD                                     LOVES PARK        IL           61111                   Vendor Terms Agreement
THANASI FOODS LLC                          4745 WALNUT STREET UNIT A                            BOULDER           CO           80301                   Vendor Terms Agreement
THANE INTERNATIONAL                        78 140 CALLE TAMPICO                                 LA QUINTA         CA           92253                   Vendor Terms Agreement
THATS IT NUTRITION                         934 S BROADWAY STE 800                               LOS ANGELES       CA           90014                   Vendor Terms Agreement
THBH SL, L.L.C.                            9 Malka Way                                          Lakewood          NJ           08701                   Lease                                  12/15/2014            12/31/2035

The 3 Amigos, LLC.                         5803 South 56th Street Suite A2                      LINCOLN           NE           68516                   Operating Lease                          1/15/2019            1/31/2025                N/A
The Affiliated Group                       3055 41st St NW`                Suite 100            Rochester         MN           55901                   collections
The Birds of ShopKo                        2323 W Pioneer Pkwy                                  Peoria            IL           61615                   Operating Lease                        10/15/1999            10/31/2020                N/A
                                           c/o Andy Goldberg 640 West 57th
THE BLOCH FAMILY 2005 PARTNERSHIP, L.P.,   Street                                               Kansas City       MO           64113                   Lease                                    7/31/1981            3/31/2025

THE BLOCH FAMILY 2005 PARTNERSHIP, L.P.,   1907 S. STOCKTON AVENUE                              MONAHANS          TX           79756                   Operating Lease                         7/31/1981             3/31/2025                N/A
The Christensen Corporation                2501 S. Fairfax Place                                Denver            CO           80222                   Lease                                  10/15/1996             7/24/2023
The Christensen Corporation                2501 S. Fairfax Place                                Denver            CO           80222                   Lease                                  12/19/1996              2/9/2024
The Christensen Corporation                405 W. INTERSTATE DRIVE                              LUVERNE           MN           56156                   Operating Lease                        10/15/1996             7/31/2023                N/A
The Christensen Corporation                1002 7TH STREET SE                                   PIPESTONE         MN           56164                   Operating Lease                        12/19/1996             2/29/2024                N/A
The Henning Group, Inc.                    660 11th Street Unit 205                             Golden            CO           80401                   Lease                                    3/6/1973             5/31/2020
The Henning Group, Inc.                    727 15TH AVENUE SW                                   VALLEY CITY       ND           58072                   Capital Lease                            3/6/1973             5/31/2020                N/A
The McGee Group                            510 Commerce Park Dr                                 Mariella          GA           30060

The Nebraska Medical Center                989200 Nebraska Medical Center                       Omaha             NE           68198                   340B Contract                             5/3/2018             1/8/2019

The Network                                333 Research Court                                   Norcross          GA           30092                   Master Services Agreement                2/20/2012
                                                                                                                                                                                                            Automatically renew
The Network                                333 Research Court                                   Norcross          GA           30092                   Master Services Agreement                2/20/2012                 yearly

                                                                                                                                                       Delivery of transactional
                                                                                                                                                       data from Shopko in return
                                                                                                                                                       for $70,000 annual payment
                                                                                                                                                       and access to 8 licenses for
                                                                                                                                                       Nielsen Answers software
                                                                                                                                                       to report on market share
                                                                                                                                                       data on Consumables
The Nielsen Company                        85 Broad St                                          New York City     NY           10004                   product.                                  8/1/2018           3 year term




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                                                                                                                                                         Description of Contract or
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            Contract Counterparty                   Address1                      Address2                 City        State   Postal Code    Country        Debtor's Interest               Lease            Remaining Term              Government Contract

                                                                                                                               70760-                   Deferred Compensation                                On-going - requires 30
The Pangburn Group                       PO Box 900                                             New Roads         LA           0900                     Plan Sponsor/Administrator              11/1/2006      notice to terminate
The Patton Group Limited Partnership     999 Green Street Apt 2501                              San Francisco     CA           94133                    Lease                                  12/24/2014                9/30/2030
The Patton Group Limited Partnership     471 WINE COUNTRY ROAD                                  PROSSER           WA           99350                    Operating Lease                        12/24/2014                9/30/2030               N/A
Theda Care                               225 Memorial Drive                                     Berlin            WI           54923                    Lease                                   5/15/2017              12/31/2018
Theda Care                               122 E. College Ave.                                    Appleton          WI           54304                    Lease                                   5/15/2017                5/14/2019

Theda Care                               100 County Road B, Suite W181                          SHAWANO           WI           54116                    Operating Lease                          5/15/2017              5/31/2019                N/A
Theodore A & Evangeline Laliotis 2012
Revocable Trust                          61 Doud Drive Los Altos CA                             Los Altos         CA           94022                    Lease                                     4/2/1012              9/30/2027
Theodore A & Evangeline Laliotis 2012
Revocable Trust                          409 JUNCTION AVENUE                                    STANLEY           WI           54768                    Operating Lease                           4/2/1012              9/30/2027                N/A
THERMACELL REPELLENTS                    26 CROSBY DRIVE                                        BEDFORD           MA           07130                    Vendor Terms Agreement
                                         475 N MARTINGALE ROAD STE                                                             60173-
THERMOS COMPANY                          1100                                                   SCHAUMBURG        IL           2051                     Vendor Terms Agreement
THERMWELL PRODUCTS                       420 ROUTE 17 SOUTH                                     MAHWAH            NJ           07430                    Vendor Terms Agreement
THINKFUN INCORPORATED                    1321 CAMERON STREET                                    ALEXANDRIA        VA           22314                    Vendor Terms Agreement
                                         11216 WAPLES MILL ROAD STE
THINKGEEK                                100                                                    FAIRFAX           VA           22030                    Vendor Terms Agreement
THIRSTYSTONE RESOURCES INC               860 EAST 19TH STREET                                   TUCSON            AZ           85719                    Vendor Terms Agreement
                                         600 WASHINGTON AVENUE N STE
THIRTY WATT HOLDINGS INC                 203                                                    MINNEAPOLIS       MN           55401                    Vendor Terms Agreement
Thomas Mayberry                          119 S 7th Street                                       St. James         MN           56081                    Lease                                    11/1/1975              3/31/2019
Thomas Mayberry                          301 1ST AVENUE SOUTH                                   SAINT JAMES       MN           56081                    Operating Lease                          11/1/1975              3/31/2022                N/A
                                         Thompson Associates 2257 E
Thompson Associates                      4500 South                                             Holladay          UT           84117                    Lease                                    2/11/2015             11/30/2029
Thompson Associates                      955 NORTH MAIN STREET                                  SPANISH FORK      UT           84660                    Capital Lease                            2/11/2015             11/30/2029                N/A
Thompson Landscape Company               PO Box 11562                                           Eugene            OR           97402                    Lawn Care ST098
                                                                                                                                                        Independent Contractor
Thompson Reuters                         7500 North Dobson Road            Suite 300            Scottsdale        AZ           85256                    Agreement - 01/21/2009                   1/21/2009
                                                                                                                                                        Support Renewal -
Thompson Reuters                         7500 North Dobson Road            Suite 300            Scottsdale        AZ           85256                    10/15/2018 - Sales Tax                                         10/14/2019

                                                                                                                                                        Support Renewal -
Thompson Reuters                         7500 North Dobson Road            Suite 300            Scottsdale        AZ           85256                    05/01/2018 - Property Tax                                       4/30/2019
Thompson Services                        603 2nd St NE                                          Glenwood          MN           56334                    Lawn Care ST739
THREAD COLLECTIVE INC                    850 MCCAFFREY                                          ST LAURENT        QC           H4T 1N1       Canada     Vendor Terms Agreement
THREE B INTERNATIONAL LLC                100 BOMONT PLACE                                       TOTOWA            NJ           07512                    Vendor Terms Agreement
                                                                                                                               64120-
THREE DOG BAKERY                         1843 N TOPPING AVENUE                                  KANSAS CITY       MO           1227                     Vendor Terms Agreement
THREE LOLLIES LLC                        6520 PLATT AVENUE 573                                  WEST HILLS        CA           91307                    Vendor Terms Agreement
THREE M COMPANY                          3M CENTER                                              ST PAUL           MN           55144                    Vendor Terms Agreement
THUMBS UP LIMITED                        790 AERO DRIVE STE 200                                 CHEEKTOWAGA       NY           14225                    Vendor Terms Agreement
                                                                                                                               43017-                   Software License
Tibco Software, Inc.                     655 Metro Place South             Suite 900            Dublin            OH           3313                     Agreement - 8/11/2002                    8/11/2002              8/19/2019
                                                                                                                               43017-
Tibco Software, Inc.                     655 Metro Place South             Suite 900            Dublin            OH           3313                     Software Maintenance                                            8/19/2019
Tieg's Lawn Care & Landscaping, LLC.     606 N High Street                                      Marshall          MN           56258                    Lawn Care ST025
                                         530 SEVENTH AVENUE 15TH FL
TIMES THREE CLOTHIER LLC DBA YUM         STE 1505                                               NEW YORK          NY           10018                    Vendor Terms Agreement
TIMING INC                               2809 S SANTA FE AVE                                    VERNON            CA           90058                    Vendor Terms Agreement
TimMann SKO                              110 2nd S                                              Waite Park        MN           56387                    DePere DC Radios
                                                                                                                               11735-
TIN BOX COMPANY OF AMERICA               216 SHERWOOD AVENUE                                    FARMINGDALE       NY           9068                     Vendor Terms Agreement
TKO EVOLUTION APPAREL INCORPORAT         1175 NE 125TH STREET #102                              NORTH MIAMI       FL           33161                    Vendor Terms Agreement
                                                                                                                               76248-
TMAX DIGITAL INCORPORATED                1816 FALCON DRIVE                                      KELLER            TX           1111                     Vendor Terms Agreement
TMI L L C                                8945 TROLLEY TRL                                       PLANO             TX           75070                    Vendor Terms Agreement

TMM Investments LTD.                     212 Old Grande Blvd Suite C-100                        Tyler             TX           75703                    Lease                                     4/1/2015              3/31/2022
TMM Investments LTD.                     908 WEST AVENUE D                                      LOVINGTON         NM           88260                    Operating Lease                           4/1/2015              3/31/2022                N/A
                                                                                                                                                        Phone and data card cellular
T-MOBILE                                 12920 Se 38th Street                                   Bellevue          WA           98006                    internet services                      12/23/2015         Month to Month




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             Contract Counterparty                Address1                Address2            City           State   Postal Code    Country        Debtor's Interest              Lease           Remaining Term          Government Contract

TMP INTERNATIONAL INC DBA MCFARL      1711 W GREENTREE DRIVE #212                    TEMPE              AZ           85281                    Vendor Terms Agreement

TNG WORLDWIDE INC                     29683 WILLIAM K SMITH DRIVE                    NEW HUDSON         MI           48105                    Vendor Terms Agreement
TOBY NYC CORPORATION                  544 PARK AVENUE                                BROOKLYN           NY           11205                    Vendor Terms Agreement
Todd Monge                            PO Box 65                                      Eagle River        WI           54521                    Lawn Care ST620
Todd Schneider                        N3345 Cty Road B                               Kewaunee           WI           54216                    Lawn Care ST601
Todd's Lawn Care                      3106 S 6th Street                              Lincoln            NE           68510                    Lawn Care ST172
Tollefson                             701 9th St SW                                  Pipestone          MN           56164                    Lawn Care ST748
Tom Anderson                          14905 75th St NE                               Grafton            ND           58237                    Lawn Care ST734
Tom Anderson                          14905 75 St NE                                 Grafton            WI           58237                    Lawn Care ST737
Tom Masterson                         W9246 Butter nut Lake Rd                       Butternut          WI           54514                    Lawn Care ST633
TOMKAT COUTURE                        1536 GAGE ROAD                                 MONTEBELLO         CA           90640                    Vendor Terms Agreement
TOMS OF MAINE INC                     302 LAFAYETTE CENTER                           KENNEBUNK          ME           04043                    Vendor Terms Agreement
                                                                                                                     52040-
TOMY INTERNATIONAL INCORPORATED       2021 9TH STREET SE                             DYERSVILLE         IA           2316                     Vendor Terms Agreement
Tone Software Corp.                   1735 S. Brookhurst                             Anaheim            CA           92804                    TRX Site License                         8/1/2018           7/31/2019
TONY CHACHERE CREOLE FOODS            5604 I 49 N SERVICE ROAD                       OPELOUSAS          LA           70570                    Vendor Terms Agreement
Tony Jones                            904 2nd st                                     Webster City       IA           50595                    Lawn Care ST564
                                                                                                                     94580-
TOO GOOD GOURMET                      2380 GRANT AVENUE                              SAN LORENZO        CA           1806                     Vendor Terms Agreement
TOP FLIGHT INCORPORATED               1300 CENTRAL AVENUE                            CHATTANOOGA        TN           37408                    Vendor Terms Agreement
                                                                                                                     92590-
TOP HEAVY CLOTHING                    28381 VINCENT MORAGA DRIVE                     TEMECULA           CA           3653                     Vendor Terms Agreement
TOP PROMOTIONS DBA TOP APPAREL G      8831 S GREENVIEW DRIVE                         MIDDLETON          WI           53562                    Vendor Terms Agreement

TOPLINE FURNITURE WAREHOUSE CO        1455 WEST THORNDALE AVENUE                     ITASCA             IL           60143                    Vendor Terms Agreement
TOPPERSCOT L L C                      2323 S LIPAN                                   DENVER             CO           80223                    Vendor Terms Agreement
                                                                                                                                              Front-end Checkout Space
Topps                                 2300 Stafford Ave. Suite 800                   Scranton           PA           18505                    Agreement                                7/1/2018           6/30/2019
TOPPS CHEWING GUM INCORPORATED        ONE WHITEHALL STREET                           NEW YORK           NY           10004                    Vendor Terms Agreement
                                      111 SOUTH WACKER DRIVE 36TH                                                    60606-
TOPS PRODUCTS                         FLOOR                                          CHICAGO            IL           4301                     Vendor Terms Agreement
TOPSVILLE INCORPORATED                500 7TH AVENUE 7TH FLOOR                       NEW YORK           NY           10018                    Vendor Terms Agreement
TORIE & HOWARD LLC                    143 WEST STREET STE 121C                       NEW MILFORD        CT           06776                    Vendor Terms Agreement
TOTAL INTERACTIVE SOLUTIONS LLC       684 COUNTY LINE ROAD                           BENSENVILLE        IL           60106                    Vendor Terms Agreement
Total Lawn Care                       610 Cedar St                                   Kimball            NE           69145                    Lawn Care ST700
Total System Services SKO             PO Box 2091                                    Boise              ID           83701                    HVAC systems
                                      9655 INTERNATIONAL
TOTES ISOTONER CORPORATION            BOULEVARD                                      CINCINNATI         OH           45246                    Vendor Terms Agreement
                                                                                                                                              Independent Contractor
                                                                                                                                              Agreement consultant with
                                                                                                                                              Towers Watson for
                                      400 North Executive Drive, Suite                                                                        participation in the RX
Towers Watson                         300                                            Brookfield         WI           53005                    Collaborative Group                      1/1/2017          12/31/2019
TOWERSTAR PETS LLC                    2350 YELLOW SPRINGS ROAD                       MALVERN            PA           19355                    Vendor Terms Agreement
Town & Country Lawn & Landscapes      PO Box 106                                     Unity              WI           54488                    Lawn Care ST009
                                                                                                                     08701-
TOWN & COUNTRY LINEN CORPORATION      475 OBERLIN AVENUE S                           LAKEWOOD           NJ           6904                     Vendor Terms Agreement
TOWNLEY INCORPORATED                  389 5TH AVENUE STE 1100                        NEW YORK           NY           10016                    Vendor Terms Agreement
                                      PHASE 1 & 11 NO 818 CHEUNG                                                                   HONG
TOY QUEST LIMITED                     SHA WAN RD                                     KOWLOON                                       KONG       Vendor Terms Agreement
                                                                                                                                   HONG
TOY STATE INTERNATIONAL LTD           14 SCIENCE MUSEUM ROAD                         TST EAST KOWLOON                              KONG       Vendor Terms Agreement
                                      8/F HONG KONG SPINNERS                                                                       HONG
TOY TECK LIMITED                      BUILDING IND                                   KOWLOON                                       KONG       Vendor Terms Agreement
                                                                                     KOWLOON TSIM SHA
TOY THINGS                            30 CANTON ROAD                                 TSUI                                          Hong Kong Vendor Terms Agreement
TOYS R US DELAWARE INC                1 GEOFFREY WAY                                 WAYNE            NJ             07470                   Vendor Terms Agreement
TOYSMITH                              3101 WEST VALLEY HWY EAST                      SUMNER           WA             98390                   Vendor Terms Agreement
TPC                                   PO 234                                         Syracuse         IN             46567                   Lawn Care ST647
                                      c/o Newmark Grubb Acres Asset
                                      Services 376 East 400 South Suite
TPP 217 Taylorsville, LLC             120                                            Salt Lake City     UT           84111                    Lease                                   6/18/1986           2/23/2024




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              Contract Counterparty               Address1                    Address2                 City         State   Postal Code    Country         Debtor's Interest             Lease           Remaining Term             Government Contract
                                                                                                                                                     Operating Lease -Ground
TPP 217 Taylorsville, LLC              5800 SOUTH REDWOOD ROAD                              SALT LAKE CITY     UT           84123                    Lease                                   6/18/1986            5/31/2031                N/A

TPP Taylorsville LLC                   5800 SOUTH REDWOOD ROAD                              SALT LAKE CITY     UT           84123                    Sublease                                 1/9/2014   Perpetual (Pre-Paid)              N/A
                                                                                                                                                     Enterprise Agreement and
Tracelink,Inc                          400 Riverpark Drive             Suite 200            North Reading      MA           01864                    Subscription Renewal                    3/20/2015            3/19/2019
TRACFONE WIRELESS INCORPORATED         9700 N W 112TH AVENUE                                MIAMI              FL           33178                    Vendor Terms Agreement
                                                                                                                            95472-
TRADITIONAL MEDICINALS                 4515 ROSS ROAD                                       SEBASTOPOL         CA           2225                     Vendor Terms Agreement
TRADITIONS JEWELRY COMPANY             260 LENA DRIVE                                       AURORA             OH           44202                    Vendor Terms Agreement
                                                                                                                            77478-
TRAMONTINA USA INCORPORATED            12955 W AIRPORT BOULEVARD                            SUGAR LAND         TX           6119                     Vendor Terms Agreement
Trans Alarm                            8180 Upland Circle                                   Chanhassen         MN           55317                    DC Security
TRANSPAC IMPORTS INC                   1050 PIPER DRIVE                                     VACAVILLE          CA           95688                    Vendor Terms Agreement
Transperfect                           3 Park Ave, 40th floor                               New York           NY           10016                    Translation Services
                                                                                                                            15206-
TRAU & LOEVNER INCORPORATED            5817 CENTRE AVENUE                                   PITTSBURGH         PA           3760                     Vendor Terms Agreement
TRAVELERS CHOICE TRAVELWARE            13280 TEMPLE AVENUE                                  CITY OF INDUSTRY   CA           91746                    Vendor Terms Agreement
TRAVELERS CLUB LUGGAGE INCORPORA       5911 FRESCA DRIVE                                    LA PALMA           CA           90623                    Vendor Terms Agreement
                                                                                                                            60007-
TRAVELON                               700 TOUHY AVENUE                                     ELK GROVE VILLAGE IL            4916                     Vendor Terms Agreement
                                                                                                                                                     Continuing Education For
TRC                                    3120 March Lane                                      Stockton           CA           95219                    Pharmacists/Techs

                                                                                                                                                     Relocation services -
                                                                                                                                                     manages the transactions
                                                                                                                                                     for teammates that require
TRC Global Solutions                   1042 E Juneau Avenue                                 Milwaukee          WI           53202                    relocation.
                                       19 WEST 34TH STREET 7TH
TREBBIANNO LLC                         FLOOR                                                NEW YORK           NY           10001                    Vendor Terms Agreement
TREND LAB L L C                        3190 WEST COUNTY ROAD 42                             BURNSVILLE         MN           55337                    Vendor Terms Agreement
                                                                                                                            46268-
TRENDS INTERNATIONAL INCORPORATE       5188 W 74TH STREET                                   INDIANAPOLIS       IN           4160                     Vendor Terms Agreement
Trey Akin                              900 CR 119                                           Comanche           TX           76442                    Lawn Care ST592
TRI COASTAL DESIGN GROUP INC           49 W 37TH ST 8TH FLOOR                               NEW YORK           NY           10018                    Vendor Terms Agreement
TRI SALES MARKETING LLC                130 WATER STREET                                     NORWALK            CT           06854                    Vendor Terms Agreement
                                                                                                                            10605-
TRIBORO QUILT MANUFACTURING CORP       172 S BROADWAY                                       WHITE PLAINS       NY           1885                     Vendor Terms Agreement
                                                                                                                            10605-
TRIBORO QUILT MANUFACTURING CORP       172 S BROADWAY                                       WHITE PLAINS       NY           0000                     Vendor Terms Agreement
TRIGG LABORATORIES                     28650 BRAXTON AVENUE                                 VALENCIA           CA           91355                    Vendor Terms Agreement
TRINITY PLASTICS INCORPORATED          84 BUSINESS PARK DRIVE                               ARMONK             NY           10504                    Vendor Terms Agreement

TRIPLE ACCESSORIES INCORPORATED        110 E 9TH STREET SUITE #C1165                        LOS ANGELES        CA           90079                    Vendor Terms Agreement
                                       555 RUE CHABANEL QUEST
TRIPLE FIVE                            BUREAU 805                                           MONTREAL           QC           H2N 2H8       Canada     Vendor Terms Agreement
                                                                                                                            19610-
TRISTAR PRODUCTS INCORPORATED          2620 WESTVIEW DRIVE                                  WYOMISSING         PA           1130                     Vendor Terms Agreement
Tri-State Memorial Hospital            1221 Highland Ave                                    Clarkston          WA           99403                    340B Contract                           3/27/2018
                                       3150 URBAMCREST INDUSTRIAL                                                           43123-
TROPICAL NUT & FRUIT INCORPORA         DR                                                   URBANCREST         OH           1769                     Vendor Terms Agreement
TRUCO ENTERPRISES LP                   2727 REALTY RD SUITE 134                             CARROLLTON         TX           75006                    Vendor Terms Agreement
TruCo Enterprises, Inc.                2225 S 400 W                                         Salt Lake City     UT           84115                    Lawn Care ST082
TruCo Enterprises, Inc.                2225 S 400 W                                         Salt Lake City     UT           84115                    Lawn Care ST083
TruCo Enterprises, Inc.                2225 S 400 W                                         Salt Lake City     UT           84115                    Lawn Care ST084
TruCo Enterprises, Inc.                2225 S 400 W                                         Salt Lake City     UT           84115                    Lawn Care ST085
TruCo Enterprises, Inc.                2225 S 400 W                                         Salt Lake City     UT           84115                    Lawn Care ST087
TruCo Enterprises, Inc.                2225 S 400 W                                         Salt Lake City     UT           84115                    Lawn Care ST088
TruCo Enterprises, Inc.                2225 S 400 W                                         Salt Lake City     UT           84115                    Lawn Care ST091
TruCo Enterprises, Inc.                2225 S 400 W                                         Salt Lake City     UT           84115                    Lawn Care ST097
TruCo Enterprises, Inc.                2225 S 400 W                                         Salt Lake City     UT           84115                    Lawn Care ST104
TruCo Enterprises, Inc.                2225 S 400 W                                         Salt Lake City     UT           84115                    Lawn Care ST108
TruCo Enterprises, Inc.                2225 S 400 W                                         Salt Lake City     UT           84115                    Lawn Care ST109
TRUDEAU CORPORATION AMERICA INC        1600 EIFFEL STREET                                   BOUCHERVILLE       QC           J4B 5Y1       Canada     Vendor Terms Agreement




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                                                                                                                                                         Description of Contract or
                                                                                                                                                           Lease and Nature of        Date of Contract or                              List Contract Number of Any
          Contract Counterparty                          Address1                    Address2              City        State   Postal Code    Country        Debtor's Interest              Lease              Remaining Term              Government Contract
TRUE DRINKS                                  18662 MACARTHUR BLVD 110                           IRVINE            CA           92612                    Vendor Terms Agreement
TRUGRAPHX LLC                                71 EAST 26 STREET                                  PATERSON          NJ           07514                    Vendor Terms Agreement
                                                                                                                               55427-
TRUMP INTERNATIONAL HOLDINGS LTD             PO BOX 270057                                      GOLDEN VALLEY     MN           6057                     Vendor Terms Agreement
                                                                                                                                                        Shopko Private Label
                                                                                                                                                        Diabetic Testing Strips And
Truvidia/Nippro                              2400 NW 55th Court                                 Ft Laudedale      FL           33309                    Meters                                  9/11/2013               12/31/2019

TSI ACCESSORY GROUP                          1201 HANLEY INDUSTRIAL COURT                       ST LOUIS          MO           63144                    Vendor Terms Agreement
                                                                                                                               07058-
TSI ACCESSORY GROUP(SUNSTONE DIV             34 MAPLE AVE                                       PINE BROOK        NJ           0000                     Vendor Terms Agreement
                                                                                                                                             United
                                                                                                                                             Arab                                                           30 day written notice by
TSS ME FZC                                   Saif Desk Q17                  7023/B              Sharjah                        123-401       Emirates   Buying Agency Agreement                 3/29/2018               either party
                                                                                                                                             United
                                                                                                                                             Arab       Agent Agreement
TSS ME FZC                                   Saif Desk Q1. 07, 023/B,                           Sharjah                        123-401       Emirates   4/19/2018
                                             652 SOUTHWESTERN
TST IMPRESO INCORPORATED                     BOULEVARD                                          COPPELL           TX           75019                    Vendor Terms Agreement
TURTLE COMPANY INCORPORATED                  64 E MIDLAND AVENUE                                PARAMUS           NJ           07652                    Vendor Terms Agreement

TWEEZERMAN INTERNATIONAL                     2 TRI HARBOR COURT                                 PORT WASHINGTON NY             11050                    Vendor Terms Agreement
                                                                                                                               90213-
TWENTIETH CENTURY FOX HOME ENTER             PO BOX 900                                         BEVERLY HILLS     CA           0900                     Vendor Terms Agreement
                                             48 WEST 38TH STREET 2ND
TWENTY FIRST GROUP INCORPORATED              FLOOR                                              NEW YORK          NY           10018                    Vendor Terms Agreement

TWENTY FOUR SEVEN COMFORT INC                711 WEST WOODBURY RD UNIT H                        ALTADENA          CA           91001                    Vendor Terms Agreement
TWENTY FOUR SEVEN INTERNATIONAL              51 STILES LANE                                     PINEBROOK         NJ           07058                    Vendor Terms Agreement

TWIN STAR INTERNATIONAL INC                  1690 S CONGRESS AVE STE 210                        DELRAY BEACH      FL           33445                    Vendor Terms Agreement
TWINS ENTERPRISES INC                        480 SPRAGUE STREET                                 DEDHAM            MA           02026                    Vendor Terms Agreement
TWISTED PINE COFFEE ROASTERS LLC             2253 WOODALE DRIVE UNIT E                          GREEN BAY         WI           54313                    Vendor Terms Agreement
                                             3292 Thompson Bridge Road
Two Crow of the Big Sky, LLC/Mark Linkesh    #316                                               Gainesville       GA           30506                    Lease                                   5/16/1985               11/30/2022
Two Crow of the Big Sky, LLC/Mark Linkesh    825 NE MAIN                                        LEWISTOWN         MT           59457                    Operating Lease                         5/16/1985               11/30/2022                N/A

TWO ELEVENS LLC                              73 261 US HIGHWAY 11 STE 209                       PALM DESERT       CA           92260                    Vendor Terms Agreement
Two Harbors First LLC/Guy Laverty            48-554 Vista Palomino                              LaQuinta          CA           92253                    Lease                                   2/16/1995                8/28/2020
Two Harbors First LLC/Guy Laverty            1009 7TH AVENUE                                    TWO HARBORS       MN           55616                    Operating Lease                         2/16/1995                8/31/2020                N/A
                                                                                                                               08701-
TWO RIVERS COFFEE LLC                        33 SAINT NICHOLAS AVENUE                           LAKEWOOD          NJ           3006                     Vendor Terms Agreement
                                                                                                                                                        Independent Contract
                                                                                                                                                        Agreement and all
TwoPoint Conversions, Inc                    Attn: Bob Mandel               1820 W. Webster, #450 Chicago         IL           60614                    Addendum                                3/21/2012                 7/1/2019
TYLINA FOOD PRODUCTS CORPORATION             132 MAIN STREET S SUITE 2                            STILLWATER      MN           55082                    Vendor Terms Agreement
TYR SPORT                                    1790 APOLLO CT                                       SEAL BEACH      CA           90740                    Vendor Terms Agreement
TZUMI ELECTRONICS LLC                        300 MAIN STREET                                      LAKEWOOD        NJ           08701                    Vendor Terms Agreement
TZUMI ELECTRONICS LLC                        300 MAIN STREET                                      LAKEWOOD        NJ           08701                    Vendor Terms Agreement
U S COTTON INCORPORATED                      590 LAZER ROAD                                       RIO RANCHO      NM           87124                    Vendor Terms Agreement
U S NONWOVENS CORPORATION                    100 EMJAY BOULEVARD                                  BRENTWOOD       NY           11717                    Vendor Terms Agreement
U S NUTRITION                                2100 SMITHTOWN AVENUE                                RONKONKOMA      NY           11779                    Vendor Terms Agreement
                                                                                                                                                        ( UC4 bought Appworx ) -
UC4 Software Inc                             11001 West 120th Avenue                            Broomfield        CO           80021                    10/28/11                                                        10/21/2019
UIDC ALTARE CORPORATION                      411 5TH AVENUE 803                                 NEW YORK          NY           10016                    Vendor Terms Agreement
                                                                                                                                                        SHOPKO_20162093
UL                                           1945 The Exchange                                  Atlanta           GA           30339                    (originally 20151676)                   7/28/2016                6/24/2018
                                                                                                                                                        Quote Number 1101521777
UL                                           1945 The Exchange                                  Atlanta           GA           30339                    Version 1                               6/24/2018                6/24/2019
ULTA LIT TREE COMPANY                        1989 JOHNS DRIVE                                   GLENVIEW          IL           60025                    Vendor Terms Agreement
UMBRA                                        1705 BROADWAY                                      BUFFALO           NY           14212                    Vendor Terms Agreement
UNCAS INTERNATIONAL LLC                      1600 DIVISION RD                                   WEST WARWICK      RI           02893                    Vendor Terms Agreement
UNDERGROUND TOYS LLC                         8685 MIRALANI DRIVE 300                            SAN DIEGO         CA           92126                    Vendor Terms Agreement
UNI HOSIERY INCORPORATED                     1911 E OLYMPIC BOULEVARD                           LOS ANGELES       CA           90021                    Vendor Terms Agreement




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                                                                                                                                               Description of Contract or
                                                                                                                                                 Lease and Nature of        Date of Contract or                         List Contract Number of Any
           Contract Counterparty                     Address1             Address2             City          State   Postal Code    Country        Debtor's Interest              Lease            Remaining Term           Government Contract
UNIDEN AMERICA CORPORATION                3001 GATEWAY SUITE 130                     IRVING             TX           75063                    Vendor Terms Agreement
UNIEK INCORPORATED                        805 UNIEK DRIVE                            WAUNAKEE           WI           53597                    Vendor Terms Agreement
                                                                                                                     11803-
UNIFIED INCORPORATED                      225 DUPONT STREET                          PLAINVIEW          NY           1615                     Vendor Terms Agreement
UNILEVER H P C USA                        33 BENEDICT PLACE                          GREENWICH          CT           06830                    Vendor Terms Agreement

UNION BAY DIV OF SEATTLE PACIFIC          48 SOUTH 7TH AVE 11TH FLOOR                KENT               WA           98032                    Vendor Terms Agreement

Union Hotel Corp                          230 NORTH WISCONSIN STREET                 DEPERE             WI           54115                    Sublease                                 Perpetual            Perpetual              N/A
                                                                                                                     42102-
UNION UNDERWEAR DBA FRUIT OF THE          ONE FRUIT OF THE LOOM DRIVE                BOWLING GREEN      KY           0000                     Vendor Terms Agreement

UNIQUE CREATION INC                       5F-1 NO 37 CHONGDE 11TH RD                 TAICHUNG CITY                   406           TAIWAN     Vendor Terms Agreement
UNIQUE PRETZEL BAKERY INC                 215 E BELLEVUE AVE                         READING            PA           19605                    Vendor Terms Agreement
UNITED COMB & NOVELTY                     33 PATRIOT CIRCLE                          LEOMINSTER         MA           01453                    Vendor Terms Agreement
                                                                                                                     90703-
UNITED EXCHANGE CORPORATION               17211 VALLEY VIEW AVE                      CERRITOS           CA           0000                     Vendor Terms Agreement
                                                                                                                     60134-
UNITED FOOD GROUP INCORPORATED            111 EAST SIDE DRIVE                        GENEVA             IL           2402                     Vendor Terms Agreement
UNITED FURNITURE INDUSTRIES               5380 HWY 145 SOUTH                         TUPELO             MS           38801                    Vendor Terms Agreement
                                                                                                                                              Administrative Services to
                                                                                                                     06115-                   process claims and case
United Healthcare Services Inc.           450 Columbus Boulevard                     Hartford           CT           0450                     management                               1/1/2017           12/31/2019
UNITED HOME TECHNOLOGIES                  4607 NE AUTUMN CT                          CAMAS              WA           98607                    Vendor Terms Agreement
UNITED LEGWEAR                            80 DISTRIBUTION BOULEVARD                  EDISON             NJ           08817                    Vendor Terms Agreement
UNITED NATIONAL CLOSEOUT STORE            2404 E SUNRISE BLVD                        FORT LAUDERDALE    FL           33304                    Vendor Terms Agreement
                                                                                                                     97220-
UNITED PACIFIC IMPORTS LTD                9525 NE COLFAX STREET                      PORTLAND           OR           1345                     Vendor Terms Agreement
UNITED STATES PLAYING CARD COMPA          4590 BEACH STREET                          CINCINNATI         OH           45212                    Vendor Terms Agreement
UNITED WEAVERS OF AMERICA INCORP          3562 DUG GAP ROAD SW                       DALTON             GA           30721                    Vendor Terms Agreement
                                                                                                                     94110-
UNIVERSITY GAMES CORP                     2030 HARRISON STREET                       SAN FRANCISCO      CA           1313                     Vendor Terms Agreement
                                                                                                                     92618-
UNIVERSITY MEDICAL PRODUCTS USA           88 MAXWELL                                 IRVINE             CA           4641                     Vendor Terms Agreement
UPPER CANADA SOAP                         1510A CATERPILLAR ROAD                     MISSISAUGA         ON           L4X2W9        Canada     Vendor Terms Agreement
Upper Great Lakes Family Health Center    600 Macinnes Drive                         Houghton           MI           49931                    340B Contract                           6/28/2018
UPS                                       55 Glenlake Parkway NE                     Atlanta            GA           30328                    UPS
UPS                                       5400 University Dr                         Davie              FL           33328                    Sun Capital rates
UPS Domestics                             5400 University Dr                         Davie              FL           33328                    Sun Capital rates
UPS Domestics                             5400 University Dr                         Davie              FL           33328                    Sun Capital rates
Upsher Smith                              6701 Evenstad Drive                        Maple Grove        MN           55369
URBAN HOUSE DESIGN                        451 TOP RIDGE LANE                         NORTH SALT LAKE    UT           84054                    Vendor Terms Agreement
URBANTREND LLC                            1101 DOVE STREET STE 175                   NEWPORT BEACH      CA           92660                    Vendor Terms Agreement
US MERCHANTS                              8737 WILSHIRE BLVD                         BEVERLY HILLS      CA           90211                    Vendor Terms Agreement

US POLO ASSOCIATION DIV OF JORDA          1400 BROADWAY 15TH FLOOR                   NEW YORK           NY           10018                    Vendor Terms Agreement
US Postal Service                         475 L'Enfant Plaza SW                      Washington         DC           20260                    postal service

USF COLLECTIONS                           1385 BROADWAY SUITE 1012A                  NEW YORK           NY           10018                    Vendor Terms Agreement
USPS                                      475 L'Enfant Plaza SW                      Washington         DC           20260                    postal service
Utilities Analsyes Inc                    450 Old Peachtree Road                     Atlanta            GA           30024                    facilities
V F JEANSWEAR INCORPORATED                335 CHURCH COURT                           GREENSBORO         NC           27401                    Vendor Terms Agreement
VALOR BRANDS LLC                          3159 ROYAL DRIVE STE 360                   ALPHARETTA         GA           30022                    Vendor Terms Agreement
VALUE MERCHANDISE                         13100 12TH AVE N SUITE C                   PLYMOUTH           MN           55441                    Vendor Terms Agreement
VAN DER HAGEN ENTERPRISES INC             16390 HIGHWAY 29 W                         LIBERTY HILL       TX           78642                    Vendor Terms Agreement
                                                                                                                     07017-
VAN NESS PLASTIC MOLDING COMPANY          400 BRIGHTON ROAD                          CLIFTON            NJ           1013                     Vendor Terms Agreement

VANDALE INDUSTRIES INCORPORATED           16 EAST 34TH STREET 8TH FLOOR              NEW YORK           NY           10016                    Vendor Terms Agreement
VANDERBILT HOME PRODUCTS LLC IMP          253 5TH AVE 4TH FLOOR                      NEW YORK           NY           10016                    Vendor Terms Agreement

Vanguard Cleaning                         7257 W Franklin St                         Boise              ID           83709                    Boise DC Cleaning service
Vanguard Service Agreement                100 Vanguard Boulevard                     Malvern            PA           19355                    401k administrator                       8/1/2010          auto renewal
VANTAGE POINT PRODUCTS CORPORATI          10233 PALM DRIVE                           SANTA FE SPRINGS   CA           90670                    Vendor Terms Agreement




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           Contract Counterparty                Address1                     Address2               City          State   Postal Code    Country        Debtor's Interest               Lease           Remaining Term           Government Contract
VAPUR INCORPORATED                  351 CANDELARIA ROAD                                    OXNARD            CA           93030                    Vendor Terms Agreement
Varrelman Mowing                    168 3 rd st                                            Chapin            NE           50427                    Lawn Care ST665
                                    3025 WINDWARD PARKWAY
VASSARETTE DBA VANITY FAIR BRAND    SUITE 600                                              ALPHARETTA        GA           30005                    Vendor Terms Agreement

                                                                                                                                                   VAST Broadband Business
Vast Broadband                      5100 S. Broadband Lane                                 Sioux Falls       SD           57108                    Customer Agreement                        2/1/2017            2/1/2018
Vaxserve                            54 Glenmaura National Blvd        Suite 301            Moosic            PA           18507                    Vaccine Supplier
VAYOLA GARMENTS LTD                 550 DESLAURIERS                                        MONTREAL          QC           H4N 1V8       Canada     Vendor Terms Agreement
VAYOLA GARMENTS LTD                 550 DESLAURIERS                                        MONTREAL          QC           H4N 1V8       Canada     Vendor Terms Agreement
                                                                                                                          55401-
VENDOR DEVELOPMENT GROUP            400 1ST AVENUE N STE 550                               MINNEAPOLIS       MN           0000                     Vendor Terms Agreement

VENTURE PRODUCTS LLC                376 HOLLYWOOD AVE STE 209                              FAIRFIELD         NJ           07004                    Vendor Terms Agreement
VENTURER ELECTRONICS INC            725 DENISON STREET                                     MARKHAM           ON           L3R 1B8       Canada     Vendor Terms Agreement
VENTURI DIV OF TJD HOLDINGS         2299 TRAVERSEFIELD DR                                  TRAVERSE CITY     MI           49696                    Vendor Terms Agreement
                                    8210 UNIVERSITY EXECUTIVE PK
VERBATIM AMERICAS LLC               DR STE 300                                             CHARLOTTE         NC           28262                    Vendor Terms Agreement

VEREIT SH BALLARD UT, LLC           2325 E. Camelback Road Ste 1100                        Phoenix           AZ           85016                    Lease                                     9/4/2014           9/30/2030
VEREIT SH BALLARD UT, LLC           1635 E. HIGHWAY 40                                     BALLARD           UT           84066                    Operating Lease                           9/4/2014           9/30/2030               N/A

VEREIT SH Cherokee IA, LLC          5125 County Road 101 Suite 100                         Minnetonka        MN           55345                    Lease                                    2/10/2015          10/31/2030
VEREIT SH Cherokee IA, LLC          1610 N 2ND ST                                          CHEROKEE          IA           51012                    Operating Lease                          2/10/2015          10/31/2030               N/A

VEREIT SH Cokato MN, LLC            5125 County Road 101 Suite 100                         Minnetonka        MN           55345                    Lease                                    2/10/2015          10/31/2030
VEREIT SH Cokato MN, LLC            145 BROADWAY AVENUE N                                  COKATO            MN           55321                    Operating Lease                          2/10/2015          10/31/2030               N/A
VEREIT SH NEPHI UT, LLC             1174 N. MAIN STREET                                    NEPHI             UT           84648                    Operating Lease                           1/7/2015           9/30/2030               N/A

VEREIT, SH Webster City IA, LLC     2325 E. Camelback Road Ste 1100                        Phoenix           AZ           85016                    Lease                                    2/10/2015          10/31/2030
VEREIT, SH Webster City IA, LLC     200 RED BULL DIVISION DRIVE                            WEBSTER CITY      IA           50595                    Operating Lease                          2/10/2015          10/31/2030               N/A
                                                                                                                          60045-
VERIDIAN HEALTHCARE LLC             1845 S JAMES COURT NORTH                               LAKE FOREST       IL           4624                     Vendor Terms Agreement
VERITIME INCORPORATED               159 DON HILLOCK DR UNIT 1                              AURORA            ON           L4G 0K2       CANADA     Vendor Terms Agreement

                                                                                                                                                                                                                              First Amendment 11-11-2002
                                                                                                                                                                                                                             Second Amendment 1-15-2004
                                                                                                                                                                                                                              Third Amendment 1-25-2005
                                                                                                                                                                                                                             Fourth Amendment 5-25-2005
                                                                                                                                                                                                                               Fifth Amendment 8-26-2005
                                                                                                                                                                                                                              Sixth Amendment 11-1-2005
                                                                                                                                                                                                                            Seventh Amendment 5-26-2006
                                                                                                                                                                                                                             Eighth Amendment 8-31-2006
                                                                                                                                                                                                                              Ninth Amendment 8-22-2008
                                                                                                                                                                                                                              Tenth Amendment 2-13-2009
                                                                                                                                                                                                                            Eleventh Amendment 8-13-2009
                                                                      6415-6455 Business                                                                                                                                    Twelfth Amendment 6-28-2011
Verizon Business Services           Attn: Customer Service            Center Drive         Highlands Ranch   CO           80130                    Verizon Service Agreement                11/1/2002                      Thirteenth Amendment 9-27-2012
                                                                                                                                                                                                                               Amendment No. 1 - Verizon
                                                                                                                                                                                                                                Wireless National Account
                                                                                                                                                                                                                          Agreement #730-34839-2008 - 4-8-
                                                                                                                                                                                                                                          2013
                                                                                                                                                   Verizon Wireless                                                       VZW Account Numbers: 342067638-
                                                                                                                          07920-                   Parent/Affiliate Agreement                                                   0000, 985470202-00001 &
Verizon Wireless                    One Verizon Way                                        Basking Ridge     NJ           1097                     for Wireless service                   12/13/2010            11/9/2015            985470202-00002
                                                                                                                                                   Addendum A-8 Vertical
                                                                                                                                                   Phone system maintenance
Vertical Phone System               3940 Freedom Circle                                    Santa Clara       CA           95054                    and support                               2/2/2018            2/1/2020          Addendum A-8
VERTICAL TEXTILES                   7000 NW 37TH AVENUE                                    MIAMI             FL           33147                    Vendor Terms Agreement
Vertiv                              844 Ehlers Road                                        Neenah            WI           54956                    Air conditioning support
                                                                                                                                                   UPS (Universal Power
                                                                                                                                                   Supply) Battery Services for
Vertiv Services Inc.                610 Executive Campus Drive                             Westerville       OH           43082                    the SSC                                  4/26/2018            2 Months
VERTO MEDICAL SOLUTIONS DBA YURB    900 SPRUCE STREET STE 550                              SAINT LOUIS       MO           63102                    Vendor Terms Agreement




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             Contract Counterparty               Address1                    Address2              City            State   Postal Code    Country        Debtor's Interest              Lease           Remaining Term          Government Contract
                                                                                                                           91505-
VESTURE GROUP INCORPORATED            2220 N SCREENLAND DRIVE                             BURBANK             CA           1137                     Vendor Terms Agreement
                                                                                                                           10128-
VETTA JEWELRY INC                     1220 PARK AVE 9D                                    NEW YORK            NY           1733                     Vendor Terms Agreement
VF IMAGEWEAR EAST INCORPORATED        4408 W LINEBAUGH                                    TAMPA               FL           33624                    Vendor Terms Agreement
                                                                                                                           63179-
VI JON LABORATORIES INCORPORATED      6300 ETZEL AVENUE                                   ST LOUIS            MO           0051                     Vendor Terms Agreement
VICTORY LAND GROUP CO LTD             1350 MUNGER ROAD                                    BARTLETT            IL           60103                    Vendor Terms Agreement
VIDA SHOES INTERNATIONAL              29 WEST 56TH STREET                                 NEW YORK            NY           10019                    Vendor Terms Agreement
VIETTI FOODS INC DIV OF ZWANENBE      636 SOUTHGATE AVENUE                                NASHVILLE           TN           37203                    Vendor Terms Agreement
                                      9F NO 6 SEC 3 MING CHUAN EAST
VIGOR INTERNATIONAL HK LTD            ROAD                                                TAIPEI                                         TAIWAN     Vendor Terms Agreement
VILLAGE COMPANY LLC                   124 WEST COLUMBIA COURT                             CHASKA              MN           55318                    Vendor Terms Agreement

                                                                                                                                                    L00512 ELLSWORTH WI TIF
Village of Ellsworth                  598 Lucas Lane                                      Ellsworth           WI           54011                    and forgivable loan $100K                                                          N/A
                                                                                                                                                    L00613 WINNECONNE WI
Village of Winneconne                 946 E. Main Street                                  Winneconne          WI           54986                    TIF Pg 31                                9/1/2013          11/30/2028              N/A
VINTAGE ITALIA LLC                    513 MAIN STREET                                     WINDERMERE          FL           34786                    Vendor Terms Agreement
VIRGINIA GIFT BRANDS SMITH MT         1000 DILLARD DRIVE                                  FOREST              VA           24551                    Vendor Terms Agreement
VIRMAX LLC                            10923-25 MCCORMICK RD                               HUNT VALLEY         MD           21031                    Vendor Terms Agreement

VISINI USA                            136 N GRAND AVENUE UNIT 330                         WEST COVINA         CA           91791                    Vendor Terms Agreement
Vision Architecture                   PO Box 224                                          Neenah              WI           54956                    design service for optical
Vision Concepts                       622 Roosevelt Road                                  St Cloud            MN           56301                    Lawn Care ST733
Vision Ease                           7000 Sunwood Dr                                     Ramsey              MN           55303                    Optical Lenses
Vistakon Corp J & J                   7500 Centurion Parkwy                               Jacksonville        FL           32256                    Optical Contact Lenses
                                      17785 CENTER COURT DRIVE
VISUAL LAND INCORPORATED              #670                                                CERRITOS            CA           90703                    Vendor Terms Agreement
VITABATH INC                          333 RIMROCK ROAD                                    TORONTO             ON           M3J 3J9       Canada     Vendor Terms Agreement
                                                                                                                           92843-
VITALS INTERNATIONAL GROUP            10781 FORBES AVE                                    GARDEN GROVE        CA           0000                     Vendor Terms Agreement
VLC DISTRIBUTION COMPANY              16255 PORT NW #150                                  HOUSTON             TX           77041                    Vendor Terms Agreement
                                                                                                                           07029-
VO TOYS INCORPORATED                  420 S 5TH STREET                                    HARRISON            NJ           2225                     Vendor Terms Agreement

VOGUE INTERNATIONAL                   311 PARK PLACE BLVD SUITE 500                       CLEARWATER          FL           33759                    Vendor Terms Agreement
VOGUESTRAP                            5809 FOSTER AVENUE                                  BROOKLYN            NY           11234                    Vendor Terms Agreement
Von Mosel                             PO Box 813                                          O Neill             NE           68763                    Lawn Care ST672
VOORTMAN COOKIES                      4475 N SERVICE ROAD                                 BURLINGTON          ON           L7R 4L4       Canada     Vendor Terms Agreement
VS SPORT LIMITED                      530 7TH AVENUE ROOM 703                             NEW YORK CITY       NY           10018                    Vendor Terms Agreement
VTECH COMMUNICATIONS                  8770 SW NIMBUS SUITE B                              BEAVERTON           OR           97008                    Vendor Terms Agreement
                                                                                                                           60004-
VTECH ELECTRONICS NORTH AMERICA       1155 W DUNDEE ROAD STE 130                          ARLINGTON HEIGHTS   IL           1454                     Vendor Terms Agreement
VUPOINT SOLUTIONS                     17583 RAILROAD STREET                               CITY OF INDUSTRY    CA           91748                    Vendor Terms Agreement
W & W CONCEPTS INC DBA PER SEPTI      4890 S ALAMEDA STREET                               VERNON              CA           90058                    Vendor Terms Agreement
W APPLIANCE CO LLC                    1356 BROADWAY 6TH FLOOR                             NEW YORK            NY           10018                    Vendor Terms Agreement
W E BASSETT COMPANY                   100 TRAP FALLS ROAD                                 SHELTON             CT           06484                    Vendor Terms Agreement
                                                                                                                           54311-
W G & R MATTRESS FACTORY              900 CHALLENGER DRIVE                                GREEN BAY           WI           8399                     Vendor Terms Agreement
W.A. Enterprises, LLC                 17419 Riveria Drive                                 Omaha               NE           68136                    Lease                                 10/28/2015            2/28/2026
W.A. Enterprises, LLC                 17419 Riveria Drive                                 Omaha               NE           68136                    Lease                                 10/28/2015            1/31/2026
W.A. Enterprises, LLC                 2585 STATE HWY 14                                   ALBION              NE           68620                    Operating Lease                       10/28/2015            8/31/2023              N/A
W.A. Enterprises, LLC                 860 S MAIN STREET                                   BLANDING            UT           84511                    Operating Lease                       10/28/2015            7/31/2023              N/A
WAGGIN TRAIN WORLDWIDE L L C DBA      PO BOX 5687                                         ANDERSON            SC           29623                    Vendor Terms Agreement
WAHL CLIPPER CORP                     PO BOX 5010                                         STERLING            IL           61081                    Vendor Terms Agreement

                                                                                                                                                    Product License Agreement
                                                                                                                                                    12/31/1991 -Bought by
Walker Interactive Systems            Marathon Plaza Three North      303 Second Street   San Francisco       CA           94107                    Elevon and then Infor                 12/31/1991

                                                                                                                                                    Amendment #2 09/28/2001
Walker Interactive Systems            Marathon Plaza Three North      303 Second Street   San Francisco       CA           94107                    - Add Web Access                                            1/30/2020
Wallaby's Smokehouse                  125 S STATE STREET                                  OREM                UT           84058                    Sublease                                 1/1/2014           1/31/2027              N/A




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          Contract Counterparty                                Address1           Address2           City          State   Postal Code    Country        Debtor's Interest              Lease           Remaining Term          Government Contract
WARREN DISTRIBUTION                                727 S 13TH STREET                         OMAHA            NE           68102                    Vendor Terms Agreement
                                                                                                                           58032-
WASHINGTON SHOE COMPANY (CHUB)                     5530 S 226TH STREET                       KENT             WA           0000                     Vendor Terms Agreement
WATER SPORTS LLC                                   12127B GALENA ROAD                        PLANO            IL           60545                    Vendor Terms Agreement
WATERS INDUSTRIES                                  213 WEST MAIN STREET                      WEST DUNDEE      IL           60118                    Vendor Terms Agreement
WATKINS INCORPORATED                               150 LIBERTY STREET                        WINONA           MN           55987                    Vendor Terms Agreement
WATSON LABORATORIES INCORPORATED                   311 BONNIE CIRCLE                         CORONA           CA           91720                    Vendor Terms Agreement
Wayne County Hospital                              417 S E Street                            Corydon          IA           50060                    340B Contract                           6/28/2018           11/5/2018
WEAR FIRST SPORTSWEAR INCORPORAT                   42 WEST 39TH STREET                       NEW YORK         NY           10018                    Vendor Terms Agreement

WEAVER POPCORN COMPANY INCORPORA                   14470 BERGEN BLVD STE 100                 NOBLESVILLE      IN           46060                    Vendor Terms Agreement
WEBB CANDY                                         980 ALDRIN DRIVE                          EAGAN            MN           55121                    Vendor Terms Agreement
                                                                                                                           60067-
WEBER STEPHEN PRODUCTS                             200 EAST DANIELS ROAD                     PALATINE         IL           6266                     Vendor Terms Agreement
WEE KIDS SHOES TRIM FOOT                           115 TRIM FOOT TERRACE                     FARMINGTON       MO           63640                    Vendor Terms Agreement
                                                                                                                           10120-
WEE PLAY KIDS L L C                                112 W 34TH STREET SUITE 1810              NEW YORK         NY           0101                     Vendor Terms Agreement
Weed Warriors                                      1942 Bowman Ave                           Sheridan         WY           82801                    Lawn Care ST764
                                                   MASONG TOWN CHANGLE                       WEIFANG
WEIFANG HANSEN TRADING CO LTD (Q                   COUNTRY                                   SHANDONG                                    China      Vendor Terms Agreement
                                                                                                                           33021-
WELCHS                                             5851 JOHNSON ST                           HOLLYWOOD        WI           0000                     Vendor Terms Agreement
WELCOME INDUSTRIAL CORP                            95 MARCUS BLVD                            DEER PARK        NY           11729                    Vendor Terms Agreement
Well Nampa LLC                                     227 E. 56th Street Suite 401              New York         NY           10022                    Lease                                    5/6/2015          11/30/2029
                                                   6263 N SCOTTSDALE ROAD STE
WELLEMENTS LLC                                     125                                       SCOTTSDALE       AZ           85250                    Vendor Terms Agreement
WELLNX LIFE SCIENCES USA                           6335 EDWARDS BOULEVARD                    MISSISSAUGA      ON           L5T 2W7       Canada     Vendor Terms Agreement
WELLPET LLC                                        200 AMES POND DRIVE                       TEWKSBURY        MA           01876                    Vendor Terms Agreement
WELLQUEST INTERNATIONAL INCORPOR                   230 FIFTH AVENUE STE 800                  NEW YORK         NY           10001                    Vendor Terms Agreement
WELSPUN USA                                        295 5TH AVE SUITE 1118                    NEW YORK         NY           10016                    Vendor Terms Agreement
WENZELS FARM LLC                                   500 E 29TH ST                             MARSHFIELD       WI           54449                    Vendor Terms Agreement
                                                                                                                                                    L00089 WALLA WALLA WA
Western Development Partners, LLC                  1651 West Rose Street                     Walla Walla      WA           99362                    Developer Allowance                      8/1/2008          12/31/2035              N/A
                                                                                                                           95035-
WESTERN DIGITAL                                    951 SANDISK DRIVE                         MILPITAS         CA           0000                     Vendor Terms Agreement
WESTMINSTER INCORPORATED                           159 ARMOUR DRIVE                          ATLANTA          GA           30324                    Vendor Terms Agreement
                                                   331 CHANGEBRIDGE ROAD PO
WESTPORT CORPORATION                               BOX 2002                                  PINE BROOK       NJ           07058                    Vendor Terms Agreement
Westwind Plaza, Inc.                               P.O. Box 504                              Beloit           KS           67420                    Lease                                   9/29/2004           3/31/2023

Westwind Plaza, Inc.                               1026 N. INDEPENDENCE AVENUE               BELOIT           KS           67420                    Operating Lease                         9/29/2004           3/31/2023              N/A
WEVEEL LLC                                         20 N PENNSYLVANIA AVE                     MORRISVILLE      PA           19067                    Vendor Terms Agreement
WG REG Clifton LLC                                 6712 Columbine Way                        Plano            TX           75093                    Lease                                 12/16/2015           11/30/2031
WG REG Clifton LLC                                 927 N Avenue G                            Clifton          TX           76634                    Operating Lease                       12/16/2015           11/30/2031              N/A
                                                   6301 OWENSMOUTH AVE STE                                                 91367-
WHAM O MARKETING INCORPORATED                      700                                       WOODLAND HILLS   CA           0000                     Vendor Terms Agreement

WHAT KIDS WANT                                     63 MODY ROAD TST EAST                     KOWLOON                                     Hong Kong Vendor Terms Agreement

Wheaton Franciscan Healthcare - All Saints, Inc.   3801 Spring Street                        Racine           WI           53405                    340B Contract                           9/19/2016            1/8/2019
Whitman Hospital and Medical Center                1200 West Fairview                        Colfax           WA           99111                    340B Contract                           1/12/2018          11/27/2018
WHITMOR INCORPORATED                               PO BOX 28                                 EARL             AK           72331                    Vendor Terms Agreement
WI Cal-Mar, LLC                                    955 W CLAIREMONT AVE.                     EAU CLAIRE       WI           54701                    Operating Lease                         6/30/2015          11/30/2034              N/A
WICKED COOL TOYS                                   10 CANAL STREET STE 327                   BRISTOL          PA           19007                    Vendor Terms Agreement
                                                   20 WEST 33RD STREET 4TH
WIESNER PRODUCTS INCORPORATED                      FLOOR                                     NEW YORK         NY           10001                    Vendor Terms Agreement
WIGWAM MILLS INCORPORATED                          3402 CROCKER AVENUE                       SHEBOYGAN        WI           53082                    Vendor Terms Agreement
                                                                                                                           94104-
WILD PLANET ENTERTAINMENT INCORP                   225 BUSH STREET 13TH FLOOR                SAN FRANCISCO    CA           0000                     Vendor Terms Agreement
                                                                                                                           46074-
WILD SALES LLC                                     17401 TILLER COURT                        WESTFIELD        IN           0000                     Vendor Terms Agreement
WILD THINGS SNACK INC                              115 N 36TH STREET UNIT B                  SEATTLE          WA           98103                    Vendor Terms Agreement
WILDLIFE RESEARCH CENTER INC                       14485 AZURITE ST NW                       RAMSEY           MN           55303                    Vendor Terms Agreement
Wiley X                                            7491 Longard Rd                           Livermore        CA           94551                    Optical safety glasses




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            Contract Counterparty                     Address1              Address2             City          State   Postal Code    Country        Debtor's Interest               Lease            Remaining Term                 Government Contract
                                          3438 PEACHTREE ROAD NE FL 3
WILLIAM CARTER COMPANY                    CREDIT DEPT                                  ATLANTA            GA           30326                    Vendor Terms Agreement
WILLIAMSON DICKIE MFG CORP                509 W VICKERY BOULEVARD                      FORT WORTH         TX           76104                    Vendor Terms Agreement
WILLOWBROOK COMPANY LLC                   951 S PINE STREET                            SPARTANBURG        SC           29302                    Vendor Terms Agreement
WILLSPEED TECHNOLOGY                      2121 E PLAZA LOOP                            NAMPA              ID           83687                    Vendor Terms Agreement
                                          8700 WEST BRYN MAWR AVENUE
WILSON TEAM SPORTS                        3RD FLOOR                                    CHICAGO            IL           60631                    Vendor Terms Agreement
WILTON INDUSTRIES INCORPORATED            535 E DIEHL RD SUITE 300                     NAPERVILLE         IL           60563                    Vendor Terms Agreement
WINCRAFT INCORPORATED                     1124 W 5TH STREET                            WINONA             MN           55987                    Vendor Terms Agreement

                                                                                                                                                                                                                          Contract No CS07776 - Omaha DC
                                                                                                                                                Agreement for                                                             Contract No 1113846 - Store 658
Windstream Communications                 9850 M Street                                Omaha              NE           68127                    Communications Services                11/29/2006                1/8/2020           Beatrice NE
WINNING MOVES GAMES                       75 SYLVAN STREET STE C-104                   DANVERS            MA           01923                    Vendor Terms Agreement
WINNING SOLUTIONS INCORPORATED            66 SUMMER STREET                             MANCHESTER         MA           01944                    Vendor Terms Agreement
WINNING STREAK SPORTS LLC                 9821 WIDMER                                  LENEXA             KS           66215                    Vendor Terms Agreement
                                          30339 DIAMOND PARKWAY
WINSTON PRODUCTS LLC                      SUITE 105                                    GLENWILLOW         OH           44139                    Vendor Terms Agreement
Winterset Windfall, LLC                   1515 W. Maple Avenue                         Red Wing           MN           55066                    Lease                                     4/9/2012               5/9/2027
Winterset Windfall, LLC                   402 E. HWY 92                                WINTERSET          IA           50273                    Operating Lease                           4/9/2012              5/31/2027                   N/A
WIPE NEW LLC                              945 SEAHAWK CIRCLE                           VIRGINIA BEACH     VA           23452                    Vendor Terms Agreement

                                                                                                                                                Physical Inventory Counting
WIS International                         9265 Sky Park Count                          San Diego          CA           92123                    services starting 2/3/19               10/26/2018               1/31/2022
WISCONSIN PHARMACAL CO LTD                1 PHARMACAL WAY                              JACKSON            WI           53037                    Vendor Terms Agreement
Wisconsin Vision Assoc                    139 West Chestnut St                         Burlington         WI           53105                    Optical Contact lenses
WISH FACTORY LIMITED                      21 CHURCH STREET                             MONTCLAIR          NJ           07042                    Vendor Terms Agreement
                                                                                                                                                Digital Circulars and Pay as
Wishabi, Inc (aka Flipp Corporation)      302 The East Mall                            Toronto            ON           M9B 6C7       Canada     you go App advertising                   3/21/2012   30 days written notice
                                          1822 BUENAVENTURA BLVD STE
WIT GROUP                                 101                                          REDDING            CA           96001                    Vendor Terms Agreement

WOLFE FACE ART & FX                       6325 ALL AMERICAN BOULEVARD                  ORLANDO            FL           32810                    Vendor Terms Agreement
WOLVERINE WORLDWIDE (KEDS)                9341 COURTLAND DR                            ROCKFORD           MI           49351                    Vendor Terms Agreement
WONDER FORGE INCORPORATED                 300 E PIKE STREET STE 2000                   SEATTLE            WA           98122                    Vendor Terms Agreement
                                                                                                                                                Front-end Checkout Space
Wonderful                                 11444West Olypmic Blvd.                      Los Angeles        CA           90064                    Agreement                                 7/1/2018              6/30/2019
                                                                                                                       90064-
WONDERFUL PISTACHIOS & ALMONDS            11444 W OLYMPIC BLVD #310                    LOS ANGELES        CA           1544                     Vendor Terms Agreement
Wood County Telephone Company Inc dba                                                                                                           Solarus End User Master                                                       Business Telephone and Broadband
Solarus                                   440 East Grand Avenue                        Wisconsin Rapids   WI           54494                    Services Agreement                       7/25/2008        Month to Month             Agreement 17608-9
WOODBOLT DIST DBA NUTRABOLT               3891 SOUTH TRADITIONS DR                     BRYAN              TX           77807                    Vendor Terms Agreement

WOODLAND MANUFACTURING INCORPORA          2700 E LANARK STREET STE 120                 MERIDIAN           ID           83642                    Vendor Terms Agreement
WOODS INTERNATIONAL                       705 BAKER COURT                              HIGH POINT         NC           27263                    Vendor Terms Agreement

Woods Super Markets, Inc./Donald Woods    703 East College Ave PO Box 880              Bolivar            MO           65613                    Lease                                  10/12/1993               9/30/2019

Woods Super Markets, Inc./Donald Woods    1307 S STATE HWY 32                          EL DORADO SPRINGS MO            64744                    Operating Lease                        10/12/1993               9/30/2019                   N/A
WOOKY ENTERTAINMENT INC                   75 QUEEN STREET STE 3500                     MONTREAL          QC            H3C 2N6       Canada     Vendor Terms Agreement
                                                                                                                       60018-
WORLD KITCHEN L L C                       5500 N PEARL STREET STE 400                  ROSEMONT           IL           0000                     Vendor Terms Agreement
WORLD RUG GALLERY DIV IKBAL INC           7 REUREN DRIVE                               CLOSTER            NJ           07624                    Vendor Terms Agreement
WORLD TRADE GOLDEN NUGGET LTD             6 QUEEN ANN DRIVE                            DEAL               NJ           07723                    Vendor Terms Agreement
WORLD WIDE APPAREL RESOURCES INC          1411 BROADWAY #302                           NEW YORK           NY           10018                    Vendor Terms Agreement
                                                                                                                       60632-
WORLDS FINEST CHOCOLATE                   4801 SOUTH LAWNDALE AVENUE                   CHICAGO            IL           3062                     Vendor Terms Agreement
WORLDWIDE DREAMS L L C                    350 FIFTH AVENUE                             NEW YORK           NY           10118                    Vendor Terms Agreement
                                                                                                                       54949-
WORLDWISE INCORPORATED                    6 HAMILTON LANDING STE 150                   LOVATO             CA           0000                     Vendor Terms Agreement

WORTHINGTON CYLINDER CORPORATION          200 OLD WILSON BRIDGE ROAD                   COLUMBUS           OH           43085                    Vendor Terms Agreement

WOW WEE GROUP LIMITED                     UNIT 301C ENERGY PLAZA                       TST EAST KOWLOON                              Hong Kong Vendor Terms Agreement




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        Contract Counterparty                            Address1                   Address2             City            State   Postal Code    Country        Debtor's Interest              Lease            Remaining Term          Government Contract
WOWINDOWS LLC                                3RD FLOOR                                             CRANFORD         NJ           07016                    Vendor Terms Agreement
                                                                                                                                 60654-
WRIGLEY SALES COMPANY                        600 W CHICAGO AVENUE STE 500                          CHICAGO          IL           0000                     Vendor Terms Agreement
                                             150 MEADOWLANDS PARKWAY                                                             07094-
WUNDIES INCORPORATED                         #2                                                    SECAUCUS         NJ           2304                     Vendor Terms Agreement
WY1, LLC                                     P.O. Box 682710                                       Park City        UT           84068                    Lease                                   3/28/2007           12/31/2024
WY1, LLC                                     1950 E. RICHARDS                                      DOUGLAS          WY           82633                    Operating Lease                         3/28/2007           12/31/2024              N/A
WYETH CONSUMER HEALTHCARE                    FIVE GIRALDA FARMS                                    MADISON          NJ           07940                    Vendor Terms Agreement
                                                                                                                                                          Digital team uses for
                                                                                                                                                          hashtag gallery content,
                                                                                                                                                          survey forms, contest entry
Wyng, Inc                                    55 W 21st Street                                      New York         NY           10010                    forms
WYNIT DISTRIBUTION LLC                       5801 E TAFT ROAD                                      NORTH SYRACUSE   NY           13212                    Vendor Terms Agreement
X Cel Optical                                806 S Benton Dr                                       Sauk Rapids      MN           56379                    Optical Lenses
Xerox                                        3500 American Blvd W                                  Bloomington      MN           55431                    copy machines
                                                                                                                                 90740-
XTREME COUTURE INC                           1799 APOLLO COURT                                     SEAL BEACH       CA           5617                     Vendor Terms Agreement
Y ? LLC                                      608 S MAIN STREET                                     HOPKINSVILLE     KY           42240                    Vendor Terms Agreement
YAK PAK                                      900 BROADWAY 3RD FLOOR                                NEW YORK         NY           10003                    Vendor Terms Agreement
Yakima Neighborhood Health Services, Inc.    12 South 8th Street                                   Yakima           WA           98901                    340B Contract                           4/13/2017             1/8/2019
                                                                                                                                                                                                                   b12/31/2035 &
Yakima Theatres, Inc                         215 North 4th Street                                  Yakima WA        WA           98907                    Lease                                  12/15/2014           g2/28/2023

Yakima Valley Memorial Hospital DBA Yakima
Valley Memorial Hospital Association         2811 Tieton Drive                                     Yakima           WA           98902                    340B Contract                          10/13/2017             1/8/2019
Yang Ming (America) Corp.                    3025 Highland Parkway           Ste. 850              Downers Grove    IL           60515                    Ocean carrier                            5/9/2018            4/30/2019
YANKEE CANDLE COMPANY INCORPORAT             16 YANKEE CANDLE WAY                                  S DEERFIELD      MA           01373                    Vendor Terms Agreement
Yard Service                                 8051 Almont Rd                                        Almont           MI           48003                    Lawn Care ST649
YELL STEEL ENTERPRISE CO INC                 1401 VILLAGE WAY SUITE B                              SANTA ANA        CA           92705                    Vendor Terms Agreement
                                                                                                                                 91105-
YES TO INCORPORATED                          177 E COLORADO BLVD STE 110                           PASADENA         CA           1985                     Vendor Terms Agreement
                                                                                                                                 75001-
YJ USA                                       3970 LINDBERGH DRIVE                                  ADDISON          TX           4340                     Vendor Terms Agreement
YMF CARPET INC                               295 5TH AVENUE SUITE 1714                             NEW YORK         NY           10016                    Vendor Terms Agreement
                                                                                                                                 90058-
YMI JEANSWEAR INCORPORATED                   2423 EAST 23RD STREET                                 LOS ANGELES      CA           1201                     Vendor Terms Agreement
YORK WALLCOVERINGS                           750 LINDEN AVENUE                                     YORK             PA           17404                    Vendor Terms Agreement

YOU AND ME LEGWEAR LLC                       10 WEST 33RD STREET SUITE 500                         NEW YORK         NY           10001                    Vendor Terms Agreement
Young Bucks Landscaping LLC                  PO Box 3526                                           Wenatchee        WA           98807                    Lawn Care ST122
Younger Optics                               2925 California St                                    Terrance         CA           90503                    Optical Frames
                                             270 WEST 38TH STREET 19TH
YOUNIQUE CLOTHING                            FLOOR                                                 NEW YORK         NY           10018                    Vendor Terms Agreement

YUMMY EARTH                                  9 WEST BROAD STREET SUITE 440                         STAMFORD         CT           06902                    Vendor Terms Agreement
YUPPIE PUPPY PET PRODUCTS INC                453 WEST 56TH STREET                                  NEW YORK         NY           10019                    Vendor Terms Agreement
                                                                                                                                                          Freight forwarder/PO
                                                                                                                                                          mangement/Vendor              SOP 6/16/03 Updated
Yusen Logistics                              300 Lighting Way                6th Floor             Secaucus         NJ           07094                    management                              as needed.                None
Z CO JEANS                                   1385 BROADWAY 5TH FLOOR                               NEW YORK         NY           10018                    Vendor Terms Agreement

Zabbix                                       2/1 Neretas Street              Office 109            Riga                          LV-1004       Latvia     Zabbix Support agreement                7/23/2018            7/22/2019    Agreement No ZBXG0083

ZADRO PRODUCTS INCORPORATED                  5422 ARGOSY DRIVE                                     HUNTINGTON BEACH CA           92649                    Vendor Terms Agreement
ZAK DESIGNS INCORPORATED                     1604 S GARFIELD ROAD                                  SPOKANE          WA           99224                    Vendor Terms Agreement

ZARBEES INC DBZ ZARBEES NATURALS             11650 SOUTH STATE STREET 101                          DRAPER           UT           84020                    Vendor Terms Agreement
ZEBCO SALES COMPANY LLC                      6105 E APACHE                                         TULSA            OK           74115                    Vendor Terms Agreement
                                                                                                                                 08837-
ZEBRA PEN CORPORATION                        242 RARITAN CENTER PARKWAY                            EDISON           NJ           3610                     Vendor Terms Agreement
ZEE COMPANY APPAREL                          95 MAYHILL STREET                                     SADDLE BROOK     NJ           07663                    Vendor Terms Agreement
ZELENKA FARMS                                16127 WINANS                                          GRAND HAVEN      MI           49417                    Vendor Terms Agreement
                                                                                                                                 19720-
ZENITH PRODUCTS                              400 LUKENS DRIVE                                      NEW CASTLE       DE           9967                     Vendor Terms Agreement




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            Contract Counterparty                   Address1                Address2          City           State   Postal Code    Country        Debtor's Interest              Lease           Remaining Term          Government Contract
                                          7 NESHAMINY INTERPLEX SUITE
ZERO TECHNOLOGIES LLC                     116                                          TREVOSE         PA            19053                    Vendor Terms Agreement
Zhangusa Investments, LLC d/b/a ZiMart
Kermit, LLC                               3420 Pine Ave                                Waco            TX            76708                    Lease                                   8/27/1984           9/30/2022
Zhangusa Investments, LLC d/b/a ZiMart
Kermit, LLC                               334 E. HIGHWAY 302                           KERMIT          TX            79745                    Operating Lease                         8/27/1984           9/30/2022              N/A
ZHEJIANG AMP ORIENT IMP & EXP CO          PO BOX 7                                     RUNNEMEDE       NJ            08078                    Vendor Terms Agreement
                                                                                                                     98082-
ZHEJIANG SUNSHINE LEISURE PRODUC          PO BOX 14096                                 MILL CREEK      WA            2096                     Vendor Terms Agreement
ZING ANYTHING                             1760 WADSWORTH ROAD                          AKRON           OH            44320                    Vendor Terms Agreement

Zion's Management Services Company        1018 WASHINGTON BOULEVARD                    OGDEN           UT            84404                    Sublease                                6/12/2018           6/11/2021              N/A
Zitsloff Snow Plowing                     PO Box 684                                   Howard Lake     MN            55349                    Lawn Care ST561
Zix Corp Systems Inc                      2711 North Haskell Ave    #2200              Dallas          TX            75204                    Services Agreement                       4/4/2018            4/3/2021
ZOBMONDO ENTERTAINMENT LLC                336 BON AIR CENTER #409                      GREENBRAE       CA            94904                    Vendor Terms Agreement
ZOKU LLC                                  720 MONROE STREET C 308                      HOBOKEN         NJ            07030                    Vendor Terms Agreement

ZURU LLC                                  14 SCIENCE MUSEUM ROAD                       KOWLOON TST EAST                            Hong Kong Vendor Terms Agreement
ZWILLING J A HENKELS LLC                  270 MARBLE AVENUE                            PLEASANTVILLE    NY           10570                   Vendor Terms Agreement
Zydus                                     73 Route 31 North                            Pennington       NJ           08534                   Product Purchase                         10/1/2016           9/30/2017
Zyloware                                  11-36 46th Road                              LIC              Ny           11101                   Optical Frames




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 United States Bankruptcy Court for the:            DISTRICT OF NEBRASKA

 Case number (if known)         
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Official Form 206H
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$GGLWLRQDO3DJHWRWKLVSDJH

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  No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
  Yes
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      FUHGLWRUV6FKHGXOHV'*Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: &RGHEWRU                                                                        Column 2: &UHGLWRU



             1DPH                              0DLOLQJ$GGUHVV                                  1DPH                            Check all schedules
                                                                                                                                that apply:

    2.1      6HH$WWDFKHG                                                                                                       D
             6FKHGXOH+                                                                                                          E/F
                                                                                                                                G




Official Form 206H                                                         Schedule H: Your Codebtors                                        Page 1 of 1
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                         Case 19-80075-TLS    Doc 9 Filed 02/22/19 Entered 02/22/19 18:08:20               Desc Main
                                                   In re Shopko Stores Operating Co., LLC
                                                  Document         Page 1014 of 1015
                                                         Case No. 19-80075 (TLS)
                                                         Schedule H: Codebtors

                                                                                                                                     Applicable
                                                                                                                                     Schedules
                    Name of Codebtor                     Address               City     State    Zip        Name of Creditor         (D, E/F, G)
                                                                                                        Wells Fargo Bank, National
Pamida Stores Operating Co., LLC                700 Pilgram Way             Green Bay   WI      54304     Association as Agent           D
                                                                                                        Wells Fargo Bank, National
Pamida Transportation, LLC                      700 Pilgram Way             Green Bay   WI      54304     Association as Agent           D
                                                                                                        Wells Fargo Bank, National
Penn-Daniels, LLC                               700 Pilgram Way             Green Bay   WI      54304     Association as Agent           D
                                                                                                        Wells Fargo Bank, National
Place's Associates Expansion, LLC               700 Pilgram Way             Green Bay   WI      54304     Association as Agent           D
                                                                                                        Wells Fargo Bank, National
Retained R/E SPE, LLC                           700 Pilgram Way             Green Bay   WI      54304     Association as Agent           D
                                                                                                        Wells Fargo Bank, National
Shopko Finance, LLC                             700 Pilgram Way             Green Bay   WI      54304     Association as Agent           D
                                                                                                        Wells Fargo Bank, National
Shopko Gift Card Co., LLC                       700 Pilgram Way             Green Bay   WI      54304     Association as Agent           D
                                                                                                        Wells Fargo Bank, National
Shopko Holding Company, LLC                     700 Pilgram Way             Green Bay   WI      54304     Association as Agent           D
                                                                                                        Wells Fargo Bank, National
Shopko Institutional Care Services Co., LLC     700 Pilgram Way             Green Bay   WI      54304     Association as Agent           D
                                                                                                        Wells Fargo Bank, National
Shopko Optical Manufacturing, LLC               700 Pilgram Way             Green Bay   WI      54304     Association as Agent           D
                                                                                                        Wells Fargo Bank, National
Shopko Properties, LLC                          700 Pilgram Way             Green Bay   WI      54304     Association as Agent           D
                                                                                                        Wells Fargo Bank, National
Specialty Retail Shops Holding Corp.            700 Pilgram Way             Green Bay   WI      54304     Association as Agent           D
                                                                                                        Wells Fargo Bank, National
SVS Trucking, LLC                               700 Pilgram Way             Green Bay   WI      54304     Association as Agent           D




                                                                   1 of 1
           Case 19-80075-TLS                  Doc 9 Filed 02/22/19 Entered 02/22/19 18:08:20                                   Desc Main
                                                  Document    Page 1015 of 1015




)LOOLQWKLVLQIRUPDWLRQWRLGHQWLI\WKHFDVH

Debtor name         6KRS.R6WRUHV2SHUDWLQJ&R//&

United States Bankruptcy Court for the:     DISTRICT OF NEBRASKA

Case number (if known)     
                                                                                                                               Check if this is an
                                                                                                                                amended filing



Official Form 202
'HFODUDWLRQ8QGHU3HQDOW\RI3HUMXU\IRU1RQ,QGLYLGXDO'HEWRUV                                                                                       

$QLQGLYLGXDOZKRLVDXWKRUL]HGWRDFWRQEHKDOIRIDQRQLQGLYLGXDOGHEWRUVXFKDVDFRUSRUDWLRQRUSDUWQHUVKLSPXVWVLJQDQGVXEPLWWKLV
IRUPIRUWKHVFKHGXOHVRIDVVHWVDQGOLDELOLWLHVDQ\RWKHUGRFXPHQWWKDWUHTXLUHVDGHFODUDWLRQWKDWLVQRWLQFOXGHGLQWKHGRFXPHQWDQGDQ\
DPHQGPHQWVRIWKRVHGRFXPHQWV7KLVIRUPPXVWVWDWHWKHLQGLYLGXDO¶VSRVLWLRQRUUHODWLRQVKLSWRWKHGHEWRUWKHLGHQWLW\RIWKHGRFXPHQW
DQGWKHGDWH%DQNUXSWF\5XOHVDQG

:$51,1*%DQNUXSWF\IUDXGLVDVHULRXVFULPH0DNLQJDIDOVHVWDWHPHQWFRQFHDOLQJSURSHUW\RUREWDLQLQJPRQH\RUSURSHUW\E\IUDXGLQ
FRQQHFWLRQZLWKDEDQNUXSWF\FDVHFDQUHVXOWLQILQHVXSWRRULPSULVRQPHQWIRUXSWR\HDUVRUERWK86&
DQG



             'HFODUDWLRQDQGVLJQDWXUH


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

              Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

              Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

              Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

              Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

              Schedule H: Codebtors (Official Form 206H)

              Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
              Amended Schedule
              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
              Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       )HEUXDU\               X V5XVVHOO6WHLQKRUVW
                                                           Signature of individual signing on behalf of debtor

                                                            5XVVHOO6WHLQKRUVW
                                                            Printed name

                                                            &KLHI([HFXWLYH2IILFHU
                                                            Position or relationship to debtor




Official Form 202                                   'HFODUDWLRQ8QGHU3HQDOW\RI3HUMXU\IRU1RQ,QGLYLGXDO'HEWRUV
